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                                                                                                                                              Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07767517                           USD[0.00]

07767523                           NFT (485019325897914551/2974 Floyd Norman - CLE 6-0053)[1], USD[0.00]

07767533                           USD[0.00]

07767535                           ALGO[0.01048406], LINK[.00031644], NFT (337213923335424852/Entrance Voucher #3107)[1], USD[0.00], USDT[0]                                                                             Yes

07767539                           BTC[0], DAI[0], ETH[0], ETHW[3.16939678], MATIC[0], SOL[0], USD[169.77], USDT[0.00000085]                                                                                             Yes

07767543                           SOL[39.76722], TRX[.000001], USD[0.04], USDT[29.87589098]

07767546                           AAVE[0], CUSDT[1], DOGE[2], GRT[1.00283507], MATIC[0], SOL[0], TRX[2], USD[0.00]                                                                                                      Yes

07767563                           SOL[0], TRX[.106801], USD[0.00]

07767580                           SHIB[2719744.35681261], USD[0.40], USDT[0]

07767586                           DOGE[22.29958342], TRX[1], USD[0.00]

07767600                           DOGE[53.17237468]                                                                                                                                                                     Yes

07767601                           CUSDT[2], USD[92.82]                                                                                                                                                                  Yes

07767606                           USD[0.00], USDT[0.00002367]

07767611                           ETH[0], SHIB[1], TRX[1], USD[0.05], USDT[0]                                                                                                                                           Yes

07767623                           SOL[.00000001], USD[0.00]

07767626                           USD[2.70]

07767639                           ETHW[.00052158], NFT (365964769897481179/Mobile LGB)[1], NFT (405010304337575378/Mobile LGB #2)[1], SHIB[0], SOL[0], USD[0.00]                                                        Yes

07767642                           BTC[0.01098746], ETH[0], SOL[2.30792550]

07767650                           USD[0.00]

07767656                           BF_POINT[200], BRZ[2], CUSDT[2], GRT[2.00231508], SHIB[1], TRX[1], USD[0.00]                                                                                                          Yes

07767669                           CUSDT[2], DOGE[1], ETHW[9.820461], SHIB[704474.60262978], SOL[2.30523097], TRX[1], USD[0.00]                                                                                          Yes

07767680                           BF_POINT[400], BTC[0.00000009], CUSDT[0], DOGE[1], ETH[0.00000001], ETHW[0], MATIC[0], SHIB[0], SOL[0], USD[0.11], USDT[0]                                                            Yes

07767691                           BAT[.998], BTC[.04995], ETH[.589055], ETHW[.000644], SOL[.00265], USD[404.67]

07767701                           BTC[.00000376], USD[0.00], USDT[0]

07767705                           USDT[49.97751]

07767712                           BTC[0], NFT (294900656610680243/Pesky Crystal)[1], NFT (527587867513262855/Pesky Crystal)[1], SOL[0], USD[0.00]

07767714                           BAT[1.0165555], CUSDT[1], DOGE[3732.56977184], USD[0.01]                                                                                                                              Yes

07767716                           USD[0.17]                                                                                                                                                                             Yes

07767717                           USD[0.22], USDT[.2156]

07767721                           ETH[.42043981], ETHW[0.42043981], LINK[34.77537287], SOL[0.05080884], SUSHI[0], UNI[0], USD[0.00], USDT[0.00000074]

07767729                           DOGE[.154], GRT[.17640607], LINK[.03126159], LTC[.00412], MATIC[8.47], SHIB[47329.54731879], SOL[.00000651], UNI[.01377498], USD[0.67], USDT[0]

07767731                           SOL[.12338132], USD[0.00]

07767736                           BRZ[1], BTC[.00023205], CUSDT[6], SOL[2.10108963], TRX[1], USD[36.90]                                                                                                                 Yes

07767738                           USD[0.31]

07767744                           ETH[0], ETHW[0], MATIC[0], NFT (290157320699399239/Mystery Box)[1], SOL[0], USD[0.10]

07767745                           BTC[0], DAI[0], DOGE[2], ETH[0], ETHW[0], MATIC[0], SHIB[2], SOL[0.00003178]                                                                                                          Yes

07767752                           ETH[0], SOL[0], USD[0.00]

07767765                           ETH[.0005482], ETHW[.0005482], SOL[0], USD[0.00], USDT[0.00000001]

07767769                           BTC[0.00000291], DAI[0.00094343], ETH[0.00000001], SOL[0], UNI[0], USD[9.19]

07767772                           BTC[0], DOGE[.93], ETH[0], LTC[0], SOL[0], USD[0.00], USDT[.00986]

07767775                           DOGE[2147], ETH[.074], ETHW[.074], SHIB[15000000], USD[1.60]

07767776                           BTC[0], ETH[.0004395], ETHW[.0004395], MATIC[2.229], SOL[.0025545], USD[0.37]

07767778                           USD[0.00], USDT[0.00000001]

07767786                           BTC[.00009137], USD[0.00], USDT[.006072]

07767791                           SHIB[300000], SOL[.725718], USD[0.03], USDT[0]

07767800                           BTC[.00064175], CUSDT[3], SOL[0.33220399]                                                                                                                                             Yes

07767811                           ETHW[5.15041694], SOL[0], USD[0.00]

07767828                           BAT[86.47932941], CUSDT[10], DOGE[2], MATIC[64.90109972], SHIB[1739715.85069774], SUSHI[1.90607966], TRX[1130.10399782], USD[0.00], USDT[10.79484514]                                 Yes

07767833                           BTC[0], CUSDT[1], DAI[0], DOGE[1], SHIB[13], TRX[3], USD[0.00], USDT[1.00000166]

07767838                           BAT[1], DAI[.71058369], DOGE[6], SHIB[6], TRX[2], USD[0.74], USDT[0.78991385]                                                                                                         Yes

07767841                           TRX[.000001]

07767843                           TRX[.000002], USD[0.00], USDT[0]

07767848                           ETH[0], USD[0.00], USDT[0]

07767864                           BTC[.00179592], ETH[0], ETHW[0.02510463], NFT (356248245801478251/Austria Ticket Stub #2)[1], NFT (370368582448086216/FTX - Off The Grid Miami #3947)[1], NFT
                                   (383072209369600899/Microphone #9676)[1], NFT (422536274577318185/Gloom Punk #4846)[1], NFT (449142289519277199/France Ticket Stub #27)[1], NFT (491262669350742123/Barcelona Ticket
                                   Stub #1243)[1], NFT (494823621074804489/Hungary Ticket Stub #11)[1], NFT (528801680656748344/Imola Ticket Stub #156)[1], NFT (540465954362414734/Silverstone Ticket Stub #358)[1], NFT
                                   (545148043300928592/MF1 X Artists #30)[1], SOL[.31814124], USD[0.00]
07767868                           USD[0.01]                                                                                                                                                                              Yes

07767870                           SOL[1]

07767875                           SOL[6.02515654], USD[0.00]
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                                                                                                                                                 Customer Claims                                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07767880                              SOL[0], USD[0.00], USDT[0]

07767895       Contingent, Disputed   SOL[.1]

07767896                              USD[0.00], USDT[0.00000083]

07767899                              SOL[.00559], USD[5.19]

07767901                              BAT[1.0155901], BRZ[5.06917356], BTC[.0000308], CUSDT[7], DAI[.02], DOGE[2], ETH[0.00000390], ETHW[0], SHIB[4], TRX[8.000001], UNI[0.00938852], USD[0.90], USDT[1.02301077]          Yes

07767912                              ETH[0], SOL[0], USD[0.01]

07767916                              NFT (424657969090287175/Entrance Voucher #24364)[1], SOL[1.01406624], USD[0.00]

07767922                              USD[8.63]

07767929                              ETH[0], SOL[0], USD[0.00]

07767930                              SOL[.00050316]

07767931                              ETH[0], ETHW[0], LINK[0], USD[0.00]

07767938                              BRZ[2], CUSDT[3], DOGE[396.35485486], MATIC[32.1654095], SOL[.29653645], TRX[139.36298242], USD[5.27]                                                                                Yes

07767943                              NFT (569939568808607388/Coachella x FTX Weekend 1 #14086)[1], SOL[0.00209349]

07767948                              BRZ[2], BTC[0], CUSDT[2], DOGE[2], ETH[0], ETHW[0.81155216], TRX[3], USD[0.00]                                                                                                       Yes

07767953                              ETH[0], NFT (322339681433715910/Sollama)[1], NFT (435891264869390394/Qasim, the Compassionate)[1], USD[0.00], USDT[0.00000351]

07767965                              SOL[1.66556055], USD[300.00]

07767967                              USD[0.00]

07767981                              BTC[.00000001], ETH[.0000001], ETHW[.0000001], LTC[.00000018], SHIB[.0357238], USD[0.00]                                                                                             Yes

07767984                              ETH[0], LINK[.04638201], SOL[0], USD[14.37], USDT[0]

07767986                              DOGE[1000]

07767992                              CUSDT[1], ETH[.0164686], ETHW[.0162634], USD[0.00]                                                                                                                                   Yes

07767993                              BRZ[3], BTC[.0000015], SHIB[4], TRX[2], USD[0.00]                                                                                                                                    Yes

07768001                              NFT (362699326733952345/Vintage Sahara #630)[1], NFT (494788174344721332/Reflection '12 #64)[1], NFT (533138917243338563/Night Light #198)[1], USD[0.00], USDT[.001899]

07768002                              UNI[.01264546], USD[18554.58], USDT[0], ZAR[0.00]                                                                                                                                    Yes

07768003                              USD[1.76]

07768005                              BTC[.00053309], CUSDT[4], ETH[.00675105], ETHW[.00666897], LINK[.63620604], MATIC[9.11124731], USD[0.57]                                                                             Yes

07768008                              USD[0.00]

07768011                              BTC[0], LTC[0], MATIC[0], USD[1.60]

07768012                              BTC[.00148461]                                                                                                                                                                       Yes

07768013                              BTC[.00000002], NFT (460084995959397517/Entrance Voucher #2101)[1], USD[0.00]                                                                                                        Yes

07768015                              BRZ[113.94793505], CUSDT[1051.05915607], DAI[11.48173095], DOGE[1], MATIC[14.61456957], TRX[905.30694344], USD[0.01]                                                                 Yes

07768020                              AVAX[1.5534647], BTC[0], ETHW[.12707564], LINK[.00016381], NEAR[10.9041881], NFT (296083481323205371/Entrance Voucher #1856)[1], SHIB[104848.20723689], UNI[.00008091], USD[0.00],   Yes
                                      USDT[0]
07768021                              ETH[.0000022], ETHW[.0000022], NFT (364485932495129171/Entrance Voucher #2117)[1], NFT (477709031864256756/FTX - Off The Grid Miami #522)[1], SHIB[53], USD[39.04]                   Yes

07768026                              USD[78.27]

07768029                              UNI[31.77138], USD[20.62], USDT[0]

07768035                              BTC[.00007429], USD[1.93]

07768043                              SOL[.00000634], USD[0.00]                                                                                                                                                            Yes

07768044                              BTC[0.00108056], DOGE[20.3], ETH[.005], ETHW[.005], USD[17.58]

07768046                              NFT (454758654798958585/7089)[1], USD[33.66]

07768061                              BTC[0], ETH[0], SOL[0]

07768063                              SOL[.00813], USD[7.48]

07768071                              DOGE[7248], USD[13.13]

07768074                              USD[5.57]

07768076                              AVAX[25], BTC[.0006], ETH[1.0005], ETHW[1], LINK[.9], USD[0.00]

07768084                              BTC[.00000117]                                                                                                                                                                       Yes

07768089                              CUSDT[1], USD[0.00]                                                                                                                                                                  Yes

07768095                              SOL[22.67392862], USD[150.82]

07768097                              ETH[0], SOL[0], USD[0.00], USDT[0.00000152]

07768100                              LTC[2.982], USD[3.50]

07768103                              USD[0.97], USDT[0]

07768113                              USD[4.40]                                                                                                                                                                            Yes

07768118                              USD[0.00]

07768120                              CUSDT[1], ETH[.04889697], ETHW[.04829129], USD[0.09]                                                                                                                                 Yes

07768121                              BTC[.00011817]

07768124                              USD[0.00]

07768135                              BAT[1], CUSDT[1], DOGE[2], SOL[.00939487], TRX[1], USD[0.36]

07768137                              USD[0.00]

07768140                              SOL[0], TRX[1], USD[0.00]                                                                                                                                                            Yes
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                                                                                                                                                 Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07768144                              NEAR[42.11958852], SOL[.03729722], TRX[1], USD[0.00]                                                                                                                                  Yes

07768146                              ETH[.00000001], ETHW[0], USD[0.00]

07768150                              AVAX[.0609], ETHW[.005], TRX[.012185], USD[86.88], USDT[61.95021643]

07768167                              BTC[0], ETH[0], SOL[0], USD[0.00], USDT[0.00000115]

07768168                              NFT (298888059558838362/Sisterverse #1766)[1]

07768169                              MATIC[0], SOL[.00000001], USD[3.14]

07768171                              USD[0.00], USDT[0.00001935]

07768173                              BTC[0], SOL[0.00000001], USD[0.01]

07768174                              CUSDT[2], DOGE[60.95276235], USD[0.00]                                                                                                                                                Yes

07768179                              BTC[0.00020851], USD[0.00], USDT[0.00463169]

07768185                              USD[0.00]

07768187                              BTC[0], ETH[0], SOL[0], USD[0.00]

07768191                              BCH[.007268], BTC[0.00569501], ETH[.001982], ETHW[.001982], LINK[.5825], LTC[.08758], SHIB[199800], SOL[1.30802], UNI[1.3], USD[0.76], USDT[0]

07768192                              USD[1.04]

07768199                              USD[50.01]

07768205                              USD[0.00]

07768206                              BTC[0], ETH[0], SHIB[100000], SOL[0], USD[1.70]

07768208                              USD[2.62], USDT[0]

07768212                              USD[500.81], USDT[0.00000001]

07768213                              BTC[.0023], USD[0.43]

07768216                              BTC[.00024884], USD[1.64]                                                                                                                                                             Yes

07768221                              BTC[0.00008740], ETH[-160.20922929], ETHW[118.62364955], MATIC[8.16561615], SOL[0.00328684], USD[211.12], USDT[274449.04472346]

07768227                              BTC[0], SOL[0]

07768231                              BTC[0], ETHW[.25612289], USD[0.00], USDT[0.00000542]

07768234                              ETH[.0005155], ETHW[.7915155], USD[0.00], USDT[.50588718]

07768257                              SOL[1.80938], USD[3.17]

07768262                              BRZ[1], CUSDT[3], ETH[.02770151], ETHW[.02735951], SOL[1.84247463], TRX[1], USD[0.00]                                                                                                 Yes

07768263                              BRZ[1], BTC[.01403764], ETH[.28019752], ETHW[.28000296], TRX[1], USD[591.51]                                                                                                          Yes

07768265                              USD[5.50]                                                                                                                                                                             Yes

07768278       Contingent, Disputed   USD[0.52]

07768285                              USD[0.01]                                                                                                                                                                             Yes

07768287                              USD[1.79]

07768293                              MATIC[.36723367], TRX[1], USD[0.00]                                                                                                                                                   Yes

07768298                              ETH[0], ETHW[0], MATIC[0], SOL[0], USD[0.00]

07768299                              USD[0.08]

07768315                              USD[20.20], USDT[0]

07768317                              MATIC[132.14940757], SOL[1.83816], TRX[2101.94387426], USD[1624.19]

07768318                              NFT (308183570133469214/Misty Winter #61)[1], NFT (460679397417869045/Red Moon #146)[1], NFT (514115916201686705/Sunset #421)[1], NFT (543697972768497934/Warriors 75th Anniversary   Yes
                                      Icon Edition Diamond #1040)[1], TRX[1], USD[0.00]
07768327                              TRX[.011147], USD[23.06]

07768330                              ETH[.00204493], ETHW[.00004493], SOL[.00050507], USD[-0.68]

07768333                              BTC[.00000271], ETH[.00001334], ETHW[1.46185074], USD[0.01]                                                                                                                           Yes

07768336                              BTC[.0039], SOL[25.86501], USD[8.55]

07768349                              USD[0.10]

07768360                              USD[1.40]

07768365                              MATIC[0], SOL[0]                                                                                                                                                                      Yes

07768370                              SOL[5.6943], USD[5.49]

07768378                              BTC[0], ETH[0.26968666], SOL[0], USD[0.00]

07768381                              NFT (292929431876745252/Night Light #138)[1], NFT (380647247525846611/Reflection '18 #40)[1], NFT (408736451943947304/Reflector #224)[1], NFT (429896848115435893/Birthday Cake
                                      #0763)[1], NFT (440619589886287088/Colossal Cacti #487)[1], NFT (470108100921513038/Ferris From Afar #732)[1], NFT (507607264791852640/Reflection '18 #48)[1], NFT
                                      (507963484517659926/The 2974 Collection #0763)[1], NFT (559888227584596172/2974 Floyd Norman - CLE 2-0199)[1], USD[0.00]
07768386                              USD[0.00]

07768388                              SOL[0.00000001], USD[0.03]

07768398                              BRZ[1], CUSDT[2], USD[1.00], USDT[0]                                                                                                                                                  Yes

07768410                              ALGO[2601.32807364], ETH[3.42630574], ETHW[3.42491391], GRT[831.03599862], LINK[140.69853791], MATIC[1525.00807641], SHIB[10714159.18031147], SOL[18.75615327],                       Yes
                                      TRX[5758.35533766], USD[0.04]
07768417                              BTC[0.05909926], USD[1.71]

07768428                              ETH[.0368771], ETHW[.0368771], USD[0.90]

07768436                              DOGE[59.69337779], ETHW[.02633901], MATIC[11.97809321], USD[0.00]                                                                                                                     Yes

07768438                              BAT[2.09585116], BRZ[1], CUSDT[11], ETH[0], SOL[.00001755], TRX[2], USD[1096.39]                                                                                                      Yes

07768442                              CUSDT[1], DOGE[2], ETH[.86554459], ETHW[.86518119], SOL[12.51117418], USD[0.00]                                                                                                       Yes
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                                                                                                                                                 Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07768444                              TRX[4.60395], USD[0.00]

07768458                              BAT[1.00496203], BRZ[3], BTC[.00000035], CUSDT[5], DOGE[2], GRT[2.03706373], MATIC[10.54080869], SHIB[3], SOL[0.07104646], SUSHI[.00091094], TRX[7], USD[0.00], USDT[2.15724665]            Yes

07768459                              LINK[0.01705781], USD[2.00], USDT[3.41723511]

07768466                              USD[0.00]

07768468                              ETH[0], ETHW[0], SOL[0], USD[0.31]

07768471                              TRX[.000198], USD[10.01], USDT[0.02000002]

07768473                              BTC[.0000762], ETH[.000435], ETHW[.000435], SOL[.00203], USD[0.00]

07768474                              BTC[0], CUSDT[4], DOGE[0], GRT[0], TRX[1]                                                                                                                                                   Yes

07768475                              LINK[0], SOL[.00000001], USD[0.01], USDT[0]                                                                                                                                                 Yes

07768479                              SOL[5.31437396], USD[500.00]

07768481                              ETH[0], USD[0.00], USDT[.00527008]

07768486                              DOGE[1], TRX[1], USD[0.02]                                                                                                                                                                  Yes

07768493                              USD[0.00]                                                                                                                                                                                   Yes

07768495                              USD[0.01], USDT[0.00000001]

07768496                              USD[18.12]

07768501                              BRZ[2], CUSDT[3], DOGE[3.01684284], ETH[0], LINK[107.6894245], SOL[6.24013957], TRX[1], UNI[317.68682629], USD[0.01], USDT[1.08910859]                                                      Yes

07768502                              DOGE[1], ETHW[.62296736], KSHIB[1232.90001465]                                                                                                                                              Yes

07768515                              BTC[0.00010000], USD[1.50]

07768523                              BAT[2.07746464], BF_POINT[200], BRZ[1], CUSDT[5], DOGE[1], ETH[.04248651], ETHW[.04195824], GRT[1.00124399], MATIC[751.43009540], TRX[3195.56670121], USD[0.01], USDT[1.02543197]           Yes

07768529                              ETH[0.00011322], ETHW[0], USD[0.15], USDT[0.00000187]                                                                                                                                       Yes

07768531                              BTC[.00001283], CUSDT[1], DOGE[2], ETH[.00045002], ETHW[.00021854], FTX_EQUITY[0], GRT[1.00253911], NFT (395032808835176947/Golden Hill #199)[1], NFT (456990269173435783/Shaq's            Yes
                                      Fun House presented by FTX #51)[1], NFT (457891196280365557/Humpty Dumpty #19)[1], NFT (479553404363676742/The Hill by FTX #3505)[1], NFT (484910789088213521/Drippy Penguins
                                      #3753)[1], NFT (506594938986655688/Serum Surfers X Crypto Bahamas #45)[1], SOL[.00045955], TRX[2], USD[0.12]
07768533                              ETHW[1.6163193], USD[0.00]                                                                                                                                                                  Yes

07768534                              AAVE[0], BAT[0], BCH[0], BRZ[0], BTC[0], CUSDT[0], DOGE[0], ETH[0.00000001], GRT[0], LINK[0], LTC[0], MATIC[0], MKR[0], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00], USDT[0]                Yes

07768536                              CUSDT[10], DOGE[1], SOL[.03540048], TRX[1], USD[-0.61]                                                                                                                                      Yes

07768542                              DOGE[.355], USD[0.00], USDT[0.72241428]

07768545       Contingent, Disputed   BTC[0], ETH[0.00000001], ETHW[0.03471441], MATIC[0], SHIB[2], SOL[0], USD[0.00], USDT[0]

07768549                              CUSDT[1], DOGE[3], TRX[1], USD[0.00]                                                                                                                                                        Yes

07768555                              USD[0.82]

07768557                              DOGE[2], USD[0.00]                                                                                                                                                                          Yes

07768558                              BRZ[1], SHIB[1], SOL[0], USD[0.93]                                                                                                                                                          Yes

07768559                              ETH[0], ETHW[0], SOL[0], USD[0.00]

07768567                              BTC[.00024672], USD[3.88]

07768571                              BTC[.00009505], NFT (465047689446509272/Entrance Voucher #2218)[1], USD[121.20]

07768573                              SOL[4.48553], USD[0.64]

07768575                              AAVE[.009276], AVAX[.04112], BCH[.000846], BTC[0], DOGE[.7454], ETH[.000611], ETHW[.000611], LINK[.08658], LTC[.002898], NEAR[.0682], SOL[.00006], SUSHI[.2062], TRX[.8236], UNI[.04532],
                                      USD[0.01], USDT[0.00470401]
07768576                              USDT[8.692246]

07768584                              AVAX[1.88548822], BRZ[1], SHIB[1], USD[0.06]                                                                                                                                                Yes

07768585                              BTC[.00000001], SOL[0], USD[0.00]

07768588                              ETHW[.01070455], TRX[.000001]

07768597                              SOL[.12939959], USD[0.00], USDT[.91123628]

07768599                              SOL[0.07136346]

07768602                              ETH[.00015276], ETHW[.01602263], USD[1334.83], USDT[4.83601187]

07768608                              BRZ[1], USD[0.00]                                                                                                                                                                           Yes

07768619                              USD[0.01]                                                                                                                                                                                   Yes

07768621                              USD[0.73]

07768625                              USD[0.00]

07768628                              BTC[.00021709], CUSDT[1], DOGE[361.40094945], USD[0.00]                                                                                                                                     Yes

07768629                              NFT (509121373450768326/Entrance Voucher #1958)[1]

07768636                              LINK[0], LTC[0], SOL[0], USD[1.13]

07768637                              DOGE[2], ETH[.56598256], ETHW[.56574474], SOL[7.21344237], USD[0.00]                                                                                                                        Yes

07768638                              SOL[5.6], USD[5.03]

07768648                              SOL[12.4294]

07768654                              ETH[.09691323], ETHW[0.09691323]

07768659                              ETH[0], ETHW[0], SHIB[1], USD[0.00], USDT[0]                                                                                                                                                Yes

07768661                              ETH[0.41761487], USD[0.00]

07768663                              USD[0.75]

07768667                              BAT[1390.25615827], LINK[41.24761904], MKR[.29872015], SUSHI[108.76093105]                                                                                                                  Yes
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                                                                                                                                                  Customer Claims                                                                                                   22-11071 (JTD)
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07768671                              DOGE[1], USD[0.01], USDT[547.57615705]                                                                                                                                                Yes

07768687                              BAT[1141.01297828], BRZ[2824.3122574], BTC[.03696691], CUSDT[2], DOGE[7392.0879492], ETH[.72990148], ETHW[.72961832], GRT[2.02719499], LINK[36.42655267], SOL[20.88281396], TRX[3],   Yes
                                      USD[8603.32], USDT[1.09009717]
07768688                              ETH[0], SOL[3.09391577], USD[0.00]

07768693                              BTC[.01670962], ETH[.219], ETHW[1.446799], USD[0.00]

07768694       Contingent, Disputed   BTC[.00021286]

07768696                              CUSDT[4], KSHIB[19.57073242], MATIC[0.00032255], SOL[0], USD[0.03]                                                                                                                    Yes

07768698                              USD[25.14]

07768708                              CUSDT[1], ETH[.12532431], ETHW[.12532431], USD[400.00]

07768715                              ETH[.00617185], ETHW[.00608977], NFT (375983532229243324/Coachella x FTX Weekend 1 #5751)[1], USD[0.00]                                                                               Yes

07768716                              ETH[0], LTC[0], SOL[0], USD[0.00], USDT[0.99894845]

07768718                              ETH[.06263385], ETHW[.06263385], SOL[3.53554549], USD[0.00]

07768719                              BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07768737       Contingent, Disputed   BTC[.0000179], ETH[.0002695], ETHW[.0002695], SOL[.00995286], USD[359.42]

07768744                              CUSDT[1], TRX[1], USD[0.81]                                                                                                                                                           Yes

07768745                              USD[75.80]

07768755                              BRZ[1], CUSDT[56.53545826], ETHW[.98340205], TRX[8], USD[1.04]

07768757                              DOGE[1], USD[0.01]                                                                                                                                                                    Yes

07768763                              USD[0.00]

07768765       Contingent, Disputed   BTC[.00004506], USD[0.00]                                                                                                                                                             Yes

07768789       Contingent,            BTC[0], ETHW[0], NFT (379783892278451057/Entrance Voucher #3354)[1], SOL[15.20232091], USD[0.07]
               Unliquidated
07768794                              CUSDT[1], DOGE[1], ETH[.00000001], UNI[1.08416171], USD[0.00], USDT[1.08416171]                                                                                                       Yes

07768796                              SOL[0]

07768805                              LINK[0], MATIC[0], NFT (289762086141212121/Refined Wood Crystal)[1], NFT (315056194807350874/Fancy Frenchies #4614)[1], NFT (329570366544980171/#2560)[1], NFT
                                      (347969832772962227/Cyber Pharmacist 3400)[1], NFT (384809747481957870/Terraform Seed)[1], NFT (439149149764859047/#6923)[1], NFT (561014014189379286/Cyber Pharmacist 4534)[1],
                                      PAXG[0], SOL[0], USD[0.00]
07768817                              ETH[.00000001], SOL[1.26143396], USD[0.34]

07768831       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07768832                              ETHW[.26674635], USD[0.37]

07768834                              USDT[180]

07768835       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07768837                              ETH[5.07230434], ETHW[.00004286], SHIB[1], USD[-427.00]                                                                                                                               Yes

07768840                              ETH[0], SOL[.00000001]

07768853                              SOL[0], USDT[0]

07768859                              BCH[0], BTC[0], LTC[.00422463], USD[0.00], USDT[0]

07768862                              BCH[.00022], USD[0.00]

07768864                              SOL[.00941701], USD[1.66]

07768866       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07768867                              USD[3.06]

07768882                              BTC[0], USD[3.27]

07768883                              DOGE[1], ETH[.00741074], ETHW[.00741074], USD[0.00]

07768884                              DOGE[.00000001], SHIB[2], TRX[1], USD[0.01]

07768888                              SHIB[2], TRX[1.000169], USD[0.00], USDT[0]

07768894                              USD[0.00]

07768904                              CUSDT[1], DOGE[1], TRX[1], USD[0.01], USDT[1]

07768923                              SHIB[1], TRX[1], USD[0.00]                                                                                                                                                            Yes

07768930                              USD[0.00]

07768944                              USD[50.00]

07768946                              NFT (459576262504455166/Saudi Arabia Ticket Stub #913)[1]

07768950                              SOL[.5011662], TRX[1], USD[0.00]

07768951                              ETH[0], SOL[0], USD[0.00]

07768954                              BAT[1], DOGE[1], USD[0.00], USDT[1]

07768957                              ETH[.019], USD[0.60]

07768958                              USD[3.56]

07768959                              USD[544.23]                                                                                                                                                                           Yes

07768962                              BTC[0], USD[0.00]

07768969                              USD[1.09]

07768974                              BTC[.00450053], CUSDT[3], DOGE[197.16433276], ETH[.03354028], ETHW[.03312528], USD[0.04]                                                                                              Yes

07768980                              ETH[0], ETHW[0], SOL[0], USD[0.70], USDT[0]

07768981                              NFT (351266849407821362/Warriors 75th Anniversary City Edition Diamond #403)[1]                                                                                                       Yes
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                                                                                                                                                 Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07768983                              USDT[0.00000124]

07768998                              AVAX[0], BTC[.06327401], DOGE[6], ETH[0.00000046], MATIC[15.23256443], MKR[.05231333], NEAR[147.63293974], SHIB[2402961.59518306], SOL[0.00000358], TRX[3], USD[0.00]                 Yes

07768999                              CUSDT[1], ETH[.22778102], ETHW[.22757926], SOL[8.59187564]                                                                                                                            Yes

07769029       Contingent, Disputed   USD[0.00]                                                                                                                                                                             Yes

07769035                              USD[5.00]

07769060                              ETH[.00000001]                                                                                                                                                                        Yes

07769068                              MATIC[0], USD[0.58]

07769069                              USD[5000.00]

07769072                              USD[0.00]

07769080                              USD[0.00], USDT[.70247262]

07769088                              BTC[0], USD[0.00], USDT[2.0375232]

07769103                              NFT (500770082245589360/Moving Forward)[1], USD[35315.86]

07769108                              CUSDT[5], SHIB[1], SOL[0], USD[21.23]

07769111       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07769114                              GRT[2], NFT (450132896748142929/Australia Ticket Stub #1389)[1], USD[0.00], USDT[0]                                                                                                   Yes

07769119                              CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                          Yes

07769128       Contingent, Disputed   USD[2.26], USDT[0.00000001]

07769130                              USD[0.69], USDT[0.00535583]

07769139                              CUSDT[1], USD[0.00]                                                                                                                                                                   Yes

07769142                              BTC[0.00009515], SOL[.0287365], UNI[.096675], USD[0.00]

07769150                              USD[0.01]                                                                                                                                                                             Yes

07769152                              DOGE[1], ETHW[1.08815005], MATIC[107.05995941], SHIB[1], TRX[1], USD[3254.14], USDT[1.00000913]                                                                                       Yes

07769159                              BCH[.00028204], BF_POINT[300], BRZ[1], CUSDT[17], ETH[.00267985], ETHW[.00265249], LINK[.03805601], MATIC[.00029729], MKR[.00533516], SOL[.09352446], SUSHI[2.83866934],              Yes
                                      TRX[105.69131983], USD[2.76], YFI[.0000184]
07769178                              BTC[0], USD[0.00]

07769179                              AVAX[0.39312455], BF_POINT[100], BTC[0], DAI[0], ETHW[1.62329085], NFT (433803560920432960/Imola Ticket Stub #1228)[1], TRX[2], USD[0.01]                                             Yes

07769189                              USD[0.28]

07769192                              USD[0.00]

07769195                              ALGO[0], AVAX[0], BAT[0], BF_POINT[400], LINK[0], NFT (292893902783305925/The King)[1], NFT (305817060745136433/The Majestic Lion)[1], NFT (470885897481875838/Chitto #22)[1], NFT    Yes
                                      (477666729118280424/The Lion King)[1], NFT (503039877833109537/Romeo #911)[1], PAXG[0.00134183], SHIB[111438.00242963], SOL[0], USD[0.00], USDT[0]
07769204                              BF_POINT[700], ETH[0], ETHW[0.35259754], SOL[0], USD[0.08], USDT[0.00002988]                                                                                                          Yes

07769215                              USD[1.62]

07769238                              AAVE[0], BTC[0], ETH[0], ETHW[0], GRT[0], LINK[0], LTC[0], PAXG[.00000001], USD[26.54], USDT[0]                                                                                       Yes

07769246                              BRZ[1], BTC[.00000182], CUSDT[20], DOGE[3], ETH[.07754316], ETHW[.04457932], SHIB[26], SOL[.00005782], TRX[1], USD[0.00]                                                              Yes

07769254                              USD[0.00]

07769256                              BAT[1.0165555], CUSDT[2], DOGE[3], SOL[.00000001], USD[0.00]                                                                                                                          Yes

07769269                              BRZ[1], BTC[.00000287], USD[0.01]                                                                                                                                                     Yes

07769272                              CUSDT[3], DOGE[0], GRT[0], USD[0.00]                                                                                                                                                  Yes

07769275                              BTC[0], SHIB[0.57808529], SOL[0], USD[0.01], USDT[0.49459968]

07769277                              BRZ[1], BTC[1.49485033], CUSDT[1], DOGE[2], ETHW[5.23421147], SHIB[12], TRX[5], USD[0.00]

07769280                              BTC[.00512939], DOGE[1], USD[0.00]

07769284                              USD[0.00]

07769288                              BTC[0], LTC[0], SOL[0], SUSHI[0], USD[0.00], USDT[0]

07769290                              CUSDT[3], TRX[2], USD[0.00]                                                                                                                                                           Yes

07769298                              BTC[0.00397698], ETH[0], USD[0.37]

07769299                              BTC[.00001659], ETH[.00001856], ETHW[.00001856], USD[0.00]                                                                                                                            Yes

07769301                              SOL[60.60107], USD[0.83], USDT[2.067935]

07769309                              SOL[.00000001]

07769320                              CUSDT[1], DOGE[1], ETH[.04944769], ETHW[.04883209], MATIC[140.66773449], TRX[1], USD[2.29]                                                                                            Yes

07769323                              ETH[.24975], ETHW[.24975], LINK[29.98], MATIC[400], SHIB[11591300], SOL[12.07624], USD[104.01]

07769327                              ALGO[6065.9229], ETHW[.504], USD[0.10]

07769338                              BTC[.00000085]                                                                                                                                                                        Yes

07769340                              BTC[0.02535193], DOGE[.157], ETHW[.36583755], GRT[0], SUSHI[35], USD[0.02]

07769342                              USD[5000.00]

07769343                              CUSDT[1], USD[33.86]                                                                                                                                                                  Yes

07769348                              BTC[.00974147], ETH[.06725847], ETHW[.06642399], SOL[1.26371912]                                                                                                                      Yes

07769350       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07769352                              BTC[0.00001678], USD[1.37], USDT[0]

07769354                              AAVE[0], AVAX[0], BAT[0.00000001], BF_POINT[200], BRZ[0], BTC[0], DAI[0], ETH[0], ETHW[0], EUR[0.00], GRT[0], LINK[0], MATIC[21.34778415], MKR[0], NFT (422317525598201282/Entrance   Yes
                                      Voucher #2469)[1], NFT (454340478218634937/Barcelona Ticket Stub #165)[1], SUSHI[0], UNI[0], USD[0.00], YFI[0]
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                                                                                                                                                 Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07769365                              BTC[.00000001], DOGE[224.35495402], MATIC[93.37851312], SHIB[1], USD[0.00]                                                                                                            Yes

07769369                              AVAX[4.4955], SOL[1.00899], USD[93.57]

07769371                              BCH[0], BF_POINT[100], ETH[0], ETHW[0], LINK[.00296719], NFT (303521077404320056/FTX - Off The Grid Miami #381)[1], NFT (370474270475125490/Barcelona Ticket Stub #1008)[1], NFT      Yes
                                      (521591912862167340/Entrance Voucher #2859)[1], NFT (525556847276046793/Saudi Arabia Ticket Stub #2098)[1], SOL[0], USD[0.00], USDT[0]
07769372                              BF_POINT[300]                                                                                                                                                                         Yes

07769388                              USD[2.42]

07769400                              BTC[.02455717], CUSDT[1], DOGE[1], ETH[.23565464], ETHW[.23545254], SOL[6.10259037], TRX[1], USD[3282.94], USDT[4649.40130087]                                                        Yes

07769401                              CUSDT[3], SOL[1.3943376], SUSHI[4.42661173], TRX[454.4490999], USD[0.30]                                                                                                              Yes

07769403                              BTC[.00000003], GRT[47.35526542], SHIB[3], TRX[462.42256942], USD[1.04]                                                                                                               Yes

07769407                              NFT (345272270342895316/Eitbit Ape #7525)[1], NFT (389967766778966986/DarkPunk #3292)[1], NFT (436463612493423173/Ravager #930)[1], NFT (451395889102288381/Settler #1877)[1], NFT    Yes
                                      (469679447162992703/Eitbit Ape #6716)[1], NFT (519547925222434150/Settler #3179)[1], NFT (565568157809977025/Roamer #911)[1], SOL[.03922386]
07769410                              BTC[0], ETH[0], SOL[0], USD[0.00]

07769413                              BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07769417                              BTC[.00011], ETH[.000975], ETHW[.000975], USD[0.17]

07769418                              BTC[0], SOL[0]

07769420                              CUSDT[1], MATIC[.00523011], TRX[1], USD[0.00]                                                                                                                                         Yes

07769422                              BTC[0], USD[0.18]

07769433                              USD[19.00]

07769441                              USDT[0.00000125]

07769443                              USD[0.01], USDT[0]

07769447                              SOL[.05994], USD[0.18]

07769449                              BTC[0], DOGE[0], ETH[0], GRT[0], LTC[0], SHIB[0], SOL[0], SUSHI[0], TRX[0], USD[0.00], USDT[0]

07769457                              NFT (351302027308906713/Entrance Voucher #4467)[1], TRX[.000003], USD[0.00], USDT[0]

07769462                              SHIB[13025144.58053086], USD[0.00], USDT[0]                                                                                                                                           Yes

07769466                              BRZ[1], CUSDT[5], TRX[3], USD[0.00]                                                                                                                                                   Yes

07769471                              DOGE[25], ETH[.000458], ETHW[.000458], USD[0.18], USDT[.227675]

07769486                              CUSDT[1], DOGE[1], GRT[2], SHIB[1], SOL[.00000001], TRX[1], USD[0.01]                                                                                                                 Yes

07769487                              USD[0.00]

07769489                              BAT[1.0165555]                                                                                                                                                                        Yes

07769491                              CUSDT[3], DOGE[358.04379646], SOL[2.89077281], TRX[4], USD[0.00]                                                                                                                      Yes

07769492                              BTC[.00000255], ETH[0], SHIB[5005.9456906], SOL[0], SUSHI[0], USD[0.00]                                                                                                               Yes

07769502                              BCH[.11203206], USD[0.01]                                                                                                                                                             Yes

07769509                              BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07769510                              DOGE[2], ETH[0.03010906], ETHW[0.28232477], MKR[.5469063], SUSHI[.00198295], TRX[2], USD[0.00]                                                                                        Yes

07769515                              USD[0.08]                                                                                                                                                                             Yes

07769535                              BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07769536                              BRZ[1], CUSDT[16], ETH[.13769746], ETHW[.00000194], SHIB[1], TRX[2], USD[0.00]                                                                                                        Yes

07769543                              BTC[0], USD[0.01]

07769550       Contingent, Disputed   BTC[.0090179], CUSDT[1], DOGE[1785.22788996], GRT[1], TRX[1], USD[0.00]

07769554                              BTC[0], USD[0.62]

07769559                              USD[197.93], USDT[0]

07769560                              CUSDT[1], ETHW[10.13135075], TRX[1], USD[0.00]                                                                                                                                        Yes

07769561                              TRX[1], USD[0.00]

07769565       Contingent, Disputed   BTC[0], SOL[0], USD[0.00]                                                                                                                                                             Yes

07769566                              USD[0.24], USDT[0]

07769568                              DOGE[0], NFT (291295031994643972/Lorenz #585)[1], NFT (298787146457766077/Aircraft #5)[1], NFT (326220149926397585/Reclaimed Tower #974)[1], NFT (342272194136114982/Anti Artist       Yes
                                      #158)[1], NFT (411280961301914985/Inaugural Collection #1378)[1], NFT (412774213990485006/Symphony#20)[1], NFT (434474430346150026/#4178)[1], NFT (574238456080163493/Lorenz #332)[1],
                                      USD[0.00], USDT[0]
07769570                              USD[110.09]                                                                                                                                                                            Yes

07769575                              USD[109.95]                                                                                                                                                                           Yes

07769578                              USD[5000.00]

07769582                              BTC[0.00000901], USD[0.01]

07769583                              BTC[.07255095]                                                                                                                                                                        Yes

07769592                              CUSDT[2], DOGE[1], SOL[4.36607451], USD[0.00]                                                                                                                                         Yes

07769595                              DOGE[1], TRX[895.98753446], USD[0.00]

07769596                              BRZ[1], BTC[.00000003], CUSDT[5], DOGE[3], TRX[2], USD[0.00]                                                                                                                          Yes

07769610       Contingent, Disputed   BTC[.0011055], USD[1.30]                                                                                                                                                              Yes

07769612                              BTC[0], NFT (353064073549254913/BabyBlob #229)[1], USD[0.00]

07769613                              USD[0.00], USDT[0]                                                                                                                                                                    Yes

07769614                              CUSDT[5], USD[0.00], USDT[0]                                                                                                                                                          Yes

07769621                              BRZ[1], CUSDT[2], TRX[3], USD[0.05], USDT[0]                                                                                                                                          Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07769624                              BTC[.000405]

07769626                              AVAX[.00022505], BTC[.00000106], ETHW[1.66489766]                                                                                                                      Yes

07769631                              USD[0.00]

07769632       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07769633                              ETH[.00065], ETHW[.00065], USD[0.50], USDT[0.00001855]

07769639       Contingent, Disputed   ETH[.07768127], USD[0.00]

07769643                              CUSDT[1], ETH[0], TRX[1], USD[0.00]                                                                                                                                    Yes

07769644                              ETHW[.0008478], USD[4.48]

07769648                              USD[2.42]

07769650                              AVAX[.00001137], BTC[0], DOGE[1], ETH[.00000001], SHIB[2], SOL[.00002062], USD[0.00], USDT[0]                                                                          Yes

07769654                              ETH[.00000008], ETHW[.22880419], NFT (453409278028348061/FTX - Off The Grid Miami #2775)[1], SHIB[2], USD[0.00], USDT[0]                                               Yes

07769655                              ALGO[0], BTC[0], ETH[0], SHIB[84415.00658992], USD[0.14], USDT[0.05111996]

07769666                              SOL[.00000756]

07769674                              SOL[.1]

07769675                              BTC[0], CUSDT[2], DOGE[1], SOL[0], USD[0.00]                                                                                                                           Yes

07769679                              BTC[.00914255], CUSDT[1], GRT[596.84679052]                                                                                                                            Yes

07769680                              USD[0.98]                                                                                                                                                              Yes

07769688                              NFT (290950699626061990/Entrance Voucher #1790)[1]                                                                                                                     Yes

07769689                              USD[0.19]

07769694                              NFT (470457546901500465/MOTH #2)[1], NFT (561675662565304778/MOTH)[1], SOL[.078]

07769695                              ETH[.00000001], ETHW[0], SOL[0.29029300], USD[0.00]

07769705                              CUSDT[1], SOL[4.57740616], USD[0.00]                                                                                                                                   Yes

07769710                              BF_POINT[100], USD[0.01]                                                                                                                                               Yes

07769714                              SOL[.00092199], USD[0.00]

07769715                              USD[5.00]

07769717                              DAI[.00000001], ETH[0], ETHW[0], GRT[.00000001], NFT (393278846246143714/Entrance Voucher #1977)[1], NFT (553586703508869768/FTX - Off The Grid Miami #1433)[1], NFT   Yes
                                      (575352479922602601/The Association NFT)[1], USD[0.00]
07769718                              USD[110.48], USDT[0.00000001]                                                                                                                                          Yes

07769719                              BAT[0], BCH[0], BTC[0], DOGE[0], GRT[0], LTC[0], MATIC[0], SHIB[0], SOL[0], TRX[0], UNI[0], USD[0.01]

07769721                              CUSDT[2], MATIC[.00025805], SOL[.00000967], USD[0.00]                                                                                                                  Yes

07769723                              ETH[.00336438], ETHW[.00332334], USD[0.00]                                                                                                                             Yes

07769725                              BTC[0.00002548], ETH[.00084135], ETHW[.00084135], LINK[20.78024], SOL[0], USDT[2.94021855]

07769729                              ALGO[0], AVAX[0], BTC[0.00000018], ETH[0.00000475], ETHW[0], LINK[0], MATIC[0], NEAR[0], SOL[2.09073649], USD[0.00], USDT[0.00000010]                                  Yes

07769740                              CUSDT[1], USD[7.05]                                                                                                                                                    Yes

07769741                              USD[0.00]                                                                                                                                                              Yes

07769760                              BTC[.00003439], ETHW[.000684], TRX[.000028], USD[0.00], USDT[0.05841620]

07769764                              CUSDT[3], TRX[1], USD[0.00]                                                                                                                                            Yes

07769767                              NFT (381749456372343189/Microphone #3439)[1]

07769774                              BTC[.1119571], ETH[.280897], ETHW[.280897], SOL[3.35], USD[2.08]

07769779                              BAT[1.01655549], DOGE[1], SOL[.00014922], USD[0.10]                                                                                                                    Yes

07769800                              BTC[.0903], NEAR[547.6], USD[0.24]

07769805                              CUSDT[1], ETH[.00001062], ETHW[.00001062], SOL[0]                                                                                                                      Yes

07769808                              BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07769810                              USD[0.00], USDT[0]                                                                                                                                                     Yes

07769818                              TRX[.266], USD[0.01], USDT[0]

07769821                              NFT (370852267774223266/Solana Penguin #2435)[1], SOL[.09]

07769829                              USD[104.00]

07769830                              BTC[0], SOL[7.28093631], USD[0.00], USDT[0.00002947]

07769843                              BTC[.0010252], CUSDT[21], DOGE[601.85414125], SHIB[3742684.40419971], SUSHI[.00002549], TRX[.00000811], USD[10.38], USDT[0.00003739]                                   Yes

07769844                              BTC[0.00901790], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07769848                              USD[10.81], USDT[0]

07769858                              SOL[.007], USD[46.05]

07769860                              BF_POINT[100], MATIC[.00442581], SOL[.00000001]                                                                                                                        Yes

07769868                              AVAX[1.31067413], BTC[0.00000002], ETH[0], ETHW[0], GRT[0], LINK[0], MATIC[0], NEAR[0], SHIB[7], SOL[0], USD[0.00], USDT[0]                                            Yes

07769869                              BTC[.0013756], CUSDT[1], DOGE[109.10589827], ETH[.00694806], ETHW[.00551729], LTC[.02073513], SOL[0.53720689], TRX[1], USD[0.00]                                       Yes

07769876                              ALGO[354.645], ETH[.136863], ETHW[.136863], MATIC[500.85], NEAR[21.4785], USD[70.45]

07769881                              BTC[0.00902104], ETH[.054984], ETHW[.054984], LINK[.0712], USD[0.96], USDT[1.3886569]

07769882                              AAVE[.6114492], ETHW[.0279748], LINK[2.49775], SHIB[1298830], USD[7.32]

07769899                              BTC[.00000013], DOGE[2], ETH[.00000134], ETHW[.14580394], SHIB[2], USD[0.00]                                                                                           Yes
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                                                                                                                                                 Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07769900                              CUSDT[2], SOL[.00000002], USD[0.03]                                                                                                                                                          Yes

07769902                              BTC[.00000166], ETH[.00088093], ETHW[.00088093], SOL[.00510093], USD[0.13]

07769906                              USD[1.07]

07769910                              USD[110.11]                                                                                                                                                                                  Yes

07769911                              BTC[0.00000080], CUSDT[1], DOGE[4], GRT[1], SHIB[2], SOL[.00017196], TRX[1], USD[0.00], USDT[0.04822794]                                                                                     Yes

07769913                              USD[0.00]

07769926                              BAT[1], DOGE[0.76103616], SHIB[3], USD[0.00]                                                                                                                                                 Yes

07769927                              BTC[0.00020496], ETH[0.00165450], ETHW[0.00141174], LINK[0.01268546], LTC[.005], MATIC[5.16925], SOL[.01068565], SUSHI[.24635], USD[0.40], USDT[0.00000004]

07769929                              USD[0.00], USDT[0]

07769930                              NFT (487499798139138029/Nobu Sensei #799)[1]

07769932                              AAVE[.00000001], BCH[.00002674], BF_POINT[100], BRZ[6.12921414], CUSDT[87.83140631], DOGE[1295.29667231], GRT[.03118207], MATIC[18.70452734], NFT (299889352165168697/Shannon                Yes
                                      Sharpe's Playbook: Denver Broncos vs. Los Angeles Raiders - January 9, 1994 #66)[1], NFT (368641077306855268/Shannon Sharpe's Playbook: Baltimore Ravens vs. Oakland Raiders - January 14,
                                      2001 #99)[1], NFT (389971231937456125/Hall of Fantasy League #175)[1], NFT (441501232999068832/Shannon Sharpe's Playbook: Kansas City Chiefs vs Denver Broncos - October 4, 1992 #89)[1],
                                      NFT (506255223731088018/Hall of Fantasy League #170)[1], NFT (526778599625867788/Hall of Fantasy League #171)[1], NFT (568712713997926572/Shannon Sharpe's Playbook: Baltimore Ravens
                                      vs. Denver Broncos - December 31, 2000 #85)[1], NFT (569071758268100085/Hall of Fantasy League #173)[1], SHIB[4], TRX[14.06338678], USD[0.00], USDT[1.08093781]

07769934                              ETH[.00000001], ETHW[0], SOL[.00000001], USD[0.00]

07769935                              BRZ[1], SOL[22.83346156], TRX[1], USD[0.00]                                                                                                                                                  Yes

07769936                              USD[2000.72]                                                                                                                                                                                 Yes

07769941                              ETH[0], USD[0.00]

07769944                              CUSDT[14], DOGE[2], USD[0.00]                                                                                                                                                                Yes

07769945                              AAVE[3.46653], BTC[.0000279], DOGE[.967], ETH[.000998], ETHW[.000998], GRT[.61], LTC[.00353], SOL[.00249], SUSHI[227.6355], TRX[.5229], USD[7.46], USDT[0]

07769949                              USD[0.01]                                                                                                                                                                                    Yes

07769953                              BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07769954                              LINK[1.88344856], USD[0.00]                                                                                                                                                                  Yes

07769963                              UNI[2.28171993]                                                                                                                                                                              Yes

07769965                              AAVE[0], BTC[.13172659], CUSDT[2], DOGE[2], LINK[1.00081315], MATIC[0.01609072], TRX[2], USD[1.61]                                                                                           Yes

07769969                              NFT (494825610637702181/Solana Hacker House Miami 2021)[1]                                                                                                                                   Yes

07769970                              BRZ[4], BTC[.1517425], CUSDT[7], DOGE[9.05502111], ETH[1.27827248], ETHW[1.27773566], GRT[291.01167186], LINK[14.69544372], LTC[.95907449], SHIB[10], SOL[13.00710508],                      Yes
                                      SUSHI[332.92180998], TRX[3124.39399472], UNI[119.61733665], USD[0.00], YFI[.02138531]
07769971                              BRZ[1], BTC[0], CUSDT[1], SOL[0], TRX[1], USD[1030.29], USDT[0.00000185]                                                                                                                     Yes

07769974                              USD[0.26]

07769980                              TRX[.000001], USD[0.00], USDT[0]

07769985                              BTC[0], CUSDT[1], DOGE[0], ETH[0], USD[21.51], USDT[0]                                                                                                                                       Yes

07769989                              DOGE[1], SOL[6.41280116], USD[0.00]                                                                                                                                                          Yes

07769991                              CUSDT[1], DOGE[1], SOL[15.22313095], TRX[1], USD[0.01]

07769994                              USD[0.00]

07769996                              BTC[0.00000207], ETH[.0000185], LINK[.00088039], NFT (451477349673870204/Australia Ticket Stub #2398)[1], USDT[0.00006530]                                                                   Yes

07770006                              SHIB[1075694.85107635], TRX[1], USD[0.00]                                                                                                                                                    Yes

07770015                              BTC[5.56595388], ETH[63.15895777], ETHW[63.14202753], GRT[216041.98455235], UNI[9166.56438136], USD[5217.83]                                                                                 Yes

07770034                              BAT[1.0165555], BTC[0], CUSDT[1], DOGE[1], GRT[1.00367791], SOL[0.59966679], TRX[53.45967428], USD[0.00]                                                                                     Yes

07770038       Contingent,            BRZ[3], DOGE[1], ETH[0], MATIC[0.00182824], SHIB[4], SOL[0.00024171], UNI[.00010226], USD[2093.03]                                                                                           Yes
               Unliquidated
07770042                              USD[0.10]

07770049                              BF_POINT[200], USD[0.00]

07770050                              BF_POINT[200], USD[0.00]

07770061                              BTC[.2959305], ETH[.248838], ETHW[.248838], SOL[27.88384], USD[0.32]

07770065                              CUSDT[2], DOGE[2], ETH[.7778841], ETHW[.7775575], LINK[22.79028876], SUSHI[19.64285047], USD[0.00]                                                                                           Yes

07770067                              DOGE[2], ETH[0], ETHW[0], SOL[0], TRX[3], USD[0.00]                                                                                                                                          Yes

07770069                              BTC[0], USD[0.00], USDT[0]

07770072                              TRX[.000002], USD[187.37]

07770074                              CUSDT[1], DOGE[1], SOL[22.79934333], USD[0.00]                                                                                                                                               Yes

07770076                              BAT[1.0165555], BRZ[12.97966668], CUSDT[376.92668403], DOGE[60.52657016], GRT[1.00313735], LINK[.00007623], MATIC[.0138257], SHIB[.00000002], TRX[83.01643602], USD[0.00], USDT[0]           Yes

07770077                              MATIC[.00037556], SHIB[92316541.62981921], USD[0.00]                                                                                                                                         Yes

07770079       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07770083                              SHIB[4], USD[0.00], USDT[0]                                                                                                                                                                  Yes

07770093                              BTC[0], ETH[.00000001], USD[0.92]

07770094                              BRZ[2], CUSDT[2], DOGE[4], SHIB[3834011356.77974789], TRX[2], USDT[0.00547700]                                                                                                               Yes

07770099       Contingent, Disputed   BTC[0.00004603]

07770102                              BTC[0.00000001], DOGE[0], ETH[.00000007], ETHW[.00000007], SOL[0.00000001], USD[0.00], USDT[0]

07770104                              BF_POINT[200], CUSDT[1], LTC[.01383521], SHIB[1], SOL[0.00000001], USD[0.09], USDT[0]                                                                                                        Yes

07770105                              TRX[1], USDT[0]                                                                                                                                                                              Yes
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                                                                                                                                               Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07770106                              BTC[0], KSHIB[0], USD[0.00], USDT[0.00014566]

07770109                              ETH[0], ETHW[0]

07770115                              USD[2.20]                                                                                                                                                                           Yes

07770123                              BTC[0.00002012], ETH[.0004148], ETHW[.3004148], LINK[.06504], LTC[.00229323], SHIB[86035], SOL[.002875], UNI[.4], USD[0.02], USDT[0.06332364]

07770124                              BRZ[1], CUSDT[9.103115], DOGE[0], USD[0.00]                                                                                                                                         Yes

07770125                              NFT (544753790232233018/Microphone #317)[1], NFT (558436360363996295/Humpty Dumpty #527)[1]

07770127                              USD[1.15]

07770130                              USDT[0]

07770131                              SOL[.00000088], USD[0.00]

07770134                              BF_POINT[300], BTC[.0028007], CUSDT[10], DOGE[1.49061115], LTC[.0080579], SOL[.45808135], TRX[53.48472402], USD[0.00]

07770153                              USD[0.09]

07770156                              BTC[0]                                                                                                                                                                              Yes

07770157                              BRZ[1], SOL[12.41496802], TRX[1], USD[0.00]                                                                                                                                         Yes

07770164                              SOL[17.81217], USD[8.66]

07770169                              BTC[.00044321], CUSDT[6], DOGE[1], ETH[.0068731], ETHW[.00679102], SOL[.26715702], USD[0.77]                                                                                        Yes

07770174                              BRZ[2], CUSDT[6], DOGE[3], LINK[.00000001], TRX[3], USD[0.00]                                                                                                                       Yes

07770176                              BTC[.000593], ETH[.4995], ETHW[.4995], SOL[0.00673819], USD[2.04]

07770180       Contingent, Disputed   BTC[.0097412], ETH[.09822725], ETHW[.09720393], SOL[1.23271492]                                                                                                                     Yes

07770187                              AVAX[3.66204752], BRZ[2], BTC[0.02233317], DOGE[367.82023262], ETH[.34153833], ETHW[6.1327083], LINK[0], LTC[.00007608], MATIC[447.99500072], SHIB[114855405.59378672],             Yes
                                      SOL[6.59505369], TRX[26.97829001], USD[0.00]
07770188                              BTC[0], SOL[.0089489]

07770189                              BRZ[1], CUSDT[3], DOGE[3], NFT (306154219307968433/1500)[1], NFT (374990704257245826/1223)[1], NFT (376350363430838337/DarkPunk #3003)[1], NFT (408514243186759632/Eitbit Ape       Yes
                                      #3600)[1], NFT (459520952337232223/GalaxyKoalas # 799)[1], NFT (463825030658103759/DarkPunk #4443)[1], NFT (478300517087771981/Eitbit Ape #5302)[1], NFT
                                      (510211538612080920/DarkPunk #8552)[1], NFT (523753417521743242/Eitbit Ape #5732)[1], NFT (567079887056626187/Eitbit Ape #1238)[1], NFT (570352327568560194/Eitbit Ape #5849)[1],
                                      SOL[0], USD[0.00]
07770194                              BTC[.00001371], SOL[.00000001]                                                                                                                                                      Yes

07770198                              BF_POINT[300], BTC[.05091695], ETH[0.55848111], ETHW[0.55824651], USD[0.26]                                                                                                         Yes

07770210                              BTC[0.00005192], SOL[.01771686], USD[0.00]

07770212                              BRZ[1], USD[0.00]

07770224                              BTC[.0359529], ETH[.507006], ETHW[.507006], KSHIB[9.99], LINK[7], MATIC[139.86], SOL[.00760716], USD[2259.31]

07770227                              ETH[0], ETHW[0], GRT[0], KSHIB[0], NFT (326006240722732340/Populace #2)[1], NFT (333891523249264300/Token 001)[1], NFT (355996428901646358/Reaper)[1], NFT
                                      (394598318890953854/Populace)[1], NFT (421114803187042101/Succubus)[1], NFT (457360155728246301/Hallowed I)[1], NFT (500359998473930340/Nymph)[1], NFT
                                      (511154148295194992/Scorched Earth)[1], NFT (529727311011510038/Crystalline Kraken)[1], SHIB[2], TRX[1397.91916048], USD[0.00], USDT[0.00619546]
07770231                              BTC[0.00909230], USD[20.55]

07770234                              DOGE[2], USD[0.00]

07770243                              BTC[.00162133], SOL[0]

07770252                              USD[10.00]

07770270                              ETH[0], LINK[.05489342], USD[0.03]

07770271                              BTC[.00089919], DOGE[0], SOL[0.19717387], USD[0.00], USDT[.92020435]

07770274                              USD[109.95]                                                                                                                                                                         Yes

07770285                              TRX[2], USD[0.09]

07770293                              BF_POINT[300], CUSDT[2], DOGE[2], MATIC[1.64650178], SOL[.04808379], TRX[1], USD[0.01]                                                                                              Yes

07770296                              USD[0.00], USDT[0]

07770319                              CUSDT[2], ETH[0.00102149], ETHW[0.00100781], SOL[0.00059002], TRX[1], USD[0.00]                                                                                                     Yes

07770325                              BTC[.00000083], USD[0.00]                                                                                                                                                           Yes

07770330                              USD[0.00]

07770344                              SHIB[10289.76407506], USD[0.00]

07770356                              USD[0.01]                                                                                                                                                                           Yes

07770366                              ETH[2.63344450], SHIB[3], USD[0.00], USDT[0.00000578]                                                                                                                               Yes

07770368                              SOL[50.87774998]

07770374                              ETH[.01], ETHW[.01]

07770376                              BTC[0.06917298], ETH[.38378494], ETHW[.38378494], NFT (335021637231106130/Penguin Brawler #2115)[1], NFT (338505558594590282/SOLands 1168)[1], NFT (364658032381500366/SOLands
                                      202)[1], NFT (386278848196601256/SOLands 1167)[1], NFT (567901443899835516/SOLands 154)[1], SOL[0], USD[0.00]
07770379                              ETHW[.47519653], USD[1.14]                                                                                                                                                          Yes

07770382                              BTC[0], USD[0.00]                                                                                                                                                                   Yes

07770386                              BTC[0], MATIC[2.88787669], SOL[0], USD[0.00]

07770405                              BAT[1.00006391], BRZ[3], CUSDT[3], DOGE[5], MATIC[0], SHIB[3], SOL[0], TRX[4], USD[1820.93], USDT[1.00133413]                                                                       Yes

07770407                              USD[0.56]

07770410                              BTC[.00336815], USD[0.00]

07770419                              NFT (484838511953887974/Bahrain Ticket Stub #1212)[1]

07770425                              ETH[.05], ETHW[.05], NFT (559919483472239667/Vintage Sahara #189)[1], USD[86.05]                                                                                                    Yes

07770426                              ETH[0], SHIB[1], USD[0.00], USDT[0.00000735]                                                                                                                                        Yes
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                                                                                                                                               Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07770434                              BTC[0.00002604], GRT[1]                                                                                                                                                                       Yes

07770436       Contingent, Disputed   BRZ[1], BTC[0], CUSDT[1], ETH[0.00000925], ETHW[0], GRT[1], SHIB[3], SOL[0], TRX[4], USD[0.00], USDT[0]                                                                                       Yes

07770437                              USD[1.00]

07770445                              USD[10.99]                                                                                                                                                                                    Yes

07770447                              BTC[0.00000001], SOL[0], USD[0.00]

07770448                              SHIB[1], SOL[6.13671215], USD[1121.33]                                                                                                                                                        Yes

07770455                              DOGE[23], SOL[.00544232], USDT[0.15684568]

07770457                              AAVE[0], ALGO[0.00040033], AVAX[0], BCH[0], BRZ[0], BTC[0], CUSDT[0], DOGE[0], ETH[0], ETHW[0], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[3.64212200], MKR[0], NEAR[0], PAXG[0], SHIB[1],      Yes
                                      SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00], USDT[0], YFI[0]
07770458                              USD[37.86]

07770465                              DOGE[63], SHIB[61810], SOL[.0074825], USD[2.15]

07770476                              DOGE[474.54826137], ETH[.05560177], ETHW[.05491181], SOL[2.3452153]                                                                                                                           Yes

07770481                              ETH[.0039962], ETHW[.0039962], USD[1.07]

07770488                              ETH[.000529], ETHW[.000529], NFT (352228567239491069/Entrance Voucher #26516)[1], NFT (502106779767357819/GOONEY #10)[1], USD[4.22]

07770489                              AAVE[0], BAT[2.10886842], BRZ[6.57290151], CUSDT[22], DOGE[15.06070169], ETH[0], GRT[3.15356207], MATIC[0], SOL[0], TRX[13.41922065], USD[0.00], USDT[3.29481743]                             Yes

07770499                              ETH[.00000001], MATIC[0], SOL[0], USD[0.00], USDT[0.00000026]

07770507                              SOL[47.28892428]                                                                                                                                                                              Yes

07770513                              USD[49.59], USDT[0.05000000]

07770519                              BTC[0], ETH[0], ETHW[0], USD[0.00]

07770522                              AVAX[.14111564], BTC[0.00002587], ETH[.00025345], ETHW[.00025345], SOL[1.86320034], USD[211.60], USDT[0.00303509]

07770525                              USD[100.00]

07770531                              BTC[0], ETH[0], SOL[0], USD[0.00], USDT[.3004745]

07770534                              CUSDT[2], SOL[3.57788912], USD[0.00]                                                                                                                                                          Yes

07770539                              USD[0.01]                                                                                                                                                                                     Yes

07770542                              CUSDT[1], TRX[1], USD[0.01]                                                                                                                                                                   Yes

07770545                              BTC[.00354933]

07770553                              SOL[.999], USD[5.23]

07770573                              CUSDT[1], MATIC[418.06196814], SOL[3.65418102], TRX[1], USD[0.00]                                                                                                                             Yes

07770591                              SOL[2.59480622], USD[994.63]                                                                                                                                                                  Yes

07770592                              BTC[0], NFT (321393259769163918/Series 1: Wizards #1205)[1], NFT (369387961043787856/88rising Sky Challenge - Fire #223)[1], NFT (380651957700691120/CORE 22 #167)[1], NFT
                                      (396417211936379833/In Bitcoin We Trust)[1], NFT (475244388992579687/88rising Sky Challenge - Cloud #325)[1], NFT (509987203428492757/The Hill by FTX #215)[1], USD[0.00], USDT[0.00030309]

07770594                              ETHW[.000946], USD[4937.32]

07770599                              BAT[1.01406135], BTC[0], CUSDT[1], DOGE[2], SOL[0], USD[0.01]                                                                                                                                 Yes

07770601                              TRX[1], USD[0.00]                                                                                                                                                                             Yes

07770608                              BTC[.005523], DOGE[391.76902199], ETH[.0628856], ETHW[.06210527], KSHIB[165.75164225], SHIB[6439348.19175594], SOL[2.58190785], USD[13.54]                                                    Yes

07770609                              BTC[.00425184], CUSDT[2], DOGE[1], ETH[.06849061], ETHW[.06764161], USD[0.20]                                                                                                                 Yes

07770611                              USD[0.39]

07770613                              BRZ[1], CUSDT[16], DOGE[3], ETH[.00000117], ETHW[.12712021], SHIB[2], TRX[2], USD[208.38], USDT[1.08145796]                                                                                   Yes

07770628                              MATIC[13.01283613], SHIB[1], USD[0.00]                                                                                                                                                        Yes

07770629                              BTC[0.00009143], SOL[0], USD[0.01], USDT[0]

07770631                              AAVE[0], BTC[.00000055], ETH[0], ETHW[0], LINK[0], MATIC[0], SOL[0], USD[0.00], USDT[0]

07770638                              ETH[.11116246], ETHW[.11116246]

07770642                              BAT[.00022795], NFT (456033220757185850/Saudi Arabia Ticket Stub #1347)[1], USD[0.01]                                                                                                         Yes

07770647                              BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07770649                              CUSDT[7], MATIC[3.96123399], SHIB[1], SOL[.00797321], TRX[1], USD[0.74]                                                                                                                       Yes

07770654                              BTC[.00169055], USD[9.00]

07770656                              USD[0.01]                                                                                                                                                                                     Yes

07770659                              ETH[.00001768], ETHW[.00001768], SHIB[1], USD[0.00]                                                                                                                                           Yes

07770668                              USD[0.03]

07770685                              BRZ[2], DOGE[409.05514077], ETH[.05068016], ETHW[.01971167], KSHIB[839.78075004], SHIB[6211775.46960738], SOL[1.01721495], USD[0.00]                                                          Yes

07770688                              BRZ[1], CUSDT[8], DOGE[2], USD[0.01]                                                                                                                                                          Yes

07770691                              BAT[1.01504264], BRZ[2], CUSDT[1], DAI[0], TRX[4], USD[0.00]                                                                                                                                  Yes

07770696                              CUSDT[1], DOGE[1], MATIC[116.33142245], SHIB[6320138.84874393], SUSHI[9.84338752], TRX[1], USD[0.00]                                                                                          Yes

07770701                              BRZ[1], ETH[.0000201], ETHW[2.20109498], USD[0.00]                                                                                                                                            Yes

07770705                              SOL[5.2], USD[6.13]

07770709                              SOL[121.87917343]

07770715                              NEAR[36.2637], SOL[0.09860094], TRX[.180601], USD[1.38], USDT[0.00000008]

07770718                              NFT (353803598095526337/FTX - Off The Grid Miami #894)[1], USD[0.00]

07770720                              USDT[4893]
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                                                                                                                                               Customer Claims                                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07770721                              CUSDT[7], USD[0.01]

07770723                              BRZ[2], CUSDT[4], SHIB[3], SUSHI[1.04016599], TRX[6], USD[0.01], USDT[0]                                                                                                          Yes

07770742                              CUSDT[1], ETH[.17859692], ETHW[.17835242], SOL[12.1154566], TRX[1], USD[0.00]                                                                                                     Yes

07770751                              MKR[.0000208], SOL[.00000001]                                                                                                                                                     Yes

07770765                              BAT[1.0165555], BRZ[4], CUSDT[1], DOGE[2], ETH[.01182253], ETHW[0.01167204], SOL[.00000001], TRX[3], USD[0.00], USDT[0]                                                           Yes

07770768                              USD[0.01]                                                                                                                                                                         Yes

07770771                              USD[1.06]

07770786                              BAT[.8619], BCH[.0001925], BTC[0.00009496], DOGE[11.73295], ETH[.00022575], ETHW[.00022575], GRT[.36445], LINK[.09512], LTC[.0005665], MATIC[9.316], SHIB[55920], SOL[.003495],
                                      SUSHI[.467225], UNI[.095535], USD[0.00], USDT[0]
07770801                              USD[0.00]

07770802                              SOL[0.00025184], USD[0.00]                                                                                                                                                        Yes

07770804                              USD[1.19]

07770811                              CUSDT[1], SHIB[1], USD[0.00]                                                                                                                                                      Yes

07770812                              BRZ[2], BTC[0.00000003], DOGE[4], ETH[0], ETHW[0], GRT[1], MATIC[0], SHIB[17], SOL[0], TRX[3], USDT[0.00000086]                                                                   Yes

07770824                              BCH[.050949], BTC[0.00027534], DOGE[74.52], ETH[.026], ETHW[.026], SHIB[1200000], USD[0.77]

07770826                              CUSDT[1], USDT[0]

07770831                              CUSDT[1], LTC[0], USD[0.00], USDT[534.62935031]                                                                                                                                   Yes

07770835                              BTC[.00017824], CUSDT[5], DOGE[1], MATIC[27.93878024], SOL[.27061015], SUSHI[20.04856275], USD[0.00]                                                                              Yes

07770845                              USD[0.06], USDT[0.00001248]

07770848                              CUSDT[7], SHIB[2], USD[0.00]                                                                                                                                                      Yes

07770872                              ETH[0], SOL[0], USD[0.00]

07770880                              BF_POINT[100], USD[0.00]                                                                                                                                                          Yes

07770881                              BTC[.00793618], ETH[.06095898], ETHW[.06095898], SOL[1.20221633], USD[0.00]

07770882                              BTC[0], MATIC[0], USD[0.00]

07770906                              BTC[0], USD[3.17], USDT[0]

07770909                              DOGE[35.28255942], USD[0.00]                                                                                                                                                      Yes

07770919                              BTC[.00462269], DOGE[1], ETH[.01211338], ETHW[.1390968], LTC[.21810833], SHIB[925652.39165963], SOL[.04869196], TRX[1], USD[0.02]                                                 Yes

07770925                              BTC[0], CUSDT[0], DOGE[0], ETH[0], GRT[0], KSHIB[0], LTC[0], MATIC[0], SGD[0.00], TRX[0], UNI[0], USD[0.21], USDT[0.00000001], ZAR[0.00]                                          Yes

07770935                              CUSDT[3], DOGE[2], MATIC[3.30766396], SHIB[1], SOL[.00625879], TRX[2], USD[0.01]                                                                                                  Yes

07770938                              USD[0.00], USDT[0]                                                                                                                                                                Yes

07770943                              USD[5.00]

07770948                              CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                      Yes

07770949                              USD[5.83]

07770951                              BAT[1.01655549], BRZ[1], CUSDT[6], DOGE[2], TRX[1], USD[0.00], USDT[0]                                                                                                            Yes

07770954                              SOL[.00091325], TRX[1], USD[0.00]                                                                                                                                                 Yes

07770957                              BTC[0], ETH[0], SOL[0], USD[2.22]

07770971                              USD[0.00], USDT[0.00000045]

07770974                              SUSHI[.12074649], USD[0.13]

07770982                              BTC[0.00000321], USD[0.66], USDT[0.02422965]

07770983                              CUSDT[1], USD[0.00]

07770984                              BF_POINT[100], BRZ[1], DOGE[1], SOL[.00004215], USD[0.00]

07770986                              USD[4.36]

07770991                              BRZ[1], BTC[0], CUSDT[3], DOGE[9.01714174], ETH[.00004945], ETHW[.00004945], GRT[2], MATIC[0], SHIB[5], TRX[9], USD[0.08]                                                         Yes

07770996                              NEAR[751.9473], USD[2.37], USDT[10]

07771007                              BCH[0], BTC[0], USD[0.00]                                                                                                                                                         Yes

07771010                              BTC[.00932264], SOL[1], USD[0.00]

07771013                              BF_POINT[200], USD[0.90]                                                                                                                                                          Yes

07771018                              ETH[0], USD[0.00]

07771020                              LINK[20.979], USD[19.26]

07771022                              AAVE[.08991], BTC[.0003996], SOL[1.26141], SUSHI[.489], TRX[2.957], UNI[3.32975], USD[0.00], USDT[0.25469232]

07771025                              BTC[.000006]

07771033                              SOL[3.40889859], TRX[1], USD[1957.79]                                                                                                                                             Yes

07771036                              USD[0.25], USDT[7.74580016]

07771039                              USD[0.25]

07771043       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07771045                              USD[1.87], USDT[.000368]

07771047                              BRZ[3], CUSDT[16], DOGE[4.00811778], TRX[2], USD[0.00]                                                                                                                            Yes

07771049                              SOL[7]

07771057                              USD[7.82]
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                                                                                                                                            Customer Claims                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07771059                           ETH[0.23275524], ETHW[0.23275524], SOL[0], USD[264.26]

07771066                           ETH[0], SOL[0.27079406], USD[0.00]

07771074                           BRZ[2], CUSDT[2], DOGE[5.00551493], SHIB[5], TRX[2], USD[1692.36]                                                                                                      Yes

07771079                           BTC[.00951845], ETH[.0657551], ETHW[.06493794], SOL[1.23544227]                                                                                                        Yes

07771087                           USD[8.95]

07771091                           BTC[0.00000001], ETH[0], LTC[0], MATIC[0.00000001], SOL[0], USD[0.08], USDT[0.00000002]

07771111                           ETHW[1.944], USD[0.00], USDT[.0065906]

07771113                           USD[0.00]

07771115                           BRZ[2], CUSDT[16], DOGE[3], ETH[.0000004], ETHW[.0000004], LTC[.00000808], MATIC[.00138325], SOL[.00001827], SUSHI[.0000393], TRX[5], USD[0.00]                        Yes

07771120                           USD[0.00]

07771121                           DOGE[241], LINK[.00011], PAXG[.0225], SHIB[1900000], SOL[.000039], USD[0.00]

07771124                           USD[1.11]

07771132                           LINK[10.89019], SOL[.003937], USD[1.09], USDT[.70078791]

07771138                           NFT (342317197566649461/Coachella x FTX Weekend 2 #25452)[1], SOL[.099985], USD[0.68]

07771141                           BTC[.11527654], DOGE[1], USDT[0.88018697]                                                                                                                              Yes

07771142                           SOL[.003258], USD[0.01]

07771149                           SHIB[3696600], USD[2.86]

07771150                           SOL[12.05], USD[0.00]

07771153                           BAT[5.03144717], BRZ[7.05062065], BTC[0.00000188], DOGE[18.09541143], ETH[.00000004], ETHW[4.10205527], GRT[4], LINK[8.42569977], LTC[.00010692], MATIC[1.00126101],   Yes
                                   SHIB[3841596.81202927], SOL[2.52949899], SUSHI[1.02279333], TRX[15], UNI[1.02149614], USD[0.01], USDT[0.00000001]
07771155                           ETH[.60487694], ETHW[0.60487694], NFT (350862716358603404/Sigma Shark #3409)[1], SOL[.00308248], USD[0.00]

07771160                           USD[0.00], USDT[0]

07771161                           DOGE[2249.57697829], SOL[0.29882756], USD[0.00], USDT[0.00000028]

07771162                           USD[25000.74]

07771164                           SOL[33.47600204], USD[0.00]

07771166                           BTC[.0634542], CUSDT[2], ETH[.27637094], ETHW[.2761769], SOL[6.91103845], SUSHI[1.09857933], USD[2.76]                                                                 Yes

07771168                           BTC[.03766671], ETH[0.15835519], USD[0.01]

07771171                           BTC[0], DOGE[.555], GRT[.872], USD[0.00], USDT[0]

07771174                           BAT[105.88365534], BTC[.0438714], ETH[.6377516], ETHW[.6377516], SOL[12.63718351]

07771175                           SOL[.00000001]                                                                                                                                                         Yes

07771186                           SOL[5.68678573], USD[0.00]

07771190                           BTC[0], NFT (350855058637862588/Sharp)[1], USD[3.06], USDT[0]

07771192                           NFT (541744596729829831/CatSeries)[1], USD[9.00]

07771200                           USD[0.00]

07771213                           AAVE[.00536], ETH[.00097866], ETHW[0.00097866], SOL[0.00433056], USD[0.00], USDT[0]

07771236                           NFT (505005036406614914/Entrance Voucher #25838)[1], USD[0.29]

07771242                           USD[0.00], USDT[0]

07771244                           USD[0.70]

07771246                           USD[6.83]

07771247                           CUSDT[1], SOL[.1903556], USD[0.00]

07771248                           USD[0.00]

07771273                           USD[0.36]

07771286                           USD[27.39]                                                                                                                                                             Yes

07771297                           USD[0.00]

07771299                           LTC[.00362326], USD[0.00]

07771300                           UNI[.00352928]                                                                                                                                                         Yes

07771304                           BTC[.09342355], ETH[.66072291], ETHW[.66072291], GRT[185], SOL[5.27385822], USD[0.00], USDT[0.00000157]

07771314                           BTC[0.03255880], SOL[8.6627138], USD[4.20]

07771315                           MATIC[139.91], SOL[.0713711], USD[0.00]

07771317                           USD[1.84]

07771319                           USD[0.00]

07771320                           SOL[0], USD[0.35]

07771326                           SOL[8.07734], USD[2.89]

07771327                           BTC[0], ETH[.00000001], ETHW[0]

07771332                           DOGE[947.47830673], USD[0.00]

07771335                           ETH[3.59737912], ETHW[3.59586823]                                                                                                                                      Yes

07771343                           ETH[.00000001]                                                                                                                                                         Yes

07771346                           BAT[1], BTC[.03812695], TRX[1], USD[6127.62]                                                                                                                           Yes

07771352                           USD[49.94], USDT[49.296165]
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                                                                                                                                              Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or       Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07771358      Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07771360                             USD[95.01]                                                                                                                                                                          Yes

07771375                             SOL[0.00489027], USD[0.00]

07771376                             SOL[.3296865], USD[1.00]

07771377                             BTC[.0307], USD[1306.80]

07771381                             NFT (303594362834647476/Entrance Voucher #4044)[1], SHIB[3.17171066], SOL[0], USD[0.00]                                                                                             Yes

07771385                             SOL[.00000001]

07771387                             BTC[0.17684934], ETH[.371628], ETHW[.371628], SHIB[40757381.10971527], SOL[13.7691898], USD[4.13]

07771391                             ETH[0], SOL[2.86260587], USD[0.00]

07771396                             TRX[.728538]

07771400                             SOL[.00003011], USD[0.00]

07771402                             CUSDT[2], USD[0.00]                                                                                                                                                                 Yes

07771404                             BTC[0], ETH[0], ETHW[0], USD[0.74], USDT[.0037934]                                                                                                                                  Yes

07771412                             SOL[3.38], USD[0.80], USDT[56]

07771413                             DOGE[2], LINK[38.87198962], USD[0.00]                                                                                                                                               Yes

07771416                             ETHW[6.63078306], SHIB[.00000001]                                                                                                                                                   Yes

07771417                             ETH[.00002004], ETHW[2.19504464], LINK[.00497832], TRX[3], USD[0.00], USDT[2.10482491]                                                                                              Yes

07771423                             CUSDT[1], DOGE[1], USD[0.00], USDT[0]

07771425                             GRT[1.00367791], TRX[1], USD[0.00]                                                                                                                                                  Yes

07771430                             NFT (346663973220355247/FTX - Off The Grid Miami #146)[1]                                                                                                                           Yes

07771431                             BTC[.00899], ETH[.156], ETHW[.156], LTC[.0095], SHIB[4396900], SOL[.00931], TRX[.8], UNI[4.5], USD[19.84]

07771432                             TRX[.000001], USD[0.48], USDT[.001388]

07771440                             USD[0.66], USDT[.0034]

07771441                             BTC[5.05292789]                                                                                                                                                                     Yes

07771445                             ETH[0.00011365], ETHW[0.00068117], NFT (384895013426181569/FTX Crypto Cup 2022 Key #1044)[1], USD[785.31], USDT[31.21226096]

07771448                             ETH[0], ETHW[0], TRX[0]

07771460                             CUSDT[7], DOGE[3], TRX[1], USD[0.00]                                                                                                                                                Yes

07771479                             CUSDT[1], USD[0.12]                                                                                                                                                                 Yes

07771482                             DAI[.04782151], USD[0.00]

07771493                             BTC[.22478625], ETH[4.72576161], ETHW[4.72576161], SOL[41.58841716], USD[21.92]

07771498                             AAVE[.18252719], ALGO[6.36751559], AVAX[2.75961901], BAT[11.15660461], BCH[.01953435], BRZ[4], BTC[.00241658], CUSDT[205.94806799], DOGE[150.81469173], ETH[.00725685],             Yes
                                     ETHW[.81761683], GRT[42.87555567], KSHIB[834.92791915], LINK[4.03499639], LTC[.47674725], MATIC[31.50915602], MKR[.02365238], NEAR[4.95392141], SHIB[5375432.9948161],
                                     SOL[1.49281795], SUSHI[15.2880571], TRX[13.01454136], UNI[3.315114], USD[183.94]
07771505                             BRZ[1], CUSDT[1], ETH[.19493046], ETHW[.19493046], TRX[1], USD[250.00]

07771512                             CUSDT[1], DOGE[1.0000488], USD[53.79]

07771514                             BTC[0], USDT[0.00019886]

07771523                             ETH[.00682663], MATIC[24.18789006], SOL[.00000001], USD[0.00]                                                                                                                       Yes

07771530                             USD[21.87]                                                                                                                                                                          Yes

07771537                             BTC[.00001683], CUSDT[42], DOGE[687.14551684], ETH[0.12676725], ETHW[0.12564806], LTC[.10305498], MATIC[74.46534103], SHIB[339208.73396249], SOL[3.27587517], TRX[.00007478],       Yes
                                     USD[447.43], USDT[109.057565]
07771559                             BTC[.00122881], SOL[0], USD[0.00]

07771562                             USDT[0.00001719]

07771568                             MATIC[16.66790118], USD[0.00]                                                                                                                                                       Yes

07771599                             BF_POINT[300]

07771600                             BTC[0]

07771608                             DOGE[3], ETH[0], ETHW[0], MATIC[.00003725], SHIB[8], SOL[.00000001], TRX[1], USD[1381.27], USDT[0.00001558]                                                                         Yes

07771622                             DOGE[39.53], USD[0.41]

07771623                             USD[0.05]                                                                                                                                                                           Yes

07771656                             BTC[0], SOL[0], USD[2.00]

07771658                             USD[1.86], USDT[0]

07771669                             BAT[636.81335799]                                                                                                                                                                   Yes

07771675                             BRZ[3.91563597], USD[0.00]                                                                                                                                                          Yes

07771677                             BAT[7.14157652], BRZ[3], BTC[12.44102133], DOGE[637820.5597467], ETH[1543.40495696], ETHW[1584.99632361], GRT[10.03790331], LINK[2.04570751], LTC[2.06455979], MATIC[2.00132131],   Yes
                                     PAXG[1.06118341], SHIB[1], SOL[808.65407915], SUSHI[4.14280619], TRX[6.000067], UNI[3.10167242], USD[181985.76], USDT[251011.30926917]
07771680                             USD[0.30]                                                                                                                                                                           Yes

07771682                             USD[0.01]

07771684                             BTC[0], ETH[0], SOL[0], USD[4108.32], USDT[0]                                                                                                                                       Yes

07771694                             ETH[.000697], ETHW[.000697], SOL[.00811], USD[6.67]

07771701                             BTC[0], LINK[.08671249]

07771704                             NFT (312670032346498314/Warriors 75th Anniversary Icon Edition Diamond #2011)[1]

07771707                             DOGE[1], ETH[0], SOL[0], USD[0.00]                                                                                                                                                  Yes
West Realm Shires Services Inc.                                                           Case 22-11068-JTD      DocF-3:
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                                                                                                                                               Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07771708                              CUSDT[1], TRX[246.21838112], USD[0.00]

07771710                              BTC[0], LTC[0], SHIB[0], USD[0.00]                                                                                                                                                      Yes

07771716                              NFT (314872004123273654/Coachella x FTX Weekend 2 #190)[1]

07771717                              BTC[0], USD[0.01]

07771719                              BRZ[1], SOL[0]                                                                                                                                                                          Yes

07771723                              CUSDT[1], ETH[.00840628], ETHW[.00829684], USD[0.00]                                                                                                                                    Yes

07771733                              BTC[0], ETHW[.00081851], USD[0.00]

07771750                              USD[85892.44]                                                                                                                                                                           Yes

07771752                              CUSDT[1], NFT (511755715894892428/Entrance Voucher #2762)[1], TRX[1], USD[1.10]                                                                                                         Yes

07771753                              ETH[.003], ETHW[.003], NFT (421063542756136128/Microphone #225)[1], USD[1.97]

07771762                              BAT[1.0165555], CUSDT[1], DOGE[3], GRT[.0008236], LINK[.00016124], TRX[2], USD[0.00], USDT[0.00004789]                                                                                  Yes

07771764                              MATIC[30], SOL[1], USD[14.08]

07771775                              USD[0.01], USDT[0]                                                                                                                                                                      Yes

07771776                              CUSDT[2], SOL[.00002466], USD[0.00]                                                                                                                                                     Yes

07771779                              BTC[.00036095], CUSDT[2], LTC[.12108057], USD[0.01]                                                                                                                                     Yes

07771787                              CUSDT[1], SOL[1.48312889], USD[0.00]

07771791                              USD[145.76]                                                                                                                                                                             Yes

07771792                              CUSDT[2], USD[183.61]

07771797                              BTC[.00000001], CUSDT[209.99410907], PAXG[.0000007], SOL[.0393696], TRX[58.41057008], USD[0.00]                                                                                         Yes

07771807                              LTC[.00105547], SOL[.00002319]                                                                                                                                                          Yes

07771812                              ETH[.00000001], ETHW[0], USD[0.00]                                                                                                                                                      Yes

07771814                              AVAX[.13685701], USD[25.00]

07771815                              USD[0.00]                                                                                                                                                                               Yes

07771831                              USD[21.84]                                                                                                                                                                              Yes

07771846                              USD[0.15]

07771848                              SOL[.2735], USD[21.29]

07771852                              USD[677.11]                                                                                                                                                                             Yes

07771853                              BRZ[1], CUSDT[5], DOGE[1], ETH[.00000009], ETHW[.00000009], USD[0.00], USDT[0.00024745]                                                                                                 Yes

07771855                              USD[6.45]

07771857                              BTC[.00111013]                                                                                                                                                                          Yes

07771874                              BF_POINT[300], BTC[.00000006], ETH[2.13078117], ETHW[2.12988624], USD[0.26], USDT[0]                                                                                                    Yes

07771878                              BTC[.00058837]

07771879                              USD[0.00]                                                                                                                                                                               Yes

07771884                              ETH[6.75457705], ETHW[6.75457705], USD[0.00], USDT[28.5]

07771906                              BRZ[1], CUSDT[3], DOGE[1], NFT (335923813836839613/The Tower #373-9)[1], NFT (507807774097866718/2722)[1], NFT (525356308443672426/Pixel Knights#5467)[1], SOL[1.96489569],
                                      USD[0.00], USDT[1]
07771907                              USD[94.91]

07771909                              BAT[1], BRZ[1], CUSDT[2], DOGE[4], ETHW[1.68531451], TRX[7], USD[0.03]                                                                                                                  Yes

07771911       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07771916                              BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07771918                              BTC[0], ETHW[.013986], USD[0.00], USDT[0], YFI[.001]

07771921                              USD[0.00]

07771930                              USD[0.00], USDT[0]

07771932                              TRX[.000003], USD[0.13], USDT[0.00210500]

07771935                              BTC[.00000001], NFT (434483049119676824/Unverfied Token)[1], USDT[0]

07771942                              USD[0.00]

07771948                              BTC[.00516603], CUSDT[2], MATIC[52.17125688], PAXG[.10139854], TRX[3], USD[0.92]                                                                                                        Yes

07771954                              ETH[0], MATIC[0], SOL[0], USD[0.00], USDT[0]

07771956                              BTC[.00014416], ETH[.00049999], ETHW[.355645], MATIC[0.32972560], SOL[0.00027433], USD[303.59]

07771960                              USD[1.09]

07771963                              AVAX[.0993], BF_POINT[200], BTC[.00001808], NFT (289960880781258386/Beyond Reach #43)[1], NFT (312165703552994395/The Hill by FTX #6640)[1], NFT (367661247122580694/The Hill by FTX
                                      #6708)[1], NFT (458458300980415421/FTX EU - we are here! #249526)[1], NFT (479996248603685093/Humpty Dumpty #1108)[1], NFT (507718526960268674/FTX EU - we are here! #244639)[1], NFT
                                      (530994847879328353/FTX EU - we are here! #253002)[1], SHIB[98900], SOL[.14700001], USD[0.13], USDT[0.30096955]
07771980                              USD[0.00]

07771982                              ETH[0.02022402], ETHW[0.02022402], NFT (453526125039887162/2974 Floyd Norman - OKC 4-0135)[1], NFT (466442904914212058/2974 Floyd Norman - CLE 2-0242)[1], PAXG[.1807619],
                                      SOL[2.47453712], USD[97.82], USDT[0.00000067]
07771983                              USD[54.80]                                                                                                                                                                              Yes

07771990                              CUSDT[1], ETH[.00797997], ETHW[.00788421], USD[0.00]                                                                                                                                    Yes

07771991                              BTC[.01420528], ETH[2.15352217], ETHW[2.15261771]                                                                                                                                       Yes

07771995                              BTC[.0351648], ETH[.040837], ETHW[.040837], USD[0.56], USDT[74.825]

07772003                              ALGO[.00000001], TRX[.000024]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07772006                           ETH[.00018795], ETHW[.04642066], USD[0.81]

07772007                           BTC[.00003398], LINK[9.3906]

07772010                           BAT[1.01170733], BRZ[2], DOGE[1], ETH[.0000318], ETHW[3.48085853], TRX[2], USD[0.05], USDT[1.07237174]                                                                               Yes

07772014                           BTC[0.00013174], DOGE[0], ETH[0], ETHW[0.00092600], MATIC[0], SHIB[3654233.10495921], SOL[0], USD[0.34]

07772015                           BTC[.19076919], USD[0.00]

07772017                           ETH[.0339171], ETHW[0.03391709], NFT (493566948708160450/Entrance Voucher #3112)[1]

07772029                           SHIB[1], USD[17.42]                                                                                                                                                                  Yes

07772035                           USD[0.34]

07772037                           AAVE[0], BCH[0], BTC[0], DOGE[0], ETH[0], MATIC[0], SOL[0.00000001], SUSHI[0], USD[0.00], USDT[0]

07772047                           USD[0.00]

07772054                           USD[1510.00]

07772069                           BTC[.00003823]

07772071                           LINK[3.66804347], USD[4.76]

07772072                           SOL[.07366341], USD[5.51]                                                                                                                                                            Yes

07772073                           BTC[0], SOL[.003916], USD[0.02]

07772074                           USD[20.00]

07772076                           USD[21.51]                                                                                                                                                                           Yes

07772080                           BRZ[1], BTC[.00077845], USD[21.51]                                                                                                                                                   Yes

07772083                           BAT[.00000001], SOL[0], USD[0.00]                                                                                                                                                    Yes

07772084                           SOL[0], USD[0.00], USDT[0.00000030]

07772088                           USD[0.00]                                                                                                                                                                            Yes

07772108                           BAT[1.00680832], BTC[.01146411], KSHIB[6928.75082382], TRX[1], USD[68.86]                                                                                                            Yes

07772120                           USD[21.51]                                                                                                                                                                           Yes

07772130                           BTC[.00921018]                                                                                                                                                                       Yes

07772134                           SOL[.07049271], SUSHI[.25020017], TRX[30.08363483], USD[60.71]                                                                                                                       Yes

07772141                           BTC[0], LINK[.00000001], SOL[0], USD[0.00], USDT[0]

07772146                           USD[20.00]

07772147                           SOL[0], USD[0.00]

07772150                           AAVE[3.267057], BTC[.10920163], ETH[.4755716], ETHW[.4755716], LINK[18.5], MATIC[359.676], SOL[4.9955], USD[7.28]

07772164                           USD[21.51]                                                                                                                                                                           Yes

07772170                           ETH[0], ETHW[2.04593741], NFT (340145100393145546/SMB PASS #856)[1], NFT (449384736513903646/SMB PASS #850)[1], SOL[.00000001], USD[33.60]

07772172                           USD[0.00], USDT[3.40798509]

07772173                           SHIB[2], USD[0.00]                                                                                                                                                                   Yes

07772174                           USD[0.01]                                                                                                                                                                            Yes

07772177                           USD[193.90]

07772179                           USD[21.51]                                                                                                                                                                           Yes

07772183                           BTC[0.00001933], SOL[.000014], USD[6.38], USDT[1.77902815]

07772184                           NFT (519259107387703868/Barcelona Ticket Stub #2078)[1], NFT (520032668961452951/Saudi Arabia Ticket Stub #167)[1]

07772189                           BF_POINT[400], BTC[0.00000052], ETH[0], NFT (301565345828745299/FTX - Off The Grid Miami #7505)[1], SOL[.00097001], USD[0.00], USDT[0.00000024]                                      Yes

07772190                           ETH[.00000001], SOL[.00000001], USD[1938.93]

07772193                           USD[0.01]                                                                                                                                                                            Yes

07772194                           BRZ[1], CUSDT[8], DOGE[9911.50922753], ETHW[29.3657341], SHIB[67941985.92509876], SOL[3.1732055], TRX[4], USD[0.00]                                                                  Yes

07772198                           CUSDT[2], DOGE[1], LTC[.00002542], SOL[0], TRX[1], USD[0.00], USDT[0.00000006]                                                                                                       Yes

07772203                           BRZ[3], CUSDT[7], DOGE[5], MATIC[431.88657102], NFT (313448918352934259/Galactic Gecko #7147)[1], NFT (330148387193372633/MagicEden Vaults)[1], NFT (393101708901921015/4450)[1],    Yes
                                   NFT (395643364253515260/MagicEden Vaults)[1], NFT (398327175317034844/MagicEden Vaults)[1], NFT (425443146844913529/GGSG Brawler Skin)[1], NFT (434422834329991135/MagicEden
                                   Vaults)[1], NFT (438236189641747351/Geckos Spaceship)[1], NFT (493155126930918593/4270)[1], NFT (524632544048978230/Geckos Spaceship)[1], NFT (529206126360096557/Geckos
                                   Spaceship)[1], NFT (537260087828942719/Baddies #4573)[1], NFT (555904717380977941/Geckos Spaceship)[1], NFT (561127709376233960/MagicEden Vaults)[1], NFT
                                   (561673400112425101/Belugie #6902)[1], SHIB[765247.89013335], SOL[5.54773627], TRX[2], USD[0.00]
07772219                           USD[0.19]                                                                                                                                                                            Yes

07772221                           USD[20.00]

07772225                           USD[21.51]                                                                                                                                                                           Yes

07772226                           USD[21.51]                                                                                                                                                                           Yes

07772235                           USD[0.00], USDT[.81886404]

07772241                           USD[20.00]

07772243                           USD[50.01]

07772251                           USD[20.00]

07772252                           BRZ[5.42577097], DAI[.9927307], DOGE[30.38428737], ETH[.00093959], ETHW[.00092591], HKD[0.70], KSHIB[220.15725319], SOL[.02082585], SUSHI[.22798825], TRX[11.51213827], USD[0.00],   Yes
                                   USDT[2.18856851]
07772258                           TRX[.000001]

07772264                           USD[1.03]

07772273                           SHIB[2], USD[0.01]
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                                                                                                                                            Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07772274                           USD[21.51]                                                                                                                                                                            Yes

07772283                           USD[0.00]

07772299                           USD[0.00]

07772300                           USD[20.00]

07772306                           USD[20.00]

07772307                           ETH[.11885891], ETHW[.11885891], USD[0.00]

07772308                           BTC[.0950747], ETH[1.076], ETHW[1.076], MATIC[60], SOL[16.993], USD[6.20]

07772309                           DOGE[25.59071108], USD[0.04]                                                                                                                                                          Yes

07772325                           USD[21.51]                                                                                                                                                                            Yes

07772326                           SOL[.00000001], TRX[.000001], USD[0.00], USDT[0]

07772332                           USD[20.00]

07772335                           USD[0.93]

07772340                           USD[0.00], USDT[0]

07772342                           NFT (494737576084773619/Coachella x FTX Weekend 2 #3413)[1]

07772345                           USD[20.00]

07772348                           BF_POINT[100], BTC[.00660761], CUSDT[13], DOGE[341.43270128], ETH[0.00000081], ETHW[0.08917775], NFT (356040165134801937/FTX - Off The Grid Miami #245)[1], SHIB[2],                  Yes
                                   SOL[0.00001115], USD[0.01]
07772353                           USD[21.51]                                                                                                                                                                            Yes

07772355                           TRX[14.93010496], USD[0.50]                                                                                                                                                           Yes

07772356                           BTC[0.00080982], CUSDT[2], ETHW[.39009167], SOL[.00217405], USD[81.90]                                                                                                                Yes

07772358                           CUSDT[5], DOGE[4], ETH[.33340418], ETHW[.33325522], USD[196.16]                                                                                                                       Yes

07772359                           LTC[0], SOL[0.00000001], TRX[.000001], USD[0.00], USDT[0.00000022]

07772361                           BTC[.0999], USD[746.28]

07772365                           BAT[1.01637512], BRZ[1], DOGE[10.02267396], ETH[.00001748], ETHW[1.54532942], SHIB[4], SOL[.00078998], TRX[8], USD[28.24]                                                             Yes

07772377                           BTC[0.00000772], SOL[.08], USD[0.53]

07772378                           NFT (495708879395598686/Raydium Alpha Tester Invitation)[1], USD[0.01]                                                                                                                Yes

07772382                           USD[20.00]

07772383                           USD[20.00]

07772387                           USD[20.00]

07772392                           USD[0.73]

07772395                           NFT (360895940319285880/Coachella x FTX Weekend 2 #20133)[1], SOL[0.01186326]

07772396                           BTC[0], ETH[1], ETHW[1], SOL[12.586], USD[0.00]

07772400                           BTC[0], USD[0.00], USDT[0.00000064]

07772402                           USD[21.51]                                                                                                                                                                            Yes

07772406                           USD[21.51]                                                                                                                                                                            Yes

07772408                           USD[20.00]

07772409                           BTC[0], ETH[0], ETHW[0], SOL[0], USD[0.34]

07772413                           BTC[0.00000051], DOGE[0.33564958], ETH[0], ETHW[-0.40003567], LTC[0], MATIC[0], NFT (330331650779204278/Hall of Fantasy League #129)[1], NFT (338910446144191483/Mack Flabmami)[1],
                                   SOL[4.56946428], SUSHI[0.12935921], USD[-15.83]
07772417                           BAT[2.08356904], BRZ[2], CUSDT[8], DAI[.00000001], DOGE[6.00038359], GRT[1.00367791], MATIC[2.43157643], SHIB[1], TRX[6], USD[0.00]                                                   Yes

07772419                           MATIC[152.51816496], SOL[0.01927464], USD[0.00], USDT[0.00000013]

07772421                           ETH[0], SOL[0], USD[0.01]

07772426                           USDT[1.2449456]

07772427                           CUSDT[6], DOGE[1], ETH[.0000002], LINK[0], SHIB[4], TRX[4], USD[0.00], USDT[0.00031783]                                                                                               Yes

07772431                           USD[50.01]

07772435                           USD[0.01]                                                                                                                                                                             Yes

07772436                           USD[219.90]                                                                                                                                                                           Yes

07772438                           DOGE[0], LTC[0], SOL[0]

07772441                           BTC[0], USD[0.00]

07772445                           BRZ[1], BTC[0.00189660], DAI[108.21516546], DOGE[2], NFT (333301096803707722/Resilience #33)[1], SHIB[2], SOL[64.061618], TRX[2], USD[508.53], USDT[1.09692512]                       Yes

07772454                           BTC[0], MATIC[249.7625], SOL[0], TRX[.000024], USD[0.00], USDT[0], YFI[.01898195]

07772464                           BAT[274.3730556], BRZ[1], DOGE[1341.32762998], GRT[496.07924396], KSHIB[2175.84765585], SHIB[5], TRX[3419.43494327], USD[208.32]                                                      Yes

07772469                           SOL[.00000001], USD[0.00], USDT[0.00000124]

07772473                           SOL[82]

07772476                           SOL[.09]

07772482                           BTC[0.08524296], USD[822.92]

07772486                           USD[21.51]                                                                                                                                                                            Yes

07772488                           BTC[.0006], ETH[.00281032], ETHW[.00281032], SHIB[500000], SOL[.87472688], USD[188.32]

07772489                           USD[21.51]                                                                                                                                                                            Yes

07772490                           SOL[183], USD[36.62]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07772496                              CUSDT[9], DOGE[1], ETH[.01659626], ETHW[.01639106], KSHIB[336.33902704], LTC[.63336789], NFT (391405265681748133/Undulation)[1], SHIB[1538068.7551295], SOL[1.65136669],              Yes
                                      SUSHI[8.22847563], TRX[1], USD[9.96], USDT[18.41181653]
07772505                              AAVE[.01595701], BAT[1.2998347], BCH[.0016125], BRZ[5.44819019], BTC[.00910092], CUSDT[45.88941019], DAI[.99272665], DOGE[80.39629262], ETH[.09102987], ETHW[.09102987], EUR[84.57],
                                      GRT[4.08414654], LINK[.18354085], LTC[.03281142], MATIC[3.79568271], MKR[.00196845], PAXG[.00587974], SOL[3.67841471], SUSHI[.09139895], TRX[10.25860612], UNI[.03855488], USD[0.00],
                                      WBTC[.00001808], YFI[.00015113]
07772506       Contingent, Disputed   CUSDT[5], LINK[0], SHIB[0], SOL[0.00000001], USD[0.00]                                                                                                                                Yes

07772508                              USD[21.51]                                                                                                                                                                            Yes

07772511                              CUSDT[2], USD[0.01]                                                                                                                                                                   Yes

07772518                              AVAX[0.00000009], BAT[0.00000091], BCH[0], BF_POINT[300], BRZ[0], BTC[0], CUSDT[0], DOGE[0], ETH[0], ETHW[0.00059075], MATIC[0.00016457], NEAR[.000001], NFT                          Yes
                                      (289972093670246413/Beyond The Object #001)[1], NFT (299101162544784620/SolBunnies #722)[1], NFT (338498952389419373/First 50 #11)[1], NFT (342439323536074629/Sphynx Cats #14)[1],
                                      NFT (353152629681851507/Pandas)[1], NFT (359526774855822484/FunTownPeople #2)[1], NFT (369007196705829816/Cool Bean #2669)[1], NFT (399427417091582401/#1028)[1], NFT
                                      (405419886483871051/Cool Bean #55)[1], NFT (409667272213598444/WuTakenPeople #10)[1], NFT (412930199094590095/KuArmy #7)[1], NFT (420039344662651511/WuTakenPeople #4)[1], NFT
                                      (445189084971797857/Faty Belly #2)[1], NFT (456211840865767038/SolBunnies #2958)[1], NFT (456918993986401090/Worthless Collection #2)[1], NFT (484792210586026184/Orange Woman)[1],
                                      NFT (496146370450501677/FunTownPeople #9)[1], NFT (496934791574738708/Entrance Voucher #939)[1], NFT (503183351366250911/Imola Ticket Stub #1317)[1], NFT
                                      (562240123078591405/SolBunnies #4345)[1], NFT (571191393951499106/FractumPunk #64)[1], SHIB[115], SOL[0.00000001], TRX[0], UNI[0], USD[0.00], USDT[0]
07772534                              SOL[.005498], USD[0.00]

07772542                              BTC[0], NFT (339323916503199631/Entrance Voucher #4398)[1], SOL[0], USD[0.00], USDT[0]

07772546                              ETH[.134865], ETHW[.134865], USD[22.10]

07772556                              BTC[.0000307], CUSDT[1], LTC[.00492318], USD[6.30]                                                                                                                                    Yes

07772557                              DOGE[2], ETH[.00000702], TRX[2], USD[0.00]                                                                                                                                            Yes

07772562                              USD[0.00], USDT[0.00000461]

07772564                              USD[21.51]                                                                                                                                                                            Yes

07772571                              USD[0.00], USDT[507.46669066]

07772577                              USD[20.00]

07772578                              USD[20.00]

07772583                              NFT (349862236702654631/FTX - Off The Grid Miami #2918)[1]

07772590                              USD[106.51]                                                                                                                                                                           Yes

07772591                              SOL[.00000001]

07772592                              AVAX[6.993], BTC[.0173826], DOGE[.15], ETH[0], ETHW[0.10778600], SHIB[84200], USD[0.54], USDT[4.12400044]

07772594                              USD[20.00]

07772601                              SOL[2.6490348]                                                                                                                                                                        Yes

07772603                              ETHW[.03803495], USD[30.01]

07772631                              ETH[.00424111], ETHW[.00418639]                                                                                                                                                       Yes

07772632                              TRX[1], USD[0.00]

07772643                              USD[21.51]                                                                                                                                                                            Yes

07772650                              AAVE[.77992], MATIC[60], USD[19.03]

07772653                              USD[50.01]

07772657                              USD[20.00]

07772661                              USD[20.00]

07772662                              USD[21.51]                                                                                                                                                                            Yes

07772666                              USD[21.51]                                                                                                                                                                            Yes

07772673                              BTC[0], ETH[0], SOL[0], USD[0.00], USDT[0]                                                                                                                                            Yes

07772678                              USDT[0.00000099]

07772679                              BAT[1.01655549], BRZ[2], CUSDT[6], DOGE[3], GRT[1.00404471], TRX[2], USD[0.00], USDT[1.08524714]                                                                                      Yes

07772681                              BRZ[1], BTC[.22061919], GRT[1], SHIB[1], SOL[64.08766594], TRX[1], USD[2.77]                                                                                                          Yes

07772684                              USD[0.00]

07772686                              BTC[0.00000004], SHIB[2], SOL[0], USD[0.00], USDT[0.00000001]                                                                                                                         Yes

07772688                              ETH[0], SOL[0]

07772689                              TRX[2], USD[12.90]                                                                                                                                                                    Yes

07772691                              SOL[4.4], USD[0.59]

07772698                              BTC[0], SHIB[23], SOL[.00000001], USD[0.00], USDT[.00000916]                                                                                                                          Yes

07772699                              USD[0.00], USDT[0]

07772710                              USD[0.00], USDT[0]

07772714                              SOL[.00000001]                                                                                                                                                                        Yes

07772720                              DOGE[0], PAXG[.00000001], TRX[.000105], USD[0.00]                                                                                                                                     Yes

07772740                              USD[21.51]                                                                                                                                                                            Yes

07772744                              USD[0.01]

07772751                              CUSDT[3], SOL[.00997549], USD[0.00]                                                                                                                                                   Yes

07772756                              USD[0.23]

07772766                              AAVE[0.00926503], BAT[1.34198398], BCH[0.00341207], CUSDT[0.75209888], DAI[0.99076150], ETH[0.00623459], ETHW[0.00623459], GRT[2.56090464], LINK[0.08900091], MATIC[0.66480949],
                                      MKR[0.00052090], PAXG[0.00053388], SGD[4.85], SHIB[0], SOL[0.08024056], SUSHI[0.23376451], TRX[4.928218], UNI[0.18534610], USD[30.29], USDT[4.60691966], YFI[0.00004236]
07772774                              USD[21.51]                                                                                                                                                                            Yes

07772781       Contingent, Disputed   BTC[.00974282], ETH[.06726762], ETHW[.06643314], SOL[1.26389221]                                                                                                                      Yes
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                                                                                                                                               Customer Claims                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07772782                              USD[255.61], USDT[12.41585759]

07772793                              USD[0.00]

07772796                              BTC[.00032432], DOGE[5.76814415], USD[3.83]                                                                                                                                  Yes

07772805                              USD[20.00]

07772807                              TRX[.000001]

07772809                              DAI[5.36684730], DOGE[0], SOL[0], UNI[0], USD[0.07]                                                                                                                          Yes

07772811                              USD[0.00]

07772814                              USD[0.95]

07772817                              BF_POINT[500], USD[20.00]

07772824                              USD[21.51]                                                                                                                                                                   Yes

07772827                              CUSDT[5], USD[0.01], USDT[222.37023965]                                                                                                                                      Yes

07772833                              BAT[26.47039057], CUSDT[2], DOGE[117.32092224], USD[21.51]                                                                                                                   Yes

07772850                              BAT[4.08619737], BRZ[8.39559833], BTC[0.00000060], CUSDT[10], DOGE[23.20359667], ETH[1.83007307], ETHW[70.86199608], GRT[4.00105965], LINK[.00210926], SHIB[291.39973303],   Yes
                                      SOL[51.47609666], SUSHI[1.08251085], TRX[7], UNI[.00016379], USD[501.53], USDT[3.10060367]
07772858                              USD[0.00]

07772860                              USD[1841.59]                                                                                                                                                                 Yes

07772866                              USD[3000.00]

07772877                              USD[10.00]

07772885                              CUSDT[5], DOGE[0], SOL[0.00000001], USD[0.00]                                                                                                                                Yes

07772889                              BRZ[1], CUSDT[3], DOGE[.00756358], MATIC[103.41583316], NFT (434606235639444919/Pop Art #12)[1], TRX[2], UNI[4.72598024], USD[0.00]                                          Yes

07772891                              USD[0.00], USDT[.41744357]

07772893       Contingent, Disputed   BTC[0.00066179], ETH[0.00548218], ETHW[0.00548218], EUR[0.00], SOL[0.44746257], USD[0.00]

07772895                              BTC[0], DAI[0], DOGE[2], ETH[0.00000061], ETHW[0.00000061], LTC[0], MATIC[0], USD[0.00], USDT[0.00000001]                                                                    Yes

07772908                              SOL[.00000001], USD[0.23], USDT[0]

07772909                              USD[0.00]

07772910                              DOGE[1], ETH[.00000005], ETHW[0.00000005], NFT (383298759658966907/Pebbles)[1], SOL[.00000001], TRX[1], USD[0.00]                                                            Yes

07772911                              BTC[0], SOL[0], USD[0.00]

07772913                              USD[20.00]

07772915                              USD[20.00]

07772917                              USD[0.01]

07772920                              USD[0.00], USDT[0]

07772925                              BCH[1.32359356], BF_POINT[200]                                                                                                                                               Yes

07772927                              ETH[0], SOL[0]

07772928                              USD[0.52]

07772929                              DOGE[1], ETHW[.03731651], TRX[1], USD[0.00], USDT[0]                                                                                                                         Yes

07772930                              USD[20.00]

07772931                              BTC[.3410586], SOL[62.57736], USD[17.14]

07772934                              USD[20.00]

07772940                              USD[3282.05]

07772942                              BCH[.00000183], DOGE[.00027396], ETH[.00000023], ETHW[.00000023], GRT[.00007307], USD[0.00]                                                                                  Yes

07772945                              BAT[1], ETH[0]

07772956                              USD[20.00]

07772962                              CAD[0.01], CUSDT[2], DOGE[1], ETH[.00376874], ETHW[.0037277], USD[0.55]                                                                                                      Yes

07772980                              USD[0.00]

07772984                              BTC[0], SOL[0], USD[0.00]

07772990                              NFT (418196688604743234/Romeo #735)[1], NFT (421421670075750595/FTX Crypto Cup 2022 Key #2381)[1], NFT (515962091871894264/Entrance Voucher #2576)[1], USD[0.00]

07772991                              BRZ[2], CUSDT[14], DOGE[330.98855136], ETH[.01821575], ETHW[.50187954], SHIB[20], SOL[1.34026637], TRX[8], USD[0.00]                                                         Yes

07773006                              BTC[.01], LTC[1], SOL[1]

07773010                              USD[0.67]

07773017                              CUSDT[3], DAI[.00001704], USD[17.33]                                                                                                                                         Yes

07773025                              BTC[.00000001], USD[0.00]

07773026                              ETH[.03535657], ETHW[.03535657], LTC[.66971595], MATIC[6.11901768], SOL[1.50962425], USD[48.82]

07773035                              BTC[0], DOGE[0], ETH[0], LINK[0], MATIC[0], USD[0.00], USDT[0]

07773037                              BTC[.00000525], ETH[.00001224], ETHW[1.44357791]                                                                                                                             Yes

07773042                              USD[0.35]

07773054                              CUSDT[2], USD[0.00]                                                                                                                                                          Yes

07773056                              DOGE[.683], SOL[.00769], USD[0.00], USDT[0]

07773063                              USD[20.00]

07773067                              BF_POINT[300], USD[2002.73]                                                                                                                                                  Yes
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07773072                              USD[20.00]

07773073                              BTC[.0013774], ETH[0.01565541], NFT (307747934911504299/Joe Theismann's Playbook: Washington vs. Chicago Bears - September 29, 1985 #31)[1], NFT (350775917288690758/Watermelon )[1],
                                      NFT (352431842131067768/Joe Theismann's Playbook: New York Giants vs. Washington - October 20, 1974 #23)[1], NFT (373145772871755931/Watermelon #4)[1], NFT
                                      (402150537652472424/Lemon #5)[1], NFT (428541703948130644/Tim Brown's Playbook: Kansas City Chiefs vs. Oakland Raiders - December 9, 2001 #30)[1], SOL[1.04810559], USD[21.57]

07773076                              CUSDT[3], DOGE[1], GRT[21.48508287], SOL[.05275621], TRX[205.16972306], USD[0.01]

07773088                              BTC[0.00006752], USD[0.04]                                                                                                                                                              Yes

07773090                              USD[0.40]

07773092                              CUSDT[1], USD[0.00]                                                                                                                                                                     Yes

07773094                              USD[20.00]

07773098                              USD[20.00]

07773100                              BTC[0], SOL[.00393573], USD[0.00], USDT[2.0330448]

07773101                              BTC[.00008837], USD[21.79]                                                                                                                                                              Yes

07773103                              USD[21.51]                                                                                                                                                                              Yes

07773106                              USD[0.00]                                                                                                                                                                               Yes

07773113                              NFT (460561931751920022/FTX - Off The Grid Miami #1842)[1]                                                                                                                              Yes

07773114                              CUSDT[2], DOGE[16.51166664], TRX[148.56692345], USD[1.10]

07773118                              USD[20.00]

07773126       Contingent, Disputed   BTC[0], LINK[0]

07773129                              BAT[1], BRZ[2], CUSDT[2], DOGE[1], ETH[0], SOL[0], TRX[2], USD[0.00]

07773130                              TRX[1], USD[165.26]                                                                                                                                                                     Yes

07773131                              BTC[.00005], GRT[1498.65], MATIC[305.86568267], NEAR[1199.02], SOL[0], USD[2250.05], USDT[0]

07773132                              MATIC[0], USD[0.00]

07773135                              USD[1.07], USDT[0]

07773137                              SOL[12.0038015], USD[0.31]

07773140                              SHIB[3], USD[0.00]

07773143                              BTC[.00402203], SOL[1.08062999], USD[0.00]                                                                                                                                              Yes

07773148                              ETH[.05337056], ETHW[.05337056], MATIC[49.95], SOL[22.45], USD[95.44]

07773151                              BF_POINT[300], ETHW[3.3261732]                                                                                                                                                          Yes

07773155                              CUSDT[1], TRX[154.82416619], USD[50.01]

07773163                              BAT[1], BRZ[1], CUSDT[7], ETHW[.16903803], GRT[2.04042271], SHIB[5], SOL[.00001129], USD[4688.99]                                                                                       Yes

07773164                              USD[0.00]

07773166                              BAT[18.9644531], BTC[.00066733], CUSDT[5], DOGE[115.61444721], ETH[.00349251], ETHW[.00345147], GRT[41.69274667], KSHIB[207.0791241], MATIC[12.06686307], NFT                           Yes
                                      (333592272382682624/Welcome )[1], NFT (374598492390643304/Morning hole )[1], NFT (381133889094316917/Humble )[1], NFT (392217619303236756/Love )[1], NFT (427705919411598986/Good
                                      job )[1], NFT (437101871982592282/It’s will be ok )[1], NFT (466958768157056227/Far away )[1], NFT (488123538781684614/Always )[1], NFT (524385111695059998/Can’t stop me )[1], NFT
                                      (555390485577985368/AI-generated landscape #1)[1], SHIB[580641.90875393], SOL[.95713389], SUSHI[3.01453746], TRX[67.768871], UNI[.94566379], USD[0.07]

07773167                              BTC[0], DOGE[1.64999702], ETH[0], ETHW[0], USD[0.01]                                                                                                                                    Yes

07773171                              USD[88.05]                                                                                                                                                                              Yes

07773178                              BTC[0], NFT (359367927948338131/Entrance Voucher #25283)[1], USD[0.00]

07773183                              USD[0.70]

07773184                              SOL[.00364], USD[0.00], USDT[10.05121115]

07773190                              BTC[0], SOL[19.99326596], USD[11.30]

07773192                              USD[0.00], USDT[0]                                                                                                                                                                      Yes

07773197                              BTC[0.00005000], DOGE[.4274], ETH[.0006], ETHW[.6066], LTC[.00354], NFT (439446803933691440/Piracy, It's a Crime)[1], NFT (573251842893991694/SolanaSaurusRex)[1], USD[0.01]

07773199                              USD[5.16]

07773204                              USD[0.00]

07773216                              USD[2.50]

07773218                              USD[20.00]

07773219                              USD[21.51]                                                                                                                                                                              Yes

07773227                              BTC[.0000829], ETH[.00073], ETHW[.00073], SOL[.2296], USD[0.91]

07773229                              ETH[.033], ETHW[.033], SHIB[800000], USD[2.99]

07773242                              BTC[.00003997], SOL[0.04067316], USD[0.06]

07773244                              SOL[.009995], USD[0.00]

07773246                              BRZ[1], CUSDT[6], DOGE[1], TRX[7], USD[0.01]                                                                                                                                            Yes

07773249                              USDT[165]

07773252                              USD[3.14], USDT[0]

07773253                              CUSDT[3], SHIB[1], USD[0.00]                                                                                                                                                            Yes

07773259                              ETH[.000232], SOL[0], SUSHI[0], USD[0.01]

07773260                              USD[0.00]

07773262                              SOL[132.05594087], USD[6994.08]
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                                                                                                                                               Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07773263                              USD[0.00]                                                                                                                                                                                Yes

07773264                              BRZ[1], CUSDT[29], DOGE[9.41574752], SHIB[1], TRX[4], USD[77.60]                                                                                                                         Yes

07773279                              BAT[1.01655549], BRZ[1], CUSDT[3], DOGE[1], SOL[0.00009737], TRX[2], USD[0.01]                                                                                                           Yes

07773281                              CUSDT[7], DOGE[1], ETH[.00000001], ETHW[0], SOL[0], USD[0.05]                                                                                                                            Yes

07773283                              BRZ[1], BTC[0.00565757], TRX[1], USD[0.00]                                                                                                                                               Yes

07773297                              LTC[1.30036054]                                                                                                                                                                          Yes

07773299                              SOL[35.60975052], TRX[2], USD[0.00]

07773311                              DOGE[3.04159183], NFT (469685997270945446/Entrance Voucher #1757)[1], USD[0.00], USDT[0.00000001]                                                                                        Yes

07773316                              DOGE[1], USD[0.00], USDT[0]                                                                                                                                                              Yes

07773317                              TRX[.45], USD[0.82]

07773323                              BRZ[1], SHIB[1], USDT[0.02335858]                                                                                                                                                        Yes

07773324                              DOGE[81.924], GRT[27.972], SOL[4.73526], USD[1.16]

07773329                              SOL[0], USD[0.00]

07773330                              ETH[.00000001], TRX[.000008]                                                                                                                                                             Yes

07773334                              DOGE[1], SHIB[5462378.78447109], USD[0.00]                                                                                                                                               Yes

07773337                              BTC[0.00000001], ETH[0], ETHW[0], LINK[55459.50536], USD[0.00], USDT[0]

07773338       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07773341                              USD[1.01]

07773358                              BAT[111], DOGE[569], ETH[.020979], ETHW[.020979], GRT[101], LTC[22], NFT (301825476951946580/Megalodon Rogue Shark Tooth)[1], SHIB[6688900], SOL[2.24], TRX[96], USD[1502.10], USDT[0]

07773359                              BRZ[1], CUSDT[1], SOL[.95603507], TRX[2325.10285673], USD[0.00]

07773367                              USD[20.00]

07773368                              USD[0.00]

07773372                              ETH[0], SOL[0], USD[0.00]

07773378                              NFT (294478390681960236/GSW Championship Commemorative Ring)[1], NFT (316761999584272025/Coachella x FTX Weekend 2 #26040)[1], NFT (319961103397425427/FTX - Off The Grid Miami
                                      #1394)[1], NFT (332551416184645885/Cloud Mansion #2 (Redeemed))[1], NFT (347125497545531605/Cloud Show 2 #1527)[1], NFT (353980355732602739/Warriors Logo Pin #599 (Redeemed))[1],
                                      NFT (358074618219739949/88rising Sky Challenge - Cloud #197)[1], NFT (426430525075959901/GSW Western Conference Finals Commemorative Banner #2257)[1], NFT
                                      (439109321413526144/GSW Western Conference Finals Commemorative Banner #2258)[1], NFT (528935428169685109/GSW Western Conference Semifinals Commemorative Ticket #922)[1], NFT
                                      (567817020197162318/BlobForm #328)[1], USD[0.01]
07773387                              USD[20.00]

07773409                              BTC[.00049205], DOGE[1], ETH[0], NFT (493679546413378005/The CaLabs #31)[1], NFT (501549825774336341/The CaLabs #33)[1], USD[0.41], USDT[0]                                              Yes

07773415                              USD[0.31]

07773417                              CUSDT[2], DOGE[1], ETH[0], ETHW[0], USD[0.02]

07773420                              NFT (339791286449769550/Coachella x FTX Weekend 1 #6248)[1]

07773423                              CUSDT[2], LINK[.00000001], SHIB[48.47422305], SOL[0]                                                                                                                                     Yes

07773427                              CUSDT[1], SHIB[1], TRX[3], USD[0.00]                                                                                                                                                     Yes

07773436                              USD[6.45]

07773440                              SOL[0], USD[0.00]

07773441                              SOL[0], USD[0.00]

07773448       Contingent,            BTC[.00829924], USD[108.44]
               Unliquidated
07773451                              SUSHI[.41]

07773454                              AUD[0.00], BRZ[1], CUSDT[8], DOGE[2], LINK[0], MATIC[0], SOL[0], TRX[0], USDT[0]

07773456                              USD[20.00]

07773457                              SOL[1.70740494], USD[0.00], USDT[0.00000062]

07773458                              NFT (330310356859839407/Australia Ticket Stub #51)[1], SOL[0], USD[0.00]

07773470                              USD[0.01]                                                                                                                                                                                Yes

07773476                              SOL[.00944], TRX[.000001]

07773484                              SOL[.00575504], TRX[.000001], USD[0.00], USDT[0.00000086]

07773487                              SOL[32.04], USD[0.09], USDT[1.37858045]

07773489                              USD[0.00]

07773491                              USD[20.00]

07773493                              BRZ[4], BTC[.03963818], CUSDT[22], DOGE[7.00057537], ETH[.12021238], ETHW[.11905308], GRT[1], LINK[2.19922625], NEAR[10.17739568], NFT (324747277516810262/Coachella x FTX Weekend Yes
                                      2 #27641)[1], SHIB[19], SOL[62.68283203], TRX[6], USD[155.58]
07773498                              BF_POINT[300], CUSDT[6], SOL[.13777786], USD[1.12]                                                                                                                                 Yes

07773500                              CUSDT[1], SOL[2.30992394], USD[0.00]                                                                                                                                                     Yes

07773513                              NFT (441837320703307583/2974 Floyd Norman - OKC 1-0018)[1], SOL[.00000001], USD[0.44]

07773514                              ETH[0], ETHW[0], SOL[0], USD[0.00]

07773518                              USD[0.00]

07773520                              BTC[.00000743], ETH[.00008245], ETHW[.00008245], NFT (411046309957145714/Serum Surfers X Crypto Bahamas #21)[1], NFT (503880102453252112/Resilience #16)[1]                              Yes

07773524                              BRZ[1], CUSDT[2], DOGE[1], GRT[1], SOL[.00011581], USD[0.01], USDT[1.08507878]                                                                                                           Yes

07773527                              USD[20.00]
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                                                                                                                                               Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07773537                              DAI[0], GRT[0], NFT (373669777791022616/2974 Floyd Norman - CLE 5-0136)[1], NFT (485708264368206761/2974 Floyd Norman - CLE 3-0046)[1], NFT (506397722100687405/2974 Floyd Norman -
                                      CLE 6-0191)[1], USD[0.00]
07773541                              BTC[1.63248569], DOGE[1], ETH[9.73564224], ETHW[9.73269381], SOL[2.28627932], TRX[1], USD[0.00]                                                                                       Yes

07773545                              ETH[.04984723], SOL[1.66791318], UNI[4.89060827], USD[282.18]                                                                                                                         Yes

07773550                              USD[20.00]

07773556                              NFT (289208535494002164/FTX - Off The Grid Miami #1426)[1]

07773557                              ETHW[1.332], SUSHI[.465], USD[0.23], USDT[0]

07773558                              USD[20.00]

07773562                              BF_POINT[100], BTC[0], ETH[0], LINK[0], MATIC[.00000001], NFT (552887895064772519/Entrance Voucher #3967)[1], SHIB[0], SOL[0.00000001], USD[0.00], USDT[0]                            Yes

07773563                              NFT (334225858984244464/HighStakeRollers #5314)[1], NFT (465209607149249360/HighStakeRollers #5015)[1]

07773569                              BF_POINT[100], BRZ[3], CUSDT[7], DOGE[3], USD[0.00]                                                                                                                                   Yes

07773579                              AVAX[0], BRZ[2], BTC[0.00000002], CUSDT[12], DOGE[8.00921072], ETH[0], MATIC[0], NEAR[0], NFT (315711954079513385/Skeleton Glock #43)[1], NFT (470843776666049759/Barcelona Ticket    Yes
                                      Stub #2291)[1], NFT (471276337968618259/Australia Ticket Stub #2290)[1], SHIB[33.51058837], SOL[0.00002739], TRX[12], USD[0.00], USDT[3.61183625], YFI[0]
07773580                              BAT[3.19569446], BRZ[2], CUSDT[14], DOGE[12.68609772], ETH[0], ETHW[0], GRT[2.00838275], LINK[0.00020325], MATIC[0], TRX[13.08250025], USD[0.00], USDT[0.00000006]                    Yes

07773588                              USD[2.33]

07773590                              USD[0.04]

07773592                              LINK[.00000001]                                                                                                                                                                       Yes

07773593       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07773597                              SOL[.00000001], USD[0.00]

07773600                              SOL[.00011724]                                                                                                                                                                        Yes

07773612                              SOL[0.00065265], USD[0.00]

07773613                              ETH[0], ETHW[0], SOL[0], USD[1.36]

07773614                              NFT (404168564410400023/ApexDucks #3260)[1], SOL[21.9082295], USD[6.58]

07773616                              NFT (335924071538070311/Australia Ticket Stub #543)[1], NFT (495485822749942536/2974 Floyd Norman - CLE 3-0003)[1], NFT (558343701522979694/APEFUEL by Almond Breeze #346)[1],
                                      SOL[.00449268], USD[0.00]
07773618                              USD[20.00]

07773622                              USD[20.00]

07773624                              BCH[.000922], BTC[0.00001190], NEAR[.0205], USD[308.57]

07773626                              NFT (453431240962081557/Coachella x FTX Weekend 1 #9468)[1], NFT (483266120893904158/FTX - Off The Grid Miami #1771)[1], SOL[.00567], USD[12.98]

07773628                              ETH[0.00004949], ETHW[0.00004950], SHIB[62032.98366708], SOL[0], USD[0.00], USDT[0]

07773629       Contingent, Disputed   USD[0.00]

07773643                              SOL[0], USD[0.00]

07773644                              BTC[.00042716], ETH[.00493941], ETHW[0.00488231], TRX[1], USD[0.01]                                                                                                                   Yes

07773645                              ETH[0], LINK[0.09026537], SOL[0], USD[0.69], USDT[0.00000007]

07773648                              USD[0.00]

07773649                              USD[20.00]

07773652                              BTC[.000055], MATIC[249.75], SOL[.006], USD[4797.46]

07773654                              BTC[.00458441], SOL[2.78889188], USD[0.04]                                                                                                                                            Yes

07773659                              SOL[0]

07773662                              SOL[0]

07773667                              BCH[.24170384], BRZ[1], CUSDT[1], DOGE[546.71273684], USD[0.13]                                                                                                                       Yes

07773668                              USD[21.51]                                                                                                                                                                            Yes

07773669                              ETH[0], NFT (478995144214519372/Australia Ticket Stub #1985)[1], SOL[0.36499999], USD[0.32]

07773671                              NFT (396353800471315438/Imola Ticket Stub #1984)[1]

07773673                              USD[0.80]

07773678                              SOL[1.2]

07773683                              BTC[.00021542], CUSDT[1], USD[21.16]                                                                                                                                                  Yes

07773685                              BTC[.0034], SOL[1.85], USD[0.81]

07773690                              CUSDT[2], SOL[6.32590832], USD[0.00]                                                                                                                                                  Yes

07773691                              BRZ[1], CUSDT[1], SOL[4.5722388], TRX[1], USD[0.52]

07773692                              SOL[.05879692], USD[0.01]                                                                                                                                                             Yes

07773694                              BTC[0.00000200], ETH[.000725], MATIC[483.72412], SOL[0.00914251], USD[27537.81], USDT[0]

07773701                              USD[2.00]

07773702                              USD[510.87], USDT[0]

07773705                              AAVE[5.39007974], USD[0.00], USDT[0.00000155]

07773713                              NFT (562460974901062981/The Hill by FTX #6372)[1], SOL[.00000001], USD[0.06]                                                                                                          Yes

07773718                              BTC[0.00000169], SOL[.00000001], USD[0.26]

07773723       Contingent, Disputed   CUSDT[1], TRX[2], USD[0.00]                                                                                                                                                           Yes

07773728                              DOGE[.92], SOL[.00465], USD[0.00], USDT[331.5867095]

07773734                              CUSDT[4], USD[0.01]
West Realm Shires Services Inc.                                                        Case 22-11068-JTD      DocF-3:
                                                                                                  Amended Schedule 1754        Filed
                                                                                                                      Nonpriority      06/27/23
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                                                                                                                                            Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07773745                           USD[0.00]

07773750                           ETH[3.614518], ETHW[3.614518], USD[3.81]

07773753                           USD[20.00]

07773758                           BTC[0.00016473], ETH[0.00246748], ETHW[0.00246748], NFT (309291499027227311/Koalana #4630)[1], NFT (342958728034437021/Koalana #4844)[1], NFT (381390602079168028/Koalana
                                   #4674)[1], NFT (412670685187015535/Koalana #2355)[1], NFT (420689542109123845/Doom Chalice)[1], NFT (452252579704234892/Grim #5087)[1], NFT (452399276214741819/Koalana #5506)[1],
                                   NFT (464602438863003331/Neonexus x Koalana)[1], NFT (476677674521026736/Koalana #3681)[1], NFT (494709064398651907/Sloth #6234)[1], NFT (525600099677713386/Koalana #2439)[1],
                                   SOL[6.90902801], USD[4.82]
07773759                           USD[0.07]                                                                                                                                                                             Yes

07773760                           USD[15.23]

07773766                           USD[0.38], USDT[1.2321014]

07773770                           ETH[0], USD[0.00], USDT[0]

07773780                           ETH[0], SOL[0], USD[0.00]

07773783                           BTC[0.00008209], USD[0.50], USDT[0.21551492]

07773786                           TRX[.000002]

07773790                           USD[0.00]

07773792                           ETHW[.405], USD[0.00]

07773794                           CUSDT[2], SOL[3.14082527], USD[0.00], USDT[1]

07773797                           DOGE[1049.16558754], SHIB[1], USD[0.00]                                                                                                                                               Yes

07773802                           SHIB[0], SOL[0], USD[0.00]

07773803                           BAT[4.24109971], BRZ[1], CUSDT[1], DAI[529.54035509], DOGE[7.15109377], ETH[0.00001118], ETHW[41.24134887], GRT[.01848095], LINK[2.11904911], MKR[.8728047], PAXG[.00000001],         Yes
                                   SOL[0], TRX[5], UNI[1.06261835], USD[0.08], USDT[2.12118021]
07773804                           USD[360.93]

07773805                           USD[0.00]

07773807                           CUSDT[1], LINK[.70488195], USD[0.00]                                                                                                                                                  Yes

07773811                           SHIB[1], USD[3.00]

07773819                           ETH[0], ETHW[0.00073396], USD[0.76]

07773822                           NFT (318120818044940933/Golden Hill #67)[1], NFT (424405835773421371/Miami Ticket Stub #721)[1], NFT (436977678225109224/Entrance Voucher #2479)[1], NFT (469287789976415900/Ferris   Yes
                                   From Afar #973)[1], NFT (569010697568913406/FTX - Off The Grid Miami #1513)[1], USD[0.00]
07773823                           BTC[0], NFT (405904267284665155/GSW Western Conference Finals Commemorative Banner #2232)[1], NFT (406634160753231173/Reflection '11 #69)[1], NFT (450489760293687586/Warriors Logo
                                   Pin #156 (Redeemed))[1], NFT (510816665858831706/Reflector #660)[1], NFT (566777764695864976/GSW Western Conference Semifinals Commemorative Ticket #619)[1], NFT
                                   (570050655642937185/GSW Western Conference Finals Commemorative Banner #2231)[1], NFT (571473897242082189/GSW Championship Commemorative Ring)[1], SOL[.00225], USD[0.00]

07773826                           BRZ[1], SOL[2.67498343], USD[0.00]                                                                                                                                                    Yes

07773833                           DOGE[1], NFT (426002494522725051/2974 Floyd Norman - CLE 2-0028)[1], SOL[.00988], SUSHI[1], TRX[1], USD[0.01], USDT[4]

07773846                           CUSDT[1], DOGE[0], SHIB[0], USD[0.01], USDT[0]                                                                                                                                        Yes

07773851                           ETH[.00000001], ETHW[0], SOL[.00000001], USD[7.67], USDT[0.00000001]

07773852                           USD[20.00]

07773854                           BTC[.00000002], CUSDT[11], DOGE[3], ETH[.00000012], ETHW[.00000012], SHIB[1], SOL[.00004111], USD[0.00]                                                                               Yes

07773858                           BTC[0], ETH[0], SOL[0.24000000], SUSHI[8.347852], TRX[0.00000100], USD[0.00], USDT[0]

07773864                           USD[0.00]

07773866                           USD[20.00]

07773868                           BRZ[1], DOGE[1], USD[0.00]

07773870                           SOL[0], USD[510.00]

07773872                           BTC[0], ETH[0], ETHW[1], USD[0.00]

07773874                           TRX[0]

07773877                           USDT[.085029]

07773879                           USD[0.00]

07773885                           BAT[1], USD[0.00]                                                                                                                                                                     Yes

07773887                           NFT (487760106902528469/Entrance Voucher #2813)[1], SOL[.8782]

07773891                           NFT (415367930550157628/FTX - Off The Grid Miami #5042)[1]

07773895                           USD[0.00]

07773896                           ETH[0], ETHW[0.13359204], SOL[0], SUSHI[0], USD[0.00]

07773899                           USD[0.00]

07773903                           USD[20.00]

07773907                           CUSDT[1], DOGE[1], GRT[.00190618], USD[0.00]                                                                                                                                          Yes

07773924                           ALGO[.00263872], ETHW[.00018371], GRT[.01097575], NFT (436115720321145060/Barcelona Ticket Stub #2469)[1], NFT (480126409060324584/Entrance Voucher #2501)[1], NFT                    Yes
                                   (518230807930314680/Bahrain Ticket Stub #1146)[1], SHIB[6.00000002], SOL[.00002951], SUSHI[.00057861], UNI[.0001484], USD[95.33]
07773926                           ETH[0], MATIC[.00672524], SOL[0.01523622], USD[0.00]

07773927                           USD[0.10]

07773937                           NFT (463337628694911506/#028 - CLASSIC)[1]

07773939                           USD[0.60]

07773956                           USD[0.06]

07773960                           BF_POINT[100]                                                                                                                                                                         Yes
West Realm Shires Services Inc.                                                           Case 22-11068-JTD      DocF-3:
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                                                                                                                                     Unsecured            Page 24 of 1384
                                                                                                                                               Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07773964                              USD[0.97], USDT[0]

07773971                              NFT (454183022133643908/FTX - Off The Grid Miami #2824)[1]

07773974                              USD[0.00]

07773989                              BTC[.05], NEAR[13.5], TRX[.000094], USD[0.00], USDT[0.00022862]

07773994                              ETH[.48], ETHW[.48], USD[0.51]

07773997                              BTC[0], USD[0.01], USDT[0]

07774000                              NFT (386623733357023482/SolWarrior #2035)[1], SOL[.00000001], USD[0.00], USDT[4.3848598]

07774008                              BTC[.00000005]                                                                                                                                                                           Yes

07774014                              DAI[.00000001], NFT (520300639506128506/BTC)[1], SOL[0], USD[0.00]

07774015                              BAT[1.01150378], BRZ[2], CUSDT[11], DOGE[4], ETH[.21882263], ETHW[.21860463], LTC[75.58138894], SHIB[1], SOL[.53672608], TRX[3], USD[0.00]                                               Yes

07774017                              SOL[.21980424], USD[0.00]

07774021                              NFT (515186516024217133/SBF Hair & Signature #7 #18)[1], SOL[.00000001], USD[0.00]

07774025                              BRZ[1], SHIB[1], USD[0.00], USDT[1]

07774040                              BCH[.315524], BTC[.00003523], DOGE[818.28755547], GRT[897.171473], LINK[1.17811861], MATIC[77.32706896], SOL[2.11387531], SUSHI[12.87239293], TRX[1343.61192705], USD[0.00]

07774041                              ETH[0], SOL[.0057975], USD[0.00]

07774043                              USD[150.00]

07774045                              DOGE[1], SOL[4.36603174], USD[0.00]                                                                                                                                                      Yes

07774047                              BTC[.00001003], ETH[0], ETHW[0], SOL[1.0453658]                                                                                                                                          Yes

07774050                              SOL[.19898966], USD[0.00]

07774054                              USD[0.01]

07774055                              BTC[.0000009], CUSDT[0], USD[0.01], USDT[0]

07774062                              SOL[0], USD[0.00]

07774068                              USD[20.00]

07774073                              AAVE[1.48012271], CUSDT[1], DOGE[1], ETH[.02132263], ETHW[.02106271], LINK[9.79151662], SHIB[3], TRX[2], USD[0.00]                                                                       Yes

07774074                              NFT (438162610716609833/Saudi Arabia Ticket Stub #2129)[1], SOL[0.00000009], SUSHI[.006]

07774075                              USD[20.00]

07774076                              BTC[0], ETHW[.0002242], SOL[0], USD[3016.96]

07774081                              BTC[0], ETH[.00021076], ETHW[0.00021076], LTC[.00839], USD[1.33]

07774082                              USD[3.69]

07774083                              USD[20.00]

07774084                              USD[1.07]

07774089                              USD[20.00]

07774092                              USD[21.51]                                                                                                                                                                               Yes

07774095                              DOGE[0], NFT (365489734830872385/DREAM Sequence #2)[1], NFT (465916306091984291/DREAM Sequence)[1], SUSHI[0], USD[0.24]                                                                  Yes

07774097                              ALGO[0], ETH[0], ETHW[0], LINK[0], NFT (301186994298202821/Planet #26)[1], NFT (323774431993961354/Cute Penguin)[1], NFT (339986451440142941/Mia)[1], NFT (342347041846689617/Planet Yes
                                      #25)[1], NFT (344747165699333144/FTX Planet #4)[1], NFT (349520686619769939/Dream Women #8)[1], NFT (384230342482175054/Miami Ticket Stub #723)[1], NFT (387652731398346192/Dream
                                      Women #11)[1], NFT (392063311189429793/FTX Planet #23)[1], NFT (404143593485450186/Planet #29)[1], NFT (432794320690780134/FTX Planet #18)[1], NFT (437128800049552933/Cute Dog)[1],
                                      NFT (464847148508082533/Frog #8704)[1], NFT (479983963078666640/Dream Women #16)[1], NFT (484954033177675160/Dream Land #18)[1], NFT (490328145174577359/Dream Land #22)[1],
                                      NFT (492115274628966529/FTX Planet #17)[1], NFT (495241876075531283/Rovox #4)[1], NFT (511717940236898916/FTX Planet #8)[1], NFT (513775020753205692/Dream Women #7)[1], NFT
                                      (525174024718547453/FTX Planet #3)[1], NFT (533312672685840419/Dream Women #2)[1], NFT (536566692932209167/Golden bone pass)[1], NFT (542563973382191989/Dream Women #6)[1], NFT
                                      (570923881501099967/Dream Women #17)[1], SOL[0], SUSHI[0], USD[0.00], USDT[0.00000027]
07774102                              NFT (518806730608211193/Coachella x FTX Weekend 1 #7834)[1]                                                                                                                          Yes

07774103                              NFT (314890152165868119/2974 Floyd Norman - OKC 5-0237)[1], NFT (351640487423695710/2974 Floyd Norman - CLE 3-0009)[1], USD[1000.00], USDT[0]

07774105                              CUSDT[1], SOL[1.97492382], USD[0.01]

07774110                              USD[0.00]

07774112                              NFT (300544622493340965/Solamander #5552)[1], NFT (422326456097113688/Puppy #2754)[1], NFT (429441708412354396/Cow #2754)[1], NFT (478312555882810998/Puppy #4784)[1], NFT
                                      (481693773901070245/FTX - Off The Grid Miami #2622)[1], NFT (516005451597619323/Cow #4784)[1], SOL[1.1718]
07774120                              ETH[0], ETHW[0], SOL[0], USD[0.77]

07774124                              NFT (376305642467762659/FTX - Off The Grid Miami #400)[1], USD[7.42]                                                                                                                     Yes

07774129                              BTC[0], ETHW[.00123284], USD[71.30], USDT[24600.24648090]

07774130       Contingent, Disputed   BTC[0], ETH[0], ETHW[1.00020951], MATIC[0], SOL[0], USD[0.00]

07774132                              AVAX[.025], DAI[1181.97114], ETH[.003704], ETHW[.004204], GRT[.813], SOL[.00306501], USD[6.35], USDT[.0003751]

07774138                              BTC[0], ETH[0], ETHW[0], SOL[0], USD[0.01]

07774144                              BTC[.00638135], USD[0.00]

07774158                              USD[21.51]                                                                                                                                                                               Yes

07774163                              NFT (394500080477695487/Megalodon Rogue Shark Tooth)[1]

07774168                              AUD[1.00], BAT[.999], BRZ[5], CAD[1.00], CHF[0.90], CUSDT[24], DOGE[3.997], EUR[1.00], GBP[1.00], GRT[1], HKD[7.70], LTC[.01], SGD[1.33], SOL[.05995], TRX[10], TRY[8.21], USD[26.95],
                                      ZAR[14.20]
07774172                              BRZ[1], CUSDT[4], GRT[1.00367791], MATIC[214.97197293], SOL[4.96389632], TRX[2870.35626088], USD[0.00]                                                                                   Yes

07774176                              CUSDT[1], SHIB[2], TRX[2], USD[169.91]                                                                                                                                                   Yes

07774182                              BTC[.00781241], USD[0.00], USDT[0]                                                                                                                                                       Yes

07774190                              USD[19.76]
West Realm Shires Services Inc.                                                        Case 22-11068-JTD      DocF-3:
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07774191                           SOL[.0872766], USD[4.04]

07774192                           ETH[0], USD[2.47], USDT[0.00000001]

07774193                           SOL[7.1], USD[1.44]

07774201                           USD[0.00]

07774207                           BTC[.0026], SOL[.63600104], USD[0.00]

07774208                           USD[0.14]

07774214                           CUSDT[2], ETH[.0000003], ETHW[.0000003], TRX[3], USD[0.05]                                                                                                                               Yes

07774217                           AAVE[1.77932902], BCH[0], BTC[2.61646489], ETH[1.19748454], ETHW[0], LINK[0], LTC[0], MATIC[0.00000001], SOL[1.41437792], USD[412.95], USDT[0.00006015]

07774223                           USD[0.00], USDT[2.301521]

07774224                           BTC[0], ETH[0], SOL[0], USD[0.00], USDT[0.00000069]

07774231                           BTC[2.0064858], ETH[5.47915325], ETHW[5.47915325], SOL[38.27261946], USD[0.00], USDT[497.20367185]

07774234                           ETH[0], ETHW[0], SOL[0.00000001], USD[0.00]

07774236                           NFT (383419763977169207/Cyber Frogs Ramen)[1], USD[0.00], USDT[0.00000102]

07774238                           USD[20.00]

07774239                           AVAX[.00000001], ETH[0], ETHW[0], USD[0.00]

07774241                           USD[0.00]

07774242                           BTC[0], ETH[0], NFT (338329543755725570/FTX - Off The Grid Miami #1635)[1], SOL[0.00000001], USD[0.01]

07774243                           AVAX[0], BCH[0], BTC[0.00000001], DOGE[0], ETH[0.00000001], ETHW[0], LTC[0.00000001], NFT (341443560966101428/Bahrain Ticket Stub #1378)[1], NFT (408266899594814099/FTX - Off The
                                   Grid Miami #4218)[1], SOL[0], UNI[0], USD[0.00], USDT[0]
07774244                           USD[8.78]

07774255                           NFT (290984046589533105/GSW Western Conference Finals Commemorative Banner #299)[1], NFT (295127939277228785/Coachella x FTX Weekend 1 #15020)[1], NFT (297958267248812692/GSW
                                   Round 1 Commemorative Ticket #107)[1], NFT (305081248683383872/Warriors Foam Finger #248 (Redeemed))[1], NFT (309857793665260273/GSW Championship Commemorative Ring)[1], NFT
                                   (312259785579009611/GSW Round 1 Commemorative Ticket #449)[1], NFT (324119846439678629/GSW Western Conference Finals Commemorative Banner #297)[1], NFT
                                   (329972626186777950/GSW Championship Commemorative Ring)[1], NFT (339568838153763000/GSW Western Conference Semifinals Commemorative Ticket #136)[1], NFT
                                   (347131484737149089/GSW Western Conference Finals Commemorative Banner #303)[1], NFT (347956223761155687/Warriors Logo Pin #430 (Redeemed))[1], NFT (352650152060443039/GSW
                                   Western Conference Finals Commemorative Banner #302)[1], NFT (357860190646773849/Humpty Dumpty #251)[1], NFT (376240437607361470/GSW Western Conference Finals Commemorative
                                   Banner #304)[1], NFT (393285914917397536/GSW Round 1 Commemorative Ticket #447)[1], NFT (445947400515926802/GSW Western Conference Finals Commemorative Banner #298)[1], NFT
                                   (448080472116151612/Shaq's Fun House Commemorative Ticket #287)[1], NFT (450721445618230743/GSW Western Conference Semifinals Commemorative Ticket #135)[1], NFT
                                   (466487510154581602/Warriors Hoop #287 (Redeemed))[1], NFT (466639222437785044/GSW Championship Commemorative Ring)[1], NFT (478178055405064853/GSW Western Conference Finals
                                   Commemorative Banner #300)[1], NFT (488992873723904993/GSW Western Conference Semifinals Commemorative Ticket #134)[1], NFT (493269623291466971/Warriors Hoop #404 (Redeemed))[1],
                                   NFT (500526687879038309/GSW Championship Commemorative Ring)[1], NFT (510414712367121948/GSW Round 1 Commemorative Ticket #448)[1], NFT (528612789196501380/Good Boy #238)[1],
                                   NFT (549818237633654112/GSW Western Conference Finals Commemorative Banner #301)[1], NFT (563832952874940878/GSW Western Conference Semifinals Commemorative Ticket #133)[1],
                                   USD[1.08]

07774258                           CUSDT[1], SOL[2.07860265], TRX[1], USD[0.05]                                                                                                                                             Yes

07774260                           ETH[0], ETHW[0], UNI[0], USD[0.00], USDT[0.00000001]

07774263                           BTC[0], DOGE[1], MATIC[0.00004584], SHIB[3], SOL[0], USD[0.01], USDT[0]                                                                                                                  Yes

07774266                           NFT (325466539976002875/Entrance Voucher #3836)[1], NFT (435438308533740464/Cool Bean #3791)[1], SHIB[1], SOL[.38741896], USD[0.00]                                                      Yes

07774269                           USD[20.00]

07774271                           BTC[.0163836], DOGE[.745], ETH[.221736], ETHW[.145812], MATIC[49.95], SOL[.22977], SUSHI[.454], UNI[8.3], USD[2.87]

07774273                           USD[0.00]

07774280                           BRZ[412.19545302], USD[0.00]                                                                                                                                                             Yes

07774281                           BTC[.00007625], SOL[.00628032]

07774291                           DOGE[3], TRX[1], USD[0.00]                                                                                                                                                               Yes

07774296                           BTC[0], LTC[0], SOL[0], USD[0.44]

07774304                           SOL[.00000001], USDT[6499.80553741]

07774315                           NFT (296139760717657381/Miami Ticket Stub #182)[1], NFT (297586334768521477/Spectra #273)[1], NFT (307144528947308702/Cosmic Creations #918)[1], NFT (320744075371597761/Golden Hill      Yes
                                   #854)[1], NFT (340884391112637736/Night Light #536)[1], NFT (384540621526425517/Reflector #246)[1], NFT (394723803499060423/Ferris From Afar #465)[1], NFT (422936041768219978/Reflection
                                   '13 #47)[1], NFT (485109634132532254/Sun Set #170)[1], NFT (515452041657625435/Vintage Sahara #433)[1], NFT (566117795485730785/Colossal Cacti #364)[1], NFT (570487547974892047/Beasts
                                   #593)[1], SOL[0.00000012], USD[2.02]
07774323                           SHIB[23231535.28527986], USD[0.00]                                                                                                                                                        Yes

07774326                           SOL[0]

07774333                           BTC[.00055626], USD[10.07]                                                                                                                                                               Yes

07774336                           USD[0.00]

07774338                           CUSDT[7], TRX[2], USD[0.04]                                                                                                                                                              Yes

07774339                           BF_POINT[200], ETH[0], GRT[0], NFT (377413475304610143/R-08-1.0225 OsuAS)[1], NFT (520406286990455194/R-08-0.5871 PqUxE)[1], SOL[0], USD[155.53]                                         Yes

07774344                           ETH[0], USD[0.00]

07774348                           NFT (321529060583993022/Entrance Voucher #24865)[1], NFT (359500005335335758/APEFUEL by Almond Breeze #343)[1], NFT (444470395872683021/01:Predawn - Ukraine #318)[1], NFT
                                   (563785175821679798/Australia Ticket Stub #347)[1], NFT (570575305357737041/Blue W Series - MD #2 (Redeemed))[1], SOL[.00000001], USD[5935.97]
07774351                           USD[0.00]

07774359                           SHIB[12563665], TRX[43.8527], USD[10.02], USDT[0.00000001]

07774368                           BAT[1], BRZ[1], DOGE[4], ETH[0], SOL[0], TRX[1], USD[0.00]

07774377                           NFT (297404351340012609/Megalodon Rogue Shark Tooth)[1], NFT (314437586979022574/Megalodon Rogue Shark Tooth)[1], NFT (329652678162184199/Megalodon Rogue Shark Tooth)[1], NFT
                                   (364799480947895539/Megalodon Rogue Shark Tooth)[1], NFT (370659279271035259/#9065)[1], NFT (393338230893458349/Megalodon Rogue Shark Tooth)[1], NFT
                                   (408336070417033377/Megalodon Rogue Shark Tooth)[1], NFT (429565580663894693/Megalodon Rogue Shark Tooth)[1], NFT (473899820653980426/Megalodon Rogue Shark Tooth)[1], NFT
                                   (478780584120358492/Megalodon Rogue Shark Tooth)[1], NFT (479510808752020184/Megalodon Rogue Shark Tooth)[1], NFT (526636403519601822/Megalodon Rogue Shark Tooth)[1], NFT
                                   (549780954837234146/Megalodon Rogue Shark Tooth)[1], NFT (550573487342070849/Megalodon Rogue Shark Tooth)[1], NFT (567477952511412019/Megalodon Rogue Shark Tooth)[1], SOL[.05],
                                   TRX[.000001], USD[0.00], USDT[0.00000088]
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                                                                                                                                            Customer Claims                                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07774383                           USD[259.00]

07774385                           SHIB[1], USD[0.00]

07774390                           BAT[1.0165555], BRZ[1], CUSDT[3], DOGE[3], GRT[.0000134], MATIC[.00276098], TRX[5.00510061], UNI[.00004565], USD[0.02]                                                             Yes

07774391                           BTC[0], ETH[0], MATIC[0], SOL[0], USD[0.00], USDT[0]

07774406                           BTC[.0000046], DOGE[2], ETH[.0000276], MATIC[0], NFT (419215887252546487/ApexDucks #5872)[1], NFT (430998147938061264/SolBunnies #513)[1], NFT (469866458070141148/SolBunnies
                                   #3177)[1], NFT (473297369811848433/DOTB #812)[1], NFT (499670099503748162/APEFUEL by Almond Breeze #337)[1], NFT (535394679038847550/Pet)[1], SHIB[1], TRX[2], USD[0.00]

07774407                           BAT[28], BTC[.0355932], ETH[.252878], ETHW[.252878], SHIB[100000], SOL[2.019], USD[60.20]

07774411                           ETH[.066933], ETHW[.066933], MATIC[19.98], USD[1.13]

07774412                           BTC[0], MATIC[0], SOL[0], USD[0.00], USDT[0.00000111]

07774414                           ETH[1.215], ETHW[1.215], USD[0.32], USDT[1.9267164]

07774418                           BTC[0], ETH[0], ETHW[1.65430975], MATIC[0], NFT (375240541850001305/Australia Ticket Stub #799)[1], SOL[0], USD[299.95]

07774419                           USD[0.00]

07774427                           USD[20.00]

07774440                           SOL[.13332968], USD[0.00]

07774448                           ETH[.00148015], USD[5.81]

07774449                           USD[1.24], USDT[0]

07774453                           NFT (323182430260631881/GSW Western Conference Finals Commemorative Banner #1276)[1], NFT (328921121806158384/GSW Western Conference Finals Commemorative Banner #1275)[1], NFT
                                   (353368068403559307/GSW Western Conference Semifinals Commemorative Ticket #674)[1], NFT (402235180916366769/Solana Spinners WL Token)[1], NFT (463609095154440925/Warriors Logo
                                   Pin #238 (Redeemed))[1], NFT (498950711997484926/Beasts #222)[1], NFT (508283099228839954/GSW Championship Commemorative Ring)[1], NFT (523242015602898027/GSW Round 1
                                   Commemorative Ticket #560)[1], USD[0.00]
07774460                           BTC[.0000111], DOGE[.983], ETHW[.056], MATIC[5.74], SOL[0], USD[0.34]

07774470                           NFT (499302015920865407/JMWW #359)[1]

07774471                           BTC[0.00001440], USD[0.00]

07774477                           UNI[0]

07774479                           ETH[.00031443], ETHW[.00031443], LINK[.0919], NFT (328686128004397530/Space Cowboy #1)[1], NFT (462274534947626285/FTX - Off The Grid Miami #1478)[1], NFT
                                   (534219958449589253/Humpty Dumpty #1663)[1], SOL[0], USD[0.03]
07774482                           ETH[0], USD[0.01]

07774484                           CUSDT[33], DOGE[.03966811], ETH[0.02355325], ETHW[0.02326528], GRT[2.02566128], MATIC[284.56902036], SOL[1.96424474], TRX[3], USD[14.21]                                           Yes

07774485                           SOL[0], TRX[.000001], USDT[0]

07774489                           ETH[.001998], ETHW[.001998], MATIC[9.99], USD[1.19]

07774492                           USD[5.51]

07774493                           USDT[0.00000062]

07774499                           BTC[.00906939], ETH[.41216213], ETHW[.41198917], SOL[6.64302687]                                                                                                                   Yes

07774500                           BTC[0], ETH[0], LTC[0], SOL[0.00000155], USD[0.00]

07774503                           USD[0.32]

07774511                           USD[21.51]                                                                                                                                                                         Yes

07774514                           USD[21.51]                                                                                                                                                                         Yes

07774515                           USDT[1.2822636]

07774532                           BTC[.0028011], USD[0.18]

07774535                           SOL[201.2557085], USD[4.62]

07774538                           SOL[.00427137], USD[0.00]

07774552                           USD[3.70]

07774563                           NFT (517682734730388408/Imola Ticket Stub #1209)[1], USD[0.00]                                                                                                                     Yes

07774568                           SOL[0]

07774570                           BTC[0], USD[2.23], USDT[0]

07774574                           ETH[5.26005146], ETHW[5.26005146], USD[0.00]

07774577                           ETH[.00000001], USD[0.00]

07774579                           ETH[0], SOL[0], USD[0.00]

07774583                           NFT (492218327332914762/Bull #847)[1], SOL[0], USD[24.16]

07774584                           USD[0.78], USDT[0.15152700]

07774589                           SOL[0], USDT[0.00000028]

07774600                           LTC[.01], TRX[109.99], USD[0.00]

07774601                           BAT[1], BTC[.00000165], CUSDT[2], DOGE[.01030551], LINK[24.69656328], SHIB[96.68729102], TRX[2], USD[0.09]                                                                         Yes

07774602                           USD[0.26]

07774606                           SOL[.00026386]

07774613                           SOL[.00000001], USD[2.40]

07774617                           BRZ[1], CUSDT[3], DOGE[2], SOL[3.13983272], TRX[1], USD[0.00]                                                                                                                      Yes

07774618                           USD[0.02]                                                                                                                                                                          Yes

07774644                           USD[0.00]

07774645                           USD[0.05], USDT[0]                                                                                                                                                                 Yes

07774652                           SOL[3.03], USD[0.76]
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                                                                                                                                            Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07774653                           SOL[.8]

07774655                           USD[500.01]

07774656                           USD[3.66]

07774658                           SOL[.0253821], USD[0.27]

07774659                           BTC[0], SOL[0.00000001], USD[0.00]

07774660                           ETH[1.441], ETHW[1.441], SOL[4.44], USD[0.17]

07774663                           DAI[0], DOGE[3], NFT (307900450677097843/Cornered )[1], SHIB[3], SOL[0], USD[0.00], USDT[0]

07774668                           USD[0.00]

07774670                           BTC[0], ETH[0], ETHW[0], SHIB[0], SOL[0], USD[0.00]

07774673                           SOL[.00378908], USD[0.00]

07774677                           USD[20.00]

07774680                           NFT (457192104713663520/Coachella x FTX Weekend 2 #15076)[1]

07774683                           USD[2.01]

07774684                           ETH[0.00047284], ETHW[0.00141737], SOL[0], USD[0.12]

07774685                           SOL[.0080691], USD[110.97]

07774691                           SOL[.00345518], USD[600.00]

07774695                           SOL[0], USD[0.00]

07774709                           NFT (296769680265176310/The 2974 Collection #0631)[1], NFT (309946170140965738/Birthday Cake #0631)[1], NFT (319325110833580812/2974 Floyd Norman - CLE 5-0202)[1], NFT
                                   (358936951820358678/2974 Floyd Norman - CLE 3-0079)[1], NFT (401856447598627242/2974 Floyd Norman - CLE 2-0113)[1], NFT (549385399293397764/The 2974 Collection #0384)[1], NFT
                                   (554814979373307039/Birthday Cake #0384)[1]
07774710                           BCH[.0006029], BTC[0], DOGE[.9119], ETH[0], LINK[.09221], NFT (311887016258984086/Entrance Voucher #4217)[1], SOL[.0064565], UNI[.0248725], USD[0.01], USDT[117.11408949]

07774715                           ETH[.00000001]

07774724                           USD[39.99]

07774729                           ETH[0], ETHW[0.00080000], SOL[0], USD[0.00]

07774730                           BCH[.00268177], CUSDT[1], DOGE[4.15295517], GRT[.02216851], SHIB[1], SUSHI[.00005064], TRX[1], USD[0.00]                                                                             Yes

07774733                           USD[1.43]

07774735                           BAT[1], DOGE[3], SHIB[2], TRX[1], USD[1313.53]                                                                                                                                       Yes

07774738                           BTC[.00718222]

07774744                           ETH[0], NFT (300632658127217755/Mech #714)[1], NFT (521203936820186229/Mech #713)[1], SOL[2.18331970], USD[0.00]

07774764                           BTC[0.00000208], ETH[.00000001], SHIB[1], USD[0.00]                                                                                                                                  Yes

07774768                           USD[1.15], USDT[0]

07774774                           USD[20.00]

07774778                           SOL[5.846827], USD[3.59]

07774790                           USD[0.00]

07774792                           BRZ[1], DOGE[1], ETH[.00000583], ETHW[8.39242415], SHIB[2], USD[498.91]                                                                                                              Yes

07774802                           USD[20.00]

07774806                           BTC[0], SUSHI[.165], USD[1.93]

07774811                           USD[20.00]

07774814                           BTC[.05620795], ETH[.04165931], ETHW[.04113947], MKR[.01119157], SOL[.23854105], USD[13.27]                                                                                          Yes

07774817                           USD[100.00]

07774821                           USD[20.00]

07774823                           ETH[0], SOL[.00000001], USD[9.75]

07774825                           NFT (464060401173293620/Entrance Voucher #3146)[1]

07774827                           BTC[0], SOL[0], USD[0.00]

07774830                           USD[2.58]

07774831                           ETH[.00000309], TRX[.042], USD[3.42]

07774832                           USD[7.96]

07774833                           ETH[0], SOL[0], USD[230.89], USDT[9.94850633]

07774839                           AVAX[1.03126284], DOGE[2085.16430987], ETH[.02078709], ETHW[.02052717], MATIC[143.76517272], SHIB[1876310.38906844], SOL[2.03883864], USD[0.00], USDT[0.64849622]                    Yes

07774843                           BF_POINT[200], BTC[.12467339], ETH[1.0684508], ETHW[1.06800202], UNI[1.72516101]                                                                                                     Yes

07774848                           SHIB[6], USD[0.00]                                                                                                                                                                   Yes

07774850                           ETH[.00000001], USD[1.35]

07774853                           USD[1.49]

07774854                           ETHW[2.22263968]                                                                                                                                                                     Yes

07774857                           BRZ[1], SOL[.45660333], USD[0.00]                                                                                                                                                    Yes

07774873                           ETH[0], ETHW[0], SOL[0], USD[0.00]

07774874                           BAT[.00000001], BTC[0], ETH[.00000001], EUR[0.00], LINK[.00000001], NFT (295749095879765505/Entrance Voucher #3014)[1], NFT (331546913150767389/Barcelona Ticket Stub #80)[1], NFT   Yes
                                   (538957124203227160/Imola Ticket Stub #522)[1], SOL[0], UNI[.00000001], USD[0.01]
07774875                           USD[9.39]
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                                                                                                                                            Customer Claims                                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07774879                           NFT (337559033996742175/GSW Western Conference Finals Commemorative Banner #2129)[1], NFT (370008325669145496/Warriors Hardwood Court #67)[1], NFT (386030855840321526/GSW
                                   Western Conference Finals Commemorative Banner #2130)[1], NFT (443048196657581201/GSW Western Conference Semifinals Commemorative Ticket #1142)[1], NFT (474601704092689297/GSW
                                   Championship Commemorative Ring)[1], USD[0.01]
07774885                           CUSDT[2], USD[0.00]                                                                                                                                                               Yes

07774887                           USD[2.30]

07774897                           USD[21.51]                                                                                                                                                                        Yes

07774901                           SOL[.00017965], USD[0.00]

07774904                           BTC[0], SOL[0], USDT[0]

07774905                           NFT (548423359257747408/Coachella x FTX Weekend 2 #6175)[1]

07774907                           BTC[.00000475]                                                                                                                                                                    Yes

07774923                           ETHW[45.598356], USD[1.34]

07774925                           BAT[30.07068983], BCH[.00052185], CUSDT[8], GRT[.75548999], TRX[33.25475027], USD[20.83]                                                                                          Yes

07774927                           SOL[0], USD[0.10], USDT[.05212875]

07774929                           ETH[0], NFT (316633754751949025/Gloom Punk #8574)[1], SOL[.00000001], USD[0.00]

07774932                           BRZ[2], CUSDT[5], DOGE[5], ETH[1.48268279], ETHW[1.48268279], SHIB[2], SOL[53.28783503], TRX[3], USD[0.00], USDT[3]

07774937                           BRZ[5], DOGE[2], ETH[.00000001], ETHW[0], SHIB[60857218.0983885], TRX[15], USD[0.00], USDT[0]                                                                                     Yes

07774940                           NFT (536454951417292245/Saudi Arabia Ticket Stub #1640)[1]

07774956                           USD[0.00], USDT[0]

07774958                           SOL[8.76932491], USD[0.35]

07774963                           USD[0.00]

07774969                           ETH[.00317461], ETHW[.00313357], USD[0.00]                                                                                                                                        Yes

07774970                           TRX[.000001]

07774977                           BAT[2.09229963], BRZ[1], ETH[0], SOL[0.00000001], TRX[2], USDT[0.00001038]                                                                                                        Yes

07774982                           USD[21.51]                                                                                                                                                                        Yes

07774996                           USD[0.72]

07775000                           NFT (412446646588875751/Entrance Voucher #2901)[1], USDT[0]

07775012                           BTC[.02554476], SOL[.00000001], USD[0.49], USDT[0.00609717]

07775026                           USD[0.01]

07775027                           ETH[0], SOL[0], USD[0.00]

07775029                           SOL[.00963], USD[0.56], USDT[.0050476], YFI[0.00177482]

07775032                           LTC[0], MATIC[0], SHIB[0], SOL[0], SUSHI[0], TRX[0], USD[0.00], USDT[0]

07775039                           USD[0.21], USDT[.000144]

07775043                           BTC[0], ETH[0], ETHW[0], LINK[0], LTC[0], SOL[0], TRX[0.00000072]

07775045                           BTC[0], SOL[11.53738383], USD[0.00], USDT[0]

07775047                           USD[0.00]

07775050                           SOL[0]

07775052                           AVAX[.07], ETH[.000588], ETHW[.000807], MATIC[.28], NEAR[.0608], USD[2.92]

07775057                           BTC[0], USD[0.00]

07775066                           BTC[.004995], ETH[0], USD[0.39], USDT[0]                                                                                                                                          Yes

07775069                           CUSDT[1], DOGE[1], GRT[87.65067351], USD[0.00]                                                                                                                                    Yes

07775082                           USD[2.92]

07775087                           BTC[0.00006762], NEAR[0], USD[0.00]

07775091                           USD[0.00]

07775109                           BTC[0], USD[0.00]

07775112                           ETH[0], ETHW[0], SOL[0], USDT[0]

07775123                           USD[0.03], USDT[.69565]

07775124                           NFT (392708550322401555/Microphone #2492)[1]

07775131                           BTC[.00000002], DAI[0], ETH[0], MATIC[0], SHIB[3], SOL[0], USD[0.00]                                                                                                              Yes

07775135                           BAT[2.09084242], BRZ[1], BTC[0], CUSDT[12], DOGE[4], SHIB[9], SOL[11.22214267], TRX[4], USD[296.35]                                                                               Yes

07775141                           SOL[1.02], USD[2.48]

07775143                           ETH[.02413796], ETHW[.02413796], NFT (506563053646949638/Warriors 75th Anniversary Icon Edition Diamond #621)[1], SOL[0.00000006], USD[494.36]

07775148                           BAT[1.01574814], TRX[1], USD[0.00]                                                                                                                                                Yes

07775151                           CUSDT[2], SOL[.21658783], USD[0.69]                                                                                                                                               Yes

07775155                           USD[175.15]

07775156                           USD[3.96]

07775170                           SOL[0.68432377]

07775175                           ETHW[1.1300409], NFT (417153957430199509/Bahrain Ticket Stub #648)[1], USD[1.83]

07775185                           NFT (370551633362040121/2974 Floyd Norman - OKC 2-0040)[1], NFT (490608321590624196/Imola Ticket Stub #692)[1], USD[0.00]

07775194                           BTC[0], ETH[0], ETHW[0], MATIC[146.3535], USD[73.26]
West Realm Shires Services Inc.                                                           Case 22-11068-JTD      DocF-3:
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                                                                                                                                               Customer Claims                                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07775196                              USD[20.00]

07775199                              SOL[.00094588]

07775205                              BTC[0.00006415], SOL[.008], SUSHI[.423], USD[131.34]

07775208                              LINK[1.01875936], NFT (331446803007735942/GSW Western Conference Finals Commemorative Banner #1703)[1], NFT (430239029904154241/GSW Western Conference Semifinals Commemorative
                                      Ticket #866)[1], NFT (454185950735793250/GSW Western Conference Finals Commemorative Banner #1704)[1], NFT (473799950206150878/GSW Championship Commemorative Ring)[1], NFT
                                      (565172052855753156/Warriors Logo Pin #626 (Redeemed))[1], SOL[2.853395], USD[2.47], USDT[2.11083270]
07775212                              SOL[0]

07775218                              BTC[.00001923], ETH[.000909], ETHW[.789909], USD[0.00]

07775228                              BCH[0], DOGE[0], ETH[0], KSHIB[0], SHIB[1.00242522], SOL[0], SUSHI[0.87963629], TRX[0], UNI[0], USD[0.00], USDT[0]                                                                Yes

07775237                              SOL[.07], USD[0.92]

07775238                              JPY[0.01], USD[0.00]

07775250                              BTC[0], USD[0.00]                                                                                                                                                                 Yes

07775251                              SOL[0], USD[0.00]

07775259                              BRZ[1], BTC[.00000344], ETH[.00000964], GRT[1], LINK[3.54854255], SHIB[2], SOL[.0024787], TRX[2], USD[7.71], USDT[0]                                                              Yes

07775272                              SHIB[1], USD[0.01]                                                                                                                                                                Yes

07775274                              BTC[.00319712], USD[3.92], USDT[0]

07775279                              USD[10.00]

07775286                              SOL[13], USD[18.18]

07775293                              GRT[141.53228498], USD[0.10]                                                                                                                                                      Yes

07775302                              BRZ[1], CUSDT[2], TRX[1], USD[0.01]

07775313                              NFT (370861575822119638/2974 Floyd Norman - CLE 1-0229)[1]

07775327                              BRZ[2], SHIB[2], USD[1727.95], USDT[641.22369438]                                                                                                                                 Yes

07775333                              BAT[1.01649053], BRZ[1], CUSDT[8], KSHIB[3578.94932284], SHIB[6028357.8386902], SOL[1.47974515], SUSHI[12.00674256], TRX[3], USD[0.00]                                            Yes

07775336                              ETH[0], LINK[0.00502511], NFT (314003799212298584/Humpty Dumpty #1420)[1], USD[0.00]                                                                                              Yes

07775338                              NFT (520281414892477556/Bahrain Ticket Stub #2424)[1]

07775339                              ETH[.001], ETHW[.001], USD[0.22]

07775343                              ETH[0.12414536], ETHW[0.12414536], USD[0.00]

07775350                              USD[6.34], USDT[0]

07775357                              BTC[.00008782], MATIC[23.13692665], SHIB[2645865.56403796], USD[4.55]

07775358                              SOL[212.93701], USD[5.67]

07775360                              USD[0.00]

07775373       Contingent, Disputed   USDT[.6403521]

07775383                              USD[885.19]

07775385                              ETH[0], ETHW[0], SOL[.00000001], USD[0.00]

07775394                              NFT (521476854446562091/Microphone #1612)[1]

07775409                              BTC[.0000418], ETH[.00000042], ETHW[.00000042], USD[0.00]

07775424                              USD[21.51]                                                                                                                                                                        Yes

07775429                              SOL[0]

07775431                              ETH[0], USD[1.45]

07775435                              ETH[.073926], ETHW[.073926], SOL[0], USD[0.00]

07775436                              ETH[0], SOL[0]

07775439                              BTC[.1938254], ETHW[4.0215901], USD[22.55]

07775446                              BRZ[1], TRX[2], USD[0.01], USDT[0.00150576]                                                                                                                                       Yes

07775454                              USD[21.51]                                                                                                                                                                        Yes

07775456                              AAVE[0.01403001], ALGO[2.73392265], AVAX[0.09075436], BAT[2.72466143], BRZ[1], BTC[.02362866], CUSDT[1], DAI[5.13925530], DOGE[20.23923409], ETH[4.57306865], ETHW[4.12909870],   Yes
                                      GRT[12.83529691], LINK[1.09265695], MATIC[338.19709902], MKR[0.00129146], NEAR[1.19263394], SHIB[4], SOL[.05659716], SUSHI[0.99032236], TRX[2], UNI[1.23419812], USD[0.00],
                                      USDT[1.20518979], YFI[0.00017642]
07775457                              BF_POINT[200], ETH[.1], ETHW[.3], USD[0.00]

07775460                              USD[0.00]

07775466                              NFT (414357077805637522/Coachella x FTX Weekend 1 #21755)[1]

07775469                              SOL[2.18527955], USD[0.01], USDT[1.08692342]                                                                                                                                      Yes

07775472                              NFT (484676601158432198/Entrance Voucher #3703)[1]

07775475                              USD[2.25]

07775477                              BTC[0], ETH[0], ETHW[0], MATIC[0], SOL[0.00000001], USD[0.00], USDT[0]

07775478                              SOL[.00471788]

07775479                              DOGE[.00618078], LINK[.00005719], SHIB[85.09429301], SUSHI[.0014157], TRX[1], UNI[.00008595], USD[0.00]                                                                           Yes

07775495                              SOL[0.85471940], USD[0.00]

07775503       Contingent, Disputed   USD[1.74]

07775508                              USD[21.51]                                                                                                                                                                        Yes

07775510                              USD[0.00]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07775523                              DAI[.01034885], LINK[.02722543], USD[33.59], USDT[158.04202464]

07775525                              NFT (354651862906401602/FTX - Off The Grid Miami #6401)[1]

07775526                              USD[21.51]                                                                                                                                                                               Yes

07775527                              USD[0.00]                                                                                                                                                                                Yes

07775530                              CUSDT[1], DOGE[1], NFT (523779813803697861/Coachella x FTX Weekend 1 #12284)[1], USD[0.01]                                                                                               Yes

07775540                              NFT (563806746902809786/Vintage Sahara #810 (Redeemed))[1], USD[0.00], USDT[4.05374589]

07775551                              NFT (288574698856418514/Entrance Voucher #2242)[1]

07775568                              NFT (323783941158433358/FTX - Off The Grid Miami #5916)[1]                                                                                                                               Yes

07775573                              BTC[0], ETH[0], NFT (368121373490756087/Megalodon Rogue Shark Tooth)[1], SOL[36.02653594], USD[150.86]

07775579                              BAT[1], DOGE[2], SOL[.00014664], USD[0.00]                                                                                                                                               Yes

07775580                              USD[21.51]                                                                                                                                                                               Yes

07775596                              USD[0.00]

07775604                              ETH[.01], ETHW[.01]

07775620                              DAI[0], MATIC[0], SOL[0], USD[0.00], USDT[0.00000001]

07775624                              BRZ[1], CUSDT[5], NFT (574777688039490910/1171)[1], SOL[0], SUSHI[44.87523016], UNI[21.91949853], USD[0.10]                                                                              Yes

07775625                              USD[21.51]                                                                                                                                                                               Yes

07775627                              ETH[0.00000001], ETHW[0], SOL[0], TRX[.000001], USD[0.00], USDT[0]

07775632                              NFT (563775987869798650/Entrance Voucher #1813)[1], SOL[.00000001], USD[0.40]

07775633                              SOL[1.14173835], USD[0.00]

07775654                              BTC[.0000043], DOGE[.6398], LINK[.00335002], SOL[.00744433]

07775658                              USD[0.00]

07775667                              USD[21.51]                                                                                                                                                                               Yes

07775682                              USD[5.50]                                                                                                                                                                                Yes

07775692                              USD[0.00]

07775698                              BCH[.00171718], BTC[0.00014870], CUSDT[11.06171216], DOGE[.06859001], ETH[0.00023171], ETHW[0.00023171], GRT[.2301297], LINK[.02640418], LTC[.0022614], MATIC[.11621488],                Yes
                                      MKR[.00041527], PAXG[.00062785], SOL[.003145], SUSHI[.09080694], TRX[4.0662774], USD[0.17], YFI[.00002889]
07775703                              TRX[.000001], USD[0.84], USDT[0]

07775710                              BTC[.00009848], ETH[.00084895], ETHW[.02084895], SOL[.0073425], TRX[26.33845], USD[122.52]

07775716                              SOL[0]

07775725                              SOL[4.34080335], TRX[12.17780951], USD[0.01]                                                                                                                                             Yes

07775729                              AAVE[0], CUSDT[0], MATIC[0], SOL[0.00228662], USD[3.78], USDT[0.00000001]

07775743                              USD[0.00], USDT[0]

07775755                              USD[3.94], USDT[1.5696316]

07775780                              BTC[0.00085196], USD[0.00]

07775783                              BAT[1], BRZ[6.21116025], BTC[.02916109], CUSDT[9], DOGE[8.00327922], ETH[.19203732], ETHW[.19182382], SHIB[23], SOL[.00000001], TRX[11], USD[3.66]                                       Yes

07775788                              DOGE[1], ETHW[0.00000354], NFT (303657899120357846/Founding Frens Lawyer #177)[1], NFT (322523289230519878/Founding Frens Investor #502)[1], TRX[0], USD[0.00]                           Yes

07775790                              EUR[0.00], SOL[0], USD[5.64]

07775799                              USD[0.37]

07775805                              NFT (513965463760442881/Microphone #5612)[1]

07775816                              NFT (410851067704383308/2974 Floyd Norman - CLE 4-0134)[1], NFT (438143644197442961/2974 Floyd Norman - CLE 4-0080)[1]

07775817                              DOGE[2], ETH[.00000913], ETHW[.00000913], SOL[.00834335], USD[0.00]                                                                                                                      Yes

07775819       Contingent, Disputed   ETH[.00092367], ETHW[0.00092367], USD[0.36]

07775821                              BTC[0], EUR[0.01], SOL[0]

07775824                              USD[20.00]

07775825       Contingent, Disputed   USD[0.00]

07775829                              SOL[0]

07775831                              SOL[.03]

07775832                              SOL[0]

07775834                              BTC[0], USD[0.00], USDT[0]

07775835                              NFT (309093937080383012/FTX - Off The Grid Miami #5563)[1], NFT (399666182002057484/Saudi Arabia Ticket Stub #2402)[1], NFT (500441723634635972/Reflector #191 (Redeemed))[1], SOL[0],
                                      USD[0.00]
07775836                              NFT (492265815968917127/Hottest Rods NFTs #550 (HOTRODV1))[1], NFT (550406699621045046/Hottest Rods NFTs #549 (HOTRODV1))[1], USD[6.00]

07775844                              NFT (300617066238299097/Entrance Voucher #2374)[1], USD[0.09]                                                                                                                            Yes

07775855                              USD[0.00]

07775873                              BRZ[1], DOGE[1], SHIB[5], SOL[.00882907], TRX[4], USD[0.44]                                                                                                                              Yes

07775880                              NFT (400073182692364039/Bahrain Ticket Stub #1886)[1]

07775881                              BF_POINT[300], BTC[0], CUSDT[0], ETH[0], NFT (505956488609781860/Australia Ticket Stub #704)[1], SOL[0], USD[0.05], USDT[0]                                                              Yes

07775888                              ETH[.00000001], ETHW[0], USD[0.00]

07775889                              DOGE[3], ETH[.00000073], ETHW[.00000073], MATIC[.00727174], SHIB[20402.12723904], TRX[1], USD[0.00], USDT[0]                                                                             Yes

07775903                              ETH[.01100347], ETHW[.01086667], USDT[.01828938]                                                                                                                                         Yes
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                                                                                                                                               Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07775905                              BAT[156.41419049], BRZ[6.39842216], BTC[0], CUSDT[8], DOGE[20875.91164118], ETH[1.93134675], ETHW[1.33600841], GRT[4.15571789], LINK[45.50009395], SHIB[8356908.41911614],          Yes
                                      SOL[20.88711944], TRX[1318.51984988], USD[0.81], USDT[1.09310256]
07775916                              BRZ[1], BTC[.00000001], DOGE[1], ETH[.00000017], ETHW[.00000017], NFT (513790627583399612/Barcelona Ticket Stub #1994)[1], SHIB[13], SOL[0.00001552], TRX[2], USD[0.00]             Yes

07775923                              SOL[0.00000547]

07775926                              DOGE[3], SHIB[12], TRX[3], USD[0.00], USDT[0]                                                                                                                                       Yes

07775940                              USD[0.05]

07775946                              SOL[.0071], USD[0.77]

07775950                              LINK[.06566], LTC[.0187675], USD[0.00]

07775951                              CUSDT[3], TRX[.03547909], USD[0.00]                                                                                                                                                 Yes

07775965                              NFT (391317684611279816/Australia Ticket Stub #469)[1], SOL[.04]

07775968                              BTC[0], KSHIB[0], LINK[.0246], MATIC[.0675431], NFT (420742628987105891/Happy Feet Series)[1], SOL[2.007848], TRX[0], USD[3.15]

07775970                              USD[0.00]

07775972                              NFT (351258333867621222/2974 Floyd Norman - CLE 2-0078)[1], SOL[0.00000012], USD[0.00]

07775988                              USD[0.60]

07775990                              ETH[0.00000001], ETHW[0], NFT (532249532048240084/2974 Floyd Norman - OKC 3-0222)[1], SOL[0], USD[0.00], USDT[0]

07775995                              NFT (479342818591820795/Colossal Cacti #37)[1], USD[0.75]

07776001                              BTC[0], ETH[0.00060233], USD[0.00]

07776002                              ETH[0], ETHW[0], SOL[0.00500000]

07776018                              USD[0.00]

07776022                              TRX[.000001], USDT[.0876772]                                                                                                                                                        Yes

07776035                              USD[0.00]

07776042                              USD[0.00]

07776055                              TRX[.000003], USD[0.01]

07776062                              USD[0.00]

07776065                              BAT[2.07516455], BRZ[2], CUSDT[5], DOGE[6.08953992], ETH[.00000001], ETHW[0], GRT[1.00248699], SOL[0], TRX[2], USD[0.00], USDT[0]                                                   Yes

07776069                              USD[0.00]

07776073                              BAT[1.01525669], BRZ[1], CUSDT[2], DOGE[2], SHIB[1], SOL[.00006686], TRX[1], USD[809.48]                                                                                            Yes

07776075                              ETH[0], SHIB[800306.46789799], SOL[0], USD[0.00]                                                                                                                                    Yes

07776079                              USD[0.01]

07776080                              NFT (367589321947378397/Coachella x FTX Weekend 1 #849)[1]

07776086                              SOL[0], USD[0.00]

07776094                              ETH[0], MATIC[1], NFT (299881421520396567/Night Light #839)[1], NFT (317067218403525486/#5564)[1], NFT (458478377826628071/Spectra #489)[1], UNI[1], USD[30.31], USDT[0.00000001]

07776095                              BAT[1.0165555], BRZ[1], CUSDT[4], DOGE[1], ETH[.05448153], ETHW[.05380563], GRT[1.00404471], SHIB[1], TRX[2], USD[310.83]                                                           Yes

07776096                              NFT (340873320185978494/Silverstone Ticket Stub #314)[1], NFT (376597333195865630/Australia Ticket Stub #443)[1]                                                                    Yes

07776101                              ETH[0], SOL[0], USD[0.00]

07776119                              BRZ[1], USD[0.00]                                                                                                                                                                   Yes

07776132                              GRT[0], LTC[1.37257375], SHIB[0], SOL[0], USD[1.41], USDT[0.00000055], YFI[0]

07776137                              USD[21.00]

07776141                              SOL[0], USD[18.00]

07776143                              LINK[.092], MATIC[229.77], SOL[.999], SUSHI[2.4975], USD[5.37], USDT[1.61814360]

07776149                              SHIB[0], SOL[1.12789189], USD[0.00], USDT[0.00000022]

07776157                              BAT[19.91475009], BTC[.02760637], ETH[.01557486], ETHW[.01538334], LTC[.00000405], SHIB[17], SOL[0.47235558], USD[0.00]                                                             Yes

07776164                              DOGE[1], SOL[13.25596695], USD[0.00]                                                                                                                                                Yes

07776167                              USD[1000.00]

07776169                              DOGE[1095.27655], SOL[.124395], USDT[491.60723685]

07776183                              USD[2.50]

07776185                              NFT (493868043672222724/Entrance Voucher #4155)[1], SOL[0], USD[0.00], USDT[0.00000070]

07776187                              USD[0.63]

07776193                              NFT (406548926473030412/Reflection '15 #30)[1], NFT (441940365633810106/Colossal Cacti #374)[1], USD[49.58]

07776202                              USD[5.00]

07776205                              ETH[.125], ETHW[.125], USD[3.35]

07776206       Contingent, Disputed   USD[0.00]

07776208                              DAI[0], ETH[0], SOL[0], USD[0.00], USDT[0.00000102]

07776212                              USD[11.91]

07776229                              ETH[0.00000001], ETHW[0], SOL[0.00000001]

07776231                              USD[1.93], USDT[.00321614]

07776238                              USD[10.98]

07776243                              BTC[0.00002795], ETH[0], SOL[0], USD[0.87], USDT[0]

07776246                              NFT (471047847008267336/2974 Floyd Norman - OKC 6-0185)[1], NFT (537647207603097622/2974 Floyd Norman - OKC 3-0167)[1], SOL[.00000001], USD[0.00], USDT[0]
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                                                                                                                                               Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07776247                              USD[0.00]

07776252                              LTC[0]

07776253                              TRX[.000002], USDT[1.2449049]

07776255                              SOL[.97881611], USD[0.00]

07776268                              USD[1.53]

07776273                              ETH[.001], ETHW[1.62017], GRT[10], LINK[.1]

07776277                              BAT[0], BTC[0], ETH[0], SOL[0], USD[0.99], USDT[0.00048741]

07776279                              BAT[2], TRX[1], USD[0.00]

07776305                              USD[0.42]

07776307                              SOL[.0999], USD[0.55]

07776310                              ETH[.00045697], ETHW[0.00007962], USD[0.16]

07776321                              USD[4.79]

07776322                              CUSDT[1], DOGE[3], SHIB[7], TRX[1], USD[0.00], USDT[0]                                                                                                                                    Yes

07776328                              SUSHI[102]

07776335                              SOL[0]

07776341                              NFT (499573056228825463/Reflection '10 #95 (Redeemed))[1]

07776342                              ETHW[2.201], SOL[.009005], USD[0.46]

07776347                              USD[0.00]

07776351                              USD[0.00], USDT[0]

07776352                              USD[0.01]

07776354                              USD[0.31]

07776363                              USD[0.00]

07776364                              ETH[.00000001], ETHW[0], SOL[0.00113553], USD[0.88]

07776365                              BTC[.02998627], ETH[1.69613781], ETHW[1.69558155], LINK[185.49155763], LTC[29.28846018]                                                                                                   Yes

07776367                              USD[0.00]

07776369                              BRZ[5.07952615], BTC[.00000153], CUSDT[42], DAI[.00000001], DOGE[9.33796308], ETH[0.00003161], ETHW[3.39516903], GRT[.00245051], LINK[.0002599], MKR[.00000322], SHIB[4],                 Yes
                                      SOL[.00006315], TRX[7], USD[0.01]
07776375                              AVAX[0], MATIC[0], NFT (400313192844548830/FTX Crypto Cup 2022 Key #2179)[1], NFT (447605633264277726/The Hill by FTX #5765)[1], SHIB[0], TRX[0.00000100], USD[0.00]                      Yes

07776377                              USD[0.00], USDT[0]

07776382                              USD[0.00], USDT[0]

07776390                              ETH[0], USD[0.00]

07776392                              NFT (455581695666323556/Vintage Sahara #708)[1], NFT (487357196688272922/Reflection '14 #73)[1], USD[0.07]

07776399                              BTC[.00000116], SUSHI[1.09817578], USDT[0.00036919]                                                                                                                                       Yes

07776402                              BAT[1], BTC[.00121809], DOGE[1], ETH[0], SOL[0], USD[0.00]

07776404                              USD[0.00]

07776412                              BTC[0], ETH[0.00000001], NFT (562076545924276572/Bahrain Ticket Stub #1311)[1], SOL[0]

07776413                              DOGE[2], TRX[2], USD[0.00]                                                                                                                                                                Yes

07776414                              BTC[0], ETH[0.00003559], ETHW[0.00003559], USDT[1.2074224]

07776429                              NFT (334859892677648786/Australia Ticket Stub #1305)[1]

07776446                              BTC[.00046323]                                                                                                                                                                            Yes

07776449                              BTC[0], ETHW[2.102], USD[0.09], USDT[0]

07776456                              CUSDT[2], ETH[.74858069], ETHW[.7482663], TRX[1], USD[3.28]                                                                                                                               Yes

07776462                              SOL[0]

07776471                              BTC[0], ETH[0], ETHW[0], LTC[0.00000001], NFT (298165294655049347/Party Pixels)[1], NFT (334907247117188436/SKULL Staking)[1], NFT (404309381679143881/Bannerisms Prototype)[1], NFT
                                      (436900630016618923/SKULL #4534)[1], NFT (456818589838952855/// sklitches 001-3 //)[1], NFT (523388201479071262/Ayyo and the Artisans)[1], SOL[0.00000001], USD[1.03], USDT[0.00000001]

07776478                              DOGE[2], NFT (568981056578196922/Serum Surfers X Crypto Bahamas #22)[1], TRX[1], USD[0.00], USDT[0.00000041]                                                                              Yes

07776479                              ETH[0], ETHW[0], SOL[0.00000001], TRX[0], USD[0.00], USDT[0.00000106]

07776491                              CUSDT[115.9923491], DOGE[2], SHIB[9812012.18085439], TRX[1], USD[0.11]                                                                                                                    Yes

07776494                              USD[112.82]

07776496                              BTC[.00000001], USD[0.00], USDT[0]

07776504       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07776509                              USD[0.00]

07776516                              ETHW[385.672479], USD[7865.42]

07776524                              USD[0.00]

07776541       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07776554                              USD[0.26]

07776555                              ETH[.00030956], ETHW[.00030956], NFT (353116133922646146/FTX - Off The Grid Miami #7476)[1], SOL[0.00000016]

07776558                              DAI[0], ETH[0], SOL[0], USD[0.11]

07776561                              USD[135.02], USDT[0]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07776566                              SOL[.009995], USD[0.00]

07776568                              USD[0.00]

07776575       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07776582                              ETH[0.00000001], NFT (437720518186077807/SKYLINE #3507)[1], SOL[0], USD[0.00]

07776590                              SOL[6.77302001], USD[0.01]

07776594                              SOL[.00005937], USD[0.00], USDT[0.00000045]

07776606                              NFT (341525217134299611/Lazy Hero #21)[1]

07776622                              NFT (482856385518113590/Imola Ticket Stub #1918)[1]

07776629                              SOL[0.00056034], USD[0.00]

07776642                              ETH[0], SOL[0], USD[0.00], USDT[0.00000001]

07776658                              NFT (367264356169690271/Bahrain Ticket Stub #287)[1]

07776664                              USD[0.00]

07776669                              BTC[0], USD[0.58], USDT[.00004075]

07776674                              SOL[.04365351], USD[0.00]

07776683                              NFT (514979517673148166/Microphone #613)[1]

07776686                              BAT[1], BRZ[7.34743218], CUSDT[3], DOGE[9.07346292], NFT (336760507920136692/Entrance Voucher #2881)[1], SHIB[14], SOL[.36864087], TRX[16.47817179], USD[0.00], USDT[0.00000009]   Yes

07776731                              BTC[0], ETH[0], LTC[0], SOL[0], USD[0.70]

07776739                              USD[10.84]                                                                                                                                                                         Yes

07776741                              SOL[.00000001], USDT[.2149352]

07776751                              CUSDT[2], SHIB[708342.70317072], SOL[10.71111854], TRX[1], USD[0.01]                                                                                                               Yes

07776776                              NFT (384405249860422927/Entrance Voucher #5153)[1], NFT (435923556392401546/Austria Ticket Stub #265)[1], NFT (455838174571380138/FTX - Off The Grid Miami #2168)[1], NFT
                                      (568148970727389052/Bahrain Ticket Stub #450)[1]
07776780                              USD[0.00]

07776792                              SUSHI[13.45425357], USD[28.18]

07776793                              USD[20.00]

07776794                              SOL[3.40817199], USD[0.01]

07776802                              NEAR[0], SOL[0], USD[0.00], USDT[0.00000035]

07776804                              BAT[1], DOGE[2], SHIB[6], TRX[5], USD[0.00], USDT[0]                                                                                                                               Yes

07776805                              TRX[.000001], USDT[0]

07776811                              USD[0.00]

07776812                              BTC[0.00001562], SOL[.20828909]

07776814                              BTC[0], DOGE[0], SOL[0], USD[0.44], USDT[.0047872]

07776817                              USD[20.00]

07776823                              SOL[.01]

07776831                              BTC[.00701942], DOGE[1], SHIB[215055.5078573], SOL[.16036333], USD[37.34], USDT[.06417075]                                                                                         Yes

07776832                              ETH[0], MATIC[0], SOL[0], USD[0.00]

07776836                              NFT (365633653880974402/2974 Floyd Norman - CLE 6-0168)[1], SOL[.00795072], USD[164.76], USDT[4.4679801]

07776841                              ALGO[.006], BTC[.00000334], ETH[.0000223], ETHW[.0800223], SOL[.00998]

07776846                              USD[21.51]                                                                                                                                                                         Yes

07776847                              BRZ[2], CUSDT[5], DOGE[3], GRT[1.0036779], SOL[53.62532806], TRX[3], USD[0.21]                                                                                                     Yes

07776848                              BTC[0], USD[0.00]

07776858                              CUSDT[1], DOGE[1], TRX[2], USD[0.00]                                                                                                                                               Yes

07776876                              NFT (502454503940821906/Fortune Cookies #1759)[1], SOL[2.27952452]

07776879                              SOL[0], USD[0.01]

07776880                              CUSDT[1], DOGE[1], USD[0.00]

07776885                              USD[0.09]

07776888                              BAT[1.01655549], GRT[1.00367791], USD[0.00]                                                                                                                                        Yes

07776891       Contingent, Disputed   SOL[0], USD[2.00]

07776895                              SOL[0], USD[0.00], USDT[0.00000016]

07776901                              USD[0.90], USDT[0.05789067]

07776904                              SOL[26.11070048], TRX[2], USD[1901.80]

07776917                              NFT (430068439276587480/Entrance Voucher #2824)[1], NFT (474867798286555364/FTX - Off The Grid Miami #2704)[1], USD[0.00]

07776927                              BTC[0.00516031], LINK[0], SOL[0]

07776930                              AAVE[0], BTC[0.00010000], LINK[0], USD[0.00], USDT[0]

07776937                              BTC[0], ETH[0], LINK[0], SOL[0], SUSHI[0], USD[1.08], YFI[0]

07776944                              ETH[0.02200001], ETHW[0.02200000], SOL[0], USD[3.02]

07776951                              ETH[0.00000001], ETHW[0.00000001]

07776954                              ETH[.10364217], ETHW[.10364217], SOL[.00019069], USD[0.00]

07776956                              BRZ[2], CUSDT[207.02708133], DOGE[25.65890102], ETHW[.00001002], SHIB[26], TRX[20.94243617], USD[0.00]                                                                             Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07776963                              CUSDT[1], ETH[.0309265], ETHW[.03054346], USD[0.00]                                                                                                                                           Yes

07776969                              ETH[.0006471], ETHW[0.00064710], SOL[.00000001], USD[0.55], USDT[0.00001052]

07776971                              AUD[0.00], BTC[0.00000002], CAD[0.00], CHF[0.00], DAI[0], EUR[0.00], GBP[0.00], LINK[.00000001], LTC[0], MATIC[.00294064], SGD[0.00], SHIB[0], SOL[0], UNI[0.00000001], USD[0.01], USDT[0],   Yes
                                      ZAR[0.00]
07776975                              ETH[.0002275], ETHW[4.9912275]

07776977                              ETHW[2.158369], NFT (356848371293987856/Coachella x FTX Weekend 2 #27918)[1], SOL[12.97701], USD[24.10]

07776993                              NFT (345163689502083214/Disproportionate)[1], SOL[0], USD[0.00]

07776994                              USD[56.75]                                                                                                                                                                                    Yes

07776995                              BTC[0], NFT (443603277052183670/Ethereum Streets )[1], NFT (504347493527402185/SOLDOGE 342)[1], SOL[.002543], USD[33.54], USDT[0]

07776996                              USD[34.23]

07776997                              SOL[.006], USD[44.01]

07777001                              SOL[0], TRX[59.94], USD[0.12]

07777004                              USD[3237.88]

07777007                              SOL[.04832246], USD[0.00]                                                                                                                                                                     Yes

07777019                              USD[0.00]

07777021                              USD[102.88]                                                                                                                                                                                   Yes

07777022                              BTC[.12152627], ETH[.49627696], ETHW[.49627696], SOL[57.38609939], USD[21.40]

07777024                              NFT (455509976535154859/NFT BZL 2021 #187)[1]

07777030                              AAVE[0], ALGO[0.00012752], BAT[0], BTC[0], DAI[0], DOGE[0], ETH[0], ETHW[0], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], NFT (296566363258595698/FTX Crypto Cup 2022 Key #26691)[1],         Yes
                                      NFT (567812236944990101/The Hill by FTX #7460)[1], SHIB[0], SOL[0], UNI[0], USD[1.38], USDT[0.00000001]
07777033                              BAT[1], BRZ[2], CUSDT[4], DOGE[5], ETHW[9.35321755], GRT[1], SHIB[5], TRX[9], USD[0.00], USDT[2]

07777043                              USDT[49.68854058]

07777046                              TRX[.000009]

07777052                              AAVE[0], ALGO[.00062408], AVAX[0], BAT[0.00004579], BTC[0], CUSDT[6], DOGE[.0021671], NFT (460783910963786816/Medical Cannabis #0008 - Metallic OG Green)[1], SHIB[5], SOL[0], TRX[6],        Yes
                                      USD[3.94]
07777056                              SOL[0]

07777057                              ETH[.00007135], ETHW[.00007135], USD[16.91]

07777059                              NFT (491603828664439900/Entrance Voucher #2549)[1]

07777062                              ETH[.03896295], ETHW[.03896295], USD[2.50]

07777063                              LINK[2], USD[3.72]

07777065                              USD[1.38]

07777067                              ETH[0], SOL[0], USD[0.38], USDT[0.00000409]

07777075                              ETHW[1.53321447], GRT[2322.76449289], LINK[.03612953], LTC[10.9889512], USD[0.00]                                                                                                             Yes

07777079                              ETH[0.01367401], ETHW[0.01367401], SOL[0], USD[0.00]

07777080                              USD[150.91]

07777084                              UNI[1.10040677]                                                                                                                                                                               Yes

07777091                              USD[0.00]

07777092                              BTC[0], ETH[0], USD[0.01]

07777094                              AVAX[.08032801], SOL[.00256684]

07777098                              USD[50.00]

07777102       Contingent, Disputed   BTC[0], USD[0.00]

07777115                              CUSDT[1], USD[0.00]                                                                                                                                                                           Yes

07777118                              USD[20.00]

07777119                              GRT[519.482], USD[500.62]

07777130                              USD[20.00]

07777132                              USD[21.51]                                                                                                                                                                                    Yes

07777137                              SOL[0], USD[0.73], USDT[0]

07777139                              NFT (559114303791758644/FTX - Off The Grid Miami #2023)[1], USD[372.25]

07777146                              BTC[.00000002], MATIC[50.55268342], TRX[1], USD[2.51]                                                                                                                                         Yes

07777155                              AAVE[.005352], AVAX[.08423], BTC[0.00003338], ETH[.0003216], ETHW[.0004304], LINK[.0897], LTC[.00544], MATIC[3.681], SOL[.001565], SUSHI[.3754], TRX[.081], UNI[.0883], USD[0.00]

07777159                              TRX[.000001]

07777166                              KSHIB[0], MATIC[.0390575], UNI[0], USD[0.00]                                                                                                                                                  Yes

07777169                              ETHW[.1], USD[0.00], USDT[.0387728]

07777173                              BAT[30.59424677], BRZ[1], CUSDT[4], DOGE[152.17670901], ETH[.00000001], GRT[1], SHIB[77392.08843807], SOL[0], TRX[86.40432641], USD[0.00], USDT[1.07065828]                                   Yes

07777175                              BTC[0], USD[0.15]

07777181                              DOGE[1], SOL[.00002473], USD[0.76]                                                                                                                                                            Yes

07777184                              BTC[.00400411], USD[0.00]

07777194                              USD[0.00]

07777195                              BTC[0.00007320], ETH[.00000358], ETHW[0.00000357], USDT[1.02755994]

07777197                              USD[21.51]                                                                                                                                                                                    Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07777204                              ETH[.13445569], ETHW[.13338805], TRX[1], USD[0.00]                                                                                                                             Yes

07777211                              ETH[.22998289], ETHW[.22977919]                                                                                                                                                Yes

07777217                              BTC[0.00000248]

07777232       Contingent, Disputed   NFT (353672038575890445/Weird Friends PROMO)[1], USD[0.00], USDT[0]

07777237                              AVAX[0], BTC[0], DOGE[0], ETH[0], ETHW[0], GRT[0], SOL[0.00750000], TRX[.000001], USD[0.00]

07777238                              NFT (427620608106165124/FTX - Off The Grid Miami #3005)[1], USD[31.19], USDT[0]

07777246                              USD[1.68]

07777256                              BRZ[1], CUSDT[1], SOL[2.68489354], TRX[1], USD[27.36]                                                                                                                          Yes

07777257                              BTC[.00257132], DOGE[1], ETH[.03041848], ETHW[.0300382], SHIB[46.09096223], USD[0.00]                                                                                          Yes

07777258                              BTC[0], ETH[0], LINK[130.36490958], USD[0.00]

07777273                              BTC[.0010998], ETH[.00408056], ETHW[.00408056], LTC[.01120792], SOL[0.66946000], USD[1.71]

07777277                              BRZ[.98650341], CUSDT[0], DOGE[4.02061908], GRT[0.00003350], MATIC[.00000821], TRX[1.00985663], USD[0.00]                                                                      Yes

07777285                              BTC[.00000283], ETH[.005], ETHW[5.02952795], SHIB[250000], USD[12.46]

07777288                              ETH[.00000001], ETHW[0], SOL[0], USD[0.00]

07777293                              USD[2.88], USDT[0.00000001]

07777300                              CUSDT[7], SHIB[39901.63083572], TRX[1], USD[0.00]                                                                                                                              Yes

07777302                              SOL[.0245153]

07777330                              USD[0.00]

07777334                              TRX[.000168]

07777336                              ETH[.124875], ETHW[0.12487500], LINK[64.7], MATIC[260], SOL[43.07966260], USD[0.77], USDT[0]

07777356                              USD[0.60]

07777363                              SOL[.00000001], USD[0.00], USDT[0.00000001]

07777366                              SOL[0]

07777375                              BTC[0.00001207], ETH[0], ETHW[0.00014540], SOL[.01925], USD[0.14]

07777382                              SOL[1], USD[0.10]

07777384                              USD[0.00]

07777391                              SOL[4.73], USD[2.49]

07777392                              BTC[0], DOGE[1], ETH[0.00000116], ETHW[0.00000116], GRT[2.00105965], SHIB[1], SOL[0.00000001], SUSHI[.00736703], TRX[1], USDT[0]                                               Yes

07777398                              NFT (414835235707868196/Entrance Voucher #2906)[1], SOL[.002759], USD[9.14]

07777401                              ETH[.00009401], ETHW[.00009401], LTC[0], SOL[0], USD[0.00], USDT[998]

07777411                              USD[200.00]

07777412                              CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                    Yes

07777417                              USD[0.00], USDT[49.40090485]

07777427                              GRT[.9], SHIB[700000], USD[3.46]

07777432                              BTC[0], NFT (503263138367041693/Bitcoin Heroes)[1], SOL[0], USD[0.00]

07777436                              USD[0.00]

07777441                              USD[21.51]                                                                                                                                                                     Yes

07777446                              BF_POINT[100]

07777449                              BRZ[1], USD[0.00]                                                                                                                                                              Yes

07777455                              BF_POINT[300], USD[0.66]

07777461                              SOL[.21913798], USD[2.00]

07777464                              CUSDT[1], SOL[7.87225803], TRX[1], USD[0.02]                                                                                                                                   Yes

07777465                              SOL[5.05604921]

07777467                              ALGO[.79386393], BAT[.02239174], DOGE[.00391957], ETH[.00000345], ETHW[.37727816], MATIC[.00037096], MKR[.00001121], SOL[.0000439], USD[0.01]                                  Yes

07777468                              USD[0.45]

07777470                              SOL[.02]

07777474                              BRZ[1], NEAR[62.25020628], SHIB[1], USD[0.00]                                                                                                                                  Yes

07777479                              TRX[.100001], USD[2.77], USDT[26.97197503]

07777481                              BRZ[2], CUSDT[7], DOGE[2], TRX[4], USD[0.01]                                                                                                                                   Yes

07777497                              ETH[.00065535]

07777498                              GRT[39.95263569], USD[26.91]                                                                                                                                                   Yes

07777503                              ETH[.00000042], ETHW[.00000042], SHIB[4], TRX[2], USD[0.44]                                                                                                                    Yes

07777507                              BTC[0], USD[0.00]

07777509                              USD[0.00]

07777514                              AVAX[0], ETH[0], MATIC[0], NFT (421163500067120177/Entrance Voucher #3324)[1], NFT (567743373656607612/Humpty Dumpty #685)[1], TRX[.687], USD[0.00]                            Yes

07777515                              ETH[0], SOL[0], USD[0.67], USDT[0.00000001]

07777517                              BAT[4.24092869], BRZ[8.41541656], BTC[.43110329], CUSDT[53.52590624], DOGE[26.38057424], ETH[6.89077335], ETHW[6.88848617], GRT[2.01949261], MATIC[1054.58997935], NFT         Yes
                                      (309597427044511538/GSW Western Conference Finals Commemorative Banner #1688)[1], NFT (433011960518968128/GSW Championship Commemorative Ring)[1], NFT
                                      (442835764841872091/GSW Western Conference Finals Commemorative Banner #1687)[1], NFT (463991037394513915/Warriors Logo Pin #363 (Redeemed))[1], NFT (512589156279433352/GSW
                                      Western Conference Semifinals Commemorative Ticket #987)[1], SHIB[313307.9719243], SOL[98.81749002], TRX[18.82438286], USD[0.00], USDT[2.12065455]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07777520                              SOL[2.01472887]

07777525                              BTC[.00000001], ETH[.00075544], ETHW[.00042232], USD[0.07]                                                                                                                        Yes

07777526                              USD[0.00]

07777530                              NFT (449748800687154435/FTX Crypto Cup 2022 Key #2383)[1], USD[2.94]

07777538                              CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                       Yes

07777546                              SOL[4.55554933], USD[2479.51]

07777547                              USD[20.00]

07777553                              BF_POINT[200]

07777561                              SOL[.0004]

07777569                              USD[20.00]

07777572                              SOL[.0026003], USD[0.00]

07777580                              CUSDT[5], DOGE[148.10112538], ETH[0], GRT[83.98081599], LINK[.00006411], SHIB[32997290.33859619], SOL[0], TRX[2], USD[0.00], USDT[0.00045475]                                     Yes

07777582                              USD[0.00]

07777585                              DOGE[2], LINK[150.01418246], SHIB[49456143.03958911], SOL[0], TRX[2], USD[0.00], USDT[0]                                                                                          Yes

07777589                              USD[21.51]                                                                                                                                                                        Yes

07777591                              USD[0.90]

07777593                              BTC[.0000526], SHIB[17882100], SOL[32.33763], USD[614.49]

07777595                              USD[0.01]

07777596                              NFT (438432229175383611/FTX - Off The Grid Miami #2925)[1], USD[0.00]

07777604                              USD[502.85]

07777605                              NFT (342017130763123597/Megalodon Rogue Shark Tooth)[1], USD[0.00]

07777613                              NFT (554429137754393376/Entrance Voucher #2060)[1], NFT (567128227729688453/Microphone #5734)[1]

07777619                              NFT (322482750000528768/2974 Floyd Norman - CLE 2-0005)[1], USD[0.47], USDT[0]

07777620                              USD[0.01], USDT[0]

07777621                              ETH[.0018387], ETHW[.00182414], NFT (386147137342718792/Humpty Dumpty #700)[1], NFT (478834350379927316/Barcelona Ticket Stub #9)[1], NFT (483557170223546903/Imola Ticket Stub   Yes
                                      #1953)[1]
07777634                              USD[20.00]

07777643                              BTC[0], USD[0.25]

07777646                              BTC[.00005154], SOL[.00000001], USD[0.27]

07777655                              USD[20.00]

07777656                              ETH[.00000001], GRT[1], LTC[1.08560514], USD[0.00]                                                                                                                                Yes

07777657                              BTC[.23898356], ETH[7.67307969], SHIB[1]                                                                                                                                          Yes

07777664                              SUSHI[37.76144128], TRX[1], USD[0.01]

07777669                              USD[20.00]

07777675                              AAVE[.00905], ETH[.2857283], ETHW[.2857283], LINK[9.690785], LTC[.99905], MATIC[9.867], SOL[2.49905], SUSHI[7.9924], USD[0.00]

07777684                              SOL[0.00005492], USD[304.22]

07777685                              USD[0.00]                                                                                                                                                                         Yes

07777689                              USD[20.00]

07777694                              BTC[0], USD[0.00]

07777695                              USD[1.68]

07777701                              USD[655.64]

07777702                              BTC[0], USD[0.27]

07777703       Contingent, Disputed   TRX[0.47399200], USD[0.08]

07777722                              CUSDT[1]                                                                                                                                                                          Yes

07777726                              USD[20.00]

07777735                              ETH[0], USD[0.00]

07777749                              CUSDT[4], DOGE[2], USD[0.01]                                                                                                                                                      Yes

07777750                              BRZ[1], BTC[.00000247], CUSDT[29], DOGE[8.34161366], GRT[1], TRX[7], USD[97.73]                                                                                                   Yes

07777754                              MATIC[.478], USD[3.16], USDT[.1057412]

07777757                              BTC[0]

07777761                              SOL[10.92994772]                                                                                                                                                                  Yes

07777769                              USD[0.00], USDT[0]

07777770                              USD[0.29]

07777771                              USD[20.00]

07777780                              BRZ[2], CUSDT[17], DOGE[4], ETH[.60321599], ETHW[.60296253], MATIC[1055.62072387], SHIB[5], SOL[2.66286704], TRX[6], USD[0.00]                                                    Yes

07777783                              USD[343.80]

07777789                              CUSDT[1], SOL[.19189529], USD[0.08]                                                                                                                                               Yes

07777797                              USD[0.01]

07777800                              BRZ[1], CUSDT[4], DOGE[2], GRT[1.00404471], USD[0.00]                                                                                                                             Yes
West Realm Shires Services Inc.                                                           Case 22-11068-JTD      DocF-3:
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                                                                                                                                               Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07777802                              USD[4.67]

07777804                              USD[25.03]

07777806                              AAVE[.37941003], ALGO[17.92637484], AVAX[1.08536756], BRZ[1], BTC[.01450821], CUSDT[110.92163117], DOGE[199.06469405], ETH[1.30291807], ETHW[1.30237079], GRT[127.92992037],        Yes
                                      LINK[1.64870883], MATIC[52.6780046], MKR[.02979263], NEAR[2.96198915], SHIB[3], SOL[2.46238063], SUSHI[5.8438914], TRX[791.60857257], UNI[1.79755387], USD[0.53]
07777817                              ETH[.18083269], ETHW[.18083269], SOL[78.10930707], USD[0.00]

07777820                              BTC[0], ETH[0], SOL[0], USD[0.00]

07777821                              ETH[.00000001], USDT[1.11989]

07777823                              BTC[0]

07777828                              USD[0.12], USDT[0]

07777831                              USD[21.51]                                                                                                                                                                          Yes

07777834       Contingent, Disputed   CUSDT[1], USD[0.00]                                                                                                                                                                 Yes

07777835                              USD[1048.21]

07777839                              BTC[.00007341], ETH[0], ETHW[0.00056700], USD[0.80], USDT[3.33251675]

07777850                              CUSDT[1], SOL[.75394428], USD[0.00]                                                                                                                                                 Yes

07777858                              BTC[.0048042], CUSDT[6], DOGE[5.47056805], ETH[.06910382], ETHW[.06824447], LTC[.48129554], SOL[.14547289], TRX[1], USD[0.01]                                                       Yes

07777860                              USD[0.00]

07777861                              USDT[0.51832677]

07777863                              BTC[.02997], ETH[0], USD[2.46]

07777869                              USD[1.10]                                                                                                                                                                           Yes

07777874                              USD[20.00]

07777875                              USD[21.51]                                                                                                                                                                          Yes

07777879                              BTC[.0004444]                                                                                                                                                                       Yes

07777885                              SOL[0], USD[0.48]

07777893                              DAI[.9], MATIC[.537534], USD[0.08]

07777897                              BRZ[5], BTC[.00000002], DOGE[14.04751401], NEAR[.00323375], SHIB[63], TRX[4], USD[0.00], USDT[0.00022168]                                                                           Yes

07777902                              BTC[0.00429838], SOL[0], USD[4.85], USDT[4.05605939]

07777905                              CUSDT[4], DOGE[17.18614331], ETH[0.78920606], ETHW[0], GRT[4.01041977], SHIB[39], SOL[0], TRX[17.07473026], USD[0.00], USDT[1.01090836]                                             Yes

07777906                              USD[20.00]

07777907                              USD[290.00]

07777916                              SOL[0]

07777922                              USD[15.00]

07777925                              BTC[0], SUSHI[.03195], USD[0.15]

07777926                              DOGE[1], SOL[3.18798809], USD[0.00]

07777927                              AVAX[0], BAT[2.01456471], DOGE[1], GRT[1], SHIB[1], TRX[1], USD[0.00], USDT[0]                                                                                                      Yes

07777939                              SOL[76.6549701]                                                                                                                                                                     Yes

07777940                              BTC[.0138], USD[1.10]

07777942                              CUSDT[2], DOGE[3], SOL[.00000001], TRX[1], USD[0.00]                                                                                                                                Yes

07777953                              BTC[.00210965], LTC[.44142829], SOL[6.19666764], USD[0.00]                                                                                                                          Yes

07777964                              BTC[.00002278], ETH[.0000625], ETHW[.0000625], SOL[.002296], USD[0.41]

07777972                              NFT (318203314584004402/Joe Theismann's Playbook: Washington vs. Miami Dolphins - January 30, 1983 #43)[1], USD[2.34]

07777977                              ALGO[33.77639121], BRZ[1], DOGE[1], ETH[0], ETHW[.49746613], USD[0.00]                                                                                                              Yes

07777984                              USD[23.16]                                                                                                                                                                          Yes

07777988                              USDT[0.00045369]

07777991                              ETH[0]

07777993                              BF_POINT[300], BRZ[1], CUSDT[2], MATIC[.00061007], SHIB[3], SOL[.00000001], USD[0.70]                                                                                               Yes

07777994                              BTC[.02103991]

07777997                              BTC[0], ETH[0.00000002], ETHW[0], SOL[0], USD[0.00]

07778003                              USD[0.00], USDT[0]

07778010                              BF_POINT[100], USD[10.66]                                                                                                                                                           Yes

07778012       Contingent, Disputed   ETH[.0004264], ETHW[0.00042640], SOL[.00000001], USD[0.65], USDT[0.00000001]

07778015                              USD[20.00]

07778021                              BTC[.1544], ETH[1.581], ETHW[1.581], SOL[19.93], USD[209.84]

07778023                              USD[0.90]

07778026       Contingent, Disputed   BTC[1.1610009], ETH[14.004126], ETHW[.000445], SOL[596.25644], USD[4.19], USDT[0]

07778027                              ETH[0], ETHW[0]

07778034                              BAT[1], BRZ[4], BTC[.00398299], CUSDT[11], DOGE[8.0004686], ETH[.00000216], ETHW[.50898705], GRT[4.00127441], LINK[11.22151738], MATIC[13.36079395], NEAR[91.49243847], SHIB[21],   Yes
                                      SOL[.41370884], TRX[10], USD[3980.27], USDT[2.07153893]
07778038       Contingent, Disputed   BAT[0], BTC[0.00234464], DAI[0], ETHW[0], GRT[0], LINK[0], MKR[0], PAXG[0], SOL[0], USD[0.00], USDT[0]                                                                              Yes

07778039                              SOL[0]

07778044                              BTC[0.00000339], USD[0.32]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07778048                              USD[0.00], USDT[0]

07778057                              USD[20.00]

07778066                              USD[2.09]

07778069                              BTC[.0000957], ETH[.118823], ETHW[.118823], USD[10.03]

07778074                              DOGE[0], LTC[0]

07778081                              USD[0.00]

07778082                              NFT (377804393931305819/Entrance Voucher #3160)[1]                                                                                                                                            Yes

07778083                              BRZ[1], BTC[.00000206], USD[0.01]                                                                                                                                                             Yes

07778085                              LINK[.0195], USD[1.64]

07778089                              BRZ[1], CUSDT[1], GRT[514.5379071], SOL[153.96492007], TRX[1], USD[31621.99]                                                                                                                  Yes

07778094                              ETH[.00000001], NFT (463233566719995101/FTX - Off The Grid Miami #5541)[1], SOL[0], USDT[.9906029]

07778096                              BTC[0], SOL[0], USD[0.00]

07778100                              USD[40.85]

07778102                              DOGE[1], SHIB[226868.98667236], USD[0.00]                                                                                                                                                     Yes

07778111                              AAVE[0], BAT[0], BCH[0], BTC[0], DOGE[0], ETH[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], NFT (309707580863924528/Marcus Allen's Playbook: Kansas City Chiefs vs. Detriot Lions - November 29,   Yes
                                      1996 #52)[1], NFT (311518904736797866/My Little Gang #11)[1], NFT (416973669797266538/Joe Theismann's Playbook: Washington vs. Miami Dolphins - January 30, 1983 #48)[1], NFT
                                      (430142491229678491/Shannon Sharpe's Playbook: Kansas City Chiefs vs Denver Broncos - October 4, 1992 #49)[1], NFT (469617045822551040/Shannon Sharpe's Playbook: Baltimore Ravens vs.
                                      Denver Broncos - December 31, 2000 #58)[1], NFT (517182833075943269/Piece #12)[1], NFT (556282431600485663/Joe Theismann's Playbook: New York Giants vs. Washington - October 20, 1974
                                      #40)[1], SHIB[0], SOL[0], SUSHI[0], TRX[1], UNI[0], USD[0.00], USDT[0]
07778119                              BTC[.00079181], USD[0.01]

07778126                              USD[2600.00]

07778130                              BTC[.0521], SOL[149.75363655], USD[0.00]

07778131                              CUSDT[1], GRT[.00001827], SHIB[1], USD[0.00], USDT[0]                                                                                                                                         Yes

07778133                              MATIC[5]

07778138                              USD[0.00], USDT[0.00000001]                                                                                                                                                                   Yes

07778149                              ETH[0], ETHW[0], TRX[1]

07778155                              NFT (381579629993037645/Bahrain Ticket Stub #659)[1], USD[0.00], USDT[0.00000036]

07778159                              SOL[170.14416161]                                                                                                                                                                             Yes

07778161                              BRZ[1], CUSDT[1], ETH[.10391446], ETHW[.10391446], SOL[2.79179998], TRX[1], USD[0.00]

07778178                              USD[0.00]

07778180                              BTC[0], ETH[0], ETHW[0.00003229], SHIB[1], USD[0.15], USDT[0.00000001]                                                                                                                        Yes

07778181                              USD[0.00]

07778185                              BTC[.01023383], LINK[6.43768656], MATIC[0], NFT (306550563652747958/FTX - Off The Grid Miami #927)[1], SOL[0.00391213], USD[0.00], USDT[0]                                                    Yes

07778187                              BCH[0.00000001], BTC[0], CUSDT[0], ETH[0], ETHW[0], LTC[0], MATIC[0.22183885], NEAR[0], SOL[0], TRX[0], USD[0.00], USDT[0]                                                                    Yes

07778191                              ALGO[994.40500748], BRZ[5.02419679], BTC[.01579354], CUSDT[18], DOGE[11.02307669], ETH[.00000288], ETHW[3.67111144], GRT[1], LTC[.0002241], MATIC[889.99158842], SHIB[14],                    Yes
                                      SOL[.00000001], TRX[8], USD[155.07]
07778192                              BCH[.17908021], BTC[.01915118], DOGE[570.03489067], LTC[1.1921791], USD[2156.64]                                                                                                              Yes

07778196                              BTC[.00000013]                                                                                                                                                                                Yes

07778198                              ETH[0], ETHW[0], SOL[0], USD[40.00]

07778201                              ETH[.000999], ETHW[.000999], USD[1.63]

07778203                              BAT[1.01640637], BRZ[4], BTC[.00000156], CUSDT[7], DOGE[7.00088637], ETH[.0000264], ETHW[2.89077214], LTC[.05512103], SHIB[6], SOL[0], TRX[12], USD[0.01]                                     Yes

07778204                              BTC[0.00066760], ETH[0], SOL[0], USD[1.80]

07778207                              BTC[.0237], USD[1.97]

07778211                              BTC[0.00003079], LTC[0], USD[0.00]                                                                                                                                                            Yes

07778220                              ETH[0.00000002], SHIB[0], SOL[0], USD[0.00], USDT[0]

07778221                              USD[0.59]

07778222                              BRZ[1], CUSDT[3], ETH[0.01853700], ETHW[0.01830444], LINK[1.13265052], TRX[2], USD[0.00], USDT[0.00001288]                                                                                    Yes

07778223                              ETH[0], MATIC[0]

07778225                              BTC[.0000472], ETH[0], LINK[.0026], SOL[0], USD[0.00], USDT[0]

07778232                              DOGE[1], ETHW[.25729554], USD[9.04]

07778240                              ETH[0.00100000], ETHW[0.00100000], SOL[0], USD[0.98]

07778247                              BTC[0], USD[0.01]

07778248                              BAT[2.11023624], SOL[0.00000001], TRX[2], USD[0.00]                                                                                                                                           Yes

07778249                              USD[21.51]                                                                                                                                                                                    Yes

07778251                              USD[20.00]

07778255       Contingent, Disputed   BTC[.000001], SOL[.00006303], USD[0.00]                                                                                                                                                       Yes

07778261                              BTC[.35], SOL[2.44879], USD[50.92]

07778267                              SOL[4.23431909], USD[0.01]

07778268                              ETH[.0025], ETHW[.0025], USD[0.00]

07778276                              BTC[0], ETHW[4.0009862], LTC[.00687], USD[0.00]

07778278                              BTC[.0162917], MATIC[9.65], USD[5234.77], USDT[48.74272804]
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                                                                                                                                               Customer Claims                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07778282                              SOL[.00102148], USD[0.33], USDT[1.08896839]                                                                                                                                     Yes

07778283                              BTC[-0.00001908], ETH[0], ETHW[0], SOL[.19], USD[1.09], USDT[0.00977674]

07778284                              ETHW[.30929], USD[2.76]

07778289                              SOL[1.41160931], USD[0.00]

07778295       Contingent, Disputed   AAVE[0], AUD[0.00], BTC[0], DOGE[0], LINK[0], PAXG[0], SHIB[13200.81376518], SOL[0], SUSHI[0], TRX[0], USD[0.00], YFI[0]                                                        Yes

07778297                              TRX[1], USD[0.00]                                                                                                                                                               Yes

07778299                              USD[20.00]

07778301                              SOL[.09486674]

07778307                              ETH[.000895], ETHW[.000895], USDT[.4540839]

07778308                              SOL[.05]

07778313                              SOL[.01010596], USD[0.00]

07778315                              USD[3.92]

07778320                              CUSDT[1], DOGE[1], SHIB[1], USD[0.00], USDT[1.06194221]                                                                                                                         Yes

07778321                              USD[0.06]

07778322                              BCH[6.858794], BTC[0.07338433], DOGE[.337], ETH[.017105], ETHW[.017105], LINK[1.6548], LTC[.12499], MATIC[19.83], SOL[.01038], SUSHI[.961], YFI[.0000897]

07778327                              BTC[.0024483], USD[0.00]

07778328                              SOL[0]

07778334                              USD[27.00]

07778336                              USD[45.19]

07778338                              BTC[0.00000584], DOGE[.6], ETH[.000719], ETHW[.000719], GRT[.45], LINK[.024], MATIC[.67], SOL[.00559], SUSHI[.46], UNI[.086], USD[0.00]

07778339                              TRX[1], USD[0.00]                                                                                                                                                               Yes

07778340                              AVAX[.4], ETH[0], SOL[5.20140298], USD[9.23]

07778348                              BTC[0.00056871], ETHW[.00092638], USD[0.02]

07778353                              USD[109.94]                                                                                                                                                                     Yes

07778357                              AVAX[0], BAT[5.08184124], BCH[0], BRZ[21.04039019], BTC[0], CUSDT[63.89169029], DOGE[7], ETH[0], ETHW[0], GRT[7.02945664], LINK[1.00122445], LTC[0], MATIC[0], SHIB[2],         Yes
                                      SOL[0.00000001], SUSHI[0], TRX[57.2047353], UNI[0], USD[0.00], USDT[0]
07778358                              TRX[.000001]

07778359                              LINK[3.26880457], MATIC[19.99784776], USD[0.00]

07778360                              CUSDT[11], DOGE[2], LINK[15.06746639], SOL[3.29739189], TRX[1], USD[0.00]                                                                                                       Yes

07778367                              NFT (511672827230451713/SandJack #2)[1]

07778372                              USD[0.01]                                                                                                                                                                       Yes

07778378                              SOL[0], USD[0.00]

07778379                              ETHW[22.02926286], SOL[.00000001]                                                                                                                                               Yes

07778384                              BTC[0], NFT (331286414606503128/Entrance Voucher #17147)[1], NFT (337318458385165016/Wonky Stonk #3744)[1], USD[0.00]

07778394                              TRX[.000007]

07778399                              AAVE[.01544515], BTC[0.00001343], LINK[.08496], MATIC[4.632], SUSHI[.035], UNI[.0092], USD[0.00], USDT[303.40410893]

07778401                              USD[0.01], USDT[0]

07778404                              TRX[.000001], USD[0.61], USDT[0]

07778407                              CUSDT[3], NFT (371787281434693006/SOLYETIS #2828)[1], USD[0.00]                                                                                                                 Yes

07778408                              ETH[0], ETHW[0], SOL[0.00076482], USD[0.00], USDT[0.00002917]

07778411       Contingent, Disputed   BTC[0], SOL[0.00000001], USD[0.01], USDT[0]

07778412                              NFT (370060389411820360/Australia Ticket Stub #1184)[1], SOL[.18625462], USD[1511.02], USDT[0]                                                                                  Yes

07778415                              BTC[0], ETH[0], GRT[23.16990658], PAXG[0], TRX[0.05824000], USD[0.00], USDT[0.00000001]

07778417                              USD[20.00]

07778421                              USD[0.45]                                                                                                                                                                       Yes

07778424                              NFT (388756379347019640/Animals Series)[1], USD[0.00]

07778427                              USD[20.00]

07778429                              USD[0.52]

07778431       Contingent, Disputed   NFT (494411464565602274/Humpty Dumpty #754)[1]

07778435                              USD[20.00]

07778437                              AVAX[.00009618], BRZ[1], BTC[.00000025], CUSDT[44], DOGE[4], ETH[.00000326], ETHW[0.17739781], SHIB[42], SOL[.00006003], TRX[14], USD[129.65], USDT[0]                          Yes

07778441                              BAT[2.08651246], BRZ[6.50245085], BTC[.01315955], CUSDT[65.0025407], ETH[.01017599], ETHW[.01005287], GRT[817.4207056], LINK[5.68702566], LTC[2.28354188], SOL[2.52538889],     Yes
                                      TRX[12.03173966], USD[25.35], YFI[.01952577]
07778442                              SOL[11.14792908], USD[0.00]

07778444                              ETH[0], SOL[0]

07778447                              BTC[0], USD[0.68], USDT[0.00730480]

07778450                              ETH[.00012148], ETHW[10.33220509], GRT[2.03492061], USD[0.00]                                                                                                                   Yes

07778454                              LINK[.00000001], SOL[0], USD[1.42]

07778460                              ALGO[.60445183], AVAX[.0643764], BTC[.0000576], DOGE[.26480805], ETH[.00072598], ETHW[.00068634], LINK[.04474693], LTC[.00218771], MATIC[.20666175], MKR[.00098358], SHIB[1],   Yes
                                      SOL[0.00916112], USD[0.06], USDT[.00306689]
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                                                                                                                                               Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07778461                              ETH[.00000001], ETHW[0], USD[0.00]

07778466                              ETH[.265734], ETHW[.265734], SHIB[2597400], SOL[11.95932], USD[0.60], USDT[.47377306]

07778468                              CUSDT[2], SOL[.071544], USD[0.00]                                                                                                                                                          Yes

07778469                              BCH[.31726853], CUSDT[7], DOGE[814.76065597], ETH[.06179346], ETHW[.06102738], GRT[259.9854334], SOL[9.15077032], SUSHI[9.31521508], TRX[1561.41601988], UNI[4.17110315],                  Yes
                                      USD[0.00], YFI[.00668615]
07778471                              USD[0.00], USDT[0]

07778482                              NFT (338677936209886902/Reflector #138)[1], NFT (346464512099720077/Reflector #878)[1], NFT (510946282828114650/Reflection '18 #51)[1], NFT (534280858983461258/Vintage Sahara #232)[1],
                                      USD[0.01]
07778486                              ETH[.00013566], ETHW[.00013566]

07778487                              BTC[.0015], GRT[25], SUSHI[4.995], USD[15.98], USDT[24.975]

07778489                              AAVE[1.21371409], BF_POINT[100], DOGE[1], LINK[17.01170319], SOL[3.1771332], UNI[11.3569411], USD[4300.14]                                                                                 Yes

07778490                              CUSDT[2], USD[0.00]                                                                                                                                                                        Yes

07778491                              BTC[0.00000042], USD[0.00]                                                                                                                                                                 Yes

07778492                              KSHIB[438.50744344], USD[11.45]                                                                                                                                                            Yes

07778494                              TRX[.000001], USD[0.01]

07778496                              USD[20.00]

07778499                              NFT (466401890937991049/David #483)[1], SOL[.00000002]

07778506                              DOGE[2], USD[0.00]

07778507                              BAT[1], BRZ[2], GRT[1], USD[0.01]

07778519                              USD[20.00]

07778521                              NFT (337433929622620391/Reflector #485)[1], USD[15.95]

07778534       Contingent, Disputed   USD[0.12]

07778536                              AAVE[6.83146071], BAT[1.01081331], BRZ[6.31662782], BTC[.37899795], CUSDT[62.02467723], DOGE[759.07418827], ETH[5.23477293], ETHW[5.23292784], GRT[2.015874], LINK[23.83681795],           Yes
                                      SHIB[8038248.40883199], SOL[11.66243849], SUSHI[209.44449923], TRX[22.24192515], UNI[87.98299763], USD[0.01], USDT[.00000642]
07778537                              BTC[.00001124], USD[530.70]

07778550                              BTC[.00842817], CUSDT[1], ETH[.22838585], ETHW[.22818372], NFT (456653709146480699/Entrance Voucher #3391)[1], SHIB[21], TRX[3], USD[0.00]                                                 Yes

07778551                              USD[3.38]

07778563                              ALGO[798.87721322], BAT[1], USD[0.00]

07778567                              USD[20.00]

07778568                              USDT[1]

07778571                              BF_POINT[300], ETH[.00000001], SHIB[1], USD[2964.09]                                                                                                                                       Yes

07778573                              BTC[0], ETH[.005082], ETHW[.005082], USD[0.00], USDT[62.77305906]

07778575                              USD[3.10]

07778581                              SOL[0], USD[0.00]

07778582                              USD[0.29]

07778587                              SOL[0]

07778591                              CUSDT[7], USD[0.00], USDT[0]                                                                                                                                                               Yes

07778595                              USD[20.00]

07778599                              ETH[0], ETHW[0], SOL[0], USD[0.00], USDT[0.00000016]

07778601                              CUSDT[15], DOGE[2136.70268874], ETH[0], GRT[2.05105128], NFT (486911650042922569/Imola Ticket Stub #1942)[1], PAXG[0], SHIB[890995.1511629], SOL[2.76525793], SUSHI[0], TRX[6],            Yes
                                      UNI[36.06003402], USD[0.00], USDT[0.00001314]
07778608                              USD[1.82]

07778619                              USD[20.00]

07778620                              BRZ[1], ETH[.00000184], ETHW[0.00000183], SHIB[1], SOL[.06583581], USD[90.72], USDT[0.00000001]                                                                                            Yes

07778622                              BF_POINT[300], BRZ[1], CUSDT[31], DOGE[9.47224289], SOL[0], TRX[4], USD[0.00]                                                                                                              Yes

07778628                              SUSHI[1.5], USD[0.96]

07778631                              USD[21.51]                                                                                                                                                                                 Yes

07778637                              USD[0.01]                                                                                                                                                                                  Yes

07778639                              SOL[0.00339498]

07778654                              SOL[0.00447638], UNI[.013325], USD[9870.89]

07778660                              ETH[.01971401], ETHW[.01971401], USD[50.00]

07778670                              BCH[0], DOGE[.20020122], SOL[0], TRX[1], USD[0.01], USDT[0]

07778675                              BTC[0.00189819], ETH[.0119886], ETHW[.0119886], USD[155.12]

07778676                              BF_POINT[300], USD[297.61], USDT[0]

07778677                              NFT (349958159175543795/Entrance Voucher #1772)[1], USD[2.00]

07778679       Contingent, Disputed   USD[0.91], USDT[0]

07778684                              NFT (455457548547878604/Coachella x FTX Weekend 2 #15262)[1]

07778687                              DOGE[0], USD[2.65]

07778695                              USD[0.00]

07778696                              TRX[250.036937], USD[0.00]

07778704                              DAI[0.00112407], DOGE[0], SOL[12.31285004], TRX[1]                                                                                                                                         Yes
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                                                                                                                                               Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07778707                              BTC[0], DOGE[1.01087929], GRT[1], SHIB[14], TRX[5], USD[453.59]                                                                                                                        Yes

07778712                              USD[20.00]

07778714                              USD[21.51]                                                                                                                                                                             Yes

07778725                              USD[21.51]                                                                                                                                                                             Yes

07778729                              AVAX[0], ETH[0.00000001], ETHW[0], SOL[0], TRX[.000001], USD[0.00], USDT[0.00000627]

07778733                              BAT[3.1136621], BRZ[3], BTC[0], CUSDT[5], DOGE[10.02267403], SHIB[7], SOL[0.00144722], TRX[16.48383271], USD[0.01], USDT[2.11903009]                                                   Yes

07778750                              USD[10.00]

07778752                              SOL[0]

07778753                              USD[5.50]                                                                                                                                                                              Yes

07778759                              USD[0.00]

07778762                              DOGE[.99969551], TRX[.50838981], USDT[.00942821]                                                                                                                                       Yes

07778766                              ALGO[.902], AVAX[.4733799], BAT[.924], BCH[0.00092000], BRZ[.949], BTC[0.00009930], CUSDT[.32], DOGE[0], ETH[0.00099400], ETHW[0.95230961], GRT[.798], LINK[.0977], LTC[0.00979000],   Yes
                                      MATIC[0.95500000], MKR[.000902], NEAR[.0895], SHIB[2], SOL[0], UNI[.0974], USD[152.44]
07778784                              BTC[.00004045], NFT (390996044633793700/Juliet #214)[1], NFT (419006903094232345/Humpty Dumpty #1002)[1], SOL[.006629], USD[0.00]

07778799                              DOGE[2], USD[0.00]

07778805                              BRZ[2], CUSDT[4], DOGE[3], ETH[.00000001], ETHW[.00000001], TRX[2], USD[0.00], USDT[0]                                                                                                 Yes

07778807       Contingent, Disputed   NFT (440295282060357393/FTX - Off The Grid Miami #675)[1]

07778811                              USD[20.00]

07778820                              DOGE[56.18964153]                                                                                                                                                                      Yes

07778825                              USD[0.00]

07778844                              NFT (412299119706539603/Coachella x FTX Weekend 1 #14906)[1]

07778871                              USD[0.01]                                                                                                                                                                              Yes

07778883                              USD[100.00]

07778884                              USD[20.00]

07778887                              BTC[.0000901], ETH[.000433], ETHW[.000433], SOL[.004], USD[7747.71]

07778916                              ETH[0.25177471], ETHW[0.25158151], USDT[1.08092482]                                                                                                                                    Yes

07778928                              USD[20.00]

07778933                              SOL[0], USD[0.00]                                                                                                                                                                      Yes

07778937                              DOGE[1], GRT[1.00367791], TRX[1], USD[0.00], USDT[0]                                                                                                                                   Yes

07778952                              USD[0.54]

07778954                              USD[20.00]

07778964                              NFT (404933758754211782/Doak Walker's Playbook: Cleveland Brown vs. Detroit Lions - December 27, 1953 #68)[1], NFT (406868204712730918/Earl Campbell's Playbook: Texas vs. Houston -
                                      November 5th, 1977 #83)[1], SHIB[500000], USD[0.75]
07778997                              BTC[.0009], ETH[.012987], ETHW[.012987], SOL[3.38], USD[4.61]

07779008                              SOL[.00003577], USD[0.01]                                                                                                                                                              Yes

07779018                              BRZ[3], BTC[0], CUSDT[1], ETH[0], GRT[2.00089275], SHIB[3], SOL[0.00030694], TRX[9], USD[0.00], USDT[0.00000010]                                                                       Yes

07779028                              BTC[0.00008555], ETH[.0005], ETHW[.0005], USD[2.53]

07779043                              USD[20.00]

07779046                              BTC[0], MATIC[.00000001], USD[0.00], USDT[0]                                                                                                                                           Yes

07779048                              BTC[.00198004], CUSDT[1], USD[0.00]

07779063                              BRZ[1], CUSDT[4], NFT (441075720813787719/Solana Penguin #3973)[1], NFT (501945728869572662/Mad Lions Series #29)[1], SOL[.09027647], USD[0.15]                                        Yes

07779065                              LTC[0], SOL[0], USD[0.00], USDT[0.00020409]                                                                                                                                            Yes

07779080                              AUD[0.35], BCH[.0027341], USD[0.00]                                                                                                                                                    Yes

07779085                              NFT (481116475525995828/Humpty Dumpty #524)[1]

07779089                              DOGE[0], SHIB[3019411.22376348], SOL[0], SUSHI[0]

07779092                              AVAX[.999], ETH[.011988], USD[65.19]

07779093                              TRX[6]                                                                                                                                                                                 Yes

07779114                              USD[0.00]

07779132                              BTC[0], SHIB[1], SOL[0], USD[0.86]                                                                                                                                                     Yes

07779136                              GRT[21.17637791], SOL[.06635118], USD[0.00]

07779142                              USD[20.00]

07779144       Contingent, Disputed   USD[0.01]                                                                                                                                                                              Yes

07779171                              USDT[.158588]

07779174                              USD[0.00]

07779180                              DOGE[18399.24199926], SOL[83.31353656]

07779182                              BAT[.00127539], BRZ[1], CUSDT[1], DOGE[4], GRT[.40893428], SHIB[4], SOL[.00041639], TRX[163.7371025], USD[0.00]                                                                        Yes

07779184                              NFT (549786373781754592/Entrance Voucher #2772)[1]

07779187                              USDT[.8500764]

07779189                              BTC[0], MATIC[0]

07779190                              BTC[0.00001122]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07779199                              SOL[1.0989], USD[2.00]

07779201                              BCH[.001875], LTC[.00956], UNI[.0901]

07779218                              BRZ[1], USD[0.00]

07779221                              BTC[.54362163], ETH[.00000566], ETHW[.00000566], SOL[.10888167], USD[0.00]                                                                                                               Yes

07779226                              BTC[0], DOGE[1], TRX[1.000232], USD[16.26], USDT[0.00000001]                                                                                                                             Yes

07779230                              USD[0.90], USDT[0.00000001]

07779233                              AAVE[0], BAT[0], BTC[0.00121623], CUSDT[9.07971716], ETH[0], GRT[0], KSHIB[0], LINK[0], LTC[.06186747], MATIC[0], UNI[0], USD[0.02], USDT[1.33913282]                                    Yes

07779234                              BTC[0], NFT (365269811053029759/gmoot bag #7485)[1], USD[1.25]

07779235                              TRX[.000018]

07779245                              BTC[0], USD[0.01], USDT[0]

07779247                              SOL[7.27372], USD[2.55]

07779271                              USDT[.9185802]

07779272                              BF_POINT[1600], USD[20.00]

07779274                              USD[0.00]

07779277                              USD[0.00], USDT[0]

07779285                              ETHW[6.11226726], NFT (321357504347423351/The Long Walk)[1], NFT (322514188558583568/Dragons #1)[1], NFT (362975372158021111/Heart Chakra - #4)[1], NFT (400691474002240147/True          Yes
                                      Face)[1], NFT (438078505855716959/Joe Theismann's Playbook: Notre Dame vs. USC - November 30, 1968 #40)[1], NFT (450809887276220997/Earl Campbell's Playbook: LA Rams vs Houston Oilers -
                                      September 4th, 1978 #63)[1], NFT (488976085852931768/Degen Ape Pixel Derivative #4)[1], NFT (491437787956062054/Shannon Sharpe's Playbook: Baltimore Ravens vs. Denver Broncos -
                                      December 31, 2000 #46)[1], NFT (574633680913812777/Mona Lisa Pixel Art )[1], TRX[1], USD[0.92]
07779287                              BTC[.00506427], TRX[.000192], USD[43.97], USDT[58.22665933]

07779292                              USD[0.00]

07779310                              BAT[1.00264271], BF_POINT[700], BRZ[1], CUSDT[5], DOGE[7.02896708], ETH[.00001888], ETHW[2.06640551], NFT (533739063425685211/Entrance Voucher #3795)[1], SHIB[5], TRX[1], USD[0.00]

07779317                              USD[0.00]

07779324                              CUSDT[2], ETHW[17.56468442], SOL[.00000001], TRX[1], USD[0.05]                                                                                                                           Yes

07779331                              NFT (497250393962603440/Miami Ticket Stub #533)[1]

07779333                              CUSDT[502.1144299], DOGE[50.75253242], TRX[114.1575101], USD[32.88]                                                                                                                      Yes

07779335                              AAVE[0], ETHW[2.12083615], SOL[0], USD[0.79]

07779371                              BRZ[1], BTC[.0000095], SHIB[1], SOL[.00000903], USD[0.00]

07779379                              BTC[0.00459039], CUSDT[1], ETH[0.36029147], ETHW[0.36014013], TRX[1]                                                                                                                     Yes

07779381                              BAT[.0002159], CUSDT[12], DOGE[4], MATIC[.00031705], USD[0.01]                                                                                                                           Yes

07779389                              NFT (457976556831388421/Coachella x FTX Weekend 1 #17785)[1]                                                                                                                             Yes

07779390                              USD[20.00]

07779409                              ETH[0], ETHW[0], SOL[0]

07779435                              NFT (519895577084245991/You in, Miami? #88)[1]

07779443                              BTC[0], SOL[0], USD[0.00], USDT[0]

07779447                              BRZ[2], DOGE[3], SHIB[2], USD[0.01]                                                                                                                                                      Yes

07779458                              USD[0.61]

07779463                              NFT (536584986313005218/DOTB #3704)[1]

07779466                              USD[0.00]

07779474                              USD[0.00]

07779481                              USD[20.00]

07779483                              USDT[3.549268]

07779487                              NFT (450873127690206383/The 2974 Collection #0673)[1], NFT (572767329530001656/Birthday Cake #0673)[1], USD[0.00], USDT[0]

07779493                              DOGE[0], MATIC[0], USD[0.00]

07779502                              ETH[.00000039], ETHW[.00000039], SHIB[2], USDT[0.38181997]                                                                                                                               Yes

07779503                              CUSDT[3], USD[0.00]                                                                                                                                                                      Yes

07779525                              AVAX[0], BAT[1], BCH[0], BRZ[2], CUSDT[2], DOGE[3], ETH[0], MATIC[0.04581260], PAXG[0], SHIB[5], TRX[5], USDT[2.06518330]                                                                Yes

07779532                              NFT (550103658811626917/Imola Ticket Stub #1205)[1]

07779533                              BTC[0], MATIC[0], SOL[0], USD[0.04]

07779536                              BAT[1], DOGE[1], USD[10700.63]

07779538       Contingent, Disputed   USD[0.00]

07779548                              DOGE[2892.40165649], MATIC[126.11738698], SHIB[6456127.88233349], TRX[3], USD[355.57]

07779554                              LTC[.4890736]

07779558                              AVAX[0.04042993], ETH[0.00003039], ETHW[0.00003039], USD[0.00]

07779561                              TRY[0.00], USD[0.00]                                                                                                                                                                     Yes

07779574                              SOL[0.00000001], USD[0.00], USDT[0]                                                                                                                                                      Yes

07779578                              USD[20.00]

07779579                              USD[0.00]                                                                                                                                                                                Yes

07779580                              DOGE[1], SHIB[1], USD[139.25]                                                                                                                                                            Yes
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07779585                              USD[0.13]

07779589                              BTC[0], ETH[0], NFT (389126321821688923/Seeing Triple [SE])[1], USD[0.00], USDT[0.00000830]

07779604                              CUSDT[1], GRT[241.18661079], USD[0.00]                                                                                                                                             Yes

07779617                              BF_POINT[300], BTC[0], ETHW[0], SOL[.00000001], USD[0.06]                                                                                                                          Yes

07779620                              ETH[0], SOL[0], USD[0.29]

07779622                              CUSDT[4], DOGE[1], SHIB[832006.70297444], TRX[2], USD[0.00]

07779626                              BTC[.00002695], USD[1.59]

07779627                              USD[20.00]

07779634                              BTC[0.10476316], ETH[1.54943296], ETHW[0.92457425], SOL[0.00000001], USD[0.00]

07779635                              ETHW[3.25474], USD[0.74], USDT[4.2086155]

07779638                              USD[20.00]

07779657                              LINK[.0638], USD[0.01]

07779661                              BTC[.00530024], USD[0.00], USDT[0.00021836]

07779664                              USD[20.00]

07779680                              USD[8.05]

07779683                              ETH[2.36239433], ETHW[2.36140211], MATIC[862.10017891], SOL[12.27180831]                                                                                                           Yes

07779685                              USD[0.01]                                                                                                                                                                          Yes

07779703                              USD[0.00], USDT[0.00038191]

07779711       Contingent, Disputed   BTC[.00001616], USD[0.00]

07779713                              DOGE[0], SOL[0.00400000], USDT[0.00000014]

07779727                              BTC[.10389696], CUSDT[5], DOGE[560.24961631], LINK[33.9050792], MATIC[507.65430431], NFT (323207411131921958/Solninjas #3685)[1], NFT (431213085103612907/Settler #3277)[1], NFT   Yes
                                      (457866473416068420/DOTB #7844)[1], NFT (544793373384655466/Settler #743)[1], SOL[.0223847], USD[962.04]
07779731                              AAVE[7.3607075], AVAX[2.19341], BAT[65.78205], BCH[.00026944], BTC[2.63790856], ETH[1.87866088], ETHW[0.31876080], GRT[56.3115], LINK[.141071], MATIC[813.16185], MKR[.0791138],
                                      SOL[3.14906405], SUSHI[7.894005], UNI[6.928866], USD[31348.82], YFI[.00044786]
07779732                              BRZ[1], USD[0.00]

07779739                              USD[0.01]

07779743                              ETHW[1.249], USD[0.01]

07779752                              ETHW[.03], USD[0.62]

07779756                              SOL[0], USD[0.00]

07779759                              CUSDT[1], USD[0.13]                                                                                                                                                                Yes

07779766                              TRX[.000002]

07779767                              CUSDT[3], DOGE[881.39817302], ETH[.00692109], ETHW[.00683901], TRX[3], USD[0.00]                                                                                                   Yes

07779772                              USD[20.00]

07779773                              BTC[0.09651953], DOGE[2], MKR[0]                                                                                                                                                   Yes

07779785                              BAT[1], USD[0.00]

07779788                              BTC[0.00004828], ETH[.00033898], ETHW[.00033898], USD[2.65]

07779790                              USD[20.00]

07779791                              BTC[0], ETH[.0003], ETHW[.0003], PAXG[.00003759], SOL[.00918057], UNI[.0219509], USD[7.61], USDT[0]

07779798                              ETH[0]

07779800                              BTC[.00753762], GRT[899.1], LTC[24.06900317], USD[1747.54]

07779802                              BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07779803                              BRZ[1411.96181286], CUSDT[1], GRT[313.06556478], TRX[1], USD[0.00]                                                                                                                 Yes

07779812                              NFT (493870760078466341/Bitcoin McMahon)[1], SOL[0], USD[0.01]

07779836                              BRZ[2], CUSDT[1], DOGE[4], SHIB[11], TRX[5], USD[0.00]                                                                                                                             Yes

07779837                              DOGE[6], ETHW[.23623078], SHIB[9], SOL[3.56967823], TRX[7], USD[0.00]                                                                                                              Yes

07779850                              ETHW[.000433], USD[1988.53]

07779854                              BRZ[1], CUSDT[3], DOGE[9.05791248], ETH[.00000114], GRT[1], SHIB[27], SOL[.00032106], TRX[6], USD[1.38], USDT[0.02848103]                                                          Yes

07779882                              BTC[0], USD[4.40], USDT[4.85]

07779885                              CUSDT[1], GRT[7.09739741], TRX[1], USD[0.00], USDT[0]                                                                                                                              Yes

07779892                              USD[0.00]

07779893                              USD[0.00], USDT[97.02288]

07779900                              USD[20.00]

07779907                              SOL[0], USD[0.02]

07779910                              BAT[4.10813867], BTC[0.00000042], CUSDT[25], DOGE[1.01294426], GRT[2.00303693], SHIB[53916.50600329], SOL[0], TRX[22.75182137], USD[180.98], USDT[0]                               Yes

07779929                              ETH[.00000001], SOL[0.34150869]

07779934                              ETH[.155376], ETHW[.155376], USD[1896.37]

07779936                              BTC[0.02028590], USD[0.00]

07779940                              USD[0.00], USDT[0]

07779943                              BTC[.0092907], ETH[.035964], ETHW[.035964], USD[83.91]

07779947                              BF_POINT[600], BRZ[1], BTC[0], CUSDT[1], DOGE[2], ETHW[5.1161941], GRT[1], TRX[1], USD[33332.04], USDT[0.00000001]                                                                 Yes
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07779949                              CUSDT[1], TRX[2], USD[0.01]                                                                                                      Yes

07779966                              CUSDT[1], SOL[1.88201669], USD[0.01]                                                                                             Yes

07779970                              BCH[.01081108], BTC[.00192904], LTC[.05269802], MKR[.00418738]

07779975                              BTC[.0002], USD[0.98]

07779980                              USD[21.51]                                                                                                                       Yes

07779987                              SOL[294.9048], USD[0.98]

07779988       Contingent, Disputed   USD[0.00], USDT[.02186454]

07779991                              SOL[2.87746666], USD[137.44]                                                                                                     Yes

07780003                              BTC[.00005212], ETHW[1.03377712], LTC[0], PAXG[.00000001], SHIB[2], SUSHI[.00128677], USD[5.63]                                  Yes

07780004                              BTC[0], ETH[0], NFT (310357189322518947/Coachella x FTX Weekend 1 #29747)[1], SOL[0], USD[0.00], USDT[0.00000144]

07780025                              USD[0.00]

07780027                              CUSDT[1], TRX[821.72647074], USD[0.00]                                                                                           Yes

07780031                              CUSDT[1], DOGE[1], ETH[.29872238], ETHW[.29852582], SOL[5.84444676], TRX[2], USD[0.50]                                           Yes

07780032                              USD[368.93]

07780039                              USD[20.00]

07780051                              BF_POINT[200], CUSDT[5], DOGE[2], SOL[.42378842], USD[0.00]                                                                      Yes

07780053                              SOL[631.14470468]                                                                                                                Yes

07780070                              BTC[0], USD[3.82]

07780071                              BTC[.00000002]                                                                                                                   Yes

07780075                              AVAX[2.3], ETH[0.00783572], ETHW[-0.00210468], SOL[0.35267885], USD[1449.46]

07780077       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07780078                              USD[1.33]

07780079                              MATIC[.00000001], USD[0.00]

07780081                              NFT (374479979006303602/FTX - Off The Grid Miami #4843)[1]

07780084                              DOGE[1], SOL[3.97673832], USD[0.01]                                                                                              Yes

07780088                              BF_POINT[300]                                                                                                                    Yes

07780090                              ETH[.123], ETHW[.123], NFT (328803541845716898/Night Light #912)[1], USD[26.68]

07780093                              BTC[0.02636061], CUSDT[8], DOGE[2], ETH[1.21139980], ETHW[1.21089104], SHIB[2], SOL[0], TRX[1], USD[0.00]                        Yes

07780094                              ETH[.038], ETHW[.038], USDT[1.90462089]

07780097                              USDT[0]

07780098                              ETH[0], LTC[0.05916493], SOL[.00000001], USD[1.00]

07780101                              USD[21.51]                                                                                                                       Yes

07780102                              USD[21.51]                                                                                                                       Yes

07780103                              USD[20.00]

07780107                              USD[6.41]

07780125                              BTC[0], NFT (354997828053533080/Entrance Voucher #5198)[1], USD[5002.28]

07780127                              AVAX[.03123075], BTC[0], CUSDT[1], DOGE[0], GRT[0.00000225], LINK[0.03052828], SHIB[26.82702718], SUSHI[0], TRX[1], USD[0.00]    Yes

07780128                              USD[0.00]

07780130                              USD[0.00]

07780148                              USD[0.68]

07780151                              CUSDT[3], SHIB[92397.53928869], TRX[1], USD[0.00], USDT[0]                                                                       Yes

07780152                              ETH[.00188088], ETHW[0.00188088]

07780160                              KSHIB[1430], SHIB[1403702.28288113], USD[0.00], USDT[0.00000176]

07780161                              USD[0.54]

07780163                              AVAX[7.29343], BTC[.07678219], ETH[2], ETHW[2], GRT[3374.9598], NEAR[86.42215], SOL[29.643297], USD[4297.37], USDT[1.42311213]

07780166                              USD[7520.43], USDT[0.00000089]

07780170                              ETH[0]

07780177                              BTC[0], NFT (391193434829773143/Entrance Voucher #2353)[1], USD[0.00]                                                            Yes

07780182                              ETH[.026], ETHW[.026], USD[0.01], USDT[4168.04928111]

07780192                              DOGE[1], ETH[.04307015], ETHW[.04307015], USD[0.00]

07780204                              ETH[.00025137], ETHW[.00025137], USD[0.00]

07780205                              USDT[0]

07780209                              ETH[.12621963], ETHW[.12621963], USD[0.00]

07780214                              BAT[6], DOGE[20], USD[0.30]

07780219                              BRZ[4], CUSDT[4], ETH[.25053914], ETHW[.25034678], SOL[13.44294939], TRX[1], USD[0.00]                                           Yes

07780223                              USD[0.00]

07780239                              BTC[0]

07780255                              ETHW[22.70211632], SOL[.0074898], USD[0.00], USDT[0]
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                                                                                                                                                Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07780257                              USD[0.00]

07780264                              SOL[.008985], USD[0.01]

07780265                              BTC[.00063302], CUSDT[1], ETH[.00671866], ETHW[.00663658], TRX[2], USD[9.94]                                                                                                                Yes

07780267                              USD[116.42]

07780269                              BTC[.00051493], USD[10.00]

07780270       Contingent, Disputed   BTC[0]

07780291                              USD[0.00]

07780299                              BTC[.00144151]                                                                                                                                                                              Yes

07780303                              BF_POINT[300], ETH[0], USD[0.00], USDT[0.00000001]

07780305                              ALGO[0], BTC[0], DOGE[0], ETH[0], ETHW[0], MATIC[0], SHIB[106067.77949730], SOL[0], USD[121.58], USDT[0]

07780318                              BCH[.0595004], BTC[.02680328], DOGE[59.4622], ETH[2.547009], ETHW[2.547009], GRT[1565.0098], LINK[36.33498], SOL[10.09161], USD[2177.69]

07780320                              AAVE[2.38750385], BTC[.04005636], ETH[.69454195], ETHW[0.69425031], SHIB[8465.24243285], USD[0.00], YFI[.03568447]                                                                          Yes

07780321       Contingent, Disputed   BTC[0], SOL[.00000001], USD[68348.30], USDT[0.00000001]

07780322                              ETH[0.19583092], SOL[12.18482506], TRX[.000001], USD[0.00], USDT[0.00000025]

07780326                              BTC[0], ETHW[.00079018], USD[1.25], USDT[0]

07780331                              USD[0.13]

07780332                              BTC[.14152104], USD[0.00], USDT[0]                                                                                                                                                          Yes

07780346                              BAT[107.57920322], BTC[.00000004], ETHW[.11865927], GRT[107.5792032], SUSHI[18.46640738], YFI[.00951884]                                                                                    Yes

07780354                              SOL[.00000001]

07780355                              BRZ[1], BTC[.00000328], DOGE[3], LINK[.04709296], SHIB[1], TRX[3], UNI[.00713996], USD[0.01], USDT[0.00000636]                                                                              Yes

07780362                              USD[0.78]

07780364                              BTC[0], ETH[0], SHIB[5], SOL[0], TRX[1], USD[0.00]                                                                                                                                          Yes

07780369                              AAVE[.00358], BF_POINT[100], BTC[0.00005812], ETH[.000285], ETHW[.000285], KSHIB[.8], NFT (432878387903346007/Warriors 75th Anniversary Icon Edition Diamond #1603)[1], SOL[.00995],
                                      SUSHI[.053], UNI[.0833], USD[0.22]
07780370                              ETHW[0], KSHIB[810.16731888], SHIB[1], USD[0.00], USDT[0.00000001]                                                                                                                          Yes

07780372                              USD[0.83]

07780374                              ETH[0], MATIC[0]

07780376                              AAVE[0], AVAX[0], BAT[261.06198878], BF_POINT[100], BTC[0.03775550], DAI[0], DOGE[13004.15100107], ETH[0], ETHW[0], LINK[0], MATIC[0], NFT (352969093412939028/Shark 3D Polygon)[1],        Yes
                                      NFT (373726604188004578/World of Pixel #2)[1], NFT (382901096203926545/Big 3 #2)[1], NFT (388005678477312905/Old Age Tiger Polly)[1], NFT (429563399537899999/World of Pixel #6)[1], NFT
                                      (454705216309106654/World of Pixel #7)[1], NFT (504765242816387916/Art of BitCoin #7)[1], NFT (534692661535892244/Entrance Voucher #2990)[1], NFT (574223608994549335/Bear Polly)[1], NFT
                                      (576451426019715278/Messiahship Collection #3)[1], SHIB[36812519.93360711], SOL[140.61461265], UNI[.00000001], USD[700.00], USDT[0]
07780377                              AAVE[.007832], BTC[.08032764], MATIC[7.381], SOL[94.46211], UNI[.05815], USD[2075.62]

07780384                              SOL[4.64934598], USD[0.01]

07780386                              SOL[.00005161]

07780388                              USD[0.02]

07780390                              BTC[3.01730024], SOL[0], USD[0.00]

07780391                              TRX[.000001], USDT[20]

07780394                              ETH[.00115447], ETHW[.00114079], SHIB[82960.09276916], USD[6.46]                                                                                                                            Yes

07780395                              BTC[0], ETHW[.08364912], SOL[0], USD[1.13]

07780396                              BRZ[2], BTC[.00000744], DOGE[5], ETH[.00014405], GRT[1], SHIB[14], TRX[9], UNI[.01130532], USD[0.03]                                                                                        Yes

07780406                              ETHW[2.19858270], SOL[7.386343]                                                                                                                                                             Yes

07780408                              USD[0.00]

07780415                              BTC[0.01188330], ETH[0.16813395], ETHW[0.16813395], MATIC[0], SOL[5.28435669], USD[0.00], USDT[0.00003348]

07780420                              ETH[.03], ETHW[.03], SHIB[98900], USD[2.85]

07780421                              TRX[249], USD[0.02]

07780424                              ETH[.00000001], USD[0.01], USDT[0]

07780426                              BRZ[2], CUSDT[22], DOGE[12.21212995], ETHW[.03410577], SOL[.0005251], TRX[23.96400749], USD[0.00]                                                                                           Yes

07780428                              LTC[0], SHIB[0], USD[0.00], USDT[0]                                                                                                                                                         Yes

07780429                              BTC[.0000476], ETH[.000484], ETHW[18.498484], USD[42533.89]

07780443                              SOL[0], USD[77638.38]

07780446                              USD[0.00], USDT[0]

07780447                              BTC[0.02940000], ETH[.802637], ETHW[.802637], LINK[12.7746], LTC[0], MATIC[2.91415116], USD[0.21], USDT[0]

07780451                              BTC[.0066], LINK[10.989], USD[6.00]

07780455                              CUSDT[1], DOGE[1], MATIC[0], SOL[0], USDT[1.09936218]                                                                                                                                       Yes

07780457                              AVAX[50.211175], BTC[.22443337], ETH[1.74594706], ETHW[1.74594706], SOL[31.65906297], USD[257.89], USDT[.00352853]

07780458                              BTC[3.4157122]                                                                                                                                                                              Yes

07780467                              USD[0.16]

07780479                              BTC[0], DOGE[.417], SOL[0], USD[0.00], USDT[0.00000001]

07780484                              BRZ[1], BTC[0], CUSDT[8], DOGE[0], GRT[1], LTC[0], MATIC[0], SOL[0.00003980], TRX[3], USD[0.01]                                                                                             Yes

07780485                              BAT[1], BRZ[2], CUSDT[1], DOGE[3], TRX[3], UNI[1.02241172], USD[0.00]                                                                                                                       Yes
West Realm Shires Services Inc.                                                        Case 22-11068-JTD      DocF-3:
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                                                                                                                                            Customer Claims                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07780491                           BRZ[1], BTC[0], DOGE[2], GRT[1], LINK[.00000001], SHIB[7], SOL[0], USD[0.00]                                                                  Yes

07780498                           BF_POINT[400], USD[21.51]                                                                                                                     Yes

07780510                           BTC[0], DOGE[.00000001], SOL[0], UNI[0], USD[1216.87]

07780524                           MATIC[389.61], SUSHI[154.8985], USD[209.81]

07780527                           BTC[.00362817], USD[0.00]

07780536                           ETH[.000994], ETHW[.000994], USD[8.49]

07780539                           AAVE[.00571], SOL[.00579], SUSHI[.039], USD[0.10]

07780540                           SOL[9.0007815], USD[155.85]

07780547                           ETH[.00101757], ETHW[.00101757], USD[0.00]

07780555                           USD[21.51]                                                                                                                                    Yes

07780556                           ETH[0], USD[0.84], USDT[0.00000129]

07780557                           USD[0.04]                                                                                                                                     Yes

07780562                           BRZ[1], SOL[.00000001], USD[0.45]                                                                                                             Yes

07780564                           TRX[.000001]

07780565                           ETHW[.000834], USD[0.00]

07780567                           USD[0.00]

07780577                           BRZ[2], CUSDT[10], DOGE[4], SHIB[4], SOL[0], TRX[4], USD[0.04]                                                                                Yes

07780585                           DOGE[1], ETHW[23.13833315], USD[0.00]                                                                                                         Yes

07780587                           USD[20.00]

07780589                           BRZ[2], CUSDT[1], DOGE[5402.47686007], USD[0.17]                                                                                              Yes

07780591                           SOL[0], USD[0.30]

07780594                           USD[219.86]                                                                                                                                   Yes

07780600                           BTC[.00444015], CUSDT[5], DOGE[1], ETH[.06155934], ETHW[.06079326], TRX[2], USD[109.28]                                                       Yes

07780602                           USD[16271.19]                                                                                                                                 Yes

07780603                           SOL[.42957], USD[0.46]

07780610                           BTC[0.00002901], ETH[.0000595], ETHW[3.0380595], LTC[0], NEAR[.049615], USD[6696.73]

07780612                           ETH[.0004128], ETHW[.0004128], SOL[.006008], USD[150.43]

07780617                           SHIB[4903836.93321002], SOL[12.07], USD[0.63]

07780618                           BTC[.02878362], ETH[.8467732], ETHW[.8467732], LINK[62.87354], SOL[8.113079], USD[0.01]

07780624                           CUSDT[3], DOGE[1], ETH[0], ETHW[0], SHIB[4], SOL[.14052986], USD[0.00]                                                                        Yes

07780629                           USD[0.00], USDT[0]

07780631                           BRZ[1], BTC[.01265499], SHIB[1], USD[1610.56]                                                                                                 Yes

07780640                           SOL[.66123485], TRX[1], USD[0.00]                                                                                                             Yes

07780648                           ETH[0], SOL[0.00000001], USD[0.00]

07780653                           ETH[.01358485], ETHW[.01358485], USD[48.29]

07780656                           BTC[.00025397], FTX_EQUITY[0], NFT (559365888567063293/Vintage Sahara #419)[1], SOL[1.80131671], USD[83.20], WEST_REALM_EQUITY_POSTSPLIT[0]

07780660                           USD[52.32]

07780662                           BRZ[1], SOL[3.21489158], TRX[1], UNI[8.35882454], USD[0.01]                                                                                   Yes

07780664                           BAT[0], BTC[0], MATIC[0], NFT (441765854360161836/Entrance Voucher #4281)[1], SOL[0], USD[3.01], USDT[0]                                      Yes

07780668                           BTC[.00003431]                                                                                                                                Yes

07780669                           NFT (301337000023546070/Coachella x FTX Weekend 2 #23630)[1], SOL[0.00045904], USD[0.00]

07780682                           USD[21.51]                                                                                                                                    Yes

07780684                           ETHW[.00018], USD[26112.44]

07780692                           BRZ[1], BTC[0.00000001], CUSDT[2], ETH[0], GRT[0], MATIC[0.00073832], SHIB[3], SOL[0.51398117], TRX[3], USD[0.00], USDT[0]                    Yes

07780693                           BTC[.04300532], DOGE[2], NFT (440989996639813682/Entrance Voucher #4430)[1], SHIB[31], USD[0.00]                                              Yes

07780701                           ETH[0], SOL[16.23489826], USD[0.00]

07780702                           BAT[1], ETH[.00779521], ETHW[.08104171], SHIB[611937.00209504], TRX[1], USD[6.93]                                                             Yes

07780703                           USD[20.00]

07780707                           BRZ[1], CUSDT[6], DOGE[2], ETH[0], ETHW[0], SHIB[2], SOL[0], TRX[6], USD[0.00], USDT[1.05861307]                                              Yes

07780708                           USD[0.00]

07780710                           AAVE[.00000001], BTC[0.03109302], CUSDT[2], ETH[0.79179688], ETHW[0.79146430], UNI[.00000001]                                                 Yes

07780711                           USD[0.00]

07780724                           BTC[.00043389], CUSDT[1], USD[0.00]                                                                                                           Yes

07780728                           BTC[0], ETHW[.44109032], USD[2.39]

07780729                           BTC[.01], ETH[0], USD[0.00]

07780743                           ETH[0], SOL[0], USD[0.08]

07780744                           BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07780746                           BTC[0], ETH[0], SOL[0], USD[0.00]                                                                                                             Yes
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                                                                                                                                               Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07780763                              SOL[.00000001]

07780764                              CUSDT[1], DOGE[1], NFT (379878681917670991/Coachella x FTX Weekend 2 #3876)[1], SHIB[5], SOL[0.00002148], TRX[6], USD[0.00]                                                                Yes

07780770                              USD[0.22]

07780775                              USD[32.98]                                                                                                                                                                                 Yes

07780779                              SOL[.079924], USD[1.08]

07780786                              USD[0.01]

07780788                              SHIB[280589.32096701], USD[0.00]                                                                                                                                                           Yes

07780789                              ETHW[52.75959736]                                                                                                                                                                          Yes

07780793       Contingent, Disputed   ETH[0], ETHW[0], NFT (573484459911834024/2974 Floyd Norman - OKC 1-0239)[1], SOL[0], USD[0.00]

07780795                              USDT[0]

07780800                              USD[0.00]

07780813                              BTC[0.01000000], CHF[18.13], DOGE[20.776], ETH[1.347698], USD[0.94]

07780815                              BTC[.0003], USD[0.00], USDT[0]

07780824                              BRZ[2], CUSDT[11], DOGE[4], SHIB[7], SOL[.00000002], TRX[3], USD[0.01]                                                                                                                     Yes

07780847                              ETH[.028971], ETHW[.028971], LINK[3.0969], NFT (480558403350477155/Coachella x FTX Weekend 1 #20915)[1], NFT (490442315366126137/BlobForm #431)[1], USD[50.31], USDT[0]

07780850                              ETH[1.2288], ETHW[1.2288], SOL[22.5079988], USD[103.08]

07780852                              USD[106.24]                                                                                                                                                                                Yes

07780856                              USD[20.00]

07780860                              TRX[362.82535768], USD[0.00]

07780867                              AAVE[.08204178], BTC[.00010653], DOGE[1], ETH[.07819895], ETHW[.00016431], SHIB[2], SOL[1.84540834], USD[1.31]                                                                             Yes

07780873                              USD[100.00]

07780877                              NFT (550017014423700083/Entrance Voucher #2096)[1]

07780878                              BAT[1.0125836], BRZ[2], CUSDT[2], DOGE[3], ETHW[4.33267809], GRT[1], MATIC[0], SHIB[4], SOL[0.00085253], SUSHI[34.14597178], TRX[3], UNI[21.40440316], USD[51.61], USDT[1.05279121]        Yes

07780880                              BTC[0], ETH[0], ETHW[0.00016480], LTC[0], PAXG[0], SOL[0], USD[2.58]

07780882                              ETH[.00000001], ETHW[.00000001]

07780883                              LINK[.00047255]                                                                                                                                                                            Yes

07780884                              CUSDT[3], LINK[1.40728744], MATIC[25.28756689], SOL[.13693549], TRX[114.48232121], USD[0.02]                                                                                               Yes

07780887                              ETH[0], SOL[0]

07780892                              BTC[0], ETH[.00000001], ETHW[0], SOL[0], USD[0.00]

07780895                              BTC[.55916558], SOL[19.16114777], USD[-997.81], USDT[594.74426]

07780897                              USD[3.41]

07780898       Contingent, Disputed   BF_POINT[200]

07780900                              BTC[.04647309], DOGE[364483.66420959]                                                                                                                                                      Yes

07780903                              ALGO[312.52002076], BAT[148.49166362], BRZ[2], CUSDT[3], ETH[.07155591], ETHW[.07066671], GRT[856.58016287], LINK[17.43332685], MATIC[562.71580183], SHIB[3], SOL[3.45520732],             Yes
                                      SUSHI[38.79717417], TRX[904.39652136], UNI[14.9385866], USD[0.00]
07780912                              BTC[0], CUSDT[3], DOGE[4.53812234], ETH[0], ETHW[0.00319860], MKR[0], SHIB[4], SOL[0.07895839]                                                                                             Yes

07780913                              BF_POINT[100]

07780926                              USD[21.51]                                                                                                                                                                                 Yes

07780927                              SOL[.1255], USDT[.09648271]

07780931                              DAI[.00000001], UNI[0], USD[0.00]

07780934                              BAT[0], BRZ[0], CUSDT[2], DAI[0], DOGE[69.85260733], ETH[0], GRT[0], KSHIB[0], MATIC[0], SHIB[0], SUSHI[0], TRX[167.69272728], UNI[0], USDT[0]                                             Yes

07780940                              LTC[.00000168]                                                                                                                                                                             Yes

07780942                              CUSDT[1], USD[0.00]                                                                                                                                                                        Yes

07780949                              SOL[29.09533], USD[1.27]

07780952                              USD[20.00]

07780956                              BTC[0], CUSDT[3], ETH[0], NFT (318387809799399283/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #38)[1], SOL[0], TRX[4], USD[0.04], USDT[0.00002601]      Yes

07780961                              SOL[0.00359074], USD[0.00]

07780962                              USD[10.00]

07780963                              SOL[.09751676], USD[0.00]

07780965                              BRZ[2], BTC[0], CUSDT[1], DOGE[1], ETH[0], SOL[0]                                                                                                                                          Yes

07780975                              BTC[.0216], USD[1.24]

07780981                              LINK[2.79748], USD[1.36]

07780983                              SOL[0], USD[0.00]

07780988                              BTC[0.00001330], USD[0.01]

07780990                              NFT (464844877803218700/2974 Floyd Norman - OKC 4-0213)[1], USD[0.00]

07780994                              ETH[.00000001], FTX_EQUITY[0], NFT (289782360642697565/Barcelona Ticket Stub #2295)[1], NFT (300411715068762066/FTX / S5 ALL•IN)[1], NFT (304822058682007331/FTX Test Pack 1 #10)[1],
                                      NFT (316020229635745527/Montreal Ticket Stub #86)[1], NFT (347834624109594160/Baku Ticket Stub #139)[1], NFT (404354834658759084/2974 Floyd Norman - OKC 4-0236)[1], NFT
                                      (432872436373495991/The 2974 Collection #2173)[1], NFT (475625042080426920/Call It #73)[1], NFT (494433834721952561/Saudi Arabia Ticket Stub #1335)[1], NFT (517603632540713052/Birthday
                                      Cake #2173)[1], NFT (538861841105391530/FTX Crypto Cup 2022 Key #562)[1], NFT (548042241169422312/Monaco Ticket Stub #21)[1], NFT (550235284592504170/Miami HEAT: 15 Strong - 2/50)[1],
                                      NFT (558613969010091028/Shaq's Fun House Commemorative Ticket #18)[1], NFT (563831710255344428/Silverstone Ticket Stub #160)[1], SOL[.00000001], USD[20.80],
                                      WEST_REALM_EQUITY_POSTSPLIT[0]
West Realm Shires Services Inc.                                                           Case 22-11068-JTD      DocF-3:
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                                                                                                                                               Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07780997                              CUSDT[1], TRX[2], USD[0.00]                                                                                                                                                            Yes

07781003                              USD[21.51]                                                                                                                                                                             Yes

07781012                              BTC[.0000124], USD[0.00]

07781016                              USD[20.00]

07781021                              CUSDT[15], DOGE[1], TRX[2], USD[2.72]                                                                                                                                                  Yes

07781025                              BTC[0], ETH[6.79852453], ETHW[6.89852453], USD[0.00]

07781035                              USD[0.00]

07781042                              BTC[.05948172], ETH[.18158201], ETHW[.18133965], LTC[2.58836317], TRX[12456.99814549]                                                                                                  Yes

07781048                              USD[2000.00]

07781058                              ETH[.06733678], ETHW[0.06733677]

07781064                              BAT[1], BRZ[3], DOGE[17.88113153], SHIB[430561.57041237], TRX[14.11768774], USD[8.27]                                                                                                  Yes

07781077                              ETHW[.131], USD[2.00]

07781081                              USD[20.00]

07781094                              CUSDT[5], DOGE[1166.32017094], ETH[.45976081], ETHW[0.45956340], SHIB[4369939.99378076], TRX[1], USD[391.14]                                                                           Yes

07781095                              ETH[.001], ETHW[.001], NFT (500902250640970875/FTX - Off The Grid Miami #4359)[1], SHIB[3196800], USD[0.41]

07781098                              USD[20.00]

07781100                              USD[0.24]

07781104                              USD[20.00]

07781108                              USD[20.00]

07781116                              USD[20.00]

07781123                              BTC[0], ETH[0], USD[0.00]

07781124                              USD[3.79]

07781127                              AAVE[.00000001], BRZ[2], CUSDT[9], DOGE[2], ETH[0.00000001], ETHW[0], GRT[.00020406], MATIC[0], SOL[0], USD[0.00], USDT[2.16858945]                                                    Yes

07781132                              USD[20.00]

07781136                              BTC[.00009335], USD[0.35], USDT[0]

07781139                              USD[0.00]                                                                                                                                                                              Yes

07781141                              BAT[3.2178692], BRZ[5.07952967], BTC[0.19006476], CUSDT[10], DOGE[5], ETH[.6697913], ETHW[.66950992], SHIB[3206765.98505066], TRX[7], USD[0.00]                                        Yes

07781151                              BF_POINT[300], CUSDT[4], USD[0.00]                                                                                                                                                     Yes

07781153                              USD[100.00]

07781154                              BAT[27.90128226], BRZ[57.85777916], CUSDT[7], GRT[238.07009059], LINK[6.86932704], NFT (314433377469773166/Entrance Voucher #3336)[1], NFT (327037147066480392/Fallen traveler #07)[1], Yes
                                      SHIB[2], SOL[1.10122926], TRX[420.27679333], USD[0.83]
07781157                              MATIC[0], USD[0.00], USDT[0]                                                                                                                                                            Yes

07781160                              SOL[.00435071], USD[0.00]

07781161                              USD[20.00]

07781177                              ETH[0], SOL[0.03960909], USD[1.81]

07781182                              NFT (563801050380002092/Saudi Arabia Ticket Stub #1102)[1]

07781183                              AVAX[0], BTC[0], ETHW[0], LTC[0], SOL[0], USD[1.32], USDT[0]

07781190                              SOL[.25], TRX[1], USD[0.68]

07781193                              USD[2.31]

07781194                              BTC[0], DAI[0], DOGE[0], ETH[0], MATIC[.00000001], SHIB[0], USD[0.00], USDT[0]                                                                                                         Yes

07781197       Contingent, Disputed   BTC[.00973256], ETH[.06719808], ETHW[.0663636], SOL[1.2625771]                                                                                                                         Yes

07781200                              BRZ[4], CUSDT[8], DOGE[18.05438904], ETHW[20.61839449], LINK[2247.07173714], MATIC[1192.55177332], TRX[6], USD[5.11], USDT[0]                                                          Yes

07781202       Contingent, Disputed   BTC[.00974102], ETH[.06725542], ETHW[.06642094], SOL[1.26366142]                                                                                                                       Yes

07781208                              BAT[.00000001]                                                                                                                                                                         Yes

07781216                              USD[0.00]

07781223                              SOL[.00963], USD[0.00]

07781226                              USD[0.01], USDT[0]

07781228                              ETHW[0], SOL[0], USD[0.00]

07781229                              ETH[.2497625], ETHW[.2497625], SOL[29.519537], USD[13.85]

07781238                              USD[0.06]

07781240                              BTC[0.00008061], ETH[.00076472], ETHW[.00076472], MATIC[5.536], PAXG[.0000315], SOL[433.63319899], USD[16.47]

07781244                              USD[20.00]

07781245                              BRZ[4], CUSDT[7], DAI[79.63339697], DOGE[2179.94315951], GRT[279.83041787], LINK[37.70836615], SHIB[12569384.88055782], SOL[13.10810046], TRX[956.75240788], USD[5.08],
                                      USDT[14.91611015]
07781251                              SOL[.00000001], USD[306.81]

07781258                              CUSDT[1], LINK[23.9170575], TRX[1], USD[0.01]                                                                                                                                          Yes

07781265                              BTC[.00000336], CUSDT[1], DOGE[1], ETH[.21621548], ETHW[.21599878], NFT (506112780469804803/Entrance Voucher #3382)[1], SHIB[2], SOL[7.98595601], SUSHI[1.07061733], TRX[1],           Yes
                                      USD[0.81]
07781269                              BF_POINT[300], BRZ[1], BTC[0], CUSDT[2], DOGE[1], SHIB[4], TRX[2], USD[0.00]                                                                                                           Yes

07781272                              BTC[0.00001694], ETH[.00000001], ETHW[0], SOL[0.01000157], USD[0.40], USDT[0.00000090]
West Realm Shires Services Inc.                                                           Case 22-11068-JTD      DocF-3:
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07781280                              DOGE[.88068573], USD[0.78]

07781282                              USD[100.00]

07781283                              LTC[.001], SOL[0.00004840]

07781302                              ETH[.087], ETHW[.087], NFT (416072182122672802/Night Light #538)[1], NFT (508809578248409166/2974 Floyd Norman - CLE 1-0029)[1], SOL[0], USD[0.00], USDT[0.00000001]

07781323                              BF_POINT[300], BTC[0], ETH[.00003446], ETHW[.00003446], USD[0.00]

07781332                              USD[0.03], USDT[0]

07781333                              CUSDT[2], DOGE[1], ETH[0], SUSHI[0], USD[0.00]                                                                                                                                  Yes

07781336                              USD[21.51]                                                                                                                                                                      Yes

07781339                              USD[0.01]

07781345                              MATIC[1.28745248], USD[0.00]

07781347                              SOL[0.00026231], USD[0.00]

07781350                              USD[1.12]

07781351       Contingent, Disputed   USD[0.69]

07781359                              USDT[0.00000005]

07781360                              BTC[.0002], USD[0.60]

07781363                              ETH[0], ETHW[0], USD[0.00], USDT[0]                                                                                                                                             Yes

07781374                              CUSDT[1], SOL[7.54621952], TRX[2], USD[0.00]

07781375                              CUSDT[2], DAI[4.9700772], GRT[5.30182016], MATIC[3.00235507], TRX[48.88556553], UNI[1.03452911], USD[0.00]

07781378                              SOL[0]

07781382                              BF_POINT[100], BRZ[1], GRT[7336.22904858], NFT (399644104687747885/SOLYETIS #3671)[1], NFT (406645994281256144/SOLYETIS #6)[1], NFT (442528923377988156/SOLYETIS #2073)[1],     Yes
                                      NFT (503503233272511925/SOLYETIS #101)[1], NFT (525408837866184135/SOLYETIS #2623)[1], SHIB[271771.13116522], TRX[1], USD[0.00], USDT[0.00000001]
07781383                              BAT[4.23991677], BF_POINT[300], BRZ[2], CUSDT[3], DOGE[4], ETH[0.00012794], ETHW[18.70726879], GRT[2], LINK[0], LTC[0], NFT (360183736494635515/Magic Eden Pass)[1], SHIB[1],   Yes
                                      SOL[0.00000001], TRX[8], USDT[1.06537286]
07781387                              USD[0.00]

07781396                              SOL[3.33], USD[0.82]

07781406                              BTC[.2447767], SOL[12.67731], USD[5.80]

07781413                              DOGE[.46336084], USD[0.00]

07781415                              CUSDT[6], DOGE[3], ETH[.05334435], ETHW[6.95283911], SOL[0], USD[0.00]                                                                                                          Yes

07781428                              USD[0.00]                                                                                                                                                                       Yes

07781429                              SOL[0], USD[0.00]

07781433                              NFT (443924429086585012/FTX Crypto Cup 2022 Key #541)[1]

07781434                              USD[20.00]

07781437                              BTC[.00339887], DOGE[1], SHIB[5], USD[1.84]                                                                                                                                     Yes

07781438                              DOGE[1], SHIB[6], TRX[1], USD[0.01], USDT[0.00000001]

07781444                              BAT[1.00523941], BRZ[1], BTC[.00001221], DOGE[5], GRT[1], TRX[4], USD[1.60], USDT[1.06939765]                                                                                   Yes

07781459                              BTC[0], SOL[0], USD[0.00]

07781460                              BTC[1.37820108], ETH[1.99923465], ETHW[1.99860475], USD[11.66], USDT[12.72362828]                                                                                               Yes

07781462                              BRZ[2], CUSDT[30], DOGE[9.48207629], ETH[.68065133], ETHW[.6803655], SOL[10.43962748], TRX[8.00087651], USD[0.19], USDT[44.39377239]                                            Yes

07781466                              SOL[1.07946], USD[0.78]

07781469                              USDT[0.00000148]

07781473                              BAT[.00001838], CUSDT[4], ETH[0.00050568], ETHW[0.00050568], TRX[2], USD[0.00], USDT[1.0814004]                                                                                 Yes

07781474                              BTC[0.11210601], ETH[1.02943682], ETHW[1.02943682], SOL[.77935], USD[1.90]

07781476                              BRZ[326], BTC[.01099028], ETH[.02956954], ETHW[.02956954], USD[0.08]

07781483                              SOL[.00998773], USD[0.00]

07781491                              TRX[2719.15101393]                                                                                                                                                              Yes

07781501                              NFT (304862850051315791/Entrance Voucher #2771)[1]                                                                                                                              Yes

07781507                              USD[21.51]                                                                                                                                                                      Yes

07781509                              USD[100.00]

07781511                              USD[2.61]

07781516                              USD[8.22]

07781517                              DOGE[.633], NFT (389687999244919975/Coachella x FTX Weekend 2 #16371)[1], USD[0.00], USDT[0]

07781524                              DOGE[450], MATIC[480]

07781528                              SOL[7.22], USD[0.23]

07781530                              SOL[.0000274]                                                                                                                                                                   Yes

07781531                              USD[1.81]

07781535                              MATIC[.00370203], SOL[.00812125], USD[0.00]

07781544                              BTC[0], SOL[.539514], USD[0.25]

07781550                              USD[0.00]

07781551                              USD[0.77]

07781558                              ALGO[3.996], AVAX[2.5974], BTC[0], LINK[9.8901], SOL[0.62438000], USD[0.00], USDT[.1995475]
West Realm Shires Services Inc.                                                           Case 22-11068-JTD      DocF-3:
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07781559                              SOL[12.21777], USD[8.57], USDT[0]

07781573                              CUSDT[2], MATIC[57.00174526], USD[0.00]                                                                                                                                                  Yes

07781574                              USD[0.58]

07781582                              BAT[1], BTC[.00004769], NFT (446987411935484752/Founding Frens Lawyer #261)[1], SHIB[17], TRX[5], USD[0.00]                                                                              Yes

07781583                              USD[5.34], USDT[.4250761]

07781585                              NFT (349927951149748709/FTX - Off The Grid Miami #2650)[1]

07781590                              ETH[.000145], ETHW[.000145], LINK[.09623], SOL[.006], USD[13.62], USDT[0]

07781592                              BTC[0.00001292]

07781599       Contingent, Disputed   DOGE[0], MATIC[0], SOL[0], USD[0.00]

07781609                              USD[4.30]

07781621                              USD[5000.00]

07781623                              TRX[.001794]

07781624                              BTC[.2495502], SHIB[1198800], SOL[178.4364], USD[81.59]

07781632                              MATIC[349.68], USD[6.19]

07781635                              SHIB[1], USD[0.00]

07781640                              ETH[0.01924336], USD[0.00]

07781645                              CUSDT[1], SHIB[1], SOL[4.11426473], TRX[0.00000564], USD[0.01]                                                                                                                           Yes

07781655                              BTC[.00111243], CUSDT[1], SOL[0.37645836]                                                                                                                                                Yes

07781657                              NFT (324623022676220120/Joe Theismann's Playbook: Washington vs. Miami Dolphins - January 30, 1983 #36)[1], NFT (345962019343588548/Joe Theismann's Playbook: Notre Dame vs. USC -
                                      November 30, 1968 #33)[1], USD[0.00]
07781658                              BTC[.00228438], DOGE[34.11355312], ETH[0], ETHW[0], MATIC[4.45398087], TRX[394.89813797], USDT[0]                                                                                        Yes

07781668                              USD[20.00]

07781677                              AVAX[.0829], BTC[0], ETHW[.250525], SOL[.006445], USD[1.55]

07781693                              LINK[.00169103], USD[0.00]                                                                                                                                                               Yes

07781694                              BTC[.00000001]                                                                                                                                                                           Yes

07781707                              USD[0.01]

07781720                              CUSDT[1], DOGE[2302.27955226], SHIB[7698751.09484683], TRX[1], USD[0.03]                                                                                                                 Yes

07781726                              USD[0.05]

07781728                              BTC[.01674389], ETH[.3534599], ETHW[.3534599], MATIC[69.96], SHIB[400000], SOL[13.93272], USD[0.01], USDT[592.6]

07781729                              USD[0.00], USDT[0.00000001]

07781734                              ETH[0.42333410], ETHW[0.42333410], LINK[315.9460614], SOL[74], USD[0.00]

07781739                              SOL[.00004], USD[1.00]

07781743                              USD[0.00]

07781756                              BTC[.0025], LINK[.6], USD[551.11], USDT[.00237]

07781765                              BTC[.00031851], CUSDT[1], USD[0.00]                                                                                                                                                      Yes

07781770                              CUSDT[2], USD[0.00]                                                                                                                                                                      Yes

07781779                              USD[0.01]

07781781                              BRZ[1], CUSDT[1], NFT (400260015645461507/Coachella x FTX Weekend 1 #5348)[1], SOL[1.50794964], TRX[2], USD[0.00]

07781792                              BTC[0], ETH[.0000004], ETHW[.05], NFT (331535757971005093/Abnormal Alligator #132)[1], NFT (348874390571964127/FTX - Off The Grid Miami #842)[1], NFT (376084623206654751/Abnormal
                                      Alligator #112)[1], NFT (433507919810447608/Abnormal Alligator #119)[1], NFT (458309688775277455/Abnormal Alligator #107)[1], NFT (493220701448851644/Abnormal Alligator #137)[1], NFT
                                      (541960103703999431/Abnormal Alligator #110)[1], USD[0.67]
07781807                              DOGE[36.88625816], USD[43.89]                                                                                                                                                            Yes

07781818                              NFT (325298099955618868/Entrance Voucher #4918)[1], NFT (331417459052177179/Romeo #2606)[1], NFT (440279983821947994/Microphone #9719)[1]

07781824                              USD[34.25]                                                                                                                                                                               Yes

07781826                              BTC[.05769935], ETHW[1.85249673], GRT[0], MATIC[0], SHIB[1], USD[0.00], USDT[0]                                                                                                          Yes

07781829                              BTC[.00000739]                                                                                                                                                                           Yes

07781831                              SOL[.00000001], USD[0.23]

07781832                              NFT (381503227758457395/Australia Ticket Stub #524)[1]

07781843                              ETH[.00023895], ETHW[0.00023894], USD[0.00]

07781852                              BTC[.0019], TRX[.000001], USDT[3.1774368]

07781857                              USDT[0]

07781861                              ETHW[2.888109], USD[0.99]

07781883                              USD[0.91]

07781887                              ETH[0], SOL[.00000001], USDT[0.00002044]

07781902                              BTC[0], USDT[0]

07781906                              LINK[1.09891039], SOL[33.51775783], USD[0.00]                                                                                                                                            Yes

07781926                              USD[0.00]

07781931                              USD[20.00]

07781933                              USD[15.89]

07781939                              DOGE[0], USD[0.01], USDT[0.00000616]                                                                                                                                                     Yes
West Realm Shires Services Inc.                                                           Case 22-11068-JTD      DocF-3:
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                                                                                                                                               Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07781941                              USD[0.01]                                                                                                                                                                              Yes

07781947                              LTC[.0098], UNI[.05], USD[0.04], USDT[0.28590431]

07781962                              USD[10.00]

07781966                              BTC[.10911086], DOGE[4726.39094806], ETH[.77384738], ETHW[.62929366], LINK[111.02608574], MATIC[538.59259864], NFT (575936375395033828/Voxi People #27)[1],                            Yes
                                      SHIB[23343138.91046136], SOL[25.94239245], TRX[2292.56479854], UNI[24.95774370], USD[-43.50], USDT[0.00000004]
07781975                              DOGE[1], USD[691.47], USDT[1.08093154]                                                                                                                                                 Yes

07781994                              BTC[0], USD[4.18]

07781998                              DOGE[1], SOL[2.05506383], USDT[10.55755617]                                                                                                                                            Yes

07782001                              BTC[0.00001656]

07782004                              BF_POINT[200], USD[58.07]

07782010                              AAVE[0], BF_POINT[100], BRZ[2], CUSDT[27], DOGE[8.17257796], ETH[.00000238], ETHW[.00000238], GRT[2862.10709653], LINK[.0002586], SHIB[48700784.03488428], SOL[25.25852060],           Yes
                                      TRX[4], USD[-45.00], USDT[0]
07782024                              USD[0.01]

07782028                              DOGE[1.998], ETH[.000891], ETHW[.000891], SHIB[2097900], USD[0.09]

07782032                              USD[0.00]

07782035                              BAT[1.01585017], BRZ[2], CUSDT[4], DOGE[3], GRT[1], LINK[.00006169], SHIB[63.92206531], SOL[.00006839], TRX[3], USD[0.01]                                                              Yes

07782038                              USD[2.68]

07782039                              NFT (378751259335315557/Humpty Dumpty #925)[1]

07782051                              USD[0.00]

07782052                              SOL[.01571219], USD[1.35]

07782053       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07782069                              EUR[0.00], USD[0.00], USDT[0.37466481]

07782074                              TRX[1], USD[0.00]

07782095                              ETHW[0], SOL[0]

07782099       Contingent, Disputed   USD[0.00]

07782103                              USD[20.00]

07782108                              ETH[0], ETHW[0], LINK[1], MATIC[0], USD[0.97]

07782109                              USD[20.00]

07782112       Contingent, Disputed   USD[0.00]                                                                                                                                                                              Yes

07782117                              DOGE[2], SOL[.00006176], TRX[1], USD[0.01]                                                                                                                                             Yes

07782128                              DOGE[1], SOL[0.18527447]                                                                                                                                                               Yes

07782130                              ETHW[.057942], SOL[.00000977], USD[1.92]

07782140                              BRZ[1], DOGE[2], SOL[0], TRX[2], USD[0.00]                                                                                                                                             Yes

07782142                              BTC[0], LINK[.04431743], MATIC[49.95185225], USD[0.00], USDT[0.00000001]

07782158                              LINK[.0133839], USD[2.87], USDT[0]

07782161                              ALGO[0], BF_POINT[100], MATIC[0], USD[0.00]                                                                                                                                            Yes

07782167                              BF_POINT[800], USD[1218.52]                                                                                                                                                            Yes

07782205                              BTC[0.00153319], PAXG[0], SHIB[4], USD[10.00], YFI[0]                                                                                                                                  Yes

07782208                              BTC[0], USD[0.00], USDT[0]

07782213                              USD[20690.14]

07782219                              USD[20.00]

07782240                              NFT (461394191610004862/Earl Campbell's Playbook: Rice vs. Texas - October 1st, 1977 #66)[1], NFT (554451232583948123/Tim Brown's Playbook: Kansas City Chiefs vs. Oakland Raiders -
                                      December 9, 2001 #6)[1], USD[0.86], USDT[0]
07782242                              BTC[.24188259]                                                                                                                                                                         Yes

07782243                              SOL[0], USD[0.00]

07782247       Contingent, Disputed   USD[0.00]                                                                                                                                                                              Yes

07782255                              ETH[.00000001], USD[0.00]

07782256                              USD[0.00]

07782257                              USD[0.00]

07782263                              TRX[.000002], USD[0.00]

07782279                              BF_POINT[100], BTC[.00971744], ETH[.0670956], ETHW[.06626112], SOL[1.26064145]                                                                                                         Yes

07782295                              BTC[.00000016], DOGE[2], ETH[0], NEAR[.00009201], NFT (370298363621722381/Entrance Voucher #4301)[1], SHIB[4], USD[0.00]                                                               Yes

07782303                              NFT (523266497218904487/Entrance Voucher #3375)[1]                                                                                                                                     Yes

07782333                              SOL[.00293339], USD[0.00]

07782335                              CUSDT[2], USD[0.00], USDT[0]                                                                                                                                                           Yes

07782337                              USD[0.10]

07782343                              LINK[.0496], SOL[0], USD[0.00]

07782344                              BRZ[28.78163725], CUSDT[1], TRX[268.68948571], USD[0.00]                                                                                                                               Yes

07782345                              BRZ[1], LINK[1.09971357], USD[0.00]                                                                                                                                                    Yes

07782349                              BTC[.00088013], USD[0.00]
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                                                                                                                                               Customer Claims                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07782354                              BTC[0], SOL[16.99763673], USD[0.12]

07782356       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.23222236]

07782363                              BAT[1], BCH[.00001475], BRZ[1], BTC[.00000141], DOGE[1], ETHW[1.02475805], MKR[.00000391], TRX[1], USDT[1.02543197]                                                              Yes

07782365                              SOL[2.78], USD[0.64]

07782379                              BTC[0.00000002], DOGE[1], ETH[.00000007], ETHW[.00000007], SHIB[3], SOL[0], USD[0.00]                                                                                            Yes

07782385                              BTC[0], USD[0.00]

07782413                              ETHW[.00228319], MATIC[0], SOL[.00138], USD[0.00], USDT[0.00000096]

07782442                              NFT (322564319594551505/Entrance Voucher #3432)[1], SHIB[83700], SOL[2.62], USD[300.00]

07782448                              BRZ[1], CUSDT[5], DOGE[1], USD[5.76]                                                                                                                                             Yes

07782459                              NFT (517365240575689045/Coachella x FTX Weekend 2 #5405)[1]

07782466                              SOL[.00000001], USD[0.09]

07782468                              BTC[0.00028881], EUR[0.00], USD[0.00]

07782472                              BTC[.00091016], USDT[4.929702]

07782478                              ALGO[17912.14745889], BAT[1], BRZ[3], DOGE[2], SHIB[5], SOL[247.09693184], TRX[4], USD[0.00]                                                                                     Yes

07782490                              USD[0.00]

07782491                              BRZ[1], SOL[0]                                                                                                                                                                   Yes

07782513                              TRX[45.05276247], USD[0.00]                                                                                                                                                      Yes

07782525                              LINK[6.493825], USD[0.34]

07782527                              ETH[.00078305], ETHW[0.00078304], USD[0.41]

07782548                              BTC[0], USD[0.00]

07782550                              BTC[0], USD[0.07]

07782554                              BCH[0], ETH[0], NFT (509569872067121445/Entrance Voucher #2004)[1], SOL[0], USD[0.00]

07782559                              USD[21.51]                                                                                                                                                                       Yes

07782560                              NFT (363796813078900896/Birthday Cake #0240)[1], NFT (372092738485752630/2974 Floyd Norman - OKC 5-0039)[1], NFT (428488181299332333/The 2974 Collection #0240)[1], USD[15.92]

07782561                              USD[0.65]

07782572                              BF_POINT[200], USD[20.00]

07782577                              BF_POINT[200]                                                                                                                                                                    Yes

07782590                              SOL[0], USDT[0.00000128]

07782592                              BTC[0], DOGE[0], USD[0.01], USDT[0]                                                                                                                                              Yes

07782594                              SOL[.00684], USD[1.38]

07782595                              TRX[.000001], USDT[.00070643]                                                                                                                                                    Yes

07782600                              USD[70.01]

07782603                              NFT (492807959093465819/Entrance Voucher #26916)[1], SOL[.00452592], USD[0.09]

07782614                              NFT (307354228769403245/Good Boy #15087)[1], NFT (540920300963608568/Humpty Dumpty #1114)[1]

07782618                              BTC[0], ETH[0], USD[8.03]                                                                                                                                                        Yes

07782619                              BAT[.24624334], ETH[18.716149], ETHW[18.716149], LTC[.00508789], USD[0.00], USDT[.22817318]

07782631                              USD[0.00]

07782643                              BRZ[1], DOGE[1], GRT[1], NFT (407007005305980687/FTX - Off The Grid Miami #1452)[1], TRX[2], USD[0.00], USDT[0.32334968]                                                         Yes

07782648                              CUSDT[9], DOGE[1], MATIC[535.07239653], SHIB[2], USD[0.00]                                                                                                                       Yes

07782673                              USD[1499.17]

07782674                              SOL[1.62821513], USD[0.00]

07782678                              SOL[0], USD[0.00], USDT[0.00000021]

07782682                              BAT[0], ETH[0], ETHW[0], USD[0.00], USDT[0.00000785]

07782689                              USDT[100]

07782698                              USD[0.00], USDT[165.45275136]

07782699                              ETH[0], SOL[0.00000834], USD[90.00]

07782703                              BTC[.00000503], SHIB[1], USD[23.16]                                                                                                                                              Yes

07782704                              TRX[.000002], USDT[.102263]

07782733                              USD[109.93]                                                                                                                                                                      Yes

07782748                              NFT (453191347084223936/Juliet #442)[1], NFT (571853115998418200/Romeo #1582)[1]

07782750                              USD[99.98]

07782751                              TRX[.000001]

07782752                              AAVE[.007813], BTC[0.00007050], ETH[.00032259], ETHW[.00086334], LINK[.01465517], MATIC[4.54658821], NFT (380279785953190930/2974 Floyd Norman - OKC 6-0150)[1], NFT
                                      (405357565753576351/Humpty Dumpty #388)[1], SOL[.02931], USD[253.77]
07782753                              BTC[0], ETH[0], ETHW[0], SOL[0], USD[0.00]

07782755                              LINK[1.4985], MATIC[29.97], UNI[1.0989], USD[0.65]

07782758                              BTC[.00002311], NFT (348698842818127038/Romeo #1213)[1], NFT (544402646377056962/Saudi Arabia Ticket Stub #1744)[1], USD[101.20]

07782777                              NFT (545850128153483868/Saudi Arabia Ticket Stub #2162)[1], USD[4.52]

07782778                              BAT[1], BRZ[1], SHIB[1], SOL[.07589446], TRX[1], USD[360.10]                                                                                                                     Yes
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                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07782792                           AVAX[1.47176459], BF_POINT[200], DOGE[2], GRT[1.00311166], MATIC[309.70099134], SHIB[4], SOL[59.98041011], TRX[2], USD[0.00]                                                           Yes

07782794                           USD[51.79]

07782798                           ETH[0], SOL[.00000001], USDT[0]

07782802                           SOL[0], TRX[.000001], USDT[0.00000097]

07782819                           TRX[97.902], USD[0.11]

07782822                           USD[2.90]

07782823                           ETHW[23.89787543], GRT[1.00200708], LINK[0], MATIC[15921.82022354], NFT (364672411587974839/Star Of David)[1], NFT (449988495718022573/Death of Reason)[1], NFT                        Yes
                                   (482565714676809839/Morning Meeting)[1], NFT (517451708606934040/Solanic Synesthesia #10)[1], TRX[3], USD[0.00], USDT[0]
07782825                           DOGE[0], SOL[0], TRX[0], USD[0.00]

07782833                           NFT (465286989928982796/Saudi Arabia Ticket Stub #2418)[1], SOL[.00079705], USD[0.00]

07782835                           DOGE[.742], SHIB[1000000], SOL[43.97471], USD[4.38], USDT[0]

07782836                           NFT (329380243663437372/Sun Set #185)[1], NFT (404636592433730985/Night Light #50)[1], USD[58.29]

07782843                           TRX[.000001], USD[0.00], USDT[0]

07782858                           USD[0.00]

07782862                           TRX[1], USD[0.00]                                                                                                                                                                      Yes

07782867                           USD[0.00], USDT[0]

07782868                           NFT (497674891858678798/Coachella x FTX Weekend 2 #4504)[1]

07782883                           USD[0.00]

07782891                           AVAX[272.444], BTC[4.56434], USD[124.00]

07782899                           USD[0.00]

07782903                           BRZ[1], CUSDT[1], MATIC[.00079505], TRX[1], USD[0.00]                                                                                                                                  Yes

07782906                           SOL[0], USD[0.00]

07782910                           USD[500.01]

07782932                           BTC[.0210789], UNI[40.76], USD[1.18]

07782935                           AAVE[.01444628], CUSDT[4], NFT (366588494371257554/Entrance Voucher #3185)[1], SOL[.03343606], USD[0.75]                                                                               Yes

07782936                           USD[0.00]

07782938                           BCH[.00516218], BRZ[11.64174332], BTC[.00012955], CAD[0.25], CUSDT[430.4214044], DAI[3.26655289], DOGE[63.95323178], ETH[.00199908], ETHW[.00197172], LTC[.01153714],                  Yes
                                   SOL[.19757239], TRX[23.63921342], USD[0.53]
07782957                           SOL[.324685]

07782958                           USD[1.33]

07782961                           SOL[.00195635], USD[8.01]

07782969                           NFT (392207150973861518/FTX - Off The Grid Miami #150)[1], NFT (513974433062750771/You in, Miami? #236)[1], SHIB[2], USD[114.52]                                                       Yes

07782972                           BCH[.01048866], BTC[.00011013], CUSDT[1], DOGE[15.1869899], ETH[.00111315], ETHW[.00109947], GBP[0.01], LINK[.07621566], LTC[.01584548], PAXG[.00668127], SOL[.02878122], USD[0.30],   Yes
                                   USDT[3.82359016], ZAR[20.58]
07782978                           NFT (449309659198067535/Miami Ticket Stub #708)[1], TRX[.000001]

07782983                           AAVE[.38519588], DOGE[1], USD[0.00]                                                                                                                                                    Yes

07782984                           DOGE[2], USD[0.42], USDT[1.0031809]

07782986                           ETH[1.11398734], ETHW[1.06677695], SOL[30.10053418], USD[0.00]

07782994                           USD[14.00]

07782995                           USD[2.29]

07783005                           BTC[.000078], GBP[100.00], NFT (447471449425284841/Entrance Voucher #25350)[1], SOL[10.16574466], USD[0.00], USDT[0.05213356]

07783006                           CUSDT[4], DOGE[2], SOL[.00003856], TRX[77.81906601], USD[0.03], USDT[0.00429376]                                                                                                       Yes

07783009                           AAVE[0.02051541], AVAX[0], BAT[0], BCH[0], BRZ[0], BTC[0], CUSDT[0], DOGE[4.63090362], ETH[0], ETHW[0], GRT[1.01007506], LTC[0], MATIC[1.51656085], NFT (309497654721231108/DOTB       Yes
                                   #4580)[1], NFT (331758622786853079/DOTB #7233)[1], NFT (349349377768625779/DOGO-IN-500 #1161)[1], NFT (389703794496951157/APEFUEL by Almond Breeze #398)[1], NFT
                                   (390497534111693556/Saudi Arabia Ticket Stub #630)[1], NFT (475373070297505768/Rogue Circuits #4694)[1], NFT (482021871408429313/Barcelona Ticket Stub #1524)[1], NFT
                                   (496424817353692038/APEFUEL by Almond Breeze #40)[1], NFT (540055157289663524/DOTB #4279)[1], NFT (543680615207127744/#14)[1], SHIB[57319.91000323], SOL[1.88605648], SUSHI[0],
                                   USD[20.02], USDT[0.70000025]
07783016                           AAVE[0], ETH[.00194705], ETHW[.00191969], SOL[.09375114], USD[0.00]                                                                                                                    Yes

07783025                           USD[0.03]

07783029                           BTC[0.00040045], DOGE[2106], ETH[.071928], ETHW[.071928], MATIC[99.9], SHIB[27987300], SUSHI[10], TRX[2016], USD[5.29]

07783030                           SOL[0]

07783035                           USD[20.00]

07783039                           NFT (325148651032993305/Doak Walker's Playbook: Texas vs. SMU - November 1, 1947 #59)[1], USD[0.00], USDT[0.00000121]

07783052                           SOL[2.659995], USD[1.54]

07783053                           BTC[0], SOL[0], USD[0.41]

07783054                           BRZ[1], CUSDT[3], NFT (297377612002281898/Bahrain Ticket Stub #670)[1], NFT (365701259222124282/Birthday Cake #1863)[1], NFT (416867982659578629/Warriors Gold Blooded NFT #541)[1],   Yes
                                   NFT (426954996428763682/2974 Floyd Norman - CLE 1-0091)[1], NFT (443971494356136171/The 2974 Collection #1384)[1], NFT (555668206639793304/2974 Floyd Norman - CLE 4-0215)[1],
                                   SHIB[1], SOL[0.01532640], USD[0.01], USDT[0.00992275]
07783055                           ETH[0], NFT (497291527484272615/ApexDucks #1481)[1], USD[0.00], USDT[0]

07783058                           DOGE[1], NFT (532091964297310544/GalaxyKoalas # 264)[1], SHIB[11000015.3235876], SOL[11.21214901], TRX[1], USD[239.06]                                                                 Yes

07783060                           USD[1.16]

07783062                           AAVE[.008575], USD[108.97]

07783063                           NFT (352586542439085898/Barcelona Ticket Stub #961)[1]
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07783084                           DOGE[.2577184]                                                                                                                                                                           Yes

07783096                           BRZ[1], DOGE[3], ETH[.44319349], ETHW[.44300719], NFT (338571741384797795/Coachella x FTX Weekend 1 #10239)[1], SHIB[2], SOL[.01372536], TRX[2], USD[0.13]                               Yes

07783097                           ETH[1.39521192], ETHW[1.39462588], SOL[3.03042362], TRX[2], USD[8.34]                                                                                                                    Yes

07783098                           NFT (334297208821063201/GSW Championship Commemorative Ring)[1], NFT (394057889795074667/GSW Western Conference Semifinals Commemorative Ticket #637)[1], NFT
                                   (406670754757527739/Warriors Logo Pin #237 (Redeemed))[1], NFT (499031515596972763/GSW Western Conference Finals Commemorative Banner #1199)[1], NFT (572741183130579679/GSW
                                   Western Conference Finals Commemorative Banner #1200)[1], USD[0.32]
07783101                           ETH[.00000135], ETHW[.00000135], LINK[3.83940843], TRX[1]                                                                                                                                Yes

07783105                           USD[0.00]

07783112       Contingent,         BRZ[1], BTC[0], DOGE[1], ETH[.00004801], SHIB[14], USD[913.32], USDT[0]                                                                                                                  Yes
               Unliquidated
07783117                           SOL[1.05], USD[0.44], USDT[.5816]

07783121                           NFT (487034899205877460/FTX - Off The Grid Miami #1125)[1]                                                                                                                               Yes

07783123                           BRZ[1], DOGE[1], ETH[0], MATIC[0], SHIB[3], SOL[0.47460518], USD[0.00], USDT[0]                                                                                                          Yes

07783125                           CUSDT[5], LINK[.71006769], LTC[.11741774], MATIC[15.78247932], SOL[.13485165], SUSHI[1.5945657], USD[273.53]                                                                             Yes

07783126                           USD[0.00]

07783130                           BAT[1], ETH[1.09258779], ETHW[1.09258779], USD[0.00]

07783138                           SOL[.00228], USD[1.00]

07783139                           CUSDT[1], SHIB[3106147.85647823], USD[0.00]                                                                                                                                              Yes

07783141                           ETH[0.08392375], ETHW[0.08392374], NFT (540249000355410551/Coachella x FTX Weekend 1 #13669)[1], SOL[2.46497884], SUSHI[0], USD[25.14]

07783144                           DOGE[1], USD[0.00]                                                                                                                                                                       Yes

07783151                           USD[0.64]                                                                                                                                                                                Yes

07783152                           BAT[1], BRZ[5.06404324], CUSDT[12], DOGE[9.2456051], ETH[0], GRT[1], NFT (321649976617931865/Bahrain Ticket Stub #143)[1], NFT (434832009887536220/Coachella x FTX Weekend 2             Yes
                                   #8081)[1], SHIB[5], SOL[0], TRX[8], USDT[3.20569233]
07783160                           CUSDT[10], USD[0.00], USDT[0]                                                                                                                                                            Yes

07783188                           BRZ[1], CUSDT[2], LINK[0], USD[0.88]                                                                                                                                                     Yes

07783195                           SOL[0], USD[1.47]

07783201                           ETH[0], USD[0.00]

07783206                           CUSDT[1], GRT[1.00367791], LINK[20.51887622], NFT (328761909750194936/Imola Ticket Stub #1945)[1], USD[0.00]                                                                             Yes

07783208                           USD[0.00]

07783210                           BTC[.00002657], USD[0.00]

07783211                           BTC[0], NFT (338368129737706966/Space Dream #16)[1], NFT (361740626808190460/Primitive #13)[1], NFT (379547459117986962/Breach Beach )[1], NFT (413653614879374377/Dystopian Tree)[1],
                                   NFT (555136883164087976/Scintillation St.)[1], USD[0.35], USDT[0]
07783223                           USD[1.27]

07783233                           TRX[526.23804305], USD[0.01]                                                                                                                                                             Yes

07783240                           BTC[.0000987], USD[0.09], USDT[.37255415]

07783242                           SOL[.00000001], USD[0.26]

07783252                           BRZ[1], DOGE[2], LINK[19.63813833], MATIC[236.74893439], USD[0.00]                                                                                                                       Yes

07783263                           BTC[0], USD[0.00]

07783271                           BAT[1], CUSDT[1], SHIB[1], TRX[1], USD[0.00]                                                                                                                                             Yes

07783285                           BCH[0], DOGE[0], USD[0.01]                                                                                                                                                               Yes

07783287                           BTC[0], DOGE[0], ETH[0], EUR[0.00], GBP[0.00], PAXG[0], USD[0.00], USDT[0]

07783294                           SOL[.00309908], USD[0.00]

07783300                           NFT (466872460717113439/Entrance Voucher #2911)[1], SOL[0.00058779], TRX[1], USD[0.56]

07783305                           NFT (313470484664220681/6385)[1], NFT (498204723866282179/Cool Bean #149)[1], NFT (533944795953216698/7130)[1], NFT (554508249472501671/7458)[1], TRX[106], USD[1.04],
                                   USDT[0.54832475]
07783314                           DOGE[1], SHIB[1], USD[0.00]

07783319                           USD[20.00]

07783323                           BTC[0], USD[4.44]

07783345                           CUSDT[7], TRX[1], USD[0.00], USDT[0]

07783351                           SOL[0], USD[0.02]

07783353                           BTC[0.00337938]

07783354                           LINK[.06913135], USD[2.96], USDT[1.2526764]

07783361                           BTC[0], NFT (548501299190109208/Australia Ticket Stub #1232)[1], USD[0.17]

07783364                           ETH[.02], ETHW[.02], USD[0.69]

07783365                           USD[14.12]

07783373                           DOGE[1], ETHW[1.05458112], NFT (461417889309461833/Coachella x FTX Weekend 1 #17892)[1], USD[115.38]

07783374                           BRZ[.30165471], CUSDT[5], DOGE[89.95120358], GBP[5.60], SHIB[853316.43930157], USD[0.00]                                                                                                 Yes

07783375                           ETH[.00000003], TRX[.001482], USD[0.99], USDT[0.00000002]

07783376                           USD[0.10]

07783386                           BRZ[1], USD[0.03]                                                                                                                                                                        Yes

07783390                           TRX[1349.933814]

07783393                           USD[5.00]
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                                                                                                                                            Customer Claims                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07783400                           CUSDT[3], DOGE[1], GRT[1.00367791], TRX[1], USD[0.00], USDT[0]                                                                                                                  Yes

07783401                           BTC[.00071002], USD[0.55]

07783406                           BTC[.07825035], CUSDT[1], DOGE[1], SHIB[52862463.45298677], SOL[7.26450987], USD[0.01]                                                                                          Yes

07783408                           ETHW[2.882613], USD[1.66]

07783416                           USD[85.00], USDT[3.92207542]

07783427                           SHIB[43143.87665198], USD[0.00]

07783429                           USD[105.00]

07783431                           ETH[.00001925], ETHW[0.00001925], USD[14.13], YFI[.004]

07783435                           USD[20.00]

07783443                           SOL[0], USD[2.13]

07783447                           AUD[4.45], BCH[.01608145], BRZ[62.47128071], BTC[.000198], CUSDT[1], DAI[18.58231615], DOGE[41.85319212], ETH[.00313708], ETHW[.00309604], GBP[3.99], PAXG[.00598412],          Yes
                                   TRX[83.81673509], USD[1.29]
07783452                           USD[1.35]

07783458                           USD[0.01], USDT[0]                                                                                                                                                              Yes

07783468                           BTC[.00000677]                                                                                                                                                                  Yes

07783471                           USD[50.00]

07783476                           USD[0.38]

07783477                           NFT (302567289043685003/Warriors 75th Anniversary City Edition Diamond #170)[1]

07783501                           BTC[0.00001887], SUSHI[724.639], USD[0.47]

07783503                           DAI[1.52663859], USD[0.00], USDT[0]

07783505                           SOL[0]

07783506                           USD[1.00]

07783509                           USD[0.00]

07783518                           USD[2.37], USDT[.00567884]

07783519                           NFT (304253543716055771/Entrance Voucher #2661)[1], USD[2.02]

07783523                           NFT (533151174263168628/Gloom Punk #5569)[1], NFT (540746239718800455/Gloom Punk #7687)[1], NFT (563383666279921864/ALPHA:RONIN #713)[1], SHIB[299715], SOL[.51262633],
                                   TRX[499.525], USD[20.72], USDT[21.84590607]
07783526                           AVAX[.27354063], USD[0.00], USDT[0]

07783533                           CUSDT[2], USD[29.74]                                                                                                                                                            Yes

07783540                           CUSDT[1], DOGE[1], GRT[1.00367791], SHIB[2], USD[43.75], USDT[1.09845895]                                                                                                       Yes

07783543                           BTC[0], ETH[0.00247418], ETHW[0.00247418], USD[0.00]

07783545                           USD[20.00]

07783560                           ETHW[1.48394995], SHIB[4], USD[0.00], USDT[0]

07783571                           SOL[.005], USD[0.00]

07783572                           USD[0.16]

07783596                           USD[20.00]

07783599                           USD[0.00]

07783603                           BF_POINT[100], CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                     Yes

07783616                           BTC[.00052841], CUSDT[1], USD[0.00]                                                                                                                                             Yes

07783635                           BAT[10.989], USD[0.14], USDT[0]

07783636                           USD[0.00], USDT[0]

07783639                           ETH[.000375], ETHW[.000375], USD[1.36]

07783642                           DOGE[1], SUSHI[.0082732], TRX[1], UNI[17.55519365], USD[0.00]                                                                                                                   Yes

07783646                           BAT[1], CUSDT[2], DOGE[10.07058044], SHIB[2], TRX[3.011377], USD[0.01], USDT[0.02831180]                                                                                        Yes

07783652                           BCH[.01940035], BRZ[5.76717532], CUSDT[100.43355143], DAI[2.17298563], DOGE[10.26827319], ETH[.00346886], ETHW[.00342782], LINK[.42503705], SOL[.07262354], TRX[25.52304012],   Yes
                                   USD[0.53]
07783660                           BTC[.00001912], USD[4.34]

07783670                           CUSDT[2], ETH[.03601645], ETHW[.0355657], NFT (402079014501262823/Coachella x FTX Weekend 2 #15174)[1], SUSHI[10.38692949], USDT[0.00117972]                                    Yes

07783671                           CUSDT[560.99773815], GRT[11.78709953], SUSHI[1.15575713], USD[0.00]                                                                                                             Yes

07783681                           BTC[0.00000086], ETHW[.214496], LINK[.0006414], LTC[0], USD[0.10]                                                                                                               Yes

07783701                           SOL[.00000001], USD[0.00], USDT[0]                                                                                                                                              Yes

07783707                           USD[1.44]

07783720                           AVAX[1.05730815], BRZ[1], BTC[.00000007], DOGE[2], ETHW[.32424668], GRT[1], SHIB[17], SOL[.37400504], TRX[3], USD[0.00], YFI[.00227434]                                         Yes

07783723                           BTC[0.00013350], USD[0.63], USDT[1.8100143]

07783727                           SOL[.03794072], USDT[0.00000146]

07783737                           ETH[.216], ETHW[.216], SOL[23.94055], USD[2213.39]

07783738                           CUSDT[13], DOGE[4.02153712], ETH[.11596098], ETHW[.11483545], LINK[3.41921401], TRX[1], USD[0.00]                                                                               Yes

07783751                           PAXG[0.00009874]

07783756                           CUSDT[1], DOGE[1], ETH[.0305696], ETHW[.03018656], SOL[3.89032514], USD[0.00]                                                                                                   Yes

07783763                           SOL[0], USD[0.00]
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                                                                                                                                               Customer Claims                                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07783770                              USD[0.07]                                                                                                                                                                         Yes

07783778                              BRZ[3], BTC[.30643865], CUSDT[1], DOGE[3], ETH[.50749973], ETHW[.51727915], SHIB[1669.21312015], TRX[5], USD[333.28], USDT[1.02543197]                                            Yes

07783785                              SOL[0], USD[5.61]

07783794                              USD[21.51]                                                                                                                                                                        Yes

07783804                              USD[2000.00]

07783812                              USD[0.00]

07783818                              USD[6.65]

07783823                              USD[0.01]                                                                                                                                                                         Yes

07783824                              BRZ[1], CUSDT[2], DOGE[3], ETH[.95869771], ETHW[.95829519], SHIB[1], SOL[27.08006428], USD[0.01]                                                                                  Yes

07783827                              AVAX[74.0259], SOL[0], USD[2.76]

07783829                              BTC[.00000001], USD[0.00]

07783839                              BRZ[1], CUSDT[2], MATIC[.00003429], USD[0.00]                                                                                                                                     Yes

07783842                              BRZ[3], CUSDT[2], DOGE[2], ETH[.00390001], ETHW[0.00384529], GRT[537.83575344], LINK[17.59690077], SOL[.71710718], TRX[2], USD[0.00], USDT[0.00000015]                            Yes

07783848       Contingent, Disputed   BTC[.00000003], DOGE[0], GRT[0], LINK[0], SHIB[0], SOL[0], TRX[0], USD[0.00]

07783857                              AAVE[0], BCH[.21390566], CUSDT[0], DOGE[0], ETH[0], SHIB[1], SOL[0], SUSHI[0], USD[0.00]                                                                                          Yes

07783860       Contingent, Disputed   BTC[0], USD[0.01]

07783877                              USDT[0.00000144]

07783881                              NFT (561031316481732591/Bahrain Ticket Stub #1836)[1], SOL[.41702], USD[0.45]

07783882                              USD[0.00]                                                                                                                                                                         Yes

07783885                              BTC[0], USD[502.00]

07783888                              BAT[1.00529769], CUSDT[1], SOL[.00000001], TRX[1], USD[0.00], USDT[0]                                                                                                             Yes

07783901                              BTC[0], ETH[0], LINK[0], MATIC[0], SOL[0], USD[0.01]

07783911                              USD[0.00]

07783923                              BTC[0], USD[0.00]

07783925                              USD[0.00]

07783938                              AVAX[0], BF_POINT[500], BTC[0], CUSDT[17], DOGE[0], ETH[0], NFT (417467109082124356/Astral Apes #1786)[1], SHIB[11], SOL[0], TRX[3], USD[0.01], USDT[1.04686388]                  Yes

07783943                              NFT (304749659969397024/Entrance Voucher #2257)[1]

07783945                              BCH[1.81270348], BTC[.00326607], DOGE[494.12669977], ETH[.01705041], ETHW[.01684035], LINK[27.07128577], LTC[3.98878557], MKR[.02021943], SHIB[967118.7982584], SOL[6.6524259],   Yes
                                      SUSHI[4.93060069], UNI[7.37069605]
07783947                              ETH[.0000036], ETHW[.0775531]                                                                                                                                                     Yes

07783949                              SHIB[62253300], SOL[232.806935], USD[3.27]

07783952                              ETH[.01], ETHW[.01], USD[0.00], USDT[.005321]

07783959                              USD[1.66]

07783963                              USD[0.00]

07783964                              BTC[.00068791], TRX[2], USD[0.00]                                                                                                                                                 Yes

07783966                              ETHW[.00064338], LINK[0], USD[0.00]

07783969                              BRZ[1], DOGE[1], USD[0.01], USDT[5.16824751]                                                                                                                                      Yes

07783970                              BRZ[1], BTC[0], DOGE[2], SHIB[1], SUSHI[1.09784507], USD[0.00]                                                                                                                    Yes

07783982                              BRZ[1], CUSDT[2], DOGE[1], NFT (477853769923685248/Magic Eden Pass)[1], SHIB[1], SOL[1.30268566], USD[0.00], USDT[1.01334846]                                                     Yes

07783983                              BCH[0], BF_POINT[200], GBP[0.00], LTC[0], USD[0.00], USDT[0]                                                                                                                      Yes

07783994                              USD[0.00]

07784001                              BRZ[1], CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                              Yes

07784012                              BTC[0.00000001]

07784024                              USD[5.01]

07784028                              CUSDT[6], DOGE[2.00003449], ETH[0], NFT (554226067734881163/Romeo #773)[1], SHIB[1], TRX[207.70655692], USD[0.00]                                                                 Yes

07784029                              USD[0.00]

07784030                              BTC[.00042676], CUSDT[5], DOGE[129.61410684], ETH[.03379911], ETHW[.03337576], SHIB[1301880.95997893], SOL[.13742145], USD[0.01]                                                  Yes

07784033                              SOL[.00025958], USD[0.00]                                                                                                                                                         Yes

07784034                              BF_POINT[100], NFT (422112497636688240/Coachella x FTX Weekend 2 #25072)[1], NFT (539863451532286992/Night Light #398)[1], USD[15.00], USDT[0.00000081]

07784039                              BRZ[1], BTC[.0814859], CUSDT[5], DOGE[2], GRT[1], TRX[3], USD[0.00]

07784041                              SOL[2.19924638]                                                                                                                                                                   Yes

07784048                              CUSDT[2], USD[0.00], USDT[21.96220282]                                                                                                                                            Yes

07784052                              ETH[3.00516479], ETHW[3.00516479], USD[0.00]

07784070                              SOL[0.00939100], TRX[.000049], USD[0.00], USDT[2.38837061]

07784080                              SHIB[10000000], SOL[46.83776957], USD[3.19]

07784086                              ETH[.00837823], ETHW[.00837823], SOL[1.37515732], USD[100.02]

07784087                              BTC[0], ETH[0], USD[0.00], USDT[0.46000000]

07784091                              USD[4.58]

07784093                              USDT[.00003262]                                                                                                                                                                   Yes
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                                                                                                                                               Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07784095                              ETH[3.28286975], ETHW[3.28149093]                                                                                                                                                       Yes

07784103                              UNI[.00173235]                                                                                                                                                                          Yes

07784109                              CUSDT[9], DOGE[1], SHIB[2], SOL[0], USD[0.00]                                                                                                                                           Yes

07784125                              ETH[.00000001], ETHW[.0478256], LINK[2.9973], MATIC[9.919], NFT (334252545220230925/Entrance Voucher #2532)[1], NFT (472021674450998410/Australia Ticket Stub #2298)[1], SHIB[97120],
                                      UNI[4], USD[0.00], USDT[0.00000001]
07784132                              USD[0.01]

07784141                              USD[21.51]                                                                                                                                                                              Yes

07784143                              DOGE[1], SHIB[1], USD[0.00]

07784147                              USD[0.00]

07784157                              BTC[0], CUSDT[4], SOL[.00000365], TRX[2], USD[0.00]                                                                                                                                     Yes

07784161                              DOGE[.65039945], USD[0.06], USDT[.74037689]

07784163                              AVAX[.00002282], NFT (302731303245670680/ApexDucks #3196)[1], NFT (359765615059372210/Ex Populus Trading Card Game)[1], SHIB[1], SOL[.00001357], USD[0.00]                              Yes

07784173                              USD[27.48]                                                                                                                                                                              Yes

07784174                              SOL[.00000364], USD[0.00]

07784175                              SOL[.00795], USD[0.23]

07784180                              USD[0.00]

07784182                              ETH[.15094271], ETHW[.15094271], USD[0.00]

07784185                              BTC[.00000117], LTC[.00003474]                                                                                                                                                          Yes

07784186                              USD[549.63]                                                                                                                                                                             Yes

07784189                              LTC[.6680188], SOL[4.13857319], USD[0.00]

07784191       Contingent, Disputed   BTC[.00020191]

07784202                              BTC[0], MATIC[0], SOL[0], USD[1570.61], USDT[0]                                                                                                                                         Yes

07784206                              USD[0.01]

07784218                              ETH[.02], ETHW[.02]

07784221                              BRZ[1], CUSDT[1], USD[0.01]

07784235                              SOL[0], USDT[0.00000013]

07784238                              SOL[0], USD[0.00]

07784247                              SHIB[1], USD[0.00]                                                                                                                                                                      Yes

07784250                              BTC[0], ETH[0], ETHW[0], SOL[0], USD[0.00]

07784254                              TRX[.985697], USDT[369.69821172]

07784262                              CUSDT[1], USD[0.30]

07784266                              SOL[.00000001]

07784270                              USD[2.31]

07784274                              SOL[0]

07784276                              BTC[.000269], USD[0.00]                                                                                                                                                                 Yes

07784279                              USD[10.99]                                                                                                                                                                              Yes

07784285                              NFT (563418970385203389/Humpty Dumpty #1669)[1], USD[0.00]

07784286                              BTC[0], ETH[0], ETHW[0], GRT[0], USD[0.00]                                                                                                                                              Yes

07784293                              BTC[0.00000836], USD[540.76]

07784296                              USD[0.00], USDT[.23821411]

07784308                              ETH[0], SOL[0], USD[0.67]

07784320                              BRZ[1], SOL[2.24388367], USD[8.31]                                                                                                                                                      Yes

07784321                              NFT (386230096892942249/Exotic Introductions)[1], USD[0.56]

07784327                              ETHW[.51583999], SOL[0], USD[0.00]

07784329                              ETH[0], USD[0.00]

07784331                              ETH[.00021532], ETHW[1.57221532], LINK[.01274692], MATIC[.00004397], SOL[.00164482], UNI[.01042365], USD[0.50], USDT[0]

07784339                              BTC[0], ETH[0]                                                                                                                                                                          Yes

07784351                              NFT (561807308101594268/Coachella x FTX Weekend 1 #26192)[1]

07784354                              BRZ[3], BTC[.00000019], CUSDT[19], DOGE[4], ETH[.15727073], ETHW[.40564047], TRX[481.63128171], USD[66.74]                                                                              Yes

07784355                              ETH[0.00000001], NEAR[0], NFT (470699816811846258/Australia Ticket Stub #1981)[1], NFT (475825395600260710/FTX - Off The Grid Miami #5595)[1], SHIB[6], SOL[0], USD[0.02]

07784357                              CUSDT[10], GRT[.00018124], LINK[.00004789], SOL[.00000001], USD[0.01]

07784358                              BTC[.01784413]                                                                                                                                                                          Yes

07784363                              BRZ[4], CUSDT[11], DOGE[9.06234765], ETH[.11252493], ETHW[.11162293], GRT[2.00224051], SHIB[4], SOL[25.60539118], TRX[10], USD[22.14]                                                   Yes

07784379                              USD[3.06]

07784380                              BTC[0], SOL[0], USD[0.01], USDT[0.00004307]

07784388                              CUSDT[3], DOGE[1], TRX[2], USD[0.01], USDT[1]

07784401                              USD[10.95]                                                                                                                                                                              Yes

07784404                              ALGO[1354.36164236], AVAX[6.06760513], BAT[1], BRZ[7.00370874], BTC[.06591796], CUSDT[494.20461516], DOGE[20.09260611], ETH[1.24652503], GRT[2380.41260769], LINK[28.46452324],         Yes
                                      MKR[.19940918], SHIB[384], SOL[38.23374161], SUSHI[119.65955182], TRX[11], UNI[13.66070649], USD[-202.80], USDT[10.98038972]
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                                                                                                                                               Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07784405                              BTC[.00048684], CUSDT[4], DOGE[37.87658195], ETH[.00272938], ETHW[.00270202], GRT[11.8420323], LINK[.35136181], LTC[.05120068], SHIB[179999.04566024], SOL[.07336233], TRX[1],         Yes
                                      USD[7.42]
07784414                              DOGE[.21], ETH[.00031736], USD[4.03], USDT[0]

07784415                              CUSDT[1], DOGE[128.92421191], KSHIB[588.96245617], SHIB[725575.59351760], TRX[1]                                                                                                       Yes

07784421                              BRZ[1], ETH[.07564396], ETHW[.07564396], SOL[1.22505173], TRX[1], USD[0.00]

07784428                              BTC[.03322145], SOL[8.33166], USD[0.00]

07784431                              DOGE[1], TRX[1], USD[0.00], USDT[0.00226495]                                                                                                                                           Yes

07784437                              ETH[0], NFT (570871346231895009/2974 Floyd Norman - CLE 1-0017)[1], SOL[0], USD[0.00]

07784439                              USD[0.11], USDT[.11904882]

07784445                              LINK[18.4815], USD[504.02]

07784449       Contingent, Disputed   BCH[0], BTC[0.00000001], DOGE[0], ETH[0.00000001], LTC[0], MATIC[0], TRX[.000001], USD[0.00], USDT[0.00089962]

07784457                              USD[21.03]                                                                                                                                                                             Yes

07784459                              TRX[282.53851567], USD[0.00]                                                                                                                                                           Yes

07784464                              USD[20.00]

07784465                              BTC[.0001729], USD[7430.59]                                                                                                                                                            Yes

07784470                              USD[11.91]

07784473                              BTC[.00334], DOGE[5154.22]

07784474                              USD[0.01]

07784477                              BRZ[1], BTC[.03870728], CUSDT[117.43280102], DOGE[11.44726554], ETH[.61867234], ETHW[.61841244], MATIC[.19720792], SHIB[22], SOL[22.90959816], TRX[17.92931092], USD[2.26]             Yes

07784478                              SOL[4.306121], USD[0.20]

07784480                              CUSDT[1], USD[0.01]                                                                                                                                                                    Yes

07784483                              BAT[1.0064427], BRZ[9.64525527], CUSDT[27], ETHW[2.17288061], GRT[1], KSHIB[9661.72994597], SUSHI[.00068873], TRX[.07193839], USD[0.00]                                                Yes

07784484                              ETH[.00000001], ETHW[0], SOL[0]

07784489                              AAVE[.00000001], BAT[1], BRZ[2], CUSDT[3], DOGE[5], GRT[1.00270867], MATIC[1.00015521], SHIB[3], SOL[.00018304], SUSHI[.00000001], TRX[5], USD[7541.49], USDT[0], YFI[.00000001]       Yes

07784498                              USD[3.05]                                                                                                                                                                              Yes

07784499                              SHIB[700000], USD[289.60]

07784500                              USD[0.00], USDT[0]

07784518                              BTC[.000901], USD[1.64]

07784525                              BTC[.00005142], SOL[.11921], USD[0.77]

07784527                              AAVE[4.18653], BTC[.1304904], ETH[.150998], ETHW[.150998], LINK[20.0799], SOL[2.26773], USD[4.58], USDT[3.3000944]

07784528                              USD[109.79]                                                                                                                                                                            Yes

07784530                              DOGE[1], ETH[.00000001], ETHW[0]                                                                                                                                                       Yes

07784532                              DOGE[.963], SOL[.00662012], USD[0.59], USDT[.007304]

07784543                              NFT (507749308809213365/Miami Ticket Stub #270)[1]

07784552                              BRZ[5.02701325], CUSDT[6], SHIB[1942971.11216454], SUSHI[1.04081048], TRX[1], USD[244.93]                                                                                              Yes

07784557                              BAT[8.46032912], BRZ[4], BTC[0.00000384], CUSDT[5], ETH[0.48300323], ETHW[23.50365073], GRT[2.02187951], LINK[.00720234], MATIC[260.19463824], NFT (292346342486484826/The Greatest Yes
                                      )[1], NFT (300869846031359662/LA Memorial Coliseum)[1], NFT (308959347147355735/Tattooed Woman)[1], NFT (320606477886087527/Carmen #25)[1], NFT (326824398468324313/Infinity #36)[1],
                                      NFT (329110618962297638/FTX Dream #12)[1], NFT (332026218069172915/Lift )[1], NFT (338539675923661506/Max out )[1], NFT (371978826936185834/Sand Daisy 1)[1], NFT
                                      (379565266099952920/Generative art #8)[1], NFT (414691797406737082/AI-generated landscape #41)[1], NFT (423551830328536275/Shhhh)[1], NFT (428157554244047219/Marcus Allen's Playbook:
                                      Seattle Seahawks vs. Los Angeles Raiders - October 7, 1984 #56)[1], NFT (428519248944662275/Infinity #33)[1], NFT (452800124203257615/Always clean )[1], NFT (457649197840924702/Tim
                                      Brown's Playbook: Michigan State vs. Notre Dame - September 19, 1987 #42)[1], NFT (458762165926291192/Lace)[1], NFT (481445407326817366/Doak Walker's Playbook: Cleveland Brown vs. Detroit
                                      Lions - December 27, 1953 #76)[1], NFT (494710486969143220/His Majesty)[1], NFT (504676018326910506/Dream Land #2)[1], NFT (505484328647355272/Transparent Woman #7)[1], NFT
                                      (506625241045528574/Sand Daisy 2)[1], NFT (510686792359780957/Untitled (Blessed) #4)[1], NFT (511006292966551629/Freddy M.)[1], NFT (518249459514855490/Marcus Allen's Playbook: Seattle
                                      Seahawks vs. Los Angeles Raiders - October 7, 1984 #57)[1], NFT (519682332551581022/Fernandes)[1], NFT (521190998585913293/Mech #2652)[1], NFT (532830841236534715/The Girls)[1], NFT
                                      (533814289058010744/CryptoAvatar #60)[1], NFT (546052061635891266/AI-generated landscape #34)[1], NFT (547214652433260603/Golden Beuty #002)[1], NFT (552674447063939871/Marcus
                                      Allen's Playbook: Los Angeles Raiders vs. Washington - January 22, 1984 #62)[1], NFT (555193027106601947/Anime #39)[1], NFT (565757078545397988/Our World #0025)[1], NFT
                                      (570487412001097390/Topgolf )[1], NFT (575015608279136057/Necessity )[1], PAXG[.00000001], SOL[0], SUSHI[2.1093069], TRX[15.42097756], UNI[.00502747], USD[0.00], USDT[0]

07784560                              ETH[.071], ETHW[.071], NFT (417190544267847514/FTX Crypto Cup 2022 Key #339)[1], NFT (426452227756713713/Japan Ticket Stub #163)[1], NFT (454053006936201154/Austin Ticket Stub
                                      #25)[1], SOL[.17355], USD[1.30]
07784562                              NFT (442885381752465412/Doak Walker's Playbook: SMU vs. Santa Clara - September 27, 1947 #45)[1], USD[0.32], USDT[0.00000001]                                                          Yes

07784566                              BRZ[2], CUSDT[5], SHIB[3], SOL[.04913706], USD[0.00]                                                                                                                                   Yes

07784581                              USD[110.00]

07784586                              BTC[0], ETH[0], ETHW[0], LINK[0], MATIC[9.88907190], SOL[0.04108755], USD[0.61], USDT[0]

07784590                              DOGE[0], MATIC[0], USD[0.00]

07784592                              BTC[0.01764432], ETH[0.12447080], ETHW[0.11347080], SOL[1.06862130], USD[3542.09], USDT[0]

07784595                              BTC[.00339473], CUSDT[9854.02602279], DOGE[747.61777192], ETH[.21358684], ETHW[.21337039], SHIB[7398978.95341183], TRX[3], USD[3.35]                                                   Yes

07784597                              USD[0.00]

07784603                              BTC[.00006859], LINK[.09678641], SOL[.006542], USD[0.00], USDT[.005619]

07784604                              BTC[0], ETH[0]

07784606                              USD[0.00]

07784608                              TRX[.000123], USD[427.27], USDT[.00249]

07784614                              ETHW[.096], USD[2.01], USDT[.00089312]

07784615                              SOL[.1]
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07784621                           USDT[0]

07784625                           DAI[.00000001], ETH[.00000001], ETHW[0], USD[0.00]                                                                                                                                      Yes

07784627                           SHIB[1], USD[0.00]                                                                                                                                                                      Yes

07784644                           BTC[.00000001], USD[0.00]                                                                                                                                                               Yes

07784655                           BRZ[4], BTC[.00000254], DOGE[9.01859444], ETH[0], GRT[2], SHIB[11], TRX[6.000463], USD[0.00], USDT[1.02543227]                                                                          Yes

07784657                           SOL[0], USD[2.68], USDT[0]

07784658                           CUSDT[1], DOGE[1], TRX[1], TRY[0.42], USD[0.00]

07784661                           CUSDT[2], DOGE[1], SOL[3.47440194], USD[0.01]                                                                                                                                           Yes

07784664                           BTC[.000048]                                                                                                                                                                            Yes

07784673                           USD[0.01], USDT[0.00000001]

07784675                           BAT[2], DOGE[2], ETHW[4.63025919], MATIC[1], SHIB[2], TRX[3], USD[0.00]

07784678                           CUSDT[2], DOGE[1], USD[0.00], USDT[0]

07784679                           BAT[2.07517731], CUSDT[1], TRX[1], USD[558.10]                                                                                                                                          Yes

07784686                           CUSDT[1], ETH[.03305529], ETHW[.03264459], SHIB[7185918.94551601], USD[0.00]                                                                                                            Yes

07784695                           SOL[.00379958], USD[0.01]

07784702                           ETH[0], SHIB[300000], SOL[0], USD[0.00], USDT[0.95087194]

07784706                           USD[3.91]

07784716                           USD[20.00]

07784720                           BTC[.0000051], ETH[.000947], ETHW[.000947], LINK[.0927], MATIC[7.34], NFT (314077203473330539/Dogs #1)[1], NFT (527855182913857167/Nature #1)[1], SOL[.00317987], USD[0.01]

07784732                           USD[0.01]

07784736                           BRZ[1], BTC[0], CUSDT[4], DOGE[9.48370566], SOL[0], TRX[6], USD[0.00], USDT[2.19715866]                                                                                                 Yes

07784741                           ALGO[120.72001473], BAT[1.0165555], BRZ[1], BTC[0.03005571], CUSDT[7], DOGE[797.03036154], ETH[.03937108], LINK[20.01176844], LTC[1.96234487], MATIC[167.18669055],                     Yes
                                   SHIB[57839743.89714986], SOL[11.90302445], TRX[3144.13850809], USD[0.00], USDT[1.09003473]
07784742                           BTC[.43923013], USD[16.85]

07784744                           USD[500.00]

07784749                           ETH[.951048], ETHW[.951048], USD[1.65]

07784754                           BTC[0], ETHW[.000989], SOL[0], USD[0.00], USDT[0]

07784758                           USD[1000.00]

07784760                           BTC[0.00000051], ETH[0], USD[0.00], USDT[0]

07784765                           BAT[2.01167879], BF_POINT[300], CUSDT[21], DOGE[1], ETH[0], ETHW[1.06496834], GRT[1], LINK[6.56482845], LTC[.59138028], SHIB[11], SOL[0], SUSHI[22.28461156], TRX[3], USD[101.87],      Yes
                                   USDT[4.9496059]
07784771                           ETH[.000412], ETHW[.081412], NFT (332287253636057922/GSW Western Conference Finals Commemorative Banner #1477)[1], NFT (436957852115692438/GSW Championship Commemorative
                                   Ring)[1], NFT (511832183586352961/GSW Western Conference Finals Commemorative Banner #1478)[1], NFT (512529276516032687/GSW Western Conference Semifinals Commemorative Ticket
                                   #765)[1], NFT (520068232388168092/GSW 75 Anniversary Diamond #110)[1], USD[110.76]
07784776                           BTC[0], ETH[0], SOL[0], USD[0.00], USDT[0]

07784780                           USD[0.00]                                                                                                                                                                               Yes

07784781                           NFT (407867724933339999/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #72)[1], NFT (431940262175084919/Shannon Sharpe's Playbook: Kansas City Chiefs vs
                                   Denver Broncos - October 4, 1992 #45)[1], NFT (476194423756926479/Marcus Allen's Playbook: Los Angeles Raiders vs. Washington - January 22, 1984 #55)[1], NFT (501209508208508845/Tim
                                   Brown's Playbook: San Diego Chargers vs. Los Angeles Raiders - September 4, 1988 #39)[1], USD[45.00]
07784801                           USD[0.00]

07784804                           BTC[.50707931], USD[4.02]

07784805                           BTC[.00004253], SOL[.02111737], TRX[11.09901049], USD[3.27]                                                                                                                             Yes

07784820                           BRZ[1], BTC[0], DOGE[142.68721947], ETH[0], ETHW[0], GRT[1.00379843], SHIB[886684.49597661], SOL[.00004291], SUSHI[8.53728945], TRX[4], UNI[0.00022287], USD[0.01], USDT[1.00540267]    Yes

07784824                           ETH[0.03186271], ETHW[0.03186271], SOL[0], USD[0.00]

07784827                           CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                             Yes

07784830                           NFT (421335264463497541/Coachella x FTX Weekend 2 #20687)[1]                                                                                                                            Yes

07784832                           USD[9.13], USDT[0]

07784835                           CUSDT[6], ETH[.05135944], ETHW[.05072076], USD[1.21], USDT[0]                                                                                                                           Yes

07784841                           ETH[.01], ETHW[.01], SOL[38.8712913], USD[0.00]

07784842                           USD[377.39]

07784845                           USD[0.45]

07784851                           SHIB[97900], SOL[.009], USD[0.00]

07784867                           BAT[1.00461325], CUSDT[3], GRT[.00000913], SOL[1.25606449], USD[0.00]                                                                                                                   Yes

07784868                           BRZ[5.13842392], CUSDT[44.8047001], USD[8.15]                                                                                                                                           Yes

07784870                           CUSDT[3], ETH[.04177251], ETHW[.04177251], MATIC[34.21779723], SOL[.71117243], TRX[1], USD[0.00]

07784885                           NFT (481575568823474607/Entrance Voucher #4912)[1], SHIB[2106009.48805004], USD[0.00]                                                                                                   Yes

07784886                           BF_POINT[100], CUSDT[5], DOGE[4], SHIB[1], SOL[17.82403987], TRX[3], USD[0.00]                                                                                                          Yes

07784890                           BTC[0], USD[0.00]

07784895                           BTC[0], SOL[0]

07784906                           USD[0.65]

07784916                           SOL[3.45017831], USD[0.00]

07784936                           ETH[.5], ETHW[.5], SOL[29.052893], USD[10.13], USDT[26.77953965]
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                                                                                                                                            Customer Claims                                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07784957                           SHIB[40056.82550576], SOL[.0038762], USD[3432.41]

07784960                           BTC[.00496347], CUSDT[4], TRX[1100.41054483], USD[1.51]                                                                                                                                        Yes

07784968                           USD[0.10]

07784977                           CUSDT[2], SOL[.00000318], USD[0.00]                                                                                                                                                            Yes

07784983                           USD[201.00]

07784987                           BRZ[2], BTC[.24104512], CUSDT[2], DOGE[1], LINK[126.10083413], SHIB[4], USD[0.00]                                                                                                              Yes

07784988                           BRZ[1], TRX[1], USD[0.01]                                                                                                                                                                      Yes

07784989                           ETH[.755392], ETHW[.755392], SOL[8.85314], USD[0.45]

07784995                           BTC[.0039658], CUSDT[6], DOGE[1], TRX[1], USD[0.00]                                                                                                                                            Yes

07785000                           USD[0.00]                                                                                                                                                                                      Yes

07785006                           SHIB[7429847.54857749], USD[4.40]                                                                                                                                                              Yes

07785010                           ETH[.000936], ETHW[.155936], USD[0.00], USDT[.0070557]

07785021                           BTC[.0139], ETH[.24995915], ETHW[.24995915], SOL[.6], USD[3.00]

07785042                           SOL[1.21948], USD[0.66]

07785049                           BTC[0.00001055], USD[0.00]

07785054                           USD[0.00]

07785073                           ETH[0]

07785084                           USD[20.00]

07785091                           SOL[0], TRX[0]                                                                                                                                                                                 Yes

07785092                           CUSDT[2037.9442285], DOGE[44.22163797], ETH[.01615513], ETHW[.01594993], USD[0.00]                                                                                                             Yes

07785094                           AAVE[0], AUD[0.00], BAT[0], BCH[0], BRZ[0], BTC[0], CAD[0.00], CUSDT[0], DAI[0], DOGE[0], ETH[0], EUR[0.00], GBP[0.00], GRT[0], LINK[0], LTC[0], MATIC[0.09536186], MKR[0], PAXG[0], SOL[0],   Yes
                                   SUSHI[0], TRX[0], UNI[0], USD[0.00], USDT[0], YFI[0]
07785100                           USDT[0.00000130]

07785102                           SOL[.97605996], USD[0.00]

07785103                           BTC[.0000827], ETH[.000468], ETHW[.000468], SOL[.27972], USD[0.00], WBTC[.00009038]

07785110                           BTC[0], USD[4.25], USDT[1.83458163]

07785113                           SOL[0], USD[0.00]

07785120                           USD[20.00]

07785133                           BTC[.0000498], ETHW[.000734], NFT (566997296159359602/Entrance Voucher #1368)[1], USD[0.01]

07785134                           BTC[0], DOGE[1], SHIB[1]                                                                                                                                                                       Yes

07785140                           BAT[1], BRZ[1], BTC[0], CUSDT[2], DOGE[2], ETHW[262.90792828], GRT[3], SOL[71.50451795], TRX[1], USD[0.00]

07785143                           DOGE[6], NEAR[497.64412846], SHIB[5], TRX[8], USD[3458.53], USDT[2.12802332]                                                                                                                   Yes

07785155                           USD[20.00]

07785183                           SHIB[343179651.18501407], SOL[0.00821155], TRX[2], USD[0.00], USDT[1.00731209]                                                                                                                 Yes

07785190                           TRX[.000001], USD[2986.05], USDT[0.00000003]

07785210                           USD[0.88]

07785226                           DOGE[1]                                                                                                                                                                                        Yes

07785229                           BTC[.00007133], SHIB[28173210], SOL[4.29070116], USD[0.00]

07785271                           BTC[.14354639]                                                                                                                                                                                 Yes

07785276                           USD[20.00]

07785309                           TRX[1], USD[0.00]                                                                                                                                                                              Yes

07785319                           BTC[.00021792], ETH[0], GBP[0.00], USD[0.00]

07785327                           USD[16831.40]

07785328                           SOL[.5], USD[0.81]

07785331                           BRZ[1], USD[0.01]                                                                                                                                                                              Yes

07785344                           LINK[1.08416751], USD[0.00]                                                                                                                                                                    Yes

07785349                           DAI[.00000001], ETH[0], ETHW[0], USD[0.01]

07785350                           DOGE[1], SOL[0], USD[0.00], USDT[0.00000036]                                                                                                                                                   Yes

07785369                           SOL[.008585]

07785375                           USD[0.00]

07785387                           BTC[0], USDT[0.00041172]

07785390                           USD[0.00]

07785392                           BTC[1.06958619], DOGE[10783.35024978], SOL[53.47431494]                                                                                                                                        Yes

07785420                           ETH[0], USD[0.00]

07785423                           TRX[.000001]                                                                                                                                                                                   Yes

07785426                           SUSHI[49.955], USD[228.08]

07785429                           DOGE[1], SOL[.037275], USD[0.00], USDT[0.00585787]                                                                                                                                             Yes

07785431                           USD[3.25]                                                                                                                                                                                      Yes

07785446                           AAVE[0], ALGO[0], AVAX[0], BAT[0], BCH[0], BTC[0], DAI[0], DOGE[0], ETH[0], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], PAXG[0.00000001], SHIB[0], SOL[0], SUSHI[0], TRX[0.00001600], UNI[0], Yes
                                   USD[0.00], USDT[0.00003012]
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                                                                                                                                               Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07785450                              BTC[.00161451], USD[0.00]

07785455                              USD[542.95]                                                                                                                                                                           Yes

07785460                              ETH[.0001191], ETHW[.0001191], SOL[.0055], USD[0.00]

07785461                              ETH[1], ETHW[1.234], USD[1529.37]

07785471                              USD[0.01]                                                                                                                                                                             Yes

07785472                              NFT (417721811350536657/Entrance Voucher #2237)[1]

07785478                              USD[0.00]

07785481                              BF_POINT[300], SOL[1108.96205315]                                                                                                                                                     Yes

07785488                              ETHW[.143541], SOL[7.218], USD[0.27]

07785498                              NFT (300365431530338266/Warriors 75th Anniversary Icon Edition Diamond #1650)[1], SOL[0], USD[0.00]

07785507                              USD[0.00]

07785508                              SOL[0.00000161]

07785515                              BTC[.00083779], USDT[0.00026942]

07785519                              ETH[.12199123], ETHW[.12199123], USD[100.00]

07785529                              SOL[0]

07785533                              BTC[.0018978], USD[59.76]

07785538                              ETH[.00000001], LINK[0], MATIC[0], SOL[0], USD[1012.54]

07785541                              BRZ[1], CUSDT[3], ETH[.11500484], ETHW[.11500484], LTC[.72286085], MATIC[270.23866524], SHIB[3027382.89775534], USD[0.00], USDT[0]

07785546                              ETH[.01178661], ETHW[.01163613], SOL[.20570359], USD[0.06]                                                                                                                            Yes

07785558                              BRZ[1], ETH[1.05991744], ETHW[1.05946248], SOL[5.79514366], TRX[2], USD[0.01]                                                                                                         Yes

07785572                              BTC[0], SOL[.009], USD[0.00]

07785577                              BRZ[1], DOGE[1], ETH[.00000013], ETHW[.00000013], SHIB[1], USD[0.00]                                                                                                                  Yes

07785582                              CUSDT[2], DOGE[1], NFT (462127213192417976/Marcus Allen's Playbook: USC vs. Washington - November 14, 1981 #62)[1], NFT (465004471430013617/Fishing #1101)[1], SHIB[5410161.21959711], Yes
                                      USD[0.67]
07785586                              NFT (340606124422707811/Entrance Voucher #2036)[1], SHIB[9327406.26207962], USD[5009.76]

07785587                              BF_POINT[500], CUSDT[3], ETH[.00001457], ETHW[.00001457], GRT[1.00367791], USD[0.00]                                                                                                  Yes

07785588                              SOL[0]                                                                                                                                                                                Yes

07785593                              BTC[0], ETH[0.00000001], ETHW[0.00000001], LTC[0], USD[0.00]

07785595                              BF_POINT[100], SOL[0], USD[0.00], USDT[0.00000170]

07785609                              USD[15.38]

07785610                              BTC[.00238747], DOGE[28.48268953], GRT[550.15863148], USD[52.43]                                                                                                                      Yes

07785640       Contingent, Disputed   USD[0.01]                                                                                                                                                                             Yes

07785644                              NFT (460300364829187892/The Hill by FTX #3283)[1]

07785646                              ETH[.0007739], ETHW[0.00077389], NEAR[32.1678], USD[1.27]

07785649                              USD[0.19]

07785659                              SOL[42.79014451], USDT[0.00000063]

07785660                              PAXG[.51352289], USD[0.00]

07785666                              USD[500.83]

07785673                              USD[0.01]                                                                                                                                                                             Yes

07785677                              CUSDT[1], USD[0.00]                                                                                                                                                                   Yes

07785680                              USD[0.00]

07785694                              BTC[.05769869], ETHW[.048725], MATIC[21.97000000], SOL[0], USD[0.47], USDT[0]

07785698                              BTC[0], SOL[0], USD[0.13], USDT[0]

07785699                              ETH[0], USD[0.00]

07785701                              USD[4678.74]

07785705                              USD[0.00]

07785706                              CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                           Yes

07785707                              SOL[0]

07785709                              BTC[.0111], USD[3.15]

07785715                              BAT[.38978835], CUSDT[3], SOL[2.76365377], USD[0.06]                                                                                                                                  Yes

07785717                              DOGE[1], ETH[.02098257], SHIB[8], SOL[0], USD[0.00]                                                                                                                                   Yes

07785718                              SOL[0]

07785726                              USD[0.01]                                                                                                                                                                             Yes

07785739                              ETH[.001], ETHW[.001], LTC[.01], PAXG[.0001], USD[433.51]

07785751                              LINK[8], USD[3.69]

07785757       Contingent, Disputed   USD[0.00], USDT[0.00000001]                                                                                                                                                           Yes

07785775                              USD[0.00]

07785779                              SOL[3.18681], USD[2.73]

07785788                              USD[0.94]
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                                                                                                                                            Customer Claims                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07785800                           USD[1.73]

07785803                           USD[0.33]

07785817                           ETH[.00000001], SOL[0.04132312], USD[0.00]

07785821                           BAT[1.01655549], BRZ[1], BTC[.02575852], CUSDT[1], DOGE[1], ETH[0], SOL[0], TRX[2], USD[0.00]                              Yes

07785823                           BTC[0], DOGE[0.79047720], LTC[0], SOL[0.00040500], UNI[0], USD[0.00]

07785832                           DOGE[1], GRT[1], USD[0.00]

07785836                           NFT (313835604197076956/Coachella x FTX Weekend 1 #86)[1]

07785845                           USD[0.00]

07785854                           BTC[0], USD[3027.00], USDT[0]

07785857                           USD[0.00]                                                                                                                  Yes

07785858                           USD[0.67]

07785864                           ETH[0], SOL[0], USD[0.00], USDT[0.00000001]

07785866                           BTC[0], ETH[0]

07785871                           ETH[.00083544], ETHW[.00083544], USDT[.489264]

07785872                           BRZ[1], DOGE[1], GRT[1.00367791], TRX[1], USD[93.36]                                                                       Yes

07785875                           NFT (492903470032745594/Coachella x FTX Weekend 1 #24141)[1]

07785878                           SOL[5.49851771]                                                                                                            Yes

07785882                           CUSDT[2], SOL[.46241881], USD[0.05]                                                                                        Yes

07785893                           USD[0.00]

07785894                           BTC[.45], ETH[0], SOL[294]

07785897                           BTC[.00861547], ETH[.06459832], ETHW[.02071643], SHIB[6], USD[3.10]                                                        Yes

07785902                           BRZ[2], ETHW[12.24230561], GRT[2.01358418], MATIC[0], SHIB[.00000001], SOL[0], TRX[2], USD[0.00]                           Yes

07785903                           AAVE[1.88756369], BAT[2], BRZ[2], CUSDT[1], DOGE[2], ETH[.9970455], ETHW[.9970455], SOL[18.85369737], USD[0.00], USDT[0]

07785905                           CUSDT[13], SHIB[5.89167744], TRX[1], USD[1.24]                                                                             Yes

07785906                           SOL[2.16355318]                                                                                                            Yes

07785908                           SOL[1.01290776], USD[0.17]

07785910                           BTC[.0001], CUSDT[2], DOGE[1], USD[56.78], USDT[10.01557500]

07785915                           BTC[0.00000282], ETH[0.00002175], ETHW[0], SOL[0], USD[0.00], USDT[0.00000001]                                             Yes

07785921                           BRZ[2], BTC[0.05656789], CUSDT[8], DOGE[7.17232542], ETH[.31124161], ETHW[.31105701], SOL[3.24793709], TRX[1], USD[0.00]   Yes

07785926                           USD[20.00]

07785927                           ETH[0]

07785930                           NFT (490110148220628725/FTX - Off The Grid Miami #1205)[1], USD[0.01]                                                      Yes

07785937                           CUSDT[1], SOL[1.15267677], USD[0.07]                                                                                       Yes

07785941                           AVAX[.099], BTC[.00007991], MATIC[.5741141], SOL[1], USD[9.18]

07785944                           BTC[.00013503]

07785956                           ETH[0]

07785960                           USD[13.43]

07785965                           ETHW[14.988], USD[0.00]

07785974                           BTC[0.00000002], NFT (314266129085735718/Entrance Voucher #2598)[1], USD[0.00]

07785976                           ETH[0], LTC[.00554561]

07785979                           BTC[0], USD[0.00]

07785983                           CUSDT[3], DOGE[358.78745616], SHIB[719084.31294277], TRX[1], USD[0.34]                                                     Yes

07785995                           USD[0.00]

07786009                           BRZ[1], CUSDT[1], USD[0.00]                                                                                                Yes

07786013                           CUSDT[2], DOGE[5], ETHW[2.17796828], SHIB[12], TRX[5], USD[0.00]                                                           Yes

07786020                           USD[0.42]

07786033                           SOL[1400.639], USD[274700.37]

07786047                           USDT[.1860486]

07786051                           CUSDT[18], DOGE[1], ETH[.02587254], ETHW[.02555207], SHIB[1], SOL[8.27239049], TRX[2], USD[0.01]                           Yes

07786060                           USD[10.00]

07786072                           USD[3.81]

07786079                           BTC[.0000972], SOL[25.33583], USD[22.50]

07786080                           USD[0.00], USDT[0]

07786084                           USD[109.97]                                                                                                                Yes

07786102                           USD[10.00]

07786111                           NFT (543421607821543300/Entrance Voucher #3505)[1], SHIB[2], USD[0.00]                                                     Yes

07786117                           NFT (563591122744394140/Nifty Booth)[1]

07786120                           CUSDT[1], DOGE[868.94095072], LTC[3.56357363]
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                                                                                                                                            Customer Claims                                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07786124                           BTC[0], DOGE[.66903245], USD[52.81]

07786125                           USD[0.00]

07786135                           BTC[.00000431], GRT[1.00264062], SOL[.00000001], USD[0.00]                                                                                                                        Yes

07786137                           CUSDT[1], DOGE[1], TRX[1], USD[0.00], USDT[0.00000001]

07786138                           USD[0.01]

07786146                           USD[0.00]                                                                                                                                                                         Yes

07786155                           SOL[.00054013], USD[258.03]

07786156                           BTC[.0003999], USD[83.47]

07786164                           USD[500.01]

07786170                           NFT (382539739636249254/FTX - Off The Grid Miami #849)[1], USD[0.00]                                                                                                              Yes

07786171                           ETH[.00000066], ETHW[0.00000065], SHIB[1], USD[0.05], USDT[0]                                                                                                                     Yes

07786176                           USD[0.00]

07786179                           BTC[0], USD[0.40]

07786181                           SOL[0]

07786185                           USD[20.00]

07786195                           USDT[.95696622]

07786198                           ETHW[.118121], USD[0.00], USDT[0.00007007]

07786205                           USD[20.00]

07786214                           BTC[.0000997], MATIC[.927], USD[51.84]

07786217                           SOL[35.52444], USD[9.69]

07786220                           BTC[0.00002823], ETH[.009967], ETHW[.009967], USDT[0]

07786221                           USD[2.31], USDT[0.22891856]

07786223                           BTC[.00008477], USD[110.95]

07786229                           ETH[.04688368], ETHW[.04630107], TRX[1], USD[0.00]                                                                                                                                Yes

07786231                           BTC[.00144357], PAXG[.00806992], SOL[.17319932], USD[6.41]

07786245                           BTC[0], ETH[0], ETHW[0], USD[0.01], USDT[0.00000003]

07786247                           AVAX[0], BRZ[1], DOGE[1], MATIC[0.00110712], SHIB[99.71345297], TRX[4], USD[0.00]                                                                                                 Yes

07786254                           CUSDT[14], DOGE[1], ETH[.02044054], ETHW[.02018467], MATIC[21.35934872], SHIB[865617.39138008], SOL[.67510908], USD[0.00]                                                         Yes

07786257                           CUSDT[1], SOL[3.62668807], USD[0.00]                                                                                                                                              Yes

07786263                           NFT (342811868749301299/Entrance Voucher #3238)[1]

07786264                           BAT[1.0165555], CUSDT[10], SHIB[8], TRX[3], USD[0.01]                                                                                                                             Yes

07786282                           BTC[.01276571], CUSDT[1], TRX[1], USD[400.00]

07786285                           NFT (500164595013443807/Bahrain Ticket Stub #1405)[1], SOL[.06]

07786286                           BTC[0], MATIC[0], USD[0.00]

07786292                           SHIB[211072.5266533], USD[0.00]

07786297                           BRZ[3], BTC[0], CUSDT[18], DOGE[10.15678726], GRT[1.02117591], LINK[0], MATIC[0], SHIB[7], SOL[0], TRX[15.26315841], USD[0.01], USDT[0]                                           Yes

07786300                           SOL[57.31340664], USD[0.36]

07786301                           ETHW[2.031], USD[0.07]

07786309                           USD[0.01]

07786310                           SOL[2.74338827], TRX[1], USD[0.00]                                                                                                                                                Yes

07786312                           BAT[1.00993941], BRZ[2], BTC[.07135815], CUSDT[12], DOGE[6.06454832], ETH[.00129734], GRT[2.02295929], LINK[37.13274028], LTC[7.40360416], MATIC[744.05273482], MKR[.10925944],   Yes
                                   SOL[5.69443539], TRX[552.7954179], USD[0.00], USDT[1.0757252]
07786315                           SOL[.009], SUSHI[97.5], USD[1.04]

07786320                           USD[0.00]

07786329                           USD[0.24]

07786341                           ETHW[.006], SOL[81.82], USD[203.42], USDT[0]

07786342                           BTC[0], ETH[0], ETHW[0], USD[0.00], USDT[0]

07786349                           DOGE[.6048], SOL[1.304338], USD[99.90], USDT[76.34811392]

07786364                           DOGE[.06], MATIC[.99229335], SOL[.00785], USD[0.00]

07786367                           SOL[38.93690621], TRX[1], USD[0.01]                                                                                                                                               Yes

07786370                           SOL[2.16344832], TRX[1], USD[194.69]                                                                                                                                              Yes

07786375                           ETH[0], ETHW[.06631631], NFT (348220022074038539/Entrance Voucher #24926)[1], USD[0.00], USDT[0.00000414]

07786388                           CUSDT[3], DOGE[3], TRX[1156.49554068], USD[3126.34], USDT[43.50522119]                                                                                                            Yes

07786389                           NFT (542958725326118387/The Founder #126)[1]

07786393                           USD[4000.01]

07786394                           BTC[.01289936], USD[0.00]

07786405                           BCH[.17236988], BTC[.00567767], CUSDT[9], DOGE[1], ETH[.18123441], ETHW[.09206848], LTC[.60033796], USD[0.00]

07786406                           CUSDT[1], SOL[.11668905], USD[0.00]                                                                                                                                               Yes

07786409                           ETH[0], SOL[0.00000001], USD[0.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07786420                              BTC[.00119599]                                                                                                                                                                       Yes

07786421                              CUSDT[2], SOL[.00000271], USD[0.00], YFI[.00000001]                                                                                                                                  Yes

07786430       Contingent, Disputed   BTC[.74795291], CUSDT[1], DOGE[981.76280929], ETHW[19.99890365], MATIC[426.25227319], SOL[7.06451516], TRX[1], USD[0.00]                                                             Yes

07786434                              SOL[0], USD[0.00], USDT[0.00001961]

07786450                              USD[0.00]

07786451                              SHIB[1], USD[1.56]

07786456                              USD[215.33]                                                                                                                                                                          Yes

07786457                              LTC[.00451755], USD[512.68]

07786458                              CUSDT[1], SOL[1.15725], USD[0.00]                                                                                                                                                    Yes

07786463                              USD[0.00]

07786466                              ETH[.072], ETHW[.072], MATIC[1.92894456], SOL[7.03], USD[0.00], USDT[0.00000001]

07786469                              CUSDT[1], DAI[13.75763287], USD[0.00]                                                                                                                                                Yes

07786475                              SOL[0.05672823], USD[0.00]

07786483                              NFT (420564671056531580/Story #32)[1]

07786495                              USD[4.38]

07786500                              USD[413.35]

07786508                              BTC[0.00035072], ETH[1.41915611], ETHW[1.41915611], LTC[.0063104], SOL[74.16069391], USD[30.54], USDT[0.02780404]

07786509                              CUSDT[4], DOGE[1], TRX[1], USD[0.00]                                                                                                                                                 Yes

07786510                              BF_POINT[200]                                                                                                                                                                        Yes

07786516                              NFT (400478271000781267/Warriors 75th Anniversary Icon Edition Diamond #1980)[1], NFT (463742694341579087/Microphone #646)[1], USD[0.01]

07786518                              ETH[.142], ETHW[.142], USD[1.82]

07786520                              USD[0.01]

07786533                              USD[2.22]

07786538                              USD[0.00]

07786544                              BAT[1], DOGE[1], NFT (299653793095278551/FTX - Off The Grid Miami #4931)[1], NFT (495207059964631135/Imola Ticket Stub #2374)[1], SHIB[1], SUSHI[303.48780804], TRX[2], USD[0.00],   Yes
                                      USDT[2.07695975]
07786547                              BTC[.0016], DOGE[1000], MATIC[500], SHIB[321375300], SOL[4], USD[4.58]

07786551                              USD[549.58]                                                                                                                                                                          Yes

07786556                              USD[20.00]

07786560                              MATIC[1098.9], UNI[100.5], USD[5423.89]

07786563                              BF_POINT[200], BRZ[2], BTC[.14830646], CUSDT[27], DOGE[5], ETH[0], ETHW[.00001715], GRT[1], SHIB[24], TRX[10], USD[0.00], USDT[1.02041643]                                           Yes

07786570                              USD[0.00]

07786572                              BTC[.00000002], CUSDT[1], LTC[0.00000180], NFT (346476716518229539/FTX - Off The Grid Miami #2934)[1]                                                                                Yes

07786575                              BRZ[1], CUSDT[2], DOGE[3], SOL[44.27310647], TRX[2], USD[0.05]

07786580                              SOL[0], USD[3.27], USDT[0]

07786581                              USD[0.00]

07786582                              USD[50.00]

07786591                              DOGE[0], ETH[0], SUSHI[0], USD[0.00]

07786593                              BTC[0.00004002], ETH[.000647], ETHW[.000647], SOL[.00089], USD[0.06]

07786599                              USD[200.00]

07786608                              BAT[1.01655549], CUSDT[7], DOGE[5.07424417], GRT[1.00367791], SOL[.00014927], TRX[1], UNI[1.17966116], USD[5.44], USDT[1.09331473]                                                   Yes

07786612                              TRX[1], USD[0.00]                                                                                                                                                                    Yes

07786613                              GRT[54.99525], LINK[2.098005], MATIC[9.962], USD[46.33]

07786615                              BRZ[1], CUSDT[3], DOGE[1], ETH[0], SOL[0], TRX[1], USD[0.00], USDT[0.00000622]

07786622                              BCH[.0569702], CUSDT[11], DOGE[2], GRT[1], SHIB[2], USD[60.02]                                                                                                                       Yes

07786636                              ETH[0.01047562], ETHW[0.01047562], USD[15.00]

07786640                              SOL[.00000001], USD[0.01]

07786642                              USD[0.00]

07786661                              DOGE[0], USD[0.45]                                                                                                                                                                   Yes

07786664                              BAT[13.68015907], CUSDT[307.09996949], DAI[12.02720774], GRT[12.91960907], MATIC[8.11542565], SHIB[856566.12241663], USD[0.06]                                                       Yes

07786679                              BRZ[1], DOGE[1], SHIB[1], USD[0.01], USDT[1.02543197]                                                                                                                                Yes

07786682                              SOL[.00054], USD[0.76]

07786689                              USD[1.11]

07786695                              BTC[.00253782], DOGE[1], USD[0.00]

07786699                              BF_POINT[200], BTC[.0005994], ETH[.0292247], SOL[.75924], USD[0.43], USDT[0.00000187]                                                                                                Yes

07786700                              NFT (528693502854068616/Marcus Allen's Playbook: Los Angeles Raiders vs. Washington - January 22, 1984 #46)[1], USD[0.00], USDT[0]

07786723                              USD[9.90], USDT[0]

07786724                              BF_POINT[200], BTC[0.00001466], CUSDT[1], DOGE[2], ETH[0], LTC[0], NFT (320867581806705193/Molli)[1], SHIB[5], SOL[0.00323431], TRX[2], USD[0.37], USDT[0.00001347]                  Yes

07786739                              BTC[.74122945], CUSDT[1], ETH[2.20522273], ETHW[2.20445204], MATIC[132.05992518], SOL[6.72435601]                                                                                    Yes
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                                                                                                                                            Customer Claims                                                                                                      22-11071 (JTD)
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07786742                           USD[11635.47]

07786743                           NFT (496361624057281093/Imola Ticket Stub #1652)[1], USD[0.00]                                                                                                                        Yes

07786747                           USD[0.82]                                                                                                                                                                             Yes

07786757                           BTC[.00059849], MKR[.012987], PAXG[.0109], USD[21.38]

07786774                           BTC[0], ETH[0], USD[0.00]

07786776                           USD[1.16]

07786791                           CUSDT[1], NFT (546273600391093679/Bahrain Ticket Stub #1594)[1], SHIB[3], USD[0.01]                                                                                                   Yes

07786793                           BTC[0], ETHW[2.76237325], MATIC[.753], SOL[.006238], USD[3252.67], USDT[.8153948], YFI[.000062]

07786803                           ETH[.04868076], ETHW[.04868076], NFT (556962310920227677/Humpty Dumpty #578)[1]

07786823                           BTC[0.00002998], ETH[0], USD[0.00], USDT[.00000001]

07786832                           CUSDT[1], USD[11.23]                                                                                                                                                                  Yes

07786836                           SOL[.00068088], USD[0.00]

07786840                           BAT[0], BCH[0], BTC[0.00000080], DOGE[0], ETH[0], ETHW[0], GRT[0], LINK[0], LTC[0], MATIC[0], MKR[0], TRX[0], USD[0.00], USDT[0]                                                      Yes

07786845                           SOL[.03976248], USD[150.00]

07786848                           SOL[.73]

07786852                           BAT[1], BF_POINT[300], DOGE[2], ETH[.00000001], SOL[0], TRX[1], USD[0.00]                                                                                                             Yes

07786854                           CUSDT[7], DOGE[1], SHIB[2535277.64189694], SOL[.39178179], TRX[456.95841439], USD[0.00]                                                                                               Yes

07786857                           USD[0.00]

07786860                           BTC[.0020979], SOL[.20979], USD[75.01]

07786866                           USD[20.00]

07786869                           NFT (503639668333702119/Coachella x FTX Weekend 1 #21199)[1]

07786874                           USD[0.66]

07786877                           ETH[0], SOL[0], TRX[0], USD[0.00]

07786878                           USD[1.22], USDT[0]

07786879                           USD[0.33]

07786885                           USD[1.86]

07786887                           AVAX[2.7], USD[0.04]

07786893                           BTC[.0176823], LINK[41.958], USD[9.20]

07786896                           USD[101.00]

07786907                           BTC[.0000612], NFT (428695277748263450/FTX - Off The Grid Miami #2806)[1], USD[35.22]

07786908                           AAVE[0], CUSDT[4], DOGE[1], ETH[0], ETHW[0], SOL[0.50168911], TRX[1], USD[0.00]                                                                                                       Yes

07786909                           NFT (337843968583519020/2974 Floyd Norman - CLE 3-0077)[1], USD[0.00], USDT[0]

07786911                           BF_POINT[100], BTC[.00000882], NFT (297530484883737722/The Hill by FTX #1038)[1], NFT (320115557114028633/Bahrain Ticket Stub #1664)[1], NFT (321692750994023899/FTX - Off The Grid   Yes
                                   Miami #1192)[1]
07786919                           USD[0.00]                                                                                                                                                                             Yes

07786922                           BTC[.0014842], ETH[.00119906], ETHW[.00119906], SOL[4.30608683], USD[0.01]

07786938                           SOL[0], USD[0.00]

07786940                           ETH[.0008632], ETHW[.0008632], USD[0.00], USDT[0]

07786947                           SOL[3.16683], USD[2.15]

07786952                           USD[2.04]

07786963                           BTC[.020664], DOGE[6153], ETH[.43028], ETHW[.43028], USD[2.74]

07786971                           SOL[19.0578]

07786972                           ETH[1.16383415], ETHW[1.16383415], SHIB[38363520], SOL[26.0528335], USD[57.14]

07786975                           BTC[0], USD[3.51]

07786976                           USD[20.00]

07786988                           USD[0.00]

07786991                           BTC[.01325008], MATIC[149.83669529], SHIB[3], SOL[.78847197], USD[0.00]                                                                                                               Yes

07786992                           NFT (570262687625639715/Coachella x FTX Weekend 1 #20072)[1]

07786998                           USD[0.55]

07787008                           USD[0.01]

07787010                           SOL[3.52581308], TRX[1], USD[0.00]                                                                                                                                                    Yes

07787019                           DAI[.00000001], SOL[0.00000656]

07787022                           USD[16.35]                                                                                                                                                                            Yes

07787032                           TRX[.000001], USDT[0.00000087]

07787036                           NFT (357843281044987204/Microphone #2353)[1]

07787037                           USD[0.00]

07787042                           BAT[2.0280937], BF_POINT[100], BRZ[2], DOGE[3], SHIB[1], SOL[327.35228086], TRX[5], USD[0.00], USDT[3.13504447]                                                                       Yes

07787045                           USD[200.00]

07787050                           NFT (366434963922934413/FTX - Off The Grid Miami #391)[1], USD[3.00]
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                                                                                                                                            Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07787052                           USD[60.01]

07787069                           NFT (423092051916745794/FTX - Off The Grid Miami #3061)[1]

07787073                           SOL[4.077], USD[0.00], USDT[1.15358852], YFI[.000998]

07787078                           SOL[1.01], USD[172.98]

07787084                           CUSDT[9], SOL[0], TRX[0], USD[0.00]                                                                                                                                                  Yes

07787093                           USD[3.73]

07787097                           ETHW[.364635], USD[2.63]

07787106                           BTC[0], USD[0.00]

07787108                           BTC[0], USD[0.00], USDT[0.00000001]

07787112                           USD[0.13]                                                                                                                                                                            Yes

07787113                           ETH[2.13296865], ETHW[2.1320728], SOL[118.63890079], USD[53.76], USDT[0]                                                                                                             Yes

07787117                           CUSDT[2], MATIC[185.42975073], USD[217.26]                                                                                                                                           Yes

07787118                           BTC[.0018], TRX[.000001], USD[0.00], USDT[0.46686900]

07787128                           USD[112.79]

07787135                           USD[21.51]                                                                                                                                                                           Yes

07787146                           ETHW[.1279894], USD[0.13], USDT[.45858785]

07787149                           USD[0.00], USDT[0.00021077]

07787152                           BRZ[1], BTC[.00482218], ETH[.06794378], ETHW[.06709961], SHIB[2], TRX[1], USD[0.00]                                                                                                  Yes

07787161                           BTC[.00277052], CUSDT[515.3236874], ETH[4.17507063], ETHW[4.17331709], LINK[.77107797], NFT (334131023658520390/doll #3)[1], SHIB[196324782.34259433], SOL[.74697846], TRX[1],       Yes
                                   UNI[2.08341109], USD[0.10]
07787167                           DAI[.07626279], ETHW[3], USD[0.00]

07787181                           USD[0.00]

07787182                           USD[0.00]

07787185                           CUSDT[1], TRX[1], USD[0.01]                                                                                                                                                          Yes

07787202                           DOGE[1], USD[0.00]

07787205                           BTC[.00000605], USD[1.14], USDT[0]

07787207                           ETH[0], ETHW[0], SHIB[0], USD[0.00]                                                                                                                                                  Yes

07787215                           NFT (461807958864410788/Coachella x FTX Weekend 2 #11811)[1]

07787223                           SOL[.0019497], USD[0.00]

07787226                           ETH[0], USD[0.00]

07787236                           ETHW[.36325417], SOL[.00000001]                                                                                                                                                      Yes

07787239                           USD[1.48]

07787242                           BAT[8.78229749], BTC[.00905725], CUSDT[3], DAI[.00019062], GRT[71.8166737], LINK[27.82950653], MATIC[85.77834183], NEAR[2.17244489], NFT (351552286356063750/Entrance Voucher        Yes
                                   #1966)[1], SHIB[1], SUSHI[1.17442523], TRX[2], USD[0.00]
07787245                           USD[0.00]

07787246                           AUD[0.00], ETHW[0], SHIB[1], TRX[1]

07787248                           BTC[.00121004], CUSDT[1], ETH[.01783976], ETHW[.01762088], LINK[.40944366], SOL[.37448365], TRX[1], USD[33.70]                                                                       Yes

07787255                           NFT (516514411808553084/FTX - Off The Grid Miami #1098)[1], SOL[7.82570523]

07787272                           USD[20.00]

07787291                           USD[0.58]

07787325                           SOL[17.61], USD[4939.29], USDT[0]

07787326                           BTC[0], USD[0.00], USDT[.00698384]

07787327                           BTC[.00138756], DOGE[.59055], LTC[.00905], SOL[.0081], USD[0.00]

07787331                           AVAX[28.27962194], BRZ[1], BTC[.41070166], CUSDT[1], LINK[201.23364619], MATIC[5265.27784679], NFT (402034560642893940/The Hill by FTX #6785)[1], SOL[119.39261927], USD[69133.94]   Yes

07787335                           USD[20.00]

07787352                           SHIB[9], USD[0.00]                                                                                                                                                                   Yes

07787353                           USD[0.00], USDT[99.47242418]

07787362                           SOL[.007975], USD[0.87]

07787364                           USD[0.76]

07787366                           SOL[.00000001]                                                                                                                                                                       Yes

07787369                           ETH[.07545019], ETHW[0.07545019], USD[0.00], USDT[0.00034525]

07787376                           SOL[.83900987], TRX[1], USD[8.75]                                                                                                                                                    Yes

07787378                           SHIB[0], USD[0.00]                                                                                                                                                                   Yes

07787392                           USD[0.75], USDT[0]

07787394                           USD[3.07]

07787411                           ETHW[.0000007], SOL[0], USD[26.92]

07787413                           SOL[408.911165], USD[77800.30]

07787419                           BTC[.0000033], DOGE[.2], ETH[.0007], ETHW[.0008], KSHIB[4.192], MATIC[9.294], SHIB[12599.99999994], USD[5.87]

07787422                           DOGE[0], LINK[0], SHIB[6812.79276020], USD[0.00]                                                                                                                                     Yes
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                                                                                                                                            Customer Claims                                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07787426                           USDT[0]

07787428                           USD[5.06]

07787429                           USD[1.88]                                                                                                                                                                         Yes

07787433                           USD[0.00], USDT[0]

07787434                           CUSDT[1], DOGE[1], SHIB[1333688.98372899], SOL[.4903064], USD[0.00]

07787442                           BTC[.00000018], CUSDT[2], DOGE[1], GRT[1.00367791], USD[0.00]                                                                                                                     Yes

07787443                           BTC[0.00003471], MATIC[0], SOL[.00000001], USD[0.00]

07787453                           BTC[.01333388], DOGE[0], ETHW[0], NFT (389871822469431658/Rogue Circuits #4214)[1], SHIB[40], SOL[0], USD[0.55], USDT[0]                                                          Yes

07787454                           BRZ[2], CUSDT[1], SOL[.00000001], TRX[2], USD[0.00], USDT[0.00824945]                                                                                                             Yes

07787457                           USD[5.08]                                                                                                                                                                         Yes

07787460                           SOL[.00000001]

07787484                           USD[0.00]                                                                                                                                                                         Yes

07787486                           BAT[1], BRZ[4], DOGE[3], ETH[0], ETHW[0.02507099], GRT[1], SHIB[6], TRX[7], USD[0.00]

07787490                           DOGE[368], ETH[.057], ETHW[.057], SHIB[2200000], USD[1.27]

07787496                           BTC[.00000743], USD[0.01]

07787500                           AVAX[18.68868633], BAT[1.0157203], BRZ[2], CUSDT[8], DOGE[4], GRT[1.0000913], MATIC[256.79619683], SHIB[109493.21576374], TRX[8], USD[1.98], USDT[1.04455283]                     Yes

07787508                           DOGE[1], ETH[0], SOL[.00001699]                                                                                                                                                   Yes

07787510                           ETH[.14885845], TRX[26.970902], USD[466.67], USDT[938.05350337]

07787536                           BAT[2.08984974], BRZ[2], CUSDT[7], DOGE[7.20072851], GRT[4.16872745], SHIB[0], TRX[114.1706029], USD[0.00], USDT[0.00002621]                                                      Yes

07787539                           CUSDT[1], LINK[1.05273531], USD[0.01]                                                                                                                                             Yes

07787541                           USD[0.00]

07787548                           BTC[1.00761907], ETH[7.925], SOL[100], USD[2981.30], USDT[0]

07787549                           USD[108.96], USDT[0]

07787554                           BRZ[1], CUSDT[10], DOGE[1], GRT[134.65357691], LINK[.88973528], MATIC[52.83415647], SHIB[44273831.69819386], SOL[.1823215], TRX[213.02471017], USD[0.00]                          Yes

07787556                           ETH[0.00000001], ETHW[0], NFT (354900013966974694/2974 Floyd Norman - CLE 3-0137)[1], NFT (541290325441113974/2974 Floyd Norman - OKC 4-0031)[1], SOL[0], USD[0.01],
                                   USDT[0.00000001]
07787560                           BTC[.01564482], DOGE[1], USD[2.01], USDT[1.0225484]                                                                                                                               Yes

07787569                           AAVE[.03653142], BCH[.02004542], BRZ[4], BTC[.15396292], CUSDT[14], DOGE[2256.03568873], ETH[1.56215021], ETHW[1.56149416], GRT[12.27349126], LINK[2.46055961], LTC[.06781656],   Yes
                                   MATIC[9.00992024], MKR[.00430947], SHIB[12148802.95208546], SOL[52.62980792], SUSHI[.8281462], TRX[1115.85353054], UNI[.51222478], USD[0.00], USDT[1.07483959], YFI[.00032917]
07787574                           BTC[0], SOL[0]

07787581                           USD[0.00], USDT[0]

07787587                           BTC[.0044724], DOGE[363.862], ETH[.398298], ETHW[.398298], MATIC[19.87], MKR[.071756], SHIB[4090600], SOL[1.50194], TRX[10473.546], USD[18.06], USDT[0]

07787605                           NFT (398955901243432302/Saudi Arabia Ticket Stub #556)[1]

07787607                           AUD[0.86], SOL[.042], USD[1076.66]                                                                                                                                                Yes

07787608                           SOL[1], USD[350.20]

07787617                           USD[0.00]

07787629                           USD[0.31]

07787636                           DOGE[1], TRX[519.33009578], USD[0.01]                                                                                                                                             Yes

07787641                           CUSDT[3], SOL[1.35858792], USD[0.00]                                                                                                                                              Yes

07787643                           USD[0.01]

07787649                           USD[3.00]

07787652                           SOL[.17], USD[1.01]

07787654                           CUSDT[1], DOGE[1], SOL[9.19812006], TRX[1], USD[0.00]                                                                                                                             Yes

07787656                           MATIC[205.10027815], TRX[1], USD[0.00]                                                                                                                                            Yes

07787657                           DOGE[50.949], LINK[19.5804], MATIC[9.74], TRX[2244.753], USD[4.02]

07787662                           BAT[1], SHIB[3], TRX[3], USD[0.01], USDT[2.00311122]                                                                                                                              Yes

07787673                           BTC[0], NFT (338925599658452174/Astro Stones #17)[1], USD[385.29], USDT[0]

07787683                           NFT (448400813674967585/Reflection '12 #27 (Redeemed))[1], NFT (537475333171644150/Reflection '07 #66)[1]

07787685                           NFT (348834131344903354/Hall of Fantasy League #255)[1]

07787687                           SHIB[0], SOL[0], USD[0.00]

07787689                           USD[6.44]

07787691                           DOGE[2], NFT (508736464727587173/Warriors 75th Anniversary Icon Edition Diamond #2449)[1], USD[90.27]                                                                             Yes

07787692                           BTC[0], ETH[0], ETHW[0], SOL[0], SUSHI[0], USD[0.00], USDT[0]

07787695                           BTC[0], DOGE[1], MATIC[0], SHIB[1], SOL[0], USD[0.00]                                                                                                                             Yes

07787705                           USD[43.97]                                                                                                                                                                        Yes

07787714                           SOL[0.00011978], USDT[0.00000176]                                                                                                                                                 Yes

07787721                           CUSDT[5], DOGE[2], ETH[.00000046], ETHW[.00000046], USD[0.00]                                                                                                                     Yes

07787725                           BTC[.01091629], DOGE[878.4099092], SOL[2.2678925]                                                                                                                                 Yes

07787730                           BTC[.00000016], CUSDT[2], DOGE[1], USD[0.01]                                                                                                                                      Yes

07787737                           USD[0.12]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07787739                              BRZ[1], DOGE[1], ETH[.00000139], ETHW[.00000139], MATIC[0.00270150], SHIB[1], TRX[1], USD[0.43], USDT[0.00536142]                                                                     Yes

07787742                              USD[107.82]                                                                                                                                                                           Yes

07787749                              SHIB[.00000001]                                                                                                                                                                       Yes

07787756                              ETH[0.30391139], ETHW[0.30391139], LTC[0], MATIC[336.90517251], SOL[0.57251477], TRX[0], USD[0.00], USDT[0.00000001]

07787773                              BTC[0.00002989], ETH[0.01380294], ETHW[0.01380294], SOL[.00000001], USDT[0]

07787781                              SOL[6.19678], USD[2.52]

07787782                              SOL[.00000001]

07787785                              BRZ[1], CUSDT[2], DOGE[3], NFT (404600744990852914/Sigma Shark #6629)[1], USD[0.01]

07787787                              BTC[0], MATIC[0], SOL[0], USD[0.00]

07787798                              BF_POINT[200]                                                                                                                                                                         Yes

07787810                              BF_POINT[300], ETH[0], ETHW[0], USD[0.00]                                                                                                                                             Yes

07787817                              CUSDT[1], TRX[1], USD[0.00]

07787821                              BRZ[1], CUSDT[3], TRX[3], USD[0.00]                                                                                                                                                   Yes

07787823                              USD[0.00]

07787824                              DOGE[1], ETH[.03491458], ETHW[.03491458], USD[0.00]

07787828                              USD[0.00], USDT[0]                                                                                                                                                                    Yes

07787834                              BAT[.803], SUSHI[15.984], TRX[.258], USD[0.21], USDT[0]

07787840                              SOL[.00006827], USD[0.00]

07787843                              SOL[.00000001]

07787846                              ETH[.00000001], ETHW[0], SOL[0]

07787850                              KSHIB[3200], NEAR[5.22227013], NFT (318406682494017383/Entrance Voucher #2301)[1], NFT (327224242722709365/Limitless Ranch World Photography Art #4)[1], NFT
                                      (348782852490392726/Let's Grow #27-Rookie)[1], NFT (433643181422795264/Solana Islands #950)[1], NFT (441219507931836560/Limitless Ranch World Photography Art)[1], NFT
                                      (469801244524421022/Limitless Ranch World Photography Art #5)[1], NFT (482027843134907982/Sigma Shark #6406)[1], NFT (495716976290989974/The Tower #60-1)[1], NFT
                                      (507866586343409429/Sigma Shark #4612)[1], NFT (510235483514696612/Limitless Ranch World Photography Art #2)[1], NFT (555769024686107591/Petal to the Metal #03-Elite)[1], NFT
                                      (559308772299354391/APEFUEL by Almond Breeze #993)[1], SOL[.04935523], USD[0.00]
07787852                              USD[0.00]

07787853                              USDT[0]

07787855                              BTC[.00041582], USD[0.00]                                                                                                                                                             Yes

07787861                              USD[0.00]

07787863                              CUSDT[5], SOL[3.12894827], USD[0.00]                                                                                                                                                  Yes

07787880                              BRZ[2], SOL[.00001962], TRX[1], USD[81.09]                                                                                                                                            Yes

07787881                              USD[0.00]

07787883                              GRT[0], LTC[0], USD[0.00]

07787885                              LTC[.006]

07787886                              BRZ[1], DOGE[1], ETH[.00050177], ETHW[.00050177], SHIB[1], SOL[.00234339], TRX[2], USD[506.18]

07787892                              USD[57.37]

07787897                              BTC[.00998813], CUSDT[19], DOGE[179.98258975], ETH[.20897205], ETHW[.20875622], LINK[6.21953147], LTC[.12160087], MATIC[45.38456595], SHIB[2], SOL[1.34258364], SUSHI[25.44873488],   Yes
                                      TRX[2], UNI[5.6392681], USD[0.00]
07787912                              SOL[.005], USD[1061.86]

07787922                              BTC[0.00001999], SUSHI[11.5]

07787934                              USD[0.00], USDT[.03345143]

07787955                              SOL[.00000002]                                                                                                                                                                        Yes

07787957                              USD[0.01]                                                                                                                                                                             Yes

07787974                              ETH[0], TRX[0]

07787982                              ETH[0], USD[0.00]

07787983       Contingent, Disputed   BTC[.00000156], ETH[.00005615], USD[0.00], USDT[0]                                                                                                                                    Yes

07787989                              SOL[1.23149922]                                                                                                                                                                       Yes

07788004                              BTC[0], USD[1.93]

07788014                              ETH[0], MATIC[0], SOL[0], UNI[2.02086313], USD[0.00], USDT[0.00000003]

07788019                              NFT (305138157691937936/FTX Crypto Cup 2022 Key #2448)[1], NFT (382616152526704592/FTX - Off The Grid Miami #3709)[1], NFT (440697869783842537/Imola Ticket Stub #167)[1], NFT
                                      (472426055631213511/The Hill by FTX #1127)[1], NFT (500220080953971575/Barcelona Ticket Stub #2464)[1], SOL[4.6067373], USD[0.00]
07788024                              USD[21.51]                                                                                                                                                                            Yes

07788033                              USD[109.93]                                                                                                                                                                           Yes

07788039                              ETH[0], SOL[.95048896], USD[0.00]

07788046                              USD[21.51]                                                                                                                                                                            Yes

07788051                              USD[37.09], USDT[0.00000001]

07788066                              USD[0.00]

07788078                              NFT (289589406336380041/Entrance Voucher #2136)[1]

07788084                              USD[0.01]

07788094                              DOGE[1], SHIB[3], USD[0.00]

07788106                              NFT (480767852541248839/FTX Crypto Cup 2022 Key #128)[1], SOL[.04112786], USD[0.00]

07788107                              SOL[.00952]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07788108                           ETH[0], ETHW[0], NFT (491700236013430331/2974 Floyd Norman - OKC 3-0208)[1], NFT (510515565891932770/2974 Floyd Norman - OKC 1-0146)[1], USD[0.00]

07788114                           USD[0.00], USDT[0]

07788117                           USD[0.00]

07788139                           USD[440.17]

07788150                           USD[20.00]

07788157                           USD[20.00]

07788171                           BRZ[2], BTC[0.19995683], CUSDT[3], DOGE[1], ETH[1.61011131], ETHW[1.60943511], GRT[2.00079058], LINK[0], MATIC[0], SHIB[4], SUSHI[21.90988126], TRX[3], USD[5336.66]                     Yes

07788185                           AVAX[0], BTC[0], ETH[0], SOL[0], USD[1.29]

07788190                           BRZ[1], DOGE[1], ETH[0], ETHW[.31593715], LINK[.14322061], NEAR[41.22057123], SHIB[5], SOL[.25], USD[0.14]

07788226                           DOGE[16375.300827]

07788235                           BRZ[1], BTC[.00000023], SHIB[1], TRX[6], USD[72.26]                                                                                                                                      Yes

07788237                           SOL[0.00148432], USD[3.49]

07788245                           ALGO[.01370676], ETH[.00002055], NFT (310344638678415926/ApexDucks #3936)[1], NFT (324874308369855250/SolBunnies #3263)[1], NFT (424479215954717624/SolBunnies #1672)[1], SHIB[0],       Yes
                                   USD[0.00]
07788254                           ETH[0], SOL[0], USD[0.00]

07788259                           SOL[0]

07788264                           BTC[.15606958]

07788293                           CUSDT[2], USDT[0]                                                                                                                                                                        Yes

07788296                           ETH[0], USD[0.00], USDT[0]

07788311                           CUSDT[14], DOGE[2], TRX[6], USD[40.81]                                                                                                                                                   Yes

07788330                           USD[0.00]

07788346                           SOL[0], USDT[.57489645]

07788348                           USD[549.48]                                                                                                                                                                              Yes

07788356                           DOGE[1], ETH[.00001406], ETHW[.00001406], SHIB[1], SOL[0.00009799], TRX[1], USD[0.01]                                                                                                    Yes

07788362                           NFT (573043381875229248/SKYLINE #5112)[1], SOL[0], USD[0.00]

07788372                           USDT[0.00000098]

07788378                           USD[0.09]

07788415                           BTC[0], SOL[1.5529], USD[4.56]

07788453                           DOGE[1], USD[0.00]                                                                                                                                                                       Yes

07788454                           USD[129.31], YFI[.002]

07788456                           BTC[0], ETH[0], ETHW[0], LINK[0], SOL[0], USD[0.00]

07788481                           TRX[.000001], USD[0.00]

07788487                           USD[0.00]

07788488                           SOL[.00000001]                                                                                                                                                                           Yes

07788491                           USD[0.00]

07788498                           USD[0.01]                                                                                                                                                                                Yes

07788582                           AAVE[22.22723094], ALGO[1530.84030689], AVAX[105.52660448], BAT[4.14792686], BF_POINT[300], BRZ[41.59286399], BTC[.40450553], CUSDT[815.63730548], DOGE[7377.5906877],                   Yes
                                   ETH[8.40159495], ETHW[7.06332373], GRT[1], LTC[.01084518], NEAR[85.82429157], NFT (538232039922455643/Entrance Voucher #4001)[1], SHIB[41571833.54757425], SOL[87.37723553],
                                   TRX[29692.30626596], USD[3038.56], USDT[1.05971363]
07788584                           USD[3.35]

07788593                           NFT (363805256233601402/Romeo #1489)[1], NFT (367877214283606815/Good Boy #8842)[1], NFT (539464853652175628/Entrance Voucher #26913)[1]

07788594                           BRZ[104], EUR[42.00], GBP[21.00], USD[0.67]

07788603                           BTC[.00000001], SOL[.00007176], USD[0.00], USDT[1.09366433]                                                                                                                              Yes

07788604                           USD[109.08]                                                                                                                                                                              Yes

07788606                           SOL[0], USDT[0.39606283]

07788616                           USD[0.00]

07788617                           BF_POINT[100], BTC[.00000467], DOGE[1], SOL[0.00021883], TRX[1], UNI[.00000001], USD[0.00], USDT[0]                                                                                      Yes

07788628                           CUSDT[2], DOGE[1], SOL[0], USDT[1.00000025]

07788635                           CUSDT[1], DOGE[3.84096825], USD[0.00]

07788647                           USD[0.00]

07788653                           BTC[0], NEAR[3.59676], NFT (457652609587747137/Fortuo Distinctus #51)[1], USD[0.00]

07788669                           NFT (290044964621824411/GSW Round 1 Commemorative Ticket #14)[1], NFT (290960739425498678/GSW Western Conference Finals Commemorative Banner #1358)[1], NFT
                                   (312944967454504456/Metaplex AirDrop)[1], NFT (337113586640930810/Good Boy #66)[1], NFT (382034702778457575/Cyclos Golden Ticket)[1], NFT (421263517328459769/FTX - Off The Grid Miami
                                   #3660)[1], NFT (497338648780740693/Juliet #206)[1], NFT (505710168761853992/GSW Western Conference Finals Commemorative Banner #1357)[1], NFT (526923149882554637/GSW
                                   Championship Commemorative Ring)[1], NFT (547270556035841377/GSW Western Conference Semifinals Commemorative Ticket #711)[1], USD[0.00], USDT[0.00000008]
07788681                           SOL[.1]

07788690                           ETHW[.98233295], USD[0.00]

07788704                           ETH[.0028986], ETHW[.0028986], USD[0.00]

07788705                           USD[468.98]

07788731                           USDT[0.00035646]

07788733                           USD[0.67]

07788736                           SOL[.01929601], USD[0.96]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07788764                           SOL[52.17802], USD[43.28]

07788770                           DAI[0], LINK[0], SOL[0], USD[0.00], USDT[0.20117219]

07788773                           USD[0.00]

07788775                           ETH[.00000001], ETHW[0], SOL[0]

07788780                           AAVE[.03331433], BRZ[59.97043336], BTC[.00015844], CUSDT[6], DOGE[3], ETH[.00232376], ETHW[.0022964], GRT[10.51572215], LINK[.33799749], MATIC[5.22990931], NFT                                Yes
                                   (330852058569696182/Bahrain Ticket Stub #88)[1], SUSHI[.79420922], TRX[2.00098357], UNI[.40524118], USD[0.00]
07788783                           AUD[0.00], CAD[0.00], CHF[0.00], EUR[0.00], GBP[0.00], HKD[0.00], LINK[0.00052703], SGD[0.00], SHIB[5], USD[0.01], USDT[0.00000916], ZAR[0.00]                                                 Yes

07788789                           BTC[0.00019981], NFT (478231449243707506/Entrance Voucher #3673)[1], SOL[.019981], USD[1.91]

07788793                           MATIC[20], SOL[.52], USD[3.50]

07788795                           USD[0.00], WBTC[0]                                                                                                                                                                             Yes

07788807                           BTC[.00000027], ETHW[1.33144029]                                                                                                                                                               Yes

07788809                           NFT (403195098248942756/Coachella x FTX Weekend 2 #30082)[1]

07788813                           USD[21.51]                                                                                                                                                                                     Yes

07788836                           ETHW[9.92375279], SOL[.0009], USD[0.71]

07788837                           SOL[0]

07788845                           CUSDT[4], DOGE[2], LINK[46.14683785], MATIC[622.23699324], SHIB[2], TRX[3.00789822], USD[0.06], USDT[0.00000002]                                                                               Yes

07788861                           BTC[0], DAI[0], ETH[0], LINK[0], LTC[0], SOL[0], USD[0.01], USDT[0]

07788867                           CUSDT[4], DOGE[2], NFT (416175220318279331/Coachella x FTX Weekend 1 #25679)[1], SOL[25.90308572], TRX[4], USD[0.00]                                                                           Yes

07788868                           BRZ[1], BTC[0], CUSDT[3], ETH[0], ETHW[0], TRX[1], USD[0.00]                                                                                                                                   Yes

07788877                           NFT (289009145451400157/CrypticPunks #56)[1], NFT (290034642398231809/Cutie Kittens #47)[1], NFT (292042370869311293/Olive's second work)[1], NFT (298316571575463587/CrypticPunks
                                   #42)[1], NFT (304366389703399166/CrypticPunks #57)[1], NFT (307575893981602292/Olive's fifth work)[1], NFT (307809665779152325/Cutie Kittens #22)[1], NFT (325606028437413672/Olive's
                                   Procreate Drawings)[1], NFT (327526497041548878/Cutie Kittens #32)[1], NFT (333335141634238462/Olive's fourth work)[1], NFT (335598653092431305/CrypticPunks #63)[1], NFT
                                   (345345471699319542/CrypticPunks #49)[1], NFT (353762895933987337/Cutie Kittens #40)[1], NFT (356254311458064759/CrypticPunks #83)[1], NFT (363232401871271100/Cutie Kittens #39)[1], NFT
                                   (365245697695844311/CrypticPunks #30)[1], NFT (395833607778346184/Cutie Kittens #42)[1], NFT (397551597299182205/Cutie Kittens #48)[1], NFT (403513662615971144/Olive's fourth work #2)[1],
                                   NFT (405315866586515159/Cutie Kittens #34)[1], NFT (407571043034456922/Cutie Kittens #26)[1], NFT (419601154546037381/CrypticPunks #87)[1], NFT (428812522169966521/Cutie Kittens #44)[1],
                                   NFT (435393708853676903/Cutie Kittens #46)[1], NFT (441894551930675098/CrypticPunks #75)[1], NFT (446337397134667060/Cutie Kittens #12)[1], NFT (452464599588421217/CrypticPunks #46)[1],
                                   NFT (463179824398672639/Cutie Kittens #50)[1], NFT (468084196638233961/Cutie Kittens #30)[1], NFT (474018694486844831/Cutie Kittens #45)[1], NFT (474589393508717971/CrypticPunks #32)[1],
                                   NFT (481813023687184748/Cutie Kittens #37)[1], NFT (490152730374420736/Cutie Kittens #36)[1], NFT (493538293194817230/Cutie Kittens #38)[1], NFT (505838405820393230/Cutie Kittens #28)[1],
                                   NFT (508307315677568825/CrypticPunks #24)[1], NFT (515098385322236846/Cutie Kittens #27)[1], NFT (525079266393586211/Cutie Kittens #41)[1], NFT (525588592244119753/CrypticPunks #81)[1],
                                   NFT (535676242974366721/Olive's third work)[1], NFT (537542349521032069/Cutie Kittens #35)[1], NFT (538758823257546803/Cutie Kittens #49)[1], NFT (539943617989398441/Cutie Kittens #31)[1],
                                   NFT (554545073983280430/Cutie Kittens #33)[1], NFT (556479061620231253/Cutie Kittens #43)[1], USD[0.00], USDT[0.00000002]

07788883                           BTC[.00000001], CUSDT[4], SOL[.15006356], TRX[1], USD[0.00]                                                                                                                                    Yes

07788893                           BRZ[1], ETH[.00642626], ETHW[.00634418], USD[0.00]                                                                                                                                             Yes

07788915                           USD[2.72]

07788916                           BTC[.16047763]                                                                                                                                                                                 Yes

07788930                           BRZ[1], CUSDT[2], DOGE[2], ETH[.07845333], ETHW[.07748124], SOL[1.72717822], TRX[2], USD[156.39]                                                                                               Yes

07788933                           USD[139.90]

07788941                           USD[1.99]                                                                                                                                                                                      Yes

07788945                           CAD[131.87], DOGE[264.74825], ETHW[6.02961145], LINK[39.3], USD[0.04]

07788951                           USD[0.05], USDT[0]                                                                                                                                                                             Yes

07788954                           BTC[.403137], ETH[.09867], ETHW[.09867], LINK[73.89], SHIB[11046121.8], UNI[7.45959727]

07788957                           NFT (486952345815150032/Microphone #1676)[1]

07788980                           ETHW[.123876], USD[0.00]

07788994                           BTC[0], NFT (474611366173513941/Entrance Voucher #1985)[1], USD[173.50]

07789000                           ETH[0], SOL[0], USD[0.00]

07789012                           TRX[6987.009396]

07789020                           CUSDT[1], TRX[1], USD[0.29]                                                                                                                                                                    Yes

07789021                           BAT[111.75139592], CUSDT[1], DOGE[182.32684981], GRT[107.05574116], TRX[364.5080902], USD[141.23], USDT[109.30839897]                                                                          Yes

07789037                           TRX[1367.934451], USD[0.00]

07789050       Contingent,         USD[3773.55]
               Unliquidated
07789059                           USD[1.03]

07789073                           BRZ[1], CUSDT[1], SHIB[5414185.16513264], SOL[1.38679397], USD[0.00]

07789078                           USDT[0]

07789081                           USDT[.3380064]

07789082                           USD[0.00]

07789090                           USD[1.86]

07789099                           BTC[.00002509], DOGE[.855], ETH[.00001185], LTC[0], SOL[0], USD[0.00]

07789100                           CUSDT[1], LINK[.00001826], USD[32.83]                                                                                                                                                          Yes

07789101                           CUSDT[17806.87312511], GRT[1], KSHIB[17425.60568466], SHIB[7490732.98468722], TRX[1], USD[6.02]                                                                                                Yes

07789102                           SOL[.00000001]

07789105                           TRX[10], USD[0.01], USDT[.686]

07789106                           BTC[.00008506], SUSHI[.414], USD[1.60], USDT[6.1933272]
West Realm Shires Services Inc.                                                        Case 22-11068-JTD      DocF-3:
                                                                                                  Amended Schedule 1754        Filed
                                                                                                                      Nonpriority      06/27/23
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                                                                                                                                            Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07789120                           BTC[.01221499], CUSDT[2], ETH[.1895381], ETHW[.18931493], LINK[14.63639328], USD[0.00], USDT[0]                                                                                     Yes

07789122                           BTC[.00014449], CUSDT[4], USD[3.14]                                                                                                                                                 Yes

07789127                           DAI[.05222941], SOL[.10190068], USD[2.43]

07789131                           ETH[.000576], ETHW[.000576], USD[13.88], USDT[1.6847293]

07789138                           SOL[.00481332]

07789145                           AAVE[0], BRZ[1], BTC[0.02139975], CUSDT[9], DOGE[2], ETH[0.00000005], ETHW[0.00000005], MATIC[535.55033979], SOL[0.00002417], TRX[3], USD[0.00]                                     Yes

07789147                           BCH[.03479147], CUSDT[5], DOGE[1], SOL[.96851819], SUSHI[4.44389566], USD[0.00]                                                                                                     Yes

07789149                           CUSDT[3], SOL[.0471726], USD[0.58]                                                                                                                                                  Yes

07789155                           EUR[0.00], USD[0.00], USDT[0]

07789161                           USD[0.00]                                                                                                                                                                           Yes

07789165                           TRX[.19264914], USD[0.00], USDT[0]

07789167                           BRZ[1], CUSDT[2], ETH[.15056292], ETHW[.14975873], GRT[1.00367791], USD[0.36]                                                                                                       Yes

07789172                           USD[0.00]

07789186                           BRZ[1], ETHW[.67238819], SHIB[2], TRX[1], USD[0.01]                                                                                                                                 Yes

07789190                           USD[1.44]

07789199                           USDT[1.03582413]                                                                                                                                                                    Yes

07789200                           BAT[1], BRZ[6.05915963], BTC[0.00107657], CUSDT[8], DOGE[11.02564618], GRT[2], SHIB[7], TRX[5.011472], USD[0.00], USDT[31.70756399]                                                 Yes

07789216                           ETH[3.53244899], ETHW[3.53244899], SOL[2.02523854], USD[2300.00]

07789222                           DOGE[1], TRX[1], USD[0.00], USDT[0.00604699]

07789225                           SOL[.05], USD[10.47]

07789231                           BAT[1.00458581], BRZ[1], BTC[.0000031], DOGE[4], ETH[0], ETHW[33.63180934], SOL[0], TRX[2]                                                                                          Yes

07789232                           BTC[.00005313]

07789235                           MATIC[27.90581236], SUSHI[46.34215268], TRX[3965.75628935], USD[0.17], USDT[0]                                                                                                      Yes

07789239                           BTC[.00045313], CUSDT[3], DOGE[166.81293397], SHIB[1360523.63364309], USD[6.52]                                                                                                     Yes

07789240                           BTC[0.00010884], USD[0.00]

07789241                           ETHW[.119892], USD[1.10]

07789244                           USD[1.50]

07789259                           BTC[.0004191], CUSDT[1], NFT (387668229651008612/Joe Theismann's Playbook: New York Giants vs. Washington - October 20, 1974 #52)[1], USD[37.72]                                    Yes

07789266                           BTC[.00001154], SOL[.00952668], USD[0.00]

07789268                           CUSDT[15], DOGE[2], SOL[2.47628973], USD[1.74]                                                                                                                                      Yes

07789276       Contingent,         AAVE[.55646468], ALGO[101.33648014], AVAX[1.93533995], BTC[.01302354], DOGE[169.52193091], ETH[0.07096801], ETHW[.00034044], LINK[4.45250421], MATIC[.00241671], SOL[1.31427795],
               Unliquidated        USD[9.49]
07789285                           SOL[0]

07789297                           CUSDT[2], USDT[0.00000046]                                                                                                                                                          Yes

07789298                           USD[0.00], USDT[.6935174]

07789302                           SOL[.09], USD[22.00]

07789309                           BTC[.00004939], USD[56.81]

07789318                           BTC[.00562953], CUSDT[1], DOGE[361.89679889], SHIB[1], TRX[1], USD[0.01], USDT[1.09943246]                                                                                          Yes

07789319                           TRX[2], USD[0.00]                                                                                                                                                                   Yes

07789329                           BTC[.0050949], ETH[.04795201], ETHW[0.04795200], SOL[2.32767], USD[212.32]

07789333                           USD[2.00]

07789335                           BTC[.000022], ETH[.00070839], ETHW[.00070839], MATIC[9.99], SOL[.00198], USD[0.01]

07789336                           BAT[5.0827817], BRZ[20.53472846], CUSDT[186.52101348], DOGE[.00497669], ETHW[2.78552546], GRT[6], LINK[.00060449], NFT (381289294221233045/Go knights go )[1], SHIB[80],            Yes
                                   SOL[.00001694], SUSHI[1.02105521], TRX[87.87667284], UNI[1.05461255], USD[0.00], USDT[5.13119685]
07789354                           SOL[26.64], TRX[17], USD[0.03]

07789365                           NFT (335501830129690082/FTX - Off The Grid Miami #1444)[1]

07789369                           BTC[0]

07789372                           SOL[60.4], USD[0.80]

07789379                           GRT[1.1598039], USD[0.00]

07789380                           SUSHI[.429], USD[4.20], USDT[16.48988]

07789386                           SOL[0]

07789394                           ETH[1.47782], ETHW[1.47782], LINK[12.987], MATIC[159.84], USD[32099.24]

07789403                           BAT[0], ETH[0], GRT[0], MATIC[0], TRX[0.00460400], USD[0.00]                                                                                                                        Yes

07789404                           USD[0.00]

07789414                           CUSDT[3], DOGE[1], SHIB[3285599.26057277], TRX[799.64231417], USD[0.00]                                                                                                             Yes

07789418                           DOGE[1], USD[0.00], USDT[0]                                                                                                                                                         Yes

07789422                           BTC[.0000001], USD[0.00]                                                                                                                                                            Yes

07789428                           BTC[.0004975], CUSDT[1], USD[25.01]

07789429                           SOL[.10517234], USD[0.00]

07789431                           LTC[0], SOL[0.00000001], USD[107.36]
West Realm Shires Services Inc.                                                        Case 22-11068-JTD      DocF-3:
                                                                                                  Amended Schedule 1754        Filed
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07789434                           BCH[.00670172], CUSDT[16], DOGE[2], ETH[.00000009], ETHW[.00000009], NFT (294787095387603824/Gear Box)[1], NFT (296241678075998457/Colossal Squid Game)[1], NFT                            Yes
                                   (301362911811401701/Anime #19)[1], NFT (305565578564094210/Disintegration Complex)[1], NFT (311162972776679096/Hive Mind)[1], NFT (324625998175790658/Anime #25)[1], NFT
                                   (337546656257363607/Gisella The Beeze)[1], NFT (340436614697306976/Astro Stones #10)[1], NFT (340474592351672504/Digital Z #7)[1], NFT (349344023497964351/BBC Radial 1)[1], NFT
                                   (355654844816565448/Abyss Dweller #2)[1], NFT (356297680187819829/Sea of Debris)[1], NFT (365873415161633199/Anime #30)[1], NFT (366168014662189496/Leader )[1], NFT
                                   (368582677174126366/Mister Mitch)[1], NFT (370941983836266475/Par)[1], NFT (373840014906133424/Astro Stones #29)[1], NFT (379733125379971734/AI-generated landscape #76 #2)[1], NFT
                                   (380305137078701402/Chitto #21)[1], NFT (380648663578417940/The Blur 1)[1], NFT (385054414241711105/Anime #12)[1], NFT (385811838607663051/Interior Slide)[1], NFT
                                   (394062924464688779/Rubber Duckie #0003 - Green)[1], NFT (394774676054779821/A Glass of Wine)[1], NFT (398418272068269439/Hold my Beer)[1], NFT (400534877588945021/Skull Love
                                   #12)[1], NFT (412594092526619523/Astro Stones #8)[1], NFT (418119943420548499/Skull Love #23)[1], NFT (429553937301290091/Red Room)[1], NFT (431218387904343511/Digital Z #19)[1], NFT
                                   (443177687588069746/Digital Z #12)[1], NFT (444029785281838027/Bevel Boy #030 - Saudi Arabia)[1], NFT (450918666652503206/Chair)[1], NFT (454403375059719832/Structural Bondage)[1], NFT
                                   (457398787918521262/Anime #29)[1], NFT (458858985858862087/Anime #57)[1], NFT (467168775718743833/Miami Ticket Stub #147)[1], NFT (469231705768022147/Illusionary Node)[1], NFT
                                   (472944783541863523/Bevel Boy #014)[1], NFT (474319740009191702/Anime #31)[1], NFT (480632150609479666/Digital Z #14)[1], NFT (481949514528781397/Digital Z #5)[1], NFT
                                   (488986966501037718/Voxel City #12)[1], NFT (489068698883042314/Cherry Limeade)[1], NFT (493926930995604134/Anime #7)[1], NFT (501309687030690831/Artificial Satellite)[1], NFT
                                   (507436871357142533/Anime #6)[1], NFT (507956296601765745/Our World #002)[1], NFT (508064938763608860/Astro Stones #25)[1], NFT (509077598550477366/Old Joe)[1], NFT
                                   (518030788368957789/Green Skin)[1], NFT (527206911734669396/New Boots 1)[1], NFT (530927177656065928/Anime)[1], NFT (532032369493676745/Anime #54)[1], NFT
                                   (534333429251858101/Desert Gypsy 1)[1], NFT (538944424049766564/AI-generated landscape #20)[1], NFT (540307891082175937/Anime #20)[1], NFT (547059950213537053/Collapsible
                                   Colosseum)[1], NFT (548723624548914104/Sad Pig #1)[1], NFT (554665801274060596/Anime #16)[1], NFT (556438076492534601/FTX - Off The Grid Miami #3311)[1], NFT
                                   (556891143167348343/Prismatic Sheen)[1], NFT (557540233704404318/Sand Daisy 3)[1], NFT (558201064396291782/Righteous Donald)[1], NFT (563608018469122620/Magma Reactor)[1], NFT
                                   (564277887429301318/Hall of Fantasy League #97)[1], NFT (565371202775868868/Surreal World #47)[1], NFT (570761477592580541/Bevel Boy #017 - Burner )[1], NFT
                                   (571908453542262696/Masked Q)[1], NFT (575326142957095323/Crashing of fountains )[1], SHIB[1862218.36504642], SOL[.00000322], TRX[3], USD[1.39]
07789435                           ETHW[1.16538115], USD[0.00]

07789439                           CUSDT[1], DOGE[104.99480403], GRT[51.02354694], USDT[27.08325193]                                                                                                                          Yes

07789440                           BTC[.00005924], USD[0.00], USDT[0]

07789451                           USD[0.05]                                                                                                                                                                                  Yes

07789454                           ETH[.075924], ETHW[.075924], SOL[1.12887], USD[6.99]

07789455                           EUR[0.00], USD[0.00], USDT[0]

07789461                           USD[47.62], USDT[0]

07789464                           BTC[0.00029358], SOL[.0005]

07789467                           SOL[4.57313892], USD[0.00]

07789502                           USD[0.00]

07789509                           BTC[.00000002], CUSDT[6], DOGE[1], ETH[.00000025], ETHW[.02732238], GRT[26.77050816], LTC[.23884281], MATIC[0.00149239], SOL[.19649498], TRX[1], USD[0.00]                                 Yes

07789510                           ETH[.00000001], ETHW[.00000001], SOL[0]

07789512                           BRZ[2], CUSDT[4], DOGE[2], SOL[.05636293], TRX[1], USD[0.01]

07789514                           BCH[0], USD[0.00]

07789518                           BAT[2.08144677], BRZ[1], BTC[.02367559], CUSDT[44], DOGE[15.9940902], GRT[1.00018764], SOL[10.97514745], TRX[14.29719119], USD[0.00], USDT[0]                                              Yes

07789520                           BTC[0], NEAR[0], USD[0.00], USDT[0]

07789526                           BCH[.07896842], BRZ[64.15833019], BTC[.00732311], CUSDT[10], DOGE[52.64141461], ETH[.0705535], ETHW[.0705535], EUR[16.73], NFT (300647842052016277/Marcus Allen's Playbook: Kansas
                                   City Chiefs vs. Detriot Lions - November 29, 1996 #72)[1], SHIB[1], TRX[105.76959662], USD[0.41]
07789534                           USD[83.03]

07789544                           SOL[3.54645], USD[2.50]

07789553                           CUSDT[1], DOGE[1], GRT[1.00367791], TRX[4], USD[0.00], USDT[1.0980978]                                                                                                                     Yes

07789564                           CUSDT[1], SOL[.68712771], USD[0.01]                                                                                                                                                        Yes

07789565                           USD[20.00]

07789570                           BTC[.00000246], USD[0.00]

07789576                           BAT[1], DOGE[1], SOL[0], TRX[1], USD[0.00], USDT[12.27214945]

07789591                           USD[21.51]                                                                                                                                                                                 Yes

07789597                           USD[1.48]

07789598                           DOGE[1], LINK[49.95351477], SHIB[8146800.30306026], SOL[56.5172016], USD[0.00], USDT[0]                                                                                                    Yes

07789599                           USD[82.44]                                                                                                                                                                                 Yes

07789606                           USD[11.30]

07789607                           CUSDT[3], DOGE[1], ETHW[.41375641], GRT[1.00367791], SHIB[1], TRX[3], USD[0.00]                                                                                                            Yes

07789617                           NFT (339911144184146525/ShearCat)[1], NFT (430934721634212833/FlamesCat)[1], USD[10.00]

07789621                           USD[0.00]

07789626                           AAVE[.19790776], CUSDT[3], DOGE[1], GRT[515.8233447], MKR[.02161923], SOL[.99452563], TRX[2], UNI[2.52732111], USD[21.20]                                                                  Yes

07789631                           BTC[.0076], ETH[.108], ETHW[.108], SOL[4.33], USD[2.73]

07789633                           AVAX[53], SOL[0], USD[0.01], USDT[0]

07789636                           BTC[.00000087], USD[0.00]                                                                                                                                                                  Yes

07789641                           USD[10.00]

07789646                           BRZ[1], BTC[.17139494], SHIB[1], TRX[1], USD[0.00]                                                                                                                                         Yes

07789650                           SOL[.001995], USD[0.01]

07789658                           LTC[0], SOL[.00000001], USD[0.00]

07789663                           BF_POINT[300], ETH[0], ETHW[0.00066927], GRT[0], MATIC[0], MKR[3.45396247], SOL[175.18448934], SUSHI[225.32320462], UNI[27.20247114], USD[0.64]

07789664                           BRZ[3], BTC[.00000009], CUSDT[7], DOGE[6.00389169], TRX[3], USD[0.00]                                                                                                                      Yes

07789665                           BTC[1.6897], NFT (294121712956231274/GSW Western Conference Finals Commemorative Banner #1020)[1], NFT (307586400860612474/GSW Western Conference Semifinals Commemorative
                                   Ticket #369)[1], NFT (354678895401620692/GSW Championship Commemorative Ring)[1], NFT (383961848920942031/GSW Western Conference Finals Commemorative Banner #1017)[1], NFT
                                   (462123760727494532/GSW Western Conference Finals Commemorative Banner #1018)[1], NFT (472394928293291859/GSW Round 1 Commemorative Ticket #431)[1], NFT
                                   (472745369146158913/GSW Championship Commemorative Ring)[1], NFT (474426629925590575/GSW Western Conference Semifinals Commemorative Ticket #368)[1], NFT
                                   (475390330538988257/GSW 75 Anniversary Diamond #247)[1], NFT (526934933184491338/GSW Western Conference Finals Commemorative Banner #1019)[1], NFT (532741050728963806/Warriors
                                   Foam Finger #516)[1], SOL[195.91], USD[23.37]
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                                                                                                                                               Customer Claims                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07789683                              BTC[.0725], USD[0.76]

07789694                              SOL[0], USD[0.00]

07789697                              USD[0.00]

07789698                              SOL[17.50000000], USD[0.73]

07789721                              BTC[0.00110423]

07789726                              BTC[.0055238], ETH[.03689048], ETHW[.03689048], USD[0.00]

07789729                              BTC[.01166917], CUSDT[1], SOL[1.01562353]                                                                                                                                   Yes

07789732                              CUSDT[2], DOGE[1], USD[0.00]                                                                                                                                                Yes

07789737                              BAT[1], BRZ[2], BTC[.00000008], CUSDT[7], DOGE[1], ETH[0], SOL[0], TRX[4], USD[0.00], USDT[2.1698411]                                                                       Yes

07789759                              USD[0.00]

07789766                              USD[20.00]

07789782                              ETH[.00000001], NFT (507427110834994577/Entrance Voucher #3674)[1], SOL[.00000001], USD[0.63]

07789792                              SOL[5]

07789803                              USD[1992.66], USDT[0.00000001]

07789811                              NFT (312269489719462951/The 2974 Collection #2416)[1], NFT (365344765661903881/Birthday Cake #2416)[1], USD[27.00]

07789813                              USD[0.00]

07789819                              BAT[1.01190014], BTC[.6772748], ETH[1.53501844], ETHW[1.53445965], USD[0.00]                                                                                                Yes

07789828                              BRZ[1], DOGE[1], USD[0.01]                                                                                                                                                  Yes

07789830                              CUSDT[2], USD[0.01]                                                                                                                                                         Yes

07789832                              DOGE[752.247], USD[0.00], USDT[.4352]

07789842                              AUD[0.00], BTC[0], ETH[0], ETHW[0], SOL[0], USD[0.00]

07789844                              ETH[0.00000001], USD[0.00]

07789858                              USD[0.31]

07789876                              BAT[1], SHIB[2], USD[0.08], USDT[0]                                                                                                                                         Yes

07789878                              BTC[.0001841], SOL[.01488], TRX[.000001], USD[0.01], USDT[0]

07789882                              SOL[0]

07789883                              USD[0.00]

07789893                              CUSDT[1], DOGE[104.71525211], USD[0.07]                                                                                                                                     Yes

07789894                              USD[0.01]

07789895                              USD[9.98]

07789899                              BAT[1.01221082], BTC[0], CAD[0.00], CUSDT[11], DOGE[3], ETH[0.00000001], ETHW[0], LINK[0.00002477], MATIC[0], SOL[0], TRX[1], UNI[.00000001], USD[0.00], USDT[0.00040737]   Yes

07789902                              CUSDT[1], DOGE[0], ETH[.00000001]                                                                                                                                           Yes

07789907                              USD[0.00]

07789910                              SOL[.06], USD[0.67]

07789911                              LTC[.03], USD[2.12]

07789915                              BTC[0], ETHW[13.765973], NFT (335058574340632214/Entrance Voucher #23900)[1], SOL[.00000038], USD[0.00]

07789922                              ETH[.00019183], ETHW[.00019183], SHIB[1598400], USD[0.00]

07789926                              USD[0.00]

07789929                              SOL[.01111488], USD[0.00]                                                                                                                                                   Yes

07789940                              LINK[2.6973], LTC[.06993], MATIC[19.98], SOL[.06993], USD[30.59]

07789949                              BRZ[4], CUSDT[5], DOGE[8.27922173], MATIC[2185.00685188], SHIB[1], SOL[74.13731332], TRX[1], USD[0.12]                                                                      Yes

07789952                              BTC[0.00003224], MATIC[9.98], SOL[.54947], USD[0.45]

07789973                              USD[0.01]

07789975                              DOGE[1], ETH[1.00003965], ETHW[1.00003965], USD[14.60]

07789979                              DAI[.60641151], USD[0.00]

07789987                              USDT[0.00716496]

07789990                              USD[137.91]

07789992       Contingent, Disputed   BAT[.0003998], ETH[0], ETHW[0.01053393], SHIB[8], SOL[0.00090001], USD[0.00]                                                                                                Yes

07789993                              SOL[1.10486968], USD[27.93]

07789998                              BTC[0.00000003], SHIB[2], USD[0.00]                                                                                                                                         Yes

07790004                              SOL[.0065371]

07790006                              NFT (451443506066062503/Goofy Hippo Club #42)[1], USD[5.79]

07790007                              SHIB[1], USD[865.81], USDT[0]                                                                                                                                               Yes

07790010                              BTC[.20206444], DOGE[1], LTC[10.62788301], MATIC[294.32901582], USD[0.00]                                                                                                   Yes

07790011                              CUSDT[1], NFT (500314195200701729/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #82)[1], USD[7.17]                                         Yes

07790019                              NFT (335232230225531377/Aku World: Dream #192)[1]

07790020                              ETH[0.00000001], ETHW[0], SOL[0], USD[0.00], USDT[0.00000012]

07790028                              USD[549.63]                                                                                                                                                                 Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07790033                              LINK[35.291876]

07790037                              SOL[0]

07790040                              USD[0.00]                                                                                                                                                                                 Yes

07790042                              USD[0.26]

07790046                              SOL[.28265779], USD[0.00]

07790056                              GRT[1.00367791], LINK[18.92592], SOL[3.97560127], TRX[1], USD[0.01]                                                                                                                       Yes

07790059                              USD[20.00]

07790079                              CUSDT[2], DOGE[1], SOL[.91421674], USD[0.00], USDT[0]

07790081                              DOGE[1], USDT[0]                                                                                                                                                                          Yes

07790082                              SOL[460.65], USD[-3120.93]

07790087                              USD[22.04]

07790090                              USD[1011.62]

07790094                              USD[0.00]

07790102                              SOL[5.64974189], USD[0.00]

07790106                              SOL[.00539383], USD[4.37]

07790110                              BRZ[1], USD[0.00], USDT[0]

07790118                              USD[0.00]

07790119       Contingent, Disputed   USD[0.00]

07790122                              BTC[.02512778], DOGE[351.03005406], ETH[.596948], ETHW[.5966973]                                                                                                                          Yes

07790123                              SOL[.00000001]

07790136       Contingent, Disputed   USD[0.00]

07790138                              BAT[6.40576611], BF_POINT[300], BRZ[6.45370308], BTC[.05029629], CUSDT[5], DOGE[17.20313396], GRT[567.58738439], SHIB[1], SUSHI[.00049348], TRX[14.31913976], UNI[27.59532609],           Yes
                                      USD[0.00], USDT[0]
07790139                              ALGO[0], BAT[2.11587496], BRZ[2], BTC[0], DOGE[8.00921072], ETH[0], GRT[2], LINK[0], MATIC[1.00164518], MKR[0.00003907], NEAR[0], SHIB[16], SOL[0], SUSHI[2.05041659], TRX[5.12063957],   Yes
                                      UNI[2.06753664], USD[0.01], USDT[0.00000001], YFI[0]
07790145                              NFT (453453041397007498/Sun Set #970)[1], NFT (491162346687836460/Spectra #700)[1], USD[8.10]

07790149                              CUSDT[1], SOL[.76532164], USD[0.00]                                                                                                                                                       Yes

07790153                              SOL[4.07], USD[59.84]

07790159                              SOL[8.90414], USD[4.30]

07790162                              BAT[.996], LINK[.0843], SOL[.00499], USD[0.43]

07790166                              BTC[.0000541], USD[0.00]

07790169                              SOL[.00527385], USD[0.68]

07790173                              USD[0.00]

07790186                              CUSDT[1], TRX[1], USD[0.01]                                                                                                                                                               Yes

07790187                              BF_POINT[200], CUSDT[1], ETH[.14660753], ETHW[.14572523], SUSHI[10.09289131], TRX[1], USD[0.00]                                                                                           Yes

07790190                              CUSDT[2], DOGE[2], ETH[.00554412], ETHW[.00547572], LINK[1.30003047], MATIC[55.59570926], SOL[.05618808], SUSHI[.93620731], TRX[1], USD[0.00]                                             Yes

07790209                              BTC[0.00015612], SHIB[0], SOL[0], SUSHI[0], USD[0.00]

07790210                              BTC[.00182477], CUSDT[8], DOGE[1], GRT[167.77393739], LINK[11.8552181], SUSHI[27.50724109], TRX[1], UNI[4.93160907], USD[2.22]                                                            Yes

07790212                              USD[1.54]

07790225                              USD[0.00]

07790226       Contingent, Disputed   BCH[0], BTC[0], CUSDT[5], DAI[0], ETH[0], LTC[0], MATIC[0], SOL[0], USD[0.00], USDT[0]                                                                                                    Yes

07790233                              CUSDT[1], LINK[16.29872887], USD[0.06]                                                                                                                                                    Yes

07790237                              CUSDT[1], DOGE[3], ETH[.18727573], ETHW[.18703804], SHIB[3], SOL[16.09897159], TRX[1], USD[0.00]                                                                                          Yes

07790241                              USD[820.91]                                                                                                                                                                               Yes

07790243                              ETH[0], USD[8.25]

07790247                              NFT (322759736393566065/FTX Crypto Cup 2022 Key #132)[1], USD[0.00]

07790254                              BTC[.0001998], ETH[.001999], ETHW[.001999], USD[0.94]

07790260                              NFT (314079958273311791/The Joshua Tree)[1], NFT (393246718145382587/River Reflections #1)[1], NFT (418774878363592353/Highway of the Damned)[1], NFT (512341219347422895/Fern)[1],
                                      NFT (530701341209846436/Death Valley Dust Storm)[1], NFT (539644102700707326/The Fern)[1], SOL[0], USD[0.00], USDT[0]
07790267                              ETH[0], ETHW[0], SOL[0.00000001], USD[0.00]                                                                                                                                               Yes

07790269                              BTC[.00981855], USD[0.00]

07790271                              CUSDT[3], MATIC[0], SOL[0], TRX[1]                                                                                                                                                        Yes

07790274                              AAVE[.48687543], ETH[.0425608], ETHW[0.04256080], UNI[3.75877853], USD[0.00]

07790275                              DOGE[21.37427394], NFT (445202268859185531/SolDad #1078)[1], SOL[0], USD[0.00]

07790285       Contingent,            USD[27.05]
               Unliquidated
07790300                              NFT (429275244045341319/Microphone #10589)[1], NFT (480337839640869564/Entrance Voucher #29130)[1], NFT (567168087068386350/Humpty Dumpty #1116)[1]

07790308                              BTC[0], ETHW[.002], USD[0.00]

07790313                              SOL[.006967], USD[0.00], USDT[1.07733306]

07790319                              DOGE[2.997], USD[0.21]

07790323                              SOL[0], USDT[0.00000004]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07790336                              USD[0.02]                                                                                                                                                                               Yes

07790337                              ETHW[.00004709], USD[0.02]

07790368                              SOL[0], TRX[1]                                                                                                                                                                          Yes

07790369                              SOL[0], USD[0.00]

07790389                              LTC[0], SOL[0], USD[0.00]

07790390                              BRZ[6.12903872], BTC[0.00000027], CUSDT[3], DOGE[7.00057537], GRT[0], NFT (305668053712833304/Barcelona Ticket Stub #387)[1], NFT (484107196392138611/Warriors 75th Anniversary City    Yes
                                      Edition Diamond #1000)[1], NFT (496500196265185214/FTX - Off The Grid Miami #6888)[1], NFT (498103700062530940/Serum Surfers X Crypto Bahamas #176)[1], NFT (526974025308484027/Saudi
                                      Arabia Ticket Stub #1515)[1], SHIB[70.7370293], SOL[0], TRX[18.38285192], USD[0.01], USDT[1.00365957]
07790392                              CUSDT[1], USD[0.00]

07790394                              DOGE[1], SHIB[1], SOL[.00000001], USD[0.00]                                                                                                                                             Yes

07790397                              ETH[.000772], ETHW[.000772], USDT[.490913]

07790399                              USD[5.73]

07790403                              USD[11.62], USDT[0.00000001]                                                                                                                                                            Yes

07790407       Contingent, Disputed   ETH[0], USD[0.95], USDT[.006966]

07790420                              AVAX[0], USD[0.38], USDT[0]

07790425                              ETH[.22703919], ETHW[.22703919]

07790429                              USD[0.00]

07790433                              BTC[.0000799], ETH[.000946], ETHW[.000946], SOL[.00743], USD[1092.92]

07790436                              CUSDT[1], ETH[0], USD[0.02]                                                                                                                                                             Yes

07790450                              BRZ[8.51078989], BTC[0], CUSDT[31], DOGE[5], GRT[1], SHIB[19], TRX[10], USD[0.00], USDT[0.00038412]                                                                                     Yes

07790454       Contingent, Disputed   ETHW[.25770931], SUSHI[10.05867054]                                                                                                                                                     Yes

07790458                              USD[0.00]                                                                                                                                                                               Yes

07790459                              TRX[999.1], USD[10.07]

07790464                              DOGE[1], USD[0.00]

07790467                              USD[0.00]

07790474                              USD[0.00]

07790475                              NFT (365489982506228752/Romeo #1578)[1], NFT (526657947741926554/Entrance Voucher #4657)[1], NFT (547579067562071374/Microphone #9467)[1]

07790488                              NFT (528001408373346166/The Founder #249)[1]

07790490                              BRZ[1], CUSDT[13], SHIB[932434.24676342], TRX[1], USD[0.00]                                                                                                                             Yes

07790492                              NFT (322630350859853068/Coachella x FTX Weekend 1 #26475)[1], USD[276.21], USDT[.06599559]

07790495                              BTC[.0002], ETH[.005988], ETHW[.005988], PAXG[.0002998], SOL[.00871], USD[15.22]

07790512                              AVAX[.6354225], BAT[1], BTC[.00004355], CUSDT[2], DOGE[2], ETH[.00047444], ETHW[0.19221178], GRT[3], SHIB[2], TRX[1.000008], USD[28266.47]                                              Yes

07790519                              BTC[.01347203], DOGE[1], USD[0.00]                                                                                                                                                      Yes

07790523                              BCH[.00000069], BTC[0.00002347], DAI[0], SOL[.00000112], USD[0.00], USDT[0.00013694]                                                                                                    Yes

07790527                              NFT (396303606406581431/Joe Theismann's Playbook: Washington vs. Miami Dolphins - January 30, 1983 #41)[1], USD[78.40]

07790546                              SOL[3.3144], USD[0.00]

07790551                              USD[109.81]                                                                                                                                                                             Yes

07790579                              USD[0.00]

07790584       Contingent, Disputed   BRZ[0], BTC[0.00000004], ETH[0.00000035], MATIC[0], SHIB[0], USD[0.01], USDT[0]                                                                                                         Yes

07790587                              BAT[.00431912], CUSDT[2], USD[0.00]                                                                                                                                                     Yes

07790594                              SOL[1.998], SUSHI[12.5], USD[2.98]

07790614                              USD[1000.00]

07790617                              USD[1000.00]

07790620                              BAT[1], GRT[1], SHIB[2], TRX[2], USD[0.00], USDT[0.00000001]                                                                                                                            Yes

07790638                              BTC[.00013803], USD[0.00]                                                                                                                                                               Yes

07790640                              BTC[0.01019837], SOL[0.00000452], USD[0.00]

07790656                              BTC[.00658034], CUSDT[4], DOGE[1], ETH[.02671707], ETHW[.02638875], SHIB[1], TRX[1], USD[1.09]                                                                                          Yes

07790669                              DOGE[452], SHIB[12120000], SOL[14.14], SUSHI[274], USD[0.88]

07790679                              BTC[0], ETH[0], SOL[0], USD[0.01]

07790684                              BRZ[6.07991831], CUSDT[7], DOGE[6], ETHW[.56206003], SHIB[2158100.8614942], SUSHI[134.48161432], TRX[9], USD[3365.48]                                                                   Yes

07790689       Contingent, Disputed   USD[0.01]                                                                                                                                                                               Yes

07790696                              USD[20.00]

07790698                              BTC[0], ETH[1.26580631], ETHW[.0005341], USD[0.83]

07790700                              CUSDT[1], DOGE[1], SOL[5.66415019], TRX[2], USD[0.00]                                                                                                                                   Yes

07790703                              BRZ[1], BTC[.00193323], DOGE[1040.51302978], SHIB[3], SUSHI[117.42082141], USD[0.00]                                                                                                    Yes

07790707                              BTC[0], SOL[.00000001], USD[1018.48]

07790712                              BTC[0.01406918], USD[0.00]

07790713                              CUSDT[1], GRT[75.28103416], USD[0.00]                                                                                                                                                   Yes

07790718                              USD[0.01]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07790721                           USD[1.00], USDT[0]

07790727                           AAVE[.53946], NFT (326294645895978177/Marcus Allen's Playbook: Seattle Seahawks vs. Los Angeles Raiders - October 7, 1984 #41)[1], NFT (342339791462343838/Marcus Allen's Playbook: Kansas
                                   City Chiefs vs. Detriot Lions - November 29, 1996 #47)[1], NFT (434396275804500326/Marcus Allen's Playbook: Los Angeles Raiders vs. Washington - January 22, 1984 #63)[1], NFT
                                   (445050447516968821/Marcus Allen's Playbook: Seattle Seahawks vs. Los Angeles Raiders - October 7, 1984 #46)[1], NFT (457607550235292946/Marcus Allen's Playbook: Seattle Seahawks vs. Los
                                   Angeles Raiders - October 7, 1984 #6)[1], SOL[0], USD[30.41], USDT[0]
07790744                           MKR[.04223983], SHIB[1500329.59680306]                                                                                                                                                       Yes

07790750                           ETHW[.6796352], USD[0.00]

07790752                           USD[21.51]                                                                                                                                                                                   Yes

07790753                           USD[0.00]

07790760                           CUSDT[2], USD[0.00]                                                                                                                                                                          Yes

07790762                           AAVE[0], BTC[0], ETH[0], GRT[0], LTC[0], MATIC[22.03981163], MKR[0], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00], YFI[0]                                                                     Yes

07790781                           BTC[.89427947], ETH[.79481159], ETHW[0.79453000], USD[0.05]                                                                                                                                  Yes

07790787                           USD[0.00]

07790800                           ALGO[19.17599383], AVAX[.24171368], BTC[.00029015], GRT[45.79978129], LINK[1.14563517], MATIC[12.91953888], NEAR[.96096443], SHIB[3], SUSHI[6.23267874], TRX[3], UNI[1.72023674],            Yes
                                   USD[0.00]
07790802                           AAVE[.00002179], BF_POINT[300], LINK[.00000001], SUSHI[.00876637]                                                                                                                            Yes

07790809                           CUSDT[1], ETH[.00363263], ETHW[.00359156], SHIB[51596.47143138], SOL[.41953093], USD[0.00]                                                                                                   Yes

07790815                           USD[0.01]

07790828                           BTC[.0239768], ETH[.14893207], ETHW[.14808961], SOL[19.18784713], USD[0.00]                                                                                                                  Yes

07790843                           BTC[.0075], ETH[.100899], ETHW[.100899], NEAR[22.1], SOL[3.31668], SUSHI[.491], USD[0.31]

07790845                           LINK[8.10244144], SOL[.00119872], USD[408.11]                                                                                                                                                Yes

07790848                           CUSDT[1], TRX[1], USD[0.17]                                                                                                                                                                  Yes

07790862                           USD[1.88]

07790884                           SHIB[1], TRX[1], USD[0.00]                                                                                                                                                                   Yes

07790888                           BTC[.0057], USD[4.71]

07790890                           BTC[.4052332], SOL[.00123], USD[3.91]

07790913                           USD[0.01]                                                                                                                                                                                    Yes

07790916                           BTC[0], ETH[0], ETHW[0], NFT (431665315830584285/Entrance Voucher #1839)[1], USD[7.72], USDT[0]

07790919                           NFT (327763682805460335/Microphone #9104)[1]

07790950                           DOGE[1], GRT[1], TRX[3], USD[0.00]

07790953                           BTC[0.00007662], SOL[.005], USD[1069.43]

07790971                           NFT (302379951544658075/GSW Western Conference Finals Commemorative Banner #2017)[1], NFT (409244247270819495/Golden Hill #95)[1], NFT (413522536285721548/Golden Hill #697)[1], NFT
                                   (495784838310246774/FTX Crypto Cup 2022 Key #837)[1], USD[9.97], USDT[0]
07790981                           ETH[1.00019606], ETHW[1.15019606], USD[0.00]

07790988                           ETHW[.80029939]

07791013                           BAT[1], BRZ[1], DOGE[1], ETHW[.11142454], SHIB[25], TRX[3], USD[0.09]                                                                                                                        Yes

07791034                           NFT (405815266363894968/Entrance Voucher #29315)[1]                                                                                                                                          Yes

07791036                           NEAR[.004545], USD[11.99]

07791038                           USDT[.00273973]                                                                                                                                                                              Yes

07791048                           USD[21.51]                                                                                                                                                                                   Yes

07791052                           BTC[0.00002822]

07791054                           TRX[1], USD[0.00]                                                                                                                                                                            Yes

07791058                           USD[0.00]                                                                                                                                                                                    Yes

07791064                           TRX[.000002]

07791097                           AVAX[.096], BAT[.023], ETHW[1.149493], TRX[3216.88], USD[0.01], USDT[0], YFI[.000953]

07791105                           BTC[.00009], SHIB[9791300], SOL[.00973395], USD[348.22], USDT[8.20780631]

07791109                           BAT[1.01398853], BRZ[1], BTC[.0000016], CUSDT[1], DOGE[1], ETH[.00001188], ETHW[.00001188], TRX[2], USD[0.01]                                                                                Yes

07791122                           BAT[1.01655549], CUSDT[1], DOGE[1], EUR[0.30], GRT[1.00402637], USDT[0.00508578]                                                                                                             Yes

07791125                           BTC[.00000032], USD[0.00]                                                                                                                                                                    Yes

07791142                           CUSDT[3], DOGE[1], TRX[17510.56258481], USD[68.02]                                                                                                                                           Yes

07791166                           USDT[0.00000038]

07791168                           BTC[.0379794], ETH[.000133], ETHW[.362133], SOL[2.96703], USD[0.29], USDT[468.6466842]

07791169                           BTC[0.00000063], SOL[0], TRX[.000001], USDT[10.55082812]

07791172                           BRZ[1], BTC[.0022028], CUSDT[5], DOGE[1], SOL[.92295996], TRX[.00881578], USD[0.00]                                                                                                          Yes

07791177                           SOL[.093], USD[0.00]

07791190                           ETHW[.14236592], SHIB[1], TRX[1], USD[205.00]                                                                                                                                                Yes

07791191                           SUSHI[686.5], UNI[67], USD[5278.01], USDT[0]

07791197                           AAVE[.00000001], CUSDT[1], ETH[.00003005], ETHW[0.00003005], GRT[1.00214846], SHIB[1], SOL[.00068743], TRX[1], USD[0.00]                                                                     Yes

07791199                           BAT[2.71795473], CUSDT[254.55784509], DAI[3.2686822], MATIC[5.77421788], USD[0.01], USDT[4.36891044]                                                                                         Yes

07791207                           ETH[.00079615], ETHW[0.00079614], SOL[.00336472], USD[0.07]

07791211                           USD[0.00]
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                                                                                                                                               Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07791212                              USD[7.92]

07791235                              BTC[0], DOGE[1], ETHW[.06410043], SHIB[6405671.87120148], SOL[.00000001], TRX[1]                                                                                                       Yes

07791238                              BCH[.02791055]

07791250                              NFT (320142415458330128/Romeo #3616)[1], NFT (334384933664718624/Miami Ticket Stub #289)[1], NFT (499815657620797540/Entrance Voucher #5740)[1], NFT
                                      (568053244731170503/Microphone #10461)[1]
07791252                              DOGE[1], GRT[1], LTC[.00166349], USD[0.00]                                                                                                                                             Yes

07791257                              USD[3.83]                                                                                                                                                                              Yes

07791264                              USD[0.00]                                                                                                                                                                              Yes

07791284                              USD[0.00]

07791285       Contingent, Disputed   USD[500.00]

07791287                              BTC[.04584258], ETH[2.23250179], ETHW[2.23156415], LTC[26.51767563]                                                                                                                    Yes

07791305                              ALGO[139.18864052], ETH[.03145833], ETHW[.03106665], USD[0.00]                                                                                                                         Yes

07791335                              NFT (558044866071871667/Aku World Avatar #76)[1]

07791351                              ETH[3.00920898], ETHW[3.00920897], USD[0.00]

07791358                              ALGO[0], KSHIB[0], USD[0.00]                                                                                                                                                           Yes

07791368                              USD[0.01]

07791369                              USD[0.00]                                                                                                                                                                              Yes

07791371                              BTC[.00059162], USD[0.00]

07791382                              CUSDT[.0569531], ETH[0], ETHW[0], USD[117.32], USDT[0]                                                                                                                                 Yes

07791391                              ETHW[.02581134], USD[0.00]

07791395                              USDT[0]

07791415                              BTC[.00028769]                                                                                                                                                                         Yes

07791417                              USDT[11.090856]

07791426                              DOGE[2], ETH[.00000082], ETHW[.00000082], USD[0.00]                                                                                                                                    Yes

07791435                              AAVE[0], BAT[0], BCH[0.00014705], BF_POINT[200], BTC[0.00000005], CUSDT[0], DAI[0], DOGE[1.60206623], ETH[0.00008881], ETHW[.00959079], GRT[0], KSHIB[4.69479078], LINK[0.00155728],   Yes
                                      LTC[0.00058862], MATIC[0.00017401], MKR[0], PAXG[0], SHIB[1.05029535], SOL[0.00189498], SUSHI[0.00012215], TRX[0.59524979], UNI[0.01754319], USD[0.00], USDT[0], YFI[0]

07791436                              ETH[.00214714], ETHW[.00211978], MATIC[.00020657], NEAR[1.17314792], SHIB[3], USD[0.00]                                                                                                Yes

07791450                              TRX[.000001], USDT[0.00003164]

07791454                              AVAX[0], BF_POINT[100], DOGE[0], MATIC[0], NFT (290644596452428071/Space Bums #8315)[1], NFT (323949738681882586/Australia Ticket Stub #2014)[1], NFT (529473364123431577/Space        Yes
                                      Bums #1854)[1], SHIB[1], SOL[0], USD[0.00], USDT[0]
07791470                              USD[0.07]

07791475                              BRZ[1], BTC[0.00264926], CUSDT[1], NFT (405645885330572442/Bahrain Ticket Stub #879)[1], NFT (452195895146524944/Barcelona Ticket Stub #922)[1], SHIB[1], TRX[2], USD[1.36],           Yes
                                      USDT[0.00000001]
07791483                              USD[0.00]

07791493                              NFT (308853993072169407/Portrait Studio #9)[1], USD[0.00]

07791498                              BTC[.0431425], CUSDT[1], DOGE[1], ETH[.44449126], ETHW[0.44430450], SOL[12.26029339], USD[0.01]                                                                                        Yes

07791505                              SOL[0], USD[0.00], USDT[0.00000156]

07791516                              CUSDT[1], SHIB[1], USD[3.18]                                                                                                                                                           Yes

07791529                              USD[0.00]

07791536                              SOL[.00000001], USD[50.00]

07791553                              AVAX[.00000001], SOL[.00000001], USD[0.00], USDT[0]

07791557                              ETH[1.11972118], ETHW[1.11925098], SHIB[8098291.34948286], TRX[1], USD[1299.95]                                                                                                        Yes

07791567                              CUSDT[2], ETH[.03022352], ETHW[.0298502], SOL[3.07369856], USD[0.25]                                                                                                                   Yes

07791574                              SOL[1.97268884], USD[0.00]

07791584                              AAVE[0], BAT[0], BF_POINT[100], BRZ[1], DOGE[0], ETH[0], ETHW[.0000528], GRT[1], MATIC[.00174806], SHIB[11], SOL[7.68390878], TRX[4], USD[-60.00], USDT[0]                             Yes

07791585                              USD[20.00]

07791597                              BF_POINT[300], BTC[.06198636], DOGE[90.5991527], ETH[1.3196746], ETHW[1.31919211], LINK[17.44857426], MATIC[573.82525837], SOL[11.01204947], USD[17552.22]                             Yes

07791599                              ETH[.0004], ETHW[.0004], NFT (460112613140524621/Imola Ticket Stub #2384)[1]

07791600                              BTC[.00002037], USD[0.00]

07791604                              SOL[.07], USD[1.11]

07791610                              ETH[.0000001], ETHW[.4999201], USD[3729.13]

07791631                              BTC[.00005568], SOL[.1998], USD[1.12]

07791633                              BTC[.12011086], ETHW[13.42163672], LINK[19.25704721], LTC[5.48350393], SOL[9.08194848], TRX[6298.26227808]                                                                             Yes

07791643                              NFT (423467596492840346/Microphone #1620)[1]

07791645                              DOGE[1], SOL[0.00138854], TRX[1], USD[0.00]                                                                                                                                            Yes

07791649                              CUSDT[1], SOL[.16631709], USD[0.00]                                                                                                                                                    Yes

07791656                              DAI[.00143622], LINK[.02], MATIC[60], SOL[.002109], UNI[5.217488], USD[0.59], USDT[0]

07791660                              DOGE[1], SOL[2.18720791], USD[0.00]                                                                                                                                                    Yes

07791662                              CUSDT[1], ETH[.01402816], ETHW[.01385019], TRX[1], USD[115.18]                                                                                                                         Yes

07791663                              BTC[.0012964], DOGE[.632], ETH[1.020533], ETHW[1.020533], MATIC[29.7], SHIB[78000], SOL[.74043], SUSHI[1.9275], USD[36.44], YFI[.000991]

07791664                              USD[21.51]                                                                                                                                                                             Yes
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07791671                           BF_POINT[200]

07791673                           USD[25.00]

07791678                           ETH[0], ETHW[0], USD[0.00]

07791683                           LINK[10]

07791685                           USD[0.03]

07791690                           BTC[0], ETHW[.315], NFT (291040845465443087/Dream Girl #001)[1], NFT (330213223923034701/Marcus Allen's Playbook: USC vs. Washington - November 14, 1981 #51)[1], NFT
                                   (349448706621250286/Seeing Money)[1], NFT (398899202819422711/Dream Girl #002)[1], NFT (413459852596716695/Ethereum World)[1], NFT (415363830169256885/Mother )[1], NFT
                                   (418765736867952463/Theia )[1], NFT (439973014954734925/Ishtar )[1], NFT (510006784396667108/Red Lipstick )[1], NFT (512350035297293441/Aphrodite)[1], NFT (518729131485023567/Marcus
                                   Allen's Playbook: USC vs. Washington - November 14, 1981 #47)[1], NFT (531929272986981446/Third Eye Chakra - #6)[1], NFT (540870862936161587/Free Girls)[1], USD[0.00]

07791700                           CUSDT[2], DOGE[1], MATIC[25.53095754], SOL[.68362616], USD[0.00]

07791703                           USD[2.41]

07791715                           BRZ[1], BTC[.00000074], CUSDT[6], DOGE[1], ETH[.00000093], ETHW[.00000093], USD[0.00]                                                                                                   Yes

07791724                           BTC[.00004015]                                                                                                                                                                          Yes

07791726                           NFT (416091389474739729/Warriors Gold Blooded NFT #872)[1]

07791737                           NFT (416835934021308598/Fly Frog 64)[1], NFT (434552758816755507/KidPunk #280)[1]

07791739                           BTC[.00692407], CUSDT[1], LINK[3.50005206], TRX[1], USD[0.01]

07791756                           USD[4.51]

07791774                           DOGE[3.67150461], USD[0.00]

07791778                           CUSDT[1], SOL[1.58061997], USD[109.92]                                                                                                                                                  Yes

07791790                           BTC[0], SOL[0], USD[0.03]

07791793                           MATIC[5], USD[0.53]

07791804                           USD[0.00]

07791810                           BRZ[3], CUSDT[3], DOGE[1], USD[0.00], USDT[0]                                                                                                                                           Yes

07791812                           CUSDT[6], ETH[.00000435], ETHW[.47589107], LINK[20.21541273], MATIC[250.38900545], SHIB[13], TRX[3294.52359623], USD[105.78]                                                            Yes

07791830                           BTC[.00002683], ETHW[.0006], LINK[.08], NFT (542783583328387022/Coachella x FTX Weekend 1 #8155)[1], SOL[.006356], TRX[1], USD[0.14]                                                    Yes

07791832                           SUSHI[0], USD[0.00], USDT[0]

07791834                           BAT[1], CUSDT[8], DOGE[2], ETH[.57309649], ETHW[.57285591], SHIB[1], TRX[3], USD[9.19]                                                                                                  Yes

07791839                           ALGO[.00363364], BTC[.00000005], DOGE[1], ETH[.00000036], ETHW[.03937479], SHIB[27], SUSHI[.00010795], TRX[2], USD[0.00]                                                                Yes

07791840                           SOL[.00000001], USDT[.00224608]                                                                                                                                                         Yes

07791848                           USD[0.01]                                                                                                                                                                               Yes

07791851                           USD[0.11]

07791854                           BTC[.0000404], ETH[.00013697], ETHW[.00013697], NEAR[.0914], SOL[.00558876], USD[0.23], USDT[6022.9416281]

07791855                           BAT[3], BRZ[3], CUSDT[30], DOGE[10], LINK[90.62053533], SHIB[1], SOL[39.61465856], TRX[7], USD[333.61], USDT[2]

07791857                           SHIB[7692300], USD[126.17]

07791870                           BAT[0], BRZ[0], BTC[0], CUSDT[6], DOGE[1], ETH[0], GRT[0], LTC[0], MATIC[0], SHIB[0], SOL[0], SUSHI[0], TRX[0], USD[0.00]                                                               Yes

07791879                           BTC[0.00000109], USD[0.20], USDT[0.41054054]

07791884                           USD[0.00]

07791889                           CUSDT[1], SOL[35.4762094], TRX[1], USD[0.01], USDT[1]

07791893                           BTC[15.23716895], USD[0.00]

07791897                           BRZ[1], DOGE[1], ETH[0], ETHW[0], SOL[.0022918]                                                                                                                                         Yes

07791898                           BTC[0], ETHW[4.9452336], NFT (492162006408712375/Coachella x FTX Weekend 1 #30955)[1], NFT (523598463005195615/Reflector #137)[1], USD[0.00]

07791904                           NFT (443997939134749152/Coachella x FTX Weekend 1 #2097)[1]

07791911                           BRZ[2], TRX[2], USD[0.00]                                                                                                                                                               Yes

07791920                           BTC[.000002]                                                                                                                                                                            Yes

07791928                           GRT[.00015251], LINK[.00000338], LTC[.00000059], SHIB[281], USD[0.68], USDT[0]                                                                                                          Yes

07791931                           CUSDT[1], DOGE[2], USD[0.01]                                                                                                                                                            Yes

07791945                           BRZ[3], BTC[.05769823], CUSDT[11], DOGE[383.75660382], ETH[1.26598516], ETHW[1.2654534], MATIC[315.27612412], SHIB[3668881.14331439], SUSHI[80.83589026], TRX[1], USD[0.00]             Yes

07791950                           SOL[.0056751], USDT[.6843175]

07791951                           BTC[.21985195], SOL[67.4308685], USD[0.00]                                                                                                                                              Yes

07791964                           BRZ[4], DOGE[2], SHIB[10], TRX[4], USD[131.56]                                                                                                                                          Yes

07791965                           AAVE[.36515213], BAT[2.06385351], BRZ[2], CUSDT[8], ETHW[.76852312], KSHIB[71.43960374], NFT (340318668143456688/Entrance Voucher #2158)[1], SHIB[1536968.83949308], TRX[6],            Yes
                                   UNI[5.34649087], USD[4.16]
07791972                           ETH[0], USD[0.00]

07791973                           BAT[6.1403141], BRZ[14.33344046], CUSDT[1], DOGE[21.44372675], ETH[.00002146], ETHW[2.85662973], GRT[3], MATIC[0], SHIB[4], SOL[0], TRX[21.35450675], USD[0.00], USDT[3.05060739]       Yes

07791975                           BTC[.00628588], CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                            Yes

07791980                           NFT (296659239639900189/Warriors Foam Finger #95 (Redeemed))[1], NFT (298761187428835937/GSW Western Conference Finals Commemorative Banner #1326)[1], NFT
                                   (313476549517905678/GSW Western Conference Finals Commemorative Banner #1325)[1], NFT (404587772735411352/Entrance Voucher #2020)[1], NFT (465509919095759761/GSW Western
                                   Conference Semifinals Commemorative Ticket #694)[1], NFT (486701539584117806/GSW Championship Commemorative Ring)[1], USD[8547.08]
07791985                           CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                            Yes

07791987                           USD[414.26]
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                                                                                                                                               Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07791988                              NFT (288788522333780726/2022-04-27: Ranch Sky)[1], NFT (300358889909527053/2022-04-29: Dirt Swirls)[1], NFT (302182617967246606/2022-04-16: Hunting Stripes)[1], NFT
                                      (322218794761928116/2022)[1], NFT (331865714712393894/2022-05-14: Porcupine Crossing)[1], NFT (334261907538715093/2022-05-31: Dirt Pile)[1], NFT (337356835238571058/The Mountain
                                      Guard)[1], NFT (350019330089612156/2022-05-24: Truck Lot)[1], NFT (352282059319310139/2022-05-15: Super Flower Blood Moon)[1], NFT (354926379386520378/2022-04-25: Broad Horizon)[1],
                                      NFT (355625445015762758/2022-04-28: Palms Parking)[1], NFT (377925162088132086/2022-05-09: Work Streets)[1], NFT (382078189409513759/2022-06-02: Goal Palms)[1], NFT
                                      (385672246364066210/2022-05-26: Dock Side)[1], NFT (393928160814167859/Entrance Voucher #1951)[1], NFT (397849226441908730/2022-05-03: Stopping Road)[1], NFT
                                      (408899992773122368/2022-05-30: office brown)[1], NFT (414282363599818623/2022-05-02: Upward Tree)[1], NFT (429233895058500360/2022-05-23: Yellow Line Road)[1], NFT
                                      (431853760668590957/2022-05-29: Down Range)[1], NFT (432550422782635396/2022-05-18: Pipe Greens)[1], NFT (434055322252065537/2022-04-26: Elder Tree)[1], NFT
                                      (441728246232697037/2022-05-19: Blossoming Branches)[1], NFT (446627908079772167/2022-05-11: Garden Roots)[1], NFT (451076806317014029/2022-06-04: Waves Shore #2)[1], NFT
                                      (455661448973141134/2022-05-04: Cracked Wall)[1], NFT (458685985154550033/2022-04-23: Ducks Couple)[1], NFT (467455757331291155/2022-05-22: Massage Chair)[1], NFT
                                      (488952277542510128/2022-05-05: Harbor Ship)[1], NFT (492538723968521883/2022-06-05: Lonely Soul)[1], NFT (512609471256982416/2022 #2)[1], NFT (513700314208303456/2022-05-10: Black
                                      Remote)[1], NFT (525841131469988653/2022-05-21: Fire Truck)[1], NFT (527602988996154519/2022-05-20: Green Comfort)[1], NFT (532398159156986667/2022-05-08: Driving Greens)[1], NFT
                                      (535125222103989466/2022-05-07: Penalty Waves)[1], NFT (538970374966240815/2022-06-04: Waves Shore)[1], NFT (540241438927747031/2022-05-17: Branching Tree)[1], NFT
                                      (549357340296172099/2022-05-01: Slanted Tree)[1], NFT (549497132410436974/2022-05-12: Goats Hill)[1], NFT (556587353410486359/2022-05-25: Corner Transformer)[1], NFT
                                      (557773277496455592/2022-06-03: Metal Swirls)[1], NFT (558374599853407422/2022-05-16: Rock Face)[1], NFT (575101794182860871/2022-05-20: Green Comfort #2)[1], USD[0.09]
07791992                              MATIC[10], SOL[.0082], USD[0.00], USDT[0]

07791998                              SOL[0.00581840], USD[0.00]

07792004                              USD[160.20]

07792011                              DOGE[1], ETHW[.03372521], GRT[1], MATIC[11.82306659], SHIB[2], TRX[1], USD[0.00]                                                                                                        Yes

07792017                              USD[76.09]

07792022                              ETH[0], NFT (372255018839960234/Birthday Cake #2117)[1], NFT (373930857501235885/2974 Floyd Norman - CLE 3-0234)[1], NFT (414928396052994545/2974 Floyd Norman - CLE 4-0211)[1], NFT
                                      (419980803344393119/The 2974 Collection #2117)[1], SOL[0], USD[0.00], USDT[.8048566]
07792026                              SOL[10.98], USD[20.29]

07792033                              ETH[.000937], ETHW[.000937], SOL[.0091], USD[0.23]

07792035                              USD[2.04], USDT[0.00000107]

07792036                              ETH[0], SOL[0], USD[0.00]

07792037                              GRT[99.9], LINK[16.8604], LTC[10.989], MATIC[50], SHIB[4097600], SOL[109.18569], UNI[51.1528], USD[11.97], USDT[2.7586]

07792038       Contingent, Disputed   USD[0.00], USDT[0]

07792046                              USD[0.20]

07792061                              BTC[.00353024], CUSDT[5], ETH[.00566078], ETHW[.00559233], MATIC[13.44556182], SHIB[1], SOL[.1569844], USD[636.77]                                                                      Yes

07792063                              CUSDT[5], DOGE[1], MATIC[18.76399113], SHIB[2], SOL[6.32527368], TRX[2], USD[2.56]                                                                                                      Yes

07792064                              BTC[0], SOL[.0064], USD[0.05]

07792068       Contingent, Disputed   USD[0.01]                                                                                                                                                                               Yes

07792072                              SOL[.00954465], USD[0.96]

07792073                              USD[1.28]

07792075                              MATIC[50], USD[0.01]

07792076                              ALGO[13.72330021], AUD[2.80], BTC[.00000002], CAD[2.57], CUSDT[1], DOGE[109.1245573], ETH[.00000045], ETHW[.04914588], EUR[1.18], GBP[1.06], LINK[1.14099981], MATIC[12.99447187],      Yes
                                      NEAR[1.1011385], SHIB[1214826.67434037], TRX[114.94441228], USD[0.37], USDT[5.75238417]
07792083                              ETHW[.00048763], SOL[0], USD[18954.33]

07792097                              BRZ[1], CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                    Yes

07792098                              BRZ[2], CUSDT[4], TRX[2], USD[0.00]                                                                                                                                                     Yes

07792099                              USD[0.00]

07792100                              ALGO[.07892237], MATIC[.02528414]                                                                                                                                                       Yes

07792104                              USD[0.00]

07792106                              ETH[0], SOL[0], USD[0.00]

07792109                              USD[20.00]

07792125                              USD[75.00]

07792126                              SOL[0]

07792131                              AAVE[10.94805509], ALGO[1185.05355405], AVAX[36.66378265], BRZ[5.0204222], BTC[.0623041], CUSDT[8], DOGE[770.81713749], ETH[3.56332074], ETHW[3.56220869], GRT[299.47468484],           Yes
                                      LINK[65.23818434], MATIC[2514.97812858], NEAR[3.96163493], NFT (452417050268906291/Entrance Voucher #2371)[1], SHIB[25355435.0426322], SOL[143.77377545], SUSHI[186.55967987],
                                      TRX[16.44557898], UNI[18.4893832], USD[15598.57]
07792132                              USD[0.09]

07792135                              ETH[.414585], USD[2.00]

07792140                              NFT (319396936713835655/2974 Floyd Norman - CLE 1-0142)[1], SOL[0], USD[0.00], USDT[0]

07792142                              BTC[.00014744], ETH[.00080634], ETHW[.00080634], SUSHI[.21065], TRX[246.7777], USDT[.32872854]

07792150                              BTC[0], CUSDT[1], DOGE[1], ETH[0.00928629], ETHW[0.00917685], LINK[0], MATIC[0], USD[0.00]                                                                                              Yes

07792158                              BF_POINT[300], BTC[0.01353241], USD[0.00], USDT[0.00017752]                                                                                                                             Yes

07792160                              AAVE[8.7416875], USD[15.02]

07792170                              BTC[.01951004], CUSDT[1], ETH[.10679951], ETHW[.10571565], TRX[3], USD[0.04]                                                                                                            Yes

07792172                              BTC[.0189925], ETH[.517747], ETHW[.517747], USD[343.86]

07792196                              BTC[.00000015], USD[0.01]                                                                                                                                                               Yes

07792211                              CUSDT[1], SHIB[1.7073993], USD[0.00]                                                                                                                                                    Yes

07792225                              USD[4.70]

07792244                              USD[20.00]

07792254                              USD[2.19]                                                                                                                                                                               Yes

07792258                              CUSDT[5], DOGE[1], ETH[0], SHIB[.00000001], SOL[0.64647834], SUSHI[3.32062287], USD[0.01]                                                                                               Yes

07792262                              BTC[.00009275], ETH[.00010762], ETHW[0.00010762], LTC[.00094], PAXG[0.00003232], SUSHI[.208657], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                   22-11071 (JTD)
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07792266                           BTC[0], USD[48.25]

07792275                           CUSDT[2], SHIB[1], SOL[.00003967], USD[0.01]

07792278                           NFT (416105504274138390/Romeo #39)[1], NFT (466789563788833125/Entrance Voucher #3626)[1], USD[0.00]

07792285                           TRX[.000001]

07792287                           USD[1.30]

07792301                           USD[0.03], USDT[.41201283]

07792303                           BTC[.0009], USD[0.96]

07792307                           USD[109.91]                                                                                                                                                                        Yes

07792309                           ETH[.00000001], ETHW[0]

07792315                           USD[0.70]

07792321                           SOL[.00030095], USD[1.17], USDT[.0308788]

07792330                           USD[61.68]

07792333                           USD[0.00]

07792337                           LINK[.999], USD[0.00]

07792338                           USD[0.07]                                                                                                                                                                          Yes

07792343                           BTC[0.00188606], DOGE[101.54359228]                                                                                                                                                Yes

07792344                           BRZ[.0002557], CUSDT[.00368502], DAI[.00001982], TRX[.0004753], USD[19.66]                                                                                                         Yes

07792345                           SOL[.09799], USD[22.76]

07792347                           BCH[0], CUSDT[2], USD[0.08]                                                                                                                                                        Yes

07792356                           SOL[0], USD[0.00]

07792372                           ETH[0], ETHW[7.222], USD[2.24]

07792373                           USD[45.00]

07792375                           CUSDT[1], ETH[.00553532], ETHW[.00546692], USD[0.00]                                                                                                                               Yes

07792381                           BTC[.00698425], SOL[3.72922587], UNI[4.1], USD[0.00]

07792387                           BCH[.0039376], BTC[.0010373], ETH[.00987235], ETHW[.00078625], LINK[.271025], LTC[.065712], PAXG[0], USD[786.44], USDT[0.00000001], WBTC[0]

07792389                           USD[21.51]                                                                                                                                                                         Yes

07792394                           EUR[0.12], USD[0.00]

07792401                           ETH[.126], ETHW[.126], USD[0.58]

07792404                           USD[2.00]

07792411                           DOGE[7611], USD[0.11]

07792419                           BAT[3.1114395], BRZ[6.23685693], CUSDT[6], DOGE[5], ETH[0], GRT[2.00105965], MATIC[0], SHIB[23], SOL[0.00000001], TRX[14.09567139], USD[0.01], USDT[1.05851875]                    Yes

07792423                           USD[0.56]

07792424                           BTC[0], USD[5.73]

07792426                           USD[0.00], USDT[.00000136]

07792429                           BTC[0], ETH[0], MATIC[0], SOL[0], USD[0.00]

07792431                           USD[0.00], USDT[0]                                                                                                                                                                 Yes

07792433                           BTC[.0000998], USD[7.90]

07792434                           USD[0.00]

07792436                           DOGE[1], ETHW[.15324224], GRT[1], TRX[1], USD[0.00]                                                                                                                                Yes

07792445                           ETHW[.6905996], USD[4098.71]

07792458                           BTC[0], USD[4.52]

07792460                           DOGE[1], ETH[0], ETHW[0], LTC[0], SHIB[9], SOL[0], USD[0.00], USDT[0]                                                                                                              Yes

07792462                           USD[0.00]

07792478                           CUSDT[1], DOGE[1], SOL[0], USD[0.00]                                                                                                                                               Yes

07792480                           DOGE[1], ETH[0]                                                                                                                                                                    Yes

07792487                           ETH[0], MKR[0.00009495], NFT (557030496622511871/2974 Floyd Norman - CLE 3-0128)[1], SOL[0], USD[0.00]

07792489                           USD[0.00]

07792493                           CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                        Yes

07792502                           ETH[.36790129], ETHW[.36790129], NFT (368875449353154518/The 2974 Collection #1565)[1], NFT (377819753932519360/2974 Floyd Norman - OKC 1-0279)[1], NFT (419927467017623737/2974
                                   Floyd Norman - OKC 1-0198)[1], NFT (538883139927083680/Birthday Cake #1565)[1], USD[0.00]
07792522                           CUSDT[3], DOGE[3], GRT[5643.00976614], SHIB[1], TRX[3], USD[0.00]                                                                                                                  Yes

07792531                           DOGE[4], USD[0.00]

07792534                           SOL[.13189441]                                                                                                                                                                     Yes

07792536                           BTC[0], CUSDT[4], TRX[3], USD[0.00]                                                                                                                                                Yes

07792544                           BTC[0], ETH[0.00062900], ETHW[0.00062900], LTC[.007], SOL[.00000001], USD[0.05]

07792545                           USD[0.87]

07792554                           NFT (397123130526074186/Dill The Seal #2948)[1], NFT (547961171016155612/Cracked Grave)[1]

07792561                           BTC[0], USD[0.00]

07792562                           USD[0.01]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07792571                              NFT (421876109390006853/FTX Crypto Cup 2022 Key #2389)[1], SHIB[1], USD[0.00]                                                                                                          Yes

07792583                              SOL[0], USD[0.00]

07792589                              AAVE[.00234739], USD[0.00]

07792590       Contingent, Disputed   BTC[0], SOL[0.00000001], USD[0.00]

07792593                              BF_POINT[200]                                                                                                                                                                          Yes

07792601                              AVAX[3.11615257], BRZ[101.25062309], BTC[.0738981], CUSDT[130.56312328], DOGE[20221.8033143], ETH[1.52128995], ETHW[1.47194007], GRT[89.13966417], LTC[.64382589],                     Yes
                                      SHIB[15827959.57598548], SOL[7.84810898], SUSHI[52.05071802], TRX[163.9314186], UNI[6.19716427], USD[76.35]
07792613       Contingent, Disputed   CUSDT[1], DOGE[1], USD[0.01]

07792616                              BAT[1], BRZ[2], DOGE[2], SHIB[1], TRX[3], USD[0.01]

07792620                              AAVE[.00019713], BAT[3.17283555], BTC[0], CUSDT[2], DAI[0], ETH[0], ETHW[0.50639052], SHIB[4], SOL[0.00040085], TRX[9], USD[0.01], USDT[0.00000101]                                    Yes

07792623                              BTC[0], ETH[.00086075], USD[62403.29]

07792626                              ETH[0], SOL[0], USD[2.13]

07792630                              BRZ[4], CUSDT[4], ETHW[1.10677676], GRT[2.0013521], SUSHI[1.03173503], TRX[8], USD[18.06], USDT[0.80413974]                                                                            Yes

07792631                              SOL[.00000001], USD[0.00]

07792638                              ETH[0], SOL[0], USD[0.00]

07792639                              CUSDT[1], SOL[1.02630636], USD[0.00]

07792644                              DOGE[1], USD[0.00]

07792656                              BRZ[1], USD[0.00]

07792666                              DOGE[1598.8302], SHIB[54199810], USD[335.60]

07792667                              BTC[.01978119], ETH[.26474825], ETHW[.26474825], USD[6.40]

07792669                              GRT[0], LTC[0], NFT (349325726684552806/Coachella x FTX Weekend 1 #12405)[1], UNI[0], USD[0.00]                                                                                        Yes

07792670                              BF_POINT[200], BTC[.00476759], CUSDT[1], DOGE[3.01564140], SHIB[2], SOL[26.44803756], TRX[4], USD[0.00]                                                                                Yes

07792672                              BTC[0], CUSDT[1], ETH[0], USD[0.22]

07792676                              BF_POINT[500], BRZ[2], BTC[.20032337], CUSDT[5], DOGE[10.02267403], LINK[293.24912619], MATIC[3.76856872], SHIB[45], SOL[1.0694749], TRX[8], USD[0.00]                                 Yes

07792677                              SOL[3.31729429], USD[0.00]

07792678                              BAT[0], BRZ[0], CUSDT[0], GRT[0], MATIC[0], NFT (348677075843349144/Reem Kufi #7)[1], NFT (484707770094882507/Reem Kufi)[1], NFT (527241082853130600/Esteban #5)[1], SHIB[0.03424748], Yes
                                      SOL[0], TRX[0], USD[0.00]
07792683                              LINK[17.75390058]                                                                                                                                                                      Yes

07792690                              BTC[.021], ETH[.281], ETHW[.281], SOL[4], USD[1.83]

07792691                              AAVE[1.78323357], AVAX[4.24112751], MATIC[234.26278327], SHIB[1], TRX[3567.96537379], USD[0.00]                                                                                        Yes

07792696                              USD[0.00]

07792697                              NFT (405477036061678472/Microphone #638)[1], NFT (417562623467067246/Warriors 75th Anniversary Icon Edition Diamond #1990)[1]

07792703                              MATIC[.2], USD[1.51]

07792706                              USD[0.00]

07792713                              USD[10095.38]                                                                                                                                                                          Yes

07792718                              USDT[4.74582480]

07792723                              BTC[.00000179]                                                                                                                                                                         Yes

07792725                              CUSDT[4], DOGE[88.3755738], ETH[.00759528], ETHW[.00749952], LINK[12.62876933], USD[32.57]                                                                                             Yes

07792733                              BRZ[1], BTC[0], CUSDT[18], DOGE[5], GRT[1.00126101], NFT (484141684251387677/Entrance Voucher #2097)[1], SHIB[43.09554468], SOL[.00007891], TRX[4], USD[21.35]

07792735                              USD[0.00], USDT[0]

07792737                              USD[100.00]

07792738                              AVAX[1.94055436], BRZ[3], BTC[0], CUSDT[29], DOGE[.00211351], ETH[.00001997], ETHW[2.12748861], GRT[0], LINK[0.00097569], LTC[.00001979], NFT (409633338280977241/Soft Serve #1)[1],   Yes
                                      SHIB[0], SOL[0], SUSHI[0], TRX[5], UNI[0], USD[48.38]
07792746                              MATIC[0], USD[0.00]

07792751                              USD[0.38]

07792754                              ETH[0], USD[0.00]

07792755                              BRZ[1], DOGE[3], ETH[.74119766], ETHW[.74088624], NFT (303361400291703012/Saudi Arabia Ticket Stub #938)[1], SHIB[1], SOL[7.5267895], TRX[3], USD[8.96]                                Yes

07792758                              SOL[0]

07792773                              SOL[1.2]

07792774                              ETH[.9466135], ETHW[.9466135], SOL[.8448744], USD[0.00]

07792785                              USD[0.00], USDT[.00531665]

07792786                              BRZ[2], BTC[.11378075], CUSDT[2], DOGE[2], SOL[32.39626919], TRX[2], USD[1150.66], USDT[1.05803134]                                                                                    Yes

07792788                              CUSDT[1], SOL[.00000322], USD[66.05]                                                                                                                                                   Yes

07792797                              ETH[.00000217], ETHW[.23817791]                                                                                                                                                        Yes

07792800                              ETH[0]

07792803                              USD[70.00]

07792814                              BTC[0], ETH[0], ETHW[0.02748181], NFT (393277761676274083/2974 Floyd Norman - CLE 2-0213)[1], SOL[0.00672576], USD[0.00], USDT[.0066245]

07792815                              ETH[.00284128], USD[0.00]

07792834                              SOL[.00000002], USD[24.14]

07792836                              BTC[0], ETH[0], LINK[0], MATIC[0], SOL[.0065384], USD[1829.00], USDT[0]
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                                                                                                                                               Customer Claims                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07792839                              BTC[.0008991], TRX[1222.776], USD[0.28]

07792840                              BTC[0], ETH[0], LTC[0], SOL[0.00000001], USD[0.00], USDT[0]

07792851                              SHIB[1], USD[0.00], USDT[0]

07792854                              USD[2.46]

07792860                              BTC[.29394542]                                                                                                                                                                Yes

07792864                              USD[1.37]

07792867       Contingent, Disputed   BAT[.00000001], LINK[.00000001], MATIC[.05939034], PAXG[.00000001], USD[0.00]                                                                                                 Yes

07792876                              USD[0.00]

07792885                              BRZ[1], CUSDT[6], DOGE[1], TRX[2], USD[0.00]                                                                                                                                  Yes

07792893                              TRX[451.11863436], USD[50.00]

07792899                              DOGE[1], MATIC[5.00345317], SHIB[1], SOL[8.70845145], TRX[1], USD[0.00]                                                                                                       Yes

07792903                              BF_POINT[100], DOGE[.00378792], USD[0.00]                                                                                                                                     Yes

07792908                              SOL[3.956], USD[355.90]

07792909                              USD[0.01]                                                                                                                                                                     Yes

07792910                              BRZ[2], BTC[.00000001], DOGE[1], ETH[.00000081], ETHW[.00000081], GRT[.00019729], LINK[.00015566], SOL[.0000265], TRX[6], USD[0.00], USDT[0.00000001]                         Yes

07792914                              USD[0.00]

07792919                              AAVE[1.53208126], SOL[4.38004846]                                                                                                                                             Yes

07792927                              SOL[.78901], USD[1.63]

07792930                              NFT (473374835068437347/Baby Ape Social Club #3621)[1], USD[100.01], USDT[0.00000001]

07792937                              USD[0.01]

07792941                              ETH[.393282], ETHW[.493382], SOL[.00454], USD[160.77]

07792948                              BTC[0], ETH[0], ETHW[0], USD[0.00]

07792973                              BTC[.01056362], DOGE[1], USD[0.01]                                                                                                                                            Yes

07793000                              USD[0.00]

07793006                              SHIB[1], SUSHI[.00167169], TRX[3], USD[0.00], USDT[0]                                                                                                                         Yes

07793013                              BF_POINT[200], BRZ[1], DOGE[1], TRX[1], USD[0.01]

07793029                              ETH[.236763], ETHW[.236763], LINK[137.2405], MATIC[2458.18], SOL[42.89295], USD[1.16]

07793036                              USD[2.81]

07793038                              USD[21.51]                                                                                                                                                                    Yes

07793040                              CUSDT[1], DOGE[2244.25974374], USD[0.00]                                                                                                                                      Yes

07793048                              BTC[.00040736], SOL[0], USD[0.26]

07793051                              BRZ[3], CUSDT[33], DOGE[1020.43220413], SHIB[4587809.86913416], TRX[2], USD[0.70]                                                                                             Yes

07793052                              MATIC[6.32], SOL[.0087745], USD[67.54]

07793054                              BRZ[1], SOL[0.91503984]                                                                                                                                                       Yes

07793055                              BAT[1], BTC[.00000054], ETHW[.35450101], SHIB[1], USD[25.67], USDT[0.00003455]                                                                                                Yes

07793060                              NFT (328118372407591837/SBF Hair & Signature #3 #132)[1], NFT (501809886219498372/SBF Hair & Signature #1 #146)[1]

07793073                              ETH[.0005], ETHW[.4745], SOL[.008155], USD[0.00]

07793078                              USD[0.00]                                                                                                                                                                     Yes

07793079                              BTC[0], DAI[.00000001], ETH[.00000001], ETHW[0], SOL[0], USD[0.00]                                                                                                            Yes

07793084                              LINK[1]

07793093                              USD[21.51]                                                                                                                                                                    Yes

07793097                              USD[0.26]                                                                                                                                                                     Yes

07793099                              GRT[1.00234981], SOL[.00000001], USDT[1.06899998]                                                                                                                             Yes

07793101                              USD[0.00]                                                                                                                                                                     Yes

07793110                              CUSDT[1], SOL[0], USD[5.45]                                                                                                                                                   Yes

07793114                              ETH[.00000001], ETHW[0], USD[19.89]

07793120                              ETH[.00000001], ETHW[.00000001], SOL[0], USD[0.00], USDT[0]

07793129                              NFT (321056205404542709/1/1 #1)[1], NFT (436328981929081710/Traders lifestyle #1)[1], NFT (478559191690319047/Classics #1)[1], NFT (557541193331941767/1 #2)[1], NFT
                                      (566226270905871401/1 #1)[1]
07793133                              NFT (375268802425565057/CryptoWaifu #1)[1]

07793151                              ETH[0], USD[0.00]

07793154                              BTC[0.00818985], LINK[104.19336541], LTC[8.95717504], USD[8736.97]                                                                                                            Yes

07793171                              AAVE[.00344], BTC[0.00007555], ETH[0.00003335], ETHW[0.00003335], LINK[0.03735931], SOL[0.00082905], UNI[0.02450220], USD[-0.90], USDT[0.00436819]

07793174                              NFT (292374441396705427/Coachella x FTX Weekend 1 #17135)[1]

07793176                              SOL[.18], USD[0.73]

07793178                              BRZ[1], BTC[.00530915], CUSDT[15], DOGE[2045.99368247], ETH[.41208947], ETHW[.41191651], LINK[33.41648379], SHIB[37], TRX[5], USD[6.06]                                       Yes

07793183                              NFT (366848863490758697/test #1)[1]

07793194                              NFT (357210887195735414/The JPEGS #5)[1], NFT (396446816923828589/The JPEGS #2)[1], NFT (407945410491361508/The JPEGS #6)[1], NFT (463245999789440479/The JPEGS #1)[1], NFT
                                      (499626113091843271/The JPEGS #3)[1], NFT (531877964712187337/The JPEGS #4)[1]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07793198                           ETH[.00000001], NFT (289334442145806681/CloudNFT Series 1 #39)[1], NFT (296673821901630658/CloudNFT Series 1 #33)[1], NFT (300850882147390824/CloudNFT Series 1 #48)[1], NFT
                                   (311359025586727822/CloudNFT Series 1 #56)[1], NFT (325077327490512124/CloudNFT Series 1 #59)[1], NFT (335057291338363135/MagicEden Vaults)[1], NFT (336267027402600911/CloudNFT
                                   Series 1 #41)[1], NFT (346141368805790770/CloudNFT Series 1 #40)[1], NFT (354830988002709822/CloudNFT Series 1 #5)[1], NFT (362705933019866600/CloudNFT Series 1 #22)[1], NFT
                                   (385126632665336290/CloudNFT Series 1 #44)[1], NFT (388729323190808222/CloudNFT Series 1 #51)[1], NFT (390622761885101033/CloudNFT Series 1 #6)[1], NFT
                                   (393159176414650741/MagicEden Vaults)[1], NFT (395249350194585373/FTX - Off The Grid Miami #2726)[1], NFT (421573086394356516/CloudNFT Series 1 #52)[1], NFT
                                   (425693690863678069/CloudNFT Series 1 #61)[1], NFT (433769675793050661/CloudNFT Series 1 #47)[1], NFT (445260482918008317/CloudNFT Series 1 #46)[1], NFT
                                   (452567784700637829/CloudNFT Series 1 #53)[1], NFT (461949248501225166/CloudNFT Series 1 #45)[1], NFT (463561566829360023/CloudNFT Series 1 #36)[1], NFT
                                   (466329112205407242/CloudNFT Series 1 #32)[1], NFT (467367276610522543/CloudNFT Series 1 #50)[1], NFT (469648546721052603/CloudNFT Series 1 #49)[1], NFT
                                   (501110528581159340/CloudNFT Series 1 #42)[1], NFT (507779848019904668/CloudNFT Series 1 #9)[1], NFT (512980932958269992/CloudNFT Series 1 #43)[1], NFT
                                   (534483398884099168/MagicEden Vaults)[1], NFT (555731379243318568/MagicEden Vaults)[1], NFT (562881361177987212/CloudNFT Series 1 #60)[1], NFT (564671509917303063/CloudNFT Series 1
                                   #34)[1], NFT (566116120640037608/CloudNFT Series 1 #54)[1], NFT (570814662092533594/CloudNFT Series 1 #63)[1], SOL[2.564], USD[0.00]

07793199                           SOL[.00000001], USD[7676.33], USDT[0]

07793214                           ETH[.00000001], USD[0.00], USDT[0.00000001]

07793226                           ETH[.0125], ETHW[.0125], NFT (436536632012073291/Punk Portrait #7209)[1]

07793227                           NFT (420182702733876479/MagicEden Vaults)[1], NFT (421750531288034687/MagicEden Vaults)[1], NFT (423500110842327012/MagicEden Vaults)[1], NFT (443471361552172188/MagicEden
                                   Vaults)[1], NFT (481314062663896635/MagicEden Vaults)[1], SOL[.89255591], USD[1.07]
07793236                           SOL[.17309019]                                                                                                                                                                           Yes

07793245                           NFT (358336623023195809/1367)[1], SOL[.51]

07793246                           SOL[0], USD[0.00]

07793248                           NFT (296915866302349222/Romeo #664)[1], NFT (491965823746315638/Entrance Voucher #1778)[1]

07793249                           NFT (343031266965983734/Cyber Technician 4879)[1], NFT (402240649406675338/Cyber Pharmacist 9629)[1]

07793258                           USD[9.67]

07793261                           BTC[0], ETH[0], NFT (296577751779568311/StarAtlas Anniversary)[1], NFT (297543282913034410/StarAtlas Anniversary)[1], NFT (304573758585782053/StarAtlas Anniversary)[1], NFT
                                   (319338935926993446/StarAtlas Anniversary)[1], NFT (349570146809158536/StarAtlas Anniversary)[1], NFT (358848183785566326/StarAtlas Anniversary)[1], NFT (364173172921444837/StarAtlas
                                   Anniversary)[1], NFT (412930826400921422/Degenerate Trash Can)[1], NFT (447544435994294654/Degenerate Trash Can)[1], NFT (476691481252758137/InkLabs #10)[1], NFT
                                   (525448174986749716/StarAtlas Anniversary)[1], NFT (529654398042890515/StarAtlas Anniversary)[1], SOL[0], USD[0.13], USDT[0]
07793266                           ETH[.0000001], ETHW[.0000001]

07793270                           USD[3.14]

07793272                           NFT (347233836703612635/SolFractal #2028)[1], NFT (352328782964898199/SolFractal #4312)[1], NFT (387170247071684527/Reflection '10 #14)[1], NFT (407112518258758946/Scez'uds the Well-
                                   read)[1], NFT (419316709284813930/SolFractal #3784)[1], NFT (421824203019056165/SolFractal #4891)[1], NFT (429908476862282856/SolFractal #7419)[1], NFT (531687536486308608/SolFractal
                                   #7925)[1], USD[0.00]
07793274                           USD[3.68]

07793275                           NFT (305808766506796504/Entrance Voucher #24935)[1], NFT (388599806525075642/Shannon Sharpe's Playbook: Baltimore Ravens vs. Oakland Raiders - January 14, 2001 #41)[1], NFT
                                   (392290671252613238/Earl Campbell's Playbook: Rice vs. Texas - October 1st, 1977 #52)[1], USD[48.27]
07793289                           NFT (290015586921517986/NEO-NINJA MINT TICKET)[1], NFT (297823326047787087/NEO-NINJA MINT TICKET)[1], NFT (300709062961564049/NEO-NINJA MINT TICKET)[1], NFT
                                   (310366307301794897/NEO-NINJA MINT TICKET)[1], NFT (310633371148165836/NEO-NINJA MINT TICKET)[1], NFT (311198368768985377/NEO-NINJA MINT TICKET)[1], NFT
                                   (312677076537426208/NEO-NINJA MINT TICKET)[1], NFT (312943151485582731/NEO-NINJA MINT TICKET)[1], NFT (314047727235198802/NEO-NINJA MINT TICKET)[1], NFT
                                   (315377381726164766/StarAtlas Anniversary)[1], NFT (323573967661692465/NEO-NINJA MINT TICKET)[1], NFT (327590090758559307/StarAtlas Anniversary)[1], NFT (329290001668770598/NEO-
                                   NINJA MINT TICKET)[1], NFT (329649173600293955/NEO-NINJA MINT TICKET)[1], NFT (331964259535109591/NEO-NINJA MINT TICKET)[1], NFT (337585135420613159/NEO-NINJA MINT
                                   TICKET)[1], NFT (340211809089484059/NEO-NINJA MINT TICKET)[1], NFT (344052718207725974/NEO-NINJA MINT TICKET)[1], NFT (350043308344735030/NEO-NINJA MINT TICKET)[1], NFT
                                   (354496544330964171/NEO-NINJA MINT TICKET)[1], NFT (358766166756161206/NEO-NINJA MINT TICKET)[1], NFT (360621345230165298/NEO-NINJA MINT TICKET)[1], NFT
                                   (363619213274858367/NEO-NINJA MINT TICKET)[1], NFT (365579549254689210/Degen Trash Panda Merch Token)[1], NFT (366807046385625011/NEO-NINJA MINT TICKET)[1], NFT
                                   (369457049624289368/NEO-NINJA MINT TICKET)[1], NFT (369588087216079549/NEO-NINJA MINT TICKET)[1], NFT (373325868642618889/NEO-NINJA MINT TICKET)[1], NFT
                                   (377438008471950059/NEO-NINJA MINT TICKET)[1], NFT (379362621538021029/NEO-NINJA MINT TICKET)[1], NFT (380644870795747784/StarAtlas Anniversary)[1], NFT
                                   (380800241297385425/NEO-NINJA MINT TICKET)[1], NFT (382378391562365818/NEO-NINJA MINT TICKET)[1], NFT (388436805275618716/NEO-NINJA MINT TICKET)[1], NFT
                                   (393651367845808755/NEO-NINJA MINT TICKET)[1], NFT (398246566213713045/NEO-NINJA MINT TICKET)[1], NFT (399333129681707220/NEO-NINJA MINT TICKET)[1], NFT
                                   (400858208689824424/NEO-NINJA MINT TICKET)[1], NFT (401818029117216676/StarAtlas Anniversary)[1], NFT (403761027394231340/NEO-NINJA MINT TICKET)[1], NFT
                                   (410077844236754234/NEO-NINJA MINT TICKET)[1], NFT (425982975719302563/NEO-NINJA MINT TICKET)[1], NFT (426870106223116589/NEO-NINJA MINT TICKET)[1], NFT
                                   (436407286531732578/NEO-NINJA MINT TICKET)[1], NFT (437735572362406800/NEO-NINJA MINT TICKET)[1], NFT (443224599483905604/NEO-NINJA MINT TICKET)[1], NFT
                                   (444817801546421621/NEO-NINJA MINT TICKET)[1], NFT (445727116456507843/NEO-NINJA MINT TICKET)[1], NFT (446628344575216714/NEO-NINJA MINT TICKET)[1], NFT
                                   (453090167535710059/Degen Ape #1371)[1], NFT (456159210052622525/StarAtlas Anniversary)[1], NFT (462548395833769099/NEO-NINJA MINT TICKET)[1], NFT (466393887462401949/Degen Ape
                                   #6705)[1], NFT (472868035582526510/NEO-NINJA MINT TICKET)[1], NFT (474879229364993557/NEO-NINJA MINT TICKET)[1], NFT (476861330596482428/NEO-NINJA MINT TICKET)[1], NFT
                                   (493805222002500420/NEO-NINJA MINT TICKET)[1], NFT (494642737045681443/NEO-NINJA MINT TICKET)[1], NFT (495979332608852684/StarAtlas Anniversary)[1], NFT
                                   (496740351446917740/NEO-NINJA MINT TICKET)[1], NFT (499877540249558173/Degen Banana #3356)[1], NFT (503711895296249339/NEO-NINJA MINT TICKET)[1], NFT
                                   (504568139321577533/Mech #6711)[1], NFT (504700046794879593/NEO-NINJA MINT TICKET)[1], NFT (506479976032153200/NEO-NINJA MINT TICKET)[1], NFT (509729960922396646/NEO-NINJA
                                   MINT TICKET)[1], NFT (523050760587622925/NEO-NINJA MINT TICKET)[1], NFT (525818608155713028/StarAtlas Anniversary)[1], NFT (527965559019442917/NEO-NINJA MINT TICKET)[1], NFT
                                   (529310733967100669/NEO-NINJA MINT TICKET)[1], NFT (532232933700415050/NEO-NINJA MINT TICKET)[1], NFT (533243318949415963/NEO-NINJA MINT TICKET)[1], NFT
                                   (542314487759801353/NEO-NINJA MINT TICKET)[1], NFT (547481111394441049/NEO-NINJA MINT TICKET)[1], NFT (552200375200508359/NEO-NINJA MINT TICKET)[1], NFT
                                   (555611568799854522/Royal Key)[1], NFT (558553652823698100/NEO-NINJA MINT TICKET)[1], NFT (560051604055862013/StarAtlas Anniversary)[1], NFT (562160307339616238/NEO-NINJA MINT
                                   TICKET)[1], NFT (563953825663145417/NEO-NINJA MINT TICKET)[1], NFT (569292816673969992/NEO-NINJA MINT TICKET)[1], NFT (574473981931408108/NEO-NINJA MINT TICKET)[1], NFT
                                   (576184773952698114/NEO-NINJA MINT TICKET)[1]
07793294                           ETH[0], SOL[0], USD[0.00]

07793298                           NFT (294832530523125005/Cigarette #19)[1], NFT (297747663015745481/Cigarette #2)[1], NFT (308192084105285924/Cigarette #4)[1], NFT (311749358579754753/Cigarette #13)[1], NFT
                                   (362483904302546009/Cigarette #12)[1], NFT (379267064374679546/Cigarette #8)[1], NFT (382860801806905489/Cigarette #5)[1], NFT (385467929269281615/Cigarette #3)[1], NFT
                                   (388717180775972118/Cigarette #18)[1], NFT (405867341858355115/Cigarette #16)[1], NFT (416626755469751077/Cigarette #10)[1], NFT (433294529131029893/Cigarette #15)[1], NFT
                                   (435396648976804503/Cigarette #6)[1], NFT (468415763131876470/Cigarette #7)[1], NFT (494006987185327363/Cigarette #1)[1], NFT (512026023784135746/Cigarette #17)[1], NFT
                                   (533578054346633607/Cigarette #11)[1], NFT (548856451655817279/Cigarette #14)[1], NFT (549626780093474248/Cigarette #20)[1], NFT (555529237807950778/Cigarette #9)[1], NFT
                                   (565157195240219916/Cigarette #21)[1], USD[2.00]
07793301                           USD[0.18]

07793304                           BF_POINT[300], TRX[1.20959476], USD[0.00]                                                                                                                                                Yes

07793322                           BTC[.01], SOL[.2359875], USD[382.99]

07793323                           USD[0.00]

07793329                           SOL[0], USD[0.05]                                                                                                                                                                        Yes

07793330                           USD[0.01]                                                                                                                                                                                Yes

07793334                           NFT (294224636394846784/Negative Bored Ape 4)[1], NFT (323974010807122869/Negative Bored Ape 9)[1], NFT (334706795168240568/Negative Bored Ape 2)[1], NFT
                                   (335862755301196007/Negative Bored Ape 6)[1], NFT (365402344250366544/Sol Rocking Zombie # 2)[1], NFT (372580258605652151/Negative Bored Ape 8)[1], NFT (411660103913979385/Negative
                                   Bored Ape 11)[1], NFT (417991240687721520/Negative Bored Ape 5)[1], NFT (457473393417180487/Snake eye zombie)[1], NFT (481384434304049858/Sol-Jocker)[1], NFT
                                   (483114510834427616/Negative Bored Ape 7)[1], NFT (496595894668217869/Negative Bored Ape 10)[1], NFT (501320083744479139/Negative Bored Ape 3)[1], NFT (502881695716448398/Negative
                                   Bored Ape 12)[1], NFT (505977082093254513/Sol-Jocker Punk)[1], NFT (518708846640845367/Sol Zombie)[1], NFT (565823444760535086/Negative Bored Ape)[1], NFT (567799191249810540/Sol
                                   Rocking Zombie)[1], NFT (575972311785616047/Zombie Punk 1)[1], SOL[.00047007], USDT[0.00000159]
West Realm Shires Services Inc.                                                           Case 22-11068-JTD      DocF-3:
                                                                                                     Amended Schedule 1754        Filed
                                                                                                                         Nonpriority      06/27/23
                                                                                                                                     Unsecured            Page 84 of 1384
                                                                                                                                               Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07793356                              BRZ[3], BTC[.12463886], CUSDT[29], DOGE[15.33808868], ETH[1.82857586], ETHW[1.65646173], SHIB[35], TRX[17.37848587], USD[0.00]                                                            Yes

07793358                              CUSDT[1], SOL[5.59813758], TRX[1], USD[0.00]                                                                                                                                              Yes

07793361                              ETH[.178821], USD[0.96]

07793362                              USD[0.00]

07793364                              BTC[.00000109], NFT (431750254846540663/Imola Ticket Stub #2028)[1], TRX[1], USD[0.03]                                                                                                    Yes

07793367                              ETH[0], NFT (289572521841069672/Costumed Oscars #1)[1], NFT (422523195574768609/Sigma Shark #4211)[1], NFT (430435352464761122/King Oscar #1)[1], SOL[0], USD[0.00], USDT[0.00000064]

07793383                              BTC[.00351827], CUSDT[3], SHIB[1], USD[0.00]                                                                                                                                              Yes

07793402                              NFT (292058708976828630/Grid #8)[1], NFT (292100654103974097/Grid #7)[1], NFT (378717807116113227/Grid #6)[1], NFT (393228400290420644/Grid #9)[1], NFT (398321193609062331/Grid
                                      #4)[1], NFT (399577908265170369/Grid #1)[1], NFT (558088721662078253/Grid #3)[1], NFT (565363689220393641/Grid #2)[1], NFT (572820707687545957/Grid #5)[1]

07793412                              USD[1.05]

07793417                              BTC[.00000001], SOL[0], USD[0.00]                                                                                                                                                         Yes

07793419                              BCH[0], ETH[0], LTC[0], SOL[0], TRX[0]

07793421       Contingent, Disputed   USDT[1.6361008]

07793437                              ETH[.036], ETHW[.036], USD[1.65]

07793445                              NFT (464007348394508297/Microphone #6876)[1]

07793453                              USD[0.00], USDT[0]

07793460                              NFT (383934298095932904/DOGO-IN-500 #1366)[1]

07793466                              USD[2.86], USDT[0]

07793467                              TRX[.000001], USD[0.00], USDT[.000039]

07793468                              NFT (336289058816456558/Cow #6369)[1], NFT (358813977156857807/Puppy #6369)[1]

07793471                              NFT (504371622238875321/Microphone #7039)[1]

07793482                              USD[0.01]

07793484                              AUD[0.00], BTC[0.00001596], ETH[0], SOL[0.00831568], USD[0.00], USDT[.0094264]

07793486                              BAT[1], BF_POINT[300], BRZ[3], DOGE[6], ETH[1.04173231], ETHW[1.04139518], SHIB[42], SOL[12.39084577], TRX[5], USD[928.26]                                                                Yes

07793488                              NFT (482604931119811535/Solninjas #1241)[1], NFT (532061434956634080/Wicked Penguin #7428)[1], NFT (560578299374452320/Solninjas #1135)[1]

07793504                              NFT (427216325126899331/Fallus #1 #1)[1], NFT (490257938705530342/Fallus #1 #2)[1]

07793506                              ETH[.01494885], ETHW[.01494885], MATIC[1.24585515], NFT (335090443922761812/Bahrain Ticket Stub #1658)[1], NFT (538429903038658403/FTX - Off The Grid Miami #7349)[1],
                                      SOL[155.09461995], USD[0.33]
07793518                              NFT (515370973478420783/Australia Ticket Stub #1900)[1], NFT (553754582931664323/FTX - Off The Grid Miami #1352)[1]

07793519                              NFT (507701723298290247/Everyday mugs #1)[1]

07793556                              NFT (488166799456477305/Dill The Seal #675)[1]

07793559                              USD[0.00], USDT[0]

07793567                              NFT (544551105480978374/Abstract #1)[1], NFT (549096653791910517/Randoms #1)[1]

07793569                              TRX[.000293], USD[0.00], USDT[0]

07793578                              NFT (500268033754508117/GG-Hades #1)[1]

07793581                              NFT (327695129459072229/1 #8)[1], NFT (384870439911221189/1 #7)[1]

07793590                              USD[0.00]

07793594                              NFT (416455879495748488/Unity #490)[1], USD[8.08], USDT[0]

07793606                              SOL[.00000001], USD[0.00]

07793628                              NFT (288262711435875833/BitCat #2)[1], NFT (304679198622563456/BitCat #3)[1], NFT (312041608306884123/BitCat #7)[1], NFT (328556601352307013/BitCat #5)[1], NFT
                                      (345750890021366057/BitCat #8)[1], NFT (352016395229243471/BitCat #1)[1], NFT (371286795604961633/BitCat #13)[1], NFT (425473185860631316/BitCat #4)[1], NFT (427404602189277105/BitCat
                                      #6)[1], NFT (430451737398053964/BitCat #9)[1], NFT (438300603543951473/BitCat #12)[1], NFT (470046513092338580/BitCat #11)[1], NFT (537320755272083309/BitCat #10)[1]

07793633                              CUSDT[1], USD[0.01]                                                                                                                                                                       Yes

07793649                              NFT (305483014584465064/-space-)[1], NFT (316244104796806592/Style)[1], NFT (319817150836375202/001 disaster )[1], NFT (332449371635399348/001 disaster #2)[1], NFT
                                      (343548739844228823/Supernova )[1], NFT (378566900432391975/Supernova destruction )[1], NFT (552015385348751478/Supernova #2)[1], SOL[.56923728], USD[6.00]
07793655                              NFT (321956790204781714/Octo #3)[1], NFT (335641884157589291/Octo #8)[1], NFT (371680477942447689/Octo #7)[1], NFT (436433595959376461/Octo #1)[1], NFT (442439000779089510/Octo
                                      #5)[1], NFT (452431603084147788/Octo #10)[1], NFT (494043096689212987/Octo #4)[1], NFT (494586265535227456/Octo #12)[1], NFT (531978741527676011/Octo #9)[1], NFT
                                      (547122213626993183/Octo #2)[1], NFT (550184384525413166/Octo #11)[1], NFT (551762537275915723/Octo #6)[1]
07793659                              NFT (304656747776483383/Hash JP ART #1)[1], NFT (388147654028578708/SOL #1)[1], NFT (409406968542387386/Hash JP ART #3)[1], NFT (567639209178771286/Hash JP ART #2)[1]

07793661                              TRX[.000001], USD[1.32], USDT[.006645]

07793665                              NFT (334668345023530251/Kahonari Boxes #3)[1], NFT (370644173282396606/Kahonari Boxes #2)[1], NFT (401176797295505023/Kahonari Boxes #1)[1], SOL[.0089375], USD[0.00]

07793670       Contingent, Disputed   NFT (398308223423543998/G22 #1)[1]

07793673       Contingent, Disputed   NFT (367072467112122988/001 #3)[1], NFT (490221747667508881/001 #2)[1]
West Realm Shires Services Inc.                                                            Case 22-11068-JTD      DocF-3:
                                                                                                      Amended Schedule 1754        Filed
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                                                                                                                                                Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or         Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07793691      Contingent, Disputed     NFT (292532624030177134/Eye In The Sky)[1], NFT (295485137866206834/Rainbow Galaxy)[1], NFT (296077366099967687/Baby Yoda)[1], NFT (299375138000178586/I Am Inevitable )[1], NFT
                                       (299436213901171079/ Sir Voltron )[1], NFT (305017891778055092/De Bruyne)[1], NFT (305924369974411522/Lukaku Club)[1], NFT (307757711204946718/Peace)[1], NFT
                                       (308660539065385529/Road to Mars)[1], NFT (310468621449072034/Jack Grealish)[1], NFT (314271749618634329/Galaxy Skater #2)[1], NFT (317510580539198175/Mamba Out)[1], NFT
                                       (321570122133866130/Bull Season)[1], NFT (323971172939880238/Neymar)[1], NFT (324966479564726547/ Super Mix. )[1], NFT (325083642584414785/Donald #001)[1], NFT
                                       (325750427595368781/Zlatan)[1], NFT (339417753113954701/Mbappe)[1], NFT (356312104393698399/Alien)[1], NFT (358008461229948597/Mask Up)[1], NFT (360314623721745159/Perfect
                                       Planet)[1], NFT (363900538946393598/Lewandowski -Poland’s Finest )[1], NFT (368101849345513771/Inked )[1], NFT (369407924505432551/Sheriffs in Town)[1], NFT (373401886709659668/Rainbow
                                       Love)[1], NFT (375175643676913144/New Era)[1], NFT (382667723995920690/The Count)[1], NFT (383476682352123685/Quarantine Woman )[1], NFT (388302627222331617/Nevermore)[1], NFT
                                       (389060027483753832/Super Mix)[1], NFT (394534405251136905/M )[1], NFT (396187000479591554/Dad and Son)[1], NFT (396304025901986444/Heisenberg)[1], NFT
                                       (403682373907028982/Reading)[1], NFT (404687122354967965/Cat Woman)[1], NFT (411937885180961414/Beta)[1], NFT (411946353614797685/Street Angel)[1], NFT (418920985019022949/Fair
                                       Lady)[1], NFT (419756650151983262/Untitled)[1], NFT (420401415631426722/ Gamma)[1], NFT (421157452399093569/Bitcoin Bull Run)[1], NFT (421346154637215792/Wolf)[1], NFT
                                       (428905106379356367/The Gentleman Ranger )[1], NFT (433788425890557122/ Muller)[1], NFT (439827709739904841/Messi)[1], NFT (441011106542373192/CR7)[1], NFT (444038489002744985/
                                       Jack Grealish)[1], NFT (444777331930845331/ The Gentleman )[1], NFT (445663607978102054/Squid 001)[1], NFT (447568493924109616/ The Heisenberg)[1], NFT (450653045808282444/Hungry for
                                       Money)[1], NFT (452699609517679798/Fair Lady - Ranger)[1], NFT (454893552177185972/Baby Y. )[1], NFT (457262098460598180/Muller)[1], NFT (458942246633370221/Lukaku)[1], NFT
                                       (458979171101299496/The Rose)[1], NFT (463946384074938977/AL)[1], NFT (466282055754068421/Screams)[1], NFT (468535007482429274/Peacock)[1], NFT (477489619402482978/Hermione)[1],
                                       NFT (478335264947725502/Crypto Mario)[1], NFT (479254013759807575/Purple Mountains)[1], NFT (480670720910623534/Dunking )[1], NFT (483509996735733969/Pulisic )[1], NFT
                                       (487806041051397548/Hogwarts)[1], NFT (504464629618969145/14)[1], NFT (507130789096196566/Kickin It)[1], NFT (507290764805974930/Wonder W.)[1], NFT (512216850442809719/WW)[1], NFT
                                       (515515549152549361/The Cure)[1], NFT (523197698985217079/Donald #002)[1], NFT (524425636370932164/De Bruyne Belgium )[1], NFT (528035865252689891/The Three Lions )[1], NFT
                                       (528601649144765653/Gamma)[1], NFT (530660997584005773/Up or Down)[1], NFT (530699915232404174/Delta)[1], NFT (540771159096255296/Deathly Hallows )[1], NFT
                                       (542525495299184286/Wonder)[1], NFT (548894551923167123/Trippin Bro)[1], NFT (550508701339474005/Hermès )[1], NFT (555017240035633756/Memorial Stadium)[1], NFT
                                       (558769607931170182/Cabs Here)[1], NFT (560538196181651154/Germany)[1], NFT (561280114647424343/ De Bruyne)[1], NFT (569139455031569596/Lionel Messi)[1], NFT
                                       (573066863901224987/Inverted)[1], NFT (575547393401221946/ Delta)[1], USD[48.54]

07793722                               ETH[.034], ETHW[.034], NFT (421478236822106071/oil #2)[1], USD[2.85]

07793726                               CUSDT[1], TRX[1], USD[0.01]                                                                                                                                                                Yes

07793733        Contingent, Disputed   NFT (340422200463660179/Koki Naki collection #1 #1)[1]

07793744                               USD[0.89]

07793752                               ETH[0.00052721], ETHW[0.00052721]

07793754                               USD[1.27]

07793755                               NFT (436699035382339274/ZomboMasha #1)[1], NFT (456762748793157373/FreeWall #1)[1], NFT (532478337568653172/FreeWall #2)[1]

07793770                               NFT (561441041529728643/Whatever it Takes #1)[1], USD[0.00]

07793777                               NFT (405710676180359451/Marcus Allen's Playbook: USC vs. Washington - November 14, 1981 #39)[1], NFT (500933447527225156/Marcus Allen's Playbook: Seattle Seahawks vs. Los Angeles
                                       Raiders - October 7, 1984 #44)[1], NFT (551349202362315867/Tim Brown's Playbook: Michigan State vs. Notre Dame - September 19, 1987 #7)[1], USD[0.40]
07793778                               BAT[.00000919], BRZ[2], CUSDT[3], DOGE[1], ETH[.00000001], ETHW[0], SHIB[3], SOL[.00000937], TRX[3.000001], USD[0.00], USDT[0]                                                             Yes

07793786                               CUSDT[3], DOGE[.00547802], TRX[1], USD[0.00]                                                                                                                                               Yes

07793789                               NFT (379381749315190516/1 #12)[1], NFT (437915822252587645/1 #11)[1]

07793793                               BTC[0], USD[1.86]

07793795                               NFT (360962163490579662/beauty #1)[1]

07793799                               USD[1.00]

07793804                               NFT (306723172242915134/#1 #2)[1], TRX[.000001], USD[0.94], USDT[0]

07793807                               CUSDT[1], ETH[.00357098], ETHW[.00352994], USD[13.25]                                                                                                                                      Yes

07793818                               NFT (568026990686386682/Miami Ticket Stub #267)[1], USD[9.40]

07793819                               NFT (310612081636288410/First Generation #3)[1], NFT (352358757639907462/First Generation)[1], NFT (429974989165774994/First Generation #2)[1], SOL[.00000001], USD[10.22]

07793823                               USD[0.01]

07793827                               NFT (539444732737901327/SBF Hair & Signature #7 #95)[1]                                                                                                                                    Yes

07793836                               BTC[0], ETH[0], SOL[0.00000001], USD[0.00]

07793840                               BTC[0.00000001], SOL[0]

07793842        Contingent, Disputed   NFT (306805373885180419/Fertilizer #1)[1], NFT (439871601967400460/Fertilizer #2)[1]

07793856                               DOGE[.861], USDT[1.94342771]

07793862                               SOL[6.353958], USD[5.03]

07793864                               NFT (401490508429969837/Painting #2)[1], NFT (458668245785189245/Painting #1)[1]

07793869                               USD[250.00]

07793881                               ETHW[.00098706], SHIB[1], USD[7.82]                                                                                                                                                        Yes

07793883                               NFT (352371114184175947/smoking + financial advice #1)[1], NFT (423155315037421640/smoking + financial advice #2)[1], USD[8.21]

07793893                               ETH[.004995], ETHW[.004995], USD[5.36]

07793898                               GRT[1], SOL[0.00080924], USD[0.00], USDT[0.00000116]                                                                                                                                       Yes

07793899                               AAVE[.11123844], BAT[15.46354824], BTC[.00111774], CUSDT[9], DOGE[451.06614848], ETH[.00394063], ETHW[.00388591], GRT[15.59770902], LINK[1.10163536], LTC[.11137166],                      Yes
                                       MATIC[11.01868732], SOL[.2261904], SUSHI[1.10452463], TRX[1], UNI[1.10159016], USD[343.62]
07793903                               NFT (436115916281619027/Citizens #1)[1]

07793905                               DOGE[1], MATIC[7.66979326], USD[0.00]                                                                                                                                                      Yes

07793918                               USD[2.45]

07793934                               NFT (387958957590633191/Even more worthless #1)[1]

07793940                               DAI[0], ETH[0.45000000], ETHW[0.45000000], LINK[0], SOL[.00000001], USD[20.69]

07793946                               BTC[0.23498030], ETH[0], USD[1.71], USDT[0.00000004]

07793948                               BTC[.06870876], ETH[.32665431], ETHW[.32649339], SOL[7.73770326]                                                                                                                           Yes

07793950                               NFT (512959653314147530/FTX - Off The Grid Miami #2780)[1]

07793959                               ETH[0], SOL[0], TRX[.000038], USD[0.00], USDT[0.00000141]

07793976                               BTC[.00128192], DOGE[1], ETH[.01704836], ETHW[.01683827], SHIB[1], USD[0.00]                                                                                                               Yes

07793999                               USD[0.00]                                                                                                                                                                                  Yes
West Realm Shires Services Inc.                                                        Case 22-11068-JTD      DocF-3:
                                                                                                  Amended Schedule 1754        Filed
                                                                                                                      Nonpriority      06/27/23
                                                                                                                                  Unsecured            Page 86 of 1384
                                                                                                                                            Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07794021                           BRZ[1], DOGE[.12601939], SHIB[5253.75375229], USD[0.00]                                                                                                                                         Yes

07794025                           BTC[0], USD[0.24]

07794033                           BTC[.02113194], ETH[.32586077], ETHW[.32586077], USD[0.12], USDT[0]

07794036                           MATIC[0], SOL[0.00306852], USD[0.53], USDT[0.00260311]

07794040                           SOL[.01]

07794057                           SOL[1.77], USD[0.92]

07794070                           ETH[.01159118], ETHW[.01159118], LTC[.00999], NFT (382689375764174317/CryptoIsMyMoney Сover Series)[1], USD[1.98], USDT[1.8290731]

07794083                           USD[0.46]

07794109                           NFT (327667594085730098/FTX - Off The Grid Miami #2933)[1], NFT (545222515892362779/Entrance Voucher #3267)[1], USD[0.00]

07794115                           AAVE[.002592], BTC[.00003312], ETH[.000653], ETHW[.000653], MATIC[8.688], SOL[.003174], SUSHI[.3994], TRX[318.3368], USD[0.00], USDT[.0064756]

07794121                           NFT (311311323271432815/Marcus Allen's Playbook: USC vs. Washington - November 14, 1981 #40)[1], NFT (312346077925145122/Marcus Allen's Playbook: Kansas City Chiefs vs. Detriot Lions -
                                   November 29, 1996 #40)[1], NFT (313510912982011183/Joe Theismann's Playbook: Washington vs. Chicago Bears - September 29, 1985 #47)[1], NFT (316527636322635476/Shannon Sharpe's
                                   Playbook: Baltimore Ravens vs. Oakland Raiders - January 14, 2001 #44)[1], NFT (321856531791183269/Marcus Allen's Playbook: Kansas City Chiefs vs. Detriot Lions - November 29, 1996 #38)[1],
                                   NFT (344979599877462167/Marcus Allen's Playbook: USC vs. Washington - November 14, 1981 #42)[1], NFT (385637009625594717/Joe Theismann's Playbook: Washington vs. Chicago Bears -
                                   September 29, 1985 #44)[1], NFT (395568824778436177/Marcus Allen's Playbook: Kansas City Chiefs vs. Detriot Lions - November 29, 1996 #37)[1], NFT (442477649343680875/Marcus Allen's
                                   Playbook: Kansas City Chiefs vs. Detriot Lions - November 29, 1996 #41)[1], NFT (443992296695137322/Solarized Grids #1)[1], NFT (486610920888444216/Marcus Allen's Playbook: Kansas City
                                   Chiefs vs. Detriot Lions - November 29, 1996 #39)[1], USD[0.01]
07794132                           NFT (297878542043433880/Monk #5749)[1], NFT (361426653891920081/Monk #5751)[1], NFT (456082769209946735/Monk #2200)[1], NFT (458677481258514728/Monk #1976)[1]

07794134                           SOL[0]

07794145                           ETHW[.941], SOL[.28777], USD[0.01]

07794153                           BTC[0], USD[0.92], USDT[1.19400614]

07794160                           SOL[4.39600304]                                                                                                                                                                                 Yes

07794176                           USD[2789.73]

07794179                           NFT (307270520372199213/Microphone #4278)[1]

07794180                           BTC[0.00004296], ETH[0.00111277], ETHW[0.00111277], SOL[.016812], SUSHI[.26859562], TRX[.000007], USD[1.29], USDT[0.00000001]                                                                   Yes

07794187                           BRZ[1], BTC[.00000003], ETH[.00000032], ETHW[.00612734], NEAR[2.05153119], SHIB[6], SOL[.88301772], TRX[162.03607104], USD[0.00]                                                                Yes

07794199                           BTC[.00000552], ETHW[.63], USD[2.46]

07794202                           BTC[0], USD[0.01]

07794214                           ETH[0], USD[0.00]

07794220                           BTC[.00228891], ETHW[.09899918], USDT[7.50019059]

07794222                           SOL[.95790859], USD[0.00]

07794231                           BTC[0.23150562], ETH[0.94232294], ETHW[0.94232295], MATIC[0], NFT (510461017155196153/FTX - Off The Grid Miami #1537)[1], NFT (563026954097562949/Imola Ticket Stub #1403)[1],
                                   SOL[0.00000001], USD[0.00], USDT[0.49150396]
West Realm Shires Services Inc.                                                        Case 22-11068-JTD      DocF-3:
                                                                                                  Amended Schedule 1754        Filed
                                                                                                                      Nonpriority      06/27/23
                                                                                                                                  Unsecured            Page 87 of 1384
                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07794237                           NFT (288247303222830293/Untitled 3D Art#009)[1], NFT (290051960274907918/Pixo#05/88)[1], NFT (290145855272416736/MetaCrew#999/13)[1], NFT (290330606013714423/Mr. Skull #43)[1], NFT
                                   (291223655284226062/ST#012)[1], NFT (291599583014427274/Untitled 3D Art#02)[1], NFT (292743791654948891/Volumetric Pixel Art#003)[1], NFT (295148728074433384/Digital Art#003)[1], NFT
                                   (299962151346089783/ST#026)[1], NFT (302373317253971432/P-Art#1)[1], NFT (302974361737189119/Zombie Ape #0012)[1], NFT (305208192893555782/ST#022)[1], NFT
                                   (306288246852752284/UntitledHead Art#08)[1], NFT (306371030279877299/Zombie Ape #0013)[1], NFT (306607056776224986/Digital Art#014)[1], NFT (306727329411589753/Franklin Bubbles1#1)[1],
                                   NFT (309206985738273736/Rabbit Skull1#1)[1], NFT (311166795579273722/Pixo#14/88)[1], NFT (312504543647973773/Volumetric Pixel Art#018)[1], NFT (314216132390191044/MetaCrew#999/2)[1],
                                   NFT (315028648065203062/MetaCrew#999/6)[1], NFT (317177838817495530/Untitled 3D Art#05)[1], NFT (317498225567137427/Zombie Ape #0017)[1], NFT (317518376796864452/Zombie Ape
                                   #0015)[1], NFT (317792609434200505/Acrylic Art#5)[1], NFT (318283453780107182/Volumetric Pixel Art#/007)[1], NFT (320739580343391082/UntitledHead Art#10)[1], NFT
                                   (321741080652054214/ST#017)[1], NFT (322832563500386475/Untitled 3D Art#007)[1], NFT (322893664123662192/Acrylic Art#8)[1], NFT (326850785708237897/ST#028)[1], NFT
                                   (329311155889427457/MetaCrew#999/1)[1], NFT (329338204987208950/Woofs#9)[1], NFT (331244762679097739/Pixo#16/88)[1], NFT (331654440088269878/MetaCrew#999/11)[1], NFT
                                   (332126778217271225/Woofs#5)[1], NFT (332314554178768781/Acrylic Art#18)[1], NFT (334877724693994059/Pixo#13/88)[1], NFT (335908965736929896/SolPink#2)[1], NFT
                                   (336164230719277474/MetaCrew#999/12)[1], NFT (336436607461156999/ST#023)[1], NFT (337214279880500550/Untitled 3D Art#01)[1], NFT (337293220985971972/Volumetric Pixel Art#006)[1], NFT
                                   (338192548732234685/Volumetric Pixel Art#008)[1], NFT (340259800869012055/Untitled 3D Art#10)[1], NFT (341419885858967265/Untitled 3D Art#005)[1], NFT
                                   (341889646248724168/Unicorn#003)[1], NFT (342107904215770257/[OSM] - KING KONG #11)[1], NFT (342462837522766444/Mr. Skull #47)[1], NFT (343600799942436456/Untitled 3D Art#07)[1],
                                   NFT (348089134131434838/Volumetric Pixel Art#019)[1], NFT (349246300553348485/Pixo#23/88)[1], NFT (349895016207813822/UntitledHead Art#01)[1], NFT
                                   (350088577216521632/MetaCrew#999/9)[1], NFT (350619734064410089/Lion1#1)[1], NFT (351353561438293386/Pixo#11/88)[1], NFT (351657047753629681/ST#029)[1], NFT
                                   (353632890187789394/Untitled 3D Art#06)[1], NFT (354251849313159476/Volumetric Pixel Art#007)[1], NFT (356413472998693801/UntitledHead Art#04)[1], NFT (360203954180589015/Woofs#6)[1],
                                   NFT (360863279117172170/Untitled 3D Art#003)[1], NFT (361188658925686343/ST#016)[1], NFT (362945225311439948/ST#011)[1], NFT (363008543114671949/Zombie Ape #0021)[1], NFT
                                   (370315578578017161/Untitled 3D Art#08)[1], NFT (370504902991939980/Volumetric Pixel Art#011)[1], NFT (371014438245605513/Woofs#7)[1], NFT (371492093895311931/Untitled 3D Art#001)[1],
                                   NFT (371605672605841827/Zombie Ape #0024)[1], NFT (374429618851060009/ST#021)[1], NFT (375353870004348711/Zombie Ape #0034)[1], NFT (376048414287190152/MetaCrew#999/15)[1], NFT
                                   (376507093597102736/ST#010)[1], NFT (378031760513608385/Mr. Skull #48)[1], NFT (379171299287396529/Untitled 3D Art#12)[1], NFT (380083702169185044/Digital Art#005)[1], NFT
                                   (380444191439346133/Zombie Ape #0016)[1], NFT (380486086593339474/Untitled 3D Art#03)[1], NFT (381348479853831454/MetaCrew#999/8)[1], NFT (381418447710972958/Acrylic Art#15)[1], NFT
                                   (383184121448736552/Whales Nation #1891)[1], NFT (383470255753413907/Untitled 3D Art#09)[1], NFT (383610008763202969/Im more)[1], NFT (384875081663243444/SolDad #3334)[1], NFT
                                   (386009630197876739/ST#025)[1], NFT (388576964357358463/MetaCrew#999/18)[1], NFT (389822136031079457/SolDad #4320)[1], NFT (390907905366780008/Digital Art#010)[1], NFT
                                   (391704881386948928/Untitled 3D Art#13)[1], NFT (392827002967832616/Mr. Skull #46)[1], NFT (396159145066427398/Woofs#2)[1], NFT (396860664639440390/Acrylic Art#6)[1], NFT
                                   (397265368677357618/Zombie Ape #0029)[1], NFT (397390617951941211/Pixo#22/88)[1], NFT (399532308014344661/Acrylic Art#13)[1], NFT (401058037460419101/Woofs#13)[1], NFT
                                   (403219525812197556/Woofs#4)[1], NFT (404629236235991383/Acrylic Art#19)[1], NFT (409573045252649638/ST#027)[1], NFT (409736199324258493/Zombie Ape #0014)[1], NFT
                                   (409744338865883855/Untitled 3D Art#15)[1], NFT (410523919006299232/MetaCrew#999/19)[1], NFT (410539718032711672/Acrylic Art#7)[1], NFT (410795216132374030/Woofs#3)[1], NFT
                                   (411527894206776258/SolPink#1)[1], NFT (413808973224684095/NEO APE)[1], NFT (417001590426522370/Pixo#12/88)[1], NFT (417113045135301245/Untitled 3D Art#04)[1], NFT
                                   (420254319328439387/Acrylic Art#2)[1], NFT (421208159913210866/Pixo#08/88)[1], NFT (424015544525604785/Pixo#20/88)[1], NFT (424421294723706931/SolDad #1247)[1], NFT
                                   (425255937120263802/Digital Art#013)[1], NFT (425542984093602082/Digital Art#004)[1], NFT (425693405972256701/SolDad #1881)[1], NFT (426918161579924552/Volumetric Pixel Art#014)[1], NFT
                                   (427222154875478025/P-Art#3)[1], NFT (427424165418358277/Pixo#24/88)[1], NFT (427884611579447190/Mr. Skull #49)[1], NFT (429225443211369220/Untitled 3D Art#016)[1], NFT
                                   (430107121338498964/Untitled 3D Art#013)[1], NFT (430322031559966711/Untitled 3D Art#004)[1], NFT (430799457224035210/ST#014)[1], NFT (431103712459456684/Mr. Skull #41)[1], NFT
                                   (433535851194699368/Unicorn#004)[1], NFT (434148507424981384/Pixo#18/88)[1], NFT (435242867224085170/Untitled 3D Art#010)[1], NFT (436423804254166763/Mr. Skull #50)[1], NFT
                                   (436428380367861621/Pixo#26/88)[1], NFT (437929592851032072/Digital Art#002)[1], NFT (438299909545887540/ST#018)[1], NFT (441169493874565897/Woofs#10)[1], NFT
                                   (443934561189519636/Zombie Ape #0019)[1], NFT (444602952175608492/Pixo#10/88)[1], NFT (450040514496264935/Digital Art#015)[1], NFT (452197404668978024/Acrylic Art#17)[1], NFT
                                   (453010311172596660/MetaCrew#999/10)[1], NFT (454251572297419006/Zombie Ape #0022)[1], NFT (456610456162866881/Acrylic Art#14)[1], NFT (461938166697001258/Untitled 3D Art#015)[1],
                                   NFT (461996950440459480/Woofs#12)[1], NFT (463296640431092505/P-Art#2)[1], NFT (468853468657185937/ST#030)[1], NFT (468879056030834302/[OSM] - KING KONG #15)[1], NFT
                                   (469465057243721325/Digital Art#012)[1], NFT (471357098666845779/UntitledHead Art#05)[1], NFT (471590117485125959/Pixo#19/88)[1], NFT (472224664662067510/Pixo#29/88)[1], NFT
                                   (472779994523138239/Pixo#27/88)[1], NFT (473552448922069669/Woofs#11)[1], NFT (475028198287273259/Zombie Ape #0025)[1], NFT (475573401020547706/[Xip]-Blue1#1)[1], NFT
                                   (475612405396680066/ST#024)[1], NFT (477017447775165511/Acrylic Art#12)[1], NFT (477134488973041629/Untitled Head Art#002)[1], NFT (479701646163241789/Pixo#21/88)[1], NFT
                                   (480574386479270198/Volumetric Pixel Art#016)[1], NFT (481713948245764217/Mr. Skull #42)[1], NFT (485025010065878502/Volumetric Pixel Art#020)[1], NFT (486231320183472446/Volumetric
                                   Pixel Art#002)[1], NFT (487285197510178688/Zombie Ape #0026)[1], NFT (488172005540126902/Acrylic Art#4)[1], NFT (488320461293666053/Pixo#28/88)[1], NFT
                                   (489530777082217134/MetaCrew#999/7)[1], NFT (489993184694566962/Unicorn#005)[1], NFT (495660271956791968/Volumetric Pixel Art#010)[1], NFT (497907613805874812/SpaceX Musk2#2)[1],
                                   NFT (498550492687961722/Unicorn#001)[1], NFT (499161199381929454/Pixo#09/88)[1], NFT (499525739270541033/MetaCrew#999/17)[1], NFT (499595261925183114/Acrylic Art#9)[1], NFT
                                   (499707869180638760/Emo#009)[1], NFT (501132528148459263/Untitled 3D Art#002)[1], NFT (501556609693560723/Volumetric Pixel Art#/006)[1], NFT (502621222525953606/ST#013)[1], NFT
                                   (503741977193181214/Punk Art#1)[1], NFT (506087546910061349/Sparrow##3)[1], NFT (506394223723728212/UntitledHead Art#02)[1], NFT (506410632002014155/Pixo#15/88)[1], NFT
                                   (507595080167081010/Digital Art#001)[1], NFT (507812388507735801/Sparrow#3)[1], NFT (508717646245100888/Zombie Ape #0023)[1], NFT (509549229076740621/Volumetric Pixel Art#013)[1], NFT
                                   (509974018152977515/Volumetric Pixel Art#012)[1], NFT (510629510890335774/MetaCrew#999/20)[1], NFT (511176192098565340/Volumetric Pixel Art#015)[1], NFT
                                   (511209129191937831/Unicorn#002)[1], NFT (512127356676747790/MetaCrew#999/16)[1], NFT (513583552053901710/Untitled 3D Art#11)[1], NFT (514437425085995046/Acrylic Art#11)[1], NFT
                                   (519138211517201257/Digital Art#006)[1], NFT (520702077185305447/Volumetric Pixel Art#017)[1], NFT (522363382290044001/SpaceX Musk1#2)[1], NFT (522403413749337935/Acrylic Art#3)[1],
                                   NFT (523336490670877371/Zombie Ape #0027)[1], NFT (523704807358927658/Digital Art#011)[1], NFT (525912545822509264/MetaCrew#999/4)[1], NFT (527202444878122555/ST#020)[1], NFT
07794240                           BTC[.01969803], ETH[.00000001], ETHW[0], FTX_EQUITY[0], USD[225.43], USDT[0], WEST_REALM_EQUITY_POSTSPLIT[0]

07794250                           USD[5.37]

07794254                           BRZ[1], BTC[0], DOGE[0], NFT (367323858504938218/Play ball )[1], NFT (397639419309831229/Entrance Voucher #3832)[1], NFT (407785646703695783/Founding Frens Lawyer #363)[1], NFT            Yes
                                   (417819402649429580/Miami Ticket Stub #740)[1], NFT (530731522338724388/Founding Frens Lawyer #98)[1], SOL[.010005], USD[0.00]
07794260                           BTC[0], ETH[0], USD[0.00], USDT[0]

07794269                           SOL[.002]

07794279                           ETH[.00000001], ETHW[0], USD[500.72]                                                                                                                                                        Yes

07794291                           BTC[.00002041], ETH[.00048639], NFT (341759391205020112/#3201)[1], USD[0.00]

07794293                           USD[0.00]

07794319                           SOL[0], USD[0.00]

07794326                           ETH[.9991], ETHW[.9991], LINK[60.242715], USD[557.22]

07794329                           USDT[0.00000057]

07794341                           NFT (295658066024355032/Entrance Voucher #3206)[1], NFT (371816040037988077/FTX - Off The Grid Miami #5396)[1]

07794350                           AAVE[.00006274], AVAX[.00031152], BTC[.00000933], ETHW[1.69194567], LINK[.00103674], SUSHI[.00082224], USD[0.51]                                                                            Yes

07794352                           DOGE[4.12404436], USD[0.00]                                                                                                                                                                 Yes

07794362                           NFT (518249312614037883/Microphone #7119)[1]

07794365                           GRT[.00000001], SOL[0]

07794377                           CUSDT[1], DOGE[2], SOL[.000012], USD[0.00]                                                                                                                                                  Yes

07794425                           NFT (297632628448863308/Solflare X)[1], NFT (362251412302708382/#1774)[1], NFT (401944820757446940/Aurorlan #3273)[1], USD[0.00], USDT[.0412704]

07794457                           MATIC[6.5], USD[2.75]

07794462                           SOL[.008], USD[16.48], USDT[0]

07794486                           NFT (353277363333472459/Australia Ticket Stub #1784)[1], USD[0.00], USDT[0]

07794487                           TRX[2], USD[0.85]                                                                                                                                                                           Yes

07794496                           BRZ[1], BTC[.05510074], CUSDT[9], DOGE[2], ETH[.72321759], ETHW[.72291399], GRT[1], SOL[20.95742622], TRX[2], USD[6.46]                                                                     Yes

07794527                           USD[0.00]

07794531                           USD[200.00]
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                                                                                                                                               Customer Claims                                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07794533                              ETH[0.00711400], NFT (312314195168696384/FTX - Off The Grid Miami #2679)[1], NFT (534176073921592371/Imola Ticket Stub #166)[1], SOL[0], USD[0.00]

07794534                              BRZ[2], BTC[0], CUSDT[9], DOGE[11.26157462], ETH[0], GRT[.00237742], LINK[0], SHIB[3], SOL[0.00001861], SUSHI[.00000587], TRX[7], USD[0.01], USDT[0.00000175]                                  Yes

07794537                              NFT (451021055827153262/Austria Ticket Stub #124)[1], NFT (552210588217087813/Australia Ticket Stub #1694)[1], NFT (574990713963248077/Montreal Ticket Stub #251)[1]

07794543                              NFT (371581005022982014/The Ones #7001)[1], NFT (440199962959091549/The Hill by FTX #7924)[1]

07794575       Contingent, Disputed   BTC[0], MATIC[0], USD[0.00], USDT[0]

07794576                              BTC[.00038742], CUSDT[1], ETH[.00272478], ETHW[.00269742], MATIC[9.973198], SHIB[369917.26689157], TRX[106.01698689], USD[0.03]                                                                Yes

07794577                              BTC[0], ETH[0], ETHW[0.14991823], SOL[0], USD[2.16], USDT[0]

07794588                              SOL[6.96553395]

07794604                              ETH[.011988], ETHW[.011988], USDT[2.816]

07794605                              USD[149.02]

07794609                              USD[0.00]

07794624                              USD[0.00]                                                                                                                                                                                      Yes

07794632                              BTC[.1], SOL[260.4712125]

07794643                              USD[0.01]                                                                                                                                                                                      Yes

07794648                              ETH[0], LTC[0], SOL[0], USD[0.15]

07794651                              BTC[0], NFT (292632887536072734/Raydium Alpha Tester Invitation)[1], NFT (296064221802788575/StarAtlas Anniversary)[1], NFT (304013831121267022/Raydium Alpha Tester Invitation)[1], NFT
                                      (305643173176449338/StarAtlas Anniversary)[1], NFT (315401551035640985/StarAtlas Anniversary)[1], NFT (319750935654536884/Raydium Alpha Tester Invitation)[1], NFT
                                      (377849895233781566/StarAtlas Anniversary)[1], NFT (393238830100367226/LightShield)[1], NFT (406867129846926522/StarAtlas Anniversary)[1], NFT (421752299981366475/Raydium Alpha Tester
                                      Invitation)[1], NFT (443589747626625581/StarAtlas Anniversary)[1], NFT (452489956074139471/Raydium Alpha Tester Invitation)[1], NFT (461946231266272360/Raydium Alpha Tester Invitation)[1],
                                      NFT (463871197480281076/StarAtlas Anniversary)[1], NFT (471672120321487376/StarAtlas Anniversary)[1], NFT (489942492657640230/Raydium Alpha Tester Invitation)[1], NFT
                                      (496129333321941095/Raydium Alpha Tester Invitation)[1], NFT (522558683806516860/StarAtlas Anniversary)[1], NFT (535798766490381456/Raydium Alpha Tester Invitation)[1], SOL[0.00935752],
                                      USD[2.56]
07794659                              ETH[0.00000001], ETHW[0.00000001]

07794679                              NFT (385182433521255569/VETUS AMICITIA #1 #1)[1], SOL[.2], USD[10.79]

07794680                              AVAX[0], BTC[0], ETH[0], ETHW[0], SOL[0], USD[0.96], USDT[0]                                                                                                                                   Yes

07794687                              BTC[0.00009859], ETH[0.01009004], ETHW[0.01045235], LINK[.00000001], SUSHI[.00000001], USD[9562.88], WBTC[.00001165]

07794690                              BTC[.03448299], ETH[1.2340424], ETHW[1.2340424], SOL[1753.9772396], USD[4.46]

07794696                              TRX[1], USD[0.00]                                                                                                                                                                              Yes

07794703                              USD[0.69]

07794707                              BRZ[0], SHIB[1298700], SOL[.49519629], USD[1.52]

07794715                              BTC[.00009696], USD[0.85], USDT[0]

07794719                              BTC[.02908649]

07794725                              BTC[.00359912], CUSDT[2], ETH[.00000214], ETHW[.00000214], LINK[.00000902], SHIB[2], SOL[.39356996], USD[0.98]                                                                                 Yes

07794726                              BRZ[1], CUSDT[1], DOGE[1], ETH[0], SHIB[23.97487836], SOL[0], USD[0.00]                                                                                                                        Yes

07794729                              DOGE[1491.39509973], LINK[0], MATIC[224.34363824], NFT (382130758168523506/Barcelona Ticket Stub #1657)[1], NFT (438178474708023083/Saudi Arabia Ticket Stub #2171)[1], NFT                    Yes
                                      (485754559437507479/Entrance Voucher #2642)[1], SOL[1.84644047], USD[383.27], USDT[0]
07794735                              BTC[0.50950000], ETH[0], ETHW[0], LTC[.15], MATIC[0], SHIB[24297.10870301], SOL[0.00785378], SUSHI[0], USD[0.00]

07794755                              BF_POINT[200], NFT (409638084689995776/Coachella x FTX Weekend 1 #274)[1], USD[0.00]                                                                                                           Yes

07794757                              USD[0.00]

07794759                              ETH[.0000349], USD[2165.73]

07794775                              ETHW[1.50860139], USD[0.00]

07794783                              SOL[.00000001]

07794790                              SOL[0], USD[0.00]

07794815                              BTC[.0001], LINK[.094015], USD[0.00], USDT[.0055]

07794832                              BTC[.00000085]                                                                                                                                                                                 Yes

07794834                              USD[0.70]                                                                                                                                                                                      Yes

07794835                              USD[0.00]

07794840                              CUSDT[1], KSHIB[2724.35766457], USD[0.00]                                                                                                                                                      Yes

07794850                              SOL[0], USD[0.00]

07794854                              CUSDT[5], GRT[1.00335449], LINK[.00202265], UNI[.00000001], USD[1566.37]                                                                                                                       Yes

07794862                              NFT (422875024153770541/Time Flies)[1], SOL[0], USD[1.47]                                                                                                                                      Yes

07794865                              ETH[.00000001], USD[1.10]

07794868                              BTC[.0000424], ETH[.000445], ETHW[0.00044500], USD[9050.00], USDT[0]

07794875                              USD[0.00]

07794889                              AAVE[0], USD[0.00]

07794895                              NFT (293765128717123947/Saudi Arabia Ticket Stub #1225)[1]

07794897                              BRZ[1], CUSDT[1], DOGE[1], ETH[.00000001], SOL[.00000001], TRX[1], USD[0.01]                                                                                                                   Yes

07794898                              BTC[0], DOGE[200.00825292], ETH[.00000001], ETHW[0], SOL[0], USD[80.62]

07794909                              NFT (372639178513585430/Hulkjouster #59)[1]

07794913                              BRZ[1], BTC[.00000001], CUSDT[3], DOGE[1], TRX[1], USD[0.00]                                                                                                                                   Yes

07794938                              CUSDT[1], DOGE[1], ETH[.29220349], ETHW[.29220349], GRT[1], SOL[1.88195237], TRX[1], USD[0.00]
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                                                                                                                                               Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07794944                              USD[0.00]                                                                                                                                                                                 Yes

07794947                              ETH[.000166], ETHW[.013166], MATIC[.63], USD[38.79], YFI[0.00002607]

07794952                              CUSDT[1], GRT[1.00367791], SOL[2.31689313], USD[0.10]                                                                                                                                     Yes

07794954                              USD[500.01]

07794969                              NFT (407491561437528619/Warriors 75th Anniversary City Edition Diamond #878)[1], SHIB[1], SOL[.00000001], USD[194.28]                                                                     Yes

07794970       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07794971                              BRZ[1], BTC[.04371864], CUSDT[2], DOGE[3], ETH[.22381768], ETHW[.2236096], GRT[2.0192265], LINK[1.07263864], SOL[121.09359957], SUSHI[1.08344967], TRX[2], USD[122.90],                   Yes
                                      USDT[1.07293006]
07794974                              NFT (414651436223486318/El Salvador on Bitcoin. Welcome to the Future.)[1], USD[0.00]

07794988                              BAT[0], BRZ[1], CUSDT[25], DOGE[1], ETH[0], KSHIB[0], LTC[0], MATIC[0.00033408], SHIB[2412223.76218142], SOL[0.77192117], SUSHI[1.17499813], TRX[4.00104028], USD[0.00],                  Yes
                                      USDT[1.08484275]
07794995                              BTC[.00000904], USD[0.00]                                                                                                                                                                 Yes

07794996                              NFT (544777356503142289/Microphone #3510)[1]

07794998                              BAT[1], BRZ[1], BTC[.0024085], DOGE[3], ETH[0.00007041], ETHW[8.05196618], SHIB[1], SOL[0.00381006], TRX[2], USD[0.00]                                                                    Yes

07795001                              USD[0.02]                                                                                                                                                                                 Yes

07795002                              ETH[.274725], ETHW[.000406], SOL[0], USD[2.70], USDT[0.00000001]

07795004                              ETH[0], SOL[0], USD[0.00], USDT[0]                                                                                                                                                        Yes

07795009                              ETH[.0509541], ETHW[.0509541], USD[7.05]

07795011                              BCH[.00009291], BTC[0], DOGE[0], ETH[0], GRT[1], LINK[0.00030172], LTC[0], MATIC[0], NFT (328418654945364988/CryptoAvatar #28)[1], NFT (376379167998138009/Crypto-Bugatti #1 - Rainbow    Yes
                                      Edition )[1], SHIB[39], SOL[.00000001], SUSHI[0], TRX[0], USD[0.00], USDT[0.00317377]
07795022                              NFT (302221207578431986/Night Light #986)[1], NFT (338663737677888003/Beasts #326)[1], USD[80.00]

07795030                              USD[0.00]

07795035                              USD[0.00]

07795044                              BTC[.00004], USD[0.00]

07795047                              DOGE[0], SHIB[46], USD[0.00]                                                                                                                                                              Yes

07795049                              USD[0.63]

07795068                              ETH[.08479831], ETHW[0.08376653]                                                                                                                                                          Yes

07795073                              BTC[.01782543], USD[3.18]

07795084                              SOL[3.03], USD[0.04]

07795085                              AVAX[22.0779], NFT (361102726117595485/GSW Western Conference Finals Commemorative Banner #1647)[1], NFT (416894746903571571/GSW Championship Commemorative Ring)[1], NFT
                                      (419459926806934360/GSW Western Conference Finals Commemorative Banner #1648)[1], NFT (496698438780816773/GSW Western Conference Semifinals Commemorative Ticket #841)[1], NFT
                                      (531178841586186131/GSW 75 Anniversary Diamond #95)[1], SHIB[9000000], USD[31.32], USDT[0.00001365]
07795089                              BTC[0], USD[0.00]

07795093                              CUSDT[1], DAI[2.18115505], MATIC[7.9883404], TRX[79.60764831], USD[0.00], USDT[.99467878]                                                                                                 Yes

07795094                              AVAX[0.71329321], SHIB[0], SOL[0], USD[0.00]

07795095                              MATIC[95], SOL[56], USD[38308.06]

07795097                              DOGE[0], ETH[0], SOL[0], USD[1.71]

07795100                              AAVE[.22], AVAX[.3], BAT[33.7758], BCH[.019], BRZ[64], BTC[0], DAI[10], DOGE[56], EUR[12.00], GBP[11.00], KSHIB[150], LINK[1.1], MATIC[30], SHIB[100000], SOL[.01], SUSHI[1], TRX[196],
                                      USD[21.54], USDT[151.78119989], YFI[.002]
07795102                              BTC[0.00000084], SOL[17.98995], USD[276.21]

07795108                              KSHIB[433.40083125], SHIB[2278494.35591256], USD[0.00]                                                                                                                                    Yes

07795109                              ETHW[1.37131741], USD[3314.82]

07795120                              DOGE[2], TRX[2], USD[1133.35]                                                                                                                                                             Yes

07795122                              SOL[.00051987], USD[75.00]

07795123                              USD[548.65]                                                                                                                                                                               Yes

07795125                              USD[20.00]

07795136                              BTC[0.01398391], DAI[0], ETH[0], GRT[1], LINK[1.01121026], NFT (428349416908921158/FTX - Off The Grid Miami #27)[1], NFT (435105511057730319/Bahrain Ticket Stub #1977)[1], SHIB[2],      Yes
                                      SOL[0], TRX[3], USD[0.18], USDT[0.00000226]
07795160                              CUSDT[1], ETHW[.24224534], TRX[1], USD[0.00]

07795164                              SOL[6.05531559]

07795166                              BRZ[1], CUSDT[4], DOGE[4], SHIB[4242436.452425], TRX[1], USD[0.00]

07795174                              BF_POINT[100], CUSDT[14], DOGE[3], SHIB[2], SOL[.03800671], TRX[9], USD[0.19]                                                                                                             Yes

07795182                              NFT (509536604736160240/Solara Gen 0 - 0)[1], SOL[.05], USD[11.07]

07795196                              BRZ[1.09844679], CUSDT[4], DOGE[.01505458], TRX[1], USD[0.00]                                                                                                                             Yes

07795205                              USD[0.00]

07795226                              NFT (463261404441771386/Grampaw's Stash #1)[1], NFT (499941031681981173/Grampaw's Stash #2)[1]

07795227                              USD[0.94]

07795248                              SOL[0.02625444], USD[0.00], USDT[0.00000001]

07795256                              BTC[0.00009320], SOL[.00778859], USD[0.40]

07795261                              LTC[0], USD[7.10]

07795265                              NFT (565323302711993432/Microphone #1800)[1]

07795270                              DOGE[1], USD[0.00]                                                                                                                                                                        Yes

07795272                              LTC[.25], NFT (483990860564403686/GenRug)[1], NFT (495749060761366027/Gen Rug 02)[1], USD[24.25]
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07795281                           USD[0.19]

07795284                           BAT[0], ETH[0], USD[0.00], USDT[0]

07795287                           BTC[.00000172], ETH[.00003372], ETHW[0.00003369], USD[0.99], USDT[0]                                                                                                                     Yes

07795297                           BTC[0], ETH[.295], ETHW[.295], MATIC[0], SOL[1.72000000], USD[3.16]

07795307                           NFT (428377674889369493/Gloom Punk #7626)[1], NFT (496669099496654144/Gloom Punk #4781)[1], NFT (553392926435113406/Gloom Punk #7625)[1], NFT (560272672730204731/Gloom Punk
                                   #1045)[1], SOL[.3715]
07795316                           BTC[.020802], CUSDT[24], DOGE[3], ETH[.18411735], ETHW[.18387543], SHIB[7], SOL[1.05453508], TRX[5], USD[657.90]                                                                         Yes

07795323                           USD[0.17], USDT[0.78936800]

07795324                           USD[0.97]

07795328                           USD[0.01]

07795330                           NFT (366737856930157347/Barcelona Ticket Stub #2122)[1], NFT (368611599382008560/Australia Ticket Stub #2048)[1]

07795333                           BAT[51.36700546], LINK[87.515], MATIC[1373.49], SOL[38.35171168], TRX[19605.91512727], UNI[1.67335888], USD[4956.67]

07795339                           USD[0.00]                                                                                                                                                                                Yes

07795342                           AVAX[.00006022], DOGE[2], ETHW[.00001158], NFT (507299434996065943/Saudi Arabia Ticket Stub #2206)[1], SOL[.00004535], TRX[1], USD[0.00]                                                 Yes

07795345                           BTC[.0000484], ETHW[.05], NFT (358369943740306387/TigerKing x Warhol #2)[1], NFT (374518678615784374/TigerKing x Warhol #3)[1], NFT (378446609370028210/Tiger King Monroe )[1], NFT
                                   (425123276332103886/Tiger King Monroe )[1], NFT (463544575244431664/Bus Driver Chris Red Edition )[1], NFT (477398822141754377/TigerKing x Warhol )[1], NFT (492744355202426389/Bonzai
                                   )[1], NFT (519569901503685563/Pat's Garage )[1], USD[2.73], USDT[0.00731072]
07795346                           SHIB[4337903.52636472], USD[0.27]                                                                                                                                                        Yes

07795350                           USD[131.34]

07795360                           CUSDT[1], TRX[2], USD[0.00]                                                                                                                                                              Yes

07795375                           USD[0.01]                                                                                                                                                                                Yes

07795386                           SOL[.00699], USD[10.52]

07795388                           USD[0.00]

07795391                           CUSDT[1], DOGE[1], USD[0.18], USDT[0.00091038]                                                                                                                                           Yes

07795392                           BTC[.0000732], ETH[.000884], SOL[.00057], USD[169.69]

07795400                           BAT[.357], BTC[0], ETHW[.000698], TRX[.172], USD[0.06]

07795401                           USD[0.00]

07795408                           NFT (434697289101858799/Microphone #2136)[1]

07795423                           TRX[.000001], USD[47.83], USDT[.00864816]

07795428                           TRX[.000005], USDT[0]

07795431                           ETHW[1.14], USD[1.28]

07795436                           BRZ[3], CUSDT[8], DOGE[5], ETH[.00000092], ETHW[.09983964], GRT[1], SHIB[23], TRX[9], USD[1252.39], USDT[1.05826397]                                                                     Yes

07795439                           USD[0.49]

07795440                           BTC[0], ETH[.00010021], ETHW[.00010021], USD[1.29]

07795443                           BTC[0], ETH[0], MATIC[0], NFT (372380633675283004/DBS Zombie #118)[1], SOL[0], USD[0.14], USDT[1.07385213]

07795451                           SOL[2.81], USD[8.40]

07795454                           USD[28.00]

07795461                           ETH[0], USD[0.00], USDT[0.00000002]

07795466                           USD[0.03]

07795472                           USD[2.26]

07795485                           USD[0.00]

07795487                           CUSDT[.00003866], DOGE[.00001397], ETH[0.00001671], ETHW[0.00001671], MATIC[.05114294], SHIB[5], SOL[.00017861], USD[5.17], USDT[0.00000991]                                             Yes

07795490                           DOGE[.01126702], USD[0.01], USDT[0]                                                                                                                                                      Yes

07795493                           TRX[.000001], USDT[9.00033108]

07795494                           BTC[0.00000328], LINK[.0426755], SHIB[1], SOL[.00008], USD[0.14]                                                                                                                         Yes

07795499                           DOGE[1], TRX[1], USD[0.00]                                                                                                                                                               Yes

07795502                           DOGE[3], ETHW[.02094276], SHIB[12201023.85177293], TRX[5], USD[0.00], USDT[0]                                                                                                            Yes

07795508                           BTC[0.37753210], ETH[1.04367816], ETHW[1.04367816], SOL[18.70120427], USD[0.00]

07795510                           CUSDT[1], ETH[0], LINK[0], USD[0.00], USDT[0]                                                                                                                                            Yes

07795526                           BF_POINT[300], BTC[0], DOGE[1], SHIB[2], SOL[0], TRX[2], USD[0.00]                                                                                                                       Yes

07795530                           BTC[.00095834], USD[0.00]

07795532                           NFT (511907185184011628/Entrance Voucher #3069)[1], USD[0.02]                                                                                                                            Yes

07795537                           CUSDT[1], DOGE[1], GRT[1], PAXG[2.29931459], USD[129.47]

07795538                           TRX[1444.8]

07795543                           BRZ[1], CUSDT[1], DOGE[1], SOL[7.86738816], TRX[3], USD[1.87]                                                                                                                            Yes

07795548                           BRZ[1], CUSDT[1], SOL[10.95904077], TRX[1], USD[15117.59]                                                                                                                                Yes

07795554                           BAT[1.0159793], CUSDT[1], SOL[6.61476208], USD[0.01]                                                                                                                                     Yes

07795558                           USD[10.00]

07795576                           DOGE[2], ETH[0], ETHW[0], SHIB[1], TRX[1], USD[0.09], USDT[0]                                                                                                                            Yes

07795586                           USD[1519.21]                                                                                                                                                                             Yes
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                                                                                                                                               Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07795588                              BTC[0], CUSDT[0], ETH[0], USD[0.22]

07795604                              BRZ[6.50025402], BTC[0], CUSDT[5], DOGE[3], MATIC[0], TRX[7], USD[0.00]                                                                                                                Yes

07795613                              USD[0.00]                                                                                                                                                                              Yes

07795620                              SOL[2.35764], USD[2.05]

07795621                              BTC[0.00560185], ETH[0.15502477], ETHW[0], MATIC[0], NEAR[0], NFT (331903153548608119/Entrance Voucher #3052)[1], NFT (368261697925196064/Barcelona Ticket Stub #906)[1], NFT          Yes
                                      (437161540594364493/Australia Ticket Stub #760)[1], SOL[0], USD[0.00], USDT[0]
07795628                              AAVE[.00000013], ETH[.01531903], ETHW[.01531903], SHIB[1], USD[0.00]

07795633                              BCH[.06112891]

07795640                              BTC[.00004139], CUSDT[1], SUSHI[1.11746112], USD[0.00]                                                                                                                                 Yes

07795648                              SOL[0], USD[0.13], USDT[0.00000132]

07795656                              NFT (294740575955871557/DotVar-V1 #0)[1], SOL[.00831512], USD[0.00]

07795657                              BTC[.00196506], USD[0.05]                                                                                                                                                              Yes

07795664                              NFT (458946188260826118/Drinks #1)[1], USD[40.01]

07795666                              USD[0.00]

07795669                              BAT[1.00426115], BRZ[2], CUSDT[4], DOGE[1], SOL[94.7797052], TRX[2], USD[0.34], USDT[1.0690556]                                                                                        Yes

07795676                              BTC[.53121838], DOGE[4476], ETH[6.53855579], ETHW[6.53855579], LINK[17.6], SOL[183.38395483], USD[1.18]

07795677                              NFT (557919280611958871/Testing NFT #1)[1]

07795681                              USD[0.02], USDT[0]

07795682                              USD[0.01]

07795691                              USD[500.00]

07795692                              SOL[0]

07795697                              SOL[.997], USD[8.01]

07795699                              NFT (436652069746224607/SHXPES 01 #1)[1], USD[100.00]

07795704                              LINK[.0244], SOL[.00455], USD[0.01], USDT[0]

07795709                              USD[0.00], USDT[0.00001684]

07795721                              DOGE[72318.51527981]                                                                                                                                                                   Yes

07795727                              BTC[.00007497], SOL[.00759], USD[0.01]

07795733                              NFT (524764996472132673/Meta Guns)[1], SOL[.304], USD[26.42]

07795734                              BAT[1], BRZ[3], CUSDT[18], DOGE[.01509179], ETH[0], GRT[2], MATIC[1.00856204], SHIB[1.00000002], TRX[14], USD[0.00], USDT[1.04746545]                                                  Yes

07795735                              ALGO[0], BTC[0.00000005], ETH[0], MATIC[0.00002374], NFT (443052146146871197/Bahrain Ticket Stub #500)[1], SHIB[17], SOL[0], USD[0.00]                                                 Yes

07795744                              BTC[.00000002], DOGE[1], NFT (499057362160623219/FTX - Off The Grid Miami #1571)[1], NFT (499225182415501411/Welcome to Dopamine)[1], SHIB[4], SOL[.00000001], USD[0.00]               Yes

07795748                              USDT[50.3188091]

07795752                              NFT (387918240668275200/FTX - Off The Grid Miami #5395)[1], NFT (410750230523465610/HSBAF Dad Hat )[1], USD[8.01]

07795753                              ETH[.01266519], ETHW[.01266519], USD[0.00]

07795755                              BTC[.00226661], CHF[75.47], CUSDT[1284.38794381], DOGE[221.03566674], ETH[.00793556], ETHW[.0078398], EUR[68.87], GBP[59.00], LTC[.15510866], SHIB[181440.1415319], SOL[.94000022],    Yes
                                      TRX[2], USD[0.17]
07795756                              AVAX[20], BTC[0.03254263], ETH[.250992], ETHW[.250992], USD[0.00]

07795759                              USD[2.17]

07795764                              SHIB[10], SOL[88.89239558], USD[0.00], USDT[0.00001926]                                                                                                                                Yes

07795767                              DOGE[1], ETH[.00002817], ETHW[.00047917], MATIC[.00018754], SHIB[1], SOL[.00007882], TRX[1], USD[0.21]                                                                                 Yes

07795771       Contingent, Disputed   USD[0.01]                                                                                                                                                                              Yes

07795783                              CHF[0.00], SOL[0], USD[0.11], USDT[0]                                                                                                                                                  Yes

07795784                              GRT[1], MATIC[1.00112327], SUSHI[1.00054809], TRX[1], USD[1.34], USDT[0.22359338]                                                                                                      Yes

07795789                              AVAX[.00117582], SOL[.00100996], TRX[1], USD[0.01]                                                                                                                                     Yes

07795790                              USD[0.00]

07795792                              ETH[.00000141], ETHW[.00000141], LTC[.00004773], USD[0.00]                                                                                                                             Yes

07795795                              ETHW[1.177608], USD[20.97]

07795801                              CUSDT[2], USD[0.00]                                                                                                                                                                    Yes

07795802                              ETH[.01418885], ETHW[.01418885], NFT (335152057600078951/Ruby On The Wing)[1], NFT (369632670286108641/Sykadelik Snake #3)[1], NFT (391341614517131929/Demagorgin's Arrival)[1], NFT
                                      (451444670643170537/Sykadelik Snake)[1], NFT (455624636656801364/Sykadelik Snake #2)[1], NFT (457352804880457454/Tree of Light)[1], USD[10.60]
07795804                              AVAX[0], ETH[.009], SOL[0], TRX[0], USD[7.42], USDT[0.00000016]

07795811                              USD[1000.00]

07795812                              TRX[69.9602665], USDT[0.00002856]

07795818                              AVAX[0], BF_POINT[300], LINK[.00000001], SOL[0], USD[0.00], USDT[0.00000001]                                                                                                           Yes

07795822                              USD[0.00]

07795827                              CUSDT[4], DOGE[2], GRT[950.34051431], NEAR[25.86676468], SHIB[6], TRX[4.000081], USD[0.00], USDT[0]                                                                                    Yes

07795832                              SOL[.00000001], USD[0.00]

07795837                              USD[0.00]

07795853                              CUSDT[2], SHIB[1], USD[48.73]                                                                                                                                                          Yes

07795859                              NFT (297603000410121665/Sol Lion #3716)[1], NFT (354179485133554723/Sol Lion #7959)[1], NFT (507782303189087846/Sol Lion #4723)[1], USD[0.00]
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                                                                                                                                               Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07795861                              BTC[.1360411], DOGE[29.671], ETH[1.10508751], ETHW[1.10508751], GRT[665.591], MATIC[2408.04900291], MKR[.05793], SOL[17.54826861], SUSHI[105.8175], TRX[12529.396], UNI[30.6285],
                                      USD[363.51], USDT[496.80646346], YFI[.013946]
07795863                              GRT[187.51919529], USD[0.00]

07795871                              USD[0.74]

07795872                              SOL[0.33259467], USD[1.69]

07795873                              SOL[.00030565]                                                                                                                                                                      Yes

07795874                              BTC[0], ETH[0.60712089], ETHW[0.60712089], SOL[10.7103277], USD[0.00]

07795876                              USD[0.00]

07795883                              DOGE[37.16431092], USD[1.19]                                                                                                                                                        Yes

07795884                              SOL[0], TRX[.00001348], USD[0.00], USDT[0]

07795897                              ETHW[.124875], USD[0.37]

07795905                              BCH[.5607], BTC[.03749476], ETH[.422763], ETHW[.422763], LINK[.7526], LTC[1.65724], SOL[.21674], UNI[24.4051], USD[0.25]

07795907                              ETH[0.00000001], SOL[2.38185192], USD[-3.72], USDT[0]

07795908                              USD[0.20]                                                                                                                                                                           Yes

07795910                              ETH[.1971259], ETHW[.30017328], SHIB[4], TRX[1], USD[0.08]                                                                                                                          Yes

07795925                              BAT[1.0165555], DOGE[3], GRT[5.24468472], SUSHI[1.09374889], TRX[6], UNI[1.09412746], USD[0.00], USDT[2.18320773]                                                                   Yes

07795927                              BRZ[.01197777], CUSDT[14], DOGE[7.07721423], LINK[0], MATIC[.00041938], SHIB[5], SOL[0], TRX[4], USD[0.00], USDT[0.00000021]                                                        Yes

07795932                              NFT (436035239407805994/" The Undead " (Stoned Edition) )[1], USD[0.00]

07795937                              AAVE[0], BAT[0], ETH[0], SOL[0], TRX[.011567], USD[0.14], USDT[0.01000001]

07795942                              NFT (469503110041021265/Coachella x FTX Weekend 1 #16381)[1]

07795947                              NFT (388672571434215044/FTX Crypto Cup 2022 Key #1094)[1], NFT (395723431239161140/The Hill by FTX #2435)[1]

07795951                              ETH[5.3899428], ETHW[.99905], SOL[.943106], USD[41.87]

07795953                              SOL[3.08751], USD[50.70]

07795954                              DOGE[177.822], ETH[.170829], ETHW[.170829], LINK[15.984], MATIC[259.32], TRX[1960.038], USD[36.95], USDT[.80423952]

07795955                              BTC[0.00002432], MATIC[.00000001], SOL[0], USD[0.22]

07795961                              BCH[.0066733], DOGE[4.137995], ETH[.00045279], ETHW[.00045279], SOL[.01153955], USD[21.69]                                                                                          Yes

07795962                              BF_POINT[100], SOL[.00275064], UNI[1.08224835], USDT[0]                                                                                                                             Yes

07795964                              CUSDT[1], DOGE[3], ETH[2.07144068], ETHW[2.07057069], GRT[16.87689766], LINK[1.10474372], MATIC[9.61708909], SOL[22.60435882], TRX[25.80098709], USD[0.00], USDT[1.09239037]        Yes

07795966                              USD[2.32]

07795968                              SHIB[3360258.24745905], USD[0.36]

07795980                              SOL[0], USD[0.00]

07795994                              ETH[0], LINK[0], USD[0.01]

07796000                              AAVE[.00842], AVAX[.094], ETHW[.000555], LINK[.0925], SOL[.00758], SUSHI[.489], USD[854.24]

07796003                              USD[0.00]

07796007                              BRZ[1], ETH[.00002371], ETHW[2.59542827], GRT[1], USD[0.00]                                                                                                                         Yes

07796009                              ETH[0.02523555], ETHW[0.02523555], SOL[0.00495357], USD[0.00], USDT[89.96163861]

07796015                              USD[0.00]                                                                                                                                                                           Yes

07796016                              USD[52.36]

07796017                              DOGE[3], TRX[1], USD[0.00]                                                                                                                                                          Yes

07796020                              BRZ[2], CUSDT[8], DOGE[703.48908354], ETH[1.75947556], ETHW[1.75873658], SHIB[1934582.27332972], TRX[3], USD[0.00]                                                                  Yes

07796021                              USD[59.78]

07796037       Contingent,            NFT (364224642255350003/Genesis 1:170)[1], NFT (434359217369736414/Snek #1892)[1], NFT (460661014269503515/Bold Badger #4417)[1], NFT (481128671982347482/Genesis 1:280)[1],
               Unliquidated           USD[284.55], USDT[.00135205]
07796044                              SOL[.0037415], USD[1.93]

07796045       Contingent, Disputed   ALGO[2.12000000], USD[0.64], USDT[0]                                                                                                                                                Yes

07796048                              BTC[0], USD[2.51]

07796049                              BTC[0.00002394], ETHW[0], USD[0.90]

07796054                              ETH[0], USD[0.00]

07796057                              AAVE[1.02049015], BAT[1], BF_POINT[300], BRZ[1], BTC[.00106019], CUSDT[9], DOGE[108.55806691], ETHW[2.08330353], LTC[1.03498633], MKR[.04078777], NEAR[57.27562472],                Yes
                                      SHIB[342585.23076477], SOL[10.76074533], TRX[3], UNI[7.20876266], USD[1.44]
07796062                              SHIB[1], SOL[4.90731268], USD[10.01]

07796063                              ETH[0], MATIC[.00097193], USD[0.00], USDT[0.00000818]                                                                                                                               Yes

07796065                              AVAX[.0333], BTC[.0000786], DOGE[.3465303], ETHW[.499946], LINK[.081], LTC[.007], TRX[.642], USD[0.11]

07796069                              MATIC[908.98785397]                                                                                                                                                                 Yes

07796070                              USD[30100.00]

07796071                              USD[0.29]

07796072                              BTC[.04473419], CUSDT[10], DOGE[5.00009132], ETH[.1399683], ETHW[.13897493], SHIB[2], SOL[2.62980994], TRX[1], USD[7.31]                                                            Yes

07796081                              AAVE[.12724], GRT[8.884], SUSHI[33.313], TRX[1800.092], USD[4.23], USDT[1]

07796085                              USD[0.01]

07796093                              ETH[0.00000044], USD[0.00]                                                                                                                                                          Yes
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                                                                                                                                            Customer Claims                                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07796098                           SOL[.919126], USD[0.00], USDT[.2309671]

07796101                           ETH[.00000001], ETHW[0], SOL[0], SUSHI[1.08237329], USD[0.00], USDT[0.00000009]

07796106                           BTC[.01270575], ETH[.00079208], ETHW[.00079208], USD[0.07]

07796112                           UNI[.0078875], USD[0.45], USDT[3.2335784]

07796117                           SOL[2.74609709]                                                                                                                                                                   Yes

07796120                           BTC[.00255702], USD[0.00]

07796124                           ETHW[3.018425], USD[0.01], USDT[0]

07796134                           NFT (490753355609688132/Entrance Voucher #3308)[1]

07796139                           ETH[.31801973], ETHW[.31784863], TRX[1], USD[0.01]                                                                                                                                Yes

07796149                           ETH[.01298765], ETHW[.01298765], SOL[.29], USD[0.78]

07796150                           BTC[.00118849], DOGE[1], USD[0.00]                                                                                                                                                Yes

07796152                           USD[0.00]                                                                                                                                                                         Yes

07796153                           BTC[0], CUSDT[3], TRX[1], USD[0.00], USDT[0.00000518]                                                                                                                             Yes

07796165                           SHIB[63766356.97841955]                                                                                                                                                           Yes

07796169                           ETHW[6.71366057], USD[1.84]

07796175                           BRZ[2], BTC[.03362081], CUSDT[51.14074935], DOGE[3], ETH[.14855417], ETHW[.14770639], LINK[.00000031], MATIC[212.06492655], SHIB[3540087.12549245], SOL[1.55494632],              Yes
                                   TRX[5.00001156], UNI[.00001804], USD[0.00]
07796177                           USD[3.40]

07796183                           ETH[0], ETHW[0], SOL[.00063274], USD[0.01]

07796185                           BTC[.0000888], ETH[.00000001], ETHW[0], LINK[.0432], MATIC[9.6], SOL[7.98205745], SUSHI[200.6595], USD[3.68], USDT[.0057595]

07796186                           ETHW[100]

07796187                           NFT (408150049974923380/Solana Father Christmas)[1], SOL[.04063616]

07796204                           TRX[1], USD[0.01]                                                                                                                                                                 Yes

07796213                           USD[2000.00]

07796216                           DOGE[1997.35402699], USD[0.00]

07796219                           NFT (481082206451221682/Bill #1)[1], USD[0.00]

07796223                           SOL[0], USD[0.89]

07796224                           MATIC[2.4837507], USD[0.00]

07796229                           USD[10.00]

07796237                           ETHW[.00053926], SOL[0.32619948], USD[45.01]

07796240                           ALGO[.0239777], BAT[2.08240058], DOGE[1], ETH[0.00000391], ETHW[0.43034726], MATIC[.00205507], SHIB[5238.36569133], SOL[0], UNI[.00040007]                                        Yes

07796242                           USD[650.00]

07796247                           BTC[.00000691], NFT (397627925486862800/FTX - Off The Grid Miami #2088)[1]

07796251                           CUSDT[1], USD[0.00]

07796253                           SOL[.00000001]                                                                                                                                                                    Yes

07796255                           CUSDT[4], LTC[.00000247], SOL[0], TRX[1], USD[0.00]                                                                                                                               Yes

07796258                           BAT[1], BRZ[1], BTC[.00000075], CUSDT[4], DOGE[9.29110886], SHIB[66150.10047329], TRX[5], USD[0.00], USDT[1.06939765]                                                             Yes

07796262                           USD[0.01], USDT[0]

07796265                           ETH[0], MATIC[0], SOL[0]

07796266                           ETH[.065934], ETHW[.065934], USD[0.00], USDT[2.4908]

07796274                           SOL[.00000001]

07796277                           UNI[.1], USD[0.00]

07796278                           BTC[5.02776725], ETH[.5121505], ETHW[30.73719064], SOL[1.06779809]                                                                                                                Yes

07796279                           USD[1.91]

07796283                           BTC[.00006483], ETH[.144855], ETHW[.144855], SOL[3.3966]

07796284                           USD[100.00]

07796298                           USD[36.39]

07796302                           BAT[1.00975222], CUSDT[1], DOGE[3], SHIB[.01788949], TRX[2], USD[0.00]                                                                                                            Yes

07796304                           USD[0.00], USDT[0]

07796305                           USD[1.69]

07796313                           ETH[.00004129], TRX[1], USD[30758.05], USDT[.00000959]                                                                                                                            Yes

07796332                           CUSDT[4], EUR[20.16], SHIB[8664208.65494587], USD[0.54]                                                                                                                           Yes

07796333                           NFT (376575529965145112/Coachella x FTX Weekend 1 #26573)[1]

07796335                           DOGE[1], SOL[1.10614417], USD[0.00]                                                                                                                                               Yes

07796342                           BTC[0], ETH[.00000001], NFT (388173481773437927/Entrance Voucher #2303)[1], USD[0.00], USDT[0.00000001]                                                                           Yes

07796343                           BTC[.00007201], USD[0.00]

07796344                           SOL[.01]

07796358                           USD[0.00]                                                                                                                                                                         Yes

07796362                           AVAX[.00878213], BAT[5.29653835], BCH[.00000047], BF_POINT[100], BRZ[7.32923932], CUSDT[15], DOGE[62.8275005], GRT[.00608502], MATIC[.00006755], MKR[1.99242055], NEAR[.00888274], Yes
                                   SHIB[462758.09879459], SOL[235.01788444], TRX[13.00792857], USD[0.00], USDT[2.07941752]
West Realm Shires Services Inc.                                                           Case 22-11068-JTD      DocF-3:
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                                                                                                                                               Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07796369                              NFT (542996195812815649/Musgrave #1)[1], USD[1.00]

07796374                              AAVE[.006], USD[0.03]

07796375       Contingent, Disputed   SOL[.0006114], USD[0.00]

07796377                              BRZ[1], DOGE[1], USD[0.00]                                                                                                                                                                Yes

07796382                              SHIB[2], USD[0.00]                                                                                                                                                                        Yes

07796392                              ETH[.003], ETHW[.003], NFT (288925218647085849/Abyss Dweller #138)[1], NFT (290792410493658383/Abyss Dweller #198)[1], NFT (291179245718908955/Lethal Injection)[1], NFT
                                      (292571943538332750/Abyss Dweller #160)[1], NFT (293075854931822042/Abyss Dweller #200)[1], NFT (294402964029958144/Abyss Dweller #82)[1], NFT (297472527263606983/Abyss Dweller
                                      #122)[1], NFT (298477935116743752/Abyss Dweller #192)[1], NFT (298903118218186072/Abyss Dweller #90)[1], NFT (299728778511470278/Abyss Dweller #100)[1], NFT
                                      (299838326744307473/Abyss Dweller #96)[1], NFT (301135040235098049/Abyss Dweller #129)[1], NFT (302430584567555917/Abyss Dweller #86)[1], NFT (302991327434147972/Abyss Dweller
                                      #103)[1], NFT (303853968391346256/Sleepless Nights)[1], NFT (304162875228316590/Keeper of the Abyss)[1], NFT (305139030377350464/Abyss Dweller #161)[1], NFT (306194874023900119/Abyss
                                      Dweller #94)[1], NFT (309620298503201738/Abyss Dweller #144)[1], NFT (310405920563704126/Abyss Dweller #189)[1], NFT (310620841137539070/Abyss Dweller #75)[1], NFT
                                      (312293140423453569/Abyss Dweller #109)[1], NFT (312894142531524941/Abyss Dweller #99)[1], NFT (313053623327922676/Abyss Dweller #146)[1], NFT (313363786285307438/Abyss Dweller
                                      #13)[1], NFT (313772627653707486/Lost in Ink)[1], NFT (316356643473481103/Abyss Dweller #97)[1], NFT (317141474917476912/Abyss Dweller #20)[1], NFT (318682182873017643/Abyss Dweller
                                      #30)[1], NFT (319238927208892549/Abyss Dweller #45)[1], NFT (320657813302994885/Abyss Dweller #181)[1], NFT (321263633170949217/Abyss Dweller #69)[1], NFT (321729312587871759/Abyss
                                      Dweller #157)[1], NFT (322254979121340130/Abyss Dweller #88)[1], NFT (322290014996586276/Abyss Dweller #107)[1], NFT (324571385061987894/Abyss Dweller #136)[1], NFT
                                      (324668452666882937/Abyss Dweller #143)[1], NFT (325226788859291996/Abyss Dweller #70)[1], NFT (325302140185214572/Abyss Dweller #71)[1], NFT (325406760554316898/Abyss Dweller
                                      #118)[1], NFT (325552783655101608/Low Brow)[1], NFT (325687423069252847/Abyss Dweller #101)[1], NFT (327034654193852266/Unimaginable Evil)[1], NFT (328141357922972997/Abyss Dweller
                                      #151)[1], NFT (328901122742608800/All You Need is Love)[1], NFT (330082521716378128/Shark Attack)[1], NFT (330516033973252225/Abyss Dweller #204)[1], NFT (333462282271937479/Kingdom
                                      of Fear)[1], NFT (333688650063686407/Demon Drink)[1], NFT (334296839215012366/Abyss Dweller #147)[1], NFT (338796454770500370/Abyss Dweller #43)[1], NFT (339704932667009171/Abyss
                                      Dweller #132)[1], NFT (341920412857967079/Abyss Dweller #89)[1], NFT (342906260630659166/Abyss Dweller #104)[1], NFT (343035368087743949/Abyss Dweller #56)[1], NFT
                                      (350706845850278894/Abyss Dweller #155)[1], NFT (350826658710455866/DREAMS)[1], NFT (352321767527062865/Abyss Dweller #5)[1], NFT (352558633186405499/Bad Breath)[1], NFT
                                      (352879158136931375/Abyss Dweller #162)[1], NFT (353625819189412175/Frontal Lobe)[1], NFT (353813144447784417/Abyss Dweller #67)[1], NFT (354751887704909009/Abyss Dweller #149)[1],
                                      NFT (354769178004194879/Abyss Dweller #165)[1], NFT (354938504069954136/Abyss Dweller #76)[1], NFT (357911514545542691/Feed Upon The Wicked)[1], NFT (360106342064165868/Hell
                                      Awaits)[1], NFT (363751211451161494/Abyss Dweller #194)[1], NFT (369216708595158295/My Mind Has Escaped Me)[1], NFT (370805644474396670/Abyss Dweller #41)[1], NFT
                                      (372886282687781598/Abyss Dweller #183)[1], NFT (374465684831994829/Abyss Dweller #102)[1], NFT (376503834045933554/Abyss Dweller #48)[1], NFT (376504567849118021/Abyss Dweller
                                      #52)[1], NFT (377610204609427047/Abyss Dweller #51)[1], NFT (378582150632847785/Abyss Dweller #66)[1], NFT (378957166261507548/Abyss Dweller #34)[1], NFT (379375431378232534/Abyss
                                      Dweller #16)[1], NFT (380552559261095485/Abyss Dweller #117)[1], NFT (380667009170972690/Abyss Dweller #47)[1], NFT (381697705963796125/Gas)[1], NFT (382882199256518262/Abyss Dweller
                                      #77)[1], NFT (383533386553412581/Abyss Dweller #205)[1], NFT (383931185186283809/Abyss Dweller #36)[1], NFT (384405921106356467/Oil)[1], NFT (385407925673504862/Abyss Dweller #15)[1],
                                      NFT (385943645064624828/Buggy)[1], NFT (386239367994305036/Abyss Dweller)[1], NFT (386874252827926057/Abyss Dweller #131)[1], NFT (388680604903436740/Abyss Dweller #46)[1], NFT
                                      (389484685703233149/Abyss Dweller #150)[1], NFT (389986984742343777/Abyss Dweller #184)[1], NFT (390626476851463294/Abyss Dweller #108)[1], NFT (392070819887708781/Abyss Dweller
                                      #61)[1], NFT (393004791790552784/Abyss Dweller #156)[1], NFT (393205860989024302/Abyss Dweller #79)[1], NFT (395212400256062551/Abyss Dweller #112)[1], NFT (398689916704887640/Abyss
                                      Dweller #68)[1], NFT (400245949352037940/DREAM)[1], NFT (402139827586397141/Abyss Dweller #182)[1], NFT (403198435835586068/Abyss Dweller #159)[1], NFT (404374039810790073/Owl
                                      Black and White)[1], NFT (406069263381401593/Abyss Dweller #84)[1], NFT (406214298621670057/Abyss Dweller #135)[1], NFT (406928429764126243/Dope Exchange)[1], NFT
                                      (407745444935316391/Abyss Dweller #87)[1], NFT (408586045950064576/Abyss Dweller #21)[1], NFT (412080241840220084/Abyss Dweller #173)[1], NFT (413411338703454840/Abyss Dweller
                                      #55)[1], NFT (413578433882011507/Abyss Dweller #92)[1], NFT (415005833634654690/Abyss Dweller #145)[1], NFT (415635925761163017/Abyss Dweller #93)[1], NFT (416573106253721083/Mind
                                      Eye)[1], NFT (418990652052412033/Abyss Dweller #126)[1], NFT (419611265178249533/Abyss Dweller #114)[1], NFT (422302016653572444/Abyss Dweller #28)[1], NFT (425339712805743489/Abyss
                                      Dweller #38)[1], NFT (425673618060596365/Kill For Doinks)[1], NFT (426201987634807129/Abyss Dweller #164)[1], NFT (427798020938144735/Abyss Dweller #53)[1], NFT
                                      (429053852138617042/Abyss Dweller #111)[1], NFT (430003908439603184/Abyss Dweller #83)[1], NFT (431430827246385286/Abyss Dweller #4)[1], NFT (432957134344616149/Fear Reptile)[1], NFT
                                      (433103225797430415/Reptile)[1], NFT (433817697606370741/Abyss Dweller #37)[1], NFT (434650590159618841/Abyss Dweller #190)[1], NFT (435482278124985753/Serpent Wizard)[1], NFT
                                      (439511923451527178/Abyss Dweller #171)[1], NFT (441515150890577459/Abyss Dweller #78)[1], NFT (442297945355150060/Meth Hare)[1], NFT (445415732030133615/Abyss Dweller #40)[1], NFT
                                      (447065785181426602/Abyss Dweller #206)[1], NFT (447200424403432520/Abyss Dweller #203)[1], NFT (448624759271101805/Abyss Dweller #31)[1], NFT (451385235008147252/Abyss Dweller
                                      #50)[1], NFT (451833389773247966/Abyss Dweller #180)[1], NFT (454194841547251863/Abyss Dweller #152)[1], NFT (454951067877241895/Abyss Dweller #24)[1], NFT (454964843649228325/Abyss
                                      Dweller #175)[1], NFT (455137917787463206/Abyss Dweller #115)[1], NFT (455323816931111754/Reptile #2)[1], NFT (455604549329752744/Abyss Dweller #188)[1], NFT (455917864164072590/Abyss
                                      Dweller #6)[1], NFT (457201421211846343/Abyss Dweller #166)[1], NFT (457284611076462437/Abyss Dweller #137)[1], NFT (459031153719639825/Abyss Dweller #142)[1], NFT
                                      (460370823104528825/Stoned Spud)[1], NFT (460950611240213375/Abyss Dweller #64)[1], NFT (462928255541953380/Abyss Dweller #121)[1], NFT (463197370665024061/Bird Brain)[1], NFT
                                      (463585792163558764/Limbo)[1], NFT (463797763078236558/Abyss Dweller #62)[1], NFT (466163679689382662/Abyss Dweller #168)[1], NFT (466490838831641923/Abyss Dweller #58)[1], NFT
                                      (467026897908122652/Abyss Dweller #81)[1], NFT (467600578235339384/Abyss Dweller #174)[1], NFT (467721822936589198/Final Plea)[1], NFT (467808268474547667/Abyss Dweller #105)[1], NFT
                                      (468665395439979626/Vivid Illusion)[1], NFT (469166294487393628/Abyss Dweller #185)[1], NFT (469326395208857371/Abyss Dweller #187)[1], NFT (470649716843042301/Abyss Dweller #186)[1],
                                      NFT (470698379721449200/Abyss Dweller #154)[1], NFT (471051367143068437/Abyss Dweller #19)[1], NFT (472575151162548125/Houdini)[1], NFT (473176130754048081/Abyss Dweller #125)[1],
                                      NFT (475530134066116010/The Abyss)[1], NFT (480104277253824655/Abyss Dweller #12)[1], NFT (480705751003222785/Abyss Dweller #27)[1], NFT (481391909813271941/Abyss Dweller #35)[1],
                                      NFT (481768936913367680/Abyss Dweller #59)[1], NFT (482404971761185606/Inject and Obey #2)[1], NFT (483026759629466740/Abyss Dweller #60)[1], NFT (484124899779770651/Abyss Dweller
                                      #169)[1], NFT (486265562410460011/Abyss Dweller #39)[1], NFT (489113901901629663/Abyss Dweller #141)[1], NFT (489827357227730882/Tri Face)[1], NFT (492091826223663430/Fiend)[1], NFT
                                      (495263849769990983/Abyss Dweller #170)[1], NFT (495704280991123553/Abyss Dweller #22)[1], NFT (495910517680994003/Abyss Dweller #91)[1], NFT (496424847255259721/Abyss Dweller
                                      #119)[1], NFT (504596674301281589/Abyss Dweller #98)[1], NFT (508515235371007966/Abyss Dweller #3)[1], NFT (509645864465008993/Abyss Dweller #7)[1], NFT (510768018678082556/Abyss
                                      Dweller #130)[1], NFT (511604705082724482/Abyss Dweller #120)[1], NFT (512849424406769990/Abyss Dweller #140)[1], NFT (517435565620550970/Abyss Dweller #33)[1], NFT
                                      (517850842030167617/Abyss Dweller #167)[1], NFT (519298841195541584/Mad Hatter)[1], NFT (519445301737954029/Abyss Dweller #23)[1], NFT (519578714508633647/Abyss Dweller #17)[1], NFT
07796393                              SOL[0], TRX[0], USD[0.22]

07796394                              BTC[0], USD[0.11]

07796400                              BAT[2], BTC[0], DOGE[1], ETH[.82334548], ETHW[1.03006383], GRT[1], MATIC[0], SHIB[1], SOL[0.00000001], USD[0.00], USDT[1.00235420]

07796403                              BAT[1], DOGE[2], ETH[.00021842], ETHW[.00021842], LINK[.00201987], SOL[.00069484], TRX[4], USD[0.00], USDT[1.01934355]                                                                    Yes

07796407                              BTC[0.00002088], NFT (292565620121625404/FTX - Off The Grid Miami #1030)[1], NFT (553253628763476656/FTX - Off The Grid Miami #676)[1], USD[7.43], USDT[0]

07796410                              USD[548.65]                                                                                                                                                                               Yes

07796412                              ETH[1.20012302], ETHW[1.19961886], LINK[37.17659347], SOL[7.49604218], USD[1.07]                                                                                                          Yes

07796421                              NFT (323590423211756372/Misty Winter #469)[1], NFT (325943256039811458/Ivy #213)[1], NFT (341962366884727453/Ivy #51)[1], NFT (352985339750262679/Fireworks #178)[1], NFT
                                      (378839732134461065/Morning Sun #246)[1], NFT (385196782438434523/Sunset #286)[1], NFT (452975349265150030/Misty Winter #163)[1], NFT (455594711802426697/Misty Winter #256)[1], NFT
                                      (470875660560860483/Starry Night #441)[1], NFT (479204304576226971/Stage Pyro #49)[1], NFT (515283698748019874/Blue Mist #158)[1], NFT (537530359263493047/Laser #147)[1]
07796429                              ETH[.00000001], USD[0.00]

07796431                              USD[1500.00]

07796434                              BAT[1], BRZ[3], BTC[.11135007], CUSDT[6], DOGE[4], ETHW[4.38785711], SHIB[5], SOL[1.54051162], TRX[6], USD[0.16]                                                                          Yes

07796440                              SOL[63.75531005], USD[13.35]

07796443                              USD[4000.00]

07796444                              USD[0.03]

07796457                              USD[0.00]

07796460                              USD[0.31]

07796471                              ETH[0], SOL[0]

07796472                              BTC[.00615267], CUSDT[6], ETH[.37715265], ETHW[.37699441], MATIC[142.84078246], SHIB[4529404.53796986], SOL[2.23160628], USD[37.10]                                                       Yes

07796474                              SUSHI[46], USD[2.03]
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                                                                                                                                            Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07796479                           BAT[34.97293644], CUSDT[5], DOGE[476.1533776], GRT[36.14474458], LINK[5.66398616], MATIC[81.69555733], PAXG[.05810762], SHIB[6343115.78059317], SOL[1.37941715], TRX[1], USD[0.00]   Yes

07796483                           ETH[.03], ETHW[.03], USD[37.48]

07796486                           SOL[.0062], USD[0.00]

07796494                           USD[20.00]

07796499                           BTC[.0096903], DOGE[35], ETH[.133], ETHW[.133], SOL[2.53746], USD[2.56]

07796507                           NFT (423432960089305115/Degen_Collection)[1], SOL[.00315172], USD[0.75], USDT[0.00000156]

07796510                           PAXG[.0000762], SHIB[585288.10985214], USDT[0]

07796511                           USD[0.01]

07796519                           BAT[2.66781485], BRZ[1], CUSDT[90.57419035], DOGE[1795.46657814], MATIC[204.84906092], SHIB[6678104.12064143], TRX[33892.88396465], USD[5.21]                                        Yes

07796524                           BTC[.52787543], ETH[8.36277568], ETHW[6.78635368], SOL[303.989235], USD[3034.87]

07796530                           USD[2.35], USDT[0]

07796531                           MATIC[40], USD[23.32]

07796540                           ETH[.167832], ETHW[.167832], GRT[224.775], LINK[4.995], SHIB[138560.80489938], SOL[1.998], USD[0.00]

07796545                           USD[0.00]

07796547                           BTC[0.00002018], ETH[.000463], ETHW[.000463], TRX[.000096]

07796548                           USD[0.00]

07796556                           USD[0.00]

07796559                           NFT (439446146300608685/Humpty Dumpty #1379)[1], NFT (548042116573666227/Shannon Sharpe's Playbook: Baltimore Ravens vs. Oakland Raiders - January 14, 2001 #60)[1]

07796565                           BAT[2], GRT[2], SHIB[3], TRX[4], USD[0.53], USDT[0.00000955]                                                                                                                         Yes

07796569                           SOL[3.04140712], TRX[1], USD[0.00]                                                                                                                                                   Yes

07796572                           USD[0.01]

07796581                           USD[1.00]

07796584                           USD[10.00]

07796587                           LINK[.0905], USD[7.59]

07796588                           BTC[.02318102], ETH[0], ETHW[0], USD[0.00]

07796591                           USD[0.00]                                                                                                                                                                            Yes

07796594                           USD[0.00]                                                                                                                                                                            Yes

07796596                           DOGE[1], MATIC[265.21255201], USD[106.62]                                                                                                                                            Yes

07796599                           SHIB[2], USD[0.03]                                                                                                                                                                   Yes

07796602                           SHIB[6700000], USD[2.09], USDT[.0037089]

07796608                           LINK[0], SOL[0], USD[0.00], USDT[1.11560006]

07796609                           TRX[0], USDT[0]

07796610                           SHIB[1], USD[0.00]

07796614                           BAT[1], BTC[0.00000031], DOGE[2], SHIB[52.31368251], TRX[2], USD[0.00]                                                                                                               Yes

07796620                           DOGE[21.76844834], USD[5.49]                                                                                                                                                         Yes

07796621                           USD[0.01]                                                                                                                                                                            Yes

07796624                           ETH[.03847903], ETHW[.03800023], SHIB[2], USD[0.00], USDT[0.00000288]                                                                                                                Yes

07796629                           BTC[0.00000071], LTC[0], SOL[.00329548], USD[0.00], USDT[0]

07796633                           USD[0.01]

07796636                           AVAX[0], MATIC[0], NEAR[0], SOL[0], USD[0.00]

07796638                           BTC[.0254745], ETH[.044956], ETHW[.044956], MATIC[9.99], MKR[.001998], SHIB[199700], SOL[.11988], USD[1.26]

07796645                           ETH[.00000001], ETHW[0], SOL[0]

07796646                           CUSDT[1], USD[0.00], USDT[0.01659322]                                                                                                                                                Yes

07796648                           SOL[.0098854], USD[0.00]

07796650                           USD[100.00]

07796651                           CUSDT[2], USD[0.00]

07796656                           USD[0.49]                                                                                                                                                                            Yes

07796662                           ETH[.00000001], NFT (342815517209116358/Shill Punks #1)[1], NFT (410992704831169694/Shill Punks 1-100 #1)[1], USD[4.10]

07796669                           ETH[.34863268], ETHW[.3484864], USD[0.00]                                                                                                                                            Yes

07796674                           TRX[.000001], USDT[.9303619]

07796680                           USD[2.11]

07796692                           USD[0.88]

07796698                           ETH[0], MATIC[0], SOL[0], TRX[0], USD[0.00], USDT[0.00030200]

07796700                           CUSDT[1], SOL[5.07651607]                                                                                                                                                            Yes

07796707                           MATIC[100], SOL[6.04848], USD[1.91]

07796714                           BTC[0.00001765]

07796716                           SOL[.01]

07796719                           BAT[.00008241], BTC[0.00000002], CUSDT[1], ETH[0], GRT[.00001832], MATIC[213.65380802], SOL[0], TRX[1], UNI[0.00000915], USD[0.00], USDT[0]                                          Yes
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                                                                                                                                               Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07796743                              USD[13.11], USDT[70.9029016]

07796744                              ETH[0]

07796751                              USD[0.00]

07796754                              ETH[.04395773], ETHW[.04341053]                                                                                                                                                         Yes

07796758                              ETH[.00061], ETHW[.00061], SOL[.00458], USD[0.00]

07796766                              DOGE[3], GRT[0], MATIC[0], SHIB[16], TRX[2], USD[0.00]                                                                                                                                  Yes

07796774                              AVAX[0], BTC[0], LTC[0], SUSHI[0], USD[0.01]

07796775       Contingent, Disputed   USD[0.00]

07796776                              NFT (537156795929938244/8I-O the Sociable)[1], SOL[18.2743132], USD[3287.02]

07796777                              TRX[2], USD[0.01]                                                                                                                                                                       Yes

07796778                              SOL[.36250069], TRX[2], USD[35.31]                                                                                                                                                      Yes

07796779                              BRZ[1], CUSDT[7], DOGE[6.00038359], SHIB[5], SOL[.00000001], SUSHI[.00036211], TRX[8], USD[0.00], USDT[1.05824465]                                                                      Yes

07796780                              ETH[0]

07796785                              ETH[1.19790649], ETHW[1.19740324], LINK[35.77395027], SOL[1.62105069], UNI[11.91992923]                                                                                                 Yes

07796795                              AAVE[.16541204], BRZ[3], BTC[.01630232], CUSDT[13], DOGE[446.54104376], ETH[.00001259], ETHW[1.37689760], GRT[1], LINK[.00048062], LTC[.53252821], SOL[10.43866422],                    Yes
                                      SUSHI[8.85501608], TRX[510.19335981], UNI[4.712485], USD[0.00]
07796799                              SOL[.37], USD[1.49]

07796811                              BTC[.0015], USD[4.89]

07796819                              USD[0.00]

07796821                              ETH[0], USD[0.00], USDT[0]

07796825                              BF_POINT[400], NFT (305039452163543839/Solana Penguin #1113)[1], NFT (326168706824104557/ApexDucks #6007)[1], NFT (344371075065862340/Solana Penguin #5785)[1], NFT                     Yes
                                      (361841395889653002/Belgium Ticket Stub #304)[1], NFT (365387156142785650/Singapore Ticket Stub #119)[1], NFT (368268223776454777/Sigma Shark #5396)[1], NFT
                                      (388956102512398520/Solana Penguin #5729)[1], NFT (424842916422204429/Bahrain Ticket Stub #1670)[1], NFT (457204926279687991/Solana Penguin #2798)[1], NFT
                                      (466434536703970251/Barcelona Ticket Stub #1258)[1], NFT (479452191451656369/Entrance Voucher #2466)[1], NFT (505998431297749947/Japan Ticket Stub #66)[1], NFT
                                      (514330127479189409/Sigma Shark #813)[1], NFT (515407715632492887/The Hill by FTX #2740)[1], NFT (523226855542047473/Imola Ticket Stub #1689)[1], NFT (527937389542086915/Netherlands
                                      Ticket Stub #58)[1], NFT (542044591420335938/Solana Penguin #2927)[1], SOL[.01180148], USD[0.00], USDT[0]
07796826                              ETH[.00000001], SOL[0], TRX[1]

07796829                              LINK[0], NFT (413004064271977662/MF1 X Artists #43)[1], NFT (526448612636649221/Imola Ticket Stub #1063)[1], SHIB[4], USD[0.01], USDT[0.00000001]                                       Yes

07796830                              USD[23.49]                                                                                                                                                                              Yes

07796834                              USD[0.34]

07796837                              NFT (400280975400166199/Coachella x FTX Weekend 1 #9958)[1]

07796852                              ETH[.00015715], ETHW[.00015715], SOL[129.2271175], USD[4615.38]

07796858                              SOL[28.97845]

07796860                              USD[1.15]

07796861                              BTC[0], ETH[0], LTC[0], MATIC[0], NFT (351038896241730806/Humpty Dumpty #339)[1], NFT (366269153360353076/Birthday Cake #1995)[1], NFT (478953528619337795/The 2974 Collection
                                      #1995)[1], NFT (548020728068187016/Exclusive 2974 Collection Merchandise Package #5163 (Redeemed))[1], SOL[0], USD[0.00]
07796864                              BTC[0], ETH[0], SOL[0], TRX[46], USD[0.85], USDT[.80826612]

07796871                              NFT (377308961231000669/FTX #1)[1], NFT (487127384379715271/HANABI #1)[1], NFT (523428324132812440/GESHI #1)[1], USD[107.80]

07796875                              USD[0.00]

07796876                              DOGE[22061.37537142], SHIB[2], TRX[1], USDT[0.01410730]                                                                                                                                 Yes

07796879                              SOL[31.599563], USD[21.52]

07796884                              BTC[0.00009800], SOL[.007321], USD[695.71], USDT[0.85529855]

07796885                              ETH[0], SOL[.00000001], USD[0.00], USDT[.0056144]

07796886                              DOGE[.00001865], USD[0.00], USDT[0]

07796888                              USD[0.00]

07796901                              USD[0.70]

07796906                              BTC[0], NFT (386301639245365277/Star Atlas VZUS ambwe #2)[1], NFT (454270855981954281/Star Atlas VZUS ambwe)[1], USD[0.01]

07796918                              SOL[6.87692183]                                                                                                                                                                         Yes

07796919                              USD[0.81], USDT[0.00000001]

07796923                              SOL[.00651656], USD[6.82]

07796929                              ETH[0], SOL[0], USD[1.43]

07796938                              USD[25644.70], USDT[0.00000001]

07796939                              NFT (312630019590798106/Coachella x FTX Weekend 1 #4337)[1], NFT (374401405645852981/Coachella x FTX Weekend 2 #30252)[1]                                                               Yes

07796940                              CUSDT[1], SOL[0], TRX[1], USD[0.00]                                                                                                                                                     Yes

07796944                              USD[0.00]

07796946                              DOGE[.956], SOL[3.15097], USD[1.35]

07796949                              USDT[0.00058339]

07796956                              SOL[0], USD[0.56]

07796957                              USD[1.08]

07796958                              ETH[10], ETHW[81.7964518]

07796964                              SOL[.0094], USD[2.89]

07796967                              ETHW[1.16], NFT (430499121264245901/Wombats in Disguise #58)[1], NFT (507189432477406096/🌈🦖Pawzilla +UniJag)[1], NFT (507902695628339420/Romeo #237)[1], NFT
                                      (573959081402484919/Humpty Dumpty #224)[1], SOL[0], USD[0.00]
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                                                                                                                                               Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07796969                              MATIC[539.025], NFT (452497906016052691/Australia Ticket Stub #711)[1], USD[1.00]

07796977                              ETH[0], MATIC[0], SOL[0], USD[0.00], USDT[0]

07796980                              USD[0.77]

07796984                              ETH[.000627], ETHW[.000627], MATIC[7.02], NFT (575509577666156680/@SBF_FTX Legendary $SOL Tweet #1)[1], SOL[.7625], USD[0.00]

07796987                              SOL[1.104]

07796989                              NFT (452651042962813472/Entrance Voucher #3065)[1], USD[0.00]                                                                                                                               Yes

07796993                              ETH[.11], ETHW[.11], USD[3.37]

07796996                              USD[0.77]

07796998                              ALGO[0.00346482], GRT[.0066816], SHIB[6], TRX[1], USD[0.00]                                                                                                                                 Yes

07796999                              USD[0.00]

07797001                              BRZ[2], BTC[.01346486], CUSDT[17], DOGE[2], ETH[.227742], ETHW[.22754024], LINK[61.4308908], MATIC[589.27551940], SOL[4.93166534], TRX[3], UNI[61.38939763], USD[0.00], YFI[.00000004]      Yes

07797004                              BRZ[1], BTC[0.00088324], CUSDT[1], USD[0.01]                                                                                                                                                Yes

07797008                              USD[0.00], USDT[0]

07797010                              NFT (397819970041669973/cave_001 #1)[1], USD[0.00]

07797011                              MATIC[14.86213435], NFT (456305282289449779/Golden bone pass)[1], USD[0.00]

07797033                              NFT (478862343396554742/Coachella x FTX Weekend 2 #23469)[1]

07797034                              USD[0.00], USDT[0.00000001]                                                                                                                                                                 Yes

07797035                              USD[4.22]

07797036                              USD[0.33]

07797049                              NFT (326238673412754686/FTX - Off The Grid Miami #1397)[1]

07797056                              TRX[.517], USD[0.01]

07797061                              USD[1.89]

07797062                              SOL[2.79685394], USD[0.01]

07797070                              USD[1.80]                                                                                                                                                                                   Yes

07797082                              USD[0.68]

07797102                              DOGE[1], SOL[.00002519], TRX[1], USD[0.00]                                                                                                                                                  Yes

07797112                              BTC[0.00005001], USD[0.00]

07797114                              DOGE[1], SOL[.00007141], TRX[1], USD[0.00], USDT[0.00000022]                                                                                                                                Yes

07797121                              USD[0.00], USDT[0]

07797123                              SOL[.00000001], USD[508.78]

07797127                              USD[1.00], USDT[0]

07797144                              BRZ[1], DOGE[1], TRX[3], USD[666.28], USDT[0.00006936]

07797149                              USD[0.00], USDT[0]

07797154                              BTC[.0034965], SOL[.57942], USD[3.72]

07797155                              ETH[0], LINK[0], SOL[0.00021222], USD[0.00]

07797156                              NFT (512421061068287452/Romeo #2536)[1]

07797164                              NFT (322726660566283965/Coachella x FTX Weekend 1 #21555)[1]

07797179                              DOGE[1], ETH[.13888512], ETHW[.13786037], USD[0.00]                                                                                                                                         Yes

07797182                              USD[3.55]

07797187                              NFT (338419157807659432/Coachella x FTX Weekend 2 #4265)[1], SOL[0]

07797188                              GRT[0], SOL[0], USD[0.18], USDT[0.00000001]

07797202                              USD[407.99]                                                                                                                                                                                 Yes

07797218                              BAT[1.01655549], BRZ[1], BTC[0], DOGE[2], GRT[1.00367791], SOL[0], USD[0.00]                                                                                                                Yes

07797220                              BTC[.00000002], ETHW[33.24289069], MATIC[36.76808829], SHIB[2348959.78042864], TRX[2], USD[1000.00]                                                                                         Yes

07797229       Contingent, Disputed   BTC[.00000027], ETH[.00000002], ETHW[0.00005801], MATIC[.00184357], SOL[.00070515], USD[0.06], USDT[0]                                                                                      Yes

07797234                              SHIB[1], USD[0.00], USDT[0]                                                                                                                                                                 Yes

07797235                              CUSDT[8], DOGE[20.08717265], NFT (305556858197778339/unko #3)[1], NFT (368299611689506591/unko #8)[1], NFT (401628052428210669/Shannon Sharpe's Playbook: Baltimore Ravens vs.              Yes
                                      Oakland Raiders - January 14, 2001 #46)[1], NFT (476526884299255115/Cones #2)[1], TRX[1], USD[0.00]
07797252                              BAT[2.04426146], DOGE[1], LINK[1.06385098], SUSHI[1.06355602], TRX[1], USD[0.00], USDT[0]                                                                                                   Yes

07797263                              CUSDT[4], NFT (291888142375161950/Tim Brown's Playbook: Michigan State vs. Notre Dame - September 19, 1987 #36)[1], NFT (344923626215917370/Tim Brown's Playbook: New York Jets vs.
                                      Oakland Raiders - December 2, 2002 #39)[1], NFT (379698278630753105/Tim Brown's Playbook: Michigan State vs. Notre Dame - September 19, 1987 #46)[1], NFT (406281202257243885/Tim Brown's
                                      Playbook: San Diego Chargers vs. Los Angeles Raiders - September 4, 1988 #43)[1], NFT (441745638081705827/Tim Brown's Playbook: Kansas City Chiefs vs. Oakland Raiders - December 9, 2001
                                      #35)[1], NFT (480415409483192755/Tim Brown's Playbook: Michigan State vs. Notre Dame - September 19, 1987 #33)[1], NFT (490573576551518437/Tim Brown's Playbook: New York Jets vs.
                                      Oakland Raiders - December 2, 2002 #44)[1], USD[3.25], USDT[0]
07797264                              USD[0.00]

07797272                              USD[0.00]

07797277                              USD[0.00]

07797289                              USD[0.00]

07797290                              AVAX[0], BTC[0], NEAR[.0002936], SHIB[1], USD[0.01]                                                                                                                                         Yes

07797299                              USD[0.00]

07797303                              NFT (349684603066297146/The 2974 Collection #0075)[1], NFT (390378098287309367/Birthday Cake #2760)[1], NFT (395625633252025501/The 2974 Collection #2760)[1], USD[587.94]                  Yes
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                                                                                                                                            Customer Claims                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07797306                           BTC[0.00016023], ETH[0.00000001], SOL[0], USD[0.00]

07797311                           USD[0.00]

07797319                           DOGE[135.49770556], ETH[.01290549], ETHW[.01274133], SHIB[1], SOL[.51554626], TRX[1], USD[0.00]                                                                                 Yes

07797321                           ETHW[.71564431], USD[124.12]                                                                                                                                                    Yes

07797336                           USD[1.91]

07797339                           NFT (535419586201666614/Warriors 75th Anniversary Icon Edition Diamond #2002)[1]

07797340                           USD[0.00], USDT[0]

07797341                           NFT (359586311005535077/Eyes wide Shut #1)[1], USD[1.00]

07797342                           USD[1.10]

07797355                           CUSDT[2], TRX[1], USD[0.00]                                                                                                                                                     Yes

07797356                           BAT[1.0165555], CUSDT[8], DOGE[1], SOL[0], SUSHI[0], TRX[6], USD[0.01]                                                                                                          Yes

07797360                           SOL[0], USD[18.41]

07797374                           ETH[.00001986], ETHW[.00001986]                                                                                                                                                 Yes

07797376                           DOGE[0], SOL[0], USD[0.00]

07797380                           BTC[0], SOL[0], USD[0.00]

07797382                           BTC[0.03011057], ETH[.17930305], ETHW[.17930305], SOL[2.31512248], USD[205.39]

07797395                           USD[0.00]

07797403                           BTC[.00000204], ETHW[.01169141], SHIB[3], USD[0.63]                                                                                                                             Yes

07797410                           DOGE[1], SOL[0]

07797425                           USDT[3.15851241]

07797429                           DOGE[1], USD[0.00], USDT[0]

07797432                           BTC[0], ETH[0.00000001], ETHW[0], SOL[0], USD[0.00]

07797440                           LTC[0], USD[0.00]

07797463                           NFT (556320595589433197/1)[1], USD[0.00]

07797464                           CUSDT[1], DOGE[2], SHIB[4348031.52380398], SOL[11.08203599], TRX[1], USD[0.01]                                                                                                  Yes

07797479                           BF_POINT[600], ETH[0], SOL[0], USD[0.00], USDT[0.00000001]

07797482                           ALGO[0], SOL[0], USD[0.00]

07797486                           SOL[.00424], USD[0.11]

07797491                           NFT (344020584595467442/Vintage Sahara #12)[1], NFT (562590628365047308/Reflection '11 #49)[1], SOL[6.03752551], USD[0.00]

07797493                           AAVE[.01979], USD[0.36], USDT[2.25336633]

07797494                           NFT (352676052953260670/Sting)[1], NFT (368716668603399968/Persephone)[1], USD[13.50], USDT[0]

07797508                           ETH[0], ETHW[0], SOL[0.00436892]

07797513                           CUSDT[1], ETH[0.00007212], ETHW[0.00006762], GRT[2.0238153], SHIB[1], SOL[36.73325961], TRX[2], USD[124.30]                                                                     Yes

07797519                           MATIC[0], USD[0.00], USDT[0.00000001]

07797520                           ETH[0.00000001], ETHW[0.00000001]

07797552                           CUSDT[4], DOGE[2], ETH[.00000061], ETHW[.00000061], SOL[0], TRX[3], USD[0.00], USDT[1.08650665]                                                                                 Yes

07797555                           ETHW[.071928], USD[0.00]

07797565                           USD[221.45]

07797568                           ETHW[60.09088355], NFT (305158993859732916/Saudi Arabia Ticket Stub #1117)[1], NFT (324554313697202540/Humpty Dumpty #107)[1], SOL[.98010423], TRX[.000004], USDT[9.88459061]   Yes

07797569                           NFT (428833088976827996/FTX - Off The Grid Miami #4817)[1], USD[1.74]

07797574                           NFT (291908713018315491/Doctor Snow Leopard(Earth))[1], NFT (319320719723202839/Butcher Snow leopard (Earth))[1], NFT (391114193954891610/Mafia Snow Leopard(Earth))[1], NFT
                                   (423043314592553712/Farmer Snow Leopard(Earth))[1], NFT (480608230682401890/Teacher Snow Leopard(Earth))[1], NFT (516354484779309059/Magician Snow Leopard(Earth))[1], NFT
                                   (530358914394366709/Floor man Snow Leopard(Earth))[1], NFT (542306310009660400/Cook Snow Leopard(Earth))[1], SOL[.00200025]
07797580                           NFT (524092730853613594/Entrance Voucher #2478)[1], USD[1.62]
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                                                                                                                                               Customer Claims                                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07797593                              NFT (294781857261657060/Solanic Synesthesia #29)[1], NFT (301326462272042124/Aural Light Collection on Solana #31)[1], NFT (303642555438833480/Aural Light Collection on Solana #58)[1],
                                      NFT (303710794986082157/Aural Light Collection on Solana #15)[1], NFT (303856764648341173/Aural Light Collection on Solana #8)[1], NFT (312025403818376457/Aural Light Collection on Solana
                                      #43)[1], NFT (317927459313391799/Solanic Synesthesia #24)[1], NFT (322585434123891541/Solanic Synesthesia #18)[1], NFT (322920433552151588/Aural Light Collection on Solana #3)[1], NFT
                                      (328117135239314879/Solanic Synesthesia #35)[1], NFT (333023399025373785/Solanic Synesthesia #3)[1], NFT (334523250561548324/Aural Light Collection on Solana #14)[1], NFT
                                      (335736391941902114/Aural Light Collection on Solana #11)[1], NFT (335886185089500731/Aural Light Collection on Solana #65)[1], NFT (338457717351150573/Solanic Synesthesia #36)[1], NFT
                                      (339323487848091270/Aural Light Collection on Solana #59)[1], NFT (342016169517896096/Aural Light Collection on Solana #34)[1], NFT (343806334188833922/Aural Light Collection on Solana
                                      #52)[1], NFT (347684628505227888/Solanic Synesthesia #13)[1], NFT (367230297345197669/Solanic Synesthesia #16)[1], NFT (367536413357542935/Solanic Synesthesia #38)[1], NFT
                                      (371477311556042179/Aural Light Collection on Solana #50)[1], NFT (373062713748320758/Solanic Synesthesia #37)[1], NFT (376346563768308484/Aural Light Collection on Solana #28)[1], NFT
                                      (385511728636235168/Solanic Synesthesia #14)[1], NFT (386997025654593350/Aural Light Collection on Solana #33)[1], NFT (388455394645779377/Solanic Synesthesia #2)[1], NFT
                                      (397808004946512784/Aural Light Collection on Solana #45)[1], NFT (403401753793324182/Aural Light Collection on Solana #21)[1], NFT (407351815972690184/Solanic Synesthesia #7)[1], NFT
                                      (407654656987663871/Aural Light Collection on Solana #29)[1], NFT (410706845392060719/Aural Light Collection on Solana #48)[1], NFT (415848118791078096/Aural Light Collection on Solana
                                      #56)[1], NFT (416489777382702426/Aural Light Collection on Solana #7)[1], NFT (421716543521981440/Solanic Synesthesia #17)[1], NFT (424221305572762405/Aural Light Collection on Solana
                                      #10)[1], NFT (426870665660960801/Solanic Synesthesia #22)[1], NFT (428864226764192761/Aural Light Collection on Solana #26)[1], NFT (433219707016290436/Solanic Synesthesia #30)[1], NFT
                                      (433627850099691054/Solanic Synesthesia #31)[1], NFT (436785779294100583/Aural Light Collection on Solana #38)[1], NFT (439125680149758895/Aural Light Collection on Solana #30)[1], NFT
                                      (443399036588492023/Aural Light Collection on Solana #49)[1], NFT (450784942381792255/Solanic Synesthesia #5)[1], NFT (451667267152655645/Solanic Synesthesia #19)[1], NFT
                                      (453591724134663231/Aural Light Collection on Solana #44)[1], NFT (457504310667386922/Aural Light Collection on Solana #62)[1], NFT (465094242642470368/Aural Light Collection on Solana
                                      #60)[1], NFT (468776637724036822/Aural Light Collection on Solana #57)[1], NFT (478624822336571275/Aural Light Collection on Solana #53)[1], NFT (481383449245478269/Aural Light Collection on
                                      Solana #63)[1], NFT (483655442390359207/Aural Light Collection on Solana #6)[1], NFT (483918549566559297/Aural Light Collection on Solana #42)[1], NFT (485723706580437434/Solanic
                                      Synesthesia #20)[1], NFT (486391811488808511/Aural Light Collection on Solana #22)[1], NFT (487600311348950567/Aural Light Collection on Solana #37)[1], NFT (488564728455779779/Solanic
                                      Synesthesia #33)[1], NFT (488813682677765302/Solanic Synesthesia #12)[1], NFT (490907391907187990/Solanic Synesthesia #39)[1], NFT (491136187719820262/Solanic Synesthesia #25)[1], NFT
                                      (491837790670017838/Aural Light Collection on Solana #41)[1], NFT (492848714596869142/Aural Light Collection on Solana #25)[1], NFT (492918111619730121/Aural Light Collection on Solana
                                      #23)[1], NFT (495274320283876857/Aural Light Collection on Solana #24)[1], NFT (495410753571829077/Solanic Synesthesia #32)[1], NFT (500686719236764371/Aural Light Collection on Solana
                                      #51)[1], NFT (506178876995822276/Solanic Synesthesia #34)[1], NFT (507657831669404413/Aural Light Collection on Solana #54)[1], NFT (512693928231431996/Aural Light Collection on Solana
                                      #32)[1], NFT (514091067164371734/Solanic Synesthesia #4)[1], NFT (518219802250825943/Aural Light Collection on Solana #64)[1], NFT (519061638439899438/Aural Light Collection on Solana
                                      #13)[1], NFT (525016765087121706/Aural Light Collection on Solana #12)[1], NFT (526630659290660997/Solanic Synesthesia #8)[1], NFT (533148523845430770/Aural Light Collection on Solana
                                      #39)[1], NFT (533489594459926438/Aural Light Collection on Solana #40)[1], NFT (539964484846175097/Rubber Duckie #0042)[1], NFT (540385039703154484/Aural Light Collection on Solana
                                      #66)[1], NFT (542346232320282289/Aural Light Collection on Solana #35)[1], NFT (544245945105289062/Solanic Synesthesia #15)[1], NFT (555163069893917005/Solanic Synesthesia #27)[1], NFT
                                      (556080553819446182/Aural Light Collection on Solana #36)[1], NFT (556941674168994698/Aural Light Collection on Solana #46)[1], NFT (561278453539473528/Solanic Synesthesia #9)[1], NFT
                                      (563178388246394910/Aural Light Collection on Solana #47)[1], NFT (568619624888421617/Aural Light Collection on Solana #16)[1], NFT (569669871345055254/Solanic Synesthesia #21)[1], NFT
                                      (570583864773792100/Aural Light Collection on Solana #61)[1], NFT (570691209941448984/Aural Light Collection on Solana #27)[1], NFT (570715082354470622/Aural Light Collection on Solana
                                      #9)[1], NFT (571769615076969330/Aural Light Collection on Solana #55)[1], NFT (572080871264457309/Solanic Synesthesia #23)[1], NFT (574247311810139234/Solanic Synesthesia #26)[1],
                                      USD[0.00], USDT[0]

07797594                              CUSDT[1], DOGE[1], GRT[1.00367791], SOL[9.37747552], USD[0.01]                                                                                                                                   Yes

07797596                              SOL[58.72439222], TRX[1], USD[0.00]                                                                                                                                                              Yes

07797597                              ETHW[.205501], USD[3.23]

07797598                              BTC[.0225774], USD[4.47]

07797599                              NFT (409610956572670199/Wiener #1596)[1], NFT (521954477796640826/SolBunnies #1419)[1], SOL[2.997], USD[4.62]

07797602                              BTC[0], MATIC[9.7625], SOL[.00829], USD[12.05]

07797632                              USD[0.78]

07797635                              CUSDT[6], DAI[0], DOGE[3], ETH[0], GRT[1], MATIC[0], SHIB[5], SOL[0], TRX[5], USD[0.00]

07797638                              BRZ[1], BTC[0.00000050], MATIC[0], SHIB[1], TRX[1], USD[0.00]                                                                                                                                    Yes

07797652                              LTC[0], MATIC[0], TRX[0], USD[0.00]

07797658                              USD[8.01]

07797688                              SOL[6.53641123], TRX[501.93275656]                                                                                                                                                               Yes

07797703                              NFT (325388209559060919/Pillow #1)[1], SOL[.02], USD[0.39]

07797713                              NFT (412169092182387006/Sol Lion #3394)[1]

07797720                              TRX[187.8214], USD[8.75]

07797750                              TRX[.000001], USDT[1.3971492]

07797763       Contingent, Disputed   USD[1.01]

07797778                              NFT (300722309342412479/FTX NFT MARKETPLACE CELEBRATION #1)[1], NFT (470182883087089587/FTX NFT MARKETPLACE CELEBRATION #2)[1], USD[1.94], USDT[0]

07797779                              BAT[1], BRZ[2], BTC[0.00201742], CUSDT[18], DOGE[3], SHIB[5], SOL[3.03343336], TRX[3], USD[1.91], USDT[0.00000014]                                                                               Yes

07797782                              BRZ[2], CUSDT[8], DOGE[2], ETH[.00000001], ETHW[0], SHIB[3], SOL[.00003671], TRX[6], USD[0.00], USDT[0]                                                                                          Yes

07797785                              SOL[0], USD[0.01], USDT[0.00055789]

07797789                              SHIB[14.75501115], USD[0.01], USDT[0]                                                                                                                                                            Yes

07797812                              USD[0.29]

07797814                              AVAX[0], ETH[.00000073], ETHW[0.00000072], SHIB[1], USD[0.00], USDT[0.00000002]                                                                                                                  Yes

07797835                              USD[0.00], USDT[0.00006985]

07797852                              USD[0.00]

07797855                              BAT[1.00792147], CUSDT[4], DOGE[6], SOL[.00014263], TRX[1], USD[0.00]                                                                                                                            Yes

07797859                              ETH[.0008859], ETHW[.0008859], USD[0.06]

07797882                              BRZ[1], CUSDT[3], DOGE[2], LTC[0], SOL[1.06063251], TRX[2], USDT[0.00026823]                                                                                                                     Yes

07797886                              USDT[0.00000113]

07797887                              USD[272.85]

07797918                              BTC[.00083782], SHIB[15.50366666], TRX[1], USD[0.00]                                                                                                                                             Yes

07797949                              SOL[0], TRX[188.9099]

07797953                              MATIC[2120], USD[5.33]

07797978                              BAT[15.69012647], USD[0.00]                                                                                                                                                                      Yes

07797980                              NFT (313901650752973188/Founding Fathers #2)[1], NFT (328473879963292954/Fupa Libre #2)[1], NFT (364643944091254142/Thiccquadius Taint)[1], NFT (400768465531718712/Darty Ghiasi's First
                                      Pizza Pop Up #2)[1], NFT (419950030408479908/Tatiana Labode)[1], NFT (449273159561347578/Mr. Goop #2)[1], NFT (521437790485232508/Darty Ghiasi's First Pizza Pop Up #3)[1], NFT
                                      (552698922514407784/Tits McGee #2)[1], NFT (573758267630592333/Gibraltar Hazlem)[1], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07797983                           DOGE[1], GRT[1.0000176], NFT (339597975657982022/Australia Ticket Stub #2118)[1], TRX[1], USD[0.00]                                                                                         Yes

07797984                           SOL[.00000001]

07797996                           ETH[.020974], ETHW[.020974], NFT (371493919112344508/Blurred Pixels)[1], USD[9.23]

07798007                           BRZ[1], TRX[2], USD[0.00], USDT[1]

07798018                           USDT[0]

07798021                           USD[0.48]

07798024                           NFT (527720238759651169/1761)[1]

07798042                           BTC[.00001253], CUSDT[1], DOGE[2], ETH[.15335945], ETHW[1.2087456], MATIC[61.62844685], SHIB[1], SOL[1.34395857], USD[5.56]                                                                 Yes

07798060                           AAVE[0], CUSDT[2], USD[0.00]                                                                                                                                                                Yes

07798066                           USD[0.01]                                                                                                                                                                                   Yes

07798069                           USD[0.00], USDT[0.00000117]

07798074                           NFT (354058889305879391/Dracula #1)[1], TRX[.000001], USD[13.88], USDT[0.00000001]

07798081                           BTC[.00000009], CUSDT[3], TRX[274.17180374], USD[0.01]                                                                                                                                      Yes

07798092                           BAT[169.83], BTC[.475559], ETH[3.599462], ETHW[3.599462], SUSHI[.5], USD[5.43]

07798094                           BF_POINT[300], CUSDT[3], ETH[0], SOL[0], USD[12.50], USDT[0]

07798107                           ETH[0.00000001], ETHW[0], SOL[0], USD[1.27]

07798118                           USD[0.41]

07798120                           USD[0.01]                                                                                                                                                                                   Yes

07798126                           BAT[1], BRZ[1], CUSDT[5], DOGE[2], GRT[1], MATIC[.00020957], USD[0.00]

07798127                           BF_POINT[300], USD[0.01]                                                                                                                                                                    Yes

07798131                           BTC[.0069072], ETH[.063282], ETHW[.063282], NFT (325258213591451320/Entrance Voucher #3503)[1], USD[0.80]

07798133                           BRZ[1], CUSDT[10], DOGE[5], ETHW[.25846645], SHIB[1], TRX[1], USD[0.00]                                                                                                                     Yes

07798134                           SOL[0.00000511]

07798135                           NFT (345594452100297999/Entrance Voucher #24988)[1]

07798142                           BTC[.00146016], NFT (556547367289048300/homage1)[1], NFT (558941596033345021/homage3 #1)[1], USD[5.38]

07798144                           BTC[.01], GRT[25], LINK[.45], SOL[1], USD[375.15]

07798145                           USD[2.38]

07798151                           BTC[.00000003], DOGE[1], SOL[5.5274698], TRX[1], USD[0.00]                                                                                                                                  Yes

07798155                           SOL[.00039], USD[2321.48]

07798159                           BTC[.00235048], CUSDT[7], DOGE[129.67571996], SOL[.54175735], USD[55.06]                                                                                                                    Yes

07798161                           NFT (399918831794513201/Steampunk Skeleton #1)[1], USD[0.88], USDT[0]

07798168                           SOL[.00005883], TRX[.000001], USDT[0]

07798176                           CUSDT[4], DOGE[2], ETHW[3.76447856], LINK[62.95196216], SHIB[1], TRX[2], USD[0.01], USDT[1.07623745]                                                                                        Yes

07798192                           BCH[.03385649], BTC[.00050128], CUSDT[4], DOGE[45.35120546], ETH[.00366068], ETHW[.00361964], LTC[.29010825], USD[0.57]                                                                     Yes

07798194                           NFT (327980134593466484/Romeo #13352)[1], NFT (473075783395091405/Austria Ticket Stub #235)[1], NFT (502980526679562525/FTX Crypto Cup 2022 Key #99)[1], SOL[.0005], USDT[2]

07798200                           USD[0.00], USDT[0.00000083]

07798210                           ETH[.00029413], ETHW[0.00029412], USDT[0]

07798213                           SOL[.01000367], TRX[1], USD[310.09]                                                                                                                                                         Yes

07798214                           TRX[.000002], USDT[0.00000147]

07798218                           NFT (419699254477331936/CVG TW DarknessMonster #1)[1], USD[0.00], USDT[0]

07798225                           SOL[0], USD[0.00]

07798238                           NFT (414687770027871013/Miami Ticket Stub #800)[1]

07798244                           SOL[.00000001], USD[0.00]

07798252                           SOL[.00000048]

07798283                           NFT (406097720732573634/Bahrain Ticket Stub #936)[1]

07798284                           BTC[.00176358], SOL[1.05], USD[0.50]

07798285                           SOL[0.96551364], USD[0.00], USDT[0.00000039]

07798308                           ETH[.00063269], ETHW[.00063269], SOL[0.00000019]

07798310                           ETH[.00000001], ETHW[0], NFT (434697531601213948/Daily Grit #2)[1], NFT (443087992454774855/Daily Grit)[1], NFT (484029122503596642/Daily Grit #4)[1], NFT (488050370879590945/Daily Grit
                                   #5)[1], USD[3.50], USDT[0]
07798318                           SOL[41.61167476], USD[4.64]

07798334                           AVAX[0], BTC[0.01926654], ETH[0.00005999], ETHW[0.00005999], LINK[0], LTC[0], MATIC[0], SOL[0], USD[1.38], WBTC[0]
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                                                                                                                                            Customer Claims                                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07798337                              ETH[0], NFT (291266851718303561/Skulls Only Luxurious 019 (SOL))[1], NFT (294724600686130411/Saying #0016)[1], NFT (297182416645966744/Female Studies 03)[1], NFT
                                      (305475843327464579/Skulls Only Luxurious 022 (SOL))[1], NFT (305665600297436000/Sprout From The Depths)[1], NFT (306721165221108474/Golden Gift Box 0009)[1], NFT
                                      (316263482325906447/Skulls Only Luxurious 016 (SOL))[1], NFT (318542475240345038/Our World #019)[1], NFT (319363254627403234/Our World #034)[1], NFT (320163405222745380/Aerial
                                      Clash)[1], NFT (328469565051269163/Skulls Only Luxurious 008(SOL))[1], NFT (330342969586444855/Saying #0012)[1], NFT (337116650874022837/Saying #0013)[1], NFT
                                      (337278841451892298/Skulls Only Luxurious 011(SOL))[1], NFT (339430272343655756/Skulls Only Luxurious 021 (SOL))[1], NFT (340030452044851919/Skulls Only Luxurious 028 (SOL))[1], NFT
                                      (342734008343220864/Our World #035)[1], NFT (345560052956286819/Our World #046)[1], NFT (347747824583239643/Golden Gift Box 0006)[1], NFT (347768903096393349/Skulls Only Luxurious
                                      010(SOL))[1], NFT (348760047072777433/Skulls Only Luxurious 024 (SOL))[1], NFT (355393201020021123/Our World #037)[1], NFT (359428672264151797/Our World #024)[1], NFT
                                      (360295627147664313/Saying #0005)[1], NFT (361428132025910518/Saying #0017)[1], NFT (365183698503195729/Our World #030)[1], NFT (366383984927260046/Saying #0018)[1], NFT
                                      (375021227886606643/Skulls Only Luxurious 020 (SOL))[1], NFT (376484627046927829/Skulls Only Luxurious 013)[1], NFT (381551969865420354/Saying #0010)[1], NFT (381659961040705676/Our
                                      World #044)[1], NFT (381831859641649962/Our World # 017)[1], NFT (385257868117385815/Animated Tupac, Westside w/ Blue Bandana)[1], NFT (394160394768038775/Saying #0006)[1], NFT
                                      (400347446478997431/Skulls Only Luxurious 006(SOL))[1], NFT (401575924328905267/Skulls Only Luxurious 002(SOL))[1], NFT (402071986390503571/Saying #0004)[1], NFT
                                      (402484315265937253/Our World #048)[1], NFT (406062013250200493/Skulls Only Luxurious 007(SOL))[1], NFT (408520611224489862/Skulls Only Luxurious 009(SOL))[1], NFT
                                      (410526631304435384/Skulls Only Luxurious 018 (SOL))[1], NFT (412705322365164304/Our World #041)[1], NFT (417886684691051577/Our World #029)[1], NFT (421196233386379372/Saying
                                      #0011)[1], NFT (425177045342292281/UNRIVALED Fight Scene)[1], NFT (425670992560304218/Our World #014)[1], NFT (428428671392698233/Skulls Only Luxurious 004(SOL))[1], NFT
                                      (431705373967463118/Skulls Only Luxurious 005(SOL))[1], NFT (435019895484076375/Our World #033 #2)[1], NFT (438670045561092185/Golden Gift Box 0001)[1], NFT (443169522427190754/Our
                                      World #021)[1], NFT (445763422357706193/Skulls Only Luxurious 027 (SOL))[1], NFT (448620310098463646/Skulls Only Luxurious 017 (SOL))[1], NFT (458031195257919274/Our World #039)[1], NFT
                                      (461235123846439580/Skulls Only Luxurious 025 (SOL))[1], NFT (461755277464151286/Animated Steve Jobs, smirk)[1], NFT (467384079140431703/Saying #0015)[1], NFT (470576016806308158/Our
                                      World #036 #2)[1], NFT (474372717390327592/Saying #0001)[1], NFT (475888225672418299/Our World #0027)[1], NFT (479297068466120684/Our World #028)[1], NFT (481275095183060599/Our
                                      World #049)[1], NFT (483076953269655290/Our World #045)[1], NFT (485204173667698503/Our World #023)[1], NFT (493614553055920683/Golden Gift Box 0005)[1], NFT
                                      (506031272159901194/Our World #033)[1], NFT (510206604654608182/Golden Gift Box 0003)[1], NFT (510642529931696871/Saying #0014)[1], NFT (512180713730722510/Our World #0026)[1], NFT
                                      (513651620994820714/Skulls Only Luxurious 026 (SOL))[1], NFT (519056645023326762/Golden Gift Box 0004)[1], NFT (524200240706555334/Saying #0002)[1], NFT (525568608673556401/Our
                                      World #050)[1], NFT (526019519153372335/Saying #0007)[1], NFT (527470685263959633/Golden Gift Box 0002)[1], NFT (532074783678860241/Skulls Only Luxurious 003(SOL))[1], NFT
                                      (534645459826984565/Female Studies 04)[1], NFT (539603234585110363/Golden Gift Box 0008)[1], NFT (556506583947253699/Skulls Only Luxurious 023 (SOL))[1], NFT (557675223893722106/Our
                                      World #012)[1], NFT (557715010834953434/Our World #036)[1], NFT (558802975950155952/Original Paintings)[1], NFT (561699874790655393/Golden Gift Box 0007)[1], NFT
                                      (565628889759661700/Are We Evolving Or Dying?)[1], NFT (566038938170788207/Our World #040)[1], NFT (567434547227373461/Our World #032)[1], NFT (568200232500237266/Our World
                                      015)[1], NFT (574053521302940179/Saying #0009)[1], NFT (574585192438483713/Our World #043)[1], SOL[.0198], USD[0.00]

07798341                              USD[0.00]

07798348                              USD[0.00], USDT[0]

07798358                              SOL[0], USDT[0.00000017]

07798366                              USD[0.00], USDT[0]

07798381                              USD[7.82]

07798382                              USD[0.00]

07798387                              USD[4.27], USDT[7.6856]

07798410                              NFT (319206279485386482/Kaleidoscope #1)[1], NFT (325030166776449132/The Edge of Urban Life)[1], NFT (342115867452173198/The Pattern of History)[1], NFT (432383292417629703/The Reality
                                      of the #1)[1], USD[13.79]
07798420                              SOL[8.5963425], USD[21.38]

07798422                              CUSDT[3], DOGE[1], SOL[0], USD[0.00]                                                                                                                                                        Yes

07798426                              ETH[.594], ETHW[.594], KSHIB[70.3195], SHIB[100000], SOL[90.549085], USD[19.19]

07798428                              BTC[.00002681], SOL[0], USD[1.11]

07798433                              BRZ[1], CUSDT[5], TRX[1], USD[88.16]                                                                                                                                                        Yes

07798435                              BTC[.47532056], USD[0.00]

07798436                              USD[1.45]

07798443                              USD[1500.00]

07798450       Contingent, Disputed   USDT[0.50000145]

07798452                              USD[0.31]

07798454                              NFT (302449016852959497/JimmyPunk #0001)[1]

07798455                              SOL[0]

07798458                              MATIC[0]

07798460                              ETHW[1.074924], USD[0.00], USDT[0]

07798473                              ETH[0]

07798475                              ETHW[1.01511339]

07798476                              CUSDT[4], DOGE[2], TRX[1], USD[0.01]                                                                                                                                                        Yes

07798485                              CUSDT[1], DOGE[1], SHIB[1908563.6228357], SOL[5.51668549], USD[0.00]                                                                                                                        Yes

07798486                              CUSDT[5], SHIB[133082.95269074], TRX[0.63725146], USD[1.33]                                                                                                                                 Yes

07798495                              USD[0.00], USDT[0.00065065]

07798496                              USD[25.00]

07798499                              NFT (314015737265853748/Megalodon Rogue Shark Tooth)[1]

07798515                              CUSDT[8], TRX[1], USD[0.00]                                                                                                                                                                 Yes

07798532                              NFT (434581858956342757/2974 Floyd Norman - CLE 2-0251)[1], NFT (465981769857066907/2974 Floyd Norman - OKC 5-0014)[1], USD[0.94]

07798538                              BTC[0], SHIB[1100000], USD[4.70]

07798546                              BTC[0.01937086], SOL[.0005264], USD[0.00]

07798550                              USD[20.00]

07798551                              BTC[.00202345], CUSDT[2], DOGE[1], SOL[.21035998], USD[0.00]                                                                                                                                Yes

07798561                              AVAX[.999], BTC[.2221731], ETHW[1.307], USD[3.27]

07798586                              USD[20.00]

07798588                              SOL[.00997]

07798591                              NFT (436156260257692321/Solana Glow)[1], USD[0.00]

07798593                              USD[0.00]                                                                                                                                                                                   Yes
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                                                                                                                                             Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07798594                              AAVE[0], BF_POINT[300], BTC[0], DAI[0], ETH[0], ETHW[0], LINK[0], MATIC[0], SHIB[0], TRX[0], USD[0.01], USDT[0]                                                                            Yes

07798599                              CUSDT[13], USD[0.00]                                                                                                                                                                       Yes

07798607                              USD[0.01]                                                                                                                                                                                  Yes

07798624                              USD[0.00], USDT[0]

07798630                              USD[0.00]

07798635       Contingent, Disputed   ETH[0], USD[0.00]                                                                                                                                                                          Yes

07798640                              BTC[.00001823], USD[2.31]

07798641                              USD[0.00], USDT[0]

07798642                              NFT (372921540071045275/Barcelona Ticket Stub #689)[1]

07798646                              SHIB[100000], USD[4.78]

07798672                              ETH[0], SOL[0], USD[0.00]                                                                                                                                                                  Yes

07798682                              BRZ[1], SOL[3.01768428], USD[0.00]                                                                                                                                                         Yes

07798685                              ETHW[1.13593843], USD[8559.75]                                                                                                                                                             Yes

07798694                              TRX[55710.000047], USD[79.69], USDT[0]

07798697                              USD[0.00]

07798699                              ETHW[.933], USD[0.63]

07798701                              BRZ[3], CUSDT[14], NFT (301504888376424250/Colorfalls)[1], NFT (315879043346057315/Symphony#1)[1], NFT (327113791713999097/Mind blow #1)[1], NFT (350034709660177287/hallowen              Yes
                                      women)[1], NFT (387589045079006277/Happy at Home)[1], NFT (391953273279556561/Another Universe #4)[1], NFT (402378772498475545/Igloo under the Aurora)[1], NFT
                                      (404541918930053268/Popsicles #1)[1], NFT (415614524214799764/Popsicles #2)[1], NFT (433787857309968208/Flowers from heaven #3)[1], NFT (474906357770805130/Blue Woman)[1], NFT
                                      (483520264990177213/Cheetah in the Shade)[1], NFT (493416143207811657/Transparent Woman)[1], NFT (493818561703439240/CloudNFT Series 1 #1)[1], NFT
                                      (499624362822294904/Techniflower)[1], NFT (531817727577241178/Crypto Avatar Art #4)[1], NFT (532998249810126877/AI-generated landscape #3)[1], NFT (534240046301480338/Crypto Avatar Art
                                      #18)[1], NFT (535007081216122545/AI-generated landscape #2)[1], NFT (536733141587372400/Blossoming Skies)[1], NFT (544181854613243988/City Shore)[1], NFT (548981078889882753/Crypto
                                      Avatar Art #6)[1], NFT (555772568359763821/Technicolor Landscape #1)[1], NFT (561826503625072972/Psychedelic View)[1], NFT (565909097218819226/Another Universe)[1], NFT
                                      (568453474587663994/Yeti #0002 )[1], NFT (570134863660236344/Astronaut Raccoon)[1], NFT (572281909641840879/Cones #1)[1], SOL[.00000001], TRX[3], USD[5.31]

07798704                              USD[0.00]

07798723                              BTC[0], DAI[.00001353], SHIB[2], USD[0.00]                                                                                                                                                 Yes

07798746                              CUSDT[3], DOGE[1], ETH[.00000001], SOL[0], USD[0.00], USDT[0.00000001]

07798747                              SOL[2.80718279], TRX[498.54927956], USD[1.32]

07798748                              USD[21.51]                                                                                                                                                                                 Yes

07798756                              USD[0.00], USDT[0]

07798760                              BF_POINT[300], BRZ[1], CUSDT[2], DAI[.02108717], DOGE[3], ETHW[3.21742001], GRT[1], TRX[1], USD[0.00]                                                                                      Yes

07798762                              BTC[.0116], DOGE[3000.16251253], GRT[111.8290924], LINK[11], MATIC[71.65322677], SOL[6.0049997], SUSHI[7.5], USD[0.00], USDT[0]

07798769                              CUSDT[1], USD[0.00], USDT[1]

07798770                              USD[353.16]

07798778                              TRX[.000029], USD[1999.00], USDT[0]

07798788                              USD[0.00]

07798791                              USD[0.00]

07798793                              MATIC[0], USD[0.00]

07798798                              SOL[0], USD[0.00], USDT[0.00000746]

07798799                              BAT[1], TRX[.81007306], USD[16.09]

07798800                              TRX[.000002], USDT[0.00000128]

07798806                              NFT (457079940928201009/OverYonder)[1], USD[6000.00]

07798807                              BTC[0], NFT (546792213697590298/Pyramid Biogenesis)[1], SOL[0], USD[0.01], USDT[0]                                                                                                         Yes

07798810                              SOL[1.48987375], USD[0.00]

07798812                              NFT (510724902451626393/2974 Floyd Norman - CLE 6-0149)[1], USD[2.48]

07798821                              BAT[1.01391347], CUSDT[1], ETH[.30994628], ETHW[.30976233], SOL[37.68532347], TRX[1], USD[0.01]                                                                                            Yes

07798825                              BTC[0], CUSDT[1], DOGE[1], MATIC[.02801172], NFT (415829985448694898/Entrance Voucher #2673)[1], SHIB[3], TRX[4], USD[0.01]                                                                Yes

07798826                              CUSDT[1], ETH[3.07553896], ETHW[3.07421912], SOL[5.10531035], TRX[2], UNI[1.09527091], USD[0.00]                                                                                           Yes

07798827                              USD[0.01]

07798830                              USD[6.41]

07798831                              BTC[.00299715], ETH[.79024855], ETHW[.79024855], LINK[31.2], MATIC[2177.929], SOL[34.36732], USD[294.45]

07798835                              ETH[.516], ETHW[.516], SOL[7.52], USD[2545.53]

07798840                              USD[0.00]

07798846                              USD[51.38]                                                                                                                                                                                 Yes

07798855                              BTC[.00182988], CUSDT[510.58736095], ETH[.02518209], ETHW[.02486745], SOL[1.67536949], USD[47.11]                                                                                          Yes

07798856                              ETHW[.71959756], USD[0.54]                                                                                                                                                                 Yes

07798857                              USD[0.00]                                                                                                                                                                                  Yes

07798859                              BAT[1], BF_POINT[100], BRZ[2], CUSDT[14], SHIB[2], SOL[0], TRX[4], USD[0.00], USDT[1]

07798861                              BF_POINT[300], USD[9.70], USDT[0]

07798871                              USD[0.00], USDT[0]
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                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07798875                              BAT[1.01021583], CUSDT[3], GRT[1.00182931], LINK[0], SOL[185.43642901], TRX[5], USD[0.01], USDT[0]                                                                                  Yes

07798877                              USD[0.00]

07798878                              BCH[4.10137296], ETH[2.14471005], ETHW[2.14378972], GRT[2666.1353801], SOL[16.40535170], SUSHI[242.04944478], USD[0.00], USDT[0]                                                    Yes

07798879                              BRZ[2], CUSDT[2], NFT (356283167727151643/Ape City #15)[1], NFT (571793196388697182/Skull Love #8)[1], NFT (574969915535215707/Skull Love #34)[1], TRX[1], USD[0.00]

07798880                              USD[0.01], USDT[0]

07798883                              ETH[0.00000001], ETHW[0.00000001], SOL[0], USD[0.71]

07798891                              USD[0.47]

07798895                              ETH[0], NFT (393355429283219235/Orange Kitchen)[1], NFT (475548773994653390/Boy Cave)[1], SOL[0], TRX[2], USD[0.00]

07798896                              BRZ[1], CUSDT[1], SOL[11.28213959], TRX[2], USD[0.09]                                                                                                                               Yes

07798897                              BTC[.00529847], ETH[.0539775], ETHW[.0539775], TRX[.000001], USDT[2.41418896]

07798898                              BF_POINT[300], USD[20.00]

07798899                              SOL[.13445569], USD[20.72]

07798900                              SOL[.56943], USD[0.36]

07798901                              BTC[0], USD[0.00]

07798906                              CUSDT[31], DOGE[11.00030138], ETH[0], NFT (385381799665978466/Ape MAN#054)[1], NFT (396443661418134255/Kiddo #5846)[1], NFT (420986487987613760/Nobu Sensei #247)[1], NFT           Yes
                                      (445905686796546640/Munk #1149)[1], NFT (497604872904533351/2949)[1], NFT (504963359320261778/Sigma Shark #5119)[1], NFT (511366342195314084/Gangster Gorillas #4208)[1], NFT
                                      (516044130412445328/Gangster Gorillas #2334)[1], NFT (525721599481684309/Elysian - #5772)[1], NFT (534102163779646518/Space Bums #6691)[1], NFT (534628572608799805/2695)[1], NFT
                                      (555068781367574606/Ravager #837)[1], SHIB[87], TRX[15], USD[1228.62]
07798911                              NFT (489940380331697183/Coachella x FTX Weekend 2 #16424)[1]

07798915                              ETH[.0009036], ETHW[0.00090360], USDT[1.3485635]

07798922                              BTC[0], ETH[.00000113], ETHW[.00000113], NFT (293307012667608923/Australia Ticket Stub #57)[1], SHIB[12], SOL[0], TRX[1], USD[0.00]

07798938                              USD[1.62]

07798941                              MATIC[0], SOL[0]

07798944                              NFT (467584326723164626/Entrance Voucher #2589)[1]

07798956       Contingent, Disputed   USD[1.98]

07798961                              CUSDT[6], DOGE[1], TRX[2], USD[0.00], USDT[0]                                                                                                                                       Yes

07798962                              AVAX[.02852539], ETH[.003], ETHW[.003], LINK[4.6987], LTC[.25195], SOL[1.27139], TRX[1.54], USD[3.46], USDT[1293.62499764]

07798970                              ETH[.05634858], ETHW[.05634858]

07798971                              SOL[.999], USD[0.00]

07798974                              BF_POINT[300], DOGE[1], LINK[29.23344287], TRX[1], USD[0.01]                                                                                                                        Yes

07798982                              BTC[.00014663], ETH[.00228756], ETHW[.0022602], SOL[.04527261], USD[0.00]                                                                                                           Yes

07798985                              SOL[.04730494], USD[0.00]

07798988                              BTC[0], ETHW[.19], SOL[.004756], USD[1.75], USDT[0.00004067]

07798994                              USD[100.00]

07798996                              ETH[.046], ETHW[.046], SOL[.5], USD[74.07]

07799001                              USD[0.00]

07799005                              CUSDT[2], USD[0.01]

07799009                              CUSDT[1], TRX[2], USD[0.69]                                                                                                                                                         Yes

07799013                              USD[0.00]                                                                                                                                                                           Yes

07799015                              USD[0.00]

07799016                              USD[5.91]

07799030                              USD[21.51]                                                                                                                                                                          Yes

07799033                              UNI[21.7782], USD[3.81]

07799034                              NFT (474495478114473287/FTX Crypto Cup 2022 Key #547)[1], NFT (503912474438715746/Imola Ticket Stub #1822)[1], TRX[1.15157]

07799039                              BTC[0], SOL[0], USD[0.00], USDT[0]                                                                                                                                                  Yes

07799040                              BRZ[1], DOGE[1], SHIB[1], USD[0.00]

07799044                              CUSDT[2], SOL[2.0205694], USD[0.00]                                                                                                                                                 Yes

07799045                              DOGE[137.69882495], KSHIB[256.13841533], NFT (348525715841933418/Red Panda #7157)[1], SHIB[646288.93441412], SOL[38.72172433], USD[0.00]                                            Yes

07799059                              TRX[.000001]

07799061                              DOGE[1], ETH[.13928175], ETHW[.13928175], USD[0.00]

07799062                              SOL[0], USD[0.87], USDT[0.00000153]

07799063                              GRT[1], SHIB[1], TRX[1], USD[7284.39]                                                                                                                                               Yes

07799066                              ETH[0], SOL[0], USD[2.03], USDT[0.00766589]

07799075                              ETH[0], SOL[0], USDT[0.00000097]

07799086                              USD[0.00]

07799096                              AVAX[5.5965886], SHIB[2], USD[0.00], USDT[0.00000003]                                                                                                                               Yes

07799107                              USD[0.76]

07799116                              SHIB[23785.90175801], USD[0.01]                                                                                                                                                     Yes

07799120                              BRZ[2], BTC[.01170368], DOGE[2110.80870727], ETH[.15812167], ETHW[.15749959], LTC[3.04903208], SOL[3.19630672], TRX[2], USD[0.00]                                                   Yes

07799122                              BTC[0], SOL[0], USD[0.00], USDT[0.00003127]
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                                                                                                                                            Customer Claims                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07799123                              NFT (460700694264833719/Australia Ticket Stub #2383)[1]

07799125                              SOL[.00078952], USD[0.05], USDT[0.00141683]

07799126                              CUSDT[3], DOGE[2], ETH[.22105918], ETHW[.22084102], SOL[20.68204601], TRX[4], USD[0.02]                               Yes

07799135                              ETH[0.00000290], ETHW[0.00000290], USD[0.39]

07799140       Contingent, Disputed   SOL[3.00179261], USD[67.74]

07799145                              NFT (294493183774888885/Birthday Cake #2665)[1], NFT (330562139785448319/The 2974 Collection #2665)[1], USD[184.86]

07799148                              BTC[0], USD[0.00]

07799149                              USD[0.16]

07799151                              MATIC[12.51413451], USD[0.90]

07799168                              USD[0.00]

07799175                              BTC[0], ETH[0], ETHW[0.08063427], SUSHI[0], USD[0.01], USDT[0.00584426]

07799180                              SHIB[4999.48810375], USD[0.00], USDT[0]                                                                               Yes

07799184                              USD[0.00]                                                                                                             Yes

07799186                              USD[2.00]

07799188                              CUSDT[1], ETH[.02723651], ETHW[.02689451], SOL[1.39165628], USD[0.00]                                                 Yes

07799192                              MATIC[1.5], USD[0.01]

07799198                              BRZ[2], BTC[.00000084], DOGE[2], LTC[.00004665], TRX[3], USD[0.00], USDT[2.19059701]                                  Yes

07799201                              USD[15.00]

07799207                              ETH[.043], ETHW[.043], USD[0.00]

07799219                              USD[50.01]

07799220                              USD[0.00]

07799227                              BTC[.0024419], NFT (339972272631823480/Coachella x FTX Weekend 2 #7563)[1], USD[4.06]

07799237                              ETH[0.00255899], ETHW[0], MATIC[1.7928], SOL[.0082975], TRX[.34148], USD[22.02]

07799249                              ETHW[.016], USD[0.21]

07799256                              USDT[0]

07799260                              CUSDT[4], SHIB[1291211.01958203], USD[0.00]                                                                           Yes

07799262                              ETH[.0635957], ETHW[.0635957], SOL[4.1798296], USD[1.00]
West Realm Shires Services Inc.                                                    Case 22-11068-JTD      Doc F-3:
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                                                                                                                               Unsecured           Page 105 of 1384
                                                                                                                                         Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07799264                           BTC[0], ETH[0], ETHW[.992], NFT (288426630748101492/WTC #2870)[1], NFT (291121648991820520/Rubber Duckie #0084 - 2K)[1], NFT (297517467497450197/WTC #0420)[1], NFT
                                   (298942116230705875/Neighbor #001)[1], NFT (299380397367277155/Neighbor #012 - Rare)[1], NFT (299591879675122792/Green Toes)[1], NFT (299977777031706642/Flyer #1)[1], NFT
                                   (300237171796288112/Rubber Duckie #0099)[1], NFT (300824574208740273/Solanite #0027)[1], NFT (302267450382375386/Baby Shaman - Ayahuasca)[1], NFT (303015430950395202/Heavy
                                   Thoughts)[1], NFT (303931481471549230/Cutie Kittens #10)[1], NFT (304267398154528546/Entrance Voucher #65)[1], NFT (305175105136572105/Solanite #0006 - Rare)[1], NFT
                                   (305739884036310188/Neighbor #020)[1], NFT (305818613416047632/Medical Cannabis #0032)[1], NFT (307254232476911548/Rubber Duckie #0014 - Tommy Pixel)[1], NFT
                                   (308592565170322915/Solanite #0008)[1], NFT (312070321473802281/Rubber Duckie #0101)[1], NFT (314934525814996472/Mystery Egg #0039 #2)[1], NFT (315448184703272751/Peak Performance
                                   x tubby cats)[1], NFT (318495028631696972/Spinner)[1], NFT (319473789836276066/Rubber Duckie #0110)[1], NFT (321612272891486444/FTX Crypto Cup 2022 Key #2517)[1], NFT
                                   (321647348339388734/Rubber Duckie #0111)[1], NFT (323318697901608266/Nobu Sensei #801)[1], NFT (326426434542612902/WTC #0396)[1], NFT (334178320898496707/WTC #2730)[1], NFT
                                   (342390954340851195/Bevel Boy #048)[1], NFT (344340407688107630/The Deep End)[1], NFT (346208367734200700/The Library Of Regret)[1], NFT (346391292481406109/Neighbor #016)[1], NFT
                                   (346754706012105872/Rubber Duckie #0125)[1], NFT (347350645872966962/A Shamans Dance)[1], NFT (351469458471050110/Rubber Duckie #0128)[1], NFT (354843633934392118/WTC #0040 -
                                   2K Edition)[1], NFT (355020607819633816/Rubber Duckie #0122)[1], NFT (357682296079046781/Bluegrass Revival)[1], NFT (361784560613980171/Rubber Duckie #0108)[1], NFT
                                   (366654827579615749/Rubber Duckie #0049)[1], NFT (368162298997654911/Rubber Duckie #0019 - Quackikaze )[1], NFT (368455716319452481/Rubber Duckie #0076 - 2K)[1], NFT
                                   (371233760222595780/Rubber Duckie #0069 - 2K)[1], NFT (374395433877905762/WTC #1010)[1], NFT (375377371451554024/Solanite #0010)[1], NFT (376452295309718810/Mystery Egg #0039- 3
                                   for 1)[1], NFT (378679888167242155/Medical Cannabis #0033)[1], NFT (379120975398435368/WTC #0022)[1], NFT (381744032705779250/Stars Aligned )[1], NFT (381819551367882072/Rubber
                                   Duckie #0124)[1], NFT (382571446041074975/Red Toes)[1], NFT (387792068666330371/Neighbor #013)[1], NFT (387834702815055099/Duckie Fest. 2022 Logo)[1], NFT
                                   (391385052932664165/Neighbor #003)[1], NFT (391823347604057250/Egg #0013 - FTX.US PRO)[1], NFT (394176037752789771/Nintinugga)[1], NFT (395382622634730115/Solanite #0002)[1], NFT
                                   (396088772571519121/Neighbor #019 - Rare)[1], NFT (396797026492660386/Yellow Toes )[1], NFT (397511729319173183/Cave)[1], NFT (398551720606775558/Mystery Egg #0038 - Oil Maker)[1],
                                   NFT (402318579680212936/Osho)[1], NFT (403364236389715787/Rubber Duckie #0130)[1], NFT (405239786914369629/Rubber Duckie #0013 - AVAX)[1], NFT (406263355768224007/Rubber Duckie
                                   #0014 - Evil Morty)[1], NFT (406323445464526185/ Rubber Duckie #0066 - 2K)[1], NFT (407728429965393949/Root Chakra - #2)[1], NFT (408159852104162366/Hungry Little Bee)[1], NFT
                                   (409811242153775617/Bound)[1], NFT (410555931658318007/Mystery Egg #0039)[1], NFT (413164454815791199/The Devil In The Cave)[1], NFT (414934663133031679/Rubber Duckie #0070 - 2K)[1],
                                   NFT (417327363659267141/Medical Cannabis #0008 - Metallic Green)[1], NFT (422179744836301339/Tubby Blinker)[1], NFT (422295718179296009/Lost Cave)[1], NFT (427757445825384593/Rubber
                                   Duckie #0078 - 2K)[1], NFT (429323041336692605/Egg #0010 - Charred)[1], NFT (430630825372617885/Neighbor #015 - Rare)[1], NFT (433212903613429371/Neighbor #021 - Impossibly Rare)[1],
                                   NFT (433435154428344323/Rubber Duckie #0136)[1], NFT (433511944095015658/Flyer #2 - Bands)[1], NFT (433832239272524898/Rubber Duckie #0013 - Tommy Pixel)[1], NFT
                                   (435918608334115131/Solanite #0022)[1], NFT (438056723250223357/Neighbor #010 - Super Rare)[1], NFT (438766443651936333/Rubber Duckie #0107)[1], NFT (439850468624542611/Neighbor
                                   #009)[1], NFT (442711150436466391/The Jewish Shaman)[1], NFT (443486381387831768/True Face )[1], NFT (443758119591656349/Chakra Duckie Lineup )[1], NFT (443849972031558427/Rubber
                                   Duckie #0043 #2)[1], NFT (444178766770131105/WTC #0066)[1], NFT (446266323601166578/Rubber Duckie #0020 - Scorpio )[1], NFT (446396742766582136/Rubber Duckie #0115)[1], NFT
                                   (446470012922235978/Mystery Egg #0037)[1], NFT (446888000138947619/Solanite #0023)[1], NFT (447221446900026070/Rubber Duckie #0010 - ADA)[1], NFT (450752195692609739/Toy Soldier
                                   #001)[1], NFT (452468143925455962/Solanite #0014)[1], NFT (455568568343713838/Bound #2)[1], NFT (456384863006751491/Garden In The Cave)[1], NFT (456433560657895384/Solanite #0021)[1],
                                   NFT (456914159195185453/Solanite #0001)[1], NFT (458693453541224711/Rubber Duckie #0062 - Lummi Nation)[1], NFT (459861039749300987/Rubber Duckie #0097)[1], NFT
                                   (461733861855752299/Solanite #0004)[1], NFT (462093934489727277/ Rubber Duckie #0068 - 2K)[1], NFT (465152700603150589/Settler #2202)[1], NFT (468014758196624499/Solanite #0025)[1],
                                   NFT (469232909128563738/Egg #0033 - Dream Walker)[1], NFT (469328747435428215/The Hill by FTX #1011)[1], NFT (471373267770286756/Mystery Egg #0038 #2)[1], NFT
                                   (472822145109527882/Saudi Arabia Ticket Stub #327)[1], NFT (472842448997561207/Medical Cannabis #0001 - OG Green)[1], NFT (475217039943367265/Yeti #0006 - K-Hole)[1], NFT
                                   (479302512786869777/Duck Nation)[1], NFT (479941570232609829/Rubber Duckie #0037 - Sweetest Day)[1], NFT (481688665247140851/Banger #001 - Coach / Copper)[1], NFT
                                   (484261396621468971/Rubber Duckie #0044 - SOL Surfer)[1], NFT (486967956635997053/Rubber Duckie #0087 - 2K)[1], NFT (488757498356050171/Bevel Boy #009)[1], NFT
                                   (490346647034037895/Rain Dance)[1], NFT (490517416056341527/Solanite #0019 - Ultra Rare)[1], NFT (491655820341114244/Rubber Duckie #0129)[1], NFT (492512798931917525/Rubber Duckie
                                   #0106)[1], NFT (498475757255757590/Yeti #0008)[1], NFT (499178857833807996/Rubber Duckie #0072 - 2K)[1], NFT (500392291345049977/Rubber Duckie #0094)[1], NFT
                                   (502816274103665996/WTC #0271)[1], NFT (503290689753028191/Rubber Duckie #0019 - FTX Fan-Art )[1], NFT (503487928639897829/Rubber Duckie #0035 - Abstract )[1], NFT
                                   (504119894736370045/Neighbor #006 - Rare)[1], NFT (504808562074226783/Solanite #0017)[1], NFT (509303769524250768/Rubber Duckie #0126)[1], NFT (509336561590892229/OG Facebook Event
                                   Cover Image)[1], NFT (511249212115162611/Solanite #0026 - Rare)[1], NFT (511800434102561858/Toy Soldier #015)[1], NFT (513063066311976732/Egg #0002)[1], NFT (513065330678699559/#1
                                   )[1], NFT (513192323602742962/WTC #0013)[1], NFT (513204427232491638/Neighbor #008)[1], NFT (514577093747730185/Rubber Duckie #0091 - 2K)[1], NFT (517321812542117381/Mystery Egg
                                   #0038 - Oil)[1], NFT (518849492014675821/Black Toes - Hummingbird Special )[1], NFT (519265929639326063/Rubber Duckie #0089 - 2K)[1], NFT (520494693173466687/Shine Maker)[1], NFT
                                   (522587850319408869/Solanite #0024)[1], NFT (524667328411616598/Egg #0034 - Nightmare Walker)[1], NFT (524697869385668541/Rubber Duckie #0043)[1], NFT (525214263037780825/WTC
                                   #2871)[1], NFT (526548489984413918/Legend #001)[1], NFT (527708716966924271/Pool Party)[1], NFT (527960978996533432/Inward #001 - The Clown)[1], NFT (527974662581478358/Mystery Egg
                                   #0037 - Metal / Salt Water Hybrid)[1], NFT (528037643634070596/Rubber Duckie #0079 - 2K)[1], NFT (533996936430638099/Medical Cannabis #0006)[1], NFT (534304200300614427/Neighbor
                                   #005)[1], NFT (536575892686144768/Neighbor #014)[1], NFT (537019394101383717/King George II )[1], NFT (537975644697033600/Cherokee River)[1], NFT (539862108989395028/Rubber Duckie
                                   #0093 -2K)[1], NFT (541077949774064480/Rubber Duckie #0095)[1], NFT (542121499502338762/WTC #0397 - 2K Edition)[1], NFT (542135960010965371/Mystery Egg #0038)[1], NFT
                                   (543896656600572298/Shiner)[1], NFT (544694036682554476/Toy Soldier #003)[1], NFT (551319107812916915/Neighbor #018)[1], NFT (553288475541725808/Cute Axolotls Collection #23)[1], NFT
                                   (553690770871335865/Neighbor #013 - Ultra Rare)[1], NFT (555264698391009866/Rubber Duckie #0071 - 2K)[1], NFT (556146989148277016/Rubber Duckie #0001 - OG Yellow )[1], NFT
                                   (558447201458090876/Neighbor #017)[1], NFT (561005754559924273/Idlekids #3717)[1], NFT (567225842918425257/Solanite #0018)[1], NFT (569314963710197675/Solanite #0013)[1], NFT
                                   (571951666146840376/Bevel Boy #047 - The Great Knight)[1], SOL[0.24700001], USD[0.00]

07799266                           AAVE[10.5329423], BTC[.25846296], ETH[3.80226347], ETHW[3.80226347], USD[7.52]

07799268                           BTC[.14571478], ETH[3.21900027], ETHW[3.21900027], LINK[189.86829833], SOL[20.30455348], USD[0.00]

07799270                           SOL[0], USD[0.00]

07799271                           BTC[.00451343], SOL[.00927], USD[6.78]

07799278                           GRT[5], USD[5.61]

07799280                           SOL[0.56121009]

07799284                           USD[0.00], USDT[0.00000001]

07799295                           DOGE[1], SHIB[1], USD[0.00]

07799297                           ETH[0], USD[0.00], USDT[0.00001086]

07799298                           BTC[.0130545], ETH[.12093], ETHW[.12093], SOL[3.68104], USD[0.81]

07799305                           USD[0.00]

07799306                           DOGE[1], SOL[2.06192279], TRX[4], USD[0.00]

07799309                           SOL[0]

07799316                           SOL[.000961], USD[0.64]

07799317                           BTC[0], USD[0.00]

07799318                           USD[12.00]

07799328                           SOL[.17485083], USD[1.79]

07799330                           AAVE[0], AVAX[0], BAT[0], BCH[0], BF_POINT[200], BRZ[0], BTC[0.00008963], CUSDT[0], DAI[0], DOGE[1], ETH[0], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], MKR[0], NEAR[0], PAXG[0],       Yes
                                   SHIB[18], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[-1.74], USDT[0], YFI[0]
07799334                           BTC[.8010981], ETH[5.82417], ETHW[5.82417], SOL[161.80803], USD[120.38]

07799344                           BTC[0], SOL[.00729], USD[0.00], USDT[0]

07799346                           MATIC[0], USD[0.00], USDT[0]

07799352                           NFT (348809145509718576/SolAlone #19)[1]

07799367                           BTC[.00038175], MATIC[2940.35313870], SOL[24.19578]

07799369                           CUSDT[2], SHIB[1], TRX[2641.12777331], USD[0.00]                                                                                                                                          Yes

07799372                           NFT (354981031584197072/Australia Ticket Stub #2377)[1]
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                                                                                                                                             Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07799400                              CUSDT[4], DOGE[1], SOL[.00001333], TRX[1], USD[0.00]                                                                                                                                   Yes

07799405                              NFT (338541441172072362/StarAtlas)[1], NFT (338674096863177986/StarAtlas)[1], NFT (376829193667080475/Romeo #692)[1], NFT (397924121721916851/3185)[1], NFT
                                      (417859694427794814/Samoyed #4925)[1], NFT (424316340230459124/Saudi Arabia Ticket Stub #1328)[1], NFT (436458462071771258/StarAtlas)[1], NFT (446901617352648347/StarAtlas)[1], NFT
                                      (455535520953281003/StarAtlas Anniversary)[1], NFT (489679624337262029/StarAtlas)[1], NFT (497327097611822169/StarAtlas)[1], NFT (507100257351689965/StarAtlas)[1], NFT
                                      (539449174168291090/Samoyed #556)[1], SOL[0], USD[0.00]
07799409                              USD[0.38]                                                                                                                                                                              Yes

07799415                              AVAX[.00119725], ETHW[.00004203], SOL[.00042964], USD[0.00]

07799416                              ETH[0], ETHW[0], NEAR[45.12259686], USD[0.44]

07799417                              LINK[185.2146], USD[0.20]

07799418                              USD[2.13]

07799423                              SOL[0], USD[0.00]

07799427                              USD[0.34], USDT[0]

07799431                              SOL[.00467148], USDT[.83688]

07799442                              NFT (333430631057491883/SolBunnies #3699)[1], NFT (550363878067596372/SolBunnies #3317)[1], SOL[.02], USD[1.59]

07799444                              BRZ[2], CUSDT[3], DOGE[3], SHIB[3], TRX[5], USD[0.00]

07799454                              USD[0.01]

07799455                              USD[1.18]

07799461                              NFT (341400940427014893/The Seventh Seal)[1], NFT (486285502865877472/THE SECOND DEMON)[1], SOL[.2118628]

07799463                              BTC[0.21118862], ETH[1.19586285], ETHW[1.19586285], SOL[134.35675365], USD[2.15], USDT[0]

07799474                              SOL[.4995], USD[114.36]

07799475                              NFT (552569567553211682/Founding Frens Investor #571)[1], SOL[.04430487]

07799476                              BTC[0], USD[0.01]                                                                                                                                                                      Yes

07799477                              SOL[.003], USD[131.07], USDT[.5757592]

07799480                              BTC[.0002]

07799484                              CUSDT[1], SOL[.2967508], TRX[1], USD[0.00]

07799495                              AAVE[.0771493], CUSDT[9], DOGE[1], SOL[.37205557], USD[0.18]                                                                                                                           Yes

07799497                              USD[0.00]

07799500                              USD[0.00]

07799503                              BTC[0.00001903], SOL[0], USD[0.06]

07799508                              AUD[0.00], BTC[0.00002882], ETH[0.11800000], ETHW[0.11800000], MATIC[0], USD[0.16], USDT[0]

07799522                              CUSDT[2], DOGE[1], ETH[.00000056], ETHW[.00000056], USD[0.00], USDT[0]                                                                                                                 Yes

07799523                              DOGE[1], ETH[0], USD[0.11]                                                                                                                                                             Yes

07799530                              ETH[2.615], ETHW[2.615], SOL[10.5894], USD[6.66]

07799538                              AUD[0.00], BTC[0], DOGE[397.9488069], ETH[0.00623703], EUR[0.00], GRT[0], KSHIB[0], LTC[0], SHIB[0], SOL[0], USD[0.34], USDT[0], YFI[0]                                                Yes

07799539                              SOL[273.88984101], USD[6460.00]

07799540                              USD[0.00]

07799543                              SOL[1.85869403], USD[0.00]

07799545                              ETH[0], ETHW[0], USD[0.78], USDT[0]                                                                                                                                                    Yes

07799546                              SOL[.00000001]

07799547                              USD[0.99]

07799551                              ETH[.068], ETHW[.068], SOL[9.23377], USD[0.04]

07799557                              SOL[.00749], USD[82.13]

07799558                              ETH[.00000001], ETHW[0], SOL[.00000001], USD[0.00], USDT[0]

07799566                              USD[1000.00]

07799569                              USD[0.00]

07799570                              CUSDT[1], USD[0.00]

07799571                              NFT (504261045019303888/The Tower #421-3)[1], USD[0.00], USDT[1.89367186]

07799573                              BTC[0], DOGE[1], ETH[.0006433], LINK[.02360177], LTC[.00105619], SOL[.00525661], USD[25000.00], USDT[0]                                                                                Yes

07799574                              SOL[.91188344], USD[0.00]

07799576                              CUSDT[3], SHIB[1345442.60820785], TRX[2], USD[16.31], USDT[0]                                                                                                                          Yes

07799579                              USD[0.02]                                                                                                                                                                              Yes

07799580       Contingent, Disputed   CUSDT[1], ETH[0], ETHW[0], KSHIB[4012.75360101], SOL[0], USD[0.00], USDT[0]                                                                                                            Yes

07799586                              SHIB[1], USD[0.00]                                                                                                                                                                     Yes

07799587                              ETH[.00001016], ETHW[0.00001015], USD[0.00]

07799592                              NFT (299104396899382554/Watercolor Series)[1], USD[3.21]

07799594                              USD[0.01]                                                                                                                                                                              Yes

07799601                              USD[20.00]

07799603                              USD[0.01]

07799604                              BTC[.00001897], USD[2.33]
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07799605                              ETH[.0014], ETHW[.0014], NFT (374745167411697654/Confrontation)[1], NFT (451065363822885002/RUSSIAN CAVIAR #2)[1], NFT (499702412696055513/RUSSIAN CAVIAR)[1], NFT
                                      (535732972247268210/Art #1)[1], USD[2.23], USDT[0]
07799606                              USD[0.00], USDT[0]

07799609                              CUSDT[3], LINK[2.78553822], SOL[.16275792], USD[438.94]                                                                                                                                 Yes

07799628                              NFT (451804958733701858/Sollama)[1], NFT (483151516319969888/Sickos #6)[1], NFT (541770691092154273/Sickos #5)[1], NFT (560250000390512847/Mecca, the Creepy)[1], USD[7.53]

07799632                              BTC[.00020352], LTC[.00367454], SOL[.00596452], USD[0.82], USDT[0]

07799633                              LINK[.08682], SOL[.00188961], USD[0.45], USDT[2.45073746]

07799634                              CUSDT[1], DOGE[1], ETHW[.13658091], SOL[.00000932], TRX[11367.11812502], USD[0.00]                                                                                                      Yes

07799647                              BRZ[1], BTC[.00000002], CUSDT[7], DOGE[2], GRT[1.00367791], LTC[0], SOL[0], TRX[2], USD[0.00]                                                                                           Yes

07799648                              SOL[6.35809779], USD[1.17]

07799651                              ETH[0], ETHW[0], SOL[0], USD[0.00]

07799655                              CUSDT[1], TRX[544.44165689], USD[0.01]                                                                                                                                                  Yes

07799659                              USD[1.37]

07799670                              NFT (322682660729499425/Entrance Voucher #2392)[1], NFT (473989063548338544/Imola Ticket Stub #1050)[1]

07799678                              USD[1.34]

07799679                              ETH[0.00034971], NFT (296390802511557010/Blue Woman )[1], NFT (303030381621949355/Love of Woman #3)[1], NFT (307069943253352856/Woman #14)[1], NFT (307360211664857273/Woman
                                      #9)[1], NFT (312522649818763120/Entrance Voucher #6254)[1], NFT (314194239980795653/Different Woman)[1], NFT (323966798798240678/#Bull 19 - Ice Bull)[1], NFT
                                      (329193549837149503/Woman #03 - 00YELLOW 00BLUE)[1], NFT (332470139566102256/Red Flower)[1], NFT (336618775679781746/Bull #9)[1], NFT (336990621948385973/Reincarnation #6)[1],
                                      NFT (342257697031350955/White Woman #3)[1], NFT (343781497335421345/SolaGirl #1)[1], NFT (344817278887193948/Natalie)[1], NFT (345110971150547533/#Bull 14 - Black)[1], NFT
                                      (347981502326212193/Bull #2)[1], NFT (349595460111915729/Woman #5 #3)[1], NFT (349598423010708451/Woman #5)[1], NFT (352241963759589277/Love of Woman #4)[1], NFT
                                      (354141394699624561/Reincarnation #3)[1], NFT (357387533653456528/Yellow Woman #3)[1], NFT (358026603935602058/Transparent Woman #6)[1], NFT (360817212102580080/Red Woman
                                      #2)[1], NFT (362572305474042966/FTX Planet #30)[1], NFT (362697756873770851/Green Woman)[1], NFT (363712466141892052/Red Woman #5)[1], NFT (363866592021796961/Woman #5 #2)[1],
                                      NFT (364280379527025488/Blue Wave)[1], NFT (365356184810764431/Bull #10)[1], NFT (366772135830189140/Chloe)[1], NFT (366820626983328172/Woman #6)[1], NFT
                                      (367411721491253238/#Bull 13 - Stone)[1], NFT (374668277725542129/Black Woman #6)[1], NFT (377660008260760133/Love of Woman #5)[1], NFT (379768205254236244/Green Woman #4)[1],
                                      NFT (383243183663475811/Alex)[1], NFT (384645434178753980/Love of Woman #11)[1], NFT (384866412678953294/#Bull 16 - Striped)[1], NFT (389126402626623816/Woman )[1], NFT
                                      (391916746819853591/Bull #6)[1], NFT (397155877676433578/Black Woman #11)[1], NFT (397222809555547438/FTX Planet #25)[1], NFT (400702296303838135/Bull #1)[1], NFT
                                      (401043459761148980/Woman #04 - 00ORANGE)[1], NFT (403539042509073419/Bull #11 - Black)[1], NFT (407011308034625551/Pink)[1], NFT (411997879868267702/Woman #06 - 00YELLOW)[1],
                                      NFT (413201064660783360/Woman #7 #2)[1], NFT (415594145120935840/Bull #13 - Pride)[1], NFT (420403268379762709/Woman #03 - 00PURPLE)[1], NFT (422744536213543515/Yellow Woman
                                      #2)[1], NFT (423763281082740483/Halloween #2)[1], NFT (426099567802854423/Penguins #6)[1], NFT (427612921027529791/Woman #7)[1], NFT (427766895356764080/Black Woman #2)[1], NFT
                                      (428485755045918123/Pink Woman #3)[1], NFT (429154299279312469/Halloween #1)[1], NFT (432306615039635603/Halloween #3)[1], NFT (434677850453536526/Woman #4)[1], NFT
                                      (438192873285255463/Bull #4)[1], NFT (446496867537071611/Dream Woman #2)[1], NFT (447244310250454729/Love of Woman #14)[1], NFT (448132964208791442/Cyan Woman)[1], NFT
                                      (450274124995591061/Orange Woman #3)[1], NFT (453013231218068352/Balance)[1], NFT (453101544513748632/Penguins #7)[1], NFT (458572304953920558/Reincarnation #5)[1], NFT
                                      (460060212745515233/Sandy)[1], NFT (462707393062978462/Love of Woman #10)[1], NFT (473664448027135141/#Bull 15 - Colourful)[1], NFT (479201092969619931/FTX Planet #26)[1], NFT
                                      (479854693582666441/Green)[1], NFT (480329569184010554/FTX Planet #28)[1], NFT (480809036619341353/FTX Planet #27)[1], NFT (486499735731342732/Love of Woman #9)[1], NFT
                                      (494365778114720833/Red Lipstick)[1], NFT (497174229066826208/Blue Woman #2)[1], NFT (500863279009708771/Bull #5)[1], NFT (502062513501927329/Red Woman)[1], NFT
                                      (507093943532013945/Microphone #246)[1], NFT (514922045967802871/Woman #02 - 00GREEN)[1], NFT (517405478937546884/Woman #01 - 00RED)[1], NFT (521917647626105439/Green Woman
                                      )[1], NFT (523122043990627602/Yellow Woman)[1], NFT (523736906780601924/Penguins #4)[1], NFT (529114397915374053/Woman #13)[1], NFT (529792396595603549/FTX Planet #29)[1], NFT
                                      (533364848939335463/Black White)[1], NFT (534598741053967210/Green Woman #2)[1], NFT (541316774194260379/Love of Woman #8)[1], NFT (541720064374657904/#Bull 18 - Basketball
                                      Player)[1], NFT (550717059592935426/Love of Woman #12)[1], NFT (551742984088623546/3D Hollow)[1], NFT (554734918675105153/Bull #8)[1], NFT (556430058457270700/#Bull 12 - Brown)[1],
                                      NFT (563113065055726563/#Bull 17 - Red & Orange)[1], NFT (565807331349649332/Woman #05 - 00PINK - 00BLUE)[1], NFT (567968878764004272/#Bull 11 - Pink)[1], NFT
                                      (570138002977676542/Bull #12)[1], NFT (571167965563258489/Women )[1], NFT (571265801622789558/Penguins #5)[1], NFT (573007674038880075/Burgundy)[1], TRX[.000001], USD[0.00], USDT[0]

07799680                              BTC[0], USD[0.00], USDT[0.00000093]

07799684                              SOL[9.55044], USD[6.52]

07799687                              BTC[.00005959], ETH[.0009937], ETHW[.0069937], SOL[.009955], USD[32.52]

07799693                              BTC[0.01312555], ETH[0], MATIC[0], USD[-0.05]

07799697                              USD[0.28]

07799711                              BTC[5.75519326], ETH[0.00048331], ETHW[0.00048331], USD[669.44]

07799713                              USD[0.10]

07799714                              NFT (298182132310626689/Cottage Chronicles)[1], USD[111.05], USDT[0]

07799718                              BRZ[5.07952967], BTC[.00000015], CUSDT[182.91645796], ETH[.00000012], ETHW[.00000012], MATIC[.00360571], SHIB[.00757606], SOL[.00006318], TRX[14.43525376], USD[0.19]                   Yes

07799719                              USD[0.00]

07799722                              AVAX[1.20207629], CUSDT[5], DOGE[1], ETH[.02396573], ETHW[.02366477], LINK[.96601006], SOL[1.15555615], TRX[1098.84188845], USD[0.02]                                                   Yes

07799737       Contingent, Disputed   BTC[0], ETH[0], USD[5.67]

07799745                              BTC[.2349648], LTC[7.39], MATIC[389.61], USD[972.69]

07799752                              USD[0.00]

07799753                              SOL[17.99706727], USD[0.00], USDT[0.00000161]

07799754                              BTC[0.00000002], ETHW[.00086951], PAXG[0.00005271], USD[0.00], USDT[0]

07799767                              NFT (401391096440163485/Warriors Gold Blooded NFT #501)[1]

07799769                              USD[0.00]

07799778                              SOL[.16656188], USD[0.00]

07799784                              SHIB[664.73294526], USD[0.00]

07799789                              TRX[.000001], USD[0.50], USDT[0.00022354]

07799791                              SHIB[0], SOL[0], USD[0.00]                                                                                                                                                              Yes

07799795                              USD[25.00]

07799799                              BTC[0], ETH[0], MATIC[.00000001], SOL[0], USD[29.09], USDT[0.00000001]

07799815                              USD[0.08], USDT[0]

07799826                              ETH[0], ETHW[0], LTC[.00964], MATIC[7.18], SOL[0], UNI[.0732], USD[0.00], USDT[0.11735421]

07799831                              BRZ[1], CUSDT[55.82670072], DOGE[9.50134679], SOL[20.79573251], TRX[7], USD[0.00], USDT[1.09801764]                                                                                     Yes
West Realm Shires Services Inc.                                                    Case 22-11068-JTD      Doc F-3:
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                                                                                                                                         Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07799834                           BRZ[1], BTC[.00051744], CUSDT[3], SHIB[1619676.92100444], SOL[1.39234903], TRX[1], USD[0.01]                                                                                            Yes

07799837                           USD[0.00], USDT[.00000001]

07799839                           BTC[0], SOL[0], USD[2.42]

07799840                           BTC[.00852057], ETH[.01377945], ETHW[.01360822]                                                                                                                                         Yes

07799844                           USD[0.00]

07799846                           USD[0.91], USDT[.03064175]

07799853                           ETH[0], ETHW[0], USD[0.00]

07799856                           USD[4000.00]

07799871                           SOL[2.63788], USD[0.99]

07799872                           NFT (345986330291493420/Tranquility - Tsunami)[1], NFT (375426230413601120/Kobe Ape)[1], NFT (426922162821846994/Tranquility - Stillness)[1], NFT (441563684291689190/Tranquility -
                                   Wind)[1], NFT (462782165105032369/Tranquility - Falling Meteorites)[1], NFT (478292424601196386/Tranquility - Rainstorm)[1], NFT (487582348603154374/Tranquility - Tornado)[1], NFT
                                   (508157391274305722/Tranquility - Fire)[1], SOL[.157], USD[0.27]
07799874                           DOGE[144.48682274], SOL[.20899975], USD[0.00]                                                                                                                                           Yes

07799879                           SOL[0], USD[0.71], USDT[0.89036388]

07799881                           AAVE[.21319358], BTC[.0019559], CUSDT[1], DOGE[15.2612279], ETH[.01413723], ETHW[.01395939], LINK[.17069981], NFT (290855311603625444/JUNGLE HORSES #5)[1],                             Yes
                                   SHIB[1053799.8860915], SOL[.39974822], TRX[2], USD[0.00]
07799882                           NFT (421837020244562193/Hall of Fantasy League #344)[1]

07799883                           USD[548.65]                                                                                                                                                                             Yes

07799884                           USDT[0.00000160]

07799891                           BTC[.01009981], CUSDT[2], ETH[.22399181], ETHW[.22378342], MATIC[518.06354341], SHIB[11515582.00485218], SOL[20.09563023], TRX[14473.10220567], USD[0.00]                               Yes

07799898                           BRZ[2], BTC[0.00533265], CUSDT[38], DOGE[5], ETH[0.07438473], ETHW[0.07346123], GRT[0], SHIB[2], SOL[0], SUSHI[0], TRX[0], USD[3.14]                                                    Yes

07799900                           USD[0.01]

07799902                           USD[0.73]

07799906                           BTC[.00008562], ETHW[.00036002], NFT (310231741468243897/Jackson)[1], NFT (406860852509200876/JackSun)[1], NFT (483275126576970693/Buddy)[1], SOL[0], USD[0.00]

07799908                           SOL[6.16696922], TRX[2], USD[0.00]                                                                                                                                                      Yes

07799910                           CUSDT[16], GRT[1.00367791], TRX[1], USD[0.00], USDT[0]                                                                                                                                  Yes

07799915                           USD[200.01]

07799921                           ETH[0], NFT (347536358358070671/GSW Round 1 Commemorative Ticket #293)[1], NFT (351683750830704036/GSW Western Conference Finals Commemorative Banner #662)[1], NFT
                                   (363060282759706913/Entrance Voucher #29380)[1], NFT (379711004553070508/GSW Western Conference Finals Commemorative Banner #660)[1], NFT (467951178764530990/GSW Western
                                   Conference Finals Commemorative Banner #661)[1], NFT (575683504507954508/GSW Western Conference Finals Commemorative Banner #659)[1], USD[0.00]
07799922                           BTC[0.00107680], SOL[.00979], USD[0.01]

07799924                           BCH[13.262724], USD[34.16]

07799934                           USD[7.65]

07799938                           ETH[.00338163], ETHW[.00338163], SOL[0.10443657]

07799946                           MATIC[0], USD[0.00]

07799952                           USD[0.00], USDT[0]

07799953                           ETH[.0693787], ETHW[.0693787], NFT (325476150436342272/2974 Floyd Norman - OKC 6-0262)[1], NFT (399209755580166290/2974 Floyd Norman - CLE 4-0229)[1], NFT
                                   (444797384181140578/Entrance Voucher #5630)[1], NFT (471625492224575192/Birthday Cake #0579)[1], NFT (508535106340183471/The 2974 Collection #0579)[1], NFT (526594163028235201/Saudi
                                   Arabia Ticket Stub #1610)[1], NFT (567956335212890213/FTX - Off The Grid Miami #2112)[1], NFT (568110927137361192/2974 Floyd Norman - OKC 1-0167)[1], USD[26.22]

07799959                           BTC[0], MATIC[19.98], SOL[5.6], USD[10.10]

07799962                           BTC[.00000126]                                                                                                                                                                          Yes

07799969                           NFT (330302547286705720/Saudi Arabia Ticket Stub #2060)[1]

07799973                           USD[21.51]                                                                                                                                                                              Yes

07799976                           NFT (502593623841253809/Imola Ticket Stub #431)[1]

07799986                           SOL[2.32], USD[0.01], USDT[1.9597024]

07799989                           BTC[0.00009981], DOGE[0], ETH[0], USD[0.00]

07799992                           BAT[4.37391025], BRZ[2], BTC[0], CUSDT[10], DOGE[4], GRT[1.00366874], SOL[0], TRX[1], USD[0.00], USDT[2.19357055]                                                                       Yes

07799993                           DOGE[1], TRX[1], USD[0.00], USDT[0.00000058]

07799996                           BTC[.00000411], NFT (342759189321999151/Golden Hill #325)[1], NFT (508901815231646889/Vibrating Hamster 478)[1], USD[0.01]

07799999                           BF_POINT[100], CUSDT[6], ETH[.00000017], ETHW[.00000017], TRX[1], USD[1.11]                                                                                                             Yes

07800012                           BTC[.03909608], ETH[1.09684298], ETHW[1.09638232], SHIB[11890.63774649], SOL[17.29598985], USD[0.00]                                                                                    Yes

07800013                           SOL[5.5], USD[2.46]

07800017                           AAVE[0.75495601], AVAX[1.44638593], BAT[58.46825091], BCH[0.23519714], BRZ[0], BTC[0], CUSDT[0], DAI[0], DOGE[129.00658582], ETH[0], ETHW[6.15358245], GRT[0], KSHIB[0.07156861],       Yes
                                   LINK[22.38375639], LTC[0], MATIC[359.12604826], MKR[0], NEAR[0], PAXG[0.01226660], SHIB[4], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[51.28], USDT[0], YFI[0.00215237]
07800020                           BAT[35.9769607], BRZ[.00006821], CUSDT[14], DAI[.00000001], DOGE[108.95592486], ETH[.00000001], ETHW[.00000001], LINK[.00000001], LTC[.12069556], TRX[19.92629619], USD[62.17]          Yes

07800023                           USD[0.00], USDT[0]

07800028                           BAT[1], DOGE[2], SHIB[76.13208348], TRX[1], USD[1067.92]                                                                                                                                Yes

07800036                           USD[0.00]

07800041                           USD[20.01]                                                                                                                                                                              Yes

07800044                           BTC[0], MATIC[0], SOL[0], USD[0.00]

07800050                           BTC[0.00000192], DAI[0], NFT (500651662807287121/FTX - Off The Grid Miami #85)[1], SHIB[5], USD[0.05], USDT[0.00000914]                                                                 Yes

07800057                           CUSDT[3], DOGE[1], GRT[1], SHIB[1], TRX[4], USD[0.00], USDT[0.00000001]                                                                                                                 Yes
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07800058                              NFT (449332690737114822/Microphone #8912)[1]

07800062                              DOGE[1], SOL[6.25818599], USD[0.00]

07800070                              BF_POINT[200], BTC[0.00000334], ETH[.00000001], ETHW[0], MATIC[0.02848836], NFT (419185606991841828/The 2974 Collection #0480)[1], NFT (430605605446730361/Cool Bean #713)[1], NFT   Yes
                                      (483880552820096163/Romeo #1067)[1], SOL[.00121956], USD[887.70], USDT[0.00000001]
07800072                              BTC[.00031956], GRT[23.42517589], NEAR[.9257], NFT (345432191948574909/Entrance Voucher #3253)[1], USD[2418.31]

07800075                              BTC[0.00005183], ETH[.005], USD[1.00]

07800082                              ETH[0], SOL[0.00000001], USD[0.00], USDT[.08196424]

07800086                              CUSDT[5], TRX[1], USD[0.00]

07800087                              DOGE[107], TRX[154.01431248], USD[0.00]

07800089                              GRT[10.989], SOL[79.99024], USD[122.91]

07800092                              BRZ[1], BTC[0], NFT (399333250852759435/Bahrain Ticket Stub #2156)[1], SHIB[1], USD[0.19]

07800102                              BAT[1.00901905], BTC[0], ETH[0], ETHW[7.08876946], GRT[1.0001304], NFT (496735884389876828/FTX - Off The Grid Miami #680)[1], SHIB[2], SUSHI[.00553276], TRX[2], USD[0.01]           Yes

07800117                              ETH[0.00000001], SOL[0], USD[0.00], USDT[0]

07800128                              SOL[.00578], USD[21.72]

07800129                              CUSDT[4], DOGE[2], TRX[1], USD[1.54]                                                                                                                                                 Yes

07800132                              SOL[.06389], SUSHI[2], USD[0.99]

07800136                              SOL[0], USD[0.00]

07800139                              NFT (318330370183463256/Next Level)[1], NFT (352339029007282311/Next Level #2)[1], NFT (519039296734159079/Next Level #3)[1], USD[20.01]

07800141                              USDT[0]

07800142                              USD[0.00]

07800144                              TRX[1], USD[0.00], USDT[0]                                                                                                                                                           Yes

07800155                              USD[0.73]

07800157                              USD[4.80]

07800166                              BTC[.00046851], ETH[.00675795], ETHW[.00675795], SOL[.07644498], USD[0.00]

07800169                              BTC[0], ETH[0.00043324], NFT (327836676597727007/2974 Floyd Norman - OKC 5-0061)[1], SOL[0.00001271], USD[0.00], USDT[5.58563094]

07800170                              USD[19.11]

07800171                              BTC[0], SOL[2.86946000], USD[23.56]

07800179                              USD[1.00], USDT[0]

07800185                              ETH[.00444097], ETHW[.00444097], USD[0.00]

07800191                              SOL[0], USD[0.06]

07800192       Contingent, Disputed   USD[3.03]

07800194       Contingent, Disputed   AVAX[27.972], BTC[.3458258], ETH[5.132561], ETHW[5.132561], SOL[40.67925], USD[12.48]

07800197                              BTC[.00011622], USD[0.00]

07800205                              NFT (410560682438153562/Coachella x FTX Weekend 2 #2380)[1]

07800207                              USD[0.76]

07800212                              USD[0.48]

07800224                              USD[0.00]

07800226                              BAT[1.00848324], BRZ[3], DOGE[1], GRT[1], KSHIB[.00064575], SHIB[3], SOL[.00004964], USD[0.01]                                                                                       Yes

07800235                              USD[0.00]                                                                                                                                                                            Yes

07800248                              BF_POINT[100], BTC[.00000015], DOGE[1], ETH[.00000317], ETHW[.34717509], SHIB[2], SOL[0.00000001], TRX[2], USD[0.22]                                                                 Yes

07800253                              DAI[0], USD[0.00], USDT[0.00000001]                                                                                                                                                  Yes

07800254                              NFT (364201067116189604/Microphone #6289)[1]

07800257                              TRX[.000086], USD[1.68], USDT[0.00142164]

07800261                              AAVE[.08999], BTC[.0016], ETH[.034], ETHW[.034], USD[2.36]

07800265                              SOL[.001395], USDT[.2613348]

07800268                              BTC[0], ETH[0], USD[0.00]

07800295                              BTC[.022], DOGE[3826.17], ETH[.01], ETHW[.4], USD[357.94]

07800300                              ETH[.00000001], ETHW[0], SOL[0], USD[0.00]

07800305                              BTC[0], USD[0.19]

07800306                              USD[0.00]

07800308                              BTC[0.00000001], USD[0.00]

07800314                              BRZ[2], DOGE[2], SHIB[6], SOL[.00057124], TRX[.00011887], USD[0.00], USDT[1.02543197]                                                                                                Yes

07800315                              SOL[.00000001]

07800316                              CUSDT[457], SHIB[1200000], USD[31.54]

07800323                              USD[2000.01]                                                                                                                                                                         Yes

07800324                              SHIB[71452.72334303], USD[205.33]                                                                                                                                                    Yes

07800325                              AVAX[9.69706365], BTC[.01870525], DOGE[2], ETH[.71024725], ETHW[.70994896], LINK[6.86321018], SHIB[5], SOL[3.362001], USD[0.00]                                                      Yes

07800328                              NFT (336227722984669986/Tome of Aetio [SE])[1], NFT (341094597370780338/Microphone #6124)[1], NFT (370653006064717583/FTX - Off The Grid Miami #760)[1], NFT
                                      (464167622172513016/Kamuy Protector [SE])[1]
07800332                              ETH[0], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07800337                              USD[0.00]

07800343                              ETHW[.376623], USD[0.01]

07800347                              SOL[0], USD[0.10], USDT[0]

07800354                              USD[2.46]

07800357                              BAT[1.0165555], BRZ[1], CUSDT[9], DOGE[7.25361294], ETHW[2.33846722], SOL[1.89373462], TRX[5], USD[0.00]                                                                               Yes

07800358                              BRZ[1], BTC[.00000192], CUSDT[5], DOGE[3], ETHW[1.89898645], GRT[1.00141644], SHIB[1], TRX[3], USD[0.00]                                                                               Yes

07800359                              LTC[.00192168], USD[0.19]

07800370                              CUSDT[1], ETH[0]                                                                                                                                                                       Yes

07800373                              NFT (291861476879505333/StarAtlas Anniversary)[1], NFT (291934809236301998/Congress)[1], NFT (303438347682567753/StarAtlas Anniversary)[1], NFT (328718678110500174/StarAtlas
                                      Anniversary)[1], NFT (382236586909257804/StarAtlas Anniversary)[1], NFT (391142191520451291/StarAtlas Anniversary)[1], NFT (418833171311996067/StarAtlas Anniversary)[1], NFT
                                      (438734511641579883/StarAtlas Anniversary)[1], NFT (479296564597706422/Bernie Sanders)[1], NFT (538401065493001449/StarAtlas Anniversary)[1], NFT (539821841657996913/Mitch
                                      McConnell)[1], USD[1.23]
07800375       Contingent, Disputed   NFT (503255270584700719/Entrance Voucher #26926)[1]

07800384                              CUSDT[1], ETH[0], ETHW[0], MATIC[0.00003024], SOL[0], USD[0.00]

07800392                              BTC[.00107642]

07800397                              BTC[0.00007766], ETH[.00088415], ETHW[.00188415], NEAR[99.7], SOL[.00856439], USD[10361.43]

07800404                              AAVE[286.767312], BTC[.00008663], ETH[.00020785], ETHW[.00020785], LINK[.04471], MATIC[9.0025], SOL[.002115], USD[834.77]

07800406                              USD[1000.00]

07800410                              SOL[.02]

07800414                              NFT (399829826394780104/Fortune Cookies #749)[1], NFT (407427923507958482/Fortune Cookies #685)[1], NFT (446430813132089497/Fortune Cookies #353)[1], NFT
                                      (492423321797644769/Fortune Cookies #491)[1]
07800438                              SHIB[2], USD[0.01]                                                                                                                                                                     Yes

07800442                              SOL[.00000835], USD[0.00]

07800447                              BTC[0.00110233], DOGE[602.32238378], SHIB[2474692.24708646], SOL[.00000001], TRX[1], USD[0.00], USDT[0.00000925]                                                                       Yes

07800449                              BTC[0.00116115], MATIC[5.112816], SOL[.00763147], USD[0.00]

07800451                              NFT (540585160577526819/The 2974 Collection #0449)[1], USD[2000.00]

07800452                              AUD[0.00], BTC[.00027552], CUSDT[1], SHIB[17.689655], TRX[4], USD[0.00]                                                                                                                Yes

07800458                              BTC[0.00072480], ETH[.00318413], ETHW[.00318413], KSHIB[8.6], NFT (383922646666638846/Birthday Cake #1523)[1], NFT (409629591902604405/The 2974 Collection #1523)[1], SHIB[4396500],
                                      USD[0.00]
07800461                              AAVE[0.00941042], AVAX[0.01990894], BCH[-0.02333835], BTC[-0.00001160], DOGE[6.67632145], ETH[0.03450234], ETHW[0.00231168], LINK[0.78030785], LTC[0.00538361], MATIC[0.13545709],
                                      SOL[0.00980171], SUSHI[0.78219525], TRX[0.62126334], USD[811.38]
07800473                              TRY[0.18], USDT[0]                                                                                                                                                                     Yes

07800477                              CUSDT[1], SOL[.28370158], TRX[1], USD[5.50], USDT[0.00000071]                                                                                                                          Yes

07800484                              USD[0.89]

07800491                              TRX[2861.136], USD[1.21]

07800492                              BTC[.71468883], ETH[.40875278], ETHW[.40875278], LINK[11.08927139], MATIC[1155.1566991], SOL[78.94142499], UNI[9], USD[5.66]

07800496                              ETH[.000999], ETHW[.000999], USD[9996.96]

07800511                              USD[1.36]

07800512                              ETH[.00000001], SOL[0], USDT[0]

07800515                              BTC[0], ETHW[.174], USD[0.00]

07800519                              BTC[0], ETH[0], EUR[0.00], SOL[0], USD[0.00], USDT[0.00000145]

07800525                              TRX[.000001], USDT[0.00000139]

07800528                              BTC[0], USD[1.11]

07800529       Contingent, Disputed   USD[2.03]

07800533                              BTC[.8491511], ETH[.000141], ETHW[.000141], SOL[.00077], USD[24398.19]

07800548                              BTC[.00509981], SOL[.21], USD[1.62]

07800554                              TRX[1], USD[0.00]

07800556                              USD[10.00]

07800558                              GRT[1.00148963], SOL[30.73812723], USD[0.00]                                                                                                                                           Yes

07800564                              ETH[0], SOL[0], USD[0.00]                                                                                                                                                              Yes

07800578                              ETH[0], NFT (319484943833473905/GSW Western Conference Semifinals Commemorative Ticket #776)[1], NFT (381366974240153098/GSW Western Conference Finals Commemorative Banner
                                      #1501)[1], NFT (439920726056115080/Warriors Logo Pin #70 (Redeemed))[1], NFT (466610091516018662/GSW Western Conference Finals Commemorative Banner #1502)[1], NFT
                                      (547958072793845107/GSW Championship Commemorative Ring)[1], SOL[0], USD[0.00]
07800579                              BTC[.02547564], USD[0.00]

07800582                              USD[2.37]

07800583                              SOL[0], USD[0.00]

07800588                              DOGE[1], USD[0.00]

07800589                              ETHW[.75975113]                                                                                                                                                                        Yes

07800592                              USD[0.00]

07800594                              BTC[0], ETH[0.00000025], ETHW[0.00000025], NFT (328400801932663752/Star Wars Sketch #2)[1], NFT (376866445557322463/Transparent Woman #3)[1], SHIB[2], SOL[0], USD[0.00]               Yes

07800596                              USD[300.01]

07800600                              BTC[.00024587], SOL[.29202422], USD[0.00]                                                                                                                                              Yes

07800613                              USD[10.00]
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                                                                                                                                            Customer Claims                                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07800615                              BTC[0], ETH[0], SOL[0], USD[0.00]

07800619                              USD[0.63]                                                                                                                                                                       Yes

07800630                              BTC[.00001714], SOL[0], USD[0.00], USDT[0.71000035]

07800632                              USD[0.00], USDT[0.00000001]

07800650                              ETH[0], SOL[0], USD[0.01]

07800656                              SOL[43.17336957], SUSHI[10.16784053], USD[0.00]

07800657                              BF_POINT[300], CUSDT[1], DOGE[1], USD[0.00]

07800677                              BAT[1.00890692], BF_POINT[100], BRZ[4], BTC[.00612275], CUSDT[3], DOGE[1341.87412597], ETHW[1.00557722], MATIC[95.44192173], SHIB[612144.97504367], SOL[12.15348135],           Yes
                                      TRX[536.13305078], USD[525.34]
07800685                              USDT[0.00001067]

07800698                              USD[0.00]

07800702                              USD[50.00]

07800703                              USD[0.00]

07800704                              USD[88.70], USDT[0]

07800711                              USD[1.24]

07800713                              USD[454.81]

07800714                              LINK[0.00015113], USD[0.00]

07800715                              USD[0.01]                                                                                                                                                                       Yes

07800721       Contingent, Disputed   BTC[.00001414], USD[0.34]

07800734                              USD[0.00]

07800736                              SOL[2.94341918], USD[0.00]

07800740                              ETHW[.000873], USD[0.13]

07800741                              CUSDT[2], DOGE[2], LTC[.00005556], TRX[1012.77326274], USD[0.00]                                                                                                                Yes

07800744                              USD[0.73]

07800748                              USD[9.50]

07800752                              BTC[0.00001276], DOGE[.02160419], TRX[.000001], USD[0.08], USDT[0.16631177]

07800753                              CUSDT[3], DOGE[2], SOL[.00012029], TRX[1], USD[0.01]                                                                                                                            Yes

07800764                              BTC[.04638859]                                                                                                                                                                  Yes

07800769                              BAT[1], CUSDT[1], DOGE[4], GRT[2], SOL[.36316002], SUSHI[1.09431474], TRX[1], USD[0.00]                                                                                         Yes

07800773                              BF_POINT[200], CUSDT[1], SOL[.72800595], TRX[1], USD[0.27]                                                                                                                      Yes

07800775                              USD[0.89]

07800786                              BTC[0], SOL[0], USD[0.28]

07800787                              USD[0.00]

07800789                              ETH[0], NFT (299272715645495515/StarAtlas Anniversary)[1], NFT (361416451174078454/StarAtlas Anniversary)[1], NFT (367197785899132584/StarAtlas Anniversary)[1], NFT
                                      (428145335588560176/LIGHTS Remix)[1], NFT (429592744967646425/StarAtlas Anniversary)[1], NFT (448243000379477746/StarAtlas Anniversary)[1], NFT (479672674523534426/StarAtlas
                                      Anniversary)[1], NFT (492931051261617762/StarAtlas Anniversary)[1], NFT (498105693112552063/StarAtlas Anniversary)[1], USD[0.00]
07800793       Contingent, Disputed   BTC[.00000002], NFT (509291022115175920/FTX - Off The Grid Miami #2746)[1], SHIB[1], USD[0.00]                                                                                  Yes

07800794                              USD[7.49]                                                                                                                                                                       Yes

07800796                              BAT[1], BRZ[1], CUSDT[1], DOGE[2], ETH[.00000108], ETHW[.00000108], GRT[0], SHIB[1], TRX[3], USD[0.00], USDT[0]                                                                 Yes

07800802                              USD[0.00], USDT[1.09729592]                                                                                                                                                     Yes

07800804                              USD[0.26]

07800808                              USDT[.8188138]

07800809       Contingent, Disputed   USD[0.00], USDT[0.00726300]

07800822       Contingent, Disputed   DOGE[0], MATIC[0], USD[0.00]

07800823                              CUSDT[1], SOL[.16046056], USD[0.00]                                                                                                                                             Yes

07800825                              BTC[.002]

07800830                              ALGO[100], MATIC[100], USD[9.26]

07800834                              ETH[.14372712], ETHW[.14372712], USD[1001.89]

07800852                              ETH[0], SOL[.00000001]

07800853                              BTC[0.01000690], ETH[0], ETHW[0], USD[90.68], USDT[1]

07800856                              ETH[0], USD[0.16], USDT[0.00000001]

07800866                              ETH[0], ETHW[0], SOL[0], USD[0.00]

07800872                              MATIC[79.924], USD[0.40]

07800873                              BTC[.0291], LINK[7.9], MATIC[479.8], SOL[5.93], USD[0.69]

07800877                              USD[0.00]

07800886                              USD[209.15]                                                                                                                                                                     Yes

07800892                              BTC[.00777018], CUSDT[2], ETH[.08430233], ETHW[.08327243], LINK[3.25547035], MATIC[35.77054821], SHIB[2645172.53100658], SOL[2.06133431], USD[0.00]                             Yes

07800899                              BTC[.00000078], ETH[0], USD[-0.01], USDT[0]

07800910                              USD[0.00]

07800913                              CUSDT[1], DOGE[1], MATIC[0], SOL[0]                                                                                                                                             Yes
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                                                                                                                                         Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07800916                           BTC[.0052265], ETH[.07366095], ETHW[.07366095], USD[0.00]

07800917                           USD[0.37]

07800923                           USD[0.01]                                                                                                                                                                              Yes

07800925                           USD[1.64]

07800927                           USD[0.01], USDT[1.07731792]                                                                                                                                                            Yes

07800933                           DOGE[1], SHIB[2], USD[0.00]                                                                                                                                                            Yes

07800936                           BTC[0], ETH[.00000001], ETHW[0], USD[2.25], USDT[0]

07800949                           BTC[.0000984], ETH[.0002461], ETHW[0.00024610], SOL[0.00650269], USD[24.53]

07800957                           AAVE[3.16985570], BAT[0], BTC[0], ETH[0], ETHW[0], LINK[217.22695276], SHIB[1], SOL[27.26466179], UNI[0], USD[45.35], USDT[0.00000116]                                                 Yes

07800964                           CUSDT[3], DOGE[1], ETH[0.00000612], ETHW[0.00000612], LINK[.0003016], SOL[0], USD[0.00], USDT[2.15345535]                                                                              Yes

07800968                           LINK[1.73414484]

07800970                           BTC[0], ETH[0.08059640], ETHW[0], USD[0.00], USDT[0.00000030]

07800971                           BTC[0], SOL[11.61837], USD[0.70]

07800974                           BTC[0], ETH[0.00305827], ETHW[0.00301723], MATIC[0], SHIB[1]                                                                                                                           Yes

07800981                           ETH[0.02437401], ETHW[0.02437401], NFT (506528538570220622/FIMBUL BYOS PACKLITE)[1], SOL[0.48141397], USD[0.00]

07800983                           LTC[0], USD[0.00], USDT[2.35]

07800984                           ETHW[.00021605], LINK[0], USD[3.13]

07800988                           BTC[.00000825], ETH[.0050946], ETHW[1.0050946], KSHIB[23367.7795], LINK[.283945], MATIC[.2305], NEAR[.49417], NFT (462538111105976085/Cyber Technician 3359)[1], NFT
                                   (555980100668200226/Cyber Pharmacist 6125)[1], SHIB[199810], SOL[.27088449], USD[0.04]
07800990                           ETHW[.00034533], USD[0.49], USDT[0]                                                                                                                                                    Yes

07800996                           SOL[.001]

07800997                           BTC[.05989451], LINK[149.8], SOL[157.37002], USD[0.79]

07801001                           USD[0.24]

07801015                           BTC[.01190803], SOL[0], USD[2.00], USDT[0.00000001]

07801022                           BTC[0], LINK[0], SOL[.00000001], USD[0.00]                                                                                                                                             Yes

07801024                           SHIB[1426390.78555265], USD[0.00]

07801027                           DOGE[0], MATIC[0.30000000], TRX[.000003], USD[4.70]

07801030                           USD[0.00]

07801033                           BTC[0.00003776], NFT (336078586318051045/2974 Floyd Norman - CLE 3-0016)[1], NFT (434945727666802149/Birthday Cake #0292)[1], NFT (520750447624531871/The 2974 Collection #0292)[1],
                                   NFT (525415153526580019/FTX - Off The Grid Miami #531)[1], NFT (561269461088022383/Romeo #1072)[1], USD[0.00]
07801034                           USD[0.00], USDT[1.13786438]

07801038                           BTC[0], ETH[0], SOL[0], USD[0.00]

07801047                           BRZ[1], CUSDT[3], DOGE[1], SOL[.35252005], TRX[965.84477318], USD[15.43], USDT[.11175398]                                                                                              Yes

07801049                           ETH[0], ETHW[0], MATIC[3.97083089], USD[0.00], USDT[0]

07801065                           MATIC[0], NFT (335754161736602309/Miami Ticket Stub #753)[1], NFT (494374288147977019/FTX - Off The Grid Miami #5575)[1], USD[0.22], USDT[0]

07801074                           BTC[0], ETHW[.0007681], USD[0.00]

07801086                           AAVE[.359676], BTC[.22322315], ETH[.319712], ETHW[.219802], LINK[21.09715], MATIC[409.6315], SHIB[4497660], SOL[59.973041], USD[2.48]

07801095                           BTC[0.00007025], ETHW[.000041], MATIC[.136], SOL[.00292656], USD[2.01]

07801096                           NFT (359988186005590866/The 2974 Collection #1196)[1], NFT (408038375341061505/Birthday Cake #1196)[1], NFT (512141308050737647/lazyPanda #25)[1], NFT (517704649561742917/2974
                                   Floyd Norman - CLE 2-0183)[1], USD[1104.00]
07801097                           USD[0.00]

07801102                           USD[0.00], USDT[.0037]

07801104                           USD[0.00]

07801123                           BTC[0], ETH[.248103], ETHW[.248103], SHIB[99200], USD[3.53], USDT[1.63]

07801128                           NFT (318368228018602287/Dog)[1], USD[11.00]

07801129       Contingent,         USD[0.01]
               Unliquidated
07801132                           USD[0.00]                                                                                                                                                                              Yes

07801135                           BCH[.04419143], BTC[.00053085], CUSDT[4], DOGE[109.38427601], KSHIB[457.23992787], USD[0.65]                                                                                           Yes

07801138                           USDT[.156759]

07801140                           ETHW[.058], USD[0.00]

07801142                           CUSDT[2], ETH[0], SOL[0], USD[0.00]                                                                                                                                                    Yes

07801153                           USD[0.00]

07801155                           USD[0.37]                                                                                                                                                                              Yes

07801156                           MATIC[60], USD[0.01]

07801164                           AVAX[0], BTC[0.00023556], DOGE[0], ETH[0.00330499], ETHW[0], LINK[0], LTC[0], NFT (312072895366651463/Saudi Arabia Ticket Stub #2059)[1], NFT (364305698238558561/FTX - Off The Grid   Yes
                                   Miami #475)[1], NFT (366487070320701634/Entrance Voucher #4429)[1], NFT (412136062924039511/Romeo #1538)[1], NFT (544378062602254624/Barcelona Ticket Stub #180)[1], SHIB[0],
                                   SOL[0.25388971], USD[6.78], USDT[0]
07801167                           AVAX[0], BRZ[5], BTC[0], CUSDT[4], DOGE[6], ETH[0], GRT[3.0044142], MATIC[0], SHIB[111], SOL[0], TRX[5], USD[0.00], USDT[0.00000026]                                                   Yes

07801177                           BTC[0.17033802], USD[4.68]

07801178                           ETH[.09], ETHW[.09], SOL[.78105931], USD[0.00], USDT[0.00000018]

07801190                           NFT (346283839039437540/Coachella x FTX Weekend 1 #29272)[1]
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                                                                                                                                            Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07801197                              NFT (303905858275327144/Ride The High. When Lambo? #2)[1], NFT (320500845268274274/Ride The High. When Lambo?)[1], NFT (379700591189869162/Euphoric. When Lambo?)[1], NFT
                                      (427572969311332542/ Mooning. When Lambo?)[1], NFT (436214950875058440/Buy The Dip. When Lambo?)[1], NFT (439878681003044400/LFG. When Lambo?)[1], NFT
                                      (465407796358565313/Hazed. When Lambo?)[1], NFT (512928105523729111/GOLD EDITION. When Lambo?)[1], USD[2.38]
07801201                              TRX[.000001], USD[0.00]

07801202                              CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                       Yes

07801206                              USD[0.00]

07801212                              BTC[.00869158], SHIB[1], USD[0.00]                                                                                                                                                Yes

07801213                              AAVE[0], BRZ[1], DOGE[1], ETH[0.00000009], ETHW[0.00000009], LINK[.0076639], LTC[0], MATIC[0.86006809], NFT (486241747930654648/BucketHead 597)[1], SHIB[9], SOL[0.04201261],     Yes
                                      SUSHI[0], TRX[.00018548], USD[0.91], USDT[0.00000001]
07801221                              BTC[0], ETH[.000736], ETHW[.000736], USD[7.07], USDT[6.7605448]

07801227                              USD[98.97], USDT[.00616653]

07801228                              USD[0.00]

07801229                              USD[4.47]

07801230                              USD[0.01]                                                                                                                                                                         Yes

07801231                              NFT (545833414961271188/The Hill by FTX #3273)[1], USD[0.61]

07801236                              BTC[.13861628], ETH[2.45819186], ETHW[2.27167999], USD[0.00]

07801239                              ETHW[.53806208], USD[0.00], USDT[0.00216578]

07801241                              BTC[.000028], SOL[4.97797934]                                                                                                                                                     Yes

07801246                              BRZ[1], SHIB[1], TRX[2], USD[0.00], USDT[1.00023738]                                                                                                                              Yes

07801252                              ETH[.00000001]                                                                                                                                                                    Yes

07801256                              BAT[1], DOGE[1], GRT[1], SHIB[1], SOL[3.1118639], TRX[1], UNI[1.04467304], USD[5.37], USDT[0]                                                                                     Yes

07801260                              BTC[0.02509838], DOGE[200], ETH[1.09080905], ETHW[1.09080905], GRT[54], LINK[62.286605], MATIC[639.506], SHIB[2197910], SOL[60.0675125], SUSHI[20], TRX[430.59055], USD[60.29],
                                      USDT[1.22554339]
07801262                              ETH[.02866726], ETHW[.02866726]

07801263                              ETH[.145], ETHW[.145], PAXG[.05634642], USD[66.84]

07801269                              BTC[0], SOL[0], USD[0.00]

07801273                              USD[0.00]

07801292                              USD[0.00]

07801296                              AAVE[0], BTC[0.00154510], DOGE[391.93462696], ETH[0.05794919], ETHW[0.05794919], LTC[0], MATIC[129.37665549], MKR[0], SHIB[0], SOL[2.81414876], SUSHI[0], USD[0.00], USDT[0],
                                      YFI[0.00497067]
07801300                              USD[5.00], USDT[0.00901178]

07801304       Contingent, Disputed   BAT[2.04394878], BF_POINT[200], BRZ[4], CUSDT[1], DOGE[5], GRT[3.02148526], LINK[.00063427], MATIC[.0042841], NFT (511870653953549445/Austin Ticket Stub #98)[1], NFT             Yes
                                      (525579728631990793/FTX - Off The Grid Miami #2767)[1], SHIB[4], TRX[7], USD[0.00]
07801307                              BTC[.00002282], USD[0.00], USDT[0.00000001]                                                                                                                                       Yes

07801316                              DOGE[1], SOL[0], TRX[1], USD[0.01]                                                                                                                                                Yes

07801322                              BAT[1], BRZ[2], BTC[.01881406], CUSDT[2], DOGE[7.02555328], SHIB[20471066.34271967], SOL[13.56437434], SUSHI[1.05487763], TRX[2], USD[5062.12], USDT[1.05083889]                  Yes

07801331                              BAT[1.0165555], CUSDT[1], SOL[11.59418871], TRX[233.04994135], USD[1075.57]                                                                                                       Yes

07801336                              SOL[1.13873116], USD[0.00]

07801337                              NFT (337977874562873929/Black Bear Eyes Berries)[1], NFT (346750138753560701/Wild Horses of California)[1], NFT (414216299261248688/The Hill by FTX #1023)[1], NFT                Yes
                                      (436599891569230731/Tufa and Water)[1], NFT (438970795198362027/Pacific Seascapes)[1], USD[0.02]
07801338                              ETH[.00012858], ETHW[0.00012857], USDT[1.232203]

07801341                              USD[0.42]

07801344                              MATIC[.00001028], SOL[.00397532], USD[0.00], USDT[0.00000080]

07801346                              BAT[1], DOGE[1], GRT[3], SHIB[5], SOL[.00675768], TRX[3], USD[0.06], USDT[2]

07801347                              ETH[.00064485], ETHW[0.00064484], USD[13.21]

07801356                              TRX[1], USD[0.00]                                                                                                                                                                 Yes

07801358                              DOGE[2], MATIC[.00000748], SHIB[6], USD[0.02]                                                                                                                                     Yes

07801370                              CUSDT[1], SHIB[2221187.5543142], USD[0.03]                                                                                                                                        Yes

07801371       Contingent, Disputed   ETH[0], NEAR[.075], SOL[0], USD[0.00]

07801373                              SHIB[1], TRX[1], USD[4105.53]                                                                                                                                                     Yes

07801376                              NFT (483247680689345915/Entrance Voucher #4334)[1], USD[0.00]

07801385                              BTC[.01129702], DOGE[1], USD[0.56]                                                                                                                                                Yes

07801394                              UNI[0], USD[0.75]

07801401                              SHIB[57.37972035], USD[0.91]                                                                                                                                                      Yes

07801402                              USD[20.00]

07801409                              USD[0.00], USDT[0.00000001]

07801412                              DOGE[1], NFT (306500347983049012/Cartons album #27)[1], USD[9.77]                                                                                                                 Yes

07801417                              BRZ[2], CUSDT[1], ETHW[2.18769072], NFT (351916424394836988/GSW Western Conference Finals Commemorative Banner #1922)[1], NFT (422624236032412679/GSW Western Conference Finals   Yes
                                      Commemorative Banner #1921)[1], SHIB[10422475.35668992], USD[0.00]
07801422                              BTC[0], DOGE[229], ETH[0], ETHW[0], USD[0.06]

07801427                              DOGE[8], USD[0.06], USDT[0.00849504]
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                                                                                                                                         Customer Claims                                                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07801431                           ETH[0], ETHW[0], NFT (294664081973168230/Tulip Essentials #87)[1], NFT (294839944781842109/Tulip Essentials #80)[1], NFT (296668751303550205/Tulip Essentials #28)[1], NFT
                                   (297364462955514442/Tulip Essentials #21)[1], NFT (297740659544257421/Interstellar Tulip Transporter #3)[1], NFT (297745924361718924/Tulip Essentials #65)[1], NFT (297881089873808845/Tulip
                                   Essentials #42)[1], NFT (298166539109999914/Tulip Essentials #73)[1], NFT (299898004918478012/Tulip Essentials #31)[1], NFT (300942472041781025/Tulip Essentials #9)[1], NFT
                                   (307819166878225501/Tulip Essentials #29)[1], NFT (308402836931928611/Tulip Essentials #67)[1], NFT (308907565016548644/Tulip Essentials #72)[1], NFT (311875324480526904/Tulip Essentials
                                   #98)[1], NFT (324420007247755761/Tulip Essentials #14)[1], NFT (331352866343134101/Tulip Essentials #2)[1], NFT (337710925863607342/Interstellar Tulip Transporter)[1], NFT
                                   (339061538354177494/Tulip Essentials #5)[1], NFT (341386194174323346/Tulip Essentials #20)[1], NFT (341526806560191106/Tulip Essentials #58)[1], NFT (344581755010234250/Tulip Essentials
                                   #70)[1], NFT (345548404092097171/Tulip Essentials #74)[1], NFT (346280918328502755/Tulip Essentials #81)[1], NFT (349263650050511541/Tulip Essentials #18)[1], NFT
                                   (352149911170795254/Tulip Essentials #88)[1], NFT (352854106760862154/Tulip Essentials #59)[1], NFT (356499204667764994/Tulip Essentials #34)[1], NFT (359444323698790752/Tulip Essentials
                                   #19)[1], NFT (360380135892306436/Tulip Essentials #85)[1], NFT (360403068634061521/Tulip Essentials #94)[1], NFT (360648879259834489/Tulip Essentials #100)[1], NFT
                                   (361383703733731218/Tulip Essentials #30)[1], NFT (362952014616383491/Tulip Essentials #95)[1], NFT (374887967279711982/Tulip Essentials #47)[1], NFT (376244055798003893/Tulip Essentials
                                   #49)[1], NFT (378204467268637271/Tulip Essentials #93)[1], NFT (378488641675635052/Tulip Essentials #12)[1], NFT (379691077200607036/Tulip Essentials)[1], NFT (381513369484103046/Tulip
                                   Essentials #8)[1], NFT (386417458517259814/Tulip Essentials #35)[1], NFT (387794882159388700/Tulip Essentials #90)[1], NFT (392368868343554283/Tulip Essentials #97)[1], NFT
                                   (395365896356244937/Tulip Essentials #43)[1], NFT (398665653994302995/Tulip Essentials #26)[1], NFT (399863288710541525/Tulip Essentials #68)[1], NFT (401775320513203147/Tulip Essentials
                                   #3)[1], NFT (401931707717732930/Tungsten Angel)[1], NFT (401966200760212997/Interstellar Tulip Transporter #2)[1], NFT (402240626751544572/Farcus)[1], NFT (406915467935151130/Tulip
                                   Essentials #38)[1], NFT (410153518157507803/Tulip Essentials #76)[1], NFT (417456498891169969/Tulip Essentials #79)[1], NFT (418740316833662750/Tulip Essentials #89)[1], NFT
                                   (420756892970899115/Tulip Essentials #11)[1], NFT (422560658775216369/Tulip Essentials #61)[1], NFT (430588679837191577/Tulip Essentials #10)[1], NFT (431375010000239569/Tulip Essentials
                                   #66)[1], NFT (439646781868819493/Tulip Essentials #7)[1], NFT (441812435857031013/Tulip Essentials #78)[1], NFT (449767437373493626/Tulip Essentials #86)[1], NFT (452574438521423861/Tulip
                                   Essentials #36)[1], NFT (454900060449200699/Tulip Essentials #24)[1], NFT (458395232254895721/Tulip Essentials #50)[1], NFT (458782113302759221/Safehouse)[1], NFT
                                   (467260086412186059/Tulip Essentials #25)[1], NFT (470468367138675627/Tulip Essentials #16)[1], NFT (479924596070447922/The Oracle)[1], NFT (480130820732201920/Mech Protector- Tulip
                                   59)[1], NFT (480279329345764279/Tulip Essentials #40)[1], NFT (481879527847817150/Tulip Essentials #99)[1], NFT (482011850229736727/Tulip Essentials #13)[1], NFT (490483064759544261/Tulip
                                   Essentials #55)[1], NFT (491529376840784538/Tulip Essentials #91)[1], NFT (491955046883531553/Tulip Essentials #27)[1], NFT (492350276029393615/Tulip Essentials #64)[1], NFT
                                   (496873463998869406/Tulip Essentials #23)[1], NFT (499004170322806876/Tulip Essentials #83)[1], NFT (499437020218323904/Tulip Essentials #51)[1], NFT (506021166783349677/Tulip Essentials
                                   #22)[1], NFT (507732880936035071/Tulip Essentials #37)[1], NFT (512737377133523684/Tulip Essentials #62)[1], NFT (522837466076283141/Tulip Essentials #33)[1], NFT
                                   (524206325215394804/Tulip Essentials #60)[1], NFT (526422407941745793/Tulip Essentials #41)[1], NFT (529487511916567513/Tulip Essentials #52)[1], NFT (535027785146702492/Tulip Essentials
                                   #53)[1], NFT (535383215335906168/Tulip Essentials #45)[1], NFT (536630802863408315/Tulip Essentials #57)[1], NFT (537319359282432607/Tulip Essentials #75)[1], NFT
                                   (539248220661334257/Tulip Essentials #39)[1], NFT (542842763580075679/The Grand Parrot)[1], NFT (543183436546585775/Tulip Essentials #92)[1], NFT (546652429953898075/Tulip Essentials
                                   #32)[1], NFT (547843163984453450/Tulip Essentials #6)[1], NFT (548194649969608492/Irradiated Tulip)[1], NFT (550859998697234372/Tulip Essentials #77)[1], NFT (556305231555734165/Tulip
                                   Essentials #17)[1], NFT (557874449931499981/Tulip Essentials #69)[1], NFT (559100065948814210/Tulip Essentials #63)[1], NFT (563100031605935301/Tulip Essentials #84)[1], NFT
                                   (566715139007702093/Tulip Essentials #96)[1], NFT (567894581801355946/Tulip Essentials #71)[1], NFT (569097963017773353/Tulip Essentials #82)[1], NFT (573639310179390337/Tulip Essentials
                                   #4)[1], NFT (575481649980031199/Tulip Essentials #44)[1], SOL[.022]

07801433                           AAVE[.00726], LINK[.0378], SOL[.00140323], SUSHI[.457], TRX[.000051], USD[0.01], USDT[.000064]

07801442                           BRZ[1], SOL[1.35980743], USD[0.00]                                                                                                                                                             Yes

07801450                           NFT (339510387738836922/Entrance Voucher #3641)[1], USDT[51.297512]

07801468                           BTC[0], USD[0.00], USDT[0.00013917]

07801472                           BTC[.00073252], SOL[0], USD[0.00]

07801476                           SHIB[1], USD[0.00]                                                                                                                                                                             Yes

07801480                           BAT[1.01111712], BTC[1.05886067], CUSDT[1], DOGE[3], GRT[1], SOL[0], TRX[2], USD[0.05], USDT[1.01394646]                                                                                       Yes

07801487                           BTC[.00000577], USD[11183.03]                                                                                                                                                                  Yes

07801501                           BAT[1], BRZ[2], BTC[.2174138], CUSDT[13], DOGE[124.00194648], ETH[1.84962466], ETHW[1.33144321], SHIB[630347.16529064], SOL[4.39636896], TRX[12], USD[0.00], USDT[2.06852659]                  Yes

07801504                           SOL[.001], TRX[13], USD[0.18]

07801527                           BF_POINT[300], BRZ[5.03537825], CUSDT[17], DOGE[.24557353], GRT[1], NFT (334991543844191959/Warriors 75th Anniversary City Edition Diamond #1077)[1], SHIB[33], TRX[1.72275355],               Yes
                                   USD[10.28], USDT[.00016434]
07801531                           CUSDT[2], ETH[.00000695], ETHW[.00000695], GRT[2], USD[0.00], USDT[2.14693384]                                                                                                                 Yes

07801536                           NFT (422558956498836581/Mushie #8198)[1], USD[0.24]

07801537                           USD[0.00]                                                                                                                                                                                      Yes

07801538                           USD[0.00]

07801543                           ETH[.00193164], ETHW[.00193164], USD[3.24]

07801558                           NFT (476348790703688129/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #85)[1], NFT (499257219160684583/Monochrome Hell)[1], NFT
                                   (534190963423761203/Valley #4)[1], NFT (534493739240512243/Aural Light Collection on Solana #4)[1], NFT (559533443447839162/Marcus Allen's Playbook: Kansas City Chiefs vs. Detriot Lions -
                                   November 29, 1996 #43)[1], USD[161.25]
07801562                           BTC[.00001298], USD[0.00], USDT[25.3383482]

07801571                           NFT (392949336971535825/RugToadz #220)[1], NFT (489198577314328817/SolToadz #1618)[1]

07801574                           SOL[.002], USD[0.00]

07801579                           ETH[0], SOL[0.00377367], USD[0.00], USDT[3.78710699]

07801583                           NFT (408387712589466191/Coachella x FTX Weekend 2 #24199)[1]

07801586                           USD[0.04]

07801587                           SOL[.02759814]

07801588                           DAI[0], SHIB[46.11388550], SOL[0], USDT[0]                                                                                                                                                     Yes

07801590                           USD[0.00]

07801595                           SHIB[1], USD[1.09], USDT[0]                                                                                                                                                                    Yes

07801611                           BAT[1.00724066], ETH[.00002294], ETHW[.00002294], NFT (338446602793004867/Coachella x FTX Weekend 2 #433)[1], TRX[1], USD[0.00]                                                                Yes

07801624                           BTC[.00000328]

07801625                           BTC[0.00007685], ETH[1], ETHW[1], SOL[5.68431], USD[496.96]

07801629                           ETH[0.00020369], ETHW[0.00020369], GRT[0], TRX[1], USD[0.00], USDT[0.00000001]

07801635                           NFT (407126116757103775/Modified Pythagorean)[1], SOL[4.7501698], USD[161.36]

07801637                           USD[0.01]

07801639                           BTC[.00000024], MATIC[0], USD[0.00]                                                                                                                                                            Yes

07801650                           USD[1.81]

07801653                           DOGE[1.00193996], MATIC[.00054284], SOL[.00000603], TRX[2], USD[102.86]                                                                                                                        Yes

07801654                           USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07801655                              SOL[.00000001], USD[0.40]

07801657                              BTC[.00004964], TRX[1], USD[0.03], USDT[1.00049954]                                                                                                                                    Yes

07801662                              ETHW[.25], NFT (540496949503463064/Entrance Voucher #26544)[1], USD[0.00]

07801672                              LINK[1.10203468], TRX[139.90781244]                                                                                                                                                    Yes

07801678                              MATIC[0]

07801679                              USD[0.05]                                                                                                                                                                              Yes

07801683                              USD[0.00]

07801698                              USD[0.46]

07801705                              BTC[0], ETH[0], ETHW[0.00536561], SOL[0], USD[0.00], USDT[0.00000036]

07801715                              USD[40.00], USDT[0.00000001]

07801721                              CUSDT[1], USD[0.42]                                                                                                                                                                    Yes

07801729                              BTC[0.01708375], USD[1300.79]

07801730                              ETHW[.0005224], SOL[.00575], TRX[.05], USD[373.79], USDT[0]

07801744       Contingent, Disputed   USD[0.01]                                                                                                                                                                              Yes

07801746                              CUSDT[1], ETH[.00000026], ETHW[.00000026], USD[0.00]                                                                                                                                   Yes

07801750                              USD[0.00], USDT[0]                                                                                                                                                                     Yes

07801752                              SOL[.00000001]

07801756                              NFT (487813709004693021/Reflection '12 #94)[1], USD[1.72]

07801758                              CUSDT[4], DOGE[3], TRX[1], USD[0.00], USDT[0]                                                                                                                                          Yes

07801762                              BTC[.020979], SOL[0], USD[6.11]

07801769                              DOGE[2], LINK[.00050998], SHIB[11], TRX[1], USD[0.00], USDT[1.01372803]                                                                                                                Yes

07801772                              ETH[.00000001], NFT (304601150209916472/Monochrome Collection #1 #6)[1], NFT (376305952540097806/Monochrome Collection #1 #5)[1], NFT (414759262165654293/Monochrome Collection #1
                                      #2)[1], NFT (488968984431070254/Monochrome Collection #1 #3)[1], USD[0.00]
07801781                              DOGE[1], USD[0.00]                                                                                                                                                                     Yes

07801785       Contingent, Disputed   NFT (384564127756469678/Microphone #353)[1], NFT (567501036007213612/Entrance Voucher #3926)[1], SOL[.02]

07801789                              BRZ[3], CUSDT[75.68990733], DOGE[5.00772284], ETH[.01571937], ETHW[.01552785], GRT[2.04025342], SHIB[2528396.49710671], SOL[1.62683033], TRX[7], USD[0.00], USDT[1.07966203]           Yes

07801794                              BF_POINT[300], ETHW[0], USD[0.45]                                                                                                                                                      Yes

07801801                              DOGE[1852.77945105], ETH[0], SOL[0.00000001], USD[0.00], USDT[0]

07801810                              SOL[2.03929604], USD[0.00]

07801819                              BAT[.188], USD[188.63]

07801831       Contingent, Disputed   SOL[0.00029520], USD[0.00]                                                                                                                                                             Yes

07801835                              BTC[0.06000000], USD[0.95]

07801844                              USD[0.03]

07801848                              NFT (352809519136006320/Microphone #1300)[1]

07801849                              BTC[.0000001], TRX[1], USD[0.01]                                                                                                                                                       Yes

07801855                              ETHW[0.00773214], SHIB[53723.60273057], USD[0.01]

07801859                              CUSDT[4], DOGE[1], MATIC[.00310969], USD[0.00]                                                                                                                                         Yes

07801861                              AVAX[0], BTC[0], DOGE[1], ETHW[25.18556939], SHIB[2], SOL[0], USD[1715.84], USDT[1.00007304]                                                                                           Yes

07801865                              ETHW[.00067506], USD[0.00], USDT[0]

07801869                              USD[1.19]

07801871                              BF_POINT[300], ETH[.00002509], ETHW[2.74679546], MATIC[0], USD[0.00]                                                                                                                   Yes

07801878                              ETH[.979969], ETHW[.979969], LINK[10.01614623], MATIC[334.57222439], SOL[12.30150544], USD[2.09]

07801880                              USD[0.10]

07801881                              BRZ[1], USD[0.01]                                                                                                                                                                      Yes

07801884                              BTC[0], GRT[1.00090766], SHIB[7], USD[0.00], USDT[0]                                                                                                                                   Yes

07801887                              LTC[.11], SOL[0.10435957]

07801896                              NFT (539896356616622629/Entrance Voucher #2071)[1], USD[0.00]

07801899                              NFT (455751054626685916/Belugie #155)[1], NFT (456842814551175456/Raccoon 19)[1], NFT (566720176607538027/EtherTroopers#399)[1], SOL[2.99], USD[0.00]

07801900                              NFT (426331955474294950/Founders batch #5)[1], NFT (429777799595034066/Founders batch #6)[1], NFT (474811603309240676/Animan #2)[1], NFT (546332114795508520/Founders batch #4)[1],
                                      USD[0.00], USDT[0]
07801902                              NFT (379636581466008281/Night Light #898)[1], NFT (541675709719021641/Night Light #365)[1], USD[0.16]

07801903                              ETH[0], ETHW[0], SUSHI[0], USD[0.00], USDT[0]                                                                                                                                          Yes

07801910                              BTC[.0041]

07801913                              NFT (301352677279743363/Meeting the dragon-fly)[1], NFT (361865204933007761/1st Soul picture)[1], NFT (396333728876879426/17 #2)[1], NFT (426344535009959368/Soul picture - World of
                                      peace)[1], NFT (428797467677345303/17)[1], NFT (438788958548828293/To the Moon)[1], NFT (473952187263233187/flowing art)[1], USD[0.00]
07801919                              USD[0.26]

07801927                              NFT (296645497625538837/Adrenaline Mummy #1)[1], NFT (306041807846986451/Adrenaline Mummy #2)[1], NFT (405491134578858813/Adrenaline Mummy #3)[1], NFT
                                      (528396522412257583/Adrenaline Mummy #4)[1], USD[0.27]
07801928                              NFT (555697366554631180/FTX - Off The Grid Miami #1318)[1], SOL[.00445007], USD[0.22]                                                                                                  Yes

07801935                              NFT (310582497088699998/Entrance Voucher #3092)[1], SOL[.00000001], TRX[.000046], USD[3577.10], USDT[0]

07801941                              AVAX[1.08389713], BAT[129.43953448], BTC[.07720818], DOGE[1831.29852289], LTC[1.00216614]                                                                                              Yes
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                                                                                                                                            Customer Claims                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07801950                              BTC[.0211788], ETHW[1.0989], MATIC[370], SOL[4.995], USD[91.68]

07801958                              ALGO[0], ETH[0], SOL[0], USD[0.03], USDT[.00687537]

07801962                              NFT (385983661817251139/FTX - Off The Grid Miami #1867)[1]

07801966                              AAVE[0], DOGE[0], SHIB[0], TRX[12.96769807], USD[0.00], USDT[0.00000001]                                                                                                      Yes

07801977       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07801980                              NFT (333528902992680029/Baby Whales #971)[1], NFT (426376933337055204/Baby Whales #872)[1], NFT (447185773737495357/SolDad #5744)[1], NFT (465918849956144115/Whales Nation
                                      #416)[1], NFT (514182848741369297/Whales Nation #4171)[1], NFT (557110905994714196/Toolkit)[1], SHIB[0], SOL[34.31177685], USD[0.00]
07801991                              LINK[0], SOL[0], USD[0.00], USDT[0]                                                                                                                                           Yes

07802007                              CUSDT[1], DOGE[1], SOL[0], USD[0.00]                                                                                                                                          Yes

07802009                              AAVE[.005], BTC[.0000128], ETH[.0001], ETHW[.0001], MATIC[7], MKR[.0004], USD[16524.68]

07802014                              USDT[0.00000041]

07802016                              BAT[1.00240477], BTC[.73301696], ETH[.00001817], ETHW[2.5514507], SOL[.00003113], USD[0.00]                                                                                   Yes

07802021                              SOL[5.813166]

07802027                              USD[0.95]

07802031                              LINK[10], USD[242.23]

07802034                              NFT (363856936409368511/Side-dick)[1], USD[15.00]

07802036                              BTC[.04452311], CUSDT[2], DOGE[2], SOL[39.41408621], TRX[1], UNI[79.04750759], USD[0.00], USDT[1.0686837]

07802041                              BTC[.13060203], SOL[.00911], USD[3.39]                                                                                                                                        Yes

07802046       Contingent, Disputed   BTC[.00000041], SOL[.00035995], UNI[.0007219], USD[0.00], USDT[.00000976]                                                                                                     Yes

07802054                              BAT[3.02749022], BRZ[1], DOGE[11.02564618], MATIC[.022663], NFT (565843528793253264/Warriors Gold Blooded NFT #1093)[1], SHIB[24], SOL[.66888135], TRX[7], USD[0.00]          Yes

07802057                              DOGE[1], USD[0.00]                                                                                                                                                            Yes

07802059                              AVAX[1.94958148], ETH[.13313519], ETHW[.1320648], MATIC[105.11151273], SHIB[4], SOL[5.30773994], USD[0.00]                                                                    Yes

07802072                              ALGO[.036], AVAX[.5], BCH[.093], DOGE[107.7270129], SOL[.03986256], USD[0.06]

07802077                              ETH[.00067], ETHW[.00067], USD[2.36], USDT[1.6831048]

07802080                              AAVE[.00000001], BF_POINT[200], ETH[0], SHIB[3.55437665], USD[0.00], USDT[0]                                                                                                  Yes

07802082                              USD[10.98]                                                                                                                                                                    Yes

07802085                              BF_POINT[200], BRZ[1], BTC[0], CUSDT[4], DOGE[5], ETH[0.00000403], ETHW[0.00000403], SOL[0], TRX[2], USD[0.00]                                                                Yes

07802087                              SOL[5.60992821], USD[0.17]                                                                                                                                                    Yes

07802110                              NFT (316482668598021874/Coachella x FTX Weekend 1 #26791)[1], NFT (567739212358027723/FTX - Off The Grid Miami #1535)[1], SOL[.00000001], USD[0.01]

07802117                              USD[0.00]

07802119                              ALGO[2.95165534], AVAX[1.06273621], BRZ[27.42852402], CUSDT[501.69369339], DAI[1.10874823], DOGE[158.20200336], ETHW[1.17101617], GRT[14.8094784], HKD[7.76],                 Yes
                                      KSHIB[5009.02989382], MATIC[2.13854925], MKR[.00210941], NEAR[2.65946501], NFT (309862217085680587/ALPHA:RONIN #105)[1], NFT (340085467626435123/#4868)[1], NFT
                                      (398185208766237618/Animal Gang #320)[1], NFT (424189285627512534/Lunarian #4484)[1], NFT (547298544108081021/Lunarian #9248)[1], PAXG[.00287189], SHIB[5267969.41819089],
                                      SOL[1.55548717], SUSHI[10.06015474], TRX[118.7250531], UNI[1.03123253], USD[11.75]
07802123                              AAVE[.70701836], ALGO[100.5355319], AVAX[1.03307797], BRZ[1], BTC[.01272302], ETH[.22581531], ETHW[.22560725], GRT[207.72797728], LINK[5.60782301], MATIC[103.35170626],      Yes
                                      NEAR[9.43801072], SHIB[27], SOL[6.23224695], TRX[2], UNI[3.12883563], USD[0.33]
07802126                              USD[10.63]

07802127                              USD[0.85]

07802129                              CUSDT[1], USD[0.00]                                                                                                                                                           Yes

07802133                              ETHW[.0002687], USD[0.03], USDT[.074196]

07802137                              BF_POINT[300]                                                                                                                                                                 Yes

07802138                              USD[0.00]

07802144                              USD[0.00]

07802147                              USD[0.00]

07802149                              USD[0.00], USDT[0.00000097]

07802151                              USD[3.39]

07802167                              SHIB[1], YFI[0.00069959]                                                                                                                                                      Yes

07802173                              USD[0.00]

07802175       Contingent, Disputed   MATIC[0], SOL[0], USDT[0.00000132]                                                                                                                                            Yes

07802186                              BTC[0], USD[0.00]

07802191                              NFT (336379430122578564/Space Bums #9840)[1], NFT (507118564088012757/Gloom Punk #9095)[1], SOL[0], USD[0.72]

07802192                              BTC[0], MATIC[0], SOL[0], USD[0.00]

07802199                              NFT (401527242206289121/joinhere.eth)[1], NFT (496674600748927050/Joinhere)[1], NFT (499688330564973748/joinhere.crypto)[1], USD[3.27]

07802200                              ETH[.00000067], ETHW[.00000067], USD[0.00]

07802203                              BTC[0], SOL[3.6005993], USD[0.05]

07802207                              BTC[.00047688], DOGE[1], USD[0.01]                                                                                                                                            Yes

07802208                              USD[2.19]                                                                                                                                                                     Yes

07802214                              TRX[1], USD[0.00]                                                                                                                                                             Yes

07802216                              USD[0.24]

07802223                              USD[5.15]

07802224                              MATIC[8.75], SOL[.00336], USD[3390.56]
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                                                                                                                                            Customer Claims                                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07802226                              ETH[0], NFT (361727486908077292/Entrance Voucher #4023)[1], NFT (385170458631889629/FTX - Off The Grid Miami #2099)[1], SOL[4.84591571], USD[0.00]

07802240                              CUSDT[1], SOL[3.9676761], USD[0.82]                                                                                                                                                              Yes

07802248                              ETHW[5.25341081], USD[0.00]                                                                                                                                                                      Yes

07802257                              SOL[0], USD[0.00], USDT[0]

07802268                              BF_POINT[200], BRZ[1], BTC[0.00968080], DOGE[2], ETH[0], ETHW[0.16621719], NFT (291797020125441274/Good Boy #166)[1], NFT (415206854047879079/Entrance Voucher #1674)[1], NFT                    Yes
                                      (502845794704604789/Saudi Arabia Ticket Stub #678)[1], NFT (534369240171052456/Barcelona Ticket Stub #2248)[1], SHIB[22], SOL[0.00000317], TRX[2], USD[0.00], USDT[0.00000001]
07802271                              TRX[.000192], USD[0.51], USDT[.00058089]                                                                                                                                                         Yes

07802273                              LINK[.00000001], PAXG[.00000001], SHIB[.00000001], SOL[.00000001], TRX[0], USD[0.99]

07802279                              BTC[.0000907], GRT[0], SOL[0], TRX[0], USD[0.02], USDT[0]

07802292                              ETH[0], SOL[0], USD[0.00]

07802304                              USD[0.00]

07802314                              USD[0.00]

07802325                              BRZ[1], CAD[0.00], DOGE[1], TRX[1], USD[10069.62]

07802326                              BRZ[38.07252976], SOL[0], USD[0.00]                                                                                                                                                              Yes

07802327                              BTC[0], ETH[0], MATIC[0], NFT (290364884722321435/Raydium Alpha Tester Invitation)[1], NFT (318157655114763996/Raydium Alpha Tester Invitation)[1], NFT (342448273233745796/Raydium Alpha
                                      Tester Invitation)[1], NFT (349715072571638639/Raydium Alpha Tester Invitation)[1], NFT (367872897034458136/Raydium Alpha Tester Invitation)[1], NFT (401951305662769593/Astral Apes #978)[1],
                                      NFT (429395972937206499/Raydium Alpha Tester Invitation)[1], NFT (474893639496108951/Raydium Alpha Tester Invitation)[1], NFT (561134832210464766/Raydium Alpha Tester Invitation)[1], NFT
                                      (566694474233144241/Raydium Alpha Tester Invitation)[1], SOL[0], USD[0.00], USDT[0]
07802336                              USD[0.00]

07802344                              USD[0.01]

07802349                              USD[0.00]

07802359                              SHIB[1], USD[0.00]                                                                                                                                                                               Yes

07802373                              ALGO[161.81446049], USD[0.00], USDT[49.75019976]

07802380                              SOL[.03544957], USD[73.46]

07802381                              SOL[14.56542], USD[8.17]

07802383                              USD[2.09]

07802388                              BAT[.08628103], BTC[.00000785], DOGE[359.676], KSHIB[29.973], LINK[.1], LTC[.00005323], USD[0.16]

07802398                              NFT (435568045675313539/FTX - Off The Grid Miami #714)[1]

07802409       Contingent, Disputed   USD[0.00], USDT[0]

07802414                              DOGE[1], MATIC[58.18611422], USD[0.00]

07802434                              ETH[.13172238], ETHW[.13172238], USD[0.00]

07802438                              USD[0.00]

07802447                              NFT (296021451793666092/Entrance Voucher #3009)[1], NFT (351035491211625183/The Hill by FTX #2534)[1], SOL[0], TRX[.000009], USD[0.00]

07802448                              USD[21.51]                                                                                                                                                                                       Yes

07802451                              SOL[11.92243139], USD[0.00]

07802453                              BTC[.0031], NFT (438243378521142597/Refracting Lights)[1], USD[36.20]

07802454                              SUSHI[0], USD[0.01], USDT[0]

07802479                              CUSDT[1], NFT (525971870760672562/Coachella x FTX Weekend 2 #2569)[1], USD[0.01]                                                                                                                 Yes

07802490                              SOL[2.86], USD[5.33]

07802494                              BTC[0], NFT (468440441920548766/Maseo's Collection)[1], USD[1.08]

07802498                              ETH[.00000001], SOL[0], USD[0.37], USDT[1.70448097]

07802518                              BRZ[3], BTC[0], CUSDT[23], NFT (493144595749846979/Theta)[1], SHIB[1], SOL[0], TRX[1], USD[0.00]                                                                                                 Yes

07802525                              BTC[.00004844], NFT (290717418747324438/SolFractal #8477)[1], NFT (339680304918503220/SolFractal #1725)[1], NFT (367666983490572368/SolFractal #1713)[1], NFT
                                      (383565468680485643/SolFractal #2391)[1], NFT (433318483830158385/SolFractal #1415)[1], NFT (528798833231182283/SolFractal #1693)[1], NFT (540671904747287828/SolFractal #473)[1],
                                      USD[0.00], USDT[.34716475]
07802530                              ETH[.00000001]                                                                                                                                                                                   Yes

07802533                              ETH[.005], ETHW[.005], NFT (527125662214480879/Prototypes)[1], USD[6.89]

07802537                              USD[0.00]                                                                                                                                                                                        Yes

07802538                              BTC[.0004], SOL[0], USDT[0.00000510]

07802545                              USDT[17]

07802548                              CUSDT[2], USD[0.00]                                                                                                                                                                              Yes

07802549                              USD[0.41]

07802559                              DOGE[2], ETH[0.00002389], ETHW[0.00002389], GRT[3.11481118], TRX[3], USDT[0.00000055]                                                                                                            Yes

07802572                              MATIC[29.97], SOL[.34], USD[1.29]

07802575                              ETH[.205], ETHW[.205], TRX[.935], USD[0.56], USDT[.00958271]

07802576                              ETH[.00000001], USD[0.00]

07802577                              CUSDT[1], DOGE[2], TRY[0.00], USDT[0]

07802586                              DOGE[3], GRT[0], SOL[0], TRX[3], USD[3393.88]                                                                                                                                                    Yes

07802588                              USD[10.56]                                                                                                                                                                                       Yes

07802589                              BTC[0], NFT (463771132854775642/Enigma Crystal #461)[1], NFT (534823200589034974/Concordian #3192)[1], USD[0.71]

07802594                              BTC[0], SOL[.00049393], USD[0.00], USDT[0]

07802597                              USD[1129.02]
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07802599                              SOL[.06], USD[0.96]

07802612                              NFT (333232170846029589/Minneapolis Series #4)[1], NFT (337049684234303225/Minneapolis Series #6)[1], NFT (383432036532647259/Minneapolis Series #3)[1], NFT
                                      (397853400134996238/Minneapolis Series #5)[1], NFT (494385599160793592/Minneapolis Series)[1], NFT (500232535889738678/Minneapolis Series #7)[1], NFT (510051615566916094/Minneapolis
                                      Series #8)[1], NFT (539901237959200678/Minneapolis Series #2)[1], USD[0.00]
07802614                              SOL[.91190556], TRX[1], USD[2.90]                                                                                                                                                        Yes

07802615                              SOL[0], USD[56.91]

07802623                              SOL[.00238945], USD[0.00]

07802625                              BAT[25], MATIC[109.89], USD[1.26]

07802636                              ETHW[1], MATIC[20], SHIB[200000], SOL[.17], USD[1310.20]

07802638                              USD[961.58]

07802640                              BTC[.002], ETHW[1.62459839], USD[2147.91]

07802643                              TRX[.011302], USD[0.00], USDT[0]

07802646                              CUSDT[1], TRX[1], USD[40.93]

07802657                              BTC[.0672544], DOGE[2036.961], MATIC[429.57], SOL[7.60239], USD[2.24]

07802658                              BRZ[1], BTC[.00124594], CUSDT[2], ETH[1.15324859], ETHW[1.15276421], SHIB[1], SOL[2.24299842], TRX[3], USD[5.24]                                                                         Yes

07802662                              SHIB[75700], SOL[28.58027], USD[1.29]

07802664                              USD[0.13]

07802665                              BTC[.00000005], CUSDT[5], DOGE[4], GRT[1], LINK[0.00001733], NFT (340347350831026691/2974 Floyd Norman - CLE 5-0032)[1], NFT (390289239170145125/2974 Floyd Norman - CLE 4-0192)[1],     Yes
                                      NFT (413934087289581520/2974 Floyd Norman - CLE 6-0052)[1], NFT (417318352087384882/Shannon Sharpe's Playbook: Kansas City Chiefs vs Denver Broncos - October 4, 1992 #104)[1], NFT
                                      (443753448397669903/The 2974 Collection #0067)[1], NFT (452884788620990023/Birthday Cake #0067)[1], NFT (550549487761879952/The 2974 Collection #0228)[1], NFT
                                      (572762543187591209/Birthday Cake #0228)[1], SOL[2.31577278], TRX[3], USD[0.00]
07802668                              BTC[.004426], SOL[.00000001], USD[0.00]

07802673                              SOL[.29], USD[0.81]

07802679                              BTC[0], ETH[0], SOL[0], USD[0.00]

07802681                              BRZ[2], CUSDT[9], DOGE[4], NFT (439455145734847357/Entrance Voucher #3497)[1], SHIB[1], TRX[5], USD[7771.88]                                                                             Yes

07802688                              BTC[0.00000166], SOL[0], USD[0.00], USDT[1.17329012]

07802695       Contingent, Disputed   MATIC[.00054554]                                                                                                                                                                         Yes

07802696       Contingent, Disputed   TRX[.010256], USD[0.00], USDT[0.00000001]

07802702                              AVAX[.00004572], BRZ[1], BTC[.0000002], DOGE[1], SHIB[2], SOL[.00007694], USD[0.01]                                                                                                      Yes

07802704                              USD[1.01]

07802707                              SOL[3.02619981], USD[0.00]

07802721                              AVAX[102.08625141], BTC[.0516368], ETH[10.49057082], ETHW[10.48693033], MATIC[.00032187], SOL[11.45832125], TRX[1], USD[0.02]                                                            Yes

07802732                              BTC[0], DAI[0]                                                                                                                                                                           Yes

07802743                              BTC[0], USD[0.65]

07802746                              ETH[.002], ETHW[.002], SOL[0.19281304]

07802749                              USD[10.01], USDT[0.00002387]

07802751                              GRT[27.972], SOL[1.25304451], TRX[9], USD[0.06]

07802752                              SOL[0]

07802755                              USD[1000.00]

07802758                              USD[37.39]                                                                                                                                                                               Yes

07802766                              ETH[.00000001], SOL[.00000001], TRX[.000002], USD[0.00], USDT[0]

07802774                              NFT (530061515781340651/Entrance Voucher #1955)[1]

07802778                              USD[6.23]

07802786                              ETH[0], NFT (344019091249221624/StarAtlas Anniversary)[1], NFT (367969012428961755/StarAtlas Anniversary)[1], NFT (391269973066478768/Fox #6402)[1], NFT (430582730984469327/Famous
                                      Fox Crystal)[1], NFT (441574185136311968/StarAtlas Anniversary)[1], NFT (444014895849454403/StarAtlas Anniversary)[1], NFT (445606427806034094/StarAtlas Anniversary)[1], NFT
                                      (448119894829412352/StarAtlas Anniversary)[1], NFT (533067053070669972/StarAtlas Anniversary)[1], NFT (533401289274933446/StarAtlas Anniversary)[1], NFT (546479157054784779/StarAtlas
                                      Anniversary)[1], SOL[.00000001], USD[3.96]
07802794                              USD[1.14]

07802796                              USD[399.58], USDT[420.414761]

07802797                              USD[0.00]

07802806                              USD[0.00], USDT[0]

07802816                              USDT[0.00000001]

07802818                              USD[100.01]

07802824                              BRZ[1], CUSDT[4], ETH[0], NFT (290268531412267474/Red Panda #980)[1], NFT (322034214284572140/Golden bone pass)[1], NFT (378685406548165140/SharkBro #3395)[1], NFT                      Yes
                                      (424441428406904073/SharkBro #551)[1], NFT (459832089562025769/MagicEden Vaults)[1], NFT (469211347478561607/Cyber Frogs Ramen)[1], NFT (505113049620376523/Frog #4420)[1], NFT
                                      (531326345167513745/MagicEden Vaults)[1], NFT (540703003571115664/MagicEden Vaults)[1], NFT (571199065037429319/MagicEden Vaults)[1], NFT (572543173787993186/MagicEden Vaults)[1],
                                      USD[0.00]
07802829                              LINK[.00054825], SHIB[1], TRX[1], USD[0.00]                                                                                                                                              Yes

07802840                              SHIB[5], SOL[.00707], USD[565.83], USDT[0]

07802845                              USD[10.91]                                                                                                                                                                               Yes

07802855                              SOL[.00007516], USD[0.12]

07802856                              BRZ[1], CUSDT[4], DOGE[2], TRX[2], USD[0.00]

07802862                              USD[54.86]                                                                                                                                                                               Yes

07802870                              BTC[.00008], LINK[.06], USD[0.01]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07802871                              MKR[.00352334], USD[21.79], USDT[10.77888652]                                                                                                                                            Yes

07802882                              AVAX[0], ETH[0], ETHW[0], USD[0.40], USDT[0]

07802886       Contingent, Disputed   BTC[0], LTC[0.00001442], SOL[0], USD[0.00], YFI[0]                                                                                                                                       Yes

07802887                              USD[500.00]

07802892                              BTC[.00584597], DOGE[2], TRX[1], USD[0.00]                                                                                                                                               Yes

07802894                              ETH[.00000112], ETHW[.00000112], SHIB[10], SOL[.00001065], USD[0.00], USDT[0]                                                                                                            Yes

07802897                              AAVE[0], MATIC[18.78863074], SHIB[0], SOL[0], USD[0.00]

07802899                              MATIC[0.00648208], TRX[2]                                                                                                                                                                Yes

07802904                              CUSDT[24], DOGE[2], ETH[.00000001], GRT[.47456439], TRX[6], USD[0.00]

07802913                              AAVE[0], AVAX[0], BCH[0], BTC[0.00000001], DOGE[0], ETH[0], ETHW[0], GRT[0], LINK[0], LTC[0], MATIC[0], MKR[0], SOL[0], TRX[0], UNI[0], USD[0.00], YFI[0]

07802922                              SOL[.00009756]

07802923                              USD[0.53]

07802927                              CUSDT[1], TRX[434.5065471], USD[13.73]                                                                                                                                                   Yes

07802936                              NFT (305177222619006163/Bahrain Ticket Stub #2453)[1], SOL[83.65748835], USD[0.00]

07802941                              USD[1.74]

07802943                              ETH[0], USD[0.00]

07802945                              DOGE[1], USD[0.00]

07802950                              ETH[.33608959], ETHW[.33608959], USD[0.00]

07802952                              BRZ[2], USD[0.00]                                                                                                                                                                        Yes

07802958                              ETH[.00000039], ETHW[.00000039]                                                                                                                                                          Yes

07802961                              BTC[0.01568508], SOL[26.1101735], USD[105.37]

07802971                              USD[0.00], USDT[0]

07802974                              USD[7.96]

07802977                              AAVE[0], BAT[0], BCH[0], BRZ[0], BTC[0], CAD[0.00], CUSDT[2], DAI[0], DOGE[2], ETH[0], EUR[0.00], GBP[0.00], GRT[0], HKD[0.00], KSHIB[0], LINK[1.75902305], LTC[0], MATIC[0], MKR[0],    Yes
                                      PAXG[0], SHIB[0], SOL[0], SUSHI[0], TRX[1], UNI[0], USD[0.00], USDT[0], YFI[0]
07802978                              USDT[0.00000308]

07802985                              SOL[4.59923], USD[1.34]

07802986                              BF_POINT[300], USD[0.00]                                                                                                                                                                 Yes

07802988                              NFT (461382132780234488/Marcus Allen's Playbook: Los Angeles Raiders vs. Washington - January 22, 1984 #53)[1], NFT (492680324542428791/Marcus Allen's Playbook: USC vs. Washington -    Yes
                                      November 14, 1981 #46)[1], USD[0.00]
07802989                              LINK[.08844997], MATIC[3.50784143], SHIB[0], TRX[2], USD[0.00]                                                                                                                           Yes

07802994                              USD[20.00]

07802996                              USD[20.00]

07802997                              USD[548.63]                                                                                                                                                                              Yes

07802999                              SOL[.00000001], USD[0.25], USDT[.4002736]

07803000                              DOGE[1], ETH[.00000001], ETHW[0], SHIB[1], USD[0.01], USDT[0]                                                                                                                            Yes

07803001                              BRZ[1], BTC[0.00256676], ETH[.00276149], ETHW[.00274674], GRT[1], NFT (295676213824745229/Tiger Set #1)[1], NFT (307015472873097104/Eiffel Ethereum)[1], NFT (320381574514468163/unko    Yes
                                      #2)[1], NFT (320441790514337925/Tiger Set #3)[1], NFT (350782261055331287/Abnormal Set #1)[1], NFT (394381779367232071/Greed Baby Red)[1], NFT (395281149306639015/Ethereum Paris)[1],
                                      NFT (419004219134491823/Baphomet Set #1)[1], NFT (438748783721692969/Paranormal Set #1)[1], NFT (487906508946191202/The Long Walk #3)[1], NFT (521055111791474395/Baphomet Set
                                      #2)[1], NFT (533971989873342932/I Love Tacos)[1], NFT (575912344168473244/Basic Principles )[1], SHIB[.00000049], TRX[1], UNI[.044791], USD[6.90], USDT[1.01971293]

07803009                              AVAX[.09307], BTC[.00004132], DOGE[.9685], ETH[.0003466], ETHW[.0003466], GRT[.0136], MATIC[.622], SOL[.002809], USD[8269.83]

07803011                              BTC[0.00002048], ETH[0], ETHW[0], SOL[0], USD[2.01], USDT[0.00002168]

07803021                              MATIC[8.16796678], USD[0.00], USDT[0]

07803026                              AVAX[.3224807], DOGE[3614.68068789], MATIC[1857.36702157], NEAR[.00029827], SHIB[92987.81370091], SOL[.00138687], USD[509.34]                                                            Yes

07803027                              ETH[.024935], ETHW[.024935], MATIC[269.17], SOL[.53466], USD[1.47]

07803035                              NFT (359709747832907562/Bahrain Ticket Stub #2227)[1], SOL[.0860226]

07803038                              USD[0.80]

07803045                              USD[0.00]                                                                                                                                                                                Yes

07803064                              CUSDT[6], ETH[0], USD[1.36]                                                                                                                                                              Yes

07803066                              USD[0.00]

07803068                              AAVE[0], BRZ[2], BTC[0.00004674], CUSDT[2], DOGE[1], SHIB[3], SUSHI[0], USD[61.94], USDT[0]                                                                                              Yes

07803072                              ETH[1.060938], ETHW[1.060938], MATIC[30], USD[4.12]

07803082                              BRZ[1], BTC[.02212856], CUSDT[6], DOGE[1], ETH[.22617077], ETHW[.22596452], LTC[1.73568593], TRX[2], USD[0.00]                                                                           Yes

07803086                              NFT (522435279022582432/Pool's Closed)[1], USD[88.60]

07803089                              TRX[.000001], USD[0.00]

07803093                              BAT[1], ETH[3.93031965], ETHW[3.92866892], SHIB[2], SOL[28.82869497], TRX[2], USD[2.46], USDT[0.00000001]                                                                                Yes

07803100                              SHIB[1], SOL[.22690793], USD[0.00]                                                                                                                                                       Yes

07803101                              BRZ[1], CUSDT[7], DAI[0.00000501], SOL[.00001273], SUSHI[.00027781], TRX[1], USD[0.91], USDT[1]

07803107                              NFT (462959404466077690/Birthday Cake #1639)[1], NFT (554218316594614888/The 2974 Collection #1639)[1], USD[1669.19], USDT[0.19012639]

07803109                              BTC[0], DAI[0], ETH[0], ETHW[0], LINK[0], SOL[0], USD[0.00], USDT[0.00000001]                                                                                                            Yes

07803117                              USD[5.00]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07803135                           BTC[0.00167551], USD[0.00]

07803139                           CUSDT[4], USD[0.00]                                                                                                                                                                  Yes

07803152                           BTC[.01438704], USD[1.55]

07803153                           USD[0.01]                                                                                                                                                                            Yes

07803172                           ETH[0], USD[0.00]

07803179                           BTC[.02042713], DOGE[1810.94144946], SOL[0], USD[0.23]

07803185                           DOGE[.81], USD[1.71]

07803188                           BTC[.01164708], TRX[1], USD[0.01]                                                                                                                                                    Yes

07803190                           USD[4.39]                                                                                                                                                                            Yes

07803196                           USD[0.00]

07803201                           CUSDT[2], DOGE[627.82734195], LINK[9.13309897], SOL[.60032114], TRX[1], USD[0.00]

07803202                           BTC[0.00001724], USD[36.98]

07803207                           BTC[.15077575], SOL[3.37351454], TRX[1], USD[0.00]                                                                                                                                   Yes

07803223                           BTC[.00521413], CUSDT[1], DOGE[1], ETH[.06331546], ETHW[.06252962], SHIB[3], USD[0.00]                                                                                               Yes

07803242                           BTC[.00477656]

07803247                           USD[1.66]                                                                                                                                                                            Yes

07803251                           BTC[.0001], USD[14.38], USDT[0]

07803266                           ETH[0], MATIC[0], USD[0.00], USDT[1.03831023]

07803267                           BTC[0], NFT (331155419292934932/FTX - Off The Grid Miami #1463)[1], SOL[0], USD[0.00]                                                                                                Yes

07803289                           SOL[0], USD[3.02]

07803298                           BTC[0], CUSDT[3], USD[0.00]                                                                                                                                                          Yes

07803301                           BTC[.00412388], SHIB[7200000], USD[0.43]

07803304                           DOGE[.355], USD[0.02]

07803305                           CUSDT[1], DOGE[1], ETHW[.02409452], SHIB[3], USD[36.47]                                                                                                                              Yes

07803313                           BTC[.0000392], USD[999.99]

07803318                           USD[0.00]                                                                                                                                                                            Yes

07803320                           USD[0.88]

07803324                           SOL[.19981001], USD[116.44]

07803334                           USD[0.00], USDT[0.00000001]

07803335                           BAT[1.0165555], BRZ[1], CUSDT[1], DOGE[1], ETH[1.37096573], ETHW[1.37038982], USD[171.78]                                                                                            Yes

07803346                           NFT (435914661246047256/Joe Theismann's Playbook: Notre Dame vs. USC - November 30, 1968 #44)[1], SHIB[1100000], USD[4.67]

07803362                           CUSDT[3], DOGE[1], NFT (411938502835372035/ApexDucks #3697)[1], NFT (538633075302689367/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #10)[1], TRX[1],   Yes
                                   USD[0.00], USDT[1.01318196]
07803369                           BTC[0], ETH[.00051102], ETHW[.00051102], SOL[.008095], TRX[.000001], USD[0.77], USDT[.70563]

07803376                           USD[8.28], USDT[0]

07803381                           SOL[0.00026726], USD[0.00]

07803383                           TRX[.000001], USD[2.87]

07803387                           USD[0.00], USDT[0.00001867]

07803392                           AVAX[2.97189667], CUSDT[1], DAI[0], DOGE[1], SHIB[1], USD[5.07]                                                                                                                      Yes

07803404                           USD[0.00], USDT[0]

07803408                           BTC[.00154897], ETH[.02088348], ETHW[.02088348], SOL[.27517465], SUSHI[2.15609604], USD[0.00]

07803409                           BRZ[1], BTC[0], DOGE[1], ETH[0], ETHW[0], SHIB[5], TRX[2], USD[58.03]                                                                                                                Yes

07803411                           BTC[0.00513488], CUSDT[1], SHIB[1], USD[0.00]                                                                                                                                        Yes

07803417                           BF_POINT[100], USD[20.00]

07803424                           BTC[0.00003183]

07803441                           BRZ[1], BTC[0], CUSDT[14], DOGE[4], GRT[1.00273431], LINK[.00011404], SHIB[0], SOL[0], TRX[1], UNI[0], USD[0.00], USDT[1.08467248]                                                   Yes

07803448                           NFT (409375153423985330/Australia Ticket Stub #2265)[1]

07803450                           MATIC[7.26979220], NFT (416569909939112598/Bitcoin Angel 222)[1], NFT (477119611587670886/CryptoAvatar #12)[1], USD[0.00]

07803453                           SOL[.29]

07803461                           SOL[.00014472]                                                                                                                                                                       Yes

07803467                           BTC[.00000054], LINK[0.00013493], TRX[1]

07803475                           GRT[11], LINK[.3], USD[0.00]

07803481                           CUSDT[1], SUSHI[1.33380479], USD[0.00]                                                                                                                                               Yes

07803489                           DOGE[1], KSHIB[40], SHIB[99900], USD[0.15]

07803500                           BAT[1.0165555], BRZ[1], CUSDT[8], DOGE[1], TRX[2], USD[0.00]                                                                                                                         Yes

07803501                           BTC[.0000889], USD[100.01]

07803505                           USD[0.00], USDT[0]

07803519                           MATIC[139.65731561]                                                                                                                                                                  Yes

07803521                           USD[0.00]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07803525                              MATIC[89.91], USD[5.50]

07803534                              GRT[1], LINK[25.31306547], USD[0.00]                                                                                                                                                      Yes

07803539                              MATIC[70], USD[11.68]

07803544                              USD[179.01]                                                                                                                                                                               Yes

07803551                              ETH[0.01456864], USD[1.23]

07803560       Contingent,            ETHW[.835599], USD[2.80]
               Unliquidated
07803561                              USD[0.00], USDT[0]

07803562                              BTC[.00004015], USD[0.00]

07803564                              NFT (341823670048928011/Australia Ticket Stub #2002)[1], USD[199.65]

07803582                              USD[4.63]

07803585       Contingent, Disputed   BTC[0], DOGE[0], ETH[0.00000001], SOL[0], USD[0.00], USDT[0]                                                                                                                              Yes

07803587                              SOL[0], USD[0.11]

07803591                              USD[1.01]

07803602                              SOL[.0015]                                                                                                                                                                                Yes

07803605                              BTC[.0447], ETH[.543], ETHW[.543], SOL[97.77489], USD[78.30]

07803609                              USD[1.28]

07803610                              ETH[0], USD[0.00], USDT[0]

07803611                              BAT[0], BTC[0], ETH[0.00000999], ETHW[1.51978749], LINK[0], NFT (295994515532305215/Rubber Duckie #0059)[1], NFT (340108161289605309/Jamaica Morning Mist (2019))[1], NFT                 Yes
                                      (340146220137014127/CryptoAvatar #40)[1], NFT (348129911457996578/Originals )[1], NFT (357961682511732279/CryptoAvatar #39)[1], NFT (369798523765088156/Kundalini Set #3)[1], NFT
                                      (376988150064420728/CryptoAvatar #31)[1], NFT (389432329917347745/Nope)[1], NFT (391086221353395056/Rubber Duckie #0041)[1], NFT (403679380723397480/Rubber Duckie #0055)[1], NFT
                                      (433748426412456834/CryptoAvatar #48)[1], NFT (440816227359600509/Originals #2)[1], NFT (446338470393955676/CryptoAvatar #47)[1], NFT (484449423682907401/CryptoAvatar #79)[1], NFT
                                      (503240121531238254/CryptoAvatar #58)[1], NFT (504064198576513522/Original Paintings #2)[1], NFT (523958988079659290/Rubber Duckie #0047)[1], NFT (553427511341789590/CryptoAvatar
                                      #35)[1], NFT (556159278636924364/Rubber Duckie #0056)[1], NFT (573033550760312596/CryptoAvatar #33)[1], NFT (576055258669764501/Rubber Duckie #0058)[1], SHIB[3], SOL[0], USD[1047.27],
                                      USDT[0]
07803613                              USD[0.00]

07803618                              BTC[.00021423], USD[0.00]

07803623                              CUSDT[2], SHIB[2], USD[0.00]                                                                                                                                                              Yes

07803633                              BTC[.00023066], CUSDT[1], MATIC[4.6108919], SHIB[989449.39004286], USD[0.00]

07803638                              AUD[14.29], BAT[13.33373415], BRZ[61.01599385], CAD[13.28], CUSDT[501.60924033], DOGE[108.81572821], EUR[9.26], GBP[7.82], GRT[10.87373821], KSHIB[675.46429204],                         Yes
                                      MATIC[15.15984026], SHIB[1383360.68673149], SOL[.07433223], TRX[323.22965561], USD[0.04], USDT[10.80539284]
07803639                              CUSDT[8], DOGE[3], MATIC[30.17099744], SHIB[10418786.26815768], USD[0.00]                                                                                                                 Yes

07803643                              BTC[.00582358], CUSDT[4], DOGE[2], ETH[.04837395], ETHW[.04837395], SHIB[1], SOL[.23336041], TRX[2], USD[39.41], USDT[0]

07803651                              BRZ[1], USD[0.00]                                                                                                                                                                         Yes

07803663                              SOL[0], USD[0.00]

07803677                              MATIC[6.49604714], NFT (336609790655560909/ApexDucks #3344)[1], NFT (452947004046627964/ApexDucks #7150)[1], NFT (525666281076940693/DOTB #5252)[1], SHIB[16728039.27356332],             Yes
                                      SOL[1.60872316], USD[0.00], USDT[0.00081666]
07803688                              USD[0.00], USDT[9.99172477]

07803692                              BRZ[97.902], BTC[.0004995], DOGE[159.84], ETH[.023976], ETHW[.023976], MKR[.003996], SOL[.08991], USD[0.42], USDT[2.3976]

07803693                              NFT (564336171915060778/FTX - Off The Grid Miami #2458)[1]

07803701                              BRZ[2], CUSDT[2], TRX[1], USD[0.01]

07803702                              AAVE[.019981], BTC[0.00004521], ETH[0.00199810], ETHW[0.00199810], SHIB[99905], SOL[0.07683274], USD[2.86]

07803717                              SOL[.0984662], USD[0.00]

07803725                              USD[0.62]

07803727                              BAT[1.01655549], BRZ[1], BTC[.0241549], CUSDT[2], DOGE[1], ETH[.00001028], ETHW[.00001028], SHIB[1], TRX[2], USD[0.01]                                                                    Yes

07803731                              SOL[.52], USD[2.77]

07803733                              SOL[.00000001], USD[0.00]

07803737                              BRZ[1], DOGE[1], LINK[13.86329655], LTC[.00010484], SOL[.00007163], TRX[3], USD[0.00]                                                                                                     Yes

07803745                              USD[5.00]

07803754                              SHIB[8172203.96773519]                                                                                                                                                                    Yes

07803761                              BAT[6.99450458], BTC[.00016155], CUSDT[102.6823665], DAI[8.72063996], DOGE[30.36941118], GRT[4.85275672], LTC[.01145975], MATIC[3.88913213], SUSHI[1.14471543], TRX[48.17912843],         Yes
                                      USD[0.10]
07803782                              BTC[.000008], ETH[0], SOL[0.00003759], USD[28.01]

07803786                              NFT (468794206272821629/Entrance Voucher #5937)[1]

07803798                              USD[54.85]                                                                                                                                                                                Yes

07803801                              ETH[.264], ETHW[0.26400000], USD[0.50]

07803803                              BF_POINT[400], USD[67.75]

07803808                              USD[0.00]

07803816                              BTC[0], ETH[0], NFT (464087183413330561/Cry)[1], NFT (514486519793880365/Promethia)[1], SOL[.98], USD[0.00], USDT[0]

07803818                              USD[0.01]

07803827                              USD[4.90]

07803828                              BRZ[1], CUSDT[1], DOGE[1], MATIC[175.31358243], TRX[3], USD[0.00], USDT[0]                                                                                                                Yes

07803830                              CUSDT[6], DOGE[.18824741], ETH[.00226046], ETHW[.0022331], LTC[0.00009067], SHIB[39989290.50539434], TRX[3195.63421106], USD[0.25]                                                        Yes

07803833                              ETH[0.19917216], ETHW[0.19917216], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07803840                           USD[100.00]

07803858                           USD[0.39]

07803860                           USD[0.00]

07803862                           ETH[.01114237], ETHW[.01100557], SHIB[3], USD[0.00]                                                                                                                                   Yes

07803870                           BTC[.00003714], ETH[.0000184], ETHW[.0000184], USD[0.01]                                                                                                                              Yes

07803871                           USD[1.79]

07803876                           LINK[0], USD[0.00], USDT[0]                                                                                                                                                           Yes

07803877                           USD[0.00]                                                                                                                                                                             Yes

07803893                           ETH[0], MATIC[0], TRX[.000001], USD[2.62], USDT[0.00000001]

07803894                           BTC[.00000017], CUSDT[1], SHIB[24274321.81286084], TRX[1], USD[0.00]                                                                                                                  Yes

07803909                           BF_POINT[300], BTC[.000022], DOGE[.1421612], SHIB[1], SOL[0], TRX[1], USD[0.02]                                                                                                       Yes

07803916                           BF_POINT[200]                                                                                                                                                                         Yes

07803919                           BTC[0], DOGE[0], PAXG[0], USD[0.00]

07803953                           CUSDT[1], DOGE[1], GRT[567.00945498], SOL[5.41753267], TRX[3], USD[0.00], USDT[0.00005620]                                                                                            Yes

07803955                           DOGE[1], SHIB[3], USD[0.01]                                                                                                                                                           Yes

07803966                           LINK[36.08007864], TRX[2], USD[0.00]                                                                                                                                                  Yes

07803967                           BTC[0], USD[0.00]

07803976                           USD[29.24]

07803978                           NFT (305497664990146984/Flowers #2)[1], NFT (465202414499059815/Flowers)[1], NFT (527653160125119211/Geometric)[1]

07803983                           BF_POINT[200]

07803984                           USD[43.65]                                                                                                                                                                            Yes

07803989                           DOGE[3], SHIB[14], USD[0.01]                                                                                                                                                          Yes

07803992                           USD[5.38]

07803994                           BTC[0.00001018], NFT (413858236491606704/ApexDucks #4866)[1], USD[0.63]

07804003                           BTC[0], SHIB[.00000001], SOL[0], USD[0.00], USDT[0.34859460]

07804008                           BRZ[2], BTC[.02679591], CUSDT[18], DOGE[142.15077653], ETH[.14165371], ETHW[.14071201], SHIB[1], TRX[5], USD[9.39]                                                                    Yes

07804011                           SOL[.00006], USD[32.81], USDT[0.00000139]

07804026                           BTC[0], ETH[0.00033893], ETHW[0.00033893], USD[71.13], USDT[0.00000001]

07804028                           BTC[.00501361], CUSDT[18], ETH[.06861356], ETHW[.06776261], SOL[0.07644452], TRX[143.95635327], USD[0.05]                                                                             Yes

07804044                           BTC[0], CUSDT[2], TRX[2], USD[0.00]                                                                                                                                                   Yes

07804062                           ETH[0], ETHW[0], SOL[0], TRX[2]

07804077                           USD[3.59]

07804104                           BAT[32.59386443], BTC[.00715934], CUSDT[14], DOGE[5.04935591], ETH[.06637717], ETHW[.06555425], GRT[1054.66219249], LINK[20.36382429], LTC[.59746589], SHIB[2], SUSHI[11.57930914],   Yes
                                   TRX[5], UNI[14.08353909], USD[0.04]
07804105                           BTC[.0000978], USD[91.06]

07804106                           MATIC[59.94], MKR[.004], USD[1.71]

07804110                           CUSDT[1], DOGE[2], SOL[.70640389], USD[0.00]                                                                                                                                          Yes

07804126                           BF_POINT[200], CUSDT[4815.99589036], DOGE[130.76521528], TRX[233.91038361], USD[0.10]                                                                                                 Yes

07804131                           USD[0.29]

07804137                           DOGE[163.02889416], USD[0.00], USDT[0]

07804142                           CUSDT[6], DOGE[1], USD[0.00]                                                                                                                                                          Yes

07804144                           BTC[.00500306], ETH[.0555242], ETHW[.05483576], LINK[1.54791302], LTC[.27300843]                                                                                                      Yes

07804147                           USD[26.43]

07804149                           DOGE[1], USD[0.00]                                                                                                                                                                    Yes

07804152                           TRX[804.43287562], USD[0.00]

07804163                           ETHW[3.98012604]                                                                                                                                                                      Yes

07804166                           USD[0.01]

07804167                           USD[1.28]

07804173                           BAT[0], BCH[0], DOGE[0], ETH[0], ETHW[0], KSHIB[0], SHIB[0], SOL[0.49359162], SUSHI[0], TRX[0], USD[0.01]                                                                             Yes

07804175                           CUSDT[1], DOGE[137.35078091], USD[0.00]                                                                                                                                               Yes

07804181                           ETH[.00000001], ETHW[0], SOL[0.01748000], USD[3.23]

07804184                           NFT (385355183945099817/Siamese Sisters)[1], NFT (483967952106842311/A Mind of His Own)[1], SOL[.19401682], USD[0.00], USDT[0.00000001]

07804187                           CUSDT[1], MATIC[80.06413836], USD[0.00]                                                                                                                                               Yes

07804192                           DOGE[0], USD[1.21], USDT[0.00000996]                                                                                                                                                  Yes

07804201                           BTC[.00012366], SOL[73.10892961], USD[2544.71]

07804203                           BTC[0.00000001], DOGE[1], SOL[0], TRX[1], USD[0.00]                                                                                                                                   Yes

07804217                           USD[6.43]

07804224                           USD[0.00]

07804228                           BRZ[1], BTC[.00536552], CUSDT[1], DOGE[.58913533], USD[0.00], USDT[1.09792738]                                                                                                        Yes
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                                                                                                                                            Customer Claims                                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07804231                              BCH[.08707691], BTC[.00022369], CUSDT[4], DAI[27.25525314], DOGE[162.21746502], ETH[.00338282], ETHW[.00334178], PAXG[.01201663], SOL[.13228376], SUSHI[1.47558752], TRX[2],   Yes
                                      USD[70.44], USDT[10.91248178]
07804232                              ETH[.00000001]

07804245                              USD[0.00]

07804248                              USDT[1.630067]

07804256                              USD[0.48]

07804266                              NFT (506873160835074524/1026)[1]

07804269                              TRX[.000001], USD[0.03], USDT[0]

07804290                              USD[50.01]

07804293                              BTC[1.044523], SOL[338.08960801], USD[816.13]

07804300                              BTC[.0001], ETH[.001], ETHW[.001], LINK[.3], SOL[.34], USD[2.73], USDT[6.9137305]

07804303                              BF_POINT[300], DOGE[33.12800859], ETH[.00000204], ETHW[.00000204], MATIC[.00415319], NFT (399406264346576393/Amelie)[1], NFT (472911173919631526/Sigma Shark #4964)[1], NFT    Yes
                                      (479527143515160418/Mary )[1], SHIB[6], SOL[.00002012], TRX[2], USD[0.00]
07804305                              BTC[2.26673228], DOGE[7.00037737], ETH[2.82805252], LTC[32.25425997], SHIB[47], TRX[4], USD[0.00], USDT[0.00063901]                                                            Yes

07804307                              USD[0.00]

07804309                              CUSDT[4], USD[0.00]                                                                                                                                                            Yes

07804314                              CUSDT[1], GRT[1.00312819], KSHIB[3391.43356439], SHIB[3679272.85636402], USD[0.01]                                                                                             Yes

07804322                              CUSDT[1], ETH[.16567831], ETHW[.16530232], USD[0.00]                                                                                                                           Yes

07804325                              BTC[.00405529], CUSDT[4], DOGE[2], KSHIB[724.23106215], TRX[1], USD[0.01]                                                                                                      Yes

07804340                              USDT[0]

07804343                              BTC[.00372728], CUSDT[5], ETH[.04527127], ETHW[.04471039], TRX[1], USD[0.12]                                                                                                   Yes

07804352                              ETH[0], USD[0.00], USDT[0.00055927]

07804354                              BF_POINT[200]

07804355                              NFT (351835942799159042/1 Card Bruv)[1], NFT (395216326680552648/ME AND MY FARM)[1], NFT (434454179604078047/EVERYTHING IS MADE FOR LAUNDERING MONEY)[1], NFT
                                      (459710200810783141/GOOD LUCK TODAY MY VILLAGERS)[1], NFT (508883304294794383/BLESS THE VILLAGER)[1], NFT (510748589618048203/Patience)[1], SOL[81.99464516],
                                      USD[50383.54], USDT[1]
07804363                              USD[0.00]

07804370                              SOL[.00000198], USD[0.00]

07804373                              BTC[.027474], ETH[.002], USD[107.95], USDT[2.60709080]

07804390                              NFT (438327133152097647/Sol Shade #2021)[1], USDT[0.00000136]

07804393                              BTC[.0005], ETH[.497], ETHW[.497], SOL[0.10000000]

07804394                              USD[0.00]

07804396                              BCH[25.72013571], SHIB[9706964.28602217]                                                                                                                                       Yes

07804399                              USD[0.01]                                                                                                                                                                      Yes

07804408                              BTC[0], USD[0.00], USDT[0]

07804410                              SOL[53.591724], USD[0.72], USDT[0]

07804415                              BAT[1], BRZ[1], GRT[1], LINK[.00171742], TRX[1], USD[0.00]                                                                                                                     Yes

07804418                              BAT[1.01169418], CUSDT[1], DOGE[2], ETH[0], GRT[1.00013973], SHIB[12889.27546419], SUSHI[1.0734616], USD[0.00]                                                                 Yes

07804440                              BF_POINT[300], BRZ[2], BTC[0], DOGE[1], GRT[0], NFT (410154589886519463/Entrance Voucher #2365)[1], SHIB[2], SOL[0], TRX[3], USD[0.00], USDT[0.00009987]                       Yes

07804441                              USD[1.60]

07804451                              SOL[1.16531982], USD[0.00]

07804456                              ETH[.0014348], ETHW[.0004348], USD[0.74]

07804460       Contingent, Disputed   USD[0.00]

07804463                              USD[0.00]

07804464                              USD[100.00]

07804465                              SOL[.99]

07804466                              USD[0.01]

07804475                              SHIB[46200], UNI[.0629], USD[22.23], USDT[0]

07804479                              USD[25.40]

07804480                              USD[6849.35]

07804484                              USDT[2.302474]

07804485                              SOL[.00096145], USD[0.00]

07804486                              DOGE[1]

07804492                              ETHW[.054]

07804509                              BCH[.12705677], BTC[.00218306], DOGE[37.29344614], ETH[.03502228], ETHW[0.03458451]                                                                                            Yes

07804514                              USD[0.00]

07804518                              CUSDT[3], DOGE[551.05709041], ETH[.06465769], ETHW[.06385408], SHIB[1620763.07395878], SOL[1.08858318], USD[0.00]                                                              Yes

07804520                              BRZ[2], CUSDT[2541.17888911], DOGE[2092.35659595], SOL[1.10112203], USD[0.03]                                                                                                  Yes

07804522                              ETH[0], USD[0.00]

07804523                              BTC[.05686385], ETH[1.08668271], ETHW[1.08622639], USD[2147.79]                                                                                                                Yes

07804535                              BTC[0], ETH[0], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07804541                              SOL[27.213996], USD[3.18]

07804547                              TRX[2097.000001]

07804550                              USD[0.00]

07804558                              USD[0.00], USDT[0.00000057]

07804560                              CUSDT[3], NFT (381781550924575662/#32 Sunshine Ron)[1], USD[0.00]                                                                                                                          Yes

07804564                              BTC[.00000057], CUSDT[1], DOGE[2], ETH[0.25638439], ETHW[0.25638439], USD[0.01]

07804565                              BTC[0.01682911], USD[500.00], USDT[0.00000365]

07804567                              NFT (326052211926406985/Coachella x FTX Weekend 1 #26656)[1]

07804573                              USD[0.00], USDT[0]

07804578                              USD[167.49]

07804594                              LINK[34.87829864], SOL[13.17], USD[0.85]

07804598                              ETHW[.244637], SOL[0]

07804607                              USD[0.00]                                                                                                                                                                                  Yes

07804611                              BTC[.00389932], CUSDT[1], DOGE[2], ETH[.02259477], ETHW[.02259477], USD[0.00]

07804615                              SOL[.1096], USD[26.58]

07804622                              BCH[.21046675], CUSDT[3], DOGE[685.751871], SUSHI[8.19206102], USD[0.00]

07804623                              SOL[1.82820528], USD[2.89], USDT[.00072768]

07804624                              ETHW[.00008422], SOL[0], USD[0.28], USDT[.00077672]

07804630                              DOGE[1], SOL[0.58752764], USD[32.73]                                                                                                                                                       Yes

07804632                              CUSDT[1.00038567], TRX[1.00000979], USD[0.01]                                                                                                                                              Yes

07804634                              USD[11.44]

07804636                              ETH[.00000001], USD[0.01]

07804637                              MATIC[2741.05951905], USD[0.00]

07804638                              CUSDT[1], DOGE[1], NFT (369989216954945483/Doak Walker's Playbook: SMU vs. Santa Clara - September 27, 1947 #70)[1], USD[0.00]                                                             Yes

07804641                              SOL[0], USD[0.00]

07804644                              AAVE[0], DOGE[0], ETH[0], NFT (371474121402779081/Imola Ticket Stub #1397)[1], NFT (434186775784331399/Barcelona Ticket Stub #1112)[1], SHIB[1], SOL[0], TRX[0], USD[31.84], USDT[0]       Yes

07804652                              BTC[.674678], USD[1.43], USDT[1.46409926]

07804667                              USD[0.00]

07804668                              USD[0.00]

07804670                              BF_POINT[300]                                                                                                                                                                              Yes

07804672                              ETH[0]

07804675                              BTC[.0009003]                                                                                                                                                                              Yes

07804677                              BAT[.00000001], CUSDT[7], USD[0.35]                                                                                                                                                        Yes

07804683                              BTC[.00006571], ETHW[3.23], LINK[.00288996], NFT (404649483785583229/Beasts #443)[1], SOL[.0028], USD[0.00], USDT[0]

07804702                              BAT[3.16422853], BRZ[3], CUSDT[5], DOGE[.5579524], ETH[.00275156], ETHW[.00271952], GRT[1], LINK[.00000961], LTC[.00019061], SHIB[431.12673678], SOL[.00069876], TRX[4], USD[7.50],        Yes
                                      USDT[3.12601669]
07804703       Contingent, Disputed   BTC[0], ETH[.00000001], ETHW[0], SOL[.00000001], USD[0.17]

07804706                              BRZ[2], BTC[.00165825], CUSDT[35], DOGE[9.01859444], ETH[.00000575], ETHW[.54763196], GRT[43.63452139], MATIC[6.33467159], SHIB[790758.23798105], SOL[1.84028594], TRX[13],                Yes
                                      USD[0.00]
07804728                              SOL[.00001921], USD[0.00]

07804734                              BTC[0], DAI[0], ETH[0], ETHW[0], MATIC[0], NFT (322462884604595427/Entrance Voucher #3905)[1], NFT (486894269494086110/Space Bums #2905)[1], NFT (533016313533297386/Space Bums            Yes
                                      #6603)[1], SHIB[1], SOL[0], TRX[2], USD[3816.18], USDT[0]
07804736                              DOGE[2243.08043549], ETH[.00001434], ETHW[0], NFT (303849804299302145/Cyber Samurai Tensei Ceremony Announcement)[1], NFT (374156262840687401/Retro-Future-Bitcoin | Light Green           Yes
                                      Edition)[1], NFT (544910187579139516/Cyber Samurai #3934)[1], NFT (560018374796792811/Retro-Future-Bitcoin | Deep Golden Dawn Edition)[1], NFT (560382644197292277/Australia Ticket Stub
                                      #676)[1], SHIB[5], SOL[0.00071194], USD[0.00]
07804753                              GRT[20], USD[0.55]

07804755                              USD[0.25]

07804759                              DOGE[1], SOL[2.2651189], USD[3.91]                                                                                                                                                         Yes

07804770                              SOL[.00000001]                                                                                                                                                                             Yes

07804776                              ETH[.00836231], ETHW[.00836231], SHIB[1], USD[0.00]

07804789                              USD[20.00]

07804791                              SOL[130.64], USD[2.65]

07804792                              BTC[0], USD[0.00], USDT[0]

07804794                              DOGE[1], ETHW[.4150798], SHIB[1], USD[0.02]                                                                                                                                                Yes

07804798                              USD[10.00]

07804804                              BRZ[26.14265754], CUSDT[1], ETH[.06411202], ETHW[.06331766], USD[0.21]                                                                                                                     Yes

07804808                              SOL[0]

07804810                              BTC[0.00389595], SOL[.0000006], USD[0.44]

07804818                              AVAX[.05304877], BTC[.0003586], LINK[153.07551615], USD[0.07]

07804821                              USD[18.49]

07804840                              BTC[0.00031889], CUSDT[1], ETH[0.00000042], ETHW[0.00000042], LTC[5.91795017]                                                                                                              Yes

07804845                              AAVE[1.70829], ETH[.763236], ETHW[.763236], MATIC[350], SOL[43.94601], USD[2016.10]
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                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07804848                              USD[9.78]                                                                                                                                                                           Yes

07804860                              BTC[0.00007412], ETH[.000663], ETHW[.000791], MATIC[.991], SOL[.00912], USD[169.29], USDT[.009]

07804868                              ETHW[.000687], SOL[.00275282], USD[0.00]

07804877                              USD[0.00]

07804882                              BAT[1.00765468], BRZ[1], CUSDT[2], DOGE[2], ETH[.00000008], ETHW[.00000008], SHIB[1], SOL[.00024183], TRX[2], USD[0.82], USDT[1.06484654]                                           Yes

07804887                              ETHW[.546], USD[642.00]

07804888                              BTC[0], LINK[0], SOL[.00000001], USD[0.00]

07804889                              BRZ[1], CUSDT[1], SOL[4.4261871], SUSHI[35.5344989], TRX[1], USD[0.00]                                                                                                              Yes

07804894                              BTC[0.00002662], NFT (291414767287039048/Coachella x FTX Weekend 2 #4963)[1]

07804919                              DOGE[2], SHIB[4], TRX[2], USD[0.14]                                                                                                                                                 Yes

07804920                              NFT (307737509411253922/FTX - Off The Grid Miami #1746)[1], NFT (435313852549531250/Entrance Voucher #29652)[1], USD[0.97]

07804927                              USD[100.00]

07804931                              BTC[.0000604], USD[2.01]

07804935                              BAT[2.08420822], CUSDT[5], GRT[.00530867], SHIB[115704.07924666], TRX[1], USD[177.63]                                                                                               Yes

07804937                              AVAX[0.00000142], DOGE[1], ETH[0], SHIB[1], SOL[0], TRX[2], USDT[0.00000071]                                                                                                        Yes

07804940                              BTC[1.05841949], ETH[8.83498621], ETHW[8.83498713], USD[27123.05]

07804946                              BAT[1.01655549], CUSDT[1], SHIB[14073591.30621865], SOL[10.05147469], TRX[1]                                                                                                        Yes

07804955                              USD[0.00], USDT[0]

07804957                              BRZ[1], CUSDT[1], USD[0.00]                                                                                                                                                         Yes

07804958                              BTC[0.00339031], ETH[0], ETHW[0.04975463], USD[0.00], USDT[0.00000595]

07804960                              BTC[.00452083], USD[0.00]

07804962                              BTC[0], USD[0.00]

07804975                              CUSDT[1], DOGE[1], ETHW[24.11230706], USD[0.03]                                                                                                                                     Yes

07804976                              MATIC[489.51], SOL[2.58530579], USD[21.99]

07804978                              BTC[.0023], ETH[.013], ETHW[.013], USD[3.19]

07804979                              USD[25.01]                                                                                                                                                                          Yes

07804990                              MATIC[28.07], USD[0.83]

07804992       Contingent, Disputed   USD[0.00]

07804994                              BTC[0], SOL[.1482], USD[3.14]

07804998                              SOL[.00580095], USD[0.00]                                                                                                                                                           Yes

07805007                              ALGO[.81], PAXG[.00001917], SOL[.0086362], USD[0.00]

07805017                              AAVE[0], ALGO[0], AVAX[0], BAT[0], BTC[0], GRT[0], MATIC[0], SHIB[0], SOL[0], TRX[0], USD[3281.24], YFI[0]                                                                          Yes

07805031                              TRX[.000001], USD[0.00], USDT[0]

07805041                              USD[50.00]

07805049                              SOL[.00009628], USD[0.00]

07805051                              USD[50.00]

07805052                              BTC[.00001224], USD[0.00]

07805055                              NFT (488134382280794157/Imola Ticket Stub)[1], SHIB[8], USD[0.00]                                                                                                                   Yes

07805061                              ETH[10.919], ETHW[10.919]

07805069                              BRZ[1], CUSDT[3], DOGE[5.07280782], ETH[0.00000263], ETHW[0.00000263], SOL[0], TRX[5], USD[0.00]                                                                                    Yes

07805074                              ETH[.06130578], ETHW[0.06130578]

07805076                              ETHW[2.0240753], MATIC[218.936], SHIB[92685], USD[0.01]

07805088                              USD[40.50]

07805091                              SOL[.1335]

07805098                              USD[0.54]                                                                                                                                                                           Yes

07805109                              USD[100.00]

07805112                              USD[2.00]

07805113                              BRZ[1], MATIC[436.16283006], SHIB[1], SOL[.50477433], USD[0.00]                                                                                                                     Yes

07805114                              BRZ[1], CUSDT[2], USD[0.00]

07805115                              SOL[0], USD[0.00]

07805124                              USD[0.01], USDT[.81]

07805131                              USD[0.00]

07805134                              USD[90.79]

07805137                              USD[16.59]

07805138                              BTC[.00446313], ETH[.06410874], NFT (353096649991775814/Mirror Mirage)[1], NFT (367434220099487455/Head in the Clouds)[1], NFT (453640691579790443/Loving the Alien)[1],
                                      SOL[16.02677273], USD[529.86]
07805149                              CUSDT[2], LINK[9.60328928], LTC[6.51109639], MATIC[90.21155672], NFT (336561445907125491/Imola Ticket Stub #914)[1], SHIB[28736398.12970998], SOL[1.04556762], USD[0.01]            Yes

07805159                              BRZ[1], BTC[0], CUSDT[11], DOGE[6], GRT[0], MATIC[0], SHIB[10], TRX[10], USD[0.00], USDT[0.00002205]                                                                                Yes

07805161                              AAVE[.00000233], BRZ[2], CUSDT[2.0593398], GRT[182.55636565], LINK[.00001808], NFT (345197105624712703/Sky View )[1], NFT (348460440314800923/Legends #1 of 3)[1], NFT              Yes
                                      (485162327079003138/FTX - Off The Grid Miami #2854)[1], NFT (492271641243693142/Man #18)[1], NFT (554912178603158797/Day of the dead #3)[1], SHIB[6], UNI[4.43070324], USD[37.23]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07805173                              SOL[2.56282288], USD[0.01]

07805175                              CUSDT[1], USD[0.00]                                                                                                                                                                 Yes

07805181                              SOL[2.4975], USD[8.75]

07805189                              BRZ[1], CUSDT[3], DOGE[2], ETH[0], LINK[208.87228958], SHIB[6], TRX[1], USD[0.01]                                                                                                   Yes

07805191                              USD[1.24]

07805195                              ETHW[.0005], USD[4.20]

07805198                              AVAX[.01], MATIC[7.3], SOL[290.975558], USD[5.01]

07805200                              BTC[0.00000506], DOGE[61037.52946313], LTC[.00898261], SHIB[2], TRX[1], USD[0.00]                                                                                                   Yes

07805210                              DOGE[56643.41505585], TRX[28558.519928]

07805213                              BTC[.00034319], SOL[1.10215734], USD[0.01]

07805218                              BTC[.00001531], SOL[0], USD[0.00]

07805219                              AAVE[.06121437], BCH[.02388476], BRZ[1], CUSDT[15], DOGE[141.36846593], LINK[.40469094], MATIC[17.2275128], SOL[1.08417553], TRX[1], UNI[.94650313], USD[6.82]                      Yes

07805227                              BCH[.00052], LTC[.00733], USD[2.17]

07805238                              USD[0.01]                                                                                                                                                                           Yes

07805242                              SOL[.00000001], USD[4.52]

07805245                              ETH[0], ETHW[0], SOL[0.00000001], USD[0.00]

07805256                              BTC[.05007499], ETH[2.72764694], ETHW[2.72650132]                                                                                                                                   Yes

07805258                              ETH[0], ETHW[0], NFT (295835298193933186/GSW Western Conference Finals Commemorative Banner #2063)[1], NFT (371544974844270021/GSW 75 Anniversary Diamond #296 (Redeemed))[1],
                                      NFT (413803046054737858/GSW Championship Commemorative Ring)[1], NFT (414287401118200592/Entrance Voucher #3872)[1], NFT (489952078212461073/GSW Western Conference Finals
                                      Commemorative Banner #2064)[1], NFT (530444179917195657/GSW Western Conference Semifinals Commemorative Ticket #1110)[1], USD[0.00], USDT[0.00000341]

07805262                              BTC[0], USD[0.00], USDT[0.00026227]

07805263                              NFT (430050513573413724/Coachella x FTX Weekend 1 #21386)[1]

07805271                              BCH[.15606141], BF_POINT[100], BRZ[5.07952967], BTC[.02866751], CUSDT[268.80996398], DOGE[302.6220046], ETH[.48172204], ETHW[.48151524], LTC[1.6607012], SHIB[11269700.34064656],   Yes
                                      SOL[.94486235], TRX[15.44706797], USD[2.29]
07805272                              ALGO[.5], BTC[0], TRX[80.003108], USD[0.15]

07805276                              SOL[0.00881044]

07805281                              SHIB[1700000], USD[2.08]

07805286                              BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07805291                              BTC[0], ETH[0]

07805294       Contingent, Disputed   ETH[.00000001], ETHW[0], SOL[.00000001]

07805302                              USD[20.00]

07805319                              BTC[.00000658], CUSDT[4], USD[0.00]                                                                                                                                                 Yes

07805325                              NFT (329180473198667316/Coachella x FTX Weekend 2 #15451)[1]

07805329                              USD[54.93]                                                                                                                                                                          Yes

07805330                              BTC[0], DOGE[0], SOL[0.50000000], USD[0.00]

07805339                              AAVE[.34042325], BRZ[1], CUSDT[24], DOGE[11211.21348987], LINK[.00009556], MATIC[4.73521249], SHIB[9], SOL[.3921933], TRX[2], USD[0.00], USDT[0]                                    Yes

07805343                              ETHW[.24651083], USD[0.01]

07805344                              CUSDT[1], DOGE[3], GRT[2.00105965], LINK[1.05989864], TRX[5], USD[0.01]                                                                                                             Yes

07805349                              USD[0.01]                                                                                                                                                                           Yes

07805361                              USD[0.00]

07805379                              BTC[.00542874], CUSDT[586.30758834], ETH[0.09395200], ETHW[0.09290352], SGD[15.22], SHIB[1484134.53636583], USD[1160.63], USDT[0.00000548]                                          Yes

07805381                              NFT (386246735147844925/Odyssey 2)[1], NFT (533099683585714798/Odyssey 1)[1], USD[0.00], USDT[0]

07805387                              SOL[0], USD[0.00]

07805389                              USD[9.61]

07805405                              BRZ[1], BTC[0], DOGE[1], GBP[0.00], SOL[0], USD[0.00], USDT[0]                                                                                                                      Yes

07805409                              BRZ[2], CUSDT[5], DOGE[4], ETHW[.04652385], SHIB[1], SOL[0], TRX[2], USD[0.85], USDT[1.07466466]                                                                                    Yes

07805421                              BTC[0], ETH[0], ETHW[0.01085363], USD[0.00], USDT[0]

07805423                              USD[109.83]                                                                                                                                                                         Yes

07805437                              ETH[0], ETHW[0], MATIC[.00033857], SHIB[2], SOL[0], USD[0.00], USDT[0]                                                                                                              Yes

07805438                              BTC[0], USD[0.00]

07805453                              USD[0.17]                                                                                                                                                                           Yes

07805464                              BTC[0]

07805469                              ETH[.1408731], ETHW[.1408731], SOL[5.045455], USD[1099.12]

07805472                              BF_POINT[100]

07805476                              USD[0.01]                                                                                                                                                                           Yes

07805478                              USD[0.20]

07805479                              BRZ[1], CUSDT[1], USD[0.00]                                                                                                                                                         Yes

07805488                              ETH[0], NFT (462950574579330516/Sollyfish #2457)[1], USD[0.00], USDT[0]

07805490                              ETH[.10531247], ETHW[0.10531246], USD[0.08]
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                                                                                                                                         Customer Claims                                                                                                    22-11071 (JTD)
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07805494                           USD[0.00]                                                                                                                                                                        Yes

07805495                           SOL[2.57], USD[81.00]

07805496                           CUSDT[1], TRX[1075.37449566], USD[0.00]

07805505                           SHIB[1], SOL[.00534875], USD[0.01]                                                                                                                                               Yes

07805508                           NFT (361141417120156499/Entrance Voucher #3942)[1], NFT (434700550852603098/The Hill by FTX #8210)[1], USD[0.01]                                                                 Yes

07805523                           BTC[0.01618661], ETH[.00088929], ETHW[.06501943], USD[1.53]                                                                                                                      Yes

07805530                           ETH[0.00003835], ETHW[0.94903835], USD[1469.09]

07805532                           ETH[.00076213], ETHW[.00076213], USD[0.00]

07805535                           BAT[1295.76785000], ETH[.0000036], ETHW[.0000036], USD[0.12]

07805543                           BRZ[3], BTC[.08214582], CUSDT[1], ETH[.28809605], ETHW[.28790143], GRT[254.79746257], SHIB[2], SOL[6.78372172], USD[50.86]                                                       Yes

07805547                           USD[0.74]

07805550                           BTC[0], ETH[.00000001], ETHW[0], USD[0.74]

07805568                           DOGE[8], LINK[1.3], USD[0.00]

07805572                           BF_POINT[500], ETHW[2.66001984], MATIC[.00025708], SHIB[271.77704437], TRX[21.88044709], USD[0.00], USDT[0.07782220]                                                             Yes

07805575                           BTC[0.00208812], HKD[0.00], NFT (298200783663787084/SOLYETIS #8509)[1], NFT (557363575250435466/Munk #282)[1], TRX[1], USD[0.00]                                                 Yes

07805577                           ETHW[.69285275], USD[0.04]

07805578                           SOL[0.00000001], USD[0.00]

07805583                           SHIB[2027435.19969523], TRX[1], USD[0.66]                                                                                                                                        Yes

07805585                           BAT[1], DOGE[339.34221508], NFT (302828255631416032/GSW Round 1 Commemorative Ticket #379)[1], NFT (308164937270473760/GSW Round 1 Commemorative Ticket #555)[1], NFT
                                   (310402982254391583/GSW 75 Anniversary Diamond #706 (Redeemed))[1], NFT (345084055238397527/GSW Western Conference Finals Commemorative Banner #1013)[1], NFT
                                   (368310125586791236/GSW Western Conference Finals Commemorative Banner #1015)[1], NFT (391220086402382335/GSW Western Conference Semifinals Commemorative Ticket #364)[1], NFT
                                   (449187708934977542/GSW Western Conference Finals Commemorative Banner #1014)[1], NFT (509566020009849864/GSW Championship Commemorative Ring)[1], NFT
                                   (518426702439741145/GSW Western Conference Semifinals Commemorative Ticket #365)[1], NFT (519099082358543509/GSW Western Conference Finals Commemorative Banner #1016)[1], NFT
                                   (537702648137800786/GSW Championship Commemorative Ring)[1], NFT (571631683589966365/Warriors Foam Finger #39 (Redeemed))[1], USD[10.00]
07805596                           SUSHI[4.74469203], USD[0.00]                                                                                                                                                     Yes

07805597                           SOL[.00000001], USD[0.40]

07805599                           DOGE[1], SOL[2.29579549], USD[0.00]                                                                                                                                              Yes

07805600                           NFT (481893267410916124/Entrance Voucher #3434)[1], USD[0.00]

07805608                           BRZ[1], BTC[.01104676], CUSDT[2], ETH[.15462782], ETHW[.15391436], TRX[1], USD[55.22]                                                                                            Yes

07805609                           BRZ[1], DOGE[3], ETH[.23484298], ETHW[.23463968], MATIC[.0020231], TRX[.00000847], USD[0.00]                                                                                     Yes

07805621                           BTC[.27654427]                                                                                                                                                                   Yes

07805627                           CUSDT[2], DOGE[2595.54510034], ETH[.35808687], ETHW[0.35793644], LTC[1.30317701], SHIB[8846052.20681764], SOL[.49938445], TRX[2], USD[0.56]                                      Yes

07805630                           BRZ[1], CUSDT[1], SHIB[1], USD[0.00], USDT[1]

07805633                           SOL[1709.58811], USD[24711.64]

07805635                           USD[0.02], USDT[.003382]

07805638                           NFT (404569690854194884/Hall of Fantasy League #249)[1], SOL[.61858466], USD[0.00]

07805639       Contingent,         BTC[.00000004], ETH[0], ETHW[0.00044719], MATIC[0], NFT (409035682764058626/Little Rocks #121)[1], SHIB[1], SOL[0.00000498], USD[40932.35]                                       Yes
               Unliquidated
07805644                           NFT (306610666280694613/The Hill by FTX #3157)[1], NFT (371470751491736861/FTX Crypto Cup 2022 Key #1280)[1], NFT (463410412660763848/FTX - Off The Grid Miami #6927)[1], NFT    Yes
                                   (487783131725107287/Australia Ticket Stub #2356)[1], SHIB[2], USD[0.00], USDT[0.00000124]
07805652                           CUSDT[10.90579012], DOGE[2], NFT (473164707122795771/DDD 'monster #24)[1], SHIB[2], TRX[5], USD[0.01]                                                                            Yes

07805654                           USD[21.51]                                                                                                                                                                       Yes

07805657                           NFT (351877387186194166/You in, Miami? #298)[1]

07805666                           SOL[1.1]

07805668                           BAT[17.46290006], CUSDT[45.00246581], DOGE[5.03990258], SHIB[143473.35318281], SOL[.00331782], USD[0.18], USDT[0.07740568]                                                       Yes

07805686                           ALGO[16.29633357], USD[86.99]

07805688                           BAT[1.0165555], DOGE[1], ETH[.2862571], ETHW[.28606396], LTC[19.81103342], SOL[16.00641139], TRX[2], USD[0.00]                                                                   Yes

07805718                           ETH[.349], ETHW[.349], USD[0.56]

07805724                           USD[0.51]

07805729                           BTC[.00000001], LINK[.00000001], MATIC[.00000001], USD[0.01], USDT[0]

07805733                           USD[0.00]

07805750                           CUSDT[2], MATIC[1.51146948], USD[0.00]                                                                                                                                           Yes

07805753                           USD[1.00]

07805758                           BRZ[1], BTC[.00000484], LINK[1.02871023], SOL[0.00086272], TRX[1], UNI[1.07454241], USD[0.19]                                                                                    Yes

07805763                           AVAX[.00000001], BTC[0], DAI[.00000001], ETHW[0], USD[4854.93], USDT[0]                                                                                                          Yes

07805772                           SOL[4.48], USDT[.33533904]

07805775                           USD[0.00]

07805777                           BTC[0], USD[1.10]

07805781                           USD[200.02]                                                                                                                                                                      Yes

07805783                           NFT (446563180024476048/Imola Ticket Stub #340)[1]

07805789                           NFT (534650870427753667/Entrance Voucher #3775)[1]

07805800                           DOGE[1], SHIB[3], TRX[1], USD[0.74]
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                                                                                                                                            Customer Claims                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07805806                              USD[0.00], USDT[0]

07805811                              USD[0.05]                                                                                                                                                              Yes

07805814                              DOGE[1], LTC[.94119918], USD[0.00]

07805825                              SOL[95.50064202], USD[0.46]

07805826                              USD[1.52]

07805827                              ETH[.61373978], ETHW[.61348218], EUR[1800.44], SOL[27.18655755], USD[1026.89]                                                                                          Yes

07805831                              MATIC[.0014258], SOL[.00002986]                                                                                                                                        Yes

07805835                              BTC[.00000007], NFT (387737751182036600/Good Boy #121)[1], NFT (533912021259360172/Humpty Dumpty #100)[1], SHIB[.75253716], SUSHI[.00143632], USD[0.00]                Yes

07805837                              BTC[.0000679], ETH[.000925], ETHW[.97], LINK[.03], MATIC[8], USD[1.25], USDT[.99470557]

07805839                              ETH[.5], ETHW[.5]

07805840                              USD[0.00], USDT[0]

07805841                              DOGE[1], ETH[0], SOL[0.00001827], TRX[2], USD[0.00]                                                                                                                    Yes

07805871                              CUSDT[1], USD[0.00]                                                                                                                                                    Yes

07805880                              SOL[0], USD[0.00]

07805883                              ETHW[.50410705], SHIB[2], SOL[.00017951], TRX[2], USD[0.00]                                                                                                            Yes

07805888                              BAT[.00000001], ETH[.00000876], ETHW[1.04314904], NFT (337144896840089555/FTX Crypto Cup 2022 Key #3340)[1], NFT (369975928103092332/Entrance Voucher #2923)[1], NFT   Yes
                                      (384734649992409628/Humpty Dumpty #85)[1], NFT (444315452229372828/Saudi Arabia Ticket Stub #591)[1], NFT (463566723507728906/Welcome to Dopamine)[1], NFT
                                      (525035610469761700/Juliet #88)[1], NFT (554214326692957741/FTX - Off The Grid Miami #91)[1], SOL[.00008621], USD[0.00]
07805889       Contingent, Disputed   USD[548.63]                                                                                                                                                            Yes

07805897                              ALGO[12.682833], BTC[.0000252], USD[865.03]

07805906                              SOL[0], USDT[0.00000001]

07805907                              LINK[0], NEAR[.00006353], SHIB[9], SOL[.07678756], TRX[3], USD[0.00]                                                                                                   Yes

07805908                              ETHW[.954], USD[0.09]

07805910                              CUSDT[1], MATIC[25.46119376], USD[0.00]                                                                                                                                Yes

07805920                              NFT (487544147201003553/Entrance Voucher #1756)[1], USD[0.00]

07805925                              DOGE[100]

07805936                              BTC[0], USD[0.24]

07805942                              BTC[0], DOGE[0.65318192], ETH[0], SHIB[0], SOL[0], USD[0.10]                                                                                                           Yes

07805946                              BTC[0], NFT (519912662671907098/Solana Swap Ticket)[1], SOL[0], TRX[.00017], USD[0.02], USDT[0]

07805947                              BAT[2], SOL[0], USDT[0]

07805950                              BTC[0], ETH[.00000002], ETHW[0], SOL[0.00513560], USD[0.00], USDT[0]

07805955                              USD[0.27]

07805959                              DOGE[2], ETH[.00000016], ETHW[.00000016], SHIB[28.86956713], TRX[1], USD[0.01]                                                                                         Yes

07805961                              ETH[.00592107], ETHW[.00585267], LTC[1.04054981], SHIB[2093903.95688498], SOL[2.0820914], TRX[149.02499449], USD[0.00]                                                 Yes

07805966                              BTC[.00187482], ETH[.0181557], ETHW[.0181557], GBP[9.00], USD[55.12]

07805968                              BTC[0], USD[5583.13]

07805976                              BTC[0], ETH[0.00000001]

07805980                              USD[0.00], USDT[0.00000063]

07805982                              ETHW[.191868], USD[2.38]

07805985                              BTC[.0114922], ETH[.03767178], ETHW[.03767178], USD[0.01]

07805988                              NFT (336820751583770928/Entrance Voucher #3006)[1]

07805994                              BTC[0], USD[1.26]

07805999                              USD[270.00]

07806007                              SOL[0]

07806017                              NFT (542352083578762561/KuArmy #15)[1], NFT (552617532110429579/Computer Gnerated Dino #152)[1]

07806023                              LINK[34.6], SOL[26.217], USD[714.27]

07806024                              USD[0.00]                                                                                                                                                              Yes

07806027                              USD[0.01], USDT[10.93743793]

07806029                              BTC[.1055943], SOL[.00399], USD[1592.74]

07806035                              USD[0.01]                                                                                                                                                              Yes

07806038                              BTC[0], USD[0.03]

07806044                              USD[0.00]

07806046                              BTC[.1192676], USD[24.37]

07806050                              DOGE[24.9176689], ETH[0], ETHW[0], USD[0.00], USDT[0]

07806051                              USD[0.68]

07806055                              SOL[133.49], USD[2.04]

07806057                              ETH[.002], ETHW[.002], LINK[1], SOL[.65353], USD[3.83]

07806066                              USD[0.00]

07806085       Contingent, Disputed   BTC[0.01397039], SOL[.00437], USD[3.55]
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                                                                                                                                         Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07806109                           DOGE[17], ETH[0], USD[0.04]

07806110                           ALGO[1158], USD[0.00], USDT[.0276436]

07806131                           CUSDT[2], DOGE[1], USD[0.00]                                                                                                                                                      Yes

07806136                           BRZ[1], CUSDT[1], SOL[.15102927], USD[0.00]                                                                                                                                       Yes

07806141                           SOL[.00688], USD[2.67]

07806148                           USD[164.25]                                                                                                                                                                       Yes

07806150                           USD[0.00]

07806155                           USD[2.00]

07806156                           CUSDT[99.86877774], SOL[.01496047], TRX[21.53609935], USD[1.22]                                                                                                                   Yes

07806162                           NFT (471800114186023357/Barcelona Ticket Stub #1648)[1], NFT (564045904959912602/Australia Ticket Stub #2433)[1]                                                                  Yes

07806167                           NFT (367699399637291069/Imola Ticket Stub #362)[1]

07806196                           SOL[.00000001]

07806201                           SOL[0.94345437]

07806207                           NFT (564265137880792425/Pidgey)[1], USD[0.00]

07806214                           ETH[.02013947], ETHW[.01989323], MKR[.00000001], USD[0.00]                                                                                                                        Yes

07806216                           USD[44.10]

07806227                           USD[12.05]

07806232                           CUSDT[1018.80561736], GRT[36.87446029], SOL[1.13154838], TRX[574.29277912], USD[0.00]                                                                                             Yes

07806240                           CUSDT[1], DOGE[1], SOL[1.25674505], USD[0.00]                                                                                                                                     Yes

07806244                           BTC[0], ETH[0], LTC[0], USD[0.00]

07806245                           CUSDT[1], SOL[.27441781], USD[494.15]                                                                                                                                             Yes

07806248                           USD[21.51]                                                                                                                                                                        Yes

07806251                           CUSDT[1], DOGE[2], SOL[0.00010437], USDT[0]                                                                                                                                       Yes

07806261                           USD[1.67]

07806271                           USD[51.51], USDT[0]

07806273                           USD[0.00]

07806274                           BTC[0], CAD[0.01], DOGE[0], NFT (391710638159564551/ApexDucks #286)[1], SOL[.00000001], USD[0.01]                                                                                 Yes

07806280                           BTC[.00000224], DOGE[.464], PAXG[.00005425], SOL[.00325322], USD[0.00], USDT[.04518414]

07806284                           USD[0.00]

07806290                           BAT[2], BRZ[2], SHIB[4], TRX[2], USD[0.00]

07806299                           ETH[.00002408], ETHW[.00002498]                                                                                                                                                   Yes

07806311                           BRZ[1], GRT[1.00367791], TRX[1], USD[0.00]                                                                                                                                        Yes

07806312                           USD[1.45]

07806316                           USD[6.77]

07806323                           SOL[.5]

07806325                           SOL[.00041868], USD[0.00]

07806333                           BTC[0], ETH[-0.00000001], USD[0.73]

07806349                           MATIC[.36789589], TRX[0], USD[0.00], USDT[0]

07806358                           CUSDT[1], ETH[.13045146], ETHW[.13045146], USD[50.00]

07806364                           USD[0.54]

07806365                           USD[0.00], USDT[0.00000115]

07806368                           LINK[1.289265], USD[2.15]

07806376                           AVAX[.08], BTC[.0001], ETHW[5.614], USD[0.90]

07806379                           SOL[.05350064]

07806380                           ETHW[4.33002415]

07806381                           USD[0.00]                                                                                                                                                                         Yes

07806382                           BAT[15.9856], BTC[.0000929], DOGE[.384], ETH[.0009146], ETHW[.9599146], GRT[435.6076], LINK[.07228], SOL[.001235], UNI[2.9973], USD[3634.64]

07806386                           BAT[2.00259417], BCH[1.81156024], BRZ[3], CUSDT[13], DOGE[4524.36025228], ETHW[.18464963], GRT[3], LTC[.01125336], NFT (324599759953734425/Australia Ticket Stub #1045)[1], NFT   Yes
                                   (338919655666376142/ApexDucks #3179)[1], SHIB[13061052.69441454], SOL[1.78352947], SUSHI[37.54466519], TRX[11], USD[0.15], USDT[1.08990049]
07806388                           BTC[0.01566715], ETH[.021959], ETHW[.021959], LINK[1.3973], SHIB[1461925], SUSHI[9.85256526], USD[197.43]

07806396                           BRZ[3], CUSDT[4], DOGE[2], ETH[.04457089], ETHW[0.04401824], GRT[1.00106907], MATIC[0], SOL[0.00000001], TRX[3], USD[0.00], USDT[1.07397801]                                      Yes

07806403                           BTC[.00190434], CUSDT[4], DOGE[20.84683876], ETH[.04759113], ETHW[.04759113], SOL[1.77011207], TRX[1], USD[0.00]

07806410                           BRZ[1], LINK[11.24461605], SUSHI[20.9094351], TRX[1], USD[0.42]                                                                                                                   Yes

07806412                           ETH[.00000001], SOL[0.00035408], USD[2.00]

07806413                           BTC[.00129082], SOL[35.16656], USD[0.24], USDT[0.00000001]

07806425                           NFT (292968975417953567/Rocks #3)[1], NFT (338686214579163095/Warriors Foam Finger #512 (Redeemed))[1], NFT (422953026332942449/GSW Western Conference Finals Commemorative
                                   Banner #1742)[1], NFT (535546042146637264/GSW Western Conference Finals Commemorative Banner #1741)[1], NFT (546515763869436645/GSW Western Conference Semifinals Commemorative
                                   Ticket #883)[1], NFT (558565406682135348/Rocks)[1], NFT (569924265677586986/GSW Championship Commemorative Ring)[1], USD[0.99]
07806437                           ETH[0], ETHW[0], USD[0.60]

07806438                           USD[204.00], USDT[0.00000001]
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                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07806450                              BTC[.01880421], DOGE[1635.48906233], ETH[.26388842], ETHW[.26369562], SHIB[2880011.28845445]                                                                                        Yes

07806467                              BTC[.00001769], SOL[.00322], USD[9.31]

07806470                              DOGE[2], TRX[1], USD[0.00], USDT[0]                                                                                                                                                 Yes

07806476                              LTC[3.02852], USD[2.05]

07806480                              BF_POINT[100], BRZ[1], CUSDT[7], DOGE[2], SHIB[1], TRX[4], USD[0.00]                                                                                                                Yes

07806482                              USD[0.00], USDT[4.39274532]

07806484                              ETH[.00022], ETHW[.00022], USD[0.84]

07806490                              CUSDT[2], ETH[.02120608], ETHW[.02094616], SHIB[1], SOL[4.11844782], TRX[1], USD[0.00]                                                                                              Yes

07806492                              AVAX[0], BTC[0], MATIC[0], SOL[0], USD[0.00]

07806495                              SOL[.006], USD[0.00], USDT[10.02761953]

07806499                              USD[2.00]

07806500                              SHIB[1100000], USD[7.42]

07806507                              BRZ[1], CUSDT[1], DOGE[2], SHIB[6], TRX[4], USD[0.01], USDT[0]                                                                                                                      Yes

07806517                              ETH[.00005208], ETHW[.00005208]                                                                                                                                                     Yes

07806523                              SOL[.05], USD[0.16]

07806542                              SOL[0.08241334], USD[0.01]

07806544                              NFT (565951829115810445/Maro #0000)[1], USD[19.86]

07806547                              SOL[310], USD[0.25], USDT[0]

07806554                              USD[0.00]

07806563                              USD[5.74]

07806564                              CUSDT[1], SHIB[25513340.59466394], SOL[12.41838864], TRX[1], USD[0.00]                                                                                                              Yes

07806568                              USD[1.00]

07806570                              NFT (527983201084048571/Primitive #3)[1], USD[5.69]

07806577                              USD[0.01], USDT[0]

07806580                              BTC[.0000462], ETHW[.227], LINK[.00554589], SOL[.00558], USD[2855.11]

07806587                              USD[0.01]                                                                                                                                                                           Yes

07806592                              USD[1.23]

07806613                              USD[5.33]

07806622                              BTC[.02119994], ETHW[.29], SHIB[1], SOL[.00801967], USD[4.34]                                                                                                                       Yes

07806625                              USD[0.30], USDT[1.32025982]

07806627       Contingent, Disputed   USD[0.92]

07806643                              DOGE[1], MATIC[83.61985901], USD[0.00]                                                                                                                                              Yes

07806644                              BTC[0], ETH[0], ETHW[0], NFT (471378908366006413/2974 Floyd Norman - CLE 4-0063)[1], SOL[0], USD[0.00], USDT[0.00000235]

07806648                              NFT (477955286744026164/Coachella x FTX Weekend 1 #6017)[1]

07806651                              ETH[0], NFT (300069553685807083/Entrance Voucher #2941)[1], NFT (420759433471633027/Microphone #14180)[1], NFT (516401142456317395/Juliet #586)[1], NFT (539510529546469357/Romeo
                                      #7688)[1], TRX[.000002], USD[0.03], USDT[0.00000115]
07806653                              BTC[0], SOL[0], USD[0.00]

07806658                              USD[1.11]

07806659                              USD[500.00]

07806662                              NFT (498551100675973605/FTX - Off The Grid Miami #2942)[1]                                                                                                                          Yes

07806672                              BTC[.00001783], SOL[.00104683], TRX[.023356], USD[3.44], USDT[0.00080000]

07806679                              SOL[.00000001], TRX[1], USD[0.01]

07806682                              SOL[2.34965], USD[0.91]

07806686                              ETH[.00023857], ETHW[0], SHIB[1], USD[0.00], USDT[0]                                                                                                                                Yes

07806689                              ETHW[1.29700017], MATIC[1192.50327849], NFT (460253586902512863/Imola Ticket Stub #2009)[1], NFT (515882504454231797/Barcelona Ticket Stub #1371)[1], SHIB[14119813.03486558],      Yes
                                      SOL[46.10134283], USD[-300.00], USDT[0]
07806697                              USD[0.00]                                                                                                                                                                           Yes

07806700                              BTC[.01218902], USD[2.05]

07806705                              BTC[.0000024], ETHW[.24824578], LINK[1.00843241], USD[0.00]                                                                                                                         Yes

07806706                              NFT (406106495730101551/Kirby's styk)[1], NFT (422712182002011739/Fluff & Stuff)[1], NFT (472928624158745068/Dgtlrt)[1], NFT (542729658148173969/Bernedoodle)[1], USD[14.83]

07806709                              CUSDT[1], SOL[.00000536], USD[0.01]                                                                                                                                                 Yes

07806719                              USD[0.31], USDT[0]                                                                                                                                                                  Yes

07806726                              TRX[928], USD[0.12], USDT[0]

07806728                              ETHW[90.17974448], USD[0.73], USDT[24.65543084]

07806732                              SOL[1.81655815]

07806739                              DOGE[101.75048442], ETH[.05094456], ETHW[.03512046], GRT[33.9521361], MATIC[113.76297419], SHIB[3781279.29135162], SOL[1.31832509], TRX[2], USD[0.00]                               Yes

07806742                              BRZ[1], CUSDT[2], DOGE[1], ETH[.00000084], ETHW[0.00000084], SOL[0], USDT[0.00074250]                                                                                               Yes

07806744                              SHIB[1], USD[0.00]

07806745                              BTC[.04667937], SOL[42.46008921], TRX[1], USD[126.50]                                                                                                                               Yes

07806750                              BTC[0], DOGE[0], ETH[0], SOL[.00000001], USD[0.00], USDT[0]
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07806771                              USDT[1.2201496]

07806778                              SHIB[1], USD[0.00]                                                                                                                                                                    Yes

07806779                              BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07806798                              USD[0.00], USDT[.69621656]

07806806                              USD[0.00]

07806809                              USD[0.87]

07806812       Contingent, Disputed   USD[0.00], USDT[0]

07806837                              AAVE[.00334], BTC[.19797816], USD[0.00], USDT[0.00000001]

07806839                              USD[0.74]

07806849                              USD[0.00]

07806858                              SOL[.00000001]

07806860                              USD[0.00]

07806861                              ETH[0], NFT (484598907796328302/Bahrain Ticket Stub #911)[1], USD[0.00]

07806867                              DOGE[391.92902141]

07806868                              ALGO[2.09328767], AVAX[.09760556], BAT[19.57731179], BRZ[28.58206517], DOGE[1080.1721385], ETH[.00299625], ETHW[0.00295521], GRT[47.38317099], NFT (309701838665327115/Mutant         Yes
                                      Doodle Apes #2701)[1], NFT (355932051205760882/The Hill by FTX #3537)[1], NFT (391485065280836786/Doodle Bear #652)[1], NFT (417170450824195495/The Hill by FTX #2969)[1], NFT
                                      (435147937572602655/Fancy Frenchies #5211)[1], NFT (487265434921383193/Trippin' Baby Ape #1973)[1], SHIB[4671260.04823493], SOL[.90354519], SUSHI[2.59623019], TRX[607.29039465],
                                      USD[0.00]
07806883                              CUSDT[1], ETH[.00000032], ETHW[.00000032], USD[0.00]                                                                                                                                  Yes

07806892                              SHIB[1], USD[0.01]                                                                                                                                                                    Yes

07806899                              ETH[0], SOL[.00000001], USD[0.57]

07806903                              BRZ[1], BTC[.00261245], CUSDT[3], DOGE[4], ETH[.13807994], ETHW[.12155966], SHIB[2], SOL[1.00566889], USD[0.00]                                                                       Yes

07806906                              CUSDT[16], DOGE[2409.09352266], ETH[3.04276277], ETHW[3.04148479], GRT[518.23751259], LINK[71.4839597], SHIB[1274622.29607109], SOL[8.32789856], TRX[2259.09354654], USD[1036.43], Yes
                                      USDT[1032.14859803]
07806910                              NFT (469043666866967673/FTX - Off The Grid Miami #854)[1], USD[0.00]                                                                                                               Yes

07806922                              AVAX[.00002796], ETH[0], MATIC[.00007812], NFT (404610894103972121/Entrance Voucher #4252)[1], SHIB[14], USD[0.00]                                                                    Yes

07806923                              BTC[0], USD[0.31]

07806936                              USD[0.00]

07806940                              NFT (303021543977187328/FTX - Off The Grid Miami #1702)[1]

07806948                              USD[0.18]

07806953                              MATIC[10.66893018]                                                                                                                                                                    Yes

07806955                              ETH[1.13], ETHW[1.13], SOL[10.240775], USD[37.79]

07806964                              BTC[0.00014210], USD[3.72]

07806968                              BTC[.00002875], ETH[.000489], ETHW[.340489], USD[0.01]

07806970                              NFT (564521269100310577/Love, Love to be Alive)[1], USD[16.00]

07806976                              AVAX[17.81979058], ETH[1.14076466], ETHW[1.1402855], SHIB[2], SOL[12.43376294], TRX[1], USD[3.20], USDT[0]                                                                            Yes

07806978                              ETH[0], ETHW[0]

07806989                              ETH[0.00006990], ETHW[0.00006990], SOL[55.00995094], USD[0.00]

07806994                              CUSDT[1], SOL[1.16523302], USD[0.01]                                                                                                                                                  Yes

07806995                              SOL[.00709109], USDT[0.00684429]

07807001       Contingent, Disputed   USD[0.01]                                                                                                                                                                             Yes

07807003                              BRZ[1], NFT (552531104207318120/Dosis)[1], TRX[1], USD[13.70]                                                                                                                         Yes

07807010                              BF_POINT[300], USD[0.68]

07807011                              NFT (565832797723952888/Coachella x FTX Weekend 2 #8542)[1]

07807018                              BTC[.00000102], DOGE[3], ETHW[5.20356005], MATIC[.00066742], SHIB[2], TRX[1], USD[0.01], USDT[0.00000001]                                                                             Yes

07807019                              BAT[1.0165555], BTC[.05154337], CUSDT[13], DOGE[2716.2746735], ETH[1.08414718], ETHW[1.08369178], SHIB[1], SOL[6.54571129], TRX[6], USD[0.33], USDT[1.08945763]                       Yes

07807032                              LTC[.00716], USD[1.35]

07807033                              MATIC[30], USD[10.28]

07807053                              ETH[.00003156], ETHW[0.00003337], SHIB[2], USD[0.00]                                                                                                                                  Yes

07807061                              NFT (398493018750582507/Barcelona Ticket Stub #904)[1], NFT (570616969932374199/Imola Ticket Stub #1137)[1]                                                                           Yes

07807073                              BTC[.00231401], CUSDT[2], DOGE[1], ETH[.07501445], ETHW[.07408411], SOL[.84232695], USD[0.69]                                                                                         Yes

07807077       Contingent, Disputed   USD[8.20]

07807079                              AAVE[.00000588], BAT[0], BCH[0], BTC[0], DOGE[220.44070175], ETH[0.00000812], ETHW[0], GRT[212.31912071], KSHIB[0], LINK[7.35540450], LTC[.42774569], MATIC[0], SHIB[1],              Yes
                                      SOL[0.00001565], SUSHI[0], TRX[1], UNI[0], USD[7.09], USDT[0], YFI[.00050186]
07807094                              USD[0.00]

07807096                              NFT (395802419101972118/Series 1: Capitals #576)[1], NFT (404751245467395602/Series 1: Wizards #616)[1], NFT (482617316408064781/Humpty Dumpty #456)[1], NFT (487126260941148886/FTX - Yes
                                      Off The Grid Miami #3288)[1]
07807097                              BF_POINT[100], BRZ[2], DOGE[4855.69145433], MATIC[105.63862447], NFT (352641085021111723/SharkBro #3787)[1], NFT (444573185935481342/The 2974 Collection #2216)[1],                    Yes
                                      SHIB[21138090.99375701], TRX[1552.57258968], USD[0.00], USDT[0]
07807107                              ALGO[.00116976], BRZ[8.52103733], BTC[0], CUSDT[27], ETH[0], ETHW[1.29753380], MATIC[0.00189924], NFT (520294355719686049/Entrance Voucher #3166)[1], SHIB[38], TRX[14], USD[0.00]     Yes

07807112                              BTC[0], ETH[0.00000006], ETHW[0.00000006], LINK[0], SOL[0.00000001], USD[0.00]                                                                                                        Yes

07807128                              CUSDT[1], DOGE[227.71147109], MATIC[101.16870728], MKR[.06617204], USD[0.00]                                                                                                          Yes
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                                                                                                                                          Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07807136      Contingent,          BTC[0], DOGE[0], MATIC[0], SOL[0], USD[159.04]
              Unliquidated
07807138                           ETH[.02863533], ETHW[.02863533], USD[0.00]

07807146                           SOL[.26], USD[52.44]

07807163                           SOL[0], USD[0.00]

07807164                           BAT[4.991], SOL[1.288839], USD[0.97]

07807176                           USD[548.63]                                                                                                                                                                               Yes

07807177                           USD[200.00]

07807180                           TRX[.000001], USD[1.15], USDT[.006875]

07807183                           SOL[1.17882], USD[1.06]

07807187                           ETH[0.00000001], MATIC[0], NFT (290640790502959031/Astrological Sign)[1], NFT (298144779768200408/Nifty Nanas #5996)[1], NFT (298274246546890187/Hawkeye)[1], NFT
                                   (300654149972346848/Immaculate Conception)[1], NFT (310514151236040236/Real Yield)[1], NFT (339972606876443819/Current Paragon)[1], NFT (342195582103213145/Gelatinous Roll)[1], NFT
                                   (342457078061364325/Immediate Digestion)[1], NFT (350175071249543963/Gear Box #2)[1], NFT (350531919719484477/Terminal West)[1], NFT (360832485242222760/Spectral Graph Theory)[1],
                                   NFT (366484672325047856/Limbic Brain)[1], NFT (369899853677888352/Oink 2212)[1], NFT (383264771965386946/Cold Fusion)[1], NFT (384902902630775310/Ischemic Penumbra)[1], NFT
                                   (394772019786850194/Twisted Nether)[1], NFT (399761690922656883/SharkBro #2696)[1], NFT (404513253593584729/SharkBros x NYK #5/7)[1], NFT (413560026550698203/Nifty Nanas #4920)[1],
                                   NFT (414670160913907202/Immaterial Malice )[1], NFT (415843359063092613/Decimal Precision)[1], NFT (419184819253282169/Abstract Thought)[1], NFT (422102100911413540/Stainless Steel
                                   Shroud)[1], NFT (426661804590435730/Inflation Shock)[1], NFT (431888604539283094/Lightning Fork)[1], NFT (432148878983168147/Outbound Transmission)[1], NFT (432619672465279283/Mass
                                   Effect)[1], NFT (445213376123385553/Nifty Nanas #6811)[1], NFT (454398541635229045/Snake Way)[1], NFT (461007778177118858/Oink 1024)[1], NFT (469495547869100621/Ocular Prosthesis)[1],
                                   NFT (476349858236289106/Forenoon Asteroid)[1], NFT (487942749079122733/Mechanical Impurity)[1], NFT (491745279164793523/Twilight Temple)[1], NFT (511786277895116492/Circuit Board)[1],
                                   NFT (514666489792509685/Deliquescing Alloy)[1], NFT (518161258288020812/Bulbous)[1], NFT (526582898682857370/Arp Patch)[1], NFT (528060869828208699/Interstellar Empire)[1], NFT
                                   (536638269734945768/Back Propagation)[1], NFT (536684319332589069/Spumoni Jones)[1], NFT (545750392667917135/Finalis Capitulum)[1], NFT (546613756011721121/Primal Function)[1], NFT
                                   (551254883717097792/Agitated Fibril)[1], NFT (552602540981410524/Extrapolated Chaos)[1], NFT (554216906495321377/Duplicate Variable)[1], NFT (554286270816993496/Trepidation)[1], NFT
                                   (568681182037836171/Wish Bone)[1], NFT (572432095690917862/Epilogue)[1], SOL[0], USD[0.13], USDT[0.00384039]

07807188                           BTC[.00353511], CUSDT[8], ETH[.20614276], ETHW[.20592844], SOL[1.09946451], USD[0.86]                                                                                                     Yes

07807198                           CUSDT[1], TRX[.03839018], USD[0.02]                                                                                                                                                       Yes

07807211                           ALGO[1444.94143289], AVAX[.00006031], BRZ[2], BTC[.13309683], DOGE[2], ETHW[.36129493], GRT[.00487159], SHIB[3969194.30383572], SOL[19.33300326], TRX[2], USD[-200.00]                    Yes

07807212                           SHIB[757.49125388], USD[0.00]                                                                                                                                                             Yes

07807220                           BRZ[1], BTC[0.00000060], CUSDT[8], DOGE[5], ETHW[.10438277], SHIB[4], TRX[4], USD[0.62]                                                                                                   Yes

07807225                           SOL[10.83], USD[0.83]

07807229                           USD[50.01]

07807242                           SOL[0], USD[1.50]

07807247                           SOL[5.554996], USD[0.44]

07807252                           USD[0.00]

07807257                           USD[0.00]

07807266                           ETHW[.42477865], SHIB[1698385], USD[1091.13]

07807270                           USD[1.95]

07807277                           USD[1908.73]

07807281                           MATIC[53.73076962], TRX[1], USD[455.73]                                                                                                                                                   Yes

07807282                           BTC[.00048908], NFT (322199383693355904/The Hill by FTX #7021)[1], USD[0.00], USDT[0.00000001]                                                                                            Yes

07807287                           ETH[.0027812], ETHW[.00274016], USD[1.10]                                                                                                                                                 Yes

07807288                           USD[0.88]

07807290                           AAVE[1.87975541], BTC[.12614004], ETH[2.497501], ETHW[2.497501], LINK[188.56862114], MKR[.99634532], NEAR[432.74092533], SOL[12.27171978], UNI[59.37377756], USD[-527.03], USDT[0]

07807295                           BRZ[1], CUSDT[2], DOGE[4], ETH[.00000001], GRT[1], SHIB[1], TRX[5], USD[0.03], USDT[1.07372170]                                                                                           Yes

07807297                           BTC[.00095314], TRX[.21568984], USDT[32.99636074]

07807304                           BTC[0], USD[35.86], USDT[0]

07807306                           ETHW[1], USD[0.00]

07807307                           BTC[1.52325], ETH[3.759], ETHW[3.759], SOL[101.09], USD[1.49]

07807309                           BF_POINT[300], BTC[.63053764], SOL[143.38007799]                                                                                                                                          Yes

07807320                           BTC[.00007858], CUSDT[6], DOGE[162.36513834], MATIC[9.28805917], SOL[.15899013], SUSHI[.85132542], USD[0.06]                                                                              Yes

07807323                           USD[5.00]

07807328                           BTC[0], USD[0.01], USDT[0]                                                                                                                                                                Yes

07807329                           USD[0.00]

07807333                           CUSDT[5], SOL[.09435977], TRX[283.31915792], USD[1.20]                                                                                                                                    Yes

07807335                           BRZ[1], DOGE[78.496559], MATIC[0], NFT (360088189285187062/Shannon Sharpe's Playbook: Kansas City Chiefs vs Denver Broncos - October 4, 1992 #39)[1], NFT (467351017871890840/Joe         Yes
                                   Theismann's Playbook: Notre Dame vs. USC - November 30, 1968 #37)[1], SHIB[1], SOL[.00000001], TRX[2], USD[0.00]
07807357                           PAXG[.04838], USD[91.05]

07807358                           NFT (387906217519656746/Belugie #1788)[1]

07807361                           DOGE[1], NFT (420532720744451392/Shannon Sharpe's Playbook: Denver Broncos vs. Los Angeles Raiders - January 9, 1994 #41)[1], TRX[1], USD[0.00]                                           Yes

07807368                           BTC[0], ETH[0], LINK[0], SOL[42.18132259], USD[0.00]

07807369                           USD[112.47], USDT[0]

07807374                           USD[200.00]

07807381                           BTC[.2418559], DOGE[25178.712], ETH[3.156726], ETHW[3.156726], LINK[.0929], LTC[16.67175], MATIC[7.3], SHIB[301255600], SOL[40.4192], SUSHI[133.807], USD[12.29], USDT[509.46114]

07807385                           ETH[.199], ETHW[.199], NFT (471840922232025231/My Pics #2)[1], USD[0.67]
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07807395                              NFT (310815370179722644/Ursus Arctos Horribilis)[1], NFT (322775881499054460/Elephantidae)[1], NFT (331374050995210406/Canis Familiaris)[1], NFT (351811319407647012/Canis Familiaris
                                      #2)[1], NFT (381462661354475784/Sus)[1], NFT (416335480822979931/Oryctolagus Cuniculus)[1], NFT (466045797749662376/Founders Animals # 1-10)[1], NFT (508581575990922284/Equus
                                      Caballus)[1], NFT (535073594854031642/Vulpes Vulpes)[1], NFT (555872053886109545/Felis Catus)[1], NFT (565366262138274702/Panthera Leo)[1], NFT (572093461278620682/Haliaeetus
                                      Leucocephalus)[1], USD[380.01]
07807396                              CUSDT[15], DOGE[1], ETH[.00000003], ETHW[.00000003], NFT (309959348886113590/Barcelona Ticket Stub #220)[1], NFT (320412042730960691/The Hill by FTX #5554)[1], NFT                      Yes
                                      (362976721458235988/Saudi Arabia Ticket Stub #635)[1], NFT (394484274452284251/The Hill by FTX #4654)[1], NFT (410759262009348289/The Hill by FTX #5556)[1], NFT
                                      (433125272578363237/The Hill by FTX #4063)[1], NFT (484167159823221276/The Hill by FTX #5557)[1], NFT (494090938834601777/The Hill by FTX #5546)[1], NFT (519497589203565975/The Hill by
                                      FTX #5761)[1], NFT (559296455137048327/The Hill by FTX #2887)[1], SHIB[1296624.86625117], SOL[1.07988245], USD[0.07]
07807400                              SOL[0], USD[2.59], USDT[1.189335]

07807404                              BTC[.085], ETH[.9455], ETHW[.9455], SOL[15.89], USD[0.34]

07807407                              USD[0.00]

07807409                              BRZ[1], BTC[0], SOL[.00000001]                                                                                                                                                          Yes

07807423                              SOL[22.977995], USD[0.30]

07807424                              SOL[.00618398], USD[5.06]

07807433                              BTC[0], ETH[0], LTC[0], MATIC[0], USD[0.00]

07807435                              ETH[0], ETHW[0], SOL[0], USD[0.00]                                                                                                                                                      Yes

07807440                              BRZ[1], CUSDT[4], DOGE[4], ETHW[.96553608], GRT[1.00367791], SUSHI[17.79683674], TRX[6], USD[0.00]                                                                                      Yes

07807461                              SOL[.00000001]                                                                                                                                                                          Yes

07807462                              USD[0.00]

07807463                              CUSDT[1], GRT[1.00367791], USD[0.01]                                                                                                                                                    Yes

07807467                              BRZ[1], BTC[0], CUSDT[3], DOGE[5], ETH[0], SHIB[12], SOL[0], SUSHI[1], TRX[3], USD[0.00], USDT[0.00000001]

07807482                              BTC[0], ETHW[.0319], USD[0.00], USDT[0]

07807491                              BAT[1], USD[0.00]                                                                                                                                                                       Yes

07807499                              BRZ[1], SOL[2.2718123], USD[3.03]                                                                                                                                                       Yes

07807504                              USD[0.41]

07807505                              BAT[1.0165555], SOL[.00000001], TRX[1], USD[0.00]                                                                                                                                       Yes

07807506                              NFT (412171728619401341/Kitty Key)[1], NFT (434692479659461481/Unika Nightmare)[1], NFT (522424260130890892/Helios 3D)[1]

07807511                              USD[0.00]

07807520                              USD[100.00]

07807524                              BTC[0], ETH[0], SOL[0], USD[0.00], USDT[0.00000017]

07807527                              SOL[6.25896951], USD[0.00]

07807543                              CUSDT[1], USD[0.00]                                                                                                                                                                     Yes

07807548                              USD[6.40]

07807556                              USD[20.00]

07807561                              SOL[.0172579]                                                                                                                                                                           Yes

07807563                              AAVE[1.42919982], BAT[265.19930221], BTC[.03467547], DOGE[866.4977692], ETH[.36277288], ETHW[.36262062], GRT[697.50640448], SUSHI[52.52753712], UNI[26.26376856]                        Yes

07807578                              MATIC[516.0504], USD[1.21]

07807584       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07807586                              USD[3.09]

07807588                              DOGE[2], ETHW[.36059153], SHIB[5], USD[0.00]                                                                                                                                            Yes

07807594       Contingent, Disputed   AAVE[0], BTC[0], ETH[0], ETHW[0], MATIC[0], SOL[0.00000001], USD[0.00], USDT[0.00002057]

07807596                              USD[0.00]

07807597                              BTC[2.35015071], LINK[499.55], MATIC[2649.839], SOL[208.9451965], USD[4.13]

07807600                              AAVE[.00000312]                                                                                                                                                                         Yes

07807606                              SOL[0], USD[0.05], USDT[0.00000001]

07807607                              BTC[0], LTC[.00688411], USD[2.48]

07807608                              NFT (429395432637983364/Warriors 75th Anniversary Icon Edition Diamond #1554)[1]

07807610                              BTC[.0850655], ETH[.25], ETHW[.25], SOL[6], USD[0.01]

07807633                              BCH[.000781], BTC[0.00009170], USD[184.27], USDT[0.00004946]

07807634                              BRZ[1], SHIB[1], USD[0.18], USDT[0]                                                                                                                                                     Yes

07807643                              SOL[98.95239526], SUSHI[104.3955], UNI[499.5], USD[3.92]

07807652                              SOL[1.01898], USD[0.64]

07807653                              NFT (341511856736791915/Entrance Voucher #29698)[1]                                                                                                                                     Yes

07807657                              CUSDT[1411.6441091], DAI[.00009106], DOGE[3], SUSHI[.00008912], TRX[3673.27585127], UNI[.00004373], USD[0.00]                                                                           Yes

07807661                              USD[0.65]

07807670                              NFT (560453917507977351/Microphone #9098)[1]

07807682                              NFT (314565348267138901/Bahrain Ticket Stub #2387)[1], USD[0.00]

07807683                              BRZ[2], CUSDT[6], DOGE[1], NFT (323019381966007437/Earl Campbell's Playbook: Rice vs. Texas - October 1st, 1977 #69)[1], NFT (325322865831491461/Kappa)[1], NFT
                                      (329807460906846955/Morning Sun #15)[1], NFT (357486790467740614/Epsilon )[1], NFT (358356754879896659/Chocolate Lab Common #136)[1], NFT (384689506427788184/Dalmatian Common
                                      #383)[1], NFT (410197381250729034/Entrance Voucher #2228)[1], NFT (415219131133134763/DBS Zombie #9)[1], NFT (422410639097994577/Belugie #4493)[1], NFT (449688733731906835/Tim
                                      Brown's Playbook: New York Jets vs. Oakland Raiders - December 2, 2002 #43)[1], NFT (520918225523961940/Golden Retreiver Common #313)[1], NFT (535397830461976368/Earl Campbell's
                                      Playbook: Rice vs. Texas - October 1st, 1977 #7)[1], NFT (545270330928978644/Chocolate Lab Common #403)[1], NFT (561778962514040875/Golden Retreiver Common #76)[1], SHIB[2],
                                      SOL[6.72325685], TRX[1], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07807685                              TRX[.000041], USD[0.00], USDT[0]                                                                                                                                                    Yes

07807688                              CUSDT[1], NFT (480357408465430868/Entrance Voucher #418)[1], SOL[1.34503372], USD[0.00]                                                                                             Yes

07807689                              BRZ[1], DOGE[1], SHIB[2], SOL[.00035479], TRX[1], USD[0.01], USDT[0]                                                                                                                Yes

07807695                              BAT[0], GRT[0], SOL[0.00000001], USD[0.00], USDT[0]                                                                                                                                 Yes

07807699                              AAVE[.90330921], CUSDT[8], DOGE[1.00096212], ETHW[.14556453], LTC[2.92519557], SHIB[2], SOL[2.73733414], TRX[1], USD[0.01]                                                          Yes

07807708                              BF_POINT[300], NFT (445691977627689156/Coachella x FTX Weekend 1 #91)[1], SHIB[1], TRX[1], USD[2.58]                                                                                Yes

07807715                              BTC[0], SOL[0], USD[0.00], USDT[0]

07807730       Contingent, Disputed   NFT (461617192379662466/fffsad)[1], USD[0.01]

07807732                              NFT (437033500800605246/Entrance Voucher #26855)[1]

07807734                              CUSDT[3], DOGE[2], ETH[.20161821], ETHW[.20161821], SHIB[1], USD[0.00]

07807742                              USD[0.56]

07807743                              NFT (288364186882980930/Coachella x FTX Weekend 1 #22971)[1]

07807745                              TRX[500]

07807746                              CUSDT[1], DOGE[2], ETH[.0000003], ETHW[.0000003], MATIC[53.23959358], USD[0.00]                                                                                                     Yes

07807747                              BF_POINT[100], CUSDT[4], MATIC[9.57849450], SOL[1.70797257], TRX[1], USD[0.01]                                                                                                      Yes

07807751                              USD[1087.67]                                                                                                                                                                        Yes

07807755                              ETH[.00000001], NFT (350352328564098373/Eitbit Ape #5285)[1], NFT (427824501703513948/ApexDucks #3108)[1], NFT (468565023954228631/Astral Apes #14)[1], NFT
                                      (475066339473500970/Astral Apes #38)[1], SOL[0], USD[0.00], USDT[0.00000209]
07807761                              BTC[.00119147], CUSDT[2], ETH[.01635833], ETHW[.01615313], USD[0.01]                                                                                                                Yes

07807768                              NFT (295394658342598932/Machitto #2)[1], NFT (295647470618667074/Ragnar)[1], NFT (364958575579088360/Rare)[1], NFT (414924422902054083/World of Pixel #11)[1], NFT                  Yes
                                      (428222776500263394/Hip Hop Royalty )[1], NFT (443579177580522598/Anime #33)[1], NFT (497073214952317150/Gilbert)[1], NFT (512497670033989649/Anime #17)[1], NFT
                                      (518880372106104281/Machitto #8)[1], NFT (556219622206945801/My Little Gang #14)[1], NFT (568863755737812823/Never forget 9/11)[1], USD[0.25]
07807778                              USD[0.04], USDT[0.00000036]

07807784                              USD[0.00], USDT[.00211145]

07807797                              SOL[.00213476], USD[0.00]                                                                                                                                                           Yes

07807811                              SOL[3.002], USD[737.91]

07807813                              BTC[0], ETH[0], SOL[0], USD[0.00], USDT[0.00003107]

07807816                              NFT (305166654230492686/Entrance Voucher #4294)[1], NFT (391888253108018280/Saudi Arabia Ticket Stub #2084)[1], NFT (414210829145655636/The Hill by FTX #3543)[1], USD[0.00]

07807819                              ALGO[.00939213], BRZ[1], DOGE[1], SHIB[5], TRX[2], USD[0.00]                                                                                                                        Yes

07807827                              ETHW[.00587933], LTC[.00000098], USD[14.55]                                                                                                                                         Yes

07807829                              USD[0.02]

07807832                              USD[5.20]

07807833                              USD[0.01]                                                                                                                                                                           Yes

07807835                              BTC[0], NFT (454513732048637677/SharkBro #484)[1], NFT (523607518903802913/SharkBro #1289)[1], NFT (549598064261229123/Entrance Voucher #2408)[1], SOL[1.38], USD[23.87], USDT[0]

07807851                              USD[0.00], USDT[0]                                                                                                                                                                  Yes

07807853                              BRZ[1], USD[0.00]

07807854                              BRZ[4], DOGE[2], MATIC[0], PAXG[0], SHIB[11], SOL[.00000001], TRX[5], USD[0.00], USDT[0.00000001]                                                                                   Yes

07807861                              AVAX[0], BTC[0], MATIC[0], SOL[0], TRX[.000011], USD[0.00], USDT[0]

07807865                              SHIB[34600000], USD[0.00]

07807876                              BTC[0.00002866], SOL[0], USD[0.19]

07807893                              CUSDT[1], MATIC[19.64185163], USD[0.00]

07807914                              USD[30.84]

07807917                              USD[1000.00]

07807918                              USDT[0]

07807931                              BTC[.00768776], CUSDT[1], DOGE[.63135684], SHIB[1], TRX[1], USD[0.00]

07807944                              BRZ[2], CUSDT[3], DOGE[1], GRT[3.075615], SOL[.00011541], TRX[6], USD[0.05], USDT[3.24832803]                                                                                       Yes

07807947                              BTC[0], PAXG[0], USD[15407.16]

07807949                              CUSDT[2], SUSHI[11.60570689], USD[0.00], USDT[0]                                                                                                                                    Yes

07807950                              AAVE[8.30084373], BAT[3.20131496], BF_POINT[100], CUSDT[8], DOGE[2], ETH[3.23690774], ETHW[3.23554819], GRT[3.05339047], LINK[121.55403542], MATIC[3336.42065429], TRX[2],          Yes
                                      USD[0.00], USDT[0]
07807961                              USD[0.00]

07807963                              BTC[.00021717]                                                                                                                                                                      Yes

07807966                              LINK[15.8], USD[1.74]

07807973                              BRZ[1], ETH[.00000001], SHIB[3], USD[0.00]                                                                                                                                          Yes

07807985                              ETH[.00011708], ETHW[.00011708], MATIC[.02630099], SOL[.00000001]                                                                                                                   Yes

07807989                              USD[0.86]

07807996                              SOL[.006933], USD[0.00], USDT[0]

07808004                              BF_POINT[100], CUSDT[1], DOGE[1229.75618881], ETH[1.19209402], ETHW[1.19159337], GRT[1], MATIC[112.44024834], USD[0.00]                                                             Yes

07808008                              AVAX[1.6983], DOGE[0], USD[0.09]

07808023                              BTC[0], USD[0.00], USDT[0.00000001]

07808024                              LTC[.00000015], USD[0.00]                                                                                                                                                           Yes
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07808033                              ETHW[.087847], USD[0.56]

07808053                              ETH[.00000001], ETHW[0], SOL[0], UNI[0], USD[0.00]

07808064                              NFT (461988585570661866/Australia Ticket Stub #1255)[1]

07808069                              CUSDT[1], USD[0.00], USDT[0]                                                                                                                                                           Yes

07808073                              USDT[2050]

07808081                              TRX[.000001], USDT[.8722312]

07808109                              ALGO[.05090397], BF_POINT[300], BRZ[2], BTC[.00000309], DOGE[588.21581704], ETHW[7.99355827], GRT[.00411162], NFT (333527930169983673/Imola Ticket Stub #713)[1], NFT                  Yes
                                      (454836007016008455/Entrance Voucher #4237)[1], SHIB[74], SOL[.000024], TRX[6], USD[0.00]
07808124                              BF_POINT[100], BTC[.23578024], ETH[4.31923498], ETHW[4.31748009]                                                                                                                       Yes

07808126       Contingent, Disputed   USD[4.18]

07808127                              SOL[.00068553], USDT[0]

07808137                              DAI[.00009368], DOGE[.08902637], USD[20.98]                                                                                                                                            Yes

07808147                              SOL[.00008]

07808159                              ETHW[.064935]

07808161                              BF_POINT[200], BRZ[1], BTC[.01407281], CUSDT[4], DOGE[160.17401637], ETH[.23092236], ETHW[.23071769], LINK[6.65076278], LTC[1.11819049], MATIC[22.28311467],                           Yes
                                      SHIB[10996554.91476791], SOL[6.72416297], TRX[2065.28915113], UNI[2.75342694], USD[0.00]
07808177                              ETHW[.016], NFT (366753698278279440/Imola Ticket Stub #1786)[1], NFT (505242409898257856/Entrance Voucher #6047)[1], USD[0.21], USDT[.09061866]

07808179                              SOL[142.85171176]                                                                                                                                                                      Yes

07808184                              EUR[0.00], USD[0.00]

07808197                              USD[0.00]

07808203                              SOL[.02], USD[4.00]

07808206                              AAVE[0], AVAX[0], BAT[0], DOGE[0], LINK[0], MATIC[0], SHIB[0], SOL[0], USD[0.00], USDT[0.00000001]                                                                                     Yes

07808217                              BTC[.00005804], ETHW[.00056099], USD[0.81]

07808218                              BRZ[1], CUSDT[4], LINK[.00002201], MATIC[.00002558], NFT (308466059158544092/Founding Frens Lawyer #550)[1], NFT (367272667342599674/5750)[1], SHIB[2], SOL[0], SUSHI[.00033245],      Yes
                                      TRX[3.10935371], USD[0.01], USDT[1.07669826]
07808222                              BF_POINT[300], CUSDT[1], ETH[.00000001], ETHW[2.86467253], GRT[1]                                                                                                                      Yes

07808232                              EUR[0.00], LTC[.02880885], SUSHI[.00000014], USD[0.00]                                                                                                                                 Yes

07808238                              AAVE[.00361993], BTC[0.00005372], CUSDT[.76494315], DOGE[1], SHIB[4281552.458782], SOL[.00733979], TRX[162.12307373], UNI[.05646494], USD[-6.27], YFI[.00035929]                       Yes

07808240                              BF_POINT[200]

07808263                              USD[21.51]                                                                                                                                                                             Yes

07808279                              BTC[.02112533], DOGE[142.95576633], ETH[.45784672], ETHW[0.49690766], USD[944.38]                                                                                                      Yes

07808282                              ETH[1], ETHW[1]

07808295                              TRX[.000001]

07808300                              USD[0.00]

07808309                              CUSDT[1], KSHIB[29.56095508], USD[0.00]                                                                                                                                                Yes

07808310                              USD[21.51]                                                                                                                                                                             Yes

07808328                              USD[0.00]

07808331                              USD[21.51]                                                                                                                                                                             Yes

07808342                              SOL[.0000163], USD[0.00]

07808345                              SOL[.00837], USD[2.56]

07808358                              BTC[0], SOL[0], USD[0.00], USDT[0.00000031]

07808378                              BCH[.00002904], BTC[.00000005], DOGE[.18769925], GRT[.04383602], LINK[.00073059], NFT (290773569571385804/Mirror Image #4)[1], NFT (330404486003092353/Morning Launch)[1], NFT         Yes
                                      (434079362370008895/[Xip]-Disappointment1#1)[1], NFT (503776796889898289/Thanks for our freedom )[1], SHIB[131.80321425], SOL[0], SUSHI[.00290416], TRX[3], UNI[.0007854], USD[0.00]
07808383                              USD[529.17]                                                                                                                                                                            Yes

07808392                              BAT[2], DOGE[4], MATIC[.60207173], SHIB[26], TRX[3], USD[0.01], USDT[11.94960754]

07808400                              USD[21.51]                                                                                                                                                                             Yes

07808404                              KSHIB[1340], USD[0.28]

07808406                              USD[0.00]

07808411                              NFT (297332952541850723/The Beginning Seies #3)[1], NFT (340785004864802286/The Beginning Seies #8)[1], NFT (373211903287851985/The Beginning Seies #7)[1], NFT
                                      (421508933979934502/The Beginning Seies)[1], NFT (452899653626467073/The Beginning Seies #4)[1], NFT (489907170406541982/The Beginning Seies #6)[1], NFT (540984844072074088/The
                                      Beginning Seies #5)[1], NFT (544140060723305439/The Beginning Seies #2)[1], USDT[.44005621]
07808422                              BTC[.00580509], CUSDT[5], DOGE[265.75079452], ETH[.06781938], ETHW[.06697721], SHIB[188612.31583988], SOL[0.22754011], TRX[2], USD[0.00]                                               Yes

07808426       Contingent, Disputed   USD[0.00], USDT[0.00040568]

07808433                              USD[0.01]

07808435                              NFT (327630986185060374/Eitbit Ape #148)[1], NFT (532781718990836625/Eitbit Ape #7445)[1]

07808438                              NFT (323335328850251256/Shannon Sharpe's Playbook: Baltimore Ravens vs. Denver Broncos - December 31, 2000 #77)[1], USD[2.61]                                                          Yes

07808445                              USD[0.00]

07808472                              BTC[0], SOL[0], USD[0.00]

07808479                              CUSDT[5], DOGE[2.72772609], USD[0.03]                                                                                                                                                  Yes

07808504                              ETH[.035], ETHW[.035], NFT (336585318910675357/Master Alien)[1], NFT (371296579234862995/Sir Diamondhand)[1], NFT (512108504754011752/Sir FTX)[1], USD[5.01]

07808523                              BRZ[2], BTC[.00000052], CUSDT[6], DOGE[4], ETH[.00000226], ETHW[.00000226], GRT[1], SHIB[3608201.69024732], TRX[9], USD[19.99], USDT[3.27273073]                                       Yes

07808524                              NFT (350684259929888499/Imola Ticket Stub #2423)[1], SOL[.02]
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07808528                              NFT (335207014165005667/Romeo #335)[1]

07808532                              BRZ[1], CUSDT[13], DOGE[1], ETH[0], ETHW[0], NFT (289770844796478430/Barcelona Ticket Stub #251)[1], NFT (317300766149819260/Monaco Ticket Stub #161)[1], NFT                        Yes
                                      (347592866551557936/The Hill by FTX #8687)[1], NFT (357929120064331447/FTX Crypto Cup 2022 Key #26669)[1], NFT (374467110581828233/The Hill by FTX #8027)[1], NFT
                                      (386334506762930053/#1 of 3)[1], NFT (413908378812937659/Miami Ticket Stub #828)[1], NFT (545584181553268406/Baku Ticket Stub #141)[1], SOL[.00275852], TRX[4], USD[0.05]
07808539                              CUSDT[0], DOGE[0], TRX[0], USD[0.00], USDT[0]                                                                                                                                        Yes

07808541                              BTC[0], CUSDT[9], DOGE[1], MATIC[0], SOL[0], USD[0.00]                                                                                                                               Yes

07808548                              CUSDT[3], DOGE[2], TRX[2], USD[0.00]

07808563                              AVAX[19.61331914], NFT (398947880946843589/Cash out )[1], SOL[66.6724367], USD[0.00]                                                                                                 Yes

07808568                              ETHW[9.274716], USD[4.24]

07808569                              USD[21.95]                                                                                                                                                                           Yes

07808592                              DOGE[1], MATIC[0]                                                                                                                                                                    Yes

07808593                              USD[3.77]                                                                                                                                                                            Yes

07808605                              BAT[1.00631205], BRZ[1], CUSDT[6], DOGE[6.07071833], GRT[1.00281675], SHIB[1571631.09205811], SOL[.00000001], TRX[3], USD[0.00], USDT[1.07490032]                                    Yes

07808611                              BAT[1], BRZ[3], CUSDT[1], DOGE[5], ETH[0.00001268], ETHW[0], SHIB[13], TRX[5], USD[0.00], USDT[1.04524932]                                                                           Yes

07808617                              BTC[0], SOL[0], USD[0.00], USDT[0]

07808619                              GBP[8.05], TRX[.01175], USD[19.65], USDT[0.02100000]

07808624                              USD[20.49]

07808630                              BRZ[1], BTC[.00010536], CUSDT[3], DOGE[1.00545244], LINK[8.28091798], SOL[1.11596217], USD[0.42]                                                                                     Yes

07808634                              ETH[.000625], ETHW[.000625], USD[0.08], USDT[1.46177544]

07808635                              BAT[2], ETH[.00000001], GRT[1], MATIC[1.00164518], USD[0.00]                                                                                                                         Yes

07808636                              LTC[.0098058], USD[5.68], USDT[0.00000001]

07808643                              USD[0.95]

07808646                              BTC[0], ETHW[.1852994], LINK[.1961], LTC[.04804], USD[1.37], USDT[0.00009158]

07808683                              BTC[0.00153744], SOL[0], USD[0.00]

07808685                              CUSDT[14], DOGE[3], TRX[2], USD[0.00]                                                                                                                                                Yes

07808717                              ETH[0], MATIC[0], NFT (290431322251934997/Space Dream #27)[1], NFT (308538535291522811/GSW Round 1 Commemorative Ticket #308)[1], NFT (309393808500434365/Warriors Logo Pin #577
                                      (Redeemed))[1], NFT (310133651698975980/Space Dream #19)[1], NFT (333966448368191910/GSW Western Conference Finals Commemorative Banner #806)[1], NFT (336040235059704944/Space
                                      Dream #23)[1], NFT (339852676351425387/GSW Western Conference Semifinals Commemorative Ticket #472)[1], NFT (377166903296288215/Space Dream #24)[1], NFT (384188428737051985/GSW
                                      Western Conference Finals Commemorative Banner #805)[1], NFT (385021816637374097/Space Dream #25)[1], NFT (396113335373026729/Entrance Voucher #1979)[1], NFT
                                      (403239167026287241/GSW Western Conference Semifinals Commemorative Ticket #473)[1], NFT (417328116540889471/Warriors Hoop #515 (Redeemed))[1], NFT (452107418462366751/Space
                                      Dream #29)[1], NFT (467891028514892566/Space Dream #28)[1], NFT (471696652659538041/GSW Championship Commemorative Ring)[1], NFT (497796848701491110/GSW Championship
                                      Commemorative Ring)[1], NFT (502078095765676734/GSW Western Conference Finals Commemorative Banner #807)[1], NFT (547142377288224032/Space Dream #26)[1], NFT
                                      (569603905251530112/GSW Western Conference Finals Commemorative Banner #808)[1], SOL[0.07702599], USD[0.00], USDT[0]

07808724                              BF_POINT[200]                                                                                                                                                                        Yes

07808730                              SHIB[6993000], USD[5.52]

07808735                              ETH[.1017071], ETHW[.0657071], USD[0.47]

07808749                              SOL[0], USDT[0.00000139]

07808751                              BRZ[1], CUSDT[9], LINK[17.4801088], SHIB[6], TRX[3], USD[0.01]                                                                                                                       Yes

07808766                              ETH[0], GRT[0], LINK[0], NFT (495600151136926596/Entrance Voucher #4754)[1], USD[0.00], USDT[0]

07808770                              USD[0.01]                                                                                                                                                                            Yes

07808780                              SOL[0], SUSHI[.00000001], USD[0.00]

07808781                              SOL[0.87921774], USD[0.18]

07808783                              SOL[.01998], USD[0.98]

07808786                              BTC[0], ETH[.000963], USD[5024.93], USDT[0]

07808789                              BTC[2.00000031], DOGE[5000], ETH[4.00060145], ETHW[4.00060145], LINK[325], SOL[234.37], USD[129267.91]

07808801                              SOL[.01063357]

07808814                              CUSDT[7], DOGE[37.14477496], SHIB[348803.83180481], SUSHI[3.86203256], USD[90.38]                                                                                                    Yes

07808818       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07808824       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07808830                              BTC[0], MATIC[0], NFT (520123435091039132/Megalodon Rogue Shark Tooth)[1], SHIB[0], SOL[0], USD[0.00]

07808831                              BTC[0], ETH[0], USD[0.00], USDT[0]

07808833                              BAT[1.0165555], BRZ[2], CUSDT[2], DOGE[4.0221248], GRT[2.06194424], SOL[.00000001], TRX[2], USD[0.14], USDT[1.09718571]                                                              Yes

07808838                              ETHW[1.88640275]                                                                                                                                                                     Yes

07808845                              NFT (507804249168519064/Pain and its Relief)[1], USD[0.99]

07808850                              MATIC[0], USD[0.00]                                                                                                                                                                  Yes

07808860                              BF_POINT[300], ETH[.00000017], MATIC[2078.27312892], SHIB[584.43574226], USD[0.00]                                                                                                   Yes

07808871                              BTC[.0006], ETHW[.128943], MATIC[12], USD[358.90]

07808876                              AUD[0.09], BAT[.00001753], BF_POINT[200], BTC[.00029291], CUSDT[271.93896507], DOGE[1.00004974], ETH[.00118668], ETHW[.001173], GRT[.00085807], KSHIB[.00044258], LINK[.00938313],   Yes
                                      LTC[.00041386], MATIC[.33716635], SHIB[244688.11010475], SOL[.08391185], TRX[21.49857128], USD[0.53]
07808881                              BTC[0.00163744], ETH[.00291506], ETHW[0.00291506], USD[0.22], USDT[.4399444]

07808884                              CUSDT[4], DOGE[1], MATIC[.12642202], SHIB[2], USD[78.69]                                                                                                                             Yes

07808905                              SOL[0], USD[1465.18], USDT[0.00000168]
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                                                                                                                                         Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07808909                           BTC[.00007435], USD[3.51], USDT[2.33077475]

07808912                           BTC[.03161008], CUSDT[1], DOGE[1], ETH[.04692282], ETHW[.0463393], SOL[1.12331304], TRX[3], USD[543.38]                                                                          Yes

07808917                           BCH[.5]

07808952                           NFT (438679060038075754/Coachella x FTX Weekend 2 #14086)[1], USD[0.00]                                                                                                          Yes

07808956                           FTX_EQUITY[0], USD[0.00], USDT[0], WEST_REALM_EQUITY_POSTSPLIT[0]

07808957                           ETH[.00000041], ETHW[0.00016840], PAXG[.0111], USD[0.32], USDT[0]

07808958                           TRX[.000006]                                                                                                                                                                     Yes

07808961                           SOL[.00000001], USD[154.53], USDT[.0049]

07808968                           USD[0.01]

07808970                           SHIB[2], SOL[.00000001], USD[2.01]                                                                                                                                               Yes

07808971                           BTC[0], USD[0.00], USDT[0]

07808984                           USD[0.31]

07808992                           ETH[.07321333], USD[0.00]

07808997                           NFT (538720749107944561/Megalodon Rogue Shark Tooth)[1], USD[10.97]

07809000                           SOL[20.79210893], USD[0.00]

07809002                           CUSDT[185.86267448], DOGE[67.37493726], MATIC[11.12247535], SHIB[144399.32865164], SOL[.01718622], USD[0.00]                                                                     Yes

07809004                           BRZ[1], DOGE[0], TRX[4347.05502229]                                                                                                                                              Yes

07809006                           CUSDT[2], USD[0.00]                                                                                                                                                              Yes

07809008                           NFT (292049755469356028/Snowy in the Backyard)[1], NFT (463880908210106379/Saudi Arabia Ticket Stub #216)[1], NFT (472397291501377709/FTX - Off The Grid Miami #7504)[1], NFT    Yes
                                   (554648891170638167/Barcelona Ticket Stub #1962)[1], SHIB[8246438.61701875], USD[10.42]
07809011                           NFT (327392987352743819/Billie Eilish Masterpiece)[1], TRX[.000001], USD[0.10]

07809014                           USD[125.00]

07809021                           SHIB[2100000], SOL[20], USD[1004.13]

07809025                           ETHW[.0606217], USD[0.88]

07809033                           BTC[0], ETH[0], USD[0.00]

07809040                           BTC[0.00004555], ETHW[.062937], USD[0.00], USDT[0]

07809042                           AAVE[17.57], SOL[19.57], SUSHI[669.965], UNI[298.0509], USD[0.09]

07809044                           BTC[.000004], ETH[.00009216], ETHW[.00009216], USD[0.88]

07809047                           USD[0.00]

07809051                           BTC[0], MATIC[0], SOL[0]

07809053                           BRZ[1], DOGE[3], ETHW[2.10468686], TRX[1], USD[0.00], USDT[2.16089414]                                                                                                           Yes

07809056                           NFT (307615965198229987/The 2974 Collection #1921)[1], NFT (321377467255343035/Birthday Cake #1921)[1], NFT (371348706747415522/2974 Floyd Norman - OKC 2-0073)[1], USD[23.63]

07809058                           USD[2702.16]

07809061                           MATIC[10], USD[0.24]

07809063                           NFT (464596384727522090/Australia Ticket Stub #2336)[1], USD[0.00]

07809067                           DOGE[1], SHIB[5650496.94842626], USD[0.00]                                                                                                                                       Yes

07809070                           NFT (496601245453383373/#3226)[1]

07809072                           AVAX[2.7972], BTC[.01261815], ETH[.2426541], ETHW[.2426541], SOL[4.90509], SUSHI[163.31615677], UNI[33.2667], USD[0.06]

07809080                           BTC[0], ETH[0], ETHW[0.00041392], USD[0.00], USDT[0.00001539]

07809083                           BTC[.001998], USD[93.71]

07809084                           BTC[.01132546], TRX[1], USD[0.00]                                                                                                                                                Yes

07809093                           BTC[0], USD[2.76]

07809101                           BF_POINT[100], BRZ[3], CUSDT[3], DOGE[4], ETH[.57013566], ETHW[.5698961], SHIB[2], TRX[4], USD[0.00]                                                                             Yes

07809110                           USD[10.00]

07809112                           USD[0.01]

07809156                           AAVE[2.680982], BTC[.11963963], USD[3251.43], USDT[0]

07809157                           NFT (454535519129445199/APEFUEL by Almond Breeze #669)[1], SHIB[761.58157099], USD[0.00]                                                                                         Yes

07809160                           SHIB[1], TRX[1], USD[0.01]

07809171                           USD[10.97]                                                                                                                                                                       Yes

07809174                           TRY[0.00], USD[0.00], USDT[0]

07809178                           SOL[335.87476001], USD[0.00]

07809181                           BAT[0], MATIC[0], SOL[0], USD[0.26]

07809191                           BRZ[119.71335745], CUSDT[9998.98073551], NFT (348145290420490627/StarwarsFunArt #4)[1], NFT (367395742388499300/StarwarsFunArt #5)[1], NFT (411980874581900492/Hall of Fantasy   Yes
                                   League #168)[1], NFT (424508772557988891/StarwarsFunArt #2)[1], NFT (525479491376734133/Hall of Fantasy League #167)[1], NFT (567412984578523703/StarwarsFunArt #3)[1],
                                   TRX[112.50343544], USD[54.75]
07809200                           BTC[0]

07809201                           USDT[0.14311266]

07809206                           BTC[.03069104]                                                                                                                                                                   Yes

07809209                           BAT[0], BTC[0.00000510], USD[0.00]                                                                                                                                               Yes

07809211                           CUSDT[1], SOL[0], TRX[1], USD[0.00]                                                                                                                                              Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07809220                              USDT[1.0363154]

07809223                              ETH[0], SOL[.00000001], USD[0.00], USDT[0.00002916]

07809227                              AAVE[.27327581], ETH[.35764972], ETHW[.35749936], KSHIB[2095.80394899], USD[2913.01]                                                                                                   Yes

07809234                              USD[0.00], USDT[0.00000097]

07809236                              ALGO[0], TRX[.000001], USD[0.04]

07809247                              USD[50.00]

07809254                              BF_POINT[100], USD[0.00], USDT[0]

07809255                              BTC[.0020979], USD[2.35]

07809263                              ETH[6.838], ETHW[6.838], USD[2.77]

07809266                              ETH[.000516], ETHW[.000516], SHIB[1400000], SOL[38.61452], SUSHI[.496], USD[1.28]

07809269                              ETH[.143], ETHW[.143], USD[2.25]

07809272                              BTC[.07769971], DOGE[1], ETH[.00000141], ETHW[.00000141], GRT[1.00367791], SHIB[1], USD[0.01]                                                                                          Yes

07809274                              ETHW[.3872248], LINK[1.29259], MATIC[49.202], USD[1.12]

07809303                              GRT[1.00367791], SOL[19.33141850]                                                                                                                                                      Yes

07809317                              USD[0.00]

07809320                              TRX[.000002]

07809327                              USD[0.00], USDT[.5]

07809328                              CUSDT[1], DOGE[1], TRX[1], USD[0.00]

07809335                              SOL[0]

07809344                              BTC[0.04250000], ETH[0.04395820], ETHW[.0439582], USD[100.67]

07809351                              TRX[.000001], USDT[.80499128]

07809356                              USD[0.10]

07809360                              CUSDT[1], DOGE[1], MATIC[392.5102124], USD[0.03]                                                                                                                                       Yes

07809382                              SHIB[1], USD[0.01]

07809385                              USD[0.44]

07809386                              BTC[.000079], ETH[0.00050656], ETHW[0.00050656], SOL[.00114683], USD[1531.92]

07809390                              USD[2.66]

07809395                              NFT (300840962899063770/quadrata)[1], NFT (325253985125013691/amazonia)[1], NFT (342642458814133962/primal)[1], NFT (385519057671155264/initium)[1], NFT (398888167190485803/draconis
                                      spirit)[1], NFT (414692853722941985/ocean carnage)[1], NFT (418985557955900823/Origami Bluebird)[1], NFT (423275585388142940/Crane)[1], NFT (429932118646561730/galactic chaos)[1], NFT
                                      (432947808301551330/troubled bridges)[1], NFT (449696738617105272/Robotic Repeat)[1], NFT (478323354674040666/black rain)[1], NFT (482687357387648781/pyramid of fire)[1], NFT
                                      (487396700040961148/texturas)[1], NFT (495901187051591614/twilight spirit)[1], NFT (528920250502543829/resurrection)[1], NFT (549488685539627915/eruption)[1], NFT
                                      (563971500354896615/Swan)[1], NFT (565809427943190258/Origami Crane)[1], SOL[0], USD[0.95]
07809396                              BAT[2], BF_POINT[300], BRZ[9.2406107], CUSDT[18], DOGE[4], ETHW[.00183657], GRT[3], LINK[.00102049], NFT (413169403107528004/Mammoth Polly)[1], SHIB[108955.53855444],                  Yes
                                      TRX[30.69019865], USD[0.01], USDT[1.02543197]
07809398                              CUSDT[1], ETH[.014259], ETHW[.014259], USD[0.01]

07809407       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07809409                              BAT[42.99612272], BRZ[1], CUSDT[515.21569402], DAI[2.11849107], DOGE[443.90073896], KSHIB[4486.42479783], MATIC[20.21208912], SHIB[6522100.81489528], SOL[4.67912831],                 Yes
                                      SUSHI[1.51406095], TRX[116.49081582], USD[0.01], USDT[10.91934953]
07809421                              ETH[0]

07809428                              BTC[0], SOL[0], USD[0.00]

07809431                              TRX[.000192], USD[0.01], USDT[0.00037900]

07809445                              BF_POINT[300], BRZ[1], BTC[.00000015], DOGE[3], SHIB[5], SOL[.00009505], TRX[2], USD[0.00]                                                                                             Yes

07809448                              USD[548.62]                                                                                                                                                                            Yes

07809454                              DOGE[1], ETHW[.05241131], SHIB[1], USD[0.00]

07809464                              NFT (541959271803569144/Imola Ticket Stub #673)[1], USDT[0]

07809481                              BTC[0], ETH[0], ETHW[0.00002156], USD[8.47]                                                                                                                                            Yes

07809489                              BTC[0], USD[2.30], USDT[0]

07809493                              USD[0.00]

07809495                              CUSDT[2], USD[0.00], USDT[0.00017352]                                                                                                                                                  Yes

07809499                              BTC[.00001112], ETH[.00007923], ETHW[.00007923], SOL[.00149686]                                                                                                                        Yes

07809504                              BRZ[1], DOGE[1], USD[0.00]                                                                                                                                                             Yes

07809511                              NFT (428670296034103655/Entrance Voucher #3583)[1]

07809513                              USD[0.00]

07809517                              NFT (422259748945680889/Carnage of the Gooneys)[1]

07809519                              DOGE[0], USD[18.88]

07809520                              LTC[.11941]

07809532                              USD[2.21]

07809540                              SOL[.0000089]

07809549                              BRZ[2], BTC[.00356441], CUSDT[10], DOGE[2], LINK[12.53109688], SOL[10.19742824], TRX[1], USD[0.07], USDT[0.00000059]                                                                   Yes

07809556                              USDT[0.00032831]

07809561                              ETH[0], SOL[0]

07809565                              BTC[.00204257], DOGE[110.61536477], ETH[.03863432], ETHW[.03863432], MATIC[38.91279594], SHIB[124455.50715619], SOL[.82431969], TRX[99.06941129], USD[0.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07809567                              SHIB[2], USD[0.03]                                                                                                                                                                  Yes

07809568                              SOL[0], USD[0.00]

07809585                              BTC[.06943198], ETH[.179126], ETHW[.179126], JPY[12634.97], MATIC[29.9525], SOL[.0080905], USD[8.16], USDT[.007495]

07809588                              BTC[0], SOL[.00000001], USD[3.10], USDT[0.00001028]

07809598                              BTC[.17345767], USD[0.32]

07809600                              SOL[6.48709343]

07809602                              SOL[0.29910106]                                                                                                                                                                     Yes

07809617                              SHIB[195596.78458163], USD[0.00]                                                                                                                                                    Yes

07809621                              USD[1.75], USDT[0]

07809627                              ETH[.255816], ETHW[.255816], SOL[1.44855], USD[4.52]

07809629                              DOGE[11.82356024], ETH[.058891], ETHW[.058891], SOL[1.41279531], USD[0.00]

07809633                              USD[0.00]

07809644                              USD[1071.52]

07809648       Contingent, Disputed   ETH[0], SOL[0.00000001], USD[0.00], USDT[0]

07809655                              BAT[1], CUSDT[1], ETH[0], ETHW[0], GRT[1], SOL[0], TRX[2], USD[0.00]

07809656                              CUSDT[1], EUR[14.49]                                                                                                                                                                Yes

07809667                              DOGE[0], KSHIB[.11127112], MATIC[0], SOL[0], SUSHI[0], USD[0.00]                                                                                                                    Yes

07809668                              BTC[0], SOL[.00017611], USD[0.16]

07809678                              SOL[15.37468], USD[0.42]

07809683                              AAVE[.64302063], ALGO[126.98131452], AVAX[2.48390021], BCH[2.00150264], BTC[.04797816], DOGE[1502.11073446], ETH[.68945361], ETHW[.4025542], GRT[425.53206549], LINK[26.7452789],   Yes
                                      LTC[12.18542739], MATIC[88.78566754], MKR[.05707124], NEAR[13.13674802], PAXG[.02890797], SHIB[6], SOL[1.27947287], TRX[1], USD[354.42], YFI[.00700192]
07809689                              CUSDT[1], SOL[.30883333], USD[54.86]                                                                                                                                                Yes

07809695                              SOL[.00599]

07809697                              DOGE[1], LINK[72.77053632], MATIC[830.14938258], SHIB[12], TRX[1], USD[0.94]

07809708                              USD[0.00]

07809709                              USD[0.27], USDT[.8375262]

07809717                              ETH[2.7984292], ETHW[2.7984292]

07809721                              CUSDT[2], USD[6.21]                                                                                                                                                                 Yes

07809730                              ETH[.138861], ETHW[.138861], USD[2.28]

07809733                              USD[500.00]

07809736                              SOL[0], USD[1.32]

07809740                              BRZ[1], BTC[0.00283532], NEAR[4.19918939], SHIB[3], SOL[0], USD[0.00]                                                                                                               Yes

07809744                              BTC[.00000601], DOGE[.00089815], USD[72.34]

07809753                              BTC[.00279867], USD[6.66]

07809778                              BRZ[1], CUSDT[2], ETH[.00000057], ETHW[.00000057], USD[0.16]                                                                                                                        Yes

07809784                              SHIB[678021.75257063], USD[0.00]                                                                                                                                                    Yes

07809790       Contingent, Disputed   USD[1.00]

07809791                              SOL[0], USD[0.00]

07809794       Contingent, Disputed   USD[6000.00]

07809797                              CUSDT[3], DOGE[1], MATIC[.00000607], USD[137.72]

07809803                              CUSDT[2], SOL[1.13953125], USD[0.01], USDT[10.91407093]                                                                                                                             Yes

07809807                              CUSDT[2], DOGE[1], ETH[.00000001], SOL[0], USD[0.00]                                                                                                                                Yes

07809813                              LTC[0], USD[0.00]                                                                                                                                                                   Yes

07809821                              USD[1.30]

07809824                              BTC[0], USD[0.01]

07809831                              DOGE[1], KSHIB[2166.74300824], USD[0.00]                                                                                                                                            Yes

07809842                              LTC[6.53906125]                                                                                                                                                                     Yes

07809844                              SHIB[3000000], USD[4.89]

07809851                              BTC[0.00969532], USD[1.12]

07809856                              BTC[.00040277], CUSDT[4], DOGE[100.82286432], USD[0.97], USDT[0]

07809857                              SOL[0]

07809858                              USD[0.00]

07809863                              BTC[.0000795], SOL[.00048], USD[0.00]

07809864       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07809875                              USD[1.36]

07809882                              BAT[1.01390394], BRZ[1], CUSDT[3], DAI[.01295619], DOGE[4], ETH[0], ETHW[.94165148], SHIB[15], TRX[3], USD[0.00]                                                                    Yes

07809895                              MATIC[939.23955904], SOL[7.2313812], SUSHI[36.202497], TRX[1], USD[2.33]                                                                                                            Yes

07809897                              SHIB[81444.07909847], SOL[0], USD[147.53]

07809901                              DOGE[0], ETH[0], USD[1.50], USDT[25]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07809910                              USD[691.64]

07809912       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07809915       Contingent, Disputed   USDT[44.44184098]                                                                                                                                      Yes

07809922                              ETH[.01], ETHW[.01]

07809923                              USD[20.00]

07809924                              BTC[.01273092], CUSDT[4], DOGE[948.73895211], ETH[.18515919], ETHW[.1849209], LTC[2.24982536], SHIB[3157867.94881991], TRX[1608.39240234], USD[0.11]   Yes

07809933                              BCH[0], CUSDT[3], TRX[.0000733], USD[0.00]                                                                                                             Yes

07809939                              BTC[.00076975]

07809942                              BTC[.00001346], ETH[.00039321], ETHW[.00039321]                                                                                                        Yes

07809943                              USD[13.54]

07809946                              USD[0.38], USDT[0.00000161]

07809948                              USD[0.00]

07809953                              NFT (449897751402146301/Humpty Dumpty #219)[1]

07809955                              USD[65.88]                                                                                                                                             Yes

07809960                              CUSDT[1], USD[0.00]                                                                                                                                    Yes

07809962                              BRZ[1], CUSDT[7], DOGE[1], SOL[7.5988087], TRX[1], USD[15.00]

07809975                              USD[0.00]

07809977                              USD[0.10]

07809988       Contingent, Disputed   SHIB[1437513.44232051], TRX[0], USD[0.00], USDT[0]                                                                                                     Yes

07809992                              CUSDT[1], SUSHI[3.68211449], USD[0.00]                                                                                                                 Yes

07809996                              NFT (541785812977845132/Serum Surfers X Crypto Bahamas #129)[1], SOL[2.29226372], USD[49.02]

07809999                              ETH[0], SOL[0], USDT[0.00000237]

07810001                              BTC[.00004368], DAI[.00000001], ETH[0], SOL[.00541], USD[1.00]

07810010                              USD[22.18]

07810011                              BRZ[1], DOGE[1], ETHW[1.30039252], SHIB[6], USD[180.25], USDT[0.00002611]                                                                              Yes

07810014                              DOGE[1], SOL[1.34940393], USD[0.03]                                                                                                                    Yes

07810017       Contingent, Disputed   BTC[0], USD[0.00]

07810019                              SOL[0]

07810035                              ETH[.75223289], ETHW[.75223289], USD[500.00]

07810042                              USD[79.37]                                                                                                                                             Yes

07810043                              CUSDT[2443.44193371], DOGE[833.74748935], ETH[.08929698], ETHW[.0882579], LINK[3.7775702], USD[293.83]                                                 Yes

07810046                              LTC[.00311], SOL[11.07], USD[0.46]

07810073                              USD[0.00]

07810089                              SOL[.00000536], USD[0.00], USDT[0]

07810095                              ETH[.00933412], ETHW[.00933412], MATIC[0], SHIB[11], USD[0.75]

07810097                              BTC[0.06073695], ETH[0], USD[0.00], USDT[0]

07810098                              BF_POINT[200], BTC[0], SOL[0], USD[0.01]                                                                                                               Yes

07810109                              BF_POINT[300], SHIB[8287016.5750926], USD[0.08]                                                                                                        Yes

07810110                              NFT (454787476556621123/Coachella x FTX Weekend 1 #27779)[1], USD[0.00]

07810111                              USD[0.40]

07810123                              AAVE[.0000034], ETHW[.01156758], SHIB[60.44379126], TRX[3], USD[0.05], USDT[0]                                                                         Yes

07810132                              USD[0.00]

07810152                              CUSDT[1], SHIB[776363.54907824], USD[0.02]                                                                                                             Yes

07810159                              BTC[.0111973], SOL[5.5], USD[0.39]

07810160                              CUSDT[1], GRT[606.20315112], USD[0.22]                                                                                                                 Yes

07810163                              BRZ[1], BTC[.01408623], CUSDT[36], DOGE[8.24068269], ETH[0.04968434], ETHW[0.04906829], GRT[1.00367791], SOL[4.08340313], TRX[9], USD[3.85]            Yes

07810165                              CUSDT[1], DOGE[1], USD[0.01]

07810168                              BRZ[1], BTC[0], ETH[.58682661], ETHW[0], SHIB[6], USD[0.00]                                                                                            Yes

07810173                              BAT[.299], BTC[0], ETH[.00005], ETHW[.00005], MATIC[.92488419], SHIB[68065.23645433], SUSHI[.4535], USD[8.93], USDT[0]                                 Yes

07810174                              SOL[.00758106], USD[0.00]

07810175                              USD[0.00]

07810180                              BTC[.11015759], GRT[1], USD[0.00]

07810181                              BTC[0], EUR[1.00], USD[0.00]

07810185                              BRZ[1], CUSDT[1], DOGE[1], SOL[3.6238796], USD[0.00]                                                                                                   Yes

07810194                              USD[1.94]

07810197                              USD[0.00]                                                                                                                                              Yes

07810199                              USD[2.34]

07810200                              SOL[0.00121062], USD[1.71]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07810208                              NFT (429841402208967400/MagicEden Vaults)[1], NFT (453658318248673063/MagicEden Vaults)[1], NFT (454000929379089689/Fox #4307)[1], NFT (459751986801599431/Fox Flame)[1], NFT
                                      (479389469140646383/MagicEden Vaults)[1], NFT (486978247950802693/MagicEden Vaults)[1], NFT (555406784269862810/MagicEden Vaults)[1]
07810210                              ETH[.00100022], ETHW[.00100022], LTC[.03], SOL[.03], USD[0.00]

07810225                              NFT (505958110071286295/OG Canteen #001)[1], USD[0.01], USDT[1.2924]

07810226                              LINK[5.49114118]                                                                                                                                                                Yes

07810240                              USD[250.00]

07810241                              ETH[.00000001], ETHW[0], USD[0.00]

07810242                              BTC[0.00212628], DOGE[.44485], ETH[.07716685], ETHW[.07716685], USD[2.01]

07810243                              CUSDT[1], SOL[3.22440613], TRX[1854.42595568], USD[0.00]                                                                                                                        Yes

07810247                              BTC[.00044141], DOGE[1], ETH[.008176], ETHW[.00808024], USD[0.03]                                                                                                               Yes

07810250                              SOL[1.04859303], USD[0.00]

07810261                              SOL[0], USD[0.00]

07810266                              USD[0.00]

07810277                              CUSDT[4], DOGE[1], ETH[.00631803], ETHW[.00623595], MATIC[28.39345555], SOL[.40098399], TRX[1], UNI[1.14334874], USD[0.00], USDT[27.31629112]                                   Yes

07810278                              SHIB[1], USD[0.01]

07810282                              ETH[.148851], ETHW[.148851], USD[2.58]

07810284                              SOL[.14931946], USD[0.42]

07810289                              NFT (366855777173948165/Entrance Voucher #1847)[1], USD[0.00]

07810291                              DOGE[318.73373368], SHIB[1], USD[54.70]                                                                                                                                         Yes

07810293                              SOL[2], USD[9.46]

07810300                              USD[0.01]                                                                                                                                                                       Yes

07810307                              NFT (412669492001804089/Imola Ticket Stub #1802)[1]                                                                                                                             Yes

07810318                              SOL[.31782627]

07810322                              CUSDT[184], SOL[.35], USD[1.14], USDT[.0052149]

07810337                              BTC[0], ETHW[.15637887], SOL[0], USD[0.00]

07810338                              BAT[1], BRZ[1], DOGE[3], GRT[1], SHIB[1], TRX[4], USD[0.01], USDT[5]

07810339                              SOL[0.14236478], USD[0.00]

07810340                              ETHW[.146], GRT[.989], USD[0.23]

07810347                              ETH[0], NFT (331059962189437411/Snek #3460)[1], SOL[0], USD[0.00]

07810352                              USD[0.00], USDT[10]

07810355                              BRZ[106], CAD[25.16], KSHIB[877.38015688], SGD[13.30], SHIB[2982000.02880704], SOL[.43774037], USD[0.39]                                                                        Yes

07810358                              ETH[.040959], ETHW[.040959], USD[3.09]

07810364                              BAT[1.01655549], CUSDT[1], DOGE[1], ETH[0], ETHW[0]                                                                                                                             Yes

07810366                              CUSDT[1], DOGE[666.46193034], USD[54.90]                                                                                                                                        Yes

07810384                              SOL[.00000001]                                                                                                                                                                  Yes

07810387                              DAI[9.46100951], DOGE[23.04937728], MATIC[2.68270227], SHIB[2], SOL[.43959229], USD[4.87]                                                                                       Yes

07810392                              NFT (458905952042653510/Entrance Voucher #2325)[1]

07810394                              ETH[.12910445], ETHW[.12802197], USD[0.00], USDT[1.07938584]                                                                                                                    Yes

07810396       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07810409                              BTC[.00000005], TRX[1], USD[331.51]                                                                                                                                             Yes

07810418                              ETH[0], SOL[0], USD[0.00], USDT[0]

07810422                              BRZ[1], BTC[.0015635], CUSDT[3], TRX[0], USD[5.42]                                                                                                                              Yes

07810432       Contingent, Disputed   BTC[.000066], SOL[.00121296], USD[0.01]

07810434                              ETHW[.9991], USD[0.01]

07810448                              BTC[0.00000001], DOGE[0], ETH[0], USD[0.01], USDT[0]                                                                                                                            Yes

07810466                              SOL[0], USD[0.00]                                                                                                                                                               Yes

07810467                              CUSDT[10], DOGE[1], SOL[.00028694], USD[0.00]                                                                                                                                   Yes

07810475                              NFT (387969649095206311/New world)[1], NFT (555617121400680460/Her dino)[1], USD[10.00]

07810476                              USD[2.42]

07810478                              DOGE[1], TRX[1], USD[0.00]                                                                                                                                                      Yes

07810479                              BTC[.00115333], ETH[1.86933025], USD[183.20]                                                                                                                                    Yes

07810480                              CUSDT[3], DOGE[3], USD[15.84]                                                                                                                                                   Yes

07810486                              USD[0.00]

07810493                              NFT (553318047860590317/Coachella x FTX Weekend 1 #3065)[1]

07810494                              NFT (400474208574349249/The Hill by FTX #8091)[1]                                                                                                                               Yes

07810503                              SOL[2.27775], USD[1.64]

07810506                              GRT[5.58685903], SUSHI[8.4915], USD[0.05]

07810511                              BAT[.00000985], CUSDT[2], USD[0.01]                                                                                                                                             Yes

07810514                              SOL[.03513783]
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                                                                                                                                            Customer Claims                                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07810515                              BTC[.0141926], ETH[.18284], ETHW[.18284], SOL[1.65834], USD[6.54]

07810517                              CUSDT[4], DOGE[2], USD[0.00]                                                                                                                                                                     Yes

07810529                              USD[0.00]

07810530                              NFT (300676613772809750/mistake)[1], NFT (309225496378439920/abstract 2021 #0001)[1], NFT (309440820450431749/Ceilings of New York - Green Red Black)[1], NFT
                                      (312778774693723872/abstract2023 FTX.US Logo Remix Contest Entry)[1], NFT (361433321216046604/abstract 2021 #0003)[1], NFT (375535984939362268/fractal_01)[1], NFT
                                      (379026907994298379/Ceilings of New York - Red Black White)[1], NFT (407558154132050735/TMI (detail))[1], NFT (424941278086471943/Ceilings of New York - Disco)[1], NFT
                                      (481307726376512614/A squirrel in his house (hiding))[1], NFT (491602184334690527/TMI)[1], NFT (494582983445428660/A squirrel in his house (very hiding))[1], NFT (506140041185666309/Proof of
                                      Stake)[1], NFT (511577107620519339/Ceilings of New York - Green Red Black #2)[1], NFT (545273108804444108/A squirrel in his house)[1], NFT (546989281583840204/abstract 2021 #0002)[1], NFT
                                      (553994736346243441/ceci n'est pais une essai)[1], SOL[.00674], USD[2.02]
07810531                              SOL[0], USD[0.00], USDT[0.00000597]

07810535                              SOL[1.33], USD[401.12]

07810537                              BTC[0], DOGE[0], ETH[0], SOL[0], USD[0.98], USDT[0.00000015]

07810538                              BTC[0], ETH[0], KSHIB[0], LTC[0], USD[15.58], USDT[0.00000136]

07810553                              BAT[1.00749827], DOGE[2], GRT[1.00367791], NFT (419353510068241421/Rox #141)[1], NFT (451878443350242668/Nifty Nanas #7207)[1], NFT (459565816318341593/Rox #046)[1], NFT                        Yes
                                      (465725758953602931/Nifty Nanas #2545)[1], NFT (570461543223783227/Fancy Frenchies #6079)[1], SOL[48.6481455], USD[950.08]
07810564                              DOGE[2], SHIB[178103035.26793539], TRX[2], USD[0.00], USDT[1.08503916]                                                                                                                           Yes

07810566                              MATIC[379.62], USD[34.61]

07810587                              AVAX[.1], USD[0.82]

07810588                              USD[0.00]

07810589                              USD[329.12]                                                                                                                                                                                      Yes

07810594                              USD[0.76]

07810609                              CUSDT[2], USD[0.00]                                                                                                                                                                              Yes

07810611                              USD[1000.01]

07810613                              BAT[1], BRZ[1], CUSDT[1], DOGE[2], ETHW[2.04147718], MATIC[.00273502], SHIB[2], TRX[1], USD[0.00]                                                                                                Yes

07810622                              USD[0.00]

07810623                              ETH[0], USD[72.37]

07810642                              USD[0.00]

07810643                              BTC[0], ETH[0], SOL[0], TRX[0.00000092], USD[0.00], USDT[0.00000082]

07810651                              TRX[.000001]                                                                                                                                                                                     Yes

07810652                              USD[0.00], USDT[0]

07810653                              BF_POINT[300], USDT[0.92681981]

07810656       Contingent, Disputed   USD[1.37]

07810658                              USD[0.00], USDT[2.83365961]

07810665       Contingent, Disputed   USD[0.00]

07810666                              BTC[.0181818], SOL[7.12287], USD[8.48]

07810669                              TRX[1675], USD[0.04]

07810670                              BTC[.0338765], ETH[.325752], ETHW[.325752], LINK[18.8], SOL[2], USD[29.98]

07810673                              USD[85.28]

07810676                              BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07810683                              SUSHI[34.5], USD[3.85]

07810687                              USD[0.00]

07810689                              LINK[.1], SOL[0.00069779], USD[0.44]

07810691                              BAT[183.29251206], CUSDT[4], SOL[.40976655], USD[0.56]                                                                                                                                           Yes

07810693                              BAT[1.0165555], BRZ[1], CUSDT[1], TRX[13496.91413229], USD[0.05]                                                                                                                                 Yes

07810694                              DOGE[48231.83246369], SHIB[11166001.54593443], TRX[1], USD[0.00]                                                                                                                                 Yes

07810700                              ETH[.00000001], SOL[0], USD[0.00]

07810701                              LINK[.8], USD[0.73]

07810704                              BAT[.00007284], BTC[0], DOGE[.00003506], ETH[0.00004537], ETHW[0.00004537], GRT[.00008674], LINK[.00000741], SUSHI[.00000971], TRX[.00009596], USD[0.00], USDT[0.00008054]                       Yes

07810711                              BRZ[28.45606127], CUSDT[254.92354415], DOGE[42.70940096], MATIC[6.31406241], SUSHI[1.169908], USD[0.01], USDT[10.92592284]                                                                       Yes

07810712                              BTC[.0012]

07810717                              USD[0.26]

07810719                              BF_POINT[100], BTC[0.00000001], CUSDT[6], DOGE[.00146145], ETH[0], ETHW[0.00003870], GRT[1], MATIC[.14080685], PAXG[.00000001], SHIB[12], SOL[0.00018435], TRX[.00147669],                       Yes
                                      UNI[0.00000001], USD[0.00], USDT[0]
07810721                              BTC[.0516], USD[3.41]

07810723                              BTC[.00000003]                                                                                                                                                                                   Yes

07810730                              DOGE[2.14396314], USD[0.00]

07810734                              DOGE[24], SHIB[100000], USD[0.06]

07810737                              AAVE[1.66833], USD[4.34]

07810738                              BRZ[1], CUSDT[1], TRX[1], USD[0.00], USDT[1.09818815]                                                                                                                                            Yes

07810745                              BTC[.0093715], SHIB[1], USD[0.00], USDT[0]                                                                                                                                                       Yes

07810748                              BTC[.124], USD[0.38]

07810749                              CUSDT[2], MATIC[97.57198874], SOL[.83460576], USD[0.00]                                                                                                                                          Yes
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07810752                           CUSDT[1], LINK[.00000321], SOL[0.16878603], USD[0.00]                                                                                                                    Yes

07810756                           USD[20.00]

07810757                           TRX[.000007], USD[0.00], USDT[0]

07810759                           SOL[.26568744], USD[0.00]

07810765                           ALGO[0], BTC[0], NFT (301113360006787921/Odyssey Zero)[1], SHIB[0], SOL[0], USD[0.00]

07810766                           AAVE[.00000431], GRT[260.78954128], SOL[14.13130353]                                                                                                                     Yes

07810779                           DOGE[3], ETH[.17689866], ETHW[.17665038], NFT (391397319249636478/Saudi Arabia Ticket Stub #1858)[1], SOL[15.85896582], TRX[1], USD[0.00]                                Yes

07810785                           LINK[0], USD[0.51]

07810792                           KSHIB[1799.1], USD[0.10]

07810795                           BTC[.00215244]

07810799                           CUSDT[1], USD[0.00]                                                                                                                                                      Yes

07810800                           DOGE[6], SHIB[23], TRX[4], USD[0.00]                                                                                                                                     Yes

07810803                           BCH[.12]

07810806                           NFT (569101753973527303/Voodoo)[1]

07810820                           AAVE[.27], SOL[2.299], SUSHI[7.992], TRX[200], USD[15.91]

07810821                           ETH[.11674958], ETHW[.11561839], TRX[1], USD[0.00]                                                                                                                       Yes

07810823                           USD[0.00], USDT[0]

07810826                           BF_POINT[200]

07810832                           BTC[.1137], USD[0.01], USDT[.44072]

07810833                           DOGE[.00107174], USD[0.00]

07810839                           USD[2.69]

07810849                           NFT (363348873789509879/Good Boy #109)[1], NFT (537736598835300996/Entrance Voucher #1826)[1], NFT (561898900408249548/Juliet #148)[1], SHIB[96310], SOL[0], USD[0.09]

07810852                           USD[0.10]

07810854                           BTC[0], DAI[0], ETH[0], ETHW[0], LINK[.00000001], MATIC[0], SOL[0], USD[0.00], USDT[0]

07810858                           BRZ[1], BTC[.01791643], CUSDT[12], DOGE[3], ETH[.1658611], ETHW[.16548813], SHIB[2], SOL[3.55242829], TRX[4], USD[0.51]                                                  Yes

07810860                           BTC[.00000002], CUSDT[1], DOGE[1], ETH[0.00000036], SHIB[7], USD[32.37]                                                                                                  Yes

07810861                           BTC[0], DOGE[.3655926], SOL[.00781], USD[0.00], USDT[1.75510795]

07810862                           BTC[.08065612], ETH[0.11063022], ETHW[0.11063022], SHIB[1], USD[-300.00]

07810865                           BTC[0], USD[0.00]

07810876                           BAT[1.0165555], BRZ[2], CUSDT[7], DOGE[2], SOL[.00000001], TRX[1], USD[0.00]                                                                                             Yes

07810879                           USDT[2594.7053]

07810881                           CUSDT[4], DOGE[60.31090104], ETH[0], GRT[0], USD[18.94]                                                                                                                  Yes

07810886                           ETH[.00000302], ETHW[.33064964]                                                                                                                                          Yes

07810889                           USD[10.00]

07810892                           SOL[34.40062960], USD[0.00], USDT[0.00052355]

07810893                           NFT (366274535108046792/Star Wars Doge)[1], SOL[.489]

07810902                           ETH[0.00000022], ETHW[0.00000022], SOL[0], USD[0.00], USDT[0.00000097]                                                                                                   Yes

07810907                           DOGE[1.99997049], SOL[.03686089], TRX[1], USD[0.00]                                                                                                                      Yes

07810910                           USD[0.00]

07810913                           BF_POINT[100], USD[0.30]

07810915       Contingent,         BTC[0], ETH[0], SOL[0], USD[0.00]
               Unliquidated
07810926                           ETHW[0], USD[0.00]                                                                                                                                                       Yes

07810928                           USD[0.94]                                                                                                                                                                Yes

07810935                           SOL[0.00000001], USD[0.00]

07810936                           USD[1.63]                                                                                                                                                                Yes

07810941                           CUSDT[1], USD[0.00]

07810943                           LTC[4.53109935]

07810946                           BTC[0], ETH[0], USD[0.00]

07810948                           SOL[.00010495]                                                                                                                                                           Yes

07810954                           USD[2.00]

07810957                           ETHW[.40427135], USD[511.45], USDT[.000675]

07810958                           SOL[2.08895], USD[0.00], USDT[1.54743923]

07810960                           ALGO[.01491216]                                                                                                                                                          Yes

07810964                           MATIC[0], USD[2272.05]

07810972                           NFT (318669111569903121/Saudi Arabia Ticket Stub #959)[1]

07810976                           DOGE[22.5003176], USD[0.00]                                                                                                                                              Yes

07810977                           BTC[0.00065942], ETHW[.00949294], MATIC[.33863735], USD[0.00]

07810981                           USD[0.01]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07810985                              BTC[2.23662878], NFT (373480018192447426/Entrance Voucher #2453)[1], USD[0.00]

07810987                              SUSHI[36.11012004], TRX[1], USD[0.00]                                                                                                                                       Yes

07810988                              BRZ[1], CUSDT[4], DOGE[1], TRX[1], USD[132.45]

07810990                              USD[3.20]

07810994                              BTC[.0001]

07811000       Contingent,            BTC[0], ETH[0], USD[0.45], USDT[0]
               Unliquidated
07811005                              DAI[.92341595], USD[0.00], USDT[0]                                                                                                                                          Yes

07811015                              USD[0.00], USDT[0]

07811019                              BTC[.00000827]

07811026                              TRX[0]

07811030                              LINK[.0123], USD[5.32], USDT[6.44703]

07811035                              ALGO[508.39912337], BRZ[1], CUSDT[2], DOGE[2], NEAR[2.71644701], NFT (463796966485490706/WuTakenPeople #2)[1], NFT (476281907055074907/WuTakenPeople #6)[1], NFT            Yes
                                      (546150115246593187/Z - Town #12)[1], SHIB[5150659.87233796], SUSHI[23.7927806], TRX[1], USD[0.00]
07811037                              BRZ[4], BTC[.95035323], CUSDT[37], DOGE[14.3967273], ETH[0.86616923], ETHW[0.57836482], GRT[2], LINK[124.3038424], SHIB[16], SOL[20.80528563], TRX[13.0697226], USD[2.44]   Yes

07811039                              USD[87.00]

07811043                              BRZ[2], CUSDT[1], DOGE[2], ETH[0.76321846], ETHW[0.76289784], GRT[1], SOL[19.17123964], USD[0.04], USDT[3.21820126]                                                         Yes

07811051                              BTC[0], LTC[0], MKR[0], USD[0.19]

07811054                              SOL[.77], USD[0.02]

07811057                              BTC[0.00004861], ETH[.00004607], ETHW[.00004607], USD[7.31]

07811062                              USD[1.09]

07811064                              BTC[0.29542531], ETH[.9954566], ETHW[.9954566], LINK[20.58043], SOL[6.5637585], USD[1.36]

07811066                              SOL[2.56], TRX[197], USD[1000.12]

07811068                              BAT[2], BRZ[1], DOGE[1], ETH[0], ETHW[0], TRX[1], USD[0.01], USDT[1]

07811070                              USD[0.17]

07811072                              SOL[.00945455], USD[0.27]

07811073                              BTC[.02072272], DOGE[1], TRX[1], USD[0.00]                                                                                                                                  Yes

07811079                              MATIC[10], SOL[.4096105], USD[4.99]

07811084                              USD[0.00], USDT[0]

07811089       Contingent, Disputed   AAVE[0], ALGO[.00321469], AVAX[0], BAT[0], BTC[0.25004849], ETH[1.50032064], ETHW[0], GRT[0.07565411], LINK[0.00000001], MATIC[0.00159836], MKR[0], NEAR[0.00020999],       Yes
                                      PAXG[0.42256121], SHIB[17], SOL[0], SUSHI[.00000001], TRX[0], UNI[0.00000001], USD[2409.68], USDT[0.00000001], YFI[.00000001]
07811092                              USDT[7.06740383]

07811093                              USD[0.00], USDT[0.00000117]

07811097                              USDT[0]

07811104                              BTC[0], USD[0.09]                                                                                                                                                           Yes

07811107                              NFT (511363326930060458/8-Bitz of Invincible (Allen the Alien) Sauce )[1], USD[10.00]

07811109                              SOL[1.81127018]

07811112                              SHIB[157032.33657552], USD[0.00]                                                                                                                                            Yes

07811116                              ETH[0], SOL[0]

07811117                              ETHW[.000682], MATIC[.999], USD[607.79]

07811118                              DOGE[1], NFT (467619611194374736/67 Chevelle )[1], NFT (575255290818888915/Outer Limits #2)[1], SOL[.00000001], USD[0.00], USDT[0]                                          Yes

07811121                              NEAR[137.19016], USD[1.62]

07811123                              ETHW[.75659417], SOL[.0097], USD[0.00], USDT[0]

07811129                              NFT (437573193529078716/FTX - Off The Grid Miami #1372)[1], TRX[.000001]

07811136                              USD[500.00]

07811140                              BTC[0], NFT (374995003780690666/The Hill by FTX #4640)[1], SHIB[1], SOL[0], USD[0.00]

07811161                              AVAX[-0.00000001], DOGE[.6482499], ETH[.0003996], ETHW[.0003996], SOL[.009995], TRX[.921], USD[0.03], USDT[0.00555285]

07811168                              CUSDT[1], ETH[.01639083], ETHW[.01618563], USD[0.00]                                                                                                                        Yes

07811170                              BTC[.00008246], USD[0.00]

07811174                              ETH[0.00037893], ETHW[0.00037894], SOL[0.20000000], USD[0.90], USDT[0.00000051]

07811176                              LINK[5.80144452], USD[0.00]

07811177                              USD[2.07]

07811184                              BF_POINT[100], BTC[.12460451], ETH[2.55771943], ETHW[2.55664519], SOL[14.49098998], USD[5514.14]                                                                            Yes

07811186                              BTC[.00000001], DOGE[1], ETH[0], USD[0.00]                                                                                                                                  Yes

07811198                              CUSDT[1], USDT[0]

07811200                              BAT[1], CUSDT[2], SOL[.0048959], USD[0.22]

07811209                              DOGE[2], GRT[1], SHIB[1], TRX[1], USD[4.73], USDT[1.06493943]                                                                                                               Yes

07811212                              BTC[.0699471], ETH[.954045], ETHW[.172877], SOL[.0083], TRX[.000001], USD[1.47]

07811216       Contingent,            BCH[0], SOL[0], USD[570.15], USDT[.0000682]
               Unliquidated
07811236                              GRT[1.00367791], SOL[6.69235713], USD[0.00]                                                                                                                                 Yes
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07811239                              SOL[1.17362062], USD[12.40]

07811257                              NFT (394411569180959960/Bahrain Ticket Stub #2122)[1], NFT (399012079554348408/Entrance Voucher #3818)[1], SOL[0.00001228]

07811261                              BTC[.00087756], CUSDT[1], SOL[.21716996], TRX[1], USD[0.00]                                                                                                                           Yes

07811262                              CUSDT[4], DOGE[3], ETHW[8.51862845], FTX_EQUITY[0], GRT[1], NFT (338078880113890619/FTXPromo)[1], NFT (428834385910272965/FTX Crypto Cup 2022 Key #2642)[1], NFT                      Yes
                                      (436363431962353341/FTX AU - we are here! #62437)[1], NFT (442230872476770800/Humpty Dumpty #25)[1], NFT (514211583458573841/The Hill by FTX #2906)[1], SOL[.92034736],
                                      SUSHI[1.04147277], USD[0.01], WEST_REALM_EQUITY_POSTSPLIT[0]
07811264                              USD[0.00]

07811265                              BTC[.2330867], ETH[3.27404], ETHW[3.27404], MATIC[8.75], SHIB[84400], SOL[28.28919], USD[0.00], USDT[9.53550431]

07811269                              ALGO[.02757793], BF_POINT[400], BRZ[1], DOGE[1], LINK[.00032928], NEAR[0], SHIB[24024.32335329], SOL[.00000001], USD[0.00], USDT[0]                                                   Yes

07811270                              USD[0.00]

07811275                              BTC[0.00000010], USD[0.00], USDT[0.00025835]                                                                                                                                          Yes

07811278                              USD[2.77]

07811281                              USD[0.00]

07811283                              BTC[0], USD[0.78], USDT[0.00198526]

07811284                              NFT (438297148678842665/Miami Ticket Stub #773)[1], NFT (470907030336377635/Entrance Voucher #3289)[1], SOL[.08711], USD[3.26]

07811288                              NFT (339329429000136245/Entrance Voucher #3231)[1]

07811291                              NFT (341995395803972866/gm #2)[1], NFT (375566230033963242/Word)[1], NFT (551765267888713403/gm )[1], SOL[.982]

07811295                              BAT[9.15486099], BRZ[160.62638367], CUSDT[2524.01033049], DOGE[2148.79097749], ETH[.03819722], ETHW[.03772011], GRT[18.63036545], LINK[4.44112805], MATIC[38.07882149],               Yes
                                      SOL[2.25679405], SUSHI[15.30666548], TRX[562.5411893], USD[712.02]
07811296                              USD[4.53], USDT[0]

07811298                              ALGO[469.53], SOL[.21646], USD[22.79]

07811299                              CUSDT[3], DOGE[.07140237], NFT (305691696993880241/Entrance Voucher #1780)[1], SUSHI[.00000982], UNI[.00001502], USD[0.02]                                                            Yes

07811301                              USD[0.00]

07811319                              USD[2.30]

07811328                              USD[0.01]

07811332                              USD[0.90]

07811340                              BRZ[1], ETH[0.12006739], ETHW[0.11890832]                                                                                                                                             Yes

07811381                              USD[220.41]                                                                                                                                                                           Yes

07811382                              USD[0.00]

07811384                              ETH[0], SOL[0], USD[0.78], USDT[0]

07811385                              ETH[.02021164], ETHW[0.02021164], USD[6844.23]

07811389                              USD[0.01]                                                                                                                                                                             Yes

07811408                              AVAX[42.0524], BTC[.52213177], ETH[.976426], ETHW[.826576], LINK[12.8871], NEAR[14.4855], SOL[75.12241386], USD[81.38]

07811415                              SHIB[11443012.03842755], SOL[13.24942978], USD[0.00]

07811416                              NFT (406800611420632881/2D Squid Game Legs)[1], NFT (562028063068230829/2D SOLDIER #141)[1]

07811417                              SOL[2.68], USD[0.94]

07811425                              BTC[0], DOGE[0.07570201], ETH[0], MATIC[0.37415604], SOL[0.22880381], SUSHI[0.44145389]

07811430                              ETH[.05171806], ETHW[0.05171805], NFT (316915926106974182/Beasts #580)[1], NFT (361037251359304457/Cosmic Creations #652)[1], USD[14.01]

07811449                              CUSDT[2], ETH[0.00000087], ETHW[0.00000087], USD[0.00]                                                                                                                                Yes

07811465                              BTC[0], USD[0.00]

07811466                              USD[1026.73], USDT[.00383856]                                                                                                                                                         Yes

07811468                              BTC[0.03005812], ETHW[.12088505], LTC[3.637492], SHIB[0], SOL[20.92133281], USD[191.02]

07811477                              GRT[1.00312819], SOL[.00009469], USD[0.00], USDT[2.1719419]                                                                                                                           Yes

07811484                              BTC[.0000533], USD[0.69]

07811489                              NFT (350991150081635159/Mad Lions Remastered #35)[1], NFT (364318837749954353/OwlArt #6)[1], NFT (385262898566658691/Ape MAN#11)[1], NFT (491630304036302131/Holy Unicorn Edition
                                      #9)[1], NFT (503751786005866043/The CaLabs #9)[1], NFT (514085580018403241/LogantoFluffyPeople #2)[1], NFT (546793882363270069/Humpty Dumpty #106)[1], NFT (559386494468802328/Mob
                                      cats collection #108)[1], USD[78.75]
07811491                              BTC[.0002997], USD[1.31]

07811493                              BRZ[142.07028029], CUSDT[1271.31162711], TRX[498.48343984], USD[0.02]                                                                                                                 Yes

07811502                              BRZ[1], BTC[0], CUSDT[4], SHIB[2], USD[0.34]

07811514                              USD[0.22], USDT[0]

07811516                              SOL[0]

07811528                              CUSDT[1], ETH[0], MATIC[0.00002906], SOL[0], TRX[0.04027195], USD[0.00]                                                                                                               Yes

07811529                              ETH[.0005], ETHW[.0005], NFT (322913443251853501/FTX - Off The Grid Miami #566)[1], NFT (358840842304609598/Bahrain Ticket Stub #1006)[1], NFT (439408273235760177/Entrance Voucher
                                      #1799)[1], USD[117.39], USDT[0.00000001]
07811532                              CUSDT[1], TRX[1.000001], USD[0.00], USDT[0.00000001]                                                                                                                                  Yes

07811534                              USD[0.01]

07811537       Contingent, Disputed   USD[0.39]                                                                                                                                                                             Yes

07811542                              ETH[0], USD[22323.88]

07811544                              BTC[0], ETH[0], MATIC[.00000001], USD[0.00], USDT[0]                                                                                                                                  Yes

07811545                              BAT[.00050481], BF_POINT[300], BRZ[1], CUSDT[6], DOGE[8.01136878], MATIC[0], SHIB[0], SOL[0], TRX[5], USD[0.01], USDT[0.00000001]

07811546                              BTC[.00318788], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07811549                           CUSDT[2], DOGE[1], SHIB[1736238.14944102], USD[0.72]                                                                                                                                     Yes

07811550                           CUSDT[1], SHIB[1], SOL[4.2475056], USD[0.00]                                                                                                                                             Yes

07811554                           BTC[0.01648326], USD[0.82]

07811555                           ETH[0], USD[0.00]

07811560                           BTC[0], MATIC[.00231119], USD[0.00]                                                                                                                                                      Yes

07811562                           USD[5.70]

07811568                           USD[1.31]

07811569                           DOGE[478], NFT (311579487086554735/Birthday Cake #0303)[1], NFT (369179806313445528/The 2974 Collection #0303)[1], NFT (417415747923594241/Birthday Cake #0114)[1], NFT
                                   (459406793168468862/2974 Floyd Norman - CLE 6-0110)[1], NFT (491083924203241029/The 2974 Collection #0114)[1], NFT (561307456029733932/2974 Floyd Norman - CLE 5-0048)[1], SOL[27.34],
                                   USD[0.13]
07811580                           BRZ[1], CUSDT[1], DAI[.00046627], SHIB[1], USD[0.01], USDT[0.00000961]                                                                                                                 Yes

07811583                           USD[0.32]

07811586                           BRZ[1], CUSDT[7], USD[0.01]                                                                                                                                                              Yes

07811589                           BTC[.0026], USD[2.84], USDT[0]

07811594                           USD[4.51]

07811595                           USD[0.00], USDT[0.00002803]

07811596                           USD[108.84]                                                                                                                                                                              Yes

07811597                           USD[0.36]

07811603                           BTC[.00000311], CUSDT[1], DOGE[3], GRT[2.02470034], LINK[1.07696733], MATIC[25.86964321], SOL[0.00207779], TRX[2], USD[0.00], USDT[1.08207886]                                           Yes

07811608                           NFT (412843009337454353/Desert Rose Ferris Wheel #110 (Redeemed))[1], SHIB[158.54119631], USD[0.00]                                                                                      Yes

07811612                           TRX[1], USD[0.01]                                                                                                                                                                        Yes

07811618                           USD[50.00]

07811628                           NFT (551802556783228098/Australia Ticket Stub #105)[1]

07811629                           BTC[0], LTC[0], SOL[0], TRX[0], USD[0.00]                                                                                                                                                Yes

07811630                           SOL[.00001837]                                                                                                                                                                           Yes

07811643                           USD[39.17]                                                                                                                                                                               Yes

07811648                           AVAX[0], BTC[0], DAI[0], DOGE[494.34135115], ETH[0], GRT[0], LINK[0], MATIC[0], MKR[0], SHIB[0], SOL[0], TRX[0], USD[0.00], USDT[0]

07811649                           BF_POINT[300]

07811650                           BTC[0], DOGE[0], ETH[0], NFT (297916488875138129/NBD5)[1], NFT (331761095550352535/CryptoDog #7)[1], NFT (458551986720767678/AI-generated landscape #91)[1], NFT                         Yes
                                   (467441213233277358/Anime #18)[1], NFT (509737153326150966/AI-generated landscape #79)[1], PAXG[0], SHIB[2], SOL[.00000001], USD[0.78], USDT[0.00001716], YFI[0]
07811660                           USD[0.00]

07811662                           CUSDT[1], SOL[3.92638694], USD[0.00]                                                                                                                                                     Yes

07811668                           USD[29.58]

07811675                           DOGE[1], TRX[1], USD[0.00]

07811679                           ETH[.0719563], ETHW[.0719563], USD[0.01], USDT[4.0299804]

07811692                           USDT[1.3332716]

07811699                           BAT[77.05870854], BRZ[1], CUSDT[1139.35729694], KSHIB[997.3880402], MATIC[53.8930368], SUSHI[11.51001966], TRX[808.17049345], USD[0.00], USDT[49.71539873]

07811712                           CUSDT[2], DOGE[1], NFT (502645816655730177/LightPunk #997)[1], SHIB[13], USD[17.28]                                                                                                      Yes

07811736                           DOGE[1], KSHIB[936.63185934], SHIB[1351.51445874], SOL[.20245182], TRX[1], USD[6.57]                                                                                                     Yes

07811743                           CUSDT[1270.5720756], DOGE[107.02263583], SOL[1.04268285], USD[1.39], USDT[109.06803083]                                                                                                  Yes

07811745                           USD[500.91]                                                                                                                                                                              Yes

07811774                           USD[54.85]                                                                                                                                                                               Yes

07811793                           TRX[.002], USD[0.00]

07811809                           CUSDT[3], DOGE[1], USD[0.01]                                                                                                                                                             Yes

07811813                           NFT (473630021742971909/Shannon Sharpe's Playbook: Denver Broncos vs. Los Angeles Raiders - January 9, 1994 #48)[1], USD[0.01]                                                           Yes

07811819                           CUSDT[2], USD[0.01]                                                                                                                                                                      Yes

07811822                           BTC[.0050074], CUSDT[4], DOGE[360.46196632], ETHW[2.01237833], MATIC[16.15504072], NFT (323400439461727123/Australia Ticket Stub #317)[1], NFT (533197196609124304/Shannon Sharpe's Yes
                                   Playbook: Kansas City Chiefs vs Denver Broncos - October 4, 1992 #61)[1], SHIB[2028509.93625213], USD[40.35]
07811830                           BTC[0], ETH[.00032746], ETHW[.00032746]

07811831                           DOGE[1], SOL[2.17176392]                                                                                                                                                                 Yes

07811841                           ETHW[3.88524365], NFT (338437922973562514/Bahrain Ticket Stub #1984)[1], TRX[1], USD[0.00]                                                                                               Yes

07811851                           BRZ[1], USD[0.00]                                                                                                                                                                        Yes

07811871                           TRX[.00001], USDT[48.89509047]                                                                                                                                                           Yes

07811883                           DOGE[0], ETH[0], SUSHI[0.00067191], USD[0.00]                                                                                                                                            Yes

07811885                           USD[0.01]

07811895                           BTC[0.04388200], DOGE[3130], ETH[.113], ETHW[.113], KSHIB[29060], LINK[17.3], LTC[.69], MATIC[170], PAXG[.0508], SHIB[30400000], SOL[3.33], SUSHI[57], TRX[1477], UNI[3.2], USD[46.33]

07811901                           LTC[1.1840778], SHIB[1], TRX[1], USD[0.00]

07811931                           DOGE[1], SOL[1.13545146], USD[0.01]                                                                                                                                                      Yes

07811933                           CUSDT[1], DOGE[412.03684894], USD[0.00]

07811941                           DOGE[1.01960004], USD[0.00]                                                                                                                                                              Yes

07811943                           USD[109.82]                                                                                                                                                                              Yes
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                                                                                                                                         Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07811950                           BRZ[2], CUSDT[2], DOGE[2], MATIC[0], SHIB[0], SOL[0], USD[0.00], USDT[0]                                                                                                         Yes

07811963                           BAT[1.0165555], BTC[.00285931], CUSDT[1], DOGE[1084.04326673], TRX[1], USD[98.52]                                                                                                Yes

07811984                           BTC[.0001955], ETH[.00270568], ETHW[.00267832], USD[0.00]                                                                                                                        Yes

07811985                           NFT (414284006980493158/FTX - Off The Grid Miami #89)[1]

07811988                           BCH[1.22438747], BRZ[1182.14092829], BTC[1.00173355], CUSDT[6], DOGE[1317.27532753], ETH[1.01483125], ETHW[.51073078], GRT[316.69028614], KSHIB[7603.8267305], LTC[1.4148518],   Yes
                                   SHIB[9], SOL[4.61208393], SUSHI[1.00298584], TRX[3571.17873912], USD[16989.60], USDT[109.45637157], YFI[.02012897]
07811989                           ETH[0], USD[0.00]

07811993                           BTC[0], DOGE[0], ETH[0], SUSHI[0], USD[0.00], USDT[0]

07811999                           BTC[0], DOGE[.808], SHIB[2200000], USD[0.37]

07812012                           BRZ[1], CUSDT[1], MATIC[468.08052818], TRX[1232.91751964], USD[0.00]                                                                                                             Yes

07812016                           CUSDT[1], LINK[18.52381235], USD[0.00]                                                                                                                                           Yes

07812028                           BRZ[2], CUSDT[1], DOGE[2], KSHIB[0], TRX[2], USD[0.00]

07812030                           NFT (517977497814602640/Entrance Voucher #3537)[1]

07812032                           BRZ[1], BTC[0.00504396], CUSDT[8], DOGE[10.76165944], NFT (397437562656028851/Entrance Voucher #4076)[1], SOL[16.23896028], TRX[1], USD[37.53]                                   Yes

07812063                           USD[0.23]                                                                                                                                                                        Yes

07812069                           USD[0.00]                                                                                                                                                                        Yes

07812071                           BTC[0], NFT (490727656633095154/Warriors Gold Blooded NFT #1163)[1], USD[0.00]

07812091                           BTC[.00146829], CUSDT[1], DOGE[1], USD[0.01]                                                                                                                                     Yes

07812095                           SHIB[4604.10671652], USD[0.00]                                                                                                                                                   Yes

07812098                           SOL[0]

07812101                           AAVE[.00000001], BAT[1], BRZ[4], CUSDT[3], DOGE[1], ETH[.00000001], ETHW[0], GRT[1], LINK[.00000001], SHIB[2], TRX[3], USD[0.01]                                                 Yes

07812111                           BRZ[28.24890373], CUSDT[601.79051941], KSHIB[60.73411757], SHIB[85245.81350487], TRX[46.2052047], USD[22.21]                                                                     Yes

07812118                           KSHIB[4906.77424751], USD[0.18]                                                                                                                                                  Yes

07812131                           BTC[0], ETH[0], ETHW[0], SOL[0], USD[0.00]                                                                                                                                       Yes

07812133                           DOGE[878.33276945], NFT (334995948271019350/Saudi Arabia Ticket Stub #1567)[1], SHIB[4801206.76276017], USD[0.00]                                                                Yes

07812138                           USD[0.01]                                                                                                                                                                        Yes

07812142                           CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                      Yes

07812148                           DOGE[1], USD[0.00]

07812149                           CUSDT[4], DOGE[627.13311832], KSHIB[219.45484782], MATIC[117.8489771], NFT (298773076992474597/Where’s the chopper )[1], NFT (304784799981074681/Astro Stones #12)[1], NFT
                                   (339680465445279759/Michigan Stadium)[1], NFT (360905065142842915/Million Dollar Monkey (2021))[1], NFT (396794437501594231/Tupac Collection #1 - All Star Edition )[1], NFT
                                   (397524569289975984/CodyCros)[1], NFT (440829213587226018/Egg #1)[1], NFT (446500533573951490/AI-generated landscape #173)[1], NFT (492038048557804092/Galaxy Dragon)[1], NFT
                                   (544681921607529608/Resurrection)[1], NFT (563766422581150802/Floral Tiger)[1], NFT (564650311806911548/Drink À Trois)[1], SUSHI[32.66069595], USD[125.68]
07812164                           SOL[.73292546], USD[0.00]

07812170                           USD[3.00]

07812172                           DOGE[1], SHIB[1071975.70222461], USD[0.00]                                                                                                                                       Yes

07812178                           BAT[1], BRZ[12.5679143], CHF[0.00], NFT (487067853393848277/01:Predawn - Ukraine #425)[1], NFT (517913635479079801/APEFUEL by Almond Breeze #704)[1], SOL[.0005505], TRX[2],     Yes
                                   USD[0.00], USDT[0]
07812179                           BAT[136.9309625], CUSDT[2], DOGE[1], GRT[122.30874739], MATIC[74.32669993], SUSHI[7.16750616], TRX[1], USD[109.88]                                                               Yes

07812180                           USD[548.53]                                                                                                                                                                      Yes

07812181                           SUSHI[1.08097418], USD[0.00]                                                                                                                                                     Yes

07812206                           SOL[2.4975], USD[45.27]

07812222                           DOGE[1], SOL[2.84879362], USD[0.00]                                                                                                                                              Yes

07812237                           BTC[0.02717309], DOGE[1917.09951585], ETH[0.89921900], ETHW[0.00011900], GRT[0], KSHIB[0], LINK[0], LTC[0], NFT (492315246909747047/Bianco e nero album #5)[1], SHIB[24900],
                                   SOL[46.08928000], SUSHI[0], USD[5.68]
07812238                           BRZ[1], CUSDT[4], GRT[1.00367791], SHIB[2], USD[218.81]                                                                                                                          Yes

07812240                           USD[54.85]                                                                                                                                                                       Yes

07812249                           BTC[0], CUSDT[8.00002091], DOGE[0], KSHIB[0], SHIB[1], TRX[1], USD[0.00], USDT[0]                                                                                                Yes

07812265                           BTC[0.00251720], CUSDT[0], DOGE[0], SHIB[957144.91840826], TRX[0], USD[0.01]                                                                                                     Yes

07812274                           TRX[80.955], USD[1.16]

07812283                           NFT (422483558262900001/Humpty Dumpty #589)[1], NFT (432604604189676559/Romeo #159)[1]

07812286                           CUSDT[0], ETH[0], GRT[0], KSHIB[0], SHIB[2], SOL[0], TRX[0], USD[0.00]                                                                                                           Yes

07812289                           USD[100.00]

07812295                           NFT (332650438698938330/Baku Ticket Stub #145)[1], NFT (433290858342288674/Colossal Cacti #804)[1], NFT (458690629168605452/Bahrain Ticket Stub #2046)[1], NFT
                                   (522585273869684921/Monaco Ticket Stub #165)[1], NFT (573053332189992468/Barcelona Ticket Stub #1527)[1], USD[2.00]
07812301                           USD[0.00]

07812304                           CUSDT[12487.96245688], TRX[1]                                                                                                                                                    Yes

07812317                           BTC[.00302672], CUSDT[2], ETH[.02350637], ETHW[.02321909], LTC[.62816308], TRX[1091.62244005], USD[2.19], USDT[0]                                                                Yes

07812319                           USD[109.71]                                                                                                                                                                      Yes

07812323                           CHF[9.79], CUSDT[3], DOGE[1], NFT (444358345653020373/I Am Inevitable #2)[1], USD[0.00]                                                                                          Yes

07812327                           BCH[.00003202], SHIB[120438.62366791], USD[0.00]                                                                                                                                 Yes

07812331                           CAD[12.00], SHIB[3296700], USD[0.95]

07812337                           CUSDT[1], TRX[2], USD[0.00]                                                                                                                                                      Yes

07812342                           BAT[1.0104376], DOGE[1], TRX[1], USD[0.01]                                                                                                                                       Yes
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                                                                                                                                            Customer Claims                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07812347                              ETH[.001], ETHW[.001], USD[1.39]

07812348                              DOGE[1], SHIB[1], TRX[1], USD[0.01]                                                                                                                               Yes

07812351                              ETH[0], USD[1.10]

07812358                              DOGE[2569.67038014], SHIB[8100000], USD[0.66], USDT[0.56416147]

07812360                              BAT[40.17998617], BRZ[291.094859], BTC[.00231512], CUSDT[4], DOGE[1], TRX[1179.92660352], USD[0.00]                                                               Yes

07812364                              USD[0.00]

07812369                              USD[0.00]

07812384       Contingent, Disputed   DOGE[.00514895], USD[1.50]                                                                                                                                        Yes

07812389                              BRZ[1], BTC[.06191132], CUSDT[2], DOGE[2], ETH[.7007686], ETHW[.7007686], GRT[1], SOL[4.41932957], TRX[3], USD[1823.66]

07812407                              BRZ[5.07952967], CUSDT[64.13746941], DOGE[1], GRT[1], SHIB[103.53792248], SOL[.00006942], USD[0.01]                                                               Yes

07812416                              USD[0.12]

07812422                              TRX[112.09500378], USD[0.02]                                                                                                                                      Yes

07812425                              CUSDT[28], USD[0.01]                                                                                                                                              Yes

07812434                              USD[0.00]                                                                                                                                                         Yes

07812444                              USD[5.49]                                                                                                                                                         Yes

07812457                              TRX[1], USD[0.01]

07812461                              ETH[.00000001], TRX[.005456], USD[0.00], USDT[0.00790001]

07812473                              CUSDT[639.19471412], DOGE[53.06183309], KSHIB[267.93359962], NFT (347675930662754629/Miami Ticket Stub #425)[1], SHIB[370743.85431511], USD[0.00]                 Yes

07812475                              BTC[.0092172], CUSDT[6], DOGE[1], TRX[1], USD[0.01]                                                                                                               Yes

07812490                              USD[0.00]                                                                                                                                                         Yes

07812508                              CUSDT[7], USD[0.00]                                                                                                                                               Yes

07812511                              CUSDT[1], TRX[1], USD[0.00]                                                                                                                                       Yes

07812522                              USD[0.00]

07812525                              ETH[.000232], ETHW[.000232], KSHIB[0], SHIB[23520.12652325], USD[1271.91], USDT[0]

07812551                              AVAX[1.3336967], BRZ[1], BTC[.0000009], DOGE[.01346035], ETH[.00000089], ETHW[.09672033], LINK[6.89840389], MATIC[.00165749], SOL[.00004341], TRX[3], USD[0.15]   Yes

07812555                              SOL[.29190162], USD[0.00]

07812561                              DOGE[1], ETH[.00001683], ETHW[.00001683], NFT (333714507397274314/You in, Miami? #196)[1], USD[0.00], USDT[0]                                                     Yes

07812567                              CUSDT[4], DOGE[151.11658895], SHIB[1061898.50428598], TRX[1], USD[0.00]

07812576                              GRT[2], USDT[0.00000088]

07812579                              CUSDT[1], ETH[0], TRX[.000066], USDT[0.00000613]                                                                                                                  Yes

07812586                              ALGO[0], MATIC[0], SHIB[0], SOL[0], USD[6073.25], USDT[0]

07812588                              SOL[2]

07812607                              BTC[.00000005], EUR[0.00], NFT (344877949537578310/Entrance Voucher #2842)[1], USD[17425.18], USDT[0.00000001]                                                    Yes

07812610                              USD[501.15]

07812648                              USD[1.09], USDT[1.2413594]

07812661                              ETH[1], ETHW[1], SOL[1.45], USD[701.16]

07812667                              CUSDT[2], USD[0.01]                                                                                                                                               Yes

07812670                              BTC[.2590408], USD[1.06], USDT[0]

07812673                              CUSDT[1], TRX[1], USD[80.63]                                                                                                                                      Yes

07812683                              BTC[.0006], DOGE[25], ETH[0.02018595], ETHW[0.02018595], LTC[.02], MATIC[2.75805661], SOL[.09430125], USD[1.62]

07812684                              CUSDT[198.26040653], NFT (390802565800466502/Entrance Voucher #3007)[1], SOL[.00000131], SUSHI[.00000694], TRX[100.86227182], USD[0.00]                           Yes

07812686                              DOGE[4], LINK[41.44758154], SHIB[12102184.62165589], TRX[3], USD[0.09], USDT[0.00000620]                                                                          Yes

07812690                              NFT (487414723615716269/Entrance Voucher #2776)[1], USD[105.21]                                                                                                   Yes

07812694                              BAT[12.13046143], BRZ[2], CUSDT[26], DOGE[3], KSHIB[809.54688677], TRX[2], USD[22.37], USDT[0]                                                                    Yes

07812702                              BAT[17.11786408], DOGE[1], TRX[120.99172496], USD[252.68]                                                                                                         Yes

07812705                              BTC[0.00000039], SHIB[2], USD[0.00], USDT[0.00011751]                                                                                                             Yes

07812716                              ETH[0.74660720], ETHW[0.74660720], SOL[.00939988], USD[1283.50]

07812718                              USD[25.00]

07812731                              NFT (368244128413688929/Entrance Voucher #2259)[1]

07812734                              CUSDT[5], USD[0.00]                                                                                                                                               Yes

07812737                              USD[0.01]                                                                                                                                                         Yes

07812762                              USD[264.44]                                                                                                                                                       Yes

07812769                              NFT (422807971842828643/FTX - Off The Grid Miami #2712)[1]

07812774                              AVAX[.07217714], MATIC[10775.447], USD[0.43]

07812791                              BTC[.00000079], CUSDT[2], DOGE[.74], SHIB[182279.10824063], TRX[3.000002], USD[0.08]                                                                              Yes

07812793                              NFT (343215920685214890/Coachella x FTX Weekend 1 #27203)[1], NFT (348124304666960927/Coachella x FTX Weekend 2 #28525)[1]                                        Yes

07812797                              BTC[.00000147], CUSDT[1], DOGE[.03530656], ETH[.00001623], ETHW[0], LINK[.00012922], LTC[.00004967], SHIB[1], TRX[3], USD[0.03]                                   Yes

07812800                              TRX[1], USD[0.00], USDT[0]
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                                                                                                                                              Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or         Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07812801      Contingent, Disputed     ETH[.00000001], NFT (466133438553569522/Fresh Oxygen Hidden Secret)[1], USD[0.89]

07812806                               BF_POINT[300], ETH[.00087388], ETHW[.00086025], KSHIB[3710.20092521], NFT (295237668774634640/GIRAFFEZ #15)[1], NFT (301738611897881532/Huntington Beach”Surf city USA” #2)[1], NFT Yes
                                       (322604396810904289/Astral Apes #3305)[1], NFT (333598004748798118/Skull Ape Art #8)[1], NFT (336475100930771805/Skull Ape Art #7)[1], NFT (348860576300796897/Ape Zombie #3)[1], NFT
                                       (354197331378345056/Skull Ape Art #2)[1], NFT (356964586503779731/GIRAFFEZ #17)[1], NFT (361924146416001311/Skull Ape Art #11)[1], NFT (376637427446587545/Ape Zombie #8)[1], NFT
                                       (388860376311204221/Skull Ape Art #10)[1], NFT (463730146580953247/Skull Ape Art #15)[1], NFT (470274801213613039/Skull Ape Art #19)[1], NFT (509055265174858237/Skull Ape Art)[1], NFT
                                       (516891966167704698/Solana Surfer #1240)[1], NFT (551067007728983764/BitCaptain #1224)[1], NFT (569877881563090486/Goats )[1], NFT (574501791525438128/Skull Ape Art #23)[1], NFT
                                       (574742942134527452/Solana Surfer #1251)[1], SHIB[4044095.58163971], USD[0.02]
07812840                               BTC[.0002217], ETH[.00318198], ETHW[.00314094], TRX[1], USD[31.57]                                                                                                                      Yes

07812854                               ETH[.01648152], ETHW[.01648152]

07812856                               BF_POINT[200], DOGE[1], MATIC[31.74838481], SHIB[2], USD[0.00], USDT[0]                                                                                                                 Yes

07812863                               CUSDT[2], DOGE[4], GRT[1], SHIB[1.00000001], SOL[.00000001], TRX[4], USD[0.13], USDT[0]                                                                                                 Yes

07812865                               CUSDT[3], SHIB[375286.63410826], USD[0.00]                                                                                                                                              Yes

07812868                               BF_POINT[200], ETH[.00000001], ETHW[0], SHIB[2], USD[0.00]                                                                                                                              Yes

07812870                               BRZ[0], BTC[0], CHF[0.00], DOGE[0], ETH[0.00000029], ETHW[0.00000029], MATIC[0], SOL[0], USD[0.00], USDT[0.06375998]                                                                    Yes

07812875                               USD[200.00]

07812884                               USDT[2480]

07812888                               BAT[415.83745707], CUSDT[1159.19554318], DOGE[478.66947348], USD[0.01]

07812897                               USD[100.00]

07812900                               DOGE[1.68923716], SHIB[589.27344504]                                                                                                                                                    Yes

07812909                               CUSDT[4], ETH[.00001718], ETHW[.00001718], LINK[.98671272], SOL[.55719712], USD[0.00]                                                                                                   Yes

07812922                               BTC[0], LTC[0], USD[0.00]

07812941                               ALGO[1680.42665156], BTC[.33465777], CUSDT[38], DOGE[125321.56299083], ETH[2.0779406], GRT[1549.63311912], LINK[110.35616465], MATIC[2016.72002793], NFT                                Yes
                                       (326835915639842425/Rileigh, the Interesting)[1], NFT (469280502894463125/Kesean, the Great)[1], NFT (572719442600090261/Sollama)[1], SHIB[326859095.26459554], SOL[22.75973107],
                                       TRX[6001.01487954], UNI[37.9460952], USD[0.00]
07812947                               LTC[3.39910582]                                                                                                                                                                         Yes

07812950                               CUSDT[1], DOGE[2], NFT (302783544398482876/Little Rocks #450)[1], SOL[11.46797838], USD[0.00], USDT[1]

07812956                               BRZ[1], ETHW[.00005235], NFT (444084251587068891/Nobu Sensei #210)[1], NFT (557166904757852137/Gerbedia Thundercloud)[1], SHIB[.00000003], SOL[.00007297], TRX[.00331862], USD[0.33],   Yes
                                       USDT[0]
07812963                               LINK[.08597762], USD[0.47]

07812970                               SOL[3.71724427], USD[0.00]

07812979                               BCH[.03118849], USD[0.42]                                                                                                                                                               Yes

07812989                               SHIB[930299.60832039], SOL[.120648], USD[0.00], USDT[0]                                                                                                                                 Yes

07812993                               USD[50.00]

07813007                               BRZ[1], CUSDT[1], DOGE[.12536106], GRT[1.00367791], SHIB[1], USD[0.00]                                                                                                                  Yes

07813014                               MATIC[50], SHIB[100000], SOL[.93], USD[5.28]

07813019                               DOGE[2331.34691886], SHIB[100000], SOL[0], USD[0.26]

07813027                               BTC[.004995], USD[505.00]

07813030                               BTC[0.00004036], USD[0.84]

07813031        Contingent, Disputed   USD[0.01]

07813032                               SOL[.0069115], USD[0.00]

07813047                               ALGO[539.54461063], SHIB[1], TRX[1], USD[0.00]                                                                                                                                          Yes

07813059        Contingent, Disputed   USD[0.00]

07813062                               BRZ[121.70251741], SHIB[840234.4310454], USD[0.00]                                                                                                                                      Yes

07813065                               ETH[.00013166], ETHW[0.00013165], USD[0.85], USDT[1.1159155]

07813070                               SHIB[2], USD[0.00]                                                                                                                                                                      Yes

07813074                               USD[79.92], USDT[9.99]

07813082                               LINK[22.2777], NFT (562046963518700343/FTX - Off The Grid Miami #2833)[1], USD[0.00]

07813087                               USD[0.02]                                                                                                                                                                               Yes

07813099                               BCH[0], BF_POINT[100], BTC[0], UNI[.00000001], USD[0.10], USDT[0]

07813106                               ETHW[.00092225], USD[4.32], USDT[0]

07813108                               BTC[.00000001], CUSDT[4], DOGE[1], ETHW[.01688741], SHIB[123868.25414148], TRX[.00156962], USD[0.00]                                                                                    Yes

07813113                               CUSDT[3], USD[0.00]                                                                                                                                                                     Yes

07813118                               BRZ[1], CUSDT[3], LINK[3.94412758], SUSHI[9.50816229], USD[0.00]                                                                                                                        Yes

07813121                               SHIB[7200000], USD[1.86]

07813127                               BRZ[1], DOGE[1], SHIB[6], TRX[6], USD[1.00], USDT[0]
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                                                                                                                                         Customer Claims                                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07813128                           ETH[2], NFT (297561310211900485/NEO-NINJA MINT TICKET)[1], NFT (299117673061623640/NEO-NINJA MINT TICKET)[1], NFT (300709123468567162/NEO-NINJA MINT TICKET)[1], NFT
                                   (302670820452852611/NEO-NINJA MINT TICKET)[1], NFT (303476469274354232/Galactic Gecko #6710)[1], NFT (309158186229351102/NEO-NINJA MINT TICKET)[1], NFT
                                   (311865630416134038/NEO-NINJA MINT TICKET)[1], NFT (312566809750089397/NEO-NINJA MINT TICKET)[1], NFT (312750442402037732/NEO-NINJA MINT TICKET)[1], NFT
                                   (319615793559247185/NEO-NINJA MINT TICKET)[1], NFT (322608460485540651/NEO-NINJA MINT TICKET)[1], NFT (322761501941896690/Degen Trash Panda Merch Token)[1], NFT
                                   (325300653836808512/NEO-NINJA MINT TICKET)[1], NFT (330556268588397759/NEO-NINJA MINT TICKET)[1], NFT (331207649571507587/StarAtlas Anniversary)[1], NFT
                                   (334532677597624587/NEO-NINJA MINT TICKET)[1], NFT (341764278190876081/NEO-NINJA MINT TICKET)[1], NFT (344808019439912559/StarAtlas Anniversary)[1], NFT
                                   (346014094378040085/Aural Light Collection on Solana #20)[1], NFT (352820997437229219/Aural Light Collection on Solana #19)[1], NFT (357108403605170141/NEO-NINJA MINT TICKET)[1], NFT
                                   (363809315207195833/StarAtlas Anniversary)[1], NFT (367310275276098726/NEO-NINJA MINT TICKET)[1], NFT (376311159269658550/NEO-NINJA MINT TICKET)[1], NFT
                                   (383404485186129079/NEO-NINJA MINT TICKET)[1], NFT (388937443604354655/NEO-NINJA MINT TICKET)[1], NFT (391624760750966784/NEO-NINJA MINT TICKET)[1], NFT
                                   (391724361090959237/StarAtlas Anniversary)[1], NFT (407134697132079676/NEO-NINJA MINT TICKET)[1], NFT (410681050712470131/Degen Ape #5174)[1], NFT (412484157652771964/NEO-NINJA
                                   MINT TICKET)[1], NFT (421519283724217352/NEO-NINJA MINT TICKET)[1], NFT (430039368542205128/NEO-NINJA MINT TICKET)[1], NFT (431263885475375134/StarAtlas Anniversary)[1], NFT
                                   (433969759177174507/NEO-NINJA MINT TICKET)[1], NFT (438302777704580446/NEO-NINJA MINT TICKET)[1], NFT (439280443505430478/NEO-NINJA MINT TICKET)[1], NFT
                                   (439938105314570161/NEO-NINJA MINT TICKET)[1], NFT (447083895426516332/NEO-NINJA MINT TICKET)[1], NFT (449166563169853108/StarAtlas Anniversary)[1], NFT
                                   (449493429054540320/NEO-NINJA MINT TICKET)[1], NFT (451459587837844456/NEO-NINJA MINT TICKET)[1], NFT (451709621398032114/Aural Light Collection on Solana #17)[1], NFT
                                   (451849919649395244/NEO-NINJA MINT TICKET)[1], NFT (453022146554587617/NEO-NINJA MINT TICKET)[1], NFT (455057636456307873/NEO-NINJA MINT TICKET)[1], NFT
                                   (456684495152662938/NEO-NINJA MINT TICKET)[1], NFT (458726393252905478/NEO-NINJA MINT TICKET)[1], NFT (462121090906223656/NEO-NINJA MINT TICKET)[1], NFT
                                   (463450835884237883/GGSG Brawler Skin)[1], NFT (463458405173431991/NEO-NINJA MINT TICKET)[1], NFT (464571173218220207/NEO-NINJA MINT TICKET)[1], NFT
                                   (466388257740804393/NEO-NINJA MINT TICKET)[1], NFT (469467312762184127/NEO-NINJA MINT TICKET)[1], NFT (473858862761379441/NEO-NINJA MINT TICKET)[1], NFT
                                   (474986527509166005/NEO-NINJA MINT TICKET)[1], NFT (482218535808961894/NEO-NINJA MINT TICKET)[1], NFT (483674487356466769/NEO-NINJA MINT TICKET)[1], NFT
                                   (487644572272713918/NEO-NINJA MINT TICKET)[1], NFT (488091296492849987/Geckos Spaceship)[1], NFT (489116237697303286/NEO-NINJA MINT TICKET)[1], NFT
                                   (491352393931255218/StarAtlas Anniversary)[1], NFT (491989875114994970/Geckos Spaceship)[1], NFT (496399729826849629/NEO-NINJA MINT TICKET)[1], NFT (500983609851193933/Geckos
                                   Spaceship)[1], NFT (501660796256568245/NEO-NINJA MINT TICKET)[1], NFT (508459897031080642/NEO-NINJA MINT TICKET)[1], NFT (510019194259975918/NEO-NINJA MINT TICKET)[1], NFT
                                   (511758410387241358/NEO-NINJA MINT TICKET)[1], NFT (517125111406489481/NEO-NINJA MINT TICKET)[1], NFT (518101480353015764/NEO-NINJA MINT TICKET)[1], NFT
                                   (519883210735747170/NEO-NINJA MINT TICKET)[1], NFT (530723684084347598/NEO-NINJA MINT TICKET)[1], NFT (532473618698358812/NEO-NINJA MINT TICKET)[1], NFT
                                   (534463635106208265/NEO-NINJA MINT TICKET)[1], NFT (535712784351474778/334)[1], NFT (540900680898497062/NEO-NINJA MINT TICKET)[1], NFT (543043591155458677/NEO-NINJA MINT
                                   TICKET)[1], NFT (543620187898408072/NEO-NINJA MINT TICKET)[1], NFT (545772380059741851/NEO-NINJA MINT TICKET)[1], NFT (551609854225621112/StarAtlas Anniversary)[1], NFT
                                   (552118595679712838/Degen Banana #3356)[1], NFT (552134588033664569/NEO-NINJA MINT TICKET)[1], NFT (559751561573023660/StarAtlas Anniversary)[1], NFT (565634954551362642/NEO-
                                   NINJA MINT TICKET)[1], NFT (566095093359989478/NEO-NINJA MINT TICKET)[1], NFT (569423161213807542/NEO-NINJA MINT TICKET)[1], NFT (572085660849120270/NEO-NINJA MINT
                                   TICKET)[1], NFT (574239523133670944/Aural Light Collection on Solana #18)[1], NFT (575744139978961921/NEO-NINJA MINT TICKET)[1], NFT (576035713059613577/NEO-NINJA MINT TICKET)[1],
                                   SOL[.2441568], USD[64.75]
07813137                           BF_POINT[300], NFT (538123117837711139/FTX - Off The Grid Miami #2859)[1], USD[0.01]                                                                                                   Yes

07813140                           USD[2.61]                                                                                                                                                                                   Yes

07813156                           USD[0.00]

07813157                           CUSDT[2], DOGE[1], SOL[.07429427], TRX[117.78750374], UNI[.71008801], USD[2.20]                                                                                                             Yes

07813160                           BF_POINT[200]                                                                                                                                                                               Yes

07813167                           SHIB[2304724.78103154], USD[0.51]                                                                                                                                                           Yes

07813169                           BAT[107.54119637], BRZ[1], BTC[.03698692], CUSDT[5], DOGE[8.751993], ETH[.46745303], ETHW[.46725661], SHIB[7], SOL[9.22655008], TRX[2], USD[0.00]                                           Yes

07813184                           BF_POINT[300]

07813188                           USD[525.00], USDT[1000]

07813213                           SOL[.1], USDT[0.00201483]

07813232                           USD[0.00]                                                                                                                                                                                   Yes

07813234                           CUSDT[1], DOGE[1], SOL[2.63050052], USD[0.00]

07813243                           NFT (540824975349989941/Welcome to Hell)[1], USD[90.00]

07813250                           BRZ[1], CUSDT[3], DOGE[1], GRT[1], LTC[.00018435], SHIB[2], TRX[1], USD[0.01]                                                                                                               Yes

07813253                           BTC[0.00238201], USD[0.00]

07813254                           BTC[.00583161], DOGE[1], SHIB[4], TRX[1], USD[20.00]

07813269                           USD[59515.15]                                                                                                                                                                               Yes

07813276                           BAT[1], DOGE[3], ETHW[.90215771], SHIB[888.81766381], USD[0.00], USDT[0.00001052]                                                                                                           Yes

07813295                           AAVE[0], AVAX[1.08637281], BAT[0], BRZ[0], BTC[.01050227], ETH[.00000047], ETHW[.00000047], MATIC[312.81340968], NFT (364961972329088311/Entrance Voucher #3132)[1],                        Yes
                                   SHIB[53289595.71201649], SOL[2.13518060], SUSHI[7.74341874], USD[0.00]
07813312                           CUSDT[1], ETH[.02530021], ETHW[.02498557], USD[0.00]                                                                                                                                        Yes

07813315                           TRX[.000002], USD[0.00], USDT[0]

07813323                           DOGE[1781.40652787], MATIC[42.32697448], SHIB[2], USD[0.00]                                                                                                                                 Yes

07813329                           CUSDT[2], DOGE[2], SHIB[3221797.59458076], SOL[1.10783634], SUSHI[7.46590839], TRX[1401.02824307], USD[0.08], USDT[109.0939312]                                                             Yes

07813332                           USD[0.60]                                                                                                                                                                                   Yes

07813344                           USD[130.93]                                                                                                                                                                                 Yes

07813358                           BF_POINT[100], MKR[0], NFT (319268435171806164/Hall of Fantasy League #74)[1], NFT (324742998768657726/Shannon Sharpe's Playbook: Denver Broncos vs. Los Angeles Raiders - January 9,       Yes
                                   1994 #47)[1], NFT (329290598960354205/Hall of Fantasy League #73)[1], NFT (332791579794326469/Hall of Fantasy League #75)[1], NFT (342413916506562501/Hall of Fantasy League #80)[1], NFT
                                   (351788068221438824/Hall of Fantasy League #66)[1], NFT (356675763687134781/Hall of Fantasy League #87)[1], NFT (378273490457335741/Hall of Fantasy League #70)[1], NFT
                                   (378716900930882678/Shannon Sharpe's Playbook: Baltimore Ravens vs. Denver Broncos - December 31, 2000 #56)[1], NFT (387540614313457904/Imola Ticket Stub #905)[1], NFT
                                   (403235756332329014/Hall of Fantasy League #76)[1], NFT (412439198121804592/Shannon Sharpe's Playbook: Baltimore Ravens vs. Oakland Raiders - January 14, 2001 #71)[1], NFT
                                   (412614320286972810/Hall of Fantasy League #60)[1], NFT (467810089647673759/Hall of Fantasy League #68)[1], NFT (472102423548232368/Hall of Fantasy League #59)[1], NFT
                                   (492204425287839698/Hall of Fantasy League #58)[1], NFT (505134040305966290/Hall of Fantasy League #88)[1], NFT (510774505393973816/Hall of Fantasy League #90)[1], NFT
                                   (520946313054176395/Hall of Fantasy League #78)[1], NFT (524630243575579897/Hall of Fantasy League #65)[1], NFT (525133962130142510/Hall of Fantasy League #62)[1], NFT
                                   (542766340375197815/Hall of Fantasy League #71)[1], NFT (561244590557050117/Hall of Fantasy League #53)[1], NFT (564014848916176734/Shannon Sharpe's Playbook: Kansas City Chiefs vs
                                   Denver Broncos - October 4, 1992 #52)[1], NFT (571993255244293352/Hall of Fantasy League #77)[1], SHIB[0.00000043], SOL[0.00000001], USD[0.00], USDT[0]
07813385                           DOGE[2756.2554017], USD[0.00]

07813392                           DOGE[1.00362187], USD[0.01]                                                                                                                                                                 Yes

07813399                           CUSDT[1], ETH[.32132366], ETHW[.32132366], TRX[1], USD[500.00]

07813408                           BRZ[1], CUSDT[1], LTC[.0000124], USD[0.00]                                                                                                                                                  Yes

07813414                           BAT[1], NFT (314748954195666570/Anime Fan Art #2)[1], NFT (411135637892936053/Our World #042)[1], NFT (463263048244631552/The Matrix)[1], NFT (469038205324496725/Tim Brown's               Yes
                                   Playbook: New York Jets vs. Oakland Raiders - December 2, 2002 #42)[1], NFT (576220099479553427/Holy Unicorn Edition #15)[1], TRX[4.55237036], USD[0.00], USDT[1.08256467]
07813421                           ETH[.00000001], ETHW[0], SHIB[6629585.84889455], USD[0.00]                                                                                                                                  Yes

07813429                           SHIB[2197800], USD[0.05]
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                                                                                                                                         Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07813445                           CUSDT[1], DOGE[1], ETH[.00615351], ETHW[.00607137], SHIB[2], TRX[1026.54883161], USD[42.88]                                                                                               Yes

07813469                           CUSDT[1], DOGE[4950.95771531], TRX[1], USD[0.00]                                                                                                                                          Yes

07813475                           CUSDT[2], TRX[623.33976358], USD[0.00]                                                                                                                                                    Yes

07813493                           DOGE[0], SHIB[1692347.89856565], USD[0.00], USDT[0]                                                                                                                                       Yes

07813542                           CUSDT[4], SOL[.14626008], TRX[2], USD[0.00]                                                                                                                                               Yes

07813547                           DOGE[2], SOL[4.6758987], TRX[1], USD[0.01]                                                                                                                                                Yes

07813572                           BAT[2], SHIB[4], SOL[0], USD[0.01]

07813594                           CUSDT[2], DOGE[2.26318171], NFT (520828480673965386/Sigma Shark #2758)[1], SHIB[463929.79147143], SOL[.0916054], TRX[2887.32496788], USD[0.00]                                            Yes

07813606                           AVAX[0], BTC[0], DOGE[594.52242928], ETH[0.00000014], ETHW[0.01471111], KSHIB[0], LTC[0], MATIC[0.00015392], SHIB[3007940.84565251], SOL[0], SUSHI[.00006223], TRX[0], USD[0.00]          Yes

07813608                           BAT[11.74541092], CUSDT[5], DOGE[181.63301766], KSHIB[638.01938366], SHIB[607689.35124485], SUSHI[1.8723954], TRX[172.13484278], USD[2.23]                                                Yes

07813625                           USD[0.01]

07813629                           NFT (445329800775188966/Bahrain Ticket Stub #1426)[1]

07813632                           BTC[.01343782], DOGE[1], SOL[4.07985687], USD[0.00]                                                                                                                                       Yes

07813641                           BRZ[2], DOGE[4], ETHW[.78938331], MATIC[41.11455301], SHIB[4], SUSHI[16.28945142], TRX[4], USD[110.47]                                                                                    Yes

07813643                           USD[54.60]                                                                                                                                                                                Yes

07813658                           BCH[.01694192], BTC[.00031935], CUSDT[1], ETH[.00323251], ETHW[.00319147], NFT (447434422944806876/Waving with my ears)[1], SOL[.00444494], SUSHI[.40984964], TRX[1], USD[0.02],          Yes
                                   YFI[.0002865]
07813674                           CUSDT[1], DOGE[2110.53601839], TRX[1], USD[0.00]                                                                                                                                          Yes

07813675                           BRZ[3], CUSDT[31], DOGE[5], NFT (502481281061368479/Doak Walker's Playbook: Detroit Lions vs. Cleveland Browns - December 28, 1952 #82)[1], NFT (522843872121861003/ApexDucks #145)[1],   Yes
                                   SOL[.02341859], TRX[10.27182167], USD[13.38]
07813685                           CUSDT[1], ETH[.06317582], ETHW[.06239182], USD[0.00]                                                                                                                                      Yes

07813686                           USD[0.00]                                                                                                                                                                                 Yes

07813687                           BTC[.00191536]                                                                                                                                                                            Yes

07813713                           NFT (520391284511845051/Metablob #4453)[1]

07813760                           BTC[0], ETH[0.00000436], ETHW[0.00000436], MATIC[0], SOL[0], USD[0.03], USDT[0.00000001]                                                                                                  Yes

07813764                           SOL[.07726505], USD[0.00]                                                                                                                                                                 Yes

07813767                           PAXG[.00013675], USD[0.00]                                                                                                                                                                Yes

07813785                           CUSDT[2], SHIB[25119206.59602518], SOL[1.66828115], TRX[2882.06440768], USD[0.06]                                                                                                         Yes

07813786                           AAVE[.34965], BTC[.0011569], ETH[.031968], ETHW[.031968], SOL[.63936], USD[85.70]

07813797                           USD[65.89]                                                                                                                                                                                Yes

07813804                           BAT[1.00150793], BRZ[61.15855858], BTC[.04371796], CUSDT[12], DOGE[2], ETH[.29261873], ETHW[.29242649], GRT[10.28121982], MKR[.03427995], SHIB[409090.04864523], TRX[4],                  Yes
                                   UNI[1.1074967], USD[0.02]
07813807                           BTC[0], ETH[0], SHIB[1], TRX[1], USD[0.20], USDT[0]                                                                                                                                       Yes

07813828                           SHIB[300000], USD[4.08]

07813841                           DOGE[50.80266082], ETH[0], SOL[3.95903671], USD[18.58]

07813842                           CUSDT[1], ETH[.10540096], ETHW[.10432739], NFT (547156734062111494/Shannon Sharpe's Playbook: Kansas City Chiefs vs Denver Broncos - October 4, 1992 #50)[1], TRX[1], USD[54.14]          Yes

07813844                           BRZ[1], DOGE[94.81589799], GRT[.0013301], KSHIB[0], SHIB[28.44038699], TRX[1], USD[0.00]                                                                                                  Yes

07813846                           CUSDT[1], SOL[.62286047], USD[0.00]

07813858                           AAVE[.0102535], BRZ[71.26439698], BTC[.00128131], CUSDT[4.00416073], NFT (375706642859206220/Mesh Orbit)[1], NFT (478954849903166089/Inner Sight)[1], TRX[286.51386705], USD[0.00]        Yes

07813859                           BAT[1.00552201], BRZ[3], CUSDT[10], NFT (476983108140158749/Space Bums #3781)[1], NFT (478873199599096770/Space Bums #1623)[1], NFT (491656182925492678/Fancy Frenchies #5049)[1], Yes
                                   NFT (496385866836524712/Metaverse Masks #5)[1], NFT (546773550649541292/Fancy Frenchies #1336)[1], SHIB[1], SOL[.05574395], TRX[2], USD[0.00], USDT[0]
07813860                           ETH[.10040765], ETHW[0.09937429], MATIC[29.49608861], SHIB[5292915.24557936], SOL[1.12012703], USD[0.00]                                                                           Yes

07813872                           USD[100.00]

07813876                           CUSDT[3], USD[0.02]

07813894                           BTC[.00202841], CUSDT[22], DOGE[4.00018265], ETH[.02918026], ETHW[.02881856], SOL[.33246359], TRX[2], USD[0.30]                                                                           Yes

07813899                           DOGE[199.8], GRT[26.973], TRX[249.75], USD[0.10]

07813908                           CUSDT[2], USD[0.00]                                                                                                                                                                       Yes

07813921                           BTC[.00067803], CUSDT[2], DOGE[168.54141836], ETH[.01065912], ETHW[.01052232], SHIB[1], TRX[106.35358889], USD[27.39], USDT[81.85706416]                                                  Yes

07813933                           BAT[2.04987331], BRZ[5.07952967], CUSDT[6], DOGE[4], GRT[4.00105965], LINK[3.88052543], SHIB[1], TRX[415.97087252], UNI[4.07941051], USD[1553.00], USDT[2.13807961]                       Yes

07813948                           USD[548.53]                                                                                                                                                                               Yes

07813950                           BTC[0.00100980], USD[0.02]

07813954                           BRZ[1], CUSDT[3], DOGE[207.54237601], ETH[.0401516], ETHW[.03965415], LINK[.00008923], USD[0.00]                                                                                          Yes

07813957                           AAVE[0], BTC[0.02892454], DOGE[0], ETH[0], ETHW[0], LINK[0], MATIC[0], SOL[0.00000001], UNI[0.00000001], USD[0.00], USDT[0.00000001]                                                      Yes

07813958                           ETH[0], SOL[0], USD[0.00]

07813963                           USD[0.01]                                                                                                                                                                                 Yes

07814002                           AAVE[0], DOGE[69.21503883], GRT[0], SHIB[3], SOL[0], SUSHI[5.73540631], TRX[1], UNI[0], USD[0.00]                                                                                         Yes

07814014                           USD[0.87]                                                                                                                                                                                 Yes

07814022                           BRZ[1], DOGE[2], SHIB[1], USD[27.69]                                                                                                                                                      Yes

07814024                           CUSDT[2], DOGE[1823.00017029], SHIB[11674201.93395336], TRX[1], USD[0.02]                                                                                                                 Yes

07814028                           CUSDT[4], DOGE[100.30619066], SOL[.52158047], USD[0.00]

07814029                           CUSDT[2], USD[0.62]
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                                                                                                                                         Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07814030                           BRZ[23.73425578], CUSDT[566.31710831], USD[0.00]                                                                                                                                     Yes

07814040                           USD[0.31]                                                                                                                                                                            Yes

07814063                           CUSDT[2], DOGE[2], TRX[1], USD[0.01]                                                                                                                                                 Yes

07814068                           BTC[0]                                                                                                                                                                               Yes

07814069                           CUSDT[2], USD[0.00]                                                                                                                                                                  Yes

07814081                           SOL[.003], USD[0.00]

07814086                           BRZ[1], CUSDT[1], DOGE[1], ETHW[.69409187], TRX[2], UNI[1.01131456], USD[0.00]                                                                                                       Yes

07814095                           BAT[1], BRZ[1], DOGE[1], GRT[2], SHIB[2], SUSHI[1], TRX[3], USD[0.00], USDT[1]

07814104                           USD[100.00]

07814105                           USD[7.57]

07814106                           USD[54.85]                                                                                                                                                                           Yes

07814118                           NFT (425630047163808277/FTX - Off The Grid Miami #3159)[1], NFT (492123050888306749/Coachella x FTX Weekend 1 #15420)[1]

07814119                           SOL[1.01898], USD[2.41]

07814122                           BRZ[1], CUSDT[31], SHIB[14983518.32958368], USD[0.01]

07814123                           CUSDT[1], MATIC[39.23894167], USD[0.00]                                                                                                                                              Yes

07814125                           USD[0.00], USDT[0.00000914]                                                                                                                                                          Yes

07814150                           TRX[2], USD[0.00]                                                                                                                                                                    Yes

07814157                           CUSDT[3], LINK[1.66433996], SHIB[51685.87439851], USD[0.00]                                                                                                                          Yes

07814163                           DOGE[194.805], ETH[.013986], ETHW[.013986], USD[1.44]

07814164                           AAVE[.24478657], ALGO[29.66674585], AVAX[.74945916], BAT[24.11631834], DAI[11.15739155], DOGE[1], ETH[.23718119], ETHW[.1647438], LINK[2.43534155], MATIC[19.93610383], SHIB[8],     Yes
                                   SOL[.45933652], TRX[1], USD[0.00]
07814182                           NFT (308954936242595079/Australia Ticket Stub #2261)[1]

07814198                           BF_POINT[200]

07814209                           BTC[0], CUSDT[4], DOGE[0], ETH[0.00000003], ETHW[0.00000003], NFT (575002818409708228/Shannon Sharpe's Playbook: Denver Broncos vs. Los Angeles Raiders - January 9, 1994 #44)[1],   Yes
                                   SOL[0], TRX[2], USD[0.00]
07814234                           CUSDT[2], DOGE[109.18840815], SHIB[787253.67862838], USD[0.08]                                                                                                                       Yes

07814238                           ETH[0], NFT (353024045941014221/Cow #8124)[1], USD[0.00]

07814242                           BAT[1.00755933], BTC[.00000205], USD[0.16], USDT[1.06640796]                                                                                                                         Yes

07814247                           BTC[.00220615], ETH[0.03079020], ETHW[0.03040716], USD[0.00]                                                                                                                         Yes

07814248                           NFT (462839356860714145/Entrance Voucher #1900)[1]                                                                                                                                   Yes

07814251                           AAVE[.0908588], BAT[80.43689082], BRZ[291.12648959], CUSDT[1284.43290755], DAI[27.16181123], GRT[38.55715757], LINK[1.03343908], MATIC[21.71792407], MKR[.02240687], NFT             Yes
                                   (291959477876430947/4658)[1], NFT (342865260183095323/2928)[1], NFT (344740409227373993/7245)[1], NFT (370931490753539541/Frog #1443)[1], NFT (376574728504308810/Cyber Frogs
                                   Ramen)[1], NFT (377453101812652603/3344)[1], NFT (384982610358081161/MagicEden Vaults)[1], NFT (401937432209180979/MagicEden Vaults)[1], NFT (475622488028982985/MagicEden
                                   Vaults)[1], NFT (491181828455212049/MagicEden Vaults)[1], NFT (514376709134239545/4519)[1], NFT (514909619915990980/MagicEden Vaults)[1], NFT (517026622779071648/Red Panda
                                   #3769)[1], NFT (548271636262007259/Golden bone pass)[1], PAXG[.03055933], SOL[.02951207], SUSHI[2.50142191], TRX[290.39060145], UNI[1.07214188], USD[0.00], USDT[27.17254696],
                                   YFI[.00088802]
07814256                           CUSDT[1], SOL[.69420195], USD[60.34]                                                                                                                                                 Yes

07814257                           USD[0.31]                                                                                                                                                                            Yes

07814270                           BAT[1.01052067], BF_POINT[300], BRZ[2], BTC[0], CUSDT[4], DOGE[1], ETH[0], GRT[1], SOL[0], TRX[6], USD[0.08]                                                                         Yes

07814284                           BAT[1.00471524], BRZ[1], BTC[.09457317], CUSDT[3], DOGE[5.07050239], ETH[.73801798], ETHW[.73770794], GRT[563.02196581], SOL[17.79563484], TRX[4], USD[0.16], USDT[1.08840715]       Yes

07814287                           CUSDT[508.04677427], TRX[115.77634592], USD[0.05]                                                                                                                                    Yes

07814292                           GRT[277.31170154], LINK[7.27828594], SHIB[4], SUSHI[28.74444103], TRX[1451.7993324], USD[0.00], USDT[99.49044971]

07814294                           NFT (313788453290770688/Coachella x FTX Weekend 1 #12293)[1], NFT (425757519134747807/88rising Sky Challenge - Coin #27)[1]

07814295                           SHIB[0], USD[0.00]                                                                                                                                                                   Yes

07814313                           BRZ[2], BTC[.00000025], CUSDT[8], DOGE[1], LTC[.58409379], SHIB[13158.30108541], SOL[1.47319331], TRX[9], USD[0.00]                                                                  Yes

07814322                           BTC[.00701534], CUSDT[3], DOGE[697.09923041], ETH[.03462503], ETHW[.03419681], LTC[1.18413304], SHIB[4141826.48107394], USD[0.02]                                                    Yes

07814323                           DOGE[1], USD[0.00]                                                                                                                                                                   Yes

07814326                           ALGO[0.00151486], AVAX[0], BTC[0], ETH[0.00000001], ETHW[0], MATIC[0], SOL[0], USD[0.00], USDT[0]                                                                                    Yes

07814328                           USD[110.00]

07814336                           ETHW[1.80308351], SOL[9.88], USD[0.01]

07814343                           CUSDT[1], DOGE[885.50305729], USD[0.00]                                                                                                                                              Yes

07814348                           BRZ[3], BTC[.00072409], DOGE[1], NFT (531578048641085163/Entrance Voucher #2285)[1], SHIB[8], SOL[.00000001], TRX[2], USD[0.00]                                                      Yes

07814365                           BF_POINT[300]

07814374                           USD[0.00]

07814375                           CUSDT[2], NFT (538042819793552100/Below avg golfer )[1], SHIB[36875.43451687], USD[0.00]                                                                                             Yes

07814378                           SOL[2.60299709], USD[0.00]

07814382                           AVAX[0], NEAR[33.05802096], SOL[0], TRX[0], USD[0.38]

07814392                           CUSDT[1], DOGE[89.27024602], USD[0.00]                                                                                                                                               Yes

07814395                           BRZ[1], DOGE[43.8115858], SHIB[341985.47219858], USD[5.80]                                                                                                                           Yes

07814410                           CUSDT[1], SHIB[786903.11177234], USD[0.00]                                                                                                                                           Yes

07814413                           BTC[.00172247], CUSDT[1], TRX[1], USD[27.26]                                                                                                                                         Yes

07814415                           USD[0.82]
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                                                                                                                                            Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07814422                              NFT (435534892786437501/Warriors 75th Anniversary Icon Edition Diamond #344)[1]                                                                                                   Yes

07814427                              USD[0.36]

07814428                              BAT[1.01655549], SOL[3.69061172], USD[548.82]                                                                                                                                     Yes

07814430                              USD[0.01]                                                                                                                                                                         Yes

07814439                              USD[0.86], USDT[0]

07814444                              BTC[0], CUSDT[3], DOGE[0], ETH[0], SHIB[4], TRX[0], USD[0.00]                                                                                                                     Yes

07814445                              BAT[1], DOGE[1], USD[0.00]                                                                                                                                                        Yes

07814449                              BRZ[1], CUSDT[4891.19442187], DOGE[1], ETH[.00002309], ETHW[2.96348706], GRT[1.00019173], SHIB[9258813.44007885], SOL[.00012931], TRX[3], USD[0.00]                               Yes

07814452                              BAT[1], BRZ[.00218547], BTC[0], CUSDT[.021139], DOGE[532.44808739], NFT (320087949887215320/Entrance Voucher #10753)[1], SHIB[788266.93282606], USD[0.00]                         Yes

07814453                              BTC[.00031284], CUSDT[2], ETH[.00574714], ETHW[.00567874], SOL[.22755942], USD[1.29]                                                                                              Yes

07814461                              BTC[0], ETHW[.0005845], MATIC[6.64], NEAR[.01476], SOL[.00718946], SUSHI[.24675], UNI[.04812], USD[30.53]

07814469                              BTC[0], ETH[0], SOL[0], USD[1.80]

07814472                              USD[0.00]

07814489                              AVAX[.00000134], BRZ[.00006757], DOGE[.00022381], MATIC[.00026578], NFT (338834888675017718/Chiefs )[1], NFT (344229090216102438/Marcus Allen's Playbook: USC vs. Washington -    Yes
                                      November 14, 1981 #66)[1], NFT (493774676580773635/ApexDucks #3869)[1], NFT (501585073574768433/King #3 of 3)[1], NFT (549049417762329728/Toy Soldier #014)[1], SOL[.00000511],
                                      TRX[.00024318], UNI[.00000748], USD[0.00]
07814503                              NFT (355808002304519374/Baby Blinkin Mushy #007 - BTC Top)[1], USD[319.89]                                                                                                        Yes

07814511                              CUSDT[1], TRX[96.83731619], USD[0.01]                                                                                                                                             Yes

07814525                              USD[0.00]

07814542                              ALGO[904.59410193], SHIB[222270.89443706], USD[152.53]                                                                                                                            Yes

07814559                              CUSDT[2], ETH[.00003005], ETHW[.00003005], SHIB[1], USD[0.09]                                                                                                                     Yes

07814564                              BTC[0.00427584], ETH[.03755729], ETHW[.03709183], PAXG[0], USD[0.00]                                                                                                              Yes

07814574                              BF_POINT[100], DOGE[0], NFT (341902144397466923/FTX - Off The Grid Miami #1511)[1], NFT (554340568723744260/Imola Ticket Stub #1175)[1], USD[100.22], USDT[0]                     Yes

07814577                              BTC[.00174123], DOGE[393.54487637], ETH[.02268399], ETHW[.02239913], TRX[1], USD[233.57]                                                                                          Yes

07814586                              ETH[.012], ETHW[.012], USD[0.06], USDT[0]

07814588                              SOL[.01818641]

07814596                              BF_POINT[300], NFT (483233871090306721/This is "NOT AN NFT")[1], USD[0.01], USDT[0]                                                                                               Yes

07814628                              BTC[.00097087], CUSDT[4], ETH[.04613749], ETHW[.04556293], SHIB[1], SOL[.13721601], TRX[1], USD[0.29]                                                                             Yes

07814629                              BRZ[5.51972916], BTC[0.00828291], CUSDT[1], DAI[5.4617421], DOGE[248.24995594], ETHW[.01742806], LTC[.04108583], MATIC[2.17533165], MKR[.00194862], SHIB[12], SOL[.02996646],     Yes
                                      SUSHI[.39950103], TRX[1], USD[0.09]
07814632                              CUSDT[1], MATIC[2.80176651], USD[0.00]                                                                                                                                            Yes

07814638                              BTC[.00688073], DOGE[1], ETH[.02526492], ETHW[.02495028], MATIC[18.07945463], SHIB[2], SOL[.15849786], TRX[1], USD[143.33]                                                        Yes

07814660                              NFT (373230182318401830/Entrance Voucher #2189)[1]

07814665                              USD[0.01]                                                                                                                                                                         Yes

07814673                              BTC[.00229304], CUSDT[1], USD[0.02]                                                                                                                                               Yes

07814680                              SOL[.00000001], USD[438.66]                                                                                                                                                       Yes

07814685                              USD[1.86], USDT[.0019904]

07814687                              LINK[.4], MATIC[340], USD[0.82]

07814688                              USD[0.00]                                                                                                                                                                         Yes

07814691                              BAT[1.01082298], LTC[.00122874], USD[0.00]                                                                                                                                        Yes

07814693                              NFT (467500986987447222/Official Solana NFT)[1]

07814695                              BTC[.01115541], USD[0.00]

07814697                              BTC[.001998], USD[0.88]

07814700                              SOL[2.07240807], TRX[1], USD[0.00]

07814705                              USD[10.97]                                                                                                                                                                        Yes

07814706                              CUSDT[11], DOGE[0], GRT[0], LTC[0], MATIC[0], SOL[0], TRX[0], UNI[0]                                                                                                              Yes

07814707                              SHIB[1], USD[12.03]                                                                                                                                                               Yes

07814709                              ETH[0], ETHW[2.78606264], USD[0.00]

07814710                              ETH[.084915], ETHW[.084915], USD[1.38]

07814732                              USD[0.00]

07814739                              BTC[.00005871], USD[0.00]

07814748                              USD[0.00], USDT[0]                                                                                                                                                                Yes

07814753                              BF_POINT[100]                                                                                                                                                                     Yes

07814768                              ETHW[.37493], USD[13.10], USDT[3.68579703]

07814770                              ETH[0], ETHW[5.93518241], USD[4395.55]

07814772                              BTC[0.00020490], MATIC[614.69594612]

07814781       Contingent, Disputed   USDT[.02]

07814787                              USD[0.01]                                                                                                                                                                         Yes

07814788                              ETHW[.508491], USD[1530.24]

07814793                              TRX[1], USD[0.00]                                                                                                                                                                 Yes
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07814795                           ETH[.000776], ETHW[.00042805], SOL[.001], USD[0.01]

07814799                           AVAX[5.31996727], BRZ[1], SOL[3.33806724], TRX[1], USD[0.00]                                                                                                                              Yes

07814806                           SUSHI[704.06447837], USD[1.00]

07814811                           CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                              Yes

07814818                           SHIB[3], TRX[1], USD[0.01]

07814824                           BAT[0], BTC[0], CUSDT[0], DAI[0], USD[0.00]

07814831                           USD[0.01]                                                                                                                                                                                 Yes

07814834                           ETH[0], ETHW[0], LINK[.00000001], SOL[0.00000001], USD[0.11]                                                                                                                              Yes

07814837                           ETH[0], NFT (503722706538001737/The Hill by FTX #2790)[1], TRX[.000001], USD[0.00], USDT[0]

07814838                           NFT (296395009528575029/PixelPuffins #1793)[1], NFT (306747354777562898/ApexDucks Halloween #1108)[1], NFT (361735299619172070/ApexDucks Halloween #1718)[1], NFT                         Yes
                                   (377644121464883512/Entrance Voucher #3870)[1], NFT (379511586296889791/Ghoulie #2992)[1], NFT (397140467328840688/Bahrain Ticket Stub #2377)[1], NFT (399689918120807532/Barcelona
                                   Ticket Stub #1018)[1], NFT (401854630202801283/ApexDucks Halloween #3158)[1], NFT (406443983669044963/PixelPuffins #3045)[1], NFT (426705656616687235/Ghoulie #4370)[1], NFT
                                   (432527049657959334/Ghoulie #7004)[1], NFT (489179981534327483/PixelPuffins #217)[1], NFT (496660182611622294/PixelPuffins #4668)[1], NFT (501150996325345150/ApexDucks Halloween
                                   #3018)[1], NFT (518075067362473925/ApexDucks Halloween #2294)[1], NFT (519751046439015951/PixelPuffins #2811)[1], NFT (525691657703039799/Ghoulie #7269)[1], NFT
                                   (556263990202589487/Ghoulie #6492)[1], NFT (559769747377037302/PixelPuffins #5700)[1], NFT (561879707640190703/Ghoulie #1807)[1], NFT (565189539613120546/ApexDucks Halloween
                                   #1684)[1], NFT (565589120787901652/Ghoulie #2656)[1], NFT (567263184902070967/PixelPuffins #7286)[1], NFT (567572795532799422/Ghoulie #5856)[1], SHIB[183084.3531558], SOL[1.70875407],
                                   USD[0.00]
07814839                           USD[0.89]

07814845                           SOL[1.44], USD[0.11]

07814851                           NFT (293314264790350036/GSW Championship Commemorative Ring)[1], NFT (301221353172014162/GSW Western Conference Finals Commemorative Banner #1303)[1], NFT
                                   (400370707166513582/GSW 75 Anniversary Diamond #429)[1], NFT (458898371159147853/GSW Western Conference Semifinals Commemorative Ticket #966)[1], NFT (462701801451088313/GSW
                                   Western Conference Finals Commemorative Banner #1304)[1], USD[0.01]
07814857                           ETH[0], NFT (482820499390432732/Entrance Voucher #2950)[1], SHIB[2], USD[0.00], USDT[0.00000001]                                                                                          Yes

07814873                           USD[0.00]

07814878                           BTC[.07521432], CUSDT[1], DOGE[1], GRT[2.02936001], TRX[1], USD[0.00], USDT[0.00000269]                                                                                                   Yes

07814881                           DOGE[1], SHIB[2646202.69912675], USD[0.00]

07814911                           BTC[.00553028], ETH[.07650551], ETHW[.07650551], USD[0.01]

07814914                           USD[516.47]

07814918                           USD[0.81], USDT[.008002]

07814929                           CUSDT[1], DOGE[1], SOL[0]

07814944                           USD[0.00]

07814946                           SHIB[91692646.24977076], USDT[0]

07814947                           USD[37.17]                                                                                                                                                                                Yes

07814952                           USD[0.00]

07814954                           DOGE[32.56844407], SHIB[443735.26122019], USD[0.00]                                                                                                                                       Yes

07814955                           BF_POINT[100], BTC[.00000043], CUSDT[14], ETH[.00421275], ETHW[.00415803], SHIB[3], TRX[5], USD[0.01]                                                                                     Yes

07814960                           CUSDT[1], DOGE[45.25601134], ETH[.0032329], ETHW[.00319186], SHIB[1706271.04899214], USD[0.02]                                                                                            Yes

07814962                           ETH[0], ETHW[0], LTC[0], SOL[0], USD[0.86]

07814963                           TRX[.931], USD[0.01], USDT[1.1946604]

07814972                           DOGE[1], SOL[0], TRX[2], USD[0.01]                                                                                                                                                        Yes

07814979                           BTC[0], ETH[0], SOL[0], USD[0.00]

07814983                           DOGE[1], SOL[6.03263758], USD[0.00]                                                                                                                                                       Yes

07814988                           SOL[2.11077517], TRX[1], USD[0.00]                                                                                                                                                        Yes

07814993                           CUSDT[2], SOL[.03670372], USD[0.00]                                                                                                                                                       Yes

07815004                           BTC[.00032208]                                                                                                                                                                            Yes

07815007                           CUSDT[3], DOGE[16.24809956], ETH[.01683786], ETHW[.01663266], NFT (480440171612890525/Solninjas #27)[1], NFT (485911180068610807/Solninjas #377)[1], NFT                                  Yes
                                   (534104056366531440/Solninjas #147)[1], SHIB[452733.87871781], SOL[1.08820257], USD[0.00]
07815013                           DOGE[1], USD[0.00]                                                                                                                                                                        Yes

07815017                           NFT (559452047181142540/Coachella x FTX Weekend 2 #25048)[1]

07815021                           BTC[.0061], LINK[5], SOL[3.4471975], USD[1.61]

07815035                           BTC[0.00000008], CUSDT[0], LINK[0], MATIC[0], NFT (295719306793239442/Fallen Travelers #01)[1], NFT (328989972715569630/7266)[1], NFT (401996617607021063/APEFUEL by Almond Breeze        Yes
                                   #456)[1], NFT (487102780968883396/Tim Brown's Playbook: San Diego Chargers vs. Los Angeles Raiders - September 4, 1988 #40)[1], NFT (566782739891485419/ALPHA:RONIN #769)[1], SOL[0],
                                   SUSHI[.00000913], UNI[.00000612], USD[0.00], USDT[0.00007894]
07815039                           SOL[.00567065], TRX[.000001], USD[0.00], USDT[0]

07815040                           NFT (353441243686965062/Useless Digital Hype)[1]

07815043                           BF_POINT[100], ETHW[0], SHIB[.24688398], USD[116.70]                                                                                                                                      Yes

07815048                           BTC[0.00000855], ETH[0], USD[0.00]

07815051                           DOGE[1641.3568192], GRT[48.89759957], MATIC[73.53551013], UNI[6.34318303]                                                                                                                 Yes

07815052                           ETH[.00000001]                                                                                                                                                                            Yes

07815054                           CUSDT[4], NFT (359045503456418725/2D SOLDIER #2165)[1], SHIB[1], USD[0.42]                                                                                                                Yes

07815057                           BTC[.0001]

07815063                           USD[2000.00]

07815064                           USD[0.72]

07815065                           BCH[0], BTC[0], DAI[0], DOGE[0], ETH[0.00038706], ETHW[0.00038706], LTC[0], SHIB[76592014.53722193], SOL[1.01009637], SUSHI[0], USD[0.00], USDT[0.00000154]
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                                                                                                                                         Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07815068                           DOGE[1], ETH[.00812205], ETHW[.0425293], SHIB[4], TRX[1], USD[0.30]                                                                                                                Yes

07815069                           USD[0.98]

07815072                           USD[50.00]

07815073                           BTC[.00000014], SHIB[.00000032], USD[0.00], USDT[0]                                                                                                                                Yes

07815075                           CUSDT[1], DOGE[1], USD[0.01]

07815085                           USD[7.00]

07815117                           CUSDT[1], SHIB[2550243.95046087], USD[0.00]                                                                                                                                        Yes

07815129                           DOGE[2], ETH[0], SHIB[3], USD[0.00]

07815135                           BF_POINT[300], BRZ[.39629797], CUSDT[.68283462], DOGE[.95558985], ETHW[.00054164], NFT (302262877773760939/Warriors 75th Anniversary City Edition Diamond #311)[1], SHIB[82],      Yes
                                   SOL[.00108343], TRX[.09563154], USD[6582.28]
07815141                           BTC[.00008256], SOL[.000995], USD[1277.22], USDT[.0053381]

07815153                           USD[0.03]                                                                                                                                                                          Yes

07815162                           NFT (298882528340401445/Coachella x FTX Weekend 1 #17094)[1]

07815170                           USD[0.00]                                                                                                                                                                          Yes

07815181                           BTC[.00032635], USD[0.00]

07815186                           BTC[.08553754], ETH[2.33594074], ETHW[2.33594074], SOL[11.28891], USD[4.05]

07815189                           USD[1.67]

07815195                           SOL[.71], USD[0.14]

07815196                           BRZ[1], BTC[.01139305], CUSDT[23], DOGE[1051.00633256], ETH[.15225188], ETHW[.15147619], MATIC[104.99561891], SHIB[5344758.14706705], SOL[1.04992964], SUSHI[.00000856], TRX[4],   Yes
                                   USD[0.00]
07815198                           AAVE[2.997], AVAX[20.9853], ETH[.99974399], MATIC[69.93], SOL[240.46046], USD[59.63]

07815206                           LINK[.00051202], USD[0.00]                                                                                                                                                         Yes

07815211                           ETH[.00000384], ETHW[.00000384]                                                                                                                                                    Yes

07815219                           BRZ[4], BTC[0], CUSDT[2], DOGE[2], GRT[1.00313735], TRX[4], USD[0.01], USDT[1.08551483]                                                                                            Yes

07815223                           USDT[1568.63605341]                                                                                                                                                                Yes

07815228                           BTC[0.00000561], TRX[.000001], USDT[0]

07815258                           SOL[.00295]

07815268                           USD[0.00]

07815290                           USD[0.00], USDT[0.00000001]

07815295                           ETH[.00000001]

07815297                           ETH[.0000002], ETHW[.0000002]                                                                                                                                                      Yes

07815314                           USD[5.00]

07815320                           ETH[1], ETHW[1], LTC[.005], SHIB[180844000], USD[3.93]

07815324                           ETH[.00000014], ETHW[.00000014], USD[0.00]                                                                                                                                         Yes

07815336                           BTC[.0052947], USD[231.58]

07815338                           BRZ[1], BTC[.00000434], CUSDT[1], DOGE[1], SHIB[1], USD[0.00], USDT[1.0605573]                                                                                                     Yes

07815345                           USD[0.00], USDT[0.00029649]

07815351                           NFT (489578848544608167/Coachella x FTX Weekend 2 #28839)[1]

07815353                           SOL[0], USD[0.00]

07815362                           CUSDT[105.94098008], SUSHI[.0001965], USD[0.00]                                                                                                                                    Yes

07815364                           BRZ[1], CUSDT[1], DOGE[1], ETH[1.78302505], ETHW[1.78227617], SOL[38.12405058], TRX[1], USD[0.00]                                                                                  Yes

07815378                           USDT[10079.51785605]                                                                                                                                                               Yes

07815385                           SOL[0], USDT[0]

07815388                           BAT[1], BRZ[1], BTC[.09012041], CUSDT[1], SHIB[1], SOL[112.6236059], TRX[1], USD[0.01], USDT[0]                                                                                    Yes

07815415                           NFT (557490769526041576/The Hill by FTX #2431)[1]

07815427                           USD[0.01]

07815431                           CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                        Yes

07815432                           USD[77.76]

07815439                           BTC[0], ETH[0], SOL[1.96817649], USD[0.00]

07815441                           SOL[0.00022400], USD[0.63]

07815444                           BTC[.00000004]                                                                                                                                                                     Yes

07815461                           BRZ[1], CUSDT[2], DOGE[0], USD[0.00]                                                                                                                                               Yes

07815464                           BF_POINT[100]                                                                                                                                                                      Yes

07815480                           BRZ[1], BTC[.00897329], CUSDT[1], TRX[1], USD[0.00]

07815483                           SHIB[766.22866216], USD[0.00]

07815488                           CUSDT[2], ETH[.00000008], ETHW[.00000008], LINK[1.2476973], MATIC[0.00004992], SHIB[1257523.11680596], SOL[1.09987356], USD[0.00], USDT[0.00000274]                                Yes

07815490                           BTC[.00004393], DOGE[22.05164222], KSHIB[28.60103179], SHIB[176551.43797392], SOL[0.04088834], USD[0.02]

07815520                           USD[0.06]

07815525                           BAT[1.01655549], BRZ[4], BTC[0], CUSDT[2], DOGE[6], ETH[0], ETHW[0.00002350], GRT[3.00827607], SHIB[7], SOL[0], TRX[4], USD[0.00], USDT[0.00000012]                                Yes

07815538                           ETHW[.9991], USD[0.01]
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                                                                                                                                            Customer Claims                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07815543                              CUSDT[4529.91504906], LINK[10.36183994], TRX[887.92102793], USD[0.00]

07815544                              BRZ[31.22690191], BTC[.00042977], CUSDT[251.03651127], DAI[3.1884371], DOGE[53.69436737], ETH[.03145132], ETHW[.03105988], LINK[.61589924], MATIC[9.47076425], NFT          Yes
                                      (317673234897378735/Echo #5)[1], SHIB[2177375.95466673], SOL[2.10165429], TRX[108.42505016], USD[0.51]
07815547                              BTC[.00000014], CUSDT[1], DOGE[.23229612], KSHIB[.0002008], SHIB[12.42393509], TRX[1], USD[0.00]

07815548                              BTC[.00800061], CUSDT[10], MATIC[.00029318], TRX[545.40899494], USD[0.00]                                                                                                   Yes

07815562                              ETH[0], SHIB[1], USD[5.10]                                                                                                                                                  Yes

07815565                              USD[0.07]                                                                                                                                                                   Yes

07815568                              DOGE[2666.95083087], TRX[1], USD[0.86]                                                                                                                                      Yes

07815584                              BAT[1], BRZ[1], CUSDT[1], ETH[0.00134135], ETHW[0.00132766], SHIB[1], SOL[.00000001], TRX[1], USD[2564.27], USDT[2.0651046]                                                 Yes

07815586                              BTC[.00000002], CUSDT[1], DOGE[1], USD[0.01]                                                                                                                                Yes

07815591                              SOL[0], USD[0.00]

07815592                              BTC[.0046], DOGE[397], ETH[.07], ETHW[.07], SOL[1.57], USD[0.01], USDT[0.77570726]

07815593                              AAVE[.08097272], BTC[.00054456], CUSDT[4], ETH[.00818466], ETHW[.0080889], LINK[.98849137], USD[0.00]                                                                       Yes

07815600                              USD[0.38]

07815605                              MKR[.00097435], NFT (357909584359445040/Classic Paperbirds)[1], NFT (384815932123004319/Gamer's Abstract)[1], NFT (448182333484918975/Barcelona Ticket Stub #386)[1], NFT   Yes
                                      (477522050323094296/Bahrain Ticket Stub #1789)[1], NFT (539001896707087749/FTX - Off The Grid Miami #2594)[1], USD[1.53]
07815612                              BRZ[1], CUSDT[5042.76569731], DOGE[2387.98052919], MATIC[154.2772381], SOL[1.12369932], SUSHI[34.54669272], TRX[5], USD[220.88]                                             Yes

07815618                              SOL[.4052701], USD[0.00]

07815624                              DOGE[1217.76105982], ETH[0.01810726], ETHW[0.01810726], SHIB[8084857.03230718], SOL[0], USD[0.00], USDT[0.46451217], YFI[0.00901534]

07815633                              BTC[.02332087]                                                                                                                                                              Yes

07815655                              USD[0.00], USDT[0]

07815668                              NFT (548894512340419107/Microphone #3193)[1]

07815669                              USD[341.04]

07815670                              USD[0.02]

07815679                              BTC[.0143024], ETH[.13389701], ETHW[.13389701], LTC[2.22043658], TRX[21], USD[1.17]

07815685                              AAVE[0], AVAX[0], BCH[0], BTC[0], DAI[0], DOGE[0], ETH[0], LINK[0], MATIC[0], SOL[0], TRX[0], USD[0.00], USDT[0]                                                            Yes

07815693                              USD[100.00]

07815694                              LINK[2], SOL[.35], USD[2.00]

07815702                              USD[1.04]

07815709                              ETH[0], ETHW[0.09744740], USD[121.77]

07815735                              GRT[1.00367791], USD[0.00]                                                                                                                                                  Yes

07815737                              TRX[.0071228]

07815741                              BAT[1.01401505], ETH[1.01847276], ETHW[1.01804496], SOL[9.53727125]                                                                                                         Yes

07815743                              BRZ[1], BTC[.00000186], DOGE[2], ETH[.00000126], ETHW[.13702164], SHIB[2], USD[0.00]                                                                                        Yes

07815750                              TRX[.000001], USD[0.00], USDT[.00000092]

07815752                              TRX[.94666592], USD[0.01], USDT[0]

07815768                              CUSDT[1], SUSHI[70.23151577], USD[0.01]

07815771                              BRZ[1], BTC[.00460562], CUSDT[3], DOGE[1], ETH[.12320935], ETHW[.12203813], USD[0.02]                                                                                       Yes

07815784                              CUSDT[1], DOGE[110.72641049], USD[137.27]                                                                                                                                   Yes

07815799                              BTC[.00001708], SOL[.03996246], USD[9.80]

07815803                              BRZ[1], CUSDT[1], ETH[.825551], ETHW[.82520416], LTC[22.00011892], SHIB[2], SOL[5.82811804], TRX[2], USD[0.00]                                                              Yes

07815810                              USD[0.00]

07815814                              NFT (418895146785521713/FTX - Off The Grid Miami #2949)[1]

07815815                              CUSDT[1], TRX[1], USDT[0]

07815819                              BTC[0], ETH[0], USD[0.00], USDT[0]

07815835       Contingent, Disputed   USD[0.01]                                                                                                                                                                   Yes

07815856                              USD[5.47]

07815858                              USD[7.45]

07815860                              BRZ[2], BTC[0.53623490], DOGE[4], LINK[0.00069566], LTC[0.00008930], SHIB[5], SOL[0.00010305], TRX[1], USD[40509.57]                                                        Yes

07815866                              BTC[.00005291], CUSDT[1], ETH[.13856994], ETHW[.13753003], KSHIB[6586.8125426], TRX[1], USD[5.47]                                                                           Yes

07815870                              CUSDT[2], ETH[1.42592626], ETHW[1.42532734], GRT[1.00367791], TRX[1], USD[0.00], USDT[1.08976608]                                                                           Yes

07815874                              USD[32.94]                                                                                                                                                                  Yes

07815878                              USD[54.85]                                                                                                                                                                  Yes

07815879                              SHIB[5100000], USD[0.96]

07815880                              PAXG[.32966503], USD[0.00]

07815886                              USD[250.00]

07815896                              ETH[0], USD[0.00]                                                                                                                                                           Yes

07815905                              BTC[.0001], USD[3.71]

07815923                              SOL[.11073229], TRX[1], USD[0.00]

07815949                              BRZ[2], BTC[.00340337], CUSDT[1], DOGE[1], ETH[.02719429], ETHW[.02685229], SOL[1.45236146], USD[0.00]                                                                      Yes
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                                                                                                                                             Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07815963                              USD[4.09]

07815965                              DOGE[0], USD[0.01]                                                                                                                                                                  Yes

07815972                              MATIC[688.13025818], SOL[10.63791925], USD[0.00], USDT[0.00000001]

07815973                              AUD[0.34], USD[0.73]                                                                                                                                                                Yes

07815976                              BTC[0], SOL[0], USD[0.18]

07815989                              CUSDT[3], ETH[0], GRT[1], SHIB[1571828.44346751], TRX[2], USD[10.18]                                                                                                                Yes

07815995                              CUSDT[1], TRX[509.27392917], USD[0.00]

07815999                              USD[0.00], USDT[0.00000001]

07816009                              CUSDT[2], USD[0.00]

07816010                              USD[20.00]

07816015                              BRZ[4], DOGE[3], SHIB[12], SOL[.00000001], TRX[1], USD[0.00], USDT[2]

07816025                              BTC[.0007956], CUSDT[2], TRX[2], USD[3.73]

07816036                              BTC[.06997578], ETH[1.34087263], ETHW[1.84015564], SHIB[1], USD[634.86], USDT[0.00028404]                                                                                           Yes

07816040                              USD[0.00]

07816041                              CUSDT[1], USD[0.00]

07816044                              BRZ[1], SHIB[1], SOL[0]                                                                                                                                                             Yes

07816051                              USD[0.00]

07816052       Contingent, Disputed   SOL[.00817], USD[3.87], USDT[0]

07816074                              SOL[.00000001]

07816079                              AVAX[5.9], ETH[.00000004], ETHW[6.09880082], GRT[10], USD[2.78]

07816097                              USD[0.00]

07816108       Contingent,            BAT[2], BRZ[4], BTC[.00000531], DOGE[5], ETH[.00000873], ETHW[0.00000873], GRT[2.0007882], MATIC[1.01061507], SHIB[9], SOL[.00019557], SUSHI[1.02287872], TRX[3], UNI[.00001535],   Yes
               Unliquidated           USD[0.00], USDT[0.00001531]
07816121                              BAT[2.0165555], BTC[.1551829], CUSDT[3], DOGE[5], ETH[.00001627], ETHW[2.07532118], GRT[323.75828698], LINK[.00017154], MATIC[510.7639347], SHIB[7095116.85532282],                 Yes
                                      SOL[37.87464162], TRX[4], USD[0.03], USDT[1.02464435]
07816125                              USD[0.03]

07816155                              AVAX[.08391034], BF_POINT[300], BTC[.00130743], CUSDT[4], DOGE[1], NFT (328177546078426599/Psycho Cats1243)[1], SHIB[1833154.57412475], SOL[.26335643], USD[0.11]                   Yes

07816157                              CUSDT[17], MATIC[.00073181], SHIB[39376.76634588], USD[0.00], USDT[0]                                                                                                               Yes

07816160                              BTC[0.00303375]

07816171                              BTC[0], DOGE[0], USD[0.01], USDT[0]

07816173                              ETH[0], USD[0.00]

07816182                              AAVE[3.22479818], AVAX[26.64647037], BAT[1387.66773938], BRZ[11.54557892], BTC[.4530768], CUSDT[71.69989084], DOGE[35.89632625], ETH[2.86263895], ETHW[2.86163582],                 Yes
                                      LINK[32.41162938], MATIC[1573.47604673], MKR[.50269729], SHIB[30], SOL[49.67602972], TRX[32.68539324], UNI[28.29447163], USD[2.60], USDT[2.10157056]
07816184                              ETH[0], USD[0.00]

07816196                              USD[0.00]

07816198                              SOL[0]

07816208                              BAT[2.01266093], BRZ[3], CUSDT[1], DOGE[5], ETHW[.06429162], SHIB[34], SOL[.0001398], TRX[17.1485826], USD[261.10], USDT[1.04717936]                                                Yes

07816215                              BTC[0], ETH[.000969], ETHW[.000969], USD[0.00]

07816218                              USD[1.92]                                                                                                                                                                           Yes

07816241                              NFT (329716938928483543/Entrance Voucher #4004)[1]

07816243                              CUSDT[1], SHIB[4923086.63035589], USD[54.84]                                                                                                                                        Yes

07816247                              ETHW[.389911], LINK[.7], USD[1.47]

07816251                              CUSDT[28], DOGE[7.04991205], MATIC[4.62035975], TRX[4], USD[48.59], USDT[2.32970765]                                                                                                Yes

07816264                              TRX[0], USD[0.00]

07816265                              BTC[.00774401], CUSDT[2], KSHIB[343.52550608], USD[12.06]                                                                                                                           Yes

07816272                              USD[0.53]

07816280                              SOL[.00988385], USD[0.00]

07816281                              ETH[0], LTC[0], SHIB[0], SOL[0], USD[3.54]

07816284                              BTC[0], ETH[0], MATIC[0], NFT (338877108880319443/Coachella x FTX Weekend 1 #24752)[1], SOL[0.61582014], USD[0.00], USDT[0]

07816296                              CUSDT[3], SHIB[1], USD[0.00]                                                                                                                                                        Yes

07816313                              USD[1.50]

07816327                              USD[0.00], USDT[0.00055236]

07816330                              ETH[.25], ETHW[.25]

07816332                              SHIB[18300000], SOL[68.54], USD[13.51], YFI[.004]

07816334                              BAT[1.01480241], BRZ[2], ETH[.86719913], ETHW[.86683481], TRX[.000001], USDT[0.00000379]                                                                                            Yes

07816335                              CUSDT[3], DOGE[2.13572259], ETH[0], KSHIB[262.30206522], MATIC[16.11170174], TRX[1], USD[0.04]                                                                                      Yes

07816347                              BTC[.33626146], DOGE[4070.200147], ETH[1.04709583], ETHW[1.04665385], SOL[64.18584162]                                                                                              Yes

07816349                              MATIC[0], PAXG[0], SOL[0], USD[0.00]

07816351                              AVAX[.0525], BTC[0.00004804], ETH[.0002664], ETHW[3.82600249], USD[8.64]

07816361                              USD[0.00], USDT[.72773633]
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                                                                                                                                         Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07816371                           BTC[.00008231], USD[0.00], USDT[0.00725500]

07816383                           USD[10.97]                                                                                                                                                                               Yes

07816387                           CUSDT[1], USD[0.00]                                                                                                                                                                      Yes

07816392                           AAVE[.97], BTC[.0113886], ETH[.659836], ETHW[.659836], LINK[11.3], SHIB[200000], SOL[5.9], SUSHI[45.5], UNI[63.1], USD[5.27]

07816402                           BTC[0], ETH[0], ETHW[.01693543], SHIB[2300.20265110], USD[0.00]                                                                                                                          Yes

07816416                           BRZ[23.90666237], CUSDT[220.54098968], TRX[0]

07816421                           DAI[.0004629], DOGE[5], NEAR[.0222972], NFT (319879414099579570/MagicEden Vaults)[1], NFT (345941605142518155/MagicEden Vaults)[1], NFT (377851055265092396/MagicEden Vaults)[1],        Yes
                                   NFT (389888841951523063/MagicEden Vaults)[1], NFT (412647354359408180/Froots Baby #237)[1], NFT (508980220308723041/MagicEden Vaults)[1], SHIB[7], SOL[0], TRX[1], USD[0.00],
                                   USDT[0.00000017]
07816424                           GRT[1.00019173], TRX[2], USD[0.01]                                                                                                                                                       Yes

07816425                           NFT (430894710127116036/Voxel Monke - Logo Remix 001)[1]

07816439                           USD[0.00]

07816449                           USD[500.01]

07816456                           LINK[1.8], USDT[.3179523]

07816469                           GRT[.03445], KSHIB[93970.643], SUSHI[.2416], USD[10.09]

07816471                           SOL[.00055054]                                                                                                                                                                           Yes

07816473                           BTC[0.00629164], NFT (471410836582391639/Entrance Voucher #25375)[1], USD[0.00], USDT[0.00040014]

07816481                           USD[0.00]                                                                                                                                                                                Yes

07816482                           BTC[.00006148], EUR[0.78], SOL[.00706347], USD[0.00]                                                                                                                                     Yes

07816485                           NFT (298032927896513464/Diabolìk's Hotel Room)[1], NFT (448884949938690449/Map of Secret Keys)[1], NFT (460723520445121922/Portrait of Beau de Rubempré)[1], NFT
                                   (536712611021921174/generation of secret BTC seed)[1], USD[1.74]
07816490                           DOGE[0], ETH[0], SHIB[186257.78437379], USD[0.87], USDT[0]

07816496                           USD[11499.00]

07816497                           DOGE[3], SHIB[1], USD[0.00]

07816498                           ETH[.94073209], ETHW[.94073209], USD[0.00]

07816507                           ETH[.0007876], ETHW[.0007876], USD[1.62]

07816509                           USD[0.00]

07816520                           NFT (552087143519047351/You in, Miami? #83)[1]

07816521                           SOL[.0011662], USD[2.56]

07816525                           BTC[0], DOGE[0], USD[0.00], USDT[2.61866418]

07816531                           CUSDT[1], SOL[5.4286421], USD[5.83]                                                                                                                                                      Yes

07816534                           USD[0.02]

07816535                           BTC[0], ETH[0], NEAR[0.00900198], SOL[0], USD[0.55], USDT[0.15773973]

07816536                           USD[0.30]

07816543                           BRZ[2], CUSDT[2], SHIB[5], USD[0.00]                                                                                                                                                     Yes

07816550                           USD[0.00]

07816560                           BTC[.00000166], SOL[.00007308]                                                                                                                                                           Yes

07816566                           BTC[0.00004018], MATIC[0]                                                                                                                                                                Yes

07816573                           USD[18.10]

07816605                           ETH[.052], ETHW[.052], USD[251.44]

07816610                           USD[0.00]

07816611                           NFT (293812882862447972/SOLCATS | SOL CAT NFT #1)[1], NFT (298532394829619660/SOLCATS | SOL CAT NFT #1 #2)[1], NFT (348828440223149827/Mad Cat NFTs #2)[1], NFT
                                   (376178406938753519/Mad Cat NFTs #5)[1], NFT (391053043153792880/Mad Cat NFTs #7)[1], NFT (401837278100958556/Mad Cat NFTs)[1], NFT (446069470563914981/Mad Cat NFTs #10)[1], NFT
                                   (462488564553746507/Mad Cat NFTs #9)[1], NFT (465315953975296866/Mad Cat NFTs #6)[1], NFT (491489899143699214/Voxel Animals #23)[1], NFT (503696784085452822/Mad Cat NFTs #8)[1],
                                   NFT (518846474720414603/Claw 23)[1], NFT (559613167244924291/SOLCATS | SOL CAT NFT 1)[1], NFT (568348615981603768/Mad Cat NFTs #3)[1], NFT (569858957897602875/Mad Cat NFTs
                                   #4)[1], SOL[.00000001], USD[0.00]
07816622                           CUSDT[4], DOGE[5.02866622], TRX[2], USD[0.00]                                                                                                                                     Yes

07816623                           BTC[.00000001], LINK[.00000547], SOL[.00000278], USD[0.01]                                                                                                                               Yes

07816625                           USD[107.98], USDT[0.00045951]                                                                                                                                                            Yes

07816626                           BTC[0.00001565], GRT[1], PAXG[0], SHIB[1], TRX[1], USD[98.30], USDT[0]                                                                                                                   Yes

07816631                           ETH[.0049], NFT (350571508446572598/fxm)[1], USD[3.87]

07816644                           USD[0.00]

07816649                           BF_POINT[200], BTC[0], CUSDT[12], DOGE[3], NFT (288537279397874619/Marcus Allen's Playbook: USC vs. Washington - November 14, 1981 #58)[1], NFT (542787454501764832/Game time )[1],      Yes
                                   SHIB[0], SOL[0.00000191], TRX[2], USD[2.69], YFI[0]
07816651                           USD[8.05]

07816652                           BCH[.03416656], BRZ[1], CUSDT[7], DOGE[656.83065299], ETH[.03101132], ETHW[.03062828], LINK[.7473661], SHIB[2431561.46519827], SOL[4.18472969], TRX[4], USD[0.00]                        Yes

07816656                           USD[54.77]                                                                                                                                                                               Yes

07816665                           BTC[.01134363]                                                                                                                                                                           Yes

07816666                           BF_POINT[600], CUSDT[10], ETH[.03875631], ETHW[.03827751], SHIB[1], USD[0.00]                                                                                                            Yes

07816667                           BRZ[1], CUSDT[24], DOGE[1], NFT (322384623501747931/1964 Chevy Impala Interior #3 of 3)[1], NFT (567304415239283574/Joe Theismann's Playbook: Washington vs. Chicago Bears - September   Yes
                                   29, 1985 #49)[1], SHIB[25], TRX[4], USD[0.01]
07816669                           USDT[0.00000016]

07816672                           BCH[0.00000389], BTC[0], CUSDT[12], DOGE[2.00007817], ETH[0.00000032], ETHW[0.00000032], LTC[0], MATIC[0], SOL[.00000001], TRX[4], USD[0.00], USDT[0]                                    Yes
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07816684                           MATIC[.8], MKR[.0007704], USD[10.11], USDT[0]

07816685                           SOL[0], USD[0.00]

07816687                           USD[0.61]

07816691                           USD[9.58]

07816692                           ALGO[155.52077913], BF_POINT[300], BRZ[1], BTC[0], DOGE[1], ETH[0], ETHW[0.15684801], MATIC[0], SHIB[1808395.38066295], SOL[0], TRX[1], USD[0.00]                                         Yes

07816695                           SOL[1.302], USD[10.00]

07816697                           BTC[.01319207], CUSDT[3], DOGE[2], ETH[.1251442], ETHW[.12399761], SHIB[7325859.44350348], TRX[871.69216075], USD[0.05]                                                                   Yes

07816701                           SHIB[1932728.61429403], USD[0.00]                                                                                                                                                         Yes

07816702                           NFT (501158080673567230/Spiderkiss - Pixelart Spiderman)[1]

07816710                           USD[0.00]

07816711                           BRZ[1], BTC[.0047276], USD[0.00]                                                                                                                                                          Yes

07816724                           DOGE[1], ETH[.00000623], ETHW[.00000623], GRT[1], TRX[1], USD[2.01], USDT[1]

07816726                           BTC[.04927211], USD[0.00]

07816729                           CUSDT[5], SOL[.64740855], USD[0.01]                                                                                                                                                       Yes

07816733                           USD[14.41]                                                                                                                                                                                Yes

07816738                           USD[0.01]

07816739                           ETH[.00000306], ETHW[.00000306], USD[0.00]

07816758                           BTC[.0001004], USD[0.00], USDT[0]

07816780                           CUSDT[2], SOL[1.17033448], USD[0.00]                                                                                                                                                      Yes

07816784                           BTC[.0000983], USD[0.01]

07816786                           BTC[.00001158], ETH[.00000114], ETHW[.27721114], USD[0.91]

07816789                           ETH[.02], ETHW[.02], SOL[0.00010686], USD[18.16]

07816791                           USD[64.23]

07816794                           SOL[.00625], USD[1979.22]

07816799                           USD[0.00]

07816801                           USD[100.00]

07816803                           BRZ[1], CUSDT[2], DOGE[3], ETH[.00000001], SUSHI[1.07693533], USD[0.00], USDT[1.07762411]                                                                                                 Yes

07816811                           BTC[.0001999], NFT (379636056199333229/Entrance Voucher #3127)[1], USD[0.00], USDT[2.2897846]

07816813                           NFT (514430541985133685/Microphone #8901)[1]

07816814                           BCH[0], BTC[0.00000002], CUSDT[3], DOGE[638.63413117], ETH[0], NFT (352960417928178325/The Magic of Sailing)[1], NFT (470838238561213716/Alpha )[1], SHIB[32.24056141], SOL[0], TRX[2],   Yes
                                   USD[0.00]
07816815                           ETH[.144855], ETHW[.144855], USD[5.13]

07816817                           BTC[0], ETHW[.66528825], SOL[0], USD[0.20]

07816822                           USD[23.00]

07816825                           NFT (504107540280638356/Daughter)[1], NFT (535038315207970786/2657)[1], USD[8.85]

07816833                           ETHW[.00005], NEAR[.0885], USD[100004.41]

07816850                           USD[0.00]

07816853                           SOL[.00301], USD[2.27]

07816854                           BAT[6], BTC[.17951529], LINK[9.8901], MATIC[628.45], SOL[13.8661], USD[408.33], USDT[1.917536]

07816856                           BF_POINT[200], USD[0.01]                                                                                                                                                                  Yes

07816860                           ETHW[.04470933], USD[0.80]

07816861                           BF_POINT[300], BTC[0], USD[0.00], USDT[0]

07816863                           ETHW[.04389564], SHIB[1], USD[0.01]

07816877                           USD[60.77]

07816879                           USD[0.23]

07816892                           USD[0.01]                                                                                                                                                                                 Yes

07816893                           SOL[1.05082595], USD[52.67]

07816894                           CUSDT[1], USD[21.68]                                                                                                                                                                      Yes

07816899                           BTC[0], ETH[0], SOL[0], USD[0.00]

07816905                           BRZ[1], CUSDT[1], TRX[.000001], USDT[0.00000001]                                                                                                                                          Yes

07816907                           BTC[0], USD[0.00]

07816918                           USD[0.00]

07816919                           USD[2.00]

07816922                           ETHW[.0779298], USD[1.06], USDT[.0099326]

07816926                           TRX[.011173], USD[42.92], USDT[0]

07816930                           BTC[0.00067460], CUSDT[2], SHIB[144807.76509095], USD[0.00]                                                                                                                               Yes

07816931                           AVAX[.016862], BTC[0.00009841], ETH[.00039637], ETHW[0.00039637], MATIC[19.982], PAXG[0.00004352], SOL[.007098], USD[0.00]

07816933                           SHIB[1], TRX[1], USD[0.00]

07816934                           AVAX[0], BF_POINT[200], GRT[0], SOL[0], TRX[0.08056608], USD[0.00], USDT[0.00000001]                                                                                                      Yes
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07816944                           BTC[.00509941], ETH[.10807593], ETHW[.10698397], NFT (433091070744208034/Magic Eden Pass)[1], SHIB[5], SOL[1.06019432], USD[0.00]                                                      Yes

07816946                           USD[0.00]

07816948                           BTC[0.00000001], ETH[0], MATIC[0], SOL[0.00000001], USD[0.00], USDT[0]

07816951                           SOL[0], UNI[1.25283142]

07816952                           BTC[0], CUSDT[21], DOGE[2], ETH[0.00026050], ETHW[0.00026050], USD[0.00], USDT[0], YFI[0]

07816955                           BRZ[1], CUSDT[4], LTC[.00002211], TRX[1], USD[0.13], USDT[1.09635434]                                                                                                                  Yes

07816961                           USD[1.00], USDT[0]                                                                                                                                                                     Yes

07816968                           USD[1.47]

07816971                           BTC[0.00059608], ETH[.00058839], ETHW[.00058839], SOL[0.46529781], USD[0.22]

07816974                           CUSDT[3], TRX[1], USD[0.00]                                                                                                                                                            Yes

07816981                           USD[0.52]

07816985                           BTC[.00030482], SHIB[1], SOL[1.04893796], USD[0.00]                                                                                                                                    Yes

07816989                           SOL[0], USD[0.00]                                                                                                                                                                      Yes

07816994                           NFT (540786738936735777/FTX - Off The Grid Miami #321)[1]

07816995                           USD[0.01]

07816996                           BTC[0], DOGE[0], SOL[0], USD[0.00]

07816998                           BF_POINT[300], NFT (457224820335602218/GSW Western Conference Finals Commemorative Banner #973)[1], NFT (470535220375023299/Warriors 75th Anniversary Icon Edition Diamond #439)[1],   Yes
                                   NFT (513086093262505707/GSW Western Conference Finals Commemorative Banner #976)[1], NFT (537752103154851850/GSW Western Conference Finals Commemorative Banner #974)[1], NFT
                                   (549100386343165546/GSW Western Conference Finals Commemorative Banner #975)[1], SOL[.00533702], USD[0.00]
07817001                           BTC[.00000044], USD[0.01], USDT[1.02543197]                                                                                                                                            Yes

07817003                           USD[0.00]

07817009                           USD[1.05]

07817013                           USD[0.00]

07817014                           BTC[.0015984], LINK[9.89152481], USD[11.42]

07817024                           SHIB[82000], USD[1.12]

07817025                           AUD[0.00], SOL[0.00908322], USD[0.83]

07817026                           USD[0.00]

07817030                           USD[0.00]

07817034                           BTC[.207212], CUSDT[1042.81009182], DOGE[899.20331005], ETH[.32228531], ETHW[.32211773], MATIC[92.95352766], SHIB[6718690.13825569], SOL[1.24544967], TRX[7], USD[23.12]               Yes

07817035                           BTC[.00187593], ETH[0.05261360], ETHW[0.05195812], SOL[0.87066065], USD[0.00]                                                                                                          Yes

07817049                           DOGE[1049], TRX[2100], USD[93.58]

07817056                           BTC[0], SOL[0], USD[0.00]

07817057                           USD[0.00]                                                                                                                                                                              Yes

07817065                           BTC[0.00001608], MATIC[.00000001], USD[0.31]

07817066                           SOL[.66], SUSHI[8.991], USD[0.41]

07817071                           BTC[.00051916], CUSDT[3], DOGE[110.74861681], ETH[.00767391], ETHW[.00757808], USD[0.02]                                                                                               Yes

07817073                           ALGO[0], AVAX[0], BTC[0], CUSDT[0], DAI[0], DOGE[0.00067843], ETH[0], EUR[0.00], GRT[0], MATIC[0], MKR[0], NEAR[0], SHIB[0], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00]               Yes

07817077                           BRZ[1], BTC[.00000033], DOGE[4], NEAR[50.76905083], SHIB[11], TRX[4], USD[1.71]                                                                                                        Yes

07817079                           AVAX[.0507], USD[0.34], USDT[0]

07817080                           USDT[7.983502]

07817083                           USD[0.00]

07817100                           USD[4.90]

07817118                           USD[0.00]

07817126                           BTC[.0004], USD[1.44]

07817128                           MATIC[165.85], USD[0.81]

07817130                           SOL[.04291916], USD[10.00]

07817147                           BTC[.02526595], CUSDT[11], DOGE[2086.71393719], ETH[.30822542], ETHW[.30803715], SHIB[1], USD[0.00]                                                                                    Yes

07817149                           USD[0.00]

07817150                           ETH[0], ETHW[0], MATIC[0], USDT[0.00001409]

07817151                           AVAX[0], BAT[2], BRZ[3], BTC[0], DAI[0.00000001], DOGE[4], ETH[0], ETHW[0.10469674], GRT[2], MKR[0], NEAR[.00059097], PAXG[.00020858], SHIB[24], SOL[0], TRX[5], USD[200.71],          Yes
                                   USDT[0.00000319]
07817157                           BRZ[1], CUSDT[0], GRT[38.05747846], SHIB[9], USD[2.43]                                                                                                                                 Yes

07817159                           BTC[0], USDT[1868.32344763]

07817163                           DOGE[1], SHIB[2], TRX[3], USD[0.00]                                                                                                                                                    Yes

07817164                           USD[0.00], USDT[0.00000134]

07817167                           USD[0.00]

07817168                           BTC[.00000637], CUSDT[1], ETH[0], ETHW[0], SHIB[2], TRX[0], USD[0.00], YFI[.00000001]                                                                                                  Yes

07817175                           BCH[.0055394], DOGE[50.055], ETH[0], ETHW[.5597448], KSHIB[21.962], LINK[.32864], MKR[.006386], SHIB[425180], SOL[1.57578806], TRX[5.056], USD[0.00], USDT[0.00000974]

07817185                           USD[0.00]

07817196                           SOL[8.24175000], USD[24.09]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07817204                           ETH[.0035613], MATIC[1], NFT (380322227948233973/Coachella x FTX Weekend 2 #14033)[1], NFT (411730584844820448/Golden Hill #514)[1], SOL[.00016334], USD[10.00]

07817208                           LINK[.087], SOL[.00709], USD[0.67], USDT[0]

07817217                           BAT[1.00989331], CUSDT[1], DOGE[1], ETH[0.00203134], SHIB[1], TRX[4], USD[0.00]                                                                                                            Yes

07817219                           MATIC[99.9], SOL[2.1978], USD[149.94]

07817221                           BAT[333], LINK[10.989], NFT (413343652802745956/Entrance Voucher #2011)[1], USD[420.35]

07817226                           USD[2.93]

07817228                           AVAX[10.36431423], BTC[.0217464], CUSDT[4], DOGE[40.19077216], ETH[.10852942], ETHW[.10743582], GRT[1], NEAR[23.49140273], SHIB[3], SOL[10.43756524], TRX[1], USD[0.26]                    Yes

07817233                           USD[0.60]

07817234                           SOL[.00725], USD[2.71]

07817237                           DOGE[40.93767617], GRT[10.53268254], USD[1.09]                                                                                                                                             Yes

07817240                           BTC[.15670906], DOGE[576.16115], ETH[4.85603455], ETHW[3.51203455], LTC[1.31553356], USD[42.61], USDT[8438.31]

07817246                           BRZ[2], BTC[0], ETH[0], LINK[0.00004910], MATIC[0.00015574], SHIB[10], SOL[0], USD[0.00], USDT[0.00000001]                                                                                 Yes

07817248                           ETH[0.00093607], LTC[.00679575], SUSHI[0.26400000], USD[4.60], USDT[0]

07817249                           USD[0.01]

07817251                           SOL[0]

07817258                           USD[1.28]                                                                                                                                                                                  Yes

07817259                           SOL[11.02372], USD[2.48]

07817260                           BTC[.04981411], TRX[2], USD[0.02]                                                                                                                                                          Yes

07817263                           DAI[1091.81812678]                                                                                                                                                                         Yes

07817270                           TRX[.000001], USD[0.00]

07817273                           USD[20.00]

07817292                           NFT (352259845249895198/Colossal Cacti #473)[1], NFT (382109482306158790/Colossal Cacti #719)[1], NFT (415379260994721409/Reflection '16 #20)[1], NFT (451606553417202441/Golden Hill
                                   #258)[1], NFT (539097110901098271/Entrance Voucher #2799)[1], USD[20.03]
07817298                           BTC[0.00003360], DOGE[0.10295192], ETH[0.00055838], ETHW[0.00055838], KSHIB[2.13275], LTC[.00314157], MATIC[0.20574275], SOL[0.00544555], USD[0.00], USDT[0]

07817301                           ETH[0], ETHW[0], USD[0.01]

07817304                           BTC[.00000004]

07817306                           BTC[0], DOGE[0], ETH[0], LINK[0], SOL[0], SUSHI[0], USD[0.00], USDT[0]

07817307                           AVAX[4.86308207], BF_POINT[200], BRZ[3], CUSDT[31], ETHW[12.83530935], GRT[1.00312819], MATIC[.00200942], NFT (544996414569017225/Magic Eden Pass)[1], SHIB[.00000039],                    Yes
                                   SOL[.00000002], TRX[9], UNI[9.22771411], USD[0.00]
07817310                           BTC[0], USD[0.10]

07817314                           ETH[.01214405], ETHW[.01214405], SOL[1.27210715], USD[1458.78]

07817317                           SOL[353.87507761]                                                                                                                                                                          Yes

07817318                           USD[20.00]

07817326                           BAT[0.10900480], DOGE[1], NFT (483140970326666698/Warriors 75th Anniversary Icon Edition Diamond #703)[1], NFT (515540208403434154/Warriors 75th Anniversary City Edition Diamond          Yes
                                   #692)[1], SHIB[1], TRX[2], USD[3002.80]
07817329                           SOL[10.76107724], USD[0.00]

07817340                           ETH[.000985], ETHW[.000985]

07817350                           USD[100.00]

07817354                           BF_POINT[300], BRZ[1], CUSDT[17], ETHW[.14366924], FTX_EQUITY[0], KSHIB[1210.74232715], NFT (304900363343156884/Silverstone Ticket Stub #258)[1], NFT (325388372384266645/Joe              Yes
                                   Theismann's Playbook: Washington vs. Miami Dolphins - January 30, 1983 #40)[1], NFT (327163346147061136/Birthday Cake #0944)[1], NFT (361703541466612955/The Hill by FTX #261)[1], NFT
                                   (364271880476549978/Serum Surfers X Crypto Bahamas #106)[1], NFT (372445133953351245/Series 1: Capitals #3)[1], NFT (377059384124856828/Red Moon #136)[1], NFT
                                   (404841231502408413/Warriors 75th Anniversary Icon Edition Diamond #62)[1], NFT (415525483505727853/Fancy Frenchies #4561)[1], NFT (425216250956859034/Miami Ticket Stub #282)[1], NFT
                                   (425953988388539117/Humpty Dumpty #52)[1], NFT (427618346135946502/Juliet #315)[1], NFT (434034061693370962/Exclusive 2974 Collection Merchandise Package #5771 (Redeemed))[1], NFT
                                   (440513436341174315/Miami Ticket Stub #307)[1], NFT (447874566026790773/Crazy Skull #14)[1], NFT (449760554523969661/Brick World #25)[1], NFT (464482711101336078/Series 1: Wizards)[1],
                                   NFT (478561916778063819/SALT New York 2022 #4)[1], NFT (487015957377575806/FTX x CAL: The Decision #3)[1], NFT (494904775100593971/FTX - Off The Grid Miami #4747)[1], NFT
                                   (497439295582011749/Sea Dubs Inaugural NFT #8)[1], NFT (503580989941127922/Monocle #5)[1], NFT (538721532856292739/Fancy Frenchies #7600)[1], NFT (546770600634566635/The 2974
                                   Collection #0944)[1], NFT (546790428573796790/Exclusive 2974 Collection Merchandise Package #5779 (Redeemed))[1], NFT (555989292697154470/Coachella x FTX Weekend 2 #27055)[1], NFT
                                   (570404116444829599/Coachella x FTX Weekend 1 #15968)[1], NFT (572532059455426122/Saudi Arabia Ticket Stub #2257)[1], NFT (574041343084366612/Shaq's Fun House presented by FTX
                                   #16)[1], SHIB[2], TRX[8], USD[565.69], USDT[0], WEST_REALM_EQUITY_POSTSPLIT[0]

07817358                           BTC[0], USDT[0.00012702]

07817361                           SHIB[1], USD[0.01]

07817362                           USD[374.44]

07817369                           DOGE[0.00561491], LTC[0.00422142], SOL[0.00586789], USD[0.01], YFI[0]

07817372                           BTC[0], CUSDT[0], ETH[0], MATIC[0], SOL[0.00967529], USD[0.00], USDT[0]                                                                                                                    Yes

07817381                           CUSDT[1], MATIC[15.00688977], USD[0.00]

07817382                           USD[0.01]

07817388                           SOL[.20756471], USD[2.66]

07817396                           CUSDT[1], USD[0.00]                                                                                                                                                                        Yes

07817397                           BCH[0], CUSDT[0], DOGE[0], ETH[0], LINK[0], LTC[0], TRX[0], UNI[0]                                                                                                                         Yes

07817402                           USD[21.32]

07817413                           USD[400.00]

07817417                           USD[0.00]

07817419                           BTC[0], USD[0.00]

07817421                           MATIC[0], USD[0.01]
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07817434                              BRZ[1], DOGE[1], TRX[1], USD[9173.06]                                                                                                                                                    Yes

07817437                              DOGE[4], SHIB[16], SOL[1.87125268], TRX[5], USD[0.00]                                                                                                                                    Yes

07817438                              NFT (574529947552289656/Trash Inflatable Man Dance )[1], USD[2.86]

07817440                              USD[0.82]

07817442                              BTC[0], SOL[0], USD[0.00]                                                                                                                                                                Yes

07817456                              KSHIB[249.75], NFT (388162225577312934/this pay your loan)[1], SHIB[599400], TRX[243.756], USD[6.09]

07817463                              ETH[0.00000001], ETHW[0], SOL[0], USD[3013.88]

07817465                              ETH[.00000003], SHIB[1], USD[0.00], USDT[4.83905681]                                                                                                                                     Yes

07817466                              BAT[1], GRT[3], LINK[1], SHIB[98751418.84222475], SOL[22.84649535], TRX[2], USD[588.21]

07817468                              BAT[1.0165555], SOL[37.18595863], USD[0.00]                                                                                                                                              Yes

07817476                              CUSDT[1], USD[0.01]                                                                                                                                                                      Yes

07817491                              BTC[0.00554664], ETH[0], LINK[0], SOL[0], USD[0.00]

07817494       Contingent, Disputed   NFT (299471361048747465/StarAtlas Anniversary)[1], NFT (346685968116966877/StarAtlas Anniversary)[1], NFT (386823475403250896/StarAtlas Anniversary)[1], NFT
                                      (388365328439743460/StarAtlas Anniversary)[1], NFT (396499396342927508/StarAtlas Anniversary)[1], NFT (428853395130250973/StarAtlas Anniversary)[1], NFT (442667986678349329/StarAtlas
                                      Anniversary)[1], NFT (457510080246282155/Citizen Card #299)[1], NFT (461841720359126244/Entrance Voucher #25273)[1], NFT (527821912308445969/StarAtlas Anniversary)[1], NFT
                                      (555480635316539938/StarAtlas Anniversary)[1], SOL[0], USD[0.00]
07817505                              CUSDT[1], ETH[0], ETHW[0], TRX[0], USD[0.00]                                                                                                                                             Yes

07817508                              BTC[.00072628], USD[2.15], USDT[0]

07817520                              GRT[600.243], LINK[.0958], SOL[2.68285], USD[2.85]

07817521                              TRX[1], USD[0.00]                                                                                                                                                                        Yes

07817528                              USD[0.00]

07817547                              BAT[7.45911177], ETH[0], SOL[0], UNI[0], USD[0.00], USDT[0.00000103]

07817548                              USD[0.00], USDT[0]

07817552       Contingent, Disputed   USD[3000.00]

07817553                              NFT (327290227179098141/Barcelona Ticket Stub #1871)[1], NFT (336687362994080218/Singapore Ticket Stub #145)[1], NFT (375163103869019378/Monaco Ticket Stub #163)[1], NFT
                                      (393906995360999866/Solana Squirrel #946)[1], NFT (437162851332065884/Austin Ticket Stub #27)[1], NFT (443217279133546993/Saudi Arabia Ticket Stub #837)[1], NFT
                                      (486927275311651425/Japan Ticket Stub #136)[1], NFT (497731939153791300/Baku Ticket Stub #143)[1], SHIB[3], SOL[.01556139], USD[0.00]
07817557                              ALGO[0], AVAX[.00000001], BTC[0], ETH[0], ETHW[0], MATIC[0], NEAR[0], PAXG[.00000001], SHIB[8254.6328703], SOL[0], USD[952.04], USDT[0.00000001]                                         Yes

07817560                              AAVE[0], DOGE[0], ETH[.00000001], NEAR[0], SHIB[1099545.82317050], SOL[.00000001], USD[2.06]                                                                                             Yes

07817561                              BTC[.001998], ETH[.028971], ETHW[.028971], SOL[.74985], USD[6.62]

07817568       Contingent, Disputed   USD[0.00]

07817572                              USD[1.51]

07817573                              USDT[0]

07817580                              CUSDT[3], DOGE[.00193943], GRT[.00055804], MATIC[.00034198], TRX[.00436173], USD[0.01]                                                                                                   Yes

07817583                              BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07817584                              ETH[0], ETHW[0], MATIC[0], NFT (399276471842712323/Microphone #7988)[1], SOL[0], TRX[.000007], USD[0.00]

07817585                              USD[500.00]

07817593                              USD[0.00]

07817595                              ETH[.06], ETHW[.06], SOL[.01619799], SUSHI[.00000001], USD[0.00], USDT[0.00000002]

07817599                              USD[0.05]

07817603                              SOL[1.89296891], USD[0.00]

07817607                              BTC[0], USDT[0.00021626]

07817609                              BTC[0], ETH[0.00020580], ETHW[0.00020580], PAXG[0.00001074], SOL[.00921469], USD[6.93]

07817611                              BTC[.0014971], DOGE[41.76503492], USD[0.35]

07817618                              BTC[0.00051844], USD[0.00], USDT[0.00001132]

07817624                              CUSDT[1], USD[0.00]

07817626                              LINK[17.0943], USD[1.71]

07817635                              USD[0.00]

07817640                              USD[3.23]

07817641                              SOL[3.16], USD[1.20]

07817642                              BRZ[1], CUSDT[1], DOGE[1], ETHW[1.95995312], SHIB[.23643699], USD[0.00]                                                                                                                  Yes

07817672                              USD[9259.31]

07817676                              BTC[0], DOGE[0], LTC[0], SHIB[0], SOL[0], USD[0.01], USDT[0]                                                                                                                             Yes

07817677                              ETH[0], USD[0.00]

07817680                              CUSDT[2], DOGE[1], TRX[2], USD[0.00]

07817694                              SOL[20.83894952], USD[16000.00]

07817703                              SOL[0], USD[0.00]

07817708                              NFT (393350919697476212/Coachella x FTX Weekend 1 #18356)[1], NFT (429022932135184732/Desert Rose Ferris Wheel #261)[1]

07817709                              NFT (327441584059008061/Spectra #487)[1], NFT (365703440556809507/Beasts #834)[1], NFT (382597773769016251/Reflection '18 #30)[1], NFT (412002031054387967/Reflector #677)[1], NFT
                                      (534026454496307308/Spectra #585)[1], USD[0.00], USDT[.00628523]
07817715                              BAT[37.962], KSHIB[1518.68], LINK[50.2787], MATIC[119.95], SHIB[1799300], SOL[12.30281], USD[0.59]

07817716                              USDT[0.00020427]
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                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07817718                              BRZ[1], BTC[.23250825], CUSDT[1], DOGE[2], TRX[1], USD[1759.03]                                                                                                                     Yes

07817723                              BTC[0], USD[0.00], USDT[0]

07817724                              BAT[1.0165555], CUSDT[1], DOGE[2], SOL[0], SUSHI[0], USD[0.00]                                                                                                                      Yes

07817725                              NFT (500079320263320838/Bahrain Ticket Stub #1798)[1], USD[5.01]

07817732                              NFT (522514588401460957/Entrance Voucher #3903)[1]

07817741                              CUSDT[6], DOGE[2], SOL[2.15414816], SUSHI[2.23123348], TRX[1], UNI[2.18040101], USD[7.90]                                                                                           Yes

07817750                              USD[7.39]

07817757                              AAVE[.4997625], UNI[5.39487], USD[64.15]

07817759                              USD[1.70]

07817764                              BCH[0.00018467], DOGE[1], NFT (301149648729500409/Miami Ticket Stub #255)[1], SHIB[74367.6244114], USD[0.00], USDT[0]                                                               Yes

07817767                              BRZ[1], CUSDT[2], DOGE[1], SHIB[31023876.19082594], TRX[1], USD[0.09]

07817768                              BTC[0], USD[0.00]

07817770                              SOL[.0189582], USD[0.00]

07817783                              ETH[0], ETHW[0], SOL[0], USD[0.01]

07817800                              NFT (308314759050794260/Imola Ticket Stub #1817)[1], USD[0.18]

07817803                              USDT[0.00018148]

07817806                              BTC[.0024975], USD[0.64]

07817815                              PAXG[0], USD[2.01]

07817821                              BTC[0], USD[0.00]

07817824                              BRZ[3], CUSDT[90.96831725], DOGE[3], SHIB[5], TRX[4], USD[0.01]                                                                                                                     Yes

07817827                              DOGE[424.81223264], LINK[13.3], USD[0.07]

07817836                              USD[0.34], USDT[0]

07817837                              ETH[0], USD[0.00]

07817841                              USD[2001.02]                                                                                                                                                                        Yes

07817844                              SOL[.05], USD[2.00]

07817847                              USDT[0.00000022]

07817848                              USD[0.00]                                                                                                                                                                           Yes

07817855                              BTC[0.00005804], DOGE[2], ETH[0], ETHW[17.29276184], GRT[.00172193], LINK[.14300019], MATIC[380.93979991], PAXG[.00000006], SHIB[289.67588169], SUSHI[.00011975], TRX[1],           Yes
                                      UNI[.00005296], USD[0.78]
07817856                              SHIB[2], SOL[0], USD[0.00]                                                                                                                                                          Yes

07817858                              NFT (387718913463114333/Monocle #42)[1]

07817859                              BAT[1.01655549], CUSDT[5], DOGE[2], ETH[.00436126], ETHW[0.00430653], TRX[6], USD[0.00]                                                                                             Yes

07817863                              USD[0.00]

07817866                              BRZ[1], BTC[.05091263], DOGE[9.15529014], ETH[1.09090061], ETHW[1.09044245], SOL[0.00002063], USD[0.01]                                                                             Yes

07817869                              NFT (312040367835992067/StarAtlas Anniversary)[1], NFT (361743794268061298/Degen Ape #1519)[1], NFT (402073778730232463/StarAtlas Anniversary)[1], NFT (479278155524771110/Stash
                                      9467)[1], NFT (506654574216760142/StarAtlas Anniversary)[1], NFT (512316450540326433/StarAtlas Anniversary)[1], NFT (521310037187548065/StarAtlas Anniversary)[1], NFT
                                      (527491598328306030/StarAtlas Anniversary)[1], NFT (563077644029521369/StarAtlas Anniversary)[1], NFT (564619590763952512/StarAtlas Anniversary)[1]
07817872                              USD[500.01]

07817873                              BTC[.0038811], MATIC[.00000001], SHIB[6], TRX[1], UNI[.09], USD[0.49]

07817882                              CUSDT[1], SUSHI[3.19622969], TRX[246.22423453], USD[0.02]                                                                                                                           Yes

07817887                              BTC[0], USD[0.00]

07817889                              NFT (332591789915705793/Entrance Voucher #2733)[1], USD[110.00]

07817891                              BTC[0], USD[0.09]

07817895                              USDT[0.00001542]

07817899                              SOL[.00521], USD[0.00]

07817902                              USD[20.68]

07817903                              ETH[.0005], USD[35.52], USDT[.03281676]

07817904                              CUSDT[2], PAXG[.01142856], SHIB[509854.30539024], SOL[.29047222], USD[10.80]                                                                                                        Yes

07817914                              SOL[.006822], USD[0.14]

07817915                              SUSHI[1], USD[0.00]

07817917                              NFT (307056510956719947/2974 Floyd Norman - CLE 3-0001)[1], NFT (360815250337207320/The 2974 Collection #2632)[1], NFT (573425422809519354/Birthday Cake #2632)[1], USD[1.19]

07817920                              NFT (435254657362663570/Coachella x FTX Weekend 1 #26959)[1], NFT (512717357924022566/FTX - Off The Grid Miami #86)[1]

07817922                              USDT[548.9636858]                                                                                                                                                                   Yes

07817925                              BTC[0.02433460], PAXG[0], USD[0.00], USDT[0.00007824]                                                                                                                               Yes

07817930       Contingent, Disputed   BTC[.0005], LINK[.0993], USD[4.28]

07817931                              MATIC[90], USD[102.21]

07817933                              NFT (288457290717172114/GSW Western Conference Semifinals Commemorative Ticket #562)[1], NFT (319052060542162194/GSW Western Conference Semifinals Commemorative Ticket #563)[1],
                                      NFT (332792851806837903/GSW Western Conference Finals Commemorative Banner #1094)[1], NFT (338387132431715071/GSW Western Conference Finals Commemorative Banner #1093)[1], NFT
                                      (339850034460606309/GSW Round 1 Commemorative Ticket #127)[1], NFT (394480622599148170/GSW Championship Commemorative Ring)[1], NFT (397098653865207062/GSW Round 1
                                      Commemorative Ticket #485)[1], NFT (412038393176357713/GSW 2015 Championship Ring #16 (Redeemed))[1], NFT (412700426260594502/Bahrain Ticket Stub #1771)[1], NFT
                                      (416647842857756723/GSW Western Conference Finals Commemorative Banner #1096)[1], NFT (448656380120471930/GSW Championship Commemorative Ring)[1], NFT
                                      (472922532880130013/Warriors Logo Pin #249 (Redeemed))[1], NFT (477105217744074932/GSW Western Conference Finals Commemorative Banner #1095)[1], USD[0.01]
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                                                                                                                                         Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07817943                           SOL[169.16067], USD[130.57]

07817948                           BTC[0.00003871], NFT (342220176817642586/The Hill by FTX #2271)[1], SOL[.749], USD[0.06]

07817949                           AVAX[25.1748], DOGE[2151.846], ETH[.103593], ETHW[.103593], GRT[402.597], SHIB[55238000], SOL[35.41727], SUSHI[44.955], TRX[3996], USD[4.96]

07817958                           BTC[.00000001], SHIB[1.00000003], TRX[1], USD[924.29]                                                                                                                                  Yes

07817974                           BTC[.0348], ETH[.393], ETHW[.393], USD[2.57]

07817976                           BTC[.00015122], USD[0.00]

07817984                           BF_POINT[200], DOGE[1], KSHIB[805.18539393], SHIB[1220505.47518307], TRX[28.51096902], USD[0.05]

07817986                           SOL[0]

07817988                           BRZ[6.30538794], CUSDT[2], ETH[0], ETHW[0], MATIC[943.92768713], SOL[0.00065737], TRX[3], USD[943.00], USDT[1.09654453]                                                                Yes

07817991                           USD[174.18]

07817992                           USD[5.59]

07817993                           BTC[0], ETH[0]

07817994                           BTC[0], ETH[.00000001], ETHW[0.00002443], NFT (499423853908981196/Entrance Voucher #2781)[1], USD[0.00], USDT[0]

07817996                           NFT (309985313961167908/DOGO-IN-500 #3527)[1]

07817999                           SOL[.11582845], USD[0.50]                                                                                                                                                              Yes

07818005                           USD[5006.00]

07818008                           SOL[.00000001]

07818010                           USD[121.58]

07818022                           USD[6.86]

07818023                           ALGO[0], USD[0.01]

07818027                           CUSDT[4], ETH[.00000004], ETHW[.00000004], USD[0.00]                                                                                                                                   Yes

07818031                           USD[10000.00]                                                                                                                                                                          Yes

07818037                           AVAX[0], BAT[1], BRZ[2], BTC[0], DOGE[1], ETH[0], ETHW[0], MATIC[0], SHIB[15], SOL[0.00000001], TRX[4], USDT[0.00013902]

07818041                           BTC[0], SHIB[3], USD[3.62], USDT[0]                                                                                                                                                    Yes

07818043                           AAVE[0], AVAX[0], BTC[0], GRT[0], LINK[0], MATIC[0.00016227], SOL[0], TRX[0], USD[0.00]                                                                                                Yes

07818045                           CUSDT[5076.43178053], DOGE[3237.93372391], ETH[.23272844], ETHW[.23252473], LTC[1.03091544], TRX[2], UNI[4.41797272], USD[28.79]                                                       Yes

07818047                           BTC[.0023]

07818050                           DOGE[5.16003865], USD[0.00]

07818055                           USD[0.33]

07818059                           BTC[0.06986456], DOGE[28843.24353908], ETH[1.172011], ETHW[1.172011], LINK[56.9241], MATIC[2098.61], SHIB[149854600], SOL[42.00444406], UNI[246.913], USD[0.77], USDT[0]

07818062                           SOL[.00000001]

07818069                           ETH[1.98986601], ETHW[1.98986600], USD[5.78]

07818074                           USD[100.00]

07818075                           ETH[0], SOL[.00407742], USD[10.47]

07818078                           DOGE[3.99600000], GRT[0], USD[0.02], WBTC[0]

07818080                           USD[0.00]

07818083                           DOGE[.35597404], SOL[.00698], USD[0.00]

07818093                           BAT[2], BRZ[3], BTC[.00000081], CUSDT[5], DOGE[3], ETH[.00002541], ETHW[2.78622023], SHIB[16], SOL[.00000002], TRX[9], USD[1.00]                                                       Yes

07818101                           BAT[1], BRZ[2], BTC[.25795563], DOGE[5], GRT[2], SHIB[1], TRX[7], USD[0.00]

07818104                           USD[0.00], USDT[0]

07818105                           BRZ[1], BTC[.00387963], LINK[9.63963705], SHIB[1], TRX[1], USD[101.19]                                                                                                                 Yes

07818107                           BTC[0], USD[0.00]

07818111                           BTC[.00103553], CUSDT[3], ETH[.00531262], ETHW[.00524422], SOL[.35233883], USD[0.00]                                                                                                   Yes

07818118                           NFT (303285792890801252/Mech #5298)[1], NFT (349350320946893890/Boneworld #430)[1], NFT (357095736370469014/Belugie #3839)[1], NFT (378428829829434552/Oink 934)[1], NFT
                                   (395566349615536863/Cyber Pharmacist 8805)[1], NFT (427843424219108000/ApexDucks #2504)[1], NFT (437038106364776953/Toasty Turts #3385)[1], NFT (486384901442499592/Night Light #642
                                   (Redeemed))[1], NFT (496707812395620570/Toasty Turts #1409)[1], NFT (498114775941171420/DOTB #1657)[1], NFT (503006633548024527/Mech #968)[1], USD[0.00]
07818119                           USD[0.00]                                                                                                                                                                              Yes

07818121                           BTC[0.00010202], ETH[.00000001], ETHW[0], SOL[0], USD[0.00], USDT[0.00000167]

07818124                           CUSDT[1], USD[0.00]                                                                                                                                                                    Yes

07818125                           USD[1.35]

07818136                           USD[0.00]

07818144                           USD[6000.00]

07818157                           USD[11.00]

07818164                           USD[0.01]

07818169                           CUSDT[6], DOGE[1], SOL[0], TRX[1], USD[0.00]                                                                                                                                           Yes

07818173                           BAT[1], BRZ[4], CUSDT[15], DOGE[5], NFT (540376838235996755/Entrance Voucher #1807)[1], TRX[6], USD[0.01], USDT[0.00000110]                                                            Yes

07818181                           BRZ[2], CUSDT[3], DOGE[663.88324015], ETHW[1.17020472], GRT[1], SHIB[1251089.24227963], SOL[2.17377053], TRX[4], USD[0.37]                                                             Yes

07818196                           SOL[3.42080913], TRX[1.08249507], USD[0.00]                                                                                                                                            Yes

07818199                           CUSDT[1], SHIB[586192.74328139], USD[0.07]                                                                                                                                             Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07818209                              SOL[9.99], USD[75.00]

07818215                              USD[4.00]

07818219                              ALGO[0], BAT[0], DOGE[0], ETH[0], MATIC[0], PAXG[0], SHIB[0], TRX[0], USD[0.00]                                                                                               Yes

07818226                              BTC[0], DAI[0], ETH[0], SUSHI[0], USD[0.00]

07818228                              DOGE[3.77565197], USD[0.00]                                                                                                                                                   Yes

07818238                              BAT[1], CUSDT[3], ETH[.00004705], ETHW[.00004705], GRT[1], TRX[1], USD[0.00], USDT[1]

07818242                              USD[0.00], USDT[0]

07818254                              NFT (309996630091405931/Rocket)[1]

07818257                              LTC[.00000795], USD[0.00]                                                                                                                                                     Yes

07818270                              USD[21.51]                                                                                                                                                                    Yes

07818281                              USD[541.50]                                                                                                                                                                   Yes

07818282                              USD[10.97]                                                                                                                                                                    Yes

07818283                              NFT (387930512957416655/gmoot bag #9837)[1], NFT (567438693066739429/Solamander #577)[1], SUSHI[.08006741], USD[0.00]

07818287                              USD[10.00]

07818296                              AAVE[.0000008], BAT[2], BRZ[2], ETH[6.69747009], ETHW[3369.81641144], GRT[3], MATIC[21439.66954888], SHIB[0.00000021], TRX[6], UNI[1.00024608], USD[0.12], USDT[0]            Yes

07818301                              BRZ[1], CUSDT[4], DOGE[1], SHIB[10], SOL[.0002185], TRX[3], USD[0.00]                                                                                                         Yes

07818303                              NFT (365388584490895752/DOGO-IN-500 #3486)[1]

07818315                              USD[1.96]

07818316                              LTC[0]

07818321                              USD[0.00]

07818322                              ALGO[0], BRZ[0], DOGE[0], MATIC[0], PAXG[0], SHIB[1], SOL[0], USD[0.00], ZAR[0.00]                                                                                            Yes

07818324                              BRZ[3], BTC[0], DOGE[3], GRT[2], LINK[.0000538], SHIB[7], SOL[0], TRX[5], USD[0.00], USDT[42.92212425]                                                                        Yes

07818325                              NFT (330040679038485078/Romeo #613)[1]

07818330                              AVAX[35.36637], USD[17.15]

07818337                              NFT (556356609479860019/Humpty Dumpty #31)[1]

07818339                              BCH[0], BTC[0], DOGE[0], LTC[0], SHIB[.19031], SOL[0], USD[0.00], USDT[0]

07818350       Contingent, Disputed   USD[0.00]

07818352                              ETH[.000687], ETHW[.000687], MATIC[8.937297], USD[0.00]

07818353                              USD[500.00]

07818356                              LTC[.00976], USD[0.34]

07818359                              SOL[.02003756], USD[19.42]

07818365                              USD[10.97]                                                                                                                                                                    Yes

07818373                              NFT (443612326991666020/Saudi Arabia Ticket Stub #949)[1]

07818374                              USD[0.71]

07818382                              BTC[.000001]                                                                                                                                                                  Yes

07818385                              DOGE[1], MATIC[.00044254], SHIB[8], USD[0.00]                                                                                                                                 Yes

07818387                              ETH[.0009064], ETHW[.0089064], USD[0.01]

07818390                              USD[0.00]

07818393                              ALGO[32.472554], BRZ[4], CUSDT[10], DOGE[3], ETH[.25435947], ETHW[0.25416691], GRT[854.99041762], LINK[11.51760768], MATIC[125.91319998], SHIB[6], SOL[15.54034782],          Yes
                                      TRX[1.01125976], USD[57.67]
07818401                              ETHW[.07001336], SHIB[1], TRX[1], USD[0.00]

07818402                              NFT (407588045252550439/NBD7 #2)[1], NFT (465857418012690320/IB1)[1], NFT (484154323277939077/NBD7)[1], NFT (510095314817299087/NBD9)[1], NFT (543610678933705288/NBD8)[1],
                                      USD[0.00], USDT[0]
07818405                              SOL[3.25674], USD[11.00]

07818406                              BAT[.05983433]                                                                                                                                                                Yes

07818411                              USD[0.00]

07818412                              USD[1.66]

07818419                              USD[0.00]

07818422                              BF_POINT[200], USD[0.60]

07818425                              USD[1.27]

07818428                              TRX[.000002], USD[113.96]

07818431                              USD[1.67]

07818440                              BTC[0], SOL[.00000129], USD[0.01]

07818442                              NFT (418077434777382436/Coachella x FTX Weekend 2 #4193)[1]                                                                                                                   Yes

07818457                              USD[29.39]

07818468                              AVAX[0], SOL[0], USD[0.00], USDT[0]

07818484                              LINK[.902], SOL[0.00269741], USD[21.17]

07818485                              USD[12.25]

07818486                              NFT (434864019544799198/Microphone #1925)[1]

07818487                              BTC[.0003927], CUSDT[1], DOGE[71.33816892], ETH[.00358955], ETHW[.00354851], USD[8.63]                                                                                        Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07818488                              ETH[0], SOL[.00000001], USD[0.00]

07818494                              CUSDT[1], SHIB[2], TRX[1], USD[0.00]                                                                                                                                               Yes

07818498                              NFT (399635822684080090/work logo collectible one)[1]

07818500                              ETH[.0001], ETHW[.0001], NFT (302759926419926952/Imola Ticket Stub #806)[1]

07818503                              ALGO[1498.5], ETHW[1.251747], UNI[79.92], USD[12.65]

07818511                              AAVE[.07302303], BTC[0.03090087], CUSDT[0], DAI[0], DOGE[240.39459654], ETH[0.42378109], ETHW[0.42360307], GRT[23.23240287], LINK[1.09072091], LTC[.081092], MATIC[88.70638842],   Yes
                                      SHIB[1154261.79728645], SOL[.5117773], SUSHI[3.35535225], TRX[210.96114229], UNI[.8416547], USD[0.00], USDT[0.00003062]
07818515                              LTC[.009838], SOL[7.039848], USD[1.27]

07818517                              CUSDT[4], TRX[1], USD[0.00]                                                                                                                                                        Yes

07818520                              BAT[.00000001], SHIB[1], USD[0.00]                                                                                                                                                 Yes

07818527                              USD[45.29]

07818528                              NFT (486862737536703991/-)[1], USD[0.03], USDT[0]

07818535                              USD[0.00], USDT[0]

07818540                              USD[2.36]

07818550                              USD[0.00]

07818557                              SOL[.00504], USD[1.66]

07818563                              BF_POINT[100], BRZ[6.31209953], CUSDT[18], ETHW[.32826698], GRT[4.00109619], SHIB[13], TRX[8], USD[2897.80], USDT[1.06939765]                                                      Yes

07818577                              BF_POINT[200], BTC[0], CUSDT[10], MATIC[0.00000001], SHIB[2], SOL[0], TRX[4], USD[0.00]                                                                                            Yes

07818578                              USD[10.00]

07818585                              USD[0.00]

07818588                              MATIC[1.85996435], NEAR[0], USD[0.01]

07818601                              USDT[0]

07818603                              TRX[0], USD[0.00], USDT[0.00000600]

07818612                              USD[1.11]

07818626                              NFT (519251522933589944/Bahrain Ticket Stub #1050)[1], SHIB[1], USD[1.64]

07818631                              BTC[0], ETH[0], LINK[0], MATIC[0], SOL[0], SUSHI[0], USD[0.00]

07818633                              USD[10.00]

07818636                              BTC[.00007491], ETH[.00000001], ETHW[.00000001], USD[0.35]

07818637                              BTC[0], ETH[0], ETHW[0], SOL[0], USD[0.00]

07818638                              MATIC[130], USD[1717.38], USDT[0]

07818644                              TRX[1], USDT[0.00000158]                                                                                                                                                           Yes

07818646                              BTC[0], LINK[0.01468101], LTC[0], TRX[0], USD[0.02]

07818648                              BRZ[1], CUSDT[1], DOGE[32.12594468], LTC[.00428099], USD[1.90]                                                                                                                     Yes

07818656                              BTC[.25006222], USD[0.12]

07818665                              BTC[.0000974], ETH[.000948], ETHW[.000948], LTC[.00779], PAXG[.024345], SOL[.09], TRX[18.318002], USD[32.36]

07818666                              BTC[.0001]

07818669                              AAVE[0.01282147], BCH[.08542238], BRZ[57.47771509], BTC[.00306399], CUSDT[7], DOGE[113.44414381], ETH[.00497952], ETHW[.0049144], LINK[5.21074519], LTC[.54429136], SHIB[1],       Yes
                                      SOL[0.05205073], SUSHI[4.65899529], TRX[2], USD[0.00], USDT[0.00003417]
07818682                              AAVE[0.00041502], GRT[1.00260344], SOL[.00000001], USDT[1.08769526]                                                                                                                Yes

07818688                              AVAX[.00003928], BAT[15.69842002], BCH[1.35108269], BTC[0.12351833], DOGE[2326.80064278], LINK[29.67697502], LTC[2.35530648], UNI[26.85594751], USD[2.24]                          Yes

07818689                              SOL[0]

07818690                              BRZ[3], BTC[.00191911], CUSDT[8], DOGE[.00016242], LINK[.00001607], SOL[1.40916423], UNI[.00001774], USD[0.19]                                                                     Yes

07818693                              SOL[0], USD[0.67]

07818698                              SOL[6.77694436]                                                                                                                                                                    Yes

07818705                              USD[2.05]

07818709                              USD[0.01]

07818754                              GRT[1229], USD[0.45]

07818766                              BAT[1.54736172], BTC[0.00005402], ETH[0], MKR[0], TRX[0], USD[0.00], USDT[0]

07818768       Contingent, Disputed   USD[0.70], USDT[0.00000001]

07818769                              BTC[.00119181], CUSDT[50.27090816], DOGE[125.66837542], USD[31.90]                                                                                                                 Yes

07818789                              DOGE[.03104897], USD[0.01]                                                                                                                                                         Yes

07818790                              SOL[.00000001]

07818798                              DOGE[124], USD[0.13]

07818805                              NFT (357482405247329832/Coachella x FTX Weekend 2 #28037)[1]                                                                                                                       Yes

07818813                              NFT (330088731137949913/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #139)[1], USD[0.00]                                                         Yes

07818815                              ETH[0], SOL[.00392418], USD[2.84]

07818816                              ETH[0], SOL[0.13084920], USD[0.00]

07818820                              BTC[.00159113], USD[1.30]

07818825                              USD[0.00]                                                                                                                                                                          Yes

07818827                              BTC[.00008959], ETH[.00075837], USD[0.00], USDT[0]                                                                                                                                 Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07818829                              BAT[1.0165555], CUSDT[1], LINK[.00115686], SHIB[2], SOL[.00019955], TRX[2], USD[0.00]                                                                                             Yes

07818830                              BRZ[57.47278025], USD[0.00]                                                                                                                                                       Yes

07818831                              CUSDT[1], USD[0.03]                                                                                                                                                               Yes

07818853                              USD[0.00]

07818855                              ETH[.000762], ETHW[.037762], SOL[.002], USD[123.10]

07818857                              BTC[0.00010000], SHIB[19865.24071082], USD[0.00]

07818859                              BTC[0], ETH[.00000001], SOL[.00257332], USD[0.66]                                                                                                                                 Yes

07818867                              NFT (513189812361944547/Weirdos_Art__#001)[1], USD[20.00]

07818868                              BF_POINT[100], DOGE[2], GRT[1], LINK[.00365974], NFT (360062265490191105/JungleCats #3315)[1], SOL[0.00000145], USD[0.00], USDT[1.06588289]                                       Yes

07818882                              TRX[.000001]

07818884                              USD[0.81]

07818885                              BTC[.0002454], USD[0.00]                                                                                                                                                          Yes

07818886                              USD[1.08]

07818893                              SOL[17.13900419], USD[2.40], USDT[0.00000001]

07818896                              BRZ[.00006534], CUSDT[.00045513], ETH[0.00000058], ETHW[0.00000058], GRT[.00368246], MATIC[.00060924], MKR[.00000103], SHIB[177170.64469319], TRX[.00013926], UNI[.00002463],     Yes
                                      USD[0.01], USDT[0]
07818897                              ETH[1.0978672], ETHW[1.09740616]                                                                                                                                                  Yes

07818904                              USD[4.44]

07818912                              BAT[0], BRZ[2], BTC[0], CUSDT[27], DOGE[3], MATIC[0], TRX[3], USD[0.00], USDT[1.0839794]                                                                                          Yes

07818917                              USD[3.51]

07818922                              SHIB[2], SOL[.08903992], USD[0.00]                                                                                                                                                Yes

07818924                              AAVE[1.63879], BTC[.0104895], DOGE[2114], ETH[.14], ETHW[.14], LTC[2.97702], SOL[3.3], SUSHI[47.5], USD[3415.60]

07818925                              SOL[5.69543324], USD[38.01]

07818929                              USD[38.04]

07818932                              SOL[0], USDT[0.00000157]

07818949                              BTC[.00406], ETH[.0585], ETHW[.0585], USD[7.82]

07818960                              BRZ[5], BTC[0], DOGE[6.00150803], NFT (415430268581881299/Entrance Voucher #2558)[1], SHIB[3], TRX[4.000006], USD[0.00], USDT[0]                                                  Yes

07818962                              USDT[73.07]

07818964                              USD[0.00]

07818967                              USD[0.00], USDT[0.00000001]

07818977                              ETH[0], SOL[0.00632069], USD[0.00]

07818978                              USD[0.00]

07818996                              USD[0.00]

07819000                              TRX[.000001], USD[0.00], USDT[.6523895]

07819028                              SOL[.00528501], USD[0.97]

07819044                              SOL[10]

07819047                              SOL[.1]

07819053                              BTC[0], DAI[0], ETH[0], TRX[0], UNI[0], USD[0.00], USDT[0.00000001]                                                                                                               Yes

07819064                              ALGO[0], AVAX[0], BTC[0], ETH[0.00000001], ETHW[0], LINK[0], MATIC[0], NEAR[.00000001], SHIB[0], SOL[0], SUSHI[0], USD[0.00], USDT[0]                                             Yes

07819071                              AVAX[.08600926], BTC[.00001611], ETH[.00022953], ETHW[0.00022953], MATIC[8.17879161], SOL[8.08269662], USD[0.46], USDT[13.54353238]

07819090                              USD[0.00]

07819097                              CUSDT[16], SHIB[261.80622695], TRX[4], USD[0.00]

07819129                              USD[0.11], USDT[0]

07819138                              ETH[.662], ETHW[.662], SOL[.008], USD[2.29]

07819147                              AAVE[.10408833], DOGE[.0190281], ETH[.06809797], ETHW[0], GRT[157.81567443], LINK[6.95626438], MATIC[171.12487704], SHIB[187777.98113921], SOL[0], SUSHI[0], TRX[460.12321073],   Yes
                                      UNI[0], USD[0.00], USDT[0]
07819155                              BTC[0], GRT[0.33240938], LINK[.5410785], USD[0.00], YFI[0]

07819162                              BTC[0], USD[0.00], USDT[0]

07819186                              ETH[.00058545], ETHW[0.00058545], NFT (543086068822117777/Imola Ticket Stub #573)[1], USD[0.00], USDT[.197355]

07819187                              BTC[0], USD[0.00]

07819188       Contingent, Disputed   SOL[0], USD[0.00], USDT[0.00001110]

07819192                              ETH[0], SOL[0], USD[0.00], USDT[1.03854915]

07819199                              SHIB[800000], USD[3.57]

07819236                              USD[0.00]

07819237                              USD[1.68]

07819238                              NFT (468028222691290736/Juliet #574)[1], NFT (528839577357587051/Romeo #1413)[1]

07819244                              NFT (356023235984762427/Microphone #1602)[1], TRX[.209846], USDT[.04952812]

07819245                              BTC[0], CUSDT[0], USDT[0.00000527]

07819249                              BRZ[1], USD[0.01], USDT[0.00000007]                                                                                                                                               Yes

07819255                              ETH[1.005], ETHW[1.005], LINK[30.5896], MATIC[399.6], SOL[2.03796], UNI[13.6964], USD[1.32]
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Customer Code Unliquidated, or         Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07819266      Contingent, Disputed     TRX[.5384], USDT[.68271372]

07819276                               BRZ[1], DOGE[2], SHIB[98.28273397], SOL[.00000001], TRX[1], USD[0.00]                                                                                                                  Yes

07819304                               USD[0.00], USDT[3.3936]

07819306                               BTC[0], USDT[2.644136]

07819307                               BTC[0], USD[0.59], USDT[0]

07819314                               BRZ[1], CUSDT[9], DOGE[2], TRX[1], USD[0.00]                                                                                                                                           Yes

07819319                               USD[0.01]

07819320                               ETHW[.138907], SHIB[56735320], USD[98.05]

07819324                               BTC[.00000048], CUSDT[1], SOL[.00005844], TRX[1], USD[0.00]                                                                                                                            Yes

07819328                               NFT (304455831593742040/SOLANA APE CLUB #2)[1], NFT (404779401444025021/SOLANA APE CLUB #4)[1], NFT (499413076556401399/SOLANA APE CLUB)[1], NFT
                                       (524809319298696269/SOLANA APE CLUB #3)[1], NFT (561022279756698441/SOLANA APE CLUB #5)[1], SOL[0], USD[0.00]
07819337                               CUSDT[1], DOGE[502.57220063], NFT (495076198440382745/Doak Walker's Playbook: Detroit Lions vs. Cleveland Browns - December 28, 1952 #65)[1], SHIB[8754686.76967921], SOL[34.23903096], Yes
                                       USD[0.72]
07819341                               USD[0.00]

07819346                               BTC[.1939026], USD[375.38]

07819354                               USD[400.00]

07819359                               CUSDT[4], DOGE[442.5777827], LTC[3.55024156], SOL[2.1996736], USD[0.00]                                                                                                                Yes

07819362                               BF_POINT[300]

07819365                               BTC[.0322797], ETH[.042957], ETHW[.042957], SOL[3.27672], USD[3.43], USDT[3.605]

07819378        Contingent, Disputed   SOL[0.02880377]

07819379                               BTC[.0077], USD[0.27]

07819380                               SOL[0]

07819381                               USD[0.10]

07819399                               USD[0.01]                                                                                                                                                                              Yes

07819400                               BRZ[2], BTC[.00255318], CUSDT[2], TRX[1060.52929801], USD[0.01]                                                                                                                        Yes

07819412                               BAT[1], DOGE[5], ETH[.00000001], ETHW[1.48270524], GRT[13.93021748], SHIB[60619.28010569], TRX[9], USD[0.00], USDT[0]                                                                  Yes

07819427                               USD[0.01]                                                                                                                                                                              Yes

07819433                               DOGE[3.996], GRT[10.989], SHIB[1400000], SUSHI[.998], USD[1.34]

07819441                               TRX[1], USD[1093.32]                                                                                                                                                                   Yes

07819443                               BAT[1], DOGE[1], GRT[1], SHIB[1], SOL[.12420988], TRX[1], USD[0.79], USDT[.00085634]                                                                                                   Yes

07819460                               SOL[6.63336], USD[2.57]

07819462                               BF_POINT[200], NFT (344391072975053623/Entrance Voucher #2026)[1], USD[0.00], USDT[.00000001]

07819463                               USD[0.00]

07819466                               TRX[11569.419], USD[4.03]

07819478                               DOGE[1], ETH[.00000001], ETHW[0], LINK[.00000001], MATIC[0], SOL[.00000001], USD[0.00], USDT[0.00000001]                                                                               Yes

07819481                               BRZ[1], DOGE[1], NFT (381865947964253902/The Hill by FTX #8476)[1], SHIB[2], SOL[0.00001611], USD[0.00], USDT[1.01524745]                                                              Yes

07819487                               DOGE[1], USD[62.88]                                                                                                                                                                    Yes

07819492        Contingent, Disputed   USD[0.00]                                                                                                                                                                              Yes

07819493                               USD[0.35]

07819496                               BRZ[1], BTC[.03715464], CUSDT[1], DOGE[2], LINK[8.48295028], SOL[1.75003377], TRX[1], USD[0.00]                                                                                        Yes

07819520                               BTC[0.01607627], ETHW[.026], SOL[13.51741059], USD[99.53]

07819521                               USD[10.00]

07819524                               CUSDT[10], DOGE[2], USD[0.00]                                                                                                                                                          Yes

07819527                               BCH[0], BTC[0], ETH[0], SOL[0], USD[0.00], USDT[0.00000524]

07819541                               AVAX[0], BTC[0], ETH[0], MATIC[0], NEAR[0], NFT (316773194972247375/ALPHA:RONIN #1190)[1], NFT (423944125438704245/ALPHA:RONIN #733)[1], SHIB[0], SOL[0], UNI[0], USD[0.00],
                                       USDT[0], YFI[0]
07819547                               BTC[.00021686], ETH[.00363234], ETHW[3.27363234], SOL[.00789], USD[2.01]

07819550                               ETH[.001851], ETHW[.001851], SOL[.00933586], USD[0.01]

07819553                               ETH[.089582], ETHW[.089582], SOL[1.038746], USD[0.00], USDT[168.53181965]

07819568                               BTC[.00000044]                                                                                                                                                                         Yes

07819583                               ETH[.16585302], ETHW[.16548005]                                                                                                                                                        Yes

07819587                               BTC[0.00000416], USD[77495.11]

07819606                               BTC[0]

07819611                               SOL[1.21263413], SUSHI[42.957], USD[3.35]

07819616                               USD[0.00], USDT[0]

07819626                               AAVE[4.03812776], MKR[.30967684], SHIB[6952881.45075828], YFI[.02923921]                                                                                                               Yes

07819628                               USD[0.00]

07819633                               SOL[34.41440467], USD[4.14]

07819634                               USD[0.02]

07819641                               BAT[1], CUSDT[3], DOGE[3], SOL[0], TRX[1], USD[792.90]
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07819646                              NEAR[13.7], USD[0.28]

07819650       Contingent, Disputed   USD[3.08]

07819652                              SOL[0], USD[1.34]

07819660                              BRZ[1], USD[0.00]                                                                                                                                                                    Yes

07819669                              MATIC[.5535], NFT (325717983629988612/Burrito Boyz #6505)[1], NFT (452758941550950080/Coachella x FTX Weekend 1 #19347)[1], SHIB[93756], USD[0.00]

07819671                              BTC[0], SOL[0], USD[0.00], USDT[0.00006579]

07819673                              BF_POINT[100], BRZ[11.58721695], BTC[.00000246], CUSDT[86.61961438], ETHW[4.65208085], SHIB[4], USD[0.01], USDT[.00001372]                                                           Yes

07819677                              MATIC[21196.61], SOL[2058.0027], USD[17.48]

07819680                              BRZ[7.4626183], BTC[.03282652], CUSDT[258.89319705], DOGE[25.97743275], ETH[.78255215], ETHW[.78222347], SHIB[8], SOL[22.07988473], TRX[33.32906907], USD[2.83], USDT[1.06878264]    Yes

07819684                              DOGE[.1324], SHIB[15500], SOL[.000266], USD[259.37]

07819691                              ETHW[45.8680546], USD[1631.78]

07819693                              BTC[.0088], USD[3.23]

07819697                              BTC[.00000649], USD[0.01]

07819716                              AVAX[1.01618722], BAT[1], BRZ[107.62674578], CUSDT[938.58641588], DOGE[105.67767758], ETH[1.37295082], ETHW[1.37237395], GRT[44.49223811], SHIB[701397.33327729],                    Yes
                                      TRX[299.28234299], USD[0.00]
07819728                              BTC[0], MATIC[0], SOL[0], USD[0.00]

07819734                              SOL[.93]

07819735                              BTC[.00001585], ETH[.0007496], ETHW[.0007496], MATIC[2.29465882], SOL[.00000096], USD[0.00]

07819745                              DOGE[1], TRX[1], USD[0.00]                                                                                                                                                           Yes

07819752                              BRZ[1], BTC[.00000002], LTC[.01364501], USD[0.07]                                                                                                                                    Yes

07819753                              CUSDT[2], DOGE[7.00048863], SHIB[24], SOL[0], TRX[7], USD[0.00], USDT[1.00664785]                                                                                                    Yes

07819755                              BTC[0], ETH[0.00035640], SOL[0.00000001], USD[0.52], USDT[0]

07819757                              BTC[0], SOL[.00056869], USD[7.15], USDT[0], WBTC[0]

07819761                              NFT (388374619487532993/FTX - Off The Grid Miami #1359)[1]

07819763                              GRT[2.997], SHIB[18300000], SOL[59.65643], SUSHI[1.5], USD[3.59]

07819767                              USD[0.01]

07819768                              USD[100.00]

07819771                              SOL[.14735], USD[2.66]

07819773                              USD[0.00]

07819774                              ETHW[1.18793112], NFT (298925794857504898/GSW Round 1 Commemorative Ticket #506)[1], NFT (323569508653785838/Warriors Hoop #214 (Redeemed))[1], NFT (324920208683260743/GSW
                                      Western Conference Semifinals Commemorative Ticket #392)[1], NFT (402798802562330439/GSW Round 1 Commemorative Ticket #29)[1], NFT (429197889488644346/GSW Championship
                                      Commemorative Ring)[1], NFT (477463865486650412/Warriors Foam Finger #210 (Redeemed))[1], NFT (477649873908274887/GSW Western Conference Semifinals Commemorative Ticket #393)[1],
                                      NFT (569006093926359025/GSW Championship Commemorative Ring)[1], USD[2742.35]
07819777       Contingent, Disputed   USD[0.00]

07819778                              USD[0.28]                                                                                                                                                                            Yes

07819780                              ETHW[3.692304], USD[20276.04]

07819787                              BRZ[1], CUSDT[1], TRX[1], USD[0.96]                                                                                                                                                  Yes

07819790                              ETH[0], ETHW[0.00073239], MATIC[0], SOL[0], TRX[.000009], USD[0.00], USDT[0]

07819797                              CUSDT[1], DOGE[2269.76492161], TRX[1], USD[0.34]                                                                                                                                     Yes

07819802                              BTC[0], SOL[0], USD[0.00]

07819809                              SOL[.01]

07819811                              LTC[.00004732], SOL[0]

07819814                              USD[0.00]

07819822                              USD[500.00]

07819826                              BAT[17.96460598], BTC[0.00089536], ETH[0.00338851], ETHW[0.00336430], EUR[40.91], LINK[0.68186652], LTC[.29560777], SOL[0.16312866], SUSHI[3.36317830], USD[271.26],
                                      USDT[0.00047796], YFI[0.00065263]
07819840                              AVAX[4.00930066], BRZ[2], CUSDT[7], DOGE[4], ETH[.01437177], ETHW[.01419393], SHIB[4], SOL[0], TRX[3], USD[0.00]                                                                     Yes

07819841                              CUSDT[1], USD[0.00]                                                                                                                                                                  Yes

07819845       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07819846                              SOL[.26973], USD[1.56]

07819848                              USD[0.48]

07819849                              DOGE[6.83496648], USD[0.01]

07819850                              BRZ[1], BTC[.00713079], CUSDT[4], DOGE[128.32969879], ETH[.03317402], ETHW[.03317402], SHIB[583988.51562679], SOL[2.00315027], USD[0.00]

07819869                              CUSDT[1], TRX[3], USD[0.00]                                                                                                                                                          Yes

07819873                              EUR[100.00]

07819880                              USD[0.79]

07819883                              USD[0.00], USDT[0]

07819884                              USD[1.69]

07819893                              SOL[0], USD[24565.91]

07819895                              SOL[.61396334], USD[0.00]

07819896                              CUSDT[1], TRX[1236.97123645], USD[0.00]                                                                                                                                              Yes
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07819899                              USD[0.90]

07819902                              GRT[15.66], KSHIB[40], LINK[10.0899], NFT (331201236182566171/FTX - Off The Grid Miami #3013)[1], NFT (419706619677049621/Entrance Voucher #4143)[1], NFT (426816590979180709/Bahrain
                                      Ticket Stub #503)[1], NFT (445986301194022340/Romeo #1200)[1], USD[0.07]
07819908                              USD[3.21]

07819917                              ETH[.00095509], ETHW[0.00095508], USD[0.00], USDT[2.2506588]

07819918                              SOL[2.65], USD[1.37]

07819922                              BTC[0.00000504], USD[1.05], USDT[0]

07819929                              NFT (406142663703345129/Australia Ticket Stub #1315)[1]

07819933                              USD[3.22]

07819934                              USD[1.63]

07819941                              LTC[0], USD[0.00]

07819942                              AAVE[57], GRT[20000], USD[0.00], USDT[0]

07819948       Contingent, Disputed   USD[500.00]

07819951                              BTC[.09850097], USD[0.00], USDT[1.00152623]                                                                                                                                             Yes

07819953                              SOL[.05]

07819960       Contingent, Disputed   USD[2.84]

07819961                              ETH[.30329531], ETHW[0.30329530], MATIC[.00000001], SOL[.00000001], USD[0.00]

07819965                              DOGE[1], NFT (382118757212078335/146)[1], SHIB[3], USD[0.00]                                                                                                                            Yes

07819967                              BAT[2.08181347], BRZ[1], BTC[.00000051], CUSDT[5], DOGE[2], ETH[.00001014], ETHW[1.1105401], GRT[1.0030315], SOL[.00022756], TRX[3], USD[0.06]                                          Yes

07819973                              GRT[23], USD[0.15]

07819975                              BRZ[2], DOGE[5], ETHW[15.02611552], GRT[3], SHIB[11], SOL[.00000001], TRX[7], USD[0.02], USDT[0.00000001]                                                                               Yes

07819976       Contingent, Disputed   USD[0.00]

07819979       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07819981                              BTC[0], USD[3.43]

07819989                              BTC[.00098617], CUSDT[1], SOL[0]

07819993                              ETH[.000202], ETHW[0.00020200], USD[0.00]

07820000                              ETH[.000744], ETHW[.000744], USD[0.02]

07820005                              BTC[0], SOL[0], USD[0.91]

07820009                              SOL[.31], USD[0.76]

07820014                              USD[0.00]

07820023                              USD[200.01]

07820026                              DOGE[197932.91631865], ETH[10.37629399], ETHW[10.37308657]

07820035                              CUSDT[.0000348], SHIB[1920.28985507], USD[0.00]                                                                                                                                         Yes

07820047                              USD[1.24]

07820054                              USD[8.50]

07820059                              SOL[.17982], USD[1.36]

07820061                              DOGE[1], TRX[1], USD[45.20]                                                                                                                                                             Yes

07820063                              ETH[.00316407], USD[0.00]

07820064                              USDT[1.363623]

07820066                              BTC[.01036835], USD[0.00]

07820068                              BTC[0], SOL[0]

07820075                              USD[0.20]

07820076                              BTC[0], SOL[0]

07820079                              USD[50.00]

07820080                              AVAX[0], BTC[0], USD[0.00], USDT[0]

07820081                              SOL[5.60774086], USD[0.00]

07820093                              TRX[.000002], USD[0.01]

07820099                              BTC[0], TRX[185], USD[230.22]

07820101                              BRZ[1], CUSDT[1], ETH[.00662217], SHIB[5], SOL[.0000041], USD[8.52]                                                                                                                     Yes

07820102                              SOL[.00635485], USD[0.00]

07820110                              BAT[1], CUSDT[4], ETH[0], TRX[2], USD[0.00]

07820114                              BTC[.0010463], DOGE[1], ETH[.01555299], LTC[1.00575151], SHIB[2], USD[29.99]                                                                                                            Yes

07820124                              USD[0.70]

07820126                              BTC[.00002323], LTC[.00072695], USD[7.10]

07820129                              SOL[0], USD[0.00]

07820133                              NFT (410587797701461006/FTX - Off The Grid Miami #7497)[1], NFT (555559554767128499/Entrance Voucher #29352)[1]

07820136                              BAT[2.0596542], BRZ[1], BTC[.03510991], CUSDT[5], DOGE[2], SOL[.00114155], TRX[6], USD[0.00], USDT[2.15005405]                                                                          Yes

07820137                              SOL[0], USD[0.33], USDT[0], WBTC[0]

07820138                              ETH[.01244], ETHW[0.01244000], NFT (399145435451924849/Sixboo)[1], NFT (536813934618238711/Characters)[1], SOL[.09320368], USD[8.52]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07820140                              BTC[.97617503], ETH[4.41814686], ETHW[4.41814686], SOL[3.74382582]

07820151                              USD[1.14]

07820161                              GRT[.55221234], USD[2.65]

07820163                              SHIB[37479.08745246], USD[0.00]

07820170                              USD[100.00]

07820171                              USD[0.01]

07820186                              SHIB[1], USD[0.00]                                                                                                                                                                        Yes

07820187                              ETH[.003], ETHW[.003], USD[0.01]

07820189                              SOL[.008821], USD[2.01]

07820190                              ALGO[0], AVAX[.000012], BTC[.00000001], NEAR[.00005414], SHIB[17216.83243243], TRX[1.00359731], USD[0.00], USDT[0.00000001]                                                               Yes

07820191                              DOGE[1], ETH[.06145341], ETHW[.06068886], SOL[2.00739985], TRX[1], USD[0.01]                                                                                                              Yes

07820193                              USD[2.80]

07820194                              USD[3.94]

07820195                              USD[0.19], USDT[0.00000001]

07820197                              ETH[.00000207], LINK[.0000646], MATIC[.00057127], NEAR[.00015412], SHIB[6], TRX[2], USD[1946.77]                                                                                          Yes

07820209                              ETH[0], USD[0.01]

07820213                              SHIB[3445305.77088716], TRX[1], USD[300.01]

07820219                              USD[33.30]

07820226                              USD[100.00]

07820227                              BTC[0], ETH[0], MATIC[0], USD[0.00]

07820231                              DOGE[24], USD[0.06]

07820238                              NFT (539836001699568843/GSW Western Conference Semifinals Commemorative Ticket #1017)[1], NFT (561199236689674103/GSW Western Conference Finals Commemorative Banner #2286)[1],
                                      USD[0.00]
07820239                              ETH[.00000001], SOL[.00000001], USD[0.00], USDT[0.00000001]                                                                                                                               Yes

07820247                              AAVE[0], BAT[3.15543634], BRZ[3], BTC[0], CUSDT[11], DOGE[101.21195336], ETH[0], GRT[3.04187692], LINK[.00001378], MKR[0], SHIB[1], SOL[0], SUSHI[1.0280012], TRX[17.97185301], UNI[0],   Yes
                                      USD[0.00], USDT[0]
07820250                              EUR[8041.01], NFT (371032914941840792/Entrance Voucher #2056)[1], USD[0.95]

07820251                              USD[0.00], USDT[0.00000147]

07820252                              BTC[.0397822], ETH[.44378105], ETHW[.44378105], GRT[317.682], LINK[69.6372], MATIC[79.92], MKR[.136863], SHIB[11300000], SOL[.98901], USD[1.08]

07820253                              CUSDT[5], MATIC[39.42492812], SOL[1.12847293], TRX[1], USD[0.00]                                                                                                                          Yes

07820255                              CUSDT[1], ETH[.01623286], ETHW[.01602766], SOL[.70039021], USD[0.28], USDT[1.09707549]                                                                                                    Yes

07820260                              CUSDT[3], SHIB[4875.67040468], SOL[.10896272], TRX[2], USD[0.00]                                                                                                                          Yes

07820263                              USD[20.00]

07820277                              NFT (291553689396010192/Fallen Traveler #46)[1], NFT (351447230924771479/MagicEden Vaults)[1], NFT (354449626913236683/Fallen Traveler #27)[1], NFT (376664407452800163/Fallen Traveler
                                      #951)[1], NFT (406892234881853103/MagicEden Vaults)[1], NFT (413111169600237763/Fallen Traveler #962)[1], NFT (432515200529219659/MagicEden Vaults)[1], NFT
                                      (440170619364596906/MagicEden Vaults)[1], NFT (505376133106738950/Fallen Traveler #973)[1], NFT (525335839650745635/Fallen Traveler [Halloween Edition])[1], NFT
                                      (539033070523397020/Fallen Traveler #42)[1], NFT (547560692695153509/MagicEden Vaults)[1], NFT (559661676516631815/Fallen Traveler #31)[1], TRX[.000001], USD[0.00], USDT[0.00000067]

07820281                              PAXG[.0000887]

07820291                              TRX[.000001], USDT[1.4083095]

07820299                              SOL[.0007338], USD[0.00]

07820306                              LTC[.00333], SOL[0.00000144]

07820307                              DOGE[1], SOL[.00000001], TRX[2], USD[0.00]                                                                                                                                                Yes

07820309                              BRZ[5.07952967], CUSDT[1], DOGE[6.01604926], MATIC[0], TRX[7], USD[0.00], USDT[2.10065158]                                                                                                Yes

07820310                              BF_POINT[100], BRZ[1], CUSDT[1272.73239989], DOGE[306.99690285], ETH[.05565903], ETHW[.05496795], NFT (344613734164869858/Australia Ticket Stub #1503)[1], SHIB[710453.53103178],         Yes
                                      SOL[.49293066], SUSHI[15.04408453], TRX[117.59047081], USD[0.01]
07820315                              USD[0.00]

07820321                              USD[0.00]

07820322                              SOL[0.00613884], USD[0.00]

07820326                              ETHW[.23079601], SHIB[12], USD[0.06]                                                                                                                                                      Yes

07820329                              BTC[0], ETH[0.00000001], SOL[0], USD[0.00], USDT[.68467038]

07820330                              USD[0.00]

07820338                              USD[0.59]

07820340                              TRX[.000001]

07820344                              CUSDT[2], ETH[.0363628], ETHW[.03591136], USD[0.00]                                                                                                                                       Yes

07820345       Contingent, Disputed   BTC[0], ETH[0], PAXG[0]                                                                                                                                                                   Yes

07820346                              CUSDT[1], DOGE[45.20622403], SHIB[319493.36120329], TRX[93.85421769], USD[21.95]                                                                                                          Yes

07820349                              USD[500.00]

07820351                              BTC[0], ETH[0], LINK[0], MATIC[0], SOL[0], USD[0.00]

07820355                              DOGE[.955], ETHW[.363146], NFT (542343194217688173/Entrance Voucher #3516)[1], USD[0.01]

07820362                              USD[0.52]

07820363                              USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07820366                           BTC[.01112759], SHIB[1], SOL[.0003982], USD[-120.00]                                                                                                                                      Yes

07820373                           USD[0.49]

07820379                           BF_POINT[300], USD[3.54]

07820387                           BTC[.01404086], CUSDT[11], DOGE[1], ETH[.12185922], ETHW[.12068876], KSHIB[1436.42073502], SHIB[13435700.60551084], SOL[.40913142], USD[0.03]                                             Yes

07820393                           BTC[0], ETH[0], ETHW[0], LINK[0], USD[0.26]

07820395                           CUSDT[1], USD[0.01]

07820403                           NFT (325369215568376488/Entrance Voucher #7539)[1]

07820406                           ETHW[1.95541737], LINK[282.13673957]                                                                                                                                                      Yes

07820409                           ETHW[3.00035143], TRX[.000003], USD[0.00], USDT[0]                                                                                                                                        Yes

07820412                           SOL[.1730881], USD[0.00]

07820419                           USD[4.99]

07820426                           ETH[0.00018751], ETHW[0], SOL[.00075761], USD[0.00], USDT[0.00000910]                                                                                                                     Yes

07820441                           BTC[.0000255], USD[0.39]                                                                                                                                                                  Yes

07820442                           AVAX[.08457016], ETH[0], PAXG[0], USD[0.01], USDT[0]

07820444                           DOGE[1], USD[0.00]

07820448                           BCH[0], BTC[0], ETH[0], SUSHI[0], USD[0.00], USDT[0]                                                                                                                                      Yes

07820449                           CUSDT[1], USD[0.01], USDT[0]                                                                                                                                                              Yes

07820450                           USD[0.01]

07820454                           USD[85.53]

07820460                           NFT (468050302755620942/Cyber Frogs Ramen)[1]

07820474                           USD[1000.00]

07820476                           AAVE[0], ALGO[0], AVAX[0], ETH[0], ETHW[0], LINK[150.26538260], LTC[0], MATIC[0], PAXG[9.30356266], SHIB[1], TRX[1], UNI[0], USD[0.00], USDT[0.00000222]                                  Yes

07820478                           ETH[.00540592], ETHW[.66040592], USD[0.00]

07820481                           USD[0.00]

07820484                           BTC[.0000209], LINK[.0330646], SOL[.00655316], USD[18.65]                                                                                                                                 Yes

07820485                           BTC[.00709427], NEAR[8.4], SOL[2.3852042], USD[0.11]

07820493                           CUSDT[2], DOGE[340.19214351], USD[5.55]                                                                                                                                                   Yes

07820494                           CUSDT[3], ETHW[.0673185], USD[0.58]                                                                                                                                                       Yes

07820501                           USD[16.48]

07820517                           BTC[0], ETHW[.159], USD[180.48]

07820524                           ETH[.029], ETHW[.029], USD[2.76]

07820525                           BTC[.00643415], USD[0.00]

07820530                           ETH[0], USDT[.8485744]

07820543                           ETH[0], USD[0.00], USDT[0.00000001]

07820548                           BAT[1], BTC[0], SOL[0.00000001], USD[0.00], USDT[0.00000042]                                                                                                                              Yes

07820552                           BTC[0], MATIC[0], TRX[.000022], USD[0.00]

07820556                           CUSDT[1], SOL[.68151544], USD[0.00]                                                                                                                                                       Yes

07820564                           USD[8.04]

07820569                           NFT (294848554251851426/Cool Bean #4914)[1]

07820578                           USD[0.00]

07820585                           SOL[.32], USD[0.08]

07820586                           USD[10.00]

07820591                           BAT[1], BRZ[2], GRT[1], LINK[.00138011], SHIB[4], SUSHI[1.03194227], TRX[4], USD[0.89], USDT[0.00000001]                                                                                  Yes

07820599                           CUSDT[2], SOL[1.36357966], USD[0.03]                                                                                                                                                      Yes

07820600                           CUSDT[1], NFT (293798830623177675/LightPunk #6344)[1], NFT (304096817253195142/SOMETHING)[1], NFT (312994356111293111/Eitbit Ape #7143)[1], NFT (352884702397647481/Earl                   Yes
                                   Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #76)[1], NFT (360434222707657564/Earl Campbell's Playbook: Rice vs. Texas - October 1st, 1977 #71)[1], NFT
                                   (420838611031031986/Earl Campbell's Playbook: Rice vs. Texas - October 1st, 1977 #70)[1], NFT (429909110267709648/Block Chain)[1], NFT (432291964244201217/Moment of Death (2021))[1], NFT
                                   (467496187158642410/Mech #4175)[1], NFT (491316503402038174/Sigma Shark #3905)[1], NFT (528775909937075965/Earl Campbell's Playbook: Texas vs. Houston - November 5th, 1977 #59)[1],
                                   NFT (539253110890991439/Egg #0008 - Fresh Water)[1], SOL[.15933615], TRX[1], USD[0.00]
07820605                           SOL[0.00005181], USD[0.00]

07820610                           BTC[.0024032]                                                                                                                                                                             Yes

07820611                           BTC[0.19582280], ETH[3.73875811], ETHW[2.93875811], USD[0.94]

07820616                           MATIC[1.07249606], USD[0.00]

07820622                           BTC[.00503004], ETH[0.24250000], ETHW[4.99750000], SOL[67.08527341], USD[196.99], USDT[0.00019197]

07820627                           USD[4.00]

07820631                           AVAX[13.28803], GRT[2132.0794], KSHIB[2827.453], LINK[83.02521], MATIC[1798.461], NEAR[19.982], SHIB[33569760], SOL[27.864899], SUSHI[263.7624], USD[369.94]

07820634                           USD[0.00], USDT[0]

07820639                           BTC[.00034788], DOGE[2], SHIB[1], TRX[2], USD[0.03], USDT[0]                                                                                                                              Yes

07820642                           CUSDT[2], USD[0.00]                                                                                                                                                                       Yes

07820643                           CUSDT[1], SOL[1.58619625], USD[0.00]                                                                                                                                                      Yes
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07820647                           AAVE[0], BCH[0], BTC[0], DOGE[0], ETH[0], ETHW[0], MKR[0], SOL[0], UNI[0], USD[0.01]                                                                                            Yes

07820648                           SOL[1.34], USD[0.06]

07820650                           USD[0.00]

07820658                           DOGE[2], USD[0.01]                                                                                                                                                              Yes

07820667                           ETH[0], SOL[0], USD[0.00]

07820674                           USD[0.00], USDT[0]

07820678                           ALGO[19.5618], AVAX[3.9594], BTC[.0281578], DOGE[43.629], ETH[.073], ETHW[.1503978], GRT[1408.7266], LINK[20.9522], SOL[2.39496], USD[8.13], USDT[.6856177]

07820680                           ETH[0]

07820687                           USD[0.00], USDT[0.10000236]

07820689                           USD[50.00]

07820696                           SHIB[8990820], USD[0.92]

07820697                           BAT[0], CUSDT[3], DOGE[0], LTC[.12213588], TRX[0]                                                                                                                               Yes

07820699                           BTC[0], USD[0.00]                                                                                                                                                               Yes

07820703                           USD[1.56]

07820708                           USD[250.00]

07820710                           AVAX[1.44867160], CUSDT[2], ETH[.11370838], ETHW[.11259237], MATIC[13.97199444], NFT (329678977903840309/FTX - Off The Grid Miami #5613)[1], NFT (443885373997809137/Entrance   Yes
                                   Voucher #3817)[1], NFT (572704522885157926/Saudi Arabia Ticket Stub #1803)[1], SHIB[1], SOL[.00000234], USD[122.07]
07820714                           USD[0.01]

07820731                           BTC[.00002344]

07820738                           AUD[0.00], DOGE[0], LTC[0], USD[0.00]                                                                                                                                           Yes

07820740                           ETH[0], NFT (338626669528242567/Imaginary Planetscapes)[1], NFT (414979963972271296/Faraway Lands)[1], NFT (494290965994252398/Imaginary Planetscapes #2)[1], USD[0.00],
                                   USDT[0.05509232]
07820749                           SOL[0], USD[0.00]

07820754                           KSHIB[0], MATIC[919.78961853], SUSHI[.4825], USD[1.27]

07820755                           SOL[0.00000054], SUSHI[0]

07820764                           USD[0.00]

07820768                           USDT[.57728428]

07820769                           BTC[.00232542], DOGE[834.06611933], SHIB[430940.70952833], SOL[1.40409389]                                                                                                      Yes

07820773                           USD[0.00]                                                                                                                                                                       Yes

07820774                           SOL[.00000001], USD[1.37]

07820775                           NFT (293640553001875112/DOGO-IN-500 #6953)[1]

07820784                           BTC[.0132919], ETH[.63192395], ETHW[.63192395], MATIC[200], USD[2.12]

07820794                           BTC[.00008979], ETH[.00053841], ETHW[.00053841], SHIB[1], USD[0.00]                                                                                                             Yes

07820799                           CUSDT[3], SOL[.11357265], USD[0.00]

07820803                           USD[0.00]

07820804                           KSHIB[0], TRX[172.41125706]

07820809                           DOGE[.999], USD[0.00]

07820819                           BTC[0.00001648], ETH[.00000001], ETHW[0], GBP[0.00], SOL[.01000002], USD[0.00], USDT[0.00000001]

07820829                           USD[2.81]

07820843                           TRX[.000066], USD[0.00], USDT[0.00007335]

07820846                           AUD[34.70], CUSDT[5], GRT[.2698555], KSHIB[253.85671819], MATIC[6.00195095], SUSHI[.02010142], TRX[1], USD[34.26], USDT[0.64027827]

07820852                           BTC[0], USD[27102.79]

07820861                           ETH[0], USD[0.00]

07820869                           CUSDT[2], SOL[.00000959], USD[0.09]                                                                                                                                             Yes

07820871                           BTC[0.00000001], DOGE[.00000001], LTC[0], USD[0.00]

07820872                           USDT[1.6285185]

07820873                           CUSDT[6], DOGE[2], ETH[.16999076], ETHW[.16969626], LINK[3.81200156], LTC[2.2095693], SOL[2.98460072], SUSHI[33.30483663], TRX[3], UNI[4.41746393], USD[219.56]                 Yes

07820877                           NFT (479463780605882490/Jakes Life)[1], SOL[.089]

07820885                           USD[4.54]

07820889                           BTC[.00000763]

07820893                           BRZ[1], SHIB[1], USD[0.01], USDT[1.07903290]                                                                                                                                    Yes

07820899                           BAT[130], BTC[0.00005922], SOL[6.944435], USD[1.67]

07820905                           CUSDT[2], DOGE[447.89717735], KSHIB[9419.5064744], MATIC[96.09746111], NFT (300120079391526629/Entrance Voucher #3322)[1], TRX[1], USD[0.00]                                    Yes

07820908                           BAT[1], CUSDT[6], DOGE[5], ETHW[1.42575673], SHIB[6], SOL[.00034528], TRX[5], USD[2229.94], USDT[1.02533667]                                                                    Yes

07820912                           BTC[.00011389], USD[0.47]                                                                                                                                                       Yes

07820920                           BAT[1.00241378], BRZ[2], CUSDT[2], DOGE[2], GRT[1], SOL[31.9339337], TRX[3], USD[24.58], USDT[1.08173447]                                                                       Yes

07820925                           USD[0.18]

07820928                           BTC[0.00000491], ETH[0.00007175], ETHW[2.12907175], USD[0.00], USDT[0]

07820932                           BF_POINT[200], BRZ[1], BTC[0.01981188], CUSDT[1], DOGE[1], ETH[0], ETHW[0], SHIB[6], TRX[2.001471], USD[0.00], USDT[0]                                                          Yes
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07820941                           ETH[0.00193085], ETHW[0.00193085], NFT (301814729959110665/Hal Apex CEO Edition)[1], NFT (321082998368065374/Hal CEO Edition Red)[1], NFT (373268971477858221/Hal Wraith Edition)[1],
                                   NFT (381336042292323761/Hal Freeze Edition)[1], NFT (491807298963915772/Hal Valkyrie Edition )[1], NFT (506406521035595808/Hal Predator Edition )[1], NFT (544078384085149657/Hal)[1],
                                   USD[0.00]
07820944                           USD[0.02]

07820949                           USD[6.65]

07820957                           USD[21.62]                                                                                                                                                                               Yes

07820958                           NFT (419192637633881428/Australia Ticket Stub #2463)[1], NFT (524479852271598055/FTX - Off The Grid Miami #908)[1]

07820959                           BAT[339.75946298], BTC[.04101636], ETH[.29290445], ETHW[.30290445], GRT[72.94543436], LINK[3.08903034], SOL[.65295902], USD[0.00]

07820961                           SOL[6.49]

07820967                           USD[0.02]

07820970                           USD[0.00]                                                                                                                                                                                Yes

07820978                           BTC[0.00003066], SOL[0]

07820979                           USD[32.93]                                                                                                                                                                               Yes

07820981                           BTC[.00041792], ETH[.00502308], ETHW[.00502308], SOL[.10247291], USD[0.00]

07820992                           BRZ[1], ETH[.04163791], ETHW[.04111807], USD[0.00], USDT[1.0831185]                                                                                                                      Yes

07820993                           LINK[100.40955], USD[2701.54]

07820994                           BTC[.00003762], ETH[.0007538], ETHW[.000373], MATIC[.1314], USD[137.27]

07820996                           BTC[.00453578], CUSDT[1], ETH[.02105023], ETHW[.02105023], SOL[1.6214804], TRX[2], USD[0.00]

07821004                           BTC[.02566221], ETH[.00000001], USD[1.82]

07821025                           USD[10.00]

07821032                           USD[0.80]

07821034                           ETH[0], SOL[.00000001], USD[0.68]

07821047                           NFT (310188440836386539/Alien)[1], USD[2.26]

07821048                           USD[0.01]                                                                                                                                                                                Yes

07821051                           USD[0.26]

07821059                           BF_POINT[300], CUSDT[5], DOGE[2], TRX[1], USD[0.03]                                                                                                                                      Yes

07821063                           BRZ[1], DOGE[1], USD[0.01]

07821072                           NFT (288289462361621244/BREADWINNER)[1], USD[1.21]

07821074                           BTC[.00001643], USD[0.00]                                                                                                                                                                Yes

07821078                           BTC[0.00003058], USD[1.62]

07821079                           USD[0.23], USDT[0]

07821082                           TRX[8770.646401]

07821089                           BRZ[1], DOGE[8.00909796], ETH[.00000818], ETHW[.0000081], LINK[.00013134], MATIC[.00029292], SHIB[85], SOL[.00014247], TRX[12], USD[198.64]                                              Yes

07821090                           BTC[.00923649]                                                                                                                                                                           Yes

07821096                           ETHW[.0001089], USD[0.24]

07821100                           USDT[1.389998]

07821103                           SHIB[1], TRX[1], USD[0.00], USDT[0.00000928]                                                                                                                                             Yes

07821105                           USD[1.38]

07821114                           USD[1.28]

07821116                           ETH[.00000001], ETHW[0], USD[0.00], USDT[0.00000144]

07821124                           ETHW[1.0134889], USD[5012.07]

07821126                           USD[1.31]

07821130                           ETHW[1.78619358], MATIC[2.18723936], USD[0.00]

07821132                           BRZ[2], DOGE[7], ETH[.00000021], ETHW[.00000021], MATIC[.00029042], SHIB[6], TRX[7], USD[0.00]                                                                                           Yes

07821137                           BF_POINT[100], USD[548.41]                                                                                                                                                               Yes

07821138                           DOGE[1], SOL[3.15859994], USD[0.00]

07821150                           AVAX[16.68787], BTC[.06511793], ETH[2.35481115], ETHW[2.35481115], MATIC[6], SOL[10.0946], USD[26.77]

07821158                           MATIC[0], USD[0.00]

07821167                           USD[10.00]

07821169                           NFT (343646002699146920/Sit, Picasso, Sit )[1], NFT (432305511298848233/Oddly Human Dogs #2)[1], NFT (440173805270129054/I Wore This to the Met Gala )[1], NFT
                                   (442041017005853085/Oddly Human)[1], NFT (511153235830694347/Oddly Human Dogs)[1], NFT (533678613908773213/Molly Dog's Still Life)[1], NFT (568287403273797614/Pawllock )[1], NFT
                                   (576409770578988372/Charlie Contemplates Negative Space)[1], SOL[9.49182355], USD[40.01]
07821191                           NFT (497472065797292719/Infinity #14)[1], USD[0.00]

07821193                           DOGE[1.598], USD[0.00], USDT[.2700348]

07821197                           CUSDT[3], DOGE[1], NFT (453383150358286156/Entrance Voucher #2366)[1], SHIB[695367.70489258], TRX[2], USD[0.02]                                                                          Yes

07821199                           USD[8.21], USDT[29.85011986]

07821201                           SOL[.1], USDT[8.7150182]

07821205                           DOGE[2056.36672901], USD[0.01]

07821207                           BTC[0.00008114], DOGE[0], ETH[0], ETHW[0.00073067], LINK[0], MATIC[0], SOL[0], SUSHI[0], UNI[0], USD[0.00], USDT[415.77734870]

07821213                           CUSDT[5], DOGE[2], LINK[0], SUSHI[0], TRX[1], USD[0.00]                                                                                                                                  Yes
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07821214                              AVAX[53.1468], USD[102.59]

07821217                              EUR[0.00], USD[0.00]

07821218                              DOGE[5.994], SOL[0], USD[0.20]

07821227                              AAVE[2], ETH[.515], ETHW[.515], SOL[60.39], USD[1.62]

07821228                              CUSDT[12], DOGE[2], USD[2.15]                                                                                                                                            Yes

07821229                              USD[404.00]

07821244                              BF_POINT[200], BTC[.03341751], SOL[128.36303919], UNI[63.79515007], USD[0.01], USDT[0]                                                                                   Yes

07821245                              ETH[.00089005], ETHW[.00089005], SOL[.00681], USD[497.70]

07821265                              BAT[.09250681], USD[0.00]                                                                                                                                                Yes

07821268                              BTC[.00415039], LINK[81.1], SOL[1], USD[0.01], USDT[0]

07821279                              BTC[0], USD[25000.00]                                                                                                                                                    Yes

07821284                              USD[4.57]

07821286                              BTC[.0013], USD[0.72]

07821288                              ETH[.00130745], ETHW[.14990785], USD[0.00], USDT[0]

07821289                              NFT (456350328950173853/Australia Ticket Stub #860)[1]                                                                                                                   Yes

07821302       Contingent, Disputed   ETH[.00000001], USD[0.00], USDT[0]                                                                                                                                       Yes

07821306                              USD[0.11]

07821313                              USDT[0]

07821318                              USD[0.20]                                                                                                                                                                Yes

07821319       Contingent,            ETHW[.05613865], MATIC[5.430629], SOL[.11700102], USD[0.46]
               Unliquidated
07821322                              BAT[1], BRZ[3], BTC[.26475298], DOGE[2], GRT[450.23054507], SHIB[7], TRX[1], USD[7947.81], USDT[1.02543197]                                                              Yes

07821335                              AAVE[0], ALGO[0], BAT[0], BRZ[2], CUSDT[2], DOGE[5], ETH[0], MATIC[0], NEAR[0], NFT (357116199520812698/#1873)[1], NFT (409989306366208677/#1564 Inverse Bear)[1], NFT   Yes
                                      (441044497092456326/Marilyn Monroe Painting #3)[1], NFT (516718351830840590/SolDad #5451)[1], PAXG[0], SHIB[1], SOL[0], SUSHI[0], TRX[6], USD[0.31], USDT[0.45125187]
07821336                              USD[0.00]

07821339                              USD[0.00]                                                                                                                                                                Yes

07821342                              BTC[.03]

07821345                              BTC[0], MATIC[0], SOL[0], USD[0.00], USDT[0.00017851]

07821351                              BRZ[1], BTC[.03664598], DOGE[2], LINK[1.01318196], SHIB[26], TRX[9], USD[0.00]                                                                                           Yes

07821366                              BRZ[2], CUSDT[8], GRT[16.59721408], KSHIB[167.68049852], SHIB[1], USD[0.00]                                                                                              Yes

07821369                              BF_POINT[200], USD[0.31]                                                                                                                                                 Yes

07821373                              USD[0.40]                                                                                                                                                                Yes

07821374                              USD[0.01]

07821381                              USD[0.00]

07821383                              BAT[37.55030492], CUSDT[3], SOL[.06806303], SUSHI[2.26784872], TRX[106.49246626], USD[8.73]                                                                              Yes

07821387                              USD[0.00]

07821398                              BTC[.01132092], DOGE[1], USD[0.01]                                                                                                                                       Yes

07821399       Contingent, Disputed   AUD[0.00], USDT[0.00000071]

07821400                              USD[2.04]

07821402                              USD[76.19]                                                                                                                                                               Yes

07821404                              ETHW[.149865], USD[1100.73]

07821413                              BAT[1.00896218], DOGE[3], GRT[1.00076532], MATIC[.00037284], TRX[2], USD[4.79]                                                                                           Yes

07821416                              ETH[.103896], ETHW[.103896], USD[2.48]

07821418                              USD[0.00]

07821419                              SOL[0]

07821423                              USD[111.00]

07821434                              BTC[0.00001968], DOGE[.0486], ETHW[.00027505], SOL[.00832965], TRX[.199364], USD[0.27]

07821436                              CUSDT[1], ETH[.2305374], ETHW[.23033142], TRX[1], USD[0.00]                                                                                                              Yes

07821439                              BAT[1.00443902], BTC[.00000101], CUSDT[1], SHIB[1], USD[0.00]                                                                                                            Yes

07821447                              USD[0.19]

07821448                              USD[66.04]

07821459                              ETHW[.063936], USD[3134.07]

07821460                              USD[0.44]

07821462                              USDT[0.00000124]

07821467                              BTC[.03766852], DOGE[0], SHIB[37], TRX[3], USD[-14.99]                                                                                                                   Yes

07821475                              ETH[0.00096968], ETHW[0.00096968], USD[0.90], USDT[.4206914]

07821476                              BTC[.00380036], CUSDT[3], SOL[3.87597936], USD[0.21]                                                                                                                     Yes

07821483                              AAVE[0], BRZ[2], BTC[0], ETHW[1.34412321], SHIB[24], TRX[6], USD[0.00]                                                                                                   Yes

07821485                              SOL[.00789643], USD[3.28]

07821487                              USD[0.00]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07821490                           NFT (397877554969524143/Poker Players)[1], USD[4.64], USDT[0]

07821502                           CUSDT[2], TRX[168.71292955], USD[0.00]

07821511                           SOL[.27972], USD[1.15]

07821513                           USD[0.37]

07821519                           USD[1.01]

07821522                           BTC[.1101902], MATIC[217.8], USD[1.70]

07821525                           USD[0.00]

07821528                           AAVE[.94907154], DOGE[1], GRT[1], LINK[15.65796361], MATIC[1.00126101], UNI[26.94497531], USD[0.01]                 Yes

07821531                           USD[5000.00]

07821532                           BRZ[1], TRX[1], USD[0.07], USDT[.00451278]                                                                          Yes

07821537                           BRZ[2], BTC[.00003771], CUSDT[1], ETH[0], TRX[1], USD[0.01]

07821542                           ETHW[1.8996746]                                                                                                     Yes

07821571                           BAT[1], ETH[0], SHIB[1], SOL[0]                                                                                     Yes

07821577                           USD[2.02]

07821584                           SHIB[1], TRX[1], USD[0.00]                                                                                          Yes

07821589                           AUD[1.00]

07821591                           ETH[.00000001], ETHW[0], USD[25001.00], USDT[0]

07821616                           ETHW[1.743255], NFT (311385427553815450/Entrance Voucher #21675)[1], USD[27.06]

07821623                           USD[0.01]                                                                                                           Yes

07821628                           USD[3.73]

07821639                           ETH[.00000001], NFT (441674506456651068/Miami Ticket Stub #376)[1], SOL[.00000001], USD[0.98], USDT[.003044]

07821646                           AAVE[.00000001], BRZ[1], CUSDT[3], DOGE[1], SOL[0], TRX[2], USD[0.04], USDT[2.14612778]                             Yes

07821647                           USD[1.54]

07821652                           USD[2.20]

07821653                           SOL[.00000001], USD[579.03], USDT[0]

07821656                           BAT[1], SOL[32.52338096], SUSHI[1], USD[0.00]

07821657                           BTC[0], ETH[.001936], ETHW[.001936], SOL[0], USD[0.00], USDT[0]

07821667                           LTC[.00558], USD[0.03]

07821671                           SHIB[3197120], SOL[.00000001], USD[2.88]

07821675                           USD[4.96]

07821680                           ETHW[.30434674], GRT[0], LINK[0], SOL[0], USD[0.81]                                                                 Yes

07821681                           TRX[1], USD[0.45]                                                                                                   Yes

07821692                           USD[0.01]

07821711                           DOGE[.00574747], SHIB[231588.69847151], USD[99.70]

07821712                           USD[20.00]

07821716                           SOL[0]

07821724                           USDT[0]

07821739                           BTC[0.00008979], SOL[.0034]

07821741                           CUSDT[36.20382739], USD[0.00]                                                                                       Yes

07821745                           BTC[.0753246], MATIC[19.98], USD[5.61]

07821746                           USD[21.51]                                                                                                          Yes

07821757                           BTC[0], ETH[0], ETHW[0.26362250], GRT[1], NFT (393685028895659579/Entrance Voucher #2457)[1], SHIB[4], USD[70.22]   Yes

07821760                           USD[0.00], USDT[1.81225969]

07821776                           CUSDT[3], DOGE[1], SHIB[4], TRX[1], USD[0.02], USDT[0]                                                              Yes

07821783                           ALGO[0], USD[0.00]

07821792                           BTC[0], ETH[0.00039844], ETHW[0.00039844], SOL[0.00156900], USD[19.22]

07821802                           USD[44.34], USDT[0]                                                                                                 Yes

07821810                           USD[0.00]

07821816                           SHIB[51500000], USD[162.89]

07821819                           BTC[0], USD[0.00]

07821830                           USD[0.00]

07821842                           ETHW[53.47813751], USD[21.83]

07821849                           USD[0.00], USDT[0]                                                                                                  Yes

07821851                           USD[0.01]

07821876                           BRZ[1], BTC[.0025313], CUSDT[4], DOGE[375.63174895], SHIB[2415302.61184328], USD[0.02]                              Yes

07821877                           USD[11.51]

07821880                           USD[25.00]

07821890                           USD[1.99]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07821899                              USD[300.00]

07821908                              TRX[1], USD[0.00]

07821912                              BTC[0], ETH[0], SOL[0], USD[0.00]

07821913                              BTC[.0017918], CUSDT[1], DOGE[1], ETH[.01362808], ETHW[.01362808], SOL[.30039371], TRX[1], USD[0.00]

07821915                              USD[0.32]

07821933                              USD[0.01]

07821945                              SOL[3.09], USD[1.53]

07821946       Contingent, Disputed   ETH[0], MATIC[.00000001], SOL[0], USD[0.00]

07821951                              USD[0.60], USDT[0]

07821968                              BTC[.00109901], DOGE[99.91], ETH[.0149865], ETHW[.0069937], MATIC[34.9685], SHIB[2797480], SOL[.929163], USD[0.10]

07821973                              ETH[0.00923718], ETHW[0], SOL[0.20041663], USD[0.08], USDT[0]

07821983                              BTC[.00002944], NFT (344752376829575199/Humpty Dumpty #669)[1], NFT (489759936620500832/Microphone #168)[1], NFT (543753439723210014/Australia Ticket Stub #80)[1], SOL[.00150058],
                                      USD[1.18]
07821988                              SOL[0]

07821990                              BRZ[2], CUSDT[1], DOGE[4.25381636], ETH[.00000234], ETHW[.25598629], SHIB[1], SUSHI[.00019901], TRX[2], USD[0.00]

07821991                              USD[0.01]

07821998                              BAT[1.01594037], BRZ[1], TRX[1], USD[0.02]                                                                                                                                            Yes

07822002                              AAVE[1.25753614], ALGO[326.04152789], AVAX[5.41679771], BAT[291.63731282], BCH[.01955144], BF_POINT[100], BTC[.00018007], CUSDT[74.57292511], DOGE[1516.06503449], ETH[.0026117], Yes
                                      ETHW[1.5425789], GRT[924.63842331], KSHIB[8691.89382184], LINK[15.57104252], LTC[.05227165], MATIC[83.29814174], MKR[.00382465], NEAR[26.90918015], PAXG[.00601786],
                                      SHIB[10495737.20829833], SOL[3.19182195], SUSHI[85.21304662], TRX[15.01398236], UNI[5.61786201], USD[0.00], WBTC[.00100169], YFI[.00031873]
07822014                              USD[0.16]

07822024                              SHIB[99905], USD[0.00]

07822028       Contingent, Disputed   USD[0.00]

07822035                              TRX[45.12466627]                                                                                                                                                                      Yes

07822036                              BCH[.000982], BTC[.0002525], ETH[.002237], ETHW[.002237], LINK[.2727], SHIB[34629400], SOL[13.7805], USD[6.40]

07822062                              SOL[0], USD[0.72]

07822079                              TRX[.0030869]                                                                                                                                                                         Yes

07822085                              USD[0.00]                                                                                                                                                                             Yes

07822087                              CUSDT[1], SOL[.00000001], USD[0.00]                                                                                                                                                   Yes

07822092                              DOGE[4787], USD[383.44]

07822098                              BCH[.01097297]                                                                                                                                                                        Yes

07822099                              SOL[.0108309], USD[0.00]

07822109                              DOGE[1], SOL[1.02115628], USD[0.00]

07822110                              USD[2.06]

07822112                              BTC[.00000054], ETH[.00000216], GRT[1], USD[31.77], USDT[0]                                                                                                                           Yes

07822116                              BTC[.0589], USD[1386.41]

07822121                              DOGE[2], TRX[1], USD[2275.01]

07822123                              SOL[2.49775], USD[87.60]

07822146                              MATIC[37.46584894], USD[0.00]

07822150                              SOL[.15101112], USD[0.00]

07822153                              USD[0.01]                                                                                                                                                                             Yes

07822156                              SHIB[1], USD[0.00]                                                                                                                                                                    Yes

07822158                              SOL[0], USD[0.00]

07822165                              USD[0.00]

07822170                              CUSDT[2], TRX[2], USD[0.00]                                                                                                                                                           Yes

07822172                              USD[0.00]

07822173                              DOGE[.01314897], ETHW[1.04977085], MATIC[174.01927979], SHIB[74971301.02810677], SUSHI[54.75377042], USD[0.00]                                                                        Yes

07822176                              BTC[.00307067], CUSDT[3], DOGE[191.45149471], KSHIB[1643.30524618], MATIC[27.46920256], SHIB[13132093.11091578], TRX[202.1138084], USD[0.60]                                          Yes

07822181                              NFT (291280039517134499/FTX - Off The Grid Miami #5206)[1]

07822189                              USD[1.93]

07822190                              BTC[0], ETH[.00000001], LTC[.00003733], NEAR[0], SHIB[0], SOL[0], USD[0.00]

07822191                              BTC[0], ETH[0.00000009], ETHW[0.00000009], PAXG[0], USD[0.00], USDT[0]                                                                                                                Yes

07822194                              CUSDT[1], USD[0.00]                                                                                                                                                                   Yes

07822200                              USD[0.00]

07822202                              USD[0.01]

07822214                              USD[3.26]

07822216                              USD[0.00]                                                                                                                                                                             Yes

07822225                              AAVE[.004656], BTC[.0661796], ETH[3.951393], ETHW[3.951393], LINK[267], MATIC[3297.54], SOL[32.8941], UNI[180.65536], USD[2826.60], YFI[.0419664]

07822233                              USD[0.14]

07822237                              BTC[.00220871]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07822240                              BTC[0], ETH[0], NFT (378320326700432830/Spider LEDs #47)[1], NFT (512518793456984526/SOL Parasite #3325)[1], SOL[0], USD[0.00], USDT[0]

07822247                              BTC[.00200018], SHIB[2], SOL[1.02973], USD[3.53], USDT[0.00036962]                                                                                                                           Yes

07822255                              USD[2050.24]

07822258                              BTC[.00000011], DOGE[2], ETH[.00000201], ETHW[0.21868692], MATIC[.00051357], SHIB[1], USD[0.00]                                                                                              Yes

07822268                              SOL[.07944763], USD[0.00], USDT[0.00000001]                                                                                                                                                  Yes

07822278                              USD[109.20]                                                                                                                                                                                  Yes

07822280                              BTC[.00000001], SHIB[537667.86458595], SOL[.00000098], USD[26.35]                                                                                                                            Yes

07822286                              SOL[2.00794], USD[1.90]

07822291                              BAT[1], NFT (504190112309739488/Australia Ticket Stub #2183)[1], USD[0.00]

07822295                              USD[0.00]                                                                                                                                                                                    Yes

07822305                              LINK[.0406], SOL[4.79582], USD[44.95]

07822319                              BTC[0], ETH[0], SOL[0], USD[0.00]

07822322                              BAT[2.08666493], BRZ[1], CUSDT[2], USD[44.02], USDT[1.0753324]                                                                                                                               Yes

07822324                              BTC[0], SOL[.00000001], USD[22936.44], USDT[0]                                                                                                                                               Yes

07822326                              ETH[.01474406], SHIB[4], USD[20.82], USDT[0]

07822330                              BRZ[2], CUSDT[43], DOGE[1], MATIC[18.39163761], SOL[5.35748508], TRX[3], USD[1.32]                                                                                                           Yes

07822349                              NFT (495397617543286635/Microphone #783)[1]                                                                                                                                                  Yes

07822350                              BRZ[4], BTC[.00000022], DOGE[6], SHIB[22], TRX[2], USD[0.00]                                                                                                                                 Yes

07822369       Contingent, Disputed   NFT (377885017929563231/Doak Walker's Playbook: Detroit Lions vs. Cleveland Browns - December 28, 1952 #59)[1], NFT (392064369442421417/Joe Theismann's Playbook: New York Giants vs.
                                      Washington - October 20, 1974 #34)[1], NFT (395790153315653364/Joe Theismann's Playbook: Washington vs. Miami Dolphins - January 30, 1983 #39)[1], NFT (492366033091132386/Shannon
                                      Sharpe's Playbook: Kansas City Chiefs vs Denver Broncos - October 4, 1992 #48)[1], NFT (533374619052922592/Earl Campbell's Playbook: Rice vs. Texas - October 1st, 1977 #79)[1], USD[1.61]

07822372                              BRZ[1], BTC[.06267494], CUSDT[2], ETH[1.77506311], ETHW[1.77431754], LINK[3.11884071], LTC[2.00236274], SOL[1.76788884], USD[-499.88]                                                        Yes

07822385                              NFT (305170874902738046/Vintage Sahara #509)[1], NFT (349792041884581539/Night Light #363)[1], NFT (477522538107712766/Cosmic Creations #562)[1], NFT (478523153920539026/Ferris From
                                      Afar #349)[1]
07822388                              NFT (448634381532631881/Golden bone pass)[1], NFT (547475058048317884/Cyber Frogs Ramen)[1], SOL[.00822043], USD[0.00], USDT[.89470557]

07822395                              NFT (461399273388196169/Eternal Equality )[1], USD[49.00]

07822407                              BTC[0], SOL[0], USD[0.00], USDT[0]

07822416                              USD[0.82]

07822424                              BTC[.38898352]                                                                                                                                                                               Yes

07822426                              BTC[0], USD[0.00]

07822429                              USD[0.01]

07822437                              ETHW[.03496869], USD[0.70]                                                                                                                                                                   Yes

07822439                              USD[1.64]

07822448                              PAXG[0.00552913]                                                                                                                                                                             Yes

07822450                              BTC[.00004741], ETH[0.00015527], ETHW[0], SOL[0], USD[0.18]

07822451                              ALGO[0], AVAX[.00003722], ETH[.0000003], LINK[5.57089938], MATIC[0], NEAR[0], SHIB[16], SOL[.00007093], TRX[.00000001], USD[0.01]                                                            Yes

07822455                              USD[0.00]

07822456                              BTC[0], SOL[0.00214867]

07822460                              USD[0.00]

07822474                              BF_POINT[300], GRT[0], MATIC[0], NEAR[0], NFT (292766900592547066/Silverstone Ticket Stub #192)[1], NFT (417748150072417098/Miami Ticket Stub #472)[1], NFT (576202125163462393/FTX -        Yes
                                      Off The Grid Miami #6889)[1], SHIB[672.37102473], SOL[0], USD[0.00]
07822478                              SOL[.59633103], TRX[1], USD[0.00]

07822487                              USD[0.00]

07822505                              USD[6.49], USDT[0]

07822507                              AAVE[.03657505], DOGE[1], ETH[.00000062], ETHW[.06694165], LINK[.75880221], SHIB[550162.52114565], TRX[15.17103824], UNI[.44874558], USD[0.01], YFI[.00072987]                               Yes

07822514                              ETHW[.000781], USD[27.92]

07822515                              BTC[.0003996], USD[1.59]

07822524                              NFT (288661082741377259/Coachella x FTX Weekend 2 #24067)[1]

07822526                              BRZ[1], BTC[.00149607], DOGE[152.19341004], ETHW[3.03198689], SHIB[6], USD[0.20]                                                                                                             Yes

07822527                              AVAX[11.45093929], BTC[0.06563749], CUSDT[5], ETH[0.00001468], ETHW[0.82516406], GRT[.00010778], LINK[40.29877257], SHIB[1], SOL[7.38255494], SUSHI[.00000862], TRX[2], USD[0.01]            Yes

07822530                              BTC[0], ETH[.0003207], ETHW[.0003207], NFT (290802632679494632/digital avatar #13)[1], NFT (311002510520772180/Landscape)[1], NFT (325315925667502083/Landscape #3)[1], NFT                  Yes
                                      (411594863971188455/Night came)[1], NFT (423482811042201413/Mountain coast)[1], NFT (429941508084010600/My favorite flower. #3)[1], NFT (461053398101737099/BANANA #30)[1], NFT
                                      (519260676413176042/Happy Ape with his banana #1)[1], USD[1.01], USDT[0]
07822531                              BTC[.0648], DOGE[1189], SOL[15.9343107], USD[4842.05]

07822544       Contingent, Disputed   USD[0.31]

07822549                              TRX[11.19361241], USD[0.00]                                                                                                                                                                  Yes

07822550                              BTC[0], SOL[0], USD[0.00]

07822552                              BRZ[3], CUSDT[1], DOGE[1], ETH[0], GRT[2.01405395], LINK[.00000001], SOL[0.00071513], USD[0.00], USDT[0]                                                                                     Yes

07822557                              BTC[0], ETH[0.36661560], ETHW[0], PAXG[0], SOL[0], USD[0.00], USDT[0]

07822565                              SOL[.00000001], USD[0.03]

07822577                              USD[0.00]
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                                                                                                                                          Customer Claims                                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07822581                           SHIB[1], TRX[1], USD[0.00], USDT[.00038457]                                                                                                                                                        Yes

07822582                           BRZ[1], SOL[.32854256], USD[0.01]                                                                                                                                                                  Yes

07822583                           NFT (293212179633838990/StarAtlas Anniversary)[1], NFT (299995067182085079/StarAtlas Anniversary)[1], NFT (301639644931282545/denjobi digital paintings #11)[1], NFT
                                   (302457553075562739/denjobi digital paintings #8 (Jeckyll & Hyde))[1], NFT (306530782909862430/denjobi digital paintings #20)[1], NFT (306542898875007906/denjobi digital paintings #16)[1], NFT
                                   (321518880558264608/denjobi digital paintings #5)[1], NFT (324272873949137620/denjobi digital paintings #6 (year zero))[1], NFT (325497946640631632/denjobi digital paintings #4)[1], NFT
                                   (335968180697334068/denjobi digital paintings #19)[1], NFT (353230448745689530/denjobi digital paintings #1)[1], NFT (353700873720911856/denjobi digital paintings #12)[1], NFT
                                   (449075591916718518/denjobi digital paintings #15)[1], NFT (450212344204527153/StarAtlas Anniversary)[1], NFT (461038898020797626/denjobi digital paintings #9 (₿))[1], NFT
                                   (462482842276704834/denjobi digital paintings #13)[1], NFT (470140593232285599/denjobi digital paintings #17)[1], NFT (485454522249055298/denjobi digital paintings #14 (Gecko))[1], NFT
                                   (489624839848618559/denjobi digital paintings #10)[1], NFT (510851213995479397/StarAtlas Anniversary)[1], NFT (523219143943730740/StarAtlas Anniversary)[1], NFT
                                   (546438649534425892/StarAtlas Anniversary)[1], NFT (561333292479415973/StarAtlas Anniversary)[1], TRX[.000001], USD[0.00], USDT[0]
07822590                           SHIB[102767.8816114], USD[0.00]

07822591                           BAT[255.98283], BTC[0], DOGE[3747.50205], ETH[0], LINK[1.368821], MATIC[496.086], SHIB[25334640], SOL[1.7959055], SUSHI[26.49848], TRX[75.9278], UNI[37.242715], USD[29.64]

07822598                           TRX[1], USD[0.00]                                                                                                                                                                                  Yes

07822600                           ETH[.00002777], SHIB[2], USD[0.00]                                                                                                                                                                 Yes

07822601                           BTC[.00054206], CUSDT[1], USD[0.00]

07822611                           USD[0.00]

07822616                           ETHW[.62240815], USD[5.79], USDT[6.59]

07822651                           KSHIB[999.1], PAXG[.049955], SHIB[300000], SOL[3.04918816], USD[312.00]

07822659                           BTC[.01696287], DOGE[1.00388907], ETH[.02843768], ETHW[.03133068], LTC[.00006025], SHIB[8], USD[0.00]                                                                                              Yes

07822660                           NFT (420896208960419555/Warriors 75th Anniversary Icon Edition Diamond #1741)[1], USD[0.55], WBTC[0]

07822678                           ETH[.00000001], SOL[0], USD[0.40], USDT[0]

07822680                           USD[0.00]

07822703                           BRZ[2], SOL[15.35300524], USD[0.00]                                                                                                                                                                Yes

07822705                           BRZ[1], BTC[.17767423], GRT[1.00270453], SHIB[1], USD[0.01]                                                                                                                                        Yes

07822709                           SOL[.00000001]

07822721                           MATIC[1], USD[0.36]

07822722                           AAVE[.4997625], BTC[.002], MATIC[30], SOL[1.419126], USD[0.04], USDT[9.8993]

07822725                           USD[0.00]

07822740                           BRZ[1], CUSDT[1], USD[0.63]                                                                                                                                                                        Yes

07822752                           USD[0.01], USDT[0]

07822758                           CUSDT[1], NFT (357782387613516178/Entrance Voucher #3026)[1], SOL[1.50994892], USD[0.00]                                                                                                           Yes

07822761                           USD[0.01]

07822767                           AAVE[0], BRZ[2], CUSDT[6], DOGE[0], GRT[0], NFT (409469765279987347/65)[1], NFT (421392817124475204/Surreal World #3)[1], NFT (471750220003381510/Dark Vampire Art)[1], NFT                        Yes
                                   (476107065057958034/Bob #2 of 3)[1], NFT (482177949694584096/Surreal World #25)[1], NFT (495257051187693186/Dream Land #15)[1], NFT (507221161876700384/Our World #001)[1], NFT
                                   (562376281784635819/Dosis Heath #8)[1], NFT (572539604989307770/Surreal World #35)[1], SHIB[9173380.01047920], SUSHI[0.00009711], TRX[3], USD[1.07]
07822777                           TRX[.000002], USDT[.26212452]

07822791                           AAVE[.0580672], BRZ[635.24929158], BTC[.00461744], CHF[148.58], CUSDT[14], DOGE[2], LINK[6.26259805], MATIC[72.71579063], MKR[.0067605], SOL[1.11426865], SUSHI[2.53873773],                       Yes
                                   TRX[2294.51256623], USD[0.00]
07822803                           USDT[6.2527]

07822806                           CUSDT[2], TRX[2], USD[0.00]                                                                                                                                                                        Yes

07822818                           BF_POINT[300], BRZ[1], DOGE[1], GRT[16458.50356773], TRX[.10117234], USD[0.00]                                                                                                                     Yes

07822827                           USD[20.00]

07822828                           ETH[.000975], ETHW[.000975], SOL[.00664]

07822832                           USD[1.50]

07822838                           USD[1.61]

07822861                           BTC[0], NEAR[.01075727], SOL[.00000001], TRX[.9753], USD[0.04], USDT[0.00021840]

07822865                           USD[1.03]

07822869                           ETH[0], ETHW[0], SOL[.00000001], USD[0.00], USDT[0]

07822874                           NEAR[.09983], SOL[2.37945944], USD[3.22]

07822886                           AVAX[22.3776], USD[8.19]

07822899                           SOL[.61898264], USD[0.00]

07822905                           SOL[0.00046361], USDT[0.00000069]

07822908                           BRZ[1], CUSDT[2], USD[0.01]                                                                                                                                                                        Yes

07822917                           LINK[9.9905], SOL[1.79311593], USD[0.00]

07822929                           SOL[.00006936], USD[0.00]

07822933                           SOL[.05]

07822952                           LTC[.2623883], USD[5.20]                                                                                                                                                                           Yes

07822956                           ETH[.00000001], USD[0.00]

07822957                           AAVE[.00000031], BRZ[1], CUSDT[44], DOGE[2], ETH[.00000003], ETHW[.00000003], LTC[.0007], MATIC[.0000641], SOL[.00867809], TRX[2], UNI[.04284109], USD[2.55], USDT[.00213013]                      Yes

07822981                           BTC[0], LINK[.064435], SOL[.00975], USD[0.93]

07822992                           BTC[.00060985], SOL[.5], USD[0.34]

07822997                           BTC[0], USD[0.60]

07823015                           CUSDT[7], GRT[.00011641], SHIB[0], USD[0.18]                                                                                                                                                       Yes
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                                                                                                                                         Customer Claims                                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07823021                           BRZ[1], CUSDT[3], DOGE[1], SOL[11.95138554], TRX[1], USD[23605.33]                                                                                                              Yes

07823026                           ETH[.00035257], SOL[.00783516], USD[8.77]                                                                                                                                       Yes

07823029                           SOL[0], USD[0.80]

07823030                           USD[13.70]

07823035                           USD[16.46]                                                                                                                                                                      Yes

07823049                           BTC[.0758], ETH[.275], ETHW[.275], LINK[214.9], SOL[20.38], USD[1.77]

07823066                           USD[0.00]

07823068                           USD[0.51]                                                                                                                                                                       Yes

07823070                           MATIC[.00000001], USD[0.00]

07823073                           BTC[0], SOL[0], USD[1.03]

07823078                           DOGE[1], ETH[.00000025], ETHW[.02651266], TRX[1], USD[31.63]                                                                                                                    Yes

07823079                           ALGO[0.00012732], BAT[2], BRZ[5], BTC[0.00000042], DOGE[9.01859444], ETH[0.00021009], ETHW[0], GRT[1], MATIC[0.01049722], SHIB[55], USD[1.97], USDT[0]                          Yes

07823082                           AUD[0.00]

07823090                           USD[0.00]

07823096                           USD[21.51]                                                                                                                                                                      Yes

07823119                           USD[21.51]                                                                                                                                                                      Yes

07823121                           BF_POINT[100], ETH[0], LINK[0], NFT (406947366030454355/Mad Lions Series #48)[1], USD[0.01], USDT[0]                                                                            Yes

07823124                           USD[329.02]                                                                                                                                                                     Yes

07823140                           USD[0.00]

07823141                           NFT (468794746870944489/#2493)[1], SOL[.05], USD[0.00], USDT[.57527677]

07823149                           USD[6.15]

07823151                           ETH[.00321192], ETHW[.00317088], USD[0.00]                                                                                                                                      Yes

07823156                           USD[0.00]

07823159                           NFT (477408256752786943/Saudi Arabia Ticket Stub #189)[1]

07823180                           BTC[0.00012634], USD[2.37]

07823182                           CUSDT[1], DOGE[260.55025679], NFT (303587621980794149/Lebron James Sketch #2)[1], NFT (355115030744846579/Bevel Boy #007)[1], NFT (495550478934561995/Bevel Boy #023)[1], NFT   Yes
                                   (534116015439970340/USA Grids #2)[1], TRX[1], USD[0.65]
07823185                           CUSDT[3], DOGE[1], ETH[.04583238], ETHW[.04526222], LINK[2.30668901], USD[62.64]                                                                                                Yes

07823187                           AVAX[30.05105061], ETH[1.51214527], EUR[0.00], USD[0.81]

07823190                           SOL[0], USDT[0]

07823200                           BTC[0], ETH[0], ETHW[0], MATIC[0], SHIB[3], SOL[0], USD[0.01]                                                                                                                   Yes

07823201                           CUSDT[1], USD[0.00]                                                                                                                                                             Yes

07823210                           BTC[.00002158], USD[0.00]

07823214                           CUSDT[14], DOGE[.00042146], TRX[.00150087], USD[4.62]                                                                                                                           Yes

07823217                           BTC[.00636032], ETH[.154851], ETHW[.154851], MATIC[249.75], SOL[17.51482], USD[0.26]

07823225                           NFT (315569804339585393/Birthday Cake #2152)[1], NFT (319657224971977017/2974 Floyd Norman - OKC 6-0143)[1], NFT (346897008116807364/The 2974 Collection #2152)[1], NFT
                                   (356156438850611534/Birthday Cake #1336)[1], NFT (498289131585124655/The 2974 Collection #1336)[1], USD[0.00]
07823228                           USD[0.00]

07823238                           SOL[.38], USD[0.85]

07823253                           BTC[0.00001627], USD[0.29], USDT[0]

07823269                           BRZ[1], CUSDT[10], DOGE[848.18865821], KSHIB[2945.95583512], SHIB[1762109.75027294], TRX[1], USD[0.00]                                                                          Yes

07823272                           USD[0.00]

07823282                           ETH[0], USD[0.00]

07823283                           BTC[.00070421], SHIB[1], USD[0.00]                                                                                                                                              Yes

07823285                           USD[0.00]                                                                                                                                                                       Yes

07823297                           SOL[.66], USD[0.82]

07823300                           DOGE[15], USD[0.04]

07823302                           USD[0.00]

07823318                           USD[10.71]                                                                                                                                                                      Yes

07823329                           USD[54.77]                                                                                                                                                                      Yes

07823331                           NFT (501039461487853508/FTX - Off The Grid Miami #2090)[1], USD[0.01], USDT[2.947]

07823332                           BTC[.0000355], SOL[.00501133], USD[1231.16]

07823333                           USD[0.01]

07823356                           USD[1.33]

07823361                           SOL[2.81], USD[0.44]

07823363                           DOGE[1], SOL[.00000298], TRX[1], USD[0.01]                                                                                                                                      Yes

07823368                           ETHW[1.25], USD[0.00]

07823369                           NFT (468772156480413537/Bahrain Ticket Stub #1101)[1]

07823374                           NFT (515530344807882911/FTX - Off The Grid Miami #1971)[1]                                                                                                                      Yes

07823375                           USD[0.00]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07823376                              BRZ[1], CUSDT[2], ETH[.01179423], ETHW[.01164375], USD[0.00]                                                                                                                           Yes

07823382                              DOGE[4], ETH[.00074238], ETHW[.00074238], GRT[2], MATIC[2.84318041], SOL[.00242827], TRX[10], USD[0.20], USDT[2]

07823383                              USD[0.00]                                                                                                                                                                              Yes

07823389                              DOGE[1], GRT[1], USD[0.00]                                                                                                                                                             Yes

07823394       Contingent, Disputed   BTC[.00003135], ETH[.00006121], ETHW[.00006119], SOL[.00207314], USD[0.00]                                                                                                             Yes

07823399                              SOL[12.548068], USD[8.49]

07823407                              DAI[.05204225], SOL[.09], TRX[.000001], USD[0.00], USDT[0.96910287]

07823409                              ETH[0], USD[0.00]

07823411                              USD[8.78]

07823412                              BTC[0.00000420], USD[0.00]

07823417                              LTC[0], USD[0.56]

07823428                              ETHW[.0001], USD[254.23]

07823433                              USD[0.00], USDT[0]

07823440                              AVAX[.90416304], BTC[.00050144], CUSDT[24], DOGE[8.21662832], ETH[.05248549], ETHW[.04848577], SHIB[10], SOL[2.44398045], SUSHI[1.0798258], TRX[2], USD[0.00]                          Yes

07823453                              USD[1.20]

07823454                              BTC[0.07606575], ETH[2.051], ETHW[2.051], USD[203.38]

07823464                              USD[0.70]                                                                                                                                                                              Yes

07823475                              BTC[0.00001695], USD[0.73], USDT[10.9553935]

07823476                              ETH[.000549], ETHW[.000549], SOL[23.49], USD[1.41]

07823484                              USD[0.00]

07823493                              BTC[.023]

07823497                              USD[0.00]

07823506                              ETH[0], NFT (330129378925648245/Bahrain Ticket Stub #2060)[1], NFT (431502986685932315/Sun Set #844)[1], NFT (482025280497210414/Sun Set #545)[1], NFT (501274103164461075/FTX - Off
                                      The Grid Miami #7481)[1], USD[24.64]
07823517                              NFT (496902557571465220/Marcus Allen's Playbook: Seattle Seahawks vs. Los Angeles Raiders - October 7, 1984 #81)[1], USD[25.01]

07823521                              BCH[.00150064], BTC[0], DOGE[0], ETH[0], LTC[.30763758], MATIC[0], SHIB[13616821.41159524], SOL[0], SUSHI[1.3976], USD[0.00], USDT[0]

07823536                              CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                           Yes

07823537                              BAT[2.10586614], BRZ[1], CUSDT[3], DOGE[5.08756117], GRT[1.00367791], TRX[2], USD[0.00]                                                                                                Yes

07823538                              SOL[.00056]

07823539                              USD[0.00], USDT[0.00724288]

07823540                              DAI[4.95033286], USD[0.00]

07823551                              ETH[.00000001], ETHW[0], SOL[0.00000039]                                                                                                                                               Yes

07823552                              NFT (359276510318248737/Entrance Voucher #29468)[1]

07823555                              BRZ[1], CUSDT[3], GRT[.00028257], MATIC[.00006053], SHIB[399649.16159712], TRX[48.92658778], USD[0.62]                                                                                 Yes

07823557                              ETH[0], MATIC[0], USD[0.10], USDT[0.00000002]

07823558       Contingent, Disputed   BTC[0], SHIB[1], SOL[0], USD[319.23]                                                                                                                                                   Yes

07823573                              USD[102.00]

07823579                              SOL[7.97795572]

07823589                              USD[0.00]

07823590                              AVAX[0], BAT[0.08258024], CHF[0.00], EUR[0.00], GRT[0], MATIC[0], SGD[0.00], SUSHI[0], TRX[0], USD[0.00], USDT[0.00000001]                                                             Yes

07823594                              SOL[4.14], TRX[4995], USD[0.78], USDT[22.75]

07823598                              ETH[0.00000041], ETHW[0.00000041], USD[0.00]                                                                                                                                           Yes

07823599                              USD[361.25]                                                                                                                                                                            Yes

07823601                              BTC[.00568669], CUSDT[1], SHIB[2], USD[0.00]                                                                                                                                           Yes

07823604                              AUD[0.00], BAT[0], BCH[0], BRZ[1], BTC[0], CUSDT[1], DOGE[0], EUR[0.00], GBP[0.00], SUSHI[0.00001536], TRX[0], USD[0.00]                                                               Yes

07823608                              USD[24.88]

07823612                              BTC[.0022], ETH[.031], ETHW[.031], NFT (339573692804026141/Entrance Voucher #2928)[1], USD[156.08]

07823618       Contingent,            ETH[0], ETHW[0], USD[0.00], USDT[0]
               Unliquidated
07823621                              EUR[9.81], SHIB[3], USD[0.00], USDT[0.00000017]                                                                                                                                        Yes

07823626                              BRZ[1], BTC[.00020577], CUSDT[4], DOGE[150.5645268], ETH[.04339331], ETHW[.04285588], SHIB[2425747.59265304], SOL[.83393586], USD[0.08]                                                Yes

07823633                              NFT (521361350027797348/Microphone #5332)[1]

07823642                              BTC[.3157], ETH[9.064], ETHW[9.064], USD[6.30]

07823643                              USD[0.01]                                                                                                                                                                              Yes

07823647                              USD[20.00]

07823649                              BCH[.02435346]                                                                                                                                                                         Yes

07823659                              GRT[5994.6], LINK[99.91], MATIC[1998.2], SOL[74.862563], USD[18.81]

07823664                              CUSDT[2], KSHIB[1342.85128418], MATIC[78.46413807], TRX[1061.68964811], USD[0.00]                                                                                                      Yes

07823669                              USD[0.01]                                                                                                                                                                              Yes

07823670                              BTC[.00008677], MATIC[3.8987], SOL[.00532012], TRX[.000001], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07823671                           BRZ[2], DOGE[5], SHIB[47], TRX[5], USD[0.00], USDT[0]                                                                                                                                     Yes

07823676                           CUSDT[112.64136515], GBP[4.00], SHIB[176867.59133729], SOL[.11119294], USD[0.00]                                                                                                          Yes

07823677                           BTC[.0002998], DOGE[16.997], SHIB[399600], USD[1.23]

07823679                           CAD[0.00], ETH[.00062479], ETHW[.00062479], SOL[0], TRX[1], USD[0.92]

07823682                           NFT (367708159472678950/Microphone #1132)[1]

07823694                           CUSDT[2], ETH[.00000001], ETHW[0], USD[0.00]                                                                                                                                              Yes

07823697                           ETH[.116], ETHW[.116], SOL[1.69], USD[1.54]

07823707                           BRZ[1], BTC[0], CUSDT[2], DOGE[3], ETH[0], SOL[0], SUSHI[0], USD[0.00], USDT[0]                                                                                                           Yes

07823712                           SOL[24.98998], USD[0.36]

07823715                           BRZ[1], DOGE[1], TRX[3], USDT[0.00000022]                                                                                                                                                 Yes

07823718                           CUSDT[2], TRX[2], USD[0.00]

07823720                           NFT (288625327256518835/Accurate Comparison)[1], NFT (342085399999755761/HERO)[1], SHIB[0], USD[0.00], USDT[0]

07823723                           ETHW[7.03121902], SHIB[.00000002]                                                                                                                                                         Yes

07823726                           BRZ[1], DOGE[2], USD[0.97]                                                                                                                                                                Yes

07823727                           BTC[.2141814], ETH[2.913802], ETHW[2.913802], SOL[30.70569], USD[2443.79]

07823730                           BTC[0.21664177], DOGE[793], LINK[.0817], MATIC[180], SOL[40.97014528], USD[0.19]

07823735                           USD[9.95], USDT[0]

07823747                           BF_POINT[100], NFT (297025750370257010/Sigma Shark #1490)[1], NFT (350720412935173522/Sigma Shark #2738)[1], NFT (352170016616311514/Sigma Shark #552)[1], NFT                            Yes
                                   (363706824634178274/Harleeey)[1], NFT (385145871391908023/Sigma Shark #2615)[1], NFT (412253814335619043/Sigma Shark #2125)[1], NFT (418898995479146965/Sigma Shark #2787)[1], NFT
                                   (422471147377184000/Sigma Shark #2612)[1], NFT (433056823462923061/Sigma Shark #715)[1], NFT (454465570712102019/Sigma Shark #2103)[1], NFT (456209277363484519/Sigma Shark
                                   #1711)[1], NFT (462432539507395181/SKULL ART #1)[1], NFT (474584076847700470/Entrance Voucher #29503)[1], NFT (509563102823930263/Sigma Shark #5710)[1], NFT
                                   (519240967182935501/Sigma Shark #1764)[1], NFT (543880041138668862/Sigma Shark #3318)[1], NFT (544442087993510527/Sigma Shark #1235)[1], NFT (548258928091423382/Sigma Shark
                                   #1798)[1], NFT (556214461344392139/Sigma Shark #4848)[1], NFT (560129361613742136/Sigma Shark #691)[1], SHIB[106682426.98772409], SOL[4.01307442], USD[0.00], USDT[0]

07823752                           ETH[.005], ETHW[2.3], USD[0.00]

07823753                           ETH[1.90786756], ETHW[1.90706624], SOL[.07572747]                                                                                                                                         Yes

07823755                           USD[0.80]

07823758                           CUSDT[1], USD[0.00], USDT[0]                                                                                                                                                              Yes

07823760                           USD[50.00]

07823767                           NFT (372966001510560835/Kitty Blues #2)[1], NFT (528446975845139425/Kitty Blues #3)[1], NFT (556078562543270910/Kitty Blues)[1]

07823768                           ALGO[.862], ETH[.00084958], ETHW[.00084958], SOL[.0043246], USD[0.40]

07823773                           ETHW[.017], USD[1.31]

07823774                           ETH[0], SOL[0], TRX[.100007], USD[0.00], USDT[0]

07823779                           AAVE[.07966], AVAX[1.8989], ETH[.055], ETHW[.055], SHIB[200000], SOL[.01367], USD[993.11], USDT[2.47037716]

07823783                           BRZ[3], CUSDT[6], DOGE[7.00057537], SHIB[25], TRX[7], USD[0.38], USDT[0.00000001]                                                                                                         Yes

07823790                           USD[0.63]

07823793                           ETH[0], NFT (325902296167606117/Beasts #807)[1], USD[68.00]

07823795                           NFT (355081201089849867/Microphone #8304)[1], SOL[.002]

07823801                           USD[0.33]

07823805                           BAT[1], BRZ[3], CUSDT[6], DOGE[6], SHIB[9], TRX[4.021441], USD[0.00], USDT[0]                                                                                                             Yes

07823806                           AAVE[0.44865968], AVAX[0.80702954], BRZ[3], BTC[.01101102], CUSDT[12], DOGE[3927.98779401], ETH[0.09567865], ETHW[0.09463991], GRT[467.27398515], LINK[4.16017664],                       Yes
                                   MATIC[87.05963174], SHIB[3678485.1337226], SOL[0], SUSHI[.94386127], TRX[5.725], USD[0.00], USDT[1.78356497]
07823821                           LINK[.0002369], USD[0.00]                                                                                                                                                                 Yes

07823824                           SOL[2.57742], USD[1101.19]

07823826                           SOL[0], USDT[0.00000083]

07823836                           USD[0.00]                                                                                                                                                                                 Yes

07823839                           CUSDT[509.12034038], DOGE[227.86668174], TRX[94.53092426], USD[32.94]                                                                                                                     Yes

07823843                           USD[2.37]

07823845                           AVAX[0.06631508], BAT[0], BTC[0], CUSDT[0], DAI[0], DOGE[0], GRT[0], KSHIB[0], LTC[0], MATIC[0], MKR[0], NFT (390816766235934752/Imola Ticket Stub #2067)[1], PAXG[0], SHIB[0], SOL[0],   Yes
                                   SUSHI[0], TRX[0], UNI[0], USD[0.00], USDT[0], YFI[0]
07823850                           USD[0.30]

07823868                           ETH[.21826975], ETHW[.21826975], USD[0.00]

07823871                           ETH[0], ETHW[0], MATIC[0], SOL[0], USD[2.31], USDT[0]

07823873                           USD[0.00]

07823879                           CUSDT[1], DOGE[118.33139205], PAXG[.02433691], SHIB[726394.44879331], SUSHI[3.00356909], TRX[1], USD[2.48]                                                                                Yes

07823881                           NFT (527301658029849745/Warriors 75th Anniversary Icon Edition Diamond #103)[1]                                                                                                           Yes

07823885                           BTC[0.00004004]

07823892                           BF_POINT[300], BRZ[3], BTC[.00000059], CUSDT[4], DOGE[3], ETH[0.01049575], ETHW[0.00000159], SOL[0], TRX[2], USD[0.01]                                                                    Yes

07823896                           USD[4387.36], USDT[.9404765]

07823901                           ETH[0], SOL[0]

07823906                           USD[0.00]

07823909                           ETH[0], USD[1.89]
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                                                                                                                                         Customer Claims                                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07823916                           USD[0.01]                                                                                                                                                                                     Yes

07823917                           DOGE[1], GRT[.00636963], TRX[1], USD[0.00]

07823922                           BTC[0.04115707], ETH[0.32689632], ETHW[0.32689632], LINK[31.27183], USD[0.00]

07823924                           ETH[.00228335], ETHW[.00228335], EUR[0.00], USD[0.00]

07823927                           USD[2.44]

07823928                           MATIC[465.434], SOL[.00011], USD[1.11]

07823956                           NFT (453828813273661496/FTX - Off The Grid Miami #4061)[1]

07823971                           BTC[.00409271], CUSDT[8], DOGE[1], ETH[.11269798], ETHW[.11158579], SOL[.00004537], TRX[2], USD[0.00]                                                                                         Yes

07823978                           USD[0.00]

07823979                           AAVE[0], AUD[0.00], BAT[0], BCH[0], BRZ[0], BTC[0], CAD[0.00], CHF[0.00], CUSDT[0], DAI[0], DOGE[0], ETH[0], EUR[0.00], GBP[0.00], GRT[0.00085772], KSHIB[0], LINK[0], LTC[0], MATIC[0],      Yes
                                   MKR[0], PAXG[0], SGD[0.00], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00], USDT[0.00000001], YFI[0], ZAR[0.00]
07823983                           NFT (399390308543466761/Entrance Voucher #2281)[1]

07823985                           ETH[0.00000001], EUR[0.00], SHIB[0], SOL[0.00000001], USD[0.00]

07823988                           SOL[29.75796]

07823990                           USD[0.00]

07823991                           CUSDT[3], TRX[1], USD[0.00]                                                                                                                                                                   Yes

07823997                           USD[0.00]                                                                                                                                                                                     Yes

07824009                           CUSDT[2], DOGE[1], LINK[0], NFT (308472665377505694/ApexDucks #6503)[1], NFT (322981848807744673/ApexDucks #4449)[1], NFT (332282938461404515/#693)[1], SHIB[2], SOL[.00195695],              Yes
                                   TRX[1], USD[0.00], USDT[1.06521623]
07824012                           SOL[0], USD[0.00], USDT[0.47230801]

07824015                           DOGE[.00000001], SHIB[1], USD[0.00]                                                                                                                                                           Yes

07824016                           USD[0.04]                                                                                                                                                                                     Yes

07824020                           AVAX[.0436], ETH[.00038356], ETHW[0.00038355], NFT (340849219294551587/BabyBlob #53)[1], TRX[.747928], USD[3.39], USDT[0]

07824039                           BRZ[1], BTC[.00672302], CUSDT[1], DOGE[1], ETH[.05456843], ETHW[.0538908], SOL[36.60722033], TRX[2], USD[1.32]                                                                                Yes

07824043                           SOL[.0006656], USD[0.04]

07824045                           AAVE[2.46897875], ALGO[1879.75175593], AVAX[8.78141768], BCH[.0009939], DOGE[.3484994], LTC[12], NEAR[21.40726482], SHIB[12929919.83449702], SOL[6], USD[0.99], USDT[0.00000153]

07824052                           DOGE[1], SOL[.53992815], USD[0.08]                                                                                                                                                            Yes

07824056                           USD[0.00]                                                                                                                                                                                     Yes

07824062                           USD[0.39], USDT[0.00000001]                                                                                                                                                                   Yes

07824063                           ETH[0], USD[2.90]

07824065                           BAT[0], BTC[0], ETH[0], ETHW[0], MATIC[0], SHIB[0], SOL[0], TRX[2], USD[0.01], USDT[0.00000001]                                                                                               Yes

07824076                           USD[500.00]

07824083                           CUSDT[5], ETH[.01012086], ETHW[.00999774], USD[0.00], USDT[0]                                                                                                                                 Yes

07824090                           USD[50.01]

07824093                           ETH[.00095113], ETHW[0.00095112], NFT (569718560575853560/Entrance Voucher #2174)[1], SOL[0], USD[1.44]

07824100                           BAT[2.05754606], BRZ[1], CUSDT[2], DOGE[9.16887762], GRT[1.0001826], LTC[0], SHIB[2], TRX[7], USD[0.00], USDT[1.06265370]                                                                     Yes

07824101                           BTC[.0877001], ETH[.49967], ETHW[0.49967000], SOL[4.32998415], USD[263.45], USDT[0.00613900]

07824106                           BTC[0.00000001], NFT (302049743443819646/Saudi Arabia Ticket Stub #714)[1], NFT (571192807174941741/Fortuo Distinctus #15)[1], USD[0.00], USDT[0]

07824114                           SOL[.00018987], USD[0.00]

07824116                           USD[0.00], USDT[0]

07824117                           BTC[0], CUSDT[2], USD[0.00]

07824118                           BF_POINT[300]

07824120                           USD[2.19]                                                                                                                                                                                     Yes

07824124                           USD[1.39]

07824125                           SOL[0], USD[0.00]

07824134                           ALGO[.01695469], SHIB[1], SOL[285.03948547], USD[0.00]                                                                                                                                        Yes

07824145                           USD[0.00]

07824152                           CUSDT[3], LTC[1.09753329], MATIC[62.27721762], SOL[1.05394204], TRX[738.72513926], USD[0.00]                                                                                                  Yes

07824155                           BTC[.00330561]                                                                                                                                                                                Yes

07824157                           NFT (485191307843901821/Microphone #320)[1]

07824180                           BTC[2.52970698]                                                                                                                                                                               Yes

07824186                           USD[0.79]

07824190                           ETHW[.08590131], SOL[.02532876], USD[0.00]

07824191                           AVAX[.05179153], BTC[.00006424], SHIB[3], SOL[.00013588], USD[45.71]                                                                                                                          Yes

07824203                           CUSDT[0], ETH[0.00210822], ETHW[0.00208086], NFT (329332805434447902/Hall of Fantasy League #182)[1], NFT (353010002555217082/Earl Campbell's Playbook: Texas vs. Houston - November          Yes
                                   5th, 1977 #122)[1], NFT (403783324659946657/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #82)[1], NFT (403860408131144925/Shannon Sharpe's Playbook: Denver
                                   Broncos vs. Los Angeles Raiders - January 9, 1994 #86)[1], NFT (425378069291098435/Shannon Sharpe's Playbook: Baltimore Ravens vs. Oakland Raiders - January 14, 2001 #124)[1], NFT
                                   (528333723037815256/Shannon Sharpe's Playbook: Baltimore Ravens vs. Denver Broncos - December 31, 2000 #96)[1], NFT (530738666159373169/Earl Campbell's Playbook: Houston Oilers vs.
                                   Chicago Bears - November 16, 1980 #153)[1], NFT (562685672355440430/Commodities #3 of 5)[1], NFT (565564725257234741/Earl Campbell's Playbook: Rice vs. Texas - October 1st, 1977 #115)[1],
                                   NFT (569911059036585108/AI-generated landscape #205)[1], PAXG[.00000014], SHIB[2], SOL[0], USD[13.92], USDT[0.00000001], YFI[0]
07824209                           USD[0.00]

07824218                           BTC[0.01278720], ETH[.09190801], ETHW[0.29035055], MATIC[199.8], SOL[11.80187437], USD[149.63], USDT[0]
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                                                                                                                                            Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07824224                              USD[3.02]

07824235                              SOL[0.00052442]

07824240                              BTC[.00007678], ETH[.00003494], ETHW[.02803494], LTC[.00134894], USD[172.18]

07824246                              BTC[.00087951], CUSDT[1], USD[0.00]                                                                                                                                               Yes

07824248                              SOL[4.9955], USD[300.00]

07824254                              USD[400.00]

07824260                              USD[2.93]

07824274                              NFT (444559177795416587/Bahrain Ticket Stub #1706)[1], USD[0.00], USDT[0]

07824277                              SOL[.08677], USD[0.51]

07824278                              NFT (487162266672325543/SBF Hair & Signature #2 #137)[1]

07824280                              LINK[445.25688424], USD[0.00]                                                                                                                                                     Yes

07824284                              SOL[.00729], USD[1.63]

07824285                              USD[4.85]

07824291                              BTC[.0173], NFT (552020350509574448/Entrance Voucher #2677)[1], SOL[.00876555], USD[1159.15]

07824293       Contingent, Disputed   AUD[0.00], CAD[0.00], CHF[0.00], EUR[0.00], GBP[0.00], HKD[0.00], SGD[0.00], TRY[0.00], USD[0.19], USDT[0], ZAR[0.00]

07824295                              CUSDT[1], GRT[1.00367791], USD[0.00]                                                                                                                                              Yes

07824297                              USD[0.52]

07824299                              ETH[.00000001], ETHW[0], USD[0.00]

07824303                              USD[1454.28]

07824308                              SOL[0], USD[0.01]                                                                                                                                                                 Yes

07824310                              ETH[.017], ETHW[.017], USD[12.57]

07824313                              USD[0.61]

07824318                              USD[10.00]

07824319                              BTC[.01159296], USD[194.81], USDT[0]

07824323                              LTC[0], USD[0.00]

07824325                              NFT (416983840186430185/Miss NFT)[1], USD[5.00]

07824332                              DOGE[1], MATIC[.00313303], USD[0.00]                                                                                                                                              Yes

07824333                              ETHW[0.78252628], LINK[.00000001], MATIC[.00000001], NEAR[6.36047146], SHIB[2], USD[0.00]                                                                                         Yes

07824334       Contingent, Disputed   ALGO[0], AVAX[0], BTC[0], ETH[0], SOL[0], USD[0.00], USDT[0]                                                                                                                      Yes

07824337                              USD[0.00]

07824357                              BRZ[1], DOGE[4], SHIB[1309808.59514339], SUSHI[710.63178888], TRX[2], USD[0.00]                                                                                                   Yes

07824369                              BTC[.00004905], ETH[11.58272506], USD[1252.48]

07824385                              BTC[.00009931], CUSDT[1], ETH[0.00046585], ETHW[0.00046585], USD[0.00]                                                                                                            Yes

07824393                              CUSDT[1], USD[0.00]

07824394                              ETH[.00000001]

07824407                              TRX[4334], USD[0.02]

07824410                              USD[0.99]                                                                                                                                                                         Yes

07824418                              BTC[.9], SOL[24.03595], USD[22.14]

07824422                              ETH[0.00193982], USD[317.07]

07824429                              BRZ[2], BTC[.00163062], CUSDT[655.78467627], DOGE[73.1094409], ETH[.02828044], ETHW[.02792476], EUR[15.71], LINK[1.04205564], SHIB[1233958.80828949], SOL[.64602351],             Yes
                                      TRX[136.49501058], USD[51.88], USDT[10.83169031]
07824449                              CHF[0.00], USD[0.00]                                                                                                                                                              Yes

07824470                              EUR[0.00], SOL[.04100391]

07824472                              USD[0.41]                                                                                                                                                                         Yes

07824474                              BTC[0], ETH[0], GRT[5.30294956], SOL[0.00138564], USD[0.00], USDT[0.23883308]

07824475                              NFT (517413880424773481/Don't ask.)[1], NFT (576036610237073009/Oil price after lockdown)[1], SOL[.00000001], USDT[0]

07824479                              BF_POINT[400], BTC[.00000001]                                                                                                                                                     Yes

07824480                              BTC[0], ETH[0], SOL[.0800765], USD[0.00], USDT[0.87476518]

07824484                              BTC[.00005144], DOGE[.94672566], ETH[.06217237], ETHW[.06217237], LINK[17.35847083], USD[0.00]

07824489                              BRZ[1], DOGE[2242.96468578], TRX[1], USD[0.11]                                                                                                                                    Yes

07824490                              BAT[.00037346], BTC[0], USD[0.00], USDT[0.00623280]                                                                                                                               Yes

07824493                              SOL[.00000002]

07824494                              ETH[0], USD[0.00]

07824495                              NFT (294165453352847335/GSW Western Conference Finals Commemorative Banner #704)[1], NFT (420845147956345891/Warriors Foam Finger #233 (Redeemed))[1], NFT
                                      (424983292431655773/Warriors Hoop #422 (Redeemed))[1], NFT (425469014517430338/GSW Western Conference Finals Commemorative Banner #702)[1], NFT (431414890580652079/GSW Western
                                      Conference Semifinals Commemorative Ticket #332)[1], NFT (444427973315086242/GSW Round 1 Commemorative Ticket #306)[1], NFT (461853868250599208/GSW Western Conference Finals
                                      Commemorative Banner #701)[1], NFT (483030097326109119/GSW Western Conference Finals Commemorative Banner #703)[1], NFT (497448618807875701/GSW Western Conference Semifinals
                                      Commemorative Ticket #333)[1], NFT (498313127318644417/GSW Championship Commemorative Ring)[1], NFT (540710639405225202/GSW Championship Commemorative Ring)[1], USD[0.04]

07824498                              BTC[0.00089892], USD[0.00]

07824502                              GRT[23], LINK[.05], PAXG[.001], UNI[.5], USD[0.62], USDT[6.743769]
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                                                                                                                                            Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07824503                              CUSDT[2], DOGE[1], SHIB[2], USD[0.01]                                                                                                                                                     Yes

07824510                              CUSDT[2], USD[0.00]                                                                                                                                                                       Yes

07824512                              BTC[0], MATIC[0], USD[0.23]

07824531                              USD[1000.00]

07824551                              BTC[0], USD[202.86]

07824552                              NFT (525295232932245218/Microphone #4322)[1]

07824556                              SUSHI[91.29929052]                                                                                                                                                                        Yes

07824558                              BRZ[1], CUSDT[4], DOGE[3], SHIB[1], TRX[3], USD[0.01]                                                                                                                                     Yes

07824560                              BAT[1.014821], CUSDT[1], DOGE[1], MATIC[445.79596579], TRX[1], USD[0.00]                                                                                                                  Yes

07824563                              CUSDT[1], SOL[3.40741236], USD[0.00]                                                                                                                                                      Yes

07824567                              ETH[1.09445171], ETHW[.82141825], GRT[2074.105], SUSHI[146.477725], USD[0.12]

07824569                              BTC[0], DOGE[1000.21235], ETHW[6.6134556], GRT[696.33785], LINK[91.46827], MATIC[1712.09043074], SHIB[12092020], SOL[89.53414682], USD[0.00], USDT[52.75128775]

07824571                              BTC[.0257742], ETH[5.374712], ETHW[5.374712], NFT (344239814241458325/Astro Stones #37)[1], NFT (476453723228791786/Marcus Allen's Playbook: Seattle Seahawks vs. Los Angeles Raiders -
                                      October 7, 1984 #49)[1], SOL[37.91243723], USD[67.80]
07824582                              SHIB[3988827.04141348], SUSHI[4], USD[0.71]

07824595                              USD[178.87]

07824597                              BRZ[142.60239127], CUSDT[7], DAI[27.23715107], DOGE[107.63474106], LTC[.60650592], SUSHI[2.36134317], TRX[240.38694653], USD[0.00]                                                        Yes

07824598                              CUSDT[1], MATIC[0], USD[0.00]                                                                                                                                                             Yes

07824613                              USDT[.9490953]

07824617                              SOL[10.24], USD[81.95]

07824637                              USD[24.22]

07824644                              USD[0.01], USDT[0.00241100]

07824647                              NFT (406020289408450984/LIFE IS A WAVE)[1], NFT (539165571363466536/COSMIC WAVE BLUE)[1], NFT (551411813821033112/COSMIC WAVE GREEN)[1], USD[1.17]

07824649                              ETH[.00012406], ETHW[.00012406], USD[3.45]

07824651                              BTC[.0055984], ETH[.012991], ETHW[.012991], USD[18.99]

07824656                              BTC[.0000563], ETH[.0839677], ETHW[.0839677], USD[2.15]

07824659                              ETH[.000875], ETHW[.000875], USD[2.01]

07824667                              BTC[.00023037], CUSDT[1], NFT (295094363569884174/#5673)[1], NFT (352071378551191814/#3763)[1], NFT (463457506382084800/Caketastic Cakes)[1], NFT (521236891763215742/DOGO-IN-500 Yes
                                      #3018)[1], NFT (528445840269071614/DOTB #7551)[1], NFT (541158174134176133/#6722)[1], NFT (572295316998686221/Molly Water #11)[1], SHIB[3], SOL[.08950565], TRX[1], USD[0.69]

07824675                              BTC[.000091], ETHW[.0025571], USD[4836.34]

07824678                              BTC[.0000984]

07824680                              USD[2.66]

07824683                              USD[0.00]

07824685                              BTC[.00034], LINK[3.7962], SOL[2.30530425], USD[0.01], USDT[1.71957453]

07824686                              LTC[.00429], USD[6.48], USDT[0.00000001]

07824687                              BCH[.07256773], BRZ[1], BTC[.00907253], CUSDT[4], DOGE[617.9064709], ETH[.05197758], ETHW[.05133462], LTC[.17934917], NFT (563327609060497229/FTX - Off The Grid Miami #1050)[1],         Yes
                                      SHIB[26230156.37260137], SOL[.33628742], SUSHI[2.49779602], TRX[3], USD[0.00], USDT[0]
07824688                              USD[50.00]

07824690                              SOL[0.00059769], USD[0.00]

07824692                              SOL[3.18803759], USD[0.01]

07824696                              ETH[2.4876345], ETHW[2.4876345], SOL[96.8799535], USD[2.36], USDT[.00429]

07824716                              BRZ[2], BTC[.01415283], CUSDT[4], DOGE[1], ETH[.18065484], ETHW[.18041064], SOL[3.30058826], TRX[2], USD[0.03]                                                                            Yes

07824718       Contingent, Disputed   SOL[.00000005]

07824720                              ETH[2.14665415], ETHW[2.14575325], GRT[3030.62832575], LINK[871.81094034]                                                                                                                 Yes

07824722                              SOL[6.20146209], USD[2.32]

07824727                              USD[21.61]                                                                                                                                                                                Yes

07824738                              USD[1.27]

07824744                              BTC[.0000353], SOL[1.3986]

07824747                              LINK[1.42432637], USD[0.00]                                                                                                                                                               Yes

07824754                              AAVE[0], ALGO[0], AVAX[0], BF_POINT[300], BTC[0], DOGE[0], ETH[0], ETHW[0], KSHIB[0], LINK[0], MATIC[0], SHIB[0], SOL[0], SUSHI[0], UNI[0], USD[0.00], YFI[0]                             Yes

07824757                              BTC[.00004869], CUSDT[1401.38672931], NFT (469594216179583036/APEFUEL by Almond Breeze #566)[1], SHIB[1], USD[0.60]                                                                       Yes

07824758                              SHIB[900000], SOL[.98901], USD[1.22]

07824769                              ETHW[.999], LINK[.9], SOL[.874], USD[2049.92]

07824782                              ALGO[0], AVAX[0], BTC[0], ETH[0], ETHW[0], LINK[0], MATIC[177.79610809], NEAR[0], PAXG[0], UNI[34.73997347], USD[0.00], USDT[0]

07824783                              CUSDT[1], ETH[.02417186], ETHW[.02417186], TRX[1], USD[0.00]

07824784                              USD[0.00]

07824798                              AVAX[71.85914871], BAT[.00038335], BRZ[1], BTC[.05660299], CUSDT[10], DOGE[740.80968987], ETH[0.51555599], ETHW[0.51533933], MATIC[369.58816074], NEAR[36.63137153],                      Yes
                                      SHIB[32404995.44117295], SOL[.0006977], TRX[4.00003103], USD[0.01]
07824800                              SOL[31.65], USD[100.28]

07824802                              SHIB[.75], USD[0.00]                                                                                                                                                                      Yes

07824812                              BRZ[1], BTC[0.00000002], CUSDT[2], DOGE[3], TRX[1], USD[0.00], USDT[0]                                                                                                                    Yes
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                                                                                                                                             Customer Claims                                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07824813                              BF_POINT[300], NFT (296603327831847598/Barcelona Ticket Stub #2080)[1], NFT (340528565178211581/Entrance Voucher #27300)[1], NFT (543663267168266421/Australia Ticket Stub #2015)[1],        Yes
                                      USD[93073.03]
07824819                              NFT (351022932794389200/88rising Sky Challenge - Coin #827)[1], NFT (429229838883659515/Series 1: Capitals #1300)[1], NFT (432946686020799669/88rising Sky Challenge - Cloud #336)[1], NFT
                                      (565365228714817136/Series 1: Wizards #1221)[1]
07824820                              BTC[0], MATIC[0], PAXG[0]                                                                                                                                                                    Yes

07824826                              ETH[0.00000001], ETHW[0], SOL[0], USD[0.00], USDT[0.00002994]

07824827                              BTC[.0000274]                                                                                                                                                                                Yes

07824832                              BTC[.0696303], SOL[31.45733054], USD[211.75]

07824843                              USD[12.18]

07824848                              USD[0.73]

07824852                              CUSDT[1], DOGE[1], LINK[0], SHIB[1], USD[0.00]                                                                                                                                               Yes

07824856                              BRZ[1], CUSDT[7], DOGE[2], TRX[1], USD[0.00]                                                                                                                                                 Yes

07824857                              NFT (404758542388041449/Commodities #4 of 5)[1], NFT (414701132588981992/My Avatar #11)[1], NFT (560723595825139823/Swinging)[1], USD[2.00]

07824861                              TRX[352.551277]

07824865                              BTC[0], DOGE[0], ETH[0], NFT (382841877024200896/SolBunnies #2487)[1], SHIB[0], TRX[0.00002800], USD[0.00], USDT[0.00003938]

07824866                              SHIB[4466184.64057847], USD[0.00]

07824867                              BAT[.83592869], BTC[0.00001259], DOGE[163.04129744], ETH[0.00001148], ETHW[0.00126148], KSHIB[0.63594464], LINK[0.00032481], SHIB[0.00335918], SOL[0.01037641], SUSHI[0], USD[0.00],
                                      USDT[0], YFI[0.00000899]
07824868                              NFT (302500951125460804/Entrance Voucher #3772)[1], NFT (350301279971849886/FTX - Off The Grid Miami #5329)[1], NFT (363128308762414831/Miami Grand Prix 2022 - ID: 4FCDA2A3)[1], NFT
                                      (432535984868627848/Bahrain Ticket Stub #66)[1]
07824876                              SOL[0], USD[0.86]

07824886                              AAVE[.98684183], ALGO[51.47156617], AVAX[20.10602903], BAT[.86802356], BCH[1.02043789], BRZ[4], CUSDT[28], DOGE[1024.37362899], ETHW[25.06430841], GRT[1034.79973266],                       Yes
                                      KSHIB[1883.45924233], LINK[.17068772], NEAR[51.41688029], SHIB[2102286.31728956], SOL[.33839885], SUSHI[30.46361323], TRX[1056.23407629], UNI[20.04132652], USD[0.50],
                                      USDT[1.00943233]
07824889                              ETH[.00000001], ETHW[0]

07824890                              ETH[.044955], ETHW[.044955], USD[4.45]

07824894                              USD[10.13]

07824896                              USD[21.70]                                                                                                                                                                                   Yes

07824897                              BTC[.0024511]

07824899                              NFT (323734782629105160/Blue & Red)[1], NFT (537543164809034313/Blue & Yellow)[1], SOL[.20541666], USD[7.85]

07824901                              TRX[34531.000001]

07824915                              USD[0.00]

07824918                              USD[500.01]

07824923                              BRZ[1], BTC[.01117264], CUSDT[1], TRX[1], USD[0.00]                                                                                                                                          Yes

07824927                              SHIB[1], USD[0.00]

07824932                              USD[0.01]

07824937                              ETH[.01231071], ETHW[.01231071], USD[0.00]

07824943                              BTC[.000005], ETH[.0008], SOL[.00233433], USD[0.08]

07824950                              BAT[1], BRZ[.00001789], CUSDT[10], DOGE[6], ETHW[.57683357], SHIB[6], TRX[3.00004909], USD[0.00]                                                                                             Yes

07824955                              USD[1.29]

07824961                              MATIC[20], NFT (289875173568158326/Flea)[1], NFT (357657437945773616/Frogs)[1], NFT (453446637542707188/Totally Worth It)[1], NFT (512800768535519728/Keep Doing It)[1], NFT
                                      (525150126834955456/Sorry, I pooped in the lake)[1], NFT (550894026199766361/So This Is How I Bite It)[1], SHIB[1462490.69767441], SOL[.19483], USD[63.46]
07824967                              AAVE[1.53943425], ALGO[371.34766098], AUD[0.00], AVAX[7.31939629], BAT[403.95047643], BCH[.98360464], BF_POINT[300], BRZ[607.71488480], BTC[0.00594399], CAD[0.00],                 Yes
                                      DAI[106.21876235], DOGE[1768.17572107], ETH[0.08511870], ETHW[17.41306649], EUR[0.00], GBP[0.00], GRT[1460.70128876], KSHIB[11027.00164889], LINK[16.09535041], LTC[2.03450994],
                                      MATIC[148.09253700], MKR[0.12797634], MXN[0.00], NEAR[36.16317853], PAXG[0.06647421], SGD[0.00], SHIB[11031164.04327999], SOL[6.04204047], SUSHI[103.00418206], TRX[1826.40628762],
                                      UNI[19.95788588], USD[989.16], USDT[0], WBTC[.00569701], YFI[0.01550929], ZAR[0.00]
07824968                              BRZ[1], CUSDT[5], DOGE[32.83403121], ETH[.00039276], ETHW[0.00039275], SHIB[173554.59765051], TRX[2], USD[0.01]

07824970                              BRZ[1], DOGE[1], ETH[.10650969], ETHW[.10542773], SHIB[16], SOL[.00048849], TRX[1], USD[226.86]                                                                                              Yes

07824977                              BTC[.0002912], ETH[.00389916], ETHW[.00384444], MATIC[4.38196237], SHIB[2], SOL[.09686629], USD[501.08]                                                                                      Yes

07824987                              ETH[.00000055], ETHW[.0593205], SHIB[1], USD[72.64]                                                                                                                                          Yes

07824990                              USD[25.00]

07824993                              BTC[.00221707]

07825001                              BTC[0.00000025], DOGE[6], ETH[.00000247], ETHW[.00000247], MATIC[.00060309], SHIB[10], SOL[1.0001202], USD[3.59]                                                                             Yes

07825010                              AAVE[.00000001], AVAX[.00000001], BTC[0], ETH[0], MATIC[0], SHIB[399620], SOL[0], TRX[0], UNI[.00000001], USD[0.00], USDT[0.00906466]

07825015                              NFT (475218767070289986/Microphone #394)[1], NFT (518333495980687569/Entrance Voucher #4303)[1], NFT (551122398972528887/Night Light #362 (Redeemed))[1], NFT
                                      (566068732279043224/Cosmic Creations #798 (Redeemed))[1], USD[1.66], USDT[0]
07825021                              SOL[.00046889], USD[0.00]                                                                                                                                                                    Yes

07825026                              USDT[1.9399632]

07825031                              BTC[0.00002208], ETH[0], SOL[0], USD[0.00]

07825032                              BRZ[1], CUSDT[1], DOGE[3], GRT[1.00367791], KSHIB[5835.68576686], SOL[57.90650155], TRX[2], USD[0.00]                                                                                        Yes

07825038                              CUSDT[3], DOGE[.00058505], NFT (513131924457096472/Entrance Voucher #3319)[1], SHIB[1], USD[0.01]                                                                                            Yes

07825043                              USD[20.00]

07825047       Contingent, Disputed   USD[2.70]

07825049                              BRZ[1], CUSDT[13], DOGE[486.66674987], GRT[131.23028725], LTC[.66357831], NFT (357251310809987522/Nifty Nanas #5388)[1], NFT (551080563730524167/Careless Cat #130)[1], TRX[1],              Yes
                                      USD[0.00]
07825056                              USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07825058                              ETH[.00000001], ETHW[0], LINK[80.95871574], USD[0.88]                                                                                                                                  Yes

07825063       Contingent,            BTC[0], ETH[.00000001], ETHW[0], USD[514.01]
               Unliquidated
07825064                              SOL[.06428706], USD[0.01]

07825071                              SOL[0]

07825080                              USD[1.08]                                                                                                                                                                              Yes

07825088                              USD[2.84]

07825096                              BTC[.00007958], USD[0.07]

07825097                              ETH[.02851401], ETHW[.02851401], SHIB[3400000], SOL[0.00434701], USD[2.80]

07825099                              NFT (318670241202566233/FTX - Off The Grid Miami #6989)[1], NFT (322265138130885397/Bahrain Ticket Stub #2388)[1], SOL[.00966]

07825100                              USD[0.00]

07825112                              TRX[.000016], USD[1.72], USDT[4.75000001]

07825113       Contingent, Disputed   BTC[0], USD[0.00]

07825124                              NFT (464019785781711578/Solmug #3)[1], NFT (486304460517084908/Solmug #5)[1], NFT (519422783336027471/Solmug #6)[1], NFT (527571262644825104/Solmug)[1], NFT
                                      (535607751380329099/Solmug #2)[1], NFT (560942722366776248/Solmug #4)[1], USD[0.00]
07825139                              BF_POINT[100]

07825156                              USD[0.00]                                                                                                                                                                              Yes

07825162                              AAVE[0], BTC[0.00242072], ETH[0.09682184], ETHW[0], LINK[0], MATIC[0], SHIB[5], SOL[20.49543626], TRX[1], UNI[0], USD[0.00], USDT[0]                                                   Yes

07825168                              BTC[.00571769], CUSDT[4], DOGE[1], ETH[.08086934], ETHW[.07987278], GRT[49.3600766], MATIC[28.38372842], SHIB[947425.84272853], SUSHI[.93221876], TRX[1], UNI[2.08654548], USD[0.32]   Yes

07825170                              BTC[0], TRX[1]

07825177                              SHIB[1], TRX[180.40271476], USD[0.00]

07825194                              BRZ[1], CUSDT[2], ETH[.00170145], USD[0.00]                                                                                                                                            Yes

07825197                              ETH[.00000001], ETHW[0], NFT (352556498935630761/Mystery Box)[1], SHIB[1], SOL[0], USD[0.00], USDT[0]                                                                                  Yes

07825198                              USD[164.80]

07825211                              USD[0.02]                                                                                                                                                                              Yes

07825212                              BRZ[1], CUSDT[21], DOGE[3], SOL[-0.00000001], TRX[2], USD[0.00]                                                                                                                        Yes

07825219                              USD[109.68]                                                                                                                                                                            Yes

07825227                              BTC[.0007185], CUSDT[4], ETH[.01511081], ETHW[.01491929], USD[0.00]                                                                                                                    Yes

07825245                              BTC[0], USD[0.00]                                                                                                                                                                      Yes

07825253                              NFT (467683359158443877/Entrance Voucher #3149)[1]

07825256                              BTC[.01915054], USD[0.01]                                                                                                                                                              Yes

07825268                              CUSDT[1], USD[0.00]                                                                                                                                                                    Yes

07825285                              BRZ[1], USD[0.00]

07825296                              MATIC[8.18208223], USD[0.00]                                                                                                                                                           Yes

07825308                              BTC[.00490969], CUSDT[2], DOGE[3], ETH[.02137359], ETHW[.02111262], LTC[.17112485], USD[1.00]                                                                                          Yes

07825315                              CUSDT[0], ETH[0], SHIB[0.00000193], USD[0.00]                                                                                                                                          Yes

07825327                              ETH[.00055269], ETHW[.00755269], USD[9.46]

07825347                              BTC[0], SHIB[2], USD[173.06]                                                                                                                                                           Yes

07825352                              BTC[0], USD[0.00], USDT[0.00008066]

07825360       Contingent, Disputed   AVAX[0], BTC[0.00079523], DOGE[42.09121292], ETH[0], LTC[.02309181], MATIC[0], SHIB[0], SOL[0], USD[0.00], USDT[0]                                                                     Yes

07825376                              LTC[.0052219], MATIC[3.76843064], USD[0.54]

07825382                              TRX[25730.644993]

07825383                              CUSDT[8], TRX[131.56280938], USD[0.00]                                                                                                                                                 Yes

07825391                              USD[0.01]                                                                                                                                                                              Yes

07825395                              ETHW[.353], USD[9.17]

07825404                              USD[150.00]

07825406                              USD[0.00]

07825414                              BTC[.00020607], USD[0.00]                                                                                                                                                              Yes

07825417                              CUSDT[1], SOL[4.38809124], USD[0.00]

07825423                              DOGE[3], ETH[.14073692], ETHW[.13976902], SOL[1.09498041], USD[0.00]                                                                                                                   Yes

07825440                              CUSDT[2], DOGE[2], USD[0.00]                                                                                                                                                           Yes

07825441                              BTC[0], USD[3.30], USDT[0]

07825442                              BRZ[0], CUSDT[2], DOGE[0.16003332], TRX[0], USD[4.16]                                                                                                                                  Yes

07825455                              BTC[.00006], USD[0.00]

07825466                              EUR[15.17], GBP[8.71], SHIB[1], TRX[1], USD[0.00]                                                                                                                                      Yes

07825468                              USD[0.00]

07825480                              USD[0.00]

07825488                              NFT (406956055012295016/Miami Grand Prix 2022 - ID: 632BE8E6)[1], SHIB[1], SOL[3.83552102], USD[305.00]                                                                                Yes

07825495                              BTC[.00322105], CUSDT[1], DOGE[557.11653785], TRX[875.49846942], USD[154.24]                                                                                                           Yes
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                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07825499                           BTC[.0000999], USD[0.49]

07825507                           USD[40000.00]

07825514                           BF_POINT[100], BTC[0], CUSDT[0], ETHW[3.8530726], MATIC[0], SHIB[7540087.11766682], USD[0.00]                                                                                         Yes

07825519                           AAVE[.6219595], DOGE[2], USD[0.00]                                                                                                                                                    Yes

07825522                           BTC[.00000311], GRT[0], SOL[.00000001], USD[0.00]                                                                                                                                     Yes

07825525                           BTC[.04762659], LINK[11.5], SOL[1.582866], USD[19.91]

07825528                           BTC[.0000999], DOGE[202.797], ETH[.021], ETHW[.021], SHIB[800000], USD[2.97]

07825540                           BTC[0.00020782], DOGE[0.00000001], KSHIB[0], LINK[0], NEAR[0], PAXG[0], TRX[0], USD[0.00], USDT[0], YFI[0]                                                                            Yes

07825542                           BTC[0.02787425], USD[2.35]

07825544                           AAVE[0], BTC[0], CUSDT[2], LTC[0], SOL[0], TRX[0], USD[0.00]                                                                                                                          Yes

07825546                           USD[0.00]                                                                                                                                                                             Yes

07825547                           CUSDT[1], SOL[.32904063], USD[0.00]                                                                                                                                                   Yes

07825549                           SHIB[3453072.15410836], USD[0.00]

07825550                           ALGO[248.7759], AVAX[12.78848], NEAR[30.67237], SOL[7.383349], USD[200.48]

07825553                           CUSDT[2], DOGE[1], MATIC[32.34344773], SHIB[413484.58149046], TRX[.0008897], USD[0.00]

07825557                           BF_POINT[600]

07825565                           BTC[.0003714], CUSDT[7], DOGE[373.03218153], ETH[.00000112], ETHW[0.00000111], KSHIB[943.26155951], SHIB[2216630.95111771], USD[0.00]                                                 Yes

07825571                           BCH[.07469898], BRZ[1], BTC[.00170081], CUSDT[9], ETH[.01277557], ETHW[.01261141], SOL[.16604252], TRX[1], USD[2.86], YFI[.00064232]                                                  Yes

07825582                           BAT[3.19614477], BRZ[2], CUSDT[9], GRT[1], MATIC[.00593818], TRX[5], UNI[51.71998103], USD[0.00]                                                                                      Yes

07825585                           USD[0.14]

07825598                           BTC[0.00000017], USDT[0]                                                                                                                                                              Yes

07825603                           USD[0.00]

07825605                           SOL[10.15], USD[0.12]

07825607                           USD[0.01]                                                                                                                                                                             Yes

07825611                           ETH[.000508], SOL[0.00585926], USD[0.00]

07825617                           BTC[.0043855], SHIB[1], USD[2.12]                                                                                                                                                     Yes

07825623                           DOGE[1], ETHW[1], SHIB[3], USD[1535.81], USDT[1]

07825625                           USD[25.74]

07825629                           USD[0.00], USDT[0]                                                                                                                                                                    Yes

07825633                           USD[0.02]                                                                                                                                                                             Yes

07825639                           USD[0.00]

07825649                           USD[0.06]

07825651                           BTC[0], ETH[0], ETHW[0.07311703], MATIC[0], NEAR[0], SOL[0], USD[0.00], USDT[0.00007903]

07825663                           USD[0.01]

07825674                           NFT (510178542618791929/HIVE MIND 01)[1], SOL[.02855228], SUSHI[.38402341], USD[0.00]

07825677                           BTC[.00124181], CUSDT[2], ETH[.00330933], ETHW[.00330933], USD[0.01]

07825681                           DOGE[2], ETH[.03883309], ETHW[.03835429], SHIB[115.40483668], USD[0.01]                                                                                                               Yes

07825693                           NFT (407852514188783302/Entrance Voucher #1789)[1], TRX[15837.20732863], USD[0.00]                                                                                                    Yes

07825694                           SOL[.00416561], USDT[550.69168128]

07825696                           SOL[0], USD[0.00]

07825697                           BTC[.00453742], CUSDT[4], DOGE[3], GBP[0.00], USD[0.00]                                                                                                                               Yes

07825705                           USD[0.00]

07825710                           LINK[1.08671497], NFT (563616521196270873/FTX - Off The Grid Miami #827)[1], SOL[1.93922517], TRX[1], USD[0.00]                                                                       Yes

07825711                           USD[1250.00]

07825716                           USD[0.00]

07825726                           ETHW[.74020465], SHIB[1], USD[28.22]

07825731                           SOL[.0048685], USD[0.00]

07825732                           USD[4.39]

07825735                           TRX[.000001], USDT[.3048486]

07825736                           USD[0.00], USDT[0]

07825740                           AVAX[.09087693], MATIC[1], USD[0.58]

07825745                           BTC[0.00003478], SOL[0.00266328], USD[0.00]

07825747                           USD[0.00]

07825759                           BTC[0], USD[817.46]

07825760                           BTC[0.00001654], ETH[.00088955], ETHW[.00088955], SOL[0.00934182], USD[2.02]

07825762                           USD[8.43]

07825764                           NFT (357552572526226823/MagicEden Vaults)[1], NFT (358627260887965940/MagicEden Vaults)[1], NFT (382017900913526474/MagicEden Vaults)[1], NFT (412489210536892522/The Reflection of
                                   Love #1552)[1], NFT (431627680865761038/MagicEden Vaults)[1], NFT (471683717036834268/MagicEden Vaults)[1], NFT (479889127839868956/Medallion of Memoria)[1], USD[0.38]
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                                                                                                                                            Customer Claims                                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07825766                              USD[0.01]                                                                                                                                                                                   Yes

07825772                              DOGE[.00015079], LTC[.00000025], MATIC[3.98224181], SHIB[6616.37370085], USD[0.00]                                                                                                          Yes

07825781                              SOL[0]

07825787                              NFT (415973468010655522/Sol G.O.A.T.)[1], NFT (458588377827686016/Sol Animals)[1], USD[0.00]

07825789                              USD[2.25]

07825792                              USD[1.05]

07825794                              ETH[0], SOL[0], USD[0.00]

07825804                              BCH[.01258362], CUSDT[8], DOGE[226.07823716], LTC[.32935524], NFT (333101599052950897/LINES #2)[1], USD[2.38]                                                                               Yes

07825805                              SOL[.00315], USD[9.51]

07825809                              SOL[.00000021], USD[0.00]

07825817                              NFT (290617073342536780/Bagel#1)[1], NFT (505607678129850768/Bahrain Ticket Stub #693)[1], SOL[.00000001], USD[0.00], USDT[0]

07825818                              USD[0.09]                                                                                                                                                                                   Yes

07825822                              TRX[2465.1573528], USD[0.00]

07825825                              CUSDT[1], DOGE[1], LINK[2.28635362], NEAR[11.24662062], SHIB[2], USD[0.00], USDT[0.00000001]                                                                                                Yes

07825834                              USD[0.00]

07825835                              NFT (457624214715680871/Imola Ticket Stub #1048)[1]

07825844                              BTC[.00010224], MATIC[.00246981], USD[0.00]                                                                                                                                                 Yes

07825849                              ARS[0.00], BTC[0], CHF[0.00], ETH[0], ETHW[0], HKD[0.00], KSHIB[0], MATIC[0], MXN[0.00], NFT (306287259532838779/KALI GOLDx #4)[1], NFT (317059471939976193/KALI GOLDx #3)[1], NFT
                                      (333029853335399350/NFT GOLD KYOGODx #3)[1], NFT (365274337953380255/NFT GOLD KYOGODx #2)[1], NFT (406328830692404400/KALI GOLDx #2)[1], NFT (458910397144860788/NFT
                                      GOLD KYOGODx)[1], NFT (466454468217607682/KALI GOLDx)[1], SGD[0.00], SHIB[0], SOL[.154], USD[0.18], USDT[0], YFI[0]
07825854                              BCH[0], BTC[0], CUSDT[11], DOGE[0], TRX[2], USD[0.32]                                                                                                                                       Yes

07825864                              CUSDT[4], ETH[.00000077], ETHW[.00000077], TRX[3], USD[0.00]                                                                                                                                Yes

07825874                              SOL[2.289], USD[11.57]

07825881                              BTC[0], SOL[0], USD[0.00]

07825884                              USD[2.69]

07825887                              CUSDT[2], USD[0.00]                                                                                                                                                                         Yes

07825889                              USD[6.20]

07825896       Contingent, Disputed   SOL[4.1778625], USD[306.71]

07825898                              BTC[.00000901], USD[10724.61]                                                                                                                                                               Yes

07825907                              USD[200.01]

07825921                              AAVE[0], ALGO[0], AVAX[0], BAT[0], BF_POINT[300], BRZ[0.00005722], BTC[0], CAD[0.00], DOGE[0], LINK[0], LTC[0.00004280], MATIC[0], MKR[0], SHIB[11], SOL[0], USD[0.00], USDT[0.00000962],   Yes
                                      YFI[0]
07825925                              USD[0.36]

07825928                              BAT[1], BTC[1.00557002], DOGE[1], SHIB[1], USD[0.00], USDT[0]                                                                                                                               Yes

07825933                              ETH[.1], ETHW[.1]

07825936                              NFT (291636637164402730/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #81)[1], NFT (312177667648350715/Hall of Fantasy League #147)[1], NFT                    Yes
                                      (345927980470673798/Hall of Fantasy League #148)[1], NFT (352622005989290038/Bevel Boy #043 - Vegan)[1], NFT (363225629236292173/Earl Campbell's Playbook: LA Rams vs Houston Oilers -
                                      September 4th, 1978 #14)[1], NFT (369804819438382527/Psychedelic Princess Kayla)[1], NFT (387624822374763767/Tim Brown's Playbook: San Diego Chargers vs. Los Angeles Raiders - September
                                      4, 1988 #36)[1], NFT (401162167506842988/Shannon Sharpe's Playbook: Baltimore Ravens vs. Oakland Raiders - January 14, 2001 #50)[1], NFT (403262590050012861/Shannon Sharpe's Playbook:
                                      Baltimore Ravens vs. Denver Broncos - December 31, 2000 #30)[1], NFT (417860842294657675/Doak Walker's Playbook: Cleveland Brown vs. Detroit Lions - December 27, 1953 #79)[1], NFT
                                      (420200318042790655/Dolla Bills)[1], NFT (422626587118613633/Marcus Allen's Playbook: Los Angeles Raiders vs. Washington - January 22, 1984 #64)[1], NFT (429950506130192414/Tim Brown's
                                      Playbook: New York Jets vs. Oakland Raiders - December 2, 2002 #45)[1], NFT (435585918697901218/Bevel Boy #022 - Hellboy)[1], NFT (444016081937617945/Marcus Allen's Playbook: USC vs.
                                      Washington - November 14, 1981 #54)[1], NFT (445555375794860859/Bevel Boy #041 - India )[1], NFT (463493444364463334/Tim Brown's Playbook: San Diego Chargers vs. Los Angeles Raiders -
                                      September 4, 1988 #42)[1], NFT (477551537672771816/Tim Brown's Playbook: Kansas City Chiefs vs. Oakland Raiders - December 9, 2001 #34)[1], NFT (500816950610541158/Hall of Fantasy League
                                      #145)[1], NFT (517784867713562517/The Exchange of Kings (2021))[1], NFT (535360151130426218/Bevel Boy #020)[1], NFT (557238064493895586/James Harden Drawing #1)[1], NFT
                                      (565665702883013371/Anime Fan Art #1)[1], NFT (567204632625378024/Chosen One)[1], NFT (573447870363305496/Los Angles )[1], SHIB[1], SOL[1.72796232], USD[0.00], USDT[0.00000001]

07825950                              USD[40.31], USDT[0]

07825958                              NFT (296018380291893261/Acid rauss #51)[1], NFT (308751692085940392/Ravager #984)[1], NFT (309824858551463992/Ravager #1865)[1], NFT (317002926419940971/Ancient Civilization #23)[1],      Yes
                                      NFT (321900393707522854/Ravager #1753)[1], NFT (324660843904248905/Roamer #596)[1], NFT (325285407884252441/Ravager #1406)[1], NFT (325728911376825677/Abstract Artillery #23)[1],
                                      NFT (357058942742160303/Mob cats collection #238)[1], NFT (365535393971340722/Ravager #965)[1], NFT (388515376559584148/My favorite flower. #4)[1], NFT (398752395650715745/Mob cats
                                      collection #103)[1], NFT (403026449076142590/Abstract Artillery #8)[1], NFT (403924587307027908/Acid rauss #46)[1], NFT (410418435506063834/Mob cats collection #102)[1], NFT
                                      (410668896323430880/SickintheGulliver Collection #12)[1], NFT (415931758534208837/Ravager #1253)[1], NFT (424452698306955106/Mob cats collection #227)[1], NFT
                                      (426602338869206688/Ravager #1908)[1], NFT (427400865652009186/Ancient Civilization #24)[1], NFT (428420734317967177/Chick #13)[1], NFT (473680103871998469/Ravager #480)[1], NFT
                                      (476157419476747210/Mob cats collection #256)[1], NFT (477046276859341171/Chick #12)[1], NFT (482413301365598253/Mob cats collection #43)[1], NFT (496083581733790042/Ravager #647)[1],
                                      NFT (496137502359400909/Mob cats collection #236)[1], NFT (497420460986914454/Mob cats collection #213)[1], NFT (500281640872458192/Chick #15)[1], NFT (505664644360631119/Roamer
                                      #460)[1], NFT (517243186162414846/Elysian - #6570)[1], NFT (541899697794444874/Mob cats collection #71)[1], NFT (542441997824689234/Chick #7)[1], NFT (543000063798896172/Acid rauss
                                      #28)[1], NFT (543360088493951689/Acid rauss #37)[1], NFT (554491515658597812/Chick #10)[1], NFT (556826111917775035/Ravager #1942)[1], NFT (558486686742622314/Roamer #638)[1], NFT
                                      (565165384325643602/Abstract Artillery #9)[1], NFT (566034769174773912/Chick #4)[1], NFT (569449657500071892/Chick #8)[1], NFT (571624811486323938/Ravager #1473)[1], SHIB[0],
                                      SOL[0.10242771], TRX[1], USD[0.00]
07825968                              AVAX[59.74618], NEAR[359.87582], USD[6.45]

07825977                              BTC[0], DOGE[0], ETH[.00000001], LTC[0], MATIC[0], SHIB[2], SOL[0.00000001], TRX[.000291], USDT[0.00014008]                                                                                 Yes

07825992                              BAT[0], TRX[.00053283], USD[0.00]                                                                                                                                                           Yes

07825999                              SOL[0], TRX[49.11695084], USD[0.00], USDT[0]

07826012                              USD[20.91]

07826014                              USD[0.00]                                                                                                                                                                                   Yes

07826017                              USD[0.00]

07826038                              CUSDT[13], DOGE[1], MATIC[21.89835424], TRX[3], USD[14.42], USDT[204.65144332]                                                                                                              Yes

07826045                              BTC[0.13523782], ETH[.29278055], ETHW[.29278055], SOL[.8687745], USD[1.50]
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                                                                                                                                            Customer Claims                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07826060                              BTC[.00028697], CUSDT[1], DOGE[72.52923035], ETH[.00251324], ETHW[.00248588], SHIB[110657.57817678], USD[0.00], USDT[0.00004876]                                          Yes

07826063                              BTC[0], USD[0.00], USDT[0]

07826072                              BRZ[1], CUSDT[18], DOGE[4.00844723], SHIB[1], TRX[3], USD[0.00], USDT[0]                                                                                                  Yes

07826082                              BTC[0], SOL[0], USD[2.05]

07826092                              USD[0.00]

07826113                              AAVE[.22442523], AVAX[.36113706], BTC[.002473], DOGE[1], MKR[.02815542], SHIB[9], TRX[1], UNI[3.13946306], USD[0.00], YFI[.00483105]                                      Yes

07826127                              USDT[0]

07826129                              SOL[.00030038], USD[0.00]

07826131                              BAT[4], BRZ[14], DOGE[32], GRT[4], LINK[1], SHIB[32], TRX[21], UNI[2], USD[1032.37]

07826147                              SOL[.00000001]

07826162                              SOL[.2], USD[0.18]

07826163                              SHIB[2897100], SOL[.00121], USD[3025.11]

07826170                              DOGE[44.16062317], USD[0.00]                                                                                                                                              Yes

07826174                              AAVE[.24815979], CUSDT[2], DOGE[34.11366287], USD[0.00]                                                                                                                   Yes

07826205                              BTC[0]

07826214                              USD[20.00]

07826221       Contingent, Disputed   USD[35.43]

07826235                              ETH[0], TRX[2], USD[0.00], USDT[0.00000001]                                                                                                                               Yes

07826241                              BTC[0.03274168], DOGE[2], ETH[0], MATIC[4.00071580], SHIB[23], SOL[3.00052300], TRX[5], USD[0.00], USDT[0.00006598]                                                       Yes

07826243                              USD[0.16]

07826257                              BRZ[27.9748], KSHIB[179.838], USD[0.05]

07826258                              BTC[0], DOGE[.69433096], SUSHI[0], USD[0.00], USDT[0]                                                                                                                     Yes

07826259                              USD[0.00], USDT[.2527911]

07826262                              AAVE[0], ALGO[8.42749921], BAT[210.28577986], BRZ[25.58417003], DOGE[2160.51719344], ETH[.00000001], GRT[299.55200842], KSHIB[1873.86015582], LINK[6.62039788], LTC[0],   Yes
                                      MATIC[94.22997456], SHIB[5714923.50796856], SOL[0], SUSHI[30.52086105], TRX[671.45881715], USD[0.00], USDT[0]
07826264                              NFT (298573459395715186/Entrance Voucher #5115)[1]

07826265                              BTC[.02303527], SHIB[3], USD[367.07]                                                                                                                                      Yes

07826278                              USD[0.00]

07826284                              USD[5.48]                                                                                                                                                                 Yes

07826286                              DOGE[8], TRX[44.000001], USDT[0]

07826289                              BAT[2.0021919], BRZ[4], BTC[.00000189], CUSDT[24], DOGE[8.00792429], ETH[0], GRT[6.04353393], SHIB[1], SUSHI[1.05786688], TRX[11], USD[0.04], USDT[0]                     Yes

07826295                              GRT[2.04745824], USD[0.01]                                                                                                                                                Yes

07826298                              CUSDT[1], USD[0.00]                                                                                                                                                       Yes

07826301                              USD[2.05]

07826302                              NFT (494271692143692662/Romeo #1440)[1]

07826321                              USD[0.00]

07826322                              CUSDT[1], LINK[1.97964164], SOL[.30364849], TRX[1], USD[0.08]                                                                                                             Yes

07826324                              USD[0.00]

07826325                              NFT (356343672885510148/Series 1: Capitals #195)[1], NFT (500312000010794269/Series 1: Wizards #175)[1], SHIB[453405.31820981], SOL[1.82577819], USD[0.00]                Yes

07826331                              CUSDT[754.10318989], TRX[0], USD[0.00]                                                                                                                                    Yes

07826335                              USD[16.20]

07826347                              USD[0.00]

07826365                              CUSDT[3], DOGE[1], TRX[.1073416], USD[0.01]                                                                                                                               Yes

07826373                              NFT (403139985922423404/Bahrain Ticket Stub #1447)[1], NFT (571208486440137817/Entrance Voucher #3425)[1], SOL[0.00002848], USD[0.00]

07826382                              SOL[.00326959], USD[0.00]                                                                                                                                                 Yes

07826383                              AAVE[14.985], AVAX[44.09796883], DOGE[2], ETH[2], GRT[1], SOL[162], TRX[1], USD[3107.54], USDT[81.12955479]

07826384                              SHIB[1], TRX[1], USD[37.72]                                                                                                                                               Yes

07826407                              SOL[.0630365]

07826410                              ETHW[2.34131391]                                                                                                                                                          Yes

07826420       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07826428                              MKR[.000886], NFT (448973941595037490/Saudi Arabia Ticket Stub #288)[1], SOL[.00273], TRX[.000001], USD[0.72], USDT[0.00000001]

07826453                              NFT (356088524050030751/Good Boy #10445)[1]

07826455                              NFT (374710714780631250/FTX - Off The Grid Miami #1236)[1]

07826462                              USD[0.01]

07826467                              BTC[0], ETH[0], LINK[0], PAXG[0], SHIB[5034.84670033], SOL[0], TRX[0], USD[0.00]                                                                                          Yes

07826468                              SOL[.18166128], USD[0.00]

07826469                              CUSDT[1], DOGE[1], SUSHI[.00059483], USD[66.13]                                                                                                                           Yes

07826480                              BTC[0], ETH[0], USD[0.00], USDT[0.17309734]

07826482                              BAT[1], BTC[0.00400636], CUSDT[6], DOGE[3], ETH[.00000791], ETHW[.00000791], SOL[48.87526334], TRX[1], USD[0.00], USDT[1.08061886]                                        Yes
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                                                                                                                                            Customer Claims                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07826483                              BRZ[1], SOL[34.54156015], SUSHI[1.09405366], USD[0.00], USDT[5445.62795759]                                                                                                  Yes

07826486                              SOL[1.37439761], USDT[1.27561126]

07826490                              CUSDT[3], SHIB[2], USD[446.30]                                                                                                                                               Yes

07826491                              CUSDT[1], DOGE[2], ETH[0], ETHW[0], GRT[1], SHIB[2], USD[0.00], USDT[0]                                                                                                      Yes

07826494                              ETH[0], ETHW[0], TRX[.000006]

07826519                              USD[109.68]                                                                                                                                                                  Yes

07826524                              CUSDT[1], ETH[.0230868], ETHW[.0230868], USD[0.00]

07826527                              ETH[0], USD[0.00], USDT[0.00000001]

07826528                              SOL[.00000001], USD[0.00], USDT[0]

07826535       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07826538                              ETHW[3.41810668], SOL[0.07071539], USDT[0.00018929]

07826542                              DOGE[310.00347712], USD[0.00]                                                                                                                                                Yes

07826560                              BTC[.0000385], SOL[.00915805], USD[0.11], USDT[.0385008]

07826561                              BAT[1.0165555], BRZ[2], BTC[.00543192], CUSDT[8], DOGE[1], ETH[.05699018], ETHW[.05628101], SHIB[4047321.49352986], SOL[.98133865], TRX[1], USD[0.01]                        Yes

07826562                              BTC[0], SOL[.00000001]

07826565                              ETH[0], ETHW[0], SOL[.24182646], TRX[1], USD[0.00]                                                                                                                           Yes

07826569                              BF_POINT[200]

07826572                              USD[0.02]                                                                                                                                                                    Yes

07826573                              ETH[0], USD[0.00]

07826586                              ETH[.01028854], SOL[.06699438], USD[0.24]                                                                                                                                    Yes

07826595                              SOL[.0094205], TRX[.07755], USD[108.15]

07826609                              USD[0.00]

07826614                              CUSDT[6], ETHW[.02978287], SHIB[2], TRX[2], USD[0.00]                                                                                                                        Yes

07826621                              USD[0.00]                                                                                                                                                                    Yes

07826634                              BF_POINT[200], BTC[.0000623], DOGE[2.47451221], ETH[.00000001], ETHW[.00000001], LTC[.00403807], SOL[0.04607101], USD[0.00]                                                  Yes

07826638                              USD[0.12]

07826642                              CUSDT[1], ETH[.00000128], ETHW[.00000128], USD[0.00]                                                                                                                         Yes

07826648                              CUSDT[1], NFT (455178196175024782/Entrance Voucher #8934)[1], SHIB[1030236.6394056], USD[0.00]                                                                               Yes

07826656                              BTC[.00499312], ETH[.10007298], SOL[4.81295795], USD[101.52]                                                                                                                 Yes

07826657                              USD[0.00]

07826659                              BRZ[1], TRX[1], USD[0.00]

07826661                              USD[0.76]

07826669                              SOL[0], USD[0.22]

07826670                              SOL[.00000001], USD[0.00]                                                                                                                                                    Yes

07826671                              ETHW[1.17763615], USD[0.45]

07826673                              DOGE[1648.02228775], SHIB[48568679.37415936], USD[100.64]                                                                                                                    Yes

07826680                              BAT[1.0165555], CUSDT[24], DOGE[12.62196628], MATIC[.00034784], SHIB[1], SOL[.00001424], TRX[9.000003], USD[0.00], USDT[0.00135677]                                          Yes

07826681                              BTC[.1277], USD[0.33]

07826691                              NFT (438205335610324767/Bahrain Ticket Stub #68)[1]

07826698                              SOL[.05], USD[1.05], USDT[3.9397596]

07826701                              ETHW[.58555568], USD[0.00]

07826711                              ETH[.00000001], USD[0.00], USDT[0]

07826718                              CUSDT[3], DOGE[364.25331392], USD[0.00]

07826722                              BTC[.00284955], TRX[1], USD[0.00]

07826726                              SOL[.0126692], USD[0.00]

07826740                              ETH[0], NFT (379525300696671240/Imola Ticket Stub #2472)[1], USD[0.58]

07826748                              NFT (572861658540300860/Microphone #2547)[1]

07826751                              SOL[.00000001], USD[0.00], USDT[0.00000500]

07826754                              USD[0.97], USDT[0.00000033]

07826756                              GRT[28], MATIC[29.86504298], USD[0.00]

07826760                              USD[100.00]

07826770                              USD[0.00]

07826778                              LINK[10.97275828]                                                                                                                                                            Yes

07826781                              CUSDT[1], LINK[3.46653911], USD[0.00]                                                                                                                                        Yes

07826784                              CUSDT[1], USD[0.01]                                                                                                                                                          Yes

07826791                              SOL[.12459198], USD[105.00]

07826799                              BF_POINT[300], BRZ[2], BTC[.81132525], DOGE[2], ETH[5.31881325], ETHW[1.68330294], NFT (418589708146936782/Entrance Voucher #2960)[1], SHIB[15], SOL[41.45620933], TRX[1],   Yes
                                      USD[6012.14]
07826804                              SHIB[1], USD[0.00], USDT[0]
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                                                                                                                                            Customer Claims                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07826812                              BTC[0], ETH[.00002079], ETHW[2.2758263], TRX[1]                                                                                                                            Yes

07826825       Contingent, Disputed   BTC[0.00689784], DOGE[21.86020738], ETH[.0532373], ETHW[.0532373], SOL[2.16995286], USD[1.17], USDT[8.86622595]

07826826                              BAT[1.01655549], BRZ[3], BTC[.00333446], CUSDT[18], DOGE[265.8832981], GRT[239.61461885], SOL[.08229974], TRX[3], USD[0.51]                                                Yes

07826828                              BTC[.0731512], ETH[.69927071], ETHW[.69927071], SOL[35.84132202], TRX[147.852], USD[0.00]

07826833                              BTC[.01063825], USD[0.00]

07826840                              TRX[0.90574627], USD[0.00]

07826847                              BRZ[1], CUSDT[4], DOGE[1], ETH[.00000003], ETHW[.00000003], SOL[.00000073], TRX[1], UNI[.00000432], USD[0.00]                                                              Yes

07826850                              BTC[0], ETH[.43658485], USD[0.01]

07826856                              USD[1.12]

07826860                              BRZ[1], CUSDT[1], ETH[0.15388688], ETHW[0.15314601], USD[545.40], USDT[2.19038707]                                                                                         Yes

07826864                              SOL[0.01183462], USD[-0.05], USDT[0]

07826870                              USD[0.00]

07826872                              USD[0.01]

07826877                              USD[20.00]

07826878                              USD[0.00], USDT[0]

07826891                              NFT (514587689741969666/Entrance Voucher #3351)[1]

07826910       Contingent, Disputed   USD[0.27]

07826917                              USD[17.86]                                                                                                                                                                 Yes

07826920                              CUSDT[1], NFT (445179742983292092/SOLYETIS #3660)[1], SOL[2.48374906], TRX[11288.72997819], USD[0.00], USDT[1.07772137]                                                    Yes

07826922                              ETH[.00006306], ETHW[.00006306], LINK[5.57102659], USD[0.00]

07826925                              USD[0.00]                                                                                                                                                                  Yes

07826936                              NFT (322088079863201482/Entrance Voucher #2044)[1], NFT (496428796639044591/Humpty Dumpty #313)[1]

07826941                              USD[21.51]                                                                                                                                                                 Yes

07826946                              CUSDT[3], DOGE[1], SOL[1.49746481], SUSHI[25.02691876], USD[0.24]                                                                                                          Yes

07826947                              USD[0.01]                                                                                                                                                                  Yes

07826956                              BTC[.00033585], CUSDT[1], USD[0.00]                                                                                                                                        Yes

07826960       Contingent, Disputed   USDT[.1005444]

07826961                              USD[0.00]

07826963                              BTC[.00319626], ETH[.128462], ETHW[.128462], SOL[.7849], USD[64.76], USDT[0.00014111]

07826972                              AAVE[.14357573], BTC[.00502371], MATIC[26.97291614], SUSHI[8.12802472], USD[0.00]

07826979                              USD[0.01], USDT[0]

07826981                              USD[0.00]

07826986                              TRX[.000001]

07826988                              BTC[0], USD[7.15]

07826991                              BRZ[3], CUSDT[5], DOGE[2], ETHW[3.57050681], SHIB[1], SOL[.00000001], USD[9972.61], USDT[2.06593062]                                                                       Yes

07826993                              USD[0.00]

07826997                              BTC[.00144942], ETH[.01204187], ETHW[.01189139], LTC[.08622401], MATIC[9.95663493], PAXG[0.01169367], SHIB[1], SOL[.08291314], USD[0.00]                                   Yes

07826998                              AAVE[0], BAT[0], BRZ[4], BTC[0.00000155], CUSDT[6], DOGE[12.02564618], ETH[0.15741960], ETHW[0.50658174], GRT[4.0013278], LINK[0.00000925], MATIC[0], NEAR[0], NFT         Yes
                                      (510173679054115198/Crystal Face #12)[1], SOL[0], TRX[15], USD[0.00]
07827013                              ETH[2.18902286], ETHW[2.18810345]                                                                                                                                          Yes

07827014                              CHF[0.91], GBP[0.72], SHIB[3], USD[0.58]                                                                                                                                   Yes

07827027                              BTC[.00227087], USD[0.00]

07827042                              USD[0.00]

07827046                              USD[0.00]

07827068                              BTC[0], ETHW[2.57401003], SOL[0.00000001], USD[0.01], USDT[0]

07827071                              SHIB[14287106.11302371], TRX[2], USD[0.00]                                                                                                                                 Yes

07827077                              USD[0.00]                                                                                                                                                                  Yes

07827085                              USD[1000.00]

07827087                              ETHW[.06288239], NFT (484539422872639875/Magic Eden Pass)[1], USD[2.07], USDT[0]

07827091                              ETH[2], ETHW[2], SHIB[100000], USD[2113.62]

07827098                              USD[100.00]

07827113                              USD[0.00]

07827115                              ETH[.97262379], ETHW[.97262379], USD[1.20]

07827123       Contingent, Disputed   BTC[0], USD[0.01], USDT[0]

07827135                              CUSDT[1], DOGE[.00018342], SHIB[1], SOL[35.37290857], TRX[1.00004172], UNI[.00008716], USD[0.01]                                                                           Yes

07827142                              USD[0.00], USDT[0.00018580]

07827145                              AAVE[1.18694574], CUSDT[12], DOGE[.00079851], ETH[.00478253], ETHW[.00472781], NFT (349274011311619893/Charon’s Obol)[1], NFT (378794238754712269/Lost Treasure)[1], NFT   Yes
                                      (470694087218739437/ETHEREUM CHAOS )[1], NFT (478516552599405421/Galaxy Skater )[1], NFT (509177573566939017/Sir Doge)[1], TRX[1.00002886], USD[0.00]
07827154                              USD[55.00]
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                                                                                                                                            Customer Claims                                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07827158                              AAVE[0.00981000], AVAX[0], BTC[0.25324507], ETH[0], ETHW[12.383], GRT[1030], LINK[13.2], LTC[1.72], MATIC[0], MKR[.118], NEAR[28.28537], NFT (394430832284178556/FTX - Off The Grid
                                      Miami #2231)[1], NFT (485067676497822756/Entrance Voucher #21282)[1], SHIB[9000000], SOL[0], SUSHI[0], TRX[1607], UNI[.08613], USD[0.65], YFI[0]
07827159                              NFT (297026809958768026/Sollyfish #3800)[1], NFT (327723387816091649/Invitation: Royal Bears)[1], NFT (333313169194691821/Sollyfish #3647)[1], NFT (334087587705377254/Sollyfish #3435)[1],
                                      NFT (372639918718436637/Sollyfish #4653)[1], NFT (383632475523557092/Sollyfish #4475)[1], NFT (409243798143579146/Sollyfish #4604)[1], NFT (434619098687787580/Sollyfish #3548)[1], NFT
                                      (444429274531613816/Sollyfish #4409)[1], NFT (448419310236524232/Sollyfish #4010)[1], NFT (458787221210221732/Sollyfish #4935)[1], NFT (488387393965255130/Sollyfish #4894)[1], NFT
                                      (501772779979609503/Sollyfish #4823)[1], NFT (513634744895509580/Golden Ticket #4441)[1], SOL[3.1857]
07827161                              BTC[.00006581], USD[0.01]

07827166                              USDT[0.00000130]

07827170                              CUSDT[3], USD[0.13]                                                                                                                                                                           Yes

07827177                              USD[1.08]

07827179                              SOL[.00000001], USD[0.00]

07827186                              CUSDT[1], DOGE[105.39880858], USD[0.00]                                                                                                                                                       Yes

07827193                              SUSHI[0.00543931], USD[0.00]                                                                                                                                                                  Yes

07827194       Contingent, Disputed   USD[0.00], USDT[0]                                                                                                                                                                            Yes

07827201                              USD[15.10]

07827202                              CUSDT[2383.17146162], KSHIB[.31879568], SHIB[1], USD[0.00]                                                                                                                                    Yes

07827205                              SOL[17.595], USD[0.00], USDT[3624.33058969]

07827206                              USD[0.00]

07827213                              MATIC[249.63170215], USD[0.00]

07827218                              USD[0.00]

07827223                              DOGE[2], ETH[.20110043], ETHW[.20088907], USD[0.00]                                                                                                                                           Yes

07827228                              BTC[0], SOL[0], USD[0.15], USDT[0.00000177]

07827238                              BTC[.06187849]                                                                                                                                                                                Yes

07827239                              DOGE[2.00000839], LTC[.00060375], SHIB[13], TRX[1], USD[3.84]                                                                                                                                 Yes

07827243                              SOL[7.93], USD[1.55]

07827244                              USDT[.9929196]

07827253                              CUSDT[1], USD[0.00]                                                                                                                                                                           Yes

07827270                              BTC[.01300465], ETH[.01568537], ETHW[.01549385], LINK[2.34878811]                                                                                                                             Yes

07827285                              CUSDT[3], DOGE[116.59852079], SHIB[384724.53591451], SOL[.17811842], USD[0.05]                                                                                                                Yes

07827288                              ETHW[.618], USD[1656.37], USDT[0]

07827306                              BAT[115.01658732], DOGE[249.15260237], GRT[26.83207425], KSHIB[2203.39359592], SHIB[24263332.9553571], SUSHI[91.71147131], TRX[410.25367044], USD[0.00], USDT[0]                              Yes

07827310                              USD[0.00]

07827316                              ETH[0.00000001], ETHW[0], SOL[0], USD[0.00]

07827318                              DOGE[57.57570539], LTC[.01922709]

07827320       Contingent, Disputed   BF_POINT[200]                                                                                                                                                                                 Yes

07827323                              BTC[.00479458], ETH[.019], ETHW[.019], SHIB[2033768.19056335], USD[2.35]

07827327                              NFT (354856172877342679/Unique NFT 3)[1], NFT (412909594095023945/Unique NFT 2)[1], NFT (510526428058535218/Unique NFT 1)[1], USD[1.13], USDT[0]

07827331                              BAT[2], BF_POINT[300], BRZ[5], BTC[.0000002], CUSDT[4], DOGE[9.01527315], ETH[.22922569], GRT[2], SHIB[10], SOL[.00033346], TRX[12], USD[0.00]                                                Yes

07827333                              BTC[.00162347], SHIB[1020931.37199046], SOL[2.21959452], USD[0.00]

07827334                              BTC[0], SOL[0], USD[0.00]

07827341                              BTC[0], SOL[0], USD[0.00]

07827343                              SOL[.00195], USD[3.18], USDT[0]

07827351                              USDT[.789368]

07827352                              ETH[0], NFT (321166057729138811/Hero #5)[1], NFT (395620968738596043/Bahrain Ticket Stub #1533)[1], NFT (502586722861471086/alien undead #25)[1], NFT (527255935626510634/alien undead        Yes
                                      #22)[1], USD[0.00], YFI[0]
07827353                              CUSDT[6], USD[0.00]                                                                                                                                                                           Yes

07827355                              USD[0.00]

07827359                              CUSDT[2], DOGE[5], NFT (369788723928204315/MagicEden Vaults)[1], NFT (418680934784023520/MagicEden Vaults)[1], NFT (453760345134857945/MagicEden Vaults)[1], NFT
                                      (503149843268463219/MagicEden Vaults)[1], NFT (509976316606125537/MagicEden Vaults)[1], SHIB[1], SOL[1.54372014], TRX[1], USD[18.25]
07827361                              USD[20.00]

07827367                              CUSDT[2], DOGE[1], ETH[0], TRX[0], USD[0.25]                                                                                                                                                  Yes

07827368                              USD[0.00], USDT[3.49002533]

07827382                              ETH[0.00010695], ETHW[0.00010695], SOL[0.00000095], USD[0.00]

07827385                              ETHW[8.101233], SOL[.00427], USD[0.72]

07827387                              USD[0.18]

07827389                              USD[100.00]

07827399                              BTC[0], ETH[.00000001], ETHW[0], USD[0.00]                                                                                                                                                    Yes

07827404                              USD[0.00], USDT[0]

07827416                              USD[0.54]

07827417                              USD[0.00]                                                                                                                                                                                     Yes

07827419                              USD[21.51]                                                                                                                                                                                    Yes

07827423                              ETH[0]                                                                                                                                                                                        Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07827428                              BTC[0], DOGE[0], ETH[0], SOL[0], TRX[0], USD[0.00], USDT[0]

07827430                              USD[0.00]

07827431                              BRZ[2], CUSDT[2], DOGE[1], GRT[1212.80624349], MATIC[10693.58238447], SHIB[1], USD[0.00]                                                                                                    Yes

07827435                              BTC[.00006], DOGE[1504.5708], USD[124.03]

07827439                              DOGE[1], USD[0.01]

07827443                              CUSDT[1], ETH[.00000034], ETHW[.03646672], TRX[1], USD[0.01]                                                                                                                                Yes

07827444                              SOL[.001102], USD[0.01]

07827447                              DOGE[2.00021837], TRX[1], USD[0.00], USDT[0]                                                                                                                                                Yes

07827452                              CUSDT[982.09748669], DOGE[90.83724409], SHIB[443804.74421148], USD[0.00]                                                                                                                    Yes

07827455                              AAVE[0], AVAX[0], BAT[0], BCH[0], BTC[0], DAI[0], DOGE[2], ETH[0.00000001], GRT[0], KSHIB[0], LINK[0], MATIC[0], MKR[0], NFT (291696904804625743/Cool Bean #3873)[1],                       Yes
                                      SHIB[18680.93351943], SOL[0], SUSHI[0], TRX[2], USD[0.00], USDT[0.00000008], YFI[0]
07827463                              BAT[114.25937039], BF_POINT[200], BRZ[1], DAI[0], DOGE[28.50303941], ETHW[4.48956043], LINK[88.4795748], LTC[.0000412], MATIC[.02015544], SHIB[28], SUSHI[.00007704],                       Yes
                                      TRX[1478.85756796], USD[0.01], USDT[0]
07827467                              SHIB[1098955], USD[2.03]

07827473                              BRZ[1], USD[0.00]

07827483                              BF_POINT[300], ETHW[2.02824084], USD[2049.28]                                                                                                                                               Yes

07827485                              SOL[.9954223], USD[0.00], USDT[0.00000128]

07827488                              CUSDT[3], NFT (486483534942644204/FTX - Off The Grid Miami #2006)[1], SHIB[1135201.41783729], USD[0.00]                                                                                     Yes

07827492                              AAVE[1.52523615], TRX[1]

07827493                              USD[0.00]

07827495                              SOL[0], TRX[.000001], USD[0.00], USDT[0]

07827499                              CUSDT[2], DOGE[1], TRX[1], USD[0.00]                                                                                                                                                        Yes

07827504                              BTC[0], ETH[0], SOL[10.74507831], USD[0.00]

07827519                              USD[1.46]

07827521                              BF_POINT[700], BTC[0.00087531], SOL[.008955], TRX[.000231], USD[4.86]

07827527                              USD[0.00]                                                                                                                                                                                   Yes

07827529                              MATIC[5.53281164], USD[0.00]

07827534                              ETH[.00000001], ETHW[0], SOL[.00000001], USD[0.00], USDT[0.00000001]

07827535                              CUSDT[1], DOGE[1], SOL[0], USD[0.00]                                                                                                                                                        Yes

07827538                              ETH[0], ETHW[0], USD[0.00]

07827550                              CUSDT[4.00028994], MATIC[0], USD[0.00]                                                                                                                                                      Yes

07827551                              AAVE[0.00065152], ALGO[1.01033891], AUD[0.07], AVAX[0.00279301], BAT[1.01000000], BCH[0.00057406], BRZ[1], BTC[0.00000316], CAD[0.07], CHF[0.06], CUSDT[2.79199667], DAI[0.05314383],
                                      DOGE[1.01000000], ETH[0.00005273], ETHW[0.00007442], EUR[0.07], GBP[0.00], GHS[1.03], GRT[2.09645301], HKD[1.18], JPY[22.41], KSHIB[4.52794375], LINK[0.00704808], LTC[0],
                                      MATIC[0.00068002], MKR[0.00007838], MXN[1.97], NEAR[0.01281432], PAXG[0.00004223], SHIB[10900.06225775], SOL[0.00153310], SUSHI[0.05000000], TRX[0.00038157], UNI[0.00846705],
                                      USD[0.01], USDT[0.01013028], WBTC[0.00000256], YFI[0.00000590]
07827553                              NFT (405494722761490964/Pink Gem No. 1)[1], NFT (478022630099098502/Gold Flower)[1], USD[10.00]

07827555                              SOL[.099], USD[130.83]

07827556                              CUSDT[1], SHIB[430.06961344], TRX[1], USD[0.01]                                                                                                                                             Yes

07827562                              USDT[0.00047810]

07827563                              AAVE[0], ALGO[0], AUD[0.00], AVAX[0], BAT[0], BRZ[0], BTC[0], CAD[0.00], CUSDT[0], DAI[0], DOGE[0], ETH[0.00000001], ETHW[0], EUR[0.00], GBP[0.00], GRT[0], HKD[0.00], KSHIB[0], LINK[0],   Yes
                                      LTC[0], MATIC[0], MKR[0], NEAR[0], PAXG[0], SGD[0.00], SHIB[0], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00], USDT[0], YFI[0]
07827568                              BAT[2.0108741], BF_POINT[300], BRZ[4], BTC[.00021901], DOGE[0], GRT[5.08904463], MATIC[9.69559837], SHIB[30.71062963], SOL[0.03497143], USD[27201.17], USDT[0.00000951]                     Yes

07827575                              BTC[0], DAI[0], NFT (315241869131145882/FTX - Off The Grid Miami #4982)[1], USD[0.00]

07827579                              BTC[0.02385084], CUSDT[2], TRX[4], USD[6.76]                                                                                                                                                Yes

07827580                              CUSDT[1], SOL[3.34298848], TRX[1], USD[0.21]                                                                                                                                                Yes

07827583       Contingent, Disputed   USD[0.00]                                                                                                                                                                                   Yes

07827585                              USD[0.00], USDT[0.00000065]

07827586                              DOGE[221.52279197], USD[0.00]                                                                                                                                                               Yes

07827591                              BTC[.00073891], NFT (448368628529279603/Fish food)[1], USD[40.02]

07827592                              CUSDT[1], USD[0.00]                                                                                                                                                                         Yes

07827597                              SOL[.00000001]

07827599                              ETHW[.01524135], USD[0.00]

07827601                              CUSDT[1], DOGE[1], TRX[2], USD[0.00]                                                                                                                                                        Yes

07827615                              BTC[0.00044953], ETH[0], SOL[0], USDT[0.00000642]

07827621                              SOL[.0000882], USD[0.00]                                                                                                                                                                    Yes

07827622                              SOL[0.00025366]

07827626                              BTC[.00308153], DOGE[41.97251393], ETH[.03973955], ETHW[.03924707], LINK[2.80099607], NFT (423419047415008534/Space Bums #2701)[1], NFT (501651018495531445/Space Bums #9769)[1], Yes
                                      SHIB[8262.58821626], SOL[.08106827], USD[0.00]
07827639                              NFT (517673079454224506/Warriors Gold Blooded NFT #453)[1]                                                                                                                        Yes

07827642                              USD[0.01], USDT[.009525]

07827644                              BRZ[6.24355202], DOGE[11.02594825], NFT (310656425243326754/Australia Ticket Stub #1463)[1], SHIB[91], USD[0.00]                                                                            Yes

07827645                              USD[0.00]

07827647                              DOGE[1], SHIB[1305142.26050639], USD[0.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07827651                              BRZ[1], DOGE[1], SHIB[1], USD[0.00]

07827653                              SOL[0.04111034]                                                                                                                                                                      Yes

07827654                              USD[55.26]

07827658                              USD[0.11]

07827660                              SOL[0], USD[0.00]

07827664                              ETH[.183816], ETHW[.183816], SOL[.0995], USD[6.06]

07827665                              USD[0.00]                                                                                                                                                                            Yes

07827674                              BTC[0], USD[3.79]

07827679                              USD[107.93]

07827691                              BTC[.00015614], TRX[1], USD[-0.43]                                                                                                                                                   Yes

07827697                              DOGE[253.24275372]                                                                                                                                                                   Yes

07827708                              ETH[0], SOL[0], USD[0.00], USDT[0]

07827712                              USD[10.48]                                                                                                                                                                           Yes

07827722                              GRT[34.3048241]

07827725                              SOL[.00000001], USD[0.00]

07827732                              BAT[544.852], MATIC[578.21], SHIB[16140500], SOL[2.35849], TRX[2151.176], USD[2.70]

07827736                              USD[1.74], USDT[0.00000001]

07827737       Contingent, Disputed   USD[0.00], USDT[0.00000040]

07827738                              SOL[.0053225], USD[0.00]

07827739                              USD[2.06]

07827740                              SOL[.0067605], TRX[.053602], USD[0.00], USDT[0]

07827746                              BTC[.10435264], USD[0.00], USDT[.001276]

07827756                              ETH[.009], ETHW[.009], SOL[.00899], TRX[13.986], USD[0.10]

07827757                              CUSDT[3], DOGE[1], NFT (394067311653006167/FTX - Off The Grid Miami #789)[1], NFT (516492538070486429/FTX - Off The Grid Miami #4383)[1], SHIB[1], TRX[1], USD[0.00], USDT[0]        Yes

07827767                              BAT[1.00993019], BTC[0], CUSDT[20], DAI[0], DOGE[7.00057537], ETH[0], SHIB[2], SOL[0], TRX[11], USD[0.01], USDT[0.00024460]                                                          Yes

07827768                              SOL[.10760495], USD[0.00]

07827769                              USD[0.00], USDT[0]                                                                                                                                                                   Yes

07827774                              SOL[31.24644171], USD[20463.51]                                                                                                                                                      Yes

07827777                              NFT (532460466877550643/FTX - Off The Grid Miami #4868)[1], TRX[.000563], USD[0.01], USDT[10.02000001]

07827782                              BTC[.00075], ETHW[18.96261970]                                                                                                                                                       Yes

07827784                              BTC[.03118008], MATIC[24.10609851], USD[-0.37]

07827793                              ETHW[.306], USD[4.17]

07827796                              USD[0.21]

07827801                              USD[0.00]

07827805                              BAT[38.69125754], CUSDT[3], DOGE[140.02419361], GRT[44.36177906], LTC[.12609214], MATIC[8.67045547], NFT (523707620250785494/CloudNFT Series 1 #38)[1], SUSHI[2.02822005],           Yes
                                      USD[108.44]
07827811                              BTC[0.00161685], DOGE[1503.86159593], LTC[1.33700000], NFT (363507884622910809/Chonk Norris)[1], SOL[0.00888767], USD[257.89]

07827813                              WBTC[0]

07827816                              NFT (338878237355837140/Romeo #668)[1], NFT (420149595505681355/Entrance Voucher #2732)[1]

07827820                              BTC[.00000843], ETH[.000566], ETHW[.000566], SOL[.0068315], USD[0.01]

07827821                              USD[11.07]

07827822                              CUSDT[1], USD[0.01]

07827830                              USD[10.24]                                                                                                                                                                           Yes

07827840                              USD[500.01]

07827844                              SHIB[796487.80307278], USD[0.00]

07827854                              SHIB[.00000969], USD[0.01]                                                                                                                                                           Yes

07827860                              SHIB[1], TRX[2], USD[0.01]                                                                                                                                                           Yes

07827868                              NFT (433051777287012802/PixelPuffins #3860)[1], USD[0.00]

07827872       Contingent,            ETH[0], ETHW[0], USD[602.88]
               Unliquidated
07827877                              BTC[.00221589], CUSDT[2], DOGE[1], KSHIB[1936.92362728], TRX[1870.9126902], USD[0.00]                                                                                                Yes

07827879                              ETH[.00000001], SOL[0], USD[0.00]

07827889                              BRZ[2.06208113], BTC[.00264623], CUSDT[27.19331847], DOGE[346.23143234], ETH[.01601019], ETHW[.01580969], GRT[256.16835855], LINK[9.96902218], TRX[2], UNI[2.77298447], USD[0.00],   Yes
                                      USDT[0]
07827895                              USD[0.00]

07827897                              EUR[0.11], USD[0.00]

07827902                              USD[250.00]

07827908                              SOL[16.2192967]                                                                                                                                                                      Yes

07827911                              BAT[1], DOGE[0], SHIB[1], USD[1369.48], USDT[0]                                                                                                                                      Yes

07827914                              USD[1.86]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07827916                           DOGE[0], USD[0.00]                                                                                                                                                               Yes

07827921                           USD[3.75]

07827938                           BF_POINT[200], ETHW[3.88655189], SHIB[670.86690242], USD[0.00]                                                                                                                   Yes

07827941                           USD[0.00]

07827942                           NFT (362472847471164399/Ferris From Afar #643)[1], NFT (509408740579479846/Reflection '18 #20)[1], USD[5.02]

07827947                           BRZ[1], LINK[.01549601], USD[0.00], USDT[1.05102129]                                                                                                                             Yes

07827957                           ETH[0], ETHW[0.04999400], LINK[.4], MATIC[0], SOL[0], USD[258.52]

07827959                           USD[0.02], USDT[0]                                                                                                                                                               Yes

07827967                           BTC[0], USD[0.00]

07827968                           USD[0.00]

07827991                           SOL[.00597396], USD[0.00], USDT[0.00000171]

07827992                           BTC[.12880759], DOGE[1], GRT[1], SOL[29.78243167], USD[98.98]                                                                                                                    Yes

07827995                           ETHW[.1], USD[0.83]

07827998                           ETH[0.00000001], ETHW[0.00000001], NFT (288676826666738767/Rainbow6 Mint Pass #19)[1], NFT (319622209379637581/#214)[1], NFT (486140562027283157/Wassie 9593)[1], SOL[0]

07828002                           USD[0.00]

07828003                           SHIB[2.31529322], USD[0.00]                                                                                                                                                      Yes

07828013                           ALGO[3.15653671], BCH[0], DOGE[6.63006055], GRT[0], LTC[0.00000001], NFT (558354075039002696/The Hill by FTX #1360)[1], SHIB[15373.42903487], USD[0.00]                          Yes

07828019                           SOL[.06024797], USD[0.09]

07828021                           USD[0.00]

07828036                           USD[21.91]                                                                                                                                                                       Yes

07828038                           USDT[1.7381124]

07828040                           BTC[.1027], USD[0.94]

07828043                           BTC[0], USD[1.93]

07828046                           ETH[0.00000001], ETHW[0], SOL[0.00000001], USD[0.00]

07828049                           USD[0.00]                                                                                                                                                                        Yes

07828054                           DOGE[2], USD[1.81]                                                                                                                                                               Yes

07828060                           ALGO[.64], DOGE[.2], NFT (447109117427160323/Entrance Voucher #2015)[1], USD[2.75]

07828070                           ETH[.00045628], ETHW[.00045628], USD[0.00]

07828071                           BRZ[2], SHIB[33], TRX[9], USD[0.01]                                                                                                                                              Yes

07828079       Contingent,         LTC[.0083], USD[0.00], USDT[.00873955]
               Unliquidated
07828085                           USD[6.00]

07828107                           BTC[.00063579]

07828113                           USD[0.01]

07828116                           BTC[0], USD[7.15]

07828128                           BTC[.00254092], MATIC[.0021608], SHIB[1], USD[0.00]                                                                                                                              Yes

07828130                           CUSDT[1], USD[0.00]                                                                                                                                                              Yes

07828137                           USD[0.00]

07828143                           BF_POINT[200], USD[0.00]

07828151                           CUSDT[1], SUSHI[1.09103068], USD[0.00]                                                                                                                                           Yes

07828156                           ETH[.003996], ETHW[.003996], USD[1.08]

07828157                           NFT (349390858125587173/Birthday Cake #0624)[1], NFT (443106056343773899/2974 Floyd Norman - OKC 1-0074)[1], NFT (550131636790140078/The 2974 Collection #0624)[1], USD[47.98]

07828164                           DOGE[2], ETH[.00000001], SUSHI[.0000884], USD[0.00]                                                                                                                              Yes

07828167                           BTC[0], ETHW[.002339], NFT (323925921789920488/The Hill by FTX #5986)[1], SOL[0], USD[0.20]

07828168                           GRT[.938], USD[0.13]

07828171                           SOL[.00326538], USD[0.00]                                                                                                                                                        Yes

07828172                           USDT[1.4523649]

07828175                           NFT (517972606896572785/Microphone #1635)[1]

07828182                           TRX[.021982], USD[0.00], USDT[0]

07828188                           BTC[.00241645], ETH[.02214452], ETHW[.02187092], SHIB[2], SOL[.32199802], USD[0.52]                                                                                              Yes

07828191                           USD[0.00]

07828193                           BTC[0], DOGE[1], SOL[0], USD[0.00], USDT[0]

07828195                           BTC[0], GRT[0], USD[0.09], USDT[0]

07828196                           USD[0.00]

07828200                           SOL[.00257645], USD[63.44]

07828205                           USD[0.00]                                                                                                                                                                        Yes

07828207                           SHIB[198613.94046201], SOL[.00004333], USD[2.33]

07828217                           BAT[8.20064414], BF_POINT[300], BRZ[5], BTC[0], DOGE[11.0181298], ETH[.0000932], ETHW[.0000932], GRT[4], LINK[1.00956861], SHIB[6], SOL[0], SUSHI[2.05731795], TRX[12],          Yes
                                   UNI[2.04697776], USD[0.01], USDT[9.21439819]
07828220                           ETH[.06950096], ETHW[.06950096], NFT (435591873071628432/Life Stream [SE])[1], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07828233                           BAT[1], BRZ[2], CUSDT[9], ETHW[.25433386], LINK[.00001007], MATIC[.00088142], NFT (327631903943998651/Barcelona Ticket Stub #643)[1], NFT (551917174329540199/Miami Ticket Stub               Yes
                                   #793)[1], SHIB[2], TRX[.00645547], UNI[.00000999], USD[471.43], USDT[0.00000001]
07828236                           TRX[.000002], USDT[1.5203136]

07828237                           CUSDT[1], DOGE[.0000012], SOL[0.00322090], USD[0.00]                                                                                                                                          Yes

07828240                           SOL[3], USD[0.01]

07828241                           SOL[.009911], USD[0.02]

07828246                           BRZ[1], BTC[.00764678], CUSDT[3], DOGE[1], ETH[.56201394], ETHW[0.56177795], LINK[4.47696206], SOL[4.49149562], SUSHI[9.96393526], TRX[453.1266908], USD[0.00]                                Yes

07828247                           LINK[.00000944], NFT (393032023256062354/The Bridge )[1], SHIB[3.40971199], SOL[.00000343], USD[0.00]                                                                                         Yes

07828249                           AVAX[0], BTC[0], ETH[0], SOL[0], USD[0.00], USDT[0.00000124]

07828257                           ETH[.00000498], ETHW[.00000498]                                                                                                                                                               Yes

07828259                           USD[0.01]

07828260                           BTC[0], ETH[0], USD[0.00]                                                                                                                                                                     Yes

07828261                           BTC[.10115051], SOL[.20552], USD[237.05], USDT[0]

07828264                           USD[0.00]

07828268                           USD[0.00]

07828292                           AAVE[0.99024694], BTC[.00572109], CUSDT[2], USD[0.12]                                                                                                                                         Yes

07828293                           BTC[0], SOL[0], USD[0.00], USDT[0.00031982]                                                                                                                                                   Yes

07828297                           SHIB[6993350], SOL[15.5051835], USD[0.64]

07828300                           USD[500.01]

07828313                           BTC[.00048473], ETH[0]

07828319                           CUSDT[4], DOGE[1], MATIC[139.93444426], SOL[12.37280314], TRX[1], USD[0.00]                                                                                                                   Yes

07828327                           AVAX[.0515], BTC[0.00002932], ETH[0.01052045], ETHW[0.00152045], NFT (289778840886294781/Saudi Arabia Ticket Stub #798)[1], NFT (290050794223283307/Call It #68)[1], NFT
                                   (290439754961116356/MF1 X Artists #20)[1], NFT (292415646271383016/Quincy)[1], NFT (300728021284070272/Imola Ticket Stub #1832)[1], NFT (300804991996304364/Call It #35)[1], NFT
                                   (302061002241136971/Good Boy #176)[1], NFT (302849566995139926/Merch Item Test Name #5 (Redeemed))[1], NFT (304797922265318281/Hello 1)[1], NFT (306811037886687666/Series 1:
                                   Capitals #2)[1], NFT (309828896235992585/2974 POAP #50)[1], NFT (311936864731948693/Miami Ticket Stub #562)[1], NFT (314128114400422642/UCSB NFT - 2022)[1], NFT
                                   (314827834131530602/Call It #23)[1], NFT (317915246273931695/Kingdom of Dwarves #177)[1], NFT (321053916399547126/Call It #67)[1], NFT (326756393909510906/Call It #70)[1], NFT
                                   (327922622843673615/testtttt)[1], NFT (328892756621013234/Singapore Ticket Stub)[1], NFT (330982447411397783/Solana Spaces Tutorial NFT)[1], NFT (332176099402917303/TEDDY DAD #48)[1],
                                   NFT (333583972884140695/Sun Set #431)[1], NFT (333876875506327413/Tester NFT #100)[1], NFT (334396249942446656/Call It #33)[1], NFT (335382162010804942/The Founder #497)[1], NFT
                                   (336926815544694418/FTXMas Stockings #2)[1], NFT (338247487527580549/test (Redeemed))[1], NFT (338519950972583609/Call It #71)[1], NFT (338956670386237242/The Pigsels #600)[1], NFT
                                   (339779067297650092/FTX Test Pack 1 #7)[1], NFT (340330128112149228/The Founder #494)[1], NFT (343129207323943960/Space Runners x NBA Champions #2435)[1], NFT
                                   (344045088163394266/APEFUEL by Almond Breeze #45)[1], NFT (344137712897029472/Autumn 2021 #191)[1], NFT (344442181429418715/Good Boy #7)[1], NFT (344765219348069763/Call It
                                   #51)[1], NFT (345911947239656166/CORE 22 #4)[1], NFT (346858526048450239/Goofy Dracula #39)[1], NFT (348077671239824102/Japan Ticket Stub)[1], NFT (348433636538275149/Call It #39)[1],
                                   NFT (350651003448537632/testing`1111111)[1], NFT (353692189999491190/StarAtlas Anniversary)[1], NFT (355239110230223128/Coming Soon.....)[1], NFT (356981710042521346/icedquad.eth)[1],
                                   NFT (358391518960736608/Space Runners x NBA Champions #9045)[1], NFT (358638246457132402/FTX Exclusive Necklace)[1], NFT (360777485080541110/Australia Ticket Stub #1853)[1], NFT
                                   (363568295512446205/Humpty Dumpty)[1], NFT (364569982729395949/Austin Paddock Club Commemorative NFT TEST)[1], NFT (364750556427912102/FTX - Off The Grid Miami #4)[1], NFT
                                   (364908009987507451/a)[1], NFT (371622863021735999/Merch Item Test Name #4)[1], NFT (372132040226562542/The Pigsels #654)[1], NFT (373654554308047974/Golden State Warriors 75th
                                   Anniversary Collection #2)[1], NFT (374348398643286387/CryptoPet #42)[1], NFT (374782595101966983/Call It #72)[1], NFT (375012759240888899/Call It #64)[1], NFT (375362305277829573/Call It
                                   #26)[1], NFT (381143163962131164/Bahrain Ticket Stub #2476)[1], NFT (384466689973625155/Shaq's Fun House presented by FTX #6)[1], NFT (385557330976403558/FTXMas Stockings #4)[1], NFT
                                   (386437935184034504/Rat Bastard #695)[1], NFT (386946146896741041/Call It #63)[1], NFT (387751404514680824/Call It)[1], NFT (389293730163290598/The Founder #496)[1], NFT
                                   (391954135612155293/Coming Soon....)[1], NFT (392680952341376897/The Founder #495)[1], NFT (393887626436365379/Call It #40)[1], NFT (394628073036476998/Merch Item Test Name #3)[1],
                                   NFT (398425262228111187/Degen Trash Panda Merch Token)[1], NFT (404400138218150350/Australia Ticket Stub #454)[1], NFT (408535930149619392/FTXMas Stockings #6)[1], NFT
                                   (410145268108528831/Serum Surfers X Crypto Bahamas)[1], NFT (412504913694241001/Mexico Ticket Stub)[1], NFT (416685337514323624/Call It #65)[1], NFT (419248217368621746/hello11)[1],
                                   NFT (419635802598390337/PixelPuffins #4415)[1], NFT (420974195606600011/Serum Surfers X Crypto Bahams)[1], NFT (420975283151688914/Space Runners x NBA Champions #1183)[1], NFT
                                   (422093028003124509/Miami Ticket Stub #266)[1], NFT (425060445473703244/Austin Paddock Club Commemorative NFT)[1], NFT (427852501922936399/FTXMas Stockings #10)[1], NFT
                                   (428430169749699680/Solninjas #9715)[1], NFT (431267945811418503/Monaco Ticket Stub)[1], NFT (432508432209637467/Good Boy #175)[1], NFT (433445921084723379/Call It #37)[1], NFT
                                   (435597295089147317/Call It #77)[1], NFT (435855271286851510/Good Boy #174)[1], NFT (437132451303915433/Pirate #2348)[1], NFT (439661990623186860/Call It #75)[1], NFT
                                   (440391382085363252/Faceless #396)[1], NFT (444698152428317529/Austin Ticket Stub)[1], NFT (445472292184938166/Monza Ticket Stub)[1], NFT (446443751373884196/FTX Test Pack 1 #9)[1],
                                   NFT (447560635267131881/StarAtlas Anniversary)[1], NFT (449697817413268919/NEKO #10005)[1], NFT (450072885117975443/FTXMas Stockings #9)[1], NFT (450149385670900014/ALPHA:RONIN
                                   #872)[1], NFT (453187912189894547/Orcanauts #9047)[1], NFT (454443250045414962/Shaq's Fun House Commemorative Ticket #264)[1], NFT (456679787277558595/Call It #28)[1], NFT
                                   (458463273239312386/Coming Soon......)[1], NFT (459196912261045627/HOG #149)[1], NFT (459481149664986725/Sea Dubs Inaugural NFT #2)[1], NFT (459491422215625778/StarAtlas
                                   Anniversary)[1], NFT (460869481793431052/StarAtlas Anniversary)[1], NFT (463154232932053008/Call It #32)[1], NFT (468907393099626968/Test2)[1], NFT (471079835011931817/FTX - Off The Grid
                                   Miami)[1], NFT (473579669178685081/Call It #48)[1], NFT (477660324489891197/Call It #42)[1], NFT (480044799568611545/First Verse #3938)[1], NFT (483110930071796410/test1234JP)[1], NFT
                                   (484282906437839439/FTXMas Stockings #3)[1], NFT (484683587192101060/Golden State Warriors)[1], NFT (488218223956154462/Test3)[1], NFT (490540738228277177/MP Alpha Drop 1)[1], NFT
                                   (492298806951900582/Call It #34)[1], NFT (492884500889010936/Pawnshop Gnomies Elixir)[1], NFT (493000578481677582/Imola Ticket Stub #2181)[1], NFT (493125312955762738/Dunster #2)[1],
                                   NFT (493744426995422736/Bahrain Ticket Stub #583)[1], NFT (494408476474622917/VOXCHAINZ GOLD TICKET)[1], NFT (495077025823114860/Call It #76)[1], NFT (496182733489414322/Kingdom
                                   of Dwarves #733)[1], NFT (499964989851981774/Call It #29)[1], NFT (500399532664777178/FTX Test Pack 1 #15)[1], NFT (502072742845472422/The Founder- Test)[1], NFT
                                   (503784654030038052/Netherlands Ticket Stub)[1], NFT (508520605522993776/HiveKeepers #0)[1], NFT (509912706729138737/SolSlatts #48)[1], NFT (510448252045890651/Trotting Turkey #18)[1],
                                   NFT (512422657744973365/FTXMas Stockings #7)[1], NFT (513332362981402841/Call It #66)[1], NFT (513463366122067760/Entrance Voucher #2 (Redeemed))[1], NFT
                                   (514164735331045824/StarAtlas Anniversary)[1], NFT (514202893866512323/The Founder #493)[1], NFT (514572444652681694/Divine Soldier #2237)[1], NFT (515439313110488686/Call It #69)[1],
                                   NFT (516944456289215695/Humpty Dumpty #17)[1], NFT (517730000123501398/StarAtlas Anniversary)[1], NFT (518751177899686827/Call It #36)[1], NFT (519239503916933103/Citizen Card
                                   #1649)[1], NFT (519960647166349461/Pawnshop gnomie #546)[1], NFT (520812569380275264/Call It #47)[1], NFT (521118304894662992/Hungary Ticket Stub #269)[1], NFT
                                   (521891519504186120/Miami University Blockchain Club Attendance NFT )[1], NFT (522037420312104131/Solana Tiger #58)[1], NFT (524307179189146163/Call It #44)[1], NFT
                                   (524414516764275509/GSW Championship Commemorative Ring)[1], NFT (525858383229981277/Microphone #130)[1], NFT (525905922921539586/Call It #43)[1], NFT (526633723065606484/Call It
                                   #50)[1], NFT (527106771799920277/Call It #27)[1], NFT (527190974242003414/2974 Christmas #3)[1], NFT (528248889877630913/Miami Ticket Stub #5)[1], NFT (528699290641661003/Shaq's Fun
                                   House Commemorative Ticket #14)[1], NFT (532193080332530549/Call It #30)[1], NFT (532690412371427587/Call It #38)[1], NFT (532988021644573312/Barcelona Ticket Stub #829)[1], NFT
                                   (534490218197968521/Space Runners x NBA Champions #115)[1], NFT (541807048210270786/Call It #45)[1], NFT (542212717149632443/Fortuo Distinctus #7)[1], NFT (543651338030013662/Airdrop
                                   Series (Common))[1], NFT (545960867623032054/Kingdom of Dwarves: WL)[1], NFT (547026494049455711/CryptoPet #6974)[1], NFT (547774933923470507/FTX x Tubby Cats Drawing Contest
                                   Instructions)[1], NFT (548242475919350740/Warriors 75th Anniversary City Edition Diamond #6)[1], NFT (549008386822054265/GSW Championship Commemorative Ring)[1], NFT
                                   (549620792033465023/StarAtlas Anniversary)[1], NFT (550626189406982612/Testing 123)[1], NFT (550880423550940578/FTX - Off The Grid Miami #2)[1], NFT (553274683280821246/Austria Ticket
                                   Stub)[1], NFT (553810442117456970/FTXMas Stockings #8)[1], NFT (555337976830707098/Call It #49)[1], NFT (555530548727847906/Testing 1234)[1], NFT (558467650654152212/Call It #25)[1],
                                   NFT (560965118584217112/FTXMas Stockings)[1], NFT (561387410057486265/Call It #31)[1], NFT (562354248452498686/Space Rex Squad)[1], NFT (563590170208132844/Golden State Warriors
                                   Gold Blooded Collection)[1], NFT (567705074609319687/Call It #41)[1], NFT (570689424228450128/Humpty Dumpty #2)[1], NFT (571069569983414471/FTXMas Stockings #5)[1], NFT
07828329                           TRX[.000001], USDT[0]

07828331                           ETH[0], ETHW[0], SOL[.00000001], USD[0.00]

07828342                           USD[0.00], USDT[.00005731]

07828349                           USD[3.89]

07828351                           BF_POINT[300], CUSDT[2], LINK[13.99278114], SHIB[2], TRX[4], USD[2724.78]                                                                                                                     Yes
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07828355                              ETH[0.00000001], ETHW[0.00000001]

07828360                              USD[0.00]

07828361                              CUSDT[7], MATIC[.51618436], USD[0.00]                                                                                                                                                    Yes

07828362                              SOL[.00008969], USD[0.00]

07828363                              SOL[0]

07828367                              CUSDT[6], TRX[1], USD[0.00]                                                                                                                                                              Yes

07828368                              ETH[.000797], ETHW[.000797], SOL[.00388], TRX[.000112], USD[0.00]

07828376                              ETHW[1.90927855]                                                                                                                                                                         Yes

07828377                              AAVE[2.2972165], BAT[.1203], BCH[.20804335], BTC[0.00437938], DOGE[758.98105], ETH[.01760955], ETHW[.01760955], GRT[148.79885], LINK[1.25801], LTC[1.7523335], MATIC[9.7245],
                                      MKR[.02281], SHIB[471690], SOL[.7222385], SUSHI[7.3727], TRX[1806.079], UNI[12.7677], USD[0.56]
07828380                              BTC[0], DOGE[0], ETH[0], UNI[0], USD[0.00]                                                                                                                                               Yes

07828386                              AAVE[.00000571], BRZ[2], BTC[0], CUSDT[6], DOGE[1], MATIC[.00503991], SHIB[7], TRX[6], USD[0.00]                                                                                         Yes

07828392                              SOL[0], USD[0.00]

07828403                              NFT (409080018494718020/Entrance Voucher #3586)[1]

07828408                              SOL[.00000001]

07828414                              USD[0.01]

07828416                              USD[1458.17]                                                                                                                                                                             Yes

07828424                              USD[0.00]

07828427                              SOL[3.02895006], TRX[1], USD[0.00]                                                                                                                                                       Yes

07828433                              CUSDT[1], USD[0.00]                                                                                                                                                                      Yes

07828434                              LTC[2.05356417], USD[33.08]

07828435                              BTC[.00005834], USDT[0.00000065]

07828440                              CUSDT[3], DOGE[623.12307544], ETH[.10211449], ETHW[.101066], SOL[.87215113], TRX[1], USD[210.37]                                                                                         Yes

07828446                              BCH[0], BRZ[1], CUSDT[8], GRT[1.00367791], SHIB[4], SUSHI[0], TRX[1], USD[0.01]                                                                                                          Yes

07828452                              BF_POINT[400], TRX[45.17454511], USD[0.00]                                                                                                                                               Yes

07828454                              USD[0.00]

07828472                              USD[0.04]

07828473                              ETHW[.00018487], NFT (371491964901655880/Australia Ticket Stub #393)[1], NFT (374743601725379918/Coachella x FTX Weekend 1 #7149)[1], NFT (511288945667334315/88rising Sky Challenge -
                                      Coin #156)[1], TRX[.000002], USD[9.11], USDT[0]
07828485                              ETH[.00128665], ETHW[.00128665], USD[1029.38]

07828486                              USD[0.12]

07828488       Contingent, Disputed   USD[0.00]                                                                                                                                                                                Yes

07828489                              BTC[0.00000126], ETH[0], ETHW[0], SOL[0], USD[0.00], USDT[0.00000001]

07828494                              SOL[.0063406], USD[0.00]                                                                                                                                                                 Yes

07828505                              BTC[0], ETH[7.39095904], ETHW[8.08362564], NFT (352598098539416709/Golden Hill #791)[1], NFT (382306453355728918/Vintage Sahara #503)[1], NFT (397204682534883634/Spectra #53)[1],
                                      NFT (418230701168965525/Colossal Cacti #51)[1], NFT (505757370925791304/Beasts #906)[1], NFT (530206675049910282/Golden Hill #753)[1], USD[0.00]
07828510                              USD[0.01]

07828540                              BTC[0], SOL[0], USD[0.00], USDT[0.00000001]

07828556                              USD[2.18]

07828560                              USD[0.00]

07828562                              TRX[0], USD[0.00]

07828568                              GRT[.061], USD[0.04]

07828583                              LINK[12.72120298], SHIB[1], USD[100.00]

07828584                              CUSDT[1], SOL[3.07143539], USD[0.00]

07828585                              CUSDT[1], SHIB[1], USD[0.00]                                                                                                                                                             Yes

07828589                              DOGE[3], ETH[22.145761], ETHW[22.13872827], SUSHI[1.06590318], USD[0.00]                                                                                                                 Yes

07828590                              SHIB[1], SOL[.16406351], USD[0.00]                                                                                                                                                       Yes

07828596                              BTC[.00038384], USD[0.06]                                                                                                                                                                Yes

07828615                              USD[9.08]

07828623                              DOGE[4.99525], USD[0.00], USDT[0.00004022]

07828629                              ETH[0], SOL[0]

07828631                              CUSDT[.02088158], DOGE[1], TRX[452.58583059], USD[0.07]                                                                                                                                  Yes

07828636                              DOGE[1], USD[0.01]                                                                                                                                                                       Yes

07828641                              SOL[1.43052582], USD[0.00]

07828652                              BTC[0], DOGE[0.00477224], ETH[0], LTC[0], SHIB[2], SOL[0], TRX[0], USD[0.00], USDT[0]                                                                                                    Yes

07828667                              BTC[0], ETH[0], SHIB[1400000], SOL[0], USD[27.53]

07828671                              MATIC[85.38019828]                                                                                                                                                                       Yes

07828673                              SOL[0], USD[0.00], USDT[0.00000001]

07828678                              AAVE[0], BAT[0], BCH[0], BTC[0], DOGE[0], ETH[0], GRT[0], KSHIB[0], MATIC[0], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00], YFI[0]                                                        Yes

07828709                              DOGE[1], ETH[.00000466], ETHW[0.51573131], MATIC[442.23726184], SHIB[1], TRX[1], USD[0.01]                                                                                               Yes
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
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                                                                                                                                            Customer Claims                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07828711                              USD[0.31]                                                                                                                                                                    Yes

07828719                              BTC[0.00003485], USD[0.98]

07828720                              USD[0.07]

07828723                              NFT (473103815765976702/FTX - Off The Grid Miami #7533)[1], NFT (552777886234621894/Saudi Arabia Ticket Stub #1384)[1]

07828737                              USD[1.22]

07828741                              LTC[.01008042]                                                                                                                                                               Yes

07828746                              BTC[.01187066], GRT[1.00367791], USD[0.00]                                                                                                                                   Yes

07828749                              MATIC[24.70229335], USD[0.00]

07828773                              USDT[.6698986]

07828776                              ETH[0], ETHW[0.02800000], SOL[0], USD[0.43]

07828781                              EUR[0.00], LINK[0], MATIC[0.00033263], MKR[0], SUSHI[0], TRX[.01444629], UNI[0], USD[0.00], USDT[0], YFI[0]                                                                  Yes

07828802                              USD[1.13]                                                                                                                                                                    Yes

07828806                              ETH[0], SOL[0], USD[0.00]

07828824                              LTC[2.49775], USD[17.69]

07828832                              ALGO[.14287475], AVAX[.00065388], GRT[.00906063], MATIC[106.41678218], SHIB[1], SOL[.00079973], USD[0.67]                                                                    Yes

07828834                              USD[3.75], USDT[0]

07828876                              USD[0.00]                                                                                                                                                                    Yes

07828885                              CUSDT[1], DOGE[99.06604616], USD[0.00]

07828899                              USD[6.29]

07828903                              SOL[.0894395], TRX[.000001]

07828914                              USD[5.00]

07828921                              BTC[.00001091], ETH[.00006955], ETHW[0.00006954]

07828924                              USD[0.00]

07828935                              USD[0.13]

07828936                              NFT (360086903537232056/Imola Ticket Stub #1618)[1]

07828941                              NFT (446612915036611331/FTX - Off The Grid Miami #985)[1]

07828942                              BAT[625.18513383], BRZ[7.3216359], BTC[.00301501], CUSDT[74.19799263], DOGE[27.79247356], ETH[.21293613], ETHW[.19336594], GRT[2840.54528491], LINK[168.48901307],           Yes
                                      MATIC[1363.74506514], SHIB[45], SOL[45.70886666], SUSHI[143.9058858], TRX[11084.48345915], USD[111.55]
07828945                              BTC[0], DOGE[.138], EUR[0.00], TRX[0], USD[0.00], USDT[0.00000001]

07828948                              USD[50.00]

07828972                              BTC[.00008617], USD[0.19]

07828985                              USD[10.00]

07828998                              GRT[2098.44], USD[20.58]

07828999                              BAT[32.341291], BRZ[437.40626689], CUSDT[4], DOGE[1], KSHIB[451.32487934], USD[0.00]                                                                                         Yes

07829002                              BTC[0], USD[0.79]

07829013                              ETH[0], MATIC[0], SOL[0], SUSHI[0], USD[0.00], USDT[0]                                                                                                                       Yes

07829024                              USD[0.00]

07829029                              NFT (339838268887464343/Microphone #9000)[1], USD[0.00]

07829031                              BTC[.00000002], SOL[.0000116]                                                                                                                                                Yes

07829035                              MATIC[0], SUSHI[0]                                                                                                                                                           Yes

07829037                              ETH[0], SOL[0], USD[0.00], USDT[0.89483986]

07829038                              USD[0.00]

07829039       Contingent, Disputed   BTC[0.00002638], DAI[.06236524], ETH[0.00026970], ETHW[0.00040969], SOL[0.00102446], TRX[0.28697020], UNI[0.07911776], USD[0.00]

07829042                              BTC[0.00149857], SOL[.019981], USD[1.08]

07829049                              DOGE[0], SHIB[0], SOL[0.00003481], USD[0.00], USDT[0.00000001]                                                                                                               Yes

07829050                              LTC[.00116733], SHIB[99100], USD[0.00], USDT[0]

07829059                              BF_POINT[200], USD[0.00], USDT[0]                                                                                                                                            Yes

07829064                              USD[0.01], USDT[0.00017444]

07829094                              USD[0.00]

07829097                              BTC[.00051513], CUSDT[1], USD[0.00]                                                                                                                                          Yes

07829116                              BCH[0], BTC[0], DOGE[0], ETH[0], ETHW[0], KSHIB[0], LINK[0.00000001], LTC[0], MATIC[0], NFT (467855524875983680/Money on the Mind)[1], SOL[0.01044497], UNI[0], USD[0.00],   Yes
                                      USDT[0.00000001]
07829120                              ETH[.00000001], SOL[0]

07829122                              NFT (504854321738848730/Imola Ticket Stub #1271)[1], USD[0.00], USDT[0]                                                                                                      Yes

07829134                              USD[0.00]

07829135                              ETH[0.00428855], ETHW[0.00428855], SOL[0], USD[0.00]

07829147                              ETH[0], ETHW[0]

07829158                              BTC[.0000118], USD[0.00]

07829164                              SOL[.00000001]                                                                                                                                                               Yes

07829165                              BTC[0], USD[0.00]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07829179                              CUSDT[1], DOGE[2], MATIC[0], NFT (407825677971789720/You in, Miami? #422)[1], SHIB[1], SOL[1.62467493], SUSHI[4.14356283], TRX[1], USD[362.81]                                          Yes

07829180                              BTC[0], DOGE[0], ETH[0], LINK[0], MATIC[0], SOL[0], SUSHI[0], UNI[0], USD[0.00], USDT[0]

07829193                              BF_POINT[100], BTC[.00000749]                                                                                                                                                           Yes

07829195                              ETH[.00719125], ETHW[1.68719125], SOL[.00444754], USD[0.00]

07829199                              WBTC[.00007459]

07829204                              BTC[0], USD[2.70]

07829205                              BF_POINT[800], USD[42.75]

07829214                              BF_POINT[400], BTC[0], ETH[0], TRX[0.10155400]                                                                                                                                          Yes

07829216                              ETH[0.00000001], ETHW[0], NFT (390988479253719022/BowTiedAnaconda)[1]

07829224                              DOGE[1], USD[0.00], USDT[0]                                                                                                                                                             Yes

07829229                              SOL[0.00137555]

07829236                              BF_POINT[100], BTC[0], ETH[0.00000471], LINK[.00090888], MATIC[27.72260122], NFT (447619949553970241/Entrance Voucher #1731)[1], NFT (462120954183296308/Northern Lights #63)[1], NFT   Yes
                                      (534708327402090093/Bahrain Ticket Stub #2069)[1], SHIB[7], SOL[59.05492547], UNI[5.11399181], USD[0.00], USDT[0.00021376]
07829237                              BTC[.14468028], USD[0.00], USDT[20.09586090]

07829240                              BRZ[2], CUSDT[7], DOGE[2], SHIB[7], SOL[.00089262], TRX[1], USD[0.00]                                                                                                                   Yes

07829244                              SOL[.01], USD[16.89]

07829252                              BTC[.00000015], CUSDT[1], SHIB[1], TRX[3], USD[0.00]                                                                                                                                    Yes

07829258                              USD[10943.43]                                                                                                                                                                           Yes

07829259                              BTC[0], USD[2.31]

07829260                              USD[0.81], USDT[0]

07829264                              BTC[0.00005377], MATIC[104.392], SOL[2.51], USD[405.97]                                                                                                                                 Yes

07829267                              USD[2.22]

07829268                              USD[0.51], USDT[.0002]

07829271                              BRZ[1], BTC[0]                                                                                                                                                                          Yes

07829273                              USD[70.47]

07829276                              USD[0.00]

07829286                              USD[0.00]

07829289                              ETHW[.65]

07829296       Contingent, Disputed   USD[0.00]                                                                                                                                                                               Yes

07829304                              MATIC[.98795976]

07829314                              USD[0.89]

07829317                              BTC[.02136826]

07829331                              NFT (512214994448003192/Entrance Voucher #1865)[1], SOL[.11903], USD[0.74]

07829337                              ETH[0], SOL[0], USD[0.75], USDT[0.00003737]

07829342                              AVAX[.41672635], ETHW[1.24964734], SOL[.00511417], USD[2.01], USDT[0.00757643]                                                                                                          Yes

07829349                              USD[2.01]                                                                                                                                                                               Yes

07829357                              AVAX[-0.01672207], BTC[0.02990000], DOGE[.001], ETH[0], GRT[0], NFT (382266944927999802/Humpty Dumpty #1503)[1], NFT (423415720176645075/Good Boy #144)[1], TRX[0.49052581],
                                      USD[1.37], USDT[0]
07829366                              USD[0.01]                                                                                                                                                                               Yes

07829373                              BTC[0], ETH[.00064027], ETHW[.00064027], SOL[.00605296], USD[3.80], USDT[2.62236488]

07829375                              USD[0.00]

07829387                              USD[2.25]

07829391                              LTC[0], SHIB[3890.32696602], TRX[.00000001], USD[0.00], USDT[0]                                                                                                                         Yes

07829392                              CUSDT[1], SHIB[1525271.38301708], SOL[.65896431], TRX[1], USD[0.00]                                                                                                                     Yes

07829393                              BTC[.00040013], CUSDT[4], ETH[.00411709], ETHW[.00411709], LINK[1.02103093], MATIC[8.1134614], SOL[.12412659], TRX[1], USD[0.00]

07829397                              BRZ[1], CUSDT[3], USD[1.36], USDT[0]                                                                                                                                                    Yes

07829404       Contingent, Disputed   SHIB[0], USD[0.00], USDT[0]                                                                                                                                                             Yes

07829408                              AAVE[.03649411], BAT[1.0626048], BRZ[11.97885102], CUSDT[249.22110522], DOGE[3.83505035], ETH[.00163848], ETHW[.0016248], GRT[7.38400171], KSHIB[21.84933181], MKR[.00221804],          Yes
                                      SHIB[22340.46474804], TRX[9.66212226], USD[0.29]
07829411                              BAT[1.01655549], BTC[.04543963], ETH[.3463036], ETHW[.34615824], LTC[5.85446665], TRX[2], USD[0.00]                                                                                     Yes

07829414                              USD[0.01]                                                                                                                                                                               Yes

07829421       Contingent, Disputed   USD[0.15], USDT[0.00000001]                                                                                                                                                             Yes

07829423                              CUSDT[4], USD[0.00]                                                                                                                                                                     Yes

07829425                              NFT (508817546802168953/FTX - Off The Grid Miami #1528)[1], USD[0.00]                                                                                                                   Yes

07829432                              BTC[0.00003659], ETHW[.00086268], USD[0.00]

07829443                              DOGE[1], GRT[609.73051512], USD[0.09]                                                                                                                                                   Yes

07829449                              DOGE[2], USD[0.00], USDT[1.06784602]                                                                                                                                                    Yes

07829454                              BF_POINT[400], BTC[0.00397858], NEAR[0], SHIB[1], SOL[.00000001], USD[0.00]                                                                                                             Yes

07829469                              USD[0.00]

07829470                              ETH[.0018993], ETHW[.0018993], USD[0.00], USDT[0]
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                                                                                                                                         Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07829480                           BTC[0.00000003], DOGE[0], ETH[.00000001], USD[0.00]

07829505                           SOL[.17662965], SUSHI[10.47770141], USD[0.00]

07829506                           CUSDT[1], GRT[1.00313735], TRX[2], USD[0.32]                                                                                                                                           Yes

07829507                           BTC[.03622225], MATIC[78.65923726], SHIB[9931336.81629709], SUSHI[3.99215927], USD[21.70]                                                                                              Yes

07829513                           BTC[0], ETH[0], USD[0.00]

07829519                           DOGE[1], NFT (289444256830176877/Hotline Bling #3 #2)[1], NFT (364270640953577352/Fountains )[1], NFT (375171310712185310/Hotline Bling #1)[1], NFT (424026215338632844/AI-generated   Yes
                                   landscape #30)[1], SOL[.01704313], USD[0.00]
07829521                           SOL[69.21072], USD[15002.20]

07829522                           NFT (389138367105340101/BubblePlastic)[1], USD[0.00]

07829526                           NFT (350381441286758038/FTX - Off The Grid Miami #2969)[1], USD[25.00]

07829527                           BTC[.0783], DOGE[38894.067], ETH[20.54195906], ETHW[18.92012106], LINK[186.7], PAXG[0], SOL[105.89277], USD[6.03]

07829532                           DOGE[1], ETHW[.26194558], SHIB[5], TRX[1], USD[0.00]                                                                                                                                   Yes

07829537                           DOGE[1], TRX[1], USD[0.00]

07829545                           AVAX[7.7], BTC[.0091], ETH[1.2456713], ETHW[1.2456713], NEAR[26.674635], SOL[15.53180133], USD[1.96]

07829547                           USDT[1.012378]

07829554                           BRZ[3], BTC[.00000008], CUSDT[19], DOGE[3], ETH[0.00001011], ETHW[0.00001011], GRT[1], SUSHI[0], TRX[5], USD[0.01], USDT[0]                                                            Yes

07829559                           NFT (558225203087503926/Entrance Voucher #7520)[1]

07829565                           ETH[.00000293], ETHW[0.32081295], GRT[1], USD[0.00]                                                                                                                                    Yes

07829574                           ETH[.00000001], NFT (358996538435882482/2974 Floyd Norman - CLE 3-0178)[1], NFT (537036843685667044/2974 Floyd Norman - OKC 2-0028)[1], USD[0.00]

07829576                           BTC[0], ETH[.00017766], ETHW[.00017766], NFT (381292374339069641/The Hill by FTX #6173)[1], SOL[0], TRX[1], USD[0.29], USDT[0.14788918]                                                Yes

07829580                           MATIC[0], USDT[0.00000017]

07829583                           BCH[.00000001], BTC[0], ETHW[.1274338], EUR[0.00], SHIB[15585780], USD[0.39], USDT[0]

07829592                           BTC[.00114834], CUSDT[5], DOGE[21.16144817], ETH[.01540406], ETHW[.01521254], SOL[3.77580874], TRX[1], USD[0.00]                                                                       Yes

07829594                           TRX[1], USD[0.01]

07829598                           BTC[0], DOGE[0], SUSHI[0], YFI[0]                                                                                                                                                      Yes

07829607                           USDT[1.532219]

07829608                           BTC[.0041], SHIB[4900000], USD[0.39]

07829610                           SHIB[0], USD[8.13]

07829612                           BTC[.00553409], CUSDT[4], ETH[.29705703], ETHW[.29686191], SHIB[5045001.09265015], SOL[3.42203237], TRX[1], USD[0.00]                                                                  Yes

07829614                           BTC[.000999], SHIB[2297700], USD[140.09]

07829620                           BTC[0.00002324], DOGE[.237], ETH[.00038674], ETHW[0.00038674], NFT (534893990539540000/Entrance Voucher #29559)[1], USDT[16874.23156195]

07829621                           BRZ[1], CUSDT[1], DOGE[399.89327913], GRT[1], LINK[188.80697076], SUSHI[262.92532295], TRX[1], USD[1207.20]                                                                            Yes

07829630                           ETH[0], ETHW[0], NEAR[0.07623866], SOL[0], USD[2.41]

07829637                           ETH[0], SOL[0], USD[0.00]

07829665                           USD[3.03]

07829668                           BAT[2.0554064], BRZ[11.6891843], BTC[.26029486], CUSDT[89.87402824], DOGE[47.69657892], ETH[.38099174], ETHW[.38083166], LINK[.00000001], MATIC[.00138482], SHIB[44],                  Yes
                                   SOL[34.19627967], TRX[47.76909972], USD[0.87], USDT[1.06604512]
07829670                           BTC[0.00002361]

07829672                           BRZ[1], CUSDT[1], ETH[.09734143], ETHW[.09631488], SUSHI[17.30035803], USD[0.01]                                                                                                       Yes

07829676                           USD[10.00]

07829678                           ETH[.00000009], ETHW[.00000009]                                                                                                                                                        Yes

07829686                           CUSDT[2], LINK[2.24834033], UNI[2.15548927], USD[0.00]                                                                                                                                 Yes

07829689                           USD[0.00]

07829690                           AVAX[5.3997271], BAT[205.47292493], BTC[0.04906990], ETH[.22716173], GRT[200.39405821], LINK[1.96482849], MATIC[279.95023342], NEAR[51.81644181], SHIB[6], SOL[8.19858334],            Yes
                                   USD[0.00], USDT[0]
07829697                           BTC[.0002551], ETH[.005], ETHW[.005], SOL[.17], USD[0.00]

07829707                           AAVE[10.3288169], BAT[504.19178], BCH[.61319277], BTC[0.00822975], CUSDT[3799.78541], DAI[40.429225], DOGE[3439.29786], ETH[.51582788], ETHW[.51582788], GRT[559.94595],
                                   LINK[29.814319], LTC[.7793099], MATIC[920.0953], MKR[.08805842], PAXG[0.00550000], SHIB[240331973.11191997], SOL[7.54842950], SUSHI[69.00277], TRX[5021.43747], UNI[47.2152865],
                                   USD[2.43], USDT[36.23436941], WBTC[.00623654], YFI[.02283147]
07829711                           BAT[1.01655549], BF_POINT[300], BRZ[5.07952967], BTC[.00000037], CUSDT[57.66099435], DOGE[24.61648417], ETH[.00000216], ETHW[.34516235], SHIB[43], TRX[17.7728838], USD[0.01]          Yes

07829713                           CUSDT[1], DOGE[1], ETH[.06084739], ETHW[.06009366], SOL[7.25358721], SUSHI[.00003786], TRX[1.00007556], USD[0.00]                                                                      Yes

07829717                           SOL[.06334444], USD[0.00]

07829720                           SHIB[5124685.30619606], USD[0.00]                                                                                                                                                      Yes

07829721                           AAVE[.00798], BTC[.0158329], USD[17.31], USDT[0.00000051]

07829732                           SOL[.00000001]

07829736                           BTC[.00004024], ETH[.0006544], ETHW[.2126544], MATIC[.766], SHIB[99640], SOL[.00956], USD[1213.77]

07829739                           USD[0.00], USDT[10]

07829750                           CUSDT[2], USD[0.67]                                                                                                                                                                    Yes

07829751                           CUSDT[1], ETHW[2.1035681], SUSHI[46.48721338], USD[0.00]                                                                                                                               Yes

07829752                           USD[0.00], USDT[0], YFI[.116342]

07829756                           USD[4.02]

07829765                           BCH[.016], BTC[.0005], DOGE[40], ETH[.005], ETHW[.005], LTC[.05], MKR[.002], SOL[.06], TRX[96], USD[1.01]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07829766                              SHIB[3479876.58090559], USD[0.01]

07829767                              BRZ[2], BTC[0], SHIB[1], TRX[0], USD[0.00], USDT[0.00496830]                                                       Yes

07829780                              SOL[.00000001], USD[1.22]

07829785                              USD[189.39]

07829790                              USD[7.36]

07829797                              DOGE[82.9253], USD[0.20]

07829805                              SOL[.00428], USD[20.33]

07829807                              CUSDT[1], USD[0.00]                                                                                                Yes

07829818                              ETH[.00070446], ETHW[.00070446], SOL[3.550395], USD[1.32]

07829823                              BTC[0], LINK[0], LTC[0], SOL[0], USD[0.00], USDT[0.00000012]

07829825                              SOL[1.358708], USD[2.12]

07829827                              BTC[.00061465], CUSDT[1], MATIC[.07556487], SHIB[2], USD[0.00]

07829840                              LINK[.00734], SUSHI[.086275], USD[0.00]

07829841                              BTC[.00000486], CUSDT[1], TRX[11.60273513]                                                                         Yes

07829852                              USD[100.00]

07829853                              BTC[0.00000469], USD[0.11]

07829857                              CUSDT[1], SOL[0]                                                                                                   Yes

07829861                              SOL[0.00000052]

07829862                              DOGE[36302.613], ETH[1.000278], ETHW[1.000278], SHIB[17500000], USD[1374.61]

07829863                              USD[50.00]

07829868                              ETH[.00019159], ETHW[.00019159], NFT (336977895765573438/Entrance Voucher #4025)[1], SOL[1.998], USD[42.23]

07829872                              BTC[0], ETH[0], NFT (361864424771088032/Birthday Cake #2752)[1], SOL[0], USD[0.01], USDT[0.00426908]

07829884                              BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07829887       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07829892                              DOGE[2], NFT (419874332917684551/Coachella x FTX Weekend 2 #30590)[1], TRX[1], USD[0.00]

07829897                              BTC[0], ETH[.00291785], ETHW[.00291785], SOL[0.11570569], USD[0.00]

07829902                              CUSDT[1], USD[0.01]

07829909                              USD[1.17]

07829910       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07829918       Contingent, Disputed   TRX[.000001], USD[0.00], USDT[0]

07829919                              BTC[.11897219], USD[0.00]

07829922                              ETH[0], SOL[0], USD[0.00]

07829926                              USD[50.00]

07829935                              CUSDT[2], USD[0.00]                                                                                                Yes

07829938                              USD[0.00]

07829942                              AVAX[0], MATIC[0], SOL[.00000001], USD[0.66]

07829954                              ETH[.00059156], ETHW[0.00059156], SOL[.00847272], USD[0.88]

07829957       Contingent, Disputed   BTC[.0097448], ETH[.06728104], ETHW[.06644656], SOL[1.2641461]                                                     Yes

07829969       Contingent, Disputed   SOL[.01], USDT[1.40476055]

07829978                              DOGE[1], SHIB[1], USD[0.00]

07829979                              USD[0.12], USDT[0.00000001]                                                                                        Yes

07829985                              USD[0.00]

07829989                              USDT[.5667196]

07829993                              BTC[.0001283]

07829994                              ETH[0], SOL[1.44231310], USD[0.00]

07829995                              BTC[0], ETH[0.00000001], SOL[0], USD[0.00]

07830031                              USD[250.00]

07830033                              CUSDT[1], SHIB[6632179.33412919], USD[0.00]

07830034                              BTC[0], USD[3.57]

07830035                              DOGE[1], SOL[3.12110369], USD[0.01]

07830043                              CUSDT[3], TRX[1], USD[0.03]                                                                                        Yes

07830059                              USD[0.00]

07830061                              KSHIB[2.35991487], LINK[5.58103224], LTC[2.18899143], SHIB[69297.92156293], SOL[32.10880980], USD[0.00], USDT[0]   Yes

07830062                              BRZ[1], ETH[0], SOL[.00116057], USD[0.00]                                                                          Yes

07830063                              USD[0.52]

07830064                              BTC[.0000387], USD[0.01]

07830067                              BTC[.00020726], USD[0.00]                                                                                          Yes

07830068                              USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07830074                              USDT[0.00000045]

07830076                              BRZ[1], DOGE[1], LINK[.00028156], SHIB[1], TRX[4], USD[0.12], USDT[0.00000001]                                                                                                      Yes

07830077                              USD[0.01]

07830091                              SOL[0.00445096], USD[0.00]

07830105                              AVAX[0], BCH[0], BTC[0], ETH[0], MATIC[0], NFT (448762345750738581/Green MAGA Hat)[1], SHIB[0], SOL[0], TRX[0.00000023], USD[0.00], USDT[0.00000022]

07830114                              SOL[89.26513], USD[0.08]

07830120                              AVAX[.75], USD[0.01]

07830121                              NFT (357023003594643007/Toy Collections )[1], USD[440.00]

07830127                              USD[0.00], USDT[0.00034542]

07830130                              SOL[0.00000569]

07830136                              BCH[.01841327], BTC[.00011955], CUSDT[506.86841663], DOGE[103.98890273], ETH[.01014794], ETHW[.01002482], GRT[15.50598743], LTC[.22680943], MKR[.0022209], SOL[.07389123],          Yes
                                      SUSHI[1.09005598], TRX[119.36861515], USD[0.00]
07830138                              SOL[.01905106], USD[0.00]

07830139                              USD[4.71]

07830142                              AVAX[0], BTC[0.00440225], ETH[0], ETHW[0], LINK[0], PAXG[0.02182283], SOL[0], USD[0.00], YFI[0]

07830146                              BRZ[3], BTC[0], DOGE[0], ETH[0.00000036], ETHW[0], MATIC[.0002826], NFT (315237838904942653/The Hill by FTX #1348)[1], NFT (325496780866630003/Monocle #59)[1], NFT                 Yes
                                      (382901050232196395/Barcelona Ticket Stub #1870)[1], NFT (448349590121987421/FTX Crypto Cup 2022 Key #3268)[1], NFT (521592913722677714/Australia Ticket Stub #865)[1], NFT
                                      (554818553582213994/FTX Crypto Cup 2022 Key #746)[1], SHIB[13], SOL[0], TRX[9], USD[491.68], USDT[0]
07830148                              SOL[29.93], USD[0.81]

07830149                              SOL[0]

07830150                              BTC[0], USD[456.16]

07830160                              NFT (329831848289759438/Sigma Shark #2742)[1], USD[2.27]

07830164       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07830166                              BTC[0.00060987], ETH[0.00000001], LTC[0], SOL[0], USD[0.00]

07830169                              USD[0.00]

07830172                              USD[6.02]

07830173                              USD[6.23]

07830181                              BRZ[3], CUSDT[6], DOGE[4], ETH[2.50265111], ETHW[2.50160000], MATIC[.83423192], SHIB[103271.24935248], SOL[.0000114], TRX[3], USD[0.23], USDT[1.08260996]                           Yes

07830182                              SHIB[4595400], USD[5.96]

07830185                              SHIB[2], SOL[0], USD[0.19]                                                                                                                                                          Yes

07830192                              BRZ[3], BTC[.06511554], CUSDT[13], DOGE[5], ETH[.96453568], ETHW[.73420179], SOL[6.3795591], TRX[4], USD[0.11]                                                                      Yes

07830193                              BTC[0.00031994], ETH[.004], USD[0.00], USDT[0.00006049]

07830195                              SHIB[2097900], SOL[2.42757], USD[3.15]

07830196                              USD[0.00]

07830207                              USD[0.01]                                                                                                                                                                           Yes

07830208                              BAT[0.00000934], CUSDT[3], DOGE[1], GRT[0], LINK[0], MATIC[0.00093433], NEAR[.00021632], NFT (360707384497992288/SolBunnies #17)[1], NFT (442191705003840185/SolBunnies #137)[1],   Yes
                                      NFT (471242972587675223/Settler #3485)[1], NFT (542163674585221353/DOTB #2455)[1], SHIB[7], SOL[0], SUSHI[0], TRX[1], USD[0.00], USDT[0]
07830210                              ETH[.00062605], ETHW[0.00062605], NFT (532662530670482188/Slime #223)[1], USD[5.42], USDT[1.61204754]

07830211                              USD[0.00], USDT[6.03246056]

07830237                              CUSDT[2], TRX[1], USD[0.00]                                                                                                                                                         Yes

07830238                              BTC[0], USDT[0.00000005]

07830240                              DOGE[1508], SOL[2.59739], USD[1.91]

07830242                              BTC[0], SOL[0]

07830250                              ETH[.86072777], ETHW[.86072777], SOL[0], USD[58.52]

07830260                              BTC[0], USD[0.00]

07830262                              BTC[.99905], ETH[7.10643265], ETHW[7.10643265], LINK[11.9886], MATIC[289.7245], SOL[40.56143], USD[2.32]

07830265                              SOL[.00000001], USD[0.00]                                                                                                                                                           Yes

07830268                              AAVE[4], DOGE[2000], ETHW[2.939], LINK[20], LTC[5], SHIB[2000000], SUSHI[42.5], UNI[8.9993], USD[0.83]

07830273                              BRZ[2], CUSDT[2], DOGE[1], USD[0.45]                                                                                                                                                Yes

07830275                              NFT (368600177587909980/Entrance Voucher #3941)[1], USD[0.11]

07830276                              ALGO[0], BAT[0], BTC[0], CUSDT[0], DOGE[1], ETH[0], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], NEAR[0], SHIB[3], SOL[0], SUSHI[0], TRX[1.00003000], UNI[0.00003719], USD[0.00],   Yes
                                      USDT[0.00004622]
07830281                              TRX[5167.430001]

07830285                              SOL[0], SUSHI[8.09773941], USD[0.02]

07830291                              USD[0.00]

07830292                              BAT[.00000001], SOL[.00000001]                                                                                                                                                      Yes

07830298                              USD[0.00], USDT[0]

07830304       Contingent, Disputed   USDT[.642094]

07830306                              BRZ[2], BTC[0], CUSDT[1], DOGE[2], SOL[0], TRX[1], USD[0.00]                                                                                                                        Yes

07830314                              CUSDT[12610.73029586], USD[6002.66]                                                                                                                                                 Yes

07830319                              USD[500.01]

07830322                              CUSDT[1], ETH[.04622004], ETHW[.04564548], USD[0.13]                                                                                                                                Yes
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                                                                                                                                            Customer Claims                                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07830324                              BTC[0], SOL[0], USD[0.00]

07830325                              ETH[.00022986], ETHW[.00022986], SOL[.1297925], USD[70.36]

07830335                              USD[10.97]                                                                                                                                                                                         Yes

07830339                              BAT[1], BF_POINT[200], BRZ[3], BTC[.00000075], DOGE[7], ETH[.00000368], ETHW[0.00000368], MATIC[60.06284402], SHIB[36.99976635], SOL[3.08400064], TRX[7], USD[0.00]                                Yes

07830341                              ETH[0], LINK[0], SOL[0], USD[0.84]

07830346                              SOL[.07624641], USD[0.00]

07830348                              ETH[.00125293], ETHW[1.91280157], LINK[0.00303580], SOL[.00588728], USD[0.00], USDT[0.00069890]

07830354                              USD[15621.65], USDT[0.00000104]

07830364                              CUSDT[1], GRT[1], LINK[.00023027], MATIC[1310.3785873], NFT (309187948261674338/Nifty Nanas #7355)[1], NFT (321654177509794933/Nifty Nanas #1701)[1], NFT                                          Yes
                                      (333922762578991716/ApexDucks #4357)[1], NFT (477064855832618763/Nifty Nanas #7541)[1], SOL[.00000001], USD[0.00]
07830369                              AVAX[1.0885816], BRZ[59.01105913], BTC[.02676756], DOGE[798.22381002], ETH[1.14435310], ETHW[0], LINK[4.63485611], MATIC[23.94863294], NFT (447338429562845764/Imola Ticket Stub
                                      #2458)[1], SHIB[51551638.40560681], SOL[12.37837751], TRX[431.60799495], USD[1.54], USDT[0]
07830370                              USD[0.00], USDT[0]

07830376                              USD[0.00]

07830381                              AAVE[0], BTC[0], ETH[0], LTC[0], MATIC[0], NFT (302644953299073627/The Beatles Sketch #3)[1], NFT (304533558837789161/MLK Collection #1)[1], NFT (305322702076834942/Illusion Set #2)[1],
                                      NFT (309596091132372734/Mutant Monkey #3)[1], NFT (309928923657551189/Industrial Set #1 - Corporate )[1], NFT (313117498346567320/Egypt #1 (Bastet))[1], NFT (314176444036625835/Black
                                      Panther Collection #1)[1], NFT (317227690627169196/Conor Mcgregor Drawing #1)[1], NFT (328884841904744748/Halloween Crossover #1 - Red Edition)[1], NFT (331522836299381031/Millionaire
                                      Kittens #1 - Pikachu)[1], NFT (335520994986620517/Selena Gomez Set #1)[1], NFT (336890605700024175/StarAtlas Anniversary)[1], NFT (337224519676937554/Bob Marley #1- Rainbow Edition )[1],
                                      NFT (344446475724619403/Bob Marley #2 - All Star Edition )[1], NFT (348956544600779747/Diamond Hands #2)[1], NFT (350364813941741663/Sol-Guardian #1 (Lion))[1], NFT
                                      (350724859102250081/Zendaya Sketch #2)[1], NFT (353782000944642842/Selena Gomez Set #3)[1], NFT (357102174491833161/Muhammad Ali #1 - All Star Edition )[1], NFT
                                      (357504860176069742/Bruce Lee Sketch #2)[1], NFT (361082729101106160/StarAtlas Anniversary)[1], NFT (363530038047979226/StarAtlas Anniversary)[1], NFT (364654001174869438/Clarity Set
                                      #1)[1], NFT (364762736504836389/Rihanna Collection #1)[1], NFT (367004143737918701/Halloween Crossover #1 - Rainbow Edition)[1], NFT (368681004301497562/StarAtlas Anniversary)[1], NFT
                                      (369399546680743130/Tom Cruise Set #2)[1], NFT (375186213006574311/Planetary Shift #1)[1], NFT (381758407019301998/Despicable #2)[1], NFT (382393723472807629/StarAtlas Anniversary)[1],
                                      NFT (383980425229830828/Exotic Car #1 -BTC Ferrari)[1], NFT (386520005653623313/Bitcoin #1 - Starry Night)[1], NFT (391119376334049689/Despicable #1)[1], NFT
                                      (393861691321015138/Diamond Hands #1 - Gold Edition )[1], NFT (394324846060184090/The Beatles Sketch #1)[1], NFT (395318426789195355/Planetary Shift #2)[1], NFT
                                      (396230590918890170/Crypto-Guardians #1 - Tiger)[1], NFT (398429466800354003/Selena Gomez Set #2)[1], NFT (401496303850319018/Industrial Set #1 - Abstract)[1], NFT
                                      (403337116160879554/Planetary Shift #4)[1], NFT (403464021366084426/Fiat Currency #1)[1], NFT (404433661572342531/Joker #1)[1], NFT (410790990961484476/Zendaya Sketch #1)[1], NFT
                                      (413076910394921820/Mutant Monkey #4)[1], NFT (417679705522481684/Conor Mcgregor Drawing #2)[1], NFT (429200334221109931/Mystery Mayhem #1 )[1], NFT (437382555702553739/Angelina
                                      Jolie Set #2)[1], NFT (438861583847638986/StarAtlas Anniversary)[1], NFT (442966737663482238/Nicki Minaj Set #1 - Limited Edition )[1], NFT (443979832556052491/Michael Jordan Painting #2)[1],
                                      NFT (445737365121609531/Earl Campbell's Playbook: Rice vs. Texas - October 1st, 1977 #5)[1], NFT (446368784409955014/Selena Gomez Set #2 #2)[1], NFT (448412364674646355/Star Wars Art
                                      #1)[1], NFT (448981612471531070/Rick Ross Collection #1)[1], NFT (449096637592243716/Kim Kardashian #1 - Rainbow Edition )[1], NFT (456679160646906565/Black Panther Collection #2)[1], NFT
                                      (457685318937882795/The Beatles Sketch #2)[1], NFT (458244129508095524/Joker #2)[1], NFT (460904563766263259/Mutant Monkey #2)[1], NFT (461064176661514942/Kim Kardashian #1 -
                                      Derivative )[1], NFT (463900956147361567/Bruce Lee Sketch #1)[1], NFT (476373510780136914/DBZ- Parody #2)[1], NFT (486797164795005761/Planetary Shift #3)[1], NFT
                                      (486809045225005904/Star Wars Art #2)[1], NFT (488431561479623443/BNB~Mobile #1 - Ferrari Roma)[1], NFT (492223945856641941/Bob Marley #1 - All Star Edition )[1], NFT
                                      (496463298579734685/Will Smith Collection #1)[1], NFT (497740747041818556/Stephen Curry Puzzle #1)[1], NFT (498718626840324012/StarAtlas Anniversary)[1], NFT (499081399503383126/Crypto-
                                      Bugatti #1 - Derivative)[1], NFT (499142100870538285/Freemasonry #1)[1], NFT (499490380303443172/Industrial Set #1 - Chocolate Mint)[1], NFT (502447902303673980/Planetary Shift #5)[1], NFT
                                      (503396689536720357/Joe Theismann's Playbook: Washington vs. Miami Dolphins - January 30, 1983 #6)[1], NFT (512960129935718774/Indigo Child #1)[1], NFT (514002284593751168/Clarity Set #1 -
                                       All Star Edition )[1], NFT (528518038791626381/Mutant Monkey #1)[1], NFT (530925679117958697/Nicki Minaj Art #1- Exclusive Edition)[1], NFT (534121587960090155/Michael Jordan Painting #1)[1],
                                      NFT (534911434284389313/Zendaya Sketch #3)[1], NFT (535936563916688850/Versace #1- Legendary )[1], NFT (542484194480099571/Zendaya Art #1)[1], NFT (549183982364333130/Egypt #1
                                      (Ma’at))[1], NFT (555338469882921076/Digital Vault #1)[1], NFT (556733887815600476/Angelina Jolie Set #1)[1], NFT (560066210284771334/Tom Cruise Set #1)[1], NFT
                                      (561382032325243213/Diamond Hands #1)[1], NFT (561682816030835523/Baphomet #1 - All Star Edition )[1], NFT (562652712198964037/StarAtlas Anniversary)[1], NFT
                                      (564775256138017236/Crypto-Bugatti #1 - Platinum)[1], NFT (567041480626075068/MLK Collection #2)[1], NFT (570483656779033763/Mystery Mayhem #1 - All Star Edition )[1], USD[0.00],
                                      USDT[0.00028019]

07830383                              USD[0.01], USDT[0.00000001]                                                                                                                                                                        Yes

07830389                              CUSDT[1], SHIB[1483899.68838106], USD[0.00]

07830393                              TRX[.000001], USDT[0.00000012]

07830396                              SHIB[3971606.31920482], USD[0.00], USDT[0.00000007]

07830400       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07830405                              USDT[0.00000137]

07830412                              USD[274.14]                                                                                                                                                                                        Yes

07830414       Contingent, Disputed   BTC[1.58718591], ETH[10.71412772], ETHW[10.71099535], SOL[178.39067268]                                                                                                                            Yes

07830416                              CUSDT[2], SHIB[3], SOL[1.76107864], TRX[1], USD[0.00]                                                                                                                                              Yes

07830423                              BTC[0], SOL[0.00003772], USD[0.00]

07830430                              SOL[0]

07830433                              NFT (301557591063421391/Shannon Sharpe's Playbook: Denver Broncos vs. Los Angeles Raiders - January 9, 1994 #59)[1], NFT (433126828322576345/Eiffel City )[1], NFT                                 Yes
                                      (512318901959335262/Earl Campbell's Playbook: Texas vs. Houston - November 5th, 1977 #101)[1], NFT (518286046787345280/Hotline Bling #3)[1], NFT (566188538619005699/HOLLYWeed Sign
                                      10/10)[1], TRX[9.00087675], USD[0.01], USDT[0]
07830437                              BTC[.01447337], CUSDT[16], DOGE[108.81034812], ETH[.0321102], ETHW[.03171348], GRT[14.16747692], LINK[2.30139772], LTC[.14533986], MATIC[17.30190161], SHIB[3268612.23743272],                     Yes
                                      SOL[.34146386], TRX[228.3554717], UNI[2.18401185], USD[0.10]
07830444                              BTC[.00097411], CUSDT[3], DOGE[76.4323132], ETH[.01734937], ETHW[.01713049], SHIB[498570.63083999], USD[0.00]                                                                                      Yes

07830445                              SOL[7.49], USD[0.01], USDT[.88]

07830458                              AVAX[.079], BTC[.00002602], ETH[.00008], ETHW[.00069], MATIC[8.82], SOL[.006245], USD[0.01], USDT[.00666084]

07830461                              USD[0.00], USDT[3.18372886]

07830466                              LINK[.00019242]                                                                                                                                                                                    Yes

07830477                              BRZ[1], CUSDT[4], DOGE[2], SHIB[771974.41183268], USD[0.00]                                                                                                                                        Yes

07830481                              NFT (318484783458219540/Australia Ticket Stub #452)[1], NFT (320988511190157277/Entrance Voucher #2602)[1], NFT (480918087054204790/FTX - Off The Grid Miami #1994)[1], USD[0.00],
                                      USDT[4.5]
07830492                              USD[5.81]

07830503                              SHIB[1], USD[837.04]                                                                                                                                                                               Yes

07830505                              CUSDT[3], TRX[0], USD[0.02]                                                                                                                                                                        Yes

07830507                              BAT[1], BRZ[1], BTC[0.00000057], CUSDT[1], SHIB[4], SOL[0], SUSHI[1.03890182], TRX[8], USD[9.72], USDT[2.09553970]                                                                                 Yes

07830510                              CUSDT[1], USD[7.78]                                                                                                                                                                                Yes
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07830516                              CUSDT[1], TRX[1], USD[0.00], USDT[0]                                                                                                                                                    Yes

07830527                              ALGO[.02258809], BTC[.00000411], ETH[.00032883], ETHW[1.03595645], USD[1.38]                                                                                                            Yes

07830529                              USD[0.01], USDT[0], YFI[.00000001]                                                                                                                                                      Yes

07830531                              CUSDT[3], ETH[.03629303], ETHW[.03584159], LINK[47.57615428], SHIB[1], SOL[.96981238], USD[265.76]                                                                                      Yes

07830533                              BTC[0.00001961], LTC[.0097064], USD[0.48]

07830534                              USD[0.00], USDT[0.00000021]

07830536                              BTC[0], NFT (484327864841619814/Good Boy #108)[1], USD[0.00]

07830538                              USD[25.00]

07830546                              NFT (498217213679599419/Miami Ticket Stub #811)[1], NFT (564949859230205197/FTX - Off The Grid Miami #5689)[1]

07830549                              BTC[.00013694], DOGE[8.13407971], ETH[.00029051], ETHW[.00029051], USD[0.62]                                                                                                            Yes

07830561                              USD[0.42]

07830565                              USD[0.27]

07830569                              USD[20.00]

07830578                              SHIB[2], USD[0.00]                                                                                                                                                                      Yes

07830581                              BRZ[1], NFT (458160803915646506/Miami Ticket Stub #755)[1], NFT (516352326459359543/FTX - Off The Grid Miami #5199)[1], SHIB[1], TRX[1], UNI[2.14541775], USD[0.13], USDT[0.00010309]   Yes

07830589                              NEAR[0], SHIB[1], USD[0.00], USDT[0.00000001]

07830596                              CUSDT[2], SOL[.12472092], USD[0.00], USDT[0.00000042]

07830607                              GRT[27.42363002]                                                                                                                                                                        Yes

07830613                              SOL[.06351403], USD[0.00]

07830615                              LINK[0], NFT (335339638540258498/Saudi Arabia Ticket Stub #1758)[1], SHIB[1], SOL[3.36325376], USD[2.47], USDT[.2167152]

07830619                              USD[10.00]

07830623                              USD[0.00]                                                                                                                                                                               Yes

07830626                              BAT[15.28767974], BCH[.02223566], BRZ[63.16725839], CUSDT[61.45005971], DOGE[220.82193466], GRT[13.82512495], LINK[.39757795], MATIC[7.75842515], NFT                                   Yes
                                      (413656837261503937/Entrance Voucher #4136)[1], SHIB[37263884.81662317], SOL[3.79252342], TRX[3], USD[0.08], USDT[11.99933846]
07830631                              ETH[0.00000001], USD[28.15], USDT[0.00000030]

07830635                              AAVE[.09715662], AVAX[.00001415], BAT[2], BRZ[9.29848982], BTC[.00000002], CAD[28.70], CUSDT[349.01587218], DOGE[203.27830419], ETH[.00000234], ETHW[.11311036], GBP[0.00],             Yes
                                      GRT[27.93268785], MATIC[.22699129], NFT (311909490585936271/Entrance Voucher #2243)[1], SHIB[1037546.82360112], SUSHI[2.88767087], TRX[295.4941676], USD[287.89], USDT[1.02357716]

07830637                              USD[0.00]

07830639                              CUSDT[2], ETH[0.00000035], ETHW[0.00000035], TRX[1], USD[153.41]                                                                                                                        Yes

07830641                              DOGE[1], SHIB[1], USD[0.01], USDT[0]                                                                                                                                                    Yes

07830642                              USD[21.51]                                                                                                                                                                              Yes

07830649                              SOL[.65], USD[82.89]

07830650                              SOL[5.65472966], USD[250.15], USDT[0]

07830651                              USD[20.00]

07830652                              USD[0.00], USDT[0.45000000]

07830654                              USD[0.01]

07830662       Contingent, Disputed   TRX[.000001], USDT[1.237775]

07830671                              ETH[.00000001], USD[0.00]

07830678                              BTC[0], DOGE[0], GRT[0], LINK[0], SOL[0], USD[2812.09]

07830680                              SOL[3.5]

07830683                              CUSDT[1], NFT (312550208316671676/Infinity)[1], NFT (437515124662997372/Solninjas #1025)[1], NFT (505028254534871111/Silver oz )[1], SOL[3.08902429], USD[6.72]

07830688                              BRZ[735.73762598], CUSDT[1], USD[0.19]                                                                                                                                                  Yes

07830694                              SOL[1.01724855]                                                                                                                                                                         Yes

07830696                              BTC[.0000022], USD[0.00]                                                                                                                                                                Yes

07830699                              CUSDT[1], SHIB[1583338.36311768], USD[0.00]                                                                                                                                             Yes

07830711                              BRZ[2], CUSDT[23], DOGE[5.00009132], GRT[51.7739358], LINK[3.29652354], SUSHI[12.28136463], TRX[8], USD[0.00], USDT[0]                                                                  Yes

07830717                              USD[0.00]

07830720                              BCH[3.69958108]

07830726                              NEAR[0], TRX[1], USD[0.00]                                                                                                                                                              Yes

07830729                              AAVE[.21], DOGE[.715], ETH[.00000001], ETHW[0], LTC[.0033518], USD[0.00], USDT[0]

07830731                              CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                             Yes

07830732                              BTC[0], SOL[0], USD[0.00], USDT[0.00001634]

07830734                              CUSDT[1], ETH[.02475874], ETHW[.02445251], NFT (486381480899884669/Froggo)[1], TRX[1], USD[0.00]                                                                                        Yes

07830752                              BRZ[5.07952967], BTC[.02707933], CUSDT[22], DOGE[864.96748909], ETH[0.24350341], ETHW[0.24330583], LINK[7.0211355], LTC[.49457188], MATIC[123.18311933], MKR[.00000077],                Yes
                                      SHIB[3488243.2504816], SOL[.88914275], SUSHI[8.75018697], TRX[1035.89894646], USD[72.63]
07830758                              USD[2.14]

07830765                              SOL[.4815]

07830767                              AVAX[7.992], SOL[9.64214965], USD[347.00]

07830786                              DAI[14], EUR[4.00], USD[1.23]

07830787                              AAVE[0.15115721], AVAX[0.26464097], BRZ[108.53435234], BTC[.00790444], DOGE[1], ETH[0.05167914], ETHW[1.06302939], GRT[207.49947508], KSHIB[888.19395330], LINK[1.82584890],            Yes
                                      LTC[0.43150042], MATIC[79.19750605], SHIB[1263355.95806672], SOL[0.24119018], SUSHI[27.14418018], TRX[389.58332675], UNI[10.99616968]
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07830789                              DOGE[.00004797], USD[0.03]                                                                                                                                                            Yes

07830801                              AUD[29.62], CUSDT[2], LINK[2.87709449], USD[0.00]                                                                                                                                     Yes

07830809                              ETH[0]

07830822                              CUSDT[2], USD[28.27]

07830824       Contingent, Disputed   USD[100.00]

07830825                              USD[0.00]

07830826                              USD[50.00]

07830827                              USD[0.00]

07830848                              BTC[0], ETH[0], ETHW[0], LTC[0], SOL[0], USD[0.00], USDT[0]

07830851                              USD[0.01]                                                                                                                                                                             Yes

07830853                              BTC[.006], ETH[.029], ETHW[.029], USD[0.68]

07830855                              CUSDT[1], USD[0.79], USDT[0.00036001]                                                                                                                                                 Yes

07830856                              USD[11.46]

07830860                              SOL[.00011541], USD[0.00]                                                                                                                                                             Yes

07830864                              SOL[.06046968], USD[0.00]

07830875                              BTC[.0120197], CUSDT[2], DOGE[211.38512683], ETH[.02619871], ETHW[.02619871], TRX[2], USD[0.00]

07830877                              ETH[0], LTC[0], SOL[0]

07830878                              USD[20.00]

07830908                              ETH[.00000001], GRT[.00071623], MATIC[.00045686]                                                                                                                                      Yes

07830912                              BTC[0], SOL[0], USD[0.00], USDT[0.00054799]

07830913                              GRT[.00004752], LINK[4.36843409], MATIC[1.02674977], USD[0.00]                                                                                                                        Yes

07830919                              CUSDT[1], DAI[27.24915189], USD[0.00]                                                                                                                                                 Yes

07830925                              USD[9.77]

07830932                              ETHW[.01115682], SHIB[.00000004], USD[1.27], USDT[0]                                                                                                                                  Yes

07830939                              BRZ[1], BTC[.00000035], SOL[4.38606702], USD[0.00]                                                                                                                                    Yes

07830940                              BTC[.00224199], USDT[0.00026761]

07830943                              AAVE[.49455143], CUSDT[1], USD[0.00]                                                                                                                                                  Yes

07830949                              BTC[.00001605], SOL[.0008491], USD[0.00], USDT[0]                                                                                                                                     Yes

07830951                              SOL[3.95604], USD[126.73]

07830956                              USD[21.51]                                                                                                                                                                            Yes

07830959                              ETH[.00000001], SOL[0], USD[0.00], USDT[0.00002648]

07830961                              AVAX[17.60762104], BAT[3.1276922], BRZ[2], BTC[.01867127], CUSDT[1], DOGE[13.07761942], GRT[4.03117578], LINK[1.05576436], MATIC[435.51337857], SHIB[10], TRX[4], USD[0.00],          Yes
                                      USDT[774.46710398]
07830968                              BTC[.00009541], LINK[.09244], MATIC[.883], SOL[.006121], USD[560.73]

07830971                              SHIB[6], TRX[3], USD[0.00]                                                                                                                                                            Yes

07830977                              USD[0.00]

07830981                              USD[0.10]

07830990                              BAT[1], BRZ[1], CUSDT[4], DOGE[3], SHIB[1], USD[0.00], USDT[0.00000792]

07830992                              BAT[1], BF_POINT[300], BRZ[1], BTC[0], DOGE[1], ETH[0], LTC[0], MATIC[0], SHIB[2], TRX[0], USD[0.00], USDT[0]                                                                         Yes

07830999                              USD[2.08]

07831009                              ETH[.02084035], ETHW[.02058043], NFT (341407958196429029/3D CATPUNK #2336)[1], NFT (358384158983973760/Inaugural Collection #653)[1], NFT (458773128892677490/Sollama)[1], NFT        Yes
                                      (502391091491959197/3D SOLDIER #1898)[1], NFT (509116660123481416/Inaugural Collection #1573)[1], NFT (523919093298230383/Obinna, the Literate)[1], SHIB[39090789.29586152],
                                      SOL[4.07204942], TRX[1], USD[0.00]
07831019                              BCH[.00000008], BTC[.00000722], SOL[.00000001], USD[0.00]                                                                                                                             Yes

07831022                              BAT[2.80201108], CUSDT[3], GRT[.00026165], MATIC[.00009449], SOL[.12736941], USD[0.00]                                                                                                Yes

07831023                              BTC[0], MATIC[9.9905], SOL[.0538145], USD[57.39]

07831031                              USD[0.92]

07831040                              USD[0.00]

07831044                              MATIC[0], USD[11.91]

07831045                              USD[109.16]                                                                                                                                                                           Yes

07831049                              USD[0.00]                                                                                                                                                                             Yes

07831061                              USD[0.46]

07831063                              MATIC[9.93], USD[0.18]

07831064                              USD[0.00]

07831077                              AVAX[.00009139], BAT[1], BRZ[1], BTC[.00000005], DOGE[.00801201], GRT[.01057448], NFT (517381948097330865/Rubber Duckie #0006 - BTC)[1], SHIB[5], SOL[.00006437], TRX[1], USD[0.00]   Yes

07831078                              USD[0.00]

07831084                              LTC[.00307], USD[3.78]

07831100                              MATIC[0.45957198], USD[0.06]

07831102                              USD[0.40]

07831111                              ETH[.00424908], ETHW[.00419436], SHIB[4], SOL[.18578767], USD[0.00]                                                                                                                   Yes
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                                                                                                                                            Customer Claims                                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07831114                              CUSDT[2], SUSHI[.00003693], USD[36.26]

07831121       Contingent, Disputed   ETHW[.00098], USD[0.00]

07831122                              BTC[0], NFT (547416337480982330/Cool Bean #4999)[1], TRX[.112381], USDT[0.20054438]

07831127                              BTC[0.00001219], USDT[1.317625]

07831128                              AAVE[.54991], ETH[.0169883], ETHW[.0169883], USD[50.31]

07831144                              ETH[0.00000001], ETHW[0.00000001], USD[4.71]

07831158                              USDT[0]

07831162                              SOL[.00303772], USD[0.00]

07831166                              USD[0.00]

07831174                              ETH[.00000002], ETHW[0.00000001], USD[0.00]                                                                                                                                                   Yes

07831181                              BF_POINT[300], BTC[0], CUSDT[1], DOGE[1], SHIB[2], TRX[4], USD[0.00]                                                                                                                          Yes

07831196                              BRZ[1], CUSDT[1], DOGE[1], ETH[0], GRT[1], SOL[0], TRX[1], USD[0.00], USDT[0]                                                                                                                 Yes

07831204                              SOL[0]

07831205                              BAT[.00005522], BRZ[4], BTC[0], DOGE[6], ETH[0], GRT[3], LTC[0.00065591], SHIB[3], TRX[6], UNI[.00000915], USD[1.25], USDT[3.03915991]                                                        Yes

07831207                              MATIC[10.03739921], USD[10.40]                                                                                                                                                                Yes

07831235                              NFT (551247027427943138/Basic Spider BoneBys)[1], SOL[0]

07831239                              BTC[0.00003991], ETH[0.00084760], USD[0.26], USDT[.9137371]

07831240                              ETHW[.22908028], SOL[.00000001]                                                                                                                                                               Yes

07831246                              CUSDT[4963.97595199], USD[0.00]                                                                                                                                                               Yes

07831249                              CUSDT[1], SUSHI[1.68293327], USD[0.00]                                                                                                                                                        Yes

07831250                              BTC[0.00000667]

07831251                              USD[0.01]                                                                                                                                                                                     Yes

07831253                              SOL[.54993485], USD[100.27]

07831268                              ETH[0], ETHW[0], MKR[.000999], NFT (297181278450456649/Abstract Portaits by Joel S. #10)[1], NFT (312324859988129117/Abstract Portrait #12)[1], NFT (312336620478774910/Abstract Portaits by
                                      Joel S. #5)[1], NFT (396955574433931068/Abstract Portaits by Joel S. #7)[1], NFT (397103559768715760/Abstract Portaits by Joel S. #9)[1], NFT (430714758269806209/Abstract Portaits by Joel S.
                                      #3)[1], NFT (461499486441106574/Abstract Portrait #11)[1], NFT (462933841630440714/Abstract Portrait #9)[1], NFT (479743511422696237/Abstract Portrait #10)[1], NFT
                                      (497139585471991252/Abstract Portaits by Joel S. #2)[1], NFT (533438575689447398/Abstract Portaits by Joel S. #8)[1], SOL[0.61196962], USD[0.00], USDT[0]
07831279                              BRZ[6.0259738], BTC[.00244363], CUSDT[1], DOGE[617.73693282], ETHW[.11324071], GRT[26.61026369], NFT (352359280542935827/ApexDucks #4171)[1], SHIB[2], TRX[11], USD[0.01],                     Yes
                                      USDT[1.00945077]
07831283                              USD[0.05], USDT[0]

07831298                              ETH[0], ETHW[0], LINK[0], SOL[0], USD[0.00], USDT[0]

07831312                              BCH[.01153086], BTC[.00022269], ETH[.00350853], ETHW[.00346749], SOL[.03666574], TRX[1], USD[0.00]                                                                                            Yes

07831319                              CUSDT[5], ETH[.15004485], ETHW[.15004485], SHIB[1], TRX[1], USD[0.00]

07831322                              USD[8.76]

07831325                              USD[0.01], USDT[0]                                                                                                                                                                            Yes

07831335                              BAT[1.00909116], BTC[.07400861], CUSDT[8], DOGE[6], ETH[1.35573216], ETHW[1.35516268], SHIB[4], TRX[6], USD[0.33], USDT[1.02543197]                                                           Yes

07831339                              DOGE[1], GRT[23897.60774507], MATIC[0], TRX[1], USD[0.00], USDT[0]                                                                                                                            Yes

07831380                              ALGO[0], BAT[0], BCH[0], BRZ[0], BTC[0.00623885], DOGE[0], ETHW[0], KSHIB[0], MKR[0], NEAR[0], PAXG[0], SHIB[2], TRX[0], USD[0.00]

07831384                              BTC[.01672209], CUSDT[2], DOGE[370.49363779], SHIB[955388.72653074], SOL[1.48690112], TRX[955.0487949], USD[0.00]                                                                             Yes

07831390                              USD[0.01]                                                                                                                                                                                     Yes

07831391                              CUSDT[3], ETH[.01267166], ETHW[.01251459], USD[0.00]                                                                                                                                          Yes

07831412       Contingent, Disputed   TRX[.000001], USDT[0.00000132]

07831413                              NFT (431794530223732850/Bahrain Ticket Stub #1723)[1], USD[1.99]

07831419                              ETH[0], ETHW[0]

07831421                              SHIB[7678523.01414883], SOL[28.20302572], TRX[1], USD[0.00]                                                                                                                                   Yes

07831426                              USD[7.96]

07831443                              CUSDT[5064.88803981], DOGE[336.85801438], USD[27.43]                                                                                                                                          Yes

07831451                              BTC[.00096858], CUSDT[4], SOL[2.54577994], TRX[1], USD[0.00]                                                                                                                                  Yes

07831454                              GRT[1.00367791], SOL[3.52451167], USD[0.00]                                                                                                                                                   Yes

07831458                              NFT (394960002183430881/SBF Hair & Signature #1 #124)[1], NFT (400643707457159273/SBF Hair & Signature #3 #111)[1], NFT (504330513367905331/SBF Hair & Signature #2 #120)[1]

07831473                              ETH[0], SOL[0], USD[0.00], USDT[0]

07831476                              ETHW[3.3114324], MATIC[955.3962516], USD[0.00]                                                                                                                                                Yes

07831489                              USDT[0.00002535]

07831492                              AVAX[53], SOL[62.88921], USD[4.08]

07831493                              ETH[0], USD[0.96], USDT[0]

07831500                              NFT (395585394862441667/Entrance Voucher #2848)[1]

07831505                              USD[1.08]

07831517                              SOL[10.38], USD[3824.97]

07831525                              USD[0.00]                                                                                                                                                                                     Yes

07831528                              CUSDT[1], USD[0.00]                                                                                                                                                                           Yes
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                                                                                                                                            Customer Claims                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07831534                              DOGE[648.38345], LINK[12.78784], MATIC[419.601], SOL[9.0386795], TRX[1931.16365], USD[5.40]

07831536                              USD[0.00], USDT[0.00429383]

07831539                              TRX[.000001], USDT[0.00000109]

07831543                              BTC[.00574337], ETH[.3730723], ETHW[.37291544], USD[0.00]                                                                                                                    Yes

07831546                              USD[0.00]

07831547                              LTC[.003], USDT[1.2210382]

07831554                              BTC[.00000075], USD[0.01]

07831555                              USD[1.70]

07831561                              ETHW[1.40024384], NFT (469973852116387861/Sigma Shark #4823)[1], USD[0.00]

07831565                              CUSDT[0], MATIC[0.00023713], SUSHI[0]                                                                                                                                        Yes

07831577                              TRX[.000025], USDT[0.00000001]

07831578                              SOL[0.00906609], USD[0.00]

07831590       Contingent, Disputed   SOL[.00006029], USD[0.00]

07831599                              ETHW[0], SOL[0]

07831604                              USDT[0.00016348]

07831606                              SOL[.00047262], USD[0.79]

07831613                              DOGE[1], SOL[0]

07831616                              BTC[0], ETH[0.00000001], SOL[0], USD[0.00]

07831618                              CUSDT[1], DOGE[1], SHIB[1], SOL[0], USD[0.00]                                                                                                                                Yes

07831630                              BRZ[2], CUSDT[6], SOL[0.00017233], USD[0.00]                                                                                                                                 Yes

07831635                              CUSDT[4], MATIC[141.39393821], SHIB[1], SUSHI[57.41253675], TRX[2], USD[0.00]                                                                                                Yes

07831642                              AAVE[0], BTC[0.00000001], DOGE[0], ETH[0.00028790], ETHW[0], SOL[0], USD[0.00], USDT[0]

07831648                              USD[100.00]

07831671                              EUR[0.00]

07831672                              BTC[0.00627858], DOGE[96.31550439], ETH[0], MATIC[0], USD[0.00]

07831673                              ETH[.17365951], ETHW[.17365951], SOL[3.18270643], TRX[2], USD[0.01]

07831676                              BTC[.000029], MATIC[28], SOL[.00000001], USD[1.38]

07831684                              CUSDT[2], USDT[0.00000142]                                                                                                                                                   Yes

07831685                              SHIB[1], SOL[.00000941], USD[0.00]                                                                                                                                           Yes

07831694                              NFT (294779628723306021/Coachella x FTX Weekend 1 #12936)[1]

07831698                              CUSDT[3], DOGE[1], ETH[.03149809], ETHW[.03110503], TRX[1], USD[0.01]                                                                                                        Yes

07831701                              EUR[0.00], MATIC[0], SHIB[1], USD[0.00], USDT[0.00038939]                                                                                                                    Yes

07831713                              USDT[0.00000143]

07831719                              USD[0.00], USDT[0.00000030]

07831728                              BF_POINT[400]

07831729                              USDT[22.6498392]

07831734                              AAVE[0], AVAX[0], BTC[0], ETH[0.00000001], ETHW[0.00051959], LINK[0], MATIC[0], SOL[0.00478655], TRX[0], USD[0.00], USDT[0]

07831735                              BTC[0], CUSDT[5], DOGE[1], ETH[0], LINK[0], TRX[1], USD[0.00]                                                                                                                Yes

07831739                              BF_POINT[200], USD[2.46]

07831748                              SOL[0.00036370], USD[0.26]

07831752                              USD[2.72], USDT[0.00000132]

07831755                              NFT (354611997284219095/Saudi Arabia Ticket Stub #244)[1], NFT (414439190865379154/Imola Ticket Stub #1452)[1], NFT (532013965773424243/Australia Ticket Stub #74)[1], NFT
                                      (551009992689929154/Bahrain Ticket Stub #184)[1], USD[0.00]
07831767                              BRZ[1], CUSDT[6], DOGE[1], USD[0.00]                                                                                                                                         Yes

07831768                              USD[0.00]

07831769                              USD[10.90]

07831770                              DOGE[.3], USD[1.61]

07831775                              AAVE[.09319883], CUSDT[15], DOGE[1], LINK[1.43225922], MATIC[10.86945871], SHIB[57187.67081084], SOL[.24489712], TRX[189.16812189], USD[0.00]

07831786                              BTC[0], ETH[0], SOL[0], USDT[0.00000053]

07831788                              USD[0.38]

07831793                              NFT (318077407310769514/Birthday Cake #0563)[1], NFT (349091946994145858/The 2974 Collection #0563)[1], NFT (476220883940256858/Bahrain Ticket Stub #1432)[1], NFT
                                      (505700117681844742/2974 Floyd Norman - OKC 2-0229)[1], USD[2.01]
07831795                              USD[0.09]

07831800                              ETH[.00000001], ETHW[0], SOL[0]

07831815                              BTC[.00117448], SHIB[1], USD[0.00]                                                                                                                                           Yes

07831818                              USD[0.00]                                                                                                                                                                    Yes

07831831                              USD[20.25]

07831833                              SOL[.00044626], USD[0.00]

07831834                              USD[10.35]

07831840                              USD[0.00], USDT[0]                                                                                                                                                           Yes
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                                                                                                                                         Customer Claims                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07831844                           BRZ[1], BTC[0], CUSDT[1], ETH[0], ETHW[0], TRX[1], USD[0.00]                                                                    Yes

07831859                           BF_POINT[300]

07831863                           DOGE[54.58990919]                                                                                                               Yes

07831864                           SOL[.06170382], USD[0.00], USDT[0.00000068]

07831866                           BRZ[1], USDT[47.96836352]

07831870                           USDT[1.38022934]

07831884                           BTC[1.01114422], ETH[1.2650341], ETHW[1.2650341], SOL[16.50855856], USD[0.00]

07831888                           SHIB[1428059.03594205], USD[0.00]                                                                                               Yes

07831896                           USD[0.00]

07831899                           TRX[.000001], USD[0.00], USDT[0.00000112]

07831903                           USDT[0.00000081]

07831909                           USD[0.00], USDT[1.16092683]

07831910                           SOL[0], USDT[0.00000004]

07831914                           NFT (512266515740210483/You in, Miami? #209)[1], TRX[2.0000329], USD[7.81]

07831919                           USD[0.00]

07831920                           USD[2.70]

07831929                           NFT (495489308013157492/Bitebit Artwork)[1]

07831930                           USD[5000.00]

07831932                           ETH[0.00000002], SOL[0], USD[0.41]

07831935                           SOL[0]

07831936                           ETH[.0013512], ETHW[.0013512], SOL[.00476], USD[0.00]

07831940                           ETH[.18965099], ETHW[.18965099], SOL[2.01736], USD[0.13]

07831944                           DAI[0], NFT (360493809934695750/Fancy Frenchies #9170)[1], NFT (527117524612041643/Forbes VNFTB: Francois Laurent)[1], SOL[0]

07831946                           SOL[.00126268], USD[0.26]

07831955                           USDT[14.2561401]

07831969                           BF_POINT[100], SOL[0.05078082], TRX[0], USD[0.00]                                                                               Yes

07831971                           USDT[0.00000078]

07831978                           SOL[.00754919], USDT[.1875005]

07831979                           MATIC[40], USD[2.46], USDT[0]

07831982                           NFT (524973613225035047/Imola Ticket Stub #665)[1], USD[0.00], USDT[0]

07831986                           USDT[.9965122]

07831988                           CUSDT[.00210115], GRT[1], LINK[.00137209], LTC[.00000797], SHIB[63], SUSHI[.00017589], USD[1.19]                                Yes

07831993                           CUSDT[1], DOGE[1], SOL[0], TRX[2]

07831995                           USDT[.70252752]

07832004                           BCH[1.25347296], USD[0.00]

07832005                           USDT[1.8943562]

07832008                           USD[0.91]

07832011                           SOL[0], USDT[0.00000016]

07832015                           USDT[1.5965384]

07832016                           CUSDT[2], DOGE[203.69370745], TRX[1], USD[0.00]

07832017                           SOL[.52], USD[0.94]

07832019                           USD[1.33]

07832025                           ETH[0.08784562], NFT (348849259180164875/Entrance Voucher #2784)[1], NFT (529017382199397070/Romeo #770)[1], USD[0.00]

07832030                           BTC[.00000051], USD[0.02], USDT[0]                                                                                              Yes

07832031                           SOL[0.00884495], USD[0.00], USDT[0]

07832032                           ETH[1.76638091], ETHW[.80465001], MATIC[1.00015521], USD[2273.47], USDT[0]                                                      Yes

07832048                           USDT[1.2576456]

07832054                           USDT[0.00000032]

07832055                           BCH[.00000309], BRZ[2], BTC[0], DOGE[4.02183096], ETH[0], ETHW[0], LTC[0], TRX[3], USD[0.00]                                    Yes

07832056                           SOL[.00675875], USD[12318.87]

07832058                           ETH[0], SOL[0], USD[0.00], USDT[0]

07832059                           NFT (337574581211666131/Miami Ticket Stub #865)[1], USDT[0]

07832063                           USD[92.55]

07832064                           USDT[0.00000024]

07832065                           CUSDT[1], TRX[.000001], USD[49.75], USDT[0]

07832066                           USDT[2.6228]

07832073                           USD[0.40]

07832074                           SHIB[100000], SOL[0], USD[0.22]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07832076                              USDT[1.0442232]

07832082                              BAT[.00424222], CUSDT[1], DOGE[.10172317], LINK[0], NFT (315119570452219360/Sickos)[1], NFT (552252772672571449/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th,     Yes
                                      1978 #73)[1], TRX[1], USD[0.89]
07832083                              USDT[0.00000149]

07832085                              USDT[0.00000156]

07832088                              USDT[0.00000025]

07832089                              USDT[0.00000027]

07832091                              USDT[1.82463]

07832093                              CUSDT[9], DOGE[1], USD[0.01]                                                                                                                                                             Yes

07832096                              MATIC[0], NFT (370302968742013445/1/1 Pieces 3.0)[1], NFT (460377482665481594/1/1 Pieces 5.0)[1], NFT (490745014097928215/Audrey )[1], NFT (493717318162786020/Crypto Avatar Art)[1], NFT Yes
                                      (496539543736644526/Vox Robo #6)[1], NFT (559934030813470958/Technicolor Snail)[1], SHIB[2], SUSHI[0.00015409], TRX[1], USD[236.80]
07832097                              CUSDT[1], DOGE[1], SOL[.1638799], USD[0.00]

07832099                              ETH[.000001], ETHW[.000001], SOL[0], USDT[0.00000130]

07832100                              USDT[0.00000152]

07832101                              BTC[.00000035], CUSDT[1], DOGE[4], ETH[.00000414], ETHW[.00000414], GRT[1], SHIB[1], USD[0.01]                                                                                           Yes

07832102                              CUSDT[1], SOL[.00001225], TRX[1], USD[0.01]

07832106                              USDT[0.00000134]

07832115       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07832119                              CUSDT[2], DOGE[1], SHIB[4], TRX[2], USD[0.00]                                                                                                                                            Yes

07832121                              CUSDT[5], DOGE[2], TRX[2], USD[0.00], USDT[0.00000001]                                                                                                                                   Yes

07832124                              USD[0.00], USDT[0]                                                                                                                                                                       Yes

07832127                              BRZ[1], CUSDT[1], USD[0.00]

07832129                              USD[0.00]                                                                                                                                                                                Yes

07832131                              BTC[.0001]                                                                                                                                                                               Yes

07832135                              SOL[.00532], USD[0.00], USDT[0]

07832141                              ETH[0], ETHW[0], SOL[0], USD[0.00]

07832143                              BTC[.00003115], DOGE[0], ETH[0], ETHW[0.00049504], NEAR[0], NFT (456434202084710459/Magic Eden Pass)[1], PAXG[0], SOL[0], USD[0.17], USDT[0]

07832147                              ETH[0], SOL[0], USD[0.00]

07832148                              BTC[.0005199], SOL[.26669253], USD[0.00], USDT[0.00000107]

07832151                              USD[1.50]

07832152                              LINK[.00000001], SHIB[1], SOL[.00000001], USD[10.37]                                                                                                                                     Yes

07832165                              NFT (459363589338028918/FTX - Off The Grid Miami #2876)[1], SOL[0], SUSHI[0], USDT[0]

07832166                              USDT[0.00000057]

07832173                              LTC[0.00075889], SOL[0], USD[0.10]

07832185                              SOL[0]

07832188                              USD[100.00]

07832190                              CUSDT[2], DOGE[1], ETH[.10939928], ETHW[.10829988], USD[0.00]                                                                                                                            Yes

07832194                              USDT[0.00000058]

07832196                              USDT[0.00000144]

07832201                              SOL[0]

07832204                              SOL[5.53466293]                                                                                                                                                                          Yes

07832206                              BAT[4], BRZ[5], CUSDT[11], DAI[0], DOGE[5], ETH[0], GRT[2], SHIB[1], SOL[0.00000001], TRX[6], USD[0.00], USDT[0]

07832209                              DOGE[.49127025], ETH[0], GRT[.021], MATIC[0], SOL[0], USD[0.01], USDT[.00654656]

07832212                              CUSDT[2], DOGE[3], SHIB[2388705.23874865], TRX[2], USD[0.00]                                                                                                                             Yes

07832213                              BTC[0], SOL[.00000001], USD[0.00]

07832215                              ETH[0], SOL[0], USD[11.18]

07832216                              BTC[.00009144], CUSDT[1], SOL[0], TRX[2]                                                                                                                                                 Yes

07832218                              DOGE[1], GRT[1], USD[0.01]                                                                                                                                                               Yes

07832222                              ETH[.05264784], ETHW[.05199118]                                                                                                                                                          Yes

07832224                              USD[0.00]

07832227                              USDT[0.00000121]

07832229                              BRZ[1], DOGE[3], GRT[2], SHIB[3], TRX[5], USD[0.00], USDT[0]

07832231                              USD[6793.10], USDT[0.00000001]

07832233                              SOL[.10113866], USD[0.00]

07832234                              USDT[0.00000046]

07832238                              ETH[0], SOL[0], USD[0.00], USDT[0]

07832246                              SOL[.00000001], USD[0.00], USDT[0]

07832248                              CUSDT[2], SOL[4.13916441], TRX[1], USD[0.00]                                                                                                                                             Yes

07832252                              USDT[0.00000023]

07832254                              DOGE[1], TRX[1], USDT[0]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07832259                              SOL[.00056341], USDT[0]

07832270                              USDT[2.3052928]

07832274                              ETH[0], USD[0.14], USDT[0.00000028]

07832276                              BTC[0], LINK[0], SOL[0], USD[0.00], USDT[0.00000021]

07832290                              BF_POINT[200]

07832291                              USD[0.00], USDT[0]

07832292                              USD[10.10]

07832293                              CUSDT[17], DOGE[3], GRT[14184.81243048], MATIC[9.15477989], SHIB[6], SOL[4.16467611], TRX[4], USD[532.27]                                                                     Yes

07832294                              USDT[.777064]

07832295                              ETH[.00020761], ETHW[.00020761], USD[2.74]

07832296                              ETH[.107893], ETHW[.107893], USD[1.41]

07832299                              DOGE[1], TRX[1], USDT[0.00000144]

07832302                              BAT[1], BRZ[1], DOGE[1], TRX[2], USD[1.15]                                                                                                                                    Yes

07832304                              SOL[.00552319], USD[0.00], USDT[.002428]

07832305                              USDT[1.1836436]

07832308                              BF_POINT[200], CUSDT[2], DOGE[2], GRT[2], USD[0.00], USDT[0.00000001]

07832309                              DOGE[.6624], USD[0.07]

07832311                              USD[2.97]

07832312                              SOL[0], USD[0.00], USDT[0.00000712]

07832317                              USD[1.21]

07832320                              NFT (438295791100416049/Saudi Arabia Ticket Stub #1520)[1]

07832322                              USDT[0]

07832328                              USD[0.00]

07832332                              USD[0.01]

07832338                              BRZ[2], BTC[.00000025], ETH[.00000344], ETHW[.23649799], MATIC[273.54221061], SHIB[9], SOL[.00012312], TRX[7], USD[0.00]                                                      Yes

07832345                              SOL[0], USD[0.00], USDT[0.00000001]

07832352                              TRX[1], USDT[0.00000029]

07832354                              SOL[0], USD[0.00], USDT[0.00000017]

07832359                              BTC[.05782061], CUSDT[1], DOGE[1], ETH[1.16083519], ETHW[1.16034759], SOL[.35541894], TRX[1], USD[1047.46]                                                                    Yes

07832360                              USD[5.00]

07832362                              USD[0.00]

07832370                              USDT[0.00000011]

07832372                              USD[2.00]

07832379                              USD[1.10]                                                                                                                                                                     Yes

07832381                              ETH[.243756], ETHW[.243756], USD[10.63]

07832388                              BTC[.000195], USD[30.01]

07832390                              SOL[0]

07832393                              USDT[0.00000149]

07832394                              NFT (312192964793858203/LASER EYE BABY MEME)[1], NFT (379809291595519843/NFT)[1], USD[0.00], USDT[0.05004142]

07832399                              CUSDT[1], DOGE[1], GRT[1], USD[1.98], USDT[0.00058653]

07832400                              BTC[0.00032897], USD[0.55]

07832401                              BTC[0], SOL[0]

07832402                              BTC[.18069617], DOGE[411], ETH[2.25108338], ETHW[2.25108338], GBP[37.00], LTC[6.34081902], SHIB[958405.21372436], SOL[104.81363551], TRX[498], USD[56.05], USDT[0.00000079]

07832404                              USDT[.5013657]

07832406                              LINK[0], SOL[0]

07832410                              BTC[0], USD[0.00]

07832411                              USDT[0.00000136]

07832412                              USDT[0.00000053]

07832413                              AVAX[0], BTC[0.00000001], ETH[0], MATIC[0], TRX[.000018], USD[0.00], USDT[0.00000001]

07832416                              USD[10.76]

07832421                              SOL[0], USD[0.00]

07832423                              NFT (394629333935611320/Coachella x FTX Weekend 1 #30678)[1]

07832425       Contingent, Disputed   ETH[0], ETHW[0], USD[0.00]

07832428                              LTC[.00433], USD[0.05], USDT[.003366]

07832432                              SOL[6.73165614], SUSHI[48.951], USD[0.00], USDT[0]

07832433                              USD[1.71]

07832443                              SOL[0], USDT[0.42886925]

07832446                              BTC[.2125674], USD[27.19]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07832459                              SOL[.00000001], USD[0.82]

07832460                              ETH[0], ETHW[0], SOL[.6238282], USD[0.00]

07832461                              SOL[.00000001], USD[0.00], USDT[0]

07832464                              LTC[.0077116], TRX[.000001], USDT[.9422347]

07832467                              SOL[0], SUSHI[0], USD[0.00], USDT[0.00000021]

07832473                              USD[1.64], USDT[0.00000131]

07832475                              USD[0.00]

07832477                              USDT[0.00000145]

07832485                              TRX[.000266], USDT[1.16030224]

07832490                              NFT (385944099191452404/Knife #142)[1], NFT (544225854032287970/Fancy Frenchies #3942)[1], SOL[.00000001], USDT[0.00000030]

07832499       Contingent, Disputed   USD[1.13]

07832506                              ETH[0], SOL[0], USD[0.00]

07832507                              BTC[0], ETH[0], NFT (313675709475119964/Imola Ticket Stub #1046)[1], USD[0.12]

07832512                              USD[1.33]

07832514                              BAT[22.37868543], BRZ[2], BTC[0], CUSDT[131.98957262], DAI[10.20309017], DOGE[89.16817295], ETH[0], LINK[.07120595], NFT (421091607280985065/Joe Theismann's Playbook: Washington vs.    Yes
                                      Chicago Bears - September 29, 1985 #64)[1], NFT (447701081002457974/Golden Retreiver Common #49)[1], NFT (465609487031493706/Earl Campbell's Playbook: LA Rams vs Houston Oilers -
                                      September 4th, 1978 #116)[1], NFT (509129781680808065/Shannon Sharpe's Playbook: Baltimore Ravens vs. Oakland Raiders - January 14, 2001 #97)[1], NFT (510598174587558578/Saudi Arabia
                                      Ticket Stub #1244)[1], SHIB[1064526.39887986], SOL[.624459], TRX[240.06033678], USD[0.00]
07832518                              TRX[.000001], USD[0.00]

07832520                              AAVE[0], CUSDT[7], ETH[0], USD[0.00], USDT[0.00000001]                                                                                                                                   Yes

07832524                              USD[1.09]

07832525                              SOL[0.00097041], USD[1.11]

07832534                              NFT (456696650842310697/Bahrain Ticket Stub #1469)[1], USDT[0.00000054]

07832540                              BTC[0], ETH[0.05453135], ETHW[0.05385446], SOL[0.00000001], USD[0.00]                                                                                                                    Yes

07832543                              SOL[.00000001], USDT[0]

07832546                              USDT[0.00000135]

07832548                              SHIB[1], USD[0.00]                                                                                                                                                                       Yes

07832549                              USDT[0.00000074]

07832551                              BTC[.0786], USD[4.80]

07832553                              USD[0.00], USDT[0]

07832557                              ETH[.00035808], ETHW[.00035808], SOL[2.601612], USDT[.89403134]

07832559                              DOGE[.38553667], USD[1.32]

07832563                              BTC[0], DOGE[1], SHIB[1], SOL[0]

07832575                              USD[1.58]

07832576                              USD[1.60]

07832578                              BRZ[1], CUSDT[1], DOGE[1], TRX[2], USD[0.00], USDT[0.00000070]                                                                                                                           Yes

07832579                              DAI[0], SHIB[143349.06753827], USD[0.00], USDT[0.00000001]                                                                                                                               Yes

07832584                              USD[0.24]

07832587                              SOL[381.00610691]                                                                                                                                                                        Yes

07832590                              NFT (374653270666220925/Vintage Sahara #46)[1], NFT (530114470495361079/Reflector #979)[1], USD[61.15], USDT[0.00000078]

07832594                              SOL[.00069782], USD[0.00]

07832596                              USDT[0.00000030]

07832598                              TRX[1], USDT[0.00000136]

07832601                              USDT[4.1004496]

07832604                              TRX[.000016], UNI[.00255725], USDT[1.5497936]

07832606                              SOL[.00584969], USD[0.90]

07832608                              ETH[.00028878], ETHW[0.00028877], TRX[.000001], USD[0.01], USDT[0]

07832609                              BRZ[1], CUSDT[6], DOGE[14105.3968702], LTC[2.32284948], SHIB[5], SOL[12.49407438], TRX[3], USD[2682.29]                                                                                  Yes

07832610                              ETH[.02984939], ETHW[.02984939], TRX[1], USD[0.00]

07832615                              CUSDT[2], USD[0.00]                                                                                                                                                                      Yes

07832617                              BAT[2.0279848], BRZ[1], BTC[.00002328], ETH[.00020016], ETHW[.00020016], SOL[.00316954], USD[0.00]                                                                                       Yes

07832618                              CUSDT[10], KSHIB[0], MATIC[.0000749], SHIB[3], SOL[0], TRX[1], USD[0.05], USDT[0]                                                                                                        Yes

07832624                              ETH[.00000001], ETHW[0], USD[0.00]

07832625                              USDT[3.61385385]

07832626                              USDT[0.00000110]

07832627                              TRX[.000002], USDT[1.4255562]

07832629                              ETH[.00086135], ETHW[0.00086135], SOL[0.00000016]

07832630                              USD[0.51], USDT[0.00000132]

07832634                              USDT[0]

07832641                              USD[0.00]
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                                                                                                                                            Customer Claims                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07832649                              SOL[0]

07832650                              NFT (302915420170172177/Series 1: Capitals #666)[1], NFT (355763160607177127/Series 1: Wizards #582)[1]

07832651                              SOL[0]

07832659                              BAT[1], BRZ[1], DOGE[1], NFT (473906168761858518/Coachella x FTX Weekend 2 #1686)[1], SHIB[2], USD[20.00]

07832662                              USDT[0.00000121]

07832663                              NFT (337269850634997602/Fortuo Distinctus #58)[1], NFT (503422985677078575/Entrance Voucher #2551)[1], USD[0.00]

07832665                              SOL[1.3666564], USD[0.00]

07832667                              ETH[0]

07832669                              BRZ[1], CUSDT[3], SOL[0], TRX[1], USD[0.00]

07832672                              BAT[1], BF_POINT[300], BRZ[4], CUSDT[63.62435314], DOGE[23.37703166], SHIB[5], SUSHI[1.05388465], TRX[25.39474334], USD[9535.60]   Yes

07832673                              SOL[.0077886], USD[0.00]

07832677                              SOL[0]

07832688                              CUSDT[1], SHIB[413069.86904721], USD[0.00]

07832694       Contingent, Disputed   BTC[.00959657], ETH[.06627637], ETHW[.0654551], SOL[1.24527442]                                                                    Yes

07832700                              USD[0.01], USDT[0]

07832702                              USDT[.8897]

07832704                              ETH[0], USDT[0.00000136]

07832708                              CUSDT[2], DOGE[2], TRX[1], USD[0.00]                                                                                               Yes

07832709                              ETH[0], SOL[0], USD[0.00]

07832717                              SOL[0]

07832723                              ETH[.00000001], SOL[0]

07832727                              TRX[12254.09607584]                                                                                                                Yes

07832731                              SOL[0]

07832732                              NFT (538615981276072008/Cyber Frogs Ramen)[1]

07832734                              USDT[0.00000092]

07832736                              USD[0.00], USDT[.9418557]

07832737                              USD[0.00]

07832738                              DOGE[2], TRX[1], USDT[0.00000141]

07832740                              USD[10.00]

07832741                              BRZ[1], SHIB[1], TRX[.000048], USD[0.38], USDT[0]

07832752                              USD[0.05]

07832757                              BRZ[1], CUSDT[3], DOGE[1], USDT[0.00197555]

07832758                              USDT[0.00000039]

07832766                              LINK[37.6], SOL[18.93], USD[1.20]

07832768                              DOGE[.6732798], USD[0.84]

07832775                              BTC[.0312503], ETH[0], SOL[0]

07832776                              AVAX[0.01205678], BTC[0.02546729], ETH[.00032587], ETHW[.00032587], USD[2.31], USDT[0.01286716]

07832777                              MATIC[.752], SOL[.00000105], USD[0.81], USDT[1.99960489]

07832778                              ETH[.00000001], ETHW[0], TRX[.000001], USD[0.00], USDT[0.00000085]

07832781                              ETH[.392607], ETHW[.392607], USD[7.13]

07832783                              ETH[0], SOL[0], USD[0.00]

07832785                              BTC[.12746763], ETHW[.2777], LTC[.003], USD[0.29]

07832786                              USD[2.35], USDT[0.00000001]

07832787                              BAT[1], CUSDT[2], DOGE[2], ETH[.2010536], ETHW[.2010536], SOL[4.32827149], TRX[3], USD[0.01]

07832788                              SOL[.00000001], USDT[.8053788]

07832789                              BAT[2], BRZ[2], CUSDT[3], DOGE[7], GRT[1], TRX[4], USDT[0.00000156]

07832790                              USD[0.33], USDT[0]

07832792                              CUSDT[2], DOGE[1], USD[0.00], USDT[1.00000030]

07832798                              BAT[4.02230856], BRZ[1], DOGE[3], ETH[0], ETHW[0], GRT[4], SHIB[9], TRX[99.40573646], USD[0.00], USDT[1.01414148]                  Yes

07832799                              USDT[4.0416797]

07832804                              USDT[0.00000128]

07832806                              SOL[0], USD[0.22]

07832815                              CUSDT[2], USD[0.00], USDT[0.00000086]                                                                                              Yes

07832816                              NFT (393706044873144334/Saudi Arabia Ticket Stub #530)[1], SOL[.00000001], TRX[.000046], USD[0.17], USDT[.0307168]

07832818                              SOL[1.20994501], USD[0.72]

07832820                              ETH[0], SOL[.00000001], USDT[0.00000008]

07832823                              ETH[0], SOL[0], USD[0.00]

07832824       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]
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                                                                                                                                         Customer Claims                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07832826                           BF_POINT[100], BRZ[1], DOGE[1], ETH[.00000001], ETHW[0], SHIB[4], SOL[.00000001], USD[0.00], USDT[0.00049212]

07832834                           CUSDT[7], DOGE[1], SOL[.00000001], TRX[6], USD[0.00], USDT[0.00028316]                                                                                                       Yes

07832838                           SOL[.00028222], USD[0.00]

07832841                           CUSDT[1], TRX[1], USDT[0.00000049]

07832842                           USDT[0.00000135]

07832843                           LINK[31.936], MATIC[19.77380335], SOL[.329703], USD[483.17]

07832845                           CUSDT[2], USDT[0.00000108]

07832846                           USDT[.0564941]

07832848                           USD[500.00]

07832850                           SOL[0], USD[3.26]

07832851                           USD[0.10], USDT[0]

07832856                           NFT (416873762470187798/Saudi Arabia Ticket Stub #1629)[1]

07832861                           BTC[.00050001]

07832866                           BTC[.00021685], ETH[.00000001], SOL[0], USD[0.00]

07832867                           SOL[.00170472], USD[0.00]

07832870                           SOL[.00007383], USD[0.00]

07832876                           USDT[0.00000009]

07832877                           USD[0.99]

07832879                           ETH[.00059596], ETHW[.00059596], SOL[0.00341498], USD[0.00], USDT[.00724815]

07832881                           CUSDT[4], DOGE[1], TRX[3], USD[0.00], USDT[0.00000001]

07832882                           BTC[0], SOL[0], USDT[0.00027460]

07832885                           SOL[.00000001], TRX[.000001], USDT[.6420668]

07832886                           SOL[0], USD[0.00]

07832890                           ETH[0], SOL[.0061223], TRX[.000003], USD[0.00], USDT[0.00000001]

07832891                           USDT[0.00000121]

07832893                           USD[0.01], USDT[0.00000038]

07832894                           BTC[0], ETH[0], SOL[0]

07832899                           BAT[1], BRZ[2], BTC[.24260226], CUSDT[1], DOGE[7146.25180751], ETH[.70661691], ETHW[.70661691], SOL[11.44071696], TRX[3], UNI[1], USD[0.00], USDT[1]

07832900                           USD[0.96], USDT[0]

07832903                           USD[0.75]

07832906                           TRX[.000032], USDT[0]

07832908                           SOL[.0574]

07832914                           BF_POINT[100]

07832915                           USD[4.34]

07832917                           NFT (414050989570549142/The Hill by FTX #1106)[1]

07832921                           ETH[.00005145], ETHW[.00005145], SOL[.0010988], USD[0.06], USDT[0.00045860], YFI[.00069315]

07832923                           ETH[.035], ETHW[.035], USD[1.19]

07832924                           SOL[.000589], USDT[0.00000106]

07832926                           SOL[2.97702], USD[2.87]

07832930                           SOL[.02128924], USD[0.00]

07832934                           USDT[0]

07832940                           SOL[0]

07832944                           SOL[0], USDT[0.00000127]

07832946                           TRX[.000001], USD[4.98], USDT[0.00000151]

07832948                           BTC[0], USDT[0.00000156]

07832949                           USDT[2.894976]

07832950                           AAVE[4.2971148], BTC[0.38808078], ETH[1.08407878], ETHW[1.08364745], LINK[58.73266063], MATIC[1237.94392147], SOL[16.6756154], UNI[18.895185], USD[0.00], USDT[0.00000001]   Yes

07832951                           ETH[0], SOL[0.00007387], USDT[0.00000132]

07832952                           USD[0.24], USDT[1]

07832956                           USD[1.45], USDT[0]                                                                                                                                                           Yes

07832959                           USDT[0.00000084]

07832961                           USD[2.16]

07832964                           USDT[0]                                                                                                                                                                      Yes

07832965                           DOGE[1], SOL[4.40360054], USD[0.00]                                                                                                                                          Yes

07832966                           ETH[.00000001], SOL[0]

07832975                           ETH[.00000001], SOL[0.00000001], USD[0.00], USDT[0.00000161]

07832976                           SOL[17.67334955], USD[729.00], USDT[0]

07832978                           ETH[0], ETHW[0], SOL[0.00072383], USD[0.00], USDT[0.00000144]
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                                                                                                                                         Customer Claims                                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07832986                           BTC[0], USD[100.00], USDT[0]

07832987                           CUSDT[1], LINK[1.46669885], USD[0.00]

07832990                           ETH[0.00519630], ETHW[0.00519630], USD[0.00]

07832991                           USD[0.27]                                                                                                                                                                      Yes

07833006                           USD[0.00], USDT[0.00002754]

07833009                           USDT[0.00000057]

07833015                           USDT[0.00000106]

07833017                           USDT[0.00000055]

07833020                           ETH[0], SOL[0], USD[1.62], USDT[0.63585894]

07833023                           USDT[0.00000079]

07833028                           SHIB[399600], SOL[1.13657004], SUSHI[20.4795], USD[0.94]

07833032                           USD[0.00]

07833035                           CUSDT[3], SHIB[3], TRX[1], USD[0.01]                                                                                                                                           Yes

07833038                           USDT[0.00000153]

07833041                           USDT[0.00000135]

07833047                           DOGE[.84836928], USD[0.75]

07833048                           USDT[1.4496172]

07833050                           ETH[0], SOL[0], USDT[0.00000013]

07833058                           DOGE[2], USDT[0.00000139]

07833061                           ETH[0], SOL[0], USD[0.00], USDT[0.00000010]

07833064                           BRZ[5.06373587], BTC[.21231752], CUSDT[74.97521007], DOGE[16.68835207], GRT[1], SHIB[68], TRX[26.50857491], USD[45.48]                                                         Yes

07833065                           SOL[0], TRX[0], USDT[.17554343]

07833067                           ETH[0], ETHW[0], SOL[.03729459], USD[0.00], USDT[0.00000094]

07833072                           SOL[.25]

07833075                           USD[14.13]

07833076                           ETHW[3.448707], USD[0.01]

07833078                           NFT (573378023825132602/Fancy Frenchies #6908)[1], USDT[0.00000022]

07833081                           USDT[0.00000040]

07833084                           USDT[0.00000048]

07833086                           BTC[0], ETH[.00080906], ETHW[0.00080906], NFT (294605396180729020/Sigma Shark #6028)[1], NFT (323711679583928157/Sigma Shark #5814)[1], NFT (343899133816209735/Sigma Shark
                                   #7161)[1], NFT (359794817660038585/Sigma Shark #5105)[1], NFT (419331870512570742/Sigma Shark #577)[1], NFT (450313881261870328/Sigma Shark #2625)[1], NFT
                                   (453290922099091844/Sigma Shark #2750)[1], SOL[.00693037], USD[1.66], USDT[1.295919]
07833087                           USDT[1.157749]

07833088                           USDT[5.2631253]

07833091                           USD[0.00], USDT[0.00000028]

07833093                           USD[0.00]

07833096                           BAT[4.27054758], BCH[0], BRZ[4], CUSDT[34], DOGE[17.86830926], GRT[2.0034602], LINK[1.05572799], MATIC[1.0150988], SHIB[7759.30179977], TRX[10], USD[0.01], USDT[3.16171253]   Yes

07833102                           USDT[0.00000085]

07833110                           NFT (574545121815038358/CORE 22 #64)[1], SOL[0], USD[0.00]

07833111                           BTC[0.00002573], ETH[.00001131], ETHW[.00001131], SOL[.00000001], USD[1.12], USDT[0.00187134]

07833121                           ETH[0], SOL[.00000001], USDT[0.00000980]

07833125                           CUSDT[1], USD[0.21]                                                                                                                                                            Yes

07833126                           ETH[0], USDT[0.00000115]

07833132                           ETH[0], ETHW[0], SOL[0], USD[0.00]

07833133                           USD[0.00], USDT[0.00000012]

07833135                           USD[0.00]

07833138                           USD[0.52]

07833141                           DAI[0], LTC[0], SOL[0], USD[0.00]

07833142                           TRX[.000017], USD[0.00], USDT[0.00000091]

07833144                           DOGE[1], SHIB[1], SOL[.677063], TRX[3], USDT[0.00000087]                                                                                                                       Yes

07833145                           ETH[.00072994], ETHW[.00072994], MATIC[0], SOL[0], USD[100.00]

07833146                           USDT[0.00000007]

07833153                           ETH[0], SOL[0], USDT[0.00000086]

07833157                           ETH[0], SOL[.00000001], USDT[0.00000017]

07833160                           BRZ[1], CUSDT[1], GRT[1.0001826], SHIB[9365989.64842071], SOL[18.20385866], TRX[6128.55218442], USD[1.20]                                                                      Yes

07833161                           BTC[0.00001517]

07833165                           ETH[.00051784], ETHW[0.00051784], USD[0.78], USDT[0.00000094]

07833169                           SOL[0]

07833171                           CUSDT[1], DOGE[103.68475956], USD[0.00]                                                                                                                                        Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07833172                              USDT[.537889]

07833174                              ETH[0], SOL[0], USD[2.35]

07833177                              NFT (423885080720800265/Golden Hill #469)[1], NFT (447731644568993160/Reflection '18 #15)[1], NFT (456264939647216591/Golden Hill #554)[1], NFT (512038365211611440/Vintage Sahara
                                      #201)[1], NFT (530600065937023903/Colossal Cacti #948)[1], USD[80.01], USDT[7.87943690]
07833178                              BTC[0.00000789]

07833179                              BTC[0], ETH[0], ETHW[0], SOL[0.00000088], USD[0.00], USDT[0.00000018]

07833181       Contingent, Disputed   ETH[0], ETHW[0], SOL[0]

07833183                              USDT[0.00000031]

07833184                              SOL[.00002232], USDT[0.00000086]

07833187                              USD[22.13]

07833188                              BRZ[1], GRT[1], USD[0.00], USDT[0]

07833194       Contingent, Disputed   USD[0.00]

07833196                              ETH[0], SHIB[0], SOL[0], USD[0.00], USDT[0]

07833199                              USD[0.00], USDT[0.00000020]

07833200                              SOL[0]

07833203                              AAVE[.0046], SUSHI[.27075], USD[1.23]

07833204                              BTC[.00029791], CUSDT[2], USD[3.09]                                                                                                                                                  Yes

07833212                              USDT[0.00000090]

07833215                              TRX[.000001], USDT[1.89495884]

07833218                              USD[0.00]

07833219                              TRX[.000017], USDT[.605705]

07833222                              USD[0.00]

07833223                              ETH[0], SOL[.00000001], USDT[0.00000072]

07833225                              ETH[0], SOL[0], USD[0.07]

07833226                              USD[50.01]

07833232                              TRX[2], USDT[0.00000076]

07833235                              CUSDT[2], USD[0.00]

07833237                              BTC[0], USDT[0.00000148]

07833246                              SOL[0], USD[0.00], USDT[0]                                                                                                                                                           Yes

07833247                              USD[0.00]

07833250                              SOL[.00128], USD[40.50]

07833253                              ETH[0], SOL[0], USD[0.00], USDT[0.00000106]

07833255                              USD[0.00]

07833256                              SOL[0]

07833258                              SOL[12]

07833261                              USDT[0.00000122]

07833263                              LINK[.00409778], SOL[.0004405]                                                                                                                                                       Yes

07833265                              USD[4.66]

07833266                              USDT[0.00000088]

07833267                              USD[4.12]

07833270                              USD[994.28]

07833271                              USDT[0.00000027]

07833272                              BRZ[1], TRX[4], USD[0.00], USDT[0]

07833273                              USDT[0.00000141]

07833274                              ETH[0], SOL[.00000001], USD[0.00], USDT[0]

07833283                              ALGO[.00000001], BTC[0], USD[0.00]

07833287                              ETH[0], SOL[0]

07833298                              ETH[.00023114], ETHW[.00023114], USDT[.8033952]

07833299                              BF_POINT[600], USD[38.60]

07833301                              CUSDT[1], USD[0.00]                                                                                                                                                                  Yes

07833307                              ETHW[0], SOL[0], USD[0.00]

07833313                              CUSDT[2], USD[86.20]                                                                                                                                                                 Yes

07833318                              USD[0.00]

07833320                              BAT[22.25], LTC[0], SOL[0], USD[0.00], USDT[.01592]

07833323                              ETH[0.16430694], ETHW[0.16430694], USD[0.00]

07833330                              USDT[0.00000110]

07833334                              ETH[0], ETHW[0], SOL[0]

07833335                              USD[0.25]                                                                                                                                                                            Yes

07833337                              SOL[0.00395832], USDT[0]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07833338                              CUSDT[5], DOGE[0], SOL[0.00000593], TRX[6.15943576], UNI[.00008424], USD[0.00]                                                                                                       Yes

07833341                              SOL[0]

07833342                              USDT[0.00000018]

07833345                              ETH[0], ETHW[0.58100000], NFT (560532868720593153/2974 Floyd Norman - CLE 5-0149)[1], SOL[0.00000001], USD[0.48], USDT[.0797676]

07833346                              USDT[0.00000060]

07833349                              USDT[1.82010007]

07833351                              BTC[0.00002583]

07833355                              CUSDT[5], DOGE[2], TRX[1], USD[0.00]                                                                                                                                                 Yes

07833359                              NFT (307626751952940567/Ferris From Afar #604)[1], NFT (356060513942294544/Ferris From Afar #848)[1], NFT (408956967666843298/Night Light #386)[1], NFT (455651157702441677/Beasts
                                      #922)[1], USD[51.92], USDT[0.00003719]
07833360                              SOL[.00938556], USDT[1.5797304]

07833361                              USD[0.00]

07833364                              BF_POINT[200], DOGE[3], SOL[33.79981633], USD[0.52], USDT[0.00000001]                                                                                                                Yes

07833366                              USD[0.01]                                                                                                                                                                            Yes

07833368                              ETH[0], SOL[1.26573712], USDT[0.00000112]

07833369                              USDT[0.00000003]

07833370                              ETH[0], SOL[0], USDT[0.00000019]

07833373                              USDT[0]

07833381                              USD[0.00]

07833386                              USDT[0.00000066]

07833388                              LTC[0], SOL[.00000002], USDT[0.00000031]

07833389                              USD[0.00]

07833391                              SOL[.148614], USD[2.17]

07833394                              SOL[1.24226212], USD[10.61]

07833395                              LTC[0], SOL[0.00000001]

07833400                              NFT (339484356450686895/Saudi Arabia Ticket Stub #321)[1], USDT[1.611983]

07833402                              USD[0.00], USDT[1.192661]

07833404                              BRZ[1], DOGE[1], MATIC[0], SHIB[1], SOL[0], USD[0.00], USDT[0]                                                                                                                       Yes

07833408                              ETHW[1.039959], USDT[3.949816]

07833410                              BTC[0], SOL[.00054693], USDT[0.00000140]

07833413                              CUSDT[1], SOL[.82443804], USD[0.01]

07833417                              USD[1.66]

07833418                              USD[0.28], USDT[0.00000131]

07833419                              SOL[0], USD[0.00]

07833422                              BCH[0], BTC[0], ETH[0], LTC[0], SOL[0.00000001]

07833423                              USDT[0.00000113]

07833425                              USDT[0.00000091]

07833427                              USDT[0.00000002]

07833428                              USD[0.00]

07833430                              USD[0.00]

07833433                              USDT[0.00000098]

07833434                              BTC[0], SOL[0], USD[0.00]

07833442                              BRZ[1], SOL[.06207983], USD[10.00], USDT[0.02701926]

07833444                              ETH[0], SOL[.00000001], USDT[0.00000011]

07833452                              SOL[0]

07833453       Contingent, Disputed   ETH[.00043067], ETHW[0.00043066], USD[2.02], USDT[1.316051]

07833456                              SOL[13.44817227], USD[250.00], USDT[0.00000058]

07833460                              USDT[0.00000099]

07833461                              USD[0.11]

07833468                              BTC[0], ETH[0], ETHW[0], MATIC[0], NFT (496519917039767771/Bahrain Ticket Stub #2066)[1], NFT (504666491972631804/Miami Ticket Stub #426)[1], NFT (517903101343623974/Saudi Arabia
                                      Ticket Stub #2158)[1], NFT (533514343747218364/Imola Ticket Stub #728)[1], SOL[0], USD[1636.98], USDT[0]
07833469                              CUSDT[1], SOL[0], USDT[1]

07833474                              USD[0.00]

07833478                              ETH[0], USDT[0.00000095]

07833479                              DOGE[.973658], USD[1.06]

07833482                              NFT (400797052397719442/Coachella x FTX Weekend 1 #11552)[1]

07833485                              BAT[1], ETH[0], ETHW[0], SHIB[2], SOL[0], USD[0.00], USDT[0.00003144]                                                                                                                Yes

07833487                              SOL[0]

07833491                              SOL[0]

07833492                              DOGE[1], SOL[3.74559212], USD[1.16]                                                                                                                                                  Yes
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07833496                           BTC[.0000999], DOGE[22.991], USD[87.58]

07833502                           DOGE[.43104127], USD[0.06]

07833507                           SOL[.00000001], USD[0.00]

07833514                           SOL[0]

07833519                           CUSDT[2], USD[0.01]

07833520                           USD[162.43]

07833525                           USD[0.00]

07833529                           USDT[.0077356]

07833531                           USD[100.00]

07833533                           USDT[0.00000057]

07833536                           USD[0.00]

07833537                           USD[0.00]

07833539                           BTC[.00004007], USD[0.00]

07833540                           ETH[.00000001], ETHW[0], SOL[0.00058912], USD[0.00], USDT[0]

07833543                           USD[0.00]

07833544                           USDT[0.00000021]

07833545                           SOL[.00565853], TRX[.000001], USDT[0]

07833546                           SOL[.00000001], USD[3.16], USDT[0]

07833548                           SOL[.00637207], USD[0.00]

07833549                           DOGE[1], SOL[.00000001], USD[0.00], USDT[0]                                                                              Yes

07833551                           ETH[0.00000001], ETHW[0], SOL[0.00000001], USD[177.06]

07833552                           SOL[.00000001], USD[0.00], USDT[0.00000154]

07833554                           USD[3.02]

07833560                           BRZ[3], CUSDT[6], DOGE[7], SOL[.00000001], TRX[7], USD[0.00], USDT[0]

07833567                           USD[0.00]

07833568                           USD[109.54]                                                                                                              Yes

07833570                           ETH[.127], ETHW[.127], USD[0.79], USDT[0.00000017]

07833575                           USDT[0.00000151]

07833578                           USDT[0.00000385]

07833580                           SOL[.00087514], USD[0.00]

07833581                           USD[0.05], USDT[18.813277]

07833582                           ETHW[.00096291], USD[2050.39], USDT[0.00000001]

07833586                           ETH[0], SOL[.00000001], USDT[0.00000080]

07833587                           SOL[0], TRX[0]

07833589                           BTC[.0000994]

07833598                           USDT[0.00000070]

07833607                           CUSDT[4], DOGE[4], TRX[1], USD[0.00], USDT[0]

07833610                           ETH[0.00494854], ETHW[0.00494854], SOL[0.39618203], USD[0.00]

07833611                           USDT[0.00000149]

07833620                           USDT[.1811641]

07833622                           BTC[.06776076], ETH[.6064906], ETHW[.6064906], GRT[115.8956], LINK[37.26643], MATIC[269.271], SOL[8.103988], USD[2.02]

07833628                           USD[328.62]                                                                                                              Yes

07833635                           SOL[1.60793566], USD[0.00]

07833639                           USD[50.00]

07833642                           USDT[0.00000130]

07833643                           SOL[0], USD[0.00]

07833648                           USD[2135.25]                                                                                                             Yes

07833655                           ETH[0], SOL[0], USD[0.00], USDT[0]

07833661                           SOL[0]

07833665                           USDT[0.00000135]

07833670                           USD[0.00]

07833671                           ETH[.00000001], LINK[0], SOL[0], USD[2.02], USDT[0.00000155]

07833672                           BTC[.02520316], SOL[4.99525]

07833676                           USD[7.82]                                                                                                                Yes

07833678                           MATIC[0], USD[0.01], USDT[0]

07833684                           USD[0.00]

07833692                           TRX[1340], USD[87.03]

07833698                           USD[0.00]
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
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                                                                                                                                            Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07833701                              SOL[0]

07833706                              ETH[.0099905], ETHW[.0099905], USD[2.68]

07833708       Contingent, Disputed   BTC[2.30985981]                                                                                                                                                                    Yes

07833710                              AAVE[0], ETH[0]

07833711                              CUSDT[12], DOGE[1], NFT (348078348576279757/Another one #2)[1], NFT (450437638097366957/Wynning #3)[1], NFT (519187504829374048/Vegas #2)[1], NFT (552020044111644867/Crypto       Yes
                                      Pink)[1], SHIB[1369691.64073358], SOL[1.13552877], USD[0.00]
07833712                              SOL[.00000003], USDT[0.00000141]

07833715                              NFT (340948182937736205/SBF Hair & Signature #6 #8)[1], NFT (375097865707191706/SBF Hair & Signature #4 #73)[1], NFT (436701921067586239/SBF Hair & Signature #5 #24)[1]

07833717                              ETH[0], USD[0.00], USDT[0]

07833724                              LINK[199.8], MATIC[1000]

07833727                              BTC[.01271554], NFT (549118285491735692/Entrance Voucher #3305)[1], TRX[1], USD[0.00]                                                                                              Yes

07833739                              CUSDT[6], TRX[2], USD[91.01]                                                                                                                                                       Yes

07833740                              SOL[.00003332], USD[0.00]

07833742                              USD[500.00]

07833758                              NFT (364576449345512634/Reflection '18 #72)[1], USD[0.00]

07833759                              SOL[.00000001]

07833768                              BCH[0], BRZ[1], BTC[0], CUSDT[0], DAI[0], DOGE[1], ETH[0], ETHW[0.07578956], LTC[0.00000303], PAXG[0], SHIB[197.33531028], SOL[0], SUSHI[0], TRX[1], USD[0.00], USDT[0.00017113]   Yes

07833769                              MATIC[.64052767], SOL[238.10617650], USD[2653.25]

07833770                              DOGE[1], GRT[1], SHIB[1], TRX[1], USD[0.00]                                                                                                                                        Yes

07833771                              TRX[.000001], USDT[1.5944]

07833772                              USD[7.60]

07833780                              BTC[0.00021805], DOGE[0], LTC[0], SHIB[4], USD[0.35], USDT[0.00000047]                                                                                                             Yes

07833781                              SOL[0]

07833785                              BRZ[1], USDT[0.00000034]

07833792                              USDT[0.00000059]

07833793                              BTC[.00003182], USD[0.00], USDT[0.00000001]

07833799                              SOL[0]

07833800                              USD[6.28]

07833801                              SOL[.00003221], TRX[.000001], USDT[0]

07833803                              BTC[.0001259], ETH[.35177203], ETHW[.35177203], USD[0.00]

07833813                              SOL[0]

07833818                              SOL[4], USD[32.02]

07833822                              USD[0.00]

07833824                              ETH[0], LTC[0], SOL[0], USDT[0.00000076]

07833825                              USD[0.92], USDT[.39574059]

07833826                              USD[131.74]

07833828                              BRZ[2], BTC[0.00916915], CUSDT[13], DOGE[4.37420678], ETH[0.26428592], ETHW[0.26409312], MATIC[327.01584834], TRX[1], USD[0.00]                                                    Yes

07833829                              USDT[0.00000069]

07833832                              USD[10.00]

07833835                              ETH[0], USD[1.30], USDT[0]

07833844                              USDT[0.00000003]

07833850                              ETH[0], USD[0.00]

07833851                              BF_POINT[200]

07833855                              USDT[.6194122]

07833856                              AAVE[.00999], AVAX[.0323], ETHW[.0008], SOL[.00047717], USD[0.04], USDT[0.00094500]

07833859                              NFT (325592914178064089/Coachella x FTX Weekend 2 #7742)[1]

07833860                              DAI[.04254], USD[0.46]

07833862                              GRT[1], NFT (390035447490281154/Solflare X NFT)[1], SOL[0.01614512], USD[0.12]

07833867                              TRX[3316.735442]

07833871                              BTC[.0651085], SOL[5.02862243], USD[0.00]

07833885                              USD[0.00]

07833887                              CUSDT[1], SOL[2.32656478], USD[0.00]                                                                                                                                               Yes

07833888                              USDT[.0335312]

07833891                              USDT[1.2107372]

07833894                              USDT[.5888068]

07833907                              CUSDT[1], USD[0.00]                                                                                                                                                                Yes

07833909                              ETH[0], ETHW[0.74637998], USD[0.00]

07833912                              BTC[.00000005], SOL[.001], USD[0.00], USDT[1.3980878]

07833913                              ETH[0], SOL[0], USD[0.01]
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
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                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07833915                              SOL[.00000001], USD[2.07]

07833918                              ETH[.00006869], ETHW[.00006869], USD[0.44]

07833919                              BF_POINT[300]

07833920                              SOL[.00306284], USD[500.01]

07833921                              BRZ[1], CUSDT[14], DOGE[6], ETH[0], SOL[0.00000001], TRX[3], USD[0.00], USDT[0.00000099]

07833926                              USDT[0.00000118]

07833927                              BRZ[2], CUSDT[7], DOGE[1], ETH[0], SOL[0], TRX[2], USDT[1.00000058]

07833930                              SOL[.0077]

07833938                              CUSDT[1], DOGE[1], TRX[3], USD[0.00]                                                                                                                                                Yes

07833943       Contingent, Disputed   SOL[0], USD[0.00], USDT[0.00000025]

07833948                              USD[0.00]

07833952                              DOGE[2.70031874], ETH[0], SOL[0]

07833953                              BTC[.00443124], CUSDT[132.89347495], GRT[157.24949858], LTC[0], MATIC[1.14646144], TRX[.00143312], USD[0.79]                                                                        Yes

07833954                              SOL[0], USD[0.10]

07833955                              USD[16.23], USDT[0.00000004]

07833958                              BAT[1], BRZ[2], CUSDT[2], DOGE[2], GRT[1], TRX[5], USD[0.35], USDT[1]

07833960                              NFT (342854383233960714/Good Boy #76)[1]

07833962                              CUSDT[3], DOGE[71.56691064], LINK[1.8253489], SHIB[1525213.94070803], USD[0.00]                                                                                                     Yes

07833965                              BTC[.00035715], CUSDT[4], DOGE[87.27257977], ETH[.03158173], ETHW[.03118579], PAXG[.0121587], SOL[.13750432], SUSHI[1.98884622], TRX[2], USD[0.22]                                  Yes

07833972                              ETH[0], NFT (402174896240458491/Australia Ticket Stub #380)[1], NFT (564413969859081654/Sun Set #477)[1], SOL[0], USD[0.00]

07833973                              USD[0.00]

07833974                              SOL[0], USDT[0]

07833975                              USD[0.34]

07833976                              SOL[.00000001], USDT[0]

07833995                              USDT[0.00000114]

07833996                              USD[0.00]

07834000                              BTC[0], LTC[0], TRX[0.00012000], USD[0.00], USDT[0]

07834003                              DOGE[.91656292], USD[1.14], USDT[.70660926]

07834005                              SOL[.0006694], USD[0.01]

07834012                              USD[0.79]

07834016                              SOL[0], USDT[0.00000011]

07834027                              USD[3.29]

07834029                              NFT (305336280015193161/Entrance Voucher #5047)[1], TRX[1505.56835], USD[0.39]

07834032                              USDT[160.41220301]                                                                                                                                                                  Yes

07834034                              USD[2.48]

07834042                              USDT[0.00000003]

07834046                              BTC[0], ETH[0], LTC[0], MATIC[0], SOL[0], TRX[.000001], USD[0.00], USDT[0.00008081]

07834051                              NFT (513577772160138815/Ferris From Afar #212 (Redeemed))[1], NFT (524871051065098805/Coachella x FTX Weekend 2 #1341)[1], NFT (563264073958384383/Reflector #622 (Redeemed))[1],
                                      USD[1.19]
07834062                              SOL[0.00000020]

07834066                              USD[0.00], USDT[.001868]

07834067                              SOL[0]

07834075                              USD[0.00]

07834078                              USD[0.00]

07834079                              SOL[0], USD[0.48]

07834080                              USDT[1.00000151]

07834083                              USD[0.50]                                                                                                                                                                           Yes

07834084                              SOL[0]

07834088                              USD[0.61]

07834094                              ETH[0], SHIB[3], SOL[.00000001], USD[0.00], USDT[0]                                                                                                                                 Yes

07834101                              AAVE[1.09843981], ALGO[263.37906896], AVAX[7.27334522], BAT[12.48594328], BRZ[2], BTC[.0097143], CUSDT[31], DOGE[263.6523634], ETH[.66322853], ETHW[.64842249], GRT[581.64179977], Yes
                                      KSHIB[1322.64722551], LINK[17.31135356], MATIC[213.62276468], NEAR[168.55359883], PAXG[.01166534], SHIB[3959492.65064155], SOL[19.39835295], SUSHI[53.19861675], TRX[5],
                                      UNI[34.18310959], USD[45.39], YFI[.00482051]
07834105                              SOL[.00153972], USDT[0.00000034]

07834110                              NFT (288727846403461230/Geomendrian 091)[1], NFT (301138732202677841/Entrance Voucher #4526)[1], NFT (304749027721668803/Inaugural Collection #386)[1], NFT
                                      (308443446270050217/Geomendrian FTX)[1], NFT (438066410369579011/Geomendrian 468)[1], NFT (485176633210509620/Geomendrian 242)[1], NFT (524562619485136803/Geomendrian FTX
                                      Logo)[1], SOL[.0085], USD[35.48], USDT[102.72246]
07834113                              BTC[0], SOL[0], USD[0.00], USDT[0]                                                                                                                                                  Yes

07834116                              USD[209.69]

07834117                              BTC[0], ETH[0], SOL[0], USD[0.00]

07834121                              BTC[0], ETH[0.00000001], ETHW[0], LTC[0], NFT (297620956982798953/Beasts #442)[1], SOL[0.00000001], USD[0.00], USDT[0.00019854]
West Realm Shires Services Inc.                                                    Case 22-11068-JTD      Doc F-3:
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                                                                                                                                         Customer Claims                                                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07834128                           USDT[0.00000126]

07834130                           USD[2.06], USDT[0.00000001]

07834139                           SOL[.00000001], USD[0.49], USDT[.009352]

07834141                           ETH[0], SOL[0], USD[0.00], USDT[0.00000048]

07834143                           SOL[.00058], USD[1.67]

07834147                           BRZ[1], USD[1.07]

07834149                           USDT[0.00000098]

07834150                           USDT[.4562384]

07834152                           ETHW[0], USD[0.01], USDT[0]                                                                                                                                                                    Yes

07834153                           USD[0.00]

07834154                           BF_POINT[100]

07834159                           NFT (355810433106681488/2974 Floyd Norman - OKC 1-0242)[1], NFT (438153957312397566/Ferris From Afar #573)[1], USD[4.85]

07834160                           ETH[0], USDT[1.3869282]

07834161                           BTC[0.00005407]

07834162                           USDT[0.00000155]

07834163                           USD[6.32]

07834166                           USD[0.01], USDT[1.950141]

07834167                           BRZ[1], USDT[0.00000116]                                                                                                                                                                       Yes

07834168                           USD[9.91]

07834171                           USDT[2.6166657]

07834172                           ETH[0], NFT (431904028865969004/Coachella x FTX Weekend 1 #6449)[1], USDT[3.5578569]

07834173                           USD[0.00]                                                                                                                                                                                      Yes

07834175                           USD[0.00]                                                                                                                                                                                      Yes

07834180                           USD[0.90]

07834182                           SOL[0]

07834190                           SOL[0]

07834194                           USD[2.55], USDT[0]

07834200                           USDT[0.00000020]

07834201                           NFT (471648667074540202/FTX - Off The Grid Miami #7054)[1]

07834203                           AAVE[0], ALGO[0], AVAX[0], BAT[0], BCH[0], BF_POINT[300], BTC[0], DAI[0], ETH[0], ETHW[0], GRT[0], LINK[0], LTC[0], MATIC[0], MKR[0], NEAR[0], PAXG[0], SOL[0], SUSHI[0], UNI[0], USD[0.00],   Yes
                                   USDT[0], YFI[0]
07834205                           ETH[0], SOL[0], USD[0.00], USDT[0]

07834206                           SOL[0.63736100], USD[0.00]

07834207                           ETH[0], USD[0.00]

07834208                           DOGE[2], GRT[.1446161], SHIB[1], TRX[1], USD[0.00]                                                                                                                                             Yes

07834213                           USD[0.00]

07834214                           SOL[0.62372852], USD[6.06]

07834217                           USD[0.00], USDT[0.00000013]

07834219                           SOL[0], USDT[0.00000123]

07834222                           USD[30.05]

07834223                           USDT[0.00000068]

07834224                           ETH[.00000001], ETHW[0]                                                                                                                                                                        Yes

07834227                           BTC[0.00002843], ETH[.09], ETHW[.09], SOL[0.00476312], TRX[8000.972297], USD[0.00], USDT[0.00002410]

07834228                           LINK[8.28613509], SHIB[1], USD[0.00]                                                                                                                                                           Yes

07834229                           USDT[0.00000071]

07834230                           BCH[.000843], NFT (556203497767928799/Moon Bees #106)[1], SOL[.00007], USD[0.78], USDT[1.5401325]

07834232                           ETH[.00045999], ETHW[0.00045998], LTC[.00669256], USD[0.13], USDT[.794442]

07834233                           SOL[0]

07834234                           BRZ[1], CUSDT[8], ETH[.00506838], ETHW[.00499998], SOL[1.14695763], TRX[1], USD[0.00]                                                                                                          Yes

07834239                           USDT[0.00000123]

07834242                           TRX[1], USD[0.00]

07834247                           SOL[9.86629], USD[3.61]

07834250                           ETH[0], SOL[0], USD[1.29]

07834262                           USD[0.00]

07834282                           NFT (480272653024600062/2974 Floyd Norman - CLE 6-0250)[1], USD[0.00]

07834285                           USDT[0.00000121]

07834287                           ETH[0], ETHW[0], NFT (333242925332587597/FTX - Off The Grid Miami #6571)[1], SOL[0.00000001], USD[0.01]

07834289                           SOL[0], USD[0.01]

07834293                           SOL[.3758323], USD[0.00]
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                                                                                                                                         Customer Claims                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07834294                           ETH[.1], ETHW[.1]

07834298                           USD[0.00], USDT[0.00001119]

07834300                           USD[20.00]

07834302                           USDT[0]

07834308                           ETH[0.00000001], SOL[0], USD[0.00], USDT[0.00000719]

07834309                           CUSDT[1], USDT[0.00000004]

07834314                           USD[0.00]

07834316                           USD[3.89]

07834325                           SOL[.00005698], USD[0.00], USDT[0.00000132]

07834326                           BRZ[1], GRT[1], SHIB[1], USD[0.00], USDT[0]                                                                                                     Yes

07834328                           ETHW[.11988], USD[1.10], USDT[0]

07834334                           SHIB[1], USD[0.28]

07834335                           CUSDT[1], USD[0.00]

07834337                           BTC[0], DOGE[1.00016348], SHIB[1], TRX[3], USD[0.00], USDT[0]                                                                                   Yes

07834339                           BTC[.00439733]                                                                                                                                  Yes

07834341                           ETH[0], ETHW[0], SOL[0], USDT[0.00000834]

07834343                           SOL[0], USD[0.00]

07834344                           BRZ[1], CUSDT[2], DOGE[5], ETH[0], GRT[2.00019173], SHIB[4], TRX[4], USD[0.00], USDT[1.02466286]                                                Yes

07834351                           BAT[1.01623353], BRZ[2], BTC[.0000022], CUSDT[23], DOGE[12.62605423], MATIC[.06713352], TRX[4], USD[0.00], USDT[1.08932455]                     Yes

07834360                           SOL[0]

07834370                           SOL[.0570939], USD[0.00]

07834373                           BTC[0], USD[0.00], USDT[0]

07834378                           BRZ[2], CUSDT[5], DOGE[1], KSHIB[1201.30663697], SHIB[2013792.64022638], TRX[2], USD[0.01]                                                      Yes

07834381                           USD[0.00], USDT[0]

07834384                           BTC[.0106986], DOGE[4], GRT[1], NFT (500022927884841919/Entrance Voucher #1866)[1], SHIB[10], TRX[6], USD[0.00]                                 Yes

07834385                           USD[0.00]

07834389                           USDT[0.70273620]

07834392                           BTC[0], SOL[12], USD[3.76]

07834393                           SOL[0.00927674], USD[0.00]

07834395                           SOL[14.64111], USD[26.50]

07834406                           TRX[4666.101825]

07834408                           SOL[.00005459], USDT[0.00000001]

07834415                           CUSDT[5], DOGE[1], ETH[0], USD[0.00]                                                                                                            Yes

07834416                           ETH[0], USD[0.00]

07834429                           USD[0.00], USDT[0]

07834438                           NFT (446565950443173301/sheep_2236)[1]

07834442                           USD[0.30]

07834444                           USD[0.02], USDT[0]                                                                                                                              Yes

07834445                           AAVE[37.79009786], BTC[1.07667557], DOGE[1], GRT[14711.14520231], LINK[445.46831237], SOL[160.83413439], TRX[1], UNI[536.01151595], USD[0.00]   Yes

07834453                           NFT (358137275139594824/Birthday Cake #2063)[1], NFT (519071285384336522/The 2974 Collection #2063)[1], USD[0.00]
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07834454                              ALGO[.08731679], AVAX[.00000467], BF_POINT[100], BRZ[6.01475783], DOGE[6], ETH[.01231056], GRT[1], NEAR[.00117528], NFT (289012230510347969/Gangster Gorillas #6004)[1], NFT             Yes
                                      (289015944619030507/Gangster Gorillas #1637)[1], NFT (289284374077341839/Boneworld #6996)[1], NFT (295116319097722459/Ex Populus Trading Card Game)[1], NFT
                                      (297263068335788973/Gangster Gorillas #8984)[1], NFT (299146167151334789/Gangster Gorillas #8752)[1], NFT (299913364736744755/Gangster Gorillas #5195)[1], NFT
                                      (301104250740351569/Gangster Gorillas #2159)[1], NFT (303391049299218489/Ex Populus Trading Card Game)[1], NFT (312002732668141178/Gangster Gorillas #9269)[1], NFT
                                      (313293264017086576/Gangster Gorillas #9589)[1], NFT (314069712163520193/Gangster Gorillas #4130)[1], NFT (316892733800978541/Gangster Gorillas #7805)[1], NFT
                                      (317159977116939391/Gangster Gorillas #1962)[1], NFT (319759276479810231/Divine Soldier #70)[1], NFT (321032159633576430/Gangster Gorillas #6926)[1], NFT (322410450350855973/Gangster
                                      Gorillas #9345)[1], NFT (322490726872982952/Gangster Gorillas #8723)[1], NFT (324625646271469796/SolBunnies #1524)[1], NFT (325736393928813624/SOLYETIS #7606)[1], NFT
                                      (328538113776678464/Gangster Gorillas #6273)[1], NFT (328589524329474376/Gangster Gorillas #5417)[1], NFT (331270153930776038/Gangster Gorillas #556)[1], NFT
                                      (331966050302006741/Toasty Turts #4822)[1], NFT (335417762958550999/Toasty Turts #3117)[1], NFT (335755644335209599/Gangster Gorillas #9781)[1], NFT (336300480865489546/Almost
                                      Famous Pandas #7558)[1], NFT (336593242501886962/Gangster Gorillas #8647)[1], NFT (337287680489231324/Cool Bean #4232)[1], NFT (340431571285952545/Gangster Gorillas #5262)[1], NFT
                                      (340680028738801628/Gangster Gorillas #7302)[1], NFT (342507689352012924/SolBunnies #2917)[1], NFT (345503668507355286/Gangster Gorillas #2530)[1], NFT (346330742503431077/Gangster
                                      Gorillas #7707)[1], NFT (348180810549039989/Pirate #2718)[1], NFT (349364385261091764/Gangster Gorillas #2145)[1], NFT (351940254542809765/Gangster Gorillas #7221)[1], NFT
                                      (353893611652854906/Gangster Gorillas #5583)[1], NFT (354404287201368138/Gangster Gorillas #8553)[1], NFT (354739681846746750/SolBunnies #1584)[1], NFT (355501176150189565/Gangster
                                      Gorillas #7341)[1], NFT (356857400920531701/Gangster Gorillas #356)[1], NFT (358127742589202028/Gangster Gorillas #1279)[1], NFT (358751139707458592/Gangster Gorillas #7158)[1], NFT
                                      (362388278873945205/Gangster Gorillas #6297)[1], NFT (362530452469345732/Gangster Gorillas #8384)[1], NFT (362595290570956188/Gangster Gorillas #8328)[1], NFT
                                      (363088169320107848/Gangster Gorillas #3801)[1], NFT (364726345977712422/Gangster Gorillas #4184)[1], NFT (367093713675496848/Gangster Gorillas #888)[1], NFT
                                      (367850352581867155/Gangster Gorillas #2280)[1], NFT (370502501494228858/DOTB #5064)[1], NFT (372296554929410987/DOTB #6367)[1], NFT (373312740175905164/Gangster Gorillas #324)[1],
                                      NFT (373555836587045971/Gangster Gorillas #6866)[1], NFT (374053635377663942/Gangster Gorillas #4804)[1], NFT (375405663767997896/Gangster Gorillas #5777)[1], NFT
                                      (378569945325917589/Gangster Gorillas #456)[1], NFT (381916378928389864/Ex Populus Trading Card Game)[1], NFT (382100209759599966/Fancy Frenchies #6160)[1], NFT
                                      (382387721620532977/DOTB #258)[1], NFT (383166554484851314/Gangster Gorillas #5241)[1], NFT (387028818074534976/Gangster Gorillas #5091)[1], NFT (392232286249607538/Gangster Gorillas
                                      #5915)[1], NFT (392271346037513596/Gangster Gorillas #5496)[1], NFT (393102570885523474/DOTB #5053)[1], NFT (395542787988684161/Gangster Gorillas #1578)[1], NFT
                                      (399312160067506181/DOTB #5641)[1], NFT (406384738740411002/Gangster Gorillas #2064)[1], NFT (408678456917909744/Monk #533)[1], NFT (409268101348627496/DarkPunk #3775)[1], NFT
                                      (410312714110715570/Gangster Gorillas #1491)[1], NFT (411247309185691381/Gangster Gorillas #1573)[1], NFT (411507939620087384/Gangster Gorillas #4244)[1], NFT
                                      (414619274716542197/Gangster Gorillas #2187)[1], NFT (414687107867571652/DOTB #3942)[1], NFT (415547101116134695/Ex Populus Trading Card Game)[1], NFT (416700514335615520/Panda
                                      Fraternity #2430)[1], NFT (417515624359436136/Gangster Gorillas #2607)[1], NFT (418814667830646271/Gangster Gorillas #6109)[1], NFT (420012620407349090/Gangster Gorillas #9386)[1], NFT
                                      (422902537072890623/Gangster Gorillas #4180)[1], NFT (425134189888329513/Gangster Gorillas #393)[1], NFT (425778981373611510/Gangster Gorillas #5061)[1], NFT (426573487284236153/Ex
                                      Populus Trading Card Game)[1], NFT (428441163389864173/Gangster Gorillas #9829)[1], NFT (428698300795032084/Gangster Gorillas #2712)[1], NFT (429212567181563317/Gangster Gorillas
                                      #4486)[1], NFT (429981186797211044/Sigma Shark #5486)[1], NFT (431672500674727720/Gangster Gorillas #5084)[1], NFT (433367892024401154/Panda #5502)[1], NFT
                                      (434186783110687541/Gangster Gorillas #6426)[1], NFT (438100775436404591/Gangster Gorillas #4211)[1], NFT (438566944178504693/Gangster Gorillas #1093)[1], NFT
                                      (438829186154756211/Gangster Gorillas #2474)[1], NFT (440211996289780048/Gangster Gorillas #4610)[1], NFT (440840896281748193/Gangster Gorillas #1912)[1], NFT (441776869857767006/Ex
                                      Populus Trading Card Game)[1], NFT (443981103226033314/Gangster Gorillas #3189)[1], NFT (447195785214924597/Gangster Gorillas #9205)[1], NFT (447610149813673483/Careless Cat #476)[1],
                                      NFT (449732283628487667/GalaxyKoalas # 953)[1], NFT (451826661153924342/Gangster Gorillas #5938)[1], NFT (452220376099537778/Toasty Turts #1788)[1], NFT (453712911982732909/Gangster
                                      Gorillas #6942)[1], NFT (455008236688245914/Gangster Gorillas #7207)[1], NFT (457561802645448620/Gangster Gorillas #8252)[1], NFT (457592549370922915/Gangster Gorillas #9539)[1], NFT
                                      (464164180208377884/Gangster Gorillas #4006)[1], NFT (464366949632716245/Gangster Gorillas #5321)[1], NFT (466596999064451528/Toasty Turts #1077)[1], NFT (468781757463390543/Gangster
                                      Gorillas #1183)[1], NFT (471710507178322703/Gangster Gorillas #4525)[1], NFT (471981728945174270/Gangster Gorillas #5274)[1], NFT (475300201642145082/Gangster Gorillas #6363)[1], NFT
                                      (477629966482499562/Gangster Gorillas #8230)[1], NFT (480100232499680723/Gangster Gorillas #2989)[1], NFT (480268463611114284/Gangster Gorillas #5934)[1], NFT
                                      (480588687287427599/Gangster Gorillas #2491)[1], NFT (489331799906700295/Gangster Gorillas #4410)[1], NFT (490349445094692589/Fancy Frenchies #2981)[1], NFT
                                      (493403688185043689/Gangster Gorillas #4257)[1], NFT (495511143063483548/Gangster Gorillas #8172)[1], NFT (495949609598905583/Gangster Gorillas #3763)[1], NFT
                                      (496449383072061403/Gangster Gorillas #5456)[1], NFT (497739586235309609/Panda Fraternity #4246)[1], NFT (498509562842863111/Rat Bastard #279)[1], NFT (502350358301347579/Ex Populus
                                      Trading Card Game)[1], NFT (503090081670181554/Gangster Gorillas #8614)[1], NFT (503577054270392222/Gangster Gorillas #8961)[1], NFT (505436968806381718/SolBunnies #3343)[1], NFT
                                      (508799778789561795/Solana Penguin #6090)[1], NFT (508979971281481069/Gangster Gorillas #6632)[1], NFT (512307636705226758/Gangster Gorillas #7815)[1], NFT
                                      (513319756087344704/Gangster Gorillas #7909)[1], NFT (513373835072520618/Gangster Gorillas #3068)[1], NFT (513740910741591113/Gangster Gorillas #4178)[1], NFT
                                      (514067775291308220/Gangster Gorillas #2283)[1], NFT (516404641880888140/Gangster Gorillas #4911)[1], NFT (516766651478725531/ALPHA:RONIN #898)[1], NFT
                                      (518828961707148830/Gangster Gorillas #8863)[1], NFT (519456203903000357/Gangster Gorillas #4733)[1], NFT (520505852491147912/Gangster Gorillas #2580)[1], NFT
                                      (522749009136524290/Gangster Gorillas #4382)[1], NFT (524187466778571973/Solninjas #7970)[1], NFT (524730321797092273/ApexDucks #4265)[1], NFT (524765543238726628/Sigma Shark
                                      #2852)[1], NFT (525864779648483764/Gangster Gorillas #7252)[1], NFT (528968495681674622/Gangster Gorillas #5762)[1], NFT (530728512517109174/Gangster Gorillas #8026)[1], NFT
                                      (531587831413532763/Gangster Gorillas #6077)[1], NFT (534658930895458298/Gangster Gorillas #11)[1], NFT (535202477595210148/Solninjas #3722)[1], NFT (536659791074898293/Gangster
                                      Gorillas #3415)[1], NFT (540155909087129722/Solninjas #8338)[1], NFT (543282439089704620/Gangster Gorillas #351)[1], NFT (545087544889396404/ApexDucks #4002)[1], NFT
                                      (546313730333180774/Gangster Gorillas #9748)[1], NFT (546361230232328209/Gangster Gorillas #9018)[1], NFT (546575144265614356/Gangster Gorillas #7906)[1], NFT
                                      (547509855477052806/Gangster Gorillas #1819)[1], NFT (547679571944083054/Gangster Gorillas #9550)[1], NFT (548627870288667614/Gangster Gorillas #7169)[1], NFT
                                      (549470078724066831/Gangster Gorillas #7911)[1], NFT (550246291672758685/Gangster Gorillas #2376)[1], NFT (550307380180684487/Gangster Gorillas #2349)[1], NFT
07834456                              USD[0.01]

07834457                              BTC[0.00003010], USD[0.00], USDT[0.00014277]

07834458                              BRZ[2], CUSDT[1], DOGE[2], SOL[.47983736], USD[0.00], USDT[0.00000035]

07834462                              CUSDT[3], DAI[64.97621142], USD[0.00]                                                                                                                                                   Yes

07834467                              CUSDT[3], USDT[0.00000029]

07834470                              SOL[0], USDT[0.00000087]

07834472                              BTC[.1343655], ETH[.999], ETHW[.999], LINK[99.9], MATIC[3673.79], MKR[1.996804], SOL[37.98169], TRX[996.900004], UNI[99.9], USD[5.66]

07834473                              DOGE[1], USD[0.00]                                                                                                                                                                      Yes

07834475                              SHIB[2], USD[0.00]

07834477                              USD[1.53]

07834478                              NFT (296870628304636055/2974 Floyd Norman - OKC 1-0123)[1], NFT (301422695264406866/2974 Floyd Norman - OKC 1-0090)[1], NFT (324932387486668855/Birthday Cake #1886)[1], NFT
                                      (430792459527204555/2974 Floyd Norman - CLE 1-0030)[1], NFT (445084805330919475/Birthday Cake #1979)[1], USD[0.01], USDT[0]
07834480                              CUSDT[1], SOL[0]

07834481                              USDT[.002684]

07834484                              BRZ[1], CUSDT[1.02111123], DOGE[1184.83085284], ETH[.00000008], LINK[27.50555313], LTC[.21975223], NFT (516894713967836861/Australia Ticket Stub #2389)[1], SHIB[3805253.48456587],     Yes
                                      SOL[1.81347960], TRX[3], UNI[19.64768677], USD[0.00]
07834488                              USDT[93.412277]

07834496                              USD[450.60]

07834497                              USD[2.77]

07834504                              USD[0.00]                                                                                                                                                                               Yes

07834505                              BRZ[7.20618851], BTC[.01142744], CUSDT[19], DOGE[2], ETHW[.36140201], MATIC[1.00164518], NFT (435988814374119117/Warriors Gold Blooded NFT #1190)[1], NFT                               Yes
                                      (562222955059780230/Warriors 75th Anniversary Icon Edition Diamond #610)[1], SHIB[15], SOL[0.00011754], TRX[5], USD[208.49], USDT[1.01271021]
07834510                              USD[0.27]

07834511       Contingent, Disputed   SHIB[623.31578947], SOL[0], USD[0.00]

07834514       Contingent, Disputed   BTC[0], USD[0.01]

07834518                              ETH[.00044882], ETHW[0.00044882], SOL[0], USD[1.32]

07834522                              SOL[.06221806], USD[13.04]

07834528                              SOL[6.7], USD[0.01]
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
                                                                                                  Amended Schedule 1754      Filed
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07834534                              DOGE[0], ETH[0], LTC[0], SOL[0.00000001], USD[0.00], USDT[0.00000033]

07834546                              USD[0.00]

07834547                              AAVE[.01534513], BAT[116.1289686], DOGE[3.19783595], MATIC[17.60802274], NFT (298859846023594174/Esteban Heath #8)[1], NFT (300878000184689727/Lovers Bound)[1], NFT                    Yes
                                      (388938318627809307/CryptoManchos #2)[1], NFT (523552938485647195/Esteban Heath #5)[1], NFT (552547283386579540/Mech #160)[1], SOL[1.60811655], SUSHI[8.10742275], USD[2.00]
07834552                              USD[10.00]

07834553                              USD[0.00]

07834555                              CUSDT[1], USD[0.00]                                                                                                                                                                     Yes

07834556                              BTC[0.00001105]

07834559                              ETH[0], ETHW[0], MATIC[6.35780594], SOL[0.00699687], USD[2.24]

07834560                              DOGE[2.995], USD[0.06]

07834565                              SOL[0], USD[0.01], USDT[0]

07834569                              CUSDT[2], USD[0.00]                                                                                                                                                                     Yes

07834571                              BTC[.00000037], ETH[.0000928], ETHW[.0289928], SOL[0], USD[1.57]

07834572                              GRT[4979.70701954], SOL[.00000001], USD[0.00], USDT[0.00000001]

07834574                              USD[0.00]

07834575                              SOL[.00000001], USD[274.85]

07834577                              CUSDT[1], SHIB[930485.38929152], USD[0.00]                                                                                                                                              Yes

07834578                              USD[0.00]

07834580                              BTC[0], USD[0.00]

07834583                              USD[26.83]

07834586                              NFT (336424703840523905/Human #2857)[1], NFT (337783988054053323/Eternal Beings #2631)[1], NFT (365172158575658733/Gambling Apes)[1], NFT (368521844338593903/Looking inwards with
                                      twoEyes #003)[1], NFT (375310423449104495/brightgoat #2)[1], NFT (380175278385103147/brightgoat #1)[1], NFT (385689551697348319/SandBox Ape #001)[1], NFT (416515359153382131/Looking
                                      Inwards with FortyEyes #001)[1], NFT (420589609688634260/brightgoat #501)[1], NFT (430029763185110943/brightgoat #100)[1], NFT (442425821279131375/brightgoat #3)[1], NFT
                                      (445238510552228001/#02)[1], NFT (452160925064403088/Hel's Axe 186)[1], NFT (455674465482711483/#500)[1], NFT (483284099506281973/Sol#414)[1], NFT (523904430205733648/Metavers
                                      Human #001)[1], NFT (544217943847541571/Looking Inwards with FortyEyes #001 #2)[1], NFT (558127778120210017/brightgoat #502)[1], NFT (567364847030642051/brightgoat #4)[1],
                                      SOL[0.00839103], USD[0.91]
07834588                              ETHW[2.000503], USD[2.65]

07834593                              BTC[.00000135], SOL[0], USD[0.00]

07834595                              ETH[0], SOL[0], USD[0.00]

07834600                              SOL[0]

07834609                              SOL[0]

07834612                              SOL[.00991], USD[0.48]

07834614                              SOL[0]

07834615                              SOL[46.50003876], USD[14.73]

07834618       Contingent, Disputed   TRX[.000001], USDT[0.00000139]

07834620                              BRZ[1], CUSDT[11], DOGE[1.00319198], LTC[0], SHIB[1.01671354], USD[0.00]                                                                                                                Yes

07834629                              USD[0.60], USDT[0.00001221]                                                                                                                                                             Yes

07834643                              SOL[0], USD[0.00]

07834646                              USD[0.67]

07834647                              USD[18.44]

07834661                              USD[0.00]

07834664                              SOL[.00276717], USD[0.00]

07834667                              USD[1.23]

07834669                              USD[0.01], USDT[0]

07834670                              NFT (492961749687571809/2974 Floyd Norman - CLE 5-0092)[1]

07834680                              NFT (552200499373477660/Microphone #5199)[1]

07834699                              MATIC[0], USDT[0.00000101]

07834709                              NFT (349259002032042262/Romeo #2126)[1]

07834714                              SOL[0], USD[0.00], USDT[0.00002828]

07834715                              NFT (389798714074687190/Australia Ticket Stub #205)[1], TRX[.000003], USD[0.00]

07834717                              USD[0.00], USDT[0]

07834718                              CUSDT[1], DOGE[1], ETH[.36886033], ETHW[.36870531], USD[0.06]                                                                                                                           Yes

07834721                              NFT (458851259943889314/FTX Crypto Cup 2022 Key #462)[1]

07834731                              SOL[.00000001], USD[0.01], USDT[.74598505]

07834741       Contingent, Disputed   USD[0.00]                                                                                                                                                                               Yes

07834748                              DOGE[1], SOL[3.4512809], TRX[1], USD[0.00]                                                                                                                                              Yes

07834751                              BRZ[1], CUSDT[4], DOGE[2], ETH[.00000091], ETHW[.00000091], TRX[2], USD[0.00]                                                                                                           Yes

07834754                              LINK[2.32335522], MATIC[77.74236559], SOL[0.72454470], USD[0.00], USDT[0.00000133]

07834755                              BTC[0.00368570], SOL[.00004061], USD[29.65]

07834758                              CUSDT[1], NFT (489231412121641264/Warriors 75th Anniversary Icon Edition Diamond #1897)[1], SOL[1.68526482], USD[0.00]                                                                  Yes

07834759                              NFT (408304557516757329/Bahrain Ticket Stub #1296)[1], NFT (569367422225076371/Entrance Voucher #2670)[1], USD[2.76]
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
                                                                                                  Amended Schedule 1754      Filed
                                                                                                                      Nonpriority     06/27/23
                                                                                                                                  Unsecured           Page 225 of 1384
                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07834762                              SOL[70.239696], USD[7.90]

07834774                              BTC[.03946472], SOL[9.99], USD[2.83]

07834779                              USD[0.85]

07834785                              BRZ[2], CUSDT[31], DOGE[2], ETH[.10937338], ETHW[.10827523], SUSHI[.05621823], TRX[2], USD[0.00], USDT[0]                                                                              Yes

07834795                              TRX[.000001], USDT[.97]

07834805                              SOL[0], USD[0.00]

07834814                              NFT (543413317935235555/FTX - Off The Grid Miami #1651)[1]

07834828                              SOL[.00000381], USDT[0.00000080]

07834830                              ETH[0.00557957], ETHW[0.00557957], EUR[0.79], SOL[0.01000000], USD[0.00], USDT[0.00000001]

07834832                              CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                            Yes

07834835                              BRZ[2], BTC[0], CUSDT[14], DAI[0], DOGE[4], ETH[0.00000001], SHIB[13], SOL[0], TRX[12], USD[0.00], USDT[0.00015807]

07834836                              ETH[.00000001], ETHW[0], SOL[0]

07834840                              NFT (379166471101559046/Toasty Thug Egg)[1], SOL[.00000001], USD[0.00]

07834847                              SOL[0], USD[3.86], USDT[0.00000144]

07834856                              MATIC[.905], USD[372.32]

07834861                              USD[0.00], USDT[0]

07834873                              BTC[0], ETH[0], SOL[0], USD[0.00]

07834881                              BRZ[2], DOGE[3], ETHW[.4414275], SHIB[8], TRX[3], USD[0.01]                                                                                                                            Yes

07834887                              SOL[.1], USDT[2]

07834888                              ETH[.00000001], SOL[0]

07834898                              GBP[0.00], USD[0.00], USDT[0]

07834909                              MATIC[98.8], SOL[.00901], USD[30.67]

07834915                              ETH[.00578861], ETHW[.00572016], USD[5.18]                                                                                                                                             Yes

07834916                              BAT[1.01640752], CUSDT[2], DOGE[1], GRT[1.00353199], SHIB[1], TRX[1], USD[0.09], USDT[1.05265423]                                                                                      Yes

07834937                              BRZ[2], BTC[.03862446], ETH[.13780184], SHIB[3], USD[0.05]                                                                                                                             Yes

07834946                              BTC[0.01044809], DOGE[0], ETH[0], KSHIB[0], SOL[0], TRX[0], USD[0.00]                                                                                                                  Yes

07834950                              TRX[.000001]

07834956                              USDT[0.00000091]

07834958                              ETH[0], ETHW[0], SOL[0], USD[0.00]

07834963                              USD[0.11], USDT[1.2569057]

07834964                              TRX[.000001]

07834967                              BTC[.02893379], ETH[1.09596159], ETHW[1.09596159], SOL[2.89509863], USD[0.00]

07834973                              BTC[0.00041861], DOGE[235.63], USDT[1.50342210]

07834977       Contingent, Disputed   BTC[.00003889]

07834978                              BCH[.0009], BTC[0.00001478], DOGE[.53], ETH[.00060219], ETHW[0.00060219], SOL[.00215], USD[0.00]

07834980                              ETH[0], ETHW[0]

07834986                              BTC[.00911792], NFT (358757542572669100/Entrance Voucher #3603)[1], NFT (377742396878848172/The Hill by FTX #4109)[1], NFT (449432910208782884/Romeo #965)[1], USD[2.79],
                                      USDT[0.94304540]
07834987                              SOL[.00996], USD[1.02]

07834992                              CUSDT[4], DOGE[3], TRX[3], USDT[0.00000097]

07834996                              ETH[0.04452524], ETHW[0.00002524], LTC[0.00183709], SOL[0], TRX[.000001], USD[9.43], USDT[0.00000099]

07835007                              USD[1.39]

07835028                              BTC[.00187601]

07835030                              CUSDT[1], DOGE[1], USD[0.00], USDT[.00000774]                                                                                                                                          Yes

07835058                              SOL[.003559], USD[10.39], USDT[0.00000157]

07835074                              NFT (484649606803451187/Saudi Arabia Ticket Stub #2137)[1]

07835078                              DOGE[1], USD[0.00]

07835083                              USD[0.00]

07835084                              USD[0.00]

07835093                              TRX[.000001], USDT[0.06119995]

07835096                              BTC[0], LTC[0], SOL[0], USD[0.00]

07835097                              USD[137.24]

07835104                              USD[0.00]                                                                                                                                                                              Yes

07835108                              SOL[.00000001], USD[0.00]

07835113                              BTC[0.00056026], ETH[0], SOL[.00000001], USD[1.58], USDT[0.00000001]

07835114                              BRZ[3], CUSDT[2], DOGE[2], ETH[.1611227], ETHW[.1611227], LINK[37.55890211], SOL[.93667548], USD[0.00], USDT[2]

07835118                              DAI[.00000001], ETH[0], NFT (370030241446026265/Australia Ticket Stub #2237)[1], NFT (500901867917653370/Serum Surfers X Crypto Bahamas #65)[1], SOL[0], USD[0.00], USDT[0.00000001]

07835124                              USD[500.00]

07835129       Contingent, Disputed   ETH[0], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07835132                           SOL[.00000001], TRX[274.01850024]                                                                                                                                      Yes

07835133                           ALGO[84.915], AVAX[.0018865], BAT[.022964], BTC[.0054945], SOL[4.79701], USD[0.07]

07835137                           DOGE[1], SHIB[1], USD[0.00]                                                                                                                                            Yes

07835138                           CUSDT[2], DOGE[1], ETH[0], SOL[0], TRX[3], USD[0.00], USDT[0.00000023]                                                                                                 Yes

07835142                           AAVE[.07984], BAT[23.988], BTC[0], ETH[.003], GRT[22.984], LTC[0.03998000], MATIC[0], NEAR[1.0994], SHIB[299900], TRX[0.99700000], USD[0.13], USDT[0], YFI[.0000985]

07835145                           USDT[0.00000132]

07835146                           SOL[.07565872], USDT[0.00000153]

07835147                           BTC[.01725964], ETH[0.59866079], ETHW[0.59866079], SOL[12.64239699], USD[30.23], USDT[0.00000001]

07835148                           USD[3.00], USDT[0]

07835157                           SOL[0]

07835158                           BTC[0], DOGE[19.36482569], LTC[.02755951], TRX[5.43962505], USD[-0.04]                                                                                                 Yes

07835168                           USDT[0.00000110]

07835169                           USDT[0.00000155]

07835171                           USD[0.00], USDT[0.00000121]

07835173                           BTC[.00227045], USD[0.00]

07835185                           USD[0.00]

07835186                           USD[15.47]

07835188                           BRZ[1], CUSDT[3], DOGE[1], ETH[0], ETHW[0], SOL[0], TRX[1], USD[0.00], USDT[0.00000103]

07835189                           SOL[0], USD[0.00]

07835190                           ALGO[.00306654], AVAX[12.94365606], BAT[.00399481], BF_POINT[200], BRZ[1], LINK[.00059379], SOL[0], SUSHI[40.30089136], TRX[4], USD[0.00]                              Yes

07835196                           CUSDT[7], TRX[1], USD[0.01]

07835204                           USDT[0.00000068]

07835208                           USD[0.00]

07835211                           USD[0.00]

07835216                           ETH[0], LTC[0], SOL[0], TRX[0], USD[0.00]

07835220                           NFT (434416763300425125/The 2974 Collection #0530)[1], NFT (448472403935440959/Birthday Cake #0530)[1], USD[1077.46]

07835224                           BRZ[2], CUSDT[4], DOGE[1], GRT[2.01775436], SHIB[2], SOL[0], TRX[4], USD[0.01], USDT[0]                                                                                Yes

07835229                           NFT (524751595491829985/FTX - Off The Grid Miami #4539)[1]

07835234                           ETH[0], NFT (315049789102547496/Australia Ticket Stub #2411)[1], NFT (409290693786939230/FTX - Off The Grid Miami #5719)[1], SOL[0], USD[0.00]

07835238                           USD[0.02]

07835239                           USDT[0.00000069]

07835241                           SOL[0], TRX[2], USD[0.00]                                                                                                                                              Yes

07835243                           SOL[.0082735], USDT[27.148304]

07835248                           ETH[.00063346], ETHW[.00063346], USDT[.9962122]

07835252                           USD[0.00]

07835257                           DOGE[.17931607], USD[0.29]

07835263                           BRZ[1], USD[0.00]                                                                                                                                                      Yes

07835265                           USDT[0.00000145]

07835266                           ETH[0], ETHW[0], SOL[0], USD[0.00]

07835268                           USD[0.00]

07835270                           SOL[0], USD[0.00]

07835271                           DOGE[1], SHIB[1], USD[0.01]                                                                                                                                            Yes

07835275                           USDT[0]

07835276                           USD[4.81]

07835277                           SOL[0]

07835288                           BTC[0], USD[0.18], USDT[0]

07835294                           SOL[.15], USD[0.03]

07835296                           USD[1000.00]

07835305                           LTC[.00366223], SOL[0.00542575]

07835307                           SOL[.0000076], USD[0.00]

07835310                           SOL[.02171401], USD[0.00]

07835317                           USDT[1.1633832]

07835319                           ETH[0], SOL[0], USD[0.00]                                                                                                                                              Yes

07835320                           BAT[34.43734227], BRZ[57.54691059], CUSDT[6], DOGE[189.55352009], EUR[10.16], GRT[15.67125228], SUSHI[1.30246561], TRX[249.00385501], USD[143.50]                      Yes

07835333                           USD[0.01]

07835335                           USDT[.0939412]

07835336                           SOL[.07143443], USD[0.00]

07835342                           NFT (366417422568797949/Imola Ticket Stub #2302)[1], USDT[0.00000062]
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07835344                              SOL[2.04517266], USDT[0.00000003]

07835349                              SOL[0.00290226]

07835350                              USD[0.59], USDT[1.125126]

07835351                              USD[0.00], USDT[0.00000229]

07835352                              CUSDT[1], DOGE[1], MATIC[42.37591558], USD[0.01]

07835356                              SOL[.00141447], USDT[0.00934891]

07835357                              USDT[0.00000059]

07835364                              USD[0.00]

07835365                              USD[0.18]

07835367                              USD[0.00]

07835384                              SOL[.00000029], USD[0.00]

07835386                              BTC[0], ETH[0], ETHW[0.32691802], USD[0.00]

07835389                              ETH[0.00000001], ETHW[0], SOL[0], TRX[.000025], USD[0.00]

07835392                              SOL[0], USD[0.00]

07835394                              BRZ[.04197727], KSHIB[3.47654983], USD[0.00]                                                                                                                                         Yes

07835413                              BAT[0], DAI[0], TRX[1], USD[5.02], USDT[0.00000001]                                                                                                                                  Yes

07835415                              USD[0.00]

07835420                              USD[0.00]

07835425                              NFT (463270864099932925/Entrance Voucher #3243)[1], USDT[0.00000144]

07835426                              ETH[0], SOL[0], USD[1.53]

07835437                              ETH[0], EUR[0.00], SOL[0], USD[0.90]

07835447                              TRX[5174.78661807]                                                                                                                                                                   Yes

07835448                              SOL[.24922098], USD[0.00]

07835451                              USD[0.01]

07835452                              SOL[0], USD[0.00]

07835459                              DOGE[1], GRT[1], TRX[3], USD[0.00]                                                                                                                                                   Yes

07835468                              SOL[.00000001], USDT[0]

07835469                              AAVE[0], BTC[0.00000001], DOGE[.5352], ETH[0], LINK[.0836], MATIC[0], SOL[.00899], UNI[0.08800000], USD[0.00], USDT[0]

07835477                              USD[0.00], USDT[0]

07835479                              ETH[.12296002], ETHW[0.12296001]

07835480                              USD[2000.00]

07835481                              NFT (522626892651114004/Golden Hill #621)[1], USD[0.01]

07835488                              MATIC[39.96], SOL[1.0050655], USD[9.52]

07835490                              USD[20.00]

07835492                              SOL[0]

07835501                              USD[0.00], USDT[0]

07835503                              LINK[61.2], NFT (318717609760501585/Warriors 75th Anniversary Icon Edition Diamond #2321)[1], USD[2.26]

07835505                              BAT[1.0165555], DOGE[1], USD[0.00]                                                                                                                                                   Yes

07835511                              CUSDT[2], SOL[0]

07835528       Contingent, Disputed   USD[10.95]                                                                                                                                                                           Yes

07835531                              SUSHI[.4935], USD[0.00]

07835534                              BTC[0], USD[0.00]                                                                                                                                                                    Yes

07835535                              LTC[.00957], USDT[1.12425339]

07835538                              BRZ[1], CUSDT[3], DOGE[1], TRX[2], USD[0.00]                                                                                                                                         Yes

07835540                              ETH[.00000001], USD[0.00]

07835543                              ETH[.00000001], SOL[0.00564839], USD[0.00]

07835546                              USD[0.00], USDT[0.00000110]

07835547                              DOGE[0], ETH[0.00037359], ETHW[0.00037359], NFT (374817410208684677/GSW Championship Commemorative Ring)[1], NFT (404391670318129623/The Hill by FTX #4092)[1], NFT
                                      (410521503073140546/Entrance Voucher #3533)[1], NFT (421352232212676151/GSW Round 1 Commemorative Ticket #46)[1], NFT (432031023928399189/GSW Western Conference Finals
                                      Commemorative Banner #2190)[1], NFT (498076143841265003/Warriors Hoop #2 (Redeemed))[1], NFT (526622080246836596/GSW Western Conference Semifinals Commemorative Ticket #598)[1],
                                      NFT (567911372696749326/GSW Western Conference Finals Commemorative Banner #2189)[1], SOL[.00000001], TRX[.000025], USD[0.00], USDT[0.00000996]
07835550                              USDT[0.00007613]                                                                                                                                                                     Yes

07835556                              BTC[0], DOGE[0], ETH[.00000001], ETHW[.00000001], MKR[.00034695], USD[2.56], YFI[0]                                                                                                  Yes

07835562                              SOL[.00000001], TRX[.000001], USDT[0]

07835563                              SOL[.00000001], USDT[0]

07835564                              SOL[.00082093], USDT[0.00000136]

07835573                              BAT[1.00006391], BRZ[1], CUSDT[7], ETH[.00000001], SHIB[3], TRX[2], USD[55.61]                                                                                                       Yes

07835584                              BAT[11.06744074], LINK[1.62657722], NFT (329756088545629449/FTX - Off The Grid Miami #5906)[1], NFT (556719263229706547/Romeo #750)[1], TRX[.00164792], UNI[1.64504166], USD[0.00]   Yes

07835586                              ETH[0], ETHW[0]
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                                                                                                                                            Customer Claims                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07835588                              NFT (496599214711242327/2D SOLDIER #1354)[1], NFT (547215914332034802/2D Squid Game Legs)[1]

07835596                              USD[0.00]

07835598                              BTC[0.00002106], ETH[.00177084], USD[5.40]                                                                                                                             Yes

07835606                              USD[30.76]

07835612                              BAT[1], BRZ[1], DOGE[1], SOL[0], USD[0.00], USDT[1]

07835615                              USD[105.50]

07835619                              SOL[0], USD[0.00]

07835621                              NFT (406364070611693887/Bahrain Ticket Stub #451)[1], NFT (439630663731927287/FTX - Off The Grid Miami #1088)[1]

07835630                              USD[302.18]

07835632                              USD[0.00]

07835635                              CUSDT[2], DOGE[1], TRX[1], USD[0.00], USDT[0.00088145]

07835639                              BTC[0], USD[0.47]

07835645       Contingent, Disputed   TRX[.000002], USDT[0.00000049]

07835659                              BAT[1], SOL[0]

07835664                              TRX[.000001]

07835669                              USD[2.63]

07835678                              USD[0.00]

07835680                              SOL[0], USD[0.00]

07835681                              BTC[.00340378], USD[0.00]

07835682                              BTC[0], MATIC[0], NFT (395083535346153270/Wow! Oil stain Jesus's Face)[1], SOL[0], USD[0.62]

07835689                              USDT[0.00000033]

07835691                              USD[4.55]

07835694                              BRZ[1], CUSDT[2], ETH[0], ETHW[0], SOL[0.00005274]

07835699                              USDT[0.00000100]

07835701                              ETH[0], SOL[0.00000001], USD[10.00]

07835705                              TRX[1713.402474]

07835711                              BTC[.0050949], ETH[.0999], ETHW[.0999], USD[0.50]

07835724                              ETHW[1.69112932], NFT (306324988457708416/Crypto Cowboy #849)[1], NFT (390010028193128797/Dalmatian Common #130)[1], NFT (430357108298445953/PixelDix #2526)[1], NFT
                                      (535351532119108763/PixelDix #2713)[1], SOL[.11], USD[0.01]
07835730                              BTC[0], ETH[0], SOL[.00000001], USD[0.00]                                                                                                                              Yes

07835734                              USD[3.61]

07835735       Contingent, Disputed   ETH[0], ETHW[0], LINK[.01656], LTC[.00199213], USD[0.00], USDT[0.00000281]

07835737                              USD[0.00]

07835742                              USD[0.01], USDT[0]                                                                                                                                                     Yes

07835746                              USD[4.53]

07835753                              SOL[0]

07835755                              BRZ[1], CUSDT[5], DOGE[1], TRX[3], USD[0.01]

07835756                              USD[1.01]

07835757                              SOL[.03108759], USD[0.25]

07835761                              SOL[.05], USD[3.65]

07835767                              CUSDT[2], DOGE[1], USD[0.00], USDT[0.00000001]                                                                                                                         Yes

07835768                              SOL[0], TRX[.000001], USD[1.61], USDT[.05031471]

07835770                              BRZ[1], CUSDT[2], SOL[.00002452], USD[0.00], USDT[0.00000038]

07835778                              TRX[.000001], USDT[.4531693]

07835779                              AAVE[.0053735], BTC[0.07578028], ETH[.00014525], ETHW[.00044355], LINK[.09639], SOL[.006637], SUSHI[.493825], USD[0.18], USDT[0.00325371]

07835781                              CUSDT[9], DOGE[2], ETHW[.0576211], LTC[.00000252], SHIB[2], SOL[.00000319], TRX[4], USD[280.95]                                                                        Yes

07835784                              SOL[.18420324], USD[0.00]

07835787                              CUSDT[4], DOGE[3], ETH[0], SOL[.00250713], TRX[2], USD[0.00]                                                                                                           Yes

07835806                              BF_POINT[300], BRZ[3], CUSDT[1], DOGE[1], SOL[1.52820406], TRX[1], USD[0.00], USDT[1.07749504]                                                                         Yes

07835811                              BTC[0]

07835812                              TRX[.000001], USDT[100]

07835815                              NFT (467220516921386604/Saudi Arabia Ticket Stub #1431)[1], USD[1.18]

07835816       Contingent, Disputed   USDT[.6864313]

07835826                              ETH[0], USD[0.00]

07835834                              USDT[.2814486]

07835835                              BTC[0.00022428], SOL[0], USDT[0.00000047]

07835838                              BTC[0.00000777], NFT (312949492747878399/2974 Floyd Norman - CLE 5-0218)[1], SOL[.00291], USD[0.01]

07835841                              SOL[0]

07835845                              ETH[0], SOL[0], USD[0.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07835846                              USD[0.00]

07835847                              BAT[2.07077436], BTC[.00000232], USD[0.00], USDT[1.07478307]                                                                                                                            Yes

07835849                              BTC[0], ETH[0], USD[0.00]

07835856                              USD[0.00]

07835860                              USDT[0.00000152]

07835864                              BAT[1.0137636], BRZ[5.07192863], CUSDT[12], DOGE[14.62939324], GRT[4.10149048], LINK[2.12653938], SHIB[2], SUSHI[5120.10494489], TRX[20.28323842], USD[0.00], USDT[6.45333062]          Yes

07835865                              ETH[.00083774], ETHW[.00083774], SOL[0], USD[0.36]

07835870                              GRT[12661.9597], USD[0.01]

07835872                              USD[0.03]                                                                                                                                                                               Yes

07835873       Contingent, Disputed   SOL[0], USD[0.00]

07835876                              TRX[1], USD[0.00]

07835877                              USD[1.06]

07835878                              USD[0.00]

07835879                              USD[0.00], USDT[0.00000146]

07835882                              USD[0.00]

07835885                              USD[0.00]

07835887                              SOL[0], USD[0.00], USDT[0]

07835888                              USD[0.00], USDT[0]                                                                                                                                                                      Yes

07835905                              BRZ[1], BTC[.02562072], CUSDT[32], DOGE[3], ETH[.14132846], ETHW[.14037773], SHIB[966527.57378296], TRX[5], USD[0.05]                                                                   Yes

07835907       Contingent, Disputed   SOL[0], USD[0.00]

07835911                              USD[0.00]

07835914                              USDT[0.00001806]

07835928                              BTC[.00001436], CUSDT[8], SHIB[875359.39175378], SOL[1.12110953], TRX[1], USD[0.01]                                                                                                     Yes

07835929                              SOL[0], USD[0.12]

07835930                              USD[100.00]

07835935                              AAVE[.009696], BTC[0.04079112], ETH[.3395943], ETHW[.3395943], GRT[98.90595], LINK[12.371785], LTC[.0042], MATIC[519.506], SOL[9.2712425], SUSHI[.494775], UNI[2.897245], USD[115.74]

07835937                              SHIB[1199400], SOL[0], SUSHI[7.5], TRX[812.188], USD[5.72], USDT[0]

07835944                              ETH[0], ETHW[0], SOL[0], USD[915.35]

07835946                              GRT[198.675], LINK[12.8871], TRX[20936.493], USD[0.83]

07835955                              SOL[.00000001], USD[0.00]

07835956                              USDT[.8425269]

07835962                              NFT (566674379526921457/DOGO-IN-500 #4281)[1]

07835963                              USD[0.00]

07835969                              SOL[.00084], USD[0.49]

07835973                              BTC[0]

07835978                              ETH[.00000001], SOL[0]

07835979                              NFT (355938896498630090/Miami Ticket Stub #279)[1], SOL[0], TRX[3.39534011]

07835980                              SOL[0.00559505], USD[2.66]

07835988                              SOL[.00000001]

07835991                              USDT[0.00000172]

07835993                              LTC[0]

07835998                              USD[0.00]

07835999       Contingent, Disputed   USD[0.00]

07836000                              USD[0.61]

07836002                              SOL[0]

07836008                              ETH[0], SOL[0], TRX[0], USD[0.00], USDT[0.00000054]

07836011                              SOL[0]

07836019                              SOL[1.05894], SUSHI[7.4925], USD[1.81]

07836027                              BAT[0], BTC[0], DOGE[1], ETH[0], SHIB[18786236.66656707], SOL[0], USD[0.00]                                                                                                             Yes

07836028                              USD[0.00]

07836032                              NFT (514870737419884636/DOGO-IN-500 #1618)[1]

07836033                              ETH[.00040423], ETHW[0.00040422], USD[1.11]

07836035                              ETH[.0006478], ETHW[0.00064780], USD[1.13]

07836039                              SUSHI[.00000001], UNI[.00000001], USD[0.00], USDT[0]                                                                                                                                    Yes

07836047                              USD[53.75]                                                                                                                                                                              Yes

07836057                              SOL[2.55364425], USD[0.00]

07836063                              USD[45.17]

07836075                              USD[2.41]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07836076                              BTC[0], SOL[0], USD[0.00]

07836079                              USD[0.00]

07836090                              SOL[0]

07836091                              BAT[1.00977206], BRZ[3], DOGE[13.57613755], GRT[1], LINK[.00004753], NFT (521196633319470971/Surfs up dude)[1], NFT (575554982486082934/Pop Art #23)[1], SOL[.00003883],            Yes
                                      TRX[12.02127908], USD[0.00], USDT[0]
07836100                              SOL[1.02166665], TRX[1], USD[0.00]

07836103                              ETH[0], ETHW[0], SOL[0.00000001], USD[0.00]

07836105                              USDT[.9077006]

07836106                              ETH[0.00393976], ETHW[0.00393976], USD[0.00]

07836108                              USDT[0.00000107]

07836110                              SOL[0], USD[0.92]

07836112                              TRX[.000177], USD[0.00]

07836114                              ETH[0], SOL[0], USD[0.26]

07836118                              DOGE[224.96549315], GRT[1.00367791], USD[0.00]                                                                                                                                      Yes

07836133                              BTC[4.20759171], ETH[36.17000577], ETHW[36.17000577], SOL[358.94065776], USD[0.00], USDT[0.00774511]

07836137                              TRX[1], USDT[0.00000011]

07836141                              ETHW[1.4], MATIC[392.73875], USD[0.00]

07836144                              ETH[0], USD[0.00], USDT[0.00000281]

07836145                              USDT[0.82008219]

07836148                              USDT[0.39819620]

07836156                              SOL[0], USD[0.00]

07836162                              USD[0.00]

07836164                              SOL[0], USD[0.00]

07836169                              BRZ[5], CUSDT[48.76869531], DAI[369.24418669], DOGE[19.20123597], ETH[2.82407518], ETHW[2.82288907], LINK[35.85162929], SHIB[12], SOL[4.55131149], TRX[16.95205163], USD[201.24],   Yes
                                      USDT[1.08236691]
07836170                              SOL[0]

07836171                              NFT (466747517191690596/Entrance Voucher #3766)[1], SOL[.38], USD[1.30]

07836172                              ETH[.00053658], ETHW[.04353658], NFT (532137694699885906/Entrance Voucher #3171)[1], USD[57.16]                                                                                     Yes

07836179                              ETH[0.03775236], LINK[.00068003], MATIC[.00003226], SOL[0.00006805], USD[0.12], USDT[0.00000065]                                                                                    Yes

07836183                              BRZ[1], CUSDT[1], ETH[0.00020865], ETHW[0.00020865], USD[0.00], USDT[0.00003488]                                                                                                    Yes

07836184                              TRX[.000001], USDT[0]

07836186                              SOL[0], USD[0.22]                                                                                                                                                                   Yes

07836189       Contingent, Disputed   BTC[0], USD[0.01], USDT[0]

07836191                              BTC[0.00060445], ETH[0], SOL[.00581312], USDT[0.00000036]

07836196                              SOL[0], USD[0.00]

07836198                              DOGE[1], USD[0.47]

07836199                              SHIB[4987531.17206982], USD[50.00]

07836200                              NFT (332487779727558951/Australia Ticket Stub #372)[1], USD[0.00], USDT[0.00000083]

07836202                              NFT (524410709570864655/DOGO-IN-500 #1280)[1]

07836205                              ETH[0], SOL[0], USD[0.00]

07836206                              BTC[0.00040444], ETHW[.363], NFT (511436328967898692/Fancy Frenchies #974)[1], NFT (532747864728264192/Fancy Frenchies #5363)[1], SOL[.00000001], USD[0.35]

07836212                              SOL[0.00563707], USD[1.90]

07836216       Contingent, Disputed   ETH[.00000001], ETHW[.00000001], USD[0.00]

07836217       Contingent, Disputed   USDT[0.28882250]

07836219                              USD[0.14]

07836220                              SOL[7.3335495], USD[4.25]

07836226                              SOL[.00040109], USD[0.00]

07836228                              CUSDT[2], TRX[1], USD[0.00]

07836230                              BTC[.00641836], SOL[.46373375], USD[0.00]

07836233                              USD[0.00]

07836235       Contingent, Disputed   USD[0.00]

07836237                              SOL[.00998821], USD[0.00]

07836238                              USDT[0.00000063]

07836244                              CUSDT[2], DOGE[7215.4180494], TRX[1], USD[0.00]

07836246                              SOL[1.12261445], USD[176.00]

07836250                              BRZ[1], BTC[0], CUSDT[3], DOGE[1], TRX[1], USD[0.00]                                                                                                                                Yes

07836251                              SOL[0], USD[0.00]

07836255                              SOL[.11554758], USD[0.00]

07836256                              USDT[0.00000030]

07836266                              DOGE[1], USD[0.04], USDT[0]                                                                                                                                                         Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07836270                              SOL[0]

07836271                              NFT (308271280891253973/Tower Community NFT)[1], USD[2.66], USDT[1.759]

07836273                              NFT (426611740331741231/Geckos Spaceship)[1], NFT (510176246306316934/Sloth #0349)[1], NFT (543891071951994976/Sloth #0093)[1], SOL[0], USD[0.03]

07836276                              DOGE[.90476373], SOL[0]

07836279                              NFT (449041331013188263/Bahrain Ticket Stub #1160)[1], SOL[.22663116], USD[1.39]

07836285                              USD[3.76]

07836292                              ETH[.00000001], ETHW[0], SOL[0], USD[0.00]

07836296                              BAT[2.01912376], BF_POINT[700], BRZ[2], CUSDT[3], DOGE[6], GRT[1], SHIB[9], SUSHI[1.04869361], TRX[5], USD[0.00], USDT[2.0659523]                               Yes

07836299                              MATIC[9.99], USD[0.60]

07836302                              BTC[.00006328], USD[0.00]

07836305                              GRT[1.00098906], USD[0.00]                                                                                                                                      Yes

07836307                              SOL[.00133486], USD[0.00]

07836318                              USD[3.45]

07836319                              SOL[.446]

07836320                              TRX[.852001], USDT[.84794636]

07836321                              TRX[1], USD[0.01], USDT[0]

07836322                              MATIC[7.43444221], USD[0.10]

07836324       Contingent, Disputed   USDT[0.00000105]

07836329                              ETH[.0008407], ETHW[.0008407], SOL[.00284059], USD[0.00]

07836330                              USD[0.00]

07836332                              SOL[.00053919], USD[0.00]

07836333                              USD[0.00]

07836341                              USD[0.00]

07836350                              USDT[9.4174]

07836351                              USD[9.90]

07836352                              NFT (351669954956373227/The Hill by FTX #1682)[1]

07836355                              USD[0.00]                                                                                                                                                       Yes

07836357                              ETH[.0002801], ETHW[0.00028009], USD[0.27], USDT[.00390489]

07836358       Contingent, Disputed   USDT[0.00000109]

07836360                              BTC[.0392142], ETH[.36229191], ETHW[.36229191], LINK[4.11056492], SOL[3.74625995], TRX[492.02767557], USD[0.00]

07836363                              AVAX[.000036], BRZ[1], DOGE[4.00003617], GRT[.00876015], TRX[9], USD[94.39], USDT[0], YFI[.00000014]                                                            Yes

07836367                              SOL[0.00066407]

07836369                              NFT (380888560089914567/New Balance 577)[1], NFT (540872544772913764/Nike Air Max 1)[1], TRX[.000001], USDT[0.00000050]

07836377                              USD[0.77]

07836380                              ETH[0], USD[0.00]

07836386                              USD[0.00]

07836387                              BTC[.00341944], USD[9400.00]

07836389                              USD[0.00]

07836391                              ETH[0], ETHW[0], USD[0.00]

07836399                              NFT (350958313279572890/Imola Ticket Stub #1107)[1]

07836400                              BTC[.07], NFT (327272085408234550/Humpty Dumpty #363)[1], SOL[1], USD[93.66]

07836405                              USD[0.00]

07836406                              SOL[16.964], USD[2.91]

07836416                              ETH[.00009622], ETHW[0.00009622]                                                                                                                                Yes

07836421                              SOL[.14772069], USD[0.00]

07836422                              SOL[.03184], USD[0.56], USDT[1.51333393]

07836428                              SOL[0], USD[0.24]

07836433                              BRZ[2], BTC[.00020745], DOGE[1], ETH[.2488294], ETHW[.24863872], NFT (450995993061862871/Saudi Arabia Ticket Stub #2126)[1], USD[0.17]                          Yes

07836436       Contingent, Disputed   USD[0.00]

07836446                              LTC[0], SOL[0], USD[0.00]

07836447                              CUSDT[2], SUSHI[15.11496378], USD[0.00]                                                                                                                         Yes

07836448                              BAT[1], BRZ[6.00164408], BTC[.0000001], CUSDT[19], DOGE[8.00057537], ETH[.00186257], ETHW[.10084558], LINK[0], SHIB[18], SOL[.00003554], TRX[10], USD[281.49]   Yes

07836453                              LTC[0], SOL[0], USDT[0.00000135]

07836454                              BRZ[2], CUSDT[41], TRX[2], USD[0.00], USDT[0.00000001]

07836455                              SOL[0]

07836457                              ETH[0], ETHW[0], NEAR[0], USD[0.65], USDT[0.00000072]

07836459                              SOL[0]

07836463                              SOL[.04949608], USDT[0.00000109]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07836464                              BTC[0.00002820], ETH[.00000001], SOL[0], USD[0.00]

07836465                              BTC[.00240105], ETH[.03301627], USD[0.00], USDT[186.94633125]                                                                                                          Yes

07836473                              AAVE[.31], BTC[.0064], ETH[.083], ETHW[.083], LINK[3.3], MATIC[90], SOL[.72], USD[0.01], USDT[2.7772844]

07836474                              LTC[.00103864], USD[0.00]                                                                                                                                              Yes

07836477                              USD[1.09]

07836481                              USD[1.08]

07836482                              USD[11.22]

07836486                              BTC[.00079094], LTC[.09038019], USD[55.00]

07836488                              ETH[0], ETHW[0], USD[0.00]

07836489                              USDT[3.4417165]

07836492                              BTC[0], ETH[0], SOL[0.00000001]

07836501                              CUSDT[1], SOL[0], TRX[2], USD[0.00]                                                                                                                                    Yes

07836503                              SOL[0]

07836504                              USD[4.84]

07836510                              ETH[0], SOL[0.00000001], USD[0.96]

07836511                              USD[0.33], USDT[0.00000033]

07836514                              SOL[0]

07836516                              BF_POINT[200]

07836518                              USD[0.39]

07836523                              DOGE[2], NFT (409249763155623222/SolDad #2217)[1], NFT (528032979073599934/Solninjas #5734)[1], NFT (545612722540393792/SolDad #2063)[1], TRX[1], USD[0.01], USDT[1]

07836525                              TRX[.000002], USDT[0.00004081]

07836527                              ETH[0], SOL[.00000001], USD[0.00]

07836532                              NFT (328302743416747564/Imola Ticket Stub #1331)[1], USD[207.00]

07836533                              BRZ[3], BTC[0.00000027], CUSDT[5], DAI[0], DOGE[5], ETHW[1.48506902], SHIB[13], TRX[2], USD[0.01], USDT[1.00050239]                                                    Yes

07836539                              USD[0.15]

07836544                              USD[25.00]

07836552                              USD[0.01]

07836553                              USD[0.00]

07836555       Contingent, Disputed   USD[0.00]

07836557                              ETH[0.06500000], LTC[0], SOL[0]

07836562                              NFT (481847600916792348/Solninjas #8479)[1], SOL[.00288], SUSHI[.4585], UNI[.0802], USD[913.64]

07836563                              BRZ[1], CUSDT[1], USDT[0.00000076]                                                                                                                                     Yes

07836565                              ETH[0], NFT (459512943342569641/2974 Floyd Norman - OKC 5-0233)[1], SHIB[1], SOL[0.00000001], USD[0.07], USDT[3.30043704]

07836571                              BTC[0], SOL[0], USD[0.00]

07836574                              USD[0.00]

07836579                              CUSDT[1], TRX[1], USDT[0.00000152]

07836585       Contingent, Disputed   BCH[0], BTC[0], CUSDT[0], SOL[0], USD[0.00], USDT[0]                                                                                                                   Yes

07836602                              SOL[0], USD[0.00], USDT[0]

07836603                              BTC[0.00002887], USDT[1.0821704]

07836604                              USDT[0.00000024]

07836605                              ETH[0], SOL[.00000001], USD[0.00], USDT[0.00000039]

07836607                              USD[3.13]

07836610                              SOL[0.08537003], USD[0.57]

07836612                              BTC[0], ETH[0], NFT (572576987984506114/Miami Ticket Stub #14)[1], SHIB[1], SOL[25.16316775], USD[0.00]

07836615                              SOL[0]

07836622                              SOL[0], USD[0.00]

07836623                              BTC[.00290333], SHIB[1], USD[0.00]                                                                                                                                     Yes

07836632                              SOL[.5]

07836636                              CUSDT[1], SOL[0.00380845]

07836639                              USD[0.06]                                                                                                                                                              Yes

07836641                              BTC[.00016314], USD[0.07]                                                                                                                                              Yes

07836642                              NFT (559014552292784349/Saudi Arabia Ticket Stub #1079)[1], SOL[.05017907], USD[0.00]

07836643                              SOL[0.00706708]

07836644                              USD[0.00]

07836651                              SOL[0]

07836653                              DOGE[2], ETHW[.11541564], TRX[1], USD[0.00]                                                                                                                            Yes

07836661                              USD[1.14]

07836662                              AAVE[1.37862], AVAX[1.5], BTC[0], ETH[.08438367], ETHW[.08438367], MATIC[180.96000000], USD[0.00], USDT[0.00018179]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07836666                              USD[0.39]

07836670                              NFT (342258714432225824/2974 Floyd Norman - CLE 4-0251)[1], NFT (449541703081901132/2974 Floyd Norman - CLE 4-0177)[1], NFT (509074193267637025/2974 Floyd Norman - CLE 1-0269)[1],
                                      USD[0.00]
07836672                              NEAR[.0781], USD[51.11]

07836680                              USDT[0.00000022]

07836685                              USDT[7.739022]

07836688       Contingent, Disputed   USD[0.00], USDT[0.50819423]

07836690                              BF_POINT[200]

07836695                              NFT (305511991500244312/FTX Crypto Cup 2022 Key #208)[1], NFT (550350639459385737/The Hill by FTX #2093)[1], SOL[.003], USDT[0.00000025]

07836696                              BTC[.0045], SOL[10.19], USD[2.70]

07836699                              BTC[.00005659], CUSDT[2], DOGE[2], ETH[.00809137], ETHW[.00809137], LTC[.14471363], SHIB[3], SOL[.19728499], USD[0.01]

07836706                              USDT[0.00000040]

07836707       Contingent, Disputed   TRX[.000001], USD[0.00], USDT[0]

07836708                              USD[0.00]

07836710                              USD[0.01]

07836713                              USD[0.00]

07836719                              CUSDT[1], SOL[0]

07836723                              USD[0.39]

07836726                              USD[0.56]

07836731                              USD[8.16]

07836732                              NFT (522415180596572718/Warriors 75th Anniversary Icon Edition Diamond #500)[1]

07836734                              USD[0.30]

07836735                              TRX[.000001], USDT[0.00000010]

07836737                              CUSDT[2521.91311983], SHIB[5797672.13394327], TRX[1], USD[0.00]                                                                                                                       Yes

07836742                              USD[1.83]

07836750                              SOL[4.50407895]

07836756                              USD[10.00]

07836757                              USD[0.00]

07836759                              CUSDT[1], USD[0.00]

07836764                              USD[0.01]                                                                                                                                                                             Yes

07836765                              USD[1.00]

07836766                              USD[1.00]

07836767                              SOL[.00057418], USD[0.00]

07836769                              USD[0.27]

07836779                              USD[0.00]

07836781                              USDT[0]

07836788                              USD[0.00]

07836790                              SOL[.00255761], TRX[.000002], USDT[0.00000033]

07836793                              BF_POINT[200]                                                                                                                                                                         Yes

07836798                              ETHW[33.99363464], MATIC[29.08617175], SHIB[2], USD[0.00]                                                                                                                             Yes

07836807                              NFT (370309358208323421/Bahrain Ticket Stub #353)[1], SHIB[4], TRX[.000155], USD[0.00], USDT[0]

07836810       Contingent, Disputed   SOL[0], USD[0.00], USDT[0.00000010]

07836814                              BRZ[2], SHIB[2], TRX[1], USD[0.00]                                                                                                                                                    Yes

07836815                              NFT (474499610444525042/Miami Ticket Stub #643)[1]

07836826                              ETH[0], ETHW[0], SOL[0]

07836827                              BTC[0], DOGE[46.69534982], ETH[0.00022462], ETHW[0.00022462], SHIB[243765.7650804], SOL[4], USD[0.00], USDT[1.3788076]

07836828                              USDT[1.359178]

07836829                              ETH[0], SOL[0], USD[0.00], USDT[0.00000010]

07836832                              BF_POINT[200], BTC[.02017065], CUSDT[1], ETH[.25265399], ETHW[.25245995], LTC[4.32284616], NFT (347302144530260357/Imola Ticket Stub #1144)[1], NFT (435965691075525854/Barcelona     Yes
                                      Ticket Stub #647)[1], SOL[.00003741], TRX[1], USD[21.51]
07836835                              ETH[0], SOL[0], USD[0.00]

07836836                              USDT[.4273142]

07836840                              TRX[.000001], USDT[0.00000071]

07836841                              SOL[0]

07836843                              NFT (435755743233468400/Beasts #883)[1], SOL[.00952291], USD[29.52]

07836845                              AVAX[.26443037], USD[142.12]                                                                                                                                                          Yes

07836847       Contingent, Disputed   USDT[1.113]

07836849       Contingent, Disputed   USD[0.00], USDT[0]

07836850                              DOGE[2], SHIB[1], USD[0.00]

07836854                              CUSDT[1], SOL[0]                                                                                                                                                                      Yes
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07836862                              SOL[.01], USD[0.18]

07836866                              SOL[0], USDT[0.00000105]

07836868                              USD[0.00]

07836871                              SOL[.06488]

07836877                              SOL[2], USD[13.93]

07836878       Contingent, Disputed   SOL[0]

07836882                              SOL[.00000001], USD[0.01], USDT[0]

07836885                              USD[0.00], USDT[0]

07836887                              USD[0.00]

07836895                              AVAX[0], SOL[0], USD[0.00]

07836897                              BTC[.00000848], SOL[.0031735], USD[0.01]

07836902                              USDT[0.00000145]

07836907                              USD[294.91]

07836912                              USD[15.00]

07836917                              USD[0.00]

07836925                              USD[18.43]

07836930                              DOGE[467.84449395], USD[0.00]

07836932                              USD[0.00]

07836937                              ETH[0], USD[0.00]

07836940                              SOL[.26151762], USD[0.00]

07836941                              USD[0.00]

07836945                              NFT (456345178186441107/Sun Set #485)[1], USD[4.31]

07836946                              USD[0.00]

07836947                              SOL[0], USD[0.40]

07836954                              BTC[.00001145], USD[0.00]

07836960                              ETH[0], ETHW[0], SOL[0]

07836964                              USD[0.00]

07836973                              USD[0.76]

07836976                              USD[0.29]

07836984                              USD[0.00]

07836985                              USD[20.00]

07836986                              ETH[0], SOL[0], USD[0.00]

07837001                              USD[0.05]                                                                                                                                                                Yes

07837002                              NFT (477857194111745665/Microphone #441)[1], NFT (574573422550290447/Entrance Voucher #1169)[1], USD[3.33]

07837005                              USD[0.00], USDT[0]                                                                                                                                                       Yes

07837008                              DOGE[0], ETH[-0.00000002], LTC[0], USD[0.13]

07837012                              DOGE[74582.01143203], NFT (299166530199016387/Entrance Voucher #16378)[1], NFT (430510749607826157/SOLYETIS #5535)[1], NFT (522492551767982233/SOLYETIS #3822)[1], NFT   Yes
                                      (558549140861714473/SOLYETIS #5054)[1], SOL[61.01005795], USD[-150.00]
07837014                              SOL[8.71442548], USD[0.00], USDT[497.21361764]

07837019                              BTC[.00030954], DOGE[45.26264561], USD[0.00]                                                                                                                             Yes

07837022                              USD[1.03]

07837024                              USD[310.00]

07837025                              BTC[0], USD[0.00], USDT[0]

07837029                              NFT (312487080594300379/Imola Ticket Stub #837)[1], NFT (544116624977437325/FTX - Off The Grid Miami #7015)[1], USD[0.00], USDT[0.00000047]

07837030                              BAT[2], DOGE[.11972948], MATIC[1.00088623], SUSHI[.01833725], TRX[4], UNI[1.01264987], USD[0.00], USDT[3.01963652]                                                       Yes

07837036                              SOL[.06064192], USD[17.20]

07837052                              NFT (378792257728066080/FTX - Off The Grid Miami #1361)[1]

07837056                              ETH[0], USD[0.00]

07837058                              ETH[0], USD[0.00]

07837069                              USD[1.35]

07837075                              BTC[.00229863]                                                                                                                                                           Yes

07837078                              SOL[0]

07837080                              USD[1.22]

07837083                              SOL[.00000001], USD[0.00]                                                                                                                                                Yes

07837086                              SOL[.00268804], TRX[.011381], USD[0.00], USDT[0.01000000]

07837087                              ETH[.00011886], ETHW[.00011886], USD[0.00]

07837093                              USD[0.00], USDT[199.08071889]

07837095                              SOL[.299], USD[10.46]

07837098                              BTC[.00431031], CUSDT[3], ETH[.00456735], ETHW[.00451263], SHIB[822.57835767], SOL[.27176144], USD[0.00]                                                                 Yes
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
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                                                                                                                                            Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07837099                              USDT[0.00000104]

07837108                              USD[3.16]

07837112                              SHIB[20.03699923], USD[0.00]                                                                                                                                                     Yes

07837118                              AVAX[.00000001]

07837119                              AVAX[7.66731594], BAT[1.01183003], BRZ[1], BTC[.35468862], CUSDT[2], ETH[5.51227366], ETHW[5.51050043], GRT[17954.7403259], KSHIB[1968.42345612], LINK[719.81540648],            Yes
                                      LTC[30.19722408], MATIC[2618.92547756], SUSHI[132.20290266], TRX[2], UNI[26.06760234]
07837121                              NFT (410224802062970199/Entrance Voucher #1082)[1], NFT (466811957317199862/Australia Ticket Stub #1878)[1], SOL[0]

07837123                              SOL[.00009318], USD[0.00]

07837128                              BRZ[5], BTC[.09019254], DOGE[2], ETH[1.05759482], GRT[1.00177101], MATIC[292.77284154], SHIB[6], SOL[61.41179073], TRX[3], USD[0.00]                                             Yes

07837138       Contingent, Disputed   SOL[0], USD[0.00]

07837142                              BTC[.00041314], CUSDT[1], USD[0.01]                                                                                                                                              Yes

07837151                              BTC[0.00000621], ETH[0], ETHW[0], LINK[0], SOL[.00000001], USDT[.302317]

07837152                              SOL[0], USD[0.00]

07837156                              USD[1.37]

07837158                              USDT[0]

07837159                              SOL[2], USD[5.24]

07837160                              BTC[0], ETH[0], SOL[0], USD[0.57]

07837163                              ETH[.00000001], SOL[0], USD[0.00]

07837164                              BTC[0.00000218], ETH[0], SOL[0], USD[0.01], USDT[3.87443897]

07837168                              ETH[0], ETHW[0], SOL[0]

07837169                              ETH[.05], ETHW[.05]

07837173                              USD[0.00]

07837177                              USDT[0.00000042]

07837178                              ALGO[162.500302], BTC[.00439033], ETH[0.06776452], ETHW[0.06776452], LTC[.5363625], SOL[0.80036868], USD[0.00]

07837182                              BTC[0], DOGE[0], ETH[0], ETHW[0], GRT[0], KSHIB[0], LINK[0], MATIC[0], SOL[0.39000000], SUSHI[0], TRX[0], USD[0.00]

07837183                              LINK[.00080955], SUSHI[.00107178]                                                                                                                                                Yes

07837195                              ETH[0], ETHW[1.075183], USD[0.00]

07837200                              CUSDT[1], DOGE[1], ETH[0], GRT[1], SOL[0], TRX[1]                                                                                                                                Yes

07837202                              ETH[0], SOL[0], USD[0.00]

07837211                              USD[0.00]

07837233                              CUSDT[2], USDT[0.00000088]                                                                                                                                                       Yes

07837234                              USD[2.50]

07837235                              TRX[.000001], USDT[.3811075]

07837236                              USD[0.01]

07837242                              AVAX[.38700934], BTC[.00021907], ETHW[9.23250416], MATIC[9.56827928], SOL[.00023458], USD[923.93]                                                                                Yes

07837244                              DOGE[43.1601684]                                                                                                                                                                 Yes

07837245                              ETH[.00125287], ETHW[.00125287], SOL[0.00000010]

07837248                              USDT[.8149406]

07837251                              USD[2.26]

07837254                              TRX[1], USD[0.00]                                                                                                                                                                Yes

07837256                              SOL[0], TRX[1]

07837257                              BTC[0], ETH[.00000001], NFT (478549315042474065/Gizmo Kingdaze)[1], SOL[0.02352823], USD[0.00], USDT[0.00006632]

07837258                              CUSDT[1], USD[0.02]                                                                                                                                                              Yes

07837259                              BTC[0], ETH[0], ETHW[0], SOL[0], USD[0.00]

07837260                              ETH[.0271522], ETHW[.0271522], USD[116.22]

07837261                              SOL[.44813997]

07837264                              NFT (553674819627757286/Australia Ticket Stub #1309)[1]

07837274                              BTC[.00239438], USD[2070.31]

07837277                              USD[0.00]

07837281                              BTC[0], USD[0.00]

07837283                              NFT (297551619967021548/Megalodon Rogue Shark Tooth)[1], NFT (307426958106142472/Megalodon Rogue Shark Tooth)[1], NFT (311504031635162058/Megalodon Rogue Shark Tooth)[1], NFT
                                      (348819252561470875/Megalodon Rogue Shark Tooth)[1], NFT (378700376689542329/Megalodon Rogue Shark Tooth)[1], NFT (395484914541967859/Megalodon Rogue Shark Tooth)[1], NFT
                                      (410980284945611231/Megalodon Rogue Shark Tooth)[1], NFT (457659637686129842/Megalodon Rogue Shark Tooth)[1], NFT (516036286869154328/Megalodon Rogue Shark Tooth)[1], NFT
                                      (539598029943295811/Megalodon Rogue Shark Tooth)[1], NFT (548131147898415392/Megalodon Rogue Shark Tooth)[1], SOL[.22536]
07837289                              DOGE[1], TRX[1]

07837295                              NFT (298908988690851832/Entrance Voucher #2344)[1], NFT (382665013314370643/Coachella x FTX Weekend 1 #9311)[1]

07837297                              SOL[.1], USD[28.31]

07837299                              ALGO[.00000001], SHIB[16064259.02811244], USD[0.65]

07837301                              USD[18.79]

07837306       Contingent, Disputed   USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07837314                              AUD[0.00], CUSDT[3], ETH[.00184377], ETHW[.00181641], NFT (386406236915193560/Codart #8)[1], NFT (410266990702161218/Neon nights )[1], NFT (485373599354286818/Hall of Fantasy League Yes
                                      #204)[1], NFT (548172908346857681/Earl Campbell's Playbook: Texas vs. Houston - November 5th, 1977 #102)[1], NFT (551698474203107561/Solninjas #2367)[1], SOL[.12030415], USD[0.00]

07837320                              DOGE[6030.963], SHIB[14789700], SOL[9.58041], USD[902.76]

07837327                              USD[0.89]

07837336                              SOL[0], USDT[0.00000050]

07837340                              NFT (466644900167216141/FTX - Off The Grid Miami #7100)[1]

07837343                              ETHW[2.32539], USD[0.00]

07837344                              CUSDT[1], GRT[7.59530449], SOL[.00770485], USD[0.25]                                                                                                                                   Yes

07837356                              USD[0.16]

07837360                              BRZ[57.29561296], CUSDT[2], GRT[25.39409238], TRX[466.3527086], USD[32.89]                                                                                                             Yes

07837364                              BTC[.00089761], ETH[.4029352], ETHW[.40276592]                                                                                                                                         Yes

07837368                              CUSDT[1], DOGE[1], SHIB[17624206.79150197], TRX[2], USD[0.83]                                                                                                                          Yes

07837376                              SOL[.00000001], TRX[2], USD[270.00]

07837379                              USD[0.00]

07837383                              DOGE[0], ETH[0], ETHW[0], MATIC[0], NFT (306897951437200762/Saudi Arabia Ticket Stub #1223)[1], USD[0.00]                                                                              Yes

07837388                              BF_POINT[300], SHIB[8], TRX[1], USD[0.00]                                                                                                                                              Yes

07837393                              DOGE[67.03753516], SHIB[322667.32480915], USD[10.75]                                                                                                                                   Yes

07837395                              NFT (574783831122700765/Miami Ticket Stub #170)[1], USD[0.00]

07837396                              ETH[2], ETHW[2], SOL[0], USD[2234.30]

07837397                              ALGO[5362.43581695], TRX[1], USD[48.58]                                                                                                                                                Yes

07837401                              AVAX[0], BTC[0], ETH[0], ETHW[0], LINK[0], LTC[0], MKR[0], PAXG[0], SOL[0], USD[0.00], USDT[0.00030769]

07837426                              DOGE[2629.14597008], TRX[1], USD[0.05]                                                                                                                                                 Yes

07837433                              USD[0.00]

07837434                              ETHW[.89], USD[0.01]

07837435                              ETH[.00000002], LTC[.008775], USD[0.11], USDT[0]

07837440                              USD[7.40]

07837450                              USD[0.59], USDT[0]                                                                                                                                                                     Yes

07837460                              DOGE[1], ETH[.00000136], ETHW[.00000136], USD[0.01]                                                                                                                                    Yes

07837465                              BTC[1.0506], ETH[8.997724], ETHW[8.997724], LINK[78.4], MATIC[1200], SOL[173.86], USD[104.71]

07837469                              USD[0.00], USDT[0]

07837471                              USD[109.51]                                                                                                                                                                            Yes

07837478                              ETH[0], MATIC[0], SOL[0.00000001], TRX[.000034], USD[0.00], USDT[0]

07837481                              BTC[.00028132], USD[0.27]                                                                                                                                                              Yes

07837484                              USD[7.43]

07837485                              BRZ[1], GRT[1], USD[0.01]                                                                                                                                                              Yes

07837486                              USD[0.00]

07837488                              USD[0.00]

07837489                              USD[0.00]

07837496                              AAVE[12.9883], NFT (505586220565401749/Entrance Voucher #3169)[1], USD[33.05]

07837498                              USD[0.00], USDT[1.00044971]

07837506                              CUSDT[1], DOGE[1], SOL[2.33792704], USD[0.01]                                                                                                                                          Yes

07837515                              USD[1.40]

07837517                              NFT (438065420273560462/Entrance Voucher #2951)[1]

07837525                              USD[0.00]

07837527                              BTC[.05064193], SHIB[1], SOL[30.9872446], TRX[1], USD[0.00]                                                                                                                            Yes

07837528                              KSHIB[0], SHIB[16938070.89443425], USD[0.00], USDT[0]                                                                                                                                  Yes

07837535                              ETH[0], LTC[0], SOL[.00000001], USD[0.00]

07837536                              SOL[0.01363147], USD[0.00]                                                                                                                                                             Yes

07837545       Contingent, Disputed   USD[0.02]

07837547                              AAVE[0], ETH[0.00000001], NFT (375293053060780124/Solrambe Derivative )[1], NFT (377178525171547088/Moon Dick)[1], NFT (572090439258088058/Kitty in the City)[1], SOL[0], USD[1.93],
                                      USDT[0.00000192]
07837551                              ETH[.00001199], ETHW[1.31222954], TRX[1], USD[1443.52]                                                                                                                                 Yes

07837559                              USD[0.00]

07837563                              SOL[.03], USDT[1.74181407]

07837582                              ETH[0.44859992], ETHW[0.44859992], SOL[.00000001], USD[0.00]

07837584                              BRZ[2], CUSDT[1], DOGE[1], LINK[20.56334402], MATIC[210.17973512], SHIB[9338869.07716662], SOL[3.61164283], SUSHI[98.93569382], TRX[3], USD[0.40]                                      Yes

07837586                              USD[580.12]                                                                                                                                                                            Yes

07837587                              BTC[0], ETH[.00000001], ETHW[0], MATIC[.00000001], NFT (302456516478821336/FTX Crypto Cup 2022 Key #532)[1], NFT (415172614871117175/APEFUEL by Almond Breeze #760)[1], USD[0.00],     Yes
                                      USDT[0]
07837589                              DOGE[0], GRT[0], SOL[0], UNI[0], USD[0.00], USDT[0]
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                                                                                                                                         Customer Claims                                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07837590                           BTC[.1118641], ETH[7.05696367], ETHW[7.05696366], GRT[3461.985], SOL[.00063], SUSHI[.185], UNI[142.0578], USD[8.89], USDT[6.83182589]

07837605                           NFT (301802635823835614/BitCoin Art #13)[1], NFT (335145627824972176/Sollama #1)[1], NFT (346424990369931787/Art of BitCoin #6)[1], NFT (348795586257904895/Dreams of the future #2)[1],
                                   NFT (350840697157361937/BitCoin Art #10)[1], NFT (359460075972648326/BitCoin Art #15)[1], NFT (428814498622817402/Bitcoin Art #4)[1], NFT (459253502343285949/For Awhile, Maybe
                                   Forever)[1], NFT (488522399599132905/BitCoin Art #12)[1], NFT (514866690507372633/Dreams of success)[1], NFT (550501297596072592/BitCoin Art #14)[1], NFT (575884863589855555/BitCoin Art
                                   #11)[1], USD[40.34]
07837606                           ETH[.00000001], ETHW[0], SOL[0], USD[0.59]

07837616                           SOL[0], USD[7614.41]

07837618                           SOL[0.00000052], USD[0.00], USDT[0.00000100]

07837625                           USD[0.00]

07837627                           BTC[0], ETH[0], ETHW[0], USD[0.00]

07837628                           SOL[0]

07837629                           SOL[.00000001], USD[0.00]

07837649                           USD[0.00]

07837652                           NFT (315324324337728753/SolDad #4138)[1], NFT (319571555319331548/SolDad #2171)[1], NFT (393986204514461300/SolDad #649)[1], NFT (443616648135314354/SolDad #5073)[1], NFT
                                   (550518343576599770/SolDad #2967)[1], NFT (550760714674015958/SolDad #4443)[1]
07837658                           USD[2.04]

07837664                           BAT[1.01655549], BTC[.01593856], CUSDT[1], ETH[.2621619], ETHW[.26196831], TRX[1], USD[0.00]                                                                                                Yes

07837666                           DOGE[1], NFT (322370275259539190/Miami Ticket Stub #54)[1], NFT (338529858164915908/NFT BZL 2021 #13)[1], NFT (350507984139352291/FTX Crypto Cup 2022 Key #3276)[1], NFT                    Yes
                                   (412532007350359062/Barcelona Ticket Stub #1363)[1], NFT (416378787584511929/Entrance Voucher #1619)[1], NFT (486980384020494200/FTX - Off The Grid Miami #5877)[1], USD[0.25]
07837673                           USD[0.00], USDT[99.77]

07837676                           USD[0.86], USDT[0.00000001]

07837680                           ETH[.01], ETHW[.01], USDT[0.00000256]

07837686                           BRZ[2], BTC[.01461838], CUSDT[10], ETH[.05174186], ETHW[.0510989], LTC[.31358206], SHIB[3], SOL[.07264372], TRX[1], USD[0.07]                                                               Yes

07837691                           SOL[33.61543], USD[5.69]

07837695                           SOL[.1]

07837696                           ETH[0], SOL[0.00000001], USD[0.00]

07837698                           USD[0.01]                                                                                                                                                                                   Yes

07837703                           BTC[0], SOL[0.00000001], USD[0.00]

07837707                           USD[2.27]                                                                                                                                                                                   Yes

07837716                           DOGE[0], USD[0.00]

07837747                           USDT[.9660348]

07837752                           USD[10.95]                                                                                                                                                                                  Yes

07837757                           CUSDT[5], DOGE[1], TRX[2], USD[24.46]

07837758                           BTC[.01068848], CUSDT[3], DOGE[169.61637282], ETH[.10004836], ETHW[.10004836], SHIB[695216.90767519], SOL[4.81024091], TRX[3], USD[0.00]

07837759                           USD[0.48], USDT[0]

07837761                           ETH[.00000001], ETHW[0], SOL[0]

07837767                           AVAX[100.24410372], BTC[2.35152851], ETHW[1.29062796], SOL[3.30000000], USD[0.00]

07837777                           AVAX[1.66240135], CUSDT[3], NFT (510141522392082932/Boat Slips #2)[1], SHIB[2], SOL[2.27619203], TRX[1], USD[0.00]

07837778                           ETH[.00000001], NFT (434097385350445364/Australia Ticket Stub #233)[1], USD[0.00]

07837780                           ETH[.25], ETHW[.25], LINK[30], MATIC[600], SOL[37.73341949], UNI[39.96], USD[153.59]

07837786                           BF_POINT[100], BRZ[1], BTC[.26905113], CUSDT[1], DOGE[6], ETH[1.49440425], ETHW[1.49377661], SHIB[4], SOL[1.73397656], TRX[2], USD[19.33], USDT[1.05404904]                                 Yes

07837788                           SOL[.00004633], USD[0.00]                                                                                                                                                                   Yes

07837791                           USD[2.01]

07837792                           BTC[.0042], USDT[1.460952]

07837803                           CUSDT[1], DOGE[1], SOL[.15163903], USD[0.00]

07837806                           USD[0.00]

07837807                           USDT[.55932759]

07837813                           BF_POINT[200], BRZ[1], BTC[.22813668], CUSDT[3], ETH[1.41549078], ETHW[2.51143089], SHIB[3], SOL[3.01451896], TRX[2], USD[0.00], USDT[0]                                                    Yes

07837815                           USD[0.00]

07837818                           BRZ[8], CUSDT[6], DOGE[8], SHIB[4], TRX[11], USD[0.00], USDT[1]

07837831                           ETH[.175], ETHW[.175], USDT[1.3135142]

07837833                           USD[1.02]

07837839                           USD[0.00]

07837849                           USD[0.00], USDT[0.00000295]

07837854                           BRZ[7.17200159], BTC[.00000063], CUSDT[25], DOGE[1], ETH[.0000689], LINK[.00317576], NFT (347136984157538874/Chitto #9)[1], NFT (354353293131119125/Lazy Animal Polly)[1], NFT              Yes
                                   (354732687953670757/Pigo)[1], NFT (363312761496957460/Surreal World #23)[1], NFT (453434503976720411/Crypto Avatar Art #8)[1], NFT (476797613222518682/Penguin Polly)[1], NFT
                                   (482313013460070112/Crypto Avatar Art #5)[1], NFT (495859787689480490/Vox Robo #11)[1], NFT (500788238598113726/Game #8)[1], NFT (504591422262238577/Modern Figure)[1], NFT
                                   (556780835729442297/Ciri Polygon 3D Portre #2)[1], SHIB[25], SOL[.025], UNI[.00036803], USD[415.41]
07837856                           DOGE[1], GRT[1.00367791], SOL[7.05298426], USD[0.00]                                                                                                                                        Yes

07837858                           USD[0.09], USDT[0.00954758]

07837862                           USD[0.78]

07837870                           DOGE[.355], ETH[.00053885], ETHW[0.00053884], LINK[.0835], SHIB[65000], SOL[.00537], USD[88.12]

07837884                           BTC[0.00989059], ETH[.0619411], ETHW[.0619411], LINK[6.493825], TRX[1602], USD[1.30]
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                                                                                                                                         Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07837885                           BRZ[1], BTC[.03270224], CUSDT[2], DOGE[3], ETH[.15437752], ETHW[.15365417], GRT[1.00283507], LTC[4.10206536], SHIB[16090225.58054111], SOL[29.11694178], TRX[9669.20893369],     Yes
                                   USD[509.33]
07837886                           ETH[.00000001], SOL[0]

07837891                           USD[1.51]

07837902                           LTC[.00297339], SOL[.00058836], USD[0.64], USDT[32.79380818]

07837910                           ETH[0], USD[0.00]

07837916                           DOGE[20.45545771], ETH[.00368515], ETHW[.00364411], USD[0.00]                                                                                                                    Yes

07837926                           BRZ[1], BTC[.0005259], CUSDT[7.5], DOGE[308.05316648], ETH[.00600565], ETHW[.00593725], LINK[2.09910262], SHIB[432299.81938487], SOL[.39442841], TRX[215.13475399], USD[0.04],   Yes
                                   USDT[16.2927618]
07837932                           NFT (460860060563043266/Entrance Voucher #3806)[1], SOL[0], USD[0.55]

07837937                           CUSDT[5], DOGE[1], SOL[5.80294317], TRX[1], USD[1556.43]                                                                                                                         Yes

07837944                           BTC[0.00007308], SOL[.01]

07837946                           CUSDT[3], SOL[0], USD[0.00]

07837948                           USD[0.26]                                                                                                                                                                        Yes

07837952                           USD[1.08]

07837957                           DOGE[3.999], TRX[.000001], USDT[1.01554653]

07837961                           ETH[0], SOL[0], USD[0.00]

07837965                           USD[146.82]

07837972                           BTC[.0146341], DOGE[9413.38598], ETHW[2.615382], MATIC[1091.93214511], SOL[29.07225], USD[51.43]

07837976                           BRZ[1], CUSDT[1], DOGE[1], USD[0.55]                                                                                                                                             Yes

07837979                           DAI[0], GRT[0], USD[0.00]

07837986                           USD[20.00]

07837991                           BTC[0], USD[0.00]

07837992                           ETH[0], TRX[.000001], USD[0.00], USDT[0.00000079]

07837993                           USD[1.97], USDT[0]                                                                                                                                                               Yes

07837999                           NFT (479918783976181124/Warriors 75th Anniversary Icon Edition Diamond #684)[1]

07838003                           USD[0.00]

07838006                           SHIB[1], USD[0.01]                                                                                                                                                               Yes

07838007                           DOGE[1], TRX[2], USD[0.00]

07838011                           SOL[0.00053251], USDT[0]

07838012                           USD[0.00], USDT[0.00000001]

07838015                           USD[0.00]                                                                                                                                                                        Yes

07838018                           SOL[3.37663], USD[1.43]

07838020                           USDT[0.00037689]

07838035                           CUSDT[2], DOGE[1], TRX[2], USD[0.01]

07838036                           AAVE[.009055], TRX[.000001], USD[0.00], USDT[0]

07838039                           SOL[.00995], USD[0.00], USDT[0]

07838041                           USD[2.92]

07838054                           AVAX[0], ETH[0], USD[0.00]

07838059                           USD[0.00]

07838062                           LTC[0.01215012], NFT (336649427831979730/Entrance Voucher #858)[1], USD[0.00]                                                                                                    Yes

07838065                           KSHIB[0], SHIB[0], USD[0.15]                                                                                                                                                     Yes

07838073                           BTC[0], USD[0.00]

07838084                           ETH[1.71721151], SOL[.00590991], USD[1.64]

07838093                           ETH[.000538], ETHW[.000538], USD[48.36]

07838098                           CUSDT[1], GRT[1013.26843933], NFT (486189308072286300/SBF Hair & Signature #1 #74)[1], SHIB[1], USD[0.00], USDT[11.73970996]

07838103                           BTC[.00046383], CUSDT[1], USD[0.00]                                                                                                                                              Yes

07838104                           USD[0.95]

07838107                           ETHW[0], USD[0.00], USDT[0]                                                                                                                                                      Yes

07838108                           BTC[.07037594], ETH[0], ETHW[0], GRT[0], NFT (469009083359925397/Sunset #115)[1], SHIB[1], SOL[0], USD[0.00], USDT[0]                                                            Yes

07838121                           CUSDT[154.19200287], USD[-1.02], USDT[.19382215]                                                                                                                                 Yes

07838123                           BTC[.69356926], ETH[9.99996037], ETHW[10.10583113], SOL[.00000001], USD[2.32], USDT[0]

07838125                           USD[75.00]

07838127                           SOL[0]

07838136                           SOL[.00680245], USD[0.00], USDT[0]

07838152                           NFT (317052354020761518/GalaxyKoalas # 569)[1]

07838167                           USD[0.01]                                                                                                                                                                        Yes

07838174                           SOL[0]

07838178                           USD[0.00]

07838186                           BRZ[1.08456255], ETH[.00014421], ETHW[.00014421], SOL[.000002], USD[0.00]                                                                                                        Yes
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                                                                                                                                          Customer Claims                                                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07838188                           CUSDT[1], USD[0.00]                                                                                                                                                                     Yes

07838190                           SOL[0.18003911]

07838195                           USD[0.00]

07838218                           USDT[0.00000117]

07838225                           BRZ[1], CUSDT[3], DOGE[1], ETH[.38637452], ETHW[.38621214], SHIB[15857932.15908127], SOL[4.3458248], SUSHI[11.12135792], TRX[2742.43355529], USD[1.78]                                  Yes

07838231                           BTC[.02122372], CUSDT[1], EUR[0.00]

07838236                           SOL[.65476553]

07838239                           SOL[.67], USD[3.72]

07838255                           ETH[.00000001], ETHW[0], NFT (293535455288790666/The 2974 Collection #2774)[1], NFT (436203398861457066/2974 Floyd Norman - CLE 1-0107)[1], NFT (520022589086915891/Birthday Cake
                                   #2774)[1], SOL[0], USD[134.56], USDT[0]
07838268                           USDT[0.00000030]

07838283                           USD[0.00]                                                                                                                                                                               Yes

07838290                           CUSDT[1], DOGE[1], TRX[2], USD[0.01]                                                                                                                                                    Yes

07838302                           USD[0.00]

07838307                           CUSDT[2], MATIC[.00948362], TRX[1], USD[0.01]                                                                                                                                           Yes

07838313                           USD[0.00], USDT[0]

07838315                           UNI[110.92528539]                                                                                                                                                                       Yes

07838322                           SOL[.00000001], USD[0.00], USDT[0]

07838348                           USD[0.00]

07838369                           SOL[2.42757], USDT[2.366689]

07838371                           SOL[.03453264], USDT[0.00000141]

07838384                           SOL[.00000001], USD[4.80]

07838392                           ETH[0], ETHW[0], USDT[0.00001372]

07838396                           SOL[1.8], USD[0.14]

07838399                           USD[163.11]                                                                                                                                                                             Yes

07838406                           USD[8.68]

07838410                           CUSDT[2], ETH[.17904454], ETHW[.17879997], USD[0.11]                                                                                                                                    Yes

07838419                           ETH[.00000001], ETHW[0], SHIB[4099900], SOL[0], USD[1.66]

07838422                           NFT (487983029576139110/SALT New York 2022 #86)[1]

07838426                           USD[9.00]

07838432                           BCH[0], BTC[0], CUSDT[0], DOGE[0], ETH[0.52876785], ETHW[0.51426219], LINK[17.32195050], LTC[2.43907935], MATIC[0], SHIB[3536105.43058395], SOL[1.30172855], TRX[.000005], USD[0.00],                    ETH[.521458], LINK[17.310985], YFI[.015305]
                                   USDT[0.00000001], YFI[0.01532741]
07838435                           CUSDT[16], LINK[0], LTC[0.00000120], TRX[4], USD[0.29], USDT[0.11148792]                                                                                                                Yes

07838437                           TRX[.000001]

07838438                           BTC[0], DOGE[4], ETH[0], TRX[1], USD[0.00], USDT[1.07747486]                                                                                                                            Yes

07838453                           BTC[0], USD[0.01]

07838463                           NFT (482167671859504661/Okay Bear #4813)[1], NFT (567372038724848418/Megalodon Rogue Shark Tooth)[1]

07838464                           BTC[0], SOL[0]

07838471                           USD[0.00]

07838474                           USD[1.57], USDT[.000037]

07838477                           CUSDT[4], SOL[0], TRX[1], USD[1.15]                                                                                                                                                     Yes

07838479                           USD[2.90]

07838487                           LTC[.00125733], USD[0.00]

07838489                           USD[0.00]

07838491                           BTC[0], ETHW[.91621851], SHIB[4], USD[5193.73]                                                                                                                                          Yes

07838494                           NFT (304947084282209851/AxoMaru 蝾丸 is Annoyed!)[1], NFT (338554996615592532/AxoMaru 蝾丸 is Happy!)[1], NFT (470949060180314348/AxoMaru 蝾丸 is Sleeping)[1], NFT
                                   (504666191864163420/AxoMaru 蝾丸 is Grateful!)[1], USD[60.00]
07838502                           BTC[.096], ETH[3.613533], ETHW[3.613533], SOL[128.60066], USD[751.71]

07838510                           USD[0.00]

07838512                           USD[0.00]

07838534                           USD[21.92]                                                                                                                                                                              Yes

07838543                           BTC[0], SOL[.00218387], USD[0.00]

07838551                           NFT (303332209159819738/AquaMaritime Insights #6)[1], NFT (323010089770052091/AquaMaritime Insights #7)[1], NFT (325626701347717525/The Alaska Boat)[1], NFT
                                   (370567512222636305/Labrador Ferry)[1], NFT (398623421298999687/Oil Tanker)[1], NFT (402423965702645234/AquaMaritime Insights #5)[1], NFT (408783576760755510/DSB ship)[1], NFT
                                   (426192688987664028/DRONNING INGRID)[1], NFT (520891535882465450/AquaMaritime Insights)[1], NFT (554168374140578135/AquaMaritime Insights #4)[1], NFT
                                   (556219131154197201/AquaMaritime Insights #2)[1], NFT (565503416851815014/AquaMaritime Insights #3)[1], USD[8.03]
07838553                           BRZ[575.89425929], CUSDT[4883.02973827], DOGE[3], SHIB[4376582.07882923], SUSHI[74.54111262], USD[0.00]                                                                                 Yes

07838556                           ETHW[31.93]

07838570                           NFT (550307609513690744/Serum Surfers X Crypto Bahamas #74)[1], SOL[.01]

07838575                           USD[0.21]                                                                                                                                                                               Yes

07838578                           BCH[.000885], BTC[0.00000292], PAXG[.0000983], SOL[.01], USD[0.24], USDT[.06794355]

07838594                           USDT[0]
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07838605                              ETHW[.36], USD[0.01]

07838607                              SOL[0]

07838611       Contingent, Disputed   USD[0.00], USDT[0.00031680]

07838615                              USD[0.00]

07838626                              USD[0.00]

07838631                              USD[0.04]                                                                                                                                                                                Yes

07838640                              DOGE[2], SOL[44.47228431], USD[0.00]                                                                                                                                                     Yes

07838642                              DOGE[1951], SOL[.00073223], USDT[1.60150486]

07838673                              USD[0.89]

07838674                              NFT (344174367761815255/Miami Grand Prix 2022 - ID: B9B27211)[1]

07838686                              SHIB[99900], SOL[.00181958], USD[0.05]

07838704                              BF_POINT[200]

07838712                              BTC[.00000002], CUSDT[1], SOL[2.86685548], TRX[0.01184485], USD[0.00], USDT[1.07299772]                                                                                                  Yes

07838733                              BTC[.00004547], ETH[.00056774], ETHW[.00056774], USD[2687.78]

07838735                              BTC[.0003], ETH[.000756], ETHW[.000756], USD[1.65]

07838744       Contingent, Disputed   USD[2.94]

07838765                              NFT (307607253002662163/Series 1: Capitals #510)[1], NFT (357811014914166347/Series 1: Wizards #482)[1]

07838767                              ETH[.00000001], ETHW[0]

07838784                              SHIB[3.02292075], USD[0.00]

07838786                              CUSDT[3], DOGE[1], ETH[.14679116], ETHW[.14590749], USD[161.54]                                                                                                                          Yes

07838798                              SOL[0]

07838800                              BTC[0.00001665], USD[77.17]

07838805                              LTC[.00000001], NFT (308070645797165013/Barcelona Ticket Stub #873)[1], NFT (343723042136010024/The Hill by FTX #8491)[1], NFT (472258401324798210/FTX - Off The Grid Miami #3139)[1],   Yes
                                      NFT (546984705334909499/Humpty Dumpty #210)[1], USD[0.00]
07838811                              USD[0.01], USDT[0]

07838816                              CUSDT[3], DOGE[3], TRX[1], USD[0.00]                                                                                                                                                     Yes

07838826                              USD[0.00], USDT[0]

07838832                              BAT[2.99], BTC[.0383534], GRT[.85], MATIC[9.83], USD[5.02]

07838835                              USD[2.27]

07838839                              BTC[.00024327], ETH[.0512753], ETHW[0.05063841]                                                                                                                                          Yes

07838848                              BTC[0], SOL[0], USD[0.00], USDT[0.00000131]

07838865                              USD[500.01]

07838867                              SOL[10]

07838869                              BAT[.78034182], BTC[0.00007024], ETH[.000705], USD[0.00], USDT[0.00630000]

07838877                              USD[896.95], USDT[0]

07838878                              USD[0.58]

07838883                              BAT[1.00212403], BRZ[1], DOGE[1], GRT[3.02121492], TRX[3], USD[0.01]                                                                                                                     Yes

07838894                              ETH[.0001415], NEAR[.0008], SOL[.007699], USD[0.01]

07838904                              BAT[8.39633789], BRZ[7.23793269], BTC[0], CUSDT[2], DOGE[10.02267403], GRT[7.18836561], LINK[.0000126], MATIC[2.0601185], SHIB[1], SOL[0], TRX[6], UNI[1.04058358], USD[0.00],           Yes
                                      USDT[6.28382229]
07838908                              CUSDT[2], TRX[.00076499], USD[0.01]                                                                                                                                                      Yes

07838912                              USD[0.00]

07838922                              USD[0.00]

07838930                              NFT (353619208692805575/Hall of Fantasy League #304)[1]

07838944                              BTC[0], SOL[0], USD[0.00], USDT[0]

07838949                              ETHW[.00018798], NFT (425175761809074383/2974 Floyd Norman - CLE 5-0045)[1], USD[0.00]

07838954                              CUSDT[1], USD[0.00], USDT[11.47855630]                                                                                                                                                   Yes

07838977                              BTC[.00019366]

07838980                              NFT (418094674961345562/Imola Ticket Stub #571)[1], USD[40.25]

07838988                              NFT (337619677861217498/The tiitans above)[1], USD[6.30]

07838991                              SOL[2.77], USD[1.97]

07838993                              CUSDT[48.75869003], DOGE[44.60592722], USD[0.00]                                                                                                                                         Yes

07838996                              BAT[1], BRZ[1], SHIB[1], TRX[.011247], USD[0.00], USDT[0.00000001]

07838998                              USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07839005                              NFT (293360469363986641/NEO-NINJA MINT TICKET)[1], NFT (294630176979607121/NEO-NINJA MINT TICKET)[1], NFT (295674474954122181/NEO-NINJA MINT TICKET)[1], NFT
                                      (314334968956451279/NEO-NINJA MINT TICKET)[1], NFT (315530690929341080/NEO-NINJA MINT TICKET)[1], NFT (322939130293029509/NEO-NINJA MINT TICKET)[1], NFT
                                      (331473707574221174/NEO-NINJA MINT TICKET)[1], NFT (344706256009406320/NEO-NINJA MINT TICKET)[1], NFT (352960557013770928/NEO-NINJA MINT TICKET)[1], NFT
                                      (357514295697473716/NEO-NINJA MINT TICKET)[1], NFT (358437824912206101/NEO-NINJA MINT TICKET)[1], NFT (359879756360769837/NEO-NINJA MINT TICKET)[1], NFT
                                      (363312449752325721/NEO-NINJA MINT TICKET)[1], NFT (364286862771387778/Voidmatter Vial)[1], NFT (376653919534603594/NEO-NINJA MINT TICKET)[1], NFT (382351060098534294/NEO-
                                      NINJA MINT TICKET)[1], NFT (389752382271722395/NEO-NINJA MINT TICKET)[1], NFT (391623813655562559/NEO-NINJA MINT TICKET)[1], NFT (397738228172873237/NEO-NINJA MINT
                                      TICKET)[1], NFT (410964408385179250/NEO-NINJA MINT TICKET)[1], NFT (412001837250876375/NEO-NINJA MINT TICKET)[1], NFT (412238461163587602/NEO-NINJA MINT TICKET)[1], NFT
                                      (419895079732814781/NEO-NINJA MINT TICKET)[1], NFT (420881090461656501/NEO-NINJA MINT TICKET)[1], NFT (424000015932391762/NEO-NINJA MINT TICKET)[1], NFT
                                      (425803284206545182/NEO-NINJA MINT TICKET)[1], NFT (434905662522405390/NEO-NINJA MINT TICKET)[1], NFT (438724943440611203/NEO-NINJA MINT TICKET)[1], NFT
                                      (440917358269029582/NEO-NINJA MINT TICKET)[1], NFT (442219434481306740/NEO-NINJA MINT TICKET)[1], NFT (442427633548762254/NEO-NINJA MINT TICKET)[1], NFT
                                      (447582233465542023/NEO-NINJA MINT TICKET)[1], NFT (448113930292832383/NEO-NINJA MINT TICKET)[1], NFT (452810096186964532/NEO-NINJA MINT TICKET)[1], NFT
                                      (454256799466189408/NEO-NINJA MINT TICKET)[1], NFT (460910266758339451/NEO-NINJA MINT TICKET)[1], NFT (461133614828195048/NEO-NINJA MINT TICKET)[1], NFT
                                      (464056454035342224/NEO-NINJA MINT TICKET)[1], NFT (468500167824953045/NEO-NINJA MINT TICKET)[1], NFT (469020375262505759/NEO-NINJA MINT TICKET)[1], NFT
                                      (469503166155719537/NEO-NINJA MINT TICKET)[1], NFT (479890567428229333/NEO-NINJA MINT TICKET)[1], NFT (482282115182562965/NEO-NINJA MINT TICKET)[1], NFT
                                      (491603643468139200/NEO-NINJA MINT TICKET)[1], NFT (494576724302258614/NEO-NINJA MINT TICKET)[1], NFT (503158864015666392/NEO-NINJA MINT TICKET)[1], NFT
                                      (504543454493206631/NEO-NINJA MINT TICKET)[1], NFT (507084203001609594/NEO-NINJA MINT TICKET)[1], NFT (513983099755876570/NEO-NINJA MINT TICKET)[1], NFT
                                      (514781098617034183/NEO-NINJA MINT TICKET)[1], NFT (515029943257611817/NEO-NINJA MINT TICKET)[1], NFT (522833787743011509/NEO-NINJA MINT TICKET)[1], NFT
                                      (527041148564130924/NEO-NINJA MINT TICKET)[1], NFT (530611025955068474/NEO-NINJA MINT TICKET)[1], NFT (532377772425980058/NEO-NINJA MINT TICKET)[1], NFT
                                      (538498445565790206/NEO-NINJA MINT TICKET)[1], NFT (539136181642045803/NEO-NINJA MINT TICKET)[1], NFT (541099508555690959/NEO-NINJA MINT TICKET)[1], NFT
                                      (543639045648663909/NEO-NINJA MINT TICKET)[1], NFT (547837864281290528/NEO-NINJA MINT TICKET)[1], NFT (549914706001105620/NEO-NINJA MINT TICKET)[1], NFT
                                      (550815168735616100/NEO-NINJA MINT TICKET)[1], NFT (554567180345032033/NEO-NINJA MINT TICKET)[1], NFT (556859828996138256/NEO-NINJA MINT TICKET)[1], NFT
                                      (560390035206091754/NEO-NINJA MINT TICKET)[1], NFT (567781574376868635/NEO-NINJA MINT TICKET)[1], NFT (568216773714981623/NEO-NINJA MINT TICKET)[1], NFT
                                      (568334702401608437/NEO-NINJA MINT TICKET)[1], NFT (568674413335019079/NEO-NINJA MINT TICKET)[1], NFT (572393428769793695/NEO-NINJA MINT TICKET)[1]

07839010                              USD[0.10]                                                                                                                                                                        Yes

07839012                              ETH[.000895], ETHW[.000895], SOL[.00594076]

07839014                              USD[0.09]

07839020                              ETHW[5.01399114], SOL[0], USD[0.00], USDT[0]

07839026                              USD[0.00], USDT[0.00042425]

07839035                              USD[0.41], USDT[0]

07839036                              USD[0.00]

07839048                              DOGE[1], ETH[.03679862], ETHW[.03634377], SOL[.38847316], TRX[1], USD[0.00]                                                                                                      Yes

07839049                              USD[0.00], USDT[0]

07839059                              USD[2.87]

07839061                              BRZ[1], NEAR[.00009726], SHIB[1], USD[0.00]                                                                                                                                      Yes

07839064                              SOL[0], USD[0.00]                                                                                                                                                                Yes

07839067                              USD[0.00]

07839079                              BRZ[3], BTC[.02285162], CUSDT[10], DOGE[3], ETH[.32706777], ETHW[.32706777], TRX[4], USD[0.00]

07839091                              AAVE[.44394232], BAT[258.15233612], BCH[.52467005], BRZ[1], BTC[.00011858], CUSDT[5], DOGE[109.34198515], ETH[.11829137], ETHW[.11714754], GRT[543.80725326], LINK[5.5402273],   Yes
                                      LTC[1.15071683], MKR[.06989299], UNI[5.71090479], USD[0.00], YFI[.00368684]
07839102                              CUSDT[1], DOGE[1], ETH[.0514476], ETHW[.05080705], USD[0.00]                                                                                                                     Yes

07839107                              USD[74.91]

07839108                              BRZ[1], CUSDT[6], TRX[.00957753], USD[0.00]                                                                                                                                      Yes

07839110                              USD[0.00]

07839113                              BTC[.0031242]

07839122                              BF_POINT[200], BTC[.05351135], DOGE[1], ETH[1.67758421], ETHW[1.67687957], SHIB[4], TRX[1], USD[0.00]                                                                            Yes

07839129                              NFT (439098751987428542/Entrance Voucher #3147)[1], USD[0.00]

07839135                              USD[0.01]

07839137                              DOGE[0], SOL[0], USD[0.00]

07839138                              SOL[0.00179062], USD[0.00]                                                                                                                                                       Yes

07839141                              DOGE[549.05029765], ETH[0], NFT (332492418694258019/Romeo #16)[1], NFT (362845711530409198/Entrance Voucher #2292)[1], SHIB[39196.18871415], SOL[.00012741], TRX[.00712169],     Yes
                                      USD[0.00], USDT[0]
07839142                              DOGE[17.23886916], SHIB[1], TRX[2], USD[0.01], USDT[0]                                                                                                                           Yes

07839148                              BTC[.00000444], SOL[.07730943], USD[0.00]                                                                                                                                        Yes

07839149                              USD[0.00]

07839153       Contingent, Disputed   USD[0.00]

07839168                              NFT (327005089540396333/Entrance Voucher #4037)[1]                                                                                                                               Yes

07839177                              USD[0.00], USDT[98.47541543]

07839178                              BTC[.0005], SOL[.18], TRX[6], USD[0.01]

07839191                              ETH[0], USD[2.02]

07839192                              NFT (464935305647302850/Sun Set #856 (Redeemed))[1], USD[0.01]

07839203                              ETH[.016], ETHW[.016], SHIB[1067988.75362318], USD[2.85]

07839209                              USD[0.00]

07839221                              BTC[0.00000974], USD[0.01]

07839240                              USD[0.00]

07839246                              BAT[1], BRZ[2], DOGE[6], ETHW[.1320384], SHIB[18], TRX[9], USD[9419.80], USDT[3.03627178]                                                                                        Yes

07839248                              CUSDT[1], SOL[0]

07839259                              BTC[1.01800634], ETH[14.58416599], ETHW[14.35372039], SOL[52.87], USD[2874.60]                                                                                                                    BTC[.9], ETH[14], USD[2752.50]
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                                                                                                                                            Customer Claims                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07839260                              BTC[.00006222], ETH[0.00087124], ETHW[0.00087124], MATIC[8.52], SOL[0.00424565], USD[2000.00]

07839271                              NFT (541005983154674453/Hall of Fantasy League #382)[1]

07839278                              DOGE[303.53816576]                                                                                                                                             Yes

07839285                              NFT (470672095889537582/Miami Grand Prix 2022 - ID: EFD4B17C)[1], NFT (543085433793217503/FTX - Off The Grid Miami #2536)[1]

07839299                              SOL[.00000001], USD[0.55]                                                                                                                                      Yes

07839306                              SOL[0]

07839307                              USD[0.00]

07839309                              NFT (518867243607904029/Coachella x FTX Weekend 2 #27536)[1]

07839312                              CUSDT[1], SOL[.56648661], TRX[1], USD[0.02]                                                                                                                    Yes

07839314                              USD[58.60]

07839317                              USD[0.00], USDT[0]

07839319                              BTC[.01864933], USD[0.47]

07839320                              CUSDT[8.67827253], DOGE[1], SOL[1.3731388], TRX[5821.32896874], USD[0.80]                                                                                      Yes

07839324                              USD[0.00]                                                                                                                                                      Yes

07839327                              USD[0.48]

07839335                              BTC[.00006539], SOL[.12000001], USD[44.96]

07839337                              USDT[3.9660004]

07839355                              CUSDT[3], USD[12.58]                                                                                                                                           Yes

07839362                              ETH[.0002087], ETHW[.0002087], TRX[2], USD[0.00]                                                                                                               Yes

07839363       Contingent, Disputed   USD[0.01]

07839366                              SOL[0], USD[0.00]

07839386                              SHIB[5077119.57311991], USD[0.00]                                                                                                                              Yes

07839397                              ETH[.00000001]

07839407                              ETH[.00018348], ETHW[.00061551], USD[0.00]

07839417                              MATIC[0], NEAR[0], USD[0.00], USDT[0.00000012]

07839431                              BAT[1], SOL[0]

07839435                              KSHIB[110], SUSHI[5], USD[0.46]

07839437                              BTC[.0084637], USD[0.00]

07839440                              NFT (430986684977120583/Coachella x FTX Weekend 1 #26236)[1]

07839441                              ALGO[9721.75365], AVAX[.0890675], DOGE[88130.2022], MATIC[5275.98305], SHIB[92904525], SOL[.00020071], TRX[908.57345], USD[7.52], USDT[0.00010676]

07839449                              BTC[0], DOGE[1], SHIB[1], TRX[1], USD[0.00]                                                                                                                    Yes

07839453                              ETH[.000493], ETHW[.000493], SOL[.00537], USD[4586.48]

07839458                              MATIC[490.89570659], USD[473.91]

07839460                              DOGE[0], ETH[.00000001], MATIC[0], NFT (367381159636009853/Entrance Voucher #84)[1], SOL[0], USD[1.69]

07839463                              USDT[.299]

07839470                              SOL[.13739], USD[3.97]

07839472                              USD[0.01]

07839476                              ETH[0], SOL[0], USD[0.00]

07839477                              NFT (359757809853085128/Hall of Fantasy League #350)[1]

07839480                              USD[0.00]

07839481                              NFT (494242905614319255/Hall of Fantasy League #292)[1]

07839488                              AAVE[.00961], BCH[.0184], BTC[.0045], ETH[.000305], ETHW[.000305], LINK[.0071], SOL[.00864], SUSHI[.1135], TRX[19.06], USD[0.58], USDT[2.70048537]

07839489                              NFT (337129522799517414/Hall of Fantasy League #352)[1], NFT (507132688246035333/FTX Crypto Cup 2022 Key #25123)[1]

07839493                              ETH[0], USD[0.00]

07839498                              NFT (312729993575854256/Hall of Fantasy League #250)[1]

07839500                              USD[20.00]

07839501                              BAT[1.01147819], BRZ[1], BTC[.00000015], CUSDT[6], DOGE[1.00404403], ETH[.00000401], ETHW[.43928915], SHIB[2], TRX[6], USD[0.00], USDT[1.08201826]             Yes

07839503                              USD[0.00], USDT[0]

07839506                              SHIB[1], USD[3.94]                                                                                                                                             Yes

07839507                              NFT (389732196640800138/Hall of Fantasy League #333)[1]

07839512                              ETHW[.006], USD[2.01]

07839518                              BCH[0], DOGE[0.90599351], ETH[0], KSHIB[9.8683236], NFT (357441360638435667/Gloom Punk #5656)[1], NFT (380750349092878874/Glitched JungleCats #2448)[1], NFT
                                      (397901718169313769/Fine Art)[1], SOL[7.35454033], USD[0.92], USDT[0.00004661]
07839526                              CUSDT[1], LINK[1.05161964], USD[0.00]                                                                                                                          Yes

07839527                              NFT (466133442386956460/Hall of Fantasy League #369)[1]
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07839531                              ETH[.04995], ETHW[.04995], NFT (294559979042939664/MagicEden Vaults)[1], NFT (311542539402789535/MagicEden Vaults)[1], NFT (321612513529159492/Crypto Cub #7419)[1], NFT
                                      (325190982351783046/The Suites Upgrade Key)[1], NFT (373494397925026156/Crypto Cub #1236)[1], NFT (373657573587006399/Club Suite #3540)[1], NFT (382160399903714726/Crypto Cub
                                      #5542)[1], NFT (389274670065171035/MagicEden Vaults)[1], NFT (421898763499148361/MagicEden Vaults)[1], NFT (423012900033952090/RareDon #2668)[1], NFT (423854776280028967/Crypto
                                      Cub #688)[1], NFT (455689664612618948/Crypto Cub #5526)[1], NFT (515146654799811897/MagicEden Vaults)[1], NFT (523179515689926657/Club Suite #4078)[1], NFT
                                      (531506373208193345/CryptoCub Mutant #2128)[1], NFT (532817631501514765/PeskyPenguins.io)[1], NFT (543761192366502408/Fine Filly #1132)[1], NFT (547650459818393712/Club Suite
                                      #4813)[1], NFT (549857186894190491/Fine Filly #2082)[1], NFT (555888316032366651/Pesky Penguin #6386)[1], NFT (556082712138002471/Fine Filly #4663)[1], NFT (561988647867756636/Pesky
                                      Crystal)[1], NFT (563645824091526976/The Suites Upgrade Key)[1], NFT (569150866725189532/Fine Filly #181)[1]
07839532                              BTC[0], SOL[0], USD[0.00]

07839535                              AAVE[4.97], BTC[0], DOGE[14469], LINK[38.36352], MATIC[450], NFT (369733554311110142/FTX - Off The Grid Miami #2232)[1], SHIB[27274065], SOL[62.01], USD[3.87]

07839538                              NFT (324643870791688616/Hall of Fantasy League #346)[1]

07839539                              USD[1.38]

07839547                              USD[20.00]

07839550                              NFT (336241359511669139/GSW Championship Commemorative Ring)[1], NFT (355871186483728137/Warriors Logo Pin #684 (Redeemed))[1], NFT (415174436124578663/GSW Western Conference
                                      Finals Commemorative Banner #1215)[1], NFT (421997844001597754/GSW Western Conference Finals Commemorative Banner #1216)[1], NFT (449799197329566840/GSW Western Conference
                                      Semifinals Commemorative Ticket #646)[1], USD[520.02]
07839552                              NFT (552548935383533034/Hall of Fantasy League #331)[1]

07839562                              DOGE[1], SOL[.05384509], USD[0.00]

07839565                              NFT (373420762508276015/Hall of Fantasy League #278)[1]

07839568                              NFT (429661828409152939/Hall of Fantasy League #295)[1]

07839576                              AVAX[.01638348], BTC[0], MATIC[0], SOL[0], USD[1238.88], USDT[0]

07839580                              BTC[.00515617], DOGE[1], ETH[.09355865], ETHW[.09251416], SHIB[1], SOL[3.66264454], TRX[1], USD[0.00]                                                                                   Yes

07839581                              NFT (430349542676227296/Hall of Fantasy League #378)[1]

07839591                              NFT (560530724364107233/Hall of Fantasy League #282)[1]

07839593                              BAT[18.90564393], CUSDT[5], MKR[.01628167], USD[0.72]                                                                                                                                   Yes

07839597                              ETH[.00000001], ETHW[0], NFT (367096138051116790/Coachella x FTX Weekend 1 #29587)[1], USD[0.30]

07839598                              ETH[.00000001], SOL[0]

07839613                              SHIB[9192400], USD[3.09]

07839625                              EUR[0.00], USD[6.85], USDT[0]

07839627                              NFT (461920559439777922/Hall of Fantasy League #307)[1]

07839632                              TRX[3846.04930216]                                                                                                                                                                      Yes

07839635                              USD[0.00], USDT[0]

07839638                              SOL[0.27008681], USD[0.81]

07839639                              SOL[3.6411821]

07839643       Contingent, Disputed   USD[1.70]

07839647                              SOL[.00000756]

07839651                              USD[25.00]

07839652       Contingent, Disputed   USD[0.00]

07839654                              USD[0.55]                                                                                                                                                                               Yes

07839659                              USD[383.30]                                                                                                                                                                             Yes

07839666                              BTC[.00003926], USD[0.00]

07839670                              DOGE[1], NEAR[4.59545288], NFT (504692892962901141/Pixaher)[1], SHIB[167807.47386814], TRX[1], USD[0.00], USDT[0]                                                                       Yes

07839682                              NFT (431392568519272130/Hall of Fantasy League #297)[1]

07839696                              ETH[.00013117], ETHW[.00013117], USD[24.07]

07839707                              BAT[1.00559545], CUSDT[5], DOGE[2], ETH[.13047521], ETHW[.12941072], MATIC[34.23420037], NFT (428060787956058738/Coachella x FTX Weekend 1 #23478)[1], SOL[.65059969], TRX[3],          Yes
                                      USD[0.00], USDT[0.00000030]
07839716                              BTC[0], SOL[.0074], USD[0.00], USDT[0]

07839717                              BTC[.0313686], SHIB[57042900], USD[0.80]

07839720                              BAT[1], USDT[0.00000103]

07839724                              BRZ[1], CUSDT[7], DOGE[2], NFT (455235597443288971/Entrance Voucher #2931)[1], TRX[.01092762], USD[0.00]                                                                                Yes

07839728                              BF_POINT[300], BRZ[1], CUSDT[1], DOGE[5.06553045], SOL[6.61825066], TRX[1], USD[101.12]                                                                                                 Yes

07839729                              USD[20.00]

07839731                              BRZ[1], CUSDT[2], USD[0.00]

07839738                              USD[93.42]                                                                                                                                                                              Yes

07839742                              BF_POINT[300], BTC[0.00000003], ETH[0.00000003], ETHW[0.00000151], LINK[0], MATIC[0], NFT (438385430340766769/Bahrain Ticket Stub #1682)[1], NFT (481588690930391064/Entrance Voucher Yes
                                      #2064)[1], SOL[0.00545054], UNI[0], USD[0.07], USDT[0]
07839750                              LTC[.00528506], USD[1.43]

07839758                              SHIB[7100000], SOL[5.998], USD[5.04]

07839763                              ETH[.072], ETHW[.072], SHIB[80814.18782748], USD[0.01]

07839764                              NFT (367951239356818310/Microphone #218)[1]

07839772                              USD[0.06]                                                                                                                                                                               Yes

07839785                              BTC[0], DAI[.00000001], ETH[0], USD[0.00]

07839793                              SOL[.91379836]

07839794                              USD[1.09]
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07839796                              NFT (314836358268585055/Hall of Fantasy League #375)[1]

07839797                              NFT (304105975436327514/DOGO-IN-500 #4849)[1]

07839811                              SOL[0], USD[0.00]

07839814                              ETHW[.00399163], NFT (322895060374609215/Entrance Voucher #3064)[1], NFT (387418926055048261/Founding Frens Lawyer #710)[1], NFT (518212738858840070/Bahrain Ticket Stub #2494)[1],
                                      SOL[4.78951698], USD[0.00]
07839820                              USD[0.00]

07839825                              DOGE[5.01513698], TRX[1], USD[0.00], USDT[0]                                                                                                                                          Yes

07839833                              BF_POINT[200], DOGE[3], ETH[.00001364], ETHW[.00001363], LINK[112.61228904], SHIB[1], USD[6839.07], USDT[0.00002948]                                                                  Yes

07839836                              CUSDT[6], DOGE[4], PAXG[.19850809], SHIB[11], SOL[7.44723864], TRX[3], USD[110.29]                                                                                                    Yes

07839844                              SOL[0], USD[0.00], USDT[0]

07839849                              SOL[1.65236363]

07839850                              GRT[5.51055364], NEAR[.00087743], SOL[.00010144], USD[0.00]                                                                                                                           Yes

07839851                              CUSDT[1], SOL[1.09829277], USD[0.00]                                                                                                                                                  Yes

07839858                              NFT (377215694754311251/Hall of Fantasy League #253)[1]

07839875                              NFT (330689760536377251/Joe Theismann's Playbook: New York Giants vs. Washington - October 20, 1974 #33)[1]                                                                           Yes

07839885                              ETH[.00107764], ETHW[.00107764]

07839887                              BRZ[1], BTC[0], CUSDT[2], TRX[1], USD[0.01]

07839891                              BTC[.00006863], ETH[.00004399], ETHW[.00004399]                                                                                                                                       Yes

07839897                              USD[500.00]

07839905                              USD[1.34]

07839909                              ETH[0], ETHW[0]

07839910                              CUSDT[5], DOGE[1], ETH[.00076137], ETHW[.00076137], SOL[.00000001], USD[0.01]

07839911                              NFT (450569291445336444/apes)[1], SOL[.15], USD[1.69]

07839917                              BAT[1.01650346], BRZ[1], BTC[.00000125], CUSDT[9], DOGE[.00648683], ETH[.00001455], ETHW[1.56583122], SHIB[8], TRX[2], USD[0.07]                                                      Yes

07839919                              USD[0.00]

07839939                              BF_POINT[200]                                                                                                                                                                         Yes

07839951                              USD[0.05]                                                                                                                                                                             Yes

07839955                              NFT (383548217647037981/Hall of Fantasy League #332)[1]

07839959                              USD[0.00]                                                                                                                                                                             Yes

07839962                              BF_POINT[200], CUSDT[2], USD[0.00]                                                                                                                                                    Yes

07839964                              ETHW[.166], USD[0.08]

07839969                              USD[0.01]                                                                                                                                                                             Yes

07839971                              ETH[0], MATIC[0], USD[0.00]

07839972                              USD[1.16]

07839979                              CUSDT[1], TRX[1], USD[0.00]

07839986                              BTC[0], SOL[0.14553989], USD[0.26], USDT[1.38489012]

07840004                              NFT (364788972787594321/Hall of Fantasy League #347)[1]

07840006                              TRX[.000001], USD[2.68]

07840008                              USD[0.00]

07840013                              BAT[1], BRZ[4], CUSDT[2], DOGE[3], SHIB[2], SOL[.00020317], TRX[1], USD[0.00], USDT[1.02543197]                                                                                       Yes

07840015       Contingent, Disputed   USDT[1.97865079]

07840036                              SHIB[3249918.75203119], USD[0.00]

07840038                              BAT[650.83860165], BTC[.00048146], CUSDT[1], DOGE[1], ETH[.01479611], ETHW[.0146173], GRT[54.00923427], UNI[16.27811369]                                                              Yes

07840044                              USD[0.24]

07840062                              BTC[.00000046], DOGE[1], SHIB[.93092165], USD[0.00]                                                                                                                                   Yes

07840065                              BF_POINT[100], USD[0.01]                                                                                                                                                              Yes

07840078                              DOGE[403.26475583], ETH[1.0766161], ETHW[1.0766161], LINK[13.04036228], SOL[.22604796], UNI[4], USD[5.59], USDT[0.00001713]

07840086                              AAVE[1.3824285], BTC[.5654623], ETH[.0290139], ETHW[.0290139], LINK[18.34699], MATIC[577.91], SOL[37.211176], UNI[17.61051], USD[4.87]

07840090                              BTC[.00000001], CUSDT[1], LINK[.00048856], SHIB[12.44889373], SOL[.00004786], SUSHI[.0004991], USD[28.64]                                                                             Yes

07840091                              CUSDT[3], SOL[.06347103], USD[0.00]                                                                                                                                                   Yes

07840093                              BTC[.06767985], ETH[1.06280545], ETHW[1.06234944], GRT[9998.32760151]                                                                                                                 Yes

07840108                              CUSDT[1], TRX[1], USD[0.00]

07840113                              NFT (389459306272891672/FTX - Off The Grid Miami #1911)[1]

07840114                              BRZ[1], CUSDT[9], SHIB[1], SUSHI[2.26421181], TRX[4], USD[2.00]                                                                                                                       Yes

07840119                              ALGO[0], AVAX[0], BTC[0], DOGE[0], ETH[0], ETHW[0], GRT[0], LINK[0], MATIC[0], NFT (342560512121924670/Sigma Shark #2053)[1], NFT (370662565156762160/Barcelona Ticket Stub #6)[1],   Yes
                                      SHIB[0], SOL[0], TRX[0], USD[0.00]
07840129                              BTC[.00180873], USD[0.00]

07840134                              USD[5.48]                                                                                                                                                                             Yes

07840142                              BTC[.01645117], DOGE[2], ETH[.00801981], ETHW[.00801981], SHIB[1], USD[0.00]

07840157                              SOL[0], USD[0.45], USDT[0.00000116]
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                                                                                                                                            Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07840168                              BRZ[1], CUSDT[7], DOGE[2], ETHW[.32490903], SHIB[6], TRX[5], USD[0.00], USDT[1.09507353]                                                                                                  Yes

07840175                              USD[0.83]                                                                                                                                                                                 Yes

07840181                              BTC[0], USD[0.00]

07840183                              NFT (370224068660534878/Careless Cat #1084)[1], NFT (460497056155908795/Careless Cat #288)[1], USD[1.23]

07840195                              NFT (337933082458796858/Microphone #5279)[1]

07840216                              CUSDT[1], USD[2.76]

07840224                              USD[0.00]                                                                                                                                                                                 Yes

07840230                              BF_POINT[300]                                                                                                                                                                             Yes

07840231                              NFT (556841168660091461/Hall of Fantasy League #267)[1]

07840233                              USD[5.82]

07840243                              BTC[0], SOL[.08973734], USD[0.01]

07840247                              BF_POINT[100], BRZ[1], CUSDT[9], ETH[0], ETHW[0], GRT[1.00019173], USD[0.00]                                                                                                              Yes

07840258                              USD[0.34]

07840262                              BTC[.00000002], CUSDT[3.00762614], DOGE[1], LTC[.00000724], USD[0.00]                                                                                                                     Yes

07840271                              BRZ[1], BTC[.01932652], CUSDT[20], DOGE[3161.39848877], ETH[.39220327], ETHW[.39203859], GRT[1.00019173], SHIB[2], SOL[9.37382406], TRX[4], USD[953.70]                                   Yes

07840278                              BF_POINT[400], MATIC[0], NFT (524897976840995213/Bahrain Ticket Stub #165)[1], SHIB[31780.64368981], SOL[0], TRX[1], USD[0.00], USDT[0.00000001]                                          Yes

07840289                              BRZ[1], CUSDT[1], USD[0.01]                                                                                                                                                               Yes

07840291                              USD[0.01]

07840293                              ETH[0], SOL[0], USD[0.00]

07840302                              NFT (333583228810198195/Saudi Arabia Ticket Stub #608)[1]

07840330                              CUSDT[1], USD[0.01]                                                                                                                                                                       Yes

07840337                              SUSHI[0], USD[23.58], USDT[0.00000008]

07840342                              AAVE[.21978], USD[1.62]

07840343                              NEAR[165.2971349], TRX[1], USD[79.59]

07840346                              LINK[1], USD[75.56]

07840353                              USD[0.03]

07840360                              ETHW[.2548839], USD[0.10]

07840364                              ETH[.03194266], ETHW[.03154594], SHIB[1], TRX[1], USD[0.00], USDT[0.00063836]                                                                                                             Yes

07840372                              CUSDT[2], DOGE[2486.99223727], USD[0.00]                                                                                                                                                  Yes

07840387                              BTC[.00020466], DOGE[46.43498869], ETH[.41454262], ETHW[.41436852], LINK[.36971709], LTC[.05906041], SHIB[898.14637875], USD[0.00], USDT[11.98625679]                                     Yes

07840400                              AVAX[0.00050197], BRZ[0.22221978], BTC[0], DAI[0.04287612], ETH[0.00001479], ETHW[0.00001479], MATIC[0.05448198], MKR[0.00002227], PAXG[0.00002225], SOL[0.00222419],
                                      SUSHI[0.03728583], TRX[0.69754106], USD[0.00], YFI[0.00002021]
07840428                              CUSDT[2], DOGE[1], SOL[.31660531], USD[0.00]                                                                                                                                              Yes

07840439                              BTC[.0001593], ETH[.00000001], ETHW[.00000001], SUSHI[.031], USD[9.62]

07840443                              BAT[0.00794400], BRZ[2.00238195], BTC[0], DOGE[3], ETH[0], ETHW[0], MATIC[0], NFT (335928624191620964/Entrance Voucher #3167)[1], SHIB[5], SOL[0], TRX[0], USD[0.00]                      Yes

07840448                              ETHW[.100899], USD[4.12]

07840452                              USD[0.70]                                                                                                                                                                                 Yes

07840489                              BTC[.00569978], CUSDT[54.05125691], DOGE[6.00038359], SHIB[32], SOL[1.26174958], TRX[4], USD[0.42]                                                                                        Yes

07840492                              SOL[0], USD[0.00]

07840495                              GRT[1.0036779], SOL[0]                                                                                                                                                                    Yes

07840499       Contingent, Disputed   USD[0.00]

07840539                              USD[0.12]

07840543                              SOL[1.22877], USD[2.97], USDT[0]

07840554                              BTC[0], USD[0.00]

07840556                              DOGE[1], SOL[10.84935060]                                                                                                                                                                 Yes

07840565                              BTC[0.00008280], DAI[.00000001], ETH[0.00028882], ETHW[0.00028882], MATIC[1.0348], SOL[.00750216], USD[87.19], USDT[0]

07840569                              AAVE[.13988], BAT[23.753], ETH[.006963], ETHW[.006963], GRT[7.764], LINK[5.4915], LTC[.24832], MATIC[29.8], SHIB[391500], SOL[2.428235], TRX[263.495], UNI[.8907], USD[4.17]

07840575                              CUSDT[1], ETH[.00001575], ETHW[.00001575], USD[0.00]                                                                                                                                      Yes

07840597                              BTC[.00007426], USD[0.00]

07840602                              USD[0.00], USDT[0]

07840608                              DOGE[316.09590703], MATIC[38.6388629], SUSHI[6.99724351], TRX[506.13337484], USD[0.00]

07840626                              USD[2.50]

07840629                              CUSDT[3.01237947], NFT (303403083216659598/Enter )[1], NFT (308688384988508755/God of all)[1], NFT (375550808342019881/Facts! #2 of 5)[1], NFT (382801536377071999/Super Cats )[1], NFT   Yes
                                      (435495249785821648/StarwarsFunArt)[1], NFT (472259650133748302/KuArmy #8)[1], NFT (565874419897990298/Skull Love #36)[1], SHIB[74829.21689801], TRX[0], USD[0.00]
07840631                              CUSDT[1], NFT (301099953355571027/2023)[1], NFT (409028239249202367/Earl Campbell's Playbook: Rice vs. Texas - October 1st, 1977 #101)[1], SOL[0], USD[0.00]                              Yes

07840632                              AAVE[14.02299346], BTC[.0617977], ETH[1.02666558], SOL[38.23258026], TRX[1068.25380953], USD[0.03]                                                                                        Yes

07840657                              NFT (412398709279955717/Hall of Fantasy League #256)[1]

07840663                              AAVE[6.01424758], MKR[.73593619], USD[0.92], USDT[0]

07840664                              BAT[3.00846856], CUSDT[2], DOGE[3], GRT[0.00507760], MATIC[0], SUSHI[0], TRX[1], USD[0.01]                                                                                                Yes

07840669                              USD[0.00]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07840670                           USD[0.52]

07840687                           USD[109.30]                                                                                                                                                                            Yes

07840690                           BTC[0], DAI[0], ETH[0], SOL[59.08846003], USD[0.00], USDT[0.00003176]

07840692                           USD[1011.80]

07840694                           AVAX[.00009282], LINK[.00150738], MATIC[.00377013], SOL[.00017608], TRX[.0507815], USD[0.00], USDT[0.00000957]                                                                         Yes

07840699                           USD[548.06]                                                                                                                                                                            Yes

07840709                           USD[0.01]

07840716                           CUSDT[1], ETH[.01644581], ETHW[.01624061], SOL[2.36572114], USD[0.00]                                                                                                                  Yes

07840722                           DOGE[2], USD[0.00]

07840726                           BTC[0], SOL[.00992], USD[0.00], USDT[0.00000902]

07840729                           ETH[.00059469], ETHW[.00059469]

07840732                           NEAR[.00875313], USD[0.00]

07840733                           USD[0.23]

07840748                           NFT (319792340008256952/Hall of Fantasy League #262)[1]

07840752                           USD[0.00]                                                                                                                                                                              Yes

07840758                           AAVE[0], BCH[0], BTC[0], ETH[0], LINK[0], MATIC[0], NFT (488485150799196600/Barcelona Ticket Stub #2317)[1], NFT (522358654932141262/Bahrain Ticket Stub #1606)[1], SHIB[0], SOL[0],   Yes
                                   USD[0.90]
07840760                           BTC[0.00001249]

07840761                           USD[204.58]                                                                                                                                                                            Yes

07840765                           SOL[0.00265679], USD[494.83]

07840776                           CUSDT[3], DOGE[1], SHIB[0], SOL[0], TRX[3], USD[0.00]                                                                                                                                  Yes

07840780                           USD[50.00]

07840786                           BTC[.00007996], TRX[.000013], USDT[1092.71941234]

07840793                           BF_POINT[100], ETH[.00000008], ETHW[.00000008], SHIB[1064935.84250048], USD[0.00], USDT[0.00000001]                                                                                    Yes

07840802                           BAT[124.90643703], BCH[0], BRZ[2], DOGE[2], ETH[0], SOL[89.80606350], SUSHI[0], TRX[1], USD[0.00], USDT[0]                                                                             Yes

07840810                           USDT[1.4164]

07840820                           USD[0.00]

07840825                           BAT[.00075087], BTC[0], ETHW[.2809044], MATIC[.06935044], PAXG[.00000001], USD[0.50]

07840831                           USD[0.26], USDT[0.82936158]

07840832                           AAVE[.00999], BTC[.0010996], ETH[.013992], ETHW[.013992], LINK[.1998], UNI[.1998], USD[0.91]

07840836                           USD[0.00]                                                                                                                                                                              Yes

07840845                           USD[1.36]

07840861                           CUSDT[1], DOGE[466.87324871], USD[0.00]                                                                                                                                                Yes

07840864                           BTC[.0002356], USD[0.00]

07840866                           USD[0.00]

07840881                           CUSDT[2], DOGE[1], USD[0.00]                                                                                                                                                           Yes

07840906                           ETH[0.54307469], ETHW[0.20628574], NFT (327142210293185572/Entrance Voucher #1989)[1], SHIB[549291.55500821], SOL[0], SUSHI[61.90711823], USD[0.00]

07840909                           ETH[.91441693], ETHW[0.91441692], USD[0.00]

07840911                           SOL[21.21014142], USD[101.19]

07840917                           NFT (385412422155472025/The Hill by FTX #3620)[1], NFT (426623972833774815/Entrance Voucher #15084)[1]                                                                                 Yes

07840942                           USD[0.00]

07840946                           USD[0.00], USDT[0.00002371]

07840950                           BTC[0.00005615], USD[0.00]

07840954                           NFT (366431751339673356/Hall of Fantasy League #311)[1]

07840966                           SOL[.00000001]

07840975                           DOGE[1], TRX[1], USD[0.01]

07840980                           BTC[0.00013536]

07840984                           USDT[.036649]                                                                                                                                                                          Yes

07841000                           BTC[0.00003331], LTC[.0070122], SOL[8.3399965], USD[3.05]

07841002                           BRZ[1], CUSDT[21], DOGE[4], SOL[.00000001], TRX[3], USD[0.00], USDT[1.06024712]                                                                                                        Yes

07841010                           AAVE[0], BTC[0.00000036], ETH[0], GRT[0], USD[0.00]                                                                                                                                    Yes

07841011                           AAVE[.00000001], ETH[.3018297], ETHW[5.58032026], LINK[.00000001], YFI[.00000187]                                                                                                      Yes

07841014                           BTC[0], DOGE[1], SOL[0], USD[0.02]                                                                                                                                                     Yes

07841016                           BTC[0], ETH[0], MATIC[0], NFT (426954699622600698/Entrance Voucher #2428)[1], SOL[0], USD[0.00], USDT[0.00000163]

07841021                           DOGE[1], SOL[.71549304], USD[0.00]

07841027                           BTC[.006903]

07841031                           BAT[301.79470727], BRZ[1200.01978561], CUSDT[24], DOGE[443.99566864], GRT[149.47727827], KSHIB[1281.51600267], LINK[4.38513919], MATIC[84.50850603], SHIB[6339537.79943095],           Yes
                                   SUSHI[20.41327238], TRX[1141.87500611], UNI[9.07104087], USD[0.59]
07841038                           AVAX[0], BTC[0], DOGE[0], LTC[0], MATIC[0], SHIB[9], TRX[0.00357356], USD[0.00], USDT[0]                                                                                               Yes

07841040                           BAT[1], BRZ[1], CUSDT[10], DOGE[438.0245876], MATIC[308.9113806], SHIB[3602668.02985572], SOL[5.61659115], TRX[3], USD[52.63], USDT[2.08755569]                                        Yes
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                                                                                                                                         Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07841042                           BTC[.00711157], ETH[.0127741], ETHW[0.01260982]                                                                                                                                           Yes

07841044                           MATIC[5]

07841048                           CUSDT[1], ETH[.03014623], ETHW[.02977567], USD[5.48]                                                                                                                                      Yes

07841052                           NFT (380144351545329482/Coachella x FTX Weekend 2 #20254)[1]                                                                                                                              Yes

07841059                           BRZ[1], CUSDT[3], DOGE[78.9566618], ETHW[.1078342], TRX[1], USD[150.48]                                                                                                                   Yes

07841071                           SOL[.00000001], USD[0.00]                                                                                                                                                                 Yes

07841072                           ETH[0], USD[0.01], USDT[0]

07841080                           SOL[.00000001], USD[0.00], USDT[1.4782836]

07841083                           FTX_EQUITY[0], SOL[.00585839], USD[0.01]

07841084                           SOL[.09513093], USD[1.32]

07841092                           BTC[.00611219], ETH[.60451871], ETHW[.60426479], SOL[2.17041215]                                                                                                                          Yes

07841093                           BTC[.00006375], ETH[.00044354], ETHW[.32644354], MATIC[.90528573], USD[443.75]

07841097                           ETH[.0001078], ETHW[.0001078], NFT (454901823444813797/Entrance Voucher #29476)[1], USD[0.00]

07841099                           USD[1.80]

07841105                           LINK[58.8], USD[0.10]

07841106                           ETH[0], MATIC[0], SOL[0], USD[0.00], USDT[0.00000155]

07841108                           AAVE[.03623406], BCH[.00219509], BTC[.00215863], CUSDT[3], DAI[.99018003], DOGE[8.03763223], ETH[.00047641], ETHW[.00047641], GRT[14.61924791], LINK[.25895334], LTC[.06392037],          Yes
                                   MATIC[5.73107801], SHIB[970571.57568939], SUSHI[.18861947], TRX[1], UNI[.057768], USD[0.99], USDT[7.49367433], YFI[.00009561]
07841121                           BAT[.00138138], BRZ[3], CUSDT[1], GRT[1178.68241697], SHIB[3], TRX[6], USD[0.00], USDT[0]                                                                                                 Yes

07841122                           BTC[.00000221], SOL[0], TRX[1]                                                                                                                                                            Yes

07841123                           CUSDT[3], SOL[4.37511959], TRX[2], USD[0.00], USDT[1.09224682]                                                                                                                            Yes

07841128                           BTC[.1758461], USD[99.49]

07841129                           NFT (400377512703749858/Coachella x FTX Weekend 1 #13171)[1]

07841136                           ETHW[.4755478], USD[0.00]

07841137                           BTC[0.00005285], ETH[.00060476], ETHW[0.00060476], LINK[.04458], SOL[.008262], USD[0.94], USDT[1.38235003]

07841142                           ETHW[.0019509], SHIB[2], USD[0.00]

07841150                           GRT[1202.796], USD[4.17]

07841154                           USD[0.00]

07841162                           ETH[.02280289], ETHW[0.02280289]

07841165                           BTC[0], ETHW[1.97613442], NFT (338515345187302442/Reflection '12 #28)[1], NFT (393065328571776624/Cosmic Creations #851)[1], NFT (465235651514180551/Bahrain Ticket Stub #1937)[1], NFT
                                   (547148934210730557/Colossal Cacti #945)[1], NFT (566316751849017555/Reflection '12 #59)[1], SOL[.00000001], USD[0.00]
07841166                           USD[1.50], USDT[0]

07841170                           BTC[.00000075], CUSDT[9], DOGE[2], TRX[2], USD[0.67]                                                                                                                                      Yes

07841174                           CUSDT[4], LTC[3.19952729], SHIB[12249940.35104969], SOL[2.15372855], TRX[2.01729363], USD[3.54]                                                                                           Yes

07841180                           DOGE[2], ETH[0], TRX[1], USD[0.00]                                                                                                                                                        Yes

07841191                           NFT (563027587609974974/Hall of Fantasy League #287)[1]

07841196                           KSHIB[65.00993699], NFT (298485946328711025/Creator Special Edition)[1], USD[0.00]                                                                                                        Yes

07841197                           BF_POINT[400], DOGE[0], LTC[0], NFT (408029297089067020/Barcelona Ticket Stub #1503)[1], NFT (478596556147485634/Saudi Arabia Ticket Stub #613)[1], USD[0.00]                             Yes

07841199                           DOGE[.01216156], ETH[0], SHIB[1]                                                                                                                                                          Yes

07841200                           SOL[0], USD[0.18]

07841209                           NFT (534217377372008377/#4015)[1], TRX[.000001], USD[5.71]

07841210                           AAVE[.00000988], BAT[1.0073699], DOGE[1], SOL[0], TRX[1]

07841224                           USD[0.00]

07841232                           LTC[.004], USD[1.72]

07841240                           BRZ[2], BTC[.03013791], CUSDT[14], DOGE[6.04714278], ETH[.79558283], ETHW[.79524879], TRX[3], USD[2.35]                                                                                   Yes

07841254                           BAT[0], BTC[0], ETH[.00000001], MATIC[0], SOL[0], USD[0.00], USDT[0.00000941], WBTC[0]

07841268                           BTC[.80548196]                                                                                                                                                                            Yes

07841271                           ETH[0], ETHW[0], NFT (334189129758598123/3340)[1], SOL[0], USD[4544.22]

07841272                           DOGE[2], NFT (296706653809665425/GSW Western Conference Finals Commemorative Banner #1676)[1], NFT (424063843010432283/GSW Western Conference Finals Commemorative Banner                 Yes
                                   #1675)[1], NFT (536886828058798417/Joe Theismann's Playbook: Washington vs. Chicago Bears - September 29, 1985 #37)[1], SOL[2.66127776], USDT[0.00000057]
07841273                           AAVE[.133474], BCH[.48828857], BTC[.01741372], DOGE[522.29710945], ETH[.15080589], ETHW[.14999994], LTC[1.84347777], MATIC[23.44525479], SHIB[1508409.46069342], SOL[6.91012522],         Yes
                                   USD[18.38]
07841280                           NFT (308538858378226404/Australia Ticket Stub #1975)[1]

07841289                           AAVE[0], ALGO[0], BTC[0], LINK[0], SOL[0], USD[0.00], USDT[0.00000001]                                                                                                                    Yes

07841293                           BTC[0], ETH[0], SOL[0], TRX[.000001], USD[0.00], USDT[0]

07841294                           BTC[.00163215], ETH[.01303147], ETHW[.01303147], USD[0.63]

07841299                           USD[19.51]

07841308                           NFT (533231993779096365/Australia Ticket Stub #2279)[1]

07841323                           BTC[.04995], USD[30.00]

07841338                           USD[0.01]                                                                                                                                                                                 Yes

07841341                           MATIC[.1]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07841346                           NFT (326855037005417851/Romeo #739)[1], NFT (472857793403105897/Entrance Voucher #2492)[1]

07841362                           ETHW[.27096389], MATIC[464.58688835], NFT (294345346317513983/Frog #599)[1], NFT (332126284530892083/Cyber Pharmacist 4938)[1], NFT (343638335047662819/Kiddo #7522)[1], NFT            Yes
                                   (369497792728221442/Golden bone pass)[1], NFT (387925540498452734/Cyber Frogs Ramen)[1], NFT (423812148608703942/Rovox)[1], NFT (475978189301886963/Kiddo #1005)[1],
                                   SOL[.00019978], USD[0.02]
07841380                           ETH[8.86887257], ETHW[8.86887257], SOL[52], USD[14387.17]

07841381                           USD[0.00]

07841384                           AAVE[.01], BCH[.014], BTC[0.00045281], ETH[.003], ETHW[.003], GRT[2], LINK[.1], SOL[.02], UNI[.15], USD[0.00], USDT[4.31310486]

07841387                           CUSDT[4], USD[0.15]                                                                                                                                                                     Yes

07841403                           USD[0.49]

07841411                           USD[0.00]

07841419                           ETHW[2.32990859], MATIC[0], SHIB[0], SOL[0], USD[22645.84], USDT[0]                                                                                                                     Yes

07841422                           SOL[1.92891373], USD[15.31]

07841435                           SOL[.65124], USD[0.00]

07841439                           SHIB[1], SOL[2.95554875], USD[8395.95]                                                                                                                                                  Yes

07841441                           USD[2.09]

07841442                           CUSDT[1], ETH[.06162821], ETHW[.06086213], USD[0.04]                                                                                                                                    Yes

07841445                           ETH[.006], ETHW[.1], USD[0.00], USDT[0]

07841455                           DOGE[1], ETH[.2174442], SHIB[1], USD[0.00]                                                                                                                                              Yes

07841458                           NFT (346609082504612092/Lightning In the Raw 5)[1], USD[2.39]                                                                                                                           Yes

07841473                           BTC[.01585102], ETH[.36331079], ETHW[0.36331078], NFT (355485475572291718/Reflector #180)[1], SOL[2.2949], USD[1.60], USDT[0]

07841478                           AAVE[0], BCH[0], BTC[0.00000005], DOGE[0], ETH[0], GRT[0], LINK[0], LTC[0], MATIC[0], SHIB[10000], SOL[0], SUSHI[0], UNI[0], USD[0.00], USDT[0.00010529]

07841483                           CUSDT[2], USD[0.00]                                                                                                                                                                     Yes

07841486                           BTC[0], SOL[.00593762], USD[1.31]

07841489                           USD[250.00]

07841492                           KSHIB[0], SHIB[7166277.27157157], USD[0.00]

07841498                           CUSDT[1], SOL[3.19803767], USD[0.00]                                                                                                                                                    Yes

07841508                           BTC[0.00000737]

07841510                           USD[0.00]

07841515                           BAT[1.0165555], CUSDT[1], ETH[.00000179], ETHW[.00000179], USD[547.44]                                                                                                                  Yes

07841516                           BTC[.01086146], DOGE[0.02122341]                                                                                                                                                        Yes

07841521                           SOL[6.254366], USD[103.15]

07841531                           CUSDT[1], ETH[.03103366], ETHW[.03065062], USD[0.00]                                                                                                                                    Yes

07841532                           BTC[.00000469]                                                                                                                                                                          Yes

07841543                           BTC[0], USD[778.59]                                                                                                                                                                     Yes

07841551                           SOL[194.07088], USD[6.21]

07841554                           TRX[.000001]

07841555                           AUD[0.00], BAT[0], BRZ[0], BTC[0], CAD[0.00], CUSDT[0], DOGE[0], ETH[0.00000001], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], SHIB[0], SUSHI[0], TRX[0.00001800], UNI[0], USD[0.00],   Yes
                                   USDT[0.00000001]
07841559                           USD[0.00], USDT[0]

07841564                           AAVE[.00715735], LINK[.00031837], SHIB[3], SOL[.00623433], USD[0.00]                                                                                                                    Yes

07841567                           BTC[.00000012], NFT (569685550977557373/Saudi Arabia Ticket Stub #1038)[1], USD[0.00], USDT[0]                                                                                          Yes

07841572                           LINK[7.2927], USD[1.23]

07841583                           CUSDT[2], TRX[.000003], USD[0.00]                                                                                                                                                       Yes

07841586                           BTC[0], ETH[0], SOL[0]

07841593                           SOL[.00020885], USD[0.00]

07841602                           SOL[0], USDT[0.00000004]

07841603                           CAD[0.01], ETH[0], SOL[0], USD[0.00], USDT[0]

07841605                           BTC[.00000001], NFT (291056930289447179/Mexico Ticket Stub #2071)[1], NFT (294578969797287954/Japan Ticket Stub #181)[1], NFT (344132827289603488/Saudi Arabia Ticket Stub #1870)[1],   Yes
                                   NFT (455760749399142547/Barcelona Ticket Stub #1703)[1], NFT (494889227764356175/FTX - Off The Grid Miami #2622)[1], NFT (540052859198777794/Austin Ticket Stub #191)[1], SOL[0],
                                   USD[0.00]
07841609                           ETH[.308], USD[0.72]

07841617                           USD[5.03]

07841635                           ALGO[.29780089], BAT[.34787247], BCH[.00000024], BRZ[.48335006], BTC[.000002], DAI[.00010633], DOGE[1.66390753], ETH[.00030576], ETHW[.00000674], GRT[.21203091], KSHIB[24.2399336],    Yes
                                   LINK[.0001976], LTC[.03704358], MKR[.00000192], NEAR[.00019817], NFT (432626621847448008/Entrance Voucher #3500)[1], PAXG[.00000434], SHIB[1.08005218], SOL[.00000073],
                                   SUSHI[.00983637], TRX[.00064374], UNI[.12011873], USD[0.00], USDT[0.08552765], WBTC[.0000002]
07841644                           USD[0.01], USDT[0.00000077]

07841650                           BRZ[1], BTC[0], DAI[0], SHIB[3], SUSHI[0], TRX[1], USD[0.00], USDT[0.00027644]                                                                                                          Yes

07841651                           BTC[.00039017], CUSDT[498.12805804], ETH[.00470879], ETHW[.00465407], SHIB[1], TRX[197.37104702], USD[47.06]                                                                            Yes

07841652                           BRZ[1], BTC[0], CUSDT[2], TRX[1], USD[0.00]                                                                                                                                             Yes

07841655                           USD[2.10]

07841669                           SOL[0]

07841685                           SOL[.69]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07841686                              AVAX[.06891501], USD[0.00], USDT[0.00000001]

07841688                              ETH[0], TRX[.000001], USDT[.9126382]

07841690                              MATIC[2.10333024], SOL[.07272291], USD[0.00]                                                                                                                                           Yes

07841694                              ETH[0.00000001], SOL[0], USD[10.46]

07841705                              BTC[.00010383], GRT[6.29931475], USD[0.00]                                                                                                                                             Yes

07841709                              USD[1.00]

07841714                              BTC[0.10127255], SOL[0], USD[0.00], USDT[0]

07841722       Contingent, Disputed   USD[0.00]

07841726                              USD[0.00]

07841727                              SOL[.00139805], USD[0.00]

07841728                              AAVE[26.4274873], BCH[14.62151351], BTC[.49854924], ETH[.38034573], SOL[.0306069], SUSHI[900.386955], TRX[5.88358], UNI[145.679532], USD[1094.44], USDT[0.00350000], YFI[0.16541337]

07841735                              ETHW[2.74576355]                                                                                                                                                                       Yes

07841740                              SOL[0], USD[0.31]

07841755                              NFT (305945556790867410/Warriors 75th Anniversary City Edition Diamond #517)[1]                                                                                                        Yes

07841767                              CUSDT[8], DOGE[47.13017158], LINK[1.29844989], LTC[.10380985], PAXG[.00670572], SHIB[1], USD[0.00], USDT[104.0637351]                                                                  Yes

07841768                              MATIC[496.99928579], SOL[5.56087456], USD[595.76]

07841773                              SOL[.00208167], USD[0.01]

07841791                              NFT (361828698156726447/Entrance Voucher #29478)[1], SOL[0.00322334], USD[0.00]

07841797       Contingent, Disputed   TRX[.000001], USDT[.359205]

07841806                              BRZ[1], CUSDT[1], USD[0.00]                                                                                                                                                            Yes

07841842                              ETHW[1.28835389]

07841843                              CUSDT[2], SUSHI[27.22647871], USD[0.00], USDT[1.09582381]                                                                                                                              Yes

07841844                              ETH[0], USDT[0.00000221]

07841845       Contingent, Disputed   USD[0.00]

07841849                              GRT[363.70586714], SHIB[2], USD[75.09]                                                                                                                                                 Yes

07841856                              BTC[0], USD[0.00]

07841875                              BAT[271.78805724], CUSDT[1], USD[0.00]                                                                                                                                                 Yes

07841883                              BF_POINT[200], DOGE[1], ETHW[0.02558070], SHIB[1], USD[0.00]                                                                                                                           Yes

07841890                              BTC[.0000173], USD[0.00]

07841904                              USD[0.00]

07841910                              BTC[0]

07841913                              TRX[.00000001]

07841914                              SOL[1.21], USD[100.28]

07841918                              DOGE[.785], SOL[.00908], USD[25.25]

07841927                              BTC[.00266698], ETH[.04478543], ETHW[0.04990477], SHIB[12.48168056], USD[0.00], USDT[0]                                                                                                Yes

07841928                              BTC[0], SUSHI[.47], USDT[0]

07841932                              BRZ[1], CUSDT[4], LINK[4.06348526], NFT (294233731260388285/AI-generated landscape #19)[1], NFT (335801460148028241/Snowy Sunrise)[1], NFT (374544619316733442/Snake)[1], NFT          Yes
                                      (433450861266618713/I’m Sam )[1], NFT (497679109613294567/Good life )[1], NFT (506442096653380437/Magical Eyes)[1], NFT (525062510633296705/AI-generated landscape #6)[1], SHIB[2],
                                      SOL[0], TRX[3], USD[0.00]
07841935                              USD[0.01]                                                                                                                                                                              Yes

07841948                              BTC[0.00010866], ETH[0], USD[0.42]

07841949                              AVAX[0], BRZ[1], BTC[0.00000077], DOGE[1], ETH[0.00001187], ETHW[1.29962973], SHIB[1], SOL[0.00012829], USD[3239.45]

07841956                              USD[0.00]

07841957                              TRX[106.56529567], USD[0.00], USDT[0]

07841958                              BTC[0.00003044], ETH[0.00019846], USD[2433.19]

07841964                              SOL[.00931], USD[10.92]

07841973                              ETH[0], USD[13.34]

07841991                              BTC[.00310803]                                                                                                                                                                         Yes

07841999                              CUSDT[2], USD[0.00]

07842000                              ETHW[.01440854], SHIB[12], TRX[1], USD[229.93]

07842009                              BTC[0], CUSDT[2], ETH[0], USD[0.67]                                                                                                                                                    Yes

07842010                              USD[0.14]

07842013                              NFT (513197398771860197/Cyber Technician 2368)[1], USD[0.00]

07842014                              LTC[0], NFT (555412382251985202/Love usa )[1], USD[182.29], USDT[0]                                                                                                                    Yes

07842020                              BRZ[1], BTC[.08133301], CUSDT[2], DOGE[5], ETH[.61473981], ETHW[.61448175], GRT[1.00018465], MATIC[284.51397864], TRX[1], USD[1302.51]                                                 Yes

07842033                              TRX[.000001]

07842044                              DOGE[2.62246487], SOL[3.04050385], TRX[0], USD[0.00]                                                                                                                                   Yes

07842060                              NFT (540787461999591954/Magic Eden Plus)[1], USD[0.00], USDT[0.00000026]

07842068                              BTC[0], ETHW[.00690177], USD[0.01]                                                                                                                                                     Yes
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                                                                                                                                         Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07842076                           SOL[0]

07842082                           SHIB[2358909.27619103], USD[0.01]

07842092                           NFT (321764581734257673/Eitbit Ape #1386)[1], SOL[.00000001], USD[0.00], USDT[0]                                                                                                           Yes

07842149                           CUSDT[3], ETH[0], SHIB[239182.699989], USD[0.00]                                                                                                                                           Yes

07842150                           ETH[0], USD[0.00]

07842156                           DAI[0.53862691], SOL[.02], USD[0.00], USDT[2.07205202], YFI[0]

07842161                           BTC[0], USD[0.00]

07842168                           CUSDT[1], ETH[.00978614], ETHW[.00966302], USD[0.00]                                                                                                                                       Yes

07842178                           USD[109.61]                                                                                                                                                                                Yes

07842180                           NFT (293073511969319872/Entrance Voucher #2596)[1], USD[0.00], USDT[0]                                                                                                                     Yes

07842195                           SOL[3.77], USD[3.01]

07842196                           AAVE[0], BAT[0], DOGE[0], ETH[0], LINK[0], NFT (343411759044987042/Founders batch #2)[1], NFT (372049372056099013/Founders batch #3)[1], NFT (409115598706014774/Magic Bull )[1],
                                   PAXG[0], SOL[0], SUSHI[0], USD[0.00], USDT[0]
07842202                           SHIB[3257.08147129], USD[0.00]

07842204                           BAT[2.04289665], BRZ[1], CUSDT[1], DOGE[5], ETHW[1.63023595], GRT[1], LINK[3.09754941], LTC[.1458209], SOL[17.65006517], TRX[4], USD[11838.75], USDT[2.0627782]                            Yes

07842207                           BTC[.0209857], ETH[.004995], ETHW[.004995], USD[4.79]

07842208                           CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                               Yes

07842221                           USD[5.00]

07842227                           ETHW[.01740045], NFT (375806616220343333/StarAtlas Anniversary)[1], NFT (388194802673761916/StarAtlas Anniversary)[1], NFT (395896050824251979/StarAtlas Anniversary)[1], NFT
                                   (411631820424484296/Sneaker #156229856)[1], NFT (416982970618715658/45 Mount Rushmore — Gold)[1], NFT (425183106892278073/StarAtlas Anniversary)[1], NFT (445835032678230722/45
                                   Liberty — Plantium)[1], NFT (463192840933003477/Grand Teton National Park)[1], NFT (465212585139160002/45 Liberty — Plantium)[1], NFT (468597058563155860/StarAtlas Anniversary)[1], NFT
                                   (473563776138934210/45 First Lady — Gold)[1], NFT (566182943139564232/Kenai Fjords National Park)[1], USD[0.00]
07842251                           USD[70.00]

07842262                           USD[0.01], USDT[0]                                                                                                                                                                         Yes

07842279                           NFT (290063392637703161/Bevel Boy #049)[1], NFT (367546531745595952/WTC #0042)[1], NFT (369258634842635930/Bevel Boy #052 - Brett)[1], NFT (455323231717811446/It Was Fun - Abstract
                                   )[1], NFT (512306542026338470/The Clown)[1], NFT (518518473199232550/The Hill by FTX #1016)[1], SOL[1.08501], USD[3.99]
07842284                           SOL[.00005483], USD[0.00]

07842291                           NFT (311681846375171336/Saudi Arabia Ticket Stub #2205)[1], USD[0.00], USDT[0.00082507]

07842295                           USD[0.00]

07842297                           USDT[1.545505]

07842304                           BRZ[1], USD[0.00]                                                                                                                                                                          Yes

07842311                           BTC[0], LTC[0], NFT (309469704937343462/Swagged out nicely)[1], SHIB[1], TRX[0], USD[0.00], USDT[0.00000001]                                                                               Yes

07842315                           MATIC[0], USD[0.00], USDT[0]

07842318                           USD[0.00]

07842323                           USD[0.00]

07842342                           USD[0.00], USDT[2.98441757]

07842346                           NFT (391548198063614294/Hall of Fantasy League #291)[1]

07842351                           BRZ[1], CUSDT[1], DOGE[1], ETH[.00767354], ETHW[0.00757778], TRX[2], USD[0.01]                                                                                                             Yes

07842356                           BF_POINT[300], BTC[.0013551], CUSDT[4], LTC[.35687686], SOL[.16436778], USD[34.82]                                                                                                         Yes

07842362                           DOGE[1], SOL[6.08135219], USD[0.00]

07842365                           SOL[15.64434], USD[10.06]

07842374                           BTC[0], USD[0.00]

07842382                           NFT (342923542781085915/ApexDucks Halloween #504)[1]

07842384                           USD[1.38]

07842389                           SOL[0]

07842402                           BTC[0]

07842404                           BTC[0.10912125], USD[1.41], USDT[0]

07842416                           TRX[.000001], USD[1.99], USDT[0]

07842424                           SOL[.00057111], USD[0.00]

07842425                           ETH[0]

07842429                           CUSDT[1], USD[0.00]                                                                                                                                                                        Yes

07842451                           USD[1.82]

07842452                           SOL[0], USD[0.00]                                                                                                                                                                          Yes

07842454                           AAVE[.6534676], AVAX[4.92463762], BF_POINT[300], BRZ[1], BTC[.0180203], DOGE[691.04549412], ETH[.00000445], ETHW[.48773421], LINK[4.71113822], LTC[1.63999723], NFT                        Yes
                                   (346362137213654376/Australia Ticket Stub #416)[1], NFT (486237729363306177/Barcelona Ticket Stub #1246)[1], SHIB[4], SOL[.00006311], TRX[1475.65198669], UNI[4.49454307], USD[0.00]
07842461                           BRZ[2], CUSDT[1], DOGE[1], GRT[1], NFT (528042025804206058/Reawaken, by Wetiko and Remixed by Degen Poet For FTX #17)[1], SHIB[16275.07145082], TRX[1], USD[0.00]                          Yes

07842468                           USD[0.87]

07842478                           TRX[.000001], USDT[0.00000125]

07842479                           AAVE[.06453328], DOGE[2], ETH[.00356522], ETHW[.00352418], SHIB[1], SOL[1.54831775], TRX[1], USD[12.34]                                                                                    Yes

07842481                           USD[65.00]

07842485                           AVAX[1.6020847], BTC[.03959062], CUSDT[1], ETH[.36550834], ETHW[.3653547], SOL[2.95773763], USD[27.98]                                                                                     Yes

07842491                           USD[0.93]
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                                                                                                                                         Customer Claims                                                                                                           22-11071 (JTD)
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07842492                           BTC[0]

07842504                           CUSDT[1], SHIB[1], USD[0.00]

07842506                           BF_POINT[300], CUSDT[4], DOGE[2], ETH[10.69326279], ETHW[20.45978562], SHIB[4], SOL[24.29533056], TRX[2], UNI[36.13731144], USD[0.00]                                                   Yes

07842510                           ETH[0], ETHW[0], USD[0.00], USDT[0]

07842530                           USD[1876.59]

07842531                           USD[4.34]

07842533                           SOL[.00000001]

07842535                           DOGE[69], ETH[0], NFT (404662928492721588/Lorenz #29)[1], USD[19.57]

07842537                           BCH[.00000006], USD[0.00]

07842540                           MATIC[0], SOL[0], USD[0.00]

07842546                           NEAR[.075], SOL[0.61728156], USD[0.89]

07842555                           NFT (318127682301714572/GSW Western Conference Finals Commemorative Banner #2239)[1], NFT (445429992825591868/FTX - Off The Grid Miami #5571)[1], NFT (483410573275333964/GSW           Yes
                                   Western Conference Finals Commemorative Banner #2240)[1]
07842556                           CUSDT[1], ETH[.00556917], ETHW[.00550077], USD[0.00]                                                                                                                                    Yes

07842567                           USD[1.81]

07842569                           CUSDT[2], DOGE[1], LINK[11.18223413], MATIC[1.61517631], TRX[772.05913877], USD[0.00], USDT[0]                                                                                          Yes

07842575                           SOL[.01]

07842583                           BTC[.0176], ETH[.24278021], ETHW[.24278021], USD[91.66]

07842592                           BF_POINT[200], BTC[.00001712], USD[0.00]                                                                                                                                                Yes

07842595                           CUSDT[6], SOL[.00000129], USD[0.00]                                                                                                                                                     Yes

07842600                           DOGE[1], USD[2032.85]

07842606                           TRX[91.04599926], USD[0.00]

07842610                           BTC[0], USD[76.01]

07842622                           SOL[0], TRX[1]

07842627                           AAVE[.7975965], DOGE[313.1798], SHIB[5765895], TRX[699.80155], UNI[11.635685], USD[1.06]

07842628                           SOL[1.029512], USD[0.02]

07842650                           SOL[0]                                                                                                                                                                                  Yes

07842653                           ETH[0], SOL[0]

07842673                           ALGO[0], AVAX[0], BAT[0], BCH[0], BTC[0], DOGE[0], GRT[0], MATIC[0], NFT (312130383635278799/Metallica Crowd View Rockville 2021)[1], NFT (387758498901348573/Vox World #31)[1], NFT
                                   (430024844125712467/James Hetfield & Lars Ulrich Rockville 2021)[1], NFT (458569634884418540/Metallica Stage View Rockville 2021)[1], NFT (469624087720699241/Founding Frens Investor
                                   #832)[1], NFT (574171741898371441/James Hetfield Wide View Rockville 2021)[1], SHIB[0], SOL[0], SUSHI[0], TRX[0], USD[0.00], USDT[0.00000001], YFI[0]
07842678                           BTC[0], USD[0.13]

07842684                           AAVE[0], BCH[0], BRZ[1], CUSDT[2], DOGE[2], ETH[0], GRT[1.00256943], LINK[0], MATIC[0], MKR[0], PAXG[0], SOL[0.00000001], TRX[2], USD[0.00], USDT[0.00000001], YFI[0]                   Yes

07842686                           NFT (294796950316665955/SolFractal #4787)[1]

07842690                           CUSDT[7], DOGE[1], NFT (345083598219829634/FTX - Off The Grid Miami #536)[1], USD[0.00], USDT[1.08245588]                                                                               Yes

07842691                           CUSDT[2], DOGE[4], ETH[.00000001], ETHW[0.42156691], NFT (427962435781483726/Entrance Voucher #24896)[1], SHIB[34], SOL[.00000001], TRX[7], USD[0.00]                                   Yes

07842706                           AAVE[.01425693], AUD[1.38], AVAX[.06528942], BAT[1.2751947], BCH[.00314685], BRZ[53.47213826], BTC[.00012677], CAD[1.26], CHF[6.80], CUSDT[45.18014941], DAI[.99435337],                Yes
                                   DOGE[5.58877634], ETH[.00193708], ETHW[.00190972], EUR[0.88], GBP[0.74], GRT[5.03522371], HKD[40.88], KSHIB[73.91265986], LINK[.13854771], LTC[.00833532], MATIC[.57799847],
                                   MKR[.00050291], PAXG[.00270216], SGD[6.68], SHIB[75723.02462629], SOL[.15236949], SUSHI[.24472492], TRX[550.08088563], UNI[.2125485], USD[3.08], USDT[2.10495003], YFI[.00004383]
07842712                           USD[0.00]

07842723                           BTC[.0015], NFT (452131475409010689/Entrance Voucher #4328)[1], SOL[.0299715], USD[38.71]

07842730                           ETH[0], SOL[0], USD[0.00]

07842741                           USD[29.27]

07842747                           BRZ[3], CUSDT[7], DOGE[4], ETH[.00027777], ETHW[.00027777], GRT[97.91937994], SHIB[1], SOL[0], TRX[4], USD[0.00], USDT[0]

07842749                           TRX[.000001], USD[0.00], USDT[0]

07842752                           ETH[.000918], ETHW[.000918], MATIC[9.93], NEAR[44.955], NFT (374965844516791299/Entrance Voucher #29654)[1], NFT (449828531736371077/Bahrain Ticket Stub #2018)[1], NFT
                                   (524885820097063080/UNQ Universe | Memory #685)[1], SOL[6.78084], USD[16.06]
07842761                           CUSDT[1], NFT (308908033819558802/Voxel City #2)[1], NFT (313936865979173998/Computer Generated Dino #6 of 500)[1], NFT (319648504855990238/How I met ur mother)[1], NFT                Yes
                                   (356097492836852835/LogantoFluffyPeople #3)[1], NFT (356496591193686979/Monkey #2)[1], NFT (405332137533567925/Landscape #4)[1], NFT (499429538208623632/Leg day)[1], NFT
                                   (518638519748306154/Good vibes #2)[1], SOL[.11881433], USD[0.00]
07842762                           BTC[.00013978], ETH[1.9853584], ETHW[1.9953584], LINK[16.68497], MATIC[9.883], USD[1.17]

07842764                           BTC[0], SOL[0]

07842768                           SOL[.00427312], USD[0.00]

07842775                           DOGE[1], SHIB[199756350.528007], SOL[3.88485375], USD[0.10]                                                                                                                             Yes

07842783                           USD[0.00]

07842785                           MATIC[30.79433483], SHIB[2], USD[0.03], USDT[0.00000001]                                                                                                                                Yes

07842789                           USD[0.00], USDT[1.44602661]

07842790                           BRZ[2], BTC[.14134224], CUSDT[2], DOGE[2], ETH[.24003517], ETHW[1.24003517], SHIB[4], TRX[7], USD[268.42], USDT[1]

07842791                           BTC[0.00000238], ETH[.0002586], ETHW[.0002586], USD[0.00], USDT[0.00000094]

07842796                           SOL[.00291], USD[0.00]

07842798                           BTC[.01481264], CUSDT[.972], DAI[40], DOGE[317], UNI[4.5954], USD[0.00], USDT[0.00005000]

07842804                           TRX[.000001]

07842809                           SOL[2.17], USD[0.48]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07842811                              CUSDT[1], USD[0.00]                                                                                                                                                                Yes

07842819                              USD[0.00]

07842827                              NFT (431474223190874973/Texas dawn)[1], SOL[.13575463], USD[0.00]

07842828                              USD[0.07]

07842831                              NFT (460029265472643186/Australia Ticket Stub #152)[1], SOL[.001]

07842834                              USD[0.00]

07842841                              DOGE[1], LTC[1.0757277], USD[4.29]                                                                                                                                                 Yes

07842857                              BRZ[1], TRX[1], USD[0.00]                                                                                                                                                          Yes

07842858                              USD[0.00]

07842860                              BTC[0], NEAR[13.27273199], USDT[0]

07842865                              USD[4.31]

07842871                              BAT[2.07544251], BF_POINT[200], BRZ[8.54179971], CUSDT[16], DOGE[5.01849113], ETH[0.15121857], GRT[3.04637073], NFT (418880023698084213/Chubby Grubby #19)[1], NFT                 Yes
                                      (555106329718675944/Chubby Grubby #18)[1], SHIB[48.78110785], SOL[.00005181], TRX[9], USD[17117.90], USDT[0.00191296]
07842875                              CUSDT[2], ETH[.00000001], ETHW[0], MATIC[.00520723], TRX[2], USD[0.00], USDT[4.28330688]                                                                                           Yes

07842889                              SOL[.059943], USD[0.69]

07842895                              CUSDT[3], DOGE[0], SHIB[536222.62935697], TRX[.00188002], USD[0.00]                                                                                                                Yes

07842899                              BTC[.0951048], USD[11.60]

07842910                              USD[0.00], USDT[0.00000001]

07842911                              TRX[1], USD[0.07]                                                                                                                                                                  Yes

07842914                              BRZ[3], BTC[.02831481], DOGE[3], SHIB[15], TRX[2], USD[0.00]

07842924                              DOGE[0], ETH[0], NFT (388185252396525674/FBC #0605)[1], NFT (477958188244045978/cyberchiggin.eth)[1], USD[0.01], USDT[0]

07842933                              LINK[1.8981], USD[0.00], USDT[0]

07842937                              TRX[.000001], USD[0.00]

07842954                              SOL[.08550173], USD[0.00]

07842958                              USD[194.61]

07842964                              BTC[0], ETH[0], TRX[.000133], USDT[0]

07842966                              BRZ[5.07952967], CUSDT[3], DOGE[7.02555328], GRT[4.09873762], LINK[1.05415152], NFT (314553827655051666/FTX - Off The Grid Miami #4498)[1], USD[1.27], USDT[0.01368000]            Yes

07842972                              AVAX[0], BTC[0], DOGE[0], ETH[0.00461161], ETHW[0], MKR[0], SOL[0], USD[0.00], USDT[0]                                                                                             Yes

07842980                              BRZ[3], BTC[0], CUSDT[55.18407257], DOGE[10.45663618], ETH[0], NFT (353632850344412094/Gamer caves )[1], NFT (534827786454015094/We Ride)[1], SOL[0.00004858], TRX[11.06258387],   Yes
                                      USD[0.01], USDT[0.00000128]
07842981                              LINK[.05288], USD[6.05]

07842988                              LTC[.009], USDT[15.2910234]

07842991                              USDT[0.00000185]

07842992                              DOGE[2], GRT[1.00173188], SHIB[1], SUSHI[1.01795839], USD[0.00], USDT[1.01795839]                                                                                                  Yes

07843004                              SHIB[12], USD[0.00]                                                                                                                                                                Yes

07843006                              CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                        Yes

07843008                              USD[2685.33]                                                                                                                                                                       Yes

07843013                              BTC[.13548258], ETH[1.88459128], ETHW[1.88459128], SOL[37.76425864], USD[0.00]

07843023                              USD[15.61]

07843028                              ETH[.048268], ETHW[.048268]

07843031                              BCH[0], BTC[0], CHF[0.00], CUSDT[0], GRT[0], MATIC[0], MKR[0], MXN[0.00], SOL[.04995], USD[1.62]

07843033                              BTC[.00091012], CUSDT[3], ETH[.02601968], ETHW[.02569308], SHIB[339797.17996088], SOL[0.63750701], SUSHI[1.48398515], TRX[1], USD[0.00]                                            Yes

07843045                              BTC[0], USD[0.00], USDT[0]

07843050                              USD[0.75]

07843062                              BF_POINT[300], BRZ[1], CUSDT[19], DOGE[2], NFT (518735987443617384/Juicy Fruit )[1], SHIB[740601.9135474], TRX[4], USD[0.00], USDT[0]                                              Yes

07843066                              BTC[.02634812], ETH[.06584608], ETHW[0.06584608], MATIC[30], NFT (368723058295238079/Fish-Lectronics Logos)[1], SHIB[800000], SOL[1.46258293], USD[22.10]

07843071                              AAVE[.1095704], BAT[487.40761851], BTC[.0003796], ETH[.04258318], ETHW[.04205243], GRT[321.56173177]                                                                               Yes

07843076       Contingent, Disputed   SOL[0], USD[0.00]

07843082                              BTC[0], MATIC[0], SOL[0], USD[117.53], USDT[0.00000979]                                                                                                                            Yes

07843085                              USD[0.00]

07843092                              ETH[0.92944114], ETHW[0.92944114], SOL[0], USD[0.00]

07843094                              MATIC[385.65956718], USD[0.00]

07843096                              SOL[0.00000001]

07843100                              BTC[12.0000779], ETH[39.96085284], ETHW[39.96085284], SOL[999.00725388], USD[3250.90]

07843104                              BTC[0.07751856], DOGE[1], ETH[1.25746061], SHIB[9], TRX[4], USD[-199.56], USDT[0]                                                                                                  Yes

07843108                              USD[0.00], USDT[0]

07843110                              ETH[0], SOL[0], USDT[0.00000008]

07843115                              BF_POINT[300]                                                                                                                                                                      Yes

07843122                              USD[0.00]

07843126                              CUSDT[2], DOGE[1], USD[0.00]                                                                                                                                                       Yes
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                                                                                                                                             Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07843140                              BF_POINT[300], DOGE[1], ETH[0.00170115], ETHW[0.00065221], MATIC[0], SHIB[1], TRX[0], USD[0.00], USDT[0]                                                                                 Yes

07843148                              CUSDT[3], DOGE[626.93418731], ETH[.10835578], ETHW[.10726295], SOL[3.10656065], TRX[1], USD[997.61]                                                                                      Yes

07843149                              USD[0.00]

07843154                              BTC[0.01175637], NFT (299314603297511608/SolSoul-02456)[1], SOL[0]

07843155                              ETH[0], SOL[.00000001]

07843156                              ETHW[.322], USD[0.94]

07843161                              SHIB[1], USD[60.61]                                                                                                                                                                      Yes

07843166                              USD[10.00]

07843167                              AVAX[7.19429346], BRZ[4], CUSDT[16], DOGE[17.8555269], ETH[3.080505], ETHW[3.07921119], LINK[154.01816829], SHIB[9], SOL[31.64569941], TRX[23.24869243], UNI[47.28792938], USD[0.01], Yes
                                      USDT[1.02476741]
07843168                              BRZ[1], CUSDT[1], SOL[.00000365], USD[0.01]                                                                                                                                           Yes

07843175                              BTC[0], USD[0.00]

07843185                              ETH[.03315461], ETHW[.03315461], USD[0.00]

07843187                              BTC[.00375641], CUSDT[1], USD[106.41]                                                                                                                                                    Yes

07843189                              USD[0.06]

07843199                              SOL[0], USD[0.00], USDT[0.00002198]

07843200                              CUSDT[3], SOL[0], TRX[1], USD[0.00], USDT[0.00174240]                                                                                                                                    Yes

07843201                              AAVE[.739525], AUD[14.00], BTC[.001295], ETH[.01298195], ETHW[.01298195], GRT[265.7074], LINK[10.51469], MATIC[119.905], MKR[.09073855], SHIB[7553165], SOL[1.179202], SUSHI[25.9468],
                                      UNI[3.088125], USD[97.53]
07843203                              USD[6168.26]                                                                                                                                                                             Yes

07843214                              BTC[.01918176], USD[9.93]

07843215       Contingent,            BTC[.10845762], ETH[.09094743], GBP[0.88], TRX[1], USD[1.84], USDT[0]                                                                                                                    Yes
               Unliquidated
07843237                              AAVE[2.15480677], BTC[.80305416], ETH[1.88027927], ETHW[1.87963115], LINK[40.10534752], MATIC[843.69124795], SOL[40.77545882], USD[0.00], USDT[0.00023552]                               Yes

07843238                              CUSDT[3], MATIC[88.29248397], SOL[4.16338999], TRX[1], USD[0.00]                                                                                                                         Yes

07843239                              CUSDT[2], LINK[.45140696], USD[0.00]                                                                                                                                                     Yes

07843249                              CUSDT[1007.25624198], MATIC[109.20138485], USD[0.00]                                                                                                                                     Yes

07843262                              USD[0.00]                                                                                                                                                                                Yes

07843275                              ETHW[.00680168], SHIB[2], USD[47.68], YFI[.00012686]                                                                                                                                     Yes

07843277                              AAVE[.01103341]

07843279                              SOL[.00000001], USD[0.00]

07843282                              DOGE[.2186906], USD[0.30]

07843283                              USD[0.93]                                                                                                                                                                                Yes

07843289                              BRZ[8.5414194], BTC[.17881963], CUSDT[34], DOGE[346.52456295], ETH[.56469317], ETHW[.56445585], GRT[125.50009842], LINK[24.0133288], MATIC[104.53337472], SHIB[1], SOL[7.89909195],      Yes
                                      SUSHI[49.97553243], TRX[15.41591493], USD[753.68], USDT[0]
07843307                              BRZ[1], DOGE[1], TRX[1], USD[0.00]

07843321                              ETH[.169], ETHW[.169], USD[0.59]

07843323                              CUSDT[1], LINK[1.99913367], TRX[1.000001], USD[0.00], USDT[0]

07843324                              ETH[0], ETHW[0], SOL[0], USD[0.00]

07843325                              NFT (425383609854766523/Good Boy #18122)[1]

07843328                              BRZ[581.35461548], CUSDT[4], MATIC[37.95487509], NFT (301604721744630127/AI-generated landscape #54)[1], NFT (302142713320836851/Famous Pack)[1], NFT (307897371243119500/AI-            Yes
                                      generated landscape #38)[1], NFT (330226361164157072/Jumpy)[1], NFT (347146598093889529/Vox Robo #2)[1], NFT (352808246643407194/Machitto #3)[1], NFT
                                      (362496136883036738/CryptoAvatar #99)[1], NFT (376288278400313865/Vox Robo #14)[1], NFT (376755219823099595/Game #10)[1], NFT (399676551383650558/Mirror Image )[1], NFT
                                      (407031893508985037/AI-generated landscape #64)[1], NFT (423224649553939180/Vox Robo #15)[1], NFT (423955828899091098/Generative art #1)[1], NFT (428597776521708495/Hello )[1], NFT
                                      (428681040825317470/Anime #44)[1], NFT (431458562122716915/Eclipse #3)[1], NFT (440379938663116941/My Little Gang #6)[1], NFT (442445967352999942/Summer vibes )[1], NFT
                                      (474587857927662831/Founding Father)[1], NFT (485742601293704092/Game #9)[1], NFT (488725811277247765/Snug as a bug)[1], NFT (503997929944589320/CryptoAvatar #72)[1], NFT
                                      (512497475165361885/Generative art #3)[1], NFT (516874991086117503/Vox Robo #13)[1], NFT (524211805237824410/Vox Robo #3)[1], NFT (530752691447291886/AI-generated landscape #48)[1],
                                      NFT (531698263212604799/Giko)[1], NFT (532601578556703994/CryptoAvatar #65)[1], NFT (544199738863264225/CryptoAvatar #45)[1], NFT (545079052910790610/Machitto #6)[1], NFT
                                      (549451769184181688/Machitto #4)[1], NFT (558106729414630920/Frankly my dear..)[1], NFT (560068462947575567/Infinity #15)[1], NFT (571834357730737126/M44)[1], NFT
                                      (574469679040707344/Generative art #2)[1], NFT (575266736698397385/A luxurious toast)[1], SOL[.17523792], TRX[2], USD[0.00]
07843334                              NFT (560328153517968593/Imola Ticket Stub #269)[1]

07843338       Contingent, Disputed   CHF[0.74], USD[0.01]

07843341                              BAT[203.73477239], BTC[0.02452407], DOGE[1], ETH[.28124864], ETHW[.28105332], LINK[7.1432642], SHIB[8], SOL[1.0940939], USD[85.34]                                                       Yes

07843343                              ETH[13.31748578], ETHW[13.31296654], LTC[16.66108033]                                                                                                                                    Yes

07843346                              NFT (299800800193971746/Time Traveling Ape #7)[1], NFT (313048864715137985/Time Traveling Ape #8)[1], NFT (313064528187586105/Time Traveling Ape #4)[1], NFT (443038092102981816/Time
                                      Traveling Ape #6)[1], NFT (484136747401496233/Time Traveling Ape #2)[1], NFT (541406410069103117/Time Traveling Ape #10)[1], NFT (549024956413093863/Time Traveling Ape #3)[1], NFT
                                      (552349916889413506/Time Traveling Ape)[1], NFT (553026612224059960/Time Traveling Ape #5)[1], NFT (560298113839941654/Time Traveling Ape #9)[1], SOL[.00780664], USD[0.00]

07843353                              NFT (361837684285031016/GSW Western Conference Finals Commemorative Banner #1962)[1], NFT (382072546512883524/Warriors Logo Pin #372)[1], NFT (456431538373363433/GSW Western
                                      Conference Finals Commemorative Banner #1961)[1], NFT (488822265170967224/GSW Championship Commemorative Ring)[1], NFT (509926119534844413/GSW Western Conference Semifinals
                                      Commemorative Ticket #1060)[1], USD[19.76]
07843370                              ETH[.011], ETHW[.011]

07843376                              USD[1.00]

07843381                              NFT (450527054818841685/Hall of Fantasy League #275)[1]

07843382                              SOL[.99]

07843385                              USD[21.51]                                                                                                                                                                               Yes

07843391                              ETH[0], ETHW[0.04603319], JPY[0.00], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07843398                              ETH[.000851], ETHW[.000851], LINK[.0901], SOL[.00686], USD[1.19]

07843401                              USD[152.03]

07843422                              USD[1.48]

07843431                              USD[100.00]

07843434                              AAVE[.07993], USD[117.73]

07843447                              BRZ[1], CUSDT[1], SOL[5.49906877], USD[0.00]                                                                                                                                           Yes

07843459                              BCH[.03586403], CUSDT[1], USD[0.07]                                                                                                                                                    Yes

07843465                              CUSDT[3], DOGE[89.76325534], ETH[.00621745], ETHW[.00621745], LINK[.76983766], SOL[.13853742], USD[0.01]

07843469                              BTC[.0056], SOL[21.44], USD[130.42]

07843470                              ETHW[.999898], MATIC[0], USD[6.58]

07843472                              NFT (567013130777868147/FTX - Off The Grid Miami #2148)[1]

07843487                              NFT (319774872414756868/Saudi Arabia Ticket Stub #2255)[1], USD[109.37]

07843493       Contingent, Disputed   BTC[0], USD[0.00]

07843494                              BTC[.00000001]                                                                                                                                                                         Yes

07843500                              USD[8.30]

07843509                              BTC[0], CUSDT[0], DOGE[0], KSHIB[0], MATIC[0], SHIB[2], SUSHI[0], TRX[0], USD[0.00]                                                                                                    Yes

07843528                              TRX[0.29942373], USD[0.00]

07843536                              USD[0.00]

07843552                              SOL[0], USD[0.00]

07843560                              USDT[.46065]

07843569                              ETH[0]

07843593                              BAT[1], CUSDT[2], DOGE[1], NFT (310950069747668591/mighty soldier)[1], NFT (323430917246678932/Surreal World #26)[1], NFT (365817919839270734/Surreal World #29)[1], NFT
                                      (367489858132214885/Moscow Mitch)[1], NFT (493528824250677288/Surreal World #21)[1], NFT (509560401687988427/Jailbird Hillary)[1], NFT (526596742046611136/BANANA #7)[1], NFT
                                      (542377953179020729/President America)[1], SUSHI[12.67073145], USD[0.00]
07843594                              BTC[0], ETH[0], ETHW[0], SOL[0]

07843599                              USD[0.08]

07843606                              ALGO[.00000001], EUR[0.00], USD[1.98]                                                                                                                                                  Yes

07843613                              USD[0.00]

07843620                              CUSDT[1], USD[99.75]

07843622                              BTC[.00004804], CUSDT[1], TRX[1], USD[0.00]

07843626                              USD[2.37]

07843633                              AVAX[0.13827106], BAT[1.00454932], BRZ[3], CUSDT[2], DOGE[4], MATIC[.80097557], NFT (518582362696726741/Entrance Voucher #2470)[1], SHIB[2066368.43084564], SOL[0.71704889], TRX[7],   Yes
                                      USD[0.00], USDT[0]
07843635                              USD[300.00]

07843649                              AVAX[.60155759], BTC[.00296651], CUSDT[26], DOGE[2], ETH[.02365729], ETHW[.0233648], LTC[.03410873], MATIC[29.30501217], PAXG[.00000005], SHIB[12], SOL[.40285674], TRX[4], USD[0.00] Yes

07843666                              USD[0.00]

07843672                              SOL[0], USD[0.00]

07843676                              SOL[3.62], USD[0.41]

07843683                              BTC[0], SOL[0], USD[0.00]

07843690                              BTC[0], DOGE[0], ETH[0.00045553], ETHW[0.00045553], LINK[0], MATIC[8.21559897], SHIB[0], SOL[0], USD[0.00], USDT[0]

07843711                              DAI[4.96407178], ETH[.00175425], ETHW[.00175425], USD[18.99], USDT[.99450673]

07843712                              BTC[.0252935], CUSDT[4], DOGE[1], ETH[.27859148], ETHW[.27859148], TRX[1], USD[775.56]

07843720                              CUSDT[1], TRX[1], USD[0.01]

07843728                              SOL[.04197772], USD[0.00]                                                                                                                                                              Yes

07843746                              USD[0.03]                                                                                                                                                                              Yes

07843749                              LINK[184.815], USD[23.68]

07843751                              BRZ[2], BTC[.00000013], DOGE[2], ETH[.00000174], ETHW[.5591749], SHIB[8], TRX[4], USD[477.66], USDT[1.00007304]                                                                        Yes

07843756                              SOL[0.00000001], USD[0.00], USDT[0]

07843771                              ETH[.125874], ETHW[.125874], USD[1.52]

07843776                              ETH[.01752876], ETHW[.01730988]                                                                                                                                                        Yes

07843783                              USD[0.00]

07843808                              USD[0.00]

07843824                              LINK[73.58553251]                                                                                                                                                                      Yes

07843825                              CUSDT[2], DOGE[2], USDT[0]

07843834                              CUSDT[1], TRX[214], USD[0.02]

07843835                              SOL[.1], USD[6.16]

07843845                              USD[0.00]

07843873                              TRX[1]                                                                                                                                                                                 Yes

07843875                              BTC[0], ETH[0.00000001], ETHW[0], SOL[0], USD[0.00]

07843909                              USD[3.08]
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07843928                              ETH[0], USD[0.01]

07843956                              BRZ[0], LTC[0], MATIC[0], NFT (569487362869131649/FTX Crypto Cup 2022 Key #25747)[1], SOL[0], USD[0.00]

07843959                              SOL[0]

07843965                              USD[0.01]

07843969                              USD[0.00], USDT[0]                                                                                                                                                                   Yes

07843976                              USD[20.00]

07843979                              BAT[1.01511275], BRZ[3], CUSDT[1], DOGE[1], ETHW[1.04347182], GRT[2.02780917], TRX[3], USD[0.01]                                                                                     Yes

07843980                              CUSDT[1], USD[0.00]                                                                                                                                                                  Yes

07843990                              ETH[.00000001], ETHW[0], SOL[0]

07843994                              NFT (514609604951485340/Munk #95)[1]

07844000                              BCH[0], ETH[0], ETHW[0], LTC[0], PAXG[0.00146674], SOL[0], TRX[0], USD[14.03], YFI[0]

07844001                              BF_POINT[200], ETH[0.00300058], ETHW[0.00295954], SHIB[4891.3466575], SOL[.04779485], UNI[.42045297], USD[0.00]                                                                      Yes

07844006                              BAT[2.08628387], SHIB[1], TRX[2], USD[0.01]                                                                                                                                          Yes

07844011                              BTC[.0006], SOL[3], USD[0.00], USDT[0.00058315]

07844017                              BTC[0.00022928], CUSDT[3], ETH[0], SOL[0], TRX[217.19847153], USD[0.00]                                                                                                              Yes

07844024                              USD[0.00], USDT[.13615933]

07844026                              USD[0.02], USDT[0.00001861]

07844032                              SOL[.00000001], USD[0.00], USDT[.17821453]

07844035                              ETH[.000395], ETHW[.000395], SOL[0], USD[50000.38], USDT[.00452355]

07844040                              BRZ[1], SHIB[2331678.50484531], USD[0.00]                                                                                                                                            Yes

07844042       Contingent, Disputed   TRX[.000001], USDT[31.665672]

07844046                              ALGO[40], AVAX[1.2], ETHW[.353737], USD[5.53]

07844050                              BRZ[2], CUSDT[5], DOGE[3], ETHW[.39997257], SHIB[751197.72762818], TRX[6], USD[1514.60]                                                                                              Yes

07844060                              NFT (513637060230400605/Hall of Fantasy League #271)[1]

07844065                              BTC[.01862936], DOGE[1], NFT (542914435673281749/Entrance Voucher #2509)[1], SHIB[2], SOL[10.60811741], TRX[1], USD[0.00]                                                            Yes

07844066                              AVAX[393.1268], LTC[.003784], MATIC[.01748077], SOL[.01645517], TRX[.000152], USD[0.00], USDT[3169.06985001]

07844071                              NFT (288505969563253883/Warriors Logo Pin #30 (Redeemed))[1], NFT (289445410502667786/GSW Western Conference Finals Commemorative Banner #827)[1], NFT (324489655470510182/The
                                      2974 Collection #2499)[1], NFT (349730839032997094/Birthday Cake #2499)[1], NFT (383517693124557691/GSW Round 1 Commemorative Ticket #502)[1], NFT (393158006221911346/GSW
                                      Championship Commemorative Ring)[1], NFT (393324130055353695/GSW Western Conference Finals Commemorative Banner #826)[1], NFT (402783924286836626/GSW Western Conference Finals
                                      Commemorative Banner #825)[1], NFT (449797389333182569/Warriors Logo Pin #58 (Redeemed))[1], NFT (518995713641108760/Founding Frens Lawyer #361)[1], NFT (530196085578853160/Miami
                                      Ticket Stub #244)[1], NFT (537288719124974639/GSW Championship Commemorative Ring)[1], NFT (549181661927410846/GSW Western Conference Semifinals Commemorative Ticket #427)[1],
                                      NFT (566340284193566328/GSW Western Conference Finals Commemorative Banner #828)[1], NFT (566602327204826983/GSW Western Conference Semifinals Commemorative Ticket #426)[1],
                                      USD[0.00], USDT[0.00000001]
07844073                              USD[0.00]

07844079                              LINK[.083], SOL[.005], USD[0.00]

07844084                              ETH[.00000001], ETHW[0], NFT (382521985551198759/FTX - Off The Grid Miami #7389)[1], NFT (400091278003906634/The Hill by FTX #1197)[1], SOL[0], TRX[.001327], USD[0.00],
                                      USDT[2.73828239]
07844094                              USD[0.00]

07844097                              USD[2.59]

07844100       Contingent, Disputed   BTC[.00035974], USD[51.28]                                                                                                                                                           Yes

07844104                              USD[0.00], USDT[0]

07844107                              USDT[17.644962]

07844109                              BAT[65], TRX[885.695], USD[3.98]

07844131                              CUSDT[2], USD[0.00]                                                                                                                                                                  Yes

07844136                              BTC[.0171828], USD[7.58]

07844138                              ETH[.017], ETHW[.017], USD[0.68]

07844140                              LINK[60], SOL[14.72526], USD[15.45]

07844155                              USD[0.00]

07844162                              NFT (366527615951171265/Romeo #2309)[1], NFT (414792555649555736/Microphone #9520)[1], NFT (422022822786000881/Entrance Voucher #4716)[1]

07844163                              SOL[1.40859], USD[0.90]

07844166                              ETH[.009], ETHW[.009]

07844170                              BTC[.00558056], ETH[.07685707], ETHW[.07685707], USD[0.00]

07844173                              TRX[.000054], USDT[.12729534]

07844175                              CUSDT[4], ETH[.00000017], ETHW[.00000017], SOL[.59744957], TRX[1], USD[9.89]                                                                                                         Yes

07844187                              BTC[0], DOGE[0], SHIB[0.00000002], USD[0.00], USDT[0]

07844203                              USD[0.00], USDT[.41570474]

07844227                              ETH[0], NFT (420592311835260763/Entrance Voucher #29583)[1], SOL[0]

07844231                              CUSDT[6], DOGE[4], ETHW[.26533516], SHIB[5], TRX[3], USD[0.00]

07844232                              USD[0.00]

07844233                              USD[0.00], USDT[0]                                                                                                                                                                   Yes

07844235       Contingent, Disputed   SOL[0], USD[0.57], USDT[0.00000014]
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                                                                                                                                             Customer Claims                                                                                                        22-11071 (JTD)
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07844239                              BRZ[1], CUSDT[2], LINK[64.11463356], USD[0.00]                                                                                                                                        Yes

07844241                              BAT[1.00283385], BTC[.00002982], GRT[327.80692339], SHIB[3], SOL[0.00730432], TRX[2], UNI[.00258262], USD[0.00]                                                                       Yes

07844243       Contingent, Disputed   BTC[0], DAI[0], DOGE[0], ETH[0], ETHW[0], USD[0.00]                                                                                                                                   Yes

07844249                              SOL[0.61029993], TRX[1]                                                                                                                                                               Yes

07844250                              USD[20.00]

07844252                              BTC[0.00441819], ETH[0.00052637], ETHW[0.00052637], SOL[0.00490861], SUSHI[0], USD[2.15]

07844254                              BTC[0], SOL[0], USD[0.01], USDT[0.00000001]

07844261                              BRZ[1], USD[0.00]

07844263                              ETHW[.099], USD[1.83]

07844268                              ETH[.00324447], ETHW[.00324447], USD[0.00]

07844280                              NFT (355015083274348399/Saudi Arabia Ticket Stub #559)[1]

07844284                              SOL[68.69], USD[4.87]

07844291                              SOL[.006], USD[66.11]

07844299                              ETH[.04476002], ETHW[.04420276], SHIB[477154.25707465], USD[0.01]                                                                                                                     Yes

07844301                              USD[0.00]

07844307                              DOGE[1], NFT (291365631081698443/The Hill by FTX #8429)[1], NFT (378500558444294752/Coachella x FTX Weekend 1 #16100)[1], USD[0.00]

07844318                              BRZ[3], CUSDT[4861.2526419], DOGE[549.82020132], ETH[.18494729], ETHW[.184709], GRT[150.14776324], LTC[.32600026], MATIC[42.47802303], MKR[.04396955], SHIB[2], SOL[1.08734207],      Yes
                                      SUSHI[12.71603641], TRX[3], UNI[2.14153265], USD[-197.76]
07844336                              USD[10153.22]                                                                                                                                                                         Yes

07844350                              AAVE[.0063], BTC[.000057], ETH[.00078], ETHW[.00078], SOL[1.978], USD[836.63]

07844354                              BAT[2.04320305], BRZ[1], CUSDT[10], DOGE[844.30873622], ETHW[.48710937], LINK[.87381037], SHIB[6], TRX[3], USD[3.65], USDT[1.07274291]                                                Yes

07844355                              BTC[.0121044], CUSDT[4], DOGE[49.22465611], ETH[.07543017], ETHW[.07449381], LINK[9.40752984], MATIC[199.93243208], TRX[1], UNI[4.2077453], USD[0.00]                                 Yes

07844357                              USD[0.58]

07844367                              USD[250.00]

07844371                              USD[0.00]

07844372                              TRX[.000001], USDT[0.00000057]

07844383                              USD[0.00]

07844384                              BTC[.0001], NEAR[1.8], USD[2.90], USDT[.134408]

07844386                              NFT (332800796437326398/Microphone #7617)[1]

07844389                              ETH[2.05173287], ETHW[2.05173287]

07844393                              ETH[0], USD[0.00]

07844399                              ETH[0.00012802], ETHW[0.00012802], SOL[0], USD[283.72]

07844403                              SOL[5.13539023], USD[0.00]

07844405                              SOL[3.36], USD[2.16]

07844408                              TRX[.000001], USD[283.57]

07844426                              BTC[.00066941], CUSDT[2], DOGE[2], LINK[5.41510401], USD[0.23]                                                                                                                        Yes

07844429                              NFT (372453656374058479/The Finale at Oracle Ticket #52 (Redeemed))[1], NFT (378073792083283393/GSW Round 1 Commemorative Ticket #695)[1], NFT (420311361503670391/GSW Western
                                      Conference Finals Commemorative Banner #1674)[1], NFT (440857221715970973/GSW Championship Commemorative Ring)[1], NFT (482507941538481635/GSW Western Conference Semifinals
                                      Commemorative Ticket #853)[1], NFT (508409669302815970/GSW Western Conference Finals Commemorative Banner #1673)[1], NFT (540561851182834638/Megalodon Rogue Shark Tooth)[1],
                                      USD[6.96], USDT[0]
07844435                              BAT[9.73962418], BRZ[29.12622658], BTC[.00029122], CAD[3.34], CUSDT[111.3103144], DAI[8.69190002], DOGE[65.18441776], ETH[.00784297], ETHW[.00774721], GBP[3.91], GRT[28.49489508],   Yes
                                      KSHIB[346.62573709], LINK[1.98140052], LTC[.08743572], MATIC[4.50806852], SHIB[376901.89380479], SUSHI[1.60220871], TRX[57.15446426], UNI[1.13021097], USD[0.60], USDT[5.45010489]

07844438                              TRX[.000001]

07844467                              SHIB[9.84395452], USD[0.00]                                                                                                                                                           Yes

07844470                              BRZ[1], BTC[.00000427], CUSDT[3], ETH[.00004193], ETHW[.00004192], GRT[1], SHIB[13], SOL[.00030503], TRX[3], USD[19447.88]                                                            Yes

07844477                              BTC[.09], ETHW[33.8948669], USD[0.01], USDT[0]

07844482                              SOL[.00005648], TRX[.000001], USDT[0]

07844487                              ETH[0], SOL[0], USD[0.00], USDT[0.00002318]

07844489                              ETH[0], MATIC[0], SOL[0.00000001], USD[0.00]

07844496                              NFT (473882904806126006/Bahrain Ticket Stub #93)[1], SOL[.01]

07844503                              USD[0.00]

07844509                              NFT (315234202079770146/Bahrain Ticket Stub #2349)[1], USD[12.85], USDT[0.00002389]

07844515                              USD[0.00]

07844516                              AAVE[0], BTC[0], ETH[0], ETHW[0], MATIC[0], SOL[0], USD[9181.24], USDT[0], YFI[0]                                                                                                     Yes

07844521                              AAVE[.31094163], AVAX[1.22488082], BTC[.00811836], ETH[.089781], GRT[513.00883118], LINK[3.49971214], MATIC[39.01281553], MKR[.02831658], SHIB[3417133.95807377], SOL[2.20484771],    Yes
                                      SUSHI[17.78086152], TRX[1944.89854646], UNI[5.04071096], USD[434.27], YFI[.007463]
07844522                              BTC[.005934], ETH[.09418], ETHW[.09418], SOL[.23252753], USD[0.00]

07844524                              EUR[0.00], USD[0.00], USDT[0]

07844526                              BTC[.00490618]

07844532                              USD[1.51], USDT[0]

07844540                              USD[21.89]                                                                                                                                                                            Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07844541                              USD[0.00]

07844545                              BTC[.19824181], SOL[2], USD[0.00]

07844550                              SOL[1.63085969], USD[0.00]

07844551                              USDT[2.2866936]

07844558                              BTC[0], CUSDT[1], DOGE[2], ETH[0], TRX[3.00710734], USD[0.00]                                                                                                       Yes

07844559                              USD[0.01]                                                                                                                                                           Yes

07844584                              CUSDT[2], USD[0.02]                                                                                                                                                 Yes

07844585                              USD[0.00]

07844600                              ETHW[5.45040489]                                                                                                                                                    Yes

07844607                              CUSDT[5], DOGE[1], USD[0.01]                                                                                                                                        Yes

07844608                              USD[0.00]

07844622                              ETH[0], ETHW[0], SOL[.00248064], TRX[.000001]

07844624                              NFT (367618606723199138/DOGO-ID-500 #5131)[1], USD[0.41], USDT[0]

07844625                              NFT (434319552000400089/Bahrain Ticket Stub #1644)[1]

07844629                              USD[0.08]

07844637                              AAVE[.3], BTC[.0079976], ETH[.065966], ETHW[.065966], GRT[104.895], LINK[3], SOL[.71], SUSHI[8], USD[644.69], YFI[.002997]

07844640                              NFT (470910161886055788/Hall of Fantasy League #248)[1]

07844650                              CUSDT[1], USD[20.81]                                                                                                                                                Yes

07844653                              USD[0.00]

07844654                              BRZ[2], NFT (569850226760455989/GalaxyKoalas # 349)[1], SHIB[2], SOL[6.87093687], SUSHI[4.98511914], TRX[4.63428849], USD[920.07]                                   Yes

07844661                              SOL[.004], USDT[1.68155695]

07844666                              BCH[.05015082], CUSDT[4], SHIB[846036.1765763], USD[0.00]                                                                                                           Yes

07844670                              SOL[3.15783], USD[1.58]

07844676       Contingent, Disputed   ETH[.008991], ETHW[.008991], SOL[8.45853118], USD[0.00]

07844684                              BRZ[2], BTC[.05029912], DOGE[1], USD[0.79]                                                                                                                          Yes

07844697                              BTC[.00087304], CUSDT[1], USD[0.00]                                                                                                                                 Yes

07844703                              NFT (389424412304856368/Miami Ticket Stub #710)[1]

07844705                              ETHW[0], SOL[.00819872], TRX[.000001], USDT[1.30546728]

07844706                              ETH[.01], ETHW[.01], SOL[0]

07844715                              NFT (417314994553570247/Bahrain Ticket Stub #1538)[1], NFT (418816776004756752/FTX - Off The Grid Miami #5632)[1], NFT (424113884596232590/Loewy)[1], USD[579.52]   Yes

07844717                              BTC[.0291776], ETH[.809182], ETHW[.30299], MATIC[16], SOL[.86561], USD[608.40]

07844718                              SOL[4.4857345], USD[1.49]

07844720                              SOL[.00004576]

07844723                              BAT[1], BRZ[2], DOGE[3], GRT[1], SHIB[11], SUSHI[1], TRX[2], USD[0.01], USDT[1]

07844724                              DOGE[2], ETH[.00000089], ETHW[.00000089], USD[0.00]

07844731                              NFT (538844166294530915/Microphone #1993)[1]

07844732                              CUSDT[1], DOGE[1], USD[0.01]                                                                                                                                        Yes

07844741                              USD[0.00], USDT[0]                                                                                                                                                  Yes

07844746                              BTC[0]

07844751                              BTC[.02839431], CUSDT[2], DOGE[2], ETH[.38133071], ETHW[.38117063], USD[0.00]                                                                                       Yes

07844753                              USD[27.37]                                                                                                                                                          Yes

07844755                              ETH[0], ETHW[0], SOL[0.00000001]

07844757                              NFT (393576120655440072/Coachella x FTX Weekend 1 #8595)[1]

07844759                              BTC[0], ETHW[3.055165], SOL[.00000001], USD[1.73]

07844761                              BTC[0], CUSDT[0], ETH[.00000001], KSHIB[0], LINK[0], MATIC[0], USD[0.00], USDT[0.00018540]

07844764                              USD[0.00]

07844767                              NFT (349419597119222834/Hall of Fantasy League #296)[1]

07844769                              NFT (570241466007801182/ApexDucks Halloween #1438)[1]

07844774                              BTC[.0317672], ETHW[.282], SOL[29.51], USD[5.43]

07844775                              USD[0.00]

07844784                              USD[0.00]                                                                                                                                                           Yes

07844786                              SOL[.81], USD[1.20]

07844803                              GRT[1.00367791], TRX[1], USD[0.00]                                                                                                                                  Yes

07844807                              BTC[0], USD[0.00], USDT[1.25396840]

07844808                              BTC[0], ETH[.00000012], ETHW[.00000012], SOL[0.00000001], USD[0.00]

07844820                              BTC[.02930156], SOL[0], USD[0.00]

07844823                              BTC[.00004]

07844828                              ETHW[0.91489914]
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07844829                              BTC[.07497615], GRT[1220.81960395], LTC[1.13431101], MATIC[183.50858224]                                                                                                               Yes

07844832       Contingent, Disputed   USD[0.00]

07844833                              USD[0.00]

07844838                              USD[0.00]

07844839                              BRZ[2], BTC[.01135718], CUSDT[4], MATIC[96.89846277], USD[0.00]                                                                                                                        Yes

07844846                              USD[1.58]

07844856                              NFT (288326437749515971/Saudi Arabia Ticket Stub #2388)[1], SOL[.15024]

07844860                              USD[0.00]

07844861                              EUR[0.06]

07844864       Contingent, Disputed   SOL[.009995], TRX[.000001]

07844868                              CUSDT[1], USD[0.00]

07844875                              ETH[0], USD[0.00]

07844879                              SOL[.00287797], TRX[.000001], USD[0.00], USDT[2.61590492]

07844884                              USD[0.00], USDT[0]

07844887                              BTC[0.00001146], ETH[.00000001], ETHW[.00013658], NFT (515486207902877483/The Hill by FTX #2672)[1], SOL[.03294], TRX[.000006], USD[0.00], USDT[0]

07844889                              USD[0.00]

07844895                              ETH[.00002], ETHW[.00002], SOL[0], USD[0.00]

07844897                              BTC[.00043926], USD[0.00]

07844898                              SOL[.00000001], TRX[.000001], USD[0.00], USDT[0.52687020]

07844899                              CUSDT[1], DOGE[1], USD[0.00]

07844901                              SOL[0]

07844908                              USD[0.00], USDT[1.1506711]

07844913                              BF_POINT[100], SHIB[.00002909], USD[0.01]                                                                                                                                              Yes

07844926       Contingent, Disputed   SOL[0]

07844927                              DOGE[0], ETH[.08099645], ETHW[.08099645], MATIC[0], SHIB[14285700], SOL[0], USD[14.13]

07844936                              SOL[0]

07844937                              USD[1.01]

07844938                              CUSDT[1], NFT (439625188630220235/AI-generated landscape #60)[1], NFT (478671182571324710/Flying )[1], NFT (545807628434517307/Screaming )[1], SOL[.17205559], USD[0.78]               Yes

07844942                              LINK[.0428], NFT (499524672095456811/The Hill by FTX #4129)[1], USD[0.00]

07844945                              ETH[0], USD[0.00]

07844946                              NFT (337770468769084233/#6733 Inverse Bear)[1], NFT (534804696438393569/Toasty Doge Egg)[1], USD[0.00]

07844950                              BTC[.0000383], SOL[5.4572], USD[1.01]

07844955                              DOGE[2], USD[0.00]                                                                                                                                                                     Yes

07844959                              ETH[0], SOL[0.00000001], USD[0.00]

07844965                              USD[0.45]

07844968                              USD[21.89]                                                                                                                                                                             Yes

07844977                              BTC[.000078], USD[1104.25]

07844978                              BF_POINT[2400], ETH[0], ETHW[.1835704], NFT (349002433099493332/Aave Ghost)[1], NFT (414630378772569713/BigDino1)[1], NFT (479489375326759309/VoskCoin Hexagon NFT PFP)[1], NFT
                                      (520547042874487772/Shiba#1292)[1], NFT (535851423681617338/VoskCoin Shiba SolGang)[1], NFT (558302072122688822/Arun Tanknees)[1], USD[3.83], USDT[0]
07844999                              SOL[.00343638]

07845000                              USD[0.00]

07845001                              BTC[0], ETH[0], SOL[0], USD[0.00], USDT[0.00000022]

07845006                              ETHW[.973626], MATIC[8.992], USD[0.54]

07845008                              LTC[.00129737], USDT[0.00001402]

07845011                              BTC[.0037], ETH[.049], ETHW[.049], SOL[4.07], USD[1.00]

07845012                              AVAX[.0261], DOGE[.396], ETH[.0005], ETHW[.0005], LINK[.0891], USD[10.26]

07845015                              BTC[.00067736], CUSDT[26], DOGE[118.82539193], ETH[.04271616], ETHW[.04218264], LINK[9.6043004], MATIC[15.3312928], NFT (471982612666532279/Coachella x FTX Weekend 1 #9816)[1],       Yes
                                      TRX[269.24168745], USD[0.44]
07845016                              USD[0.00]

07845021                              ETH[0], SOL[0.00000001]

07845026                              DOGE[0], NFT (322577083990337910/Australia Ticket Stub #1798)[1], NFT (327963042539742109/Netherlands Ticket Stub #114)[1], NFT (339373918131618354/Imola Ticket Stub #2381)[1], NFT
                                      (350277602251424766/Saudi Arabia Ticket Stub #906)[1], NFT (369859943783736057/Austria Ticket Stub #199)[1], NFT (382174436358484512/Hungary Ticket Stub #289)[1], NFT
                                      (383732513826291187/Silverstone Ticket Stub #200)[1], NFT (405141174116774357/Australia Ticket Stub #1024)[1], NFT (413664577221942235/Monza Ticket Stub #85)[1], NFT
                                      (413772816344151970/Singapore Ticket Stub #114)[1], NFT (414519631442544447/Imola Ticket Stub #2230)[1], NFT (427091975960758164/France Ticket Stub #185)[1], NFT
                                      (435336195638990310/Austin Ticket Stub #168)[1], NFT (445940943080054542/Belgium Ticket Stub #298)[1], NFT (471566888642300831/Japan Ticket Stub #171)[1], NFT
                                      (483905397926281710/Saudi Arabia Ticket Stub #487)[1], NFT (497867795520157372/FTX - Off The Grid Miami #7570)[1], NFT (510585457528822550/DogeBob)[1], NFT
                                      (571012492654897651/Bahrain Ticket Stub #137)[1], NFT (571387402279972037/FTX - Off The Grid Miami #4260)[1], SOL[0.36697321], TRX[1], USD[0.00]
07845027                              BRZ[2], CUSDT[5], SHIB[7], TRX[1], USD[0.01], USDT[1]

07845042                              ETH[.00359693], ETHW[.00355589], NFT (297729078824071857/Coachella x FTX Weekend 1 #24165)[1], USD[0.01]                                                                               Yes

07845046                              AVAX[29.5], ETHW[64.98], GRT[1005], NEAR[366.84654687], SOL[0], USD[167.42], USDT[0.00000008]

07845065                              LINK[26.10564048]                                                                                                                                                                      Yes

07845088                              SOL[.11]
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                                                                                                                                            Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07845098                              BRZ[1], ETH[.00000156], ETHW[.07372221], SHIB[6], SOL[19.01564216], TRX[1], USD[0.00]                                                                                             Yes

07845105                              USD[0.00]

07845110       Contingent, Disputed   BTC[0], ETH[0.00000002], ETHW[0], LTC[0], USD[0.76], USDT[0]

07845113                              BRZ[1], ETH[.67614719], ETHW[.67614719], USD[0.00]

07845124                              ETHW[.0249775], USD[1.49]

07845125                              BTC[.00000167], ETHW[.21042383], USD[0.00]

07845126                              BTC[.00001482], USD[613.11]

07845133                              USD[11.97]                                                                                                                                                                        Yes

07845136                              SOL[0]

07845139                              BTC[.14010917], CUSDT[1], SHIB[154126.38363458], TRX[1], USD[0.00]

07845141                              BTC[0], USD[950.52], USDT[5080.12437900]

07845147                              ETH[0]

07845148                              BF_POINT[200], SOL[-0.00000001], USD[0.00]                                                                                                                                        Yes

07845155                              BRZ[582.18971854], CUSDT[5047.6227944], DOGE[954.23642352], ETH[.01876986], ETHW[.0185373], GRT[153.82170096], MATIC[144.75411348], TRX[3546.40437245], USD[0.00]                 Yes

07845156                              ALGO[182.817], AVAX[7.68984], BTC[0.00399600], ETH[.076883], ETHW[.026933], USD[4.12]

07845158                              NFT (320659487014964947/Australia Ticket Stub #2462)[1], NFT (389641658364588288/2974 Floyd Norman - CLE 2-0116)[1], NFT (476182744020701765/2974 Floyd Norman - CLE 5-0103)[1]

07845159                              SOL[.000995], USD[0.01], USDT[0]                                                                                                                                                  Yes

07845160                              CUSDT[4], SOL[1.54167354], TRX[1], USD[0.36]                                                                                                                                      Yes

07845167                              USD[1.49], USDT[0.00000001]

07845172                              USD[0.00], USDT[0]                                                                                                                                                                Yes

07845179                              USD[109.37]                                                                                                                                                                       Yes

07845187                              DOGE[9], GRT[1], SHIB[49], TRX[11], USD[0.01], USDT[1.00000001]

07845192                              ETH[.00000001], ETHW[0], TRX[.000199], USD[20.30], USDT[0]

07845196                              ETH[.00000001], USD[0.00]

07845198                              USD[13.21]

07845203                              CUSDT[4], ETH[.02504225], ETHW[.02504225], TRX[2], USD[0.00]

07845205                              DOGE[1], SOL[0.00000001], TRX[1], USD[0.00]                                                                                                                                       Yes

07845213                              ETH[0.00040395], ETHW[0.00040395], USD[1.96], USDT[0.00000081]

07845223                              AAVE[.00000761], BRZ[1], ETH[0], ETHW[.29735583], LINK[.00010402], SHIB[16], TRX[1], USD[0.04]                                                                                    Yes

07845224                              USD[54.78]                                                                                                                                                                        Yes

07845227                              CUSDT[2], SOL[.41765791], USD[0.00]                                                                                                                                               Yes

07845236                              ETHW[.659], USD[1.94]

07845238                              BTC[.00016089], SOL[.00348112], USD[0.00]

07845240                              BTC[0], ETH[0], NFT (506418138834078913/Imola Ticket Stub #898)[1], NFT (508319664054940902/FTX - Off The Grid Miami #5838)[1], USD[273.73], USDT[500.59217465]

07845242                              USD[1.05]

07845246       Contingent, Disputed   BTC[0.00000348], ETH[0], USD[0.00], USDT[0]

07845258                              BTC[.0022977], USD[0.45]

07845265                              USD[0.00]                                                                                                                                                                         Yes

07845266                              ETHW[.000089], USD[3.07]

07845270       Contingent, Disputed   SOL[0], TRX[1], USD[0.00]                                                                                                                                                         Yes

07845280                              ETH[.00060675], USD[1.11]

07845285                              USD[0.60]

07845286                              USD[0.00]

07845291                              BTC[.00883782], CUSDT[2], DOGE[1297.23390721], ETH[.14375037], ETHW[.14284686], MATIC[192.71546097], TRX[1], USD[0.38]                                                            Yes

07845292                              NFT (478852767946594044/FTX - Off The Grid Miami #1252)[1]

07845296                              USD[0.00], USDT[0]

07845298                              LINK[112.6032], SOL[16.32195], USD[1808.12]

07845305                              ETH[.00000001], USD[0.00]

07845308                              LINK[.058], SOL[.00965], USD[4.29]

07845320                              CUSDT[2], DOGE[41071.20700762], SHIB[44781420.29491075], TRX[4], USD[0.01]                                                                                                        Yes

07845323                              TRX[.000049]

07845324                              USD[0.00], USDT[0.00000128]

07845325                              BTC[0], ETHW[.681], TRX[4015.98], USD[0.44]

07845336                              BTC[.00007091]

07845340                              ETH[.00000001], USD[0.00]

07845341                              CUSDT[1], USD[0.03]                                                                                                                                                               Yes

07845343                              TRX[50.745662], USD[15.39]

07845345                              TRX[1], USD[0.01]                                                                                                                                                                 Yes
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07845351                              BTC[0], SOL[0], USD[0.00]                                                                                                                                                               Yes

07845352                              AAVE[0.00022171], BAT[14.29118809], BRZ[18.17852239], BTC[0], CUSDT[2], ETH[0.00019550], ETHW[100.20177473], GRT[0], LINK[1203.44049474], MATIC[.03444022], NFT                         Yes
                                      (403612005668912634/Viki Fat)[1], SHIB[8528.26189886], SOL[0], SUSHI[1.01635541], TRX[60.02254235], USD[0.02], USDT[6.07787708]
07845358                              LTC[.18748341]

07845371                              BTC[.00048652], DOGE[22.51917946], ETH[.00119113], ETHW[.00117745]                                                                                                                      Yes

07845376                              ETH[0.03441031], ETHW[0.03398623], USD[0.00]                                                                                                                                            Yes

07845377                              BTC[.00006966], ETH[0.00015677], ETHW[0.00015677], KSHIB[4.87575], LINK[.049619], NEAR[.066466], SUSHI[.02188], TRX[.000029], UNI[.008693], USD[56.29], USDT[0]

07845379                              NFT (379237004616764237/Hall of Fantasy League #285)[1]

07845388                              ETH[.11688], ETHW[.11688], SHIB[200000], USD[2.33]

07845392                              NFT (374257446675613517/Australia Ticket Stub #1113)[1], NFT (398857921536753686/Cosmic Creations #47)[1], NFT (459190383004506749/Ferris From Afar #611)[1], NFT
                                      (527763343286516838/Reflection '12 #39)[1], USD[0.00], USDT[0]
07845394                              USD[100.00]

07845403                              DOGE[379.80122874], ETH[0], ETHW[0], MATIC[530], NFT (361727826867842099/Cyber Pharmacist 6854)[1], NFT (524442148079661604/Cyber Pharmacist 0049)[1], NFT
                                      (560834661291133440/Cyber Pharmacist 0118)[1], SHIB[1187084.52041785], SOL[10.72582188], SUSHI[3.996], UNI[7.75207618], USD[5125.73]
07845414                              ETH[0], ETHW[0], USD[0.00]                                                                                                                                                              Yes

07845415                              TRX[.000001], USDT[0.00000054]

07845417                              DOGE[1], SHIB[1], SOL[.00000661], USD[0.70]                                                                                                                                             Yes

07845429                              ETH[.00000998], ETHW[.00000997], SHIB[3], TRX[1], USD[0.00], USDT[0.00000958]                                                                                                           Yes

07845435                              DOGE[1], USD[0.01]                                                                                                                                                                      Yes

07845436                              ETH[0], NFT (336996585508694881/The 2974 Collection #1655)[1], NFT (374709602723477855/Birthday Cake #1655)[1], NFT (478305915970283482/2974 Floyd Norman - CLE 6-0247)[1], USD[1.00]

07845438                              BRZ[2], DOGE[2], MATIC[282.41994443], NFT (346479304128311069/#0373 Fuzzy)[1], NFT (354545302887448322/#0615 Pirate)[1], NFT (376455557279985931/#0599 Pirate)[1], NFT                  Yes
                                      (408628069445523630/Founding Frens Lawyer #493)[1], NFT (421586884780503495/#0801 Player)[1], NFT (432723958285738636/Ronin Duckie #57)[1], NFT (438918181549411651/Founding Frens
                                      Lawyer #485)[1], NFT (498987280905785775/Founding Frens Lawyer #657)[1], NFT (515677284824459908/Founding Frens Lawyer #421)[1], NFT (557258426782814228/#0142 Brick Top)[1], NFT
                                      (569133282619914670/#0534 Elf)[1], SHIB[194.42301023], SOL[4.6881487], TRX[2], USD[0.00], USDT[1.07249798]
07845442                              AAVE[0], BAT[0], BCH[0], BTC[0], DOGE[0], ETH[0], ETHW[0], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], MKR[0], PAXG[0], SOL[0], SUSHI[0], UNI[0], USD[0.00], USDT[0], YFI[0]

07845444                              BTC[1.00087099], SOL[.00603], USD[0.54]

07845447                              ETH[.00000001], ETHW[1.09238063], LINK[21.17227443]                                                                                                                                     Yes

07845449                              USD[10.02]

07845451                              USDT[.3197148]

07845453                              CUSDT[1], ETHW[.01854325], SHIB[1], USD[24.31]

07845454                              BTC[.0351648], USD[13.99]

07845457                              CUSDT[1], SHIB[282516.44686975], TRX[2], USD[0.00]

07845463                              BF_POINT[100]                                                                                                                                                                           Yes

07845464                              USD[1.47], USDT[.001846]

07845468                              BRZ[1], CUSDT[2], TRX[1], USD[0.00]                                                                                                                                                     Yes

07845470                              BRZ[2], BTC[.00704881], CUSDT[6], DOGE[5.02575555], ETH[.07934383], ETHW[.07836175], GRT[46.1029334], LINK[3.18255588], MATIC[28.46147229], SHIB[1], SOL[1.13875306], TRX[2],           Yes
                                      USD[106.33], USDT[0]
07845473                              BTC[.2881167], ETH[7.090902], ETHW[7.090902], LINK[100], LTC[19.98], SHIB[18800000], USD[3.29]

07845482                              BTC[0], USD[0.00], USDT[0]

07845487                              BRZ[1], BTC[.00800792], CUSDT[1], DOGE[2], ETH[.04204275], ETHW[.04152291], SOL[.63737811], USD[534.87]                                                                                 Yes

07845502                              BRZ[1], CUSDT[3], DOGE[3], MKR[.00000175], NFT (376311052237370434/Entrance Voucher #3701)[1], TRX[1], USD[0.01]                                                                        Yes

07845511                              ETH[0], SOL[-0.00000001], USDT[0.00002575]

07845512                              BTC[0.00961725], USD[0.00], USDT[.06037794]

07845517                              BRZ[3], CUSDT[146.00354425], DOGE[4], ETH[0.16429046], ETHW[0.16388096], MATIC[224.44326840], NFT (366354425745283594/Founding Frens Lawyer #647)[1], NFT                               Yes
                                      (451154753721303009/Kobe #4)[1], SHIB[10], SOL[0], TRX[64.41536918], USD[11.26]
07845520                              USDT[0.00000148]

07845530                              ETH[4.279], ETHW[4.279], LINK[168.46], SOL[49.11495016], SUSHI[787.48303804], USD[3.24], USDT[0.00000001]

07845539                              SOL[.00365714], USD[49.50]

07845541                              USDT[99.12130239]                                                                                                                                                                       Yes

07845545       Contingent, Disputed   ALGO[.00479834], BRZ[2], BTC[0], DOGE[2], MATIC[0], NEAR[.0001054], SHIB[4], TRX[1], USD[0.00]                                                                                          Yes

07845550                              CUSDT[2], LTC[1.90278601], USD[0.00]

07845553                              BTC[0], ETH[0], LINK[0], MATIC[0], TRX[.011179], USD[0.00], USDT[0.00011651]

07845556                              BTC[.022703]

07845557                              TRX[4805.5949112], USD[0.00]                                                                                                                                                            Yes

07845586                              BRZ[2], CUSDT[13], DOGE[1], TRX[1], USD[0.11], USDT[0.00040164]                                                                                                                         Yes

07845588                              LTC[.0630914], USD[0.00]

07845602                              BTC[.00089812], USD[0.00]

07845612                              USD[0.01], USDT[0]                                                                                                                                                                      Yes

07845622                              BTC[0.00004282], ETH[0], ETHW[0.00032040], SOL[0.00679587], USD[354.77]

07845627                              USD[50.00]

07845640                              GRT[579], SOL[8.06], SUSHI[259], USD[0.03]

07845646                              AAVE[.13228259], CUSDT[1], USD[0.00]                                                                                                                                                    Yes

07845649                              BTC[.00353469]                                                                                                                                                                          Yes
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                                                                                                                                            Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07845653                              DOGE[36.23888761], USD[90.00]

07845660                              NFT (412259868209073767/Entrance Voucher #24959)[1]

07845664                              BTC[.00630598], SOL[.00999], USD[0.00]

07845665                              USDT[.552378]

07845669                              AVAX[6.19317113], CUSDT[1], DOGE[1], ETH[2.16059397], ETHW[2.15966678], SHIB[1], SOL[2.1996539], TRX[4], USD[0.01], USDT[1.09527354]                                             Yes

07845680                              BTC[.00000007], CUSDT[4], DOGE[2], ETH[0], ETHW[0], TRX[5], USD[0.00]                                                                                                            Yes

07845681                              BTC[0], ETH[.00000001], MATIC[0]

07845696                              NFT (294548674522437181/Microphone #9463)[1], NFT (426335816602819931/Entrance Voucher #4565)[1], NFT (552850141757426751/Romeo #2214)[1]

07845703                              BAT[3.20081023], BTC[.00000056], ETHW[.45819175], LINK[.00018136], SHIB[1], USD[6608.55]                                                                                         Yes

07845714                              LINK[0], SOL[0.00000031], USD[0.00], USDT[0.00000373]

07845722                              ETH[.00082579], ETHW[.00082579], USD[0.93]

07845740                              LINK[187.1127], USD[17.49]

07845745                              USD[0.00]

07845752       Contingent, Disputed   BF_POINT[500], USD[5.58]                                                                                                                                                         Yes

07845755                              BTC[0], DOGE[1], TRX[5.000127], USD[0.00], USDT[.03101111]                                                                                                                       Yes

07845757                              NFT (313334883867646576/Warriors 75th Anniversary Icon Edition Diamond #2162)[1], NFT (467479395443190072/Warriors Gold Blooded NFT #849)[1]

07845762                              CUSDT[2], DOGE[1], SHIB[613934.69533632], USD[83.38]                                                                                                                             Yes

07845767                              CUSDT[10], DOGE[4.02183096], TRX[5], USD[0.21], ZAR[0.00]                                                                                                                        Yes

07845771                              PAXG[.000649], USD[0.00]                                                                                                                                                         Yes

07845782                              USD[0.00]

07845783                              ALGO[112.6525624], USD[0.00]

07845791                              DOGE[1], SHIB[1], TRX[1], USD[0.01]                                                                                                                                              Yes

07845800                              NFT (523250035383946921/Hall of Fantasy League #320)[1]

07845805                              DOGE[5.73951192], USD[0.00], USDT[0]                                                                                                                                             Yes

07845807                              CUSDT[1], ETH[.00856715], ETHW[.00856715], USD[0.00]

07845813                              ALGO[0], ETH[0], MATIC[0], USD[0.00], USDT[0]

07845816                              ETH[0], USD[0.70]

07845831                              CUSDT[1], SHIB[196578.49382406], USD[1.09]                                                                                                                                       Yes

07845838                              USD[0.42]

07845839                              BF_POINT[100]

07845841                              BCH[0], BTC[0], ETH[0.21463950], ETHW[7.29463211], SOL[0], USD[1441.52]                                                                                                          Yes

07845863                              BTC[0], ETH[0], USD[0.06]

07845864                              BTC[0], ETHW[1.2228372], SHIB[6300000], USD[0.58]

07845885                              USD[0.00]

07845888                              DOGE[.452], USD[0.31], USDT[186.74307]

07845892                              ETH[.000908], ETHW[.000908], USD[0.39]

07845898                              DOGE[675.40264474]                                                                                                                                                               Yes

07845907                              LTC[.12489072]

07845910                              BTC[0], DOGE[0], LTC[0], MKR[0], NFT (401560872024674545/Dream Women #5)[1], USD[0.09]                                                                                           Yes

07845913                              AAVE[.00345922], ALGO[4.51059637], AVAX[.01270155], BAT[7.04130402], BCH[.00160466], BRZ[29.6314112], BTC[.00139086], CUSDT[151.80652461], DAI[.99465154], DOGE[109.69293084],   Yes
                                      ETH[.00286601], ETHW[.27287163], GRT[3.34028072], KSHIB[178.51135747], LINK[.03121395], LTC[.00512461], MATIC[.62226962], MKR[.0012362], NEAR[.30245628], PAXG[.00422362],
                                      SHIB[16765054.39657013], SOL[.01512775], SUSHI[.0941771], TRX[80.45619386], UNI[.03784008], USD[0.72], USDT[.99509489], YFI[.00002858]
07845916                              DOGE[1], SHIB[1], USD[0.00]                                                                                                                                                      Yes

07845918                              USD[0.00], USDT[.47461813]

07845929                              NFT (383322601046419756/FTX - Off The Grid Miami #1662)[1]

07845930                              SHIB[.00000001], USD[0.00], USDT[0]

07845939                              BTC[.00465963], ETH[0], ETHW[0]

07845958                              NFT (529457476942020215/Hall of Fantasy League #279)[1]

07845978                              USD[0.00]

07845987                              USD[0.00]                                                                                                                                                                        Yes

07845990                              USD[0.00]

07845993                              LTC[0], USD[0.00]

07846005                              USD[0.00], USDT[0]

07846021                              AVAX[5.5], BF_POINT[300], BTC[.00009345], ETH[.0009069], ETHW[.551354], MATIC[9.9905], SOL[1.10000000], USD[7694.79]

07846061                              USD[10.00]

07846067                              BF_POINT[100], NFT (338713991081218251/Microphone #543)[1], NFT (529185331959841877/Warriors 75th Anniversary Icon Edition Diamond #609)[1]

07846070                              BTC[.00003123], ETH[.00047], MATIC[.7], SOL[.00028074], USD[0.02]

07846075                              USD[0.00]

07846080                              SOL[0]
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                                                                                                                                            Customer Claims                                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07846089                              USD[0.00]

07846128                              USD[2.65]

07846144                              AAVE[0.00000043], BAT[0], BCH[0.00091494], BRZ[0], BTC[0], CAD[0.00], CUSDT[0], DOGE[0], GRT[0], SOL[0], TRX[1], USD[0.00]                                                      Yes

07846148                              USD[1.28]

07846149                              NFT (550932242563518159/Saudi Arabia Ticket Stub #674)[1], SOL[.055]

07846151                              BTC[0], USD[0.00], USDT[0]

07846156                              SOL[3.41966203], USD[0.00]

07846157                              AAVE[1.00147375], ALGO[216.12366827], AVAX[5.50761073], BCH[.3004384], BTC[.0370544], CUSDT[36], DOGE[1251.78848298], ETH[0.07654428], ETHW[0.05922506], GRT[1369.1220425],     Yes
                                      KSHIB[3536.04004204], LINK[10.83169992], LTC[1.30180352], MATIC[140.20471893], MKR[.05427634], NEAR[4.00589191], SHIB[4437737.71321355], SOL[9.11211804], SUSHI[10.01460796],
                                      TRX[1315.33559885], UNI[15.02190742], USD[0.00], USDT[0], YFI[.00116328]
07846162                              ETH[.000489], ETHW[.000489], SOL[.00925], USD[13.79]

07846202                              NFT (336271722241100254/Saudi Arabia Ticket Stub #1988)[1], NFT (472584550185348623/Entrance Voucher #3651)[1], USD[1.66]

07846213                              NFT (309805614713539920/Saudi Arabia Ticket Stub #1139)[1]

07846217                              USD[4000.00]

07846232                              ETH[0], SOL[0], TRX[0], USDT[0.00000810]

07846233                              NFT (430758474147202582/PROJECT ZERO #1594)[1], SOL[1]

07846235                              USD[0.00], USDT[0]

07846243                              BTC[0], ETH[0], ETHW[0.05946293], SOL[0], USD[9.81]

07846247       Contingent,            USD[6309.90]
               Unliquidated
07846251                              BAT[1.01164717], BRZ[1], BTC[.01512776], CUSDT[3], DOGE[5], MATIC[.00009556], TRX[2], USD[0.00], USDT[0]                                                                        Yes

07846257                              ETH[0], SOL[0], USD[0.00]

07846267                              NFT (451946906029670626/Bahrain Ticket Stub #1816)[1]

07846268                              AAVE[.00000001], DAI[.00000001], ETH[0.00009902], ETHW[6.84251259], LINK[.00000001], SOL[.00000001], UNI[.00000001]                                                             Yes

07846269                              CUSDT[3], USD[0.00]                                                                                                                                                             Yes

07846276                              SOL[0.07525258], USD[0.00]

07846278                              BTC[0.00913068], ETH[.0000203], ETHW[.0000203], SHIB[1], USD[0.00]                                                                                                              Yes

07846287                              BTC[.00003], DOGE[0], ETH[0.00020039], ETHW[0.00020040], LTC[0], SOL[0.00000001], USD[30020.98], USDT[0.00000097]

07846297                              ETH[2.5], ETHW[2.5], USD[612.00]

07846306                              USD[0.00]

07846324                              SHIB[1], SOL[.00081286], USD[0.00]                                                                                                                                              Yes

07846329                              AAVE[5.098], BAT[999], ETHW[.624375], GRT[4512.483], LTC[10.1898], MATIC[1106.4], SHIB[33066900], SOL[21.2787], USD[2.58], USDT[0.00000001]

07846330                              AAVE[0], DOGE[2], ETH[.00000001], ETHW[0], MATIC[0], SOL[0], TRX[1], UNI[1.03889367], USD[0.00], USDT[1.04718117]                                                               Yes

07846333                              USD[0.00], USDT[0.00394134]

07846334                              AAVE[.02719], ETH[.000988], ETHW[.000988], LINK[.0713], LTC[.00913], SOL[.00859], SUSHI[1.965], TRX[.000001], UNI[.0482], USDT[0]

07846346                              USD[0.00]

07846351                              BF_POINT[100]                                                                                                                                                                   Yes

07846352                              MATIC[0], NEAR[0], NFT (556270252667027727/Entrance Voucher #1730)[1], SHIB[0], SOL[0], USD[999.19]                                                                             Yes

07846357                              ETH[.00000001], ETHW[0.68900000], USD[0.00]

07846359                              NFT (537508588845161056/Coachella x FTX Weekend 1 #23854)[1]

07846360                              SHIB[24000000], SOL[0], USD[0.20]

07846365                              USD[5.03]

07846366                              AVAX[0], DOGE[629], SUSHI[10.18300139], USD[0.03]

07846368                              DOGE[2], ETHW[1.12390843], NEAR[43.04690021], SHIB[1], SOL[0]                                                                                                                   Yes

07846369                              DOGE[20636.01015539]                                                                                                                                                            Yes

07846370                              BF_POINT[200], TRX[1], USD[0.00]                                                                                                                                                Yes

07846374                              USD[2.51]

07846391                              BTC[0], USD[0.34], USDT[0]

07846403       Contingent, Disputed   BTC[0.01557237], ETH[1.11394075], ETHW[1.11394075], GRT[199.81], LINK[34.96675], MATIC[499.525], UNI[10.19031], USD[900.00]

07846405                              AVAX[.0991], USD[1.48]

07846412                              DOGE[.30253027], SHIB[.46243221], SOL[.00000975], USD[0.00]

07846413                              BCH[6.92777249], BTC[2.28156909], ETH[32.05787103], ETHW[32.05787103], LTC[17.31277349], SHIB[96861681.51879116], SOL[.00023788], USD[13.65], USDT[587.63016324]

07846415                              USD[0.00]

07846416                              SHIB[.00000001], USD[0.00]

07846418                              USD[1.15]

07846423                              SOL[2.90709001], USD[2.10]

07846426                              SOL[47.67966], USD[1.34]

07846430                              BTC[1.06372145], ETH[16.4385476], ETHW[16.43365809]                                                                                                                             Yes

07846443                              SOL[.00000001]

07846447                              BTC[0.00003702], ETH[.000882], ETHW[.000882], SOL[.00436], USD[2.24]
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                                                                                                                                         Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07846453                           NFT (570212842462842705/Good Boy #88)[1], USD[0.00]

07846458                           SHIB[1], USD[0.00]

07846469                           BTC[0], USD[0.24], USDT[2.56340803]

07846495                           USD[0.00]

07846497                           ALGO[0], AVAX[0.00001516], BAT[0], BF_POINT[200], BTC[0.00000009], DOGE[1], ETH[0], ETHW[0.69854278], LINK[0], MATIC[21.31393000], NEAR[1.38958661], SHIB[356409.30004756], SOL[0],     Yes
                                   TRX[168.07040607], USD[0.00], USDT[0]
07846507                           BAT[225], BTC[.051069], ETH[.45383895], ETHW[.45383895], MATIC[2733.64740293], USD[3.92]

07846511                           SOL[1.06], USD[1.03]

07846517                           ALGO[2318.68947897], SHIB[2515308.23474868]                                                                                                                                             Yes

07846518                           BTC[0], USD[0.00]

07846521                           CUSDT[1], SHIB[695259.27985541], USD[0.00]

07846525                           BRZ[1], CUSDT[4], SHIB[2.00000002], USD[0.01], USDT[.00457342]                                                                                                                          Yes

07846528                           BTC[0.00000843], ETH[.00022599], ETHW[0.00022598], SOL[2], USD[1.56]

07846533                           USD[20.00]

07846542                           DOGE[1], USD[0.00]                                                                                                                                                                      Yes

07846543                           BTC[.00005874], ETH[.00052], ETHW[.00052], LINK[.0009], MATIC[9.88], SOL[.002338], USD[2.00]

07846547                           NFT (451873159762787593/Australia Ticket Stub #1834)[1]

07846548                           MATIC[440], USD[11.50]

07846550                           BTC[0], ETH[.00000001], NFT (529016641466976417/Mech #1624)[1], SOL[0], USD[0.00], USDT[0.00001104]

07846553                           BAT[3.0008494], BF_POINT[200], BRZ[9.20894381], BTC[.00000055], CUSDT[6], DOGE[.13484908], ETH[0], ETHW[1.01429289], GRT[1], NEAR[0], NFT (443926498283076104/FTX Planet #14)[1],       Yes
                                   NFT (538195674242065630/FTX Planet #9)[1], SHIB[729.60623161], SOL[.00000001], TRX[21.37145841], USD[0.00], USDT[0]
07846566                           USD[5174.36]

07846567                           DOGE[1536.86781476], USD[0.00]

07846568                           USD[0.19]

07846570                           ETH[.00024874], ETHW[.00024874], USD[8.87]

07846573                           ETH[0], LINK[0], SOL[0], USD[0.00], USDT[0.00000137]

07846583                           SOL[0.00858835], USD[0.00]

07846588                           PAXG[.00008985], USD[0.00], USDT[0]

07846589                           ETH[0], ETHW[13.63277184]

07846591                           BAT[45.07091993], BCH[0.14302420], ETH[.00025857], ETHW[.00025857], GRT[76.20242917], LINK[7.12521394], MKR[0], TRX[255.40900100]

07846598                           SOL[.31815629], USD[0.00]

07846603                           CUSDT[1], ETH[.03513067], ETHW[.03513067], USD[0.00]

07846605                           USD[0.03]

07846606                           BRZ[72.02686947], CUSDT[1], USD[0.00]                                                                                                                                                   Yes

07846608                           USD[0.00]

07846612                           USD[9993.43]

07846615                           BTC[0.00015734], USD[3.84]

07846616                           NFT (451301112030527290/The Hill by FTX #8093)[1]

07846623                           LINK[4.79544], LTC[.00614542], SOL[.0023923], USD[0.00]

07846629                           USD[0.10]

07846632                           USD[0.00]

07846636                           SOL[.50949], USD[2.18]

07846644                           ETH[0], ETHW[0], SHIB[.00000001], USD[0.00]

07846645                           USD[489.36]

07846646                           CUSDT[1], ETH[.06442462], ETHW[.06442462], USD[0.01]

07846648                           BTC[0], ETH[0], USD[0.01]

07846652                           USD[0.00], USDT[2.26130649]

07846653                           DOGE[1], SHIB[4], TRX[1], USD[0.01]

07846654                           AAVE[1.89], AVAX[11.1], DOGE[51], ETH[.416613], ETHW[.416613], LINK[51.17084], MATIC[539.793], NFT (291271169765423154/Entrance Voucher #29466)[1], NFT (521686273632253496/Bahrain
                                   Ticket Stub #437)[1], SHIB[13200000], SOL[5.305221], SUSHI[67], USD[0.10]
07846657                           BTC[.0004651], DOGE[.975], USD[5.36]

07846660                           BTC[0.00000424], USD[0.24]                                                                                                                                                              Yes

07846662                           USD[0.00]

07846668                           BTC[.00259753], USD[3.40]

07846669                           NFT (308185480378919115/Cyber Pharmacist 5189)[1], NFT (391291840893271397/Misty Winter #335)[1], NFT (401960179118610302/Cult of Meerkats #9934)[1], NFT (469130348703775180/Cult of
                                   Meerkats #3677)[1], NFT (484627222742805624/Cyber Pharmacist 2639)[1], SOL[8.32721657], USD[0.00]
07846673                           BTC[0], ETH[.000089], ETHW[0.00008900], PAXG[0], USD[0.00], USDT[0]

07846676                           SOL[0], USD[0.41]

07846685                           BTC[.0044], USD[0.00], USDT[1.74848593]

07846692                           USD[0.01]

07846702                           USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07846703                              USD[0.01]                                                                                                                                                                        Yes

07846707                              USD[0.00]

07846708                              BRZ[1], SHIB[2], TRX[1], USD[0.00]

07846747                              BAT[1], BRZ[1], DOGE[3], LINK[113.57943206], SHIB[6], TRX[2], USD[0.28]                                                                                                          Yes

07846748                              BTC[0.00005964], ETH[0.00000001], ETHW[0], SOL[0], USD[0.00]

07846749                              DOGE[1], SHIB[10410204.45541113], TRX[10381.92365022], USD[0.00]                                                                                                                 Yes

07846753                              BTC[0], MATIC[381.96016391], USD[18.00]

07846755                              USD[0.00], USDT[0]

07846767                              SOL[.13], USD[1.85]

07846772                              SOL[2.47877876], USD[0.02], USDT[0]

07846774                              SHIB[9], USD[0.00]

07846775                              ETH[0], NFT (376871151409863426/Coachella x FTX Weekend 1 #575)[1], SOL[0], USD[0.00]

07846777                              BTC[0.00005575], ETH[0], EUR[0.00], TRX[.000003], USD[0.00]

07846778                              BTC[.00047379], USD[10.33]                                                                                                                                                       Yes

07846779                              USD[0.00]

07846780                              ETH[.12487], ETHW[.12487]

07846781                              BRZ[2], CUSDT[6], DOGE[80.04739398], ETHW[.08613573], MATIC[107.90724089], SHIB[1294740.67477644], TRX[2], UNI[5.65238447], USD[6.80]                                            Yes

07846794                              BTC[0.00087640], ETH[.00012829], ETHW[.00012829], TRX[.000001], USD[0.00], USDT[0.00007230]

07846799                              USD[27.37]                                                                                                                                                                       Yes

07846802                              NFT (288379052703846014/FTX - Off The Grid Miami #1933)[1]

07846809                              USDT[.580765]

07846815                              BAT[1.01327444], BRZ[2], CUSDT[13], DOGE[4], SHIB[3], SOL[25.84722304], SUSHI[207.13912506], TRX[4], USD[139.44]                                                                 Yes

07846818                              EUR[0.00], SOL[3.66715785]

07846820                              SHIB[3], USD[0.00]

07846824                              ETH[1.00156697], ETHW[.92327704], NFT (365259472868570449/Sollama)[1], NFT (368259925475324483/Sigma Shark #1269)[1], NFT (517346198352057251/Leyton, the Dainty)[1], SHIB[1],   Yes
                                      SOL[31.40743589], USD[0.01], USDT[0]
07846841                              USD[547.31]                                                                                                                                                                      Yes

07846845                              USD[0.00], USDT[0]

07846846                              BAT[21.98860101], DOGE[1], MATIC[14.67109777], USD[0.00]

07846851                              ETH[0.00037229], ETHW[0.00037229], USD[0.00]

07846865                              BTC[.00241678], CUSDT[7], DOGE[1], ETH[.0275916], ETHW[.03462396], NFT (420419083541028632/Voxi People #6)[1], SHIB[2], TRX[1], USD[0.00]

07846866                              AAVE[.10107645], DOGE[239.46619096], ETH[.06541891], ETHW[.06541891], USD[0.00], USDT[0.00002785]

07846868       Contingent, Disputed   USD[0.38], USDT[2.4309764]

07846870                              BAT[1], BRZ[3], BTC[0.00362093], CUSDT[2], DAI[0], DOGE[5], MKR[0], PAXG[0], SHIB[4], SOL[0], SUSHI[0], TRX[1], USD[0.00]                                                        Yes

07846871                              BTC[2.09119891], ETH[6.57659357], ETHW[6.57467272], LTC[45.50592937]                                                                                                             Yes

07846880                              USD[19.04], USDT[3.80530831]

07846882                              BTC[0], ETH[-0.00000001], USD[0.34], USDT[2.6596376]

07846883                              BTC[.0000001]

07846900                              BRZ[1], CUSDT[1], SOL[.00004185], USD[0.00]                                                                                                                                      Yes

07846909                              SOL[2.18781], USD[1.34]

07846913                              BTC[.0000999], USD[0.71]

07846915                              BRZ[1], USD[0.00]

07846919                              CUSDT[39], DOGE[2], NFT (445515081309399095/Entrance Voucher #3370)[1], TRX[5], USD[0.00]

07846920                              BTC[0.00005575], LINK[.0614], SOL[.00799], USD[186.66]

07846943                              BTC[.00000003], DOGE[3], NFT (502417119040082296/Entrance Voucher #938)[1], SHIB[9], USD[0.02]                                                                                   Yes

07846944                              BTC[0.00001964], ETH[0], SOL[.00000001], USD[0.00], USDT[0]

07846947                              USD[1800.00]

07846950                              USD[0.00]

07846959                              BTC[.00000048], CUSDT[1], TRX[2], USD[0.00]                                                                                                                                      Yes

07846970                              BTC[.00078611], CUSDT[2], ETH[.0071262], ETHW[.00704288], USD[0.02]                                                                                                              Yes

07846978                              USD[0.56]

07846982                              SHIB[1], USD[0.00]

07846997                              BTC[.0119449], ETHW[.05], USD[1.01]

07847001                              BTC[0], DOGE[1], ETH[.00000001], ETHW[0], GRT[1], USD[128.49]                                                                                                                    Yes

07847002                              BTC[.00005965], ETH[.00054774], ETHW[0.00054774], USD[25.01]

07847007                              USD[0.04]                                                                                                                                                                        Yes

07847009                              AAVE[0], BRZ[0], BTC[0], CUSDT[4], DAI[0], DOGE[0], ETH[0], TRX[0], USD[0.00], USDT[0]                                                                                           Yes

07847010                              NFT (407508446145747851/Beasts #53)[1], NFT (459271356761334695/Ferris From Afar #494)[1], SOL[.09], USD[0.90]

07847012                              SHIB[79860], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07847013                           BTC[0], USD[0.58]

07847031                           BRZ[3], CUSDT[8], DOGE[4], ETH[2.22584678], ETHW[2.64982062], SHIB[4], TRX[5], USD[0.91], USDT[1.09197771]                                                                         Yes

07847032                           BRZ[1], CUSDT[7], DOGE[8.00921072], LINK[74.93592286], MATIC[1523.04650828], SHIB[25992370.7280423], TRX[2], USD[0.01], USDT[0]                                                    Yes

07847033                           ETH[.00699104], ETHW[.00699104]

07847038                           BTC[0], DOGE[0.27010692], ETH[0], ETHW[.000916], SOL[0.00695000], USD[8066.07], USDT[0.00000156]

07847040                           CUSDT[1009.7229142], USD[0.00]                                                                                                                                                     Yes

07847043                           CUSDT[2], NFT (298281798765071331/Kuhnhackl)[1], NFT (313687369854851438/K.J.)[1], NFT (405309390373417138/Beauties Beauty 66)[1], USD[1.66]                                       Yes

07847044                           SOL[222.24], USD[1.38]

07847047                           USD[0.01]

07847068                           CUSDT[7], ETH[.00000023], ETHW[.00000023], GRT[0], SHIB[29249.11955281], USD[0.00]                                                                                                 Yes

07847076                           CUSDT[1], USD[0.00]                                                                                                                                                                Yes

07847080                           ETH[.008981], ETHW[.008981], USD[0.07]

07847106                           BTC[.03887022], ETH[.56568958], ETHW[.56545199], USD[1085.94]                                                                                                                      Yes

07847107                           USD[0.00]

07847111                           SOL[2.68019306], TRX[1], USD[0.00]

07847112                           BF_POINT[100], BRZ[2], BTC[.00062456], CUSDT[4], DOGE[411.02513842], ETH[.00561081], ETHW[.00554241], GRT[49.54078679], MATIC[53.42872646], NFT (514348509176239817/Saudi Arabia   Yes
                                   Ticket Stub #1690)[1], SHIB[380795.27993952], SOL[1.42231162], TRX[182.45808376], USD[0.02]
07847116                           BRZ[1], CUSDT[1], SOL[2.5581851], USD[0.00]                                                                                                                                        Yes

07847119                           BF_POINT[300], CUSDT[10], DOGE[439.23288935], KSHIB[7420.82783124], SHIB[1104137.01666442], SOL[11.86516028], USD[23.56], USDT[1.08692342]                                         Yes

07847121                           NFT (384993109914950415/Saudi Arabia Ticket Stub #1856)[1], TRX[2]

07847128                           BTC[0.00204556], ETH[0], ETHW[0], USD[0.00], USDT[0]

07847137                           SOL[0], USD[0.00], USDT[0]

07847139                           TRX[1], USD[0.00]                                                                                                                                                                  Yes

07847144                           BTC[0], CUSDT[0], DOGE[0.19851087], KSHIB[1.86519315], SHIB[0], TRX[0], UNI[0], USD[-0.02]                                                                                         Yes

07847149                           BTC[.00253855], CUSDT[2], ETH[.27517922], ETHW[.27498595], TRX[2], USD[1.43]                                                                                                       Yes

07847153                           NFT (328930845567933491/Up Above #006: "Higher")[1], NFT (525615810424536127/Up Above #005: "Drifting")[1]

07847156                           USD[3.16]

07847160                           TRX[1], USD[0.00]

07847172                           AVAX[0.06017344], DOGE[3.10046673], NFT (431721743377838462/Solninjas #299)[1], NFT (515461416421900371/Crazy Alien #04)[1], NFT (549307050722317026/Cave Art #19)[1], NFT         Yes
                                   (563080692837603370/Molly Water #48)[1], SOL[.008961], TRX[1], USD[0.00]
07847176                           TRX[1], USD[0.01]                                                                                                                                                                  Yes

07847180                           NFT (313318529517026002/SBF Hair & Signature #2 #64)[1], NFT (314802614236931244/SBF Hair & Signature #3 #56)[1], NFT (390631712313293964/Humpty Dumpty #802)[1], NFT
                                   (476862035927211099/SBF Hair & Signature #1 #64)[1], USD[1.21]
07847186                           BTC[0], MATIC[21.85740159], USD[0.00], USDT[0.00008288]

07847199                           CUSDT[10], DOGE[2], GRT[343.16785255], MATIC[.00188636], SOL[.00190159], SUSHI[.08596884], TRX[3], UNI[.05522753], USD[0.09], USDT[1.06873384]                                     Yes

07847201                           BRZ[2], CUSDT[4], TRX[2], USD[0.00]                                                                                                                                                Yes

07847202                           USD[1.76]

07847206                           USD[150.00]

07847209                           BCH[0], BRZ[1], BTC[0], CUSDT[4], DOGE[1.00002785], ETH[0], GRT[1.00161773], LINK[0.00001775], LTC[0], SOL[4.69089158], TRX[6], USD[0.00], USDT[1.08332618]                        Yes

07847221                           BTC[.09221585], USD[0.01]                                                                                                                                                          Yes

07847223                           SOL[16.9359875], USD[0.33]

07847230                           BTC[.00424218], ETH[.1698672], ETHW[.16983], SHIB[1], USD[229.52]                                                                                                                  Yes

07847235                           CUSDT[3], MATIC[0], USD[0.00], USDT[0]                                                                                                                                             Yes

07847236                           USD[0.00]                                                                                                                                                                          Yes

07847240                           BTC[.00017559], CUSDT[1], ETH[.00232603], ETHW[.00229865], USD[6.06]                                                                                                               Yes

07847246                           SOL[11.54], USD[2.93]

07847251                           BTC[0], TRX[.000004], USDT[0.00013303]

07847266                           USD[0.00]

07847271                           GRT[0], USD[0.00]                                                                                                                                                                  Yes

07847274                           AAVE[.1], BAT[3.05442034], BCH[.033966], ETH[.05], ETHW[21.48312356], GRT[3.06291256], SUSHI[1.03092566], USD[1.23], USDT[2.03972378]

07847286                           ETHW[.07492875], NFT (421726266820228442/Entrance Voucher #3595)[1], NFT (474472047312219660/FTX - Off The Grid Miami #7507)[1], USD[0.01]

07847288                           USD[0.00]                                                                                                                                                                          Yes

07847290                           BTC[.00005861], USD[0.15]

07847291                           ETH[0], SOL[.00000001], USD[0.00]

07847292                           USD[0.06]

07847293                           LTC[.0082813], SOL[42.6], USDT[.8014312]

07847295                           CUSDT[1], USD[0.00]

07847301                           BRZ[3], BTC[.00000006], CUSDT[2], DOGE[4], ETH[.00000165], ETHW[.00000165], LTC[0], SHIB[8], TRX[4], USD[62.14]                                                                    Yes

07847305                           USD[0.00]                                                                                                                                                                          Yes

07847307                           BTC[0], ETH[0.00000002], ETHW[0.00000001], LTC[0], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07847308                           TRX[4945], USD[0.08]

07847314                           BTC[0.00019500], TRX[.000071], USDT[0]

07847315                           AVAX[3.8], BTC[.02375555], ETH[.019982], ETHW[1.9813591], LINK[73.44], NEAR[62.71421], NFT (419605926149178180/Unverfied Token)[1], USD[53.41]

07847317                           BAT[1], ETH[.15582931], ETHW[.15582931], SUSHI[64.90140224], TRX[1], USD[0.00]

07847329                           ETH[0], ETHW[0], SHIB[1], SOL[0], USD[0.08], USDT[0]                                                                                                                                     Yes

07847331                           ETHW[.5], NFT (485943131918591651/FTX - Off The Grid Miami #5210)[1], USD[0.00], USDT[24.52605507]

07847336                           USD[2.01]

07847353                           USD[3.53]

07847355                           CUSDT[1], DOGE[1], TRX[2], USD[0.00]                                                                                                                                                     Yes

07847361                           BCH[0], BTC[0], DOGE[0.02407184], ETH[0], LTC[0], NFT (315869531156375746/Happy Ape lost #2)[1], NFT (323793048743032783/Sphynx Cats #11)[1], NFT (325313432848818042/Ohtani deep)[1],   Yes
                                   NFT (329875855965430473/Our World #031)[1], NFT (346848765474261380/The Wizard of Oz #2)[1], NFT (389042223787526722/535)[1], NFT (426169150565600106/Dagg Art #20)[1], NFT
                                   (431382975400468484/Kyle Broflovski)[1], NFT (447892454766621208/From beyond )[1], NFT (499049177446168916/Voxi People #7)[1], NFT (511155709393182868/Yeti #0009)[1], NFT
                                   (529445337138993122/Metaverse Rooms #3)[1], NFT (541726258498976160/Penguins #2)[1], NFT (570328215379056254/Mad Lions Series #49)[1], NFT (576180306464528076/Mad Lions Series
                                   #44)[1], SHIB[191.60861275], SOL[0], TRX[1], USD[0.00], USDT[0]
07847367                           BRZ[1], BTC[0], CUSDT[4], DOGE[3], GRT[2.01043141], SUSHI[1.06882168], TRX[3], USD[0.14]                                                                                                 Yes

07847372                           NFT (358500320172923702/Imola Ticket Stub #729)[1]

07847373                           BTC[0], LINK[0], PAXG[30.82702373], USD[9.04]

07847381                           BTC[0], SOL[0.00458476], USD[0.00]

07847385                           BTC[0.00002890], MATIC[1740], SOL[.00971], USD[1.06]

07847387                           BF_POINT[400], USD[0.00], USDT[0]                                                                                                                                                        Yes

07847395                           USD[15.71]

07847397                           BRZ[1], BTC[0], CUSDT[1], SOL[0], TRX[1]

07847401                           BCH[0], BTC[0], DOGE[0], ETH[0], ETHW[0], GRT[0], KSHIB[0], LINK[0], LTC[0], SHIB[0], SOL[0], USD[0.00], USDT[0.00012826], YFI[0]

07847402                           AAVE[0], USD[11.76]

07847407                           USD[546.86]                                                                                                                                                                              Yes

07847409                           NFT (464743898489786918/Coachella x FTX Weekend 1 #4199)[1], SHIB[1], USD[0.00]                                                                                                          Yes

07847413                           BTC[.01361468], DOGE[1], ETH[.18878905], SHIB[9], TRX[2], USD[0.00]                                                                                                                      Yes

07847416                           DOGE[5239.43455871]                                                                                                                                                                      Yes

07847428                           TRX[2.000005]

07847430                           USD[0.01]

07847446                           USD[20.00]

07847472                           USD[0.30], USDT[0]

07847473                           CUSDT[1], USD[0.00]

07847496                           CUSDT[0], DOGE[0], ETH[0], ETHW[0], LINK[0], LTC[0], PAXG[0], SOL[0], UNI[0], USD[0.00], USDT[0.00001037], YFI[0]

07847502                           AVAX[0], BTC[0], DOGE[0], ETH[0], ETHW[0], KSHIB[0.16616201], LINK[0], LTC[0], SHIB[0], SOL[0], SUSHI[0], TRX[0], USD[0.00], USDT[0]                                                     Yes

07847516                           MATIC[2.45578429], USD[0.00], WBTC[0]

07847517                           SOL[.00000001], USD[0.00]

07847524                           BRZ[3], CUSDT[3], TRX[3.00007016], UNI[1.07680639], USD[0.01]                                                                                                                            Yes

07847526                           NFT (491850394258106892/Entrance Voucher #3402)[1], UNI[9.43076968], USD[0.00]

07847529                           ETHW[.21104123], USDT[0.00017578]

07847546                           NFT (291266179542454423/FTX - Off The Grid Miami #2803)[1], NFT (373111534391760715/Humpty Dumpty #290)[1], NFT (518018937635082528/Entrance Voucher #4396)[1]

07847548                           USD[0.01]

07847559                           BRZ[1], BTC[.06093807], CUSDT[1], DOGE[2], ETH[0.82476406], ETHW[0.82476406], GRT[2], NFT (298395290094275239/Humpty Dumpty #365)[1], TRX[1], USD[0.00]

07847567                           BTC[0], ETH[0], ETHW[0.00959929], USD[0.76], USDT[0.00007926]

07847572                           USD[0.00]

07847586                           SOL[1.00902], USD[2.37], USDT[0.00000001]

07847593                           TRX[1175.40898309]                                                                                                                                                                       Yes

07847595                           BTC[.7962], USD[21.06]

07847618                           LTC[.008426], MATIC[.1051], NFT (299150177178324198/Desert Rose Ferris Wheel #388)[1], NFT (417858991623591081/Coachella x FTX Weekend 1 #9827)[1], SHIB[58418], SUSHI[.000725],
                                   USD[0.85], USDT[.0041447]
07847623                           NFT (567192704564974323/FTX - Off The Grid Miami #2134)[1]

07847626                           BTC[.0000966], ETH[.00000002], ETHW[.00000002], USD[0.00]

07847628                           BAT[1], BRZ[1], CUSDT[1], DOGE[4], SOL[4.50940524], TRX[3], USD[0.01]

07847634                           USD[10.00]

07847663                           SOL[.008625], USD[0.00]

07847665                           USD[4.34], USDT[0]

07847682                           USD[0.00], USDT[0.00000045]

07847697                           ETH[0], ETHW[0], USD[0.00], USDT[0]

07847701                           AUD[0.00], ETH[.00000001], SOL[0], USD[0.00]

07847725                           USD[1.35]

07847728                           CUSDT[1], DOGE[4], PAXG[0], SHIB[1], SOL[30.26214687], TRX[3], UNI[1.0769249], USD[0.01]                                                                                                 Yes
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
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                                                                                                                                            Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07847738                              CUSDT[2], ETH[.00000001], ETHW[0], USD[0.00]                                                                                                                                              Yes

07847778                              CUSDT[1], USD[0.00]                                                                                                                                                                       Yes

07847794                              NFT (461177281889347812/Microphone #1778)[1]

07847796                              USD[0.00]

07847798                              TRX[.228775], USD[0.01]

07847803                              BCH[.001], BTC[.0007], ETH[.00000001], ETHW[0], USD[1.68], USDT[4.46986171]

07847818                              USD[20.00]

07847822                              NFT (364326157286354756/Australia Ticket Stub #173)[1], NFT (415834445045391269/Humpty Dumpty #30)[1], NFT (442978966761539565/FTX - Off The Grid Miami #337)[1]

07847859                              USD[0.00]

07847879                              CUSDT[1215.60594095], DOGE[8.42840595], MATIC[533.36385909], SHIB[46366624.03116117], USD[851.94], USDT[1.06293579]                                                                       Yes

07847886                              CUSDT[10], DOGE[136.30754603], SHIB[2756591.94795797], USD[6.61]                                                                                                                          Yes

07847890                              USD[0.01]

07847897                              ETHW[.287483], TRX[.011252], USD[0.10]

07847918                              CUSDT[2], USD[0.01]

07847940                              ETH[0], NFT (317123181903974504/Entrance Voucher #3175)[1], NFT (545808727456082359/The District #29-Rookie)[1], SOL[.005]

07847946       Contingent, Disputed   USD[0.00], USDT[0]

07847954                              BRZ[2], CUSDT[3], DOGE[15553.39185589], ETH[.13583928], ETHW[.13477659], GRT[1], LINK[35.67051498], MATIC[632.7871221], SOL[2.79494806], TRX[4], USD[0.00]                                Yes

07847958                              USD[0.00], USDT[0]

07847962                              USD[25.85]

07847965                              ALGO[.30023519], AVAX[0.00101761], BTC[0], DOGE[0], ETH[0], ETHW[0], LINK[0], MATIC[0.00170762], NEAR[0], SOL[0], TRX[0], USD[0.00]                                                       Yes

07847973                              ETH[0], ETHW[0], SOL[0], USD[0.93]

07847975                              USD[0.00], USDT[0]

07847977                              MATIC[10], USD[10.12], USDT[0]

07847986                              SHIB[23700], SOL[.00488], USD[0.00], USDT[0]

07848014                              BRZ[1], DOGE[3], USD[0.01]

07848015                              USD[0.00]

07848027                              NFT (447254805739764503/FTX - Off The Grid Miami #4212)[1]

07848036                              USD[0.00], USDT[0.15260916]

07848054                              SOL[.54034203], USD[0.00]

07848064                              BTC[0], ETH[0], SOL[0], USD[1.29], USDT[0]

07848086                              AVAX[.04138787], BTC[0.00004660], ETH[.000242], ETHW[.000131], SOL[.00296], USD[0.00], USDT[0]

07848087                              USD[0.00], USDT[0]

07848102                              CUSDT[1], DOGE[1], ETH[0], ETHW[0], GRT[1], MATIC[0], USD[0.00]

07848108                              BTC[.0105013], USD[2.99]

07848116                              ETH[0], SHIB[100000], USD[0.22], USDT[0]

07848117                              GRT[149], SHIB[300000], SUSHI[9], USD[2.44], USDT[0]

07848125                              BF_POINT[300], CUSDT[6], DOGE[4], ETH[.09648475], ETHW[.09544965], MATIC[88.47426961], SOL[2.21786165], TRX[2], USD[0.00]                                                                 Yes

07848130                              MATIC[0], SOL[0.00000001], USDT[0]

07848132                              BTC[.0084], SOL[.00354], USD[1.20]

07848138                              SHIB[16851186.11836809]                                                                                                                                                                   Yes

07848139                              USD[0.00]

07848157                              ETH[0.00000001], ETHW[0], NFT (306422977596217035/The Hill by FTX #2627)[1], NFT (571828176391953753/Sad Badger)[1], SOL[0], USD[0.00], USDT[0]

07848165                              NFT (562782477778478997/Good Boy #106)[1]

07848172                              ETH[0], ETHW[0], MATIC[0], USD[990.75]

07848183       Contingent, Disputed   BTC[0], USD[0.00]

07848203                              AVAX[21.83288683], BTC[.01692701], ETH[.28098895], ETHW[.28098895], SOL[13.04500724], USD[0.00]

07848221                              USDT[40.00000554]

07848229                              ETHW[.000922], SOL[.00454], USD[5.30], USDT[0]

07848239                              AVAX[0], BCH[0], BRZ[0], BTC[0], DAI[0.29806423], DOGE[0.74860143], ETH[0.00258855], ETHW[0.00731239], LINK[-0.03699642], LTC[0], MATIC[0.20949707], SOL[0], SUSHI[0], UNI[0.00426910],
                                      USD[0.00], USDT[0], YFI[0.00076732]
07848247                              TRX[1], USD[0.00]                                                                                                                                                                         Yes

07848249                              USD[0.00]

07848267                              BTC[0.00004892], DAI[0.09346871], ETH[0.00023194], ETHW[14.70978832], MATIC[0], SOL[0.00329317], USD[2.35]

07848273                              BTC[0], CUSDT[1], USD[0.07]                                                                                                                                                               Yes

07848275                              BRZ[1], BTC[.00499719], DOGE[2], ETH[.03466073], ETHW[.0342314], SHIB[2668727.58892812], SOL[.00000186], USD[0.00]                                                                        Yes

07848280                              CUSDT[1], ETH[.07135368], ETHW[.07046699], USD[0.00]                                                                                                                                      Yes

07848288       Contingent, Disputed   USD[0.00]

07848291                              USD[0.00]

07848309                              USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07848310                              SOL[30.110379], USD[0.50], USDT[0]

07848319                              TRX[7878.77], USD[1405.82]

07848331                              USD[20.00]

07848332                              BAT[1], DOGE[5], ETH[0.00000113], ETHW[0.00000113], SHIB[6], TRX[2], USD[0.39]                                                                                                  Yes

07848340                              AAVE[.003868], BAT[1.2964], BCH[.000837], BTC[0.00008013], CUSDT[.1335], DOGE[.7141], ETH[.00055114], ETHW[0.00055113], GRT[.932], KSHIB[14.245], LINK[.09743], LTC[.007285],
                                      MATIC[8.344], MKR[.0069805], PAXG[.00000345], SHIB[52020], SOL[.00703], SUSHI[.034], TRX[.4015], UNI[.06086], USD[700.00], USDT[.007883], WBTC[.00009605], YFI[.0009487]
07848343                              USD[100.00]

07848346                              BAT[4.32936306], BRZ[3], CUSDT[9], DOGE[8.29171164], ETH[0], TRX[2], USD[0.00]                                                                                                  Yes

07848348                              USD[1000.00]

07848363                              USD[0.00], USDT[0.00000001]

07848369                              SOL[.25]

07848384       Contingent, Disputed   NFT (348993601475190125/Barcelona Ticket Stub #2454)[1], NFT (440812334285464470/Miami Ticket Stub #319)[1], USD[0.00], USDT[0]                                                 Yes

07848385                              USD[0.00], USDT[0.00000001]

07848388                              SOL[.00456836]

07848390                              CUSDT[1], LTC[3.19419458], USD[0.00]                                                                                                                                            Yes

07848399                              DOGE[3], SHIB[2], SOL[0], TRX[3], USD[0.00], USDT[0]                                                                                                                            Yes

07848405                              SOL[.001928], USDT[0.00000094]

07848410                              ALGO[0], AVAX[0], BF_POINT[300], BTC[0], ETH[0], ETHW[0], LINK[0], MATIC[0], NEAR[0], PAXG[0], SHIB[0], SOL[0], USD[0.00], USDT[0.00000012]                                     Yes

07848423                              AVAX[.00000001], USD[0.00]

07848425                              BTC[.05502894], USD[0.63]

07848439                              ETH[0], SOL[0]

07848442                              BTC[0], USD[0.00]

07848456                              CUSDT[1], ETH[0], USD[2.40]                                                                                                                                                     Yes

07848459                              SHIB[2], USD[0.21], USDT[0.00000001]                                                                                                                                            Yes

07848463                              USD[0.01]

07848469                              BTC[.0050949], ETH[.045988], ETHW[.045988], USD[1.00]

07848482                              USD[0.00], USDT[0]

07848490                              USD[20.00]

07848505                              USD[0.03]

07848526                              SOL[.00053584], USD[0.00]

07848529                              ETH[.48387936], SHIB[3], USD[563.42]                                                                                                                                            Yes

07848530                              USD[0.93]

07848533                              BTC[.00990021], DOGE[2], ETH[.04000407], ETHW[1.44410839], GRT[1], TRX[1], USD[4.55], USDT[502.13137995]                                                                        Yes

07848542                              ETH[.00084], ETHW[.00084], KSHIB[3810], SHIB[3796200], SUSHI[32.967], USD[4.36]

07848549                              BRZ[227.99903363], DOGE[2346.05100420], ETH[0], ETHW[0], SHIB[6052462.94032434], SOL[10.01304462], TRX[0], USD[0.00], USDT[0]

07848569                              USD[0.00]

07848576                              BTC[.00156092], CUSDT[3], ETH[.01349395], ETHW[.01332979], SOL[.21523241], TRX[1], USD[21.80]                                                                                   Yes

07848587                              CUSDT[1], DOGE[2], TRX[5], USD[0.00]                                                                                                                                            Yes

07848594                              BRZ[1], BTC[.0026254], DOGE[2], ETH[.53061101], ETHW[.24722707], MATIC[165.94660796], SHIB[6], TRX[2], USD[0.00]                                                                Yes

07848600                              BRZ[1], BTC[.0000001], ETH[.00000128], NEAR[.0006592], NFT (317359846613992817/Imola Ticket Stub #1008)[1], SHIB[1], USD[2.63]                                                  Yes

07848606                              DOGE[.00223059], ETH[.00000043], ETHW[.00000043], LINK[.00002049], SOL[.00000353], SUSHI[.00004242], UNI[.00003012], USD[3.05]                                                  Yes

07848607                              BRZ[1], CUSDT[9], DOGE[3], ETH[0], TRX[6], USD[0.00]                                                                                                                            Yes

07848608                              BRZ[4], CUSDT[9], DOGE[5], SHIB[1], TRX[2], USD[0.01]

07848613                              USD[100.00]

07848614                              BRZ[2], BTC[0], CUSDT[9], DAI[0], ETH[.00000001], ETHW[0], GRT[0], KSHIB[0], LINK[0], SHIB[6], SUSHI[0], TRX[1], UNI[0], USD[0.00], YFI[0]                                      Yes

07848617                              DOGE[8061.95649849], ETH[1.35230239], ETHW[1.35173433], LTC[.21506505], SHIB[99566367.58877357], SOL[33.56414323], USD[0.01], USDT[0]                                           Yes

07848629                              USD[0.01], USDT[0]

07848630                              USD[0.01]

07848637                              USD[0.00]                                                                                                                                                                       Yes

07848640                              BTC[.0000728], ETH[.496503], ETHW[.496503], SOL[3.81618], USD[0.00]

07848642                              BTC[0], SUSHI[0], USD[0.00], USDT[0]

07848646                              KSHIB[7314.44874239], SHIB[1], USD[0.00]

07848671                              USD[0.00], USDT[0]

07848676                              LINK[0], SOL[0], USD[0.00], USDT[0]

07848681                              USD[0.00]

07848683                              USD[1.00]

07848691                              BF_POINT[300], BRZ[1], CUSDT[2], GRT[1.00176413], SOL[0.00000001], TRX[1], USD[0.00]                                                                                            Yes

07848695                              NFT (309910074348816375/Aku World: Dream #109)[1], NFT (570013941949396426/FTX - Off The Grid Miami #3837)[1]                                                                   Yes

07848701                              TRX[.000382], USDT[371.06000000]
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                                                                                                                                            Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07848708                              BTC[.00000035], SOL[0.00040397], USD[0.61]

07848711                              ETH[0], SHIB[7], SOL[5.59264486], USD[29.82]                                                                                                                                               Yes

07848726                              BRZ[2], CUSDT[1], DOGE[5], LINK[0], SHIB[10], TRX[9.82396216], USD[0.00]

07848739                              AAVE[0.00002951], BAT[.03231577], BCH[0.00001626], BRZ[.1168406], BTC[0.00000050], CUSDT[1.02472993], DAI[0.00873417], DOGE[.0692242], ETH[0.00000727], ETHW[0.00000727],                  Yes
                                      GRT[0.01216122], LINK[0.00036543], LTC[0.00005507], MATIC[0.00731710], MKR[0.00000349], PAXG[.00001232], SOL[0.00014986], SUSHI[0.00214591], TRX[0.09016822], UNI[0.00041358],
                                      USDT[0.00876763], YFI[0.00000029]
07848741                              AAVE[11.988752], MATIC[2497.625], SHIB[9990500], SOL[26.97435], USD[63.67]

07848745                              BTC[0], ETH[.00000001], ETHW[0], LINK[0], USD[0.01], USDT[0]

07848751                              BCH[0], BTC[0], DOGE[6.64794788], ETH[0], NFT (394860438632524582/Mystery Box)[1], NFT (477605411281317120/Chosen2.0)[1], NFT (544591043709222972/#1565)[1], NFT
                                      (561463992469985998/#243)[1], SOL[0], USD[0.00]
07848758                              BTC[.00618704], ETH[0], USD[0.00], USDT[0.00000001]

07848763                              BRZ[1], BTC[.01448741], CUSDT[7], DOGE[5.01196184], MATIC[0], PAXG[.00000301], TRX[2], USD[0.00]                                                                                           Yes

07848780                              BAT[981.3555142]

07848783                              USD[1000.00]

07848786                              BTC[.0003], GRT[54.945], LINK[1.7992], MATIC[10], SHIB[299900], SOL[1.05797], USD[10.58]

07848790                              KSHIB[20], USD[0.13]

07848796                              CUSDT[10], DOGE[3], SOL[.65437271], SUSHI[5.10506411], TRX[1.00897341], USD[0.00]                                                                                                          Yes

07848816       Contingent, Disputed   USD[0.00]

07848817                              ETH[0], SOL[0]

07848824                              CUSDT[2], DOGE[151.82735609], SOL[.24245517], USD[0.00]                                                                                                                                    Yes

07848833       Contingent,            NFT (377036118347290147/TestNils3)[1], NFT (457622569386731252/FTX - Off The Grid Miami #6452)[1], NFT (520252415329604844/Call It #74)[1], NFT (529015570682506069/Sea Dubs Inaugural
               Unliquidated           NFT #23)[1], NFT (531958388897635003/Entrance Voucher #57)[1], NFT (538908758048669923/Testnils123)[1], NFT (548541452386491382/NilsTest2232)[1], NFT (559380575867092943/Nils test)[1],
                                      USD[204.64]
07848835                              USD[1808.82]

07848839                              USD[0.00]

07848840                              SOL[3.988], USD[1.12]

07848846                              SHIB[10888200], USD[2.48], USDT[0.72731200]

07848857                              NFT (548950708987263527/Microphone #5632)[1]

07848879                              PAXG[.05095826], SOL[.00863867], USD[154.41], USDT[1.76437144]

07848881                              TRX[9068.94479186]                                                                                                                                                                         Yes

07848890                              SOL[1.648812], USD[0.14]

07848896                              SOL[.16646279], USD[0.00]

07848897                              LINK[19.66320527], USD[0.01]

07848908                              BF_POINT[300]

07848909                              BF_POINT[100], BTC[.23724835], SHIB[1], SUSHI[594.00423079], USD[555.74]                                                                                                                   Yes

07848914                              TRX[.000001], USDT[0]

07848922                              ETH[.00000001], ETHW[0.24789879], USD[0.01], USDT[0.00000001]

07848927                              ETH[0], USD[0.00]

07848951                              BRZ[1], DOGE[1.02481740], ETH[.00000241], ETHW[.24230032], MATIC[86.40446854], SHIB[73.89555579], SOL[.00008572], TRX[6], USD[0.00]                                                        Yes

07848967                              MATIC[2.48723852], SHIB[1], SOL[.00131862], USD[0.00]

07848970                              ETH[0], USD[0.00]                                                                                                                                                                          Yes

07848976                              ETH[.01928663], ETHW[.01928663]

07848985                              USD[0.00]

07848999                              BTC[.00233099]

07849009                              SOL[.009], USD[1.60]

07849012                              USD[0.45]

07849044                              CUSDT[1], DOGE[95.68798917], SHIB[2023062.91725672], TRX[1], USD[0.00]

07849068                              SOL[1], USD[322.55]

07849072                              NFT (488731114000425851/Hall of Fantasy League #374)[1]

07849083                              BRZ[1], BTC[.00971723], CUSDT[2], SOL[5.99203311], TRX[1], USD[0.07]                                                                                                                       Yes

07849089                              BRZ[145.20776341], CUSDT[2], GRT[109.09931733], KSHIB[1304.16031051], TRX[2], USD[0.00]                                                                                                    Yes

07849092                              ETH[.00096575], ETHW[.00096575], USD[0.00]

07849104       Contingent, Disputed   BTC[0], MATIC[0], SOL[0], USD[0.22]

07849114                              BTC[.00021532], DOGE[1], USD[0.00]                                                                                                                                                         Yes

07849123                              USD[1010.81], USDT[0]

07849131                              USD[0.00], USDT[0.00004100]

07849139                              AAVE[1.32682397], BAT[3.18662002], BCH[7.16627859], BRZ[5.07253062], BTC[.28803699], CUSDT[12], DOGE[12.13530943], ETH[.62617511], ETHW[.62591199], GRT[2.03516033],                       Yes
                                      LTC[1.44610223], PAXG[.11597897], SHIB[9], TRX[9], UNI[12.82624235], USD[0.00], USDT[1.0626702], YFI[.00824037]
07849141                              BTC[0], ETH[-0.00000002], USD[0.00], WBTC[0]

07849153                              DOGE[48.98436071], USD[0.00]

07849158                              ETH[.114], ETHW[.114], USDT[.7658192]

07849159                              USDT[0.00000009]
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                                                                                                                                         Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07849165                           USD[218.89]                                                                                                                                                                      Yes

07849175                           BTC[.00587438], CUSDT[4], SHIB[3555269.95923495], TRX[2], USD[0.00]

07849178                           ETHW[1.158956], SOL[0], USD[0.77]

07849192                           NFT (499685004523908692/Hall of Fantasy League #365)[1]

07849198                           BRZ[2], CUSDT[2], DOGE[3], GRT[.06334312], MATIC[.00002849], SOL[1.07917128], SUSHI[1.05664937], TRX[1.00002055], USD[7186.87]                                                   Yes

07849208                           USD[2.01]

07849211                           USD[0.89]

07849217                           TRX[.68469535], USD[0.00]                                                                                                                                                        Yes

07849220                           TRX[1], USD[0.00]

07849221                           SOL[1.35271679], TRX[.468001], USD[0.09]

07849227                           BAT[26.58599713], BRZ[151.03843171], CUSDT[1246.67942815], DAI[21.57052868], DOGE[85.54744357], GRT[15.47658538], KSHIB[332.35653746], LINK[3.32345888], LTC[2.3223539],         Yes
                                   MATIC[11.51375064], SHIB[411649.85983406], SOL[5.40271267], SUSHI[14.58621506], TRX[163.04138541], UNI[3.66080257], USD[0.63], USDT[37.73406274]
07849236                           USDT[0.00000073]

07849252                           ETH[0.00023519], ETHW[0.00476729], SOL[.00119899], USD[28.35]

07849256                           USD[1.11]

07849263                           ETH[0], ETHW[0.11061652], USD[143.24]

07849265                           AAVE[.51964], ALGO[246.895288], AVAX[3.82036369], ETH[.51166491], ETHW[.51166491], KSHIB[1080], LINK[5.98272481], MATIC[183.3917931], SOL[5.72460725], SUSHI[2], USD[440.18]

07849268                           USD[0.10]

07849273                           USD[0.07]

07849294                           BTC[.01943122], ETH[.26026016], ETHW[.260065]                                                                                                                                    Yes

07849304                           TRX[507.896771]

07849306                           CUSDT[7], TRX[1], USD[0.00]                                                                                                                                                      Yes

07849326                           ETHW[.000917], USD[12030.11]

07849334                           BTC[.00002635], USD[0.00], USDT[0]                                                                                                                                               Yes

07849335                           SHIB[6], TRX[1], USD[0.00]                                                                                                                                                       Yes

07849336                           BRZ[3], CUSDT[1], DOGE[7], GRT[2], SHIB[3], TRX[1.000774], USD[0.00], USDT[0.96808901]

07849338                           USD[0.15]                                                                                                                                                                        Yes

07849341                           AAVE[.00000001], BTC[0.00009587], UNI[.00000001], USD[0.00], USDT[2.19293859]

07849348                           USD[4.19]

07849359                           CUSDT[1], SOL[3.80697566], USD[0.00]                                                                                                                                             Yes

07849361                           BTC[.0000978], USD[0.00]

07849370                           LINK[17.28721419], MATIC[318.52307946], SHIB[1], TRX[.00502412], USD[1079.44]                                                                                                    Yes

07849373                           BTC[.00433259], CUSDT[2], ETH[.06542252], ETHW[.06542252], USD[0.00]

07849380                           BTC[.000002], MATIC[8.173], SHIB[1300000], SOL[.00224], USD[3.93]

07849384                           SOL[.51716507], USD[0.00], USDT[0.00000060]

07849390                           USD[0.00], USDT[0]

07849391                           USD[1.22]

07849402                           ETH[0], ETHW[0], NFT (542618452765930372/Miami Ticket Stub #27)[1], USD[0.02]                                                                                                    Yes

07849405                           BRZ[295.6848404], CUSDT[4], DOGE[2], SHIB[2358210.34490188], SOL[1.08094098], SUSHI[11.02841754], UNI[7.22694068], USD[97.22], USDT[54.39610633]                                 Yes

07849406                           ETH[.00000002], ETHW[0], USD[1.40]

07849407                           USD[0.01], USDT[0]

07849408                           SOL[.566]

07849414                           SOL[13.3090812]                                                                                                                                                                  Yes

07849416                           BAT[8.56316519], CUSDT[1], ETH[.00095233], ETHW[.00095233], LINK[1.23663528], MATIC[4.73593438], USD[0.00]

07849421                           USD[0.00]

07849425                           USD[0.01], USDT[0]

07849431                           DAI[.00000001], SOL[0], USD[0.07]

07849433                           DAI[.00000001], SOL[0]

07849435                           DOGE[3141.84302774], TRX[1], USD[0.00]

07849436                           USD[0.01]

07849449                           BTC[.0034049], DOGE[1], ETH[.20179642], ETHW[.04980115], NEAR[58.84949008], SHIB[5], SOL[8.33899322], TRX[1], USD[0.00]                                                          Yes

07849452                           ETHW[.00003267], USD[1018.10], USDT[0.00000929]                                                                                                                                  Yes

07849455                           DOGE[.5], NFT (337479370723147040/GSW Western Conference Semifinals Commemorative Ticket #1055)[1], NFT (346471075797592391/GSW Western Conference Finals Commemorative Banner
                                   #1952)[1], NFT (432523189366178042/GSW Western Conference Finals Commemorative Banner #1951)[1], NFT (434475819714870838/GSW Championship Commemorative Ring)[1], NFT
                                   (464274306406291214/Warriors Hardwood Court #53 (Redeemed))[1], NFT (471903610485493991/GSW Championship Commemorative Ring)[1], NFT (556580364475712582/GSW Championship
                                   Commemorative Ring)[1], NFT (564456177114825008/GSW Round 1 Commemorative Ticket #711)[1], SOL[.33374688], UNI[.0047], USD[0.00], USDT[0]
07849459                           TRX[.100001], USDT[.07159584]

07849465                           USD[0.00]

07849468                           TRX[.998], USD[1.42]

07849478                           BTC[.0000373], USD[1.09]
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                                                                                                                                            Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07849487                              CUSDT[247.21753273], DAI[.00388414], DOGE[60.89343078], ETH[.00368154], ETHW[.0036405], GRT[29.91310502], KSHIB[89.88547511], SHIB[429057.10557511], TRX[53.13118216], USD[0.00]             Yes

07849490                              SHIB[4.75116723], USD[0.00]                                                                                                                                                                  Yes

07849499                              ETH[0], MATIC[.00000001], USD[9.82]

07849507                              USD[0.01]

07849517                              BTC[.00227552]                                                                                                                                                                               Yes

07849519                              BRZ[1], CUSDT[4], DOGE[1], USD[0.00]                                                                                                                                                         Yes

07849533                              USD[0.15]

07849539                              SOL[5.13271439], USD[0.00]

07849542                              USD[0.00]

07849544                              USD[27.99]

07849549                              BCH[1.07197667], GRT[2213.80922136], LINK[32.2721938], UNI[4.88822457]                                                                                                                       Yes

07849554                              USD[4.02]

07849555                              LTC[.01049677]                                                                                                                                                                               Yes

07849559                              NFT (463021858368636085/ApexDucks Halloween #2279)[1], NFT (559056288283667605/Space Bums #9881)[1]

07849572                              BAT[1], BRZ[6.39188103], CUSDT[42], DOGE[21.44341159], ETH[.37505261], ETHW[.37489525], SHIB[43], SOL[80.63433893], TRX[16.47367775], USD[0.32]                                              Yes

07849608                              NFT (290722945310738739/The Hill by FTX #8621)[1], NFT (297701808050829726/The Hill by FTX #8712)[1], NFT (298051523526738851/The Hill by FTX #8289)[1], NFT (315283412363303950/The
                                      Hill by FTX #8236)[1], NFT (324127662399397826/The Hill by FTX #8625)[1], NFT (339379806882982332/The Hill by FTX #8286)[1], NFT (342355628096003927/Refined Wood Crystal)[1], NFT
                                      (353818179805031293/The Hill by FTX #8226)[1], NFT (354945022426366690/Refined Earth Crystal)[1], NFT (363173238871533260/The Hill by FTX #8276)[1], NFT (364888774320921614/The Hill by
                                      FTX #8257)[1], NFT (412280692022175727/The Hill by FTX #8284)[1], NFT (425084949334113230/Refined Earth Crystal)[1], NFT (453408984797681932/The Hill by FTX #8622)[1], NFT
                                      (474645524871174479/The Hill by FTX #8254)[1], NFT (517820209732843598/Refined Fire Crystal)[1], NFT (526992362353414746/Refined Fire Crystal)[1], NFT (529618181852704495/The Hill by FTX
                                      #8206)[1], NFT (537525827615304650/The Hill by FTX #8293)[1], NFT (537601609369443932/The Hill by FTX #8243)[1], NFT (543160337119039486/Refined Wood Crystal)[1], NFT
                                      (547575465069681640/The Hill by FTX #8505)[1], NFT (555190579929935898/The Hill by FTX #8223)[1], NFT (557899879817174270/Refined Metal Crystal)[1], NFT (570035078965494197/Refined
                                      Metal Crystal)[1], NFT (574673994266759052/Saudi Arabia Ticket Stub #1020)[1], SOL[.000065], USD[1873.23], USDT[3.209155]

07849622                              BTC[.04883784], CUSDT[2], ETH[.88606785], ETHW[.88569571], LINK[7.74632179], NFT (439363185629549483/FTX - Off The Grid Miami #1749)[1], SOL[6.82175631]                                     Yes

07849627                              ETH[.23770263], ETHW[.23770263], USD[1.81]

07849631                              BCH[.00000022], CUSDT[9], DOGE[19.32685127], MKR[.00000009], SHIB[434793.3013054], USD[0.01]                                                                                                 Yes

07849637                              USD[0.01]

07849645                              ETH[.00005704], ETHW[.00005704], USD[0.00]                                                                                                                                                   Yes

07849646                              BTC[.00017414]                                                                                                                                                                               Yes

07849656                              ETH[.00021639], ETHW[.00021639], NFT (297917200222926467/2974 Floyd Norman - CLE 2-0267)[1], NFT (309795710430809420/The 2974 Collection #1981)[1], NFT (317214785514473723/The
                                      2974 Collection #0392)[1], NFT (380261045315838915/2974 Floyd Norman - CLE 4-0179)[1], NFT (478354625459781843/Birthday Cake #0392)[1], NFT (564953747641728288/Birthday Cake #1981)[1],
                                      USD[0.00]
07849670                              CUSDT[2], DOGE[1], SHIB[6.88921838], USD[0.00], USDT[.00001033]                                                                                                                          Yes

07849673       Contingent, Disputed   NFT (442214157920193265/Romeo #761)[1], NFT (546344999368189103/Entrance Voucher #2734)[1]                                                                                                   Yes

07849674                              USD[0.00]

07849686                              BAT[1.00785708], CUSDT[3], DOGE[4], ETH[.79812495], ETHW[0.79778961], TRX[2], USD[0.98], USDT[0]                                                                                             Yes

07849690                              BAT[2], ETH[.00000001], USD[0.01]                                                                                                                                                            Yes

07849692                              SHIB[1], USD[0.00], USDT[49.7352785]

07849694                              USD[0.00]

07849704                              BCH[.4628674]                                                                                                                                                                                Yes

07849707                              USD[20.00]

07849709                              USD[0.00]

07849714                              USD[0.00]                                                                                                                                                                                    Yes

07849716                              USD[10.94]                                                                                                                                                                                   Yes

07849719                              MATIC[18.80326605], USD[0.08]

07849725                              BCH[.08380235], BTC[0.00400671], DOGE[66.33527344], USD[83.23], USDT[0.00000001]

07849727                              CUSDT[1], USD[0.00]                                                                                                                                                                          Yes

07849736                              BTC[.00006093]

07849755                              BTC[.00004077], KSHIB[22.92824399], SHIB[26548.43507155], USD[0.00]                                                                                                                          Yes

07849756                              DOGE[1], TRX[1], USD[0.00]                                                                                                                                                                   Yes

07849760                              NFT (565842900339281028/Microphone #6891)[1]

07849761                              USD[9.00]

07849774                              NFT (310510949278330569/Bound to Happen #3)[1], NFT (398722889961355228/Bound to Happen #2)[1], NFT (458328606730298962/Bound to Happen #5)[1], NFT (516095078386109752/Bound to
                                      Happen)[1], NFT (554377799280165875/Bound to Happen #4)[1], SOL[.349639], USD[0.01]
07849775                              NFT (292539974922485663/SOL SURFER 059 - NOODLE ARMS ANDY)[1], NFT (302214231118281704/SOL SURFER 051 - HARRY THE HEAVY DING DING)[1], NFT (313229761228421590/SOL
                                      SURFER 029 - RASHGUARD RAUL)[1], NFT (321764765439308675/SOL SURFER 060 - RICKY REEF REEF BEEFJERKY)[1], NFT (322432628729562650/SOL SURFER 056 - MERMANTIS
                                      MURGATROY)[1], NFT (335309187930377993/SOL SURFER 058 - KICKFLIP KENNY)[1], NFT (342895583304278579/SOL SURFER 057 - HANG ELEVEN EVAN)[1], NFT (370246592698422989/SOL
                                      SURFER 036 - DUCKDIVE DAVE)[1], NFT (374894128644833084/SOL SURFER 026 - KEITH THE KOOK)[1], NFT (402945379916294890/SOL SURFER 043 - DILBERT PICKLES)[1], NFT
                                      (407977693482454991/SOL SURFER 053 - MIKE METADATA FANDANGO)[1], NFT (419355919168582190/SOL SURFER 039 - BRO BRO BRIAN BRO)[1], NFT (427039110203624705/SOL
                                      SURFBOARD 002 - MIGGY CRYPTO)[1], NFT (430009272679196880/SOL SURFER 041 - BIFF WELLINGTON)[1], NFT (443664380323844465/SOL SURFER 052 - SPAT SLASHBACK)[1], NFT
                                      (462476186198628699/SOL SURFER 048 - EPICALLY AMPED EDDIE)[1], NFT (472791835490812699/SOL SURFER 024 - DAWN PATROL DANNY)[1], NFT (492331353383950582/SOL SURFER 050
                                      - FOAM FLOATER FRANKIE)[1], NFT (511529263715406082/SOL SURFER 056 - DEITRICH THE HAMMER)[1], NFT (513378134637653293/SOL SURFER 055 - JEFF CHET STEVE III)[1], NFT
                                      (515969918028007328/SOL SURFER 046 - DING DING DONALD)[1], NFT (516524853699144376/SOL SURFER 044 - EARL E. BIRD)[1], NFT (522917988218301659/SOL SURFER 047 - FROTHY
                                      FREDDIE FABULOUS)[1], NFT (526835700613498916/SOL SURFER 038 - DASTARDLY DARRIN)[1], NFT (533307760500973164/SOL SURFER 045 - JACK HAMMER)[1], NFT
                                      (547349458919244118/SOL SURFER 025 - HANG TEN HARRY)[1], NFT (548392336896993175/SOL SURFER 032 - SLASHBACK SHAWNY)[1], NFT (556621907999615611/SOL SURFER 049 -
                                      SNAP SNAPPER STEVEN)[1], NFT (567618977503038871/SOL SURFER 054 - MUNGO MANGO COWABUNGA)[1], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07849793                              USD[0.00]

07849807                              AAVE[0], BF_POINT[400], BRZ[2], DAI[0], DOGE[4], ETH[0.08341952], ETHW[0.08239720], SOL[0], TRX[4], USD[0.00], USDT[0.00000001]                                                    Yes

07849809                              USD[0.00]

07849815                              SOL[.00000001]

07849823                              BRZ[1], SOL[1.52775793], USD[0.00]                                                                                                                                                 Yes

07849860                              BTC[.0152109], USD[0.00]

07849863                              BRZ[1], CUSDT[1230.92978725], SHIB[8631734.94446662], TRX[1143.26009340], USD[0.00]                                                                                                Yes

07849873                              BTC[.6743566], ETH[9.89]

07849883                              BRZ[1], BTC[0], ETH[0.00000001], ETHW[2.14051484], LTC[0], SHIB[69], TRX[1], USD[0.12], USDT[0.00394372]                                                                           Yes

07849890                              DAI[0.00000057], EUR[0.00], KSHIB[0], NEAR[.00000015], SOL[0], UNI[0], USD[0.00], USDT[0.00046319]                                                                                 Yes

07849900                              AVAX[0], BTC[0], USD[3.27]

07849904                              BTC[0], DAI[0], ETH[0], ETHW[0], SOL[0], USD[0.00], USDT[0.00000001]                                                                                                               Yes

07849928                              CUSDT[1], DOGE[1429.78563276], SHIB[1274687.96314106], TRX[3], USD[0.00]                                                                                                           Yes

07849930                              ETH[0], SOL[0], USD[0.00]

07849946                              BTC[0], SOL[.00233], USD[2.69]

07849951                              BAT[.00000001], BTC[.00000015], CUSDT[2], ETH[0], ETHW[0], LINK[.00000001], SHIB[19.48076721], USD[2.84], USDT[0]                                                                  Yes

07849966                              USD[0.84]

07849968                              USDT[0]                                                                                                                                                                            Yes

07849970                              NFT (295191225454801248/#1114)[1], NFT (354812291811150108/Kurobi)[1], NFT (410959039182334080/Kurobi)[1], NFT (428745730171386545/#2325)[1], NFT (429431829207481133/#2324)[1],
                                      NFT (430264909676264210/Kurobi)[1], NFT (461489513121455669/Kurobi)[1], NFT (471624317057397965/Dead Pixels x Kurobi)[1], NFT (483189249290152939/#2326)[1], NFT
                                      (543951366469635952/#1113)[1], NFT (551625871889137692/#1112)[1], NFT (555801264152816990/#2323)[1]
07849976                              TRX[346.70448238]                                                                                                                                                                  Yes

07850009                              SOL[.00142009], USD[0.00], USDT[0.00000001]

07850027                              SOL[.00000001]

07850037                              LTC[0], SOL[0]

07850038                              BRZ[1], CUSDT[2], DOGE[2.00000474], GRT[1], SOL[.00008357], TRX[5], USD[0.01]                                                                                                      Yes

07850044                              BTC[0.00188096], ETH[0], MATIC[0.00408285], SOL[0], USDT[0], WBTC[0]

07850047                              DOGE[1], SOL[1.08840797], USD[0.00]

07850051       Contingent, Disputed   USD[0.04], USDT[0]

07850057                              USD[0.00]

07850065                              BAT[0], BRZ[4], BTC[.00196604], CUSDT[16], DOGE[4], GRT[0], MATIC[0], SHIB[532525.09887809], TRX[7], USD[0.00]                                                                     Yes

07850068                              NFT (384743814219532043/Romeo #10367)[1], NFT (444791237032701856/Microphone #16796)[1], NFT (463018343015172603/Entrance Voucher #12204)[1]

07850069                              USD[0.00]                                                                                                                                                                          Yes

07850083                              BTC[.000052], ETH[.000888], ETHW[.000888], USD[0.31], USDT[1.05858640]

07850105                              USD[0.00]                                                                                                                                                                          Yes

07850113                              USD[546.85]                                                                                                                                                                        Yes

07850114                              USD[0.00]                                                                                                                                                                          Yes

07850121                              USD[0.78], USDT[0.00018174]

07850141                              AAVE[.149905], BAT[18.99525], BTC[.00119905], ETH[.00699335], ETHW[.00699335], GRT[86.91735], LINK[1.899715], MATIC[19.9905], MKR[.0139924], SOL[2.5079765], USD[46.41]

07850142                              BTC[.00000497], CUSDT[1], NFT (454487398427808997/Humpty Dumpty #1396)[1], TRX[1246.51185602], USD[0.06]                                                                           Yes

07850156                              USD[0.00]

07850165                              BTC[.00012115]

07850166                              BTC[.00000747], ETH[.00000001], ETHW[0], USD[0.00]

07850210                              BAT[1], BTC[.00000358], ETH[.48135886], ETHW[.48115668], GRT[1], SHIB[1], SOL[246.23907987], TRX[4], USD[0.01], USDT[1.02543196]                                                   Yes

07850212                              BTC[.000001], ETH[.000875], ETHW[.454875], MATIC[.94], SOL[.0039], USD[3137.16]

07850219                              SOL[2.07896522], USD[1.06], USDT[67]

07850237                              USD[165.27]

07850247                              BTC[.0140216], DOGE[.43285], ETH[1.27491031], ETHW[1.27491031], SOL[12.98765], USD[36.21]

07850262                              ETH[.000701], ETHW[.000701], SOL[.00954734]

07850270                              SOL[0], USD[1.71], USDT[0.00000039]

07850271                              BF_POINT[100], CUSDT[2], USD[0.01]                                                                                                                                                 Yes

07850275                              BTC[.00000007], ETH[0], USD[0.00], USDT[0]

07850279                              BTC[.00005405], ETH[.00047673], ETHW[.00047673], USD[0.07]                                                                                                                         Yes

07850291                              USD[11667.54]                                                                                                                                                                      Yes

07850296                              BTC[0], ETH[0], SHIB[2], USD[0.00]                                                                                                                                                 Yes

07850305                              SOL[0]

07850312                              SOL[.00000001], USD[0.00]

07850317                              BAT[11.8578443], BTC[.00042129], DOGE[132.97881182], ETH[.00593573], ETHW[.00593573], SOL[.17961569], USD[0.00]

07850336                              USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07850346                           DOGE[1], NFT (315743937254388759/Barcelona Ticket Stub #2357)[1], NFT (323667080337695075/Entrance Voucher #29463)[1], SHIB[1], USD[0.00]                                     Yes

07850351                           LINK[.00081089], SOL[.00000001]                                                                                                                                               Yes

07850355                           BF_POINT[200], CUSDT[4], DOGE[12.47547775], ETH[.00000001], NFT (455982304639228469/Entrance Voucher #3736)[1], NFT (479390916630604084/Barcelona Ticket Stub #150)[1], NFT   Yes
                                   (510583612191304523/Saudi Arabia Ticket Stub #2311)[1], SHIB[10], TRX[4], USD[0.00], USDT[0]
07850358                           CUSDT[3], DOGE[578.53697256], USD[58.75]

07850360                           USD[3.09]                                                                                                                                                                     Yes

07850371                           NFT (547430304383064602/The Hill by FTX #1790)[1]

07850383                           NFT (337183943490187347/FTX - Off The Grid Miami #1902)[1]

07850388                           AVAX[2.6835686], BRZ[1], ETH[.12621525], ETHW[.12508849], LINK[9.46671781], SHIB[2], SOL[4.09271703], TRX[1], USD[0.00]                                                       Yes

07850390                           BTC[.0000965], GRT[.54486], USD[0.00]

07850395                           BTC[0.00000011], CUSDT[4], DOGE[1], ETH[0], LTC[0], TRX[1], USD[0.00]                                                                                                         Yes

07850406                           ETH[.00039914], ETHW[.00039914], USD[0.00]

07850408                           ETHW[.365634], GRT[399.6], MATIC[240], USD[1.29]

07850412                           NFT (508050598059967217/Cove off of Crystal River)[1], USD[0.50]

07850415                           BTC[.0001], USD[1.50]

07850419                           BTC[0], DOGE[0], ETH[0.00000009], ETHW[0.00000010], NFT (378228822024460502/Bob #3 of 3)[1], SHIB[11.76812188], USD[0.00]                                                     Yes

07850421                           SHIB[7], USD[1943.38], USDT[0]                                                                                                                                                Yes

07850423                           BTC[0], ETH[0], SOL[0], USD[0.00]

07850424                           USD[0.03]                                                                                                                                                                     Yes

07850437                           USD[0.00]

07850439                           BTC[0], SOL[0], TRX[0], USD[0.00], USDT[0]                                                                                                                                    Yes

07850440                           CUSDT[1], USD[0.43]                                                                                                                                                           Yes

07850446                           SOL[.00000001]

07850456                           CUSDT[1], LINK[5.51295292], SHIB[1517510.40200564], USD[0.00], USDT[1.08794626]                                                                                               Yes

07850472                           NFT (391708906045512552/Miami Ticket Stub #471)[1]

07850482                           BTC[.00112433], CUSDT[2], SHIB[1], SOL[.29204094], UNI[4.00449567], USD[108.67]                                                                                               Yes

07850485                           BTC[.00006853]                                                                                                                                                                Yes

07850494                           BTC[0], ETHW[.13572296], NFT (472718401678629394/Fancy Frenchies #5202)[1], SHIB[1], SOL[0.00042725], USD[117.83], USDT[0.00000003]                                           Yes

07850496                           ETH[0], ETHW[0], LINK[0], LTC[0], MATIC[0], SOL[0], USD[0.00]

07850497                           USD[22.36], USDT[0]

07850498                           USD[0.99]                                                                                                                                                                     Yes

07850509                           BTC[.00246879], ETHW[.0323372], SHIB[3], USD[0.61]                                                                                                                            Yes

07850510                           NFT (346016327732425176/Resilience #62)[1], NFT (496927411307831457/Serum Surfers X Crypto Bahamas #155)[1]

07850512                           USD[0.78]

07850514                           NFT (304789347591495394/Hall of Fantasy League #324)[1]

07850518                           NFT (522799045544400007/Hall of Fantasy League #266)[1]

07850519                           NFT (326279773112624128/Hall of Fantasy League #315)[1]

07850520                           NFT (501175094352175861/Hall of Fantasy League #340)[1]

07850521                           BTC[0], NFT (498538087116567470/Hall of Fantasy League #269)[1], USD[0.00]

07850522                           NFT (323511901082364024/Hall of Fantasy League #342)[1]

07850523                           NFT (450198041986954580/Hall of Fantasy League #290)[1]

07850524                           NFT (469730797299689131/Hall of Fantasy League #264)[1]

07850525                           NFT (548348858103320381/Hall of Fantasy League #245)[1]

07850526                           NFT (326694725582467614/Hall of Fantasy League #252)[1]

07850528                           USD[0.00]

07850531                           NFT (460090910686842260/Hall of Fantasy League #277)[1]

07850533                           NFT (529076907444280878/Hall of Fantasy League #343)[1]

07850534                           NFT (300134993528528849/Hall of Fantasy League #359)[1]

07850538                           NFT (495361746282860094/Hall of Fantasy League #345)[1]

07850540                           NFT (382103779552432366/Hall of Fantasy League #334)[1]

07850543                           NFT (519443088572933003/Hall of Fantasy League #381)[1]

07850547                           NFT (354379645314314783/Hall of Fantasy League #301)[1]

07850549                           NFT (351026810264286398/Hall of Fantasy League #306)[1]

07850552                           NFT (555141414768710105/Hall of Fantasy League #268)[1]

07850553                           NFT (475436538055175276/Hall of Fantasy League #354)[1]

07850561                           NFT (390436297861945867/Hall of Fantasy League #316)[1]

07850564                           NFT (369092239030087753/Hall of Fantasy League #270)[1]

07850569                           NFT (348122229095539913/Hall of Fantasy League #288)[1]

07850572                           BRZ[1], BTC[.00058364], CUSDT[2], ETH[.00849449], ETHW[.00849449], SOL[.17708302], USD[25.00]
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                                                                                                                                            Customer Claims                                                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07850575                              NFT (341681477358056554/Hall of Fantasy League #314)[1]

07850580                              ALGO[0], NFT (451058608954246760/Bahrain Ticket Stub #1270)[1], SHIB[1], USD[0.00]                                                                                                             Yes

07850581                              BTC[.00008092], SHIB[83517.74788079], USD[0.25]                                                                                                                                                Yes

07850582                              NFT (427350275232051075/Hall of Fantasy League #302)[1]

07850583                              NFT (318005052461004718/Hall of Fantasy League #244)[1]

07850585                              ETH[.16483401], ETHW[.16483401], USD[0.00]

07850588                              NFT (552837325360620864/Hall of Fantasy League #357)[1]

07850595                              USD[1.00]

07850597                              NFT (543012129369963642/Hall of Fantasy League #274)[1]

07850600                              BTC[.01760318], CUSDT[1], DOGE[5943.49534189], ETH[.69383005], ETHW[0.69353864], GRT[37.73169727], LINK[6.19229973], SOL[.67389996], TRX[281.11753301], USD[0.01]                              Yes

07850601                              TRX[.011151], USDT[2148.402112]

07850609       Contingent, Disputed   NFT (430997055002046430/Hall of Fantasy League #246)[1]

07850611                              NFT (429855633025486175/Hall of Fantasy League #326)[1]

07850613                              NFT (383076586754298418/Hall of Fantasy League #353)[1]

07850615                              NFT (297899052946490664/Hall of Fantasy League #371)[1]

07850617                              NFT (419081296672252270/Hall of Fantasy League #319)[1]

07850622                              BRZ[1], CUSDT[4], DOGE[1], USD[0.01]                                                                                                                                                           Yes

07850623                              USD[1.80], USDT[4.1658253]

07850624                              CUSDT[3], MATIC[18.00505210], SHIB[1], USD[40.30]                                                                                                                                              Yes

07850625                              NFT (373198894204117583/Hall of Fantasy League #308)[1]

07850630                              NFT (438713686481964161/Hall of Fantasy League #337)[1]

07850636                              BRZ[1], DOGE[1], SHIB[1.00000003], TRX[1], USD[0.00]

07850649                              BRZ[2], CUSDT[9], DOGE[1], ETH[0], ETHW[0], GRT[1.00367791], MKR[0], SOL[0], SUSHI[0], TRX[9.01102039], USD[0.00], USDT[0]                                                                     Yes

07850650                              BAT[0], BTC[0], GRT[0], NFT (300302990063585487/10k)[1], NFT (311622031938048600/Infinity #21)[1], NFT (315634284860030729/Roller coaster )[1], NFT (319393197999543492/Hill side )[1], NFT    Yes
                                      (320376162151671458/ LA let’s go )[1], NFT (332455627562727584/Check C)[1], NFT (341357055916030552/Infinity #22)[1], NFT (341472431852465788/Ripped )[1], NFT
                                      (489183718940604158/Infinity #16)[1], NFT (496201331087216761/Lava Lake #2)[1], NFT (525879414125494017/I’m just a baby dog )[1], NFT (552243155827764486/Next level )[1], SUSHI[0], TRX[0],
                                      USD[0.83]
07850652                              BTC[0.15150000], SOL[331.29533049], USD[0.98]

07850657                              ETH[.00000001], SOL[0], USD[0.16]

07850660                              DOGE[1], GRT[1], LTC[.00000736], TRX[.000001], USD[37.10], USDT[44.94582151]                                                                                                                   Yes

07850662                              BTC[0.00220207], USD[0.00]

07850669                              USD[20.00]

07850674                              ETH[.646353], ETHW[.646353], MATIC[170], SOL[22.50747], SUSHI[29.4705], USD[4.54]

07850678                              NFT (489555662934508290/Hall of Fantasy League #368)[1]

07850682                              BTC[0], CUSDT[0], DOGE[0], ETH[0], ETHW[0], MATIC[0], SOL[0], USD[0.00]

07850685                              USDT[1004.97685]

07850693                              USD[100.00]

07850694                              ETHW[1.9984881], EUR[9.92], SOL[14.9528905], USD[13.86], USDT[10.3548]

07850697                              USD[2.00]

07850719                              AVAX[0], BRZ[5], DOGE[19.79748337], ETH[0], ETHW[0.54780719], SHIB[7], TRX[7], USD[4722.37]                                                                                                    Yes

07850724                              CUSDT[1], DOGE[109.69017028], USD[0.00]                                                                                                                                                        Yes

07850727                              BRZ[2], CUSDT[2], DOGE[2], SOL[1.39055891], USD[0.00]

07850728                              NFT (555964195595859788/Hall of Fantasy League #355)[1]

07850731                              NFT (479702762701083694/Hall of Fantasy League #303)[1]

07850734                              USD[5.47]                                                                                                                                                                                      Yes

07850746                              LTC[.00000023]                                                                                                                                                                                 Yes

07850752                              BTC[.00013597], USD[0.00]

07850754                              ETH[0]

07850755                              DOGE[0.68413290], SHIB[0.00000003], USD[0.00]                                                                                                                                                  Yes

07850756                              SOL[1.485]

07850757                              NFT (422907585409108169/Hall of Fantasy League #325)[1]

07850763                              NFT (355049394239502909/FTX - Off The Grid Miami #3341)[1], SOL[.68], USD[0.01]

07850764                              USD[15.00]

07850770                              SOL[12.19226831], USD[2088.51], USDT[121.0096772]

07850771                              NFT (504700202954760515/Hall of Fantasy League #335)[1]

07850776                              ETH[2.7561831], ETHW[2.7561831], LINK[8.5], MATIC[79.928], SOL[.7], USD[8.95]

07850779                              NFT (385645386355847069/Hall of Fantasy League #329)[1]

07850790                              NFT (310679839656945613/Hall of Fantasy League #383)[1]

07850792                              BF_POINT[200], BTC[.00005468]                                                                                                                                                                  Yes

07850793                              SUSHI[.17655693], USD[2.07]
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07850801                              BTC[0], DOGE[74], USD[2.18]

07850825                              SOL[.21093582]

07850826                              ETH[.00000616], ETHW[.00000616], USD[0.00]                                                                                                                                             Yes

07850829                              USD[1500.00]

07850831                              DOGE[2], KSHIB[732.81708812], NFT (348514576556437032/My Little Gang #20)[1], NFT (474438375868659215/Brick World #5)[1], NFT (487552001516856016/Shark Polly)[1],                     Yes
                                      SHIB[794296.33070567], SUSHI[20.20885446], USD[74.96]
07850834                              TRX[175.78608222], USD[0.00]

07850836                              NFT (306742188743338287/Microphone #8375)[1]

07850860                              CUSDT[2], DOGE[1], TRX[1], USD[0.00]

07850861                              BRZ[1], ETH[0.00000001], ETHW[0], GRT[1], SHIB[1], TRX[1], USD[0.00]                                                                                                                   Yes

07850876                              BRZ[1], BTC[.00621344], DOGE[1], SOL[1.32630497], USD[20.01]

07850878                              BTC[0], CUSDT[2], TRX[0]                                                                                                                                                               Yes

07850885                              BCH[.000159], BTC[.0000922], DOGE[84.915], ETH[.1338], ETHW[2.605933], LTC[.00713], SHIB[808282.03829507], USD[0.08]

07850900                              CUSDT[1], DOGE[2], ETH[.11570431], ETHW[.11458015], MATIC[48.07703137], USD[71.20]                                                                                                     Yes

07850912                              ETH[1.095618], ETHW[1.095618], USD[8740.59]

07850918                              NFT (313769751398383631/Cartons album #29)[1], NFT (479233403149083477/SEX BABY GIRL)[1], SHIB[1], SOL[.20168813], USD[12.00]

07850925                              TRX[1], USD[0.00]                                                                                                                                                                      Yes

07850932                              NFT (495871827072134480/Hall of Fantasy League #367)[1]

07850934                              NFT (561751980474056549/Coachella x FTX Weekend 1 #5437)[1]

07850939                              CUSDT[2], USD[0.00]                                                                                                                                                                    Yes

07850948                              DOGE[1], SHIB[1], SOL[2.38121715], USD[0.00]                                                                                                                                           Yes

07850949                              NFT (452304192839336662/Hall of Fantasy League #238)[1]

07850954                              NFT (465124918338207637/Hall of Fantasy League #366)[1]

07850964       Contingent, Disputed   USD[0.00]

07850974                              BTC[.39388116], MKR[.00000092]

07850979                              CUSDT[3], DOGE[1], LINK[.00004116], NFT (379281420740405103/Astral Apes #2081)[1], NFT (398178044911768921/Astral Apes #1989)[1], SHIB[2], SOL[.00002965], USD[0.00]                   Yes

07850989                              BTC[.0001], ETH[.001997], ETHW[.001997], USD[0.00]

07850992                              BTC[.01206349], DOGE[1], SHIB[1], SOL[8.38689927], TRX[1], USD[0.00]

07850993                              NFT (445301025567169290/Hall of Fantasy League #356)[1]

07851000                              CUSDT[1], SOL[1.00337551], USD[0.00]                                                                                                                                                   Yes

07851002                              ETH[0], USD[0.75]

07851026                              BRZ[1], BTC[0.00000004], CUSDT[5], DOGE[5], ETH[0], GRT[1], NFT (351230462409424960/Ruwa Canchimp)[1], NFT (414517685637399492/G5 SE03)[1], SHIB[2], SOL[0], TRX[3], USD[0.00],        Yes
                                      USDT[2.08311500]
07851027                              USD[100.00]

07851030                              ETH[.000546], LINK[.0136], MATIC[713.731], SOL[.00447], USD[0.59]

07851044                              NFT (533432593314802113/Hall of Fantasy League #243)[1]

07851047                              BAT[2], BF_POINT[100], BRZ[6.02047315], BTC[.0000002], CUSDT[19], DOGE[1], ETH[.00000245], LINK[.00011831], NEAR[.00007534], NFT (303235079751525478/My favorite flower. #2)[1], NFT   Yes
                                      (475057607882949395/God. Bring us a miracle. #8)[1], NFT (502411110864450723/Hello, cherub.)[1], SHIB[3], SOL[0.00000907], TRX[.00196156], USD[634.72], USDT[0]
07851062                              NFT (529640186794507431/Hall of Fantasy League #241)[1]

07851072                              USD[0.00]

07851088                              CUSDT[1], USD[0.00]                                                                                                                                                                    Yes

07851090                              USD[0.00]

07851093                              BRZ[2], BTC[.00000003], DOGE[1], TRX[1], USD[0.01]                                                                                                                                     Yes

07851097                              BTC[.0000591], ETH[.000534], ETHW[.000534], SHIB[100000], SOL[.00238], USD[0.70]

07851107                              SOL[3.98481549], TRX[1], USD[1.92]                                                                                                                                                     Yes

07851113                              CUSDT[4], DOGE[1], ETH[0], LINK[0], SHIB[0], USD[0.00]                                                                                                                                 Yes

07851117                              AVAX[0], BTC[0], DOGE[0], ETH[0], SOL[0.00500001], USD[1.17], USDT[0.00000124]

07851124                              NFT (561577502882686060/FTX - Off The Grid Miami #1674)[1]

07851131                              AVAX[24.89676916], BTC[.00000001], ETHW[.05531924], LINK[49.82416774], NEAR[.0001761], PAXG[.00566215], TRX[2762.32146971], USD[8.34]                                                  Yes

07851138                              USD[0.01]                                                                                                                                                                              Yes

07851157                              NFT (573182194261631490/Hall of Fantasy League #370)[1]

07851159                              BRZ[3], CUSDT[13], DOGE[5.02543466], ETH[0], ETHW[0], NFT (474282225166879126/Esteban #2)[1], NFT (538625261126368200/Studying during Lunch isn't for Me)[1], TRX[3], USD[0.00],       Yes
                                      USDT[2.16347081]
07851167                              CUSDT[1], DOGE[2], TRX[1], USD[0.00]                                                                                                                                                   Yes

07851170                              USD[0.00]

07851172                              BTC[.00000209], CUSDT[1], DOGE[1], NFT (493186563097578158/FTX - Off The Grid Miami #1094)[1], NFT (514304661355676268/Saudi Arabia Ticket Stub #509)[1], SOL[0], USD[0.01]            Yes

07851182                              USD[1.99]

07851189                              USD[20.00]

07851193                              SOL[0], USD[1.61]

07851202                              NFT (461117240114505732/Hall of Fantasy League #305)[1]

07851216                              CUSDT[3], LINK[2.05740329], SHIB[1], TRX[1], USD[0.00]                                                                                                                                 Yes
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                                                                                                                                         Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07851217                           USD[0.01], USDT[.77]

07851224                           BRZ[2], CUSDT[236.47731745], MATIC[0], TRX[2], USD[0.00]                                                                                                                                 Yes

07851228                           ETH[.0139867], ETHW[.0139867], USD[1.00]

07851246                           BTC[.00000185], DOGE[1], KSHIB[6.49536514], MATIC[0.00358492], SHIB[650090.04692523], SOL[.05420352], TRX[3], USD[0.12], USDT[0.00002782]                                                Yes

07851249                           USD[80.00]

07851253                           SOL[.00131886], USD[0.58]                                                                                                                                                                Yes

07851255                           BTC[0], USD[5.78]

07851278                           USD[0.00]                                                                                                                                                                                Yes

07851281                           AAVE[0], AVAX[0], BTC[0], DOGE[0], ETH[0], ETHW[0], LINK[0], MATIC[0], SOL[0], SUSHI[0], TRX[0], USD[0.00], USDT[1.53530280]

07851286                           AAVE[0], BTC[0], CUSDT[1], LINK[6.94767152], LTC[1.03735824], MATIC[0], SOL[8.94059852], UNI[0], USD[0.71]                                                                               Yes

07851290                           BRZ[3], CUSDT[2], TRX[2.00029288], USD[0.00], USDT[0.00037479]                                                                                                                           Yes

07851300                           BTC[.0009], USD[1.67]

07851303                           BF_POINT[300], SHIB[1], USD[0.00]                                                                                                                                                        Yes

07851309                           USD[0.10]

07851313                           BTC[0], SOL[.00000001], USD[0.00], USDT[0.00000071]

07851315                           BTC[.00466314], ETH[.02032428], ETHW[55.04065032], GRT[1], SUSHI[1.02048355], USD[4.61], USDT[183.22942569]                                                                              Yes

07851319                           USD[0.00]

07851322                           NFT (346534621875790710/Hall of Fantasy League #272)[1]

07851328                           SHIB[3], USD[0.00]

07851331                           USD[0.00]

07851334                           USD[0.01]                                                                                                                                                                                Yes

07851343                           USD[912.92], USDT[.003375]

07851346                           SOL[81.65283478], USD[0.00], USDT[4.31042007]

07851349                           BRZ[1], KSHIB[9.313956], SHIB[2170756.8926825], USD[0.00]                                                                                                                                Yes

07851350                           USD[100.00]

07851352                           ETH[0.00000002], NFT (488012552562604496/Backup for 1-2 NFT)[1], TRX[1], USD[0.00]

07851357                           CUSDT[1], SHIB[576451.25595199], USD[10.75]                                                                                                                                              Yes

07851363                           MATIC[111.60235333], USD[344.08]

07851368                           USD[546.84]                                                                                                                                                                              Yes

07851370                           BAT[2.04061858], BRZ[2], CUSDT[1], ETH[.00030471], ETHW[.00030471], GRT[1], SHIB[1], TRX[3], USD[0.00], USDT[2.1106813]                                                                  Yes

07851372                           NFT (324908878651425335/The Sun over the Lake)[1], USD[13744.68], USDT[0]

07851384                           CUSDT[15], SOL[0], SUSHI[1.25099141], USD[0.00]                                                                                                                                          Yes

07851385                           CUSDT[2], DAI[0], DOGE[1], LINK[0], MATIC[0], SHIB[1], SOL[.00000001], TRX[2], USD[0.00], USDT[0]                                                                                        Yes

07851388                           BF_POINT[200], SHIB[1], SOL[.00003695], USD[0.00]                                                                                                                                        Yes

07851393                           BRZ[1], CUSDT[10], DOGE[4], ETHW[.11454871], GRT[274.73960491], SHIB[3], TRX[5], USD[0.13], USDT[1.05032084]                                                                             Yes

07851396                           BTC[0], ETH[0], USD[1.00]

07851408                           ALGO[0], BTC[0], ETH[0], ETHW[0], GRT[0], MATIC[0], TRX[0], UNI[0], USD[0.00]                                                                                                            Yes

07851411                           USD[0.00]

07851422                           AAVE[0], BTC[0], DAI[0], DOGE[0], JPY[0.00], KSHIB[0], LINK[0], LTC[0], MATIC[0], SOL[0], SUSHI[0], UNI[0], USD[0.00], USDT[0]

07851439                           SOL[.00000001], USD[1219.01], USDT[0]

07851447                           USD[0.00]

07851448                           BTC[0.00014010], NEAR[.05185], SOL[.0099718], USD[0.76]

07851456                           BRZ[2], BTC[0.00168588], CUSDT[2], DOGE[2], ETH[.02792215], ETHW[.02792215], SOL[2.27461904], USD[0.00], USDT[1]

07851457                           TRX[.000028], USD[0.00], USDT[2.34084401]

07851461                           CUSDT[1], GRT[7.27957946], MATIC[4.99414339], TRX[10.25384039], USD[41.61]                                                                                                               Yes

07851464                           LINK[.00014357], LTC[.0000191], SHIB[.00000004], UNI[.00018375], USD[0.00]                                                                                                               Yes

07851465                           CUSDT[1], ETH[.16498369], ETHW[.16458946], USD[273.12]                                                                                                                                   Yes

07851470                           USD[0.09]

07851475                           BTC[0.10461162], ETH[.31917812], NFT (312328282073808978/Michie Stadium)[1], NFT (334360134503083658/Death Enclaimed #1)[1], NFT (339204953483979470/Tupac Shakur Set #1 - All Star      Yes
                                   Edition )[1], NFT (348405656256226936/WOW)[1], NFT (367881265279310924/Glass In The Morning)[1], NFT (371055646718356737/Mickey #1 of 1)[1], NFT (372007434993462395/Big Ben )[1], NFT
                                   (392890838060872953/Big Shaq)[1], NFT (405835119499961205/Classic Vegas #1)[1], NFT (408765008862743547/Last Look)[1], NFT (423917939975885777/Let’s race )[1], NFT
                                   (443375962230655442/Pitlife )[1], NFT (472846867394471280/Rocket #1 of 1)[1], NFT (480754609452440338/Never forget )[1], NFT (485660163553010893/River time )[1], NFT
                                   (519020168604260594/Beaver Stadium)[1], NFT (550928110768992367/Start your engines )[1], SHIB[170930.60515129], TRX[1], USD[0.00], USDT[0]
07851476                           BTC[0], LINK[0], USD[0.00]

07851488                           BTC[0], ETH[0]

07851512                           BTC[.31202414], ETHW[2.79997624], USD[-1700.99]

07851513                           BF_POINT[300], BRZ[1], CUSDT[39], DOGE[448.81457423], LTC[1.02606235], SHIB[3963622.63476452], SOL[.13092595], TRX[6], USD[0.02]                                                         Yes

07851516                           USD[0.00]

07851521                           USD[0.00]

07851524                           ETH[.000217], ETHW[.000217], UNI[.0304], USD[4.07], USDT[0]
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                                                                                                                                         Customer Claims                                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07851535                           AUD[0.00], USD[0.00]                                                                                                                                                           Yes

07851543                           CUSDT[1], TRX[1], USD[0.00], USDT[0.00003335]

07851545                           LINK[.0975], USD[19.92]

07851546                           BRZ[1], CUSDT[3], DOGE[2], ETH[.11881323], LTC[0], SHIB[1], TRX[2], USD[0.00], USDT[1.0110745]                                                                                 Yes

07851557                           BTC[.00129518], CUSDT[1], USD[0.00]                                                                                                                                            Yes

07851566                           USD[27.34]                                                                                                                                                                     Yes

07851574                           NFT (381625565222435451/Entrance Voucher #4698)[1], NFT (465661875562044026/Romeo #2272)[1], NFT (497690021157086017/Microphone #9505)[1]

07851576                           BTC[.07826326], LINK[0], MATIC[0], SOL[68.08189413]                                                                                                                            Yes

07851587                           BAT[2.00665434], BRZ[1], DOGE[4], GRT[1], SHIB[1], TRX[2], USD[0.49], USDT[2.05752390]                                                                                         Yes

07851595                           BTC[.02286791], USD[252.61]                                                                                                                                                    Yes

07851600                           NFT (515371785551071545/Hall of Fantasy League #321)[1]

07851601                           SOL[0], USD[0.00]

07851603                           AAVE[0], ALGO[0], AVAX[0], BAT[0], BCH[0], BF_POINT[400], BTC[0], CAD[0.00], DOGE[2.56454988], ETH[0], ETHW[0], LTC[0], SHIB[4], SOL[0], TRX[0], USD[0.08], USDT[0.00000001]   Yes

07851637                           AVAX[0], DOGE[2], ETH[0], GRT[1], MATIC[0], SHIB[7], SOL[0], TRX[1], USD[0.01], USDT[0.00000058]                                                                               Yes

07851641                           SHIB[5900000], USD[1.80]

07851647                           USD[0.00]

07851655                           AVAX[.00022391], BTC[.00000039], DOGE[1], ETH[.00000355], ETHW[.24268914], SHIB[1], SOL[.00001891], USD[0.01]                                                                  Yes

07851657                           BTC[.00258823], CUSDT[1], TRX[2], USD[6.56], USDT[109.93030511]                                                                                                                Yes

07851673                           SHIB[3], USD[4460.27]                                                                                                                                                          Yes

07851680                           BRZ[2], BTC[.00849188], CUSDT[1], ETH[.12446756], ETHW[.12330882], LINK[18.84603229], SOL[3.4432427], TRX[2], USD[0.00]                                                        Yes

07851683                           DOGE[14], SHIB[699335], USD[0.06]

07851687                           ETHW[.0512561], SHIB[1], SOL[0], USD[0.00]

07851689                           CUSDT[1], DOGE[1.00838999], TRX[1.74992185], USD[0.24]

07851702                           BTC[.0134905], DOGE[11.988], ETH[.330669], ETHW[.330669], SOL[1.8981], USD[1.82]

07851714                           DOGE[2], ETH[0.13002333], ETHW[0.12895674], USD[0.00]                                                                                                                          Yes

07851717                           USD[0.00]                                                                                                                                                                      Yes

07851718                           ETH[0]

07851747                           USD[343.50]

07851750                           USD[21.51]                                                                                                                                                                     Yes

07851751                           BTC[.01107732], CUSDT[3], DOGE[2], ETH[.0565794], ETHW[.05587813], GRT[1], SHIB[4779123.09205656], SOL[4.43255124], TRX[2], USD[0.00]                                          Yes

07851755                           ETHW[3.22867164]                                                                                                                                                               Yes

07851762                           BAT[0], BRZ[1], BTC[0], CUSDT[4], DOGE[1], LINK[0], SHIB[26137.26608538], TRX[4], USD[0.00]                                                                                    Yes

07851769                           USD[1.99]

07851776                           AVAX[.0853], USD[1.92], USDT[0]

07851779                           ETHW[5.94252787], USD[181.72]                                                                                                                                                  Yes

07851785                           BTC[0], USD[0.00], USDT[38.08049972]

07851787                           BF_POINT[300], DOGE[1], SHIB[22], SOL[1.62758577], TRX[1], USD[0.00]                                                                                                           Yes

07851790                           CUSDT[1], DOGE[1], TRX[2], USD[339.61]                                                                                                                                         Yes

07851791                           BRZ[1], CUSDT[1], GRT[1], USD[0.04], USDT[1.09293549]                                                                                                                          Yes

07851793                           TRX[.000017], USD[0.00], USDT[0]                                                                                                                                               Yes

07851819                           USD[4.00]

07851823                           USD[110.67], USDT[0.00000067]

07851825                           TRX[.000001], USD[1.00], USDT[787.2901511]

07851830                           BAT[2.0563293], BRZ[4], DOGE[6.02126539], ETH[0], ETHW[0], GRT[4.0748272], LINK[.0056684], SOL[0], SUSHI[1.06178514], TRX[11], USD[0.00], USDT[6.37716772]                     Yes

07851834                           SUSHI[2.90644132], USD[0.00]

07851884                           BTC[0], ETH[0], ETHW[0], SOL[0]                                                                                                                                                Yes

07851891                           SHIB[2], USD[0.00]                                                                                                                                                             Yes

07851901                           BRZ[1], SHIB[8192882.96471593], USD[0.00]                                                                                                                                      Yes

07851926                           BRZ[1], CUSDT[2], DOGE[546.8024747], SGD[0.00], SHIB[27025651.08348266], SOL[4.75864379], TRX[4], USD[0.00]                                                                    Yes

07851927                           NFT (481799546228445454/Romeo #1455)[1]

07851936                           USD[10.16]

07851950                           AAVE[.039962], ETH[.0069962], ETHW[.0069962], LINK[.99905], MATIC[6.52393416], SOL[.139867], TRX[.000001], USDT[29.23929152]

07851965                           TRX[.000004], USDT[0.00000129]

07851984                           USD[0.00]                                                                                                                                                                      Yes

07851987                           USD[10.94]                                                                                                                                                                     Yes

07852000                           CUSDT[8], TRX[1], USD[0.00], USDT[0]

07852031                           CUSDT[2], USD[0.00]

07852038                           USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07852045                              BRZ[1], CUSDT[2], DOGE[1], ETH[-0.00000001], TRX[0], USD[0.00]                                                                                                                        Yes

07852046                              NFT (525326240610758326/Waffle Series 0 - Original)[1], NFT (548290963823735277/Waffle Series 1)[1]

07852047                              USD[0.00], USDT[0]

07852052                              ETH[.0039162], ETHW[.0039162], SOL[.999], USD[0.00]

07852061       Contingent, Disputed   TRX[.000001], USDT[.01158745]                                                                                                                                                         Yes

07852062                              BTC[0.00010417], ETH[0], NFT (295647280473412633/Voidmatter Vial)[1], NFT (319625024386108901/Cool Bean #3162)[1], NFT (356406675645203172/Voidmatter Vial)[1], NFT
                                      (472163679562481622/Lacunar Leech)[1], NFT (514165891433425244/Seer's Eye)[1], NFT (532201571957681020/Herald's Blood)[1], NFT (564931519287041224/NFT)[1], SOL[0.06201486],
                                      USD[0.00], USDT[62.23000000]
07852066                              ETH[0], USD[0.01], USDT[0.00001064]

07852067                              CUSDT[1], DOGE[1], SOL[6.7600565], USD[0.00]                                                                                                                                          Yes

07852077                              CUSDT[3], DOGE[2], USD[0.00]                                                                                                                                                          Yes

07852079                              SOL[.00000001], TRX[.000096], USDT[0.11184877]

07852086                              BAT[0], BF_POINT[300], BTC[0], CUSDT[0], ETH[0], MATIC[0], SOL[0], SUSHI[0], TRX[0], USD[0.00], USDT[0.00000001]                                                                      Yes

07852093                              CUSDT[1], SOL[1.29935962], USD[0.00]                                                                                                                                                  Yes

07852099                              ETH[.003], ETHW[.003], LTC[.04582195], USD[0.50]

07852111                              BTC[.154015], ETH[1.325413], ETHW[1.325413], NFT (365117068749902362/Lazy Dog)[1], NFT (518155636709062349/Hockey pic)[1], SOL[13.4347262], USD[0.92]

07852120                              CUSDT[4], ETH[.07819952], ETHW[.07722966], NFT (456096483175626102/Egg #0018 - Mud)[1], SOL[5.57305518], USD[10.85], USDT[1.08239655]                                                 Yes

07852126                              SOL[.1]

07852127                              ETH[1.00072495], ETHW[1.00072493], TRX[.000095], USD[0.00], USDT[.00769805]

07852129                              SOL[4.715516], USD[4.91]

07852149                              USD[0.00]

07852159                              USD[109.27], USDT[0]

07852160                              USD[0.00], USDT[0]

07852166                              ETH[0.06965986], ETHW[0.02859700], USD[0.00]

07852174                              BTC[0], ETH[0], ETHW[0.21160578], GRT[0.01862958], SHIB[7], USD[537.40], USDT[0.00000001]                                                                                             Yes

07852184                              BTC[0], USD[0.00]                                                                                                                                                                     Yes

07852185                              USD[0.00]

07852191                              NFT (497854903836811734/FTX - Off The Grid Miami #129)[1]

07852197                              NFT (494493366410099654/Hall of Fantasy League #372)[1]

07852209                              BTC[0], ETH[0], MATIC[0], SOL[4.06806914], USD[0.00]

07852213                              LINK[0], SOL[0], USD[0.00]

07852216                              SOL[99.9434905], SUSHI[.44965], USD[2.34]

07852218                              USD[0.00]

07852223                              USD[0.07]

07852231                              BTC[0], SOL[0], USD[0.00]

07852233                              CUSDT[1], USD[0.00]                                                                                                                                                                   Yes

07852251                              USD[0.01]

07852258                              CUSDT[1], USD[0.00], USDT[0]                                                                                                                                                          Yes

07852262                              BAT[4.28717955], BF_POINT[700], BRZ[5.00415698], CUSDT[7], DOGE[7.00057537], GRT[1], SHIB[3], TRX[3], USD[0.01]                                                                       Yes

07852264                              ETH[0], SOL[0.00000001], USD[0.00]

07852267                              AAVE[0], AVAX[0], BTC[0], DAI[0], ETH[0], ETHW[0], GRT[0], LINK[0], MATIC[0], NFT (371623312220151614/SolPunk Series #012)[1], NFT (443504437478864831/#1297)[1], PAXG[0], SHIB[2],   Yes
                                      SOL[0], SUSHI[0], TRX[.000039], UNI[0], USD[0.00], USDT[0.00143156], YFI[0]
07852271                              DOGE[4.3644504], USD[0.00]                                                                                                                                                            Yes

07852272                              CUSDT[1], ETH[.03480927], ETHW[.03480927], USD[0.00]

07852287                              BRZ[1], CUSDT[3], USD[0.00], USDT[0.09336859]                                                                                                                                         Yes

07852302                              BRZ[1], CUSDT[2], SHIB[1], TRX[583.1319474], USD[0.02]

07852314                              BTC[0.01264042], USD[0.00]

07852317                              AVAX[2.51962858], BTC[.01900717], DOGE[1], ETH[.00040375], ETHW[.20198478], MATIC[86.55707249], USD[0.65]                                                                             Yes

07852333                              SOL[19.69], USD[2.16]

07852336                              BRZ[1], CUSDT[43.41966357], USD[0.01]                                                                                                                                                 Yes

07852346                              AVAX[0], ETH[0], NFT (343180996308061627/Official Solana NFT)[1], SOL[0], USD[0.00]

07852368                              BRZ[2], BTC[.02516812], CUSDT[1], DOGE[2], ETH[2.14313607], ETHW[2.14247149], TRX[2], USD[4636.46]                                                                                    Yes

07852375                              CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                          Yes

07852377                              USD[0.00], USDT[0.00000039]

07852395                              BAT[1.01328587], BRZ[7.43080516], BTC[.00000027], CUSDT[9], DOGE[12.48089573], GRT[1.002897], TRX[5], USD[5.67], USDT[4.26481138]                                                     Yes

07852423                              CUSDT[1], TRX[1], USD[27.16]                                                                                                                                                          Yes

07852426                              BTC[0], SHIB[1], USD[0.01]                                                                                                                                                            Yes

07852440                              BAT[5.32074896], BF_POINT[300], BRZ[10.60168595], BTC[0], CUSDT[8], DOGE[20.28864186], GRT[5.16307695], LINK[1.06249943], SHIB[10], SOL[8.36723441], SUSHI[1.06143543],               Yes
                                      TRX[25.50004487], USD[0.80], USDT[5.33523160]
07852445                              BTC[.00003092], USDT[.3203304]

07852449                              NFT (560214289146911791/Hall of Fantasy League #259)[1]
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07852474                              TRX[.000001], USDT[0.00000024]

07852481                              NFT (334093985704385449/Hall of Fantasy League #322)[1]

07852494                              SHIB[1], SOL[.60999152], USD[0.00]                                                                                                                                                     Yes

07852495                              BTC[0], ETH[.00000001], USD[0.00], USDT[0]                                                                                                                                             Yes

07852501                              ALGO[116], AVAX[1.4985], BTC[0.00570895], ETH[.020979], ETHW[.020979], MATIC[40], NEAR[7.9], NFT (355198328088619210/Entrance Voucher #3409)[1], SHIB[1], SOL[1.81236528], UNI[4.8951], Yes
                                      USD[10.65]
07852509                              BTC[.00095404], CUSDT[1], DOGE[66.47132377], ETH[.00944458], ETHW[.00932146], SHIB[2], USD[0.00]                                                                                        Yes

07852512                              BTC[.07415436], LTC[8.66667133], MATIC[410.64975352], SOL[0], USD[6126.41], USDT[504.38489414]                                                                                         Yes

07852529                              NFT (489496836477495783/Coachella x FTX Weekend 1 #4097)[1]

07852540                              BTC[0.00000337], SHIB[0], USD[0.24]                                                                                                                                                    Yes

07852544                              BCH[3.642], ETHW[3.016358], MKR[.357642], USD[5473.50]

07852545                              BTC[.00841576], USD[0.00]

07852560       Contingent, Disputed   BTC[0.00073531], USDT[0.00000186]

07852568       Contingent, Disputed   NFT (418734416445681779/Entrance Voucher #2018)[1], USD[6495.31]

07852569                              LINK[1.03310626]                                                                                                                                                                       Yes

07852590                              NFT (474200147696461596/Coachella x FTX Weekend 1 #797)[1]

07852618                              BTC[.0688311], USD[49.80], USDT[979.50854706]

07852625                              BRZ[1], BTC[.00112913], ETH[.08372411], ETHW[.08269811], USD[0.07]                                                                                                                     Yes

07852629                              NFT (488236612111753836/Hall of Fantasy League #348)[1]

07852636                              DOGE[1283.89699906], MATIC[0], NEAR[0.01000000], NFT (347091719828110765/#6 GUY BOOG GEN)[1], NFT (452543390863127511/#12 Gavin MCG)[1], SOL[0], USD[0.80], USDT[.1731642]

07852647                              USD[0.05]

07852650                              KSHIB[13.66720960], USD[0.00]

07852659                              TRX[21.21929912], USD[0.00]

07852664                              NFT (366442293544520747/Coachella x FTX Weekend 2 #224)[1], NFT (421646855139574727/FTX - Off The Grid Miami #6043)[1], NFT (441612440034293792/Hall of Fantasy League #280)[1]

07852665                              NFT (295475540922319166/FTX Crypto Cup 2022 Key #226)[1], NFT (455715990152338588/The Hill by FTX #890)[1]

07852673                              USDT[0]

07852675                              USD[0.00]

07852681                              BF_POINT[200], DOGE[1.24725635]                                                                                                                                                        Yes

07852688                              USDT[5.07370932]

07852689                              BCH[0], BTC[0], DOGE[0], ETH[.00000001], ETHW[0], SOL[0.00000001], TRX[0.00000016], UNI[0], USD[0.00]

07852700                              ETHW[.1], USD[2.15], USDT[2.44]

07852703                              USD[0.00]

07852705                              TRX[.000007], USD[0.00], USDT[6]

07852725                              USD[39.98]

07852733                              USD[0.01]                                                                                                                                                                              Yes

07852736                              USDT[0.00000086]

07852738                              AAVE[0], BTC[0], DOGE[0], ETH[0], SOL[0], USD[0.00]

07852745                              BTC[.00753624], USD[0.01]

07852749                              USD[5.62]

07852751                              USD[0.00]

07852753                              CUSDT[1], SOL[.2167718], USD[0.00]

07852771                              BCH[.08907247], BRZ[59.05024562], BTC[.02078585], CUSDT[978.15938633], DOGE[202.12684305], ETH[.00638837], ETHW[.00630629], GRT[112.77069735], KSHIB[1305.53638179],                   Yes
                                      MKR[.03687245], NFT (532036497472152413/Dalmatian Common #425)[1], SHIB[1530283.04514395], SOL[.3586357], SUSHI[65.82055916], TRX[605.42451544], USD[26.16], YFI[.00308181]
07852773                              AAVE[.1121761], BCH[.01062747], BTC[0.01065356], DOGE[14.1878], ETH[.14126412], ETHW[.12118657], GRT[1.43475], LINK[.56485], LTC[.0657155], MKR[.03404696], SOL[1.3633391],
                                      SUSHI[13.25262], UNI[1.23198], USD[1543.62], YFI[.002962]
07852777                              AVAX[0], BTC[0], ETH[0], NFT (332990006474940569/Exclusive 2974 Collection Merchandise Package #3988 (Redeemed))[1], NFT (384411668666076137/Birthday Cake #2808)[1], NFT
                                      (428787098690676809/The 2974 Collection #2808)[1], NFT (477595345070374521/StickMen Solana #2721)[1], NFT (551557050524670857/2974 Floyd Norman - OKC 2-0265)[1], SOL[0], USD[0.00],
                                      USDT[0]
07852779                              SOL[0.00918436]

07852780                              BRZ[1], SUSHI[10.61619301], USD[0.00]                                                                                                                                                  Yes

07852781                              NFT (401212038791199317/HVAC PLANS)[1], NFT (404826533997630868/HVAC PLANS #2)[1], NFT (512863974715615362/Hall of Fantasy League #17)[1], SOL[0.32690000]

07852784       Contingent, Disputed   USDT[.14673]

07852791                              BF_POINT[300]

07852794                              BTC[0], NFT (452796602658263199/Saudi Arabia Ticket Stub #1677)[1], USD[0.00]                                                                                                          Yes

07852803                              USD[0.79]

07852813                              BTC[.00198908]                                                                                                                                                                         Yes

07852818                              CUSDT[1], SOL[0.00003465], TRX[1], USD[0.00]                                                                                                                                           Yes

07852821                              BTC[.0000968], ETH[.000378], ETHW[.000378], SOL[.00245], USD[198.80], USDT[0.00000001]

07852842                              BTC[.00022056], ETH[.0059943], ETHW[.0059943], SOL[.4495725], USD[0.00], USDT[0.62910054]

07852848                              BCH[.00078], USD[0.42], USDT[.3195618]

07852855                              BTC[-0.00161445], ETH[0.00070937], ETHW[0.00091637], MATIC[36.18442248], USD[-2.13]

07852859                              ETHW[.000912], USD[2.20]
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                                                                                                                                           Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or       Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07852865      Contingent, Disputed   USD[0.00]

07852872                             SOL[.00000001], TRX[.000001], USDT[2.214072]

07852884                             SOL[.00031696], USD[0.00]

07852892                             DOGE[1], USD[0.00]                                                                                                                                                                   Yes

07852895                             CUSDT[1], ETH[0], ETHW[0], LINK[35.99241396], SOL[.15021855], TRX[1087.25997367]                                                                                                     Yes

07852899                             SOL[0], TRX[.000001], USD[0.00], USDT[0.00028366]

07852906                             USD[1.74]

07852909                             USD[0.02]

07852910                             USD[0.01]

07852932                             TRX[.000001]

07852933                             NFT (512100594069569500/FTX Crypto Cup 2022 Key #412)[1]

07852935                             USD[0.01], USDT[0.00000009]

07852953                             AVAX[1], BTC[.0173], LINK[6.1], NFT (543809061850062877/Entrance Voucher #1888)[1], USD[287.26]

07852954                             USD[20.00]

07852963                             BTC[0], GRT[5.994], USD[0.08]

07852976                             CUSDT[1], DOGE[3], SOL[.00003887], TRX[3], USD[0.00], USDT[1.09364435]                                                                                                               Yes

07852992                             BTC[0.00001043], GRT[4], USD[0.65]

07853006                             USD[0.82], USDT[0]

07853029                             USD[0.00]

07853037                             USD[0.00]

07853044                             BTC[0], DOGE[0], ETH[.00000001], SHIB[0], SOL[0], USD[0.00]

07853047                             SOL[.00999], USD[0.91]

07853049                             BTC[0], ETH[0], SOL[.00002764], USD[0.00]

07853056                             ETH[.00331059], SHIB[1], USD[0.00]

07853058                             ETH[.01449961], ETHW[.01449961], USD[0.00], USDT[0.00000897]

07853065                             USD[0.01], USDT[0]                                                                                                                                                                   Yes

07853068                             BAT[1], BRZ[1], CUSDT[1], DOGE[5], TRX[1], USD[0.00]

07853071                             NFT (405978836125874187/Good Boy #154)[1], NFT (545607947511637285/Romeo #504)[1]

07853080                             ETHW[.06634071]                                                                                                                                                                      Yes

07853087                             USD[21.54]

07853098                             USD[2.58]

07853105                             AVAX[.07304], BTC[0.00015228], ETH[.0003], ETHW[10.0012084], PAXG[.00007192], SOL[.675752], USD[0.00], USDT[0], WBTC[.0000056]

07853106                             USD[0.00]

07853108                             CUSDT[2], DOGE[2], SHIB[7306541.35510978], USD[0.25]

07853113                             CUSDT[1], SUSHI[10.50664625], USD[0.05]                                                                                                                                              Yes

07853114                             BTC[.00883278], DOGE[1], USD[0.01]                                                                                                                                                   Yes

07853115                             BTC[0], DOGE[0], ETH[0], LTC[.19884706], MATIC[.00000001], SOL[0], USD[0.00], USDT[0]

07853126                             USD[0.00]

07853128                             SOL[.02], USD[1.62]

07853130                             SHIB[1], USD[0.43]                                                                                                                                                                   Yes

07853131                             USDT[.752373]

07853137                             BRZ[1], CUSDT[24], DOGE[119.09903287], GRT[.26382321], LINK[.00002066], MATIC[54.11030902], SHIB[163871.40259109], TRX[3], USD[0.00], USDT[0.00001538]

07853141                             NFT (300801528753816187/Hall of Fantasy League #258)[1]

07853152                             BRZ[1], DOGE[1], ETH[.00000001], ETHW[0], GRT[1], SHIB[1], SOL[.00000001], TRX[1], USD[0.00], USDT[0]

07853154                             AUD[14.66], CAD[29.66], EUR[7.08], GBP[14.10], HKD[7.73], USD[6.34]                                                                                                                  Yes

07853163                             NFT (501989400355527042/Coachella x FTX Weekend 1 #10746)[1]

07853174                             LTC[0], SOL[.00000001], USD[0.00], USDT[0.00642440]

07853175                             BRZ[1], CUSDT[3], NFT (293536427648720217/CryptoAvatar #119)[1], NFT (355253234462131112/Game #6)[1], NFT (407715008578308138/#18 Indiana Mike)[1], NFT (409715650577681067/17. Ditto Yes
                                     Head)[1], NFT (447301935691583776/Twilight Ron)[1], NFT (456157988144984555/CryptoAvatar #96)[1], NFT (514797022617615597/RIP Ross)[1], NFT (515093369429554464/Rubber Duckie #0025 -
                                     Bahamas )[1], NFT (521811445215792278/Game #7)[1], NFT (557635197455488741/Super cars #1 of 10)[1], NFT (567394191041688294/CryptoAvatar #109)[1], NFT
                                     (568389899344932332/CryptoAvatar #103)[1], TRX[13.90778248], USD[0.01], USDT[0]
07853176                             USD[0.00]

07853178                             BRZ[1], USD[0.00]                                                                                                                                                                    Yes

07853179                             USD[3.32]

07853182                             BTC[.00232574], CUSDT[1], ETH[1.06549763], ETHW[1.06505005], SOL[2.32184604], TRX[2], USD[0.00]                                                                                      Yes

07853187                             USD[1.02]

07853193                             AVAX[65.28094779], BAT[1], BRZ[1], DOGE[1], SHIB[3], SOL[130.14254983], TRX[2], USD[3661.41]                                                                                         Yes

07853195                             NFT (547823682352257536/Hall of Fantasy League #379)[1]

07853206                             USD[20.00]
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07853218                              NFT (395456328900947182/CryptoAvatar #27)[1], NFT (401665148057030264/Terrestrial Twist)[1], NFT (446409723128163669/Mad Lions Series #4)[1], NFT (530245731436523895/CryptoManchos   Yes
                                      #7)[1], USD[3.11]
07853221                              BRZ[1], CUSDT[2], DOGE[2], NFT (485523025326648247/Shannon Sharpe's Playbook: Baltimore Ravens vs. Oakland Raiders - January 14, 2001 #80)[1], TRX[1], USD[0.00], USDT[0]             Yes

07853222                              USD[3457.71]

07853224                              ETH[.21393216], ETHW[.21393216]

07853235                              BCH[.42655165], USD[100.00]

07853244                              NFT (436377942369979601/Terraform Seed)[1], NFT (438157970388140126/2974 Floyd Norman - OKC 6-0267)[1]

07853247                              USD[0.00]

07853258                              NFT (482922880983842573/Coachella x FTX Weekend 1 #7010)[1]

07853260                              USD[0.00]

07853265                              DOGE[2], TRX[3], USD[0.00], USDT[0.00000001]                                                                                                                                          Yes

07853276                              DOGE[2], SHIB[1], USD[0.00], USDT[0]                                                                                                                                                  Yes

07853279                              USD[2.06]

07853282                              USD[0.00]

07853283                              USD[20.00]

07853285       Contingent, Disputed   USDT[.0781702]

07853293                              USD[73.96]                                                                                                                                                                            Yes

07853303                              USD[7.92], USDT[0]

07853306                              SOL[.00001354], USD[0.00]

07853321                              ETH[0], ETHW[0], SHIB[0], SOL[0.00000098], USD[1.45], USDT[0.00000918]                                                                                                                Yes

07853323                              AAVE[.11847427], BAT[43.17654776], CUSDT[2], NFT (463853677765772730/Nord Grids #4)[1], SUSHI[4.94583755], TRX[1], USD[0.00]                                                          Yes

07853326                              BAT[0], BRZ[1], CUSDT[4], DOGE[4.00193653], ETH[.00000001], ETHW[0], LINK[0.00040887], SOL[0], TRX[.02099139], USD[0.00], USDT[0.00000024]                                            Yes

07853328                              CUSDT[1], DOGE[1], USD[0.01]                                                                                                                                                          Yes

07853330                              BTC[.00000004], SOL[1.52537924], USD[0.00]                                                                                                                                            Yes

07853331                              ETH[.93831295], ETHW[.93831295], USD[0.00]

07853333                              ETHW[.000559], USD[0.00]

07853336                              SHIB[3], USD[0.00]

07853342                              BRZ[1], CUSDT[2], SOL[.00000001], USD[0.00]

07853349                              CUSDT[2], DOGE[51.67349788], GBP[71.10], USD[10.55]                                                                                                                                   Yes

07853362                              USD[0.00]

07853387                              USD[0.14], USDT[0.00000001]

07853388                              BAT[1.00487941], BRZ[1], BTC[.00000002], CUSDT[14], DOGE[1], ETH[.00000035], ETHW[.00000035], SHIB[1], TRX[.00015978], UNI[.00000262], USD[0.01]                                      Yes

07853392                              ETH[.057942], ETHW[.057942], SOL[1.79], USD[0.95]

07853394                              SOL[.00009756]

07853398                              USD[1.00]

07853413                              USD[0.07]

07853414                              UNI[.00000001], USD[2.57]

07853415                              BRZ[1], BTC[.00000026], CUSDT[10], DOGE[7], GRT[1], SHIB[8], SOL[.00002934], TRX[1.000018], USD[0.00]                                                                                 Yes

07853418                              MATIC[90.86754963], SHIB[1], USD[0.00]                                                                                                                                                Yes

07853420                              SHIB[1], SOL[0], USD[0.00]                                                                                                                                                            Yes

07853423                              TRX[.012892], USD[0.04], USDT[0.00000704]

07853427                              MATIC[1279.4205], USD[257.97]

07853430                              SOL[.00000001], USD[10.00]

07853431                              ETH[.00000001], SOL[0]

07853432                              AAVE[.00000918], BF_POINT[100], ETH[.00000948], ETHW[1.03792115], GRT[1], SHIB[7], TRX[4.8969707], USD[0.00], USDT[0]                                                                 Yes

07853436                              DOGE[207], USD[0.61]

07853439                              USD[20.00]

07853457                              SHIB[74235921.76788843]                                                                                                                                                               Yes

07853462                              ETHW[.00078737], USD[3179.29], USDT[0]

07853466                              NFT (288351920303147224/7295)[1], NFT (314339262277163445/5464)[1], NFT (330927264717213869/4024)[1], NFT (564600676018272130/6344)[1], NFT (572662619189147212/11)[1], USD[0.00]

07853470                              USD[0.00]

07853474                              BTC[.00067035], ETH[.00662863], ETHW[.01467717], MATIC[6.55920039], NFT (544401831485462065/Fortuo Distinctus #91)[1], SHIB[19], SOL[.31572375], USD[0.00], USDT[0]                   Yes

07853480                              BAT[38.78940976], BTC[.00938494], ETH[.02778833], ETHW[.02744633]                                                                                                                     Yes

07853481                              CUSDT[3], USD[16.11]                                                                                                                                                                  Yes

07853482                              BRZ[1], CUSDT[1], DOGE[2], GRT[1.00315816], SOL[166.54050853], TRX[2], USD[0.00], USDT[0.00723729]                                                                                    Yes

07853483                              NFT (360420308485675280/Entrance Voucher #1825)[1]

07853487                              BAT[2.09166366], CUSDT[3], ETH[.86606518], ETHW[.86570132], GRT[500.27099279], SOL[21.84832379], TRX[7], USD[344.79], USDT[0.28459443]                                                Yes

07853494                              NFT (323411884526904921/FTX - Off The Grid Miami #1160)[1]

07853510                              USD[10.00]
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                                                                                                                                            Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07853517                              BTC[.00007112], SHIB[95060], SOL[11.9923505], SUSHI[.312375], USD[11.69]

07853520                              NFT (338028398400710501/Hall of Fantasy League #376)[1]

07853529                              USD[0.68]

07853542                              BTC[.02822009], DOGE[2], ETH[.18694335], ETHW[.18670566], TRX[2], USD[2.37]                                                                                                                Yes

07853556                              NFT (333562992950586127/MagicEden Vaults)[1], NFT (433170513431901992/MagicEden Vaults)[1], NFT (470989084341551972/Geckos Spaceship)[1], NFT (495604673003755593/MagicEden
                                      Vaults)[1], NFT (500143381068713860/Enigma Crystal #408)[1], NFT (512481577344421812/MagicEden Vaults)[1], NFT (558251056607762170/MagicEden Vaults)[1], SOL[23.25]

07853557                              BAT[3.02778526], BTC[.00000443], CUSDT[1], DOGE[2], ETHW[.00634626], GRT[2], LINK[.00001899], SHIB[6], SOL[.00136123], TRX[4], USD[25000.00], USDT[1.00041920]                             Yes

07853559                              DOGE[14], USD[0.00], USDT[0]

07853560                              USD[15.01]

07853566                              CUSDT[1], SHIB[688231.24569855], USD[0.00]

07853582                              ETH[0], USDT[0.00001626]

07853587                              BRZ[1], CUSDT[1], USD[0.00]

07853593                              AAVE[.00999], BCH[.15352], DAI[.02841796], ETH[.552706], ETHW[0.55270600], MKR[.389], USD[8.57]

07853598                              BTC[.00002589], ETH[.00055119], ETHW[.13155119], LTC[.00624896], USD[0.00]

07853601                              BTC[.00007849], CUSDT[1], DOGE[24.32224555], USD[16.46]                                                                                                                                    Yes

07853603       Contingent, Disputed   USD[0.00]

07853616                              ETH[.00010141], ETHW[.00010141], USD[0.00]

07853620                              NFT (359009686093303201/Romeo #4121)[1]

07853625                              ETH[0], SOL[0], USD[2.00]

07853633                              BTC[0], SOL[0]

07853634                              USD[0.00]                                                                                                                                                                                  Yes

07853653                              USD[0.00]

07853661                              BTC[.00759316], PAXG[1.258866], SOL[1.9982], USD[4.31]

07853673                              BTC[.09285951], DOGE[1], ETH[1.01484521], ETHW[1.0144189], SHIB[3963108.95650140], SOL[34.67758501], USD[0.00], USDT[0.00000065]                                                           Yes

07853677                              BTC[0], MATIC[8.79], NFT (369392501217414913/Imola Ticket Stub #1646)[1], SOL[3.16490204]

07853678                              USD[0.01]                                                                                                                                                                                  Yes

07853687                              SOL[.00137074], USD[3.04]

07853688                              CUSDT[4], DOGE[1], ETH[.12826776], ETHW[.12717138], SOL[4.29458331], USD[0.01]                                                                                                             Yes

07853705                              ETHW[0], LTC[0], USD[0.00], USDT[0]

07853716                              SOL[.04], TRX[.000001], USD[1.33], USDT[0]

07853723                              TRX[.000003], USD[1.77], USDT[0.00000147]

07853727                              BCH[0.02723565], BTC[.0001683], CUSDT[1]                                                                                                                                                   Yes

07853733                              USD[1.91]

07853738                              NFT (290028042548055206/Virus)[1], NFT (297312387959445606/White Blood Cell #01)[1], NFT (298873406737579507/Cells and Tissues #2)[1], NFT (497188053905262494/White Blood Cell #02)[1],
                                      NFT (522107201997275980/Cell#01)[1], NFT (526140590061867992/Nano Particles #2)[1], NFT (535673642017947254/Cells and Tissues)[1], NFT (542525434141984592/Bacteria)[1], NFT
                                      (569849367766258053/Nano Particles)[1], USD[0.00], USDT[0]
07853753                              SOL[.0085972], USD[0.14]

07853756                              BF_POINT[100], BTC[.0000042], DOGE[1], ETH[.00000934], ETHW[1.02517216], SHIB[1], SOL[.00020931], USD[0.02]                                                                                Yes

07853759                              BTC[0.00001964], ETH[0], USD[2.02], USDT[1.23745284]

07853760                              CUSDT[3], NFT (322890376840726442/Big bear )[1], NFT (329587693620760962/When kids were kids )[1], NFT (488034524683641024/Beautiful )[1], TRX[216.01421821], USD[0.00]                    Yes

07853765                              DOGE[1], GRT[1], USD[0.00]                                                                                                                                                                 Yes

07853770                              CUSDT[3], USD[0.00], YFI[.00000278]                                                                                                                                                        Yes

07853780                              NFT (399143065768789615/Series 1: Capitals #739)[1], NFT (430324250527279771/Series 1: Wizards #652)[1], NFT (480741606234491412/Humpty Dumpty #238)[1], NFT (500921956054410857/FTX - Yes
                                      Off The Grid Miami #286)[1], NFT (545006138308478569/Romeo #1611)[1], NFT (561011344862394328/Entrance Voucher #1801)[1]
07853792                              ETH[.00082655], ETHW[.00082655], NFT (310188016361421779/Welcome to Dopamine)[1], NFT (361807851457730261/Australia Ticket Stub #1691)[1], SOL[.1]

07853794                              AAVE[.01128794], MKR[.00083524], USD[0.00]                                                                                                                                                 Yes

07853796                              BTC[0], PAXG[0.00564171], SOL[0], TRX[0], USD[0.87]

07853802       Contingent, Disputed   TRX[.000001]

07853803                              USD[0.01]

07853807                              NFT (546819826146213024/FTX - Off The Grid Miami #2121)[1], SOL[.98975902], USD[0.64]

07853808                              BTC[.00099905], USD[2.86]

07853820                              CUSDT[6], DOGE[1], USD[0.01], USDT[0]

07853828                              DAI[1.30240658], SOL[.01]

07853837                              NFT (403435549442853849/Bahrain Ticket Stub #2119)[1], NFT (416470117822785224/FTX - Off The Grid Miami #963)[1], USD[807.68]                                                              Yes

07853843                              CUSDT[1], LINK[4.11524189], SOL[1.00850903], TRX[1], USD[0.00]

07853863                              SOL[3.67796157], USD[9.71]

07853879                              DOGE[5.3485582], SHIB[4], SOL[.00000123], TRX[84.19467209], USD[0.02]                                                                                                                      Yes

07853881                              NFT (563627209214923153/Imola Ticket Stub #1171)[1]

07853887                              BCH[0], BRZ[24.78705928], BTC[0.05097264], CUSDT[6], DAI[0.00002873], DOGE[5], ETH[0.14022441], ETHW[0.24085967], GRT[1.00000826], LINK[0], SHIB[12], SOL[3.99343126], TRX[9],             Yes
                                      USD[0.00], YFI[.00040986]
07853905       Contingent, Disputed   AUD[2.11], BTC[0], EUR[2.20], KSHIB[9.99], SOL[.02994], USD[0.10]
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07853912                              TRX[1]

07853915                              BTC[.00000785], SOL[0.00000266]

07853923                              BTC[.00011722]

07853928                              BAT[1.00850166], BRZ[3], CUSDT[7], DOGE[4.10285376], ETH[0], MATIC[0], NFT (360782188197019827/Saudi Arabia Ticket Stub #1518)[1], TRX[5], USD[0.00], USDT[2.16579538]                  Yes

07853934       Contingent, Disputed   BTC[0], ETH[0], ETHW[0.00001992], USD[67791.46]

07853961                              AAVE[.00000001], DOGE[2], ETHW[0], LINK[.00098442], SHIB[8], TRX[2], USD[7.54]                                                                                                          Yes

07853984                              USD[3.69]

07853988                              USD[0.00]

07853998                              AVAX[0], USD[8.23]

07854002                              ETH[.000602], ETHW[.041652], USD[0.91]

07854003                              BTC[.0023976], ETH[.06785378], ETHW[.06785378], USD[0.25]

07854031                              USD[1.10]

07854032                              USD[1.30]

07854040                              USD[10.00]

07854043                              USD[0.00], USDT[0.00000156]

07854045                              BTC[0], MATIC[38.40096217]

07854071                              CUSDT[1], USD[21.51]                                                                                                                                                                    Yes

07854075                              GRT[1.00367791], USD[0.00], USDT[1.09056257]                                                                                                                                            Yes

07854085                              SOL[.15]

07854091                              BTC[.00000128], SHIB[1], SOL[.00002657], USD[190.70]                                                                                                                                    Yes

07854109                              BTC[0.02152632], ETH[.139872], ETHW[.139872], LINK[.08], UNI[.1], USD[3.00], USDT[2.4857716]

07854122                              BTC[.00039], USD[0.01]                                                                                                                                                                  Yes

07854125                              SOL[.00000001], USD[0.00], USDT[0.00000174]

07854126                              BTC[.00024945], LTC[.48570836], SHIB[7345993.78112516], TRX[1002.3684017]                                                                                                               Yes

07854147                              MKR[.00058802], USD[0.00]

07854154                              BAT[2.02197657], BRZ[3], CUSDT[4], DOGE[2], ETHW[2.91696552], SHIB[7], TRX[6], USD[0.42]                                                                                                Yes

07854161                              USD[0.00]

07854164                              USD[83.41]

07854166                              BAT[2.06794113], BRZ[1], DOGE[1], SOL[.00024758], SUSHI[1.07783944], TRX[4], USD[0.00]                                                                                                  Yes

07854175                              NFT (412043758233172829/Hall of Fantasy League #336)[1]

07854179                              CUSDT[6], ETH[.00076949], ETHW[.0007597], TRX[1], USD[0.05]                                                                                                                             Yes

07854182                              BTC[.0012185], MATIC[9.99], TRX[.894], USD[0.58]

07854190                              ETH[0], MATIC[0], NFT (452285514675433410/Bahrain Ticket Stub #376)[1], SOL[0.00000188], USD[0.00], USDT[0]

07854192                              CUSDT[1], DOGE[52.7038682], USD[0.01]                                                                                                                                                   Yes

07854202                              CUSDT[5], DOGE[6.16161491], GRT[6.15402399], LINK[.09524287], SHIB[2217950.613633], SOL[.00814407], SUSHI[.00017508], USD[-1.59]

07854208                              BRZ[1], LTC[0], SHIB[0], TRX[2]                                                                                                                                                         Yes

07854227                              BRZ[1], CUSDT[2], ETH[1.18250814], ETHW[1.18200059], SOL[1.5645354], USD[0.34]                                                                                                          Yes

07854233                              USD[1.36]

07854235                              ETH[.85498276], USD[0.00], WBTC[0]

07854236                              USD[1093.44]                                                                                                                                                                            Yes

07854239                              SOL[.0063083], USD[31.19]                                                                                                                                                               Yes

07854249                              USD[2.01], USDT[0]

07854255                              SOL[2.86374824], USD[0.00]

07854257                              AAVE[0], AVAX[0], BTC[0], ETH[0], GRT[0], LINK[0], LTC[0], SOL[0], TRX[.000027], UNI[0], USD[0.00], USDT[0]

07854258                              USD[20.00]

07854301                              BRZ[1], BTC[.00281452], ETH[.03009], ETHW[.02972064], TRX[1], USD[0.00]                                                                                                                 Yes

07854326                              BTC[0], DOGE[60.57817953]                                                                                                                                                               Yes

07854351                              AAVE[.00690152], BTC[.00139441], DOGE[5.75400578], ETH[.0414215], ETHW[.0414215], SHIB[26609.89888238], SOL[.13786478], SUSHI[.54245956], UNI[.60185173], USD[0.07], USDT[1.95145768]

07854352                              BTC[.3631961]

07854353                              USD[0.00]

07854364                              BF_POINT[200]

07854398                              USD[5.59]

07854401                              BTC[.01202863], ETH[0.07449266], ETHW[0.07449266], USD[0.00]

07854407                              ETH[.00604454], ETHW[.00604454], USD[0.00]

07854445                              BF_POINT[200]

07854447       Contingent, Disputed   USD[0.04]

07854462                              USD[0.01]

07854465                              USD[0.00]                                                                                                                                                                               Yes
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07854471                              CUSDT[3], DOGE[1], USD[0.00]                                                                                                                                                            Yes

07854504                              NFT (575770861897250064/Humpty Dumpty #421)[1], USD[0.01]

07854505                              USD[21.51]                                                                                                                                                                              Yes

07854506                              TRX[.011881], USD[422.01]

07854507                              ETH[.36531986], ETHW[.36531986], USD[0.01], USDT[0]

07854512                              USD[36.00]

07854525                              BTC[0], SOL[0], USD[0.00], USDT[0]

07854545                              AVAX[.1], USD[2.23]

07854549                              CUSDT[1], NFT (362700852969677934/FTX - Off The Grid Miami #543)[1], SHIB[2], SOL[.00005473], USD[74.95]                                                                                Yes

07854550                              BTC[.00000009], USD[0.00]

07854568                              TRX[.000001], USD[1.99], USDT[0]

07854571                              USD[0.00], USDT[0]

07854581                              ETH[0], SHIB[1074659.58869277], USD[0.00]                                                                                                                                               Yes

07854583                              BTC[.00000002], CUSDT[1], DOGE[.00045853], USD[0.00]                                                                                                                                    Yes

07854593                              DOGE[0], SOL[0], USD[0.00], USDT[0.00000114]

07854596                              BRZ[1], CUSDT[10], DOGE[1], MATIC[0], SOL[0.00001193], TRX[1], USD[0.00]                                                                                                                Yes

07854598                              SOL[25.32], USD[0.00]

07854601                              NFT (544871540830911691/Miami Ticket Stub #88)[1]

07854602                              ETH[.00000001], SHIB[6535909.26338697], SOL[0], TRX[2], USD[0.00]                                                                                                                       Yes

07854605                              SGD[0.00], USD[0.00]                                                                                                                                                                    Yes

07854613       Contingent, Disputed   USD[0.00]

07854617                              USD[2.01]

07854622                              USD[1.24]

07854624                              USD[1.16]

07854634                              USD[21.87]                                                                                                                                                                              Yes

07854654                              BTC[0], USD[0.00]

07854661                              TRX[.000001]

07854663                              BRZ[1], CUSDT[1], DOGE[1], USD[0.00]

07854668                              USD[0.00], USDT[0]

07854674                              BTC[.115164], ETH[.11988], ETHW[.11988], SOL[6.44355], USD[19.38]

07854684                              BTC[.0830169], USD[5.60]

07854692                              NFT (319685209483491387/Citizen 3#605)[1], NFT (359414279393762917/Ghoulie #7425)[1], NFT (378496000256238891/GalaxyKoalas # 961)[1], NFT (406021952169782511/Ghoulie #6219)[1], NFT
                                      (425089886498731262/SolBunnies #3479)[1], NFT (436293590131768094/DOTB #3886)[1], NFT (538897834314664898/Ghoulie #7093)[1], NFT (556750703135798519/Kiddo #2319)[1],
                                      SOL[.00212962], USD[0.00]
07854696                              BTC[.00000004], CUSDT[4], TRX[2], USD[0.00]                                                                                                                                             Yes

07854697                              CUSDT[1], MATIC[10.97056131], TRX[60.87984302], USD[0.00]                                                                                                                               Yes

07854707                              ETH[.00000001], SOL[0]

07854721                              USD[54.32]

07854725                              SOL[0.04908353], USD[0.00]

07854732                              USD[0.00], USDT[0.00000119]

07854738                              USD[4.98]

07854740                              LINK[0], LTC[0]

07854741                              SOL[.40161863]

07854745                              USD[52.40]                                                                                                                                                                              Yes

07854758                              BF_POINT[300], CUSDT[1], ETHW[.00001115], SHIB[1], USD[5.12]                                                                                                                            Yes

07854761                              USD[2.32]

07854768                              TRX[.000001], USD[1.47], USDT[0.90150980]

07854784                              USD[162.55]

07854785                              GRT[1], NFT (347386561996676622/Beagle Rare #93)[1], NFT (369379710738038220/Whales Nation #5611)[1], NFT (410938959315890270/Chocolate Lab Common #223)[1], NFT                        Yes
                                      (425209974646099214/Cyber Pharmacist 4990)[1], NFT (434444070332294990/Chubby Lion #473)[1], NFT (451279337414411594/The Annoyed Deimos)[1], SHIB[1], SOL[1.45759312], TRX[2],
                                      USD[2.85]
07854817                              ETH[0], FTX_EQUITY[0], NFT (297797006493882443/Barcelona Ticket Stub #534)[1], NFT (306244906594706786/tropical frog #2)[1], NFT (363682680468544850/Monaco Ticket Stub #103)[1], NFT
                                      (469855366018187174/tropical frog)[1], NFT (484990470000960704/Baku Ticket Stub #69)[1], SOL[0], USD[2.24], USDT[0.00000001]
07854852                              BAT[1.01067426], CUSDT[3], ETHW[3.80892063], USD[0.03]                                                                                                                                  Yes

07854859                              USD[0.00], USDT[0]

07854882                              SOL[1.09434366]                                                                                                                                                                         Yes

07854892                              BTC[0.00162564], USD[0.00]

07854907                              BTC[.00002334], CUSDT[2], SOL[.74886567], TRX[1], USD[428.91]                                                                                                                           Yes

07854911                              AVAX[0], BRZ[7.21884884], CUSDT[8], DOGE[1], GRT[1], LINK[0], SHIB[27], SOL[.00005468], TRX[15.00025571], USD[0.01], USDT[1.02543197]                                                   Yes

07854916                              ETHW[.031], SHIB[88100], USD[207.39]

07854919                              BTC[0.08865454], DOGE[.65915], LTC[12.019049], SUSHI[23.55825], TRX[1.372815], USD[1.73], USDT[0]
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                                                                                                                                         Customer Claims                                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07854940                           SOL[.00006586], USD[0.00]

07854950                           DOGE[1], TRX[.92179713], USD[5.77]                                                                                                                                                          Yes

07854972                           ETH[1.62229422], ETHW[1.62229422], SOL[3.5250495], USD[0.00], USDT[2.59403061]

07854980                           SOL[.0000015]                                                                                                                                                                               Yes

07854981                           BTC[.00022261]                                                                                                                                                                              Yes

07854982                           SOL[0.00999000], USD[1.81], USDT[0.00000021]

07854987                           AAVE[.00367], LINK[.0498], USD[0.00]

07854988                           SOL[.00000001], USD[0.39]                                                                                                                                                                   Yes

07854989                           USD[54.73]                                                                                                                                                                                  Yes

07855000                           LTC[.00853], MATIC[1.23], SOL[.00948], TRX[.000001], UNI[.0314], USD[0.34], USDT[0.00477454]

07855006                           USD[0.00]

07855009                           BTC[.0002348]

07855010                           CUSDT[1], USD[0.00]                                                                                                                                                                         Yes

07855032                           BTC[0], CUSDT[2], USD[0.00]                                                                                                                                                                 Yes

07855039                           USD[0.00]

07855042                           AAVE[.91012576], BRZ[3], BTC[.0203125], CUSDT[75.41461132], DOGE[5.07002898], ETH[.2007905], ETHW[.20058005], LTC[.49415582], MATIC[96.32070916], SOL[.68971123],                           Yes
                                   SUSHI[10.22437111], TRX[4], USD[0.00]
07855046                           BTC[0.00016533]                                                                                                                                                                             Yes

07855049                           BF_POINT[200], KSHIB[0], TRX[3.89150994], USD[0.00]                                                                                                                                         Yes

07855053                           ETH[0], NFT (385274445548855511/Entrance Voucher #5812)[1], NFT (388176010185036586/FTX Crypto Cup 2022 Key #1361)[1], NFT (562657482952978395/Australia Ticket Stub #1453)[1],             Yes
                                   USD[0.00]
07855064                           SOL[.999], USD[8.82]

07855068                           NFT (311426210734179493/SolBunnies #2398)[1], NFT (317096667950033271/Golden bone pass)[1], NFT (320256458858695159/Imola Ticket Stub #1062)[1], NFT (332265158952225147/The Hill by
                                   FTX #4666)[1], NFT (337829790053650367/Bahrain Ticket Stub #1637)[1], NFT (365737785290028146/SOLYETIS #2497)[1], NFT (367409663359071152/MagicEden Vaults)[1], NFT
                                   (377268999723360397/Australia Ticket Stub #1662)[1], NFT (378049447890891712/Sydni, the Mellow)[1], NFT (386962381296387210/Sollama)[1], NFT (395077840435346921/Wuvme Teddy)[1], NFT
                                   (408763319699875454/Pirate #85)[1], NFT (409219057369797286/Frog #1168)[1], NFT (416464223570084485/The Hill by FTX #6669)[1], NFT (419409131201972570/Eitbit Ape #381)[1], NFT
                                   (420640676995734033/The Hill by FTX #6331)[1], NFT (424055682912882278/Egg #0025)[1], NFT (426795357027015712/The Hill by FTX #6660)[1], NFT (428507891095153635/Mech #2058)[1], NFT
                                   (430309380061408598/Uncle Sam 🇺🇸)[1], NFT (433155837420708065/Eitbit Ape #7856)[1], NFT (439963044728307354/Cyber Frogs Ramen)[1], NFT (440772531724356666/Eitbit Ape #4862)[1], NFT
                                   (441850749650779274/MagicEden Vaults)[1], NFT (443109132949857709/Mech #7510)[1], NFT (451821722979039028/SolDad #4706)[1], NFT (458364433277150752/Bahrain Ticket Stub #980)[1],
                                   NFT (459623704323086238/Miami Ticket Stub #525)[1], NFT (460713946939555906/Bahrain Ticket Stub #2363)[1], NFT (470855371208355858/SOL SURFER 022- BARNEY BOBBY)[1], NFT
                                   (477884126484215469/Egg #0027 - Gold Maker)[1], NFT (480473008512785872/Founding Frens Investor #116)[1], NFT (482319803018327590/MagicEden Vaults)[1], NFT
                                   (483777897262601451/SolBunnies #3047)[1], NFT (496643376683284316/Pirate #52)[1], NFT (496676310759843992/SolBunnies #2530)[1], NFT (498550279662321161/Gangster Gorillas #828)[1],
                                   NFT (500769290066964663/JungleCats #0209)[1], NFT (504943817063106830/Pirate #92)[1], NFT (510264345326633299/Medical Cannabis #0030)[1], NFT (514286604437449690/Barcelona Ticket
                                   Stub #1942)[1], NFT (514726376868907300/Rat Bastard #3064)[1], NFT (515467655985893676/Eitbit Ape #2659)[1], NFT (515712539807341103/Pirate #81)[1], NFT (515735469635783769/The Hill by
                                   FTX #6633)[1], NFT (518731148819924410/Chocolate Lab Common #388)[1], NFT (521630291922344746/Solninjas #8901)[1], NFT (521839918115849246/MagicEden Vaults)[1], NFT
                                   (525410945987838562/Saudi Arabia Ticket Stub #2122)[1], NFT (529067889761628476/Ledger, the Voracious)[1], NFT (529169896599956722/Solninjas #373)[1], NFT (530351812485379454/Bahrain
                                   Ticket Stub #2346)[1], NFT (530361150383978213/MagicEden Vaults)[1], NFT (531425231315368832/Mech #7890)[1], NFT (532710359701837535/Gangster Gorillas #2447)[1], NFT
                                   (539845601769484335/Rat Bastard #705)[1], NFT (543887141879901711/Statue Sam)[1], NFT (544774213924179137/SolBunnies #67)[1], NFT (548656708894124912/SOL SURFER 013 - CHET
                                   CHET)[1], NFT (551166238128975237/Mech #3236)[1], NFT (551572937641969224/SOL SURFER 011 - SLAMMIN STUART)[1], NFT (561700464769845440/Medical Cannabis #0003)[1], NFT
                                   (566440056935076963/Dalmatian Common #216)[1], NFT (567063137842499790/Founding Frens Investor #454)[1], SOL[0.51165140], USD[0.00], USDT[0.00001262]


07855075                           CUSDT[1], SHIB[5558860.41121873], USD[0.00]                                                                                                                                                 Yes

07855101                           BTC[.0000113], USDT[0.00041700]

07855113                           ETHW[.21875699], NFT (382388313746523562/Out of date banana)[1], NFT (427396529017548548/Merry Christmas )[1], NFT (470165415741236648/Merry Christmas from Feng)[1], SOL[.37962],
                                   SUSHI[9.99], USD[0.00], USDT[0]
07855128                           SOL[9.25933939], USD[100.00]

07855133                           SOL[0]

07855140                           TRX[.000004], USD[0.00], USDT[0.00000001]

07855151                           TRX[.000001]

07855158                           DOGE[48.46135207]

07855174                           TRX[1], USD[9999.89], USDT[0]

07855185                           ETH[.000042], ETHW[.000042], USD[0.00], USDT[0.00000001]

07855191                           SOL[.33215473]

07855226                           HKD[0.00], TRX[.000001], USD[0.00], USDT[0]

07855245                           USD[0.01]

07855276                           USD[0.01]

07855292                           BTC[.0002371]

07855303                           SOL[.03], USD[0.28]

07855304                           ETH[0], SOL[0], USD[0.01], USDT[0]

07855312                           USD[0.00]

07855318                           USD[27.46]

07855336                           TRX[.000001], USD[0.01]

07855340                           NFT (300544019575374261/Mech #1672)[1], NFT (307774012323483902/Sollyfish #4665)[1], NFT (318281082073446667/Frog #8422)[1], NFT (318650539556776799/Abraham Lincoln | The Great
                                   Emancipator (2 of 11))[1], NFT (348646780352493099/ApexDucks #6660)[1], NFT (361399404693468790/2982)[1], NFT (374504455097787729/Mech #5970)[1], NFT (380323974078348418/Space
                                   Bums #4760)[1], NFT (398804292928349981/Mech #6081)[1], NFT (431489903930219785/Cyber Frogs Ramen)[1], NFT (442603973083822204/Golden bone pass)[1], NFT (450663064653784357/Basic
                                   Spider Boneway)[1], NFT (476378685180211300/Mech #1861)[1], NFT (491602735186177624/Lunarian #5315)[1], NFT (509798573453775989/Sisterverse #176)[1], NFT (527496910134240441/George
                                   Washington | Father of the Nation (1 of 11))[1], NFT (534053567298502698/Cool Bean #15)[1], NFT (537218293390247808/Fancy Frenchies #3383)[1], NFT (543771733591762192/Lunarian #797)[1],
                                   NFT (561378438377286331/Eitbit Ape #3744)[1], USD[0.00]
07855344                           USD[700.00]
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                                                                                                                                            Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07855351                              SOL[.5]

07855358                              USD[0.01], USDT[0]

07855370                              USD[0.01]

07855378                              ETH[.00000001], SOL[0], USD[150.00]

07855388                              BTC[.00004616]

07855398                              USDT[.0776852]

07855399                              BRZ[1], DOGE[2], SHIB[6], USD[0.00]                                                                                                                                                        Yes

07855401                              SOL[120.9392715], USD[40.55], USDT[7.71286199]

07855403                              BTC[0], DOGE[0], NFT (309999606866618896/Abyssal Sacrament)[1], SOL[0.02194536], USD[0.00]

07855405                              USD[0.00]                                                                                                                                                                                  Yes

07855407                              DOGE[4], ETH[0.00003021], ETHW[.00002663], SHIB[118], TRX[5], USD[0.00]                                                                                                                    Yes

07855429                              ETH[0], USD[0.98]

07855437                              ETH[1.50652463], ETHW[1.50652463], SOL[1.0343949]

07855440                              SOL[3.42597], USD[3.65]

07855441                              USD[1201.14]

07855458       Contingent, Disputed   NFT (317545992059309559/Entrance Voucher #5498)[1], USD[0.00]                                                                                                                              Yes

07855467                              BRZ[1], DOGE[1], USD[0.00]

07855473                              BTC[.0004], USD[2.67]

07855475                              USD[191.17]

07855481                              ETH[.00014464]                                                                                                                                                                             Yes

07855502       Contingent, Disputed   USD[8.96], USDT[0]

07855509                              ETH[0.00100000], ETHW[0.00100000], SOL[0.01998000], USD[0.28]

07855514                              AAVE[0], ALGO[0], AVAX[0], BAT[0], BCH[0], DOGE[0], ETHW[0], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], NEAR[0], SHIB[143294.68247448], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00],     Yes
                                      USDT[0]
07855516                              NFT (309632042753653747/2974 Floyd Norman - CLE 5-0199)[1], SOL[15.53087259], USD[0.00]

07855520                              SOL[0.00000010], USD[0.00], USDT[0]

07855524                              SOL[0]

07855532                              CUSDT[3], DOGE[2], SHIB[10909145.0737541], TRX[4507.88909631], USD[0.00]                                                                                                                   Yes

07855569                              BRZ[3], CUSDT[6], DOGE[1], TRX[2], USD[0.00]                                                                                                                                               Yes

07855577                              BAT[1.01586871], SUSHI[.01994052], TRX[2], USD[0.00]                                                                                                                                       Yes

07855578                              TRX[1], USD[0.00]                                                                                                                                                                          Yes

07855618                              BTC[0], USD[0.23], USDT[0]                                                                                                                                                                 Yes

07855627                              NFT (497417684383160513/Microphone #9351)[1], NFT (524180588384400529/Romeo #1909)[1], NFT (531834767897461466/Entrance Voucher #4597)[1]

07855699                              AAVE[0], AVAX[0], BCH[0], BTC[0], DAI[0.00000001], DOGE[0], ETH[0], GRT[0], LINK[0], LTC[0], MATIC[0], MKR[0], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00], USDT[0], WBTC[0], YFI[0]

07855722                              USD[0.00]

07855784                              DOGE[0.92620786], SOL[0]

07855833                              TRX[.222017], USD[3.45]

07855834                              AAVE[.13880036], BF_POINT[100], BTC[.000871], CUSDT[3], DOGE[1], LINK[1.68004168], SOL[.21342875], TRX[1], USD[0.05], YFI[.00155082]

07855841                              USD[0.00]

07855865                              SOL[.14228217]

07855868                              NFT (323808015001659597/Microphone #946)[1], NFT (464614301909120623/Romeo #1387)[1]

07855869                              EUR[279.38], SOL[0], USD[0.00]

07855891                              USD[0.00], USDT[0.00001390]

07855913                              USD[1.65]

07855920                              BRZ[35.55292225], CUSDT[100.88025869], DAI[8.51668014], DOGE[37.74259617], ETH[.0021628], ETHW[.00213544], EUR[1.08], KSHIB[33.47469697], SHIB[48336.13926967], SOL[.01677121],            Yes
                                      USD[0.20], USDT[.99457937]
07855923                              BTC[0.00001289], TRX[.000001], USD[0.01], USDT[0]

07855949                              BAT[0], BTC[0], DAI[0], DOGE[1], ETH[0], KSHIB[0], LTC[0], NFT (337133736102277784/Miami Ticket Stub #392)[1], NFT (505116063856176219/Barcelona Ticket Stub #1461)[1], SHIB[0], SOL[0],   Yes
                                      TRX[0], USD[0.00], USDT[0]
07855950                              ETH[.06078175], ETHW[.06002919]                                                                                                                                                            Yes

07855951                              NFT (524778141714359192/FTX - Off The Grid Miami #1312)[1]

07855955                              USD[10.55]

07856005                              BAT[1], GRT[1], TRX[1], USD[0.00]                                                                                                                                                          Yes

07856061                              TRX[.000003], USDT[.62058]

07856069                              DOGE[106.25337006]                                                                                                                                                                         Yes

07856106                              BTC[0], ETH[0], NEAR[0], NFT (344041456983565830/The Hill by FTX #3020)[1], NFT (379010508729408240/Solninjas #3469)[1], NFT (418580581519799555/Solninjas #363)[1], NFT
                                      (428235056307265173/Solninjas #9377)[1], SOL[0], USD[0.00], USDT[0.00035193]
07856134                              USD[0.00]

07856166                              BTC[.00114934], USD[0.01]

07856192                              USD[0.00]                                                                                                                                                                                  Yes

07856197                              LTC[2.40631798], MATIC[664.95190027]                                                                                                                                                       Yes
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                                                                                                                                         Customer Claims                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07856198                           USDT[350]

07856201                           CUSDT[6], MATIC[0.00011706], USD[0.01]                                                                                                                          Yes

07856208                           USD[0.00]

07856213                           MATIC[.00518721], NFT (459400342791820643/Entrance Voucher #29320)[1], NFT (573359203424993902/The Hill by FTX #2333)[1], USD[0.05], USDT[0]

07856215                           USD[327.96]                                                                                                                                                     Yes

07856221                           SOL[0], USD[5.52]

07856223                           NFT (566296121451674200/Miami Ticket Stub #414)[1]

07856235                           BAT[1.00641315], BTC[.01575224], CUSDT[1], DOGE[1], SUSHI[.00054488], USD[0.00]                                                                                 Yes

07856246                           USD[10.00]

07856259                           GRT[0], SHIB[0], USD[0.00]

07856268                           ETH[0], SOL[0]

07856275                           NFT (466104076259350194/Hall of Fantasy League #298)[1]

07856278                           AAVE[.99], USD[0.87]

07856281                           USD[0.00]                                                                                                                                                       Yes

07856284                           ETHW[.2507623], SOL[0], USD[0.00]

07856320                           USD[1.64]                                                                                                                                                       Yes

07856325                           DOGE[53.38610582], MATIC[9.63024393], USD[0.00]                                                                                                                 Yes

07856333                           USD[0.00]

07856357                           CUSDT[15], DAI[.0000454], DOGE[0.00040645], SHIB[17.55545103], TRX[2.00217583], USD[0.28], USDT[0]                                                              Yes

07856358                           TRX[.000001], USD[2984.71], USDT[0]

07856376       Contingent,         ETHW[.00720931], SHIB[2], SOL[.00021048], USD[11699.70]                                                                                                         Yes
               Unliquidated
07856379                           USD[0.00], USDT[0]

07856389                           DAI[.00000001], USD[0.00]

07856411                           AVAX[.0964], BTC[.00908417], ETH[.0000172], ETHW[.0000172], USD[347.56]

07856419                           USD[0.94]

07856420                           NFT (514629658155941059/Entrance Voucher #29458)[1], SOL[10.76389776], USD[703.10]

07856423                           BTC[.00127317], ETH[0], ETHW[0], SOL[.00000001], USD[0.00], USDT[0.00001183]

07856424                           USD[0.00]

07856426                           BF_POINT[400], BTC[0], NFT (436562159324124361/Bahrain Ticket Stub #1145)[1], SOL[0.00000001], USD[0.00]                                                        Yes

07856433                           SOL[.044], USD[0.00], USDT[0.17628486]

07856449                           CUSDT[.0000331], MATIC[.00017423], TRX[2.24237829], USD[0.00]                                                                                                   Yes

07856454                           USD[20.00]

07856455                           BTC[.00003654]                                                                                                                                                  Yes

07856457                           USD[0.00]

07856459                           USD[0.00]

07856481                           LTC[0], SOL[.00000001], USD[1.81], USDT[0]

07856492                           BTC[.04749606], USD[0.81], USDT[0.00018674]

07856499                           BAT[2], BF_POINT[100], BRZ[1], CUSDT[4], DOGE[5], GRT[2], TRX[2], UNI[1.06405204], USD[0.01]                                                                    Yes

07856505                           BTC[.00200519], CUSDT[2], GRT[1], USD[0.00]

07856506                           ETH[0], SOL[0.37200000], USD[0.53]

07856551                           USD[11.29]

07856579                           USD[4.00]

07856585                           LINK[.01301958]                                                                                                                                                 Yes

07856589                           BTC[0], TRX[0], USD[0.00], USDT[0]

07856594                           NFT (415831322555055510/Hall of Fantasy League #339)[1]

07856597                           BTC[0], USD[2.04]

07856607                           USD[8.48]

07856619                           SOL[.00132024], USD[1.15]

07856621                           BTC[.0000674], DOGE[88.92481733], MATIC[53.52248194], SHIB[15260.71267301], SOL[0.00691070]                                                                     Yes

07856623                           USD[20.00]

07856624                           USD[0.00]

07856627                           BTC[0], SHIB[40195.32546282], USD[0.00], USDT[0]                                                                                                                Yes

07856630                           BF_POINT[100], BTC[.00000019], ETH[.00000228], ETHW[.02526833], GRT[.00629006], LINK[.000057], MATIC[.00093063], SHIB[3], SOL[.00088654], TRX[1], USD[309.01]   Yes

07856632                           USD[0.01]                                                                                                                                                       Yes

07856646                           BTC[0.00000002], ETH[.00046955], ETHW[.00086855], USD[0.00]

07856658                           USD[0.00], USDT[0]

07856662                           USD[0.00], USDT[0]

07856665                           LINK[.00004732], SHIB[3], USD[0.00]                                                                                                                             Yes
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                                                                                                                                         Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07856674                           BRZ[1], SHIB[2], USD[0.00]

07856682                           SOL[.00000001], USD[0.01]

07856693                           ETH[.00000951], ETHW[1.04154392]                                                                                                                                                       Yes

07856696                           SOL[3.71], USD[0.71]

07856701                           USD[0.54]

07856712                           NFT (340651914311734286/Northern Lights #272)[1], SOL[.0080525], USD[2.01]

07856714                           USD[13.70]

07856723                           BTC[0], MATIC[0.01013240], NFT (350018881914238685/Entrance Voucher #2807)[1], SHIB[1], USD[0.00]                                                                                      Yes

07856724                           ETH[0.00002896], ETHW[0.00002895], NFT (539079817547305254/2974 Floyd Norman - CLE 4-0091)[1], SOL[0.00000001], USD[0.00]

07856729                           ETH[.128871], ETHW[.128871], USD[5.26]

07856745                           NFT (451431994991155881/FTX - Off The Grid Miami #132)[1]

07856747                           BTC[0.00003407], SHIB[5], USD[0.00], USDT[0.00030025]                                                                                                                                  Yes

07856749                           USD[8.99]

07856752                           USD[0.00], USDT[0.00000031]

07856754                           BTC[.00127148], CUSDT[5], DOGE[54.54235126], ETH[.00331471], ETHW[.00327367], LTC[.13662482], TRX[1], USD[0.01]                                                                        Yes

07856761                           CUSDT[2], ETH[0], NFT (454497852266767510/Joe Theismann's Playbook: Notre Dame vs. USC - November 30, 1968 #42)[1], NFT (541958542002718277/Joe Theismann's Playbook: Washington vs.   Yes
                                   Chicago Bears - September 29, 1985 #51)[1], SHIB[4], TRX[1], USD[0.01]
07856764                           ETH[.0228858], ETHW[0.02288579]

07856776                           BTC[.0223], USD[2.42]

07856777                           AAVE[0.38404319], USD[0.00]

07856779                           BTC[.14416145], CUSDT[2], DOGE[1], TRX[2], USD[0.00]                                                                                                                                   Yes

07856786                           TRX[.000001], USD[0.00], USDT[0]

07856790                           NFT (317339697858083739/Coachella x FTX Weekend 1 #21049)[1]

07856797                           BTC[.01174708], CUSDT[18], DOGE[2], ETH[.17954971], ETHW[.17930371], SOL[1.0936707], TRX[5], USD[0.00]                                                                                 Yes

07856815                           BF_POINT[300], BRZ[1], CUSDT[3], DOGE[6.00038359], LINK[.00501968], MATIC[0], NFT (526496827835034487/Coachella x FTX Weekend 2 #10698)[1], SHIB[2], SOL[.08267535], TRX[4],           Yes
                                   USD[0.00], USDT[0]
07856831                           BTC[.0003996], NEAR[0], NFT (436555564011464618/Bahrain Ticket Stub #1633)[1], USD[0.99]

07856839                           ETH[0], ETHW[0], SHIB[11893.80314502], USD[0.00]

07856844                           NFT (405762307454967333/Golden Hill #168)[1], NFT (459228258184318243/Reflection '15 #07)[1], USD[10.50]

07856847                           BTC[.0005], DOGE[15], SHIB[100000], USD[1.71]

07856861                           CUSDT[2], DOGE[3800.11700254], USD[212.63]                                                                                                                                             Yes

07856881                           SHIB[100000], USD[24.22]

07856882                           USD[719.87]

07856905                           MATIC[0.27058086], USD[0.00]

07856908                           SOL[.00733], USD[0.00], USDT[.00000008]

07856910                           USD[0.00]

07856917                           SOL[0]

07856918                           ETHW[0], USD[3971.55]

07856922                           NFT (490505530559777607/Entrance Voucher #3244)[1], USD[0.00]

07856927                           ALGO[.00189324], BF_POINT[300], BTC[.00319651], CAD[0.00], DOGE[398.65879804], ETH[0.75686890], ETHW[4.671615], EUR[0.00], GBP[0.00], HKD[0.00], NFT (363822100942877081/Barcelona     Yes
                                   Ticket Stub #1737)[1], NFT (394648454641325335/Saudi Arabia Ticket Stub #181)[1], SHIB[7458281.91869921], TRX[4], USD[0.00]
07856928                           BF_POINT[300], CUSDT[22], DOGE[3], TRX[2], USD[0.00], USDT[1.09109036]                                                                                                                 Yes

07856940                           BTC[0.00015705], DOGE[.995], ETH[.002], ETHW[.002], KSHIB[9.99], LTC[.03996], SHIB[100000], SOL[0.00000001], USD[0.00]

07856944                           NFT (332520594675355250/Hall of Fantasy League #289)[1]

07856950                           USD[0.00]

07856953                           DOGE[1.22288928], USD[0.00]                                                                                                                                                            Yes

07856961                           BRZ[1], CUSDT[64.4443357], DOGE[4.02183096], TRX[4], USD[0.00]                                                                                                                         Yes

07856962                           CUSDT[5], ETH[.02218014], ETHW[.02190654], GRT[7.64423697], MATIC[43.4416982], SOL[1.26836776], USD[109.57]                                                                            Yes

07856969                           USD[0.00], USDT[0]

07856981                           USD[0.00]                                                                                                                                                                              Yes

07856985                           SHIB[2], TRX[2], USD[0.00]

07856989                           NFT (293491443846617242/FTX - Off The Grid Miami #1227)[1], NFT (364364258849358944/Entrance Voucher #2736)[1], NFT (454341289027225226/Romeo #798)[1], SHIB[.00000078], SOL[0],       Yes
                                   TRX[1], USD[0.00], USDT[0]
07856994                           AVAX[0], BTC[0], ETH[0], UNI[0], USD[0.00]

07856995                           BTC[.02283827], ETH[.48708927], ETHW[.48708927], MATIC[564.18519605], USD[0.00]

07857032                           USD[0.00], USDT[0]                                                                                                                                                                     Yes

07857036                           USD[0.28]

07857037                           SOL[0]

07857042                           BTC[.00005176], USD[0.00]

07857050                           AAVE[1.18730901], BAT[1.2305329], BRZ[1], BTC[1.08109792], CUSDT[1], DAI[0], DOGE[3], ETH[.12738677], ETHW[8.19240924], LTC[1.04774151], NFT (306404486792941756/Fantastic)[1], NFT    Yes
                                   (360313797107209335/Entrance Voucher #29584)[1], NFT (396757166968439618/Momentum #130)[1], NFT (425287917914346299/Momentum #132)[1], SHIB[1411635.86982273], SOL[25.55376641],
                                   TRX[1], USD[92.57], USDT[0], YFI[.0434366]
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                                                                                                                                         Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07857072                           AAVE[0], AVAX[0], BRZ[1], BTC[0], DOGE[1], ETH[.00000101], ETHW[1.75107455], MATIC[0], NEAR[.00003887], PAXG[0], SHIB[36], SOL[0.00000491], USD[0.00]                                  Yes

07857098                           DOGE[1], NFT (351235957451569706/DOTB #5251)[1], NFT (520078180049030535/DOTB #2344)[1], NFT (537882198088567737/DOTB #3931)[1], NFT (568454634420050970/ApexDucks #4566)[1],
                                   SHIB[1], SOL[.25121028], USD[50.00]
07857114                           USD[0.90]

07857117                           USD[0.60]

07857118                           CUSDT[1], SOL[.70470087], USD[0.00]                                                                                                                                                    Yes

07857120                           BTC[0], USD[0.48]

07857125                           CUSDT[1], USD[0.00], USDT[0]                                                                                                                                                           Yes

07857129                           DOGE[23972.337], SOL[.00301776], USD[161.03], USDT[4.13875664]

07857130                           ETH[.174231], ETHW[.174231], SOL[4.76965], USD[0.00], USDT[3.04786720]

07857134                           USD[0.09]

07857153                           BAT[4.21329111], BRZ[10.65082111], CUSDT[18], DOGE[1.61104026], GRT[9.19176722], LINK[2.05191969], MATIC[1.00126101], SHIB[10], SUSHI[.00000924], TRX[20.72928257], UNI[1.00137069],   Yes
                                   USD[470.36], USDT[0]
07857164                           BTC[0], ETH[0], USD[0.01], WBTC[0]

07857168                           BTC[0], ETH[0], SOL[0], USD[1.43]

07857181                           ETHW[.174], USDT[0]

07857182                           ETH[0], ETHW[0], MATIC[0], SOL[0], TRX[.011145], USD[0.00], USDT[.44150859]

07857192                           LTC[1.09466337], USD[0.19]

07857195                           BTC[0], CUSDT[3], DOGE[3], ETH[0], ETHW[0], GRT[0], MATIC[0.00293365], MKR[.00000208], SOL[0.00001914], TRX[2], UNI[0], USD[0.00], USDT[0]                                             Yes

07857197                           BAT[1], BRZ[1], CUSDT[0], DOGE[5], SHIB[548779.19807211], TRX[3], USD[0.00], USDT[0]                                                                                                   Yes

07857213                           USD[20.00]

07857216                           USD[0.47]

07857218                           USD[20.00]

07857220                           BAT[1.0165555], SOL[1.56130045], USD[0.00]                                                                                                                                             Yes

07857225                           LTC[.00140271], USD[0.00], USDT[0]                                                                                                                                                     Yes

07857237                           BTC[0.58219356], ETH[0], USD[4.25], USDT[12.41955531]

07857240                           USD[327.89]                                                                                                                                                                            Yes

07857241                           TRX[.000195], USD[620.33], USDT[0.00000001]

07857253                           ALGO[2591.97865629], BTC[.00802771], DOGE[1], GRT[843.57579591], LINK[46.38617706], NEAR[159.32540883], SHIB[6119917.7329001], USD[0.00]                                               Yes

07857255                           BTC[0.04910000], ETH[.291], ETHW[.29148113], GRT[.423], SOL[25.2], UNI[.01014], USD[0.00]

07857264                           USD[21.51]                                                                                                                                                                             Yes

07857265                           USD[1.68]

07857268                           CUSDT[.00000958], DOGE[1.00004668], GRT[.0009546], SHIB[.00030135], USD[0.11]                                                                                                          Yes

07857293                           DOGE[3688.55603359], SHIB[24236548.71546291], USD[2200.00]

07857294                           USD[20.00]

07857298                           DOGE[0], LTC[0], TRX[0.00000060]

07857305                           NFT (351362201735982884/Coachella x FTX Weekend 2 #13549)[1]

07857317                           USDT[.393]

07857328                           ETH[.000171], ETHW[5.177171], USD[6695.95]

07857350                           BCH[.02765821], BRZ[1], CUSDT[2], SOL[.23252087], UNI[2.1633848], USD[0.00]                                                                                                            Yes

07857370                           SOL[0], USD[4.47]                                                                                                                                                                      Yes

07857396                           DOGE[761.238], KSHIB[1748.25], MATIC[49.95], SHIB[1999800], TRX[805.194], USD[5.53]

07857399                           DOGE[0], USD[0.01]                                                                                                                                                                     Yes

07857407                           SHIB[3], USD[100.27]                                                                                                                                                                   Yes

07857411                           BTC[0], DOGE[0], USD[0.00]

07857424                           BTC[.00970441], CUSDT[2], DOGE[4.2707803], ETH[.15459917], ETHW[.15388148], LINK[4.62642358], USD[0.00]                                                                                Yes

07857437                           CUSDT[2], USD[0.01]                                                                                                                                                                    Yes

07857445                           CUSDT[1], SHIB[8618189.0197186], USD[0.00]

07857452                           AAVE[.00000151], BTC[.00793803], CUSDT[9], DOGE[155.60833808], ETH[.12386682], ETHW[.12269713], MATIC[41.02029086], SHIB[3], SOL[1.25018883], TRX[1], USD[0.00]                        Yes

07857460                           DOGE[1], ETH[.01655672], ETHW[.01635152], USD[0.00]                                                                                                                                    Yes

07857470                           NFT (301477723857015584/FTX - Off The Grid Miami #5624)[1], USD[48.04]

07857479                           USD[20.00]

07857516                           BRZ[1], BTC[.00712889], CUSDT[4], DOGE[407.43547084], ETH[.32187118], ETHW[.3217036], GRT[55.26382947], LINK[5.25719118], MATIC[53.76986005], SHIB[697846.06266094], TRX[2],           Yes
                                   USD[0.00]
07857526                           CUSDT[979.41121514], DOGE[24.4915377], ETH[.00154383], ETHW[.00153014], SHIB[1134745.99136499], TRX[112.03988334], USD[0.00]                                                           Yes

07857528                           CUSDT[1], SHIB[383549.62973179], USD[0.00]                                                                                                                                             Yes

07857533                           BTC[.00045341], CUSDT[138.55270214], DOGE[194.77266617], ETH[.00840458], ETHW[.00840458], KSHIB[240.96979863], NFT (329780516310293955/4x4 Jamboree #2)[1], NFT
                                   (423111115570604984/Doggo #2)[1], SHIB[986079.26732789], SOL[.1761591], TRX[51.13731955], USD[0.00]
07857537                           CUSDT[56.98991746], DOGE[.00087433], ETH[.00000003], ETHW[1.98171104], GRT[.0020155], LINK[.0003649], SHIB[18], SOL[.00014776], TRX[2], UNI[.00079612], USD[2733.50], USDT[1.0000913] Yes

07857546                           USD[50.01]

07857550                           CUSDT[1], GRT[183.99933977], TRX[1], USD[0.00], USDT[0]
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                                                                                                                                         Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07857553                           BTC[.00001554], CUSDT[4], DOGE[1], MATIC[.00051618], USD[0.00]                                                                                                                          Yes

07857556                           CUSDT[5], DOGE[2], ETH[.07158748], ETHW[.07069828], GRT[131.03030013], SOL[.22376218], TRX[2], USD[0.32]                                                                                Yes

07857560                           CUSDT[1], TRX[1], USD[0.01]                                                                                                                                                             Yes

07857564                           CUSDT[2], LINK[18.7791964], SHIB[86875.61279439], SOL[7.14751756], TRX[1], UNI[30.89944388], USD[0.01]                                                                                  Yes

07857572                           USD[50.01]

07857601                           SHIB[3896400], TRX[999], USD[0.87]

07857608                           USD[0.00]

07857609                           BTC[.00535902], SHIB[1], USD[0.00]                                                                                                                                                      Yes

07857619                           BF_POINT[300]

07857620                           CUSDT[1], DOGE[2], SOL[0], USD[0.00]

07857633                           USD[500.00]

07857656                           BRZ[1], CUSDT[2], DOGE[91.01521994], MATIC[18.67250881], SHIB[1], TRX[482.80590694], USD[0.00], USDT[0]                                                                                 Yes

07857664                           CUSDT[1], DOGE[1], USD[0.11]                                                                                                                                                            Yes

07857667                           BTC[.00197805], CUSDT[9], DOGE[480.77937945], ETH[.02608116], ETHW[.02575284], LINK[4.25728453], SHIB[1855553.34423571], SOL[.53167733], SUSHI[1.91523187], TRX[823.0949701],           Yes
                                   USD[0.00], USDT[0.00004033]
07857668                           ETH[.11677823], ETHW[.11677823], USD[0.00]

07857677                           BRZ[1], CUSDT[1], DOGE[4405.84746803], NFT (444869533849796497/Imola Ticket Stub #1232)[1], NFT (448721566514514551/Barcelona Ticket Stub #1604)[1], SHIB[92552918.57760929], TRX[1],   Yes
                                   USD[0.00]
07857684                           USD[0.01], USDT[0]                                                                                                                                                                      Yes

07857699                           BRZ[1], BTC[.00377768], USD[0.00]

07857750                           AAVE[.0000056], AUD[0.00], BAT[.00069631], BCH[.00000039], BRZ[4.84601908], BTC[.00000001], CAD[0.12], CUSDT[16], DOGE[3.00385152], ETH[.00000026], ETHW[.00000026], GRT[.17308543], Yes
                                   LINK[.00000003], LTC[.00000289], MATIC[.00031971], MKR[.00000011], SHIB[4073.78802776], SOL[.00000317], SUSHI[.00007509], TRX[5.14987129], UNI[.01324731], USD[0.00], USDT[0.00000001],
                                   YFI[.00000004]
07857755                           USD[0.00]

07857769                           CUSDT[5], USD[0.01]                                                                                                                                                                     Yes

07857777                           DOGE[1], NFT (315289619593998137/Red Moon #284)[1], NFT (402552134293245152/Rubber Duckie #0032)[1], NFT (561074723585395373/Rubber Duckie #0023 - Avalanche)[1], SHIB[1],              Yes
                                   SOL[.1756312], USD[0.00]
07857782                           USD[0.04]

07857799                           USD[50.00]

07857805                           NFT (431627247479975954/Entrance Voucher #1752)[1]

07857806                           ETHW[.01546087], SHIB[1], USD[296.90]                                                                                                                                                   Yes

07857810                           ETH[5.420308], ETHW[5.420308], JPY[123.00], USD[0.00]

07857819                           DOGE[.05082485], ETH[.0003572], ETHW[.0003572], SOL[.001568], USD[66.02]

07857833                           BRZ[1], BTC[0], ETH[0], MATIC[0], SHIB[2], SOL[0], TRX[1], USD[0.01], USDT[0.00967487]                                                                                                  Yes

07857837                           CUSDT[.01620887], ETH[.00000012], ETHW[.00000012], USD[0.00]                                                                                                                            Yes

07857846                           ETH[.00000001], USD[0.00]

07857848                           UNI[2.96081246], USD[62.43]

07857858                           CUSDT[5], LTC[2.10753557], TRX[1092.74255804], USD[5.43]                                                                                                                                Yes

07857884                           BTC[0], SOL[.00000001], USD[0.00]

07857888                           CUSDT[2], DOGE[2], ETH[.00000001], ETHW[0], USD[0.00]                                                                                                                                   Yes

07857889                           DOGE[1286.88250452], ETHW[.08086019], EUR[74.56], SHIB[3557419.66476215], SOL[1.25558313], TRX[2], USD[201.47]                                                                          Yes

07857891                           ETH[0.00901046], ETHW[0.00901046], SOL[1], USD[0.00]

07857903                           CUSDT[5], TRX[1], USD[0.00]

07857904                           USD[20.00]

07857906                           NFT (392194824252353445/Reding Hat/01)[1], USD[0.00], USDT[0]

07857908                           USD[10.00]

07857914                           BRZ[1], CUSDT[1], SHIB[0], USD[0.05]                                                                                                                                                    Yes

07857923                           USD[0.01], USDT[0.00002367]

07857932                           BF_POINT[100], BTC[0], USD[0.00]                                                                                                                                                        Yes

07857936                           USD[0.01]

07857939                           BAT[.14781247], CUSDT[6], DOGE[.00077636], TRX[.00187319], USD[0.41]                                                                                                                    Yes

07857940                           USD[0.77]

07857944                           CUSDT[1], DOGE[227.63361231], TRX[564.21746403], USD[0.07], USDT[54.19380305]                                                                                                           Yes

07857947                           BAT[1], BRZ[3], BTC[.48948847], CUSDT[9], DOGE[7.00051434], ETH[1.13513846], ETHW[1.13470519], LINK[10.15088186], MATIC[1143.40345994], SHIB[3], SOL[14.33728554],                      Yes
                                   SUSHI[39.50571798], TRX[7220.65442809], USD[-3245.89], USDT[1.02279872]
07857952                           CUSDT[1], USD[0.00]                                                                                                                                                                     Yes

07857956                           BRZ[3], CUSDT[6], DOGE[2.77680524], USD[125.91], USDT[0.00037143]                                                                                                                       Yes

07857964                           NFT (300906369569332013/Dani <3 #2)[1], SOL[.14253283], USD[0.84]

07857967                           MATIC[769.23], USD[11.61]

07857984                           NFT (533690662066829527/Hall of Fantasy League #312)[1]

07857987                           USD[4.44]

07857988                           ETH[0.00369232], ETHW[0.00369232], USD[0.00]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07857993                              CUSDT[19], DOGE[2], ETH[.00000047], ETHW[.00000047], MATIC[.00028894], TRX[1], USD[0.01]                                                                                     Yes

07857994                              ETH[0], SOL[.00000001], USDT[2.64955399]

07857995                              NFT (345499762556437285/Saudi Arabia Ticket Stub #253)[1], NFT (356394268582531045/FTX - Off The Grid Miami #7534)[1], NFT (414231365119067734/Solninjas #712)[1], NFT
                                      (531511211431713834/Barcelona Ticket Stub #275)[1], NFT (560182207148818106/Ravager #2043)[1], USD[0.00]
07858005                              CUSDT[75.61629349], USD[0.00]                                                                                                                                                Yes

07858007                              ETH[.00052575], ETHW[.00052575], USD[0.00]

07858013                              USD[0.00]

07858015                              ETHW[325.41531384], USD[0.00]

07858028                              USD[0.40]

07858032                              SOL[.1159122], USD[5.47]                                                                                                                                                     Yes

07858040                              BAT[0], DOGE[0], ETH[0], KSHIB[69.5591951], PAXG[0], USD[0.00]                                                                                                               Yes

07858041                              USD[20.00]

07858043                              NFT (401164464625301389/2974 Floyd Norman - CLE 1-0086)[1], USD[0.01]

07858046                              BCH[0], BTC[0], DOGE[0], ETH[0], LTC[0], SHIB[10.10279286], TRX[0], USD[0.00], USDT[0], WBTC[0]

07858047                              USD[21.77]

07858049                              NFT (406287201443526270/ApexDucks #7595)[1], PAXG[0], SHIB[8], USD[0.18], USDT[0.00457308]                                                                                   Yes

07858053                              CUSDT[1], USD[0.00], YFI[.00337469]                                                                                                                                          Yes

07858055                              BRZ[1], BTC[.04988861], DOGE[1], SHIB[1], TRX[2], USD[0.30]

07858059                              USD[20.00]

07858070                              BTC[.0000019], USD[0.10]

07858071                              USD[0.00]

07858075                              SHIB[2826286.12133659], SOL[2.07192395], USD[0.00], USDT[0.00000137]

07858091                              CUSDT[2], LINK[1.66708316], USD[0.00]                                                                                                                                        Yes

07858095                              NFT (353205832257697261/Australia Ticket Stub #368)[1], NFT (364031758981814319/Entrance Voucher #2268)[1], USD[0.00]

07858100                              NFT (450308280326696622/Hall of Fantasy League #318)[1]

07858131                              BRZ[1], BTC[.00000001], CUSDT[12], SOL[0], TRX[2], USD[0.00]                                                                                                                 Yes

07858136                              BRZ[1], USD[0.39]                                                                                                                                                            Yes

07858162                              BTC[.00644424], CUSDT[11], DOGE[1], GRT[1], SHIB[2], TRX[2], USD[0.00]

07858164                              BTC[.01658052], CUSDT[2], ETH[.35931507], ETHW[.35916419], LTC[.27306817], MATIC[34.64316843], SHIB[3], SOL[.93452306], SUSHI[30.94924684], USD[204.94], USDT[0.00003746]    Yes

07858196                              SOL[1.52428907], USD[0.00], USDT[0.00000038]

07858199                              MATIC[10.75311973], SOL[.235235], TRX[155.09094994], USD[1.36]                                                                                                               Yes

07858200                              BTC[.00006664], USD[0.45], USDT[.008455]

07858202                              ETH[0], USD[565.21]                                                                                                                                                          Yes

07858208                              CUSDT[1], DOGE[1.00025929], GRT[1], TRX[1], USD[0.00]

07858216                              USD[0.01], USDT[.9002196]

07858229                              SOL[0], USD[0.00]

07858235                              USD[0.00]

07858243                              USD[45.92]                                                                                                                                                                   Yes

07858247                              CUSDT[1], SOL[2.09581663], USD[5.46], USDT[1.09056257]                                                                                                                       Yes

07858272                              SOL[0]

07858274                              NFT (519747792035009111/Solana Squirrel #434)[1]

07858291                              USD[178.16]                                                                                                                                                                  Yes

07858294                              ETH[0], ETHW[0], USD[0.00]

07858296                              USD[76.29]

07858305                              BRZ[1], BTC[.07900905], DOGE[2], USD[0.00]

07858312                              ETH[.00001369], ETHW[0.00001368], LINK[.00000001], NFT (301952519569866024/FTX - Off The Grid Miami #907)[1], USD[0.00]                                                      Yes

07858315                              SOL[0]

07858317                              BTC[.0001358], GRT[.32096407], USD[0.37], USDT[0.00000007]

07858318                              ETHW[.061938], USD[0.01]

07858330                              NFT (514908356621066424/Imola Ticket Stub #1129)[1]

07858347                              ETH[0], ETHW[0], SOL[0], USD[1.03]

07858349                              BTC[0], ETH[0], USD[2.05]

07858356                              USD[20.00]

07858365       Contingent, Disputed   BTC[.09], TRX[1], USD[414.71]

07858366                              DOGE[1], USD[0.00]                                                                                                                                                           Yes

07858381                              DOGE[1], ETH[.00006682], ETHW[.00006682], NFT (436035875575022258/Doak Walker's Playbook: Cleveland Brown vs. Detroit Lions - December 27, 1953 #85)[1], TRX[1], USD[0.04]   Yes

07858403                              HKD[0.00], USD[632582.35], USDT[.00152615]

07858405                              BF_POINT[300], USD[0.23]                                                                                                                                                     Yes

07858412                              TRX[.000001], USDT[8.920656]
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                                                                                                                                            Customer Claims                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07858422                              ETH[.012987], ETHW[.012987], USD[3.13]

07858429                              CUSDT[5], EUR[0.00], USD[29.25]                                                                                                          Yes

07858460                              USD[0.00], USDT[1.8992234]

07858461                              ETH[.13950247], ETHW[.13950247], SOL[0], USD[0.00]

07858482                              USD[0.00]

07858489                              ETH[.00263497], ETHW[.00260761], LTC[.02989615], TRX[54.88097315], USD[0.00]                                                             Yes

07858510                              CUSDT[2], LINK[1.29668259], SOL[.22166831], USD[10.00]

07858512                              USD[2.19]                                                                                                                                Yes

07858519                              ETH[.00242857], ETHW[.00240121], MATIC[.00001559], NFT (446593213851942134/Entrance Voucher #3398)[1], SHIB[26395.47277936], USD[0.00]   Yes

07858521                              NFT (366187295875617125/Hall of Fantasy League #358)[1]

07858526                              TRX[.000012], USD[0.43]

07858560                              USD[1.00]

07858562                              USD[0.03]

07858568                              CUSDT[2], SOL[0], TRX[1], USD[0.00]                                                                                                      Yes

07858573                              SOL[.54], USD[0.00], USDT[0]

07858587                              USD[0.25]

07858599                              USD[0.31]

07858600                              BTC[0.00189322], CUSDT[1], DOGE[3], ETH[.01821301], ETHW[.01798558], MATIC[14.41751332], SHIB[5], SOL[0.11709882], USD[7.71]             Yes

07858605                              ETH[0], USD[0.00]

07858609                              USD[20.00]

07858629                              TRX[.000001], USD[19.81], USDT[0.72036719]                                                                                               Yes

07858633                              BTC[.04377201], ETH[.5486877], ETHW[.5486877], GRT[113], MATIC[349.793], SOL[11.312899], USD[338.65]

07858652                              BRZ[1], CUSDT[1], ETH[.04871697], ETHW[.04811505], LINK[4.3735793], SHIB[2], SOL[.32305308], TRX[1], USD[0.34]                           Yes

07858660                              TRX[1], USD[0.00]

07858668                              BTC[.00129468], CUSDT[2], ETH[.00616277], ETHW[.00608069], USD[0.01]                                                                     Yes

07858669                              USD[34.47]

07858672                              USD[20.00]

07858713                              ETH[.00000001], ETHW[0], NFT (353024223342245758/Wolf Tribe)[1], SHIB[1], USD[78.05]                                                     Yes

07858716                              USD[20.00]

07858720                              USD[20.00]

07858734                              ETH[.00000001], ETHW[0], MATIC[7.86931744], SHIB[33585.83847099], USD[1.41]

07858735                              ETHW[.02608463], USD[0.01]

07858743                              AAVE[6.8798579], LINK[1.149425], USD[0.01]

07858747                              USD[1000.20]

07858752                              USD[0.18]

07858753       Contingent, Disputed   BTC[0], USDT[0.00000001]

07858777                              USD[442.90]                                                                                                                              Yes

07858790                              BTC[0], DOGE[0], ETH[0], LINK[0], MKR[0], NEAR[0], SOL[0], TRX[0], USD[0.00], YFI[0]

07858798                              USD[0.02]

07858818                              ETH[0], ETHW[0], NFT (291202608451116847/Staples )[1], SHIB[0.00000001], SOL[0.00000001], USD[0.05], USDT[0]                             Yes

07858830                              SOL[.7], USD[0.77]

07858840                              BCH[.000829], BTC[0.00001903], USDT[0]

07858841                              USD[0.02]                                                                                                                                Yes

07858842       Contingent, Disputed   ETH[.00327241], ETHW[.00327241], SHIB[89269.77325477], SOL[.33879485], USD[0.00]

07858851                              USD[218.60]                                                                                                                              Yes

07858869                              BTC[0], CUSDT[13], DOGE[3], MATIC[0], SHIB[2.3037117], SOL[0], USD[15.05]                                                                Yes

07858878                              SHIB[1], USD[0.00]

07858884                              USD[49.00], USDT[.99500399]

07858886                              NFT (374806785487793922/Coachella x FTX Weekend 2 #31157)[1], NFT (453037365547714455/Coachella x FTX Weekend 1 #30979)[1]

07858906                              DOGE[2], TRX[1], USD[0.10]

07858911                              DOGE[1], USD[0.00]                                                                                                                       Yes

07858920                              USD[0.03]                                                                                                                                Yes

07858927                              ETH[0.02589996], ETHW[0.02589996], USD[0.00]

07858931                              USD[0.00]

07858936                              NFT (566706784598855770/Hall of Fantasy League #362)[1]

07858941                              CUSDT[296.41383605], SHIB[2], TRX[2], USD[0.00]                                                                                          Yes

07858961                              USD[0.00]                                                                                                                                Yes

07858967                              USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07858969                              ETHW[3.76749634]                                                                                                                                                                     Yes

07858973                              BTC[.0000746], SOL[.00282], UNI[.0764], USD[0.68]

07858975                              ETHW[1.312], USD[4019.33]

07858989       Contingent, Disputed   USD[0.00]

07859001                              USD[0.00]

07859006                              USD[0.00]

07859012                              USD[0.00]

07859016       Contingent, Disputed   BTC[.12948185], USD[3000.90], USDT[1442.44996207]

07859020                              USDT[.00858053]                                                                                                                                                                      Yes

07859037                              USD[20.00]

07859042                              BAT[817], DOGE[343], USD[6.37]

07859044                              USD[20.00]

07859052                              ETH[0], SOL[0], TRX[0], USDT[0.00000092]

07859060                              NFT (333100884551451054/Microphone #3774)[1]

07859069                              USD[1.51]

07859071                              BAT[345.79030003], TRX[.653917], USDT[0]

07859072                              BRZ[1], ETH[.12209337], ETHW[.12209337], USD[0.00]

07859087       Contingent, Disputed   USD[0.00]

07859089                              BTC[.00001144], USD[0.00], ZAR[0.00]                                                                                                                                                 Yes

07859091                              ETH[0], SOL[0], USD[499.74]

07859100                              CUSDT[3], USD[0.00]                                                                                                                                                                  Yes

07859101                              USD[360.36]

07859107                              DOGE[39.96], ETHW[4.03], SHIB[25000000], SUSHI[25], TRX[1000], USD[6596.78], USDT[2.7431224]

07859110                              USD[20.00]

07859130                              AAVE[1.68841734], AVAX[158.80901413], BAT[7348.48932543], BTC[.43721263], DOGE[16908.95058404], ETH[17.78403506], ETHW[17.78403506], LINK[395.87885786], LTC[2.23420825],
                                      MATIC[7782.60077018], MKR[1.39443556], SOL[124.39336056], SUSHI[1598.99917713], TRX[18186.47095062], UNI[611.97399095], USD[21987.92], YFI[.56056321]
07859137       Contingent, Disputed   USD[0.00]

07859140                              ETH[.000168], ETHW[.000168], MATIC[8.2], SOL[.003], USD[34353.78]

07859143                              BTC[0], LTC[0], USD[0.00]

07859148                              USD[0.03]

07859160                              NFT (378504187279978588/Australia Ticket Stub #2055)[1]

07859161                              BTC[1.00596459], ETH[1.08743039], ETHW[1.08743039], SOL[92.57014798], USD[11500.00]

07859164                              CUSDT[2], DOGE[1338.3287885], ETH[.01871531], ETHW[.01848275], SOL[2.88460354], TRX[1], USD[0.00]                                                                                    Yes

07859176                              TRX[.000022], USD[0.00], USDT[0]

07859178                              BTC[0], USD[0.00], USDT[0]

07859181                              BAT[2.08498531], BRZ[1], BTC[.20932483], CUSDT[1], ETH[1.24475055], ETHW[1.24422775], SOL[22.39213112], TRX[3], USD[0.41]                                                            Yes

07859182                              WBTC[0]

07859189                              MATIC[89.9145], USD[10.00]

07859191                              NFT (460485991389021953/FTX - Off The Grid Miami #6456)[1], NFT (490086253727122896/Saudi Arabia Ticket Stub #644)[1]

07859205                              ETHW[200.00435027], TRX[1], UNI[1], USD[0.00]

07859206                              DOGE[0.00153527], LTC[0.00000589], MATIC[0.00041092], NFT (295319342271688374/SharkBro #297)[1], NFT (314842079188736012/Nifty Nanas #4371)[1], NFT (535998749720269741/SharkBro     Yes
                                      #2846)[1], NFT (540038549198571324/SharkBro #886)[1], SHIB[4717.633092], SOL[0.00000012], USD[0.00]
07859207                              ETHW[.159], NFT (326383145144204812/Flunk Donkey #3203)[1], NFT (410579132342841307/Flunk Donkey #739)[1], NFT (532693669999600985/Flunk Donkey #4161)[1], USD[0.01],
                                      USDT[.45988285]
07859214                              NFT (296185570253025684/Hall of Fantasy League #338)[1]

07859219                              CUSDT[1], USD[0.01], USDT[0]

07859227                              USD[0.00]

07859228                              BTC[0], ETH[.00000001], ETHW[0.50002112], LINK[24.975], UNI[19.98], USD[0.00]                                                                                                        Yes

07859233                              BAT[3.996], BTC[.0016983], DOGE[10128.865], ETH[2.392602], ETHW[2.393602], GRT[1058.94], LINK[29.97], LTC[.999], MATIC[9.99], SHIB[3996000], SOL[102.852], SUSHI[9.99], TRX[99.9],
                                      UNI[9.99], USD[3341.55]
07859237                              BTC[.02925039], ETH[.41274132], ETHW[.41274132], SOL[8.95130471], USD[0.00]

07859243                              BCH[.06342577], BTC[.0009764], CUSDT[1], SHIB[863923.05461898], TRX[1], USD[0.02]                                                                                                    Yes

07859246                              ETH[0], SOL[0], USD[0.00]

07859253                              SHIB[1], USD[0.00]                                                                                                                                                                   Yes

07859272                              DOGE[1], USD[0.01]

07859277                              BTC[0], DOGE[0], USD[0.00]

07859282                              BTC[.0023], USD[0.79]

07859285                              ETH[.00010374], ETHW[0.00010373], USD[2.67]

07859286                              CUSDT[1], NFT (354595425300274480/SolBunnies #2450)[1], SOL[.06311924], USD[0.00]                                                                                                    Yes

07859288                              USD[21.51]                                                                                                                                                                           Yes

07859293                              USD[0.01], USDT[0.25402194]
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                                                                                                                                             Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or         Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07859309      Contingent, Disputed     ETH[0]

07859310                               USD[20.00]

07859313                               BAT[9.88301567], BCH[.01850556], BTC[.00163953], CUSDT[9], DAI[39.31191753], ETH[.00251339], ETHW[.00248603], GRT[28.53207482], KSHIB[198.97595037], MATIC[21.93606196],                  Yes
                                       SHIB[2122152.87750389], SOL[.00519075], TRX[2], USD[0.00], USDT[42.93286403], YFI[.00185632]
07859322                               CUSDT[3], SOL[0], USD[0.00]

07859327                               GRT[2], SOL[.00001], TRX[2], USD[0.03]

07859330                               USD[0.01]

07859334                               AAVE[0], AUD[0.00], BAT[0], BCH[0], BTC[0], CAD[0.00], CUSDT[0], DOGE[0], ETH[0.00001544], ETHW[0.00001544], EUR[0.00], GBP[0.00], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], MKR[0],   Yes
                                       PAXG[0], SOL[0], SUSHI[0], TRX[0], USD[1.66], USDT[0], YFI[0.00000470]
07859337                               USD[0.00]

07859340        Contingent, Disputed   BRZ[1], USD[0.00], USDT[1]

07859341                               AAVE[0], AUD[0.00], BCH[0], BTC[0], CAD[0.00], CUSDT[8], DOGE[1], ETH[0], ETHW[0], EUR[0.00], GBP[0.00], GRT[0], KSHIB[2.29732061], LINK[0], LTC[0], MATIC[0], MKR[0], PAXG[0],           Yes
                                       SHIB[.00000893], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00], USDT[2.13191164], YFI[0]
07859346                               NFT (466211079477432356/Hall of Fantasy League #299)[1]

07859348                               USD[0.84]

07859362                               BTC[.0024864], CUSDT[2], ETH[.01629565], ETHW[.01609045], LINK[1.34843666], SHIB[1503.86532585], SUSHI[3.44092979], TRX[2], UNI[1.41636747], USD[0.00]                                    Yes

07859366                               USD[0.04]

07859383                               BTC[.00024679], USD[278.50]

07859390                               USD[20.00]

07859402                               NFT (536937839521407061/Entrance Voucher #25608)[1], USD[0.00], USDT[0]

07859409                               USD[5.37]

07859426                               USD[2.62]

07859449        Contingent,            USD[2.16]
                Unliquidated
07859451                               CUSDT[2], TRX[2], USD[1.95]                                                                                                                                                               Yes

07859454                               BTC[0], MATIC[69.69], USDT[2.4849394]

07859458                               BAT[1], CUSDT[1], DOGE[1], SOL[0]

07859497                               USD[0.00], USDT[0.00000054]

07859504                               EUR[0.00], USD[0.00]

07859515                               USD[0.00]

07859516                               USD[500.00]

07859520                               SOL[.00002664], USD[0.00]

07859523                               USD[0.00]

07859525                               ETH[0], ETHW[0]

07859531                               USD[0.01]

07859539                               BAT[1.01329294], BRZ[6.42365631], BTC[0], CUSDT[23], DOGE[5.00197308], ETH[0], KSHIB[0], TRX[.0211948], USD[0.00], USDT[1.07512617]                                                       Yes

07859546                               SOL[0.00431477], USD[0.00]

07859549                               DOGE[2], TRX[1], USD[0.10]                                                                                                                                                                Yes

07859562                               SOL[.01], USD[228.58]

07859570                               AAVE[.10068602], AVAX[.76554359], BAT[4.08125918], BCH[.10668432], BRZ[36.71534621], BTC[0], CUSDT[1855.29475036], DOGE[196.12236097], ETH[3.68891848], ETHW[3.68762457],                 Yes
                                       GRT[30.91896459], LINK[2.47705724], LTC[110.19910212], MATIC[23771.23774066], MKR[.00697905], SHIB[17518125.73755373], SOL[.25610579], SUSHI[1.95821312], TRX[124.7980909],
                                       UNI[3.42990374], USD[1000.07], USDT[10.29634412], YFI[.00252421]
07859587                               USD[4.23]

07859588                               BTC[0], DOGE[0], LTC[0], USD[0.00], USDT[0.00020694]

07859595                               ETHW[.269], NFT (471641835748192471/FTX - Off The Grid Miami #975)[1], USD[4.27]

07859609                               AVAX[1], USD[30.87]

07859625                               USD[6.77]

07859635                               MKR[.01212289], PAXG[.01341003], SHIB[1], USD[0.00]                                                                                                                                       Yes

07859639                               BTC[0], ETHW[.0042315], USD[182536.11]

07859650                               BTC[.65965953], ETH[9.28849955], ETHW[7.82766615], USD[1748.82]                                                                                                                           Yes

07859651                               BTC[.00917207], USD[0.49]                                                                                                                                                                 Yes

07859653                               BTC[.00103478], CUSDT[1], USD[0.00]                                                                                                                                                       Yes

07859656                               CUSDT[1], DOGE[1], TRX[1], USD[0.00], USDT[1.09179824]                                                                                                                                    Yes

07859675                               USD[1.00]

07859686                               CUSDT[1], LTC[1.23498611], USD[0.09]                                                                                                                                                      Yes

07859687                               SHIB[0], USD[0.00], USDT[1.85962208]                                                                                                                                                      Yes

07859689                               NFT (436453758049116980/Entrance Voucher #2810)[1], USD[0.00], USDT[0]

07859692                               BTC[0.00191625], SOL[0], USD[0.00]

07859703                               USD[208.01]

07859708                               USD[63.27]

07859719                               USD[0.71]                                                                                                                                                                                 Yes

07859724                               AAVE[9.3436025], BAT[3879.74986], BTC[0.14901947], DOGE[2251.26243], ETH[3.7347127], ETHW[3.73471269], MATIC[2494.77675], SOL[23.7001524], TRX[26133.15437], USD[605.10]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07859735                           USD[0.01]

07859737                           BTC[.00000001], ETH[.00000043], SHIB[2], USD[302.99]                                                                                                                                     Yes

07859742                           SOL[23.37803827]

07859744                           DOGE[0], USD[75.61]

07859750                           SOL[.00002], USD[0.54]

07859755                           BRZ[1], GRT[1.00367791], MATIC[.01213508], TRX[1], USD[0.00], USDT[0]                                                                                                                    Yes

07859764                           ETHW[.00000744], TRX[10.000288], USD[0.01], USDT[0]

07859766                           BTC[.00070467], SHIB[1], USD[0.00]                                                                                                                                                       Yes

07859768                           SOL[0], USD[0.00], USDT[0.00000077]

07859770                           NFT (472676858318471115/Ferris From Afar #326)[1], NFT (521002031362224823/Beasts #399)[1], USD[4.01]

07859776                           USD[0.00]

07859778                           BRZ[1], CUSDT[7], ETHW[.02642521], SHIB[184398.16243934], TRX[3], USD[0.01]                                                                                                              Yes

07859787                           USD[0.63]

07859792                           AAVE[0], NFT (558719327030802524/Coachella x FTX Weekend 2 #9224)[1], USD[0.00]

07859794                           USD[100.00]

07859797                           USD[11.83]

07859798                           USD[0.00]

07859812                           SOL[0]

07859813                           NFT (424347309555566933/Reflection '10 #40)[1], NFT (511863203802641089/Entrance Voucher #1968)[1], USD[0.99]

07859822                           USD[0.00]

07859824                           ETH[.000078], ETHW[.000078], NFT (477151894710374680/The 2974 Collection #2534)[1], NFT (500250582770730430/The 2974 Collection #2519)[1], NFT (530088281783863554/Birthday Cake
                                   #2534)[1], NFT (555903695504990326/Birthday Cake #2519)[1], SOL[.00186], USD[23.04]
07859835                           USD[0.00]

07859836                           USD[8.94]

07859840                           USD[0.12]

07859847                           BTC[.0012], USD[0.97]

07859849                           TRX[.000001], USD[0.00], USDT[0]

07859851                           USD[2.01]

07859854                           BAT[1], BTC[.01044305], USD[0.00]

07859856                           NFT (425378741018798932/Coachella x FTX Weekend 1 #4879)[1]

07859857                           USD[0.00]

07859869                           SHIB[1], USD[25000.00]                                                                                                                                                                   Yes

07859888                           USD[5.00]

07859890                           AUD[2.36], BRZ[0], BTC[0], CAD[0.00], DAI[0.06640541], ETH[0.00000005], ETHW[0.00000005], EUR[0.00], GBP[0.00], HKD[0.00], MATIC[0], NFT (289840329296609124/MagicEden Vaults)[1], NFT   Yes
                                   (298863728008761774/Call It #4)[1], NFT (392846749903904260/MagicEden Vaults)[1], NFT (466013407399993446/Call It #5)[1], NFT (475643346287273133/MagicEden Vaults)[1], NFT
                                   (496723794615717216/MagicEden Vaults)[1], NFT (500597643078288312/SolBunnies #3985)[1], NFT (520489080057549227/You in, Miami? #15)[1], NFT (527276618150608842/MagicEden Vaults)[1],
                                   NFT (530434948475047802/Shirt)[1], NFT (550457455115395732/Testing Collection Testing Collection)[1], SHIB[4], SOL[0.03030451], TRX[1], USD[0.00], USDT[0.00000001]
07859894                           USD[54.65]                                                                                                                                                                               Yes

07859895                           ETH[0], SOL[0.00000001], USD[0.00]

07859900                           NFT (352450849052231751/FTX Crypto Cup 2022 Key #539)[1], NFT (427939271093072515/Entrance Voucher #29615)[1], NFT (560505822373807758/The Hill by FTX #703)[1]

07859903                           USD[0.00], USDT[0]

07859905                           NFT (413083957064948353/Entrance Voucher #10822)[1], USD[0.00]

07859912                           SOL[1.91159509], TRX[1], USD[0.00]                                                                                                                                                       Yes

07859916                           LTC[0], SOL[6.83000000], USD[0.11]

07859918                           BF_POINT[100], BTC[.00000718], CUSDT[1], DOGE[3], SHIB[2], SOL[0], TRX[4], USD[0.00]                                                                                                     Yes

07859921                           USD[0.03]

07859926                           USD[0.00]

07859948                           NFT (490342513258080858/Imola Ticket Stub #228)[1], USD[0.00]

07859950                           USD[0.61]

07859970                           BTC[0], DOGE[3], ETH[0], SHIB[12], USD[0.00], USDT[0]

07859973                           SOL[0], USD[0.00]

07859974                           USD[0.61]

07859982                           SOL[0.00000001], USD[0.00], USDT[0]

07859992                           CUSDT[2], LINK[.00011749], USD[0.24]                                                                                                                                                     Yes

07859994                           USD[0.00]

07859999                           USD[0.00]

07860015                           NFT (514696510352363916/Ravager #107)[1], USD[0.80]

07860025                           ETH[0], SOL[0], USD[0.00]

07860028                           SOL[.00000001], USD[0.00]

07860035                           NFT (367102802728046733/Ferris From Afar #535)[1], USD[0.01]
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                                                                                                                                         Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07860037                           USD[0.05]

07860052                           NFT (473125481973876457/Bahrain Ticket Stub #2187)[1], SOL[.00585241], USD[0.00]

07860059                           USD[2.28]

07860071                           USD[0.01]

07860076                           SOL[7.49], USD[0.01]

07860077                           BRZ[2], CUSDT[39], DOGE[7.06042402], ETH[1.04162718], ETHW[.1354193], GRT[1], MATIC[2048.64581649], SHIB[11], SOL[17.98548484], TRX[11], USD[0.26]                                         Yes

07860079                           NFT (329783801247354654/Entrance Voucher #1496)[1], USD[0.57]

07860088       Contingent,         AVAX[0.00000001], BCH[0], BTC[0.00000001], DOGE[0], ETH[0], ETHW[0], LINK[0], LTC[0], MATIC[0.00000001], SOL[0.00000001], SUSHI[0], TRX[0], UNI[0], USD[0.01], USDT[0.00000001]
               Unliquidated
07860099                           TRX[.000001], USD[4.80], USDT[2163.13495]

07860101                           BTC[0], ETH[1.1688885], ETHW[1.1688885], NFT (530053675823559172/Entrance Voucher #1493)[1], USD[4.92], USDT[0]

07860104                           BAT[.00000922], BTC[0], DOGE[1.00105618], KSHIB[0], MATIC[.00000569], TRX[0.00427173], USD[0.00]                                                                                           Yes

07860117                           USD[6000.00]

07860130                           BTC[.00084649], CUSDT[2], DOGE[2], NFT (317071447313434127/Air and Sea #3)[1], NFT (323759648797478698/Australia Ticket Stub #1300)[1], NFT (327751535070912863/Palms next the           Yes
                                   Bridge)[1], NFT (332432052885178874/Baddies #4838)[1], NFT (393074597939616411/Orange and Yellow )[1], NFT (401525902556021177/Fountains crashing )[1], NFT (491626981671946452/Twilight
                                   Waters )[1], NFT (549808782129180774/Light the way )[1], NFT (576082778727483891/Downtown )[1], SHIB[2858794.86078145], TRX[26.67177883], USD[0.00]
07860134                           DOGE[0.26003049], ETH[0], LTC[0], SOL[0], USD[0.00]

07860145                           CUSDT[1], DOGE[1], USD[102.01]

07860160                           USD[0.07]

07860168                           USD[1.49]

07860169                           NFT (544730291348325150/Bahrain Ticket Stub #1237)[1]

07860174                           USD[20.00]

07860177                           SOL[0], USD[0.73], USDT[0.00000113]

07860185                           BTC[0], ETH[0.05092167], ETHW[0.05092166], USD[0.00]

07860190                           USD[1.00]

07860201                           USD[0.47], USDT[0.00317702]

07860210                           USD[0.00]

07860215                           DOGE[1], ETH[0], ETHW[0], GRT[1], USD[0.00]                                                                                                                                                Yes

07860219                           TRX[114.72796811], USD[0.00]                                                                                                                                                               Yes

07860233                           CUSDT[2], DOGE[76.16479467], USD[0.00]                                                                                                                                                     Yes

07860235                           USD[0.00]

07860239                           SHIB[7280.04799793], USD[0.00]

07860242                           SHIB[12.19065308], USD[14.22]                                                                                                                                                              Yes

07860243                           CUSDT[2], ETH[.00049558], ETHW[.00049558], SOL[.00876291], TRX[4], USD[-0.30]

07860245                           AVAX[2.10582164], BRZ[1], BTC[.00321967], CUSDT[28], DOGE[11.06607867], ETH[.00001138], ETHW[1.24548469], GRT[1], MATIC[134.58599088], SHIB[144], SOL[4.56157131],                         Yes
                                   TRX[13.02312622], USD[0.01]
07860246                           USD[0.00]

07860253                           NFT (346649940382207045/Imola Ticket Stub #883)[1], NFT (357744671333972435/Series 1: Capitals #20)[1], NFT (391730900748941074/Miami University Blockchain Club Attendance NFT #10)[1],
                                   NFT (393283627920738827/Warriors 75th Anniversary Icon Edition Diamond #3180)[1], NFT (441331673056079354/Entrance Voucher #99)[1], NFT (498327090976004624/Microphone #150)[1],
                                   USD[11.00]
07860257                           USD[0.00]

07860258                           ETHW[2.761045], USD[0.00]

07860260                           SOL[.09590957], USD[10.75]

07860263                           USD[0.00]

07860264                           BRZ[1], CUSDT[16], DOGE[3], SOL[5.81305518], TRX[1], USD[0.45]                                                                                                                             Yes

07860265                           USD[2.26]

07860270                           SOL[0], USD[0.00]

07860274                           ETH[0]

07860276                           USD[0.00], USDT[0.00037706]

07860277                           USD[0.00]

07860282                           ETH[.0053562], ETHW[.0053562], USD[0.00]

07860284                           BRZ[1], CUSDT[1], ETH[4.21678018], ETHW[4.21530497], USD[11962.29], USDT[1.04770016]                                                                                                       Yes

07860285                           USD[0.00]

07860287                           BAT[2.057993], BTC[.60209874], CUSDT[1], DOGE[2], GRT[1.00013815], SOL[42.09022732], SUSHI[1.06546488], TRX[1], USD[533.11]                                                                Yes

07860289                           BAT[75.87635768], BTC[.00329653], CUSDT[4], LINK[8.05041332], TRX[1], UNI[4.23277333], USD[0.00]                                                                                           Yes

07860293                           USD[0.00]

07860313                           USD[0.00]

07860314                           BTC[.00016115], TRX[49.35736835], USD[0.00]

07860318                           BF_POINT[300], BRZ[2], CUSDT[4], DOGE[1], EUR[0.00], TRX[1], USD[0.00]

07860323                           SOL[5.28625348], USD[500.00]
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                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07860333                           ETH[0.17552722], ETHW[0.17552722], NFT (311223218711689847/Heavens Exhibit)[1], NFT (328106906803841615/Kobe #9 of 10)[1], NFT (337430381623746320/Yoga Woman #1 - Abhinivesha)[1],
                                   NFT (339168181479392981/Bill and Ted - #0001)[1], NFT (343886890651263486/Yoga Woman #5 - Marman)[1], NFT (397211252826457035/Kobe #6 of 10)[1], NFT (416342034730911757/Kobe #8 of
                                   10)[1], NFT (477826327416681720/Crown Chakra -#7)[1], NFT (547576418056528660/Proper Test )[1], NFT (568235717243841467/Kobe #5)[1], SHIB[7100000], USD[0.00]

07860339                           BRZ[1], BTC[.00000002], USD[0.00]                                                                                                                                                     Yes

07860341                           AAVE[.02], BTC[0.00000573], ETH[.00075506], ETHW[0.00075506], SHIB[500000], USD[1.93], USDT[1.18422000]

07860342                           BAT[0], BCH[.00000012], MATIC[0], PAXG[0], SHIB[0], USD[0.00]

07860344                           BTC[.0065], SOL[0.02336243], USD[1.86]

07860349                           USD[0.92], USDT[0]

07860353                           BTC[0], USD[10.86]

07860364                           BRZ[1], CUSDT[5], DOGE[4.01471184], SHIB[28.79269731], USD[0.00]                                                                                                                      Yes

07860365                           CUSDT[3], DOGE[1], USD[0.53]

07860366                           ETHW[.039], SOL[0], USD[20.04]

07860370                           TRX[606.0555501]                                                                                                                                                                      Yes

07860386                           USD[2.78]

07860388                           USD[0.06]

07860390                           BTC[0], ETH[.00000001], TRX[0], USD[0.00], USDT[0]

07860394                           BRZ[1], DOGE[1], SUSHI[2], TRX[2], UNI[1], USD[0.00], USDT[1]

07860403                           ETH[0], ETHW[.3434485], USD[0.00]                                                                                                                                                     Yes

07860407                           BF_POINT[300]

07860415                           SHIB[9800000], USD[0.96]

07860423                           BF_POINT[100], CUSDT[3], NFT (362311256881449711/Australia Ticket Stub #1111)[1], USD[2.52]                                                                                           Yes

07860425                           MATIC[.9503221], USD[0.00]                                                                                                                                                            Yes

07860434                           BTC[.00002656]

07860438                           SOL[.00504126], USD[0.00]

07860459                           BCH[.00418222], USD[0.00]                                                                                                                                                             Yes

07860461                           USD[0.01], USDT[.8]

07860462                           BTC[0], SOL[.00000001], USD[0.09], USDT[0]                                                                                                                                            Yes

07860472                           USD[500.00]

07860482                           ETH[.03281661], ETHW[.03240621]                                                                                                                                                       Yes

07860492                           BRZ[2], CUSDT[6], SOL[.00000973], TRX[1], USD[0.02], USDT[0]                                                                                                                          Yes

07860499                           USD[20.00]

07860512                           USD[2723.84]                                                                                                                                                                          Yes

07860514                           CUSDT[1], TRX[1], USD[0.00], USDT[0.00000311]

07860521                           USD[0.00]                                                                                                                                                                             Yes

07860528                           CUSDT[7], DOGE[2], SUSHI[8.94880441], USD[0.00], USDT[0.00000061]                                                                                                                     Yes

07860537                           ETH[0.00000001], ETHW[0.00125567], NEAR[0], USD[11.02], USDT[0.00000484]

07860539                           USDT[0.00000168]

07860541                           USD[0.25]

07860544                           BAT[1.01324143], BTC[.20082743], CUSDT[1], DOGE[2], ETH[1.55834845], ETHW[1.55769395], GRT[1.00282128], SOL[32.92881146], TRX[2], USD[5868.92]                                        Yes

07860552                           USD[13.41]

07860555                           ETH[0], USD[0.00]

07860568                           USD[0.21], USDT[0]

07860580                           NFT (348806186938265633/Hall of Fantasy League #247)[1]

07860595                           BTC[0], USD[3.46]

07860597                           SOL[.00198776]

07860603                           ETH[.00151587], ETHW[0.00151587], MATIC[41.22077864], USD[2.45]

07860618                           ETH[0], USD[0.70], USDT[0]

07860625                           USD[546.49]                                                                                                                                                                           Yes

07860627                           TRX[.000001]

07860629                           TRX[1], USDT[0.00000046]

07860634                           AVAX[.072], BCH[.000521], BTC[.0000762], DOGE[.95029777], ETH[.000776], NEAR[.011], NFT (330002171440869766/Ape MAN#70)[1], NFT (352436317618730898/Frenchy Rare #27)[1],             Yes
                                   SOL[87.18937], USD[3.14], USDT[.00592695]
07860641                           USD[0.00]

07860646                           USD[20.00]

07860662                           MATIC[1160], SOL[15.94113], USD[19.15]

07860673                           SOL[.67124843], USD[0.00], USDT[30.68443718]

07860687                           BRZ[1], CUSDT[4], DOGE[8238.96449771], ETH[.03641025], ETHW[.03595881], TRX[1], USD[3.21], USDT[1.08694328]                                                                           Yes

07860710                           CUSDT[2], ETH[0], ETHW[0], USD[0.00]                                                                                                                                                  Yes

07860711                           DOGE[1], MKR[.2114534], USD[0.00]                                                                                                                                                     Yes
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                                                                                                                                         Customer Claims                                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07860714                           CUSDT[1], SUSHI[25.06990876], USD[0.01]                                                                                                                                         Yes

07860715                           BTC[.0010976], CUSDT[2], DOGE[75.24697496], TRX[.000001], USDT[0.00025205]                                                                                                      Yes

07860724                           USD[0.00], USDT[0]                                                                                                                                                              Yes

07860741                           NFT (379576862058256411/Microphone #6548)[1]

07860755                           CUSDT[1], EUR[46.77], USD[0.00]                                                                                                                                                 Yes

07860769                           USD[0.31]

07860794                           CUSDT[3], DOGE[3], SHIB[2], SOL[28.03941674], TRX[3], USD[0.01]

07860826                           BTC[0.00011458], ETH[.00138447], ETHW[.00137079], NFT (413542612410482129/NS Dino 5)[1], SOL[0.01034355], USD[0.00]                                                             Yes

07860857                           NFT (309774819695304523/Barcelona Ticket Stub #1748)[1], NFT (402357856690643972/Imola Ticket Stub #1109)[1], NFT (437401099539367270/Wealth Builder)[1], NFT
                                   (453172676644536336/Wealth Builder #2)[1], NFT (454636401910987629/Working To Death)[1], SOL[.028]
07860865                           USD[0.00]

07860870                           BRZ[1], BTC[.0086844], CUSDT[11], DOGE[2], ETH[.04973814], ETHW[.04912254], LINK[6.89096192], SHIB[2], SOL[2.24733852], SUSHI[3.5255768], TRX[4], USD[52.61]                    Yes

07860886                           AAVE[1.4975], BTC[.0236831], DOGE[2798.598], ETH[.428964], ETHW[20.308432], SOL[.0024], USD[30.45]

07860889                           USD[0.00]

07860894                           SOL[0], USDT[0.00000129]

07860899                           BRZ[1], CUSDT[5], USD[0.00], USDT[0]                                                                                                                                            Yes

07860905                           BCH[0], BRZ[1], BTC[0], CUSDT[9], DOGE[8.16598284], ETH[0], LTC[0], MATIC[0], SHIB[4], SOL[0], TRX[5], USD[1.72], USDT[0]                                                       Yes

07860907                           ETH[0], USD[0.00]

07860912                           TRX[.000001]

07860914                           BTC[8.62572329], ETH[62.29226489], ETHW[62.27519021], LINK[1608.39303643]                                                                                                       Yes

07860926                           SOL[1.10145336], USD[0.00]                                                                                                                                                      Yes

07860934                           AAVE[.0085], BTC[0.00008411], ETH[.063744], ETHW[.063744], SOL[1.79973], SUSHI[.3925], USD[2.21], USDT[.22599075]

07860942                           BTC[.00543368], ETH[.08800813], ETHW[.08800813], SOL[.00025066], USD[0.00]

07860948                           USD[0.01], USDT[0.00021814]

07860950                           BRZ[2], DOGE[1], ETH[.00001715], ETHW[1.08369045], SHIB[1], SOL[.00002123], USD[1548.52]                                                                                        Yes

07860954                           USD[125.01]

07860957                           USDT[0.00000010]

07860965                           USD[1.31]

07860972                           BTC[.00119568], CUSDT[2], ETH[.01743588], ETHW[.01743588], USD[50.00]

07860973       Contingent,         DOGE[.816], USD[0.27]
               Unliquidated
07860976                           USD[1.30]

07860977                           USD[1.00], USDT[2.183813]

07860987                           LTC[.00820029], TRX[15], USD[0.60]

07860993                           CUSDT[1], DOGE[1], USD[24.71], USDT[0]                                                                                                                                          Yes

07861005                           LTC[0], SOL[0.00357097], USD[0.00]

07861006                           SOL[.005266], TRX[.000001]

07861012                           CUSDT[0], ETH[0], ETHW[0.00012050], GRT[0], MATIC[0], NFT (573392887887923008/Imola Ticket Stub #1547)[1], SHIB[0], SOL[0], USD[0.00]                                           Yes

07861015                           USD[0.00]

07861027                           BRZ[2], BTC[.04633184], CUSDT[25], DOGE[4], ETH[0.55892266], ETHW[0.55868806], SOL[3.60883815], TRX[3], USD[0.00]                                                               Yes

07861039                           BAT[2.06501936], BF_POINT[300], BRZ[2], BTC[.00785424], CUSDT[31], DOGE[6.00038359], ETH[2.35619641], ETHW[2.35520681], MATIC[22.61524382], SHIB[5], SOL[7.63308025], TRX[5],   Yes
                                   USD[0.02], USDT[1.06616022]
07861057                           SOL[.07269835], USD[0.00]

07861060                           BRZ[1], CUSDT[1], DOGE[75457.23213259], SHIB[1], SOL[.01780947], SUSHI[63.68933094], TRX[1], USD[0.00]                                                                          Yes

07861071                           BF_POINT[100], BTC[0], CUSDT[0], DOGE[0], ETH[0], ETHW[0], GRT[0], LTC[0], PAXG[0], SUSHI[0], TRX[0], USD[0.20]                                                                 Yes

07861074                           BF_POINT[300], CUSDT[805.24671027], SUSHI[2.19888524], USD[4.37]                                                                                                                Yes

07861081                           SHIB[4300000.02962169], SOL[.41904969], USD[0.00], USDT[0]

07861088                           ETH[.13306582], ETHW[.13199599]                                                                                                                                                 Yes

07861112                           USD[0.01]                                                                                                                                                                       Yes

07861116                           CUSDT[1], USDT[0]                                                                                                                                                               Yes

07861130                           NFT (429043020476906181/Entrance Voucher #15581)[1]

07861138                           BRZ[4], CUSDT[60.40179295], DOGE[13.65634696], GRT[1.00078879], TRX[19.47662587], USD[0.01]                                                                                     Yes

07861151                           CUSDT[1], USD[0.00]                                                                                                                                                             Yes

07861154                           DOGE[1], ETHW[.83686519], SHIB[1], TRX[1], USD[1552.02]                                                                                                                         Yes

07861164                           USD[20.00]

07861167                           LTC[6.352419], SHIB[2597435], SOL[7.427662], USD[1.00]

07861174                           USD[100.00]

07861176                           USD[0.00]

07861181                           USD[0.00]                                                                                                                                                                       Yes

07861186                           USD[6.38]
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                                                                                                                                         Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07861197                           BTC[.0005993], SHIB[1793800], USD[5.06]

07861201                           BRZ[6.5405672], CUSDT[2], DOGE[7.24026774], ETH[.00000151], ETHW[.00000151], GRT[2.04669168], TRX[10.07259069], USD[0.00], USDT[2.18173295]                                                Yes

07861212                           BCH[599.2806357], BTC[0], DAI[401.84048], DOGE[353723.1802], ETH[.08910696], ETHW[585.57364401], GRT[254708.491], LINK[475.4053], MATIC[15638.0704], SOL[3384.77362464],
                                   SUSHI[187.45565], TRX[57136.3736], UNI[409.6938], USD[5891416.67], USDT[221.92346757], YFI[.04273573]
07861218                           ETH[1], ETHW[1]

07861220                           BRZ[1], CUSDT[8], DOGE[6], ETHW[1.40734482], GRT[754.21638027], MATIC[33.17654696], SOL[36.15906237], TRX[5], USD[0.00]                                                                    Yes

07861222                           NFT (519799546742921202/Entrance Voucher #2910)[1], TRX[.768506], USDT[.81776514]

07861225                           BRZ[1], USD[0.00]                                                                                                                                                                          Yes

07861229                           NFT (560342085050503149/Microphone #5088)[1]

07861241                           USD[11440.99]                                                                                                                                                                              Yes

07861242                           ALGO[4286.7721575], BTC[.01797422], GRT[4094.43815622], NFT (363382579780089953/Barcelona Ticket Stub #1559)[1], NFT (425582919324118832/FTX Crypto Cup 2022 Key #406)[1], NFT             Yes
                                   (557595481688076894/Austin Ticket Stub #104)[1], NFT (561723853569729183/The Hill by FTX #3130)[1], NFT (569531314932890192/Saudi Arabia Ticket Stub #733)[1], SHIB[45308984.81135621],
                                   USD[-219.74]
07861243                           BTC[0], DOGE[0], ETH[0], ETHW[0], SOL[0]                                                                                                                                                   Yes

07861244                           BTC[.0000962], DOGE[386], MATIC[9.93], USD[530.18]

07861248                           CUSDT[1], DOGE[1], SHIB[2], USD[156.86]                                                                                                                                                    Yes

07861253                           LTC[.0260056], NFT (340377553413408874/FTX - Off The Grid Miami #625)[1], SOL[.00285]

07861255                           ETHW[.719], USD[0.00]

07861257                           USD[0.77]

07861276                           BTC[.0083952], USD[4.59]

07861285                           AVAX[0], BAT[0], BRZ[0], BTC[0], CUSDT[0], DOGE[2], ETH[0], ETHW[0.00059084], LINK[0], NFT (346601951323899020/Entrance Voucher #3886)[1], NFT (351991699760014202/FTX - Off The Grid      Yes
                                   Miami #467)[1], NFT (353403960889107602/01:Predawn - Ukraine #259)[1], NFT (366477491209739087/#10)[1], NFT (491009282449861780/#4 LUXURY COUNTACH 1982)[1], NFT
                                   (530082834110680449/#20)[1], NFT (576152655612163311/#12)[1], SHIB[53252.66212532], SOL[0.01047681], TRX[1], USD[373.78]
07861287                           USD[25.48]

07861290                           USD[0.00]

07861297                           SHIB[0], SOL[0], USD[0.00], USDT[0]

07861299                           ETH[.00036447], MATIC[0], USD[0.00]                                                                                                                                                        Yes

07861303                           CUSDT[2], SHIB[325222.24456142], USD[0.00]                                                                                                                                                 Yes

07861305                           DOGE[1], NFT (332588917138535168/Solana Penguin #3728)[1], NFT (346618135359288171/Breakpoint Azulejo Mosaics #184)[1], NFT (362533379075820027/Solana Penguin #4425)[1], NFT
                                   (380503420951751689/Medical Cannabis #0007 )[1], NFT (476230158202641665/Solana Penguin #6612)[1], NFT (528214770202593597/Solana Penguin #5940)[1], NFT (566616158901641997/Solana
                                   Penguin #1944)[1], NFT (566870309944054049/Solana Penguin #340)[1], SOL[.74951818], USD[0.00]
07861316                           USD[14.98]

07861323                           SOL[0]

07861325                           ETH[.00040295], ETHW[0.00040295], USD[39.44]

07861328                           USD[0.47], USDT[0.00000195]

07861341                           CUSDT[6], DOGE[1], ETHW[.08616803], MATIC[1.00015521], SHIB[2], TRX[4], USD[0.01]                                                                                                          Yes

07861361       Contingent,         ALGO[0], BTC[0], ETH[0], ETHW[0], MATIC[0], NFT (299916507693105670/The Hill by FTX #6975)[1], NFT (300515726418072066/The Hill by FTX #3341)[1], NFT (316471026708536680/The Hill by
               Unliquidated        FTX #3163)[1], NFT (369540319900123780/The Hill by FTX #7507)[1], NFT (392648936543866766/Drippy Penguins #7116)[1], NFT (411238826138271899/The Hill by FTX #6983)[1], NFT
                                   (508620467318824539/The Hill by FTX #7244)[1], NFT (518928816507941811/FTX - Off The Grid Miami #1557)[1], NFT (561520963042244265/The Hill by FTX #7526)[1], SOL[0], TRX[0], USD[0.00],
                                   USDT[0]
07861388                           CUSDT[5], DOGE[3], SOL[26.86751906], SUSHI[1], TRX[5], USD[0.00]

07861390                           USD[0.00]

07861392                           BTC[.0210569], DOGE[1], GRT[1.00367791], USD[0.00]                                                                                                                                         Yes

07861393                           USD[65.58]                                                                                                                                                                                 Yes

07861395                           SUSHI[1], USD[0.35]

07861400                           BTC[0], SOL[.00000001], USDT[.3828077]

07861405                           DOGE[43.1318124], USD[29.49]                                                                                                                                                               Yes

07861407                           BTC[0]

07861420                           USD[0.00]                                                                                                                                                                                  Yes

07861428                           ETHW[.0669397], SHIB[1898290], SOL[.9991], USD[0.53]

07861432                           USD[1.36], USDT[0.00000226]

07861439                           USD[0.00]

07861443                           TRX[.000001], USD[11.30]

07861453                           USD[299.17]

07861474                           DAI[.00048313], DOGE[.001], ETHW[.293], SHIB[70000], USD[1235.08], USDT[0.00583450]

07861479                           ALGO[.03470859], AVAX[.00035202], BAT[.00398234], BF_POINT[500], BRZ[4], CUSDT[29], GRT[1244.45450053], LINK[91.52082677], NEAR[41.44200823], SHIB[4871979.75345881],                      Yes
                                   SOL[.00032778], TRX[3034.61786121], USD[54.48]
07861485                           BRZ[1], BTC[.02835058], CUSDT[7], DOGE[2], ETH[2.64041027], ETHW[2.64041027], SOL[.3857327], TRX[7], USD[0.95]

07861488                           USD[0.03]                                                                                                                                                                                  Yes

07861492                           AVAX[.00000001], BTC[0], ETH[0], LTC[0], MATIC[.00000001], SOL[0], USD[0.00], USDT[0]

07861497                           SOL[.00000001], USD[1259.00]

07861500                           BTC[.0159945], ETH[.45342558], ETHW[.45342558], USD[0.00], USDT[8.38932746]

07861506                           USD[0.00], USDT[0]                                                                                                                                                                         Yes

07861511                           CUSDT[1], USD[0.00]                                                                                                                                                                        Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07861519                              USD[0.00]                                                                                                                                           Yes

07861522                              USD[20.00]

07861530                              CUSDT[16], DOGE[1], SHIB[8], SOL[24.67289206], TRX[2], USD[3513.87]                                                                                 Yes

07861532                              DOGE[102.883], ETH[.021924], ETHW[.019924], MATIC[39.91], USD[0.73]

07861537                              SOL[.06161999], USD[0.00]

07861539                              LTC[.45033374], SHIB[47478.60765815], USD[0.01]

07861542                              USD[9.20]

07861543                              USD[0.00]

07861545                              SOL[0], TRX[.000003], USDT[0.00000096]

07861561                              BTC[0], ETH[0], MATIC[.007], USD[0.00], USDT[0.00000716]

07861563                              SOL[5.45320713], USD[0.00]

07861578                              BTC[0], NFT (508192089790765948/Humpty Dumpty #587)[1], SHIB[1], TRX[1], USD[27.54]                                                                 Yes

07861583                              BRZ[1], SOL[.00008805], USD[0.00]

07861587                              USD[19.68]                                                                                                                                          Yes

07861588                              ETHW[2.55]

07861592       Contingent, Disputed   SHIB[1], USD[0.00]

07861593                              AVAX[.07854], BTC[0.00006925], ETH[.0002279], ETHW[.0002279], GRT[.7468], MATIC[6.19], SOL[.002648], TRX[.916], USD[8.40], USDT[8], YFI[.0009112]

07861599                              NFT (351921859089203878/Hall of Fantasy League #294)[1]

07861602                              SOL[183.5768975], USD[26.28]

07861603                              USD[0.00]

07861612                              BTC[.0526], ETH[.021], ETHW[.021], SOL[.41], USD[917.79]

07861614                              ETHW[16.983], USD[100.01]

07861619                              USD[0.01], USDT[.2659936]

07861620       Contingent, Disputed   USD[500.00]

07861622                              DOGE[18.9507956], ETH[.005], ETHW[.005], USD[0.00]

07861631                              USD[31.98], USDT[0]

07861639                              BTC[.01132656]                                                                                                                                      Yes

07861649                              SOL[.00384923], USD[0.00]

07861652                              BTC[.3804194], SHIB[199900], SOL[34.70526], USD[2.87]

07861653                              NFT (399181913194929429/Nasty Boy #146)[1], NFT (446819943223161818/Kyra #3714)[1]

07861654                              USD[0.01]                                                                                                                                           Yes

07861659                              NFT (463448716309884681/Warriors Gold Blooded NFT #591)[1]                                                                                          Yes

07861664                              USD[13.90]

07861667                              TRX[2], USD[0.00]

07861670                              BTC[.06415158], ETH[.5764807], ETHW[.5764807], SOL[.759316], USD[3.83], USDT[.969827]

07861674                              TRX[.000001], USD[0.00], USDT[0]

07861679                              ETH[.00000001], SOL[0], USD[0.00]

07861680                              BTC[0], ETH[0], SOL[0]

07861684                              SHIB[3630586.46522634], USD[0.00]                                                                                                                   Yes

07861685                              ETHW[1.06083952], SHIB[1], TRX[14.13644076], USD[0.00], USDT[0]                                                                                     Yes

07861686                              CUSDT[1], ETH[.04584946], ETHW[.0452789], USD[0.00]                                                                                                 Yes

07861689                              SOL[.00000001], USD[0.34]

07861700                              USD[0.00], USDT[0]

07861711                              USD[0.00]                                                                                                                                           Yes

07861712                              NFT (295567182386782223/Hall of Fantasy League #237)[1]

07861724                              DOGE[1654.2818101], SOL[6.75311936], SUSHI[13.07872129], YFI[.00544317]                                                                             Yes

07861727                              BTC[0], USD[0.00]                                                                                                                                   Yes

07861729                              ETH[0.00018757], ETHW[0.00018757], USD[0.98]

07861737                              NFT (332859774783688381/Entrance Voucher #1931)[1]

07861743                              BTC[0], MATIC[0], SOL[0], USD[0.00]

07861778                              SOL[0.00360109], USD[0.00]

07861780                              USD[0.00]

07861790                              USD[100.00]

07861792                              USD[0.00]

07861793                              TRX[104.37961194], USD[0.00]

07861794                              USD[0.00], USDT[5.43579452]                                                                                                                         Yes

07861813                              ETH[0.03871146], ETHW[0.03871146], USD[0.43]

07861819                              USD[21.51]                                                                                                                                          Yes
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07861827                              AUD[0.00], BRZ[2], BTC[0.00492819], CAD[0.00], CUSDT[7], DOGE[1], GRT[29.9636625], LTC[.71704788], MATIC[.00011853], TRX[2], USD[26.44]                                                  Yes

07861830                              BTC[0.00008597], USD[0.00], USDT[0]

07861833                              ETH[.00094078], ETHW[.00094078], USD[8.43]

07861839                              ETH[0], SOL[0], USD[3.32]

07861841                              USD[0.01]

07861848                              USD[0.00]

07861857                              BTC[1.03746544], ETH[1.0000991], ETHW[1.0000991], MATIC[9.991], USD[0.91]

07861858                              MATIC[0], SOL[0], USD[0.00]

07861859       Contingent, Disputed   BTC[0], USD[0.57]

07861864                              ALGO[215.73196979], DOGE[1], ETH[.68400603], ETHW[.6993974], MATIC[29.58576067], SHIB[3885790.03949205], SOL[11.9187347], TRX[1], USD[0.00], USDT[0]

07861866                              USD[0.10]

07861870                              ETH[.012], ETHW[.012], USDT[6.3211808]

07861872                              BTC[.00452135], TRX[1], USD[0.00]                                                                                                                                                        Yes

07861885                              USD[50.00]

07861887                              BRZ[1], DOGE[146.97078154], MATIC[17.06289903], SHIB[1], USD[0.01]

07861893                              SHIB[30094004.21484971], USD[0.00]

07861902                              BTC[0.00004727], USD[0.00]

07861908                              BTC[0.00885396], GRT[.909], USD[1.31]

07861914                              SOL[.0000303], TRX[2], USDT[0.00000049]                                                                                                                                                  Yes

07861918                              BRZ[1], BTC[0.00000001], CUSDT[16], DOGE[4], ETH[.00000004], ETHW[0], LTC[0], NFT (340784633611655482/Echo #21)[1], SHIB[6], TRX[1], USD[0.72]                                           Yes

07861921                              USD[0.00]

07861927                              MATIC[30], SOL[.85873038], USD[3.80]

07861932                              PAXG[.00000001]

07861937                              BRZ[1], DOGE[3], ETHW[.01117134], SHIB[42], TRX[4], USD[0.02], USDT[0]                                                                                                                   Yes

07861943                              USD[0.29], USDT[.003409]

07861952                              SOL[0.00000705], USD[1.08]

07861960                              SOL[.00996], USD[0.07]

07861965                              BAT[1.0165555], LINK[23.91394024], USD[0.00]                                                                                                                                             Yes

07861968                              BRZ[1], CUSDT[1], DOGE[4], ETH[0], SOL[0], TRX[2], USDT[1.02100275]                                                                                                                      Yes

07861970                              USD[0.20], USDT[0]

07861974                              BRZ[1], CUSDT[3], SHIB[2], SUSHI[164.58409874], TRX[2], USD[0.00]                                                                                                                        Yes

07861975                              LTC[0]

07861976                              AVAX[.64337525], DOGE[1], LINK[3.76835529], SHIB[1], TRX[1], USD[0.00]

07861979                              ETH[7.44350239], ETHW[7.44350239], SOL[226.03673], USD[11473.46]

07861985                              SOL[.00000001], USD[0.09]

07861987                              BTC[0], NFT (471148981329171778/Imola Ticket Stub #2294)[1], USDT[1.415814]

07861994                              BTC[.44955], ETH[3.20447839], ETHW[3.20447839], USD[0.92], USDT[0]

07861996                              BTC[.00103044], SHIB[1791171.14914525], TRX[165.72367594], USD[0.02]                                                                                                                     Yes

07861997                              BTC[0.00111313], ETH[0], SOL[0], TRX[1], USD[0.00], USDT[0]

07862000                              BRZ[2], BTC[.00000007], NFT (299462733187029331/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #90)[1], NFT (334641337726979459/Earl Campbell's Playbook: Yes
                                      Texas vs. Houston - November 5th, 1977 #99)[1], NFT (345480581107390653/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #102)[1], NFT
                                      (346551313191980250/Earl Campbell's Playbook: Rice vs. Texas - October 1st, 1977 #84)[1], NFT (350481361781869274/Joe Theismann's Playbook: Notre Dame vs. USC - November 30, 1968 #54)[1],
                                      NFT (358295817226956092/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #96)[1], NFT (361979274737095598/Earl Campbell's Playbook: Texas vs. Houston - November
                                      5th, 1977 #97)[1], NFT (415615352520525777/Earl Campbell's Playbook: Rice vs. Texas - October 1st, 1977 #87)[1], NFT (420696365773875050/Tim Brown's Playbook: San Diego Chargers vs. Los
                                      Angeles Raiders - September 4, 1988 #45)[1], NFT (529181259745629392/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #100)[1], NFT (539057569987234657/Tim
                                      Brown's Playbook: San Diego Chargers vs. Los Angeles Raiders - September 4, 1988 #49)[1], NFT (554624994481512637/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978
                                      #92)[1], NFT (569965927010384369/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #91)[1], SHIB[1], TRX[2], USD[207.03]

07862009                              ETH[0], USD[0.00]

07862012       Contingent, Disputed   USD[20.00]

07862015                              BTC[.0009], ETH[.161873], ETHW[.161873], SOL[.37], SUSHI[4.995], USD[2.84]

07862031                              BTC[0], ETH[0], USD[0.00], USDT[0]

07862039                              BTC[0], SOL[0], USD[0.00]

07862042                              USDT[0.00003059]

07862047                              BTC[.00806009], LTC[.12149532], NFT (498713635778159582/CoinCodeCap Editions Issue #1 2/30)[1], SOL[.5580905], TRX[1], USD[0.00]                                                         Yes

07862051                              BTC[.13908045], DOGE[40083.868], ETH[10.51850881], ETHW[10.51850881], NFT (396210533747536280/Bahrain Ticket Stub #1413)[1], SHIB[20600000], SOL[34.07], USD[0.07]

07862058                              BTC[0.00659657], ETH[.03740157], ETHW[.03740157], SOL[0], USD[0.00], USDT[1.25421709]

07862059                              CUSDT[2], TRX[1], USD[0.00]

07862060                              USD[23.76]

07862070                              SOL[.1064212]

07862073                              NFT (559710763560825067/Saudi Arabia Ticket Stub #1324)[1]
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                                                                                                                                            Customer Claims                                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07862075                              BRZ[1], BTC[.00257985], ETH[.11010952], ETHW[.10900891], TRX[1], USD[0.35]                                                                                                                    Yes

07862083                              SOL[1.38497386], USD[0.00]

07862084                              ETH[2.25085965], ETHW[2.25085965], USD[19.29]

07862091                              ETH[0], USD[0.01]

07862097                              BTC[0], ETH[0], USD[0.06]

07862099                              KSHIB[94.29016478], MATIC[33.46398554], USD[0.70]                                                                                                                                             Yes

07862100                              AVAX[50.542905], BTC[.00007517], DOGE[1000.05], ETH[.26061515], ETHW[.00086215], MATIC[9.81], SOL[124.843151], SUSHI[.30905], USD[5.06]

07862104                              USD[0.01], USDT[0.00000001]

07862108                              SOL[6.01998], USD[0.07]

07862121                              USD[21.51]                                                                                                                                                                                    Yes

07862124                              CUSDT[2], TRX[1], USD[0.00]                                                                                                                                                                   Yes

07862130                              ETH[0], USD[0.00]

07862134                              USD[4.84]

07862135                              CUSDT[6], DOGE[1], TRX[1], USD[0.00]                                                                                                                                                          Yes

07862152                              USD[12.71]

07862157                              ETH[.0005], ETHW[.0005], USD[0.65]

07862162                              BF_POINT[200], BTC[.00046937], DOGE[1], ETH[.00126382], ETHW[.00125014], MATIC[1.31018647], USD[0.00]                                                                                         Yes

07862182                              SOL[.005]

07862191                              ETH[.282717], ETHW[.21978], NFT (351384545624019309/Entrance Voucher #27)[1], SOL[39.36597], USD[-499.65]

07862215                              SOL[.09375993], UNI[.1290626], USD[13.14]                                                                                                                                                     Yes

07862231                              BTC[.00154278], CUSDT[249.71490096], DOGE[43.87789317], SHIB[2], USD[0.01], USDT[0]                                                                                                           Yes

07862234                              SHIB[1], USD[0.00], USDT[0]

07862243                              BTC[0], ETH[0], USD[0.00]

07862244                              DOGE[1], SOL[.28379438], USD[0.00]

07862246                              USD[126.17]

07862254                              BTC[.00000803], MKR[0], USD[0.00]                                                                                                                                                             Yes

07862258                              SOL[.05644661], USD[0.00], USDT[0.00000022]

07862281                              NFT (438792837464485473/Elysian - #1225)[1], SOL[.001]

07862304                              DOGE[1447.92010525]                                                                                                                                                                           Yes

07862309                              USD[0.00]

07862314                              BTC[.00624962], ETH[.033], ETHW[.033], USD[0.02]

07862329                              CUSDT[1], ETH[.00356669], ETHW[.00352565], TRX[1], USD[0.00]                                                                                                                                  Yes

07862348                              ETH[0], SOL[.0036809], USD[0.00]

07862352                              AAVE[6.57365453], BRZ[3], DOGE[1], ETH[.27986877], ETHW[.2796746], USD[0.00]                                                                                                                  Yes

07862370                              BTC[.00000003], LTC[.00009196], USD[0.01]                                                                                                                                                     Yes

07862386                              ETH[.00084654], ETHW[0.00084653], SOL[.2], TRX[.000028], USD[0.01]

07862396                              BAT[1], BTC[.0000005], USD[5.29]                                                                                                                                                              Yes

07862399                              TRX[.000001]

07862455                              USD[0.00]                                                                                                                                                                                     Yes

07862474                              AAVE[0], ALGO[0], AVAX[0], BRZ[0], BTC[0], DAI[0], DOGE[0], ETH[0], ETHW[0.00000147], LINK[0], LTC[0], MATIC[0], NEAR[0], NFT (308128477256565250/Bahrain Ticket Stub #2035)[1], NFT          Yes
                                      (328705385327767956/3D CATPUNK #5115)[1], NFT (356495052165760330/3D CATPUNK #9285)[1], NFT (420624179580602510/#1 of ?)[1], NFT (449863266902044855/Barcelona Ticket Stub
                                      #789)[1], NFT (490288129692308747/3D CATPUNK #9222)[1], NFT (529238991758075095/3D CATPUNK #1116)[1], SOL[0], SUSHI[0], TRX[0], USD[0.00], USDT[0.00000002]
07862481                              SOL[0]

07862498                              BAT[0], BCH[0], BTC[0], CUSDT[7], DAI[3.62297338], DOGE[13.68067919], ETH[0], ETHW[0], EUR[0.00], GRT[0], KSHIB[0], LINK[0], MATIC[0], MKR[0], SHIB[2.73299051], SOL[0], UNI[0], USD[0.00],   Yes
                                      USDT[0.00001222], YFI[0]
07862503                              USD[0.00]

07862509                              BRZ[2], CUSDT[11], DOGE[5], ETHW[.684085], NFT (337049706319953287/Bahrain Ticket Stub #921)[1], NFT (351489663720157674/Ethqueen #013)[1], NFT (522240143925047599/Founding Frens            Yes
                                      Lawyer #586)[1], SHIB[38], SOL[.01482313], TRX[12], USD[2652.22]
07862519                              SOL[.65], USD[0.58], USDT[.2314986]

07862533                              AAVE[0], AVAX[0.00000001], BTC[0], ETH[0.00000001], MATIC[0], NFT (568197850411247586/Entrance Voucher #4329)[1], SOL[0], USD[400.86], USDT[0]                                                Yes

07862537                              LINK[29.97], USD[423.04]

07862542                              USD[1.89]

07862543                              USD[0.00], USDT[0]

07862573                              ETH[0], NFT (339363348932331830/Reflector #591)[1], NFT (449000067856353539/Cosmic Creations #271)[1], SOL[0.50000000], USD[19.83], USDT[0]

07862579       Contingent, Disputed   SHIB[388247.311518], TRX[1], USD[1.03]                                                                                                                                                        Yes

07862590                              BTC[0], ETH[.00000001], ETHW[0], USD[0.00]

07862591                              DOGE[1248.21096441], ETH[.32672572], ETHW[.32672572], LTC[.99998628], SHIB[17900000], USD[5.45]

07862597                              NFT (396018392623386907/FTX - Off The Grid Miami #3896)[1]

07862611                              TRX[.000001], USDT[0.00002576]

07862620                              BTC[0], ETH[0], ETHW[0], SHIB[2195696.78576669], SOL[0], USD[0.00], USDT[0.00000876], WBTC[0]

07862629                              NFT (329789552985728293/#1950)[1], NFT (469997696242954706/#2083)[1], SOL[.3999]
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                                                                                                                                         Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07862641                           USD[11.96]

07862645                           BTC[0.00151038], DOGE[0], SOL[0], SUSHI[0], USD[0.00]

07862656                           NFT (415337260195348988/Imola Ticket Stub #441)[1], TRX[.000211], USDT[.00000001]

07862658                           BCH[.000964], ETH[.000968], ETHW[.000968], SOL[.00786], USD[1.38]

07862659                           BTC[0], DOGE[0], ETH[0], ETHW[0], GRT[0.25593473], LTC[0], NFT (342777827592825126/Australia Ticket Stub #1472)[1], NFT (453253502391683037/LogantoFluffyPeople)[1], SHIB[0], SOL[0],   Yes
                                   SUSHI[0], USD[0.00]
07862664                           USD[0.00]                                                                                                                                                                               Yes

07862668                           BTC[0.82891178], ETH[1.9981], ETHW[1.9981], USD[25138.55]

07862670                           BRZ[1], BTC[0], CUSDT[3], SHIB[25182.32482479], SOL[0], TRX[1], USD[0.98]                                                                                                               Yes

07862672                           SUSHI[1.00136752], USD[0.00]

07862674                           BTC[.00002953], USD[0.00]

07862678                           USD[1.10]

07862692                           LTC[0], NFT (338021550925836895/The Hill by FTX #6854)[1], NFT (436584904085796111/Barcelona Ticket Stub #932)[1], SHIB[8], TRX[1], TRY[0.00], USD[0.00], USDT[0]

07862705                           BRZ[1], BTC[.00117727], ETH[.01447327], ETHW[.01447327], EUR[8.91], SHIB[1], USD[0.00]

07862708                           SOL[.00000001]

07862709                           USD[0.00]

07862722                           BTC[.0228771], ETH[.182817], ETHW[.182817], USD[5.49]

07862736                           CUSDT[1], ETH[.02764238], ETHW[.02730013], USD[0.00]                                                                                                                                    Yes

07862737                           USD[0.00]

07862740                           BAT[0.81979182], BRZ[1], CUSDT[2], ETH[0], USD[0.01]

07862748                           SOL[0.19940787], USD[0.00]

07862757                           CUSDT[1], ETH[.00623747], ETHW[.00615539], USD[0.00]                                                                                                                                    Yes

07862761                           BF_POINT[300]                                                                                                                                                                           Yes

07862762                           USD[0.00]

07862768                           ALGO[345.32941106], BRZ[1], USD[53.52]                                                                                                                                                  Yes

07862770                           DOGE[1], SHIB[2], SOL[.00000001], USD[0.00]                                                                                                                                             Yes

07862781                           BRZ[1], CUSDT[2], ETH[0], ETHW[0], SHIB[1], TRX[2], USD[0.00], USDT[0.00000542]                                                                                                         Yes

07862793                           USD[0.00]

07862804                           TRX[.000003], USDT[1.50968154]

07862815                           USD[0.00]

07862821                           ETH[0], ETHW[0], MATIC[0], SOL[0], TRX[0.00002000], USDT[0]

07862824                           USDT[.1980824]

07862826                           USD[0.00]

07862828                           AAVE[3.996], AVAX[4.995], BTC[.07996], ETH[.400403], ETHW[.0008], MATIC[200], SOL[1.008], USD[2034.97]

07862831                           USD[0.05]

07862838                           AVAX[6.5], USD[0.11]

07862845                           ETH[1.00011426], ETHW[1.00011426], USD[1410.00]

07862849                           USD[0.00]                                                                                                                                                                               Yes

07862854                           BTC[0], CUSDT[3], DOGE[1], KSHIB[0], PAXG[0], SHIB[3], SOL[3.39358749], TRX[3], USD[0.00]                                                                                               Yes

07862860                           USD[1.65]

07862865                           BTC[0], ETH[0], MATIC[.2011222], PAXG[0], SOL[0], USD[0.00], USDT[0.00291040]

07862886                           USD[1.29]

07862888                           TRX[.000001], USDT[.817195]

07862890                           USDT[3.140189]

07862891                           USD[14.74], USDT[0]

07862893                           NFT (313740759032363269/Humpty Dumpty #1321)[1]

07862894                           BTC[.05981501], ETH[1.30842038], ETHW[1.30787077], LTC[2.08748162], NFT (371799168658956159/Banana #1 #1)[1], NFT (451081927418928949/Joe Theismann's Playbook: Washington vs.          Yes
                                   Chicago Bears - September 29, 1985 #57)[1], NFT (452755975769958431/BANANA #5)[1], USD[27.28]
07862906                           SHIB[98264456.725617], USD[3.44], USDT[0]

07862910                           CUSDT[.946], USD[0.00]

07862915                           NFT (468600063314155596/Entrance Voucher #1850)[1]                                                                                                                                      Yes

07862921                           BTC[.00011442], USD[4.98]

07862924                           BTC[.00219542], CUSDT[5], DOGE[2], ETH[.02640192], ETHW[.0260736], GRT[74.45380103], KSHIB[1506.25956286], MATIC[21.53217745], SHIB[3237770.20314997], SOL[.29806586],                  Yes
                                   SUSHI[9.14800246], TRX[1], USD[53.68]
07862926                           BTC[0], ETH[.007994], ETHW[.039475], USD[0.00], USDT[0.00021046]

07862943                           USD[0.00]

07862944                           USD[50.00]

07862948                           TRX[.011148], USD[0.01], USDT[0]

07862957                           BTC[0.00000504], USD[0.58]

07862965                           BTC[0], DOGE[0.00075710], ETH[0], ETHW[0.06219104], LINK[0.00000383], MATIC[0.00048834], SOL[0.00000001], SUSHI[0], UNI[0], USD[0.00]
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                                                                                                                                             Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or         Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07862988      Contingent, Disputed     AVAX[0], LTC[0], NEAR[0], SOL[0.00324604], USD[0.00]

07862990                               BRZ[1], SOL[.00047528], TRX[1], USD[0.00], USDT[0.00002169]

07862993                               CUSDT[1], ETH[.02576666], ETHW[.02576666], USD[0.00]

07863002                               ETH[0], NFT (357039830361623460/Incantation No. 101)[1], NFT (382925641037779004/Incantation No. 201)[1], NFT (428695931208044336/Incantation No. 18)[1], NFT
                                       (540924385512949369/Incantations No. 103)[1], NFT (547459760299314264/Incantation No.1)[1], NFT (573044823958444133/Incantation No. 102)[1], NFT (575704917550188270/Incantation No.3)[1],
                                       NFT (575783774626378185/Incantation No. 4)[1], SOL[0], USD[0.00], USDT[0]
07863011                               NFT (466021036634072738/FTX - Off The Grid Miami #1627)[1]                                                                                                                                   Yes

07863022                               ETH[0.01000000], NFT (504297313529581995/Coachella x FTX Weekend 1 #15099)[1]

07863031                               ETHW[.0579298], USD[0.36]

07863037                               BTC[.01121791], SHIB[12253513.95006343], TRX[1], USD[0.03]                                                                                                                                   Yes

07863039                               ETH[.038], ETHW[.038], USD[2.44]

07863042                               BF_POINT[100], SHIB[.48756221], TRX[.003118], USD[0.00], USDT[0]                                                                                                                             Yes

07863043                               BRZ[1], DOGE[1003.20095263], LINK[12.36636091], USD[0.00]                                                                                                                                    Yes

07863044                               USD[0.00]

07863046                               BRZ[168.00202671], BTC[.00076549], ETH[.00744471], ETHW[.00734888], SHIB[8], SOL[0.08362914], USD[0.00]                                                                                      Yes

07863055                               USD[0.00]

07863073                               AAVE[0], AVAX[0], BAT[0], BRZ[0], BTC[0], DAI[0], DOGE[0], ETH[0.00000001], GRT[0], LINK[0], LTC[0], MATIC[0], PAXG[0], SHIB[0], SOL[0], SUSHI[0], TRX[0], USD[0.00], USDT[0], YFI[0]

07863078                               MATIC[2.6], SOL[.00310565], USD[0.01]

07863104                               ETH[.1995], ETHW[.1995], USD[0.01]

07863107                               ETHW[4.23239762], SHIB[2], SOL[0], TRX[1], USD[0.01], USDT[0.00000125]                                                                                                                       Yes

07863109                               USD[1.35]

07863119                               NFT (339446736752729386/Bahrain Ticket Stub #1791)[1]

07863152                               NFT (318470070743893218/Warriors Gold Blooded NFT #125)[1]

07863153                               BTC[.0005], USD[2.66], WBTC[.0004]

07863154                               USD[1.38]

07863171                               CAD[0.00], DOGE[0], SHIB[165437.85154945], SOL[0], USD[0.00]                                                                                                                                 Yes

07863173                               CUSDT[3], DOGE[1], ETH[0.09201164], ETHW[0.09096061], LTC[.32645009], TRX[1], USD[0.00]                                                                                                      Yes

07863200                               CUSDT[1], DOGE[2], USD[0.01]                                                                                                                                                                 Yes

07863215                               SOL[.00044315], USD[0.00]

07863220                               LTC[.00735575], USD[0.00]

07863225                               USD[0.01]

07863235                               USD[0.00]

07863239                               AVAX[.06], BTC[.00008294], ETH[0], ETHW[4.99706151], MATIC[4.326729], SOL[.00946647], SUSHI[244.5], USD[1.17]

07863243                               BTC[0.00003972], ETH[.00091], ETHW[.00091], USD[96.87], USDT[0.00033305]

07863265                               SUSHI[.493], TRX[268.407], USD[0.00]

07863283                               ETHW[.6], SOL[.0000008], USD[0.28], USDT[0.62594887]

07863289                               USD[0.00]

07863290                               USD[0.84], USDT[0]

07863291                               BRZ[1], CUSDT[5], DOGE[1], GRT[1.00194713], LINK[6.52547048], SHIB[4], TRX[1], USD[0.01]                                                                                                     Yes

07863328                               BTC[1.05171114], SHIB[47712443.02562472], SOL[10.64977127]                                                                                                                                   Yes

07863330                               BF_POINT[300]                                                                                                                                                                                Yes

07863335                               CUSDT[5], DOGE[2], MATIC[3.29482226], TRX[1], USD[0.00]

07863344                               BTC[0.00002983], SUSHI[.18261938]

07863346                               USD[21.86]                                                                                                                                                                                   Yes

07863350                               USD[0.00], USDT[0.00009393]

07863355        Contingent, Disputed   NFT (460857210596620278/Coachella x FTX Weekend 2 #13080)[1]

07863356                               BRZ[2], GRT[1], SHIB[1136872.57294953], TRX[1], USD[0.00], USDT[1.0121157]                                                                                                                   Yes

07863359                               BTC[.0173826], DOGE[343.656], ETH[.117882], ETHW[.117882], SOL[15.984], USD[3.36]

07863362                               MATIC[0.00000001], USD[0.00], USDT[.008326]

07863371                               SOL[.02269899], USD[0.95]

07863376                               SOL[0]

07863400                               USD[0.00]

07863401                               BAT[.00005956], DOGE[1], SHIB[3], SOL[0], TRX[1], USD[0.01]                                                                                                                                  Yes

07863406                               SHIB[799200], USD[2.16]

07863412                               USD[0.37]

07863413                               CUSDT[4], GRT[189.65996456], USD[0.00]

07863414                               USD[0.00]

07863443                               USD[0.00]

07863448                               SOL[0], USD[0.00], USDT[0]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07863452                              BF_POINT[300], CUSDT[1], ETHW[.44795022], TRX[1], USD[0.01]                                                                                                                             Yes

07863453                              CUSDT[2], DOGE[1], GRT[1], USD[0.00]

07863466                              SOL[0], USD[0.00]

07863472                              CUSDT[3], DOGE[1], KSHIB[4482.25676249], SHIB[5513129.48956888], USD[0.87]                                                                                                              Yes

07863473                              BTC[.00101712], USD[0.00]                                                                                                                                                               Yes

07863477       Contingent, Disputed   USD[0.38]                                                                                                                                                                               Yes

07863493                              BTC[0], LTC[0], USD[0.00], USDT[0.00000058]

07863500                              AAVE[14.64298697], ALGO[.07298086], AVAX[0], DOGE[6], ETH[0], GRT[4], LINK[.00594394], SHIB[10], SOL[0], TRX[1], USD[0.00], USDT[0]                                                     Yes

07863501                              ETH[.00000001], SOL[0], USD[0.00]

07863503                              BTC[0], NFT (509916963510403319/FTX - Off The Grid Miami #1990)[1]

07863513                              USD[1.80], USDT[0.00000115]

07863526                              ETH[0], NFT (538217230061792588/Entrance Voucher #29486)[1], USD[0.00]

07863527                              BTC[0], USD[0.00], USDT[0]

07863538                              USD[20.00]

07863543                              SOL[.42], USD[2.32]

07863550                              BTC[0], NFT (307517267550208319/Warriors 75th Anniversary City Edition Diamond #49)[1], SHIB[1], USD[0.00]                                                                              Yes

07863556                              ETH[0], USD[0.00]

07863561                              ETH[0], SOL[0], SUSHI[0], USD[0.00], USDT[0.00000065]

07863588                              BF_POINT[100], SHIB[2], USD[458.14]                                                                                                                                                     Yes

07863590                              LINK[0], USD[0.00]                                                                                                                                                                      Yes

07863593                              SOL[0], USD[0.00]

07863606                              USD[0.00]

07863608                              SOL[.0092009]

07863612                              USD[1.41]

07863621                              NFT (324563971540912032/Entrance Voucher #2320)[1]

07863626                              BAT[1.01576669], BRZ[2], BTC[0], CUSDT[28], DOGE[3], NFT (436314059444130475/Reem Kufi #3)[1], SHIB[5], TRX[3.03020211], USD[0.00], USDT[0]                                             Yes

07863630                              USD[0.01]

07863637                              USD[20.00]

07863641                              AVAX[1.82822356], DOGE[1.25247636], SHIB[1], SOL[9.52262439], TRX[3], USD[0.00], USDT[0.79562618]                                                                                       Yes

07863642                              USD[20.00]

07863652                              BTC[.02441685], ETH[.36601695], ETHW[.36601695], SOL[5.11700222], USD[0.00]

07863656                              SOL[.0610751], USD[0.00]

07863659                              CUSDT[5], SHIB[314356.06935043], TRX[2], USD[0.00], YFI[0]

07863661                              BTC[0], SOL[0.00000001], USD[0.00]

07863667                              NFT (303360214861279602/Spectra #555)[1], NFT (319469234203067592/Colossal Cacti #944)[1], USD[80.00]

07863668                              SHIB[2], TRX[1], USD[0.00], USDT[0.00000002]

07863704                              DOGE[0], USD[0.00]                                                                                                                                                                      Yes

07863706                              USD[2.15], USDT[.0074]

07863711                              BRZ[1], CUSDT[5], DOGE[2], ETHW[.20568127], SHIB[4], TRX[2], USD[0.00]

07863713                              SOL[.06015846], USD[0.00]                                                                                                                                                               Yes

07863716                              USD[0.13]

07863722                              TRX[.000001], USD[2.00]

07863730                              USD[0.00]

07863738                              BTC[.0021946], SOL[.00713], USD[587.70], USDT[.0092848]

07863739                              BTC[1.08843239], ETH[32.45449557], ETHW[32.44523659], SOL[.00000001]                                                                                                                    Yes

07863741                              NFT (350855932807712117/Saudi Arabia Ticket Stub #2237)[1], NFT (372217849694003908/Barcelona Ticket Stub #1883)[1], NFT (553055506074828693/Fractartica)[1], SHIB[7525490.34804321],   Yes
                                      USD[0.00]
07863744                              BTC[.00009294]                                                                                                                                                                          Yes

07863746                              BCH[.09232511], BTC[.0000002], CUSDT[2], GRT[240.99434965], SHIB[12050822.38019375], USD[419.13]                                                                                        Yes

07863752                              BF_POINT[400], BRZ[3], CUSDT[2], DOGE[5], ETH[.00000012], ETHW[0.00000012], MATIC[0.00021822], SHIB[4], SOL[.00000466], TRX[5], UNI[.00016608], USD[0.00]                               Yes

07863756                              BRZ[1], TRX[1], USD[0.00]                                                                                                                                                               Yes

07863761                              BF_POINT[300]

07863766                              LTC[.14336], TRX[.000001], USDT[130.723567]

07863775                              MATIC[9.08], USD[19.45]

07863781                              BTC[0.26153759], NEAR[.009], SOL[4.15], USD[0.15]

07863785                              ETH[.00013083], ETHW[0.00013082], SOL[.25], TRX[.000001], USD[0.43], USDT[0]

07863795                              BAT[98.60204], BTC[0], ETHW[.0622044], SUSHI[72.208095], USD[2316.88], WBTC[0]

07863803                              BTC[0], ETHW[.00016695], USD[90325.05]

07863808                              CUSDT[2], USD[0.01]                                                                                                                                                                     Yes
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                                                                                                                                            Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07863820                              SHIB[1], SOL[.00000001], USD[21.14], USDT[0]                                                                                                                                               Yes

07863845                              USD[5.68]

07863869                              USD[437.19]                                                                                                                                                                                Yes

07863875                              USD[0.00]

07863884                              DAI[.0097], USD[0.00]

07863886                              BRZ[1], CUSDT[2], DOGE[1], USD[0.00]

07863887                              BRZ[0], BTC[0], CUSDT[0.00423963], DOGE[0], SUSHI[0], TRX[0]                                                                                                                               Yes

07863891                              USD[0.76]

07863896                              BTC[.2825261], USD[1.50]

07863911                              CUSDT[1], LTC[1.29606389], USD[0.00]

07863922                              SOL[0]

07863923                              NFT (300126207832542867/Barcelona Ticket Stub #1890)[1], NFT (467577974221022536/Miami Ticket Stub #754)[1], USD[8.38]

07863927                              USD[10.00]

07863948                              USD[28.27]                                                                                                                                                                                 Yes

07863955                              USD[0.00]

07863960                              BTC[.0000983], ETH[.00055567], ETHW[.02955567], MATIC[0.16149048], SOL[.00955], USD[122.36], USDT[0]

07863963                              USD[0.00]

07863966                              BAT[.00000001], SOL[0], USD[4.21]

07863980                              CUSDT[6], ETH[.03987954], ETHW[.03938706], LINK[1.06466176], USD[11.71]                                                                                                                    Yes

07863981                              USD[0.00]

07863986                              AAVE[0], BAT[0], BCH[0], BTC[0], CUSDT[0], DOGE[0], ETH[0], ETHW[0], GRT[0], LINK[0], LTC[0], MKR[0], PAXG[0], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00], USDT[0.06332603],              Yes
                                      YFI[0.00000001]
07863987                              NFT (292050376973324351/Entrance Voucher #2584)[1]

07863989                              CUSDT[2], USD[0.00]

07864025                              BTC[.00004601]

07864033       Contingent, Disputed   USD[10.00]

07864036                              AAVE[.00307694], AVAX[.05464367], BAT[3.17335693], BRZ[2.53709991], BTC[.00467099], CUSDT[.12528817], DAI[.09470557], DOGE[633.02563801], ETH[.00063256], ETHW[.00018195],                 Yes
                                      GRT[.06038124], KSHIB[323.26761495], LINK[.12910225], LTC[.01631484], MATIC[1.14337802], MKR[.0011507], PAXG[.00064939], SHIB[26797464.56562472], SOL[.00397359], SUSHI[.62672585],
                                      TRX[.98267273], UNI[.02291942], USD[1.14], USDT[0.00000792]
07864045                              USD[0.01]

07864051                              USD[0.00]                                                                                                                                                                                  Yes

07864056                              ETH[.00000001], SOL[0.00318865], USD[0.00]

07864070                              ETHW[.00094275], USD[0.01], USDT[0]

07864083                              USD[0.00]                                                                                                                                                                                  Yes

07864093                              CUSDT[2], DOGE[2], SHIB[2], SOL[.00007875], USD[109.24]                                                                                                                                    Yes

07864096                              CUSDT[1], USD[0.00]                                                                                                                                                                        Yes

07864102                              BRZ[10.44202103], CUSDT[14], DOGE[23.93933355], ETH[0], ETHW[0], GRT[2], LINK[1.83496182], MATIC[0.00754530], SHIB[7777267.76150116], SOL[.00000001], TRX[17.43084821], USD[0.00],         Yes
                                      USDT[1.06248396]
07864116                              NFT (310833879858248750/Solarian Enforcer #1)[1], NFT (358561040289885943/Fukinsei)[1], NFT (359378640443796307/skulls and roses)[1], NFT (369823584321557118/Ayyo and the Artisans)[1],
                                      NFT (404312217374989059/SKULL #894)[1], NFT (423370779403302846/2298)[1], NFT (440682949478961862/Solarian Laser Eyes)[1], NFT (471140908004711554/Coastal Distancing)[1], NFT
                                      (482710702653590455/Metabaes #4944)[1], NFT (501645992863263913/SKULL Staking)[1], NFT (525125824555000390/Voidmatter Vial)[1], NFT (535785530751035000/Grim #9073)[1], NFT
                                      (549104804292562364/The little death)[1], NFT (553968356704107661/1871)[1], NFT (560377293985657816/Infernal Shard)[1], NFT (572367053440649152/Basel by Moatze)[1]

07864118                              CUSDT[1], MATIC[20.82430663], USD[0.02]                                                                                                                                                    Yes

07864121                              TRX[3.35136904], USD[0.00]                                                                                                                                                                 Yes

07864135                              CUSDT[4], DOGE[1], SOL[0], TRX[2], USD[0.01]                                                                                                                                               Yes

07864136                              ETH[0.00000001], ETHW[0.00000001]

07864140                              NFT (472645063961497813/The 2974 Collection #0396)[1], NFT (515212262350412267/Birthday Cake #0396)[1]

07864171                              AAVE[.65934], DOGE[865.134], SUSHI[18.5], USD[403.45]

07864172       Contingent, Disputed   BTC[.00008281]

07864189                              AAVE[0.19000000], ETH[0.00000005], ETHW[0.00000005], NFT (297967630607786361/The Hill by FTX #2440)[1], NFT (332937601232107878/FTX Crypto Cup 2022 Key #1095)[1], USD[0.84]

07864193                              ETH[0], SOL[0], UNI[0], USD[2.24]

07864194                              USDT[0]

07864200                              BTC[.00001556], ETH[0.00000001], SOL[0], USD[0.00]

07864228                              NFT (465792768918204788/Ferris From Afar #206 (Redeemed))[1], USD[0.00]

07864244                              ETH[0.00094716], ETHW[0], SOL[0], USD[0.00]

07864249                              BRZ[1], BTC[0], DOGE[1], ETH[2.72862339], ETHW[2.72747878], MATIC[0], SOL[0], TRX[1], USD[5.75]                                                                                            Yes

07864260                              USD[1.63]

07864266                              USD[0.40]

07864292                              USD[52.56]

07864297                              BCH[0], BTC[0], DOGE[1], GRT[0], KSHIB[0], LINK[0], NFT (549953287977374904/Original prints #2)[1], SHIB[4357090.96624549], SOL[0], TRX[1], USD[0.68]                                      Yes

07864311                              BCH[.03154891], BTC[.00151989], CUSDT[4], ETH[.004637], ETHW[.004637], LTC[.09290693], USD[40.00]

07864312                              USD[258.33], USDT[0.00018301]
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                                                                                                                                         Customer Claims                                                                                                           22-11071 (JTD)
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07864320                           BAT[1], CUSDT[1], SOL[0], TRX[1]

07864324                           BTC[.0093881], CUSDT[1], USD[0.01]                                                                                                                                                      Yes

07864339                           BTC[.00075535], DOGE[65.80931605], SHIB[1], TRX[1], USD[0.50]

07864377                           ETH[.00000001]

07864386                           AAVE[0], AVAX[0], BAT[0], BTC[0], DOGE[0], ETH[0], GRT[0], KSHIB[0], LINK[0], MATIC[0], MKR[0], NFT (324425284906579318/Pop Art #22)[1], NFT (341356924648999560/Fancy Frenchies
                                   #7490)[1], NFT (411728408424555106/Red Panda #3658)[1], NFT (456183258723846900/alien undead #14)[1], NFT (468922195925030216/SOL 1ST.EDDY-BEAR LTC (Rare))[1], NFT
                                   (525885663773045301/Battle against the Straw Hats)[1], NFT (542284460683864349/ApexDucks Halloween #3258)[1], NFT (556136902924604833/Medical Cannabis #0018)[1], SHIB[0], SOL[0],
                                   SUSHI[0], TRX[0], USD[0.01], USDT[0.00000001], YFI[0]
07864399                           BRZ[1], TRX[1], USD[0.00]

07864404                           USD[0.00]

07864427                           BTC[0], NFT (485316529430099369/EOS Ninja)[1], SOL[0], USD[1.08]

07864428                           USD[51.79]

07864445                           BTC[.00106486]

07864448                           BTC[0], SOL[0.00000002]

07864458                           BTC[.00176731], CUSDT[2], ETH[.02462027], ETHW[.02431909], USD[0.00]                                                                                                                    Yes

07864460                           USD[21.51]                                                                                                                                                                              Yes

07864469                           BTC[0], ETH[0], MATIC[0], SOL[0], USD[0.43]

07864472                           MATIC[232.35444466], USD[500.00]

07864490                           GRT[55.53262461], USD[0.00]

07864492                           BTC[0], USD[0.01]                                                                                                                                                                       Yes

07864495                           SOL[.00744788], USD[521.02]

07864501                           USD[0.58]

07864514                           ETHW[.04317509], USD[223.89]                                                                                                                                                            Yes

07864516                           AAVE[0], BTC[0], DAI[0], MATIC[0], NFT (408296081080911623/Last day sketch )[1], SOL[0.00593083], USD[0.87]

07864525                           CUSDT[1], ETH[.00960951], ETHW[.00948639], USD[5.46]                                                                                                                                    Yes

07864531                           ETHW[.002], MATIC[1.0335], PAXG[0], USD[21.61], USDT[0.00256905]

07864545                           BAT[1.0165555], BTC[.00000011], LINK[1.08830411], TRX[1], USD[1063.35]                                                                                                                  Yes

07864549                           CUSDT[2], DOGE[1], SHIB[1], TRX[2], USD[0.00]                                                                                                                                           Yes

07864552                           USD[0.03]                                                                                                                                                                               Yes

07864556                           BTC[0], DOGE[0], ETH[0], GRT[0], MATIC[0], SOL[5.73], USD[0.14], USDT[0]

07864567                           BRZ[1], BTC[0], CUSDT[1], DOGE[1], GRT[1], SOL[0], USD[0.00]

07864579                           USD[0.00]

07864581                           CUSDT[0], SHIB[95335.88304624], TRX[0], USD[0.00]

07864587                           BTC[0], USD[0.00], USDT[0.00034059]

07864593                           USD[0.01]

07864597                           USD[0.00]                                                                                                                                                                               Yes

07864606                           USD[0.00]

07864625                           SOL[.00001], USD[0.91]

07864634                           NFT (379906392858975392/Hall of Fantasy League #260)[1]

07864636                           TRX[.000001], USDT[1.25431756]

07864643                           USD[2.80]

07864649                           AVAX[1.90363966], BRZ[2], BTC[.00031478], CUSDT[11], DOGE[3], ETH[.26162249], ETHW[.2614289], LINK[2.440162], MATIC[10.88774832], SHIB[6], SOL[2.4687628], SUSHI[1.53741088], TRX[3],   Yes
                                   USD[0.97]
07864652                           USD[0.71]

07864663                           USD[0.00]

07864671                           SOL[.00940559], USD[0.01]

07864678                           BTC[.00000019], USD[0.00]

07864680                           CUSDT[1], DOGE[1], TRX[3], USD[0.00]

07864705                           BRZ[1], CUSDT[2], DOGE[370.48960689], USD[0.38]                                                                                                                                         Yes

07864711                           ETH[.5540936], ETHW[.5540936], USD[10.05]

07864731                           USD[0.71]

07864753                           DOGE[0], GBP[0.00], USD[1.00]                                                                                                                                                           Yes

07864755                           ALGO[32.96865], BTC[.02818347], ETH[.13487175], ETHW[.13487175], LINK[107.997305], SOL[20.7245565], USD[0.43], USDT[.13319444]

07864760                           BF_POINT[300], BRZ[2], CUSDT[1], DOGE[2], GRT[.01961721], TRX[.09134255], UNI[12.55188737], USD[0.00]                                                                                   Yes

07864762                           NFT (357771532490968772/Hall of Fantasy League #251)[1]

07864767                           BAT[9.11845696], BTC[.00125692], CUSDT[4], ETH[.02672779], ETHW[.02639947], PAXG[.00577544], SHIB[20592.84606441], SOL[.39469548], SUSHI[5.5076235], TRX[1], USD[108.34],               Yes
                                   USDT[54.38172676]
07864769                           BTC[0], ETH[0.00000997], ETHW[1.09118727], NFT (354039748091913018/Entrance Voucher #25726)[1], USD[5676.07], USDT[0]                                                                   Yes

07864771                           TRX[30.7845813]                                                                                                                                                                         Yes

07864772                           BTC[0], SOL[0], USD[16351.02]

07864774                           DOGE[3308], SHIB[899100], USD[3.25]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07864785                              BTC[0], DOGE[48.27263716], ETH[0], KSHIB[0], SHIB[0], SOL[0], USD[0.00], USDT[0]

07864796                              BTC[.00310775], CUSDT[2], TRX[1], USD[0.00]

07864799                              BTC[.28055601], ETH[1.4877877], ETHW[1.4877877], NFT (474268943726681104/Entrance Voucher #3027)[1], USD[10.43]

07864803                              USD[0.04], USDT[0]

07864811                              BAT[1.0163711], BF_POINT[200], BRZ[9.34816963], BTC[.00000301], CUSDT[81.58145089], DOGE[21.90643119], ETH[.00007003], ETHW[8.70309266], GRT[1.00195628], SHIB[81],                Yes
                                      SUSHI[1.05974205], TRX[40.31407096], USD[0.01], USDT[1.03870412]
07864813                              SOL[.00000001], TRX[.000066], USD[0.00]

07864815                              BRZ[1], CUSDT[4], DOGE[1], TRX[1], USD[0.01]                                                                                                                                       Yes

07864823                              CUSDT[6], DOGE[1405.14945439], USD[5.50]                                                                                                                                           Yes

07864830                              SOL[0]

07864832                              NFT (299479117268771203/NFT GM)[1], NFT (366317657225835485/FTX x gm )[1], NFT (574702627986892671/Wagmi Cafe Glyphs)[1], SOL[0.18000000], USD[0.00]

07864838                              MKR[.0009778], USD[2042.99]

07864842                              NFT (322486559799109541/Starry Eyes)[1], SOL[.15564929], USD[0.00]

07864845                              NFT (309118690436775740/Skully Boys #4031)[1], SOL[.02], USD[4.67]

07864850                              BTC[.01576566], CUSDT[3], MATIC[153.05167376], SOL[3.11027359], TRX[1], USD[0.00]                                                                                                  Yes

07864865       Contingent, Disputed   BRZ[1], DOGE[4], MATIC[1], SHIB[1], TRX[3], USD[0.00], USDT[1]

07864867                              NFT (314628156964347717/Australia Ticket Stub #745)[1], NFT (566267002458593783/SBF Hair & Signature #7 #28)[1], SOL[0], USD[0.00]

07864879                              BTC[0], SHIB[44877.78687673], USD[0.00]                                                                                                                                            Yes

07864884                              NFT (306566464453557524/Juliet #118)[1], NFT (316958040231850607/Unika Nightmare)[1], NFT (321886484479120696/Helios 3D)[1], NFT (337262674711094237/Helios 3D)[1], NFT
                                      (370940912006797270/Degen Banana #3356)[1], NFT (395386147312019754/Humpty Dumpty #564)[1], NFT (404210800795829223/Unika Nightmare)[1], NFT (407345548583961439/Royal Key)[1],
                                      NFT (412207024491119045/N9Cheshire)[1], NFT (424343508432351386/Unika Nightmare)[1], NFT (460359931386846575/Degen Banana #3356)[1], NFT (470891446296941805/N9Cheshire)[1], NFT
                                      (472865767696545465/Axopumpkin)[1], NFT (484749925220619512/Helios 3D)[1], NFT (504743471069611567/N9Cheshire)[1], NFT (515609822113831383/Axopumpkin)[1], NFT
                                      (550490492372538559/Axopumpkin)[1]
07864887                              USD[2.11]

07864906                              USD[0.08], USDT[0]                                                                                                                                                                 Yes

07864911                              BTC[.0102887], ETH[.00003071], ETHW[.00003071], MKR[.00099], SHIB[98900], SOL[.00939], USD[93.46], USDT[1.5092235]

07864916                              ETH[.00000001], MATIC[.00000001], NFT (553397086188811444/Tower Community NFT)[1], USD[0.08], USDT[0]

07864917                              CUSDT[9], USD[0.00]                                                                                                                                                                Yes

07864918                              NFT (480224744071505193/2974 Floyd Norman - CLE 2-0130)[1], USD[0.00]

07864921                              NFT (336450485510637235/Humpty Dumpty #1634)[1]

07864923                              AAVE[33.81183444], DOGE[1], LINK[173.82419698], SHIB[3], TRX[1], USD[9.52]                                                                                                         Yes

07864924                              BTC[0], MATIC[1.15292535], USD[1.32]

07864927                              CUSDT[1], SHIB[1792965.1312042], USD[0.04]                                                                                                                                         Yes

07864928                              BTC[0.00009963], LTC[.00213991], USD[0.00], USDT[.0008427]

07864938                              NFT (386321494296370889/DP Banner #28(3/11))[1], NFT (514997235547526827/DP Banner #104(6/77))[1], SOL[0]

07864940                              BRZ[1], CUSDT[1], DAI[0], DOGE[2], ETH[0], ETHW[0], GRT[2], SOL[0.00002028], TRX[1], USD[0.00], USDT[2]

07864950                              NFT (374637402689041390/Metabaes #1242)[1], NFT (490249913341157004/Humpty Dumpty #767)[1]

07864952                              BTC[.00264111], CUSDT[1], DOGE[1], ETH[.01756604], ETHW[.01734716], TRX[3], USD[0.00]                                                                                              Yes

07864953                              NFT (291444330291105193/Coachella x FTX Weekend 1 #471)[1]

07864956                              BTC[.00365615], USD[1.82]

07864962                              NFT (558435540017501586/LightPunk #6232)[1], USD[2.85]

07864972                              ETH[.00055585], ETHW[0.00055584], USD[1.34]

07864973                              USD[20.00]

07864980                              ETHW[.09817685], GRT[1], USD[561.34], USDT[0]                                                                                                                                      Yes

07864981                              CUSDT[1], TRX[277.56229691], USD[0.00]

07864984                              CUSDT[1], KSHIB[361.541455], NFT (560876215842505827/Entrance Voucher #2275)[1], SHIB[14], USD[0.00]                                                                               Yes

07864988                              ETH[.2607817], ETHW[.2607817], NEAR[104.2077604]

07864990                              BRZ[2], CUSDT[2], GRT[3.13365284], LTC[.00015713], SHIB[3], SOL[.00004013], TRX[2], USD[0.00], USDT[0]                                                                             Yes

07864994                              BRZ[3], CUSDT[6], DOGE[6], ETH[0], ETHW[6.40210575], SHIB[33], TRX[12], USD[0.00]                                                                                                  Yes

07864996                              MATIC[0], SOL[0.00000001], SUSHI[0], USD[0.00]

07865006                              MATIC[0]                                                                                                                                                                           Yes

07865023                              SOL[0], USD[3.18]

07865030                              USD[1000.00]

07865031                              SOL[0], USD[0.00]

07865041                              USD[0.01], USDT[0]

07865048                              AAVE[0], AVAX[0], BTC[0], DOGE[0], ETH[0], ETHW[6.95639806], LINK[0], MATIC[0], SOL[0], USD[0.00], USDT[0.00001151]

07865055                              BRZ[2], CUSDT[69.310501], SHIB[8], TRX[173.11681826], USD[0.00], USDT[53.04272797]                                                                                                 Yes

07865064                              NFT (513245333865316313/Warriors 75th Anniversary City Edition Diamond #541)[1]

07865066                              NFT (362298684162741758/MagicEden Vaults)[1], NFT (384751676516094981/MagicEden Vaults)[1], NFT (395567017806471457/MagicEden Vaults)[1], NFT (406448397646226925/MagicEden
                                      Vaults)[1], NFT (510527423027902621/Herald's Blood)[1], NFT (530172635541280526/The Fracture)[1], NFT (535847458070459193/MagicEden Vaults)[1], NFT (556339209397549886/Metabaes
                                      #5589)[1], SOL[.6417]
07865076       Contingent, Disputed   USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07865078                              SOL[.03532579], USD[0.01]

07865083                              BTC[0.00001638]

07865084                              NFT (329065725432762958/Aku World: Dream #269)[1]

07865087                              SOL[25.6743], USD[0.00], USDT[.00927]

07865093                              NFT (354149810753765102/Till Death Do Us Part)[1], NFT (467024957864113084/Angry Nana)[1], NFT (514440645117787091/Zombie Enchantress #4)[1], SOL[.88512161], USD[0.97]

07865102                              BTC[0], NFT (298192403024280595/DarkPunk #8683)[1], NFT (496633294986862643/Lord of Darkness)[1], SOL[0], USD[0.00]

07865104                              BAT[15.06554351], BTC[.01678224], ETH[.22913177], ETHW[.22892904]                                                                                                                   Yes

07865112                              USD[3343.51]

07865114                              BTC[.00004198], USD[0.00]                                                                                                                                                           Yes

07865120                              BTC[0], CUSDT[2], DOGE[3], ETH[0.11199471], ETHW[0.11088344], SOL[7.15547908], TRX[4], USD[0.00], USDT[1.092197]                                                                    Yes

07865122                              CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                         Yes

07865127                              USD[30.45]

07865128                              NFT (410378587780028241/Series 1: Capitals #1299)[1], NFT (436451191380355823/88rising Sky Challenge - Fire #233)[1], NFT (473017969763263989/Series 1: Wizards #1220)[1], NFT
                                      (476778821723562140/88rising Sky Challenge - Coin #826)[1], NFT (542019137936420725/Coachella x FTX Weekend 1 #31205)[1], NFT (545842303788789044/88rising Sky Challenge - Cloud
                                      #335)[1], NFT (572443916217596711/FTX - Off The Grid Miami #3692)[1]
07865130                              USD[1.24]

07865132                              ETH[2.12595762], ETHW[2.12506476]                                                                                                                                                   Yes

07865138       Contingent, Disputed   USD[0.00]

07865141                              NFT (288297559315329118/Gene #5)[1], NFT (296466919951858417/The Mountain)[1], NFT (359597778525052790/The Mountain #4)[1], NFT (370904994149435060/The Mountain #2)[1], NFT
                                      (392596556198472586/The Mountain #6)[1], NFT (410033596781764216/Gene )[1], NFT (423872345295108319/Gene #2)[1], NFT (456476902850936120/The Mountain #3)[1], NFT
                                      (503444045663136252/Gene #4)[1], NFT (544009309683462279/The Mountain #5)[1], NFT (562203054438367604/Gene #6)[1], NFT (565930142226344722/Gene #3)[1], SOL[.928]
07865143                              ETH[0], GRT[0], SHIB[6485068.65681669], SOL[0], USD[0.82]

07865149                              BTC[.9834105], USD[10.23]

07865150                              USD[1.09]

07865152                              USD[18.06]

07865160                              USD[0.00]

07865161                              BTC[1.05155518], ETH[6.39756851], ETHW[6.39568912], SHIB[1583646185.77155966], SOL[59.76745439], USD[0.00]                                                                          Yes

07865163                              USD[500.00]

07865167                              CUSDT[1], USD[0.45], USDT[0]                                                                                                                                                        Yes

07865168                              USD[0.01]

07865169                              USD[0.63]

07865170                              USD[0.01]

07865172                              BTC[.00226858], CUSDT[1], DOGE[1], ETH[.03163924], ETHW[.03124252], USD[0.00]                                                                                                       Yes

07865174                              BTC[.00051054]                                                                                                                                                                      Yes

07865176                              BTC[0.00564281], USD[0.00]

07865183                              NFT (301038278151993019/Cyber Frogs Ramen)[1], NFT (301534769233156361/MagicEden Vaults)[1], NFT (345453132959973526/MagicEden Vaults)[1], NFT (394549615593581258/MagicEden
                                      Vaults)[1], NFT (401189383006141217/Frog #1400)[1], NFT (434246535360261774/Golden bone pass)[1], NFT (484500904301548261/MagicEden Vaults)[1], NFT (565422925041098874/MagicEden
                                      Vaults)[1]
07865184                              USD[2.28]

07865209                              CUSDT[1], TRX[1780.22415585], USD[2.48]                                                                                                                                             Yes

07865217                              USD[0.01]

07865223                              DOGE[2], NFT (517957873283695755/Entrance Voucher #2965)[1], SHIB[4], TRX[5], USD[0.00]                                                                                             Yes

07865225                              AAVE[0], BAT[0], BTC[0], DOGE[0], ETH[0], LINK[0], MKR[0], NFT (370065385646531257/SolDad #1227)[1], SHIB[0], SOL[0], USD[1.33], USDT[0.00001140]                                   Yes

07865236                              DOGE[104.96379011], USD[0.00]

07865260                              USD[0.00], USDT[0.00042155]

07865262                              BAT[1], DOGE[1], ETH[.00000086], ETHW[.09260897], SHIB[2], SOL[.00001433], TRX[1], USD[142.92]                                                                                      Yes

07865263                              DOGE[183.14119882], USD[0.00], USDT[0]

07865279                              BRZ[1], CUSDT[24], DOGE[1], TRX[2], UNI[.00003492], USD[0.10]                                                                                                                       Yes

07865285                              ETH[.00000009], ETHW[.00000009], SOL[0.00008022], USDT[1.09261612]                                                                                                                  Yes

07865290                              SOL[9.3610985], USD[4.94], USDT[0.00001987]

07865296                              BTC[.0000105]

07865299                              LTC[0]

07865311                              BTC[.00003576], ETH[0.00149857], ETHW[0.00105531], MATIC[0], SOL[0.00393858], USD[0.00], USDT[0]

07865313                              BTC[.00891074], ETH[0.00000001], ETHW[0], SOL[0], USD[0.00]

07865315                              SOL[0.43002065], USD[0.00]

07865326                              USD[3.30]

07865328                              LTC[.0000478]                                                                                                                                                                       Yes

07865334                              BTC[0], USD[2.22]

07865341                              BTC[.0163], ETH[.305], ETHW[.305], SHIB[9900000], SOL[3.07], USD[186.08]

07865342                              BTC[.001], NFT (288329969860168460/Saudi Arabia Ticket Stub #124)[1], NFT (483709668359408384/FTX - Off The Grid Miami #1644)[1], SHIB[6600000], USD[0.90]

07865345                              USD[0.46]
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07865352                              USD[20.00]

07865367                              ETH[.00000001], ETHW[0.00005045], USD[0.00], USDT[227.77173581]

07865378                              MATIC[0], USD[0.00], USDT[0.00454004]

07865382                              USD[0.00]                                                                                                                                                                                Yes

07865387                              NFT (463424733249188821/Humpty Dumpty #861)[1], USD[1.05]

07865392                              SOL[26.97326], USD[4493.40]

07865397                              USD[0.00], USDT[0]

07865402                              NFT (358058436084273766/Solana Squirrel #700)[1]

07865406                              BTC[.00001519], SHIB[1], SOL[0], USD[0.00]                                                                                                                                               Yes

07865407                              USD[2.95], USDT[0.00002243]

07865410                              SHIB[5674061.58741189], TRX[1], USD[0.00]                                                                                                                                                Yes

07865418                              NFT (383295139726359540/2974 Floyd Norman - CLE 5-0160)[1], NFT (421449607309426600/Australia Ticket Stub #85)[1], NFT (431362488621634360/FTX - Off The Grid Miami #25)[1], SOL[.02],
                                      USD[168.67]
07865425                              NFT (330453709877278653/Birthday Cake #2524)[1], NFT (348558914244332930/Space Bums #9396)[1], NFT (350907514979960261/Warriors Foam Finger #96 (Redeemed))[1], NFT
                                      (356554760474843952/Space Bums #9399)[1], NFT (361394071133254338/Space Bums #9389)[1], NFT (378994237358168799/GSW Western Conference Finals Commemorative Banner #1989)[1],
                                      NFT (386540981507901771/88rising Sky Challenge - Coin #740)[1], NFT (387717579807052573/GSW Western Conference Semifinals Commemorative Ticket #1074)[1], NFT
                                      (461165319154266853/GSW Western Conference Finals Commemorative Banner #1990)[1], NFT (470332541367778863/Space Bums #9370)[1], NFT (475286903574836611/Space Bums #9368)[1],
                                      NFT (486699739237959966/Space Bums #9391)[1], NFT (494852540331755534/Space Bums #9395)[1], NFT (501032915282992974/Coachella x FTX Weekend 2 #30407)[1], NFT
                                      (511294473770600573/2974 Floyd Norman - CLE 1-0009)[1], NFT (542171154876024984/GSW Championship Commemorative Ring)[1], USD[0.00]
07865429                              ETH[0.13332643], ETHW[0.13332643], LTC[0.01258615], SOL[0]

07865433                              ETH[0.00000001], SOL[0]

07865446                              BTC[0], DOGE[0], ETH[0.00000001], SHIB[5064765.88759034], SOL[0], USD[0.00]

07865456                              BTC[.0000009], USD[0.00]

07865460                              USD[0.00], USDT[0]

07865480                              CUSDT[2], DOGE[1], TRX[1], USD[0.01]                                                                                                                                                     Yes

07865482                              DOGE[1], LTC[.00579334], USD[0.00]

07865485                              USD[0.93]

07865487                              ETH[.00000001], USD[0.00]

07865489                              USD[172.16]

07865491                              USD[20.00]

07865502       Contingent, Disputed   USD[27.11], USDT[0.00020215]

07865506                              SOL[5.83], USD[0.02], USDT[0]

07865509                              BF_POINT[300]                                                                                                                                                                            Yes

07865534                              BTC[.00039294], CUSDT[266.85279596], DOGE[1], ETH[.00315256], ETHW[.00311152], LINK[.59685379], SHIB[289073.10474774], SOL[.00005783], TRX[1], USD[43.09]                                Yes

07865535                              ETHW[2.19915622], USD[114.18], USDT[0]                                                                                                                                                   Yes

07865537                              USD[0.00]

07865540                              USD[0.00]

07865553                              NFT (465817511348862352/The Hill by FTX #8478)[1]

07865556                              BAT[1.01139765], BRZ[1], BTC[.00515843], CUSDT[5], DOGE[3], ETH[0.18936482], ETHW[0.18913992], GRT[1.00069433], MATIC[184.38354059], SHIB[1], SOL[.00002033], TRX[4], USD[0.00],         Yes
                                      USDT[0.00005172]
07865566                              BTC[0], USD[0.00]

07865569                              NFT (319822757022563052/FTX - Off The Grid Miami #1566)[1]                                                                                                                               Yes

07865589                              ETH[0], ETHW[0], USD[0.77]

07865597                              BRZ[2], CUSDT[5], SOL[.00000001], TRX[6], USD[0.00], USDT[0]

07865601                              USD[14.47]

07865603                              ETH[.00003764], MATIC[.0084579], SHIB[1], USD[0.00], USDT[0]                                                                                                                             Yes

07865606                              MATIC[9.99000000], USD[1.31]

07865614                              USD[0.00]

07865618                              BAT[2.00701887], BTC[.00006345], ETH[.00000001], ETHW[.00000001], GRT[1.80386186], KSHIB[13.51014145], SHIB[1], USD[1.72]                                                                Yes

07865622                              BAT[.73278131], CUSDT[3], SHIB[1], USD[0.01]

07865630                              BTC[.12135323], ETH[2.07583103], ETHW[2.0749592], SHIB[11060277.21567294], SOL[72.15431273]                                                                                              Yes

07865633                              BTC[.02905194], CUSDT[3], DOGE[2], ETH[.32699468], ETHW[.32683331], MATIC[506.56788274], SOL[6.47222068], TRX[2], USD[0.59]                                                              Yes

07865636                              BRZ[0], CUSDT[1], DOGE[1], ETH[0], ETHW[0], MATIC[0], USD[0.00], USDT[0]

07865639                              BRZ[1], CUSDT[1], SOL[0], TRX[1]                                                                                                                                                         Yes

07865647                              BTC[.0355], DOGE[904.095], ETH[.08879902], ETHW[.08879902], MKR[.203], SHIB[3196800], UNI[13.5864], USD[2.16]

07865654                              NFT (320158948506381584/Entrance Voucher #3344)[1], NFT (386272135224329292/Australia Ticket Stub #2194)[1], NFT (529147997834725973/FTX - Off The Grid Miami #2887)[1], USD[0.00],
                                      USDT[0]
07865671                              BTC[0], SOL[0], USD[0.00]

07865673                              USD[0.00]

07865677                              BAT[0], BRZ[0], BTC[0], ETH[0], LTC[0], SOL[0], USD[0.02]                                                                                                                                Yes

07865685                              USDT[0.00000174]

07865687                              BTC[0], DOGE[0], ETH[0], EUR[0.00], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], PAXG[0], SHIB[21.88696393], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00], USDT[0]                        Yes

07865698                              USD[0.13]                                                                                                                                                                                Yes
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                                                                                                                                          Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07865705                           TRX[1], USD[0.01]                                                                                                                                                                  Yes

07865706                           USD[0.00]

07865712                           USD[21.51]                                                                                                                                                                         Yes

07865743                           USD[53.01]

07865745                           SOL[.00007672], USD[0.00]

07865756                           BTC[.00020557], USD[0.00]

07865761                           CUSDT[31.8093772], ETH[0], LINK[.00078754], SOL[0], SUSHI[0.00003830], USD[0.00]                                                                                                   Yes

07865765                           BTC[0], ETH[.007992], ETHW[.007992], USD[0.00]

07865769                           BTC[.02169287], ETH[.67901406], ETHW[.67901406], USD[0.00], USDT[985.01203145]

07865773                           LINK[0], MATIC[0], USD[0.00]

07865776                           BTC[.00000003], ETH[0], USD[25.08], USDT[0.00227403]                                                                                                                               Yes

07865777                           SOL[.13942902], USD[0.00]

07865778                           ETH[15.81874934], ETHW[15.81359005], LINK[34.8839747], SOL[38.14228745]                                                                                                            Yes

07865785                           BTC[.00000004], CUSDT[10], ETH[.00000152], ETHW[.00010599], SHIB[14], TRX[4], USD[0.01]                                                                                            Yes

07865789                           USD[2.70]

07865790                           DOGE[3], ETHW[.08948454], GRT[10.69645243], SHIB[51], SOL[.28575415], TRX[10], USD[0.01]                                                                                           Yes

07865791                           USD[0.61]                                                                                                                                                                          Yes

07865807                           DOGE[0], ETHW[.09970996], SHIB[6738238.37993652], USD[131.26]                                                                                                                      Yes

07865810                           CUSDT[1], DOGE[497.28636491], USD[0.00]                                                                                                                                            Yes

07865814                           NFT (565019247290327094/FTX - Off The Grid Miami #1880)[1], SOL[.00000001]

07865816                           BRZ[1], ETH[3.40139891], ETHW[3.39997033], NFT (360913455650924219/Megalodon Rogue Shark Tooth)[1], SOL[3.18874199], TRX[11303.7970323], USD[3103.85]                              Yes

07865831                           USD[0.00]

07865848                           USD[546.47]                                                                                                                                                                        Yes

07865854                           USD[0.00], USDT[.93349575]

07865860                           UNI[.099], USD[0.73]

07865864                           BTC[0], USD[0.43]

07865870                           USD[76.27]

07865871                           SOL[.09904675], USD[0.00]

07865880                           SOL[.008], USD[29.64]

07865885                           ETH[0.00000002], ETHW[0], NFT (360533439567090262/Magic Eden Pass)[1], SOL[0.00000001], USD[0.99]                                                                                  Yes

07865886                           USD[0.00], USDT[0.00004520]

07865888                           BRZ[1], DOGE[1], TRX[2], USD[0.00]

07865896                           USD[0.00]

07865897                           CUSDT[1], TRX[1], USD[0.01]

07865900                           CUSDT[1], SOL[2.84636923], TRX[1], USD[0.00]

07865905                           SOL[.00044118], USD[0.00]

07865906                           SOL[0], USD[0.00]

07865918                           USD[0.01]                                                                                                                                                                          Yes

07865920                           BTC[0.00129540], ETH[.000288], ETHW[.000288], NFT (554033055559262969/865)[1]

07865921                           BRZ[1], DOGE[2], USD[0.00]

07865923                           ETH[.11623992], ETHW[.11623992], USD[0.00]

07865930                           AVAX[4.92822233], BAT[2.04267711], BRZ[4.29573846], BTC[.08864987], CUSDT[2], DOGE[278.76426692], ETH[1.78188608], ETHW[1.78113766], MATIC[1023.12891249], SHIB[42127.55659424],   Yes
                                   SOL[19.50294048], TRX[7], USD[0.06]
07865931                           BTC[0.00368000], DOGE[104.40292209], ETH[0.02800000], ETHW[0.02800000], LINK[10.08], SUSHI[16.75312521], USD[0.00], YFI[0.00091812]

07865935                           NFT (421824994154864304/Saudi Arabia Ticket Stub #574)[1]

07865938                           USD[0.54]

07865943                           USD[0.00]

07865945                           BTC[0.00137178], LINK[.1], SHIB[2311802.2842737], SOL[.0089], USD[0.91], USDT[0]

07865946                           NFT (289161215577336861/Reflection '07 #06)[1], NFT (482709501943310489/Golden Hill #217)[1], USD[44.78], USDT[0]

07865960                           SOL[3.16683], SUSHI[2], USD[3.23]

07865978                           BTC[0], USD[13.07]

07865985                           BRZ[1], CUSDT[4], DOGE[2], ETH[.12141005], ETHW[.12024254], SOL[3.50086767], TRX[2], USD[0.00]                                                                                     Yes

07865987                           BTC[.00011139], TRX[1], USD[0.00]                                                                                                                                                  Yes

07866004                           USD[1.56]

07866016                           NFT (418202011933936598/Coachella x FTX Weekend 1 #27041)[1]

07866019                           USD[20.00]

07866022                           NFT (390358541385630294/Imola Ticket Stub #815)[1], USD[0.00]

07866026                           BRZ[1], CUSDT[3], DOGE[2], NFT (487562102488182713/Mech #711)[1], TRX[2], USD[0.00]                                                                                                Yes

07866028                           BTC[.00042071], CUSDT[1], USD[0.00]
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                                                                                               Amended Schedule 1754      Filed
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                                                                                                                                         Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07866045                           USD[0.00]

07866047                           BTC[.00074503], TRX[1], USD[0.00]                                                                                                                                                        Yes

07866048                           TRX[.000001]

07866069                           DOGE[.00147505], ETH[0.00072569], ETHW[.00072138], GRT[.33028423], LINK[.00113274], SOL[0], TRX[.02839652], UNI[.03579302], USD[0.10], USDT[0.00000002]                                  Yes

07866072                           TRX[.000001], USD[9.95], USDT[0]

07866076                           BRZ[3], CUSDT[7], DOGE[6], ETHW[.0428472], NFT (510825357504700430/Entrance Voucher #3702)[1], SHIB[7], TRX[3], USD[0.00]                                                                Yes

07866083                           ETH[.25], ETHW[.25]

07866100                           BF_POINT[200]

07866103                           BF_POINT[100], NFT (306200689762369810/My Little Gang #7)[1]

07866107                           DOGE[.98825], TRX[.000001], USD[0.01], USDT[0]

07866112                           NFT (517220972615919641/Coachella x FTX Weekend 1 #27005)[1]

07866116                           TRX[1.60529979], USD[0.00]                                                                                                                                                               Yes

07866119                           BTC[.053777], SOL[48.53228789], USD[0.79]

07866132                           SOL[.23], USD[2.45]

07866133                           NFT (515307396621691022/Entrance Voucher #5850)[1], SOL[.00406]

07866154                           USD[21.85]                                                                                                                                                                               Yes

07866157                           NFT (399129084111441897/The Tower #375-1)[1], USD[0.00]

07866163                           DOGE[48.21307581], ETHW[.00000007], USD[0.00]                                                                                                                                            Yes

07866171                           NFT (334617864562421997/Little Rocks #769)[1], NFT (467856211311874602/Little Rocks #271)[1], SOL[.2]

07866177                           NFT (376305802101681418/Imola Ticket Stub #2369)[1], USD[2.23]

07866179                           CUSDT[4], MATIC[.00028213], USD[0.01]                                                                                                                                                    Yes

07866181                           SOL[.1]

07866193                           USD[0.00]

07866207                           ETH[0], TRX[.000019], USD[0.30]

07866218                           BTC[0], CUSDT[3], USD[0.00]

07866226                           BTC[0.00009430], USD[0.84], USDT[0.00001370]

07866234                           NFT (406198656357871478/Warriors Gold Blooded NFT #840)[1]

07866235                           LINK[.00000001], USD[75000.00], USDT[0]                                                                                                                                                  Yes

07866287                           SOL[1.00092365], USD[0.00]

07866288                           ETH[0], USD[0.00]

07866292                           SOL[1.98802000], USD[1.02]

07866306                           SOL[.5]

07866310                           BTC[0], USD[0.00]

07866312                           USD[0.01]                                                                                                                                                                                Yes

07866313                           ETHW[.057942], USD[0.32]

07866314                           BRZ[1], ETH[.00004536], ETHW[5.53592177], USD[6851.49], USDT[0]                                                                                                                          Yes

07866323                           USD[3000.00]

07866330                           BRZ[1], BTC[.00914575], CUSDT[1], USD[0.00]

07866333                           BAT[.01116297], DOGE[1029.24845403]                                                                                                                                                      Yes

07866342                           CUSDT[4.6561972], USD[22.15]                                                                                                                                                             Yes

07866348                           USD[0.00]

07866356                           USD[10.81]                                                                                                                                                                               Yes

07866359                           SOL[.01]

07866364                           BRZ[1], BTC[.00017964], DOGE[21.65614161], ETH[.00143913], ETHW[.00143913], USD[0.01]

07866369                           CUSDT[3], DOGE[534.15595020], KSHIB[1412.16509622], USD[0.07]                                                                                                                            Yes

07866371                           USD[0.45]

07866372                           ALGO[0], AVAX[0], BAT[0], ETH[0], GRT[0], LINK[0], MATIC[0.00041166], NEAR[0], NFT (294052244777810274/Ferris wheel iberd)[1], NFT (300549449001127578/Pacific Beach Sunrise #10)[1], NFT Yes
                                   (302953325587350037/Anti Social Bot #4326)[1], NFT (314419235452704158/APEFUEL by Almond Breeze #81)[1], NFT (319125341299439949/ALPHA:RONIN #297)[1], NFT
                                   (319242609616177174/leaflet iberd)[1], NFT (332295575947432667/Second 50 #7)[1], NFT (335935143684716651/Nespace Album #30)[1], NFT (342315023695438946/Cartons album #28)[1], NFT
                                   (342762117974317525/Baddies #4464)[1], NFT (351849929013341841/Solana Squirrel #341)[1], NFT (366732619839997787/lazyPanda #11)[1], NFT (367128805085271574/Molly Water #27)[1], NFT
                                   (367392500881084085/DOTB #5253)[1], NFT (369346544745788159/APEFUEL by Almond Breeze #642)[1], NFT (384825123985348859/DOGO-IN-500 #3554)[1], NFT (390173586817723566/Pop Art
                                   #21)[1], NFT (390683168427644482/GG #10)[1], NFT (396814828049082087/DOGO-IN-500 #2870)[1], NFT (398168474347227208/Cadet 205)[1], NFT (400854397010438702/DOTB #1321)[1], NFT
                                   (402281689931701597/Megalodon Rogue Shark Tooth)[1], NFT (406955601454644229/DOGO-TR-700 #10738)[1], NFT (407561946313200679/Hang loose )[1], NFT (425995994067211436/SolBunnies
                                   #4253)[1], NFT (432886030148446767/Cartons album #41)[1], NFT (437738399854990243/Golden Hour)[1], NFT (438149223092864730/#6648)[1], NFT (440046665925941560/Human Beings #6)[1],
                                   NFT (447207529969977491/Cartons album #44)[1], NFT (452895679849526060/Solninjas #3487)[1], NFT (463452600628716691/Golden Retreiver Common #56 (Redeemed))[1], NFT
                                   (470519675783577913/Gangster Gorillas #5585)[1], NFT (486605907044247161/Autumn 2021 #140)[1], NFT (489323896115959076/Gangster Gorillas #1945)[1], NFT (504125462882276523/DOGO-IN-
                                   500 #2288)[1], NFT (519668862412570663/Kiddo #5711)[1], NFT (521648734022347567/Charles)[1], NFT (526105549181134025/Chocolate Lab Common #52)[1], NFT (548920570554076198/Nobu
                                   Sensei #239)[1], NFT (558174434074895646/DOTB #72)[1], NFT (561391359332275407/DOGO-IN-500 #3236)[1], NFT (566606423843263824/Nobu Sensei #140)[1], NFT (575798680757680716/Pixel
                                   iberd #2)[1], SHIB[0], SOL[0.00000001], TRX[0], USD[0.00]

07866385                           NFT (314223306936659731/Colossal Cacti #19)[1], NFT (400442907258806602/Cosmic Creations #638)[1], NFT (474859004165428576/Ferris From Afar #822)[1], NFT (520424069731475319/Spectra
                                   #245)[1]
07866386                           BF_POINT[300], ETH[.19636983], ETHW[.1961604], LINK[176.22041767]                                                                                                                        Yes

07866387                           CUSDT[0], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07866398                              SHIB[137478.51099807], USD[0.00]

07866402                              USD[0.00]

07866406                              USD[0.00]

07866408                              NFT (567345609148094591/921)[1], SOL[.02]

07866454                              BTC[.0144956], CUSDT[7], DOGE[1], ETH[.08088827], ETHW[.07989145], LINK[5.64640408], LTC[.94825322], SHIB[2428720.37635602], SOL[7.66970354], TRX[285.18976784], USD[0.00],               Yes
                                      USDT[1.07716049]
07866456                              USD[20.00]

07866474                              ALGO[.462], BTC[.11008931], DOGE[54.0538], ETHW[.0609322], LINK[80.77828], LTC[8.364094], TRX[21148.8958], USD[479.47], USDT[3780.8035352]

07866485                              BTC[.0000083], SOL[182.7555], USD[117.99]

07866497                              BAT[4], BRZ[2], BTC[0], DOGE[1], GRT[1], SHIB[3], TRX[3], USD[0.01], USDT[1]

07866499                              SOL[0], USD[0.00], USDT[0.00000068]

07866505                              BTC[.65924814], DOGE[1], MATIC[1037.3611317], SOL[37.04468423], TRX[1], UNI[1], USD[0.00]

07866509                              USD[10.00]

07866532                              BRZ[3], BTC[.30245579], CUSDT[329.02427245], DOGE[5728.75111768], ETH[1.41778169], ETHW[1.41722216], LINK[5.91396115], MATIC[168.57972872], SHIB[29481870.37528655],                      Yes
                                      SOL[103.16764336], TRX[9], USD[0.00], USDT[2.08714174], YFI[.05870799]
07866539                              SOL[.09570523], USD[0.00]

07866551                              CUSDT[2], ETH[.04760989], ETHW[.04702122], SOL[.86764808], TRX[1], USD[1057.12]                                                                                                           Yes

07866565                              CUSDT[2], USD[0.00]                                                                                                                                                                       Yes

07866578                              BTC[.00000352], USD[0.11]

07866579                              CUSDT[1], TRX[2], USD[0.00]                                                                                                                                                               Yes

07866580                              BTC[.00002082], USD[1.65]                                                                                                                                                                 Yes

07866593                              CUSDT[1], USD[6.49]                                                                                                                                                                       Yes

07866594                              USD[0.00], USDT[0.00002900]

07866596                              SOL[0], USD[0.01], USDT[0]

07866606                              SOL[4.52], USD[0.80]

07866612                              BTC[.00004973], ETH[.00000001], ETHW[0], LTC[.00000423], USD[0.00], USDT[0]

07866614                              USD[0.00]

07866616                              BF_POINT[100], CUSDT[1], DOGE[2], LINK[0], USD[0.00]

07866622                              ETH[.12686223], ETHW[.12574453], LINK[296.80306106], SHIB[1], USD[0.00]                                                                                                                   Yes

07866629                              TRX[.000014], USD[0.02]                                                                                                                                                                   Yes

07866632                              SOL[.01402586], USD[0.00]

07866634                              ETH[0], USD[0.00]

07866643                              USD[5.01]                                                                                                                                                                                 Yes

07866657                              BAT[1.01538631], BRZ[2], CUSDT[16], DOGE[4.00279964], ETH[.71135118], ETHW[.71105242], SOL[37.29538323], TRX[7], USD[349.38], USDT[2.16473076]                                            Yes

07866663                              USD[0.00], USDT[3.30878076]

07866664                              CUSDT[1], DOGE[660.0071408], ETH[1.08879083], ETHW[1.08833359], USD[0.00], USDT[1.0886818]                                                                                                Yes

07866667                              NFT (413409779760296900/Reflection '16 #12)[1], NFT (499119523792200988/FTX - Off The Grid Miami #2654)[1], USD[0.00]

07866672                              SOL[.00000001], USD[0.00]

07866675                              SOL[.00000001], USD[0.01]

07866689                              USD[1.17]

07866694                              BTC[.00041337], CUSDT[2], SOL[.24183519], USD[0.00]                                                                                                                                       Yes

07866702                              BTC[.00007992], ETH[.00082517], ETHW[.00082517], USD[0.00], USDT[0.00000371]

07866705                              BRZ[1], CUSDT[77.54602981], NFT (525696550270079382/Ooooooo J)[1], USD[0.00]                                                                                                              Yes

07866723                              ETH[.05739456], ETHW[.05739456], SOL[0.00000015], USD[50.78]

07866725                              BRZ[1], BTC[.00000277], DOGE[4], ETH[0], ETHW[.00008966], GRT[1], SHIB[2], TRX[2], USD[0.00]                                                                                              Yes

07866746                              USD[0.00]

07866747                              ALGO[0], USD[0.00]                                                                                                                                                                        Yes

07866751                              SOL[.00976793], USD[0.00]

07866776                              CUSDT[4], NFT (368488684728281015/Eitbit Ape #5794)[1], NFT (411349370011341854/Eitbit Ape #3006)[1], NFT (423908532116912891/Eitbit Ape #2816)[1], NFT (528302712904377386/Doak
                                      Walker's Playbook: SMU vs. Santa Clara - September 27, 1947 #72)[1], NFT (551947974866671196/Eitbit Ape #220)[1], NFT (564523329593686771/Shannon Sharpe's Playbook: Denver Broncos vs.
                                      Los Angeles Raiders - January 9, 1994 #57)[1], NFT (566030394083599662/Eitbit Ape #2319)[1], SOL[.00000001], USD[0.01]
07866786                              AAVE[.15118324]                                                                                                                                                                           Yes

07866790                              CUSDT[1], USD[0.92]                                                                                                                                                                       Yes

07866796                              BTC[.00000012], ETH[.00000599], ETHW[.65530134], LINK[.00059852]                                                                                                                          Yes

07866801                              TRX[9.042201], USD[2.64], USDT[.00522344]

07866804                              SOL[6.67332], USD[4.56]

07866810                              USD[1.39]

07866815                              BTC[.0052], DOGE[170], ETH[.131965], ETHW[.131965], SOL[8.47844], USD[2.73]

07866820                              BTC[0], USD[0.00]

07866823                              TRX[1], USD[0.00]

07866828       Contingent, Disputed   NFT (389527525213992059/Trippy Bunny NFT Derivative 1-of-1)[1]
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                                                                                                                                            Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07866836                              USD[0.00], USDT[0.00000034]

07866837                              SOL[6.705285], USD[0.00], USDT[0]

07866838                              SOL[0], USD[2.77]

07866839                              USD[0.33]

07866843                              USD[64.36]

07866848                              SOL[0], USD[0.00]

07866870                              USD[0.01]

07866875                              BTC[.00052313], CUSDT[3], DOGE[124.02175366], ETH[.00827371], ETHW[.0081703], USD[0.00]                                                                                          Yes

07866876                              SOL[.00090717], USD[0.00], USDT[.007564]

07866878                              BTC[0], ETH[0], SOL[0], USD[0.00]

07866887                              USD[12.97]

07866891                              BTC[0], SOL[.00000001], USD[1.31]

07866893                              BAT[1], BF_POINT[300], CUSDT[2], DOGE[4], ETHW[5.01124891], LINK[.00069279], LTC[.00017517], SHIB[2], SUSHI[.00097444], TRX[2], UNI[.0003922], USD[0.00], YFI[.00000013]         Yes

07866897                              AAVE[.03351675], BCH[.00833131], BTC[.00500352], CUSDT[20], DAI[10.86109678], DOGE[233.81023267], ETH[.0117358], ETHW[.01158521], MATIC[6.01926138], MKR[.00429357], NFT         Yes
                                      (373639465553913630/Gemfire)[1], SHIB[461390.74869912], SOL[.23051808], SUSHI[1.45087819], TRX[1], UNI[.48820625], USD[0.00], USDT[15.13176077]
07866907                              GRT[1], NFT (294768047925482072/Coachella x FTX Weekend 1 #3923)[1], TRX[1], USD[0.00]                                                                                           Yes

07866914                              ETH[0.00028157], ETHW[0.00028157]

07866916                              BTC[0], DOGE[0], ETH[.00000001], SOL[0.04816536], USD[0.04]

07866920       Contingent, Disputed   USDT[0.00000086]

07866925                              ETH[0.00000269], ETHW[0.29775583], LINK[0], SHIB[4], TRX[2], USD[0.00]                                                                                                           Yes

07866928                              ETH[0], USD[0.00]                                                                                                                                                                Yes

07866931                              USD[0.61]

07866945                              USD[0.06]

07866953                              BRZ[1], BTC[2.43132311], CUSDT[1], DOGE[3], ETH[.88940879], ETHW[.88915326], GRT[2.01472745], LINK[1.05979909], MATIC[1474.79390943], SOL[41.85440124], USD[12042.17]            Yes

07866962                              NFT (498281904428915969/Kiddo #6710)[1]

07866966                              SOL[0.00721695]

07866968                              BTC[.12539376], ETH[2.24660214], ETHW[2.24565858], SOL[9.16595509]                                                                                                               Yes

07866977                              NFT (347723996101050308/Dark World #4)[1], NFT (461050747716771856/Dark World #5)[1], NFT (479844337448695515/Vox Robo #32)[1], NFT (519681445216123433/The Miracle)[1], NFT     Yes
                                      (556233093094365571/Dark World #3)[1], USD[257.48]
07866985                              BTC[.0000159], NFT (443293031677462794/"Your design here" )[1], USD[0.21]

07866990                              AVAX[0.49348340], DOGE[1], SOL[.00140479], USD[0.00]                                                                                                                             Yes

07866992                              SOL[0], USD[0.72]

07866993                              CUSDT[8], DOGE[1], ETHW[.04237142], SHIB[152381.91407135], TRX[3], USD[0.00]                                                                                                     Yes

07866996                              USD[0.00]

07867002                              USD[100.00]

07867004                              TRX[.000001], USDT[.2695148]

07867006                              BAT[15.32171919], BRZ[60.02918781], BTC[.0004287], CUSDT[503.72716573], DAI[10.83247496], DOGE[1], ETH[.16380445], ETHW[.1633687], GRT[15.22091447], KSHIB[142.27311173],        Yes
                                      LINK[1.08824828], LTC[.0584068], MATIC[5.66280775], SHIB[149187.72652125], SUSHI[.97851343], TRX[110.89388024], UNI[1.08152671], USD[0.65], USDT[10.84222421]
07867019                              ETH[.00000314], ETHW[.00000314], NFT (496663423895737177/Mystery Box)[1], USD[0.01], USDT[0]                                                                                     Yes

07867023                              CUSDT[5], ETH[.00000006], ETHW[.00000006], SOL[.00000276], USD[0.01]                                                                                                             Yes

07867026                              USD[0.00]

07867034                              USDT[1.63122867]

07867036                              TRX[209], USD[0.04]

07867050                              ETHW[1.291], NFT (335691231530616953/Coachella x FTX Weekend 2 #10123)[1], USD[0.00]

07867051                              CUSDT[7], DOGE[2], ETH[0], GRT[1.00132499], MATIC[0], SOL[.00000001], TRX[6], USD[0.01]                                                                                          Yes

07867052                              BAT[1], BRZ[2], BTC[.00003004], CUSDT[2], DAI[.00004875], DOGE[3], SHIB[7], TRX[2], USD[1.27], USDT[0.00000001]                                                                  Yes

07867054                              BAT[82.07649883], BRZ[145.47662619], CUSDT[1140.73723961], SHIB[1529143.2014852], USD[0.00]                                                                                      Yes

07867068                              USD[99.96]

07867069                              USD[13.14]

07867074                              ETHW[3.70322231], NFT (294999389601797232/Coachella x FTX Weekend 2 #111)[1], NFT (393296794151114792/FTX - Off The Grid Miami #142)[1], NFT (399988344689091842/Warriors 75th   Yes
                                      Anniversary Icon Edition Diamond #1014)[1], NFT (573901894759816123/Warriors Gold Blooded NFT #879)[1], USD[75.05]
07867084                              LTC[8.76260414], USD[0.00]

07867086                              NFT (440194667459367164/FTX - Off The Grid Miami #4862)[1]

07867089                              USDT[.3140356]

07867091                              BAT[2.0165555], BRZ[1], CUSDT[2], DOGE[4], ETH[3.58916161], ETHW[3.58768355], GRT[3.08299999], SHIB[2], SOL[162.36591828], TRX[5], USD[1000.29], USDT[6.27655344]                Yes

07867093                              USD[0.00]

07867094                              USD[0.00]

07867098                              BRZ[1], CUSDT[1], DOGE[3], ETH[0], GRT[1], MATIC[0], SHIB[0], TRX[2], USD[0.00], USDT[2.0981758]

07867104                              NFT (558869937759156493/Unity #415)[1], NFT (571220338063863750/Saudi Arabia Ticket Stub #2476)[1]

07867111                              USD[1.48]                                                                                                                                                                        Yes

07867114                              BTC[0.00230000], ETH[0.05100000], ETHW[0.05100000], USD[5.67], USDT[0]
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07867124                              BTC[0], SOL[0]

07867132                              BRZ[1], USD[0.00]                                                                                                                                                                        Yes

07867140                              USD[455.21]

07867145                              ETH[0], USD[0.20]

07867166                              NFT (367892299249911197/Sickos #9)[1], NFT (423318963994814383/Our World #018)[1], NFT (501612929004311514/Egg #0006 - Plant Hybrid)[1], NFT (523265332503625951/Lightning in a Bottle
                                      )[1], NFT (549080973080807681/Sickos #2)[1], SOL[0], SUSHI[0], USD[0.00], USDT[0]
07867172                              USD[0.06], USDT[0.00000026]

07867175                              BTC[.00049585], DOGE[60.00767172], ETH[.02451705], ETHW[.45892103], SHIB[445441.26309998], USD[15.88]                                                                                    Yes

07867187                              SHIB[400000], USD[0.41]

07867193                              ETH[.75878483], ETHW[.75878483]

07867196                              USDT[9.50000000]

07867203                              BTC[0], ETH[0], SOL[0.00356624], USD[0.00]

07867212                              BRZ[1], USD[0.00]

07867217                              NFT (305301786482169153/Entrance Voucher #3298)[1], USD[0.92]

07867220                              BAT[4.60052544], DOGE[14.49791987], GRT[5.66524139], TRX[80.6527237], USD[0.00]                                                                                                          Yes

07867224                              SOL[0], USDT[0.00000032]

07867229                              USD[0.00], USDT[2.75117030]                                                                                                                                                              Yes

07867232                              USD[0.00], USDT[1.13555366]

07867242                              SOL[.08026425], USD[0.00]

07867253                              DOGE[1], GRT[1.00367791], SHIB[1], TRX[1], USD[0.01]                                                                                                                                     Yes

07867254                              NFT (351552757327664020/Entrance Voucher #2681)[1], SOL[.04849642], USD[0.01]

07867263                              SHIB[2000000], SOL[1.16], USD[0.00], USDT[13.26088924]

07867266                              USD[0.91]

07867270                              NFT (547917483584609705/Entrance Voucher #29504)[1]

07867274                              BTC[0.00007703], ETH[0.56749959], ETHW[0.56749958], USD[0.00], USDT[1.17341632]

07867282                              CUSDT[1], USD[0.01]                                                                                                                                                                      Yes

07867286                              BTC[0], ETH[0], SOL[0], USD[0.00]

07867294                              USD[0.00]

07867297                              SOL[0.00189389]

07867298                              ETH[0], USDT[0.00032641]

07867299                              BF_POINT[300]

07867300                              NFT (365261469037515419/Golden Hill #171)[1]

07867303                              USD[0.00]

07867307                              USD[0.03]

07867310                              BTC[0], ETH[0.36400001], ETHW[0], USD[0.01], USDT[0.00000001]

07867311                              ETH[0], ETHW[0.00004100], KSHIB[0], NFT (315469393099878797/Entrance Voucher #2276)[1], SHIB[3.00001821], SOL[0.00304479], USD[0.00], USDT[0]                                            Yes

07867313                              USD[0.00], USDT[0]

07867320                              ETH[0.00000001], ETHW[0.21616609], LTC[0], SOL[0], USD[0.00], USDT[0.00000995]

07867327                              USD[4.32]

07867338                              SOL[0], USD[0.00]                                                                                                                                                                        Yes

07867339                              BTC[0], ETH[0], USD[0.00]

07867341                              ETH[0], NFT (393363346737749644/3D SOLDIER #128)[1], NFT (472496590708610517/3D Squid Game Legs)[1], NFT (511736935566777377/3D Santa Right Arm)[1], USD[0.00]

07867342                              NFT (380427257418592315/Imola Ticket Stub #2146)[1]

07867349                              SOL[.00011632]                                                                                                                                                                           Yes

07867362                              SOL[104.4954], USD[122.80]

07867364                              USD[0.89]

07867367                              BTC[0], USD[0.00], USDT[0.00000107]

07867369                              ETH[.00000001], ETHW[0], SOL[0.00973977], USD[0.00]

07867370       Contingent, Disputed   SOL[0], USD[0.00]

07867387                              SOL[.16023049], USD[300.01]

07867391                              BTC[.03495697], USD[648.79]

07867392                              NFT (349239123435094551/Freak#002)[1], NFT (424903867799095933/Freak #001 )[1], SOL[0]

07867400                              USD[0.00], USDT[0]

07867401                              USD[0.13]                                                                                                                                                                                Yes

07867410                              BTC[0], ETH[0], ETHW[0.13622673], NFT (524903968098759377/FTX - Off The Grid Miami #1341)[1], USD[0.00]

07867415                              USD[3.09]                                                                                                                                                                                Yes

07867421                              ETH[0], USD[0.01], USDT[1.28871010]

07867432                              ETH[.00000001], SOL[0], USD[0.00]

07867449                              DOGE[3], SOL[1.02797677], USD[0.00]                                                                                                                                                      Yes
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                                                                                                                                         Customer Claims                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07867455                           AVAX[.077], USD[0.05]

07867465                           BF_POINT[1100]

07867471                           LTC[.06536169]                                                                                                                                                            Yes

07867477                           USD[3.46]

07867478                           BRZ[1], USD[0.00]                                                                                                                                                         Yes

07867481                           USD[0.00]

07867483                           BTC[.00228], DOGE[1742.256], TRX[0.97098559], USD[3.20]

07867484                           ETH[.00000001], NFT (295973212948744612/SOL BROBOT #144)[1], NFT (420122390670820849/SOL BROBOT #1514)[1], NFT (420650271150469056/SOL BROBOT #3129)[1], NFT
                                   (452120164004760920/SOL BROBOT #4732)[1], NFT (484041099695120279/SOL BROBOT #3399)[1], NFT (552473937305940762/SOL BROBOT #6035)[1], NFT (559545501390925664/SOL
                                   BROBOT #4483)[1], NFT (575945022382237823/SOL BROBOT #368)[1], SOL[0], USD[0.00]
07867489                           ETH[.000908], ETHW[.003908], USD[0.00]

07867490                           ETH[0], SOL[0], TRX[0.00000020]

07867491                           SHIB[2], USD[69.07]                                                                                                                                                       Yes

07867520                           BTC[0], DOGE[0], ETH[0], TRX[0], USD[0.00]                                                                                                                                Yes

07867526                           AAVE[.5683778], BAT[344.07936782], DAI[99.47820992], DOGE[313.68757111], ETH[.06547468], ETHW[.06547468], GRT[267.40199362], LINK[28.94366968], MATIC[51.04098399],
                                   SOL[6.73882062], TRX[1247.53890816], UNI[16.17199847], USD[892.19], USDT[14.40000000]
07867540                           TRX[.000001]

07867542                           USD[0.00]

07867549                           AVAX[.01], USD[0.00]

07867558                           NFT (525397979210923854/FTX - Off The Grid Miami #300)[1], NFT (539730175862315765/Romeo #6256)[1]

07867576                           USD[1.96]                                                                                                                                                                 Yes

07867580                           BTC[.00071875], DOGE[1], USD[0.00]                                                                                                                                        Yes

07867592                           BAT[1.01655549], CUSDT[1], ETH[0], USD[0.00]                                                                                                                              Yes

07867596                           ETHW[.00599], USD[0.10]

07867604                           BTC[.0158902], SHIB[53466100], SOL[5.46522], USD[0.73]

07867606                           USD[0.00]                                                                                                                                                                 Yes

07867608                           USD[0.00]

07867613                           AVAX[0.00044347], BAT[0], BTC[0], DOGE[0], LTC[0.00900000], MATIC[1.49172055], NFT (418115556246128888/Animan)[1], SHIB[2], SOL[0], TRX[0], USD[0.00], USDT[0.00000014]

07867614                           SOL[.00022344], USD[0.00]

07867622                           ETH[.00000001], ETHW[.00000001], USD[0.00]                                                                                                                                Yes

07867631                           KSHIB[110], SHIB[45900000], SOL[.0086325], USD[36.26]

07867633                           BTC[0], USD[0.00], USDT[.00277802]

07867636                           USD[0.06]

07867637                           NFT (343354707238965354/Bahrain Ticket Stub #1995)[1], NFT (381800334157405689/Degen Gang Level 1)[1], NFT (404395833024619238/Scoop #546)[1]

07867653                           BTC[.00007579], SHIB[5], USD[0.02]

07867656                           USD[0.80]

07867685                           TRX[2], USD[0.02]

07867687                           AVAX[5.80692754], BAT[1], BRZ[2], CUSDT[14], DOGE[15.24081069], ETHW[.94125306], SHIB[24], SOL[15.53156845], TRX[9], USD[0.01]                                            Yes

07867688                           USD[20.00]

07867689                           AUD[1.00], ETH[.0007237], ETHW[.0007237]

07867702                           USD[2.95]

07867711                           NFT (476919064434198269/FTX - Off The Grid Miami #2677)[1], SHIB[1], USD[0.01]                                                                                            Yes

07867714                           TRX[1997.000001], USD[0.00], USDT[.0033114]

07867715                           MATIC[570.66792646], SOL[22.84637011], USD[2.37]                                                                                                                          Yes

07867720                           NFT (525236932600291700/SEALZ #2758)[1], SOL[.2]

07867723                           USD[2.50]

07867724                           USDT[1.6335122]

07867731                           AVAX[66.9345], ETHW[.961003], USD[0.00]

07867733                           USD[20.00]

07867734                           SOL[1.09082154]                                                                                                                                                           Yes

07867735                           SOL[0.17320520], USD[0.54]

07867744                           AAVE[.39931], BTC[0.00160495], ETH[.023971], ETHW[.023971], GRT[145.649], LINK[3.8934], MATIC[39.95], MKR[.032984], SOL[.64901], SUSHI[12.972], UNI[5.7379], USD[1.38]

07867754                           BTC[0], USDT[0]

07867757                           DAI[.00000001], SOL[0], USD[0.92]

07867769                           ETHW[.00011393]                                                                                                                                                           Yes

07867772                           USD[28.88]

07867775                           TRX[.000001], USDT[0]

07867779                           DOGE[1], USD[0.00]                                                                                                                                                        Yes

07867782                           USD[20.00]

07867786                           BTC[0], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07867787                           USD[478.17]

07867798                           ETH[0], SOL[0], USD[0.00]

07867812                           BRZ[2], BTC[.00000004], CUSDT[26], TRX[10], USD[0.00]                                                                                                                                     Yes

07867819                           USD[0.78]

07867827                           ETH[0.00773015], ETHW[0.00773015], SHIB[200000], USD[1.72], USDT[0.00000001]

07867829                           BTC[0], SOL[.00702], USD[0.97]

07867831                           ETH[.02674084], ETHW[.02674084], USD[3.16]

07867833                           USD[5.17], USDT[0]

07867836                           USD[32.01]

07867840                           USDT[1]

07867843                           BTC[.0016], ETH[.005], ETHW[.005], LINK[.4], SOL[.04], SUSHI[2.5], USD[2.81]

07867858                           USD[546.42]                                                                                                                                                                               Yes

07867860                           SOL[.00666147], USD[0.41]

07867863                           ALGO[147.50911423], BRZ[11.08347426], BTC[0.02407687], DOGE[48.57951061], ETH[.00000823], ETHW[1.154699], GRT[2], MATIC[260.45301591], SHIB[202], SOL[.11072553],                         Yes
                                   TRX[833.95549249], USD[0.00], USDT[0]
07867870                           NFT (562206163947853787/Animal Gang #147)[1], SOL[.0199]

07867872                           DOGE[1], USD[0.00]

07867875                           NFT (304378493769803498/Battle-hardened Warrior [SE])[1], NFT (385978514542089764/G.R.A.U.L)[1]

07867878                           USD[532.24], USDT[24.95]

07867883                           TRX[.000001], USDT[0.00000077]

07867887                           SHIB[6], USD[0.01]

07867889                           ETHW[.55274705], USD[0.00]                                                                                                                                                                Yes

07867893                           BAT[1.01655544], CUSDT[2], DOGE[4.00204618], ETH[.00000001], GRT[2.03121807], TRX[3], USD[0.00], USDT[0]                                                                                  Yes

07867897                           ETHW[.07175925], LINK[11.19015932]                                                                                                                                                        Yes

07867903                           USD[0.47]                                                                                                                                                                                 Yes

07867907                           TRX[.001555], USD[0.00], USDT[0]

07867919                           USD[307.25]

07867925                           USD[5.00]

07867926                           BTC[0], SOL[.00784329], USD[2.08]

07867937                           DOGE[1], ETH[0], ETHW[0], EUR[0.00], KSHIB[.79757104], SHIB[5], USD[10.09]                                                                                                                Yes

07867946                           AAVE[.00825], ETHW[.8527584], LTC[.00663], MATIC[6.8], SOL[.00601799], TRX[.000001], USD[1.18], USDT[2.8964]

07867952                           USD[0.00]                                                                                                                                                                                 Yes

07867955                           USD[10.28]                                                                                                                                                                                Yes

07867957                           CUSDT[2], DOGE[147.64466556], GRT[41.81631806], USD[0.00]                                                                                                                                 Yes

07867960                           AUD[0.00], BTC[0.02722967], ETH[0.17197716], ETHW[0], NFT (290557218905705216/SolBunnies #980)[1], NFT (309965994790118704/Trippy Selena)[1], NFT (312889240122799825/Steampunk
                                   Series. 6/25 Total NFTs #2)[1], NFT (325943024274070464/SolBunnies #2802)[1], NFT (352800710893530830/Steampunk Series. 8/25 Total NFTs)[1], NFT (361747506133206984/ Mountain Series,
                                   "Magic Mountain" )[1], NFT (388290942660854766/Criptoelka iberd@)[1], NFT (395223555424024571/The War Machine #08 )[1], NFT (405029812158422068/Trippy Tyler #2)[1], NFT
                                   (416014281740517668/Trippy Tyler)[1], NFT (421008215261989429/Exclusive Series "Robot Ninja")[1], NFT (429589916335472671/SolBunnies #905)[1], NFT (431745752172954169/Exclusive Series
                                   "The Summoning")[1], NFT (437795463528283615/G12 3.75/4 -+Sel ++Koa +Sul)[1], NFT (440744440929078257/ Mountain Series, "Mountains in the Sky" )[1], NFT (452971595404476850/Trippy
                                   Tommy H.)[1], NFT (500216718282402928/Steampunk Series. 7/25 Total NFTs)[1], NFT (500293259213614712/Steampunk Series. 6/25 Total NFTs)[1], NFT (510606756217866401/Exclusive Series
                                   "Life in Colour")[1], NFT (513624775005234528/Trippy Juice )[1], NFT (526434228774665457/Steampunk Series. 2/25 Total NFTs)[1], NFT (539578204567018568/Trippy XXXTentacion )[1], NFT
                                   (555608684882606639/Draconian Overlord #07)[1], NFT (556406557980520780/Baseball Coin #3)[1], NFT (557190743820123532/crypto tree//)[1], SHIB[0], SOL[1.11237148], USD[1.42]

07867963                           USD[0.00]                                                                                                                                                                                 Yes

07867973                           BTC[.00000006], USD[8.75]                                                                                                                                                                 Yes

07867988                           TRX[1], USD[0.00]

07867991                           USD[1.64]                                                                                                                                                                                 Yes

07867995                           TRX[1176.535605]

07868001                           BF_POINT[300], BRZ[1], CUSDT[1], ETH[0], GRT[1], MATIC[.00567147], TRX[4], USD[0.00], USDT[2.17116854]                                                                                    Yes

07868006                           ETH[0], NFT (307143099966962769/Entrance Voucher #4151)[1], USD[0.00]

07868015                           BTC[0], ETH[0], SOL[0], USD[0.49], USDT[0.00779041]

07868034                           SOL[0.16730465], USD[1.68]

07868040                           USD[19.38]

07868047                           LINK[1.04944827], NFT (494372510574675469/FTX - Off The Grid Miami #7293)[1], USD[0.00]                                                                                                   Yes

07868067                           TRX[.000001], USD[0.00], USDT[0]

07868090                           CUSDT[1], USDT[0]

07868105                           BTC[0.00001723], ETH[.00007888], ETHW[0.00007887], USD[0.00], USDT[1.37755]

07868113                           ALGO[0], BRZ[5.40137371], BTC[0.21165002], DOGE[7.48983002], EUR[9.99], GRT[2544.34821832], HKD[0.00], LINK[3.36530969], NFT (370236809908432202/3D SOLDIER #1606)[1], NFT                Yes
                                   (371526996554906895/Momentum #521)[1], NFT (453161708134736181/3D SOLDIER #1541)[1], NFT (522062525823798579/Momentum #708)[1], NFT (523402563905423172/Momentum #747)[1],
                                   NFT (559670985308923470/Momentum #476)[1], SHIB[1858674.08470639], SOL[0.00001422], SUSHI[0], TRX[0.00000502], USD[0.00]
07868114                           SHIB[1], USD[0.00]                                                                                                                                                                        Yes

07868127                           USD[0.00]

07868136                           NFT (560061822235977588/Golden bone pass)[1]
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                                                                                                                                            Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07868141                              ETH[0], SOL[0.00000462], USD[0.00], USDT[0.03104812]

07868161                              USD[0.00]                                                                                                                                                                                  Yes

07868185                              ETH[0], SOL[0], USD[0.00]

07868188                              USD[500.01]

07868193                              AVAX[51.68597575], BRZ[2], BTC[0], CUSDT[58.79544742], DOGE[9.01060952], ETHW[.16221396], LTC[.00003694], MATIC[197.7378404], SHIB[10502742.64448023], TRX[10], USD[201.00]                Yes

07868194       Contingent, Disputed   NFT (511126375060520371/6662)[1]

07868206                              NFT (436781728923418280/Microphone #3375)[1]

07868210                              ETH[0], ETHW[0], TRX[.000002], USD[2.51], USDT[0]

07868214                              BTC[.0001], NFT (390009281418119880/Synthetic Generation #1073)[1], USD[0.00]

07868237                              USD[20.00]

07868248                              BTC[.00031396]

07868256                              USD[0.00]                                                                                                                                                                                  Yes

07868276                              ETH[0], USD[0.00]

07868283                              NFT (354401990395121762/Refined Earth Crystal)[1], NFT (377551503615236154/Refined Metal Crystal)[1], NFT (386724887285469469/Refined Earth Crystal)[1], NFT (488260514284099027/Refined
                                      Metal Crystal)[1], USD[0.84]
07868307                              BTC[0], LTC[0], SOL[0.00000001], USD[0.00]

07868342       Contingent, Disputed   SOL[.02]

07868343                              ETH[0], NFT (396673203328833647/Bahrain Ticket Stub #447)[1], NFT (515374447400441492/Tulip Essentials #15)[1], SOL[0], USD[0.00], USDT[0.00000039]

07868361                              USD[0.77]

07868372                              USD[1.05]

07868396                              AAVE[.00015133], BAT[23.59068616], BRZ[29.88410836], DOGE[108258.6502181], ETHW[.00521999], GRT[4], SHIB[36], SOL[.00018775], SUSHI[.03068664], TRX[71.17236665], USD[0.00],               Yes
                                      USDT[3.02875029]
07868397                              ETH[.09705562], ETHW[.09616329], SHIB[1], SOL[3.38687154], TRX[1], USD[5669.53]                                                                                                            Yes

07868421                              SOL[.12871], USD[1.01]

07868432                              USD[10.93]                                                                                                                                                                                 Yes

07868433                              BTC[0.00003553], USD[3.73]

07868435                              USD[0.01]                                                                                                                                                                                  Yes

07868452                              USD[0.00]

07868462                              DOGE[2], ETH[.11207902], ETHW[.11096692], LTC[.79484201], TRX[1], USD[95.66]                                                                                                               Yes

07868463                              BTC[.00229799], LINK[2.84737323], TRX[1], USD[0.00]                                                                                                                                        Yes

07868469                              SOL[0]

07868479                              ETH[.01635559], ETHW[0.01615038]                                                                                                                                                           Yes

07868496                              BTC[.0003199], CUSDT[1], USD[0.00]                                                                                                                                                         Yes

07868503                              DOGE[65], SHIB[299715], USD[0.08]

07868506                              USD[8.54]

07868509                              DOGE[2], NEAR[39.74966188], SHIB[3], USD[0.00]                                                                                                                                             Yes

07868510                              BTC[.0000041], USD[0.60], YFI[.00000802]                                                                                                                                                   Yes

07868514       Contingent, Disputed   ETH[0], ETHW[0], SOL[0], USD[0.00]

07868517                              NFT (298356783795954060/Red Panda #5211)[1], NFT (325886814548010904/Wheels of Time)[1], NFT (372867364625991098/Happy snake)[1], NFT (387911795320760569/Paraíso #2)[1], NFT
                                      (400870520809065330/Love is the center of everything)[1], NFT (418985096563215416/SolanaDoge #3832)[1], NFT (420406796624533599/Starry Night)[1], NFT (421853009277411270/Paraíso)[1],
                                      NFT (531428363117755555/Hope in times of uncertainty)[1], NFT (542678577706509225/A hard day at school)[1], NFT (560961436219973988/My first love)[1], SOL[.17011479]

07868519                              NFT (471352740572274599/SALT New York 2022 #17)[1]                                                                                                                                         Yes

07868522                              USDT[2.1131767]

07868527                              DOGE[0], ETH[0], LTC[0], SOL[0], USD[0.01], USDT[0]                                                                                                                                        Yes

07868529                              USD[0.00]

07868531                              BTC[0.00002396], LINK[.06655013], USD[0.42]

07868533                              ETH[.22064062], ETHW[.22064062], SHIB[19751726.84790908], USD[0.00]

07868536                              ETHW[.00000916], SHIB[2], USD[0.00]                                                                                                                                                        Yes

07868537                              BTC[0], ETH[.018], ETHW[.018], SUSHI[.488], USD[0.00], USDT[14.2932924]

07868544       Contingent, Disputed   ETH[.00000001], USD[0.00], USDT[0]

07868548                              USD[0.00]

07868557                              USD[0.00], USDT[16.01428074]

07868558                              USD[0.00]

07868577                              DOGE[1], SOL[2.29087223], USD[0.00]                                                                                                                                                        Yes

07868579                              CUSDT[3], ETH[0], TRX[1], USD[0.00]

07868587                              USD[0.00]

07868591                              CUSDT[1], TRX[.12173504], USD[0.01]                                                                                                                                                        Yes

07868592                              CUSDT[1], USD[0.00]

07868597                              BRZ[1], CUSDT[1], USD[0.01]                                                                                                                                                                Yes

07868604                              ETH[0], SOL[0], TRX[.000001], USD[0.00], USDT[0.00000001]
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                                                                                                                                           Customer Claims                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or       Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07868605      Contingent, Disputed   UNI[26.86455632]

07868624                             SOL[.23071097], TRX[2], USD[0.00], USDT[293.48025524]                                                                                                                  Yes

07868629                             AVAX[.52772246], BTC[.0090118], ETH[.12564671], ETHW[.12564671], LINK[2.88947635], SOL[.96513957], USD[702.00]

07868635                             ETH[.00000001], NFT (547479269758483074/2974 Floyd Norman - OKC 6-0021)[1], USD[0.00]

07868638                             SHIB[2.00523391], USD[0.01]                                                                                                                                            Yes

07868646                             BTC[.00032564], ETH[.01655924], ETHW[0.01655923], LTC[0], TRX[.000001], USD[0.00], USDT[0]

07868663                             NFT (360790272779595999/Pesky Crystal)[1], NFT (563939388648953428/Entrance Voucher #2607)[1], USD[1.62]

07868665                             SOL[5]

07868671                             BTC[.06623596], CUSDT[16], ETH[.07741262], ETHW[.0764534], USD[0.41]                                                                                                   Yes

07868673                             CUSDT[1], DOGE[798.42046285], SHIB[1634500.27233395], TRX[1], USD[0.00]                                                                                                Yes

07868680                             NFT (298743533849420642/Junkmail#770)[1], USD[0.52]

07868681                             AAVE[.005], AVAX[.2074], BTC[.00007832], ETH[.000541], ETHW[.000541], GRT[.76], LINK[.0072], SOL[.00095], USD[0.01], USDT[0]

07868682                             BTC[0], ETHW[.072927], USD[0.22], WBTC[0]

07868685                             SOL[1.4325]

07868689                             ETH[.00188812], ETHW[.00186076], USD[0.00]                                                                                                                             Yes

07868691                             DOGE[115.71001794], SHIB[303090.82208586], USD[75.35]                                                                                                                  Yes

07868693                             LTC[.008], SOL[0], TRX[.000003], USD[0.00], USDT[0.33268795]

07868696                             USD[20.00]

07868705                             SOL[0], USD[0.00]

07868709                             SOL[6.43471397], USD[0.05]

07868716                             USD[0.00], USDT[0.00000580]

07868731                             USD[0.27], USDT[0.00000021]

07868742                             SOL[.01819315], USD[0.00]

07868753                             USD[1296.07], USDT[0]

07868764                             BTC[0], SOL[0.07000000], USD[2.15]

07868768                             USD[0.01]                                                                                                                                                              Yes

07868775                             BRZ[3], CUSDT[20], DOGE[7.06944751], SHIB[7], TRX[1], USD[0.00]                                                                                                        Yes

07868777                             BTC[0], SHIB[100000], USD[0.43], USDT[0]

07868778                             USD[0.02]                                                                                                                                                              Yes

07868788                             DOGE[2], SOL[7.09894292], USD[0.13]                                                                                                                                    Yes

07868803                             NFT (474546221994840421/FTX - Off The Grid Miami #1347)[1]                                                                                                             Yes

07868811                             NFT (412420526045754074/Entrance Voucher #4346)[1], USD[1.37]

07868814                             USD[1000.00]

07868819                             USDT[99]

07868820                             SOL[.00000001], USD[0.77]

07868826                             BTC[0.00201239], ETH[0.00351784], ETHW[0.00351782], SOL[3.81339212], USD[1483.82]

07868828                             SOL[.00000001], USD[0.00]

07868841                             BTC[.000046], USD[0.00]

07868847                             ETH[.01889543], ETHW[.01889543], SOL[11.32], USD[0.00]

07868854                             USD[10.93]                                                                                                                                                             Yes

07868858                             ETHW[.25], SOL[.00906], USD[0.01], WBTC[0]

07868860                             USD[0.01]

07868861                             GRT[1], MATIC[319.79485391], USD[0.00]                                                                                                                                 Yes

07868868                             SOL[5.45037313]                                                                                                                                                        Yes

07868873                             USD[0.00]

07868879                             NFT (444126941605650978/Coachella x FTX Weekend 1 #26508)[1]

07868883                             ETHW[.41966585]                                                                                                                                                        Yes

07868894                             SOL[.00000001], USD[0.00]

07868895                             UNI[.1304], USD[9.04], USDT[0]

07868903                             BRZ[2], BTC[0], CUSDT[1], MATIC[0], SOL[0], TRX[2], USD[0.00], USDT[1.09105056]                                                                                        Yes

07868904                             BTC[.01237287], USD[0.00]                                                                                                                                              Yes

07868905                             ETH[0], NFT (514433861457633985/655)[1], NFT (526587004944919087/383)[1]

07868906                             USD[0.00]

07868913                             BRZ[1], CUSDT[4], USD[0.01]                                                                                                                                            Yes

07868915                             CUSDT[1], ETH[.03702642], SHIB[1], SOL[.62835772], USD[0.00]                                                                                                           Yes

07868918                             ETH[.00000001], EUR[0.00], SOL[0], USD[0.87]

07868930                             ETH[0.80028227], ETHW[0], MATIC[0], NFT (403843933823773948/Mech #765)[1], NFT (461739081434046994/Ape MAN#138)[1], NFT (489363889791163108/Ape MAN#46#8/10)[1], NFT   Yes
                                     (493839899761742551/Momentum #105)[1], NFT (500722925125778263/Ape MAN#140)[1], SOL[0.00000002], USD[0.00], USDT[0]
07868936                             BRZ[2], CUSDT[2], DOGE[3], ETH[0], GRT[1], SOL[0], TRX[6], USDT[1]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07868947                              SOL[.00618001], TRX[.000001]

07868961                              NFT (309699602022212851/Exiled Alien #314)[1], NFT (348664255151056720/Exiled Alien #51)[1], NFT (396484010667896447/Exiled Alien #116)[1], NFT (443833316435882901/Exiled Alien #429)[1],
                                      NFT (448172644947909720/Exiled Alien #123)[1], NFT (452826724682420727/Exiled Alien #715)[1], NFT (454031176136368671/Exiled Alien #440)[1], NFT (528537908500933013/Exiled Alien #896)[1],
                                      NFT (560741217448455219/Exiled Alien #52)[1], SOL[3.00510507], USD[0.00]
07868974                              SOL[0], USD[1.09]

07868975                              BAT[1.01395788], BRZ[3], BTC[.09318751], CUSDT[12], DOGE[4], ETH[1.57360004], ETHW[1.57293904], GRT[3.03796157], MATIC[.00434177], SOL[66.60123432], SUSHI[1.08171817], TRX[6],               Yes
                                      UNI[1.07044188], USD[0.00], USDT[1.08619274]
07868978                              BTC[.00000387], DOGE[1], USD[0.70]

07868983                              AAVE[.22259674], BAT[81.18208517], BCH[.03665131], BRZ[253.1879357], BTC[.01441443], CUSDT[2487.07225535], DAI[23.8339463], DOGE[257.05175714], ETH[.12843342], ETHW[.10449885],              Yes
                                      GRT[86.28468152], KSHIB[1671.77270313], LINK[2.25855782], LTC[.41309312], MATIC[45.60651224], MKR[.02139257], PAXG[.03106851], SHIB[5316221.85973101], SOL[.62949758],
                                      SUSHI[5.73615034], TRX[1401.1269575], UNI[1.15542777], USD[10.54], USDT[11.92927329], YFI[.00541632]
07868989                              USD[6.11]

07868990                              MATIC[79.98], USD[5.89]

07868994                              SHIB[389363837.63707222], SOL[52.75751084]                                                                                                                                                    Yes

07868996                              SHIB[15082], SOL[-0.08843894], USD[114144.88]

07869003                              ETH[0], NFT (519624626827015431/FTX - Off The Grid Miami #1042)[1], NFT (526879392695696469/Entrance Voucher #4340)[1], NFT (527790130191077208/Galaxies)[1], USD[0.00]

07869004                              USD[1.48]

07869005                              CUSDT[1], DOGE[247.44803153], TRX[228.99521133], USD[32.80]                                                                                                                                   Yes

07869007                              ETH[.00075], ETHW[.00075], MATIC[1], SOL[0], USD[0.53], USDT[0]

07869013                              CUSDT[0], DOGE[0], ETH[0], LINK[0], SHIB[203174.79148002], USD[0.00]                                                                                                                          Yes

07869018                              ETH[0], SOL[.00000001], USD[0.00]

07869022                              USD[20.00]

07869035                              BTC[0.03891160], LINK[17.98387118], LTC[.00286779], SOL[.0061], TRX[.000001], USDT[1.71908816]

07869036                              ETH[0], ETHW[0], SOL[0], USD[0.59]

07869045                              ETH[0], LINK[.0608], USD[1.36]

07869049                              SOL[.00000033], USD[0.00]

07869053                              USD[0.00]

07869054                              USD[10.79]                                                                                                                                                                                    Yes

07869055                              BTC[0], ETH[0], KSHIB[0], SHIB[0], SOL[0], USD[0.00], USDT[0]                                                                                                                                 Yes

07869056                              SUSHI[0]                                                                                                                                                                                      Yes

07869057                              DAI[0], ETH[0], SOL[0], USD[4.98], USDT[20.20131775]

07869078                              BTC[0], SOL[0], USD[0.00]

07869081                              BRZ[1], ETH[.00000363], ETHW[.39693659], USD[0.00], USDT[0.00002886]

07869085                              USD[546.00]                                                                                                                                                                                   Yes

07869102                              XRP[9.995]

07869106                              NFT (428343697175553103/Miami Ticket Stub #559)[1]

07869111                              USD[0.00]

07869112                              ETHW[.02908884], TRX[2231.79925572], USD[0.00]

07869123                              SHIB[1716483.41369364], USD[134.14], USDT[0]                                                                                                                                                  Yes

07869128       Contingent, Disputed   TRX[.000001], USDT[0.00000055]

07869131       Contingent, Disputed   SOL[.2]

07869132                              DOGE[2], SHIB[17], TRX[1], USD[0.00]

07869135                              NFT (289691084847601074/Hall of Fantasy League #240)[1]

07869148                              ETH[0]

07869162                              USD[0.00]

07869165                              NFT (498868681417759726/Coachella x FTX Weekend 2 #11230)[1]

07869168                              ETH[.000911], USD[0.00], USDT[0]

07869169                              USD[1750.00]

07869170                              SOL[.00571638], USD[0.00]                                                                                                                                                                     Yes

07869176                              ETHW[.000672], USD[0.05]

07869181                              USD[1.17]

07869187                              DOGE[228.81364716], SHIB[1], USD[0.00]                                                                                                                                                        Yes

07869189                              BRZ[1], CUSDT[5], ETH[.01222816], ETHW[.01207768], TRX[3], USD[0.00]                                                                                                                          Yes

07869207                              SOL[0]

07869212                              SOL[.00031571], USD[0.26]

07869213                              AVAX[.00004335], BAT[3.02876422], BRZ[5], BTC[0.00002052], DOGE[8.00623452], ETH[.00001546], ETHW[1.69333808], GRT[2], SHIB[8], SOL[.00029158], SUSHI[1.01979212], TRX[15],                   Yes
                                      USD[528.84], USDT[2.08152877]
07869217                              ETH[.413], ETHW[.413], USD[2.37]

07869220                              BTC[0], SHIB[167882.03151043], USD[0.08], USDT[0]                                                                                                                                             Yes

07869228                              SHIB[165.97519246]                                                                                                                                                                            Yes

07869236                              BTC[.09834069]                                                                                                                                                                                Yes

07869240                              ETH[.227], ETHW[.227], USD[1.26]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07869242                              TRX[1], USDT[0]

07869249                              ETH[0.00499500], ETHW[0.00499500], SOL[0.00500000], USD[1.71], USDT[.00229256]

07869250                              CUSDT[3], SOL[0], TRX[1], USD[0.00]

07869264                              USD[0.00], USDT[140]

07869266                              USD[1.13]

07869276                              BTC[0], SOL[0], USD[1.92]

07869282                              USD[0.00]

07869291                              BCH[.00000051], BTC[.00001594], CUSDT[0.19386099], DAI[0], ETH[0], GRT[0], TRX[0], USD[0.00], USDT[0]

07869301       Contingent, Disputed   USD[0.00]

07869304                              BAT[21.96755673], DOGE[1], SHIB[1], USD[19.26]

07869309                              DOGE[59.67276404], SOL[.5016028], TRX[1], USD[0.00]                                                                                                                              Yes

07869311                              SOL[.00000001]

07869315                              BTC[0], CUSDT[1], USD[0.00], USDT[0]                                                                                                                                             Yes

07869321                              BTC[.117882], LINK[19.05255988], SOL[11.59839], USD[0.61]

07869323                              SOL[6.16490237]                                                                                                                                                                  Yes

07869324                              BTC[.00000059]                                                                                                                                                                   Yes

07869326                              SHIB[1], USD[165.81]

07869327                              BRZ[1], CUSDT[9], DOGE[9.06624513], ETH[0], SHIB[1], TRX[4], USD[0.00], USDT[0]                                                                                                  Yes

07869332                              BCH[0], ETH[0], SUSHI[0], TRX[2.81117564], USD[0.01]                                                                                                                             Yes

07869335                              USD[23.35]

07869340                              LINK[.0969], USD[0.00]

07869346                              MXN[12.21], USD[0.72]

07869350                              SOL[.0197406], USD[25.92]

07869356                              AVAX[.0975], GRT[1.39986666], SOL[8.95734701], TRX[.344], USD[11.05], USDT[0]

07869365                              BTC[0], MATIC[0], SHIB[0], USD[0.00]                                                                                                                                             Yes

07869383                              USD[0.21]

07869385                              CUSDT[3], USD[0.00]                                                                                                                                                              Yes

07869386                              NFT (502648101927463146/Warriors 75th Anniversary Icon Edition Diamond #774)[1]

07869388                              BCH[.00028517], SHIB[108791300], USD[2.61]

07869389                              BAT[1.0165555], CUSDT[2], DOGE[2], SOL[1.58987029], TRX[1], USD[0.00]                                                                                                            Yes

07869390                              TRX[.015902], USD[0.87]

07869399                              SOL[3.34139161], USD[0.00]

07869402                              BF_POINT[300], BRZ[1], DOGE[1], GRT[1], SOL[3.45905763], TRX[1], USD[1066.42], USDT[0.00000001]                                                                                  Yes

07869413                              AVAX[0], BTC[0], SOL[0.00091803], UNI[.2], USD[0.32]

07869428                              BAT[1], GRT[1], USD[0.00]                                                                                                                                                        Yes

07869446                              BTC[0.01791376], ETH[.241724], ETHW[.241724], GRT[54.982], LTC[.1], SOL[19.01062359], SUSHI[.499], TRX[.442], USD[1.23]

07869453                              AVAX[.48088621], BAT[38.60777468], BCH[.17046183], BTC[.00296089], CUSDT[558.68876239], DOGE[48.62344599], GRT[134.94939532], LTC[.60122128], SHIB[1096954.89558686],            Yes
                                      SOL[1.01560898], SUSHI[32.27031192], TRX[561.01375065], USD[52.94]
07869458                              NEAR[0], USD[0.00], USDT[0.00000001]

07869460                              USDT[50]

07869465                              SUSHI[.07718114], TRX[337.424404], USD[21.38]

07869473                              AAVE[0], BAT[0], BCH[0], BTC[0], CUSDT[0], DAI[.00001364], DOGE[17.92536661], ETH[0.01618817], ETHW[0.01598297], MATIC[31.35685115], NEAR[0], PAXG[0.00000010],                  Yes
                                      SHIB[339621.90173477], SOL[0], TRX[1], USD[31.72], USDT[18.29902821], YFI[.00180122]
07869483                              BCH[0], ETH[0.00440557], ETHW[0.00440557], TRX[0], USD[0.00]

07869485                              SOL[.15], USD[0.43]

07869508                              CUSDT[4], DOGE[163.47157505], ETH[0], TRX[1], UNI[2.17204594], USD[0.00]                                                                                                         Yes

07869512                              USD[0.64]                                                                                                                                                                        Yes

07869516                              MATIC[735.264], USD[4.95]

07869517                              USD[1.09]                                                                                                                                                                        Yes

07869518                              BRZ[1], DOGE[1], TRX[1], USD[0.00]                                                                                                                                               Yes

07869526                              ETH[0], SHIB[0.00000002], USD[0.00], USDT[0]                                                                                                                                     Yes

07869534                              BTC[0.51006775], DOGE[4471], ETH[1.49905605], ETHW[1.00000605], LINK[.07815625], SOL[.008], USD[12.46], USDT[3680.8019013]

07869535                              USD[109.26]                                                                                                                                                                      Yes

07869537                              BTC[0.00004274]

07869549                              ETHW[1.19238633], USD[768.97]

07869550                              NFT (471673491166769690/Montreal Ticket Stub #265)[1], NFT (549861656773748660/Austria Ticket Stub #247)[1], USD[205.04], USDT[0]

07869551                              ETH[.00083824], ETHW[.00083824], NFT (375380575720716304/Aku World Avatar #65)[1], NFT (461308058795012248/Daemonhorns)[1], NFT (508047726633372628/Entrance Voucher #3829)[1]

07869575                              DOGE[165.3294116], SHIB[287903.82160618], USD[23.67]                                                                                                                             Yes

07869590                              USD[0.00]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07869591                              BTC[0], USD[0.38]                                                                                                                                Yes

07869606                              BTC[.00028636], CUSDT[2], DOGE[44.56631706], ETH[.00177153], ETHW[.00174417], LTC[.06231294], SHIB[201638.71661781], SOL[.06772539], USD[2.00]   Yes

07869608                              USD[10.00]

07869610                              CUSDT[1], GRT[46.87184907], SHIB[6079486.8366653], USD[0.00]                                                                                     Yes

07869613                              DOGE[0], USD[2.95], USDT[0]

07869614                              USD[0.00]

07869616                              ETH[.00076892], USD[0.00], USDT[0]

07869624                              BTC[.0096], USD[2.99]

07869626                              SOL[0]

07869627                              DOGE[1], SOL[2.43799296], USD[0.00]                                                                                                              Yes

07869629                              USD[218.52]                                                                                                                                      Yes

07869636                              NFT (382369103447399960/Serum Surfers X Crypto Bahamas #68)[1]

07869640       Contingent, Disputed   USD[1.69]

07869641                              AVAX[.00009026], GRT[1], SHIB[1], SOL[.00015144], TRX[3], USD[0.00]                                                                              Yes

07869649       Contingent, Disputed   LTC[0], SOL[0], USD[0.00], USDT[0]

07869654                              USD[0.31]

07869668                              BAT[1.0165555], BRZ[1], BTC[.00897934], CUSDT[1], USD[0.00]                                                                                      Yes

07869670                              USD[1.99]

07869674                              USD[0.00]

07869678                              USD[219.86]

07869684                              CUSDT[1], USD[0.01]                                                                                                                              Yes

07869689                              ETH[0], SOL[0], USD[0.00]

07869696                              SOL[1]

07869701                              USD[0.40]

07869706                              SOL[.00057784], USD[0.00]

07869708                              CUSDT[10], SOL[.00000001], TRX[2], USD[0.00]                                                                                                     Yes

07869713                              ETH[0], LTC[0], MATIC[0], SOL[0]

07869714                              NFT (379367348020227093/Entrance Voucher #2137)[1], SOL[0], USD[0.25]

07869723                              SHIB[8033444.55451835], TRX[1], USD[3.11]                                                                                                        Yes

07869727                              BTC[0], USD[0.00], USDT[1.6668078]

07869729                              SOL[51.1286303]                                                                                                                                  Yes

07869734                              DOGE[0], SOL[0], USD[0.00], USDT[0.01535113]

07869741                              USD[0.00]

07869745                              USD[21.51]                                                                                                                                       Yes

07869759                              PAXG[0], USD[0.01], USDT[0.00000001]

07869761                              DOGE[.125], USD[0.00]

07869765                              BTC[0.77472989], USD[4.45]

07869767                              NFT (420656886026657304/Marcus Allen's Playbook: Los Angeles Raiders vs. Washington - January 22, 1984 #96)[1], SOL[0], USD[235.47], USDT[0]     Yes

07869770                              USD[0.00]

07869777                              BRZ[1], TRX[1], USD[0.01]

07869779                              XRP[2307.193235]

07869780                              BRZ[12.01486033], CUSDT[1], KSHIB[207.13166911], USD[0.00], ZAR[15.12]                                                                           Yes

07869799                              SOL[0]

07869814                              BF_POINT[200], USD[0.00]                                                                                                                         Yes

07869815                              CUSDT[1.20640169], DOGE[3], GRT[1], USD[0.00]                                                                                                    Yes

07869832                              BTC[.00182713]

07869836                              SOL[3.15542764]                                                                                                                                  Yes

07869837                              DOGE[4.62043796]

07869845                              BRZ[2], ETH[1.46362443], ETHW[1.46300976], SOL[13.09541654], TRX[1], USD[1054.53]                                                                Yes

07869849                              DOGE[1], ETH[.06346099], ETHW[.06267264], USD[0.00]                                                                                              Yes

07869850                              USD[100.00]

07869851                              AVAX[.00034576], ETH[0], USD[0.04], USDT[0.00000018]

07869858                              SOL[155.56777886], USD[3.98]

07869863                              CUSDT[3], SOL[2.67453943], USD[0.00]

07869867                              DOGE[0], SHIB[0], USD[0.01]

07869884                              USD[0.00]

07869887       Contingent, Disputed   ETH[.00000187], ETHW[0.00000186], SOL[0], USD[0.00], USDT[0.00000027]

07869889                              SOL[0], USD[0.21]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07869899                              BTC[0], SOL[0], USD[0.00]

07869902                              BTC[.00000172], LINK[.68075222]                                                                                                                                                          Yes

07869905                              DOGE[1], USD[0.00]                                                                                                                                                                       Yes

07869914                              USD[0.00]

07869915                              AAVE[11.7759837], AUD[0.94], BAT[31.10953], BCH[1.8506687], BTC[0.00078177], CUSDT[.0994], DAI[.08062], DOGE[33.09409], ETH[.02860366], ETHW[.02860366], GRT[80.84286],
                                      KSHIB[354.7363], LINK[.081193], LTC[4.3030384], MATIC[5.6338], MKR[.03042677], SHIB[5722689], SOL[.9552753], SUSHI[.198185], TRX[18.2699], UNI[36.220352], USD[0.05], USDT[.79907149],
                                      WBTC[0.01808115], YFI[.01082482]
07869916                              USD[2.57]

07869922                              USD[0.23]

07869926                              USD[0.01]                                                                                                                                                                                Yes

07869937                              BAT[1.01061296], ETH[.00000001], ETHW[0], GRT[1], SHIB[1], USD[0.00]                                                                                                                     Yes

07869949                              SOL[.01177777], USD[0.00]

07869957                              BTC[0], USD[0.00]

07869967                              ETH[.00000001], ETHW[0], USD[0.01]

07869969                              BTC[.0223879], ETH[.160932], ETHW[.160932], USD[1.66]

07869970                              SHIB[17425.32252421], USD[0.00]

07870002                              DOGE[2], ETH[0], SOL[0], USDT[1]

07870026                              NFT (488236053297773912/Hunter S Thompson)[1], SOL[0.46021092]

07870027                              AUD[0.00], USD[0.00]

07870039                              AAVE[1.57802], USD[0.73]

07870052                              BTC[.08312107], ETH[.00000001], ETHW[0.79658780], USD[171.24], USDT[1060.58100696]

07870055                              USD[0.00]

07870057                              USD[0.00]

07870065       Contingent, Disputed   MATIC[.95]

07870071                              USD[0.00]

07870090                              SOL[0], USD[0.00]

07870091                              SOL[0.07184563], USD[0.00], USDT[0]

07870093                              SOL[0]

07870108                              BTC[0], USD[27.71]

07870122                              BTC[0], ETH[.00000001], NFT (552783486261471793/FTX - Off The Grid Miami #1083)[1], SOL[0], USD[0.00]

07870129                              BF_POINT[300]

07870171                              NFT (470765411843854833/Coachella x FTX Weekend 1 #22349)[1]                                                                                                                             Yes

07870195                              CUSDT[1], SUSHI[47.040741], USD[0.00]                                                                                                                                                    Yes

07870204                              BTC[2.00628679], ETH[1.84693340], ETHW[1.84693340], SOL[2.9892402], USD[0.00]

07870206                              USD[0.03]

07870211                              LINK[1.7982], SOL[.22945], USD[8.62]

07870238                              BTC[0.00004704], ETH[0], SOL[0.93328818], USD[0.31]

07870244                              DOGE[1], TRX[1], USD[0.00]                                                                                                                                                               Yes

07870266                              BAT[1.0165555], BRZ[7.48078532], CUSDT[150.45848687], DOGE[6.00076719], MATIC[.00002687], SHIB[1], TRX[.3188389], USD[0.00]                                                              Yes

07870267                              SOL[.009964], USD[6.26]

07870280                              AAVE[.00459168], MKR[.0003956], PAXG[.00107088], USD[3.23]                                                                                                                               Yes

07870291                              SOL[9.34399522]                                                                                                                                                                          Yes

07870292                              BRZ[2], DOGE[2], ETH[.00001029], ETHW[.69245291], SHIB[8], SOL[1.05211589], TRX[2], USD[679.99]                                                                                          Yes

07870298                              USD[0.01]

07870306                              DOGE[0], NFT (469401854185424354/Revealed Monke Shit Box #955)[1], SHIB[1], SOL[0.01559818], USD[0.00]

07870308                              SOL[.3]

07870318                              ETH[.00318562], ETHW[.00314458], USD[0.00]                                                                                                                                               Yes

07870323                              SOL[0]

07870329                              USD[2.38], USDT[0]

07870344                              USD[542.25]                                                                                                                                                                              Yes

07870352                              ETHW[1.20598648], USD[0.00]

07870354                              USD[18.00]

07870366       Contingent, Disputed   MATIC[0], USD[0.00]                                                                                                                                                                      Yes

07870371                              BTC[.0000629], DOGE[0.00000001], ETH[0.00024128], ETHW[0.05706685], SHIB[82204], SOL[0], TRX[1], USD[0.00], USDT[0.00001691]

07870373                              USD[13.03]

07870377                              AAVE[.62690098], BRZ[1510.81071835], CUSDT[1188.14812246], DAI[219.32574559], DOGE[6178.93492318], PAXG[.02630529], SHIB[43120892.30976539], UNI[10.89869039], USD[0.01],                Yes
                                      USDT[1.05852236], YFI[.01003636]
07870395                              NFT (352147379292748366/Entrance Voucher #8958)[1], USD[0.00], USDT[0]                                                                                                                   Yes

07870398                              USD[0.00]

07870401                              USD[0.00]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07870407                           BTC[.00116233], SHIB[1], USD[0.00]

07870409                           USD[0.00]

07870411                           USD[3.98]

07870416                           NFT (447770572165114129/Bahrain Ticket Stub #1381)[1]

07870418                           LTC[.00012243]

07870421                           USD[550.36]

07870429                           BAT[1.0091687], CUSDT[1], DOGE[2], SOL[.00064226], TRX[1], USD[10657.72], USDT[1.01820629]                                                                 Yes

07870431                           ETHW[90], SHIB[62098.46800246], SOL[0.00551000], USD[1804.83]

07870454                           USD[0.00]                                                                                                                                                  Yes

07870462                           SOL[.29916], USD[1.37]

07870463                           USDT[74.95]

07870470                           USD[0.00]

07870480                           USD[0.00]

07870481                           USD[1.00]

07870485                           USD[0.00]                                                                                                                                                  Yes

07870493                           USD[0.00]

07870500                           USD[0.01]                                                                                                                                                  Yes

07870538                           CUSDT[14], DOGE[1], TRX[3], USD[0.00], USDT[0]                                                                                                             Yes

07870541                           BAT[1], BTC[.00000298], DOGE[1], TRX[3], USD[33112.34]                                                                                                     Yes

07870550                           BAT[1.01655549], BRZ[1], CUSDT[1], DOGE[2], ETH[0], MATIC[0], TRX[5], USD[0.00], USDT[0.00372869]                                                          Yes

07870551                           USD[0.03]                                                                                                                                                  Yes

07870557                           USD[20.00]

07870562                           NFT (428076571001059775/Entrance Voucher #3129)[1], USD[0.00]

07870564                           CUSDT[1], SUSHI[46.1764858], USD[0.00]

07870565                           SOL[.00000001]

07870566                           USD[293.90]

07870569                           NFT (519268972245157681/Solninjas #1603)[1], SOL[.0197], USD[1.12]

07870572                           BTC[0], LTC[.00948], MKR[.000628], SOL[.00569001], USD[4.52]

07870573                           BRZ[1], CUSDT[4], DOGE[2], TRX[.00000893], USD[0.01]                                                                                                       Yes

07870576                           USDT[0]

07870609                           SOL[5.01498], USD[625.85]

07870619                           BTC[.0000917], SOL[.0025], USD[0.00], USDT[.952942]

07870624                           USD[0.00], USDT[.0946856]

07870632                           BAT[0], BCH[0], BTC[0], ETH[0.00000001], ETHW[0], NFT (294850527841275728/AthenaDaytona OoaK)[1], NFT (504143220087951401/AthenaDaytona OoaK #4)[1], NFT
                                   (505269879986345196/AthenaDaytona OoaK #2)[1], NFT (573795037005849942/AthenaDaytona OoaK #3)[1], SOL[0], USD[2.74]
07870633                           USD[10.82]                                                                                                                                                 Yes

07870645                           USD[0.77]

07870646                           ETHW[2.44518076], TRX[1], USD[0.00]                                                                                                                        Yes

07870649                           BAT[.98], GRT[8], LTC[.00984], SUSHI[1], TRX[22], USD[672.17]

07870655                           USD[500.01]

07870657                           USD[0.00]

07870662                           CUSDT[1269.13314573], DOGE[829.21573836], MATIC[35.65683247], SHIB[1570958.9591181], SUSHI[25.24501178], TRX[569.55185298], UNI[3.16602588], USD[0.00]     Yes

07870663                           AUD[0.00], USD[3.04], USDT[0.00000323]

07870671                           DOGE[1], SHIB[1], SUSHI[.00002065], USD[430.18]                                                                                                            Yes

07870674                           USD[0.43]

07870675                           MATIC[0], TRX[.401], USD[0.00], USDT[0.07942709]

07870681                           USD[0.00]

07870693                           USD[0.00]

07870697                           USD[0.25]

07870708                           BF_POINT[100], BTC[.00000747]                                                                                                                              Yes

07870709                           USD[11.10]                                                                                                                                                 Yes

07870712                           USD[0.00]

07870723                           USD[0.00]                                                                                                                                                  Yes

07870737                           SOL[.00007264], USD[0.00]

07870750                           BTC[.00005711], ETH[.00073387], ETHW[.00072935], LINK[.02936472], SOL[.01181063], USD[0.49], USDT[0.99470923]                                              Yes

07870759                           USD[0.15]

07870760                           BTC[.0001742]

07870768                           ETH[.00000001], SOL[0], USD[0.00]                                                                                                                          Yes

07870780                           BTC[0], MATIC[3.3251534], SOL[.00621682], USD[0.09], USDT[0]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07870783                              BAT[9.27972308], BRZ[6.14475911], BTC[.00003027], CUSDT[4], DOGE[.04501269], ETHW[71.95628078], GRT[11.37562841], MATIC[0], SHIB[22], SOL[.00000001], SUSHI[.0000815],                   Yes
                                      TRX[26.75849812], UNI[.00001889], USD[0.00], USDT[7.2467273]
07870784                              CUSDT[5], DOGE[1], MATIC[491.44462358], TRX[1], USD[0.00], USDT[1.08667529]                                                                                                              Yes

07870785                              CUSDT[12], DOGE[1], TRX[1], USD[0.01]

07870789                              DAI[.00000001], ETH[.00037143], ETHW[0.00037142], USD[96.39], USDT[0]

07870792                              SOL[.00614], USD[0.01]

07870798                              USD[10.92]                                                                                                                                                                               Yes

07870799                              NFT (384694532135330138/Botborg #4188)[1], NFT (518400097270107677/116 Autumn Street)[1], NFT (542184941063487250/108 Egion Road)[1], USD[0.00]

07870800                              NFT (549997095291731579/The Hill by FTX #3063)[1], USD[0.75]                                                                                                                             Yes

07870802                              BRZ[1], DOGE[1], LINK[9.48349309], MATIC[169.02390726], USD[0.06]                                                                                                                        Yes

07870804       Contingent, Disputed   BTC[0], ETH[0], MATIC[0], SOL[0.00000001], USD[0.01]

07870806                              ETH[2.65023771], ETHW[.06604238], SOL[.00000001], TRX[1], USD[0.12]                                                                                                                      Yes

07870824                              SOL[.09836997], USD[0.00]

07870829                              ETH[0], SOL[0], USD[0.00]

07870830                              TRX[.000001], USDT[1.0066634]

07870834                              SHIB[1], SOL[0.04000002], USD[0.12], USDT[0.00000009]

07870839                              SOL[0], USD[0.00]

07870845                              ETH[0], SOL[0], USD[0.00]

07870866                              SOL[.10005], USD[0.05]

07870880                              USD[0.00]

07870883                              BTC[.01226393]                                                                                                                                                                           Yes

07870892                              ETH[.00000504], USD[0.00]                                                                                                                                                                Yes

07870907                              MATIC[9.97], USD[41.50]

07870915                              BTC[.0029656], CUSDT[1], DOGE[1], TRX[1], USD[0.00]                                                                                                                                      Yes

07870922                              ETH[.00280413], USD[0.00], USDT[0]

07870934                              BTC[.00006074], SOL[.47259], TRX[.000001], USD[5.16], USDT[0]

07870938                              NFT (324449310632951927/Coachella x FTX Weekend 1 #6196)[1], USD[0.00]

07870958                              USD[0.00], USDT[0]

07870966                              USD[0.61]

07870967                              ETH[.00000001], ETHW[0], SOL[0], USD[0.01]

07870974                              USD[0.05]

07870998                              BRZ[1], CUSDT[1], USD[27.42]                                                                                                                                                             Yes

07870999                              USD[0.00]                                                                                                                                                                                Yes

07871002                              USD[0.00], USDT[0]

07871003                              BCH[.00475257], BTC[0.00251362], ETH[.00602834], ETHW[.00595897], LTC[.05014722], SHIB[3], SOL[.01794124], SUSHI[5.37553142], USD[0.01]                                                  Yes

07871020                              ETH[0], ETHW[0], SOL[1.86144268], USD[1.15]

07871022                              USD[100.00]

07871024                              CUSDT[1], KSHIB[12.72938997], LTC[.04841142], SHIB[12807.37704918], SOL[.31885226], TRX[10.50314811], USD[0.00]                                                                          Yes

07871028                              SOL[3.45], SUSHI[145], USD[1.08]

07871052                              SOL[.19195573]

07871057                              USD[91.59]

07871063                              SOL[.00000001]

07871065                              USD[0.00]

07871069                              CUSDT[1], DOGE[1], NFT (319574952427647589/Australia Ticket Stub #1892)[1], NFT (461019835846375679/FTX - Off The Grid Miami #7486)[1], SOL[0], TRX[1], USD[0.00]                        Yes

07871097                              SOL[1.43823177]                                                                                                                                                                          Yes

07871103                              USD[0.00]

07871111                              NFT (301581833542887914/FTX - Off The Grid Miami #1421)[1], NFT (431374417571782917/Entrance Voucher #10190)[1], NFT (538409955683136451/Saudi Arabia Ticket Stub #450)[1], USD[0.07],
                                      USDT[1]
07871122                              SOL[.00000001]

07871125                              BTC[.00000132], USD[0.00]

07871134                              DOGE[1], TRX[1], USD[0.00], USDT[0.00002987]

07871137                              SOL[1]

07871143                              LTC[.0044576], USD[0.07]

07871149                              LINK[36.2774609]

07871152                              USD[1.48]

07871160                              NFT (557900877363343727/Take it off!!)[1], NFT (559485654695630301/PuppyLover)[1], USD[8.00]

07871172                              USD[0.13]                                                                                                                                                                                Yes

07871173                              USD[78.85]                                                                                                                                                                               Yes

07871177                              BRZ[1], BTC[.2391588], DOGE[8898.07579765], ETH[3.73420813], ETHW[3.73270401], LINK[96.60334086], MATIC[294.74855226], SHIB[16849993.66595144], SOL[3.35855112], TRX[1], USD[0.00],      Yes
                                      USDT[1.0441161]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07871188                              BAT[408.87222734], LINK[26.37116258], LTC[3.01749226], PAXG[.16418653], TRX[3650.46036227], USD[459.26]

07871194                              BTC[.021863], DOGE[1], MATIC[56.04626458], SHIB[2], USD[20.13]                                                                                                                    Yes

07871202                              USD[20.00]

07871207                              BTC[0.02493956], ETH[0.58548030], ETHW[0.58548030], LTC[8.80915363], SUSHI[.00004959], USD[0.00]

07871217                              NFT (539602504558361080/Imola Ticket Stub #1459)[1], SOL[0], USD[0.04]

07871221                              BRZ[1], BTC[.00333082], CUSDT[2], SOL[.06502877], TRX[2], USD[15.24]                                                                                                              Yes

07871223                              BTC[.00000001], CUSDT[6.46491606], SHIB[11.7115027], TRX[1], USD[0.00]                                                                                                            Yes

07871233                              SHIB[3], SOL[.00002459], TRX[3], USD[0.00]                                                                                                                                        Yes

07871235                              BTC[0], DAI[0], DOGE[0], MATIC[0], NEAR[0], NFT (489366408383009507/FTX - Off The Grid Miami #3123)[1], SHIB[0], SOL[0], USD[0.00]                                                Yes

07871237                              USD[1.88]

07871238                              NFT (364718874371436190/Drawing of Kyle Carpenter)[1], NFT (368898822462043632/Girl Next Door #001)[1], NFT (400499227499931600/Merry Go Round)[1], NFT (506359431962867342/2/9
                                      #001)[1], NFT (534443858037038009/Faberge #001)[1], NFT (545832604389706280/2/9 #002)[1], SOL[0], USD[0.00]
07871240                              BTC[0], USD[2.16], USDT[0]

07871242                              DOGE[377.4544637], SHIB[2300000], USD[2.09]

07871245                              ETH[0.00602825], ETHW[.00146092], SOL[.00635], USD[0.00], USDT[0.00001081]

07871246                              BRZ[1], CUSDT[3], DOGE[1.503056], GRT[3], SHIB[1.00000001], TRX[.85740597], USD[0.28], USDT[0.04218019]                                                                           Yes

07871251                              BTC[0.00130078], CUSDT[2], USD[0.00]                                                                                                                                              Yes

07871256                              BRZ[1], TRX[1], USD[0.00], USDT[0.00000001]                                                                                                                                       Yes

07871257                              DOGE[1], USD[0.00]                                                                                                                                                                Yes

07871264       Contingent, Disputed   TRX[.000001]

07871266                              USD[0.02]                                                                                                                                                                         Yes

07871269                              USD[0.00], USDT[0]                                                                                                                                                                Yes

07871271                              AVAX[.93302843], BAT[1], BF_POINT[200], BRZ[2], BTC[0.14010865], CUSDT[1], ETH[.00000001], ETHW[1.01541261], SHIB[9], TRX[3], UNI[1.07543367], USD[500.34]                        Yes

07871292                              CUSDT[4], DOGE[2], ETH[.00000003], NFT (292190888284054561/Anime #13)[1], NFT (378687870352134099/CryptoAvatar #97)[1], NFT (455715939672108320/Anime #10)[1], NFT                Yes
                                      (531854299835009966/CryptoAvatar #90)[1], NFT (575144876219735992/FTX - Off The Grid Miami #2072)[1], SOL[0], USD[0.00]
07871306                              CUSDT[7], DOGE[804.91411994], SHIB[2539789.12366262], SOL[7.89309728], TRX[3], USD[0.04]                                                                                          Yes

07871316                              USD[0.01]                                                                                                                                                                         Yes

07871318                              SHIB[1435544.07120298], TRX[1], USD[0.00]

07871332                              BTC[0.00000002], LINK[5.34980138], SHIB[1], TRX[2], USD[0.00]                                                                                                                     Yes

07871354                              DOGE[2779.78640455], GRT[106.41265056], SOL[687.72388701], SUSHI[307.18841284], TRX[1273.31984569]                                                                                Yes

07871362                              USD[1.44]                                                                                                                                                                         Yes

07871364                              CUSDT[45.08526716], DOGE[77.15791577], SHIB[421688.21541011], TRX[449.59510563], USD[0.00]                                                                                        Yes

07871379                              SHIB[3], TRX[1], USD[6.08]

07871406                              MATIC[8.20425373], NFT (430333733640312982/It’s tee time )[1], USD[22.32]                                                                                                         Yes

07871411                              USD[0.01], USDT[0]                                                                                                                                                                Yes

07871428                              BAT[1], BF_POINT[300], DOGE[1], ETHW[3.05645611], LINK[32.10237359], SOL[20.21875419], SUSHI[341.83922848], UNI[38.36557888], USD[13383.09]

07871445                              USD[931.32], USDT[0]                                                                                                                                                              Yes

07871451                              BTC[.00080875], CUSDT[2], ETH[.01284094], ETHW[.01284094], USD[0.00]

07871452                              NFT (575445834734886669/Coachella x FTX Weekend 1 #22932)[1], USD[11.98]                                                                                                          Yes

07871463                              BTC[0], USD[0.00]

07871489                              CUSDT[1], DOGE[1], TRX[2], USD[0.01], USDT[1.08535627]                                                                                                                            Yes

07871492                              BAT[101.34174028], BTC[.00005062], CUSDT[1215.02758009], ETH[.00002359], ETHW[.00002359], SHIB[12697146.8548294], TRX[93.26468119], USD[2.45]                                     Yes

07871494                              BRZ[1], TRX[580.07387278], USD[65.55]                                                                                                                                             Yes

07871499                              ETH[4.67134738], ETHW[4.67134738], USD[15.27], USDT[0]

07871504                              SOL[1.647], USD[4.50]

07871505                              SOL[.03137086], USD[0.00]

07871509                              DOGE[2], NFT (367478374049599647/Entrance Voucher #3293)[1], TRX[1], USD[0.00]                                                                                                    Yes

07871510                              USD[1.75]

07871513                              BAT[45.98904272], BRZ[304.14462425], CUSDT[2524.77756022], DOGE[1547.96107804], GRT[45.10777992], KSHIB[2019.83081643], MATIC[17.09122687], SHIB[2184683.11084811],               Yes
                                      SUSHI[3.1265715], TRX[464.36369275], USD[217.45], USDT[54.31433171]
07871518                              BRZ[1], CUSDT[7], DOGE[1], ETH[.000219], ETHW[.000219], TRX[1], USD[0.00]

07871521                              DOGE[3], LINK[31.96247200], TRX[1], USD[0.00], USDT[0.00000914]                                                                                                                   Yes

07871529                              ETH[.0004697], ETHW[.0004697], SOL[4.55318554], USD[495.60], USDT[0.00000064]

07871536                              BTC[0], DOGE[2], ETHW[.06491099], GRT[0], LINK[0], LTC[0], MATIC[0], NFT (392386398517027579/Entrance Voucher #3010)[1], SHIB[2], SOL[0], USD[0.02], USDT[0.00017066]             Yes

07871541                              USD[25.00]

07871542                              USD[0.00]

07871549                              BAT[1.0165555], GRT[1.00367791], USD[0.00], USDT[0.00047644]                                                                                                                      Yes

07871550                              MATIC[0], USD[0.00]

07871553                              BRZ[1], BTC[.03820007], CUSDT[2], SHIB[1], TRX[2], USD[0.00]                                                                                                                      Yes

07871557                              DAI[17.48390142], USD[0.00]
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
                                                                                                  Amended Schedule 1754      Filed
                                                                                                                      Nonpriority     06/27/23
                                                                                                                                  Unsecured           Page 327 of 1384
                                                                                                                                            Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07871558                              BTC[.0248], USD[64.55], USDT[0.00028839]

07871561                              BTC[0], DOGE[10.989], SUSHI[8.5], USD[0.08]

07871581                              BRZ[2], CHF[0.02], CUSDT[3], DOGE[0.04273284], KSHIB[0], SOL[0.40688384], TRX[2], UNI[4.39778184], USD[0.00]                                                                                 Yes

07871591                              DOGE[1], SHIB[1], USD[0.00]

07871592                              NFT (290404980759790404/Baby Yoda Adventures #5 #2)[1], NFT (300348684028447164/Sun Bath )[1], NFT (300834667154509532/Character Batch)[1], NFT (300909464778099549/Solana On Wax
                                      #2 Of 5 )[1], NFT (302007359016290437/Happy Ape Watch Club )[1], NFT (304149936849930395/Lights Out 101 #2)[1], NFT (305490753736326677/Hip Hop Royalty #2 )[1], NFT
                                      (305837586600495295/Golden Hour #2of 5 )[1], NFT (306772819745919735/Furry vs Wilder #4 0f 5)[1], NFT (311983744507580872/Style #9 Of 10 )[1], NFT (313470781485858923/Dog Father On Wax
                                      #2 Of 5 )[1], NFT (318916425215749382/Elon #2 Of 5 )[1], NFT (319471341240525677/Man On The Coin Moon #1)[1], NFT (324968208259178374/Weekend Vibes #401)[1], NFT
                                      (330178252853153159/I Want My NFT #4 Of 10)[1], NFT (330305722892393590/Ethereum On Wax #2 Of 5 )[1], NFT (330811400048626235/8 #3 Of 5)[1], NFT (331330695832781072/Bit Coin On
                                      Wax #2 Of 5)[1], NFT (334573333584780956/Lake Life # 5)[1], NFT (334742964821446560/Balloon Fest #2)[1], NFT (335923710392988917/Rocked! #3 of 5 )[1], NFT (339011901749532763/Money
                                      Shot)[1], NFT (339550529384636313/Joe & Norma Jeane #2 of 5 )[1], NFT (341905852122859547/Baby Yoda Adventures #2)[1], NFT (345205888647117576/I Want My NFT #6 Of 10)[1], NFT
                                      (345969855322214841/Iron Mike #3 of 5 #2)[1], NFT (346627290219214785/24 #5 Of 5)[1], NFT (352174821705072028/FTX REMIX CONTEST)[1], NFT (354625115102707157/What Time Is It #12 Of
                                      20)[1], NFT (364804412421631827/Link On Wax #2 Of 5)[1], NFT (366034342930913693/What Time Is It #1 Of 20)[1], NFT (368076420960173785/34 #2 0f 5 )[1], NFT (368395020328741446/I Want
                                      My NFT #8 Of 10)[1], NFT (371812406067043256/On The Run #2 0f 5 )[1], NFT (382665858578347946/Money Bags )[1], NFT (383894919307963961/Bit Coin On Vinyl #2 Of 5 )[1], NFT
                                      (384963010128498307/Land Mark #1245)[1], NFT (385325751716162421/Light House #2 #2)[1], NFT (387611124854910439/Lights Out 101 #1)[1], NFT (390008012270271308/Iron Mike #3 of 5)[1],
                                      NFT (391837059748999579/I Want My NFT #3 Of 10)[1], NFT (393303449879449770/24 #4 Of 5)[1], NFT (397095157025566515/The Captain #2 of 5 )[1], NFT (397832854238496556/Furry Vs Wilder
                                      #1 of 5)[1], NFT (399132463583196020/POTUS #46 2 of 5)[1], NFT (402383828526495981/Big Snoop #2 of 5 )[1], NFT (402769809994840438/Morning Flight)[1], NFT (408797855423611348/Ducks
                                      )[1], NFT (409081914666746419/What Time Is It #9 Of 20)[1], NFT (410706927188837164/I Want My NFT #5 Of 10)[1], NFT (416711423539084056/All White )[1], NFT (417073840398868207/Sushi On
                                      Wax #2 Of 5)[1], NFT (417630438415507524/DJT #45 2 Of 5)[1], NFT (420912787993552293/Hip Hop Royalty #2 #2)[1], NFT (422314807789647741/Inspiration #2 0f 5 )[1], NFT
                                      (426840492949861178/George Herman Ruth #2 of 5 )[1], NFT (430079212787922086/1st Edition #2 0f 5 )[1], NFT (430584832875988460/Style #5 Of 10)[1], NFT (433365246676481708/2nd Edition #2
                                      of 5 )[1], NFT (436385320114397770/Lady Liberty #3 0f 5 )[1], NFT (440143292132446759/Lady Liberty #5 0f 5 )[1], NFT (442441950587748283/Baby Yoda Adventures #4 )[1], NFT
                                      (443821973788787342/Lights Out 101 #3)[1], NFT (447057815708107935/8 Vs 24 #1 of 5)[1], NFT (447577500751348194/POTUS #46 1 of 5 )[1], NFT (450657372576924386/M44 #3)[1], NFT
                                      (451963085317142551/8 Vs 24 #2 of 5)[1], NFT (455312382165633278/Dark Side of The Balloon )[1], NFT (456008770053937644/8 Vs 24 #3 of 5)[1], NFT (457390167196237633/8 #4 Of 5)[1], NFT
                                      (459252063724872425/8 #5Of 5)[1], NFT (461183055127430681/34 #3 0f 5 )[1], NFT (475461763601406809/Rousey vs Holm)[1], NFT (478421533156855071/Mining #0156)[1], NFT
                                      (480623985945940500/Doge On Wax #2 Of 5)[1], NFT (480763982951617655/Shiba On Wax #2 of 5)[1], NFT (497826944636272619/Texas Hold'em )[1], NFT (498816280022455041/Facts! #3 0f 5 )[1],
                                      NFT (498838959721009240/8 #2 Of 5)[1], NFT (500792536338251970/Baby Yoda Adventures #5 #3)[1], NFT (501382241046008840/Pancake On Wax #2 Of 5 )[1], NFT (508316953079970092/Vegas
                                      fountains )[1], NFT (510335445507942272/Yacht Club #2 )[1], NFT (511490423575365766/The Springs)[1], NFT (512528288706386542/8 #1 Of 5)[1], NFT (512610052699402768/What Time Is It #15
                                      Of 20)[1], NFT (514134686812551749/Uni On Wax #2 Of 5)[1], NFT (515122162042692280/8 Vs 24 #4 of 5)[1], NFT (516203171953610380/Facts! #4 of 5 )[1], NFT (519696125038867403/24 #2 Of 5
                                      )[1], NFT (527614853104359681/What Time Is It #13 Of 20)[1], NFT (528288257680626180/Character Batch #2)[1], NFT (532219442646394904/8 Vs 24 #5 of 5)[1], NFT (533002878085440538/34 #1 0f
                                      5 )[1], NFT (535143518454200326/Lake Life #3 )[1], NFT (535790482678768866/What Time Is It #16 Of 20)[1], NFT (539645429896236737/High Stakes #2 Of 5 )[1], NFT (543162868698180533/Lights
                                      Out 101 #4)[1], NFT (546349806958935578/Bliss)[1], NFT (546416400036226770/Yacht Club #1)[1], NFT (548745322902507892/Lady Liberty # 1 of 5 )[1], NFT (548918667153676882/24 #1 Of 5 )[1],
                                      NFT (550609082382128879/Matrix #2 Of 5 )[1], NFT (552739408995205957/Besties )[1], NFT (555859773046821945/Baby Yoda Adventures #5)[1], NFT (557360152170351892/Fly By )[1], NFT
                                      (559197255740628369/I Want My NFT #7 Of 10)[1], NFT (559440339147459062/Lake life #2)[1], NFT (559548518926619852/Golden Hour #2 of 5 #2)[1], NFT (562132975755562121/Micky Charles
                                      Mantle #2 of 5 )[1], NFT (562723195615873368/Baby Yoda Adventures #3)[1], NFT (563903236181539511/Rocked #4 0f 5 )[1], NFT (564016197042765736/I Want My NFT #2 Of 10)[1], NFT
                                      (566334082922487478/What Time Is It #8 Of 20)[1], NFT (566422099150872617/24 #3 Of 5 )[1], NFT (570700794780624166/ Water Front)[1], NFT (573303896453689594/Lady Liberty #2 0f 5 )[1],
                                      SHIB[0], USD[0.97]

07871595                              AAVE[.7735097], AVAX[1.61425799], BRZ[1], BTC[.00379168], CUSDT[22], DOGE[1233.79180109], ETH[.05966579], ETHW[.04330912], GRT[529.16614333], LINK[6.15778935], LTC[.35245133],              Yes
                                      SHIB[3055774.68930059], SOL[1.32763839], SUSHI[21.84492058], TRX[214.75448022], USD[505.13]
07871597                              CUSDT[1], ETH[.00415351], ETHW[.00409875], SHIB[215690.62990494], USD[0.00]                                                                                                                  Yes

07871602                              BTC[.1486], ETH[3.349], ETHW[3.349], SOL[6.54], USD[1.57]

07871603                              USD[10.00]

07871605                              ETH[.00000001], ETHW[0], USD[0.00], USDT[0]

07871606                              TRX[3565.158457]

07871607                              NFT (526838912562824216/Australia Ticket Stub #1791)[1]                                                                                                                                      Yes

07871609                              USD[0.00]

07871610                              USD[0.00]

07871611                              GRT[1], SHIB[2], USD[0.00], USDT[0]                                                                                                                                                          Yes

07871634                              BTC[0], DAI[0], ETH[0], LINK[4.79775], MATIC[0], SHIB[1171878.00670114], USD[0.52], USDT[0]

07871639                              SOL[.00000036], USD[0.00]

07871643                              NFT (372534257298905374/Desert Rose Ferris Wheel #276)[1], NFT (442902067555964361/Colossal Cacti #69)[1], NFT (446677071806490484/Coachella x FTX Weekend 1 #3459)[1], NFT
                                      (472965727340134279/Sun Set #567)[1], NFT (507216957962395921/Reflection '12 #89 (Redeemed))[1], NFT (508119482466556029/Vintage Sahara #37)[1], NFT (533836815663866257/Cloud Show 2
                                      #3292)[1], NFT (554143339820191980/Cosmic Creations #358)[1], NFT (568221164306687107/Spectra #421)[1], USD[1.45]
07871655                              DOGE[2], SHIB[1], USD[0.01]                                                                                                                                                           Yes

07871657                              NFT (368752321495764645/Astro Stones #70)[1], SOL[0], USD[0.00]

07871663                              BTC[.00359192], CUSDT[2], DOGE[1], SOL[.00005546], TRX[5], USD[0.00]

07871686                              BTC[.00002048], USD[82.01]

07871691                              SHIB[166770.53693185], SOL[1.12678924], TRX[1], USD[0.00]                                                                                                                                    Yes

07871696                              USD[1500.00]

07871714                              USD[60.00]

07871717                              DOGE[1], GRT[1.00128843], USD[0.00]                                                                                                                                                          Yes

07871728                              NFT (545321590124099308/Ape City #8)[1], USD[2.85]

07871747                              BTC[0], MATIC[0], USD[0.06], USDT[0]                                                                                                                                                         Yes

07871770                              BTC[.00036512], CUSDT[1], SOL[.05869223], USD[0.00]

07871777                              BTC[.00276985], NFT (546587254561164868/Bahrain Ticket Stub #915)[1]

07871781                              BTC[.00018316], USD[0.00]                                                                                                                                                                    Yes

07871806                              USD[0.00], USDT[19.88607637]

07871809                              BTC[.00827884], NFT (351573819622920929/Australia Ticket Stub #1043)[1], TRX[1], USD[0.00]                                                                                                   Yes

07871814       Contingent, Disputed   USD[45.72]                                                                                                                                                                                   Yes

07871816                              SOL[3.0062], USD[288.13]

07871824                              DOGE[6076.43647568], GRT[0], SOL[18.97659334], USD[0.00], USDT[0]                                                                                                                            Yes

07871833                              USD[0.00]
West Realm Shires Services Inc.                                                     Case 22-11068-JTD      Doc F-3:
                                                                                                Amended Schedule 1754      Filed
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                                                                                                                                          Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07871836                           DOGE[1], ETH[.15082837], ETHW[.15002226], USD[0.00]                                                                                                                                     Yes

07871852                           TRX[2097.9], USD[4.22]

07871853                           USD[85.07]

07871875                           CUSDT[1], TRX[1], USD[3.79]

07871884                           SHIB[1298700], USD[1.41]

07871888                           BAT[14.14927023], CUSDT[515.75373651], DOGE[47.36555073], GRT[15.62452556], KSHIB[90.69480065], MATIC[6.76013943], SHIB[425665.71395125], SOL[.12015263], TRX[120.56988417],            Yes
                                   USD[0.01]
07871906                           BTC[.01051107], CUSDT[4], DOGE[7.14202497], SHIB[1], USD[0.20]                                                                                                                          Yes

07871908                           NFT (316193631083333925/FTX - Off The Grid Miami #2921)[1]

07871912                           BRZ[1], BTC[.00101492], CUSDT[7], DOGE[474.14375767], ETH[.02218127], ETHW[.02218127], LINK[.80694652], MATIC[15.37655768], SHIB[1150910.62187233], SOL[.18333928], TRX[2], USD[1.04]

07871921                           CUSDT[.20442875], DOGE[1], USD[25.32]

07871939                           SHIB[2850.88824872], USD[0.00]                                                                                                                                                          Yes

07871950                           USD[9.22]                                                                                                                                                                               Yes

07871955                           BRZ[1], CUSDT[4], DOGE[224.92982496], GRT[112.82202001], LINK[3.65571046], MATIC[29.8631183], SHIB[2553788.77696242], SUSHI[5.20562328], USD[165.84]                                    Yes

07871969                           CUSDT[1], DOGE[1164.76727733], ETH[.02139208], ETHW[.02113019], SHIB[15000], TRX[1], USD[0.00]                                                                                          Yes

07871992                           CUSDT[4], SOL[0], USD[0.00]                                                                                                                                                             Yes

07872039                           CUSDT[1], SHIB[1641056.47588164], TRX[1], USD[0.00]

07872063                           BRZ[7.12344043], BTC[.01235239], DOGE[196.47361537], LTC[409.15689962], SHIB[521], TRX[39.12334301], USD[1.09], USDT[0]                                                                 Yes

07872067                           BRZ[1], BTC[.0025803], CUSDT[5], DOGE[279.19147024], ETH[.01862247], ETHW[.01838991], SHIB[709537.1055248], SOL[.34976647], USD[0.01]                                                   Yes

07872077                           DOGE[5000.509], SHIB[49970000], USD[2.70]

07872083                           USD[1.57]

07872098                           BF_POINT[200], BRZ[1], BTC[.00000002], CUSDT[6], DOGE[2], ETH[.00025899], ETHW[.00025899], SHIB[2], TRX[.01060667], USD[0.00]                                                           Yes

07872106                           BAT[.0001376], DAI[.00001975], ETH[.00000015], ETHW[.01657899], GRT[9.27202786], KSHIB[617.42160215], LTC[.0000039], SOL[.00003767], TRX[.00133342], USD[227.50], YFI[.00000001]        Yes

07872137                           ETH[.028971], ETHW[.028971], USD[0.61]

07872150                           CUSDT[1], KSHIB[892.60816893], USD[5.01]

07872153                           NFT (401890445206110257/Hall of Fantasy League #317)[1]

07872154                           TRX[50.44646088]

07872172                           BTC[.00000015], SOL[.00000001], USD[0.01]                                                                                                                                               Yes

07872200                           CUSDT[1], SOL[.32082929], TRX[116.70188164], USD[0.01]                                                                                                                                  Yes

07872202                           DOGE[510], SHIB[6300000], TRX[.862], USD[0.59]

07872203                           USD[500.00]

07872204                           SOL[0]

07872211                           CUSDT[1], ETHW[.04648908], SHIB[1], USD[72.78]

07872224                           NFT (432743390366911967/FTX - Off The Grid Miami #557)[1], NFT (468938621229149580/Australia Ticket Stub #1658)[1], USD[0.00]

07872227                           DOGE[1], LINK[1.20776671], USD[32.78]                                                                                                                                                   Yes

07872236                           BAT[1], DOGE[3], SHIB[3], TRX[3], USD[0.00], USDT[0]

07872240                           USD[1.00]

07872253                           DOGE[2], GRT[1], SHIB[5], TRX[2], USD[4.23], USDT[0]

07872257                           SHIB[3755958.46771961], USD[0.01]

07872259                           BTC[.02806827], DOGE[2630.87064139], ETH[.1670085], ETHW[.16665725], SHIB[22500533.65441006], TRX[4.00208265], USD[1538.76]                                                             Yes

07872266                           BTC[0], LINK[0], USD[0.00]

07872269                           CUSDT[1], TRX[128.6163852], USD[0.00]                                                                                                                                                   Yes

07872277                           CUSDT[2], DOGE[1354.8662053], LINK[8.15728167], USD[0.01]                                                                                                                               Yes

07872280                           BTC[.0008], ETH[.014], ETHW[.014], USD[4.63]

07872283                           USD[10.19]

07872294                           CUSDT[0], DOGE[0], SHIB[0], SOL[0], USD[0.00], USDT[0]                                                                                                                                  Yes

07872309                           BTC[.00004155], DOGE[9.82617895], ETH[.00044986], ETHW[.00044986], SHIB[53787.00608819], USD[0.00], USDT[0]                                                                             Yes

07872310                           USD[6.96]                                                                                                                                                                               Yes

07872315                           DOGE[88.49098413]

07872321                           CUSDT[1], TRX[289.39347728], USD[32.77]                                                                                                                                                 Yes

07872340                           AVAX[2.06890518], CUSDT[3], DOGE[1], SHIB[3], TRX[3], USD[35.07]                                                                                                                        Yes

07872357                           BTC[.00204306], SHIB[2], TRX[2], USD[0.00]                                                                                                                                              Yes

07872363                           DOGE[2], ETH[.00000001], MATIC[0], SOL[0], SUSHI[0], USD[0.01], USDT[1.07132332]                                                                                                        Yes

07872365                           ETH[.351129], ETHW[.351129], USD[8.24]

07872370                           DOGE[1], LINK[1.02025779], USD[0.01]                                                                                                                                                    Yes

07872371                           BAT[71.82327001], MATIC[12.97148515], SHIB[1], USD[0.00]                                                                                                                                Yes

07872381                           SOL[.01], USD[0.02]

07872389                           BTC[.00084518], CUSDT[26], DOGE[2], ETHW[.01083592], GRT[1], SHIB[627760.00602426], SOL[.06942965], TRX[3], USD[15.12]                                                                  Yes

07872402                           BRZ[214.91561677], CUSDT[2], SHIB[3], SUSHI[34.5913662], TRX[.01084891], USD[0.00]                                                                                                      Yes
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07872408                           BTC[.00000009], USD[1507.40]

07872410                           DOGE[400.84879318], USD[0.00]

07872417                           NFT (383456419357086297/Solarized Grids #4)[1], USD[0.22], USDT[.1354597]

07872424                           SOL[0]

07872429                           DOGE[1], SHIB[2], TRX[2], USD[0.01], USDT[1]

07872430                           BRZ[1], CUSDT[2], DOGE[2], ETH[0], SHIB[4], SOL[0], TRX[2], USD[0.00]                                                                                                              Yes

07872437                           USD[0.00]                                                                                                                                                                          Yes

07872442                           BAT[1], BRZ[7.32810946], CUSDT[9], DOGE[1], ETHW[4.15400447], GRT[2622.91578214], LINK[2.49789799], SHIB[7789833.04984194], SOL[1.15956854], TRX[33.07860444], USD[6497.54],       Yes
                                   USDT[2.09764218]
07872454                           SOL[0], USD[0.00]

07872455                           BRZ[1], DOGE[4.00098642], ETH[0], LINK[0], MATIC[0], TRX[4], USD[0.00], USDT[2.16149008]                                                                                           Yes

07872457                           BTC[0], DOGE[28], ETH[0], ETHW[0], SOL[0], USD[0.03], USDT[0]

07872460                           CUSDT[2], DOGE[1], ETH[.00411176], ETHW[.01225467], SHIB[390288.39908976], USD[0.00]                                                                                               Yes

07872461                           BAT[3.01579143], BRZ[5], DOGE[12.02449831], ETH[0.00000443], ETHW[3.82550423], GRT[4.02948535], LTC[.00000399], SHIB[3], SOL[0.00172026], TRX[9], USD[6132.13], USDT[1.05026515]   Yes

07872465                           BTC[.00954089], TRX[2], USD[0.00]                                                                                                                                                  Yes

07872470                           SOL[6.06], USD[41.57]

07872471                           SHIB[1814583.00735409], USD[0.00]

07872486                           USD[0.01]                                                                                                                                                                          Yes

07872487                           USD[0.00]

07872491                           BRZ[1], CUSDT[2], TRX[1], USD[0.01]                                                                                                                                                Yes

07872503                           CUSDT[1], USD[91.13]

07872508                           AAVE[0], UNI[.00000001], USD[0.00], USDT[0]                                                                                                                                        Yes

07872512                           AVAX[1.56256664], BTC[.00941019], ETH[.14675281], ETHW[.14675281], SOL[8.62070517], USD[0.00]

07872527                           LTC[.00356657]

07872529                           ETHW[.2935364], USD[0.17], USDT[0]                                                                                                                                                 Yes

07872533                           USD[10.00]

07872541                           BTC[.001], ETH[.012], ETHW[.012], KSHIB[3130], SHIB[9290700], SOL[3.20679], USD[8.76]

07872546                           BAT[2], BRZ[1], BTC[.04350795], CUSDT[5], DOGE[3], ETH[.57526392], ETHW[.57526392], SHIB[8], TRX[1], USD[0.00]

07872555                           TRX[.000001], USD[0.00], USDT[0]

07872556                           BF_POINT[100], BTC[.00016556], CUSDT[1], SHIB[657540.49838547], TRX[1], USD[0.00]                                                                                                  Yes

07872566                           BAT[0], BTC[0.00031807], DOGE[406.83694356], ETH[.06], ETHW[.06], GRT[0], MATIC[826.37760102], SHIB[2099900], SOL[6.93104919], SUSHI[120.28199461], USD[0.97]

07872568                           ETH[0], SOL[0], USD[0.64]

07872574                           SOL[.00000001]

07872585                           SOL[0]

07872590                           ETHW[2.33690204], USD[6023.10]

07872598                           SOL[1.93], USD[502.25]

07872601                           CUSDT[3], ETH[.00000021], ETHW[.00000021], SOL[.50183435], TRX[1], USD[0.00]                                                                                                       Yes

07872611                           ETH[.00000001], SOL[0], USDT[.1813223]

07872621                           TRX[.000001]

07872634                           CUSDT[1], DOGE[2], SHIB[296213.37873205], TRX[2], USD[0.01], USDT[0]                                                                                                               Yes

07872637                           USD[0.01]                                                                                                                                                                          Yes

07872660                           BAT[1], BRZ[3], BTC[.05076722], CUSDT[12], DOGE[337.42686438], ETH[.72039973], ETHW[.72009705], GRT[1], LINK[.98532489], MATIC[65.00999554], SHIB[14], SOL[3.12429004], TRX[7],    Yes
                                   USD[3.98]
07872661                           DOGE[0], USD[0.00]

07872668                           USD[50.00]

07872687                           USDT[0.00891045]                                                                                                                                                                   Yes

07872688                           USD[0.30]                                                                                                                                                                          Yes

07872700                           USD[0.01]

07872703                           BTC[.00015329], CUSDT[1], DOGE[48.10027473], USD[0.01]                                                                                                                             Yes

07872714                           TRX[.000001], USD[0.40], USDT[0]

07872716                           USD[0.00]

07872717                           BAT[2], BTC[0.24756165], DOGE[6], GRT[4], LINK[.00274852], SHIB[10], TRX[10], USD[1.15], USDT[0.00009976]                                                                          Yes

07872724                           NFT (495203004365190784/Coachella x FTX Weekend 1 #30386)[1], USD[0.46]

07872727                           BTC[.01212293]

07872729                           USD[2.00]

07872731                           ETH[.21916454], ETHW[.21916454], SOL[.96178207], USD[0.01]

07872752                           NFT (349455702997263934/Solameleon #9647)[1]

07872766                           SOL[0], USD[0.14]

07872768                           CUSDT[1], DOGE[1], USD[26.49]

07872772                           BRZ[1], USD[0.51]                                                                                                                                                                  Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07872797                              SOL[.99053832], USD[0.00]

07872798                              BTC[0.00009828], ETH[0], ETHW[-0.00036356], MATIC[0], SOL[0], USD[-1.42]

07872804                              BTC[.00086519], CUSDT[1], USD[0.00]

07872805                              SOL[.0000432], USD[1.82]

07872809                              MATIC[133.8794], USD[0.70], USDT[0]

07872818                              BF_POINT[200], CUSDT[1], DOGE[1], SOL[.00000483], USD[0.00]                                                                                              Yes

07872861                              USD[0.07]

07872866                              CUSDT[503.67132999], KSHIB[97.74635992], MATIC[10.36038365], USD[0.04]                                                                                   Yes

07872869                              USD[0.00]

07872918                              CUSDT[1], SHIB[279.5138546], TRX[1], USD[71.58]                                                                                                          Yes

07872920                              BTC[0], ETH[0], ETHW[0], SOL[0], USD[0.00], USDT[0.00000099]

07872922                              BAT[0], BRZ[1], CUSDT[0], DOGE[1], KSHIB[.0000004], NEAR[.42282189], SHIB[15], SOL[0.00097959], SUSHI[0], TRX[1], USD[0.65]                              Yes

07872924                              USD[0.00]

07872936                              BTC[0], USD[0.00], USDT[0]

07872937                              CUSDT[2], USD[0.46]                                                                                                                                      Yes

07872960                              BTC[0.00006650], NFT (442091377498116107/Coachella x FTX Weekend 1 #15350)[1], SOL[0], USD[0.63]

07872964                              KSHIB[7.27674563], SHIB[7414.85865403], SUSHI[0], USD[0.00]                                                                                              Yes

07872976                              USD[20.00]

07872977                              BRZ[1], BTC[0.00000194], DOGE[2], GRT[1], SOL[0], TRX[3], USD[0.00], USDT[0]                                                                             Yes

07873010                              BTC[0], USD[0.00], USDT[0.00000001]

07873020                              USD[0.00]

07873021                              USD[10.92]                                                                                                                                               Yes

07873038                              NFT (561371940453995063/Microphone #3103)[1]

07873046                              BAT[2], BRZ[1], CUSDT[1884.93354688], DOGE[17850.96675019], GRT[1], NFT (473079329600323535/Entrance Voucher #4245)[1], USD[0.00]                        Yes

07873050                              USD[0.01]

07873059                              SOL[0]

07873067                              BTC[0], ETH[0], TRX[.00501765], USD[0.00]                                                                                                                Yes

07873088                              USD[21.95]                                                                                                                                               Yes

07873093                              BRZ[1], CUSDT[2], LINK[0], USD[0.00]                                                                                                                     Yes

07873095                              USD[0.00]

07873107                              USD[0.00], USDT[0]

07873110                              BTC[.0012], ETH[.008], ETHW[.008], SOL[.19], USD[12.36]

07873116                              USD[0.15]

07873126                              USD[0.00]

07873149                              BTC[.00006032], USD[0.00]

07873168                              CUSDT[0], ETH[0], KSHIB[1.39290494], USD[0.00]                                                                                                           Yes

07873171                              BRZ[1], BTC[.0438597], CUSDT[1], DOGE[1], ETH[.64259917], ETHW[.64259917], SOL[0], USD[0.00]

07873192                              USD[42.72]

07873203                              DOGE[3029.629], ETH[.03932763], ETHW[.03932763], USD[0.22]

07873207                              CUSDT[1], USD[0.00]                                                                                                                                      Yes

07873236       Contingent, Disputed   USD[0.00]

07873239                              SHIB[1], USD[22.93]                                                                                                                                      Yes

07873244                              BRZ[0.01542251], BTC[0.00000003], CUSDT[12], DOGE[1], TRX[3], USD[0.57], USDT[1.07357592]                                                                Yes

07873246                              ETH[0], LTC[0]

07873255                              ETH[.1265], ETHW[.1265], SOL[2.95243826]

07873258                              DOGE[20.6251848], ETH[.00149949], ETHW[.00148581], MATIC[2.49255876], USD[17.41], USDT[.99457937]                                                        Yes

07873259                              MATIC[0], SOL[0], USDT[0]

07873272                              CUSDT[1], USD[0.00]                                                                                                                                      Yes

07873276                              BTC[0], SHIB[233783557.84897806], USD[62.90], USDT[0.00000001]

07873278                              NFT (526119109559663939/RugToadz #1657)[1]

07873285                              USD[2.00]

07873287                              BTC[.00007853], LINK[.015], SOL[.007263], USD[20027.48]

07873289                              BTC[0.00032057], DOGE[0], ETH[0], ETHW[0], NFT (362476866258467371/Australia Ticket Stub #523)[1], SHIB[22518780.21139451], SOL[0], USD[0.00], USDT[0]   Yes

07873310                              BTC[.0007026], CUSDT[8], DOGE[43.79066706], ETH[.0059654], ETHW[.005897], KSHIB[429.10849563], TRX[229.17134278], USD[1.36]                              Yes

07873326                              LINK[.07], USD[1839.57], USDT[0]

07873330                              TRX[1], USD[0.00]                                                                                                                                        Yes

07873333                              BTC[.04304009], ETH[2.43357612], ETHW[2.43357612], SOL[12.35695228], USD[4108.37], USDT[0]

07873341                              USD[0.00]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07873356                           CUSDT[1], USD[0.00]                                                                                                                                                                 Yes

07873364                           ETH[0], MATIC[0], NFT (301538154276441116/Sam Moon)[1], NFT (332062538350319020/Sam Sun)[1], NFT (390171230807723221/Sam Sun #4)[1], NFT (510472710509105720/Sam Sun #2)[1], NFT
                                   (545146823083736974/Sam Sun #3)[1], SOL[0], USD[0.08]
07873365                           SOL[1.01954648], USD[0.00]

07873366                           SOL[.00000001], USD[0.00]

07873368                           ETH[0], SOL[0], USD[0.00]

07873373                           BTC[0], ETH[.0000488], ETHW[8.0990808], NFT (302182600483723563/GSW Western Conference Finals Commemorative Banner #119)[1], NFT (303428908395202617/GSW Championship
                                   Commemorative Ring)[1], NFT (306772551357235788/GSW Western Conference Semifinals Commemorative Ticket #60)[1], NFT (308641194877443320/GSW Round 1 Commemorative Ticket
                                   #219)[1], NFT (320889838672787560/GSW 75 Anniversary Diamond #25)[1], NFT (322495895549607096/GSW Round 1 Commemorative Ticket #221)[1], NFT (328796806525875867/Warriors Hoop
                                   #568)[1], NFT (349426110997451378/GSW Championship Commemorative Ring)[1], NFT (349915564540053374/GSW Championship Commemorative Ring)[1], NFT (354379595763237197/GSW
                                   Western Conference Finals Commemorative Banner #108)[1], NFT (359822873868329368/GSW Western Conference Finals Commemorative Banner #113)[1], NFT (363138448731992772/GSW
                                   Western Conference Finals Commemorative Banner #114)[1], NFT (364897383766868900/GSW Western Conference Semifinals Commemorative Ticket #58)[1], NFT (367635813322533243/Warriors
                                   Foam Finger #216)[1], NFT (379803500487806997/GSW Championship Commemorative Ring)[1], NFT (383359599547760487/GSW Championship Commemorative Ring)[1], NFT
                                   (394930280298826816/Warriors Hoop #174)[1], NFT (400387782904395642/GSW Western Conference Finals Commemorative Banner #121)[1], NFT (405348569061304753/GSW Championship
                                   Commemorative Ring)[1], NFT (409758115522437637/Warriors Logo Pin #525)[1], NFT (416966792722854971/GSW Western Conference Finals Commemorative Banner #117)[1], NFT
                                   (422799914154446047/GSW Western Conference Semifinals Commemorative Ticket #59)[1], NFT (434575975240777256/GSW Western Conference Semifinals Commemorative Ticket #56)[1], NFT
                                   (441821274335221391/FTX - Off The Grid Miami #1336)[1], NFT (443984282066844685/GSW Western Conference Semifinals Commemorative Ticket #57)[1], NFT (457070805611132562/GSW
                                   Western Conference Finals Commemorative Banner #110)[1], NFT (458152496961464924/GSW Championship Commemorative Ring)[1], NFT (467196710343937605/GSW 75 Anniversary Diamond
                                   #440)[1], NFT (470615999252406016/GSW Round 1 Commemorative Ticket #220)[1], NFT (474137192935355411/GSW 75 Anniversary Diamond #411)[1], NFT (508853842601604145/GSW Round 1
                                   Commemorative Ticket #223)[1], NFT (509052435116518678/GSW Round 1 Commemorative Ticket #224)[1], NFT (521951307998523064/GSW Western Conference Semifinals Commemorative Ticket
                                   #55)[1], NFT (528210033763572030/GSW Western Conference Finals Commemorative Banner #115)[1], NFT (528475624081465447/GSW Western Conference Finals Commemorative Banner
                                   #109)[1], NFT (537175361778687987/GSW Western Conference Finals Commemorative Banner #120)[1], NFT (538508189703659401/GSW Western Conference Finals Commemorative Banner
                                   #111)[1], NFT (540347323186459160/GSW Round 1 Commemorative Ticket #222)[1], NFT (541617734426528382/GSW Western Conference Finals Commemorative Banner #118)[1], NFT
                                   (548324109948180257/GSW Western Conference Finals Commemorative Banner #112)[1], NFT (573775766052251017/GSW Western Conference Semifinals Commemorative Ticket #54)[1], NFT
                                   (575707699925769780/GSW Western Conference Finals Commemorative Banner #116)[1], SOL[0], USD[0.48], USDT[0.00081630]

07873375                           AAVE[0], BRZ[2], DOGE[9.01845189], ETHW[2.92986568], LINK[63.25617987], SHIB[57], TRX[12], USD[0.01]                                                                                Yes

07873382                           USD[20.89]

07873397                           SOL[0]

07873398                           BAT[1.01505144], CUSDT[3], DOGE[1], ETH[2.55617151], ETHW[2.55509791], GRT[1.00267368], MATIC[570.479662], SOL[6.80113673], SUSHI[0], TRX[1], USD[0.00], USDT[0]                    Yes

07873399                           CUSDT[3], USD[0.01]                                                                                                                                                                 Yes

07873401                           NFT (305386958683569206/Humpty Dumpty #1316)[1], NFT (402899560235650755/Wombats in Disguise #20)[1], NFT (411099177456329013/Romeo #279)[1], NFT (533386574103842414/Entrance
                                   Voucher #3860)[1]
07873404                           AAVE[.21400573], AVAX[.57568192], BAT[.00386825], BCH[.0012861], BRZ[5.07952967], CUSDT[137.626917], DOGE[6], ETH[.00040478], ETHW[.1147779], LTC[.2105944], MATIC[29.13078355],    Yes
                                   MKR[.00077431], SHIB[11], SOL[.85479181], SUSHI[.99253351], TRX[2], USD[0.01], USDT[1.07892276]
07873410                           ETH[0], MATIC[0], SOL[0.00109082], USD[0.00]

07873412                           ETH[1.124], ETHW[1.124], USD[27.92]

07873419                           SOL[.57], USD[0.17]

07873420                           SOL[.00000001], USD[0.61]

07873433                           BRZ[3], BTC[.01857112], CUSDT[4], DOGE[394.54032943], ETH[.12809111], ETHW[.12698812], SHIB[4154237.51585715], SUSHI[17.54430287], TRX[1], USD[0.00]                                Yes

07873452                           SOL[0.02825914], USD[0.00]

07873455                           TRX[0.00000500], USDT[0.00007293]

07873458                           NFT (396872743330572573/Coachella x FTX Weekend 1 #1241)[1]

07873466                           SOL[.00376351], TRX[.000122], USD[0.00], USDT[0.00960200]

07873468                           USD[0.00]                                                                                                                                                                           Yes

07873482                           BF_POINT[100]

07873483                           USD[0.00]

07873486                           MATIC[0.24156918], USD[0.00]                                                                                                                                                        Yes

07873487                           BTC[0.00889862], USD[0.00]

07873489                           BTC[0], DOGE[0], ETH[0], LTC[0], SOL[0], TRX[0], USD[0.01]                                                                                                                          Yes

07873502                           AVAX[4], BTC[.0280397], ETH[.30984], ETHW[.30984], SOL[36.71293], TRX[.000001], USD[0.00], USDT[3558.48684435]

07873503                           SOL[.00050435], USD[0.00], USDT[0.00000008]

07873505                           USD[0.00]

07873506                           USD[6.12]

07873508                           BTC[.0013986], USD[6.35]

07873513                           USD[0.62]

07873517                           USD[0.37]

07873525                           BRZ[59.9112298], BTC[.00908634], CUSDT[4], DAI[20.44356536], ETH[.0659582], ETHW[.06513766], SHIB[11], TRX[2], USD[30.23]                                                           Yes

07873527                           CUSDT[2], USD[0.00]

07873535                           EUR[0.00], USD[0.00]

07873540                           USD[107.57], USDT[0]

07873556                           CUSDT[1], SOL[2.93526584], USD[0.01]

07873562                           BTC[0.00028925], USD[0.00]

07873567                           SHIB[1998000], USD[4.18]

07873580                           DOGE[1], KSHIB[850.1761735], TRX[1069.21834639], USD[0.00]

07873590                           CUSDT[6], DOGE[.00840448], TRX[.07872503], USD[0.00]

07873591                           ETH[0], SOL[0], USD[0.00]

07873592                           BRZ[1], TRX[1], USD[0.00], USDT[0]                                                                                                                                                  Yes
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                                                                                                                                         Customer Claims                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07873593                           BTC[.00030679], CUSDT[1], USD[0.00]                                                                                                     Yes

07873595                           CUSDT[1], DOGE[98.50391156], TRX[257.19492515], USD[0.00]

07873606                           ETH[.027], ETHW[.027], USD[0.64]

07873612                           USD[0.00]

07873616                           BRZ[1], BTC[.00632553], CUSDT[1], DOGE[420.34236415], ETH[.03108301], ETHW[.03069997], TRX[1], USD[0.01]                                Yes

07873617                           USD[0.00]                                                                                                                               Yes

07873621                           ETH[.000998], ETHW[.000998], USD[0.17]

07873622                           SOL[.86889], USD[136.00]

07873625                           USD[0.00], USDT[0]                                                                                                                      Yes

07873628                           USD[5.85]

07873650                           UNI[.00980938], USD[0.01]

07873652                           SOL[.349995]

07873659                           SOL[.00127299], USD[0.01]

07873661                           MATIC[.00096007], SHIB[2], USD[0.00]                                                                                                    Yes

07873663                           CUSDT[2], DOGE[10.50363159], ETH[.02812219], ETHW[.02777226], SHIB[1607660.57777906], USD[0.02]                                         Yes

07873667                           BRZ[2], BTC[.00185886], CUSDT[16], DOGE[2], ETH[.01177322], ETHW[.01177322], SHIB[644127.07665403], SOL[.12552268], TRX[3], USD[0.00]

07873668                           NFT (444230848490319409/Megalodon Rogue Shark Tooth)[1], USD[30.93]

07873669                           GRT[1], LINK[58.29261168], SHIB[1], USD[0.02]

07873672                           MATIC[8.1941872], USD[0.00]

07873674                           SOL[0]

07873677                           CUSDT[2], SOL[1.11865044], SUSHI[2.58750925], USD[0.00]                                                                                 Yes

07873681                           BAT[1.01473752], TRX[3], USD[0.00]                                                                                                      Yes

07873691                           USD[0.01]

07873694                           SOL[.3945111], USD[0.00], USDT[19.22653083]

07873699                           ETH[.00934067], ETHW[0.00934066]

07873711                           NFT (547474529269526817/Imola Ticket Stub #804)[1]

07873712                           DOGE[1], NFT (428882983948444414/Coachella x FTX Weekend 2 #1803)[1], SOL[3.12098983], USD[0.00]

07873717                           SHIB[250861.1065292], SOL[.49727447], USD[41.11]

07873719                           CUSDT[1], DOGE[1], TRX[2], USD[0.00]                                                                                                    Yes

07873725                           FTX_EQUITY[0], USD[2.02], WEST_REALM_EQUITY_POSTSPLIT[0]

07873730                           USD[0.00]

07873733                           USD[109.22]                                                                                                                             Yes

07873734                           CUSDT[2], DOGE[1], SOL[0], USD[0.00]                                                                                                    Yes

07873739                           BTC[0], USD[0.27]

07873750                           USD[0.00]

07873751                           USD[500.00]

07873753                           BTC[.02340745], CUSDT[8], DOGE[2], MATIC[275.45232761], SOL[.82610719], SUSHI[2.28372505], USD[0.00]

07873758                           ETH[0], SOL[0]

07873765                           BTC[.00199492], CUSDT[17], DOGE[220.71631884], ETH[.0232597], ETHW[.02297242], SHIB[788874.17942071], TRX[2], USD[3.35]                 Yes

07873771                           ETH[0], SOL[0], USD[0.00]

07873775                           SOL[.00521585], USD[0.00]

07873776                           BTC[.40467847], ETH[.07202169], ETHW[.07134775]                                                                                         Yes

07873777                           USD[0.78]

07873786                           BF_POINT[300], SHIB[1], TRX[1], USD[0.01], USDT[0]

07873795                           CUSDT[1], USD[0.01]

07873800                           BRZ[2], DOGE[2.63000473], MATIC[.0010379], SHIB[7], TRX[2], USD[176.63]                                                                 Yes

07873808                           NFT (372098911612555592/FTX - Off The Grid Miami #7571)[1]                                                                              Yes

07873810                           USD[4.58]

07873825                           BTC[.00000001]

07873827                           BRZ[1], DOGE[1], USD[0.09]                                                                                                              Yes

07873831                           USD[0.00]

07873835                           ETH[.00000058], ETHW[.00000058]                                                                                                         Yes

07873839                           ETH[.00586368], ETHW[0.00586367]

07873845                           SOL[0.00516788]

07873851                           CUSDT[2], SHIB[722918.73307711], TRX[8.68229547], USD[0.00]

07873861                           ETH[0], SOL[0], USD[0.00], USDT[0]

07873863                           NFT (458432009878150184/Ferris From Afar #669)[1]

07873870                           BTC[.00009196], ETH[.00027905], ETHW[.00027905], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07873884                              USD[164.19]

07873908                              NFT (323410280764174746/Bahrain Ticket Stub #1834)[1], USD[10.00]

07873915                              AAVE[.00000001]

07873927                              BTC[.00011742], SOL[.03012078], USD[88.95]

07873928                              USD[20.34]

07873931                              BTC[0], ETH[0], ETHW[10.00064753], USD[0.00], USDT[0]

07873932                              BAT[1.01444103], ETH[0], SOL[0], TRX[1], USDT[1.08306238]                                                                                                                            Yes

07873934                              SOL[5.93406], USD[71.92]

07873935                              AVAX[.00004307], ETH[.00127965], ETHW[0.00127965], EUR[0.00], KSHIB[.00627083], SHIB[.88405067], SOL[0.00000453], USD[0.00]

07873941                              SOL[1.10635068], USD[0.00]

07873946                              BAT[1], SHIB[5], USD[0.00]                                                                                                                                                           Yes

07873948                              USD[0.85]

07873966                              NFT (550724751797871446/DOGO-IN-500 #4439)[1]

07873971                              USD[0.66], USDT[0]

07873981                              USD[0.01]                                                                                                                                                                            Yes

07873982                              BRZ[2.32294753], BTC[.00000005], ETH[.0000002], ETHW[.01277021], MATIC[.00010564], SHIB[1], TRX[.00085343], USD[0.00]                                                                Yes

07873985                              NFT (567429550766061193/Miami Grand Prix 2022 - ID: 3245B73D)[1]

07873988                              NFT (319706436032102903/175)[1]

07873994                              BTC[0], USD[10.39], USDT[0]

07874004                              AAVE[.35400952], CUSDT[1], DOGE[1], SUSHI[21.83265443], USD[0.00]                                                                                                                    Yes

07874007       Contingent, Disputed   BTC[0], ETH[0], SOL[0], USD[0.58], USDT[0]

07874011                              NFT (570301905927295260/FTX - Off The Grid Miami #2898)[1]

07874021                              NFT (574280268787182339/7248)[1], SOL[.0492813]

07874045                              NFT (394531142881220664/FatCats)[1], NFT (461828435108712222/SolCat #4997)[1], SOL[.1]

07874046                              BTC[.0857487], ETH[1.342656], ETHW[1.342656], SOL[14.10588], USD[2665.33]

07874050                              SOL[0.00308642]

07874051                              ETH[0], TRX[.000279], USD[0.00], USDT[0]

07874055                              CUSDT[1], DOGE[1], TRX[1], USD[0.00]                                                                                                                                                 Yes

07874059                              BTC[.00003054], USD[0.13]

07874060                              BTC[.00002859], USD[1.65]

07874071                              ETH[.021], ETHW[.021], NFT (301815404622565704/HoPe)[1], NFT (305619420460064881/AnGeLiC PrOtEcTiOn)[1], NFT (317287876394386928/BE ~ SEE ~ HEAR ~ FEEL ~ KNOW)[1], NFT
                                      (328509552745221131/DiViNe TruTh)[1], NFT (339369071546075572/GaTeS oF tHe SoUL)[1], NFT (351465189220348940/TrAnSfiGuRaTiOn)[1], NFT (354351204031165667/OpEniNg ThE
                                      CoNnEcTiOn To YoUr HeArT)[1], NFT (357839040863417673/TrAnScEnDeNcE)[1], NFT (359939654359532104/DiViNe StOrM oF LoVe)[1], NFT (361679536186943780/AliEn SeLf #2)[1], NFT
                                      (366776158332772682/YoUr HeArT iS tHe PORtAL)[1], NFT (369616216475264563/PoWeR ~ WiSdOm ~ LoVe)[1], NFT (371079456680807751/STARGATE)[1], NFT (382059870712250820/HaLLs Of
                                      AcSeNSiOn)[1], NFT (387230441921059328/ThE OnLy WaY OuT iS ThRoUgH)[1], NFT (394096990270988976/LoVe ReFLeCtEd iN tHE BuTtErFLy EfFeCt)[1], NFT
                                      (401892954370737203/ViBrATiOnAL ReCaLiBrAtiOn)[1], NFT (414544437423806812/ToAd ShAmAn)[1], NFT (417014134759931033/CoMiNg HoMe To tHe SeLf)[1], NFT
                                      (420663645024685223/GoDDeSs RiSiNg)[1], NFT (429783744077355582/MULTIDIMENSIONAL CLAIRVOYANCE)[1], NFT (430217939333720563/LoViNg SuRrEnDeR)[1], NFT
                                      (447193790100253633/LiBeRaTeD SpiRiT)[1], NFT (449653552430534773/AliEn SeLf)[1], NFT (451078819543545004/BeAuTy ReFLeCtEd iN tHE BuTtErFLy EfFeCt)[1], NFT
                                      (454646818979207817/CoNNeCTiOn)[1], NFT (457265581173773077/BeWiLdErMeNt)[1], NFT (465255693552123635/LoVe iN tHe GaRdEn oF tHe FLoWeR oF LiFe)[1], NFT
                                      (469507896209027972/OpEniNg uP tO yOuR DaRkNeSs)[1], NFT (488491535759502145/ReFLeCtiOnS oF ThE AwAkEniNg SoUL)[1], NFT (497643358299945395/LeT Go)[1], NFT
                                      (503950971919545476/RiSe iN OnE iNfiNiTe LoVe)[1], NFT (507497557948457004/ThE PoRtAL oF LeVeLuPtiOn ReFLeCtEd iN tHE BuTtErFLy EfFeCt)[1], NFT (515217097533806623/SuRrEnDeRiNg
                                      To ThE iNfiNiTe)[1], NFT (521177649562382396/ThE MeaNiNg oF YoUr LiFE)[1], NFT (532001063765004147/DiViNe CoMpLeMeNt)[1], NFT (533516032226227377/PoRtAL oF iNfiNiTe LoVe &
                                      HeALiNG)[1], NFT (542674158052038059/ThE RuPtUrE & RePaiR)[1], NFT (547023391424893487/SpiRiT GuArDiAnS)[1], NFT (549751106512726784/DiViNiTy)[1], NFT (566471262094702183/RiSiNg
                                      SoUL EmPoWeRmEnT)[1], USD[32.87]
07874073                              CUSDT[2], ETH[.01118452], ETHW[.01104772], MATIC[33.97925844], SOL[1.45696495], TRX[1], USD[0.01]                                                                                    Yes

07874079                              NFT (293810989173996615/Soloth #369)[1], NFT (298932656388902299/Soloth #663)[1], NFT (313362843549667723/Soloth #728)[1], NFT (319412839757554355/Soloth #645)[1], NFT
                                      (339783684369342016/Soloth #657)[1], NFT (340082763779486093/Soloth #242)[1], NFT (342785820549217346/Soloth #132)[1], NFT (363667813103257241/Soloth #576)[1], NFT
                                      (364745775598010738/Soloth #624)[1], NFT (378729954953622054/Soloth #560)[1], NFT (383477858192509563/Soloth #675)[1], NFT (398321672663623142/Soloth #279)[1], NFT
                                      (401647373718564723/Soloth #518)[1], NFT (402752994529859973/Soloth #668)[1], NFT (406134927013866825/Soloth #680)[1], NFT (406321965030540291/Soloth #568)[1], NFT
                                      (415167550387832858/Soloth #632)[1], NFT (420751136923060924/Soloth #435)[1], NFT (433267548207193817/Soloth #461)[1], NFT (462795824660991621/Soloth #594)[1], NFT
                                      (479633255852599779/Soloth #537)[1], NFT (491157778556662751/Soloth #716)[1], NFT (514211546158520399/Soloth #723)[1], NFT (531948803256667824/Soloth #666)[1], NFT
                                      (550037827428941777/Soloth #720)[1], NFT (558065989793067914/Soloth #639)[1], NFT (562124722227399463/Soloth #608)[1]
07874082                              NFT (472180130891038626/Australia Ticket Stub #1222)[1], SOL[.04]

07874087                              BTC[0], ETH[.00091497], ETHW[0.00091496], SOL[.00468586], USDT[.2668358]

07874100                              BTC[0.00002021], DOGE[386.613], UNI[.05], USD[0.65]

07874102                              ETH[0], ETHW[0]

07874112                              BTC[.0000999], ETH[.000846], ETHW[.240846], LINK[.09], NFT (298247770718612417/Birthday Cake #2798)[1], NFT (300266138883471376/The 2974 Collection #2568)[1], NFT
                                      (345216946438617281/The 2974 Collection #2798)[1], NFT (351115391366493712/Entrance Voucher #2089)[1], NFT (371165023751114496/Exclusive 2974 Collection Merchandise Package #5725
                                      (Redeemed))[1], NFT (387496176889236141/Birthday Cake #2568)[1], NFT (415457171709335327/2974 Floyd Norman - OKC 5-0057)[1], NFT (422141498301685384/Exclusive 2974 Collection
                                      Merchandise Package #3898 (Redeemed))[1], NFT (549806048059122218/2974 Floyd Norman - CLE 6-0181)[1], USD[378.18]
07874116                              ETH[.00096701], ETHW[.00095333], MATIC[97], NFT (363816904326979015/FTX - Off The Grid Miami #746)[1], NFT (369552197305473952/Barcelona Ticket Stub #1052)[1], NFT                  Yes
                                      (518296434274084068/Entrance Voucher #1499)[1], USD[0.07]
07874118                              ETHW[.175982], LINK[.0085], SOL[.00854], USD[903.55]

07874119                              ETH[0], ETHW[0], GBP[0.00], NFT (328189964430263477/Entrance Voucher #3103)[1], USD[0.69]

07874127                              CUSDT[4], DOGE[547.7269399], ETH[.00000012], ETHW[.00000012], MATIC[20.44070387], USD[0.04]                                                                                          Yes

07874130                              CUSDT[2], DOGE[1], ETHW[.07989849], NFT (319921959986315689/Entrance Voucher #47)[1], TRX[2], USD[0.01]                                                                              Yes

07874132                              SOL[0.00000088]

07874133                              ALGO[.00025967], AVAX[.00004613], DOGE[5.00008500], ETH[.00000032], ETHW[.00000032], SHIB[29110.86307408], TRX[3], USD[0.00], USDT[0.00000001]                                       Yes
West Realm Shires Services Inc.                                                        Case 22-11068-JTD      Doc F-3:
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                                                                                                                                             Customer Claims                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07874134                              SOL[.00001], USD[0.00]

07874136                              USD[1.00]

07874143                              NFT (485477736553166016/2447)[1]

07874157                              ETH[0], GRT[1700.18423553], USD[0.00]

07874162                              ETH[.0007625], ETHW[.2497625], LINK[.04349], NFT (304156690751208893/2974 Floyd Norman - OKC 1-0284)[1], USD[5717.66]

07874166                              NFT (331083628924832750/1642)[1]

07874174                              NFT (511208505953636919/2137)[1]

07874175                              CUSDT[1], SHIB[1], USD[0.03]                                                                                                                  Yes

07874177       Contingent, Disputed   BTC[0], GRT[0], USD[0.01]

07874178                              USD[0.15]

07874179                              CUSDT[1], USD[0.04]                                                                                                                           Yes

07874192                              USD[0.00]

07874194                              NFT (430457590406028650/4559)[1]

07874195                              NFT (335434644870467290/2974 Floyd Norman - CLE 3-0053)[1]

07874196                              SOL[.05634]

07874207                              BAT[15.11438814], CUSDT[4], DOGE[1], ETH[.01030019], ETHW[.01030019], LTC[.20402334], MATIC[24.28818376], SOL[.21654368], TRX[2], USD[0.00]

07874214                              NFT (372912227578851521/160)[1]

07874216                              BTC[0.00003363], CUSDT[3], DOGE[19.17923543], SUSHI[0.33297713], USD[0.00]                                                                    Yes

07874224                              BTC[0], ETH[0], SOL[0], USD[0.00], USDT[0.00000001]

07874231                              SOL[.03237095], USD[0.00]

07874236                              BTC[.03241265], DOGE[1776.00310075], USD[1.94], USDT[0.25338658]

07874240                              BTC[.53861671], USD[500.00]

07874242                              BTC[.0357437], MATIC[132.48467174], USD[0.00]                                                                                                 Yes

07874246                              USD[53.44]

07874253                              ETH[0], SOL[0], USD[1500.07], USDT[0.00003517]

07874259                              BF_POINT[200], BRZ[1], SOL[22.94890926], TRX[1], USD[0.00]                                                                                    Yes

07874262                              USDT[.0016676]

07874272                              ALGO[1315.01244735], LTC[3.16003425], SOL[22.29914965]                                                                                        Yes

07874273                              BTC[0.00208851], ETH[.03511915], ETHW[.03511915], USD[0.00]

07874274                              BTC[.03714417]

07874275                              CUSDT[1], TRX[1], USD[217.23], USDT[0]

07874276                              USD[0.00]

07874277                              BTC[0.00004163], USD[4.24]

07874285                              BTC[.00017349], USD[0.00]

07874287                              USD[29.49]

07874295                              USD[0.00], USDT[18.55001997]

07874301                              LINK[.01544496], USD[81.57], USDT[.0075]

07874302                              USD[0.00], USDT[2.17188987]

07874310                              BF_POINT[300], CUSDT[12], DOGE[.00038966], ETH[0], ETHW[0.02440666], MATIC[.00017477], SHIB[5.66601066], SOL[0], TRX[5], USD[0.00]            Yes

07874311                              NFT (299434591728900853/Entrance Voucher #3574)[1], USD[0.00]

07874314                              SOL[.04999039], USD[0.00]

07874331                              BF_POINT[200], BRZ[1], CUSDT[1], DOGE[2], SOL[7.5845536], TRX[2], USD[0.00]

07874338                              USD[0.00]

07874339                              USD[0.29], USDT[0.00000003]

07874341                              USD[0.00]

07874342                              ETH[0], USD[0.00]

07874343                              USD[0.00]

07874351                              USD[0.00]

07874353                              LTC[.00164687], SOL[0.49834000], USD[0.02]

07874355                              USD[0.01]

07874359                              BTC[.67119157], USD[1352.62]

07874373                              ETHW[.119], USD[0.29]

07874374                              EUR[10.00]

07874375                              SOL[0]

07874385                              USD[471.63]

07874389                              SOL[0]

07874395                              USD[1.47]

07874404                              USD[0.00], USDT[0]
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07874405                              USD[3.10]

07874412                              SOL[.9103629], USD[0.00]

07874414                              NFT (542949865512836452/Romeo #962)[1], USD[0.00]

07874415                              USD[2.08]

07874417                              USD[104.95]

07874421                              USD[0.00], USDT[0]

07874426                              AAVE[.07389737], BTC[0.06244935], DOGE[50.55029609], ETH[0.36513662], ETHW[0.36507313], LINK[1.61712390], MATIC[14.04936001], SOL[0.38710186], SUSHI[4.00888264], UNI[0.91135644],
                                      USD[0.11]
07874443                              SHIB[636.89157019], SOL[0], USD[0.00]                                                                                                                                                Yes

07874448                              ETH[0], ETHW[0], GRT[.53404991], LINK[.02695786], MATIC[8.74525707], SOL[.00708299], SUSHI[1.14525912], UNI[.10290859], USD[-2.86]                                                   Yes

07874451                              USD[0.00], USDT[.15825766]

07874453                              DOGE[87.5667104], USD[0.00]                                                                                                                                                          Yes

07874456                              USD[0.00]

07874458                              USD[0.00]

07874466                              USD[0.00]

07874474                              SOL[.51335979], USD[0.00]

07874491       Contingent, Disputed   USD[0.56]

07874498                              USD[0.00]

07874499                              ETH[.435821], ETHW[.435821], NFT (479760607149184967/Sun Set #287)[1], USD[23.94]

07874503                              BTC[0], SOL[0.75987535], USD[0.01]

07874512                              ETH[0.00009300], ETHW[0.00009300], SOL[0], USD[1.50]

07874520                              AAVE[.00026808], BAT[1.0165555], BRZ[5.07952967], BTC[.01002108], CUSDT[8], DOGE[7.2126889], ETH[.07647671], ETHW[.07552814], GRT[177.69133376], LINK[4.37347636],                   Yes
                                      MATIC[340.55773521], SHIB[825991.66330866], SOL[14.34907741], TRX[124.11056779], UNI[6.6933995], USD[0.00], USDT[1.0843556]
07874524                              ETH[.00066087], ETHW[0.00066087], USD[3.12]

07874528                              CUSDT[2], TRX[0], USDT[0]                                                                                                                                                            Yes

07874530                              NFT (305821731005003681/#4370 Zri)[1], NFT (310640168850429676/5349)[1], NFT (315833442631316194/#1629 Miriandynus Nebula)[1], NFT (388683983294533815/Sollemur #1297)[1], NFT
                                      (408682681312085056/#7613 Gaea)[1], NFT (425386306949221058/#9594 Situation)[1], NFT (434696174373304534/Sollemur #1300)[1], NFT (435009205842752598/3754)[1], NFT
                                      (515408928481509717/Sollemur #1316)[1], NFT (517538976510222771/2834)[1], NFT (523907414841319873/5335)[1], NFT (540243337155058649/3729)[1], NFT (545672953654611873/#6183 The
                                      Newton)[1], NFT (560120579633334453/2620)[1]
07874544                              SOL[.0097733], USD[0.00]

07874546                              CUSDT[2], USD[0.00]                                                                                                                                                                  Yes

07874560                              LTC[.017]

07874566                              BTC[.00542022], CUSDT[1], USD[0.00]

07874574                              ETH[0.00000001], SOL[0.00458890], USD[0.00]

07874578                              MATIC[0], USD[0.00]                                                                                                                                                                  Yes

07874589                              ETHW[.24835736], USD[3.01]

07874610                              TRX[.106001], USDT[2.16797043]

07874611                              CUSDT[1], DOGE[2], ETH[.00000181], SHIB[4], TRX[965.76534652], USD[0.01]                                                                                                             Yes

07874620                              CUSDT[1], ETH[.01331017], ETHW[.0131853], GRT[1], SHIB[1], SOL[.00027474], TRX[1], UNI[1.015795], USD[0.79], USDT[0]                                                                 Yes

07874629                              NFT (424003993638462259/Cyber Frogs Ramen)[1], SOL[.00000001], USD[0.54], USDT[0.00000001]

07874634                              BTC[.0873], DOGE[6993], ETH[2.650447], ETHW[2.650447], SOL[77.64509], USD[1225.86]

07874638                              CUSDT[1], USD[0.00]                                                                                                                                                                  Yes

07874643                              USD[0.00]

07874645                              BTC[.0016271], DOGE[357.70772874], NFT (427855058023328510/FTX - Off The Grid Miami #863)[1], SHIB[3000000], TRX[1962.14768684], USD[0.04]

07874649                              CUSDT[1], SHIB[3444727.14155156], USD[108.78]                                                                                                                                        Yes

07874653                              SOL[.00613336], USD[0.58]

07874654                              BTC[0.04818940], NFT (383195664969110441/#1230)[1], NFT (442896952992848400/Sloth #8293)[1], SOL[.00724], USD[0.00], USDT[3.28847369]

07874666       Contingent, Disputed   USD[0.00]

07874674                              USD[0.00]

07874677                              SOL[0], USD[0.00]

07874688                              BRZ[1], BTC[.00154697], CUSDT[9], DOGE[4.12328111], SHIB[3], TRX[1], USD[0.00]                                                                                                       Yes

07874698                              USD[3.62]

07874729                              ETH[0], ETHW[0], SOL[0], USD[0.01]

07874740                              USDT[0]

07874748                              DOGE[0], ETH[.00009654], ETHW[.00009654], MATIC[0], TRX[0], USD[0.00], USDT[0]                                                                                                       Yes

07874753                              USD[10.66]                                                                                                                                                                           Yes

07874765                              BTC[.01130481], ETH[.02900001], ETHW[0.02900000], SHIB[0], SOL[6.25296673], USD[0.77]

07874780                              ETH[7.01474027], ETHW[7.01197112], SOL[49.85149188]                                                                                                                                  Yes

07874783                              BAT[1.01470974], BTC[0], CUSDT[4], DOGE[1], TRX[2], USD[0.00], USDT[0]                                                                                                               Yes

07874795                              BTC[0.00001767]

07874796                              BRZ[1], DOGE[1], ETH[.00039887], ETHW[0.00039887], MATIC[13.21351472], TRX[2], USD[42.72]                                                                                            Yes
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07874805                           CUSDT[566.16544148], ETH[.00560015], ETHW[.00553175], NFT (403595252443495077/FTX - Off The Grid Miami #706)[1], USD[0.00]                                                                 Yes

07874820                           CUSDT[1227.47809528], USD[0.00]                                                                                                                                                            Yes

07874823                           NFT (470819444452727409/Meekolony PFP #8480)[1], USD[0.59]

07874826                           BCH[.00022], BTC[0], USD[0.00], USDT[.894311]

07874830                           USD[0.10]

07874837                           BF_POINT[100], ETH[0], LINK[.00000001], SOL[0], USD[2166.49]                                                                                                                               Yes

07874842                           USD[1.29]

07874850                           DOGE[.95], MATIC[6.94336229], USD[0.53]

07874857                           CUSDT[2], DOGE[1], SOL[9.73569798], USD[0.09]                                                                                                                                              Yes

07874865                           USD[0.00]

07874871                           LINK[.61824671], USD[0.00], USDT[0.00000010]

07874873                           BRZ[1], DOGE[213.98396785], MATIC[.00007492], SHIB[3], USD[0.00]                                                                                                                           Yes

07874874                           SOL[.00999], USD[0.04]

07874878                           BTC[.00006236], ETH[.009995], ETHW[.009995], SHIB[77100], USD[0.45]

07874887                           NFT (414954767079715417/Coachella x FTX Weekend 1 #26251)[1], USD[15.77]                                                                                                                   Yes

07874905                           SOL[.028]

07874906                           BTC[.01112901], CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                Yes

07874907                           SOL[.36898259], USD[0.00]

07874932                           BF_POINT[100], DOGE[1], ETH[0], ETHW[0], GRT[1], SHIB[2], TRX[2], USD[0.01]                                                                                                                Yes

07874934                           USD[24.69]

07874936                           SOL[.01222055], USD[0.00]

07874956                           LTC[.0036], USDT[.50425828]

07874972                           USD[0.00], USDT[0]                                                                                                                                                                         Yes

07874975                           USD[2.01]

07874981                           NFT (306615631279391410/Little Rocks #11)[1], NFT (447697725999472343/Little Rocks #764)[1], NFT (479903563842057719/Little Rocks #1527)[1], NFT (540936070702100251/Little Rocks #346)[1],
                                   NFT (562097591163117548/Little Rocks #370)[1], SOL[.14]
07874983                           BRZ[3], BTC[.00000228], CUSDT[2], DOGE[3], GRT[2.001087], SHIB[1], SUSHI[1.05991468], TRX[2], USD[0.00], USDT[2.11608183]                                                                   Yes

07874994                           GRT[6.95348397], USD[0.00]                                                                                                                                                                 Yes

07875004                           USD[0.00]                                                                                                                                                                                  Yes

07875006                           USD[5.48]

07875012                           USD[133.01]

07875024                           USD[0.00], USDT[0.00000001]

07875026                           SOL[.00028792], USD[0.00]                                                                                                                                                                  Yes

07875032                           USD[862.94], USDT[0]

07875035                           USD[5500.00]

07875048                           BTC[.04454798], SOL[.00040046], TRX[1], USD[0.79]                                                                                                                                          Yes

07875056                           USD[0.00]

07875063                           BTC[.03390956], DOGE[1], ETH[.42849459], ETHW[.42831473], SOL[.7238343], UNI[6.88473146], USD[0.00]                                                                                        Yes

07875071                           SOL[.00865404], USD[0.00]

07875077                           ETH[0], SOL[0], USD[0.01]

07875084                           BAT[0], BTC[0], MATIC[0], NFT (425938657536966049/CRK #187)[1], SHIB[0], SOL[0.00000279], USD[0.00]                                                                                        Yes

07875088                           DOGE[1], ETH[0], NFT (381805435761775299/Serum Surfers X Crypto Bahamas #96)[1], NFT (403164695060675732/Barcelona Ticket Stub #308)[1], NFT (436100543863052120/FTX - Off The Grid        Yes
                                   Miami #3976)[1], NFT (476969438539717032/Bahrain Ticket Stub #1002)[1], NFT (567214621371115254/Resilience #35)[1], SHIB[1], USD[0.01]
07875095                           DOGE[0], USD[0.40], USDT[0]

07875099                           CUSDT[2], ETH[.0407205], ETHW[.04021434], SOL[1.22153102], USD[189.81]                                                                                                                     Yes

07875106                           BRZ[0], CUSDT[1], TRX[2], USD[0.00], USDT[0.00030928]

07875111                           MATIC[199.8], SOL[1.6], SUSHI[16.5], USD[82.67]

07875113                           SOL[6.45652], USD[2.81]

07875137                           USD[0.20]

07875140                           BTC[0], ETH[0], SOL[14.73], USD[0.22]

07875145                           BTC[0], CHF[0.00], ETH[0], LTC[0], USD[30.66]

07875159                           SOL[5.43565411]                                                                                                                                                                            Yes

07875162                           USDT[0]

07875168                           DOGE[.60316855], USD[2.01]

07875177                           KSHIB[680], TRX[491], USD[0.00], USDT[51.95875630]

07875178                           BAT[57.1001521], BRZ[2], CUSDT[21], DOGE[495.97315033], GRT[79.70729762], KSHIB[2999.15795348], LINK[5.47668671], MATIC[47.31415709], SHIB[1910340.81462592], SUSHI[15.33406344],          Yes
                                   TRX[946.15757078], UNI[31.28225229], USD[0.00], USDT[0.00363703]
07875179                           SHIB[1], USD[0.00]                                                                                                                                                                         Yes

07875182                           BTC[.0000031], ETH[.000336], ETHW[.000336], SOL[.00911]

07875185                           LTC[0], SOL[0], USD[0.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07875186                              SHIB[2], SOL[3.69967273], TRX[1], USD[0.00]                                                                                                                                              Yes

07875190                              USD[9.60]

07875196                              BTC[.00004807], USD[2.85]                                                                                                                                                                Yes

07875199                              USD[150.00]

07875202                              BTC[.00023514]

07875208                              NFT (541224474092561889/War Monkey #1067)[1], SOL[45.67122]

07875215                              USD[0.22]

07875229                              SOL[.00394514]

07875230                              DAI[10.85651546], DOGE[43.13431987], ETH[.00312592], ETHW[.00308488], USD[5.47]                                                                                                          Yes

07875234                              ETHW[.05], USD[0.81]

07875239                              BRZ[1], CUSDT[11], DOGE[5.04025232], LINK[0], TRX[0], USD[0.02], USDT[1.09072194]                                                                                                        Yes

07875242                              BTC[0], DOGE[.53916131], SOL[0.00083709], USD[0.00], USDT[0]

07875263                              DOGE[0], SHIB[3], USD[1.00]

07875270                              CUSDT[6], GRT[285.56532289], SHIB[1052659.94820001], TRX[1], USD[0.94]                                                                                                                   Yes

07875272                              BTC[0], SOL[0], USD[0.00], USDT[0]

07875273                              USD[0.80]

07875285                              USD[1.48]

07875286                              USD[20.00]

07875289                              BTC[0], ETH[0], ETHW[0], NFT (536991973748857403/Australia Ticket Stub #476)[1], SOL[0.00027547], USD[0.00]                                                                              Yes

07875295                              CUSDT[2], NFT (289285671001024128/BRAIN)[1], SOL[.06773612], USD[0.00]

07875296                              USD[0.00]

07875302                              ETH[3.9964], NFT (374856040781966950/2974 Floyd Norman - CLE 3-0273)[1], NFT (430934296922363865/The 2974 Collection #2868)[1], NFT (477635042848998790/Birthday Cake #2868)[1],
                                      SHIB[14788750], USD[4166.29]
07875305                              BTC[.05090228], ETH[.096903], ETHW[.096903], SOL[3.58641], USD[0.00], USDT[.5763202]

07875310                              USD[200.00]

07875312                              ETHW[.00018356], USD[0.81]

07875322                              USD[0.00]

07875323                              USD[4.76]

07875326                              USD[0.00], USDT[7.87]

07875341                              BRZ[2], BTC[.00000008], CUSDT[10], LINK[.00022455], SUSHI[.0008817], TRX[9], USD[0.00], USDT[1.06879240], YFI[.00000085]                                                                 Yes

07875343                              USD[0.00]

07875347                              DOGE[.2025984], USD[0.00]                                                                                                                                                                Yes

07875348                              USD[0.00], USDT[0.00392816]

07875349                              USD[2000.00]

07875350                              ETH[.012], ETHW[.012], USD[0.68]

07875351       Contingent, Disputed   USD[0.00]                                                                                                                                                                                Yes

07875354                              BTC[0], ETH[0], LTC[0.02111606], SOL[0], USD[0.00], USDT[0.00001096]

07875362                              SOL[0.00632624]

07875373                              USD[0.00]

07875374                              BTC[0], NFT (292739037765581704/Evening time )[1], NFT (360752457803604204/The merchant )[1], NFT (391933209454530296/Take Flight)[1], NFT (397760671159375376/Hedges )[1], NFT
                                      (401928154778376593/Say cheese ..... )[1], NFT (402984176211106642/Dark alley )[1], NFT (436940373705187955/Sunset surfers )[1], NFT (473424495271362611/Meditation )[1], NFT
                                      (495922114718266352/A venetian canal )[1], NFT (514385708517021593/A lonely day in the canal )[1], NFT (519083149653749022/The light switch )[1], NFT (558378040009026724/IPhone )[1],
                                      USD[33.26], USDT[0]
07875378                              SOL[.00000001], USD[6.51], USDT[.0492756]

07875380                              USD[0.10]

07875391                              SOL[0], USD[1.15]

07875399                              USD[0.00]                                                                                                                                                                                Yes

07875404                              BTC[.00029068]                                                                                                                                                                           Yes

07875406                              NFT (364867464362980412/Coachella x FTX Weekend 1 #7854)[1]

07875407                              USD[0.00]

07875408                              CUSDT[5], DOGE[2], SOL[1.42650756], TRX[2], USD[0.08]

07875411                              USD[0.00]

07875423                              ETH[0], MATIC[0], SOL[0], USD[0.00]

07875431                              SOL[.00871256], USD[0.01]

07875433                              USD[0.00]

07875435                              ETH[.00061732], ETHW[.00061732]

07875442                              SOL[.01767481], USD[0.00]

07875453                              USD[0.57]

07875454                              TRX[.000001], USDT[0]

07875458                              BTC[.0419], USD[4.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07875461                              SOL[.00157557], USD[0.00]

07875465                              BF_POINT[300]

07875469                              NFT (333504851971321521/Warriors Hoop #241 (Redeemed))[1], NFT (353256246435035649/GSW Western Conference Finals Commemorative Banner #705)[1], NFT (357367176637011162/GSW
                                      Western Conference Semifinals Commemorative Ticket #329)[1], NFT (404946821368334651/GSW Round 1 Commemorative Ticket #3)[1], NFT (424312455459913583/GSW Western Conference
                                      Finals Commemorative Banner #708)[1], NFT (435148709002034234/GSW Western Conference Semifinals Commemorative Ticket #328)[1], NFT (454156223362070720/GSW Western Conference
                                      Finals Commemorative Banner #707)[1], NFT (497638291165002886/GSW Round 1 Commemorative Ticket #318)[1], NFT (517324742967537086/Warriors Hoop #207 (Redeemed))[1], NFT
                                      (563689860587301315/GSW Western Conference Finals Commemorative Banner #706)[1], USD[0.00]
07875482                              ETHW[1.19695623], USD[168.64]

07875489                              DOGE[1207.35995559], SHIB[2731164.8387433]                                                                                                                                      Yes

07875492                              ETH[.00060964], ETHW[.00060964], USD[0.00]

07875498                              BCH[0], BRZ[0], BTC[0.00000001], DOGE[0], ETH[0], LINK[0], LTC[0], MKR[0], PAXG[0], SHIB[2], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00], USDT[0.00000038], YFI[0]              Yes

07875505                              ETH[.08886282], ETHW[.08886282]

07875522                              TRX[48539.96683014]                                                                                                                                                             Yes

07875524                              CUSDT[6], SOL[.14106064], USD[0.00]                                                                                                                                             Yes

07875526                              TRX[1], USD[0.00], USDT[1.00000913]

07875527                              BTC[0], LTC[0], SOL[0], SUSHI[0]

07875530                              DOGE[1], SHIB[1], USD[0.00]

07875540                              SOL[.01], USD[0.01], USDT[0]

07875558                              CUSDT[9], DOGE[22.05899209], SHIB[379777.10975211], SOL[.10911629], USD[0.01]                                                                                                   Yes

07875562                              USD[0.00]

07875565                              BTC[0], ETH[0], USD[4.99]

07875567                              BF_POINT[100], SOL[61.42951152], USD[0.00]                                                                                                                                      Yes

07875569                              DOGE[1], ETH[1.02158499], ETHW[1.02115581], SHIB[1], SOL[8.29666751], TRX[2], USD[0.00]                                                                                         Yes

07875570                              BTC[.00891435], USD[4.09]

07875574                              BF_POINT[100], CUSDT[1], MATIC[8.32470807], SHIB[163600.90647963], TRX[339.51091056], USD[0.00]                                                                                 Yes

07875576                              BTC[0], ETH[0], SOL[.00000001], USD[0.00], USDT[0.00023705]

07875580                              AVAX[.66573853], BRZ[2], CUSDT[2], NFT (537029053826117553/Warriors Gold Blooded NFT #154)[1], SHIB[1], SOL[.49454067], TRX[5], USD[0.00]                                       Yes

07875598                              SOL[.00009932], USD[0.00]

07875609                              USD[0.00]

07875621                              BTC[.09654259], ETH[2.04586855], ETHW[2.04500927], NFT (351788125806099632/Entrance Voucher #3164)[1]                                                                           Yes

07875625                              USD[0.00]

07875644                              ETH[0], SOL[0], TRX[.000169], USD[0.00], USDT[0.00001632]

07875651                              ETHW[0.00569284], LTC[0], SOL[0], USD[0.00]

07875681                              BAT[34.65677212], BRZ[2], BTC[.00407395], DOGE[19.92095545], ETH[.04835041], ETHW[.051701], SHIB[2615582.45332428], SOL[2.04507452], USD[391.69]                                Yes

07875692                              ETH[.00330717], ETHW[.00330717], USD[0.00]

07875701                              CUSDT[2], SHIB[805412.48992544], USD[0.00]                                                                                                                                      Yes

07875703                              NFT (470662551738485473/Microphone #8951)[1]

07875714                              BTC[0], SOL[0]

07875726                              ETH[.00000001], ETHW[0], SOL[0], USD[0.00], USDT[0.00001088]

07875729                              SOL[0], USD[2.36], USDT[.08005443]

07875731                              LTC[0]                                                                                                                                                                          Yes

07875740                              DOGE[2293.81931008]                                                                                                                                                             Yes

07875746                              ETH[0.00000001], ETHW[0], NFT (401378963318263455/NFT)[1], SOL[0.00000003], USD[0.00]

07875769                              SOL[.01319523], USD[0.00]

07875775                              TRX[2], USD[0.00]

07875791                              SHIB[1], TRX[208.69420038], USD[2.00]

07875802                              ETH[.02508613], ETHW[0.02508612]

07875813                              NFT (433995136330401611/2974 Floyd Norman - CLE 3-0185)[1], USD[0.00]

07875816                              NFT (515775622665358870/Microphone #10500)[1]

07875836                              CUSDT[2.00004481], TRX[280.64643989], USD[0.00]                                                                                                                                 Yes

07875838                              BF_POINT[200]                                                                                                                                                                   Yes

07875842                              ETHW[.00070944], SHIB[1], SOL[0], USD[0.03], USDT[0.00000002]

07875847                              BTC[0.00134978], DOGE[0], ETH[0], LINK[0], LTC[0], SHIB[0], SOL[0], SUSHI[0], USD[-13.31], USDT[0], YFI[0]

07875848                              ETH[0], ETHW[0], USD[0.00], USDT[0]                                                                                                                                             Yes

07875854                              SOL[1.11890195]

07875855       Contingent, Disputed   USD[0.00], USDT[0.25151148]

07875857                              BF_POINT[200], SOL[2.89385963]                                                                                                                                                  Yes

07875861                              BRZ[8.33566486], BTC[.00000021], CUSDT[31], DOGE[6], ETH[.00000266], ETHW[.39201243], SHIB[14], SOL[.00012605], TRX[11], USD[1.90], USDT[1.01163796]                            Yes

07875863                              NFT (356551886309182727/2496)[1]

07875876                              CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                     Yes
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07875903                              NFT (397878233903699953/Entrance Voucher #3192)[1], USD[0.84]

07875905                              NFT (350781188632964376/The Hill by FTX #3409)[1]

07875910                              BTC[.00039859], CUSDT[2], DOGE[20.75006591], GRT[6.32265393], SUSHI[.9298772], TRX[103.79824776], USD[0.00]

07875916                              NFT (390860695453334142/2463)[1]

07875919                              USD[200.00]

07875924                              CUSDT[0], DOGE[0], ETH[0.00000001], ETHW[0], MATIC[0], USD[0.00], USDT[0]                                                    Yes

07875953                              CUSDT[4], DOGE[5], ETH[.00000001], ETHW[0.88305029], SHIB[3], SOL[.00009739], TRX[3], USD[0.00]                              Yes

07875955                              SOL[0], USD[0.00]

07875966                              USD[0.00], USDT[0.00000001]

07875973                              BTC[0.00006978], USD[0.28]

07875982                              SOL[0]

07876001                              SOL[5.23522505], USD[0.01]

07876007                              NFT (519709111729944242/Bull #1288)[1]

07876008                              SOL[.00010309], USD[0.07], USDT[.00000001]                                                                                   Yes

07876016                              BTC[0.00078139], ETH[0.00001392], ETHW[0.00001392], USD[0.00]

07876020                              ETH[0], ETHW[0], SOL[0], USD[0.29]

07876024                              USD[21.51]                                                                                                                   Yes

07876025                              USD[0.00]                                                                                                                    Yes

07876033                              BTC[0], SOL[0], USD[0.00]

07876036                              ETHW[0.00020852], LTC[.00008727], USD[124.08]                                                                                Yes

07876045                              CUSDT[2], MATIC[0], TRX[2], USD[0.00]                                                                                        Yes

07876048                              USD[0.01]

07876065                              TRX[.000001], USD[0.25], USDT[200]

07876068                              BTC[.0001]                                                                                                                   Yes

07876081                              NFT (324466286382171874/Entrance Voucher #29575)[1], USD[1.12]

07876082                              USD[0.01]

07876083                              USD[20.00]

07876091                              SOL[2.19]

07876095                              BTC[0], LINK[187.6122], MATIC[930], USD[0.00], USDT[0]

07876111                              NFT (486068741615746896/Bahrain Ticket Stub #1477)[1]

07876120                              SOL[0]

07876121                              CUSDT[1], MATIC[.00071313], USD[0.00]                                                                                        Yes

07876128                              USD[0.00]

07876144       Contingent, Disputed   BTC[0], USD[0.84]

07876152                              USD[0.00]

07876163                              NFT (530902638398943255/Cool Bean #468)[1], SOL[.115]

07876180                              BCH[0]                                                                                                                       Yes

07876182                              DOGE[1], USD[0.00]                                                                                                           Yes

07876184                              SOL[.00027983], USD[4.98]

07876203                              CUSDT[6479.34819342], DOGE[1], KSHIB[1442.4032], TRX[1], USD[0.00]

07876209                              USD[1.59]

07876223                              USD[0.00]

07876230                              CUSDT[5], DOGE[407.38099894], NFT (563715748626172676/Vox Punk #7)[1], TRX[3], USD[0.00]                                     Yes

07876246                              CUSDT[1], USD[0.00]                                                                                                          Yes

07876249                              SOL[.00301749], USD[0.00]

07876255                              NFT (359826460381741403/Warriors 75th Anniversary Icon Edition Diamond #573)[1]

07876261                              USD[0.76]

07876262                              USD[0.01], USDT[498.05]

07876263       Contingent, Disputed   USD[0.00], USDT[0.00000014]

07876270                              SUSHI[.00000995], USD[13.77], USDT[0]                                                                                        Yes

07876277                              USD[0.00]                                                                                                                    Yes

07876278                              USD[0.23], USDT[0]

07876281                              NFT (364618538570674715/FTX - Off The Grid Miami #57)[1], NFT (474515088450381661/Miami Grand Prix 2022 - ID: C568FC96)[1]

07876284                              NFT (478015302104359763/Imola Ticket Stub #2212)[1]

07876293                              SOL[.13], USD[1.38]

07876300                              BTC[.00290452]                                                                                                               Yes

07876302                              USD[0.00]

07876313                              BTC[0], SOL[.03425622], USD[0.00], USDT[0]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07876319                              DOGE[1], ETH[.00000001], ETHW[0.71747861], SHIB[6], SOL[.00000001], TRX[2], USD[10033.07]                                                                                                Yes

07876323                              ETH[0], ETHW[0]

07876325                              NFT (542851356518218723/Australia Ticket Stub #427)[1], USDT[0]

07876345                              AVAX[0], USD[0.00]

07876346                              CUSDT[5], GRT[146.07340798], MATIC[.00000204], SHIB[3563767.2473773], USD[1268.36]

07876350                              BTC[.00218079], CUSDT[1], USD[35.12]

07876356                              USD[10.92]                                                                                                                                                                               Yes

07876364                              USD[360.66]

07876380                              BRZ[3], CUSDT[5], DOGE[.00814601], SHIB[742654.50995285], TRX[4], USD[85.85]                                                                                                             Yes

07876383                              SOL[.1]

07876385       Contingent, Disputed   USD[0.01]

07876400                              DOGE[0], USD[0.09]

07876402                              USD[0.02]                                                                                                                                                                                Yes

07876409                              SOL[.0000926], USD[0.00]

07876410                              AVAX[0], BCH[0], BTC[0], DAI[0], ETH[0.00000001], KSHIB[0], MATIC[0], PAXG[0], SHIB[0], SOL[0], USD[416.88], USDT[0]                                                                     Yes

07876412                              BTC[.00480867], CUSDT[4], DOGE[1483.09222212], ETH[.13268471], ETHW[.13268471], GRT[221.69741025], LTC[.49682307], SHIB[4456338.98573975], SOL[.28070459], SUSHI[8.25086343],
                                      TRX[2338.06225684], USD[0.00], YFI[.00444608]
07876417                              BRZ[1], BTC[.00146191], DOGE[1], ETH[.02272906], ETHW[.02244206], USD[0.00]                                                                                                              Yes

07876419                              USD[0.00]                                                                                                                                                                                Yes

07876426                              USD[0.42]

07876427                              CUSDT[1], USD[0.00]

07876431                              USD[0.59]

07876432                              ETH[.03140095], ETHW[.03140095], SOL[0], USD[0.00]

07876433                              USDT[.22223]

07876440                              AAVE[.0036], AVAX[.0991], BAT[.6], BTC[.00000462], DOGE[.378], ETH[.000116], ETHW[.000269], GRT[.7288], KSHIB[2], LINK[.06972], MATIC[9.306], SOL[.00124], SUSHI[.1536], TRX[.9024],
                                      UNI[.092], USD[0.00], USDT[0]
07876443       Contingent, Disputed   USD[0.00]                                                                                                                                                                                Yes

07876457                              USD[21.84]                                                                                                                                                                               Yes

07876467                              USD[0.00]                                                                                                                                                                                Yes

07876479       Contingent, Disputed   USD[306.34]                                                                                                                                                                              Yes

07876486                              CUSDT[2], DOGE[366.31355627], SHIB[3637252.46891746], SUSHI[31.41965708], USD[75.00]

07876495                              USD[0.08]

07876499                              SOL[0], USD[0.00]

07876503                              ETH[0], SOL[0], USD[0.00]

07876505                              BAT[1], BTC[.00000033], MATIC[1.01827451], SUSHI[1.06777524], TRX[2], USD[0.24], USDT[0.00000001]                                                                                        Yes

07876506                              BTC[0], USD[0.00], USDT[0.00000154]

07876510                              ETH[0]

07876512                              CUSDT[1], SHIB[1517028.04434117], USD[434.58]                                                                                                                                            Yes

07876548                              SOL[.00814268], USD[0.00]

07876550                              BRZ[1], CUSDT[3], GRT[705.83880719], TRX[2], USD[0.00]                                                                                                                                   Yes

07876565                              CUSDT[1], SHIB[1], USD[0.00], USDT[0]                                                                                                                                                    Yes

07876579                              ETHW[2.352106], USD[2.48], USDT[0]

07876580                              BTC[.00000006], CUSDT[6], DOGE[2], SHIB[801917.01717025], USD[0.00]                                                                                                                      Yes

07876584                              USD[9577.91]

07876585                              USD[0.00]

07876594                              SOL[0]

07876600                              ETH[2.481], ETHW[2.481], MATIC[400], SOL[502.20336], USD[10.94]

07876601                              AAVE[0], AVAX[0], BCH[0], BTC[0], CUSDT[0], DOGE[0], ETH[0.00000092], ETHW[0.04999300], GRT[2.18098398], LINK[.00001604], MATIC[0], NEAR[.00000637], SHIB[4], SOL[0.00000047], TRX[1],   Yes
                                      USD[0.00], USDT[0.00000006]
07876602                              USD[0.04], USDT[0]

07876612                              SOL[.0075813], USD[0.00]

07876615                              USD[42.54]

07876622                              NFT (473605836873508636/Coachella x FTX Weekend 2 #10233)[1]

07876626                              ETH[0], SOL[0], USD[0.00]

07876635                              USD[20.00]

07876639                              NFT (337654133454661085/Austin Ticket Stub #34)[1], NFT (340363340770759087/2974 Floyd Norman - CLE 2-0253)[1], NFT (344599200030243955/The 2974 Collection #0703)[1], NFT
                                      (384815582140055086/FTX - Off The Grid Miami #859)[1], NFT (420420566309710231/Japan Ticket Stub #138)[1], NFT (437979367270882389/Entrance Voucher #26763)[1], NFT
                                      (518365191882249046/Singapore Ticket Stub #147)[1]
07876640                              USD[0.54]

07876644                              NFT (301651169587441892/Coachella x FTX Weekend 1 #25520)[1]

07876649                              AAVE[.15646868], ETH[.2090895], ETHW[.2090895], LINK[3.16907714], SOL[3.83723], USD[0.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07876664                              ETH[0], ETHW[.025], NFT (290787914895415534/Reincarnation #4)[1], NFT (363451215757488121/Green Woman #2)[1], NFT (366197899625843698/Microphone #249)[1], NFT
                                      (427330944022877706/Love of Woman #13)[1], NFT (487405747062353668/Shining Woman)[1], NFT (502889861089045942/Floating Woman)[1], NFT (542575924482227832/Pink Woman )[1], NFT
                                      (573970949099572984/Red Woman )[1], USD[1.00], USDT[0]
07876667                              DOGE[1], ETHW[.0566522], USD[168.86]

07876675                              USD[0.01]

07876678                              CUSDT[3], ETH[.01273312], ETHW[.01257093], SHIB[2], SOL[.78364857], TRX[1], USD[0.00]                                                                                              Yes

07876685                              USD[0.00]

07876689                              USD[0.00]                                                                                                                                                                          Yes

07876693                              BTC[.06950048], ETH[.33449616], ETHW[.33449616], USD[0.00]

07876696                              TRX[13.49339]

07876702                              DOGE[0], ETH[0], NFT (354879991079937427/Bahrain Ticket Stub #431)[1], SOL[0], USD[0.00]

07876708                              MATIC[1.18632701], USD[3.00]

07876715                              BAT[2.07743417], BTC[.02905775], CUSDT[5], DOGE[11.48476708], ETHW[1.1467723], TRX[7], USD[34.84]                                                                                  Yes

07876720                              USD[0.00]

07876723                              CUSDT[1], SOL[.53986564], USD[0.00]                                                                                                                                                Yes

07876737                              USD[0.00]

07876738                              ETH[0.00000001], ETHW[0.00000001]

07876742                              SOL[0]

07876759                              BCH[.0173294], USD[0.00]                                                                                                                                                           Yes

07876766                              CUSDT[2], DOGE[1], TRX[559.05138513], USD[0.01]                                                                                                                                    Yes

07876767                              USD[0.00]

07876771                              SOL[.93993]

07876784                              ETH[0]

07876824                              TRX[2145.533481]

07876825                              USD[109.19]                                                                                                                                                                        Yes

07876838                              NFT (297547994335776687/LIVING IT)[1], NFT (370828984873939253/Money & Power #7)[1], NFT (386847181709470841/Money & Power #3)[1], NFT (415513737876304846/Money & Power #5)[1],
                                      NFT (505697253464760352/Money & Power #2)[1], NFT (539341433440213627/Money & Power #9)[1], NFT (560595450331374416/Money & Power #4)[1], NFT (572144044555561958/Money & Power
                                      #6)[1], SOL[.29504212], USD[0.00]
07876840                              SOL[0], USD[0.00], USDT[0]

07876851       Contingent, Disputed   USD[0.00], USDT[0.00000020]

07876852                              CUSDT[1], GRT[1], USD[0.01]

07876858                              GRT[1], SOL[2.79015954], USD[0.00]

07876860                              SOL[.01997], USD[1.83]

07876862                              BTC[.00210709], DOGE[582.41679354], ETH[0.05545210], ETHW[0.05476507], NFT (417716567978899056/Coachella x FTX Weekend 2 #17355)[1], TRX[1], USD[0.00]                             Yes

07876872                              NFT (390129647121228655/FTX - Off The Grid Miami #5747)[1]

07876876                              BTC[0.00002867], ETH[.00038102], ETHW[.00038102]

07876877                              USD[500.00]

07876885                              ETH[0.00077092], SOL[0.00861404], USD[514.32]

07876894                              BF_POINT[200], BTC[.00000118], ETH[.00001581], ETHW[0.00001581], USD[0.01]

07876901                              AAVE[.00274], AVAX[.0975], BTC[.0000511], DOGE[.778], ETH[0], ETHW[.00051], SHIB[25700], USD[4.01], USDT[.00769301]

07876906                              USD[10.45]                                                                                                                                                                         Yes

07876912                              BAT[100], ETH[.098], ETHW[.098], USD[0.92]

07876917                              NFT (369805353933257937/Coachella x FTX Weekend 2 #7666)[1], NFT (489041773861884939/BlobForm #104)[1]

07876925                              BTC[.0010985], DOGE[528.312], ETH[.028933], ETHW[.028933], SOL[.78279], USD[1.35]

07876929                              TRX[.739716], USD[0.01], USDT[0]

07876935                              BAT[5.36162761], CUSDT[5], DOGE[6.00076719], GRT[3.06957758], MATIC[210.46972287], SOL[.00000001], SUSHI[1.06813923], TRX[5], UNI[1.07618007], USD[0.01], USDT[4.29971417]         Yes

07876940                              LTC[.02414119]

07876945                              BTC[.0002992], CUSDT[6], DOGE[.35112565], GRT[14.59029079], KSHIB[.03720656], TRX[104.0185726], USD[0.00]                                                                          Yes

07876948                              USD[55.00]

07876969                              BAT[1], CUSDT[1], GRT[1], SHIB[4], TRX[2], USD[0.00]                                                                                                                               Yes

07876979                              BTC[0], ETH[0], LINK[0], USD[0.00]                                                                                                                                                 Yes

07876988                              BTC[0], MATIC[0]                                                                                                                                                                   Yes

07876994                              BTC[.00448442], USD[0.00]

07877006       Contingent, Disputed   TRX[.011988], USD[0.00], USDT[0]

07877009                              NFT (480613564629816321/Coachella x FTX Weekend 1 #16528)[1]

07877012                              SOL[40.681316], USD[662.83]

07877019                              SOL[.00000464], USD[0.00]

07877021                              SOL[.41958], USD[2.00]

07877034                              USD[0.00], USDT[0]

07877040                              BAT[2.09025127], CUSDT[1], DOGE[2], GRT[3.0938921], TRX[5], USD[0.00], USDT[0.00029404]                                                                                            Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07877054                              ETH[0], ETHW[0], SOL[0], USD[0.00], USDT[0]

07877056                              ETH[.00021987], ETHW[.00021987], USD[0.00]                                                                                                                                         Yes

07877058                              BAT[1], USD[0.00]                                                                                                                                                                  Yes

07877063                              BTC[0], CUSDT[14], DOGE[1], ETH[0], MATIC[0], SHIB[13390.26110824], SOL[0], USD[0.00], YFI[0]

07877066                              USD[54.38]

07877070                              KSHIB[52.93009843], NFT (322982779818530659/Dosis #8)[1], SOL[.00000092], USD[0.22], USDT[0]

07877088                              USD[0.47]

07877089                              USD[1.05]

07877094                              NFT (510594849727853148/Imola Ticket Stub #2338)[1]

07877100                              USD[1.16]

07877113                              MATIC[19.97], USD[2.92]

07877116                              SHIB[146118.42039539], USD[0.01]

07877120                              SOL[3.34729889], USD[0.00]

07877153       Contingent, Disputed   NFT (360704862828832694/Saudi Arabia Ticket Stub #2142)[1]

07877174                              BTC[.000048], SUSHI[.172], USD[0.00]

07877177                              USD[54.61]                                                                                                                                                                         Yes

07877184                              BRZ[1], BTC[.00824798], CUSDT[4], DOGE[880.01803733], ETH[.07969393], ETHW[.07870838], USD[0.00]                                                                                   Yes

07877208                              USD[0.00]

07877218                              USD[1.00]

07877219                              SOL[0.00404983], USD[0.00]

07877223                              USD[0.97]

07877231                              BTC[0.00207880], CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                      Yes

07877233                              USD[0.00]

07877241                              NFT (559711574568581131/Imola Ticket Stub #1514)[1], USD[0.00]                                                                                                                     Yes

07877243                              ETH[.00155466], ETHW[.00155466], USD[0.20]

07877244                              ETH[0], TRX[.000001], USDT[.9490098]

07877252       Contingent, Disputed   USD[0.00]

07877259                              USD[0.00]

07877265                              ETHW[6.356908], USD[85250.83], USDT[0]

07877275                              USD[4.84]

07877280                              NFT (385816187352795931/Entrance Voucher #3663)[1], SOL[0], USD[0.00], USDT[0]

07877281                              SOL[100]

07877286                              SHIB[116229.04823989], SOL[0], USDT[0]

07877288                              NFT (476209484417624875/Imola Ticket Stub #12)[1], USD[0.00]

07877299                              SHIB[1699300], USD[0.08]

07877305                              CUSDT[1], DOGE[2], USD[0.00]                                                                                                                                                       Yes

07877312                              ETH[0], SOL[1.58525456], USD[0.00]

07877319                              BTC[.00842864], DOGE[37.08567283], KSHIB[17.36323629], MATIC[10.41523061], SHIB[17358.0975525], SOL[.11178062], USD[446.00]

07877324                              USD[0.00]

07877326                              AAVE[.04027182], BCH[.03400265], BTC[.00032667], CUSDT[9], DOGE[119.01766796], ETH[.00274489], ETHW[.00271507], GRT[23.46179669], LINK[2.16304785], LTC[.05783985],                Yes
                                      MATIC[7.1607062], SHIB[1018376.66330938], USD[0.00], YFI[.00093699]
07877330                              USD[50.01]

07877341                              SHIB[100000], USD[4.05]

07877347                              BTC[.39074801], ETH[3.0142847], ETHW[3.0142847], USD[2099.06]

07877357                              CUSDT[2], DOGE[1], TRX[1], USD[0.01]                                                                                                                                               Yes

07877359                              GRT[1.998], KSHIB[499.5], MATIC[40], SHIB[199800], USD[19.99]

07877360                              USD[50.00]

07877366                              BTC[.01091077], USD[1069.20]                                                                                                                                                       Yes

07877367                              SOL[0], USD[0.00]

07877369                              USD[1.06]

07877373                              ETHW[.00044084], USD[0.62]                                                                                                                                                         Yes

07877375                              USD[39.23]

07877380                              BTC[.01419532], SHIB[1], TRX[1], USD[0.01]                                                                                                                                         Yes

07877381                              USD[0.00]

07877382                              CUSDT[2], GRT[2.04691604], NFT (303115218172691246/MagicEden Vaults)[1], NFT (333710684783781682/Cyber Frogs Ramen)[1], NFT (388074248636885279/MagicEden Vaults)[1], NFT          Yes
                                      (413308443794399719/Eitbit Ape #102)[1], NFT (421594994421356655/Frog #6441)[1], NFT (424380082803732232/MagicEden Vaults)[1], NFT (525534241195800071/MagicEden Vaults)[1], NFT
                                      (570324062273049667/MagicEden Vaults)[1], NFT (575111372215262671/Frog #8281)[1], SHIB[1], TRX[1], USD[81.00]
07877384                              USD[0.00]

07877393                              ETH[.000948], ETHW[.051948], USD[65.83]

07877402                              SHIB[8600000], SOL[1], USD[13.04]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07877409                           BTC[.2860714], ETH[1.17124104], ETHW[1.17124104], USD[0.00]

07877428                           SOL[.11342973]

07877433                           NFT (568474085868302929/Hall of Fantasy League #261)[1]

07877439                           NFT (531554056968228028/Contemporary #10)[1], USD[0.82], USDT[0.00000001]

07877442                           BRZ[1], CUSDT[3], DOGE[4.01833476], TRX[3], USD[0.00], USDT[1.08800305]                                                                                                                    Yes

07877454                           NFT (485056961904014595/*EXCHANGE OFFER - EXCHANGE.ART)[1], SOL[.25], USD[0.45]

07877464                           SOL[.00000001]                                                                                                                                                                             Yes

07877474                           USD[0.00]

07877476                           BTC[.01702581], DOGE[27.29844468]                                                                                                                                                          Yes

07877490                           BTC[0.00015892], SOL[2.92]

07877502                           ETH[.20352423], ETHW[.20331334], USD[656.22]                                                                                                                                               Yes

07877505                           SUSHI[0], USD[9.04], USDT[.97128143]

07877509                           CUSDT[1], LINK[1.04537987], NFT (350120967465080073/Tim Brown's Playbook: San Diego Chargers vs. Los Angeles Raiders - September 4, 1988 #68)[1], NFT (368144962711811308/Marcus Allen's
                                   Playbook: Seattle Seahawks vs. Los Angeles Raiders - October 7, 1984 #75)[1], NFT (552761783133988287/Tim Brown's Playbook: Michigan State vs. Notre Dame - September 19, 1987 #69)[1],
                                   USD[3.02]
07877510                           NFT (415849629364536578/Cool Bean #5)[1], NFT (497678015163949612/Cool Bean #1594)[1], NFT (540306506802710235/Cool Bean #2107)[1], SOL[0], USD[0.00]

07877517                           CUSDT[1484.96721529], DOGE[1], KSHIB[217.84455879], SHIB[1264721.46849848], TRX[2723.00472316], USD[26.37]                                                                                 Yes

07877525                           USD[20.00]

07877542                           SOL[3.43464401], TRX[2], USD[0.00], USDT[1.07818393]                                                                                                                                       Yes

07877543                           BTC[.00000055], DOGE[5], ETHW[.3062315], SHIB[28], TRX[4], USD[51.37], USDT[0]                                                                                                             Yes

07877546                           BTC[.01486031], CUSDT[14], DOGE[1], ETH[.21420623], ETHW[.1255223], SHIB[2907663.21161068], TRX[3], USD[0.00]                                                                              Yes

07877550                           BTC[.050354], SOL[9.88111], USD[113.61]

07877555                           CUSDT[1], TRX[1], USD[0.01]                                                                                                                                                                Yes

07877562                           BF_POINT[300], BTC[.0013032], SOL[0], TRX[1], USD[0.00]                                                                                                                                    Yes

07877566                           CUSDT[5], DOGE[1], USD[0.00]

07877567                           BTC[0], DOGE[.33322464], SOL[0], USD[2.07]

07877572                           USD[21.51]                                                                                                                                                                                 Yes

07877577                           ALGO[.5127725], BAT[.00002369], BTC[.00002058], GRT[4], NEAR[.04757898], NFT (490127053794952730/Entrance Voucher #2619)[1], SHIB[70137.96701393], SOL[.00757482], TRX[3],                 Yes
                                   UNI[.00000791], USD[0.47], USDT[1.01892057]
07877581                           CUSDT[241.94118682], DOGE[2], GRT[1], USD[0.00]

07877586                           USD[0.00], USDT[0]

07877590                           BTC[.08713079], CUSDT[1], DOGE[4158.58142291], ETH[.98522265], ETHW[.98480881], GRT[1], KSHIB[27896.76133944], TRX[5], UNI[.00037816], USD[0.42], USDT[1.08212990]                         Yes

07877606                           SOL[.00005158], USD[0.00]

07877615                           CUSDT[1255.08591581], TRX[1220.74215679], USD[31.45]                                                                                                                                       Yes

07877618                           DOGE[2], SHIB[9], TRX[1], USD[60.57], USDT[0]                                                                                                                                              Yes

07877625                           NFT (546541393474366997/CactiSOL #10)[1], USD[4.09]

07877641                           USD[0.00]

07877649                           BRZ[2], BTC[.00082479], ETH[.01210378], ETHW[.0119533], USD[63.25]                                                                                                                         Yes

07877651                           DAI[842.9562], SOL[84.915]

07877665                           DOGE[205.91633982], LTC[.35269749], USD[22.82]

07877678                           BTC[0.00002287], SOL[0]

07877709                           USD[545.93]                                                                                                                                                                                Yes

07877719                           NFT (320950689947522104/Birthday Cake #1245)[1], NFT (359281056624947186/The 2974 Collection #1245)[1], NFT (571931560614766676/2974 Floyd Norman - CLE 5-0280)[1], USD[11.00]

07877722                           BTC[0], CUSDT[3], TRX[1], USD[0.00]

07877734                           AAVE[8.35874537], BTC[.02250342], CUSDT[7], DOGE[115.93893173], ETH[.00399753], ETHW[.00394281], GRT[668.54082716], LTC[.07913096], MATIC[1388.10585403], PAXG[.31174822],                 Yes
                                   SHIB[1], SOL[1.09502607], TRX[1], USD[4207.88]
07877736                           BF_POINT[300], CUSDT[3], ETH[0], SHIB[1], USD[0.00]                                                                                                                                        Yes

07877749                           ETHW[1.07593792], SOL[4.9955], USD[0.41]

07877752                           BTC[.00080077], ETH[.03970229], ETHW[.03970229], SOL[2.29504024], USD[0.00], USDT[49.74025143]

07877755                           USD[0.00]

07877756                           BRZ[2], CUSDT[4], DOGE[3], MATIC[.00099124], NFT (395890194909211921/SolToadz #6686)[1], SHIB[6], SOL[.00011177], TRX[2], USD[0.00], USDT[1.0439996]                                       Yes

07877758                           BTC[.0077], USD[13.27]

07877759                           CUSDT[1], ETHW[.14778867], USD[0.00]                                                                                                                                                       Yes

07877761                           SHIB[330153.58608493], USD[0.11]

07877763                           USD[1.76]

07877766                           DOGE[3], GRT[2], SHIB[3105815.79402231], TRX[1], USD[674.30]

07877772                           USD[0.15]

07877773                           CUSDT[1], TRX[1], USD[0.01], USDT[0]                                                                                                                                                       Yes

07877774                           DOGE[.78080551], USD[0.00]

07877781                           ETH[0], ETHW[0], USD[1.32], USDT[0]

07877783                           SOL[.46051581], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07877784                           BTC[0], USD[0.00]

07877787                           SOL[0], USD[0.00]

07877791                           SHIB[142826.96629097], USD[0.00]                                                                                                                                                        Yes

07877794                           BRZ[1], BTC[0], CUSDT[2], DOGE[1], ETH[0]

07877796                           NFT (399432705025213673/Entrance Voucher #2618)[1], SHIB[0], USD[0.10]

07877805                           UNI[20], USD[0.00], USDT[295.46741505]

07877820                           BTC[0], DOGE[1.10485509], ETH[0], LINK[0], MATIC[.00000001], SOL[0], USD[0.00]                                                                                                          Yes

07877824                           BTC[0], SOL[.00976], USD[1.93]

07877829                           SHIB[30609.10375275], USD[0.00], USDT[0]

07877836                           CUSDT[1], LTC[.24061642], USD[0.00]                                                                                                                                                     Yes

07877838                           USD[0.80], USDT[0]

07877841                           USD[0.07], USDT[0]

07877842                           LINK[8.00489027], SHIB[536268.73256372], USD[0.00]                                                                                                                                      Yes

07877848                           DOGE[399], USD[0.38]

07877853                           BF_POINT[300]                                                                                                                                                                           Yes

07877856                           BTC[.01756317], CUSDT[2], NFT (294957461282545004/Earl Campbell's Playbook: Rice vs. Texas - October 1st, 1977 #110)[1], SOL[.17902067], USD[0.21]                                      Yes

07877861                           BTC[.00014966], CUSDT[1], DOGE[2], ETH[.00161961], ETHW[.00160593], GRT[11.18990068], MATIC[4.18089258], NEAR[2.99293068], SOL[.14662545], SUSHI[1.07299863], TRX[107.64967972],        Yes
                                   USD[15.15], USDT[10.82560866]
07877872                           USD[15.43]                                                                                                                                                                              Yes

07877877                           ETH[0.00001335], USD[0.00]                                                                                                                                                              Yes

07877878                           BRZ[1], CUSDT[1], DOGE[1], MATIC[76.61766912], SHIB[1764459.57442979], SUSHI[20.92987794], USD[0.00]                                                                                    Yes

07877883                           BRZ[2], CUSDT[5], GRT[274.03960813], LINK[16.10497367], NEAR[3.22142773], SHIB[4], SOL[8.56814194], TRX[1130.75236291], USD[0.00]                                                       Yes

07877886                           USD[0.00]

07877887                           SOL[.08801934], USD[0.00]

07877888                           DOGE[0], NFT (444318607738261245/Saudi Arabia Ticket Stub #228)[1], SHIB[0], SOL[0], USD[1.18]

07877892                           CUSDT[2], USD[0.00]

07877902                           BTC[0], ETH[0], USD[10.55], USDT[0.00000721]

07877904                           SOL[38.78132323], USD[8502.67]

07877912                           BAT[1], BTC[.06910511], USD[0.00]                                                                                                                                                       Yes

07877929                           USD[0.00]

07877933                           BTC[.00128841], SOL[.53007962], USD[0.00]

07877946                           AVAX[1.59641568], SOL[1.80511691], USD[0.00]

07877956                           USD[0.00], USDT[0.00614500]

07877957                           NFT (469112633740870871/Coachella x FTX Weekend 1 #25021)[1]

07877961                           ETH[.000648], ETHW[.000648], SOL[.00811], USD[0.23]

07877968                           SOL[.00001304]                                                                                                                                                                          Yes

07877972                           ETH[0], SOL[0], USD[2.79]

07877978                           ETHW[7.24152822], USD[0.00], USDT[4.81798828]

07877988                           USD[0.01]

07877991                           ALGO[466], AVAX[24], BTC[.048251], LINK[27.7], MATIC[2158.51], NEAR[29.2], NFT (517435669321125785/DRIP NFT)[1], SOL[.00301], SUSHI[149], TRX[.011594], USD[400.14], USDT[0.00350001]

07878013                           USD[20.00]

07878018                           CUSDT[1], SUSHI[25.5476566], USD[816.34]                                                                                                                                                Yes

07878026                           BTC[.00011829], SHIB[1598400], USD[0.00]

07878048                           BTC[0], SOL[4.13449497], USD[0.00], USDT[0]

07878051                           USD[0.00]

07878055                           DOGE[2], MATIC[9.26882322], USD[9.59]                                                                                                                                                   Yes

07878058                           TRX[0], USD[0.00]

07878063                           BAT[14], USD[5.44], USDT[9.82017]

07878083                           SOL[.16084611], USD[0.00]

07878085                           ETH[.00000001], ETHW[0], USD[0.00]

07878102                           BTC[.0000305], SOL[.0026282], USD[3287.21]

07878108                           ETH[.10699711], ETHW[.10699711], TRX[1], USD[0.00]

07878109                           BRZ[3], CUSDT[2], SHIB[2682333.63517217], TRX[1], USD[0.00]                                                                                                                             Yes

07878116                           TRX[.000902], USD[0.00], USDT[0.00305500]

07878136                           USD[0.01]

07878145                           SOL[.00366244], USD[15.00]

07878157                           USD[20.00]

07878172                           USD[0.00], USDT[0]

07878173                           SOL[1.71], USD[0.23]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07878177                              DOGE[1], NFT (409820244018564386/Warriors Gold Blooded NFT #816)[1], NFT (482827337836585705/Coachella x FTX Weekend 1 #4075)[1], SOL[3.40638230]                                Yes

07878212                              ALGO[1.602], ETHW[.39], USD[1.95]

07878215                              AAVE[.52909975], BTC[.05322541], CUSDT[3], DOGE[1], ETH[.39560783], ETHW[.39544177], SOL[9.28284703], USD[0.00]                                                                  Yes

07878218                              USD[0.00]

07878220                              USD[0.00]

07878223                              SOL[.0025481], USD[39.97]

07878239                              USD[76.26]

07878240                              USD[20.00]

07878242                              BTC[0], TRX[.011173], USD[0.72], USDT[0]

07878243                              BTC[.00361871], CUSDT[1], DOGE[1.00004763], ETH[.00314789], ETHW[.00310685], SHIB[127978.96776115], SOL[.06873395], USD[0.00]                                                    Yes

07878244                              USDT[0.00034092]

07878246                              BRZ[1], BTC[.00104687], CUSDT[12.02118814], DOGE[8.27747963], ETH[.00240932], ETHW[.00238196], GRT[1], LINK[65.6120033], MATIC[.00450321], SOL[3.98830567], TRX[7], USD[0.07],   Yes
                                      USDT[0]
07878263                              CUSDT[1], SHIB[9080581.48641479], USD[0.00]                                                                                                                                      Yes

07878267                              BCH[0], USD[0.02]

07878273       Contingent, Disputed   BTC[.25131817], DOGE[26697.42747257], ETH[1.60839577], ETHW[1.60772031]                                                                                                          Yes

07878277                              CUSDT[1], SOL[.07417003], USD[0.00]                                                                                                                                              Yes

07878278                              USD[0.00]

07878279                              BTC[.00449989], CUSDT[4], SOL[1.01593202], TRX[1], USD[0.01]                                                                                                                     Yes

07878280                              USD[0.00]

07878289                              USD[0.00]

07878306                              USD[5.82]

07878315                              BTC[0.00303601], USD[37.15]

07878317                              SHIB[.02673392], USD[0.00]

07878345                              NFT (292810937479313830/Australia Ticket Stub #1668)[1], USD[501.67]

07878346                              ETH[0], ETHW[0], SOL[0]

07878360                              NFT (575349319078921620/Coachella x FTX Weekend 1 #20941)[1]

07878361                              ETH[.00071822], ETHW[.00071822], TRX[.577457], USD[0.00], USDT[0]

07878405                              BF_POINT[800], USD[1.11]

07878409                              USD[0.00]

07878419                              USD[241.62]

07878422                              USD[0.23]

07878466                              ETH[0], USD[0.00]

07878471                              USD[0.08]

07878472                              DOGE[1], ETH[.00000022], ETHW[.00000022], NFT (314195343104997862/FTX Crypto Cup 2022 Key #25069)[1], SHIB[2], USD[51.64]                                                        Yes

07878473                              CUSDT[4], DOGE[63.9840923], USD[0.45]

07878496       Contingent, Disputed   USD[0.00], USDT[0]

07878504                              USD[0.81]

07878511                              NFT (371688022916537627/Bahrain Ticket Stub #160)[1], SOL[.00000001]

07878514                              USD[0.00]

07878538                              ETH[.00353571], ETHW[.00349467], USD[8.37]                                                                                                                                       Yes

07878540                              USD[0.00]

07878561                              NFT (439302421948917082/The Hill by FTX #379)[1]

07878563                              ETH[0], ETHW[0], LINK[0], USD[0.00]

07878569                              USD[4.44]

07878573                              BTC[0], GRT[0], USD[0.00]

07878606                              CUSDT[1], USD[0.68], USDT[.00915979]                                                                                                                                             Yes

07878614                              BTC[.05924433], ETH[2.17476441], ETHW[2.17476441], LINK[25.48761104]

07878621                              ETH[0], SOL[0.08213468], USD[0.00]

07878629                              USD[0.00]

07878641                              BRZ[1], CUSDT[7], DOGE[9571.62253773], ETH[.29316905], ETHW[.29297609], SOL[1.70705631], TRX[1], USD[0.00]                                                                       Yes

07878645                              BTC[.0178512], ETH[.064], ETHW[.064], MATIC[9.89], SOL[3.26431], USD[0.02], USDT[0.44087830]

07878648                              BTC[.00000001], CUSDT[8], DOGE[1], SHIB[4], TRX[3], USD[0.00]                                                                                                                    Yes

07878663                              NFT (348218451139531119/Microphone #1591)[1]

07878666                              ETH[0], USD[0.00]

07878700                              ETHW[.257], MKR[.115], SOL[1.92], SUSHI[44.4555], TRX[555], USD[0.93]

07878701       Contingent, Disputed   ETH[0], USD[0.00], USDT[0.00000001]

07878702                              NFT (391575059477949658/Solana Islands #370)[1]

07878709                              BTC[.00000002], CUSDT[3], SOL[.00000002], TRX[1], USD[0.67]                                                                                                                      Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07878711                              DOGE[1], TRX[1], USD[101.27]                                                                                                                                              Yes

07878712                              USD[0.00]

07878722       Contingent, Disputed   ALGO[0], BTC[0], ETH[0], ETHW[.031], SOL[0.00000001], USD[0.20], USDT[0]                                                                                                  Yes

07878730                              DOGE[33.84516338], SHIB[1], USD[1.94]                                                                                                                                     Yes

07878745                              DOGE[2], TRX[1], USD[0.73], USDT[1.08692342]                                                                                                                              Yes

07878754                              SOL[9.26], USD[3.53]

07878757                              BTC[.00362743], CUSDT[5], DOGE[807.0471653], ETH[.05517503], ETHW[.05517503], USD[0.00]

07878758                              ETH[0], TRX[.00000096], USD[0.00]

07878759                              BTC[.02671362], DOGE[2], SHIB[2], SOL[1.69849422], TRX[1], USD[9.37]                                                                                                      Yes

07878771                              CUSDT[1], USD[1.09], USDT[15.19801658]                                                                                                                                    Yes

07878777                              USD[0.00]

07878778                              ETHW[.16893], USD[1646.72]

07878785                              ALGO[.00134594], BRZ[2], BTC[.00000027], CUSDT[34], DOGE[1], ETH[.00000001], ETHW[0.50743576], SHIB[60], SOL[.00006521], TRX[8], USD[0.01]                                Yes

07878791                              SOL[.00992], USD[14.86]

07878794                              BAT[3.190436], BRZ[1], CUSDT[2], DOGE[1], GRT[.02475231], MATIC[.00510443], NEAR[497.03331626], SHIB[1], SOL[44.05910215], TRX[6], USD[692.01]                            Yes

07878796       Contingent, Disputed   USD[50.00]

07878800                              BF_POINT[100]

07878803                              SOL[.23], SUSHI[.4955], USD[4.07]

07878810                              DOGE[1], NFT (433828755270641004/FTX - Off The Grid Miami #948)[1], USD[55.23]                                                                                            Yes

07878812                              CUSDT[1], DOGE[195.95134687], GRT[89.1506777], SHIB[2072838.94391829], TRX[1], USD[0.03]                                                                                  Yes

07878827                              ETHW[.1339343], TRX[.000102], USD[0.87], USDT[.008004]

07878828                              ETHW[.29814857], NFT (356399082406550524/Ancient Civilization #46)[1], SHIB[57], USD[0.00], USDT[0.00061996]                                                              Yes

07878829                              BTC[.00173405], CUSDT[1], SOL[.27924654], TRX[1], USD[0.00]                                                                                                               Yes

07878839                              CUSDT[3], SHIB[1467997.65120375], TRX[1008.97859565], USD[0.01]

07878840                              USD[0.00], USDT[0.00881901]

07878846                              SOL[.00000001]

07878851                              CUSDT[3], TRX[242.60167468], USD[0.01]

07878855                              ETH[0], SUSHI[0], USD[0.00]

07878857                              CUSDT[2], USD[0.01]

07878864                              TRX[.011249], USD[0.03], USDT[0]

07878866                              BTC[.02833323], DOGE[1], ETH[.01376998], ETHW[.01359948], SOL[0.00074874]                                                                                                 Yes

07878875                              BTC[0], DOGE[1], SOL[.00000001], USD[0.00], USDT[0]

07878877                              SOL[.0009977], USD[0.07]

07878878                              TRX[1], USD[0.01]

07878891                              TRX[.000001], USD[8.96], USDT[0]

07878904                              SOL[.049995]

07878913                              USD[0.00]                                                                                                                                                                 Yes

07878922                              USD[0.00], USDT[0]

07878923                              USD[435.08]                                                                                                                                                               Yes

07878929                              CUSDT[1], TRX[.000001], USD[0.01], USDT[1.08024382]                                                                                                                       Yes

07878931                              DOGE[1], ETH[0]                                                                                                                                                           Yes

07878942                              ETH[0], SOL[3.85187907]

07878948                              USD[0.01]

07878956                              USD[0.00]

07878983                              BF_POINT[300], CUSDT[1], DOGE[1], ETH[0.57998795], ETHW[0.14711565], SHIB[20944886.53417217], SOL[1.80114548], TRX[4], USD[0.00]                                          Yes

07878994                              USD[218.32]                                                                                                                                                               Yes

07878997                              BTC[0], ETHW[30.156], SOL[.00064], USD[0.54]

07879000                              SHIB[1], USD[0.00]                                                                                                                                                        Yes

07879002                              USD[7.13]

07879016                              USD[67.97]

07879017                              ALGO[0], BTC[0], DOGE[0], ETH[0.21484322], NEAR[0], SOL[0], USD[0.00]

07879036                              BAT[9.03622264], CUSDT[7], GRT[9.40632869], MATIC[19.73223804], NFT (393177879772592353/Entrance Voucher #3208)[1], SHIB[392229.16051747], TRX[266.64475241], USD[0.00]   Yes

07879042                              NFT (531169466651206122/FTX - Off The Grid Miami #1620)[1]

07879043                              TRX[1], USD[0.00]

07879048                              ETH[0], SHIB[3], USD[0.45], USDT[0.66947238]

07879052                              BTC[.00041483], CUSDT[2], ETH[.00705465], ETHW[.00697257], USD[0.00]                                                                                                      Yes

07879057                              BTC[0], ETH[0], USD[0.00]

07879060                              BRZ[1], BTC[.01588308], CUSDT[5], DOGE[2901.25504011], SHIB[4302364.16121219], USD[0.00]                                                                                  Yes
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                                                                                                                                            Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07879066                              USD[20.00]

07879067                              SHIB[11676786.54834189], USD[0.00]

07879070                              SOL[0.00000001], USD[0.00], USDT[0.00000089]

07879088                              ETH[.00000001], USD[2.30]

07879089                              BTC[.18], CUSDT[2], DOGE[1], ETH[1.41541697], ETHW[1.41541697], SUSHI[1], TRX[1], USD[0.00], USDT[2]

07879099                              BAT[1], BTC[.0222076], CUSDT[6], DOGE[6], ETH[.47394096], ETHW[.47374178], SOL[41.64141121], TRX[5], USD[0.54], USDT[1.07532258]                                                             Yes

07879104                              BTC[.00112062], CUSDT[7], DOGE[185.63061472], SHIB[700623.30026827], TRX[208.32326431], USD[0.01]                                                                                            Yes

07879112                              BAT[1.01655549], DOGE[1], NFT (302011113937868524/CryptoAvatar #78)[1], NFT (302880525855837222/CryptoAvatar #76)[1], NFT (311985892221242048/CryptoAvatar #75)[1], NFT                      Yes
                                      (316088960736676790/Shannon Sharpe's Playbook: Kansas City Chiefs vs Denver Broncos - October 4, 1992 #64)[1], NFT (319692338339406110/CryptoAvatar #81)[1], NFT
                                      (330084474641935140/CryptoAvatar #70)[1], NFT (355555138658151461/CryptoAvatar #141)[1], NFT (381928121118628148/CryptoAvatar #62)[1], NFT (397259672348226004/CryptoAvatar #54)[1],
                                      NFT (398505917827751858/CryptoAvatar #83)[1], NFT (400991695331206015/CryptoAvatar #71)[1], NFT (407922837188156735/Shannon Sharpe's Playbook: Baltimore Ravens vs. Oakland Raiders -
                                      January 14, 2001 #74)[1], NFT (432784710935534316/CryptoAvatar #82)[1], NFT (445521228064100204/CryptoAvatar #84)[1], NFT (453221556262576349/Shannon Sharpe's Playbook: Baltimore
                                      Ravens vs. Denver Broncos - December 31, 2000 #60)[1], NFT (484208989204651056/Marcus Allen's Playbook: Kansas City Chiefs vs. Detriot Lions - November 29, 1996 #56)[1], NFT
                                      (498588749210173358/CryptoAvatar #59)[1], NFT (501337114819711118/CryptoAvatar #74)[1], NFT (509311002734307970/CryptoAvatar #80)[1], NFT (521900870548570259/CryptoAvatar #68)[1],
                                      NFT (546865379762222139/CryptoAvatar #51)[1], NFT (556623475676301564/Shannon Sharpe's Playbook: Kansas City Chiefs vs Denver Broncos - October 4, 1992 #63)[1], NFT
                                      (563398270159171726/Snoop #1 of 3)[1], NFT (565274442357414836/CryptoAvatar #156)[1], NFT (568273334443253813/Marcus Allen's Playbook: Kansas City Chiefs vs. Detriot Lions - November 29,
                                      1996 #55)[1], TRX[3], USD[1.36]
07879113                              USD[0.83], USDT[0]

07879117                              DOGE[1], USD[0.00]                                                                                                                                                                           Yes

07879118                              BTC[0.07993118], ETH[.4726789], USD[102.39]

07879127                              BTC[.02200271], CUSDT[4], SHIB[1], TRX[1], USD[0.00]                                                                                                                                         Yes

07879129                              BRZ[1], BTC[.00099562], CUSDT[1], SOL[.33017809], TRX[1], USD[0.02]                                                                                                                          Yes

07879130                              BTC[0], ETH[.00000001], LINK[.06173079], SOL[0.00226013], USD[9.00], USDT[.00694667]

07879138                              CUSDT[430.62516833], DOGE[1], NFT (338021708373929426/Kiddo #6440)[1], NFT (372648812200966808/DarkPunk #4258)[1], NFT (483523428420978628/Settler #817)[1], NFT
                                      (554273842268403106/AI-generated artblock #2)[1], NFT (564441521196538379/Eitbit Ape #4737)[1], SHIB[506688.28536684], USD[0.00]
07879139                              SHIB[655060.2948284], TRX[1], USD[0.00]                                                                                                                                                      Yes

07879148                              BTC[.00045253], CUSDT[2], MATIC[14.75507158], SOL[.16887078], USD[0.10]                                                                                                                      Yes

07879170                              NFT (364718615122172949/Solninjas #7675)[1], SOL[5.25232288], USD[0.51], USDT[0]

07879182                              CUSDT[1], ETH[.01083907], ETHW[.01083907], SOL[.20326778], TRX[1], USD[0.00]

07879188                              BTC[.00627709], DOGE[260.38435466], ETH[.05941466], ETHW[.05867594]                                                                                                                          Yes

07879193                              USD[0.00], USDT[0]

07879204                              MATIC[.00000001], NFT (452221665464313932/940)[1], SHIB[.02464472], SOL[.00000001], USD[0.00]                                                                                                Yes

07879219                              USD[1.97]

07879221                              KSHIB[235.19854402], SHIB[684786.47358803], TRX[108.93669201], USD[0.17]                                                                                                                     Yes

07879226                              USD[0.00]

07879230                              BTC[.00906603], CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                 Yes

07879241                              SOL[.01177393], USD[0.98]

07879255                              BTC[.00219004]                                                                                                                                                                               Yes

07879281                              CUSDT[3], DOGE[1], SOL[3.3533451], USD[0.40]                                                                                                                                                 Yes

07879282                              CUSDT[1], ETH[.00600731], ETHW[.00593891], USD[0.00]                                                                                                                                         Yes

07879287                              BTC[0], ETH[0.00000001], ETHW[0], SOL[0], USD[0.00], USDT[0]

07879289                              USD[100.00]

07879291                              SOL[.00000001], TRX[1], USDT[0.79411935]                                                                                                                                                     Yes

07879293                              CUSDT[.00001], SHIB[1], USD[0.01]                                                                                                                                                            Yes

07879294                              BTC[.71887006], ETH[8.47462792], ETHW[8.47190908], LINK[19.93616518], UNI[52.80944557]                                                                                                       Yes

07879295                              CUSDT[1], DOGE[109.67741872], USD[0.00]                                                                                                                                                      Yes

07879309                              BAT[1], BRZ[4], BTC[.12024021], CUSDT[4], ETH[1.49433028], ETHW[1.50369845], GRT[1], NFT (365040127940030424/Coachella x FTX Weekend 2 #27787)[1], SHIB[1], SOL[26.8524816], TRX[10],        Yes
                                      USD[121.51]
07879312       Contingent, Disputed   DOGE[1.00036886], USD[0.01]                                                                                                                                                                  Yes

07879342                              BTC[.03983058]                                                                                                                                                                               Yes

07879352                              NFT (376592216812193645/Entrance Voucher #4196)[1], USD[243.77]

07879356                              USD[71.56], USDT[0.00040780]

07879357       Contingent, Disputed   SOL[.00100458], USDT[.5227694]

07879361                              ETH[0.00207282], SOL[.00109489], USD[1091.28], USDT[0.96487603]

07879373                              SOL[.00177304], USD[0.00]

07879377                              CUSDT[1], TRX[152.0158518], USD[0.00]

07879380                              SOL[.16030163], USD[200.01]

07879386                              BAT[1], CUSDT[2], DOGE[1], USD[0.00]

07879391                              CUSDT[3], ETH[.00446852], ETHW[.0044138], USD[0.00]                                                                                                                                          Yes

07879394       Contingent, Disputed   USD[0.00]                                                                                                                                                                                    Yes

07879399                              BTC[0], SOL[0], USD[0.00]

07879406                              CUSDT[1], DOGE[1], ETHW[3.41469942], SHIB[2], TRX[33.97977729], USD[10.06]                                                                                                                   Yes

07879408                              BTC[0], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07879414                              BTC[.0008991], DOGE[259.74], SHIB[800000], SOL[.3], SUSHI[5.5], USD[10.08]

07879417                              USD[0.00]

07879428                              ETH[0], ETHW[0], SOL[0], USD[0.00]

07879432                              TRX[0], USD[0.00], USDT[0]

07879439                              SHIB[1375041.06934803], SOL[.00176705], USD[0.00]

07879443                              MATIC[60], SHIB[23700000], SOL[167.6322], USD[147.40]

07879445                              SOL[.00456551], USD[0.00]

07879449                              USD[0.00]

07879464                              SOL[.00460706], USD[0.05]

07879471                              USD[0.00]                                                                                                                                                                         Yes

07879476                              BTC[0], LINK[0], SOL[0], USD[0.00]

07879489                              AAVE[64.38868095], AVAX[1382.105925], BAT[1246.15415], BCH[6.99006105], BTC[0.50953086], DOGE[.014545], ETH[1.23535062], ETHW[.00097406], GRT[57390.38932], LINK[11996.148964],
                                      LTC[10.4868919], MATIC[228.05922], NFT (334914451938273995/Mystery Box)[1], PAXG[.1626], SOL[.00482161], SUSHI[474.7571775], TRX[2170.425552], UNI[461.926147], USD[331773.97],
                                      USDT[509106.65493260], YFI[0.42746670]
07879509                              MATIC[0], SHIB[2529535.50410648], USD[0.00], USDT[0]                                                                                                                              Yes

07879512                              SOL[0]

07879519                              BTC[0], SOL[0], USD[0.00]

07879537                              LTC[0], TRX[5.000001], USD[0.00], USDT[0.00002615]

07879538                              USD[0.00]

07879539                              AAVE[1.8162551], BTC[.0434953], ETH[.06993], ETHW[.06993], LTC[.07512996], USD[0.86]

07879547                              BF_POINT[300], BRZ[2], BTC[0], DOGE[2], ETHW[.01940159], SHIB[11], SOL[.00000457], TRX[1], USD[104.53]                                                                            Yes

07879548                              BTC[.02469661], CUSDT[8], DOGE[1], ETH[.01255959], ETHW[.01240911], SHIB[298819.20497207], SOL[.78933824], USD[-250.00]                                                           Yes

07879549                              USD[0.00]

07879551                              USD[0.06]                                                                                                                                                                         Yes

07879553                              BAT[1.01512708], DOGE[1], USDT[0.00063739]                                                                                                                                        Yes

07879555                              USD[53.36]

07879561                              USD[0.00]

07879564                              CUSDT[1], DOGE[1], SHIB[754178.55686913], SOL[1.00984055], USD[0.00]

07879567                              NFT (329759704902924872/Drake #2)[1], NFT (568903796115681091/Drake)[1], SOL[.00898755], USD[0.00]

07879575                              SOL[.00000001], USD[0.00]

07879581                              ETH[0], ETHW[0], USD[0.01]

07879585                              CUSDT[1], DOGE[1], SHIB[1], SOL[0], USD[0.00]

07879591                              USD[0.00]

07879597                              USD[0.00]

07879600                              BAT[7.74325649], CUSDT[2], ETH[.00327683], ETHW[.00323579], SHIB[161493.24734243], USD[1.21]                                                                                      Yes

07879603                              SOL[.00079685], USD[0.00]

07879605                              ALGO[.00000001], SHIB[2], USD[17.31]

07879606                              USD[0.44]

07879614                              USD[50.00]

07879615                              SOL[.01]

07879622                              ETH[0], SHIB[72200], SOL[0], TRX[.000001], USD[1.79], USDT[0.00683590]

07879623                              USD[20.85]

07879630                              USD[0.00]

07879631                              USD[15.00]                                                                                                                                                                        Yes

07879632                              ETH[0], SOL[0], USDT[0.00000458]

07879634       Contingent, Disputed   USD[0.00]                                                                                                                                                                         Yes

07879638                              USD[0.00]

07879639                              USD[0.38]

07879640       Contingent, Disputed   BTC[0], SOL[0], USD[0.00]

07879644                              NFT (430960942765360914/Humpty Dumpty #580)[1]

07879648                              USD[155.00]

07879650                              DAI[.07010055], USD[94.13]

07879652                              BTC[.00047758], SOL[0], USD[0.00]

07879672                              CUSDT[4], NFT (317296379602760106/Symphony#16)[1], NFT (320784757684335947/AI-generated landscape #70)[1], NFT (342384278353410388/AI-generated landscape #66)[1], NFT            Yes
                                      (377210177144454606/Symphony#7)[1], NFT (381747133593509108/Symphony#17)[1], NFT (423938910891223628/AI-generated landscape #84)[1], NFT (483816520629164339/AI-generated
                                      landscape #95)[1], NFT (511821965930250623/Rat)[1], NFT (525615344332532054/AI-generated landscape #73)[1], NFT (550197924895464694/AI-generated landscape #80)[1], NFT
                                      (554025867999757209/Symphony#9)[1], NFT (561129141241460988/Astro Stones #30)[1], NFT (562224447677298067/Symphony#12)[1], SHIB[24924985.78893419], TRX[1], USD[0.00]
07879676                              USD[0.00]

07879680                              USD[2.90]

07879681                              SOL[.16867765], USD[0.00]

07879701                              BTC[.0000972], USD[20.17], USDT[1.94247464]
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07879709                              BTC[.01039064], NFT (309849491300628488/The 2974 Collection #2122)[1], NFT (501726292913871927/Birthday Cake #2122)[1], NFT (576264841075432044/2974 Floyd Norman - CLE 2-0013)[1],
                                      USD[1.73]
07879715                              BRZ[1.12454238], LINK[5.02745135], SOL[.00551466], USD[0.00]

07879719                              BTC[.00059278], ETH[.00097815], ETHW[.02297815], LINK[.09715], LTC[.00981], MATIC[.962], SHIB[99905], SOL[.0095915], SUSHI[.99905], UNI[.099525], USD[367.21]

07879728                              BRZ[1], CUSDT[3], SHIB[0], SOL[1.65334576], USD[0.00]                                                                                                                                 Yes

07879730                              SOL[.00000001], USD[0.00]

07879735                              BF_POINT[100], LINK[15.78753128], SOL[.00036772]                                                                                                                                      Yes

07879744                              CUSDT[1], SOL[1.60723282], USD[0.00]

07879747                              SHIB[1], TRX[1], USD[0.00], USDT[20.69637291]                                                                                                                                         Yes

07879748                              NFT (292690818730711411/Hall of Fantasy League #149)[1], NFT (404664332806962773/Hall of Fantasy League #191)[1], USD[0.00]                                                           Yes

07879751                              NFT (419335255109239626/Bahrain Ticket Stub #43)[1], SOL[.1], USD[0.02]

07879767                              NFT (290907076746736306/The Hill by FTX #6826)[1]

07879773                              NFT (294187321984688748/BDSNML bull #2)[1], NFT (319688648741478016/Pirate SAMMIE 1st Gen #17)[1], NFT (344276877616010658/BDSNML monkey #3)[1], NFT
                                      (360786227717693892/BDSNML bull #3)[1], NFT (366186220498205810/Barbarian SAMMIE 1st Gen #6)[1], NFT (371176700499790691/Kill Bill SAMMIE 1st Gen #9)[1], NFT
                                      (399182389401696682/Laser SAMMIE 1st Gen #12)[1], NFT (400538887923914430/BDSNML monkey #2)[1], NFT (410132263161676405/Money Heist SAMMIE 1st Gen #16)[1], NFT
                                      (412685517035106482/BDSNML monkey #4)[1], NFT (416951448712024668/BDSNML monkey #5)[1], NFT (420343976949683396/BDSNML bull#5)[1], NFT (438438466242084197/BDSNML bull #1)[1],
                                      NFT (439674321936414155/Miami SAMMIE 1st Gen #15)[1], NFT (465008729975598641/Kiss SAMMIE 1st Gen #11)[1], NFT (471057345260455228/Birds SAMMIE 1st Gen #3)[1], NFT
                                      (503480828950842005/BDSNML monkey #1)[1], NFT (524501143332689870/Globetrotter SAMMIE 1st Gen #7)[1], NFT (535585833214526555/Cat SAMMIE 1st Gen #5)[1], NFT
                                      (547341747294371889/BDSNML bull#4)[1], NFT (567633672917091881/Superman SAMMIE 1st Gen #18)[1], SOL[.00000001]
07879777                              BTC[0], ETH[.00000001], USD[1.34]

07879780                              ETH[0], SOL[0], USD[0.00]

07879781                              CUSDT[1], USD[0.00]                                                                                                                                                                   Yes

07879782                              NFT (554345761755352512/Microphone #8399)[1], SOL[0], TRX[0.00000100], USDT[0.19939038]

07879784                              USD[0.95]

07879796                              USD[0.00]

07879797                              NFT (549589614397178587/Imola Ticket Stub #2495)[1]

07879798                              USD[4.49]

07879806                              USD[0.01]                                                                                                                                                                             Yes

07879807                              ETH[0], SOL[0], USD[0.01], USDT[0.00000001]                                                                                                                                           Yes

07879814                              BAT[1], BRZ[1], DOGE[1], USD[0.16]                                                                                                                                                    Yes

07879822                              NFT (370968652871270759/Coachella x FTX Weekend 1 #7293)[1], USD[1.28]

07879842                              USD[5.02]

07879846                              USD[0.00], USDT[0]

07879847                              USD[0.00]

07879849       Contingent, Disputed   BTC[.00004933], CUSDT[1], USD[2.30]

07879852                              BTC[0], USD[0.00]

07879853                              USD[14.19]                                                                                                                                                                            Yes

07879854                              ETH[.24763007], ETHW[.24763007], NFT (329892681604014146/PixelPuffins #7237)[1], NFT (398588427356536614/ApexDucks #577)[1], NFT (472995859291871571/Elysian - #2017)[1], NFT
                                      (540072437075911543/Kitty Formerly Known as Prince)[1], NFT (543350667893765705/Floyd Jankysimmons)[1], NFT (560064772765303595/Ravager #1360)[1], NFT
                                      (568909145523794252/ApexDucks Halloween #1008)[1], NFT (575197868931842205/Ravager #1663)[1], SOL[4.93339418], USD[0.00]
07879857                              BAT[1.01655549], CUSDT[1], DOGE[1], TRX[1], USD[0.00]                                                                                                                                 Yes

07879859                              ETHW[3.45604], MATIC[4.20010194], TRX[.000001], USD[0.06], USDT[.008263]

07879861                              ALGO[.295], BTC[0], ETH[.00077176], ETHW[0.00077176], GRT[.816], SOL[.00936001], UNI[.0975], USD[0.92], USDT[.0045648]

07879869                              BAT[1], DOGE[0], SHIB[1], TRX[1], USD[2.39], USDT[0.00001827]                                                                                                                         Yes

07879877                              NFT (307623608051363488/Our World #020)[1], USD[0.01]                                                                                                                                 Yes

07879879                              SHIB[.00000004]                                                                                                                                                                       Yes

07879886                              ETH[.017982], ETHW[.017982], USD[2.03]

07879892                              BTC[0], ETH[0], SOL[0], USD[0.00]

07879894                              USD[0.26]

07879896                              USD[20.00]

07879898                              USDT[0.00000106]

07879899                              BCH[0], BTC[0], SOL[0], USD[0.00]

07879902                              UNI[1], USD[0.00]

07879909                              ETHW[.607], MATIC[270], USD[1.06], USDT[0.00001633]

07879912                              SOL[.52750499], USD[0.00], USDT[0.00000001]

07879930                              USD[0.00]

07879931                              BRZ[2], CUSDT[1], DOGE[2], GRT[1.00001826], MATIC[17.65841842], SHIB[1], TRX[1], USD[0.01]                                                                                            Yes

07879939                              TRX[2013.7626724]                                                                                                                                                                     Yes

07879941                              BTC[.00000915], GRT[.999], USD[0.20]

07879943                              ETH[.003], ETHW[.003], NFT (352188721015123238/SpongeBob SquarePants - Squid Game Edition)[1], NFT (353007030123186430/Euphoria )[1], NFT (543567145622810895/Patrick Star - Squid
                                      Game Edition)[1], USD[3.32]
07879948                              SOL[.00077793], USD[10.00]

07879967                              SOL[3.17561146], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07879972                              ETHW[.449], USD[0.23]

07879983                              USD[0.00], USDT[0]

07879985                              USD[0.61]

07879991                              BTC[.00000199], DOGE[1], ETH[.00001503], ETHW[.00001503], TRX[1], USD[0.01]                                                                                                            Yes

07879994                              BTC[.0003], USD[8.44]

07880007                              USD[109.17]                                                                                                                                                                            Yes

07880017                              USD[1.82]

07880023                              USD[162.61]

07880024                              BTC[.00003739], ETH[.00009282], ETHW[1.34709282], LTC[.00612888], SOL[.42903615], USD[0.01]

07880032                              ETHW[0], SOL[.00834], USD[0.00], USDT[0]

07880034                              CUSDT[232.18604573], DOGE[1], TRX[210.37679852], USD[0.00]                                                                                                                             Yes

07880036                              ETH[0], ETHW[0], SOL[0.00000001]

07880044                              NFT (358855193414567452/silver oz’s)[1], NFT (459421179751464649/FTX Planet #15)[1], NFT (511124102529217755/Hall of Fantasy League #180)[1]

07880045                              DOGE[0], SHIB[0], SOL[0], SUSHI[0], TRX[0], USD[0.00], USDT[0]

07880056                              USD[0.01]

07880093                              AAVE[.13986], SOL[.1498], SUSHI[4.4955], UNI[1.4985], USD[0.01]

07880102                              BTC[.00007706], ETH[.00038711], ETHW[2.51838711], SOL[19.98397], USD[1.54]

07880110                              DOGE[1], USD[0.00], USDT[1.40194288]

07880111                              SOL[0], USD[0.04]

07880113                              USD[3.96]

07880127                              USD[0.01], USDT[0]

07880133                              USD[1.12]

07880135                              SOL[.3]

07880138                              SHIB[5509690.92248062], TRX[1], USD[4.13]

07880143                              USD[0.00]

07880150                              BRZ[1.00058978], BTC[.000549], CUSDT[11], DOGE[13.12967548], MATIC[.00333844], NEAR[.15764334], NFT (288889713696081344/Catverse#2)[1], NFT (291012598202431112/My Avatar #15)[1],      Yes
                                      NFT (312570530262893577/Space Bums #7652)[1], NFT (341574077122802160/Rogue Circuits #295)[1], NFT (341863620776331523/Moves #7)[1], NFT (347040586364680760/Robot rauss )[1], NFT
                                      (347356764001619788/Surreal World #73)[1], NFT (347500492653332249/Surreal World #80)[1], NFT (369243366847073497/Surreal World #61)[1], NFT (390127775970348353/My Avatar #12)[1], NFT
                                      (390131070081242033/Surreal World #71)[1], NFT (393473206291154758/GalaxyKoalas # 169)[1], NFT (405013803533304307/Digital Z #20)[1], NFT (411552513965528879/Lunarian #601)[1], NFT
                                      (416604029015418649/Elysian - #4648)[1], NFT (428622446925868966/LiquidWoman #6)[1], NFT (441317692965799541/Robot rauss #21)[1], NFT (446650905305726990/2D SOLDIER #151)[1], NFT
                                      (464502027804306839/3D CATPUNK #9095)[1], NFT (473293992071660871/Robot rauss #14)[1], NFT (473517994244996723/ShineArt #007)[1], NFT (478119161092753379/Purple.Crazy.Marble)[1],
                                      NFT (483433617738048190/Vox World #24)[1], NFT (483971718655392613/My Avatar #14)[1], NFT (484995256311662335/Lunarian #5262)[1], NFT (500470944183626943/1000m x 0,30 = 300
                                      (m²))[1], NFT (500704313739949330/Herose)[1], NFT (519639541727387323/Caelum Series #36)[1], NFT (522267014205722081/Sigma Shark #3498)[1], NFT (532681115946654764/Surreal World
                                      #70)[1], NFT (538100806536245924/Space Bums #9865)[1], NFT (541678944958859831/DOTB #1698)[1], NFT (551063172474931831/Surreal World #92)[1], NFT (552476218717040173/Urban
                                      Milieu)[1], SHIB[11], SOL[.15130678], SUSHI[.00018526], TRX[4.00057174], UNI[1.08873329], USD[304.86], USDT[1.05096369]

07880158                              ETHW[.11154952], USD[0.02], USDT[0]

07880169                              BRZ[3], CUSDT[86.28566508], SHIB[2], SOL[.00000001], TRX[4], USD[0.00]                                                                                                                 Yes

07880175                              CUSDT[1], SHIB[1], USD[0.00]                                                                                                                                                           Yes

07880178                              USD[0.01]                                                                                                                                                                              Yes

07880179                              USD[4.16]

07880180                              AVAX[12.33517553], BTC[.00220559], ETH[0.03858032], ETHW[0.03858031], MATIC[80.79999457], USD[0.38], USDT[1.60548467]

07880183                              USD[308.56]

07880188                              BTC[0], ETH[.00000004], ETHW[0], LTC[0], TRX[.000048], USD[0.00], USDT[0.00003949]

07880199                              BTC[0], ETHW[.00062828], TRX[.000053], USD[169.80], USDT[0]

07880209                              NFT (546206805393286684/G9 Prism)[1], NFT (564614966354072825/King Mugbutt)[1]

07880213                              CUSDT[1], DOGE[110.46732323], USD[0.00]                                                                                                                                                Yes

07880217                              ETH[0], SOL[.00000001], TRX[.000003], USD[1.25], USDT[0.70851349]

07880224                              USD[3600.00]

07880237                              SOL[0], USD[0.00]

07880238                              USD[0.00], USDT[0]                                                                                                                                                                     Yes

07880239                              NFT (372442431791372127/Entrance Voucher #29388)[1]

07880247                              CUSDT[1], SOL[.00000046], USD[0.00]                                                                                                                                                    Yes

07880249                              USD[1879.67]

07880250       Contingent, Disputed   USD[0.82]

07880253                              USD[0.45]

07880259                              USD[0.23]

07880260                              SHIB[11.4050875], USD[10.47]                                                                                                                                                           Yes

07880262                              SOL[.0145613], USD[0.00]

07880264                              USD[0.00]

07880266                              BTC[.06099405], CUSDT[6195.47271006], DOGE[441.58555217], USD[5.52]                                                                                                                    Yes

07880268                              BRZ[2], BTC[.00000005], CUSDT[50.36507418], ETH[.00000003], ETHW[.00000003], SOL[.0000016], TRX[1], USD[0.00]                                                                          Yes
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                                                                                                                                         Customer Claims                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07880278                           CUSDT[6], USD[0.00]                                                                                                             Yes

07880282                           SOL[12.05294145]                                                                                                                Yes

07880283                           SOL[.00080206], USD[0.00]

07880287                           BF_POINT[200]

07880293                           SOL[0.00008232]

07880301                           SOL[.00005408], USD[0.17]                                                                                                       Yes

07880302                           USDT[0]

07880311                           CUSDT[1], ETH[.00356786], ETHW[.00356786], USD[0.00]

07880334                           CUSDT[1], SOL[.68101489], USD[0.00]                                                                                             Yes

07880337                           BTC[.00697807], ETH[.07486055], ETHW[.07393031], USD[0.49], USDT[0]                                                             Yes

07880343                           BTC[.00839061], USD[0.00], USDT[0.00017994]

07880351                           BTC[.00003529], USD[0.00]

07880357                           USD[0.00]

07880364                           TRX[0], USD[0.00], USDT[0]

07880371                           SHIB[1], USD[0.01]

07880376                           BTC[0], USD[0.00]

07880392                           SOL[.07285755], USD[0.00]

07880394                           ETH[0], SOL[0.00156584], USD[0.01]

07880396                           DOGE[7756.84474995], USD[0.00]

07880403                           USDT[.2356]

07880404                           CUSDT[2], MATIC[95.38859556], SHIB[1], TRX[308.54072397], USD[0.00]                                                             Yes

07880422                           USD[1.05]

07880427                           USD[1000.00]

07880429                           AVAX[1.0989], NFT (461462379037591725/Entrance Voucher #2829)[1], SOL[.00973604], UNI[4.8951], USD[0.22]

07880433                           SOL[0], TRX[.001555], USD[0.00], USDT[0.00000002]

07880442                           BTC[0], USD[0.00]

07880446                           CUSDT[8], SUSHI[.0000176], TRX[1], USD[0.00]                                                                                    Yes

07880461                           AVAX[.3996], BTC[.00008389], ETH[.019], ETHW[.019], GRT[.975], MKR[.00098], SHIB[99800], SOL[.00976], USD[4.18], USDT[.72792]

07880479                           SOL[.01], USD[0.00], USDT[0]

07880483                           BTC[0], DOGE[650], SHIB[2200000], USD[2.27], USDT[0.32131082]

07880497                           USD[0.02]

07880502                           SHIB[411.56175663], TRX[1], USD[0.00]                                                                                           Yes

07880504                           USD[0.00]                                                                                                                       Yes

07880505                           SOL[.65], USD[1.32]

07880511                           USD[20.00]

07880517                           CUSDT[5], DOGE[2], USD[0.01]                                                                                                    Yes

07880521                           ALGO[688.91751754], DOGE[1], SHIB[2], SOL[16.57188108], TRX[1], USD[65.91]

07880531                           BTC[.0510982], ETH[.730269], ETHW[.730269], USD[3.83]

07880533                           SOL[.00000001]                                                                                                                  Yes

07880534                           DOGE[27.21032495], SHIB[1]                                                                                                      Yes

07880535                           CUSDT[2006.90859789], SOL[.04528404], USD[1.07]                                                                                 Yes

07880557                           USD[0.00]

07880558                           SOL[.00001165], USD[0.00]

07880562                           DOGE[3137.97371111], ETH[.00000001], ETHW[0], TRX[1]                                                                            Yes

07880565                           NFT (477440945886327393/Entrance Voucher #2938)[1]

07880573                           SHIB[95215], SUSHI[.425425], USD[0.80], USDT[1.42392398]

07880596                           ETH[.1], ETHW[.1], USD[4544.29]

07880600                           BF_POINT[200]                                                                                                                   Yes

07880612                           NFT (474097451568464258/Saudi Arabia Ticket Stub #230)[1], NFT (482312377939351538/Humpty Dumpty #150)[1]

07880614                           ETH[.36933643], ETHW[.36933643], SOL[3.36300771], USD[1.92]

07880621                           BTC[.00596344], CUSDT[1], USD[9.70]                                                                                             Yes

07880625                           SHIB[1], USD[0.01]

07880627                           LINK[5.3946], SUSHI[13.5], USD[1.33]

07880629                           SOL[0]

07880640                           ETH[.355644], ETHW[.355644], MATIC[299.7], SHIB[6493500], SOL[11], USD[49.89]

07880653                           ETHW[1.327671], SHIB[99900], USD[3789.27]

07880680                           BTC[.00116482], USD[0.00]

07880684                           NFT (411158006058556485/Monaco Ticket Stub #37)[1]                                                                              Yes
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07880686                              SOL[.01], USD[6.73]

07880700                              BTC[0], CUSDT[3], SOL[0], TRX[1], USD[0.00]                                                                                                         Yes

07880704                              BTC[0.00400000], LINK[158.24952], SOL[0], USD[1.82]

07880713                              BRZ[1], BTC[0], DOGE[1], ETH[0], SOL[0], TRX[2], UNI[1.06623814], USD[0.00], USDT[0.00000136]                                                       Yes

07880714                              BTC[0.00666210], ETH[0.02912792], ETHW[0.02912791], LTC[0], MATIC[0], SOL[0], TRX[0], USD[129.21]

07880717                              USD[1000.00]

07880722                              BAT[0], SOL[0], USD[0.00]

07880726                              USD[0.19]

07880739                              ETH[0], SOL[0], USD[0.01]

07880742                              BTC[0.00004022], ETH[.00036053], ETHW[0.00036053]

07880745                              BTC[0.00000068], SHIB[2], SOL[.0000173]                                                                                                             Yes

07880754                              USD[0.82]

07880758                              BRZ[1], BTC[.03891457], CUSDT[8], DOGE[2], ETH[.51492351], ETHW[.51470731], GRT[2.03937787], LINK[6.92244206], SHIB[4], SOL[.53547649], USD[0.58]   Yes

07880761                              BTC[0], SOL[.31188412], USD[56.89]

07880769                              SOL[0]

07880774                              USD[9.24]

07880775                              BTC[0.00004759], ETH[0.00018078], ETHW[0.00018078], SOL[0], USD[1046.77]

07880794                              BTC[.01827345], DOGE[661.6], ETH[.17247], ETHW[.17247], USDT[61.16905514]

07880795                              TRX[.000001], USDT[0.00000001]

07880798                              USD[50.00]

07880811                              BRZ[1], SOL[7.22411463], USD[0.18]                                                                                                                  Yes

07880812                              TRX[.536901], USD[0.71]

07880818                              ETH[.20301493], ETHW[.20280218]                                                                                                                     Yes

07880822                              CAD[0.00], TRX[0], USD[0.60]

07880825                              BTC[.0000593], ETH[.000172], ETHW[.000172], SHIB[50000], SOL[.00274], USD[0.01]

07880835                              BTC[.00047183]

07880840                              USD[0.01], USDT[7.3655]

07880841                              ETH[.04181279], ETHW[.04181279], USD[0.00]

07880845                              SOL[2], USD[61.08]

07880871                              CUSDT[2], USD[0.00]                                                                                                                                 Yes

07880892                              USD[9.73]

07880900                              USD[0.00]

07880902       Contingent, Disputed   SOL[0.00188639], USD[0.00]

07880905       Contingent, Disputed   CUSDT[2], DOGE[1], TRX[1], USD[0.00]                                                                                                                Yes

07880921                              USD[0.00]

07880922                              USD[0.00]

07880932                              BTC[.00000001], ETH[0.00025001]

07880938                              BRZ[1], ETH[.00181623], ETHW[.00181623], SHIB[4], USD[0.01]

07880947                              SOL[3.13], USD[3.55]

07880951                              BTC[0], ETH[0], SOL[0], USD[0.00], USDT[0.00040221]

07880952                              USD[0.00]

07880957                              SOL[.63], USD[1.25]

07880979                              UNI[.00175], USD[0.00], USDT[2.6405]

07880984                              AAVE[0], BF_POINT[100], CUSDT[1], DOGE[4], USD[0.00], USDT[0.00000001]                                                                              Yes

07881020                              LINK[27.0729], SOL[.008], USD[0.01], USDT[3.0387971]

07881022                              AVAX[286.02104646], BTC[0.00005273], DOGE[1], ETH[0], GRT[1], LINK[1.00254195], LTC[0], SHIB[4], SOL[0], TRX[1], USD[0.00], USDT[3.00074740]        Yes

07881026                              USDT[0]

07881027                              SOL[0], USD[1.27]

07881032                              BTC[.00034024]

07881034                              SHIB[825763.83154417], SUSHI[6.15278246], USD[5.00]

07881041                              SOL[23.01], USD[41.97]

07881043                              CUSDT[2], ETH[.0113068], ETHW[.0113068], LINK[1.01436934], MATIC[11.88714557], TRX[1], USD[0.00]

07881045                              LINK[0], LTC[0], SOL[1.17108551], USD[0.00]

07881065                              USD[8.73]                                                                                                                                           Yes

07881080                              CUSDT[3], USD[0.00]                                                                                                                                 Yes

07881087                              BTC[0], CUSDT[1], DAI[0], DOGE[0], ETH[0], ETHW[0], KSHIB[0], MATIC[0], MKR[0], USD[0.01], YFI[0]

07881094                              USD[0.00], USDT[0.00000119]

07881102                              DOGE[431.51491292], SHIB[3335688.51287226], SOL[1.02793547], TRX[1], USD[0.82], YFI[.00450417]                                                      Yes
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                                                                                                                                            Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07881103                              CUSDT[1], KSHIB[6813.70923749], USD[0.71]                                                                                                                                                 Yes

07881111                              BTC[0], SOL[0]

07881112                              DOGE[2], SOL[.00000001], USDT[0]                                                                                                                                                          Yes

07881113                              BTC[.00023623]

07881117                              SOL[.00050213], USD[0.00]

07881120                              USD[0.00]

07881126                              AVAX[6.5], BTC[.0049], DOGE[2247.191], ETH[.143], ETHW[.143], LINK[17.8], USD[401.27]

07881128                              MATIC[203.45444373], SHIB[1], USD[0.00]

07881131                              BTC[0.00005958], NFT (372390913451468892/Megalodon Rogue Shark Tooth)[1], NFT (563997536599123624/Megalodon Rogue Shark Tooth)[1], USD[0.00]

07881136                              BF_POINT[200]

07881141                              BTC[.00334852], SOL[.91], USD[0.83]

07881144                              BTC[.00001811], USD[0.00]                                                                                                                                                                 Yes

07881148                              USD[0.00]                                                                                                                                                                                 Yes

07881161                              GRT[464.535], USD[0.11]

07881170                              ETH[0], ETHW[0], USD[0.00]

07881172                              BTC[.00362864]

07881177                              ETHW[.37914613], USD[0.00]

07881180                              USD[11.46]

07881183                              USD[1.38]

07881184                              NFT (291319402339779929/Coachella x FTX Weekend 1 #3391)[1]

07881186                              USD[0.00], USDT[0.00000073]

07881200                              SOL[.15526292], USD[30.00]

07881206                              ETH[.01884238], ETHW[.01860982], USD[0.00]                                                                                                                                                Yes

07881210                              SOL[.00000001]

07881215                              CUSDT[1], SOL[1.69495548], USD[0.00]                                                                                                                                                      Yes

07881223                              NFT (466713635054316335/Saudi Arabia Ticket Stub #2097)[1], NFT (473099011211352383/Barcelona Ticket Stub #2237)[1], SHIB[1], USD[0.00]

07881231                              USD[453.13]

07881232                              BTC[0], DOGE[0], ETH[0], LINK[0], MATIC[0], SOL[0.00058374], SUSHI[0], UNI[0], USD[0.00]

07881244                              SOL[.00340749], USD[0.01]

07881250       Contingent, Disputed   USD[0.00]

07881266                              BTC[0.01212745], CUSDT[2], USD[0.00], USDT[1.07749504]                                                                                                                                    Yes

07881280                              USD[1.29]

07881283                              NFT (308233064386996596/Solninjas #8242)[1], NFT (327662442848490141/Furry Friend in Space)[1], NFT (349520016614636124/ExecutionBoar)[1], NFT (354166518082821919/Solninjas #9355)[1],
                                      NFT (475445835439051247/Solninjas #6708)[1], NFT (486305016833533928/#8417)[1], NFT (501583641041897952/Furry Friend in Space #2)[1], SOL[.128], USD[1.16]
07881287                              USD[0.00]

07881288                              CUSDT[1], DOGE[22.07137629], SHIB[657360.40513861], TRX[1], USD[0.00]                                                                                                                     Yes

07881310                              TRX[117.193634]

07881316                              SOL[0], USDT[0.00000031]

07881321                              0

07881341                              USDT[12.8500861]

07881350                              USD[0.00]

07881365                              USD[1693.88]

07881374                              BTC[.00000005], SHIB[1], USD[0.00]                                                                                                                                                        Yes

07881386                              CUSDT[4], DOGE[1], MATIC[16.89695915], TRX[2], USD[0.00]                                                                                                                                  Yes

07881395                              BRZ[2], BTC[0.00000002], DOGE[2.03422859], ETH[0], ETHW[0.00000921], SHIB[44.31705688], TRX[4], USD[0.00]                                                                                 Yes

07881403                              DOGE[2.997], SOL[.14985], USD[0.03]

07881412                              USD[1.55]

07881415                              BTC[.0000759], DOGE[.53], ETHW[.0007642], LINK[.01032], SOL[.00990107], USD[4.79]

07881428                              BAT[.9923812], BRZ[2], CUSDT[11], DOGE[2], GRT[1.36143399], KSHIB[2419.75493851], TRX[1], USD[0.00]                                                                                       Yes

07881430                              BRZ[4], BTC[0], CUSDT[2], DOGE[2941.71800963], ETH[1.99288758], NFT (380987671031467126/Australia Ticket Stub #1044)[1], NFT (496048221542096106/Barcelona Ticket Stub #1081)[1],         Yes
                                      SHIB[25], SOL[13.57230398], TRX[5], USD[250.16]
07881441                              BTC[.03427405], SHIB[1], SOL[4.68594758], USD[0.00]                                                                                                                                       Yes

07881447                              DOGE[1], ETH[.19277518], ETHW[.19256046], USD[0.00]                                                                                                                                       Yes

07881464                              BTC[.00000005], CUSDT[7], DOGE[1], ETH[.03674947], ETHW[.03674947], SHIB[110340.28969308], SOL[.1828778], TRX[1], USD[0.79]

07881467                              USD[2.18]                                                                                                                                                                                 Yes

07881472                              BCH[.00634503], BTC[.00009097], USD[1.37]                                                                                                                                                 Yes

07881473                              BTC[0], ETH[0], EUR[0.00], LINK[0], MATIC[34.5788208], SOL[0], USD[0.00], USDT[0.00000071]

07881477                              CUSDT[2], DOGE[10.31840704], USD[0.00]                                                                                                                                                    Yes

07881479                              LINK[.01389469]

07881506                              NFT (355307323367582060/Coachella x FTX Weekend 1 #24854)[1]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07881508                           USD[0.00]

07881519                           USD[339.62]

07881522                           BTC[0.00005384], ETH[.00002803], ETHW[.00023198], USD[0.00]

07881532                           USD[0.44]                                                                                                                                                                               Yes

07881533                           ETH[0], USD[0.00]

07881542                           BAT[1], BTC[.03804611], CUSDT[1], DOGE[2], TRX[1], USD[0.09]                                                                                                                            Yes

07881559                           BTC[.1059712], ETH[.85914], ETHW[.85914], USD[5.36]

07881565                           USD[0.00]

07881578                           CUSDT[1], USD[0.00]

07881579                           BTC[.0483], ETH[.467867], ETHW[.467867], SUSHI[100], USD[146.47]

07881601                           BAT[1.01630493], BRZ[1], CUSDT[2], ETH[0], ETHW[0], SHIB[3110294.48510959], SOL[0], TRX[1], USD[0.00]                                                                                   Yes

07881615                           BTC[0], DOGE[0.05998729], ETH[0], ETHW[0], SHIB[0], SOL[0], USD[0.00], USDT[0]                                                                                                          Yes

07881623                           BTC[0], USD[0.00]                                                                                                                                                                       Yes

07881631                           BRZ[1], BTC[.00376145], MATIC[1.00164518], SHIB[17], SOL[2.08894446], TRX[6], USD[0.78], USDT[0]                                                                                        Yes

07881633                           BAT[0], MATIC[4.79104961], PAXG[.01135391], SOL[0], USD[0.00]                                                                                                                           Yes

07881634                           USD[20.00]

07881643                           USD[0.00]                                                                                                                                                                               Yes

07881652                           BF_POINT[100], ETH[.00000002], ETHW[0], NFT (357601692503856780/Ratz Club)[1], SHIB[.00000001], USD[0.00], USDT[0]                                                                      Yes

07881656                           SOL[0]

07881672                           ETH[0], MATIC[1.26272464], USD[0.00]

07881678                           USD[0.00], USDT[0]

07881685                           USD[0.00], USDT[4]

07881688                           ETH[.00056834], ETHW[0.00056833], USD[1.52]

07881705                           CUSDT[1.0666258], DOGE[.07184675], TRX[1], USD[0.02]                                                                                                                                    Yes

07881706                           SOL[1.62810843], USD[0.00]

07881716                           BRZ[1.02039855], CUSDT[13], GRT[1.00185563], SHIB[1], TRX[6], USD[0.01], USDT[0]                                                                                                        Yes

07881736                           USD[100.00]

07881741                           USDT[9]

07881750                           USD[0.00], USDT[1.13862500]

07881753                           BRZ[2], CUSDT[8], DOGE[1], SHIB[5], SOL[36.71974003], TRX[2], USD[2.84]                                                                                                                 Yes

07881755                           BF_POINT[200]

07881761                           USD[2.93]

07881762                           USD[0.00]

07881766                           USD[3.13]

07881770                           SHIB[203408.70223522], USD[0.00]                                                                                                                                                        Yes

07881774                           BAT[0], BRZ[0], CUSDT[0], DOGE[49.02087669], ETH[0.01121358], ETHW[0.00812345], GRT[0], KSHIB[154236.39324986], SHIB[220834477.48424562], TRX[0], USD[588.17], USDT[0]                  Yes

07881779                           BTC[0], MATIC[0], NFT (297900143651260419/Mad Lions Series #19)[1], NFT (312927818868178946/Benz)[1], NFT (322049213129106843/Eli )[1], NFT (384654195141042478/Offshore fun)[1], NFT
                                   (428873558207438624/AI-generated landscape #109)[1], NFT (439642670905877769/Mad Lions Series #17)[1], NFT (440420367027365577/65 GTO)[1], NFT (563231126832382370/Mad Lions Series
                                   #7)[1], USD[0.12]
07881784                           USD[0.01], USDT[0]

07881786                           AAVE[.68820913], BAT[128.15570264], BRZ[2], CUSDT[6], DOGE[2.00378431], NFT (322721017168692586/Entrance Voucher #6015)[1], SUSHI[5.01070735], TRX[6], UNI[17.76865603], USD[0.00],     Yes
                                   YFI[.00523063]
07881797                           SOL[.00059], USD[276.95]

07881814                           SOL[0]

07881818                           BTC[.00060354], DOGE[54.1937207], ETH[.00952168], ETHW[.00952168], LINK[.36784893], SHIB[166988.21007502], SOL[.10979572], UNI[1.04862465], USD[0.01]

07881834                           BRZ[1], CUSDT[1], SHIB[2273826.46968451], SUSHI[16.67098479], USD[165.83]                                                                                                               Yes

07881835                           BTC[0], SHIB[352440.78582928], USD[0.00]                                                                                                                                                Yes

07881852                           USD[0.90], USDT[0.00003270]

07881854                           BTC[.00000573], USDT[0.00016224]

07881867                           DOGE[1], USD[0.00], USDT[214.67228271]                                                                                                                                                  Yes

07881872                           BRZ[1], DOGE[1], USD[69.52]                                                                                                                                                             Yes

07881888                           BRZ[1], BTC[.00000006], DOGE[1], SHIB[1], TRX[1], USD[0.01]                                                                                                                             Yes

07881895                           USD[0.00]

07881905                           BCH[0.07631988], BRZ[1]                                                                                                                                                                 Yes

07881906                           NFT (491679597593880615/Microphone #976)[1]

07881930                           USD[0.00]

07881941                           AVAX[0], BTC[0], SOL[0], UNI[0], USD[0.00], USDT[0]

07881942                           CUSDT[2], USD[26.62]                                                                                                                                                                    Yes

07881945                           USD[1.02]

07881977                           CUSDT[1], SHIB[281968.13760045], USD[0.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07881991                              BAT[1], DOGE[0], ETH[0], ETHW[0], SHIB[1], SOL[0], TRX[2], USD[0.00], USDT[0.00072874]                                                                                         Yes

07882003                              CUSDT[1], USD[27.11], USDT[0.04067214]                                                                                                                                         Yes

07882017                              USD[6.01]

07882019                              USD[0.01]

07882027                              USD[100.00]

07882031                              CUSDT[2], TRX[1], USD[0.00], USDT[0]                                                                                                                                           Yes

07882034                              BRZ[3], CUSDT[11], DOGE[3975.19777019], ETH[.61662619], ETHW[.61636721], NFT (315387228166713087/Sigma Shark #797)[1], NFT (341130439806867227/Sigma Shark #3731)[1], NFT      Yes
                                      (348819289254332068/Sigma Shark #5068)[1], NFT (405003401582295053/Sigma Shark #6427)[1], NFT (421325431095920500/Sigma Shark #1582)[1], NFT (444887729831405353/Sigma Shark
                                      #3818)[1], NFT (543977131153688208/Oink 2820)[1], SHIB[6806656.64155033], SOL[.34877366], TRX[6], USD[0.00]
07882036                              SOL[.32341769], USD[1.00]

07882037                              ETHW[26.46959383], FTX_EQUITY[0], SHIB[49994886.68923006], USD[1538.03], WEST_REALM_EQUITY_POSTSPLIT[0]                                                                        Yes

07882043                              USD[10.00]

07882049                              BRZ[3], BTC[0], CUSDT[3], DOGE[1613.82768044], GRT[1], TRX[2], USD[339.53]

07882058                              CUSDT[4], ETH[.00490353], ETHW[.00484881], USD[0.00]                                                                                                                           Yes

07882068                              USD[0.79]

07882074       Contingent, Disputed   USD[0.00]

07882091       Contingent, Disputed   GRT[1.00367791], USD[0.25]                                                                                                                                                     Yes

07882093                              NFT (426947784001816240/Sol Lion #7127)[1], NFT (429647367500201350/Sol Lion #2542)[1]

07882094                              SOL[.06641915], USD[0.00], USDT[0.00000057]

07882102                              TRX[1007], USD[85.59]

07882104                              SOL[.00004849], USD[5.00]

07882108                              ALGO[0], AVAX[0], BF_POINT[300], BRZ[2], BTC[0], DOGE[0], MATIC[0], NEAR[0], SHIB[2], SOL[0], USD[0.00], USDT[0.00000001]

07882114                              BTC[0.00002547], DOGE[33040], USD[0.13]

07882140                              DOGE[0.00000911], USD[0.00]                                                                                                                                                    Yes

07882149                              CAD[0.00]

07882153                              SOL[7.72954313]

07882165                              USD[0.00]

07882169                              USD[0.00]

07882174                              USDT[99.00000097]

07882201                              NFT (339761442552765346/Microphone #1619)[1]

07882206                              NFT (476099796207667041/Humpty Dumpty #1463)[1]

07882219                              BRZ[1], ETH[0], LINK[34.06154335], LTC[5.48091970], SOL[10.25933407], TRX[1]                                                                                                   Yes

07882236                              NFT (404177084825499220/Skyline FLP)[1]

07882264                              BF_POINT[100]

07882272                              SOL[.00580446], USD[0.00]

07882273                              USD[130.24]

07882275                              USD[1.82]

07882287                              BRZ[2], CUSDT[2], DOGE[2], SHIB[1], TRX[4], USD[0.01]

07882295                              NFT (388723146348009278/2974 Floyd Norman - CLE 2-0175)[1], USD[1.12]

07882298                              BTC[.00007648], USD[0.03]

07882307                              CUSDT[1], SHIB[459693.82832362], SOL[.12212654], USD[0.00]                                                                                                                     Yes

07882351                              DOGE[1], TRX[1], USD[0.00]

07882357                              TRX[.000001], USDT[.1890241]

07882366                              CUSDT[2], DOGE[1], MATIC[4.46293093], SOL[0.00000001], USD[0.00]                                                                                                               Yes

07882368                              BTC[.00382314], NFT (336314945319026996/The INIT)[1], SOL[8.45261892], USD[0.00], USDT[0.00000043]

07882377                              BAT[1], CUSDT[1], DOGE[4], GRT[1], SHIB[3], TRX[6], USD[0.03]                                                                                                                  Yes

07882379                              ETH[0.00000001], ETHW[0], SOL[0], USD[0.00], USDT[0]

07882380                              BTC[0], SOL[0], USD[0.09], USDT[0]

07882387                              BF_POINT[300]

07882390                              USDT[1.976841]

07882401                              BTC[1], USD[0.00]

07882406                              CUSDT[8], DOGE[2], ETHW[1.42429252], SHIB[18], TRX[4], USD[52.05]                                                                                                              Yes

07882407                              USD[1.09]                                                                                                                                                                      Yes

07882418                              SOL[.2]

07882419                              CUSDT[7], ETHW[.59950914], NFT (517748797284645335/2D SOLDIER #3360)[1], SHIB[4], USD[1646.53]                                                                                 Yes

07882434                              USD[0.00]

07882436                              TRX[.492], USD[0.95]

07882442                              SOL[.06]

07882443                              BTC[.0222926], ETH[.144935], ETHW[.144935], SHIB[1398600], SOL[50.81046], USD[58.78]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07882444                              BTC[.00007536], USD[0.00]

07882454                              DOGE[19.05592162], ETH[.00028845], ETHW[.00028845], KSHIB[17.45270387], MATIC[1.92437848], SHIB[33444.81605351], TRX[10.10789776], USD[5.00], USDT[1.49190921]

07882458                              SOL[.93]

07882464                              BTC[0], USD[0.00]

07882466                              BTC[0], SOL[0.00000001], USD[0.00]

07882470                              USD[0.00], USDT[1.21671773]

07882473       Contingent, Disputed   BRZ[1], BTC[.00000009], CUSDT[1], USD[0.01]                                                                                                                                       Yes

07882474                              NFT (314011641664010150/2974 Floyd Norman - CLE 1-0023)[1], NFT (322456767957022159/Birthday Cake #1793)[1], NFT (347565725878960657/The 2974 Collection #1793)[1], USD[0.00]

07882479                              BTC[.00001059], MATIC[5], SOL[.00728], USD[0.00]

07882482       Contingent, Disputed   BAT[1.53654406], BRZ[2], BTC[.00002594], NFT (293136199490809431/Tim Brown's Playbook: Michigan State vs. Notre Dame - September 19, 1987 #53)[1], NFT (567776317629956484/Earl
                                      Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #110)[1], SHIB[1], TRX[9], USD[13.60], USDT[0]
07882484                              SOL[.07872262], USD[0.30]

07882488                              DOGE[1], SHIB[6519754.85721736], USD[0.01]

07882494                              NFT (406972562859616838/2974 Floyd Norman - CLE 2-0014)[1], SOL[.00000001], USD[0.00]

07882499                              DOGE[1], TRX[1], USD[0.00]                                                                                                                                                        Yes

07882500                              USD[0.35], USDT[.002911]

07882507                              CUSDT[3], DOGE[1], SHIB[2785506.57234848], TRX[1], USD[0.00]                                                                                                                      Yes

07882526                              BTC[.00425127], CUSDT[3], DOGE[2], ETH[.04551628], ETHW[.04495365], SHIB[1], USD[0.01]                                                                                            Yes

07882538                              BAT[3.03848519], BF_POINT[200], BRZ[1], DOGE[2], ETHW[10.36295113], GRT[2], MATIC[2.04752649], SHIB[2], TRX[1], USD[0.01], USDT[3.06752055]                                       Yes

07882539       Contingent, Disputed   SOL[0.52054817], USD[67.83]

07882544                              NFT (390963822189389204/Entrance Voucher #3459)[1], NFT (531407323019646695/Romeo #631)[1], USD[2.27]

07882557                              USD[0.00]

07882560                              USD[0.00], USDT[0.00000040]

07882567                              CUSDT[14], DOGE[1], SHIB[58.46407265], USD[0.00], USDT[0.00278927]                                                                                                                Yes

07882569       Contingent, Disputed   NFT (352567746192091480/FTX - Off The Grid Miami #1982)[1], USD[0.00]

07882574                              NFT (407525139629170401/Foodie)[1], USD[2.00]

07882584                              CUSDT[4], DOGE[1], SUSHI[21.67085397], TRX[1], USD[0.00]                                                                                                                          Yes

07882589                              SOL[.00000001], USDT[0.28243533]

07882597                              SOL[.06589781], USD[0.00]

07882599                              BTC[.00009243], USD[0.00], USDT[.0042]

07882603                              ETH[0], NFT (444633123008958605/Australia Ticket Stub #548)[1], SOL[0], TRX[.000001], USDT[0]

07882606                              CUSDT[1], SHIB[410346.58413159], USD[0.13]                                                                                                                                        Yes

07882609                              CUSDT[1], LTC[.05228297], SHIB[1], USD[11.85]

07882612                              USD[0.88]

07882619                              TRX[.000001], USDT[0.00000143]

07882626                              USD[0.00]

07882631                              BTC[.00401175], CUSDT[2], ETH[.0276961], ETHW[.0273541], LINK[3.95459723], TRX[1], USD[0.01]                                                                                      Yes

07882634                              USD[0.01]

07882637                              NFT (496262473186207522/FTX - Off The Grid Miami #402)[1]

07882647                              USD[0.00], USDT[47.40251432]

07882660                              ETH[.1], ETHW[.1], LINK[3.996], USD[257.80]

07882663                              BRZ[1], BTC[0], DOGE[4], SHIB[17], SOL[0], TRX[5], USD[0.38], USDT[0]

07882677                              NFT (315947243487515591/The Hill by FTX #1472)[1]

07882680                              SOL[.00525]

07882682                              NFT (288771249217273143/The Hill by FTX #1461)[1], NFT (565153609564832492/Bahrain Ticket Stub #497)[1]

07882693                              BTC[.00168405], USD[0.02], USDT[0]                                                                                                                                                Yes

07882698                              CUSDT[2], DOGE[1], SOL[.63201395], TRX[2], USD[0.00]

07882699                              CUSDT[1], SOL[0], TRX[1]                                                                                                                                                          Yes

07882710                              TRX[.011307], USD[0.00]

07882714                              BTC[.00008917], USD[0.22], USDT[0.08341975]

07882725                              USDT[0.00000125]

07882728                              AVAX[3.5], ETHW[.48518287], LINK[5.7942], SHIB[20430.35986285], SUSHI[7], USD[177.32]

07882730                              SOL[18.194]

07882731                              USD[109.15]                                                                                                                                                                       Yes

07882733                              SOL[.004]

07882745                              BF_POINT[100], USD[528.48]                                                                                                                                                        Yes

07882749                              BTC[.0035964], USD[3.71]

07882756                              NFT (575471651485433698/Australia Ticket Stub #554)[1], USDT[.0655885]

07882760                              BTC[0], ETH[0.00062105], ETHW[0.00062104], NFT (291359472992150036/Imola Ticket Stub #1249)[1], SOL[0.00000002], USD[0.28], USDT[0]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07882772                              NFT (355010235992390634/Good Boy #13596)[1], NFT (468129241917976739/Humpty Dumpty #1361)[1]

07882774                              USD[50.00]

07882779                              BTC[0.00001483], USD[2.29]

07882785                              SOL[0], USD[0.00]

07882787                              USD[145.20]

07882804                              USD[0.00], USDT[0.00000001]                                                                                                                                                     Yes

07882806                              USD[0.00]

07882811                              USD[3.00]

07882829                              USDT[0.00000124]

07882834       Contingent, Disputed   TRX[.000001], USDT[0.47763415]

07882836                              USD[0.00]

07882846                              USD[0.00], USDT[0.00000186]

07882847                              TRX[.000001], USDT[0.06595907]

07882853                              ETH[.00000001], SOL[0], USD[48.57], USDT[0.00000079]

07882871                              BRZ[1], CUSDT[1], DOGE[1], NFT (332541544047553512/FunkyBoar)[1], SOL[.21898571], USD[0.00]                                                                                     Yes

07882888                              USD[0.00]

07882890                              USD[2.78]

07882893                              LINK[.03116493]                                                                                                                                                                 Yes

07882900                              BRZ[2], CUSDT[1], DOGE[1], ETH[0.06014259], ETHW[0.06014259], MATIC[0.00006068], SOL[1.53269659], TRX[1], USD[0.00]

07882902                              USD[152.93]

07882911                              SOL[0], USD[0.00]

07882912                              ETH[.00000001], ETHW[0], SOL[.00000001], TRX[.000268], USD[0.00], USDT[0]

07882916                              NFT (344764760235268966/Hall of Fantasy League #206)[1], NFT (452647142530313405/Tim Brown's Playbook: Michigan State vs. Notre Dame - September 19, 1987 #50)[1], USD[15.01]

07882924                              SHIB[5], USD[0.00]                                                                                                                                                              Yes

07882932                              SOL[0]

07882948                              USD[0.08], USDT[0.47390575]

07882960                              TRX[.000002], USDT[0.00000134]

07882964                              CUSDT[1], DOGE[3], USD[0.01]                                                                                                                                                    Yes

07882976                              SOL[.00004315], USD[0.51]

07882983                              DOGE[1], ETH[0], TRX[1], USD[0.00], USDT[1]

07882986                              BF_POINT[200]

07882991                              USD[0.00]

07882995                              BRZ[1], CUSDT[28], DOGE[4.00811778], SHIB[87004811.20964439], TRX[2], USD[0.85]                                                                                                 Yes

07882999                              SOL[.098], USD[6.55]

07883003                              CUSDT[1], DOGE[408.73932081], USD[0.00]

07883008                              ETHW[.02799], USD[0.90]

07883017                              USD[5.05]

07883020                              SOL[7], USD[0.00]

07883023                              CUSDT[501.69006116], DOGE[5785.05091294], USD[0.00]                                                                                                                             Yes

07883024                              USDT[.2437774]

07883025                              USD[1.90]

07883029                              USDT[399.900025]

07883034                              BTC[.00968832], DOGE[1106.69938091], ETH[.070441], ETHW[.070441], LTC[1.21253926], SHIB[9391300], SOL[1.36775064], UNI[9.6866], USD[0.72], USDT[0.00000001]

07883039                              AAVE[0.01254003], BTC[.0002123], CUSDT[2], LTC[.02311181], SUSHI[0.36715381], TRX[41.17623963], UNI[.15753376], USD[0.00]                                                       Yes

07883040                              ETH[0], NFT (360195969762727258/Reflection '19 #53 (Redeemed))[1], NFT (396628863386973785/Golden Hill #846)[1], SOL[0.41595383], USD[0.10]

07883049                              USD[0.44], USDT[10.702211]

07883050                              SOL[0], USD[0.00], USDT[0]

07883051                              USD[0.00]

07883058                              BRZ[1], BTC[.00532361], CUSDT[7], DOGE[1], ETH[.03980956], ETHW[.03980956], LINK[3.19835041], MATIC[38.21623929], SHIB[1359804.18819689], SOL[.6314903], TRX[1027.99245368],
                                      USD[0.00]
07883060                              SOL[0], TRX[.000006], USD[0.00], USDT[0.00000004]

07883077                              USD[0.00]

07883079                              CUSDT[3], USD[0.89]                                                                                                                                                             Yes

07883080                              USD[0.00]

07883086       Contingent, Disputed   USDT[0.00000142]

07883088                              BTC[.10511113], SHIB[1], USD[0.00]                                                                                                                                              Yes

07883089                              USD[0.00], USDT[0.00000001]

07883093                              USD[0.00]                                                                                                                                                                       Yes

07883095                              USD[0.00]                                                                                                                                                                       Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07883098                              USD[3.36]

07883122                              USD[0.00]

07883125                              DOGE[42.87165802]                                                                                                                                                                      Yes

07883127                              SOL[.00959], USD[1.65]

07883132                              ETH[0], USD[0.00]

07883133                              BTC[.0010404], ETH[.00551376], ETHW[.00551376], USD[0.00]

07883134                              ALGO[5999.88770987], AVAX[0], BAT[1], BRZ[3], BTC[0], DOGE[4], ETH[0], ETHW[0], LINK[0], NFT (393951938153180639/Fancy Frenchies #7086)[1], NFT (431582096547479477/Saudi Arabia Ticket Yes
                                      Stub #505)[1], NFT (499041659501555850/Entrance Voucher #4225)[1], SHIB[9546786.19232541], SOL[25.19567697], SUSHI[208.1264342], TRX[15], USD[0.00], USDT[0]
07883138                              CUSDT[1], USD[0.01]

07883143                              NEAR[.067], USD[4088.27], USDT[0]

07883149       Contingent, Disputed   USD[0.00]

07883150                              ETH[.2], ETHW[.2], USD[0.49], USDT[2.434164]

07883166                              SOL[.00290087], USD[4.74]

07883176                              ETH[.00000001], SOL[0], TRX[.00002], USD[13.00], USDT[6.31554736]

07883178                              USD[0.08]

07883182                              BTC[0], ETH[0], ETHW[0], LTC[0], USD[38.86], USDT[0.00002592]

07883197                              BTC[.00005536], ETH[.00005957], ETHW[2.10634482], LINK[.00000001], SOL[0.00853738], TRX[1], USD[12731.42]                                                                              Yes

07883198                              NFT (512518469732983089/Pandastorm9)[1], USD[0.00]

07883200                              ETHW[4.63985259], KSHIB[49.96], SHIB[299700], USD[10776.45]

07883202                              SHIB[3599900], SOL[23.77511248], USD[1.80]

07883203                              SOL[.00063911], USDT[.3069576]

07883204                              BTC[.05749068], ETH[.39139509], ETHW[.39139509], SOL[15.50695348], USD[0.00]

07883205                              SOL[.0434], USD[1.33]

07883208                              SHIB[94900], USD[0.01]

07883209                              ETH[.002], ETHW[.002], USD[1.55]

07883212                              BTC[.2976], ETH[3.967], ETHW[3.967], MATIC[21610.04965611], SOL[115.23], USD[29.81]

07883216                              CUSDT[6], DOGE[.00966718], ETH[.00009807], ETHW[.00009807], TRX[1], USD[0.49]

07883221                              GRT[.583], LINK[.0451], SOL[.00559], USD[0.00], USDT[0]

07883229                              USD[2.17]

07883235                              NFT (392568994312643933/FTX - Off The Grid Miami #2425)[1]

07883240                              SOL[0], USD[0.00]

07883243                              ETH[.74023999], ETHW[.74023999], LINK[50], SOL[200.00100499], USD[1.03]

07883246                              USD[0.00]

07883252                              CUSDT[1], SOL[.00000001], USD[0.00]                                                                                                                                                    Yes

07883263                              SOL[.00000001], USD[0.00], USDT[0]

07883266                              USD[0.01]

07883274                              USD[0.00]

07883279                              ETH[0], ETHW[0], SOL[0], USD[0.00]

07883280                              USD[0.00]                                                                                                                                                                              Yes

07883286                              USD[156.99]

07883287                              BCH[.32110649], BTC[.0547], ETH[.86504831], ETHW[.86504831], KSHIB[110], USD[0.17]

07883309                              SOL[174.16671515]                                                                                                                                                                      Yes

07883310                              BTC[0], SOL[0], USD[0.00]

07883334                              NFT (346609616909198249/Entrance Voucher #29545)[1]                                                                                                                                    Yes

07883336                              BF_POINT[600], COMP[3.97553947], GRT[0], SHIB[1], USD[0.00], USDT[0]                                                                                                                   Yes

07883343                              MATIC[9.88], USD[0.98]

07883351                              DOGE[.02], USD[0.75]

07883353                              BF_POINT[400], USD[1000.29], USDT[0]                                                                                                                                                   Yes

07883361                              MATIC[124.24234126], SHIB[2], USD[0.00]

07883362                              NFT (398828484281110629/Australia Ticket Stub #1922)[1], TRX[.000001], USD[0.01], USDT[0.40233840]

07883363                              USD[6.22]

07883371                              DOGE[1], LINK[30.64906423], SHIB[12], USD[0.00]                                                                                                                                        Yes

07883372       Contingent, Disputed   ETHW[0], USD[0.00]                                                                                                                                                                     Yes

07883384                              SOL[.00000001]

07883386                              AAVE[25.48772091], ALGO[2944.56861363], AVAX[66.36657386], BTC[.05639607], DOGE[8942.5683671], ETH[.63524524], ETHW[.63524524], LINK[197.37452033], LTC[153.80738577],
                                      MATIC[2093.21071766], NEAR[335.3994774], SOL[94.05804551], USD[13351.76]
07883390                              USD[0.25]

07883392                              NFT (378513904034677508/Imola Ticket Stub #1057)[1]

07883404                              BTC[.0376763], ETH[.024975], ETHW[.024975], LTC[.37962], SOL[2.3976], USD[0.78], USDT[1.998]

07883418                              ETHW[.027986], USD[0.00], USDT[0]
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                                                                                                                                            Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07883425                              SOL[0], USD[0.00]

07883432                              USD[0.00]

07883440                              DOGE[1], SOL[.29633917], USD[0.00]

07883445                              BTC[.0133], SUSHI[4.5], USD[0.00]

07883448                              BTC[.0365634], DOGE[1998], ETH[.286], ETHW[.286], LTC[3], SHIB[9990000], SOL[.00216], USD[1307.00]

07883454                              USD[582.33]

07883457                              USD[0.00]

07883460                              SOL[.00000018], USD[0.00]

07883470                              SOL[5.999995]

07883473                              BTC[.25828036], ETH[.5], ETHW[.5], SOL[0.00090528], USD[5.88]

07883487                              NFT (340156534678598950/Saudi Arabia Ticket Stub #2283)[1]

07883496                              BCH[.0006922], BTC[0.00324346], USD[0.51]

07883498                              NFT (443117589452318804/F100)[1], SOL[.024], USD[95.36]

07883499                              SOL[0], USD[0.01], USDT[0.00000083]

07883515                              NFT (367165329049426215/FTX - Off The Grid Miami #4161)[1], SOL[0.71222279]

07883519                              BRZ[1], DOGE[4], USD[453.18], USDT[1.05430905]                                                                                                                                               Yes

07883524                              USD[0.80]                                                                                                                                                                                    Yes

07883528                              DOGE[1], SHIB[2], USD[0.00]                                                                                                                                                                  Yes

07883546                              ETH[0], EUR[0.00], SOL[.00000001], TRX[.000001], USD[0.00], USDT[0.00000033]

07883550                              BTC[.00027566], DOGE[0], SHIB[0], USD[0.16], USDT[0]

07883551                              BTC[.002], SOL[0.28265375]

07883560                              BTC[0], SOL[0], USD[0.04]                                                                                                                                                                    Yes

07883568                              USD[0.00]

07883569                              BTC[.0014095], CUSDT[9], DOGE[89.56251522], ETH[.08707993], ETHW[.08605654], SHIB[1], SOL[.14185864], USD[384.32]                                                                            Yes

07883580                              USD[0.00]

07883594                              BAT[79.27452034], BRZ[1], DOGE[4637.838396], KSHIB[2995.99749582], SHIB[37700115.8190042], USD[0.89]                                                                                         Yes

07883604                              SOL[.00049595], TRX[.000001], USDT[0.00000006]

07883613                              AVAX[10.09021723], BRZ[321.70493763], CUSDT[27], DOGE[5], KSHIB[1001.2770606], LINK[154.96051012], TRX[1069.00791352], USD[4.81], USDT[1.02543197]                                           Yes

07883614                              USD[0.00]

07883626                              TRX[9209.23408888]                                                                                                                                                                           Yes

07883628                              SOL[.00684], USD[0.00]

07883632                              MATIC[.00087666], SHIB[1], USD[0.00], USDT[0.00000001]                                                                                                                                       Yes

07883637       Contingent, Disputed   TRX[.000001], USDT[.474405]

07883639                              BTC[0.02972313], ETH[0], ETHW[0], GRT[0], SOL[0], USD[0.00]

07883640                              BTC[.00000084]                                                                                                                                                                               Yes

07883641                              NFT (362081809479781533/Coachella x FTX Weekend 1 #19165)[1]

07883647                              USD[13.78]

07883653                              BTC[.0090909], DOGE[15], USD[0.18]

07883664                              USD[0.00]

07883668                              BTC[.01642403], SOL[4.05846438], USD[0.00]

07883672                              USD[504.79]                                                                                                                                                                                  Yes

07883683                              AAVE[1.84], BTC[0.02487634], DOGE[1629], ETH[1.04072626], ETHW[1.04072626], LINK[25.475775], MATIC[370], SOL[23.0146515], USD[105.28]

07883691                              BTC[0], USD[0.00]

07883698                              USDT[0.04089728]

07883699                              AUD[0.00], CAD[0.00], CUSDT[1], ETH[.00300095], ETHW[.00295991], USD[32.22]                                                                                                                  Yes

07883701                              SOL[-0.00910780], USD[6.14], USDT[0.00000001]

07883703                              USD[0.88], USDT[0]

07883707                              CUSDT[4], MATIC[20.43725659], SOL[3.80693489], TRX[2], USD[0.00]

07883711                              DOGE[1], ETH[.00000168], ETHW[.11018393], SHIB[30], TRX[1], USD[2.00]                                                                                                                        Yes

07883713                              AAVE[0], BCH[.16366867], BTC[0.00304282], CUSDT[543.12007934], DOGE[153.89840401], ETH[0.01533057], ETHW[3.31017490], GRT[0], KSHIB[0], LINK[0], LTC[0.46384695],                            Yes
                                      MATIC[41.27180430], MKR[0], SHIB[3252794.84663578], SOL[.37784605], SUSHI[0], TRX[188.51312776], USD[0.15], USDT[0]
07883725                              USD[15000.00]

07883728                              BTC[.357], USD[5431.91]

07883733                              USDT[1.3170759]

07883752                              SOL[0], USDT[0.00000102]

07883756                              CUSDT[1], USD[0.00]                                                                                                                                                                          Yes

07883759                              NFT (352899147715475307/Raydium Alpha Tester Invitation)[1], NFT (375183171230864353/Raydium Alpha Tester Invitation)[1], NFT (381298892684963639/Raydium Alpha Tester Invitation)[1], NFT
                                      (400751784197293562/Raydium Alpha Tester Invitation)[1], NFT (449727162013260918/Raydium Alpha Tester Invitation)[1], NFT (455582780944264611/Raydium Alpha Tester Invitation)[1], NFT
                                      (457732664168734864/Raydium Alpha Tester Invitation)[1], NFT (465185022537780939/Unverfied Token)[1], NFT (505128941307175367/Raydium Alpha Tester Invitation)[1], NFT
                                      (533308984247988274/Raydium Alpha Tester Invitation)[1], NFT (556593546098910417/Magic Eden Plus)[1], SOL[.00949], USD[0.00], USDT[0]
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                                                                                                                                            Customer Claims                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07883766                              USD[0.00]

07883771                              USD[0.00]

07883778                              USD[10.00]

07883789                              USD[0.00]

07883793                              USD[0.00]

07883798                              NFT (374028631329459836/Warriors 75th Anniversary Icon Edition Diamond #1916)[1]

07883800                              ETHW[7.96259957], MATIC[0], SOL[.00000001], USD[0.38]                                                                                                            Yes

07883806                              USD[3.17]

07883807                              USD[0.01]                                                                                                                                                        Yes

07883810                              AVAX[9.28753115], BF_POINT[500], ETHW[6.35158029], LINK[18.79375649], MATIC[201.87112795], USD[1.73], USDT[0]

07883814                              ETH[.00047737], ETHW[0.00047737], SOL[0.00000016]

07883821                              CUSDT[2], TRX[1], USD[0.00], USDT[0.00000001]

07883822                              DOGE[0], SOL[0]

07883825                              TRX[1], USD[0.53]                                                                                                                                                Yes

07883833                              USD[0.00]

07883846       Contingent, Disputed   SOL[.00000001]

07883853                              NFT (401824916205805457/Coachella x FTX Weekend 1 #13670)[1]

07883858                              USD[0.00], USDT[0]

07883880                              USD[0.00]

07883883                              SOL[.66934], USD[0.17]

07883885                              USD[168.29]

07883886                              ETH[0], USD[0.74]

07883889                              SOL[.00000001], USD[25.38], USDT[.4357054]

07883891                              DOGE[4.995], ETH[.003], ETHW[.003], USD[0.17]

07883893                              USD[0.00]

07883894                              USD[10.27]

07883900                              USD[7.41]

07883909                              USD[0.61]

07883918                              ETH[0], SOL[0.00791757]

07883919                              BRZ[2], BTC[.00278707], CUSDT[1], DOGE[7], ETH[.04028875], ETHW[0.83591370], LINK[31.76200552], SHIB[37], SOL[2.42858966], TRX[7], USD[0.00], USDT[0.00001594]   Yes

07883930                              CUSDT[7], USD[0.00], USDT[0]                                                                                                                                     Yes

07883935                              BRZ[1], DOGE[1776.95386905], USD[0.00]                                                                                                                           Yes

07883942                              SOL[.00000001], USD[1.87], USDT[0]

07883944                              BTC[.00006808], SOL[0.00000134]

07883959                              USD[49.65]

07883970                              BTC[.08161421], DOGE[1], ETH[.00000001], ETHW[0], MATIC[.00000001], SHIB[13], SOL[.00000001], USD[476.88], USDT[1.00021912]                                      Yes

07883972                              BRZ[1], ETHW[.01456429], SHIB[1673587.40312625], TRX[1], USD[35.38]                                                                                              Yes

07883985                              BTC[0.00422254], DOGE[262.71481960], ETH[.04135136], ETHW[0.04135135], SOL[0.00000017]

07883989                              USD[2.17]

07883994                              USD[0.00]

07884002                              DOGE[.533], SHIB[95000], USD[87.05]

07884005                              NFT (427916129764866260/FTX Crypto Cup 2022 Key #232)[1], USD[0.98]

07884014                              USD[0.23]

07884015                              SOL[11.37703], USD[1329.25], USDT[0]

07884019                              BAT[0.00000914], SOL[0.00003283], USD[0.01], USDT[0]                                                                                                             Yes

07884024                              USD[0.00]

07884035                              USD[100.00]

07884043                              BTC[0], ETH[0], SOL[0], USD[0.58], USDT[0.00000001], YFI[0]

07884049                              SHIB[458365.16424751], SOL[1.2064734], USD[0.00]

07884054                              BTC[.01193223], ETH[.17088497], ETHW[0], LINK[0], LTC[0], SOL[7.03688725], USD[0.00], USDT[0.00000001]                                                           Yes

07884055                              BTC[.00209041]                                                                                                                                                   Yes

07884070                              USD[0.00]

07884072                              DOGE[2], LTC[.00024252], NFT (382371057741878355/Imola Ticket Stub #2014)[1], SHIB[498.02540132], SUSHI[.00613231], TRX[.00000682], USD[82.17]                   Yes

07884080                              TRX[.000001], USDT[1.08550833]

07884085                              USD[0.00]

07884087                              USD[546.23], USDT[.0084129]

07884091                              USD[0.00]

07884099                              TRX[.000001], USDT[.1599038]
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                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07884100                           DOGE[1.00007488], GRT[1], SHIB[4181.91195958], TRX[2], USD[0.01]                                                                                                                      Yes

07884107                           BRZ[1], CUSDT[7], DOGE[69.69493712], ETH[.00287524], ETHW[.0028342], LTC[.02629105], SHIB[402713.29713001], SOL[.15474996], TRX[4], USD[0.01]                                         Yes

07884137                           CUSDT[6], ETH[.0085388], ETHW[.0085388], USD[0.91]

07884138                           ETH[1], SOL[0], USD[0.01], USDT[1]

07884151                           BTC[0], ETH[0], SOL[0.00083700], USD[0.00], USDT[0.34844478]

07884157                           USD[9.68]

07884182                           DOGE[1], ETH[.00000009], ETHW[.00000009], USD[0.00]                                                                                                                                   Yes

07884184                           USD[50.00]

07884187                           TRX[.000004], USD[0.33]

07884192                           USD[1.51]

07884194                           ETH[0], ETHW[0], SHIB[1], USD[0.74], USDT[0]                                                                                                                                          Yes

07884196                           CUSDT[1], SHIB[502021.8136374], USD[0.00]                                                                                                                                             Yes

07884198                           USD[0.64]

07884199                           BCH[.04223925], BF_POINT[300], BTC[.00384004], CUSDT[20], DOGE[1], ETH[.01790219], ETHW[.01768331], GRT[64.68283033], LINK[.00003041], MATIC[.00019875], SHIB[3], SOL[.16059911],     Yes
                                   TRX[1], USD[0.09], YFI[.00079726]
07884226                           USD[140.01]

07884232                           BRZ[2], BTC[0.00027628], DAI[4273.81905372], DOGE[336.42379736], ETH[.10864192], ETHW[.10759078], GRT[1], LINK[1.01512343], SHIB[3], SOL[.00028995], USD[7105.76], USDT[1.06858437]   Yes

07884245                           BRZ[59.14761845], CUSDT[4], DOGE[151.05391608], KSHIB[382.81783402], MATIC[5.21776532], SHIB[323254.09653775], TRX[1], USD[0.00]                                                      Yes

07884247                           SHIB[3], USD[51.88], USDT[0]                                                                                                                                                          Yes

07884248                           CUSDT[5], USD[0.01]                                                                                                                                                                   Yes

07884251                           NFT (484872172175027038/Entrance Voucher #29256)[1]

07884258                           CUSDT[1], DOGE[1], TRX[3485.31317538], USD[0.00]

07884274                           ETH[0], MATIC[20], SHIB[2498300], SOL[0], USD[3.11]

07884276                           TRX[.000001], USDT[0.00000124]

07884280                           AUD[0.00], BTC[0], MXN[0.00], USD[30.15]

07884292                           AUD[1.25], BTC[.00008038], CUSDT[74.92652558], DOGE[17.88766363], ETH[.00106781], ETHW[.00105413], SHIB[71588.62839444], SOL[.03559002], USD[0.00]                                    Yes

07884296                           BAT[2], BRZ[3], DOGE[0.00004723], ETH[.00004249], ETHW[.00000924], GRT[1], SHIB[3], SOL[.00008333], TRX[3], USD[1931.13], USDT[0.00000259]                                            Yes

07884301                           ETH[.00000001], USD[0.00]

07884303                           CUSDT[1], USD[0.00]                                                                                                                                                                   Yes

07884306                           BTC[0], LTC[0], USD[0.00]

07884312                           NFT (390787191501703503/Entrance Voucher #2083)[1], SOL[10.33965], USD[2.87]

07884317                           ETH[0], SOL[0.00611397], USD[0.40], USDT[0]

07884318                           BTC[.0000002], USD[0.72], USDT[.98700793]

07884321                           NFT (518478158648060067/FTX - Off The Grid Miami #1328)[1]

07884324                           NFT (320273613370399867/Fat Regular Person #6)[1], SHIB[4], SOL[0], TRX[1], USD[0.35]                                                                                                 Yes

07884330                           USD[1.01]

07884332                           TRX[.000024], USD[0.68]

07884334                           ETH[.027], ETHW[.027]

07884348                           NFT (357189742821759015/Birthday Cake #2961)[1], NFT (363514309379518292/The 2974 Collection #2415)[1], NFT (395362354323677043/The 2974 Collection #2961)[1], NFT
                                   (500467185303839285/Birthday Cake #2415)[1], USD[665.27]
07884352                           BTC[.00090372], DOGE[1], USD[0.00]                                                                                                                                                    Yes

07884356                           BTC[.16260845], USD[3169.71]

07884360                           AAVE[.0018585]

07884369                           BRZ[1], CUSDT[18], DOGE[2], TRX[4], USD[0.01]                                                                                                                                         Yes

07884373                           USD[0.00], WBTC[.01758006]

07884377                           CUSDT[4], DOGE[89.35960554], ETH[.01497132], ETHW[.01478], MATIC[13.25467639], MKR[.01025484], UNI[1.09468721], USD[0.00]                                                             Yes

07884379                           DOGE[.24015708], ETHW[1.38031228], NFT (506760582551227760/FTX - Off The Grid Miami #5547)[1], SHIB[352.71269567], TRX[2], USD[0.02]                                                  Yes

07884383                           AAVE[0.00001406], BAT[3.17746252], BRZ[3], BTC[.23600937], CUSDT[3], ETH[3.48975534], ETHW[3.48844306], GRT[4857.62103525], LINK[181.67599314], MATIC[751.59058257],                  Yes
                                   SOL[8.24249297], SUSHI[268.26304393], TRX[5], UNI[182.31610788], USD[0.00], USDT[0]
07884391                           BAT[1], BRZ[2], CUSDT[2], DOGE[2], GRT[2.00326498], SUSHI[1.08581699], TRX[1], USD[801.14], USDT[1.08546965]                                                                          Yes

07884397                           BTC[.52058703], DOGE[2330]

07884400                           NFT (413527141873616351/Sigma Shark #4168)[1], NFT (447716463426224362/Sigma Shark #1109)[1], NFT (497848132067289850/Sigma Shark #1724)[1], NFT (524650096332644934/Sigma Shark
                                   #3495)[1]
07884404                           SHIB[3], SOL[.00002189], TRX[1], USD[0.00]                                                                                                                                            Yes

07884406                           ETH[.34226314], ETHW[.34226314], LINK[3.0969], USD[287.04]

07884412                           USD[0.00]

07884414                           BAT[6.2937492], BRZ[13.66451046], CUSDT[25], ETHW[3.32956446], GRT[7.07832567], NFT (311163729360811263/3D CATPUNK #9679)[1], NFT (392384905494389165/DarkPunk #2763)[1], NFT         Yes
                                   (396019061017900179/DRIP NFT)[1], NFT (408077036628813532/Cyber Pharmacist 4279)[1], NFT (423939012152493637/DRIP NFT)[1], NFT (430067571151066282/Cyber Pharmacist 5569)[1], NFT
                                   (533865705053951641/Little Rocks #242)[1], SOL[3.48660924], TRX[35.63409824], UNI[1.05562863], USD[0.84], USDT[6.27715628]
07884416                           NFT (288947137293649871/Entrance Voucher #5617)[1], NFT (485709965499613855/FTX AU - we are here! #31871)[1], NFT (501603998791722820/FTX AU - we are here! #31892)[1], USD[0.00]

07884430                           GRT[479.76922825], SOL[25.07911555], USD[0.00]

07884443                           SHIB[4545.31575764], USD[0.00]
West Realm Shires Services Inc.                                                    Case 22-11068-JTD      Doc F-3:
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                                                                                                                                         Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07884448                           USD[0.05], USDT[0.00000001]

07884449                           SOL[29.70698683], USD[0.32]

07884451                           USD[0.00], USDT[0.00018353]

07884458                           SOL[152.49382903], USD[1.52]

07884462                           BTC[0.09803247], DOGE[1], SHIB[4238.3853211], TRX[3], USD[0.00]                                                                                                                          Yes

07884472                           USD[2.03]                                                                                                                                                                                Yes

07884478                           CUSDT[2], DOGE[1], SHIB[4], TRX[2], UNI[5.78045265], USD[0.00], USDT[0]

07884490                           BTC[0], DOGE[0], LTC[0], MKR[0], SOL[0], USD[0.00], USDT[0.24959134]                                                                                                                     Yes

07884491                           DOGE[0], USD[0.00]                                                                                                                                                                       Yes

07884492                           CUSDT[8], GRT[98.77531924], KSHIB[761.67358027], TRX[540.16245935], UNI[.00000343], USD[0.86]                                                                                            Yes

07884496                           USD[0.00]

07884505                           BTC[.00001467], USD[2.72]

07884507                           BTC[0], ETH[0], USD[0.00]

07884509                           TRX[.970047], USDT[1.1521937]

07884514                           BTC[0.00131874], SHIB[7099200], USD[3.10]

07884515                           CUSDT[2.00004808], SHIB[2425874.0392127], TRX[2], USD[0.00]                                                                                                                              Yes

07884520                           DOGE[74.80346742]                                                                                                                                                                        Yes

07884521                           NFT (494655454625857500/Coachella x FTX Weekend 1 #20228)[1], USD[177.84]

07884527                           DOGE[1], USD[0.00]                                                                                                                                                                       Yes

07884528                           CUSDT[4], DOGE[109.4765431], SHIB[2976649.14203161], SUSHI[1.80579308], TRX[1], USD[13.51], YFI[.00038444]                                                                               Yes

07884535                           BAT[257.847], BTC[.00001443], LTC[12.87614477], NFT (349786286522167235/Degen Lizzy #1273)[1], NFT (508487502812010817/Degen Lizzy #7762)[1], SOL[76.05751938], USD[0.35]

07884538                           USD[6.05]

07884547                           USD[0.07]

07884557                           USD[15.39]                                                                                                                                                                               Yes

07884565                           SHIB[3], USD[20.08], USDT[0.00018221]                                                                                                                                                    Yes

07884588                           NFT (418341489689839610/FTX - Off The Grid Miami #2968)[1]

07884593                           USD[0.00]

07884596                           USD[0.00], USDT[0.00000001]

07884606                           ETH[0], MATIC[5], NFT (301897363563784401/Romeo #958)[1], SOL[0], USD[0.01], USDT[.358041]

07884608                           NFT (505405681343073581/Flunk Donkey #3512)[1]

07884611                           BTC[.04348104], CUSDT[3], SOL[6.50013295], TRX[2], USD[794.00]                                                                                                                           Yes

07884613                           LTC[.17872791], USD[0.00]

07884625                           BTC[0], USD[1.60]

07884650                           USD[44.10]

07884664                           BAT[.935], BTC[0.00000787], LTC[.00701901], MATIC[.9], USD[0.01], USDT[.0044332]

07884669                           DAI[0], SHIB[0], SUSHI[0], USD[0.00]                                                                                                                                                     Yes

07884670                           CUSDT[2], DOGE[1], ETH[.00000092], ETHW[0.00000092], SHIB[701863.90942385], SOL[5.97391751], USD[1.31]                                                                                   Yes

07884672                           USD[0.00], USDT[0]

07884687                           BTC[.00000095], CUSDT[2], SOL[0], USD[0.00], USDT[2.00001826]

07884692                           BTC[.00042479], CUSDT[1218.99635862], USD[0.01]                                                                                                                                          Yes

07884694                           CUSDT[1], USD[0.00]                                                                                                                                                                      Yes

07884701                           USD[5.96]

07884706                           DOGE[1], ETH[0], NFT (493311635285968837/Bahrain Ticket Stub #1680)[1], SHIB[1], SOL[4.27189345], TRX[2], USD[0.00], USDT[0.00000024]

07884707                           CUSDT[2], SHIB[696724.10877469], TRX[15.78863026], USD[0.00]                                                                                                                             Yes

07884712                           BRZ[1], BTC[.04767513], CUSDT[2], DOGE[1], USD[1.93], USDT[1.08479141]                                                                                                                   Yes

07884719                           NFT (354646471716001545/2974 Floyd Norman - CLE 1-0100)[1], NFT (415808792803964949/Birthday Cake #0819)[1], NFT (512525396347838766/The 2974 Collection #0819)[1], SOL[0], USD[0.00],
                                   USDT[0.00003142]
07884724                           BAT[1], BF_POINT[300], BRZ[5.05978809], CUSDT[10], DOGE[14.43205605], ETH[4.09519521], ETHW[4.09384265], GRT[1.00240661], SHIB[2], SOL[86.45631167], TRX[9], USD[14533.00],              Yes
                                   USDT[1.0527156]
07884736                           SOL[0]

07884739                           BTC[.00000008], CUSDT[13], DOGE[5.00927798], GRT[1.00196543], USD[0.00]                                                                                                                  Yes

07884740                           BRZ[1], CUSDT[1], USD[0.01]                                                                                                                                                              Yes

07884751                           DOGE[1], SHIB[16], TRX[4], USD[0.00]

07884759                           BRZ[2], BTC[.00094287], CUSDT[7], DOGE[5], ETH[.12104759], ETHW[.11988243], GRT[1], SHIB[24], SOL[.66867122], TRX[4], USD[0.00]                                                          Yes

07884761                           BTC[0], LTC[.00434269], USD[1.43]

07884784                           CUSDT[7], TRX[2], USD[0.00]                                                                                                                                                              Yes

07884793                           USD[0.00]

07884796                           BRZ[49.11476973], BTC[.00201044], DOGE[1], ETH[.06067189], ETHW[.05991949], SHIB[2], SOL[6.85446559], TRX[365.00424396], USD[0.00]                                                       Yes

07884800                           SOL[.00173489]                                                                                                                                                                           Yes

07884810                           BRZ[1], BTC[.00763551], CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                     Yes
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07884811                              BTC[.00000052]                                                                                                                                                                      Yes

07884818                              BTC[.00052318], CUSDT[1002.79376929], USD[0.01]                                                                                                                                     Yes

07884824                              USD[544.02]                                                                                                                                                                         Yes

07884825                              CUSDT[1], SOL[.14686313], USD[26.87]                                                                                                                                                Yes

07884826                              BAT[0], GRT[0], SUSHI[0], UNI[0], USD[0.00]                                                                                                                                         Yes

07884834                              BTC[0], DOGE[0], LTC[0], USD[0.00], USDT[0.00007353]

07884842                              DOGE[.0005025], USD[0.00]                                                                                                                                                           Yes

07884844                              TRX[.000001], USD[9.73]

07884855                              BRZ[3], BTC[.00000115], CUSDT[37], DOGE[10.04670929], NEAR[38.83865798], SHIB[31], SOL[.00000001], TRX[3], USD[0.37], USDT[2.16122763]                                              Yes

07884857                              BAT[1.01230748], CUSDT[5], DOGE[1], LINK[7.00579652], USD[458.95]                                                                                                                   Yes

07884858                              BTC[.0076787], DOGE[646.79865906], ETH[.03255951], ETHW[.03215423], SHIB[10], USD[0.00]                                                                                             Yes

07884870                              NFT (374352435731532618/Microphone #4146)[1], NFT (527577269479458497/Imola Ticket Stub #1375)[1], SOL[.000005], USD[1.07], USDT[0]

07884874                              USD[0.00]

07884879                              BTC[0.00001659], SOL[.00000001]

07884881                              BTC[.67903569], DOGE[.7865], ETH[.0008904], ETHW[.0008904], LINK[.09667], MATIC[4.664], NFT (345745449487619925/Entrance Voucher #2095)[1], SOL[.001234], USD[90.92], USDT[12.88]

07884882                              USD[0.01]

07884885                              USD[0.00]                                                                                                                                                                           Yes

07884900                              BTC[0], DOGE[0], NFT (514242496092696750/Saudi Arabia Ticket Stub #1369)[1], SHIB[95.01882142], SOL[0.00000001], USD[0.00], USDT[0]                                                 Yes

07884901                              USD[0.00]

07884902                              USD[0.05]

07884908                              BF_POINT[200], CUSDT[1], ETH[.00375782], ETHW[.00371678], USD[40.94]                                                                                                                Yes

07884918                              USD[0.00]

07884923                              ETH[0], SOL[0], USD[0.57], USDT[0.00002241]

07884928                              BTC[.00942044], DOGE[1], USD[0.20]                                                                                                                                                  Yes

07884934                              TRX[.000001], USD[0.00], USDT[0]

07884935                              USD[2.40]

07884937       Contingent, Disputed   BAT[0], DOGE[0], USD[0.00]                                                                                                                                                          Yes

07884941                              BTC[.00000011], DOGE[1], MATIC[13.73929207], SHIB[4], TRX[1], USD[0.01]

07884960                              AVAX[0], ETH[0], MATIC[0], SOL[0], TRX[0], USDT[0]

07884968                              ALGO[0], ETHW[.00000036], SHIB[7], USD[0.00]                                                                                                                                        Yes

07884969                              BAT[2.05051868], BRZ[2], CUSDT[3], DOGE[1], ETHW[.02510842], GRT[2.01481967], LINK[.00667435], TRX[3], USD[0.00], USDT[0]                                                           Yes

07884979                              BTC[.01453529], CUSDT[1], DOGE[1], ETH[.36152552], ETHW[.36137372], TRX[2], USD[0.00]                                                                                               Yes

07884983                              BTC[0], USD[0.00]

07884992                              ETH[.00000811], ETHW[.00000811], SHIB[1], TRX[1], USD[0.00]                                                                                                                         Yes

07885007                              BTC[.00011442], DOGE[38], MATIC[9.99], SUSHI[.4995], TRX[63.936], USD[0.01], USDT[2.27664715]

07885008                              USD[0.57]

07885018                              ETH[.000193], ETHW[.000193], SOL[.00455017], USD[0.74]                                                                                                                              Yes

07885019                              USD[0.00]                                                                                                                                                                           Yes

07885023                              BTC[.02173878], CUSDT[4], TRX[1], USD[2.30]                                                                                                                                         Yes

07885032                              USD[5.81]

07885059                              DOGE[40], USD[0.19]

07885061                              CUSDT[1], USD[0.00]                                                                                                                                                                 Yes

07885066                              USD[0.00]

07885072                              SHIB[3], TRX[1], USD[0.00], USDT[0]

07885095                              CUSDT[2], USD[24.88]                                                                                                                                                                Yes

07885097                              CUSDT[2], USD[0.00]                                                                                                                                                                 Yes

07885110                              USD[0.00]

07885141                              USD[15.92]

07885150                              NFT (382150609373267651/MetawanaCommunityWL)[1], USD[0.00]

07885159                              BTC[0.00000001], LTC[0], SHIB[2], USD[0.00], USDT[0.00000072]                                                                                                                       Yes

07885168                              NFT (365354790241079531/Australia Ticket Stub #877)[1]

07885170                              ETH[.08991], ETHW[.08991], TRX[.09528893], USD[2.78]

07885171                              SHIB[1], TRX[1], USD[0.01]

07885186                              BTC[0], DOGE[0], LINK[0], MATIC[0], MKR[0], SHIB[2], TRX[2.00013795], USD[4.35], USDT[0]                                                                                            Yes

07885190                              USD[0.00]

07885208                              ETH[0], SOL[0], USD[0.00]

07885211                              SOL[.04], USD[0.85]

07885223                              SHIB[86245.68973761], USD[0.00]                                                                                                                                                     Yes
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07885229                              BRZ[1], CUSDT[3], DOGE[1], SHIB[152924.11451039], TRX[1], USD[0.00]                                                                                                                      Yes

07885234                              USD[0.00]

07885264                              USD[0.00]

07885269                              BTC[0.00000132], USD[0.00]                                                                                                                                                               Yes

07885286                              USD[0.00], USDT[.49044971]                                                                                                                                                               Yes

07885296                              BTC[0], CUSDT[2], ETH[0.00000566], ETHW[0.00000566], GRT[.00000913], LTC[0], SOL[0], UNI[.00000913]                                                                                      Yes

07885302                              USD[0.00]

07885311                              CUSDT[1], SOL[10.95403820]                                                                                                                                                               Yes

07885313                              USD[0.00]

07885321                              SOL[6.44849668], USD[4.26]

07885324                              UNI[.1], USD[0.01], USDT[.0863604]

07885342                              BRZ[3], BTC[0], CUSDT[12], DOGE[7.00057537], ETH[0.00000001], ETHW[0.42469866], GRT[1], SHIB[13], SOL[0.00000001], TRX[2], USD[0.00]                                                     Yes

07885345                              TRX[325.78938927], USD[0.00]                                                                                                                                                             Yes

07885356       Contingent, Disputed   USDT[0]

07885387                              SOL[1.55], USD[1.47]

07885421                              ETH[0], ETHW[0], MATIC[0], USD[0.00]

07885439                              USD[2.37]

07885442                              USD[0.89]

07885453                              TRX[.000001], USDT[9.87174349]

07885468                              DOGE[634.637], TRX[5151.834], USD[0.29], USDT[0.28450471]

07885477                              SHIB[8286203.45269234], USD[0.00]

07885488                              BRZ[1], BTC[.00103633], CUSDT[15], ETH[.01065179], ETHW[.01051489], GRT[11.71190922], LINK[.49339429], MATIC[4.5567421], SOL[.09795347], TRX[55.12350664], USD[0.00]                     Yes

07885492                              BF_POINT[300], USD[2.00]

07885497                              ETH[.037962], ETHW[.037962], SOL[3.996], USD[3.65]

07885499                              ETH[.00261926], ETHW[.0025919]                                                                                                                                                           Yes

07885500                              BRZ[1], LINK[833.70155734]                                                                                                                                                               Yes

07885508                              AAVE[.1601797], CUSDT[505.657715], DOGE[202.66812992], ETH[0.01236095], ETHW[0.01627834], KSHIB[107.2416267], LINK[.40526659], LTC[.0345968], MATIC[13.55277956], NFT                    Yes
                                      (361762505748035466/Bahrain Ticket Stub #713)[1], PAXG[.00215282], SHIB[1570668.35489248], SOL[.16887715], TRX[161.35606564], UNI[.75396406], USD[0.00], USDT[8.77746919],
                                      YFI[.00016719], ZAR[111.23]
07885509                              CUSDT[1], DOGE[1.00000519], USD[-0.06]

07885512                              BTC[.0072], ETH[.044], ETHW[.044], NFT (306315882492368792/Happi the Crypto Whale 001)[1], NFT (430873794886109584/Baby the Bear)[1], NFT (461401687310968986/Sad Fish)[1], USD[5.91],
                                      USDT[6.7457356]
07885520                              USD[0.06]                                                                                                                                                                                Yes

07885525                              NFT (515594453041264040/Humpty Dumpty #696)[1]

07885527                              CUSDT[1], DOGE[1], USD[0.01]                                                                                                                                                             Yes

07885529                              ETH[0], ETHW[0], MATIC[0], SHIB[0], USD[0.00]

07885537       Contingent, Disputed   USD[0.00]                                                                                                                                                                                Yes

07885551                              TRX[0], USD[0.00]

07885561                              BTC[0], SOL[0], USD[0.00]

07885565                              NFT (312450234307347437/Microphone #1879)[1]

07885589                              CUSDT[1], DOGE[1], SHIB[717097.04109582], USD[0.00]                                                                                                                                      Yes

07885591                              BTC[0], ETH[0], USD[0.68]

07885593                              SOL[0], USD[0.00], USDT[0.00000114]

07885597                              NFT (455660130899345725/Coachella x FTX Weekend 1 #13287)[1]

07885600                              CUSDT[1], ETH[.11532508], ETHW[.11420374], USD[0.00]                                                                                                                                     Yes

07885608                              ETH[.00000001], ETHW[4.70273763], USD[0.00]

07885613                              USD[0.00]

07885635                              ETH[.00000001], ETHW[0], SOL[0.00647404]

07885652                              NFT (416468610265765202/FTX - Off The Grid Miami #3361)[1], TRX[0.00000001], USD[0.00]

07885655                              USD[5.67]

07885659                              USD[0.00]

07885664                              BTC[0.00000937], SOL[0], USD[0.00], USDT[0]                                                                                                                                              Yes

07885673                              CUSDT[3], LTC[0.28214658], USD[0.00]                                                                                                                                                     Yes

07885674                              USD[0.00]                                                                                                                                                                                Yes

07885698                              USD[0.00]

07885704                              ETH[.44108142], ETHW[.44108142]

07885709                              NFT (489665423861000023/Saudi Arabia Ticket Stub #859)[1]

07885710       Contingent, Disputed   USD[0.00]

07885712                              USD[0.00]

07885743                              DOGE[404.595], SOL[.23], USD[0.64]
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                                                                                                                                            Customer Claims                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07885751                              CUSDT[2], DOGE[79.49780789], ETH[.011654], ETHW[.011654], SHIB[385564.46637877], TRX[1], USD[0.00]

07885756                              ETH[.000897], ETHW[.000897], NFT (318155177302728768/Tuesday.)[1], NFT (438130887362376853/The Thespian)[1], SOL[.00177297], USD[0.97]

07885766                              USD[150.25], USDT[0]                                                                                                                                                          Yes

07885770                              TRX[.000001]

07885788                              USD[0.00]                                                                                                                                                                     Yes

07885792                              AVAX[.63965942], BRZ[2], BTC[.00000039], DOGE[2], GRT[2], LINK[1.52408888], SHIB[19], TRX[.02754483], USD[0.39]                                                               Yes

07885802                              USD[0.45]

07885804                              USD[0.01]                                                                                                                                                                     Yes

07885806                              BTC[.00040154], CUSDT[2], MKR[.00211648], USD[0.70], YFI[.00005669]                                                                                                           Yes

07885811                              USD[0.00]

07885821                              USD[1.93]

07885822                              USD[0.01], USDT[1.4303696]

07885831                              ETH[.00716767], ETHW[.00716767], USD[0.01]

07885838                              BAT[1.00105079], BRZ[1], CUSDT[8], DOGE[3458.03766322], ETH[.19830756], ETHW[.1980976], SHIB[1], SOL[7.32426485], TRX[4], USD[0.41]                                           Yes

07885860                              SOL[0], USD[0.00]

07885864                              BTC[.01659335], ETH[.15484335], ETHW[.15484335], SHIB[600000], USD[3.51]

07885866       Contingent, Disputed   ETH[.00040524], ETHW[0.30540523], USD[0.00], USDT[0]

07885873                              BF_POINT[300], BTC[.00000008]                                                                                                                                                 Yes

07885876                              USD[254.89]

07885884                              BRZ[1], BTC[.08655303], CUSDT[3], DOGE[2], ETH[.4107257], ETHW[.4105532], GRT[1.00283507], MATIC[104.46908152], SOL[7.39760914], TRX[1], USD[0.00]                            Yes

07885885                              USD[0.00], USDT[0.00000144]

07885893                              LINK[0], SOL[0], USD[0.00]

07885919                              CUSDT[1], USD[0.00]                                                                                                                                                           Yes

07885920                              ETH[0], ETHW[0], NFT (514902429409167996/Saudi Arabia Ticket Stub #271)[1], USDT[0.00000038]

07885927                              ETH[0], USD[0.00], USDT[0]

07885928                              BRZ[1], CUSDT[21], DOGE[3], SHIB[1], TRX[6], USD[0.00], USDT[0]                                                                                                               Yes

07885933                              USD[0.00]

07885945                              BRZ[1], CUSDT[1], DOGE[2], ETHW[.12607648], NFT (486695683863558440/Fancy Frenchies #5890)[1], SHIB[1], TRX[1], USD[0.00]                                                     Yes

07885959                              BTC[.00019033], CUSDT[13], DOGE[1], ETH[.00741949], ETHW[.00732373], GRT[35.29533273], LINK[2.53293883], PAXG[.00856229], SOL[.08085888], TRX[1], USD[0.00], YFI[.00033553]   Yes

07885969                              USD[0.00]

07885976                              ETH[0], USD[0.00], USDT[0]

07885978                              DOGE[394.59985886], MKR[.00536256], USD[0.00], USDT[0]                                                                                                                        Yes

07885982                              AAVE[1], TRX[5183], UNI[15.5], USD[0.00], USDT[.07171757]

07885984                              ETH[0], ETHW[0], USD[0.00]

07885985                              CUSDT[1], SOL[1.0047618], USD[101.00]

07885992       Contingent, Disputed   USD[1.15]

07885998                              SOL[0]

07886001                              LINK[10.80521775], TRX[1], USD[0.00]                                                                                                                                          Yes

07886002                              USD[0.00], USDT[0.00003147]

07886004                              USD[0.00]

07886013       Contingent, Disputed   BTC[.00098739], CUSDT[1], USD[476.03]

07886014                              SOL[0.11330620], USD[0.00], USDT[0.00000041]

07886020                              USD[25.11]

07886021                              USD[0.00]

07886023                              USD[2.83]

07886030                              NFT (527200112134847115/Bahrain Ticket Stub #258)[1]

07886042                              DOGE[1], ETH[.00556883], ETHW[.00550043], TRX[1464.52672625], USD[104.54]                                                                                                     Yes

07886049                              BTC[0], ETH[0], ETHW[0], SOL[0], USD[0.00], USDT[0]

07886050                              USDT[0.00000168]

07886059                              BTC[0], ETH[0], ETHW[0.00166362], SOL[0], USD[0.40]

07886069                              USD[50.00]

07886082                              NFT (355922202593195801/Entrance Voucher #3380)[1]

07886083                              DOGE[1], MATIC[92.54278099], SHIB[35955.97192037], SOL[2.65109412], TRX[1], USD[0.00]                                                                                         Yes

07886085                              USD[25.00]

07886096                              SHIB[7645259.93883792], TRX[1], USD[0.00]

07886097                              USD[0.00]

07886098                              USD[0.00], USDT[0.00000010]

07886099                              BRZ[1], BTC[.15759883], ETH[1.19266631], ETHW[1.19266631], TRX[1], USD[0.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07886103                              NFT (288585215005559199/Microphone #7750)[1]

07886104                              CUSDT[1], DOGE[1], SHIB[3], TRX[1], USD[0.00]                                                                                                                                     Yes

07886105                              USD[10.00], USDT[0.00048294]

07886111                              SHIB[1046101.09369407], USD[0.00]                                                                                                                                                 Yes

07886122                              ETH[.00896836], ETHW[.00896836], MATIC[98.76336611], USD[22.97]

07886134                              USD[0.00], USDT[0]

07886142                              ETH[.002], ETHW[.002], NFT (528773815314837988/Nifty Nanas #2161)[1], SHIB[200000], SOL[5.48729], USD[21.94]

07886158                              SOL[.02028614], USD[0.00]

07886162                              BTC[.00423748], CUSDT[1], USD[0.00]                                                                                                                                               Yes

07886164       Contingent, Disputed   USD[0.00]

07886165                              BRZ[1], CUSDT[1], DOGE[.00366198], USD[0.00]                                                                                                                                      Yes

07886168                              AVAX[.05], BTC[.299795], ETH[.9995], ETHW[2.999], USD[15134.72]

07886175                              DOGE[0], ETH[0.00078083], ETHW[0.00078083], GRT[0], LINK[0], MATIC[0], NFT (458900308070522688/Entrance Voucher #3262)[1], USD[0.00], USDT[0]

07886183                              BTC[0], MATIC[0], USD[0.00]

07886187                              BTC[.07614422], USD[31.79]

07886191                              NEAR[0.00000003], SOL[.00908707], USD[0.00]

07886193                              ETH[0], SOL[0]

07886210                              BTC[0], SOL[0], USD[0.00], USDT[0.00004166]

07886213                              NFT (355014538582763182/FTX - Off The Grid Miami #1872)[1], NFT (427654697031120123/Microphone #8959)[1]

07886217                              USDT[0.00000146]

07886218                              ETH[0.16191641], ETHW[0.16191641]

07886220                              DOGE[.82168952], ETH[6.066], ETHW[6.066], USD[0.67], USDT[5.75817077]

07886221                              DOGE[1], SHIB[1], TRX[1], USD[0.00]                                                                                                                                               Yes

07886227                              BTC[0], SOL[0.00024952], USD[0.02], USDT[1.06577084]                                                                                                                              Yes

07886231                              SOL[.00607251], USD[0.00]

07886233                              CUSDT[3], ETH[.05415005], ETHW[.05347973], LINK[.39642693], UNI[.46527612], USD[0.00]                                                                                             Yes

07886235                              NFT (517164048352975450/Australia Ticket Stub #2428)[1]

07886238                              BRZ[1], DOGE[1], ETH[0], ETHW[0.01215791], SHIB[4], TRX[3], USDT[0]                                                                                                               Yes

07886244                              ETH[0], USD[5.91]

07886247                              DOGE[419], ETH[.0009336], ETHW[.0009336], LTC[.004], NFT (418092971075320622/2974 Floyd Norman - OKC 1-0274)[1], SHIB[2492567.74448979], SUSHI[50.4725], USD[0.00], USDT[.87]

07886248                              USD[0.14]

07886249                              USDT[0.00000143]

07886252                              USD[0.71]

07886264                              USD[10.00]

07886272                              BTC[0], ETH[0], SOL[0]

07886279                              USD[0.00]

07886285                              BTC[0], USD[0.66]

07886286                              CUSDT[6], MATIC[.0006808], USD[0.01]                                                                                                                                              Yes

07886296                              ETH[.00268477], NFT (300194303170446425/Miniverse Hero #08364)[1], NFT (317552098469765653/Miniverse Weapon #184088)[1], NFT (326296346221186265/Miniverse Hero #04036)[1], NFT
                                      (347132164054860343/Miniverse Weapon #180935)[1], NFT (367539834365535979/Miniverse Hero #00174)[1], NFT (369245557159641292/Miniverse Hero #00705)[1], NFT
                                      (388352217434909778/Miniverse Weapon #180706)[1], NFT (408272287565368093/Miniverse Weapon #183378)[1], NFT (431541574193459591/Miniverse Hero #02313)[1], NFT
                                      (445643987049883310/Miniverse Weapon #182784)[1], NFT (492741365378499963/Official Solana NFT)[1], NFT (498381708434942961/Invitation: Royal Bears)[1], NFT
                                      (500487702498050117/Miniverse Weapon #180643)[1], SOL[10.57976962], USD[1.19], USDT[7.97424452]
07886305                              USD[17.83]

07886309                              AAVE[.78297227], BRZ[1], CUSDT[2], DOGE[2342.34420228], ETH[.12644434], ETHW[.12531673], LTC[1.29332569], TRX[2], USD[0.01]                                                       Yes

07886325                              LTC[.00204897], USDT[1.4681089]

07886329                              SOL[0]

07886331                              SOL[0.00528887]

07886333                              BRZ[2], BTC[0], CUSDT[1], ETH[0], ETHW[0], TRX[2], USD[0.00], USDT[0.00036616]                                                                                                    Yes

07886334                              USD[1000.02]

07886335                              BTC[0], DOGE[0], ETH[0.00000065], ETHW[0.07115873], GRT[0], SOL[0], USD[0.00], USDT[0.00001092], YFI[0]                                                                           Yes

07886336                              NFT (530716710977859497/Entrance Voucher #29424)[1]

07886342                              DOGE[1], TRX[1], USD[0.00]

07886355                              USD[0.26]

07886360                              AAVE[.17304803], BAT[1], BRZ[1], BTC[.09507815], CUSDT[3], DOGE[222.35483591], ETH[.43028495], ETHW[.43028495], GRT[70.91720569], LTC[.57748976], USD[250.00]

07886362                              BAT[2.00024313], BRZ[3], DOGE[6], GRT[2], SHIB[2], SOL[.00000001], TRX[2], USD[0.00], USDT[1.02543197], YFI[.00000083]                                                            Yes

07886369                              BTC[.00284655], SHIB[1], USD[0.00]

07886380                              BTC[.00245912], USD[0.00]

07886390                              BTC[.0000315], USD[0.00]                                                                                                                                                          Yes

07886396                              USD[312.68], USDT[0]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07886408                              CUSDT[1], ETH[2.2863814], ETHW[2.28542111], USD[0.00]                                                                                                                                    Yes

07886414                              BAT[4.28788144], BRZ[5.02104866], CUSDT[3], DOGE[2], GRT[1], MATIC[.00400112], SHIB[5], TRX[10], USD[0.02], USDT[1.08651657]                                                             Yes

07886419                              USD[0.00]                                                                                                                                                                                Yes

07886429                              USD[0.36]

07886444                              NFT (488352440269494370/Bahrain Ticket Stub #1571)[1]

07886445                              SOL[0], USD[0.00]

07886463                              USD[0.00]

07886464                              USD[1.53]

07886475                              SHIB[1], TRX[2], USD[0.00]                                                                                                                                                               Yes

07886478                              SOL[.01446932], USD[0.00], USDT[0]

07886498                              USD[20.01]

07886500                              USD[0.00]

07886501                              ETH[0], USD[0.00]

07886502                              SOL[.05]

07886514                              USD[21.51]                                                                                                                                                                               Yes

07886515                              DOGE[.9], UNI[.0991], USD[1.11]

07886516                              BTC[0], USDT[.82649685]

07886523       Contingent, Disputed   ETH[0], MATIC[0], NFT (555173229096401838/2974 Floyd Norman - CLE 4-0146)[1], SOL[0.00000001], USD[0.00]

07886524                              USD[20.00]

07886526                              NFT (329220519362806233/Miami #1)[1], NFT (427049110560125523/Locations #2)[1], SOL[.01290038], USD[10.79]

07886546                              BRZ[1], USD[0.01]

07886549                              ALGO[0], DOGE[12.19055311], ETH[.0000014], ETHW[.0000014], MATIC[14.02470849], SHIB[12], SOL[1.53060711], TRX[1], USD[0.01]                                                              Yes

07886551                              LINK[8.8], SHIB[4700000], USD[0.64]

07886552                              BF_POINT[300], USD[2033.18], USDT[0]                                                                                                                                                     Yes

07886561                              BF_POINT[300], BRZ[3], CUSDT[76.40706755], DOGE[19.12874685], ETH[.00000001], ETHW[13.13922529], GRT[1756.67361342], TRX[10], USD[165.98]                                                Yes

07886577                              SOL[3.04], USD[1.87]

07886578                              BTC[.00201193], CUSDT[1], USD[0.00]                                                                                                                                                      Yes

07886583                              SHIB[1696889.75709805], TRX[0], USD[0.00]                                                                                                                                                Yes

07886584                              USD[0.52]

07886606                              DAI[0], SOL[0]

07886608                              NFT (507300395337383594/2974 Floyd Norman - OKC 2-0224)[1], USD[1059.88]

07886616                              BAT[1], CUSDT[1], DOGE[1], SOL[3.31601015], TRX[1], USD[0.01]

07886618                              BTC[0], SOL[0.12203893], USD[0.09], USDT[0.00000060]

07886621                              USD[0.00]

07886622                              AAVE[0], BTC[0], ETH[0], ETHW[0], LINK[0], MATIC[0], NEAR[0], NFT (418231728605948198/Barcelona Ticket Stub #850)[1], NFT (493470634548914945/Australia Ticket Stub #1818)[1], SOL[0],   Yes
                                      USD[0.00], USDT[0.00000001]
07886628                              AVAX[4.30729842], DOGE[1], SHIB[2], SOL[23.2153834], USD[327.38]                                                                                                                         Yes

07886629                              NFT (550325348777926760/Imola Ticket Stub #1268)[1]

07886632                              USD[0.37]

07886643                              BTC[0], ETH[0], SOL[0.09000000], TRX[.000003], USD[0.07], USDT[0]

07886648                              USD[0.52]

07886654                              BAT[0], BTC[0], CUSDT[2], DAI[0], DOGE[0], ETH[0], GRT[0], KSHIB[0], LTC[0], MATIC[0], SOL[0], SUSHI[0], TRX[2], UNI[0], USD[0.00], YFI[0]                                               Yes

07886683                              BF_POINT[200], BTC[0], CUSDT[4.11321123], DOGE[1], LINK[0], MATIC[0], SHIB[1], TRX[3], USD[0.00], USDT[0]                                                                                Yes

07886690                              SOL[.5], USD[1.65]

07886695                              USD[486.75]

07886699                              NFT (562043591499015861/Entrance Voucher #29620)[1]

07886702                              USD[40.00]

07886720                              USD[0.00]

07886727       Contingent,            BTC[.0011], ETH[3.03686790], ETHW[5.0232234], USD[5251.53]
               Unliquidated
07886731                              SOL[0], USD[9.29]

07886741                              USD[0.00], USDT[0.00000012]

07886742                              USD[0.01]                                                                                                                                                                                Yes

07886743                              BTC[.0002991], LINK[.0984], SHIB[2898600], SOL[1.02749], SUSHI[.9975], USD[235.51], USDT[151.5097062]

07886745                              ETH[.00018351], ETHW[0.00018351], USD[2.04], USDT[2.4158419]

07886749                              BAT[1], DOGE[2], ETHW[26.24755252], GRT[3], SUSHI[1], TRX[6], USD[154452.62], USDT[0]

07886750                              USD[0.00]

07886767                              ETHW[3.57924058], SHIB[2], USD[3.53], USDT[0]                                                                                                                                            Yes

07886771                              SOL[.08296799], USD[15.66], USDT[0.00000045]

07886773                              USD[0.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07886775                              SOL[1.39], USD[1.56]

07886782                              ETH[0.20368378], ETHW[0.20368378], USD[0.00]

07886786                              MATIC[2]

07886788                              USD[0.00], USDT[0]                                                                                                                                                  Yes

07886809                              BAT[.84426], BTC[0.00005277], DOGE[.382475], ETH[.00107981], ETHW[.00107981], GRT[.26755], KSHIB[4.86175], SOL[2.91000001], USD[2.54]

07886810                              USD[0.00]

07886817                              USD[1.12]

07886823                              DOGE[1], ETH[0], SOL[0], USD[0.00]

07886826                              BAT[1.01649054], BRZ[1], CUSDT[1], SOL[.00000001], USD[0.00]                                                                                                        Yes

07886827                              BTC[0.00006704], ETHW[1.000918], LINK[.03104077], USD[0.00]

07886828                              USD[0.00]

07886835                              BAT[1532.71172447], BF_POINT[300], BTC[.06557891], SHIB[6723188.9309452], SOL[.0002534], UNI[24.68252449]                                                           Yes

07886836                              BAT[11.80902218], BRZ[69.37928076], BTC[.05844313], CUSDT[533.56459631], DOGE[80.21582696], ETH[1.17711251], ETHW[1.17661801], GRT[29.17164321], LTC[1.22810762],   Yes
                                      MATIC[18.64362673], SHIB[556661.20784691], SOL[29.91806267], TRX[209.68293146], USD[7.50], USDT[161.23759634]
07886837                              CUSDT[2], DOGE[130.14627622], ETH[.0004707], ETHW[.0004707], LTC[.17169331], SHIB[174532.84183853], TRX[433.96168188], USD[0.02]                                    Yes

07886847                              USD[0.00]

07886849                              BTC[0.00000649]

07886866                              USD[0.00], USDT[0.00060166]

07886870                              BTC[.09133259], ETH[.526473], ETHW[.526473], SHIB[52247700], USD[11.15]

07886880                              BRZ[1], SHIB[2041413.95720187], USD[0.00]                                                                                                                           Yes

07886883                              ETH[0], ETHW[0], USD[0.00]

07886889                              USD[0.00], USDT[1.98961005]

07886902                              USD[0.01]

07886903                              USD[0.01]

07886912                              DOGE[1], SOL[3.07925639], USD[0.01]

07886923                              BF_POINT[300], ETH[.00000001], NFT (386871719701984555/Entrance Voucher #4344)[1], USD[2.25], USDT[0]                                                               Yes

07886932                              CUSDT[1], USD[0.00]                                                                                                                                                 Yes

07886939                              ETH[0], SOL[0.00413576], USD[0.00], USDT[0]

07886941                              CUSDT[1], GRT[27.54337751], USD[0.00]

07886946                              CUSDT[3821.78344175], MATIC[40.70040113], SHIB[12113944.02156517], TRX[637.66349709], USD[0.45], USDT[30.39001863]                                                  Yes

07886954                              USD[1.84]

07886960                              BTC[.00000004]                                                                                                                                                      Yes

07886966                              USD[2.24]

07886974                              ETH[.00001218], NFT (523210153981408951/Miami Ticket Stub #174)[1], SHIB[1], USD[5037.02]                                                                           Yes

07886979                              SOL[0]

07886986                              USD[0.00]

07886994                              USD[0.00]

07886997       Contingent, Disputed   USD[0.00]

07887018                              MATIC[0], USD[0.00]

07887022                              BTC[.00018017], DOGE[68.04840417], USD[0.00]                                                                                                                        Yes

07887025                              CUSDT[2], SHIB[725301.21260487], USD[0.00]

07887027                              DOGE[3.22108458], ETH[0], SOL[0], USD[0.00]

07887040                              DOGE[9135.85325449]                                                                                                                                                 Yes

07887041                              BRZ[1], BTC[.00000108], CUSDT[5], DOGE[2], ETH[.00002751], ETHW[3.01354686], SOL[.00007447], USD[0.00], USDT[0.00000981]                                            Yes

07887065                              XRP[9.999988]

07887072                              USD[0.00]

07887077                              BAT[1.0165555], BTC[.10293474], USD[0.00]                                                                                                                           Yes

07887079                              NFT (454754919636596762/The Hill by FTX #6929)[1], USD[0.00], USDT[0]

07887080                              BRZ[1], CUSDT[1], SHIB[13502565.48744261], SOL[0], TRX[3], USD[0.00], USDT[0]

07887083                              BTC[.05232484], LINK[500], USD[0.00], USDT[0.00022442]

07887088                              USD[0.00]

07887097                              USD[0.00]

07887099                              DOGE[100], ETH[0], SOL[0], USD[0.00]

07887101                              ETH[.294772], ETHW[.294772], SOL[5.50121944], USD[-145.73]

07887112                              NFT (555655190487751469/Coachella x FTX Weekend 1 #28431)[1]

07887113       Contingent, Disputed   ETH[.00003047], ETHW[0.00003046], SOL[0.04876858], USD[0.00], USDT[1.07562008]

07887120                              DOGE[1], USD[0.00]

07887121                              BTC[0.00000018], ETH[0.00000485], ETHW[0.44472065], SHIB[11], USD[1004.84]                                                                                          Yes

07887123                              CUSDT[1], SHIB[1642526.84139107], USD[0.00]                                                                                                                         Yes
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07887125                           BAT[2.08607431], BRZ[4], BTC[.01975575], CUSDT[5], DOGE[1], GRT[185.17327285], MATIC[50.49008092], SHIB[1848031.64326464], SOL[28.75300776], TRX[4], USD[0.00]                         Yes

07887132                           SHIB[1], USD[0.00]

07887139                           BRZ[3], DOGE[7064.98430584], SHIB[132859089.93021119], SOL[10.88939419], TRX[7], USD[107.00]                                                                                           Yes

07887146                           BAT[137.78171153], BRZ[1], CUSDT[2], DOGE[2], SHIB[18615036.82349747], TRX[2], USD[0.68]                                                                                               Yes

07887150                           BTC[.00192501], CUSDT[3], ETH[.00567253], ETHW[.00567253], LTC[0], SHIB[2], SOL[.11148012], USD[0.00]

07887167                           USD[2.96]

07887185                           LINK[.38772473], USD[0.01], USDT[1]

07887186                           SHIB[1581521.61606442], USD[0.00]                                                                                                                                                      Yes

07887196                           SOL[3.75687], USD[0.04]

07887198                           USD[0.36]

07887206                           BTC[.00000479], DOGE[.76975562], USD[0.00]                                                                                                                                             Yes

07887209                           SOL[.05341674], USD[0.00]                                                                                                                                                              Yes

07887214                           LINK[0], MATIC[0], SOL[0], TRX[22], USD[0.03]

07887215                           BF_POINT[300]

07887223                           USD[0.00]

07887224                           NFT (575049465669128856/FTX - Off The Grid Miami #5762)[1]

07887233                           AAVE[.00000099], BTC[.00000001], CUSDT[1], ETH[0.00000011], ETHW[0.00000011], SHIB[3.86863725], SOL[0.00000215], USD[0.00]                                                             Yes

07887241                           DOGE[1], ETH[.22431932], ETHW[.22411022], USD[0.00]                                                                                                                                    Yes

07887265                           BAT[9.42483284], BTC[.00000052], CUSDT[15], DOGE[4], ETH[.00000001], LINK[.00108405], SHIB[152223173.86600885], USD[2186.17]                                                           Yes

07887267                           USD[21.82]                                                                                                                                                                             Yes

07887268                           USD[0.00], USDT[0]

07887272                           NFT (527556709400109696/Morning Sun #495)[1], SOL[9.05]

07887302                           BTC[0.00001558], SOL[10.95985732], USD[0.00]

07887303                           BTC[0], USD[0.00]

07887309                           DOGE[1], ETH[.00000071], SOL[0], USD[102.47], USDT[0]                                                                                                                                  Yes

07887310                           CUSDT[6], DOGE[17.87661229], ETH[.20296131], ETHW[.20296131], SOL[1.1820535], USD[0.02], USDT[9.95103493]

07887345                           BTC[0], NFT (353185929659946515/Limoncello)[1], NFT (355653690755803309/Georgia)[1], NFT (373862769283964439/The Portrait)[1], NFT (422588183944873581/Lima)[1], NFT
                                   (423848391717315601/Aloha)[1], NFT (460543631111607431/The Primary)[1], NFT (479363955151084868/Mozambique)[1], NFT (479827149617619018/Buenos Dias)[1], NFT
                                   (491817930686556830/Maui)[1], NFT (504880309901049292/Primavera #2)[1], NFT (528615727779217837/Hallucinations and delusions)[1], NFT (551870107705343629/Buongiorno)[1], NFT
                                   (554466155105717249/Sunny Banana)[1], NFT (556347276723588349/Primavera)[1], USD[0.00]
07887351                           BCH[.00000947], BRZ[1], CUSDT[1], DOGE[536.29734458], LTC[5.51931136], NFT (533778357307048203/Entrance Voucher #3016)[1], SHIB[567728.19815893], SOL[4.88444314], TRX[2], USD[0.00]   Yes

07887353                           TRX[2508], USD[0.20]

07887356                           BTC[0.00093654], DOGE[0], ETH[.00000003], ETHW[.00000003], SHIB[1], USD[0.00], USDT[0]                                                                                                 Yes

07887363                           USD[25.00]

07887365                           SHIB[12541561.90188907], USD[3.87]

07887378                           ETH[.000967], ETHW[.000967], USD[203.53]

07887379                           USD[0.00]

07887411                           BTC[0], SHIB[2500], USD[31.79]

07887419                           MATIC[1337.36095097], SOL[12.26602574], USD[0.00]

07887421                           NFT (294504429767824316/Megalodon Rogue Shark Tooth)[1], NFT (316585353907807994/Megalodon Rogue Shark Tooth)[1], NFT (335325506701418534/Megalodon Rogue Shark Tooth)[1], NFT
                                   (426630105747580822/Megalodon Rogue Shark Tooth)[1], NFT (430111870812454519/Megalodon Rogue Shark Tooth)[1], NFT (478232666245033747/Megalodon Rogue Shark Tooth)[1], NFT
                                   (489411883114716172/Megalodon Rogue Shark Tooth)[1], NFT (526940096552007932/Megalodon Rogue Shark Tooth)[1], SHIB[0], SOL[0], TRX[.000008], USD[0.00], USDT[0.00000137]
07887428                           BTC[.0000274]                                                                                                                                                                          Yes

07887434                           USD[2.08]

07887442                           ETH[0], USD[0.00], USDT[0]

07887449                           USD[0.00]

07887460                           USD[9.90], USDT[0.00003995]

07887469                           BTC[.00003701], ETH[.002], ETHW[.002], KSHIB[20], USD[5223.38]

07887477                           CUSDT[229.99413836], DOGE[1], KSHIB[131.69237609], TRX[141.16875473], USD[0.02]

07887484                           GRT[.522456], USD[0.01]

07887487                           ETHW[0], USD[0.00]

07887488                           TRX[100.000001]

07887491                           BRZ[1], CUSDT[1], SOL[0]

07887495                           ALGO[0], ETH[0], ETHW[0], NFT (306246257616023684/Imola Ticket Stub #1911)[1], NFT (386178377205957292/Barcelona Ticket Stub #2347)[1], NFT (435333664595928184/APEFUEL by Almond      Yes
                                   Breeze #748)[1], SOL[0], USD[0.00]
07887498                           SOL[11.40858], USD[11.45]

07887499                           BTC[0], ETH[0], NFT (390672047406323058/DOTB #3129)[1], NFT (452016480841284569/DOTB #4297)[1], SOL[0], USD[0.00]

07887505                           BTC[0], ETH[0], ETHW[0], MATIC[0], SOL[0], USD[1.61], USDT[0]

07887511                           USD[20.00]

07887519                           BTC[0], CUSDT[9], DOGE[1], ETH[0], ETHW[0], MATIC[.00049271], NFT (409123033738956531/Drinks #3)[1], NFT (494331149385452077/Drinks)[1], SOL[0], TRX[3], USD[0.00]                     Yes

07887542                           NFT (530604050737459973/FTX - Off The Grid Miami #1906)[1], USD[1.00]
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                                                                                                                                             Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or         Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07887565      Contingent, Disputed     BRZ[1], CUSDT[2], DOGE[3], USD[0.28]

07887573                               ETHW[1.9137573], SOL[.382211], USD[0.91]

07887585                               ETH[.39466904], ETHW[.49466904], SOL[22.14], USD[0.92], USDT[26.994]

07887609                               SOL[0]

07887613                               NFT (415670616010370833/Coachella x FTX Weekend 2 #20733)[1]

07887624                               NFT (441592738184894668/Entrance Voucher #2126)[1], NFT (463977128249320144/Coachella x FTX Weekend 1 #251)[1], NFT (500563568767753484/Desert Rose Ferris Wheel #547
                                       (Redeemed))[1], NFT (574829163709130929/Coachella x FTX Weekend 2 #129)[1]
07887646                               NFT (310008166854140579/The 2974 Collection #2768)[1], NFT (335136841073558595/2974 Floyd Norman - CLE 2-0087)[1], NFT (392381421462357424/Birthday Cake #1893)[1], NFT
                                       (395692081336560299/Birthday Cake #2768)[1], NFT (436266974967901102/The 2974 Collection #1893)[1], NFT (508515216512107148/2974 Floyd Norman - CLE 2-0237)[1], USD[0.00]
07887662                               CUSDT[9], SHIB[3], USD[16.87]                                                                                                                                                       Yes

07887664                               ALGO[634.78717527], BRZ[1], NFT (330491247174360072/#1 Guardian of ETH.)[1], SOL[1.474403], TRX[1], UNI[8.685318], USD[0.00]                                                        Yes

07887669                               ETHW[.058941], USD[0.29]

07887670                               USD[52.33]                                                                                                                                                                          Yes

07887684                               ETH[.00013856], ETHW[.00066356], USD[0.89]

07887685                               BTC[0], GRT[0], USD[1.02]

07887688                               TRX[.000045], USD[0.01]

07887693                               BTC[.00136553], CUSDT[1], SOL[.09067881], TRX[1], USD[0.07]                                                                                                                         Yes

07887695                               SOL[.00623648], USD[0.00]

07887707                               USD[266.60]                                                                                                                                                                         Yes

07887709                               CUSDT[0], MATIC[0], NFT (393700706692155330/Pizza )[1], NFT (427938525411068894/Light House #1065)[1], SHIB[1], SOL[0], USD[0.01], USDT[0]                                          Yes

07887710                               CUSDT[1], DOGE[1], SOL[.00000957], USD[0.00]                                                                                                                                        Yes

07887712                               TRX[113.31394468], USD[0.00], USDT[10.75034513]                                                                                                                                     Yes

07887716                               BAT[2.00001826], BRZ[7.33358528], DOGE[7.00057537], GRT[4.01924046], MATIC[1.01450587], NFT (302999062632889258/Australia Ticket Stub #463)[1], NFT (388735440170239731/Entrance    Yes
                                       Voucher #2193)[1], SHIB[13], SUSHI[2.09784491], TRX[14.06170546], USD[0.00], USDT[3.13073544]
07887728                               BTC[.0009508], ETH[.03617228], ETHW[.03617228], SOL[3.06315677], USD[0.00]

07887741                               BRZ[1], TRX[1], USD[0.00]

07887749                               CUSDT[2], ETH[.15550569], ETHW[.15480942], USD[0.00]                                                                                                                                Yes

07887761                               BTC[.00090311], CUSDT[6], ETH[.00687307], ETHW[.00687307], GRT[33.88242881], KSHIB[1324.41910977], LINK[.91071732], LTC[.13666503], MATIC[18.40049691], PAXG[.01393275],
                                       SHIB[1977326.6543633], SOL[.15705086], USD[19.10], USDT[0]
07887769                               DOGE[1], NFT (535529662818026083/Warriors 75th Anniversary City Edition Diamond #422)[1], SHIB[1388580.16433261], USD[0.02]                                                         Yes

07887774                               SHIB[3.87742674], USD[0.00]                                                                                                                                                         Yes

07887775                               SOL[1], USD[5.09]

07887794                               SOL[2.18236041]                                                                                                                                                                     Yes

07887809                               BRZ[2], CUSDT[5], ETHW[.11042345], GRT[.00192319], MATIC[200], SHIB[1], TRX[6], USD[0.00]

07887815                               AAVE[.17171486], BCH[.11388372], BRZ[3], BTC[.00187849], CUSDT[42], DOGE[6036.71127752], ETH[.20173421], ETHW[.20152261], GRT[308.59295826], MATIC[389.64573206], MKR[.01796877],   Yes
                                       SHIB[27868630.14129718], SOL[14.56461897], SUSHI[13.30894463], TRX[931.92671226], USD[0.00]
07887822                               SUSHI[.3984], USD[1.83]

07887826                               BTC[0], ETH[0], ETHW[.00002159], NFT (296527836308871528/Entrance Voucher #2700)[1], NFT (347729186585778962/Romeo #762)[1], NFT (363522906743411575/Humpty Dumpty #1672)[1], NFT   Yes
                                       (442600129794476462/Saudi Arabia Ticket Stub #2370)[1], SHIB[33], USD[0.01]
07887832                               CUSDT[5], SUSHI[42.11263841], USD[0.45], USDT[0]                                                                                                                                    Yes

07887833                               AVAX[0], BTC[0], ETH[1.20510743], ETHW[0], LTC[0], SHIB[0], SOL[0], USD[0.00], USDT[0]                                                                                              Yes

07887834                               SOL[.22349428], USD[0.00]

07887836                               ETH[.00253592], ETHW[.00250856], SOL[.05134778], USD[32.63]                                                                                                                         Yes

07887843                               BAT[1], BRZ[1], BTC[.00362298], CUSDT[1], DOGE[324.73679915], KSHIB[3923.87001749], MATIC[.00000001], SHIB[1001017.12972179], SUSHI[21.89448667], TRX[1], USD[0.00]                 Yes

07887849                               MATIC[0], SOL[0], USD[0.00]

07887853        Contingent, Disputed   NFT (342317140875501088/Bob #1 of 3)[1], NFT (416561929887477511/Plums 1)[1], NFT (476479021032095451/Kobe #1 of 10)[1], NFT (527369285919223399/Scary 1)[1], NFT
                                       (532947967271403501/Balloons 1)[1], USD[0.00]
07887855                               BTC[.00354]

07887858                               ETH[0], TRX[0], USD[0.00], USDT[0]

07887861                               ETH[0.94455966], ETHW[1.07091510], SHIB[2], TRX[1], USD[0.00]                                                                                                                       Yes

07887867                               USD[0.00]                                                                                                                                                                           Yes

07887875                               SHIB[500000], USD[1.37], USDT[0]

07887891                               USD[500.00]

07887899                               BRZ[1], DOGE[.00254431], SHIB[0], USD[0.19]                                                                                                                                         Yes

07887904                               USD[0.01]

07887911                               USD[500.00]

07887913                               USD[51.79]

07887916                               CUSDT[2], USD[0.01]                                                                                                                                                                 Yes

07887922                               BTC[0], USD[1.14]

07887924                               BTC[0.00004699], ETH[.000559], ETHW[.000559], LTC[.00947], SOL[.00441], USD[0.00]

07887926                               SHIB[1], TRX[1], USD[101.13]                                                                                                                                                        Yes

07887936                               BF_POINT[200], BTC[0], USD[0.00]

07887957                               BTC[.00112969], CUSDT[5], DOGE[61.53803003], ETH[.01401147], ETHW[.01383363], SOL[.27533096], USD[0.02]                                                                             Yes
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07887958                              TRX[1], USD[0.00], USDT[3.3851989]

07887967                              BTC[.00015556], CUSDT[2], ETH[.00612869], ETHW[.00604661], SOL[.14050858], USD[0.03]                                                                                                     Yes

07887974                              USD[20.00]

07887995                              AAVE[.00571], BTC[0.03230323], ETH[.281553], ETHW[.132553], LINK[.0985], MATIC[278.64], PAXG[.0000745], SOL[.00907], SUSHI[190.655], TRX[.742], USD[139.38]

07887996                              BTC[.00001814], USD[0.00]

07887999       Contingent, Disputed   BRZ[0], ETH[0], ETHW[0], USD[0.68], USDT[0]                                                                                                                                              Yes

07888001                              BTC[.00212396], ETH[.03179359], SHIB[1], TRX[1], USD[0.00]

07888007                              CUSDT[1], TRX[.00002894], USD[0.01]                                                                                                                                                      Yes

07888009                              ETH[.00605761], ETHW[.00598336]                                                                                                                                                          Yes

07888020                              CUSDT[2], USD[0.00]                                                                                                                                                                      Yes

07888026                              USD[0.00]

07888028                              BTC[0], NFT (571592940952971027/Entrance Voucher #3358)[1], UNI[0], USD[0.00], USDT[0]                                                                                                   Yes

07888032       Contingent, Disputed   LTC[.0056], USDT[.9725942]

07888040                              USD[3.36]

07888041                              USD[0.44]

07888053                              TRX[1], USD[0.00]                                                                                                                                                                        Yes

07888065                              NFT (528661849485242538/FTX x CAL: The Decision #64)[1], USD[16623.37]                                                                                                                   Yes

07888071                              BRZ[59.02382987], CUSDT[263.33474176], DAI[21.60322268], DOGE[439.97695153], ETH[.00256287], ETHW[.00253551], GRT[16.36993383], LINK[.29425479], SHIB[1794267.09093292],                 Yes
                                      SOL[.0679293], TRX[241.74950582], USD[0.00], USDT[5.40188588]
07888075                              DOGE[1], LINK[8.7344147], USD[0.00]                                                                                                                                                      Yes

07888083                              SOL[0.24146743], USD[11.04]

07888092                              DOGE[1], SHIB[1], USD[0.00]                                                                                                                                                              Yes

07888093                              NFT (310113749560585751/Chanty #892)[1], NFT (339455478193239040/Bahrain Ticket Stub #1317)[1], NFT (403356500100173103/MagicEden Vaults)[1], NFT (419326749389695786/MagicEden
                                      Vaults)[1], NFT (438936966234198698/MagicEden Vaults)[1], NFT (440029912820403645/Lobus #953)[1], NFT (459684269140360439/Monkey #15156)[1], NFT (468949031853166500/Skeleton Glock
                                      #976)[1], NFT (484679798451409615/Rudion #816)[1], NFT (502467926769531097/MagicEden Vaults)[1], NFT (522391881595878535/Skeleton Glock #204)[1], NFT (542365782399810485/Necropirate
                                      #639)[1], NFT (565249276503137081/MagicEden Vaults)[1], NFT (570583685464782071/APEFUEL by Almond Breeze #540)[1], SOL[.00000002], USD[0.00]

07888112                              BAT[0], BTC[0], CUSDT[7], DOGE[0], ETH[0], ETHW[0], NFT (527841636933198817/Entrance Voucher #2035)[1], SHIB[0], TRX[0], USD[0.23]                                                       Yes

07888114                              CUSDT[1], DOGE[5280.654848], TRX[1], USD[0.00]                                                                                                                                           Yes

07888123                              AVAX[17.51927706], BRZ[4], CUSDT[15], DOGE[3], GRT[54.21063551], MATIC[55.20114959], SHIB[1], TRX[6], USD[0.00], USDT[0]                                                                 Yes

07888124                              BTC[.00043023]

07888134                              ETH[0], NFT (302949314292870968/OCEAN Concept #34 Ultra)[1], NFT (303515275043896393/OCEAN Concept #32 Ultra)[1], NFT (312456252298712594/OCEAN Concept #35 Ultra)[1], NFT
                                      (324681730988382576/OCEAN Concept #70 Sport)[1], NFT (339891750965746718/OCEAN Concept #23 Ultra (Redeemed))[1], NFT (379588728571343318/OCEAN Concept #46 Sport)[1], NFT
                                      (477468512497731845/OCEAN Concept #30 Ultra (Redeemed))[1], NFT (479762221076361966/OCEAN Concept #44 Sport)[1], NFT (485473692817131332/OCEAN Concept #2 Extreme)[1], NFT
                                      (512450942139693653/OCEAN Concept #61 Sport)[1], NFT (537165418680679116/OCEAN Concept #9 Extreme)[1]
07888140                              BRZ[1], CUSDT[2], DOGE[3], ETH[1.60170446], ETHW[1.60101714], SOL[10.2188276], TRX[2], USD[16.56], USDT[537.8358]                                                                        Yes

07888142                              SOL[0], USD[0.00]

07888145                              USD[4.23]                                                                                                                                                                                Yes

07888156                              BTC[.00005321], DOGE[0], ETH[.00082468], ETHW[.00081126], LTC[0.00626000], TRX[.39345681], UNI[.03095], USD[0.40], USDT[0]                                                               Yes

07888167                              USD[20.00]

07888174                              USD[2.01], USDT[0]

07888176                              ETHW[1.20937293], NFT (541360793040498315/Vintage Sahara #547)[1], SOL[2.46037669], SUSHI[20], USD[0.01]

07888196                              BTC[.10283445], CUSDT[1], NFT (326317355178349056/Jasmin)[1], USD[5.13]                                                                                                                  Yes

07888208                              USD[0.00]

07888209                              AAVE[1], TRX[476.19388272], USD[0.00], USDT[8.24929289]

07888219                              USD[0.04], USDT[0]

07888230                              DOGE[.978], SHIB[100000], SOL[0], USD[0.42], USDT[0.00306809]

07888233                              BTC[0.00000001], DOGE[2], ETH[.00000013], ETHW[0], LTC[0.00509040], MATIC[1.00129235], NFT (295083174336094501/The Hill by FTX #4222)[1], SHIB[1], TRX[1], USD[0.01], USDT[1.00961657]   Yes

07888260                              SOL[.00404686], USDT[4]

07888266                              USD[0.00]

07888288                              CUSDT[1], GRT[20.2931744], USD[0.00]

07888291                              TRX[1], USD[10.97]                                                                                                                                                                       Yes

07888310                              USDT[.19273012]

07888313                              BTC[0], KSHIB[0], TRX[24.86984328], USD[0.00]                                                                                                                                            Yes

07888337                              BAT[89.50879742], BRZ[2], BTC[.01525535], CUSDT[3], DOGE[1], ETH[.07124215], ETHW[.07035654], SOL[1.64596395], TRX[1], USD[0.01], USDT[0.04384002]                                       Yes

07888338                              BTC[.115884], ETH[.002997], USD[0.93]

07888345                              NFT (546395960154682081/Imola Ticket Stub #9)[1], USD[0.00]

07888346                              AAVE[2], DOGE[500], ETH[.149], ETHW[.149], TRX[999], USD[425.48], USDT[50]

07888363                              CUSDT[1], SOL[.66392124], USD[0.00]

07888370                              USD[1739.61]

07888391                              USD[0.00]

07888399                              USD[9.06]
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                                                                                                                                         Customer Claims                                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07888401                           BTC[0], ETH[0], SOL[0]

07888408                           USD[0.00], USDT[.00301]

07888442                           SOL[0]

07888461                           USD[0.00], USDT[0]

07888463                           BCH[.01221735], BRZ[11.88195428], BTC[.00018137], CUSDT[2], DOGE[71.51737662], ETH[.00238913], ETHW[.00236177], SOL[.01989039], USD[0.01]                                       Yes

07888470                           USD[0.00], USDT[0]

07888481                           BTC[.00002031], TRX[.122111], USD[83.36]

07888483                           ETH[0], USD[0.00]

07888494                           NFT (378581283654124129/Coachella x FTX Weekend 2 #1609)[1]

07888495                           USD[0.09]

07888501                           SOL[.01878]

07888515                           USD[1.07]

07888522                           NFT (327702244420482788/Baby Dragon #1)[1], USD[0.70]

07888528                           CUSDT[1], DOGE[2], ETH[0], USD[0.83]

07888542                           USD[100027.45], USDT[1937.09]

07888549                           BRZ[1], BTC[.00408554], CUSDT[2], DOGE[3], ETH[.23221521], ETHW[.23201169], SHIB[13], SOL[1.75503818], TRX[1], USD[0.00]                                                        Yes

07888557                           USD[75.00]

07888561                           DOGE[1], TRX[1], USD[0.62]

07888566                           MATIC[0], SOL[0.00000080], USD[0.00]

07888574                           SOL[.00009756]

07888575                           USD[0.00]

07888582                           CUSDT[2], SHIB[528661.83400845], USD[0.00]                                                                                                                                      Yes

07888584                           USD[0.00]

07888592                           USD[500.00]

07888610                           USD[0.00]                                                                                                                                                                       Yes

07888613                           SHIB[4700000], SOL[.03], USD[0.06]

07888616                           CUSDT[26], DOGE[1], KSHIB[45.58757802], USD[0.00]                                                                                                                               Yes

07888622                           BTC[0], MATIC[892.085581], USD[0.00], USDT[0]                                                                                                                                   Yes

07888628                           ALGO[.171829], ETH[.047774], SOL[.08174159], TRX[0], USD[11.20]

07888629                           USD[0.00]

07888642                           ETH[.00000001], ETHW[0], SOL[0], TRX[0.00000064], USDT[0]

07888644                           BTC[.01750698], USD[0.00]

07888645                           DOGE[1], MATIC[262.58004773], SOL[3.52381441], TRX[1], USD[0.00]                                                                                                                Yes

07888648                           SOL[.09865145], USD[0.00]

07888656                           SOL[.00000001]                                                                                                                                                                  Yes

07888661                           DOGE[29], USD[2.65]

07888663                           BTC[.00100172], CUSDT[2], SHIB[1533330.80199732], USD[0.01]                                                                                                                     Yes

07888669                           BAT[1.01100966], SOL[50.94145623], USD[110.07]                                                                                                                                  Yes

07888681                           CUSDT[1.5], NFT (563712314635839742/Infinity #37)[1], USD[0.00]                                                                                                                 Yes

07888686                           USD[0.00], USDT[0.00000561]

07888696                           BTC[0], CUSDT[.53579999], ETH[.00046], SUSHI[.0021911], USD[1.30]

07888709                           NFT (485130272959781535/Microphone #1777)[1]

07888713                           BRZ[1], BTC[0], DOGE[1], ETH[0], LINK[1.31042814], MATIC[0.00184605], SHIB[1], SOL[0.00000001], TRX[2], USD[0.01]                                                               Yes

07888719                           USD[0.00]

07888724                           USD[77.27]

07888729                           BTC[.000054], SOL[.00286696], USD[0.00]

07888731                           TRX[330.1134852], USD[0.00]

07888738                           NFT (379911626711638125/Miami Ticket Stub #434)[1], USD[0.89]

07888744                           USD[5.00]

07888752                           USD[0.10]

07888766                           USD[0.00]

07888767                           USD[0.00]

07888770                           LINK[42.64201086], SHIB[2253489.5226814], TRX[10821.13282102], USD[0.00]                                                                                                        Yes

07888790                           USD[0.06], USDT[9.94307974]

07888791                           BTC[.00209811], ETH[.027], ETHW[.027], USD[2.52]

07888794                           BTC[.00280035], SHIB[1], USD[0.00]

07888801                           SOL[2.48839495], USD[0.00]

07888809                           DOGE[502.00004834], ETH[0.05064795], ETHW[.02464754], NFT (309688195178271386/09)[1], NFT (438159326952672613/Little Rocks #825)[1], SHIB[9240474.50626870], SOL[2.67900591],
                                   SUSHI[160.91223948], TRX[1000.99996829], USD[0.00]
West Realm Shires Services Inc.                                                    Case 22-11068-JTD      Doc F-3:
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                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07888812                           AVAX[6.73969632], BF_POINT[600], BTC[0.45554570], ETH[1.27358972], ETHW[1.27310216], MATIC[211.66958441], SHIB[33508977.1670891], SOL[46.34772238], UNI[13.72001841], USD[4.68],      Yes
                                   USDT[0.00001729]
07888818                           ETH[.00459224], ETHW[.00453752]                                                                                                                                                       Yes

07888829                           BAT[1.01563679], CUSDT[7], DOGE[1], SHIB[1], TRX[1], USD[0.00]                                                                                                                        Yes

07888831                           ALGO[0], DOGE[1], SHIB[1], TRX[4], USD[0.00]

07888838                           BF_POINT[300], ETH[.00000119], ETHW[.00000119], USD[0.00]                                                                                                                             Yes

07888866                           USD[0.84]

07888867                           USD[452.04]

07888877                           USD[4.87]

07888878                           BTC[.00108684], USD[14.90]

07888908                           USD[0.00]

07888911                           USD[0.00]

07888915                           BRZ[1], CUSDT[1], USD[0.00]

07888920                           MATIC[1], SHIB[1], USD[1.22]

07888923                           BRZ[1], CUSDT[5], DOGE[3], SOL[25.0007257], USD[0.00], USDT[1.05036879]                                                                                                               Yes

07888926                           SOL[.00000001], USD[0.00]

07888937                           BTC[.0000178], ETH[.000878], ETHW[.121878], USD[3629.19]

07888944                           BCH[.06733]

07888954                           ETHW[6.53738982], NFT (385143021305558617/Romeo #19547)[1], USD[0.00], USDT[0.00000636]

07888956                           ALGO[.18097974], DOGE[1], SHIB[1], USD[0.01]                                                                                                                                          Yes

07888960                           BF_POINT[300], BTC[.04887352], DOGE[1], GRT[10097.58031998], LTC[1.52537832], USD[68.84], USDT[0]                                                                                     Yes

07888963                           BF_POINT[200], BTC[0], SHIB[1]                                                                                                                                                        Yes

07888965                           BF_POINT[100], BTC[0], DOGE[1.00007465], ETH[0], SHIB[1100976.22989099], USD[24.27]

07888979                           CUSDT[1], SHIB[605333.94643307], USD[0.00]                                                                                                                                            Yes

07888982                           USD[0.00]

07888985                           AVAX[11.3886], BTC[.0132867], ETH[.181818], LINK[19.0809], SOL[3.50945432], TRX[17.282], USD[205.02], USDT[2.64705111]

07889001                           ETH[0], ETHW[0], SOL[0.00000001], USD[0.85]

07889003                           DOGE[.84870523], USD[0.34]

07889007                           USD[190.01]

07889010                           USD[1.24]

07889020                           SOL[.1]

07889024                           CUSDT[1], DOGE[2], SOL[0], USD[0.00]

07889025                           BTC[0], USD[0.00], USDT[0]

07889031                           BRZ[3], ETHW[5.90324345], SHIB[2.00000003], USD[0.00], USDT[738.86040462]                                                                                                             Yes

07889038                           BTC[0.59761328], ETH[7.91669369], ETHW[7.91669369], USD[14726.92]

07889056                           BTC[.1003], USD[0.04]

07889063                           BCH[.49359212], CUSDT[1], SHIB[1], TRX[1], USD[8.92]                                                                                                                                  Yes

07889066                           USD[0.00]

07889067                           USD[0.00], USDT[0]

07889102                           USD[0.00]

07889103                           CUSDT[1], DOGE[1], ETH[.01519016], ETHW[.01499864], USD[0.71]                                                                                                                         Yes

07889107                           BTC[.00054201], CUSDT[1], USD[0.00]

07889109                           BAT[1.0165555], BTC[.04606627], DOGE[1], SOL[18.0059196], USD[0.00], USDT[0]                                                                                                          Yes

07889114                           ETH[.0512732], ETHW[.05063636], NFT (373536884600565757/56.16.56.97.59.88.77.54.35)[1], SHIB[4], USD[0.00]                                                                            Yes

07889130                           AVAX[1.13197407], BAT[9.97067383], BTC[.00017792], CUSDT[12], DOGE[300.05026536], ETHW[1.01048378], GRT[36.5928976], KSHIB[1131.11378058], LINK[1.0811556], LTC[1.04573039],          Yes
                                   MATIC[6.95285325], NEAR[1.08885546], NFT (326659399991706368/Entrance Voucher #1235)[1], NFT (350881504531827307/Barcelona Ticket Stub #2491)[1], NFT (534160782831852393/Australia
                                   Ticket Stub #862)[1], SHIB[1239723.65294997], SOL[1.15493534], SUSHI[1.07433651], TRX[89.89275085], USD[0.00], USDT[2.11981642]
07889131                           USD[0.13]

07889140                           USD[0.40]

07889143                           BTC[.1148], LINK[.0114], USD[0.00]

07889148                           USD[0.00]

07889153                           NFT (311339976078894937/Saudi Arabia Ticket Stub #474)[1]

07889171                           BTC[.00002076], USD[0.28], USDT[.0041037]

07889174                           BTC[.00000001]

07889175                           BF_POINT[200], SHIB[1], USD[0.01]                                                                                                                                                     Yes

07889183                           AAVE[0], ETH[0], ETHW[0], SOL[0], USD[0.01]

07889190                           USD[0.00], USDT[0.00014841]

07889196                           USD[0.00]

07889199                           TRX[.000001], USD[0.55], USDT[0.00000001]

07889202                           CUSDT[1], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07889205                           ETHW[.056943], USD[0.29]

07889215                           USD[0.01]

07889218                           USD[0.85]

07889220                           SOL[.68110212], USDT[0.00000009]

07889225                           SOL[.42], USD[0.44]

07889231                           BTC[0], SOL[0.00000001], USD[0.00]                                                                                                                                                    Yes

07889247                           MATIC[0], SOL[0], TRX[.000017], USD[0.00], USDT[0.00000001]

07889249                           BRZ[1], GRT[2], TRX[9228.12894932], USD[0.00]

07889250                           NFT (487798491738053947/Lunarian #5788)[1], USD[0.52]

07889251                           USD[0.00]

07889252                           CUSDT[1], SHIB[336420.69532054], USD[0.00]                                                                                                                                            Yes

07889254                           BRZ[.77437561], ETHW[5.38299021], USD[6.29]                                                                                                                                           Yes

07889262                           ETH[.00000001]

07889274                           DOGE[1], USD[0.00]

07889282                           NFT (300047986856107025/Entrance Voucher #1273)[1], USD[0.96]

07889287                           ETHW[.3], USD[0.71]

07889294                           BTC[3.814325], LINK[999.24], MATIC[9992.4], SOL[200], USD[25.94]

07889296                           BTC[0], SOL[0], USD[1.55], USDT[0]                                                                                                                                                    Yes

07889315                           SHIB[1], TRX[0], USD[0.00]                                                                                                                                                            Yes

07889323                           ETH[0], ETHW[0], USD[0.58]

07889325                           BF_POINT[200]

07889333                           BTC[0], USD[0.33]

07889334                           BTC[.001855], DOGE[1], NFT (532032578098354710/Deity of illumination)[1], USD[0.54]

07889339                           SOL[15.39792572], USD[3.05]

07889348                           USD[0.00]

07889351                           CUSDT[.40135531], DOGE[1], SHIB[517230.63903018], USD[-0.67]                                                                                                                          Yes

07889367                           USDT[0.00000080]

07889372                           ETH[0.04937667], ETHW[0.04937667], SOL[0], USD[0.00]

07889376                           SOL[0], USD[0.00]

07889377                           USDT[1.7679354]

07889383                           NFT (552520481006719596/Australia Ticket Stub #1071)[1]

07889405                           TRX[.000001]

07889406                           DOGE[4], ETH[.00000208], ETHW[.00000208], SHIB[16], TRX[6], USD[0.00]                                                                                                                 Yes

07889408                           SHIB[2.93756243], USD[0.02]                                                                                                                                                           Yes

07889415                           ETH[0], ETHW[0]

07889433                           AVAX[.1], BTC[0.00001838], MATIC[0], SOL[0.00000001], USD[0.47], USDT[3.20335728]

07889442                           NFT (415884913498552605/You in, Miami? #45)[1]

07889444                           USD[0.00]

07889445                           BTC[0], ETH[0], USD[0.00], USDT[0.00014824]

07889447                           ETHW[.103], USD[0.01]

07889450                           USD[0.00]

07889454                           USD[542.88]                                                                                                                                                                           Yes

07889458                           MATIC[59.97], USD[19.21]

07889463                           USD[2.39], USDT[0.00000001]

07889464                           USD[1039.03]

07889472                           USD[0.00]

07889477                           SOL[.00801], USD[1.96]

07889478                           USD[21.95]                                                                                                                                                                            Yes

07889482                           BTC[.00000007], CUSDT[2], DOGE[1], GRT[0.00058365], USD[0.96]                                                                                                                         Yes

07889488                           USD[3.73]

07889489                           BTC[.11437609], ETH[1], ETHW[1], SOL[1.6], USD[3135.87]

07889498                           NFT (332030435443488012/Entrance Voucher #4367)[1], NFT (406705188546310538/Reflection '15 #52)[1], NFT (446403015046728517/Beasts #272)[1], NFT (459381898927178386/Reflection '13
                                   #30)[1], NFT (465942434917997591/Saudi Arabia Ticket Stub #2039)[1], SOL[.05]
07889499                           ETH[0], USD[49.95]

07889513                           SHIB[1], USD[35.06]

07889514                           AVAX[.0737], BTC[.0000968], ETH[.000886], ETHW[.000886], MATIC[0.96912007], SOL[.00255], USD[3.35]

07889550                           NFT (409757129910667666/The Hill by FTX #1017)[1]

07889554                           SHIB[5296277.58932719]

07889564                           CUSDT[1], DOGE[1], SOL[.00002742], TRX[1], USD[0.01]                                                                                                                                  Yes
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                                                                                                                                          Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07889565                           SOL[0], USD[0.00]

07889567                           NFT (426046298402030626/Reflector #847 (Redeemed))[1], NFT (563035283608937484/Night Light #864 (Redeemed))[1], USD[21.07]

07889569                           BTC[.00624362], SHIB[1], USD[386.34]                                                                                                                                                      Yes

07889571                           DOGE[150.80365589], SHIB[8000000], USD[1.44]

07889576                           ETH[.0000278], ETHW[.00002779], SHIB[1], USD[0.00]                                                                                                                                        Yes

07889579                           BTC[0.00024075], ETH[.117792], ETHW[.117792], USD[3.11]

07889580                           USD[0.14]

07889583                           USD[1.71]

07889585                           NFT (559494222086796564/Australia Ticket Stub #1846)[1]

07889596                           USD[1.38]

07889600                           BRZ[2], BTC[0], CUSDT[30], DOGE[3], SHIB[8], TRX[2], USD[141.16]                                                                                                                          Yes

07889605                           NFT (396053614680549656/Good Boy #17358)[1], NFT (432010742182219116/Entrance Voucher #29275)[1]

07889611                           SOL[1.995], USD[688.78]

07889635                           ETHW[.276915], NFT (295397570837590334/Board Game LUXURY TAX 3/5)[1], NFT (298650375784443140/1910 Flyin Merkel Motorcycle #1 of 3)[1], NFT (303860654524895909/Washed Up 3/3)[1],
                                   NFT (306227110762765159/1908 Indian Twin Cylinder Racer #1 of 3)[1], NFT (306344660258562023/Minnesota Canue 3/3)[1], NFT (318564609713828150/Hard Way 3/3)[1], NFT
                                   (328404040736198248/NES Metroid)[1], NFT (336986835815516302/Werewolf Guard)[1], NFT (342558481847649896/1908 Indian Twin Cylinder Racer Emblem #2 of 3)[1], NFT
                                   (356878237829258120/California Pelican 3/3)[1], NFT (357833157265650767/Uncle Money Bags)[1], NFT (358210013180566085/New Pool)[1], NFT (367748287690410962/Fire Sundown 10/10)[1],
                                   NFT (375814383599927249/Time Capsule)[1], NFT (378624389626737785/Board Game GO TO JAIL 4/5)[1], NFT (380485479334404031/1911 Flying Merkel Board Track Racer #2 of3)[1], NFT
                                   (391452692326532780/Fenway Park - Boston 5/5)[1], NFT (397742232565753472/1910 Detroit Motorcycles Single #1 of 3)[1], NFT (398991399963628206/Sega Genesis Console 16-Bit)[1], NFT
                                   (399615857301188047/Minnesota Plank 3/3)[1], NFT (402710562668708908/NES Tetris)[1], NFT (421060622100126680/1908 Indian Twin Cylinder Racer Emblem #1 of 3)[1], NFT
                                   (428745399619402691/1908 Indian Twin Cylinder Racer Emblem #3 of 3)[1], NFT (431511869403354204/NES The Legend of Zelda)[1], NFT (437430617780319791/Sun Burn)[1], NFT
                                   (438707271321260007/New Castle Brown Ale 3/3)[1], NFT (441560457951875648/Quiet Beach 3/3)[1], NFT (444813115358166983/Kneel 5/5)[1], NFT (462352180788305460/1908 Indian Twin Cylinder
                                   Racer #3 of 3)[1], NFT (466507175712465179/Duck Hunt and Zapper)[1], NFT (470973997134615541/Nintendo Entertainment System NES)[1], NFT (471988134517794336/Nuclear Sunset 5/5)[1], NFT
                                   (474049161468909769/Board Game CHANCE 5/5)[1], NFT (482453913728986684/NES Super Mario Bros.)[1], NFT (482611470042793687/1910 Detroit Motorcycles Single #2 of 3)[1], NFT
                                   (488087489006800305/Go To Jail)[1], NFT (491899057494071934/Street Fighter 2 Sega Genesis )[1], NFT (511248835461371357/Board Game ELECTRIC COMPANY 5/5)[1], NFT
                                   (534071175774119625/1910 Detroit Motorcycles Single #3 of 3)[1], NFT (551121933659777091/Sonic The Hedgehog 2 Sega Genesis )[1], NFT (562668574074808406/Flip Flops 5/5)[1], NFT
                                   (567212658925572121/1908 Indian Twin Cylinder Racer #2 of 3)[1], NFT (572466367020670933/Board Game WATER WORKS 5/5)[1], SHIB[71400], USD[2.01]
07889646                           DOGE[151.73170600], SHIB[2], USD[0.00]                                                                                                                                                    Yes

07889651                           LINK[9.93519751], USD[0.00]                                                                                                                                                               Yes

07889654                           CUSDT[2], MATIC[6.90719175], SOL[.80062207], TRX[12.344433], USD[0.02]                                                                                                                    Yes

07889655                           USD[0.00]                                                                                                                                                                                 Yes

07889666                           USD[0.00]

07889668                           BTC[0]

07889669                           NFT (304579463078964557/Red Panda #161)[1], NFT (306098462453412670/The 2974 Collection #2266)[1], NFT (345344701814865117/Oink 2522)[1], NFT (359029858607024355/SharkBro
                                   #3403)[1], NFT (493339426548747003/Oink 2363)[1], NFT (515179262600566128/Entrance Voucher #3200)[1], NFT (531804320741222391/Oink 998)[1], USD[0.04]
07889672                           SHIB[2797200], USD[0.59]

07889686                           BTC[.02290781], ETH[.165], ETHW[.165], MATIC[100], SOL[.53], USD[41.39]

07889701                           NFT (467837513298968720/DOGO-IN-500 #5461)[1]

07889712                           USD[0.00]

07889723                           USD[0.00], USDT[0]

07889734                           CUSDT[2], ETH[.0238814], ETHW[.0238814], SOL[8.17152934], USD[0.00]

07889744                           CUSDT[1911.087], DAI[200], LTC[.27], USD[9.43]

07889746                           BTC[0], SOL[0], USD[0.00]

07889751                           BTC[.00000054], DOGE[1], GRT[1], SHIB[1], TRX[3], USD[2480.78]                                                                                                                            Yes

07889752                           USD[0.64]

07889762                           ETH[0], USD[0.00]

07889765                           SOL[0]

07889781                           NFT (502849154781033634/Microphone #3336)[1]

07889788                           USD[0.37]

07889792                           BTC[0], USD[0.59]

07889798                           USDT[0.00000079]

07889806                           SOL[.00000001], USD[0.66]

07889808                           NFT (308724422439792050/Entrance Voucher #3383)[1], SOL[5.97402], SUSHI[374.625], TRX[8024.962], USD[2.68]

07889817                           CUSDT[1], SHIB[1], TRX[2], USD[0.00]                                                                                                                                                      Yes

07889819                           CUSDT[1], NFT (350279827964169564/Entrance Voucher #1861)[1], USD[0.00]                                                                                                                   Yes

07889831                           USD[0.44]

07889842                           BRZ[5.07542958], BTC[.10688018], CUSDT[24], DOGE[9119.5951188], ETH[2.05608707], ETHW[2.05522354], GRT[1], LINK[26.52226242], SHIB[2], SOL[7.11149699], TRX[993.74675347], USD[0.00]      Yes

07889859                           BF_POINT[300], CUSDT[1], DOGE[859.26774441], TRX[1], USD[0.00]                                                                                                                            Yes

07889862                           BTC[.17831032], USD[355.19]                                                                                                                                                               Yes

07889869                           ETH[0], ETHW[0]

07889876                           CUSDT[8], DOGE[1], LINK[.67778969], TRX[1], USD[0.00]                                                                                                                                     Yes

07889885                           NFT (305674041927035896/Barcelona Ticket Stub #1071)[1], NFT (310817915470830168/Miami Grand Prix 2022 - ID: CA4D9AC2)[1], NFT (421622318418614500/Saudi Arabia Ticket Stub #529)[1],
                                   NFT (572752222792717294/FTX - Off The Grid Miami #4441)[1]
07889886                           BRZ[1], ETH[.00015671], ETHW[.00015671], MATIC[2.41861053], TRX[1], USD[0.01]
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07889887                              USD[1.28]

07889892                              AAVE[.51703582], BAT[213.98417792], BRZ[600.19072384], BTC[.00020229], CUSDT[5028.75775044], DOGE[496.21055181], ETH[.0040983], ETHW[.00404358], GRT[215.47085385],                     Yes
                                      KSHIB[1513.79263757], LINK[18.97190949], LTC[.28272555], MATIC[239.07246078], MKR[.02207088], NFT (300332939691348062/APEFUEL by Almond Breeze #824)[1], NFT
                                      (385110421113350189/APEFUEL by Almond Breeze #94)[1], NFT (391932105889343834/APEFUEL by Almond Breeze #90)[1], NFT (430649886944991264/FTX - Off The Grid Miami #969)[1], NFT
                                      (514438721807429644/APEFUEL by Almond Breeze #830)[1], SHIB[12908227.74858324], SOL[.78960842], SUSHI[38.79411951], TRX[1065.32488665], UNI[11.32219191], USD[0.76]
07889893                              USD[0.00]

07889895                              ETH[.00061214], ETHW[0.00061214], USD[742.79], USDT[0]

07889896                              SOL[.00509825], USD[1.64]

07889901                              CUSDT[1], SOL[.66229662], USD[0.00]

07889908                              CUSDT[2], SHIB[12.12241039], USD[0.00]                                                                                                                                                  Yes

07889925                              SOL[.80751986], USD[379.28]

07889942                              EUR[0.00], USDT[0]

07889959                              MATIC[0], SHIB[0], USD[0.00]

07889961                              NFT (317184342410011250/GSW Western Conference Finals Commemorative Banner #843)[1], NFT (347104088943010915/GSW 2015 Championship Ring #2 (Redeemed))[1], NFT
                                      (348428608875563269/GSW Western Conference Semifinals Commemorative Ticket #435)[1], NFT (353485324850219498/GSW Championship Commemorative Ring)[1], NFT
                                      (355297331589444061/Warriors Foam Finger #557 (Redeemed))[1], NFT (360960750728118422/GSW Championship Commemorative Ring)[1], NFT (386600387457999041/GSW Western Conference
                                      Semifinals Commemorative Ticket #434)[1], NFT (448004252674982184/GSW Round 1 Commemorative Ticket #184)[1], NFT (534842227202883573/GSW Round 1 Commemorative Ticket #145)[1],
                                      NFT (540814058868374439/GSW Western Conference Finals Commemorative Banner #842)[1], NFT (550161699558974723/GSW Western Conference Finals Commemorative Banner #844)[1],
                                      USD[0.02]
07889963                              BTC[.09013438], LTC[0], USD[19.55]

07889970                              NFT (307645020845311839/Bahrain Ticket Stub #162)[1], NFT (430518382031348805/2974 Floyd Norman - CLE 3-0235)[1], NFT (527685828379238327/FTX - Off The Grid Miami #4407)[1], NFT
                                      (532713645150244489/FTX - Off The Grid Miami #6983)[1], USD[45.39]
07889981                              BAT[9.27222236], BRZ[6.46083848], BTC[.00025786], CUSDT[162.7294359], DOGE[64.43658316], ETH[.0031168], ETHW[.00307576], GRT[19.87662118], SOL[.02526693], TRX[35.07880694],            Yes
                                      USD[0.04]
07889996                              BTC[0.01764820], ETH[.00000001], ETHW[2.29031278], LTC[1.99504671], SOL[6.08444994], USD[0.00]

07889997                              USD[0.00]

07890000                              CUSDT[519.50289805], DOGE[.00001972], SHIB[.00003438], USD[0.98]                                                                                                                        Yes

07890013                              USD[0.57], USDT[0.00000112]

07890018                              BCH[.17472144], CUSDT[1], USD[0.00]                                                                                                                                                     Yes

07890039                              ETH[0], ETHW[.00099948], USD[0.19]

07890042                              BAT[1], BTC[0.16501912], CUSDT[1], DOGE[4], SOL[1.26803853], TRX[1], USD[0.00]                                                                                                          Yes

07890046                              BRZ[2], BTC[0.10821494], CUSDT[561.66236564], ETHW[1.77971636], NFT (304789120188296087/Tim Brown's Playbook: San Diego Chargers vs. Los Angeles Raiders - September 4, 1988 #44)[1],   Yes
                                      NFT (310519612334391288/Joe Theismann's Playbook: Washington vs. Miami Dolphins - January 30, 1983 #47)[1], NFT (389029223880872793/Tim Brown's Playbook: New York Jets vs. Oakland
                                      Raiders - December 2, 2002 #47)[1], NFT (409002825002216441/Doak Walker's Playbook: SMU vs. Santa Clara - September 27, 1947 #78)[1], NFT (420654714460943626/Tim Brown's Playbook:
                                      Michigan State vs. Notre Dame - September 19, 1987 #48)[1], NFT (424306361575872980/Tim Brown's Playbook: Kansas City Chiefs vs. Oakland Raiders - December 9, 2001 #37)[1], NFT
                                      (455902282148044223/Joe Theismann's Playbook: New York Giants vs. Washington - October 20, 1974 #39)[1], NFT (548106121622031730/Microphone #9004)[1], NFT (566675393061845636/Joe
                                      Theismann's Playbook: Notre Dame vs. USC - November 30, 1968 #48)[1], SHIB[390227.09246648], SOL[.00000001], SUSHI[1.95692692], TRX[7], USD[13.25], USDT[1.02386566]

07890058                              CUSDT[2506.9474108], DOGE[61.66191084], GRT[28.69164598], TRX[156.55364151], USD[0.00]                                                                                                  Yes

07890059                              USD[0.00], USDT[0]                                                                                                                                                                      Yes

07890065                              USD[2.09]

07890069                              ETHW[.093999], USD[1.45]

07890074                              BRZ[1], DOGE[2], ETHW[10.1149342], GRT[1], SHIB[2], SOL[.00165962], TRX[3], USD[0.53], USDT[1.01713828]

07890091                              AAVE[0.00001846], DOGE[2], GRT[1], SUSHI[0], USD[0.00]                                                                                                                                  Yes

07890099                              USD[33.17]

07890100                              BTC[.00335777], CUSDT[10], DOGE[2], ETH[0.00000001], KSHIB[0], SHIB[174216.22884622], SOL[0], USD[0.00]                                                                                 Yes

07890102                              SOL[.005]

07890109                              USDT[279.3]

07890110                              ETH[0], NFT (496648913032908560/FTX - Off The Grid Miami #5665)[1], NFT (545643293627108227/Saudi Arabia Ticket Stub #2013)[1], USD[0.00]

07890111                              BF_POINT[200], DOGE[1512.19726522], SOL[5.20443834], USD[0.00]                                                                                                                          Yes

07890114                              USD[0.00]

07890116                              TRX[0], USD[0.00]                                                                                                                                                                       Yes

07890120                              SOL[.00278754], USD[0.00]

07890124       Contingent, Disputed   USD[0.00]

07890131                              ETH[0], SOL[.00000001]

07890138                              USD[12.70]

07890140                              USD[2.31]

07890175                              SOL[0]

07890182                              SOL[.1]

07890186                              BTC[.0022206], CUSDT[2], DOGE[205.04137709], KSHIB[757.97817507], SHIB[5457321.81389067], TRX[1], USD[0.00]                                                                             Yes

07890189                              USD[11.54]                                                                                                                                                                              Yes

07890193                              BAT[0], BTC[0], GRT[0], MATIC[0], SHIB[4], USD[0.00]                                                                                                                                    Yes

07890194                              AAVE[.63915163], ALGO[54.84284427], AVAX[2.1309739], BCH[.09192526], BF_POINT[100], BRZ[7.4332853], BTC[.01229258], CUSDT[76.85641531], DOGE[11.42557618], ETH[.17820415],              Yes
                                      ETHW[.16226119], GRT[23.32724872], KSHIB[147.47336563], LINK[8.01082659], LTC[.74995778], MATIC[106.80661988], MKR[.02026291], NEAR[1.06064636], NFT (432481913324964110/Entrance
                                      Voucher #1944)[1], PAXG[.00282704], SHIB[160002.17253577], SOL[2.28679708], SUSHI[7.46410682], TRX[8], UNI[2.90749298], USD[0.54], USDT[4.87814277]
07890199                              NFT (378464233491563716/Coachella x FTX Weekend 1 #22362)[1], USD[0.00]                                                                                                                 Yes

07890214                              BRZ[1], BTC[.00407612], USD[0.00]
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                                                                                                                                             Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or         Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07890230      Contingent, Disputed     BTC[0], CUSDT[17], DOGE[2], TRX[1], USD[0.00]                                                                                                                                           Yes

07890234                               SOL[.12], USD[0.83]

07890236                               USD[6.33]

07890238                               ETH[0], SOL[0], USD[0.33], USDT[0]

07890258                               USD[32.71]

07890262                               USD[502.00]

07890265                               LTC[0.00001691], SOL[0.00818278], USD[0.07]

07890267                               DOGE[2], USD[0.01]                                                                                                                                                                      Yes

07890269                               BRZ[1], CUSDT[2], USD[0.00]                                                                                                                                                             Yes

07890273                               BTC[0.00007761], USD[0.00]

07890274                               CUSDT[3], ETH[1.77887867], ETHW[1.77887867], SHIB[1], SOL[10.51416589], TRX[2], USD[0.00], USDT[1]

07890277                               CUSDT[66.93641048], DOGE[2], SHIB[93480.66836651], TRX[.21276151], USD[1.15]                                                                                                            Yes

07890279                               TRX[1982], USD[0.05]

07890295                               BTC[.00000001], CUSDT[1], DOGE[1], TRX[1], USD[0.99]                                                                                                                                    Yes

07890302                               CAD[33.20], CUSDT[1], USD[81.90]                                                                                                                                                        Yes

07890303                               DAI[135], SOL[.17642995]

07890306                               ETH[0], SOL[0.00034972], USD[0.00]

07890323                               USD[9.88]

07890329                               DOGE[1], SHIB[2948567.13892542], USD[0.01]                                                                                                                                              Yes

07890337                               AAVE[.80201137], CUSDT[2], SHIB[3], SOL[6.50421853], TRX[3], USD[0.00]

07890341                               BRZ[1], BTC[.10978197], DOGE[5], ETH[0], ETHW[0], GRT[1], NFT (527397200204408837/You in, Miami? #116)[1], SHIB[12], TRX[7], USD[927.90]                                                Yes

07890349                               USD[0.00]

07890356                               ETH[0], USD[0.00]

07890360                               BTC[0], USD[0.00]

07890364                               BF_POINT[100]                                                                                                                                                                           Yes

07890369                               ETH[0]

07890380                               BRZ[2], CUSDT[3], ETHW[.149287], SHIB[2], TRX[2], USD[1209.13]                                                                                                                          Yes

07890388                               SOL[.00024056], USD[316.38]

07890400                               CAD[230.00], ETH[0], LINK[0], USD[1.32]

07890401                               CUSDT[1], USD[0.00]                                                                                                                                                                     Yes

07890403                               CUSDT[1], USD[0.00]                                                                                                                                                                     Yes

07890416                               USD[0.01]                                                                                                                                                                               Yes

07890418                               NFT (431046966934279998/Imola Ticket Stub #295)[1], NFT (528789882822804734/FTX - Off The Grid Miami #6751)[1]

07890419                               BCH[0], TRX[.000067], USD[0.00], USDT[0.00000696]

07890421                               BTC[.1998], NFT (340456525419479277/Miami Ticket Stub #888)[1], SOL[16.953], USD[146.00]

07890429                               BTC[0.00001424], MATIC[3.135], USDT[.3218145]

07890430                               USD[9.79], USDT[0.00391800]

07890433                               ETH[0], KSHIB[.7645678], SOL[0], USD[0.01]

07890434                               DOGE[1], USD[0.04], USDT[0.00034125]                                                                                                                                                    Yes

07890445                               ETH[.05], ETHW[.05], NFT (409842893528543176/Birthday Cake #1327)[1], NFT (504576485383747909/2974 Floyd Norman - OKC 5-0024)[1], NFT (553513775902067623/Australia Ticket Stub
                                       #430)[1], NFT (560756903574877465/The 2974 Collection #1327)[1]
07890455                               USD[0.00]

07890462                               BTC[0.00008749], ETH[.0002488], SHIB[0], SOL[0.00000003], USD[1.69], USDT[0.00000010]

07890465                               ETH[0], NFT (483109903134969471/Coachella x FTX Weekend 2 #9412)[1], USD[0.00]

07890467        Contingent, Disputed   BAT[.02523626], BRZ[1], CUSDT[6], DOGE[6.00038359], LINK[.00001909], MATIC[.00133995], SHIB[16], SOL[.00002056], TRX[6], USD[16.73], USDT[1.05984056]                                   Yes

07890468                               SOL[.00013699], USD[0.00], USDT[0.00000034]

07890469                               BTC[0.00000873], USD[0.00]

07890470                               USD[0.00]

07890475                               NFT (523026313707690054/Saudi Arabia Ticket Stub #2089)[1]

07890486                               USD[19.09]

07890487                               USD[2.90]

07890489                               USD[0.48]

07890493                               DOGE[1], USD[0.00]                                                                                                                                                                      Yes

07890513                               AVAX[18.69783128], BTC[.01651371], DOGE[986.45902229], ETH[.24719098], LINK[42.76372858], MATIC[411.93999764], SHIB[5658293.25873067], SOL[9.64027347], TRX[986.37737232],              Yes
                                       UNI[51.6216078], USD[0.00]
07890532                               BTC[.00000001], DOGE[1], ETH[0], ETHW[0], MATIC[.00026111], SHIB[6], SOL[.0000072], USD[73.75], USDT[0]                                                                                 Yes

07890534                               USD[111.80]

07890546                               NFT (530500142731005459/Megalodon Rogue Shark Tooth)[1]

07890554                               AAVE[0], BAT[0], BCH[0], BTC[0], CUSDT[0], DAI[0], DOGE[0], ETH[0], ETHW[0], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0.01641403], MKR[0], PAXG[0], SOL[0], SUSHI[0], TRX[0], UNI[0],   Yes
                                       USD[0.00], YFI[0]
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                                                                                                                                             Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07890555                              SOL[12.49362673], USD[0.01], USDT[0.00000001]

07890570                              BTC[0], MATIC[0], USD[449.25], YFI[0]                                                                                                                                                 Yes

07890580                              ETH[.0006001], ETHW[.4153194], USD[1.00]

07890584                              BTC[0], ETH[0], NFT (565201137535090134/Entrance Voucher #3757)[1], SOL[0], USD[0.00], USDT[0.00002495]

07890589                              USD[1.02]

07890592                              NFT (466428351828172899/Entrance Voucher #2153)[1]

07890595       Contingent,            BTC[0], SOL[.00342808], USD[1.02], USDT[0]
               Unliquidated
07890599                              USD[0.00]

07890605                              AAVE[0], AVAX[0.00471888], BCH[0], BTC[0.00002899], CAD[0.00], CHF[0.00], CUSDT[0], DAI[0], HKD[8.43], MATIC[.00010867], SHIB[.125], SOL[0.01421490], TRX[38.54495085], USD[0.81],    Yes
                                      USDT[2.10472966]
07890611                              ETH[.00000001], ETHW[0], USD[0.00], USDT[.005005]

07890632                              MATIC[9.97], SUSHI[.49], USD[0.00]

07890639                              AVAX[.04068291], BF_POINT[200], BRZ[314.76532883], DOGE[0.01705548], ETH[.00000001], ETHW[2.80233153], NFT (319772837144243516/ApexDucks Halloween #1197)[1], NFT                     Yes
                                      (342675794405315009/ApexDucks #1777)[1], NFT (369652422082274486/ApexDucks #5833)[1], NFT (404828633475194752/#3018)[1], NFT (409558819911169040/ChickenTribe #1567)[1], NFT
                                      (415155703159231269/ApexDucks Halloween #2222)[1], NFT (467838353954645377/Ape MAN#99)[1], NFT (489118856230325371/Momentum #277)[1], NFT (504387075846760589/Ape MAN#019)[1],
                                      NFT (520969618249252171/ApexDucks Halloween #2888)[1], NFT (534771933803043092/Astral Apes #46)[1], SHIB[88014.12631227], TRX[1.07969669], UNI[0], USD[0.00], USDT[0]

07890640                              USD[1.33]

07890648                              USD[10908.81]                                                                                                                                                                         Yes

07890655                              SHIB[3], USD[0.43]

07890662                              USD[50.00]

07890681       Contingent, Disputed   USD[0.00]

07890692                              TRX[1], USD[0.00]

07890705                              SOL[.19], USD[0.69]

07890707                              SOL[.00845878]

07890708                              BRZ[1], CUSDT[8], GRT[56.18858005], KSHIB[1.41075469], SOL[2.09020152], TRX[2], USD[4.42]                                                                                             Yes

07890710                              SHIB[2600000], SOL[.00000001], USD[0.00]

07890723                              NFT (526025084633792102/Microphone #7647)[1], USD[0.00]

07890733                              USD[0.00]

07890746                              NFT (357937803465635327/FTX - Off The Grid Miami #1356)[1], USD[4.03]

07890752                              BTC[0], CUSDT[0], DOGE[0], SUSHI[0], USD[0.00]                                                                                                                                        Yes

07890759                              USD[0.66]

07890760                              USD[0.01]                                                                                                                                                                             Yes

07890771                              AAVE[.00017047], BRZ[1], DOGE[14.66931988], ETH[.06897531], ETHW[.068118], LINK[.00068046], MATIC[67.06185153], NFT (452607111633294868/Covid 19 Robot)[1], SHIB[5196264.11603659],   Yes
                                      SOL[8.22241538], SUSHI[19.06928621], TRX[696.58562372], UNI[4.41310291], USD[2.10], YFI[.00221492]
07890777                              SHIB[1], USD[298.34]                                                                                                                                                                  Yes

07890782                              USD[21.51]                                                                                                                                                                            Yes

07890783                              DOGE[.00564774], NFT (420127139942523851/Sickos #8)[1], SHIB[2], USD[152.19], USDT[0]                                                                                                 Yes

07890791                              ETH[0], SOL[3.05476106], USD[0.00]

07890792                              BTC[0], MATIC[0], USD[0.00]

07890802                              CUSDT[2], MATIC[1.71487287], MKR[.01110251], SUSHI[1.19252414], UNI[1.08961398], USDT[0.00000925]                                                                                     Yes

07890804                              NFT (361179298825289555/Coachella x FTX Weekend 1 #12174)[1]

07890807                              DOGE[722.93382841], SHIB[2], TRX[1604.44775017], USD[0.00]                                                                                                                            Yes

07890824                              BTC[0], SUSHI[0], USD[0.00]

07890842                              CUSDT[1], SOL[2.68024124], USD[0.00]                                                                                                                                                  Yes

07890844                              SOL[0], USD[0.00]                                                                                                                                                                     Yes

07890854                              BTC[.00216807]                                                                                                                                                                        Yes

07890861                              USD[0.00], USDT[0]

07890869                              ETHW[1.49530739], USD[6156.50]

07890882                              AVAX[71.6344907], BAT[1], BRZ[1], DOGE[4], MATIC[556.46731119], SHIB[18211723.92209271], TRX[1], USD[0.00]                                                                            Yes

07890890                              BTC[.00570051], SOL[0]

07890891                              BRZ[1], BTC[.00360424], CUSDT[7], ETH[.05204407], ETHW[.05140046], MATIC[213.60216248], TRX[1], USD[0.32]                                                                             Yes
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                                                                                                                                         Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07890902                           NFT (290343971457947601/LightPunk #147)[1], NFT (290458848851865969/LightPunk #6695)[1], NFT (291631766269311135/DarkPunk #5863)[1], NFT (292574946341498733/DarkPunk #3810)[1],
                                   NFT (295877813017957141/DarkPunk #8417)[1], NFT (296507906539405147/Lord of Darkness)[1], NFT (296518350288784578/Lord of Darkness)[1], NFT (298524365149627983/Lord of Darkness)[1],
                                   NFT (299308407068620963/Lord of Darkness)[1], NFT (301592215630770600/Lord of Darkness)[1], NFT (307613609174711278/DarkPunk #3754)[1], NFT (313550290958039002/Lord of Darkness)[1],
                                   NFT (313987729060027424/LightPunk #4912)[1], NFT (315854758359042445/Lord of Darkness)[1], NFT (317936387091528310/LightPunk #1473)[1], NFT (317988013183423454/Lord of Darkness)[1],
                                   NFT (320385488923530359/Lord of Darkness)[1], NFT (320690742122213113/Lord of Darkness)[1], NFT (322320850679197766/Lord of Darkness)[1], NFT (323416490602450508/Lord of Darkness)[1],
                                   NFT (324101714155143356/DarkPunk #9866)[1], NFT (324331917384688728/Lord of Darkness)[1], NFT (325989748761408054/DarkPunk #3817)[1], NFT (326257013730770574/DarkPunk #5676)[1],
                                   NFT (327322948016055655/DarkPunk #8764)[1], NFT (332297353172177101/Lord of Darkness)[1], NFT (338905389829733024/DarkPunk #3358)[1], NFT (339180450047303896/DarkPunk #3934)[1],
                                   NFT (344737268859105210/Lord of Darkness)[1], NFT (344901302711312312/LightPunk #9536)[1], NFT (345914224936657017/Lord of Darkness)[1], NFT (346010400607302664/LightPunk #1462)[1],
                                   NFT (347563954760888448/LightPunk #6538)[1], NFT (348777776445841826/DarkPunk #2440)[1], NFT (350951971087765645/Lord of Darkness)[1], NFT (356619861742925502/DarkPunk #5628)[1],
                                   NFT (357399212592836016/Lord of Darkness)[1], NFT (360020263977099776/LightPunk #7184)[1], NFT (360539883842785049/Lord of Darkness)[1], NFT (361132504945956096/DarkPunk #4036)[1],
                                   NFT (364694018699152492/Lord of Darkness)[1], NFT (367960552807536836/DarkPunk #4529)[1], NFT (368322779723044940/LightPunk #2332)[1], NFT (370666131913878525/Lord of Darkness)[1],
                                   NFT (371663472810032846/DarkPunk #2568)[1], NFT (380819129950975698/Lord of Darkness)[1], NFT (385113212616146460/LightPunk #1292)[1], NFT (385632934970237279/Lord of Darkness)[1],
                                   NFT (385988592923529159/DarkPunk #8231)[1], NFT (386540633257928311/Lord of Darkness)[1], NFT (387024507611506651/DarkPunk #4055)[1], NFT (387506728139276253/Lord of Darkness)[1],
                                   NFT (390950436321512435/LightPunk #6553)[1], NFT (392251916735069036/Lord of Darkness)[1], NFT (393783868471636416/DarkPunk #3617)[1], NFT (397065858897825030/DarkPunk #9144)[1],
                                   NFT (397140833682068225/Lord of Darkness)[1], NFT (399367653878708130/Lord of Darkness)[1], NFT (402327622221520928/Lord of Darkness)[1], NFT (403597578030323923/DarkPunk #3161)[1],
                                   NFT (404475177700431146/DarkPunk #8691)[1], NFT (405504578423215928/LightPunk #5365)[1], NFT (407425868943049153/DarkPunk #9115)[1], NFT (407970296676821547/DarkPunk #2808)[1],
                                   NFT (408032825509011501/Lord of Darkness)[1], NFT (408260626174902011/DarkPunk #2737)[1], NFT (408619933516776383/LightPunk #2118)[1], NFT (410630143987196262/LightPunk #1386)[1],
                                   NFT (411150154525999311/Lord of Darkness)[1], NFT (415238736690238328/Lord of Darkness)[1], NFT (417140006217887794/DarkPunk #7640)[1], NFT (417169135014272750/LightPunk #1401)[1],
                                   NFT (417566913697888078/Lord of Darkness)[1], NFT (418783551294234964/Lord of Darkness)[1], NFT (419036770633898402/LightPunk #9455)[1], NFT (420104517198689286/Lord of Darkness)[1],
                                   NFT (420511179772039226/LightPunk #6829)[1], NFT (420770569625291517/Lord of Darkness)[1], NFT (422118177404841007/DarkPunk #3265)[1], NFT (422292493942580508/LightPunk #837)[1],
                                   NFT (424883456245002059/LightPunk #6750)[1], NFT (425247214586576388/Lord of Darkness)[1], NFT (425632877951877623/LightPunk #2257)[1], NFT (428241646770458251/DarkPunk #8036)[1],
                                   NFT (428372137276424398/LightPunk #2191)[1], NFT (428450989970102697/Lord of Darkness)[1], NFT (433416534795514821/LightPunk #2072)[1], NFT (434287645530333940/Lord of Darkness)[1],
                                   NFT (434360974522385838/Lord of Darkness)[1], NFT (434614754182415301/LightPunk #6149)[1], NFT (438198515597386872/LightPunk #1455)[1], NFT (438598576677899057/DarkPunk #4601)[1],
                                   NFT (438695638357365273/DarkPunk #3558)[1], NFT (439343231310738024/LightPunk #5243)[1], NFT (440771429892831134/DarkPunk #2652)[1], NFT (441227226388061637/DarkPunk #3991)[1],
                                   NFT (444406420320745987/DarkPunk #4371)[1], NFT (444609003756861740/LightPunk #1728)[1], NFT (445335609482113689/LightPunk #329)[1], NFT (446582526646250501/DarkPunk #8382)[1],
                                   NFT (449170987453176811/Lord of Darkness)[1], NFT (450055595049729284/DarkPunk #8478)[1], NFT (454592990942211395/LightPunk #6895)[1], NFT (457196516443125599/DarkPunk #2529)[1],
                                   NFT (458092505624745805/LightPunk #53)[1], NFT (460138235527888279/DarkPunk #9141)[1], NFT (461608062446336838/LightPunk #9374)[1], NFT (464957897238007427/LightPunk #4897)[1],
                                   NFT (465115083705148312/Lord of Darkness)[1], NFT (465242037715694604/DarkPunk #8454)[1], NFT (466575250007801036/DarkPunk #5480)[1], NFT (469054914968866044/DarkPunk #4776)[1],
                                   NFT (470386727624527831/LightPunk #1093)[1], NFT (470805342461190266/DarkPunk #3580)[1], NFT (470881202376524246/Lord of Darkness)[1], NFT (471900336196843423/DarkPunk #3064)[1],
                                   NFT (472420765566513700/DarkPunk #3963)[1], NFT (474118846734552093/Lord of Darkness)[1], NFT (476683731847055137/Lord of Darkness)[1], NFT (477879009111866695/LightPunk #5319)[1],
                                   NFT (479640998759161163/Lord of Darkness)[1], NFT (480425396230451240/DarkPunk #2513)[1], NFT (481694359113259809/DarkPunk #9920)[1], NFT (484173903365277806/DarkPunk #3496)[1],
                                   NFT (484176514025481167/Lord of Darkness)[1], NFT (485138237192202376/DarkPunk #3884)[1], NFT (486216158721084676/LightPunk #5948)[1], NFT (486267608636456066/LightPunk #5218)[1],
                                   NFT (488151574069060055/DarkPunk #5856)[1], NFT (488157793839201769/LightPunk #6086)[1], NFT (490325305912772493/DarkPunk #3071)[1], NFT (490890014693871428/LightPunk #5076)[1],
                                   NFT (492458206602391903/LightPunk #391)[1], NFT (493356843818488769/LightPunk #2076)[1], NFT (493868182476603813/Lord of Darkness)[1], NFT (493917926711707595/Lord of Darkness)[1],
                                   NFT (500651714869699198/Lord of Darkness)[1], NFT (504822104544606090/LightPunk #1955)[1], NFT (506007072412873257/DarkPunk #3492)[1], NFT (508418223962347306/LightPunk #2018)[1],
                                   NFT (512161585592765558/DarkPunk #4033)[1], NFT (512428055931748869/LightPunk #6619)[1], NFT (512868613824308736/Lord of Darkness)[1], NFT (513173193548488659/DarkPunk #3256)[1],
                                   NFT (515473026120620989/DarkPunk #3469)[1], NFT (517057749643013446/LightPunk #670)[1], NFT (517698556503002722/LightPunk #6963)[1], NFT (520063122060304082/DarkPunk #8060)[1],
                                   NFT (522012556039363067/DarkPunk #4050)[1], NFT (524124035142366003/LightPunk #6925)[1], NFT (524483775454951472/Lord of Darkness)[1], NFT (524975313473410182/LightPunk #4887)[1],
                                   NFT (525944296659762038/Lord of Darkness)[1], NFT (528118000503055881/Lord of Darkness)[1], NFT (529524803155888463/LightPunk #6828)[1], NFT (530080911456298765/LightPunk #5200)[1],
                                   NFT (535320073346070709/Lord of Darkness)[1], NFT (535407506214517919/LightPunk #1954)[1], NFT (535810922166383339/LightPunk #52)[1], NFT (536715165818963291/Lord of Darkness)[1],
                                   NFT (536944209532729404/Lord of Darkness)[1], NFT (538106692784058351/LightPunk #2324)[1], NFT (539463916436304740/LightPunk #7199)[1], NFT (542682901596566349/LightPunk #1394)[1],
                                   NFT (543531085348879106/DarkPunk #9924)[1], NFT (546534208963188630/DarkPunk #8289)[1], NFT (547957305768649598/DarkPunk #7661)[1], NFT (548096936686299699/Lord of Darkness)[1],
                                   NFT (548896197224818146/Lord of Darkness)[1], NFT (549681730254094469/LightPunk #875)[1], NFT (549825984865064198/Lord of Darkness)[1], NFT (552913391338177051/DarkPunk #7664)[1],
                                   NFT (553722730129332227/LightPunk #6435)[1], NFT (554217401354106065/DarkPunk #2705)[1], NFT (554962200244251099/LightPunk #936)[1], NFT (555010759812652399/Lord of Darkness)[1],
                                   NFT (558451567005533415/Lord of Darkness)[1], NFT (566591343258196377/DarkPunk #5926)[1], NFT (567335438464303540/Lord of Darkness)[1], NFT (567514082706621205/LightPunk #1399)[1],
                                   NFT (567676768962340719/Lord of Darkness)[1], NFT (568131015189833920/LightPunk #1066)[1], NFT (572780202692808345/DarkPunk #8660)[1], NFT (573150447384744653/DarkPunk #9723)[1],
                                   NFT (573514721203095139/DarkPunk #5884)[1], NFT (574038794046364324/DarkPunk #8820)[1], NFT (574662754684214919/DarkPunk #4709)[1], NFT (574929622118508841/Lord of Darkness)[1]




07890907                           USD[0.11]                                                                                                                                                                                 Yes

07890908                           CUSDT[1], KSHIB[699.0457187], USD[0.01]                                                                                                                                                   Yes

07890912                           BTC[0], ETH[0], GRT[1], NFT (400964045726205182/ Skull)[1], SOL[0], USD[0.00], USDT[0], YFI[.00004719]                                                                                    Yes

07890913                           BCH[.01245884], BTC[.00005446], LINK[.19861168], USD[5.45]                                                                                                                                Yes

07890937                           BTC[.01503248]

07890939                           ETH[.00000001], SOL[0], TRX[0.00000025], USD[0.00], USDT[0.00785160]

07890941                           SOL[.0035544], USD[3.02]

07890963                           SHIB[0], SOL[0], USD[0.00]

07890966                           SOL[.059829], USD[1.99], USDT[4.676377]

07890976                           TRX[.000001], USDT[.00000195]                                                                                                                                                             Yes

07890988                           ETH[0], ETHW[0.00083854], SOL[0], USD[2.07], USDT[0.00052202]

07890991                           NFT (296558324904376055/FTX - Off The Grid Miami #709)[1], NFT (388826550491503432/Microphone #10501)[1], NFT (427859777158792500/Humpty Dumpty #223)[1], NFT
                                   (450871505159443678/Romeo #81)[1], NFT (552343742140738427/Entrance Voucher #1682)[1], NFT (572464888171706082/Romeo #64)[1]
07890992                           BTC[.68786746], ETH[.00097118], ETHW[.00097118], USD[7060.30]

07890996                           NFT (309019644297607959/#142)[1], NFT (384041327034022429/DOTB #2808)[1], NFT (509770889360201154/Fancy Frenchies #3820)[1], NFT (513802459216389595/SOLYETIS #1691)[1],                  Yes
                                   SOL[.03330696]
07891005                           USD[6.45]

07891010                           SOL[.00000001]

07891011                           BTC[.0018639], ETH[.16999818], ETHW[.16999818], SOL[0.00837516], USD[2.18]

07891016                           BRZ[120.78465163], BTC[.00192046], CUSDT[1006.67544179], ETH[.01425843], ETHW[.01408059], NFT (341412498617251044/Board Game LUXURY TAX 5/5)[1], NFT                                      Yes
                                   (363498234678826337/ScarecrowPixel #11)[1], NFT (390916852784126120/R2)[1], NFT (413013084542905896/SolBunnies #776)[1], NFT (561507486132719530/StarwarsFunArt #6)[1],
                                   SOL[.14901902], USD[0.21]
07891017                           BTC[.00000034], DOGE[1], USD[0.01]                                                                                                                                                        Yes

07891022                           BRZ[1], DOGE[0.23647585], ETHW[.0000278], LTC[0.00054834], NFT (470107518460857690/#23 Sarah of the North)[1], SHIB[7], TRX[1], USD[0.00], USDT[0]                                        Yes

07891025                           BAT[76.2725907], BRZ[1754.41721054], CUSDT[15.18028753], DOGE[231.59756232], KSHIB[2048.51498027], SHIB[0], TRX[552.21255525], USD[0.01]                                                  Yes

07891028                           AAVE[5.88411], BAT[.434], BTC[.3260514], DOGE[.897], ETH[.127872], ETHW[.127872], LINK[8.9776], MATIC[19.61], SOL[2.6], SUSHI[179.1005], USD[13.16]

07891029                           BRZ[1], CUSDT[4], DOGE[4258.10664192], ETH[.27178975], ETHW[.27159631], LINK[4.4449932], MATIC[.00553796], SHIB[18773326.39289024], SOL[3.71199228], TRX[3], USD[0.66],                   Yes
                                   USDT[1.07364452]
West Realm Shires Services Inc.                                                    Case 22-11068-JTD      Doc F-3:
                                                                                               Amended Schedule 1754      Filed
                                                                                                                   Nonpriority     06/27/23
                                                                                                                               Unsecured           Page 380 of 1384
                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07891042                           BRZ[1], CUSDT[7], LINK[8.55132848], LTC[.55311135], MATIC[116.83061184], NFT (332318167354405310/Entrance Voucher #4192)[1], NFT (537811986382339575/Warriors 75th Anniversary Icon   Yes
                                   Edition Diamond #1925)[1], SOL[1.4900084], TRX[1151.51963397], UNI[4.81582191], USD[0.01]
07891054                           USD[0.34]                                                                                                                                                                             Yes

07891070                           USD[0.00], USDT[79.4]

07891078                           BRZ[2], BTC[0], DOGE[4], ETH[0], ETHW[0.05156471], GRT[1], SHIB[6], TRX[2], USD[0.00], USDT[3.06435361]                                                                               Yes

07891079                           BTC[.08569675], ETH[.769582], ETHW[.769582], SOL[35.03193998], USD[1503.11]

07891095                           USD[0.24]                                                                                                                                                                             Yes

07891098                           BTC[.16069904]                                                                                                                                                                        Yes

07891106                           ETH[.0015], ETHW[.0895], USD[0.00]

07891108                           MATIC[30], SHIB[5794200], SOL[.00313512], UNI[40.7592], USD[1.73]

07891122                           NFT (529854487739626236/Warriors 75th Anniversary City Edition Diamond #1126)[1], USD[530.13]                                                                                         Yes

07891130                           ALGO[122.98829559], BAT[51.88497352], BRZ[1], BTC[.08106027], CUSDT[2444.55288384], DOGE[5661.48410946], ETH[1.36213957], ETHW[1.36156739], GRT[195.7548016], LINK[5.41105797],       Yes
                                   LTC[1.79641885], MATIC[235.35578534], NEAR[3.40528866], SHIB[3620095.67822313], SOL[1.58122856], SUSHI[17.86472231], TRX[1016.34592063], USD[0.00]
07891151                           AVAX[.02576], ETH[.00067807], ETHW[.00067807], USD[0.01], USDT[0.00001723]

07891156                           LINK[.00017075]                                                                                                                                                                       Yes

07891163                           BTC[0], SHIB[7416359.6815809], USD[0.00], USDT[0]

07891185                           ETH[.00000001], ETHW[0], SOL[0], USD[0.00]

07891190                           BAT[19.94167355], CUSDT[4], GRT[35.87979899], SHIB[679555.76547501], USD[0.00], USDT[26.68950895]                                                                                     Yes

07891198                           SHIB[29570400], SOL[67.11732], USD[1.42]

07891213                           USD[0.00]                                                                                                                                                                             Yes

07891215                           CUSDT[6], SHIB[2], SOL[.00000807], USD[0.00]                                                                                                                                          Yes

07891224                           DOGE[2], SHIB[1], SOL[0], USD[0.00]                                                                                                                                                   Yes

07891231                           ETH[0], ETHW[0], SOL[0.00005261], USD[0.00], USDT[0]

07891239                           BTC[.00144428], CUSDT[3], DOGE[1], USD[0.03]                                                                                                                                          Yes

07891244                           DOGE[1], SOL[8.29505706]

07891250                           ETH[0], SOL[0], USD[0.00]

07891275                           DOGE[4.06917599]

07891290                           ETH[.00078486], ETHW[.00078486]

07891335                           BTC[.00033237], CUSDT[4], ETH[.00273624], ETHW[.00270888], SHIB[71822.97001383], SOL[.03468805], UNI[.40320028], USD[0.00]                                                            Yes

07891344                           NFT (474894387313411735/Coachella x FTX Weekend 1 #5265)[1]

07891358                           USD[0.00]

07891364                           CUSDT[1], USD[0.00]                                                                                                                                                                   Yes

07891367                           ETH[0], SOL[0]

07891377                           BRZ[1], DOGE[1], SHIB[1], USD[31.17], USDT[0]

07891396                           BAT[1.0165555], TRX[2], USD[0.00]                                                                                                                                                     Yes

07891421                           NFT (376809148350038240/Horse Polly)[1], NFT (477702248668360847/Bull #3)[1], NFT (533100543642602745/Bull #7)[1], NFT (542608172368599543/Egg #0012 - AAVE )[1], NFT                 Yes
                                   (575790087719449467/Gods Fam)[1], USD[33.80]
07891434                           BCH[0], BTC[0], SOL[0], USD[0.88]

07891456                           BTC[.0012987], SOL[.02997], USD[0.56]

07891463                           ETH[0.00000001], ETHW[0], SOL[0], USD[0.00], USDT[0]

07891477                           LTC[2.999]

07891478                           SOL[2.21514773], USD[0.00]

07891485                           BAT[4.48674148], CUSDT[2], LTC[.02141892], USD[0.00]                                                                                                                                  Yes

07891489                           NFT (324566778979898694/Exclusive 2974 Collection Merchandise Package #1466 (Redeemed))[1], NFT (436954083647124291/The 2974 Collection #2927)[1], SOL[1.9], USD[3.22]

07891494                           USD[0.00]

07891504                           USD[1.16], USDT[0]

07891512                           BRZ[1], DOGE[1], LINK[18.02523568], USD[524.55]                                                                                                                                       Yes

07891514                           USD[150.00]

07891531                           BTC[0.00009641], MATIC[1.9], USD[0.00], USDT[0]

07891536                           NFT (316418587415175482/Coachella x FTX Weekend 2 #28985)[1]

07891543                           NFT (408454029206036125/FTX - Off The Grid Miami #5616)[1]

07891562                           DAI[111.81004801]                                                                                                                                                                     Yes

07891575                           NFT (305199362894744792/SolFractal #1929)[1], NFT (359371289759052685/791)[1], NFT (477794046089835578/Belugie #924)[1], SOL[.30959492]

07891580                           USD[0.00]

07891587                           NFT (553078581077675595/3026)[1], SOL[.3091528]

07891600                           BTC[0], ETH[0], ETHW[0], USD[0.00], USDT[0.00000054]

07891611                           BTC[0], CUSDT[.00221807], ETH[0.00000008], GRT[0], MATIC[0.00000001], SHIB[4], SOL[0], USD[178.10], USDT[0.00009394]                                                                  Yes

07891614                           USD[0.07]

07891615                           SOL[.00000001], USD[0.00], USDT[0]                                                                                                                                                    Yes

07891629                           BTC[.00268746], ETH[.03672252], ETHW[.03626991], SOL[13.07369027], USD[-98.00]                                                                                                        Yes
West Realm Shires Services Inc.                                                    Case 22-11068-JTD      Doc F-3:
                                                                                               Amended Schedule 1754      Filed
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                                                                                                                               Unsecured           Page 381 of 1384
                                                                                                                                         Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07891636                           USD[5.96], USDT[0]

07891648                           BTC[0], USD[17.33]

07891665                           BTC[0.00002721], ETH[.00053284], ETHW[.00053284], NFT (361788671971681080/FTX - Off The Grid Miami #4346)[1], USD[0.00], USDT[0.00022438]

07891672                           MATIC[127.96709283]                                                                                                                                                                    Yes

07891673                           BRZ[1], BTC[0], CUSDT[3], TRX[1], USD[0.00], USDT[0.00144718]                                                                                                                          Yes

07891675                           USD[6.03]

07891680                           SHIB[62638.86792909], USD[0.00]

07891685                           CUSDT[1], SOL[.25808287], USD[0.00]                                                                                                                                                    Yes

07891693                           CUSDT[4594.81826421], DOGE[548.18706306], MATIC[25.06329861], SHIB[3226899.84133552], TRX[1486.96949249], USD[0.00]

07891699                           BTC[0.19476239], DOGE[2], SHIB[8], TRX[1], USD[-100.00]                                                                                                                                Yes

07891700                           USD[0.00]

07891717                           BTC[.00043948], CUSDT[2], DOGE[115.74733335], USD[0.01]                                                                                                                                Yes

07891722                           BRZ[2], BTC[0], CUSDT[16], DOGE[1], ETH[0], ETHW[0], SHIB[2], SOL[.00000001], TRX[1], USD[0.00]                                                                                        Yes

07891727                           TRX[.000016]                                                                                                                                                                           Yes

07891753                           USD[0.00]

07891754                           BF_POINT[300], BTC[0], MATIC[0], USD[39894.04]                                                                                                                                         Yes

07891763                           NFT (485023398051028846/3D Chainsaw)[1], NFT (495097741618783747/Ghostz #410)[1], NFT (553203223037320981/3D SOLDIER #2842)[1]

07891773                           AAVE[0], ALGO[0], AVAX[0], BAT[0], BRZ[1], BTC[0], DOGE[0.00000001], GRT[0], KSHIB[0], LINK[0], MATIC[0], MKR[0], NEAR[0], NFT (433985202337288948/Founding Frens Lawyer #629)[1],     Yes
                                   SHIB[0], SOL[0], TRX[0], UNI[0], USD[240.21], USDT[0]
07891778                           USD[10.91]                                                                                                                                                                             Yes

07891785                           AVAX[.0715], BTC[.0000959], ETH[.000167], ETHW[.000194], SOL[.00876], USD[24022.54]

07891796                           USD[0.00]                                                                                                                                                                              Yes

07891797                           USD[0.00]

07891800                           SOL[99.99]

07891806                           BRZ[3], CUSDT[10], DOGE[3], TRX[.00821733], USD[0.00], USDT[0]                                                                                                                         Yes

07891820                           BAT[1], CUSDT[7], DOGE[2], ETH[.00004286], ETHW[.00004286], MATIC[.00089962], SHIB[1], SOL[0.00010505], USD[0.63]                                                                      Yes

07891824                           BRZ[1000], DOGE[1842], SHIB[1200000], SOL[3.429], USD[12.41]

07891835                           USD[109.08]                                                                                                                                                                            Yes

07891841                           USD[1.47]

07891844                           SOL[.2]

07891858                           BAT[1.0165555], BRZ[1], BTC[.00000002], CUSDT[5], ETH[.00000023], ETHW[.00000023], SHIB[47.65830659], TRX[2], USD[0.00]                                                                Yes

07891861                           SOL[1.98], USD[1.31]

07891863                           BTC[.00759787], CUSDT[2], LINK[2.84452384], TRX[1], USD[0.00]                                                                                                                          Yes

07891867                           SOL[.00658923], USD[0.00]

07891887                           ETHW[3.35598712], USD[26.59]                                                                                                                                                           Yes

07891891                           GRT[0.95838995]                                                                                                                                                                        Yes

07891896                           USDT[13.191]

07891908                           SHIB[46056205], TRX[.901456], USD[15.51]

07891915                           SOL[1.99], USD[0.55]

07891922                           NFT (429082460888789222/Lunarian #6236)[1]

07891925                           EUR[0.95], SOL[.001], USD[0.56]

07891932                           BF_POINT[100], BTC[0], DOGE[1], TRX[1], USD[0.01]                                                                                                                                      Yes

07891940                           SOL[18.54379494], TRX[1], USD[0.00], USDT[1.08268335]                                                                                                                                  Yes

07891944                           AAVE[0.12545802], AVAX[.00000295], BAT[1.6186906], BRZ[4], BTC[0], ETH[1.63131133], ETHW[1.63007435], GRT[53.04852953], LINK[8.12498041], PAXG[0], SHIB[1], TRX[4], UNI[2.17838703],   Yes
                                   USD[0.00], USDT[0.00000534]
07891949                           BRZ[1], BTC[.00529042], CUSDT[4], DOGE[2], ETH[.0763306], ETHW[.07538343], MATIC[29.56819302], SHIB[4], SOL[1.98080709], TRX[3], USD[1.48]                                             Yes

07891952                           USD[0.00]                                                                                                                                                                              Yes

07891955                           DOGE[1], SOL[0], USD[0.02]                                                                                                                                                             Yes

07892006                           TRX[.000066], USD[0.00], USDT[0]

07892046                           DOGE[10.77831924], PAXG[.00064869], USD[9.20]                                                                                                                                          Yes

07892051                           SHIB[828613.9907313], USD[0.26]                                                                                                                                                        Yes

07892053                           USD[0.00]

07892056                           USD[0.00]                                                                                                                                                                              Yes

07892060                           BTC[0], SOL[0.01967766], USD[0.00]

07892064                           SOL[0.00000005]

07892067                           USDT[0.00225795]

07892070                           BTC[.04995], ETH[1.0989], ETHW[1.0989], SHIB[1000000], SOL[117.07904], USD[7089.97]

07892076                           ETH[.00000066], USD[0.00]                                                                                                                                                              Yes

07892086                           TRX[1], USD[0.30]                                                                                                                                                                      Yes

07892087                           BTC[.00096042], CUSDT[3], DOGE[1], ETH[.02537676], ETHW[.02506212], SOL[.2216249], TRX[533.03472834], USD[0.00], USDT[0.00001740]                                                      Yes
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                                                                                                                                         Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07892093                           BTC[0]

07892101                           USD[0.01], USDT[0]

07892104                           NFT (444361316286816438/The Hill by FTX #6750)[1]

07892110                           BTC[0], USD[1.07]

07892111                           TRX[.000001], USDT[0.00000032]

07892112                           NFT (393810810639442366/Entrance Voucher #2715)[1], NFT (421250232180996849/on the edge)[1], SOL[.465], USD[0.00]

07892127                           CUSDT[2], DOGE[2], ETH[0], ETHW[0], SOL[0], TRX[2], USD[0.00]                                                                                                                             Yes

07892128                           CUSDT[755.94169494], DOGE[357.68253331], ETH[.00392281], ETHW[.00386809], GRT[31.74147501], KSHIB[676.70875389], SHIB[1302925.33355502], TRX[114.21533248], USD[108.62],                  Yes
                                   USDT[32.52847357]
07892129                           USD[200.00]

07892133                           BTC[.10468184], CUSDT[1], ETH[.77776315], ETHW[.77743655], SHIB[10966470.76482939], USD[0.01], USDT[1.08195195]                                                                           Yes

07892134                           BTC[.0008], USD[3.41]

07892142                           CUSDT[1], DOGE[3], SHIB[1], TRX[3], USD[0.00]

07892149                           BTC[.000174], CUSDT[1], MATIC[12.32556602], USD[0.00]

07892150                           MATIC[18.14518161], USD[174.65]

07892153                           BAT[1.00028303], CUSDT[1], SHIB[2], USD[0.00]                                                                                                                                             Yes

07892154                           USD[40.19]

07892168                           DOGE[1], TRX[5310.22282899], USD[0.00]                                                                                                                                                    Yes

07892174                           BTC[.2690307], SHIB[900000], USD[0.45]

07892180                           NFT (483896805904181961/Saudi Arabia Ticket Stub #501)[1]

07892185                           USD[0.13]

07892186                           SOL[.05]

07892199                           BRZ[1], CUSDT[24], DOGE[7.13585199], ETH[.41843341], ETHW[.41825769], GRT[1], TRX[6], USD[0.00], USDT[1.06939765]                                                                         Yes

07892208                           USD[0.00]

07892239                           ETH[.000127], ETHW[.000127], SOL[.00427], TRX[.00045], USD[0.00], USDT[0]

07892244                           CUSDT[5], DOGE[1], GRT[0], SOL[0], TRX[3], USD[0.01]

07892260                           CUSDT[9], DOGE[5], SHIB[8], TRX[2], USD[0.00], USDT[0.00000052]                                                                                                                           Yes

07892263                           BTC[0], ETH[0], LINK[.07883889], LTC[0], SHIB[88525.50541872], SUSHI[.107], USD[1.24], USDT[0.00000001]

07892267                           SOL[.93], USD[0.40]

07892269                           ETH[0], SOL[0], USD[0.00], USDT[0]

07892273                           BTC[0], CUSDT[2], DOGE[0], ETH[0], GRT[0], LINK[0], MATIC[0.00000002], SOL[0], TRX[1], USD[0.00], USDT[0.00000022], YFI[0]                                                                Yes

07892274                           BTC[.0539], ETH[.317], ETHW[.317], USD[24.73]

07892283                           BTC[.00017827], CUSDT[1], USD[0.00]

07892285                           USD[0.00]

07892293                           BTC[0.13378801], USD[0.12]

07892295                           USD[0.50]

07892297                           CUSDT[22934.90306124], SHIB[89686099.65470852], USD[0.00]

07892299                           NFT (292658864363924620/Tom the goat )[1], NFT (313323069781339305/Batman )[1], NFT (314414745096295001/Kobe 824)[1], NFT (320905771803754277/Tom12)[1], NFT
                                   (323997267631957033/Religious)[1], NFT (334486634496580155/Exercise for fries)[1], NFT (347535808616355636/Inspire #2)[1], NFT (355150737759963794/True love)[1], NFT
                                   (363339799573222535/Hungover )[1], NFT (371418389776871483/Faith)[1], NFT (381216898606389852/Inspire )[1], NFT (395888043269263547/Faith #2)[1], NFT (401596304991879690/Kobe)[1], NFT
                                   (419581345542826868/Let’s go)[1], NFT (422590991803670732/Lovely)[1], NFT (422708873114246797/Smart )[1], NFT (427683845701309699/Winning )[1], NFT (434111584064593651/Baller )[1],
                                   NFT (442718696044477736/Hello there)[1], NFT (461183465119865747/Think…)[1], NFT (539008749438373131/My people )[1], NFT (549507372778798667/Time to eat)[1], SHIB[0], USD[15.66]

07892314                           USD[0.00]

07892316                           AAVE[6.98285545], ETH[.707], ETHW[.707], LINK[26.3], MATIC[2790], SOL[54.402], USD[0.50]

07892343                           BTC[.00088538]

07892348                           NFT (301603617226159063/Humpty Dumpty #1414)[1]

07892350                           BTC[0], SOL[0], TRX[2], USD[0.42]                                                                                                                                                         Yes

07892353                           BTC[0.00087462], USD[0.24]

07892363                           ETH[.00000001], ETHW[0], SOL[0.00498676]

07892378                           BTC[.20697361], DOGE[2385.25364502], ETH[1.0791978], ETHW[1.07874463], SOL[3.15551964]                                                                                                    Yes

07892381                           CUSDT[1], SOL[3.53906873], USD[0.24]                                                                                                                                                      Yes

07892384                           AAVE[.51214142], BAT[1], BCH[.02698749], BF_POINT[200], BRZ[4], CUSDT[28], DOGE[171.79131935], ETHW[.25047987], GRT[22.51778052], KSHIB[579.00795093], LINK[.60578674],                   Yes
                                   LTC[.08130983], MATIC[9.03268109], MKR[.11707224], SHIB[626642.39610488], SUSHI[4.52488408], TRX[22.79017247], UNI[.44166597], USD[762.22], USDT[0], YFI[.00093704]
07892410                           USD[250.00]

07892414                           ETH[.00000001], ETHW[0], SOL[0], TRX[1]                                                                                                                                                   Yes

07892418                           USD[0.13]

07892431                           SOL[1.58226229], USD[0.00]

07892432                           ETHW[.01754611], LINK[0], SHIB[36098.59489812], UNI[0], USD[0.00], USDT[0]                                                                                                                Yes

07892437                           SOL[.01]

07892438                           SOL[4.82517], USD[0.44]

07892440                           CUSDT[8], GRT[.00035841], MATIC[.00015653], TRX[1], USD[0.00]                                                                                                                             Yes
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                                                                                                                                         Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07892452                           BRZ[1], CUSDT[9], ETH[.00006379], ETHW[.00006379], GRT[.00025031], SHIB[6.02663758], SOL[.00000071], SUSHI[.00007834], USD[0.01]                                                          Yes

07892461                           BRZ[1], LINK[8.22249706], USD[0.04]                                                                                                                                                       Yes

07892466                           DOGE[1], SOL[8.47910155], TRX[5], USD[0.10]                                                                                                                                               Yes

07892474                           BRZ[1], BTC[.01024584], CUSDT[13], DOGE[309.6003263], SHIB[24], TRX[1], USD[0.00]                                                                                                         Yes

07892476                           BTC[.001], ETH[.0000001], ETHW[.0000001]

07892487                           DOGE[1381.78798303], ETH[.13148068], ETHW[.13041992], LINK[10.94284638], MATIC[300.02121162], SOL[6.9275094], USD[0.00]                                                                   Yes

07892498                           DOGE[2], TRX[2], USD[0.00]

07892504                           USD[15.34]                                                                                                                                                                                Yes

07892511                           ETH[.590409], ETHW[.590409], USD[0.00], USDT[3.02029675]

07892514                           USD[30.00]

07892534                           SOL[.01]

07892535                           BTC[.00275516], SOL[0], USD[0.00]

07892549                           NFT (481725822656287918/Humpty Dumpty #606)[1], USD[0.00], USDT[0]

07892553                           KSHIB[141.25322130]                                                                                                                                                                       Yes

07892575                           NFT (383937808622949948/Megalodon Rogue Shark Tooth)[1], NFT (391094286599328684/Megalodon Rogue Shark Tooth)[1], NFT (392988268412935773/Megalodon Rogue Shark Tooth)[1], NFT
                                   (408053774548778763/Megalodon Rogue Shark Tooth)[1], NFT (458818861856536350/Megalodon Rogue Shark Tooth)[1], NFT (547652243742188434/Megalodon Rogue Shark Tooth)[1], SOL[0],
                                   USD[0.00]
07892594                           ETH[0], ETHW[1.33713502], SOL[.00789162], USD[0.00], USDT[.0020256]

07892596                           USD[0.00]

07892597                           ETH[0], NFT (483411815053123557/Founding Frens Lawyer #771)[1], TRX[1], USD[0.00], USDT[0]                                                                                                Yes

07892605                           ETH[.00852715], ETHW[0.00841770]                                                                                                                                                          Yes

07892607                           USD[2.00]

07892609                           BTC[.0649], ETH[.322], ETHW[.322], SOL[19.84], USD[2.03]

07892610                           USD[0.00]

07892615                           GRT[14.21127481], USD[0.00]

07892616                           BTC[.00000023], SOL[.00000001], USD[0.01], USDT[0]                                                                                                                                        Yes

07892625                           USD[0.00]

07892626                           BTC[.0601], DOGE[288], ETH[.848], ETHW[.848], SHIB[900000], SOL[49.24], USD[1.26]

07892638                           NFT (414009871020402428/Humpty Dumpty #662)[1]

07892641                           USDT[14.836525]

07892645                           CUSDT[1], DOGE[1], TRX[1], USD[0.00]                                                                                                                                                      Yes

07892707                           NFT (464083522046153760/Entrance Voucher #3563)[1]

07892730                           ETH[0], USD[0.01], USDT[0]                                                                                                                                                                Yes

07892734                           BRZ[119.44595014], CUSDT[2], DOGE[1], GRT[59.78909273], USD[0.00]                                                                                                                         Yes

07892735                           USD[0.00], USDT[0.00000575]                                                                                                                                                               Yes

07892739                           NFT (405993150556180258/357 Sierra Avenue)[1], USD[0.01], USDT[23]

07892742                           NFT (332297527804758989/Rox #095)[1]

07892750                           NFT (358446139920999622/Undercover Orange 1)[1]

07892751                           TRX[.000001], USDT[2.459019]

07892752                           BTC[.00000489], TRX[.000001]

07892754                           BTC[0], SOL[0.00000001], USD[0.00]

07892755                           SOL[.2]

07892760                           NFT (309455573593392319/Solbucks Brew Club #4538)[1], NFT (359756503581140453/Solbucks Brew Club #4695)[1], NFT (475826273144656634/Solbucks Brew Club #4581)[1], NFT
                                   (514890534187829891/Solbucks Brew Club #4605)[1], NFT (519813218255972745/Solbucks Brew Club #4533)[1], NFT (532336831154136981/Solbucks Brew Club #4560)[1], NFT
                                   (537948413450321343/Solbucks Brew Club #4580)[1]
07892763                           AAVE[0], BAT[0], BTC[0], CUSDT[1], ETH[0], GRT[0], KSHIB[0], LINK[0], LTC[0], MKR[0], NFT (319634407630469819/Lava Runner #3105)[1], NFT (363831733395707568/Lava Runner #3780)[1], NFT   Yes
                                   (366611546015899711/Lava Runner #781)[1], PAXG[0], SHIB[0], SOL[0.00000001], SUSHI[0], UNI[0], USD[0.00], USDT[0.00000001]
07892764                           NFT (293353770106585912/GSW Western Conference Semifinals Commemorative Ticket #631)[1], NFT (342099639579210753/Warriors Hoop #537)[1], NFT (362884086918412419/GSW Western
                                   Conference Finals Commemorative Banner #1185)[1], NFT (407913583165850291/GSW Championship Commemorative Ring)[1], NFT (458923566266935871/GSW Western Conference Finals
                                   Commemorative Banner #1186)[1], USD[500.01]
07892766                           USD[500.00]

07892774                           NFT (288436885778994830/754)[1], SOL[.4]

07892780                           NFT (476211270657968463/Worm in Apple)[1]

07892793                           BTC[.0007452], CUSDT[3.00068487], NFT (429034703856617100/Australia Ticket Stub #1385)[1], SHIB[808664.52888191], SOL[.2300223], USD[0.00]                                                Yes

07892798                           NFT (421994635386746188/Female Progenitor 5538)[1]

07892799                           NFT (338575003793295088/Cyber Frogs Ramen)[1], NFT (345521275835736990/CryptoPet #7579)[1], NFT (384973444255907545/Degen Trash Panda Merch Token)[1], NFT
                                   (555320728950303649/SolBunnies #1398)[1], USD[0.00]
07892804                           NFT (492958509544431072/Little Rocks #779)[1]

07892807                           DOGE[1], SHIB[1], USD[987.92]                                                                                                                                                             Yes

07892814                           BTC[.00089922], CUSDT[2], ETH[.01390374], ETHW[.0137259], USD[0.00]                                                                                                                       Yes

07892816                           CUSDT[2], DOGE[1], SHIB[1], TRX[1], USD[0.01]

07892822                           CUSDT[1], SHIB[415052.57332595], USD[0.00]

07892845                           AVAX[0], DOGE[0], ETH[0], LINK[0], MATIC[0], SOL[0], USD[0.00], USDT[0]                                                                                                                   Yes
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                                                                                                                                            Customer Claims                                                                                                      22-11071 (JTD)
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07892849                              NFT (461949855061195935/Australia Ticket Stub #2186)[1]

07892852                              CUSDT[1], ETH[.15777942], ETHW[.15714294], USD[0.00]                                                                                                                               Yes

07892856                              BTC[.00043982], CUSDT[1], USD[0.10]                                                                                                                                                Yes

07892866                              BAT[15.44659976], BRZ[118.78810999], CUSDT[6], DAI[10.82871854], DOGE[95.36339522], GRT[14.15390173], MATIC[14.40224343], SHIB[332945.43452827], SOL[1.09092466],                  Yes
                                      TRX[216.95833112], USD[0.00], USDT[10.84243865]
07892875                              USD[0.00]

07892886                              ETH[.00789455], ETHW[.00789455], USD[0.00]

07892889                              MKR[.541458], USD[14.40]

07892892                              SOL[.00899], USD[3.02]

07892894                              NFT (387203296572275169/Lunarian #6049)[1], USDT[0]

07892897                              CUSDT[1], DOGE[1], SOL[.00021104], TRX[3], USD[0.01]                                                                                                                               Yes

07892908                              USD[0.00]

07892909                              USD[0.99]

07892911                              NFT (446750893435643089/Solninjas #4620)[1], SOL[0], USD[0.00]

07892912                              BCH[.04401573], BTC[.0002], LTC[.01], USD[39.57]

07892925                              AAVE[.86], AVAX[12.5874], GRT[412.587], JPY[636219.74], LINK[9.0909], LTC[1.36863], MATIC[200], MKR[.102], PAXG[.1386612], SOL[1.61838], SUSHI[24], TRX[2544.453], USD[1003.49],
                                      YFI[.011988]
07892934                              NFT (297323432761383667/Rox #035)[1], NFT (407783567501409332/Rox #159)[1], NFT (436803778821793365/Rox #103)[1], NFT (452140334205771752/Rox #067)[1], NFT
                                      (452734471742490309/Rox #019)[1], NFT (525825572387020189/4371)[1], SOL[.23475]
07892936                              SOL[.00000001]                                                                                                                                                                     Yes

07892937                              ETHW[.0002], USD[0.27]

07892940                              CUSDT[1], SHIB[2], SOL[.35530923], USD[0.00]

07892944                              ETH[.03688776], ETHW[.03688776], USD[3.44]

07892946                              CUSDT[2], SHIB[1548740.27665601], TRX[543.29427178], USD[0.00]                                                                                                                     Yes

07892947                              NFT (346373009444996275/Entrance Voucher #2909)[1], NFT (380973067272579717/FTX - Off The Grid Miami #1199)[1], USD[0.07]                                                          Yes

07892948                              SOL[.005]

07892955                              USD[0.00]

07892958                              SHIB[1], USD[0.00]

07892959                              USD[1.16]

07892963                              BTC[0], ETHW[4.863324], USD[0.01]

07892987                              USD[95.25]

07892988                              ETH[0], SOL[0.00084839], USD[0.00]

07892993       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07893000                              EUR[0.00], NFT (306966212194984107/Entrance Voucher #29419)[1], NFT (513804860731335525/FTX - Off The Grid Miami #924)[1], SHIB[9], TRX[.05853769], USD[0.00], USDT[0]             Yes

07893005                              BTC[0], ETH[0], SOL[0], USD[0.00], USDT[0]

07893008                              DOGE[0], SHIB[3351278.12921845], USD[1.38]

07893013                              BTC[0], ETH[0], MATIC[0], NFT (298745964904998665/Scene #0355 | Timeline #2)[1], NFT (310891092954780069/Cyber Frogs Ramen)[1], NFT (390596614078040424/Socks #4914)[1], NFT
                                      (517956085579057176/Golden bone pass)[1], NFT (567881037205802503/Bunny #5305)[1], NFT (570650685069955620/Frog #5917)[1], SOL[0.00415000], USD[0.00]
07893022                              ETHW[.0008074], MATIC[23.974], SHIB[299730], USD[0.16]

07893031                              CUSDT[1], SOL[.71858775], USD[0.00]                                                                                                                                                Yes

07893036                              USDT[1.681859]

07893043                              BRZ[4], CUSDT[22], ETHW[1.46077631], GRT[1.00019173], SHIB[32], TRX[15.23335749], UNI[.00004376], USD[2440.92]                                                                     Yes

07893050                              TRX[.000001]

07893060                              ETH[1.344], ETHW[1.344], SOL[4.88], USD[1.04]

07893064                              CUSDT[4], USD[0.01]

07893068                              BAT[1], BRZ[1], CUSDT[6], DOGE[2], LTC[.30171954], MATIC[105.92413293], SOL[2.88335921], SUSHI[4.76465538], TRX[4], USD[0.00]

07893075                              CUSDT[4], DOGE[1], SHIB[1], USD[0.01]                                                                                                                                              Yes

07893082                              NFT (309184173925461664/5359)[1], NFT (320772637593028823/7390)[1], NFT (396844310531060843/2524)[1], NFT (399609768470962800/6429)[1], NFT (417422333951235377/3690)[1], NFT
                                      (424819748523299104/2039)[1], NFT (429787852365228631/1295)[1], NFT (463764124126047706/3393)[1], NFT (464848303467243113/5742)[1], NFT (508711846615714733/942)[1], NFT
                                      (561911037818848224/1509)[1]
07893083                              ETH[1.99449817], ETHW[1.99366051]                                                                                                                                                  Yes

07893084                              SOL[0]

07893096                              LTC[.006], USD[0.00], USDT[1.8646428]

07893097                              CUSDT[2], TRX[.00230395], USD[0.01]                                                                                                                                                Yes

07893104                              DOGE[1], TRX[1], USD[0.00]                                                                                                                                                         Yes

07893109                              SOL[.31375855], USD[0.00]

07893117                              NFT (474837097830343050/Red Moon #101)[1]

07893126                              UNI[0], USD[10.87]

07893134                              USD[20.00]

07893153                              USD[500.00]

07893155                              BTC[.09075], USD[99.98]

07893157                              USD[384.39], USDT[0]
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                                                                                                                                            Customer Claims                                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07893159                              BRZ[1], CUSDT[17], DOGE[2], ETHW[.23483919], SHIB[9], TRX[4], USD[332.68]                                                                                                                   Yes

07893161                              ETH[.237812], ETHW[.287812], SOL[22.48504], USD[65.10]

07893162                              NFT (525469257093444826/FTX - Off The Grid Miami #1831)[1], NFT (566905705101674711/Entrance Voucher #2146)[1]

07893165                              USD[0.00]

07893173                              NFT (323538202005481876/2021 Sports Illustrated Awards #60)[1]

07893176                              AVAX[0], BRZ[1], BTC[.00004723], CUSDT[8], DOGE[6], ETH[.04703553], ETHW[.31560424], GRT[1], MATIC[0], SHIB[12], TRX[4], USD[0.00], USDT[.0022717]                                          Yes

07893184                              USD[0.00], USDT[0]

07893197                              CUSDT[2], DOGE[1], NFT (297310236929295025/AI-generated landscape #204)[1], NFT (300321121602626861/AI-generated landscape #199)[1], NFT (301739364074103770/AI-generated landscape
                                      #187)[1], NFT (304018231446737934/AI-generated landscape #191)[1], NFT (304563018246634127/Fancy Frenchies #32)[1], NFT (305993036722636772/AI-generated landscape #42)[1], NFT
                                      (307231110318523801/AI-generated landscape #68)[1], NFT (311570333391104984/AI-generated landscape #46)[1], NFT (315844583000580662/AI-generated landscape #62)[1], NFT
                                      (316302083151422170/Rovox #7)[1], NFT (318794595190002528/AI-generated landscape #33)[1], NFT (322800713060260618/Floating )[1], NFT (324040420683166009/Symphony#10)[1], NFT
                                      (329470745598624381/AI-generated landscape #53)[1], NFT (335758526360344414/AI-generated landscape #37)[1], NFT (337595820720227704/Floating Island- Sea)[1], NFT (338917608842022066/AI-
                                      generated landscape #82)[1], NFT (342673131952923655/AI-generated landscape #206)[1], NFT (343280736163673000/AI-generated landscape #209)[1], NFT (345761454829639514/Symphony#2)[1],
                                      NFT (346854193526340144/AI-generated landscape #98)[1], NFT (348629226478635451/AI-generated landscape #110)[1], NFT (349285170842585435/AI-generated landscape #40)[1], NFT
                                      (352200046841370417/AI-generated landscape #207)[1], NFT (356819924653735703/AI-generated landscape #135)[1], NFT (357045557761103213/AI-generated landscape #183)[1], NFT
                                      (361072373407498216/AI-generated landscape #75)[1], NFT (362491972374610283/AI-generated landscape #22)[1], NFT (366281444591990211/AI-generated landscape #193)[1], NFT
                                      (367419464163760764/AI-generated landscape #93)[1], NFT (367616840618555019/AI-generated landscape #92)[1], NFT (371084746328727541/AI-generated landscape #197)[1], NFT
                                      (373612095555961950/AI-generated landscape #26)[1], NFT (376681551448641719/AI-generated landscape #210)[1], NFT (378164600259521497/AI-generated landscape #201)[1], NFT
                                      (389252064191926360/AI-generated landscape #51)[1], NFT (389364221907745184/Grey Crowned Crane)[1], NFT (396430985792896209/AI-generated landscape #108)[1], NFT
                                      (398480547467032248/AI-generated artblock #1)[1], NFT (405904984096648025/AI-generated landscape #90)[1], NFT (407367021835036491/ApexDucks #1614)[1], NFT (410021706442390105/AI-
                                      generated landscape #45)[1], NFT (416218878670602312/DOTB #118)[1], NFT (417100468530594627/Floating Island- Snow)[1], NFT (421064737227922115/AI-generated landscape #72)[1], NFT
                                      (423158462555541368/AI-generated landscape #113)[1], NFT (433903910942829022/Timing )[1], NFT (435447746134556162/AI-generated landscape #36)[1], NFT (439250780363854487/AI-generated
                                      landscape #198)[1], NFT (444352047777951746/Symphony#14)[1], NFT (445395551049430623/AI-generated landscape #81)[1], NFT (448045332147032529/AI-generated landscape #8)[1], NFT
                                      (448225685840798151/Baccarat )[1], NFT (451916685690332859/AI-generated landscape #67)[1], NFT (453147361176253539/AI-generated landscape #57)[1], NFT (453215678754821639/AI-generated
                                      landscape #63)[1], NFT (455293594058752318/AI-generated landscape #189)[1], NFT (457511758260931754/Farley )[1], NFT (457916030245776382/AI-generated landscape #105)[1], NFT
                                      (464454436216399815/AI-generated landscape #203)[1], NFT (464955795789179106/Natural Mirror)[1], NFT (465988593286965394/Lux)[1], NFT (468550598672396759/AI-generated landscape
                                      #106)[1], NFT (475462721319588027/Symphony#3)[1], NFT (475702396569677147/For Sale)[1], NFT (476109129222205581/I’m sailing )[1], NFT (482357824983829678/AI-generated landscape
                                      #101)[1], NFT (485156504619075134/AI-generated landscape #111)[1], NFT (489232233872175951/AI-generated landscape #55)[1], NFT (491706074002067321/AI-generated landscape #94)[1], NFT
                                      (493744889110221224/AI-generated landscape #181)[1], NFT (495831064542329833/AI-generated landscape #124)[1], NFT (497995318917510827/Red Panda #29)[1], NFT (498547700452224829/AI-
                                      generated landscape #35)[1], NFT (503537009621764347/AI-generated landscape #208)[1], NFT (504094505948955181/AI-generated landscape #140)[1], NFT (505464843006895913/AI-generated
                                      landscape #31)[1], NFT (506100323047758279/AI-generated landscape #52)[1], NFT (506891545632896711/AI-generated landscape #184)[1], NFT (507960700019321290/AI-generated landscape
                                      #202)[1], NFT (522198051570645397/Symphony#11)[1], NFT (528755519913511022/AI-generated landscape #32)[1], NFT (529161961971960153/Ducati )[1], NFT (536561438897529641/AI-generated
                                      landscape #200)[1], NFT (536755502442443339/AI-generated landscape #195)[1], NFT (549439525781306123/AI-generated landscape #186)[1], NFT (549959415754108966/AI-generated landscape
                                      #96)[1], NFT (555845411729861873/Illuminati)[1], NFT (557475299450104318/AI-generated landscape #107)[1], NFT (557696368521009165/Sunday Morning)[1], NFT (558868348492031695/Welcome
                                      …)[1], NFT (559813925246654038/AI-generated landscape #49)[1], NFT (563404917162902962/Booming )[1], NFT (563457925988946609/AI-generated landscape #85)[1], NFT
                                      (569411523983605778/AI-generated landscape #47)[1], NFT (572431956564086306/AI-generated landscape #61)[1], SOL[.02707436], USD[89.56]


07893198                              USD[0.00]

07893204                              BTC[0], USD[0.00]

07893208                              BTC[.00036234], CUSDT[1], USD[7.02]                                                                                                                                                         Yes

07893224                              BAT[1.0165555], BRZ[1], BTC[.05699165], CUSDT[2], SOL[3.66510692], TRX[1], USD[0.05]                                                                                                        Yes

07893234                              NFT (312920909750477314/Geralt Polygon 3D Portre)[1], NFT (329227264177587824/Brad Pitt Polygon Golden Ratio Portre)[1], NFT (338811845414738987/Hannibal Lecter)[1], NFT
                                      (340895746568680406/Brad Pitt)[1], NFT (390979054216023227/Dr. Hannibal Lecter Polygon Portre)[1], NFT (401925204654667860/Ciri Polygon 3D Portre)[1], NFT (416093215461810227/Sam)[1],
                                      NFT (428304049681563323/Super Mario)[1], NFT (443215928868290540/Daft Punk)[1], NFT (459544299875252010/Stormtrooper)[1], NFT (497459953677397631/Margaery Tyrell Polygon Portre)[1],
                                      NFT (499950223713009933/Megalodon Rogue Shark Tooth)[1], NFT (500273724724835742/Dark Vader)[1], NFT (509411224569059717/Megalodon Rogue Shark Tooth)[1], NFT
                                      (512813935034412992/Heisenberg Polygon Portre)[1], NFT (515116079491122861/Princess Momonoke Polygon Portre)[1], NFT (528724013263203399/Star Wars Dark Vader Polygon Portre)[1], NFT
                                      (529419754510227333/Super Mario Polygon Portre)[1], NFT (539273522182427735/Princess Momonoke)[1], TRX[0], USD[0.00], USDT[0]

07893236                              ETH[0], USD[6.34]

07893239                              BTC[.00000025]                                                                                                                                                                              Yes

07893246                              BAT[20], BRZ[56], CUSDT[56], KSHIB[230], USD[49.82], USDT[.0140496]

07893248                              USD[0.00]

07893253                              BTC[.00000002], ETH[.00000141], ETHW[.00000141], SOL[.00001702], USD[0.01]                                                                                                                  Yes

07893254                              NFT (548155544349847593/2974 Floyd Norman - CLE 5-0070)[1], USD[1.00]

07893261                              NFT (344321934703251380/Entrance Voucher #6367)[1], USD[0.00]

07893262                              ETH[.00578116], ETHW[.00578116], USD[0.00]

07893276                              SOL[18.58], USD[0.06]

07893278                              DOGE[0], ETH[0], ETHW[0], USD[0.00]                                                                                                                                                         Yes

07893294                              SUSHI[4.5], USD[2.13]

07893298                              BCH[0], BTC[0], ETH[0], KSHIB[182.81076658], LTC[0], SUSHI[0], USD[0.00], USDT[0], YFI[0]                                                                                                   Yes

07893303                              DOGE[1], SOL[1.81496105], USD[0.00]

07893319                              BTC[0.08358520], USD[0.00]

07893321                              MATIC[41.00735668]                                                                                                                                                                          Yes

07893328                              USD[0.00]

07893330                              NFT (526979317442976539/Panda #0688)[1]

07893337       Contingent, Disputed   BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07893343                              BTC[.00005846], USD[0.00]

07893347                              USD[10.90]                                                                                                                                                                                  Yes

07893354                              USD[1.32]

07893373                              BTC[.0161], USD[1.06]

07893376                              BTC[.0004], SOL[0.00000206]
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07893379                              NFT (543474116771723655/Geckos Spaceship)[1]

07893390                              BTC[.00000007], DOGE[1], USD[0.00]                                                                                                                                                     Yes

07893391                              BTC[.0028979], DOGE[509.78725431], ETH[.02527724], ETHW[.0249626], GRT[21.09686634], LTC[.43037297], SHIB[410435.62778559], SOL[.11618457], SUSHI[1.98182346], USD[64.64]              Yes

07893392                              USD[1.00]

07893408                              BTC[.0000001], CUSDT[1], ETH[.00000885], ETHW[.9687453], TRX[1], USD[0.02]

07893417                              BTC[0], ETH[.00354132], ETHW[0.00351395], USD[32376.87]                                                                                                                                Yes

07893419                              BRZ[1], BTC[.00466679], CUSDT[4], DOGE[1], ETH[.11121113], ETHW[.11010855], LINK[3.65394874], MATIC[64.15168135], SOL[.48537697], TRX[1], USD[0.00]                                    Yes

07893423                              BTC[0], USD[0.01]

07893426                              BTC[0], NFT (376763818688734577/Toasty Turts #6014)[1], NFT (393142898654978279/Pirate #143)[1], NFT (549361413698647815/Bahrain Ticket Stub #552)[1], USD[0.10]

07893432                              CUSDT[1], ETH[.00800919], ETHW[.00791343], USD[0.00]                                                                                                                                   Yes

07893435                              BAT[1], BRZ[5], ETH[.00000027], ETHW[.00000027], SHIB[16], TRX[5], USD[0.00]                                                                                                           Yes

07893445                              DOGE[5942], MATIC[69.93], SOL[1.02], USD[179.43]

07893453                              MATIC[.9715], USD[0.00]

07893457                              BTC[.00016721], USD[0.00]

07893467                              SHIB[29673.59050445], USD[0.28]                                                                                                                                                        Yes

07893472                              NFT (315193340054217403/The Weird Apes #36)[1], NFT (357814217847105622/The Weird Apes #30)[1], NFT (440558029733073696/Cute Axolotls Collection #28)[1], NFT
                                      (489818026635042715/Aadam Ape 04)[1], NFT (528505559304801061/doll #6)[1], NFT (531685565161766801/The CaLabs #47)[1], NFT (554452792087008041/Travel sprouts collection #114)[1],
                                      USD[144.00]
07893476                              SOL[1.47], USD[0.65]

07893484                              USD[0.00]

07893490                              USD[0.00]

07893504                              USD[0.00]

07893509                              BTC[.00576953], CUSDT[13], DOGE[1], ETH[.03229588], ETHW[.03189916], TRX[1], USD[135.97]                                                                                               Yes

07893511                              BRZ[1], BTC[0.01506752], CUSDT[16], DOGE[5.00120566], ETH[0.07015741], ETHW[0.06928581], LINK[0.00002683], SHIB[3], SOL[0.00001828], TRX[5], USD[-124.98]                              Yes

07893520                              BRZ[1], DOGE[1], SHIB[1], TRX[2], USD[0.00], USDT[1.02543198]                                                                                                                          Yes

07893521                              BTC[.00000359], DOGE[1], GRT[1], TRX[1], USD[0.00], USDT[1.00734449]                                                                                                                   Yes

07893525                              BRZ[2], BTC[.00000029], CUSDT[1], SHIB[2], TRX[2], USD[0.01], USDT[0.00006101]                                                                                                         Yes

07893529                              NFT (289700855277867746/Lunarian #3071)[1]

07893535                              BRZ[1], CUSDT[1], USD[0.01]

07893537                              BTC[1.21542796], USD[4.18]

07893541                              NFT (372062108535524933/Humpty Dumpty #103)[1], NFT (438207456886784295/Microphone #422)[1], NFT (556479048317850269/Juliet #306)[1]

07893547                              NFT (295075166417334291/Entrance Voucher #3410)[1], NFT (300997931393142607/Spectra #127)[1], SOL[41.64], USD[2023.28], USDT[595]

07893554                              SHIB[1], USD[0.00]

07893571                              BTC[.0090179], ETH[.0622695], ETHW[.0622695], SOL[1.16995286]

07893572       Contingent, Disputed   SHIB[1], TRX[1], USD[0.01]                                                                                                                                                             Yes

07893573                              BRZ[1], CUSDT[1], DOGE[1], SHIB[1], TRX[3], USD[0.01]

07893574                              BTC[.02255617], CUSDT[4], DOGE[3], ETH[.10671993], ETHW[.10671993], TRX[2], USD[0.00]

07893583                              DOGE[323.37351373], SHIB[1665235.7142532], TRX[.00003642], USD[0.00]

07893593       Contingent, Disputed   USD[0.00]                                                                                                                                                                              Yes

07893597                              SHIB[2000000]

07893625                              BRZ[2], CUSDT[18], DOGE[874.13782152], NFT (374355803305162647/ApexDucks Halloween #998)[1], NFT (510181550980321011/ApexDucks Halloween #2353)[1], NFT                                Yes
                                      (530997122389259280/ApexDucks Halloween #131)[1], SHIB[6086523.25231181], SOL[.03996269], TRX[3], USD[0.00]
07893627                              CUSDT[2], NFT (476450137833668629/Solana Penguin #252)[1], SOL[0.01557070], SUSHI[0], TRX[0], USD[0.00]                                                                                Yes

07893629                              USD[1.06]

07893636                              AAVE[.61938], BTC[.0816342], DOGE[537.962], ETH[.562036], ETHW[.562036], GRT[1201.978], LINK[53.592], SHIB[399600], SOL[11.07022], SUSHI[2.997], TRX[120.879], UNI[80], USD[109.20],
                                      USDT[76.70175]
07893639                              BTC[.00239784], DOGE[.8011], GRT[72.9343], TRX[61.0316], USD[0.04]

07893640                              AAVE[0], BTC[0], ETH[0], MATIC[0], USD[0.00]

07893644                              SOL[.015]

07893665                              BF_POINT[300], LINK[.00067501], USD[0.01]                                                                                                                                              Yes

07893676                              USD[0.69]                                                                                                                                                                              Yes

07893685                              BF_POINT[300], BTC[.04497317], CUSDT[26], DOGE[8.18951661], SHIB[20], SOL[54.87160483], TRX[9], UNI[22.84585476], USD[0.00], USDT[0.00004063]                                          Yes

07893687                              USD[0.00], USDT[0.00000038]

07893696                              BTC[0], SOL[53.38325], USD[0.00]

07893702                              USD[0.74], USDT[0.00953800]

07893710                              NFT (492696319261482572/FTX - Off The Grid Miami #4744)[1], NFT (537706389151505508/Solana Spaces Tutorial NFT #3)[1]

07893711                              BAT[1.01280268], BRZ[1], BTC[0], CUSDT[4], ETH[0], SOL[0], SUSHI[0], TRX[1], USDT[1.08080639]                                                                                          Yes

07893723                              DOGE[1], USD[0.01]

07893725                              BTC[0], USD[0.00], USDT[0]

07893732                              BAT[0], BTC[0], ETH[0], ETHW[0], LTC[0], MATIC[0], SOL[0], USD[0.13]

07893736                              USD[0.60], USDT[0]
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                                                                                                                                         Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07893741                           CUSDT[1], USD[0.00]                                                                                                                                                                    Yes

07893742                           BTC[.00441626], SHIB[1], USD[0.00]

07893748                           LINK[50.28120468], SOL[10.77855275]                                                                                                                                                    Yes

07893750                           BTC[0], CUSDT[0], ETHW[.07558275], NFT (537047079203555771/Entrance Voucher #3333)[1], SHIB[1], SOL[.00000001], TRX[0], USD[0.00], USDT[0]                                             Yes

07893751                           LINK[.17127153], USD[5.00]

07893753                           BF_POINT[100], NFT (460578018443594186/Carmen #22)[1], SHIB[3136458.82989632], SOL[.00000001]                                                                                          Yes

07893763                           CUSDT[4], DAI[0], DOGE[1], GRT[29.15659126], KSHIB[0], USD[0.00]                                                                                                                       Yes

07893768                           BTC[.16752719], SOL[3.47215769], USD[0.00]

07893771                           BTC[0]

07893777                           DOGE[1], SHIB[6594268.45308032], UNI[21.81421898], USD[0.03], USDT[1.08285142]                                                                                                         Yes

07893785                           CUSDT[2], DOGE[1], SHIB[15815643.1800959], TRX[4933.82507123], USD[0.01]

07893792                           CUSDT[1383.02096347], DOGE[1], TRX[175.65250291], USD[0.00], USDT[0.00025735]                                                                                                          Yes

07893816                           CUSDT[1], TRX[2], USD[0.00]

07893820                           BTC[.00045293], CUSDT[1], DOGE[1], ETH[.00786434], ETHW[.00776851], SOL[.07440734], USD[152.73]                                                                                        Yes

07893826                           USD[14.72], USDT[0.00000131]

07893840                           CUSDT[5], TRX[1], USD[0.01]                                                                                                                                                            Yes

07893844                           USD[0.00]

07893849                           CUSDT[7], NFT (331367870460607728/Japan Ticket Stub #44)[1], NFT (403704033448219553/Austin Ticket Stub #186)[1], NFT (471405643311327171/Mexico Ticket Stub #2059)[1], NFT            Yes
                                   (475741752876544001/Singapore Ticket Stub #82)[1], SHIB[248437.97339539], SOL[1.0178301], USD[15.86]
07893851                           BTC[.00675004], CUSDT[1], USD[0.00]                                                                                                                                                    Yes

07893852                           BTC[0], ETH[0], ETHW[0], USD[0.00], USDT[0.00487167]

07893858                           BTC[.0024975], NFT (321721432365369557/CryptoAvatar #155)[1], NFT (331119540346323634/CryptoAvatar #147)[1], NFT (350913475250539875/CryptoAvatar #148)[1], NFT
                                   (368905038105314947/3D SOLDIER #4713)[1], NFT (395649016234067480/Royal Series)[1], NFT (405886529529718055/CryptoAvatar #167)[1], NFT (413899362398125230/Entrance Voucher
                                   #2231)[1], NFT (458385886456068535/CryptoAvatar #50)[1], NFT (513391228206375627/CryptoAvatar #42)[1], NFT (527652876330628827/CryptoAvatar #153)[1], NFT
                                   (561338688963100287/CryptoAvatar #41)[1], USD[1.95]
07893864                           BRZ[59.35206378], BTC[.00090591], CUSDT[1250.36899139], ETH[.00408057], ETHW[.00402585], USD[0.00]                                                                                     Yes

07893871                           SOL[0], USD[0.00]

07893874                           ETH[.00000001], NFT (288733967893249940/The 2974 Collection #2896)[1], NFT (310000957618512414/Birthday Cake #2896)[1], SOL[11.41481049], USD[193.99]

07893878                           ETH[0], NFT (455360971802587123/Sun Set #164)[1], NFT (524662538120376820/Night Light #39)[1], SOL[.60600444], TRX[1], USD[0.00]

07893879                           USD[21.37]                                                                                                                                                                             Yes

07893890                           BTC[0], MATIC[0], NFT (349732127971812768/The Hill by FTX #4646)[1], NFT (532559091416419208/Entrance Voucher #43)[1], SOL[0], USD[0.00], USDT[0.00000005]

07893914                           USD[0.00], USDT[0.00038226]

07893916                           NFT (391435320546969259/Solninjas #8339)[1], SOL[.38]

07893921                           GRT[45], NFT (337510634952707848/Shannon Sharpe's Playbook: Baltimore Ravens vs. Oakland Raiders - January 14, 2001 #19)[1], NFT (339908475649798921/Joe Theismann's Playbook: Notre
                                   Dame vs. USC - November 30, 1968 #36)[1], NFT (416038785284705845/Doak Walker's Playbook: Cleveland Brown vs. Detroit Lions - December 27, 1953 #81)[1], USD[0.86], USDT[0]
07893941                           NFT (370145549839594587/Entrance Voucher #2516)[1]

07893953                           ETH[.00000008], ETHW[.00000008], GRT[.00018571], SHIB[1.87245061], SOL[.00000071], UNI[.00001105], USD[0.01]                                                                           Yes

07893954                           USD[0.14]

07893963                           SOL[.00000001], USD[9.24]                                                                                                                                                              Yes

07893973                           ETH[0], ETHW[0], USD[0.00], USDT[0]

07893977                           USDT[1.971618]

07893979                           BAT[1.39952255], BCH[.00162546], BTC[.00017609], CUSDT[4], DOGE[2], PAXG[.01218652], SHIB[3918725.95499499], USD[0.00], YFI[.00008505]                                                 Yes

07893981                           DOGE[1], SHIB[17495478.13459929], USD[0.00]                                                                                                                                            Yes

07893982                           SOL[1.06813202], USD[0.00]

07893993                           NFT (297276176348259586/FTX - Off The Grid Miami #569)[1], NFT (494173032379728725/Entrance Voucher #25190)[1]

07893997                           BTC[0], SOL[.0065]

07894002                           USD[545.33]                                                                                                                                                                            Yes

07894022                           USD[1.07]

07894033                           ETH[.00346035], ETHW[.00341931], USD[0.00]                                                                                                                                             Yes

07894047                           BTC[0], SOL[0], USD[0.15], USDT[0]                                                                                                                                                     Yes

07894059                           ETH[0], SOL[0]

07894073                           USD[0.01]                                                                                                                                                                              Yes

07894076                           USD[0.10]

07894079                           BTC[.68188417], ETH[1.9922453], ETHW[1.9922453], SOL[34.6077905], USD[32.71]

07894089                           USD[1.95]

07894092                           BTC[.09332441], ETH[10.45864001], ETHW[10.45493622], LTC[.04812487], USD[0.12]                                                                                                         Yes

07894095                           ETH[.00000001], ETHW[0], SOL[0], USD[0.08], USDT[0.00000002]

07894102                           BTC[.00101942], CUSDT[1], USD[0.08]                                                                                                                                                    Yes

07894106                           AAVE[.00010812], ALGO[.0205759], AVAX[.34341417], BAT[.02320661], BTC[.00926837], DOGE[143.8134757], ETH[.17468538], ETHW[.17445777], GRT[248.26534955], KSHIB[995.99158658],          Yes
                                   LINK[.00126211], LTC[.00013951], MATIC[37.74553445], SHIB[16882124.33551522], SOL[32.12142121], SUSHI[8.6045084], TRX[7], USD[32626.16]
07894119                           NFT (536759149372465562/The Hill by FTX #4135)[1]

07894132                           ETH[0], SOL[0], USD[0.00]
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07894134                              NFT (364877349458625522/Saudi Arabia Ticket Stub #1388)[1], USDT[0.00000047]

07894145                              BTC[.0000999], USD[1.35]

07894149                              USD[0.00]

07894152                              ETH[.00000029], ETHW[.00000029]                                                                                                                                                        Yes

07894163                              ETH[.06687666], ETHW[.06687666], LTC[1.0064165], USD[0.00]

07894168                              USD[200.00]

07894179                              USD[20.90]

07894188                              AAVE[0.00000869], CUSDT[38.81951044], DOGE[0], ETH[0], KSHIB[0], LTC[0], SHIB[0], USD[0.85], USDT[0]                                                                                   Yes

07894190                              USD[0.00]                                                                                                                                                                              Yes

07894212                              SOL[.3756]

07894226                              CUSDT[4], DOGE[87.19179767], KSHIB[152.68860274], LTC[.0811659], SHIB[237994.80694389], USD[85.77]                                                                                     Yes

07894227                              BRZ[1], CUSDT[2], DOGE[208.3776421], SHIB[93786.13635132], USD[0.00], USDT[0]                                                                                                          Yes

07894228                              BAT[346.94120771], BRZ[59.90611325], CUSDT[4], DOGE[1], EUR[83.67], GRT[114.39155843], SHIB[4], SUSHI[87.12528968], TRX[1], UNI[24.07352867], USD[146.20], USDT[0.14779779]            Yes

07894239                              USD[0.17]                                                                                                                                                                              Yes

07894242                              DOGE[17833.67302], LINK[81.78986362], MATIC[1035.3713749], USDT[358.201742]

07894247                              USD[0.00]                                                                                                                                                                              Yes

07894248                              ETH[0], LTC[.00184], NEAR[0.05552670], SOL[1.16883000], USD[0.28], USDT[.777351]

07894252                              BF_POINT[200], SHIB[7], USD[0.00], USDT[0]                                                                                                                                             Yes

07894268                              BTC[0], USD[0.00], USDT[0.00058687]

07894275                              NFT (294294195170766532/Night Light #204)[1], NFT (377620635728188535/Bahrain Ticket Stub #781)[1], NFT (407584270297977097/Ferris From Afar #464)[1], NFT (493679821899969907/Night
                                      Light #859)[1], NFT (545133609476568592/Little Rocks #1573)[1], NFT (567789472301262143/Cosmic Creations #962)[1]
07894286                              USD[1.21]

07894288                              SOL[3.66089130], USD[0.00]

07894295                              CUSDT[1], MATIC[0]                                                                                                                                                                     Yes

07894304                              CUSDT[1], ETHW[2.64874997], USD[0.00]                                                                                                                                                  Yes

07894330                              SOL[0.04389008], USDT[0.00037420]

07894343                              CUSDT[1], TRX[506.26788517], USD[5.47]                                                                                                                                                 Yes

07894347                              NFT (513454907920140969/Cool Bean #1313)[1]

07894359                              DOGE[2], MKR[.00000036], SHIB[21], TRX[1], USD[0.21]

07894366                              ALGO[5159.10239765], BF_POINT[300], MATIC[4126.92658847], USD[2639.61], USDT[0]                                                                                                        Yes

07894376                              USD[0.00]

07894378                              SOL[.01391684], USD[0.00]

07894387                              CUSDT[2], DOGE[967.00857673], SHIB[1796622.34998203], TRX[10174.207514], USD[0.01]

07894397                              NFT (306809382257014843/Abernathy#2)[1], NFT (345048459454076705/Abernathy#9)[1], NFT (391738737814567140/Abernathy#8)[1], NFT (440960698223545678/Abernathy#1)[1], NFT
                                      (467343219229673817/Abernathy#4)[1], NFT (475634079816237038/Abernathy#6)[1], NFT (480995859561191498/Symphony#4 #2)[1], NFT (522850295994235025/Abernathy#5)[1], NFT
                                      (571060537887883729/Abernathy#7)[1], SOL[.00500236], USD[0.00]
07894402                              CUSDT[5], LINK[4.13629711], MATIC[31.69743319], SHIB[2437285.37806024], SOL[2.18670942], SUSHI[10.25475045], TRX[1], USD[0.02]                                                         Yes

07894403                              SOL[.998], USD[6.00]

07894410                              TRX[.647842], USD[0.01], USDT[.005136]

07894412                              DOGE[1], ETH[0], NFT (398697052558896779/Degenerate Trash Can)[1], NFT (509724375146472211/Degenerate Trash Can)[1], SHIB[1], TRX[1], USD[0.70]                                        Yes

07894415                              BTC[.00015159], CUSDT[2], USD[0.00]                                                                                                                                                    Yes

07894432                              USD[0.01]

07894438       Contingent, Disputed   AAVE[2.06967691]                                                                                                                                                                       Yes

07894451                              USD[0.15], USDT[0]

07894459                              NFT (291005432697348450/1446)[1], NFT (304694011771707091/954)[1], NFT (347336383601501848/2259)[1], NFT (385114404333319470/1765)[1], NFT (412828638076455219/1273)[1], NFT
                                      (413767322529201411/1809)[1], NFT (445729265895937776/3003)[1], NFT (467295039888470852/2273)[1], NFT (478035571153666211/1735)[1], NFT (505182867258251357/1486)[1], NFT
                                      (542000193979396128/1889)[1], NFT (565710441346279726/3021)[1], SOL[.3264]
07894468                              USD[0.22], USDT[0]

07894469                              NFT (316215515939979186/Night Light #876)[1], NFT (364703664806928863/Colossal Cacti #707)[1], NFT (376848245276973964/Juliet #159)[1], NFT (444444116997682548/Beasts #495)[1], NFT
                                      (447867886346361213/Beasts #915)[1], NFT (452843685462610214/Cosmic Creations #184)[1], NFT (517893899148670086/Beasts #609)[1], NFT (541650700407484931/Spectra #51)[1], NFT
                                      (563084787159045961/Cosmic Creations #551)[1], NFT (565241480186737532/Romeo #865)[1], NFT (569325521435964476/Spectra #914)[1]
07894479       Contingent, Disputed   BTC[0], ETH[0], SOL[0], USD[0.00], USDT[.1884867]

07894484                              SOL[.01]

07894485                              NFT (564818730380181306/4104)[1]

07894492                              NFT (313762689058018536/SBF Hair & Signature #7 #24)[1], NFT (452580213125256332/Solninjas #6638)[1], SOL[.25650336]

07894510                              NFT (342240223564391831/Basic Spider Bonesta)[1], NFT (432686545059149216/SBF Hair & Signature #2 #104)[1]

07894524                              NFT (310143687816597747/Australia Ticket Stub #2431)[1], NFT (317542129552819773/GSW Western Conference Finals Commemorative Banner #1857)[1], NFT (369789799425604254/GSW
                                      Western Conference Semifinals Commemorative Ticket #1011)[1], NFT (390824314419487410/GSW Western Conference Finals Commemorative Banner #1858)[1], NFT (400126905078501640/2974
                                      Floyd Norman - CLE 6-0024)[1], NFT (447576515116842535/Warriors Hoop #506 (Redeemed))[1], NFT (544496815246235355/GSW Championship Commemorative Ring)[1], NFT
                                      (562792086798278498/Spectra #773)[1], USD[0.00]
07894535                              NFT (554306536819011718/NFT)[1]

07894537                              SOL[0.03309382], TRX[.00003771], USD[0.00]

07894543                              TRX[.000001], USDT[52.51354261]

07894546       Contingent, Disputed   SOL[.00000001]
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                                                                                                                                            Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07894548                              USD[0.00]

07894550                              DOGE[36.42901131], USD[11.36]

07894567                              USD[109.06]                                                                                                                                                                                Yes

07894572                              USD[0.01]                                                                                                                                                                                  Yes

07894573                              NFT (447396500081971203/FTX - Off The Grid Miami #2627)[1]

07894591                              SOL[.1]

07894602                              NFT (558931405477872584/Solana Punky Business #2436)[1]

07894617                              NFT (425570378570521045/Saudi Arabia Ticket Stub #1458)[1], USD[0.00], USDT[0]

07894618                              CUSDT[2], DOGE[1], SOL[1.09890874], UNI[5.74510689], USD[0.07], USDT[109.53168983]                                                                                                         Yes

07894621                              NFT (421402080399162271/Gloom Punk #8414)[1], USD[0.00]

07894625                              DOGE[0], ETH[0], SHIB[1], SOL[0], TRX[1], USDT[0.00000025]

07894627                              CUSDT[2], LTC[1.09435397], SHIB[2054859.13714283], TRX[1589.63148987], USD[4.44]                                                                                                           Yes

07894633                              DOGE[1], MATIC[35.54790792], NFT (533235329647185446/FTX - Off The Grid Miami #2209)[1], USD[0.00]                                                                                         Yes

07894654                              NFT (303408889725699873/SolBear #9110)[1], NFT (303900228909272283/SolBears)[1], NFT (314401315437151704/SolBear #8037)[1], NFT (354896255941678937/SolBear #8043)[1], NFT
                                      (358567225799973476/Bears Reloaded Alert)[1], NFT (474831909400644600/SolBear #8041)[1], NFT (496029557091624595/Futuristic and abstract)[1], NFT (527380303425341553/SolBear #8035)[1],
                                      NFT (569943957201237582/SolCat #5012)[1], SOL[.094]
07894664                              ETH[0], ETHW[.00057468], USD[0.00]

07894666                              SHIB[60000], USD[910.87], USDT[.5]

07894669                              AAVE[.49574985], USD[0.00]

07894675                              AVAX[0], ETH[0.00000004], NFT (312063372078860364/Kitty Key)[1], NFT (313668732644369863/Kitty Key)[1], NFT (323703172105188742/Humpty Dumpty #397)[1], NFT                                Yes
                                      (325638904294074080/N9Cheshire)[1], NFT (331861995030685522/N9Cheshire)[1], NFT (364527835942289636/Helios 3D)[1], NFT (380466216774804301/Helios 3D)[1], NFT
                                      (412224649012596818/Kitty Key)[1], NFT (432013254708845524/Unika Nightmare)[1], NFT (467954572786144420/Unika Nightmare)[1], NFT (494256539808429906/Helios 3D)[1], NFT
                                      (530548895423850894/FTX - Off The Grid Miami #319)[1], NFT (555990261045047753/Unika Nightmare)[1], SOL[0], USD[0.00]
07894682                              BRZ[1], BTC[0], CUSDT[9], DOGE[4], ETHW[0.02301979], SHIB[6], SOL[.00000001], TRX[8], USD[57.24]                                                                                           Yes

07894685                              DAI[.99413618], USD[1.09]                                                                                                                                                                  Yes

07894697                              USD[2.37]

07894698                              BRZ[1], CUSDT[4], TRX[1], USD[0.00]                                                                                                                                                        Yes

07894721       Contingent, Disputed   USD[0.00]

07894738                              USD[0.00]

07894740                              BF_POINT[600], USD[0.86]

07894755                              ALGO[0], BTC[0], DOGE[884.71063655], SHIB[1], SOL[0], USD[0.00]                                                                                                                            Yes

07894756                              CUSDT[1], USD[14.48]                                                                                                                                                                       Yes

07894767                              USD[0.01]                                                                                                                                                                                  Yes

07894772                              USD[0.00]

07894773                              DOGE[73.08762279], USD[1.81]                                                                                                                                                               Yes

07894774                              NFT (291329109558638757/Cyber Frogs Ramen)[1], NFT (297825290447025589/Boneworld #1149)[1], NFT (324050591862898651/7556)[1], NFT (349609603863172776/4119)[1], NFT
                                      (376631787802255470/Basic Spider Bone-fil-A)[1], NFT (433676278953619681/Cool Bean #3246)[1], NFT (434253922543633741/4502)[1], NFT (440907488163901286/Gloom Punk #2950)[1], NFT
                                      (447404013445082387/4062)[1], NFT (476929854213342783/Golden bone pass)[1], NFT (502661009126699334/Gloom Punk #5797)[1], SOL[0.36376296]
07894778                              DOGE[7.992], NFT (330675791797016440/HIGH GLOSS)[1], NFT (368031424895323483/static)[1], NFT (458964741999840198/Only Go Up)[1], USD[4.98]

07894788                              USD[13.38]

07894790                              SOL[.02]

07894791                              BTC[.01336934], CUSDT[2], DOGE[.00001594], SHIB[2], TRX[1], USD[4.15]                                                                                                                      Yes

07894793                              NFT (334598751427100562/Space Bums #3928)[1], NFT (418111941164016130/Space Bums #5513)[1], NFT (441951024392300676/SolFractal #3656)[1], NFT (467962745660638285/SolFractal
                                      #1987)[1]
07894796                              AVAX[.09384], ETHW[.0004168], USD[0.00]

07894801                              BTC[0]

07894804                              BTC[0], LTC[0]

07894811                              BTC[0], SOL[0], USD[0.00], USDT[0.01456467]

07894816                              USD[0.01]

07894828                              ETH[.229], USD[0.11]

07894840                              NFT (312645756867944680/Shakudo Booster)[1], NFT (362850972055331773/SolFractal #6133)[1], NFT (466824840907080082/The Suites Upgrade Key)[1], NFT (487673584871220909/The Suites
                                      Upgrade Key)[1], NFT (545522261859897849/2974 Floyd Norman - CLE 6-0011)[1]
07894857                              BTC[0.00065019], ETH[0], LINK[0], LTC[0], MATIC[0], NFT (531507041677687015/Saudi Arabia Ticket Stub #1661)[1], SHIB[0], SOL[9.70726706], SUSHI[0], TRX[1], UNI[0], USD[0.00], YFI[0]      Yes

07894859                              USD[0.11]

07894862                              BTC[.001], ETH[.00048531], ETHW[.00048531], USD[0.71]

07894865                              SOL[0], USD[0.00]

07894868                              USDT[49.09736]

07894874                              USD[26.65], USDT[0]

07894898                              ETH[0], USD[150.50]

07894909                              BF_POINT[100], ETH[.00003398]                                                                                                                                                              Yes

07894923                              NFT (361077489453017266/APEFUEL by Almond Breeze #22)[1], SOL[1], USD[0.00], USDT[0.00000117]

07894936                              BTC[.00007393], ETH[.00083687], ETHW[.00083687], LTC[3.62890488], SOL[65.12], USD[0.82]

07894944                              USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07894945                              BTC[0], DOGE[.023], USD[0.00], USDT[0]

07894974                              BRZ[1], DOGE[20.45715665], GRT[11.72571117], TRX[1], USD[0.05], USDT[0.00672354]

07894978                              BTC[.00000037], ETH[.00003396], ETHW[.00003396]                                                                                                                                         Yes

07894981                              NFT (482963870855269289/Entrance Voucher #4980)[1], NFT (493285113477848252/Imola Ticket Stub #1000)[1], USD[253.80]

07894993                              NFT (326012779220889688/Basic Spider Taco Bone)[1], NFT (558599644688120639/SBF Hair & Signature #2 #107)[1]

07894999                              SHIB[3], USD[0.00]                                                                                                                                                                      Yes

07895001                              BCH[.00018653], BTC[0.04165782], ETH[.99996355], ETHW[.00091355], LINK[.99905], SOL[11.180234], USD[1.99], USDT[62.55]

07895003                              USD[0.00]

07895012                              BTC[.06747821]

07895021                              TRX[.000003], USD[0.00], USDT[0.00000028]

07895030                              DOGE[0], LTC[0], SOL[0], USD[0.00], USDT[0.00000203]

07895048                              SOL[10.83298696], TRX[.420483], USD[0.00]

07895063                              NFT (348436326683778707/Barcelona Ticket Stub #839)[1]

07895070                              BTC[.00000024], DOGE[0], ETH[0.00000087], ETHW[0.09425961], SOL[0.00000424], USD[598.66], USDT[0.00000001]                                                                              Yes

07895076                              ETH[.00567331], USD[0.00], USDT[0]                                                                                                                                                      Yes

07895078                              NFT (454345809627120399/2974 Floyd Norman - CLE 6-0151)[1], USD[0.10]

07895094                              ETHW[.33009762]                                                                                                                                                                         Yes

07895113                              SOL[4.25858243]

07895120                              BTC[.00288865], CUSDT[2], DAI[54.1600124], DOGE[1], ETH[.01547736], ETHW[.01528584], SOL[1.91297006], SUSHI[9.41554115], TRX[2], USD[0.00]                                              Yes

07895124                              ETHW[.14978835], NFT (296300821583929698/The Hill by FTX #6762)[1], USD[0.59]                                                                                                           Yes

07895155                              NEAR[10.29273889], SHIB[1], USD[0.33]                                                                                                                                                   Yes

07895169                              SHIB[169262.01760324], USD[0.00]

07895176                              USD[0.00]

07895185                              USD[2.00]

07895186                              USD[0.00], USDT[0.00000001]

07895192                              BCH[.004089], BTC[0.10959397], DOGE[1.162], ETH[1.56253491], ETHW[1.56253491], LINK[63.3277], MATIC[20.875], SOL[.07347], SUSHI[1.3695], UNI[.358], USD[0.00]

07895197                              BTC[.00015721], TRX[1], USD[1.09]                                                                                                                                                       Yes

07895199                              BTC[.00023116], CUSDT[6], DOGE[102.53777436], ETH[0], TRX[1], USD[0.03]

07895208                              SOL[.21], USD[1.97]

07895219                              NFT (536812429775534217/Gem Hero #736)[1], NFT (575163459347470476/CryptoRock #528)[1]

07895221                              USD[0.01]

07895229                              BF_POINT[200], DOGE[0], MATIC[0], USD[0.00], USDT[0]                                                                                                                                    Yes

07895240                              SOL[3.02], USD[2.23]

07895241                              BF_POINT[200], BRZ[2], DOGE[3], TRX[2], USD[0.00]

07895242                              USD[0.20], USDT[0.00000001]

07895247                              AUD[0.78], BTC[0], CUSDT[1.169055], DOGE[0], KSHIB[1.36799371], SHIB[500], SOL[0], TRX[1.0001], UNI[0.00713734], USD[0.00], USDT[0]

07895250                              DOGE[0], SHIB[61437.81727692], USD[0.00]

07895252                              BRZ[1], BTC[.01881854], CUSDT[2], TRX[2], USD[2.80]                                                                                                                                     Yes

07895253                              BF_POINT[100], DOGE[1], USD[0.00], USDT[5.21974644]                                                                                                                                     Yes

07895255                              SOL[0.00000001], USD[0.00], USDT[0]                                                                                                                                                     Yes

07895257                              CUSDT[1], DOGE[1], SHIB[3], USD[0.00]                                                                                                                                                   Yes

07895258                              NFT (535501377107213423/Imola Ticket Stub #1838)[1], SOL[1]

07895267                              BTC[.0000163], CUSDT[4], USD[0.00]                                                                                                                                                      Yes

07895271                              BTC[.0001854], CUSDT[42], DOGE[2], ETH[.00302577], ETHW[.0029847], GRT[68.6207015], LINK[2.29690046], SHIB[1535670.89681457], SOL[1.10567215], SUSHI[15.20169902],                      Yes
                                      TRX[281.05258455], UNI[4.43489936], USD[0.00], USDT[11.89839011]
07895274                              BTC[0], ETH[0.00444617], ETHW[0.00444617], MATIC[13.42005363], SOL[0]

07895277                              AAVE[.04], GRT[169.943], LINK[13.4436], LTC[1.38583], MATIC[212.96], SHIB[6680844.16158044], SOL[2.11367], SUSHI[21.445], UNI[6.5926], USD[0.64]

07895290       Contingent, Disputed   BTC[.0000933], ETH[.000943], ETHW[.000943], USD[487.10]

07895301                              TRX[.000017], USD[0.00], USDT[.23467337]

07895302                              USD[0.98]

07895305                              USD[3.50], USDT[0]                                                                                                                                                                      Yes

07895312                              BTC[.0017], ETH[.000999], ETHW[.000999], USD[2.01]

07895318                              USD[0.00]

07895326                              BTC[0], USD[1.49]

07895327                              ETH[.02779587], ETHW[.02779587], SOL[0.00000005]

07895340                              CUSDT[499.39897642], TRX[100.48370258], USD[1.09]                                                                                                                                       Yes

07895353                              NFT (311685594015312908/JungleCats - Lioness Box)[1], NFT (416524879396582491/JungleCats #0053)[1], NFT (445528579933006185/Glitched JungleCats #0053)[1], NFT (469898115336580765/3D
                                      Squid Game Torso)[1], NFT (572633315949552569/3D SOLDIER #1494)[1]
07895354                              BTC[.0000044], ETH[.00039423], ETHW[.00039423], USD[0.00]

07895364                              BCH[.1486845], BRZ[3], CUSDT[527.50400212], DOGE[.01322135], ETHW[.39271311], KSHIB[149.30703618], SHIB[29.83022607], SOL[1.04035087], TRX[119.26938922], USD[299.59]                   Yes
West Realm Shires Services Inc.                                                    Case 22-11068-JTD      Doc F-3:
                                                                                               Amended Schedule 1754      Filed
                                                                                                                   Nonpriority     06/27/23
                                                                                                                               Unsecured           Page 391 of 1384
                                                                                                                                         Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07895371                           ETH[.000316], ETHW[.000316], SOL[.00354332]

07895372                           CUSDT[2], NFT (295511965258788173/Shelly 6)[1], NFT (297337103838191991/Caelum Series #30)[1], NFT (298659819489576541/LogantoFluffyPeople #7)[1], NFT
                                   (400692924435940639/Waiting)[1], NFT (439545499619897858/Caelum Series #21)[1], NFT (448498131192219123/LogantoFluffyPeople #5)[1], NFT (482530278475078379/Joe Theismann's Playbook:
                                   Washington vs. Miami Dolphins - January 30, 1983 #45)[1], NFT (500135297751703583/Cool guy)[1], NFT (510261436858115402/Penguins #1)[1], NFT (510298276058456037/BB Orange #5)[1], NFT
                                   (526511374366278192/Caelum Series #45)[1], SHIB[292825.76866764], SOL[.06028944], USD[50.52]
07895373                           BRZ[1], BTC[.00000001], DOGE[3], ETH[.07512231], ETHW[.00000524], SHIB[5], SOL[.00000799], TRX[2], USD[49.85]                                                                          Yes

07895374                           SOL[.15]

07895377                           USD[0.00]

07895402                           ETHW[.000969], USD[0.01]

07895427                           NFT (453974267650082301/Entrance Voucher #2945)[1], USD[0.01]

07895428                           GRT[2.60404498], TRX[9.96012434], USD[0.00]                                                                                                                                               Yes

07895433                           BRZ[2], CUSDT[3], DOGE[3], ETH[0.00000248], ETHW[0.00000248], SHIB[6], SOL[0], TRX[4], USD[0.00]                                                                                          Yes

07895446                           AVAX[.03096], BTC[0], ETH[0.00075811], ETHW[0.00144660], LINK[.06224], MATIC[.4458], SOL[1.32944718], SUSHI[.2516], TRX[0.00016000], USD[0.00], USDT[0.00000001]

07895454                           USD[0.19], USDT[0.00000092]

07895466                           BTC[.01770501], DOGE[1], TRX[1], USD[0.07]                                                                                                                                                Yes

07895469                           TRX[.000001]

07895470                           NFT (291298803230089512/Zape Space #15)[1], NFT (292388351368368047/Untitled (Blessed) #13)[1], NFT (294802515009495713/Zape Space #13)[1], NFT (299654648293606655/FTX Robo)[1],
                                   NFT (305536104030229905/Claw Leaders #2)[1], NFT (309183785327741748/Untitled (Blessed) #10)[1], NFT (320247049488432147/Zape Space #14)[1], NFT (325178483737158155/Soldier)[1], NFT
                                   (337469828963104528/Zape Space #4)[1], NFT (344326628721945512/Zape Space #17)[1], NFT (346683740014819673/Claw Leaders #4)[1], NFT (347951716998931335/Claw Leaders #3)[1], NFT
                                   (374268476525106041/Zape Space #22)[1], NFT (380433602860302144/Untitled (Blessed) #5)[1], NFT (386014245293342789/Untitled (Blessed) #6)[1], NFT (386955802405557962/Lazy Ape)[1], NFT
                                   (398944543211314977/Zape Space #11)[1], NFT (403212286078410449/Untitled (Blessed) #9)[1], NFT (404717026620897435/Zape Space #9)[1], NFT (417016271706633226/Zape Space #8)[1], NFT
                                   (420110276297369038/Untitled (Blessed) #7)[1], NFT (430907025105204025/Bulldog Lisa)[1], NFT (444520199944381002/Untitled (Blessed) #15)[1], NFT (454077017923979980/Zape Space #6)[1],
                                   NFT (456306421707577269/Zape Space #12)[1], NFT (465874454869180777/Zape Space #20)[1], NFT (466577494243082570/Untitled (Blessed) #14)[1], NFT (467877592438752841/Zape Space
                                   #2)[1], NFT (468001565611372474/Poseide Monke’)[1], NFT (474510647209171135/Zape Space #10)[1], NFT (496714992841080126/Zape Space #16)[1], NFT (515670690299724924/Zape Space
                                   #18)[1], NFT (517389655030135451/Zape Space #5)[1], NFT (525045606292212976/Zombie President)[1], NFT (533578482498063229/Zape Space #19)[1], NFT (558107940025700851/Zape Space
                                   #7)[1], NFT (569219318550753686/Zape Space #21)[1], NFT (570903324621730334/Zape Space #3)[1], USD[0.00], USDT[0]

07895476                           SOL[.00756923], USD[0.00], USDT[.00654549]

07895481                           NFT (291039192512683611/Ape Punks #39)[1], NFT (298535293295270433/Ape Punks #23)[1], NFT (310191434144013977/Ape Punks #31)[1], NFT (310327404415895839/FTX Crypto Avatar)[1], NFT
                                   (313743528865058892/Crypto Ape)[1], NFT (314780014824672343/Ape Punks #29)[1], NFT (328073896697855448/Ape Punks #22)[1], NFT (328993717895546611/Ape Punks #3)[1], NFT
                                   (331691940671811022/Ape Punks #46)[1], NFT (332429783608413112/FTX Punks #8)[1], NFT (336687846114564846/Gentleman Monkey #2)[1], NFT (337178430949907713/FTX Bulldog)[1], NFT
                                   (349448082514453874/Ape Punks #43)[1], NFT (349765328297191164/FTX Cars - Bugatti Veyron)[1], NFT (356311914390645890/FTX Punks #6)[1], NFT (358477910535529489/FTX Bulldog #5)[1],
                                   NFT (364205018716471102/Ape Punks #27)[1], NFT (366378078444616993/Ape Punks #36)[1], NFT (366760000609560681/FTX Bulldog #3)[1], NFT (368637207390701565/Crazy Goat #5)[1], NFT
                                   (376113295687408217/Ape Punks #34)[1], NFT (376725459065987437/Ape Punks #28)[1], NFT (376873617527523801/FTX Vox Avatar #8)[1], NFT (385312945041086990/Ape Punks #48)[1], NFT
                                   (392108740518013789/FTX Vox Avatar #4)[1], NFT (392125653888234691/Ape Punks #10)[1], NFT (397935250166381016/FTX Vox Avatar #6)[1], NFT (398178715440326611/Ape Punks #50)[1], NFT
                                   (404242283372592180/Ape Punks #18)[1], NFT (405873101162813670/Crypto Ape #184)[1], NFT (417350187529113820/CryptoManchos #11)[1], NFT (420171017051978182/Ape Punks #4)[1], NFT
                                   (423629538672331475/Ape Punks #38)[1], NFT (427162577879989527/Ape Punks #40)[1], NFT (427255361790514000/Crypto Ape #5)[1], NFT (428208762944128565/Ape Punks #20)[1], NFT
                                   (428562155647160181/FTX Vox Avatar)[1], NFT (428900053805665334/Ape Punks #32)[1], NFT (431718550726556750/FTX Bulldog #4)[1], NFT (433331406467692765/Ape Punks #33)[1], NFT
                                   (435343296853689618/FTX Crypto Avatar #2)[1], NFT (445484904775370346/FTX Punks #10)[1], NFT (445853355215127292/Ape Punks #45)[1], NFT (451913904247981075/Ape Punks #8)[1], NFT
                                   (454339680206645181/Crypto Ape #2)[1], NFT (454496552582227965/Ape Punks #13)[1], NFT (457360416069148018/Crypto Ape #4)[1], NFT (458719974572966845/Gentleman Monkey #9)[1], NFT
                                   (459779227385389969/Ape Punks #24)[1], NFT (462325680993147778/Ape Punks #5)[1], NFT (466365208834286361/FTX Vox Avatar #3)[1], NFT (469459383029397631/Ape Punks #14)[1], NFT
                                   (469851538703370766/FTX Vox Avatar #2)[1], NFT (471300356932690763/FTX Punks #5)[1], NFT (475802233244051235/FTX Vox Avatar #5)[1], NFT (476665889261656839/Addicted to Crypto -
                                   Ethereum #8)[1], NFT (480832473671797615/FTX Punks #7)[1], NFT (481112300644358735/FTX Punks #3)[1], NFT (483335268275683729/Ape Punks #12)[1], NFT
                                   (486477659050671906/CryptoManchos #12)[1], NFT (488806630149958283/FTX Punks #2)[1], NFT (498569462687997910/Ape Punks #26)[1], NFT (499501654666705965/Ape Punks #35)[1], NFT
                                   (499529205416228330/Ape Punks #42)[1], NFT (499634492742964808/Ape Punks #41)[1], NFT (500522656045058670/Ape Punks #7)[1], NFT (503028442398491101/Ape Punks #17)[1], NFT
                                   (519130478782947305/FTX Punks)[1], NFT (524429500521080714/FTX Bulldog #2)[1], NFT (526922674715406999/Ape Punks #47)[1], NFT (527775786381020212/Ape Punks #16)[1], NFT
                                   (528441170193287351/FTX Vox Avatar #7)[1], NFT (528747484046307295/Ape Punks #44)[1], NFT (531894659684083723/Gentleman Monkey #12)[1], NFT (532113528165600641/Ape Punks #15)[1],
                                   NFT (535214845950620889/Ape Punks #6)[1], NFT (540627682393513578/Ape Punks #11)[1], NFT (542397935547126620/FTX Vox Avatar #9)[1], NFT (545647002507747780/Ape Punks #49)[1], NFT
                                   (545778295628168365/CryptoManchos #13)[1], NFT (554372355462294351/Crypto Ape #3)[1], NFT (558793136902799130/Ape Punks #9)[1], NFT (560283023020722877/Ape Punks #21)[1], NFT
                                   (562753490306583120/Ape Punks #37)[1], NFT (565185522080864047/Ape Punks #25)[1], NFT (571977100098279133/Ape Punks #19)[1], NFT (572013117142342197/FTX Punks #4)[1], NFT
                                   (572980290108404993/Ape Punks #30)[1], NFT (573411454664861944/FTX Punks #9)[1], USD[0.01], USDT[0]

07895482                           NFT (324439339201728609/FTX Punk's #4)[1], NFT (336810240888226472/Addicted to Crypto - Cardano #2)[1], NFT (342479519566049135/FTX Unicorn #5)[1], NFT (382537749980947720/Addicted
                                   to Crypto - Ethereum #5)[1], NFT (383676684534667894/FTX Unicorn #3)[1], NFT (386333318601664780/FTX Unicorn #4)[1], NFT (393662195077518748/FTX Punk's #3)[1], NFT
                                   (398886704238385096/FTX Punk's #5)[1], NFT (399322208329041468/FTX Punk's)[1], NFT (482404264513846144/FTX Punk's #2)[1], NFT (526916850521669676/FTX Unicorn #2)[1], NFT
                                   (534996530223546151/Addicted to Crypto - Cardano)[1], NFT (539639417598084795/Addicted to Crypto - Bitcoin)[1], NFT (560562137735918444/FTX Unicorn)[1], USD[0.20], USDT[0]

07895488                           NFT (343476486715643096/Genesis 1:720)[1], NFT (417014736189832892/Rox #011)[1], SOL[.14521438], USD[0.00]

07895500                           NFT (384354268660767694/APEFUEL by Almond Breeze #818)[1], USD[0.00]

07895506                           CUSDT[1], DOGE[1], SHIB[1], TRX[1], USD[0.00]                                                                                                                                             Yes

07895508                           TRX[.000066], USDT[0.00000028]

07895510                           NFT (323985123369833307/Imola Ticket Stub #674)[1], SOL[0], USD[0.00]

07895518                           NFT (382649216300798128/Megalodon Rogue Shark Tooth)[1], NFT (432849665315267378/Megalodon Rogue Shark Tooth)[1], NFT (451421230645740523/Megalodon Rogue Shark Tooth)[1]

07895527                           NFT (493612889652433422/Eitbit Ape #433)[1], SOL[.2]

07895531                           NFT (442027186463242551/David #665)[1], USD[0.00]

07895532                           NFT (322797799045633291/Soulless Pets #1478)[1], NFT (530355179771280748/Soulless #5431)[1], NFT (540251389503063991/Soulless #5589)[1], NFT (563370984128235672/Wild Wolves Bone
                                   Yard #435)[1], USD[0.00]
07895538                           BRZ[1], CUSDT[5], DOGE[1813.67588494], ETH[.17968094], ETHW[.17968094], SHIB[5451679.06225588], TRX[1], USD[350.00]

07895540                           USD[0.00]

07895543                           BTC[0], USD[0.00], USDT[0.74673088]

07895550                           SOL[.2]

07895552                           CUSDT[1], USD[0.00]

07895553                           USD[1.01]

07895554                           ETH[.000416], ETHW[.000416], NFT (340155158806819429/Imola Ticket Stub #311)[1], USDT[0]

07895560                           BTC[0], USD[0.00]
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
                                                                                                  Amended Schedule 1754      Filed
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07895561                              SOL[.00828581], USD[47.35]

07895562                              NFT (361917942142025814/2974 Floyd Norman - OKC 6-0124)[1], NFT (403476149300426225/2974 Floyd Norman - OKC 4-0246)[1]

07895563                              NFT (299225215662531586/Entrance Voucher #2269)[1], NFT (321002854375342690/2974 Floyd Norman - CLE 3-0225)[1], NFT (325104446055958771/2974 Floyd Norman - OKC 6-0046)[1]

07895564                              NFT (541300841220990448/Microphone #1631)[1]

07895567                              USD[0.00], USDT[0]

07895568                              NFT (309488346174010806/Official Solana NFT)[1]

07895577                              NFT (296527159575892142/FTX Robot)[1], NFT (319538549729075496/Astral Traveler #2)[1], NFT (447457677682454208/ Grasshopper Robot)[1], NFT (462391121117337708/Bee Robot)[1], NFT
                                      (545666298405257103/Astral Traveler)[1], NFT (546350383345173015/Dragonfly Robot)[1], USD[0.01], USDT[0]
07895578       Contingent, Disputed   NFT (369066382748098187/Frog #1359)[1], NFT (372073543533212298/MagicEden Vaults)[1], NFT (376407099615686160/MagicEden Vaults)[1], NFT (420494726906061550/MagicEden Vaults)[1],
                                      NFT (459942896972449204/MagicEden Vaults)[1], NFT (482765774451562697/Cyber Frogs Ramen)[1], NFT (529214522100242892/MagicEden Vaults)[1], NFT (551189735788882794/Golden bone
                                      pass)[1]
07895580                              USD[0.34]

07895593                              BTC[.04463275], CUSDT[6], DOGE[251.36664794], ETH[.03369567], ETHW[.03369567], MATIC[9.09340994], SHIB[1], SOL[.43352891], USD[1726.32]

07895594                              BTC[.09691079], DOGE[1], USD[0.00]

07895596                              ETH[.00000001], NFT (385417660725972519/3521)[1], SOL[.00000001], USD[0.00], USDT[0.28005489]

07895601                              NFT (367305130836229767/Cyber Frogs Ramen)[1], NFT (368557301093518611/Golden bone pass)[1], NFT (459169622429483779/Frog #3215)[1]

07895608                              NFT (298673895057938473/Cyber Frogs Ramen)[1]

07895615                              USD[1.38]

07895619                              NFT (529724798509847734/Entrance Voucher #1949)[1]

07895621                              NFT (351610997098605628/Saudi Arabia Ticket Stub #1837)[1], USD[0.00]                                                                                                                    Yes

07895625                              NFT (289995792580095773/Cool Bean #3116)[1]

07895627                              SOL[4.74327418], USD[0.00]

07895637                              NFT (333236871013266907/Reflector #901)[1], NFT (335048251898232060/#923)[1], NFT (363521976737141356/Colossal Cacti #74)[1], NFT (427372958666168345/#1069)[1], NFT
                                      (450487191444826594/#91)[1], NFT (457854471914193238/#335)[1], NFT (459714611041349975/Slothanas #1205)[1], NFT (468630993633536002/#1089)[1], NFT (494203191999348678/2974 Floyd
                                      Norman - OKC 1-0194)[1], NFT (529808007038773009/#1041)[1], USD[0.00]
07895643                              ETH[.00018398], ETHW[0.00018397], NFT (304838847432943872/Ferris From Afar #42)[1], NFT (311385872490286436/Night Light #921)[1], NFT (315059534566613895/Beasts #107)[1], NFT
                                      (376179286237618575/548)[1], NFT (387556373411611216/Vintage Sahara #427)[1], NFT (388076853226838481/290)[1], NFT (402263116431556327/731)[1], NFT (408231605531866790/Cosmic
                                      Creations #466 (Redeemed))[1], NFT (414477681048008764/Ferris From Afar #224)[1], NFT (450835353877233072/727)[1], NFT (452142371936729228/Golden Hill #243)[1], NFT
                                      (468563175769606679/Night Light #925 (Redeemed))[1], NFT (494839655191499140/Colossal Cacti #427)[1], NFT (507290394483384970/Colossal Cacti #752)[1], NFT (511496166697916361/Sun Set
                                      #875)[1], NFT (539788079040830276/Vintage Sahara #337)[1], NFT (544998172529495164/Ferris From Afar #184)[1]

07895648                              NFT (393753830909637604/Nifty Nanas #4303)[1], NFT (481760092975779008/Yogi)[1], SOL[.09]

07895653                              NFT (504294232788137393/SolDad #1698)[1], NFT (530305659934919741/SolDad #2624)[1]

07895655                              NFT (302044965490773591/Lunarian #7238)[1], NFT (347711020630328678/Red Panda #4464)[1], NFT (446855363273186682/Entrance Voucher #25640)[1], NFT (487641244032609329/#3520)[1],
                                      NFT (497007723572533397/Cave World Torch)[1], NFT (553937715283105038/Crypto Caveman #7814)[1], SOL[.3069]
07895656                              NFT (313595092955127293/SolSoul-07890)[1], NFT (536071200122005232/SolSoul-08214)[1]

07895667                              USD[10.00]

07895675                              NFT (448533023235677381/The Hill by FTX #6618)[1], NFT (490932237121299951/Humpty Dumpty #1645)[1]

07895676                              USD[119.33]

07895678                              NFT (305756496211281047/Entrance Voucher #10031)[1], NFT (307700808074739544/3D SOLDIER #1082)[1], NFT (396718090598838443/The Hill by FTX #8527)[1], NFT
                                      (507116184871533271/zazarwin)[1], USD[12.04]
07895679                              NFT (400313872578276232/304)[1]

07895680                              NFT (365408549204873364/DOTB #88)[1]

07895681                              NFT (474112073055748836/Solninjas #5039)[1]

07895689                              USD[0.00]

07895690                              NFT (560889685623678747/DOGO-ID-500 #5002)[1]

07895691                              SOL[.1]

07895693                              NFT (404475311914881496/Microphone #7254)[1], NFT (490092922236928595/Panda #0124)[1]
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                                                                                                                                         Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07895697                           AVAX[0], BRZ[1], BTC[0], ETH[0], ETHW[0], LINK[0], LTC[0], NFT (289123030237040133/Siri's CyberCity Vision 0-30 #3)[1], NFT (298853226699695983/Timepieces of the Meta World)[1], NFT
                                   (307065146459742836/MEKAGods #99)[1], NFT (310151304598400967/Timepieces of the Meta World #7)[1], NFT (320033202923594089/MEKAGods #639)[1], NFT (321680125561754234/Siri's
                                   CyberCity Vision 0-30 #2)[1], NFT (330159504301613376/A.I. Gen Drip World #2)[1], NFT (332546659460117689/Timepieces of the Meta World #12)[1], NFT (332803423751736558/#MetaVerse Xi Drip
                                   #7)[1], NFT (332807988459065948/#MetaVerse Xi Drip #8)[1], NFT (335394013316755822/#MetaVerse Xi Drip #3)[1], NFT (341046277138462452/Siri's Oil Paintings 0-25)[1], NFT
                                   (347553942553363083/#MetaVerse Xi Drip)[1], NFT (347725982966672888/@HeatherCastilloCollection #8)[1], NFT (349141375534427971/@HeatherCastilloCollection #7)[1], NFT
                                   (350879509452152720/Siri is Beautiful)[1], NFT (355092388880424004/#Abstract A.I. #3)[1], NFT (359314264077677950/Siri's Oil Paintings 0-25 #5)[1], NFT
                                   (364107643640942732/@HeatherCastilloCollection #12)[1], NFT (364893013168047544/@HeatherCastilloCollection #4)[1], NFT (368626101222795120/Stoner Bros #992)[1], NFT
                                   (369147358421137008/#MetaVerse Xi Drip #10)[1], NFT (372411789679606320/MEKAGods #3638)[1], NFT (375440740227413610/A.I. Gen Drip World #7)[1], NFT (376882993996029199/Metaverse
                                   Eyedrop)[1], NFT (381009725985057181/#MetaVerse Xi Drip #4)[1], NFT (381157317093685392/A.I. Gen Drip World #5)[1], NFT (383498890131595890/Timepieces of the Meta World #2)[1], NFT
                                   (387164516124290592/A.I. Gen Drip World)[1], NFT (389095769022728011/@HeatherCastilloCollection #14)[1], NFT (391988659966553610/Siri's CyberCity Vision 0-30 #5)[1], NFT
                                   (392317509671700600/#Abstract A.I. #2)[1], NFT (394182330829137925/#MetaVerse Xi Drip #2)[1], NFT (396433657875881135/#MetaVerse Xi Drip #9)[1], NFT (402132985593376766/A.I. Gen Drip
                                   World #6)[1], NFT (405684142840817527/@HeatherCastilloCollection #6)[1], NFT (410794675884538985/@HeatherCastilloCollection #3)[1], NFT (416683816937245390/Timepieces of the Meta World
                                   #10)[1], NFT (421590740561732559/A.I. Gen Drip World #8)[1], NFT (423334546857138200/Timepieces of the Meta World #13)[1], NFT (424035251148975366/#MetaVerse Xi Drip #6)[1], NFT
                                   (426076389836820235/@HeatherCastilloCollection #15)[1], NFT (438826392286087759/Timepieces of the Meta World #14)[1], NFT (439885521194659394/True Degen3116)[1], NFT
                                   (439974084725193101/Siri's CyberCity Vision 0-30)[1], NFT (442090655184461970/@HeatherCastilloCollection #10)[1], NFT (444503633367715410/@HeatherCastilloCollection #5)[1], NFT
                                   (450460139981715164/@HeatherCastilloCollection #2)[1], NFT (451490134116276275/Timepieces of the Meta World #17)[1], NFT (452998703363469512/A.I. Gen Drip World #4)[1], NFT
                                   (455442214801180857/Timepieces of the Meta World #11)[1], NFT (455809894244126797/@HeatherCastilloCollection #17)[1], NFT (460622124914230447/@HeatherCastilloCollection #18)[1], NFT
                                   (466200001830579951/ApexDucks #1314)[1], NFT (467852885449464081/A.I. Gen Drip World #3)[1], NFT (468162276058641513/Siri's Oil Paintings 0-25 #4)[1], NFT
                                   (478647464676689975/Timepieces of the Meta World #9)[1], NFT (485589701747947384/Siri's Oil Paintings 0-25 #6)[1], NFT (492768347238854207/#Abstract A.I. #4)[1], NFT
                                   (494362208580788069/Timepieces of the Meta World #3)[1], NFT (501393210608989943/Siri's Oil Paintings 0-25 #2)[1], NFT (505567718935239781/Timepieces of the Meta World #6)[1], NFT
                                   (507581102912317684/Timepieces of the Meta World #15)[1], NFT (509243115957390261/Timepieces of the Meta World #4)[1], NFT (513410340768937163/Timepieces of the Meta World #16)[1], NFT
                                   (514766873844943257/@HeatherCastilloCollection #20)[1], NFT (514874748396900439/@HeatherCastilloCollection #13)[1], NFT (522603928391805702/@HeatherCastilloCollection #9)[1], NFT
                                   (532179385147966588/@HeatherCastilloCollection #16)[1], NFT (535384649085882133/@HeatherCastilloCollection #19)[1], NFT (551799479284602363/Metaworld Pharma)[1], NFT
                                   (553492274733673403/@HeatherCastilloCollection #11)[1], NFT (554344612185029598/#Abstract A.I.)[1], NFT (555863445743186021/Timepieces of the Meta World #8)[1], NFT
                                   (556272148709085895/Timepieces of the Meta World #5)[1], NFT (558685536410069891/Siri's Oil Paintings 0-25 #3)[1], NFT (570008466278211056/@HeatherCastilloCollection )[1], NFT
                                   (575293070771058438/Siri's CyberCity Vision 0-30 #4)[1], SHIB[9], SOL[0], TRX[1], USD[2.43], USDT[0.00000696]

07895706                           DOGE[.00000028]

07895716                           NFT (409417954480261796/Megalodon Rogue Shark Tooth)[1], NFT (498688271469370360/Megalodon Rogue Shark Tooth)[1]

07895721                           ETH[.00196938], ETHW[.00096938], NFT (305648550829234299/FTX - Off The Grid Miami #4695)[1], USD[3.68], USDT[6]

07895722                           USD[0.00]

07895728                           NFT (303328650162625871/4974)[1], NFT (351378308092340912/SolFractal #9533)[1], NFT (377651353427376002/465)[1], NFT (403200037989511123/4284)[1], NFT (431446877898773425/1698)[1],
                                   NFT (435160778488538330/SolFractal #6237)[1], NFT (436239528292046963/2179)[1], NFT (491835262581474400/SolFractal #4599)[1], NFT (528665926648920347/SolFractal #5600)[1], NFT
                                   (533083548361436934/SolFractal #7474)[1]
07895732                           NFT (353473303970743145/Microphone #2846)[1]

07895734                           NFT (291417994952499096/Black Dragon #2)[1], NFT (309942134018124127/ Dreamy Mouse)[1], NFT (322104318118501155/Pixel Rich Man)[1], NFT (328151105014334250/ Crazy Ninja Turtle)[1],
                                   NFT (328603219247529992/Ghost Pro Man)[1], NFT (329861176224436792/ Pharaoh Cat)[1], NFT (357921520120427692/ Pixel handsome Man)[1], NFT (360015734249637860/ İce Dragon)[1], NFT
                                   (411497399450214501/Cheerful Monkey)[1], NFT (411847616948394682/Fearful Eyes)[1], NFT (438672943023855718/Pixel Happy Finger)[1], NFT (513220715557362389/Orange Baby Dragon)[1], NFT
                                   (526484014732343814/ Pharaoh Mouse)[1], NFT (528322848055340610/ Confused Giraffe)[1], NFT (530661892666578586/Red Dragon #1)[1], NFT (535272538729046416/ Mighty Knight)[1], NFT
                                   (555701927906906023/One-Eyed Creature)[1], USD[0.00], USDT[0]
07895755                           NFT (306112047142005591/PI #5063)[1], NFT (318083958809755676/Megalodon Rogue Shark Tooth)[1], NFT (377636184374456826/PI #666)[1], NFT (430826690261868086/PI #249)[1], NFT
                                   (537789994757941787/PI #3812)[1]
07895761                           NFT (310351048944760318/Humpty Dumpty #513)[1]

07895764                           NFT (293106278093723289/Solninjas #1298)[1], SOL[.02]

07895765                           USD[0.00]

07895771                           ETH[0.00056293], ETHW[0.00056293], USD[0.00]

07895774                           SOL[.19]

07895776                           SOL[.05]

07895781                           SOL[0], USD[0.68]

07895791                           NFT (347285207944567520/Megalodon Rogue Shark Tooth)[1], NFT (574108856184076300/Humpty Dumpty #774)[1]

07895793                           BF_POINT[100], USD[1.65]

07895812                           BTC[.00008701]

07895816                           USD[0.00]

07895826                           USD[18.51]

07895835                           NFT (416141422012424405/Frog #896)[1]

07895842                           MATIC[0], MKR[0], SOL[0]

07895843                           SOL[.98], TRX[0]

07895851                           ETH[0], NFT (364960869495624087/The Hill by FTX #1182)[1], NFT (431572705288552881/The Hill by FTX #1109)[1], NFT (437773758559160891/FTX Crypto Cup 2022 Key #481)[1], NFT
                                   (452888728502948942/CORE 22 #231)[1], TRX[.001371], USD[9.48], USDT[0.00000001]
07895852                           BTC[.0009], TRX[.0003089], UNI[0], USD[0.00], USDT[0]

07895854                           BTC[.0000493], ETH[.024975], ETHW[.024975], SOL[.30788], USD[116.48]

07895855                           NFT (302601635165464608/Golden bone pass)[1], NFT (492318552694342819/Frog #6619)[1]

07895860                           USD[3.05]

07895861                           NFT (446729893933654443/Skulloween)[1], USD[0.00]

07895868                           USD[100.00]

07895872                           BTC[0], NFT (357157225377889616/2D Squid Game Boots)[1], NFT (415435623024590516/2D SOLDIER #121)[1], NFT (473102967195903702/Crystal Egg)[1], TRX[.831802], USDT[1.34421776]

07895874                           BTC[.0410724], ETH[.165834], ETHW[.165834], MATIC[359.64], SHIB[23900000], SOL[4.89], SUSHI[209.79], USD[0.46]

07895878                           USD[0.00]

07895881                           SOL[.04]

07895883                           BTC[0], ETH[.00090934], ETHW[.00090934], USD[0.00]

07895898                           NFT (356347752133128016/Entrance Voucher #3423)[1], NFT (411582530786585502/Night Light #994)[1], NFT (442199046067884705/SBF Hair & Signature #7 #13)[1], NFT
                                   (559376731071262834/2974 Floyd Norman - CLE 2-0042)[1], USD[0.46]
07895900                           NEAR[.00084071], USD[1.59]
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                                                                                                                                            Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07895901                              NFT (337760517753084283/3D Squid Game Torso)[1], NFT (437228069309020283/Surging Josephs #185)[1], NFT (508171564799260582/3D SOLDIER #929)[1], NFT (550459607178599856/Bull
                                      #1775)[1], SOL[.105]
07895906                              NFT (321887588903522029/Sol O' House64)[1]

07895912                              NFT (533842676572312987/4211)[1]

07895913                              ETH[0], SOL[0], USD[0.00], USDT[0.00000021]

07895915                              NFT (298080728325511712/Bull #258)[1], NFT (381414612269025398/3D Squid Game Torso)[1], NFT (400093358571156110/3D Santa Torso)[1], NFT (574722006063949813/3D SOLDIER #1277)[1],
                                      SOL[.0117]
07895917                              USD[0.00], USDT[.09044971]

07895918                              NFT (347095691319675438/EL SALVADOR #2820)[1]

07895919                              NFT (359830687836743182/Good Boy #56)[1]

07895922       Contingent, Disputed   NFT (405179001719044937/LightPunk #6744)[1]

07895923       Contingent, Disputed   NFT (492125264602602214/#1596)[1], NFT (527212246085795103/421 Lamport Lane)[1], SOL[.004], USD[0.00], USDT[0]

07895927                              FTX_EQUITY[0], USD[0.01]

07895930                              NFT (387140007604931036/Birthday Cake #0917)[1], NFT (434288794950081392/Exiled Alien #455)[1], NFT (462276275837726988/2974 Floyd Norman - OKC 5-0174)[1], NFT
                                      (496228211806097700/Imola Ticket Stub #985)[1], USD[0.00], USDT[0]
07895937                              USD[0.02]

07895939                              NFT (479621088994925146/Gloom Punk #2756)[1], NFT (554016221276978032/Gloom Punk #7037)[1]

07895958                              SOL[0], USD[0.00]

07895959                              NFT (326778228763185442/Megalodon Rogue Shark Tooth)[1]

07895961                              NFT (463013786265690681/Solamander #684)[1]

07895965                              NFT (439464956257797392/3167)[1]

07895971                              SOL[.00000001], USD[0.00]

07895972                              NFT (289484771440597227/Colossal Cacti #560)[1], NFT (291553631149859938/Beasts #705)[1], NFT (305280970612188692/Ferris From Afar #849)[1], NFT (305281833665721007/Night Light
                                      #535)[1], NFT (316246278082935696/Golden Hill #892)[1], NFT (317057624244272639/Sun Set #357)[1], NFT (332313061049626852/Ferris From Afar #179)[1], NFT (335456240025006240/Beasts
                                      #296)[1], NFT (359059149878370555/Beasts #403)[1], NFT (359104943214598401/Beasts #660)[1], NFT (359568008993323121/Reflector #944)[1], NFT (390297963269846366/Sun Set #850)[1], NFT
                                      (403902895788662132/Colossal Cacti #881)[1], NFT (464111624418025030/Sun Set #23)[1], NFT (505490569057065957/Colossal Cacti #192)[1], NFT (508323299903127127/Night Light #708)[1], NFT
                                      (521365440148460646/Vintage Sahara #886)[1], NFT (529170275795526835/Spectra #790)[1], NFT (554161527665671287/Beasts #973)[1], NFT (556320170223221145/Spectra #956)[1], NFT
                                      (558416663012283316/Sun Set #534)[1], NFT (572013696831062318/Sun Set #469)[1], NFT (574034144251343095/Cosmic Creations #511)[1], USD[95.38]

07895974                              NFT (379425589477570511/Megalodon Rogue Shark Tooth)[1]

07895986                              BTC[0], ETH[0], ETHW[0], SOL[0]

07895990                              ETH[0], ETHW[0], GBP[72.40]

07895997                              ETHW[2.411545], USD[1.05]

07895998                              NFT (299634056311870433/ApexDucks Halloween #2836)[1], NFT (419199921570457528/6306)[1], NFT (431728208136837071/1354)[1], NFT (497962829854334005/2335)[1]

07896005                              NFT (302524622178476125/Girl)[1], NFT (306874640378447211/Pumpkin)[1], NFT (346288224967541015/Dracula)[1], NFT (366831918557772857/Goblin)[1], NFT (374283195232517244/Jack)[1],
                                      NFT (381137789448227112/Witch)[1], NFT (399087264102252823/Prankster)[1], NFT (435051478198898881/Frankstein)[1], NFT (477247668032198917/Skull)[1], NFT
                                      (486852984132587223/Zombie)[1], NFT (494379397849891007/Grimreaper)[1], NFT (543525339729047310/Brain)[1], NFT (554356970148676176/Mummy)[1], NFT (571470028986018874/Spike)[1],
                                      NFT (573555894205074678/Werewolf)[1], TRX[.000001], USDT[1.1237153]
07896014                              NFT (360260775296592729/2974 Floyd Norman - CLE 5-0084)[1], NFT (369214856172872081/Birthday Cake #1106)[1], NFT (403417945497514685/GSW 75 Anniversary Diamond #439)[1], NFT
                                      (404887952861663905/GSW Western Conference Finals Commemorative Banner #1534)[1], NFT (464542804235524529/GSW Western Conference Finals Commemorative Banner #1533)[1], NFT
                                      (508926559298608926/The 2974 Collection #1106)[1], NFT (519275552498446384/GSW Championship Commemorative Ring)[1], NFT (541035708932891618/GSW Western Conference Semifinals
                                      Commemorative Ticket #791)[1], USD[0.00]
07896016                              SOL[.02]

07896022                              SOL[1.84]

07896024                              SOL[.00664], USD[1574.80]

07896030                              NFT (430423848206760492/Chest on Solana CT)[1]

07896037                              NFT (339698772531592706/2974 Floyd Norman - CLE 6-0266)[1], USD[30.65]

07896039                              NFT (294020844686961937/Bahrain Ticket Stub #471)[1], USD[67.50]

07896041                              USD[0.00]

07896043                              NFT (380605465893055779/Invitation: Royal Bears)[1]

07896046                              NFT (418618808091431336/Entrance Voucher #2234)[1]

07896049                              ETH[0], ETHW[0], USD[0.00]                                                                                                                                                                 Yes

07896050                              NFT (415942008625832648/Wave #189)[1], NFT (482816217224744295/GLASS PACK B)[1], NFT (539507305620370228/Bahrain Ticket Stub #1508)[1]

07896055                              SOL[.372]

07896056                              TRX[.000001], USDT[3.988163]

07896062                              NFT (350395557920557014/Solamander #6823)[1], NFT (423238803653114711/Solamander #6620)[1]

07896064                              USD[0.00]

07896072                              ETH[.07261596], ETHW[.07261596], LINK[3.29329219], SOL[.00000022]

07896075                              NFT (492523733320934222/2D SOLDIER #2461)[1], NFT (509429447012429187/2D Squid Game Boots)[1]

07896076                              NFT (354181332607050353/2974 Floyd Norman - CLE 1-0242)[1]

07896081                              USD[7.58]

07896090                              NFT (302600894753827011/SolBunnies #4080)[1], NFT (310583510152215858/SolBunnies #880)[1], NFT (316292283767388496/SolBunnies #1571)[1], NFT (361269374256345810/SolBunnies #589)[1]

07896092                              BTC[.00042772], CUSDT[4], DOGE[1], TRX[2], USD[0.00]                                                                                                                                       Yes

07896093                              NFT (518205615638645170/SolTimber Seed)[1]

07896116                              SHIB[6], SOL[0.00000001], TRX[1], USD[0.00]                                                                                                                                                Yes
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
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                                                                                                                                            Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07896117                              BAT[0.33906542], BTC[0.00009328], CUSDT[0], ETH[0.01186323], ETHW[0.01186323], GRT[0.25101754], LINK[0.62081413], MATIC[9], MKR[0.00114682], NFT (363843910261282447/Sea Protector
                                      #2)[1], NFT (363921965348085655/Sea Protector #5)[1], NFT (397000321479161962/Sea Protector)[1], NFT (408532034943671186/Sea Protector #3)[1], NFT (513520469903902150/Sea Protector
                                      #4)[1], PAXG[0.00001286], SHIB[26796.07022176], SOL[0.10000000], TRX[0], USD[0.00]
07896118                              NFT (524623391983305261/Entrance Voucher #16226)[1], SHIB[1], SOL[2.01024447], USD[7.74]                                                                                                  Yes

07896125                              NFT (403585088316267457/Birthday Cake #1622)[1], NFT (458921975389189705/The 2974 Collection #1622)[1], NFT (507651107480260709/2974 Floyd Norman - CLE 2-0186)[1]

07896127                              USD[0.18]

07896131                              USDT[3.3744732]

07896137                              ETH[.00045588], ETHW[0.00045588], SOL[0], USD[0.00], USDT[0.00000151]

07896139                              BTC[.00421756], DOGE[238.73631077], ETH[0.03800863], ETHW[0.03753691], SOL[.27203153], USD[0.00]                                                                                          Yes

07896141                              SOL[.05]

07896144                              USD[0.02]

07896154                              CUSDT[.01048296], DOGE[1], NFT (359840868133083020/Imola Ticket Stub #2252)[1], NFT (469817548422570307/Barcelona Ticket Stub #1061)[1], NFT (524664909012909537/Barcelona Ticket Stub Yes
                                      #593)[1], NFT (549694040244137007/FTX Crypto Cup 2022 Key #1334)[1], NFT (573530642447675370/Saudi Arabia Ticket Stub #1496)[1], SHIB[2], SOL[0.00000703], USD[0.00]
07896155                              USD[0.00]

07896167                              NFT (347251029919728376/Exclusive Chihuahua #160)[1], NFT (373967729103576765/Exclusive Chihuahua #179)[1], NFT (391181552992999382/Exclusive Chihuahua #161)[1], SOL[.04]

07896172                              NFT (468792040564073055/Ravager #13)[1], NFT (559793126887168596/Entrance Voucher #2785)[1], USD[0.98]

07896173                              ETH[0], ETHW[0], TRX[.000018], USDT[0.00002297]

07896176                              USD[0.00]                                                                                                                                                                                 Yes

07896181                              BTC[.00038963], CUSDT[2], DOGE[1], ETH[1.7483952], ETHW[1.7476609], SOL[1.23877476], SUSHI[2.33853376], USD[0.00]                                                                         Yes

07896182                              CUSDT[3], DOGE[106.52566705], SHIB[9527742.27066365], USD[34.21]                                                                                                                          Yes

07896192                              NFT (301707742221193918/Hannya Mask)[1], NFT (533761673602474295/5696)[1], NFT (551777325000864699/SolDad #1775)[1], NFT (562354407399302373/Lunarian #4714)[1]

07896195                              NFT (289955538279180788/MagicEden Vaults)[1], NFT (402294047740996497/MagicEden Vaults)[1], NFT (428683965764986543/Geckos Spaceship)[1], NFT (508262166842839443/MagicEden
                                      Vaults)[1], NFT (519335075491216962/MagicEden Vaults)[1], NFT (536423027514724154/MagicEden Vaults)[1]
07896200                              SOL[94.115], USD[350.49]

07896211                              ETH[.00000001], TRX[.000125], USD[0.00], USDT[.15324685]

07896213                              NFT (487559626301426395/2974 Floyd Norman - OKC 4-0025)[1], USD[30.09]

07896216                              NFT (351312851272995588/Coachella x FTX Weekend 1 #20532)[1], NFT (432483611169497158/Heads in the Clouds 3 #34 (Redeemed))[1], USD[1.00]

07896222                              SOL[.001]

07896225                              DOGE[1], ETHW[.021], GRT[1], LINK[1], NFT (333623717988885198/SoulFighter #1243)[1], NFT (349674904953049086/SoulFighter #242)[1], NFT (368664985791071692/SoulFighter #1357)[1], NFT
                                      (512600002176252372/SoulFighter #1286)[1], NFT (517649351543323759/SoulFighter #1290)[1], NFT (529129344783473929/SoulFighter #1114)[1], NFT (550405677287549082/SoulFighter #1107)[1],
                                      TRX[1], USD[0.00]
07896233                              BTC[0], WBTC[.00000001]

07896234                              NFT (351235504764187080/#127)[1], NFT (513313741000244422/Painture-Pesky Penguins 320)[1]

07896235                              TRX[.000001], USDT[.3533798]

07896236                              USD[5.44]                                                                                                                                                                                 Yes

07896251                              NEAR[.03758396], USDT[.1427828]

07896257                              BTC[.01068226], CUSDT[1], DOGE[2], ETH[.03900819], ETHW[.03852563], SHIB[4], SOL[.56224321], TRX[1], USD[1.07]                                                                            Yes

07896266                              NFT (391930761331737047/2974 Floyd Norman - CLE 1-0115)[1], NFT (403189134888075955/Birthday Cake #0267)[1], NFT (503602574067715784/The 2974 Collection #0267)[1], NFT
                                      (549768649389502802/Bahrain Ticket Stub #1525)[1], USD[211.00]
07896268                              BRZ[1], BTC[.00001068], ETH[.00001177], ETHW[0.00001176], SOL[0.00064726]                                                                                                                 Yes

07896269                              CUSDT[5], SOL[.00000199], USD[0.18]                                                                                                                                                       Yes

07896273                              SOL[.07], USD[4.23]

07896280                              NFT (412449248102651862/DarkPunk #5707)[1], NFT (534919801690210382/Lord of Darkness)[1]

07896284                              NFT (321698098329741608/Birthday Cake #0589)[1], NFT (323758997916736427/Exclusive 2974 Collection Merchandise Package #1266 (Redeemed))[1], NFT (383100737226403804/The 2974
                                      Collection #2412)[1], NFT (391296656079594062/Birthday Cake #2231)[1], NFT (407870607701182968/The 2974 Collection #0589)[1], NFT (445478119725572488/Birthday Cake #2412)[1], NFT
                                      (525346470607043332/The 2974 Collection #2462)[1], NFT (576373217625953814/Birthday Cake #2462)[1], USD[108.90], USDT[.002052]
07896285                              NFT (356697640872270065/Reflection '12 #26)[1], NFT (375560024470360387/Reflector #617)[1], NFT (429184501386486785/Beasts #98)[1]

07896289                              SOL[.1], USD[0.22]

07896299                              USD[9.74]

07896308                              NFT (454985606794636127/Entrance Voucher #4202)[1], NFT (527313546576076839/Good Boy #13488)[1]

07896311                              USD[0.00]

07896318                              USD[1.25]                                                                                                                                                                                 Yes

07896321                              NFT (510574400870829333/5934)[1]

07896328                              NFT (314623233854707058/MagicEden Vaults)[1], NFT (318115472539941413/MagicEden Vaults)[1], NFT (323078336883119669/MagicEden Vaults)[1], NFT (337759384153722818/MagicEden
                                      Vaults)[1], NFT (364823599526281398/Crystal Egg)[1], NFT (439831841643358745/Geckos Spaceship)[1], NFT (519724092359290426/MagicEden Vaults)[1]
07896338       Contingent, Disputed   ETH[0]

07896342                              NFT (353229194664960395/The Hill by FTX #6824)[1], NFT (445335528129474515/Entrance Voucher #29565)[1], USD[0.65]

07896348                              NFT (333735714936241080/Humpty Dumpty #957)[1], SOL[1]

07896349                              NFT (479959703024461447/Cool Bean #3107)[1], NFT (480257252097188013/Cool Bean #222)[1], NFT (556752440488912278/Cool Bean #2720)[1], SOL[0]

07896350                              NFT (348222026304807614/Humpty Dumpty #943)[1], NFT (432652045241014059/FTX - Off The Grid Miami #395)[1], SOL[0], USD[0.67]

07896354                              USD[2.51]

07896360                              NFT (413983454379971106/Australia Ticket Stub #156)[1], USD[1.00]

07896364                              NFT (436128993947231290/ApexDucks #2277)[1], NFT (466059651911051025/Eitbit Ape #7877)[1], NFT (505182738066350472/ApexDucks Halloween #2809)[1]

07896373                              NFT (294177487195105226/EL SALVADOR #2687)[1]
West Realm Shires Services Inc.                                                    Case 22-11068-JTD      Doc F-3:
                                                                                               Amended Schedule 1754      Filed
                                                                                                                   Nonpriority     06/27/23
                                                                                                                               Unsecured           Page 396 of 1384
                                                                                                                                         Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07896387                           USD[0.00]

07896394                           NFT (289006408682659731/2D Squid Game Legs)[1], NFT (470180460528403600/Mushie #5939)[1], SOL[3.72]

07896399                           SOL[.00484], USD[0.66]

07896403                           SOL[.3304142], USD[40.00]

07896418                           NFT (305089928456400836/1676)[1], NFT (384772600432621904/3786)[1], NFT (411413134755338335/6186)[1], NFT (424037316819005534/3235)[1]

07896420                           NFT (354035019776980434/skulls and roses)[1], NFT (503324733440764683/3D Santa Legs)[1], NFT (561576654867289796/Ayyo and the Artisans)[1]

07896423                           USD[0.00], USDT[0]

07896425                           NFT (390937970077467383/7251)[1], NFT (394997550374272835/5460)[1], NFT (428657468972489544/5360)[1], NFT (438223116937743782/6122)[1], NFT (483038385628470101/5504)[1], NFT
                                   (539579169201596555/2802)[1], NFT (551084433084941956/7261)[1], SOL[.6]
07896429                           USD[0.00]

07896431                           SOL[.00002]

07896434                           ETH[.00000001], SOL[0], USDT[0.00000096]

07896446                           NFT (351928646742106704/StarAtlas Anniversary)[1], NFT (390575122105518594/StarAtlas Anniversary)[1], NFT (451954465203984010/StarAtlas Anniversary)[1], NFT
                                   (468186743719234783/StarAtlas Anniversary)[1], NFT (474602302431312249/StarAtlas Anniversary)[1], NFT (498381382645205062/StarAtlas Anniversary)[1], NFT (505754741274967960/StarAtlas
                                   Anniversary)[1], NFT (538207135696004761/StarAtlas Anniversary)[1], NFT (554296767602546994/Entrance Voucher #62)[1], NFT (572093440015372397/StarAtlas Anniversary)[1], USD[0.00]

07896447                           NFT (322437903508372592/2D SOLDIER #2742)[1], NFT (464299154373618695/2D SOLDIER #725)[1]

07896448                           NFT (322964509555451935/Megalodon Rogue Shark Tooth)[1], NFT (532516699114356231/Megalodon Rogue Shark Tooth)[1]

07896449                           NFT (319395935505891977/Solninjas #2983)[1], NFT (399977626573412062/Solninjas #2970)[1], NFT (496970254811243996/Solninjas #2974)[1], NFT (508022731322278818/Solninjas #2978)[1]

07896451                           NFT (344161764241258229/Toasty Turts #0957)[1], NFT (487730603677195599/Invitation: Royal Bears)[1]

07896459                           NFT (471182300554816120/Gloom Punk #81)[1], SOL[.1]

07896464                           USD[18.57]

07896466                           CHF[0.00]

07896472                           NFT (324179127689800722/1241)[1]

07896481                           NFT (293054840391672267/3366)[1], NFT (298300675034805615/1232)[1], NFT (313002330734372051/922)[1], NFT (315899376766024922/1488)[1], NFT (320532670880142133/1455)[1], NFT
                                   (335215449416758127/1087)[1], NFT (336933804601127884/2905)[1], NFT (349543826343941223/2033)[1], NFT (354643562307939291/1678)[1], NFT (354753111514215519/2432)[1], NFT
                                   (362069379682055524/6511)[1], NFT (363578112419648402/2350)[1], NFT (364288928074425045/2076)[1], NFT (366298312102546676/1068)[1], NFT (369454038193025237/2204)[1], NFT
                                   (373181121690090076/1992)[1], NFT (380082611862199115/4276)[1], NFT (383537657801131381/2103)[1], NFT (388211984582235638/1316)[1], NFT (391478128839152023/2922)[1], NFT
                                   (398860818091423842/649)[1], NFT (399835699286857187/2793)[1], NFT (406922529211108522/6482)[1], NFT (409112924320059890/2234)[1], NFT (415275616786163720/1260)[1], NFT
                                   (416038116912960765/3008)[1], NFT (418100423342632040/1160)[1], NFT (423439823209921647/502)[1], NFT (430804217413064226/5021)[1], NFT (431333791426881947/7735)[1], NFT
                                   (438769363198891903/880)[1], NFT (441242970115527743/2125)[1], NFT (442125491977849195/1638)[1], NFT (448262288139005021/1526)[1], NFT (448847182192968604/3)[1], NFT
                                   (449248365696315974/4762)[1], NFT (463845305210352920/859)[1], NFT (464257283490094872/3295)[1], NFT (467294700384653778/4504)[1], NFT (470058292873927370/129)[1], NFT
                                   (471888445977498431/1541)[1], NFT (478234691761318968/1036)[1], NFT (479005823448907547/1962)[1], NFT (486426749669887691/2750)[1], NFT (493619660152446268/939)[1], NFT
                                   (497372676780476146/5212)[1], NFT (504798479954744813/4207)[1], NFT (506695206279584270/6308)[1], NFT (507645538687051403/6213)[1], NFT (510734244681280199/4576)[1], NFT
                                   (515950726123475662/1724)[1], NFT (516915176391171721/3120)[1], NFT (518133319407388463/2703)[1], NFT (528617236493356570/6456)[1], NFT (534645236559386254/2454)[1], NFT
                                   (537313305946522902/971)[1], NFT (544785037733770022/5445)[1], NFT (557178200224391907/1605)[1], NFT (560030722433618014/1663)[1], NFT (565199170398008052/1822)[1], NFT
                                   (566991046268070746/3391)[1], NFT (570818583406721802/259)[1], NFT (571024772771686672/3439)[1], SOL[.00000001]
07896486                           USD[180.74]

07896501                           ETH[1.09244110], USD[0.83]                                                                                                                                                               Yes

07896512                           SOL[.186]

07896515                           BTC[.0001]                                                                                                                                                                               Yes

07896521                           USDT[0]

07896533                           NFT (297477745711043484/2132)[1], NFT (303248859900377084/1558)[1], NFT (314449854276417417/686)[1], NFT (318709098384080193/2825)[1], NFT (404396378716528100/4700)[1], NFT
                                   (419946012802852182/1334)[1], NFT (423213931219367747/1168)[1], NFT (433493519038809009/5596)[1], NFT (440606766154787213/152)[1], NFT (444445563417832322/1910)[1], NFT
                                   (455586483713693869/2415)[1], NFT (457539013037620958/1690)[1], NFT (459706026301337120/6056)[1], NFT (470403571317153814/413)[1], NFT (478787691649871023/2594)[1], NFT
                                   (495905463541936888/6053)[1], NFT (498371202183253433/2801)[1], NFT (499785437919942904/6155)[1], NFT (506750315311583552/1022)[1], NFT (506919719350260746/1054)[1], NFT
                                   (530871630669601983/2312)[1], NFT (540979454747303287/1662)[1], NFT (558930298115725626/4949)[1], NFT (573240739916950400/746)[1], SOL[.009995], USD[0.00]
07896537                           SOL[.009]

07896541                           SOL[.02], USD[1.52]

07896544                           TRX[.000001], USDT[0.00000016]

07896551                           NFT (535708537220395445/Entrance Voucher #3328)[1]

07896552                           SOL[.4775]

07896565                           NFT (382958283713251583/3D SOLDIER #491)[1], NFT (441084134396947320/3D Squid Game Legs)[1]

07896568                           ETH[.0657234], ETHW[.06490677], SHIB[1], USD[0.00]                                                                                                                                       Yes

07896569                           NFT (320112036632200899/5846)[1], NFT (550165267846931279/ApexDucks Halloween #2598)[1]

07896570                           ETH[0], ETHW[0]

07896580                           NFT (343521633819100375/141)[1]

07896594                           USDT[0]

07896596                           NFT (439295897684665653/Solamander #2071)[1]

07896600                           NFT (381549999367002064/309)[1]

07896602                           NFT (536211612046716200/Imola Ticket Stub #700)[1], USD[20.00]

07896607                           NFT (376295252493297702/176)[1], NFT (421245807777754897/163)[1], NFT (554211301238700933/155)[1], NFT (555378308925193606/185)[1]

07896612                           CUSDT[725.20984865], USD[11.45]                                                                                                                                                          Yes

07896614                           NFT (335786013752285142/Saudi Arabia Ticket Stub #1486)[1]

07896616                           NFT (370239582663291300/6162)[1]
West Realm Shires Services Inc.                                                    Case 22-11068-JTD      Doc F-3:
                                                                                               Amended Schedule 1754      Filed
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                                                                                                                               Unsecured           Page 397 of 1384
                                                                                                                                         Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07896621                           ETH[.01], ETHW[.01], NFT (307186256796411512/2974 Floyd Norman - CLE 2-0094)[1], NFT (308013660693590935/Beasts #249)[1], NFT (351581374955343775/Ferris From Afar #706)[1], NFT
                                   (369309660213482268/Cosmic Creations #882)[1], NFT (371049389807668541/The 2974 Collection #2345)[1], NFT (422998262647840899/Reflector #787)[1], NFT (443619871047632845/Golden Hill
                                   #829)[1], NFT (444016977805306344/Bahrain Ticket Stub #441)[1], NFT (447790614817051238/Beasts #793)[1], NFT (448215455520182735/Colossal Cacti #843)[1], NFT
                                   (449606823245003208/Spectra #972)[1], NFT (492914764467064707/Birthday Cake #2345)[1], NFT (545302260294619229/Colossal Cacti #957)[1], USD[53.06], USDT[0]
07896626                           NFT (333904907842722132/Saudi Arabia Ticket Stub #219)[1]

07896632                           NFT (357351365056792762/SolBunnies #992)[1], NFT (374701552849747406/SolBunnies #2807)[1], NFT (379639465190794908/Cool Bean #3438)[1], NFT (380900566815291106/Cool Bean
                                   #2593)[1], NFT (402493211804240843/SolBunnies #2304)[1], NFT (470077479491673229/SolBunnies #4014)[1], NFT (477874361037772572/SolBunnies #461)[1], NFT (544311773776472833/Cool
                                   Bean #954)[1], NFT (552714100935807936/SolBunnies #1266)[1], NFT (555626670318981776/SolBunnies #1655)[1]
07896634                           NFT (353752148378709568/Eitbit Ape #6492)[1], NFT (402431265359971761/Margot, the Stupid)[1], NFT (405652824912134246/Sollama)[1], NFT (433305123243795204/Eitbit Ape #2233)[1],
                                   SOL[1.45666378]
07896637                           SOL[.05], USD[19.98]

07896649                           DOGE[4.42877032], SHIB[1], USD[0.00]

07896650                           NFT (322997662747172765/Imola Ticket Stub #2224)[1], SOL[.19181288]

07896654                           NFT (532285163007564206/Australia Ticket Stub #363)[1], SOL[.01]

07896663                           NFT (321210363879070015/FTX - Off The Grid Miami #2815)[1], NFT (399214553644872253/Australia Ticket Stub #1588)[1]

07896664                           NFT (305467549050433680/3D SOLDIER #3507)[1], NFT (538434360560728302/3D Pumpkin Head)[1]

07896671                           NFT (344584799420738419/631)[1], NFT (366078430938662610/276)[1]

07896678                           USD[0.00]

07896688                           BTC[0.00116868], USD[0.05]

07896719                           USDT[10]

07896726                           NFT (316870051139001028/Saudi Arabia Ticket Stub #2417)[1]

07896729                           ETH[.00000001], ETHW[0], SOL[0.00310113], USD[0.00]

07896735                           BTC[.00124705], CUSDT[6], DOGE[1], ETH[.01435792], ETHW[.01435792], SOL[.05051889], USD[0.00]

07896743                           SOL[0], USD[0.00]

07896745                           USD[0.22]

07896747                           NFT (442629276110526720/FTX AU - we are here! #43738)[1], NFT (544252830913594686/Imola Ticket Stub #1342)[1], SOL[.1078], USDT[0]

07896754                           NFT (384940691017843817/351)[1]

07896757                           NFT (521045652555312855/1508)[1]

07896760                           NFT (300260868302793244/Solamander #824)[1]

07896763                           NFT (466153639207957451/Australia Ticket Stub #1639)[1], USD[0.00]

07896764                           NFT (304804546470192144/2D Squid Game Legs)[1], NFT (323178532116782345/SBF Hair & Signature #1 #122)[1], NFT (404252224433998047/MagicEden Vaults)[1], NFT
                                   (417232747633188849/MagicEden Vaults)[1], NFT (448190520066908468/MagicEden Vaults)[1], NFT (456026462394596543/MagicEden Vaults)[1], NFT (532440746064217969/MagicEden Vaults)[1]

07896766                           SOL[0], USD[0.00]

07896771                           NFT (306454958769697290/Humpty Dumpty #402)[1]

07896781                           SOL[.07]

07896785                           NFT (462017092259786586/Imola Ticket Stub #1658)[1]

07896787                           NFT (539926508368506419/Space Bums #8257)[1]

07896797                           NFT (299612005960265589/GSW Western Conference Semifinals Commemorative Ticket #1068)[1], NFT (392764830460825469/Solamander #8652)[1], NFT (396173524198675369/GSW Western
                                   Conference Finals Commemorative Banner #1978)[1], NFT (469938403819838516/GSW Championship Commemorative Ring)[1], NFT (499426556726239768/GSW Western Conference Finals
                                   Commemorative Banner #1977)[1], NFT (518694150860612500/Warriors Hoop #623 (Redeemed))[1], USD[11.61]
07896804                           NFT (380117696383852631/Microphone #5330)[1]

07896818                           USD[0.00], USDT[.775]

07896824                           SOL[.00781], TRX[.000001], USD[0.00], USDT[0.63365779]

07896826                           USD[12.52]

07896830                           USD[1.13]

07896832                           LTC[0], USD[0.00]

07896833                           USD[0.01]

07896843                           USD[0.00]

07896845                           USD[1.38]

07896848                           CUSDT[1], SOL[.70735895], USD[0.00]

07896851                           NFT (523014003888380831/6519)[1]

07896854                           USDT[0]

07896857                           NFT (397395943479217294/Lord of Darkness)[1], NFT (444220600743798034/DarkPunk #3191)[1], NFT (465369615237389514/DarkPunk #8654)[1], NFT (570669667618541595/Lord of Darkness)[1],
                                   SOL[.1]
07896859                           NFT (334939432707000197/580)[1], NFT (342615151605417387/The Tower #23-18)[1], NFT (527045500635192196/Entrance Voucher #3784)[1], TRX[.162], USD[0.00]

07896861                           NFT (320340549376556576/5120)[1], NFT (431955443187240893/2230)[1], NFT (434206118560130593/Cyber Frogs Ramen)[1], NFT (451062154272440097/3126)[1], NFT
                                   (479453590036733696/Golden bone pass)[1], NFT (511742426633635303/Frog #4927)[1]
07896863                           USD[1.40]

07896873                           DOGE[2], ETH[.00000202], ETHW[1.04373395], SHIB[1], TRX[1], USD[0.00]                                                                                                                   Yes

07896875                           NFT (512236641326458039/Cool Bean #1925)[1]

07896878                           BTC[0], EUR[0.99], NFT (404215192294998401/Mystery Box)[1], USD[0.00]                                                                                                                   Yes

07896891                           NFT (513458568169195229/MR.LAHEY)[1]

07896895                           SOL[.00084655], USD[0.00]

07896897                           ETH[0]
West Realm Shires Services Inc.                                                          Case 22-11068-JTD      Doc F-3:
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                                                                                                                                               Customer Claims                                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07896913                              NFT (371917668908076333/7450)[1], NFT (445583726640146426/1181)[1], NFT (550380333182796777/5997)[1], NFT (568694563440493559/7437)[1], NFT (575103047960764891/1473)[1]

07896915                              BF_POINT[100], BRZ[2], DOGE[1], SHIB[1], TRX[3], USD[35.90]

07896919                              ETH[0.00000001]                                                                                                                                                                                     Yes

07896922                              NFT (314916177978775810/2983)[1]

07896925       Contingent, Disputed   NFT (400675112928810660/Surging Josephs #261)[1]

07896929                              NFT (361823887151200793/1772)[1], NFT (461293496481904763/3947)[1]

07896930                              NFT (432661041687798670/Microphone #2615)[1]

07896933                              SOL[.5813765], TRX[1], USD[0.00]

07896939                              ETH[.00095211], ETHW[0.00095211], TRX[.000025], USD[0.39], USDT[.02888715]

07896946                              ETH[0], ETHW[0], NFT (288995424834856059/Unverfied Token)[1], NFT (355009764148243529/Unverfied Token)[1], NFT (372371526244781822/Unverfied Token)[1], NFT
                                      (380506494341605882/Unverfied Token)[1], USD[2.35]
07896947                              NFT (435724428984326462/270)[1]

07896949                              CUSDT[1], ETH[.00613161], ETHW[.00604953], USD[0.00]                                                                                                                                                Yes

07896950                              NFT (364181845668400630/5661)[1]

07896956                              BTC[.00713158], NFT (356059574011025346/2530)[1], NFT (557686420032146168/3221)[1], SOL[.279]

07896958                              NFT (502692520106554275/Solamander #4724)[1]

07896963                              NFT (377530907061231468/Crypto Cub #848)[1], NFT (515182049227370167/Eggplant Elixir)[1]

07896964                              USD[19.24]

07896965                              NFT (342833830044669897/Eitbit Ape #6246)[1], NFT (395859696661903346/Eitbit Ape #1231)[1], NFT (549602360581472844/Eitbit Ape #2018)[1], SOL[4.601]

07896966                              ETH[0], SUSHI[0], UNI[0], USD[0.00]

07896968                              USD[0.00]

07896978                              NFT (425848295848185331/Australia Ticket Stub #819)[1], SOL[.1]

07896982                              USD[5.29]

07896983                              BAT[38.932], BTC[0.00179053], DOGE[.986], ETH[.009936], ETHW[.009936], SHIB[97300], USD[56.15]

07896989                              SOL[.06], USD[2.36]

07896991                              NFT (374803570117503040/Saudi Arabia Ticket Stub #2093)[1], SOL[.01]

07896998                              NFT (300483710205672065/Bull #1225)[1], TRX[.496505], USD[0.01]

07896999                              BTC[.00002454], USD[0.00]

07897011                              BTC[0], NFT (486554625439776405/The Hill by FTX #893)[1], NFT (507719891728752509/Backistan Passport)[1], SHIB[2], SOL[0]

07897014                              NFT (563167491205251461/SilentBoar)[1], SOL[.1]

07897015                              NFT (446515541091482245/Skyline FLP)[1]

07897021                              NFT (295965865363726542/Incoming...)[1]

07897022                              NFT (363418182297605307/2D Squid Game Legs)[1]

07897028                              NFT (322438234689203460/Entrance Voucher #2362)[1]

07897032                              NFT (336261077138810151/Bahrain Ticket Stub #982)[1], NFT (342324092623286553/APEFUEL by Almond Breeze #247)[1], NFT (371496307102889903/FTX Gold&Silver Logo)[1], NFT
                                      (415732478836833290/The Heart of NFTs)[1], NFT (485920165226571389/Colorful Reflections)[1], NFT (532707501495937522/FTX - Off The Grid Miami #704)[1], USD[1.54], USDT[.00948872]
07897039                              NFT (305393269553522978/Pixel Animal #4 Salmon Fish)[1], NFT (319802222960384877/Pixel Animal #5 Snail)[1], NFT (355808323791809374/Pixel Animal #2 Duck)[1], NFT
                                      (400447526916807974/Pixel Animal #9 Praying Mantis)[1], NFT (403795508275780433/Pixel Animal #8 Lobster)[1], NFT (462013121641304989/Pixel Animal #7 Sugar Glider)[1], NFT
                                      (462671234152857849/Pixel Animal #6 Giraffe)[1], USD[0.00]
07897045                              NFT (365136284750457751/Imola Ticket Stub #140)[1], SOL[.1]

07897047                              AAVE[0.65161010], CUSDT[9], DOGE[0], SHIB[0], SOL[1.37845049], TRX[2302.09203125], USD[0.00], USDT[0]                                                                                               Yes

07897049                              NFT (418961113348276563/1204)[1], USDT[0]

07897058                              UNI[.029946], USD[0.01]

07897062                              NFT (513463359992277011/Miami Ticket Stub #476)[1]

07897064                              NFT (307879089117668490/Metabaes #1663)[1], NFT (537825947744263825/2D Squid Game Fist)[1], SOL[.1]

07897072                              AVAX[0], ETH[0], SHIB[1], SOL[0], TRX[.000046], USDT[0.00001120]                                                                                                                                    Yes

07897079                              ETH[0], ETHW[0], NFT (552244064809487657/Metaballs #145)[1]

07897086                              NFT (293619724837521404/Eitbit   Ape #6037)[1],   NFT (305280916778642619/Eitbit Ape #6451)[1], NFT (305383114215961685/Eitbit   Ape #5567)[1],   NFT (317182596082199831/Eitbit   Ape #6159)[1],
                                      NFT (353269344106256233/Eitbit   Ape #6646)[1],   NFT (362669579034417701/Eitbit Ape #6946)[1], NFT (365011583936375008/Eitbit   Ape #6218)[1],   NFT (374413774494980296/Eitbit   Ape #6444)[1],
                                      NFT (375265951080353572/Eitbit   Ape #6221)[1],   NFT (385318859232388813/Eitbit Ape #6475)[1], NFT (387404639384650039/Eitbit   Ape #6882)[1],   NFT (394766244046199315/Eitbit   Ape #6684)[1],
                                      NFT (395189285166057907/Eitbit   Ape #6969)[1],   NFT (396102689790084868/Eitbit Ape #6656)[1], NFT (402317205876175625/Eitbit   Ape #6745)[1],   NFT (404078555675329952/Eitbit   Ape #6360)[1],
                                      NFT (417003498281502255/Eitbit   Ape #6481)[1],   NFT (429252237637318143/Eitbit Ape #6163)[1], NFT (432456710837036071/Eitbit   Ape #6852)[1],   NFT (448747000735764693/Eitbit   Ape #6113)[1],
                                      NFT (459510109472748575/Eitbit   Ape #6698)[1],   NFT (465486379426339881/Eitbit Ape #6279)[1], NFT (468563144623506062/Eitbit   Ape #6139)[1],   NFT (474785313101406045/Eitbit   Ape #5809)[1],
                                      NFT (484463374819338171/Eitbit   Ape #6134)[1],   NFT (488839411629241271/Eitbit Ape #6238)[1], NFT (498035080751436764/Eitbit   Ape #5691)[1],   NFT (498471818413325093/Eitbit   Ape #6733)[1],
                                      NFT (512069387774942241/Eitbit   Ape #6898)[1],   NFT (522858134991515691/Eitbit Ape #6336)[1], NFT (524234906320835524/Eitbit   Ape #6952)[1],   NFT (541787355653994312/Eitbit   Ape #6395)[1],
                                      NFT (543053491934038165/Eitbit   Ape #6907)[1],   NFT (546525587753198072/Eitbit Ape #6406)[1], NFT (546883093739809391/Eitbit   Ape #6180)[1],   NFT (558471830502066550/Eitbit   Ape #5291)[1],
                                      SOL[1.2446], USD[1.00]
07897087                              USD[0.00]
West Realm Shires Services Inc.                                                    Case 22-11068-JTD      Doc F-3:
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                                                                                                                                         Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07897097                           NFT (290609681496682943/ApexDucks #5090)[1], NFT (292604926963830857/#9107)[1], NFT (294813553057046339/Vintage Cartoon SKULL)[1], NFT (295097611161574962/The Path Beyond
                                   #353)[1], NFT (297124569770608542/Unseen #6)[1], NFT (297798738716842570/ShroomZ | Volume UP)[1], NFT (300247883067973199/Gloom Punk #7321)[1], NFT (302421115963835457/SKULLS
                                   Airdrop 10/2)[1], NFT (305047328527924612/2215)[1], NFT (305439016721485291/#5216)[1], NFT (309584086821774843/Citizen 6#353)[1], NFT (310784142786503323/2525)[1], NFT
                                   (311594399785964170/Gloom Punk #4580)[1], NFT (311660898999625864/StarAtlas Anniversary)[1], NFT (314087059840131477/ShroomZNFT 613)[1], NFT (314487966698034077/PSY Network |
                                   ShroomZ Airdrop)[1], NFT (318330713738381204/#4026)[1], NFT (318509289226702169/Gloom Punk #7238)[1], NFT (318624070736860591/Metabaes #5133)[1], NFT (324244002347430793/StarAtlas
                                   Anniversary)[1], NFT (324444060359638109/Gloom Punk #6135)[1], NFT (325040013182706895/Gloom Punk #4601)[1], NFT (329206900916647145/Cloud Diving)[1], NFT
                                   (330950775890517431/ApexDucks #4032)[1], NFT (333346517492852276/Gloom Punk #7035)[1], NFT (334496509765109965/Gloom Punk #4561)[1], NFT (335632687651695200/Golden bone
                                   pass)[1], NFT (338333022321625776/Gloom Punk #4581)[1], NFT (339267374207583840/StarAtlas Anniversary)[1], NFT (341235937508089344/Cresciel the Fair)[1], NFT (342765497229088071/Go
                                   Ape Go #226)[1], NFT (343340250920017622/2390)[1], NFT (344785444423698746/Gloom Punk #6140)[1], NFT (344785963164964922/Galaxy Mint Pass)[1], NFT (348087509375269288/Windows
                                   #6)[1], NFT (348893035427542385/Gloom Punk #3325)[1], NFT (350231214032985930/Gloom Punk #3371)[1], NFT (352816459593937739/SolFractal #8599)[1], NFT (353997524092603759/Space
                                   Bums #6619)[1], NFT (356956515941471438/Citizen 5#451)[1], NFT (365451553217644955/Citizen 5#761)[1], NFT (367553936373591403/Frog #5652)[1], NFT (368146681365985828/2709)[1], NFT
                                   (369121842162690401/Gloom Punk #6379)[1], NFT (369846101053241201/Gloom Punk #4583)[1], NFT (370250925872251002/Gloom Punk #4603)[1], NFT (376453357693363012/2958)[1], NFT
                                   (379087397361280357/Gloom Punk #4593)[1], NFT (381247178152260047/2892)[1], NFT (382110963724666299/Gloom Punk #4597)[1], NFT (383138458238267603/Gloom Punk #6474)[1], NFT
                                   (385565659183291639/#4162)[1], NFT (386376135634221371/SKULL #5673)[1], NFT (387322971630536389/Gloom Punk #6336)[1], NFT (387685055646179595/Gloom Punk #7316)[1], NFT
                                   (389458357290441250/Akneks the Resentful)[1], NFT (390727749908406789/StarAtlas Anniversary)[1], NFT (391335777929412283/SolFractal #7354)[1], NFT (391484865127767427/Space Bums
                                   #6792)[1], NFT (393540017270906504/The Beat Bop #304)[1], NFT (396717187786130314/Gloom Punk #6132)[1], NFT (397507916261743572/SKULL #3182)[1], NFT (402158513265520590/#3831)[1],
                                   NFT (402510254711002943/Gloom Punk #6338)[1], NFT (403688444213123562/Gloom Punk #6382)[1], NFT (407120143197737856/Gloom Punk #7319)[1], NFT (408502299689400652/Fly With Me
                                   #28)[1], NFT (413581757837071247/Moon 303 #13)[1], NFT (414950031149950164/Ayyo and the Artisans)[1], NFT (415454524785586010/Gloom Punk #4602)[1], NFT (419749353880690291/Soft
                                   Breeze)[1], NFT (420619993317218540/#9026)[1], NFT (421038584682511929/Gloom Punk #6131)[1], NFT (427013690836487546/StarAtlas Anniversary)[1], NFT (427391399705518256/Gloom Punk
                                   #6333)[1], NFT (429295655125194980/2605)[1], NFT (430004048891937917/Gloom Punk #7242)[1], NFT (430294938843928308/Gloom Punk #6380)[1], NFT (430796676796876348/Gloom Punk
                                   #6332)[1], NFT (434541626218336454/StarAtlas Anniversary)[1], NFT (434731683657817089/In The Summer #25)[1], NFT (436157250960376724/Citizen 6#1125)[1], NFT (437972803963165769/Under
                                   the Pine#48)[1], NFT (445094223346463392/ApexDucks #5510)[1], NFT (450699770507199677/#6491)[1], NFT (456401556266118088/Gloom Punk #6378)[1], NFT (457789888360313661/Citizen
                                   5#521)[1], NFT (458040803302724032/Gloom Punk #6128)[1], NFT (461933624699577938/SolFractal #5647)[1], NFT (462155393422931821/#9902)[1], NFT (464440246241735124/Funky Ghosts
                                   #399)[1], NFT (464632666789412967/Gloom Punk #6962)[1], NFT (464962103991050394/Gloom Punk #6136)[1], NFT (467463853356492446/#267)[1], NFT (470650442900293142/#1168)[1], NFT
                                   (472612181419821182/HIGHSHOWERS X SKELETON CREW)[1], NFT (474159588764478266/SKULL #1418)[1], NFT (477977085420311468/Space Bums #5397)[1], NFT
                                   (478350935386855746/Gloom Punk #6126)[1], NFT (481290427983152679/Gloom Punk #7322)[1], NFT (483170795224977411/Vintage Cartoon SKULL)[1], NFT (484066822582589259/3037)[1], NFT
                                   (484660580810386057/ApexDucks #2248)[1], NFT (486045206684970751/Gloom Punk #7317)[1], NFT (486962398327396569/SKULL Staking)[1], NFT (487147290665840064/Crimson Skies #188)[1],
                                   NFT (494115848418114917/Gloom Punk #3352)[1], NFT (494572676968547147/Gloom Punk #4626)[1], NFT (495085630421346920/Gloom Punk #6129)[1], NFT (496773393751368617/#152)[1], NFT
                                   (499627480551310352/#6354)[1], NFT (500267297612874400/StarAtlas Anniversary)[1], NFT (501501274074430811/Gloom Punk #6337)[1], NFT (502701532314682453/Citizen 5#957)[1], NFT
                                   (503149490001072752/ApexDucks #3520)[1], NFT (504906537697209454/ApexDucks #3209)[1], NFT (505150826655069048/StarAtlas Anniversary)[1], NFT (510024741088960520/ApexDucks
                                   Halloween #193)[1], NFT (510629093018995519/Digital Forest #34)[1], NFT (511862451634611117/Gloom Punk #3337)[1], NFT (512144327549260582/Eternal Beings #4705)[1], NFT
                                   (514523550591206847/COPE Takeover)[1], NFT (516349123366660191/Otherside)[1], NFT (516502071810420253/Gloom Punk #7318)[1], NFT (516588241230879698/Bannerisms Prototype)[1], NFT
                                   (518899579383116463/Gloom Punk #6475)[1], NFT (520855588448700069/Gloom Punk #6377)[1], NFT (521613765483585639/Galaxy Mint Pass)[1], NFT (524063315606352457/Coastal
                                   Distancing)[1], NFT (525749672424386389/Enlist)[1], NFT (526605784081919552/Finally)[1], NFT (533009633006638649/Gloom Punk #3396)[1], NFT (533070143288821970/Gloom Punk #7236)[1],
                                   NFT (534061590821993148/Gloom Punk #4550)[1], NFT (542251118914064099/ApexDucks #5718)[1], NFT (542382330232784609/ApexDucks #4664)[1], NFT (543698919504460633/#4301)[1], NFT
                                   (543784889741631723/1989)[1], NFT (544188142589419783/Citizen 5#376)[1], NFT (544855396593294257/ApexDucks #5276)[1], NFT (545308932901542672/Skeleton Crew x BasketNFT)[1], NFT
                                   (548430193193143839/Gloom Punk #7323)[1], NFT (548558820771096180/As You Are)[1], NFT (549799842435441599/Dry Your Eyes #119)[1], NFT (552417747746902474/Balance #343)[1], NFT
                                   (552887578336875446/Gloom Punk #7237)[1], NFT (553765878828765685/StarAtlas Anniversary)[1], NFT (554331459876163874/Ikebukuro #20)[1], NFT (554633490235591611/Never Alone #36)[1],
                                   NFT (556138510617648830/Gloom Punk #7320)[1], NFT (556581092589395745/#6792)[1], NFT (561081383418374574/Gloom Punk #4585)[1], NFT (561512383359129119/Unlimited #271)[1], NFT
                                   (562632429721878825/Sunset over the Sea)[1], NFT (563172149887828094/Galaxy Mint Pass)[1], NFT (563767495783492247/Gloom Punk #6133)[1], NFT (563817446355955333/Gloom Punk
                                   #6137)[1], NFT (564258789733910652/The Kr3w #22)[1], NFT (574265225678647252/#3707)[1], NFT (575824946715651457/Cyber Frogs Ramen)[1], NFT (576106709333901961/1890)[1], NFT
                                   (576315660340281395/Citizen 5#646)[1], SOL[.01]


07897098                           NFT (318447442207850714/Microphone #3915)[1], NFT (381215996048778028/DOGO-IN-500 #1118)[1]

07897099                           TRX[.000001], USDT[0.00000049]

07897108                           ETHW[.0005], NFT (553682522504976069/Kiddo #3331)[1], USD[0.01]

07897115                           NFT (550029018288320349/Microphone #2274)[1]

07897117                           NFT (477110419447987998/Eitbit Ape #586)[1]

07897119                           NFT (317243484044245916/Eitbit Ape #564)[1]

07897122                           NFT (427413335894604573/3352)[1]

07897132                           USD[1.76], USDT[.3670058]

07897143                           BTC[0], ETH[0], MATIC[0.99229637], SOL[0]

07897146                           ETH[0], ETHW[0]

07897147                           NFT (313431885075425899/Romeo #3944)[1], NFT (500749850013122862/Good Boy #205)[1]

07897152                           NFT (411397384083327378/Bahrain Ticket Stub #1026)[1], NFT (504521360891200884/Entrance Voucher #4065)[1]

07897153                           NFT (309263588843323039/Eitbit Ape #851)[1]

07897156                           NFT (467388607522435297/Peanug and Thugbirdz: Volume 1)[1]

07897157                           NFT (511492571962820029/134)[1]

07897160                           NFT (300766069127849445/Series 1: Wizards #477)[1], SHIB[1.17337954], SOL[.02409762], USD[0.00]                                                                                          Yes

07897167                           SOL[30], USD[5.00]

07897168                           NFT (392296547097386664/2522)[1]

07897170                           NFT (459450833070969244/Surging Josephs #327)[1], USD[0.19], USDT[.08991685]

07897177                           USD[1.04]

07897179                           NFT (425585243010319042/SolDad #2981)[1], NFT (506536670653681358/Megalodon Rogue Shark Tooth)[1], USD[3.48]

07897183                           NFT (416573814576092419/Microphone #5670)[1]

07897186                           BRZ[1], CUSDT[4], DOGE[1], ETH[0.21277764], GRT[.0315937], TRX[9], USD[0.00], USDT[1.08218468]                                                                                           Yes

07897187                           NFT (441183999085244370/Microphone #5331)[1]

07897197                           USD[0.00]

07897202                           NFT (375570976711873613/Microphone #3351)[1]

07897206                           USD[315.48]

07897207                           NFT (332871283694651599/3266)[1]

07897209                           USD[1.18], USDT[0]

07897234                           BRZ[1], DAI[0], DOGE[1], ETH[0], SHIB[3]                                                                                                                                                 Yes
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                                                                                                                                            Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07897240                              NFT (381376286064776471/4664)[1]

07897243                              ETHW[.01269713], SOL[0], USD[0.00]

07897244                              NFT (294494412048264209/The Hill by FTX #5386)[1], NFT (530671667372250648/3202)[1], SOL[.00000001]

07897245                              NFT (490181323130074397/Entrance Voucher #3036)[1]

07897249                              NFT (342336707873176064/Kash, the Grumpy)[1], NFT (346381161772192454/Sollama)[1]

07897250                              ETH[0], SOL[0.00000001], USDT[0]

07897252                              NFT (494645067765115716/6282)[1]

07897258       Contingent, Disputed   DOGE[0]

07897266                              CUSDT[1], DOGE[1], GRT[1], SHIB[2], TRX[2], USD[0.00]                                                                                                                              Yes

07897297                              NFT (352161583406627996/Bahrain Ticket Stub #872)[1]

07897299                              NFT (445556826011895592/2533)[1]

07897303                              NFT (383078091070276628/Microphone #7014)[1]

07897316                              CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                       Yes

07897318                              NFT (318497292359056993/1065)[1], NFT (466393936886154682/SolFractal #6641)[1]

07897324                              MATIC[0], SOL[0]

07897328                              NFT (307736564931731087/Bahrain Ticket Stub #1103)[1], NFT (406489978958228883/FTX - Off The Grid Miami #5637)[1]

07897333                              USD[0.01], USDT[.001]

07897345                              NFT (541729476954187380/7516)[1]

07897347                              NFT (494241059251199058/FTX - Off The Grid Miami #5991)[1], SOL[.16944], USD[2.00], USDT[1.2456]

07897349                              NFT (506120804217192516/Entrance Voucher #1763)[1]

07897357                              NFT (423676590423363006/2D Squid Game Torso)[1]

07897359                              NFT (507086216724800379/Goblin Experiment 9104)[1]

07897360                              ETH[3.04972915], ETHW[3.04844826], SOL[.00000001], TRX[1], UNI[12.25729162]                                                                                                        Yes

07897361                              USD[0.00]

07897363                              NFT (403565439763604354/Unity #18)[1]

07897368                              BTC[.00012876]                                                                                                                                                                     Yes

07897373                              BAT[0], GBP[0.00], SHIB[0], TRX[0], USD[0.00]

07897377                              NFT (441934688528746122/1561)[1]

07897378                              NFT (484333065651514479/708)[1]

07897379                              USD[0.00]

07897380                              NFT (348186323305959248/3551)[1]

07897393                              NFT (348395209185883719/Saudi Arabia Ticket Stub #1473)[1]

07897400                              NFT (361041865450859748/1740)[1], NFT (374256486768479725/1568)[1]

07897402                              SOL[.01]

07897403                              SOL[1.08732697], USD[0.00]

07897413                              SOL[.15]

07897415                              NFT (449252007836956787/Apocalyptic Sunset)[1], SOL[.20009], USD[15.32]

07897426                              NFT (293603396453891660/2969)[1]

07897427                              NFT (395897443264426885/CORE 22 #366)[1], NFT (486156524238069121/The Hill by FTX #6526)[1], SOL[0]

07897435                              SOL[.00990272], USD[10.00]

07897440                              SOL[.00223236], USD[0.11]

07897443                              USD[0.01]                                                                                                                                                                          Yes

07897445                              NFT (411062051448922031/Microphone #7966)[1]

07897455                              NFT (418270078229716522/Baby Blinkin Mushy #006 - Yellow Top)[1], USD[14.97]

07897461                              BRZ[299.347121], CUSDT[3757.34570792], ETH[.06742957], ETHW[.06659369], LTC[.72539091], SHIB[4663011.7060777], USD[271.34]                                                         Yes

07897468                              NFT (377810323450936076/1230)[1]

07897477                              CUSDT[2], USD[0.00]

07897493                              NFT (289062619882600366/Periskop)[1]

07897498                              NFT (339333175387124593/Entrance Voucher #2111)[1], NFT (366133970232635746/GSW 75 Anniversary Diamond #341 (Redeemed))[1], NFT (446321004323116805/Austin Ticket Stub #109)[1],   Yes
                                      NFT (471257909917115572/GSW Western Conference Semifinals Commemorative Ticket #969)[1], NFT (479471183109235327/Humpty Dumpty #1662)[1], NFT (486536500588786305/Singapore
                                      Ticket Stub #161)[1], NFT (487145558520317864/Japan Ticket Stub #153)[1], NFT (563512123779785013/GSW Championship Commemorative Ring)[1], USD[0.13]

07897503                              USDT[.90151872]

07897507                              NFT (358760843161012489/805)[1]

07897516                              USDT[2.708604]

07897519                              BRZ[2], NFT (322165248986479706/3376)[1], NFT (540281541988273768/FTX - Off The Grid Miami #775)[1], SHIB[3], SOL[.00000001], USD[0.00], USDT[0.00000020]

07897529                              NFT (297965575191006904/195)[1]

07897530                              PAXG[.0186], USD[0.00], USDT[66.67216116]

07897532                              NFT (439912789850072706/255)[1]

07897533                              NFT (297794824719368976/5484)[1], NFT (465770026828267335/1646)[1]
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07897542                              BTC[0.00002155]

07897553                              NFT (298771810953773380/Death Enclaimed #2)[1], NFT (307348056730864679/Messiahship Collection #2)[1], NFT (309821020584566916/AI-generated landscape #59)[1], NFT
                                      (313536606466730796/AI-generated landscape #21)[1], NFT (322852565256887956/Baby Blinkin Mushy #002 - Green Top)[1], NFT (326213005083421896/Zeus Art #1)[1], NFT (369532317521728805/
                                      Lionel Messi)[1], NFT (402152749388274302/Captain America )[1], NFT (407148253460523604/Star Wars Sketch #1)[1], NFT (419100722951400005/Beta #2)[1], NFT (452380818785227311/Dancing in
                                      the Wind)[1], NFT (460177129845770888/ Mbappe)[1], NFT (528051766354526206/AI-generated landscape #5)[1], NFT (528477677281733350/Red Eye)[1], NFT (533381182268881534/ Ronaldo)[1],
                                      NFT (558649697837717509/Medusa - Cosmic Edition #1)[1], NFT (566534014210972947/AI-generated landscape #24)[1], NFT (567898506806458476/Enter the Matrix)[1], NFT
                                      (575399372720278093/AI-generated landscape #17)[1], SOL[2.94905311], USD[4.48]
07897557                              USD[545.27]                                                                                                                                                                              Yes

07897558                              NFT (307416225261195569/Cyber Samurai #4366)[1], NFT (371431084390149613/Cyber Samurai Tensei Ceremony Announcement)[1]

07897561                              SOL[9.12896], USD[1.36], USDT[.00124819]

07897562                              NFT (446290974107196267/The Hill by FTX #1747)[1]

07897566                              NFT (321811655607977479/483)[1], NFT (325369727008918502/2581)[1], NFT (329895647484458151/Gloom Punk #9326)[1], NFT (338199767780917636/Gloom Punk #9218)[1], NFT
                                      (339992580991257164/Gloom Punk #9325)[1], NFT (342729060910987648/692)[1], NFT (371038349837745776/Gloom Punk #9258)[1], NFT (376533776142027551/1162)[1], NFT
                                      (379489182547257379/Gloom Punk #9323)[1], NFT (384073141509466832/1580)[1], NFT (385291757113371111/1002)[1], NFT (419270438276395923/1872)[1], NFT (424122454085876422/Gloom
                                      Punk #9322)[1], NFT (457361124546976777/Gloom Punk #9330)[1], NFT (465126871132158877/Space Bums #1708)[1], NFT (465142539394619518/2286)[1], NFT (486019350458696483/3650)[1],
                                      NFT (486689824389394674/2186)[1], NFT (487833383298442165/3501)[1], NFT (510020897296439939/3747)[1], NFT (513793615257638414/Gloom Punk #9324)[1], NFT
                                      (517272654374785118/Gloom Punk #9217)[1], NFT (523665443184540227/3472)[1], NFT (524059688084498594/Gloom Punk #9243)[1], NFT (528103233649202031/4333)[1], NFT
                                      (551031537826675394/1894)[1], NFT (552851748702488108/Gloom Punk #9328)[1], NFT (553980989092799587/Gloom Punk #9329)[1], SOL[1.5345]
07897571                              CUSDT[4], GRT[1], TRX[1], USD[0.01]

07897575                              USD[2.01]

07897601                              NFT (307841786965143736/The Hill by FTX #6621)[1], USD[0.76]

07897606                              BAT[31.22892725], BRZ[1], CUSDT[14], DOGE[1], LINK[8.9905462], SOL[1.09080688], TRX[2], USD[0.00]                                                                                       Yes

07897612                              BF_POINT[300], MATIC[111.31782766], NFT (295197703560067375/Barcelona Ticket Stub #621)[1], NFT (443134810765499286/Saudi Arabia Ticket Stub #194)[1], USD[8.29]

07897621                              NFT (288316596888802224/BLUEBUD)[1], NFT (290140353506945979/DEEPERBLUE)[1], NFT (290955945765663427/STONNIBLUE)[1], NFT (293960666213102203/katzenmalen 10#42 STYX)[1],
                                      NFT (305696805150910945/katzenmalen - EGGRY)[1], NFT (340579787363701555/PIRSCH)[1], NFT (340585723290538005/katzenmalen 35#18 SKRULLA)[1], NFT (341931359952806827/DEEP CAT
                                      DREAMS #54 GANGSTERMAU)[1], NFT (344142280985755989/DEEP CAT DREAMS #92 SCUSI)[1], NFT (345419023798093588/DEEP CAT DREAMS #111 TRIPPY)[1], NFT
                                      (347892571704141212/MII)[1], NFT (350532043476748382/SOL)[1], NFT (360592781101298899/SCHUBBL)[1], NFT (373691056338750128/katzenmalen 22#03 CRACK)[1], NFT
                                      (387468017865699853/YOUNGB)[1], NFT (398147794574841166/DEEP CAT DREAMS #86 WINKS)[1], NFT (398431805599018285/katzenmalen 35#11 GUTEFREIEKATZE)[1], NFT
                                      (405017278103545846/DEEP CAT DREAMS #83 KIRKEL)[1], NFT (415945889811539560/HTMLHUNDI)[1], NFT (419901019716425032/HUNDI EXTENDED)[1], NFT (421433039696409265/BULIP)[1],
                                      NFT (424888032367557042/KETAMINA)[1], NFT (430077455853950962/PETER)[1], NFT (435041991520172823/CROQUE)[1], NFT (439274679388668976/katzenmalen 35#06 SHARY)[1], NFT
                                      (442544783753949151/katzenmalen interactive)[1], NFT (445152193809704305/STRUDELCAT)[1], NFT (445284322683059754/ZAGN)[1], NFT (447284059472483528/SWIRL)[1], NFT
                                      (447464464727618475/katzenmalen 35#05 KATZISTISCH)[1], NFT (461962500580445879/RUSSI)[1], NFT (471997399474157961/FLEPS)[1], NFT (483318635946670384/ZKUARE No. 2)[1], NFT
                                      (491795794616892985/FREEFOUR)[1], NFT (494610511156445641/SLOPPY)[1], NFT (495306925708340754/7154)[1], NFT (497488264688915517/WHISKERS)[1], NFT
                                      (498961206667925465/katzenmalen 35#20 DANGER)[1], NFT (521681757702758758/STONNISWIRL)[1], NFT (525283271981355811/AKTRO)[1], NFT (529753795497980531/katzenmalen 35#03
                                      PILLA)[1], NFT (541676024422319865/CHEEMS#1696)[1], NFT (544147859224815243/MRWURZ)[1], NFT (548169878400070836/DEEP CAT DREAMS #98 HALFCAT)[1], NFT
                                      (559252660008206532/DEEP CAT DREAMS #107)[1], NFT (564292487393958753/PINKSCHUBBL)[1], NFT (571801914950562742/DEEP CAT DREAM #95 GREENGRAS)[1], NFT
                                      (574356279415892658/TWOGETHER)[1], SOL[.2739]
07897623                              ETHW[.41095275], USD[0.00]

07897638                              GRT[1.00291136], SOL[103.67341296], USD[0.00]                                                                                                                                           Yes

07897641                              NFT (566797934586050521/Microphone #5604)[1]

07897646                              NFT (342486453473652848/3891)[1]

07897654                              NFT (534031805948482590/MONKETTE BABY #2095)[1]

07897656                              NFT (486614350712696494/Spider Tribal Green)[1]

07897658                              NFT (309611009938174859/Coachella x FTX Weekend 1 #22239)[1]

07897661                              CUSDT[1], DOGE[22.93166708], GRT[3.73990634], LINK[.17941457], MATIC[3.66251089], SHIB[141839.92011463], USD[0.00]                                                                      Yes

07897665                              SOL[0]

07897666                              BRZ[1], CUSDT[1], DOGE[2], SHIB[1], TRX[2], USD[0.01]

07897670                              DOGE[2], ETH[.17478127], ETHW[.1745213], SHIB[1], USD[0.00]                                                                                                                             Yes

07897671                              ALGO[574.4400632], CUSDT[3], DAI[20.8288787], DOGE[6865.2550253], ETH[.07632476], ETHW[.07537836], GRT[557.59370357], MATIC[336.3847914], NFT (441541330171273200/Australia Ticket      Yes
                                      Stub #177)[1], NFT (456820671028900890/Crypto Avatar Art #13)[1], NFT (512972949289582046/Barcelona Ticket Stub #772)[1], NFT (527792432127307370/Nifty Nanas #5836)[1], NFT
                                      (550659666742511160/#2537)[1], SHIB[15695478.44251538], SOL[6.3045031], TRX[6], USD[0.00]
07897672                              NFT (307401289957990360/355)[1]

07897674                              NFT (357045113384339944/Megalodon Rogue Shark Tooth)[1], USD[1.27]

07897677                              SOL[.08]

07897691                              BTC[0], MATIC[0], USD[0.00]                                                                                                                                                             Yes

07897694                              NFT (339530861456702930/Lunarian #3691)[1], SOL[.1]

07897696                              NFT (494319375187724980/738)[1]

07897700                              BRZ[1], CUSDT[1], DOGE[436.53501207], GRT[216.28538311], USD[0.01]

07897702                              AAVE[.00966], BTC[.0000627], ETH[.00098859], ETHW[.00098859], USD[0.01]

07897706                              BTC[.00045214], CUSDT[2], USD[0.04]

07897707                              SOL[.5]

07897709                              BTC[.0021], USD[0.24]

07897711                              SOL[0.01813613]

07897714                              SOL[12.58583532], USD[0.01]

07897715                              NFT (325747482660824590/1935)[1]

07897724                              NFT (441565385554308868/438)[1]

07897725       Contingent, Disputed   NFT (328431323258501576/2468)[1], NFT (347399389366327039/2468)[1], SOL[.006]

07897726                              SHIB[16483500], SOL[4.58837279], USD[1.94]

07897729                              NFT (379753288967334724/151)[1], NFT (441150712451301738/213)[1]
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07897737                              SOL[.00037024]                                                                                                                                                                        Yes

07897745                              NFT (354858721205242341/APEFUEL by Almond Breeze #282)[1], SOL[.16902]

07897751                              SOL[0], USD[700.21]

07897753                              ETHW[6.29957275], USD[5.79]

07897763                              NFT (339879382040351664/Champs Proof of Attendance #21)[1], NFT (343779616015112179/The Hill by FTX #8490)[1], NFT (427875382175928753/Imola Ticket Stub #678)[1], NFT
                                      (465877341707299723/FTX Crypto Cup 2022 Key #26297)[1]
07897769                              NFT (304587555308873107/2505)[1]

07897774                              NFT (420891876710768092/Fukinsei)[1], NFT (569769736071844449/Lobster Shack x SKULLS Grey)[1]

07897779                              NFT (516274704763084477/SKYLINE #3739)[1]

07897780                              USD[0.00]

07897782                              NFT (485334644053521621/Microphone #7008)[1]

07897784                              SHIB[1], USD[0.00], USDT[0]

07897788                              NFT (459602780461872193/2491)[1], NFT (569568925203910292/2106)[1]

07897792                              NFT (449972262961101794/Degen Trash Panda Merch Token)[1]

07897796                              NFT (350816344102560352/191)[1]

07897801                              BTC[.05572561], DOGE[2], GRT[1], SHIB[1], TRX[1], USD[1.66]                                                                                                                           Yes

07897803                              SOL[.09]

07897807                              NFT (349440571648846594/Basic Spider BoneBys)[1], NFT (567846748973247761/Boneworld #7637)[1], NFT (567856157950070509/4959)[1]

07897817                              ETHW[.025974], LINK[4.3], USD[43.99]

07897819                              USD[0.00], USDT[0.00000001]

07897825                              BTC[0], SOL[0], USD[0.00], USDT[0]

07897833                              NFT (288859353303554318/MagicEden Vaults)[1], NFT (300551332844272716/SPSB #502)[1], NFT (334955089865586859/MagicEden Vaults)[1], NFT (350684524358091502/MagicEden Vaults)[1],
                                      NFT (364796906386821706/Pesky Crystal)[1], NFT (376936427249597572/Pesky Penguins #6804)[1], NFT (390482054738136554/Pesky Penguins #2907)[1], NFT
                                      (398931895135383117/PeskyPenguins.io)[1], NFT (456982534612049740/Klipart Klassix - Noot Fiction 1)[1], NFT (458270653044625449/MagicEden Vaults)[1], NFT (460801347633906472/Pesky
                                      Penguins #1592)[1], NFT (493801437423567275/MMB #356)[1], NFT (510266444506031380/MagicEden Vaults)[1], NFT (514604954910013331/Penguin Brawler #1479)[1]

07897835                              NFT (297002287449752406/Sergeant Badge)[1], USDT[1.0526196]

07897836                              BTC[.0048806], CUSDT[1], USD[0.63]                                                                                                                                                    Yes

07897842                              NFT (455194536078783737/Microphone #6965)[1]

07897845                              USD[9.48]

07897851                              CUSDT[5], DOGE[.00219224], LINK[.0000165], LTC[0.00000433], MATIC[.00011322], SHIB[2], TRX[.00239295], USD[0.00]                                                                      Yes

07897855                              NFT (380132464078790968/Romeo #1106)[1], USD[3.09]

07897861                              NFT (373851077570472367/Pixel FTX Logo)[1], NFT (431473422034552914/Microphone #521)[1]

07897863                              ETH[.00000049], TRX[.000001], USD[0.00], USDT[0.00000186]

07897865                              DOGE[1], ETH[.00925708], ETHW[.00914764], USD[0.00]                                                                                                                                   Yes

07897872                              USD[0.00], USDT[0]

07897878                              BTC[0], USD[0.00]

07897880                              NFT (341944528874076715/5065)[1]

07897881                              BTC[.00293511], ETH[0.13088956], LINK[.77685337], SOL[2.92271659], USD[0.00]

07897887                              TRX[.0000002], USD[0.01], USDT[.0000002]

07897901                              USD[0.00]                                                                                                                                                                             Yes

07897902                              USD[0.00]

07897908                              USD[0.00], USDT[0.00000011]

07897914                              USD[1000.00]

07897918                              NFT (383212279895030130/5174)[1], NFT (411190837771774799/1483)[1]

07897922                              BAT[1.00285924], BTC[.00000442], TRX[2], USD[0.06]                                                                                                                                    Yes

07897927                              ETH[1.6798285], ETHW[1.6791229], LINK[0], USDT[0]                                                                                                                                     Yes

07897929                              DOGE[762.16548144], NFT (296153712597250805/Banana Boost)[1], NFT (353887570995086651/Solninjas #8221)[1], NFT (447766675706939607/FTX Cap)[1], NFT (525310638786195359/Ape
                                      #2436)[1], NFT (525697362733011891/Knightdom #8638)[1], SOL[0], USD[285.06]
07897930                              USD[90.00]

07897931                              BTC[0], ETH[0], USD[0.00], USDT[0.00000001]

07897937       Contingent, Disputed   NFT (301428668982984232/Soulless #178)[1], SOL[.004]

07897956                              ETH[0], NFT (372040906466832159/Microphone #5748)[1], USD[0.00], USDT[0.00000642]

07897959                              USD[18.12]

07897967                              SOL[1.41952423], USD[0.00]

07897968                              NFT (294690933060325191/FTX - Off The Grid Miami #5506)[1]

07897981                              NFT (350323863957343635/449)[1]

07897983                              SOL[.06724821], USD[0.00]

07897996                              NFT (348031291699449276/Imola Ticket Stub #2424)[1]

07898000                              USD[0.48]

07898009                              NFT (409211181936723401/766)[1]

07898011                              SOL[0], TRX[0], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07898012                           NFT (567555636563641963/SolBunnies #1432)[1]

07898018                           NFT (341058212671257978/4304)[1], NFT (360395354054650805/4239)[1], NFT (373832035689535044/Puppy #4882)[1], NFT (379448545626626451/4367)[1], NFT (413661474754036795/3701)[1],
                                   NFT (417632226230914275/474)[1], NFT (469373230167288984/405)[1], NFT (502462270264843605/4148)[1], NFT (543130984820284505/Cow #4882)[1]
07898024                           USDT[.72950128]

07898027                           USD[50.00]

07898036                           USDT[1.7248715]

07898041                           BTC[.06543182], DOGE[10864.15579604]                                                                                                                                                           Yes

07898044                           NFT (288779945661502964/#5699 Inverse Bear)[1], NFT (288927657915563407/Baku Ticket Stub #2036)[1], NFT (290910972325430821/Elysian - #6415)[1], NFT (291433912506962604/StarAtlas
                                   Anniversary)[1], NFT (291554010768835636/Eitbit Apes)[1], NFT (294249390410571338/Elysian - #1203)[1], NFT (299115748079625773/Saudi Arabia Ticket Stub #1011)[1], NFT
                                   (300809621051045468/Barcelona Ticket Stub #732)[1], NFT (311418377201351126/ApexDucks #4232)[1], NFT (314145862307617057/Imola Ticket Stub #2376)[1], NFT (319183408294682758/FTX EU
                                   - we are here! #257755)[1], NFT (326468996955726589/Austria Ticket Stub #256)[1], NFT (338240240528855365/Barcelona Ticket Stub #717)[1], NFT (359020297411617275/StarAtlas Anniversary)[1],
                                   NFT (361412991325377238/FTX EU - we are here! #257758)[1], NFT (365325601868865740/Settler #3776)[1], NFT (369233877384003291/ALPHA:RONIN #977)[1], NFT
                                   (373810290971465672/ALPHA:RONIN #322)[1], NFT (378195637204251120/Metabaes #2433)[1], NFT (382290211440761217/StarAtlas Anniversary)[1], NFT (386286312932300827/Settler #3194)[1],
                                   NFT (390107618871337362/#2302 Inverse Bear)[1], NFT (393093875905016778/ALPHA:RONIN #955)[1], NFT (400530194590452508/Montreal Ticket Stub #129)[1], NFT
                                   (401877924936702550/Monaco Ticket Stub #876)[1], NFT (402158251872906581/Silverstone Ticket Stub #211)[1], NFT (404214664870231673/The Hill by FTX #37)[1], NFT (409201064517141378/FTX
                                   EU - we are here! #257891)[1], NFT (416070870315377973/Astral Apes #1196)[1], NFT (420907969606631722/FTX EU - we are here! #258025)[1], NFT (422072748477731967/Australia Ticket Stub
                                   #828)[1], NFT (433606825951408014/StarAtlas Anniversary)[1], NFT (434174888659465036/StarAtlas Anniversary)[1], NFT (444233183120941605/FTX x Fragadelphia Proof of Attendance #28)[1], NFT
                                   (454334581288959716/FTX Crypto Cup 2022 Key #2091)[1], NFT (469107453738163743/Eitbit Ape #151)[1], NFT (470096985183087881/Astral Apes #882)[1], NFT (471148249640951746/The Hill by
                                   FTX #5281)[1], NFT (474685629260348108/StarAtlas Anniversary)[1], NFT (475416235923400206/Champs Proof of Attendance #20)[1], NFT (475463833068086730/Belgium Ticket Stub #906)[1], NFT
                                   (478061703048266684/StarAtlas Anniversary)[1], NFT (478741191460665609/Eitbit Ape #5607)[1], NFT (479709503356198388/Bahrain Ticket Stub #120)[1], NFT (489937114999028711/Montreal
                                   Ticket Stub #1374)[1], NFT (496636904009544222/Munk #2693)[1], NFT (497422889659296708/Terraform Seed)[1], NFT (502767106351505740/StarAtlas Anniversary)[1], NFT
                                   (505005290047275539/Lunarian #7219)[1], NFT (505027869782304227/Eitbit Ape #3368)[1], NFT (517535861097935110/Miami Ticket Stub #225)[1], NFT (518863305276867383/TOKEN2049 - we are
                                   here! #2)[1], NFT (528308802521672194/ALPHA:RONIN #308)[1], NFT (531590350486032022/ALPHA:RONIN #425)[1], NFT (545239737083977922/FTX EU - we are here! #259855)[1], NFT
                                   (552328409925738421/Imola Ticket Stub #1814)[1], NFT (553713161898894829/Munk #1657)[1], NFT (555575620210423547/France Ticket Stub #165)[1], NFT (562522654515744961/3D SOLDIER
                                   #1824)[1], NFT (572143499503709907/FTX EU - we are here! #257888)[1], NFT (572412454965484266/Hungary Ticket Stub #264)[1], NFT (575605820848588102/StarAtlas Anniversary)[1], NFT
                                   (575934077543006346/FTX EU - we are here! #257897)[1], SOL[.25075], USD[1.28]

07898052                           NFT (453544520714718038/Entrance Voucher #2977)[1]

07898061                           NFT (295306156720116173/The Golden Bull)[1], NFT (317122162704909399/Hair #10)[1], NFT (327311623105290726/SBF pop art #1)[1], NFT (334816564329735698/SprayPaint #3)[1], NFT
                                   (346840747707638188/SBF Hair & Signature #5 #11)[1], NFT (388338487279818511/Low Tide)[1], NFT (391945713497119912/Dots #3)[1], NFT (466749392684285881/420utils #3)[1], NFT
                                   (491616097734985568/SATOSHI )[1], NFT (526485006905875955/Canvas Tag)[1], NFT (526756351830143829/Throwies #3)[1], NFT (531583261308488286/SHA 256)[1], NFT
                                   (547818188834058200/Hair)[1], NFT (555579774592759901/Digital Renderings)[1], USD[2.00]
07898067                           USD[0.00], USDT[1.33280827]

07898068                           NFT (302487592322769355/3620)[1], NFT (383977086296105403/2839)[1], NFT (559424172803220567/2952)[1]

07898069                           TRX[1], USD[104.74]                                                                                                                                                                            Yes

07898090                           USD[1.11]

07898098                           NFT (498440204836368871/1350)[1]

07898102                           ETHW[.39074], NFT (402374378301648956/5142)[1], USD[1.19]

07898106                           NFT (433403452547705680/2224)[1]

07898109                           NFT (493904970975871391/2995)[1]

07898111                           NFT (310682404488444056/4274)[1], NFT (329726350601260114/249)[1], NFT (349595607749937732/306)[1], NFT (360331114562320217/340)[1], NFT (432119777530517553/124)[1], NFT
                                   (434974681741922345/326)[1], NFT (435537139185813122/299)[1], NFT (488767369482737838/162)[1], NFT (561752291724616897/336)[1]
07898113                           BTC[.00000017], CUSDT[1], DOGE[4], SHIB[1], TRX[2], USD[0.00]                                                                                                                                  Yes

07898117                           CUSDT[1], DOGE[4], ETH[0], TRX[1], UNI[1], USD[0.00], USDT[4]

07898118                           USD[0.01]

07898127                           NFT (459443589199399064/Imola Ticket Stub #2273)[1], SOL[.05]

07898128                           NFT (438645971262285492/Imola Ticket Stub #607)[1], SOL[.03735]

07898131                           AVAX[8.0027], BTC[.2223843], ETH[1.34479813], NFT (391484435852856598/Entrance Voucher #2222)[1], USD[0.37]

07898147                           SOL[.07512]

07898149                           NFT (298064979913146083/MagicEden Vaults)[1], NFT (314130981378878699/MagicEden Vaults)[1], NFT (384238839679886473/MagicEden Vaults)[1], NFT (485052715695963724/MagicEden
                                   Vaults)[1], NFT (493400575049612638/MagicEden Vaults)[1], NFT (525571998513093105/Bear Silver Coin #778)[1], SOL[.16]
07898163                           NFT (544253786769384376/YTU&DyorEX Blockchain Certificate)[1]

07898165                           NFT (453317650483023816/Romeo #999)[1], NFT (463445840961714583/Saudi Arabia Ticket Stub #1618)[1]

07898169                           NFT (427808620263226839/1461)[1], NFT (434866694968099162/1401)[1]

07898174                           USD[16159.32], USDT[0.00000001]

07898181                           USD[0.28]                                                                                                                                                                                      Yes

07898183                           SOL[.27068388]

07898186                           SOL[17.79673], USD[0.52]

07898189                           ETH[.000768], ETHW[.000768], SOL[711.907], USD[13.73]

07898190                           SOL[.05]

07898193                           BTC[0], CUSDT[4], GRT[1.00312819], LTC[0], MATIC[0], TRX[1], USD[0.00]                                                                                                                         Yes

07898210                           SOL[.14085]

07898212                           USD[0.08]

07898215                           NFT (400422325580196479/Solmech warriors #64)[1]

07898216                           CUSDT[2], DOGE[1], SHIB[1], USD[0.00]

07898222                           USD[0.00]

07898224                           NFT (508676027627834548/Spectra #782)[1], USD[176.00]

07898225                           CUSDT[1], DOGE[1], USD[1.09]                                                                                                                                                                   Yes

07898226                           BTC[0], DOGE[0], SHIB[2], TRX[1], USD[0.00], USDT[0]
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
                                                                                                  Amended Schedule 1754      Filed
                                                                                                                      Nonpriority     06/27/23
                                                                                                                                  Unsecured           Page 404 of 1384
                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07898227                              USD[300.00]

07898231                              USD[0.46]

07898239                              USD[1.39]

07898240                              CUSDT[2], SOL[2.64313614], USD[0.00]

07898241                              NFT (298130341605783800/Gloom Punk #1817)[1], NFT (300031342643773990/SolFractal #4991)[1], NFT (311623179792122632/MagicEden Vaults)[1], NFT (337600730970155728/Golden bone
                                      pass)[1], NFT (373904771150705780/MagicEden Vaults)[1], NFT (419305488265706274/MagicEden Vaults)[1], NFT (424932627793512250/Cyber Frogs Ramen)[1], NFT
                                      (435561934350948402/MagicEden Vaults)[1], NFT (447015529292855075/Gloom Punk #6533)[1], NFT (469168278941066564/SolFractal #4587)[1], NFT (540266627156368132/Frog #8242)[1], NFT
                                      (543017229078215478/MagicEden Vaults)[1]
07898242                              BTC[.0291622], SOL[.00526], USD[4.15], USDT[4.78931402]

07898253                              NFT (460887253666467266/Fancy Fan Art #010)[1], NFT (575121574357646192/Fancy Fan Art #009)[1]

07898254                              NFT (447839813133843809/122)[1]

07898258                              USD[2.54]

07898268                              NFT (420648344102253261/Solninjas #3871)[1], SOL[.07]

07898279                              NFT (492344353459265146/Humpty Dumpty #1381)[1]

07898281                              BTC[.00002799], ETH[.00032645], ETHW[1.10332645], NFT (356489009190135016/Romeo #177)[1], USD[0.00]

07898294                              MATIC[703.45231416], USD[1799.00]

07898296                              NFT (405030299655091405/5002)[1]

07898301                              ETH[1.245753], ETHW[1.245753], USD[22.10]

07898303                              BRZ[1], BTC[.00001337], DOGE[1], SHIB[1], TRX[3], USD[1.46]

07898305                              NFT (532644953776776250/3D Squid Game Legs)[1], USD[0.00]

07898311                              NFT (305215697027619618/Aces )[1], NFT (376455914668192833/Bel Air)[1], NFT (401193504544532992/Cabo #1 of 5)[1], NFT (403841478270142211/in the air)[1], NFT (412923054960158070/54     Yes
                                      Chevy )[1], NFT (437689865162093175/Kitty #1 of 2)[1], NFT (457993736685654131/777)[1], NFT (496069835185713093/Eyes of the Tiger)[1], NFT (512558361325304177/26 T)[1], USD[0.11]

07898314                              SOL[.00619369], USD[0.00], USDT[1.53505981]

07898322                              NFT (289051933855655955/2974 Floyd Norman - OKC 1-0128)[1], NFT (289180748660239653/Birthday Cake #1316)[1], NFT (292293480564210346/2974 Floyd Norman - CLE 5-0144)[1], NFT
                                      (297588647623095933/2974 Floyd Norman - OKC 2-0140)[1], NFT (305316901674370499/2974 Floyd Norman - CLE 6-0195)[1], NFT (311398946021133293/The 2974 Collection #1316)[1], NFT
                                      (333931677419381523/2974 Floyd Norman - OKC 4-0111)[1], NFT (393024271347199069/2974 Floyd Norman - CLE 3-0126)[1], NFT (418171510116061283/2974 Floyd Norman - OKC 6-0223)[1], NFT
                                      (426245991830032183/2974 Floyd Norman - OKC 3-0010)[1], NFT (449338906485871546/2974 Floyd Norman - CLE 4-0012)[1], NFT (473657154176334422/2974 Floyd Norman - CLE 2-0142)[1], NFT
                                      (506438715334906439/Birthday Cake #0739)[1], NFT (508291230502936255/The 2974 Collection #1313)[1], NFT (541711819601471577/Birthday Cake #1313)[1], NFT (556828149693579128/2974
                                      Floyd Norman - OKC 6-0001)[1], NFT (563871490719577484/2974 Floyd Norman - CLE 1-0025)[1], NFT (567474631606155195/2974 Floyd Norman - OKC 5-0246)[1], NFT
                                      (571901246913496322/Birthday Cake #1314)[1], USD[10.50]
07898338                              NFT (364647504390610888/325)[1], NFT (441575398020250905/341)[1], NFT (464242150716555075/5680)[1], NFT (513387467438793799/338)[1], NFT (530088270738327556/4395)[1]

07898353                              USD[0.00]

07898363                              NFT (308194976155936774/5269)[1]

07898364                              NFT (300629136161205035/GalaxyKoalas # 43)[1], NFT (352822893464103879/GalaxyKoalas # 11)[1], NFT (368789836164936739/GalaxyKoalas # 48)[1], NFT (412256997768340110/GalaxyKoalas #
                                      78)[1], NFT (448762069794945851/GalaxyKoalas # 380)[1], NFT (539968145332012890/GalaxyKoalas # 47)[1]
07898375                              ETHW[.64973298], SHIB[31], USD[2411.72]                                                                                                                                                  Yes

07898401                              NFT (289596296186179081/Space Bums #0937)[1], NFT (344809013345709089/Galaxy Mint Pass)[1], NFT (346694580553420006/NWM #2918)[1], NFT (361738372214802579/Space Bums #1002)[1],
                                      NFT (383457728178101869/Geckos Spaceship)[1], NFT (396257349344575621/MagicEden Vaults)[1], NFT (406470423656289551/Entrance Voucher #2976)[1], NFT (412190395858489129/1530)[1],
                                      NFT (443329985515468844/MagicEden Vaults)[1], NFT (477032106391587547/NWM #1538)[1], NFT (488089120194726613/Entrance Voucher #1444)[1], NFT (501946462541381565/3D Alien Defi
                                      Land Farmer)[1], NFT (507111151934976262/Galaxy Mint Pass)[1], NFT (509065245990162869/3D Squid Game MP5)[1], NFT (518794665018829172/987)[1], NFT (543154083560869394/MagicEden
                                      Vaults)[1], NFT (557183007607738804/3D SOLDIER #3133)[1], NFT (567185134413103991/3D Jason's Hockey Mask)[1], NFT (568860478519299187/3D SOLDIER #3141)[1], USD[32.45]

07898420                              ETH[0], SOL[0], USD[0.00]

07898423                              SOL[.0075], USD[0.03]

07898429                              ETHW[.9790981], USD[0.60]

07898431                              USD[0.00]

07898446                              NFT (362363241638754679/2974 Floyd Norman - OKC 6-0235)[1], NFT (439512735230597351/2974 Floyd Norman - OKC 2-0131)[1], USD[0.97], USDT[0]

07898454                              NFT (414673039085026427/MOUSE#228)[1]

07898462       Contingent, Disputed   NFT (352756732347529917/Eitbit Ape #3005)[1], NFT (396668386694512674/1623)[1]

07898467                              NFT (334610955688063350/The Hill by FTX #6616)[1], NFT (388269872117157144/FTX Crypto Cup 2022 Key #2755)[1], SOL[.06396563]

07898470                              NFT (385815454189259890/Australia Ticket Stub #2225)[1]

07898471                              BTC[0], SOL[0], USD[0.00]

07898472                              NFT (443414138392965589/Sloth #8731)[1], NFT (567623398274230923/Ravager #1861)[1], SHIB[2], USD[4.19]                                                                                   Yes

07898479                              CUSDT[4], USD[105.74]                                                                                                                                                                    Yes

07898482                              USD[0.00], USDT[0]

07898484                              BTC[.04073989], DOGE[4], ETH[.39208738], ETHW[.3919227], SOL[4.92113849], TRX[1], USD[1.43]                                                                                              Yes

07898488                              BTC[0], ETH[0]

07898494                              NFT (293808877109041585/Succulent Series A15)[1], NFT (310275176562201884/Succulent Series A21)[1], NFT (310319512255409906/Succulent Series A13)[1], NFT
                                      (316892821774511757/Succulent Series A18)[1], NFT (391151846529330980/Succulent Series A16)[1], NFT (410143342406797622/Succulent Series A22)[1], NFT (414804570708922527/Venting
                                      #2)[1], NFT (419979243225837056/My Love)[1], NFT (432940789338638961/Flight)[1], NFT (444531645818258775/Venting)[1], NFT (446281267976397938/Succulent Series A19)[1], NFT
                                      (446781155547631948/Watcher)[1], NFT (537301654115019634/Succulent Series A17)[1], NFT (558198210570106436/Succulent Series A23)[1], NFT (560396849157904491/Succulent Series A12)[1],
                                      NFT (565048201121004565/Finding Yourself)[1], SOL[.00257429], USD[0.00]
07898501                              NFT (540344218807903178/2507)[1]

07898505                              USD[1.74]

07898510                              AAVE[.04605491], BTC[.00016512], CUSDT[3], ETH[.0023912], ETHW[.0023912], SOL[.21566556], TRX[126.28936849], USD[0.00]

07898526                              NFT (437639165901965396/3114)[1], NFT (510549174664732180/2565)[1], NFT (540989695607507181/2420)[1]

07898532                              SHIB[1], TRX[1], USD[0.00], USDT[1.00020999]                                                                                                                                             Yes
West Realm Shires Services Inc.                                                    Case 22-11068-JTD      Doc F-3:
                                                                                               Amended Schedule 1754      Filed
                                                                                                                   Nonpriority     06/27/23
                                                                                                                               Unsecured           Page 405 of 1384
                                                                                                                                         Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07898536                           NFT (471867315655729187/1493)[1]

07898537                           USD[130.01]

07898540                           BTC[.0256743], ETH[.348651], ETHW[.348651], SOL[7.5479393], USD[4.70]

07898543                           BTC[.00000002], SHIB[3], SOL[0], TRX[1], USD[0.00]                                                                                                                                           Yes

07898555                           SOL[.00000001], USD[0.00], USDT[0.00000062]

07898557                           USD[0.04]                                                                                                                                                                                    Yes

07898562                           SOL[.00000001]

07898565                           USD[0.02]                                                                                                                                                                                    Yes

07898573                           NFT (487927691629715170/Golden Hill #65)[1], USD[3.01]

07898578                           CUSDT[3], USD[0.00]

07898585                           ETH[.000944], ETHW[.000944], SOL[.00878], USD[1.76]

07898592                           USD[0.00]

07898600                           NFT (470850009404667850/Megalodon Rogue Shark Tooth)[1]

07898604                           SHIB[7099900], SOL[2.54941], UNI[3.0969], USD[6.93]

07898617                           USD[6.99]

07898620                           BTC[0], SOL[0], USD[0.00], USDT[0]

07898625                           ETH[0], SOL[0]

07898626                           AVAX[15.5836], SOL[1.942]

07898631                           SHIB[600000], USD[0.09], USDT[0]

07898632                           NFT (289843273464800358/Gold Starfish)[1], NFT (326384923646453192/Silver Starfish)[1], NFT (354529603217912718/Diamond Starfish)[1], NFT (369658279294623829/24K Gold Surfboard)[1], NFT
                                   (378256819706182832/Silver Surfboard)[1], NFT (487444474833216836/2D Pumpkin Head)[1], NFT (560497727820567956/Gold Skull)[1]
07898638                           NFT (471442197847792958/Warriors 75th Anniversary Icon Edition Diamond #874)[1], SHIB[999000], SOL[0], USD[0.00], USDT[0]

07898642                           NFT (334021879398207254/Spectra #814)[1], NFT (523334491327485986/Cosmic Creations #772)[1]

07898647                           CUSDT[2], DOGE[5], SHIB[2], SOL[0], USD[0.00]                                                                                                                                                Yes

07898665                           CUSDT[4], USD[0.00]                                                                                                                                                                          Yes

07898666                           BCH[0], LTC[0], NFT (289115330585690600/Crypto Infinite #34)[1], NFT (297858231726806047/Crypto Infinite #25)[1], NFT (298214425601842757/Crypto Infinite #27)[1], NFT
                                   (304106939988866796/Mario and Luigi)[1], NFT (308338396617078393/SHIB INU #2)[1], NFT (313195218288490511/Crypto Infinite #28)[1], NFT (361286704249377085/Crypto Infinite #18)[1], NFT
                                   (369760259826791138/Crypto Infinite #11)[1], NFT (369849809599627363/SHIB INU)[1], NFT (371600370805985031/Crypto Infinite #15)[1], NFT (374420009154785141/Mustang - King of Cars !!
                                   #4)[1], NFT (380942438793102424/Mustang - King of Cars !! #3)[1], NFT (402274734934705311/Crypto Infinite #12)[1], NFT (411911565201189265/Crypto Infinite #19)[1], NFT
                                   (411950113021927941/Crypto Infinite #6)[1], NFT (412305019122016486/Crypto Infinite #35)[1], NFT (412976768476301433/Simpsons #3)[1], NFT (434827893174966194/Crypto Infinite #31)[1], NFT
                                   (439148650859282768/Crypto Infinite #3)[1], NFT (446296882824354866/Crypto Infinite #14)[1], NFT (450926443381997288/Crypto Infinite #23)[1], NFT (451938220032299621/Simpsons #2)[1], NFT
                                   (473931029143474354/Crypto Infinite #8)[1], NFT (499394687698637541/Crypto Infinite #17)[1], NFT (515444320312433378/Mustang - King of Cars !! #5)[1], NFT (523220155050945593/Pac Man
                                   Meets Star Wars)[1], NFT (524604280210967640/Crypto Infinite #24)[1], NFT (527820751703337734/Nature #3)[1], NFT (529204640034475632/Crypto Infinite #9)[1], NFT
                                   (546028805102338530/Crypto Infinite #30)[1], NFT (547215078576139312/Crypto Baby #15)[1], NFT (549699988915390904/Crypto Infinite #26)[1], NFT (553639090006478268/Homer & Peter
                                   #DADBOD ( Family Guy / Simpsons ))[1], NFT (554433270683797665/Mustang - King of Cars !! #2)[1], NFT (561291463972205333/Crypto Infinite #7)[1], NFT (566594512752054026/Crypto Infinite
                                   #33)[1], NFT (568981661928122184/Crypto Infinite #32)[1], USD[0.00]
07898667                           NFT (564626358420727470/SOLYETIS #4767)[1], SOL[.1]

07898679                           BAT[2], BF_POINT[200], CUSDT[1], ETH[0], GRT[1], LINK[1.00537513], MATIC[1.00164518], NFT (367538671248838477/Imola Ticket Stub #563)[1], NFT (388477738130533128/*EXCHANGE OFFER - Yes
                                   EXCHANGE.ART)[1], NFT (535954616042491393/Barcelona Ticket Stub #1951)[1], SUSHI[1.03744035], TRX[1], USD[367.94], USDT[0.00000001]
07898680                           NFT (501819997610020273/Spectral Mist)[1], NFT (557619402671561575/Grim #637)[1]

07898681                           NFT (370050350030643274/Microphone #420)[1], NFT (488408008593220567/Entrance Voucher #926)[1]

07898685                           DOGE[3335.987], USD[0.31]

07898713                           BTC[.00034015], CUSDT[3], USD[0.01]                                                                                                                                                          Yes

07898716                           NFT (295956396101983392/Toothache #7520)[1], NFT (304871615877643588/BIT #1022)[1], NFT (327045035315315305/Degen Cat1791)[1], NFT (332466854552809910/Toothache #7486)[1], NFT
                                   (340559202982309486/Toothache #3903)[1], NFT (347704069799177769/Toothache #7523)[1], NFT (350875179624913602/Superior Degens #2186)[1], NFT (351071706237714151/BIT #1937)[1], NFT
                                   (359501827802956268/BIT #3252)[1], NFT (372185504505444581/Degen Cat1531)[1], NFT (374566782548459627/Toothache #2519)[1], NFT (374863133950566306/Degen Cat1606)[1], NFT
                                   (377254944718736289/BIT #2209)[1], NFT (377584644007097379/Toothache #1851)[1], NFT (382127175797223038/BIT #2644)[1], NFT (384809226961306320/Degen Cat1780)[1], NFT
                                   (397029250155904446/BIT #2434)[1], NFT (399356458563934478/Toothache #3685)[1], NFT (407104208953040351/Degen Cat1781)[1], NFT (413471451771318184/Neon Gods Society #905)[1], NFT
                                   (415428485730549896/Toothache #7497)[1], NFT (419604004750713793/BIT #2430)[1], NFT (422289400675477885/Degen Cat1783)[1], NFT (437297617765218393/Toothache #4280)[1], NFT
                                   (439261502300545858/Degen Cat179)[1], NFT (448452265160599695/Superior Degens #19)[1], NFT (456602043456457869/Toothache #3478)[1], NFT (467490306619563779/BIT #2407)[1], NFT
                                   (472590843842746171/Superior Degens #305)[1], NFT (476866827468904874/Superior Degens #1699)[1], NFT (492857028508418411/Superior Degens #1721)[1], NFT
                                   (498369523726613989/Toothache #7519)[1], NFT (498912149201431848/Neon Gods Society #876)[1], NFT (509586690738470546/Toothache #7524)[1], NFT (540327046556936288/Toothache
                                   #829)[1], NFT (540433144722560897/BIT #2437)[1], NFT (548909073057751238/Toothache #2131)[1], NFT (555363318581171448/BIT #2438)[1], NFT (563877241443832503/BIT #2213)[1],
                                   USD[0.04], USDT[0]
07898717                           SOL[.288]

07898718                           SOL[.00026484]                                                                                                                                                                               Yes

07898719                           NFT (499502634237312089/Australia Ticket Stub #1115)[1], SOL[.02]

07898730                           NFT (490660109588095033/SolSoul-05794)[1]

07898739                           USD[0.00]

07898745                           CUSDT[5], DOGE[.08769274], MATIC[.0122318], SHIB[1], USD[58.02]                                                                                                                              Yes

07898753                           NFT (568286401581129411/ApexDucks #4802)[1], SOL[.7594483]

07898754                           NFT (292342719010523709/2974 Floyd Norman - OKC 5-0281)[1], SOL[2.2], USD[2.01]

07898759                           NFT (446620547193469603/SolSoul-04744)[1]

07898761                           NFT (522091014012312635/Coachella x FTX Weekend 1 #17681)[1]

07898764                           USD[50.00]

07898778                           NFT (430874398133157111/Mech #4781)[1], NFT (452459842757359271/MP Alpha Drop 1)[1], USD[0.08]

07898787                           NFT (360253941253611179/SolSoul-08430)[1]

07898792                           NFT (490463427245916003/SolSoul-08074)[1]
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                                                                                                                                         Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07898793                           BTC[0], ETH[0.37806863], ETHW[8.50348797], LINK[352.53796047], NEAR[555.42645716], SOL[0], USD[0.00]

07898794                           DOGE[2], GBP[38.36], SHIB[3], USD[7.35]                                                                                                                                              Yes

07898796                           NFT (395890900042232852/Megalodon Rogue Shark Tooth)[1]

07898800                           USD[0.00]

07898801                           SOL[.00000001]

07898809                           SOL[2.32500001], USD[5.51]

07898811                           NFT (574347480948647179/Brett's Kitchen Cats)[1], SOL[140], USD[1276.39]

07898815                           NFT (303623396312172926/Kitty Key)[1], NFT (455917762271716564/PepperMint)[1], NFT (483114587922998076/Bloombell)[1], NFT (514049606806762757/Munch moon)[1], NFT
                                   (530826205436301886/Unika Nightmare)[1], NFT (536060931071006195/Aurorian #8253)[1], NFT (542496402161792595/Helios 3D)[1], NFT (556112472645662627/DinoBitten)[1], NFT
                                   (564893728451122903/Crystal Egg)[1]
07898831                           ETH[0], USD[0.00], USDT[0.00000001]

07898842                           BAT[3.00551231], BRZ[10.2780558], BTC[.24635651], CUSDT[26], DOGE[430.72361735], ETH[15.52315395], ETHW[15.48027855], GRT[3.00086669], LINK[10.22527897], LTC[.5139116], SHIB[13],   Yes
                                   SOL[55.80505499], SUSHI[8.48079674], TRX[25.75187719], UNI[1.00948297], USD[4391.19], USDT[1.0190793]
07898847                           ETH[.00000042], ETHW[.00000042], USD[0.66]                                                                                                                                           Yes

07898850                           MATIC[0], NFT (382676267297542851/Microphone #8633)[1], SOL[0], USD[0.00], USDT[0.00000475]

07898869                           ETH[0], ETHW[0], USD[0.00]

07898876                           BRZ[29.94780418], CUSDT[249.33180207], DAI[5.41648468], USD[0.00]                                                                                                                    Yes

07898894                           BRZ[1], BTC[0], ETH[.0000403], SHIB[1], SOL[.00000001], USD[0.00]                                                                                                                    Yes

07898907                           BF_POINT[100], DOGE[1], ETH[.01327177], ETHW[.01310761], LTC[1.06478446], USD[0.00]                                                                                                  Yes

07898913                           USD[30.00]

07898915                           TRX[107.75153073], USD[0.00]                                                                                                                                                         Yes

07898921                           MATIC[.00029332], SHIB[4.26533344], SOL[.00000882], USD[0.01]                                                                                                                        Yes

07898939                           USD[103.33]

07898940                           SOL[3.4965], USD[2.14]

07898945                           USD[0.00]

07898957                           USD[0.00]

07898962                           NFT (335900448148679150/2974 Floyd Norman - CLE 2-0244)[1], NFT (472389488304760485/2974 Floyd Norman - CLE 1-0279)[1]

07898981                           USD[2.72]

07898994                           USD[180.00]

07899001                           NFT (304695346141423010/SIMP#193)[1]

07899003                           BRZ[1], BTC[.02501719], CUSDT[18], DOGE[3], ETH[.20795659], ETHW[.20773999], TRX[3], USD[0.01]                                                                                       Yes

07899014                           ETH[0.00285046], ETHW[0.00285046], PAXG[0], SOL[.31042736], USD[97.70]

07899016                           SOL[.00045694]                                                                                                                                                                       Yes

07899019                           NFT (430015051809593706/Microphone #5259)[1]

07899022                           BTC[0.00001715], ETH[.00000001], ETHW[0], USD[0.00]

07899030                           ETH[0.00000002], LTC[0], MATIC[0], NFT (302469307738962466/Humpty Dumpty #307)[1], NFT (487976005980116477/Juliet #627)[1], NFT (561166208340589720/Romeo #1086)[1], NFT
                                   (565917906940153424/Good Boy #5469)[1], SOL[0], USD[0.00], USDT[0.00000011]
07899036                           NFT (350307417749428046/Pumpkin #87)[1], NFT (448317284390116287/SolSoul-08577)[1], NFT (495663869346677614/Pumpkin #113)[1], NFT (549672371646060109/SolSoul-02986)[1]

07899041                           LINK[.02913219], USD[0.58]

07899044                           CUSDT[7], USD[0.00]                                                                                                                                                                  Yes

07899059                           LINK[.0694], USD[6.18]

07899061                           NFT (364727959218949579/SolFractal #8092)[1]

07899071                           BRZ[1], DOGE[1], SHIB[1], SOL[.32849337], USD[0.00]

07899075                           NFT (321879684185001295/Space Bums #3161)[1], SOL[0], USD[0.00]

07899076                           NFT (553196137114417020/Xperiment NFT #1095)[1]

07899077                           USD[0.00]

07899082                           NFT (381075196261710066/FatCats)[1], NFT (493955537548422106/SolCat #5487)[1]

07899085                           ETH[1.02310118], ETHW[1.02310118], USD[0.00]

07899089                           ETHW[.65], NFT (494830541754046666/Vintage Sahara #560)[1], NFT (499342483963639219/Golden Hill #370 (Redeemed))[1]

07899099                           SOL[.03996], USD[0.42]

07899117                           AVAX[12.4811], SOL[0.28787000], USD[873.44], USDT[0]

07899124                           NFT (343361142049022185/1695)[1]

07899125                           BF_POINT[300], BRZ[1], DOGE[3], ETH[.00001139], ETHW[1.24675826], GRT[1], SHIB[1], TRX[2], USD[0.00]                                                                                 Yes

07899128                           ALGO[0], USD[0.00]

07899134                           SHIB[3295232.99410819], USD[0.96]

07899153                           BTC[.12273021], ETH[.12626509], ETHW[.1251379]                                                                                                                                       Yes

07899159                           SOL[.27147793], USD[0.00]

07899163                           USD[0.00], USDT[0]

07899172                           ETH[.00000001], ETHW[12.06050002], USD[0.00]

07899182                           SOL[.00386966]
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                                                                                                                                         Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07899188                           NFT (302734453762337072/2974 Floyd Norman - CLE 1-0067)[1], NFT (310723885967783689/2974 Floyd Norman - OKC 4-0280)[1], NFT (313304090992513973/Birthday Cake #1801)[1], NFT
                                   (410113504995775820/The 2974 Collection #1801)[1], NFT (449262835495953596/Birthday Cake #2059)[1], NFT (542439393670618136/The 2974 Collection #2059)[1], SOL[29.21816382], USD[31.18]

07899199                           SOL[0], USDT[0]

07899209                           BTC[0], CUSDT[1], SHIB[1], USD[0.23], USDT[0]                                                                                                                                             Yes

07899214                           LTC[.00810338], SOL[15.469136], USD[0.18]

07899216                           BTC[.00760772], SHIB[1], SOL[2.38614674], USDT[0]                                                                                                                                         Yes

07899217                           ETH[0], SOL[0], USD[0.01], USDT[0.00000443]

07899218                           BTC[0], NFT (541640931959418711/Miami Ticket Stub #897)[1], SOL[0.10369624], USD[0.00]

07899219                           BTC[0.00000001], DOGE[1], SHIB[24], SOL[3.54460148], USD[0.00]

07899220                           NFT (409028162201971530/Grim #412)[1], NFT (553737005111469595/Lacunar Leech)[1], SOL[.00000001]

07899223                           NFT (392523918767040713/Microphone #1599)[1]

07899234                           CUSDT[1], ETH[.01334378], ETHW[.01334378], USD[0.01]

07899249                           BRZ[1], ETH[.5], GRT[1], SHIB[1], TRX[1], USD[45.49]

07899253                           NFT (574170325344585928/The Hill by FTX #7907)[1], USD[4.58]

07899259                           ETH[.0000198], ETHW[.0000198], USD[0.01]                                                                                                                                                  Yes

07899262                           BTC[0], SOL[0], USD[0.22]

07899268                           SOL[.00000001]                                                                                                                                                                            Yes

07899277                           USD[0.01]

07899307                           BTC[0], USD[0.97]

07899309                           DOGE[2], USD[0.00]                                                                                                                                                                        Yes

07899315                           USD[0.00]

07899322                           BF_POINT[400], GRT[1], USD[0.00], USDT[0]                                                                                                                                                 Yes

07899330                           USD[106.64]

07899343                           BTC[.00043975], SOL[.18928835]                                                                                                                                                            Yes

07899346                           BRZ[1], ETH[.00000001], ETHW[0.80605311], NFT (288545412687486149/BabyBlob #2)[1], NFT (413684981671188189/BabyBlob #112)[1], NFT (427373675732819078/BabyBlob #146)[1], NFT              Yes
                                   (433977531649718216/BabyBlob #7978)[1], NFT (441572946222785570/BabyBlob #91)[1], NFT (468512916503290501/BabyBlob #200)[1], NFT (514225915657857104/BabyBlob #199)[1], NFT
                                   (540421233993168970/BabyBlob #18)[1], NFT (563695819862942308/BabyBlob #157)[1], SHIB[4], SOL[0], USD[0.00], USDT[0.00000001]
07899349                           USD[0.00]

07899350                           NFT (546692605968317141/Sloth #4902)[1]

07899363                           USD[0.01]                                                                                                                                                                                 Yes

07899383                           BTC[.00937928], CUSDT[1], DOGE[964.46301917], ETH[.24680519], ETHW[.24660944], GRT[1.00312819], LTC[1.17880878], TRX[2], USD[0.39]                                                        Yes

07899390                           BRZ[1], BTC[.00000015], USD[0.01]                                                                                                                                                         Yes

07899391                           TRX[.000001], USD[0.01]

07899399                           USD[0.60], WBTC[0]

07899402                           SHIB[529.4843276], USD[327.05]                                                                                                                                                            Yes

07899417                           BRZ[.00445338], BTC[.00000022], CUSDT[5], DOGE[.00502778], ETH[.0015731], ETHW[.00155942], SHIB[25.97960204], TRX[1], USD[0.00]                                                           Yes

07899422                           NFT (317559378561514938/Entrance Voucher #24887)[1], SOL[5.34], USD[-49.85]                                                                                                               Yes

07899438                           USD[0.00]

07899443                           NFT (319623212855205933/Bone #1237)[1]

07899444                           NFT (361017816427024920/Birthday Cake #0650)[1], NFT (472226037466786892/The 2974 Collection #0988)[1], NFT (502434419820478858/The 2974 Collection #0650)[1], NFT
                                   (526213908990484362/Birthday Cake #0988)[1]
07899446                           USD[0.24]

07899447                           ETH[0], SOL[0], USD[0.00]

07899451                           USD[20.75]                                                                                                                                                                                Yes

07899460                           SOL[19.82016], USD[1546.33]

07899471                           SOL[.00000001], USDT[.000683]

07899474                           SOL[.33], USD[0.97]

07899476                           TRX[0], USD[0.11]

07899480                           NFT (297534510830579186/Humpty Dumpty #969)[1], NFT (361504831459295931/Entrance Voucher #3912)[1]

07899493                           BTC[.01151299], TRX[.10059835], USD[0.00]

07899497                           BAT[454.287], GRT[1247], MKR[.51], USD[13.69]

07899498                           USD[0.00], USDT[0.00000001]

07899500                           SOL[.109672], USD[22.10]

07899506                           NFT (349104114595099963/Bahrain Ticket Stub #198)[1]

07899507                           BTC[.00869507], USD[0.00]

07899508                           NFT (359242733044019910/Romeo #3483)[1], NFT (492697138626468296/Microphone #10384)[1], NFT (517279870270472507/Entrance Voucher #5642)[1]

07899512                           SOL[.03042087], USD[0.00]

07899523                           USD[0.01], XRP[221.999]

07899525                           BTC[0.05389978], ETH[.347], ETHW[.347], SOL[29.25876], USD[1162.13]

07899533                           USD[0.02]                                                                                                                                                                                 Yes
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07899534                              BRZ[1], CUSDT[5.66218009], DOGE[.28218075], KSHIB[.28348892], LTC[.30231423], MATIC[.61358213], SHIB[148.57911518], SOL[.05275214], TRX[2], USD[0.00]                                   Yes

07899540                              BTC[0.00000092], CUSDT[2], DOGE[2360.79262751], GRT[1.00348543], SHIB[1], USD[0.03]                                                                                                     Yes

07899544                              DOGE[1], SOL[.00046793], USD[0.00]                                                                                                                                                      Yes

07899547                              DOGE[1], ETH[0], ETHW[0], USD[474.10], USDT[0]                                                                                                                                          Yes

07899563                              ETH[0], NFT (422492221488401483/Basic Spider Bone-fil-A)[1], SOL[.000255], USD[0.00]

07899564                              USD[0.00]                                                                                                                                                                               Yes

07899565                              USD[0.01], USDT[.7364404]

07899578                              CUSDT[9882.03250654], USD[0.63]                                                                                                                                                         Yes

07899579                              BTC[.00000001], CUSDT[6], ETH[.00000005], ETHW[.00000005], USD[0.01]                                                                                                                    Yes

07899589                              KSHIB[920], USD[0.42], USDT[0]

07899591                              NFT (571821776040959388/Wonky Stonk #8095)[1]

07899595                              NFT (379700535112325681/Coachella x FTX Weekend 2 #17547)[1], NFT (384836199355580198/Oasis Ocotillo Ferris Wheel #448)[1]

07899609                              SHIB[69091915.5327143], USD[0.13]                                                                                                                                                       Yes

07899614                              NFT (424957172798412216/KAM1 #1048)[1], NFT (511006970889907016/Hannya Mask)[1]

07899624                              SOL[.11268]

07899628                              BTC[.02355808], ETH[.10175735], ETHW[.10175735], SOL[3.69945772], USD[0.00]

07899632                              NFT (311309526158336211/BB Yellow #4)[1], NFT (326388890826071547/BB Orange #2)[1], NFT (332560471285469312/BB Coin #2)[1], NFT (342988185223946588/BB Los Angeles #1 of 1 #4)[1],
                                      NFT (344388498595503501/BB Coin)[1], NFT (374830609624273907/BB Blue #5)[1], NFT (377311843232325828/Baseball Coin #2)[1], NFT (392905821221018134/Baseball Coin #4)[1], NFT
                                      (402995917807786685/Mysterious Path)[1], NFT (415438650155171844/Baseball Coin #1)[1], NFT (441692885765408993/Gray Baseball Coin #3)[1], NFT (442100992973852720/Bahrain Ticket Stub
                                      #1899)[1], NFT (442464403574988631/Reflection '12 #56)[1], NFT (451207599918094300/BB Yellow #5)[1], NFT (470319825776918658/BB Los Angeles #1 of 1 #3)[1], NFT
                                      (494664691982048924/Night)[1], NFT (501841495443133020/BB Purple #2)[1], NFT (532056897357779329/Cairo Museum)[1], NFT (548153623493629872/Walking)[1], NFT
                                      (562388462642578725/Class)[1], NFT (567403972732542741/BB Green #3)[1], USD[106.24]
07899642                              USD[0.27]

07899649                              TRX[.000002], USD[0.01]

07899656       Contingent, Disputed   ALGO[0], SHIB[0]                                                                                                                                                                        Yes

07899658                              SOL[1.09843529], USD[0.00]

07899659                              USD[1.53]

07899666                              USD[0.00]

07899673                              BF_POINT[100], BRZ[1], CUSDT[2.00474308], DOGE[5.00009132], MATIC[.00005687], NFT (334016277847309704/Imola Ticket Stub #20)[1], SHIB[4.38163384], SOL[.07105734], TRX[.00085272],      Yes
                                      USD[2.15]
07899677                              SOL[.00048888], USD[0.00]

07899686                              USD[14.73]                                                                                                                                                                              Yes

07899697                              BAT[0], BTC[0], DAI[0], DOGE[0], ETH[0], EUR[0.00], LTC[0], MATIC[0], SHIB[1], SOL[0], SUSHI[0], TRX[0], USD[0.00], USDT[0]                                                             Yes

07899699                              USD[100.00]

07899700                              CUSDT[2], NFT (345542372176941846/Noght #8)[1], USD[0.91]                                                                                                                               Yes

07899713                              USD[50.00]

07899739                              BRZ[6.29546417], CUSDT[37], DOGE[12.38616635], SOL[.00001322], TRX[11], USD[0.01]                                                                                                       Yes

07899740                              NFT (359246941257417994/Crypto Avatar Art #34)[1], NFT (382567558328821269/Box Poki #3)[1], NFT (409509168696729020/Box Man 251)[1], NFT (447749950034934340/Box Man 07)[1], NFT
                                      (508413062014574327/Flash Bird)[1], NFT (540596036072457734/Crypto Avatar Art #15)[1], NFT (575681042400417863/Box Man 085)[1], SOL[.093], USD[0.17]
07899744                              BTC[0], USD[0.00], USDT[0.00034193]

07899752                              NFT (304898313777728868/EXCHANGE NOTIFICATION NFT)[1], NFT (325556350209552570/Skyline FLP)[1], NFT (330410073594778906/Skyline FLP)[1], NFT (352268042478548810/SMB PASS
                                      #615)[1], NFT (366373473459390721/Tower Community NFT)[1], NFT (382755137483912467/Tower Community NFT)[1], NFT (503065689190985064/SMB PASS #392)[1], NFT
                                      (525081987090439508/EXCHANGE NOTIFICATION NFT)[1]
07899767                              BRZ[1], DOGE[1.53606976], TRX[.44243105], USD[0.01]                                                                                                                                     Yes

07899771                              USD[0.23]

07899779                              CUSDT[9], DOGE[1], SOL[0], TRX[2], USD[0.00]                                                                                                                                            Yes

07899781                              BRZ[4], BTC[.09514139], CUSDT[13], DOGE[1.28209944], ETH[.09380947], ETHW[.09380947], GRT[.63690835], SHIB[8], SOL[.00098617], TRX[7], USD[0.79]

07899788                              DOGE[1], USD[0.00]                                                                                                                                                                      Yes

07899793                              KSHIB[223.75699445], USD[0.00]                                                                                                                                                          Yes

07899809                              NFT (358980200633937880/Entrance Voucher #3054)[1]

07899813                              USD[0.01]                                                                                                                                                                               Yes

07899834                              CUSDT[1], SHIB[278241.51363383], USD[5.00]

07899838                              AAVE[1.02824121]

07899858                              DOGE[.526], SOL[.00000003], USD[0.21], USDT[.1672372]

07899864                              USD[0.01], USDT[0.00000001]                                                                                                                                                             Yes

07899884                              SOL[1.99137414], USD[0.00]

07899886                              BTC[0.00000008], DOGE[0], ETH[0], ETHW[0], LTC[0], SHIB[4], USD[0.00], USDT[0.00002328]                                                                                                 Yes
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
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                                                                                                                                            Customer Claims                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07899893                              NFT (292634762571286923/ROLE#007)[1], NFT (311449789547357366/Face#122)[1], NFT (317429574931126385/Face#351)[1], NFT (319264677494129239/Face#198)[1], NFT
                                      (320899231542889483/ROLE#134)[1], NFT (320940094981849317/Face#033)[1], NFT (322602813039713529/Romeo #3912)[1], NFT (326664394877014025/Microphone #10699)[1], NFT
                                      (329212718698713486/ROLE#435)[1], NFT (339177845014175684/ROLE#467)[1], NFT (341561364760085550/ROLE#460)[1], NFT (343772008285181077/ROLE#172)[1], NFT
                                      (345096804522228827/ROLE#368)[1], NFT (347762357581330866/ROLE#226)[1], NFT (351180841840282268/Face#234)[1], NFT (351340954576934627/ROLE#230)[1], NFT
                                      (358421509889845186/Face#056)[1], NFT (364971932547840894/ROLE#371)[1], NFT (367251258254483504/ROLE#255)[1], NFT (381825304142085651/Entrance Voucher #6003)[1], NFT
                                      (382675426191507080/ROLE#012)[1], NFT (385136051914313084/ROLE#050)[1], NFT (388717908571409979/ROLE#032)[1], NFT (389779185883426424/ROLE#124)[1], NFT
                                      (397866564444782367/ROLE#416)[1], NFT (403535524309546852/ROLE#251)[1], NFT (425091390141277387/ROLE#053)[1], NFT (431259524614395052/ROLE#422)[1], NFT
                                      (432332282503561247/ROLE#290)[1], NFT (436168947255197915/#003)[1], NFT (453917944416083797/ROLE#026)[1], NFT (455542231961443942/ROLE#179)[1], NFT
                                      (457530838750339489/ROLE#450)[1], NFT (457996432596676794/ROLE#126)[1], NFT (458524668618545709/ROLE#055)[1], NFT (469388138372120687/ROLE#350)[1], NFT
                                      (476296259989140496/ROLE#311)[1], NFT (479475340321505100/ROLE#240)[1], NFT (483664826465798903/ROLE#137)[1], NFT (486009180342697167/Face#088)[1], NFT
                                      (493010944846366346/Face #127)[1], NFT (494879500132711063/ROLE#341)[1], NFT (505025203038322376/ROLE#098)[1], NFT (516795800251236406/ROLE#252)[1], NFT
                                      (520591770821207559/ROLE#045)[1], NFT (523186220600912868/ROLE#219)[1], NFT (538495720287683977/ROLE#067)[1], NFT (561651950762265840/Face#211)[1], NFT
                                      (562128438559132341/ROLE#267)[1], NFT (563018555291107574/ROLE#355)[1], NFT (563625138860527349/ROLE#257)[1], NFT (570745444365994634/ROLE#123)[1], NFT
                                      (571812513746304651/Face#369)[1], SOL[.13132552]
07899899                              NFT (300511559031444549/Cyber Frogs Ramen)[1], NFT (303418589486330837/Golden bone pass)[1]

07899901                              USD[2.12], USDT[0]

07899906                              USD[0.00], USDT[0]

07899909                              NFT (363322052202789408/Cyber Frogs Ramen)[1], NFT (400734938701754840/SolMee #12867)[1]

07899911                              BTC[.00013478], USD[0.00]

07899913                              NFT (379712846921750053/Mind Games (Art))[1], NFT (454014694211448601/AYY LMAO)[1], NFT (533369833260817701/AYY LMAO #2)[1], NFT (541860846480849979/Life)[1], USD[0.11]

07899922                              BTC[.24530026], ETH[.00049925], ETHW[.62449925], LINK[.08481632], MATIC[.06252725], NFT (502405602687358413/Entrance Voucher #29459)[1], SOL[.00004], USD[0.00]

07899923                              NFT (391482990905892136/Australia Ticket Stub #924)[1], USD[0.00]

07899931                              BTC[.00018375], DOGE[55.03380324], MATIC[1.63969694], SHIB[4411.86560774], TRX[1], USD[0.00]                                                                                Yes

07899935                              USD[52.23]                                                                                                                                                                  Yes

07899941                              BTC[.00009727], DOGE[.8397262], ETH[.00089545], ETHW[.00089545], SOL[.00209648], USD[17.50], USDT[1.0370388]

07899948                              USD[6.33]

07899970                              USD[20.00]

07899972                              CUSDT[2], DOGE[54.147544], TRX[378.4915697], USD[0.05]                                                                                                                      Yes

07899978                              CUSDT[3], NFT (320727056790382080/Marketplace )[1], NFT (559403501711387659/Heart)[1], NFT (568234944170693239/One Heart )[1], TRX[1], USD[0.00]                            Yes

07899981                              AVAX[0], SHIB[140.27790349], USD[0.00]                                                                                                                                      Yes

07899983                              SOL[.24]

07899997                              SOL[0]

07900002                              BTC[.00147633]

07900007                              NFT (334914024562988577/Honey Bee One)[1], NFT (402935029196042341/Honey Bee Three)[1], NFT (515140650720793525/Honey Bee Two)[1]

07900017                              TRX[1], USD[6.42]                                                                                                                                                           Yes

07900021                              SOL[.01]

07900028                              USD[0.01]                                                                                                                                                                   Yes

07900037                              CUSDT[2], NFT (342621061559386825/Rubber Duckie #0036)[1], TRX[1], USD[0.00]                                                                                                Yes

07900051                              AAVE[1.11550639], BTC[.04376804], ETH[.56715016], ETHW[.56691188], SHIB[10632331.8120268], SUSHI[23.71319549], USD[27.70]                                                   Yes

07900076       Contingent, Disputed   ETH[0], SOL[.00000001], USD[0.00], USDT[0.00000185]

07900087                              DOGE[1], TRX[.000001]

07900097                              USD[1.25]

07900099                              BRZ[1], BTC[.00878271], CUSDT[1], ETH[.00597587], ETHW[.00590747], GRT[.03571408], NFT (389212743269271449/#001)[1], SHIB[3], SOL[2.16021654], TRX[3], USD[0.09], USDT[0]   Yes

07900110                              NFT (322853377580474506/Microphone #9527)[1], NFT (441703892934609965/Wombats in Disguise #39)[1], NFT (450399861956713899/Entrance Voucher #4729)[1], NFT
                                      (559397540246495631/Romeo #2322)[1]
07900115                              CUSDT[5], DOGE[324.88070236], SHIB[50792597.0746858], TRX[3], USD[0.01]                                                                                                     Yes

07900149                              BTC[.00000009], CUSDT[5], DOGE[4.00819098], ETH[.00000056], ETHW[.06093034], SHIB[9], SOL[1.09653264], TRX[3], USD[2.11]                                                    Yes

07900157                              CUSDT[1], SOL[.22218123], USD[0.00]                                                                                                                                         Yes

07900160                              ALGO[0], DAI[0], DOGE[4.36884326], ETH[0], SOL[0], TRX[10.74631202], USD[0.00]

07900164                              NFT (498392742189519529/Entrance Voucher #27790)[1]

07900168                              BTC[.0014], USD[0.95]

07900169                              SOL[.099995]

07900189                              NFT (421485672038390962/The Hill by FTX #1775)[1], NFT (491950835656967982/Entrance Voucher #4277)[1], NFT (542446063678261700/Romeo #1268)[1]

07900197                              ETH[.005], ETHW[.005], SOL[0]

07900218                              ETH[0], ETHW[0], USD[0.01], USDT[0]

07900227                              USD[9.31]

07900249                              NFT (325798540778697090/The Hill by FTX #646)[1]

07900250                              BTC[.00180569], CUSDT[2], ETH[.05137798], ETHW[.05073891], LINK[6.82308843], SHIB[4483191.6125245], TRX[3], UNI[4.3216953], USD[0.00]                                       Yes

07900252                              NFT (429042145103080423/Entrance Voucher #1785)[1]

07900264                              BTC[0], USD[3.22]

07900267                              NFT (482148856353665822/FTX - Off The Grid Miami #2838)[1]

07900288                              TRX[1139.72518545], USD[0.00]                                                                                                                                               Yes

07900291                              USD[0.00], USDT[0]

07900294                              BTC[0.00152373], CUSDT[1], TRX[1], USD[2.92]                                                                                                                                Yes
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                                                                                                                                         Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07900296                           USD[0.07]                                                                                                                                                                                Yes

07900298                           NFT (293021498769677813/Microphone #4931)[1]

07900302                           GRT[1.00035615], KSHIB[1030.51138096], USD[49.49]                                                                                                                                        Yes

07900308                           USD[0.00]

07900315                           NFT (393108619675056601/Microphone #4910)[1]

07900322                           USD[0.00], USDT[0]

07900336                           ETH[.00000001], SOL[0], USD[0.00]

07900347                           USDT[549]

07900352                           NFT (484007709804089995/The Hellions #4)[1]

07900353                           USD[5.99]

07900362                           USD[34.67]

07900368                           AVAX[.00000001], USD[0.32]

07900369                           USD[0.04]

07900373                           ETH[0.00200000], ETHW[0.00200000], USD[0.00]

07900374                           SHIB[15.63469296], USD[0.01]                                                                                                                                                             Yes

07900398                           USDT[30]

07900407                           BTC[0], CUSDT[1], USD[0.85]                                                                                                                                                              Yes

07900409                           NFT (354905118191290897/Cow #3029)[1], NFT (443236524375018022/Puppy #3029)[1]

07900412                           BRZ[1], CUSDT[3], DOGE[6.04757538], TRX[1], USD[0.00]                                                                                                                                    Yes

07900423                           SOL[.001]

07900431                           USD[0.00]                                                                                                                                                                                Yes

07900432                           USD[327.13]                                                                                                                                                                              Yes

07900438                           USD[0.00]                                                                                                                                                                                Yes

07900462                           BRZ[1], CUSDT[1], ETH[.00000018], ETHW[.00000018], USD[0.00]

07900463                           SOL[4.4], USD[2.33]

07900467                           SOL[.003]

07900468                           SOL[.12207]

07900477                           USD[0.01]                                                                                                                                                                                Yes

07900481                           BRZ[1], USD[0.00], USDT[0]                                                                                                                                                               Yes

07900486                           NFT (314009865018223577/MagicEden Vaults)[1], NFT (392304562100875377/MagicEden Vaults)[1], NFT (434321389905893408/Cyber Frogs Ramen)[1], NFT (522564736688156926/MagicEden
                                   Vaults)[1], NFT (530510527690640948/MagicEden Vaults)[1], NFT (560784163784679006/Golden bone pass)[1], NFT (571328496078525765/MagicEden Vaults)[1], NFT (576206225241737813/Frog
                                   #2654)[1], SOL[14.833995]
07900494                           NFT (512180148769284573/Microphone #1950)[1]

07900503                           NFT (419113898647975074/Saudi Arabia Ticket Stub #30)[1], SOL[.05]

07900507                           SOL[.00559948]

07900510                           USD[189.42]                                                                                                                                                                              Yes

07900512                           NFT (363487630294664107/Microphone #1637)[1]

07900516                           DOGE[1], SHIB[1], TRX[1], USD[0.00]

07900525                           NFT (428102126444235091/2741)[1]

07900539                           BRZ[.00000762], CUSDT[18], DAI[.00407915], DOGE[633.95689463], ETH[.0369211], ETHW[.03646265], NFT (457391107820621483/Mob cats collection #2)[1], NFT (460199432987820887/Gorilla       Yes
                                   #14)[1], NFT (497501065899091847/Covid-19#3#2Virus)[1], NFT (526177339230015331/A new life)[1], SHIB[5502504.26651173], SOL[.76341101], TRX[349.72590271], USD[0.00]

07900544                           SOL[.15984], USD[0.33]

07900545                           DOGE[.00001007], SHIB[53348.38878842], TRX[0.50015200], USD[0.00], USDT[0.00255600]

07900553                           MATIC[30], SOL[1], USD[36.97]

07900570                           NFT (358385029879646637/Sloth #1885)[1], NFT (364553596512042385/3D Squid Game Torso)[1], NFT (376883988932703903/SolDad #1031)[1], NFT (483666128556149635/SolDad #1340)[1],
                                   TRX[.011827], USD[0.00], USDT[0]
07900594                           ETH[.008], ETHW[.008], USD[2.47]

07900602                           NFT (433492732756106349/Warriors 75th Anniversary City Edition Diamond #310)[1]

07900604                           NFT (546147232620801716/SolSoul-08541)[1]

07900612                           NFT (405197295072090731/Imola Ticket Stub #2266)[1]

07900613                           USD[41.49]                                                                                                                                                                               Yes

07900618                           USD[0.87]

07900624                           NEAR[.02548], USD[0.00]

07900635                           BTC[.00523944], CUSDT[1], LTC[1.12959058], TRX[1], USD[0.43]                                                                                                                             Yes

07900644                           NFT (459775070003557952/FTX - Off The Grid Miami #989)[1], SHIB[1727.08646081], USD[0.00]                                                                                                Yes

07900652                           NFT (298280435843551720/969)[1]

07900654                           ETH[0]

07900663                           ETH[0], NFT (307240798576270904/Rainbow #234)[1], NFT (357314089835569734/Spider LEDs #147)[1], NFT (363143830178509432/Laser #142)[1], NFT (367678070044527109/Reflection '12
                                   #74)[1], NFT (373466691300921494/Stars #250)[1], NFT (373473102354526027/Starry Night #417)[1], NFT (411410844311010882/Reflection '18 #96)[1], NFT (455030444176899872/Reflection '16
                                   #06)[1], NFT (470296981068631296/Golden Hill #18)[1], NFT (498189903397062300/Cosmic Creations #724)[1], NFT (502963208932486919/Sun Set #750)[1], NFT (518443118289531677/Reflection
                                   '13 #65)[1], NFT (554089680617213277/Reflection '15 #38 (Redeemed))[1], NFT (572287004554153474/Golden Hill #761)[1], SOL[0.00900000], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07900664                              ETH[0.50006306], ETHW[0], SOL[0.00086206], USD[282.70]

07900671                              USD[0.00], USDT[0.00000001]                                                                                                                                                                  Yes

07900678                              BTC[0], LTC[0], USD[2.88]

07900690                              NFT (382431247487026156/Saudi Arabia Ticket Stub #1508)[1], NFT (530182039365064378/Entrance Voucher #1778)[1], USD[0.00]

07900717                              NFT (521216600599773537/Microphone #2679)[1]

07900725                              NFT (484415423907786788/Ferris From Afar #275)[1], NFT (506244579496101244/Humpty Dumpty #804)[1], SOL[.06690045], USD[0.00]

07900729                              SOL[.00009124], USD[0.00]

07900734                              NFT (314006999269476653/Frog #966)[1], NFT (320990813678823239/Eitbit Ape #1850)[1], NFT (410092225653771623/3045)[1], NFT (430768218349846167/DOTB #3063)[1], NFT
                                      (480324895487353515/Gloom Punk #9327)[1], NFT (496808721671569271/Cyber Frogs Ramen)[1], NFT (540558737419312040/Golden bone pass)[1], SOL[.0357557]
07900737                              BTC[.0506331], USD[13.78], USDT[38.81716521]

07900749                              BTC[.0124812], DOGE[1], USD[0.00]

07900751                              USD[20.00]

07900753                              BTC[.00000001], CUSDT[1], DOGE[421.42656857], SOL[0.13382671], TRX[1]                                                                                                                        Yes

07900756                              NFT (338371573808100729/Snek #1528)[1], NFT (523561441136520223/Meredith Fulenwider)[1]

07900763                              SOL[.00000408], USD[46.42], USDT[0]

07900771                              SOL[8.59]

07900783                              NFT (295019316517368825/4359)[1]

07900790                              BTC[.00199215]

07900792                              USD[10.74]                                                                                                                                                                                   Yes

07900794                              SOL[1.96]

07900803                              NFT (14903/FTX Night #17)[1], NFT (15130/Azelia #135)[1]

07900806       Contingent, Disputed   NFT (485641382611104704/621 Rip Street)[1], SOL[.00587613], USDT[0.00000130]

07900818                              CUSDT[3], DOGE[1], GRT[27.59049024], LINK[1.80715481], SUSHI[6.02554597], USD[0.00]                                                                                                          Yes

07900824                              BTC[0.00006055], ETH[.00086679], ETHW[0.61886679], USD[527.65]

07900830                              SOL[.176]

07900831                              NFT (295966165216312321/Mech #5182)[1], NFT (408019407581350958/Mech #6290)[1], NFT (418782833714469552/Mech #6331)[1], NFT (444758136273569285/Mech #3065)[1], NFT
                                      (462289416291402242/Mech #5906)[1], NFT (494948655201347665/Mech #5834)[1], NFT (514021510698953180/Mech #5097)[1], NFT (545848493187050284/Mech #4266)[1]
07900847                              BAT[1407.40846819], CUSDT[2.67501499], TRX[1], USD[0.00]

07900852                              SOL[.01]

07900863                              BRZ[1], CUSDT[1], DOGE[1], TRX[1], USD[0.00]                                                                                                                                                 Yes

07900871                              NFT (307029365245893943/Moment-491)[1], NFT (326383133439064843/Paradigm Shift)[1], NFT (348881197230202979/BrokenMaze-1474)[1], NFT (358657912481987946/BrokenMaze-1054)[1], NFT
                                      (377868667390915736/Moment-674)[1], NFT (383462932411713512/BrokenMaze-1259)[1], NFT (496586448979655030/Moment-843)[1]
07900874                              NFT (540231916735148887/Sigma Shark #6529)[1]

07900900                              ETH[0], SOL[0]

07900904                              SOL[.00004819]

07900909                              DOGE[1], GRT[43.11321992], USD[40.89]                                                                                                                                                        Yes

07900913                              BTC[0.00879289], SUSHI[1168.418], TRX[.000001], USD[55.83], USDT[1.7530628]

07900916                              NFT (542665426972780752/Pilot Series)[1], SOL[.064], USD[1.45]

07900922                              NFT (454850137533185497/Entrance Voucher #4395)[1]

07900957                              DOGE[1], SOL[.04853721], USD[0.00]

07900964                              NFT (289126469975454685/Australia Ticket Stub #400)[1]

07900965                              ETH[.00002651], ETHW[.00002651], NFT (288752930366723195/NFT Toys #10)[1], NFT (304928650185316889/Addicted to Crypto - Ethereum #6)[1], NFT (305879930811115070/Addicted to Crypto -
                                      Bitcoin #2)[1], NFT (306575764926620040/Gentleman Monkey #4)[1], NFT (307215766684299919/Addicted to Crypto - Solana #3)[1], NFT (308204007083045265/NFT Toys #4)[1], NFT
                                      (310157509628387425/Addicted to Crypto - Cardano #10)[1], NFT (322429025549968313/NFT Toys #12)[1], NFT (323627997352499806/Addicted to Crypto - Ethereum)[1], NFT
                                      (327345067809139473/FTX Barneys #2)[1], NFT (333407837295253299/FTX Barneys)[1], NFT (346699158421052092/Addicted to Crypto - Bitcoin #5)[1], NFT (352895250812233752/NFT Toys #14)[1],
                                      NFT (366488822547425094/FTX Barneys #4)[1], NFT (375947851292555185/Gentleman Monkey #11)[1], NFT (388769118058797541/Addicted to Crypto - Cardano #7)[1], NFT
                                      (399465826916853768/Addicted to Crypto - Solana #5)[1], NFT (400047148008625920/FTX Barneys #3)[1], NFT (407014069328382015/Addicted to Crypto - Cardano #6)[1], NFT
                                      (418406338836095622/Holy Unicorn Edition #10)[1], NFT (420606624272851159/NFT Toys #17)[1], NFT (424798501508741107/Addicted to Crypto - Cardano #5)[1], NFT (430490250092264862/NFT
                                      Toys #7)[1], NFT (435460977284823262/Addicted to Crypto - Bitcoin #3)[1], NFT (450880056281685216/Addicted to Crypto - Solana #6)[1], NFT (456725383328401425/Addicted to Crypto - Cardano
                                      #3)[1], NFT (465982188890719511/Addicted to Crypto - Ethereum #10)[1], NFT (465986561472114843/Mad Girl Series #17)[1], NFT (470588952192902863/NFT Toys #18)[1], NFT
                                      (494205995749252897/Addicted to Crypto - Cardano #9)[1], NFT (506653190398476877/Holy Unicorn Edition #22)[1], NFT (508950015947276839/CryptoManchos #6)[1], NFT
                                      (514394115845870988/Addicted to Crypto - Ethereum #2)[1], NFT (516441010225106776/NFT Toys #2)[1], NFT (518967558132928726/Addicted to Crypto - Ethereum #7)[1], NFT
                                      (521610859617764060/Addicted to Crypto - Solana #2)[1], NFT (524372115150302407/Addicted to Crypto - Ethereum #3)[1], NFT (524601695496958905/Sphynx Cats #2)[1], NFT
                                      (526182110400481430/Addicted to Crypto - Solana)[1], NFT (534851764299236427/Addicted to Crypto - Bitcoin #10)[1], NFT (539901206776357626/Addicted to Crypto - Solana #8)[1], NFT
                                      (544420430063531248/Holy Unicorn Edition #12)[1], NFT (547404389690119989/Addicted to Crypto - Solana #7)[1], NFT (547740699989575907/Gentleman Monkey #3)[1], NFT
                                      (548454966926505981/Addicted to Crypto - Cardano #4)[1], NFT (548779698408288104/Addicted to Crypto - Bitcoin #8)[1], NFT (555604070830263365/FTX Barneys #5)[1], SOL[.01303192],
                                      TRX[.000001], USD[97.02], USDT[0]
07900971                              NFT (339216393328861789/Microphone #7160)[1]

07900974                              NFT (334303157312678574/halaprix x ftx)[1], NFT (342943951731013710/halaprix x shapes x ftx)[1], NFT (404053333720182747/SHAPES #10)[1], NFT (529377853949148225/shapes x ftx)[1]

07900981                              ETH[.00000001], NFT (375065344147461169/ApexDucks Halloween #3111)[1], NFT (417170246076353380/Reflector #48)[1], NFT (436681201211850735/ApexDucks #740)[1], USD[38.93]

07900985                              USD[1.39]

07900992                              NFT (473903352279337161/ApexDucks Halloween #1295)[1]

07900994                              NFT (315004051624345832/ApexDucks #5427)[1], NFT (498388418668503131/ApexDucks Halloween #1800)[1]

07901006                              NFT (353204157564156840/Australia Ticket Stub #1244)[1], NFT (429549478530837809/Romeo #1166)[1], NFT (455961267315350549/Microphone #1670)[1], NFT (498825116432393369/Entrance
                                      Voucher #3964)[1], SOL[.01]
07901013                              USD[0.00]

07901014                              NFT (358330854605036430/Chosen One #1251)[1]
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07901015                              NFT (424360602004065218/APEFUEL by Almond Breeze #782)[1], SOL[.1]

07901031                              SOL[0]

07901034                              USD[0.00]

07901035                              NFT (377376658373639162/Scythe #276)[1], NFT (388701171074243124/Megalodon Rogue Shark Tooth)[1], NFT (445398299357548977/SolSoul-05102)[1], NFT (526928804852748641/Megalodon
                                      Rogue Shark Tooth)[1]
07901036                              NFT (502133859946526327/SBF Hair & Signature #2 #115)[1]

07901044                              USD[0.00]

07901056                              NFT (473349678008693964/Diamond Hand #625)[1], NFT (516075430513064680/SolCops #196 NFT)[1], NFT (521697099459612266/Diablo #556)[1]

07901059                              NFT (288901540860761499/StarAtlas Anniversary)[1], NFT (297050752133154026/Geckos Spaceship)[1], NFT (298810735538091151/StarAtlas Anniversary)[1], NFT (361992129946585579/GGSG
                                      Brawler Skin)[1], NFT (382863702172367837/StarAtlas Anniversary)[1], NFT (442243144402144485/StarAtlas Anniversary)[1], NFT (443931814582985178/Geckos Spaceship)[1], NFT
                                      (476389689695466284/StarAtlas Anniversary)[1], NFT (490835104475206972/StarAtlas Anniversary)[1], NFT (517134676518913538/StarAtlas Anniversary)[1], NFT (553157102606302975/Galactic
                                      Gecko #2302)[1], NFT (556679574297777884/StarAtlas Anniversary)[1], NFT (557709767315319190/StarAtlas Anniversary)[1]
07901067                              ETH[.0264], ETHW[.0264], USD[163.50]

07901079       Contingent, Disputed   USD[0.20]

07901087                              NFT (290335157229943627/Megalodon Rogue Shark Tooth)[1], NFT (319671836820295363/Megalodon Rogue Shark Tooth)[1], NFT (327706638504983724/Megalodon Rogue Shark Tooth)[1], NFT
                                      (341306665529783853/Megalodon Rogue Shark Tooth)[1], NFT (375342802203959172/Megalodon Rogue Shark Tooth)[1], NFT (377308430412153906/Megalodon Rogue Shark Tooth)[1], NFT
                                      (408198451310872714/Megalodon Rogue Shark Tooth)[1], NFT (409057285269867994/Megalodon Rogue Shark Tooth)[1], NFT (415156327758977930/Megalodon Rogue Shark Tooth)[1], NFT
                                      (422331822696233674/Megalodon Rogue Shark Tooth)[1], NFT (434430674894160189/Megalodon Rogue Shark Tooth)[1], NFT (436645418038130877/Megalodon Rogue Shark Tooth)[1], NFT
                                      (444263760327043350/Megalodon Rogue Shark Tooth)[1], NFT (444937066572851053/Megalodon Rogue Shark Tooth)[1], NFT (466817285833564918/Megalodon Rogue Shark Tooth)[1], NFT
                                      (472898201881624540/Megalodon Rogue Shark Tooth)[1], NFT (476326859950426610/Megalodon Rogue Shark Tooth)[1], NFT (481355195069814188/Megalodon Rogue Shark Tooth)[1], NFT
                                      (506170058971377345/Megalodon Rogue Shark Tooth)[1], NFT (548882934698527833/Megalodon Rogue Shark Tooth)[1], NFT (554063097758950135/Megalodon Rogue Shark Tooth)[1]
07901089                              SOL[.046]

07901092                              NFT (434627255598172410/Solamander #5767)[1], SOL[.00279], USD[2.32]

07901100                              NFT (397268213062556507/Sollama)[1], NFT (538150831503681486/Lake, the Outrageous)[1], SOL[.091]

07901124                              BTC[0], USD[0.00]

07901126                              SOL[0], USD[0.00]

07901128                              NFT (364210421999407993/Boneworld #505)[1], SOL[7.62]

07901129                              SOL[.1]

07901130                              USD[20.00]

07901141                              BTC[.00023294], USD[0.00]

07901161                              CUSDT[1], ETH[.12457535], ETHW[.12457535], USD[0.00]

07901166                              SOL[0], USD[0.00]

07901175                              USD[0.00]

07901178                              BTC[4.3755], USD[0.39]

07901192                              BTC[.0083916], DOGE[873.756], ETH[.143], ETHW[.143], MATIC[39.96], SHIB[6593400], SOL[.88911], USD[0.70]

07901202                              NFT (297891525062639834/Solgen #4211)[1], NFT (518857741363598304/FTX - Off The Grid Miami #668)[1]

07901203                              DOGE[1], SHIB[1], TRX[1], USD[0.86]

07901213                              BAT[1], BRZ[1], ETHW[0.08891358], EUR[3.38], NFT (302757358329787287/Bahrain Ticket Stub #665)[1], NFT (508189302968141318/FTX - Off The Grid Miami #5986)[1], NFT
                                      (549915155076640738/Hungary Ticket Stub #246)[1], SHIB[4], SOL[0], TRX[1], USDT[0]
07901239                              NFT (511219979409675653/Microphone #1747)[1]

07901266                              USD[109.04]                                                                                                                                                                             Yes

07901287                              CUSDT[5], DOGE[2], GRT[1.00083108], SOL[.00000001], TRX[1], USD[0.01]                                                                                                                   Yes

07901297                              ETH[0], NFT (299919443769717568/Feisty Fox #26)[1], NFT (313043450722270423/Feisty Fox #2)[1], NFT (334499736166302081/Feisty Fox #27)[1], NFT (347470182039878708/Arlington National
                                      Cemetery)[1], NFT (413693348591688171/Feisty Fox )[1], NFT (440395057741546878/Mount Rainier)[1], NFT (463187868759211600/Odesa National Theatre of Opera )[1], NFT
                                      (465576084897170446/Lower Tower Vilnius )[1], NFT (513705550296368764/Feisty Fox #27 #2)[1], NFT (525326974291736822/Feisty Fox)[1], SHIB[0], SOL[0.10780000], USD[0.00]
07901310                              NFT (330019666010307678/Birthday Cake #0947)[1], NFT (335676121347480491/The 2974 Collection #0676)[1], NFT (384200739624350431/Birthday Cake #0676)[1], NFT
                                      (397803712756130674/2974 Floyd Norman - OKC 6-0064)[1], NFT (489989286947403617/2974 Floyd Norman - OKC 2-0152)[1], NFT (541394749803531166/The 2974 Collection #0947)[1], NFT
                                      (571811755821647638/2974 Floyd Norman - OKC 5-0123)[1], USD[0.00]
07901322                              DOGE[56.34649249], USD[0.00]                                                                                                                                                            Yes

07901323                              BTC[.00018156], USD[0.00]                                                                                                                                                               Yes

07901335                              SOL[.219802], TRX[491.5572], USD[0.00], USDT[1.7208]

07901344                              NFT (417916016402313460/#103 Friend of Childhood)[1], NFT (427321271554447371/#102 Throne)[1], NFT (476165210296227955/Gen 0)[1], SOL[.482]

07901370                              AAVE[3.80619], ETH[.73926], ETHW[.73926], USD[1127.89], YFI[.013986]

07901371                              SOL[.04995], TRX[.000001], USDT[12.75]

07901373                              BTC[.0223], USD[6.51]

07901376                              BRZ[112.44798648], BTC[.00024217], CUSDT[6], DOGE[147.97120903], ETH[.00454335], ETHW[.00454335], KSHIB[478.05973528], SHIB[516315.57207765], SOL[.04539496], USD[0.00]

07901410                              AAVE[0.00190762], BAT[.2], BTC[0.20101994], ETH[0.00017231], ETHW[0.00077231], SOL[0.00000001], USD[-2974.39], USDT[0.00151895]

07901412                              USD[0.34]

07901417                              DOGE[5], SHIB[5], USD[0.00]

07901431                              BTC[.06379062], ETH[.00547523], GRT[1.00282979], MATIC[0], SOL[74.43298352], TRX[2], USD[0.00]

07901435                              NFT (338204671456558853/1377)[1]

07901449                              SOL[.11940451], USD[0.00]                                                                                                                                                               Yes

07901459                              BRZ[1], DOGE[1], NFT (417189492317546803/3D SOLDIER #2838)[1], SHIB[1], SOL[2.13959405], TRX[1143.40898987], USD[1.34]                                                                  Yes

07901472                              NFT (332590263985944957/2974 Floyd Norman - OKC 4-0253)[1]

07901484                              NFT (330389209223510363/Fancy Frenchies #6021)[1], NFT (553073044875277401/Fancy Frenchies #6141)[1]

07901487                              BF_POINT[300], DOGE[0], ETH[0], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07901488                              NFT (400127576466109978/Romeo #861)[1], NFT (564307214248875913/Humpty Dumpty #752)[1]

07901490                              SOL[.01]

07901499                              CUSDT[1], DOGE[70.87373665], USD[5.45]                                                                                                                                                   Yes

07901501                              USD[2000.00]

07901520                              SOL[1.66212722], USD[11.06]

07901526                              BF_POINT[200], ETHW[1.09456029], SHIB[1.00000001], USD[106.79]

07901527                              SOL[0], USD[2.29]

07901529                              USD[0.83]

07901544                              USD[0.01], USDT[8.64]

07901567                              ALGO[0.00862346]                                                                                                                                                                         Yes

07901571                              BTC[.00047329], CUSDT[1], USD[0.00]

07901574                              CUSDT[502.7877872], NFT (354623527030506659/Marcus Allen's Playbook: USC vs. Washington - November 14, 1981 #76)[1], TRX[538.39290937], USD[17.23]                                       Yes

07901583                              USD[0.00]

07901605                              CUSDT[2], SHIB[1032832.52108049], USD[0.34]                                                                                                                                              Yes

07901611                              LTC[.00000092], USD[0.76]                                                                                                                                                                Yes

07901613                              ETH[.0008729], ETHW[0.00087290], FTX_EQUITY[0], NFT (290503976008559691/PolarBear)[1], NFT (322633503291515477/Bored Snake Club)[1], NFT (371217334109920140/Entrance Voucher
                                      #2446)[1], NFT (374609542518740600/Lobstar)[1], NFT (415245342315609518/Bored Snake Club)[1], NFT (421794010182418051/Spectra #304)[1], NFT (429604908066956416/#43072)[1], NFT
                                      (437684698770316351/Spinal Foxes)[1], NFT (475563621783015865/Misfits Ape Society)[1], NFT (478470321344219787/PolarBear)[1], NFT (503046315915120670/BlockChain #478)[1], NFT
                                      (536787557734665151/Vintage Sahara #830)[1], NFT (538089209458244545/Trippin Ape Tribe)[1], SOL[.99], USD[0.00], USDT[.002811], WEST_REALM_EQUITY_POSTSPLIT[0]

07901617                              DOGE[1], NFT (556396895132590699/Coachella x FTX Weekend 2 #15244)[1], USD[0.00]

07901620                              BTC[0.00002624]

07901622                              NFT (479294326073743390/Space arteggfact)[1]

07901626                              BAT[1], DOGE[2854.15958539], ETH[1.00445453], GRT[2], SHIB[7], USD[0.00]                                                                                                                 Yes

07901629       Contingent, Disputed   ALGO[0], AVAX[0], BTC[0], ETH[0], ETHW[0], LINK[0], LTC[.00423682], MATIC[0], MKR[0], SHIB[0], SOL[0], USD[0.00], USDT[0]                                                                Yes

07901651                              NFT (293904046362967561/Romeo #2143)[1], NFT (349782644574709229/Entrance Voucher #4626)[1], NFT (356469768009703968/Microphone #9441)[1], NFT (541679219373030812/Humpty
                                      Dumpty #782)[1]
07901653                              BRZ[2], CUSDT[5], LINK[15.90452541], MATIC[280.97663456], SOL[1.4959044], USD[0.61]

07901658                              USD[0.00]

07901659                              BAT[6.00996117], BRZ[4], CUSDT[15], DOGE[2], ETH[.00000788], ETHW[4.46867462], GRT[32.05564587], MATIC[1.0293177], SHIB[40], SOL[0], SUSHI[1.0019336], TRX[15.011183], USD[22.92],       Yes
                                      USDT[2.01341441]
07901683                              MATIC[0], NFT (394420941383705904/Microphone #9615)[1], NFT (463594637645734102/Wombats in Disguise #63)[1], NFT (501461547636655104/Romeo #2466)[1], SOL[0], TRX[.000034],
                                      USD[0.00], USDT[0.03378606]
07901694                              NFT (325621068732382567/Microphone #9143)[1], NFT (368292905978504693/Romeo #2570)[1], NFT (490929586401539885/Humpty Dumpty #942)[1], NFT (551479090893824553/Entrance Voucher
                                      #4399)[1]
07901699                              USDT[99]

07901700                              SOL[.09893598], USD[128.77]

07901720                              NFT (366426605123977887/Coachella x FTX Weekend 1 #20561)[1]

07901724                              BTC[0.00056001], ETH[.00059461], ETHW[0.00059460]

07901731                              ETH[.5], ETHW[.5], USD[500.00]

07901746                              BAT[1], DOGE[1], ETH[.00002371], TRX[1], UNI[.00204675], USD[0.00], USDT[0]                                                                                                              Yes

07901760                              USD[0.00]                                                                                                                                                                                Yes

07901772                              USD[1.07]

07901786                              ETH[0], NFT (300869329107855677/Sol RoboApes #01)[1], SOL[0], USD[0.00]

07901797                              ETH[0], ETHW[0], USD[0.00]

07901820                              CUSDT[1], USD[0.00]                                                                                                                                                                      Yes

07901835                              CUSDT[1], NFT (424635812901796697/FTX - Off The Grid Miami #3076)[1], SHIB[1], SOL[6.28682647], USD[0.00]                                                                                Yes

07901842                              NFT (360876043792515654/Solnana #27)[1]

07901843                              SOL[.16346573], USD[0.00]

07901853                              SOL[.03002892], USD[0.00]

07901862                              CUSDT[1], SOL[.00002746], USD[468.78], USDT[0.00000084]                                                                                                                                  Yes

07901881       Contingent, Disputed   BRZ[1], BTC[.00000037], CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                     Yes

07901884                              USD[3.63]

07901888                              CUSDT[1], ETH[.0156102], ETHW[.01541868], USD[0.00]                                                                                                                                      Yes

07901890                              USD[0.00]

07901893                              BF_POINT[200], NFT (481347636752334422/Peaceful )[1], USDT[.63980862]

07901896                              NFT (427144207378627685/Rox #146)[1], NFT (484560092336486186/SolMee #14341)[1]

07901898                              SOL[3.62547404], TRX[1], USD[0.00]

07901901                              BTC[.00265807], CUSDT[4], DOGE[1], ETH[.04167476], ETHW[.04115492], LINK[2.03383848], SOL[.33586107], TRX[115.67374176], USD[0.10]                                                       Yes

07901902                              NFT (503486708164974506/Eitbit Ape #4294)[1], NFT (513771515664686694/Eitbit Ape #4916)[1], NFT (535043757043786579/Eitbit Ape #965)[1], NFT (569189526720523622/Eitbit Ape #4503)[1],
                                      SOL[.2]
07901911                              BF_POINT[100]

07901921                              USD[0.00]

07901922                              BTC[.3248058], USD[3.97]
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                                                                                                                                            Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07901936                              USD[0.57]

07901937                              USD[1.09]                                                                                                                                                                                 Yes

07901940                              CUSDT[2002.45470642], SUSHI[4.33674278], USD[16.37]                                                                                                                                       Yes

07901961                              USD[0.00]

07901962                              LTC[1.88], USD[474.26]

07901964                              BTC[0.02820000], SHIB[15129704.5767905], USD[6.59], USDT[4.74854594]

07901968                              BF_POINT[200]                                                                                                                                                                             Yes

07901971                              AAVE[0], BTC[0.00000002], CUSDT[0], DAI[0], ETH[0], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], SHIB[4], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00], USDT[0]                            Yes

07901979                              USD[0.00], USDT[0.71120349]

07901982                              ETH[.00239776], ETHW[.00239776], USD[0.00], USDT[9.95003995]

07901994                              BTC[.00000855], PAXG[0.00214970], SOL[0.04792734], USD[0.00]                                                                                                                              Yes

07901998                              AAVE[0], AVAX[0], BCH[0], BTC[0.03889310], DOGE[0], ETH[0.15055134], MATIC[0], NFT (537221371046430906/Sloth #1774)[1], SHIB[0], SOL[0], SUSHI[0], USD[200.44], USDT[0]                   Yes

07902003                              BTC[0], USD[0.35]

07902018                              BTC[0], ETH[0], MATIC[0], SOL[0], USD[1.63], USDT[0.00004192]

07902021                              BTC[.00005961], DOGE[0], SHIB[1000000], USD[0.00]

07902023                              TRX[.000006]

07902027                              BTC[.15837859], USD[6.53]

07902028                              BF_POINT[200], CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                Yes

07902029                              USD[3.60]

07902036                              USD[0.00]

07902044                              ETH[.001], ETHW[.001], USD[6.19]

07902045                              ETH[.08069436], ETHW[0.08069435], SOL[.11417], USD[5208.91]

07902049                              BTC[0], USD[0.00], USDT[0]

07902064                              USD[100.00]

07902065                              ETH[1.74], ETHW[1.74]

07902066                              BAT[2.05915104], BRZ[3], DOGE[4], ETH[.00003192], ETHW[.00003192], GRT[1.00367791], SHIB[1], SUSHI[1.02341124], TRX[8], USD[8694.69]                                                      Yes

07902075                              BAT[1], CUSDT[1], DOGE[.59659608], ETH[.00004472], ETHW[5.01914472], NFT (332596757032049042/Entrance Voucher #4227)[1], SHIB[3], SOL[.00597712], TRX[1], USD[5914.58], USDT[1]

07902077                              USD[0.66]

07902088                              SOL[0], USDT[4.7013696]

07902092                              USD[0.00]

07902095                              NFT (308631205291002112/Jeremy Shockey signed football jersey with Certificate of Authenticity, NEW ORLEANS SAINTS (JSA))[1], NFT (308955899204043745/Kevin Durant-ula)[1], NFT
                                      (314935091717001648/Knuckleball)[1], NFT (315147918900864824/Mac Jones)[1], NFT (323278463641275241/Los Angeles Lakers basketball Kobe Bryant art (HOF))[1], NFT
                                      (331993516732927644/2005-06 SP Signature Edition Marks of Distinction basketball Michael Jordan #MD-MJ, CHICAGO BULLS (HOF))[1], NFT (335441401288274759/Kobe Bryant Los Angeles Lakers
                                      basketball autographed photo (HOF))[1], NFT (353110927373999170/Jeremy Shockey signed football jersey with Certificate of Authenticity, NEW YORK GIANTS (JSA))[1], NFT
                                      (353112621636303699/NFL Football Seattle Seahawks art, SEAHAWKS)[1], NFT (355877587391091554/Washington Nationals)[1], NFT (365436702621418034/Action Jacksons')[1], NFT
                                      (388941532834707768/Emmanuel Sanders signed football jersey with Certificate of Authenticity, NEW ORLEANS SAINTS (BAS))[1], NFT (414010212637249363/The Grand Stage)[1], NFT
                                      (415932992259695924/NFL Football New England Patriots arts, PATRIOTS)[1], NFT (429922481930059063/Blake Griffin)[1], NFT (436157571799913229/Football #2)[1], NFT
                                      (453098935779131797/Elite Auto)[1], NFT (472248004556010645/Ben Roethlisberger)[1], NFT (490258243401776861/Ken Stabler)[1], NFT (502458931358643044/Greta)[1], NFT
                                      (503028243561601149/Kobe vs. Michael)[1], NFT (533278378369744452/Kenyan Drake signed football jersey; DOLPHINS, CARDINALS, RAIDERS (BAS))[1], NFT (539065658939113803/Patrick
                                      Mahomes II)[1], NFT (547413433317982253/Orlando Magic)[1], NFT (575107488539988285/Football)[1], USD[0.01], USDT[0]
07902103                              USD[50.01]

07902104                              USD[0.00]

07902110                              ALGO[.34090132], BRZ[.17709904], DOGE[.5080288], ETH[0.00016102], ETHW[0.00072678], LTC[.0007034], MATIC[.95], NEAR[.06631089], SHIB[2], TRX[2], USD[0.00]                                Yes

07902126                              USD[0.01]

07902139                              BRZ[1], CUSDT[9], DOGE[3], SHIB[2], SOL[.9719663], TRX[5], USD[7.11], USDT[1.02543197]                                                                                                    Yes

07902140                              NFT (517918823492635711/Coachella x FTX Weekend 2 #14735)[1]

07902163                              SOL[.5]

07902165                              USD[0.00]

07902171                              NFT (481263897246228642/7247)[1], SOL[0], USD[0.00]

07902177                              USD[29.43]

07902183                              CUSDT[3], ETH[.00000022], ETHW[.00000022], SOL[.00000001], TRX[1], USD[0.00]                                                                                                              Yes

07902186                              BAT[1], BRZ[1], DOGE[2], USD[0.00], USDT[1]

07902187                              USDT[2.2815944]

07902189                              NFT (363805233558000683/2974 Floyd Norman - OKC 1-0141)[1], NFT (369955046008858543/Birthday Cake #1431)[1], NFT (407157130194419170/The 2974 Collection #1431)[1], NFT
                                      (535100764192265052/Warriors 75th Anniversary Icon Edition Diamond #2092)[1], USD[23.13]
07902202                              BRZ[1], CUSDT[11], USD[0.01]                                                                                                                                                              Yes

07902207                              NFT (410417999008999206/Collins, the Rational)[1], NFT (468553591406613353/Sollama)[1], SOL[.31883713]                                                                                    Yes

07902208                              USD[0.00]

07902211                              CUSDT[5], DOGE[3], SOL[.00000866], TRX[3], USD[0.00]                                                                                                                                      Yes

07902212                              USD[0.00], USDT[0.00000001]                                                                                                                                                               Yes

07902225       Contingent, Disputed   SOL[.61]

07902228                              USD[0.00]

07902233                              CUSDT[4], DOGE[208.84681645], GRT[.00003949], SHIB[4.71817693], TRX[1], USD[1.00]                                                                                                         Yes
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
                                                                                                  Amended Schedule 1754      Filed
                                                                                                                      Nonpriority     06/27/23
                                                                                                                                  Unsecured           Page 415 of 1384
                                                                                                                                            Customer Claims                                                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07902240                              USD[3.00]

07902247                              USD[0.00]

07902248                              BTC[0], LINK[9.99], USD[0.00]

07902259                              USD[0.00]

07902260                              ALGO[5895.71116059], BRZ[.00005788], BTC[0], ETHW[21.28356352], LINK[104.22469566], TRX[12684.86922745], UNI[.00000863], USD[10.81], USDT[0.00001665], YFI[.24803084]                           Yes

07902261       Contingent, Disputed   BTC[.00516]

07902262                              ETH[.00000001], ETHW[0], SOL[0], USD[0.68], USDT[1.1150308]

07902272                              AAVE[.18], ALGO[34], AVAX[.4], DOGE[181], LINK[2.3], MATIC[20], MKR[.016], SOL[.3], USD[1.80]

07902289                              ETH[.000471], ETHW[.000471], SOL[.00470523], USD[804.20], USDT[.00896], YFI[.000744]

07902294                              AAVE[0], AVAX[0], BAT[0], BCH[0], BRZ[0], BTC[0], CUSDT[0], DAI[0], DOGE[0], ETH[0.00000001], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], MKR[0], SHIB[0], SOL[0], SUSHI[0], TRX[0], UNI[0],
                                      USD[0.00], WBTC[0], XRP[9.96], YFI[0]
07902295                              SOL[1], USD[7.05]

07902298                              SOL[.00000001], USD[0.00]

07902303                              SOL[0.00000001]

07902304       Contingent, Disputed   NFT (444976898273343371/Urban Photography #2)[1], NFT (566833213183311965/Urban Photography)[1], USD[0.01]

07902306                              SOL[.61658882], USD[0.00]

07902307                              BTC[0.00000699], USD[0.00]                                                                                                                                                                      Yes

07902310                              BTC[.00015587], CUSDT[1], ETH[.00449806], ETHW[.00444334], USD[0.02]                                                                                                                            Yes

07902318                              KSHIB[3924.98699140], SHIB[1], USD[0.00]                                                                                                                                                        Yes

07902321                              NFT (316274482563154855/Microphone #1269)[1], NFT (368734577251560211/MagicEden Vaults)[1], NFT (399339730741963987/MagicEden Vaults)[1], NFT (421080102076130026/MagicEden
                                      Vaults)[1], NFT (434904915946831551/MagicEden Vaults)[1], NFT (478715471905031435/Microphone #1076)[1]
07902322                              NFT (414047885091202632/Terraform Seed Airdrop)[1]

07902326                              BTC[.00865177], DOGE[465.14832888], ETH[.09640259], ETHW[.09536755], SHIB[301349.11065538], TRX[1], USD[1171.12]                                                                                Yes

07902336                              USD[1.43]

07902341                              NFT (411527696165321177/Entrance Voucher #1907)[1], USD[0.00], USDT[.004193]

07902344                              ETH[0], USD[0.00], USDT[0.00000003]

07902347                              USD[10.00]

07902349                              SOL[.00949014], USD[0.00]

07902355                              BTC[.0043164], ETH[.058125], ETHW[1.985969], MATIC[79.92], NFT (302134665669547703/Official Solana NFT)[1], NFT (489406045324170243/Entrance Voucher #2047)[1], SOL[3.9942917],
                                      USD[0.07]
07902364                              MATIC[0], USD[2.01]

07902366                              BRZ[10.37845459], CUSDT[5], DOGE[10.08833358], ETH[1.03230636], ETHW[1.03187276], SHIB[7], TRX[2043.88998385], USD[619.10], USDT[3.18967828], YFI[.00000046]                                    Yes

07902373                              ETH[.0000918], ETHW[.0000918], KSHIB[10], TRX[8.991], USD[0.00]

07902380                              USD[0.00]                                                                                                                                                                                       Yes

07902390                              USD[0.48], USDT[.570004]

07902392                              NFT (300074034987679799/Entrance Voucher #4679)[1], NFT (365693086172376261/Humpty Dumpty #1276)[1], NFT (496772264742929235/Microphone #9244)[1]

07902397                              NFT (350168497050103207/7500)[1], NFT (502499839283160643/7276)[1]

07902401                              ETH[.00172043], ETHW[.00172043], SOL[0], USDT[6.26429961]

07902404                              DOGE[1], NFT (344046298106193174/ALPHA:RONIN #376)[1], NFT (515560906321567103/2D SOLDIER #3602)[1], SHIB[3], SOL[2.71753715], TRX[1], USD[2.02]

07902413                              NFT (471867180048778655/Microphone #406)[1]

07902415                              BTC[0.00003179], USD[0.00]

07902428                              SOL[.00023686], USD[2.85]

07902430                              BTC[0], ETH[0], USD[7.91]

07902440                              USD[1.10]

07902457                              TRX[.518521], USDT[.70940895]

07902459                              BRZ[1], BTC[.00000003], CUSDT[1], USD[1.63]                                                                                                                                                     Yes

07902489                              SOL[.10116968], USD[0.00]

07902495                              USD[0.00]

07902498                              BTC[.04135292], DOGE[2568.86664406], ETH[.18017841], ETHW[.17993375], MATIC[111.56606674], NFT (478762335013053899/Entrance Voucher #1832)[1], SHIB[3], SOL[3.18586936],                        Yes
                                      USD[1346.90], USDT[0.00012938]
07902516                              BAT[42], SOL[.00309494], USD[1.37], USDT[0.00000065]

07902518                              BAT[1], BTC[.02328739], DOGE[5.31108707], ETH[.3618924], ETHW[.3617406], SHIB[9], TRX[3], USD[348.16]                                                                                           Yes

07902527                              BTC[.00123243], CUSDT[3], SHIB[1372006.47090387], USD[0.21]                                                                                                                                     Yes

07902539                              SOL[.2], USD[0.00], USDT[0]

07902544                              NFT (311224343918220816/SolFractal #5655)[1], NFT (338671429301257725/SolFractal #5382)[1], NFT (488614442194778150/SolFractal #6851)[1]

07902553                              ETH[.0234479], ETHW[.0234479], SOL[.56508317], USD[0.00]

07902558                              CUSDT[2], KSHIB[1818.60370561], SOL[.00033118], TRX[1], USD[0.00]                                                                                                                               Yes

07902570                              CUSDT[1], DOGE[1], USD[0.01]                                                                                                                                                                    Yes

07902575                              LINK[249.9856738], SHIB[16357085.9685028], USD[0.00], USDT[0]

07902579                              NFT (420243115381292974/LightPunk #278)[1], NFT (485378205992232460/Munk #225)[1]
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
                                                                                                  Amended Schedule 1754      Filed
                                                                                                                      Nonpriority     06/27/23
                                                                                                                                  Unsecured           Page 416 of 1384
                                                                                                                                            Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07902588                              NFT (295793951681295461/Rat Bastard #49)[1], NFT (296310263135047127/Gangster Gorillas #8549)[1], NFT (304315286014296825/Sigma Shark #3187)[1], NFT (317903427550165995/ROF
                                      #14)[1], NFT (338379308185933970/FTX AU - we are here! #62472)[1], NFT (350430086420722402/Gangster Gorillas #4309)[1], NFT (396294353634012593/Rat Bastard #5139)[1], NFT
                                      (404666363739821746/Gangster Gorillas #4718)[1], NFT (420782328639393923/ApexDucks Halloween #356)[1], NFT (433715940817661993/ApexDucks #4585)[1], NFT (447160701033993118/FTX AU
                                      - we are here! #52291)[1], NFT (451424217961685774/FTX EU - we are here! #101242)[1], NFT (464260435046019226/Gangster Gorillas #4374)[1], NFT (477451529347992946/Sigma Shark #3005)[1],
                                      NFT (486829255422524154/Sigma Shark #6063)[1], NFT (498027113198802854/FTX EU - we are here! #103895)[1], NFT (510858189240297057/ApexDucks #4590)[1], NFT
                                      (545313660599979132/Entrance Voucher #2318)[1], NFT (558425519678413245/Gangster Gorillas #6301)[1], NFT (575421882803528001/Sigma Shark #3325)[1], SOL[.56497], USD[1.01]

07902589                              ETH[0], SOL[5.11796900], USD[0.00]                                                                                                                                                           Yes

07902604                              SHIB[2399.687482], SOL[.00000314], USD[0.00]                                                                                                                                                 Yes

07902613                              CUSDT[9], DOGE[2.00000538], GRT[1.00312819], MATIC[5.65682867], SOL[0.00002065], USD[0.00]                                                                                                   Yes

07902616                              TRX[.000001]

07902623                              BTC[.00009537], CUSDT[1], USD[0.00]                                                                                                                                                          Yes

07902634                              NFT (482350321232171890/Entrance Voucher #3599)[1]

07902635                              BRZ[1], CUSDT[8], DOGE[5], ETHW[1.79802916], GRT[1], TRX[7], USD[0.00]                                                                                                                       Yes

07902647                              ETH[.08225901], ETHW[0.08225900], LINK[78.21525891], SHIB[3034571.93702246], SOL[15.8], USD[1.40]

07902658                              NFT (464272061058211694/Cyber Frogs Ramen)[1]

07902677                              NFT (551824709073224433/FTX - Off The Grid Miami #5666)[1], NFT (573451819947866573/Australia Ticket Stub #1564)[1], SOL[1]

07902683                              USD[7.06]

07902695                              ETH[1.906], ETHW[1.906], USD[359.86]

07902713                              BAT[1], CUSDT[1], DOGE[2], USD[0.01]                                                                                                                                                         Yes

07902714                              BRZ[4.14901625], CUSDT[3], DOGE[1], GRT[1.10979411], MATIC[.16339779], SHIB[58.00228885], SUSHI[.00099121], TRX[.00000019], UNI[.03225465], USD[0.01]                                        Yes

07902718                              BF_POINT[200], USD[0.01]

07902726                              USD[0.62]

07902733                              SOL[.00236169], USD[0.00]

07902737                              SOL[.00000001], TRX[1], USD[0.00], USDT[1.07786782]                                                                                                                                          Yes

07902738                              USD[0.00], YFI[.00008424]                                                                                                                                                                    Yes

07902742                              SOL[3.4]

07902753                              NFT (288593511482738984/Mad Lions Series #63)[1], NFT (292034786495790101/Crazy Goat #11)[1], NFT (293077052758752143/Mad Lions Remastered #42)[1], NFT (299875433462246776/Crazy
                                      Goat #16)[1], NFT (309703873258536836/Crazy Goat #13)[1], NFT (316535042357705828/FTX Girls Series)[1], NFT (317196316582518767/Crazy Goat #28)[1], NFT (318018188148978911/Addicted to
                                      Crypto - Bitcoin #6)[1], NFT (319684103094825269/Mad Lions Remastered #5)[1], NFT (319743682658768968/Addicted to Crypto - Solana #10)[1], NFT (321134721030959082/Crazy Goat #17)[1], NFT
                                      (325890120488313318/Mad Lions Series #31)[1], NFT (329742335381813390/Mad Lions Series #32)[1], NFT (332664100127711064/Crazy Goat)[1], NFT (333419230066061533/Crazy Goat #23)[1],
                                      NFT (338969607038097932/Mad Lions Series #58)[1], NFT (340934055429719836/Crazy Goat #29)[1], NFT (343003520508670038/Crazy Goat #19)[1], NFT (344189458444865770/FTX Tinies)[1], NFT
                                      (345535501927384280/Crazy Goat #10)[1], NFT (345593737026887208/Sphynx Cats #18)[1], NFT (351174830372395457/Mad Lions Series #38)[1], NFT (353129712068593071/Sphynx Cats #10)[1],
                                      NFT (357611673486590709/Mad Lions Series #34)[1], NFT (359598244187124273/Punkies)[1], NFT (363994264170111943/Crazy Goat #18)[1], NFT (368363485246992242/Addicted to Crypto -
                                      Ethereum #9)[1], NFT (370282657227576332/Addicted to Crypto - Bitcoin #9)[1], NFT (371331697200070269/FTX Cat Series)[1], NFT (374431434104526563/MadVerse)[1], NFT
                                      (383179974033159601/Addicted to Crypto - Solana #4)[1], NFT (383390870233637244/Mad Lions Series #36)[1], NFT (390302906346623445/Crazy Goat #9)[1], NFT (391377500630217736/Ape
                                      Punks)[1], NFT (393089816855862026/Crazy Goat #20)[1], NFT (395006729160035117/Crazy Goat #27)[1], NFT (395603943659295096/Crazy Goat #26)[1], NFT (398538080821369815/Mad Lions
                                      Series #26)[1], NFT (406594333896835037/Skull Love #44)[1], NFT (428398732455059095/Addicted to Crypto - Ethereum #4)[1], NFT (432393850318114311/Crazy Goat #25)[1], NFT
                                      (433800523280993241/Crazy Goat #12)[1], NFT (438074672295018242/Mad Lions Series #60)[1], NFT (443227731473271861/Crazy Goat #2)[1], NFT (444976039293880595/Crazy Goat #21)[1], NFT
                                      (446263605470060671/Kobe's Metaverse)[1], NFT (447819604414261632/Mad Lions Remastered #41)[1], NFT (461591389424915004/Burden)[1], NFT (465415147202269567/Mad Lions Series #35)[1],
                                      NFT (465961883315395737/Crazy Goat #8)[1], NFT (478448758172333030/Crazy Goat #6)[1], NFT (478694381788409056/Addicted to Crypto - Solana #9)[1], NFT (490350893320445846/Mad Lions
                                      Series #33)[1], NFT (493836271144578271/Frame)[1], NFT (498518092393621522/Pain)[1], NFT (503414661366640302/Addicted to Crypto - Cardano #8)[1], NFT (506506102542693147/Mad Lions
                                      Series #61)[1], NFT (509654230244687846/Mad Lions Series #62)[1], NFT (509687321601729134/Skull Love #41)[1], NFT (512374172235372983/Sphynx Cats #9)[1], NFT (520919363932981995/Crazy
                                      Goat #24)[1], NFT (522376087390892668/Crazy Goat #7)[1], NFT (525912587037214314/Addicted to Crypto - Bitcoin #7)[1], NFT (528049367569153723/Crazy Goat #3)[1], NFT
                                      (532881434110626515/Crazy Goat #30)[1], NFT (539187675706994587/Crazy Goat #4)[1], NFT (541814357431704142/Mad Lions Remastered #40)[1], NFT (542105674283763954/Sphynx Cats
                                      #17)[1], NFT (542834418892846825/Mad Lions Series #59)[1], NFT (545224996404397249/Mad Lions Series #57)[1], NFT (547325504270612748/Crazy Goat #15)[1], NFT
                                      (548756934689082941/Addicted to Crypto - Bitcoin #4)[1], NFT (551709472188192663/Mad Lions Series #28)[1], NFT (561089867236899210/Mad Lions Series #39)[1], NFT
                                      (563769976295257030/Crazy Goat #14)[1], NFT (564488754472836638/Crazy Goat #22)[1], NFT (566200019636814705/Mad Lions Series #37)[1], NFT (566721692414609819/Sphynx Cats #12)[1],
                                      NFT (567322195217346906/Mad Lions Series #27)[1], SOL[.008], TRX[.000001], USD[0.01], USDT[0]

07902763                              ETHW[.350824], NFT (530989495444830866/Entrance Voucher #4256)[1], USD[1.91]

07902780                              NFT (467984525697122431/Earl Campbell's Playbook: Texas vs. Houston - November 5th, 1977 #96)[1], USD[81.89]                                                                                 Yes

07902791                              NFT (416390947796167761/Frog #4961)[1], NFT (464325606913420407/420 Ligma Lane)[1], USD[0.47]

07902793                              BAT[2], BRZ[5], CUSDT[7], SHIB[16], TRX[1], USD[222.48]                                                                                                                                      Yes

07902806       Contingent, Disputed   BCH[0.00164686], BTC[0.00085861], ETH[0.01731539], ETHW[0.01731538], USD[2.94]

07902812                              CUSDT[4], DOGE[1], ETH[.00000093], ETHW[.00000093], TRX[2], USD[0.00]                                                                                                                        Yes

07902828                              SOL[.41], USD[2.20]

07902829                              NFT (413558019487939512/Imola Ticket Stub #291)[1]

07902840                              USD[0.00]

07902843                              NFT (323876385649324521/Space Bums #4024)[1], NFT (333573935238226140/Space Bums #9719)[1], NFT (342435153244705389/Space Bums #4992)[1], NFT (346741138944540313/Space Bums
                                      #1557)[1], NFT (350610619965279370/Space Bums #7623)[1], NFT (353671388686680750/Space Bums #6347)[1], NFT (358527337809316189/Space Bums #0497)[1], NFT
                                      (373578577885902895/Space Bums #6750)[1], NFT (384744517480836861/Space Bums #0982)[1], NFT (394381865925593239/Space Bums #9498)[1], NFT (400000635583128060/Space Bums
                                      #0630)[1], NFT (408863702847417224/Space Bums #0984)[1], NFT (419222515046988163/Space Bums #4725)[1], NFT (448161473952176093/Space Bums #9271)[1], NFT
                                      (448766499332674737/Space Bums #6158)[1], NFT (463746428888257219/Space Bums #9099)[1], NFT (489404590398549654/Space Bums #0016)[1], NFT (505852062727882177/Space Bums
                                      #1546)[1], NFT (519213048471980682/Space Bums #7518)[1], NFT (520227957208592166/Space Bums #0374)[1], NFT (527986402945655476/Space Bums #7644)[1], NFT
                                      (535109818036627834/Space Bums #0369)[1], NFT (540741738206983310/Space Bums #0543)[1], NFT (547754008644440859/Space Bums #2820)[1], NFT (550898186007460836/Space Bums
                                      #5694)[1], NFT (574329645332716959/Space Bums #4724)[1]
07902844                              USD[0.00], USDT[0]

07902845                              BTC[.00658712], DOGE[1], ETH[.00000009], ETHW[.00000009], GRT[1.00367791], TRX[1], UNI[1.08963674], USD[0.06]                                                                                Yes

07902847                              ETH[.00406562], ETHW[.00406562], SOL[.02753702], USD[0.00]

07902858                              ETH[0], ETHW[0], SOL[0]

07902859                              USDT[0]                                                                                                                                                                                      Yes
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                                                                                                                                             Customer Claims                                                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07902882                              BRZ[1], SOL[3.53730299], USD[0.01]                                                                                                                                                               Yes

07902883                              NFT (475564733486371192/Settler #2683)[1]

07902890                              DOGE[1], ETHW[.32602132], SHIB[1], SOL[.00058557], TRX[1], USD[0.01]                                                                                                                             Yes

07902896                              NFT (310619512434893357/Entrance Voucher #2400)[1]

07902911       Contingent, Disputed   USD[0.39]

07902931       Contingent, Disputed   USD[0.00]

07902935                              BTC[0], ETH[0]

07902936                              USDT[0.88076053]

07902946                              NFT (294541150726241088/GSW Western Conference Finals Commemorative Banner #1400)[1], NFT (384937606789056725/GSW Round 1 Commemorative Ticket #663)[1], NFT
                                      (434180435963038956/GSW Western Conference Finals Commemorative Banner #1399)[1], NFT (450659469095356279/GSW Western Conference Semifinals Commemorative Ticket #729)[1], NFT
                                      (479203720354175440/GSW 75 Anniversary Diamond #544)[1], NFT (549894993682153111/GSW Championship Commemorative Ring)[1], USD[10.14]
07902948                              ETH[1.182], ETHW[1.182], USD[4.47]

07902952                              NFT (415421315278987986/Unverfied Token)[1]

07902965                              USD[0.18]

07902966                              SOL[33.48]

07902983                              SHIB[0], SOL[0], USD[0.00]

07902993                              BTC[0], ETH[0], ETHW[0], SOL[0], USD[400.93]                                                                                                                                                     Yes

07902995                              CUSDT[12], MATIC[.00074868], SHIB[8.96574041], TRX[.00290195], USD[0.37]                                                                                                                         Yes

07902996                              SOL[1.3], USD[4.85]

07903002                              ETH[0.00433175], ETHW[0.00433175], NFT (290251143075604971/Marcus Allen's Playbook: Seattle Seahawks vs. Los Angeles Raiders - October 7, 1984 #64)[1], NFT (294877709909525801/2974
                                      Floyd Norman - OKC 6-0099)[1], NFT (299412294023890109/Aniston, the Rare)[1], NFT (303012684063616571/Data Mine)[1], NFT (314302061038336883/ApexDucks #2534)[1], NFT
                                      (330769943812634029/Astro Stones #16)[1], NFT (343723059247750278/Spectra #672)[1], NFT (364064313039213006/Joe Theismann's Playbook: Washington vs. Chicago Bears - September 29, 1985
                                      #53)[1], NFT (366978552514256829/Hall of Fantasy League #139)[1], NFT (370476793180939093/Mech #3632)[1], NFT (372922110709751773/Marcus Allen's Playbook: Los Angeles Raiders vs.
                                      Washington - January 22, 1984 #67)[1], NFT (374754266141928928/ApexDucks #1565)[1], NFT (378459570521453581/Trigger-happy Trooper)[1], NFT (379997409432613603/Michael Jackson Set #1 -
                                      All Star Edition )[1], NFT (386417584150267135/Astro Stones #45)[1], NFT (391551738310583947/Astro Stones #42)[1], NFT (392116591175966477/Mech #7105)[1], NFT
                                      (399023764608375703/Sollama)[1], NFT (404626580374394370/2974 Floyd Norman - OKC 1-0036)[1], NFT (406199278200413104/The 2974 Collection #0720)[1], NFT
                                      (406818849892526566/ApexDucks #813)[1], NFT (407284184442550439/2974 Floyd Norman - CLE 1-0201)[1], NFT (408131970777632517/Gloom Punk #8381)[1], NFT
                                      (415096463060976086/ApexDucks #1166)[1], NFT (421782860548126970/7219)[1], NFT (438601481391314840/2007)[1], NFT (440430078607052800/Transparent Woman #5)[1], NFT
                                      (446772473886213849/The 2974 Collection #1526)[1], NFT (452243713430773916/Golden Hill #663)[1], NFT (454801007570026341/Aadhya, the Plucky)[1], NFT (461261202190536049/Marcus Allen's
                                      Playbook: USC vs. Washington - November 14, 1981 #69)[1], NFT (463685224091434498/00:Predawn Army)[1], NFT (477065098172138145/Birthday Cake #2792)[1], NFT
                                      (477477469022271635/Valley #5)[1], NFT (480125291618610596/Azan, the Cheeky)[1], NFT (487098078341654915/Mech #1112)[1], NFT (492663110613922053/The 2974 Collection #2792)[1], NFT
                                      (494713521997521301/Hall of Fantasy League #209)[1], NFT (498031966899356519/Marcus Allen's Playbook: USC vs. Washington - November 14, 1981 #11)[1], NFT (500077139644573149/Hall of
                                      Fantasy League #213)[1], NFT (513950416933515589/Ferris From Afar #159)[1], NFT (515710882929217064/Marcus Allen's Playbook: Kansas City Chiefs vs. Detriot Lions - November 29, 1996 #53)[1],
                                      NFT (517790970416857902/Hall of Fantasy League #153)[1], NFT (520786549362894717/Joe Theismann's Playbook: Washington vs. Chicago Bears - September 29, 1985 #54)[1], NFT
                                      (523875451822918993/Reflector #60)[1], NFT (544088508608528782/Gloom Punk #9629)[1], NFT (554906506889785695/Sea woman)[1], NFT (565281602315702692/ApexDucks #664)[1], NFT
                                      (568803507782401632/Earl Campbell's Playbook: Texas vs. Houston - November 5th, 1977 #104)[1], NFT (573467416803057134/Inspiring Teacher)[1], SOL[0], USD[0.00], USDT[0]

07903005                              USD[0.00]

07903006                              CUSDT[3], SOL[0], USD[0.00]                                                                                                                                                                      Yes

07903013                              CUSDT[4], USD[0.00], USDT[0]

07903016                              SOL[.999], USD[34.52]

07903021                              USD[0.01], USDT[0.00033024]

07903033                              ETH[.00051035], USD[0.00], USDT[0.00039086]

07903034                              BAT[191], MATIC[210], SOL[39.66519], USD[0.55]

07903036                              BTC[.00000063], USD[250.07]                                                                                                                                                                      Yes

07903038                              USD[50.01]

07903050                              BTC[0], SOL[.00397847], TRX[.000166], USD[1.58], USDT[.00323495]

07903056                              ETH[2.13992815], ETHW[2.04278551]

07903077                              BTC[.0000009], LINK[.0000184], SHIB[1], USD[0.00], USDT[1.04337062]                                                                                                                              Yes

07903099                              BAT[2], DOGE[5], GRT[2], TRX[19.99], USD[2.82], USDT[1.05]

07903113                              ETH[0], ETHW[0], SOL[.00000001], USD[0.00]

07903119                              NFT (306077507591020603/Miami Ticket Stub #305)[1], SOL[0.00011159], USD[0.00], USDT[0.00000001]                                                                                                 Yes

07903127                              SHIB[1925978.39560828], USD[0.00]

07903132       Contingent, Disputed   USD[0.95]                                                                                                                                                                                        Yes

07903133                              PAXG[.00000006], USD[0.00], USDT[0]

07903147                              USD[0.00], USDT[0]                                                                                                                                                                               Yes

07903159                              NFT (557021779725268551/FTX - Off The Grid Miami #3034)[1]

07903163                              USD[0.00]

07903168                              MATIC[17.86393879], USD[0.00], USDT[0]

07903175                              ETH[.00040919], ETHW[0.00040918], USD[0.01]

07903188                              AVAX[.04528], USD[2.01], USDT[0.15653095]

07903198                              BF_POINT[200]                                                                                                                                                                                    Yes

07903205                              CUSDT[5], DOGE[1], USD[0.01], USDT[1.0883737]                                                                                                                                                    Yes

07903206                              CUSDT[4], DOGE[1], MATIC[31.54290823], SHIB[1621437.65532537], TRX[495.3689889], USD[0.00]

07903226                              USD[0.00]

07903232       Contingent, Disputed   BTC[0.00005136]
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                                                                                                                                         Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07903233                           BTC[0.00000850], SOL[.0048035], USD[0.01]

07903236                           BTC[0], USD[0.00]

07903239                           BAT[1.00479679], CUSDT[19], DOGE[3], ETH[0], ETHW[0], KSHIB[149.19580456], SOL[3.07483349], TRX[3], USD[0.00]                                                                      Yes

07903246                           SOL[.00000001], USD[0.00]

07903248                           USD[0.00]

07903263                           BF_POINT[100], BRZ[2], BTC[.00044424], CUSDT[32], DOGE[7.02555328], ETH[.54137251], ETHW[.54114527], SHIB[53], SOL[20.64726685], TRX[3], USD[4.53]                                 Yes

07903264                           SHIB[0], SOL[0], USD[0.00]

07903270                           BTC[0.01384944], ETH[.05806698], ETHW[.05734469], SOL[.00002225], USD[0.00], USDT[0.00004601]                                                                                      Yes

07903281                           BF_POINT[100], BRZ[4], CUSDT[31], NFT (373055437941419991/CryptoDog #3)[1], NFT (545922364057795387/Metabaes #6764)[1], SHIB[1], TRX[4], USD[0.22], USDT[1.08297015]               Yes

07903283                           USD[0.00]

07903285                           CUSDT[2], EUR[0.00], TRX[.000001], USD[0.00], USDT[0]

07903287                           CUSDT[1], DOGE[1], USD[0.00]

07903305                           BTC[.0091], TRX[.000001], USDT[2.9923886]

07903324                           BTC[0.00102505], USD[5.84]

07903347                           USD[0.22]

07903349                           SOL[.04678857]

07903353                           BTC[0.01328743], ETH[0.02635443], ETHW[0.02635443], LTC[0], NFT (352653563724999107/Series 1: Capitals #117)[1], NFT (395648154004319515/Entrance Voucher #2128)[1], NFT
                                   (454372780469142584/Series 1: Wizards #137)[1], SOL[2.00290062], USD[0.00]
07903363                           BTC[.0014987], ETH[.03498], NFT (549946255287252309/Saudi Arabia Ticket Stub #814)[1], SOL[.009], USD[1.32]

07903375                           MATIC[7.40028458], USD[0.00]

07903379                           USD[0.01]

07903403                           CUSDT[1], TRX[350.11157427], USD[0.00]                                                                                                                                             Yes

07903412                           USD[0.00]

07903419                           BTC[.00038123], CUSDT[1], NFT (423803586577569202/Shannon Sharpe's Playbook: Kansas City Chiefs vs Denver Broncos - October 4, 1992 #56)[1], NFT (562628447565381507/Tim Brown's   Yes
                                   Playbook: New York Jets vs. Oakland Raiders - December 2, 2002 #46)[1], USD[0.00]
07903421                           NFT (515288563293291398/FTX - Off The Grid Miami #695)[1]

07903423                           USD[0.00]

07903424                           NFT (333590021039158926/4882)[1], NFT (440301154917440970/5880)[1]

07903426                           GRT[0], SHIB[1], TRX[1.81977603], USD[0.00]                                                                                                                                        Yes

07903470                           BTC[.004], SOL[1.18], USD[0.12]

07903481                           NFT (348903983494265048/“Pinky” Palace Pigs v.1 #2)[1], NFT (409337641391214633/“Creepy” Palace Pigs v.1)[1], NFT (415779693119552548/"Sweety" Palace Pigs v.1 )[1], NFT
                                   (504468329784491408/“Pinky” Palace Pigs v.1)[1], USD[40.00]
07903485                           BCH[0], ETH[0], USD[0.00]

07903491                           BTC[0], ETH[0], SOL[0], USD[0.00], WBTC[0]

07903492                           CUSDT[2], KSHIB[905.4315677], NFT (334159626778408863/Time Space Continuum - Rare #1)[1], NFT (443698720793159293/voxel magic cloak)[1], NFT (567952140075480598/TURTLE)[1],       Yes
                                   USD[0.83]
07903501                           CUSDT[2], SHIB[2916560.47047273], USD[200.01]

07903504                           BCH[.01716528], BTC[.00039202], CUSDT[1], DOGE[1], ETH[.01803179], ETHW[.01781291], SOL[.0616092], USD[0.03]                                                                       Yes

07903517                           AVAX[.097055], BTC[0.00005886], ETHW[1.82725769], MATIC[.924], SOL[.0088505], USD[0.01]

07903524                           AVAX[0], DOGE[0], SOL[0], USD[0.00]

07903540                           SHIB[1], SOL[.36202041], USD[0.00]

07903544                           SOL[5.11089478], USD[0.00]

07903547                           USDT[1.207224]

07903551                           USD[31.50]

07903553                           USD[0.00]

07903556                           ETH[.01339995], ETHW[.01323579], USD[0.02]                                                                                                                                         Yes

07903557                           USDT[0.00014992]

07903562                           BTC[.00008152], ETH[.0009808], ETHW[.0009808], SHIB[2797760], USD[91528.01]

07903563                           ETH[.000794], ETHW[.000794], USD[0.00]

07903564                           ETH[.02568485], ETHW[.02568485], USD[0.00]

07903572                           USD[2.47]

07903573                           SHIB[3067484.66257668], USD[0.00]

07903590                           USD[0.00]                                                                                                                                                                          Yes

07903593                           CUSDT[11], DOGE[1], GRT[1], SHIB[4], TRX[3], USD[0.01]                                                                                                                             Yes

07903607                           AVAX[14.0845], BTC[.0231538], ETH[0.55262702], ETHW[0.55262702], USD[13.07]

07903617                           AVAX[1.07963984], ETHW[.08955029], USD[0.00]

07903623                           AAVE[1.08852781], BCH[.01674068], BTC[.00643665], CUSDT[10], DOGE[453.68486609], ETH[.04530607], ETHW[.04474519], KSHIB[451.72643519], LINK[.40582157], LTC[1.10128342],           Yes
                                   MATIC[8.0403378], MKR[.00372941], SHIB[490070.89088157], SOL[1.15004655], SUSHI[1.43063943], TRX[2], USD[6.74], USDT[9.73957818]
07903624                           TRX[163.123234]

07903627                           BTC[.0106], USD[0.49]
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                                                                                                                                            Customer Claims                                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07903636                              ETH[0], ETHW[0], NFT (290155923049724822/Not Excellent)[1], NFT (293414581820304791/18. Wonder Ted)[1], NFT (296038926369976238/Pure Love 1)[1], NFT (303074774298386139/MJ-UNC)[1],
                                      NFT (311895595809979612/Misstrix 1)[1], NFT (313504300425159778/Mountain Girl)[1], NFT (314481901391562539/Rare Air)[1], NFT (314633497121405331/Horned Lisa)[1], NFT
                                      (317606765918281559/Love Gun Dark)[1], NFT (318294568623168051/The Great Mick #2)[1], NFT (324900107721214605/#25 Succubus Sidney)[1], NFT (331050414805052769/Lucha Collection)[1],
                                      NFT (331813163227416018/Lilly of the Desert)[1], NFT (339409058756414200/Oops Blue)[1], NFT (343730364581134462/The Cow Girl 2)[1], NFT (346707459873646569/You’ve Been Warned 1)[1],
                                      NFT (348678771291900982/The Conqueror)[1], NFT (361234265739925906/1. Diner Gal)[1], NFT (361883836559602725/Kayla’s Lost Innocence 1)[1], NFT (362758506777012794/Southern
                                      Sunshine)[1], NFT (366034355315818478/The Tulip 2)[1], NFT (368284349365764385/Wonder Cruz)[1], NFT (376720450712096374/#36 First Michelle)[1], NFT (383376584407189862/2. Beach Gal)[1],
                                      NFT (384470683680875049/The Corporal 2)[1], NFT (411975533903445024/Sand Stroller)[1], NFT (412206501235158098/Omega)[1], NFT (412831521078323443/Oops)[1], NFT
                                      (414893866532046432/Kayla’s Lost Innocence 2)[1], NFT (415014385480763080/Supreme Cactus)[1], NFT (417946053554305996/The Great Mick)[1], NFT (429232608491032415/The Boom)[1], NFT
                                      (434039700269572706/Rosie Reclines)[1], NFT (440266835759568836/Sunday Best)[1], NFT (442225786441294597/#38 Mister Joe)[1], NFT (444298521816188745/Rosie)[1], NFT
                                      (448654789659080581/Brit Noir)[1], NFT (455797891040056595/inVader)[1], NFT (456692938233513331/#31 The Filibuster)[1], NFT (459076844619929195/Misstrix 2)[1], NFT
                                      (459942558804231800/#20 Super Mike)[1], NFT (462597552798758594/Burning Man Butterfly)[1], NFT (468221409624241261/Miss Dixie)[1], NFT (470205873284492421/Miss Dukes)[1], NFT
                                      (472404093070448595/Push)[1], NFT (480654622814004998/#37 What The Tuck?)[1], NFT (488619726965205297/New Boots 3)[1], NFT (497502390060962404/La Femme)[1], NFT
                                      (497939225515720098/Candy Jack 1)[1], NFT (498837033087148195/The Clash of Titans)[1], NFT (510974659626240459/Alex The Scorpion)[1], NFT (516785711316711184/New Boots 2)[1], NFT
                                      (523814666471716782/The Giant)[1], NFT (527538298211921380/Burning Bunny 1)[1], NFT (528772891669336114/Trout Card)[1], NFT (535568475168261814/Angela, Long and Tall)[1], NFT
                                      (536046129198533926/Ahoy- Daniella)[1], NFT (537304867027305721/The Cowgirl 2)[1], NFT (537927623707517423/The Corporal #1)[1], NFT (538066896685637470/Burning Bunny 2)[1], NFT
                                      (539994947099447776/#26 Arkansas Bill)[1], NFT (542560524328386363/Love Gun Bright)[1], NFT (557307415196970907/Ravishing)[1], NFT (562443095281054101/#19 Super Trump)[1], NFT
                                      (564060261945077052/Jackie)[1], NFT (573634735999715025/Nas)[1], USD[0.00]
07903643                              NFT (562097044672285503/Sun Set #618)[1], TRX[.000002], USD[0.60]

07903645                              BTC[0], ETH[.00000001], SOL[0], USD[0.00], USDT[0]

07903652                              NFT (421516393071051241/#6802)[1], NFT (431690100099645987/#5839)[1], NFT (514687728496627774/#4097)[1], NFT (530966470437574732/#3678)[1], USD[0.00]

07903657                              USD[0.00]

07903668                              USD[0.00], USDT[2.95896555]

07903680                              BTC[.17739165], DOGE[232.23319385], ETH[.24637561], ETHW[.24617986], SHIB[1], TRX[1], USD[0.00]                                                                                             Yes

07903692                              NFT (304830102003244167/Space Bums #1704)[1], NFT (348544492449422948/Fancy Frenchies #9309)[1], NFT (386581213904259177/Solninjas #234)[1], NFT (498676551337614964/Entrance
                                      Voucher #3904)[1], NFT (512446076658341467/Mech #2187)[1], NFT (514176467836313320/Lunarian #3860)[1], NFT (551890828742977795/#773)[1], NFT (554734624440092007/Space Bums
                                      #9886)[1], SOL[.0000903], USD[0.00], USDT[0]
07903701                              USD[1.71]

07903718                              CUSDT[2], SHIB[7933622.58555242], USD[0.28]                                                                                                                                                 Yes

07903731                              TRX[1], USD[0.00]

07903736                              USD[0.00]

07903738                              BTC[.00000278], NFT (567537660213525056/The Electoral College)[1], SHIB[0], USD[0.00]                                                                                                       Yes

07903747                              BTC[3.74216518], ETH[25.50742308], ETHW[25.50044776]                                                                                                                                        Yes

07903761                              ETH[.00250506], ETHW[0.00250506], NFT (326921130518153056/FTX FC #94)[1], NFT (372554360767828564/FC#126)[1], NFT (376905331527590029/FC#94)[1], NFT
                                      (409592551151203453/FC#125)[1], NFT (423434274655095386/FTX FC #122)[1], NFT (475826773554874089/FC#122)[1], NFT (500684889779376050/FTX FC #131)[1], NFT
                                      (506181763340625705/FTX FC #152)[1], NFT (525337489721075371/FTX FC #125)[1], NFT (553931097856136273/FC#152)[1], NFT (570369314406445137/FC#125 #2)[1]
07903769                              LTC[0], SOL[0], USD[0.00], USDT[0.00020213]

07903775                              NFT (531837496493507807/Microphone #7372)[1]

07903776       Contingent, Disputed   DOGE[0], ETH[0], KSHIB[0], MATIC[0], SHIB[0], SOL[0], USD[0.31], USDT[0]

07903787                              USD[5.68]

07903788                              ETH[.08182272], ETHW[.08182272], USD[250.00]

07903795                              SOL[.0416795], TRX[1], USD[0.37]                                                                                                                                                            Yes

07903819                              SOL[.02]

07903832                              BRZ[2], CUSDT[20], DAI[.00009801], MKR[.00000004], SHIB[159695.62447533], TRX[3], USD[0.00], USDT[0]                                                                                        Yes

07903841                              USD[0.00]

07903843                              ETH[.02736814], SHIB[4], USD[0.00]                                                                                                                                                          Yes

07903852                              ETH[.000007], TRX[1], USD[21.09]                                                                                                                                                            Yes

07903857                              CUSDT[4], DOGE[1], MATIC[2.21558692], NFT (315618592238134186/ApexDucks #506)[1], NFT (514721351861241426/ApexDucks #7539)[1], SHIB[1], SOL[.00564907], TRX[1], USD[0.01]

07903859                              NFT (469838701821273309/FTX - Off The Grid Miami #5401)[1]

07903862                              CUSDT[1], TRX[1], USD[36.76]

07903864                              USD[0.00]

07903881                              SOL[.13071072], USD[0.00]

07903884                              BTC[0], DAI[0], ETH[0], ETHW[0], MATIC[0], SHIB[3], USD[0.00], USDT[0]                                                                                                                      Yes

07903894                              ETH[.03664628], ETHW[.03619484], USD[0.00]                                                                                                                                                  Yes

07903897                              DOGE[1], SOL[11.65449217], TRX[1], USD[0.01]                                                                                                                                                Yes

07903913                              BTC[0.00000948]

07903923                              USD[4.21]

07903927                              NFT (295397095821716385/2974 Floyd Norman - CLE 4-0157)[1], USD[392.11], USDT[250]

07903929                              BTC[0], ETH[.00151269], ETHW[0.05151269], SOL[0.00110735], UNI[.84786129], USD[0.53]

07903939                              SOL[2], USD[56.49]

07903940                              ETH[.00110552], ETHW[.00110552], USD[0.00]

07903941                              SOL[2]

07903945                              USD[0.00]

07903950                              BRZ[1], ETH[.00003813], ETHW[4.17510978], MATIC[.04347757], SHIB[1], SUSHI[197.87313912], TRX[1], USD[1.90]                                                                                 Yes

07903957                              AVAX[7.36069058], BRZ[1], DOGE[1], SOL[4.00462919], USD[200.00]

07903959                              BTC[0], ETH[0.04341205], SHIB[27], USD[0.00]                                                                                                                                                Yes

07903969                              DOGE[1], SOL[22.78862784], USD[0.00], USDT[.00908532]                                                                                                                                       Yes

07903970                              USD[20.00]
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                                                                                               Amended Schedule 1754      Filed
                                                                                                                   Nonpriority     06/27/23
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                                                                                                                                         Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07903981                           SOL[26.3439282], USD[0.00], USDT[0.00000006]

07903984                           USD[1.90]

07903987                           USD[50.00]

07903999                           ETH[.093953], ETHW[.093953], LINK[3.6], USD[1.40], USDT[1.2019856]

07904008                           SOL[0.00000042]

07904014                           BTC[.0000188], ETH[.000387], ETHW[.000387], USD[3452.52]

07904024                           BTC[0], ETH[0], ETHW[0], SOL[0], WBTC[0]

07904028                           NFT (398628247526549615/The Hill by FTX #719)[1], NFT (420781708063013981/fxnction x ASSC)[1], NFT (449347949529317600/Bold Badger #2547)[1], NFT (477888000226075402/Humpty Dumpty
                                   #831)[1], NFT (488709563560386025/Chosen One #982)[1], SOL[.07929328], USD[0.47], USDT[101.55133705], WEST_REALM_EQUITY_POSTSPLIT[0]
07904039                           USD[80.00]

07904041                           SOL[0.00987967], USD[0.00]

07904047                           ETH[.00001522], ETHW[1.79601522], USD[7.83]

07904053                           BTC[0.16254543], USD[23.20]

07904074                           BTC[0], USD[3.81]

07904079                           USD[105.60]

07904082                           BTC[.03345729], ETH[.039], ETHW[.039], SHIB[49774.09742426], USD[1.80]

07904091                           NFT (299318708493086516/SolFighter #1397)[1], NFT (399460090238244431/SolFighter #2000)[1], NFT (425790242406886873/TRIPPY #5096)[1], NFT (478819469214318635/TRIPPY #258)[1], NFT
                                   (547708552572281807/TRIPPY #5441)[1], NFT (550122780682466907/SolFighter #3040)[1]
07904102                           ETH[0], UNI[0], USD[772.70], USDT[0]

07904108                           NFT (534113350881880012/To wash or not to wash?!)[1], SOL[.14846554], USD[0.00]

07904114                           BTC[.00000007], SHIB[2], TRX[388.13384866], UNI[15.37038431], USD[25.86]                                                                                                                Yes

07904119                           NFT (457608140107409449/Eitbit Ape #2361)[1]

07904126                           CUSDT[4], DOGE[2], ETH[.00000157], ETHW[.00000157], SOL[.00000751], TRX[1], USD[0.00]                                                                                                   Yes

07904127                           NFT (506346725866279739/Imola Ticket Stub #1213)[1], USD[10.50]

07904146                           USD[10.78]                                                                                                                                                                              Yes

07904159                           ETH[43.12804857], ETHW[43.12804857], MATIC[53597.12219805], SOL[735], USD[-62318.11]

07904161                           DOGE[10.989], ETH[.44], ETHW[.44], USDT[.2127265]

07904169                           ETH[.00000001], ETHW[0.00032085], USD[0.26], USDT[1.26413925]

07904170                           NFT (452118380452017452/ALPHA:RONIN #250)[1], SOL[.27], USDT[.24981732]

07904171                           NFT (346886269655857372/FTX - Off The Grid Miami #5570)[1], NFT (443653540642847255/Bahrain Ticket Stub #2348)[1]

07904173                           SOL[1.0404]

07904175                           BRZ[1], SHIB[4138838.91297665], USD[0.00]                                                                                                                                               Yes

07904177                           USD[0.01]                                                                                                                                                                               Yes

07904183                           BTC[0.00000551], ETH[0], SOL[0.00000001]

07904192                           NFT (532300187698911847/Solamander #4816)[1], NFT (560607049785585189/Solamander #4763)[1]

07904200                           ETH[0], ETHW[0], NFT (429126801551757082/Microphone #4736)[1], USD[0.00]

07904204                           BTC[.00780803], DOGE[747.0637195], ETH[.08582489], ETHW[.08479847], SHIB[17219349.07582397], TRX[113.77384691], USD[0.00]                                                               Yes

07904207                           SOL[1.85048866], USD[2.15]

07904216                           USD[0.00]

07904221                           DOGE[1], SHIB[11387029.43624886], USD[0.00]                                                                                                                                             Yes

07904223                           SHIB[2], USD[67.66]                                                                                                                                                                     Yes

07904227                           BTC[.00086619], USD[0.47]

07904228                           AAVE[0], NEAR[.00004134], SHIB[6], SOL[.00289139], USD[83.04]                                                                                                                           Yes

07904232                           BRZ[1], BTC[.00000011], CUSDT[5], DOGE[2], SHIB[938828.67716082], TRX[1], USD[0.00]                                                                                                     Yes

07904233                           BAT[1.0000913], BRZ[4], CUSDT[71.00429242], DOGE[14.01194934], NFT (300304771308258119/Doak Walker's Playbook: Detroit Lions vs. Cleveland Browns - December 28, 1952 #64)[1], NFT
                                   (308518162518488146/Doak Walker's Playbook: Detroit Lions vs. Cleveland Browns - December 28, 1952 #63)[1], NFT (314035336596924792/Help )[1], NFT (316839056037772942/Tim Brown's
                                   Playbook: Kansas City Chiefs vs. Oakland Raiders - December 9, 2001 #41)[1], NFT (334733064483753760/Doak Walker's Playbook: SMU vs. Santa Clara - September 27, 1947 #68)[1], NFT
                                   (365440651392672820/DO IT TO ME JEROME)[1], NFT (369064223808495926/Marcus Allen's Playbook: Kansas City Chiefs vs. Detriot Lions - November 29, 1996 #64)[1], NFT
                                   (399480807199387875/Doak Walker's Playbook: SMU vs. Santa Clara - September 27, 1947 #71)[1], NFT (426122199703800743/Anime #55)[1], NFT (486957944770409248/Marcus Allen's Playbook:
                                   USC vs. Washington - November 14, 1981 #61)[1], NFT (526477808346125111/Hiking )[1], NFT (564341430487702920/Anime #36)[1], SHIB[820808.16860465], TRX[7], USD[0.00], USDT[2]

07904237                           BTC[.00002295], ETH[.0000196], ETHW[.0000196], LTC[.00769009], MATIC[1.854], USD[0.01]

07904250                           BTC[0.00019809], DOGE[0], USD[0.00]                                                                                                                                                     Yes

07904268                           USD[0.00]

07904283                           ETH[.00000001], ETHW[0], SOL[0], USD[0.16], USDT[163.89716823]

07904291                           USD[0.00]

07904294                           USD[6.00]

07904298                           NFT (302517842640477786/SOLSHEEP#7096)[1], NFT (509431610697398407/ArtPunk #2469)[1], SOL[.05486542]

07904306                           ETH[.00000001], USDT[0]

07904307                           MATIC[0], USD[1.22], USDT[0]

07904319                           DOGE[1], SHIB[3], USD[0.01]                                                                                                                                                             Yes

07904333                           USD[0.00], USDT[0.00056081]
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                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07904349                           BTC[0], ETH[0], GRT[0], SOL[0], USD[12.70]                                                                                                                                            Yes

07904358                           ETHW[14.587], USD[0.40], USDT[1.537626]

07904363                           SOL[.00000001], USD[0.00], USDT[1.02543197]                                                                                                                                           Yes

07904367                           BTC[0.00000322], SOL[1.47360280], USD[0.01]

07904374                           BRZ[1], NFT (512305942794602902/ALPHA:RONIN #121)[1], NFT (527957370826472546/ALPHA:RONIN #217)[1], NFT (549347805914795099/3D CATPUNK #1543)[1], NFT                                 Yes
                                   (554397487504189555/3D CATPUNK #5744)[1], SHIB[1], SOL[.16065241], USD[0.00]
07904387                           SOL[.00000001], USD[0.00]

07904392                           SOL[.04802748], USD[0.00]

07904396                           BTC[0], DOGE[5.33780933], SHIB[1], USD[83.20]                                                                                                                                         Yes

07904398                           USD[0.31]

07904404                           NFT (359762567395331928/Entrance Voucher #2476)[1], USD[1.68]

07904405                           BTC[.00000746], CUSDT[1], ETH[.00007722], ETHW[11.32751272], LTC[.00004409], USD[0.00], USDT[1.05589618]                                                                              Yes

07904414                           AAVE[0], AUD[0.00], BAT[0], BTC[0], ETH[0.00064742], ETHW[0.00064742], GRT[0], LINK[0], MATIC[0], SHIB[0], SOL[0], TRX[0], USD[2.38], USDT[0.00630680], YFI[0]

07904418                           SOL[.05]

07904423                           DOGE[1], ETHW[20.33645892], SHIB[4], USD[9.27]                                                                                                                                        Yes

07904426                           SOL[9.66582565], USD[0.34]                                                                                                                                                            Yes

07904427                           ETHW[.88096077], SHIB[5], TRX[1], USD[0.00]                                                                                                                                           Yes

07904440                           TRX[1], USD[0.00], USDT[0]                                                                                                                                                            Yes

07904447                           BTC[0], ETH[0], ETHW[0], NFT (333974426558518079/SOLYETIS #2656)[1], USD[4492.41], USDT[0]

07904454                           AVAX[.1], BTC[.0001], MATIC[13], NEAR[.9], SOL[.08], USD[0.38]

07904467                           NFT (307153149868161360/MEMORY 011)[1]

07904475                           ETH[0], SOL[0]

07904494                           USD[0.23]

07904496                           ETH[0]

07904503                           BTC[0], DOGE[1], ETH[0], GRT[0], MATIC[0.00012754], SHIB[25936.35416688], SOL[0.00000708], USD[38.71], USDT[0]                                                                        Yes

07904510                           USD[2.22]

07904531                           SOL[.44334475]

07904551                           CUSDT[3], SHIB[25481.42527741], USD[0.95]                                                                                                                                             Yes

07904557                           SHIB[130930.45788906], USD[0.00]                                                                                                                                                      Yes

07904577                           ETH[0], NFT (372929971283137116/Exiled Alien #219)[1], NFT (472902384577238911/Exiled Alien #682)[1], SOL[0], USD[0.74], USDT[0.00000085]

07904584                           NFT (289141032615171037/SBF Hair & Signature #4 #55)[1], NFT (295601298095492721/SBF Hair & Signature #6 #4)[1], NFT (396367113811092417/FTX AU - we are here! #113)[1], NFT
                                   (456657849717190695/SBF Hair & Signature #5 #22)[1]
07904596                           BTC[0], DOGE[184], SHIB[1100000], USD[0.00]

07904612                           NFT (343885155627587762/Inverse Bear 3D #5701)[1], NFT (428240433879666267/Inverse Bear 3D #5339)[1], NFT (459550148285082556/#5355 Inverse Bear)[1], NFT (473221492356320300/#5224
                                   Inverse Bear)[1], NFT (572569817618567686/Inverse Bear 3D #1071)[1]
07904621                           SOL[.00000001]

07904655                           CUSDT[2], DOGE[4], SOL[3.56849622], USD[0.15]                                                                                                                                         Yes

07904672                           USD[20.00]

07904703                           NFT (394719572020442071/Warriors Gold Blooded NFT #893)[1], NFT (456569949164828885/Coachella x FTX Weekend 1 #216)[1]

07904708                           CUSDT[1], DOGE[1], ETH[.00000001], LINK[0], MATIC[.00041779], USD[0.17], USDT[0.00000002]                                                                                             Yes

07904711                           LTC[.00014845]

07904716                           BTC[0], USD[0.00]

07904717                           NFT (305839009212568737/Australia Ticket Stub #40)[1]

07904742                           SHIB[1], USD[0.01]

07904765                           BF_POINT[300]

07904767                           BTC[.0011083], CUSDT[1], DOGE[1], ETH[.01095919], ETHW[.57186293], SHIB[1], TRX[3], USD[3.00]                                                                                         Yes

07904793                           BRZ[1], SHIB[1], TRX[5], USD[1338.85]                                                                                                                                                 Yes

07904814                           BF_POINT[200]

07904868                           SHIB[3974985.29730869], USD[0.00]                                                                                                                                                     Yes

07904922                           NFT (379695548888085680/Coachella x FTX Weekend 1 #28465)[1]

07904931                           CUSDT[1], USDT[0]                                                                                                                                                                     Yes

07904933                           NFT (402917609770032356/Ballpark Bobblers 2022 - ID: 8C68D99B)[1]

07904936                           BRZ[1], CUSDT[1], USD[0.00], USDT[0.00000014]

07904942                           USD[0.01]                                                                                                                                                                             Yes

07904974                           DOGE[1], MATIC[.02865126], SHIB[2], USD[0.00]                                                                                                                                         Yes

07904982                           SHIB[99999.99999999], USD[0.11]

07904983                           AVAX[.00000001], USD[0.00], USDT[0.00000328]

07905040                           BAT[1], DOGE[6], GRT[1], NFT (558982335652734594/Coachella x FTX Weekend 2 #24646)[1], SHIB[6], TRX[2], USD[0.00], USDT[1.02543197]                                                   Yes

07905066                           USD[12139.08]                                                                                                                                                                         Yes

07905069                           NFT (537580718266230500/The Hill by FTX #363)[1]
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                                                                                                                                  Unsecured           Page 422 of 1384
                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07905102                              NFT (318882517106838645/APEFUEL by Almond Breeze #838)[1], SOL[.01]

07905175                              NFT (424253763528965634/Coachella x FTX Weekend 1 #15282)[1]

07905208                              USD[100.00]

07905224                              ETH[0], ETHW[0], NFT (397606792120932566/Entrance Voucher #29395)[1], NFT (415012086631066173/FTX - Off The Grid Miami #2853)[1], NFT (490071494816064919/Ivy #10)[1], NFT
                                      (542017517643169325/Pleb Wojak)[1], SOL[0.08232570], USD[0.00]
07905240                              NFT (351888583230069152/Humpty Dumpty #565)[1]

07905249                              BRZ[1], USD[0.00]

07905265                              USD[20.72]                                                                                                                                                                              Yes

07905274                              SUSHI[444.51391823], USD[0.00]                                                                                                                                                          Yes

07905310                              NFT (314111989985194051/Entrance Voucher #219)[1]

07905341                              NFT (378198774577399196/Cyber Technician 4999)[1], SOL[2.76]

07905344                              NFT (430404661278470652/Coachella x FTX Weekend 2 #21840)[1], NFT (556115097523068270/Coachella x FTX Weekend 1 #12763)[1]

07905354                              NFT (541283972784610526/FTX - Off The Grid Miami #4986)[1], NFT (566517786177080876/Entrance Voucher #3128)[1]

07905396                              USD[1.64]

07905445                              AAVE[.00000065], BRZ[1], CUSDT[17], DOGE[1], NFT (293967224448248411/Anti Social Bot #656)[1], NFT (326383428808628680/Rainbow )[1], NFT (329947988874088498/Bars open )[1], NFT        Yes
                                      (343230305477602771/CatFamilya #10)[1], NFT (433384969767219505/Yolo )[1], NFT (453782595229212163/Surreal World #15)[1], NFT (473492672047125548/What Time Is It #3 Of 20)[1],
                                      SOL[.00511268], TRX[4], USD[0.00]
07905449                              NFT (493620716409748352/FTX - Off The Grid Miami #7240)[1]

07905482                              BF_POINT[100]

07905499                              USD[4.15]

07905549       Contingent, Disputed   USD[0.00], USDT[0]                                                                                                                                                                      Yes

07905630                              USD[0.01]                                                                                                                                                                               Yes

07905652                              SHIB[1], USD[0.00]

07905660                              BRZ[4], BTC[0], CUSDT[1], SHIB[6], USD[0.01], USDT[0]                                                                                                                                   Yes

07905667       Contingent,            ETH[0.27613837], ETHW[0.27613837], USD[33.82], USDT[75]
               Unliquidated
07905674                              SHIB[98600], USD[0.01]

07905696                              CUSDT[1], NFT (291385976137899700/2974 Floyd Norman - OKC 3-0210)[1], NFT (358262545431745736/2974 Floyd Norman - OKC 4-0157)[1], NFT (383243858067040991/2974 Floyd Norman -
                                      OKC 6-0243)[1], NFT (401766758107925329/2974 Floyd Norman - CLE 1-0180)[1], NFT (411212620040525507/2974 Floyd Norman - OKC 2-0206)[1], NFT (416586234164027615/2974 Floyd Norman -
                                      CLE 5-0204)[1], NFT (433713600029020488/2974 Floyd Norman - OKC 1-0097)[1], NFT (437993753979546659/The 2974 Collection #1676)[1], NFT (439426237507795888/2974 Floyd Norman - CLE 6-
                                      0202)[1], NFT (465059263674032785/Birthday Cake #1676)[1], NFT (492370018842792304/2974 Floyd Norman - CLE 4-0260)[1], NFT (515698991706288057/2974 Floyd Norman - CLE 3-0095)[1],
                                      NFT (518671498388024182/Birthday Cake #0883)[1], NFT (532172610852800863/2974 Floyd Norman - OKC 5-0089)[1], NFT (533607394787024598/The 2974 Collection #0883)[1], NFT
                                      (540196249991228471/2974 Floyd Norman - CLE 2-0148)[1], SHIB[1], TRX[1], USD[0.00]
07905761                              MATIC[35.25363558], USD[0.00]

07905762                              CUSDT[1], SHIB[349895.03149055], USD[0.00]

07905786                              TRX[.000046], USD[0.00], USDT[0.00004367]

07905803                              NFT (534910254262988172/Cyber Technician 3749)[1], USD[0.00], USDT[0]

07905812                              NFT (308011370011212596/4927)[1]

07905833                              EUR[0.00], USD[0.00]

07905874                              USD[10126.56]                                                                                                                                                                           Yes

07905909                              ALGO[.00872692], BCH[.00000344], SOL[0], TRX[1]                                                                                                                                         Yes

07905926                              NFT (397795616853448958/Aku World Avatar #52)[1], NFT (472303713765551332/Aku World Avatar #53)[1]                                                                                      Yes

07905947                              TRX[1], USD[0.00]

07905996                              NFT (314111430762602898/Entrance Voucher #3003)[1]

07906011                              DOGE[3], ETH[.00000029], ETHW[7.87431637], NEAR[.00016666], NFT (501114224574645232/FTX - Off The Grid Miami #1337)[1], SHIB[13], SOL[.00013834], TRX[3486.52803937], USD[0.00]         Yes

07906017                              USD[1.31]

07906023                              USD[3.69]

07906026                              NFT (290567660539514883/#1753)[1]

07906035                              NFT (535334491671384416/The Hill by FTX #658)[1]

07906043                              USDT[.665327]

07906048                              SOL[.33], USD[0.20]

07906082                              GRT[1], USD[900.75]                                                                                                                                                                     Yes

07906095                              ETH[.00000001], LINK[0], LTC[0], USD[0.00]

07906108                              NFT (322561681637648296/Entrance Voucher #4260)[1]

07906112                              BTC[0], SOL[0]

07906130                              DAI[.99334122], USD[0.00]                                                                                                                                                               Yes

07906144                              BTC[.00082709], GRT[26.11877554], NEAR[2.89429766], SHIB[2], USD[0.01]

07906169                              DOGE[3], GRT[2], SHIB[1], TRX[2], USD[0.00]                                                                                                                                             Yes

07906191                              BTC[0.00019088], LTC[.09163295], TRX[88.5], USDT[3.73336945]

07906209                              MATIC[.00102936]                                                                                                                                                                        Yes

07906231                              BRZ[3], ETHW[.0792623], SHIB[2], TRX[4], USD[0.00]                                                                                                                                      Yes

07906236                              SHIB[1], TRX[.000001], USD[0.00], USDT[0]

07906253                              NFT (299007128130496288/Astral Apes #163)[1], NFT (322544496506899313/Astral Apes #803)[1], NFT (330456357730800603/Astral Apes #2353)[1], NFT (391273823282615867/Astral Apes
                                      #1258)[1], NFT (396054579910870083/Astral Apes #2168)[1], NFT (418235145459728332/Astral Apes #2454)[1], NFT (497646289635757109/Astral Apes #1310)[1], SOL[.00000001], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07906271                              NFT (344506452255604663/Coachella x FTX Weekend 2 #28494)[1]

07906299                              SUSHI[.00000582], USD[2.78]                                                                                                                                                         Yes

07906323                              NFT (410073726874269734/Degen Trash Panda Merch Token)[1], NFT (536421749289837217/Map of Ailurus)[1]

07906337                              USD[0.01]                                                                                                                                                                           Yes

07906342                              BTC[.00517123], SHIB[1], USD[0.00]

07906364                              NFT (328540973684518758/Polyline FTX Logo)[1], NFT (551457389901039098/Romeo #594)[1]

07906373                              BRZ[1], DOGE[2], SHIB[3], TRX[1], USD[0.00], USDT[2.08728436]                                                                                                                       Yes

07906392                              BCH[0], BRZ[1], BTC[0], CUSDT[0], GRT[2], TRX[0], USD[0.00]                                                                                                                         Yes

07906395                              NFT (323978913124376534/Coachella x FTX Weekend 2 #9085)[1]

07906425                              BRZ[3], CUSDT[16], DOGE[11], ETH[0], GRT[1], SHIB[2], TRX[.000028], USD[0.00], USDT[0.00000801]

07906499                              NFT (373628983544822430/Good Boy #18152)[1], NFT (452190356495219197/Romeo #1434)[1]

07906502                              AAVE[.00000458], BTC[.00000046], GRT[3010.01205963], LINK[.00109649], SHIB[.00000036], USD[3.82]                                                                                    Yes

07906511                              USD[3008.75]

07906518                              SHIB[1], USD[0.00]                                                                                                                                                                  Yes

07906541                              BTC[0.00000578], SHIB[54000], USD[1.32], USDT[0]

07906594                              USD[25.23]                                                                                                                                                                          Yes

07906602                              BRZ[1], DOGE[1], GRT[1], USD[0.01]                                                                                                                                                  Yes

07906625                              CUSDT[1], ETH[.18471181], ETHW[0.18471180], NEAR[338.91929993], SHIB[1], USD[50.00]

07906628                              NFT (533785423353691570/Coachella x FTX Weekend 2 #6514)[1]

07906681                              SHIB[1], USD[0.00]

07906695                              NFT (475296455181728631/ApexDucks Halloween #725)[1], SOL[.3627]

07906713                              DOGE[.00000001]                                                                                                                                                                     Yes

07906723                              BRZ[2], CUSDT[9.900475], DOGE[.00938898], ETH[.00000407], ETHW[.00000407], TRX[2], USD[26.66]                                                                                       Yes

07906810                              NFT (574420896418089637/Series 1: Capitals #348)[1]

07906843                              SOL[0]

07906853                              BRZ[1], DOGE[2], USD[0.01]                                                                                                                                                          Yes

07906877                              ETHW[45.81145198], GRT[2433.62502456]                                                                                                                                               Yes

07906909                              NFT (390986831672167305/Oink 2983)[1], NFT (467656928818351385/Oink 5380)[1], NFT (487684450941099192/Oink 3024)[1], NFT (570155992293152854/Oink 3028)[1], SOL[.2046]

07906910                              BTC[.0000993], MKR[.000998], SOL[.006], USD[101.91]

07906917                              USD[0.00], USDT[0]                                                                                                                                                                  Yes

07906918                              NFT (312469062181114839/6116)[1], NFT (349463426694322722/4360)[1], NFT (358132828506652428/1320)[1], NFT (396881869340025006/6243)[1], NFT (493493078150166478/1272)[1], SOL[.3]

07906924                              NFT (311175241217341844/SolFractal #9789)[1], SOL[.186]

07906934                              USD[714.82]

07906947                              USD[0.00]

07906966                              USD[30.24]

07906972                              BAT[0], BCH[0], BTC[0], DAI[0], DOGE[0], ETH[0], LTC[0], MATIC[0], SHIB[0], SUSHI[0], TRX[0.00000011], USD[0.00]

07906975                              NFT (554295636039855368/Warriors 75th Anniversary City Edition Diamond #423)[1]                                                                                                     Yes

07906977                              NFT (371550561597379223/Man #30)[1], NFT (395126328826172406/Astro Stones #68)[1], NFT (479870726587710387/Man #7)[1], NFT (539443043923364429/Man #11)[1], USD[0.18]               Yes

07906991                              USD[0.00]

07907222                              USD[0.00], USDT[0]

07907229                              BTC[0], DOGE[1], ETH[.00001725], TRX[1], USD[842.42], USDT[9.97207707]                                                                                                              Yes

07907253       Contingent, Disputed   CUSDT[1], SHIB[2], TRX[3], USD[0.00]                                                                                                                                                Yes

07907299                              DOGE[1], USD[0.00]

07907313                              ETH[.00000001], SOL[0]

07907332                              DOGE[1], SHIB[2], USD[0.00]

07907335                              NFT (292106798079234895/Gold Starfish)[1], NFT (388973308170758532/Diamond Starfish)[1], NFT (477231510494798892/Silver Starfish)[1]

07907348                              DAI[0], ETH[0], USD[0.00]

07907375                              USD[0.00]

07907466                              SHIB[3], TRX[1], USD[0.00]                                                                                                                                                          Yes

07907483                              BTC[.00289429]

07907513                              BTC[0], DOGE[0], ETH[0], SOL[0], SUSHI[0], USD[1.04], USDT[0.00000001]

07907546                              NFT (532890196708588048/Miami Ticket Stub #601)[1]

07907574                              BTC[.00353618], CUSDT[2], DOGE[1444.38050743], USD[0.51]                                                                                                                            Yes

07907592                              USD[0.00]

07907643                              SHIB[1], USD[0.00]

07907654                              TRX[1], USD[2.04], USDT[0]                                                                                                                                                          Yes

07907669                              NFT (497223356764336878/Coachella x FTX Weekend 2 #1870)[1]                                                                                                                         Yes

07907688                              ALGO[3234.88425875], DOGE[1], USD[0.00]                                                                                                                                             Yes
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                                                                                                                                         Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07907711                           ETHW[2.085]

07907760                           ETH[.0664929], ETHW[1.01513357], SHIB[2], SOL[91.9523577], TRX[1], USD[4.65], USDT[1.64923614]                                                                                            Yes

07907799                           USD[500.00]

07907805                           DOGE[1], USD[0.00]

07907829                           BAT[1], CUSDT[1], NFT (383108382065196435/Entrance Voucher #3744)[1], SOL[.07919238], USD[0.00]

07907842                           AAVE[0], BAT[0], BCH[0], BRZ[0], BTC[0], CUSDT[0], DAI[0], DOGE[0], ETH[0], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], MKR[0], NFT (382008592437468508/ApexDucks #4809)[1], NFT         Yes
                                   (399539622749153958/#5525)[1], NFT (524965214216528867/#6468)[1], NFT (566760149373318852/#6062)[1], PAXG[0], SHIB[2], SOL[0.52320713], SUSHI[0], TRX[0.00310900], UNI[0], USD[0.00],
                                   USDT[0], YFI[0], ZAR[0.00]
07907904                           CUSDT[1], USDT[0]

07907940                           NFT (363305230218366539/SolFractal #9207)[1], NFT (396580577272727585/SolFractal #6636)[1], NFT (401732824793692807/SolFractal #2866)[1], NFT (434340396386821306/SolFractal #1719)[1],
                                   NFT (561924828070294155/Humpty Dumpty #938)[1]
07907946                           TRX[0]

07907970                           BRZ[1], CUSDT[1], USD[0.00]

07907988                           CUSDT[1], SHIB[329712.38194608], USD[0.00]                                                                                                                                                Yes

07907990                           BTC[.08557763], ETH[1.2183034], ETHW[1.21779178], NFT (336935828583021511/PolygonArt #6)[1], NFT (427302187301477721/Doge Club #2)[1], NFT (437229535307073520/AK - 47)[1], NFT           Yes
                                   (453464955533671351/Shannon Sharpe's Playbook: Baltimore Ravens vs. Oakland Raiders - January 14, 2001 #87)[1], NFT (486025564400463627/Voxel Animals #7)[1], NFT
                                   (553466780393145304/Shannon Sharpe's Playbook: Baltimore Ravens vs. Denver Broncos - December 31, 2000 #72)[1], SHIB[4571655.91613192], SOL[2.13432479], USD[0.00]
07908023                           BTC[.00000002], SHIB[1], USD[0.00]                                                                                                                                                        Yes

07908040                           DOGE[1], USD[0.00]

07908063                           USD[0.08]

07908080                           SOL[.2336289], USD[0.00]

07908114                           ETH[0], ETHW[0], GRT[0], SHIB[628.3137691], SOL[0], USD[0.00]

07908149                           BTC[0], USD[0.00], USDT[0.00000143]

07908155                           NFT (315600358838669884/Coachella x FTX Weekend 1 #27486)[1]

07908179                           USD[235.75]

07908232                           NFT (562073322600273418/Coachella x FTX Weekend 2 #466)[1]                                                                                                                                Yes

07908238                           NFT (330078853140343170/Upbeat Mclean)[1]

07908305                           BTC[.00084843], CAD[6.65], CUSDT[1], LINK[2.00524098], TRX[1], USD[0.02]                                                                                                                  Yes

07908322                           BTC[.00098967]                                                                                                                                                                            Yes

07908326                           NFT (333952329910444616/The Hill by FTX #8472)[1]

07908360                           SHIB[18.6328168], TRX[1.000066], USD[0.00], USDT[0]                                                                                                                                       Yes

07908373                           ETH[.000756], ETHW[.000756], USD[0.00], USDT[0]

07908376                           BTC[0], NFT (290762077421499336/Humpty Dumpty #905)[1], SOL[0]

07908383                           ALGO[.24751893], SHIB[1], USD[0.00]

07908405                           BF_POINT[100]

07908449                           DOGE[2], MATIC[0]                                                                                                                                                                         Yes

07908460                           SOL[.05578962]

07908463                           NFT (380088648113648522/Imola Ticket Stub #2486)[1]

07908470                           USD[10.00]

07908479                           CUSDT[2], DOGE[2], USD[0.00]

07908502                           SOL[3.32], USD[0.28]

07908550                           ETH[.00000964], ETHW[.00000964], SHIB[3955.65419675], TRX[1], USD[0.37]                                                                                                                   Yes

07908620                           GRT[1], LINK[.00022893], USD[0.00]                                                                                                                                                        Yes

07908655                           USD[0.00], USDT[0.02001608]                                                                                                                                                               Yes

07908668                           SHIB[4672899.19626168], SOL[2.09649404], USD[0.02]

07908690                           USD[5.28]

07908721                           NFT (462238048034856587/Warriors 75th Anniversary City Edition Diamond #416)[1]

07908734                           USD[400.00]

07908778                           USD[0.49]

07908783                           USD[0.00]

07908796                           DOGE[1], MATIC[1.00115346], SHIB[1], SOL[0], TRX[1]                                                                                                                                       Yes

07908832                           NFT (465288279025988310/Microphone #8330)[1]

07908873                           BTC[0], GRT[3312.95067447], NFT (362246131336806709/Imola Ticket Stub #1004)[1], NFT (533470123442463925/Entrance Voucher #2862)[1], SHIB[1], USD[0.00]

07908893                           BTC[.00325482], SHIB[20.77200967], USD[0.00]                                                                                                                                              Yes

07908928                           CUSDT[2], ETH[.00000236], ETHW[.00000236], USD[11.07]                                                                                                                                     Yes

07908937                           USD[2.00]

07908949                           USD[0.33]

07908973                           BTC[0], ETH[0], MATIC[0], NFT (438542185775937928/Retro Piggy from the Past)[1], SOL[0], USDT[0.00000157]

07909052                           USD[0.00]

07909059                           TRX[.000007], USD[67.20]

07909094                           SHIB[1], SOL[2.01499451], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07909096                           SOL[.003]

07909107                           SOL[.00000955], USD[0.00]

07909113                           NFT (344992172825721621/Coachella x FTX Weekend 1 #3922)[1]

07909130                           BRZ[1], BTC[0.00009149], LTC[.00009685], TRX[1], USD[0.00]                                                                                                                           Yes

07909154                           USD[0.27]

07909196                           TRX[6257.04936]

07909211                           BTC[.00009582], DOGE[23.07208084], SUSHI[1.01899894], USD[0.00], USDT[0.00000009]                                                                                                    Yes

07909249                           SOL[0], USD[0.00]

07909253                           AAVE[.09859], BTC[.0042765], DOGE[4554.651], ETH[0.02492900], ETHW[0.02492900], MATIC[783.98], NFT (328694631895403989/Mech #2800)[1], NFT (355289165790517870/Mech #5031)[1], NFT
                                   (384642101252113574/marilyn monroe)[1], SHIB[52964500], SOL[46.80952200], USD[22.91], USDT[0]
07909265                           ETH[1.69798954], USD[0.00], USDT[0]

07909275                           BRZ[1], DOGE[0], LINK[0], SHIB[348.92643739], SOL[.00000001], TRX[1]                                                                                                                 Yes

07909288                           USD[0.00]

07909334                           BRZ[2], ETH[.00001861], ETHW[.00001861], GRT[1.00019173], LINK[1.08094456], TRX[2], USD[0.00], USDT[1.02543197]                                                                      Yes

07909337                           DOGE[9228.22485], ETH[8.99715], ETHW[8.99715], LINK[434.81], MATIC[4126.0765], SOL[100.357263], SUSHI[385], USD[23398.43]

07909341                           USD[1.10]

07909343                           LINK[.00000001]                                                                                                                                                                      Yes

07909354                           BTC[.00000029], ETH[.00000167], ETHW[.18232497], USD[0.00]                                                                                                                           Yes

07909355                           USD[100.00]

07909453                           NFT (492629329543434398/Coachella x FTX Weekend 2 #16714)[1]

07909471                           SOL[0], USD[0.00]

07909477                           USD[0.59]

07909550                           BTC[.0000871], MATIC[.1], USDT[1]

07909559                           USD[0.25], USDT[0]

07909566                           BRZ[2], ETHW[2.04778863], GRT[1], USD[0.00]                                                                                                                                          Yes

07909569                           NFT (556539949202723984/Saudi Arabia Ticket Stub #1256)[1]                                                                                                                           Yes

07909573                           BRZ[1], CUSDT[2], DOGE[1], MATIC[20.45803062], SHIB[1], USD[5.13]                                                                                                                    Yes

07909584                           LINK[.20469207], USD[0.00]                                                                                                                                                           Yes

07909591                           NFT (443181362463363482/Solarian Enforcer #1)[1]

07909601                           BTC[0.03310305], ETH[.5], ETHW[.5]

07909621                           CUSDT[1], SOL[.63128933], USD[0.00]

07909646                           BAT[1], LTC[2.02862805], USD[0.00]                                                                                                                                                   Yes

07909651                           SHIB[1], USD[0.00]

07909674                           SOL[.0074], USD[23.76]

07909676                           USD[0.99]

07909679                           NFT (335525860321391633/Millennial #571)[1], NFT (502046893122163248/Millennial #570)[1]                                                                                             Yes

07909688                           ETH[0], SOL[0], USD[0.00], USDT[0]

07909702                           NFT (391750503286725721/2974 Floyd Norman - OKC 6-0269)[1], USD[0.00]

07909744                           BTC[0], CAD[0.00], DOGE[1], GBP[0.00], NFT (547896005909739769/BB Los Angeles #1 of 1)[1], NFT (550348613697209018/Moon Night)[1], SHIB[1], USD[0.36], USDT[0.00000001]              Yes

07909764                           NFT (521339393070896673/Coachella x FTX Weekend 2 #9139)[1]

07909766                           SOL[5.09], USD[1.43]

07909769                           NFT (296606357478902766/The 2974 Collection #2348)[1], NFT (353780827491482245/Birthday Cake #1144)[1], NFT (386096719770080030/Birthday Cake #2348)[1], NFT
                                   (505204410478744235/2974 Floyd Norman - OKC 5-0205)[1], NFT (510852825004472051/The 2974 Collection #1144)[1], USD[20.00]
07909789                           BTC[0.00461686], ETH[0], ETHW[0], TRX[.000005], USD[1.74], USDT[.0087]

07909812                           USDT[2]

07909851                           BRZ[1], BTC[.00660615], DOGE[4], ETHW[.01021716], GRT[2], LINK[50.44989014], SHIB[2], SOL[38.69375185], TRX[2], USD[0.58]

07909890                           NFT (297820417573247340/2974 Floyd Norman - CLE 1-0174)[1], USD[1.61], USDT[0.00915162]

07909897                           USD[0.00]

07909904                           NFT (416559207905749618/Entrance Voucher #1914)[1]                                                                                                                                   Yes

07909905                           USD[0.00]

07909908                           SHIB[1], USD[0.00], USDT[149.22075429]

07909922                           SOL[.00000001], USD[0.01]                                                                                                                                                            Yes

07909927                           TRX[2], USD[0.07]                                                                                                                                                                    Yes

07909943                           BTC[.00000119], CUSDT[0], TRX[3]                                                                                                                                                     Yes

07909944                           BAT[1], BTC[0], ETH[0], SHIB[2], SOL[0], USD[0.00]

07909947                           BCH[0], BTC[0], DOGE[0], ETH[0], ETHW[0], GRT[0], LINK[0], LTC[0], MATIC[0], SOL[0], TRX[0], USD[0.01]

07909955                           ETH[0], SOL[0], USD[0.00]

07909958                           BTC[.00001556], ETH[.04647989], ETHW[.04647989], SOL[.50174529], USD[0.01], USDT[0.23568343]

07909962                           ETH[3.21277867], ETHW[.00014551], SHIB[9994836.4907619], USD[141.89], YFI[.00101591]                                                                                                 Yes

07909965                           USD[12.51]                                                                                                                                                                           Yes
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                                                                                                                                             Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07909978                              ETH[56.96720542], ETHW[56.95131732], LINK[1654.22011191]                                                                                                                                  Yes

07909979                              ETH[0.00231063], ETHW[0.09231063], NFT (288453124468982335/01:Predawn - Ukraine #211)[1], NFT (288511236720490193/01:Predawn - Ukraine #305)[1], NFT (288534918826542250/01:Predawn
                                      - Ukraine #268)[1], NFT (289523215965657452/01:Predawn - Ukraine #74)[1], NFT (289723316455852708/01:Predawn - Ukraine #414)[1], NFT (289824942173486869/01:Predawn - Ukraine #156)[1],
                                      NFT (290965877443334856/01:Predawn - Ukraine #409)[1], NFT (291001984855284909/01:Predawn - Ukraine #194)[1], NFT (293245838884104493/01:Predawn - Ukraine #67)[1], NFT
                                      (293437357446797182/01:Predawn - Ukraine #85)[1], NFT (293458954989576402/01:Predawn - Ukraine #46)[1], NFT (294365185094009390/01:Predawn - Ukraine #435)[1], NFT
                                      (294496982815441473/01:Predawn - Ukraine #38)[1], NFT (294987063628720992/01:Predawn - Ukraine #282)[1], NFT (296053593117119594/01:Predawn - Ukraine #450)[1], NFT
                                      (296730860801155369/01:Predawn - Ukraine #299)[1], NFT (298035790655083372/01:Predawn - Ukraine #476)[1], NFT (298499863058081021/01:Predawn - Ukraine #288)[1], NFT
                                      (300546954082483792/01:Predawn - Ukraine #343)[1], NFT (302643495766261569/01:Predawn - Ukraine #350)[1], NFT (304040369574953088/01:Predawn - Ukraine #104)[1], NFT
                                      (304138760879362872/01:Predawn - Ukraine #144)[1], NFT (304605624627928108/01:Predawn - Ukraine #389)[1], NFT (305272428218309857/01:Predawn - Ukraine #174)[1], NFT
                                      (306361036505648058/01:Predawn - Ukraine #114)[1], NFT (306658678330990721/01:Predawn - Ukraine #460)[1], NFT (307968364198592500/01:Predawn - Ukraine #239)[1], NFT
                                      (308521894353649150/01:Predawn - Ukraine #102)[1], NFT (308677893636038335/01:Predawn - Ukraine #261)[1], NFT (308937373132475115/01:Predawn - Ukraine #29)[1], NFT
                                      (309255618212821106/01:Predawn - Ukraine #93)[1], NFT (309623773931410848/01:Predawn - Ukraine #303)[1], NFT (309746827336513400/01:Predawn - Ukraine #287)[1], NFT
                                      (311204288985836312/01:Predawn - Ukraine #161)[1], NFT (311950554160191666/01:Predawn - Ukraine #471)[1], NFT (311980140990145481/01:Predawn - Ukraine #210)[1], NFT
                                      (312257467305531685/01:Predawn - Ukraine #198)[1], NFT (312272716156419287/01:Predawn - Ukraine #464)[1], NFT (312745191367679821/01:Predawn - Ukraine #317)[1], NFT
                                      (313031116513273887/01:Predawn - Ukraine #176)[1], NFT (313214858984834497/01:Predawn - Ukraine #341)[1], NFT (313234210726269560/01:Predawn - Ukraine #394)[1], NFT
                                      (313344023858258747/01:Predawn - Ukraine #381)[1], NFT (313623503857509346/01:Predawn - Ukraine #248)[1], NFT (314259319849208992/01:Predawn - Ukraine #166)[1], NFT
                                      (314572342200196746/01:Predawn - Ukraine #326)[1], NFT (315899786022271849/01:Predawn - Ukraine #321)[1], NFT (315976082190413751/01:Predawn - Ukraine #228)[1], NFT
                                      (316758193767971567/01:Predawn - Ukraine #397)[1], NFT (317199354341303326/01:Predawn - Ukraine #486)[1], NFT (317736878096309023/01:Predawn - Ukraine #153)[1], NFT
                                      (317793576207243313/01:Predawn - Ukraine #467)[1], NFT (320129200507748737/01:Predawn - Ukraine #459)[1], NFT (321450080549859433/01:Predawn - Ukraine #323)[1], NFT
                                      (322720741756207686/01:Predawn - Ukraine #418)[1], NFT (323073988587289657/01:Predawn - Ukraine #479)[1], NFT (324393220820136067/01:Predawn - Ukraine #273)[1], NFT
                                      (325254237019266361/01:Predawn - Ukraine #440)[1], NFT (325443613557757131/01:Predawn - Ukraine #314)[1], NFT (325604964377797976/01:Predawn - Ukraine #236)[1], NFT
                                      (325666206256091158/01:Predawn - Ukraine #219)[1], NFT (327123583280652982/01:Predawn - Ukraine #138)[1], NFT (327227337521566949/01:Predawn - Ukraine #11)[1], NFT
                                      (327609741472840005/01:Predawn - Ukraine #312)[1], NFT (328690119567188244/01:Predawn - Ukraine #271)[1], NFT (329290921791162129/01:Predawn - Ukraine #103)[1], NFT
                                      (329557095327595028/01:Predawn - Ukraine #206)[1], NFT (330449414657529473/01:Predawn - Ukraine #26)[1], NFT (330665202256313065/01:Predawn - Ukraine #36)[1], NFT
                                      (330768248851126675/01:Predawn - Ukraine #426)[1], NFT (331962211294996129/01:Predawn - Ukraine #50)[1], NFT (334561990039059510/01:Predawn - Ukraine #400)[1], NFT
                                      (336902454774960545/01:Predawn - Ukraine #68)[1], NFT (339331049194917864/01:Predawn - Ukraine #28)[1], NFT (339556083792346919/01:Predawn - Ukraine #363)[1], NFT
                                      (339611274507593715/01:Predawn - Ukraine #71)[1], NFT (339776813047835756/01:Predawn - Ukraine #430)[1], NFT (340110597244895869/01:Predawn - Ukraine #383)[1], NFT
                                      (340829472555981734/01:Predawn - Ukraine #101)[1], NFT (341351167878140532/01:Predawn - Ukraine #310)[1], NFT (341522955330156601/01:Predawn - Ukraine #491)[1], NFT
                                      (341537136597723703/01:Predawn - Ukraine #478)[1], NFT (341651926500509866/01:Predawn - Ukraine #164)[1], NFT (342518106887699181/01:Predawn - Ukraine #371)[1], NFT
                                      (343793808280338481/01:Predawn - Ukraine #53)[1], NFT (343839589907586626/01:Predawn - Ukraine #284)[1], NFT (343901579563645187/01:Predawn - Ukraine #332)[1], NFT
                                      (344160654935508614/01:Predawn - Ukraine #439)[1], NFT (344726527015526646/01:Predawn - Ukraine #43)[1], NFT (346553411206644115/01:Predawn - Ukraine #331)[1], NFT
                                      (347528855580274967/01:Predawn - Ukraine #270)[1], NFT (348117045768263942/01:Predawn - Ukraine #40)[1], NFT (348270678070765995/01:Predawn - Ukraine #249)[1], NFT
                                      (348273591389110506/01:Predawn - Ukraine #17)[1], NFT (348483049991877294/01:Predawn - Ukraine #481)[1], NFT (348569462320326837/01:Predawn - Ukraine #22)[1], NFT
                                      (348890432954460863/01:Predawn - Ukraine #193)[1], NFT (349333929113716667/01:Predawn - Ukraine #355)[1], NFT (349610516306317807/01:Predawn - Ukraine #142)[1], NFT
                                      (350247401438359012/01:Predawn - Ukraine #421)[1], NFT (350273437716365263/01:Predawn - Ukraine #277)[1], NFT (351311551263759433/01:Predawn - Ukraine #79)[1], NFT
                                      (352139685608092593/01:Predawn - Ukraine #313)[1], NFT (352149832771569354/01:Predawn - Ukraine #407)[1], NFT (352186132993324288/01:Predawn - Ukraine #190)[1], NFT
                                      (352599320739869658/01:Predawn - Ukraine #393)[1], NFT (352988654383851980/01:Predawn - Ukraine #324)[1], NFT (353116793886401839/01:Predawn - Ukraine #293)[1], NFT
                                      (354028622416012972/01:Predawn - Ukraine #304)[1], NFT (355158581124125192/01:Predawn - Ukraine #309)[1], NFT (356267577354718219/01:Predawn - Ukraine #429)[1], NFT
                                      (356415439067146461/01:Predawn - Ukraine #20)[1], NFT (356776403054115764/01:Predawn - Ukraine #412)[1], NFT (357307435292403963/01:Predawn - Ukraine #474)[1], NFT
                                      (357570970411380313/01:Predawn - Ukraine #376)[1], NFT (357837854931537619/01:Predawn - Ukraine #129)[1], NFT (359458159432932651/01:Predawn - Ukraine #238)[1], NFT
                                      (359591632514336185/01:Predawn - Ukraine #130)[1], NFT (359658179789152944/01:Predawn - Ukraine #83)[1], NFT (360111956952513093/01:Predawn - Ukraine #60)[1], NFT
                                      (360440428274586538/01:Predawn - Ukraine #87)[1], NFT (360678518965607973/01:Predawn - Ukraine #37)[1], NFT (360809361445172511/01:Predawn - Ukraine #175)[1], NFT
                                      (360966942070279349/01:Predawn - Ukraine #146)[1], NFT (361282671058959520/01:Predawn - Ukraine #362)[1], NFT (361767433405732554/01:Predawn - Ukraine #286)[1], NFT
                                      (362599312902891687/01:Predawn - Ukraine #242)[1], NFT (363893242061240952/01:Predawn - Ukraine #260)[1], NFT (363980423752958892/01:Predawn - Ukraine #500)[1], NFT
                                      (364253881487391920/01:Predawn - Ukraine #158)[1], NFT (364469277681782988/01:Predawn - Ukraine #351)[1], NFT (366348197001414087/01:Predawn - Ukraine #196)[1], NFT
                                      (366495612135788455/01:Predawn - Ukraine #182)[1], NFT (366596965650212053/01:Predawn - Ukraine #456)[1], NFT (367407208061992538/01:Predawn - Ukraine #473)[1], NFT
                                      (367523446531147051/01:Predawn - Ukraine #73)[1], NFT (367548401165591822/01:Predawn - Ukraine #115)[1], NFT (367656779826467667/01:Predawn - Ukraine #15)[1], NFT
                                      (367659042487511721/01:Predawn - Ukraine #23)[1], NFT (367787916679373893/01:Predawn - Ukraine #82)[1], NFT (367948015608200341/01:Predawn - Ukraine #177)[1], NFT
                                      (368352087998082983/01:Predawn - Ukraine #209)[1], NFT (370020464984348605/01:Predawn - Ukraine #33)[1], NFT (370030414575173701/01:Predawn - Ukraine #496)[1], NFT
                                      (370566562541333823/01:Predawn - Ukraine #272)[1], NFT (371094039605986716/01:Predawn - Ukraine #461)[1], NFT (373248045909677249/01:Predawn - Ukraine #253)[1], NFT
                                      (373910436854892568/01:Predawn - Ukraine #16)[1], NFT (374229834552131222/01:Predawn - Ukraine #452)[1], NFT (374895121136829197/01:Predawn - Ukraine #134)[1], NFT
                                      (375595629696119376/01:Predawn - Ukraine #380)[1], NFT (376552473804258680/01:Predawn - Ukraine #302)[1], NFT (377293553027859157/01:Predawn - Ukraine #493)[1], NFT
07910019                              USD[0.04]

07910026                              TRX[1], USD[0.01]                                                                                                                                                                         Yes

07910073                              BTC[.0039969], ETH[.035974], ETHW[.035974], USD[4.95]

07910143                              NFT (551493922495196003/Coachella x FTX Weekend 2 #5005)[1]

07910151                              USD[0.00]

07910189                              BTC[0], TRX[.000001], USDT[.49151525]

07910195                              BRZ[19.0786966], BTC[0], DOGE[.0006579], SHIB[567], TRX[.00064785], USD[0.00], USDT[0]                                                                                                    Yes

07910211                              DOGE[1], USD[0.00]

07910247                              NFT (496246996438417752/Coachella x FTX Weekend 2 #14550)[1]

07910272                              BRZ[1], NFT (454832882821486191/The Hill by FTX #2981)[1], SHIB[5], TRX[2.000495], USDT[0.00000156]

07910301                              BRZ[1], BTC[0], CUSDT[2], ETH[0], MATIC[0], SHIB[1], SOL[0], TRX[3], USD[0.00]                                                                                                            Yes

07910307                              NFT (359632134246583990/Crypto Avatar Art #11)[1], NFT (443447346467678294/Crypto Avatar Art #20)[1], NFT (488494840113342349/My Little Gang #16)[1], NFT (538180548523248800/My Little
                                      Gang #5)[1]
07910308       Contingent, Disputed   CUSDT[1], DOGE[1], SHIB[559.35075492], USD[0.00]

07910311                              SOL[0.15988744], USD[1.00]

07910318                              USD[0.01]                                                                                                                                                                                 Yes

07910366                              AUD[0.00], BTC[0], USD[0.00], USDT[0.00018877]

07910381                              NFT (445192813762588873/Warriors 75th Anniversary Icon Edition Diamond #3002)[1]

07910396                              NFT (524560674650951483/FTX - Off The Grid Miami #4861)[1], TRX[71], USD[0.05]

07910403                              UNI[.2251496], USD[5.45]                                                                                                                                                                  Yes

07910407                              USD[0.00]

07910435                              USD[20.00]

07910438                              SHIB[2], USD[0.00]

07910460                              BTC[.17222874], DOGE[1], ETH[.1831758], ETHW[.06226716], MATIC[466.76718366], SHIB[2], SOL[46.79317485], USD[3.20]                                                                        Yes

07910467                              USD[10.86]                                                                                                                                                                                Yes
West Realm Shires Services Inc.                                                    Case 22-11068-JTD      Doc F-3:
                                                                                               Amended Schedule 1754      Filed
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                                                                                                                                         Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07910469                           SHIB[92000], TRX[.000001], USD[0.01], USDT[.001698]

07910472                           BTC[.0168377], DOGE[1], USD[0.00]

07910497                           ALGO[1085.49467052], BRZ[6.00180851], BTC[.04061322], DOGE[12.02765055], ETH[.15985018], ETHW[.10372131], LINK[118.31471299], MATIC[761.41624874], SHIB[50], SOL[16.75219271],         Yes
                                   TRX[4], USD[0.02]
07910500                           SOL[.00071036]                                                                                                                                                                         Yes

07910503                           ETH[2.00599], ETHW[2.00599], USD[24.25]

07910509                           NFT (320955066464476742/Coachella x FTX Weekend 1 #3492)[1]                                                                                                                            Yes

07910512                           ETHW[.00829014], SHIB[1], USD[0.00]

07910536                           GRT[1393.28384027], LINK[.00014906], SHIB[39249.5453149], TRX[2], UNI[.00166676], USD[316.85]                                                                                          Yes

07910537                           ETH[0], LINK[0], LTC[0], MATIC[0], SOL[0], SUSHI[0], TRX[0], USD[0.00], USDT[0]

07910556                           BTC[0.00000026], ETH[0], ETHW[0.01526574]                                                                                                                                              Yes

07910564                           USD[4.00]

07910566                           BF_POINT[300], BRZ[3], DOGE[5], ETH[.00000001], ETHW[0.00000526], GRT[1], NEAR[4.4491353], SHIB[2], SOL[2.75599715], TRX[11], USD[9231.09], USDT[2.0465493]                            Yes

07910570                           BTC[.15892209], DOGE[559.7314717], ETH[.49843386], ETHW[.49822456], USD[0.00]                                                                                                          Yes

07910574                           BTC[.1626579], SHIB[300000], USD[42.99]

07910580                           USD[200.00]

07910582                           BF_POINT[300], BRZ[1], BTC[.00000021], CUSDT[44], DOGE[2], ETH[0], SHIB[1], TRX[6], USD[0.00]                                                                                          Yes

07910599                           USD[500.00]

07910608                           USD[0.00]

07910616                           USD[476.45]

07910679                           BTC[0], CUSDT[4], SHIB[2.24400955], TRX[1], USD[2.99]                                                                                                                                  Yes

07910734                           NFT (313348523803894865/NFT BZL 2021 #264)[1]                                                                                                                                          Yes

07910737                           ETH[.00803144], SHIB[1], USD[0.00]

07910739                           BF_POINT[300], SOL[.00143548]                                                                                                                                                          Yes

07910748                           NFT (553404833706340988/Microphone #2325)[1]

07910775                           ETH[0], MATIC[0], NFT (365105063531140998/Kiddo #3334)[1], NFT (396737902369171809/Slope #429 Badge)[1], NFT (467594973771706437/Kiddo #5256)[1], NFT (480251384191624532/The Origin
                                   Card)[1], SOL[0], TRX[.000956], USD[0.00], USDT[0]
07910786                           NFT (308786354928080430/Fused SolSoul-05935)[1], NFT (482765134510009504/Basic Spider Bone Hut)[1], SOL[.186]

07910807                           USD[10.23]

07910824                           BTC[.1369931], ETH[7.17756882], ETHW[7.17484275], LTC[3.67583757]                                                                                                                      Yes

07910829                           NFT (562230504025420594/Warriors 75th Anniversary Icon Edition Diamond #2038)[1]

07910831                           AVAX[.08952], ETH[.0000575], ETHW[.0000575], MATIC[.195], SOL[11.01979793], USD[0.65]

07910848                           ETH[.061], ETHW[.061], SHIB[2699300], USD[345.39]

07910851                           USD[0.00]

07910858                           USD[0.00], USDT[0.00000002]

07910864                           BCH[.0344401], BTC[.00181163], CUSDT[6], DOGE[6.11167169], ETH[.01802342], ETHW[.01780454], LINK[1.01802975], LTC[.1156646], NFT (376862949199691321/Marcus Allen's Playbook: Kansas Yes
                                   City Chiefs vs. Detriot Lions - November 29, 1996 #62)[1], SHIB[1315897.10222465], TRX[2], USD[0.00], USDT[0.00001651]
07910870                           USD[5.25]                                                                                                                                                                            Yes

07910885                           BRZ[2], BTC[0.00000001], ETH[0.00006021], MATIC[1.00122033], SHIB[1], TRX[2], USD[0.00]                                                                                                Yes

07910894                           ETH[.0999], ETHW[.0999], SHIB[5294700], SOL[4.99999500], USD[8.46]

07910901                           DOGE[8459.88678058]                                                                                                                                                                    Yes

07910939                           BRZ[1], SHIB[1], TRX[2], USD[1.77]

07910945                           SOL[.02]

07910951                           CUSDT[1], USD[0.00]                                                                                                                                                                    Yes

07910958                           USD[0.00]                                                                                                                                                                              Yes

07910959                           USD[0.00]

07910961                           SUSHI[29.97], UNI[12.4875], USD[4.02]

07910978                           SHIB[1581882.10031013], TRX[1], USD[0.00]                                                                                                                                              Yes

07910982                           USD[25.00]

07910999                           MATIC[.01]

07911002                           DOGE[20], LINK[1], MATIC[10], USD[1.58]

07911005                           USD[0.00], USDT[0]

07911020                           SUSHI[54.44240492], USDT[0.00000009]

07911026                           USD[0.00]

07911040                           NFT (435077829217753205/Coachella x FTX Weekend 1 #14213)[1]

07911058                           ETH[0], TRX[.000001], USD[0.00], USDT[0.00000002]

07911074                           USD[0.01]                                                                                                                                                                              Yes

07911104                           SOL[.00661], USD[2.10]

07911106                           BCH[0], BTC[0.00067489], DOGE[0], ETH[0.01808429], ETHW[0.01786443], LINK[0], LTC[0], MATIC[0], SHIB[3], SOL[0.27832979], USD[0.00], YFI[0]                                            Yes

07911108                           CUSDT[1], DOGE[0], USD[0.00]
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                                                                                                  Amended Schedule 1754      Filed
                                                                                                                      Nonpriority     06/27/23
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                                                                                                                                            Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07911109                              AAVE[0], BTC[0], ETH[0], ETHW[0], LINK[0], MATIC[0], SUSHI[0], USD[0.00], USDT[0]

07911115                              DOGE[1500], ETH[.604744], ETHW[.604744], USD[22.60]

07911122                              BTC[.00127859], CUSDT[1], USD[0.00]                                                                                                                                                       Yes

07911141                              BTC[.0000873], CUSDT[1], SOL[.06753515], USD[0.00]

07911143                              BTC[.00189081], CUSDT[5], MATIC[59.23629008], SHIB[2], TRX[3], USD[0.00]                                                                                                                  Yes

07911147                              BTC[.00022507], SHIB[.00078618], TRX[1], USD[10.46]                                                                                                                                       Yes

07911175                              NFT (292328264618264364/LorrangNFT #4)[1], NFT (296932940470704714/Melody of Fruits #5)[1], NFT (299566110840604310/LorrangNFT #3)[1], NFT (309329815685543147/Melody of Fruits #3)[1],
                                      NFT (326897419399926353/Melody of Fruits #6)[1], NFT (336026885433287214/Melody of Fruits #10)[1], NFT (339685621719640559/Melody of Fruits #7)[1], NFT (349293144112821681/Melody of
                                      Fruits #4)[1], NFT (351379566539861838/LorrangNFT #5)[1], NFT (383436205971005787/Oil Painting Works #5)[1], NFT (384813999760171419/Oil Painting Works #3)[1], NFT
                                      (385441557378938212/Melody of Fruits #12)[1], NFT (402164398305865509/Oil Painting Works #6)[1], NFT (408172050767294183/Melody of Fruits #11)[1], NFT (421448634649721988/Oil Painting
                                      Works #4)[1], NFT (425395576511468338/Fairy)[1], NFT (434095206496239183/Oil Painting Works #2)[1], NFT (462116024642547057/Oil Painting Works)[1], NFT (463896204928308273/LorrangNFT
                                      #2)[1], NFT (465358074153277091/LorrangNFT)[1], NFT (486874981866496757/Melody of Fruits #2)[1], NFT (509521697093615155/Fairy #2)[1], NFT (510208302204293454/Melody of Fruits #9)[1],
                                      TRX[.000001], USD[86.15]
07911191                              NFT (302915012387326758/Kiddo #5145)[1], NFT (330021014632737887/Kiddo #7551)[1], NFT (421810533891794916/Kiddo #1764)[1], NFT (512762045869139916/Kiddo #185)[1], NFT
                                      (551818708195187296/Kiddo #7070)[1], NFT (558275686125735338/Kiddo #5014)[1], SOL[.0651]
07911192                              ETHW[.10668574]

07911201                              BRZ[1008.42854663], SHIB[1], USD[0.00]

07911229                              BTC[.00000863], SOL[.00341959], USD[0.00], USDT[9.69074283]

07911233                              CUSDT[1], USD[44.57]                                                                                                                                                                      Yes

07911234                              ETHW[.32266162], SOL[1.34315412], USD[0.00]

07911240                              DOGE[4], ETHW[.00000269], SHIB[10], SOL[.00006732], TRX[5], USD[0.00], USDT[0.00007424]                                                                                                   Yes

07911252                              USD[0.00]

07911259                              NFT (336850874544145324/Megalodon Rogue Shark Tooth)[1], NFT (479876610065526339/Megalodon Rogue Shark Tooth)[1], NFT (574161494931090029/Megalodon Rogue Shark Tooth)[1],
                                      USD[0.00]
07911260                              NFT (481060974225154752/Coachella x FTX Weekend 2 #21146)[1]

07911309                              USD[0.38]

07911322                              SHIB[0], USD[0.00], USDT[0]

07911325                              NFT (421990235303844165/KAM1 #5303)[1], NFT (521907473702749155/Hannya Mask)[1]

07911350                              USD[0.02]                                                                                                                                                                                 Yes

07911351                              NFT (306883384107426412/SickintheGulliver Collection #21)[1], NFT (307215074134371109/MagicEden Vaults)[1], NFT (333546725572666678/Agent Karla)[1], NFT (359034942112357483/Casual       Yes
                                      Series #8)[1], NFT (396207897007054463/CryptoAvatar #187)[1], NFT (416312350933904370/Rare Art #32)[1], NFT (429036237637506316/Casual Series #7)[1], NFT
                                      (440176624775254768/SickintheGulliver Collection #45)[1], NFT (458800007266755207/Tree of Life#2/50)[1], NFT (489055550999495024/Crazy dog#6)[1], NFT (490392035833052350/Mob cats
                                      collection #9)[1], NFT (491401610196663162/Heavenly water#059)[1], NFT (507138666413139397/MagicEden Vaults)[1], NFT (515225961523983442/Rare Art #22)[1], NFT
                                      (518804729757302882/MagicEden Vaults)[1], NFT (549255584515358827/Chika #5)[1], NFT (558140618705510823/CryptoAvatar #185)[1], NFT (558375249014993511/MagicEden Vaults)[1], NFT
                                      (561268734419285904/Cartons album #9)[1], NFT (565987887842377033/Unicorn Series#2)[1], NFT (567266181377709817/lazyPanda #20)[1], NFT (571009482884515673/MagicEden Vaults)[1], NFT
                                      (573611997802712516/Caelum Series #100)[1], USD[16.31]
07911373                              USD[0.00], USDT[0]

07911394                              BAT[.0832], BCH[.000822], DOGE[1.1624], SUSHI[.2295], UNI[.002], USD[6695.17]

07911397                              SOL[.20297132]

07911402                              NFT (466072299780201070/Microphone #1598)[1]

07911434                              LINK[.0315634], NFT (346075464581313507/Entrance Voucher #29666)[1], USD[0.00]

07911453                              CUSDT[1], SHIB[11174645.14399432], USD[0.01], USDT[1.08170488]                                                                                                                            Yes

07911461                              NFT (337789234279003083/Megalodon Rogue Shark Tooth)[1]

07911464                              BTC[.00048425], USD[57.34]                                                                                                                                                                Yes

07911466                              SHIB[41.41218961], SOL[.00000001], USD[0.00]

07911467                              SOL[0.00023227]

07911476                              BCH[0], BRZ[1], BTC[0.00000001], DOGE[1], ETH[0], ETHW[0.00000007], LTC[0], SHIB[147], TRX[10], USD[0.00], USDT[0.00005050]                                                               Yes

07911480                              NFT (431859107573452029/SBF Hair & Signature #1 #108)[1], NFT (432898449771359347/SBF Hair & Signature #2 #96)[1], NFT (491744215085537864/SBF Hair & Signature #3 #97)[1]

07911496                              USD[510.75]                                                                                                                                                                               Yes

07911509                              USD[97.74]

07911513                              CUSDT[10], DOGE[1], TRX[3], USD[0.00], USDT[0]

07911517                              USD[0.01]

07911552                              BTC[.0000353], SOL[.00393744], USD[0.02]

07911554                              ETH[.00000001], ETHW[0.31741350], USD[417.61]

07911559                              BRZ[.00001075], CUSDT[3], DOGE[1], TRX[1], USD[0.01]                                                                                                                                      Yes

07911579                              NFT (486313889460969379/Imola Ticket Stub #979)[1]

07911584                              BTC[.00093885], ETH[.0126959], ETHW[.01253681], LINK[.26102939], TRX[1], USD[107.01], USDT[1.06690045]                                                                                    Yes

07911587       Contingent, Disputed   NFT (307544612195102630/Gold Starfish)[1], NFT (382083934291774196/Diamond Starfish)[1], NFT (384109501372350472/Silver Starfish)[1]

07911588                              USD[20.00]

07911592                              SOL[1], USD[303.57], USDT[0]

07911597                              BRZ[1], DOGE[3], GRT[1], SHIB[5], SOL[0.00027333], TRX[6], USD[0.00]                                                                                                                      Yes

07911602       Contingent, Disputed   BTC[.00001753]                                                                                                                                                                            Yes

07911621       Contingent, Disputed   SOL[2.47465504], USD[20000.00], USDT[0.40251519]

07911630                              USD[0.00]

07911649                              BCH[0], BTC[0], ETH[0.00000257], ETHW[0.00000257], USD[19.05]
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07911663                              USD[1.11]

07911675                              USD[3.85]

07911725                              USD[0.00]

07911749                              USD[3.48]

07911767                              BTC[.00064545], CUSDT[3], ETH[.01796533], ETHW[.01774645], SOL[.07104965], UNI[.63763011], USD[0.00]                                                                                    Yes

07911769                              ETH[0.00078701], ETHW[0.00078701], SOL[0], USD[0.01], USDT[0]

07911773                              TRX[1], USD[0.00]                                                                                                                                                                       Yes

07911778                              NFT (407426265791988561/Tower Community NFT)[1]

07911781                              ETH[1.034], ETHW[1.034], USD[0.91]

07911796                              USD[94.36], USDT[0]                                                                                                                                                                     Yes

07911819                              BAT[1.01585017], CUSDT[1], SUSHI[16.37711755], USD[0.00]                                                                                                                                Yes

07911822                              BTC[0], DOGE[0], ETH[0], LINK[0], SOL[0], USD[0.00], USDT[0.00000001]

07911853                              ETHW[.00094], USD[1.23]

07911856                              NFT (523625810409931365/Coachella x FTX Weekend 2 #15832)[1]

07911857                              BTC[.00003072], ETH[.00021159], ETHW[.00021159], USD[0.00]                                                                                                                              Yes

07911859                              BAT[1.0165555], CUSDT[2], GRT[1.00283507], TRX[3], USD[0.01]                                                                                                                            Yes

07911877                              USD[3.06]

07911879                              DOGE[.00001223], USD[0.99]

07911920                              USD[0.08]                                                                                                                                                                               Yes

07911921                              SOL[15.71836736], USD[0.03]

07911939                              NFT (346728792454700277/Cyber Pharmacist 5626)[1], SOL[.07], USDT[.253264]

07911957                              BTC[.0000595], DOGE[4495.95], ETH[.000715], ETHW[.000715], LTC[.0083], MATIC[1099.01], TRX[4495.95], USD[11474.57]

07911963                              BTC[.02511129], DOGE[1], ETH[.31770417], ETHW[.31753307], SHIB[2], USD[0.00]                                                                                                            Yes

07911969                              USD[0.00]

07911981                              BTC[.0011991], DOGE[458.891], ETH[.037], ETHW[.037], SHIB[1099500], SOL[.19], USD[0.70]

07911985       Contingent, Disputed   BAT[.00000732], BRZ[4], BTC[.12873469], CUSDT[8], DOGE[2], GRT[1.00236262], SHIB[435987326.8810275], SOL[43.93722648], TRX[2], USD[0.00]                                                Yes

07911992                              DOGE[1], SHIB[2], USD[5.01]

07912008                              NFT (441530829870193847/FTX - Off The Grid Miami #1403)[1]

07912026                              USD[0.00]

07912049                              CUSDT[6], SHIB[3601730.59315218], SOL[1.08447999], USD[0.01]                                                                                                                            Yes

07912058                              LTC[0], USDT[0.00000269]

07912071                              USD[6.51]

07912072                              SHIB[1219018.65989435], TRX[1643.84680154], USD[0.00]

07912102                              USD[0.01]

07912124                              ETH[0], NFT (306302313985612037/Official Solana NFT)[1], SOL[0], USD[0.00]

07912135                              ETH[.00003993], ETHW[3.8114817], NFT (379846041334644472/Solana Surfer #4101)[1], SOL[.00063418], USD[0.51]                                                                             Yes

07912141                              USD[47.89]

07912142                              USD[10.00]

07912145                              BTC[.04732088], TRX[1], USD[12.43]                                                                                                                                                      Yes

07912154                              BRZ[1], DOGE[1], USD[0.01]                                                                                                                                                              Yes

07912159                              NFT (437573568057451193/FTX 1/1 Tubby Cat )[1]

07912174                              USD[0.02], USDT[0.00000001]

07912180                              ALGO[95.11770402], BTC[.00401575], ETH[.06493748], ETHW[.06413036], MATIC[34.19010968], SHIB[1], SOL[.40198676], USD[0.19]                                                              Yes

07912192                              BTC[0.00001627], ETH[.000527], ETHW[.000527], USD[4.95], USDT[4.9560124]

07912199                              USD[0.00], USDT[0]

07912211                              SOL[0]

07912231                              BTC[.0024], USD[1.35]

07912232                              NFT (318161281679799884/The 2974 Collection #1562)[1], NFT (343115987541689878/2974 Floyd Norman - OKC 1-0233)[1], NFT (373136897085140981/Birthday Cake #1562)[1], SOL[0], USD[0.00]

07912237                              NFT (529547571588720360/Infinity #10)[1], SOL[.8], USD[18.85]

07912240                              BRZ[5], GRT[2], SHIB[2], SUSHI[1.02378271], TRX[20.3231566], USD[0.12], USDT[0.00002429]                                                                                                Yes

07912248                              NFT (447036869719051528/The Hill by FTX #4525)[1], USD[0.00]

07912251                              SOL[1.03855077], USD[0.00]

07912252                              USD[1.00]

07912253                              USD[0.00]

07912257                              SOL[.00000001], TRX[3], USD[0.00]                                                                                                                                                       Yes

07912262                              BAT[2], BRZ[5], CUSDT[1], DOGE[9.01424829], ETH[0], GRT[1], SHIB[25], SOL[6.50238691], TRX[5], USD[0.01]                                                                                Yes

07912269       Contingent, Disputed   USD[0.00], USDT[0.96433695]

07912273                              USD[50.00]
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07912274                              NFT (392467968494254367/2974 Floyd Norman - CLE 1-0255)[1], USD[0.00]

07912292                              DOGE[1], SHIB[2], USD[0.01]                                                                                                                                                           Yes

07912312                              NFT (361575305523292320/The 2974 Collection #0470)[1], NFT (446301431290006216/2974 Floyd Norman - CLE 6-0030)[1], NFT (478284384928982807/Birthday Cake #0470)[1], SOL[.00000001],
                                      USDT[0]
07912320                              SOL[.01]

07912323                              GRT[1], TRX[1], USD[0.01]                                                                                                                                                             Yes

07912332                              ETH[0], NFT (327116959412758390/#4574)[1], USD[0.00], USDT[0]

07912335                              AVAX[.999], NFT (401165872246032695/Good Boy #39)[1], NFT (448271446256123479/Entrance Voucher #2094)[1], USD[1.34]

07912343                              NFT (330594868044810569/Banana Boost)[1], NFT (353674599548933756/FTX Cap)[1], TRX[.000001], USDT[0.05000055]

07912350                              USD[0.00], USDT[0]

07912351                              BTC[.00113303], CUSDT[1], USD[0.00]                                                                                                                                                   Yes

07912359                              ETH[0], USD[0.00]

07912362                              SHIB[266781.10604396], USD[0.00]                                                                                                                                                      Yes

07912377                              NFT (489441475447559166/Eitbit Ape #5628)[1], SOL[.12]

07912394                              ETHW[.11414841], SHIB[1], USDT[0.00001442]

07912403                              NFT (420857731975052312/Metabaes #3681)[1], NFT (430837166958033208/511)[1], SOL[.18]

07912404                              ETH[.00077], ETHW[.00077], LTC[0.00141865], SOL[.00268], USD[0.00], USDT[0]

07912414                              ETH[.00058688], SOL[.0044564], TRX[.000365], USD[0.00], USDT[0]

07912415                              USD[0.00]

07912418                              BTC[.00092027], CUSDT[1], SHIB[322986.40926176], TRX[1], USD[0.08]                                                                                                                    Yes

07912434                              USD[0.00]

07912448                              USD[0.00]                                                                                                                                                                             Yes

07912452                              USD[0.00]

07912458                              BTC[.00000023], DOGE[1], USD[0.00], USDT[0]                                                                                                                                           Yes

07912461                              SOL[0], USD[0.00]

07912486                              DOGE[1], NFT (526832618140506353/Kiddo #7398)[1], SHIB[1], USD[3.41]                                                                                                                  Yes

07912500                              SOL[0]

07912505       Contingent, Disputed   NFT (323410583032336102/Cyber Technician 3255)[1], NFT (383920835462100721/Cyber Pharmacist 8758)[1]

07912513                              DOGE[1], SHIB[3], SUSHI[.00038975], USD[0.00]                                                                                                                                         Yes

07912519                              BTC[.30411082], ETH[2.4556649], ETHW[2.4556649], SOL[57.006667], USD[9.37]

07912522                              USD[0.00]

07912525                              USD[0.00]

07912533                              BRZ[3], CUSDT[8], DOGE[6], SHIB[1], TRX[5], USD[734.22], USDT[1]

07912549                              NFT (423094274670061612/Humpty Dumpty #801)[1], NFT (568970723127700080/FTX - Off The Grid Miami #820)[1]                                                                             Yes

07912591       Contingent, Disputed   USD[0.00]

07912639                              SOL[.61628005], USD[0.00], USDT[0]

07912660                              DOGE[164.93914787], MATIC[53.51357864], SHIB[1618730.42876979], TRX[1], USD[0.00]                                                                                                     Yes

07912663                              NFT (532493785304932721/Toasty Fox Egg)[1]

07912710                              CAD[2.95], EUR[0.85], GBP[0.00], MATIC[1.59323346], USD[11.04]                                                                                                                        Yes

07912721                              BCH[.02368907], BTC[0.00071155], CAD[0.00], DAI[0], DOGE[0], ETH[0.00598635], ETHW[0.00591795], EUR[0.00], MATIC[1.00126101], NFT (305096966270274011/Flood of Fantasy #06)[1],       Yes
                                      SHIB[1], SOL[0], SUSHI[1.01703844], USD[0.00]
07912727                              USD[0.58]

07912729                              NFT (315619971960200277/Coachella x FTX Weekend 1 #28310)[1]

07912730                              ETH[0], GBP[0.00], USD[0.00]

07912731                              ETHW[.00093255], USD[205.81]

07912742                              BF_POINT[100]

07912761                              BTC[.00861197]                                                                                                                                                                        Yes

07912767                              BTC[0], DOGE[1], ETH[0], ETHW[0], KSHIB[0], LTC[0], SHIB[35], TRX[1], UNI[0], USD[0.00], USDT[0], YFI[0]                                                                              Yes

07912773                              SOL[.13]

07912791                              USD[0.00], USDT[0.00000007]

07912794                              BAT[1.01627709], CUSDT[1], DOGE[1], SOL[.83951412], USD[0.00]                                                                                                                         Yes

07912801                              CUSDT[2], DOGE[1], USD[0.00]                                                                                                                                                          Yes

07912806                              SOL[.41], USD[1.52]

07912807                              ETH[0], USD[0.00]

07912824                              ETH[0], USD[0.00]

07912828                              NFT (374258557163343877/FTX - Off The Grid Miami #377)[1]

07912839                              NFT (567517236943424255/#6200)[1], SOL[.01]

07912843                              SOL[.01997], USD[0.08]

07912852                              USD[16.11]

07912854                              USD[0.00]                                                                                                                                                                             Yes
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                                                                                                                                         Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07912862                           BRZ[2], BTC[.15579874], DOGE[2], ETH[.00004179], ETHW[2.7016572], NFT (522388299044958395/Dragon Rich Club #142)[1], SHIB[3], USD[18796.58]                                         Yes

07912867                           CUSDT[2], TRX[1], USD[0.01]

07912905                           BTC[.00000004], USD[0.00]

07912913                           BTC[.00000656], DAI[0], SOL[0], USD[0.31], USDT[0]

07912927                           BRZ[7.30777783], BTC[.08956972], CUSDT[19], DOGE[17.75502488], ETH[1.3202752], ETHW[1.3197207], LINK[56.89956887], MATIC[440.69612729], SHIB[64], SOL[32.0667368],                  Yes
                                   SUSHI[37.07046656], TRX[14.10907108], USD[0.90]
07912945                           SOL[.57662473], USD[0.00]

07912947                           BTC[0], USD[0.00]

07912958                           NFT (299398446539663633/3457)[1], SOL[.3]

07912971                           ETH[0], USD[0.00]

07912983                           BTC[.00016224], NFT (383928351437960264/Series 1: Capitals #533)[1], NFT (497248317819522860/Series 1: Wizards #503)[1], USD[0.00]

07912996                           NFT (401103524221168962/MagicEden Vaults)[1], NFT (406449148868669298/Entrance Voucher #2696)[1], NFT (485411989520540656/MagicEden Vaults)[1], NFT (524116536585941033/MagicEden
                                   Vaults)[1], NFT (560161455359766218/MagicEden Vaults)[1], NFT (569955202137156087/MagicEden Vaults)[1], SOL[0], USD[0.83]
07913004                           USD[0.68]

07913014                           TRX[0], USD[0.02], USDT[0.00000001]

07913042                           USD[0.21]

07913045                           CUSDT[3], ETH[.02077888], ETHW[.02051896], LINK[1.90346185], SHIB[1], USD[0.01]                                                                                                     Yes

07913059                           BAT[0], BTC[0], DOGE[0], ETH[0], ETHW[0], GRT[0], LINK[0], LTC[0], MATIC[0], MKR[0], SHIB[0], SOL[0], TRX[0.00826482], USD[0.04], USDT[0]

07913070                           ETH[0], ETHW[0.15751784], SOL[.39632738], USD[0.01], USDT[0.00000078]

07913075                           NFT (487994210666422160/Coachella x FTX Weekend 2 #23754)[1]

07913093                           BTC[.00018582], ETH[.496], ETHW[.496], SHIB[3200000], USD[0.00]

07913101                           SOL[6.58592549], USD[0.00]

07913108                           USD[21751.82]

07913116                           USD[0.06], USDT[0]

07913117                           TRX[1], USD[0.00]

07913130                           BTC[.00017764], DOGE[.7112412], ETH[.00089358], ETHW[8.40828], MATIC[.10388811], SOL[0.25718952], USD[5483.94]

07913135                           USD[0.02]

07913136                           DOGE[0], USD[0.00]                                                                                                                                                                  Yes

07913138                           BTC[.02970543], ETH[.74591586], ETHW[.74591586], USD[3.88]

07913141                           AVAX[.0975], ETH[.000897], ETHW[.952897], NFT (304076270951492163/Entrance Voucher #29693)[1], NFT (490198087824844660/Humpty Dumpty #607)[1], USD[28.48]

07913147                           BRZ[1], BTC[.00071034], CUSDT[88.85683171], DOGE[5.00898716], ETH[.01903618], ETHW[.01880362], MATIC[187.71105815], SHIB[1], SOL[12.0621208], TRX[6], USD[0.08], USDT[1.07971133]   Yes

07913151                           BTC[0], CUSDT[12], DOGE[1], ETH[0.00397719], ETHW[0.00392247], NFT (416634041051505171/Earl Campbell's Playbook: Texas vs. Houston - November 5th, 1977 #53)[1], NFT                Yes
                                   (512308587343497789/Shannon Sharpe's Playbook: Kansas City Chiefs vs Denver Broncos - October 4, 1992 #34)[1], TRX[11.86218683], USD[0.01], USDT[0]
07913170                           SOL[.09436163]                                                                                                                                                                      Yes

07913171                           DOGE[.069], USD[0.00]

07913172                           NFT (408944225177685221/FTX - Off The Grid Miami #2075)[1]

07913176                           SOL[.5], USD[73.70]

07913186                           BF_POINT[200]                                                                                                                                                                       Yes

07913196                           BTC[0.00007951], ETH[.004], ETHW[.004], SOL[.24457742], USD[0.66]

07913221                           USD[0.02]

07913229                           BRZ[1], USD[0.00]

07913230                           BTC[.01035835], DOGE[1], USD[0.00]                                                                                                                                                  Yes

07913243                           BTC[0], ETH[0], ETHW[0.00005229], SOL[0], USD[0.01]                                                                                                                                 Yes

07913248                           CUSDT[2], SOL[.00739372], USD[19.34]                                                                                                                                                Yes

07913251                           DOGE[2519.98], LINK[23.15331], UNI[27.06466]

07913256                           CUSDT[2], DOGE[364.95925866], USD[0.01]                                                                                                                                             Yes

07913266                           NFT (360351909970525125/Space Bums #3904)[1]

07913274                           NFT (568495248415125001/Boneworld #8924)[1]

07913276                           USD[0.00], USDT[0]

07913281                           BRZ[1], CUSDT[5], DOGE[2], TRX[568.70816893], USD[0.00]

07913286                           BTC[.00011627], DOGE[2], SHIB[8442596.23644567], SOL[.54222833], USD[0.00]                                                                                                          Yes

07913296                           AVAX[31.4956], BTC[.27182689], SOL[41.5619], USD[0.04], USDT[0]

07913316                           ETH[0], ETHW[0], PAXG[.0082], SOL[0], USDT[0]

07913340                           SOL[.03], TRX[.000001], USD[1.10], USDT[0]

07913372                           NFT (438769149437454664/Diamond Starfish)[1], NFT (472415647136241432/Gold Starfish)[1]

07913429                           BTC[.00001821], CUSDT[1], USD[19.10]

07913435                           USD[2.36]

07913437                           BF_POINT[100], BTC[0.00910682], DOGE[44947.39839895], ETH[.12467915], SHIB[6860371.45910819], SOL[10.36712493], UNI[1.37166022], USD[1.28]

07913439                           BRZ[1], DOGE[1], GRT[2], TRX[2], USD[0.00]                                                                                                                                          Yes

07913499                           DOGE[1.99610767], GRT[.00002681], USD[0.01], USDT[0]                                                                                                                                Yes
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                                                                                                                                          Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07913519                           NFT (340107409897568996/Entrance Voucher #3579)[1]

07913524                           MATIC[.00000001], SUSHI[.00000001], USD[3.94]

07913532                           BF_POINT[200], SOL[0.03313569], USD[0.00], USDT[0.00000087]                                                                                                                              Yes

07913547                           USD[1.87]

07913568                           USD[0.00]

07913572                           AAVE[.39510945], LINK[3.79364867], MATIC[30.30838225], MKR[0.03724379], UNI[4.31029346], USD[18.64], USDT[0.91462874]

07913590                           BTC[0], ETHW[0.00000500], SOL[0], SUSHI[.3225], USD[0.00], USDT[.00289875], WBTC[0]

07913592                           NFT (314159632523808534/Atrophy #01 #2)[1], NFT (381916884829370801/Atrophy #01)[1], NFT (398818075687948889/Atrophy #02)[1], NFT (530805383873353037/Atrophy)[1], SOL[.00000276]        Yes

07913596                           TRX[.000029], USD[248.64], USDT[2.53186033]

07913621                           SHIB[1], USD[0.00]

07913631                           BTC[.0000466], USD[0.01]

07913648                           DOGE[.668], USD[0.36]

07913663                           BTC[.00000202], DOGE[.12561793]                                                                                                                                                          Yes

07913693                           CUSDT[1], DOGE[2], SOL[0], USD[0.43]                                                                                                                                                     Yes

07913704                           BAT[1.01336694], BRZ[2], CUSDT[13], DOGE[10.40872633], GRT[2.02925283], SHIB[3244668.13900623], SOL[0], TRX[6], USD[0.20], USDT[0]                                                       Yes

07913715                           BTC[0], ETH[0], GRT[0], USD[0.00], USDT[0]

07913721                           ETH[.00000001], TRX[1], USD[0.00], USDT[0.00000001]                                                                                                                                      Yes

07913730                           CUSDT[1], USD[0.00]

07913757                           USD[0.01]

07913768                           SOL[1.05664243], TRX[1], USD[0.00]                                                                                                                                                       Yes

07913770                           BTC[.00002381]                                                                                                                                                                           Yes

07913775                           USD[0.00]

07913780                           DOGE[43.82462868], SHIB[1463178.17235691], TRX[2], USD[0.00]                                                                                                                             Yes

07913781                           AAVE[.00186615], AVAX[.1064], ETH[0.09588463], ETHW[0.72883493], MKR[.00064539], NFT (337500269580403458/FTX - Off The Grid Miami #4664)[1], USD[64.48], USDT[.000106], YFI[.00537317]

07913801                           TRX[1], USD[0.01]

07913806                           BAT[1.01389379], BF_POINT[300], BRZ[17.2341553], CUSDT[985.70169191], ETHW[.96388853], TRX[47.48418066], USD[0.30]                                                                       Yes

07913834                           BTC[.10194534], CUSDT[2], DOGE[2], ETH[1.39587318], ETHW[1.39528691], LTC[1.62180633], SHIB[2], TRX[1], USD[0.00]                                                                        Yes

07913840                           MATIC[356.55199936], USD[0.00], USDT[1.08463284]                                                                                                                                         Yes

07913855                           BRZ[1], ETH[.07413318], ETHW[.07321338], USD[0.00]                                                                                                                                       Yes

07913863                           DOGE[5673.59228225], SHIB[1], USD[0.00]

07913931                           DOGE[1], USD[0.00]

07913937                           USD[21.73]                                                                                                                                                                               Yes

07913961                           DOGE[2], LTC[18.33205992], TRX[37284.47876524], USD[0.00]

07913987                           NFT (446695981350784507/Australia Ticket Stub #1992)[1], SHIB[4], TRX[1], USD[0.00], USDT[0]                                                                                             Yes

07913990                           ETH[.00000001], USD[80.00], USDT[0]

07913992                           BTC[0], ETH[.00000001], ETHW[0], SOL[.00000001], USD[0.01]

07914021                           ALGO[132.27357977], TRX[1], USD[5.17]                                                                                                                                                    Yes

07914031                           CUSDT[1], USD[14.38]                                                                                                                                                                     Yes

07914032                           CUSDT[1], DOGE[1], USD[0.01]                                                                                                                                                             Yes

07914033                           BTC[.00687265], CUSDT[1], ETH[.07124499], ETHW[.07035998], LTC[.55297487], USD[0.24]                                                                                                     Yes

07914077                           BRZ[1], BTC[.02825622], DOGE[594.54380042], ETH[.34960848], ETHW[.19922182], LINK[40.71349675], LTC[1.8517107], MATIC[272.9825434], SHIB[9], TRX[5], USD[-247.98]                        Yes

07914089                           MATIC[.0391], NFT (366258052801202175/FTX Crypto Cup 2022 Key #103)[1]

07914098                           BCH[.09118339]

07914106                           NFT (321529582005371912/Humpty Dumpty #165)[1], NFT (345243035304023353/Entrance Voucher #1980)[1], NFT (448512656714368280/FTX - Off The Grid Miami #6466)[1], NFT
                                   (503814527290433896/Ape #96)[1], NFT (546825749004980745/Banana Boost)[1], NFT (560646755054638201/FTX Cap)[1]
07914116                           NFT (352321143078077178/Good Boy #3879)[1]

07914119                           BTC[.00592731], USD[0.84]

07914120                           BTC[.0015], USD[1.37]

07914123                           USD[0.09]

07914148                           CUSDT[1], USD[0.00]                                                                                                                                                                      Yes

07914151                           USDT[0]

07914160                           AVAX[0], KSHIB[0], SHIB[0], SOL[0], USD[12.05]

07914176                           USD[0.23]

07914180                           USD[0.00]                                                                                                                                                                                Yes

07914181                           BTC[.00080234], TRX[1], USD[0.00]                                                                                                                                                        Yes

07914195                           DOGE[1], NFT (366873949479462206/Barcelona Ticket Stub #1684)[1], NFT (547286678077894917/Imola Ticket Stub #1310)[1], SHIB[12], TRX[2], USD[0.01]                                       Yes

07914198                           SHIB[1], USD[0.00]

07914203                           TRX[.000007]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07914211                              SOL[.00000001]

07914221                              BRZ[2], CUSDT[3], DOGE[193.48921286], LINK[3.91292013], MATIC[70.61981856], NFT (541787334052126621/Entrance Voucher #26898)[1], SHIB[749938.00129708], SUSHI[10.092371], USD[0.01]         Yes

07914228                              SOL[.00986], USD[0.01]

07914240                              BAT[3.03079042], BTC[.00008681], CUSDT[3], DOGE[8.00690457], ETH[.03190489], ETHW[.03159798], LTC[.00073413], MATIC[70.28911828], SHIB[4], SOL[.00027584], TRX[9], USD[4966.89],            Yes
                                      USDT[1.01983884]
07914264                              BTC[.00170713], CUSDT[1], USD[0.00]

07914296                              NFT (383437416797454618/Warriors 75th Anniversary Icon Edition Diamond #2298)[1]

07914303                              USDT[.22265079]

07914312                              SOL[.22], USD[46.12]

07914314                              SOL[.00000001], USD[0.00]                                                                                                                                                                   Yes

07914320                              SOL[.00863199], USD[0.93]

07914324                              USD[0.37]

07914326                              ETH[0]

07914330                              USD[35.00]

07914355                              BF_POINT[700], BTC[0], SOL[0.00000001], USD[0.01], USDT[0.00000957]                                                                                                                         Yes

07914357                              USD[2000.00]

07914360                              USD[20.00]

07914362                              SOL[.00818], USD[0.00]

07914378                              CUSDT[1], DOGE[1], TRX[1], USD[0.01], USDT[2]

07914387                              CUSDT[2], USD[0.36]                                                                                                                                                                         Yes

07914395                              DOGE[1], USD[0.00]

07914397                              USD[0.00]                                                                                                                                                                                   Yes

07914399                              USD[0.00]

07914401                              DOGE[0], ETH[0], SHIB[0], SOL[0.40497971], TRX[0], USD[0.00]

07914402                              NFT (348948776766687211/Imola Ticket Stub #229)[1]

07914412                              DOGE[.96693592], ETH[.00476511], ETHW[.00476511], SOL[0], USD[0.00]

07914416                              CUSDT[1], USD[2.21]                                                                                                                                                                         Yes

07914426                              CUSDT[2], DOGE[1.00219531], SHIB[1], USD[0.00]                                                                                                                                              Yes

07914430                              BAT[3.19137575], BRZ[1], CUSDT[5], DOGE[1], ETHW[.19192157], GRT[1.00213332], LINK[1.07767185], SHIB[.00000037], TRX[6], USD[0.00]                                                          Yes

07914435                              DAI[0], MATIC[0], USD[0.00], USDT[0]

07914439       Contingent, Disputed   BTC[.0000913], ETH[0], SOL[.00000001], USD[0.00], USDT[0]

07914444                              AAVE[0], BAT[0], BCH[0], BTC[0], DAI[0], DOGE[0], ETH[0], GRT[0], LINK[0], LTC[0], MATIC[0], MKR[0], NFT (502287438516417276/Sun Dog)[1], NFT (518967811129236617/Super Dog)[1], PAXG[0],
                                      SOL[0], SUSHI[0], TRX[0.00000056], UNI[0], USD[0.68], USDT[0.00000377], WBTC[0], YFI[0]
07914446                              CUSDT[1], SOL[1.06454047], USD[0.00]                                                                                                                                                        Yes

07914452                              USD[0.00]

07914453                              USD[2.00]

07914456                              CUSDT[1], DOGE[2], ETH[.02855041], ETHW[.02819473], LTC[1.73435145], TRX[1111.68722822], USD[0.05]                                                                                          Yes

07914467                              BTC[.1825173], SOL[20.01996], USD[13984.92], USDT[20.66643065]

07914477                              USD[265.98]                                                                                                                                                                                 Yes

07914485                              SOL[.00624961], USD[0.41]

07914513                              BRZ[1177.26408006], CUSDT[25018.18132315], USD[0.14]                                                                                                                                        Yes

07914523                              SOL[.00000001]

07914535                              NFT (350285875428438263/Unverfied Token)[1]

07914558                              USD[9.50]

07914569                              NFT (388056804994792955/Cow #4253)[1], NFT (400147199581152720/Geckos Spaceship)[1], NFT (432301453907815427/Geckos Spaceship)[1], NFT (495263722157028095/Puppy #4253)[1],
                                      SOL[.62], USD[3.43], USDT[0.03114029]
07914583                              DOGE[0], ETH[0], SHIB[12073.81230215], USD[0.01]                                                                                                                                            Yes

07914597                              SOL[.00626251], USD[0.00]

07914608                              USD[0.00]

07914609                              AVAX[0], ETH[0], MATIC[0], SHIB[7], TRX[2], USDT[0]

07914627                              SOL[0], USD[0.01], USDT[0.00000845]

07914634                              NFT (291665945631656113/Saudi Arabia Ticket Stub #1675)[1]

07914638                              USD[100.00]

07914642                              BTC[.000431], ETH[.00689788], ETHW[.0068158], SHIB[563.967226], USD[0.00]                                                                                                                   Yes

07914646                              USD[200.00]

07914650                              DOGE[0], NFT (553480636859868871/Animal Party)[1], SOL[0], USD[0.00]

07914665                              LTC[4.41950659]                                                                                                                                                                             Yes

07914685                              NFT (306878166348762961/FTX - Off The Grid Miami #945)[1]

07914703                              SHIB[2300000], SOL[1], USD[2.36]

07914734                              CUSDT[1], DOGE[1], SOL[2.00249681], TRX[2], USD[0.00]
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              Disputed Indicator
07914754                           NFT (346972034176387531/Eitbit Ape #7403)[1]

07914755                           BRZ[1], BTC[.01520701], CUSDT[3], TRX[3], USD[0.01]

07914756                           SOL[2.01798], USD[1.02]

07914762                           BTC[.00269934], CUSDT[4], SOL[.19844122], USD[0.00]

07914781                           DOGE[369.49943444], SOL[1.98438751], USD[4.00]

07914784                           USD[0.00]

07914790                           BF_POINT[300], BRZ[4], CUSDT[21], DOGE[13.56437898], SHIB[1], TRX[1], USD[0.00], USDT[0]                                                    Yes

07914792                           NFT (413726979921412504/Entrance Voucher #1965)[1]

07914796                           ETH[.10935828], ETHW[.10826028], SHIB[2], SOL[3.60496973], USD[5.83]                                                                        Yes

07914798                           ETHW[1.0989], USD[10.86]

07914804                           ETH[0]

07914805                           CUSDT[1], USD[0.00]                                                                                                                         Yes

07914816                           CUSDT[1], DOGE[1], USD[0.00]                                                                                                                Yes

07914818                           DAI[0], ETH[0], MATIC[0], USD[0.00]

07914832                           USD[1.31]

07914833                           CUSDT[1], DOGE[1], GRT[44.6924838], KSHIB[1426.34437267], MATIC[28.27003774], SHIB[36238881.08276625], TRX[263.13595459], USD[0.03]         Yes

07914851                           LTC[0.10286202], MATIC[6], NFT (491335970694401099/Refined Earth Crystal)[1], USD[0.00], USDT[9.26189992]

07914852                           NFT (467998323147783423/Village of Sol #415)[1]

07914861                           AAVE[0], SOL[0]

07914872                           SOL[.0093], TRX[203.18877540], USD[0.00]                                                                                                    Yes

07914879                           NFT (318503824049456535/Bahrain Ticket Stub #2123)[1], NFT (506011226070102526/Solninjas #313)[1], USD[0.00]

07914885                           DOGE[1], ETHW[.00005447], NFT (471688412233667925/Warriors 75th Anniversary Icon Edition Diamond #2256)[1], SHIB[3], USD[4235.50]           Yes

07914886                           NFT (355218444178590587/Sharks of Atlantis #478)[1], SOL[.14085]

07914894                           NEAR[0], SOL[0], USD[0.37]

07914899                           MATIC[5.994], NFT (539712031166121382/Ferris From Afar #447)[1], USD[0.79]

07914901                           NFT (312181916470456506/Romeo #1923)[1], NFT (324474068980396950/Microphone #9360)[1], NFT (387007252461287539/Entrance Voucher #4522)[1]

07914903                           AVAX[0.09565998], BTC[0.00009971], SOL[.00417128], USD[1.78]

07914904                           BF_POINT[100], CUSDT[2], USD[0.00]                                                                                                          Yes

07914921                           NFT (407259905112298432/Saudi Arabia Ticket Stub #1374)[1]

07914923                           USDT[0.32014628]

07914948                           BTC[0.00041245], DOGE[.334], SOL[.00558], USD[13.05]

07914951                           USD[0.85]

07914956                           DOGE[1], TRX[.000002], USDT[0]                                                                                                              Yes

07914958                           SOL[.007]

07914965                           BTC[.00063838], USD[0.00], USDT[0.00024146]

07914967                           BTC[0], USD[0.00], USDT[0]

07914968                           TRX[1], USD[0.09]                                                                                                                           Yes

07914972                           USD[60.00]

07914974                           LINK[1], USD[4.52], USDT[.72670909]

07914976                           USD[25.00]

07914984                           NFT (374343580849987970/Golden Hill #349)[1], USD[0.79]

07914985                           BTC[.00009482], CUSDT[1], SOL[.00502027], TRX[1], USD[6.54]                                                                                 Yes

07914988                           USD[2.08]

07915003                           BTC[0], TRX[.000075], USD[2203.88], USDT[0]

07915014                           USD[0.00]

07915015                           USDT[810.72]

07915018                           DOGE[2], ETHW[.2328574], NFT (512132022094780692/Coachella x FTX Weekend 1 #18873)[1], SHIB[.00076766], USD[3051.40], USDT[0]               Yes

07915029                           NFT (393106764904289453/Microphone #3121)[1]

07915035                           CUSDT[2], USD[0.00]                                                                                                                         Yes

07915042                           NFT (550602223396634149/1111)[1]

07915043                           NFT (468614593005265824/FTX - Off The Grid Miami #1005)[1]

07915061                           USD[0.00]

07915068                           SOL[.07303837], USD[10.90]                                                                                                                  Yes

07915082                           TRX[.000062], USD[0.11], USDT[0.00000001]

07915087                           NFT (350000886007265948/Australia Ticket Stub #2099)[1], SOL[.13146]

07915095                           BRZ[1], USDT[0.00000001]                                                                                                                    Yes

07915099                           CUSDT[1], ETH[0.00339435], ETHW[0.00335331]                                                                                                 Yes

07915100                           DOGE[2], TRX[2], UNI[1.04645477], USD[0.00], USDT[1.05478185]                                                                               Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07915115                              NFT (292827562208981507/Coachella x FTX Weekend 1 #1071)[1], NFT (576379226346800412/The Hill by FTX #1845)[1]

07915127                              USD[500.00]

07915133                              USD[0.00]

07915154                              CUSDT[1], DOGE[1], LINK[286.94584301], SOL[31.07713764], USD[1594.93]                                                                                                              Yes

07915170                              CUSDT[1], SOL[0]

07915177                              CUSDT[1], GRT[0], LINK[0], MATIC[0], SHIB[2], SOL[0], TRX[.00452843], USD[0.00], USDT[0]                                                                                           Yes

07915180                              BAT[.00000916], DOGE[.00010082], GRT[.00001832], SOL[.14130986], TRX[1], USD[0.00], USDT[0.00000915]                                                                               Yes

07915181                              NFT (332224464656299520/Imola Ticket Stub #1286)[1]                                                                                                                                Yes

07915188                              NFT (324806214846679364/Map of Ailurus)[1], NFT (439331103359867430/Crackhead Possum Club #140)[1], NFT (514403357985734346/Cyber Frogs Ramen)[1], USD[0.74], USDT[0]

07915195                              ETH[0], ETHW[0], LINK[0], LTC[0], SOL[0], UNI[0], USD[0.17]                                                                                                                        Yes

07915204                              TRX[.000001], USDT[3.170121]

07915226                              NFT (331466441442504500/Microphone #6340)[1]

07915234                              NFT (340331001414364869/Golden Hill #216)[1], NFT (561695417195963968/Night Light #432)[1], USD[4.68]

07915237                              NFT (345659391606911265/3833)[1]

07915240                              NFT (294443684324454536/Microphone #6263)[1]

07915245                              NFT (316344264552955820/Australia Ticket Stub #787)[1], SOL[0.33580404], USD[0.00]

07915248                              ETH[3.05310279], ETHW[3.05182049], SHIB[1], SUSHI[1.05849075], USD[0.00]                                                                                                           Yes

07915253                              ETH[.0258851], ETHW[.0258851], USD[0.00]

07915276                              BAT[0], BRZ[5], BTC[0], CUSDT[0], DOGE[5], ETH[0], ETHW[0], GRT[0], LINK[0], LTC[0], MATIC[0], NFT (326562430631016642/Dalmatian Common #175)[1], NFT (350277399277005503/Carmen   Yes
                                      #16)[1], SHIB[25], SOL[0], SUSHI[0], TRX[2], UNI[0], USD[218.62], USDT[0.00000001]
07915283                              ETH[.00005074], ETHW[0.00005073], NFT (546127365233148507/The 2974 Collection #1292)[1], NFT (552328141535917156/Birthday Cake #1292)[1], USD[0.00], USDT[0]

07915287                              NFT (288271404507624845/Soloth #5674)[1], NFT (455868243969143315/#625)[1]

07915294                              USD[217.03]                                                                                                                                                                        Yes

07915299                              DOGE[0], USD[0.00]

07915309       Contingent, Disputed   BTC[.00008192], NFT (360933641177367824/Humpty Dumpty #1659)[1], SOL[0.05548376], USD[-1.16], USDT[0.00000001]

07915310                              ETH[.333666], ETHW[.333666], USD[5.98]

07915313                              NFT (476215142501887477/Bahrain Ticket Stub #1938)[1]

07915334                              NFT (316237175008674788/Montreal Ticket Stub #248)[1], NFT (324083812893326414/Austria Ticket Stub #115)[1]                                                                        Yes

07915335                              BTC[0], ETH[0], ETHW[0], MATIC[0], NFT (303588388741899855/Exalted KAM1 #8315)[1], NFT (388529820353111155/Necropirate #279)[1], USD[0.02], USDT[0]

07915337                              USD[0.00]

07915346                              USD[0.02]

07915350                              TRX[.000001], USDT[0.00000016]

07915353                              USD[0.00]

07915371                              NFT (327118357179635901/Megalodon Rogue Shark Tooth)[1], NFT (490158819894025730/SolSoul-02770)[1]

07915376                              NFT (367068395940796959/Solarian Enforcer #1)[1], NFT (452398139078389752/Solarian Laser Eyes)[1]

07915385                              USD[0.01]                                                                                                                                                                          Yes

07915387                              SOL[.03]

07915392                              NFT (454811955066880120/Coachella x FTX Weekend 1 #5674)[1], USD[25.00]

07915393                              NFT (321264530163426229/MagicEden Vaults)[1], NFT (337724502679040007/MagicEden Vaults)[1], NFT (373500369274680758/MagicEden Vaults)[1], NFT (525856307200407095/MagicEden
                                      Vaults)[1], NFT (555292628032965949/MagicEden Vaults)[1]
07915402                              USDT[0.00000001]

07915406                              BAT[1.55066799], USD[0.00]                                                                                                                                                         Yes

07915425                              NFT (321762402464744488/Saudi Arabia Ticket Stub #1437)[1], SOL[1.2555]

07915426                              SOL[.1]

07915432                              LTC[0], SHIB[689690.66946284], USD[0.00]

07915433                              NFT (324201241945831333/Unverfied Token)[1], NFT (456051194572117750/Unverfied Token)[1]

07915435                              NFT (520548939271748333/Saudi Arabia Ticket Stub #415)[1]

07915441                              ETH[0], SHIB[21368486.43086529], USD[595.06]                                                                                                                                       Yes

07915442                              USD[5.32]                                                                                                                                                                          Yes

07915465                              NFT (342110545454153336/ApexDucks Halloween #3182)[1], NFT (345620341332124252/Solninjas #2519)[1], NFT (463163414614434029/ApexDucks #6776)[1], NFT
                                      (568193322081416702/ApexDucks #5819)[1]
07915466                              CUSDT[79.45707271], DOGE[11.51415024], TRX[1], USD[0.00]                                                                                                                           Yes

07915470                              SOL[.002]

07915471                              TRX[.000003], USDT[1.2212782]

07915473                              USDT[0]

07915485                              USD[0.00]

07915494                              NFT (459918077854978495/Sol Shade #2160)[1]

07915496                              BTC[.00001629]                                                                                                                                                                     Yes

07915504                              NFT (470910811826701124/#4241)[1]

07915513                              ETH[.5], ETHW[.5], USD[100.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07915518                              NFT (492937620354063958/Bahrain Ticket Stub #608)[1]

07915531                              USD[0.17]

07915533                              SOL[.004]

07915536                              NFT (423622243277395675/FTX - Off The Grid Miami #532)[1]

07915538                              EUR[0.00]

07915539                              NFT (384233064245938017/#204)[1], NFT (415565732858632216/#4282)[1], NFT (564682702847285455/Bahrain Ticket Stub #2500)[1]

07915544                              USD[5.11]

07915549                              NFT (374750619027526830/Saudi Arabia Ticket Stub #944)[1], SOL[.01]

07915554                              BTC[.00103782], CUSDT[3], ETH[.02390025], ETHW[.02390025], SOL[.20982604], USD[0.02]

07915559                              USD[0.00]

07915565                              USD[28.86]

07915568                              NFT (473897079400939765/Romeo #1291)[1], NFT (497371571725853168/Entrance Voucher #4327)[1]

07915570                              ETH[0], GRT[0], USD[0.00]

07915573                              SOL[1]

07915578                              ETH[0], SOL[0], TRX[.000028], USD[0.00], USDT[0]

07915579                              MATIC[.04516161], SOL[.00000001], USD[0.00], USDT[.00528154]

07915582                              NFT (423085682403139263/Entrance Voucher #3394)[1], NFT (516395309923176994/Imola Ticket Stub #325)[1]

07915583                              ETH[0], USDT[0.77232730]

07915584                              SOL[.003]

07915589                              NFT (524087992382555669/Entrance Voucher #5336)[1], SOL[.00000001], USDT[0.00004031]

07915601                              USD[30.60]                                                                                                                                                                           Yes

07915613                              USD[0.00]

07915615                              ETH[0]

07915622                              ETH[.0000001], ETHW[.0000001], NFT (338874997941933463/Phanbots Season 1 #2045)[1], USD[0.03]

07915630                              DOGE[1], TRX[1], USD[0.00]

07915634                              SOL[.04799]

07915637                              SOL[.00000001], USDT[2.0743252]

07915641       Contingent, Disputed   NFT (298479843309430714/Blind World)[1], NFT (303716869429132763/Fatal Blur)[1], NFT (303853677138553400/Shoemaker #3)[1], NFT (316712219816250996/Limbo Man - SOL)[1], NFT
                                      (332952750715736866/Shoemaker #1)[1], NFT (335077890330518945/Limbo Woman - SOL)[1], NFT (337769521529425812/Shoemaker #2)[1], NFT (350642106056239714/Your Friend)[1], NFT
                                      (356883365841782198/The Mix)[1], NFT (365976709860503974/Soft)[1], NFT (381403514048503091/Shoemaker #0)[1], NFT (426715114422353085/During the Act)[1], NFT
                                      (429272157303758005/Limbo Woman 1 - SOL)[1], NFT (455470444567775728/Limbo Woman 3 - SOL)[1], NFT (477278859918793490/Get over it)[1], NFT (489682011435655811/Life Vanishing)[1],
                                      NFT (489932193867015416/Tuscan Wine - SOL)[1], NFT (492229733003315844/Wine Road - SOL)[1], NFT (520076060975257438/Limbo Woman 0 - SOL)[1], NFT (530045572162923004/Limbo Man
                                      0 - SOL)[1], NFT (531606362514002690/Limbo Woman 2 - SOL)[1], NFT (553122295580050874/Limbo Man 1 - SOL)[1], NFT (556525902918233549/Head to Head)[1], SOL[.49058681], USD[196.00]

07915649                              SOL[.0638]

07915651                              SOL[.0014]

07915655                              NFT (379970027597742405/Australia Ticket Stub #1512)[1], USDT[5]

07915669                              NFT (300101862619646558/FTX Crypto Cup 2022 Key #28)[1], NFT (534785924460304737/Night Light #329)[1], USD[0.00]

07915671                              ETH[.00098971], ETHW[.00029975], NFT (309055143021814426/Imola Ticket Stub #2018)[1], SOL[.00287665], TRX[.000019], USD[0.00], USDT[0.18652109]

07915687                              SOL[.12]

07915708                              SOL[.15]

07915709                              NFT (295411647863022713/Bahrain Ticket Stub #1767)[1], USDT[.33421849]

07915713                              TRX[.000003], USD[476.60], USDT[0]

07915724                              NFT (362439343172751736/Whales Nation #7603)[1]

07915728                              AVAX[0], CUSDT[5], DOGE[0], ETH[.00000069], ETHW[.00000069], SHIB[1], SOL[0], TRX[1], USD[0.00], YFI[.00000005]                                                                      Yes

07915735                              ETH[.0081], ETHW[.0081]

07915737                              NFT (430927961860304644/Australia Ticket Stub #921)[1]

07915755                              USD[0.00], USDT[0]

07915762                              NFT (410694605384520495/Entrance Voucher #4295)[1]

07915771                              NFT (346266997855874374/Megalodon Rogue Shark Tooth)[1], NFT (361398274728682958/Megalodon Rogue Shark Tooth)[1], NFT (446720326946475052/Dumpster #220)[1], SOL[.279]

07915776                              ETH[0], NFT (466709192277577757/Entrance Voucher #2447)[1], SOL[0], USD[10.05]

07915784                              MATIC[1]

07915787       Contingent, Disputed   NFT (458727662920387477/Microphone #3542)[1], SOL[.001]

07915790                              SOL[2.8]

07915796                              SOL[.00000001], USDT[0.00000064]

07915802                              BTC[.0394367], ETH[0.09264363], ETHW[0.09264363], SOL[4.8279575], USD[113.46]

07915808                              USD[0.00]

07915827                              SOL[0]

07915829                              USD[0.00]

07915868                              SOL[.9]

07915870                              NFT (359508795354732413/Rogue Circuits #4204)[1], SOL[.1488]
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                                                                                                                                          Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07915907                           USD[2.10]

07915911                           USD[0.00]

07915916                           DOGE[1998], SOL[42.957], USD[22.67]

07915921                           NFT (403342857017643087/Imola Ticket Stub #2448)[1]

07915973                           NFT (293576344771205518/Beautiful seaside)[1], NFT (304787462011829380/Snow Mountains under Stars#209)[1], NFT (329597787747532599/beautiful flowers)[1], NFT                             Yes
                                   (352461550361134260/Coffee house in winter)[1], NFT (380872663260617725/Meteor under the street lamp)[1], NFT (409248398524537623/golden sea sunset#241)[1], NFT
                                   (416131929811672473/unique cloud#226)[1], NFT (428006568021476399/beauty of the starry sky #210)[1], NFT (433225406257602641/Entrance Voucher #9832)[1], NFT (437948610074850875/Juliet
                                   #523)[1], NFT (440350520910234347/city night view)[1], NFT (442599488242989875/golden sunset on cruise ship#228)[1], NFT (444513210598909080/beautiful clouds)[1], NFT
                                   (445011853203804656/beautiful blue sky)[1], NFT (480703284891665254/Romeo #7956)[1], NFT (494913614788842480/Microphone #14443)[1], NFT (498759029603686665/Beautiful fireworks
                                   #202)[1], NFT (508900440337161221/Scenery in travel)[1], NFT (525606100938396453/golden sunset cottage#246)[1], NFT (541534524885074392/sunset under coconut trees#227)[1], NFT
                                   (546852612978548767/Beautiful sky and moon)[1], NFT (564839301718596516/Pink seaside)[1], NFT (575439623050132360/dusk under tree#225)[1], SOL[.60405457]

07915977                           BAT[1], BTC[.00016448], DOGE[1], SOL[0], USD[0.00], USDT[1.06485119]                                                                                                                      Yes

07915978                           NFT (291810476577103814/Sollyfish #4209)[1], NFT (328406849616198994/Sollyfish #433)[1], NFT (356610078458096471/SKYLINE #1326)[1], NFT (391495733291931899/Eitbit Ape #3576)[1], NFT
                                   (434378348474373060/Sollyfish #653)[1], SOL[.22271], USD[1.91]
07915981                           ETH[.00005], ETHW[.00005], USD[0.00]

07915983                           BTC[0.00002002], USD[1.10]

07916013                           AVAX[21.6783], BTC[.0000861], ETH[.000017], ETHW[.9671184], LINK[.0062], MATIC[474.525], SOL[.006], USD[-261.03]

07916015                           NFT (562968948677385273/Microphone #7708)[1], USD[0.00]

07916017                           AVAX[.56780305], BTC[.00608419], CUSDT[18], DOGE[948.05103387], ETH[.06416561], ETHW[.02934698], NFT (522219537957819405/Astral Apes #370)[1], SHIB[6878831.59415687],                    Yes
                                   SOL[1.42822539], TRX[1], USD[0.02]
07916033                           NFT (323037791426963864/Sunset #147)[1], NFT (542322892368605571/Blue Mist #94)[1], NFT (547192592358102969/Starry Night #440)[1], SOL[.0000385], USD[0.21]

07916049                           USD[0.00]

07916051                           USD[21.51]                                                                                                                                                                                Yes

07916056                           BTC[0]

07916059                           ETH[.00012706], ETHW[.00012706], USD[0.00]                                                                                                                                                Yes

07916070                           BF_POINT[200], BTC[0], LTC[0], TRX[.35566248], USD[0.00], USDT[0]                                                                                                                         Yes

07916119                           CUSDT[1], TRX[2], USD[0.00]

07916128                           BTC[.01912344], SOL[10.25967], USD[2054.98]

07916131                           NFT (360630801688768592/Megalodon Rogue Shark Tooth)[1], NFT (399175117183016419/Megalodon Rogue Shark Tooth)[1], NFT (469330673140090724/Megalodon Rogue Shark Tooth)[1], NFT
                                   (499842681674728400/Megalodon Rogue Shark Tooth)[1], NFT (536767482697992208/Megalodon Rogue Shark Tooth)[1], NFT (562305137373003319/Megalodon Rogue Shark Tooth)[1]
07916143                           USD[2.00]

07916154                           NFT (341083152875088999/Microphone #8065)[1]

07916157                           CUSDT[494.40582663], DOGE[.00208463], SHIB[70615.40337614], USD[0.00]                                                                                                                     Yes

07916160                           ETH[0], ETHW[0], NFT (359225306538362371/DOTB #2665)[1], SHIB[6], SOL[0.10982500], USD[0.00]

07916165                           SOL[.06000001]

07916202                           GRT[62.937], MATIC[29.97], TRX[491], USD[4.82]

07916203                           DOGE[1], GRT[1], USD[0.00], USDT[0.00020834]                                                                                                                                              Yes

07916204                           USD[100.00]

07916208                           SOL[0], TRX[0.00000100]

07916215                           CUSDT[4], ETH[0.00023034], ETHW[0.00023034], LINK[0.03381473], USD[1.18]                                                                                                                  Yes

07916216                           BAT[1], BRZ[1], BTC[.00009829], DOGE[2], ETH[.00090106], ETHW[3.85000006], MATIC[.7366], SHIB[1], TRX[1], USD[2.16]

07916218                           BTC[0], CUSDT[4], DOGE[1.00364106], ETH[.00000007], ETHW[.00000007], NFT (347409527269398422/Style #10 Of 10 )[1], NFT (352158790431299240/First 50 #34)[1], NFT                          Yes
                                   (352906385292164290/Style # 1 Of 10)[1], NFT (362301819861060941/Bahrain Ticket Stub #379)[1], NFT (365014933495422678/Style #7 Of 10)[1], NFT (411824202498422447/Weird Apes #3)[1], NFT
                                   (452467391251442480/Tim Brown's Playbook: New York Jets vs. Oakland Raiders - December 2, 2002 #63)[1], NFT (487686106869264755/Solana fox)[1], NFT (513303506830753184/Style #4 Of
                                   10)[1], NFT (559310483297888905/Kiddo #2068)[1], NFT (575671131949176029/Style #8 Of 10 )[1], SHIB[4], TRX[.00193397], USD[0.00]
07916224                           USD[5.45]                                                                                                                                                                                 Yes

07916241                           BTC[.00000028], CUSDT[15], DOGE[.00206494], ETH[.000004], ETHW[.000004], SHIB[797216.83047522], SOL[.00001138], USD[0.00], USDT[0]                                                        Yes

07916260                           NFT (519772908245699466/Humpty Dumpty #949)[1]

07916265                           BAT[1.53627949], BRZ[16.31232235], CUSDT[115.98204395], DOGE[12.90623864], KSHIB[51.49117678], SHIB[2754990.04482607], TRX[29.38689449], USD[0.00]                                        Yes

07916279                           ETH[0], ETHW[0], USD[0.00], USDT[0]                                                                                                                                                       Yes

07916283                           USDT[13]

07916286                           NFT (455991501788414909/FatCats)[1], NFT (552092215165612874/SolCat #2489)[1]

07916289                           CUSDT[1], SOL[.09799127], USD[0.00]

07916293                           DOGE[229.40713781], GRT[72.91864468], TRX[1], USD[0.01]                                                                                                                                   Yes

07916295                           NFT (405428152349416983/Humpty Dumpty #1660)[1]

07916299                           BTC[.0159], ETH[.271], ETHW[.271], SOL[3.71], USD[1.39]

07916310                           USD[4.06]

07916314                           USD[1.25]

07916325                           TRX[2], USD[0.01]                                                                                                                                                                         Yes

07916327                           CUSDT[5], TRX[1], USD[0.00]                                                                                                                                                               Yes

07916331                           USD[352.53]

07916338                           SOL[.09988395]

07916346                           USD[0.74]

07916358                           DOGE[3.20127588], ETH[0.01925924], ETHW[0.01925924], SOL[0]
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                                                                                                                                         Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07916360                           SHIB[881149.43609937], SOL[0], USD[0.67], USDT[0.00000175]

07916363                           ETH[0], ETHW[0], SOL[0], USD[0.00], USDT[0]

07916366                           BCH[.000458], LINK[.08264], SOL[.00000001], USD[143.50], USDT[2.22423702]

07916380                           BTC[.00152066], CUSDT[5], DOGE[2], ETH[.02137272], ETHW[.02111179], LINK[1.29695646], USD[0.01]                                                                                        Yes

07916383                           DAI[0], ETH[0], SOL[0], USD[0.00]

07916387                           SHIB[1], USD[0.00]

07916396                           CUSDT[3], DOGE[3], LINK[.43403279], NFT (333158402782721199/DarkPunk #2506)[1], NFT (465245236697861662/ALPHA:RONIN #752)[1], USD[0.00]                                                Yes

07916412                           USD[0.00]

07916420                           ALGO[.00000001], ETH[.00000001], ETHW[0], NFT (572200848736715153/#425)[1], TRX[.06791701], USD[0.00], USDT[0]

07916421                           ETH[.000744], ETHW[.000744], USD[0.15], WBTC[.00007241]

07916426                           CUSDT[1], DOGE[1], GRT[1], TRX[2], USD[2962.15], USDT[1.04599887]                                                                                                                      Yes

07916431                           NFT (348385490018960817/Microphone #8762)[1]

07916441                           NFT (299049810375663462/Australia Ticket Stub #2102)[1]

07916451                           NFT (356843389911826401/DCBear #379)[1]

07916452                           NFT (383563350737045495/Entrance Voucher #6237)[1], USD[0.29]

07916453                           CUSDT[1], SHIB[3844675.12495194], USD[0.00]

07916458                           NFT (514301832919151981/5866)[1]

07916487                           SOL[0], USD[0.00]

07916488                           BTC[.01066667], TRX[1], USD[0.01]

07916497                           USDT[.000993]                                                                                                                                                                          Yes

07916522                           GRT[1], SOL[46.95906597], TRX[1], USD[0.00]

07916538                           NFT (385790301065953086/You in, Miami? #48)[1]

07916540                           USD[5322.48]                                                                                                                                                                           Yes

07916543                           SOL[2.0595], USDT[0]

07916562                           USD[0.77]

07916566                           SHIB[2], USD[0.00]

07916573                           BAT[2], BRZ[1], BTC[.00000062], CUSDT[2], DOGE[5], ETH[.00000918], GRT[3], SHIB[4], TRX[6], USD[87.52], USDT[1.00628452]                                                               Yes

07916599                           NFT (289116427855362154/MagicEden Vaults)[1], NFT (419986294511964458/Frog #1461)[1], NFT (483801821274290636/Golden bone pass)[1], NFT (487154008489264041/Cyber Frogs Ramen)[1],
                                   NFT (493776251251750435/MagicEden Vaults)[1], NFT (533206921212404150/MagicEden Vaults)[1], NFT (551205102515274575/MagicEden Vaults)[1], SOL[1.01]
07916614                           BF_POINT[300], BTC[.00000419], SOL[0], USD[0.00]

07916622                           CUSDT[1], TRX[2182.15146438], USD[0.01]                                                                                                                                                Yes

07916625                           BTC[.00153392], CUSDT[53.27009073], DOGE[1], ETH[.00278612], ETHW[.00274505], SHIB[221172.44712376], SUSHI[.9490341], TRX[68.98394062], USD[0.20]                                      Yes

07916639                           USD[0.11]

07916641                           SOL[0]

07916673                           USD[0.01]

07916675                           KSHIB[171.63468304], SHIB[.00038618], USD[5.16]

07916699                           SOL[0], USD[10.76], USDT[0]

07916712                           SOL[.002], USDT[0.67454612]

07916717                           ETH[.000888], ETHW[.000888], USD[0.19], USDT[0]

07916720                           GRT[1521.61292247], MATIC[83.16881571], USD[4.56]

07916727                           USD[0.00]

07916740                           SOL[0]

07916748                           BTC[0], CUSDT[1], DOGE[0], ETH[0], NFT (539439117783734337/Entrance Voucher #2880)[1], SOL[0], USD[0.00], USDT[0.00217999]                                                             Yes

07916750                           BTC[.00016248], DOGE[107.136]

07916754                           BTC[0], MATIC[0], SHIB[5], USD[0.00]                                                                                                                                                   Yes

07916758                           NFT (502993941013413797/SolanaDoge #4901)[1], SOL[13.02025]

07916759                           AVAX[4.22747595], BRZ[1], BTC[.09573686], DOGE[1], ETH[1.06777247], ETHW[.69758652], SHIB[3], SOL[36.59956618], USD[0.00]                                                              Yes

07916777                           SOL[.01815]

07916802                           USD[0.00]

07916803                           BRZ[1], USD[0.06]                                                                                                                                                                      Yes

07916817                           NFT (295499337007110341/Carina's Art #3)[1], NFT (483906420708641643/Toasty Turts #3874)[1], NFT (495408497446615824/2D SOLDIER #3231)[1], NFT (499273451713419228/Carina's Art #4)[1],
                                   NFT (550277670439537601/Carina's Art #2)[1], USD[0.00], USDT[0]
07916829                           BAT[1], ETHW[2.74058374], SHIB[1], SUSHI[1.05310617], TRX[1], USD[0.01]                                                                                                                 Yes

07916831                           NFT (543253672809704431/Imola Ticket Stub #586)[1], USD[0.00]                                                                                                                          Yes

07916834                           BTC[.00001246], USD[1.37]                                                                                                                                                              Yes

07916864                           BRZ[1], CUSDT[11], TRX[2], USD[0.00]

07916866                           BTC[0], ETH[0], LINK[0], USD[0.00]

07916871                           USD[12.23]

07916876                           ETH[.00000001], NFT (379641750665912015/Australia Ticket Stub #1539)[1], TRX[.000003], USDT[0.87251495]

07916877                           USD[0.08]
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                                                                                                                                            Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07916879                              BTC[.02136095], ETH[0], MATIC[61.60104716], SHIB[10166181.43934579], TRX[525.90207268], USD[0.00], USDT[0.00009133]                                                                       Yes

07916907                              LTC[0], SOL[0], USD[0.00]

07916909                              CUSDT[1], LINK[.35785406], SHIB[172694.96485781], USD[0.00]                                                                                                                               Yes

07916912                              MATIC[.0350376]                                                                                                                                                                           Yes

07916915                              ETHW[1.25624349], USD[0.32]                                                                                                                                                               Yes

07916932                              BTC[.00000001], CUSDT[6], USD[0.39]                                                                                                                                                       Yes

07916935                              ETH[0], SOL[0], USD[0.00]

07916937                              SOL[.02]

07916942                              BRZ[1], NFT (521051277148780365/Entrance Voucher #28798)[1], SHIB[36.77239299], SUSHI[.00008331], USD[143.84]                                                                             Yes

07916946                              NFT (293378464581273447/ApexDucks Halloween #278)[1]

07916952                              BCH[0], BTC[0], SOL[0], USD[0.00]

07916954                              NFT (337131115961424995/Happy Holidays 2021 #13)[1], NFT (358101841235816328/Happy Holidays 2021 #14)[1], NFT (396386146284509258/Happy Holidays 2021 #12)[1], NFT
                                      (539077083164629118/Happy Holidays 2021 #11)[1], SOL[.166], USD[0.00]
07916955                              BTC[0], USD[0.00], USDT[0.00008215]

07916957                              SOL[0], USD[0.00]

07916958                              NFT (563801055449813432/Coachella x FTX Weekend 2 #6751)[1]

07916961                              ETH[.164835], ETHW[.164835], USD[3.20]

07916980                              BRZ[1], CUSDT[1], SOL[10.38035013], TRX[1], USD[0.00]

07916984                              ETHW[.3468002], USD[0.01]

07916989                              ETH[0], ETHW[0], USD[0.00]

07916991                              USD[0.06]

07916996                              BTC[0], ETH[0], USD[0.68], USDT[0]

07917016                              CUSDT[2], MKR[0], TRX[1], USD[0.00]                                                                                                                                                       Yes

07917017                              MATIC[9.97], SOL[.00802], USD[0.74], USDT[0]

07917027                              BRZ[5.05754697], CUSDT[10], ETHW[3.8246979], SHIB[4], TRX[18.76708569], USD[0.00], USDT[2.0944709]                                                                                        Yes

07917028       Contingent, Disputed   SOL[.95]

07917041                              BAT[1.00757976], BRZ[4], BTC[.00000129], CUSDT[8], DOGE[14.35175359], ETH[.42106552], ETHW[1.01363471], GRT[1.00014984], SHIB[3], TRX[7], USD[44505.57], USDT[4.17459769]                 Yes

07917050                              AVAX[0], BTC[.0000545], SOL[.0018168], USD[0.00]

07917051                              AAVE[0], AVAX[0], BAT[0], BCH[0], BTC[0.00059330], DOGE[0], ETH[0], GRT[0], KSHIB[0], LTC[0], MATIC[0], MKR[0], SHIB[0], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[104.44]

07917054       Contingent, Disputed   ETH[.00000001], ETHW[0]

07917074                              BRZ[2], BTC[.01083479], SHIB[2], USD[0.00]

07917086                              USD[520.96]                                                                                                                                                                               Yes

07917093                              BTC[.02400308], GRT[343.75339055], MATIC[0], SOL[.00000914], USD[0.00]

07917095                              NFT (492772214606696649/FTX - Off The Grid Miami #1676)[1]

07917098                              CUSDT[1], DOGE[541.28590586], NFT (328305974682633269/Sollama)[1], NFT (432372849323148599/Mikal, the Prickly)[1], SOL[.01772083], TRX[2], USD[0.82]

07917105                              BTC[.00098559], NFT (370548211394513041/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #89)[1], NFT (399955299918263091/Baby Blinkin Mushy #003 - Pink Top)[1],
                                      USD[0.00]
07917117                              AVAX[6.68475521], DOGE[6526.18037275], ETH[.43887945], ETHW[1.02709745], NFT (523092124598214488/Anti Artist #53)[1], SHIB[33191613.67345505], SOL[3.08658932], USD[0.40], USDT[0]         Yes

07917130                              USD[0.00]

07917138                              NFT (362268561009080211/MagicEden Vaults)[1], NFT (363569435913639329/MagicEden Vaults)[1], NFT (379961053341710620/Matrica 3D Cube)[1], NFT (399027855795693093/MagicEden
                                      Vaults)[1], NFT (416063954777747811/Pixels #2533)[1], NFT (420610133650422664/MagicEden Vaults)[1], NFT (562457566802902581/MagicEden Vaults)[1]
07917139                              NFT (495197083477369600/3D SOLDIER #158)[1]

07917143                              BTC[.00065519], USD[0.00], USDT[0.00026481]

07917145                              DOGE[1], ETH[0], GRT[1.00091369], MATIC[.0010817], USD[0.00]                                                                                                                              Yes

07917150                              CUSDT[2], USD[0.00]                                                                                                                                                                       Yes

07917167                              BTC[.00001741], ETH[.20642369], ETHW[.20642369], USD[3.00]

07917171                              BTC[.00000843], TRX[.977967], USDT[0.00001232]

07917180                              ETHW[.00070775], USD[0.01]

07917183                              USD[0.00]

07917190                              USD[0.04]

07917195                              BTC[.00000001], TRX[1], USD[0.00]                                                                                                                                                         Yes

07917197                              USD[0.00]

07917204                              BTC[.01130928], CUSDT[2], DOGE[1], SHIB[1682328.19484045], USD[0.00]                                                                                                                      Yes

07917209                              BAT[1.0145215], BRZ[2], BTC[.18500089], CUSDT[3], ETH[1.10487582], ETHW[1.10441168], MATIC[328.7253637], SOL[5.26675643], TRX[4699.74196418], USD[0.00]                                   Yes

07917217                              NFT (383884080419681711/3728)[1], USDT[1.7477368]

07917235                              USD[0.35]

07917242                              SOL[7]

07917244       Contingent, Disputed   BTC[0], CUSDT[.0004414], DOGE[0.08741016], ETH[0], ETHW[0], NFT (343354854154109949/Shaq's Fun House Commemorative Ticket #19)[1], USD[0.00]                                              Yes

07917250                              BTC[0], DOGE[0]

07917259                              NFT (489693928466651935/Imola Ticket Stub #13)[1], SOL[.02134047], USD[0.00], USDT[0.00000227]
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07917260                              NFT (354414592684668590/Saudi Arabia Ticket Stub #211)[1]

07917286                              ETH[0], SOL[.00806116], USD[1.33]

07917292                              USD[5.94]

07917294                              CUSDT[1], DOGE[1]

07917316                              BTC[0], ETHW[1.22238207], EUR[0.00], LTC[.25], TRX[.000001], USD[0.00], USDT[0]

07917320                              USD[1.94]

07917321                              CUSDT[3], DOGE[2], USD[0.00]                                                                                                                                                         Yes

07917329                              NFT (397114027247245098/#383)[1], NFT (556579810016782081/Snek #3362)[1], NFT (574302298876534282/Solamander #2883)[1]

07917373                              DOGE[1], USD[0.00]                                                                                                                                                                   Yes

07917376                              BTC[.00359406], CUSDT[2], USD[0.01]                                                                                                                                                  Yes

07917379                              CUSDT[2], USD[0.65]                                                                                                                                                                  Yes

07917385                              SOL[.00008343]                                                                                                                                                                       Yes

07917395                              SOL[.00000001], USD[0.28], USDT[.1783649]                                                                                                                                            Yes

07917406                              SGD[0.00]

07917424                              SOL[.00094393]                                                                                                                                                                       Yes

07917426                              USDT[3.714384]

07917447                              BTC[.00352277]                                                                                                                                                                       Yes

07917451                              BTC[.0015]

07917459                              BAT[1], CUSDT[1], DOGE[4700.90135088], ETH[.13032895], ETHW[.13032895], SHIB[3533105.34203121], SOL[3.11381234], TRX[2], USD[0.00]

07917460                              CUSDT[5], NFT (336873665658215830/FunTownPeople #15)[1], NFT (445046458740294375/Z - Town #11)[1], NFT (473985358892793831/Beddy Tears #9)[1], SHIB[1], TRX[2454.10613333],          Yes
                                      USD[0.00], USDT[0.88815136]
07917480                              DOGE[94.94199954], ETH[.04824635], ETHW[.02959929], LTC[.00000035], MATIC[29.58994938], SHIB[6], TRX[.27099311], USD[0.00]

07917492                              CUSDT[1], SOL[0], USD[21326.15]                                                                                                                                                      Yes

07917495                              ETH[.0009812], ETHW[0.00098120], USD[0.51]

07917498                              USD[0.11]

07917506                              BTC[.00241664], CUSDT[1], DOGE[1], ETH[.25350118], ETHW[.25330942], SHIB[1], TRX[1], USD[0.26]                                                                                       Yes

07917508                              USD[1.53]

07917510                              AVAX[.00000003], BAT[2.053], BCH[.000601], DOGE[.00000804], KSHIB[4.91], LINK[.2198], SHIB[256200], SOL[.01073], SUSHI[1.229], UNI[.219], USD[124.98]

07917518                              USD[25.00]

07917521                              USD[437.53], USDT[0]

07917545                              USD[0.00]

07917585                              BTC[0], ETH[.000843], ETHW[.000843], MATIC[0], SOL[0.00086000], USD[0.63]

07917592                              ETH[.00000023], ETHW[.00000023], USD[0.67]                                                                                                                                           Yes

07917601                              USD[100.00]

07917604                              USD[0.00]

07917605                              AVAX[0], BTC[0], ETH[0], SHIB[2], SOL[.00000001], USD[0.00]

07917607                              USDT[0.00000030]

07917612                              BTC[.00000001], DOGE[133.26335], ETHW[26.27303966], USD[0.00], USDT[0.00000001]

07917613                              BRZ[2], CUSDT[5], DOGE[0], ETH[0], SHIB[2], TRX[2], USD[0.00]                                                                                                                        Yes

07917622                              BRZ[.00002907], CUSDT[.00076534], KSHIB[0.00054213], MATIC[0.00000022], SHIB[1123292.17484554], TRX[0.90000474], USD[0.30]                                                           Yes

07917631       Contingent, Disputed   BTC[0], USD[502.03], USDT[0]

07917632                              TRX[.000001], USD[0.00], USDT[0]

07917641                              NFT (482839383055843207/Metabaes #822)[1]

07917643                              BTC[0], ETH[2.96438456], ETHW[38.38519309], USD[0.00]

07917646                              NFT (351668409991097531/Reincarnation #7)[1], NFT (394070088783090979/Golden Woman)[1], NFT (403375261346623202/Lion King)[1], NFT (405609749444170983/Different Woman #2)[1], NFT
                                      (425752115054164078/Lovely Woman)[1], NFT (431763907136257941/Dancing Woman)[1], NFT (433049689743094088/Lonely Man)[1], NFT (466325183180402828/Acrobatics #2)[1], NFT
                                      (480905028798739755/Shameless)[1], NFT (494840627300561444/Mermaid)[1], NFT (501006989758408620/Reddy Lipstick)[1], NFT (525342834204818422/Colorful Parrot)[1], NFT
                                      (543436161702270030/Thinker Woman)[1], NFT (563898510026623591/Microphone #250)[1], USD[0.00]
07917651                              NFT (503125530530749073/Aku World: Dream #191)[1]                                                                                                                                    Yes

07917657                              SOL[.198]

07917658                              NFT (556552959698312001/Megalodon Rogue Shark Tooth)[1]

07917665                              CUSDT[1], DOGE[1], GRT[1.00015904], SOL[101.21783519], TRX[1], USD[2.34]                                                                                                             Yes

07917695                              SOL[49.14691697], USD[0.00]

07917698       Contingent, Disputed   NFT (573457614604949380/Microphone #2179)[1]

07917701                              BTC[0], SHIB[1], SOL[0], USD[0.01]                                                                                                                                                   Yes

07917703                              BTC[.00005139], SOL[.00414668], USD[0.48]

07917709                              ETHW[2.83811197], USD[0.00]

07917719                              BTC[0.02167417], ETH[.07150658], ETHW[.07150658], MATIC[9.87], USD[4.06]

07917733                              SOL[.001]

07917749                              BTC[0], DOGE[1], KSHIB[0], SUSHI[0], TRX[1], USD[0.00], USDT[0]                                                                                                                      Yes
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                                                                                                                                            Customer Claims                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07917758                              USD[2.00]

07917766                              BTC[0], ETH[.00078858], ETHW[.00078858], KSHIB[30], LINK[.08689], MATIC[9.8575], USD[1.58]

07917769                              SOL[.00387873], USD[0.00]

07917772                              BTC[.00000004], ETHW[.00000256], SHIB[5], USD[0.00]                                                                  Yes

07917776                              LINK[.14643119], MATIC[2.31092351], SHIB[15349.1941673], TRX[9.02291242], USD[0.00]

07917794                              USD[0.00]

07917797                              SOL[.01]

07917806                              BTC[0], LTC[0.00000001], USD[0.00], USDT[0]

07917811                              CUSDT[2], SHIB[0], USD[0.01]

07917823                              SOL[.0002947]

07917836                              TRX[.000001], USDT[1.262971]

07917857                              SOL[.007985], USD[0.00], USDT[.0230578]

07917880                              BRZ[1], CUSDT[1], LTC[.0000019], USD[0.00]                                                                           Yes

07917889                              SOL[0]

07917892                              BRZ[1], DOGE[1], ETH[.1804297], ETHW[.1801855], USD[0.02]                                                            Yes

07917901       Contingent, Disputed   NFT (362978050780320367/Bahrain Ticket Stub #397)[1]

07917903                              SOL[.0009], USDT[0.00004311]

07917909                              TRX[.000001], USDT[1.4904465]

07917917                              USD[0.00]

07917941                              NFT (325586102024648841/Bahrain Ticket Stub #1568)[1], SOL[.00000001], USD[0.00], USDT[0]

07917956                              DOGE[1], LINK[5.02448889], SHIB[1], SOL[1.00343047], TRX[1], UNI[5.02448889], USD[0.56]                              Yes

07917968                              NFT (487099813196081091/Eitbit Ape #4409)[1], TRX[.000001]

07917974                              CUSDT[1], DOGE[3], SHIB[2], USD[582.56]

07917999                              SOL[3.72234168], USD[0.01]

07918003                              ETHW[.63], USD[0.00]

07918011                              USD[0.71]                                                                                                            Yes

07918014                              USD[4.44]

07918015                              BAT[1], BRZ[1], CUSDT[1], DOGE[5], GRT[1], SOL[1.05713699], SUSHI[2.09107105], TRX[8], USD[55.94], USDT[2.1162401]   Yes

07918027                              NFT (318038337742258939/SJ's Axie Infinity Scholarship RefUS 0001)[1], SOL[.11493444], USD[19.00]

07918028                              SOL[2.27]

07918032                              SOL[1.07], USD[1.98]

07918035                              LTC[0], MATIC[0], SHIB[2], TRX[1], USD[0.00], USDT[0.00000001]                                                       Yes

07918042                              BTC[0], ETH[.00000001], ETHW[0], LINK[0], SOL[0], USD[0.13]

07918048                              ETH[0], USD[0.00]

07918054                              MATIC[0], NFT (342487315969465769/Entrance Voucher #3117)[1], USD[0.00]                                              Yes

07918056                              SOL[0.00000001]

07918061                              USD[217.45]                                                                                                          Yes

07918065                              BRZ[1], BTC[.00000238], CUSDT[8], DOGE[13.4395925], ETH[0.18218822], ETHW[0.18194918], SHIB[1], TRX[5], USD[0.01]    Yes

07918088                              USD[0.01], USDT[0]

07918119                              SOL[0], USD[3.24]

07918136                              NFT (488005563305149940/The Hill by FTX #2502)[1], USD[0.00]                                                         Yes
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                                                                                                                                         Customer Claims                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07918139                           NFT (288261555613538991/CRUMBS)[1], NFT (288398347581451875/CRUMBS)[1], NFT (289971658598575765/CRUMBS)[1], NFT (290669563337472434/CRUMBS)[1], NFT
                                   (291641017743020995/CRUMBS)[1], NFT (292066981095756296/CRUMBS)[1], NFT (292986259294206510/CRUMBS)[1], NFT (293076017915440382/CRUMBS)[1], NFT
                                   (293400255244246506/CRUMBS)[1], NFT (295429285779039366/CRUMBS)[1], NFT (295748852152824627/CRUMBS)[1], NFT (296848115086136226/CRUMBS)[1], NFT
                                   (297071998616247323/CRUMBS)[1], NFT (297165726820888414/Bread Head | #656)[1], NFT (298003174623286417/CRUMBS)[1], NFT (299843737850732092/CRUMBS)[1], NFT
                                   (300976964673334470/CRUMBS)[1], NFT (301542241442844372/CRUMBS)[1], NFT (302139989298293497/CRUMBS)[1], NFT (302348801015536475/CRUMBS)[1], NFT
                                   (303710827849337888/CRUMBS)[1], NFT (306493288272527464/Bread Head | #783)[1], NFT (308809143582275389/CRUMBS)[1], NFT (310419809403311152/CRUMBS)[1], NFT
                                   (310420850236354134/CRUMBS)[1], NFT (310651480233776386/CRUMBS)[1], NFT (310789965192194752/CRUMBS)[1], NFT (311484792265530498/CRUMBS)[1], NFT
                                   (311884625231833573/CRUMBS)[1], NFT (312582855604854639/CRUMBS)[1], NFT (312809374270000579/CRUMBS)[1], NFT (312977819029016257/CRUMBS)[1], NFT
                                   (313104385546259079/CRUMBS)[1], NFT (313188382042927533/CMB Hat Pre-order)[1], NFT (314712812529652960/CRUMBS)[1], NFT (315237264540210611/CRUMBS)[1], NFT
                                   (316093768538039571/CRUMBS)[1], NFT (316627144242970146/Bread Head | #483)[1], NFT (316939303385454176/CRUMBS)[1], NFT (317082493535329892/CRUMBS)[1], NFT
                                   (317123414434427041/CRUMBS)[1], NFT (317240777904438772/CRUMBS)[1], NFT (318284098775586808/CRUMBS)[1], NFT (319422857595518048/CRUMBS)[1], NFT
                                   (319637421947279620/CRUMBS)[1], NFT (322143572626212930/CRUMBS)[1], NFT (322469379058692004/CRUMBS)[1], NFT (322940096536385541/CRUMBS)[1], NFT
                                   (325115661858826342/CRUMBS)[1], NFT (325715957221725819/CRUMBS)[1], NFT (327039285068381906/CRUMBS)[1], NFT (327148301326773866/CRUMBS)[1], NFT
                                   (327383120807461291/CRUMBS)[1], NFT (328747676325412044/CRUMBS)[1], NFT (328775111368245214/CRUMBS)[1], NFT (329914533104042034/CRUMBS)[1], NFT
                                   (330128277992984190/CRUMBS)[1], NFT (332574260344886828/CRUMBS)[1], NFT (332764703547324632/CRUMBS)[1], NFT (333256194475126728/CRUMBS)[1], NFT
                                   (333295252106691892/CRUMBS)[1], NFT (333416366426106430/CRUMBS)[1], NFT (335317161478001322/CRUMBS)[1], NFT (338533679168635498/CRUMBS)[1], NFT
                                   (338647375254969607/CRUMBS)[1], NFT (338680564166974656/CRUMBS)[1], NFT (339265427595204609/CRUMBS)[1], NFT (339301070953988798/CRUMBS)[1], NFT
                                   (339539069589899731/CRUMBS)[1], NFT (340421388350255596/CRUMBS)[1], NFT (340946406902499522/CRUMBS)[1], NFT (341019951702822850/CRUMBS)[1], NFT
                                   (341114080429562643/CRUMBS)[1], NFT (343015253211072406/CRUMBS)[1], NFT (343985251484106095/CRUMBS)[1], NFT (344911287062206440/CRUMBS)[1], NFT
                                   (345324446253196718/CRUMBS)[1], NFT (345472867923921888/CRUMBS)[1], NFT (347446901767920982/CRUMBS)[1], NFT (349339454254763790/CRUMBS)[1], NFT
                                   (349929843788283950/CRUMBS)[1], NFT (350063469766098989/CRUMBS)[1], NFT (350228743857098588/CRUMBS)[1], NFT (350544863184432713/CRUMBS)[1], NFT
                                   (353013178993255496/CRUMBS)[1], NFT (353392374928722400/CRUMBS)[1], NFT (354487788692462321/CRUMBS)[1], NFT (356661358502503738/CRUMBS)[1], NFT
                                   (356842900729192954/CRUMBS)[1], NFT (357067306983799596/CRUMBS)[1], NFT (357340929998657143/CRUMBS)[1], NFT (357985951998110855/CRUMBS)[1], NFT
                                   (358494744748308717/CRUMBS)[1], NFT (359675514313707161/CRUMBS)[1], NFT (360011784533108665/CRUMBS)[1], NFT (360056114349786657/CRUMBS)[1], NFT
                                   (360608117556386799/CRUMBS)[1], NFT (361433099768458612/CRUMBS)[1], NFT (361930333299723707/CRUMBS)[1], NFT (362302222325428343/CRUMBS)[1], NFT
                                   (362418530423253233/CRUMBS)[1], NFT (364620033126587034/CRUMBS)[1], NFT (365278216492305267/CRUMBS)[1], NFT (366165731602647460/CRUMBS)[1], NFT
                                   (366326376018109982/CRUMBS)[1], NFT (366561004740341899/CRUMBS)[1], NFT (367087054904357862/CRUMBS)[1], NFT (369582084841540223/CRUMBS)[1], NFT
                                   (370725748575060307/CRUMBS)[1], NFT (373121102602216606/CRUMBS)[1], NFT (373905286433688442/CRUMBS)[1], NFT (375044196248796701/CRUMBS)[1], NFT
                                   (375707500546988758/CRUMBS)[1], NFT (376394471039248014/CRUMBS)[1], NFT (377827184200992513/CRUMBS)[1], NFT (378622525180810453/CRUMBS)[1], NFT
                                   (378945129465893291/CRUMBS)[1], NFT (378956477188127187/CRUMBS)[1], NFT (378991054460026527/Bread Head | #427)[1], NFT (379394742325591070/CRUMBS)[1], NFT
                                   (381260435727159593/CRUMBS)[1], NFT (381487690017971718/CRUMBS)[1], NFT (381539167686264240/Bread Head | #773)[1], NFT (381651523851814854/Bread Head | #972)[1], NFT
                                   (381903283750878120/CRUMBS)[1], NFT (382027571112001099/CRUMBS)[1], NFT (382344780758967979/CRUMBS)[1], NFT (384317474151472978/CRUMBS)[1], NFT
                                   (384606122452028020/CRUMBS)[1], NFT (385064004183617785/CRUMBS)[1], NFT (386253103473172913/CRUMBS)[1], NFT (386590482583019148/CRUMBS)[1], NFT
                                   (386879034092392050/CRUMBS)[1], NFT (388058231539691523/CRUMBS)[1], NFT (389944921546021709/CRUMBS)[1], NFT (390112064178773116/CRUMBS)[1], NFT
                                   (390399920963678443/CRUMBS)[1], NFT (390427935632548035/CRUMBS)[1], NFT (390457718926176238/CRUMBS)[1], NFT (392093017387622142/CRUMBS)[1], NFT
                                   (392183928298999465/CRUMBS)[1], NFT (392448224025356350/CRUMBS)[1], NFT (392804091979743401/CRUMBS)[1], NFT (393475165616704307/CRUMBS)[1], NFT
                                   (394304658788588969/CRUMBS)[1], NFT (394534681633199668/CRUMBS)[1], NFT (395456559997639282/CRUMBS)[1], NFT (395738211472912224/CRUMBS)[1], NFT
                                   (395899638219647974/CRUMBS)[1], NFT (396425619247309447/CRUMBS)[1], NFT (397578895308354280/CRUMBS)[1], NFT (398177667630953867/CRUMBS)[1], NFT
                                   (400404636379706108/CRUMBS)[1], NFT (401439499833503183/CRUMBS)[1], NFT (401790298723775034/CRUMBS)[1], NFT (406307139588314984/CRUMBS)[1], NFT
                                   (406493210559522633/CRUMBS)[1], NFT (406601377013996563/CRUMBS)[1], NFT (406614085423832034/CRUMBS)[1], NFT (406736042367489986/CRUMBS)[1], NFT
                                   (408238746020108226/CRUMBS)[1], NFT (409538881452965556/CRUMBS)[1], NFT (409574406685584736/CRUMBS)[1], NFT (410415204354930260/CRUMBS)[1], NFT
                                   (410807904419167017/CRUMBS)[1], NFT (411282297324829627/CRUMBS)[1], NFT (411985204425414466/CRUMBS)[1], NFT (414383027278969283/CRUMBS)[1], NFT
                                   (414560405372726732/CRUMBS)[1], NFT (416172576845065594/CRUMBS)[1], NFT (417735760471988794/CRUMBS)[1], NFT (418048034605184751/Bread Head | #917)[1], NFT
                                   (418722062487879896/CRUMBS)[1], NFT (419290245555923590/CRUMBS)[1], NFT (420474954042666428/CRUMBS)[1], NFT (420703272998092721/CRUMBS)[1], NFT
                                   (421224481405491914/CRUMBS)[1], NFT (421225644594104197/CRUMBS)[1], NFT (421411794596144026/CRUMBS)[1], NFT (422025416325299681/CRUMBS)[1], NFT
                                   (422139619328303904/CRUMBS)[1], NFT (423448219566471280/CRUMBS)[1], NFT (424355471020787668/CRUMBS)[1], NFT (424513164352504970/CRUMBS)[1], NFT
                                   (425491915046063230/CRUMBS)[1], NFT (425703094835119838/CRUMBS)[1], NFT (425889586290381579/CRUMBS)[1], NFT (427246401833985891/CRUMBS)[1], NFT
                                   (427481889290204908/CRUMBS)[1], NFT (430730751698431675/CRUMBS)[1], NFT (431595615775558284/CRUMBS)[1], NFT (431989258316409367/CRUMBS)[1], NFT (432311217683141750/Bread
                                   Head | #66)[1], NFT (432347351638868831/CRUMBS)[1], NFT (433802492121821088/CRUMBS)[1], NFT (434343769059797959/CRUMBS)[1], NFT (436092136801540197/CRUMBS)[1], NFT
                                   (436098527221897616/CRUMBS)[1], NFT (436216732807850799/CRUMBS)[1], NFT (436352234423251819/CRUMBS)[1], NFT (437691709914370592/CRUMBS)[1], NFT
                                   (437747942118379338/CRUMBS)[1], NFT (438595048843102209/CRUMBS)[1], NFT (439260346028280861/CRUMBS)[1], NFT (439570187385779335/CRUMBS)[1], NFT (441103615409767847/Bread
07918157                           USDT[0]

07918162                           ETH[.00563595], ETHW[0.00563594]

07918163                           NFT (426559661276247164/Coachella x FTX Weekend 1 #29347)[1]                                                                                                                Yes

07918167                           ETH[.00000001], ETHW[0], USD[3.05]

07918174                           SOL[1.74211249], TRX[1], USD[0.00]                                                                                                                                          Yes

07918181                           LINK[204.5951], LTC[8.49821137], SHIB[0], SOL[27.98706646], USD[44.00]

07918182                           BTC[0], LINK[.0936], USD[0.00]

07918183                           NFT (437117004529924651/Hyper Drifter #4191)[1], NFT (462651253446280038/The Hill by FTX #3110)[1], USD[0.31]

07918189                           BTC[0], DOGE[0], ETH[0], GRT[0], SHIB[641.35079274], SOL[0], USD[0.01]

07918191                           USD[0.00]

07918198                           NFT (565250464124655732/DOGO-VN-500 #5026)[1]

07918200                           CUSDT[1], LTC[.00001936], USD[0.00]                                                                                                                                         Yes

07918201                           USD[2.62]

07918204                           CUSDT[2], DOGE[1], SHIB[147931.7909008], SOL[1.00987093], USD[1.12]                                                                                                         Yes

07918207                           SOL[.2]

07918217                           BTC[.00122964]                                                                                                                                                              Yes

07918221                           CUSDT[4], DOGE[1], LINK[28.06402447], TRX[4], USD[0.00], USDT[2.1718863]                                                                                                    Yes

07918241                           USD[2000.00]

07918252                           USD[0.00], USDT[0]

07918263                           NFT (381238070158607190/Imola Ticket Stub #531)[1]

07918265                           NFT (341459467701070650/Cyber Frogs Ramen)[1]

07918266                           CUSDT[1], SOL[.13251248], USD[0.00]

07918275                           USD[1.18]

07918299                           AAVE[.47952], BTC[.0022977], ETH[.03], ETHW[.03], SOL[1.25641], USD[0.00], USDT[501.17401879]

07918301                           BTC[0], LINK[0], USD[0.00], USDT[0]
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
                                                                                                  Amended Schedule 1754      Filed
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                                                                                                                                  Unsecured           Page 443 of 1384
                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07918302                              NFT (320608376063033713/Skyline FLP)[1], NFT (322995361196778281/Bahrain Ticket Stub #104)[1], NFT (323513362540506085/Beasts #112 (Redeemed))[1], NFT (377333472398058036/Colossal
                                      Cacti #620)[1], NFT (406623970498018162/FTX - Off The Grid Miami #5578)[1], NFT (533559355386398084/Reflector #124 (Redeemed))[1], USD[0.00]
07918313                              NFT (322979396014941177/Humpty Dumpty #1682)[1], NFT (534609893987974721/Romeo #635)[1]

07918315                              BTC[0.00072341], ETH[.00078745], ETHW[.00078745], SOL[.007371], USD[1.95], USDT[0.17833465]

07918326                              USD[4.01]

07918349                              NFT (332458183734867149/Jelly Beast #914)[1], NFT (487346800912289370/Jelly Beast #835)[1]

07918351                              USD[0.00]

07918353                              NFT (566478726005900766/Baby Blinkin Mushy #004 - Blue Top)[1], SOL[.1]

07918362                              BTC[.0000002], CUSDT[3], LINK[.00007152], SOL[.00001191], TRX[1], USD[0.00]                                                                                                           Yes

07918379                              SOL[.0096], USD[0.00]

07918384                              BTC[.0006039], TRX[.000077], USD[0.00], USDT[0.00000001]

07918388                              BRZ[1], CUSDT[5], DOGE[1], SHIB[33583409.72742558], SOL[.00004097], TRX[3], USD[0.01]

07918394                              BTC[0.00002468], MATIC[0], NFT (498379916033763005/Beyond Reach #14)[1], NFT (520266770099538199/Solana Islands #1230)[1], NFT (530511667072232653/Highland Mesa #878)[1],
                                      SOL[26.23289774], USD[0.13]
07918398                              ETH[.00000001], USD[0.01]

07918407                              NFT (380884806490887748/#209)[1], NFT (394626057065413976/FTX - Off The Grid Miami #5178)[1]

07918412                              USD[0.00]

07918416                              NFT (472401901529918378/FTX - Off The Grid Miami #6534)[1]

07918434                              USD[0.00]

07918443                              USD[513.95]                                                                                                                                                                           Yes

07918445                              BRZ[60.05955852], USD[0.00]                                                                                                                                                           Yes

07918461                              CUSDT[1], DOGE[4], GRT[2], SOL[29.41174073], USD[0.00]

07918474                              ETH[0], GRT[0], SOL[0], USD[0.00]                                                                                                                                                     Yes

07918487                              USD[5.00]

07918489                              BTC[0.00002651], USD[11196.02]

07918490                              USDT[0.00006677]

07918497                              DOGE[285.8615961]                                                                                                                                                                     Yes

07918507                              USD[0.00]

07918521                              BTC[0.00000476], ETH[.00002451], ETHW[.00002451], NFT (487881324010324753/Entrance Voucher #2376)[1]                                                                                  Yes

07918524                              CUSDT[1], DOGE[1], USD[0.00], USDT[.93102142]

07918539                              NFT (413675597601625568/Strawberry Clouds Forever)[1]

07918540                              USDT[0]

07918554                              CUSDT[3], DOGE[60.37612473], GRT[2.84983502], LTC[.01533963], SHIB[3325900.86085425], TRX[22.77676227], USD[0.00]                                                                     Yes

07918569                              NFT (439973112089214701/Fancy Frenchies #2296)[1]

07918595                              SOL[.12]

07918602                              USD[1.82]

07918605                              SOL[2]

07918628       Contingent, Disputed   USD[0.00]

07918638                              DOGE[0], MATIC[0], USD[0.00]                                                                                                                                                          Yes

07918643                              BRZ[1], DOGE[1], ETH[.01414058], ETHW[.01396274], MATIC[204.73460283], SOL[20.49946588], USD[0.62]                                                                                    Yes

07918644                              BTC[.01187231], TRX[1], USD[0.01]

07918645                              BAT[0], BRZ[1], CUSDT[4], DOGE[1], GRT[1], SHIB[0.00000002], TRX[6], USD[0.00]                                                                                                        Yes

07918653                              BAT[1.01193608], BRZ[1], GRT[2.02730868], SOL[.00000001], TRX[2], USD[0.00], USDT[1.06682485]                                                                                         Yes

07918681                              BTC[.00005908], MATIC[.3], USD[0.01]

07918685                              NFT (404368336996690768/Entrance Voucher #29462)[1]

07918692                              BRZ[2], SHIB[7], TRX[4], USD[0.00]                                                                                                                                                    Yes

07918697                              SOL[.3534254], USDT[0.00000079]

07918712                              BRZ[2], BTC[.09493356], CUSDT[2], DOGE[6], SHIB[10], TRX[5], USD[0.85]                                                                                                                Yes

07918717                              USD[16.30]                                                                                                                                                                            Yes

07918723                              KSHIB[7.9765], NFT (297367916879487328/Rapid Moon Rocket - RMRV134)[1], NFT (302058041539869050/Rapid Moon Rocket - RMRV296)[1], NFT (353464674498301921/JoeSniff Biden)[1], NFT
                                      (357397686747760944/BB Blue #3)[1], NFT (363249956672977966/Rapid Moon Rocket - RMRV291)[1], NFT (371406080250164286/Rapid Moon Rocket - RMRV87)[1], NFT
                                      (376210105701012781/Rapid Moon Rocket - RMRV305)[1], NFT (379491037326662133/Rapid Moon Rocket - RMRV37)[1], NFT (419137105677488919/Rapid Moon Rocket - RMRV11)[1], NFT
                                      (426559970097972010/Rapid Moon Rocket - RMRV271)[1], NFT (427903583462506492/Rapid Moon Rocket - RMRV178)[1], NFT (456878868126059744/Rapid Moon Rocket - RMR164)[1], NFT
                                      (477990909429318057/Rapid Moon Rocket - RMRV266)[1], NFT (488726177815427345/Rapid Moon Rocket - RMR234)[1], NFT (497885467043518100/Rapid Moon Rocket - RMRV227)[1], NFT
                                      (506138310800400394/Rapid Moon Rocket - RMRV150 )[1], NFT (510779026830347933/Rapid Moon Rocket - RMRV1)[1], NFT (574673712498731547/Rapid Moon Rocket - RMRV98)[1], SHIB[97340],
                                      USD[37.84]
07918734                              BRZ[2], BTC[.0015362], CUSDT[11], ETH[.00761129], ETHW[.00751553], GRT[10.71161264], SHIB[211543.20874652], SOL[.06504278], USD[0.00]                                                 Yes

07918742                              BAT[1], BRZ[2], BTC[.00918459], CUSDT[4], DOGE[2], ETH[.43124029], ETHW[.0238714], SHIB[82703420.99810678], TRX[2], USD[0.00]                                                         Yes

07918749                              BTC[.0016], USD[0.12]

07918754                              NFT (418112650633312916/Metabaes #2028)[1]

07918762                              AAVE[.01], NFT (330284613316838918/Entrance Voucher #5664)[1], NFT (418661769782821821/Humpty Dumpty #933)[1], NFT (467000995869083133/Microphone #10391)[1], NFT
                                      (518302603492379086/Romeo #3501)[1], USD[0.05], USDT[3.6029408]
07918766                              SOL[0.49659847], USD[0.00], YFI[0]
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07918767                              SOL[.49], USD[0.12]

07918772                              MATIC[49.9525], SOL[3.7281], USD[0.00]

07918774                              NFT (437382222977562108/Unity #100)[1]

07918785                              USD[0.00]

07918788                              BTC[.00084957], ETH[.01228069], ETHW[.01228069], USD[0.00]

07918817                              USD[1.55]

07918823                              TRX[705], USD[0.01]

07918833                              USD[500.00]

07918843                              ETH[.00000274], LTC[.00007742], USD[0.01]                                                                                                                                              Yes

07918866                              NFT (448533121890799982/The 2974 Collection #1964)[1], NFT (499197491546665297/Birthday Cake #1964)[1], SOL[.40344345], USD[0.00]

07918883                              NFT (420531755227217306/Reflection '19 #67 (Redeemed))[1], NFT (486760253677431347/Ferris From Afar #873 (Redeemed))[1], NFT (489752513073726339/Golden Hill #836 (Redeemed))[1],
                                      SOL[.00000001], USD[167.94]
07918889                              USD[0.00]

07918897                              ETH[.00040227], ETHW[0.00040226], SOL[0.00041452], USD[0.03], USDT[0]

07918900       Contingent, Disputed   BTC[.00008], ETH[.000445], ETHW[.000445], USD[855.84]

07918921       Contingent, Disputed   DOGE[7.02965633], ETH[0.00219913], ETHW[0.00219913], SOL[0]

07918933                              USD[0.00], USDT[0.70427661]

07918936                              ETHW[.10808204], USD[76390.02]

07918938                              USD[5.45]                                                                                                                                                                              Yes

07918939                              NFT (505829000012345188/4051)[1], USD[269.01]

07918940                              BF_POINT[200], SOL[.00000001]

07918952                              USD[8.18]                                                                                                                                                                              Yes

07918955                              NFT (291178656997826178/DOTB #6941)[1], NFT (292757518370478001/DarkPunk #4515)[1], NFT (292855215044432448/Gloom Punk #5331)[1], NFT (298926211012986825/LightPunk #1132)[1],
                                      NFT (299835081428231890/Wood Orc)[1], NFT (299968193460409204/Doge Capital #1240)[1], NFT (300907233697230979/7NFTs - 3)[1], NFT (301034882364933966/Virt Kribliblib)[1], NFT
                                      (302813441747789036/Astral Apes #2971)[1], NFT (303114926316063736/ApexDucks #330)[1], NFT (303405216083636681/Whales Nation #1251)[1], NFT (304420905449506580/Animal Gang #16)[1],
                                      NFT (304472921571678231/Nobu Sensei #390)[1], NFT (311268601470812619/ApexDucks Halloween #82)[1], NFT (311767046068463299/Gangster Gorillas #3045)[1], NFT
                                      (313465490663018098/Gloom Punk #4241)[1], NFT (314356601312343950/Solbucks Brew Club #5220)[1], NFT (316535044284518355/Gloom Punk #1053)[1], NFT (317948015937579970/Wing-armed
                                      Eliza)[1], NFT (318681960819176807/ApexDucks #3341)[1], NFT (319177246276792305/Bloodlust Vixen)[1], NFT (319454147824809187/ApexDucks Halloween #1845)[1], NFT
                                      (320503706363061335/DOTB #6593)[1], NFT (321940254457421136/DOGO-US-500 #7893)[1], NFT (323808713812558646/Space Bums #4663)[1], NFT (326576653201844397/DOTB #8874)[1], NFT
                                      (326625707872178576/6607)[1], NFT (326921758162689681/Elysian - #1806)[1], NFT (327640152423543133/Kiddo #3475)[1], NFT (327907219837292829/GalaxyKoalas # 320)[1], NFT
                                      (329522153486424270/Elysian - #3242)[1], NFT (330512868620469873/Gloom Punk #8811)[1], NFT (330573366071084053/Solana Squirrel #390)[1], NFT (330670774656575299/Refined Metal
                                      Crystal)[1], NFT (330760862583058119/Naked Meerkat #4658)[1], NFT (332220306545541546/Gloom Punk #5015)[1], NFT (338059246028416638/DarkPunk #8518)[1], NFT
                                      (338595498124177905/Scoogi #5412)[1], NFT (340809423146569583/Astral Apes #1861)[1], NFT (342474018733825824/Sprouted Beaching)[1], NFT (343810151789493641/Gloom Punk #2426)[1],
                                      NFT (344133064653823927/DarkPunk #2890)[1], NFT (344419588044096337/Ghoulie #6573)[1], NFT (345596044629588382/Gangster Gorillas #4255)[1], NFT (346019270257896050/Lunarian
                                      #7117)[1], NFT (349765547640966260/Nobu Sensei #421)[1], NFT (349870896419331880/ApexDucks #704)[1], NFT (351616248376883432/ApexDucks Halloween #535)[1], NFT
                                      (353089515879988805/Ghoulie #5891)[1], NFT (353775332716112782/Gloom Punk #7688)[1], NFT (354297352771998512/Boneworld #8655)[1], NFT (354789067986970600/ApexDucks #3261)[1], NFT
                                      (356085738666591230/Ghoulie #0002)[1], NFT (356512541655917561/Solana Squirrel #398)[1], NFT (358164314387839361/Astral Apes #661)[1], NFT (361586498401625912/Solbucks Brew Club
                                      #138)[1], NFT (361587166039544199/3D CATPUNK #8503)[1], NFT (361595438099547876/Astral Apes #123)[1], NFT (367050334978313284/Animal Gang #264)[1], NFT (367139123824435654/Animal
                                      Gang #312)[1], NFT (369088205940637530/Gangster Gorillas #8883)[1], NFT (371107580140383381/DOTB #5614)[1], NFT (372743773473548631/Havant)[1], NFT (373029088296607621/Solbucks
                                      Brew Club #261)[1], NFT (375084522551788707/StarAtlas Anniversary)[1], NFT (376576167024974364/LightPunk #384)[1], NFT (376813306260061939/3D CATPUNK #6679)[1], NFT
                                      (377461635110610395/Cyber Pharmacist 0361)[1], NFT (377929631861382749/Geraldine1029)[1], NFT (381655057055285552/Nobu Sensei #432)[1], NFT (382645697562577841/Gangster Gorillas
                                      #4541)[1], NFT (383060969242320488/Whales Nation #3474)[1], NFT (384180690613005373/SolanaDoge #1402)[1], NFT (385301082356444176/Gor)[1], NFT (386037307595084699/ApexDucks
                                      #2645)[1], NFT (389063931478425517/Kiddo #4985)[1], NFT (389540848650410005/StarAtlas Anniversary)[1], NFT (390764872568166476/Ghoulie #6185)[1], NFT (391658680857015435/7NFTs -
                                      6)[1], NFT (392356720582472388/GalaxyKoalas # 327)[1], NFT (392379470614625185/Nobu Sensei #899)[1], NFT (393134684857242236/Nobu Sensei #240)[1], NFT (396087954403065325/Kiddo
                                      #110)[1], NFT (396383019187939115/Ghoulie #5888)[1], NFT (396491640505608523/DOTB #4852)[1], NFT (397221185555105010/DOTB #8797)[1], NFT (397377609916989475/3D CATPUNK
                                      #7059)[1], NFT (400184231605596981/Gangster Gorillas #8361)[1], NFT (402008842370481231/Solbucks Brew Club #5222)[1], NFT (402541973087451979/ApexDucks Halloween #52)[1], NFT
                                      (402755773308627614/DOTB #2121)[1], NFT (403321475699971696/DOTB #1048)[1], NFT (403714243315389006/Astral Apes #592)[1], NFT (404483360995747300/Gangster Gorillas #1469)[1], NFT
                                      (406318206996880337/3D CATPUNK #1820)[1], NFT (407390526588869170/Siren)[1], NFT (413551244811462997/Astral Apes #368)[1], NFT (419832840616627289/3D CATPUNK #7131)[1], NFT
                                      (421301346072535024/Kiddo #4827)[1], NFT (423143139157274045/5830)[1], NFT (423775174483266433/The Hill by FTX #6970)[1], NFT (424304526377873331/ApexDucks #6877)[1], NFT
                                      (431191740505900246/7NFTs - 5)[1], NFT (432122687875700486/Solana Squirrel #371)[1], NFT (434173903656909186/Founding Frens Investor #191)[1], NFT (435247630367833561/Gloom Punk
                                      #6152)[1], NFT (435475668392621850/Elysian - #2331)[1], NFT (438167049205821901/Nobu Sensei #816)[1], NFT (439189128029006641/Solana Squirrel #43)[1], NFT
                                      (440354696874694199/Gangster Gorillas #4191)[1], NFT (444341093905640399/Solninjas #49)[1], NFT (445380601029928883/3D SOLDIER #152)[1], NFT (447870035188283365/Seabeard)[1], NFT
                                      (448971763372051736/StarAtlas Anniversary)[1], NFT (448980588484297470/LightPunk #7494)[1], NFT (449066891087383485/Astral Apes #1475)[1], NFT (449232439435367944/Kiddo #3167)[1], NFT
                                      (449900923605982672/Nobu Sensei #669)[1], NFT (453306512994978808/StarAtlas Anniversary)[1], NFT (453693441567441044/Gangster Gorillas #9773)[1], NFT (456481654263248880/Gangster
                                      Gorillas #2683)[1], NFT (457391615141586546/DOTB #2378)[1], NFT (459205551857227937/Belugie #4777)[1], NFT (460242625285554767/Cyber Pharmacist 1142)[1], NFT
                                      (460392078202961821/Geraldine103)[1], NFT (461034588982096792/Cool Bean #2609)[1], NFT (464627810790410308/Whales Nation #4466)[1], NFT (466046108512710175/DOTB #5520)[1], NFT
                                      (471014521795398013/Gangster Gorillas #190)[1], NFT (473216807249348764/DOTB #1959)[1], NFT (474522709558422078/DOTB #4236)[1], NFT (474599979262350127/Gangster Gorillas #1809)[1],
                                      NFT (475756802681261415/Geraldine1024)[1], NFT (478029630038224693/ApexDucks #2954)[1], NFT (480582734056222789/Cyber Technician 4794)[1], NFT (481597180898435501/ApexDucks
                                      #5517)[1], NFT (482637192971767288/Ghoulie #7002)[1], NFT (482690870586125843/Elysian - #5069)[1], NFT (483481531727045594/FTX Crypto Cup 2022 Key #2980)[1], NFT
                                      (486745550904259766/DOTB #3954)[1], NFT (487739716376474484/Cyber Pharmacist 8361)[1], NFT (488330007950548228/Solana Squirrel #878)[1], NFT (489033342866961831/DOTB #8645)[1],
                                      NFT (489549684078983127/DOGO-US-500 #7795)[1], NFT (489855129492604224/DOTB #1896)[1], NFT (490253640009979283/Gloom Punk #7651)[1], NFT (490796770194680660/GalaxyKoalas #
                                      849)[1], NFT (493055989866303713/Solbucks Brew Club #105)[1], NFT (494196453757521341/DOTB #2300)[1], NFT (494249795348041083/Cry for Kelp)[1], NFT (495536595189063052/Gangster
                                      Gorillas #7587)[1], NFT (500169763216156143/Rock My World)[1], NFT (503298971342678410/Astral Apes #3102)[1], NFT (506819866359264347/Gangster Gorillas #5214)[1], NFT
                                      (507532100894790611/Gangster Gorillas #4938)[1], NFT (507676076842397862/Naked Meerkat #6870)[1], NFT (510024984607558991/7NFTs - 7)[1], NFT (511643895192693477/Astral Apes
                                      #2786)[1], NFT (513920139285286001/Animal Gang #152)[1], NFT (514126078463816590/Kiddo #1)[1], NFT (518124689460234487/Gangster Gorillas #9739)[1], NFT (518386925051674218/Animal
                                      Gang #119)[1], NFT (518752060703234867/7NFTs - 4)[1], NFT (519585455759029248/DOTB #1353)[1], NFT (522254901497046416/Gangster Gorillas #8609)[1], NFT (524038362477525026/LightPunk
                                      #635)[1], NFT (524481624937288345/DOTB #4282)[1], NFT (524682993689094337/Solana Squirrel #378)[1], NFT (524747825193211309/Gangster Gorillas #1141)[1], NFT
                                      (525474090636225395/Elysian - #657)[1], NFT (526365293232185376/Gangster Gorillas #5841)[1], NFT (527417606333963793/Ghoulie #0511)[1], NFT (527745072305808951/DOTB #1974)[1], NFT
                                      (528376730093302582/Solana Squirrel #346)[1], NFT (528496003650343453/StarAtlas Anniversary)[1], NFT (528829735224769874/Solana Squirrel #388)[1], NFT (530347465642122801/Astral Apes
                                      #2931)[1], NFT (530474563681330320/StarAtlas Anniversary)[1], NFT (530722059796403983/Cyber Pharmacist 0945)[1], NFT (532391894526893237/Kiddo #1496)[1], NFT
                                      (533951276075528547/Solana Squirrel #393)[1], NFT (536150339502740557/Gangster Gorillas #6992)[1], NFT (537273615554155249/Animal Gang #175)[1], NFT (538330105812368492/Nobu Sensei
                                      #727)[1], NFT (538842254338038444/Panda Fraternity #1571)[1], NFT (543702878257087722/Gangster Gorillas #8531)[1], NFT (543725406284057300/DOTB #1995)[1], NFT
                                      (543983919058762768/Founding Frens Lawyer #606)[1], NFT (546985997185909740/Cyber Pharmacist 4044)[1], NFT (548288065860726570/DOTB #1348)[1], NFT (548537861228179260/StarAtlas
07918960                              BRZ[1], CUSDT[2], GRT[1.00312819], USD[0.00]                                                                                                                                            Yes

07918966                              DOGE[1], TRX[1], UNI[20.53949911], USD[0.00]                                                                                                                                           Yes

07918972                              SOL[.00607896]

07918977                              USD[1.27]
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07918993                              BTC[.00000003], CUSDT[4], DOGE[1], ETH[.00000001], SHIB[2], TRX[1], USD[0.00]                                                                                                          Yes

07919002                              USD[23.50]

07919005                              USDT[.8988832]

07919011                              BTC[.0000931], USD[377.77]

07919020                              MATIC[.555], SOL[.54], USD[0.05]

07919028                              USD[542.81]                                                                                                                                                                            Yes

07919035       Contingent, Disputed   USD[1.15]

07919039                              ETH[0.00000001], ETHW[0.00000001], USD[0.00]

07919047                              BTC[0], DOGE[0], ETH[0], ETHW[0], KSHIB[0], LTC[0], SHIB[0], SOL[0], USD[0.00], USDT[0.00016358]

07919048                              NFT (533128291590067407/Coachella x FTX Weekend 1 #30746)[1]

07919057                              BTC[.0112], MATIC[100], SHIB[100000], USD[0.09]

07919061                              CUSDT[1], SOL[1.77129294], USD[0.00]                                                                                                                                                   Yes

07919065                              USD[0.06]

07919067                              NFT (495937513428259207/Sol Hunter 1SBRLG)[1]

07919068                              BTC[0], NFT (366578981348326555/Saudi Arabia Ticket Stub #516)[1], NFT (387910197539903977/Japan Ticket Stub #63)[1], NFT (418172874831082811/Netherlands Ticket Stub #73)[1], NFT     Yes
                                      (442558618029041890/Singapore Ticket Stub #118)[1], NFT (467974618636601258/The Hill by FTX #2755)[1], NFT (488661227522925600/France Ticket Stub #170)[1], SOL[0], USD[0.00]
07919079                              CUSDT[1], USD[0.00]                                                                                                                                                                    Yes

07919086                              ETH[0], USD[0.00], USDT[3.68418357]                                                                                                                                                    Yes

07919090       Contingent, Disputed   SOL[.00000001]

07919098                              USD[10.76]

07919102                              BAT[4.03743868], BTC[0], DOGE[11.05407278], ETH[0.00005031], GRT[3.00105965], MATIC[0], SHIB[6], TRX[9], USD[0.00], USDT[2.04542812]                                                   Yes

07919120                              USD[1.86]

07919124                              AVAX[.00009846], BTC[.00005661], DOGE[1], NFT (315925805151053740/Entrance Voucher #3585)[1], USD[0.03], USDT[0.00790465]                                                              Yes

07919129                              USD[90.18]

07919134                              SHIB[1865963.3088453], USD[0.00]                                                                                                                                                       Yes

07919141                              CUSDT[4], TRX[1], USD[0.01]

07919157                              CUSDT[0], DOGE[0], SHIB[2], USD[0.00]

07919188                              BF_POINT[100]

07919197                              BTC[.004], DOGE[1172], LINK[16.6], SHIB[1800000], SOL[2.05], USD[2.10], USDT[209.39]

07919228                              ETH[.00006749], ETHW[.00006749], USD[0.00]                                                                                                                                             Yes

07919254                              BAT[0], BTC[0.00062969], ETH[.00194405], ETHW[.00194405], GRT[0], SHIB[400220.1560476], USD[0.00]

07919255                              ALGO[3.75307374], BTC[.00026024], TRX[1], USD[2.50], USDT[4.97402514]

07919258                              CUSDT[1], NFT (552870850444746993/FTX Planet #20)[1], TRX[175.84381469], USD[0.00]                                                                                                     Yes

07919268                              BTC[.01156853], TRX[1], USD[0.00]

07919275                              BRZ[1], BTC[0], DOGE[8609.18369542], SHIB[12.93609676], SOL[0], TRX[2], USD[649.63], USDT[0.00000001]                                                                                  Yes

07919296                              SHIB[46709965.94169304], TRX[1], USD[0.00]                                                                                                                                             Yes

07919310                              BRZ[2], CUSDT[1], DOGE[3], ETH[.03252222], ETHW[.03211818], SHIB[2], TRX[2], USD[0.00]                                                                                                 Yes

07919321                              CUSDT[1], SHIB[18.9574468], USD[0.00]                                                                                                                                                  Yes

07919327                              CUSDT[2], USD[20.27]

07919335                              BTC[0], DOGE[0], SHIB[74.56413517], USD[0.00]                                                                                                                                          Yes

07919366                              CUSDT[13.29199065], MATIC[3.34914841], USD[0.01]                                                                                                                                       Yes

07919367                              DOGE[132.7477786], USD[10.87]                                                                                                                                                          Yes

07919373                              DOGE[1], ETH[.23221165], ETHW[.23221165], TRX[1], USD[0.00]

07919378                              BRZ[2], CUSDT[1], DOGE[.00002792], SHIB[1456741.32633511], TRX[109.21809207], USD[0.00]                                                                                                Yes

07919383                              NFT (566726988099340302/Coachella x FTX Weekend 1 #1482)[1]

07919388                              SHIB[37286.43772178], USD[8.66]                                                                                                                                                        Yes

07919394                              CUSDT[2], DOGE[111.65719016], USD[0.00]                                                                                                                                                Yes

07919430                              USD[10.90]                                                                                                                                                                             Yes

07919436                              BTC[.00191235], CUSDT[1], ETH[.02470927], ETHW[.02440519], TRX[1], USD[0.00]                                                                                                           Yes

07919439                              BAT[3.04869209], BRZ[4], BTC[0], DOGE[2], GRT[2], LINK[1.03272485], SHIB[2], TRX[0], USD[0.02], USDT[1.02543197]                                                                       Yes

07919441                              LTC[0], SHIB[0], USD[0.00], USDT[0]

07919442                              ALGO[83.67021992], AVAX[.0131994], CUSDT[2], DOGE[2133.72486969], KSHIB[6179.82335212], SHIB[5994190.28766996], SOL[1.04071795], TRX[.33033989], USD[0.09]                             Yes

07919447                              SHIB[7073136.22860376], TRX[1], USD[0.01]

07919459                              BTC[.00875312], DOGE[4.81639158], LTC[2.61255274], SHIB[8951171.75926408], USD[0.00], USDT[0]                                                                                          Yes

07919466                              DOGE[511.69448115], SHIB[4], USD[0.00], USDT[0]                                                                                                                                        Yes

07919476                              BTC[.00316698], CUSDT[5], DOGE[81.69291438], KSHIB[659.66976931], NFT (314578224827163311/Solana Squirrel #328)[1], NFT (424699509625002583/Molly Water #30)[1], NFT                   Yes
                                      (427745298349908959/The End of An Era 012)[1], NFT (435155872040466568/Angry tomato)[1], NFT (437877528736322739/Pupz #5)[1], NFT (484078167453962932/The End of An Era 004)[1], NFT
                                      (563704909024669941/Molly Water #39)[1], SHIB[353316.73964885], SOL[.92461907], USD[0.00]
07919478                              USD[21.79]                                                                                                                                                                             Yes

07919479                              DOGE[1], SHIB[1], USD[534.90], USDT[0.00002999]                                                                                                                                        Yes
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                                                                                                                                            Customer Claims                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07919483                              BTC[0.01469024], CUSDT[8], DOGE[2], TRX[2], USD[0.00]                                                                                                                         Yes

07919489                              CUSDT[1], LINK[1.67333448], SUSHI[4.2790564], TRX[1], USD[59.49]                                                                                                              Yes

07919495                              BRZ[2], CUSDT[4], SHIB[23465596.57173481], TRX[2], USD[0.00], USDT[0]

07919497                              DOGE[147.79578998], SHIB[228807.71859965], USD[0.00]                                                                                                                          Yes

07919498                              NFT (339931502902095578/Oink 371)[1], NFT (543632641813264914/Oink 1120)[1]

07919503                              CUSDT[5], DOGE[1555.67301642], SOL[1.17773593], USD[0.00]                                                                                                                     Yes

07919508                              BRZ[1003.38409302], CUSDT[969.78514241], DAI[196.53926643], DOGE[408.25439867], KSHIB[11953.10921162], LINK[7.70492922], LTC[.51916811], MATIC[46.81033254],                  Yes
                                      SHIB[16970032.5365439], SOL[1.55966563], SUSHI[10.98011572], TRX[2234.89686487], USD[544.78], USDT[183.51426487]
07919515                              CUSDT[184], KSHIB[860], USD[0.88]

07919516                              BTC[.00316272], CUSDT[2759.44280147], DOGE[209.62483192], ETH[.01205654], ETHW[.01205654], SHIB[599090.38413611], USD[0.00]

07919520                              BAT[33.08521906], BTC[.00075151], CUSDT[61.81702885], DOGE[49.85858565], ETH[.01075781], ETHW[.01062101], GRT[27.88397407], LINK[.75399075], MATIC[20.75518097], NFT          Yes
                                      (551257529850469951/Marcus Allen's Playbook: USC vs. Washington - November 14, 1981 #74)[1], SOL[.29025481], SUSHI[1.0891384], TRX[110.90037584], UNI[.40373198], USD[0.00]
07919533                              CUSDT[1001.46675345], TRX[108.57837465], USD[0.00]                                                                                                                            Yes

07919535                              BRZ[1], CUSDT[3], DOGE[2943.11622404], GRT[445.33241479], SHIB[7319712.56327176], USD[0.03]                                                                                   Yes

07919536                              SOL[.0114414], USD[0.07], USDT[0]                                                                                                                                             Yes

07919537                              DOGE[234.76725748], SHIB[1], USD[0.00], USDT[0]                                                                                                                               Yes

07919540                              DOGE[226.35821436], SHIB[4729590.07667613], TRX[300.92264085], USD[1.02]

07919541                              BTC[.00273722], USD[0.00]                                                                                                                                                     Yes

07919566                              ETH[0.08895106], TRX[4], USD[0.00]

07919582                              USD[0.00]                                                                                                                                                                     Yes

07919586                              SOL[.29]

07919594                              CUSDT[747.69046847], USD[10.92]                                                                                                                                               Yes

07919609                              CUSDT[3], DOGE[1], SOL[.00000286], TRX[1], USD[0.01]                                                                                                                          Yes

07919616                              USD[10.00]

07919624       Contingent, Disputed   USD[0.01]

07919627                              CUSDT[1], MATIC[79.21966538], USD[3.21]

07919631                              ETH[.00336168], ETHW[.00332064], NFT (452826201383202753/FTX - Off The Grid Miami #2295)[1], USD[0.00]                                                                        Yes

07919633                              SHIB[606.41374679], USD[0.00]                                                                                                                                                 Yes

07919635                              USD[20.00]

07919638                              BCH[0], BRZ[1], BTC[0], CUSDT[7], DOGE[1], ETH[0], LTC[0], TRX[1]

07919639                              USD[0.00]                                                                                                                                                                     Yes

07919647                              BRZ[300.9605625], BTC[.00132088], CUSDT[4], DOGE[7056.26346334], SHIB[5], TRX[1], USD[0.00]                                                                                   Yes

07919648                              CUSDT[6], SHIB[4785597.98710175], TRX[3], USD[0.13]                                                                                                                           Yes

07919654                              CUSDT[2], TRX[3], USD[0.03]

07919656                              BTC[.00016017], USD[0.00]                                                                                                                                                     Yes

07919668                              SHIB[1174216.21050087], TRX[1], USD[5.74]                                                                                                                                     Yes

07919676                              DOGE[1], ETH[.13987783], ETHW[.13888262], USD[0.03]                                                                                                                           Yes

07919709                              DOGE[19.0242891], USD[5.00]

07919710                              USD[20.00]

07919719                              USD[1059.60]                                                                                                                                                                  Yes

07919735                              BTC[.01184134], CUSDT[4], ETH[.03912179], ETHW[.27524004], SHIB[1.58752435], TRX[2], USD[0.01]                                                                                Yes

07919746                              BF_POINT[413800], USD[82.25]

07919749                              BTC[.00123347], DOGE[2], ETH[.01678461], ETHW[.01657926], KSHIB[1621.97687839], LTC[.43986704], SHIB[2], USD[0.85], USDT[0]                                                   Yes

07919754                              CUSDT[3], SHIB[702136.68618557], USD[0.00]                                                                                                                                    Yes

07919756                              BTC[.00032442], CUSDT[3], DOGE[149.4466035], ETH[.00474159], ETHW[.00468687], LTC[.05492486], USD[16.23]                                                                      Yes

07919763                              USD[500.88]                                                                                                                                                                   Yes

07919768                              BRZ[1], CUSDT[3], SHIB[1], TRX[1], USD[0.01], USDT[0]                                                                                                                         Yes

07919773                              BRZ[1], BTC[0.00423723], CUSDT[6], DOGE[2], ETH[.05686925], ETHW[.05616241], SHIB[5136761.39659611], TRX[1], USD[0.00]                                                        Yes

07919781                              BTC[0], DOGE[0.00000001], KSHIB[0], LTC[0], SHIB[1805493.60201736], USD[0.00]                                                                                                 Yes

07919797                              BTC[.00089273], CUSDT[1], USD[0.07]                                                                                                                                           Yes

07919806                              DOGE[2998.65475876], ETHW[27.299], SHIB[9940053.86191244], SOL[0], USD[0.01]

07919807                              BAT[776.83722842], CUSDT[3], DOGE[458.77468328], NFT (403069340298070663/FTX - Off The Grid Miami #2269)[1], NFT (503841741713792948/Bahrain Ticket Stub #33)[1],             Yes
                                      SHIB[2918032.62518033], TRX[5397.08604863], USD[1.09]
07919816                              BTC[0], CUSDT[7], DOGE[0], KSHIB[4685.51909606], SHIB[1], TRX[1], USD[0.00]

07919823                              BCH[.02025664], BTC[.00107052], CUSDT[8], DOGE[636.40006061], ETH[.15115473], ETHW[.15035173], LTC[.06110028], SHIB[3124121.15226481], SOL[.63110332], TRX[2], USD[0.00]      Yes

07919834                              BF_POINT[100], CUSDT[2], SHIB[615453.98256399], USD[0.00], USDT[26.79361626]                                                                                                  Yes

07919853                              ETH[.08529349], ETHW[.20376181], SHIB[8], TRX[1], USD[0.00]                                                                                                                   Yes

07919867                              CUSDT[.00377395], SHIB[558.08989427], TRX[.00110631], USD[0.84]                                                                                                               Yes

07919876                              ETH[.00015747], USD[0.00]                                                                                                                                                     Yes

07919902                              LINK[.0968], USD[0.17], USDT[1.2]
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07919904                              DOGE[3], UNI[32.88209881], USD[0.00]                                                                                                                                                 Yes

07919914                              USD[500.00]

07919919                              BRZ[1], CUSDT[10], SHIB[0], TRX[3], USD[0.67], USDT[0]                                                                                                                               Yes

07919920                              SHIB[54995936.96144882], USD[231.66]

07919925                              CUSDT[5001.25080697], USD[0.00]                                                                                                                                                      Yes

07919929                              DOGE[4793.202], GRT[.48], SHIB[58772400], USD[4.15]

07919934                              BF_POINT[300], CUSDT[26], DOGE[4], ETHW[.1510578], GRT[72.70441072], SHIB[1045373.11165005], SOL[.00000001], TRX[711.52702779], UNI[8.86013354], USD[0.00]                           Yes

07919966                              CUSDT[2], SHIB[2016342.23785665], USD[0.00]                                                                                                                                          Yes

07919971                              BRZ[1], BTC[0], CUSDT[17], DOGE[5], ETH[0], ETHW[0.00002981], SHIB[5], TRX[3], USD[0.00]                                                                                             Yes

07919997                              BAT[13.9331749], BRZ[108.54668364], CUSDT[1], DOGE[42.03401771], TRX[81.21364889], USD[0.00]

07920007                              BAT[0], BRZ[0], BTC[0], CUSDT[0], DOGE[0.00400357], ETH[0], GRT[0], KSHIB[0], MATIC[0], MKR[0], SOL[0], TRX[0], USD[0.09], USDT[0.00000001]                                          Yes

07920008                              CUSDT[250.22684097], DOGE[93.82239367], ETH[.00139223], ETHW[.00137855], USD[0.92], USDT[0.00278601]                                                                                 Yes

07920009                              BAT[0], DAI[0], DOGE[0], ETH[0], GRT[0], MATIC[0], SHIB[0], USD[0.69]

07920010                              USD[1500.00]

07920013                              CUSDT[1], TRX[273.52407417], USD[27.24]                                                                                                                                              Yes

07920015                              CUSDT[3], TRX[1], USD[0.00]                                                                                                                                                          Yes

07920022                              BTC[0], KSHIB[29.68988032], NFT (435429033341413907/The Hill by FTX #5391)[1], SHIB[40370.21647312], USD[0.00]                                                                       Yes

07920025                              BTC[0.10154434], CUSDT[3], DOGE[1], ETH[1.33340455], ETHW[1.33284454], LTC[1.06219483], USD[4005.04]                                                                                 Yes

07920027                              DOGE[2], SHIB[43296798.67568225], TRX[1], USD[0.00]                                                                                                                                  Yes

07920032                              CUSDT[4], DOGE[2], TRX[1775.44688205], USD[0.00]                                                                                                                                     Yes

07920036                              USD[0.00]

07920043                              BTC[0.00063976], DOGE[0], GRT[0]                                                                                                                                                     Yes

07920056                              DAI[3.24292017], GRT[1.79740028], USD[4.37], USDT[.99519517]                                                                                                                         Yes

07920066                              BTC[.0007539], CUSDT[6], DOGE[67.11609948], ETH[.01572044], ETHW[.01552892], GRT[19.98477672], SHIB[740422.23850358], SOL[.3841455], SUSHI[3.73851313], TRX[200.20611018],           Yes
                                      USD[0.96]
07920075                              CUSDT[1], SHIB[812243.58437745], USD[0.00]                                                                                                                                           Yes

07920083                              BRZ[3], CUSDT[2], DOGE[7], ETHW[4.87212596], SHIB[3], TRX[5], USD[7820.52], USDT[0]                                                                                                  Yes

07920093                              ALGO[205.72146311], BAT[100.84410733], BF_POINT[200], BTC[.01825838], CUSDT[256.17927454], DOGE[5872.76578918], ETH[.1158786], ETHW[1.81282923], GRT[411.34384748],                  Yes
                                      LINK[6.37232876], LTC[2.19886034], MATIC[296.54647585], NFT (487524792705693908/Momentum #259)[1], SHIB[21334409.98729087], SOL[5.24627211], TRX[566.69276272], UNI[2.91055215],
                                      USD[20.05]
07920095                              BTC[.00007599], CUSDT[498.95792817], USD[10.92]                                                                                                                                      Yes

07920100                              USD[108.97]                                                                                                                                                                          Yes

07920109                              CUSDT[1], DOGE[68.80937963], USD[10.90]                                                                                                                                              Yes

07920118                              USD[0.01]                                                                                                                                                                            Yes

07920133                              CUSDT[3], GRT[.00117437], SHIB[348190.23156172], TRX[.00004733], USD[0.00]                                                                                                           Yes

07920139                              NFT (395297025333386739/Tattoo Art Series)[1], USD[9.00]

07920166                              BAT[30.95953042], BRZ[1], CUSDT[1], KSHIB[303.04248926], USD[0.01]                                                                                                                   Yes

07920170       Contingent, Disputed   USD[0.01]                                                                                                                                                                            Yes

07920179                              CUSDT[5], SHIB[1949092.23430553], USD[18.68]                                                                                                                                         Yes

07920180                              CUSDT[2], ETH[.00750874], ETHW[.00741298], LINK[.33922136], SHIB[185738.8326146], SOL[.1315002], SUSHI[.9032674], USD[1.64]                                                          Yes

07920184                              AVAX[11.88179797], BAT[1], BRZ[1], BTC[0.24534464], DOGE[1586.58343964], KSHIB[0], LINK[0], NFT (451138060823529064/Money and power )[1], NFT (559534122728043635/Slim )[1], SHIB[5], Yes
                                      SOL[12.90667088], SUSHI[.00000001], TRX[7126.33072622], USD[78.12], USDT[0]
07920189                              BTC[0.67260549], DOGE[3], ETH[0], NFT (314262058062837191/Warriors Hoop #276 (Redeemed))[1], NFT (386770440595456070/GSW Western Conference Finals Commemorative Banner #1550)[1],
                                      NFT (393410639020865848/GSW Western Conference Semifinals Commemorative Ticket #980)[1], NFT (425858663861188660/GSW Western Conference Finals Commemorative Banner #1549)[1],
                                      NFT (497210541654153514/GSW Championship Commemorative Ring)[1], SHIB[2247758.13962288], SOL[83.64276358], TRX[1], USD[0.35], USDT[0]
07920222                              BRZ[2], BTC[0.00108635], NFT (505416273232347158/Entrance Voucher #2967)[1], SHIB[1041184.49727078], TRX[4], USD[0.00], USDT[0.00000001]                                              Yes

07920234                              BAT[1.00561381], BTC[.00027632], CUSDT[5], DOGE[.39033181], GRT[11.01928667], LINK[1.07327212], NFT (320636584230345015/Megalodon Rogue Shark Tooth)[1], SOL[.45856269], TRX[2],     Yes
                                      UNI[.00183707], USD[0.00]
07920237                              LTC[0], USD[0.00]

07920238                              USD[0.01]                                                                                                                                                                            Yes

07920241                              BRZ[1], DOGE[1], LTC[2.0091388], USD[11.75]

07920247                              ETH[0.01084808], ETHW[0.01084809], USD[0.00]

07920251                              BRZ[12.06244558], DOGE[8.36541387], ETH[.00140242], ETHW[.00138874], SHIB[11741.22343548], USD[0.01]                                                                                 Yes

07920254                              DOGE[1], SHIB[1669669.76823367], USD[0.02]                                                                                                                                           Yes

07920263                              BTC[.00014621], USD[0.00]                                                                                                                                                            Yes

07920265                              BF_POINT[300], SOL[0.05595941], USD[0.22]

07920272                              USD[350.00]

07920284                              BTC[.00000822], DOGE[1], KSHIB[20585.07730108], SHIB[22145078.60067511], TRX[2], USD[0.00]                                                                                           Yes

07920300                              NFT (540889883367009090/Coachella x FTX Weekend 2 #27698)[1]                                                                                                                         Yes

07920312                              BTC[.00000001], USD[0.00]                                                                                                                                                            Yes

07920314                              DOGE[1], USD[0.00]

07920315                              SOL[.14917914], USD[0.00]

07920317                              BTC[.00178063], CUSDT[3], DOGE[70.1559212], ETH[.00930917], ETHW[.00919955], KSHIB[130.10721224], SHIB[141466.05260683], USD[0.90]                                                   Yes
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                                                                                                                                         Customer Claims                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07920323                           USD[54.48]                                                                                                                                                             Yes

07920326                           CUSDT[2], DOGE[113.9734659], ETH[.03552337], ETHW[.03508561], USD[0.02]                                                                                                Yes

07920340                           CUSDT[4], MATIC[30.45966525], SOL[.55604212], UNI[4.39571706], USD[0.00]                                                                                               Yes

07920343                           SOL[.00000001]                                                                                                                                                         Yes

07920375                           BRZ[1], CUSDT[1], SOL[1.33233701], TRX[877.37080095], USD[0.00]

07920380                           USD[0.18]                                                                                                                                                              Yes

07920381                           USD[1.21]                                                                                                                                                              Yes

07920399                           USD[101.06], USDT[407.577457]

07920402                           USD[108.92]                                                                                                                                                            Yes

07920403                           BTC[.00013062], USD[0.11]                                                                                                                                              Yes

07920404                           BRZ[4], CUSDT[26], ETH[.0000163], ETHW[.00000919], NFT (343299057740074077/Australia Ticket Stub #528)[1], SOL[.00000001], TRX[7], USD[0.00]

07920405                           BTC[.00024008], CUSDT[1], USD[0.00]                                                                                                                                    Yes

07920409                           ETH[.25627088], ETHW[.25607666]                                                                                                                                        Yes

07920414                           CUSDT[2], USD[0.01]                                                                                                                                                    Yes

07920415                           BTC[.00331068], CUSDT[4], DOGE[11.89402424], GRT[2.00019276], USD[5.04]

07920427                           SOL[24.52545], USD[17.90]

07920433                           USD[21.51]                                                                                                                                                             Yes

07920440                           BCH[0], BTC[0], CUSDT[1], ETH[0], LINK[0], LTC[0], SOL[0], SUSHI[0], USD[0.01], USDT[0]                                                                                Yes

07920445                           USD[0.01]                                                                                                                                                              Yes

07920450                           NFT (357682263878055762/Warrior's Squad #1)[1], SOL[.994]

07920457                           CUSDT[1], USD[0.00]                                                                                                                                                    Yes

07920470                           SOL[.16699023], USD[0.00]

07920493                           ETH[.012], ETHW[.012], USD[7.32]

07920507                           NFT (442710170907433905/Abstraction No.2787)[1], TRX[0], USD[0.71]

07920511                           USD[0.00]

07920513                           ALGO[.00072995], SHIB[18], USD[0.00]                                                                                                                                   Yes

07920523                           BTC[.00025835], USD[0.00]                                                                                                                                              Yes

07920530                           CUSDT[2], KSHIB[905.63058682], SOL[0.49048976], TRX[0]                                                                                                                 Yes

07920537                           MATIC[0], USD[0.00], USDT[0]                                                                                                                                           Yes

07920538                           CUSDT[1], SHIB[240988.13612175], USD[10.69]                                                                                                                            Yes

07920541                           BAT[1.01655549], BRZ[1], CUSDT[6], DOGE[3], TRX[.00322702], USD[0.00]                                                                                                  Yes

07920543                           ETHW[.046971], USD[208.56]

07920544                           GRT[.811], USD[0.01], USDT[20]

07920551                           DOGE[.7782], USD[73.31]

07920563                           BRZ[1], BTC[.00048734], CUSDT[4], DOGE[228.87757543], ETH[.00698819], ETHW[.00690611], LTC[.0293152], SOL[.48780031], USD[0.01]                                        Yes

07920569                           BRZ[1], SOL[1.07588361], USD[354.05]                                                                                                                                   Yes

07920601                           DOGE[21.36644034], SHIB[445561.86166568], TRX[1], USD[0.03]                                                                                                            Yes

07920620                           SOL[5.5]

07920644                           DOGE[3], GRT[1], LTC[4.42850596], SHIB[1], TRX[3], USD[0.01]                                                                                                           Yes

07920646                           BTC[.00079795], CUSDT[2], ETH[.01186215], ETHW[.01186215], SHIB[748278.95839568], TRX[1], USD[0.00]

07920659                           BTC[.00007156]                                                                                                                                                         Yes

07920663                           LINK[14.8], SOL[10.3821], USD[3.59]

07920668                           BTC[0], CUSDT[3], DOGE[1], SHIB[375009.31214436], USD[0.00]                                                                                                            Yes

07920675                           ETH[.00006947], ETHW[0.00006946], SOL[.0024445], USD[148.38], USDT[0.40377562]

07920692       Contingent,         AAVE[0], ALGO[0], AVAX[0], BTC[0], ETH[0], ETHW[0], LINK[0], MATIC[0], SOL[0], TRX[0], UNI[0], USD[5553.53], USDT[0]
               Unliquidated
07920709                           CUSDT[1], USD[0.00]                                                                                                                                                    Yes

07920712                           ALGO[.00188566], BAT[.00034728], BRZ[1], DOGE[3], ETHW[.11430191], MATIC[.00041591], NFT (412690408182740745/Imola Ticket Stub #1197)[1], SHIB[5], TRX[3], USD[0.00]   Yes

07920733                           ETH[.06305547], ETHW[.06305547], SOL[1.28004029], USD[0.01]

07920738                           USD[0.00], USDT[0.61733987]

07920743                           TRX[1], USD[0.02]

07920767                           SOL[.00000001], USD[0.00]

07920796                           CUSDT[7], DOGE[64.14653439], ETH[.01442272], ETHW[.01424488], LTC[.05792678], MATIC[31.45659181], SHIB[640530.88365304], SOL[.13532156], USD[0.07]                     Yes

07920820                           CUSDT[1], ETHW[.0310202], TRX[1], USD[0.01]

07920821                           ETH[.00079229], ETHW[.00079229], SHIB[2600000], USD[1.22]

07920823                           ETH[0], MATIC[0], SOL[0], USD[3.76]

07920839                           USD[81.73]                                                                                                                                                             Yes

07920843                           SOL[.999], USDT[0]

07920858                           CUSDT[2], DAI[.0009092], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07920868                              CUSDT[1], SOL[.00279104], USD[0.00]                                                                                                                                                        Yes

07920882                              AAVE[.37930184], ALGO[144.10325858], AVAX[6.50818868], BCH[1.08669847], BRZ[.00185158], BTC[.00743221], CUSDT[32], DOGE[433.268692], ETHW[21.78489159], GRT[3291.52178377],                Yes
                                      LINK[17.56842517], LTC[1.09788709], MATIC[69.74064608], MKR[.12213342], NEAR[9.5045502], NFT (403047381010994299/Photo Study #5)[1], NFT (432370986692655709/Photo Study #28)[1],
                                      NFT (455121715210062229/Photo Study #3)[1], NFT (484945869686037135/3-Legged Load Bearer)[1], NFT (537801932403578036/Photo Study #4)[1], NFT (573901819297040072/Photo Study #6)[1],
                                      SHIB[12761592.67384825], SOL[1.38452990], SUSHI[28.47020618], TRX[5681.38047417], UNI[8.24419294], USD[0.67], YFI[.00294828]
07920885                              USD[0.00], USDT[0]

07920887                              SOL[.23], USD[2.57]

07920890                              BTC[.08622858], CUSDT[1], DOGE[1], USD[6.20]                                                                                                                                               Yes

07920924       Contingent, Disputed   ETH[.02221203], ETHW[0.02193842]                                                                                                                                                           Yes

07920925                              BTC[.00084873], CUSDT[1006.3829635], GRT[22.85995983], MATIC[21.02552215], SUSHI[2.49864263], TRX[553.79986655], USD[0.00], USDT[21.68605249]                                              Yes

07920926                              BTC[.00000012], CUSDT[4], DOGE[1], ETH[0.00000151], ETHW[0.00000151], SOL[.00000866], TRX[2.57431913], USD[0.00]                                                                           Yes

07920931                              BTC[.00021047], USD[0.00]                                                                                                                                                                  Yes

07920937                              BTC[0.00198909], USD[0.00], USDT[0.00001535]

07920940                              AAVE[3.996], BTC[.14995], ETH[.4], ETHW[1.65], MATIC[770], SHIB[33566400], SOL[15.5], USD[293.34]

07920952                              BRZ[1], BTC[.13566434], CUSDT[10], DOGE[441.37464635], ETH[.45211005], ETHW[.45192007], TRX[3], USD[0.00], USDT[1.08220883]                                                                Yes

07920963                              SOL[.31813575], USD[0.00]

07920968                              USD[0.01]

07920970                              BTC[.0828], ETH[1.334664], ETHW[1.334664], SOL[93.906], USD[4530.97]

07920978                              USD[0.46]

07920979                              BRZ[1], BTC[.00019672], CUSDT[44.24331353], DOGE[1.00027284], ETH[0.04486674], ETHW[0.04430688], NFT (352377409357543942/Entrance Voucher #4442)[1], SHIB[2], TRX[2], USD[1063.38],        Yes
                                      USDT[0]
07920994                              USD[0.00]

07920995                              USD[0.14]

07921020                              BAT[2.97415624], CUSDT[2], KSHIB[100.00034437], TRX[.00043885], USD[7.81]                                                                                                                  Yes

07921022                              CUSDT[3], USD[0.00]                                                                                                                                                                        Yes

07921025                              USD[0.01]                                                                                                                                                                                  Yes

07921026                              CUSDT[2], KSHIB[540.78735394], SHIB[1348963.68250289], USD[0.01]                                                                                                                           Yes

07921035                              BAT[2], BRZ[3], BTC[.00000877], CUSDT[11], DOGE[6], ETH[.0006521], ETHW[.0006521], MATIC[17.52397516], NFT (346656727541152857/Fancy Frenchies #5476)[1], NFT
                                      (480923860693729244/GalaxyKoalas # 523)[1], SHIB[10], SOL[.00005238], SUSHI[.00002555], TRX[11], USD[1831.52], USDT[1]
07921047                              SHIB[16511263.26594142], USD[0.00]                                                                                                                                                         Yes

07921053                              ETH[.00424173], ETHW[.00418701], TRX[1], USD[0.00]                                                                                                                                         Yes

07921061                              BRZ[1], DOGE[1], SHIB[1], TRX[3], USD[0.00]

07921066                              NFT (516403437493511225/MSS #592)[1]

07921071                              NFT (488129470294615291/Exiled Alien #596)[1], USD[0.20]

07921072                              USD[0.02]

07921079                              CUSDT[1], DOGE[1], USD[0.01]

07921086                              DOGE[1], SHIB[692712.66278747], USD[0.00]

07921098                              CUSDT[1], USD[0.00]                                                                                                                                                                        Yes

07921100                              SOL[27.291991], USD[5.51]

07921118                              USD[7.64]                                                                                                                                                                                  Yes

07921119                              USD[0.00]

07921122                              BTC[0], SOL[0], USD[1835.28]

07921133                              USD[500.00]

07921141                              USD[0.01]                                                                                                                                                                                  Yes

07921144                              CUSDT[8], DOGE[2], USD[0.03], USDT[1.02563804]

07921145                              USD[10.90]                                                                                                                                                                                 Yes

07921146                              CUSDT[1], SHIB[1265182.18623481], USD[0.00]

07921149                              USD[0.09]

07921151                              AVAX[0], BAT[0], BRZ[0], BTC[0], CUSDT[0], DOGE[0.00062785], ETH[0.00000001], ETHW[0], KSHIB[0], LTC[0], MATIC[0], MKR[0], PAXG[0], SHIB[12], SOL[0], SUSHI[0], TRX[1.00432924], UNI[0],   Yes
                                      USD[0.00], USDT[0.00015459], YFI[0], ZAR[0.00]
07921157                              AAVE[3.34535066]                                                                                                                                                                           Yes

07921176                              BTC[0], ETH[0], USD[0.00], USDT[0.00006676]

07921181                              BRZ[150.87381459], CUSDT[549.63619495], GBP[3.88], KSHIB[166.64025671], USD[0.00]                                                                                                          Yes

07921189                              ETHW[3.139], NFT (410507248654710398/Terraform Seed)[1], USD[0.01], USDT[1.717829]

07921209                              BTC[.00136587], CUSDT[8], ETH[.01070036], ETHW[.01070036], USD[26.38]

07921210                              BTC[.00896491], DOGE[1], USD[0.89]                                                                                                                                                         Yes

07921213                              NFT (567547705953763577/Coachella x FTX Weekend 1 #25790)[1]

07921230                              USD[0.00], USDT[0.00000145]

07921236                              NFT (379650743316191639/2974 Floyd Norman - OKC 3-0283)[1], NFT (565238775192107008/Humpty Dumpty #665)[1]

07921241                              USD[0.25]

07921263                              BTC[.00094532], ETH[.01770757], ETHW[.01748869], SHIB[4], SOL[1.11289654], USD[0.00], USDT[15.44883739]                                                                                    Yes

07921282                              MKR[.00387401]
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                                                                                                                                         Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07921283                           USD[0.00]

07921295                           AUD[0.00], GRT[150.76250013], SUSHI[10.65786892], TRX[1075.36559526], USD[0.00]

07921306                           SOL[.00000001]

07921311                           NFT (573307451870710228/Microphone #1752)[1]

07921312                           USD[0.04]

07921325                           CUSDT[1], DOGE[1], KSHIB[182.16692121], SHIB[1485542.22713621], USD[0.00]                                                                                                        Yes

07921331                           BTC[0.12659476], DOGE[0], ETH[1.08673666], ETHW[1.08628034], GRT[321.39730400], LINK[54.21830136], MATIC[315.22361662], SHIB[11747629.87920964], SOL[30.62543007], USD[0.00],    Yes
                                   USDT[0.00000030]
07921332                           NFT (456987538437184960/Birthday Cake #2764)[1], NFT (572329959024295758/2974 Floyd Norman - OKC 5-0095)[1], SOL[.00000001], USD[0.00], USDT[0]

07921356                           ETH[0], USD[0.00], USDT[0.00046153]

07921369                           BTC[0], SOL[.00373477], USD[0.00]

07921376                           USD[113.78], USDT[0]                                                                                                                                                             Yes

07921384                           ETH[0], USD[3.79]

07921388                           SOL[.43804814]

07921395                           AVAX[.090405], SOL[0], USD[0.26], USDT[0.08580629]

07921405                           ETH[.00000001], NFT (296171122887017062/Careless Cat #524)[1], SOL[0], USD[0.01], USDT[0]                                                                                        Yes

07921407                           BTC[0.00000001], ETH[0], ETHW[0], KSHIB[0], SHIB[20.94879794], SOL[0], USD[0.00]                                                                                                 Yes

07921414                           ETH[.59943], ETHW[.59943]

07921427                           USD[0.00]

07921431                           BRZ[1], CUSDT[2], USD[0.00]

07921436                           ETH[.00000247], ETHW[0.00000247]

07921439                           BF_POINT[100], BTC[.00000014], MATIC[.00009769], SHIB[8], USD[239.19]                                                                                                            Yes

07921451                           USD[0.01]

07921460                           NFT (313871561647825054/Coachella x FTX Weekend 1 #109)[1], SOL[51.25121099], USD[0.00]

07921473                           USD[0.00]

07921486                           NFT (418104190673833081/Egg #13)[1], NFT (461535193922794746/Egg #3)[1], NFT (472007980322576432/Egg #14)[1], USD[6.47]                                                          Yes

07921520                           USD[3.90]

07921535                           CUSDT[2], SOL[1.32129093], USD[0.00]                                                                                                                                             Yes

07921539                           SOL[.03]

07921553                           NFT (335613476998460702/Entrance Voucher #2680)[1], SOL[.0049]

07921569                           USD[0.01]                                                                                                                                                                        Yes

07921579                           NFT (375626964976017083/Terraform Seed)[1]

07921589                           CUSDT[1], SOL[.08475463], USD[0.00]                                                                                                                                              Yes

07921592                           BTC[.0025464], CUSDT[1], USD[0.00]                                                                                                                                               Yes

07921616                           BTC[.00016845], USD[0.00]                                                                                                                                                        Yes

07921617                           SOL[.1128]

07921622                           AVAX[26.1738], NFT (318513278055142664/Reflection '11 #86)[1], NFT (501065213488008940/Ferris From Afar #721)[1], NFT (573894936508111586/Spectra #806)[1], USD[2.02]

07921633                           BTC[.00082975], CUSDT[1], PAXG[.00128759], USD[2.35]                                                                                                                             Yes

07921639                           BTC[.00212986], DOGE[1], SHIB[2], USD[9.49]

07921645                           USD[0.49]

07921650                           NFT (352877866309167431/Miami Ticket Stub #479)[1], SOL[1]

07921656                           SOL[.1106508]

07921659                           CAD[0.00], USD[0.00], USDT[0]

07921661                           BCH[0], BTC[0], DOGE[0], LTC[0], SHIB[14], USD[0.00], USDT[0]                                                                                                                    Yes

07921696                           USD[0.00]

07921713                           NFT (550962850646757152/Imola Ticket Stub #994)[1], USD[5.63]

07921749                           USD[21.79]                                                                                                                                                                       Yes

07921754                           USD[0.13]                                                                                                                                                                        Yes

07921762                           NFT (365021948781525920/Cyber Pharmacist 4223)[1], NFT (395088940263701415/Boneworld #1070)[1], NFT (484458298378622566/Cave World Torch)[1], NFT (563674772197885761/Crypto
                                   Caveman #4271)[1], SOL[3.840909]
07921767                           AAVE[0.00000001], AVAX[0], BCH[0.00000002], BTC[0.00000001], CUSDT[0.00000001], DAI[0.00000002], DOGE[0.00000002], ETH[0.00000002], ETHW[-2.30596571], GRT[0.00000001],
                                   LINK[0.00000002], LTC[0.00000001], MATIC[0.00000001], MKR[0.00000001], SOL[0.00000002], SUSHI[0.00000001], TRX[0.01117702], UNI[0.00000003], USD[81623.86], USDT[0.00000001],
                                   WBTC[0], YFI[0.00000002]
07921778                           BTC[.00000038], NFT (504112275090538968/Imola Ticket Stub #2054)[1], USD[1238.03]                                                                                                Yes

07921781                           NFT (307808306061971095/MagicEden Vaults)[1], NFT (345882236418975018/MagicEden Vaults)[1], NFT (373524711947366072/Good Boy #329)[1], NFT (377423899816548074/The Hill by FTX
                                   #2751)[1], NFT (381011930951865842/Entrance Voucher #36)[1], NFT (393199723839823835/Humpty Dumpty #863)[1], NFT (444989439218137645/MagicEden Vaults)[1], NFT
                                   (457399005718808030/Imola Ticket Stub #2362)[1], NFT (461925543817561226/Romeo #1310)[1], NFT (471805196106955676/APEFUEL by Almond Breeze #446)[1], NFT
                                   (472678166829937244/MagicEden Vaults)[1], NFT (487720588905627287/2974 Floyd Norman - CLE 2-0072)[1], NFT (521144365111455204/FTX - Off The Grid Miami #1276)[1], NFT
                                   (527251214530417447/FTX Crypto Cup 2022 Key #1685)[1], NFT (561001319838690073/MagicEden Vaults)[1], USD[0.00], USDT[0.00000093]
07921788                           BTC[.17425742], LINK[0], PAXG[1.39280636], USD[0.00]

07921794                           DOGE[1], ETH[0], NFT (349589361802098913/Fancy Frenchies #3659)[1], SHIB[1], USD[0.00], USDT[0]                                                                                  Yes

07921797                           USDT[.1497454]

07921800                           SOL[83.48712], USD[2.36]
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07921815                              NFT (394068152306652773/Test for Max)[1], SOL[.53828522]

07921821                              CUSDT[3], MATIC[63.33437703], NFT (337958728938238299/Nespace Album #46)[1], NFT (380817919701896915/Safe Cesar #2 of 5 )[1], NFT (418461103287124551/Space Bums #9855)[1],            Yes
                                      SOL[.82760823], TRX[2631.44623088], USD[19.15]
07921825                              DOGE[0], GRT[0], KSHIB[0], LINK[0], LTC[0], SHIB[0], SUSHI[0], USD[0.94]                                                                                                               Yes

07921828       Contingent, Disputed   USD[0.08], USDT[.00050286]

07921843                              SOL[.00000001]                                                                                                                                                                         Yes

07921845                              USD[0.86]                                                                                                                                                                              Yes

07921856                              NFT (401757645154053212/Australia Ticket Stub #1146)[1]

07921860                              NFT (347821070036742627/Entrance Voucher #2223)[1], NFT (418624037223304902/Warriors 75th Anniversary Icon Edition Diamond #1691)[1]

07921872                              USD[238.54]

07921878                              SHIB[299800], USD[3.10]

07921905                              ETH[0], ETHW[0], KSHIB[0], NFT (323662108845368295/Egg#0033)[1], SOL[0], USD[0.00]                                                                                                     Yes

07921911                              CUSDT[5], SHIB[10.83590909], USD[0.88]                                                                                                                                                 Yes

07921921                              ETH[0], USD[0.00]

07921925                              BTC[0.00133695], NFT (364623839622718661/Received QSLs #2)[1], NFT (467195508985252015/N2OO)[1], NFT (486559182604132612/Received QSLs)[1], SOL[1], USD[23.00]

07921933                              NFT (301832136296703542/Imola Ticket Stub #1353)[1], NFT (325201885882124947/OLYMPUS SNEAKER: KHRONOS)[1], NFT (361817471106391483/Genopets 2022 SOL Cool NFT)[1], SOL[.001]

07921936                              ETH[.12678949], ETHW[.12678949], SHIB[1], USD[0.00]

07921938                              ETH[0], USD[0.00], USDT[0.00000031]

07921959                              CUSDT[1], DOGE[1], USD[0.01]                                                                                                                                                           Yes

07921967                              BTC[.01820553], USD[0.00]

07921973                              BTC[.00836639], CUSDT[1], USD[0.00]

07921982                              NFT (300367893124322543/Nifty Nanas #2132)[1], NFT (324041722233690635/Jack-o-Lantern Nana)[1], NFT (333259553987719440/Chubby Corgi #3372)[1], NFT (339014404246884096/Jack-o-
                                      Lantern Nana)[1], NFT (361026541833925566/Gloom Punk #3054)[1], NFT (364344640046113078/Nifty Nanas #2042)[1], NFT (375091129975054100/Koalana X Neonexus)[1], NFT
                                      (418166987029498826/Chubby Corgi #5266)[1], NFT (419488954747117324/Pretty Grim)[1], NFT (430281669696347024/Nifty Nanas #2078)[1], NFT (434608791401928125/Dhevas Neon #1190)[1],
                                      NFT (461665926619186018/Chubby Corgi #1337)[1], NFT (480913733462940412/Nifty Nanas #1976)[1], NFT (481876610060598314/Nifty Nanas #1926)[1], NFT (521637284041279939/Trapped)[1],
                                      NFT (527182198806881208/Mech #1321)[1], NFT (529265711828946847/Metabaes #4029)[1], NFT (532941252942814752/SolCities Genesis #2046)[1], NFT (539819225084039504/// sklitches 001-1
                                      //)[1], NFT (543873851119429350/Chubby Corgi #3571)[1], NFT (561733176833647775/Chubby Corgi #3297)[1], NFT (570312589897788897/Chubby Corgi #5978)[1], NFT (575446032269584301/Ayyo
                                      and the Artisans)[1], SOL[.01192358]
07921992                              NFT (326489688485883901/Wonky Stonk #7448)[1], NFT (531801461670058719/Wonky Stonk #7796)[1], NFT (564832844651216390/Horns )[1]

07922001                              NFT (393541051806088613/Entrance Voucher #1458)[1], NFT (463506995671296666/Series 1: Wizards #373)[1], NFT (474213640285302122/Series 1: Capitals #417)[1], NFT                       Yes
                                      (488851962288380896/Humpty Dumpty #612)[1]
07922033                              SHIB[138277.33628318], USD[0.03], USDT[0]

07922038                              CUSDT[1], DOGE[1], LTC[0.02564767], USD[0.00]                                                                                                                                          Yes

07922047                              USD[0.01], USDT[0]

07922065                              USD[0.01], USDT[0]

07922085                              NFT (499303625939193131/DOGO-IN-500 #1558)[1]

07922095                              SOL[.19]

07922109                              CUSDT[4], SHIB[8862592.54929245], USD[53.42]                                                                                                                                           Yes

07922117                              DOGE[104.80342819], USD[0.00]

07922129                              CUSDT[1], DOGE[399.07024492], SHIB[7016172.56011406], USD[0.00]                                                                                                                        Yes

07922141                              SOL[31], USD[42.86]

07922151                              AAVE[.00977], ETH[.000988], ETHW[.000988], LTC[.00988], SOL[.00939], USD[0.00], USDT[1.263275]

07922152                              SUSHI[40.54812897], USD[0.00], USDT[0]

07922156                              USD[0.00]

07922171                              USD[250.00]

07922173                              NFT (400904106452385626/Saudi Arabia Ticket Stub #301)[1]

07922185                              USD[0.00]

07922197                              NFT (339333293770448745/FTX - Off The Grid Miami #5884)[1], USD[0.01]                                                                                                                  Yes

07922203                              USD[981.02]

07922219                              SOL[.0000046], USD[0.00]

07922236                              BTC[.00248916], ETH[.01301558], ETHW[.01301558], USD[0.00]

07922243                              BTC[.00121629], SHIB[1], USD[0.00]                                                                                                                                                     Yes

07922248                              USD[100.00]

07922249                              BTC[0], NFT (346609743109093698/Miami Ticket Stub #457)[1], SOL[0], USD[0.00]

07922250                              BRZ[1], BTC[.00278446], CUSDT[1], DOGE[605.1662741], USD[0.20]                                                                                                                         Yes

07922253                              BRZ[452.19105972], SHIB[4719856.39522116], USD[21.04]                                                                                                                                  Yes

07922270                              SOL[.2]

07922272                              BRZ[1], DOGE[10], GRT[3], NFT (484855345664430002/Entrance Voucher #2098)[1], SHIB[9], TRX[5], USD[440.03], USDT[1]

07922276                              BTC[0], USD[0.01]

07922280                              CUSDT[4], DOGE[424.67314946], SHIB[6135821.49116463], USD[0.00], USDT[0]                                                                                                               Yes

07922283                              BAT[1.0165555], BRZ[2], CUSDT[2], DOGE[1.00000446], GRT[1.00244123], TRX[3], USD[0.00]                                                                                                 Yes

07922294                              BRZ[1], USD[0.71]                                                                                                                                                                      Yes
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07922307                              CUSDT[2], DOGE[1], ETHW[.41807084], TRX[2], USD[0.00]                                                                                                                                 Yes

07922313                              NFT (342584910239562416/Entrance Voucher #2603)[1]

07922317                              BTC[0], SOL[.00025375], USD[177556.47]

07922332                              BRZ[1], USD[0.00]                                                                                                                                                                     Yes

07922354                              NFT (367156282613975880/Imola Ticket Stub #1290)[1]                                                                                                                                   Yes

07922355                              SOL[0], USD[0.00]

07922365                              ETH[.00000001], SOL[0]

07922381                              BTC[.0017968], CUSDT[2], DOGE[441.6368046], ETH[.02697852], ETHW[.02664416], LINK[3.3106966], USD[0.00]                                                                               Yes

07922382                              BTC[.00135107], CUSDT[3], DOGE[1161.72882937], ETH[.10663503], ETHW[.10663503], TRX[1481.40393638], USD[0.00]

07922385                              BTC[.01090021], CUSDT[2], DOGE[4], ETH[.0250313], ETHW[.0250313], SHIB[10], SOL[3.64478362], TRX[3], USD[0.00]

07922396                              BTC[.00000001], ETH[.00000001], SHIB[1.65000966], SOL[.06969064], USD[0.00]                                                                                                           Yes

07922399                              NFT (368964991512278668/FTX - Off The Grid Miami #3024)[1]

07922403                              USD[0.00]                                                                                                                                                                             Yes

07922406                              USD[100.00]

07922410                              BTC[.00119112], ETHW[24.49201660], USD[0.00]

07922412                              USD[0.00]

07922416                              USD[3.81]

07922454                              USD[25.00]

07922461                              NFT (321852607915718782/StarAtlas Anniversary)[1], NFT (338840193981387619/StarAtlas Anniversary)[1], NFT (341933740402004656/Sollama)[1], NFT (355792638384184249/StarAtlas
                                      Anniversary)[1], NFT (358008171234150985/Famous Fox Crystal)[1], NFT (381940289084866903/Fox #2920)[1], NFT (395157970317649265/StarAtlas Anniversary)[1], NFT
                                      (410303911855187713/Famous Fox Crystal)[1], NFT (434418879213106057/StarAtlas Anniversary)[1], NFT (481393308555456995/StarAtlas Anniversary)[1], NFT (493493267757242742/StarAtlas
                                      Anniversary)[1], NFT (533590717184582221/StarAtlas Anniversary)[1], NFT (534190496007808583/Zackery, the Victorious)[1], NFT (537352000003830914/Royal Key)[1], SOL[.1]

07922468                              CUSDT[1], KSHIB[714.13819373], USD[0.01]

07922471                              BTC[0], NFT (337703603962381630/UniBoar)[1], NFT (362277702662321405/FluoBoar)[1], NFT (362652724364401081/MonkBoar)[1], NFT (397011424467729994/PirateBoar)[1], NFT
                                      (402282281819271728/GipsyBoar)[1], NFT (461191205679749938/KittyBoar)[1], NFT (537622333431077449/ChillBoar)[1]
07922476       Contingent, Disputed   NFT (443046153049222993/FTX - Off The Grid Miami #2948)[1], USD[0.01], USDT[.00732502]

07922482                              BRZ[1], BTC[.00798723], ETH[.1218789], ETHW[.12070826], SOL[2.45640695], TRX[1], USD[0.06], USDT[1.08380122]                                                                          Yes

07922484                              BTC[0], USD[0.00]

07922492                              GBP[0.00], KSHIB[.00009204], USD[0.00]                                                                                                                                                Yes

07922497                              NFT (356900066589579442/Entrance Voucher #1894)[1]

07922501                              BAT[1.01486735], BRZ[1], BTC[.04599367], DOGE[1], ETH[.46006579], ETHW[.45987259], GRT[1], SOL[4.98597757], TRX[1], USD[0.01]                                                         Yes

07922502                              NFT (475819454075495122/Microphone #230)[1]

07922504                              USD[0.00], USDT[0.00000046]

07922507                              NFT (516996680158383629/The Hill by FTX #8747)[1]

07922512                              USDT[.51123775]

07922514                              BAT[2.05498441], BRZ[1], CUSDT[2], ETHW[2.37230179], LTC[.03187438], TRX[1], USD[4.25], USDT[1.07174658]                                                                              Yes

07922518                              KSHIB[3.21279413], SHIB[.00000841], USD[0.00]                                                                                                                                         Yes

07922534                              SOL[0], TRX[.00001], USDT[0.00000046]

07922544                              ETH[0], NFT (335188633006708937/FTX - Off The Grid Miami #5056)[1], NFT (497114806515907825/Humpty Dumpty #1113)[1], TRX[.486786], USD[0.50]

07922547                              MATIC[14.13708212], SHIB[335574.68258714], TRX[1], USD[0.00]                                                                                                                          Yes

07922549                              AAVE[.05043904], BTC[0.00161133], DOGE[72.09701802], ETH[0.01360076], ETHW[0.01360076], LINK[0.82913197], MATIC[9.42761564], SOL[0.32091305], SUSHI[1.54477825], UNI[0.68138327],
                                      USD[0.00]
07922550                              BTC[0.00000001], ETH[0]                                                                                                                                                               Yes

07922553                              ETH[.11742303], ETHW[.11742303], USD[0.01]

07922560                              USD[32.68]                                                                                                                                                                            Yes

07922562                              SOL[.1]

07922564                              USD[20.00]

07922579                              USD[2.00], USDT[.98531048]

07922586                              USD[0.85]

07922598                              BRZ[1], BTC[0], ETH[.00000082], ETHW[.00000082], SHIB[1], USD[0.01], USDT[0]                                                                                                          Yes

07922599                              BTC[0], ETH[0], ETHW[0], SHIB[0], USD[0.00], USDT[0]

07922600                              CUSDT[9], DOGE[7.09245673], ETH[0], ETHW[0], MATIC[0], SHIB[37.84852047], SOL[0], TRX[5], USD[0.00], USDT[0]                                                                          Yes

07922608                              CUSDT[.000066], DOGE[.0452911], ETH[.00000001], ETHW[.00000001], GRT[.00007397], SHIB[92357.39975731], SOL[.01791632], TRX[2], USD[115.15]

07922613                              USD[0.00]

07922648                              NFT (560439315195440865/Coachella x FTX Weekend 1 #15054)[1], USD[98.82]

07922653                              DOGE[2], ETH[.43376921], ETHW[.33811059], SHIB[1], SOL[.00002692], USD[0.00]                                                                                                          Yes

07922658                              LINK[25.56175], MATIC[279.748], SHIB[6194420], SOL[24.88], SUSHI[30.9721], UNI[29.973], USD[22.04], USDT[4.24811473]

07922662                              NFT (534215888617513373/Microphone #1641)[1]

07922667                              USD[0.00]

07922668                              BRZ[1], CUSDT[3], DOGE[2], LINK[8.24015556], MATIC[142.15652313], SOL[33.34688508], TRX[1], USD[0.00]                                                                                 Yes

07922688                              USD[0.00], USDT[.0093055]
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                                                                                                                                         Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07922690                           USD[32.69]                                                                                                                                                                       Yes

07922691                           SOL[0.00623039]

07922693                           SHIB[199800], SOL[.99], USD[0.00]

07922695                           BTC[.0051691], SOL[2.95621022], USD[0.00]

07922721                           NFT (384431195884194685/Toasty Turts #0823)[1], SOL[.01]

07922730                           USD[0.00]

07922738                           ETH[0], SUSHI[84.77], USD[0.89]

07922741                           USD[8.37]

07922745                           USD[4810.00]

07922748                           DOGE[1], ETH[15.50292002], ETHW[15.49777972], SHIB[1], USD[26.11], USDT[1.01627348]                                                                                              Yes

07922749                           CUSDT[1], SHIB[3089135.02792352], USD[0.01]                                                                                                                                      Yes

07922751                           CUSDT[1], LINK[3.68985504], SOL[.14391807], TRX[1], USD[0.00]                                                                                                                    Yes

07922754                           BRZ[1], CUSDT[3], DOGE[1], SHIB[1196930.17917437], USD[231.12]                                                                                                                   Yes

07922762                           USD[0.00]

07922778                           MATIC[1154.21969439]

07922782                           LINK[163.2], USD[0.33]

07922784                           NFT (290824934664239733/FractCat #33)[1], NFT (291254475796268519/FractCat #28)[1], NFT (294833089409755994/Trailer Park Sam)[1], NFT (298797686217153446/FractCat #5)[1], NFT
                                   (300266640471687919/Fractals #18)[1], NFT (307262455154295009/FractCat #7)[1], NFT (309912115585078731/FractCat #22)[1], NFT (312799311299343749/FractCat #13)[1], NFT
                                   (317227023703289588/FractCat #24)[1], NFT (323035037395735628/FractCat #8)[1], NFT (330363094821821200/FractCat #13)[1], NFT (331572857802525100/FractCat #32)[1], NFT
                                   (331598461406974519/FractCat #10)[1], NFT (334369029909840421/FractCat #6)[1], NFT (339666634242921399/FractCat #16)[1], NFT (343763181139027710/FractCat #29)[1], NFT
                                   (359348375695880540/FractCat #24)[1], NFT (362067074938111335/Fractals #21)[1], NFT (362762196771948122/FractCat #14)[1], NFT (378604130540248906/FractCat #19)[1], NFT
                                   (380849753615998599/FractCat #12)[1], NFT (393892799564203715/FractCat #12)[1], NFT (394863521990684481/FractCat #72)[1], NFT (403663511999745851/FractCat #10)[1], NFT
                                   (409391123053477581/FractCat #3)[1], NFT (421745929552521720/Fractals #25)[1], NFT (432447678673151078/FractCat #27)[1], NFT (437621917137910135/FractCat #25)[1], NFT
                                   (441977924319623508/FractCat #15)[1], NFT (448845401531141671/FractCat #17)[1], NFT (449317149820165507/FractCat #71)[1], NFT (454739356872603000/FractCat #2)[1], NFT
                                   (457627352426862907/Red Panda #5204)[1], NFT (459980294556615781/FractCat #31)[1], NFT (463877304182699988/FractCat #21)[1], NFT (469325817675566694/FractCat #21)[1], NFT
                                   (480851648566843693/FractCat #18)[1], NFT (481352108782811409/FractCat #11)[1], NFT (485624295384567374/Fractals #29)[1], NFT (495174161809179496/FractCat #9)[1], NFT
                                   (497340590336959488/FractCat #36)[1], NFT (506932242696290489/FractCat #26)[1], NFT (507471539439475974/FractCat #28)[1], NFT (509579593406614978/FractCat #23)[1], NFT
                                   (516410049266518990/FractCat #20)[1], NFT (519092362752857666/#3312)[1], NFT (523513257386830574/FractCat)[1], NFT (526449409259302942/FractCat #31)[1], NFT
                                   (532247203000284866/FractCat #39)[1], NFT (532987789845131152/FractCat #15)[1], NFT (533188494288114007/FractCat #8)[1], NFT (534931527461871990/Sleepy Sam)[1], NFT
                                   (535742090510284378/FractCat #34)[1], NFT (548143057419185624/FractCat #22)[1], NFT (552290007489882452/FractCat #11)[1], NFT (561001881300983358/FractCat #73)[1], NFT
                                   (565983376053914814/FractCat #30)[1], NFT (572574191052230678/FractCat #4)[1], NFT (572803293879967484/Fractals #17)[1]
07922788                           NFT (356116015500904506/Humpty Dumpty #138)[1]

07922793                           BTC[.0008766], DOGE[1], SHIB[72809.57510768], USD[0.00]                                                                                                                          Yes

07922797                           ETH[0], SOL[0], USD[0.00], USDT[0]

07922800                           USD[0.00]

07922801                           SOL[.09126048], USD[0.94]

07922803                           USD[15.77]

07922808                           ETH[.12105871], ETHW[.12105871], USD[0.00]

07922820                           NFT (326695467743196998/Genopets 2022 SOL Cool NFT)[1]

07922821                           BTC[.00094981], CUSDT[10.24383425], DOGE[1], SHIB[600582.60982168], TRX[.00428998], USD[0.88]                                                                                    Yes

07922825                           CUSDT[4], DOGE[5.22954473], GRT[1.20917435], KSHIB[34.0949753], LTC[.00522921], MATIC[.02703876], SOL[.00764154], USD[0.00]                                                      Yes

07922830                           BRZ[2], DOGE[4], SHIB[4], TRX[5], USD[0.05], USDT[1]

07922832                           SOL[1.06], USD[2.23], USDT[3.41163224]

07922837                           BRZ[4], BTC[.04256101], CUSDT[9], DOGE[9.1738304], ETH[.20389478], ETHW[.20368088], LINK[21.1948119], SHIB[2], SOL[.5483848], TRX[6], USD[2781.33], USDT[1.07311532]             Yes

07922847                           BAT[30.35516015], CUSDT[2176.77067759], DAI[30.98765142], GRT[24.21504353], TRX[528.77107293], USD[0.00]                                                                         Yes

07922848                           NFT (563089433877529091/You in, Miami? #192)[1]

07922850                           SHIB[68.49501807], TRX[2], USD[0.20]                                                                                                                                             Yes

07922855                           SOL[4.16799531], USD[0.00]

07922861                           ETHW[6.67705587]                                                                                                                                                                 Yes

07922864                           ETH[0.00059283], ETHW[0.00000100], SOL[0], USD[0.01], USDT[0.00000886]

07922865                           CUSDT[4], DOGE[1], USD[0.00]                                                                                                                                                     Yes

07922869                           BTC[.00180041], CUSDT[2.34674646], DOGE[1], MATIC[10.98814918], NFT (302649343513426337/Surreal World #34)[1], NFT (449864904952677857/FBI MAN)[1], NFT                          Yes
                                   (452917407297028398/Surreal World #4)[1], NFT (481029707013501354/Sondra)[1], NFT (496072476393099792/Headspace)[1], NFT (504424861049823833/The Pixel Dutchess)[1], NFT
                                   (549514786100406754/GIRAFFE)[1], SHIB[960174.49075445], SUSHI[.98657835], USD[59.89]
07922871                           BF_POINT[300], ETH[0], ETHW[0], USD[0.00]

07922874                           CUSDT[2], LINK[35.84461023], MATIC[565.9076125], SOL[8.78510672], TRX[2157.57914821], USD[0.01], USDT[1085.9323773]                                                              Yes

07922881                           USD[100.00]

07922893                           SHIB[100000], USD[0.27]

07922899                           BTC[0], USD[0.43]

07922902                           CUSDT[1], SOL[.00000001], USD[0.00]                                                                                                                                              Yes

07922904                           USD[0.16]

07922907                           USD[37.01]

07922915                           ETH[.089], ETHW[.089], SOL[.57942], USD[2.21]

07922918                           BRZ[1], CUSDT[24], DOGE[1], ETHW[.09210457], NFT (305258438304081782/Entrance Voucher #3565)[1], SHIB[3], TRX[7], USD[0.00]                                                      Yes

07922924                           CUSDT[1], SHIB[2011309.58570141], USD[0.00]                                                                                                                                      Yes
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                                                                                                                                         Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07922925                           BTC[0], ETH[.00000001], SOL[.00000001], USD[7.99]

07922926                           SOL[.00764391], USD[0.00]

07922928                           DOGE[1], ETH[.12556333], ETHW[.12442628], USD[0.01]                                                                                                                                       Yes

07922929                           ETHW[2.3597669], USD[0.00], USDT[0]

07922936                           BTC[.0101], USD[1.74]

07922953                           USD[0.00]

07922956                           BRZ[1], CUSDT[3], DOGE[1], MATIC[59.11446881], NFT (572976961866781060/Tim Brown's Playbook: San Diego Chargers vs. Los Angeles Raiders - September 4, 1988 #52)[1],                      Yes
                                   SHIB[13071442.93126035], TRX[7298.4957046], USD[81.61]
07922972                           ETH[.00048678], ETHW[.00048678], SOL[0], USD[0.00]

07922973                           CUSDT[2], GRT[1], USD[0.00]                                                                                                                                                               Yes

07922994                           ETHW[4.99525], SOL[24.97625], USD[0.01], USDT[0]

07923007                           BRZ[1], DOGE[1], SHIB[2], TRX[1], USD[0.00]                                                                                                                                               Yes

07923021                           USD[10.00]

07923025                           USD[2.70]

07923027                           BTC[.00109397]                                                                                                                                                                            Yes

07923032                           BTC[.0014996], USD[0.04]

07923035                           BCH[0.03807708], BTC[.00012], TRX[2], USD[0.71]                                                                                                                                           Yes

07923040                           USD[0.00]                                                                                                                                                                                 Yes

07923050                           ALGO[59.17045904], SHIB[1], USD[0.00]                                                                                                                                                     Yes

07923055                           SOL[.03125805], USD[1.52]

07923057                           BAT[152.27257847], BRZ[1], CUSDT[4], DOGE[330.10847638], SUSHI[9.21858989], TRX[2035.03868984], USD[0.00]                                                                                 Yes

07923059                           USD[0.08]

07923076                           BF_POINT[300], BTC[.00000008], DOGE[6], GRT[1], LINK[24.14580456], SHIB[3], TRX[2.04618534], USD[0.00], USDT[1.05153009]                                                                  Yes

07923103                           NFT (458964071670900245/Children's Imaginations )[1], USD[4.00]

07923110                           USD[0.00], USDT[0]

07923119                           USD[100.00]

07923125                           USD[0.01]

07923132                           USD[0.00]

07923136                           USD[0.01]

07923148                           BTC[.00248703], ETH[.0119886], ETHW[.0119886]

07923155                           DOGE[1], USD[0.00]                                                                                                                                                                        Yes

07923156                           BAT[.425], GRT[8098.5048], SOL[.00469], USD[851.68]

07923158                           BRZ[1], BTC[.17875765], DOGE[2], ETH[1.023463], ETHW[1.0231033], SHIB[2], SOL[78.18008947], TRX[5], USD[0.01], USDT[1.06135423]                                                           Yes

07923165                           SOL[.00907119], USD[0.01]

07923167                           ETH[.00000004], ETHW[.00000004], SHIB[5], USD[16.59]                                                                                                                                      Yes

07923170                           USD[0.00]

07923177                           USD[0.00]

07923186                           USD[4.33]                                                                                                                                                                                 Yes

07923195                           ALGO[215], BTC[.01], USD[301.34]

07923204                           USD[0.00]

07923205                           BRZ[1], CUSDT[2], DOGE[3], ETH[0], ETHW[0], NFT (359534141390426043/Entrance Voucher #25050)[1], SOL[0], TRX[1], USD[0.01]

07923212                           USD[50.00]

07923213                           USD[0.34], USDT[0.00000001]

07923230                           BTC[.005], USD[0.46]

07923231                           BTC[.00756687], USD[64.77]                                                                                                                                                                Yes

07923236                           CUSDT[3], USD[0.00]                                                                                                                                                                       Yes

07923250                           BF_POINT[300], BTC[0.00124833], CUSDT[1], DOGE[4], ETH[0], LTC[.14312926], NFT (289825033628022411/LA #2)[1], NFT (291401930156654159/Dino 5)[1], NFT (370286049009076351/Dragon           Yes
                                   the 4)[1], NFT (423268437000020475/SolBunnies #1171)[1], NFT (459790111375596735/Voxel Animals #27)[1], NFT (477200742146882351/Digital Z #4)[1], NFT (483717110279676790/Ape City #6)[1],
                                   NFT (569279075906380242/Lemon ıce cream)[1], SHIB[1], SOL[0.46878758], USD[3.11]
07923254                           SOL[.98], USD[2.13]

07923257                           BAT[1.01022648], BRZ[16.95517204], CUSDT[292.28699783], ETHW[.46523021], GRT[1.00126629], MATIC[1.00164518], SHIB[2765936.93874263], TRX[76.38428766], USD[2226.50],                      Yes
                                   USDT[4.21928857]
07923261                           BRZ[1], CUSDT[24], DOGE[1], USD[0.00]                                                                                                                                                     Yes

07923264                           NFT (422480127459788005/Imola Ticket Stub #554)[1], SHIB[1], USD[1.79], USDT[0]                                                                                                           Yes

07923267                           USD[197.51]

07923270                           BTC[.00778977], CUSDT[3], DAI[42.33033515], DOGE[2], ETH[.05847373], ETHW[.05774869], MATIC[178.97369747], TRX[106.81179422], USD[1.70]                                                   Yes

07923284                           USD[0.00]

07923289                           NFT (500468309976503054/Bahrain Ticket Stub #1990)[1]

07923291                           ETHW[.00019869], USD[239.33]                                                                                                                                                              Yes

07923305                           AAVE[.15], ETH[.01173188], ETHW[.01173188], MATIC[19.98], SHIB[500000], SOL[.44604072], USD[66.19]

07923306                           BTC[0.00681606], USD[2.46]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07923324                              BTC[.0131884], ETH[.087912], ETHW[.087912], LINK[5.6943], LTC[.999], USD[2.21]

07923329                              BTC[0.00458744], ETH[.00000001], USD[0.28]

07923330                              USDT[60]

07923334                              BAT[1.01100091], BRZ[9.51628702], BTC[.11948936], CUSDT[5], DOGE[8.01504635], ETH[1.53790985], ETHW[1.53726401], SHIB[2], SUSHI[1.05016398], TRX[13.06338678], USD[0.00],   Yes
                                      USDT[4.26878052], YFI[0.00000274]
07923336                              MATIC[.715405], TRX[.000001], USD[0.00], USDT[0]

07923343                              TRX[1], USD[0.00]                                                                                                                                                           Yes

07923347                              DOGE[1], SHIB[2], USD[0.01]                                                                                                                                                 Yes

07923348                              NFT (381378445334507980/Bahrain Ticket Stub #2070)[1], NFT (483347475416624236/FTX - Off The Grid Miami #2196)[1]

07923349                              NFT (423508920957136385/Entrance Voucher #3119)[1], NFT (515836195934464525/Imola Ticket Stub #422)[1], NFT (520292571633764973/FTX - Off The Grid Miami #5734)[1]

07923356                              BRZ[1], BTC[.00000012], CUSDT[4], DOGE[1], ETH[.0000012], ETHW[.12990349], SHIB[1], SOL[.0000103], TRX[2], USD[430.44]                                                      Yes

07923362                              USD[2.68]

07923373                              USD[0.01]

07923389                              USD[239.53]                                                                                                                                                                 Yes

07923394                              SOL[0], USD[0.09], WBTC[0]

07923398                              BTC[.00000018], ETH[.0000001], ETHW[.0000001]                                                                                                                               Yes

07923416                              BF_POINT[100], BTC[0], CUSDT[1], DOGE[1], LINK[.00016803], USD[0.00]                                                                                                        Yes

07923418                              USD[0.00]

07923419                              AVAX[0], BTC[0], DOGE[0], ETH[0], ETHW[0], GRT[0], LTC[0], MATIC[0], MKR[0], NEAR[0], SHIB[0], SOL[0], TRX[137.53099531], USD[0.00]

07923421                              USD[544.73]                                                                                                                                                                 Yes

07923424                              ETH[0], SOL[0], USD[0.00], USDT[4.00525120]

07923431       Contingent, Disputed   USD[1.45]

07923442       Contingent,            DOGE[1], SHIB[1], USD[500.30]                                                                                                                                               Yes
               Unliquidated
07923444                              ETHW[.084], USD[234.02]

07923445                              BTC[.02692541]                                                                                                                                                              Yes

07923446                              BTC[.00000004], SOL[.00000001], USD[0.01], USDT[0.04795848]

07923466                              USD[0.00]

07923484                              BTC[0], USD[1.16]

07923485                              SOL[.75], USD[4.79]

07923506       Contingent, Disputed   SOL[.01282058], USD[4534.03]

07923510                              USD[10.89]                                                                                                                                                                  Yes

07923518                              BF_POINT[200], DOGE[11.95945454], SOL[.00008291], TRX[1], USD[0.00]

07923519                              ETH[0], USD[0.00], USDT[0.00003929]

07923538                              BF_POINT[300], ETH[1.25004079], ETHW[1.24951585], SHIB[35856807.11191955], SOL[5.33579030], USD[0.00]                                                                       Yes

07923547                              ETH[.77877597], ETHW[.77877597], USD[0.00]

07923548                              USD[0.65]

07923567                              BF_POINT[300], BRZ[1], CUSDT[2], DOGE[2], SOL[0], TRX[3], USD[0.00]

07923574                              USDT[0.00000157]

07923578                              BTC[.02754665]                                                                                                                                                              Yes

07923579                              ETH[.00000001], ETHW[0.25643434], SOL[0], USD[4001.74]

07923584                              AVAX[.49227148], BTC[.00157207], ETH[.04864774], ETHW[.04804582], SHIB[4], SOL[1.60538513], TRX[2], USD[0.00]                                                               Yes

07923591                              CUSDT[2], TRX[1], USD[0.00]

07923617                              BRZ[5], BTC[0], CUSDT[8], DOGE[1063.42662002], GRT[2], SHIB[8963787.30333452], TRX[4], UNI[1], USD[0.00], USDT[2.25336633]

07923627                              NFT (456850901907388849/Entrance Voucher #46)[1], USD[0.25]                                                                                                                 Yes

07923633                              ETH[0.00598382], ETHW[0.00598382]

07923635                              NFT (355722434480471873/Solarian Enforcer #1)[1], NFT (576162855091973193/Solarian Laser Eyes)[1]

07923651                              DOGE[1], SHIB[1], USD[0.00]                                                                                                                                                 Yes

07923673                              USD[10.00]

07923689                              BAT[1.00956137], CUSDT[1], SHIB[1], TRX[3], USD[4114.33], USDT[0.01587053]                                                                                                  Yes

07923697                              DOGE[0], SOL[0], USD[0.11], USDT[0.00000001]

07923708                              BRZ[2], CUSDT[16], DOGE[8.31032936], MATIC[100.00709199], SHIB[1], TRX[9.00000486], USD[0.00], USDT[0]                                                                      Yes

07923710                              SHIB[97900], USD[1.18]

07923727                              BTC[0], USD[0.05]

07923729                              USD[0.46]

07923732                              BRZ[5], BTC[.00000003], CUSDT[4], DOGE[2], GRT[1], SHIB[7], SOL[.00000199], TRX[7], USD[0.48]                                                                               Yes

07923733                              BRZ[1], SHIB[6], USD[90.91]                                                                                                                                                 Yes

07923734                              SOL[1]

07923735                              NFT (360405787622847363/PreciousPuppiesNFT)[1]

07923743                              BRZ[1], CUSDT[3], ETH[0], GRT[1], TRX[1], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07923747                              SOL[.03]

07923752                              BAT[1], BTC[.00000027], SHIB[1], USD[501.41]                                                                                                                            Yes

07923754                              USD[50.01]

07923761                              USD[0.00]

07923768                              AAVE[96.39723204], AVAX[54.62735607], ETH[4.16108568], ETHW[4.09456107], GRT[108828.87443071], LINK[762.03675614], MATIC[6806.00483531], MKR[0.50189326], SUSHI[0],
                                      UNI[434.76861111], USD[326.92]
07923770       Contingent, Disputed   BTC[0], CUSDT[2], DOGE[0], ETH[0], LTC[0], MATIC[0], SHIB[0], SOL[0], TRX[0], USD[0.00], USDT[0]                                                                        Yes

07923774                              BTC[0.00003196]

07923795                              DOGE[1], TRX[2], USD[0.00], USDT[0]

07923796                              USD[0.00]

07923801                              USD[0.07]

07923808                              BRZ[1], CUSDT[3], DOGE[3], ETH[.6424948], ETHW[.6424948], KSHIB[1416.51386023], SHIB[2], SOL[25.72485164], USD[0.57]

07923820                              ETH[0], SOL[0], USD[0.00], USDT[0.00020629]

07923821                              AVAX[0], BAT[1], BRZ[2], BTC[.07901865], CUSDT[41], DOGE[5], ETH[.12682786], ETHW[.0115288], GRT[1.00019173], SHIB[15], SOL[1.00067605], TRX[4], USD[322.45], USDT[0]   Yes

07923827                              SOL[0], USD[1.22]

07923830                              BAT[1.00678995], CUSDT[5], DOGE[4], ETHW[0.30545279], GRT[1], MATIC[.00000001], TRX[1], USD[0.01], USDT[.00001464]                                                      Yes

07923841                              BTC[.0082], USD[0.32]

07923843                              BTC[0], DAI[.00004172], ETH[0], LINK[.1], MATIC[0], SHIB[100000], SOL[0], USD[0.00], USDT[0.87294183]

07923845                              AVAX[2.55633057], BRZ[2], DOGE[4], ETH[.00001263], ETHW[1.23107484], SHIB[11], TRX[5], USD[172.74]                                                                      Yes

07923854                              DOGE[5.05286457], USD[0.00]

07923860                              BRZ[2], DOGE[1], USD[0.00]

07923864                              BTC[0.00000372], SOL[.00907957], TRX[.000002], USD[7000.00]                                                                                                             Yes

07923865                              BCH[.01424605], CUSDT[2], ETH[.01118766], ETHW[.01105076], LINK[1.07697998], MATIC[17.78415943], TRX[1], USD[0.01]                                                      Yes

07923875                              SOL[.2694775], USD[0.06]

07923884                              USD[0.00]

07923890                              ETHW[.0260006], USD[81.76]                                                                                                                                              Yes

07923896                              USD[0.00]                                                                                                                                                               Yes

07923901                              NFT (383414050261514232/Mega Voxels #2)[1], NFT (544787448803552886/Vox Robo #24)[1], NFT (547742088016164230/Pop Art #4)[1], USD[0.00], USDT[.00066893]                Yes

07923905                              SOL[.000003]

07923919                              BCH[2.8880826], BTC[.00195526], DOGE[0], LTC[16.658964], USD[11545.16], USDT[0]

07923920                              AVAX[.06683324], USD[0.00]

07923924                              BTC[0], ETH[0], MATIC[0], USD[0.02]                                                                                                                                     Yes

07923935                              USD[0.00]

07923944                              NFT (555054387865232417/Solninjas #9511)[1], NFT (568578385859338919/Solninjas #9346)[1], NFT (576231730526116105/Solninjas #5172)[1]

07923957                              DOGE[1], SHIB[6318026.88361369], TRX[1], USD[0.07]                                                                                                                      Yes

07923960                              USD[8757.36]

07923962                              NFT (337893111411803175/Northern Lights #214)[1], USD[0.00]

07923966                              USD[0.19]

07923976                              USD[108.89]                                                                                                                                                             Yes

07923983                              USD[0.00]

07923984                              CUSDT[6], ETH[.02098134], ETHW[.02072142], SHIB[1784389.86935589], USD[0.01]                                                                                            Yes

07923993                              LINK[85.15520903], MATIC[1159.27814288]                                                                                                                                 Yes

07924010                              BF_POINT[300], USD[210.83], USDT[211.46672287]                                                                                                                          Yes

07924026                              BTC[0.00000008], ETH[.00000122], SHIB[2], TRX[0], USD[0.00], USDT[0]                                                                                                    Yes
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                                                                                                                                         Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07924029                           ETH[0], NFT (289843861057364373/E01 Squadron #43)[1], NFT (290046498083825844/E01 Squadron #35)[1], NFT (293432558437556175/dAIv RNB008)[1], NFT (294484706060620468/dAIv
                                   RNB005)[1], NFT (294937106591556395/dAIv LS015)[1], NFT (295842609562734094/dAIv LS013)[1], NFT (296103654397999821/E01 Squadron #26)[1], NFT (298322342362679532/dAIv RNB010)[1],
                                   NFT (300139136773927364/E01 Squadron)[1], NFT (300236354552559757/Batch 01a, 2237_d254 #23)[1], NFT (300755029664954621/dAIv RNB014)[1], NFT (301200563120559703/dAIv BC002)[1],
                                   NFT (302210887692830683/Nightshift, Monday #12)[1], NFT (303467194534425614/Batch 01a, 2237_d254 #11)[1], NFT (304715175066104966/Spring 2302 #8)[1], NFT (305063388750823347/dAIv
                                   BC023 #2)[1], NFT (309834915096666550/dAIv LS023)[1], NFT (309909907237737245/E01 Squadron #25)[1], NFT (310609287885295726/Batch 01a, 2237_d254 #26)[1], NFT
                                   (311773484159839455/E01 Squadron #17)[1], NFT (315371646325355948/dAIv DOM010)[1], NFT (317571882240471101/E01 Squadron #31)[1], NFT (318193829583810320/dAIv RNB009)[1], NFT
                                   (318373857528841993/dAIv LS016)[1], NFT (318576464681726829/E01 Squadron #11)[1], NFT (320927583315735525/Batch 01a, 2237_d254 #25)[1], NFT (321279703233560109/dAIv LS010)[1], NFT
                                   (321867383986240982/dAIv DOM002)[1], NFT (322959767871466659/dAIv RNB019)[1], NFT (325159260160596905/E01 Squadron #42)[1], NFT (325601895593519046/dAIv LS022)[1], NFT
                                   (326300706415214282/dAIv BC003)[1], NFT (329572771538956546/dAIv BC006)[1], NFT (329573478160813597/dAIv BC020)[1], NFT (329641991197286236/dAIv BC 001)[1], NFT
                                   (329991430696707923/Batch 01a, 2237_d254 #16)[1], NFT (330418336269545728/dAIv RNB017)[1], NFT (332899639587478954/E01 Squadron #14)[1], NFT (332907682348391464/E01 Squadron
                                   #22)[1], NFT (334121796584530112/Nightshift, Monday #5)[1], NFT (335513516246435306/Nightshift, Monday #15)[1], NFT (336111910258318783/E01 Squadron #33)[1], NFT
                                   (340352670094527363/E01 Squadron #6)[1], NFT (340545007982711041/dAIv DOM008)[1], NFT (340997144684571788/dAIv RNB002)[1], NFT (344358688453491871/Batch 01a, 2237_d254 #27)[1],
                                   NFT (345376251576041193/Spring 2302 #12)[1], NFT (347722133963921879/Batch 01a, 2237_d254 #12)[1], NFT (348963900896210051/Spring 2302 #7)[1], NFT (349233856021474017/Batch 01a,
                                   2237_d254 #22)[1], NFT (349531817999269483/Nightshift, Monday #11)[1], NFT (356117139744171854/dAIv DOM006)[1], NFT (357058172314642405/E01 Squadron #36)[1], NFT
                                   (357215791549928899/dAIv RNB004)[1], NFT (357624487931141393/dAIv RNB013)[1], NFT (359933894713035633/Batch 01a, 2237_d254 #4)[1], NFT (361120136647234242/Batch 01a, 2237_d254
                                   #10)[1], NFT (369019364895585942/dAIv LS019)[1], NFT (371475587507210141/Nightshift, Monday #13)[1], NFT (375450496291327704/dAIv BC009)[1], NFT (375504435030376708/dAIv BC007)[1],
                                   NFT (377549736353136719/dAIv RNB016)[1], NFT (377848600301391514/dAIv LS006)[1], NFT (379405054372608144/E01 Squadron #5)[1], NFT (379440008413991061/dAIv DOM004)[1], NFT
                                   (380272042952295424/dAIv RNB003)[1], NFT (380550720183463156/Batch 01a, 2237_d254 #19)[1], NFT (380599346480014417/E01 Squadron #18)[1], NFT (382352277928637076/E01 Squadron
                                   #27)[1], NFT (384424482104786671/dAIv DOM001)[1], NFT (385893375786410693/E01 Squadron #30)[1], NFT (386685767525716431/Nightshift, Monday)[1], NFT (387025856360576443/E01
                                   Squadron #21)[1], NFT (387296815893914658/W.S. Vinyl Batch #1 #15)[1], NFT (387704182578694863/W.S. Vinyl Batch #1 #10)[1], NFT (388642317209837587/Batch 01a, 2237_d254 #32)[1], NFT
                                   (389803502640368705/W.S. Vinyl Batch #1 #11)[1], NFT (392492110700891581/W.S. Vinyl Batch #1 #12)[1], NFT (392751187806195965/Batch 01a, 2237_d254 #7)[1], NFT
                                   (394056532991867435/dAIv BC004)[1], NFT (395715363980647625/W.S. Vinyl Batch #1 #16)[1], NFT (396260762687644296/Batch 01a, 2237_d254 #17)[1], NFT (398650996250976037/W.S. Vinyl
                                   Batch #1 #2)[1], NFT (400167287641450389/W.S. Vinyl Batch #1 #4)[1], NFT (401290889418760587/E01 Squadron #9)[1], NFT (401320067081056990/dAIv LS018)[1], NFT
                                   (404324156957705622/Nightshift, Monday #9)[1], NFT (404387737509202354/Nightshift, Monday #7)[1], NFT (404919813644910315/dAIv RNB012)[1], NFT (406913269012742528/dAIv DOM012)[1],
                                   NFT (407060455566632378/E01 Squadron #19)[1], NFT (408710226171547722/dAIv LS004)[1], NFT (409216282203241845/dAIv LS017)[1], NFT (410166647284629525/Batch 01a, 2237_d254 #8)[1],
                                   NFT (412506156511569929/E01 Squadron #41)[1], NFT (414113933347004087/dAIv RNB011)[1], NFT (416328583647828579/Batch 01a, 2237_d254 #5)[1], NFT (418403773337229528/dAIv
                                   LS001)[1], NFT (420308853353498291/dAIv DOM013)[1], NFT (420694248249411281/dAIv BC013)[1], NFT (421340372556129543/E01 Squadron #13)[1], NFT (422273817378023344/dAIv BC014)[1],
                                   NFT (422932782673871009/W.S. Vinyl Batch #1)[1], NFT (423541981556220014/E01 Squadron #4)[1], NFT (424508129472047971/Batch 01a, 2237_d254 #31)[1], NFT (424980305121732795/E01
                                   Squadron #3)[1], NFT (425091033217295458/dAIv RNB015)[1], NFT (426538862533522163/Nightshift, Monday #16)[1], NFT (427455214408087026/dAIv BC012)[1], NFT (427767647723579249/Batch
                                   01a, 2237_d254 #28)[1], NFT (431904122313799076/Batch 01a, 2237_d254 #15)[1], NFT (435990269670589887/dAIv DOM015)[1], NFT (438716966685177772/Spring 2302 #2)[1], NFT
                                   (440481013831093490/dAIv LS009)[1], NFT (441412469112882435/Batch 01a, 2237_d254 #21)[1], NFT (441416768523104405/Bahrain Ticket Stub #1858)[1], NFT (443555368527966536/W.S. Vinyl
                                   Batch #1 #13)[1], NFT (445690466560028154/dAIv BC008)[1], NFT (448388776664322642/E01 Squadron #28)[1], NFT (451905532500284252/dAIv DOM009)[1], NFT (452610133293405295/dAIv
                                   LS011)[1], NFT (454511240219409365/Batch 01a, 2237_d254 #29)[1], NFT (454935595378166960/dAIv LS005)[1], NFT (462052458594906565/Spring 2302 #5)[1], NFT (462474168136585903/dAIv
                                   BC011)[1], NFT (465097535059448012/E01 Squadron #8)[1], NFT (465530769193368791/dAIv BC019)[1], NFT (466491935393120505/Spring 2302 #9)[1], NFT (466586102608413764/Nightshift,
                                   Monday #19)[1], NFT (468530326615073136/Nightshift, Monday #20)[1], NFT (469234294645934714/Batch 01a, 2237_d254 #9)[1], NFT (473853865565169967/Nightshift, Monday #14)[1], NFT
                                   (474114697410156656/E01 Squadron #12)[1], NFT (475804027970494785/W.S. Vinyl Batch #1 #3)[1], NFT (478423955312602196/E01 Squadron #39)[1], NFT (479656160117253129/Nightshift,
                                   Monday #6)[1], NFT (483350891830511827/E01 Squadron #24)[1], NFT (483792759561246868/W.S. Vinyl Batch #1 #7)[1], NFT (483823106463715809/dAIv BC001)[1], NFT
                                   (483838303658163927/Spring 2302)[1], NFT (485588200677553839/E01 Squadron #32)[1], NFT (486717041919281183/Nightshift, Monday #21)[1], NFT (486809450917799758/E01 Squadron #40)[1],
                                   NFT (486987362697789350/Nightshift, Monday #17)[1], NFT (487872653198484384/Nightshift, Monday #8)[1], NFT (488247803248480011/Spring 2302 #3)[1], NFT (496289412731142211/W.S. Vinyl
                                   Batch #1 #6)[1], NFT (496615685437837217/dAIv LS014)[1], NFT (496795906738796363/Nightshift, Monday #2)[1], NFT (498572400831957916/W.S. Vinyl Batch #1 #5)[1], NFT
                                   (499744076467474389/dAIv RNB023)[1], NFT (500141634109014654/W.S. Vinyl Batch #1 #8)[1], NFT (500635706528619146/Batch 01a, 2237_d254 #33)[1], NFT (502721072783473824/dAIv
                                   BC005)[1], NFT (503450566783501819/Nightshift, Monday #3)[1], NFT (503601828389126762/E01 Squadron #20)[1], NFT (505819368971113029/Batch 01a, 2237_d254 #6)[1], NFT
                                   (506936257086969330/dAIv RNB006)[1], NFT (508030906397247276/dAIv DOM017)[1], NFT (508444717741414344/W.S. Vinyl Batch #1 #9)[1], NFT (509450885938943364/dAIv DOM005)[1], NFT
                                   (510882238023325100/E01 Squadron #34)[1], NFT (511122341274419838/dAIv DOM007)[1], NFT (512479135550613191/Nightshift, Monday #4)[1], NFT (513914289415914991/Nightshift, Monday
                                   #10)[1], NFT (515267559574507591/E01 Squadron #7)[1], NFT (515323270847913322/dAIv LS021)[1], NFT (515814143377713776/dAIv DOM014)[1], NFT (515880789145943439/dAIv DOM011)[1],
                                   NFT (519124477243313768/dAIv BC018)[1], NFT (521910082859783911/E01 Squadron #29)[1], NFT (522574011041952069/E01 Squadron #16)[1], NFT (523574261248330105/Batch 01a, 2237_d254
                                   #18)[1], NFT (526284106914641394/Batch 01a, 2237_d254 #3)[1], NFT (526972037376659694/dAIv BC021)[1], NFT (527897448195775020/dAIv LS020)[1], NFT (528684575861083092/E01 Squadron
                                   #2)[1], NFT (529680607748180444/dAIv RNB022)[1], NFT (529812521970768356/Batch 01a, 2237_d254 #24)[1], NFT (530049191086920422/dAIv LS007)[1], NFT (533756360809194449/dAIv
                                   BC015)[1], NFT (533986190270084896/Batch 01a, 2237_d254 #2)[1], NFT (535604016589069284/Batch 01a, 2237_d254)[1], NFT (535905981106879005/Batch 01a, 2237_d254 #13)[1], NFT
                                   (538366399876798174/dAIv LS002)[1], NFT (538390797479129685/Nightshift, Monday #18)[1], NFT (541019776873667092/E01 Squadron #15)[1], NFT (541168664067112806/Batch 01a, 2237_d254
                                   #20)[1], NFT (543151143681531392/Diamonds of C)[1], NFT (543289000546070889/E01 Squadron #38)[1], NFT (543661467080180815/dAIv RNB018)[1], NFT (543697038047954484/W.S. Vinyl Batch
07924032                           BTC[.00077587], DOGE[201.16576364], USD[0.00]

07924055                           LINK[.00280196], NFT (322617939068138031/Stars #452)[1], SOL[0.84348376], USD[102.86]

07924064                           USD[483.07]

07924066                           SOL[1.37441198], USD[0.00], USDT[.79711408]

07924070                           USD[0.01]                                                                                                                                                                               Yes

07924083                           BRZ[1], LINK[5.52898062], SOL[1.080556], TRX[2], USD[0.00], USDT[2.63448582]                                                                                                            Yes

07924097                           BF_POINT[100], BTC[.00944341], LINK[5.08315827], LTC[1.18915246]                                                                                                                        Yes

07924101                           CUSDT[2], DOGE[3], SOL[2.9433591], TRX[1271.23144604], USD[0.00]                                                                                                                        Yes

07924117                           BCH[1.23385183], TRX[1], USD[0.00]                                                                                                                                                      Yes

07924122                           USDT[151.5]

07924138                           NFT (431333101903075499/Solninjas #7328)[1], NFT (504506486350580085/Solninjas #7334)[1]

07924143                           BTC[.00257863], TRX[1], USD[0.00]

07924169                           BRZ[4], BTC[.00000179], CUSDT[7], DOGE[4], SHIB[2], TRX[4], USD[752.93], USDT[1.06845116]                                                                                               Yes

07924183                           NFT (293952803856156621/594)[1], NFT (299312947916264817/4743)[1], NFT (299715687105099342/4705)[1], NFT (331370068790508268/1436)[1], NFT (332432811113809291/676)[1], NFT
                                   (364031601945268848/4153)[1], NFT (388076214207583909/6128)[1], NFT (410506935583259628/3013)[1], NFT (501446226242005902/1261)[1], NFT (508859098199493924/3309)[1], NFT
                                   (541888558560628762/2191)[1], NFT (550057562273326957/1263)[1], NFT (550367835655247585/2283)[1], NFT (564315175990097526/7051)[1]
07924188                           MATIC[8.34346999], USD[0.00]

07924206                           SOL[5.1590713], USD[0.01]                                                                                                                                                               Yes

07924215                           BAT[3.00900278], BRZ[4], DOGE[9.00056475], ETHW[.33911209], GRT[1], SHIB[9], TRX[4], USD[7345.45], USDT[1.01675718]                                                                     Yes

07924217                           BAT[0], BTC[0], DAI[0], DOGE[0], ETH[0], LINK[0], MATIC[0], SHIB[0], SOL[0], USD[1.06], USDT[0]

07924218                           USD[0.00]

07924230                           AAVE[.08], AUD[31.02], BTC[0.00007151], DOGE[30.94], GRT[37], MKR[.013986], SHIB[2046406.58225084], SOL[.2], SUSHI[16.4835], USD[0.62]

07924233                           BTC[.02074667], SOL[2.997], USD[1586.00]

07924241                           PAXG[.032967], SOL[.0455], USD[0.40], USDT[0]

07924246                           USD[0.52]

07924256                           NFT (389389138190226356/Toasty Turts #1078)[1]
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
                                                                                                  Amended Schedule 1754      Filed
                                                                                                                      Nonpriority     06/27/23
                                                                                                                                  Unsecured           Page 458 of 1384
                                                                                                                                            Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07924260                              NFT (346875674574686572/Solninjas #7465)[1], SOL[.23]

07924264                              BTC[.00002339], ETH[.00031572], ETHW[.00031572], USD[0.01], USDT[.00215876]

07924265                              USD[0.00], USDT[4.49311266]

07924274                              USD[0.00]

07924276                              BTC[.0005], USD[0.41]

07924283                              BTC[.00088686], CUSDT[1], USD[54.47]                                                                                                                                                      Yes

07924284                              NFT (342491192210433560/Toasty Turts #3001)[1], NFT (408431890559967435/Toasty Turts #0300)[1]

07924294                              NFT (530090197689971183/Megalodon Rogue Shark Tooth)[1]

07924303                              ETH[0], NFT (397097766039021013/Matcha Gelatin Cube #62)[1], NFT (444223168396397928/Anti Social Bot #895)[1], NFT (570466434648051600/USB #2204)[1], USD[2.49]

07924304                              SOL[0], USD[0.32]                                                                                                                                                                         Yes

07924322                              BRZ[1], CUSDT[2], DOGE[1], ETH[.22484646], ETHW[.22463736], KSHIB[725.28407421], LINK[7.87323118], SHIB[4041896.30063436], USD[0.01]                                                      Yes

07924328                              SHIB[1], TRX[1], USD[33.93]                                                                                                                                                               Yes

07924336                              BTC[0], DOGE[0], ETH[0], MATIC[0], USD[0.00], USDT[0]

07924342                              USD[287.11]

07924372                              NFT (306105402613319912/Entrance Voucher #1776)[1]

07924387       Contingent, Disputed   ETH[0], USD[0.00], USDT[0]

07924389                              CUSDT[2], DAI[5.37723513], DOGE[22.23834705], GRT[5.45897533], KSHIB[102.66894071], MATIC[3.37555132], SHIB[110377.85498579], SUSHI[1.26834853], UNI[1.23314171], USD[0.02],              Yes
                                      USDT[5.37921612]
07924401                              USD[14.58]

07924408                              USD[2.52]

07924412                              NFT (289044230084900198/Solninjas #749)[1], NFT (289943538819220777/Solninjas #928)[1], NFT (308372929424421822/Solninjas #8199)[1], NFT (313693093080187139/Solninjas #2085)[1], NFT
                                      (316109150651354082/Solninjas #2436)[1], NFT (324082483303796001/Solninjas #1205)[1], NFT (331222383760641651/Solninjas #2447)[1], NFT (347874661747734768/Solninjas #1022)[1], NFT
                                      (349085298678206777/Solninjas #1209)[1], NFT (367791335521248451/Solninjas #3585)[1], NFT (369440295820317438/Solninjas #1342)[1], NFT (370156978628968410/Solninjas #8905)[1], NFT
                                      (400051053246961695/Solninjas #4564)[1], NFT (417122763640185792/Solninjas #2434)[1], NFT (440019199389525622/Solninjas #935)[1], NFT (482028245684389285/Solninjas #628)[1], NFT
                                      (482376228013015271/Solninjas #1346)[1], NFT (484738933099070868/Solninjas #6673)[1], NFT (489897343563886494/Solninjas #5419)[1], NFT (510449207938097597/Solninjas #1353)[1], NFT
                                      (529457974607272118/Solninjas #8227)[1], NFT (560867648023427981/Solninjas #2122)[1], NFT (562858053868384496/Solninjas #1125)[1], SOL[.094]

07924413                              BTC[.00050098], CUSDT[4], DOGE[1], MATIC[15.31044574], SHIB[340045.52557127], SOL[1.14185563], TRX[1], USD[0.56]

07924419       Contingent, Disputed   SOL[1.08864207], USD[0.00]                                                                                                                                                                Yes

07924423                              DOGE[1], SHIB[690139.44632827], SOL[.54042667], TRX[1], USD[0.00]                                                                                                                         Yes

07924427       Contingent, Disputed   ETH[.00000001], SOL[0], USD[0.00]

07924428                              CUSDT[5], DOGE[1], SOL[.00000001], USD[0.00]                                                                                                                                              Yes

07924432                              USD[10.00]

07924435                              USD[0.00], USDT[0]

07924453                              USD[0.03]                                                                                                                                                                                 Yes

07924466                              BTC[.00023662], CUSDT[1], ETH[.00257467], ETHW[.00254731], SHIB[311098.47737445], USD[0.03]                                                                                               Yes

07924467                              BAT[1], BRZ[3], CUSDT[3], NFT (343911121423634413/Solana Penguin #5822)[1], NFT (379940968595386505/Solana Drink # 57)[1], SHIB[1], SOL[.00000001], TRX[9], USD[0.77], USDT[0.00000721]   Yes

07924469                              CUSDT[1], MATIC[0], SOL[0], USD[0.00]

07924475                              CUSDT[1457.67408572], DOGE[155.12365647], GRT[103.77657301], SHIB[901492.58685707], TRX[282.63197562], USD[0.02]                                                                          Yes

07924476                              BTC[.00008712], SOL[5.427549], USD[142.04]

07924478                              NFT (526860378369245540/Connect Miami @ Miami Tech Week #20)[1]

07924481                              BTC[0.00000084], USD[0.00]                                                                                                                                                                Yes

07924489                              ETH[.12352401], ETHW[.12352401], USD[0.00]

07924491                              BRZ[0], BTC[0.00001800], USD[0.00]                                                                                                                                                        Yes

07924502                              NFT (392906515886185006/Microphone #280)[1]

07924508                              NFT (399067442036259573/Entrance Voucher #6344)[1], NFT (432051054056814770/Microphone #2090)[1]

07924519                              SOL[1.31816847], USD[0.00]                                                                                                                                                                Yes

07924520                              SHIB[5], USD[0.00]                                                                                                                                                                        Yes

07924527                              BAT[1], BRZ[3], BTC[.10288118], CUSDT[8], DOGE[647.29233356], ETH[1.00423216], ETHW[1.00423216], SHIB[3227750.36234094], SOL[1.35961028], TRX[3], USD[0.00]

07924531                              CUSDT[1], DOGE[2], SHIB[2], TRX[2], USD[664.51]

07924539                              USD[4591.84]

07924544                              NFT (358053262485702609/Mech #6267)[1], NFT (502088042241982378/Mech #7941)[1], SOL[0]

07924564                              CUSDT[10], DOGE[3], SHIB[2], SUSHI[12.68399033], TRX[5], USD[0.00], USDT[0]                                                                                                               Yes

07924568                              BAT[1.01497859], BRZ[1], CUSDT[1], DOGE[1], SOL[.11852739], TRX[1], USD[0.00], USDT[2.16120687]                                                                                           Yes

07924569                              DOGE[1], USD[0.00]                                                                                                                                                                        Yes

07924577                              NFT (318931183031516315/Series 1: Capitals #420)[1], NFT (399705439610798987/Humpty Dumpty #959)[1], NFT (401870882190072564/Series 1: Wizards #379)[1], NFT                              Yes
                                      (404296132787257896/Miami Ticket Stub #621)[1], NFT (540272795476511845/Entrance Voucher #1488)[1]
07924581                              CUSDT[254.22484387], DOGE[113.12648127], SHIB[6379624.553384], USD[0.00]                                                                                                                  Yes

07924582       Contingent,            BTC[.0000903], ETH[.000869], KSHIB[99.9], SHIB[79100], SOL[.00774], USD[264.92]
               Unliquidated
07924591                              SOL[.22836249], TRX[1], USD[0.00]                                                                                                                                                         Yes

07924596                              ETH[0], USD[25000.00]

07924597                              SOL[.98], USD[201.18]
West Realm Shires Services Inc.                                                    Case 22-11068-JTD      Doc F-3:
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                                                                                                                                         Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07924598                           BRZ[1], CUSDT[12], DOGE[4], SHIB[1191322.54599686], TRX[2], USD[0.00]

07924603                           USD[1.52], USDT[0]

07924604                           ETH[.0019982], ETHW[.0019982], LINK[.34232221], MATIC[10], USD[3.21]

07924613                           ETH[.10525969], ETHW[.10525969], NFT (295304508115703723/The Big Game #12)[1], NFT (322280366424699248/The Big Game #9)[1], NFT (332958912953285927/The Big Game #13)[1], NFT
                                   (344044747210378733/The Big Game #8)[1], NFT (391174957928492474/The Big Game #18)[1], NFT (404852945379900980/The Big Game #2)[1], NFT (416810760703593141/The Big Game #5)[1],
                                   NFT (419252298877297393/The Big Game #4)[1], NFT (446358415666971401/The Big Game )[1], NFT (449625019851542437/The Big Game #3)[1], NFT (451864082603220129/The Big Game
                                   #17)[1], NFT (476509708662059666/The Big Game #10)[1], NFT (493391635604429126/The Big Game #14)[1], NFT (510924925937782414/Modern Series (41-46))[1], NFT
                                   (517887078575495733/The Big Game #15)[1], NFT (518757570471401863/The Big Game #7)[1], NFT (525932809883072143/The Big Game #11)[1], NFT (571368294977570067/The Big Game
                                   #6)[1], NFT (572849175418061864/The Big Game #16)[1], USD[0.00]
07924614                           ETH[.00202492], ETHW[.00202492]

07924623                           BTC[0], USD[0.00], USDT[0]                                                                                                                                                           Yes

07924635                           DOGE[68.4447001], USD[0.00]

07924637                           NFT (327786285697978605/Solninjas #4754)[1], NFT (462865724211642736/Solninjas #6272)[1], NFT (463868555820517399/Solninjas #4704)[1]

07924644                           USD[0.11]                                                                                                                                                                            Yes

07924648                           BTC[.10506165], DOGE[1], ETH[1.75092446], ETHW[1.50568044], GRT[0], NFT (389207814616651036/MagicEden Vaults)[1], NFT (392723067468383088/ApexDucks #3012)[1], NFT                   Yes
                                   (402043565580846538/Eitbit Ape #2461)[1], NFT (420328881471212793/Imola Ticket Stub #1578)[1], NFT (424180528870312466/Crypto Avatar Art #25)[1], NFT (534571177634271991/Fancy
                                   Frenchies #5879)[1], NFT (560472869188685612/MadTrooper #3403)[1], SHIB[1], SOL[0], USD[0.00], USDT[1.00130671]
07924652                           BRZ[1], BTC[0], CUSDT[9], DOGE[4], MKR[.01052074], SHIB[6], TRX[3], USD[5.29]                                                                                                        Yes

07924660                           DOGE[0], ETH[0], ETHW[0], MATIC[0], SOL[0.00003393], USD[0.00], YFI[0]                                                                                                               Yes

07924662                           DOGE[.986044], SOL[.00000001], USD[0.31], USDT[2.81496117]

07924666                           SHIB[1], TRX[2328.72963602], USD[0.00]                                                                                                                                               Yes

07924671                           BTC[0], ETH[0], NFT (472388734684577380/Winking chicken nugget)[1], SOL[0], USD[0.00], USDT[0.00000015]

07924690                           NFT (551568215793669738/Eitbit Ape #7154)[1]

07924692                           BAT[.95055755], BRZ[34.66550558], BTC[.00010327], CUSDT[7.02102631], DOGE[2], GRT[13.68168957], KSHIB[649.02367068], LINK[10.54960642], NFT (327923594696311514/Q Unmasked)[1],      Yes
                                   NFT (331043017802501300/#16 Twilight Nancy)[1], NFT (380105124728214630/CryptoAvatar #139)[1], NFT (408956133772252479/#21 The Penny)[1], NFT (433226635440974816/Pixel Watermelon
                                   #1 - Power Up)[1], NFT (542309064306529188/Rubber Duckie #0014 - Pride)[1], SHIB[129589.76958224], USD[0.00]
07924705                           CUSDT[8], SOL[3.03220182], UNI[10.12433142], USD[0.06]                                                                                                                               Yes

07924712                           USD[150.00]

07924721                           NFT (550640861418980482/Coachella x FTX Weekend 1 #3678)[1]                                                                                                                          Yes

07924723                           BRZ[1], USD[0.00]

07924724                           DAI[.00000001], SHIB[.00000001], TRX[.000281], USD[27.25], USDT[0.00000089]

07924732                           BRZ[1], BTC[.0246211], DOGE[1], USD[0.00]

07924736                           ETHW[1.0030964], SHIB[7500000], USD[553.17]

07924741                           SOL[.07542584], USD[0.00]

07924752                           USD[10.00]

07924775                           CUSDT[1], SHIB[569321.03526264], USD[0.00]                                                                                                                                           Yes

07924777                           SHIB[32331070.15842224], USD[63829.10], USDT[66.79599125]

07924794                           BAT[4.18232635], BRZ[13.57443983], BTC[1.15244703], CUSDT[59.40154122], DOGE[28.21295692], ETH[1.84867191], ETHW[1.84813574], GRT[2.00104356], SHIB[16], SOL[5.5195361],             Yes
                                   TRX[14.08941217], USD[27549.79], USDT[2.10442075]
07924795                           SHIB[2], USD[0.00], USDT[1.00034701]                                                                                                                                                 Yes

07924806                           AAVE[0.00000072], AVAX[0], BF_POINT[200], BRZ[3], CUSDT[4], DOGE[4.00007308], ETH[0], ETHW[0.00000070], GRT[200.34354250], LINK[.00000581], MATIC[0], PAXG[.00283483],               Yes
                                   SHIB[62.19643516], SOL[0.00000163], SUSHI[.00012976], TRX[0], USD[1.26]
07924817                           SOL[11.68799848]                                                                                                                                                                     Yes

07924832                           BRZ[1], CUSDT[1], USD[0.00]                                                                                                                                                          Yes

07924838                           NFT (426506617599107374/Refined Metal Crystal)[1], NFT (561715580286401256/Refined Water Crystal)[1]

07924844                           BTC[.00064859], TRX[1], USD[0.01]

07924857                           BRZ[1], TRX[1], USD[0.01]                                                                                                                                                            Yes

07924860                           SHIB[1], USD[0.00], USDT[0.00000001]                                                                                                                                                 Yes

07924861                           DOGE[84.58613611], USD[0.00]

07924871                           CUSDT[1], SHIB[338022.05743826], USD[0.00]                                                                                                                                           Yes

07924876                           SHIB[7424476.33657361]                                                                                                                                                               Yes

07924892                           CUSDT[6], DOGE[376.94023592], KSHIB[689.79389234], SHIB[2989924.11131606], TRX[3], USD[23.24]                                                                                        Yes

07924898                           ETH[.0065468], ETHW[.0065468], LINK[.37849145], NFT (462382828461446476/I love pugs)[1], SHIB[230614.52742523], TRX[101.55707614], USD[0.01]

07924908                           NFT (492076860294582142/FTX - Off The Grid Miami #7357)[1]

07924911                           CUSDT[2], TRX[168.24727239], USD[0.00]                                                                                                                                               Yes

07924915                           BTC[.00000036], ETH[0.00000685], ETHW[0.00000685], MATIC[.00000001], SHIB[2], USD[0.00]                                                                                              Yes

07924920                           BTC[.00000003]                                                                                                                                                                       Yes

07924935                           NFT (307243112071609051/Night Light #955)[1], NFT (520133555447638948/Ferris From Afar #971 (Redeemed))[1], USD[12.01]

07924937                           USDT[0]

07924946                           USD[0.00]                                                                                                                                                                            Yes

07924954                           SOL[.0099], USD[0.00]

07924957                           BTC[.00085784], SOL[1.254084], USD[10.09]

07924970                           DOGE[2], USD[0.00], USDT[0.00001098]                                                                                                                                                 Yes

07924971                           USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07924993                           DOGE[1], ETHW[1.01629695], SHIB[1], TRX[1], USD[1211.74], USDT[1.00066691]

07924994                           ETH[.00437552], ETHW[.0043208]                                                                                                                                                          Yes

07925000                           USD[65.36]                                                                                                                                                                              Yes

07925005                           BTC[.00200815], CUSDT[455.31038978], DOGE[18.61625441], TRX[142.76305609], USD[20.00]

07925027                           DAI[10.74337918], NFT (568469713829520180/Hall of Fantasy League #225)[1], SOL[.02431179], USD[0.01]                                                                                    Yes

07925029                           BAT[1], BRZ[2], BTC[.02869924], DOGE[2], SHIB[7], TRX[3], USD[0.00]                                                                                                                     Yes

07925035                           USD[108.93]                                                                                                                                                                             Yes

07925038                           CUSDT[.00004685], GRT[21.14573995], MATIC[.00000697], SHIB[829671.73089525], TRX[177.23216525], USD[0.00]                                                                               Yes

07925040                           CUSDT[3], DOGE[2], ETH[.19944534], ETHW[.19923604], SHIB[14748426.11258306], TRX[13343.4821675], USD[0.28]                                                                              Yes

07925041                           AUD[4.08], BAT[2.95986641], BRZ[29.59312263], CAD[6.65], CHF[4.96], CUSDT[3], EUR[4.64], GBP[2.93], HKD[41.91], MATIC[2.88683743], SGD[6.87], SUSHI[.49179984], USD[6.95], ZAR[72.67]   Yes

07925042                           USD[0.01]                                                                                                                                                                               Yes

07925049                           CUSDT[8], DOGE[1], NFT (367617858689603148/3D SOLDIER #2542)[1], NFT (517014365723959382/ApexDucks #6541)[1], NFT (539709506845961495/Mech #3945)[1], SHIB[3], SOL[0.98083073],         Yes
                                   TRX[2], USD[0.01]
07925060                           BRZ[1], CUSDT[2], DOGE[1.32449421], USD[0.00]                                                                                                                                           Yes

07925067                           BTC[.00543667], DOGE[1], USD[0.00]                                                                                                                                                      Yes

07925084                           BCH[.33143845], CUSDT[4], DOGE[1], ETH[.08077284], ETHW[.05030377], KSHIB[8.72232211], LINK[.02778796], TRX[534.54158276], USD[0.00]                                                    Yes

07925088                           USD[544.66]                                                                                                                                                                             Yes

07925103                           BRZ[2], BTC[.00382735], CUSDT[17], DOGE[186.2045019], LINK[23.95684653], SHIB[2], TRX[608.50632038], USD[16.19], USDT[0]                                                                Yes

07925106                           BCH[1.04652363], BRZ[2], LTC[2.67980038], SOL[1.37836644], USD[0.00]                                                                                                                    Yes

07925131                           NFT (326542513802753782/The Hill by FTX #7887)[1], USD[25.00]

07925148                           BTC[.00154932], CUSDT[1], DOGE[3], ETHW[17.02563165], GRT[1], UNI[50.79041529], USD[834.90]                                                                                             Yes

07925149                           CUSDT[4], ETH[.00001879], ETHW[.00001879], SOL[.9045739], TRX[1], USD[0.64]                                                                                                             Yes

07925156                           BTC[.00813731], CUSDT[2], DOGE[1886.73948172], ETH[.15685503], ETHW[.15685503], TRX[1], USD[0.00]

07925157                           GRT[2228.75230777], NFT (517030540737815398/Imola Ticket Stub #2149)[1], SHIB[184.44732576], USD[372.94]

07925161                           BAT[45.16349758], BRZ[24.49922863], BTC[.00095167], MATIC[6.81968073], NFT (430884857735215264/02x-BO)[1], NFT (489305292757297862/023x-BO)[1], SHIB[4748365.54031372],                 Yes
                                   SOL[1.00585396], TRX[431.65909096], USD[17.18]
07925162                           USD[0.00]

07925165                           NFT (295697177113330865/Pizzly #23)[1], NFT (304797112952319997/Pizzly #156)[1], NFT (355318053608037881/Pizzly #375)[1], NFT (374206690107558965/Pizzly #652)[1], NFT
                                   (421805264364500545/Pizzly #218)[1], NFT (475187890600993488/Pizzly #184)[1], NFT (498556184704625562/Pizzly #151)[1], NFT (505719099143415157/Pizzly #459)[1], NFT
                                   (518153711562663445/Pizzly #729)[1], NFT (552045669414455987/Pizzly #81)[1], NFT (552088914504455463/Pizzly #83)[1], NFT (552801918978379306/Pizzly #86)[1]
07925177                           USD[0.00], USDT[0]                                                                                                                                                                      Yes

07925183                           ETHW[1.53095452], GRT[1.00310583], LINK[1.00599963], SHIB[2], USD[0.00]                                                                                                                 Yes

07925187                           BRZ[1], CUSDT[59.10224404], DOGE[95.17475933], GRT[110.75587747], LINK[3.57440252], SHIB[18946129.72673388], TRX[4], USD[0.00]                                                          Yes

07925188                           BAT[15.41181766], BRZ[1.05517796], BTC[.00123847], CUSDT[12], DAI[5.40507101], DOGE[227.0120531], ETH[.01415436], ETHW[.01397652], GRT[28.05413452], KSHIB[168.03251142],               Yes
                                   LINK[1.66331355], LTC[.14655722], MATIC[18.55537485], MKR[.00339668], PAXG[.01519794], SHIB[1271974.5743274], SOL[2.1118356], TRX[207.70880209], UNI[.62101236], USD[0.00],
                                   USDT[5.40993546]
07925197                           USD[0.00], USDT[0]

07925202                           USD[500.00]

07925212                           CUSDT[3], SHIB[1], SOL[.00003079], USD[59.62]                                                                                                                                           Yes

07925215                           ETH[0.00001854], ETHW[0.00001854], USD[0.00]

07925221                           BTC[.05977814], ETH[1], ETHW[1]

07925226                           BAT[3.17632371], BRZ[4], BTC[.04351207], CUSDT[21], DOGE[16451.83382873], ETH[.59452789], ETHW[.59427811], SHIB[17], TRX[11], UNI[199.48368078], USD[0.02]                              Yes

07925236                           SOL[0], USD[0.00]

07925245                           CUSDT[1], USD[0.00]                                                                                                                                                                     Yes

07925247                           DOGE[1308.22374385], USD[108.93]                                                                                                                                                        Yes

07925258                           BTC[0], ETH[0.00228116], ETHW[0.00225380], GRT[0], LINK[0], MKR[0], SOL[0], USD[0.00]                                                                                                   Yes

07925266                           USD[1.25]

07925267                           USD[1.01]

07925273                           GRT[1], SHIB[2], SOL[.00000001], TRX[1], USD[0.00]                                                                                                                                      Yes

07925306                           LTC[0], USD[0.00]

07925327                           SOL[.00999001], USD[0.47]

07925330                           DOGE[374.7073504], SHIB[1308009.46020994], USD[0.00]                                                                                                                                    Yes

07925332                           ETH[.000041], ETHW[.000041], TRX[.000914], USD[0.00], USDT[0.00048000]

07925343                           CUSDT[1], USD[0.00]                                                                                                                                                                     Yes

07925345                           BTC[0], CUSDT[3], SHIB[2], USD[0.00]                                                                                                                                                    Yes

07925346                           BTC[.1115], LINK[32.0679], USD[7.46]

07925356                           SHIB[1649331.16521186], USD[0.00]                                                                                                                                                       Yes

07925369                           USD[0.00]                                                                                                                                                                               Yes

07925371                           ETHW[.01616474], SHIB[769152.30275609], UNI[2.15913486], USD[0.40]                                                                                                                      Yes

07925374                           BTC[.004592], ETH[.048951], ETHW[.048951], USD[63.63]

07925376                           CUSDT[23], DOGE[7.19187847], GRT[489.96931952], SOL[1.34851338], TRX[1], USD[0.00]                                                                                                      Yes

07925385                           USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07925391                              CUSDT[2], DOGE[1], NFT (385005180449050842/Entrance Voucher #1961)[1], SHIB[191712.8309678], SOL[.00018086], TRX[81.2267924], USD[0.00]                                                       Yes

07925393                              USD[10.82]                                                                                                                                                                                    Yes

07925394                              USD[0.01]                                                                                                                                                                                     Yes

07925400                              NFT (512107331308736255/Warriors 75th Anniversary Icon Edition Diamond #236)[1]

07925403                              BTC[0], USD[0.00]                                                                                                                                                                             Yes

07925404                              USD[8293.31]                                                                                                                                                                                  Yes

07925411                              CUSDT[474.29645113], TRX[.00973498], USD[0.50]                                                                                                                                                Yes

07925419                              BTC[0], SOL[0.00942248]

07925429                              CUSDT[1], USD[0.00]

07925435                              AAVE[0], KSHIB[5], SHIB[9967.32920554]

07925450                              USD[0.00]

07925452                              AVAX[.03217336], CUSDT[11], ETH[.0000001], ETHW[.0000001], KSHIB[87.20878805], SHIB[93335.63776051], SOL[.00000493], SUSHI[.56258359], TRX[1], USD[3.87], USDT[2.15525888]                    Yes

07925454                              DOGE[1], USD[51.09]

07925456                              USD[0.29]                                                                                                                                                                                     Yes

07925468                              LINK[.00013174], SHIB[1], USD[0.00]                                                                                                                                                           Yes

07925501                              DOGE[1], TRX[1], USD[0.00], USDT[0]                                                                                                                                                           Yes

07925514                              NFT (346837566961136878/Coachella x FTX Weekend 1 #3310)[1]

07925515                              BAT[1.0165555], USD[0.00]                                                                                                                                                                     Yes

07925534                              BTC[0], ETH[0], USD[0.01]                                                                                                                                                                     Yes

07925538                              BF_POINT[200], NFT (465526485130857069/Coachella x FTX Weekend 1 #13080)[1]

07925539                              SOL[2.01826349], TRX[1], USD[0.00]

07925546                              LINK[0.37816941]                                                                                                                                                                              Yes

07925550                              AAVE[0], BTC[0], ETH[0], ETHW[13.24785079], NFT (309110367845521746/Happy Halloween #5)[1], NFT (311134655646127255/General Roarge Patton)[1], NFT (314851654118378656/GM!)[1], NFT           Yes
                                      (331829097741855208/Art #4)[1], NFT (333882160022824258/Roarnald Reagan #2)[1], NFT (336347859338734037/[Xip]-Dance1#1)[1], NFT (364789774091498803/SickintheGulliver Collection #3)[1],
                                      NFT (392024889372392341/BULLISH)[1], NFT (392953294784531712/George W Dino #2)[1], NFT (399390081253185634/[Xip]-Fresh1#1)[1], NFT (407014117784045552/Nespace Album #14)[1], NFT
                                      (412301424084158514/WAGMI)[1], NFT (426200335194677610/Little Pink House)[1], NFT (429279392344210014/George W Dino)[1], NFT (450237422836424314/Dino J. Trump)[1], NFT
                                      (458248530449586660/[Xip]-Checkmate1#1)[1], NFT (467343720424002409/[Xip]-Relax1#1)[1], NFT (472676062380729348/Art #5)[1], NFT (482175627548263505/DIGITALPUNK'S#NFT#5)[1], NFT
                                      (483573087494594072/[Xip]-Different1#1)[1], NFT (494111351246029399/Roarge Washington)[1], NFT (497937896352157746/Pinkish one)[1], NFT (498646882238050914/Baroark Obama)[1], NFT
                                      (504017498842616533/DinoFlagUSA)[1], NFT (506942585890845573/Ruth Bader Ginsdino the Notorious RBG)[1], NFT (510251971055367796/[Xip]-Dance of Love1#1)[1], NFT
                                      (513858219794573817/Happy Halloween #10)[1], NFT (521886929790668268/Dinham Lincoln)[1], NFT (545532606403594151/Bearish )[1], NFT (555801599110353563/Rainbow Dino)[1], SHIB[0],
                                      TRX[0], USD[0.00]
07925561                              BTC[.00024245]                                                                                                                                                                                Yes

07925575                              BTC[.00031712], DOGE[44.10116601], USD[0.04]                                                                                                                                                  Yes

07925591                              ETH[.00002386], ETHW[.00002386], SOL[.29559355]                                                                                                                                               Yes

07925605                              ETH[0], SHIB[1], USD[0.00]                                                                                                                                                                    Yes

07925621                              ETH[.06125113], ETHW[.06125113], SOL[0], USD[0.00]

07925649                              SOL[2.8429359], USD[0.00]

07925668                              DOGE[1], KSHIB[0], SHIB[187.63815451], USD[52.63]                                                                                                                                             Yes

07925671                              USD[51.53]                                                                                                                                                                                    Yes

07925678                              BTC[0], ETH[0.01776837], ETHW[0.01776837], KSHIB[0], MATIC[11.29655990], SOL[0], USD[0.00]

07925686       Contingent, Disputed   USD[500.01]

07925707                              CUSDT[1], ETH[.00613699], ETHW[.00613699], LINK[.92050788], TRX[1], USD[0.00]

07925710                              CUSDT[2], ETHW[.17723286], TRX[2], USD[0.00]                                                                                                                                                  Yes

07925720                              NFT (436282938009854416/Coachella x FTX Weekend 2 #16601)[1]                                                                                                                                  Yes

07925723                              BTC[0.00006051], ETH[.0089919], ETHW[.0089919], USD[54.96], USDT[23.54656002]

07925753                              USD[0.01]                                                                                                                                                                                     Yes

07925756                              BRZ[2], BTC[0], CUSDT[12], DOGE[2], ETH[0], SHIB[19076.17561553], SOL[0], TRX[2], USDT[0.00002462]

07925758                              ETH[.09999], ETHW[.09999], USD[115.18]

07925780                              CUSDT[4], GRT[34.45052892], SHIB[972342.97967469], SOL[.17037491], USD[0.06]                                                                                                                  Yes

07925801                              NFT (390781641231028242/Megalodon Rogue Shark Tooth)[1]

07925804                              CUSDT[5], DOGE[318.98736021], NFT (542406190831613141/Red Panda #1432)[1], NFT (570352013519378216/Mad Lions Remastered #14)[1], SHIB[5466114.31517976], SOL[.02531003], TRX[1],
                                      USD[0.01]
07925806                              SOL[.08341988]

07925809                              BTC[.0017], ETH[.0009886], ETHW[.0009886], SOL[.2297815], USD[2.02]

07925810                              AAVE[0], BCH[0], BRZ[0], BTC[0], CAD[0.00], CUSDT[0], EUR[0.00], GBP[0.00], GRT[0], HKD[0.00], LINK[0], LTC[0], MATIC[0], MKR[0], SHIB[9232.37343268], SOL[0], SUSHI[0], UNI[0], USD[0.00],   Yes
                                      USDT[0.00000001]
07925817                              SOL[.04323793], USD[0.01], USDT[0]

07925818                              BAT[1], BRZ[2], CUSDT[7], DOGE[3], ETH[.00102793], ETHW[.00101425], SHIB[8], TRX[4], USD[0.01], USDT[2.10256209]                                                                              Yes

07925822                              USD[0.00]

07925829                              AUD[0.00], BAT[0], BCH[0], BTC[0.00001271], CUSDT[0], DOGE[0], ETH[0.00019243], ETHW[0.00019243], EUR[0.00], LTC[0], USD[0.00], USDT[0], YFI[0]                                               Yes

07925834                              NFT (502291845191638854/FTX - Off The Grid Miami #976)[1]

07925835                              USD[4.87]

07925836                              CUSDT[1], USDT[0.00000070]
West Realm Shires Services Inc.                                                    Case 22-11068-JTD      Doc F-3:
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                                                                                                                               Unsecured           Page 462 of 1384
                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07925838                           ALGO[641.79525779], AVAX[2.35636232], BAT[399.12199833], BRZ[3], CUSDT[11], DOGE[1], GRT[4927.24003291], NEAR[104.60474303], SHIB[44], SOL[1.56082064], SUSHI[519.3365283], TRX[3],   Yes
                                   USD[0.00]
07925842                           BCH[.00008589], BTC[0.00002149], USD[1.77]

07925844                           TRX[1], USD[0.00]                                                                                                                                                                     Yes

07925860                           CUSDT[2], USD[0.00]                                                                                                                                                                   Yes

07925870                           USD[106.64]

07925874                           USD[217.86]                                                                                                                                                                           Yes

07925879                           SOL[.00000002], USD[0.00]

07925885                           AAVE[.64456677], BAT[289.11283297], BRZ[2], CUSDT[27], DOGE[175.42479157], GRT[169.20829274], LINK[10.0734476], MATIC[370.33027522], SHIB[1482459.67689022], SOL[3.97189005],         Yes
                                   SUSHI[13.43475432], TRX[3164.65738056], UNI[6.11344959], USD[0.00], USDT[.00403454]
07925892                           BRZ[1], CUSDT[1], DOGE[2], ETH[.00000001], SOL[0], TRX[1], USD[0.01]

07925911                           AAVE[.31833703], CUSDT[6], DOGE[206.32825955], EUR[23.17], SUSHI[4.91611679], USD[0.20]                                                                                               Yes

07925917                           NFT (533970495326387276/ApexDucks Halloween #2255)[1]

07925918                           BTC[0], CUSDT[1], TRX[1.00410370], USD[0.00], USDT[0.00045426]                                                                                                                        Yes

07925922                           NFT (365316366613984763/Imola Ticket Stub #2452)[1], NFT (375598652107077092/Skeleton Chainsaw #236)[1], SHIB[0], USD[0.01], USDT[0]                                                  Yes

07925930                           ETH[.0009991], ETHW[.0009991], USD[2.37]

07925942                           BTC[.00000122], USD[4.68], USDT[0.00755500]

07925953                           DOGE[2.90342475]

07925954                           USD[0.00], USDT[0]

07925963                           CUSDT[1], SHIB[494919.71537382], USD[0.00]                                                                                                                                            Yes

07925976                           BTC[.00004634], TRX[1], USD[12.51]                                                                                                                                                    Yes

07925984                           USD[196.99]

07925985                           SOL[2.24701676]                                                                                                                                                                       Yes

07925988                           BTC[.00001285], DOGE[297821.1186], ETH[.000171], ETHW[.000171], USD[0.00]

07925998                           KSHIB[0.62974309], SHIB[.00000582], USD[0.00]                                                                                                                                         Yes

07926011                           BRZ[1], DOGE[1], SHIB[40006290.60657235], SOL[14.68818905], UNI[1.0872114], USD[0.00]                                                                                                 Yes

07926039                           NFT (416354027879017568/Microphone #2691)[1]

07926040                           NFT (300039949397451183/DOGO-ID-500 #5242)[1], SOL[.05]

07926047                           SHIB[0], TRX[0], USD[54.26]                                                                                                                                                           Yes

07926050                           NFT (333191764206358504/Toasty Turts #0515)[1]

07926053                           USD[1.93]

07926063                           TRX[1], USD[2257.28]

07926094                           CUSDT[1], SHIB[3], USD[0.00]

07926098                           CUSDT[1], DOGE[3], SHIB[4], USD[0.00]                                                                                                                                                 Yes

07926116                           SOL[.011]

07926119                           CHF[0.00], EUR[0.00], NFT (464369691461410051/2974 Floyd Norman - CLE 5-0173)[1], SOL[0], USD[0.00]

07926125                           BRZ[.6217051], CUSDT[.08077261], KSHIB[7042.27203805], SHIB[1], TRX[1882.00914394], USD[-2.18], USDT[1.0844645]                                                                       Yes

07926127                           TRX[.000001], USDT[10]

07926131                           NFT (306520284462020291/Kiddo #1513)[1], NFT (306811153454452353/Kiddo #2622)[1], NFT (338717748887155160/Kiddo #4581)[1], NFT (499160494100316898/Kiddo #2520)[1], NFT
                                   (507782945938621177/Kiddo #3764)[1]
07926153                           BTC[.00014836], CUSDT[3], DOGE[1], MATIC[4.91557062], TRX[1], USD[0.00]                                                                                                               Yes

07926156                           DOGE[1], ETH[.01306588], ETHW[.01290172], USD[0.00]                                                                                                                                   Yes

07926172                           BAT[1.01655549], BTC[0], CUSDT[5], DOGE[3], ETH[.00000001], ETHW[0], GRT[2.74013287], MATIC[0], TRX[3], USD[0.00], USDT[1.08898998]                                                   Yes

07926173                           CUSDT[3], SHIB[1097022.63709411], SOL[.27623487], TRX[1], USD[0.00]

07926174                           DOGE[9355.99179626], NFT (378080828031505911/Messiahship Collection #1)[1], NFT (391606404148347066/BAYC Derivative NEON DREAMS #6926)[1], NFT (435579597207346861/Super Doge         Yes
                                   )[1], NFT (438419590712454339/Green Gem #1 - Power Up)[1], NFT (460055985308094233/Doge Voxel)[1], NFT (470183989850667734/Pixel Dragon 1)[1], SHIB[20405964.47334900], TRX[1],
                                   USD[0.00]
07926180                           BTC[.00154878], CUSDT[6], DOGE[.38206332], ETH[.0391052], ETHW[.03861994], TRX[3], USD[0.01]                                                                                          Yes

07926192                           BRZ[3], CUSDT[7], DOGE[2.00090902], MATIC[.0001183], SHIB[2], TRX[2], USD[0.00]                                                                                                       Yes

07926212                           USD[108.93]                                                                                                                                                                           Yes

07926227                           CUSDT[1], NFT (316797936552410206/FTX - Off The Grid Miami #2795)[1], SUSHI[98.13560024], USD[0.00]                                                                                   Yes

07926231                           AAVE[6.9937], BTC[.02691862], LINK[625.1802938], MATIC[4495.95], SOL[29.982991], USD[119.62]

07926242                           USD[0.00], USDT[0.00287871]

07926255                           SOL[1], USD[3334.98]

07926258                           USD[0.79], USDT[0]

07926259                           CUSDT[1], GRT[27.4020012], USD[0.00]                                                                                                                                                  Yes

07926262                           USD[107.16]                                                                                                                                                                           Yes

07926280                           CUSDT[3], DOGE[1], TRX[0], USD[0.00], USDT[0.00073374]                                                                                                                                Yes

07926282                           USD[0.00]

07926288                           USD[0.00]

07926305                           AAVE[.008], ETH[.00037643], ETHW[.00037643], TRX[.000168], USD[0.00], USDT[0]

07926307                           USD[0.58]                                                                                                                                                                             Yes
West Realm Shires Services Inc.                                                    Case 22-11068-JTD      Doc F-3:
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                                                                                                                                         Customer Claims                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07926309                           BTC[0], ETH[0], NFT (415594788010203946/Magic Eden Pass)[1], SOL[0], USD[0.96]

07926316                           BRZ[2], CUSDT[14.0196954], SHIB[4], TRX[5.87694081], USD[207.98]                                                                                                       Yes

07926318                           USD[20.00]

07926337                           USD[8.60]

07926343                           USD[0.01]

07926348                           USDT[16.32754296]                                                                                                                                                      Yes

07926369                           ETH[0], SOL[.00000001], TRX[.000103], USD[0.36]

07926372                           BAT[1], BTC[.01646808], CUSDT[1], KSHIB[320.95073309], TRX[1], USD[0.00]

07926376                           MATIC[0], USD[0.00], USDT[0]

07926399                           BTC[0.00440068], LINK[4.59886], MATIC[36.74818342], SUSHI[2.737325], USD[0.00]

07926403                           DOGE[0], GRT[0], LTC[.00023142], SOL[.00000001], USD[0.00]

07926407                           CUSDT[4], DOGE[46.01231678], MATIC[5.07303659], SOL[.1807162], TRX[116.50638039], USD[13.33], USDT[10.80706477]                                                        Yes

07926430                           DOGE[2358], SHIB[5400000], USD[1.91]

07926452                           SOL[0], USD[1.71]

07926474                           ETHW[.036963], USD[2.14]

07926483                           CUSDT[1], SOL[.18175051], USD[0.00]                                                                                                                                    Yes

07926484                           BTC[.21771963]                                                                                                                                                         Yes

07926487                           ETH[.53493599], ETHW[.53493599], GRT[1], SOL[10.47719473], USD[0.00], USDT[1]

07926495                           USD[0.00]                                                                                                                                                              Yes

07926503                           BF_POINT[200], CUSDT[2], SHIB[5275223.98674744], USD[160.08]                                                                                                           Yes

07926508                           USD[0.00]

07926520                           USD[2.21]

07926521                           USD[1.48]

07926523                           USD[0.00]

07926528                           BTC[.00431214], CUSDT[1], ETH[.05267396], ETHW[.05201732], MATIC[38.91743037], USD[0.00], USDT[0.00046403]                                                             Yes

07926537                           ALGO[141.04975467], BAT[.6472762], BF_POINT[200], BRZ[0.20728066], BTC[.00299536], DOGE[12.71863948], ETH[.08748339], ETHW[1.25099354], GRT[444.88901689], KSHIB[0],   Yes
                                   MATIC[181.01947501], SHIB[15605978.76981180], SOL[9.68203011], SUSHI[.00005605], TRX[4034.97714717], USD[7.22], USDT[0]
07926544                           TRX[1], USD[0.00], USDT[.00039183]                                                                                                                                     Yes

07926551                           BF_POINT[400], BTC[.002713], CUSDT[4], ETH[.03951318], ETHW[.0390207], MATIC[68.46160746], TRX[1067.20814332], USD[0.24]                                               Yes

07926590                           BTC[.0230034], ETH[1.61192613], ETHW[1.61124904], LTC[.11624155]                                                                                                       Yes

07926607                           USD[25.00]

07926629                           BRZ[15.10258872], CAD[4.03], DOGE[10.61291253], USD[0.00]                                                                                                              Yes

07926643                           USD[15.82]

07926647                           BTC[0.00007990], ETH[0], ETHW[0.00094152], SOL[0.00629584], USD[0.30]

07926675                           CUSDT[2], DOGE[2.00948637], GRT[1.00111477], LTC[.00006905], MATIC[136.93678152], SOL[.00004016], USD[1.56]                                                            Yes

07926685                           BTC[.1898643], ETH[.548476], ETHW[.37465], MATIC[369.68], SOL[30.97899], USD[142.98]

07926687                           BTC[0], USD[0.01]

07926689                           CUSDT[2], USD[0.12]
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                                                                                                                                            Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07926690                              BTC[.01], ETHW[1.01], NFT (288238356634424039/R.C.C. #5767)[1], NFT (289834947019431360/Arachneon #2318)[1], NFT (290324811488682975/FTX EU - we are here! #251270)[1], NFT
                                      (290706128563111276/Elysian - #3165)[1], NFT (291510362208900463/Solninjas #2354)[1], NFT (291563074029204685/Astral Baby Ape Club #757)[1], NFT (291889646983505962/Hooties #84)[1],
                                      NFT (292421625717591000/Elysian - #1052)[1], NFT (293441535150450146/The Hellions #1753)[1], NFT (293496900050716485/Cadet 571)[1], NFT (293597735330753347/R.C.C. #7334)[1], NFT
                                      (294674246826941228/GGSG Brawler Skin)[1], NFT (295066844584260013/GGSG Brawler Skin)[1], NFT (295353161025127015/Drako #1120)[1], NFT (295859658723888667/Mech #52)[1], NFT
                                      (296081236966933425/Beer)[1], NFT (296355871542335178/Soldier #83)[1], NFT (296484774510880485/SolSoul-07386)[1], NFT (297566044961683697/Astral Baby Ape Club #1650)[1], NFT
                                      (297697758261927587/Dino #753)[1], NFT (297937435952191491/Dino Baby #239)[1], NFT (298239927322606667/Panda Fraternity #812)[1], NFT (299101318731477577/Egghead #2139)[1], NFT
                                      (299195680977991205/Danerob Collection #2636)[1], NFT (299210470912715071/Kaido Tempest#385)[1], NFT (299371287593046422/Fenix Danjon #135)[1], NFT (300118797077801264/Anti Social
                                      Bot #2592)[1], NFT (300483731654239058/NeoNoots #2095)[1], NFT (300854250130387482/Wolf #1328)[1], NFT (301077920029948157/SOLalienz #78)[1], NFT (301375561439037940/Millenial Tiger
                                      #2830)[1], NFT (301809163727510918/SMU #880)[1], NFT (302605140376101794/Bear #1033)[1], NFT (303014823809018846/Danerob Puppy #1169)[1], NFT (303206288543283666/Solninjas
                                      #3678)[1], NFT (304616188604432740/CryptoPet #3027)[1], NFT (304733379091296095/The Hellions #1095)[1], NFT (305106371804508338/Sollyfish #3591)[1], NFT (305138365595752164/Team
                                      Tuskers #8793)[1], NFT (305608354306856932/Brick #316)[1], NFT (306304094720301098/SolFractal #6443)[1], NFT (306517473425317880/The Aces NFT #5292)[1], NFT (306850677239062684/Dino
                                      Baby #196)[1], NFT (307017528614271619/Dino #1066)[1], NFT (307292388429396429/Trippin' Bear #4545)[1], NFT (307367707629403767/Spider Construction Worker)[1], NFT
                                      (308339134530629425/SolFractal #7900)[1], NFT (308722316219960266/Guard 133)[1], NFT (309181579383614012/RareDon #3880)[1], NFT (309509739169037222/Elysian - #1590)[1], NFT
                                      (309693276848228200/Dino #788)[1], NFT (310487617972636583/GGSG with Tracksuit)[1], NFT (311022885364169417/Elysian - #4223)[1], NFT (311608853590656650/DarkPunk #4186)[1], NFT
                                      (312059233478250154/Kiddo #900)[1], NFT (312610071520694117/The Neighborhood #239)[1], NFT (312677271417780007/Falcon Federation #398)[1], NFT (312707871585119647/Dino #25)[1], NFT
                                      (313052973708096118/Boneworld #6563)[1], NFT (313170459228110807/Boss Bulls Club #5625)[1], NFT (313560233459099060/Elysian - #1047)[1], NFT (315065269380898663/Famous Fox
                                      Federation - UHD)[1], NFT (315883909834901348/Eternal Beings #3952)[1], NFT (316447981890534177/Elysian - #2427)[1], NFT (316682022233003262/Sol Lion #6019)[1], NFT
                                      (316789061605211326/Infamous Thug #1367)[1], NFT (317797707052645097/Dino #724)[1], NFT (317909019509724301/Octopus #179)[1], NFT (318466913519187183/Captain #5460)[1], NFT
                                      (318750379684026042/Dino #760)[1], NFT (319460281956104690/GGSG Brawler Skin)[1], NFT (320179026066363461/Panda #2319)[1], NFT (320802171277900691/Map of Ailurus)[1], NFT
                                      (321364330134883157/Starfighter #0591)[1], NFT (321624086402299684/Elysian - #1086)[1], NFT (321698114603626980/Turtle #592)[1], NFT (322065932322155151/Phanbots Season 1 #4200)[1],
                                      NFT (322863847940135149/Anti Social Bot #1840)[1], NFT (322907971261661249/The Aces NFT #2707)[1], NFT (323692319353163948/Eitbit Ape #1342)[1], NFT (323930244064304188/Blissful Bulls
                                      #517)[1], NFT (324371554430676856/Spookeletons #4555)[1], NFT (324765574701928361/Boneworld #9024)[1], NFT (324873730683100194/Sigma Shark #6565)[1], NFT (325749927870622007/The
                                      Tower #113-15)[1], NFT (325822356866449810/SolFractal #7792)[1], NFT (325970637724486425/PSY Network | PlanetZ 1467)[1], NFT (326986555480458426/Belugie #7123)[1], NFT
                                      (327567193134329137/Dino #1060)[1], NFT (327658850846864962/Fenix Danjon #869)[1], NFT (329165907943333330/Faded Foxes #125)[1], NFT (329983593732328170/Oddly Family #51)[1], NFT
                                      (330485645870066966/ApexDucks Halloween #2463)[1], NFT (330736339511163211/Austin Ticket Stub #95)[1], NFT (330825389779285967/Gimmicks #2127)[1], NFT (331161206611887019/Elysian -
                                      #1304)[1], NFT (331332928905408259/Dino #1062)[1], NFT (331959418331793422/#4737)[1], NFT (332025041609282271/Elysian - #5690)[1], NFT (332047778418129454/Sollyfish #2900)[1], NFT
                                      (332237816243705853/The Panthera Club #1093)[1], NFT (335323695853129967/Elysian - #1563)[1], NFT (335441967853077744/Red Panda #726)[1], NFT (335636095008100837/SolFractal
                                      #6105)[1], NFT (336688288044408590/DOTB #291)[1], NFT (337494337211232620/Santa Brawler #2)[1], NFT (337529438032970186/Dinosol #0321)[1], NFT (338036536369777585/Boneworld
                                      #4535)[1], NFT (338212701384806537/Posh Dolphs #1266)[1], NFT (338315241426093411/Astral Apes #1835)[1], NFT (338731075262171867/Toasty Turts #0205)[1], NFT
                                      (340580000436034663/Elysian - #1371)[1], NFT (341156760982943011/G.O.A.T. #5004)[1], NFT (341181676332144548/Rare Wojak #626)[1], NFT (341250224364471340/Awful Waffles 1449)[1], NFT
                                      (341455236905265155/Dino #728)[1], NFT (341584307627761107/Fenix Danjon #263)[1], NFT (342228791996236365/Astral Baby Ape Club #1870)[1], NFT (342853307761308146/Apes on Dragons
                                      #115)[1], NFT (343389602983048647/Dino Baby #193)[1], NFT (343448790837922893/Krook #961)[1], NFT (343533665269383309/GGSG Brawler Skin)[1], NFT (343821806731072290/GameKidz
                                      #319)[1], NFT (344077583154286167/GalaxyKoalas # 97)[1], NFT (344466157392419094/Flippy #6028)[1], NFT (345760308369958694/Dino #733)[1], NFT (345811852215278312/BLOB x NOOT)[1],
                                      NFT (346016325872417481/Megalodon Rogue Shark Tooth)[1], NFT (347198674756197942/PixelPuffins #7013)[1], NFT (347997184661765494/Penguin Brawler #3271)[1], NFT
                                      (349169309191250175/Dino Baby #98)[1], NFT (349390447899214430/Yetai #5730)[1], NFT (350410022492177399/Spider Gambler)[1], NFT (351736612501458894/Dino Baby #90)[1], NFT
                                      (351984665238445602/Stealth Ninjas #1068)[1], NFT (352216208616033339/SolFractal #8033)[1], NFT (352281357212779026/SolFractal #4045)[1], NFT (354942398866053319/HazyHippo #3242)[1],
                                      NFT (355252191640160042/Anybodies Brawler Skin)[1], NFT (355550444874481054/Shungite Pyramid NFT #52)[1], NFT (356276211923603558/Elysian - #1110)[1], NFT (356602105706288432/Astral
                                      House #3335)[1], NFT (356955731513608858/Knightdom #9803)[1], NFT (358233564011709165/Kiddo #4448)[1], NFT (358339103054203365/Eternal Beings #367)[1], NFT
                                      (359378100420894497/Elysian - #1037)[1], NFT (360903893043462763/Eternal Beings #7968)[1], NFT (362726740175875188/Boss Bulls Club #3791)[1], NFT (363305066840292925/Toon Wabbits
                                      #242)[1], NFT (363761984007462247/Eternal Beings #3264)[1], NFT (363919515956611414/TOADBOYS #1658)[1], NFT (364030709101494470/Anti Social Bot #1341)[1], NFT
                                      (364389934856464727/Dino #731)[1], NFT (364654213690384541/Elysian - #4090)[1], NFT (364850991496565462/SOL Parasite #5014)[1], NFT (364960898139603520/Drippy Penguins #6560)[1], NFT
                                      (365781955945843860/Anti Social Bot #3671)[1], NFT (366246155457764330/Astral Baby Ape Club #173)[1], NFT (367398581104001064/Pace - Silly Goose #2647)[1], NFT
                                      (367558803054411832/Posh Dolphs #17)[1], NFT (367788313743654881/Panda #1054)[1], NFT (368210767639154751/Starfighter #0585)[1], NFT (369035866872698613/Whales Nation #5504)[1], NFT
                                      (370395006596699274/Trailers #8434)[1], NFT (371256449998310862/Hooties #42)[1], NFT (373729440843315805/Danerob Collection #2995)[1], NFT (375404724140808154/Red Panda #9668)[1],
                                      NFT (375654095885376180/PixelPuffins #931)[1], NFT (375830433584542656/Lizard #158)[1], NFT (375941423585012975/Ghostz #1474)[1], NFT (376575851555756407/Starfighter #2247)[1], NFT
                                      (376671102995153715/Solmon #1274)[1], NFT (377509142704579487/Eternal Beings #10461)[1], NFT (378531579144838532/FTX - Off The Grid Miami #699)[1], NFT (379882024871496988/FFN
                                      Membership Booklet #705)[1], NFT (381254087632737431/Dino #688)[1], NFT (381831059336696209/DOTB #1352)[1], NFT (382012783216428404/Anti Social Bot #3121)[1], NFT
                                      (382141217121692054/R.C.C. #4727)[1], NFT (382150503583839534/Dino #655)[1], NFT (382360112044774325/Toasty Turts #4647)[1], NFT (382593282886403256/Pixel Racers #9643)[1], NFT
                                      (382712146517127656/Derivative Lions #488)[1], NFT (382776592126635091/Spider Tribal Orange)[1], NFT (382978783803402966/Kiddo #5841)[1], NFT (383580368926807804/Cute Li'l Phant #92)[1],
                                      NFT (384518501918549807/Eternal Beings #3660)[1], NFT (384683356986328591/Elysian - #1861)[1], NFT (385252016816024570/Spooky Red Panda #238)[1], NFT (385290556413514339/Animal
                                      Gang #207)[1], NFT (386455903060370338/G.O.A.T. #2003)[1], NFT (386585108663751680/ROBOT//3986)[1], NFT (387550187482204659/Nasty Boy #3056)[1], NFT (388044934419947860/R.C.C.
07926716                              DOGE[.11356206], LINK[.0339625], SHIB[75449.1017964], USD[5232.56]

07926725       Contingent, Disputed   ETH[0], ETHW[0], SOL[0], USD[0.00]

07926728                              TRX[1], USD[0.00]

07926754                              BRZ[1], DOGE[1.00258047], ETH[.39292576], ETHW[.00004385], NFT (340715830840152097/Arboretum NFT #60)[1], SHIB[20.79495633], TRX[.00740541], USD[83.26]                                      Yes

07926766                              NFT (475006044708457930/Miami Ticket Stub #263)[1], SOL[.00000001]

07926771                              USD[20.00]

07926777                              BAT[150.35631452], CUSDT[5001.29663852], DOGE[1], GRT[131.23031713], SOL[1.1623322], TRX[1], USD[0.32]                                                                                       Yes

07926786                              BRZ[1], GRT[278.01987217]                                                                                                                                                                    Yes

07926789                              BTC[.00328619], USD[0.00]

07926814                              BTC[.00553361], CUSDT[3], SHIB[1], TRX[1], USD[0.03]                                                                                                                                         Yes

07926820                              ETH[.004483], ETHW[.379483], SOL[1.00515], USD[13.75]

07926824                              USD[0.00]

07926826                              BTC[0], LINK[.00004391], USD[0.00], USDT[0.00224406]

07926857                              USD[0.00]                                                                                                                                                                                    Yes

07926858                              BRZ[3], DOGE[2], ETH[.0000004], SHIB[27], SOL[.00025656], TRX[3], USD[0.00], USDT[0]                                                                                                         Yes

07926885                              BTC[0.00380439], DOGE[1], ETH[0.00000003], ETHW[0.00000003], LTC[.09684126], NFT (322549026166068519/JINX)[1], NFT (332442266421626315/characters #3)[1], NFT
                                      (355012499520247198/GHOST OF DUNES)[1], NFT (453919242092225766/JINX #2)[1], NFT (501996820584442953/characters #2)[1], NFT (514405373014280332/WILD BEANS)[1], PAXG[0],
                                      SHIB[0], SOL[0], USD[2.34]
07926888                              NFT (359720249649142792/Entrance Voucher #1829)[1], USD[0.00]

07926890       Contingent, Disputed   SUSHI[0], USD[0.00], USDT[0]

07926892       Contingent, Disputed   USD[0.00]

07926898                              USD[200.00]

07926900                              ETH[0], MATIC[0.00000001], SOL[.00000001], USD[0.64], USDT[0]

07926920                              CUSDT[2], DOGE[1], ETH[.00363092], ETHW[.00358988], NFT (298472525133910329/Bahrain Ticket Stub #2240)[1], SHIB[229.15054667], TRX[1], USD[0.01]                                             Yes

07926929                              USD[0.00]

07926931                              BTC[0.00004580], USD[2.78]
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                                                                                                                                            Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07926937                              USD[4.72]

07926943                              DAI[11.20629509], SHIB[20], SOL[7.90307714], USD[0.00]                                                                                                                                     Yes

07926968                              DOGE[6], ETH[.09722488], ETHW[1.02415562], LINK[6.28385927], LTC[.21560758], MATIC[23.83300452], SHIB[9], SOL[0.00000002], TRX[3], USD[55.32]                                              Yes

07926972                              BTC[0.01559173], ETH[.2178252], ETHW[.2178252], LINK[174.934981], MATIC[8.8315], USD[553.14]

07926975                              NFT (290980053154742353/Pizzly #189)[1], NFT (502275155087794535/Pizzly #355)[1]

07926984                              NFT (388689033036201279/Hardware Collection)[1], USD[0.70]

07926996                              TRX[1], USD[37990.85], USDT[1]

07927000                              CUSDT[1], USD[0.00]                                                                                                                                                                        Yes

07927020                              ETH[.00000001]

07927026                              ETH[0], LTC[0], SOL[2.83781533], USD[0.00]

07927028                              SOL[.000985]

07927051                              USD[0.01]

07927054                              BRZ[2], CUSDT[5], DOGE[2], ETH[0], SHIB[4], TRX[2], USD[0.00], USDT[1]

07927060                              KSHIB[5], MATIC[0], SHIB[0], USD[13.75]

07927066                              SOL[71.87871733], USD[1635.61], USDT[0]

07927067                              MATIC[7.696], USD[5000.00], USDT[76.53344903]

07927075                              BTC[.19459937], ETH[2], ETHW[2], SOL[2.07179584], USD[1.49]

07927078                              BAT[1], BRZ[2], BTC[0], NEAR[.05099877], SHIB[1], SOL[.00213332], TRX[90.37098184], USD[0.00], USDT[0]                                                                                     Yes

07927090                              SOL[124.98532198], USDT[0.00045558]

07927091                              SOL[.00000001], USD[0.00]

07927101                              BTC[0], USD[0.01], USDT[0]

07927106       Contingent, Disputed   USD[1.00]

07927108                              NFT (325888403516795084/4 – Martin Luther King)[1], NFT (347143081741720141/3 – Adolf Hitler #2)[1], NFT (377701701471276993/8 – Charlie Chaplin)[1], NFT (399955200521861353/4 – Martin
                                      Luthar King #2)[1], NFT (433185507902945043/3 - Elvis Presley)[1], NFT (440198187071908566/11 - George Washington )[1], NFT (457378978530542192/5 – Mohammed Ali)[1], NFT
                                      (457379271026003307/1 – Abraham Lincoln)[1], NFT (467772738781258598/9 – Winston Churchill)[1], NFT (480447451931643322/Gotham City Prowler 3/4)[1], NFT (504730756725141770/3 – Adolf
                                      Hitler)[1], NFT (510677430837738310/2 – Marilyn Monroe)[1], NFT (512206384486626199/Gotham City Prowler 2/4)[1], NFT (512882992295424438/Gotham City Prowler 1/4)[1], NFT
                                      (525324837680062643/10 - William Shakespeare)[1], NFT (539611451567792592/1 – Marilyn Monroe)[1], NFT (572197515931076720/4 – Martin Luthar King)[1], NFT (574953238330489575/7 – Albert
                                      Einstein)[1], USD[22.56]
07927118                              SOL[.05380125], USD[0.00]

07927127                              ALGO[10], SOL[.1], USD[0.00]

07927132                              SOL[1.84]

07927134                              USD[5.45]

07927137                              CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                               Yes

07927141                              NFT (483979119699186840/SKYLINE #3704)[1]

07927144                              ETH[.13103568], ETHW[.13103568], USD[2.39]

07927146                              NFT (570873320709706063/Sea Dubs Inaugural NFT #50)[1]

07927155                              USD[0.04]

07927156                              SOL[.05]

07927162                              NFT (373810009307190170/MagicEden Vaults)[1], NFT (383762107744269576/MagicEden Vaults)[1], NFT (393082146919113883/MagicEden Vaults)[1], NFT (407609778789264749/MagicEden
                                      Vaults)[1], NFT (445901670009673082/MagicEden Vaults)[1], SOL[.05], USD[4.97]
07927164                              MATIC[309.69], NFT (405949857409361730/2974 Floyd Norman - OKC 6-0104)[1], SOL[.30098216], USD[0.00], USDT[0]

07927173                              BTC[.00180051], DOGE[1], USD[0.18]                                                                                                                                                         Yes

07927174                              SOL[1.08], USD[0.49]

07927209                              ETH[.00999], ETHW[.00999], USD[2.06]

07927222                              BF_POINT[300], DOGE[241.81586104]                                                                                                                                                          Yes

07927228                              SOL[.00909054], USD[0.00]

07927233                              BAT[1.0148117], BTC[.03300861], CUSDT[3], DAI[1056.63489602], DOGE[4202.62674179], ETH[.33636846], ETHW[.3362211], MATIC[304.51576929], SHIB[14276594.72266832], SOL[4.52327223],          Yes
                                      TRX[1], USD[3393.58]
07927242                              DOGE[1], USD[0.01]

07927245                              BTC[.0093613], CUSDT[12], DOGE[1], ETH[.13381175], ETHW[.10334928], SHIB[1], SOL[2.93641978], TRX[1], USD[-6.99]                                                                           Yes

07927248                              USD[0.00]

07927251                              SHIB[6745572.51422341], USD[0.00], USDT[0.00000001]                                                                                                                                        Yes

07927258                              ETH[.00013189], ETHW[0.00013189], NFT (478092581390401039/Saudi Arabia Ticket Stub #2241)[1], USD[0.00], USDT[.6985779]

07927259                              ETHW[1.95033874], SHIB[2], TRX[2], USD[0.03]                                                                                                                                               Yes

07927261                              ALGO[10], BTC[0.02882450], ETH[.0005454], MATIC[0], NFT (423990941933216832/The Hill by FTX #6791)[1], SHIB[1006404.99845009], SOL[1.00033325], USD[1.00]

07927283                              SOL[.00007646], USD[0.00]

07927291                              NFT (290816735655977777/Penguin Brawler #850)[1], SOL[.01]

07927293                              USD[0.00]                                                                                                                                                                                  Yes

07927331                              USD[0.01]

07927340                              USD[2.17]                                                                                                                                                                                  Yes

07927342       Contingent, Disputed   ETH[.021], ETHW[.021], USD[0.49], USDT[.001375]

07927358                              BTC[.00053073], ETH[.00119415], ETHW[.00118046]                                                                                                                                            Yes
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                                                                                                                                         Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07927371                           USD[40.01]

07927375                           BRZ[1], USD[0.01], USDT[0.00000001]                                                                                                                                                     Yes

07927388                           USD[0.00]

07927394                           NFT (532522725479160382/#9843)[1], SOL[.141]

07927397                           ETH[.00000215], SHIB[1], SOL[.00014641], USD[0.01]                                                                                                                                      Yes

07927417                           BAT[1.01259913], CUSDT[8], DOGE[.00288515], ETH[0], TRX[1], USD[0.01]                                                                                                                   Yes

07927418                           BRZ[1], DOGE[1], SHIB[0], SUSHI[1.00036774], TRX[2], USD[34564.72]                                                                                                                      Yes

07927425                           NFT (379114535755618247/Entrance Voucher #4144)[1]

07927426                           BTC[.15875699], ETH[2.385], ETHW[2.385], USD[3.83]

07927436                           USD[0.00]

07927439                           USD[50.00]

07927460                           BTC[.00074664], CUSDT[1], USD[0.00]                                                                                                                                                     Yes

07927461                           BTC[0], ETH[0.00018206], ETHW[0.00018206], USD[1.63]

07927466                           BAT[13.84537844], DOGE[29.80239159], USD[0.00]

07927474                           GRT[1.00367791], SUSHI[.0903146], USD[7.62]                                                                                                                                             Yes

07927477                           USD[5.62]

07927482                           SOL[0], USD[0.00]                                                                                                                                                                       Yes

07927491                           USD[37.98]

07927492                           NFT (294204458300966207/Anti Social Bot #859)[1], NFT (301721691582503946/#552)[1], NFT (328929107748608677/Oink 1775)[1], NFT (329457348434320776/SolDoge Strays #1616)[1], NFT
                                   (335420284774491941/Rat Bastard #917)[1], NFT (355114517471159143/Rogue Circuits #4672)[1], NFT (362267179981100319/Careless Cat #966)[1], NFT (374172246694065857/Space Bums
                                   #2405)[1], NFT (398680703834801869/Deep #249)[1], NFT (400288963335329272/Sloth #3973)[1], NFT (403707523250737530/Gloom Punk #9137)[1], NFT (409782735843712197/Naked Meerkat
                                   #7314)[1], NFT (410971736847727280/Cyber Frogs Ramen)[1], NFT (411449618695483887/Eitbit Ape #3334)[1], NFT (419143855293996190/DRIP NFT)[1], NFT (428584247842275271/DarkPunk
                                   #7962)[1], NFT (434218159149161575/Highland Mesa #131)[1], NFT (435569823397490431/Metabaes #5961)[1], NFT (452079865421408294/ALPHA:RONIN #1269)[1], NFT (455232776301235099/3D
                                   CATPUNK #7879)[1], NFT (465456450109431375/Cyber Pharmacist 4942)[1], NFT (473186450352903317/Astral Apes #472)[1], NFT (482717202356650860/Anti Artist #96)[1], NFT
                                   (543097807223748345/CryptoPet #4768)[1], NFT (571750845091995449/Whales Nation #1620)[1], SOL[.1144], USD[0.00]

07927506                           NFT (290875835856232911/Nightmare)[1], NFT (322124082656733436/Field)[1], NFT (331315460908103156/Invasive)[1], NFT (331895014297248998/Frost)[1], NFT (355448800611574985/Scale)[1],
                                   NFT (372428312806740839/Glass)[1], NFT (391576642909726896/Phoenix)[1], NFT (553642616284888071/Currents)[1], NFT (556277948983529830/Ephemeral)[1], SOL[.014], USD[30.80]

07927508                           CUSDT[2], SOL[7.95913764], TRX[1], USD[0.00]

07927512                           USD[108.92]                                                                                                                                                                             Yes

07927520                           SOL[0], USD[0.00]

07927523                           AAVE[0], BF_POINT[200], BRZ[1], BTC[0], CUSDT[6], GRT[0], KSHIB[0], LTC[0], MATIC[0], SHIB[0], SOL[0.00000367], SUSHI[0], TRX[0], UNI[0], USD[0.01]                                     Yes

07927529                           NFT (354513765289915573/Saudi Arabia Ticket Stub #1252)[1], NFT (424030143663679289/Serum Surfers X Crypto Bahamas #177)[1], SHIB[3], USD[0.01]                                         Yes

07927533                           USD[10.02]

07927535                           BTC[.2254588]

07927567                           NFT (333437040607906682/Good Boy #13407)[1], NFT (432624467147032824/Humpty Dumpty #1005)[1], NFT (439187671674620394/Romeo #1025)[1], SOL[.025]

07927569                           CUSDT[1], USD[0.00]

07927582                           USD[0.00]

07927584                           SHIB[99050], USD[0.00]

07927595                           BF_POINT[100], BTC[.0226927], ETH[.01236659], ETHW[.01236659], LINK[2.0934], SOL[1.18266091], USD[8.54]

07927603                           USD[2.00]

07927604                           ETH[.01078055], ETHW[.01078055], SOL[.15639602], USD[0.00]

07927636                           BRZ[4], CUSDT[14], DOGE[797.28347317], GRT[1.00238633], SHIB[3960043.25543442], TRX[4], USD[0.00]                                                                                       Yes

07927643                           BRZ[1], BTC[0.00175254], DOGE[1], ETH[0], NFT (316116444222131567/Ghoulie #2296)[1], NFT (353643645456992856/Gangster Gorillas #6892)[1], NFT (407346522959558807/G7 Uni)[1], NFT       Yes
                                   (426227053304192174/Gangster Gorillas #7180)[1], NFT (498933665951185061/Rogue Circuits #4856)[1], NFT (507887528946429808/SharkBro #722)[1], NFT (510214876839475689/Royal rumble
                                   )[1], NFT (521008532883268135/Ape MAN#7)[1], NFT (521988696237231862/Ape MAN#51)[1], NFT (524961890593985833/Pixel Cat #4)[1], NFT (564313681026653985/Villain Dark Sticker. #3)[1],
                                   PAXG[0], SHIB[4], SOL[0], TRX[2], USD[0.00], YFI[0]
07927649                           USD[0.00]

07927655                           USD[0.39]

07927664                           BAT[.9748], DOGE[.7417], NEAR[.09784], SHIB[2131004.59370948], USD[1.26], USDT[0.00457705]

07927669                           KSHIB[8244.66238865], USD[0.00]

07927674                           USD[0.00]

07927691                           ETH[.00567306], ETHW[.00560466], LTC[.07972175], SHIB[1192406.36167677], SOL[.02696639], USD[0.00]                                                                                      Yes

07927706                           BTC[.0008962], CUSDT[1], USD[3.25]                                                                                                                                                      Yes

07927712                           BTC[.00024471], CUSDT[1], USD[0.00]

07927719                           BTC[.00026923], SHIB[1], USD[0.00]                                                                                                                                                      Yes

07927720                           BTC[.00049002], CUSDT[1], USD[0.00]                                                                                                                                                     Yes

07927726                           BAT[148.85260269], CUSDT[5], DOGE[453.05247004], ETH[.02815587], ETHW[.02780465], MATIC[71.20788995], SOL[.68268916], USD[0.00]                                                         Yes

07927735                           BTC[0.01031469], ETH[.32935348], ETHW[0.32088148], USD[726.66]

07927739                           ETH[.00102401], ETHW[.00101033], SOL[.06131483], USD[1.94]                                                                                                                              Yes

07927742                           KSHIB[20.18803504], MATIC[46.16820972], SHIB[1143975.54805635], SOL[.25249073], TRX[25.20931836], USD[0.00]                                                                             Yes

07927748                           USD[0.00]                                                                                                                                                                               Yes

07927759                           CUSDT[4], DOGE[1], ETH[.01599178], ETHW[.01579265], GRT[101.08371197], MATIC[26.04828295], SHIB[879943.7162325], SOL[6.06193953], TRX[36.82733536], USD[0.04]                           Yes
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                                                                                                                                            Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07927761                              CAD[2.66], CUSDT[505.2587642], DOGE[78.25123424], EUR[11.14], GRT[4.94966684], KSHIB[153.76399655], MATIC[10.03931801], SHIB[324582.30742121], TRX[139.26191492], USD[0.00]       Yes

07927764                              CUSDT[2], DOGE[752.20464599], ETH[.03552152], ETHW[.03552152], GRT[1], SHIB[2897291.03288425], USD[0.00]

07927769                              BRZ[1], CUSDT[2], SHIB[2], TRX[3], USD[0.00]                                                                                                                                      Yes

07927783                              BTC[.00346768]                                                                                                                                                                    Yes

07927785                              AVAX[.14483509], BTC[.00436206], ETH[.00071868], ETHW[.00071447], USD[0.37]                                                                                                       Yes

07927786                              USD[10.89]                                                                                                                                                                        Yes

07927793                              ETHW[.13], USD[2.77]

07927815                              CUSDT[2], MATIC[0], TRX[1.00792422], USD[0.00]                                                                                                                                    Yes

07927820                              BTC[.00022379], LINK[.39941549], TRX[1], USD[0.00]                                                                                                                                Yes

07927821                              MATIC[0], TRX[1], USD[0.00]

07927834                              USD[0.01]

07927839                              BAT[108.67698841], BTC[.00471322], CUSDT[4], DOGE[110.97608867], ETH[.04315432], ETHW[.0426208], GRT[215.56198379], LTC[.87178402], MATIC[268.17340126], SOL[2.91573011]          Yes

07927844                              NFT (307789877601805773/Warriors Foam Finger #334 (Redeemed))[1], NFT (348217501834809369/GSW Western Conference Finals Commemorative Banner #2057)[1], NFT
                                      (361181840300995275/GSW Round 1 Commemorative Ticket #656)[1], NFT (438699316449928592/GSW Western Conference Finals Commemorative Banner #2058)[1], NFT
                                      (556065584496363751/GSW Championship Commemorative Ring)[1], NFT (559691944995390473/Australia Ticket Stub #1522)[1], NFT (573171923918375018/GSW Western Conference Semifinals
                                      Commemorative Ticket #1107)[1], USD[10.02]
07927852       Contingent, Disputed   USD[0.99]

07927856                              BTC[.00010647], USD[0.00]

07927858                              DOGE[113.63093713], SHIB[305.28072169], USD[0.00]                                                                                                                                 Yes

07927861                              ETH[.02679234], ETHW[.02679234]

07927872                              BTC[.00000004], DOGE[712.40718278], SOL[1.04190806], USD[3.34]                                                                                                                    Yes

07927881                              USD[0.01]

07927885                              BTC[0], ETH[.00076345], ETHW[.00076345], LTC[.0098765], UNI[.297815], USD[0.00], USDT[0.00000047], WBTC[.00007948]

07927890                              BRZ[2], CUSDT[.00802356], DAI[.00231402], DOGE[6], PAXG[.00000083], SHIB[10], TRX[9], USD[0.63], USDT[1.06002448]                                                                 Yes

07927894                              TRX[1748.000001], USD[40.01]

07927899                              USD[0.00], USDT[0]

07927905                              BTC[.00008717], USD[0.00], USDT[3.19163651]

07927908                              ETH[.00052263], ETHW[0.00052263], USD[0.01]

07927909                              USD[2.10]

07927916                              USD[0.00], USDT[0]

07927920                              DOGE[.725], SHIB[94300], USD[170.63]

07927925                              BTC[.00001362], ETH[0], USD[0.00], USDT[0.00000022]

07927936                              USD[108.92]                                                                                                                                                                       Yes

07927937                              USD[19.20]

07927944                              USD[21.78]                                                                                                                                                                        Yes

07927948                              CUSDT[2], GRT[1.00367791], SHIB[1], SOL[16.88207452], TRX[1], USD[0.00]                                                                                                           Yes

07927956                              BCH[.09080929], BTC[.00035066], CUSDT[4], ETH[.00566335], ETHW[.00559495], USD[43.68]                                                                                             Yes

07927963                              MATIC[16.69325038], USD[0.00]

07927965                              USD[0.01]                                                                                                                                                                         Yes

07927970                              BTC[.01564468], KSHIB[0], TRX[1], USD[0.00]                                                                                                                                       Yes

07927976                              BTC[0], USD[0.00]

07927979                              USD[32.34]                                                                                                                                                                        Yes

07927984                              SOL[.51948], USD[1.87]

07927986                              BTC[0], ETHW[.8026339], USD[0.01]

07928001                              CUSDT[1], DOGE[3], SHIB[1], SOL[5.62771379], TRX[3], USD[0.00]                                                                                                                    Yes

07928004                              BTC[0.00166239], CUSDT[2], ETH[0.00877900], ETHW[0.00866948], SHIB[2], TRX[3], USD[0.07], USDT[0.00001468], YFI[0]                                                                Yes

07928005                              BAT[13.12231549], CUSDT[8], DOGE[507.56681612], KSHIB[65.66695297], MKR[.01041245], SHIB[142943.65546584], SOL[1.08612863], TRX[227.66010535], USD[5.44], YFI[.00149601]          Yes

07928008                              CUSDT[2], DAI[54.1831014], DOGE[388.05817583], SHIB[5514289.40649153], TRX[1], USD[0.00]                                                                                          Yes

07928012                              CUSDT[1], ETH[.00632731], ETHW[.00624523], USD[0.00]                                                                                                                              Yes

07928017                              BF_POINT[300], CUSDT[1], GRT[9.64999209], MATIC[12.09362033], TRX[106.10489585], USD[0.00]                                                                                        Yes

07928023                              BTC[.00003578], DOGE[21.88203392], KSHIB[56.93508885], USD[10.66]                                                                                                                 Yes

07928033                              LTC[.38122269], SOL[1.497], USD[36.01], USDT[4.1332098]

07928042                              CUSDT[2], SOL[1.63344049], TRX[2662.75083464], USD[0.04]                                                                                                                          Yes

07928043                              CUSDT[1], USD[0.00]

07928061       Contingent, Disputed   USD[0.01]

07928062                              SOL[.18827442], TRX[1], USD[0.02]

07928075                              CUSDT[16], NFT (432384153212256081/Sigma Shark #3529)[1], SOL[0], USD[0.00], USDT[0]                                                                                              Yes

07928077                              DOGE[1], ETH[.22461854], ETHW[.22461854], GRT[1], USD[0.00]

07928080                              USD[3.82]

07928084                              CUSDT[1], SHIB[1], USD[0.00]                                                                                                                                                      Yes
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07928085                              USD[108.93]                                                                                                                                                                          Yes

07928092                              BRZ[2], CUSDT[2], DOGE[1], LINK[21.99439133], USD[0.00]                                                                                                                              Yes

07928105                              USD[0.00], USDT[0]

07928107                              BTC[.04139351], CUSDT[4], ETH[1.00872996], ETHW[.06877215], LINK[.0000157], NFT (480301249061336008/Barcelona Ticket Stub #975)[1], NFT (565375872384951773/Australia Ticket Stub    Yes
                                      #1137)[1], SHIB[442020.72863454], SOL[27.28595386], TRX[5], USD[-200.00]
07928113                              USD[0.01]

07928114                              BTC[.00144675], CUSDT[245.82067913], DOGE[21.82271921], ETH[.02609797], ETHW[.02576965], NFT (456307301084457241/ALPHA:RONIN #550)[1], SOL[.02315528], USD[0.00]                     Yes

07928120                              USD[0.12]

07928123                              USDT[0.00001620]

07928126                              SOL[.00054908], USD[0.00]

07928130                              DOGE[1], ETH[0], MATIC[.01197346], SHIB[1345.31748886], USD[0.00]

07928135                              USD[2.08]

07928144                              USD[0.00]                                                                                                                                                                            Yes

07928147                              BTC[.0030918], ETH[.001865], ETHW[.149865], SOL[.00275], USD[3.49]

07928165                              CUSDT[3], SHIB[2.39603306], SOL[.07038074], USD[0.00]                                                                                                                                Yes

07928167                              BRZ[1], BTC[.00741819], TRX[1090.81398046], USD[3.13]                                                                                                                                Yes

07928169                              AAVE[0], AVAX[0.25538430], BTC[0], DOGE[0], ETH[1.08018844], ETHW[1.08018844], GRT[0], USD[0.00]

07928170                              NFT (337700633479347241/Imola Ticket Stub #710)[1]                                                                                                                                   Yes

07928181                              DOGE[2050.48547554], SHIB[2], TRX[1201.88908941], USD[0.40]                                                                                                                          Yes

07928195                              DOGE[2], USD[0.42]                                                                                                                                                                   Yes

07928198                              BTC[0], ETHW[.0168442], MATIC[9.9905], PAXG[0], USD[0.00]

07928202                              USD[223.84], USDT[167.40950475]

07928205                              KSHIB[430], USD[0.59]

07928207                              BTC[.00089846], CUSDT[3], DOGE[104.93359784], SHIB[504622.06580848], USD[0.01]                                                                                                       Yes

07928211                              ETH[0], SOL[0]

07928217                              USD[0.25]

07928219                              ETH[.111943], ETHW[.111943], SOL[2.26891], USD[4.86]

07928220                              NFT (308782367278956468/Warriors 75th Anniversary Icon Edition Diamond #494)[1], NFT (469403144832495672/Microphone #433)[1]

07928223                              USD[500.00]

07928224                              BAT[2.09474736], BCH[.0938099], BRZ[53.98385411], BTC[.00176638], CUSDT[101.76694064], DAI[.05246543], DOGE[190.12453691], ETH[.02151676], ETHW[.02124863], KSHIB[96.93940498],      Yes
                                      LINK[1.12336745], MATIC[.60233715], SHIB[340107.84722108], SOL[.05151165], SUSHI[.28297489], TRX[95.11766374], UNI[.25319098], USD[10.62], USDT[2.1610785]
07928228                              BAT[0], BTC[0.00294837], CUSDT[0], DOGE[0], ETH[0], EUR[0.00], LTC[0], MATIC[0], SHIB[1], SOL[0], SUSHI[0], TRX[0], USD[46.54]                                                       Yes

07928251                              BTC[.00048752], CUSDT[5], DOGE[.00004244], LINK[.39794964], MATIC[17.0217909], SOL[.16732888], USD[2.56]                                                                             Yes

07928260                              BAT[53.40798961], BRZ[1], BTC[.0009357], CUSDT[6], DOGE[257.1870103], ETH[.01669639], ETHW[.01649119], LTC[1.44688178], SHIB[1246360.86225181], SOL[.25483342], TRX[965.26646815],   Yes
                                      USD[0.00]
07928264                              BAT[1], BCH[0], CUSDT[1], DOGE[0], ETH[0.27167137], ETHW[0.27147793], MATIC[0], SHIB[2], SOL[17.06616306], TRX[0], USD[0.00], USDT[0.00000136]                                       Yes

07928267                              USD[8.88]                                                                                                                                                                            Yes

07928269                              ETH[.00000001]                                                                                                                                                                       Yes

07928271                              BRZ[6.3567788], CUSDT[14], DOGE[3], GRT[1], SHIB[3], USD[0.03]                                                                                                                       Yes

07928280                              ETH[0], SOL[0], USD[0.00]

07928286                              CUSDT[1], MATIC[0.00054272], USD[0.00]                                                                                                                                               Yes

07928304                              ETH[0], ETHW[0], SOL[0], USD[69.25], WBTC[0]

07928311                              USD[0.00]

07928312                              BRZ[554.93680785], CUSDT[4], DAI[98.12038435], DOGE[729.39825529], TRX[2813.89251284], USD[0.00]                                                                                     Yes

07928313                              USD[16.16]                                                                                                                                                                           Yes

07928318                              AVAX[.00028286], BTC[.10054165], ETH[.00000001], ETHW[12.14193233]                                                                                                                   Yes

07928326                              BRZ[1], ETH[.02823386], ETHW[.02787989], USD[0.06]                                                                                                                                   Yes

07928336                              CUSDT[1], SHIB[1], USD[0.01]                                                                                                                                                         Yes

07928340                              BTC[.00000001], DOGE[3], SHIB[1], SOL[0.00001326], TRX[.00369414], USD[189.40], USDT[0]                                                                                              Yes

07928343                              BAT[1.00639827], BRZ[5.02003996], BTC[.00000122], CUSDT[2], GRT[1.00016378], SHIB[2], TRX[5], USD[3.03], USDT[1.06221565]                                                            Yes

07928348                              BTC[.00061473], CUSDT[2], DOGE[152.57472518], USD[0.02]

07928352       Contingent, Disputed   BTC[.57290581], CUSDT[1], LINK[721.53634774], NFT (572020712849028788/Paris )[1], SOL[66.50149806], TRX[1], USD[0.02]                                                                Yes

07928367                              CUSDT[13], DOGE[.00289815], ETH[.00000022], ETHW[.00000022], SHIB[2588455.52385434], SOL[1.10120906], TRX[1], USD[0.00]                                                              Yes

07928388                              DOGE[1], USD[0.00]

07928395                              CUSDT[8], DOGE[1], SHIB[1321685.48882175], TRX[1], USD[0.00]

07928400                              BTC[.0191808], ETH[.250749], ETHW[.250749], USD[37.59]

07928408                              BAT[26.74761626], BTC[.00089284], CUSDT[8], DOGE[40.88450263], ETH[.00476487], ETHW[.00471015], LTC[.45819519], SOL[.06303596], USD[5.50], USDT[75.81587443]                         Yes

07928410                              BRZ[1], BTC[.0129492], DOGE[7.00057537], ETH[.40683075], ETHW[.40665999], MATIC[.00103231], SHIB[57], USD[0.00]                                                                      Yes

07928418                              SOL[1.3283], USD[1.08]

07928421                              USD[0.00]                                                                                                                                                                            Yes
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                                                                                                                                            Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07928430                              BTC[.00180481], DOGE[1], USD[0.00]                                                                                                                                                 Yes

07928432                              BAT[1.00340689], MATIC[1.00138089], USD[0.01]                                                                                                                                      Yes

07928433                              BAT[1.00142558], CUSDT[2], ETH[0.10706794], ETHW[0.10598134], TRX[1], USD[0.21]                                                                                                    Yes

07928446                              AVAX[0], BTC[0], DOGE[0], ETH[0], SHIB[1], SOL[0], USD[0.00], USDT[0]                                                                                                              Yes

07928458                              DOGE[399.49828162], USD[0.00]

07928461                              SOL[2.55074], USD[0.11]

07928462                              BTC[.3238], USD[3.89]

07928465                              BTC[.02674644], CUSDT[1], ETH[1.78110151], ETHW[1.7803535], GRT[1.00019173], MATIC[484.73293616], USD[0.00]                                                                        Yes

07928470                              NFT (333541128241836442/Bahrain Ticket Stub #2356)[1]

07928478                              BF_POINT[200], DOGE[1], SHIB[1], SUSHI[1.04434363], TRX[1], USD[10.17]                                                                                                             Yes

07928480                              CUSDT[1], USD[0.00]                                                                                                                                                                Yes

07928484                              BRZ[1], USD[0.00]

07928488                              BAT[4.12380704], BRZ[2], BTC[0.01145417], CUSDT[2], DOGE[5], ETHW[1.22806688], GRT[1.00013909], LINK[.00055321], NFT (500547187981041256/Humpty Dumpty #1375)[1], SHIB[4],         Yes
                                      SOL[0.00000001], USD[0.00], USDT[0]
07928491                              BRZ[4], BTC[.00359707], CUSDT[23], ETH[.03807583], ETHW[.03760219], GRT[166.869441], SHIB[.00000415], SOL[.81396514], TRX[141.93521912], USD[276.09]                               Yes

07928494                              BTC[.00002], USD[8.27]

07928505       Contingent, Disputed   USD[0.12], USDT[0]

07928511                              NFT (297314908891941334/Coachella x FTX Weekend 1 #20853)[1]

07928512                              NFT (319906388871293895/Eitbit Ape #519)[1], NFT (435647757914428021/SOLYETIS #8106)[1], NFT (455288362876668887/SharkBro #9934)[1], NFT (488280530118956271/DOTB #4031)[1], NFT   Yes
                                      (496221540968799202/DOTB #4104)[1], NFT (527157501346468281/Sigma Shark #2595)[1], NFT (544851178086263056/DarkPunk #4534)[1], NFT (557257171131078964/Solana Penguin #2197)[1],
                                      SHIB[3], SOL[6.24830650], TRX[1], USD[0.00]
07928515                              USD[0.00]                                                                                                                                                                          Yes

07928530                              USD[0.00]

07928541                              BTC[.00731462], CUSDT[2], DOGE[208.62372887], USD[0.01]

07928546                              BTC[0], USD[0.31]

07928556                              BTC[.30595363], CUSDT[1], DOGE[1], SHIB[2], TRX[5], USD[0.00]

07928567                              BTC[0], SOL[.0072288], USD[0.00]

07928571                              ETH[0], SOL[165.883815]

07928587                              MATIC[68.43426721], USD[0.00]

07928591                              SOL[0], TRX[0], USD[0.21]                                                                                                                                                          Yes

07928592                              BRZ[1], SHIB[4], TRX[1], USD[0.55], USDT[1.02543197]                                                                                                                               Yes

07928600                              BTC[0], ETH[.00000002], ETHW[.00000002], USD[0.00]                                                                                                                                 Yes

07928602                              NFT (451237155274051868/GSW Western Conference Finals Commemorative Banner #1756)[1], NFT (511181568272255186/GSW Championship Commemorative Ring)[1], NFT
                                      (516004312027477536/GSW Western Conference Finals Commemorative Banner #1755)[1], NFT (536667165333982575/GSW Western Conference Semifinals Commemorative Ticket #890)[1], NFT
                                      (536753327234708944/Warriors Logo Pin #31)[1], USD[0.01]
07928619                              CUSDT[1], USD[11.44]                                                                                                                                                               Yes

07928639                              USD[0.01]                                                                                                                                                                          Yes

07928645                              CUSDT[1], TRX[1], USD[0.01]

07928658                              USD[4.36]                                                                                                                                                                          Yes

07928675                              BF_POINT[200]                                                                                                                                                                      Yes

07928681                              SOL[25.12693562], USD[0.00]

07928682                              DOGE[1], SHIB[7916402.78657378], USD[0.00]

07928686                              USD[0.01]

07928697                              BRZ[1], KSHIB[9848.73524511], USD[783.06]                                                                                                                                          Yes

07928711                              USD[2.88]

07928729                              CUSDT[4], DOGE[.00178917], USD[0.00]                                                                                                                                               Yes

07928731                              SHIB[1], TRX[1], USD[588.46]                                                                                                                                                       Yes

07928744                              BTC[.00887793], CUSDT[1], USD[0.00]                                                                                                                                                Yes

07928748                              BTC[0], ETH[.001], ETHW[.001], TRX[.000003]

07928758                              BTC[.00016433], USD[0.00]                                                                                                                                                          Yes

07928764                              USDT[0.00000161]

07928771                              DOGE[1], ETH[.00000029], ETHW[.76678186], SHIB[7], TRX[.000127], USD[0.00]                                                                                                         Yes

07928777                              EUR[1.88], USD[0.00]                                                                                                                                                               Yes

07928778                              USD[0.00]

07928779                              BTC[.16]

07928781                              ETHW[100.69396], USD[0.05]

07928784                              ETH[.072], ETHW[.072], USD[0.00], USDT[2.38600459]

07928800                              USDT[0.00000197]

07928807                              SOL[.049995]

07928816                              USD[29.17]

07928817                              CUSDT[7], ETH[.00000013], ETHW[.00000013], SOL[.00000344], USD[0.00]                                                                                                               Yes
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                                                                                                                                         Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07928820                           CUSDT[1], USD[0.00]                                                                                                                                                                  Yes

07928823                           DOGE[423.96152806], SHIB[640339.1133284], USD[0.00]                                                                                                                                  Yes

07928848                           CUSDT[1], ETH[.94177767], ETHW[.94177767], USD[0.00]

07928854                           ETH[.00093859], ETHW[0.00093858], SOL[.2], TRX[.000001], USD[0.00]

07928857                           GRT[.58184039], USD[0.12]

07928866                           USD[0.00]

07928878                           USD[0.00]

07928879                           AVAX[.29251884], MATIC[.56184295], SHIB[2], TRX[1], USD[0.00]

07928898                           AVAX[25.6743], BTC[.1382616], ETH[4.221774], ETHW[4.221774], SOL[100.77895117], USD[4.59]

07928901                           MATIC[6217.20668687]                                                                                                                                                                 Yes

07928913                           DOGE[1], TRX[1.000001], USD[0.00], USDT[0.00000001]

07928915                           ETH[.00000067], ETHW[.00000067], NFT (412009424139781333/Saudi Arabia Ticket Stub #1014)[1], TRX[1], USD[0.01]                                                                       Yes

07928916                           ETH[.49404], ETHW[.49404]

07928919                           BF_POINT[400], BRZ[1], BTC[0], ETH[0], KSHIB[3.11729643], LINK[0], NFT (299548775471813574/World of Pixel #18)[1], NFT (335463900254342355/Decisions #3)[1], NFT                      Yes
                                   (344265346249031723/Dragon Avatar #26)[1], NFT (355632898759088396/Reincarnation #2)[1], NFT (359052745867585084/Surreal World #9)[1], NFT (366575637611919856/SKULL-BIT #10)[1], NFT
                                   (395993694105279498/Deer Polly)[1], NFT (405274875444894374/Decisions #4)[1], NFT (406139916544028375/NFT Toys #6)[1], NFT (422345857766879223/NFT Toys #9)[1], NFT
                                   (444977777749693610/Surreal World #27)[1], NFT (466560181807282833/Crypto Avatar Art #38)[1], NFT (469754526441154885/Reincarnation #1)[1], NFT (480913709158036779/NFT Toys #5)[1],
                                   NFT (481751653368494341/Bridge and Waterfall)[1], NFT (482003366060361389/Terminator)[1], NFT (490082670314507238/Cherry Tree)[1], NFT (506081359248294591/SKULL-BIT #7)[1], NFT
                                   (516353678232978468/SKULL-BIT #1)[1], NFT (519977944518938346/Decisions)[1], NFT (536647464010297640/Surreal World)[1], NFT (543627279636489497/Dragon Avatar #35)[1], NFT
                                   (549892713207101476/Doge)[1], NFT (550701376988963221/Decisions #6)[1], NFT (554501097725188540/Harry Potter FMS)[1], NFT (562165605170706287/Decisions #7)[1], NFT
                                   (563720051388415193/Crypto Avatar Art #35)[1], NFT (565139176056372242/Gravity)[1], NFT (565373241097119301/Egg #0030 )[1], NFT (570873324396802447/BANANA #10)[1], NFT
                                   (571193872989801859/BANANA #1)[1], SHIB[2], SOL[.00002219], TRX[1], USD[32.18], USDT[0]
07928928                           ETH[0], ETHW[0], SOL[0], USD[0.00], WBTC[0]

07928931                           AVAX[0], BRZ[5], DOGE[11.02564618], GRT[1], KSHIB[0], MATIC[0], NFT (315122018186108572/2D SOLDIER #2159)[1], NFT (355907798830166047/Entrance Voucher #2751)[1], SHIB[0],           Yes
                                   SOL[0.00005417], SUSHI[0], TRX[5], USD[0.00]
07928933                           BTC[.00169711], CUSDT[3], USD[0.00]                                                                                                                                                  Yes

07928942                           NFT (385465537634312550/Shaq's Fun House presented by FTX #112)[1]

07928950                           AAVE[.00999], USD[2.11], USDT[0.00000001]

07928961                           BTC[.00028178]

07928963                           USD[15.14]

07928964                           BTC[.00233027], SHIB[2], USD[50.00], USDT[0.00003162]

07928965                           USD[10.79]                                                                                                                                                                           Yes

07928969                           SOL[.00000001], USD[1.30]

07928987                           BTC[.00006668], USD[0.01]                                                                                                                                                            Yes

07928991                           ETH[.23809223], ETHW[.23789259]                                                                                                                                                      Yes

07928992                           BRZ[83.65294752], CUSDT[5], DOGE[102.78689532], TRX[1210.26560221], USD[0.00]                                                                                                        Yes

07928996                           BTC[0]

07929014                           BTC[.00008989], DOGE[1], USD[18.99]                                                                                                                                                  Yes

07929060                           NFT (393672921964523871/Good Boy #17803)[1]

07929074                           ETH[0], USD[0.00]

07929080                           BTC[0], SOL[0], USD[255.97]

07929085                           BTC[0.00000681], ETH[.00194449], ETHW[.00194449], LINK[1], USD[3.53]

07929108                           AAVE[2.82876], DOGE[.651], ETH[.423123], ETHW[.423123], GRT[.95], SHIB[1938500], SOL[4.10509], SUSHI[3.397], UNI[.0977], USD[7.33], YFI[.000992]

07929110                           NFT (308742194051522679/The Hellions #1740)[1]

07929111                           USD[215.91]

07929113                           NFT (300276001564752366/Birthday Cake #0586)[1], NFT (312136388524975035/The 2974 Collection #0586)[1], NFT (453643289292217722/2974 Floyd Norman - OKC 4-0009)[1]

07929124                           DOGE[1], USD[0.00]

07929133                           CUSDT[1], DOGE[90.9090859], USD[0.00]                                                                                                                                                Yes

07929135                           BTC[0.00000068], SOL[0], USDT[1.08232540]                                                                                                                                            Yes

07929137                           CUSDT[2], USD[0.00]                                                                                                                                                                  Yes

07929138                           SHIB[4], USD[0.00]                                                                                                                                                                   Yes

07929144                           CUSDT[2], USD[0.00]                                                                                                                                                                  Yes

07929150                           ETH[0], SOL[1.001395], USD[0.90]

07929157                           BTC[0], TRX[0], USD[0.00]                                                                                                                                                            Yes

07929168                           BTC[0], ETH[.00000001], ETHW[0]

07929175                           BRZ[2], BTC[0], CUSDT[4], DOGE[7.00057537], SHIB[7], TRX[4], USD[0.00]                                                                                                               Yes

07929184                           ETH[0], USD[0.00]                                                                                                                                                                    Yes

07929185                           SOL[0], USD[1.39]

07929186                           BTC[.00272804], CUSDT[1], DOGE[1], ETH[.11438851], ETHW[.11438851], USD[0.00]

07929203                           BCH[.0006654], LTC[0], SOL[.00000001], USD[2.43]

07929204                           ETH[0], ETHW[0], USD[84.97], USDT[0.00000985]

07929207                           BAT[0.00921310], BRZ[.00019969], CUSDT[.00072031], ETH[.00000001], ETHW[0], NEAR[.00092131], SOL[0], SUSHI[.00092131], UNI[.00000001], USD[0.00], USDT[0.00000001]                   Yes
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                                                                                                                                            Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07929250                              NFT (460657480656907623/Australia Ticket Stub #933)[1]

07929253                              BTC[.00460327], CUSDT[1], DOGE[2], SHIB[7649825.96321461], TRX[2], USD[0.13]                                                                                                       Yes

07929272       Contingent, Disputed   SHIB[0], USD[0.00]                                                                                                                                                                 Yes

07929273                              CUSDT[1], SOL[.67391144], USD[0.00]                                                                                                                                                Yes

07929283                              ETHW[1.43582], USD[1.11]

07929317                              NFT (356912520549540999/Belugie #3799)[1]

07929337                              SOL[.03322724], USD[1.02]

07929352                              USD[2.01]

07929369                              USD[0.00], USDT[0]

07929375                              USD[5.21]                                                                                                                                                                          Yes

07929385                              USD[0.32]                                                                                                                                                                          Yes

07929399                              ETH[.02070997], ETHW[.02070997], SHIB[400000], SOL[.2005433], USD[0.00]

07929401                              MKR[.00004242]                                                                                                                                                                     Yes

07929417                              USD[0.00]

07929419                              ALGO[1438.704], BTC[.06967444], DOGE[1847.3359], ETH[.44291], ETHW[.44291], MATIC[7215.761], SHIB[1698650], SOL[36.4274], TRX[2433.8076], USD[0.02]

07929420                              USD[0.00]                                                                                                                                                                          Yes

07929435                              USD[0.02]                                                                                                                                                                          Yes

07929444                              DOGE[1], USD[0.00]

07929473                              USD[0.00], USDT[0.00052386]

07929482                              USD[2.03]                                                                                                                                                                          Yes

07929494                              USD[0.00], USDT[.13218058]

07929500                              ETH[.00000001], NFT (297851294953132296/GSW Western Conference Finals Commemorative Banner #1620)[1], NFT (335592934911235191/GSW Championship Commemorative Ring)[1], NFT
                                      (380754821546172983/GSW Round 1 Commemorative Ticket #618)[1], NFT (434338405661058313/Warriors Logo Pin #529 (Redeemed))[1], NFT (452651216382249514/GSW Western Conference
                                      Finals Commemorative Banner #1619)[1], NFT (508215023846185364/GSW Western Conference Semifinals Commemorative Ticket #829)[1], USD[55.27]
07929503                              USD[0.00]                                                                                                                                                                          Yes

07929540       Contingent, Disputed   USD[0.00]                                                                                                                                                                          Yes

07929560                              BTC[.00000004], CUSDT[1], SOL[0.00000001]                                                                                                                                          Yes

07929564                              BRZ[1], CUSDT[1], DOGE[1], EUR[0.00], SOL[29.25400692]                                                                                                                             Yes

07929567                              BCH[.00156855], BRZ[2.77830318], BTC[.00022605], CUSDT[450.2995133], DOGE[1], ETH[.00095259], ETHW[.00095259], HKD[7.70], SHIB[175745.662344], SOL[.02471257], SUSHI[.08506294],
                                      TRX[40.76018984], USD[0.00]
07929571                              USD[0.00]

07929572                              ETH[.00404732], ETHW[.004], USD[1.13]                                                                                                                                              Yes

07929581                              USD[0.00]                                                                                                                                                                          Yes

07929589                              USD[1.15]

07929591                              USD[3.90]

07929598       Contingent, Disputed   ETH[.00000001], ETHW[0], SHIB[946.32975691], USD[0.00], USDT[0]                                                                                                                    Yes

07929600                              AVAX[.00000001], SOL[0], USD[0.01], USDT[0]

07929612                              ETH[.00000003], ETHW[0.00000002], TRX[.000045], USD[0.01]                                                                                                                          Yes

07929615                              USD[130.00]

07929623                              NFT (421215302350397725/Entrance Voucher #1838)[1], SOL[0], USD[2.38]

07929635                              LINK[10.1998], USDT[.4787266]

07929636                              USD[1000.00]

07929641                              SOL[.005]

07929656                              ETH[.00800001], ETHW[0.00027700], LTC[.00357643], SOL[0], TRX[.011491], USD[0.00], USDT[0.87202880]

07929658                              BTC[.00158264], TRX[1], USD[0.00]

07929668                              USD[2.50]

07929669                              NFT (290050831631124341/Pesky Penguins #6660)[1], NFT (309460297955408449/Pesky Penguins #7952)[1], NFT (325060623004204125/Pesky Crystal)[1], NFT
                                      (325971168260665823/PeskyPenguins.io)[1], NFT (392919949420095268/MagicEden Vaults)[1], NFT (400415465657823421/MagicEden Vaults)[1], NFT (471712148558512718/Invitation: Royal
                                      Bears)[1], NFT (475580737373869813/Penguin Brawler #2821)[1], NFT (507956373949280625/Pesky Penguins #7507)[1], NFT (513717935870759885/MagicEden Vaults)[1], NFT
                                      (516464194369507190/MagicEden Vaults)[1], NFT (558821948265885282/MagicEden Vaults)[1]
07929671                              BCH[0], ETH[.00000001], ETHW[0]

07929685                              SOL[.00065986]

07929690                              ETHW[1.31250913], NFT (434436429279826749/Resilience #39)[1], NFT (472673482982616828/Serum Surfers X Crypto Bahamas #107)[1], SHIB[5], USD[3.94], USDT[0.29124813]                Yes

07929699                              USD[0.00]

07929702                              USD[2.18]                                                                                                                                                                          Yes

07929739                              USD[0.01]                                                                                                                                                                          Yes

07929741                              NFT (550542082265267627/Bahrain Ticket Stub #1971)[1]

07929753                              CUSDT[2], USD[0.00], USDT[0]                                                                                                                                                       Yes

07929770                              ETH[.000892], ETHW[.000892]

07929771                              BAT[221], BCH[.807], DOGE[1000], ETH[.25], ETHW[.25], MATIC[50], SHIB[4500000], SOL[3.1], USD[15.84]

07929778                              BRZ[1], DOGE[1], LINK[.00039384], MATIC[.00337749], SHIB[2], TRX[1], USD[0.59]                                                                                                     Yes

07929779                              NFT (548068348780608739/Warriors Gold Blooded NFT #604)[1]                                                                                                                         Yes
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07929785                              USD[357.08]

07929786                              USD[5.11]

07929792                              BTC[0], TRX[1]

07929794                              USD[102.66]                                                                                                                                                                           Yes

07929809                              SOL[.00000001], USD[0.00]

07929812                              USD[26.88]

07929813                              MATIC[0], TRX[0.00000083]

07929838                              MATIC[.00455257], SOL[8.51766285]                                                                                                                                                     Yes

07929846                              ALGO[115.44944706], AVAX[9.26774546], BAT[5.06837852], BF_POINT[100], BRZ[64.79998746], CUSDT[55.40432919], DOGE[813.19082008], ETH[.01268746], ETHW[.01252896],                      Yes
                                      LINK[38.73921412], LTC[1.08758843], NEAR[24.7519693], SHIB[32664787.9425337], SOL[5.53009421], SUSHI[23.30915152], TRX[1475.10953545], UNI[1.09786479], USD[0.00], USDT[0]
07929854                              BRZ[1], SHIB[7], SOL[.00006276], TRX[1], USD[0.00]                                                                                                                                    Yes

07929860                              BTC[0.00000002], USD[0.00]                                                                                                                                                            Yes

07929865                              USD[0.10]

07929870                              USD[1.76]

07929872                              SOL[.224]

07929873                              NFT (426534011226707468/Megalodon Rogue Shark Tooth)[1], USD[7.89]

07929880                              CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                          Yes

07929886                              BTC[.0825], USD[8502.04]

07929895                              SOL[2.02107102], USD[27.00]

07929907                              USD[21.71]                                                                                                                                                                            Yes

07929913                              BTC[0], USD[5.46], USDT[.01822888]

07929932                              BTC[.00617312], TRX[.000017], USD[0.00], USDT[0]

07929934                              ALGO[86.36788801], BAT[2.00684877], BRZ[7.1204203], BTC[0.11438410], CUSDT[36], DOGE[8.03999905], ETH[1.05004791], ETHW[.65774741], GRT[1], NFT (330368596301550954/Gentleman         Yes
                                      Monkey #10)[1], NFT (505489430040943856/Marilyn Monroe Set #2)[1], NFT (510582046990575311/Toby )[1], NFT (517483169548407080/Thomas Jefferson Set #1)[1], NFT
                                      (533006468693730277/The Mick)[1], NFT (539778981107320796/Famous Pack #2)[1], NFT (559663251602282317/BitCoin Art #9)[1], SHIB[6], SOL[5.63888678], TRX[.00876441], USD[0.00],
                                      USDT[1.00058465]
07929942                              NFT (349505239816799536/Cosmic Creations #462)[1], NFT (410854331320410070/Golden Hill #499)[1], NFT (462932801148328589/Reflection '11 #43)[1], NFT (477770334099249524/Reflector
                                      #938)[1], TRX[2604.08490260], USD[0.00]
07929952                              ALGO[0], AVAX[3.012544], BTC[0], MATIC[76.13088163], NFT (296952529830020362/Entrance Voucher #3280)[1], NFT (341979461630928597/The Hill by FTX #2356)[1], NFT                       Yes
                                      (345977191602885821/Barcelona Ticket Stub #820)[1], NFT (371677619537262606/FTX Crypto Cup 2022 Key #1001)[1], NFT (405712487293368596/Imola Ticket Stub #742)[1], NFT
                                      (407583622347866548/The Hill by FTX #199)[1], NFT (416913590618131419/FTX Crypto Cup 2022 Key #350)[1], NFT (421635228982967237/The Hill by FTX #2812)[1], NFT
                                      (458937220773240053/The Hill by FTX #1078)[1], NFT (531500089471942680/FTX Crypto Cup 2022 Key #1002)[1], USD[411.12]
07929970                              BAT[1.01646207], TRX[2], UNI[1.07012063], USD[0.00]                                                                                                                                   Yes

07929977                              BRZ[1], BTC[.00080891], CUSDT[1], DOGE[182.11329807], USD[0.01]

07929985                              GRT[1158.7090343], LINK[16.7621235], SHIB[10901164.6795082]                                                                                                                           Yes

07929988       Contingent, Disputed   BRZ[1], CUSDT[6], DOGE[3], NFT (308133668932139650/Rubber Duckie #0131)[1], NFT (333109460919388248/Surreal World #31)[1], NFT (345680102318358494/StarAtlas Anniversary)[1], NFT     Yes
                                      (371060049011955538/Egg #0009)[1], NFT (378055534004276149/StarAtlas Anniversary)[1], NFT (408902257150312154/Carmen #6)[1], NFT (420600423586566413/StarAtlas Anniversary)[1], NFT
                                      (425089703403666003/StarAtlas Anniversary)[1], NFT (441186613829528611/StarAtlas Anniversary)[1], NFT (462718003211409879/Egg #0029 )[1], NFT (485985478654406838/StarAtlas
                                      Anniversary)[1], NFT (519608115974015888/Yeti #0012 - Lucky)[1], NFT (529407858643658583/Neighbor #007)[1], NFT (531132650697234468/StarAtlas Anniversary)[1], NFT
                                      (534439192946227939/StarAtlas Anniversary)[1], NFT (564485822481449987/Rubber Duckie #0044)[1], SHIB[1], SOL[0], TRX[4.000123], USD[3.48], USDT[771.79300986]
07930006                              BTC[0], LTC[0], USD[0.10], YFI[0]                                                                                                                                                     Yes

07930011                              AAVE[7.78], BTC[0.14640000], ETH[.869], ETHW[.869], LINK[150.3], LTC[5.99], MATIC[1610], PAXG[.1377], SHIB[2446730], SOL[12.9], UNI[82.1], USD[-4176.38]

07930018                              BCH[.38145421], BRZ[92.46848325], BTC[.00561164], CUSDT[7370.74483086], DOGE[16424.77550204], SHIB[5123889.16066272], SOL[13.56388635], TRX[727.31955486], USD[20.67]                 Yes

07930025                              CUSDT[1], DOGE[0.00102005], ETH[0.00000002], ETHW[0.00000002], MATIC[0], SOL[.0000007]                                                                                                Yes

07930028                              BRZ[2], CUSDT[4], DOGE[1], ETH[0], ETHW[0], GRT[1], NFT (290924998654732355/Gray Beans)[1], SOL[0.00162184], TRX[4], USD[0.00], USDT[3.00333727]

07930029                              USD[10.00]

07930032                              BAT[1], BTC[0], DOGE[7], ETH[0], ETHW[2.12636069], SHIB[8], TRX[1], USD[512.82], USDT[0]                                                                                              Yes

07930036                              USD[0.00]

07930039                              ETH[0.00289655], ETHW[0.00289655]

07930041                              USD[4.25]

07930044                              NFT (540639690124760011/The Hill by FTX #8155)[1]

07930050                              SOL[.06214577]

07930052                              BTC[.09903367], ETH[4.91283166], ETHW[4.91076834], SUSHI[1.0680969], TRX[1], USD[0.03]                                                                                                Yes

07930053                              USD[0.00]

07930061                              CUSDT[2], DOGE[0], SOL[0], TRX[1.000001], USDT[0.00000064]                                                                                                                            Yes

07930073                              BCH[.00808036], SGD[44.84], SHIB[199800], USD[0.00]

07930081                              BTC[.01485559]

07930084                              BTC[.0003199], CUSDT[1], USD[0.00]                                                                                                                                                    Yes

07930085                              ETH[.020979], ETHW[.020979], USD[4.96], USDT[44.97]

07930087                              DOGE[1], USD[0.00]                                                                                                                                                                    Yes

07930088                              CUSDT[1], USD[0.00]                                                                                                                                                                   Yes

07930096                              USD[0.00]

07930098                              DOGE[698], SOL[5.35382], USD[1.25], USDT[0]

07930103                              BTC[0.00000689], ETH[0], USD[0.00], USDT[.00372]
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                                                                                                                                            Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07930106                              BAT[0], BTC[0.00011480], LTC[0], USD[0.74]

07930110                              SOL[1.11569777], USD[0.10]                                                                                                                                                                 Yes

07930130                              CUSDT[5], GRT[52.41547447], SHIB[932757.31444004], TRX[1], USD[0.00]                                                                                                                       Yes

07930138                              BTC[.00044975], CUSDT[8], DOGE[2], ETH[.00556854], ETHW[.00550014], LTC[.19467971], PAXG[.10296653], TRX[1.00252104], UNI[.61009059], USD[217.20], USDT[164.90146419]                      Yes

07930154                              AAVE[0], LINK[.00000001], UNI[0], USD[0.00]                                                                                                                                                Yes

07930160                              BTC[.00007334], CUSDT[9], ETH[.00692047], ETHW[.00683839], SHIB[2], USD[0.00]                                                                                                              Yes

07930164                              MATIC[.1]

07930177                              SOL[1.00000001], USD[27661.08]

07930193                              NFT (449326507970759285/Saudi Arabia Ticket Stub #2372)[1]

07930199                              CUSDT[1], ETHW[.69786165], GRT[1.00176672], TRX[1], USD[0.01]                                                                                                                              Yes

07930203                              SOL[0.28168896], USD[0.00]

07930204                              USD[0.00], USDT[0]

07930205                              NFT (336242278350516469/Munk #3541)[1], NFT (353622498326280259/Munk #3540)[1], USD[0.87]

07930206                              USD[0.00], USDT[0.49686660]

07930211                              NFT (304360819216107697/Birthday Cake #2452)[1], NFT (356423328908394903/The 2974 Collection #2452)[1], USD[0.00]

07930227                              USD[1.16]

07930239                              CUSDT[1], TRX[147.64156151], USD[4.73]

07930242                              USD[0.00]

07930244                              USDT[2.71255416]

07930247                              USD[0.54]

07930249                              NFT (331319425424582160/FTX - Off The Grid Miami #355)[1]

07930263                              SOL[.1]

07930273                              NFT (426249621133315876/Entrance Voucher #4860)[1]

07930277                              BTC[0.00029281], CUSDT[10], NFT (515818909604366292/Future is bright)[1], NFT (557955103337041706/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #91)[1], NFT   Yes
                                      (561328236175887706/Marcus Allen's Playbook: Seattle Seahawks vs. Los Angeles Raiders - October 7, 1984 #65)[1], TRX[.00830475], USD[0.00]
07930280       Contingent, Disputed   TRX[1], USD[0.00]                                                                                                                                                                          Yes

07930288                              USD[0.11]

07930303                              USD[10.89]                                                                                                                                                                                 Yes

07930305                              ETH[.00300001], ETHW[0.00300000], SOL[0]

07930316                              NFT (342320039727713844/Skyline FLP)[1]

07930331                              NFT (305102104871816787/MagicEden Vaults)[1], NFT (325539022936858118/MagicEden Vaults)[1], NFT (386762994053919729/2974 Floyd Norman - OKC 3-0108)[1], NFT
                                      (388561005003437441/MagicEden Vaults)[1], NFT (421637432858334953/The 2974 Collection #0227)[1], NFT (436360918376880328/MagicEden Vaults)[1], NFT (467267256535753920/Birthday Cake
                                      #0227)[1], NFT (488191978912529631/MagicEden Vaults)[1], USD[1.00]
07930336                              USD[0.02], USDT[0.00000014]

07930340                              USD[450.00]

07930347                              BAT[9.991], SHIB[2797660], SOL[.049955], USD[19.82], USDT[11.56]

07930352                              TRX[1], USD[0.00]

07930354                              BRZ[1], BTC[.00032129], CUSDT[2], USD[25.18]                                                                                                                                               Yes

07930355                              AVAX[206.39920963], BRZ[2], GRT[2], KSHIB[712.28839946], SHIB[22297623.47272358], SOL[4.72246209], TRX[2], USD[0.00]                                                                       Yes

07930372                              TRX[524.083714]

07930379                              ETHW[3.00095936], USD[0.01]

07930380                              ETH[.0001], ETHW[6.8901], SOL[.00473], USD[12509.75]

07930388                              NFT (456619220365039655/Reflector #262)[1], USD[1.67]

07930394                              USD[0.64]

07930396                              USD[0.00]

07930398                              BTC[.00321449], CUSDT[4], DOGE[2], SOL[5.90829267], TRX[1], USD[0.02]                                                                                                                      Yes

07930408                              BRZ[1], SOL[.00629], USD[0.00]

07930412                              NFT (351887281196101036/Mech #5308)[1], SOL[.47]

07930416                              BAT[21.4734938], BRZ[151.35480744], CUSDT[5], DAI[16.15101758], DOGE[60.87897643], GBP[11.79], KSHIB[170.32609441], LTC[.56341856], MATIC[13.18280159], SHIB[188535.06338591],             Yes
                                      TRX[3], USD[0.04]
07930418                              BTC[.00008034], USD[0.40], USDT[0]

07930426                              BTC[0], UNI[.00000001]

07930429                              USD[0.00]                                                                                                                                                                                  Yes

07930432                              SOL[0]

07930434                              SHIB[26928.06130903], USD[0.00]                                                                                                                                                            Yes

07930442                              ALGO[0], ETHW[.00004567], MATIC[0], SUSHI[0], USD[0.00], USDT[.00015832]                                                                                                                   Yes

07930449                              CUSDT[0], ETH[0], KSHIB[0], SOL[0], USD[0.00], USDT[0]                                                                                                                                     Yes

07930453                              ETH[0], ETHW[0], MATIC[0], SOL[0], USD[0.00]

07930455                              MATIC[0], TRX[1], USD[0.13]                                                                                                                                                                Yes

07930467                              BTC[.00005648], USD[0.05]

07930477                              BTC[0], CUSDT[0], NFT (429268803364880484/Saudi Arabia Ticket Stub #592)[1], USD[0.00]                                                                                                     Yes
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                                                                                                                                           Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or       Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07930481      Contingent, Disputed   USD[0.33]

07930482                             ETH[.00000001], ETHW[0], SHIB[0], USD[0.00]                                                                                                                                            Yes

07930485                             BAT[0], BTC[0], DAI[0], DOGE[0], ETH[0], ETHW[0], GRT[0], KSHIB[0], MATIC[0], SOL[0], TRX[0], UNI[0], USD[0.00], USDT[0.00000001]                                                      Yes

07930499                             NFT (307622004100218433/The Hill by FTX #6926)[1], NFT (360407756621815553/Holy Unicorn Edition #2)[1], NFT (398463965551339495/FTX Crypto Cup 2022 Key #2937)[1], NFT
                                     (479979009261517800/Holy Unicorn Edition #5)[1], NFT (489325545372099675/Barcelona Ticket Stub #1080)[1], NFT (556480902364974375/FTX EU - we are here! #250290)[1], SOL[.00000001],
                                     USD[0.00]
07930504                             BTC[.00041609], CUSDT[2], DOGE[1], SHIB[28051188.11275664], TRX[1], USD[0.89], USDT[1.08630824]                                                                                        Yes

07930506                             USD[0.84]

07930507                             USD[802.14]

07930512                             USDT[4.94190110]

07930529                             ETHW[1.8437318], MKR[.0004906], TRX[.7236], USD[22395.32]

07930530                             USD[1.33]

07930534                             BTC[.00006295]

07930535                             BTC[.0000959], USD[0.01]

07930537                             ETHW[0.00081752], SOL[.00321209], TRX[0], USD[0.00]

07930540                             NFT (391266566840986436/Microphone #7447)[1]

07930545                             BRZ[0], DAI[0]                                                                                                                                                                         Yes

07930548                             BRZ[1], CUSDT[2], DOGE[1], TRX[1], USD[0.00]                                                                                                                                           Yes

07930557                             SHIB[4009077.1558245], USD[0.00]

07930558                             CUSDT[1], ETH[.0000552], ETHW[4.14194036], MATIC[.00420225], USD[0.38], USDT[0.00000887]                                                                                               Yes

07930562                             NEAR[0], USD[23.35]

07930566                             USD[0.00]

07930567                             USD[0.00]

07930581                             BF_POINT[300], DOGE[1], GRT[1], TRX[3], USD[64.89]                                                                                                                                     Yes

07930592                             USD[5.44]

07930601                             ETH[.00004381], ETHW[.00004381], SOL[.3968225], USD[0.01]                                                                                                                              Yes

07930606                             BTC[0.00001883], LINK[0.03791034], SOL[0], USDT[0]

07930613                             BRZ[1], TRX[1], USD[0.00]                                                                                                                                                              Yes

07930618                             DOGE[1.05634331], ETH[0.00009287], ETHW[0.00009287], GRT[3.07087096], SHIB[273.88125971], TRX[3], USD[0.00], USDT[0.00000130]                                                          Yes

07930620                             BTC[0], CUSDT[2], DOGE[1], USD[0.00]                                                                                                                                                   Yes

07930640                             BTC[.025], ETH[.4995], ETHW[.4995], SOL[9.99], USD[2187.34]

07930645                             BTC[0], CUSDT[0], DOGE[0], MATIC[0], TRX[0], USD[0.00], USDT[0]                                                                                                                        Yes

07930673                             AAVE[39.4375835], SOL[16.164629], USD[58.72]

07930676                             ETH[0], SOL[.00000001], USD[0.00]

07930677                             BTC[.00254441], DOGE[2], MATIC[.00082017], NFT (554474203103517809/Bahrain Ticket Stub #2279)[1], SHIB[8], TRX[1], USD[0.61], USDT[0.00000042]                                         Yes

07930678                             SOL[.00168299], USD[0.55]
West Realm Shires Services Inc.                                                     Case 22-11068-JTD      Doc F-3:
                                                                                                Amended Schedule 1754      Filed
                                                                                                                    Nonpriority     06/27/23
                                                                                                                                Unsecured           Page 475 of 1384
                                                                                                                                          Customer Claims                                                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07930683                           NFT (288491345876697525/Labouring the Victory #8)[1], NFT (288922583920742433/we kept you waiting #8)[1], NFT (288951411934105231/Escape from Belfast General #2)[1], NFT
                                   (289316591527505716/Frankly Jimmy #10)[1], NFT (289407854171601740/Best of both genders #7)[1], NFT (289784637572235281/Beijing Nights #2)[1], NFT (290031083566803498/Alex looking on
                                   #2)[1], NFT (290272320403444233/Uk Senior Champion #10)[1], NFT (290345892943687646/Big Willie #3)[1], NFT (290410305366253675/Stephen #8)[1], NFT (290577601063513424/Stephen #3)[1],
                                   NFT (290910659978835809/And its goodnight from him #4)[1], NFT (290925874988751310/Remember I was champ first)[1], NFT (290931437742112438/Baize banter)[1], NFT
                                   (290988898172095985/Michaela #7)[1], NFT (291070981686497027/Continental Shift #8)[1], NFT (291528085447864680/Ni Hao)[1], NFT (291626623916600906/Focus on Me #9)[1], NFT
                                   (292087412426568273/Boxing a memory #10)[1], NFT (292520068238308929/Falcon don’t fly #9)[1], NFT (292584590467423110/Pink and Black #10)[1], NFT (292602079530477294/This one is for you
                                   #10)[1], NFT (292880710833210402/Ni Hao #3)[1], NFT (292882778975866411/Nineteen Eighty all over again #2)[1], NFT (292948076937530407/Eighty Five take two #9)[1], NFT
                                   (293128481534386307/Tin hat #3)[1], NFT (293145662058459966/Book Signing #3)[1], NFT (293222747945512478/Remember that time we… #9)[1], NFT (293341003293272369/Beijing Nights)[1], NFT
                                   (293610381834154521/Winning Combination #5)[1], NFT (293724647647760416/Ronnie #8)[1], NFT (293918037992821461/Memories of Eighty Four #10)[1], NFT (293974502720747994/Hands up is
                                   you remember eighty five #7)[1], NFT (294005771279261113/Baize banter #8)[1], NFT (294268057545266010/Champ of Champs #10)[1], NFT (294333825409289607/Ganbei)[1], NFT
                                   (294374504166536598/Mural in China #9)[1], NFT (294571601661261086/Tredegars Finest #10)[1], NFT (294766784024239736/Blowing in the Wind #2)[1], NFT (294889670091144640/I shoot you save
                                   #3)[1], NFT (295105417435056409/White Suit Kirk #4)[1], NFT (295132320469555508/Seniors Comeback #3)[1], NFT (295146724007191036/Falcon don’t fly #8)[1], NFT (295453397093941192/It still
                                   means everything #6)[1], NFT (295456424079878028/Family #5)[1], NFT (295729820739370282/Big Willie #8)[1], NFT (295764545751407655/Ball Run #3)[1], NFT (296331888890977874/Making up
                                   the rules #7)[1], NFT (297477618102868342/Mark #9)[1], NFT (297740225446487459/Theppy #8)[1], NFT (298174289863231292/Authentic #7)[1], NFT (298281789648906299/Hit it, paint it, play it
                                   #8)[1], NFT (298643080265932419/Multiple Master #4)[1], NFT (298662105852577102/Barry on the Baize #5)[1], NFT (299244457473824099/Blowing in the Wind #4)[1], NFT
                                   (300028501823643362/Continental Shift)[1], NFT (300238102076694670/Multiple Master #5)[1], NFT (300442625141047444/Seniors Comeback #8)[1], NFT (300566705989605191/Barbican District
                                   #10)[1], NFT (300601868765256200/Best of both genders #5)[1], NFT (300882514935373534/Me and the table #6)[1], NFT (300933489017444360/Tredegars Finest #3)[1], NFT
                                   (300959263811491152/Into the eye of the Hurricane #5)[1], NFT (301067249549430983/Shoot, hit and save #9)[1], NFT (301237142569277139/Nineteen Eighty all over again #5)[1], NFT
                                   (301851376753436212/Queuing up)[1], NFT (302355519925550691/The Hurricanes Last Storm #6)[1], NFT (303194580287677052/Jampot Kid #3)[1], NFT (303241580970431675/Tian Pengfei #6)[1],
                                   NFT (303357288695380877/Barry on the Baize)[1], NFT (303440877083102774/Blowing in the Wind #5)[1], NFT (303472914239023228/Griff the Quiff #10)[1], NFT (303855380309886688/And he wore
                                   pink shoes #5)[1], NFT (303920561471859934/Hands up is you remember eighty five #8)[1], NFT (303961661671397530/Two Thousand and Thirteen #4)[1], NFT (304125762672497313/A Gathering of
                                   Cue Men #10)[1], NFT (304180466615916417/Jacking up #6)[1], NFT (304638505704651784/Two Thousand and Thirteen #10)[1], NFT (305006566524885849/Memories of pleasure #9)[1], NFT
                                   (305384980911821059/I'll take a fiver to get me going.. #5)[1], NFT (305497864955445793/But did he sign)[1], NFT (305616097331929730/we kept you waiting #10)[1], NFT (305981078050747336/Hit
                                   it, paint it, play it)[1], NFT (306156661281986167/Enter the Dragon #2)[1], NFT (306234164904631216/Two Thousand and Thirteen #5)[1], NFT (306360623369999951/It still means everything)[1], NFT
                                   (306478482037951933/Reverence #10)[1], NFT (306777329577550014/Identity #7)[1], NFT (307326517371729375/Heel of the Whirlwind #9)[1], NFT (307580775504786960/Multiple Master #6)[1], NFT
                                   (307644145303323166/Baulk colour #7)[1], NFT (307659747260557890/PC David Rathband #3)[1], NFT (307821584067776456/Ganbei #4)[1], NFT (308059343131710324/Back at Ilford Snooker Club
                                   #7)[1], NFT (308141758583745964/Hirst original spin cue #5)[1], NFT (308349544241907214/The Bulldog and the Cat #10)[1], NFT (308360493409612390/This is my home #7)[1], NFT
                                   (308456691456999808/Nineteen Eighty all over again #7)[1], NFT (308706361210833404/All that Matters #6)[1], NFT (308955871810514556/Sober #10)[1], NFT (309021865718063003/Peekaboo
                                   #9)[1], NFT (309110851469468557/Ronnie #2)[1], NFT (309657073247240434/Back Home #9)[1], NFT (309995711135521670/Sharpshooter #3)[1], NFT (310608602443536033/The Great Raymondo
                                   #6)[1], NFT (310900187653676470/Brothers #8)[1], NFT (311035487883968991/Box Office #10)[1], NFT (311216092533245141/Foul Four #2)[1], NFT (311586770663417219/Davis and Higgins junior
                                   #2)[1], NFT (311623367880291969/Memories of pleasure #7)[1], NFT (311778753835038027/And he wore pink shoes #10)[1], NFT (311879236494508847/All that Matters)[1], NFT
                                   (312015546358737542/Remember that time we… #6)[1], NFT (312067341716610530/Big Willie #7)[1], NFT (312230691609008733/Heavy Lifting #8)[1], NFT (312872036541780383/Michaela #2)[1],
                                   NFT (312894079494221541/Battling a King #7)[1], NFT (313172234747717264/Back in Ilford #3)[1], NFT (313207262610217672/Chelsea Chelsea #5)[1], NFT (313296065039095303/I'll take a fiver to
                                   get me going.. #4)[1], NFT (313331681367943333/Winning Combination #2)[1], NFT (313595647610285578/Best of both genders #3)[1], NFT (313796845314079528/Memories of pleasure #10)[1], NFT
                                   (313847064011132889/This one is for you #7)[1], NFT (313881907097061827/Two Thousand and twelve #8)[1], NFT (314032020917609086/But did he sign #7)[1], NFT (314130735528083774/Enter the
                                   Dragon #7)[1], NFT (314149894080337351/King at Home #8)[1], NFT (314245407262731253/Usual or Smiling #10)[1], NFT (314255816629763844/Shoot, hit and save #10)[1], NFT
                                   (314258597562357475/Ni Hao #10)[1], NFT (314366437616288507/Back Home #4)[1], NFT (314636065639562702/Stalking #3)[1], NFT (315198948199336335/Heel of the Whirlwind #8)[1], NFT
                                   (315229822527806335/Usual or Smiling #7)[1], NFT (315566103976889031/And its goodnight from him #9)[1], NFT (315838829973838988/Ronnie #3)[1], NFT (316041654458115748/Multiple Master
                                   #10)[1], NFT (316108891345872662/Mark #4)[1], NFT (316260699431651428/Alex looking on #5)[1], NFT (316434424928487841/Baize banter #6)[1], NFT (316999445310555057/White Suit Kirk #2)[1],
                                   NFT (317368480612800292/But did he sign #10)[1], NFT (317426859287197697/When Ronnie met Tony #8)[1], NFT (317472607090405393/Remembering that time #7)[1], NFT
                                   (317674113204870609/Barbican District #2)[1], NFT (318187290602789680/This is my home #3)[1], NFT (318211565059228571/Bulgarian Downtime #8)[1], NFT (318234525100920220/Jacking up)[1],
                                   NFT (318318648144665659/I'll take a fiver to get me going.. #10)[1], NFT (318386176431464760/The Coronation #9)[1], NFT (319304687249514170/Pink and Black #7)[1], NFT
                                   (319343907923997461/Seniors Comeback #7)[1], NFT (319399787860940652/Sober #9)[1], NFT (319618555544731782/Back in Ilford #2)[1], NFT (319720206667573265/Labouring the Victory #4)[1],
                                   NFT (319807264382917243/Back in two thousand and five #4)[1], NFT (320022726859507503/One foot on the floor #8)[1], NFT (320561476701704288/Jacking up #2)[1], NFT
                                   (320817552999777713/One foot on the floor)[1], NFT (320855416996813926/A history of stories)[1], NFT (321012730812194207/Sober #4)[1], NFT (321859336200985097/Continental Shift #10)[1], NFT
                                   (322125958534305176/But did he sign #8)[1], NFT (322257012752636009/How many times have you won it #10)[1], NFT (322411211714610252/But did he sign #4)[1], NFT (322548218964533801/Alex
                                   is late #6)[1], NFT (322965971783499763/Barbican District #6)[1], NFT (323378696745889218/We've all been there #4)[1], NFT (323430701892391118/Two Thousand and Thirteen #6)[1], NFT
                                   (323455489531326168/Alex is late #3)[1], NFT (323480842454160498/A different Type of Snooker Line up #7)[1], NFT (323725173094878836/The Great Raymondo #4)[1], NFT
                                   (323831725516475008/Authentic #8)[1], NFT (323845872611691684/Remember that time we… #8)[1], NFT (324262603410488644/The Impressionist #5)[1], NFT (324341035322230561/How many
                                   times have you won it #3)[1], NFT (324421893229912462/Back of the net #4)[1], NFT (324482602688727984/Baize banter #2)[1], NFT (325531445850396934/Beijing #5)[1], NFT
                                   (325688836658697438/Labouring the Victory #2)[1], NFT (325699209632243360/Antonio #9)[1], NFT (325745447829162529/Heavy Lifting #6)[1], NFT (325805675564251296/The Great Raymondo
07930704                           CUSDT[5], DOGE[2], SHIB[0], USD[0.00]                                                                                                                                                            Yes

07930706                           SOL[.21048541], USD[0.00]

07930708                           SHIB[34873.12319456], USD[0.00], USDT[0]

07930712                           GRT[1], USD[0.00]

07930713                           USD[0.00], USDT[0]

07930717                           LTC[.02918077], USD[0.00]

07930719                           USD[2.04]

07930722                           USD[0.00]

07930726                           SOL[0]

07930729                           BTC[.0686], USD[2.83]

07930736                           CUSDT[1], SOL[1.17928799], USD[0.00]

07930751                           BTC[.00135044], ETHW[.00007391], NEAR[71.53112744], TRX[1], USD[1261.88], USDT[0]                                                                                                               Yes

07930763                           SOL[.001], UNI[191.357], USD[1438.04]

07930765                           BRZ[5], CUSDT[3], DOGE[4], ETH[.73811404], ETHW[.73780392], GRT[2.00853995], SHIB[1], SOL[10.8863888], TRX[2], UNI[.00039728], USD[5.75]                                                        Yes

07930769                           USD[2.34]

07930776                           BTC[0], TRX[0], USD[0.00], USDT[0]

07930782                           NFT (312963583476395913/Birthday Cake #2241)[1], NFT (451882614835114601/2974 Floyd Norman - CLE 3-0184)[1], NFT (513591096359285081/2974 Floyd Norman - OKC 1-0062)[1], NFT
                                   (530875731441783055/The 2974 Collection #2241)[1], TRX[.000006], USDT[.002514]
07930783                           ETHW[.04691848], PAXG[.01348318], USD[301.59]

07930786                           SOL[0.00650159]

07930790                           BRZ[2], CUSDT[1], USD[0.00]                                                                                                                                                                     Yes

07930797                           BRZ[149.20498205], CUSDT[3], TRX[819.39869715], USD[0.00]                                                                                                                                       Yes

07930801                           USD[0.00]

07930807                           SHIB[1], TRX[1], USD[0.00]                                                                                                                                                                      Yes

07930809                           BF_POINT[100], GRT[16831.35669833], USD[0.19], USDT[0.00000001]                                                                                                                                 Yes

07930811                           ETHW[.37369292], SHIB[2], TRX[2], USD[1897.98]                                                                                                                                                  Yes
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07930813                              USD[0.34]

07930815                              ALGO[402.3108197], DOGE[8], ETHW[.48791686], MATIC[432.75436023], NEAR[362.98417608], SHIB[21], SOL[76.70976189], TRX[6], UNI[30.83034238], USD[0.00]

07930818       Contingent, Disputed   SOL[0], USD[0.00], USDT[0]                                                                                                                                                            Yes

07930824                              BRZ[2], BTC[.0321551], CUSDT[64.88729954], DOGE[1189.80825938], ETH[.05654048], ETHW[.05583996], LTC[.62269074], SHIB[1141587.8592685], SOL[1.51998543], TRX[14.10832998], USD[0.00] Yes

07930827                              USDT[0]

07930834                              USD[9.22]

07930835                              USD[0.39]                                                                                                                                                                             Yes

07930836                              BTC[0], ETH[0.00000001], ETHW[0], MATIC[0]

07930851                              NFT (437702021797335706/6166)[1], SOL[.05]

07930858                              USD[1.52]

07930860                              SOL[.00021228]                                                                                                                                                                        Yes

07930865                              USD[0.00], USDT[0]

07930884                              USD[5.89]

07930886                              NFT (393273823288910656/Entrance Voucher #4113)[1], USD[0.26]

07930906                              DOGE[462.86304411], ETH[.03267501], ETHW[.03226588]                                                                                                                                   Yes

07930909                              BTC[.00553576], USD[100.00]

07930918                              BTC[.7400154], DOGE[.071], ETH[8.499014], ETHW[8.499014], SOL[218.508726], USD[3.69]

07930920                              SHIB[542253.61726954], USD[0.00]

07930922                              USD[0.00]

07930925                              USD[0.00]

07930929                              MATIC[6.70404649], USD[45.00]

07930933                              BTC[.0000611], ETH[.000868], ETHW[.000868], SHIB[3400000], USD[0.34]

07930947                              CUSDT[1], DOGE[1], SOL[109.26195311], TRX[1], USD[0.00]                                                                                                                               Yes

07930949                              AAVE[2.50226004], BAT[1.00234176], BRZ[4], CUSDT[21], DOGE[9.11536464], LINK[116.69075723], MATIC[549.15081273], SHIB[15], SOL[65.1607675], TRX[14.09504829], USD[12613.58]           Yes

07930954                              CUSDT[3], ETH[.1401602], ETHW[.13917168], USD[8.22]                                                                                                                                   Yes

07930956                              NFT (415044172690977033/SOLYETIS #1062)[1], SOL[.56887489], USD[0.00]

07930968                              BAT[1], ETHW[21.15936775], USD[0.00]                                                                                                                                                  Yes

07930972                              BAT[.945], BTC[.0031884], SOL[.42], TRX[1401], USD[3.67]

07930978                              BTC[0], USD[0.85]

07930990                              NFT (538444509843459702/MMagic Art #2)[1]

07931002                              LTC[.00051582], TRX[.000001], USD[0.37], USDT[0]

07931007                              CUSDT[5], DOGE[1], NFT (365009140636881097/You in, Miami? #20)[1], NFT (401431664230343777/2021 Sports Illustrated Awards #12)[1], NFT (574463498844125572/FTX - Off The Grid Miami   Yes
                                      #83)[1], SHIB[1], USD[22.17]
07931010                              BTC[.00000005], USD[0.00]                                                                                                                                                             Yes

07931013                              USD[1.40]

07931017                              NFT (327587644882776004/Entrance Voucher #3888)[1], NFT (385222420571014336/Fimbul Lowbie)[1], NFT (450944875482501648/2021 Sports Illustrated Awards #13)[1], NFT                    Yes
                                      (470687210997972752/FTX - Off The Grid Miami #84)[1], NFT (489455570256733222/You in, Miami? #21)[1], NFT (503530649326665631/Barcelona Ticket Stub #1654)[1], NFT
                                      (564849002422153994/Bahrain Ticket Stub #2448)[1], SOL[0], USD[77.57]
07931026                              DOGE[25517.61784136], ETH[.10653181], ETHW[.10544962], SHIB[15740552.79092949], SOL[5.40173078], USD[-15.00]                                                                          Yes

07931036                              BTC[0.01178049], CUSDT[7], DOGE[3], ETH[.00003326], ETHW[2.59788279], NFT (508554443648827526/Entrance Voucher #2789)[1], SHIB[2], TRX[3], USD[1.05]                                  Yes

07931038                              NFT (309659382731268322/GSW Championship Commemorative Ring)[1], NFT (311340291797155147/GSW Western Conference Finals Commemorative Banner #590)[1], NFT
                                      (313525410581490246/GSW Championship Commemorative Ring)[1], NFT (358144518770307712/GSW Western Conference Finals Commemorative Banner #591)[1], NFT
                                      (375134719120968778/GSW Round 1 Commemorative Ticket #459)[1], NFT (383575009863431089/Warriors Foam Finger #105)[1], NFT (397883444160665074/Warriors Hoop #193)[1], NFT
                                      (398704741528092236/GSW Western Conference Finals Commemorative Banner #593)[1], NFT (436162929491634684/GSW Western Conference Semifinals Commemorative Ticket #239)[1], NFT
                                      (470359939173433136/GSW Western Conference Semifinals Commemorative Ticket #238)[1], NFT (494254189810736829/GSW Western Conference Semifinals Commemorative Ticket #237)[1], NFT
                                      (518570411574850902/GSW Western Conference Finals Commemorative Banner #589)[1], NFT (538412962525902332/GSW Western Conference Finals Commemorative Banner #588)[1], NFT
                                      (552669447954178041/GSW Round 1 Commemorative Ticket #458)[1], NFT (558649415739526258/GSW Championship Commemorative Ring)[1], NFT (561548990541848707/GSW Western
                                      Conference Finals Commemorative Banner #592)[1], NFT (570393906725259287/Warriors Hoop #83)[1], USD[500.03]
07931054                              NFT (372443101663523459/#6601)[1], NFT (406534448337373293/#3997)[1], NFT (408061195617205693/#4444)[1], NFT (431692874896300081/#6384)[1], NFT (463030612885220991/#2546)[1], NFT
                                      (514960704240386285/#3279)[1], NFT (521086511262679641/#4997)[1], NFT (523280078968709871/#5933)[1], NFT (525337721260666059/#4875)[1], NFT (530391418323593867/#2257)[1], NFT
                                      (537625304519916889/#2244)[1], NFT (560495257308048390/VampiresOfSOL #1537)[1]
07931065                              USD[0.00]

07931077                              BTC[.00146455], ETH[.01037992], ETHW[.01037992], SOL[.20287597]

07931078                              USD[0.00]

07931080                              USD[0.00]

07931095                              BRZ[1], CUSDT[1], DOGE[5], ETH[.39076901], ETHW[.67832015], LTC[4.14218562], MATIC[23.21613206], SHIB[21], SOL[.00001468], TRX[5], USD[0.01]                                          Yes

07931099                              ETHW[.623376], USD[17.77]

07931101                              NFT (452974546707430310/Salem #1391)[1]

07931116                              NFT (503734310594366143/FTX - Off The Grid Miami #821)[1]

07931119                              BTC[.00804285], USD[0.00]

07931146                              TRX[.000001], USD[0.00]

07931149                              DOGE[1], ETH[0], SHIB[1]                                                                                                                                                              Yes

07931151                              ETH[3.57068649], ETHW[3.56918676], LTC[12.32818504], USD[2.09]                                                                                                                        Yes

07931152                              USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07931155                              USD[0.85]

07931159                              BTC[.00061612], CUSDT[32], DOGE[112.65772779], TRX[1], USD[4.72]

07931166                              BTC[.00000007], SHIB[3], USD[0.00]                                                                                                                                                   Yes

07931169                              USD[0.23]

07931174                              DOGE[0], ETH[0.00988325], ETHW[0.00988325], LTC[0], SHIB[464888.51616716]

07931175                              BRZ[1], BTC[.01242322], DOGE[1], NFT (470076579730067887/Astral Apes #1579)[1], NFT (478879778826400363/BitCaptain #124)[1], NFT (485770946606277222/Spidey Sam)[1], SHIB[14],       Yes
                                      SOL[11.44820059], TRX[3], USD[6.12]
07931176                              BRZ[1.06813870], BTC[.00005883], CHF[1.60], ETH[.00077346], ETHW[.32277346], USD[0.01]

07931189                              AVAX[.14345894], USD[0.31]                                                                                                                                                           Yes

07931192                              SOL[1.998], USD[0.00]

07931195                              BAT[2.08801838], BTC[0], DOGE[0], ETH[0], GRT[4.17884761], LINK[0], MATIC[0], SUSHI[1.08788986], USDT[1.08778894]                                                                    Yes

07931211                              BTC[0.00281335], CUSDT[7], ETH[.02450427], ETHW[.02450427], SHIB[2], USD[0.05]

07931212                              BTC[.0785214], ETH[.102951], ETHW[.102951], SOL[10.5894], USD[2085.34]

07931219                              BF_POINT[100], CUSDT[1], USD[0.00]                                                                                                                                                   Yes

07931227       Contingent, Disputed   BTC[0], USD[0.31]

07931239                              USD[20.00]

07931247                              USD[0.00]

07931249                              USD[0.00]

07931250                              ETH[0], ETHW[0], NFT (568336122554822441/Bahrain Ticket Stub #2489)[1], USDT[0.00000722]

07931259                              BTC[.16465552]                                                                                                                                                                       Yes

07931260                              USD[10.89]                                                                                                                                                                           Yes

07931265                              GRT[.01820275]                                                                                                                                                                       Yes

07931278                              BRZ[1], CUSDT[1], ETH[2.48399421], ETHW[2.48295093], TRX[2], USD[3426.99], YFI[.00782043]                                                                                            Yes

07931288                              ETH[0.09203602], ETHW[0.09098470], NFT (319915807667591324/Bahrain Ticket Stub #1046)[1], NFT (390004220910954578/FTX - Off The Grid Miami #4393)[1], NFT (422039744355435947/Bahrain Yes
                                      Ticket Stub #678)[1], NFT (429816066045199431/Barcelona Ticket Stub #545)[1], NFT (473589179828177645/Coachella x FTX Weekend 2 #31054)[1], NFT (519182807343935161/Autumn 2021
                                      #147)[1], NFT (561406499469106114/Autumn 2021 #603)[1], SOL[0], TRX[8.00000439], USD[0.01], USDT[0.00000398]
07931300                              ETH[.019], ETHW[.019], USD[9.82]

07931303                              ETH[.12864255], ETHW[.12864255], SHIB[1398600], SOL[4.67827912], USD[0.99]

07931317                              SHIB[.00888062], USD[0.00], USDT[0]

07931319                              BTC[0], ETH[0], SOL[.00000001], USD[0.00]                                                                                                                                            Yes

07931320                              USD[21.51]                                                                                                                                                                           Yes

07931321                              BTC[.00000014], ETH[.00005953], ETHW[.00005953], LINK[.00179397], MATIC[.14990714], SOL[.00000001], USD[0.62], USDT[0.00000001]                                                      Yes

07931337                              BTC[.00139319]                                                                                                                                                                       Yes

07931344                              AVAX[0], BTC[0], NFT (388619936169730449/Fancy Frenchies #8863)[1], NFT (570802735850191307/ApexDucks #1196)[1], USD[0.99], USDT[0]                                                  Yes

07931350                              BTC[.000099], NFT (421187783234844718/Good Boy #368)[1], SOL[.21], USD[155.37]

07931369                              DOGE[1], ETH[0], ETHW[0], SHIB[1], USD[0.00]

07931372                              CUSDT[2], DOGE[119.37060681], ETH[.03350577], ETHW[.03350577], SHIB[1248127.80828756], TRX[261.52527843], USD[0.00]

07931375                              BTC[.00007749], USD[0.00]                                                                                                                                                            Yes

07931380                              BRZ[1], BTC[.00436368], CUSDT[14], ETH[.02486667], ETHW[.02455575], KSHIB[2191.24452713], SHIB[2354671.6237273], TRX[282.94272889], USD[0.00]                                        Yes

07931391                              BRZ[1], CUSDT[4], DOGE[2], NFT (349467759608957800/#2014)[1], NFT (385613018411623426/Rogue Circuits #590)[1], NFT (493348713255016066/Toasty Turts #4002)[1], NFT
                                      (496165428294536408/David #47)[1], NFT (575465128496298646/Autumn 2021 #1774)[1], SHIB[1], USD[0.01]
07931400                              ETH[.00763184], ETHW[.00763184], USD[0.00]

07931402                              USD[0.35]                                                                                                                                                                            Yes

07931404                              BTC[0], SOL[.00000001], USD[0.00], USDT[0]

07931411                              USD[0.00]                                                                                                                                                                            Yes

07931414                              ETH[0], ETHW[0], USD[0.00]

07931417                              BTC[.00000005], CUSDT[3], DOGE[2], SHIB[1], TRX[2], USD[0.01]                                                                                                                        Yes

07931418                              BAT[1], BTC[.00000703], USD[171.56]

07931441                              BTC[.00206888], CUSDT[8], DOGE[887.85948745], ETH[.00947007], ETHW[.00934695], KSHIB[371.89215306], LINK[1.36788336], SHIB[497895.79981292], TRX[3], USD[29.57]                      Yes

07931454                              SOL[3.45174874], TRX[1], USD[0.16]                                                                                                                                                   Yes

07931458                              BTC[.00119169], CUSDT[1], DOGE[1], ETH[.00433805], ETHW[.00428333], SHIB[1], USD[16.77]                                                                                              Yes

07931460                              ETH[.40943607], ETHW[.40926403]                                                                                                                                                      Yes

07931461                              SOL[0]

07931463                              AVAX[3.6096528], BRZ[2], CUSDT[16], DOGE[3], ETH[.01317938], ETHW[.01301522], GRT[31.45403187], LINK[6.26114103], MATIC[95.9503259], NFT (473580307031657292/Entrance Voucher        Yes
                                      #2102)[1], SHIB[1166997.65014047], SOL[5.80645326], TRX[1891.17610984], UNI[2.4591136], USD[0.54]
07931471                              DOGE[1], SHIB[3], TRX[1], USD[0.01]                                                                                                                                                  Yes

07931478                              CUSDT[1], SOL[.29283702], USD[0.00]                                                                                                                                                  Yes

07931483                              CUSDT[1], SOL[.13354056], USD[10.89]                                                                                                                                                 Yes

07931488                              DOGE[282.25839285], USD[0.00]                                                                                                                                                        Yes

07931525                              AVAX[2.53073747], BTC[.00312593], CUSDT[16], DOGE[4], SHIB[37369191.90245470], SOL[6.99832154], SUSHI[.000019], TRX[3], USD[0.00], USDT[0]                                           Yes

07931539                              TRX[2], USD[0.00]                                                                                                                                                                    Yes

07931553                              BF_POINT[200]
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                                                                                                                                            Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07931554                              BAT[136.98393405], SHIB[1], USD[0.35]                                                                                                                                            Yes

07931564                              BTC[0.00002950], ETH[.00032639], ETHW[.00032639], USD[2.98]

07931565                              ETHW[.00001632], SOL[.00067655], USD[5111.76]                                                                                                                                    Yes

07931588                              ETH[.02118547], ETHW[.02092555], SHIB[2], TRX[1], USD[0.07]                                                                                                                      Yes

07931590                              USD[0.20], USDT[49.76019]

07931608                              CUSDT[1], SHIB[1], USD[0.00]                                                                                                                                                     Yes

07931634                              USD[0.00]

07931640                              DOGE[1], ETHW[0], LINK[0], MATIC[0], SHIB[1], SOL[0], USD[8.39]                                                                                                                  Yes

07931648                              CUSDT[1], LTC[0.07153741], USD[0.02]                                                                                                                                             Yes

07931651                              CUSDT[1], DOGE[2608.14816785], USD[0.00]

07931655                              CUSDT[6], DOGE[166.37712017], USD[0.00]                                                                                                                                          Yes

07931680                              BTC[.00008081], CUSDT[1], USD[0.00]

07931684                              BAT[233.54], BTC[.0064], GRT[.672], MATIC[9.9], SOL[7.18971034], TRX[1980.018], UNI[27.6723], USD[64.54]

07931688                              DOGE[1], ETH[0], ETHW[0], NFT (311544060357663046/3D CATPUNK #254)[1], NFT (521364109460717432/#879069)[1], SHIB[1], SOL[.10562614]                                              Yes

07931694                              DOGE[400], TRX[1630], USD[0.81]

07931703                              NFT (550427024018814747/#4350)[1]

07931710                              BTC[.01030867], DOGE[497.73033406], SHIB[2267351.05313175], SOL[3.38350969], TRX[123.06530541], USD[97.58]                                                                       Yes

07931712                              CUSDT[992.5619509], DOGE[378.06405955], ETH[.01257393], ETHW[.01242345], SHIB[1322644.75095309], SUSHI[4.34550905], TRX[2], USD[0.00]                                            Yes

07931721                              ALGO[0], AVAX[1.6983], DOGE[220.786], SHIB[1], USD[61.11]

07931724                              CUSDT[2], DOGE[110.59148878], ETH[.00000151], ETHW[.00000151], KSHIB[639.8840223], SHIB[1818464.52570955], USD[0.00]                                                             Yes

07931732                              USD[21.51]                                                                                                                                                                       Yes

07931741                              BTC[.00353562], CUSDT[2], DOGE[177.48266819], USD[0.00]                                                                                                                          Yes

07931745                              DOGE[4245.75], SHIB[41058900], SUSHI[96.903], USD[18.09]

07931747                              BRZ[2996.54278243], CUSDT[1], ETH[.23567483], ETHW[.23547273], TRX[1], USD[0.00]                                                                                                 Yes

07931770                              USD[136.13]                                                                                                                                                                      Yes

07931794       Contingent, Disputed   BAT[.00000913], BRZ[.00205992], BTC[0], ETH[0], ETHW[0], MATIC[.00029629], MKR[.00000028], SHIB[0], SOL[0], USD[0.07]                                                            Yes

07931809                              BTC[0.09753537], DOGE[6771], ETH[6.03728823], ETHW[6.03728823], LINK[82.3647], MATIC[2.25], SOL[101.12301], USD[4.11]

07931818                              BTC[.00000017]                                                                                                                                                                   Yes

07931821                              BRZ[2], CUSDT[15], DOGE[1], MATIC[0], TRX[2], UNI[0], USD[0.00], USDT[0]                                                                                                         Yes

07931832                              BTC[0.00146195], CUSDT[1], DOGE[2], ETH[0], ETHW[.01674946], KSHIB[0], SHIB[8], SOL[0], SUSHI[0], USD[0.01]                                                                      Yes

07931839                              BTC[0], CUSDT[17], DOGE[2], LINK[.00178015], SHIB[80749802.70903942], SOL[0], SUSHI[21.62491452], TRX[3], USD[324.34], USDT[0.99699355]                                          Yes

07931846                              USD[543.01]                                                                                                                                                                      Yes

07931847                              DOGE[1], SOL[3.09529439], USD[0.01]

07931861                              ETH[0.14800000], ETHW[0.14800000], USD[19.68]

07931871                              CUSDT[7], DOGE[929.90533439], ETH[.02897225], ETHW[.02563995], LTC[.05567153], MATIC[5.4289867], SHIB[235276.36712707], TRX[107.38232072], USD[0.40], USDT[21.64379426]          Yes

07931879                              AVAX[.00277301], BAT[8.41445112], BRZ[7.31258768], BTC[0], CUSDT[14], DOGE[7], ETH[0], GRT[5.06844158], MATIC[4.14989513], NFT (532650208407701650/Entrance Voucher #3751)[1],   Yes
                                      SHIB[3], SOL[0], SUSHI[1.03366942], TRX[15.00779008], USD[0.00], USDT[8.37587663]
07931885                              USD[1.61]

07931890                              DOGE[1], KSHIB[5181.82738310], TRX[1], USD[0.00]

07931913                              USD[0.00], USDT[0.00006813]

07931921                              USD[20.00]

07931942                              CUSDT[1], SHIB[57.87983883]                                                                                                                                                      Yes

07931944                              NFT (573083910654037749/Bahrain Ticket Stub #2199)[1]

07931953                              BTC[.0219817], DOGE[1], TRX[1], USD[0.00]

07931956                              BTC[.002957], ETH[.000601], ETHW[.000601], USD[11409.83], USDT[2.5]

07931959                              BTC[.00137064], TRX[1], USD[21.78]                                                                                                                                               Yes

07931968                              BTC[.00004704], ETH[.00002431], ETHW[.00002431], MATIC[.829], USD[8425.64], USDT[.0036445]

07931973                              BRZ[4], CUSDT[2], DOGE[4], GRT[1.00367791], LTC[0], SHIB[1], TRX[5], USD[0.00], USDT[0]                                                                                          Yes

07931976                              BTC[0], ETHW[.00001981], SHIB[1], USD[2.29]                                                                                                                                      Yes

07931982                              CUSDT[5], DOGE[468.39064399], SHIB[79485.30821805], USD[0.02], USDT[0]                                                                                                           Yes

07931987                              BTC[.00775883], CUSDT[1], USD[0.01]

07931999                              DOGE[1], SOL[.00011399], TRX[1], USD[0.68]                                                                                                                                       Yes

07932015                              BTC[.02336656]

07932023                              SOL[.008514], USD[5.16]                                                                                                                                                          Yes

07932028                              BTC[0], USD[0.67]

07932048                              ETH[.012], ETHW[.012], USD[1.46], USDT[0]

07932060                              BTC[.00000007]                                                                                                                                                                   Yes

07932070                              USD[0.00]

07932073                              USD[20.00]
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                                                                                                                                            Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07932074                              DOGE[424.29835621], LINK[16.71491401], MATIC[48.63567001], SHIB[3717736.69616692], SOL[3.20497514], USD[4.13]                                                                     Yes

07932091                              BRZ[1], DOGE[1], SHIB[5643812.00048372], USD[0.00]                                                                                                                                Yes

07932095                              SOL[0], USD[0.00], USDT[0]                                                                                                                                                        Yes

07932096                              BTC[0], SOL[0], USD[0.00]

07932111                              ETH[.09505445], ETHW[.09401686], TRX[1], USD[0.00]                                                                                                                                Yes

07932114                              USD[2.18]                                                                                                                                                                         Yes

07932139                              BRZ[1], CUSDT[9967.07183344], SHIB[1111960.10548719], TRX[2753.23916951], USD[0.49]                                                                                               Yes

07932152                              CUSDT[1], TRX[1], USD[0.01]                                                                                                                                                       Yes

07932153                              CUSDT[1], SHIB[477570.65932737], USD[0.00]

07932166                              BTC[.00091284], CUSDT[5], ETH[0.01139516], ETHW[0.01125836], USD[0.00]                                                                                                            Yes

07932167                              BTC[.00006055], DOGE[10.1373976], USD[1.62]                                                                                                                                       Yes

07932179                              USD[0.01]                                                                                                                                                                         Yes

07932180                              NFT (293248441778660440/Molly Water #4)[1], NFT (301776994076446451/First 50 #49)[1], NFT (324724541062507538/Second 50 #6)[1], NFT (359301140595002289/The CaLabs #35)[1], NFT
                                      (366381206715923463/CryptoFabula #15)[1], NFT (387666197458251298/Pixel Vampire Identity)[1], NFT (414288756241098097/Ikarus)[1], NFT (436864888718872837/Molly Water)[1], NFT
                                      (462942110490381166/First 50 #17)[1], NFT (514686677074145646/Molly Water #6)[1], NFT (536936577931674219/Neighbor #004 - Rare)[1], NFT (547619187950245024/Super #3)[1], NFT
                                      (558890403277324563/First 50 )[1], TRX[8.48645733], USD[1.03]
07932188                              BRZ[1], GRT[62.02928743], KSHIB[2654.12518861], SHIB[3], USD[0.00]                                                                                                                Yes

07932189                              DOGE[1], SHIB[1], USD[0.01]

07932207                              BTC[0.00009586], SOL[.00939], SUSHI[.465811], USD[348.05], USDT[228.2672007]

07932218                              USD[20.00]

07932236                              DOGE[1], GRT[0], SHIB[7], USD[129.62]                                                                                                                                             Yes

07932239                              USD[10.00]

07932240                              NFT (330951748337313221/SolDad #5103)[1]

07932244                              CUSDT[1], SHIB[1], USD[0.00]                                                                                                                                                      Yes

07932250                              CUSDT[6], GRT[.0059723], TRX[2], USD[0.28], USDT[0.94256720]                                                                                                                      Yes

07932264                              SOL[.04995], USDT[1.862624]

07932267                              SHIB[2], USD[0.00]                                                                                                                                                                Yes

07932268                              SOL[.00000001]

07932287                              BRZ[1], DOGE[2], TRX[1], USD[0.01], USDT[1.0662284]                                                                                                                               Yes

07932299                              CUSDT[1], SHIB[1], USD[27.11]                                                                                                                                                     Yes

07932303                              BTC[.00015988], USD[0.00]                                                                                                                                                         Yes

07932306                              ETH[.00000001], ETHW[0], USD[0.00]

07932309                              USD[20.00]

07932314                              BAT[12.27657177], BRZ[12.27635123], DOGE[36.85513363], ETH[.00000001], ETHW[0], GRT[10.12194134], LINK[.00000001], SHIB[24], TRX[29.69007037], USD[0.00], USDT[0.00007337]        Yes

07932316                              AAVE[.03], BAT[6], DOGE[57], KSHIB[60], LINK[.3], MKR[.015], SHIB[100000], SOL[.01], SUSHI[2], TRX[203], UNI[1], USD[1.22]

07932317                              CUSDT[1], USD[0.00], USDT[10.83451003]                                                                                                                                            Yes

07932322                              NFT (405619334452591449/FTX - Off The Grid Miami #2930)[1]

07932325                              USD[2000.00]

07932338       Contingent, Disputed   USD[0.00]

07932352                              BAT[28.10277443], BRZ[63.40211212], CUSDT[11], DOGE[45.39601789], GRT[25.46557082], SHIB[3], TRX[7], USD[654.16]                                                                  Yes

07932354                              USD[20.00]

07932356                              USD[20.00]

07932361                              ETH[.00000001], MATIC[0], USD[2.36]

07932380                              TRX[505.494], USD[0.28]

07932385                              BTC[.0675324], ETH[.00099], ETHW[.00099], USD[2068.49]

07932389                              BTC[.00016525], CUSDT[4], DOGE[1.89970982], SHIB[1044700.28937541], USD[0.08]                                                                                                     Yes

07932396                              BAT[1], BRZ[1], CUSDT[5], LTC[2.61043109], USD[7.20]                                                                                                                              Yes

07932407                              ETH[.00059], ETHW[.00059], USD[25000.01]

07932408                              ETH[.25], ETHW[.2], LTC[.009], USD[0.01], USDT[0]

07932411                              ETH[0], ETHW[.016988], USD[0.00]

07932413                              BRZ[1], CUSDT[1], SHIB[8560708.93773797], USD[0.01]

07932414                              BTC[0.02620644], ETH[0.02759666], NEAR[0], NFT (521410275036302975/Entrance Voucher #4008)[1], USD[0.00]                                                                          Yes

07932419                              CUSDT[1], SHIB[354516.56585638], USD[0.00]                                                                                                                                        Yes

07932426                              USD[20.00]

07932434                              USD[30.41]

07932442                              USD[68.94], USDT[0]

07932445                              DOGE[1344.654], SHIB[4695300], USD[0.79]

07932446                              BTC[0.00005568], ETH[.075], ETHW[.075]

07932447                              BTC[0.00000746], ETHW[0], LINK[.00008741], NFT (332740996803582327/The Hill by FTX #8719)[1], NFT (396914866043686469/Ronin Duckie #15)[1], SHIB[1], USD[0.00]                    Yes

07932453                              USD[108.87]                                                                                                                                                                       Yes
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                                                                                                                                         Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07932457                           NFT (319932403957541114/Hannya Mask)[1], NFT (429552197241470509/KAM1 #482)[1]

07932463                           TRX[2233.69291998]                                                                                                                                                                       Yes

07932470                           USD[0.00]

07932487                           NFT (335995950247973231/Birthday Cake #0198)[1], NFT (391429519011413257/The 2974 Collection #0198)[1], NFT (421894167929134016/2974 Floyd Norman - CLE 1-0278)[1], USD[0.00], USDT[0]

07932491                           BTC[.04201066], ETH[.19721], ETHW[0.19720999], LTC[.002]

07932504                           USD[0.00]

07932509                           PAXG[.0028441], USD[5.33]                                                                                                                                                                Yes

07932511                           USD[100.00]

07932514                           USD[0.00]                                                                                                                                                                                Yes

07932516                           BTC[.00440917]

07932517                           ETH[.00000001], SOL[.00000001], USD[0.21], USDT[0.00000017]

07932531                           CUSDT[6], MATIC[0], TRX[0], USD[0.00]                                                                                                                                                    Yes

07932537                           SHIB[1119837.31637341], USD[0.06]

07932539                           USD[0.00]                                                                                                                                                                                Yes

07932544                           AAVE[1.45803133], BF_POINT[300], BRZ[2], CUSDT[12], DOGE[6], MKR[.10073843], SHIB[2], SUSHI[265.62515293], TRX[6], USD[0.00]

07932552                           USD[10.00], USDT[0]

07932558                           USD[20.00]

07932597                           USD[2.92], USDT[0.00000178]

07932602                           ETHW[.087819], USDT[1.0563]

07932606                           USD[55.66], USDT[0]                                                                                                                                                                      Yes

07932619                           USD[6.65]                                                                                                                                                                                Yes

07932625                           AAVE[0], BAT[0], BTC[0], CUSDT[0], DAI[0], DOGE[0], ETH[0], KSHIB[0], LTC[0], MATIC[0], SHIB[0.00000759], SOL[0], SUSHI[0], UNI[0], USD[0.00], USDT[0]                                   Yes

07932637                           DOGE[1], SOL[.44859109], USD[0.00]                                                                                                                                                       Yes

07932640                           CUSDT[1], MKR[.10630081], TRX[2737.19287594], USD[0.00]                                                                                                                                  Yes

07932641                           NFT (381474781863448807/Skull Division #1261)[1], SOL[.00018355], USD[0.00]

07932656                           BRZ[1], BTC[.00424782], ETH[.0695724], ETHW[.06870994], TRX[1], USD[0.00]                                                                                                                Yes

07932657                           DOGE[1], SHIB[10152284.26395939], USD[0.00]

07932665                           ETH[0]

07932681                           USD[100.00]

07932687                           USD[0.01]

07932696                           BTC[.0000795], ETH[.000557], SOL[.00692], USD[0.00]

07932708                           USD[21.51]                                                                                                                                                                               Yes

07932714                           BRZ[1], BTC[.00777749], CUSDT[1], DOGE[3], SHIB[5], SOL[10.10619971], SUSHI[.97321573], TRX[3], USD[0.00]                                                                                Yes

07932715                           SOL[.1], USD[1.01]

07932717                           ETH[.005], ETHW[.005]

07932718                           USD[2.69]                                                                                                                                                                                Yes

07932726                           USD[0.00]

07932732                           USD[20.00]

07932737                           BF_POINT[300], LINK[28.79672633], USD[0.00]                                                                                                                                              Yes

07932744                           ETH[0]

07932762                           USD[0.50]                                                                                                                                                                                Yes

07932763                           USD[0.00]

07932767                           BTC[0.00004406], CUSDT[2], MATIC[0], USD[0.00]

07932775                           SOL[.98], USD[10.00]

07932778                           ETH[.0229793], ETHW[.0229793], USD[4.32]

07932780                           DOGE[1], ETH[.00436732], ETHW[.00436732], SHIB[1], USD[280.81]

07932788                           BAT[83.02975810], BRZ[1], BTC[.00000074], CUSDT[1], DOGE[3], ETHW[.11929561], GRT[1], SOL[.43348093], TRX[2], USD[1385.32]                                                               Yes

07932793                           USD[2.69]

07932809                           ETH[.52769881], ETHW[.46965042], USD[109.08]

07932811                           USD[4.72]

07932825                           SOL[.008], USD[1.66]

07932826                           AUD[0.00], CHF[0.00], ETH[.00000001], GBP[0.00], HKD[0.00], SGD[0.00], SHIB[12.53826638], TRX[.00074038], USD[0.00]                                                                      Yes

07932828                           DOGE[0], ETHW[0], SOL[0.00412548], USD[0.00]                                                                                                                                             Yes

07932830                           USD[21.51]                                                                                                                                                                               Yes

07932853                           ETH[.0007066], ETHW[.0007066], LINK[.03632], USD[6.85], USDT[0]

07932854                           BF_POINT[200]

07932863                           USD[3.44]

07932865                           ETH[0], ETHW[0], LINK[.56140572], MKR[.01169941], SOL[.18459113], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07932869                           USD[21.51]                                                                                                                                                                          Yes

07932877                           USD[50.55]                                                                                                                                                                          Yes

07932881                           USD[20.00]

07932892                           NFT (412299071929343545/FTX - Off The Grid Miami #2756)[1]                                                                                                                          Yes

07932893                           USD[2.06]

07932894                           SOL[.00003], USD[0.30]

07932896                           USD[20.00]

07932899                           USD[0.00]

07932900                           SOL[.7068]

07932907                           NFT (446809473722817348/FTX - Off The Grid Miami #795)[1]

07932912                           ETH[0]

07932915                           BTC[0], ETH[0], SOL[0], USD[0.00], USDT[0]

07932922                           BTC[0.09087987], DOGE[288.7822], KSHIB[2369.361], LTC[5.255243], SHIB[2099100], USD[74.77], USDT[87.71897135]

07932933                           USD[20.00]

07932941                           DOGE[88.75370792], USD[0.00]                                                                                                                                                        Yes

07932946                           ETH[.31], ETHW[.31], LTC[.01], SHIB[7900000], SOL[5.82], USD[499.38]

07932950                           USD[20.00]

07932956                           CUSDT[4], DOGE[115.64757811], ETH[0], GRT[6.77423963], KSHIB[127.09421878], LINK[0.78778912], LTC[0.06471939], MATIC[4.88004209], SOL[0.17045949], SUSHI[1.25836984],               Yes
                                   TRX[127.79809096], UNI[0.59506028]
07932959                           ETH[.10546619], ETHW[.10546619], SOL[1.96942321], USD[2.83]

07932968                           USD[0.17]

07932978                           BTC[0.00015776], CUSDT[2], DOGE[8.48169309], ETH[.00114851], ETHW[.00113483], LINK[.00000079], MATIC[1.63433155], TRX[1], UNI[.03024268], USD[0.00]                                 Yes

07932990                           DOGE[0], LTC[0], USD[0.00]

07933004                           NFT (392031060851676208/Entrance Voucher #3462)[1], NFT (477177774432474297/Bahrain Ticket Stub #395)[1], USD[100.00]

07933019                           TRX[.000001]

07933020                           CUSDT[4], DOGE[3], ETH[1.98555803], ETHW[1.98472405], USD[5.35], USDT[0]                                                                                                            Yes

07933026                           USD[20.00]

07933035                           BTC[.00000194], SHIB[1], USD[0.00]                                                                                                                                                  Yes

07933047                           BRZ[6.37835282], CUSDT[28], DOGE[.00087559], ETH[.00000069], ETHW[0.00000068], LTC[.00000429], SHIB[6], TRX[7], USD[0.00], USDT[0]                                                  Yes

07933057                           CUSDT[1], DOGE[0.00001498], TRX[1], USD[0.01]

07933060                           USD[100.00]

07933063                           SHIB[1], USDT[0]

07933064                           NFT (300288253011337346/SMGSMS #3)[1], NFT (302856342210097135/Winter Night Special Works #3)[1], NFT (310375827973843060/FTX ArtWorks #4)[1], NFT (316456907982579759/Qwes
                                   Avatar #16)[1], NFT (328877125440911298/Qwes Avatar #14)[1], NFT (335793935115378805/PixelArt)[1], NFT (342518715186477858/Qwes Avatar #9)[1], NFT (348155704299527980/FTX ArtWorks
                                   #2)[1], NFT (348328923658452636/An Autumn Day #2)[1], NFT (354379211538677562/Qwes Avatar #2)[1], NFT (356640201354857911/Qwes Avatar #17)[1], NFT (356982855809214305/FTX ArtWorks
                                   #5)[1], NFT (372890619992434910/Standing Rock)[1], NFT (378846581290227203/Qwes Avatar #3)[1], NFT (387624090449736544/Tundra)[1], NFT (389831141224620011/Qwes Avatar #13)[1], NFT
                                   (389935055813438691/Qwes Avatar #23)[1], NFT (389952813816705189/Qwes Avatar #21)[1], NFT (391368757790874976/SMGSMS #2)[1], NFT (405973376933501978/River Flows in You)[1], NFT
                                   (416644440214360885/An Autumn Day #6)[1], NFT (420879671355593320/FTX ArtWorks #6)[1], NFT (421405605571442660/SMGSMS #6)[1], NFT (421936077706059121/An Autumn Day #4)[1], NFT
                                   (425102033882752413/Qwes Avatar #11)[1], NFT (429258360613371403/PixelWorks)[1], NFT (432758757663325576/Qwes Avatar #10)[1], NFT (440015167346283340/Winter Night Special Works
                                   #4)[1], NFT (444398792186008573/An Autumn Day #3)[1], NFT (461473298322588240/Solitude İn The Distance)[1], NFT (464568715844057995/Winter Night Special Works)[1], NFT
                                   (469555220080901236/SMGSMS)[1], NFT (474480027856761649/Solitude İn The Distance #2)[1], NFT (481955836254905075/FTX ArtWorks)[1], NFT (485099741867646544/Qwes Avatar #19)[1], NFT
                                   (492022348005973904/Qwes Avatar #12)[1], NFT (496923722068120326/Winter Night Special Works #2)[1], NFT (497104767269741184/FTX ArtWorks #3)[1], NFT (499559502795301065/Qwes Avatar
                                   #18)[1], NFT (505638660581129516/A Village İn The 1600s)[1], NFT (513334268437700076/Qwes Avatar #8)[1], NFT (518640965682774087/Qwes Avatar #5)[1], NFT (537244905344203238/An
                                   Autumn Day #7)[1], NFT (539507125277777801/Qwes Avatar #22)[1], NFT (545481296178123188/Qwes Avatar #15)[1], NFT (547894760073123451/Qwes Avatar #7)[1], NFT
                                   (553130741602234125/Qwes Avatar #24)[1], NFT (555497031036878218/SMGSMS #4)[1], NFT (565052659288858693/SMGSMS #5)[1], NFT (568418553312358633/Qwes Avatar #20)[1], NFT
                                   (570092259742879459/An Autumn Day #5)[1], USD[29.40]
07933067                           USD[1.49]                                                                                                                                                                            Yes

07933072                           USD[20.00]

07933075                           BRZ[2], BTC[0], DOGE[3], ETH[0.00000001], ETHW[0.00001326], GRT[3], LTC[0], SHIB[5], TRX[2], USD[0.01], USDT[700.81384548]                                                          Yes

07933098                           USD[20.00]

07933115                           SHIB[670.99119718], USD[0.00]                                                                                                                                                       Yes

07933128                           USD[0.01]                                                                                                                                                                           Yes

07933134                           BAT[5.72759144], SHIB[1], USD[0.00]                                                                                                                                                 Yes

07933143                           ETHW[1.42989077], UNI[.0716], USD[0.77], USDT[3.489936]

07933145                           ETH[.21436488], ETHW[12.0423892], SHIB[1], USD[0.00]                                                                                                                                Yes

07933149                           USD[0.00], USDT[0]

07933151                           CUSDT[1], SHIB[328920.57642515], USD[0.38]                                                                                                                                          Yes

07933159                           SUSHI[1.95260933]                                                                                                                                                                   Yes

07933173                           BTC[0], USD[0.00]

07933184                           USD[10.00]

07933195                           USD[3.84]

07933211                           NFT (321641286069832285/6557)[1], SOL[.23]

07933213                           USD[20.00]

07933216                           USD[20.00]
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                                                                                                                                         Customer Claims                                                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07933226                           USD[20.00]

07933235                           ETH[.00000128], ETHW[.00000128], SHIB[1], USD[0.00]                                                                                                                                             Yes

07933240                           ETH[0], USD[0.00]

07933244                           USD[1.37], USDT[0.00000001]                                                                                                                                                                     Yes

07933251                           NFT (482988906879447380/Microphone #3619)[1]

07933262                           AAVE[0], ETHW[.00071443], LINK[.00000001], NEAR[.034], USD[7252.96], USDT[0.00002011]

07933263                           DOGE[1], ETH[.02372479], ETHW[.02342923], GRT[343.17643109], LINK[10.78927218], NEAR[5.53502232], NFT (305796112866987094/FTX - Off The Grid Miami #2794)[1], SHIB[10], USD[0.09]               Yes

07933268                           SOL[.1], USD[100.00], USDT[99.51034937]

07933276                           EUR[0.39], NFT (344220041720005170/Cyber Frogs Ramen)[1], USD[0.00], USDT[0]

07933284                           USDT[20]

07933296                           CUSDT[1], TRX[275.78678062], USD[0.00]                                                                                                                                                          Yes

07933309                           USD[0.26]

07933317                           USDT[.00814422]

07933318                           NFT (472898050305320111/Solninjas #2181)[1]

07933323                           BTC[0]

07933324                           BTC[0], MATIC[0.00033869], SHIB[23], TRX[0.00129235], USD[0.00], USDT[0.00022284]                                                                                                               Yes

07933335                           ETH[.0882753], ETHW[.0882753], SHIB[1], USD[0.00]

07933342                           USD[2.00]

07933354                           AVAX[.00010137], SHIB[327264.18549538], TRX[0], USD[0.00]

07933371                           USD[4.52], USDT[0]

07933375                           SHIB[1], TRX[1], USD[0.00], USDT[0]                                                                                                                                                             Yes

07933394                           BTC[.0000918], DOGE[.752], ETH[.165873], ETHW[.165873], LINK[2.7294], MATIC[7.39], SHIB[27500], SOL[8.85537], SUSHI[22.714], TRX[.289], UNI[.09], USD[2.52]

07933408                           DOGE[.972], SUSHI[.478], UNI[.04035]

07933418                           LTC[.00217], NFT (492340773352700422/Bahrain Ticket Stub #1529)[1], USDT[.4359264]

07933422                           NFT (296213217448853836/Rainbow life)[1], NFT (357451478535352552/Bianco e nero album #9)[1], NFT (379181511028011121/The park )[1], NFT (409289062814021161/Fellowship)[1], NFT
                                   (462246610890649192/Good Dog Kaona)[1], NFT (499995250105010994/Art #2)[1], USD[0.14], USDT[0]
07933437                           AVAX[1.45880222], CUSDT[4], DOGE[2], ETH[.00078628], ETHW[.00077366], MATIC[11.357594], TRX[3], USD[76.43]                                                                                      Yes

07933448                           NFT (518188916520858374/Thomas Coverdale)[1]

07933452                           USDT[1.2706566]

07933458                           BTC[0], SOL[0], UNI[0], USD[0.48]

07933463                           USD[1005.23]                                                                                                                                                                                    Yes

07933464                           USD[10.00]

07933481                           BTC[0], DOGE[0], USD[0.19]

07933492                           DAI[99.47055701], LINK[3.2], MATIC[60], SUSHI[36.23734461], TRX[610.389], USD[0.47]

07933494                           USD[0.01]

07933499                           CUSDT[2], ETH[.02838533], ETHW[.02802965], SHIB[1436077.04623655], USD[0.02]                                                                                                                    Yes

07933500                           DOGE[0], GRT[0], LINK[0], MATIC[0], SHIB[1111.16184791], SOL[0], USD[0.00]                                                                                                                      Yes

07933512                           USD[0.00]

07933521                           CUSDT[2], ETH[.06620607], ETHW[.06620607], SOL[1.5717308], USD[0.00]

07933540                           NFT (411487058916747580/Solninjas #6827)[1], SOL[.195]

07933556                           TRX[.011173], USD[498.24], USDT[0.00000001]

07933557                           BRZ[1], CUSDT[9], DOGE[701.4638517], SHIB[2088558.29993545], TRX[.00453281], USD[0.00]                                                                                                          Yes

07933563                           SOL[.00059747], TRX[.000001], USDT[0.00000046]

07933564                           NFT (293188596788128420/15 Has Fighter Cyber YoH)[1], NFT (293676410764843790/30 Has fighter MWMA)[1], NFT (312685506492824849/04 Has fighter SSJ YoHKu)[1], NFT
                                   (332204401085341241/Cryptera - Balmorda City #2)[1], NFT (333736685270724264/18 Has fighter Alien Leon)[1], NFT (336622514219409626/28 Has fighter K)[1], NFT (340165523541747846/33 Has
                                   Fighter Bane Liquidated)[1], NFT (355439843550072468/13 Has Fighter Cika Zex)[1], NFT (365255560680134741/32 Has fighter Goran)[1], NFT (372187577629658676/20 Has fighter Drakce the Night
                                   Stalker)[1], NFT (378671988980710620/24 Has Fighter PekMan)[1], NFT (381610906318271152/05 Cyber Has Fighter Duki)[1], NFT (389669844176019870/06 Has fighter Aki)[1], NFT
                                   (401865326482337842/Cryptera - Balmorda City)[1], NFT (402961133983285932/19 Has fighter Duki )[1], NFT (414787914176378102/Alien Demon Hasbulla - YoH)[1], NFT (419269220707102571/25
                                   Has fighter Daba)[1], NFT (423431838634677376/02 Has fighter Duki )[1], NFT (437321909723564706/21 Has Fighter Aki Liquidated)[1], NFT (447943629407321899/22 Has fighter YoH Liquidated)[1],
                                   NFT (450594734467343189/23 Has Fighter BigThoin)[1], NFT (454802408333081350/03 Alien Has fighter Speedy)[1], NFT (460344442896134994/08 Has fighter Zombie Torvik)[1], NFT
                                   (461701741894873384/29 Has fighter IO Liquidated)[1], NFT (466508646675185208/27 Has fighter Ado)[1], NFT (467029635331856202/14 Has fighter Bad Gonzo)[1], NFT
                                   (468042855218263814/Dystopian Warrior - YoH)[1], NFT (471829743219679687/16 Has fighter Zex)[1], NFT (483916166499878909/11 Has fighter FutureS YoH)[1], NFT (504474208630126778/12
                                   Island Boy Hasbulla Has Fighter)[1], NFT (517506844992542036/09 Has Fighter the Fallen Straktor)[1], NFT (524401452042111908/26 Has fighter Dr Thetan)[1], NFT (550432397684511701/07 Has
                                   Fighter Torvik)[1], NFT (555425266779228509/10 Has Fighter Drakce)[1], NFT (558177194526832822/17 Has Fighter zombie Buster)[1], NFT (572265562006117419/01 Has fighter YoH)[1], NFT
                                   (574412968688478244/31 Has fighter Ementaler)[1], SOL[.98]
07933565                           DOGE[0], ETH[.00618169], ETHW[0.00618168], USD[0.19], YFI[0]

07933568                           USD[0.32], USDT[.67165]

07933580                           USD[0.00]                                                                                                                                                                                       Yes

07933593                           BRZ[1], BTC[.00000033], DOGE[1], GRT[1.00250461], USD[0.00], USDT[1.08009589]                                                                                                                   Yes

07933595                           BTC[0.00053821], USD[0.00], USDT[0]

07933597                           TRX[.000001], USDT[.4509273]

07933602                           USD[0.02]

07933604                           NFT (372405079299127189/SOLYETIS #2823)[1]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07933619                           USD[5.74]

07933620                           LTC[.00043412], NFT (334990753370645201/Unverfied Token)[1], NFT (519708581668355857/FTX Crypto Cup 2022 Key #410)[1], USD[0.33], USDT[0.10102725]

07933623                           SHIB[823309.89364826], USD[0.00]                                                                                                                               Yes

07933625                           SOL[.00012651], USD[0.30]                                                                                                                                      Yes

07933629                           USD[100.00]

07933638                           CUSDT[2], TRX[.000007], USD[0.00], USDT[18.80933980]

07933639                           USD[0.00]

07933651                           USD[0.00]                                                                                                                                                      Yes

07933654                           USD[0.57]

07933657                           BTC[.04654137]

07933666                           USD[2.01]

07933674                           BTC[0], SHIB[2], USD[0.00]                                                                                                                                     Yes

07933678                           NFT (500742900352308568/Miami Ticket Stub #382)[1], NFT (549556119498543168/FTX - Off The Grid Miami #5567)[1]

07933681                           NFT (402777024950121186/Imola Ticket Stub #376)[1], TRX[.510139], USD[0.00], USDT[0.00943050]

07933686                           USD[0.00]

07933695                           BTC[.00996856], CUSDT[4], DOGE[2], ETH[.05459999], ETHW[.05392173], LINK[4.20377367], MATIC[17.92199097], TRX[1], USD[0.00]                                    Yes

07933697                           MATIC[9.5], USD[3560.33]

07933742                           ETH[.00090388], USD[41.07], USDT[247.14010248]

07933763                           USD[21.51]                                                                                                                                                     Yes

07933765                           USD[21.51]                                                                                                                                                     Yes

07933775                           SHIB[0], USD[0.00]                                                                                                                                             Yes

07933778                           TRX[.000001], USDT[0.00000022]

07933781                           MATIC[0], SHIB[98000], TRX[.000001], USD[0.47], USDT[0]

07933803                           USD[0.00]

07933806                           USDT[0.00000068]

07933813                           USD[0.00]

07933830                           USD[20.00]

07933850                           BTC[.0015], TRX[.000001], USD[0.54], USDT[0]

07933854                           BTC[.0215], DOGE[7], NFT (403371343351872393/FattyPeople #22)[1], USD[1.51]

07933870                           USD[9339.62], USDT[0], WBTC[0.00312827]

07933885                           BTC[.0048973], SOL[.97902], USD[4.87]

07933886                           BTC[.04898823], SOL[4.31144277], USD[0.00]

07933893                           USD[20.00]

07933915                           SHIB[1], TRX[1], USD[0.00]                                                                                                                                     Yes

07933916                           USD[20.00]

07933925                           CUSDT[3], SHIB[915022.0260303], USD[21.51]                                                                                                                     Yes

07933931                           USD[20.00]

07933943                           BAT[1], DOGE[2], SHIB[64.62675824], SOL[.00002266], TRX[.05816046], USD[0.00]                                                                                  Yes

07933944                           BTC[.00000012], CUSDT[4], ETHW[.15148393], SHIB[4], TRX[2], USD[21.87]                                                                                         Yes

07933950                           BTC[.01584595], USD[0.00]

07933979                           NFT (345925660362099289/Endstate Olive Sole)[1], NFT (572671620913154073/olive_black_sole)[1]

07933984                           BTC[.00007205], USD[346900.87], USDT[0.00616641]

07934001                           USD[20.00]

07934013                           BTC[.00000071], ETH[.00001265], ETHW[.00001264], MATIC[.00519948], NFT (414339257424924520/Entrance Voucher #2918)[1], SOL[.00014024], USD[0.00], USDT[0]      Yes

07934026                           USD[0.00]

07934029                           USD[147.48]

07934037                           USD[0.81]

07934042                           ETHW[.03788488], NFT (491655527926287048/SolSkull #0111)[1], SHIB[1], USD[0.00]                                                                                Yes

07934060                           USD[20.00]

07934068                           USD[20.00]

07934072                           BAT[2], BF_POINT[200], BRZ[4], DOGE[1], GRT[2], SHIB[15], SOL[.35756006], TRX[6], USD[0.00], USDT[1.01284572]                                                  Yes

07934077                           BTC[.01609859], ETH[.39224609], ETHW[.39224609], SOL[15.73020478], USD[0.00]

07934086                           NFT (314265731188007765/FatCats)[1], NFT (447529699641050486/SolCat #5975)[1], NFT (461389727977329358/Mech #12)[1], NFT (544351794272296616/Steve #1083)[1]

07934087                           BRZ[2], CUSDT[4763.96679073], DOGE[3], GRT[1], SHIB[3067638.20171473], TRX[275.91409748], USD[0.66]                                                            Yes

07934088                           BTC[0], LTC[0], MATIC[0], USD[0.30], USDT[0]

07934091                           AVAX[0], BTC[0], ETH[0.00018711], MATIC[0], USD[0.00], USDT[0]                                                                                                 Yes

07934097                           BAT[1], BRZ[1], DOGE[7.00057537], ETH[.00000521], ETHW[.00000521], SHIB[9], TRX[5], USD[0.00], USDT[0]

07934101                           BCH[.00000149], CUSDT[1], SOL[0]                                                                                                                               Yes
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07934105                              BAT[1], BTC[.00000015], CUSDT[10], ETH[.01745514], ETHW[.01723626], SOL[.42678651], TRX[2], USD[0.00]                                                                                Yes

07934118                              USD[0.68], USDT[0]

07934121                              USDT[0.00000149]

07934132                              SOL[.00069646], USD[0.00]

07934136                              CUSDT[1], DOGE[4.958], USD[0.00]                                                                                                                                                     Yes

07934144                              BF_POINT[300], USD[0.00]

07934148                              DOGE[1], SHIB[1], USD[0.00]

07934151                              USD[1.00]

07934158                              TRX[2], USD[0.00], USDT[0]

07934178                              BRZ[1], USD[0.02]

07934180                              USD[98.79]

07934181                              BTC[0], NFT (291627518196672015/Fancy Frenchies #6311)[1], NFT (309441251527185486/Astral Apes #2559)[1], NFT (310976237284956473/Red Panda #8073)[1], NFT (326555918808032997/Red
                                      Panda #3712)[1], NFT (329374866325007492/3D CATPUNK #7338)[1], NFT (347744644677152069/5560)[1], NFT (355548034013303801/Bits NFT Marketplace)[1], NFT (368950096680674636/3D
                                      CATPUNK #6856)[1], NFT (393341370215434469/Ravager #2017)[1], NFT (395651445423879136/Solana Squirrel #1812)[1], NFT (401518456189226411/Solana Islands #2039)[1], NFT
                                      (430257973191518022/The Dark Element)[1], NFT (435685048777657808/Sollama)[1], NFT (438368142924791014/Ravager #2194)[1], NFT (447331831464642085/SOLYETIS #7515)[1], NFT
                                      (450926671770682891/Red Panda #8677)[1], NFT (485696032682561728/Fancy Frenchies #3689)[1], NFT (487548310548154472/Roamer #794)[1], NFT (521649499731144431/Cyber Frogs
                                      Ramen)[1], NFT (535510292625427392/Ravager #1979)[1], NFT (536176523316915865/3D SOLDIER #348)[1], NFT (573364433832636534/3D CATPUNK #8969)[1], SOL[.003076], USD[1.78],
                                      USDT[0.61378847]
07934182                              USD[500.00]

07934186                              USD[0.01]                                                                                                                                                                            Yes

07934198                              USD[0.57], USDT[1.188516]

07934201                              ETH[.00046835], ETHW[.00046835], SHIB[150000], SOL[1.998], TRX[105.6525], USD[0.41]

07934204                              CUSDT[1], SOL[1.08101032], USD[345.99]                                                                                                                                               Yes

07934205                              BTC[0.00527689], SOL[.92402], USD[0.07], USDT[0.51997180]

07934218                              BTC[0], USD[0.84]

07934219                              NFT (308093500214514490/The Hill by FTX #1859)[1], NFT (427332992336713890/Entrance Voucher #4375)[1], NFT (497280564942029897/Bahrain Ticket Stub #417)[1]

07934223                              CUSDT[1], SUSHI[.00002058], TRX[1], USD[0.69]

07934224                              ETH[0.03708095], ETHW[0.03708095]

07934228                              CUSDT[3], DOGE[1], USD[0.40]                                                                                                                                                         Yes

07934234                              BTC[.05644186], ETH[1.734297], ETHW[1.734297], SOL[18.4524535], USD[11.25]

07934241                              AVAX[.0000093], DOGE[1], ETHW[.68141908], LINK[.00002904], SHIB[17], SOL[.00000001], TRX[2], UNI[.00003565], USD[2.48]                                                               Yes

07934258                              BF_POINT[100], BRZ[1], BTC[0], CUSDT[2], DOGE[0], ETH[0.00000818], ETHW[0.00000818], GRT[1.00310453], SOL[0], TRX[4], USD[0.00], USDT[0]

07934259       Contingent, Disputed   BTC[.00863067], TRX[1], USD[0.01]                                                                                                                                                    Yes

07934266                              ETH[.001367], ETHW[.001367], NFT (306943734134795264/Thugette #2180)[1], NFT (495283344591231028/THUG #2849)[1], NFT (547295849008271854/Ghostz #1773)[1], USD[15.53]

07934270                              NFT (420176282469527235/FTX - Off The Grid Miami #5001)[1], USD[0.00]                                                                                                                Yes

07934273                              BTC[.00016077], USD[0.57]                                                                                                                                                            Yes

07934310                              BTC[.00008115]

07934312                              NFT (368661015379235064/Banana #520)[1], NFT (428756309537187247/Banana #63)[1]

07934313                              BRZ[1], SOL[1.08861495], USD[0.00]                                                                                                                                                   Yes

07934317                              BTC[0.25101978], MATIC[1098.955], USD[3.39]

07934320                              NFT (428334069354045180/Entrance Voucher #3664)[1]

07934330                              CUSDT[1], SOL[0]                                                                                                                                                                     Yes

07934333                              ETH[1.2227], ETHW[1.2227]

07934340                              DOGE[1], TRX[2], UNI[.00152652], USD[0.00]                                                                                                                                           Yes

07934343                              AAVE[0], ALGO[0], BRZ[0], BTC[0], CUSDT[0], DOGE[0], ETH[0.00506381], KSHIB[120.08457168], SHIB[.00000506], TRX[0.00000003], UNI[0.41145691], USD[0.00]                              Yes

07934346                              USD[100.00]

07934347                              USD[0.01], USDT[.0076844]

07934352                              SHIB[6000123.31350848], USD[0.00]

07934354                              USD[1.86]

07934356                              USD[0.00], USDT[0]

07934358                              SHIB[1], TRX[1], USD[37.07]

07934360                              CUSDT[1], DOGE[1], USD[0.66]                                                                                                                                                         Yes

07934368                              USD[419.58]

07934372                              USD[20.00]

07934373                              SOL[49.25], USD[0.53]

07934374                              BTC[.00351466], CUSDT[1], ETH[.07792659], ETHW[.07696013], TRX[1], USD[0.02]                                                                                                         Yes

07934377                              AAVE[97.30052515], BTC[.0086043], DOGE[2], ETH[10.6372519], ETHW[10.63402845], GRT[481.69819801], LINK[2406.77706256], MKR[2.09608734], SUSHI[1343.07052602], USD[0.00],             Yes
                                      YFI[.21138705]
07934384                              NFT (331117220663895849/Glitched JungleCats #0930)[1]

07934402                              CUSDT[4], ETH[.06335907], ETHW[.06335907], NFT (436151680111158358/APEFUEL by Almond Breeze #226)[1], SHIB[263576.06431207], SOL[2.10342995], TRX[2], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07934413                           ALGO[1153.8411644], AVAX[.74962113], BRZ[3], BTC[.04729944], CUSDT[14], DOGE[3110.22130162], ETH[.17171358], ETHW[.17143098], GRT[2.02262922], LINK[3.11735638],                          Yes
                                   MATIC[210.73437991], NFT (288452241183063130/StarAtlas Anniversary)[1], NFT (289771803213614515/Cyber Frogs Ramen)[1], NFT (299150292471988164/StarAtlas Anniversary)[1], NFT
                                   (312547188353677693/Pirate #2295)[1], NFT (321312824016276309/Pirate #531)[1], NFT (329943127159600967/StarAtlas Anniversary)[1], NFT (358289939306778750/Baddies #1089)[1], NFT
                                   (386816690761986581/ApexDucks #1704)[1], NFT (390927301112762048/StarAtlas Anniversary)[1], NFT (424854427807149741/Golden bone pass)[1], NFT (426096516062112758/StarAtlas
                                   Anniversary)[1], NFT (451064163981031138/StarAtlas Anniversary)[1], NFT (456120289910737695/StarAtlas Anniversary)[1], NFT (492248978317673516/ApexDucks #7171)[1], NFT
                                   (511527377733889776/StarAtlas Anniversary)[1], NFT (518441342179057096/4494)[1], NFT (561763872333355617/Frog #7029)[1], NFT (567490861353041754/StarAtlas Anniversary)[1],
                                   SHIB[1296036.31666985], SOL[18.29743558], TRX[3], USD[33.54]
07934424                           BF_POINT[100]

07934426                           NFT (456885130390832281/Entrance Voucher #2721)[1], USD[1.69]                                                                                                                             Yes

07934436                           BTC[.01097609], CUSDT[2], ETHW[.05732197], SOL[2.22474523], TRX[1], USD[83.54]                                                                                                            Yes

07934445                           BRZ[1], DOGE[1], GRT[1], LTC[0], MATIC[0], SHIB[8], TRX[2], USD[3216.27]                                                                                                                  Yes

07934460                           USD[1560.00]                                                                                                                                                                              Yes

07934478                           DOGE[30.62365883], USD[21.51]                                                                                                                                                             Yes

07934490                           CUSDT[1], DOGE[84.70663861], USD[0.00]                                                                                                                                                    Yes

07934491                           BTC[0.00462330], DOGE[1.193], SHIB[3393000], USD[0.00]

07934496                           CUSDT[1], USDT[0.00343009]                                                                                                                                                                Yes

07934499                           BF_POINT[300], BRZ[11.50938599], BTC[.01143587], CUSDT[341.88009622], DOGE[107.54780251], ETH[.02812682], ETHW[6.44328997], MATIC[385.92277297], SHIB[91], TRX[95.90050014],              Yes
                                   USD[0.00], USDT[1.0609004]
07934504                           NFT (479622363704825514/FTX - Off The Grid Miami #794)[1]

07934505                           SHIB[2], SOL[0], USD[0.01], USDT[0]

07934526                           BF_POINT[200], CUSDT[3], DOGE[33.33805177], TRX[1], USD[0.00]

07934528                           NFT (290181675514640597/LINT #188)[1], NFT (408281086906828164/The 2974 Collection #0216)[1], NFT (410296086894021694/Birthday Cake #0216)[1], NFT (451417636951609653/Flutter #501)[1]

07934529                           NFT (533417743159855230/Unverfied Token)[1]

07934536                           DOGE[312], USD[0.02]

07934537                           USD[20.00]

07934547                           ETH[.01874603], ETHW[.01874603]

07934553                           BTC[0], ETH[0], SOL[0], USD[0.00]                                                                                                                                                         Yes

07934573                           BRZ[1], CUSDT[17], GRT[8.68081886], SHIB[3], TRX[1], USD[0.00]                                                                                                                            Yes

07934575                           ETH[.037], ETHW[.037], USD[2.01]

07934592                           NFT (304081283995937139/Microphone #3038)[1]

07934605                           BTC[2.04082539], LINK[1776.3219], MATIC[22797.18], SOL[256.31254]

07934611                           USD[20.00]

07934612                           BRZ[3], BTC[.06062328], GRT[1], SHIB[7], SOL[.00172713], TRX[2], USD[0.00], USDT[1.00827868]                                                                                              Yes

07934615                           USD[13.20], USDT[0]

07934618                           BTC[.01169242], SHIB[1], SOL[.66840857], USD[9.00]                                                                                                                                        Yes

07934623                           USD[0.02]                                                                                                                                                                                 Yes

07934627                           SOL[.000001]                                                                                                                                                                              Yes

07934628                           USD[20.00]

07934647                           USD[1.04]                                                                                                                                                                                 Yes

07934650                           BAT[9.10812877], BRZ[5.8173867], BTC[.00076527], CUSDT[393.05435749], DOGE[79.3096367], ETH[.04268379], ETHW[.04215046], KSHIB[476.23693777], MATIC[6.37865607], NFT                      Yes
                                   (511810140319614250/Voxel City #6)[1], SHIB[412027.9787801], SOL[.08150133], SUSHI[3.5653085], TRX[215.011562], USD[0.00], USDT[57.42905457]
07934652                           USD[0.01]                                                                                                                                                                                 Yes

07934654                           LINK[0], LTC[0], SOL[0.91453123], USD[0.00], USDT[0]                                                                                                                                      Yes

07934661                           ALGO[0], AVAX[0.00000001], BTC[0], ETH[0], ETHW[0], LINK[0], MATIC[0], NEAR[0], NFT (383914132893610748/Entrance Voucher #3521)[1], SOL[0], USD[0.00], USDT[0]                            Yes

07934664                           BTC[.0080919], USD[3.89]

07934666                           SOL[.97]

07934675                           BRZ[10.39369843], CUSDT[8], ETHW[6.91433653], NFT (476018101740083964/Entrance Voucher #1846)[1], SHIB[6], TRX[18.38630277], USD[0.01], USDT[4.18170164]

07934688                           SOL[.00425795], USD[0.00]

07934701                           BRZ[1], BTC[.02895553], CUSDT[3], DOGE[1], ETH[.14753766], ETHW[.14666742], SHIB[4740857.53248597], TRX[2], USD[0.01]                                                                     Yes

07934703                           BTC[.00617353], CUSDT[2506.94000138], DOGE[1214.58327447], ETH[.02691402], ETHW[.02658224], KSHIB[1479.64037044], SUSHI[9.61322705], TRX[1], USD[0.00]                                    Yes

07934711                           ETH[.01160788], ETHW[.01160788], USD[0.00]

07934715                           SHIB[1], USD[0.00]                                                                                                                                                                        Yes

07934724                           TRX[.000001]

07934727                           USD[0.00]

07934732                           BTC[0], SOL[0], USD[0.00]

07934734                           USD[0.00]

07934738                           USD[20.00]

07934742                           USD[20.00]

07934747                           BTC[.00123158], CUSDT[243.63959098], DOGE[1], ETH[.00702324], ETHW[.00694116], SOL[.05304433], USD[0.16]                                                                                  Yes

07934749                           ALGO[0], BTC[0], MATIC[0], NFT (377918854503953703/Lil Pudgy #6463)[1], NFT (546737096601349441/Lil Pudgy #9733)[1], SOL[0], SUSHI[0], USD[0.00], USDT[0.00001081]

07934752                           GRT[1], USD[15.05], USDT[1.04638933]                                                                                                                                                      Yes

07934754                           USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07934757                              USD[752.54], USDT[.00032118]

07934759                              ETH[0]

07934765                              USD[0.00], USDT[.00474717]

07934767                              USD[20.00]

07934782                              NFT (421341912802743865/FTX - Off The Grid Miami #5598)[1], NFT (483809543395832926/Imola Ticket Stub #1471)[1], SHIB[1300000], SOL[1.01], USD[1.00]

07934797                              ETH[0.45104534], USD[82.17], USDT[0]

07934808                              MATIC[0], SOL[0], USD[0.00], USDT[0.00000048]

07934816                              USD[0.00]

07934817                              USD[1000.00]

07934826                              USD[3.79]

07934828                              BTC[.00935949], DOGE[4.19570056], ETH[.04095739], ETHW[.04045123], SHIB[365667.6612262], SOL[3.40233709], TRX[2], USD[0.15]                                                                 Yes

07934838                              BAT[1], BRZ[1], DOGE[2], ETH[.00007566], ETHW[8.6651933], MATIC[.00528208], SHIB[1], SOL[.00042385], USD[0.00]                                                                              Yes

07934841                              CUSDT[1], DOGE[1], MATIC[220.25930117], SOL[17.59185529], USD[0.23]                                                                                                                         Yes

07934848                              USD[200.00]

07934849                              USD[22.22]

07934850                              USD[20.00]

07934860                              SOL[.00688012]                                                                                                                                                                              Yes

07934873                              SHIB[5], USD[0.01]                                                                                                                                                                          Yes

07934883                              NFT (374964652973608914/SolSister #00527)[1], NFT (541986100287086971/Sisterverse #4902)[1]

07934891                              USD[0.00]

07934896                              BTC[0], ETHW[.10335437], USD[266.62]                                                                                                                                                        Yes

07934899                              NFT (314588398193549234/Entrance Voucher #3040)[1], USD[1.22]

07934900       Contingent, Disputed   DOGE[1], ETH[.00000065], ETHW[.07001974], SHIB[1], TRX[2], USD[0.00]                                                                                                                        Yes

07934904                              ETH[.00015386], ETHW[.00015386], NFT (289599983028971978/Punk Robots #3)[1], NFT (290593517014330659/Faceless #3)[1], NFT (292311178311718249/Colorful Metaverse #5)[1], NFT
                                      (293024311860835536/MagicEden Vaults)[1], NFT (293290709678306693/Colorful Metaverse #8)[1], NFT (295405284469302977/Metaverse Robots #2)[1], NFT (295583360800848362/Dark World )[1],
                                      NFT (297613639152988269/Invisible Avatar )[1], NFT (301790587733302512/Sentai Pink Bird)[1], NFT (302588222520896012/Motley Zoo #7)[1], NFT (307961736769065694/Deer Human Avatar #3)[1],
                                      NFT (309611519142400241/Invisible Avatar #5)[1], NFT (309816981521454644/MetaGuardian #4)[1], NFT (311655327393367235/Metaverse Robots #7)[1], NFT (312109005267940248/Motley Zoo
                                      #17)[1], NFT (312811334405533157/Metaverse Robots #4)[1], NFT (313903546581055103/Invisible Avatar #3)[1], NFT (314218984184727707/Dream Women #9)[1], NFT
                                      (316312476110551580/Colorful Metaverse #6)[1], NFT (318509128511821990/Invisible Avatar #7)[1], NFT (320398703027057808/Adam West)[1], NFT (327058271668077418/Metaverse Robots #5)[1],
                                      NFT (327501801462603302/ Heron Dream Art)[1], NFT (327674579500895350/MetaGuardian #6)[1], NFT (327879832783494694/Punk Robots #7)[1], NFT (330865747874431139/Bear Bird)[1], NFT
                                      (330923898815336955/Vox Robo #38)[1], NFT (331760557844743033/Mercury Heads)[1], NFT (332044764444253338/Dream Land #21)[1], NFT (335392248425651768/MagicEden Vaults)[1], NFT
                                      (339682829364969551/Dune Art #2)[1], NFT (339985373858939098/MetaGuardian #10)[1], NFT (343157817728633879/Punk Robots #4)[1], NFT (344114629072737807/Deer Human Avatar #8)[1], NFT
                                      (347341773049454173/MetaGuardian #12)[1], NFT (347593189679429617/Metaverse Masks #6)[1], NFT (348249772557077652/MetaVerse People #13)[1], NFT (349108054369654873/Invisible Avatar
                                      #6)[1], NFT (350639397986552999/Entrance Voucher #25488)[1], NFT (351000500127977487/Metaverse Masks #24)[1], NFT (352423521209045980/Sentai Yellow Bird)[1], NFT
                                      (354400229640534150/Dream Women #3)[1], NFT (358193925376257070/Deer Human Avatar #2)[1], NFT (359554298341067105/Jupiter Heads)[1], NFT (359730247587574688/Dream Land #19)[1],
                                      NFT (360834014988190159/Faceless #2)[1], NFT (360861748870621573/Freddie)[1], NFT (365056929404011847/VoxToys)[1], NFT (365585179780255163/Colorful Metaverse #3)[1], NFT
                                      (366595331873014375/Rick & Morty Dream Art)[1], NFT (368660444629652372/Metaverse Robots)[1], NFT (373002619579195995/Punk Robots)[1], NFT (375439204238769208/David Bowie)[1], NFT
                                      (375503807811946491/Deer Human Avatar #7)[1], NFT (378511425450308874/Underwater Dream Art)[1], NFT (382378618798435570/Punk Robots #2)[1], NFT (383285849525518027/Star Wars
                                      Dream Art)[1], NFT (383622719006500076/Colorful Metaverse #10)[1], NFT (383889500744938729/Pleb Wojak)[1], NFT (384651144041718691/Invisible Avatar #8)[1], NFT
                                      (389647423860242276/Colorful Metaverse #7)[1], NFT (390910459995102128/Dream Women #15)[1], NFT (393387178102982274/Vox Ninja Turtles Toys)[1], NFT (399043870852022917/Marylin)[1],
                                      NFT (400040428062028388/MetaGuardian #9)[1], NFT (402854512201028140/Punk Robots #6)[1], NFT (409351895167925982/Colorful Metaverse #9)[1], NFT (417447016966824275/Deer Human
                                      Avatar)[1], NFT (421123052265086095/Sparrow Dream Art)[1], NFT (428340172741767401/Deeno Vox)[1], NFT (428985822601101888/Colorful Metaverse #2)[1], NFT (430190246607514678/Invisible
                                      Avatar #2)[1], NFT (430525417887076744/Kurt)[1], NFT (432296028204072066/Leonard)[1], NFT (433094519334592432/MagicEden Vaults)[1], NFT (435866570080018498/Dark World #8)[1], NFT
                                      (436059474685573622/Battle against the Straw Hats)[1], NFT (439241204588268766/Bored Ape Vox #2)[1], NFT (441163917213609279/MetaGuardian #14)[1], NFT (442837356626675543/Dream Land
                                      #11)[1], NFT (447238242251161127/MetaGuardian #5)[1], NFT (448572492165347617/Reeves)[1], NFT (449062924100089521/Uranus Heads)[1], NFT (451032763318146418/Crypto Avatar Art #51)[1],
                                      NFT (452000392006937582/Sentai Green Bird)[1], NFT (453447377840585989/Dream Land #6)[1], NFT (454059627656543616/Dark World #10)[1], NFT (454806061102627293/Deer Human Avatar
                                      #4)[1], NFT (457686229016793256/Deer Human Avatar #6)[1], NFT (458249725361661803/Colorful Metaverse #4)[1], NFT (461442872662656859/MagicEden Vaults)[1], NFT
                                      (462393373381364645/Nightm Dream Art)[1], NFT (466544265728527066/Mars Heads)[1], NFT (469061883317949200/Dark World #9)[1], NFT (470482184009374798/Sentai Blue Bird)[1], NFT
                                      (471921344045390477/Vox Punk #10)[1], NFT (472257291909497877/Dream Land #13)[1], NFT (472431242205568837/Sentai Red Bird)[1], NFT (473411472524957789/Ballet Bird)[1], NFT
                                      (474118549581379297/Dark World #11)[1], NFT (476617049437323997/MetaGuardian #11)[1], NFT (477627258716418455/World of Pixel #21)[1], NFT (479800881895581698/Dark World #6)[1], NFT
                                      (481216348516315981/Metaverse Robots #3)[1], NFT (482017816327867426/Carrie)[1], NFT (482849550809516761/Vox Poke Toys)[1], NFT (484338214454748790/Vox Punk #13)[1], NFT
                                      (486501233013673801/City Dream Art)[1], NFT (487500553750569924/Dream Women #4)[1], NFT (488136989664636547/Dark World #7)[1], NFT (492346046742831669/Nurarihyon Bird)[1], NFT
                                      (493512157180118662/VoxToys #3)[1], NFT (494632848986646354/Dream Land #9)[1], NFT (497570486818893439/McDonalds Bird)[1], NFT (504890650049661239/Faceless #6)[1], NFT
                                      (507234015208774811/MetaGuardian #7)[1], NFT (508548296539730121/Dream Land #24)[1], NFT (510783077693001588/VoxToys #4)[1], NFT (513466556870025807/Dream Land #23)[1], NFT
                                      (515338252284035980/Vox Squid Toys)[1], NFT (518781257586152317/Mega Voxels #5)[1], NFT (519492016143634306/Dream Land #14)[1], NFT (519827966428096193/Tiger Vox)[1], NFT
                                      (526559864363318460/Forest Walk Dream Art)[1], NFT (533047038980017355/Bruce)[1], NFT (533677520158165116/Invisible Avatar #4)[1], NFT (534030441348190671/Punk Robots #5)[1], NFT
                                      (544029733186567393/Wonderland Dream Art)[1], NFT (544216171015593771/Vox Punk #12)[1], NFT (551387086980981675/MagicEden Vaults)[1], NFT (553692881176700535/Mega Voxels #7)[1],
                                      NFT (554666606081536166/Deer Human Avatar #5)[1], NFT (555664173011515079/Venus Heads)[1], NFT (558116148808980314/Russian Bird)[1], NFT (560500311554466289/Red Giant Bird)[1], NFT
                                      (563124011606137471/MetaGuardian #8)[1], NFT (565917433667684323/Unicorn Bird)[1], NFT (566062534733059845/Trumped)[1], NFT (569007627467067598/Sentai Black Bird)[1], NFT
                                      (573564768781342514/Faceless #4)[1], NFT (573950584743965346/Dream Women #12)[1], USD[0.00]


07934910                              USD[20.00]

07934911                              BTC[.0001]

07934912                              ETH[.00013179], ETHW[.00013179], NFT (300425443833869442/Discover for Denali )[1], NFT (307279188005690951/curious guy)[1], NFT (353727176807859701/Educate for Everest)[1], NFT
                                      (386926111564133071/Elevate for Elbrus)[1], NFT (439671991303792204/no name guy)[1], NFT (440136905319203674/Teach for the Tetons)[1], NFT (467118445502991483/Meaningfulmountains)[1],
                                      NFT (486269520431612232/Shy guy)[1], NFT (558591705194376895/Matter for Matterhorn)[1], NFT (567812592329195916/Achieve for Aoraki)[1], USD[0.00]

07934918                              BRZ[2], CUSDT[4], DOGE[1], TRX[1], USD[0.00]

07934922                              BTC[.00000016], CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                Yes

07934924                              BTC[.0002997], DOGE[100], ETH[.006993], ETHW[.006993], SHIB[300000], SOL[.00999], USD[1.65]

07934926                              NFT (376421104934600691/Entrance Voucher #2322)[1]

07934933       Contingent, Disputed   SHIB[1898100], USD[0.90], USDT[.0092]

07934945       Contingent, Disputed   AUD[0.00], AVAX[.00000259], BTC[0], GRT[1], SHIB[6], TRX[1], USD[0.02]                                                                                                                      Yes
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07934955                              TRX[.022533], USD[0.01], USDT[.009]

07934958                              USD[20.00]

07934964                              USD[0.00]                                                                                                                                                                             Yes

07934971                              USD[10.22]

07934982                              USDT[0.00024603]

07934983                              USD[1.20]

07934988                              SOL[0], USD[0.00]

07935000                              BTC[.15550154], NFT (440093592143271142/The Hill by FTX #5379)[1], NFT (566039703904523007/FTX Crypto Cup 2022 Key #1887)[1], SOL[.38272], USD[1103.63]

07935002                              BRZ[1], BTC[0.00721359], CUSDT[3], DAI[0], DOGE[3], LINK[0], USD[0.00]                                                                                                                Yes

07935019                              NFT (391215053520747365/Microphone #8906)[1], SOL[1], USD[36.60]

07935025                              BRZ[1], SHIB[5674242.52915162], USD[0.00]                                                                                                                                             Yes

07935034                              ETHW[.0328441], USD[47.21]                                                                                                                                                            Yes

07935037                              USDT[.008863]

07935041                              BTC[0], ETH[0], LTC[0], USD[0.00]                                                                                                                                                     Yes

07935043                              USD[0.00]

07935049                              USD[0.00]

07935051                              ALGO[.969], LINK[.09], LTC[.007], MATIC[4.28], SHIB[1196200], SOL[.00918], SUSHI[.33], USD[2.32]

07935052                              SOL[.0000826]                                                                                                                                                                         Yes

07935053                              SHIB[1211680.28876776], USD[0.00]                                                                                                                                                     Yes

07935061                              USD[20.00]

07935063                              USD[1.59]

07935064                              BTC[.19895098], USD[0.00]

07935066                              BTC[.0468], ETH[.338661], ETHW[.338661], SHIB[100000], TRX[10], USD[6.25]

07935068                              USD[0.00]

07935073                              NFT (423414008880137205/Entrance Voucher #16038)[1], USD[0.46]

07935085       Contingent, Disputed   USD[0.00]

07935088                              USD[20.00]

07935090                              BTC[0]

07935093                              SOL[6.30621981]                                                                                                                                                                       Yes

07935096                              DOGE[941], SHIB[1598400], SUSHI[17.5], USD[0.61]

07935104                              USD[20.00]

07935108       Contingent, Disputed   DOGE[0], USD[0.00]

07935113                              AAVE[.002642], BTC[.002178], ETH[.000671], ETHW[.000671], LINK[.068781], SUSHI[.083537], UNI[.075992], USD[43.61]

07935114                              USD[0.00], USDT[0.00000035]

07935118                              USD[21.51]                                                                                                                                                                            Yes

07935124                              NFT (474147734176047289/David #591)[1], NFT (494325334727334707/Chitto)[1], SOL[.40724382], USD[1.82]

07935141                              BF_POINT[100], BTC[0.01170260], NEAR[33.52161558], NFT (288812335734007897/Roamer #62)[1], NFT (319061076798549710/Game #4)[1], NFT (370980097258621058/Highland Mesa #30)[1],        Yes
                                      NFT (437411309467379666/FTX - Off The Grid Miami #2012)[1], NFT (455025101638453299/Entrance Voucher #29375)[1], NFT (461012989529499181/Sisterverse #6060)[1], NFT
                                      (487489311217434719/SolSister #09035)[1], NFT (495597052996673471/Marcus Allen's Playbook: USC vs. Washington - November 14, 1981 #65)[1], SHIB[48784453.05250531], SOL[0], TRX[1],
                                      USD[1.01]
07935147                              USD[20.00]

07935148                              USD[500.01]

07935154                              GRT[1581.60451464], MATIC[8.59], TRX[.501], USD[0.00], USDT[0]

07935156                              USD[21.51]                                                                                                                                                                            Yes

07935168                              BF_POINT[200]                                                                                                                                                                         Yes

07935169                              BRZ[1], CUSDT[2], DOGE[1], SOL[0], TRX[2], USD[0.02], USDT[0.00000002]                                                                                                                Yes

07935170                              USD[0.03]

07935171                              BRZ[150.23241215], BTC[.00177433], CUSDT[762.65403077], DAI[18.33324392], DOGE[300.06096916], ETH[.03102358], ETHW[.03064054], GRT[24.36238224], KSHIB[283.64256045],                 Yes
                                      MATIC[47.84875535], SHIB[479389.9978611], SOL[.07017543], SUSHI[5.48201325], TRX[157.47305704], USD[0.07], USDT[27.07072146]
07935173                              BTC[0], GRT[513.94205], TRX[.000002], USD[0.07], USDT[0.00001259]

07935177                              USD[0.00]

07935182                              BTC[.0000038], USD[0.00]

07935185                              AVAX[.0946], BTC[.0000989], ETHW[.000937], LINK[.0916], SOL[0], USD[0.26], USDT[.3324753]

07935188                              CUSDT[1], USD[0.00]                                                                                                                                                                   Yes

07935200                              BTC[0], ETH[.01215937]

07935207                              USD[1.01]

07935219                              CUSDT[3], ETH[.02270847], ETHW[.02242245], MATIC[57.5758227], SHIB[2096778.31571362], USD[0.01]                                                                                       Yes

07935224                              DOGE[2], LINK[7.80758123], SOL[1.75589115], USD[0.01]                                                                                                                                 Yes

07935225                              AVAX[6.6], USD[0.00]

07935234                              USD[20.00]
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07935249                              AAVE[0], BAT[0], BRZ[0], BTC[.00000002], DOGE[1], ETH[0.06898453], ETHW[0.06812770], GRT[0], LINK[0], MATIC[0.00035916], SHIB[35.33327744], SOL[0], SUSHI[0], TRX[0], USD[0.00], USDT[0], Yes
                                      YFI[.00000001]
07935265                              BRZ[1], USD[0.00], USDT[0]                                                                                                                                                                Yes

07935269                              CUSDT[1], SOL[.12435851], USD[0.00]

07935282                              USD[0.35], USDT[0]

07935283                              BTC[.017423], SOL[6.26914671]                                                                                                                                                            Yes

07935284                              BTC[.00521103], CUSDT[10], DOGE[171.8366852], ETH[.0349579], ETHW[.03452014], TRX[2], USD[147.10]                                                                                        Yes

07935289                              SOL[0.04018383], USD[0.00]                                                                                                                                                               Yes

07935293                              SHIB[18300000]

07935295                              BTC[.00089136], ETHW[.01444546], USD[75.11]                                                                                                                                              Yes

07935310                              USD[198.36]

07935316                              USD[0.00]

07935321                              USD[100.00]

07935342                              CUSDT[1], MATIC[33.02133029], USD[0.00]

07935367                              NFT (405829135682909118/Humpty Dumpty #1125)[1], NFT (429781652906757825/Microphone #9947)[1], NFT (546224319960958913/Romeo #2969)[1]

07935368                              TRX[.000001], USD[0.00]

07935369                              CUSDT[7], ETH[.02465326], ETHW[.02435162], SHIB[1], USD[0.00]                                                                                                                            Yes

07935371                              BTC[.00324313], CUSDT[1], USD[0.00]

07935373                              BRZ[1], CUSDT[4], DOGE[.63756938], USD[72.42]                                                                                                                                            Yes

07935395                              BTC[0.00509780], DOGE[73.65160673], ETH[.0660342], ETHW[.05449965], MATIC[20.0009345], PAXG[.02765373], USD[4.07]                                                                        Yes

07935407                              USD[0.00]

07935408                              SHIB[20000000]

07935409                              CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                             Yes

07935425       Contingent, Disputed   LINK[9.70290081], SHIB[6893267.57169268], SOL[4.91107673], USD[0.01]                                                                                                                     Yes

07935428                              CUSDT[1], USD[0.00], USDT[0]                                                                                                                                                             Yes

07935437       Contingent, Disputed   BF_POINT[100], BRZ[1], CUSDT[6], USDT[0.00000001]                                                                                                                                        Yes

07935447                              SOL[.00001234], USD[0.00]                                                                                                                                                                Yes

07935467                              MATIC[0]

07935468                              USD[10.04]                                                                                                                                                                               Yes

07935471                              USD[0.43]

07935479                              BTC[.00035968], ETH[.03], ETHW[.03], SOL[.24], USD[25.75]

07935488                              USD[0.01]

07935507                              SOL[.0087], USD[1.13]

07935509                              SOL[.0099]

07935512                              USD[20.00]

07935515                              BAT[13.62134014], BRZ[1], BTC[.00020542], CUSDT[4], GRT[10.94936787], LINK[1.08152214], SOL[.36633291], USD[16.82]                                                                       Yes

07935525                              USD[6.54]

07935529                              CUSDT[3], GRT[3.22987436], USD[0.00]                                                                                                                                                     Yes

07935550                              BF_POINT[200], CUSDT[1], SHIB[7505640.72750766], USD[0.01]                                                                                                                               Yes

07935558                              BTC[.00159857], CUSDT[1], USD[0.00]

07935561                              CUSDT[2], SHIB[2], TRX[1], USD[34.72]                                                                                                                                                    Yes

07935566                              SOL[.10399875], USD[2000.00]

07935577                              SOL[141.37864265], USD[0.00], USDT[0.00000038]                                                                                                                                           Yes

07935587       Contingent, Disputed   USD[20.00]

07935596                              CUSDT[2], SHIB[1], USD[0.00]                                                                                                                                                             Yes

07935605                              BAT[0], BTC[0], ETH[0], ETHW[0], NFT (326152692973165427/StarAtlas Anniversary)[1], NFT (336793415971491943/Frog #41)[1], NFT (358927919408527370/StarAtlas Anniversary)[1], NFT
                                      (391902948497630651/StarAtlas Anniversary)[1], NFT (392057513050967279/StarAtlas Anniversary)[1], NFT (431089811835567269/Cyber Frogs Ramen)[1], NFT (449695215133016256/StarAtlas
                                      Anniversary)[1], NFT (484127897099141688/StarAtlas Anniversary)[1], NFT (511793978768351278/StarAtlas Anniversary)[1], NFT (543444546215604037/Golden bone pass)[1], NFT
                                      (572622492249754764/StarAtlas Anniversary)[1], SOL[0], USD[0.00], USDT[0]
07935627                              USD[0.00]

07935654                              BTC[.08263517]

07935666                              BTC[.0005], USD[75.02], USDT[3.12039656]

07935667                              SOL[0], USD[0.00], USDT[0]

07935678                              MATIC[30], USD[1.15]

07935687                              USD[0.00]

07935695                              USD[14.70]

07935706                              BRZ[3], BTC[.15782517], CUSDT[9], DOGE[1], ETH[.43067566], ETHW[.43049488], SOL[7.22846501], TRX[2], USD[2116.76]                                                                        Yes

07935711                              ETH[0.02650001], ETHW[0.02650000], SOL[2.31730355], USD[0.40]
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07935712                              AVAX[.00000001], BCH[0], BTC[0], DOGE[1], ETH[0.00000001], LTC[0], NFT (298502422577597870/Australia Ticket Stub #662)[1], NFT (311141971593474772/Monza Ticket Stub #84)[1], NFT       Yes
                                      (320065522770654960/Austin Ticket Stub #50)[1], NFT (337042764496660933/Almost Famous Pandas #3801)[1], NFT (346830438037261731/Hungary Ticket Stub #200)[1], NFT
                                      (357286888588769196/Netherlands Ticket Stub #19)[1], NFT (396685690962378198/France Ticket Stub #133)[1], NFT (428639268206990215/Imola Ticket Stub #1300)[1], NFT
                                      (455806209260335117/Belgium Ticket Stub #15)[1], NFT (456077315009269813/Bahrain Ticket Stub #752)[1], NFT (471503698746337801/Singapore Ticket Stub #22)[1], NFT
                                      (472082536295066578/Mexico Ticket Stub #61)[1], NFT (478256295398262044/Baku Ticket Stub #232)[1], NFT (502107635684885207/MF1 X Artists #40)[1], NFT (515104501932276331/Silverstone
                                      Ticket Stub #86)[1], NFT (551688913857806902/Japan Ticket Stub #19)[1], NFT (569809533744889458/Miami Ticket Stub #447)[1], SHIB[21], SOL[0], USD[0.00]

07935714                              CUSDT[3], DOGE[1], ETH[.10583694], ETHW[.10476096], SHIB[967375.72448729], TRX[259.19696649], USD[0.00]                                                                                 Yes

07935754                              BTC[.00167719], CUSDT[1], USD[0.00]                                                                                                                                                     Yes

07935762                              BTC[.00448652], USD[0.00], USDT[0.00000001]

07935765                              ETH[.011], ETHW[.011], NFT (368433380055777693/Tubby Cats with NFT swag by Vanilla)[1], NFT (400724024625190919/gm #2050)[1], NFT (407242531976816487/Golden Hill #660)[1], NFT
                                      (419341973730613467/Gutter Punks Flyer - ENS)[1], NFT (511884537012590213/Circles #1)[1], NFT (548740450064863515/Entrance Voucher #4371)[1], USD[50.01]
07935769                              SOL[0], USD[9.84]

07935776                              BTC[0.03841493], ETH[1.22364895], ETHW[.482], LINK[251.7], MATIC[590], USD[3.05]

07935794                              NFT (316568367453797801/Microphone #5961)[1]

07935797                              LINK[.35161579], LTC[.05520627], SUSHI[.93873955], USD[5.43]                                                                                                                            Yes

07935798                              AAVE[9.39], LINK[32], SOL[4.96], USD[1.69]

07935806                              USD[0.43]

07935824                              SOL[1.05], USD[1.12]

07935828                              BAT[2.06573013], BRZ[1], BTC[0.06304867], CUSDT[6], ETH[5.57514196], ETHW[5.57282775], GRT[2.03079743], SHIB[78274990.82340808], TRX[5], USD[8196.50], USDT[1.07492454]                 Yes

07935830                              USD[20.00]

07935836                              BTC[.00244367], SHIB[2186907.71249453], USD[0.00]

07935853                              SOL[.001], USD[3.07]

07935862                              DOGE[366.18132383], SHIB[3395586.73853989], TRX[1], USD[0.00]

07935864                              BTC[.0021], MATIC[9.9335], USD[0.81]

07935866                              BTC[.0001]

07935880                              ETH[0], ETHW[0], USD[0.01]                                                                                                                                                              Yes

07935893                              BAT[2.09744691], BRZ[5.91449134], BTC[0.00005958], CUSDT[53.30494541], DOGE[71.19738544], ETH[.0002602], ETHW[.0002602], GRT[1.3594811], LTC[.0113797], MATIC[0.54443058],              Yes
                                      SHIB[812147.58947373], TRX[.76703536], USD[0.67]
07935904                              USD[1.00]

07935910                              ALGO[0], AVAX[0], BTC[0], DAI[0], ETH[0], ETHW[0], GRT[0], MATIC[0], NEAR[0], SHIB[0], SOL[.00000001], USD[0.05], USDT[0]                                                               Yes

07935914                              CUSDT[2], USD[0.00]                                                                                                                                                                     Yes

07935915                              NFT (431006146749546650/Imola Ticket Stub #2240)[1], NFT (476489474396355233/Entrance Voucher #952)[1]

07935918                              BTC[.1359839], ETH[1.745253], ETHW[.046953], SHIB[1], USD[67.02]

07935919                              USD[0.01], USDT[0]

07935922                              GRT[135.22436905], TRX[1074.96518819], USD[0.00]                                                                                                                                        Yes

07935930                              BRZ[1], CUSDT[5], DOGE[1.00276549], GRT[.00071963], TRX[1], USD[0.00]                                                                                                                   Yes

07935931                              BRZ[2], CUSDT[20], DOGE[5], GRT[1], LINK[.00003825], LTC[.00001045], TRX[6], USD[0.00]                                                                                                  Yes

07935938                              CUSDT[4649], NFT (553489719096471512/SolBunnies #3666)[1], SOL[1.22890750], USD[0.13], USDT[0.00000175]

07935940                              BRZ[1], BTC[.08482431], DOGE[3], ETH[1.0922118], ETHW[1.0922118], TRX[2], USD[0.00], USDT[1]

07935955                              BTC[.00000673], USD[0.00]

07935961                              BAT[136.30158839], BTC[.00360244], ETH[.05416383], LTC[3.2817206], MATIC[.51872041], SOL[.73801608], TRX[2006.26576312], USD[0.40], USDT[0]                                             Yes

07935962                              DOGE[56.30588482], SHIB[290734.44279184], SOL[.16068302], USD[0.00]                                                                                                                     Yes

07935968                              BAT[0], BF_POINT[200], BTC[0], SHIB[0], SOL[.00000001], USD[0.00], USDT[0.00000001]                                                                                                     Yes

07935978       Contingent, Disputed   USD[20.00]

07935979                              BTC[.00665196], CUSDT[1], DOGE[1], ETH[.01587064], ETHW[.01567912], TRX[2], USD[0.00]                                                                                                   Yes

07935981                              NFT (430720663781083976/FTX - Off The Grid Miami #375)[1]

07935989                              NFT (475224360704347153/Entrance Voucher #2070)[1]

07935992                              TRX[.000001], USD[0.00], USDT[0]

07935993                              USD[7.50]

07936000                              BTC[0], ETH[0], ETHW[0], LINK[1.43485611], USD[0.00], USDT[0]

07936002                              USD[3.28], USDT[0.69387280]

07936003                              SOL[.00532084], USD[0.00]

07936011                              BTC[0], LINK[0], USD[0.00]

07936020                              USD[0.00]

07936024                              BAT[1], BTC[0], SHIB[8], USD[0.00], USDT[0.00000576]                                                                                                                                    Yes

07936029                              SOL[0], USD[0.00]

07936037                              USD[20.00]

07936041                              USD[0.00]

07936045                              USD[20.00]

07936046                              BTC[0.00016025], CUSDT[6], DAI[3.14387652], DOGE[7.79116773], MATIC[.00003508], TRX[19.6522343], USD[0.00]                                                                              Yes

07936069                              BTC[.01658846]
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
                                                                                                  Amended Schedule 1754      Filed
                                                                                                                      Nonpriority     06/27/23
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                                                                                                                                            Customer Claims                                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07936077                              DOGE[15.984], SUSHI[1], USDT[.5579464]

07936079                              USD[21.51]                                                                                                                                                                      Yes

07936084                              BTC[0], ETH[.0139075], ETHW[.0139075], USD[0.00], USDT[9.11239697]

07936085                              USD[100.03]

07936088                              DOGE[0], SHIB[0], TRX[0], USD[0.01]                                                                                                                                             Yes

07936112                              USD[20.00]

07936129                              BF_POINT[300], BRZ[2], BTC[.05874354], DOGE[3], ETH[.06100302], ETHW[.06024651], SHIB[3], TRX[1], USD[0.97]                                                                     Yes

07936135                              USD[20.00]

07936140                              USD[4395.00]

07936141                              BTC[0], USD[0.00]

07936148                              USD[20.00]

07936157                              CUSDT[2], SOL[2.04018921], USD[0.01]

07936159                              CUSDT[451.65080736], MATIC[18.28502625], USD[15.01]

07936160                              SHIB[256000000], USD[0.27]

07936162                              USD[20.00]

07936164                              TRX[.00007], USD[0.00]

07936166                              BTC[.00001349], ETH[.00070587], ETHW[.00070587], USD[64.22]

07936171                              ETH[.0052929], ETHW[.0052929], USD[0.00]

07936174                              USD[20.00]

07936181                              USD[20.00]

07936183                              SHIB[20403.99918384], USD[27.00]

07936195                              USD[544.03]                                                                                                                                                                     Yes

07936198                              NFT (359738912962918444/FTX - Off The Grid Miami #1840)[1], USD[0.01]

07936215                              USD[500.00]

07936218                              SHIB[443.91401525], USD[0.00]                                                                                                                                                   Yes

07936220                              SOL[7.99760411], TRX[1], USD[0.00]

07936232                              BTC[.00433252]                                                                                                                                                                  Yes

07936254                              BTC[.0016258], CUSDT[3], SHIB[2090846.16557005], SOL[.44715896], TRX[1], USD[0.00]                                                                                              Yes

07936255                              BTC[.00000094], ETH[.00001006], ETHW[0], USD[0.00]                                                                                                                              Yes

07936263                              SOL[.00001565], USD[0.00], USDT[0.00000089]

07936267                              LTC[0], USD[0.68]

07936275                              BTC[.2586411], ETH[.400599], ETHW[.400599], MATIC[219.78], SOL[11.89809], USD[63.89]

07936283                              BTC[.0032], ETH[.032967], ETHW[.032967], USD[2.53]

07936291                              BTC[0.00007401], USD[0.00]

07936293                              BTC[0], USD[0.00]                                                                                                                                                               Yes

07936300                              SHIB[1170890.98252249], USD[0.90], USDT[0]

07936303                              BTC[.0007992], GRT[54.945], USD[2.17]

07936305                              DOGE[1], USD[0.00]                                                                                                                                                              Yes

07936307                              USD[0.00]

07936314                              BTC[.00005296], ETH[.0009031], ETHW[.0009031], USD[0.01]

07936325                              USD[20.00]

07936330                              DOGE[1], USD[0.00]                                                                                                                                                              Yes

07936333                              BAT[1.00952449], BTC[.02009032], CUSDT[2], DOGE[2], ETH[.28928441], ETHW[.28909169], SOL[2.06488126], TRX[2], USD[0.01]                                                         Yes

07936335                              USD[20.00]

07936338                              SHIB[5595.80827702], USD[0.00]                                                                                                                                                  Yes

07936350       Contingent, Disputed   USD[0.00]

07936360                              NFT (354936345592626257/The Hill by FTX #1730)[1]

07936367                              AAVE[.05720975], AVAX[.2962013], BAT[10.18250107], BRZ[1], BTC[.00023973], CUSDT[9], DAI[.99485046], DOGE[21.67376808], ETH[.03557128], ETHW[.03513352], KSHIB[150.29403525],   Yes
                                      LINK[.2397657], LTC[.01688574], MATIC[.5917242], SHIB[2399177.97845921], SOL[.33082968], SUSHI[.09040925], TRX[1], UNI[.03832644], USD[0.01]
07936401                              USD[20.00]
West Realm Shires Services Inc.                                                      Case 22-11068-JTD      Doc F-3:
                                                                                                 Amended Schedule 1754      Filed
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                                                                                                                                           Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or       Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07936405      Contingent, Disputed   NFT (288630726093686757/3D Metaverse #3)[1], NFT (288675602374185483/Normal One)[1], NFT (288746653574173532/Vox World #33)[1], NFT (289279829418720504/Comics #23)[1], NFT
                                     (289560199425188549/Gods Fam #18)[1], NFT (290778826163176900/Cyber Face #5)[1], NFT (290783558436455930/Surreal World #43)[1], NFT (290955663434897422/Pug Love #31)[1], NFT
                                     (291593686883716555/Box Heads #12)[1], NFT (291781943215782443/Digital Z #36)[1], NFT (292717177798074517/Astro Stones #73)[1], NFT (292911967819911186/DogChain)[1], NFT
                                     (293119559129371240/3D Metaverse #4)[1], NFT (293668105225862265/Surreal World #90)[1], NFT (294428670022834595/Comics #16)[1], NFT (294685734423855451/Ast #17)[1], NFT
                                     (295404942569102214/Vox World #34)[1], NFT (296216087032380090/Punk 3D)[1], NFT (297697871911682568/Ast #18)[1], NFT (299721265450415559/Dragon Avatar #32)[1], NFT
                                     (299759659786321775/Surreal World #41)[1], NFT (300087969657076264/Sir Alex)[1], NFT (300442074862087855/Pug Love #28)[1], NFT (300819322797951857/Vox World #36)[1], NFT
                                     (301681879293231672/Ast #13)[1], NFT (302367589482812530/Pug Love #35)[1], NFT (303506826436219992/Digital Z #30)[1], NFT (304039064411243365/Astro Avatar #4)[1], NFT
                                     (304539013256660541/Dragon Avatar #25)[1], NFT (305200866084672751/Box Heads #32)[1], NFT (307261213717612313/Vox World #35)[1], NFT (308689398541056275/Box Heads #25)[1], NFT
                                     (308767369686741009/Ast #16)[1], NFT (308848327030736298/Box Heads #22)[1], NFT (310058159741005448/Comics #8)[1], NFT (310684518290496062/3D Metaverse #2)[1], NFT
                                     (313278127473283795/Comics #4)[1], NFT (313955199741541690/Wonderland)[1], NFT (314485959404444469/Gods Fam #12)[1], NFT (318285874912531867/Balotelli)[1], NFT
                                     (319068471983667663/Pulp Fiction)[1], NFT (319672264785847873/Rome)[1], NFT (321475509230959658/Die Hard)[1], NFT (321884676464870784/Dragon Avatar #51)[1], NFT
                                     (322400671218480032/Gattuso)[1], NFT (322522400830505122/Dragon Avatar #12)[1], NFT (322600585045242389/Womanizer)[1], NFT (323808169189101932/Gods Fam #10)[1], NFT
                                     (324009830178269425/Dragon Avatar #33)[1], NFT (324074822849612769/Metaverse Courts #13)[1], NFT (324480501598367697/Surreal World #63)[1], NFT (324883944819595064/Dragon Avatar
                                     #55)[1], NFT (326062724101747502/Comics #12)[1], NFT (327013092230864372/Box Heads #15)[1], NFT (327029072715771536/MetaScenes #12)[1], NFT (327721615136692459/MetaScenes #14)[1],
                                     NFT (328321271074787185/Astro Stones #80)[1], NFT (328389782789216647/Womanizer #3)[1], NFT (328534094985678311/MetaScenes #10)[1], NFT (329729425551932674/Box Heads #28)[1], NFT
                                     (330831921745596750/Astro Avatar #5)[1], NFT (331630580108668336/Box Heads #35)[1], NFT (336290209291039229/Ast #3)[1], NFT (340025032722873942/Cantona)[1], NFT
                                     (341356897275776817/MetaScenes #7)[1], NFT (342465655394478360/Dragon Avatar #56)[1], NFT (342665007174127283/Dragon Avatar #37)[1], NFT (342751781908426575/Pixel Scenes #12)[1],
                                     NFT (343750988380171399/Comics #13)[1], NFT (344045221634538061/Womanizer #5)[1], NFT (344210158143190839/Pulisic)[1], NFT (346981307863725300/Surreal World #76)[1], NFT
                                     (349602390162866069/Virgil Van Dijk)[1], NFT (350625560924565156/Ast #15)[1], NFT (350859739022388789/Surreal World #74)[1], NFT (351356494128675109/Comics #15)[1], NFT
                                     (352709167213173656/Dark Vampire Art #3)[1], NFT (352772812137571721/Pixel Scenes #5)[1], NFT (355039310653449940/Astro Stones #82)[1], NFT (355052970318491512/DogChain #2)[1], NFT
                                     (355380575407901928/Comics #9)[1], NFT (356138027273239375/Dead Nation #2)[1], NFT (356745807523205317/MetaScenes #5)[1], NFT (356983905076083458/Astro Stones #67)[1], NFT
                                     (357677254561989182/Dragon Avatar #50)[1], NFT (357818357900694546/3D Metaverse)[1], NFT (358289205803820474/Metaverse Courts #7)[1], NFT (360977401088125812/Lalaland)[1], NFT
                                     (362009943197527776/Metaverse Courts #12)[1], NFT (362669337361363195/Comics #26)[1], NFT (362707844218000721/Man in Black)[1], NFT (364242832667905431/Gods Fam #14)[1], NFT
                                     (364368179099482630/Astro Stones #79)[1], NFT (365143024413285401/MetaScenes #9)[1], NFT (365715673800624553/Astro Avatar #3)[1], NFT (368507803493787384/Astro Stones #78)[1], NFT
                                     (369256834029508303/Comics #19)[1], NFT (371684604313588112/Alien Women #6)[1], NFT (373075897008791181/Comics #6)[1], NFT (373194752785418985/Cyber Face #6)[1], NFT
                                     (374062788408750968/Las Vegas Casinos)[1], NFT (374276257037836586/Pug Love #37)[1], NFT (375254113112592601/Astro Stones #69)[1], NFT (377732054445076098/Pug Love #33)[1], NFT
                                     (379375012762702289/Pixel Scenes #13)[1], NFT (380988197989065342/Big Lebowski)[1], NFT (382571413449603295/Comics #20)[1], NFT (383810543196822527/Ast #7)[1], NFT
                                     (384000439829179187/Ast #10)[1], NFT (389142803415049500/Maradona)[1], NFT (389955566417720430/Pixel Scenes #8)[1], NFT (390163233809342538/Vox World #10)[1], NFT
                                     (391749475392887751/Womanizer #6)[1], NFT (391786536948128227/Zombie World #5)[1], NFT (391990656680095074/Dragon Avatar #47)[1], NFT (392355740146672460/Dragon Avatar #59)[1],
                                     NFT (393200515341476197/Astro Stones #85)[1], NFT (393671406436338943/Cyber Face #2)[1], NFT (395392787339812214/Comics #24)[1], NFT (397421554872542165/Dragon Avatar #44)[1], NFT
                                     (399960054051906996/Surreal World #84)[1], NFT (400633054838387196/Surreal World #79)[1], NFT (402089194499712534/Wonderland #2)[1], NFT (404044600133820842/Dragon Avatar #38)[1],
                                     NFT (404798846465449244/Dragon Avatar #22)[1], NFT (404987171771379060/Box Heads #39)[1], NFT (405396389840145824/Schindler List)[1], NFT (405702677585893595/Metaverse Courts
                                     #15)[1], NFT (405825398057250929/Astro Stones #77)[1], NFT (405858458015415398/Vox World #9)[1], NFT (406580834197939928/Astro Stones #75)[1], NFT (406960128136853653/ALI)[1], NFT
                                     (407047201276626531/Dragon Avatar #42)[1], NFT (408401570569113071/Astro Stones #74)[1], NFT (409387169574802378/Metaverse Courts #5)[1], NFT (409656379780730637/Pug Love #34)[1],
                                     NFT (409854642283638259/PELE)[1], NFT (411264809418388498/Dragon Avatar #19)[1], NFT (412725473082250617/Gods Fam #13)[1], NFT (413741041700335492/Box Heads #36)[1], NFT
                                     (413788262562138208/Dragon Avatar #58)[1], NFT (414267438910876647/Dead Nation #5)[1], NFT (414314617725255878/Ast #9)[1], NFT (416550821990642239/Gods Fam #16)[1], NFT
                                     (416576507880201030/Dead Nation)[1], NFT (417031019220756514/Box Heads #16)[1], NFT (418105459145812639/Comics #22)[1], NFT (418259983859958016/MetaScenes #3)[1], NFT
                                     (419032371286289190/Shrek)[1], NFT (419094067113620643/Dragon Avatar #40)[1], NFT (419787187049235522/Womanizer #4)[1], NFT (420637575200704209/Box Heads #19)[1], NFT
                                     (420788833425135337/Box Heads #27)[1], NFT (421003983639177214/Ast)[1], NFT (423076955010474289/Ast #6)[1], NFT (423746431837436762/The Truman Show)[1], NFT
                                     (424568572510464383/Box Heads #31)[1], NFT (425395681195909671/Interstellar FMS)[1], NFT (425697117077984208/Messi GOAT)[1], NFT (426461213696466774/Dragon Avatar #11)[1], NFT
                                     (426937740042960410/Pixel Scenes #3)[1], NFT (427328320758914087/Box Heads #21)[1], NFT (427795509969085582/Box Heads #18)[1], NFT (428387280252962537/Pug Love #30)[1], NFT
                                     (428978616266576579/Surreal World #53)[1], NFT (429858139388228699/Metaverse Courts #10)[1], NFT (430318831781160306/Box Heads #24)[1], NFT (431716317768779342/Dragon Avatar
                                     #45)[1], NFT (433923936245912692/Beverly Hills)[1], NFT (433950292338431064/Pixel Dic #3)[1], NFT (434097980114698678/MetaScenes #13)[1], NFT (434333872119446730/Dead Nation #3)[1],
                                     NFT (434464132071613298/Pixel Dic #2)[1], NFT (434735346282965335/Special One)[1], NFT (434885189332776701/Ast #14)[1], NFT (435764115882876728/Muppet)[1], NFT
                                     (435944968758166883/Vox World #11)[1], NFT (435961124003542314/Wonderland #3)[1], NFT (436342664400087712/Vox World #20)[1], NFT (436769527554979963/Pug Love #32)[1], NFT
                                     (439686461134834947/Dragon Avatar #3)[1], NFT (439911046334394382/Vox World #23)[1], NFT (442125957651019829/Dragon Avatar #17)[1], NFT (442296571976454614/Box Heads #37)[1], NFT
                                     (442899694681995356/Comics #17)[1], NFT (443098004074888319/DogChain #4)[1], NFT (443154632733545832/Box Heads #26)[1], NFT (443708942010952506/Vox World #26)[1], NFT
                                     (445412757925965690/Surreal World #87)[1], NFT (447086955667943986/Back to the Future)[1], NFT (447115889511506944/Dragon Avatar #5)[1], NFT (447121628419131322/Dark Vampire Art
                                     #2)[1], NFT (447782562896291228/Metaverse Courts #8)[1], NFT (451237508950782963/Pirlo)[1], NFT (451457651891648565/Pug Love #22)[1], NFT (451770888015856685/Metaverse Courts #14)[1],
                                     NFT (452516437363129198/Suarez)[1], NFT (454746779819657568/Brick World #23)[1], NFT (455238920328686861/Dragon Avatar #15)[1], NFT (455782165645733158/Box Heads #40)[1], NFT
                                     (457970035845329817/Pixel Dic)[1], NFT (459502658328376484/Zombie World #7)[1], NFT (459558790038405058/Pug Love #8)[1], NFT (461671612574269704/American Beauty)[1], NFT
07936408                             ETH[.087], ETHW[.087], MATIC[635.23385960], SOL[6.14485], USD[0.00], WBTC[.0017]

07936413                             NFT (290376396286383060/Bewitched Ape #3)[1], NFT (290892862645947423/Bewitched Ape #10)[1], NFT (296481731335037041/Bewitched Ape #2)[1], NFT (305322314820403565/FTX Avatars
                                     #2)[1], NFT (305531180024562484/Infinity Generation #2)[1], NFT (308728491712686855/Skull Love #48)[1], NFT (311141112752023144/Skull Love #59)[1], NFT (313323267741503301/Bewitched Ape
                                     #18)[1], NFT (320398947982847822/Sphynx Cats #3)[1], NFT (322751815337016616/Infinity Generation #5)[1], NFT (336726935274775310/Infinity Generation #4)[1], NFT (338372085802508976/Skull
                                     Love #57)[1], NFT (350726661259607764/Ape Paradise #5)[1], NFT (365279299465183524/Skull Love #50)[1], NFT (365782779318545107/Skull Love #67)[1], NFT (368618490117057517/Skull Love
                                     #52)[1], NFT (370892971216222019/Ape Paradise #2)[1], NFT (373060731953327700/Ape Paradise)[1], NFT (373356287974748800/Moonlight Avatar #6)[1], NFT (374009215437392715/Desperate Ape
                                     Wife Evolution #6)[1], NFT (374091211867321349/Skull Love #64)[1], NFT (374713937273666744/Bewitched Ape #15)[1], NFT (375913215851367113/FTX Avatars #8)[1], NFT
                                     (378027570361026757/Bewitched Ape #8)[1], NFT (379078225074823856/FTX Avatars #10)[1], NFT (384113517952828408/Desperate Ape Wife Evolution #4)[1], NFT (385293240688138556/Moonlight
                                     Avatar #7)[1], NFT (387909389613760027/Bewitched Ape #12)[1], NFT (389855439610987439/Bewitched Ape #4)[1], NFT (400967472164870246/Skull Love #66)[1], NFT
                                     (401706420922095850/Bewitched Ape)[1], NFT (402096626604985403/Moonlight Avatar)[1], NFT (406440979355104964/Moonlight Avatar #3)[1], NFT (408470452276820915/Bewitched Ape #6)[1],
                                     NFT (410525162361097368/FTX Avatars #17)[1], NFT (411541551452900440/Ape Paradise #4)[1], NFT (423944216525179576/Bewitched Ape #16)[1], NFT (424995923685843959/FTX Avatars #5)[1],
                                     NFT (428465051156377601/Bug Style)[1], NFT (430769361992046475/Bewitched Ape #19)[1], NFT (442676256523740648/FTX Avatars #9)[1], NFT (445241657061396031/Skull Love #56)[1], NFT
                                     (446287136704243433/FTX Avatars #16)[1], NFT (448392660429156542/NFT Toys #19)[1], NFT (450904126155851101/NFT Toys #20)[1], NFT (456805741849350527/Bewitched Ape #11)[1], NFT
                                     (458129738844929914/FTX Avatars #12)[1], NFT (460471621434519303/Bug Style #3)[1], NFT (463204190719648814/Skull Love #53)[1], NFT (465861378375383391/Desperate Ape Wife
                                     Evolution)[1], NFT (466597836887106318/Infinity Generation)[1], NFT (467974494739118874/FTX Avatars #4)[1], NFT (473614210739499813/Bewitched Ape #5)[1], NFT
                                     (474593912162148357/Desperate Ape Wife Evolution #5)[1], NFT (488386379421349218/FTX Avatars #6)[1], NFT (490512823762549388/Moonlight Avatar #8)[1], NFT (495930974861954474/FTX
                                     Avatars #13)[1], NFT (497845186512843894/Bug Style #5)[1], NFT (507065214539839803/Desperate Ape Wife Evolution #2)[1], NFT (508423988153772233/Moonlight Avatar #5)[1], NFT
                                     (508712285531914093/Bug Style #2)[1], NFT (508964582805531271/Skull Love #55)[1], NFT (515483667623925083/FTX Avatars #11)[1], NFT (515535971830382090/Moonlight Avatar #9)[1], NFT
                                     (519061696131260809/Skull Love #47)[1], NFT (523531955411730628/FTX Avatars)[1], NFT (524708702730908566/Bewitched Ape #20)[1], NFT (525341012214008607/FTX Avatars #3)[1], NFT
                                     (530637491418118988/Moonlight Avatar #2)[1], NFT (530961560417971861/Ape Paradise #3)[1], NFT (537290675434957819/Bug Style #4)[1], NFT (540001056234604017/Bewitched Ape #17)[1], NFT
                                     (546717836210283186/FTX Avatars #14)[1], NFT (547962362369395809/Skull Love #63)[1], NFT (550235343578139752/Moonlight Avatar #4)[1], NFT (558637100436051436/Bewitched Ape #14)[1],
                                     NFT (559650266406545865/Bewitched Ape #9)[1], NFT (561534584520871813/FTX Avatars #7)[1], NFT (565709130132148003/FTX Avatars #15)[1], NFT (566330133617235605/Desperate Ape Wife
                                     Evolution #3)[1], NFT (568074003353279194/Bewitched Ape #7)[1], NFT (569890149888804638/Bewitched Ape #13)[1], USD[0.01], USDT[0]


07936415                             BTC[0], USD[0.00]

07936417                             BAT[120.07262155], BTC[.0110693], CUSDT[9], DOGE[767.12112872], ETH[.17213789], ETHW[.17185686], MATIC[168.25922405], SHIB[6334406.12435394], TRX[1463.1086068], USD[0.66],                  Yes
                                     USDT[.00090823]
07936421                             NFT (323378125404828952/On the Dock )[1], NFT (353137993424268030/Nature)[1], NFT (563613111100386027/PI #5568)[1], SOL[.07]

07936423                             ALGO[0], BAT[1], BCH[0], BF_POINT[300], BRZ[1], BTC[0.00000002], CUSDT[9], DAI[0], DOGE[1], ETH[0], ETHW[0.00000007], GRT[0], LINK[0], LTC[0], MATIC[0.00012799], PAXG[0], SHIB[13],         Yes
                                     SOL[-0.00000001], TRX[6], USD[0.00]
07936438                             SOL[.63], USD[0.87]

07936449                             SHIB[49875.31172069], USD[7.00]

07936471                             SOL[.09]

07936484                             CUSDT[2], TRX[5392.47616682], USD[0.01]                                                                                                                                                      Yes
West Realm Shires Services Inc.                                                          Case 22-11068-JTD      Doc F-3:
                                                                                                     Amended Schedule 1754      Filed
                                                                                                                         Nonpriority     06/27/23
                                                                                                                                     Unsecured           Page 492 of 1384
                                                                                                                                               Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or         Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07936492      Contingent, Disputed     SOL[0], USD[0.00]

07936498                               CUSDT[2], SOL[0], USD[0.00]

07936504        Contingent, Disputed   AAVE[0], BTC[0], CUSDT[2], TRX[1]                                                                                                                                                          Yes

07936507                               NFT (423210547229476643/SOLEX S1 #0112)[1]

07936511                               NFT (418627891890487955/Imola Ticket Stub #800)[1], SHIB[2], USD[0.01]                                                                                                                     Yes

07936516                               ETH[.00125057], ETHW[.00125057], NFT (302238205124786174/Bella vette #2)[1], NFT (393384940162682278/Bella vette )[1], USD[0.00]

07936520                               CUSDT[1], DOGE[64.89035801], ETH[.08151065], ETHW[.08151065], SHIB[269688.16289104], USD[0.00]

07936523                               CUSDT[3], DOGE[2], LINK[8.6731395], MATIC[81.74083182], SOL[8.22623581], USD[0.00]                                                                                                         Yes

07936524                               LTC[0.05786818], USD[0.00]

07936528                               NFT (357495909747515436/2974 Floyd Norman - OKC 6-0084)[1], NFT (385508248975944601/The 2974 Collection #0585)[1], NFT (496573267835407945/2974 Floyd Norman - OKC 3-0171)[1], NFT
                                       (519045055098489819/Birthday Cake #0585)[1]
07936530                               USD[0.38]

07936536                               USD[20.00]

07936537                               BTC[.0003]

07936545                               DOGE[1], NFT (334199272059593410/3D CATPUNK #5060)[1], NFT (382730128168438683/3D CATPUNK #2517)[1], NFT (386120920836779048/3D CATPUNK #4312)[1], NFT                                     Yes
                                       (386281950327756732/3D CATPUNK #3192)[1], NFT (395507889376244052/3D CATPUNK #1687)[1], NFT (398602259968221215/3D CATPUNK #4965)[1], NFT (405132471452477155/3D CATPUNK
                                       #9035)[1], NFT (416836191344429121/3D CATPUNK #2371)[1], NFT (428423479847812512/3D CATPUNK #4382)[1], NFT (434862076764956514/3D CATPUNK #5000)[1], NFT
                                       (459564226713193051/3D CATPUNK #5965)[1], NFT (471537747726573324/3D CATPUNK #4344)[1], NFT (482505179316718474/3D CATPUNK #7738)[1], NFT (566374161337771504/3D CATPUNK
                                       #6461)[1], SOL[.00000001], USD[0.00]
07936555                               BCH[2.5914058], DOGE[1812.96], ETH[.35499171], ETHW[0.35499170], LTC[14.9513705], MATIC[274.585], SOL[2.0701675], UNI[191.741755], USD[43.33]

07936563                               USD[0.00]

07936589                               USD[0.00]                                                                                                                                                                                  Yes

07936612                               NFT (293360849712913909/CRYPTOTUE #7)[1], NFT (298902723332576928/GIRAFFEZ)[1], NFT (299653631085576736/GIRAFFEZ #9)[1], NFT (304872238412764323/CRYPTOTUE #4)[1], NFT
                                       (305106468430650801/CRYPTO-FOOT #1)[1], NFT (316933565458208641/BANANA #38)[1], NFT (322404764554426664/GIRAFFEZ #16)[1], NFT (326859367591551161/FTX BANANA #10)[1], NFT
                                       (332194650429823988/CRYPTOTUE #13)[1], NFT (337720953565459980/CRYPTOTUE #2)[1], NFT (347983285663168459/SKULL-BIT #15)[1], NFT (350851963527856071/FTX BANANA #4)[1], NFT
                                       (352069740143201014/CRYPTOTUE #14)[1], NFT (356426326080623842/GIRAFFEZ #5)[1], NFT (360990649489330484/GIRAFFEZ #2)[1], NFT (361012647246449323/SKULL-BIT #9)[1], NFT
                                       (361507807933548704/FTX BANANA #8)[1], NFT (362643953881375381/FTX BANANA #11)[1], NFT (370517124471785813/GIRAFFEZ #8)[1], NFT (374821162873025581/GIRAFFEZ #11)[1], NFT
                                       (376890217182404134/GIRAFFEZ #10)[1], NFT (386817736573196399/CRYPTOTUE #1)[1], NFT (386826039291227600/CRYPTOTUE #8)[1], NFT (387097909945347070/Worried Mask #4)[1], NFT
                                       (389260040431738777/FTX BANANA #12)[1], NFT (397278215597790442/SKULL- BIT #17)[1], NFT (398566652634829812/CRYPTOTUE #3)[1], NFT (403849529369942751/Worried Mask #7)[1], NFT
                                       (405008945753121784/CRYPTOTUE #18)[1], NFT (407418685232313475/FTX BANANA #3)[1], NFT (411963268841753346/BANANA #42)[1], NFT (414078608550582209/SKULL- BIT #23)[1], NFT
                                       (415068991833259800/BANANA #41)[1], NFT (419936233044904563/FTX BANANA #13)[1], NFT (420328043055720335/GIRAFFEZ #14)[1], NFT (421052172287322096/GSW Western Conference
                                       Finals Commemorative Banner #2024)[1], NFT (423620046187178396/GSW Championship Commemorative Ring)[1], NFT (425278720966977719/FTX BANANA #14)[1], NFT
                                       (429144116444719457/Worried Mask #5)[1], NFT (436225361340189903/CRYPTOTUE #16)[1], NFT (438027128902465639/CRYPTOTUE #17)[1], NFT (440811308328615260/BANANA #39)[1], NFT
                                       (446155496809201702/SKULL- BIT #22)[1], NFT (451160418972959007/CRYPTOTUE #19)[1], NFT (469359475477914933/GIRAFFEZ #3)[1], NFT (469723260425156101/JUNGLE HORSES #7)[1],
                                       NFT (474302581118002424/GIRAFFEZ #7)[1], NFT (480246838953391336/Worried Mask #1)[1], NFT (480436775194657119/CRYPTOTUE #12)[1], NFT (480570573183307027/BANANA)[1], NFT
                                       (482283980806721579/GIRAFFEZ #4)[1], NFT (483479033606323238/SKULL- BIT #19)[1], NFT (484086650610888961/BANANA #45)[1], NFT (488671937860922871/GSW Western Conference
                                       Semifinals Commemorative Ticket #1091)[1], NFT (489211946802564148/FTX BANANA #6)[1], NFT (491102539096400933/SKULL- BIT #18)[1], NFT (501446663058905955/GIRAFFEZ #18)[1], NFT
                                       (504982301080163558/Worried Mask #3 #2)[1], NFT (505063633643178563/CRYPTOTUE #5)[1], NFT (506526290746404141/CRYPTOTUE #10)[1], NFT (510750772409541663/FTX BANANA #5)[1],
                                       NFT (511536518864930032/CRYPTO-FOOT #2)[1], NFT (516083231819507908/FTX BANANA #7)[1], NFT (519285270158864860/CRYPTOTUE #11)[1], NFT (521995517833631817/CRYPTOTUE
                                       #9)[1], NFT (531926824591264572/SKULL-BIT #14)[1], NFT (539974798899115576/BANANA #46)[1], NFT (542934144810435991/FTX BANANA #9)[1], NFT (543704433732987715/GSW Western
                                       Conference Finals Commemorative Banner #2023)[1], NFT (544308252057391725/FTX BANANA #2)[1], NFT (545157358532290590/GIRAFFEZ #6)[1], NFT (547831093993003138/FTX BANANA
                                       #15)[1], NFT (549981269241712463/FTX BANANA #1)[1], NFT (551259564090314673/GSW 75 Anniversary Diamond #45 (Redeemed))[1], NFT (551931292767627304/Worried Mask #3)[1], NFT
                                       (556055860442081175/CRYPTOTUE #6)[1], NFT (556632414273323475/SKULL- BIT #24)[1], NFT (556891454652428932/GIRAFFEZ #13)[1], NFT (557477185456340511/BANANA #37)[1], NFT
                                       (558775021489478015/SKULL-BIT #13)[1], NFT (563155455790754257/GIRAFFEZ #12)[1], NFT (563400090545067210/Worried Mask #6)[1], NFT (563624708139714386/SKULL-BIT #12)[1], NFT
                                       (572051724872962571/BANANA #44)[1], NFT (575673970615782413/CRYPTOTUE #15)[1], SOL[.05000001], USD[32.02], USDT[0.27743580]

07936621                               USD[0.00]

07936626                               ETH[0], NFT (299602003640459311/Vox Hero #4)[1], NFT (302102605466219353/My Little Gang #50)[1], NFT (314419244202594146/Pretto #29)[1], NFT (317874888004502439/Elsa)[1], NFT
                                       (342293742946251869/My Avatar #21)[1], NFT (345327232491437883/Voxnology #15)[1], NFT (348634630006947707/Little Joker)[1], NFT (354483604969352643/My Little Gang #44)[1], NFT
                                       (356814307324373581/Vox Hero #2)[1], NFT (360014766727904124/Vox Hero #3)[1], NFT (362970172599696682/My Little Gang #46 #2)[1], NFT (368267023799525191/Vox Hero #1)[1], NFT
                                       (371952475416937763/My Little Gang #28)[1], NFT (374636952648957573/My Little Gang #42)[1], NFT (380717680209134891/My Little Gang #45)[1], NFT (386783079375691313/Vox Hero #6)[1], NFT
                                       (387691979620722913/Voxnology #18)[1], NFT (391077080558500470/My Little Gang #30)[1], NFT (400799858958469768/My Avatar #22)[1], NFT (405151563590319315/My Little Gang #8)[1], NFT
                                       (406380032313819196/My Little Gang #54)[1], NFT (411241307741470840/My Little Gang #46)[1], NFT (412090066243178501/My Avatar #27)[1], NFT (413147685959063770/My Little Gang #49)[1],
                                       NFT (416403969779017147/My Little Gang #52)[1], NFT (416480821264064147/Charlotte)[1], NFT (417972041564886101/Harry & Hedwig)[1], NFT (422975844574709838/Julielle)[1], NFT
                                       (424653540217228003/My Avatar #26)[1], NFT (426245879603679248/Vox Hero #10)[1], NFT (430722620130162829/Michonne)[1], NFT (432500564020885156/My Little Gang #23)[1], NFT
                                       (438551774083518879/Vox Hero #7)[1], NFT (439478844259364047/Vox Hero #5)[1], NFT (444368982495664991/My Avatar #24)[1], NFT (455906212576169664/My Little Gang #32)[1], NFT
                                       (458400704645203601/Pretto #35)[1], NFT (460442540567049034/Pop Art #42)[1], NFT (465165166263464560/Vox Hero #9)[1], NFT (466140366996862262/Voxnology #16)[1], NFT
                                       (470817377431269628/My Avatar #30)[1], NFT (472321917230910386/My Little Gang #47)[1], NFT (472431888148290987/My Avatar #29)[1], NFT (486684243714292175/My Avatar #23)[1], NFT
                                       (498192019529673132/My Little Gang #13)[1], NFT (499036241818598799/Pretto #11)[1], NFT (499997287860582288/My Avatar #20)[1], NFT (501506227924696130/My Little Gang #25)[1], NFT
                                       (501851519559718936/Pretto #34)[1], NFT (504733834694069049/My Little Girls #9)[1], NFT (506272363365688809/My Little Gang #51)[1], NFT (507407917365278098/My Avatar #25)[1], NFT
                                       (514193749116446590/Pop Art #46)[1], NFT (519029438271633204/My Little Gang #22)[1], NFT (523873187928639832/My Little Gang #27)[1], NFT (525329002655036062/Pop Art #46 #4)[1], NFT
                                       (527439035789188031/Vox Hero #8)[1], NFT (529911264768435298/Pretto #6)[1], NFT (530555466822193302/Sophie)[1], NFT (540054471988364082/Pretto #24)[1], NFT (540900430088161654/Pretto
                                       #36)[1], NFT (550757404153401135/Pretto #27)[1], NFT (553123468993475146/My Little Girls #2)[1], NFT (559055035325179365/Pretto #26)[1], NFT (560017960487474039/Pretto)[1], NFT
                                       (569738480705701150/Doraemon)[1], NFT (574931294341250610/My Avatar #28)[1], SOL[.54972096], USD[0.00], USDT[0.00000057]

07936631                               LINK[11.28026359], SHIB[3], TRX[2], USD[126.42]                                                                                                                                            Yes

07936637                               BAT[48.44992460], CUSDT[3], DOGE[175.06742388], MATIC[8.88885574], SUSHI[1.03637933], TRX[110.99609189]                                                                                    Yes

07936643                               ETH[.00087555], ETHW[.00087555], SOL[.0088315], TRX[.000001], USD[0.00], USDT[1.3722625]

07936658                               CUSDT[3], KSHIB[.00168633], SHIB[629181.86953765], TRX[91.71493261], USD[0.00], USDT[0]                                                                                                    Yes

07936691                               BRZ[1], CUSDT[1], DOGE[0], KSHIB[0], LTC[20.88690874], SHIB[82516445.13341915], TRX[1], USD[0.08], USDT[0]                                                                                 Yes

07936709                               BRZ[1], USD[0.00]                                                                                                                                                                          Yes

07936713                               ETH[0], USD[0.00], USDT[0.00000057]

07936716                               ETHW[1.38676784], SHIB[8686506.15306531], SOL[6.53090651], USD[-46.86], USDT[0.00094658]                                                                                                   Yes

07936727                               USD[217.21]                                                                                                                                                                                Yes

07936730                               SOL[.02971919], USD[0.00]

07936738                               USD[0.00]
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
                                                                                                  Amended Schedule 1754      Filed
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07936767                              AAVE[.00444], ALGO[.594], USD[2448.54]

07936778                              DOGE[1737.261], ETH[.05], ETHW[.05], SOL[1], USD[203.74]

07936789                              BTC[.00037292], ETH[.00558023], ETHW[.00558023]

07936797                              USD[0.00]                                                                                                                                                                               Yes

07936801                              NFT (308161062626812086/SBF Hair & Signature #2 #111)[1]

07936805                              CUSDT[1], SHIB[551801.09156237], USD[0.00]                                                                                                                                              Yes

07936807                              NFT (418011511067162885/Sky Trawler)[1], SOL[.044]

07936810                              USD[652.38]                                                                                                                                                                             Yes

07936828                              BRZ[1], USDT[0.00005064]                                                                                                                                                                Yes

07936839                              BAT[.00000001], USD[0.01], USDT[0]                                                                                                                                                      Yes

07936845                              SOL[4.46553], USD[502.82]

07936847                              ETH[0]

07936849                              BTC[.00673295], CUSDT[2], DOGE[812.09672327], SHIB[5320564.97978185], USD[0.00]

07936869                              CUSDT[1], SHIB[570233.7958563], USD[0.00]

07936870                              DOGE[14945.86875], SHIB[56746040], USD[1.57]

07936873                              USD[517.53]                                                                                                                                                                             Yes

07936881                              USD[20.00]

07936882       Contingent, Disputed   USD[0.00]

07936887                              DOGE[322], USD[0.52]

07936888                              BAT[20.59736395], CUSDT[3], USD[0.00]

07936905                              ETH[0], SOL[.83635464], USD[5.00]

07936922                              NFT (339437289011850279/Shannon Sharpe's Playbook: Baltimore Ravens vs. Oakland Raiders - January 14, 2001 #75)[1], NFT (347351086133168770/Shannon Sharpe's Playbook: Baltimore Ravens Yes
                                      vs. Denver Broncos - December 31, 2000 #63)[1], NFT (406334654397380849/Shannon Sharpe's Playbook: Baltimore Ravens vs. Oakland Raiders - January 14, 2001 #76)[1], NFT
                                      (446780791669886357/Joe Theismann's Playbook: Washington vs. Miami Dolphins - January 30, 1983 #53)[1], NFT (462223055125385303/Shannon Sharpe's Playbook: Kansas City Chiefs vs Denver
                                      Broncos - October 4, 1992 #65)[1], NFT (481978335825678355/Joe Theismann's Playbook: Notre Dame vs. USC - November 30, 1968 #55)[1], NFT (507009158738693197/Shannon Sharpe's Playbook:
                                      Baltimore Ravens vs. Oakland Raiders - January 14, 2001 #77)[1], NFT (516984111406835521/Joe Theismann's Playbook: Washington vs. Miami Dolphins - January 30, 1983 #54)[1], NFT
                                      (526247010857799345/Shannon Sharpe's Playbook: Baltimore Ravens vs. Denver Broncos - December 31, 2000 #62)[1], NFT (526557191451094298/Shannon Sharpe's Playbook: Kansas City Chiefs vs
                                      Denver Broncos - October 4, 1992 #66)[1], USD[0.46]
07936923                              ETH[.19181526], ETHW[.00085412], EUR[0.61], TRX[.000641], USD[0.01], USDT[514.69203170]

07936929                              BTC[.00016027], TRX[1], USD[0.02]                                                                                                                                                       Yes

07936942                              GRT[1.00343963], TRX[1], USD[0.00]                                                                                                                                                      Yes

07936945                              BTC[.001616]

07936951                              SOL[.63680235], USD[0.00]

07936952                              ETH[.00000001], ETHW[0]                                                                                                                                                                 Yes

07936955                              DOGE[13270.55522669], GRT[2], USD[0.00]

07936958                              BTC[.0036963], GRT[.75], USD[0.90]

07936968                              USD[42.19]                                                                                                                                                                              Yes

07936970                              SOL[5.29], USD[0.15]

07936977                              BRZ[1], DOGE[2], SHIB[8], TRX[1], USD[0.82], USDT[0.00001518]                                                                                                                           Yes

07936989                              SOL[.00094], USD[52.41], USDT[12.49944281]

07936991                              BF_POINT[200]                                                                                                                                                                           Yes

07936999                              USD[1000.00]

07937005                              ETH[0]

07937007                              BTC[.00003688], USD[0.70]

07937030                              SOL[0], USD[0.00]

07937044                              CUSDT[1], DOGE[39.14571244], TRX[1], USD[0.00]

07937045                              BRZ[2], CUSDT[2], DOGE[1], ETHW[.08663424], SHIB[7], TRX[1], USD[114.44]                                                                                                                Yes

07937054                              USD[20.00]

07937059                              MATIC[10], USD[2.12]

07937066                              CUSDT[2], LTC[0], SHIB[2], USD[0.00]                                                                                                                                                    Yes

07937072                              NFT (295163647125722131/Sigma Shark #1418)[1], NFT (297496909839279705/PixelPuffins #1107)[1], NFT (302619583064287402/Anti Social Bot #226)[1], NFT (317059378286802977/3D CATPUNK
                                      #9027)[1], NFT (323385798560769663/DRIP NFT)[1], NFT (327167057789907356/Toasty Turts #5926)[1], NFT (327221612961656303/Miner Bot 890)[1], NFT (336224054388998500/PixelPuffins
                                      #4531)[1], NFT (341510701644178719/Solana Islands #1226)[1], NFT (348709424420247434/The Tower #219-9)[1], NFT (367030816726865546/Elysian - #2185)[1], NFT
                                      (375344687428431056/SOLYETIS #4023)[1], NFT (385485714421068004/Solana Penguin #1049)[1], NFT (386373935363458950/Solana Penguin #3283)[1], NFT (394271949267158025/Kiddo
                                      #4494)[1], NFT (408588683998547753/ApexDucks Halloween #710)[1], NFT (420006106400275390/Baddies #1750)[1], NFT (431317317572376105/#3163)[1], NFT (437618250951726155/SharkBro
                                      #1927)[1], NFT (446447440419486119/Solninjas #3514)[1], NFT (450124754291427183/SolBunnies #727)[1], NFT (460818610846743219/#5603)[1], NFT (471370943128466186/SolBunnies #3475)[1],
                                      NFT (483851096896305943/Space Bums #6915)[1], NFT (501254405648630683/#3409)[1], NFT (501572660687035378/Astral Apes #1459)[1], NFT (505254506079838489/sheep_3163)[1], NFT
                                      (510348390965319287/Golden bone pass)[1], NFT (512069710620753841/Solninjas #6063)[1], NFT (512682827778311218/Kiddo #3945)[1], NFT (515858393878881280/Oink 1190)[1], NFT
                                      (524156022111368139/Kiddo #6117)[1], NFT (543668657417514098/ALPHA:RONIN #485)[1], NFT (550608716294582683/sheep_486)[1], NFT (550638866429564667/Cadet 142)[1], NFT
                                      (551200409259519361/#6669)[1], NFT (560027829619988759/#3481)[1], NFT (573478687113487210/DOTB #6125)[1], SOL[17.7469379], USDT[6.08420032]

07937084                              BTC[0.02179658], ETH[.17587977], ETHW[.17587977], LTC[5.26501759], SOL[2.07173677], USD[0.00]

07937086                              BAT[1.00263355], CUSDT[4], DOGE[4], GRT[2], NFT (558726583482330459/Warriors 75th Anniversary Icon Edition Diamond #3122)[1], SHIB[2], SOL[0], TRX[2], USD[5.76]                        Yes

07937093                              BTC[.0104], ETH[2.178], ETHW[2.178], SOL[2.52], USD[1.15]

07937097                              BTC[0.00003672], ETH[0], SHIB[107411.38560687], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07937131                           BRZ[4936.54861637], CUSDT[1], DOGE[1], SHIB[2], SOL[1.72307786], TRX[1], USD[0.00]                                                                                           Yes

07937134                           CUSDT[1], LINK[.00001996], USD[0.00]                                                                                                                                         Yes

07937141                           BTC[.00258272], CUSDT[3], DOGE[1], ETH[.02336217], ETHW[.02307489], SOL[.56786903], USD[0.00]                                                                                Yes

07937143                           USD[544.19]                                                                                                                                                                  Yes

07937150                           DOGE[.12980823], USD[0.12]

07937182                           SOL[.005], USD[0.00], USDT[0.00000001]

07937191                           NFT (411391320693253147/Miami Ticket Stub #608)[1]

07937194                           CUSDT[1], SOL[5.28384384], USD[2.64]                                                                                                                                         Yes

07937199                           ETH[.16433539], ETHW[.16392739], SHIB[102726255.17365210], TRX[1], USD[0.01], USDT[1.0153865]                                                                                Yes

07937215                           BTC[.00019067], DOGE[1], ETH[.00214216], ETHW[.0021148], USD[3.29]                                                                                                           Yes

07937218                           SOL[41.36859], USD[2.01]

07937225                           SOL[.07992], USDT[1.4916], YFI[.000999]

07937228                           ETH[.02648739], ETHW[.02648739], USD[0.00]

07937230                           BTC[.0000833], USD[589.22]

07937246                           USD[0.00]

07937247                           USD[0.36], USDT[0]                                                                                                                                                           Yes

07937257                           BTC[.02942896], USD[488.38]                                                                                                                                                  Yes

07937260                           NFT (364050201411547932/Octopus Garden)[1], NFT (442926137920380627/Sanctuary of the deep )[1], SOL[1.89110338], USD[1.26]

07937261                           USD[544.33]                                                                                                                                                                  Yes

07937265                           NFT (502492785861131022/Entrance Voucher #3116)[1], USD[1.70]

07937281                           BRZ[2], ETHW[.03246384], USD[0.00]                                                                                                                                           Yes

07937283                           BRZ[1], BTC[.00539302], CUSDT[2], DOGE[3], USD[0.01]                                                                                                                         Yes

07937287                           ETH[.02875169], ETHW[.02839601]                                                                                                                                              Yes

07937291                           CUSDT[1], ETH[.00000012], ETHW[.00000012], USD[0.00], USDT[1]

07937297                           BAT[1], BRZ[2], BTC[.00000677], CUSDT[3], DOGE[7.00019179], GRT[1], MATIC[1.01683406], SUSHI[1.03617902], TRX[7], USD[2943.58], USDT[2.01916003]                             Yes

07937309                           SOL[.00001261], USD[0.00]

07937311                           CUSDT[2], ETH[.01182198], ETHW[.0116715], SHIB[943771.60635139], USD[0.00]                                                                                                   Yes

07937321                           BTC[0], CUSDT[0.05496665], ETH[0], ETHW[3.53560981], MATIC[0.49493656], TRX[0], USD[0.41], USDT[0.00001960]                                                                  Yes              USD[0.41], USDT[.000019]

07937323                           USD[1000.00]

07937328                           USD[0.01]                                                                                                                                                                    Yes

07937329                           CUSDT[249.66726977], USD[0.00]                                                                                                                                               Yes

07937337                           ETH[.0347], ETHW[0.03470000], LINK[3.83062668], UNI[3.50050437]

07937355                           BTC[.00064251]

07937367                           BTC[.0000071], USD[1.88], USDT[.87791177]

07937376                           USD[108.84]                                                                                                                                                                  Yes

07937377                           CUSDT[2], DOGE[3], TRX[2], USD[0.00]

07937382                           BTC[.00021652], CUSDT[10], DOGE[85.15462862], ETH[.01132576], ETHW[.01132576], LTC[.04209489], MATIC[77.371343], SHIB[1404110.53122673], SOL[1.86424914], TRX[46.8126571],
                                   USD[0.00], USDT[1.98861594]
07937392                           USD[27.00]                                                                                                                                                                   Yes

07937407                           CUSDT[550.1236982], USD[0.00]                                                                                                                                                Yes

07937409                           USD[5.69]

07937430                           SHIB[3.76816204], TRX[1], USD[0.61]                                                                                                                                          Yes

07937438                           ETHW[.0650006], MATIC[.66], SOL[12.48], USD[0.83]

07937450                           BTC[.00113224], CUSDT[3], ETH[.09191322], ETHW[.09086336], TRX[1], USD[114.34]                                                                                               Yes

07937465                           USD[10.00]

07937471                           USD[20.00]

07937481                           BTC[.00752975], ETH[.11988319], ETHW[.11988319], USD[280.26]

07937485                           USD[50.01]

07937487                           CUSDT[7], SOL[0], USD[0.00]

07937488                           NEAR[.15233283], SOL[0], USD[0.00]

07937492                           BRZ[1], CUSDT[17], DOGE[1], USD[0.00]

07937515                           BTC[.00000001]

07937518                           USD[20.00]

07937522                           BTC[0], SOL[.00000744], USD[0.73]

07937528                           DOGE[7382.7926299], SHIB[1926287.40208039], SOL[26.33328051], SUSHI[63.55013363], USD[5.00]

07937533                           CUSDT[4], DOGE[658.85936493], LINK[3.32612935], NFT (432641969917925412/The Blur 2)[1], SHIB[1265425.10399837], TRX[1], USD[0.00]                                            Yes

07937541                           CUSDT[2], USD[0.01]                                                                                                                                                          Yes

07937555                           BAT[.12853065], BTC[.0206366], CUSDT[2], DOGE[4], ETH[.00001335], ETHW[1.46215302], GRT[1], SHIB[2], SOL[17.19668042], TRX[5], USD[9.91]                                     Yes

07937563                           AAVE[.64373488], BRZ[2], BTC[.10197121], CUSDT[9], DOGE[801.41953197], ETH[1.43558401], ETHW[1.43498097], GRT[123.37015933], SHIB[2], TRX[3695.17854217], USD[380.46]        Yes
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                                                                                                                                             Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or         Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07937568      Contingent, Disputed     USD[0.01]

07937571                               BRZ[1], BTC[.00000092], DOGE[.01176287], NFT (324093337228039821/Nois3)[1], NFT (368773351501159330/Nois3)[1], NFT (496240928830285746/Nois3)[1], NFT (552075281263433949/Nois3)[1],       Yes
                                       SHIB[4], SOL[37.63549573], TRX[3], USD[0.00]
07937574                               BAT[1.0165555], USD[0.43], USDT[0]                                                                                                                                                         Yes

07937579                               USD[0.00], USDT[0]

07937583                               BTC[.00316283], SHIB[2], USD[0.02]                                                                                                                                                         Yes

07937587                               ETHW[.65144921], USD[1036.53]

07937599                               BTC[0], ETH[0], USD[0.00]

07937613                               SHIB[152598.83867382], USD[0.00]                                                                                                                                                           Yes

07937637                               SHIB[1401815.40647272], TRX[2], USD[0.00], USDT[211.29222223]                                                                                                                              Yes

07937646                               USD[0.01]

07937653                               USD[0.01]

07937655                               CUSDT[5], ETH[0], ETHW[0.00015930], LINK[.00303509], USD[0.19]                                                                                                                             Yes

07937667                               NFT (318387816905520434/Sol Lion #2292)[1], NFT (323813775506567446/Sol Lion #4411)[1], NFT (350687024690568187/Sol Lion #15)[1], NFT (359940302603957207/Sol Lion #4478)[1], NFT
                                       (361840811677238719/Sol Lion #161)[1], NFT (364736985360488573/Sol Lion #1951)[1], NFT (368353853576314517/Sol Lion #2198)[1], NFT (377247035244035607/Sol Lion #1199)[1], NFT
                                       (379593534586481210/Sol Lion #1319)[1], NFT (384569815882561595/Sol Lion #2055)[1], NFT (428090744841716864/Sol Lion #1078)[1], NFT (441448021111690957/Sol Lion #1456)[1], NFT
                                       (460741570680945578/Sol Lion #2937)[1], NFT (468128574638888799/Sol Lion #1915)[1], NFT (492281442847305546/Sol Lion #2884)[1], NFT (529234549225292121/Sol Lion #1093)[1], NFT
                                       (562727962052974050/Sol Lion #142)[1], NFT (575871471345125123/Sol Lion #21)[1]
07937668                               USD[0.85]

07937677                               CUSDT[1], USD[0.00]                                                                                                                                                                        Yes

07937688                               NFT (289750137017105767/Saudi Arabia Ticket Stub #1242)[1], NFT (324347359787330946/Dead Stars Experiment)[1], USD[0.00]

07937691                               BTC[.0000303], DOGE[8.03254105], GRT[2.33262302], LINK[.34892314], MATIC[1.33426337], USD[0.00]                                                                                            Yes

07937694                               BTC[.04829677], USD[266.62], YFI[.0009905]

07937700                               BTC[0], CUSDT[3], DOGE[3], ETH[0], GRT[1], SOL[0], TRX[1], USD[0.00], USDT[0.00066622]

07937701                               USD[20.00]

07937703                               USD[20.00]

07937722                               BF_POINT[100]                                                                                                                                                                              Yes

07937754                               BCH[1.37319688], BRZ[1], CUSDT[27], DOGE[7.00057537], ETH[.24991293], ETHW[.14131577], MATIC[113.92442704], NFT (379597599233972467/ApexDucks #4740)[1], NFT                         Yes
                                       (464356351796376653/ApexDucks #6607)[1], NFT (514385536453740505/ApexDucks #4180)[1], NFT (558027628028806105/Imola Ticket Stub #2339)[1], SHIB[10566310.98836498], SOL[5.03049462],
                                       SUSHI[55.11976386], TRX[7], USD[0.01]
07937762                               BTC[0], LTC[0], USD[0.00], USDT[0.00000264]

07937763        Contingent, Disputed   USD[0.00]

07937764                               BAT[424.43576105], GRT[1], USD[0.00]

07937767                               NFT (291337029365586549/Australia Ticket Stub #618)[1], TRX[.000001], USDT[0.00000042]

07937774                               BTC[0], USD[0.00]

07937783                               USD[0.00]

07937790                               BTC[.01032363], ETH[.05754909], ETHW[.05754909], NFT (430399875399132830/Feel the burn #1 of 3)[1], NFT (521989541739696542/Little Ben #2141 #2)[1], NFT (562931487218537942/Crazy Skull
                                       #1)[1], SHIB[1698554.33583292], USD[0.00]
07937794                               SHIB[22181.65566556], SOL[0], USD[0.00]

07937796                               USD[6.92], USDT[494.505]

07937797                               BTC[.00007742], USD[0.00]                                                                                                                                                                  Yes

07937799                               USD[2494.33]                                                                                                                                                                               Yes

07937802                               BTC[.00052089]

07937819                               SHIB[2942907.39181666], USD[0.33]                                                                                                                                                          Yes

07937822                               SOL[.00000126], USD[0.04]                                                                                                                                                                  Yes

07937825                               CUSDT[4], SHIB[3], USD[0.01]                                                                                                                                                               Yes

07937833                               NFT (366957210243859802/Coachella x FTX Weekend 2 #22686)[1]

07937834                               USD[0.00]

07937838                               USD[20.00]

07937842                               USD[0.51]

07937847                               DOGE[18.67495794], NFT (565296639717852988/Coachella x FTX Weekend 2 #30091)[1], SHIB[86610.08141347], USD[10.00]

07937860                               BTC[0], ETH[.00000001], NFT (319108348809517117/Sollama)[1], NFT (445996965551287112/Rogue Circuits #3824)[1], NFT (471823499108345684/Jia, the Patient)[1], NFT
                                       (571918127777057358/Solana Penguin #4182)[1], USD[0.01]
07937862                               BTC[0], USD[1.31], USDT[.21764535]

07937868                               USD[0.81]

07937872                               LTC[.00000098]                                                                                                                                                                             Yes

07937876                               TRX[32.40288642], USD[0.00]                                                                                                                                                                Yes

07937892                               NFT (334433417662562974/The Founder #388)[1]

07937896                               TRX[1], USD[0.01]                                                                                                                                                                          Yes

07937900                               BTC[0], SOL[0], USD[0.19]

07937905                               BTC[.0152]

07937906                               BCH[0], ETH[0], SOL[0], USDT[0.00000052]

07937909                               USD[0.01], USDT[0]
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07937910                              BTC[0.00001303], ETH[0.00094790], ETHW[0.00094790], SOL[55.007998], USD[10.28], USDT[0.03731064]

07937911                              BTC[.01315515], ETH[0.28324985], ETHW[0.28324985], USD[0.00]

07937912                              USD[21.51]                                                                                                                                                                           Yes

07937924                              BTC[.00025033]                                                                                                                                                                       Yes

07937925                              BRZ[1], CUSDT[2], ETH[.13051075], ETHW[.12944597], MATIC[100.09407035], SOL[1.08612137], TRX[1], USD[0.00]                                                                           Yes

07937929                              USD[20.00]

07937930                              USD[20.00]

07937934                              BTC[0], ETHW[.00081432], USD[15000.95], USDT[0]

07937945                              NFT (362302069770934554/Coachella x FTX Weekend 1 #15111)[1], USD[10.89]                                                                                                             Yes

07937946                              TRX[.000029], USD[0.00]

07937953       Contingent,            AVAX[.06914], NEAR[.00003], NFT (414169580480174360/Barcelona Ticket Stub #1105)[1], NFT (428964021123465279/FTX - Off The Grid Miami #1016)[1], NFT (505079140981534963/Australia
               Unliquidated           Ticket Stub #2308)[1], UNI[.0354], USD[0.07]
07937954                              USD[108.86]                                                                                                                                                                          Yes

07937956                              SOL[.1]

07937958                              AVAX[.0090404], BRZ[2], BTC[0.00009802], DOGE[3], ETH[.00091633], ETHW[.00025107], GRT[3], MATIC[.913693], SHIB[7], SOL[.0075], TRX[6], USD[12016.76]                                Yes

07937960                              ETH[.5], ETHW[.5], USD[0.00]

07937977                              CUSDT[1], TRX[1], USD[0.00]

07937978                              USD[0.00]

07937986                              BTC[0], CUSDT[8], DOGE[2], TRX[2], USD[3.55]                                                                                                                                         Yes

07937999                              CUSDT[2], DOGE[.00005076], USD[0.00]

07938001                              BTC[0], CUSDT[1623.05365630], DOGE[0], ETH[0], GRT[0], KSHIB[0], LINK[0], LTC[0], PAXG[0], SHIB[0], TRX[0], USD[0.00]                                                                Yes

07938003                              CUSDT[1], USD[0.00]                                                                                                                                                                  Yes

07938019                              BTC[0.00549477], DOGE[775], USD[13.54]

07938026                              AAVE[.00866], BTC[.0000974], DOGE[.185], LTC[.00909], MATIC[.945], MKR[.000744], SOL[.00693], USD[1451.71], YFI[.000094]

07938034                              USD[1000.00]

07938035       Contingent, Disputed   USD[0.00]

07938036                              USD[0.02]                                                                                                                                                                            Yes

07938047                              USD[0.00]

07938051                              BTC[.05021925], GRT[1.00367791], USD[0.00]                                                                                                                                           Yes

07938053                              USDT[0.00000011]

07938061                              USD[0.00]

07938070                              ETHW[.0000187], NFT (536774911826804134/Entrance Voucher #3812)[1], SHIB[1], USD[4402.01], USDT[0]                                                                                   Yes

07938071                              USD[0.08]                                                                                                                                                                            Yes

07938075                              USD[0.19]

07938076                              BTC[.007992], USD[502.00]

07938088                              SOL[5]

07938097                              USD[10.00]

07938101                              BTC[.00807173]

07938109                              LINK[.00033305], MATIC[18.2140246], SHIB[6], SOL[3.53551937], TRX[2], USD[0.00]                                                                                                      Yes

07938122                              SOL[.00007916], USD[0.00]

07938124                              BTC[.00032996], ETH[.00000001], USD[0.02]

07938150                              SOL[0.05766516]

07938164                              BTC[.00000001], ETH[.00000015], ETHW[0.00000015], MATIC[.00051464], USD[0.10]                                                                                                        Yes

07938174                              SOL[.052]

07938178                              BTC[.00187083], CUSDT[4], DOGE[421.0925999], ETH[.02585919], ETHW[.02553928], SOL[2.71641214], TRX[1], UNI[3.89561721], USD[1.23], USDT[1.08249544]                                  Yes

07938179                              BTC[.000156], USD[0.00]

07938182                              USD[0.01], USDT[0]                                                                                                                                                                   Yes

07938183                              NFT (370837467030800547/BitBoat #674)[1], NFT (451381870942426351/BitCaptain #215)[1]

07938193                              USD[0.00]

07938196                              BTC[.40322278], CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                         Yes

07938199                              DOGE[786.67968267], MATIC[.146818], SUSHI[3.52176412], USD[0.74]

07938202                              NFT (468924141174324427/Megalodon Rogue Shark Tooth)[1], NFT (539626176033309634/Megalodon Rogue Shark Tooth)[1]

07938208                              BTC[.02107876], ETH[.16701967], ETHW[.16701967], MATIC[49.58915329], SOL[3.79464075], USD[0.00]

07938211                              CUSDT[1], SOL[.12766228], USD[0.00]

07938215                              NFT (554321439620701168/FTX - Off The Grid Miami #5250)[1], USD[0.00]

07938221                              SOL[.45]

07938223                              ETH[.07], ETHW[.07]

07938224                              DOGE[1], TRX[1022.21090521], USD[0.00]

07938225                              BAT[1], DOGE[2], ETHW[14.099169], GRT[1], NFT (327888600029695456/Entrance Voucher #1986)[1], SOL[103.52533863], USDT[0]                                                             Yes
West Realm Shires Services Inc.                                                    Case 22-11068-JTD      Doc F-3:
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                                                                                                                                         Customer Claims                                                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07938239                           NFT (294308515361291622/Kybo Collection #1 - Polk Polk Polk)[1], NFT (331958266083297735/Chewbs Edition #1 - Becoming One)[1], NFT (332319256825913739/Chewbs Edition #1 - Lines after
                                   Curves after Lines after...)[1], NFT (336003204478904754/Chewbs Edition #1 - Bright and Happy)[1], NFT (419321936616293981/Kybo Collection #1 - From Me to You, Love Son)[1], NFT
                                   (448131629439667791/Chewbs Edition #1 - Am I Here or Not)[1], NFT (487996602763729403/Chewbs Edition #1 - It's Late)[1], NFT (530027109228547001/Kybo Collection #1 - In the Jungle we
                                   Eat)[1], NFT (532042920560441400/Chewbs Edition #1 - Call me Picasso)[1], NFT (551502136696989446/Chewbs Edition #1 - A Little off the Shelf)[1], SOL[.00000001], USD[0.00], USDT[0.00000001]

07938240                           USD[20.00]

07938242                           GRT[1], TRX[1], USD[0.00]                                                                                                                                                                       Yes

07938246                           BTC[.00036875], CUSDT[2], ETH[.00558272], ETHW[.00551432], USD[0.01]                                                                                                                            Yes

07938251                           ETH[.00000003], ETHW[.00000003], USD[0.00]                                                                                                                                                      Yes

07938260                           USD[21.51]                                                                                                                                                                                      Yes

07938263                           USD[21.77]                                                                                                                                                                                      Yes

07938268                           CUSDT[1], SHIB[133213.26084223], USD[0.00]

07938269                           USD[21.51]                                                                                                                                                                                      Yes

07938289                           USD[20.00]

07938291                           SHIB[3], USD[0.00]                                                                                                                                                                              Yes

07938296                           USD[21.51]                                                                                                                                                                                      Yes

07938298                           USD[21.51]                                                                                                                                                                                      Yes

07938301                           BTC[.0003106], CUSDT[1], USD[0.00]                                                                                                                                                              Yes

07938311                           USD[0.00]

07938315                           USD[20.00]

07938318                           TRX[.000013], USD[0.00], USDT[0.00000107]

07938324                           USD[20.00]

07938328                           USD[20.00]

07938357                           USD[20.00]

07938359                           CUSDT[5], DOGE[1], ETH[.02512941], ETHW[.02481477], KSHIB[3356.62588088], SOL[.54367758], USD[0.00]                                                                                             Yes

07938360                           BRZ[1], CUSDT[2], SHIB[1643103.36704178], SOL[1.06766255], TRX[1], USD[0.00]                                                                                                                    Yes

07938361                           SOL[.12099011], USD[0.00]

07938362                           USD[20.00]

07938364                           USD[14.62]

07938366                           BTC[0.00544208], LINK[0], MATIC[0], SHIB[14], SOL[0], USD[0.00], USDT[0.00003610]                                                                                                               Yes

07938368                           USD[0.00]                                                                                                                                                                                       Yes

07938376                           AVAX[.01104331], BRZ[1], BTC[0.00009134], DOGE[0], ETH[0.00089765], ETHW[0.00088399], SHIB[2], SOL[0], SUSHI[1.04263718], USD[-2.25], USDT[0.00000960]                                          Yes

07938392                           BRZ[2], BTC[0], CUSDT[1], DOGE[3], ETH[0], KSHIB[11552.95382008], LTC[5.58781042], PAXG[.00000096], SOL[9.36679969], TRX[2], USD[0.00]                                                          Yes

07938393                           USD[20003.30]

07938407                           USD[20.00]

07938412                           BTC[0], DOGE[0], ETH[0], ETHW[0], KSHIB[0], LINK[0], MATIC[0], SHIB[0], SOL[0], USD[0.00]

07938417                           SOL[0.00125010], USD[0.37]

07938421                           BTC[.08228628], ETH[2.24806009], ETHW[2.24709538]                                                                                                                                               Yes

07938441                           USD[0.39]

07938479                           BRZ[1], BTC[.00857257], CUSDT[1], ETH[.12971481], ETHW[.12864003], USD[0.01]                                                                                                                    Yes

07938480                           DOGE[1892.56411961], USD[0.01]

07938491                           USD[10.00]

07938492                           NFT (341871041381800699/FTX - Off The Grid Miami #441)[1], USD[0.01]

07938500                           CUSDT[3], DOGE[1], SOL[0], USD[0.00], USDT[0]                                                                                                                                                   Yes

07938501                           AAVE[0], BTC[0], CUSDT[0], GBP[0.00], USD[0.00], USDT[0.00000001], YFI[0]                                                                                                                       Yes

07938505                           BRZ[1], BTC[.00332066], CUSDT[18], DOGE[2], ETH[.04469012], ETHW[.04413457], GRT[1], SHIB[1], SOL[1.776379], TRX[3], USD[0.01]                                                                  Yes

07938512                           USD[555.00]

07938520                           USD[10.88]                                                                                                                                                                                      Yes

07938521                           USD[0.00]

07938537                           CUSDT[1], SHIB[13590649.63305245], TRX[1388.33378131], USD[10.01]

07938544                           BTC[.00430241], CUSDT[5], ETH[.01696603], ETHW[.01676083], PAXG[.01189729], SHIB[2], SOL[.15878476], USD[4.02]                                                                                  Yes

07938546                           USD[21.51]                                                                                                                                                                                      Yes

07938549                           USD[20.00]

07938557                           USD[0.00]                                                                                                                                                                                       Yes

07938580                           BTC[.42785316], DOGE[1], GRT[1.0022298], USD[0.01]

07938593                           BAT[1.0161379], TRX[1], USD[0.00]                                                                                                                                                               Yes

07938595                           BTC[.00015556], CUSDT[2], DOGE[500.31517734], ETH[.01322476], ETHW[.0130606], TRX[2], USD[0.02]                                                                                                 Yes

07938602                           USD[20.00]

07938604                           BTC[0], ETH[0], LTC[0], USD[0.00]

07938607                           USD[20.00]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07938608                           CUSDT[3.166], ETHW[.23390173], MATIC[14.8478679], SHIB[7], TRX[1], USD[0.16]                                                                                                        Yes

07938610                           NFT (333659082076074583/Romeo #890)[1], NFT (555372896721810921/Juliet #383)[1]

07938624                           USD[20.00]

07938653                           SOL[3.31374765], USD[0.00]

07938656                           USD[3692.05]

07938668                           USD[0.00]

07938680                           BAT[1], BRZ[1], DOGE[1], TRX[1], USD[0.00], USDT[0.00000192]

07938684                           BTC[0], CUSDT[1], SHIB[80], USD[176.12]                                                                                                                                             Yes

07938686                           BTC[0], ETHW[.0896352], PAXG[0.00564273], USD[0.00], USDT[0], WBTC[0]

07938690                           USD[20.00]

07938693                           SUSHI[72.28504386], USD[0.00]

07938695                           BRZ[2], CUSDT[2], DOGE[2], SUSHI[17.74693026], TRX[1], USD[0.01], USDT[2]

07938697                           BTC[.00031289]                                                                                                                                                                      Yes

07938698                           LTC[.31450732]

07938700                           SOL[.006876], USD[8896.94], USDT[0.00006106]

07938704                           BTC[.00000009], CUSDT[1], GRT[194.46210155], SHIB[3], TRX[.00233238], USD[0.36]                                                                                                     Yes

07938715                           USD[0.01]                                                                                                                                                                           Yes

07938724                           USD[0.69]                                                                                                                                                                           Yes

07938726                           AAVE[.08309333], BTC[.00015506], CUSDT[2], ETH[.00597822], ETHW[.00590982], SHIB[654608.96836929], TRX[2], USD[4.08]                                                                Yes

07938728                           BRZ[1], CUSDT[1], ETH[.00000018], ETHW[.00000018], SHIB[238227.38255694], USD[0.58]                                                                                                 Yes

07938729                           LINK[.00000001], NFT (467746569736040214/Entrance Voucher #4276)[1], USD[0.00]                                                                                                      Yes

07938732                           BF_POINT[300], BRZ[1], CUSDT[29], DOGE[6], ETHW[.13965695], USD[0.01], USDT[0]                                                                                                      Yes

07938733                           NFT (502692760957982319/Coachella x FTX Weekend 2 #31171)[1], USD[21.77]                                                                                                            Yes

07938739                           AAVE[0], BAT[0], BCH[0], BTC[0], DOGE[0], ETH[0.00016831], ETHW[0.00016831], GRT[0], KSHIB[0], MATIC[0], PAXG[0], SHIB[0], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00]              Yes

07938740                           SOL[.00587061]

07938741                           USD[20.00]

07938742                           USD[0.04], USDT[0.00000001]

07938745                           CUSDT[1], ETH[.01366042], ETHW[.01366042], USD[0.00]

07938748                           USD[1.97]

07938767                           CUSDT[3], DOGE[1], TRX[1], USD[0.91]                                                                                                                                                Yes

07938775                           BTC[0], USD[30.73], USDT[0]

07938794                           CUSDT[1], DOGE[1], USD[0.01]                                                                                                                                                        Yes

07938797                           BCH[31.22700037], DOGE[72315.43133593], LTC[767.75224373], TRX[1923982.30595128]                                                                                                                     BCH[31.175754], DOGE[37965.58725678], TRX[1919649.484296]

07938806                           DOGE[177.70191612], KSHIB[884.95401412], SHIB[4], TRX[.00671994], USD[0.01]                                                                                                         Yes

07938817                           BTC[0], USD[0.29], USDT[0]                                                                                                                                                          Yes

07938818                           BTC[.0088757], USD[0.00], USDT[1.08834388]                                                                                                                                          Yes

07938841                           USD[20.19]

07938843                           USD[326.02]                                                                                                                                                                         Yes

07938851                           DOGE[2000], ETH[0], KSHIB[20000], LINK[0], MATIC[0], SOL[0], SUSHI[0], USD[3.65]

07938852                           BTC[.00090307], DOGE[259.18459842], ETH[.00585067], ETHW[.00578227], SHIB[3030060.54037434], SOL[.11693585], USD[0.00]                                                              Yes

07938859                           USD[0.00]

07938861                           BAT[2.04816205], BRZ[5.0277019], BTC[.00007833], CUSDT[1], DOGE[3], ETH[.00027375], ETHW[.00027375], GRT[4351.6910767], SHIB[158407.33750915], SOL[.0001553], TRX[1], USD[0.00],    Yes
                                   USDT[1.02543197]
07938878                           TRX[2], USD[0.00], USDT[0]

07938881                           USD[20.00]

07938892                           DOGE[101.16212789], USD[0.00]

07938894                           BTC[.00020146], DOGE[629], ETH[.49796], ETHW[.49796], KSHIB[579.91], MATIC[739.51], SOL[66.72223], USD[0.09]

07938904                           BRZ[1], CUSDT[1], SHIB[18707499.00276365], UNI[1.0861297], USD[0.00]                                                                                                                Yes

07938907                           BRZ[2], BTC[.00000005], CUSDT[2], DOGE[3], TRX[3], USD[0.00]                                                                                                                        Yes

07938909                           CUSDT[4], DOGE[1], ETHW[1.48796776], GRT[1.00259107], LINK[0], NFT (291434604158295004/King)[1], NFT (319872193805820978/The Viper 1)[1], NFT (457567772673888423/Voxel Cars)[1],   Yes
                                   NFT (538277968254540039/Voxel Cars #3)[1], SHIB[730173.26793856], TRX[196.14977318], USD[30.41]
07938914                           CUSDT[2], LINK[2.12684392], SOL[.48483964], TRX[541.58015828], USD[0.01]                                                                                                            Yes

07938923                           USD[0.00], USDT[0]

07938932                           SHIB[3171322.2608026], USD[0.00]                                                                                                                                                    Yes

07938949                           ETH[0], SOL[0], SUSHI[0], USD[0.00]                                                                                                                                                 Yes

07938952                           USD[54.44]                                                                                                                                                                          Yes

07938958                           USD[0.58]

07938975                           BRZ[1], TRX[1], USD[214.18]                                                                                                                                                         Yes

07939003                           NFT (509683279847431918/Coachella x FTX Weekend 2 #11655)[1]

07939005                           CUSDT[1], DOGE[78.11241962], USD[0.00]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07939008                           BTC[.0000799], DOGE[2], KSHIB[0], USD[0.00]                                                                                                                                         Yes

07939020                           USD[20.00]

07939023                           BTC[.00042976], ETH[.00868738], ETHW[.00868738], SHIB[1], USD[0.00]

07939027                           CUSDT[4], DOGE[2.38427072], NFT (312550312434997084/Kiddo #7360)[1], NFT (416666238260345191/Sigma Shark #841)[1], SOL[4.83522596], USD[0.00]                                       Yes

07939044                           BTC[.00821365], CUSDT[1], USD[0.01]                                                                                                                                                 Yes

07939048                           USD[6.96]

07939049                           USD[0.72], USDT[0.00000001]                                                                                                                                                         Yes

07939059                           BTC[.00344932], CUSDT[2], TRX[1], USD[0.00]                                                                                                                                         Yes

07939064                           USD[0.00]

07939074                           CUSDT[3], DOGE[1], SHIB[1767732.93261379], SOL[2.26429481], USD[0.00]                                                                                                               Yes

07939087                           USD[0.00]                                                                                                                                                                           Yes

07939094                           CUSDT[2], ETH[.00697897], ETHW[.00689689], LINK[1.09091527], SOL[.15643221], TRX[1], USD[0.00]                                                                                      Yes

07939100                           ALGO[.00004144], BRZ[0], BTC[0], SHIB[1], TRX[2], USD[452.52], USDT[0]                                                                                                              Yes

07939101                           USD[0.74]

07939112                           AVAX[.00512683], BRZ[10.54140446], DOGE[25.32744348], ETH[.00008994], ETHW[0.00008993], GRT[.00077924], LINK[.06350977], MATIC[.93712339], SHIB[53], SOL[.00092306],                Yes
                                   TRX[22.0873344], USD[0.00], USDT[3.15807331]
07939113                           ETH[.00000015], TRX[1], USD[0.00]                                                                                                                                                   Yes

07939117                           ETH[0.04079658], ETHW[0.04079658], LTC[0], SHIB[0], SOL[1.25361305]

07939126                           CUSDT[1], DOGE[105.83033397], USD[0.00]                                                                                                                                             Yes

07939142                           USD[543.32]                                                                                                                                                                         Yes

07939151                           BF_POINT[200], USD[21.51]                                                                                                                                                           Yes

07939154                           CUSDT[1], SHIB[1051033.52330195], USD[0.00]                                                                                                                                         Yes

07939158                           BAT[1], BRZ[1], DOGE[1], ETHW[1.1613281], GRT[1], LINK[49.10505981], USD[8177.68]                                                                                                   Yes

07939159                           BTC[.00264793], DOGE[1], ETH[.04087692], ETHW[.04037076], NFT (553535395955115129/Entrance Voucher #4451)[1], PAXG[.05395257], SHIB[4], SOL[1.2616618], USD[0.00],                  Yes
                                   USDT[104.42367838]
07939161                           ETHW[1.1112218], USD[1.79], USDT[0]

07939162                           CUSDT[1], SUSHI[45.85713163], USD[0.01]

07939174                           BTC[0], ETH[0], ETHW[.00808766], USD[0.00]

07939188                           ETH[.01], ETHW[.01]

07939192                           USD[0.00]

07939194                           USD[1.93]

07939197                           BTC[.00015661]

07939203                           BRZ[1], BTC[.01640157], CUSDT[4], DOGE[106.59879135], ETH[.0397492], ETHW[.03925672], SHIB[1], USD[55.22]                                                                           Yes

07939209                           DOGE[1], TRX[.0071982], USD[338.61]                                                                                                                                                 Yes

07939212                           BF_POINT[100], BRZ[2], CUSDT[4], DOGE[1], NFT (291199856376748167/SOLYETIS #3674)[1], NFT (361906319403667698/2D SOLDIER #4086)[1], SHIB[1], USD[0.00]                              Yes

07939227                           BRZ[1], CUSDT[3], USD[-0.57], USDT[.99484761]                                                                                                                                       Yes

07939244                           ETH[.02027378], ETHW[.02027378], USD[0.08]

07939256                           NFT (302688379270342132/MagicEden Vaults)[1], NFT (331809467238270433/Imola Ticket Stub #346)[1], NFT (457566853966314918/MagicEden Vaults)[1], NFT (466255105318604482/MagicEden
                                   Vaults)[1], NFT (467832694332292748/MagicEden Vaults)[1], NFT (488881711621684338/MagicEden Vaults)[1], NFT (559130774130311570/Static Noise)[1], USD[0.01]

07939257                           CUSDT[1], MATIC[175.6608901], USD[272.10]                                                                                                                                           Yes

07939269                           BRZ[1], CUSDT[4], NFT (473862273204836959/Fancy Frenchies #2327)[1], SHIB[274423.73399195], TRX[1], USD[0.01]

07939275                           BAT[1], DOGE[2], GRT[1], SHIB[5], TRX[1], USD[3053.13]

07939277                           USD[21.77]                                                                                                                                                                          Yes

07939315                           CUSDT[1], TRX[1], USD[0.01]                                                                                                                                                         Yes

07939329                           USD[20.00]

07939331                           BTC[.00015657], USD[100.00]

07939341                           BTC[.00030925]                                                                                                                                                                      Yes

07939348                           USD[0.02]                                                                                                                                                                           Yes

07939350                           BRZ[1], DOGE[1], ETH[0.10328403], ETHW[0.10328403], SOL[.00008164], USD[0.01]

07939352                           DOGE[27.29594146], ETH[.00191204], ETHW[.00188468], KSHIB[135.66397924], USD[0.00]                                                                                                  Yes

07939358                           USD[8.58]                                                                                                                                                                           Yes

07939370                           BTC[0], USD[0.00]

07939378                           USD[217.69]                                                                                                                                                                         Yes

07939385                           BTC[0], ETHW[4.08702615], NFT (290528419163704444/Ivy #227)[1], USD[4865.90]                                                                                                        Yes

07939386                           CUSDT[2], DOGE[77.35552236], SHIB[857683.916308], USD[0.03]

07939387                           CUSDT[1], DOGE[8.50056454], USD[19.50]                                                                                                                                              Yes

07939400                           BAT[1.00219418], BRZ[1], BTC[.00000131], CUSDT[6], DOGE[3], ETH[0.00000634], ETHW[0.00000634], GRT[1], SHIB[16168.14874696], TRX[1], USD[0.03]                                      Yes

07939401                           CUSDT[1], LTC[1.08124268], USD[0.01]                                                                                                                                                Yes

07939419                           BRZ[1], BTC[.00000565], CUSDT[2], GRT[2.00717264], SHIB[2], SOL[0], TRX[1], USD[0.00], USDT[1.07766233]                                                                             Yes

07939421                           BRZ[1], KSHIB[833.20140977], USD[17.20]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07939432                           SOL[.04875805], USD[0.00]

07939436                           USD[16.33]                                                                                                                                                                                 Yes

07939441                           DOGE[0]

07939446                           BAT[77.56922116], BTC[.0017], ETH[.011], ETHW[.011], SOL[.626], USD[0.40]

07939458                           BTC[.00007768], USD[5.44]                                                                                                                                                                  Yes

07939459                           BTC[.02177175], LINK[35.24425304], SOL[11.87826161]                                                                                                                                        Yes

07939463                           ETH[.000875], ETHW[.000875], USD[9.05]

07939465                           MATIC[73.84347601], TRX[805.71087937], USD[0.19]                                                                                                                                           Yes

07939467                           BF_POINT[200], USD[0.01]                                                                                                                                                                   Yes

07939473                           USD[0.00]

07939484                           BTC[.00351643], CUSDT[2], SOL[.89193383], USD[0.00]                                                                                                                                        Yes

07939486                           USDT[0.00000025]

07939488                           AAVE[.31], BTC[.1310925], ETH[.102], ETHW[.102], LINK[3.2], MATIC[60], SOL[1.36878], UNI[3.7], USD[3.27]

07939498                           USD[0.00]                                                                                                                                                                                  Yes

07939501                           AVAX[0], USD[0.01], USDT[0]

07939519                           AAVE[0], AVAX[0.00000001], BAT[0], BTC[0.00000001], CUSDT[0], DAI[0], DOGE[0.00000001], ETH[0], ETHW[0], GRT[0], KSHIB[0], LINK[0], LTC[0.00000001], MATIC[0], PAXG[0], SHIB[0], SOL[0],   Yes
                                   SUSHI[0], TRX[0], UNI[0], USD[0.09], USDT[0]
07939526                           BAT[2.00795798], CUSDT[1], DOGE[2], GRT[5.0159215], TRX[7], USD[0.01], USDT[1.00397915]

07939529                           BF_POINT[300]                                                                                                                                                                              Yes

07939534                           ETH[.02136539], ETHW[.02136539], LTC[1.0144053]

07939542                           SOL[.50346335], USD[0.00]

07939545                           BTC[.0000571], CAD[0.92], ETH[.000983], ETHW[.000983], LTC[.00731], MATIC[.06682983], TRX[.947], USD[6359.77]

07939548                           USD[10.88]                                                                                                                                                                                 Yes

07939551                           USD[0.39]                                                                                                                                                                                  Yes

07939559                           NFT (480706547780896949/Entrance Voucher #1599)[1]

07939569                           USD[8.64]

07939575                           USD[1.19]

07939592                           USD[0.01], USDT[0.49159184]

07939594                           BTC[.00015348], CUSDT[2], DOGE[.07608575], SOL[.04166216], USD[0.41]

07939606                           BTC[.0115], SOL[3.37], USD[0.66]

07939635                           NFT (288256596076783192/Warriors Logo Pin #460 (Redeemed))[1], NFT (289821129291192628/GSW Championship Commemorative Ring)[1], NFT (298090864097219926/GSW 75 Anniversary
                                   Diamond #490 (Redeemed))[1], NFT (303442186487939805/GSW Round 1 Commemorative Ticket #446)[1], NFT (318148579847605389/GSW Western Conference Semifinals Commemorative Ticket
                                   #170)[1], NFT (319497330215552809/GSW 75 Anniversary Diamond #471 (Redeemed))[1], NFT (331990984033583829/GSW Western Conference Finals Commemorative Banner #310)[1], NFT
                                   (346586577795171512/GSW Western Conference Finals Commemorative Banner #306)[1], NFT (347390874161154435/FTX - Off The Grid Miami #608)[1], NFT (359330447324624175/GSW Western
                                   Conference Finals Commemorative Banner #308)[1], NFT (375348152033730741/GSW Western Conference Finals Commemorative Banner #305)[1], NFT (375464919399295377/GSW Western
                                   Conference Finals Commemorative Banner #307)[1], NFT (389619713848463318/GSW Championship Commemorative Ring)[1], NFT (406701348677595961/GSW Championship Commemorative
                                   Ring)[1], NFT (428620757373589877/GSW Championship Commemorative Ring)[1], NFT (434234502843102751/GSW Western Conference Finals Commemorative Banner #311)[1], NFT
                                   (466775751403445619/Warriors Logo Pin #390 (Redeemed))[1], NFT (502695725815917989/GSW Western Conference Semifinals Commemorative Ticket #172)[1], NFT (516653467814902702/GSW
                                   Western Conference Semifinals Commemorative Ticket #171)[1], NFT (519214114815332363/GSW Western Conference Finals Commemorative Banner #309)[1], NFT (531889739296004211/GSW
                                   Western Conference Semifinals Commemorative Ticket #169)[1], NFT (557374841493493619/GSW Western Conference Finals Commemorative Banner #312)[1], NFT (560343877777948403/GSW
                                   Round 1 Commemorative Ticket #445)[1], NFT (568972878439525290/GSW Round 1 Commemorative Ticket #444)[1], USD[0.05]

07939639                           MATIC[.65040693], USD[4.17]                                                                                                                                                                Yes

07939640                           SOL[.00000001], USD[0.00]

07939644                           USD[0.00]                                                                                                                                                                                  Yes

07939657                           BTC[0], ETH[.0059943], ETHW[.08157272], TRX[.8613], USD[0.02], USDT[9.54292755]

07939664                           BTC[.0008404], CUSDT[1], SHIB[8203465.17772188], USD[0.00], USDT[1.08593129]                                                                                                               Yes

07939671                           BTC[.00126081], CUSDT[3], DOGE[2], SHIB[4], SUSHI[6.86022359], USD[18.99]                                                                                                                  Yes

07939673                           BRZ[1], CUSDT[3], DOGE[1], TRX[2], USD[0.00], USDT[0]

07939696                           USD[0.08]

07939698                           USD[21.51]                                                                                                                                                                                 Yes

07939708                           USD[20.00]

07939742                           CUSDT[1], DOGE[360.42550499], NFT (530778524083059637/Bahrain Ticket Stub #247)[1], SHIB[1], SOL[0], USD[0.00]                                                                             Yes

07939745                           BTC[.0000598], USD[0.00]

07939749                           USD[20.00]

07939756                           CUSDT[15], DOGE[1771.3487828], LTC[1.10366683], MATIC[391.38133864], SHIB[8807182.59852854], SOL[12.20059696], SUSHI[12.64420711], TRX[2065.05194157], USD[0.94]                           Yes

07939763                           BTC[0.00002680], ETH[0], ETHW[0], NFT (519305983003435129/PixelTurtle#186)[1], NFT (542370441314115575/PixelTurtle#187)[1], USD[0.43]

07939769                           BTC[.06155883], ETH[.00000001], UNI[5.01688257], USD[0.00]

07939778                           BTC[.00083586], CUSDT[1], ETH[.00375385], ETHW[.00375385], SHIB[1], SOL[.12696836], USD[5.01]

07939785                           BTC[.0048], ETH[.069], ETHW[.069], SOL[3.639], USD[44.55]

07939786                           BCH[0], USD[3.38]

07939806                           KSHIB[50], USD[0.33]

07939813                           AVAX[23.14948424], BRZ[9.28984865], BTC[.13889897], CUSDT[15], DOGE[11.02564618], ETH[.75870729], ETHW[.50800435], LTC[10.09520109], SHIB[71], SOL[19.52167366], TRX[16.04653306],         Yes
                                   USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07939814                           BTC[.00000016], USD[0.15]                                                                                                                                                            Yes

07939815                           SOL[.00433703], USD[37.76]

07939826                           ETHW[1], USD[59.41]

07939834                           BTC[.00028956], SHIB[6293454.94983084], SOL[.88762267]                                                                                                                               Yes

07939839                           USD[0.69]

07939844                           BTC[.00442514], ETH[.04798412], ETHW[0.04798411], GRT[165.65954727], LTC[.62325696], SHIB[984435.24265328], TRX[888.09099728], UNI[3.93088908], USD[0.00], XRP[9.995]

07939849                           CUSDT[0.01200300], SHIB[0], USD[0.00]                                                                                                                                                Yes

07939851                           USD[0.00]

07939858                           NFT (445216918469962900/Munk #4134)[1], NFT (449458473808123594/Munk #3563)[1], NFT (493876111409423562/Female Black Mage #2213)[1]

07939860                           BTC[.00365188], ETH[0], SHIB[5409685.10224822], SOL[1.02582674], SUSHI[5.58698147], TRX[972.93653405]

07939869                           BAT[2.01095534], BF_POINT[300], BRZ[4], CUSDT[5], ETHW[3.11141603], GRT[1], MATIC[193.17472544], SHIB[2], TRX[15.18016605], USD[0.01], USDT[0]                                       Yes

07939872                           BTC[0], USD[8.97]                                                                                                                                                                    Yes

07939884                           BTC[.00037448], CUSDT[5], SOL[.51827726], TRX[2], UNI[1.00166438], USD[32.35]

07939886                           USD[20.00]

07939893                           MKR[.0079924], USD[0.08], USDT[.00685618]

07939894                           CUSDT[1], ETH[.02252371], ETHW[.02224649], NFT (313074514658025591/MagicEden Vaults)[1], NFT (337530700412241049/Cyber Frogs Ramen)[1], NFT (370112582125240778/MagicEden            Yes
                                   Vaults)[1], NFT (424682653356712478/MagicEden Vaults)[1], NFT (485014475310353875/Frog #5452)[1], NFT (539940196050767980/MagicEden Vaults)[1], SOL[0.03757094]
07939914                           ETH[0], UNI[.0000071], USD[0.00], USDT[0]                                                                                                                                            Yes

07939921                           SOL[.00699], USD[1.85], USDT[1.69309269]

07939922                           USD[20.00]

07939924                           SHIB[1398600], TRX[1005.993], USD[0.83]

07939935                           SHIB[1644007.89920902], USD[0.00]                                                                                                                                                    Yes

07939938                           NFT (314381509105909904/Reflection '13 #85)[1], NFT (386809366127462104/Coachella x FTX Weekend 1 #11199)[1], USD[0.00]

07939944                           SOL[1.96], USD[0.82]

07939946                           BTC[0.00002661], TRX[.000001], USD[2.60], USDT[0]

07939947                           USD[2.00]

07939956                           DOGE[358.641], LINK[1.9], USD[0.01]

07939959                           BRZ[1], BTC[.00358369], CUSDT[27], DOGE[896.31221051], ETH[.07829922], ETHW[.07732927], KSHIB[276.29835359], SOL[.79944191], TRX[1], USD[0.14]                                       Yes

07939963                           NFT (512036152658214617/Coachella x FTX Weekend 1 #4280)[1]

07939965                           NFT (312457686409641548/Saudi Arabia Ticket Stub #1770)[1], NFT (377361908968864424/FTX - Off The Grid Miami #1494)[1]

07939967                           TRX[16.34736148]                                                                                                                                                                     Yes

07939971                           CUSDT[706], USD[4.93], USDT[0]

07940009                           AVAX[0.05366869], BTC[.00000009]                                                                                                                                                     Yes

07940010                           BTC[.00085306], CUSDT[2], USD[0.06]                                                                                                                                                  Yes

07940015                           BTC[0], USD[2.61]

07940036                           ETH[.000975], ETHW[.000975], SHIB[32599354.6428853], TRX[.031], USD[0.99]

07940039                           BRZ[0], DOGE[0], GRT[0], SHIB[2.06929233], SUSHI[0], TRX[0], USD[0.00], USDT[0.00000001]                                                                                             Yes

07940046                           CUSDT[8], LTC[0], SHIB[1], TRX[.000001], USD[3.53], USDT[33.13791516]                                                                                                                Yes

07940049                           BF_POINT[200]

07940055                           CUSDT[1], MATIC[140.39794789], USD[0.00]                                                                                                                                             Yes

07940056                           USD[0.02]

07940058                           ETH[.000999], ETHW[.000999], SOL[.07992], USD[0.40]

07940062                           BTC[.00051343], CUSDT[2], ETH[.00597059], ETHW[.00597059], USD[0.01]

07940063                           DOGE[1], ETH[.00248694], ETHW[.00248694], USD[0.00]

07940066                           USD[0.61]

07940074                           BF_POINT[200]

07940086                           SHIB[4], USD[0.00]                                                                                                                                                                   Yes

07940090                           BTC[.00366082], CUSDT[1], DOGE[1], SOL[.49323945], USD[108.13]                                                                                                                       Yes

07940103                           DOGE[1], ETH[0]

07940107                           BCH[.11356569], BTC[.00151261], CUSDT[2], GBP[18.58], USD[0.00]                                                                                                                      Yes

07940122                           CUSDT[1], SOL[2.58528854], USD[0.00]                                                                                                                                                 Yes

07940123                           BRZ[1], USD[0.00]

07940128                           AAVE[1.13099916], ALGO[164.61426448], AVAX[2], BAT[178.15069848], BCH[1], BRZ[65.86764565], BTC[.01945684], CUSDT[.0000329], DOGE[462.1019652], ETH[0.11882773], ETHW[3.70651851],
                                   EUR[0.00], GRT[713.62266343], KSHIB[1440.21781548], LINK[1.27246712], LTC[1.00003460], MATIC[8.57175919], MKR[.15930327], NEAR[12.18438998], NFT (425855391750613176/Entrance
                                   Voucher #4701)[1], SHIB[5024752.21584225], SOL[5.52524024], SUSHI[67.93252495], TRX[653.78596449], UNI[3.61763476], USD[0.01], USDT[0]
07940129                           USD[20.00]

07940134                           SHIB[4], USD[0.00]                                                                                                                                                                   Yes
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                                                                                                                                         Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07940142                           BAT[132.42162492], CUSDT[6], DOGE[1], ETH[.25861603], ETHW[.25842251], LINK[2.54182983], LTC[.84601133], NFT (320794227404261467/Contemporary #15)[1], NFT                             Yes
                                   (321787297723807414/Bobby Brown)[1], NFT (358122549933551214/DOTB #6070)[1], NFT (385270152318195547/ beauty rauss #2)[1], NFT (386946181212148221/Sloth #2284)[1], NFT
                                   (463813149860008239/Supreme Boy)[1], NFT (464097045128393435/Surreal World #69)[1], NFT (480046172139186960/Black.Diploma.Marble)[1], NFT (506372553706445903/Ghoulie #2820)[1], NFT
                                   (506400364526258113/White.Diploma.Marble)[1], NFT (514373242605533352/Rogue Circuits #4293)[1], NFT (526528503224786030/Roamer #265)[1], NFT (551914039768678970/Long, Methodical
                                   Drive)[1], NFT (553587126583179862/GalaxyKoalas # 328)[1], NFT (557798385007494985/Abstract Wolf #2)[1], NFT (568173706858094512/Contemporary #6)[1], SHIB[1], SOL[.53040802],
                                   SUSHI[9.43452051], TRX[750.77198394], USD[0.00]
07940145                           ETH[.00054134], ETHW[.00054134], USD[0.00], USDT[0]

07940146                           USD[20.00]

07940162                           LINK[252.65], USD[0.55]

07940163                           USD[1.92]

07940168                           NFT (462292369141444073/Solninjas #8749)[1], SOL[.2]

07940176                           USD[210.00]

07940188                           USD[20.00]

07940206                           USD[0.56]

07940207                           GRT[13.0352214], USD[0.00]                                                                                                                                                             Yes

07940209                           BRZ[1], BTC[0.00000002], CUSDT[4], DOGE[2], ETH[.00000134], ETHW[.00000134], TRX[1], USD[0.00]                                                                                         Yes

07940213                           USD[5.19]                                                                                                                                                                              Yes

07940217                           USD[21.51]                                                                                                                                                                             Yes

07940220                           USD[21.51]                                                                                                                                                                             Yes

07940231                           NFT (368447226876144018/FTX - Off The Grid Miami #4839)[1]                                                                                                                             Yes

07940234                           BF_POINT[300], DOGE[0], SHIB[22872185.87331084], USD[217.71]                                                                                                                           Yes

07940236                           BTC[.00156111], CUSDT[1], NFT (436378432074075375/Earl Campbell's Playbook: Texas vs. Houston - November 5th, 1977 #100)[1], USD[27.09]                                                Yes

07940250                           BTC[.00008225], ETH[.00077919], ETHW[.88477919], USD[0.00]

07940252                           SOL[0.00698837], USD[0.00]

07940262                           BRZ[1], CUSDT[2], USD[0.00]                                                                                                                                                            Yes

07940269                           CUSDT[2], USD[0.00]                                                                                                                                                                    Yes

07940271                           USD[1.80]

07940286                           USD[20.00]

07940298                           DOGE[0.18637250], USD[0.00]                                                                                                                                                            Yes

07940300                           BTC[.00890454], TRX[1], USD[0.00]                                                                                                                                                      Yes

07940302                           ALGO[.00015933], BRZ[3], BTC[0.00000010], DOGE[2], LTC[0], MATIC[.00093055], SHIB[155.77730045], SOL[0.00009044], TRX[4], USD[38.68], USDT[0.00000044]                                 Yes

07940319                           BTC[.00023082], CUSDT[7], ETH[.00381322], ETHW[.00377218], SOL[1.50964206], USD[31.36]                                                                                                 Yes

07940321                           AAVE[0], AVAX[0], BTC[0], DOGE[0], SOL[0], USD[0.00], USDT[0]

07940343                           BRZ[2], CUSDT[6], SUSHI[8.8089433], USD[0.44]

07940351                           BTC[.00141757], CUSDT[2], ETH[.00800766], ETHW[.00800766], LTC[.02541131], PAXG[.00276937], SHIB[137969.09492273], SOL[.02457896], TRX[1], USD[0.02]

07940359                           NFT (326794659748833047/FTX - Off The Grid Miami #2733)[1]

07940362                           ETHW[1.9333392], SHIB[16165790.67372511], USD[5464.46], USDT[0]                                                                                                                        Yes

07940370                           NFT (327217155560645327/EXCHANGE NOTIFICATION NFT)[1], USD[0.00]

07940381                           USD[0.01], USDT[0]

07940388                           USD[0.00], USDT[0.00000001]

07940396                           USD[0.00]

07940398                           USD[0.00], USDT[0]

07940401                           BTC[.00000147]                                                                                                                                                                         Yes

07940416                           CUSDT[2], TRX[.00096688], USD[0.00], USDT[0.09765234]                                                                                                                                  Yes

07940418                           BAT[2], BRZ[6.28632302], CUSDT[17], DOGE[12.15023447], ETH[0], ETHW[0.30291821], LINK[0], SHIB[14], SOL[0.00007336], TRX[9], USD[1072.07], USDT[2.09899335]                            Yes

07940422                           NFT (467788952330831638/You in, Miami? #3)[1]

07940423                           BTC[.00809412], TRX[1], USD[0.00]

07940426                           BTC[.00756461], DOGE[1], ETH[.02167221], ETHW[.02167221], TRX[1], USD[0.01]

07940431                           KSHIB[0], USD[0.01]                                                                                                                                                                    Yes

07940435                           BTC[.00455445], CUSDT[2], ETH[.05918035], ETHW[.05844424], USD[3.13]                                                                                                                   Yes

07940458                           BTC[0.00001557]

07940466                           NFT (393655863107197408/The 2974 Collection #2570)[1], NFT (443082748215329200/Birthday Cake #2570)[1], NFT (573083901802230977/2974 Floyd Norman - OKC 4-0034)[1], USD[14.09]

07940471                           CUSDT[4], SHIB[5.96853403], TRX[2], USD[0.01]                                                                                                                                          Yes

07940478                           USD[20.00]

07940480                           USD[21.51]                                                                                                                                                                             Yes

07940491                           BAT[1.6156926], BTC[.00006753], CUSDT[3], DOGE[10.18848783], ETH[.000748], ETHW[.00074219], LINK[.14453357], LTC[.00539057], MATIC[.57201081], SHIB[1], SOL[.00517894], USD[0.02],     Yes
                                   USDT[.99447998]
07940503                           USD[6.18]

07940506                           TRX[4514.32338549]                                                                                                                                                                     Yes

07940525                           CUSDT[3], DOGE[283.02648874], SHIB[1980644.65537441], SOL[1.63807787], USD[0.00]                                                                                                       Yes

07940530                           GRT[61], MATIC[30], NFT (497708355678126227/Entrance Voucher #2265)[1], USD[0.84]
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                                                                                                                                            Customer Claims                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07940533                              ETH[5.4], ETHW[5.4], USD[569.00]

07940536                              AAVE[.19958743], ALGO[53.5315227], BRZ[168.04867297], BTC[.03008077], DOGE[2], ETH[.0487868], ETHW[.04818357], GRT[269.99007265], MATIC[93.7548179], NEAR[4.00994545],   Yes
                                      SHIB[429276.05340368], TRX[2], USD[1356.34], USDT[1.02543197]
07940545                              ETHW[.73569695], USD[0.00]

07940550                              CUSDT[1], USD[0.01]                                                                                                                                                      Yes

07940557                              NFT (574275169352352424/Megalodon Rogue Shark Tooth)[1]

07940558                              DOGE[1], TRX[2], USD[0.00]                                                                                                                                               Yes

07940560                              BTC[2.6504], ETH[9.726], ETHW[9.726], SOL[252.31], USD[121165.10]

07940573                              USD[0.01]

07940579                              BCH[.04279516], BTC[.00014958], CUSDT[153.97439054], DOGE[76.08606349], ETH[.0067367], ETHW[.00665462], KSHIB[893.1263466], LINK[.52504068], LTC[.10784274],             Yes
                                      SHIB[2971080.23191639], SOL[.24258472], SUSHI[2.98673961], TRX[63.98324146], USD[0.00], USDT[3.17134342]
07940582                              AVAX[10.94706177], BTC[0.03469327], ETH[.509943], ETHW[.509943], MATIC[27.34], USD[0.71], USDT[2.79398261]

07940592                              BTC[.00160373], CUSDT[1], DOGE[390.55100723], USD[0.00]                                                                                                                  Yes

07940597                              BAT[3411.52255375], BTC[1.003525], ETH[9.75156838], MATIC[5042.246343], SHIB[1], SOL[406.11125265], TRX[16362.79585926], USD[10169.81]                                   Yes

07940599                              BF_POINT[100], BTC[.00160203], DOGE[1], USD[108.84]                                                                                                                      Yes

07940602                              USD[0.00]

07940606                              BTC[.00819927], CUSDT[1], USD[0.01]                                                                                                                                      Yes

07940616                              BTC[.3624843], ETH[2.59288583], ETHW[2.59288583], SOL[0]

07940617                              BTC[.00625071], CUSDT[3], LINK[4.77397604], NFT (533716398692790127/Coachella x FTX Weekend 2 #18803)[1], USD[0.00]

07940625                              BRZ[3], BTC[.04944439], CUSDT[9], DOGE[6], ETH[.64956962], ETHW[.64956962], GRT[2197.69442792], SOL[12.61792997], TRX[2], USD[0.00]

07940627                              DOGE[13.44169131], TRX[1007.96426949], USD[0.00]                                                                                                                         Yes

07940631                              ETH[.980019], ETHW[.980019], SHIB[200000], USD[5.01]

07940640                              BTC[0]

07940645                              NFT (365953405997418007/You in, Miami? #261)[1]

07940646                              BRZ[2], CUSDT[1], ETH[0], TRX[1], USD[0.00]

07940649                              GRT[.00055623], SHIB[5.05039994], USD[0.00]                                                                                                                              Yes

07940658                              BTC[.01337074]

07940663                              ETH[0], USD[0.00]

07940677                              TRX[.000001], USD[0.01], USDT[.72536504]

07940685                              BTC[.00158379], CUSDT[1], DOGE[1], ETH[.02657689], ETHW[.02624857], USD[0.00]                                                                                            Yes

07940689                              USD[0.19]

07940698                              USD[174.54]                                                                                                                                                              Yes

07940704                              BAT[0], BTC[0], USD[0.00]

07940708                              BTC[.0037457], ETH[.0243257], ETHW[.0243257], SOL[.56616542], TRX[479.47156863], USD[0.01]

07940709                              BRZ[1], TRX[2], USD[0.00]                                                                                                                                                Yes

07940714                              CUSDT[1], SHIB[822208.97566593], USD[0.10]                                                                                                                               Yes

07940716                              USD[0.00]

07940719                              DOGE[.00161592], LTC[.01040797], SHIB[7566188.51365083], TRX[1], USD[0.00]                                                                                               Yes

07940722                              BTC[.0417582], USD[6.32]

07940723                              DOGE[1], SOL[2.13175905], USD[0.00]

07940739                              NEAR[6.9028829], SHIB[1], USD[0.00]

07940746                              USD[20.00]

07940759                              USD[20.00]

07940772                              CUSDT[1], SOL[.52298743], USD[0.12]                                                                                                                                      Yes

07940779                              BAT[849.19255021], CUSDT[3], ETH[.05021233], ETHW[.04958826], KSHIB[669.94739907], SHIB[181023.15329426], TRX[1], USD[0.02]                                              Yes

07940789                              USD[20.00]

07940790                              SHIB[4695300], USD[4.47]

07940791       Contingent, Disputed   USD[104109.69]

07940798                              ETH[.00000001], ETHW[0], USD[70.23]

07940800                              SOL[3.03083315], USD[0.00]

07940801                              ETH[.05153836], ETHW[.05153836], SHIB[1], USD[0.00]

07940805                              DOGE[1], SOL[1.27566667], USD[0.01]                                                                                                                                      Yes

07940814                              CUSDT[12], DOGE[1], ETH[.02074301], ETHW[.02048309], USD[0.01]                                                                                                           Yes

07940823                              DOGE[1.01399113], USD[0.56]                                                                                                                                              Yes

07940833                              SOL[0.06024367]

07940839                              USD[0.50], USDT[0.00202727]

07940840                              ETH[.0000134], ETHW[1.46691991], LINK[.00126198]                                                                                                                         Yes

07940841                              DOGE[1], ETHW[12.07685833], USD[0.01], USDT[0]                                                                                                                           Yes

07940849                              NFT (511515136918881798/Basic Spider Boneway)[1]

07940857                              CUSDT[2], MATIC[12.06192383], NFT (489812766689278551/Joe Theismann's Playbook: New York Giants vs. Washington - October 20, 1974 #53)[1], SOL[.29266676], USD[0.00]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07940868                           BTC[0], DOGE[0], ETH[0], LTC[0]

07940870                           BAT[77.25778715], BCH[.08429706], BRZ[1], CUSDT[4], DOGE[4.01992151], GRT[64.02368493], LINK[1.96024896], SOL[.61990308], SUSHI[9.55681421], TRX[518.75638658], UNI[2.03208978],    Yes
                                   USD[0.01]
07940872                           BTC[.00025176]                                                                                                                                                                      Yes

07940873                           BTC[.00163542], USD[0.00]

07940876                           GRT[0], MATIC[0], SOL[0.79425770], USD[0.00]

07940880                           DOGE[1], UNI[399.52653154], USD[0.09]                                                                                                                                               Yes

07940883                           USD[0.00], USDT[0]

07940890                           NFT (422920971097288867/Coachella x FTX Weekend 1 #27072)[1]                                                                                                                        Yes

07940898                           BCH[.00907639], ETH[1], ETHW[1], USD[0.00], USDT[2364.15589208]

07940900                           BTC[0], USD[0.01]

07940906                           BTC[0], ETH[0], USDT[0]

07940917                           USD[20.00]

07940918                           NFT (388163473751332615/SBF Hair & Signature #7 #66)[1], TRX[1], USD[0.00]                                                                                                          Yes

07940927                           NFT (548757291389788628/The shit we're leaving our kids)[1], USD[19.00]

07940929                           BF_POINT[100], BRZ[2], DOGE[1], ETH[.00000048], GRT[1], NFT (462047985855378133/Miami Ticket Stub #581)[1], SHIB[3], SOL[6.09370562], USD[0.00], USDT[0]                            Yes

07940957                           DOGE[1], SOL[.00000001], USD[0.00]                                                                                                                                                  Yes

07940959                           USD[0.60]

07940960                           BTC[.00000001], CUSDT[0], ETH[0], USD[0.01]                                                                                                                                         Yes

07940962                           TRX[.000006], USDT[3217.70534974]                                                                                                                                                   Yes

07940966                           USD[10.00]

07940972                           NFT (375778632437452772/FTX - Off The Grid Miami #2414)[1]

07940980                           BTC[.00797212], CUSDT[35], DOGE[67.52161738], SHIB[11889987.58699045], TRX[4], USD[0.00]                                                                                            Yes

07940987                           ETH[0], ETHW[0], USD[0.00]

07940992                           NFT (376553067927611812/Saudi Arabia Ticket Stub #679)[1], NFT (421996727390178833/Cloud Storm #229)[1], NFT (522108703951467075/Stage Pyro #142)[1], SOL[.02]

07940994                           LTC[.00188244], USD[0.00]                                                                                                                                                           Yes

07941005                           ETH[.00000001], USD[0.00]

07941007                           CUSDT[5], DOGE[2], LINK[0], SOL[.00003382], TRX[1], USD[0.01]                                                                                                                       Yes

07941017                           BTC[.0049], DOGE[139], ETH[.064935], SHIB[2098800], USD[17.52], USDT[19.98]

07941022                           USD[21.51]                                                                                                                                                                          Yes

07941025                           USD[20.00]

07941027                           CUSDT[2], GRT[.00296279], TRX[1], USD[0.00]                                                                                                                                         Yes

07941034                           BTC[0], LTC[.0088315], USD[4.71]

07941038                           USD[21.51]                                                                                                                                                                          Yes

07941040                           USD[0.62]

07941052                           USD[100.00]

07941053                           BF_POINT[300], BTC[0], ETH[0], ETHW[0], LINK[0], MATIC[0], SOL[0], USD[0.01]

07941064                           AVAX[0], BF_POINT[100], BTC[0], SHIB[0], TRX[0], USD[0.00], USDT[0]

07941067                           BTC[.00049321], SHIB[3], USD[0.00]

07941072                           ETH[.12088505], ETHW[.12088505], LTC[.5], MATIC[9.9905], TRX[5008.98145132], USD[34.59]

07941076                           USD[6.46]

07941082                           NFT (428621884700197650/The Hill by FTX #5254)[1]

07941084                           CUSDT[1], ETH[.00658942], ETHW[.00650734], USD[0.00]                                                                                                                                Yes

07941086                           USD[20.00]

07941087                           EUR[1499.81]

07941093                           BTC[.02258927], ETH[.16652703], ETHW[.16652703], SHIB[9952229.29936305], SOL[7.86276065], USD[0.01]

07941100                           NFT (313467637908655565/Birthday Cake #0474)[1], NFT (362854505349449713/2974 Floyd Norman - OKC 5-0137)[1], SOL[.00000001], USD[0.00]

07941102                           ETH[5.2752354], ETHW[5.2730592], LINK[371.94213819]                                                                                                                                 Yes

07941106                           LTC[.008], USDT[2.50068]

07941109                           NFT (523791362919246036/Coachella x FTX Weekend 1 #7292)[1]

07941110                           CUSDT[1], TRX[144.5734082], USD[0.00]

07941121                           ALGO[1985.63261191], BRZ[1], BTC[.05071699], DOGE[5297.76173884], ETH[1.16965104], GRT[1332.70563047], LINK[36.50697452], LTC[.42171254], MATIC[290.34152052], NEAR[37.86110393],   Yes
                                   SHIB[23117511.99372347], SOL[41.65176405], TRX[3402.95550405], USD[13.65], USDT[999.72099644]
07941139                           BTC[.18308584], USD[12.73]

07941146                           CUSDT[1000.39753298], DOGE[311.75397359], USD[5.44]                                                                                                                                 Yes

07941147                           USD[0.37], USDT[2.02937598]

07941152                           ETH[0.04236490], ETHW[0.04183975], USD[0.00], USDT[0.00002293]                                                                                                                      Yes

07941153                           AVAX[4.73588784], CUSDT[2], ETHW[0.46582587], SHIB[6], TRX[2], USD[370.87], USDT[0]

07941163                           ETHW[1.53354175], USD[4.50]

07941167                           CUSDT[2], SHIB[1], TRX[3], USD[0.01]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07941177                              USD[0.14]

07941181                              BRZ[1], BTC[.06294579], CUSDT[5], DOGE[1], ETH[.23117372], ETHW[.23096905], SHIB[10], SOL[4.02332721], TRX[3], USD[0.00]                                                              Yes

07941188                              BAT[1], BTC[.00000001], USD[6777.34]

07941201                              USD[0.90]

07941218                              BTC[0], SOL[0], USD[0.00]

07941224                              USD[0.00]                                                                                                                                                                             Yes

07941225                              USD[0.03]

07941243                              USD[0.00]

07941247                              SOL[0]

07941253                              EUR[0.00], USD[0.18], USDT[0]

07941258                              BAT[22.54367172], BF_POINT[2000], BRZ[158.81571683], BTC[.00791142], CUSDT[531.62775707], DOGE[479.67109666], ETH[.13332333], ETHW[.29511109], GRT[2.01181038],                       Yes
                                      MATIC[66.61532105], SHIB[1355253.39097028], SOL[5.00821544], SUSHI[.00046835], TRX[68.91761716], USD[0.93]
07941279                              ETH[0], SOL[0], USD[0.00]

07941280                              SOL[.0492], USD[11.82]

07941292                              DOGE[.00019578], ETH[0.00734448], ETHW[0.00724872], SHIB[4], USD[0.00], USDT[0]                                                                                                       Yes

07941294                              USD[3500.00]

07941299                              NFT (289880245014536618/LogantoFluffyPeople #4)[1], NFT (292597085977871111/ScarecrowPixel #10)[1], NFT (319588225080742351/Voxi People #3)[1], NFT
                                      (389165987177565173/LogantoFluffyPeople #8)[1], NFT (398851979426501844/ScarecrowPixel #8)[1], SOL[.13871107], USD[0.00]
07941317                              ETH[0], SOL[.00000001], USD[0.00], USDT[1.17433956]

07941318                              SOL[2.20196956], USD[0.18]                                                                                                                                                            Yes

07941334                              ETH[0.02207523], ETHW[0.02207523], MATIC[3.08473556], SOL[0.17642622], USD[0.00]

07941335                              ETHW[.158853], MATIC[39.96], SOL[0], USD[1.17]

07941350                              DOGE[2], GRT[1], SUSHI[1.01234447], TRX[3.000018], USD[0.00], USDT[0.01000000]                                                                                                        Yes

07941352                              SOL[0.00079379], USD[0.00], USDT[0]

07941376                              BRZ[2], CUSDT[3], DOGE[8.21664788], GRT[3.09750756], TRX[6], USD[0.00]                                                                                                                Yes

07941377                              SOL[.51]

07941378                              BTC[.00329606], CUSDT[1], USD[0.63]                                                                                                                                                   Yes

07941386                              BTC[.0379658], USD[1.41]

07941396                              BTC[0.00023652], USD[0.00]                                                                                                                                                            Yes

07941399                              ETH[.00268549], ETHW[.00265813], USD[0.00]                                                                                                                                            Yes

07941404                              NFT (293148242485595461/FTX - Off The Grid Miami #2985)[1]                                                                                                                            Yes

07941406                              BTC[.0561], ETH[1.4], ETHW[1.4], USD[2.51]

07941415                              USD[5.00]

07941419                              CUSDT[1], DOGE[70.60802721], USD[0.00]                                                                                                                                                Yes

07941426                              BTC[0], USD[2.00], USDT[0]

07941448                              NFT (464131141354217318/Tim Brown's Playbook: San Diego Chargers vs. Los Angeles Raiders - September 4, 1988 #50)[1], NFT (490144328479572346/Fat super #2)[1]

07941449                              DOGE[1], USD[0.01]

07941461                              USD[0.01]

07941465                              CUSDT[5], USD[0.02]                                                                                                                                                                   Yes

07941468                              MATIC[0]

07941469                              BRZ[3], CUSDT[9], ETHW[5.51393667], GRT[1], KSHIB[348.39630567], SHIB[7], TRX[3], UNI[.00056189], USD[8523.96]

07941473                              BRZ[1], CUSDT[11], DOGE[7.00057537], LINK[185.64457494], SHIB[2007361.06574296], SOL[29.77444141], TRX[74910.54882388], USD[0.00]                                                     Yes

07941477                              BF_POINT[100], TRX[0], USD[0.00]                                                                                                                                                      Yes

07941478                              ETH[.00311241], ETHW[.00307137], LINK[.96679917]                                                                                                                                      Yes

07941489                              MATIC[50], USD[9.52]

07941497                              BTC[0], SOL[.069937], USD[0.71]

07941506                              BTC[.00078683], CUSDT[5], DOGE[37.77695519], ETH[.00562246], ETHW[.00555406], SHIB[2568261.58865726], TRX[2], USD[0.26]                                                               Yes

07941535                              USD[402.47]

07941540                              BAT[.42811952], CUSDT[15.93675384], DOGE[2.17260747], SHIB[19149819.94838431], TRX[2.27275225], USD[0.00]

07941543                              CUSDT[7], DOGE[2], LTC[1.29726389], SOL[3.74225046], USD[0.00], USDT[1.07855829]                                                                                                      Yes

07941548                              USD[0.00]

07941549                              ETH[0], ETHW[0], LINK[0], NFT (418403908804073610/Woman #4 #2)[1], NFT (483529949188883021/Hall of Fantasy League #174)[1], NFT (535887026639924253/Hall of Fantasy League #61)[1],   Yes
                                      SHIB[829.91633579], SUSHI[0], TRX[2], USD[0.00]
07941551       Contingent, Disputed   SOL[.00000001], USD[0.00]                                                                                                                                                             Yes

07941552                              SHIB[700000], USD[0.24]

07941558                              ETH[.00122583], ETHW[.00121215], USD[0.00]                                                                                                                                            Yes

07941569                              DOGE[3.29724495], SHIB[54998831.71612302], USD[0.00], USDT[0]                                                                                                                         Yes

07941589                              BAT[.00034875], BCH[.00000493], BRZ[.00136086], BTC[.00000035], CUSDT[.01143869], DAI[.00024658], DOGE[.00098895], ETH[.00000011], ETHW[.00000011], LTC[.00003416],                   Yes
                                      MATIC[.00016126], SHIB[7], SOL[.00007863], SUSHI[.00002152], TRX[4], USD[1354.78]
07941603                              USD[0.42]

07941605                              ETH[.00000001], ETHW[0], TRX[0]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07941615                              BAT[1.0136816], BRZ[1], CUSDT[5], DOGE[2], ETH[.00000011], ETHW[.00000011], LINK[96.7192348], SOL[12.83324829], TRX[.00270479], USD[2.25]               Yes

07941618                              DOGE[1], SOL[0.00003385]                                                                                                                                Yes

07941624                              SOL[.999], USD[8.13]

07941637                              BTC[.0013], USD[13.07]

07941645                              USD[0.00]

07941648                              USD[1632.58]                                                                                                                                            Yes

07941651                              BTC[.0009], DOGE[101], ETH[.008], ETHW[.008], SHIB[200000], USD[1.23]

07941652                              SOL[.00000001], USD[0.00]

07941653                              BAT[1], BTC[.00001395], CUSDT[1], ETH[0.68332215], ETHW[0.68303511], TRX[2], USD[0.24]                                                                  Yes

07941655                              USD[0.00], USDT[0]

07941656                              LINK[.1], USD[14.48]

07941662                              ETH[.00001], ETHW[.00001]

07941665                              DOGE[1], SOL[2.15494167], USD[0.01]                                                                                                                     Yes

07941673                              CUSDT[1], USDT[0.09540237]                                                                                                                              Yes

07941675                              USD[21.51]                                                                                                                                              Yes

07941681                              BTC[.51060776], SHIB[1000000], USD[8171.81]

07941686                              USD[0.01]                                                                                                                                               Yes

07941687                              NFT (430717623966572521/Yoga Woman #3 - Brahmacharya)[1], USD[6.11]

07941690       Contingent, Disputed   USD[0.01], USDT[0]                                                                                                                                      Yes

07941692                              CUSDT[1], DOGE[423.68760068], USD[0.00]                                                                                                                 Yes

07941693                              ETH[0], SOL[0]

07941695                              BTC[.03304104], ETH[.02127124], ETHW[.02127124], USD[0.04]

07941697       Contingent, Disputed   BTC[.03007061], USD[500.00]

07941704                              ETH[0], SHIB[34.67945670], USD[0.00]

07941707                              USD[0.00]

07941709                              DOGE[.00079952], LTC[.00000044], NFT (373552298511059740/Australia Ticket Stub #1961)[1], SUSHI[.00000913], USD[28250.15], USDT[0]                      Yes

07941714                              BRZ[1], CUSDT[7], DOGE[2], SHIB[1], TRX[4], USD[0.01]                                                                                                   Yes

07941730                              USD[0.00]

07941732                              ETH[0], ETHW[0], USDT[0.00001918]

07941744                              USD[0.01]

07941745                              BTC[0.00006917], SOL[0], USD[0.01]

07941746                              USD[0.00]

07941748                              CUSDT[4], ETH[.00000575], ETHW[.57689883], TRX[1], USD[0.00]                                                                                            Yes

07941762                              USD[0.00], USDT[0]

07941764                              BRZ[1], CUSDT[2], ETH[.0942757], ETHW[.0942757], SHIB[2866391.45954449], TRX[286.5295279], USD[0.01]

07941772                              BTC[.00652318], CUSDT[2], DOGE[105.54200563], ETH[.01963132], ETHW[.01938508], USD[0.26]                                                                Yes

07941789                              USD[0.00]

07941798                              ETH[.4965], ETHW[.4965], SOL[4.99]

07941806                              USD[3.68]

07941807                              AAVE[.359658], GRT[238.77295], LINK[9.39107], SOL[.7293065], SUSHI[19.481475], UNI[30.071405], USD[0.00]

07941820                              BTC[.0004], CUSDT[.97936837], ETH[.007], ETHW[.007], NFT (336935816270301444/Entrance Voucher #2996)[1], USD[1.23], USDT[0.00056100]

07941822                              BTC[0], ETH[0], ETHW[0], SOL[0], USD[0.00]

07941827                              ETH[0.00165080], ETHW[0.00165080], USD[0.00]

07941832                              NFT (312317054233770928/Terraform Seed)[1], USD[0.00], USDT[0.00002663]

07941848                              SHIB[139039.79018982], USD[0.00]

07941849                              ETH[.00000001], LINK[0], SOL[0.00000001], TRX[0.00027600], USD[0.00], USDT[0]

07941853                              BRZ[1], BTC[0], DOGE[4], SHIB[17], TRX[4], USD[0.00]                                                                                                    Yes

07941860                              BTC[.00000135], DOGE[2], ETHW[1.14973045], SHIB[229], TRX[1], USD[0.09], USDT[0.00000001]                                                               Yes

07941875                              CUSDT[1], USD[0.01]                                                                                                                                     Yes

07941884                              MATIC[370], SOL[26.24955], USD[523.80]

07941890       Contingent,            ETHW[1.0006], NFT (332714622120263732/FTX Crypto Cup 2022 Key #1574)[1], NFT (465826302944827837/The Hill by FTX #2567)[1], TRX[12391.596], USD[0.00]
               Unliquidated
07941896                              DOGE[756.90358929], MATIC[.07436875], SHIB[13365375.97688034], USD[16.58], USDT[0.61719400]

07941898                              USD[0.01]

07941903                              DOGE[1], SHIB[3], TRX[1], USD[0.00]                                                                                                                     Yes

07941905                              BTC[.00003855], SOL[.00718], USD[256.33]

07941909                              USD[0.20]

07941924                              LINK[3719.6585635], SOL[.00475975], SUSHI[5.2828125], USD[273.26]

07941932                              CUSDT[1], SUSHI[21.03472152], TRX[133.81702912], USD[0.00]                                                                                              Yes
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                                                                                                                                         Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07941937                           ETH[0], USD[1.49]

07941942                           BTC[.00000087], DOGE[2], ETH[.00000001], ETHW[23.09158859], SHIB[1], USD[4.56]                                                                                                          Yes

07941944                           BTC[.35602938], USD[3615.12]

07941945                           DOGE[1], ETHW[1.1314681], SHIB[9325467.33012759], TRX[2], USD[0.00]                                                                                                                     Yes

07941950                           BTC[.00000021], DOGE[1], ETH[.00006838], ETHW[.00006838], GRT[1], SHIB[9], TRX[1], USD[0.01]                                                                                            Yes

07941951                           DOGE[1], TRX[1]

07941965                           AAVE[0], DAI[0], DOGE[0], ETH[0], GRT[0], KSHIB[0], MATIC[0], SHIB[0], SOL[0], SUSHI[0], USD[0.00], USDT[0]                                                                             Yes

07941966                           AVAX[.005], BTC[0.00008735], ETH[.00031411], NEAR[.049617], SHIB[43572.75655534], UNI[.05], USD[0.00], USDT[0]

07941967                           USD[0.00]

07941970                           ETHW[.60871785], USD[1.73]

07941971                           BTC[0], USD[0.00]

07941976                           USD[0.00]

07941979                           BRZ[1], CUSDT[11], DOGE[2], SHIB[145231.87046393], USD[0.00]                                                                                                                            Yes

07941984                           USD[0.00]

07941989                           USD[0.00]

07941997                           SHIB[169769.69653425], USD[0.00]                                                                                                                                                        Yes

07941999                           CUSDT[1], USD[0.00], USDT[216.54173614]                                                                                                                                                 Yes

07942001                           CUSDT[5], GRT[54.38505981], KSHIB[158.43556916], MATIC[14.1178531], SHIB[2], SOL[3.45871729], USD[0.86]                                                                                 Yes

07942009                           SOL[.00102299], USD[0.00]

07942011                           ALGO[.00137002], USD[0.73]                                                                                                                                                              Yes

07942012                           AVAX[.00021513], BRZ[2], CUSDT[1], ETHW[1.25268815], SOL[.000091], TRX[1.03235602], USD[0.24], USDT[1.01274721]                                                                         Yes

07942016                           ETH[.000526], ETHW[.000526], USD[0.00], USDT[0.00000001]

07942021                           BTC[0], EUR[0.01], NFT (289109991208601764/SolBunnies #4088)[1], NFT (289316263076984656/Sollyfish #3598)[1], NFT (291786739358585658/SolBunnies #594)[1], NFT
                                   (292755384558014305/SolBunnies #2953)[1], NFT (292921142617236224/SolBunnies #690)[1], NFT (296289304356766581/SolBunnies #4144)[1], NFT (298374458501509074/SolBunnies #2799)[1],
                                   NFT (304526898514885974/SolBunnies #3939)[1], NFT (304652700256855199/SolBunnies #3911)[1], NFT (307100423315031705/SolBunnies #2611)[1], NFT (308853829904659640/SolBunnies
                                   #2739)[1], NFT (309183481072274628/SolBunnies #478)[1], NFT (310105637486787224/SolBunnies #843)[1], NFT (310811617894517395/SolBunnies #964)[1], NFT (311803881611949660/SolBunnies
                                   #2108)[1], NFT (313676411293563580/SolBunnies #3920)[1], NFT (316275140455876616/SolBunnies #572)[1], NFT (316769031174346933/SolBunnies #2960)[1], NFT
                                   (319896513459355282/SolBunnies #4417)[1], NFT (322047559708527797/Sollyfish #3597)[1], NFT (325974266902813398/SolBunnies #175)[1], NFT (326815245469323360/SolBunnies #225)[1], NFT
                                   (327380249402152794/SolBunnies #3318)[1], NFT (329120913740496855/SolBunnies #125)[1], NFT (330378092916777015/SolBunnies #753)[1], NFT (331731238735494294/SolBunnies #3649)[1],
                                   NFT (336261010786508186/SolBunnies #2656)[1], NFT (338028679878344245/SolBunnies #447)[1], NFT (338611095295508394/SolBunnies #1195)[1], NFT (339549765045567558/SolBunnies
                                   #1045)[1], NFT (343747877484941267/SolBunnies #1938)[1], NFT (345216035724527489/SolBunnies #3945)[1], NFT (345911968504527157/SolBunnies #2800)[1], NFT
                                   (346311985956091313/SolBunnies #1366)[1], NFT (346538032139055773/SolBunnies #4403)[1], NFT (346945633912533491/SolBunnies #526)[1], NFT (347068251343791896/SolBunnies #3178)[1],
                                   NFT (349847647584618891/SolBunnies #3262)[1], NFT (350502282411169287/Sollyfish #363)[1], NFT (351969709628389239/SolBunnies #3837)[1], NFT (352064266531215692/SolBunnies #3403)[1],
                                   NFT (352808076475211445/SolBunnies #612)[1], NFT (354655765246472505/SolBunnies #2782)[1], NFT (356153299228816847/Ghoulie #6148)[1], NFT (356997238916966936/SolBunnies #339)[1],
                                   NFT (360675735775550481/Sollyfish #977)[1], NFT (362947747204901701/SolBunnies #1509)[1], NFT (364731975007170808/SolBunnies #713)[1], NFT (366825943701487688/SolBunnies #3439)[1],
                                   NFT (368813812542054084/SolBunnies #1405)[1], NFT (370795134295154346/SolBunnies #732)[1], NFT (371305326964347001/SolBunnies #2677)[1], NFT (374348326497598814/SolBunnies
                                   #2949)[1], NFT (374728632084847619/SolBunnies #1442)[1], NFT (375024385905742490/SolBunnies #1397)[1], NFT (378695180496466196/SolBunnies #511)[1], NFT
                                   (379232371479230900/SolBunnies #3008)[1], NFT (379550641190112621/Sollyfish #973)[1], NFT (381815087844455649/SolBunnies #1677)[1], NFT (382188865517079300/SolBunnies #2601)[1], NFT
                                   (383135606306804179/SolBunnies #2076)[1], NFT (383391657826493571/SolBunnies #4189)[1], NFT (385013450067678598/SolBunnies #1502)[1], NFT (385302762760588894/SolBunnies #699)[1],
                                   NFT (387944887462149616/SolBunnies #1035)[1], NFT (388900496919073938/SolBunnies #2079)[1], NFT (391476139479017633/Sollyfish #1774)[1], NFT (391523988519465138/SolBunnies
                                   #3316)[1], NFT (391786859877509668/Ghoulie #6166)[1], NFT (393196862418626169/SolBunnies #3906)[1], NFT (393228918832830564/SolBunnies #3212)[1], NFT (393487137321366594/Sollyfish
                                   #2845)[1], NFT (394526405811041193/SolBunnies #801)[1], NFT (395933414106760805/SolBunnies #2595)[1], NFT (396288055239911626/SolBunnies #666)[1], NFT
                                   (397049357372557254/SolBunnies #2730)[1], NFT (398249172666119208/SolBunnies #1829)[1], NFT (402935250166550731/SolBunnies #2612)[1], NFT (403189140565933949/Sollyfish #952)[1], NFT
                                   (405989746637337268/SolBunnies #460)[1], NFT (406806451976915326/SolBunnies #2258)[1], NFT (410238942493952074/SolBunnies #2048)[1], NFT (411798107043549353/SolBunnies #4301)[1],
                                   NFT (413293906029470007/SolBunnies #3142)[1], NFT (414116632743568769/SolBunnies #2476)[1], NFT (415934223105205881/SolBunnies #1272)[1], NFT (418186236954392055/SolBunnies
                                   #2335)[1], NFT (419332339563247373/SolBunnies #2412)[1], NFT (419524215562665517/SolBunnies #3341)[1], NFT (421177034682015266/SolBunnies #717)[1], NFT
                                   (421800123789249599/SolBunnies #2661)[1], NFT (422043686636189052/SolBunnies #960)[1], NFT (423933672946194579/SolBunnies #1660)[1], NFT (429901385186751980/SolBunnies #81)[1], NFT
                                   (431014209106194231/SolBunnies #1068)[1], NFT (433005781220040185/SolBunnies #2724)[1], NFT (433888399381716302/SolBunnies #3767)[1], NFT (436424233251846994/SolBunnies #1114)[1],
                                   NFT (443207380498562101/SolBunnies #907)[1], NFT (447995028859736577/SolBunnies #3558)[1], NFT (451981142131076768/SolBunnies #2908)[1], NFT (455167236765446701/SolBunnies
                                   #1796)[1], NFT (457319135330712106/SolBunnies #3514)[1], NFT (458195459485145063/SolBunnies #1016)[1], NFT (461444930587817679/SolBunnies #1906)[1], NFT
                                   (463531263947061661/SolBunnies #2432)[1], NFT (464520928633266442/SolBunnies #2801)[1], NFT (465568039202877476/Ghoulie #6154)[1], NFT (465700670958749862/Sollyfish #4039)[1], NFT
                                   (466067716360635028/SolBunnies #3872)[1], NFT (471075648177163040/SolBunnies #3352)[1], NFT (471319961346621879/SolBunnies #2709)[1], NFT (471362493417577949/SolBunnies #2145)[1],
                                   NFT (473334511965045290/SolBunnies #4011)[1], NFT (474953904438317178/SolBunnies #2509)[1], NFT (475521653443463451/SolBunnies #3311)[1], NFT (482474260653154151/SolBunnies
                                   #3179)[1], NFT (483903590594505680/SolBunnies #1558)[1], NFT (484192980323994548/SolBunnies #2128)[1], NFT (485141950931801339/SolBunnies #1322)[1], NFT
                                   (485227573069385416/SolBunnies #1892)[1], NFT (485747374924256312/SolBunnies #1600)[1], NFT (486440624292119026/Sollyfish #2867)[1], NFT (490228022462143775/SolBunnies #2909)[1],
                                   NFT (490417162503324396/SolBunnies #3258)[1], NFT (490969588216029203/SolBunnies #3144)[1], NFT (492980797128536929/SolBunnies #3371)[1], NFT (494644935636713225/SolBunnies
                                   #1654)[1], NFT (496241368467099216/SolBunnies #2379)[1], NFT (503143856647678691/SolBunnies #2880)[1], NFT (504465790161847063/SolBunnies #2176)[1], NFT
                                   (506444128458229408/Sollyfish #3931)[1], NFT (506949527212827109/Sollyfish #1443)[1], NFT (508698691640628252/SolBunnies #2890)[1], NFT (511084380830263006/SolBunnies #4429)[1], NFT
                                   (511223808312117833/SolBunnies #79)[1], NFT (515185449884689045/SolBunnies #2174)[1], NFT (515631997133913465/Sollyfish #4541)[1], NFT (516133161021816633/SolBunnies #1134)[1], NFT
                                   (516227690999990886/SolBunnies #903)[1], NFT (517501024926889585/Koalana X Neonexus)[1], NFT (517907093294743435/SolBunnies #2340)[1], NFT (518674459583786371/Sollyfish #4326)[1],
                                   NFT (518924910580127832/SolBunnies #1005)[1], NFT (519126216556133270/SolBunnies #3253)[1], NFT (521404467120009318/SolBunnies #3180)[1], NFT (522271264118254139/SolBunnies
                                   #3580)[1], NFT (523126866467515049/SolBunnies #1488)[1], NFT (524355873097990114/SolBunnies #1128)[1], NFT (524599944281194959/SolBunnies #1468)[1], NFT
                                   (527847144516997243/SolBunnies #4438)[1], NFT (529753378114759762/SolBunnies #3508)[1], NFT (530620452380467240/SolBunnies #4164)[1], NFT (535238579795255479/SolBunnies #3816)[1],
                                   NFT (537556328879171470/SolBunnies #4244)[1], NFT (539508245007384539/SolBunnies #4064)[1], NFT (540042881824670693/SolBunnies #2118)[1], NFT (540482912037716179/SolBunnies
                                   #2743)[1], NFT (544517780892432264/SolBunnies #3347)[1], NFT (544582792433850674/SolBunnies #2200)[1], NFT (548166839738480934/SolBunnies #3935)[1], NFT
                                   (548199856818176959/SolBunnies #1514)[1], NFT (549362237246345178/SolBunnies #3665)[1], NFT (551047756335307923/SolBunnies #2217)[1], NFT (553097231472261608/SolBunnies #2629)[1],
                                   NFT (554379414705537145/SolBunnies #779)[1], NFT (555163446755913221/SolBunnies #3734)[1], NFT (558132826227363167/SolBunnies #707)[1], NFT (559845760848795575/SolBunnies
                                   #4397)[1], NFT (563989749952902528/SolBunnies #3999)[1], NFT (564114282799376158/SolBunnies #3314)[1], NFT (564458602642996474/SolBunnies #2221)[1], NFT
                                   (565523756739627771/SolBunnies #1555)[1], NFT (569596788494671726/SolBunnies #27)[1], NFT (570325011014426249/Sollyfish #2369)[1], NFT (573059542969865214/SolBunnies #4440)[1], NFT
                                   (575069637787283001/SolBunnies #2558)[1], SOL[0.00235866], USDT[0]



07942037                           MATIC[11.19807724], SHIB[200000], USD[3.08]

07942060                           BTC[.00066904], CUSDT[3], SOL[.11501423], USD[0.00]

07942065                           ETH[0], LTC[0], USD[0.00]

07942080                           BTC[0], DOGE[.9972], ETH[0.00194467], ETHW[0.08817006], USD[0.00], USDT[0.01921233]
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
                                                                                                  Amended Schedule 1754      Filed
                                                                                                                      Nonpriority     06/27/23
                                                                                                                                  Unsecured           Page 508 of 1384
                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07942082                              CUSDT[1], DOGE[4], MATIC[281.03830799], SHIB[11], TRX[2], USD[0.00]                                                                                                                 Yes

07942088                              USD[35.06], USDT[0]                                                                                                                                                                 Yes

07942094                              BF_POINT[200], ETHW[.125], USD[47.22]

07942109                              NFT (552150140192401181/Entrance Voucher #2738)[1], USD[0.00], USDT[0]                                                                                                              Yes

07942114                              BTC[.20807195], USD[0.00]                                                                                                                                                           Yes

07942115                              CUSDT[2], DOGE[1], NFT (459085348554813876/Coachella x FTX Weekend 1 #9550)[1], SHIB[2], TRX[2], USD[20.35], USDT[1.02543197]                                                       Yes

07942119                              ETH[.002788], ETHW[.002788], SOL[3.18574960], USD[0.00]

07942133                              BAT[1], BRZ[1], ETH[.43070704], ETHW[.43070704], TRX[1], USD[0.00]

07942134                              USD[94.54]                                                                                                                                                                          Yes

07942136                              ETH[.00008975], ETHW[0], SHIB[2], USD[0.00]                                                                                                                                         Yes

07942137                              BTC[.00004119], SHIB[1], TRX[1], USD[0.71]

07942139                              USD[0.19]

07942144                              USD[507.91]                                                                                                                                                                         Yes

07942151                              USD[20.00]

07942152                              AVAX[.63371356]

07942157                              SHIB[300000], USD[0.40]

07942171                              SOL[0], USDT[0.00000011]

07942174                              BF_POINT[200]

07942175                              BTC[0.00000001], LTC[0.00000001], NFT (451994488219297753/Imola Ticket Stub #1882)[1], USD[0.00], USDT[0.00018352]                                                                  Yes

07942178                              BTC[0], ETH[0], ETHW[0], MATIC[0], SOL[0.00000001], USD[13.04], USDT[0]

07942181                              USD[10.38]                                                                                                                                                                          Yes

07942182                              USD[0.01], USDT[2.7417486]

07942185                              NFT (333350100702812278/Red Panda #1521)[1], NFT (334878536213954245/Map of Ailurus)[1], NFT (336064908857393715/Red Panda #9107)[1], NFT (340846920540972143/Map of Ailurus)[1],
                                      NFT (350854209643098613/Red Panda #8548)[1], NFT (352120723707255937/Red Panda #2102)[1], NFT (356751543156698901/Red Panda #3859)[1], NFT (363457537029249087/Red Panda
                                      #9720)[1], NFT (388718383839959303/Tungsten Cube 53)[1], NFT (441285921666167340/Red Panda #8560)[1], NFT (462309419935499520/Red Panda #6905)[1], NFT (506759515114825159/Red
                                      Panda #275)[1], NFT (524189236761320313/Red Panda #8924)[1], NFT (528085278972006383/Red Panda #9674)[1], NFT (571048108409232097/Red Panda #437)[1], NFT (575175896340760279/Red
                                      Panda #2613)[1], SOL[.00182849], USD[0.00], USDT[1.2003902]
07942198                              BAT[1], DOGE[1], TRX[2], USD[0.00]

07942199                              SHIB[140760.36509836]                                                                                                                                                               Yes

07942205                              BTC[.00011185]

07942208                              USD[0.00]

07942216                              BF_POINT[100], USD[0.01]                                                                                                                                                            Yes

07942222                              BAT[345.58421543], BTC[.01365789], CUSDT[2], DOGE[2], MATIC[95.51093328], TRX[979.27597426], USD[0.00]

07942226                              NFT (555688693284857837/You in, Miami? #37)[1]

07942234                              CUSDT[2], NFT (434181736040748554/Entrance Voucher #2122)[1], USD[0.00]                                                                                                             Yes

07942250                              BTC[0], SOL[.00000001], USDT[0]

07942251                              USD[10.88]                                                                                                                                                                          Yes

07942259                              ETH[.00032756], ETHW[0.00032755], SOL[.22977], USD[1.04]

07942261                              CUSDT[162.36352688], DOGE[1], SHIB[5], SOL[13.49054375], TRX[2], USD[2.26]                                                                                                          Yes

07942265                              AVAX[5.19912836], BTC[0], ETH[0], NEAR[.84125678], NFT (517038560327122210/Bingroth #3)[1], USD[0.00], WBTC[0]                                                                      Yes

07942267                              SOL[.05], USD[0.23]

07942276                              USD[1.66], USDT[100]

07942277                              CUSDT[3], SHIB[3], USD[0.01]

07942282                              AVAX[.65728928], CUSDT[4], DOGE[1], ETH[.03601734], ETHW[.03556656], SHIB[3], SOL[1.64143959], USD[0.00]                                                                            Yes

07942283                              USD[0.00]

07942284       Contingent, Disputed   BAT[1], TRX[1], USD[0.01]

07942291                              USD[1.00]

07942292                              DOGE[950]

07942295                              USDT[0.00001396]                                                                                                                                                                    Yes

07942304                              BRZ[1], DOGE[2], ETH[.00000301], ETHW[.00000301], SHIB[2], TRX[3], USD[4376.19], USDT[0]

07942314                              BF_POINT[200]

07942318                              BF_POINT[100], ETH[0], SOL[0], TRX[0], USD[0.00]                                                                                                                                    Yes

07942320                              CUSDT[1], USD[0.01]                                                                                                                                                                 Yes

07942322                              USD[0.00]

07942325                              USD[51.12]

07942333                              BTC[.0780219], LINK[124.5376], MATIC[2180], SOL[20.5], USD[1988.70]

07942335                              AVAX[11.26660332], DAI[.09810004], USD[99.50]                                                                                                                                       Yes

07942349                              CUSDT[2], DOGE[417.6345316], ETH[.01189435], ETHW[.01174387], USD[0.28]                                                                                                             Yes

07942353                              USD[21.51]                                                                                                                                                                          Yes

07942354                              BTC[.00299683], USD[1.01]
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
                                                                                                  Amended Schedule 1754      Filed
                                                                                                                      Nonpriority     06/27/23
                                                                                                                                  Unsecured           Page 509 of 1384
                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07942358                              BTC[0.00003907], MKR[.000903], USD[1.52], USDT[.669718]

07942359                              NFT (304428098112477493/Model 01 - Grey)[1], NFT (393390042491329051/RAM Mixtape 1.1)[1], NFT (576328332313927245/SDC x RAM Mixtape 1.3)[1]

07942364                              BTC[.00042001], CUSDT[5], DOGE[1], TRX[3], USD[0.00]

07942367                              NFT (299153844059625393/Sol Lion #700)[1], NFT (362192244382263451/Sol Lion #2230)[1], NFT (373946551147903754/Sol Lion #717)[1], NFT (382694362974154680/Sol Lion #8322)[1], NFT
                                      (392514985298086970/Sol Lion #742)[1], NFT (395708159900630517/Sol Lion #885)[1], NFT (396777460475797103/Sol Lion #683)[1], NFT (450957488200852975/Sol Lion #1327)[1], NFT
                                      (470037523440119820/Sol Lion #708)[1], NFT (473251223153983459/Sol Lion #1651)[1], NFT (482967977513291933/Sol Lion #193)[1], NFT (483291681768892929/Sol Lion #1642)[1], NFT
                                      (487350384790600851/Sol Lion #726)[1], NFT (496390041848826637/Sol Lion #875)[1], NFT (511995594780780116/Sol Lion #695)[1], NFT (519907705846843268/Sol Lion #7963)[1], NFT
                                      (537029329352419873/Sol Lion #3188)[1], NFT (537268584747768063/Sol Lion #504)[1], NFT (549622947785304212/Sol Lion #744)[1], NFT (576218203465614630/Sol Lion #4202)[1]
07942370                              BTC[.0000348], USD[2.48]

07942376                              BTC[.00111099]

07942378                              BTC[.0154]

07942384                              BTC[0], ETH[.0003237], ETHW[0.00032370], SOL[.00938269], USD[0.02], USDT[.2878512]

07942389                              BAT[7278.47419973], BRZ[1], DOGE[2], ETH[.00000001], ETHW[0], LINK[33.14709338], MATIC[38.69723783], SOL[.00012506], TRX[976.87730705], USD[0.09], USDT[0]                           Yes

07942394                              NFT (520754568785364800/Bahrain Ticket Stub #98)[1]

07942396                              SOL[.84915], USD[2.02]

07942430                              ETH[0], SOL[.00000001], USD[0.01]

07942434                              ETH[0]

07942437                              DOGE[1], ETH[.00233621], ETHW[.00230885], USD[0.00]                                                                                                                                  Yes

07942452                              CUSDT[1], SOL[.22941528], USD[0.01]                                                                                                                                                  Yes

07942454                              BCH[.00365952], BTC[.0000166], DOGE[4.17198659], ETH[.00022417], ETHW[.00022417], USD[6.47]                                                                                          Yes

07942455                              BTC[.01017189], CUSDT[8], DOGE[344.69939932], ETH[.03203987], ETHW[.03164315], SHIB[1], SOL[.20067714], USD[0.00]                                                                    Yes

07942456                              USD[0.00]

07942460                              CUSDT[1], TRX[1], USD[105.05]                                                                                                                                                        Yes

07942466                              AAVE[.159856], BAT[4.9955], BTC[.00353653], ETH[.0249775], ETHW[.0249775], LINK[1.59856], MATIC[29.973], SOL[.29973], USD[0.00]

07942468                              ETH[0], ETHW[0.07848964], USD[0.00]

07942470                              SOL[.53759534], USD[5.00]

07942480                              ETH[.00258924], ETHW[.00256188], USD[0.00]                                                                                                                                           Yes

07942482                              NFT (351841365591620934/Series 1: Wizards #21)[1]

07942489                              DOGE[1], SOL[1.54756914], USD[0.00]                                                                                                                                                  Yes

07942490                              USD[10.88]                                                                                                                                                                           Yes

07942506                              NFT (567723553379675712/Entrance Voucher #2127)[1], USD[0.00]

07942524                              AAVE[0], BAT[0], BTC[0], DOGE[0], GBP[0.00], GRT[0], KSHIB[0], LTC[0], MATIC[0], SHIB[0], SOL[0], TRX[0], USD[0.00], USDT[0]

07942539                              BTC[0.00003383], SOL[0], USD[0.00]

07942541       Contingent, Disputed   CUSDT[3], DOGE[2], TRX[2], USD[0.00]                                                                                                                                                 Yes

07942542                              BTC[0], SOL[0]

07942545                              USD[200.01]

07942549                              SHIB[51600], USD[0.01], USDT[0]

07942556                              LINK[3.19712], SHIB[999100], USD[1.14]

07942575                              BTC[.02785094], SOL[3.84257891], TRX[2], USD[7269.47]                                                                                                                                Yes

07942576                              BTC[.0082977], USD[3.78]

07942578                              BAT[4.1667226], BRZ[13.4885466], BTC[.11493619], CUSDT[59.19172436], DOGE[32.25853417], GRT[2], SHIB[18], SOL[52.55559524], TRX[20.12378127], USD[0.71], USDT[2.01880445]            Yes

07942584                              NFT (374115731534935696/Red Panda #366)[1], NFT (381750832614923923/Red Panda #4466)[1], NFT (382186610869093030/Red Panda #9920)[1], NFT (386827794289586871/Red Panda
                                      #6933)[1], NFT (387795155533764166/Map of Ailurus)[1], NFT (393391866344581999/Red Panda #4811)[1], NFT (402378108472186686/Red Panda #8134)[1], NFT (404123621923680169/Red Panda
                                      #1966)[1], NFT (413434031156102216/Map of Ailurus)[1], NFT (413729765545211365/Red Panda #3440)[1], NFT (448193955477594873/Red Panda #2402)[1], NFT (454689214264524115/Red Panda
                                      #8438)[1], SOL[4.685]
07942586                              BTC[.00007554], DOGE[20.96038889], ETH[.00103802], ETHW[.00102434], SOL[.00465393], USD[0.00], USDT[5.39779782]                                                                      Yes

07942587                              USD[55.15]                                                                                                                                                                           Yes

07942589                              BTC[.00110288], DOGE[42.09290563], TRX[1], USD[0.01]                                                                                                                                 Yes

07942597                              NFT (428254497804916868/Cal Bears Super Oski Scavenger Hunt #38)[1], USD[0.00]

07942598                              ETH[0], USD[0.02]                                                                                                                                                                    Yes

07942601                              BTC[0], CUSDT[11], DOGE[1], ETH[0], TRX[2], USD[0.00]                                                                                                                                Yes

07942603                              ETHW[.083], NFT (356001229926960969/The Hill by FTX #6784)[1], USD[0.81]

07942604                              AVAX[.11161331], BRZ[28.87049484], BTC[.00329162], CUSDT[2], DOGE[15.0031064], ETH[.00924525], ETHW[.00913581], SHIB[1], SOL[.18250871], TRX[15.83883123], USD[4.51]                 Yes

07942612                              BRZ[2], BTC[0], CUSDT[2], DOGE[1], TRX[2], USD[0.01]                                                                                                                                 Yes

07942616                              USD[0.00]

07942620                              CUSDT[1], SOL[1.43407191], USD[0.00]

07942622                              BTC[0], USD[102.84], USDT[0.00016768]

07942626                              SOL[.06993], USD[0.01]

07942634                              BRZ[1], MATIC[8.45289629], SOL[.35797662], USD[0.18]                                                                                                                                 Yes

07942636                              SOL[.02999498], USD[494.00]

07942645                              NFT (462077801243640656/Entrance Voucher #3584)[1], USD[0.39]
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07942655                              BTC[0.00109895], LTC[.00108567], SOL[1.987834], USD[0.42], USDT[.094802]

07942656                              BF_POINT[500]

07942657                              BTC[0], ETH[0], USD[0.00]

07942661                              SOL[.00000001]                                                                                                                                                                       Yes

07942662                              USD[150.00]

07942663                              BRZ[1], CUSDT[2], DOGE[6.67946817], ETH[0.00000109], ETHW[0.00000109], SOL[0], TRX[4], USD[0.08]                                                                                     Yes

07942669                              ETH[.033], ETHW[.033], USD[10.12]

07942672                              CUSDT[1], DOGE[.0003568], USD[0.00]                                                                                                                                                  Yes

07942680                              BF_POINT[200]                                                                                                                                                                        Yes

07942687                              ETH[-0.00000001], USD[0.00]

07942696                              BTC[.00032647], CUSDT[2], DOGE[97.50489756], ETH[.00600159], ETHW[.00600159], USD[0.01]

07942706                              AAVE[0], BTC[0], DOGE[0], ETH[0], KSHIB[0], MATIC[0], SHIB[0], SOL[0], TRX[0], USD[0.00], USDT[0.00000001]

07942708                              BTC[0], ETH[0], ETHW[0], LINK[0], MATIC[0], SOL[0], USD[0.00], USDT[0]

07942709                              SHIB[1], SOL[4.192649], USD[400.01]

07942716                              BTC[0], USD[0.00]

07942726                              BRZ[1], SOL[2.33146979], USD[0.00]

07942727                              TRX[18709.934032]

07942734                              BAT[301.899], BTC[.00327982], ETH[.24550303], ETHW[.24550303], KSHIB[1000], LINK[50.14891657], MATIC[300.63397737], SHIB[3696300], SOL[2.63735611], USD[323.10], USDT[0]

07942736                              SOL[4.33871458], USD[0.00]

07942739                              USD[0.02]                                                                                                                                                                            Yes

07942743                              BTC[.00000002], DOGE[1], LINK[.00590487], SOL[.00082293], UNI[.00058436], USD[0.01]                                                                                                  Yes

07942757                              BTC[.0053946], ETH[.198801], ETHW[.198801], SOL[4.23576], SUSHI[44.474], USD[11.45], USDT[0]

07942773                              USD[1.61]

07942777       Contingent, Disputed   ETH[0.00000001], ETHW[0], NFT (424951946007300874/Baby Eternal Beings #1074)[1], SOL[0]

07942781                              ETH[.0809271], ETHW[.0809271], USD[35.15]

07942790                              BTC[.00448199], DOGE[1], ETH[.06242754], ETHW[.06242754], TRX[1], USD[0.00]

07942792                              BTC[.00219863], DOGE[1], ETH[.08852357], ETHW[.08749013], SOL[.18562525], USD[0.00]                                                                                                  Yes

07942808                              BTC[1.08528219], USD[1.19]

07942812                              BTC[.0025], NFT (363791280941842506/Entrance Voucher #3373)[1]

07942814       Contingent, Disputed   USD[0.00]

07942816                              AAVE[1.49434509], USD[0.01], USDT[0.00000168]

07942818                              SOL[19.93005], USD[15.87]

07942828                              USD[0.00]

07942836                              BTC[0.00174371]

07942839                              BTC[.00737235], SHIB[2], USD[100.23]                                                                                                                                                 Yes

07942844                              USD[35.01]

07942845                              BTC[.00040984], CUSDT[1], USD[0.00]

07942849                              NFT (422073398793724560/Skyline FLP)[1], NFT (445684328310485460/Skyline FLP)[1]

07942854                              USD[2.17]

07942867                              ETHW[.1499775], MATIC[39.02413259], USD[0.00]

07942880                              NFT (398430344822018445/Deep #539)[1]

07942883                              ETH[.00120737], ETHW[.00120737]

07942892                              NFT (293303641571358678/Golden bone pass)[1], NFT (297009413025494142/MagicEden Vaults)[1], NFT (304356912032171384/MagicEden Vaults)[1], NFT (311830103564587637/MagicEden
                                      Vaults)[1], NFT (400807559499796539/MagicEden Vaults)[1], NFT (408533934591017139/Golden Woofer)[1], NFT (555022249995998417/Doge Capital #200)[1], NFT (570649101557743796/Solana
                                      Dog House #408)[1], NFT (572847600955534819/MagicEden Vaults)[1]
07942897                              USD[0.00]

07942898                              BTC[0], LTC[0.00531094], USD[0.00]

07942900                              BRZ[1], DOGE[4], SHIB[3], TRX[2], USD[0.00]                                                                                                                                          Yes

07942908                              CUSDT[1], KSHIB[2905.22136552], USD[0.00]

07942910                              USD[0.40]

07942915                              CUSDT[5], DOGE[1], SOL[.00001401], TRX[1], UNI[.00002888], USD[238.57], USDT[1]

07942932                              BTC[.01059712], DOGE[1], SOL[1.35882762], TRX[1], USD[0.00]                                                                                                                          Yes

07942939                              USD[10.00]

07942946                              ETHW[0], SHIB[.00000001], USD[0.00]

07942947                              BAT[617.5084], USD[100.43]

07942950                              BTC[.00001588]                                                                                                                                                                       Yes

07942958                              USD[0.00]

07942959                              SOL[.00693031], USD[2.08]

07942971                              AVAX[0], BTC[0], NEAR[.09163393], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07942981                              USD[11.54]

07942983                              USD[0.00], USDT[0]                                                                                                                                                                    Yes

07942985                              BRZ[1], BTC[.0153665], DOGE[3], ETHW[.12319942], SHIB[38], TRX[3], USD[0.01]                                                                                                          Yes

07942998                              BTC[0.00014208], DOGE[7], ETH[0.00024194], ETHW[0.00024194], MATIC[0], SOL[0], USD[0.00]

07943013                              GRT[2], SOL[10.87751075], USD[0.00]

07943014                              BTC[0], USD[1.22]

07943019                              BTC[.05217424], DOGE[1], ETH[.02680786], ETHW[.02647954], SHIB[1], USD[15.26]                                                                                                         Yes

07943020                              BCH[.00009774], NFT (500854388446094272/Bahrain Ticket Stub #193)[1]                                                                                                                  Yes

07943023                              ETH[0], LTC[0], SOL[0]

07943027                              AVAX[49.95], USD[0.01]

07943031                              ETH[.00000001], MKR[.0019715], USD[0.00], USDT[0]

07943032                              USD[0.24]

07943039                              USD[2.52]

07943040                              NFT (429556445022998803/Entrance Voucher #1950)[1], NFT (510079132694023827/FTX - Off The Grid Miami #1368)[1], USD[0.00]

07943041                              DOGE[1], USD[32.87]                                                                                                                                                                   Yes

07943043                              BF_POINT[200], ETH[.00000001], ETHW[0], USD[0.02]                                                                                                                                     Yes

07943047                              USD[0.00]

07943049                              BTC[0.00001025], USDT[.8543868]

07943054                              USD[0.01]

07943058                              ETH[.00000001], USD[0.00]

07943059                              BTC[0]

07943069                              CUSDT[3], ETH[.022969], ETHW[.022969], USD[0.00], USDT[49.74522485]

07943092                              CUSDT[5], DOGE[.00001024], TRX[2], USD[0.00]

07943093       Contingent, Disputed   BCH[0], BTC[0], ETH[0], ETHW[0], SOL[0.19998999], USD[0.00]

07943097                              USD[0.01], USDT[0]                                                                                                                                                                    Yes

07943116                              BTC[.001]

07943118                              USD[3.00]

07943145                              USD[0.00]                                                                                                                                                                             Yes

07943148                              USD[0.00]

07943155                              BTC[.01016872], CUSDT[1], DOGE[2], ETH[.33075778], ETHW[.1608562], SHIB[5], TRX[882.30708253], USD[0.00]

07943162                              CUSDT[1], LTC[.47806977], USD[0.00]

07943166                              BAT[.00000001], ETH[.00012024], ETHW[0.00012024], SOL[.0005652], USD[0.15], USDT[0]                                                                                                   Yes

07943200                              SOL[.41537]

07943215                              LTC[.00746], USD[1.86]

07943217                              ETH[0], TRX[53.946], USD[0.09]

07943218                              CUSDT[3], DOGE[.05531541], NFT (459492528462897149/3629)[1], SOL[.56636381], TRX[1], USD[0.02]                                                                                        Yes

07943221                              BTC[.00616838], CUSDT[19], DOGE[2], ETH[.0797289], ETHW[.07874287], SHIB[2], TRX[1], USD[2827.40]                                                                                     Yes

07943223                              BTC[.00396207], CUSDT[1], ETH[.07116416], ETHW[.05499756], SHIB[4], SOL[1.00857538], TRX[1], USD[169.54]                                                                              Yes

07943227       Contingent, Disputed   USD[0.00]                                                                                                                                                                             Yes

07943231                              NFT (317912694020625555/Baby Whales #1180)[1], NFT (377408703042258616/WYParkPics)[1], NFT (511311247128520428/Whales Nation #1093)[1], NFT (535903436248577403/Park Pics #13)[1],
                                      USD[0.00]
07943237                              ETHW[.029865], USD[378.81], USDT[0]

07943239                              USD[0.00], USDT[0]

07943254                              SOL[4.64328179], USD[0.00], USDT[.45067326]

07943257                              BF_POINT[200]                                                                                                                                                                         Yes

07943258                              DOGE[1], ETH[0], ETHW[0], TRX[1], USD[0.00], USDT[0.00000247]                                                                                                                         Yes

07943260                              BTC[.0015], USD[2.52]

07943261                              BTC[0.00003091], ETH[.00067785], ETHW[0.00067784], USD[1.83], USDT[1.8632104]

07943273                              USD[0.10]

07943279                              BF_POINT[300], CUSDT[1], DOGE[2], GRT[1.00155368], USD[0.01]

07943294                              ALGO[196.52626424], AVAX[6.18605303], DOGE[552.18076914], ETHW[5.30989428], LINK[28.1116583], NFT (429479500139949027/Saudi Arabia Ticket Stub #860)[1], USD[0.00], USDT[.00002338]   Yes

07943299                              NFT (428235838709146274/FTX - Off The Grid Miami #2649)[1]                                                                                                                            Yes

07943300                              CUSDT[1], DOGE[.00305019], SHIB[2], USD[20.73]                                                                                                                                        Yes

07943308                              USD[0.01]

07943309       Contingent, Disputed   BTC[0], ETH[0], SUSHI[.5], USD[0.01]

07943319                              ETH[.00028901], ETHW[0.00028900], USD[0.01]

07943327                              BTC[.00048068], USD[0.33]                                                                                                                                                             Yes

07943328                              DOGE[204], SOL[.42957], USD[2.87]

07943330                              BTC[.0005], SOL[2.489], USD[1.28], USDT[1.35232759]
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                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07943332                           BTC[.00170635], CUSDT[1], USD[0.01]                                                                                                                                                   Yes

07943333                           USD[0.01]                                                                                                                                                                             Yes

07943336                           BTC[.00036352], NFT (288391281207586040/FTX Test Pack 1 #569)[1], NFT (288488091293548514/FTX Test Pack 1 #228)[1], NFT (288553073848202596/FTX Test Pack 1 #207)[1], NFT
                                   (288658109491075023/FTX Test Pack 1 #1156)[1], NFT (288819822846881473/FTX Test Pack 1 #1422)[1], NFT (288841397509062967/FTX Test Pack 1 #1284)[1], NFT (288992288587744374/FTX
                                   Test Pack 1 #105)[1], NFT (288992322764754767/FTX Test Pack 1 #640)[1], NFT (289010583518506794/FTX Test Pack 1 #565)[1], NFT (289011379007879311/FTX Test Pack 1 #1714)[1], NFT
                                   (289237691437569135/FTX Test Pack 1 #384)[1], NFT (289245979355555806/FTX Test Pack 1 #1549)[1], NFT (289357864854357198/FTX Test Pack 1 #1760)[1], NFT (289430102615453050/FTX
                                   Test Pack 1 #382)[1], NFT (289446993058744349/FTX Test Pack 1 #432)[1], NFT (289518601939036076/FTX Test Pack 1 #1521)[1], NFT (289551996369932394/FTX Test Pack 1 #1246)[1], NFT
                                   (289691404727273215/FTX Test Pack 1 #55)[1], NFT (289756036603121498/FTX Test Pack 1 #1447)[1], NFT (289873172756455185/FTX Test Pack 1 #602)[1], NFT (290105251338902808/FTX Test
                                   Pack 1 #137)[1], NFT (290317596771513211/FTX Test Pack 1 #1793)[1], NFT (290885525134409404/FTX Test Pack 1 #535)[1], NFT (291084974225821325/FTX Test Pack 1 #122)[1], NFT
                                   (291180644224352391/FTX Test Pack 1 #124)[1], NFT (291197164096099150/FTX Test Pack 1 #1350)[1], NFT (291623853511215873/FTX Test Pack 1 #1840)[1], NFT (291728266411560694/FTX
                                   Test Pack 1 #1136)[1], NFT (291759447863530416/FTX Test Pack 1 #1508)[1], NFT (291924279879364647/FTX Test Pack 1 #1336)[1], NFT (292188779234902385/FTX Test Pack 1 #1705)[1], NFT
                                   (292346247576246728/FTX Test Pack 1 #248)[1], NFT (292524752170525128/FTX Test Pack 1 #1930)[1], NFT (292873629276605144/FTX Test Pack 1 #1701)[1], NFT (292989947371788396/FTX
                                   Test Pack 1 #1147)[1], NFT (293047497039470813/FTX Test Pack 1 #1257)[1], NFT (293205485461750938/FTX Test Pack 1 #182)[1], NFT (293309737966733218/FTX Test Pack 1 #1438)[1], NFT
                                   (293889257238488828/FTX Test Pack 1 #1741)[1], NFT (293956874832408673/FTX Test Pack 1 #1087)[1], NFT (293956891498726700/FTX Test Pack 1 #342)[1], NFT (294394424455094555/FTX
                                   Test Pack 1 #1785)[1], NFT (294595686553420590/FTX Test Pack 1 #1748)[1], NFT (294701559560296113/FTX Test Pack 1 #1599)[1], NFT (294769837025704963/FTX Test Pack 1 #1576)[1], NFT
                                   (295132727062911213/FTX Test Pack 1 #333)[1], NFT (295215347497830746/FTX Test Pack 1 #277)[1], NFT (295241627053968629/FTX Test Pack 1 #598)[1], NFT (295305684521387186/FTX Test
                                   Pack 1 #1804)[1], NFT (295441117005988473/FTX Test Pack 1 #1877)[1], NFT (295692999361120869/FTX Test Pack 1 #420)[1], NFT (295719897055197583/FTX Test Pack 1 #672)[1], NFT
                                   (295792889726458213/FTX Test Pack 1 #1411)[1], NFT (295835855832178154/FTX Test Pack 1 #526)[1], NFT (295913198751267267/FTX Test Pack 1 #978)[1], NFT (295937636831658490/FTX Test
                                   Pack 1 #1567)[1], NFT (295942812329614232/FTX Test Pack 1 #1871)[1], NFT (295996619924797138/FTX Test Pack 1 #1891)[1], NFT (296000641768415687/FTX Test Pack 1 #1332)[1], NFT
                                   (296129996085114127/FTX Test Pack 1 #188)[1], NFT (296195899377648934/FTX Test Pack 1 #755)[1], NFT (296224134244469118/FTX Test Pack 1 #61)[1], NFT (296756738269974618/FTX Test
                                   Pack 1 #1089)[1], NFT (296839188461143318/FTX Test Pack 1 #169)[1], NFT (296877817147715312/FTX Test Pack 1 #1259)[1], NFT (296908491259417116/FTX Test Pack 1 #1519)[1], NFT
                                   (297027681801009955/FTX Test Pack 1 #810)[1], NFT (297215645955647234/FTX Test Pack 1 #244)[1], NFT (297257945858947183/FTX Test Pack 1 #998)[1], NFT (297307570445925288/FTX Test
                                   Pack 1 #880)[1], NFT (297449110733829155/FTX Test Pack 1 #553)[1], NFT (297668288064445476/FTX Test Pack 1 #514)[1], NFT (297707836856396482/FTX Test Pack 1 #1145)[1], NFT
                                   (297770550513292790/FTX Test Pack 1 #2)[1], NFT (298022039661976158/FTX Test Pack 1 #1538)[1], NFT (298161333985076298/FTX Test Pack 1 #1428)[1], NFT (298822653542087157/FTX Test
                                   Pack 1 #1863)[1], NFT (298959116796661697/FTX Test Pack 1 #1387)[1], NFT (298972935255289473/FTX Test Pack 1 #1138)[1], NFT (299011405565477057/FTX Test Pack 1 #1348)[1], NFT
                                   (299014859794788958/FTX Test Pack 1 #701)[1], NFT (299072212482738652/FTX Test Pack 1 #1949)[1], NFT (299110774398513363/FTX Test Pack 1 #677)[1], NFT (299266262755215727/FTX Test
                                   Pack 1 #1848)[1], NFT (299331174245735241/FTX Test Pack 1 #930)[1], NFT (299415089579534673/FTX Test Pack 1 #1372)[1], NFT (299700219397778553/FTX Test Pack 1 #648)[1], NFT
                                   (299873200252919751/FTX Test Pack 1 #593)[1], NFT (300328499073188283/FTX Test Pack 1 #47)[1], NFT (300523379557417601/FTX Test Pack 1 #1524)[1], NFT (300551852749250264/FTX Test
                                   Pack 1 #1844)[1], NFT (300602461153084405/FTX Test Pack 1 #1044)[1], NFT (300771996802513694/FTX Test Pack 1 #1886)[1], NFT (300779999218644516/FTX Test Pack 1 #460)[1], NFT
                                   (301400910026099482/FTX Test Pack 1 #208)[1], NFT (301415817992612134/FTX Test Pack 1 #508)[1], NFT (301426628048043313/FTX Test Pack 1 #821)[1], NFT (301818070099883933/FTX Test
                                   Pack 1 #1179)[1], NFT (301970731841337770/FTX Test Pack 1 #1624)[1], NFT (302098896523488468/FTX Test Pack 1 #260)[1], NFT (302099540402102202/FTX Test Pack 1 #1730)[1], NFT
                                   (302267918014616195/FTX Test Pack 1 #1269)[1], NFT (302573295054418490/FTX Test Pack 1 #436)[1], NFT (302615731911953086/FTX Test Pack 1 #539)[1], NFT (302645586038138151/FTX Test
                                   Pack 1 #1217)[1], NFT (302664167355210610/FTX Test Pack 1 #152)[1], NFT (302683604997956911/FTX Test Pack 1 #154)[1], NFT (302811950762446543/FTX Test Pack 1 #1010)[1], NFT
                                   (302906131026804646/FTX Test Pack 1 #1174)[1], NFT (303162133908061510/FTX Test Pack 1 #809)[1], NFT (303188883211957402/FTX Test Pack 1 #1170)[1], NFT (303275307171666939/FTX
                                   Test Pack 1 #1831)[1], NFT (303307899581150395/FTX Test Pack 1 #406)[1], NFT (303490221567196873/FTX Test Pack 1 #702)[1], NFT (303533514624463994/FTX Test Pack 1 #486)[1], NFT
                                   (303603817044484872/FTX Test Pack 1 #1309)[1], NFT (303734029963345681/FTX Test Pack 1 #383)[1], NFT (303797359510303314/FTX Test Pack 1 #1744)[1], NFT (303801120021009335/FTX
                                   Test Pack 1 #867)[1], NFT (303881894350773504/FTX Test Pack 1 #819)[1], NFT (303978549138604840/FTX Test Pack 1 #824)[1], NFT (304198055678172269/FTX Test Pack 1 #828)[1], NFT
                                   (304600954340944952/FTX Test Pack 1 #1266)[1], NFT (304603332606465452/FTX Test Pack 1 #1314)[1], NFT (304620133259016936/FTX Test Pack 1 #699)[1], NFT (304876452312189059/FTX
                                   Test Pack 1 #312)[1], NFT (304930128391679402/FTX Test Pack 1 #118)[1], NFT (304983981791484865/FTX Test Pack 1 #347)[1], NFT (304994208937717961/FTX Test Pack 1 #452)[1], NFT
                                   (305093765501203841/FTX Test Pack 1 #1058)[1], NFT (305169670611115146/FTX Test Pack 1 #375)[1], NFT (305392283144396495/FTX Test Pack 1 #516)[1], NFT (305669651896824611/FTX Test
                                   Pack 1 #822)[1], NFT (306112582446629588/FTX Test Pack 1 #126)[1], NFT (306729102686937336/FTX Test Pack 1 #1770)[1], NFT (306760978109975604/FTX Test Pack 1 #77)[1], NFT
                                   (306842600480621193/FTX Test Pack 1 #898)[1], NFT (306935018303727290/FTX Test Pack 1 #1630)[1], NFT (307093507446870839/FTX Test Pack 1 #1766)[1], NFT (307171762467988792/FTX
                                   Test Pack 1 #761)[1], NFT (307173957948074763/FTX Test Pack 1 #1191)[1], NFT (307490023679549908/FTX Test Pack 1 #808)[1], NFT (307692505651543380/FTX Test Pack 1 #1684)[1], NFT
                                   (307707889412805937/FTX Test Pack 1 #1604)[1], NFT (307951339910937945/FTX Test Pack 1 #681)[1], NFT (308056232479618376/FTX Test Pack 1 #1958)[1], NFT (308527303405229622/FTX
                                   Test Pack 1 #87)[1], NFT (308536218881037836/FTX Test Pack 1 #1080)[1], NFT (308900292071957754/FTX Test Pack 1 #28)[1], NFT (309067821731515896/FTX Test Pack 1 #889)[1], NFT
                                   (309186685921284149/FTX Test Pack 1 #111)[1], NFT (309429559475976330/FTX Test Pack 1 #744)[1], NFT (309636559935289558/FTX Test Pack 1 #1002)[1], NFT (309910654625340628/FTX Test
                                   Pack 1 #1906)[1], NFT (309953681690492225/FTX Test Pack 1 #528)[1], NFT (309995220441651360/FTX Test Pack 1 #202)[1], NFT (310132686534955804/FTX Test Pack 1 #280)[1], NFT
                                   (310184513110778872/FTX Test Pack 1 #1718)[1], NFT (310314073529884665/FTX Test Pack 1 #404)[1], NFT (310675303741138241/FTX Test Pack 1 #1633)[1], NFT (310745106321604499/FTX
                                   Test Pack 1 #955)[1], NFT (310791481973013916/FTX Test Pack 1 #143)[1], NFT (310879184206260477/FTX Test Pack 1 #1403)[1], NFT (310902249678144024/FTX Test Pack 1 #1471)[1], NFT
                                   (310934218377777424/FTX Test Pack 1 #236)[1], NFT (311337694238772577/FTX Test Pack 1 #1555)[1], NFT (311537453013439907/FTX Test Pack 1 #748)[1], NFT (311577259403274942/FTX Test
                                   Pack 1 #718)[1], NFT (312106203650974200/FTX Test Pack 1 #1346)[1], NFT (312197639647240738/FTX Test Pack 1 #1478)[1], NFT (312329637117379574/FTX Test Pack 1 #875)[1], NFT
                                   (312719706113452271/FTX Test Pack 1 #1074)[1], NFT (312847915849051211/FTX Test Pack 1 #573)[1], NFT (312874124841586294/FTX Test Pack 1 #888)[1], NFT (313083773881338039/FTX Test
                                   Pack 1 #1270)[1], NFT (313105089589782034/FTX Test Pack 1 #877)[1], NFT (313186696801042983/FTX Test Pack 1 #670)[1], NFT (313389368570481732/FTX Test Pack 1 #758)[1], NFT
07943342                           SOL[0]

07943343                           BRZ[3], CUSDT[6], DOGE[2538.07937742], ETH[2.7457474], ETHW[2.74459418], GRT[.00004515], LINK[.00098655], SHIB[38565846.25468197], SOL[4.50401956], TRX[1], UNI[27.01155694],         Yes
                                   USD[0.00], USDT[0.00000904]
07943346                           USD[579.65]                                                                                                                                                                           Yes

07943347                           BTC[6.33451875]                                                                                                                                                                       Yes

07943353                           BRZ[1], BTC[.00366963], CUSDT[5], DOGE[1141.67433137], ETH[.17104155], ETHW[.17104155], LINK[11.89652999], SHIB[2892681.51576511], TRX[4], USD[0.00]

07943354                           USD[7.66]

07943355                           USD[700.00]

07943369                           DOGE[335.6408868], TRX[1], USD[0.01]

07943402                           BTC[.00039366], CUSDT[1], USD[0.00]                                                                                                                                                   Yes

07943409                           USD[20.00]

07943416                           BTC[0], ETH[0], ETHW[0], LINK[0], SHIB[1], USD[0.01], USDT[0.00000113]                                                                                                                Yes

07943420                           ETH[.001], ETHW[0.03500000], SOL[0], USD[0.58], USDT[2]

07943426                           TRX[98.06832851], USD[0.00]

07943435                           CUSDT[1], DOGE[419.97090354], SHIB[4933131.54704043], TRX[1], USD[0.00]                                                                                                               Yes

07943447                           CUSDT[1], SHIB[638569.60408684], USD[0.00]

07943455                           SOL[.58721192], TRX[1], USD[0.01]                                                                                                                                                     Yes

07943462                           BRZ[1], DOGE[2], ETH[1.53241496], ETHW[12.7043159], GRT[1237.90522418], LINK[14.75356184], MATIC[354.61042952], SHIB[88904.32213063], SUSHI[2.30768758], TRX[3], USD[0.00]            Yes

07943467                           BTC[.0125], ETH[.163], ETHW[.163], USD[4.26]

07943468                           BTC[0.00007887], LINK[4.1], SHIB[4300000], SOL[76.5199145], USD[0.20], USDT[1.11307327]

07943486                           BTC[.0019], ETH[.016984], ETHW[.016984], PAXG[.0015984], USD[0.23]

07943491                           BTC[0.01232471], EUR[0.00], NFT (388717602052414356/Entrance Voucher #29632)[1], USD[0.00]

07943501                           USD[50.00]

07943502                           USD[0.17]
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07943504                              USDT[0.16562844]

07943508                              BRZ[1], CUSDT[9], DOGE[1], TRX[2], USD[0.04]

07943510                              ETH[.00431048], ETHW[.00431048]

07943517                              CUSDT[1], USD[0.01]

07943525                              CUSDT[2], DOGE[1], ETH[.00574117], ETHW[.00567277], SOL[.01791608], USD[0.88]                                                                                                           Yes

07943528                              BTC[0.00017188], ETH[.001], ETHW[.001], SOL[.04995], SUSHI[2], USD[3.19]

07943545                              CUSDT[2], TRX[2], USD[0.00]                                                                                                                                                             Yes

07943562                              USD[0.00], USDT[0]

07943569                              BTC[0]

07943570                              AAVE[.0001182], CUSDT[1], KSHIB[18.25816682], SOL[.00002701], TRX[1], USD[0.00], USDT[1.07856814]                                                                                       Yes

07943571                              BAT[.00167042], BCH[.00026731], BRZ[1.03414963], BTC[.00000093], CUSDT[6.78171441], DOGE[1.0018332], ETH[.0001721], ETHW[.0001721], GRT[1.61250247], KSHIB[.00140017],                  Yes
                                      LINK[4.23425048], LTC[.27172343], MATIC[28.81382569], MKR[.00001383], SHIB[67.70701515], SOL[.00004041], SUSHI[.00823162], TRX[1.24034274], UNI[1.03786819], USD[0.01],
                                      USDT[3.13421939], YFI[.00000667]
07943589                              USD[14.94]

07943591                              ETH[.00119926], ETHW[.00119926], USD[0.00], USDT[0]

07943602                              SOL[.00501025], USD[638.37], USDT[0.00317163]

07943603                              CUSDT[7], DOGE[1057.61707896], SHIB[1], USD[0.00]                                                                                                                                       Yes

07943604                              USD[7.42]

07943605                              BTC[0], NFT (351277302322851922/MagicEden Vaults)[1], NFT (355941641296032571/MagicEden Vaults)[1], NFT (387819520116366805/Entrance Voucher #2456)[1], NFT
                                      (388920834356664630/MagicEden Vaults)[1], NFT (409203013081001918/MagicEden Vaults)[1], NFT (497248348945267802/MagicEden Vaults)[1], NFT (561407036136920282/Citizen Card #2261)[1],
                                      USD[1.37]
07943607                              SHIB[3], TRX[1], USD[0.01]

07943615                              USD[6.13]

07943634                              TRX[4980], USD[0.00]

07943638                              ETH[.00780401], ETHW[.00780401], USD[0.00]

07943639                              USD[1.50]

07943641                              ETH[.00239189], ETHW[.00236453], USD[0.00]                                                                                                                                              Yes

07943647                              BTC[0], ETH[0], LINK[0], MATIC[0], SOL[0], USD[0.00]

07943660                              BRZ[3], CUSDT[8], DOGE[5], SHIB[3], USD[0.47]                                                                                                                                           Yes

07943662                              CUSDT[2], ETH[.01282907], ETHW[.01266491], SOL[.28768124], USD[0.01]                                                                                                                    Yes

07943663                              DOGE[0], ETH[0], USD[0.01]                                                                                                                                                              Yes

07943675       Contingent, Disputed   BTC[0], USD[0.00]

07943679                              CUSDT[234.62683212], DOGE[1148.48862345], SHIB[50074617.36848475], SOL[3.86804086], TRX[1], USD[0.00]

07943682                              BTC[.00090043], UNI[1.444181], USD[10044.46]                                                                                                                                            Yes

07943683                              USD[0.00], USDT[0]

07943689                              BTC[.00000002], DOGE[1], LTC[.00000952], SHIB[6], TRX[1.00218225], UNI[.00001819], USD[75.35]                                                                                           Yes

07943697                              SOL[2.0880145], USD[2.08]

07943704                              AVAX[.00023744], USD[695.92]                                                                                                                                                            Yes

07943707                              USD[30.20]

07943711                              BRZ[1], SHIB[1280737.70491803], USD[0.00]

07943729                              BAT[1], BRZ[6.28836752], BTC[.03195429], CUSDT[14], DOGE[4], ETH[.51116472], ETHW[.5109499], LINK[17.25068224], SOL[63.98562767], TRX[6], USD[2.73], USDT[1.07963358]                   Yes

07943732                              BTC[.00046452], CUSDT[1], NFT (309775866353978649/Monaco Ticket Stub #136)[1], NFT (411669117882635635/Barcelona Ticket Stub #208)[1], NFT (449747994850317411/Imola Ticket Stub        Yes
                                      #2110)[1], NFT (487359822930814621/Baku Ticket Stub #62)[1], USD[0.00]
07943737                              BTC[0], USD[1.51]

07943744                              AVAX[0], BF_POINT[400], DOGE[0], ETH[0], ETHW[1.10604018], MATIC[0], NFT (291412703654059739/Entrance Voucher #1771)[1], NFT (297511009579503842/Miami Ticket Stub #932)[1], NFT        Yes
                                      (514343100105424524/Barcelona Ticket Stub #991)[1], SHIB[0], SOL[.00000001], USD[0.00]
07943751                              AAVE[0], AVAX[21.38858957], BRZ[9.54978178], BTC[.02223911], DOGE[2], ETH[0.30220237], ETHW[0.30201193], GRT[0], LINK[0], MATIC[0], SOL[46.40515185], USD[0.12], USDT[0.00000001]       Yes

07943752                              NFT (483552510439448046/FTX - Off The Grid Miami #2763)[1]

07943754                              BTC[.02010632], ETH[.37425349], ETHW[.37425349], LINK[16.24542203], MATIC[268.26429202], SHIB[0], USD[0.00]

07943775                              BTC[.0000882], USD[237.37]

07943777                              CUSDT[1], DOGE[427.92126785], SHIB[218007.58923442], USD[11.95]                                                                                                                         Yes

07943781                              NFT (334131393674566517/Sun Set #254 (Redeemed))[1], NFT (443094621132791112/Sun Set #402 (Redeemed))[1], USD[9.23]                                                                     Yes

07943785                              SOL[0.00264416], USD[42.00]                                                                                                                                                             Yes

07943794                              DOGE[99.10566207], TRX[241.62915476], USD[0.01]

07943796                              NFT (395027147137488793/Baddies #600)[1], SOL[.27855451], USD[0.00]

07943816                              SOL[34.19348548], USD[20.22]

07943821                              BRZ[4], CUSDT[1], DOGE[5.00703689], SHIB[736.28097762], USD[1130.76]                                                                                                                    Yes

07943825                              NFT (320199576548429686/88rising Sky Challenge - Coin #593)[1]

07943828                              NFT (419494628087787369/You in, Miami? #59)[1]

07943829                              ALGO[0], BTC[0.00244874], ETH[0], LINK[0], MATIC[-0.00000001], PAXG[0], SOL[0], USD[0.00], USDT[0]                                                                                      Yes

07943830                              NEAR[25.7], USD[0.39], USDT[.0078344]

07943841                              USD[2000.01]
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                                                                                                                                         Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07943850                           CUSDT[1], SHIB[6.95872974], USD[0.00]                                                                                                                                                    Yes

07943866                           BTC[0.00004651], ETH[.00036984], ETHW[0.00059484], MATIC[7.444], SOL[0.00507906], TRX[.000249], USD[0.95], USDT[0]

07943870                           DOGE[.669], USD[102.97]

07943885                           BRZ[1], BTC[.00000011], CUSDT[2], DOGE[1], USD[0.01]                                                                                                                                     Yes

07943887                           ETH[0], SHIB[6], SOL[0.00000977], TRX[2], USD[0.01]                                                                                                                                      Yes

07943890                           BTC[.00082334], CUSDT[4], ETH[.00539749], ETHW[.00539749], LINK[1.02668351], SOL[1.00335814], USD[0.00]

07943891                           USD[397.00]

07943898                           AVAX[.00005364], SHIB[553.75110342], USD[0.00]                                                                                                                                           Yes

07943900                           ETH[0.00036046], ETHW[0.00036046], USD[3.93]

07943905                           USD[0.01]                                                                                                                                                                                Yes

07943908                           USD[16.25]

07943914                           BTC[.00000003], LINK[.00182782], SOL[0]                                                                                                                                                  Yes

07943916                           BTC[.00982432], CUSDT[13], DOGE[2], ETH[.08313395], ETHW[.08211463], MATIC[91.86061871], SHIB[8538234.16001621], SOL[.91955423], TRX[1], USD[34.14]                                      Yes

07943927                           CUSDT[13], LTC[.13073038], SHIB[2767565.76556954], SOL[.81778984], SUSHI[3.3192412], USD[0.02]                                                                                           Yes

07943951                           BTC[0], USD[0.00]

07943961                           SHIB[7627.29449248], USD[0.00]                                                                                                                                                           Yes

07943963                           DOGE[.00000001]

07943980                           USD[1.51]

07943982                           CUSDT[2], LINK[1.03893992], SOL[.91846449], SUSHI[.99728609], USD[230.66]                                                                                                                Yes

07943989                           CUSDT[1], MATIC[0], SHIB[1], USD[0.01]                                                                                                                                                   Yes

07943997                           DOGE[1], USD[0.01], USDT[0]

07944023                           BTC[0], ETH[-0.00251241], ETHW[0], SOL[.00092832], USD[25024.09]

07944026                           ETH[0], ETHW[0], SOL[.076], USD[0.00]

07944028                           CUSDT[1], ETH[.01088177], ETHW[.01074497], GRT[31.10524057], USD[30.49]                                                                                                                  Yes

07944035                           ALGO[239.40840519], CUSDT[3], DOGE[1], GRT[729.96380421], KSHIB[126.58516269], SHIB[3], TRX[943.60710579], USD[1019.28]                                                                  Yes

07944037                           BTC[0], ETH[0], GRT[27.85311054], SOL[0]                                                                                                                                                 Yes

07944039                           ETH[0], ETHW[0]

07944046                           BRZ[1], BTC[0.00000001], DOGE[0], ETH[0], ETHW[0], NEAR[0], NFT (385315581070857967/Australia Ticket Stub #2085)[1], NFT (424774920098217993/Barcelona Ticket Stub #1725)[1], SHIB[4],   Yes
                                   SOL[0], USD[0.00], USDT[0]
07944052                           USD[0.01]

07944070                           AAVE[0.09811358], BRZ[1], BTC[0.00024678], CUSDT[12], DOGE[0], ETH[0.00393079], ETHW[0.00387607], LINK[0.64607869], SOL[0], TRX[157.16358001], USD[0.00]                                 Yes

07944083                           BTC[0.04599895], ETHW[.0639424], USD[0.00], USDT[0]

07944084                           BRZ[2], CUSDT[4], USD[0.01]

07944095                           BTC[.00000568], USD[4.00]

07944100                           USD[5000.33]

07944109                           BRZ[1], CUSDT[1], SOL[.68154776], USD[0.00]

07944112                           SOL[.00000001]

07944128                           BTC[0.00241588], DOGE[20], ETH[.031], ETHW[.031], SHIB[417773.73342069], SUSHI[5], USD[0.04]

07944133                           USD[0.02]

07944140                           BRZ[1], BTC[.00169653], DOGE[1], SOL[.57226412], USD[0.00]                                                                                                                               Yes

07944148                           BTC[0.14193402], SHIB[10000000], USD[21.55], USDT[35.92686425]

07944150                           USD[0.00]

07944153                           BRZ[1], CUSDT[1], DOGE[1], USD[0.00]

07944163                           BTC[0.00006166], ETH[.0008784], ETHW[.0008784], NFT (396649227428450833/898)[1], USD[0.00]

07944171                           ETH[0], ETHW[.004]                                                                                                                                                                       Yes

07944186                           USD[0.81]

07944188                           ETHW[0], USD[248.00]

07944190                           USD[0.00]

07944196                           USD[0.00]                                                                                                                                                                                Yes

07944202                           BTC[.00003027], ETH[.00000653], ETHW[.82700653]

07944203                           BRZ[2], BTC[.03615734], CUSDT[26], DOGE[7.0158901], ETH[.50408551], ETHW[.50387391], SHIB[2], SOL[11.51063243], TRX[9], USD[5.42]                                                        Yes

07944214                           USD[1.28]                                                                                                                                                                                Yes

07944223                           ETH[0.00004833], KSHIB[1350], USD[210.93], USDT[0.00000173]

07944233                           TRX[.000001], USDT[0]

07944236                           SOL[5.25]

07944242                           CUSDT[3], DOGE[2697.60248034], MATIC[30.56272294], SHIB[30213148.81373799], USD[0.00]                                                                                                    Yes

07944244                           DOGE[62.66695195], SHIB[3098552.88342272], SOL[.05454078], USD[0.00]                                                                                                                     Yes

07944258                           ETH[.384231], MATIC[2202.78556759], SOL[.08], USD[18675.29]

07944265                           SOL[.14085]
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                                                                                                                                         Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07944269                           NFT (391326734901524239/Entrance Voucher #3596)[1]

07944273                           BRZ[1], ETH[.00000115], ETHW[.12651722], NFT (302305068188296486/You in, Miami? #211)[1], SHIB[1], USD[0.01]                                                                           Yes

07944288                           DOGE[1], USD[0.00]                                                                                                                                                                     Yes

07944291                           BTC[.00261506], DOGE[110.95290786], SHIB[2], SUSHI[2.39295588], USD[1.60]                                                                                                              Yes

07944294                           BTC[.00024485], CUSDT[1], ETH[.00232157], ETHW[.00232157], USD[0.00]

07944308                           BCH[.05038517], CUSDT[2], USD[0.00]                                                                                                                                                    Yes

07944310                           BTC[.00000813], CUSDT[3], DOGE[3], ETH[.18498417], ETHW[.18498417], SHIB[2], USD[0.00], USDT[.79951592]

07944313                           BF_POINT[100], CUSDT[32], DOGE[7], ETHW[.60020481], SHIB[20], TRX[8], USD[0.00], USDT[0]                                                                                               Yes

07944314                           USD[4.60], USDT[0.00000001]

07944320                           NFT (451257754513701518/Microphone #4946)[1]

07944325                           BTC[.00099285], CUSDT[3], DOGE[1], ETH[.02809975], ETHW[.02775094], KSHIB[676.24603859], SOL[.05993254], TRX[1], USD[49.95]                                                            Yes

07944327                           NFT (290815627076995476/SBF Hair & Signature #2 #123)[1], NFT (350439120896585722/SBF Hair & Signature #3 #95)[1], NFT (356782776680063230/SBF Hair & Signature #1 #106)[1], SOL[0]    Yes

07944347                           BRZ[1], BTC[.00000025], CUSDT[2], ETHW[.18117663], GRT[1], LINK[.00032691], TRX[5], USD[0.00]                                                                                          Yes

07944364                           USD[1.49]

07944387                           BTC[.00496378], SHIB[1], USD[0.00]                                                                                                                                                     Yes

07944390                           USD[0.00], USDT[9.95800629]

07944395                           NFT (345547041436677570/Cadet 1171)[1]

07944404                           BRZ[2], CUSDT[2], DOGE[5], LINK[165.95428568], MATIC[4996.54903192], SHIB[1], SOL[41.88115341], TRX[3], USD[1.61]                                                                      Yes

07944412                           BTC[0], USD[0.00], USDT[0.00000198]

07944415                           SOL[0]

07944424                           USD[100.00]

07944427                           ETH[0], LINK[0], SHIB[1], SOL[.00000001], USD[0.00]                                                                                                                                    Yes

07944429                           USDT[0]

07944450                           USD[1.57]                                                                                                                                                                              Yes

07944452                           BTC[.00000001], USD[0.00], USDT[0]

07944456                           BRZ[1], CUSDT[0], DOGE[0], SHIB[2866298.25484569], TRX[4], USD[0.00]                                                                                                                   Yes

07944458                           CUSDT[256.60304901], DOGE[1.00001911], KSHIB[269.07411143], SHIB[1], TRX[57.3772754], USD[0.01]                                                                                        Yes

07944464                           USD[0.85]

07944469                           ETH[0.00089421], ETHW[0.00089421], USDT[0.00001439]

07944477                           NFT (295486151636810306/cmh3studio - ftx logo)[1], NFT (423655474260561324/Faint Iron Bull)[1], NFT (428040562646353901/sour-walnut-goat)[1], NFT (459256958951816772/winning-brink-
                                   terrier)[1], NFT (520152286432860146/Faint Iron Bull)[1]
07944478                           USD[0.00]                                                                                                                                                                              Yes

07944483                           BTC[0], UNI[55.98329097], USD[0.00]

07944489                           DOGE[2], SHIB[1], TRX[1], USD[0.00]                                                                                                                                                    Yes

07944491                           CUSDT[1], DOGE[1], SHIB[54.4248144], SOL[2.38243590], USD[0.00]                                                                                                                        Yes

07944511                           BTC[.04667813], SOL[55.2619057]                                                                                                                                                        Yes

07944535                           BTC[.00047051], USD[0.00]

07944541                           LTC[.00429476], USD[1.60]

07944552                           USD[0.01]

07944565                           DOGE[.01737066], SOL[.03133705], TRX[3], USD[1.74]                                                                                                                                     Yes

07944571                           CUSDT[1], TRX[260.91742598], USD[0.00]                                                                                                                                                 Yes

07944584                           SHIB[1], TRX[2], USD[0.00]                                                                                                                                                             Yes

07944599                           USD[20.00]

07944601                           USD[0.40]

07944624                           BRZ[1], CUSDT[4], ETH[.22494291], ETHW[.22494291], SHIB[1374759.417102], TRX[1], USD[0.00]

07944625                           BTC[.00004321], USD[6.01]                                                                                                                                                              Yes

07944643                           BAT[2.06954772], BRZ[1], BTC[.00000002], CUSDT[7], GRT[2.02290701], SOL[0.00024151], TRX[9], USD[0.00], USDT[1.07271492]                                                               Yes

07944645                           USD[0.00]

07944646                           CUSDT[1], ETHW[6.44976274], TRX[1], USD[0.00]                                                                                                                                          Yes

07944662                           USD[500.01]

07944690                           USD[0.00], USDT[0]

07944703                           USD[0.00], USDT[0]

07944714                           ETH[0], ETHW[0], USD[0.00]

07944728                           NFT (312400897139403840/Broken Gas #2 of 3)[1], NFT (428843783607943821/Broken Gas #3 of 3)[1], NFT (538162359539421863/Broken Gas #1 of 3)[1], SOL[.03293554], USD[0.00]

07944731                           ETHW[.2058731], USD[82.42]

07944736                           USD[10.00]

07944740                           USD[0.53]                                                                                                                                                                              Yes

07944742                           CUSDT[5], TRX[1], USD[0.01]                                                                                                                                                            Yes

07944745                           USD[0.01], USDT[497.15398731]
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07944749                              BTC[.000001], NFT (533537077709790056/Coachella x FTX Weekend 1 #27465)[1]                                                                                                               Yes

07944757                              CUSDT[7], SHIB[3], TRX[2], USD[3.35]

07944773                              USD[20.00]

07944801                              CUSDT[1], DOGE[1], ETHW[8.66155001], GRT[1], SOL[.00000001], UNI[1.01241067], USD[0.00]                                                                                                  Yes

07944806                              BTC[.00002144], USD[0.01]

07944809                              SOL[6.46252464], USD[20.02]

07944828                              USD[0.00], USDT[.00129]

07944833                              USD[20.00]

07944861                              DOGE[54.23150093], SHIB[82630.35198098], USD[2.54]                                                                                                                                       Yes

07944896                              SHIB[17137091.45667809], USD[0.00]                                                                                                                                                       Yes

07944902                              NFT (504711748574765298/Solamander #324)[1]

07944914                              USD[108.83]                                                                                                                                                                              Yes

07944918                              USD[20.00]

07944927                              BAT[1], BRZ[5.05395496], BTC[.68191843], CUSDT[3], DOGE[2], ETH[1.00033503], GRT[5.02593009], LINK[1.05425415], SHIB[1], SOL[5.33620862], TRX[9], UNI[1.04976923], USD[-1055.67],        Yes
                                      USDT[3.14959963]
07944930                              SOL[.05328493], USD[25.00]

07944958                              TRX[.000007]

07944973                              ETH[.166771], ETHW[.166771]

07944979                              NFT (381677702389955850/Microphone #2219)[1]

07944983                              NFT (332476147196991047/DDD #41)[1], NFT (362197221122352864/DDD #16)[1], NFT (495087448418917731/CatFamilya #50)[1], NFT (524964919436168807/Crypto Avatar Art #9)[1], NFT
                                      (538830104652634374/SKULL ART #5)[1], USD[2.83]
07944988                              ETH[0.00413016], ETHW[0.00413016], USD[0.00]

07945002                              AVAX[.067], DOGE[7991.001], MATIC[6.04], NFT (506712651531559162/Progressive Bella)[1], SUSHI[931.068], USD[5.60]

07945011                              KSHIB[0], SHIB[60438.61390531], USD[0.00], USDT[0]                                                                                                                                       Yes

07945013                              CUSDT[1], DOGE[1], TRX[1], USD[0.00]                                                                                                                                                     Yes

07945034                              BTC[.00722347], TRX[2], USD[0.00], USDT[1.08110249]                                                                                                                                      Yes

07945038       Contingent, Disputed   BTC[.00368511], CUSDT[121.61848098], DAI[.0001], ETH[.05074934], ETHW[.0501196], GBP[0.00], MKR[.00100132], SHIB[101459.02306413], SOL[.01528121], USD[28.41], USDT[35.42737958]         Yes

07945054                              NFT (295368432662802567/GSW Western Conference Finals Commemorative Banner #1732)[1], NFT (296030292785332549/GSW Championship Commemorative Ring)[1], NFT
                                      (333983481172481983/Warriors Hoop #527)[1], NFT (401914172496097585/GSW Western Conference Finals Commemorative Banner #1731)[1], NFT (554958305210182651/GSW Western
                                      Conference Semifinals Commemorative Ticket #878)[1], USD[346.07], USDT[0]
07945061                              CUSDT[1], GRT[1.00241211], SHIB[1], SUSHI[1.05475203], USD[0.00], USDT[1.06439942]                                                                                                       Yes

07945068                              USD[3.01], USDT[1.8]

07945071                              USD[20.97]

07945075                              BTC[0.00128563], DOGE[253.59976628], USD[0.01], USDT[0.00000001]

07945077                              NFT (551793506195619671/The Hill by FTX #8123)[1], USD[1912642.55]

07945078                              DOGE[1], USD[0.01]

07945080                              USD[20.00]

07945081                              SOL[0], USD[0.02]

07945086                              USD[10.00]

07945092                              USD[108.57]                                                                                                                                                                              Yes

07945098                              NFT (339220480686046979/SOLYETIS #5545)[1]

07945101                              SUSHI[.17390277], USD[5.74]

07945102                              SOL[0]

07945104                              USD[0.99]

07945118                              DOGE[363.50637375], MATIC[26.39457911], SOL[.99184831], SUSHI[68.05182723], USD[0.01]

07945129                              BTC[.00180633], CUSDT[2], DOGE[2], ETH[.02481743], ETHW[.02450843], LINK[3.79062858], SOL[.60031733], USD[0.00]                                                                          Yes

07945140                              SOL[.10131287], USD[0.00]

07945149                              ETH[.0000274], ETHW[0.00002739], SOL[5.704305]

07945173                              EUR[321.63], GBP[4.36]

07945181                              GBP[5.72], USD[26.71]

07945209                              SHIB[1], USD[148.31]

07945216                              ETHW[.189], USD[0.00]

07945227                              BTC[.00003288], USD[0.00]

07945238                              SHIB[70271.41550767], SUSHI[0], TRX[4.909059], USD[0.00], USDT[0]

07945264                              BTC[.00238572], CUSDT[6], DOGE[2], ETH[.06865339], ETHW[.06780181], MATIC[65.13544924], SHIB[2618.24216929], SOL[7.43671006], TRX[2], USD[0.00]                                          Yes

07945272                              CUSDT[1], DOGE[1], TRX[.0001708], USD[106.64]                                                                                                                                            Yes

07945275                              BAT[1], BRZ[1], CUSDT[6], DOGE[8], SHIB[4], TRX[1], USD[0.00]

07945285                              AAVE[0], ALGO[.00014131], AVAX[0], BCH[0], BF_POINT[200], BTC[0], CUSDT[0], DAI[0], DOGE[0], ETH[0], GRT[0], KSHIB[0], LTC[0], SHIB[56.41938178], SOL[0], SUSHI[0], TRX[0], USD[5.07],   Yes
                                      USDT[0.00000095], YFI[0]
07945297       Contingent, Disputed   USD[0.04]

07945301                              GRT[1], USD[0.00]

07945315                              USD[658.33]
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                                                                                                                                              Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07945325                              BTC[.00019725], SHIB[47812.4743346], USD[0.00]

07945333                              TRX[2], USD[0.00]

07945337                              NFT (458185350738406165/Microphone #10302)[1], NFT (509226651898874784/Entrance Voucher #5567)[1], NFT (514926571949608458/Romeo #3375)[1]

07945344                              BTC[0], ETH[.351648], ETHW[.351648], MATIC[140], MKR[.114105], PAXG[.0000888], SHIB[7253000], SOL[.42], TRX[4.807], USD[408.63]

07945366                              ETH[0.43281130], ETHW[0.43281130], GRT[1054.04454239], LINK[175.51937175], MATIC[1871.21926753], SOL[11.73825], SUSHI[79.30032655], UNI[25.0368948], USD[4.31]

07945368                              BTC[.00012504]                                                                                                                                                                       Yes

07945370                              ETH[0], MATIC[0], USD[0.00]

07945372                              CUSDT[1], SHIB[191375.3508548], USD[0.00]

07945378                              USD[1.68]

07945404                              USD[0.00], USDT[0.09231305]

07945409                              ETH[0], SOL[2.26500329], USD[0.02]

07945412                              BRZ[1], GRT[1], TRX[1], UNI[.00000922], USD[9.56], USDT[0]                                                                                                                           Yes

07945420                              CUSDT[2], KSHIB[6803.53563094], USD[0.00]

07945423                              DOGE[1], ETH[.13288737], ETHW[.13181761], USD[0.00]                                                                                                                                  Yes

07945434                              BTC[.00214886], CUSDT[1], USD[0.01]

07945438                              BTC[.00018931], CUSDT[7], ETH[.00269262], ETHW[.00266526], MATIC[6.78231414], SOL[.29040724], SUSHI[1.46196874], TRX[119.00832563], USD[0.00]                                        Yes

07945455                              BTC[0.00000363], ETH[0.00603057], ETHW[0.00021146], SOL[.0092682], USD[86.14], USDT[0.00019997]

07945471                              BAT[1.01585017], USD[0.00]                                                                                                                                                           Yes

07945480                              AVAX[6.44440565], BRZ[6.03247101], DOGE[8.0086256], GRT[.14789991], KSHIB[28.35321025], LINK[15.04650828], SHIB[2], TRX[6.01675049], USD[0.00], YFI[.01208892]                       Yes

07945499                              BTC[.00000352], SOL[147.1153], USD[0.17], USDT[0]

07945509                              DOGE[3], SHIB[11016132.21314311], USD[0.00]                                                                                                                                          Yes

07945514                              BRZ[1], BTC[.00000006], CUSDT[4], DOGE[1], ETH[.02787387], ETHW[.02753187], SHIB[1516773.08551537], SOL[.92439773], TRX[2], USD[722.19]                                              Yes

07945525                              BAT[76.18211555], CUSDT[2479.62236645], NFT (371128618398421263/Dino 4)[1], NFT (412920251871647326/Dino 2)[1], NFT (437870012564425890/Dino 1)[1], NFT (499613980468587852/Dino     Yes
                                      3)[1], SOL[.15748141], TRX[1], USD[5.63]
07945526                              BTC[0], ETH[.000278], MATIC[20], SHIB[199900], SOL[.24005], USD[5.40]

07945536                              BTC[.00158969], CUSDT[10], DOGE[1.00043680], ETH[.01220745], ETHW[.01205697], MATIC[111.68192246], NFT (470890710529451886/Entrance Voucher #3877)[1], SHIB[911249.10577866],        Yes
                                      SOL[0], USD[139.40]
07945550                              ETHW[.82913992], SOL[.19190424], TRX[853.75889355]                                                                                                                                   Yes

07945560                              SOL[0]

07945586                              ETH[0], LINK[0], SOL[0], USD[10000.08], USDT[0]                                                                                                                                      Yes

07945592                              USD[4.43]

07945594                              BTC[.00016218], CUSDT[4], DOGE[1], ETH[.00000004], ETHW[.00000004], NFT (405427031164787024/Fancy Frenchies #4481)[1], SHIB[1790245.85791044], SOL[0], TRX[3], USD[0.61]             Yes

07945598                              BAT[2.0889911], BTC[.01763772], CUSDT[5], DOGE[1], ETH[.67940284], ETHW[.67911764], GRT[1.00330223], SHIB[2194778.47541988], SOL[5.3029763], TRX[1], USD[0.05]                       Yes

07945605                              BTC[.0000634], USD[0.00]

07945607                              NFT (378065813207776258/White.Homeless.Marble)[1], NFT (383323169016424255/Red.Bull.Marble)[1], NFT (396135564496772115/Red.Block.Marble)[1], NFT                                    Yes
                                      (403156660832049633/Grey.Troll.Marble)[1], NFT (449362492102477885/White.BEST.Marble)[1], NFT (463011111632231082/Red.Apple.Marble)[1], NFT
                                      (465053369421982353/White.Old.English.Marble)[1], NFT (491661282718246015/Blue.Christmas.Marble)[1], NFT (503902871955217779/Red.Inda.Marble)[1], NFT (555337288378059846/Cube Art
                                      #8)[1], NFT (561769714547855561/Red.Deer.Marble)[1], SHIB[0], USD[0.00]
07945612                              CUSDT[2], DOGE[3112.92643323], TRX[986.97169334], USD[50.00]

07945623                              DOGE[1], USD[0.00]                                                                                                                                                                   Yes

07945639                              NFT (483395621893364082/It’s all good)[1], NFT (569577761110321260/Good old fun )[1], USD[0.51]

07945641                              USD[7.96]

07945648                              NFT (388844816779805619/FTX - Off The Grid Miami #1058)[1], NFT (459862487548043163/Imola Ticket Stub #2363)[1], SHIB[2], USD[5995.85], USDT[0]                                      Yes

07945651                              BTC[0], ETH[0], ETHW[0], USD[1.21]

07945652       Contingent, Disputed   USD[50.00]

07945659                              BTC[.3425349], ETH[.35178538], MATIC[146.892], SOL[72.31373558], USD[-4460.99]

07945666                              BTC[.0015984], ETH[0.04214023], ETHW[0.04214023], USD[0.00], USDT[0]

07945669                              USD[0.00]                                                                                                                                                                            Yes

07945678                              SOL[0], TRX[1], USD[0.00]

07945684                              CUSDT[2], DOGE[82.4654642], GRT[25.78615938], TRX[267.04516312], USD[0.07]                                                                                                           Yes

07945693                              NFT (570240145439555495/You in, Miami? #7)[1]

07945705                              BTC[.04110758], ETH[.01099938], ETHW[0.01099938], SHIB[6885085.06691713], USD[1.60]

07945725                              NFT (366326357263788126/Sexy Doll NFT)[1], NFT (508191225379216699/One Time Artist NFT)[1], SOL[.02041639]

07945728                              ETH[.00000001], ETHW[2.62590108]                                                                                                                                                     Yes

07945741                              NFT (293777561634143404/Infinity #38)[1], NFT (335529895449441344/Shannon Sharpe's Playbook: Baltimore Ravens vs. Denver Broncos - December 31, 2000 #73)[1], NFT                    Yes
                                      (574037999100295588/Shannon Sharpe's Playbook: Baltimore Ravens vs. Oakland Raiders - January 14, 2001 #52)[1], USD[0.00]
07945744                              SOL[.04799259], USD[0.00]

07945752                              USD[0.00]                                                                                                                                                                            Yes

07945756                              NFT (304150197325836819/You in, Miami? #9)[1]

07945757                              ETHW[.29594308], SOL[0], USD[0.00], USDT[0.00001491]

07945764                              BRZ[2], BTC[.07537211], CUSDT[4], DOGE[2], ETH[1.09148963], ETHW[1.09103115], TRX[1], USD[0.00]                                                                                      Yes

07945768                              USDT[544.10234145]                                                                                                                                                                   Yes
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                                                                                                                                           Customer Claims                                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07945771                           BTC[.00001512], USD[0.00]                                                                                                                                                        Yes

07945773                           LINK[3.4], SOL[.55], USD[1.78]

07945789                           USD[100.00]

07945799                           ETHW[.01872151], USD[0.77]

07945815                           USD[0.00]

07945827                           AAVE[6.81687096], ETH[0.41364586], ETHW[0.41364586], GRT[2502.7455], LINK[97.32184866], MATIC[1000.45796619], USD[7.88], USDT[0]

07945829                           ETH[0], ETHW[0], USD[768.43]                                                                                                                                                     Yes

07945850       Contingent,         ETH[.00000001], ETHW[0], USD[0.06], USDT[0]
               Unliquidated
07945857                           BRZ[1], BTC[.00000006], CUSDT[2], DOGE[1.01523691], SOL[.00000889], TRX[1], USD[0.00]                                                                                            Yes

07945860                           BTC[.00855867], DOGE[1], USD[0.00]                                                                                                                                               Yes

07945863                           GRT[.194], USD[0.01]

07945876                           BTC[.00254683], CUSDT[1], DOGE[1], ETH[.02597531], ETHW[.02565056], USD[74.55]                                                                                                   Yes

07945883                           BRZ[1], BTC[.00879567], CUSDT[6], DOGE[3], GRT[1.00312819], LINK[11.96154948], LTC[.54642217], MATIC[64.80735713], SHIB[1782960.01270703], SOL[1.08108055], SUSHI[9.95290739],   Yes
                                   TRX[1067.97447806], USD[0.00]
07945886                           SHIB[1298830], USD[5.30]

07945891                           NFT (477862604113731978/You in, Miami? #10)[1]

07945898                           DOGE[1], USD[0.00]                                                                                                                                                               Yes

07945904                           ETH[.00000001], ETHW[0.00876894], NFT (475637853058274233/Imola Ticket Stub #1252)[1]

07945906                           BTC[.00001259], DOGE[1], ETH[0.00000757], ETHW[0.00000757], GRT[1], SHIB[3], SOL[0.00730453], UNI[1], USD[0.00], USDT[1]

07945915                           BAT[1], CUSDT[1], DOGE[3], GRT[1], SOL[97.30048934], USD[0.00], USDT[1]

07945924                           NFT (361170806559176980/You in, Miami? #11)[1]

07945951                           NFT (368270258120712987/Saudi Arabia Ticket Stub #1978)[1], NFT (428757598884891843/FTX - Off The Grid Miami #5660)[1], USD[0.23]

07945961                           CUSDT[2], SOL[1.1855804], TRX[2], USD[0.00]

07945968                           DOGE[0], SHIB[3], USD[0.00], USDT[0.00000001]                                                                                                                                    Yes

07945983                           USDT[0.00002877]

07945991                           BRZ[1], DOGE[3.47132878], GRT[1], SHIB[1], USD[0.00], USDT[0.00000060]                                                                                                           Yes

07945996                           BCH[0], CUSDT[1], DOGE[1], GRT[1.0001826], USD[0.00]                                                                                                                             Yes

07946003                           ETH[.00098306], ETHW[.00098306], USD[0.04]

07946008                           USD[1087.98]                                                                                                                                                                     Yes

07946028                           USD[176.07]

07946033                           BAT[2], CUSDT[2], DOGE[8.00127363], ETHW[1.84710487], SHIB[155193.19306181], TRX[3], USD[0.00]                                                                                   Yes

07946045                           CUSDT[3], KSHIB[365.94760889], SHIB[1], SOL[.19000153], TRX[.16597769], USD[0.01]                                                                                                Yes

07946056                           BRZ[1], CUSDT[2], DOGE[1], SHIB[1], SOL[86.05431436], TRX[6], USD[0.00]

07946060                           USD[0.00]

07946061                           USD[0.00], USDT[0]

07946063                           CUSDT[2], DOGE[2], ETHW[.01285121], SHIB[2], TRX[1], USD[0.00]                                                                                                                   Yes

07946068                           LINK[0], SOL[0], USD[0.00]

07946074                           CUSDT[4], SHIB[8767818.66929246], SUSHI[3.88463442], TRX[308.62057927], USD[0.00]                                                                                                Yes

07946078                           GRT[1], SOL[11.16552558], USD[0.00]                                                                                                                                              Yes

07946095                           USD[20.00]

07946102                           USD[0.28]

07946110                           SOL[.00000001]

07946116                           BRZ[1], BTC[.00242765], ETH[.12154418], ETHW[.01243783], SHIB[3], USD[0.00]                                                                                                      Yes

07946118                           ALGO[682.65555438], BTC[.01229152], DOGE[371.54119881], ETH[.55226189], MATIC[274.03841426], SHIB[1], SOL[7.94339747], USD[8792.52]                                              Yes

07946125                           SOL[.05647389], USD[0.00]                                                                                                                                                        Yes

07946132                           ETH[2.89649], NFT (295112728385425212/Entrance Voucher #29324)[1], USD[2302.16], USDT[0]

07946137                           CUSDT[1], DOGE[1], NFT (433376162100700668/Marcus Allen's Playbook: Kansas City Chiefs vs. Detriot Lions - November 29, 1996 #66)[1], SHIB[759762.95395836], TRX[1], USD[0.00]

07946142                           USD[0.01]                                                                                                                                                                        Yes

07946155                           USD[0.00], USDT[0]

07946157                           CUSDT[2], DOGE[1], TRX[2], USD[0.00]                                                                                                                                             Yes

07946159                           SOL[0], USD[0.88]

07946164                           NFT (373692519688798933/Oasis Ocotillo Ferris Wheel #571)[1], NFT (515312812199484830/Coachella x FTX Weekend 2 #19350)[1]

07946169                           SHIB[1], TRX[1], USD[0.58]                                                                                                                                                       Yes

07946183                           BTC[0.00006503], ETH[.00006724], ETHW[.01906724], USDT[0.00040760]

07946189                           BTC[.0012], SOL[0], SUSHI[0], TRX[0], USD[0.38]

07946192                           BAT[170.50879009], SOL[.00000001], USD[1.08], USDT[0.00000057]                                                                                                                   Yes

07946200                           TRX[1], USD[0.00]                                                                                                                                                                Yes

07946204                           BRZ[1], CUSDT[4], ETH[.00000041], ETHW[.00000041], SHIB[12.83969595], TRX[1], USD[0.00]                                                                                          Yes

07946209                           USD[0.01]                                                                                                                                                                        Yes
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07946221                              USD[0.30]

07946225                              BAT[1], CUSDT[58], DOGE[6], SHIB[.16371857], TRX[7], USDT[1]

07946247                              NFT (482114010730849808/Entrance Voucher #2710)[1]

07946269                              CUSDT[1], TRX[129.7309588], USD[0.00]                                                                                                                                                 Yes

07946274                              BRZ[1], BTC[.0157552], CUSDT[5], DOGE[1], ETH[.13546136], ETHW[.13439557], SHIB[4], SOL[1.90303361], USD[563.17]                                                                      Yes

07946276                              BTC[.0000993], ETH[.000991], ETHW[.000991], LINK[.0979], USD[4.41]

07946285                              BTC[.03946089], DOGE[11002.03368228], ETH[.23998664], ETHW[.23978735], SHIB[184872958.79819062], SOL[2.06474774], USD[0.00]                                                           Yes

07946292                              NFT (304061720829038974/Colossal Cacti #45)[1], NFT (350696149668432943/Colossal Cacti #249)[1], NFT (372895037033889419/Colossal Cacti #790)[1], NFT (396538058569292047/Romeo
                                      #1150)[1], NFT (420990434323595441/Beasts #55)[1], NFT (453086049706746221/Sun Set #785)[1], NFT (460248628870921841/Reflection '15 #97)[1], NFT (468612855759829776/Colossal Cacti
                                      #429)[1], NFT (476215552138507556/Cosmic Creations #175)[1], NFT (496447500367807185/Golden Hill #894)[1], NFT (519853015378356341/Ferris From Afar #524)[1], NFT
                                      (530185734350167041/Reflector #109)[1], NFT (531192854723228233/Reflection '07 #91)[1], NFT (540582782310359963/Vintage Sahara #231)[1], USD[0.67]
07946300                              NFT (293913658966184702/Vintage Sahara #633)[1], NFT (502449415157101514/Night Light #691)[1], NFT (505039377622786441/Vintage Sahara #975)[1], NFT (516977518791746501/Sun Set
                                      #862)[1], USD[0.00]
07946304                              USD[200.00]

07946319                              USD[20.00]

07946320                              SHIB[2], USDT[0]                                                                                                                                                                      Yes

07946340                              BRZ[1], CUSDT[8], ETH[.00893598], ETHW[.00882654], GRT[.31713931], KSHIB[2173.11779446], SHIB[725092.89666247], USD[0.00], USDT[.00005769]                                            Yes

07946341                              BTC[0.48481635], ETH[1.9991], ETHW[1.9991], LINK[75], MATIC[1010], SOL[25], USD[0.00]

07946343                              SOL[.00000629]                                                                                                                                                                        Yes

07946363                              NFT (372094935503329433/You in, Miami? #16)[1]

07946376                              BTC[.0025536], CUSDT[3], DOGE[1], ETHW[.1279756], SHIB[5641009.13252428], TRX[2], USD[0.00]                                                                                           Yes

07946377                              NFT (430575391926163545/You in, Miami? #18)[1]

07946379                              ETH[.36794883], ETHW[.36779427], TRX[2], USD[0.00]                                                                                                                                    Yes

07946390                              USD[2.91]

07946398                              ETH[.00000001], SOL[0]

07946404                              CUSDT[2], DOGE[266.74407872], ETH[.05126122], ETHW[.05062463], TRX[342.6963872], USD[0.05]                                                                                            Yes

07946405                              CUSDT[1476.00788751], DOGE[1176.62603503], ETH[.05641035], ETHW[.05571233], MATIC[25.99558209], SHIB[2], TRX[3], USD[0.29]                                                            Yes

07946408                              BAT[1.0165555], USDT[0]                                                                                                                                                               Yes

07946409                              BRZ[1], CUSDT[1], DOGE[1], GRT[2], SHIB[4], SOL[0.00105946], TRX[3], USD[0.04]                                                                                                        Yes

07946417                              SOL[.00021098], USD[1.28]

07946424                              USD[30.00]

07946435                              USD[0.92], USDT[0.00000005]

07946445                              NFT (307533611276345385/You in, Miami? #19)[1]

07946449                              CUSDT[2], USD[0.01], USDT[0.00038381]                                                                                                                                                 Yes

07946451                              CUSDT[.00262386], USD[11.01]                                                                                                                                                          Yes

07946487                              USD[0.01]

07946498                              SOL[0], USD[0.64]

07946520                              BRZ[1], USD[0.01]                                                                                                                                                                     Yes

07946531                              CUSDT[2], DOGE[132.1397944], GRT[5.63776315], SHIB[609292.97152115], SOL[.02898297], USD[0.00]                                                                                        Yes

07946538                              USD[1.97]

07946540                              BF_POINT[200]                                                                                                                                                                         Yes

07946544                              BTC[0.00005837], ETH[.00007429], ETHW[0.00007429], USD[275.48], USDT[0]

07946548                              BAT[1], CUSDT[1], TRX[1], USD[0.00]

07946550                              USD[23.03]

07946568                              SHIB[5994000], USD[53.06]

07946584                              BTC[.00563863], CUSDT[3], ETH[.04702637], ETHW[.04644045], MKR[.08438326], SOL[1.85788744], TRX[4], USD[0.00]                                                                         Yes

07946586                              USD[10.88]                                                                                                                                                                            Yes

07946587                              BTC[0], SOL[0], USD[0.38], USDT[0]

07946594                              BTC[.00149865], USD[0.00], USDT[1.48151159]

07946604                              BAT[1.0165555], ETHW[.51994955]                                                                                                                                                       Yes

07946605                              CUSDT[1], USD[0.00]                                                                                                                                                                   Yes

07946633                              NFT (476437025137727550/FTX - Off The Grid Miami #253)[1]

07946644                              NFT (431821190302338718/Miami HEAT: Classic Home - 10/50)[1], SOL[.73], USD[0.75]

07946648       Contingent, Disputed   NFT (355044005413026515/#17)[1], NFT (361775953832225928/#24)[1], NFT (415564147525386990/#25)[1], NFT (427214514555708494/#19)[1], NFT (470865007347853335/#85)[1], NFT
                                      (471745941092079011/#83)[1], NFT (476385263382940357/#117)[1], NFT (535049497620214738/#47)[1], NFT (565201142069642436/#12)[1], SOL[5.88]
07946656                              BTC[.01249671], DOGE[1], ETH[.15031308], ETHW[.1494993], SHIB[465917.36322399], SOL[.08152678], TRX[1], USD[0.02]                                                                     Yes

07946662                              CUSDT[4], ETH[.27005628], ETHW[.26986138], SHIB[935485.69780959], TRX[1], USD[0.01]                                                                                                   Yes

07946675                              BTC[.0016394], CUSDT[1], USD[0.00]

07946683                              CUSDT[1], SOL[.11848685], USD[0.00]                                                                                                                                                   Yes

07946691                              DOGE[384.65], ETHW[.186905]

07946700                              NFT (468714572222572262/FTX - Off The Grid Miami #87)[1], NFT (564498362409426727/Entrance Voucher #3098)[1], SHIB[1], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07946710                              BRZ[.00051594], CUSDT[7.01300726], DOGE[.00338273], ETH[.00121095], GRT[0], SHIB[195257.67705628], SOL[.00244146], TRX[83.36800137], USD[0.00], YFI[.00015049]                       Yes

07946711                              DOGE[.087], USD[1.00]

07946714                              BTC[0.00001850]

07946724                              SOL[.05], USD[0.01]

07946727                              NFT (303015161403345938/Map of Ailurus)[1], NFT (413746331481244499/Miami Grand Prix 2022 - ID: 7512C87B)[1]

07946730                              NFT (308208683342760024/Entrance Voucher #29733)[1], NFT (355759664283169200/Saudi Arabia Ticket Stub #136)[1]

07946731                              DOGE[.0252], USDT[0]

07946735                              CUSDT[4], DOGE[1], TRX[1], USD[0.00]

07946736                              USD[0.72]

07946737                              ETH[0.00048753], ETHW[0], NEAR[0], USD[1353.95], USDT[0]

07946742                              BTC[0], DOGE[0], ETH[-0.00000001], USDT[0.00000030]

07946749                              ETH[.00000169], ETHW[.00000169], NFT (412548721924208564/FTX Crypto Cup 2022 Key #2545)[1], SHIB[1], USD[0.00]                                                                       Yes

07946758                              ETH[.00094682], ETHW[0.00094682], USD[0.01], USDT[0]

07946769                              BTC[.00000001], ETH[0.00000014], ETHW[0.00000014], SHIB[1], TRX[1], USD[0.01]                                                                                                        Yes

07946772                              SHIB[514228.5051853], USD[0.00]                                                                                                                                                      Yes

07946773                              CUSDT[18], DOGE[2], SHIB[21], SOL[2.43362867], TRX[3], USD[0.00]                                                                                                                     Yes

07946776                              AAVE[.02665521], BAT[16.94774159], BCH[.01795274], BRZ[91.43676066], CUSDT[518.46098724], DAI[11.88492035], DOGE[66.64645162], GRT[12.92835461], LINK[1.08668372], LTC[.05673665],   Yes
                                      MATIC[7.85291343], NFT (328464792445336204/Shannon Sharpe's Playbook: Baltimore Ravens vs. Oakland Raiders - January 14, 2001 #98)[1], NFT (575559429254602362/Joe Theismann's
                                      Playbook: Notre Dame vs. USC - November 30, 1968 #63)[1], PAXG[.00599487], SHIB[235335.39852835], SOL[1.08170444], SUSHI[1.080071], TRX[119.6892807], UNI[1.22440772], USD[0.01],
                                      USDT[11.91251349]
07946779                              BTC[.00015786], USD[0.00]                                                                                                                                                            Yes

07946785                              USD[10.88]                                                                                                                                                                           Yes

07946787                              BTC[.00345645], CUSDT[2], TRX[1], USD[0.96]                                                                                                                                          Yes

07946788                              USD[0.01]                                                                                                                                                                            Yes

07946792                              USD[544.09]                                                                                                                                                                          Yes

07946793       Contingent, Disputed   ALGO[.445848], AVAX[.00000001], BTC[0.00003440], DAI[0], ETH[0], ETHW[0.00042100], USD[0.06], USDT[0]

07946798                              NFT (497115842064703868/Entrance Voucher #3203)[1]

07946805                              NFT (383887335304201165/Shaq's Fun House Commemorative Ticket #16)[1], NFT (394588215171921975/Entrance Voucher #1942)[1]

07946820                              NFT (446838571497129694/Synesthesia #1280)[1]

07946834                              CUSDT[10], DOGE[2], USD[0.00], USDT[0]                                                                                                                                               Yes

07946839                              USD[0.00], USDT[0]

07946848                              DOGE[1], ETH[.00034662], TRX[2.000009], USD[31.42], USDT[0]                                                                                                                          Yes

07946866                              ETHW[.28249323], USD[0.00]

07946871                              DOGE[.14960126], USD[0.00]                                                                                                                                                           Yes

07946889                              USD[0.00]                                                                                                                                                                            Yes

07946891                              DOGE[14.27363467], SHIB[3], USD[0.00]                                                                                                                                                Yes

07946904                              BTC[.137373], ETH[1.694804], ETHW[1.694804], USD[5.47]

07946942                              BTC[.00014514]                                                                                                                                                                       Yes

07946943                              LINK[.0392], USD[0.15]

07946952                              USD[5.62]

07946955                              AVAX[0], BAT[3.09024165], BRZ[1], DOGE[2], ETH[0], ETHW[3.87648658], GRT[2.02722789], SHIB[1], SOL[0], TRX[2], USD[0.00]                                                             Yes

07946958                              USD[0.00]                                                                                                                                                                            Yes

07946959                              DAI[0], SOL[0], TRX[0], USD[0.00], USDT[0]

07946966                              DOGE[1], SHIB[7383554.36332065], USD[0.00]                                                                                                                                           Yes

07946967                              BRZ[18.12137752], CUSDT[908.18915895], DOGE[.00979897], SHIB[480602.01166357], USD[0.27], USDT[10.63716403]                                                                          Yes

07946968                              NFT (289950813408837678/The 2974 Collection #0715)[1], NFT (475444693961800147/Birthday Cake #0715)[1], USD[177.29]

07946970                              BAT[.00002534], CUSDT[.00003014], DOGE[6284.84796296], ETH[.00005108], ETHW[0.00005107], SHIB[10587709.96234654], SOL[.00296833], TRX[2.45906062], USD[0.00], USDT[0.00452155]       Yes

07946974                              BTC[.30135364], SOL[89.54492998], USD[0.00], USDT[0]                                                                                                                                 Yes

07946981                              USD[20.00]

07946999                              TRX[0.00000028]

07947008                              NFT (445870650521397514/The Hill by FTX #5163)[1]

07947011                              CUSDT[1], SOL[.13630884], USD[0.00]                                                                                                                                                  Yes

07947020                              USD[150.20]                                                                                                                                                                          Yes

07947028                              CUSDT[1], USD[0.00]                                                                                                                                                                  Yes

07947029                              GRT[0], SUSHI[.04533491], TRX[.45], USD[41.00], USDT[0]

07947034                              DOGE[39.82308514], USD[0.00]

07947039                              BTC[.01231802], CUSDT[1], DOGE[1031.18903452], USD[0.00]

07947056                              BTC[.00198336], USD[0.57]

07947057                              USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07947058                              NFT (328968584995586411/Microphone #1129)[1]

07947064                              NFT (293682906476540480/artistic view #5)[1], NFT (305525959616635804/VoXel Animals '444)[1], NFT (315353685040409403/VoXel Animals '155)[1], NFT (317120879096530107/musical skull)[1],
                                      NFT (319373353413523481/artistic view #4)[1], NFT (320537624844738699/6^1^7)[1], NFT (328418405983532295/VoXel Animals '911)[1], NFT (331325839484151051/king skeleton)[1], NFT
                                      (339874346398186641/DEER)[1], NFT (341708334626324552/VoXel Animals '57 #2)[1], NFT (347313145239742378/artistic view)[1], NFT (352779882313157354/VoXel Animals '57)[1], NFT
                                      (362992929854032354/Voxel Avengers Hand)[1], NFT (393284480193393558/artistic view #6)[1], NFT (413086868894971895/crazy skull)[1], NFT (428008557841985197/VoXel Animals '385)[1], NFT
                                      (432284964963321932/artistic view #3)[1], NFT (449366502470487075/halloween )[1], NFT (456281987853617584/VoXel Animals '216)[1], NFT (479272993491283885/halloween fairy)[1], NFT
                                      (528650776963517134/angry wolf)[1], NFT (539968327698691758/VoXel Animals '690)[1], NFT (558483540537391056/VoXel Animals '777)[1], NFT (559900519466905649/artistic view #2)[1], NFT
                                      (570418471467428940/musical skull head)[1], NFT (575791755722784359/^2^1^6)[1], USD[0.00]
07947068                              BRZ[2], BTC[.00984431], CUSDT[2], DOGE[1], ETH[.18021929], ETHW[.17997438], GRT[106.26219976], LTC[7.22090293], SHIB[4274827.58640953], SOL[.9894115], TRX[6379.07711864],                 Yes
                                      UNI[5.3237368], USD[0.87]
07947070                              ETH[.00016124], ETHW[0.00016123], NFT (390030282173553637/#601)[1], NFT (502130712649681329/#89)[1], SOL[.00804652], TRX[.000001], USD[0.00]

07947072                              AVAX[.00543], BTC[.00005141], ETH[.0005115], ETHW[.0005115], MATIC[5.975], SOL[.00878157], USD[0.00]

07947092                              USD[0.01]                                                                                                                                                                                  Yes

07947093                              BTC[.00222152], ETH[.006994], ETHW[.006994], SOL[.16986], USD[0.00]

07947095                              BRZ[2], BTC[.00000079], DOGE[6], SOL[49.26188176], TRX[1], USD[0.38]                                                                                                                       Yes

07947104                              USD[0.00]

07947109                              BAT[46.85818513], CUSDT[1], USD[0.01]                                                                                                                                                      Yes

07947111                              AVAX[7.3], USD[6.94]

07947114                              BCH[.00000154], BTC[0], CUSDT[2], USD[0.00]                                                                                                                                                Yes

07947128                              ETH[.0002], ETHW[.0002], NFT (290246146151463240/C #10)[1], NFT (290698656594551909/Future Room #6)[1], NFT (298525935303999259/Hero #26)[1], NFT (302108249916391453/Hero #25)[1],
                                      NFT (302389265414427462/#022)[1], NFT (324601336665549561/Beauty #2)[1], NFT (330461216920335854/Future Room #2)[1], NFT (333641027628153834/Robo #1)[1], NFT
                                      (342988798985734660/GSW 75 Anniversary Diamond #237)[1], NFT (348964191079816694/Beauty #13)[1], NFT (353076733064211389/Hero #22)[1], NFT (357729542415850097/#019)[1], NFT
                                      (367335732688247485/Beauty #5)[1], NFT (374764944258591802/Beauty #7)[1], NFT (374976238264580257/Beauty #4)[1], NFT (375279490641331530/Moves #6)[1], NFT (382003654580388174/DDD
                                      #50 #2)[1], NFT (384854506341740998/Future Room #5)[1], NFT (393570466698159846/Future Room)[1], NFT (403419013878633648/Beauty #3)[1], NFT (404216210148402132/#021)[1], NFT
                                      (412199632420144295/#018)[1], NFT (413133175769471848/Moves #4)[1], NFT (438832213256645565/Future Room #4)[1], NFT (439987455736038720/Squit #1)[1], NFT (440173198643327362/DDD
                                      #3)[1], NFT (440748867202675234/Robo #2)[1], NFT (442752590635835008/Hero #30)[1], NFT (444777099665645666/Mailo)[1], NFT (448679888091484011/Hero #24)[1], NFT
                                      (449461211932961413/Hero #27)[1], NFT (449731037282319720/C #6)[1], NFT (450476841664869610/Beauty #6)[1], NFT (451724574678360565/Future Room #7)[1], NFT (455606422373659094/C
                                      #9)[1], NFT (463775016044784351/Hero #28)[1], NFT (464052064572255770/Moves #9)[1], NFT (467147821425937391/Crypto Dogz #3)[1], NFT (467250091751611250/GSW Western Conference
                                      Finals Commemorative Banner #1888)[1], NFT (469441939037554114/Beauty)[1], NFT (469640843661671779/Beauty #11)[1], NFT (472487128549857277/Art #3)[1], NFT (485423643243582658/Robo
                                      #3)[1], NFT (490671205986190413/#020)[1], NFT (494030513622631014/DDD #22)[1], NFT (498991896668932118/Moves #5)[1], NFT (501815898121882345/GSW Western Conference Semifinals
                                      Commemorative Ticket #1025)[1], NFT (505160656649519334/Beauty #12)[1], NFT (518391074892641170/Beauty #10)[1], NFT (524319919186165876/Hero #31)[1], NFT (528035849468315647/Robo
                                      #4)[1], NFT (531906550858977087/GSW Western Conference Finals Commemorative Banner #1887)[1], NFT (532169714977405733/DDD #42)[1], NFT (532397980321961594/C #5)[1], NFT
                                      (547944446117038658/DDD #14)[1], NFT (553878360345528393/GSW Championship Commemorative Ring)[1], NFT (557353046922579746/Hero #23)[1], NFT (558536575545412137/Golden Beuty
                                      #004 #2)[1], NFT (560790981906480590/Hero #29)[1], NFT (563181075402857005/Beauty #9)[1], NFT (564857799504215329/Future Room #3)[1], NFT (565546038438490415/Beauty #8)[1], NFT
                                      (569793239311089570/Future Room #8)[1], NFT (574876049169099706/Moves #3)[1], SOL[0], USD[0.48]

07947147                              NFT (314900563690296850/Kiddo #268)[1], NFT (561918979248113685/Kiddo #257)[1]

07947149                              NFT (311823793892333034/Solninjas #3988)[1], SOL[.00733], USD[0.48]

07947152                              NFT (359590466206403320/Coachella x FTX Weekend 1 #21713)[1]

07947159                              CUSDT[2], DOGE[3], USD[0.00]                                                                                                                                                               Yes

07947165       Contingent, Disputed   BTC[.00000219], USD[0.00], USDT[1.0879844]                                                                                                                                                 Yes

07947170                              DOGE[0], ETH[0.00437121], ETHW[0.00431649], MKR[.00000678], USD[0.00]                                                                                                                      Yes

07947175                              BRZ[5], DOGE[5], MATIC[42.79421218], NFT (343093451299962842/Entrance Voucher #29720)[1], SHIB[50], TRX[6], USD[0.00]                                                                      Yes

07947178                              SOL[1.6], USD[1.13]

07947183                              USD[0.00]

07947186                              USD[0.90]

07947200                              BF_POINT[300], BTC[.0000122], DOGE[1], ETHW[0.00081507], NFT (450961565972652054/Bahrain Ticket Stub #2426)[1]                                                                             Yes

07947208                              BTC[.16076621], DOGE[3396.55263927], ETH[1.67531302], ETHW[1.67531302], LTC[8.64233115], SOL[42.09832555], SUSHI[76.42901584], USD[0.01], USDT[0]

07947220                              USD[1.95]

07947228                              USD[0.00]

07947231                              ETHW[.864135], NFT (367562462961088273/Australia Ticket Stub #2419)[1], NFT (569167561116442868/Coachella x FTX Weekend 1 #14094)[1], SOL[.24000929], USD[569.30], USDT[0.00000016]

07947232                              SOL[0.17731529]
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                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07947236                           BRZ[2], DOGE[2338.89544367], ETH[.07491803], ETHW[.07398779], MKR[.00000676], NFT (292970065712973093/Divine Soldier #3555)[1], NFT (293765363379326455/Divine Soldier #3283)[1], NFT Yes
                                   (296135277604719004/Divine Soldier #5572)[1], NFT (296744482474669254/Divine Soldier #1849)[1], NFT (297159375717752345/Divine Soldier #5991)[1], NFT (298179241766546762/Divine Soldier
                                   #7040)[1], NFT (299037411983938091/Divine Soldier #5004)[1], NFT (300962993719135056/Divine Soldier #3008)[1], NFT (301744297465848472/Divine Soldier #6604)[1], NFT
                                   (302437256753250426/Divine Soldier #2669)[1], NFT (303827635775796829/Divine Soldier #2030)[1], NFT (308353056504427837/Divine Soldier #2369)[1], NFT (308523406334506117/Divine Soldier
                                   #1696)[1], NFT (308528162078534263/Divine Soldier #1692)[1], NFT (308902672042779695/Divine Soldier #6035)[1], NFT (310624637075149695/Divine Soldier #6020)[1], NFT
                                   (310666651601296588/Divine Soldier #95)[1], NFT (315258295322362534/Divine Soldier #5099)[1], NFT (317371560300704466/Divine Soldier #3213)[1], NFT (318171235084115585/Divine Soldier
                                   #6629)[1], NFT (321196317238021396/Divine Soldier #5806)[1], NFT (325463368191838190/Divine Soldier #1419)[1], NFT (327073728664738189/Divine Soldier #479)[1], NFT
                                   (327582499121367484/Divine Soldier #5833)[1], NFT (330839813643382124/Divine Soldier #7592)[1], NFT (331082380285906835/Divine Soldier #3293)[1], NFT (331180205831993604/Divine Soldier
                                   #5238)[1], NFT (331438340577165034/Divine Soldier #4203)[1], NFT (331653486568391838/Divine Soldier #284)[1], NFT (332195801525087709/Divine Soldier #1570)[1], NFT
                                   (334717884769406026/Divine Soldier #4931)[1], NFT (334779379902809452/Divine Soldier #1821)[1], NFT (336931594763749234/Divine Soldier #4470)[1], NFT (337146620150178418/Divine Soldier
                                   #2035)[1], NFT (337345141393254328/Divine Soldier #6241)[1], NFT (338287453159952154/Divine Soldier #3620)[1], NFT (341716466242156134/Divine Soldier #592)[1], NFT
                                   (345860379395034332/Divine Soldier #18)[1], NFT (347531158144029891/Divine Soldier #7041)[1], NFT (349041164739719482/Divine Soldier #1786)[1], NFT (349598785774497672/Divine Soldier
                                   #7185)[1], NFT (350486886206763000/Divine Soldier #7525)[1], NFT (351912752293002909/Divine Soldier #3753)[1], NFT (352677956280183476/Divine Soldier #3454)[1], NFT
                                   (353419607049202530/Divine Soldier #7237)[1], NFT (353458238823432252/Divine Soldier #2106)[1], NFT (353938789866157622/Divine Soldier #7557)[1], NFT (354110804764543556/Divine Soldier
                                   #2580)[1], NFT (355035360503637139/Divine Soldier #1337)[1], NFT (355438174785895044/Divine Soldier #2335)[1], NFT (357307076272483409/Divine Soldier #7100)[1], NFT
                                   (357662396151767947/Divine Soldier #3048)[1], NFT (358538749725207042/Divine Soldier #2326)[1], NFT (358580671691783427/Divine Soldier #6204)[1], NFT (358780164724804060/Divine Soldier
                                   #4070)[1], NFT (359345479221119250/Divine Soldier #3400)[1], NFT (359893413638896313/Divine Soldier #7183)[1], NFT (360268550937259663/Divine Soldier #6990)[1], NFT
                                   (363138502248068571/Divine Soldier #1030)[1], NFT (364051143894980809/Divine Soldier #1172)[1], NFT (364719171650244911/Divine Soldier #3439)[1], NFT (366545421213954654/Divine Soldier
                                   #775)[1], NFT (367025147371461553/Divine Soldier #3902)[1], NFT (367443877648426591/Divine Soldier #5011)[1], NFT (368425148728144276/Divine Soldier #5332)[1], NFT
                                   (368454450416920322/Divine Soldier #3007)[1], NFT (369101788613300220/Divine Soldier #1448)[1], NFT (371041140137464368/Divine Soldier #2829)[1], NFT (375583188450469812/Divine Soldier
                                   #1960)[1], NFT (375675124397051968/Divine Soldier #5905)[1], NFT (376177815142773624/Divine Soldier #2510)[1], NFT (378920158184900234/Divine Soldier #3410)[1], NFT
                                   (379785637633618348/DRIP NFT)[1], NFT (380662228935879069/Divine Soldier #6399)[1], NFT (382185341019338093/Divine Soldier #6801)[1], NFT (382853182635911942/Divine Soldier #1293)[1],
                                   NFT (384792719801617923/Divine Soldier #1643)[1], NFT (384865579145816519/Divine Soldier #436)[1], NFT (385343360037891344/Divine Soldier #556)[1], NFT (388489922552235929/Divine Soldier
                                   #6138)[1], NFT (389826734995859926/Divine Soldier #2973)[1], NFT (391455598017832377/Divine Soldier #3785)[1], NFT (392252363509443614/Gangster Gorillas #8453)[1], NFT
                                   (392888396364075045/Divine Soldier #780)[1], NFT (393107259917940917/Divine Soldier #1973)[1], NFT (393729143035957084/Divine Soldier #1715)[1], NFT (393999612006690329/Divine Soldier
                                   #7074)[1], NFT (394404996120796768/Divine Soldier #1627)[1], NFT (395705060381935261/Divine Soldier #6645)[1], NFT (396502605678829841/Divine Soldier #1683)[1], NFT
                                   (396519022973829746/Divine Soldier #1148)[1], NFT (397772916379960023/Divine Soldier #4003)[1], NFT (399312377752124804/Divine Soldier #6558)[1], NFT (404410821892788556/Divine Soldier
                                   #455)[1], NFT (407049401071449701/Divine Soldier #2018)[1], NFT (407347111215186804/Divine Soldier #2999)[1], NFT (407484163468127967/Divine Soldier #2964)[1], NFT
                                   (407868792035173593/Divine Soldier #2878)[1], NFT (408772197043508335/Divine Soldier #6641)[1], NFT (408789964027448081/Divine Soldier #175)[1], NFT (409411091809740977/Divine Soldier
                                   #1215)[1], NFT (410128107018437205/Divine Soldier #5478)[1], NFT (410638905441691443/Divine Soldier #3131)[1], NFT (411005454040282595/Divine Soldier #111)[1], NFT
                                   (411791334177960022/Divine Soldier #2214)[1], NFT (412125214148435096/Divine Soldier #2695)[1], NFT (413907365593850831/Divine Soldier #6135)[1], NFT (420278814519632421/Divine Soldier
                                   #1342)[1], NFT (422094548532071466/Divine Soldier #5745)[1], NFT (422161187339893695/Divine Soldier #6699)[1], NFT (422697379957870475/Divine Soldier #6388)[1], NFT
                                   (423154768778039019/Divine Soldier #4253)[1], NFT (423227569050189337/Divine Soldier #5636)[1], NFT (424801696730400158/Divine Soldier #7777)[1], NFT (425084871199641035/Divine Soldier
                                   #6853)[1], NFT (425142393258606958/Divine Soldier #1128)[1], NFT (425887773329142261/Divine Soldier #4299)[1], NFT (428279138835246532/Divine Soldier #73)[1], NFT
                                   (429274166570203595/#6041)[1], NFT (430301445901396697/Divine Soldier #1937)[1], NFT (430557196038384707/ALPHA:RONIN #421)[1], NFT (431226673321228493/Divine Soldier #6843)[1], NFT
                                   (431319556912361927/Divine Soldier #2516)[1], NFT (431354025116128601/Divine Soldier #1288)[1], NFT (432297851794817015/ApexDucks Halloween #795)[1], NFT (432432976404850080/Divine
                                   Soldier #1168)[1], NFT (432694912423902396/Divine Soldier #124)[1], NFT (432916090610848943/Divine Soldier #7588)[1], NFT (434207394770063269/Divine Soldier #2672)[1], NFT
                                   (434360692234668651/Divine Soldier #3586)[1], NFT (436959529597309499/Divine Soldier #914)[1], NFT (437321395384076626/Divine Soldier #3699)[1], NFT (438072119652981835/Divine Soldier
                                   #6631)[1], NFT (440870186313090087/Divine Soldier #4285)[1], NFT (440884329439545055/Divine Soldier #2093)[1], NFT (444112857849848736/Divine Soldier #4432)[1], NFT
                                   (444317847669550938/Divine Soldier #4964)[1], NFT (444434270523084516/Divine Soldier #1733)[1], NFT (447204867410531434/Divine Soldier #2371)[1], NFT (448118768182326074/Divine Soldier
                                   #2439)[1], NFT (449120055516940198/Divine Soldier #2769)[1], NFT (450361482250641562/Divine Soldier #7622)[1], NFT (451325918817148971/Divine Soldier #3502)[1], NFT
                                   (451335608252414783/Divine Soldier #271)[1], NFT (453543878510393107/Divine Soldier #7206)[1], NFT (453915166845595154/Divine Soldier #6354)[1], NFT (455690709202921397/Divine Soldier
                                   #4590)[1], NFT (455946465268522641/Divine Soldier #3306)[1], NFT (456408607594305162/Divine Soldier #5827)[1], NFT (458809129479566594/Divine Soldier #3471)[1], NFT
                                   (459910537415349184/Divine Soldier #4902)[1], NFT (461322004251755051/Divine Soldier #4328)[1], NFT (462404874161400369/3D CATPUNK #4385)[1], NFT (465814542153517480/Divine Soldier
                                   #5141)[1], NFT (466414876323895340/Divine Soldier #2650)[1], NFT (467702790001524683/Divine Soldier #5537)[1], NFT (468161574475439929/Divine Soldier #4177)[1], NFT
                                   (468243141377661787/Divine Soldier #5428)[1], NFT (468487136473620486/Divine Soldier #4586)[1], NFT (469310343049441513/ALPHA:RONIN #922)[1], NFT (469912468647740415/Divine Soldier
                                   #2818)[1], NFT (470064353474868069/Divine Soldier #3718)[1], NFT (473425213385477040/Divine Soldier #2827)[1], NFT (476461835308643794/Divine Soldier #6094)[1], NFT
                                   (479216556264235963/Divine Soldier #1993)[1], NFT (480039325357254822/Divine Soldier #1237)[1], NFT (481561517086116401/Divine Soldier #2849)[1], NFT (484432772371410033/ALPHA:RONIN
                                   #254)[1], NFT (488232424542195360/Divine Soldier #5725)[1], NFT (489868540397122702/Divine Soldier #3818)[1], NFT (490123371990766550/Divine Soldier #4826)[1], NFT
                                   (491265277074430441/Divine Soldier #5776)[1], NFT (491917276944496196/Divine Soldier #1860)[1], NFT (492803697887497588/Divine Soldier #1264)[1], NFT (494298052831307820/Divine Soldier
                                   #3572)[1], NFT (494460875134689373/Divine Soldier #6149)[1], NFT (495785800579300173/Divine Soldier #866)[1], NFT (496436710375900194/Divine Soldier #1754)[1], NFT
07947245                           USD[1.14]

07947246                           DOGE[1], SHIB[4], SUSHI[.00001539], TRX[1], USD[0.00]                                                                                                                                 Yes

07947263                           DOGE[0], SHIB[1], SOL[0], TRX[1293.96894699], USD[0.00]                                                                                                                               Yes

07947270                           BTC[.0953175], USD[450.01]

07947290                           BTC[.00662311], DAI[53.91981122], DOGE[1], SHIB[1], USD[1012.35]                                                                                                                      Yes

07947295                           NFT (307770194925934497/Red Panda #3003)[1], NFT (415740882975940659/Noot Nest #2112)[1]

07947300                           USD[0.06]                                                                                                                                                                             Yes

07947309                           DOGE[1], TRX[1], USD[61.70]                                                                                                                                                           Yes

07947316                           USD[30.00]

07947318                           USD[0.66]

07947337                           ETH[.00099532], ETHW[.00099532], USD[25.70]

07947350                           USD[0.00], USDT[0.00000003]

07947355                           DOGE[4], ETH[.23491904], ETHW[.23471341], LINK[5.63259639], LTC[1.08857402], TRX[2], USD[0.60]                                                                                        Yes

07947361                           ALGO[1128], USD[0.00]

07947375                           BF_POINT[100], BTC[.00048862], CUSDT[6], DOGE[125.02063254], ETH[.01631224], ETHW[.01610704], LINK[.37614378], SHIB[1725811.50389739], SOL[.29642239], TRX[1], USD[0.53],             Yes
                                   YFI[.00027838]
07947391                           AVAX[0], NFT (525506011289086997/All Blacks)[1], NFT (545513504978824777/CryptoDrippys)[1], SHIB[4488330.3411131], SOL[.00000001], USD[24.86]

07947403                           ETHW[1.09638045]                                                                                                                                                                      Yes

07947409                           BAT[14.96742444], BTC[.00095257], CUSDT[1], DOGE[5.05417052], ETH[.00729358], ETHW[.00729358], TRX[1], USD[69.01], USDT[9.94407343]

07947410                           BTC[.00041314], ETH[.01258663], ETHW[.01258663], USD[0.15], YFI[.001998]

07947413                           USD[21.51]                                                                                                                                                                            Yes

07947414                           BAT[1], DOGE[1], GRT[1], SUSHI[1], UNI[1], USD[0.01], USDT[1]

07947420                           AAVE[.00000062], CUSDT[16], MATIC[.00009908], SHIB[4.2688477], TRX[2], USD[0.00]                                                                                                      Yes

07947421                           SHIB[849800.6504374], USD[0.00]                                                                                                                                                       Yes

07947425                           NFT (558902024422997172/You in, Miami? #22)[1]

07947428                           NFT (448747585216499916/You in, Miami? #24)[1]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07947435                           NFT (561601404352931928/You in, Miami? #23)[1]

07947438                           SOL[0], USD[0.00], USDT[0]

07947445                           NFT (541021342168086716/You in, Miami? #25)[1]

07947447                           NFT (476020293563910435/Saudi Arabia Ticket Stub #2121)[1], USD[0.82], USDT[0]

07947451                           NFT (443352897177771987/You in, Miami? #26)[1]

07947452                           SOL[9.78641358], USD[0.00]

07947453                           BAT[242.39398111], BF_POINT[600], BTC[.00000056], DOGE[4.89809814], ETH[.00001149], ETHW[1.47348519], NFT (294544363778587362/Entrance Voucher #2391)[1], NFT      Yes
                                   (564670619041613817/Humpty Dumpty #449)[1], SHIB[2], SOL[6.02548215], TRX[1], USD[0.90]
07947454                           USD[0.00]

07947461                           ETH[0], ETHW[0], USD[1.63]

07947466                           USD[519.23]                                                                                                                                                        Yes

07947468                           USD[10.00]

07947470                           BRZ[2], DOGE[1], ETH[.00062676], ETHW[.32499657], NFT (429014613754414802/FTX - Off The Grid Miami #2598)[1], SHIB[18], TRX[3], USD[2.70]                          Yes

07947476                           BTC[.00040763], ETH[0.00006194], ETHW[0.00006194], GRT[0.18441899]

07947480                           MATIC[290], SOL[3.67], USD[1.36]

07947482                           USD[15.00]

07947483                           USD[0.00]

07947490                           USD[0.00]

07947493                           ETH[0]

07947499                           NFT (384944356447294311/You in, Miami? #27)[1]

07947503                           USD[54.41]                                                                                                                                                         Yes

07947504                           BTC[0.19189211], ETH[.357], ETHW[.357], LINK[37.5], SOL[7.47], USD[2.58]

07947518                           NFT (306911829771537922/2021 Sports Illustrated Awards #46)[1], NFT (506644884028501958/You in, Miami? #32)[1]

07947521                           USD[0.00]

07947523                           SOL[114.19120964]                                                                                                                                                  Yes

07947537                           USD[0.00]

07947549                           ETHW[.370629], USD[4.77]

07947560                           CUSDT[3], TRX[1], USD[0.10]                                                                                                                                        Yes

07947573                           BTC[.0031], DOGE[1829.019511], ETH[.06682813], ETHW[.06682813], SHIB[7192700], USD[0.00]

07947574                           CUSDT[1], MATIC[74.39482462], TRX[1], USD[0.00]                                                                                                                    Yes

07947578                           AVAX[.0981], ETH[.0006107], ETHW[0.00061069], SUSHI[.48005], USD[45.72], USDT[3.85748459]

07947586                           USD[21.51]                                                                                                                                                         Yes

07947587                           USD[2.18], USDT[0.08179085]

07947589                           USD[0.00]

07947595                           ETH[.05], ETHW[.05], SOL[.99]

07947596                           BRZ[1], CUSDT[2], USD[0.00]                                                                                                                                        Yes

07947599                           NFT (294827374962496572/You in, Miami? #29)[1]

07947606                           ETH[.00000001], USD[0.01]                                                                                                                                          Yes

07947616                           SOL[0], TRX[1], USD[0.01], USDT[1]

07947622                           USD[0.00]

07947625                           DOGE[818], USD[0.00], USDT[49.12]

07947626                           BAT[.59839529], BTC[.00014972], DAI[.03921099], MKR[.00001592], USD[0.00]

07947637                           ETH[.00388884], SHIB[1], USD[0.00]                                                                                                                                 Yes

07947645                           BTC[.06284339], USD[0.34]

07947646                           MATIC[325.73111906], TRX[1], USD[3.22]                                                                                                                             Yes

07947651                           NFT (371219422368856134/You in, Miami? #30)[1]

07947652                           BCH[.00037166], CUSDT[0], LTC[.00028662], MATIC[0], SHIB[0], SOL[0], SUSHI[0], UNI[0], USD[0.00]                                                                   Yes

07947654                           CUSDT[1230.40620724], NFT (438266057859881600/Oink 1946)[1], SOL[1.23524348], USD[0.00]                                                                            Yes

07947660                           NFT (372961401771312362/You in, Miami? #31)[1]

07947664                           BAT[2.01351502], BRZ[1], SOL[54.27874598], TRX[2], USD[542.87]                                                                                                     Yes

07947665                           NFT (566934370831107185/You in, Miami? #33)[1]

07947669                           NFT (342633317831672773/You in, Miami? #34)[1]

07947670                           SHIB[1], SOL[2.70834327], TRX[1], USD[4144.34]                                                                                                                     Yes

07947673                           ETH[.0135]

07947675                           USD[0.00]

07947687                           NFT (300125786285893317/You in, Miami? #35)[1]

07947698                           BF_POINT[100], NFT (525714903958025171/Entrance Voucher #3076)[1]

07947701                           CUSDT[1], NFT (422361576979478989/Crystal Face #18)[1], NFT (459887868496657381/World of Pixel #14)[1], NFT (553711238824735603/Thinking )[1], TRX[1], USD[0.00]

07947702                           NFT (469470720936551809/You in, Miami? #36)[1]
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                                                                                                                                            Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07947708                              BTC[.00001033], MATIC[0], USD[0.00]

07947710                              USD[0.00]

07947711                              CUSDT[4], DOGE[1], ETH[.00000001], ETHW[0], SHIB[14067725.73100842], TRX[2], USD[0.01]                                                                                             Yes

07947727                              BTC[.00200096], USD[0.00]

07947730                              SHIB[7038279.88151266], USD[1.57]

07947737                              BTC[.00259357], USD[0.00]

07947752                              BRZ[1], CUSDT[2], SHIB[2], TRX[1], USD[58.02], USDT[1.08590153]                                                                                                                    Yes

07947755                              CUSDT[2], ETH[.23596445], ETHW[.23576235], NFT (305088294747576724/Coachella x FTX Weekend 1 #11989)[1], SOL[1.33016187], USD[0.00]                                                Yes

07947759                              USD[0.00]

07947761                              BTC[0], USD[0.00]

07947762                              ETH[.00006352], ETHW[.00006352], NFT (296917113324598878/GSW Western Conference Finals Commemorative Banner #718)[1], NFT (299069257680951488/GSW Championship Commemorative
                                      Ring)[1], NFT (300461422706445669/GSW Round 1 Commemorative Ticket #218)[1], NFT (326035666430053559/GSW Championship Commemorative Ring)[1], NFT (333633946561176970/GSW
                                      Western Conference Finals Commemorative Banner #719)[1], NFT (334443633124500843/GSW Western Conference Finals Commemorative Banner #717)[1], NFT (398701428996743700/GSW
                                      Western Conference Finals Commemorative Banner #720)[1], NFT (414126727313400438/GSW Western Conference Semifinals Commemorative Ticket #421)[1], NFT (460736004962519139/GSW 75
                                      Anniversary Diamond #533 (Redeemed))[1], NFT (468708278594965953/Warriors Hoop #157 (Redeemed))[1], NFT (527367370056838717/GSW Western Conference Semifinals Commemorative
                                      Ticket #420)[1], USD[4.69]
07947775                              CUSDT[2], SHIB[1], USD[0.19]                                                                                                                                                       Yes

07947777                              BRZ[5460.65628721], DOGE[1], LTC[5.63253824], MATIC[691.0410628], PAXG[.53639471], TRX[3], USD[64.33]                                                                              Yes

07947783                              BAT[1.0165555], BRZ[1], DOGE[0.00322581], SOL[.00032056], TRX[1], USD[0.03]                                                                                                        Yes

07947787       Contingent, Disputed   SOL[0], USD[52.74], USDT[0]

07947790                              CUSDT[1], USD[0.00]

07947792                              DOGE[81.03747192], SHIB[8417376.480088], USD[0.00]

07947798                              ETH[.00288394], ETHW[.00284287], GRT[.06791422], MATIC[7.76417766], SOL[.00006024], USD[0.00]                                                                                      Yes

07947799                              NFT (429682853034627251/Warriors 75th Anniversary City Edition Diamond #43)[1], SOL[2.19], USD[498.73]

07947806                              BTC[0], ETH[.00060036]

07947810                              BTC[0]

07947813                              ETH[1.053879], ETHW[1.053879], SHIB[1400000], SOL[7.995], USD[0.66]

07947815                              TRX[2335.37062969]                                                                                                                                                                 Yes

07947836                              USD[20.00]

07947862                              AAVE[.00926], BTC[.0056681], DOGE[.571], ETH[.000913], ETHW[.000913], GRT[.526], LINK[.0847], SOL[.00824], USD[0.49]

07947869                              CUSDT[5], GRT[74.82013781], MATIC[34.93510700], SHIB[1387925.05204718], SOL[.56025782], SUSHI[6.07692839], TRX[1], USD[70.01]

07947883                              NFT (515255478716822630/You in, Miami? #95)[1]

07947890                              SHIB[266930.39944621], TRX[1], USD[0.00]                                                                                                                                           Yes

07947895                              USDT[28.70682458]

07947896                              NFT (327266556267229796/PixelTurtle#1)[1]

07947901                              ETH[.07976472], ETHW[6.07966116], LTC[15.37963894], USD[250.55]                                                                                                                    Yes

07947905                              ETHW[1], USD[5.34]

07947930                              CUSDT[2], ETH[.14963982], ETHW[.14880897], SHIB[1], TRX[1], USD[2.78]                                                                                                              Yes

07947947                              USD[543.78]                                                                                                                                                                        Yes

07947954                              BTC[.00107275]

07947957                              CUSDT[9], DOGE[2], SHIB[50.73977543], TRX[2], USD[0.00]                                                                                                                            Yes

07947968                              BF_POINT[300], USD[0.01]

07947971       Contingent, Disputed   USD[0.00]

07947982                              USD[5.00]

07947987                              DOGE[.01616891], USD[0.01], USDT[1.08392991]                                                                                                                                       Yes

07947993                              SOL[3.25433868], USD[0.00]

07948005                              NFT (507046971349176261/You in, Miami? #38)[1]

07948007                              USD[300.00]

07948017                              TRX[2], USD[494.64]

07948025                              BRZ[1], SOL[.01036126], TRX[1], USD[0.02]

07948032                              USD[10.88]                                                                                                                                                                         Yes

07948044                              ETHW[.008991], NEAR[1.0989], TRX[.011154], USD[9.85], USDT[.00562561]

07948056                              NFT (370736273268618449/You in, Miami? #40)[1], USD[203.65]                                                                                                                        Yes

07948062                              NFT (488125502135000793/You in, Miami? #39)[1]

07948066                              NFT (566159205440856638/You in, Miami? #61)[1]

07948078                              SHIB[0]                                                                                                                                                                            Yes

07948084                              BTC[.00008132], SOL[.01981907], USD[0.00]                                                                                                                                          Yes

07948090                              AVAX[0], BTC[.04011879]
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                                                                                                                                         Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07948104                           NFT (289379489537442002/CROCO DIARIES #14)[1], NFT (291974919300152841/CROCO DIARIES #9)[1], NFT (325474943005643510/Beyond The Object #002)[1], NFT (326808965481402022/#03
                                   Mr. X)[1], NFT (347959388305000972/CROCO DIARIES #11)[1], NFT (350785426305030002/CROCO DIARIES #25)[1], NFT (355926621442725996/Pretto #13)[1], NFT (365412991617347204/CROCO
                                   DIARIES #6)[1], NFT (377361370724875922/CROCO DIARIES #19)[1], NFT (382382424080240732/CROCO DIARIES #21)[1], NFT (384836494459732355/Beyond The Object #009)[1], NFT
                                   (400001638690573689/CROCO DIARIES #23)[1], NFT (434149403517560139/CROCO DIARIES #10)[1], NFT (468253663430198694/Beyond The Object #010)[1], NFT (477712657745580456/CROCO
                                   DIARIES #22)[1], NFT (503529280347601403/CROCO DIARIES #26)[1], NFT (506845287108964451/SOL CROCO)[1], NFT (510847984356100315/CROCO DIARIES #24)[1], NFT
                                   (527808231219496962/Moneyball Movie)[1], NFT (574000454883548813/CROCO DIARIES #20)[1], SOL[.00000001], USD[0.00]

07948110                           USD[0.00], USDT[0.00008209]                                                                                                                                                      Yes

07948114                           USD[20.00]

07948122                           TRX[.06657682], USD[0.00]                                                                                                                                                        Yes

07948125                           BTC[.0053], ETH[.067], ETHW[.067], LINK[5.2], MATIC[40], SOL[1.04], USD[6.63]

07948137                           ETH[.00058614], ETHW[0.00058614], SOL[0.00000001]

07948138                           BTC[.00038402], CUSDT[1], ETH[.00000021], ETHW[.00000021], USD[0.00]                                                                                                             Yes

07948143                           USD[0.00]

07948145                           NFT (494495189815667837/Coachella x FTX Weekend 1 #28215)[1]

07948152                           CUSDT[2], TRX[2146.1092033], USD[0.00]                                                                                                                                           Yes

07948163                           ETH[0], TRX[1], USD[0.29]

07948165                           ETH[.00000001], ETHW[0], NFT (303330127427355371/Entrance Voucher #3930)[1], USD[0.00]

07948169                           BTC[0], LINK[.03615912], PAXG[.00001144], USD[0.04]

07948175                           BRZ[1], NFT (342545136477069191/Scoop #691)[1], NFT (344282593078131236/Scoop #82)[1], NFT (367107171837170704/Scoop #705)[1], NFT (367446037044227774/Scoop #53)[1], NFT        Yes
                                   (415059682759692782/Scoop #172)[1], NFT (496405386514414866/Scoop #291)[1], NFT (507599735339465759/Scoop #379)[1], SOL[4.6966348], TRX[1], USD[0.00]
07948177                           AVAX[0], BTC[0.00342041], DOGE[0], ETH[0], PAXG[0], SOL[0], USD[55.36], USDT[0.00022929]                                                                                         Yes

07948178                           USD[1.39]

07948180                           CUSDT[2], DOGE[1], MATIC[.00000367], NFT (491676185620480794/FTX - Off The Grid Miami #2064)[1], SHIB[2], TRX[.00641456], USD[61.04]                                             Yes

07948186                           BTC[.10088943], DOGE[2], ETH[1.04114558], ETHW[1.04114558], GRT[1], SOL[2.9330369], USD[203.30]

07948190                           SHIB[1335014.05786614], USD[0.00]

07948195                           CUSDT[1], SOL[.85013437], USD[0.00]                                                                                                                                              Yes

07948200                           ETH[.02997], ETHW[.02997], USD[7.96]

07948206                           USD[0.00], USDT[0]                                                                                                                                                               Yes

07948207                           BTC[0], USD[37.17], USDT[0]

07948211                           SOL[0]

07948213                           SOL[.05]

07948214                           BAT[4.29838601], BRZ[5.02660006], CUSDT[24], DAI[10.64023688], DOGE[5], ETH[.22496412], ETHW[.00000802], GRT[4.09299847], NFT (304022759947895834/APEFUEL by Almond Breeze       Yes
                                   #596)[1], SHIB[10], SUSHI[1.07397742], TRX[9], USD[0.00]
07948218                           CUSDT[3], DOGE[1], USD[0.00]                                                                                                                                                     Yes

07948224                           USD[500.00]

07948225                           USD[1.55]

07948228                           ETH[0], SOL[0], USD[0.00], USDT[0.00001263]

07948233                           BTC[0.00006256], ETH[.05], ETHW[.131], SOL[2.24], USD[0.71], USDT[.52846406]

07948237                           BTC[.1586856], USD[3.31]

07948245                           SOL[.31127621], USD[0.00]

07948248                           NFT (335254733478066318/GSW Round 1 Commemorative Ticket #639)[1], NFT (363867997998854280/Reflection '13 #27)[1], NFT (375878840165147105/Spectra #203 (Redeemed))[1], NFT
                                   (382371528784219903/Warriors Hoop #599 (Redeemed))[1], NFT (406494311533675263/GSW Western Conference Finals Commemorative Banner #2066)[1], NFT (444640947374575651/Cosmic
                                   Creations #299 (Redeemed))[1], NFT (453506671081653239/Spectra #603)[1], NFT (455779043529671094/Spectra #319)[1], NFT (527227870919209269/Ferris From Afar #962)[1], NFT
                                   (555286544757604540/GSW Western Conference Semifinals Commemorative Ticket #1111)[1], NFT (563126674183912026/GSW Western Conference Finals Commemorative Banner #2065)[1],
                                   USD[0.00]
07948261                           NFT (432845853927890414/Coachella x FTX Weekend 1 #20758)[1]

07948262                           BRZ[1], BTC[.00000004], CUSDT[1], GRT[297.49495379], USD[0.00]                                                                                                                   Yes

07948267                           USD[0.00]                                                                                                                                                                        Yes

07948273                           USD[20.00]

07948287                           NFT (300311349140024240/You in, Miami? #41)[1]

07948288                           DOGE[369.63], ETH[.008154], ETHW[.008154], SHIB[1398600], USD[2.51]

07948289                           NFT (466182614239291190/Microphone #2280)[1]

07948295                           NFT (356660668740958873/FTX - Off The Grid Miami #2275)[1], USD[5.15]                                                                                                            Yes

07948302                           BRZ[1], CUSDT[1], SHIB[467632.26673204], USD[0.00], USDT[21.65198832]                                                                                                            Yes

07948311                           BTC[.0007675], MATIC[0], USD[0.00], USDT[0.00047942]

07948319                           BAT[0], BTC[0], DAI[.06836566], MATIC[0], SOL[0], USD[0.00], USDT[0]                                                                                                             Yes

07948323                           USD[20.00]

07948334                           NFT (462796790024011857/You in, Miami? #50)[1]

07948340                           BTC[.00724052], DOGE[149.56095161], ETH[.05380714], ETHW[.05313682], SHIB[3335726.63932602], SOL[.18561004], USD[102.51], USDT[0]                                                Yes

07948349                           USD[4.60]                                                                                                                                                                        Yes

07948350                           BF_POINT[300], BTC[.00459611], CUSDT[4], DOGE[1], ETH[.02110899], ETHW[.02084907], SHIB[5410663.474064], TRX[1], USD[0.47]                                                       Yes

07948352                           USD[2.03]
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                                                                                                                                         Customer Claims                                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07948353                           AAVE[0], BAT[0], BRZ[0], BTC[0], DAI[0], ETH[0], ETHW[0], LINK[0], MKR[0], NFT (292946842943170965/Fun girl)[1], NFT (364383638246096304/Codart #3)[1], NFT (379714518437474628/Mad Lions
                                   Series #40)[1], NFT (400546634943526888/Mad Lions Series #53)[1], NFT (439785864719838466/Codart #4)[1], NFT (446695290403586125/Mad Lions Series #46)[1], NFT (466873668605035158/Mad
                                   Lions Series #45)[1], NFT (481255471100590309/Cute Butterfly)[1], NFT (493443236246224210/Codart #5)[1], NFT (502452805394784432/Cute Lion)[1], NFT (529628421547561858/Mad Lions Series
                                   #6)[1], NFT (554670369504287439/Smoke girl)[1], NFT (565160355015953412/Dancing queen)[1], SOL[0], SUSHI[0], UNI[0.10088654], USD[0.10], USDT[0.00000902], YFI[0]

07948359                           NFT (414273888132955876/You in, Miami? #44)[1]

07948367                           NFT (473358039271678116/You in, Miami? #46)[1]

07948373                           CUSDT[1], SOL[2.52257444], USD[0.00]

07948375                           DOGE[.892], MATIC[9.98], USD[0.99]

07948376                           BTC[0], USD[0.46]

07948377                           DOGE[1], ETH[.05375386], NFT (552034763998812820/You in, Miami? #47)[1], NFT (556597393770818092/FTX - Off The Grid Miami #5967)[1], TRX[1], USD[0.00]

07948378                           USD[12.75]

07948382                           NFT (549525951994308392/You in, Miami? #49)[1]

07948390                           NFT (523434817657149050/You in, Miami? #51)[1]

07948393                           NFT (289386621823196339/You in, Miami? #55)[1]

07948395                           BTC[0], CUSDT[0], ETH[0], GRT[0], SHIB[1330.51638786], SOL[0], USD[0.00]                                                                                                                    Yes

07948396                           BCH[.10599206], BRZ[1], BTC[.00313424], CUSDT[61.14379833], DOGE[624.93356558], ETH[.04790779], ETHW[.04731287], LTC[.16911509], SHIB[11979133.65913234], TRX[3], USD[22.53]                Yes

07948400                           NFT (386794538118880293/You in, Miami? #52)[1]

07948405                           ETH[.12124222], ETHW[.12124222], USD[0.00]

07948407                           USD[0.69]

07948416                           NFT (331965395191959311/You in, Miami? #54)[1], NFT (518919964099471475/FTX - Off The Grid Miami #366)[1]

07948420                           DOGE[0], ETH[.00000452], ETHW[.00000452], NFT (524015599468220570/You in, Miami? #56)[1], SOL[0.09566194], USD[0.00]                                                                        Yes

07948429                           BTC[.00083856], SHIB[800000], USD[0.00]

07948434                           TRX[.00001348], USD[0.95], USDT[0]                                                                                                                                                          Yes

07948436                           CUSDT[11], DOGE[2], GRT[108.93297575], LINK[14.26158953], SHIB[4], SOL[.0000099], TRX[315.43145645], USD[139.96]                                                                            Yes

07948438                           NFT (498596519742868301/You in, Miami? #57)[1]

07948440                           NFT (420864867879635353/You in, Miami? #60)[1]

07948453                           BTC[0], DOGE[7.00057537], SHIB[14], TRX[5], USD[0.53], USDT[1.02543197]                                                                                                                     Yes

07948464                           BTC[.00364351], ETHW[.0420125], USD[0.00]

07948471                           BAT[14.9905], ETH[.04695535], ETHW[.04695535], USD[0.01]

07948479                           BTC[.08143241]

07948482                           USD[10.85]                                                                                                                                                                                  Yes

07948487                           NFT (500275898521828411/You in, Miami? #80)[1]                                                                                                                                              Yes

07948491                           ETH[.000631], ETHW[.000631], USDT[223.78589332]

07948493                           NFT (392580310491088584/You in, Miami? #257)[1]

07948494                           BTC[0.16689308], ETH[2.33384761], ETHW[2.33384761], SOL[170.54], USD[2.05]

07948496                           NFT (304198316265203511/You in, Miami? #62)[1], USD[10.00]

07948499                           USD[250.00]

07948501                           SOL[5.63544738]                                                                                                                                                                             Yes

07948509                           DAI[0], USD[0.00]                                                                                                                                                                           Yes

07948518                           DOGE[872], ETH[.087], ETHW[.087], USD[0.01], USDT[0]

07948521                           USD[0.00]

07948522                           SOL[0]

07948529                           NFT (467463361696229824/You in, Miami? #63)[1]

07948530                           NFT (434418665124913105/You in, Miami? #64)[1], NFT (438147519763304327/Warriors 75th Anniversary Icon Edition Diamond #738)[1], NFT (446165127531539358/Ink fett)[1], SOL[.26402128],      Yes
                                   TRX[1], USD[203.00]
07948533                           CUSDT[1], USD[0.00]

07948538                           AVAX[0], DAI[.00000001], ETH[0], SOL[.00000001], USD[2000.95], USDT[0]

07948539                           SOL[.007], USD[1.06]

07948541                           NFT (313743493843108431/You in, Miami? #68)[1]

07948545                           BTC[0]

07948546                           USD[0.01], USDT[0]

07948563                           CUSDT[5], DOGE[0], SHIB[0], TRX[0], USD[0.01], USDT[0]                                                                                                                                      Yes

07948564                           NFT (311087176932717702/You in, Miami? #69)[1]                                                                                                                                              Yes

07948567                           BTC[0], USD[0.37]

07948574                           USD[21.51]                                                                                                                                                                                  Yes

07948577                           BTC[0]

07948579                           BTC[0.00001560], GRT[2648.04690581], TRX[22], USD[4301.90], USDT[0]

07948580                           NFT (547183916259930745/FTX - Off The Grid Miami #1633)[1]

07948583                           BAT[1.00262439], DOGE[1351.39148281], USD[0.00]                                                                                                                                             Yes

07948587                           USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07948605                           NFT (384650363559598384/You in, Miami? #263)[1]

07948610                           ETH[0], SOL[0], USD[0.19]

07948615                           BTC[0.00003555]

07948616                           USD[0.00]

07948617                           NFT (548840429504422443/You in, Miami? #72)[1]

07948621                           SOL[.00688], USD[1.00], USDT[0]

07948625                           NFT (404040677550236085/Desert Rose Ferris Wheel #581)[1], NFT (453516232706760652/Coachella x FTX Weekend 1 #261)[1], NFT (454941905326882813/You in, Miami? #74)[1]

07948628                           NFT (312708202525512068/Cosmic Creations #753)[1], NFT (361260562918155202/FTX Test Pack 1 #13)[1], NFT (431368589747461692/Ballpark Bobblers 2022 - ID: C0DE3698)[1], SOL[.14975],
                                   USD[5.37]
07948635                           BAT[0], DOGE[0.71757368], GRT[0], MATIC[0], NFT (290673660569132271/Aaronsk)[1], NFT (399124198437835875/Techno fire)[1], NFT (435557450174186859/ Real Artistic People '1)[1], SHIB[0],   Yes
                                   TRX[0], USD[0.00]
07948636                           TRX[1], USD[0.01]                                                                                                                                                                          Yes

07948639                           BRZ[1], BTC[.01836917], CUSDT[2], SOL[1.17433383], TRX[2], USD[0.02]                                                                                                                       Yes

07948640                           BTC[0], MATIC[2.10720911]

07948650                           BTC[0.00002438], DOGE[.00650552], USD[0.00]

07948663                           USD[0.00]                                                                                                                                                                                  Yes

07948664                           CUSDT[2], SHIB[869683.76623721], USD[0.00]                                                                                                                                                 Yes

07948665                           DAI[.4995], USD[122.38]

07948670                           SOL[95.11], USD[2.23]

07948680                           CUSDT[1], DOGE[1], SHIB[2], TRX[2895.7425128], USD[0.00]

07948682                           DOGE[1], SHIB[3], USD[50.67]                                                                                                                                                               Yes

07948687                           CUSDT[7271.79222005], USD[0.00]                                                                                                                                                            Yes

07948690                           SOL[.00000001]

07948691                           BTC[.0012], USD[26.52]

07948695                           CUSDT[1], SHIB[155763.23987538], USD[0.00]

07948700                           NFT (291242887302304221/You in, Miami? #82)[1]

07948710                           USD[0.14]                                                                                                                                                                                  Yes

07948728                           NFT (383737678366737590/Humpty Dumpty #575)[1], NFT (486465602615263877/Juliet #628)[1]

07948730                           USD[0.00]

07948732                           DAI[10.62537654], DOGE[66.39484304], SHIB[180603.69137359], USD[0.00]                                                                                                                      Yes

07948738                           ETH[.00002568], SHIB[9], USD[12.88]                                                                                                                                                        Yes

07948746                           SHIB[1500000], USD[2.89]

07948750                           NFT (459713033150700863/You in, Miami? #76)[1]

07948753                           USD[0.00]                                                                                                                                                                                  Yes

07948758                           USD[0.42]

07948759                           BAT[90.51669722], CUSDT[129.99839001], DOGE[307.32024799], HKD[7.76], LINK[5.38250075], MATIC[22.52718763], SHIB[2549897.44749861], SUSHI[112.05077539], TRX[40.90602342],                 Yes
                                   USD[1.11]
07948761                           USD[0.00]

07948763                           NFT (316084974407065848/You in, Miami? #77)[1]

07948767                           SOL[2.48223194], TRX[1], USD[0.00]

07948769                           BF_POINT[200], BTC[.00015984], USD[0.00]                                                                                                                                                   Yes

07948771                           BRZ[2], BTC[.0772099], CUSDT[3], DOGE[3877.29042692], ETH[.44163838], ETHW[.44163838], SHIB[9968102.07336523], SOL[9.09160558], TRX[3], USD[2288.29]

07948772                           GRT[119.23784433], TRX[1], USD[0.00]                                                                                                                                                       Yes

07948789                           BF_POINT[200], NFT (343314839378913725/You in, Miami? #81)[1]

07948793                           DOGE[2], SHIB[2], TRX[2], USD[0.00]                                                                                                                                                        Yes

07948801                           BCH[.00084135], BTC[0], USDT[0.00064574]

07948805                           SOL[.00109], USD[0.00]

07948813                           NFT (498509841081878283/Megalodon Rogue Shark Tooth)[1]

07948818                           ETHW[1.653593], USD[0.51], USDT[0.63811649]

07948819                           BTC[.00040419], SOL[2.2840564], USD[0.00]

07948821                           SOL[0], USD[30.33]

07948834                           BAT[0], CUSDT[8], TRX[0], USD[0.00]                                                                                                                                                        Yes

07948845                           NFT (466284540058513299/You in, Miami? #93)[1]

07948846                           NFT (363773022117474488/You in, Miami? #86)[1], NFT (369869230013584725/NFT BZL 2021 #245)[1]                                                                                              Yes

07948851                           NFT (560141900074132664/You in, Miami? #85)[1]

07948852                           CUSDT[5], MATIC[5.99814153], NFT (487616111029296840/Entrance Voucher #3118)[1], NFT (493822892754475692/You in, Miami? #136)[1], SHIB[667825.11190062], USD[0.00]                         Yes

07948853                           NFT (430347562655997556/You in, Miami? #119)[1]

07948854                           NFT (317492529679535335/You in, Miami? #90)[1]

07948858                           NFT (433264056168385412/You in, Miami? #87)[1]

07948859                           NFT (380233863819480950/You in, Miami? #91)[1]
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                                                                                                                                         Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07948860                           BRZ[1], NFT (321498616451267525/You in, Miami? #94)[1], NFT (492433318063719185/Entrance Voucher #4210)[1], SHIB[6523092.66781285], USD[0.00]                                       Yes

07948864                           NFT (366135355043449881/You in, Miami? #158)[1]

07948865                           NFT (312171366527002434/Barcelona Ticket Stub #1483)[1], NFT (315095731731697475/FTX Crypto Cup 2022 Key #3236)[1], NFT (327551354321985262/Founding Frens Investor #789)[1], NFT
                                   (348703912234188104/Australia Ticket Stub #1068)[1], NFT (438358336162921908/Founding Frens Investor #343)[1], NFT (473324056092248462/You in, Miami? #232)[1], USD[0.40]
07948866                           NFT (459112293231472513/You in, Miami? #255)[1]

07948869                           NFT (388826968703366667/You in, Miami? #107)[1]

07948871                           NFT (315066950186635037/You in, Miami? #92)[1]

07948872                           NFT (391598281492287155/You in, Miami? #97)[1]

07948874                           NFT (511394224628389474/You in, Miami? #103)[1]

07948875                           NFT (436684225634533720/You in, Miami? #135)[1]

07948878                           NFT (378569380400379533/You in, Miami? #101)[1]

07948881                           NFT (465367645280880202/You in, Miami? #106)[1]

07948882                           NFT (358106713461152499/You in, Miami? #134)[1]

07948883                           USD[102.47]                                                                                                                                                                         Yes

07948887                           NFT (559111345646843230/You in, Miami? #132)[1]

07948889                           NFT (363023210963027639/You in, Miami? #110)[1]

07948890                           NFT (298693091843182678/Romeo #1011)[1], NFT (311623808875626123/You in, Miami? #109)[1]

07948892                           NFT (336098725469570297/You in, Miami? #96)[1]

07948893                           NFT (446227873656851711/You in, Miami? #99)[1]

07948894                           NFT (543792444426201662/You in, Miami? #164)[1]

07948895                           NFT (320074873821560618/You in, Miami? #102)[1], NFT (387666176751305420/Entrance Voucher #1973)[1], SHIB[1], USD[0.00]

07948897                           NFT (290212249076141624/You in, Miami? #105)[1]

07948898                           NFT (395008627017209485/You in, Miami? #104)[1]                                                                                                                                     Yes

07948899                           NFT (357515488354607991/You in, Miami? #163)[1]

07948901                           NFT (292109626325708876/You in, Miami? #100)[1]

07948902                           NFT (509628369224201430/You in, Miami? #111)[1]

07948905                           NFT (573058080215247059/You in, Miami? #156)[1]

07948906                           NFT (465897044821030874/You in, Miami? #213)[1]

07948912                           NFT (302551215674319580/You in, Miami? #265)[1]

07948915                           NFT (523788469104057833/Coachella x FTX Weekend 1 #17379)[1], NFT (548106942123452986/You in, Miami? #108)[1]

07948916                           USD[20.00]

07948918                           NFT (553976857210284703/You in, Miami? #113)[1]

07948920                           BTC[.02681711], ETH[.68260284], ETHW[.68231626], SHIB[2], TRX[1], USD[153.60]                                                                                                       Yes

07948921                           NFT (322427463304476148/You in, Miami? #112)[1]

07948922                           ETH[.39396707], ETHW[0.39396707], NFT (307457289157078410/You in, Miami? #115)[1]

07948923                           NFT (293514319382938332/You in, Miami? #120)[1]

07948924                           NFT (343592031900768484/Choochie)[1], NFT (348654067777630082/Frenchies)[1], NFT (457448235627704158/EGYTPIAN MAN)[1], NFT (490546209715223456/Choochie #3)[1], USD[0.00]           Yes

07948927                           NFT (432452397025657627/You in, Miami? #114)[1]

07948928                           NFT (447779591879043809/You in, Miami? #140)[1]

07948929                           NFT (506044851706215839/You in, Miami? #148)[1]

07948931                           NFT (291697976953042085/You in, Miami? #117)[1]

07948932                           NFT (369086253355384783/You in, Miami? #126)[1]

07948933                           NFT (476101251688348130/You in, Miami? #125)[1]

07948935                           NFT (292390840617365887/You in, Miami? #150)[1]                                                                                                                                     Yes

07948936                           CUSDT[1], MATIC[5.09988767], NFT (443529506609695766/You in, Miami? #177)[1], USD[11.00]

07948937                           NFT (349714540716562295/You in, Miami? #118)[1]

07948939                           NFT (547830490183231374/You in, Miami? #162)[1]

07948940                           NFT (291974363567857959/You in, Miami? #137)[1]

07948941                           NFT (345267360054813946/You in, Miami? #122)[1]

07948946                           NFT (380849099569283516/You in, Miami? #248)[1]

07948948                           NFT (307957040509079092/You in, Miami? #121)[1]

07948949                           ETH[.00745], ETHW[.00745], NFT (517455199236323696/You in, Miami? #141)[1], SHIB[2238109]

07948950                           NFT (403320412778476155/You in, Miami? #130)[1]

07948953                           NFT (399165512004214780/You in, Miami? #142)[1]

07948954                           NFT (377479711695877624/You in, Miami? #144)[1]

07948957                           NFT (423136351356133193/You in, Miami? #143)[1]

07948958                           NFT (382485931072641563/You in, Miami? #167)[1]

07948960                           NFT (569368296201856900/You in, Miami? #129)[1]

07948961                           NFT (320182649957241276/You in, Miami? #123)[1]
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                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07948962                           NFT (419146389171523370/You in, Miami? #131)[1]

07948964                           NFT (335742746852018747/You in, Miami? #127)[1]

07948966                           NFT (549486278975781506/You in, Miami? #128)[1]

07948967                           NFT (296177105838405146/You in, Miami? #133)[1]

07948968                           NFT (403917071894828856/You in, Miami? #151)[1]

07948969                           NFT (520734906776779399/You in, Miami? #252)[1]

07948976                           NFT (333145783736586255/You in, Miami? #138)[1], USD[53.00]

07948984                           BTC[.00776043], CUSDT[3], ETH[.01258623], ETHW[.01243575], USD[0.00]                                                                                                                  Yes

07948988                           SOL[0], USD[0.00]

07948992                           NFT (424625335463060796/You in, Miami? #145)[1]

07948994                           NFT (501928712812194372/You in, Miami? #147)[1]

07948995                           BTC[.00009827], USD[0.01]

07948997                           NFT (330812872191082009/You in, Miami? #155)[1]

07948998                           NFT (373874569383649057/You in, Miami? #240)[1]

07948999                           NFT (360597493510685036/You in, Miami? #153)[1]

07949000                           NFT (467973361791976150/You in, Miami? #152)[1]

07949002                           ETH[.0007148], ETHW[.0007148], USD[0.97]

07949005                           NFT (414921730665405360/You in, Miami? #157)[1]

07949008                           NFT (507218219718206074/You in, Miami? #154)[1]

07949012                           USD[10574.80]                                                                                                                                                                         Yes

07949017                           NFT (504909666697726344/You in, Miami? #329)[1]                                                                                                                                       Yes

07949018                           BRZ[3], CUSDT[4], DOGE[2], LINK[8.06211258], NFT (452229685356429804/You in, Miami? #337)[1], SHIB[3307206.27983369], SOL[10.91878973], TRX[3], UNI[9.48646945], USD[169.84]          Yes

07949019                           NFT (396572977495563742/You in, Miami? #205)[1]

07949021                           USD[0.27]

07949022                           ETH[0], USD[0.00]

07949024                           NFT (511748553171799369/You in, Miami? #170)[1]

07949028                           USD[0.01]                                                                                                                                                                             Yes

07949029                           BTC[.02038062], ETH[.21679385], ETHW[.21679385], SOL[23.9691], USD[342.40]

07949032                           NFT (402546906759897992/You in, Miami? #159)[1]

07949034                           NFT (313639084691907236/You in, Miami? #160)[1]

07949036                           USD[0.00]

07949043                           NFT (527083769942365182/You in, Miami? #169)[1]

07949044                           NFT (533578763806786993/You in, Miami? #161)[1]

07949052                           NFT (532787314370670643/Coachella x FTX Weekend 2 #3240)[1], NFT (567472407528746600/You in, Miami? #188)[1]

07949055                           NFT (543319575080037230/You in, Miami? #165)[1]

07949065                           BRZ[56.59570602], CUSDT[453.51823574], DOGE[1], KSHIB[139.80914374], NFT (338835884165607183/You in, Miami? #166)[1], SHIB[139703.82788488], TRX[99.14390231], USD[0.01]

07949066                           NFT (498695110708971812/You in, Miami? #171)[1]

07949072                           CUSDT[1], DOGE[1], ETHW[.0483932], SHIB[1], USD[54.86]

07949075                           BF_POINT[300], BRZ[1], BTC[0], DOGE[1], ETH[0], ETHW[1.35474961], NFT (552718001989374745/You in, Miami? #168)[1], SHIB[5], SOL[.00000004], USDT[0.00160227]                          Yes

07949082                           DOGE[16297.213808], SHIB[500000], USD[15.24]

07949090                           BTC[.00055], DOGE[73], ETH[.004], ETHW[.004], MATIC[10], SOL[.09], SUSHI[1.01623488], USD[0.00]

07949099                           NFT (333955854271065555/You in, Miami? #172)[1]

07949107                           BTC[0.00021830], USD[0.61]

07949110                           BRZ[1], DOGE[598.98660745], USD[0.00]                                                                                                                                                 Yes

07949115                           USD[20.00]

07949117                           NFT (499166899049991020/You in, Miami? #173)[1]

07949121                           USD[0.00]

07949122                           USD[189.59]

07949123                           NFT (290657538281136547/You in, Miami? #190)[1]

07949128                           NFT (400858672045625252/You in, Miami? #174)[1]

07949134                           USD[30000.00]

07949135                           NFT (420340593969534485/You in, Miami? #175)[1]

07949140                           BRZ[1], CUSDT[7], DOGE[1], NFT (484870480914494169/Solana Penguin #1053)[1], NFT (495922882389247572/You in, Miami? #179)[1], NFT (574583602185535942/Solana Islands #649)[1], SOL[0], Yes
                                   USD[0.00]
07949141                           NFT (385363457933946879/You in, Miami? #176)[1]

07949145                           NFT (526102517071909343/Sigma Shark #3875)[1]

07949149                           NFT (436717552389918162/You in, Miami? #185)[1], NFT (561214188502166353/Coachella x FTX Weekend 1 #3273)[1]

07949150                           NFT (575669663331137983/You in, Miami? #180)[1]

07949152                           CUSDT[2], DOGE[1], SOL[.74496905], TRX[1], USD[0.00]                                                                                                                                  Yes
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                                                                                                                                         Customer Claims                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07949153                           NFT (553452126855159543/You in, Miami? #178)[1]

07949155                           ETH[.00417104], ETHW[.00411632], USD[1.82]                                                                                                                                   Yes

07949163                           NFT (383166670839136718/You in, Miami? #181)[1]

07949164                           BAT[1.00249606], SOL[2.29157022], TRX[1], USD[0.00], USDT[0.00000091]                                                                                                        Yes

07949182                           NFT (548369294467860988/You in, Miami? #182)[1]

07949183                           ETH[0], ETHW[0.01096304], NFT (326729725445722507/Let's Grow #08-Rookie)[1], NFT (352302523681326884/Redvelvet Hotrod Coon Skyblue)[1], NFT (398067377823859066/3D CATPUNK   Yes
                                   #4014)[1], NFT (548620381914481307/Frenchy Rare #68)[1], SOL[0], USD[532.68]
07949185                           NFT (360443880337280736/You in, Miami? #184)[1]                                                                                                                              Yes

07949186                           BRZ[2], CUSDT[6], DOGE[.00636044], ETHW[1.33521865], LTC[.00000301], SHIB[39.72582762], SOL[.00003938], TRX[9], USD[0.00]                                                    Yes

07949187                           NFT (571131913395800289/You in, Miami? #183)[1]

07949196                           NFT (428384124903974143/You in, Miami? #186)[1]

07949201                           NFT (354397275350287666/You in, Miami? #187)[1]

07949207                           AAVE[94.03156], AVAX[66.1338], DOGE[10693], ETHW[8.99], LTC[13.5], SHIB[56000000], SOL[99.43047], USD[267.28], USDT[373.16389209]

07949212                           ETH[.12034447], ETHW[.12034447], USD[0.01]

07949213                           SOL[.00000001]

07949217                           AVAX[0], ETH[0.00263218], USD[0.26], USDT[5.82000000]

07949218                           NFT (536683952990121199/You in, Miami? #370)[1]

07949221                           SOL[.00862931], USD[173.16], USDT[0.75961504]

07949223                           NFT (458586127619913759/You in, Miami? #193)[1]

07949228                           NFT (551650802842419635/You in, Miami? #191)[1]

07949243                           NFT (466473861453621451/Monocle #72)[1], NFT (479672232886531839/You in, Miami? #210)[1]

07949251                           NFT (356650711124021685/You in, Miami? #194)[1]

07949256                           NFT (342888030618059010/You in, Miami? #195)[1]

07949257                           NFT (416941676275230112/You in, Miami? #197)[1]

07949264                           NFT (448276129496781457/You in, Miami? #198)[1]

07949265                           NFT (310417199407190514/You in, Miami? #199)[1]

07949268                           NFT (290258591831828388/You in, Miami? #204)[1]

07949272                           SOL[0.00000140], USD[0.00]

07949273                           NFT (543087277965390254/You in, Miami? #200)[1]

07949279                           BTC[.08362036], CUSDT[6], DOGE[37.80799095], ETH[.56367108], ETHW[.50551495], GRT[25.46789885], LINK[.24307908], SHIB[2], SOL[.63879641], TRX[4], USD[16.59]                 Yes

07949281                           NFT (314808575381693133/You in, Miami? #208)[1]

07949283                           USD[150.00]

07949284                           USD[10.88]                                                                                                                                                                   Yes

07949289                           NFT (304825158952125070/You in, Miami? #201)[1]

07949290                           NFT (565082156654409823/You in, Miami? #202)[1]

07949292                           NFT (412108504001535791/You in, Miami? #203)[1]

07949295                           ETH[.00227642], ETHW[.00224904], USD[0.00]                                                                                                                                   Yes

07949297                           NFT (547828399754649278/You in, Miami? #207)[1]

07949310                           NFT (563440699782098666/You in, Miami? #206)[1]

07949323                           SOL[1.65]

07949334                           SOL[4.47756], USD[1.70], USDT[2.64]

07949338                           CUSDT[3], TRX[1.08486877], USD[0.00]                                                                                                                                         Yes

07949344                           USD[10.88]                                                                                                                                                                   Yes

07949345                           DOGE[.13641472], SOL[.00000001], TRX[1], USD[0.01]                                                                                                                           Yes

07949361                           SOL[2.46671147], TRX[1], USD[0.01]

07949363                           NFT (303783251188524948/You in, Miami? #212)[1]

07949367                           AAVE[.03484913], BTC[.00377689], DOGE[2.00052941], ETH[.00921515], ETHW[.00910571], LINK[2.97255391], SHIB[1], USD[-25.00], YFI[.00216049]                                   Yes

07949374                           USD[0.00]

07949375                           BRZ[1], CUSDT[1], SOL[.00000002], USD[0.00]                                                                                                                                  Yes

07949386                           CUSDT[1], DOGE[1], LINK[3.95366696], LTC[.66315446], USD[0.00]

07949393                           ETH[.00000001], ETHW[0], SHIB[405674.54857167], USD[0.00], USDT[0]

07949398                           BTC[.00015826], CUSDT[1], ETH[.00482133], ETHW[.00482133], LINK[.33703888], USD[0.00]

07949407                           NFT (393151866539912926/You in, Miami? #214)[1]

07949414                           AAVE[1.72642548], BRZ[4], BTC[.01219452], CUSDT[30], DOGE[9.18252064], ETH[.1021999], ETHW[.10115049], SHIB[28], SOL[10.11481531], TRX[13.0620653], USD[0.01]                Yes

07949426                           CUSDT[3], DOGE[74.9758241], SHIB[1314924.39184746], TRX[1], USD[0.00], USDT[0]

07949427                           CUSDT[20], DOGE[2], ETHW[.0595377], SHIB[25], TRX[5], USD[0.01]                                                                                                              Yes

07949433                           BRZ[1], TRX[4777.36431282], USD[0.00]

07949435                           BRZ[1], TRX[1186.0781125], USD[0.03]                                                                                                                                         Yes

07949440                           NFT (432099746636590972/You in, Miami? #215)[1]
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                                                                                                                                            Customer Claims                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07949454                              USD[50.00]

07949467                              SHIB[112901429.81315032]

07949472                              NFT (506165350801991239/You in, Miami? #218)[1]

07949473                              BTC[.0029888], NFT (557559610816940338/You in, Miami? #217)[1], TRX[1], USD[0.01]

07949474                              USD[100.00]

07949491                              ETH[.00246217], ETHW[0.00243480], USD[0.00]                                                                                                                               Yes

07949492                              AVAX[0], BAT[0], BTC[0], DOGE[0], ETH[0], GRT[0], LINK[0], MATIC[0], SOL[0], SUSHI[0], TRX[0], USD[0.00], USDT[0.00000007]

07949496                              ETH[0.00000001], ETHW[0.00000001], NFT (304560208982117604/ALPHA:RONIN #1196)[1], NFT (386106830332353465/G7 2xPA23 h1-UN25,Norw)[1], NFT (539925262733674876/ApexDucks
                                      #4463)[1], NFT (559516056897466419/Astral Apes #3242)[1], SOL[0.27272763]
07949499                              USD[0.96], USDT[2.60004092]

07949508                              NFT (298271807818701176/DR3AM’s Collection )[1], NFT (299690547299526714/DR3AM’s Collection #2)[1], USD[0.23]

07949518                              BF_POINT[100]

07949531                              NFT (325520587772632808/You in, Miami? #449)[1]

07949537                              CUSDT[1], SHIB[1], USD[0.00]

07949539                              NFT (328690898279386658/You in, Miami? #221)[1]

07949542                              BTC[0], CUSDT[1], DOGE[0], ETH[0], GRT[1], MATIC[0], SHIB[44], SOL[0.00017054], SUSHI[.03094787], UNI[0], USD[0.00], USDT[0]                                              Yes

07949548                              NFT (536831817669464224/You in, Miami? #220)[1]

07949552                              USD[100.42]

07949555                              NFT (317843796976487252/#6399)[1], NFT (522897657319696305/#1615)[1], SOL[.13143314], USD[0.00]                                                                           Yes

07949564                              NFT (316283305397399846/You in, Miami? #235)[1]                                                                                                                           Yes

07949567                              NFT (392394220454154629/You in, Miami? #224)[1]

07949571                              NFT (384381508711573034/You in, Miami? #225)[1]

07949574                              BRZ[1], GRT[1], TRX[1], USD[73.88]

07949581                              BTC[.00257479], DOGE[4], ETH[.11930414], ETHW[.11826191], GRT[3], MATIC[61.51715263], SHIB[133], SOL[195.62485747], TRX[2], USD[0.00], USDT[0]                            Yes

07949582                              USD[490.26]

07949584                              AVAX[.2270009], BRZ[1], DOGE[3], SHIB[8], TRX[1], USD[0.00]                                                                                                               Yes

07949587                              NFT (418949149592524098/You in, Miami? #227)[1]                                                                                                                           Yes

07949590                              SOL[.96594596], TRX[1], USD[0.00]

07949591                              NFT (538551003848332204/You in, Miami? #226)[1]

07949592                              BRZ[1], BTC[.0187546], CUSDT[2], DOGE[1951.69894385], KSHIB[1728.28312872], SHIB[8193507.33854798], SOL[2.65801259], TRX[1], USD[0.00]                                    Yes

07949595                              USD[0.00]                                                                                                                                                                 Yes

07949598                              NFT (339330927758436297/You in, Miami? #228)[1]

07949599                              NFT (522337070994519051/You in, Miami? #229)[1]

07949605                              SOL[1.01419769], USD[0.04]

07949613                              ETH[0], USD[0.00]

07949614                              BTC[.00190524]                                                                                                                                                            Yes

07949619                              NFT (570742697680963061/You in, Miami? #230)[1]

07949621                              NFT (426125182215793686/You in, Miami? #231)[1]

07949627                              NFT (345009172444142963/You in, Miami? #233)[1]

07949628                              ETH[0]

07949631                              CUSDT[1], DOGE[3], SHIB[1], USD[0.00]                                                                                                                                     Yes

07949633                              SOL[1.75], USD[1.43]

07949634                              CHF[0.00], KSHIB[11889.33889836], SOL[0], TRX[0], USD[0.00]                                                                                                               Yes

07949636                              NFT (405170394049677560/You in, Miami? #234)[1]                                                                                                                           Yes

07949639                              BRZ[1], BTC[.00351844], CUSDT[1], DOGE[651.66408323], MATIC[68.5636926], USD[0.00]                                                                                        Yes

07949644       Contingent, Disputed   USD[0.00]                                                                                                                                                                 Yes

07949650                              DOGE[1], USD[0.00]                                                                                                                                                        Yes

07949655                              BTC[.00000001]

07949656                              BTC[.00549373], NFT (311137085608018776/You in, Miami? #241)[1]                                                                                                           Yes

07949659                              NFT (518066157838783194/You in, Miami? #239)[1]

07949661                              DOGE[800], SHIB[3849.26527455], USD[0.00]

07949662                              AVAX[6.11403376], BRZ[2], CUSDT[4], DOGE[3], GRT[1.00367791], LINK[22.18819019], MATIC[436.90525541], SOL[20.97870943], TRX[7], UNI[30.1352941], USD[0.01]                Yes

07949663                              USD[0.11]

07949664                              BTC[.0000996], USD[43.45]

07949672                              NFT (540262400235396408/You in, Miami? #237)[1]

07949675                              BRZ[1], BTC[.00403379], CUSDT[1], ETH[.06204215], ETHW[.06204215], USD[0.00]

07949679                              NFT (517525968068994381/You in, Miami? #238)[1]

07949683                              ETH[.00002668], ETHW[2.92064126], MATIC[.00114861], SHIB[1], USD[0.00]                                                                                                    Yes

07949690                              CUSDT[1], DOGE[1], ETH[.01290248], ETHW[.01273832], MATIC[37.55785354], SHIB[2], SOL[.78905286], USD[0.00]                                                                Yes
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                                                                                                                                            Customer Claims                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07949699                              BRZ[2], CUSDT[10], DOGE[1], ETHW[.4349711], NEAR[0], SHIB[0], TRX[12], USD[4700.67]                                                                          Yes

07949700                              SOL[0], TRX[0], USD[0.00]

07949702                              SOL[3.00222734]

07949703                              BTC[.00162074], CUSDT[4], DOGE[1234.81349102], USD[0.00]                                                                                                     Yes

07949707                              DOGE[2], SHIB[3], TRX[4], USD[0.01]

07949711                              NFT (363829747825064289/You in, Miami? #242)[1]

07949716                              AAVE[3.56215712], LINK[120.54437086], SOL[30.78478868], UNI[28.77905996]                                                                                     Yes

07949724                              USD[542.05]                                                                                                                                                  Yes

07949727                              NFT (496689635898178490/You in, Miami? #244)[1]

07949728                              DOGE[1], SOL[2.65967019], USD[0.00]                                                                                                                          Yes

07949731                              NFT (441263611954691591/You in, Miami? #243)[1]

07949732                              NFT (520845298869645626/You in, Miami? #245)[1]

07949736                              USDT[0.00000119]

07949737                              NFT (419856828316202953/FTX - Off The Grid Miami #1154)[1], NFT (451362071136572349/NFT BZL 2021 #205)[1], NFT (541441564313238136/You in, Miami? #246)[1]

07949738                              ETH[.25766306], ETHW[.25766306]

07949739                              USD[0.00], USDT[0]

07949740                              SHIB[1], TRX[1], USD[0.00]                                                                                                                                   Yes

07949744                              SHIB[10400000]

07949759                              SHIB[2], TRX[770.38907934], USD[0.00]                                                                                                                        Yes

07949761                              BAT[1.01495078], BRZ[1], DOGE[1], USD[0.00]                                                                                                                  Yes

07949777                              BF_POINT[300]                                                                                                                                                Yes

07949780                              CUSDT[9], DOGE[2], ETH[0], MATIC[0], SHIB[3], SOL[0], SUSHI[0], USD[0.00]                                                                                    Yes

07949783                              BTC[0], USD[0.00]

07949790                              NFT (336630115528158276/You in, Miami? #249)[1]

07949793                              USD[0.00]

07949800                              LINK[.00032889], SHIB[2], USD[0.01]                                                                                                                          Yes

07949803                              USD[0.00]

07949810                              SOL[11.5717]

07949814                              SOL[1.10035264], TRX[1], USD[0.00]                                                                                                                           Yes

07949815                              TRX[.500047]

07949817                              NFT (445205183478997354/You in, Miami? #250)[1]

07949818                              NFT (342483391640817459/You in, Miami? #251)[1]

07949825                              BTC[.00023785]

07949828                              KSHIB[3430], MATIC[130], SHIB[2600000], SOL[1.9081855], TRX[1715], UNI[14.3], USD[0.00]

07949833                              CUSDT[2], TRX[1], USD[0.00]                                                                                                                                  Yes

07949835                              USD[52.87]                                                                                                                                                   Yes

07949836                              USD[0.01]

07949856                              NFT (510249807051212071/NeoNoots #2103)[1], SOL[.54238584], USD[108.15]                                                                                      Yes

07949860                              NFT (342151956445389717/You in, Miami? #256)[1]

07949861                              DOGE[2201.84870183], USD[0.01]                                                                                                                               Yes

07949868                              CUSDT[1], TRX[1], USD[0.00], USDT[0]                                                                                                                         Yes

07949879                              USD[0.01]

07949885                              CUSDT[1], DOGE[1255.43962892], TRX[1], USD[0.00]

07949888                              SOL[.01]

07949893                              SOL[2.43813], USD[0.12]

07949898                              ETH[.00225365], ETHW[.00222629], USD[0.00]                                                                                                                   Yes

07949903                              BTC[0.00000001], LINK[.0746], TRX[1], USD[27.08]

07949904                              USD[0.00]

07949907                              BTC[.00008036], DOGE[20.53613236], USD[0.00]                                                                                                                 Yes

07949910                              MATIC[0], SOL[0], USD[0.00]                                                                                                                                  Yes

07949921                              ALGO[.163], BAT[1], BCH[0.00001005], BRZ[6.19945036], BTC[0], DOGE[12.03734561], ETH[0], GRT[5], SHIB[20], SOL[0], TRX[6.000001], USD[0.00]                  Yes

07949922                              BTC[.0001], DOGE[1], ETH[.001], ETHW[.001], SOL[.14], USD[0.22]

07949926                              TRX[.000001], USDT[1.0816028]

07949929                              USD[3.40], USDT[0.00643701]

07949948                              CUSDT[1], DOGE[2], LTC[0], TRX[2], USD[0.00]                                                                                                                 Yes

07949950       Contingent, Disputed   USD[6.36]

07949954                              USD[0.00]

07949967                              CUSDT[2], SHIB[1], TRX[1], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07949973                              BRZ[1.02477871], ETH[.00000001], LINK[.00000001], NFT (351835890053785772/Miami Ticket Stub #955)[1], TRX[2], USD[0.00]                                                           Yes

07949978                              ETHW[.125], USD[1.52]

07949981                              CUSDT[481.438126], DOGE[1.10413382], ETH[.00000272], ETHW[.00000272], GRT[535.82627183], LTC[2.23601028], SHIB[22711210.28069908], SOL[2.92756657], TRX[269.76503118], USD[23.29], Yes
                                      USDT[1.00158113]
07950008                              BTC[.62051097], ETH[7.41826793], LTC[11.42529707], SHIB[7], TRX[1], USD[0.00]                                                                                                      Yes

07950009                              NFT (454928026028493004/You in, Miami? #253)[1]

07950012                              USD[21.51]                                                                                                                                                                        Yes

07950013                              USD[0.01]

07950016       Contingent, Disputed   USD[0.01]

07950017                              NFT (486311402900938094/You in, Miami? #254)[1]

07950019                              BTC[.00001116], ETH[.000048], ETHW[.000048], NFT (565903301734987162/Spectra #985)[1], SOL[.0009], USD[2.65]

07950027                              SOL[.00209629], TRX[2], USD[0.00]                                                                                                                                                 Yes

07950041                              LINK[0], SOL[0]

07950058                              BTC[0], ETH[0], GRT[0], LINK[0.08659635], LTC[0], TRX[.000001], USD[0.00], USDT[0]

07950088                              USD[0.00], USDT[0]

07950093                              USD[21.76]                                                                                                                                                                        Yes

07950101                              SOL[0]

07950144                              AAVE[0.00629949], AVAX[0.01389430], BAT[1.31216595], BCH[0.00000004], BTC[0.00000143], DOGE[0.00005070], ETH[0.00054679], ETHW[0.00054679], GRT[0], KSHIB[46.76659834],           Yes
                                      LINK[0.00000152], LTC[0.01313962], MATIC[1.86280291], MKR[0.00092133], PAXG[0], SHIB[0], SOL[0], SUSHI[0.48961685], UNI[0], USD[0.00], USDT[0], YFI[0.00004430]
07950145                              BRZ[1], BTC[.00972592], CUSDT[2], ETH[.0668521], ETHW[.0668521], SHIB[3], SOL[1.66561763], USD[0.00]

07950151                              BTC[.00005361]

07950154                              CUSDT[1], SOL[.00002647], USD[0.00]                                                                                                                                               Yes

07950166                              CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                       Yes

07950174                              BTC[.019], ETH[1.08412385], ETHW[1.08412385], USD[10.03], USDT[0.00479620]

07950193                              DOGE[1], SHIB[1], USD[0.00]                                                                                                                                                       Yes

07950194                              BTC[.00002294], ETH[.000887], ETHW[.000887], NFT (444335427362758581/SBF Hair & Signature #7 #21)[1], SOL[.00363], USD[0.00], USDT[1144.06307032]

07950206                              BRZ[1], BTC[0], CUSDT[2], DOGE[0.00672508], SUSHI[.00017022], TRX[1], USD[0.42]                                                                                                   Yes

07950217                              BF_POINT[300], CUSDT[9], USD[0.00]                                                                                                                                                Yes

07950235                              BTC[.01399909], DOGE[3], SHIB[6], TRX[1], USD[0.66]                                                                                                                               Yes

07950239                              BTC[.00835982], CUSDT[4], DOGE[1], SOL[2.47655456], TRX[1], USD[0.00], USDT[0.00054730]                                                                                           Yes

07950249                              BTC[0], ETH[0], MATIC[0], SOL[0], TRX[.010028], USD[0.00], USDT[0]

07950260                              SHIB[149531.85068896]                                                                                                                                                             Yes

07950264                              BTC[.00000202], USD[0.02], USDT[0]                                                                                                                                                Yes

07950274                              USD[0.01]

07950287                              BTC[.00004556], SOL[0.00000660], TRX[.000046], USD[0.00], USDT[0]

07950302                              BRZ[3], CUSDT[8], DOGE[8.18801976], ETHW[3.3056566], GRT[2.01547173], SOL[.00058414], TRX[16.71992552], USD[33755.67], USDT[1.05795581]                                           Yes

07950308                              USD[0.00]

07950315                              USD[0.00]

07950316                              NFT (321253141515296335/Coachella x FTX Weekend 1 #7453)[1]                                                                                                                       Yes

07950323                              NFT (391406494934945375/Megalodon Rogue Shark Tooth)[1]

07950332                              USD[543.99]                                                                                                                                                                       Yes

07950357                              NFT (288883440180399036/WLC Duo BLBR #17)[1], NFT (298985366286454360/WLC Mix Blond #9)[1], NFT (319683553326839223/WLC SolEggs #19)[1], NFT (330276047749166687/WLC EthEggs
                                      #20)[1], NFT (335303589751407109/WLC Mix #7)[1], NFT (338271369840538112/WLC Solbros #30)[1], NFT (348245680788869552/WLC Duo BLGR #14)[1], NFT (351459898566599571/WLC Solmas
                                      #23)[1], NFT (361118899084267065/WLC Duo BRBL #13)[1], NFT (398981561030952701/WLC Duo #15)[1], NFT (459224482252358871/WLC BTCeggs #21.1)[1], NFT (460583427601521840/WLC
                                      Solmas #23 dark)[1], NFT (462178389954259789/WLC Duo #16)[1], NFT (477321506416081722/WLC Solbros #31)[1], NFT (478369085438798154/WLC Mix Grey #10)[1], NFT
                                      (488654384333758420/WLC BTCEggs #21)[1], NFT (507390193777874254/WLC Solbros #29)[1], NFT (514282458333953424/WLC Mix Light #11)[1], NFT (523132813340729611/WLC MATEggs
                                      #28)[1], NFT (525179347131966599/WLC Soft #1)[1], NFT (539254198119581939/WLC PolEggs 28)[1], NFT (540783264941016992/WLC BTCeggs #21.1 #2)[1], NFT (548223252864955988/WLC Mix
                                      Blue #12)[1], NFT (569839690686708742/WLC Solmas #25)[1], NFT (572365878355934510/WLC Duo GRLGR #18)[1], NFT (573433895478685511/WLC Soft #5)[1], NFT (575058796592758397/WLC
                                      Mix Black #8)[1], SOL[.24607628], USD[0.00]
07950371                              EUR[0.00], USD[0.00]                                                                                                                                                              Yes

07950402                              BF_POINT[300]

07950408                              NFT (503262727277100534/#1760)[1]

07950412                              ETH[.01461891], USD[0.00], USDT[0.00000775]

07950414                              BTC[.00017904], CUSDT[7], DOGE[65.6825052], ETH[.00291613], ETHW[.00287509], LTC[.0602914], MATIC[17.32623712], SHIB[1862255.28725212], SOL[.07980843], TRX[1], UNI[.44208668],   Yes
                                      USD[0.00]
07950424                              USD[20.00]

07950433                              BF_POINT[200], LINK[0], SOL[0], USD[0.00], USDT[0]                                                                                                                                Yes

07950445                              ETHW[.00001842], MATIC[0], SHIB[1], USD[0.00]                                                                                                                                     Yes

07950450                              BAT[1], USD[0.01]

07950462                              NFT (356956668678445131/Entrance Voucher #2702)[1]

07950465                              NFT (411035579197336126/Megalodon Rogue Shark Tooth)[1]

07950488                              MATIC[31.68976611], SHIB[1], USD[0.00]                                                                                                                                            Yes

07950523                              SOL[.02]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07950525                           SOL[.01762239], USD[0.00]

07950529                           USDT[0.00000206]

07950546                           USD[0.00]

07950558                           BTC[.0798], USD[3.65]

07950579                           TRX[559.000031]

07950583                           USD[20.00]

07950597                           USD[1059.13]

07950599                           NFT (292415160650904683/#9090)[1], NFT (296939192323475837/Halloween riding)[1], NFT (296963280589176628/Kirohana #4)[1], NFT (299842141157067807/Earth glacier)[1], NFT
                                   (301862720551797824/Immortal III)[1], NFT (304192482024019363/Almost sunset)[1], NFT (310490048999410758/Earth ocean)[1], NFT (313149853638167971/#8080)[1], NFT
                                   (313866292396988968/Ghost riding)[1], NFT (314706674470401280/Kirohana #5)[1], NFT (316108646604063401/Ultrobot)[1], NFT (317805134729465479/Kirohana #3)[1], NFT
                                   (318215415604142748/Primus)[1], NFT (325120943997292195/Jet pack alien)[1], NFT (325697600390292160/Dogo riding)[1], NFT (326045532353047213/Misty mountains)[1], NFT
                                   (328717194216179086/Eagle samurai)[1], NFT (330805892237695258/Collector)[1], NFT (331823820338348855/Delivery riding)[1], NFT (337628016522264446/Articolor #3)[1], NFT
                                   (343389125764831613/#8085)[1], NFT (344163739614680582/Roman Warrior)[1], NFT (348714583953259040/Articolor #2)[1], NFT (349516090253424281/Park riding)[1], NFT
                                   (356456617323779482/Psyco cat)[1], NFT (358181835750568815/Rule them all)[1], NFT (364608770173645660/#2525)[1], NFT (365565914815748672/Monster riding)[1], NFT
                                   (366664154633929562/Naturmia)[1], NFT (375443416112723911/Sun thunder)[1], NFT (377526084258518280/Earth beach)[1], NFT (386375489506803019/Etros)[1], NFT
                                   (391214825498298307/Kiddo)[1], NFT (392861862190244280/Shining moon)[1], NFT (394974902714929294/Manwe)[1], NFT (395926827558056803/Articolor #5)[1], NFT (396789632304379576/Ant
                                   guy)[1], NFT (396879264264092489/The warlock)[1], NFT (399349548553349159/Kirohana #1)[1], NFT (399478519701790493/#0505)[1], NFT (402587877170330911/Gladiator)[1], NFT
                                   (403789274333536923/#4545)[1], NFT (404846156311133131/Patos)[1], NFT (405452919655071412/Super #1)[1], NFT (411442984771633003/Pump-man)[1], NFT (412845635729633149/Cliff
                                   house)[1], NFT (413547026525387779/Ajak)[1], NFT (416142137370148649/Some guy)[1], NFT (417948906034301832/Articolor #1)[1], NFT (417984552303024070/Fun house)[1], NFT
                                   (435446601837253582/The Love #1)[1], NFT (440302781163969649/Immortal II)[1], NFT (447338986828411896/Earth river)[1], NFT (449247967177919776/Hot samurai)[1], NFT
                                   (451611531632494840/P-rex)[1], NFT (451907923311745415/Fun people)[1], NFT (456646809460056314/The pirate)[1], NFT (457685022742148725/Robo riding)[1], NFT (463126838429723408/The
                                   Love #2)[1], NFT (465406200582293303/Earth autumn)[1], NFT (466336008694415548/Trip road)[1], NFT (469873697238748948/Make-up)[1], NFT (472147516295955885/Red samurai)[1], NFT
                                   (473777169702726406/Bat 26)[1], NFT (474275807028248811/The Love #3)[1], NFT (478574690807686584/#6060)[1], NFT (479958141353957743/Mushroom desert)[1], NFT
                                   (483414079708965119/Mind blow #4)[1], NFT (486805593805752651/Mind blow #6)[1], NFT (487748351551093801/Little dragon)[1], NFT (488428968479576807/Dark knight)[1], NFT
                                   (489741402987093964/#1010)[1], NFT (491521987473802044/Starship)[1], NFT (493246410846896174/Corvus)[1], NFT (497258403882824174/Graffiti alien)[1], NFT (502264437370378996/Spidey
                                   64)[1], NFT (503365676861843407/Celcius)[1], NFT (504294321958014611/Immortal I)[1], NFT (510799950122511236/The mage)[1], NFT (514519060662873952/Bartos)[1], NFT
                                   (518725402076632435/Mask riding)[1], NFT (522838554968288877/Mind blow #3)[1], NFT (524113691825665377/Ragnarok)[1], NFT (529138627280628828/Articolor #4)[1], NFT
                                   (529813815714582911/Super #2)[1], NFT (534173555714147388/Scary riding)[1], NFT (537251182481791995/2145 soldier)[1], NFT (539103843682657486/Croma)[1], NFT
                                   (540820480159569040/Artificial bird)[1], NFT (541250830823008116/Immortal IV)[1], NFT (543082389224273926/Fat alien)[1], NFT (546171452837636141/Mind blow #5)[1], NFT
                                   (548467373749857017/Full moon)[1], NFT (548940670239543185/Badass fox)[1], NFT (560039497578854297/Kirohana #2)[1], NFT (567595595411798862/Earth forest)[1], NFT
                                   (570575284048899015/Poseidon)[1], NFT (573199230409117598/Explorer)[1], USD[0.00], USDT[6.81958971]

07950607                           USD[0.02]

07950617                           USD[0.00], USDT[0]

07950619                           CUSDT[5], DOGE[2], SHIB[8118345.79506041], TRX[1], USD[111.01]                                                                                                                        Yes

07950633                           BAT[2.07771094], BRZ[2], CUSDT[2], DOGE[6.00776752], GRT[3.09905549], TRX[4], USD[0.04], USDT[3.23239613]                                                                             Yes

07950637                           BAT[0], DOGE[0], ETH[0], KSHIB[0], LINK[0], LTC[0], SHIB[68494.30305054], SOL[0], UNI[0], USD[0.00]                                                                                   Yes

07950639                           BRZ[1], CUSDT[2], USD[0.00]                                                                                                                                                           Yes

07950664                           USD[0.00]

07950672                           CUSDT[1], DOGE[3], SHIB[1], USD[0.00]                                                                                                                                                 Yes

07950675                           CUSDT[504.64532719], DOGE[163.36396973], LINK[.94016988], MATIC[20.34455057], TRX[162.12959766], USD[0.00], USDT[10.82925098]                                                         Yes

07950694                           SOL[6.72971089], USD[0.00]

07950707                           NFT (528497966527563206/You in, Miami? #258)[1]

07950709                           SOL[0], USD[0.00], WBTC[0]

07950736                           BTC[.00099241], SHIB[1], USD[0.00]

07950739                           BTC[.01253634], TRX[847.400001], USDT[1248.192187]

07950748                           USD[0.00]

07950753                           DOGE[1], USD[0.00]

07950763                           BTC[.00000009], SHIB[1], TRX[1], USD[0.00]                                                                                                                                            Yes

07950766                           CUSDT[3], SHIB[1], TRX[1], USD[0.00]                                                                                                                                                  Yes

07950767                           CUSDT[1], USD[0.00]

07950770                           TRX[.000001], USDT[.5679]

07950772                           USD[0.00]                                                                                                                                                                             Yes

07950787                           BTC[.00000085], CUSDT[19], DOGE[7.00319706], ETHW[.90185162], SHIB[34], SOL[6.42885523], TRX[2], USD[126.81]                                                                          Yes

07950793                           BRZ[3], CUSDT[15], DOGE[5], ETH[.00099037], ETHW[.00097669], GRT[1.00019173], NFT (371933418628349612/You in, Miami? #262)[1], TRX[2], USD[0.81]                                      Yes

07950800                           DOGE[1], MATIC[50], USD[39.39]

07950802                           NFT (327601179924735080/Hall of Fantasy League #387)[1], NFT (412414715997771217/CJ2K)[1], USD[0.00]                                                                                  Yes

07950807                           CUSDT[3], DOGE[2], ETH[0.00000735], ETHW[0.00000735], SUSHI[.00017327], TRX[1], USD[0.00]                                                                                             Yes

07950808                           NFT (526173890361239060/You in, Miami? #259)[1]

07950812                           NFT (372791074627030905/FTX - Off The Grid Miami #1568)[1]

07950815                           NFT (345967456785854966/You in, Miami? #260)[1]

07950837                           CUSDT[1], USD[517.01], USDT[26.79532914]                                                                                                                                              Yes

07950847                           BTC[.0263718], CUSDT[3], DOGE[2178.38668271], ETH[.13337353], ETHW[.1323036], SOL[5.24906683], USD[0.00]                                                                              Yes

07950852                           ETH[0.00070187], NFT (480823356548072320/Saudi Arabia Ticket Stub #1743)[1], USD[0.00]

07950859                           BF_POINT[100], BRZ[1], NFT (524615908151080927/Entrance Voucher #2088)[1], SHIB[13], TRX[0], USD[583.12], USDT[1.00267020]                                                            Yes

07950873                           SOL[0]

07950880                           USD[0.00], USDT[30.78859227]                                                                                                                                                          Yes
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                                                                                                                                         Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07950896                           ETH[0], USD[0.00]

07950912                           BAT[1.00715604], BTC[.000006], CUSDT[2], DOGE[3], MATIC[1.00164518], SHIB[1], TRX[3], USD[0.00], USDT[1.06487561]                                                                   Yes

07950925                           USD[10.00]

07950927                           CUSDT[1], DOGE[2], MATIC[.00316754], TRX[1], USD[0.00]                                                                                                                              Yes

07950933                           BRZ[5], BTC[0], DOGE[.04337699], ETH[.00003074], ETHW[3.36508792], MATIC[.00671279], NEAR[357.51826508], SHIB[3], TRX[5], USD[0.00], USDT[1.02170046]                               Yes

07950943                           USD[100.00]

07950947                           USD[0.00]

07950956                           CUSDT[1], SHIB[2226167.39362035], TRX[1], USD[0.01]

07950962                           USD[4.00]

07950973                           USD[0.00], USDT[99.52037944]

07950976                           BF_POINT[300], LINK[0], MATIC[0], SOL[0], USD[0.01]                                                                                                                                 Yes

07950979                           SOL[.00015057], TRX[1], USD[0.00]                                                                                                                                                   Yes

07950982                           NFT (291021763392231361/Guardian)[1], NFT (291110381015681509/Panda#1 #3)[1], NFT (299318467144316220/Guardian #4)[1], NFT (301166134633941365/Panda#1 #6)[1], NFT
                                   (307492586920355052/Panda1 #8)[1], NFT (319966194226963258/FunTownPeople #16)[1], NFT (327556770358315854/Erganto #2)[1], NFT (328499569136633750/Panda#1 #2)[1], NFT
                                   (333673330711318845/Erganto)[1], NFT (341602723635640502/Panda1 #4)[1], NFT (354402305088925170/Ranchero #5)[1], NFT (355046160892128905/SquidPixelFun #2)[1], NFT
                                   (358724501081317814/Dream Space #2)[1], NFT (366034886857392385/Panda#1 #7)[1], NFT (375490413788676829/Ranchero #6)[1], NFT (386167960820888167/Ranchero #7)[1], NFT
                                   (386634554914311551/UniqueOwl #3)[1], NFT (401827877848586638/Panda1 #2)[1], NFT (416604613973356179/Panda#1 #4)[1], NFT (420873602049334021/Guardian #3)[1], NFT
                                   (429085461193044722/Bundle)[1], NFT (433403257076666286/Space Target)[1], NFT (452754264362805807/Fat super #3)[1], NFT (453888751721044885/Ranchero #8)[1], NFT
                                   (454203978553225270/Guardian #2)[1], NFT (466119483870465656/Ranchero #9)[1], NFT (472269289177000330/Guardian #5)[1], NFT (483799113099785576/PixelDraft)[1], NFT
                                   (485633338899072283/SquidPixelFun)[1], NFT (488968033926132633/SquidPixelFun #4)[1], NFT (499185421335390004/StarwarsPixel)[1], NFT (513296682525840805/IronBeast)[1], NFT
                                   (514751265513154976/Faty Belly #9)[1], NFT (527276138238789954/Panda#1 #5)[1], NFT (550324181709375144/Panda1 #12)[1], NFT (558595243061391291/SquidPixelFun #3)[1], NFT
                                   (568193519338915819/Ranchero #3)[1], NFT (574100453995896576/Panda1 #3)[1], USD[0.00], USDT[0]
07950985                           BRZ[2], BTC[0], CUSDT[1], DOGE[0], ETH[0], ETHW[0.91756647], LINK[0], LTC[.0000646], MATIC[.00409086], NFT (444488541606278597/Skateboard Robot)[1], NFT (521200841247839178/Cool   Yes
                                   Skeleton #8 #2)[1], SHIB[1], SOL[.00003906], TRX[12], USD[0.01], USDT[1.07251009]
07950993                           USD[0.18]

07950994                           ETH[0], ETHW[0], NFT (310063627218702350/MANKIND #13)[1], NFT (398037799546504435/MANKIND #06)[1], NFT (426829530186488863/MANKIND #09)[1], NFT (481954846884459544/MANKIND
                                   #04 #2)[1], NFT (558764537643555757/MANKIND #12)[1], NFT (559547579644750867/MANKIND #08)[1], NFT (560724306776834335/MANKIND #07)[1], SOL[0], USD[0.00]

07951002                           SHIB[1], USD[0.00], USDT[0]                                                                                                                                                         Yes

07951004                           USD[600.15]

07951014                           USD[5000.02]

07951015                           USD[0.00]

07951016                           BTC[.00009568], USD[7.78], USDT[0]

07951020                           BTC[.00000031], SOL[.00117221], UNI[.00058258], USD[1045.67]                                                                                                                        Yes

07951034                           ETHW[.00055471], NFT (314986933450616767/Entrance Voucher #3384)[1], NFT (545743517892715928/Bahrain Ticket Stub #1285)[1], USD[920.15]

07951047                           SOL[.50026049]                                                                                                                                                                      Yes

07951048                           BRZ[17], CUSDT[102], DOGE[42], ETHW[1.08839301], SHIB[760], TRX[62], USD[7.16]

07951050                           CUSDT[10.80031972], ETH[.06078057], ETHW[.06002803], NFT (322679083313134591/FTX - Off The Grid Miami #4163)[1], SOL[3.39832407], TRX[1], USD[0.00]                                 Yes

07951057                           CUSDT[249.4396321], USD[0.00]                                                                                                                                                       Yes

07951064                           BTC[.02889451], SOL[3.09371156]                                                                                                                                                     Yes

07951065                           NFT (518142635521866265/You in, Miami? #264)[1]

07951069                           USDT[0.21345514]

07951080                           NFT (385335775625682763/Saudi Arabia Ticket Stub #659)[1]

07951088                           BF_POINT[300], BRZ[1], CUSDT[106.20040651], DOGE[18.39312074], SOL[.00003566], TRX[6], USD[0.00]                                                                                    Yes

07951089                           USD[0.00]

07951096                           USD[0.73]

07951113                           USD[6.30]

07951114                           NFT (322160219365506850/Barcelona Ticket Stub #1456)[1], SOL[.00448656], USD[0.01]

07951122                           NFT (440557183904559196/You in, Miami? #267)[1]

07951123                           SOL[.53956001]                                                                                                                                                                      Yes

07951124                           BF_POINT[300], NFT (408655229439304983/Saudi Arabia Ticket Stub #1984)[1], SOL[.00000001], USD[0.00], USDT[0]

07951128                           SOL[55.09696469]                                                                                                                                                                    Yes

07951130                           DOGE[.866], MATIC[3.41], USD[0.00]

07951133                           NFT (371495919451382613/You in, Miami? #266)[1]

07951136                           CUSDT[1], USD[0.00]

07951144                           BRZ[2], CUSDT[1], DOGE[1], ETH[0], GRT[1], SOL[0], TRX[1], USD[0.00]                                                                                                                Yes

07951146                           CUSDT[1], DOGE[1], USD[233.82]

07951147                           LINK[132.26], USD[0.20]

07951149                           CUSDT[3], DOGE[4], GRT[0], SHIB[9712666.16862424], TRX[1], USD[0.00]                                                                                                                Yes

07951150                           USD[1039.03]                                                                                                                                                                        Yes

07951163                           USD[0.00]

07951167                           USD[0.00], USDT[0.00000234]

07951168                           CUSDT[1], DOGE[2], SHIB[127.69180307], TRX[3], USD[532.15]                                                                                                                          Yes

07951183                           NFT (512450386889560181/You in, Miami? #269)[1]
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                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07951189                           BTC[0], ETH[0.04763869], ETHW[0.04705031], NFT (319275722794756390/G7 Inflatable h1-Pearl)[1], NFT (322792979125166604/Megalodon Rogue Shark Tooth)[1], NFT                           Yes
                                   (331712459396896075/Gangster Gorillas #5407)[1], NFT (331886712725916853/Blown)[1], NFT (367927463487783489/SolFractal #3084)[1], NFT (370709344588209493/Solninjas #9448)[1], NFT
                                   (379634794813439414/ApexDucks #3823)[1], NFT (409132792403205026/Sigma Shark #6582)[1], NFT (413526474036314765/Sweet )[1], NFT (425112975129475708/DOTB #1662)[1], NFT
                                   (426006194427807665/Gloom Punk #4408)[1], NFT (489713289188238637/David #254)[1], NFT (517190096905529349/You in, Miami? #268)[1], NFT (528369640075170518/SolBunnies #456)[1], NFT
                                   (550094854447332957/Solninjas #1459)[1], NFT (563438930959079617/Crypto Dogz #7)[1], SHIB[4.54288608], SOL[.00000001], TRX[1], USD[0.00]
07951196                           BTC[.00157812], USD[0.00]

07951197                           USD[20.00]

07951204                           SHIB[1], SOL[.00850407], USD[21.82]                                                                                                                                                   Yes

07951205                           USD[4957.33]

07951209                           TRX[1], USD[0.00]

07951228                           NFT (356388440144859191/Settler #3431)[1], NFT (426125723231410944/Mech #4654)[1], NFT (506779091543140285/Settler #1064)[1], SOL[.31]

07951238                           ETHW[.07976679], USD[144.62]                                                                                                                                                          Yes

07951244                           BTC[.00147239], CUSDT[3], DOGE[.00076066], USD[0.01]

07951245                           BTC[0.00000008], USD[0.00]

07951257                           USD[0.00]                                                                                                                                                                             Yes

07951259                           SOL[.00000001], USD[0.44]

07951261                           USD[0.00]

07951262                           AVAX[.00000001], BTC[0], USD[0.00]

07951267                           DOGE[222], ETH[.025], ETHW[.025], KSHIB[370], LINK[14.7], SOL[1], USD[5.98]

07951268                           EUR[188.02], TRX[1], USD[540.79]                                                                                                                                                      Yes

07951269                           CUSDT[5], DOGE[2], SHIB[5432080.70805454], TRX[5], USD[0.54]                                                                                                                          Yes

07951273                           NFT (537354824595434970/You in, Miami? #272)[1]                                                                                                                                       Yes

07951277                           NFT (401732612371096618/Romeo #4046)[1]

07951281                           DOGE[2], ETH[.13986368], ETHW[.13886731], LINK[62.66654364], SHIB[10336682.18729132], TRX[4], USD[0.00]                                                                               Yes

07951282                           NFT (569022672350038319/You in, Miami? #273)[1]

07951300                           ETH[.000152], ETHW[.000152], SHIB[85500], SOL[.00184], USD[0.00]

07951301                           NFT (450335163458783035/Warriors 75th Anniversary Icon Edition Diamond #1757)[1], USD[0.00]

07951310                           USD[10.88]                                                                                                                                                                            Yes

07951318                           KSHIB[.08704804], SHIB[1113.73227317], SOL[0.01200000], USD[0.00], USDT[0]

07951330                           BTC[.00125503], CUSDT[2464.34014867], DOGE[353.98234879], NFT (374251466739793391/Earl Campbell's Playbook: Texas vs. Houston - November 5th, 1977 #95)[1], SHIB[1],                  Yes
                                   TRX[1017.44891984], USD[0.00]
07951332                           BAT[0], BTC[0.00009790], ETHW[.029], MATIC[0], NFT (543539616566464459/FTX - Off The Grid Miami #4797)[1], SOL[0.00759000], USD[0.03]

07951336                           BTC[.00000003], CUSDT[10], DOGE[1], ETH[0], MATIC[0], NFT (338714695924053278/APEFUEL by Almond Breeze #713)[1], SHIB[1], SOL[0], TRX[1], USD[0.00]                                   Yes

07951341                           NFT (469002784999285281/You in, Miami? #274)[1]

07951346                           NFT (559543485306415557/FTX - Off The Grid Miami #1456)[1], USD[0.00]

07951347                           SOL[0]

07951350                           NFT (514353620184134766/You in, Miami? #275)[1]

07951351                           ETH[.00033795], ETHW[0.00033795], USD[0.01]

07951353                           BTC[.0075104], NFT (328893283292708673/Entrance Voucher #29658)[1], SOL[.97], USD[1.89]

07951354                           DOGE[0], ETH[0.02197910], ETHW[0.02197910], SHIB[6294015], USD[35.41]

07951359                           USDT[0.00000405]

07951363                           NFT (401796607089689373/You in, Miami? #277)[1]

07951367                           NFT (359412559968819522/FTX - Off The Grid Miami #1432)[1]

07951370                           BTC[.14660079], DOGE[3390.111], USD[3.56]

07951386                           NFT (377754562742756869/Megalodon Rogue Shark Tooth)[1]

07951387                           BTC[0], ETH[.00000001], SOL[1], USD[0.43], USDT[0.00042687]

07951391                           TRX[2], USD[531.20]                                                                                                                                                                   Yes

07951392                           USD[21.51]                                                                                                                                                                            Yes

07951394                           USD[271.99]                                                                                                                                                                           Yes

07951399                           NFT (432078005007173770/Microphone #8252)[1]

07951401                           KSHIB[0], USD[0.00], USDT[0.00045841]                                                                                                                                                 Yes

07951402                           SOL[.05665241]

07951404                           BTC[0.00000001], SHIB[1], SOL[.00121398], USD[0.02]                                                                                                                                   Yes

07951407                           BRZ[1], ETH[.11485375], ETHW[.11485375], SHIB[1521838.38076396], TRX[1], USD[143.38]

07951414                           ETH[.0004], ETHW[.0004], USD[0.00]

07951430                           SOL[0]

07951435                           DOGE[1], SUSHI[1.00094176], USD[144700.35]

07951438                           SHIB[999000], USD[0.27]

07951441                           ETH[.00096232], USD[0.42]

07951442                           BTC[0], DAI[0], USD[2.42]

07951447                           DOGE[1], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07951450                              CUSDT[1], USD[0.00]

07951453                              NFT (494409515421477728/Gloom Punk #5568)[1]

07951454                              USD[0.00]

07951463                              ETHW[289.39055761], USD[0.95]                                                                                                                                                             Yes

07951474                              NFT (529771597124618425/You in, Miami? #279)[1], USD[0.00]

07951475                              BTC[.00001], ETHW[3], USD[44321.12]

07951482                              NFT (376386747261058276/You in, Miami? #424)[1]

07951484                              USD[500.00]

07951488                              CUSDT[1], TRX[248.61988614], USD[0.00]

07951493                              BF_POINT[200], SOL[2.22381703], TRX[1], USD[0.22]                                                                                                                                         Yes

07951499       Contingent, Disputed   USD[0.00]

07951501                              NFT (507302350818923023/You in, Miami? #280)[1]

07951508                              USD[20.00]

07951509                              NFT (477785147847627252/You in, Miami? #281)[1]

07951515                              NFT (315104064771705681/2021 Sports Illustrated Awards #111)[1], NFT (430727262840566571/FTX - Off The Grid Miami #2433)[1], NFT (472093468903864010/You in, Miami? #282)[1]

07951521                              USD[16.32]                                                                                                                                                                                Yes

07951523                              USD[21.69]

07951527                              USD[20.00]

07951539                              BF_POINT[200], BTC[.00071786], CUSDT[6], ETH[.01250682], ETHW[.01235634], KSHIB[2051.74585106], SHIB[886475.35052602], SOL[.12382869], TRX[547.83031975], USD[0.03]                       Yes

07951541                              USD[0.09]

07951559                              USD[0.00]                                                                                                                                                                                 Yes

07951562                              TRX[1], USD[0.00]

07951568                              USD[0.00]

07951570                              BTC[.00182289], CUSDT[1], USD[0.00]                                                                                                                                                       Yes

07951580                              USD[0.00]

07951592       Contingent,            KSHIB[5.89], NFT (303520769175822760/Sneks 3D #14474)[1], NFT (305892416926422510/Sneks 3D #10229)[1], NFT (340488381562215354/Sneks 3D #10371)[1], NFT (423984377484544787/Sneks
               Unliquidated           3D #3969)[1], NFT (479472067405022100/Sneks 3D #10320)[1], NFT (547628926226749768/Sneks 3D #10639)[1], SOL[.62726]
07951609                              USD[10.92]

07951620                              NFT (523229406181729035/You in, Miami? #285)[1]

07951632                              NFT (289696729339186195/You in, Miami? #286)[1]

07951634                              BTC[.01664778], ETH[.02836764], ETHW[.02801196], SHIB[8802052.12078046], USD[0.88]                                                                                                        Yes

07951643                              NFT (430244599925714318/You in, Miami? #287)[1], NFT (506050413965606975/FTX - Off The Grid Miami #4047)[1]

07951648                              BRZ[1], DOGE[2], TRX[1], USD[0.00], USDT[0]

07951650                              BCH[.071928], BTC[.0007993], DOGE[186.813], ETH[.61454424], ETHW[.61454424], LINK[1.3986], LTC[.22977], MATIC[29.97], SOL[.20984], SUSHI[3.996], TRX[453.546], UNI[1.5984], USD[23.03],
                                      USDT[0.00000746]
07951653                              NFT (338437922643223810/#097 - Mumbai)[1], NFT (500669744830639653/#008 - POSTER)[1]

07951657                              BTC[.00413271], CUSDT[2], ETH[.00041588], ETHW[.00041588], SOL[.00812976], USD[49.87]                                                                                                     Yes

07951662                              USD[40.01]

07951666                              NFT (310285586071450304/Imola Ticket Stub #1793)[1]

07951678                              SOL[.0006447]                                                                                                                                                                             Yes

07951684                              NFT (517242992727888820/You in, Miami? #288)[1]

07951688                              CUSDT[1], DOGE[1], ETH[.01339156], ETHW[.0132274], SOL[.7979604], TRX[1], USD[0.00]                                                                                                       Yes

07951690                              ETH[.023], ETHW[.023], USD[3.27]

07951699                              NFT (562904903798844129/You in, Miami? #289)[1]

07951701                              CUSDT[3], TRX[2], USD[0.00]

07951709                              NFT (302709280818015931/You in, Miami? #290)[1]

07951710                              AAVE[.56139411], MATIC[47.39745036], SOL[.65371863], TRX[990.07430705], USD[0.14], USDT[0.00058548]

07951715                              NFT (428417562679006863/Bahrain Ticket Stub #1581)[1], USD[122.84]

07951718                              LTC[.00083766], SHIB[1694.48414301], SOL[.00009655]                                                                                                                                       Yes

07951723                              BAT[1.00767308], DOGE[108.0585362], SHIB[1], SOL[.00001566], USD[24.32]                                                                                                                   Yes

07951728                              BTC[.00163243], DOGE[378.40908269], ETH[.02145199], ETHW[.02145199], SHIB[1589572.40502304], USD[0.00]

07951738                              BF_POINT[300], BRZ[2], BTC[0.00000017], DOGE[10.01277668], ETH[0], ETHW[0.01212749], MATIC[227.64302658], SHIB[64], SOL[4.71774536], TRX[11], USD[0.57], USDT[0]                          Yes

07951740                              BTC[.00000109], NFT (290543986298192246/The Hill by FTX #736)[1], NFT (407770442572776774/Series 1: Capitals #560)[1], NFT (419834135532208137/Good Boy #226)[1], NFT                     Yes
                                      (474590852614986252/FTX Crypto Cup 2022 Key #2423)[1], NFT (487852514556078531/Montreal Ticket Stub #32)[1], NFT (521564012240753576/APEFUEL by Almond Breeze #405)[1], NFT
                                      (539092813683335438/Series 1: Wizards #1402)[1], NFT (539984810046602658/Imola Ticket Stub #440)[1], NFT (562479426169030881/Humpty Dumpty #126)[1], NFT
                                      (573891247170334492/Barcelona Ticket Stub #1946)[1], SHIB[2], TRX[1], USD[7.63]
07951756                              BAT[83.57524065], BRZ[1], USD[0.00]                                                                                                                                                       Yes

07951769                              SOL[2.44755], USD[4.02]

07951777                              CUSDT[1], USD[0.90]                                                                                                                                                                       Yes

07951778                              NFT (520006024300429494/You in, Miami? #291)[1]

07951781                              ETH[.00100028], ETHW[.00100028], NFT (368913531125409223/FTX - Off The Grid Miami #6987)[1], NFT (539225536321371661/Saudi Arabia Ticket Stub #1757)[1], USD[0.00]
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
                                                                                                  Amended Schedule 1754      Filed
                                                                                                                      Nonpriority     06/27/23
                                                                                                                                  Unsecured           Page 538 of 1384
                                                                                                                                            Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07951784                              BTC[.03219177], CUSDT[3], DOGE[32], ETH[.03642988], ETHW[.03642988], SOL[.57], TRX[2], USD[0.00], USDT[8.64692760]

07951786                              NFT (382894434938129020/FTX - Off The Grid Miami #1776)[1], NFT (408450549761918097/Coachella x FTX Weekend 1 #24610)[1]

07951797                              ETH[.0070034], ETHW[.0070034], SHIB[1], USD[0.00]

07951799                              USD[1.01], USDT[0]

07951809                              USD[0.06]

07951822                              DOGE[.05251228], USD[0.00]                                                                                                                                                                 Yes

07951827                              USD[1084.10]                                                                                                                                                                               Yes

07951838                              CUSDT[1], ETH[.11135843], ETHW[.11025441], USD[0.00]                                                                                                                                       Yes

07951854                              NFT (369195034163999036/You in, Miami? #292)[1]

07951867                              USD[0.00]

07951874                              NFT (378151719916829446/FTX - Off The Grid Miami #2845)[1]

07951888                              USD[1.07]

07951894                              BTC[0], DOGE[0], ETH[0], ETHW[0], MATIC[0.23800000], NFT (288594073518750048/Rogue Circuits #4815)[1], NFT (288620347346768713/3D SOLDIER #4653)[1], NFT
                                      (288899060563400111/DonBoar)[1], NFT (288974065091575848/Eitbit Ape #7460)[1], NFT (289318446681580398/Yeti #0010 - Lost In Thought)[1], NFT (289918514062439465/SolDoge Strays
                                      #348)[1], NFT (290890512752416676/MetaVerse Avatar #7)[1], NFT (291049855091279696/Sigma Shark #1130)[1], NFT (291208211889472385/Frog #2378)[1], NFT (291574935910941407/Oink
                                      204)[1], NFT (292627212816893270/Astral Apes #848)[1], NFT (292986757200115654/Deep #244)[1], NFT (293103186035479560/3D CATPUNK #6687)[1], NFT (293247184929966527/Sphynx #26)[1],
                                      NFT (293423640559286110/Astral Apes #1004)[1], NFT (293922464323101483/Ghoulie #5845)[1], NFT (294173839388235597/Villain Dark Sticker. #20)[1], NFT (294408191428901158/3D SOLDIER
                                      #4169)[1], NFT (294493659393533300/Oink 1032)[1], NFT (294937168838284773/#5925)[1], NFT (295006049175997878/Villain Dark Sticker. #9)[1], NFT (295037713069045378/NFT Toys #11)[1], NFT
                                      (295217824928623592/3D CATPUNK #1414)[1], NFT (295342709614959799/MetaVerse People #2)[1], NFT (295613643286128547/SharkBro #2104)[1], NFT (296001252797710268/Pill #30)[1], NFT
                                      (296058807292027886/Villain Dark Sticker. #22)[1], NFT (296126653741251572/DOTB #8268)[1], NFT (296145970076587022/SharkBro #6706)[1], NFT (296262092305727473/Villain Dark Sticker.
                                      #16)[1], NFT (296491282548597452/ROGUE SHARKS #855)[1], NFT (296742339748172549/DOTB #1363)[1], NFT (296781422108565147/Golden bone pass)[1], NFT (297423233775583720/Nobu
                                      Sensei #162)[1], NFT (297643414802563784/3D CATPUNK #8054)[1], NFT (297698320185840945/Astral Apes #3258)[1], NFT (298162072045238572/Toasty Turts #5602)[1], NFT
                                      (298396667693364483/Sphynx Cats #15)[1], NFT (298616911911842767/Sphynx Cats #6)[1], NFT (298978885089094003/Flunk Donkey #1120)[1], NFT (299209472928871489/Astral Apes #2966)[1],
                                      NFT (299617427657581739/Deep #714)[1], NFT (300925355955879974/GOONEY #60)[1], NFT (301239842467510034/Naked Meerkat #5741)[1], NFT (301818778609143043/Gangster Gorillas
                                      #3998)[1], NFT (302343292685053047/Soulless #8885)[1], NFT (302371241837240476/Solana Squirrel #318)[1], NFT (302418639602692882/GOONEY #3774)[1], NFT (302468016056074847/Nifty
                                      Nanas #7405)[1], NFT (302736899889833336/Nobu Sensei #52)[1], NFT (302948635333562641/3D Station #3)[1], NFT (303333974848967983/SharkBro #6610)[1], NFT (303735671463512052/DDD
                                      #39)[1], NFT (303996937063277315/Sphynx Cats #19)[1], NFT (304099399883237791/Rat Bastard #4547)[1], NFT (304187920354305777/Soulless #7660)[1], NFT (304289449260568287/Sol Pengg
                                      #4)[1], NFT (304296987080719052/Solana Squirrel #197)[1], NFT (305090669788105512/Soulless #9530)[1], NFT (305692524562316787/Soulless #9524)[1], NFT (306223655270961257/GOONEY
                                      #4681)[1], NFT (306656115607531207/Elysian - #1448)[1], NFT (307659818716322689/Colorful Agent #2)[1], NFT (307797415307355177/Pretto #15)[1], NFT (307798658768280737/1ST.EDDY-Bully
                                      EOS)[1], NFT (307927282310361734/Astral Apes #2682)[1], NFT (308017192819051774/PixelPuffins #5772)[1], NFT (308529383917419482/Skull Ape Art #22)[1], NFT (308700854841254151/Oink
                                      614)[1], NFT (309125214391341377/Toasty Turts #5151)[1], NFT (309332051251079097/MagicEden Vaults)[1], NFT (310020774507408182/Rat Bastard #4161)[1], NFT (310073702147504734/Oink
                                      3131)[1], NFT (310335773785420467/Kiddo #7204)[1], NFT (311019506109773453/Gangster Gorillas #8010)[1], NFT (311467451094507538/Fancy Frenchies #4196)[1], NFT
                                      (311617001348147738/GalaxyKoalas # 389)[1], NFT (311983525396241417/Whales Nation #6809)[1], NFT (312428018331109410/Rogue Circuits #4314)[1], NFT (312693466440643864/Nobu Sensei
                                      #236)[1], NFT (312787887321887093/Gangster Gorillas #4981)[1], NFT (313633082125283958/Pop Art #16)[1], NFT (313971685100937956/Solana Squirrel #201)[1], NFT (314056977239659960/Naked
                                      Meerkat #2975)[1], NFT (314358289802870667/Eitbit Ape #6758)[1], NFT (314419824382220091/Ghoulie #2761)[1], NFT (314799849620850721/MANKIND #02)[1], NFT (314820312288868619/Sigma
                                      Shark #2490)[1], NFT (315042963135807132/DOTB #4855)[1], NFT (315109871243267546/Rat Bastard #419)[1], NFT (315223064025698489/Ether girl)[1], NFT (315655145735058455/Sigma Shark
                                      #588)[1], NFT (315839864565159816/DOTB #6599)[1], NFT (316138068671461432/Astral Apes #2517)[1], NFT (316913698076100504/Oink 2417)[1], NFT (317125182367864235/Toasty Turts
                                      #2435)[1], NFT (317283475558451403/Sigma Shark #2126)[1], NFT (317717268869973036/Rat Bastard #219)[1], NFT (318224813801374394/Idlekids #5695)[1], NFT
                                      (319858672767073389/ALPHA:RONIN #788)[1], NFT (319937189782211769/3D CATPUNK #1548)[1], NFT (321006423178502848/Pretto #23)[1], NFT (321323158986423678/Sphynx #19)[1], NFT
                                      (321416277426020111/BITWARS #6566)[1], NFT (321425189576194105/DOTB #858)[1], NFT (321496555938374535/PixelPuffins #5478)[1], NFT (321503801286558588/SharkBro #8605)[1], NFT
                                      (321612029900169769/SickintheGulliver Collection #40)[1], NFT (321653927582922851/Whales Nation #65)[1], NFT (321993218952660562/Frog #5129)[1], NFT (322187620299875514/DOTB
                                      #3558)[1], NFT (322441321164801526/My Little Girls #4)[1], NFT (322595632713408973/MetaVerse Skull #15)[1], NFT (323281165686914156/Rogue Circuits #3823)[1], NFT
                                      (323306768553401171/Oink 2104)[1], NFT (323390951311005480/Villain Dark Sticker. #21)[1], NFT (323695785066447356/MagicEden Vaults)[1], NFT (324256065549119627/MetaVerse People
                                      #18)[1], NFT (324726919576136641/Eitbit Ape #235)[1], NFT (325386515731793975/PixelPuffins #2530)[1], NFT (326263112526384904/DOTB #453)[1], NFT (326451687766456328/DOTB #4880)[1],
                                      NFT (326702047850550111/GOONEY #2572)[1], NFT (326849111402041254/Sigma Shark #5941)[1], NFT (327295233615340903/Oink 2276)[1], NFT (327321543518234017/Frog #4966)[1], NFT
                                      (327868266159277357/Rogue Circuits #530)[1], NFT (328320746772640390/Oink 163)[1], NFT (328394441417689755/Panda Fraternity #2955)[1], NFT (329392291839293342/Oink 1704)[1], NFT
                                      (329425300814485668/Solana Squirrel #879)[1], NFT (329662870486247893/Deep #167)[1], NFT (329759311441655896/3D CATPUNK #5319)[1], NFT (330071339131242114/Frog #4501)[1], NFT
                                      (330112348787423209/GOONEY #105)[1], NFT (330606558644904233/Astral Apes #1614)[1], NFT (330661666933644299/Villain Dark Sticker. #12)[1], NFT (330960961411164178/DOTB #521)[1],
                                      NFT (331070197491709103/JungleCats - Lioness Box)[1], NFT (331145987623900615/3D CATPUNK #9569)[1], NFT (331273920812336093/Gangster Gorillas #4031)[1], NFT
                                      (331327209168758814/Rogue Circuits #5143)[1], NFT (331727726980924437/Voxel Animals #22)[1], NFT (332025008705100105/Oink 5158)[1], NFT (332226492115110019/GalaxyKoalas # 753)[1],
                                      NFT (332541044565428410/DOTB #3356)[1], NFT (332731732426518796/Flunk Donkey #2095)[1], NFT (332901761572190565/Idlekids #5967)[1], NFT (333061491724771245/MagicEden Vaults)[1],
                                      NFT (333312433562381442/Oink 2238)[1], NFT (333528575560609337/Sigma Shark #5894)[1], NFT (333892190921292343/Box Heads #4)[1], NFT (334272438494664608/Solana Squirrel #313)[1],
                                      NFT (334450838755914500/Crazy dog#8)[1], NFT (335062062738898773/Eitbit Ape #6669)[1], NFT (335295760967243121/Crypto Dinasaurs #6)[1], NFT (335596790752490839/Astral Apes #1938)[1],
                                      NFT (335620815835920988/Sphynx #13)[1], NFT (335622784021418975/Pretto #21)[1], NFT (335671608219095506/Rogue Circuits #248)[1], NFT (336150247592033825/Toasty Turts #4036)[1], NFT
                                      (336711007250980254/Villain Dark Sticker. #8)[1], NFT (336719360034159613/Deep #39)[1], NFT (337447031675205892/ROGUE SHARKS #2060)[1], NFT (338530928662041612/MetaGuardian
                                      #2)[1], NFT (338764793475198291/TEDDY DAD #172)[1], NFT (339121116773934837/GOONEY #1232)[1], NFT (340446903802439200/Ghoulie #7060)[1], NFT (341496378946378659/Solana Squirrel
                                      #910)[1], NFT (342399762587974056/Nifty Nanas #8609)[1], NFT (342636444198208198/Colorful Agent #7)[1], NFT (342936284373273272/Sphynx Cats #5)[1], NFT (343072713837761806/Mage
                                      Blade)[1], NFT (343429105044756135/Toasty Turts #3659)[1], NFT (343434046986962926/GOONEY #2105)[1], NFT (343550598538767427/Astral Apes #1758)[1], NFT (344548763416414967/Rogue
                                      Circuits #260)[1], NFT (344613909993411874/Ghoulie #5848)[1], NFT (344867433024220490/Toasty Turts #1760)[1], NFT (344928261648139881/3D SOLDIER #3573)[1], NFT
                                      (345402831673427866/Idlekids #2868)[1], NFT (345882482148981464/Oink 2645)[1], NFT (346081755865251405/Whales Nation #7105)[1], NFT (346161921373208070/Rat Bastard #3279)[1], NFT
                                      (346547418441570212/Villain Dark Sticker. #24)[1], NFT (347151646230877687/Bevel Boy #050)[1], NFT (347520488982401943/3D SOLDIER #1907)[1], NFT (347575177904846830/3D SOLDIER
                                      #1316)[1], NFT (347751197666998313/SOLYETIS #2114)[1], NFT (348283555459034492/DOTB #6419)[1], NFT (349340663832422735/GOONEY #2998)[1], NFT (349374015407137901/GOONEY
                                      #1397)[1], NFT (349406021462970799/Sigma Shark #2504)[1], NFT (349425485505275760/Toasty Turts #3571)[1], NFT (349662102982818826/Flunk Donkey #121)[1], NFT
07951914                              BAT[1], DOGE[2], LINK[1], TRX[1], USD[0.00]

07951915                              USD[5.31], USDT[1.6151583]

07951920                              CUSDT[1], USD[0.00]

07951929                              SHIB[1802129.34133415], USD[2.54]

07951932                              DOGE[22.59085763], ETH[.0013482], ETHW[.00133452], USD[0.00]                                                                                                                               Yes

07951935                              BTC[.00106656], DOGE[1], ETH[.07924617], ETHW[.07826449], MATIC[43.89574027], SOL[.53664233], USD[0.07]                                                                                    Yes

07951945                              USD[0.00], USDT[0]

07951953       Contingent, Disputed   USD[0.07]                                                                                                                                                                                  Yes

07951954                              BTC[.0016], SOL[.07], USD[0.06]

07951957                              DOGE[36.13306666], TRX[1], USD[0.00]

07951960                              DOGE[1], SOL[.00002222], TRX[1], USD[0.01]                                                                                                                                                 Yes

07951962                              SHIB[1], USD[315.39]                                                                                                                                                                       Yes

07951964                              SOL[.20574639], USD[0.00]
West Realm Shires Services Inc.                                                        Case 22-11068-JTD      Doc F-3:
                                                                                                   Amended Schedule 1754      Filed
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                                                                                                                                             Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07951971                              ETH[0], USD[0.00]                                                                                                                                                                       Yes

07951978                              AAVE[1.01645868], BRZ[1], BTC[.00048494], CUSDT[3], DOGE[1175.52980934], ETH[.05881812], ETHW[.05808872], SHIB[697058.55575949], SOL[.52129372], SUSHI[7.41137981],                     Yes
                                      TRX[2308.18234161], USD[100.06]
07951984                              NFT (483625662363906316/Coachella x FTX Weekend 2 #14740)[1]                                                                                                                            Yes

07951995                              BF_POINT[100], NFT (392292815760572187/You in, Miami? #293)[1]

07951998                              NFT (399764871120158856/Coachella x FTX Weekend 2 #7254)[1]

07952006                              NFT (536624577667128201/Imola Ticket Stub #1195)[1]

07952008                              NFT (371249133156361843/You in, Miami? #294)[1]

07952011                              BTC[.0105], MATIC[9.14], SHIB[130869000], SOL[6.69], USD[0.62]

07952017                              BRZ[1], CUSDT[3], DOGE[1], USD[0.01], USDT[0.00001129]                                                                                                                                  Yes

07952020                              BRZ[11.786], ETH[.00000001], ETHW[0], KSHIB[10], MATIC[1.0741809], NFT (322013145823077504/ApexDucks #7702)[1], SHIB[48733.37172960], SOL[0.18799999], SUSHI[.0486], USD[0.07]

07952032                              BAT[8.59490832], CUSDT[734.5238663], DOGE[2], GRT[99.7506785], MATIC[62.7725935], SHIB[624287.33499823], SOL[.66214454], TRX[2], USD[4.50]                                              Yes

07952033                              USD[0.93]

07952035                              BRZ[1684.47247656], SOL[9.40479997], USD[0.00], USDT[0.00000004]

07952036                              USD[0.00]

07952042                              USD[11.00]

07952043                              USD[140.99]

07952055                              USD[10.00]

07952069                              BRZ[1], CUSDT[5], DOGE[3], ETH[.00000261], ETHW[.00000261], MATIC[.00907295], NFT (303199034848404820/FTX - Off The Grid Miami #6019)[1], NFT (307652876613495053/The Hill by FTX       Yes
                                      #8389)[1], NFT (499444180436588026/Imola Ticket Stub #923)[1], NFT (510600730054009037/Entrance Voucher #3096)[1], SHIB[1], SOL[.00004211], TRX[2], USD[0.01]
07952072                              ETH[.00252446], ETHW[.00252446], USD[0.00]

07952081       Contingent, Disputed   BF_POINT[100], USD[0.00]                                                                                                                                                                Yes

07952086                              NFT (416871451902962230/You in, Miami? #295)[1]

07952093                              ETHW[.07548461], SHIB[10], TRX[1], USD[116.88]                                                                                                                                          Yes

07952094                              USD[20.00]

07952095                              SOL[0], USD[0.00]

07952097                              AVAX[.00102403], BTC[0], ETH[0], ETHW[0], MATIC[.00274019], NEAR[29.18309487], NFT (565334105178441948/Entrance Voucher #2674)[1], SOL[.00005809], USD[0.89]                            Yes

07952103                              USD[0.00]

07952109                              DOGE[1], KSHIB[0], NFT (343959753303395243/2D SOLDIER #1982)[1], NFT (440278033505095840/3D CATPUNK #524)[1], NFT (447243617367453606/3D CATPUNK #1176)[1], NFT                         Yes
                                      (521177597239373365/Anti Artist #587)[1], SHIB[5], SOL[0.06934342], TRX[2], USD[0.00]
07952110                              NFT (355556798874062898/You in, Miami? #296)[1]

07952131                              USD[1040.32]                                                                                                                                                                            Yes

07952133                              ETH[0], ETHW[0.20907520], SOL[0], USD[1.59]

07952140                              ETH[0], USD[0.00], USDT[0.00001070]

07952149                              SOL[2.17582762]                                                                                                                                                                         Yes

07952152                              DOGE[.94], LINK[.4995], MATIC[1.51195414], USD[0.00]

07952158                              USD[100.00]

07952159                              USD[250.00]

07952181                              NFT (366313693042114184/Miner Bot 626)[1], SHIB[1], SOL[0], USD[0.00]                                                                                                                   Yes

07952188                              ETH[0.01316804], ETHW[0.01316804], USD[0.00]

07952211                              NFT (439509591692787912/You in, Miami? #297)[1]

07952213                              BTC[.00206835], NFT (378360392509800310/I SEE YOU)[1], NFT (451567005196747266/FTX US DaVinci Spiral )[1], SOL[.07611], USD[0.00]

07952216                              CUSDT[1], USD[0.00]                                                                                                                                                                     Yes

07952225                              BTC[.00016462], USD[0.00]

07952226                              CUSDT[3], DOGE[237.45393584], SHIB[1071346.90767421], SOL[.56833401], USD[0.00]                                                                                                         Yes

07952233                              USD[0.00]

07952239                              BTC[.0013525], SOL[11.736185], TRX[362], USD[128.68], USDT[200.12]

07952250                              NFT (309791442248026025/DFE #2601)[1], NFT (319536345276585372/Joylina's Cantina S1 #9076)[1], NFT (356250575833101683/Joylina's Cantina S1 #9068)[1], NFT
                                      (419358466059065846/Joylina's Cantina S1 #9075)[1], NFT (459483193415137184/Joylina's Cantina S1 #6171)[1], NFT (548192398132175035/Joylina's Cantina S1 #5361)[1], NFT
                                      (561152978100227943/Joylina's Cantina S1 #5879)[1]
07952263                              DOGE[1], SHIB[8164162.79441645], USD[0.64]                                                                                                                                              Yes

07952267                              BCH[.188386], BRZ[3], BTC[.04891374], CUSDT[27], DOGE[61.07254179], ETH[.39146543], ETHW[.39130121], KSHIB[1684.10971063], MATIC[.0000256], NFT (320880811942239939/Cool Bean           Yes
                                      #141)[1], NFT (339730666940807196/ApexDucks #6171)[1], NFT (397185831439327855/ScarecrowPixel #3)[1], NFT (453521004406136696/Fatperson)[1], NFT (486809594140532053/Hot doggy)[1],
                                      NFT (514815843036768293/Dog the 1)[1], NFT (552945582831462332/ScarecrowPixel #9)[1], NFT (573832980957893890/ScarecrowPixel #6)[1], SHIB[1814182.09410225], SOL[3.18939947], TRX[5],
                                      USD[0.13]
07952269                              USD[0.00], USDT[0]

07952278                              DOGE[.00003841], SHIB[.00008308], USD[0.01], USDT[0.00000001]                                                                                                                           Yes

07952289                              USD[0.00]

07952292                              CUSDT[2], USD[21.85]                                                                                                                                                                    Yes

07952299                              SOL[.00562536], USD[20.44]                                                                                                                                                              Yes

07952306                              BTC[.01619494], DOGE[1], TRX[1], USD[0.02]

07952310                              ETH[.02003999], ETHW[.02003999], SOL[0], USD[0.00], USDT[0]

07952311                              NFT (333576447997631846/Entrance Voucher #3987)[1]
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                                                                                                    Amended Schedule 1754      Filed
                                                                                                                        Nonpriority     06/27/23
                                                                                                                                    Unsecured           Page 540 of 1384
                                                                                                                                              Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07952312                              USD[543.97]                                                                                                                                                                                 Yes

07952318                              BTC[.000093], MATIC[9.97], TRX[.587], USD[0.01]

07952323                              USD[0.00]

07952326                              BF_POINT[300]

07952329                              NFT (442251716258733707/You in, Miami? #299)[1]                                                                                                                                             Yes

07952335                              CUSDT[2], MATIC[88.22621726], SOL[.67537291], USD[0.00]                                                                                                                                     Yes

07952341                              USD[0.01]                                                                                                                                                                                   Yes

07952345                              SOL[.2768]

07952349                              BRZ[1], CUSDT[2], DOGE[103.46631707], LTC[.07857565], MKR[.0047578], NFT (387206522231936742/FTX - Off The Grid Miami #864)[1], SHIB[1325147.79797985], USD[0.00]                           Yes

07952354                              LTC[.008], SOL[0.00192559], USD[282.11]

07952366                              BTC[.0000496], USD[0.64], USDT[0]

07952370                              NFT (436147233837056642/You in, Miami? #300)[1]

07952371                              BTC[.00002414]

07952373                              NFT (402315598774922096/You in, Miami? #301)[1]

07952378                              ETH[.367512], ETHW[.367512], SOL[.05], USD[3.38]

07952380                              MATIC[1.89101802], NFT (316792624141928280/You in, Miami? #302)[1], USD[0.00]

07952382                              BF_POINT[300], MATIC[0], USD[0.00]                                                                                                                                                          Yes

07952384                              BTC[0.00002243], DOGE[1], ETH[0], USD[0.00], USDT[0]                                                                                                                                        Yes

07952388                              MATIC[0], NFT (392545528346225671/Australia Ticket Stub #94)[1], NFT (411900933386541099/Entrance Voucher #4135)[1], SOL[0], USD[0.86]

07952391                              BRZ[1], CUSDT[2], SHIB[2], SOL[0], TRX[2], USD[0.00]

07952393                              BF_POINT[200]                                                                                                                                                                               Yes

07952402                              USD[0.00]

07952404                              CUSDT[1], DOGE[103.28011247], SHIB[1], USD[0.00]                                                                                                                                            Yes

07952407                              NFT (427384382105146160/2974 Floyd Norman - OKC 1-0048)[1], SOL[.00000001], USD[5.53]

07952413                              BRZ[1], DOGE[1], LINK[.00002141], MATIC[.00003596], NFT (428111319671856896/Miami Ticket Stub #309)[1], SHIB[10.97344801], SOL[0], USD[0.01]

07952414                              CUSDT[3], EUR[0.00], USD[0.00]                                                                                                                                                              Yes

07952415                              DOGE[0], ETH[.00000001], NFT (318361238972711800/Entrance Voucher #3083)[1], SHIB[19], SOL[0.00043769], TRX[3], USD[0.00], USDT[1.04456157]                                                 Yes

07952417                              MATIC[.38992065], NFT (305813745658115158/FTX - Off The Grid Miami #9)[1], SOL[0], TRX[1], USD[0.00]                                                                                        Yes

07952420                              BAT[9.71467109], BRZ[7.54437725], BTC[.00000012], CUSDT[22], DOGE[19.41307552], ETH[.00000136], ETHW[.00000136], GRT[6.22156653], LINK[.00029285], TRX[18.26849421],                        Yes
                                      UNI[1.07780257], USD[0.01], USDT[12.92501041]
07952431       Contingent, Disputed   SOL[.00000001], USD[0.00], USDT[0.00000093]

07952433                              NFT (421004599236593737/You in, Miami? #303)[1]

07952435                              NFT (301934563016533455/Night Light #617)[1], NFT (319546224485210558/Ferris From Afar #982)[1], NFT (323424628154245181/Reflection '15 #45)[1], NFT (323895259363235734/Ferris From Afar
                                      #549)[1], NFT (327751431779869640/Colossal Cacti #200)[1], NFT (334529195886167323/Spectra #618)[1], NFT (347386383476394580/Vintage Sahara #172)[1], NFT (352124962215112446/Cosmic
                                      Creations #105)[1], NFT (354170307095627305/Reflector #281)[1], NFT (357503887778291668/Reflection '14 #29)[1], NFT (364973564613834487/Sun Set #873)[1], NFT
                                      (365779859790030349/Colossal Cacti #706)[1], NFT (370482961425276078/Night Light #312)[1], NFT (377502300286225968/Reflection '12 #29)[1], NFT (379636831590747169/Cosmic Creations
                                      #778)[1], NFT (382529795120238665/Golden Hill #557)[1], NFT (392351096234776297/Vintage Sahara #529)[1], NFT (406862405982919250/Reflection '18 #43)[1], NFT (409257796261165177/Golden
                                      Hill #396)[1], NFT (422996215075558122/Reflection '13 #03)[1], NFT (425115363971583830/Reflection '07 #75)[1], NFT (432930817521131628/Reflection '10 #26)[1], NFT
                                      (464451920026586607/Reflection '19 #74)[1], NFT (472091200275831887/Beasts #131)[1], NFT (479365418802211504/Beasts #848)[1], NFT (493805573162397383/Reflection '16 #22)[1], NFT
                                      (524668788412959911/Sun Set #582)[1], NFT (525762333657390167/Reflection '11 #85)[1], NFT (550417667877926749/Spectra #208)[1], NFT (571524176246967742/Reflector #888)[1],
                                      USD[14942.75]
07952437                              ETH[.0963918], ETHW[13.1973918], SOL[78.1327], TRX[.015879], USD[6.97], USDT[160.34807617]

07952444                              BRZ[1], CUSDT[1], DOGE[1], ETH[.00000001], USD[0.00]                                                                                                                                        Yes

07952445                              DOGE[1], GRT[1], TRX[1], UNI[1], USD[0.65], USDT[3]

07952452                              USD[18.55]

07952453                              USD[20.00]

07952464                              AAVE[19.984], AVAX[.076], BTC[0.00009447], ETH[.0181088], ETHW[1.9981088], GRT[.4], LINK[.0347], MATIC[.628], SOL[50.01665171], USD[17211.59]

07952472                              DOGE[1], SOL[2.8275902], USD[0.19]                                                                                                                                                          Yes

07952475                              BTC[.00082019], CUSDT[1], USD[0.00]

07952482                              USD[13.05]                                                                                                                                                                                  Yes
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                                                                                               Amended Schedule 1754      Filed
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                                                                                                                                         Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07952484                           AVAX[0.05277873], DOGE[0], NFT (289590673820522953/Curate technique#Session-17)[1], NFT (296173787420043324/Phycho Skeleton #4)[1], NFT (296931213620110393/ThugAlienPunks#6)[1],
                                   NFT (303049356495443928/Magic Solana NFT#5)[1], NFT (307443375859011887/Solana Rune NFT#20)[1], NFT (313810922667743393/Curate technique#Session-4)[1], NFT
                                   (314114529145759762/Saudi Arabia Ticket Stub #1231)[1], NFT (315948343363372566/Curate technique#Session-12)[1], NFT (316074580371499254/ThugAlienPunks#1)[1], NFT
                                   (322027691310196851/Curate technique#Session-8)[1], NFT (322113046128561127/ThugAlienPunks#8)[1], NFT (324113608001646527/ThugAlienPunks#Commander)[1], NFT
                                   (324770247400139328/DIGITALPUNK'S#NFT#3)[1], NFT (325765010732086551/Curate technique#Sesion-2)[1], NFT (328849715490268557/Urban Gorillas NFT Collection #1073)[1], NFT
                                   (334720673002323153/Solana Rune NFT#9)[1], NFT (336724743876309720/Rhino #280)[1], NFT (342358178739779467/Urban Gorillas NFT Collection #1071)[1], NFT (343198797488212920/Magic
                                   Solana NFT#8)[1], NFT (349171704310368396/Magic Solana NFT#7)[1], NFT (349500709083684337/Solana Rune NFT#12)[1], NFT (352416808136432979/ThugAlienPunks#10)[1], NFT
                                   (352568646722975856/Solana Rune NFT#11)[1], NFT (353567809348102724/Magic Solana NFT#6)[1], NFT (354709029987788014/Curate technique#Session-6)[1], NFT (357077848568288620/Curate
                                   technique#Sesion-1)[1], NFT (361200191914463136/Urban Gorillas NFT Collection #1072)[1], NFT (364780245409208173/Urban Gorillas NFT Collection #108)[1], NFT (367822555545042173/Solana
                                   Rune NFT#23)[1], NFT (372438238363004978/Solana Rune NFT#1)[1], NFT (373178360327728606/Solana Rune NFT#3)[1], NFT (379812590897297622/FTX - Off The Grid Miami #1556)[1], NFT
                                   (385294982504912422/DIGITALPUNK'S#NFT#10)[1], NFT (385477909666159182/Solana Rune NFT#10)[1], NFT (387211761114274550/Urban Gorillas NFT Collection #1079)[1], NFT
                                   (392377059632015868/Solana Rune NFT#5)[1], NFT (395865840643833886/DIGITALPUNK'S#NFT#9)[1], NFT (404043832262832954/Solana Rune NFT#7)[1], NFT (410437889437448539/Solana Rune
                                   NFT#17)[1], NFT (415414226841605360/DIGITALPUNK'S#NFT#9 #2)[1], NFT (418274829212503392/Curate technique#Session-5)[1], NFT (424721651337016285/Curate technique#Session-16)[1],
                                   NFT (431801729811151841/Solana Rune NFT#4)[1], NFT (436500342975250692/Solana Rune NFT#14)[1], NFT (439051336702793825/Urban Gorillas NFT Collection #1074)[1], NFT
                                   (449117817589404079/ThugAlienPunks#2)[1], NFT (450067483376813736/Curate technique#Session-20)[1], NFT (452738281704061938/Solana Rune NFT#13)[1], NFT
                                   (457111635151198046/Entrance Voucher #21)[1], NFT (464558877784497170/Curate technique#Session-19)[1], NFT (467312868815662250/Curate technique#Session-14)[1], NFT
                                   (469763261479652615/Exiled Alien #686)[1], NFT (471525972741902844/Urban Gorillas NFT Collection #1070)[1], NFT (472417020963550951/FTX Crypto Cup 2022 Key #26249)[1], NFT
                                   (474725321781446243/ThugAlienPunks#7)[1], NFT (474939787210699848/DIGITALPUNK'S#NFT#7)[1], NFT (481059993907480611/Settler #2027)[1], NFT (481249855350358360/Solana Rune
                                   NFT#8)[1], NFT (484886617455139112/Solana Rune NFT#18)[1], NFT (487725482182189159/Solninjas #9306)[1], NFT (493837425999869150/Curate technique#Session-3)[1], NFT
                                   (497845970051648987/Splashing colors in abstract way)[1], NFT (514859285320713431/Urban Gorillas NFT Collection #1078)[1], NFT (515576898175743276/ThugAlienPunks#4)[1], NFT
                                   (516771942120423156/Solana Rune NFT#19)[1], NFT (519044313876644045/Urban Gorillas NFT Collection #1076)[1], NFT (521215494465164899/The Hill by FTX #3294)[1], NFT
                                   (531160429568713400/Magic Solana NFT#3)[1], NFT (532786701768928338/Urban Gorillas NFT Collection #1077)[1], NFT (534075803561502051/Solana Rune NFT#6)[1], NFT
                                   (542551974559394913/Solana Rune NFT#21)[1], NFT (547042261101324878/Magic Solana NFT#2)[1], NFT (547261807454272535/Solana Rune NFT#15)[1], NFT
                                   (547640245688772088/ThugAlienPunks#9)[1], NFT (548541770367803410/Curate technique#Session-7)[1], NFT (550861085603697242/APEFUEL by Almond Breeze #524)[1], NFT
                                   (551053385495568135/Solana Rune NFT#22)[1], NFT (551687434004537128/Solana Rune NFT#2)[1], NFT (554729632061704148/Curate technique#Session-9)[1], NFT (556896635798067718/Urban
                                   Gorillas NFT Collection #1075)[1], NFT (559337747982668054/ThugAlienPunks#3)[1], NFT (562384587234404700/Curate technique#Session-18)[1], NFT (565723344273200986/Solana Rune
                                   NFT#16)[1], NFT (568235241289917276/The best remix)[1], NFT (568694247455030762/Solana Rune NFT#24)[1], NFT (569151366302742759/Curate technique#Session-13)[1], NFT
                                   (575373437433113685/Magic Solana NFT#4)[1], SOL[.00400001], USD[0.32]

07952490                           ETH[.406659], ETHW[.406659], SOL[23.20565], USD[507.41]

07952492                           MATIC[24.60474709], SHIB[1], USD[0.00]

07952499                           DOGE[432], GRT[26.23080060], LINK[14.59217], LTC[3.61240514], MATIC[129.946], SOL[5.515248], USD[0.70]

07952501                           CUSDT[2], USD[0.17]

07952505                           CUSDT[1], GRT[95.43422147], USD[0.00]                                                                                                                                                     Yes

07952509                           CUSDT[1], DOGE[1], KSHIB[154.03939033], USD[530.29]                                                                                                                                       Yes

07952510                           NFT (289168916466040778/Animal Gang #25)[1], NFT (290087303899487105/Inaugural Collection #869)[1], NFT (291320982803029321/ALPHA:RONIN #712)[1], NFT (292248123327977562/SolDoge
                                   Strays #208)[1], NFT (292417647448593906/Deep #75)[1], NFT (292741544217944613/ApexDucks #3463)[1], NFT (293344584443712234/3D CATPUNK #6584)[1], NFT (293957802523872154/DOTB
                                   #1324)[1], NFT (294938418984693130/Careless Cat #975)[1], NFT (296618735631054111/ApexDucks #6772)[1], NFT (297029870962984374/Rat Bastard #3161)[1], NFT
                                   (298059251908669965/Ghoulie #4203)[1], NFT (299696430576019387/Whales Nation #1122)[1], NFT (300748185115800360/SolBunnies #392)[1], NFT (301544197083511027/SolBunnies #2324)[1],
                                   NFT (302942417578755674/sheep_626)[1], NFT (303698497120532817/Rox #288)[1], NFT (303716374831206906/3D CATPUNK #1370)[1], NFT (303910680145777464/Careless Cat #106)[1], NFT
                                   (304656136653294653/Monk #2362)[1], NFT (305011334712713570/Fairy Tale #8)[1], NFT (306284739651458202/Lunarian #4867)[1], NFT (306466836863501903/Autumn 2021 #2114)[1], NFT
                                   (307937342593916479/SolBunnies #1193)[1], NFT (308500618263315842/SolDoge Strays #563)[1], NFT (310611335170155706/Chanty #1048)[1], NFT (311541802631098148/SolBunnies #523)[1],
                                   NFT (314062619764212774/Terraform Seed)[1], NFT (315732586283465416/Necropirate #1322)[1], NFT (318997700401150646/Inaugural Collection #1781)[1], NFT (319416620783936592/Rogue
                                   Circuits #4254)[1], NFT (322198234894958073/Angel Seraph)[1], NFT (322648489499085669/The Tower #397-5)[1], NFT (323322316221124533/Space Bums #6117)[1], NFT
                                   (324320380983653946/Solana Penguin #4502)[1], NFT (325488044173513573/The Pigsels #675)[1], NFT (326554584008933062/Oink 3035)[1], NFT (329221559232550127/Solninjas #3817)[1], NFT
                                   (331912814095038447/Rox #114)[1], NFT (332289208148350709/ApexDucks #585)[1], NFT (332782180422497149/Inaugural Collection #315)[1], NFT (333134151882862609/Sigma Shark #1363)[1],
                                   NFT (334036836439381600/Oink 1755)[1], NFT (334470397038606551/SOLYETIS #2021)[1], NFT (334965167135769856/Eitbit Ape #437)[1], NFT (335681697903985970/Inaugural Collection #708)[1],
                                   NFT (335823369671613243/3D CATPUNK #5022)[1], NFT (336255674653443318/Gangster Gorillas #1195)[1], NFT (336352368630584018/Space Bums #5729)[1], NFT (337032487027046322/Sigma
                                   Shark #5750)[1], NFT (337741334879130054/Heaven's Gate )[1], NFT (338318829563022086/Solana Penguin #1353)[1], NFT (338779152492243448/Oink 1054)[1], NFT
                                   (340368496796318403/ALPHA:RONIN #1201)[1], NFT (340504990592161341/DOTB #664)[1], NFT (341145104162035434/DOTB #3968)[1], NFT (344200424114213677/Anti Artist #646)[1], NFT
                                   (344908364209194840/Gangster Gorillas #1690)[1], NFT (345263002925485991/Saudi Arabia Ticket Stub #2116)[1], NFT (345328791257495584/Eitbit Ape #6476)[1], NFT (345383831013070809/The
                                   Tower #51-5)[1], NFT (345800752510817880/Inaugural Collection #1770)[1], NFT (346188862952838985/Nifty Nanas #8204)[1], NFT (346241296076626728/Ghoulie #4197)[1], NFT
                                   (346400545866583776/GalaxyKoalas # 977)[1], NFT (346874902780149990/DOTB #6204)[1], NFT (347138382067072924/Gangster Gorillas #9889)[1], NFT (347504809726585599/Oink 2641)[1], NFT
                                   (348038018513519711/ApexDucks #5544)[1], NFT (350273508809801983/3D CATPUNK #4205)[1], NFT (350722302526597306/AstralGlitchArt #2)[1], NFT (352230257307008614/#5054)[1], NFT
                                   (353089082327083037/SolDoge Strays #569)[1], NFT (354181023703046350/Whales Nation #5779)[1], NFT (354370787004658999/Gangster Gorillas #3375)[1], NFT (354704988287640818/Rat
                                   Bastard #3381)[1], NFT (357014929855636493/Sigma Shark #561)[1], NFT (357485493179336967/ApexDucks #3097)[1], NFT (357542452992818296/Terraform Seed)[1], NFT
                                   (357825394315260591/Panda Fraternity #3659)[1], NFT (359097830085971771/Eitbit Ape #1209)[1], NFT (359818291441567864/Kula)[1], NFT (360796372260264216/Eitbit Ape #1121)[1], NFT
                                   (361923597066656898/DOTB #3323)[1], NFT (363488534279833928/Toasty Turts #1391)[1], NFT (363697356962622162/Careless Cat #514)[1], NFT (365564586169433749/Gangster Gorillas
                                   #5816)[1], NFT (365759995789448007/Synesthesia #970)[1], NFT (366017931963014049/Nifty Nanas #218)[1], NFT (366495569105422665/Oink 2541)[1], NFT (366588179254747473/Rogue Circuits
                                   #3896)[1], NFT (366989300068546182/Mech #3698)[1], NFT (367720418323178253/Rat Bastard #3689)[1], NFT (368940066737480031/ApexDucks #6511)[1], NFT (370433134439447270/Sigma Shark
                                   #2935)[1], NFT (371248001325297019/AstralGlitchArt #6)[1], NFT (372124968845273925/Common Cryptogram)[1], NFT (372126915076855752/Mech #1286)[1], NFT (372267111087598275/Panda
                                   Fraternity #654)[1], NFT (373764503431198793/Sigma Shark #4480)[1], NFT (374234473108205558/Eitbit Ape #477)[1], NFT (376604706909428186/Solninjas #7256)[1], NFT
                                   (376810955902387907/Oink 1477)[1], NFT (379985564994170796/Toasty Turts #1255)[1], NFT (381232751064171244/The Pigsels #1142)[1], NFT (381911319105712611/Sigma Shark #2549)[1], NFT
                                   (382187272585341294/Careless Cat #437)[1], NFT (386248756280516108/Solana Penguin #3793)[1], NFT (386366748914315181/Whales Nation #7393)[1], NFT (388145141759849310/SOLYETIS
                                   #6489)[1], NFT (390150247299356195/SolDad #2613)[1], NFT (391230948027625486/Elysian - #4567)[1], NFT (391614551220325469/Whales Nation #7406)[1], NFT (392187652127387407/Sloth
                                   #5026)[1], NFT (392814261094723312/ApexDucks #3987)[1], NFT (393550695213202383/The Homely Beta)[1], NFT (394234775615691811/Fairy Tale #6)[1], NFT (394445161484507720/Lunarian
                                   #482)[1], NFT (394634341508815737/Deep #451)[1], NFT (395059835805712344/SOL BROBOT #5442)[1], NFT (395273843179949591/Munk #2807)[1], NFT (395714211531105900/AstralGlitchArt
                                   #4)[1], NFT (397931123409354742/Solana Penguin #5828)[1], NFT (398089380291309029/Anti Artist #186)[1], NFT (399551236591224982/Common Cryptogram)[1], NFT (399728323966173372/Nobu
                                   Sensei #675)[1], NFT (399747311420043348/ALPHA:RONIN #182)[1], NFT (399797385019128829/AstralGlitchArt #7)[1], NFT (400791042170248259/ Untouched nature - River #3)[1], NFT
                                   (403118884618525934/Astral Apes #1444)[1], NFT (403371627350195831/Kiddo #448)[1], NFT (403502577746374948/Panda Fraternity #2723)[1], NFT (403543253394400373/Demon)[1], NFT
                                   (405054608901167239/Reclaimed Tower #143)[1], NFT (405598515961075845/Kiddo #3597)[1], NFT (406221600599155284/Chainbreaker 273)[1], NFT (406552144622479901/Nifty Nanas #8431)[1],
                                   NFT (409049348483522545/APEFUEL by Almond Breeze #689)[1], NFT (411134840100500526/Space Bums #7176)[1], NFT (412634372184906600/Kiddo #5129)[1], NFT
                                   (412650215478218953/Inaugural Collection #1468)[1], NFT (413718113012927547/AstralGlitchArt #10)[1], NFT (414670256090742484/SOL BROBOT #202)[1], NFT (418090355498719503/DOTB
                                   #5674)[1], NFT (418092805406425167/Oink 2858)[1], NFT (418113834642018684/Careless Cat #788)[1], NFT (418649248946261837/Baddies #4240)[1], NFT (419935352168908494/Arbiter 149)[1],
                                   NFT (419980474899880313/Inaugural Collection #751)[1], NFT (420283901480998125/Rat Bastard #423)[1], NFT (423593680720884770/The Tower #190-8)[1], NFT
                                   (424272064339020087/sheep_658)[1], NFT (425676408240769751/Whales Nation #6577)[1], NFT (427714168370807910/Baddies #4319)[1], NFT (429302866417342801/Common Cryptogram)[1], NFT
                                   (429336405087005192/Solninjas #5713)[1], NFT (429406564794959399/GalaxyKoalas # 621)[1], NFT (429450551376935000/ApexDucks #4114)[1], NFT (430237995018532166/Sigma Shark #5764)[1],
                                   NFT (430730532677784573/Oink 916)[1], NFT (430834426109664542/Roamer #600)[1], NFT (431203111730954772/Toasty Turts #4996)[1], NFT (431404849088850939/Whales Nation #6619)[1], NFT
                                   (432416996217209973/Toasty Turts #4264)[1], NFT (432735200384750345/DOTB #5568)[1], NFT (433126557769972978/Sigma Shark #106)[1], NFT (433646545667352762/Heaven in The Sky)[1],
                                   NFT (434568900221689013/GalaxyKoalas # 345)[1], NFT (435258569877031508/Lorenz #1450)[1], NFT (435514418281960384/Rug Pull)[1], NFT (437308516530906975/3D CATPUNK #5610)[1], NFT
                                   (437833624157658855/Fairy Tale #1)[1], NFT (439410859160016695/Panda Fraternity #4240)[1], NFT (440241247417559526/DOTB #1140)[1], NFT (441051422380255414/AstralGlitchArt #5)[1], NFT
                                   (443549931780302248/#8754 Inverse Bear)[1], NFT (443674155711202426/FTX AU - we are here! #51527)[1], NFT (445019458236790192/Inaugural Collection #798)[1], NFT
                                   (445289664665154214/SolanaDoge #2558)[1], NFT (445387387672496454/Arbiter 188)[1], NFT (445714029415245915/#7609 Inverse Bear)[1], NFT (447398605155003938/AstralGlitchArt #3)[1], NFT
                                   (448662686335277897/SolDad #4899)[1], NFT (449054530852338882/Depths Of Hell)[1], NFT (450344839498812831/AstralGlitchArt #8)[1], NFT (450628674650509066/SolBunnies #1031)[1], NFT
                                   (451390913795641548/Sigma Shark #4265)[1], NFT (451532651678512582/Soulless #169)[1], NFT (451931709055814369/Eitbit Ape #4065)[1], NFT (452505136224658356/Whales Nation #6816)[1],
                                   NFT (452541905800631311/GalaxyKoalas # 955)[1], NFT (453056727218938990/Deep #402)[1], NFT (453264004828532985/Space Bums #3184)[1], NFT (453804846542927597/The Tower #205-
07952517                           CUSDT[1], SOL[.00000001], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07952540                           ETH[.00000294], ETHW[.09859673], NFT (312216062893270116/Saudi Arabia Ticket Stub #423)[1], SHIB[1], UNI[.00006449], USD[3850.81]                                                     Yes

07952541                           NFT (316389619700213046/You in, Miami? #304)[1]

07952548                           USD[1.00], USDT[0.00000218]

07952562                           BTC[0], DOGE[0], LINK[0], SOL[0], USD[0.00]

07952568                           DOGE[21089.92451922], ETH[.00000001], USD[0.00]

07952569                           USD[24.50]

07952572                           USD[0.00]

07952580                           BTC[.00618776], ETH[.428], ETHW[.428], MATIC[1110.4473383], SOL[4.51407848], USD[21.68]

07952581                           CUSDT[1], ETHW[3.63658483], GRT[1.00199749], USD[0.00]                                                                                                                                Yes

07952585                           NFT (456408263252500699/You in, Miami? #305)[1], USD[543.94]                                                                                                                          Yes

07952587                           NFT (341368030657803109/You in, Miami? #306)[1]

07952588                           USD[0.00]

07952592                           AVAX[.00000001], BAT[2.07708798], BRZ[1], CUSDT[5], DOGE[4], GRT[2.02882455], SHIB[6], SOL[.00000001], TRX[8], USD[0.00]                                                              Yes

07952602                           BTC[0.01079477], ETH[.186924], ETHW[.186924], LINK[27.27416], MATIC[99.297], MKR[.00866085], SHIB[491450], SOL[3.4344295], SUSHI[1.4639], USD[7.79], USDT[0], YFI[.0019943]

07952603                           NFT (569254454873953111/You in, Miami? #308)[1]

07952607                           NFT (548019091391078919/Coachella x FTX Weekend 2 #3534)[1]

07952610                           ETH[.00000001], ETHW[0], SOL[0], USD[2.01], USDT[1.77681740]

07952622                           DAI[.03158435], ETH[.00000002], ETHW[.50476545], USD[0.93]

07952630                           ETH[.00124897], ETHW[0.00124896]

07952639                           SHIB[905360.72119779], USD[0.50]                                                                                                                                                      Yes

07952648                           NFT (346374437179201184/You in, Miami? #310)[1]

07952649                           USD[0.94]

07952655                           USD[402.61]

07952665                           ETH[4.33311517], ETHW[4.33129523]                                                                                                                                                     Yes

07952674                           NFT (569225435978167407/Megalodon Rogue Shark Tooth)[1], SOL[.3]

07952681                           SHIB[1], SOL[0.00006620], USD[0.00]                                                                                                                                                   Yes

07952682                           BTC[.00001446], ETH[.00000001], SHIB[0], USD[3.11], USDT[0]

07952683                           USD[0.00]                                                                                                                                                                             Yes

07952687                           BTC[0], SOL[.00073948]

07952690                           NFT (339291826162271257/Musing Mirzakhani)[1], NFT (356147947451186929/Admiring Varahamihira)[1]

07952693                           SOL[.48], USD[1.79]

07952708                           CUSDT[1], DOGE[109.73052215], USD[0.00]                                                                                                                                               Yes

07952718                           NFT (356179648516874139/Entrance Voucher #2992)[1]

07952722                           SOL[.05412698], USD[0.00]                                                                                                                                                             Yes

07952726                           NFT (504475324296336002/You in, Miami? #311)[1]

07952727                           BRZ[1], CUSDT[1], DOGE[7471.27742108], SUSHI[43.30697084], USD[0.00]

07952730                           AVAX[19.7867], BTC[.1443489], DOGE[5853.90788959], ETH[.89828779], ETHW[.89828779], GRT[3363], LINK[50.78414533], LTC[11.57153465], MATIC[829.79], MKR[.52],
                                   SHIB[56240080.16032064], SOL[14.10947157], USD[73.59], YFI[.07913677]
07952735                           NFT (450629919477446743/Entrance Voucher #103)[1], NFT (469545541471011171/Good Boy #135)[1], NFT (562053258206062153/Humpty Dumpty #1630)[1], SHIB[95557.41827326], USD[0.00]

07952738                           BTC[0], ETH[.00000001], SOL[0], USD[0.00]

07952739                           USD[0.00]                                                                                                                                                                             Yes

07952742                           NFT (525265350492889017/You in, Miami? #313)[1]

07952747                           AAVE[.34655008], AVAX[.72957869], BAT[50.25856737], BCH[.09187101], BRZ[121.35574018], BTC[.00150049], CUSDT[1185.6730928], DAI[16.15447746], DOGE[243.51658618], ETH[.01610031],     Yes
                                   ETHW[.01589511], GRT[82.5679651], KSHIB[89.07428798], LINK[3.32871349], LTC[.3172334], MATIC[32.53231179], MKR[.01797014], PAXG[.00548747], SHIB[1608125.81430397], SOL[.60063737],
                                   SUSHI[3.36777172], TRX[824.03961519], UNI[2.00629414], USD[216.58], USDT[15.17738907], YFI[.0011007]
07952753                           NFT (290751636893562425/You in, Miami? #328)[1]

07952756                           BTC[0.01517188], ETH[.00000001], ETHW[0.00031287], USD[0.00]

07952757                           USD[0.20]

07952758                           SHIB[391715.47148265], USD[0.00]                                                                                                                                                      Yes

07952766                           NFT (573089808131348640/You in, Miami? #314)[1]

07952769                           DOGE[1630], SHIB[14100000], USD[1.03]

07952770                           CUSDT[1], SOL[.5410431], USD[0.00]                                                                                                                                                    Yes

07952773                           BF_POINT[100]                                                                                                                                                                         Yes

07952774                           BRZ[1], BTC[.00899483], USD[323.88]                                                                                                                                                   Yes

07952775                           SOL[.05053788], USD[0.00]

07952776                           NFT (494914981771535215/Coachella x FTX Weekend 2 #10215)[1], USD[0.00]                                                                                                               Yes

07952778                           LINK[.95190646], TRX[1], USD[0.00]                                                                                                                                                    Yes

07952781                           CUSDT[4], SHIB[2423367.20933726], USD[0.26]                                                                                                                                           Yes

07952790                           CUSDT[1], SHIB[1454195.84358368], USD[0.00], USDT[0]                                                                                                                                  Yes

07952793                           BAT[1.0165555], BTC[0.00000012], CUSDT[4], ETH[0], TRX[2], USD[0.00]                                                                                                                  Yes
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                                                                                                                                            Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07952794                              NFT (471022348530526312/Entrance Voucher #3727)[1]

07952795                              ALGO[218.42357387], BAT[1], BRZ[7.01116814], DOGE[0], ETH[.11050095], ETHW[.35405978], GRT[1324.67982691], SHIB[24709385.21248945], SOL[54.25310938], TRX[8034.41276143],          Yes
                                      USD[1446.01], USDT[0.00171434]
07952799                              NFT (316695255956112931/You in, Miami? #315)[1]

07952801                              NFT (346024144945426188/You in, Miami? #316)[1]

07952802                              CUSDT[1], MATIC[519.74731049], USD[0.00]

07952804                              USD[0.79]                                                                                                                                                                          Yes

07952805                              USD[0.00]                                                                                                                                                                          Yes

07952808                              SOL[2.48751], USD[2.15]

07952809                              CUSDT[1], USD[0.00]                                                                                                                                                                Yes

07952811                              CUSDT[1], SOL[1.66928605], USD[0.00]                                                                                                                                               Yes

07952814                              BF_POINT[300]                                                                                                                                                                      Yes

07952817                              BTC[.00000005], CUSDT[6], DOGE[1], ETH[.00000211], ETHW[.23131533], TRX[3], USD[0.00]                                                                                              Yes

07952822                              USD[10.88]                                                                                                                                                                         Yes

07952826                              USD[100.00]

07952827                              ALGO[271.62464531], BTC[.00140686], CUSDT[11], DOGE[0], ETH[.09417119], ETHW[.08053365], SHIB[3], SOL[0], TRX[2], USD[15.80]                                                       Yes

07952828                              CUSDT[1], USD[0.00]                                                                                                                                                                Yes

07952829                              NFT (457124279010827944/Fat Regular Person #7)[1]

07952833                              USD[0.22]

07952834                              CUSDT[1], USD[0.00]                                                                                                                                                                Yes

07952836                              CUSDT[1], ETH[.00683222], ETHW[.00675014], USDT[30.89513299]                                                                                                                       Yes

07952841                              BTC[.00106703], CUSDT[2], DOGE[2], TRX[1], USD[0.00], USDT[0]                                                                                                                      Yes

07952843                              BTC[.00024776]

07952849                              USD[4.56]                                                                                                                                                                          Yes

07952852                              DOGE[1], SHIB[1], USD[0.00]

07952853                              DOGE[1], SOL[.49050443], USD[5.50]                                                                                                                                                 Yes

07952859                              NFT (428783304167602224/FTX - Off The Grid Miami #5337)[1]

07952864                              TRX[2], USD[0.00]                                                                                                                                                                  Yes

07952865                              CUSDT[3], DOGE[.00001666], TRX[1], USD[0.07]                                                                                                                                       Yes

07952868       Contingent, Disputed   USD[0.01]                                                                                                                                                                          Yes

07952871                              SOL[1.18364997], TRX[1], USD[0.00]

07952873                              CUSDT[1], DOGE[0], ETH[0], ETHW[0], MATIC[0], SOL[0], SUSHI[0], TRX[0], USD[0.00]                                                                                                  Yes

07952889                              CUSDT[2], ETH[.04760083], ETHW[.04701259], USD[0.07]                                                                                                                               Yes

07952890                              USD[0.00]

07952892                              USD[0.00]

07952893                              NFT (465988519561418944/You in, Miami? #317)[1]

07952896                              USD[542.96]                                                                                                                                                                        Yes

07952897                              USD[10.84]                                                                                                                                                                         Yes

07952905                              USD[0.01]                                                                                                                                                                          Yes

07952906                              BTC[.00091511], CUSDT[1], USD[0.00]                                                                                                                                                Yes

07952908                              USD[20.00]

07952912                              USD[0.02]                                                                                                                                                                          Yes

07952915                              ETH[0], ETHW[0], USDT[0.00000985]

07952922                              BAT[1], BTC[.00000935], LINK[1.00586342], NFT (467787656138550546/You in, Miami? #318)[1], USD[18209.90]                                                                           Yes

07952933                              CUSDT[8], TRX[2], USD[0.00]                                                                                                                                                        Yes

07952934                              USD[10.00]

07952936                              BRZ[1], CUSDT[2], DOGE[2217.11932247], ETH[2.9541054], ETHW[2.95286466], GRT[257.46780211], SHIB[1], SOL[6.82545098], TRX[2], USD[562.41]                                          Yes

07952940                              CUSDT[1], DOGE[1], NFT (320530042496376720/FTX - Off The Grid Miami #1581)[1], NFT (505913158781758871/Coachella x FTX Weekend 2 #26003)[1], NFT (570747869527287459/Coachella x   Yes
                                      FTX Weekend 1 #27716)[1], SOL[.26250399], USD[0.07]
07952944                              LINK[.34157678], USD[0.00]

07952946                              USD[10.88]                                                                                                                                                                         Yes

07952950                              NFT (333467801426127477/You in, Miami? #320)[1]

07952958                              BTC[.00945246], GRT[1.00019173], USD[3.91]                                                                                                                                         Yes

07952965                              LTC[0]

07952968                              BRZ[1], CUSDT[1], DOGE[4.0109739], GRT[1.00298163], MATIC[317.8279399], SOL[0], TRX[6], USD[0.00]                                                                                  Yes

07952969                              NFT (497094071042261716/Entrance Voucher #4884)[1]                                                                                                                                 Yes

07952971                              USD[163.07]                                                                                                                                                                        Yes

07952976                              AAVE[0], CUSDT[3], SOL[0.00970699], USD[0.41]                                                                                                                                      Yes

07952978                              AAVE[0], BTC[0], ETH[0], GRT[0], LINK[0], MATIC[0], NFT (310460355808048993/ApexDucks #4120)[1], SOL[0], USD[0.00]                                                                 Yes

07952985                              SHIB[160329.46242084], TRX[1], USD[0.00]                                                                                                                                           Yes
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07952991                              USD[0.29]

07952994                              BTC[.00041084], CUSDT[2], TRX[135.91872308], USD[13.60]                                                                                                                                 Yes

07952996                              BAT[1], GRT[1], USD[0.00]

07953004                              CUSDT[1], SHIB[758089.21742532], USD[0.01]                                                                                                                                              Yes

07953007       Contingent, Disputed   ETH[0], SOL[0], USD[12162.00], USDT[0.00000001]

07953011                              NFT (405543453192597619/Megalodon Rogue Shark Tooth)[1]

07953012                              CUSDT[1], GRT[18.03711966], USD[0.00]                                                                                                                                                   Yes

07953013                              BTC[.00494373], USD[0.00]

07953015                              USD[0.00]

07953019                              NFT (356704355048767412/Juliet #567)[1], NFT (400101387044954215/Romeo #848)[1]                                                                                                         Yes

07953020                              USD[0.00]

07953021                              NFT (497559541196033042/You in, Miami? #321)[1]

07953022                              CUSDT[1], MATIC[1118.97741237], NFT (323424978286245352/Coachella x FTX Weekend 2 #13309)[1], TRX[3], USD[0.00]

07953027                              ETH[.005], ETHW[.081], USD[0.85]

07953028                              DOGE[1], ETH[.17241256], ETHW[.17241256], USD[0.00]

07953030                              ALGO[0], NEAR[0], SHIB[1], SOL[0], USD[0.00]                                                                                                                                            Yes

07953034                              NFT (300014689557676007/You in, Miami? #322)[1]

07953037                              USD[0.00]

07953040                              BTC[.1837685], ETH[2.503494], ETHW[2.503494], SOL[9.25074], USD[5.22]

07953044                              NFT (484019104032920599/You in, Miami? #323)[1]

07953049                              MATIC[0]

07953050                              SUSHI[3.45872586], USD[0.00]

07953057                              USD[0.81]

07953061                              CUSDT[1], SOL[1.10243393], USD[0.00]                                                                                                                                                    Yes

07953068                              NFT (382779780131328003/You in, Miami? #324)[1]

07953074                              NFT (540874357456710116/You in, Miami? #325)[1]

07953087                              GRT[.671], USD[0.01], USDT[0]

07953092                              AVAX[1.53571589], BTC[.02048186], ETH[.05683029], ETHW[.0561242], SHIB[2], SOL[2.93141534], TRX[1], USD[3.08]                                                                           Yes

07953096                              SOL[.22821095], USD[0.00], USDT[0]

07953106                              USD[10.88]                                                                                                                                                                              Yes

07953108                              DOGE[1], TRX[1], USD[0.00]

07953111                              USD[10.88]                                                                                                                                                                              Yes

07953116                              BTC[.00040893], CUSDT[3], DOGE[2], LINK[10.43182073], SOL[.61968042], TRX[1], USD[0.20]                                                                                                 Yes

07953117                              USD[0.00]

07953120                              CUSDT[1], DOGE[1], NFT (337351916563517888/You in, Miami? #326)[1], NFT (420345167288744557/FTX - Off The Grid Miami #7041)[1], SHIB[3038569.33649668], USD[0.09]                       Yes

07953126                              ALGO[2594.43756724], NFT (306708513098789657/Romeo #727)[1], NFT (323237748913633592/Australia Ticket Stub #1095)[1], NFT (342339675823816147/Entrance Voucher #2385)[1], NFT           Yes
                                      (456501442535660415/Barcelona Ticket Stub #2032)[1], USD[50.61], USDT[0]
07953129                              NFT (350552462155702508/You in, Miami? #327)[1]

07953136                              BTC[.00016424], SOL[.04454679], USD[10.77]                                                                                                                                              Yes

07953137                              CUSDT[1], SOL[.53098362], USD[0.00]                                                                                                                                                     Yes

07953138                              USD[0.00]                                                                                                                                                                               Yes

07953139                              BTC[.00016377], USD[0.00]                                                                                                                                                               Yes

07953149                              SOL[.00233881], USD[0.00]                                                                                                                                                               Yes

07953150                              AAVE[.11510912], BF_POINT[300], BTC[0], DOGE[269.14035791], ETH[0.00530061], ETHW[0], GRT[168.73831166], MATIC[3.14763604], NFT (321884688072271642/Fever Dream Collection #12)[1],     Yes
                                      NFT (325732276650842979/Nespace Album #57)[1], NFT (327111643484875803/Golden Beuty #006)[1], NFT (351498848032584901/Entrance Voucher #25571)[1], NFT
                                      (353825900195858139/Simpsons)[1], NFT (357881834055099369/Joe Theismann's Playbook: Washington vs. Miami Dolphins - January 30, 1983 #64)[1], NFT (391651473979128214/5D MOUSE
                                      02)[1], NFT (396884705261992192/Bahrain Ticket Stub #2048)[1], NFT (403475439218279291/Caelum Series #23)[1], NFT (422437662166555667/Nespace Album #20)[1], NFT
                                      (425422611165342771/Nespace Album #59)[1], NFT (454700580466660902/Caelum Series #11)[1], NFT (490080666232278091/Shannon Sharpe's Playbook: Kansas City Chiefs vs Denver Broncos -
                                      October 4, 1992 #99)[1], NFT (502159521598707605/Barcelona Ticket Stub #1073)[1], NFT (503397130269897590/Worthless Collection #3)[1], NFT (505685988746755721/Fever Dream Collection
                                      #8)[1], NFT (514712810723392679/Worthless Collection #10)[1], NFT (526295390742491641/Nespace Album #21)[1], NFT (529246238367689165/Pixel Fruit #1)[1], NFT
                                      (531595340934563459/Isabella)[1], NFT (539393545560595061/DDD #19)[1], NFT (545004071727784896/Life in Art #2)[1], NFT (546148340504053919/Worthless Collection #11)[1], NFT
                                      (548844544207752711/Caelum Series #102)[1], NFT (549473617580849215/Maintenance Request)[1], NFT (556674803865701654/Shannon Sharpe's Playbook: Baltimore Ravens vs. Denver Broncos -
                                      December 31, 2000 #76)[1], NFT (557133207457433838/Solana Girl #2)[1], NFT (566838563652836537/Nespace Album #60)[1], NFT (571724882075202615/Ancient Civilization #60)[1],
                                      PAXG[0.01230311], SHIB[415852.68124573], SOL[0], SUSHI[15.4287909], TRX[139.20662186], USD[5.84]
07953156                              SUSHI[4.5], USD[52.60]

07953157                              BTC[0], CUSDT[1], ETH[0], SOL[1], TRX[1], USD[0.00]

07953162                              USD[54.39]                                                                                                                                                                              Yes

07953166                              BF_POINT[400], BRZ[1], CUSDT[1], DOGE[3], NFT (435080846776007397/Entrance Voucher #2740)[1], SOL[0], TRX[1], USD[0.00]                                                                 Yes

07953170                              BTC[.00180191], CUSDT[1], USD[0.03]                                                                                                                                                     Yes

07953177                              USD[0.00]

07953178                              ETHW[.1608551], USD[110.09]

07953179                              CUSDT[3], DOGE[5], TRX[3], USD[0.00]

07953183                              CUSDT[1], DOGE[92.5503485], USD[0.00]
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
                                                                                                  Amended Schedule 1754      Filed
                                                                                                                      Nonpriority     06/27/23
                                                                                                                                  Unsecured           Page 545 of 1384
                                                                                                                                            Customer Claims                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07953186                              DOGE[56], USDT[0.04264532]

07953189                              NFT (407108489345957771/You in, Miami? #330)[1]

07953192                              NFT (492301839159924325/Warriors 75th Anniversary City Edition Diamond #1281)[1], USD[0.00]

07953197                              CUSDT[1], SOL[.05642364], USD[0.00]                                                                                                                                           Yes

07953206                              BRZ[2], BTC[.00420772], CUSDT[5], DOGE[2651.09816228], ETH[.20620788], ETHW[.20599356], GRT[1], SHIB[4163163.6275876], SOL[1.38827112], USD[0.00], USDT[1.08336574]           Yes

07953207                              DOGE[1], MATIC[120.15536713], USD[0.00]

07953211                              CUSDT[1], DOGE[1], GRT[1.00108881], TRX[1], USD[0.00], USDT[.37099659]                                                                                                        Yes

07953215                              BAT[1], CUSDT[2], SHIB[1], USD[161.07]

07953220                              BTC[.01252969], CUSDT[1], SOL[1.0357696], USD[0.00]                                                                                                                           Yes

07953224                              BRZ[1], CUSDT[1], TRX[2421.22083144], USD[0.00]                                                                                                                               Yes

07953225                              BAT[5.07014257], BRZ[6.02628626], BTC[.00002274], DOGE[13.02365036], ETH[.00000345], GRT[3], NFT (525536236256558054/Entrance Voucher #1792)[1], SHIB[11], SOL[1.65552721],   Yes
                                      TRX[16.03077158], USD[0.00], USDT[5.09396574]
07953229                              BTC[.00045001]                                                                                                                                                                Yes

07953230                              MATIC[61.24089081], TRX[1], USD[0.00]                                                                                                                                         Yes

07953231                              BTC[0], USD[5.51]

07953235                              USD[11.95]                                                                                                                                                                    Yes

07953237                              BTC[.00000024], DOGE[0], ETH[.00000945], NFT (456228199119659195/Entrance Voucher #28044)[1], USD[0.00]                                                                       Yes

07953238                              CUSDT[21], TRX[1], USD[0.00]                                                                                                                                                  Yes

07953249                              SOL[.00000001], USD[3.04]

07953251                              NFT (353874673072652633/You in, Miami? #332)[1], NFT (491949286092336263/FTX - Off The Grid Miami #1378)[1]                                                                   Yes

07953252                              NFT (424616289127254188/You in, Miami? #333)[1]

07953257                              NFT (537875097491709038/You in, Miami? #421)[1]

07953267                              NFT (367225056559248827/Invasion )[1], SOL[.10753652], USD[0.73]

07953270                              BTC[0], NFT (347608995528487310/You in, Miami? #334)[1], SHIB[2], USD[0.00], USDT[0.00000001]

07953272                              BRZ[3], BTC[.00366267], CUSDT[1], DOGE[2], ETH[.04748903], NFT (477734540697893854/Entrance Voucher #2029)[1], SHIB[926016.86960425], TRX[1], USD[0.00]                       Yes

07953277                              CUSDT[14], DOGE[1], TRX[1], USD[0.00]                                                                                                                                         Yes

07953279                              USD[0.00]

07953280                              BTC[0], CUSDT[1], ETH[0], USD[0.00]                                                                                                                                           Yes

07953283                              BTC[0], DOGE[0], NFT (366802146924819735/FTX - Off The Grid Miami #1107)[1], USD[0.00]

07953284                              BF_POINT[100], CUSDT[2], LINK[.00003708], NFT (403282949717625173/Chicago Hacker House 2022 Pass)[1], SOL[.00000001], USD[0.34]                                               Yes

07953285                              USD[11.97]                                                                                                                                                                    Yes

07953287                              BAT[.00006101], DOGE[2], SHIB[22068330.80067027], SOL[102.15860439], TRX[1], USD[0.00], USDT[0.00002153]                                                                      Yes

07953289                              CUSDT[2], TRX[1], USD[0.01], USDT[0]                                                                                                                                          Yes

07953293                              ETH[.05287666], ETHW[0.05287665], SOL[0], USD[-5.49]

07953294                              CUSDT[1.01050306], USD[0.00]                                                                                                                                                  Yes

07953295                              CUSDT[1], ETH[.00812463], ETHW[.00802887], USD[0.00]                                                                                                                          Yes

07953299                              NFT (444536103178220347/You in, Miami? #335)[1]

07953300                              SOL[.00704258], USD[5.26], USDT[0.00578909]

07953306                              CUSDT[1], USD[4.38]                                                                                                                                                           Yes

07953320                              BTC[1.04454501], ETH[10.2242777], ETHW[10.2242777], USD[710.81]

07953328                              BTC[.00074672]

07953331                              CUSDT[2], USD[0.00]                                                                                                                                                           Yes

07953333                              NFT (389562620822308304/The 2974 Collection #0156)[1], NFT (566282575224199366/Birthday Cake #0156)[1], USD[144.87]

07953337                              NFT (453456025577818784/You in, Miami? #336)[1]

07953338                              BTC[0], SOL[0.00464549], USD[2.07], USDT[0.00000111]

07953343       Contingent, Disputed   SHIB[1], USD[0.01]                                                                                                                                                            Yes

07953378                              SHIB[20585500], USD[2.52]

07953387                              USD[11.00]

07953390                              CUSDT[1], SOL[1.14694121], USD[1.76]                                                                                                                                          Yes

07953403                              CUSDT[1], DOGE[1], MATIC[50.39107198], SOL[.21754853], TRX[1], USD[50.00]
West Realm Shires Services Inc.                                                    Case 22-11068-JTD      Doc F-3:
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                                                                                                                               Unsecured           Page 546 of 1384
                                                                                                                                         Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07953405                           NFT (291180593432406086/John Voxi)[1], NFT (293196848135462292/Crazy Skull #5)[1], NFT (296708373963251196/Voxi People #24)[1], NFT (297507653840419222/Playboy Hugh Hefner)[1], NFT
                                   (297759656191951563/Voxi People #12)[1], NFT (299605230721555478/Voxi People #18)[1], NFT (301509629798783248/Crazy Skull #4)[1], NFT (302467981335148074/Voxi People #15)[1], NFT
                                   (307001995021584821/The Incredibles)[1], NFT (307110234683992750/Best Friends Forever)[1], NFT (308884366893251330/IT)[1], NFT (309003085758560393/Stan Marsh)[1], NFT
                                   (309574245676753328/Kenny McCormick)[1], NFT (311580696618871094/Crystal Face #29)[1], NFT (313396389139977611/Red Kit)[1], NFT (315116683670565772/Friday the 13th - Jason)[1], NFT
                                   (316128922555919102/Rick and Morty #5)[1], NFT (318265220489580761/Cool Skeleton #8)[1], NFT (319688617468442475/Pokemon - Ash Ketchum)[1], NFT (319766065301534696/Lionel Messi
                                   Voxi)[1], NFT (319953475509734545/Ninja Turtles - Leonardo)[1], NFT (322026584806710783/Boxer Voxi)[1], NFT (323654506205806375/Voxi People #34)[1], NFT (324516791926024468/Hulk)[1], NFT
                                   (324671594128254995/Goat)[1], NFT (324980010277102592/Voxi People #42)[1], NFT (325425730838774464/Sacred Heart of Surrealist)[1], NFT (325831562443127789/Crystal Face #6)[1], NFT
                                   (326993717622399839/Michael Jordan)[1], NFT (328262511306469314/Lionel Messi Voxi #2)[1], NFT (330801388261000209/Dark Vader Voxi)[1], NFT (330893927993184661/Gandalf Voxi)[1], NFT
                                   (334610687657463779/Kill Bill)[1], NFT (334719602559078868/3D Infinity #2)[1], NFT (336117701267446821/LeBron James)[1], NFT (338373909266110783/Kong)[1], NFT
                                   (338815869324838048/Crystal Face #3)[1], NFT (340888365772468017/Bob Marley)[1], NFT (342144220664509198/Voxi People #35)[1], NFT (344851901865502788/Peter Pan Voxi)[1], NFT
                                   (346698550306506153/Voxi People #26)[1], NFT (346760517903693039/Crystal Face #24)[1], NFT (347777871633509859/Mandalorian Voxi)[1], NFT (348383233389539126/Snoppy)[1], NFT
                                   (348808959240558424/Eric Cartman)[1], NFT (349003751353798184/Bart Simpson)[1], NFT (353181917860386679/La Casa de Papel #3 #2)[1], NFT (353491045854591431/Voxi People #50)[1], NFT
                                   (354322713264958795/Voxi People #13)[1], NFT (354994982045371205/Yellow Power Rangers)[1], NFT (356541380073371946/Voxi People #16)[1], NFT (357257232894650125/Tiger)[1], NFT
                                   (360354877215724182/Contemporary #16)[1], NFT (360517080531898236/Squid Game #2)[1], NFT (360908348018475377/Crazy Skull #12)[1], NFT (361166800694522465/Edward Voxi)[1], NFT
                                   (367525487363466069/Ninja Turtles Donatello)[1], NFT (369922159594463388/Pantomime)[1], NFT (372399706063984585/Voxi People #10)[1], NFT (377062633791454719/Dracula Voxi)[1], NFT
                                   (377066597822717663/Scorpion)[1], NFT (383648706191540022/Sailor Moon)[1], NFT (383673213475229350/DeadPool)[1], NFT (384719255547236229/Ronaldo Voxi)[1], NFT
                                   (385805670820659476/Naked Voxi)[1], NFT (391586190324190676/Morpheus Voxi)[1], NFT (392892855311241382/101 Dalmatians)[1], NFT (393595110737992305/Voxi People #19)[1], NFT
                                   (395104943228764604/Crystal Face #8)[1], NFT (397376952730182620/Naruto)[1], NFT (397538153924315933/Sheldon Cooper)[1], NFT (398188487777721312/Matrix - Neo)[1], NFT
                                   (405376498269800609/Daft Voxi)[1], NFT (407576050056614132/Zoro Voxi)[1], NFT (408292461088833979/Batman)[1], NFT (411347566119589753/Voxi People #39)[1], NFT
                                   (412158398175268283/Scream)[1], NFT (413613065376599048/Voxi People #29)[1], NFT (413794945114066421/Thor)[1], NFT (414219068739392309/3D Infinity)[1], NFT (414624698267868013/Voxi
                                   People #38)[1], NFT (415531530820922750/Baron Head)[1], NFT (415719445894304531/Pink Power Rangers)[1], NFT (418799652804949594/Horse Zodiac)[1], NFT (418943047513690741/Voxi People
                                   #49)[1], NFT (421920170994416931/Lisa)[1], NFT (422105674319954317/The Mandalorian #7)[1], NFT (422896309575013853/No Evil)[1], NFT (423789703918869703/Walter White (Heisenberg))[1],
                                   NFT (426251678619726013/One-Punch Man)[1], NFT (426550541819775700/Crazy Skull #6)[1], NFT (429458976906701879/Death Note)[1], NFT (432879440877869789/Homer Simpson)[1], NFT
                                   (434452101050378142/Voxi People #48)[1], NFT (434494552909301463/Voxi People)[1], NFT (434568073896780803/Eminem Voxi)[1], NFT (435089505601771054/Midsommar Sun)[1], NFT
                                   (435665061052790145/Contemporary #3)[1], NFT (436360554347710763/Sub-Zero)[1], NFT (436987396857995811/Voxi Game #3)[1], NFT (436990860388750261/Voxi People #51)[1], NFT
                                   (441674023229267481/Elvis Voxi)[1], NFT (442719676027556929/Ghost Voxi)[1], NFT (444070166882937880/Multitasking Centipede)[1], NFT (445846067040998576/Contemporary #1)[1], NFT
                                   (446094553772028589/Terminator Voxi)[1], NFT (446396587208108872/Voxi People #46)[1], NFT (446985987973351706/Dragon Ball Z Krillin)[1], NFT (448816290455296354/Zelda)[1], NFT
                                   (449626197087269536/Toy Story)[1], NFT (451899010068284259/Harry Potter)[1], NFT (453752823573587122/Superman)[1], NFT (455103338048788681/3D Infinity #3)[1], NFT
                                   (455640197955916800/Voxi People #23)[1], NFT (455763842841930597/Pikachu)[1], NFT (456144186421423274/Wonder Woman)[1], NFT (457608690487235786/Voxi People #32)[1], NFT
                                   (458600374622192901/Rabbit)[1], NFT (458824409801564844/Snoop Dogg)[1], NFT (462226085281641826/Prenses Peach)[1], NFT (463548799384804372/Voxi People #40)[1], NFT
                                   (464659272753836201/Crazy Skull #3)[1], NFT (464867118683926690/Voxi People #36)[1], NFT (465074927503123521/Robot Voxi)[1], NFT (470062218026359813/Dog Zodiac)[1], NFT
                                   (470787777510547356/Marge Simpson)[1], NFT (471000919312537049/Einstein Voxi)[1], NFT (473390116506033760/Voxi People #37)[1], NFT (476415599063865694/Power Rangers - Blue)[1], NFT
                                   (477392986732924998/Spongebob - Squidward #4)[1], NFT (478035790826247350/Voxi People #14)[1], NFT (480969816999912496/Voxi People #2)[1], NFT (483117385010919134/Harley Voxi)[1],
                                   NFT (484148947193464923/Voxi People #45)[1], NFT (486514090082680469/Red Power Rangers)[1], NFT (490547078553333686/Crazy Skull #16)[1], NFT (490892784090821230/Contemporary
                                   #11)[1], NFT (491490462134048985/ Freddy Krueger)[1], NFT (491829907181676075/Clock Mechanism)[1], NFT (494654407437632720/Aladdin)[1], NFT (494806292124907956/La Casa de Papel #3
                                   #3)[1], NFT (497503427558141250/Raiden)[1], NFT (500635051631166305/Avatar Aang)[1], NFT (501702357437259637/Voxi Game #2)[1], NFT (502543157289601290/Ninja Turtles Michelangelo)[1],
                                   NFT (502912557887001891/Pig)[1], NFT (503836644565377575/Killer Voxi)[1], NFT (504820907011647851/Luigi)[1], NFT (505859843410169774/The Simpson - Homer #6)[1], NFT
                                   (508379785611803968/Jigglypuff)[1], NFT (508534673950590015/Voxi People #21)[1], NFT (510112917080821799/Ninja Turtles Raphael)[1], NFT (512030899584115931/Crystal Face #26)[1], NFT
                                   (514097297156114765/Baby Yoda Voxi)[1], NFT (514177712444491611/Voxi People #28)[1], NFT (514183936917909218/Voxi People #20)[1], NFT (518124094453296906/ Dragon Ball - Son Goku)[1],
                                   NFT (520390569001642657/Ox)[1], NFT (521703465623429488/Floating Seahorse)[1], NFT (521828169281403995/Vonalds)[1], NFT (522500856776434168/Super Mario Voxi)[1], NFT
                                   (524389871598309884/Snake Zodiac)[1], NFT (525264771639842424/Flash)[1], NFT (525370805761395188/Crystal Face #13)[1], NFT (526285591891659691/One Piece - Luffy)[1], NFT
                                   (526316341647276791/Green Power Rangers)[1], NFT (526805696079404044/Venom)[1], NFT (528709761488202183/Crazy Skull #9)[1], NFT (530668042671612886/Mr. Bean)[1], NFT
                                   (531248672852823518/Monkey)[1], NFT (534785613834151602/Voxi People #47)[1], NFT (535709089971876396/Viva la Evolucion)[1], NFT (540342505090244030/Saw)[1], NFT
                                   (541655316989434889/Voxi People #43)[1], NFT (541702292917376854/Inspecteur Gadget)[1], NFT (543669650108827737/Ken Voxi)[1], NFT (547657007807199594/Voxi Game)[1], NFT
                                   (548812170242471940/Contemporary #17)[1], NFT (550338716390940407/Space Devil Creating the Eclipse)[1], NFT (553895787117549722/Yoda Voxi)[1], NFT (555622946873569280/Crystal Face
                                   #20)[1], NFT (555640476672906250/Baby naked Voxi)[1], NFT (557746312096398706/Contemporary #12)[1], NFT (559331867762858359/La Casa de Papel #3)[1], NFT (560121972035004757/Charlie
                                   Brown)[1], NFT (562364208303835087/Mega Man)[1], NFT (564031285915049147/Crystal Face #16)[1], NFT (567865251351078817/Spiderman)[1], NFT (568101259652213210/007 James Bond)[1],
                                   NFT (568960898566688818/Batman #1)[1], NFT (569079509373917103/Crystal Face #11)[1], NFT (571095224257746899/Pink Panther)[1], NFT (573829237163735959/Drake Voxi)[1], NFT
                                   (573839581950174999/Sasuke)[1], NFT (574221397511851945/Voxi People #44)[1], NFT (574243338734203325/Bane)[1], NFT (574825656983496497/Contemporary #13)[1], NFT
                                   (575457261638933397/Russian Voxi)[1], USD[0.00]
07953414                           ALGO[190.32341827], BTC[.00260255], DOGE[1.00035361], SHIB[4266935.70008233], SUSHI[200.83829142], TRX[100.95450646], USD[100.02]                                                            Yes

07953431                           BRZ[2], GRT[1], SHIB[1], USD[0.00], USDT[0.00000009]                                                                                                                                         Yes

07953432                           BTC[0]

07953433                           SOL[.05495193], USD[0.00]                                                                                                                                                                    Yes

07953434                           DOGE[1], USD[0.00]

07953441                           SHIB[249098.53431310], USD[0.00]                                                                                                                                                             Yes

07953442                           CUSDT[3], ETH[.00004627], ETHW[.00004627], SOL[2.43775557], TRX[1], USD[0.00]

07953446                           SOL[.04963048], USD[10.00]

07953447                           BTC[0], DOGE[2], ETH[0.00000173], SHIB[3], SOL[0], USD[0.00]                                                                                                                                 Yes

07953451                           BRZ[4], DOGE[1], ETH[.00003179], ETHW[3.48079000], NEAR[0], SHIB[225.94518448], SOL[0], TRX[7], USD[0.00], USDT[1.01584677]                                                                  Yes

07953455                           CUSDT[1], SHIB[738334.31777909], USD[50.00]

07953462                           BRZ[1], CUSDT[3], DOGE[1531.80509016], SHIB[7226623.46848961], USD[0.01]                                                                                                                     Yes

07953463                           ETH[.0003102], ETHW[3.83139664], USD[6.98]

07953467                           NFT (401716414257819818/You in, Miami? #338)[1]

07953469                           NFT (396173736572178187/You in, Miami? #339)[1]

07953470                           ALGO[.0107047], SHIB[238.68642654], USD[0.00]                                                                                                                                                Yes

07953474                           CUSDT[1], KSHIB[1939.07390993], USD[0.00]                                                                                                                                                    Yes

07953476                           BTC[.00091112], CUSDT[1], USD[0.01]                                                                                                                                                          Yes

07953478                           BCH[0], BTC[0], USD[0.00]

07953483                           BTC[.0000554], LINK[21.7782], SOL[.00911], TRX[42997], USD[2.80]

07953484                           BAT[1.0165555], CUSDT[3], DOGE[670.99332582], LINK[6.92159414], SOL[.75050442], USD[0.00]                                                                                                    Yes

07953489                           AUD[0.00], BTC[0], CUSDT[2.01300748], DOGE[1], EUR[0.00], USD[0.00]                                                                                                                          Yes

07953491                           KSHIB[1346.71833103], NFT (453855735165297580/Miami Ticket Stub #133)[1], SHIB[1], USD[0.00]                                                                                                 Yes

07953492                           USD[65.45]

07953494                           CUSDT[1], USD[0.00]

07953501                           USD[10.00]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07953522                           ETHW[.0724033], USD[94.59]                                                                                                                                        Yes

07953528                           DOGE[1], LINK[17.573921], USD[0.00]                                                                                                                               Yes

07953529                           BCH[.22717059], BTC[.00129503], DOGE[2], ETH[.03787355], EUR[10.14], GBP[9.62], LTC[.47379989], SHIB[2], TRX[1], USD[4.00]

07953535                           BAT[1], TRX[1], USD[0.00]

07953547                           DOGE[36.63081352], SOL[.07920763], USD[0.00]

07953554                           AVAX[0], DOGE[0], ETH[0], ETHW[0], MATIC[0], SHIB[0], SOL[0], USD[0.00], USDT[0]                                                                                  Yes

07953560                           USD[0.00]                                                                                                                                                         Yes

07953562                           SHIB[1792633.54212765], USD[0.00]

07953575                           AAVE[17.83561645], AVAX[45.3845352], DOGE[9.01859444], ETHW[.76407043], LINK[60.67791802], SHIB[12], SOL[45.09867919], TRX[4], USD[1050.00], USDT[4.73133407]

07953577                           USD[0.87]

07953582                           BRZ[1], SHIB[1845362.08493605], USD[27.21]                                                                                                                        Yes

07953584                           BTC[.00034214], CUSDT[1], USD[0.00]                                                                                                                               Yes

07953594                           BTC[.08541882], CUSDT[3], DOGE[1957.29135941], ETH[.82726913], ETHW[.82692183], LTC[2.28572148], TRX[2], USD[589.53], USDT[3.24742736]                            Yes

07953597                           BF_POINT[200], NFT (330383710115401477/Bahrain Ticket Stub #347)[1], USD[0.51]

07953612                           BRZ[1], CUSDT[2238.02861649], DOGE[445.91817971], ETH[.07208686], ETHW[.07119214], KSHIB[1966.22249962], LINK[1.74863206], MATIC[40.48676678], SOL[1.21266873],   Yes
                                   TRX[1038.14873551], UNI[1.20880862], USD[0.33]
07953625                           USD[16.32]                                                                                                                                                        Yes

07953637                           BRZ[2], CUSDT[2], DOGE[2], ETH[0.04989797], ETHW[0.04928073], TRX[2], USD[0.00]                                                                                   Yes

07953639                           SHIB[1], USD[0.01]                                                                                                                                                Yes

07953640                           USD[10.00]

07953660                           USD[10.00]

07953662                           USD[10.00]

07953664                           AAVE[2.99522519], SOL[9.36540978], USD[0.00]

07953679                           USD[0.10]

07953691                           CUSDT[2], USD[0.82]                                                                                                                                               Yes

07953695                           LINK[3.97573531], USD[0.02]                                                                                                                                       Yes

07953703                           ETH[.0019981], ETHW[.0019981], USD[2.02]

07953706                           MATIC[6.53240753], USD[0.00]

07953708                           BTC[.00158305], CUSDT[8], DOGE[1], USD[0.00]

07953711                           NFT (523701263226655295/Entrance Voucher #26909)[1], SHIB[1], USD[0.01]                                                                                           Yes

07953716                           BRZ[1], ETH[0], ETHW[0], SHIB[1], USD[0.01], USDT[0]                                                                                                              Yes

07953740                           NFT (320017892378771138/UNQ Universe | Break #760)[1], SOL[.19]

07953752                           USD[10.00]

07953767                           NFT (418955170041565426/You in, Miami? #340)[1]

07953771                           CUSDT[3], DOGE[1], SHIB[5.66165562], SOL[.00002208], TRX[2], USD[0.01]                                                                                            Yes

07953773                           ETH[0], ETHW[0]

07953774                           NFT (555517194697252311/You in, Miami? #341)[1]                                                                                                                   Yes

07953777                           SOL[.0448114], USD[0.00]                                                                                                                                          Yes

07953780                           USD[20.00]

07953785                           USD[0.20]

07953787                           BTC[.00699604], DOGE[1], UNI[43.46718002], USD[0.00]                                                                                                              Yes

07953791                           BTC[.0008], USD[0.40]

07953795                           USD[650.01]                                                                                                                                                       Yes

07953801                           USD[0.00]

07953803                           BF_POINT[100], CUSDT[3], DOGE[3], SHIB[1], SOL[.00000116], TRX[5], USD[0.00]                                                                                      Yes

07953812                           USD[0.00]                                                                                                                                                         Yes

07953818                           BRZ[1], CUSDT[6], DOGE[4], SOL[.00000392], USD[0.01]                                                                                                              Yes

07953825                           USD[10.00]

07953829                           BRZ[1], DOGE[38.0429894], GRT[43.71894212], SHIB[1], SOL[.5450786], USD[0.00]                                                                                     Yes

07953830                           CUSDT[1], USD[0.00]

07953833                           USDT[0.00000013]

07953834                           USD[8.73]                                                                                                                                                         Yes

07953840                           NFT (330583324373188410/You in, Miami? #343)[1]

07953842                           NFT (328741187297467216/You in, Miami? #345)[1]

07953847                           CUSDT[1], SOL[.06461291], USD[43.39]                                                                                                                              Yes

07953848                           NFT (420132278232220980/You in, Miami? #344)[1], NFT (433900040774496121/Monocle #15)[1]

07953858                           ETHW[8], USD[2.54]

07953861                           BTC[.00276638], USD[0.00], USDT[0]                                                                                                                                Yes

07953862                           USD[10.87]                                                                                                                                                        Yes
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              Disputed Indicator
07953872                              USD[10.00]

07953875                              NFT (355746151121484741/Tim Brown's Playbook: Michigan State vs. Notre Dame - September 19, 1987 #77)[1]                                                                             Yes

07953886                              SHIB[1], USD[0.01], USDT[0]                                                                                                                                                          Yes

07953891                              USD[0.00]                                                                                                                                                                            Yes

07953895                              SHIB[435400], USD[0.98], USDT[0]

07953896                              ETH[.00470898], ETHW[.00470898], SOL[0]

07953902                              SHIB[1], USD[0.00]

07953903                              BRZ[1], DOGE[1], ETH[1.01311747], ETHW[1.01269197], USD[0.00]                                                                                                                        Yes

07953908                              AVAX[17.7822], USD[1499.40]

07953912                              USD[0.08]

07953915                              NFT (375804440935373538/You in, Miami? #346)[1]

07953917                              USD[0.00]                                                                                                                                                                            Yes

07953928                              NFT (511418148224581506/Australia Ticket Stub #192)[1]                                                                                                                               Yes

07953932                              NFT (303135874026975671/You in, Miami? #347)[1]

07953933                              SHIB[1], USD[0.00]                                                                                                                                                                   Yes

07953936                              USD[0.01]

07953944                              NFT (433619088806931513/You in, Miami? #348)[1]

07953950                              CUSDT[5], LINK[.00000315], USD[0.00]                                                                                                                                                 Yes

07953951                              USD[7.73]

07953954                              AAVE[37.61], BTC[9.92353231], ETH[166.58476451], ETHW[166.58476451], USD[40.20]

07953955                              NFT (428274489708190668/Entrance Voucher #25621)[1]

07953957                              NFT (295537251593232906/FTX - Off The Grid Miami #2454)[1]

07953958                              BTC[.00016356], NFT (556307384685027382/Shaq's Fun House Commemorative Ticket #115)[1], USD[0.00]                                                                                    Yes

07953965                              BTC[.00004], ETH[.0007312], ETHW[.0007312], SOL[.08218204], USD[2721.61], USDT[0.00004838]

07953966                              DOGE[1], ETHW[.24714713], GRT[1], SHIB[3], TRX[1], USD[0.00]                                                                                                                         Yes

07953971                              BTC[.00000003], CUSDT[2], DOGE[3], ETH[0], ETHW[0], NFT (518187097244509344/Entrance Voucher #1593)[1], NFT (519150886939122792/Romeo #454)[1], SHIB[2], SOL[0], TRX[1], USD[4.38]   Yes

07953984                              USD[10.00]

07953987                              USD[10.87]                                                                                                                                                                           Yes

07953989                              AVAX[5.8], ETHW[1.288], USD[3839.82]

07953995                              USD[10.00]

07953998                              NFT (405696892850285882/Cloud Storm #223)[1], SOL[0.15672383], USD[1.00], USDT[0.00000101]

07954013                              BTC[.01768204], CUSDT[8], DOGE[2], ETH[.327091], ETHW[.32692954], SHIB[297077.21204753], TRX[1], USD[0.02]                                                                           Yes

07954014                              BTC[.00462792], CUSDT[5], TRX[1], USD[0.51]                                                                                                                                          Yes

07954016                              BRZ[1], CUSDT[1], DOGE[3], TRX[1.07654083], USD[0.00]                                                                                                                                Yes

07954018                              CUSDT[1], SOL[1.04522576], USD[4.17]                                                                                                                                                 Yes

07954030                              BAT[58.6847071], TRX[1], USD[21.51]                                                                                                                                                  Yes

07954045                              ETH[0], ETHW[0], SOL[.00000001]

07954048                              BTC[.00001357], NFT (382696112792626377/Ballet Room)[1], NFT (390175735502400518/Pocket Rocket's )[1], SHIB[2], USD[0.00]                                                            Yes

07954049                              ETH[.01898111], ETHW[.01898111], USD[0.00], USDT[0]

07954051                              USD[0.00]                                                                                                                                                                            Yes

07954062                              GRT[1131.43640097], USD[0.00]                                                                                                                                                        Yes

07954063                              BTC[.0012028], DOGE[1], USD[0.00]                                                                                                                                                    Yes

07954064                              CUSDT[1], SUSHI[43.82233484], USD[0.01]                                                                                                                                              Yes

07954066                              CUSDT[1], ETH[.00000001], ETHW[0], SOL[0]

07954070                              BTC[0.00004617], TRX[.000001], USDT[0]

07954081                              NFT (508378717850910772/2974 Floyd Norman - CLE 4-0037)[1]

07954090       Contingent,            DOGE[204.09943675], ETHW[22.99187073], LINK[20.65717115], SHIB[42423241.37323312], TRX[832.66947148], USD[846.01]                                                                    Yes
               Unliquidated
07954092                              BTC[.0326808], USD[62.12]

07954095                              CUSDT[1], DOGE[1], NFT (486602248039704082/Materials #2)[1], NFT (515758899238547153/FunTownPeople #6)[1], TRX[1], USD[3.58]                                                         Yes

07954097                              USD[0.00]

07954105                              BRZ[1], CUSDT[0], ETH[.00000004], ETHW[.00000004], SHIB[1], SOL[0], TRX[2], USD[31.78]                                                                                               Yes

07954107                              CUSDT[4], MATIC[9.04544535], TRX[167.30371507], USD[0.00]                                                                                                                            Yes

07954109                              AVAX[0], BTC[0], ETH[0], ETHW[0], NFT (418026259969212562/5857)[1], SHIB[1], SOL[0.00087968], TRX[1], USD[0.00], USDT[0.00000007]                                                    Yes

07954112       Contingent, Disputed   SOL[.5601994], USD[0.00]

07954113                              DOGE[1], NFT (321539912191195610/Saudi Arabia Ticket Stub #825)[1], USD[7.49]                                                                                                        Yes

07954114                              USD[0.84]

07954115                              ETH[.00034962], ETHW[.00034962], USD[0.84], USDT[0.00155040]

07954118                              BF_POINT[100], BTC[0], DAI[0], ETH[0], ETHW[0.68566420], GRT[0], SHIB[7.61819127], USD[0.00]                                                                                         Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07954122                              USD[0.00]                                                                                                                                                                         Yes

07954126                              CUSDT[2], SHIB[963734.47802025], TRX[230.75582456], USD[27.14]                                                                                                                    Yes

07954151                              CUSDT[1], USD[0.00]                                                                                                                                                               Yes

07954152                              DOGE[1], SHIB[3], USD[0.00], USDT[0.00048317]                                                                                                                                     Yes

07954153                              CUSDT[1], DOGE[1], SOL[1.36286023], UNI[10.46981124], USD[0.00]                                                                                                                   Yes

07954157                              ETHW[3.04167]

07954158                              USD[10.88]                                                                                                                                                                        Yes

07954187                              BTC[.00000472], MATIC[1468.49873825]                                                                                                                                              Yes

07954188                              USD[0.00]

07954206                              NFT (516591226287415960/Entrance Voucher #4201)[1], USD[120.75]

07954219                              CUSDT[494.48662934], USD[0.00]                                                                                                                                                    Yes

07954235       Contingent,            AVAX[0], BRZ[0], DOGE[0], LINK[0], MATIC[0], SHIB[0], SOL[0], TRX[0], USD[0.00], USDT[0.00009319]                                                                                 Yes
               Unliquidated
07954251                              BTC[.0008114], USD[0.00]

07954268                              BTC[.0051], USD[51.64]

07954275       Contingent, Disputed   USD[101.29]

07954279                              NFT (562952022193184337/You in, Miami? #351)[1]

07954283                              NFT (389105092457036327/You in, Miami? #350)[1]

07954285                              USD[10.60]                                                                                                                                                                        Yes

07954289       Contingent, Disputed   SOL[.00069267]                                                                                                                                                                    Yes

07954301                              ETH[.00000001], ETHW[0], SOL[.02], USD[0.95]

07954306                              USD[271.95]                                                                                                                                                                       Yes

07954314                              DOGE[39.6047666], USD[0.00]

07954315                              CUSDT[1], KSHIB[190.39011106], USD[0.00]

07954329                              BTC[.00163243], DOGE[1], USD[0.00]

07954339       Contingent, Disputed   DOGE[.00000001], NFT (468553625036801494/BIGNOSE)[1], NFT (538098200674894486/Colorflow #4 #4)[1], USD[2.07]

07954342                              NFT (398288861903165653/Warriors Foam Finger #319 (Redeemed))[1], NFT (418446755253990113/GSW Western Conference Finals Commemorative Banner #1209)[1], NFT
                                      (449710932318947638/GSW Western Conference Semifinals Commemorative Ticket #643)[1], NFT (481533064167410066/GSW Championship Commemorative Ring)[1], NFT
                                      (500561177517717543/GSW Western Conference Finals Commemorative Banner #1210)[1], NFT (550198783875464461/Coachella x FTX Weekend 2 #22033)[1], USD[47.51]
07954353                              SOL[.00010135], USD[0.00]                                                                                                                                                         Yes

07954369                              BRZ[1], DOGE[1], SOL[.00001792], TRX[1], USD[0.00]

07954383                              USD[0.00]                                                                                                                                                                         Yes

07954385                              CUSDT[5], ETH[.00907831], ETHW[.00896879], TRX[1], USD[0.00]                                                                                                                      Yes

07954402                              CUSDT[1], PAXG[.03043657], USD[163.17]                                                                                                                                            Yes

07954404                              USD[1.08], USDT[.049227]

07954405                              BTC[0], USD[0.86]

07954407                              USD[0.56]

07954413                              GRT[4969.10347301], SOL[15.39838964]                                                                                                                                              Yes

07954418                              DOGE[1], USD[0.00]

07954424                              BF_POINT[200]                                                                                                                                                                     Yes

07954430                              LINK[0], SHIB[0], SOL[0], USD[0.00]                                                                                                                                               Yes

07954431                              CUSDT[1.45745131], DOGE[1], NFT (364512052570456076/You in, Miami? #352)[1], SHIB[1], USD[0.01]                                                                                   Yes

07954432                              SHIB[1], USD[0.01]                                                                                                                                                                Yes

07954434                              TRX[1], USD[0.00], USDT[1.08505922]                                                                                                                                               Yes

07954444                              ETH[0], USDT[0.93355705]

07954450                              BTC[0], SUSHI[0], USD[0.00]                                                                                                                                                       Yes

07954461                              USD[0.00]

07954470                              BTC[.00024717], CUSDT[1], USD[0.00]                                                                                                                                               Yes

07954477                              BRZ[1], CUSDT[27], DOGE[0.00036716], MATIC[0.00020966], SHIB[1.47670573], SOL[0.00000060], TRX[3], USD[0.00]                                                                      Yes

07954491                              USD[10.00]

07954496                              CUSDT[3], LINK[1.09373573], SHIB[279084.36791904], SOL[1.11292562], USD[0.13]                                                                                                     Yes

07954497                              NFT (562933138568766580/You in, Miami? #353)[1]

07954501                              BAT[113.63408363], BRZ[3], CUSDT[31], DOGE[3], ETHW[.51565763], GRT[0.00179728], NFT (363482151640608237/FTX - Off The Grid Miami #2593)[1], NFT (364972519112475907/3D CATPUNK   Yes
                                      #1862)[1], NFT (511833537009147047/Hall of Fantasy League #210)[1], SHIB[51], TRX[3], USD[0.00]
07954509                              MATIC[16.75794137], USDT[0.00000001]

07954510                              USD[21.51]                                                                                                                                                                        Yes

07954532                              CUSDT[1], GRT[.00099592], MATIC[.0007146], SHIB[3], USD[0.01]                                                                                                                     Yes

07954536                              NFT (458245291386385054/2974 Floyd Norman - CLE 3-0110)[1], USD[0.00]

07954537                              ETHW[3.686], LTC[.23], USD[0.01]

07954552                              CUSDT[1], USD[0.00]                                                                                                                                                               Yes

07954563                              USD[100.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07954568                              CUSDT[2], USD[0.01]                                                                                                                                                            Yes

07954569                              DOGE[1], SHIB[757358.58725662], USD[0.06]                                                                                                                                      Yes

07954581                              DOGE[0], SHIB[0], USD[0.00]

07954584                              USD[29.37]                                                                                                                                                                     Yes

07954599                              BF_POINT[400], BTC[.00000229], ETH[.00003603], NFT (357504859628564823/FTX - Off The Grid Miami #1023)[1], NFT (374947079356844679/Series 1: Wizards #603)[1], NFT             Yes
                                      (515669504930834971/Entrance Voucher #1759)[1], SOL[.00077175], USD[5.04]
07954600                              CUSDT[1], GRT[12.54876121], NFT (385278158228254553/FTX - Off The Grid Miami #176)[1], USD[4.90]                                                                               Yes

07954603                              SOL[.05]

07954604                              BRZ[2], BTC[.01390152], CUSDT[18], DOGE[4], ETH[.44615024], ETHW[0.44596302], SHIB[8], SOL[9.33979867], TRX[7], USD[3.79]                                                      Yes

07954616                              ALGO[10.23037515], AVAX[.13902968], BRZ[2], BTC[.00436445], CUSDT[267.78699015], DOGE[441.96467612], ETH[.15228206], ETHW[.15150615], GRT[82.15378695], KSHIB[271.57544718],   Yes
                                      MATIC[11.661087], SHIB[37388400.92035755], TRX[108.24862965], UNI[3.05606251], USD[95.42]
07954621                              USD[0.05]                                                                                                                                                                      Yes

07954627                              NFT (394329398219114578/Beth)[1], NFT (427716458287267149/Mad Lions Series #18)[1]                                                                                             Yes

07954638                              BRZ[1], DOGE[1], ETHW[.15221013], MATIC[102.87], SHIB[4], TRX[2], USD[0.00], USDT[0]

07954648                              NFT (384197708579793940/You in, Miami? #354)[1]

07954650                              AVAX[9.99], TRX[.000028], USD[2.79]

07954655                              CUSDT[46.15026719], GRT[141.39285961], SHIB[1], TRX[610.45233933], USD[0.33]                                                                                                   Yes

07954669                              BTC[0], CUSDT[1], ETH[0], MATIC[0], USD[0.00]                                                                                                                                  Yes

07954673                              USD[0.14]

07954681                              DOGE[1], ETH[0.00000117], ETHW[0.00000119], SHIB[5], SOL[0], TRX[1], USD[0.00], USDT[0]                                                                                        Yes

07954701                              SOL[.05052996], USD[0.00]                                                                                                                                                      Yes

07954716                              USD[244.73]                                                                                                                                                                    Yes

07954723                              BTC[0.00000010], CHF[0.00], CUSDT[3], DAI[0], DOGE[0], ETH[0], KSHIB[1601.72460368], SHIB[15.01513647], USD[0.00]                                                              Yes

07954735                              USD[0.04]                                                                                                                                                                      Yes

07954742                              USD[10.88]                                                                                                                                                                     Yes

07954747                              USD[0.00]

07954755                              BRZ[301.14663933], CUSDT[1], USD[0.00]                                                                                                                                         Yes

07954757                              BTC[.00004101], DOGE[1], USD[0.61]                                                                                                                                             Yes

07954761                              USD[50.01]

07954762                              USD[0.07]

07954782                              TRX[1.36035325], USD[0.00]

07954788                              CUSDT[1], USD[0.00]                                                                                                                                                            Yes

07954792                              NFT (291272546728815337/FREEDOM WOMEN 2)[1], NFT (339252894609164232/CHANGE)[1], NFT (352971483736276604/FREEDOM MAN)[1], NFT (361530362926951142/SECRETMAN)[1], NFT
                                      (363424792336629024/DODO)[1], NFT (413999401408229229/ANGRYMAN)[1], NFT (429449874991345105/MONSTERO)[1], NFT (441511873573925636/WALL MAN)[1], NFT
                                      (453926910537768287/CHRİSTMAS)[1], NFT (467684018817795318/GLASSES MAN)[1], NFT (520519841982106239/CİGARELLO)[1], NFT (542580785318542131/FREEDOM WOMEN)[1],
                                      SHIB[99400], TRX[.000001], USD[24.50], USDT[4.85]
07954856                              BTC[.00000007], CUSDT[.04392628], ETH[.00000028], USD[0.01]                                                                                                                    Yes

07954860                              NFT (335451990593503369/Australia Ticket Stub #1982)[1], SOL[.02]

07954865                              CUSDT[1], USD[0.00]                                                                                                                                                            Yes

07954896                              LTC[.01], SHIB[51735305.11927342]                                                                                                                                              Yes

07954899                              LTC[0], MATIC[0], SOL[0], USD[0.00]                                                                                                                                            Yes

07954906                              BTC[.00075506], ETH[0.03401690], ETHW[0.03359282], SOL[.16688395], USD[0.00]                                                                                                   Yes

07954912                              BTC[0], SOL[.00000001], USD[1.28], USDT[0]

07954913                              USD[0.01]                                                                                                                                                                      Yes

07954920                              SOL[.00000001]

07954931                              SHIB[9990100], USD[2.03]

07954938                              BCH[.00819538], BTC[.00001118], ETH[0], ETHW[0], LTC[.00588262], TRX[.000028], USD[0.00], USDT[0.24593383]

07954941                              DOGE[22.51575004], USD[0.00]

07954946                              COMP[.01367204]

07954949                              BF_POINT[100], BRZ[2], CUSDT[6], ETHW[2.13541095], TRX[4], USD[0.01]                                                                                                           Yes

07954954                              ETH[.00214926], LINK[.31066444], USD[1.54], USDT[0]                                                                                                                            Yes

07954960                              ETH[.21906525], ETHW[.21906525], SHIB[6993700], USD[0.00]

07954963                              SOL[.04448241], USD[0.00]

07954992                              USD[10.00]

07955005                              BTC[.07189622], ETH[1.673], ETHW[1.673], USD[2505.78]

07955022                              USD[0.00]                                                                                                                                                                      Yes

07955034                              SOL[.02]

07955041       Contingent, Disputed   USD[0.00]

07955045                              NFT (551185770276440090/Bahrain Ticket Stub #1827)[1]

07955050                              CUSDT[2], DOGE[1], ETH[.13602456], ETHW[.13496407], SOL[4.25711371], TRX[1], USD[0.00]                                                                                         Yes

07955056                              TRX[1], USD[0.01]                                                                                                                                                              Yes
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                                                                                                                                            Customer Claims                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07955074                              SUSHI[0.46066756], USD[0.00]

07955075                              BTC[0], ETH[0], LINK[0], LTC[0], MATIC[0], SOL[0], SUSHI[0], TRX[0.20781717], USD[1.03], USDT[0.00019042]

07955076                              NFT (405651131074314071/Entrance Voucher #2166)[1]

07955081                              SOL[.0000033], TRX[3], USD[0.01]                                                                                                                                           Yes

07955090                              USD[0.01]                                                                                                                                                                  Yes

07955094                              BRZ[1], BTC[.00759947], DOGE[1], ETH[.21003615], ETHW[.21003615], LINK[14.59857959], TRX[1], USD[0.01]

07955096                              CUSDT[3], USD[0.00]

07955100                              USD[0.00], USDT[0]                                                                                                                                                         Yes

07955104                              CUSDT[2], DOGE[1], KSHIB[4218.69867943], TRX[1], USD[0.00], USDT[0]

07955106                              NFT (420201755794565960/Canvax #14)[1], NFT (444765480016162119/Canvax #17)[1]

07955117                              BTC[.00000048], CUSDT[1], DOGE[1], TRX[2], USD[0.30]                                                                                                                       Yes

07955127                              NFT (327723414931141732/You in, Miami? #355)[1]

07955131                              BTC[0], CUSDT[18], DOGE[133.10937002], TRX[1], USD[0.00]                                                                                                                   Yes

07955134                              USD[39.36]

07955136                              NFT (333775151614432519/Entrance Voucher #12794)[1]

07955142                              USDT[.1]

07955143       Contingent, Disputed   BTC[.00000007], DOGE[0.00857494], ETH[0.00000077], ETHW[0], LINK[.00005862], SOL[0.00001584], UNI[0], USD[0.00]                                                            Yes

07955149                              NFT (431872377015665533/Imola Ticket Stub #1714)[1], NFT (567749691071542410/FTX - Off The Grid Miami #4353)[1]

07955151                              BTC[0], DOGE[0], EUR[0.00], USD[0.00]

07955159                              USD[10.88]                                                                                                                                                                 Yes

07955165                              BAT[1], BF_POINT[300], DOGE[4], SHIB[584.75614754], SOL[.00000001], TRX[1], USD[0.00], USDT[1.00070183]                                                                    Yes

07955174                              PAXG[0.28175492], USDT[0.00003672]

07955190                              BTC[.00019]                                                                                                                                                                Yes

07955202                              BTC[0.00869312], LINK[.0909], SOL[.00927], USD[5.43]

07955204                              CUSDT[3], DOGE[1], SOL[.00010236], TRX[1], USD[0.01], USDT[1.07371318]                                                                                                     Yes

07955216                              NFT (543899441568438035/Benny Biggs #113 of 1111)[1], SOL[4.93203854], USD[0.00]

07955227                              BRZ[2], CUSDT[3], DOGE[.09183691], MATIC[.56048561], SHIB[5720.9800081], USD[1.18]

07955233                              NFT (413405967505292057/LoonToon)[1], NFT (482434568666126866/LoonToon #2)[1], USD[0.07]

07955238                              BTC[.00090448], CUSDT[2], SOL[.2710637], USD[0.00], USDT[1.08599082]                                                                                                       Yes

07955252                              NFT (346992548630683554/You in, Miami? #356)[1]

07955258                              USD[0.00]                                                                                                                                                                  Yes

07955259                              USD[4.98]

07955261                              BTC[0.00001960], ETH[.0009819], ETHW[.0009819], SOL[0], USD[-0.18]

07955264                              USD[0.00]                                                                                                                                                                  Yes

07955289                              BTC[.0024], USD[2.61]

07955290                              BRZ[3], BTC[.02383883], CUSDT[2], DOGE[3], ETH[.16870839], ETHW[.16845073], NFT (549139012641230322/Entrance Voucher #13270)[1], SHIB[287534.3564808], TRX[5], USD[0.00]   Yes

07955302                              ETH[.00368904], ETHW[.00368904], NFT (462114751537851844/FTX - Off The Grid Miami #4156)[1], TRX[1], USD[0.00]

07955304                              CUSDT[1], DOGE[1], MATIC[361.66878676], USD[0.31]                                                                                                                          Yes

07955315                              AAVE[.13548473], AVAX[.26216014], BRZ[1], BTC[.00610324], CUSDT[22], DOGE[4.00131528], MATIC[7.04255665], NFT (341924072161003187/Entrance Voucher #2739)[1], SHIB[12],    Yes
                                      SOL[5.49955252], USD[8.64]
07955319                              NFT (442475461806001444/You in, Miami? #357)[1]

07955324                              CUSDT[13], DOGE[57.72673073], ETH[0.02619185], ETHW[0.02586353], SHIB[276187.52024237], TRX[138.19384392], USD[0.02]                                                       Yes

07955335                              USD[13.00]

07955340                              BTC[.00103634], ETHW[.000915], USD[0.00]

07955345                              BTC[.00000011], USD[0.29]                                                                                                                                                  Yes

07955348                              SOL[0]

07955349                              BTC[.00224623], CUSDT[1], MATIC[49.12506162], TRX[1], USD[0.00]                                                                                                            Yes

07955350                              USD[21.75]                                                                                                                                                                 Yes

07955358                              USD[0.00]

07955364                              BTC[.00086266], CUSDT[4], DOGE[354.56560479], ETH[.12528732], ETHW[0.12414398], MATIC[15.44349812], SHIB[1], TRX[1], USD[0.00]                                             Yes

07955370                              DOGE[0], ETH[0], NFT (497559109892092582/Entrance Voucher #4188)[1], USD[0.00]                                                                                             Yes

07955375                              USDT[0]

07955385                              SOL[.372]

07955393                              TRX[9923.856297], USD[0.52]

07955394                              SOL[.04464351], USD[0.00]

07955412                              NFT (422426505029647964/You in, Miami? #358)[1]

07955427                              KSHIB[9.685], SOL[0], USD[0.65]

07955429                              BRZ[1], CUSDT[2], DOGE[1], ETHW[.02496503], LINK[1.74528521], SHIB[1], SOL[1.06305464], TRX[1], USD[40.57]                                                                 Yes

07955435                              CUSDT[2], DOGE[1], SHIB[2472209.46653614], USD[0.00]                                                                                                                       Yes
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                                                                                                                                             Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07955436                              ETHW[.00071093], USD[0.01]

07955440                              ETH[.18102181], ETHW[0.18102181]

07955458       Contingent, Disputed   USD[2.79]                                                                                                                                                                             Yes

07955459                              AVAX[0], CUSDT[2], GRT[1], MATIC[0], SHIB[0], SOL[0], TRX[1], USD[0.00]                                                                                                               Yes

07955461                              BAT[1.00330223], CUSDT[1], DOGE[1], NFT (310057213894449209/Eitbit Ape #240)[1], NFT (326509697632302012/Eitbit Ape #2696)[1], NFT (406322904034863802/Eitbit Ape #4229)[1], NFT      Yes
                                      (409198296001010462/Eitbit Ape #43)[1], NFT (462922052777624858/Eitbit Ape #3487)[1], NFT (469366383022144190/Eitbit Ape #2193)[1], NFT (477320461907566340/Eitbit Ape #4888)[1],
                                      SOL[.00005914], TRX[2], USD[0.00], USDT[1.07082454]
07955466                              CUSDT[1], DOGE[1], SOL[.34081934], USD[0.03]                                                                                                                                          Yes

07955473       Contingent, Disputed   USD[0.00]                                                                                                                                                                             Yes

07955476                              SHIB[99123.01836046], USD[0.32]

07955484                              NFT (290701691413183036/You in, Miami? #359)[1]

07955490                              BAT[1], BRZ[4], DOGE[4], GRT[1], SHIB[5], TRX[5], USD[0.00], USDT[1.04376859]                                                                                                         Yes

07955494                              DOGE[872.48907666], KSHIB[2573.9872845], NFT (409535905798780737/3D CATPUNK #3140)[1], NFT (422271921833509394/3D CATPUNK #5189)[1], SHIB[2534348.42790522], SOL[1.01720366],         Yes
                                      USD[0.00]
07955496                              NFT (318121005212997392/You in, Miami? #360)[1]

07955509                              NFT (315816961761321283/Bahrain Ticket Stub #2130)[1]

07955524                              AVAX[.11708911], BAT[31.71899858], BTC[.14335128], DOGE[134.0542632], ETH[.26060191], ETHW[.26040675], EUR[9.41], GRT[12.79918643], LINK[.35161494], LTC[2.06332462],                 Yes
                                      MATIC[38.77937995], MKR[.00317662], SHIB[255373.86383717], SOL[3.95756749], USD[33.05]
07955525                              CUSDT[1], LINK[8.2669704], USD[0.83]                                                                                                                                                  Yes

07955526                              KSHIB[1042.19086525], SHIB[1701053.6365716], TRX[2], USD[0.00]                                                                                                                        Yes

07955535                              SOL[.23841]

07955537                              BTC[0], USD[0.27]

07955541                              NFT (554693139771125477/Reflector #55)[1], SOL[.40136158], USD[0.00], USDT[0]

07955558                              DOGE[1], USD[732.36]                                                                                                                                                                  Yes

07955564                              USD[20.00]

07955580                              USD[0.00]                                                                                                                                                                             Yes

07955585                              USD[19.56]

07955592                              USD[20.00]

07955603                              USD[0.00]

07955611                              USD[108.53]                                                                                                                                                                           Yes

07955619                              ETH[.16511611], SHIB[24778.32144262], USD[825.94]

07955635                              ETH[.00000007], ETHW[.00000007], USD[0.00]                                                                                                                                            Yes

07955636                              ETH[0.00000001], ETHW[0], USD[0.00], USDT[0]

07955643                              AAVE[0], BCH[0], BF_POINT[500], CUSDT[0], DOGE[0], ETH[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], SHIB[0], SOL[0], USD[0.00], USDT[0], YFI[0]                                           Yes

07955650                              SOL[2.44755], USD[3.36]

07955651                              SOL[1.86517583], TRX[1], USD[0.00]

07955653                              CUSDT[1], TRX[2], USD[0.00]                                                                                                                                                           Yes

07955657                              AVAX[0], BTC[0], USD[5.52]

07955666                              MATIC[158.89967537], USD[0.00]

07955668                              NFT (407815131629534613/Settler #477)[1], NFT (498359681526278838/Synesthesia #217)[1], NFT (546011029763023223/Lorenz #1098)[1]

07955670                              ETH[.0001038], ETHW[2.0931038], USD[0.00], USDT[0]

07955675                              DOGE[2], USD[665.74]                                                                                                                                                                  Yes

07955679                              SOL[.00000001]

07955681                              NFT (403273432421401295/You in, Miami? #361)[1]

07955687                              USD[0.00]

07955695                              CUSDT[12], DOGE[2], SHIB[2], TRX[1], USD[0.68]

07955699                              USD[0.27]

07955706                              BTC[0], ETHW[.240236], MATIC[.0061876]

07955714                              SOL[.1878]

07955716                              SOL[0]

07955727                              NFT (479431930471555168/You in, Miami? #362)[1]

07955728                              BF_POINT[100]                                                                                                                                                                         Yes

07955734                              USD[0.06]

07955740                              USD[0.00], USDT[1.86229]

07955741                              NFT (430406991747945304/You in, Miami? #363)[1]

07955748                              NFT (305523276262743338/Entrance Voucher #4345)[1], NFT (411416551393694622/Imola Ticket Stub #1549)[1]

07955751                              ETH[.02155769], ETHW[.02155769], USD[0.00]

07955752                              CUSDT[2], SOL[0], USD[0.00]                                                                                                                                                           Yes

07955759                              BTC[.00001615], USD[0.00]                                                                                                                                                             Yes

07955767                              SOL[.05039933]

07955769                              BAT[2.04607159], BCH[1.81687331], BRZ[2], CUSDT[3], DOGE[2], ETH[13.59980697], ETHW[13.59538279], GRT[2.00415609], LINK[1.05676839], MATIC[5966.02693992], TRX[3], UNI[1.05354341],   Yes
                                      USD[0.00], USDT[2.10522795]
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                                                                                                                                         Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07955771                           BTC[.0053936], ETH[.00055253], ETHW[0.00055252], USD[-27.56]

07955776                           AAVE[2.59655219], SOL[3.83105530], USD[0.00]

07955780                           ALGO[3791.49791202], AVAX[9.22866627], BAT[547.34885751], BCH[3.16024202], BRZ[2], BTC[.39345111], CUSDT[7], DOGE[275.55783054], ETH[1.63314049], ETHW[1.63259199],                     Yes
                                   GRT[3709.64025991], LINK[375.06481914], LTC[26.71321306], MATIC[1166.16344455], NEAR[249.44999586], NFT (408623866779150438/Australia Ticket Stub #328)[1], SHIB[120759318.28524603],
                                   SOL[42.42839518], TRX[8], USD[0.00], USDT[1.05047431]
07955785                           CUSDT[2], USD[0.00]

07955788                           NFT (473450147808913532/FTX - Off The Grid Miami #378)[1]                                                                                                                               Yes

07955789                           USD[53.45]                                                                                                                                                                              Yes

07955801                           AVAX[6.413042], DOGE[3], ETH[.00159907], ETHW[0.00158539], SHIB[1], SOL[10.41088596], SUSHI[.00184072], TRX[1], USD[0.05]                                                               Yes

07955813                           AAVE[.00334743], AVAX[0.02410288], BTC[0.00009113], ETH[0.00000001], ETHW[0.00042802], MATIC[0.00003617], SOL[0.00184499], UNI[0.07756465], USD[1.06], USDT[0.01889317]                 Yes

07955824                           NFT (534943958545689221/You in, Miami? #364)[1]

07955825                           USD[4.85]

07955832                           BAT[0], SHIB[0], SUSHI[0], TRX[0], USD[0.00], USDT[0]                                                                                                                                   Yes

07955835                           ETH[.05], ETHW[.05], SOL[1], USD[71.55]

07955843                           USD[108.77]                                                                                                                                                                             Yes

07955847                           BRZ[1], BTC[.00163575], CUSDT[1], NFT (480809404189075675/You in, Miami? #365)[1], SHIB[1534138.70111846], USD[0.00]

07955853                           USD[0.00], USDT[4.93375000]

07955854                           ETH[0], SHIB[3], USD[0.00]                                                                                                                                                              Yes

07955856                           USD[0.01]                                                                                                                                                                               Yes

07955868                           SOL[.00798621], USD[0.00], USDT[0]                                                                                                                                                      Yes

07955869                           NFT (573775571944918366/You in, Miami? #366)[1]

07955875                           USD[50.00]

07955876                           SHIB[2], SOL[2.53293679], USD[240.03]                                                                                                                                                   Yes

07955882                           NFT (480727101171589962/Coachella x FTX Weekend 1 #10846)[1]

07955897                           NFT (518568291414113956/You in, Miami? #369)[1]

07955899                           NFT (355759058510006224/You in, Miami? #367)[1]

07955902                           USD[0.00], USDT[1.00035615]                                                                                                                                                             Yes

07955910                           BTC[0.00002021], USD[0.00]

07955918                           NFT (382321212724463022/You in, Miami? #368)[1]

07955927                           BTC[.00179714], CUSDT[4], DOGE[431.64859993], ETH[.0316493], ETHW[.03125258], SHIB[1158212.55259167], USD[108.90]                                                                       Yes

07955933                           USD[0.00]

07955935                           USD[10.00]

07955938                           BTC[0], DOGE[0], SHIB[2], USD[0.00]                                                                                                                                                     Yes

07955940                           USD[0.15]

07955950                           USD[1916.64]

07955953                           USD[0.00]

07955962                           SOL[.00331679], USD[0.00], USDT[0]

07955968                           CUSDT[1], UNI[1], USD[0.00]

07955971                           CUSDT[1], DOGE[44.05148077], SOL[.08576157], USD[0.01]                                                                                                                                  Yes

07955983                           NFT (471617858434585839/Bahrain Ticket Stub #579)[1]

07955984                           BTC[0], SOL[0.00420068], USDT[0.00000084]

07955987                           BAT[55.79961293], BRZ[90.3447767], BTC[.00042555], CUSDT[752.60616228], DOGE[112.13269716], ETH[.04281186], ETHW[.04227834], GRT[34.53369207], KSHIB[152.49617171],                     Yes
                                   LINK[4.67823467], SHIB[166138.5809865], TRX[445.36036828], USD[0.10]
07955989                           SHIB[392541.70755643]

07955996                           USD[250.00]

07956007                           USD[0.03]

07956009                           BTC[.00823835], CUSDT[6], ETH[.02227514], ETHW[.02200134], MATIC[7.91288226], SOL[.48887516], USD[0.61]                                                                                 Yes

07956011                           USD[1072.98]                                                                                                                                                                            Yes

07956014                           USD[0.01], USDT[0]                                                                                                                                                                      Yes

07956017                           USD[20.00]

07956025                           BTC[0], ETH[0], SOL[0], USD[0.00]                                                                                                                                                       Yes

07956031                           CUSDT[3], KSHIB[12049.6241414], SHIB[15301171.75951147], TRX[1], USD[0.00]

07956033                           USD[100.00]

07956035                           ALGO[0], SHIB[13557.49176457], SOL[0], USD[0.00]                                                                                                                                        Yes

07956046                           NFT (334161270698128570/You in, Miami? #371)[1]

07956048                           AVAX[.00005601], BTC[.0003998], DOGE[1], ETH[.00699985], SHIB[4], USD[0.01], USDT[37.45140429]                                                                                          Yes

07956063                           DOGE[21.56361761], ETH[.00589338], ETHW[.00582498], MATIC[2.85232419], NFT (294689760147215912/Crypto Backpack #4)[1], NFT (309937725709115164/Crypto Backpack #3)[1], NFT              Yes
                                   (367933764358583273/Adam)[1], NFT (370945134401299199/Lulu Art #005)[1], NFT (486183260703376828/Crypto Backpack #5)[1], NFT (537937145883411869/BTC ICON)[1], NFT
                                   (553196394028209703/Board Game GO TO JAIL 5/5)[1], NFT (567456595973512447/AI-generated landscape #77)[1], SHIB[396436.38775139], TRX[104.55020977], USD[0.69]
07956066                           ETH[.000188], USD[7.56]

07956067                           BTC[0], ETH[.000694], ETHW[.000694], MATIC[.118], SOL[.000152], USD[1.44], YFI[.000969]
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                                                                                                                                         Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07956068                           DOGE[2], TRX[.02738585], TRY[0.42]                                                                                                                                                     Yes

07956077                           CUSDT[1], DOGE[1], SHIB[5792662.60175376], USD[0.00]                                                                                                                                   Yes

07956078                           USD[10.88]                                                                                                                                                                             Yes

07956087                           DOGE[314.76285067], SHIB[2277066.00497775], TRX[77.15367398], USD[0.00]                                                                                                                Yes

07956088                           BTC[.00000002], CUSDT[1], DOGE[2], SHIB[1], USD[3094.15]                                                                                                                               Yes

07956089                           USD[0.01]

07956101                           BCH[.00000352], BRZ[148.82758388], CUSDT[16], KSHIB[1468.98115316], SOL[.08309296], USD[0.00]                                                                                          Yes

07956102                           BTC[.0016], ETH[.022977], ETHW[.022977], LINK[.5994], SHIB[599400], USD[93.31]

07956103                           NFT (397248080049988024/Entrance Voucher #1920)[1]

07956107                           GRT[61.00742851], TRX[1], USD[0.00]                                                                                                                                                    Yes

07956113                           USD[0.00]

07956117                           USD[0.02]

07956119                           NFT (297197132737491942/Pesky Crystal)[1], NFT (299796137769616989/StarAtlas)[1], NFT (308718125331600637/StarAtlas)[1], NFT (354675843797726129/Penguin Brawler #6)[1], NFT
                                   (374618068253080285/StarAtlas)[1], NFT (384217005927397166/Pesky Penguins #76)[1], NFT (416399700026717752/StarAtlas Anniversary)[1], NFT (458011555004669014/StarAtlas)[1], NFT
                                   (476477555858303837/PeskyPenguins.io)[1], NFT (511568203022420203/StarAtlas)[1], NFT (518194458454487997/StarAtlas)[1], NFT (572594928317018811/StarAtlas)[1], SOL[.000005]
07956136                           BTC[0.00144863], CUSDT[27], DAI[0], DOGE[71.31804505], ETH[0], ETHW[0], SHIB[1], SOL[0], SUSHI[0], TRX[3], USD[0.00]                                                                   Yes

07956146                           NFT (319611296743814687/FTX - Off The Grid Miami #3276)[1], NFT (326480884562571804/Barcelona Ticket Stub #438)[1], NFT (354575360040414891/Baku Ticket Stub #280)[1], NFT
                                   (428862893628813881/FTX - Off The Grid Miami #3278)[1], NFT (437148480115479784/Bahrain Ticket Stub #350)[1], NFT (471547376791192588/Monaco Ticket Stub #16)[1], NFT
                                   (492318641921014116/Warriors 75th Anniversary City Edition Diamond #701)[1], NFT (511890815185060263/FTX - Off The Grid Miami #3284)[1], NFT (540757243759921298/Bahrain Ticket Stub
                                   #2032)[1], NFT (564348239632703362/Montreal Ticket Stub #19)[1], SOL[.2997], USD[43.82]
07956147                           BTC[0], CUSDT[1], DOGE[1], USD[0.00], USDT[0.00000913]                                                                                                                                 Yes

07956149                           BRZ[2], CUSDT[3], ETHW[.55761606], SHIB[1], TRX[6], USD[2063.98]

07956158                           NFT (299876275779874436/APEFUEL by Almond Breeze #93)[1], USD[1.35]

07956165                           LINK[14.8], SHIB[24413278.20163487], USD[0.61], USDT[0]

07956169                           ETH[.00034], ETHW[.00034], USD[32.24], USDT[2.8836214]

07956173                           BTC[.0003176], ETH[.004], ETHW[.004], USD[0.00]

07956175                           TRX[1], USD[0.00]

07956179                           BTC[.01532274], CUSDT[1], DOGE[1685.75950095], ETH[.08915342], ETHW[.08811541], SHIB[3987005.01060622], SOL[3.15696818], SUSHI[234.62808096], TRX[1085.97131254], USD[786.59]          Yes

07956180                           CUSDT[1], ETHW[3.10874021], TRX[1], USD[0.01]                                                                                                                                          Yes

07956181                           NFT (561174108341636959/You in, Miami? #372)[1]

07956183                           BAT[0], BF_POINT[300], BTC[0], DAI[0], DOGE[0], ETH[0.00000303], ETHW[0.00000302], GRT[0], LINK[0], MATIC[0], SHIB[0], SOL[0], SUSHI[0], USD[0.01], USDT[0]                            Yes

07956186                           BRZ[1], BTC[.05166799], CUSDT[12.00008259], DOGE[2], ETH[.00002988], ETHW[.00002988], LINK[.00005646], MATIC[.00004834], TRX[2.00014167], USD[73.51], USDT[1.08139868]                 Yes

07956194                           CUSDT[2], DOGE[101.28964776], ETH[.03704279], ETHW[.03658076], KSHIB[1162.1737996], NFT (549539472669230479/Symphony of colors #3)[1], TRX[1], USD[16.47]                              Yes

07956198                           SHIB[149700.59880239], USD[0.00]

07956215                           BTC[.11174818], ETH[.64866801], ETHW[.64839569]                                                                                                                                        Yes

07956218                           BRZ[1], CUSDT[2], GRT[2.03987137], SHIB[135.07570284], TRX[2], USD[0.00]                                                                                                               Yes

07956222                           TRX[1], USD[0.00]

07956225                           USD[9.10], USDT[.9953121]                                                                                                                                                              Yes

07956240                           BTC[0], USD[27.33]

07956243                           BRZ[2], CUSDT[10], DOGE[3], SHIB[62592687.08579973], TRX[4], USD[0.00], USDT[1.08472203]                                                                                               Yes

07956246                           BTC[.0000663], USD[0.01]

07956248                           BTC[.00032588], CUSDT[1], DOGE[21.70822398], ETH[.00624147], ETHW[.00615939], USD[0.00]                                                                                                Yes

07956264                           BTC[.00149827], USD[0.00]

07956278                           CUSDT[3], DOGE[3], USD[0.01]                                                                                                                                                           Yes

07956287                           SHIB[2], USD[0.00]                                                                                                                                                                     Yes

07956294                           ETHW[1], USD[254.18], USDT[0]

07956295                           SOL[0.30763971], USD[0.00]

07956310                           BTC[.12009991], NFT (475514609343663690/Romeo #824)[1], USD[0.00]

07956311                           BTC[0], USD[0.00]

07956313                           SOL[0], USD[0.90], USDT[0.00000105]

07956316                           NFT (558563187601982830/Entrance Voucher #4015)[1]

07956318                           AVAX[0.09102375], BAT[0], BTC[0], CHF[0.00], CUSDT[0], DOGE[0], ETH[0.00899100], ETHW[0], HKD[0.00], LTC[0], MATIC[0], MKR[0], PAXG[0], SHIB[0], SOL[0], SUSHI[0], TRX[0], UNI[0],
                                   USD[0.00], USDT[0]
07956319                           BAT[1], BTC[.18339499], ETH[1.01260846], ETHW[1.01218312], SHIB[1], TRX[1], USD[818.26]                                                                                                Yes

07956321                           NFT (348161003064180139/2974 Floyd Norman - OKC 2-0102)[1], NFT (363128638945385100/The 2974 Collection #2336)[1], NFT (366498871238974131/Birthday Cake #2336)[1], USD[1.00]

07956325                           BF_POINT[100], BRZ[1], CUSDT[5], DOGE[5], ETH[0], ETHW[.84879263], GRT[2.00502141], SHIB[1], SOL[.00062711], TRX[4], USD[0.01]                                                         Yes

07956328                           SOL[.05067951]

07956331                           AAVE[11.05453726], BAT[3.11248431], BRZ[1], BTC[0.88060101], CUSDT[4], DOGE[7.00562894], ETH[9.2854342], ETHW[9.28268451], GRT[4.0168305], LINK[207.1074865], MATIC[8429.49982655], Yes
                                   SHIB[3], SOL[160.01017212], TRX[6], UNI[225.10696895], USD[48.39], USDT[3.16024547]
07956333                           BTC[0], USD[0.00], USDT[0]

07956340                           SOL[0]

07956341                           CUSDT[1], ETH[.0024788], ETHW[.0024788], SOL[.10489239], USD[0.00]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07956344                           USD[2.42], USDT[0]

07956354                           NFT (574460732543290004/Glitched JungleCats #4428)[1], SOL[.02], USD[0.04], USDT[0]

07956358                           BAT[0], DOGE[0], GRT[0], KSHIB[0], LTC[0], MATIC[0], SHIB[0], SUSHI[0], TRX[0], UNI[0], USD[0.03], USDT[0.00000001]                                                            Yes

07956360                           NFT (556294533441178075/FTX - Off The Grid Miami #7436)[1], USD[10.00]

07956362                           NFT (339002995139352771/You in, Miami? #373)[1]

07956364                           NFT (421266071566956128/Sol Lion #1641)[1], USD[0.00]

07956369                           ETH[0], SOL[0], USD[0.00]

07956375                           NFT (565388547577589227/NFT BZL 2021 #224)[1]

07956392                           ETH[0.00069081], ETHW[1.952], LINK[248.99643401], MATIC[2448.85888057], SUSHI[0], USD[3397.31]

07956397                           USD[21.75]                                                                                                                                                                     Yes

07956400                           NFT (554620411534814998/You in, Miami? #374)[1]

07956404                           USD[3.71]

07956407                           BAT[.00003396], BRZ[16.07466519], CUSDT[51.11015824], DOGE[27.9871292], GRT[6.24013623], MATIC[1.0088701], SHIB[12], TRX[25.70614215], USD[82.38]                              Yes

07956414                           BCH[.00000533], CUSDT[1], USD[0.00]                                                                                                                                            Yes

07956415                           CUSDT[1], USD[0.80]                                                                                                                                                            Yes

07956418                           NFT (492348033376850161/You in, Miami? #375)[1], NFT (535441858611211517/Aku World: Dream #193)[1]

07956429                           BAT[2.05150121], BRZ[2], CUSDT[10], DOGE[4], ETHW[2.01365417], GRT[3.06183904], SHIB[1], TRX[7], USD[0.00], USDT[3.18646675]                                                   Yes

07956456                           USD[0.00]

07956464                           SOL[.02]

07956467                           SOL[1], USD[14.70]

07956479                           BTC[.04767024], ETH[.57011634], ETHW[.57011634], SOL[4.44496719], USD[0.20]

07956480                           NFT (492196082243370244/You in, Miami? #376)[1]

07956481                           CUSDT[2], MATIC[.00022011], USD[0.00]                                                                                                                                          Yes

07956493                           USD[100.00]

07956494                           NFT (420161639533442595/Imola Ticket Stub #2248)[1], USD[0.00]                                                                                                                 Yes

07956512                           NFT (460365541384981617/FunTownPeople #5)[1], NFT (543661153318941706/FunTownPeople #11)[1]

07956518                           USD[24.38]

07956528                           USD[97.02]

07956537                           LTC[2.97070583], MATIC[0], SHIB[0], USD[0.00]

07956540                           BTC[.00044862]

07956547                           CUSDT[1], DOGE[1], SOL[1.85462623], TRX[1], USD[0.87]                                                                                                                          Yes

07956554                           AUD[0.00], BTC[0], ETH[.001977], ETHW[.001977], UNI[0], USD[0.38], USDT[0.00027771]

07956558                           ETH[0], ETHW[.14098], USD[3.16], USDT[1.1806803]

07956560                           BAT[6.21226702], BRZ[17.6193143], CUSDT[55.34776225], DOGE[1], ETHW[3.81174173], GRT[2.00241503], LINK[1.0000134], MATIC[1.00114434], SHIB[45], USD[52663.20], USDT[0]         Yes

07956563                           BTC[.10083474], CUSDT[1], DOGE[2], ETH[.44430297], ETHW[.44411621], TRX[4], USD[6435.57]                                                                                       Yes

07956571                           BTC[.0047], ETH[.057942], ETHW[.057942], SOL[.999], USD[2.46]

07956576                           BTC[.00507683], CUSDT[5], USD[26.06]                                                                                                                                           Yes

07956582                           SOL[10.00993451], USD[0.00]

07956593                           NFT (459868234082154383/RTFKT X TAKASHI MURAKAMI X GAGOSIAN CLONE X NYC T-Shirt 🌸)[1], NFT (507425376947758492/THE KENZO TIGER TAIL)[1]

07956594                           CUSDT[2], DOGE[1], USD[0.00]                                                                                                                                                   Yes

07956603                           USD[1.10]

07956607                           NFT (464674647707502955/Series 1: Wizards #230)[1], NFT (493750436224706671/Australia Ticket Stub #1643)[1], NFT (566313889527839489/Series 1: Capitals #258)[1]               Yes

07956611                           BTC[0.00001822], USD[0.00]

07956618                           BTC[0]

07956627                           ETH[0], LTC[0], PAXG[0], USD[0.00], USDT[0]

07956631                           BTC[.00016394]

07956633                           TRX[.800003], USD[0.00]

07956638                           BTC[.00000005], CUSDT[1], TRX[1], USD[0.01]                                                                                                                                    Yes

07956643                           USD[1.00]

07956648                           USD[0.00], USDT[.00394946]

07956654                           BTC[0], ETH[0], LTC[0], USD[0.00]                                                                                                                                              Yes

07956656                           DOGE[135], NFT (340452029767935291/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #89)[1], NFT (378158853321105430/CryptoManchos #8)[1], NFT
                                   (419702913172608952/Penguins #3)[1], NFT (440302052074369646/CryptoManchos #4)[1], NFT (521227112244856332/CryptoAvatar #138)[1], SHIB[700000], USD[2.55]
07956657                           DOGE[1351.437], USD[0.93]

07956667                           USD[22.26], USDT[0]

07956680                           BTC[0.00000001], PAXG[.00000222], SHIB[2], TRX[2], USD[0.00]                                                                                                                   Yes

07956682                           BAT[1.0165555], NFT (312191659466561799/You in, Miami? #426)[1], USD[0.01]                                                                                                     Yes

07956686                           BTC[.00190953], CHF[29.57], ETH[.04613739], ETHW[.04556283], NFT (318160234897380109/Imola Ticket Stub #248)[1], NFT (324907178620963725/The Hill by FTX #2999)[1], NFT        Yes
                                   (340078232385760293/FTX Crypto Cup 2022 Key #1241)[1], NFT (387663295857288920/Barcelona Ticket Stub #50)[1], NFT (481215785040369272/Entrance Voucher #2510)[1], SHIB[1],
                                   SOL[17.47963759], SUSHI[0], USD[0.00], ZAR[0.00]
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                                                                                                                                         Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07956690                           NFT (430876891126294530/You in, Miami? #377)[1]

07956700                           BTC[.00016167], USD[0.00]                                                                                                                                                            Yes

07956707                           CUSDT[1], USD[10.62]                                                                                                                                                                 Yes

07956708                           SOL[0], USD[1.71]

07956709                           USD[0.00]

07956710                           USD[0.00]                                                                                                                                                                            Yes

07956715                           BTC[.14620568], ETH[.00042281], ETHW[0.00042280], USD[16977.66], USDT[0.00037253]

07956722                           DOGE[1], ETHW[1.16560862], GRT[1], SHIB[2], USD[0.00]                                                                                                                                Yes

07956723                           BTC[0], ETHW[.13229921]

07956729                           SOL[2.48285], USD[1.10]

07956731                           SOL[.05]

07956734                           BTC[.2733], ETH[1.429], ETHW[1.429], SOL[6.349055], USD[1.01]

07956739                           USD[543.07]                                                                                                                                                                          Yes

07956750                           KSHIB[0], SHIB[3241.02167062], USD[0.00]                                                                                                                                             Yes

07956771                           NFT (349647841298069123/Entrance Voucher #4807)[1], NFT (477379161395891080/Romeo #937)[1], NFT (562846850957358829/Microphone #9606)[1]

07956776                           BTC[0], USD[0.42], USDT[0]

07956777                           BTC[.00000026], CUSDT[1], NFT (290144500917788652/Entrance Voucher #4311)[1], NFT (489330481008375615/FTX - Off The Grid Miami #3003)[1], NFT (557467331335778790/You in, Miami?     Yes
                                   #378)[1], SHIB[1], USD[0.00]
07956782                           ETH[.0005], SOL[.00256], USD[0.00]

07956784                           BRZ[1], CUSDT[1], DOGE[1], TRX[1], USD[631.95]

07956789       Contingent,         AAVE[0], BTC[0.00655867], ETH[-0.15187098], ETHW[.00000001], LINK[0], MATIC[30.82492287], NFT (453363715533463809/Bahrain Ticket Stub #1186)[1], SOL[456.49000000], USD[75000.00],
               Unliquidated        USDT[0]
07956794                           TRX[107.06933333], USD[0.00]                                                                                                                                                         Yes

07956809                           ETH[.00000001], ETHW[0], SHIB[124219.02005797], USD[0.01], USDT[0.00000001]                                                                                                          Yes

07956814                           USD[0.00]                                                                                                                                                                            Yes

07956817                           BTC[.0002], USDT[5.4340216]

07956819                           PAXG[1], USD[1608.23]

07956827                           NFT (289223795412678296/Miami Ticket Stub #294)[1]

07956834                           USD[0.83]

07956841                           CUSDT[1], TRX[1], USD[10.82], USDT[2350.81892812]                                                                                                                                    Yes

07956845                           USD[0.01]                                                                                                                                                                            Yes

07956846                           CUSDT[1], TRX[1], USD[0.40]                                                                                                                                                          Yes

07956855                           USD[0.00]

07956873                           BTC[0], ETHW[3.68131239], GRT[.2467], NFT (543770284463167095/Entrance Voucher #3783)[1], SOL[.0064244], TRX[.563], USD[25.01], WBTC[.00009298]

07956874                           USD[9.79]

07956877                           USD[0.00]                                                                                                                                                                            Yes

07956879                           BTC[0]

07956882                           NFT (516779354426600189/Saudi Arabia Ticket Stub #1082)[1]

07956884                           KSHIB[5.09], SOL[.00857], USD[0.39], USDT[0.66746560]

07956889                           NFT (343877966591507033/You in, Miami? #379)[1]

07956891                           CUSDT[1], DOGE[1], ETH[.25579987], ETHW[.25560598], LINK[4.97039884], SOL[2.56701486], TRX[4], USD[0.00], USDT[1081.02514776]                                                        Yes

07956899                           NFT (373967270404083847/You in, Miami? #380)[1]                                                                                                                                      Yes

07956900                           SHIB[1], USD[0.00]

07956902                           CUSDT[1], ETH[.02456366], ETHW[.0242627], USD[0.00]                                                                                                                                  Yes

07956903                           USD[8587.61]

07956910                           BRZ[1], CUSDT[1.06152056], DOGE[1], USD[0.00]                                                                                                                                        Yes

07956912                           NFT (554350517293346336/Miami Ticket Stub #334)[1]

07956914                           AVAX[7.11439463], DOGE[2], NEAR[28.77184894], PAXG[.11815182], SHIB[10406798.28418124], TRX[1], USD[0.00]                                                                            Yes

07956926                           SHIB[3258838.35286155], SOL[7.8104025], USD[0.22]                                                                                                                                    Yes

07956942                           DOGE[1], SOL[5.21759514]

07956948                           USD[0.00]

07956964                           ETH[0.10305091], ETHW[0.10305092], NFT (412247524472489850/Saudi Arabia Ticket Stub #925)[1], USDT[.4728696]

07956978                           AVAX[.29621634], BCH[.16989916], BTC[.00139668], CUSDT[1913.91860702], DOGE[439.42771627], ETH[.01842369], ETHW[.01819096], GRT[49.27233879], LINK[.76903499], LTC[.19231366],       Yes
                                   MATIC[19.00520076], SHIB[2], SOL[.24885954], TRX[3], USD[0.00], USDT[20.96823129]
07956980                           SOL[.29]

07956983                           SOL[0]

07956986                           CUSDT[2], SOL[4.76192062], USD[0.47]                                                                                                                                                 Yes

07956992                           BTC[0], DOGE[0.05129470], USD[34.00]

07956997                           ETHW[1.08464275]                                                                                                                                                                     Yes

07957006                           CUSDT[14], DOGE[1], LINK[.00004334], TRX[2], USD[0.00]                                                                                                                               Yes
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                                                                                                                                         Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07957011                           CUSDT[3], USD[0.00]                                                                                                                                                                 Yes

07957014                           BTC[.00000005], ETHW[.00679677], MATIC[0], SHIB[20], USD[0.00], USDT[0], WBTC[0]                                                                                                    Yes

07957028                           BTC[0], CUSDT[10], DAI[0], DOGE[2], MATIC[0], SOL[0], TRX[4], UNI[0], USD[0.00]                                                                                                     Yes

07957034                           ETHW[.09934283], SHIB[0], TRX[1], USD[308.51]

07957042                           SOL[.18981], USD[2.02]

07957043                           CUSDT[1], DOGE[3], TRX[3], USD[0.01]

07957044                           NFT (450051356300606138/You in, Miami? #381)[1]

07957045                           BF_POINT[100], ETH[0], NFT (396611480602801685/Ravager #1530)[1], NFT (574097550238983798/Zape Space)[1], SOL[.15144995], USD[0.23]                                                 Yes

07957046                           DOGE[1], MATIC[8.44234837], NFT (439711355481217479/Series 1: Capitals #119)[1], NFT (507688420080551111/Australia Ticket Stub #60)[1], NFT (521034916877275040/Series 1: Wizards   Yes
                                   #140)[1], USD[0.03]
07957049                           USD[0.62], USDT[.00461485]

07957053                           USDT[0]

07957054                           USD[2.84]

07957056                           USD[0.00]

07957060                           USD[0.00]                                                                                                                                                                           Yes

07957072                           CUSDT[1], DOGE[1], USD[0.01]                                                                                                                                                        Yes

07957077                           BRZ[1], DAI[.00000906], DOGE[1], ETH[.00000817], ETHW[.00000817], GRT[2.00084312], SOL[.00602238], TRX[4], USD[0.00], USDT[0.00001446]                                              Yes

07957078                           USD[10.00]

07957080                           ETH[.139], ETHW[.139], SOL[1.5485275], USD[5.38]

07957083                           DOGE[1]

07957087                           CUSDT[2], SOL[.00000001], USD[0.00]

07957088                           DOGE[0], SHIB[0], USD[0.00], USDT[0]                                                                                                                                                Yes

07957098                           CUSDT[1], DOGE[139.4012471], SHIB[17.53685388], SOL[.00000082], TRX[4], USD[0.28], USDT[0.00014692]                                                                                 Yes

07957101                           TRX[.000001], USDT[0.00018794]

07957104                           DOGE[947.74296278], USD[0.00]

07957109                           NFT (485795568155960185/Miami Grand Prix 2022 - ID: 95FD34BF)[1]

07957112                           CUSDT[3], ETH[0], ETHW[0], TRX[1], USD[0.05], USDT[0]                                                                                                                               Yes

07957114                           USD[50.01]

07957117                           BCH[0], BTC[0], ETH[0], SHIB[2.00002533], USD[0.00]                                                                                                                                 Yes

07957125                           USD[1561.16]

07957126                           CUSDT[2], DOGE[1], LTC[1.01438545], SHIB[2], SOL[.00000666], USD[12.49]                                                                                                             Yes

07957129                           KSHIB[4201.4493145], USD[0.02]                                                                                                                                                      Yes

07957131                           CUSDT[1], DOGE[375.06424381], USD[0.00]

07957132                           NFT (401660494758202881/Coachella x FTX Weekend 2 #3635)[1]

07957135                           USD[4.46]

07957146                           AVAX[1.06981358], BAT[34.44883611], BRZ[154.31057829], CUSDT[762.35168841], DAI[27.01932132], DOGE[1329.00274259], GRT[27.93309626], KSHIB[203.74250533], LINK[5.29539406],         Yes
                                   LTC[1.07297895], MATIC[14.83533756], SHIB[221056.91444896], SOL[1.06802316], SUSHI[6.67317215], TRX[271.02209906], UNI[5.74729793], USD[0.17], USDT[27.03547024]
07957158                           DOGE[432.435654], USD[0.00]                                                                                                                                                         Yes

07957160                           USD[100.00]

07957170                           GRT[1], SOL[.00003014], USD[0.00]                                                                                                                                                   Yes

07957187                           ETH[.00000001], ETHW[.00000001]

07957192                           MATIC[.58075944], USD[0.00]                                                                                                                                                         Yes

07957225                           BRZ[1], CUSDT[1], DOGE[820.87677454], SOL[1.23406394], USD[0.00]

07957226                           DOGE[862.74353555], USD[0.00]                                                                                                                                                       Yes

07957229                           AAVE[.13], BTC[.0135], DOGE[175], ETH[.059], ETHW[.066929], LINK[1.3], LTC[.89], SOL[.76], SUSHI[15.5], UNI[4.72685], USDT[0], YFI[.001]

07957233                           USD[20.00]

07957246                           NFT (385700386066423421/Coachella x FTX Weekend 1 #27882)[1]

07957252                           USD[63.19]

07957265                           SHIB[64166.54045202], USD[567.59]                                                                                                                                                   Yes

07957272                           BTC[0], LTC[0], SHIB[0], SOL[0], USD[0.01], USDT[0.00000001]

07957279                           USD[163.14]                                                                                                                                                                         Yes

07957284                           USD[0.00]

07957288                           AVAX[.05209758], BTC[0], USD[0.00]

07957289                           BAT[1.82589598], USD[0.00]                                                                                                                                                          Yes

07957290                           DOGE[1], NFT (529227915175861227/Bahrain Ticket Stub #1885)[1], SUSHI[59.797543], USD[0.00]                                                                                         Yes

07957302                           KSHIB[137.97871353], USD[0.00]                                                                                                                                                      Yes

07957303                           BTC[.0000928], ETH[.00096], ETHW[.00096], NFT (338081762770784100/Australia Ticket Stub #1587)[1], USD[0.00], USDT[0]

07957316                           ETH[.00000001], SOL[0], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07957318                           NFT (303647167276351986/Zeus Vox)[1], NFT (308741970020571767/Vox Robo #37)[1], NFT (308745159523752045/Chitto #4)[1], NFT (316539463913066240/Detective Bird)[1], NFT
                                   (317997807054431055/Zebra Bird)[1], NFT (320730623839536711/Cowboy Bird)[1], NFT (321928482944106928/Chitto #20)[1], NFT (326916557700255200/Red Panda #818)[1], NFT
                                   (332888696485092045/Chitto #14)[1], NFT (345662693320195606/Red Panda #3148)[1], NFT (347990893559840173/Vox Robo #35)[1], NFT (351178231009343658/Vox Robo #28)[1], NFT
                                   (356217803186203899/Chitto #2)[1], NFT (356275535683147696/Poseidon Vox)[1], NFT (359002921097534750/Bobby Bird)[1], NFT (361771376569614141/Wrestler Bird)[1], NFT
                                   (370903181116318336/Vox Robo #5)[1], NFT (372807335415457617/Wood Bird)[1], NFT (375860431372222265/Little Rocks #1065)[1], NFT (386405683507901329/Chitto #8)[1], NFT
                                   (387495980110536104/Vox Robo #23)[1], NFT (388840414102100881/Police Bird)[1], NFT (411765988263046104/Chitto #19)[1], NFT (412592402737695186/Jackson Bird)[1], NFT
                                   (425587625716785227/Rockn Rolla Bird)[1], NFT (426079259521536693/Map of Ailurus)[1], NFT (434996418988746121/Cyber Pharmacist 9160)[1], NFT (439205726318820041/Mad Girl Series #4)[1],
                                   NFT (441159026373335508/Fire Fly Bird)[1], NFT (442790028743919325/Blue Giant Bird)[1], NFT (447686788619614895/Bomber Bird)[1], NFT (455506584055526701/Chitto #13)[1], NFT
                                   (457502609604734590/ApexDucks #4894)[1], NFT (465975932230413495/Cyber Pharmacist 9315)[1], NFT (466949742855073924/Chitto #15)[1], NFT (470114767555842752/Elvis Bird)[1], NFT
                                   (483015804821600921/Vox Robo #31)[1], NFT (489291160580606270/Chitto #17)[1], NFT (494578141828632472/ApexDucks #2319)[1], NFT (515544381192919643/Cinema Vox)[1], NFT
                                   (518288029282643660/Red Panda #6315)[1], NFT (520528140026129058/Doctor Bird)[1], NFT (543579964288462336/Rare Vox)[1], NFT (548340186055426355/Chitto #6)[1], NFT
                                   (557679560657836151/Chef Bird)[1], NFT (561454157796071823/Horse Bird)[1], NFT (568884691480802402/Frankenstein Bird)[1], SOL[.24], USD[1.70]
07957323                           MATIC[19.98], SHIB[199800], USD[2.46]

07957325                           MATIC[9.99], USD[1.92], USDT[0.00000001]

07957332                           SHIB[2], USD[8.41]                                                                                                                                                                         Yes

07957334                           BRZ[65.19906833], BTC[.00343213], CUSDT[612.344695], DOGE[1121.68743113], ETH[.05007004], ETHW[.04944906], KSHIB[352.42587516], LTC[1.32519443], NFT (334473183717291587/DOTB              Yes
                                   #2110)[1], SHIB[5565070.70646461], SOL[1.59425021], TRX[2150.8237399], USD[10.11], USDT[15.80672301]
07957338                           USD[10.88]                                                                                                                                                                                 Yes

07957340                           ETH[0], USD[0.00], USDT[0.00000001]

07957343                           USD[0.00]

07957344                           USD[0.00]

07957348                           CUSDT[1], DOGE[1], NFT (510254647226683197/FTX - Off The Grid Miami #1725)[1], SHIB[1], TRX[1], USD[0.00], USDT[1.01888831]                                                                Yes

07957353                           BF_POINT[100], BTC[.01334378], CUSDT[2], DOGE[2], ETH[.0803465], ETHW[.07935345], SOL[2.17680557], TRX[5], USD[0.00]                                                                       Yes

07957356                           BRZ[1], CUSDT[23.02608562], DOGE[2312.68239994], ETH[.40549963], ETHW[.37334769], MATIC[218.7148763], SHIB[65481353.42582748], TRX[3800.90818934], USD[0.99]                               Yes

07957360                           USD[5.49]

07957361                           SOL[.14832239], USD[0.00]

07957371                           CUSDT[2], USD[0.00]

07957375                           NFT (517522436979259259/You in, Miami? #382)[1]

07957394                           USD[50.01]

07957397                           BRZ[1], BTC[.03969617], CUSDT[98.54226814], DOGE[6], PAXG[.02704066], SHIB[11], TRX[2], USD[648.24]                                                                                        Yes

07957405                           NFT (568108683105917517/You in, Miami? #383)[1]

07957407                           BTC[.00090565], TRX[1], USD[0.01]                                                                                                                                                          Yes

07957413                           CUSDT[5], DOGE[.00033412], SHIB[7.97633934], USD[0.00]                                                                                                                                     Yes

07957414                           SOL[0]

07957421                           AVAX[.06592817], USD[0.00]

07957423                           SOL[1.04151649], USD[0.00]

07957424                           DOGE[8.08810326], ETH[.00000001], ETHW[0], NFT (321646336335617010/ApexDucks #4215)[1], NFT (550536047557484877/Commemorative Super Sunday NFT #10)[1], SOL[0], USD[0.00]

07957432                           BRZ[2], BTC[.02421193], CUSDT[3], DOGE[6438.52207628], ETH[2.78243697], ETHW[2.78126834], GRT[1], TRX[2], USD[2.72]                                                                        Yes

07957435                           BTC[.01259442], USD[1.68]

07957444                           USD[0.00]

07957445                           USD[3.00]

07957452                           ETH[.00015847], ETHW[.00015847]                                                                                                                                                            Yes

07957453                           ETH[.00000372], USD[0.00]                                                                                                                                                                  Yes

07957454                           BTC[.1281717], ETH[1.855], ETHW[1.855], SOL[25.7], USD[0.40]

07957465                           SOL[.00704613], USD[0.00]

07957475                           CUSDT[25], DOGE[1], KSHIB[120.46134016], NFT (377149265157509678/Stone bottom)[1], SHIB[307347.95578878], TRX[1], USD[0.00]                                                                Yes

07957500                           CUSDT[1], MATIC[61.50999546], USD[0.00]

07957502                           BRZ[1], BTC[0]                                                                                                                                                                             Yes

07957505                           AAVE[.03376498], USD[0.00]                                                                                                                                                                 Yes

07957506                           ETH[.036], ETHW[.036], USD[3.32]

07957516                           BTC[.00294763]                                                                                                                                                                             Yes

07957518                           BTC[.0001515], USD[0.00]                                                                                                                                                                   Yes

07957521                           ETHW[.39904351], SOL[.54251453], TRX[2], USD[406.25]                                                                                                                                       Yes

07957525                           CUSDT[1], SHIB[800669.46634118], USD[0.00]                                                                                                                                                 Yes

07957529                           BRZ[1], DOGE[1], GRT[1], LINK[.00787107], SOL[.00000001], TRX[1], USD[27088.22]                                                                                                            Yes

07957532                           DOGE[34.11989419], ETH[.00000155], ETHW[.00000155], USD[0.00], USDT[0]

07957554                           ETH[0], LINK[0], USD[0.00], USDT[0.00000004]

07957558                           BTC[.00339036], CUSDT[2], DOGE[1], ETH[.02164841], ETHW[.02164841], USD[0.00]

07957570                           BAT[53.88381437], CUSDT[5], DOGE[1], GRT[1], SHIB[567322.79852796], TRX[1], USD[0.02]                                                                                                      Yes

07957576                           BTC[.01757065], CUSDT[2], DOGE[1], USD[0.00]                                                                                                                                               Yes

07957581                           SOL[0]

07957597                           USD[0.00]

07957601                           CUSDT[1], ETHW[.05917123], USD[0.00], USDT[0]                                                                                                                                              Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07957610                              NFT (299873902672488983/FTX Crypto Cup 2022 Key #3272)[1]

07957617       Contingent, Disputed   ETH[.00000001], MATIC[0], USD[0.00]

07957621                              BRZ[1], SHIB[3], USD[0.01]

07957622                              BRZ[153.12524835], CUSDT[1039.53357858], DOGE[1861.58465271], KSHIB[1386.72175095], SHIB[14911713.10514048], TRX[991.14307352], USD[0.01]                                   Yes

07957623                              CUSDT[1], DOGE[1], ETH[.03353937], ETHW[.0331244], USD[52.86]                                                                                                               Yes

07957629                              BTC[.00180231], CUSDT[1], USD[0.00]                                                                                                                                         Yes

07957633                              USD[0.00]                                                                                                                                                                   Yes

07957641                              NFT (481615706045770253/You in, Miami? #384)[1]

07957643                              BAT[1], BTC[.10434232], FTX_EQUITY[0], SOL[45.19765256], TRX[1], USD[192.26], USDT[0.00000001]                                                                              Yes

07957646                              BAT[2], BRZ[5], CUSDT[1], DOGE[8.02972879], ETHW[2.20325905], GRT[1], SHIB[6], TRX[10], USD[0.00], USDT[0]                                                                  Yes

07957656                              SHIB[199.90798586], USD[0.01]                                                                                                                                               Yes

07957657                              BRZ[2], CUSDT[1], DOGE[2], SHIB[7], SOL[39.49993207], TRX[3], USD[1.07]

07957661                              ETH[.00000001], SOL[.00000001], USD[0.75]

07957665                              MATIC[0], SOL[2.14], USD[0.11]

07957669                              USDT[800.874781]

07957694                              NEAR[.00050505], SHIB[2], TRX[1], USD[0.00]                                                                                                                                 Yes

07957697                              SOL[.00000042], USD[0.00]                                                                                                                                                   Yes

07957700                              CUSDT[2.02867628], DOGE[2], USD[0.00]                                                                                                                                       Yes

07957701                              USD[0.00]

07957711                              SHIB[2700000], USD[2.93], USDT[0.00000001]

07957712                              BTC[.00897069], CUSDT[6], ETH[.1263943], ETHW[.12526484], LINK[8.04432157], SOL[1.28332509], TRX[1], USD[0.03]                                                              Yes

07957730                              ETH[.000561], ETHW[1.131561], SOL[.00806096], USD[13856.11]

07957738                              USD[500.01]

07957743                              USD[7.63]

07957749                              NFT (552064440388018983/You in, Miami? #385)[1]

07957758                              NFT (371569679863547994/Coachella x FTX Weekend 1 #26444)[1]

07957771                              USD[43.61]

07957775       Contingent, Disputed   USD[0.00]

07957790                              DOGE[1], SOL[2.52082565], USD[0.01]                                                                                                                                         Yes

07957797       Contingent, Disputed   USD[0.59], USDT[0.00538593]

07957800                              BAT[2.00993941], CUSDT[2], DOGE[1], ETHW[.26261977], SHIB[1], TRX[2], USD[1394.69]                                                                                          Yes

07957809                              NEAR[.0933], USD[1.06]

07957816                              NFT (399704067595060155/You in, Miami? #386)[1]

07957817                              USD[500.00]

07957819                              BCH[.0004217]                                                                                                                                                               Yes

07957820                              NFT (492764846724528352/Coachella x FTX Weekend 2 #782)[1]

07957847                              USD[0.00]

07957862                              USD[1.27]

07957865                              BTC[.00022404]

07957872                              SOL[.01958721]

07957873                              USD[0.00]

07957879                              CUSDT[1], DOGE[2], SHIB[0], SOL[0], TRX[1], USD[0.06]

07957883                              CUSDT[2], ETH[.05194653], ETHW[.05130357], SOL[1.06375163], USD[100.60]                                                                                                     Yes

07957892                              NFT (429306381334897570/You in, Miami? #387)[1]

07957894                              NFT (496486976542087655/You in, Miami? #388)[1]

07957901                              NFT (311784555600783842/Hall of Fantasy League #263)[1]

07957913                              NFT (538712460128528628/You in, Miami? #389)[1]

07957916                              ETH[4.79283742], ETHW[4.79113118], GRT[1.00259425], UNI[1677.95809447], USD[0.00]                                                                                           Yes

07957922                              AVAX[.06329], BTC[.00004985], ETH[.0001812], ETHW[.0001812], MATIC[.574], SOL[.00847], USD[0.00]

07957924                              BAT[1], BRZ[1], CUSDT[1], DOGE[1], GRT[1], SHIB[1], TRX[2], USD[0.00], USDT[0]                                                                                              Yes

07957926                              AAVE[1.89138762], AVAX[6.39335605], BAT[634.42664024], BTC[0.08799920], CUSDT[4], DOGE[1129.02284879], LINK[47.45319855], LTC[2.02033307], MATIC[897.59946471],             Yes
                                      SHIB[13019816.16594365], SUSHI[428.31175785], TRX[4891.87276965], UNI[160.8049616], USD[0.00]
07957928                              ETH[.00257563], ETHW[.00254827], NFT (385982776884388157/Entrance Voucher #3214)[1], NFT (522005516234871847/Bahrain Ticket Stub #898)[1], USD[0.00]                        Yes

07957930                              BAT[1.00283507], BRZ[7.15396712], CUSDT[51.36601537], DOGE[17.85499978], GRT[2.02605856], SHIB[1], SUSHI[.00055983], TRX[15.07816066], UNI[.00042872], USD[0.00], USDT[0]   Yes

07957934                              BTC[.1233796], ETH[1.7677], ETHW[1.7677], NFT (465882600746513481/Warriors Gold Blooded NFT #219)[1]

07957935                              NFT (441432807090288660/FTX - Off The Grid Miami #468)[1]                                                                                                                   Yes

07957944                              BTC[0], USD[0.01], USDT[0]

07957962                              NFT (295376551085003079/You in, Miami? #390)[1]

07957964                              BAT[1.0125159], CUSDT[32], DOGE[4], SOL[.07351668], TRX[4], USD[0.01]                                                                                                       Yes
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07957965                           BF_POINT[300], SOL[0], USD[0.00], USDT[0]                                                                                                                                                Yes

07957973                           SOL[.00744964]

07957974                           TRX[98.64277407], USD[0.00]

07957988                           CUSDT[2], DOGE[4.63846990], USD[0.00]                                                                                                                                                    Yes

07957989                           BRZ[1], BTC[0], DOGE[2], TRX[1], USD[0.65], USDT[1.08309872]                                                                                                                             Yes

07957992                           AVAX[0], BRZ[1], BTC[0], CUSDT[3], DOGE[10.06925791], ETH[0], ETHW[1.95104569], GRT[3], MATIC[0], SHIB[4], SOL[0], TRX[4], USD[2984.20], USDT[1.02543198]                                Yes

07957994                           CUSDT[1], ETH[.02647903], ETHW[.02615071], USD[0.01]                                                                                                                                     Yes

07958007                           BAT[1.0112387], CUSDT[1], DOGE[1], MATIC[.00001769], SOL[.83912444], TRX[1], USD[0.01]                                                                                                   Yes

07958016                           BRZ[1], BTC[.00000054], CUSDT[2], DOGE[1], ETH[.00000057], ETHW[.00000057], SHIB[10.11883957], TRX[1], USD[0.00], USDT[.00000915]                                                        Yes

07958018                           NFT (467375376386364775/Entrance Voucher #5195)[1]

07958022                           BRZ[1], BTC[.00000011], SHIB[80581.33974539], TRX[3], USD[0.31], USDT[0]                                                                                                                 Yes

07958023                           CUSDT[1], DOGE[1017.5381342], UNI[10.63510249], USD[80.00]

07958030                           BTC[0], SOL[.14985], USD[0.17], USDT[0.00052804]

07958043                           ETH[.27739497], ETHW[.27720269], GRT[1], USD[20.53]                                                                                                                                      Yes

07958048                           NFT (306255702143441891/Kitty Key)[1], NFT (370556347779053726/Kitty Key)[1], NFT (378483551495690574/Bloombell)[1], NFT (426118984708628356/PepperMint)[1], NFT
                                   (434576075153441388/Bloombell)[1], NFT (547333618591435164/PepperMint)[1]
07958086                           BRZ[4.22708643], TRX[1], USD[0.00], USDT[0]                                                                                                                                              Yes

07958108                           LINK[16.20376474], TRX[1], USD[0.33]                                                                                                                                                     Yes

07958133                           LTC[.00000001], SHIB[695928.27792304], USD[0.00]

07958139                           ETH[.01027], ETHW[.01027]

07958159                           SHIB[193087.46862328], USD[0.00]

07958175                           BTC[0], ETH[0], USDT[0]

07958178                           TRX[1], USD[0.00]

07958179                           NFT (454185185856728505/You in, Miami? #391)[1]

07958182                           SOL[10.39595], USD[0.97]

07958183                           BAT[23.80207602], BRZ[65.19483988], CUSDT[3], NFT (444682895583791910/The Hill by FTX #7940)[1], TRX[205.8233386], USD[110.68]                                                           Yes

07958192                           NFT (416904784262791127/#6055)[1]

07958196                           BRZ[1], CUSDT[1], TRX[1], USD[0.00], USDT[1.0741546]                                                                                                                                     Yes

07958200                           USD[10.87]                                                                                                                                                                               Yes

07958206                           NFT (297731286791547549/Beasts #901)[1], NFT (301159383881308315/Ferris From Afar #284)[1], NFT (304941315527042252/Golden Hill #576)[1], NFT (329913688589447744/Reflection '12 #67)[1],
                                   NFT (359485124851281821/Colossal Cacti #168)[1], NFT (445494040606845713/Reflector #06)[1], NFT (477510546535506089/Reflection '07 #38)[1], NFT (489692451795474262/Golden Hill #459)[1],
                                   NFT (555870421491649015/Night Light #887)[1], USD[0.00]
07958261                           SHIB[76800.94532659], USD[0.00]                                                                                                                                                           Yes

07958268                           BTC[0], SOL[0], USD[62.10]

07958273                           USD[21.51]                                                                                                                                                                               Yes

07958296                           USD[20.00]

07958315                           USD[0.00]

07958316                           USD[0.57]

07958317                           SOL[0]

07958318                           ETH[0], SOL[0.00247760], USD[0.01], USDT[0]

07958335                           DOGE[2], ETH[0], ETHW[0], NFT (294034231185688641/Yoko Gobface)[1], NFT (316396863751876560/G10 2.9/3 +PA,FU)[1], NFT (317926846378085384/Mister Flabdub)[1], NFT
                                   (322965941605064284/G7 Prism)[1], NFT (325478373442348034/3.5/4 Lulu saltyx2)[1], NFT (330559472939009379/G12 3.7/4 -+Sul +Sel,Koa .Arc)[1], NFT (331365270178210825/Master
                                   Squeezinga)[1], NFT (332080589810821704/G10 Burmilla Gemini)[1], NFT (348312856471455575/#572129)[1], NFT (352301885900142291/G7 B| 3xCht 3xSpc 1Pou)[1], NFT
                                   (353243553339276911/Kiisu Sullenkins)[1], NFT (382920180314836744/Lulu Buffgah)[1], NFT (383766069455470238/#570538)[1], NFT (392507464818634856/Briciola Maverickbutt)[1], NFT
                                   (413743806742035422/Smokey Yappynose)[1], NFT (416271691664916895/G6 2/3 UN26)[1], NFT (430063989580036446/Koshka Sternpoppins)[1], NFT (445749994199864608/2.75/4 h1-Arc,Sul)[1],
                                   NFT (467731215932837347/G10 2.5/3 -PU +PA)[1], NFT (469844592440097100/Catua Shycadabra)[1], NFT (493821703903089649/Sir Canbuncle)[1], NFT (496437443748888988/Onyx Shale)[1], NFT
                                   (503679122510916225/G9 2/3 -PA +FU)[1], NFT (507115758423868972/Susi Joymoo)[1], NFT (532467845754343513/Nymeria)[1], NFT (535556768368242247/G8 PU25)[1], NFT
                                   (541211859380926825/G10 2.9/3 +PA,FU)[1], NFT (544459399143126374/G11 3.7/4 -+Arc +Koa,Sul)[1], NFT (545896073571248526/G7 2.5/3 PU25+PU26,PA)[1], NFT (561042125818868424/G6
                                   Pearl)[1], NFT (563119251978750235/Katze Bippityknees)[1], NFT (568260309516912686/#570516)[1], SHIB[2], TRX[0], USD[0.00], USDT[0.00000003]

07958336                           CUSDT[0.00006084], DOGE[.00041253], ETH[.00000007], ETHW[.00000007], SHIB[37069.07013288], TRX[21.13010134], USD[0.03]                                                                   Yes

07958337                           CUSDT[1], KSHIB[478.76670849], USD[0.05]                                                                                                                                                 Yes

07958348                           NFT (560902790882474079/Entrance Voucher #9149)[1]

07958350                           USD[0.02]

07958369                           LINK[2.997], USD[2.68]

07958384                           CUSDT[6], DOGE[275.61831291], SHIB[1878375.91820121], USD[0.00]                                                                                                                          Yes

07958385                           DOGE[1], SHIB[2], USD[0.00], USDT[0.00000001]                                                                                                                                            Yes

07958389                           USD[0.00]

07958398                           CUSDT[1], DAI[30.04532151], KSHIB[0], USD[0.00]                                                                                                                                          Yes

07958400                           BTC[.00000048], USDT[0.00000251]

07958422                           USD[4.01]

07958430                           SHIB[349517.11968569], USD[10.87], USDT[1.08615946]                                                                                                                                      Yes

07958431                           CUSDT[1], DOGE[1], ETH[.01351331], ETHW[.01334915], SHIB[1882546.81464629], USD[0.00]                                                                                                    Yes

07958472                           BTC[0.00000588], ETH[0.00000001], LTC[0], SOL[0], USD[0.00], USDT[0.00020931]
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                                                                                                                                         Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07958497                           BTC[.0048543], CUSDT[12], DOGE[.00076828], ETH[.07335806], ETHW[.07244712], SHIB[76.82044814], SOL[.00001906], TRX[1], USD[0.01]                                                        Yes

07958498                           BTC[0], SHIB[8639.67474165], USD[0.00]

07958500                           TRX[.000001], USD[1.40], USDT[0]

07958503                           USD[0.00], USDT[0.00018060]

07958519                           SOL[1.00677], SUSHI[.007], USD[2.89], USDT[0.75416320]

07958554                           TRX[0], USD[0.01]                                                                                                                                                                       Yes

07958560                           TRX[.015604], USD[999.11], USDT[0]

07958570                           CUSDT[3], USD[0.00]                                                                                                                                                                     Yes

07958582                           USD[0.52]

07958591                           BRZ[3], DOGE[3], ETHW[1.48165577], TRX[1], USD[834.02], USDT[764.12132180]                                                                                                              Yes

07958602                           SOL[.00002331], USD[0.00]                                                                                                                                                               Yes

07958616                           USD[0.00]                                                                                                                                                                               Yes

07958618                           NFT (363707237915513909/Slope #429 Badge)[1]

07958622                           CUSDT[2], DOGE[667.6789124], SHIB[2686752.60133561], USD[0.01]

07958625                           BTC[.01190707], SOL[1.51151968], USD[2.24]

07958629                           NFT (367350829555569322/5_innerspeech)[1], NFT (375624313390571131/3_arrivals)[1], NFT (437741252772694941/1_intension)[1], NFT (528123417063101353/2_departures)[1], NFT
                                   (547217440976138842/4_bends)[1]
07958652                           CUSDT[1], SHIB[11795501.32754394], TRX[1], USD[0.01]

07958660                           DOGE[157.27489525], ETH[0], USD[0.00]

07958667                           BF_POINT[300], CUSDT[0], DOGE[0], NFT (410379324065085761/Barcelona Ticket Stub #2240)[1], NFT (545955826872707505/Saudi Arabia Ticket Stub #1404)[1], SHIB[0.00000089], USD[0.00],     Yes
                                   USDT[0]
07958690                           BF_POINT[100], BTC[1.27148457], ETH[0.17665650], ETHW[0.17665650], MATIC[0], SOL[1.99117949], USD[7175.49]

07958702                           ETH[1.12411117], USDT[52954.08100218]

07958720                           ETH[0], SOL[0], TRX[.000002], USD[0.00], USDT[0.00000001]

07958726                           ETH[.001], ETHW[.001], USD[1.03]

07958729                           NFT (406952727391801386/Saudi Arabia Ticket Stub #1867)[1], USD[0.00]

07958737                           USD[0.00]

07958740                           SOL[29.9], USD[0.86]

07958756                           NFT (338533649522411182/Entrance Voucher #29673)[1], TRX[1295.94524372], USD[0.00]                                                                                                      Yes

07958766                           AAVE[2.38770208], BF_POINT[200], BRZ[2], DOGE[2460.94098710], ETH[5.1072739], ETHW[3.49452417], NFT (428386719003774229/Imola Ticket Stub #758)[1], NFT (536619714813174737/FTX -       Yes
                                   Off The Grid Miami #5503)[1], SHIB[7], SOL[12.63713567], TRX[3], USD[0.02]
07958772                           BRZ[1], CUSDT[1], USD[0.00]                                                                                                                                                             Yes

07958788                           SOL[.20820818], USD[2.75]

07958789                           ETH[3], ETHW[3], SOL[10], USD[0.00]

07958797                           USD[10.00]

07958802                           USD[5000.00]

07958807                           BRZ[1], CUSDT[1], DOGE[2], GRT[.00146229], USD[126.52], USDT[0.00000001]                                                                                                                Yes

07958809                           BTC[.05647209], CUSDT[1], DOGE[3], ETH[.69913118], ETHW[.6988377], SOL[13.93725653], TRX[2], USD[2.48], USDT[1.06383566]                                                                Yes

07958814                           BRZ[3], BTC[0], CUSDT[7], DOGE[2], ETH[0], KSHIB[0], SHIB[11], TRX[5], USD[0.01]                                                                                                        Yes

07958820                           NFT (530750577010179380/5222)[1], SOL[.00715302]

07958823                           DOGE[43.38301779], SHIB[628912.85334044], USD[0.04]                                                                                                                                     Yes

07958827                           BTC[.00000029], SHIB[7], USD[532.54]                                                                                                                                                    Yes

07958829                           SHIB[899300], USD[1.94]

07958830                           BRZ[1], CUSDT[5], DOGE[45.8114353], MKR[.08707245], SHIB[657412.62588346], SOL[.62530819], USD[0.00], YFI[.00432417]                                                                    Yes

07958863                           BTC[0.00233815], DOGE[40], ETH[.01585063], ETHW[.012], KSHIB[30], SHIB[326466.1360192], UNI[.9], USD[0.37], USDT[0]

07958872                           BAT[0], BTC[0], CUSDT[0], DOGE[0], ETH[0], ETHW[0], GRT[0], LINK[0], LTC[0], MKR[0], NFT (465670457616362150/FTX - Off The Grid Miami #3032)[1], SHIB[0], SOL[0], TRX[0], USD[0.00],    Yes
                                   USDT[0], YFI[0]
07958883                           USD[10.86]                                                                                                                                                                              Yes

07958888                           SOL[.00597678], USD[1.32]

07958918                           CUSDT[2], TRX[1], USD[0.01]                                                                                                                                                             Yes

07958925                           AAVE[.16], BAT[87.912], BTC[.0079941], ETH[.15596726], ETHW[.15596726], MATIC[30], SOL[.39], USD[0.94]

07958927                           NFT (321752915448627824/Maradona Black Series)[1], NFT (374483017804952999/Maradona White Series)[1], NFT (377262180010219692/'90 Match-worn Jersey Legendary Game)[1], NFT
                                   (377751057460163032/International Powerlifting Series)[1], NFT (401025111335215452/Maradona Bronze Series #2)[1], NFT (440083211534643515/'90 Match Ball Russian Tango)[1], NFT
                                   (442385266299502129/Hans Ulrich Pauly The Game Is On My Mind)[1], NFT (453850708263633793/Maradona Gold Series)[1], NFT (480650110940209662/'79 U20 World Cup Young Hero)[1], NFT
                                   (522596913290925315/'86 Argentina Cup Argentina Pride)[1], NFT (531908923461712803/FREESTYLE BALL)[1], NFT (547422358900973947/NAPOLI'S CONTRACT DESTINY'S PEN S.T.
                                   DUPONT)[1], NFT (549412304168795770/Maradona Bronze Series)[1], NFT (558575767593129362/Captain Armband El Captain)[1], NFT (565405451098873163/Signed by Boca Junior Dale Boca!)[1],
                                   USD[95.00]
07958928                           CUSDT[2], USD[21.55], USDT[0]                                                                                                                                                           Yes

07958930                           SOL[.0001908]                                                                                                                                                                           Yes

07958946                           SOL[.0939]

07958958                           NFT (317520120195055941/Miami Ticket Stub #257)[1], NFT (331772905881290781/Baku Ticket Stub #27)[1], NFT (572037722739560826/Barcelona Ticket Stub #640)[1]

07958964                           MATIC[0], USD[0.00], USDT[0]

07958968                           SHIB[0.01337931], SOL[0], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07958970                              BTC[.00167603], CUSDT[2], DOGE[1], ETH[.00160755], ETHW[.00159387], MATIC[83.63847509], SHIB[1], UNI[.0001377], USD[0.00]                                                               Yes

07958992                              USD[0.00]                                                                                                                                                                               Yes

07958996                              MATIC[259.7092102], SHIB[2], USD[0.00]                                                                                                                                                  Yes

07959003                              BAT[48.25161632], BCH[.03448749], CUSDT[11], DOGE[4], ETH[.00472193], ETHW[.00466721], GRT[111.47422764], KSHIB[749.04834885], MATIC[2.57068762], NEAR[2.03922931], NFT                 Yes
                                      (329358742764137715/Breaking Silence)[1], NFT (464419039614404527/Barcelona Ticket Stub #615)[1], NFT (537092444228850298/Surreal World #40)[1], NFT (550831312835620345/Imola Ticket
                                      Stub #1874)[1], SHIB[1334201.76337665], SOL[.31499652], SUSHI[14.62344795], TRX[296.46990924], USD[0.00]
07959008                              BTC[.00114422], CUSDT[2], SHIB[1481201.2815036], TRX[1], USD[0.53]                                                                                                                      Yes

07959009                              USD[0.00], USDT[0]                                                                                                                                                                      Yes

07959015                              ETH[.00068039], ETHW[.00068039], USD[0.00], USDT[0]

07959018                              USD[10.00]

07959035                              SHIB[1], SOL[5.12201249], USD[250.00]

07959043                              ETH[.00000237], ETHW[.00000237], SHIB[39200.05233263], USD[0.01]                                                                                                                        Yes

07959047                              NFT (373108016838047105/Imola Ticket Stub #497)[1], SOL[.00959774], USD[0.00]                                                                                                           Yes

07959049                              BAT[6.08540804], USD[0.00]                                                                                                                                                              Yes

07959050                              AAVE[.00000866], BRZ[1], BTC[.05605456], CUSDT[7.01681362], DAI[.00036478], DOGE[7.11699192], GRT[1], NFT (437184602053131646/FTX - Off The Grid Miami #3118)[1],                       Yes
                                      SHIB[6030161.03793739], TRX[9], USD[61.54], USDT[2.12364898]
07959052                              BAT[1], SHIB[1], USD[0.01]                                                                                                                                                              Yes

07959071                              SOL[.001]

07959086                              CUSDT[5], USD[0.00]                                                                                                                                                                     Yes

07959092                              DOGE[5198.00000001], LINK[.00000001], USD[919.46]

07959106       Contingent, Disputed   CUSDT[2], TRX[1], USD[0.01]

07959111                              ETH[0], TRX[.000002], USD[0.72], USDT[0]

07959115                              MATIC[5.8102953], USD[0.00]                                                                                                                                                             Yes

07959130                              SHIB[24.13907089], USD[0.17]                                                                                                                                                            Yes

07959157                              NFT (414042133484248031/Sloth #8659)[1]

07959168                              USD[0.00]                                                                                                                                                                               Yes

07959172                              BAT[2.06060789], BRZ[2], CUSDT[3], DOGE[3], TRX[2], USD[0.00], USDT[2.14642644]                                                                                                         Yes

07959179                              NFT (565601100771175892/You in, Miami? #392)[1]

07959181                              BTC[.000092], USD[10931.07]

07959186                              BRZ[1], SHIB[6943480.07221219], USD[0.00]

07959197                              DOGE[1], SOL[2.59493907], USD[0.00]                                                                                                                                                     Yes

07959204                              BRZ[1], BTC[.00878288], CUSDT[21], DOGE[651.46000246], GRT[7.84516076], LINK[1.61001819], NFT (487621648090539164/2974 Floyd Norman - OKC 2-0030)[1], SHIB[4053949.93321028],           Yes
                                      SUSHI[1.33623301], TRX[2], USD[0.00], USDT[0]
07959207                              SHIB[135427.26107985], USD[0.01]                                                                                                                                                        Yes

07959234                              BTC[0.28849247], ETH[3.95500729], ETHW[3.95500728], LINK[62.3684], SOL[10.38915039], TRX[19875.204621], USD[3.98]

07959241                              DOGE[1], USD[0.00]

07959248                              DOGE[349.04775818], ETH[.00051177], ETHW[.00051177], SHIB[16981495.8323925], SOL[205.63942797], USD[68531.25], USDT[0]

07959249                              BTC[0], USD[3.08]

07959262                              USD[21.51]                                                                                                                                                                              Yes

07959269                              SOL[.00000001]

07959272                              USD[0.00]

07959274                              USD[11.90]                                                                                                                                                                              Yes

07959286                              CUSDT[4], SHIB[7812510.84342229], TRX[1], USD[0.00]                                                                                                                                     Yes

07959288                              USD[0.01], USDT[0.00000001]

07959293                              ETHW[4.77773708], USD[514.95], USDT[0]                                                                                                                                                  Yes

07959295                              AAVE[0], CUSDT[1], TRX[.00548064]                                                                                                                                                       Yes

07959319                              USD[0.04]                                                                                                                                                                               Yes

07959323                              USD[0.00]                                                                                                                                                                               Yes

07959347                              TRX[1], USD[0.00]                                                                                                                                                                       Yes

07959348                              ETHW[.03423995], USD[0.00]

07959359                              BTC[.00036671], USD[0.00], USDT[0]                                                                                                                                                      Yes

07959360                              AVAX[.0934], ETHW[.00016995], SOL[.004504], USD[0.26]

07959374                              SOL[0.08625588]

07959377                              AAVE[.24149282], AVAX[.11771859], BCH[.19881425], BRZ[2], BTC[.02934123], CUSDT[30], DOGE[73.32591637], ETH[.30367027], ETHW[.30348191], GRT[1], LTC[.70335841], MKR[.0366497],         Yes
                                      PAXG[0.16697606], SHIB[44], SOL[.00000444], TRX[934.90429664], USD[0.05], YFI[.00265675]
07959380                              BRZ[1], CUSDT[2], SHIB[1590014.93819109], USD[0.00]

07959387                              CUSDT[4], USD[0.01]

07959389                              SOL[0.05465618], USD[0.00]                                                                                                                                                              Yes

07959393                              NFT (333732663594493524/You in, Miami? #393)[1]

07959395                              BCH[.00118566], BTC[.0000255], ETH[.00035742], ETHW[.00035742], LTC[.0040507], PAXG[.00002], SOL[.00432082], USD[0.56], USDT[0.00025857]                                                Yes

07959397                              USD[565.16]

07959402                              BF_POINT[200]                                                                                                                                                                           Yes
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                                                                                                                                         Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07959418                           ETH[0], ETHW[0], NFT (454962069423826450/Entrance Voucher #3361)[1], USD[0.09]                                                                                                           Yes

07959419                           BTC[0], USD[0.99], USDT[0]

07959422                           EUR[0.00], GBP[0.00], USD[0.00]

07959426                           NFT (400101684627729434/You in, Miami? #394)[1]

07959428                           NFT (365909324109162990/Bahrain Ticket Stub #2295)[1], SHIB[1], USD[0.00]                                                                                                                Yes

07959451                           NFT (504286923245331333/You in, Miami? #396)[1]

07959452                           NFT (337671029427558625/You in, Miami? #395)[1]

07959463                           BTC[.0034996], DOGE[1210], ETH[.193953], ETHW[.193953], SHIB[2199800], USD[2.30]

07959467                           SOL[.24]

07959474                           USD[50.00]

07959477                           NFT (473251653580177489/APEFUEL by Almond Breeze #877)[1], NFT (556607380677945036/The Hill by FTX #179)[1]

07959499                           USD[0.00]

07959512                           BTC[0], ETH[0]                                                                                                                                                                           Yes

07959515                           BTC[0], SOL[.88263316], USD[1.28], USDT[0.00183800]

07959516                           BRZ[1], BTC[.00438504], CUSDT[5], DOGE[2], ETH[.08851391], ETHW[.08748059], LINK[2.76981772], MATIC[64.26024635], NFT (447666382248595256/Entrance Voucher #2236)[1], SHIB[2],           Yes
                                   SOL[2.69583078], USD[0.00]
07959525                           BRZ[1], CUSDT[15], DOGE[368.73993529], GRT[3240.26619533], LINK[20.56359415], MATIC[948.23441417], NEAR[54.389337], NFT (308235458138655270/Red Panda #4784)[1],                         Yes
                                   SHIB[733605.68489875], SOL[8.11609371], SUSHI[45.31370498], TRX[11.08053164], USD[4.86]
07959527                           USD[0.16], USDT[0.00000001]

07959529                           USD[0.14]                                                                                                                                                                                Yes

07959538                           USD[108.69]                                                                                                                                                                              Yes

07959542                           CUSDT[12], LINK[3.37462673], TRX[2], USDT[0.00000147]                                                                                                                                    Yes

07959543                           ETH[.00077247], ETHW[.17577247], USD[0.53]

07959550                           BTC[.0069], ETH[.023], ETHW[.023], LINK[.8], SOL[.84967], USD[0.46]

07959554                           SHIB[237032.51921362], USD[0.00]                                                                                                                                                         Yes

07959557                           CUSDT[1], KSHIB[335.94090665], USD[0.00]                                                                                                                                                 Yes

07959560                           CUSDT[1], SHIB[2], USD[20.51]                                                                                                                                                            Yes

07959562                           MATIC[29.98], USD[0.00]

07959567                           ETH[.11430904], ETHW[.11319035], SHIB[1], USD[0.00]                                                                                                                                      Yes

07959606                           ETHW[.690309], USD[21.73]

07959612                           NFT (293179457637822429/Whale Club #8)[1], NFT (293835108118041257/Rare Art #68)[1], NFT (302019394245454030/The Weird Apes #127)[1], NFT (302056157462021544/Rare Art #8)[1], NFT
                                   (304555578425004442/The Weird Apes #123)[1], NFT (304636457356446915/The Weird Apes #114)[1], NFT (307011670856476978/Ape City #33)[1], NFT (309874726773373530/Rare Art #69)[1], NFT
                                   (310263801307897494/Whale Club #9)[1], NFT (313167062187223977/The Weird Apes #115)[1], NFT (316908152192520576/Ape City #35)[1], NFT (317456301315333377/The Weird Apes #103)[1],
                                   NFT (318969636823480815/The Weird Apes #106)[1], NFT (324391190666919678/Rare Art #6)[1], NFT (326163770562712541/The Weird Apes #3)[1], NFT (338318764948929849/Rare Art #80)[1],
                                   NFT (340396123371497584/The Weird Apes #102)[1], NFT (340617784653775882/Ape Art #2)[1], NFT (342011047532156227/Whale Club #12)[1], NFT (342719158976452262/Whale Club #10)[1],
                                   NFT (343951423091815605/Weird Apes #2)[1], NFT (344579204116938887/The Weird Apes #100)[1], NFT (348449173601434799/Rare Art #98)[1], NFT (350003375654375616/Ape City #31)[1], NFT
                                   (351287437994050689/Rare Art #7)[1], NFT (352893478583508286/Ancient Civilization #66)[1], NFT (354606539002622400/Meditate Men)[1], NFT (358297833268201270/The Weird Apes #108)[1],
                                   NFT (361513822270858567/The Weird Apes #124)[1], NFT (363141332234335342/Rare Art #92)[1], NFT (373023490626389145/Whale Club #6)[1], NFT (374917680450599148/Ape Art #3)[1], NFT
                                   (375366263062939109/Ape City #39)[1], NFT (376811870336639802/The Weird Apes #130)[1], NFT (378157114172756648/The Weird Apes #128)[1], NFT (379358116593830624/The Weird Apes
                                   #112)[1], NFT (381051758858640057/Rare Art #39)[1], NFT (389021284128009133/The Weird Apes #110)[1], NFT (389937910486490526/Whale Club #14)[1], NFT (391914111437705517/Ape Art
                                   #3)[1], NFT (392871525967960795/Rare Art #87)[1], NFT (401432678690056601/The Weird Apes #70)[1], NFT (405727771035430563/Rare Art #67)[1], NFT (406916636843201877/Doge Club #17)[1],
                                   NFT (407890513976495649/Doge Club #18)[1], NFT (408026830971108597/The Weird Apes #126)[1], NFT (408739767804945610/Whale Club #13)[1], NFT (410857169433713218/The Weird Apes
                                   #125)[1], NFT (412986806860798212/Rare Art #90)[1], NFT (414401701023345689/Ape Art )[1], NFT (420484927908803868/Rare Art #96)[1], NFT (421398299200847108/The Weird Apes #129)[1],
                                   NFT (423613201678474890/Whale Club #3)[1], NFT (425926408145904251/Ape City #38)[1], NFT (427216158947333279/Ape City #40)[1], NFT (428359781652468406/The Weird Apes #119)[1], NFT
                                   (428489247830393974/Rare Art #33)[1], NFT (428945337451759110/The Weird Apes #85)[1], NFT (433335684332915933/Whale Club #2)[1], NFT (434176921351969638/The Weird Apes #111)[1],
                                   NFT (435313404341304485/The Weird Apes #84)[1], NFT (443681634520370836/The Sim Ape)[1], NFT (445720305884021176/Rare Art #93)[1], NFT (445854159955833924/The Weird Apes #86)[1],
                                   NFT (446693820025644400/Whale Club #5)[1], NFT (450773013846322838/Rare Art #11)[1], NFT (451376007512559341/Rare Art #99)[1], NFT (451845176416776091/The Weird Apes #74)[1], NFT
                                   (453255457990395875/The Weird Apes #104)[1], NFT (453523896257011151/Rare Art #97)[1], NFT (456207016297472321/The Weird Apes #121)[1], NFT (457093497927425621/The Weird Apes
                                   #113)[1], NFT (457256723378305421/Doge Club #22)[1], NFT (457614279492508776/Rare Art #70)[1], NFT (468202296347359402/Rare Art #88)[1], NFT (472873090065601986/Rare Art #40)[1], NFT
                                   (474570344392047188/Weird Apes #5)[1], NFT (476258946627871294/The Weird Apes #101)[1], NFT (479305168599738287/The Weird Apes #83)[1], NFT (479742451124496343/The Weird Apes
                                   #78)[1], NFT (480859438432287496/Whale Club #7)[1], NFT (481530300520677707/Rare Art #9)[1], NFT (484736752848399995/Ape City #36)[1], NFT (485354168265061537/Rare Art #63)[1], NFT
                                   (486181504254405584/Ape Art)[1], NFT (486608739247047846/The Weird Apes #122)[1], NFT (489281719956494079/The Weird Apes #117)[1], NFT (492410833805479965/SBF Testing 123)[1], NFT
                                   (496427941799134746/FTX Crypto Cup 2022 Key #451)[1], NFT (498752902825409941/The Weird Apes #82)[1], NFT (498787236503984736/Rare Art #84)[1], NFT (500235359040010026/Whale Club
                                   #16)[1], NFT (501129576963346946/The Weird Apes #75)[1], NFT (502203199915273731/Rare Art #83)[1], NFT (502352513874418527/Rare Art #64)[1], NFT (506426207983894606/Ape City #34)[1],
                                   NFT (506745209621518851/Zombie Ape)[1], NFT (507599317536411857/The Weird Apes #76)[1], NFT (508251046471150433/The Weird Apes #118)[1], NFT (509680695087919204/Whale Club #4)[1],
                                   NFT (511204891196131948/The Weird Apes #87)[1], NFT (511408476066207211/Rare Art #103)[1], NFT (513995085095774211/Rare Art #86)[1], NFT (515094714537797038/The Weird Apes #53)[1],
                                   NFT (516525868691485495/The Weird Apes #93)[1], NFT (518831746222917024/Doge Club #19)[1], NFT (519501456536969124/Doge Club #21)[1], NFT (520005732872880544/The Weird Apes
                                   #105)[1], NFT (522326272128229426/The Weird Apes #22)[1], NFT (533056078494328244/Rare Art #76)[1], NFT (533174904037829900/Whale Club #15)[1], NFT (534039138541763199/The Weird
                                   Apes #79)[1], NFT (535084108424589251/The Weird Apes #88)[1], NFT (540697010244739055/Doge Club #20)[1], NFT (543650300197427863/Rare Art #77)[1], NFT (544638220094015555/Rare Art
                                   #41)[1], NFT (545245826582559811/Rare Art #91)[1], NFT (545621417381648605/The Weird Apes #109)[1], NFT (548091738431301921/The Weird Apes #91)[1], NFT (552197566231826824/Weed
                                   Club)[1], NFT (555270513062613022/Rare Art #73)[1], NFT (557369451414248975/Ape City #32)[1], NFT (561203192965105645/The Weird Apes #120)[1], NFT (562063323412089409/The Weird Apes
                                   #116)[1], NFT (565481956407839464/Ape City #37)[1], NFT (565813673238899299/Whale Club #11)[1], NFT (567762565044094409/Rare Art #66)[1], NFT (568821920131800617/The Weird Apes
                                   #107)[1], NFT (570923660857585712/Ape Art #2)[1], NFT (571748589762683129/Doge Club #23)[1], NFT (575162118402075056/Rare Art #10)[1], USD[0.00]


07959613                           BAT[5.06133991], BRZ[1], CUSDT[1], DOGE[80956.46727295], GRT[4], SHIB[323581176.36215609], SUSHI[1.01705531], TRX[17], USD[1951.22], USDT[2.04752305]                                    Yes

07959615                           GRT[108.1327881], TRX[1], USD[0.00]

07959634                           USD[0.01]                                                                                                                                                                                Yes

07959641                           BTC[.00049589], USD[10.12]                                                                                                                                                               Yes

07959648                           SOL[284.2762], USD[5.44]

07959652                           CUSDT[3], DOGE[1], TRX[1], USD[33.64]                                                                                                                                                    Yes

07959657                           USD[0.00]
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
                                                                                                  Amended Schedule 1754      Filed
                                                                                                                      Nonpriority     06/27/23
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                                                                                                                                            Customer Claims                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07959673                              USD[0.01]

07959676                              SHIB[367515.61324745], USD[0.00]                                                                                                     Yes

07959679                              USD[0.02]

07959684                              SOL[.51], USD[2.50]

07959689                              NFT (357321203894065080/Entrance Voucher #5763)[1], NFT (484522262106516146/DOGO-IN-500 #6326)[1]

07959704                              BTC[0], SOL[.00000001]

07959707                              USD[3.82]

07959712                              USD[50.00]

07959728                              BTC[.00555623], SHIB[1], USD[64.08]                                                                                                  Yes

07959733                              BF_POINT[300]

07959736                              SOL[.19715408]

07959740                              BTC[.00039683], ETH[.007], ETHW[.007], LINK[.77242027], LTC[.12825117], SOL[.22308048], USDT[25]

07959743                              SHIB[1200000], TRX[304], USD[2.49]

07959744                              BTC[0.00021689], USD[4.64]

07959745                              DOGE[97.16114564], USD[0.00]

07959750                              BAT[0], BCH[0], BF_POINT[100], BTC[0], CUSDT[8], DOGE[0], GRT[0.00067152], KSHIB[0], MATIC[0], SOL[0], SUSHI[0], TRX[2], USD[0.04]   Yes

07959758                              USD[0.01], USDT[0]                                                                                                                   Yes

07959764                              GRT[.00705605], SHIB[202076.6918844], USD[0.01]

07959766                              NFT (366909012937552129/Coachella x FTX Weekend 1 #198)[1]

07959767                              CUSDT[1], DOGE[1], USD[0.00], USDT[0]                                                                                                Yes

07959778                              SOL[5.99], USD[8000.67]

07959783                              CUSDT[4], DOGE[1], ETH[.00798472], ETHW[.00788896], USD[9.78]                                                                        Yes

07959784                              USD[0.01], USDT[805.818]

07959785                              BRZ[1], CUSDT[3], DOGE[1], ETH[.0015589], ETHW[.00154522], USD[0.41]                                                                 Yes

07959801                              BTC[.00118317], CUSDT[1], SHIB[1510204.04854673], USD[0.00]                                                                          Yes

07959810                              BAT[1.80193972], USD[0.00]                                                                                                           Yes

07959821                              TRX[0], USD[1.30]                                                                                                                    Yes

07959833                              USD[21.51]                                                                                                                           Yes

07959834                              NFT (436862924978147446/You in, Miami? #398)[1]

07959844                              USD[429.76]

07959853                              BTC[0], ETHW[.0048701], USD[0.00], USDT[.0091]

07959856                              USD[0.00]

07959861                              USD[10.00]

07959867                              BF_POINT[300], DOGE[1], ETH[.00128028], ETHW[.00128028], USD[0.00]

07959870                              USD[0.04]

07959875                              USD[0.16]

07959876                              NFT (527464325608604702/Coachella x FTX Weekend 1 #19901)[1]

07959878                              BTC[.01595193], ETH[.06494127], ETHW[.06494127], USD[0.00]

07959884                              SOL[.00025066], USD[0.00]

07959886                              DOGE[1], SOL[2.38502384], USD[0.00]

07959894                              BTC[.07992], USD[13.74]

07959903                              BTC[0], ETH[0], SHIB[1], SOL[.00000821], USD[0.01]                                                                                   Yes

07959906                              NFT (417886384920912120/You in, Miami? #399)[1]

07959908                              DOGE[1], SHIB[1], USD[0.00]                                                                                                          Yes

07959910                              BTC[.00185845], CUSDT[3], DOGE[84.2073099], ETH[.00532172], ETHW[.00525332], LTC[.02487794], TRX[2], USD[0.00]                       Yes

07959912                              GRT[1], SHIB[1], SOL[0.00033869], TRX[2], USD[0.50], USDT[1.02543197]                                                                Yes

07959913                              USD[10.87]                                                                                                                           Yes

07959920                              GRT[10.97307439], USD[0.00]                                                                                                          Yes

07959924                              BAT[1], BTC[.00000163], DOGE[2], ETH[0], ETHW[1.03857422], GRT[1], SHIB[49952887.4868772], TRX[7], USD[0.00]                         Yes

07959926                              CUSDT[4], USD[0.00]                                                                                                                  Yes

07959928       Contingent, Disputed   BAT[1.01193361], BTC[.00000018], DOGE[1], USD[0.00]                                                                                  Yes

07959936                              BAT[69], KSHIB[5000], MATIC[200], SOL[2], SUSHI[20], USD[8.88]

07959946                              BAT[0], LINK[0], MATIC[1.57314223], SHIB[0]

07959947                              NFT (552580832932778486/You in, Miami? #400)[1]

07959948                              BTC[0.00000001], ETH[0], ETHW[.5], USD[5001.68]

07959953                              USD[10.87]                                                                                                                           Yes

07959955                              BRZ[1], BTC[0], CUSDT[5], DOGE[1], ETHW[.04866991], SHIB[1], TRX[2], USD[0.00]                                                       Yes

07959957                              AAVE[0], BTC[0], ETH[0.00000914], ETHW[1.13894302], MATIC[.00000001], SHIB[3], SOL[0.00000001], USD[0.08], USDT[0.00000001]          Yes
West Realm Shires Services Inc.                                                    Case 22-11068-JTD      Doc F-3:
                                                                                               Amended Schedule 1754      Filed
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                                                                                                                               Unsecured           Page 565 of 1384
                                                                                                                                         Customer Claims                                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07959964                           BRZ[1], CUSDT[1], USD[0.00]

07959965                           ETH[0]

07959967                           BTC[.1176822], ETH[9.052938], ETHW[9.052938], LINK[91.3086], MATIC[1298.7], SOL[40.84911], USD[98.17]

07959968                           BTC[0.00409610], USD[2.34]

07959970                           BRZ[12], BTC[.0018], DOGE[100], ETH[.005], ETHW[.005], SOL[.43], TRX[30], USD[0.19]

07959971                           BAT[2.00664831], BRZ[3], CUSDT[16], DOGE[6], ETH[0.11216662], ETHW[.28371318], SHIB[19], TRX[4], USD[0.00]                                                                                  Yes

07959972                           BTC[.00285094], ETH[.0042286], ETHW[.00417388]                                                                                                                                              Yes

07959974                           SOL[.2], USD[1.65]

07959977                           ALGO[0], AVAX[0], BAT[0], BRZ[1], BTC[0], DOGE[1], ETH[0], GRT[0], LINK[0], LTC[0.00000040], MATIC[0], NFT (535859805928870974/Magic Eden Pass)[1], SHIB[29], SOL[0.69999999], USD[0.00],   Yes
                                   USDT[0.00000003]
07959978                           BTC[0.00743724], DOGE[23], ETH[.04887489], ETHW[.04887489], SHIB[140291.80695847], USD[0.33]

07959981                           ETH[0.05118124], ETHW[0.05118124], USD[0.00]

07959987                           BAT[1], SHIB[1], USD[500.01]

07959989                           NFT (385957603411064968/Crypto Dinasaurs #7)[1], USD[0.00], USDT[0]

07959994                           CUSDT[1], SOL[2.23896863], USD[0.00]                                                                                                                                                        Yes

07960015                           USD[0.02]                                                                                                                                                                                   Yes

07960021                           BTC[.01799728], CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                 Yes

07960026                           USD[0.00]

07960031                           BTC[.00016037], USD[10.81]                                                                                                                                                                  Yes

07960033                           BRZ[1], BTC[.00000127], CUSDT[32], DOGE[1268.57164934], KSHIB[.00058773], SHIB[2956161.55072294], TRX[2], USD[0.01]                                                                         Yes

07960037                           SHIB[149166.18261261], USD[0.00]                                                                                                                                                            Yes

07960045                           BCH[0], BTC[0]

07960047                           BTC[.00037428], USD[0.00]

07960059                           BF_POINT[100], USDT[99.962528]

07960063                           SOL[2.14680836], USD[0.00], USDT[.00000056]

07960064                           ETH[.0009259], ETHW[.0009259], USD[1.78], USDT[0.00440761]

07960071                           USD[10.86]                                                                                                                                                                                  Yes

07960078                           BTC[0.00529496], SOL[3.517074], USD[0.80]

07960084                           AAVE[.269757], BTC[.060344], ETH[.00000001], ETHW[0], MATIC[69.937], USD[0.49], YFI[.005282]

07960094                           SOL[.02978431], USD[0.00]

07960095                           CUSDT[1], SHIB[3363603.14782934], TRX[214.78802541], USD[0.65]                                                                                                                              Yes

07960101                           DAI[5.40232099], ETH[.0012397], ETHW[.00122602], SHIB[843129.7843015], TRX[1], USD[0.01]                                                                                                    Yes

07960102                           CUSDT[4], DOGE[1], NFT (292029239538220856/Mech #4431)[1], NFT (292918437704655013/Gangster Gorillas #2314)[1], NFT (296747297609467278/Mech #7187)[1], NFT                                 Yes
                                   (315429492143861678/Gangster Gorillas #1969)[1], NFT (316931841683806906/Gloom Punk #6046)[1], NFT (323770078954878688/Gangster Gorillas #3642)[1], NFT (366822205197365929/Gangster
                                   Gorillas #9958)[1], NFT (373519287490983687/Gangster Gorillas #4940)[1], NFT (385287039861315497/Gangster Gorillas #6913)[1], NFT (471918842883484413/Gloom Punk #3260)[1], NFT
                                   (484329038262153255/Voxel City #13)[1], NFT (566613559051436378/Mech #3486)[1], SOL[0], TRX[1.00349506], USD[0.00]
07960107                           BRZ[4.44079256], CUSDT[1], DOGE[.01576859], SHIB[63.53677702], USD[0.00]                                                                                                                    Yes

07960113                           CUSDT[4], DOGE[300.07691161], MATIC[15.31615254], SHIB[9905321.99113535], TRX[826.58189942], USD[0.00]                                                                                      Yes

07960120                           SOL[.03632301]

07960124                           BTC[0], USD[0.01], USDT[0]

07960126                           USD[1.68]

07960135                           BF_POINT[300], BRZ[1], CUSDT[5], DOGE[5.02161817], ETHW[.83443694], GRT[1.00019173], SOL[.00014121], TRX[1], USD[0.00]                                                                      Yes

07960147                           BF_POINT[100], SHIB[5614183.95450674]                                                                                                                                                       Yes

07960148                           CUSDT[2], SOL[.0502919], USD[0.00]

07960158                           LINK[.1413], USD[5402.58], USDT[1.06739856]

07960160                           BRZ[1], CUSDT[3], DOGE[1], NFT (333360090864450498/CryptoAvatar #124)[1], NFT (357062502783354540/Surreal World #38)[1], NFT (377390132775628489/You in, Miami? #43)[1], NFT                Yes
                                   (394337829810010728/CryptoAvatar #110)[1], NFT (397614070352289103/CryptoAvatar #146)[1], NFT (411203769807211034/Vox World #2)[1], NFT (424732032068816661/You in, Miami? #189)[1],
                                   NFT (428305278556576045/CryptoAvatar #125)[1], NFT (443857586463048689/Marcus Allen's Playbook: Kansas City Chiefs vs. Detriot Lions - November 29, 1996 #50)[1], NFT
                                   (473496294961609767/CryptoAvatar #140)[1], NFT (496812327558236481/Surreal World #32)[1], NFT (545506193138365483/CryptoAvatar #137)[1], NFT (556532880528193204/CryptoAvatar
                                   #131)[1], TRX[1], USD[0.00], USDT[1.07988882]
07960162                           BRZ[60.41417927], CUSDT[498.05567909], ETH[.00119491], ETHW[.00118123], KSHIB[189.39713636], SHIB[155785.52650124], SOL[.02192954], USD[0.00]                                               Yes

07960178                           CUSDT[1], DOGE[1], TRX[1], USD[0.00], USDT[0]

07960179                           CUSDT[2], DOGE[1], ETH[0], ETHW[0], SHIB[1], TRX[1], USD[0.00]                                                                                                                              Yes

07960184                           NFT (575166828393675623/Microphone #7525)[1]

07960190                           BTC[.02334198], DOGE[1], ETH[.52823033], ETHW[.52800861], SOL[7.99173429], USD[0.80]                                                                                                        Yes

07960195                           SOL[1.80178213], TRX[1], USD[55.00]

07960202                           CUSDT[1], DOGE[2], SOL[.57288181], USD[0.00]

07960205                           ETH[.00026523], ETHW[.00026523], USD[0.00], USDT[.009851]

07960207                           USD[0.01]

07960208                           BAT[2], CUSDT[1], USD[0.00], USDT[0.00000001]

07960215                           DOGE[2], TRX[1], USD[0.00], USDT[1.08455361]                                                                                                                                                Yes

07960216                           BRZ[1], BTC[.00000366], DOGE[9.0086814], SHIB[35], SOL[.00004631], TRX[3], USD[0.00]                                                                                                        Yes
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                                                                                                                                         Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07960220                           MATIC[169.892], USD[668.37], USDT[0]

07960231                           AVAX[0], ETHW[.11107486], NFT (332895041477696102/Entrance Voucher #3558)[1], USD[0.00]

07960239                           CUSDT[5], DOGE[33.77368594], NFT (318126887923074015/Mob cats collection #31)[1], NFT (372383460849522585/Crazy Skull #15)[1], SHIB[690557.53713938], SUSHI[3.55873713], TRX[1],
                                   USD[8.56]
07960240                           CUSDT[1], NFT (358903960292844324/Bruce Lee)[1], SOL[.00000001], USD[20.00]

07960241                           BTC[.00163134], CUSDT[2], LINK[7.4052131], USD[0.00]                                                                                                                               Yes

07960248                           NFT (405490042224548234/You in, Miami? #401)[1]

07960250                           BTC[.00000002], CUSDT[1], USD[0.00]                                                                                                                                                Yes

07960253                           USD[10.87]                                                                                                                                                                         Yes

07960258                           AAVE[.0378182], BCH[.01820688], CUSDT[6], ETH[.01175775], ETHW[.01175775], LINK[.98807117], MATIC[2.57135233], SOL[.10893262], SUSHI[.99894558], UNI[.39511404], USD[0.00],
                                   USDT[14.91760098]
07960269                           USDT[.070965]

07960273                           CUSDT[2], DOGE[3000.45771533], USD[0.00], USDT[.01155372]                                                                                                                          Yes

07960276                           ETH[0], USD[0.00]

07960285                           CUSDT[1092.51053726], DOGE[81.57954683], USD[0.00]                                                                                                                                 Yes

07960286                           USD[0.83]

07960287                           SOL[0], USD[0.00]

07960294                           BAT[1], BF_POINT[100], BRZ[2], BTC[0], DOGE[1], ETH[0], LINK[0], MATIC[0], NFT (296666481595380579/NEKO #1178)[1], NFT (305832709357459292/NEKO #9446)[1], NFT                     Yes
                                   (336398521335759684/NEKO #8626)[1], NFT (379071555567402456/Novice Funguy #704)[1], NFT (416208318049079815/NEKO #2987)[1], NFT (539854488059140020/PixTape #233 | The
                                   Microphones - The Moon)[1], SHIB[44], SOL[0.00015707], TRX[6], USD[0.00]
07960298                           USD[0.71]

07960307                           DOGE[268.21634974], LINK[64.51095498], SHIB[2.00000001], USD[0.01]                                                                                                                 Yes

07960311                           BRZ[2], BTC[.27387552], CUSDT[2], DOGE[11282.26801889], ETH[1.27915144], ETHW[1.27861416], SOL[12.54501978], USD[0.00], USDT[1.0746159]                                            Yes

07960312                           BAT[1.014191], BRZ[1], BTC[.05348434], CUSDT[2], DOGE[2], ETH[.68937653], ETHW[.68908079], GRT[1], MATIC[453.71937714], TRX[1], USD[11.61]                                         Yes

07960325                           ETH[.00000718], ETHW[.78624054]                                                                                                                                                    Yes

07960344                           CUSDT[1], NFT (327053261109218395/Entrance Voucher #24990)[1], SHIB[1103066.05564504], USD[0.00]

07960351                           CUSDT[2], USD[0.01]

07960352                           CUSDT[4], NFT (296580402193979537/#5109)[1], SHIB[1459885.30948271], SOL[.09839211], USD[9.46]

07960359                           CUSDT[1], USD[0.00]

07960362                           BAT[37.91085294], BRZ[120.44018802], BTC[.00091314], CUSDT[4], DAI[21.61927077], DOGE[101.48892724], TRX[267.95336518], USD[38.11]                                                 Yes

07960363                           SOL[.00000001], USD[0.00], USDT[0.00001102]

07960379                           NFT (310190441887605725/Sigma Shark #1055)[1], NFT (568590610659223560/Sigma Shark #5263)[1]

07960382                           USD[0.00]                                                                                                                                                                          Yes

07960384                           USD[0.00]

07960385                           ETH[4.73688865], ETHW[0.60003900], USD[1281.24], USDT[0]

07960388                           NFT (321333846246186510/FTX - Off The Grid Miami #860)[1]

07960389                           SOL[.00053031], USD[0.00]

07960394                           ETH[.001998], ETHW[.001998], USD[1.81]

07960399                           ETH[0], SHIB[0], SOL[0.00000001], USD[0.00], USDT[0]

07960400                           NFT (414044409453263629/Golden Hill #886 (Redeemed))[1], NFT (478279229562229274/Colossal Cacti #293 (Redeemed))[1], USD[80.00]

07960402                           BTC[0.00028024], ETH[.00098653], ETHW[0.00098653], USDT[0.07542600]

07960403                           NFT (398830567086000752/FTX - Off The Grid Miami #2725)[1], USD[216.86]                                                                                                            Yes

07960405                           USD[1.71]

07960406                           SOL[.02]

07960408                           SOL[.1878]

07960410                           NFT (560958266042226893/Entrance Voucher #3100)[1]

07960416                           ETH[0], USD[0.00], USDT[0.00003705]

07960417                           USD[10.00]

07960423                           SHIB[430806.09036796], USD[0.00]

07960425                           USD[8.82]

07960430                           BTC[0], LTC[0], SOL[51.67000000], USD[0.00]

07960432                           SOL[.51430004], TRX[1], USD[0.00]

07960435                           ETH[0], USD[0.01], USDT[0.00000001]

07960436                           BRZ[0], CUSDT[4], KSHIB[0], MATIC[0]                                                                                                                                               Yes

07960439                           SOL[25]

07960447                           CUSDT[2], TRX[2], USD[0.01]                                                                                                                                                        Yes

07960449                           USD[0.00]

07960452                           SHIB[103691651.36628545], USD[0.00], USDT[0]

07960453                           NFT (463168674740092303/Coachella x FTX Weekend 1 #28758)[1]
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07960464                              NFT (289182537391305652/Vox Cat #5)[1], NFT (293809006052498189/Mini Puppets #4)[1], NFT (332359217213170534/Rebel Crew #11)[1], NFT (351373122724204739/Mini Puppets #5)[1], NFT
                                      (351629098157969709/Rebel Crew #3)[1], NFT (369677604099543986/Rebel Crew #6)[1], NFT (370542045380643148/Vox Cat #4)[1], NFT (373382306158934676/Vox Cat #6)[1], NFT
                                      (375676477994266542/Vox Cat #10)[1], NFT (394925912438702195/Rebel Crew #10)[1], NFT (400145947283419702/Vox Cat #9)[1], NFT (407473914726219189/Rebel Crew #12)[1], NFT
                                      (429315991114040345/Gold Mini Puppets)[1], NFT (430998104137012051/Vox Cat #11)[1], NFT (435026663763251872/Rebel Crew #5)[1], NFT (456593407034069536/Mini Puppets #2)[1], NFT
                                      (461551883355430099/Rebel Crew #8)[1], NFT (484824031326955149/Mini Puppets)[1], NFT (500206620722526090/Rebel Crew #4)[1], NFT (502381030838681308/Vox Cat #2)[1], NFT
                                      (525594056938302903/Vox Cat #3)[1], NFT (530427225127743324/Vox Cat #8)[1], NFT (541449985194900998/Vox Cat #7)[1], NFT (558590395523337288/Mini Puppets #3)[1], NFT
                                      (565637540459124060/Vox Cat)[1], TRX[.000067], USD[0.00], USDT[0]
07960472       Contingent, Disputed   NFT (306734569325545904/Miami Grand Prix 2022 - ID: 98ED3364)[1], NFT (557250522465173644/FTX - Off The Grid Miami #5324)[1]

07960481                              BTC[.0127], ETH[.25742154], ETHW[.25742154], USD[2.24]

07960483                              USD[0.16]

07960488                              SOL[0]

07960489                              USD[2.80]

07960492                              NFT (380112101323046865/You in, Miami? #402)[1]

07960493                              NFT (336920722790665783/You in, Miami? #403)[1]

07960495                              ALGO[10], LINK[.094], USD[2.29]

07960496                              BTC[0], SOL[0], USD[0.00], USDT[0.00000031]

07960510                              ETH[0], NFT (507818166515449860/Sigma Shark #3440)[1]

07960513                              DOGE[1], SOL[5.41064013], TRX[1], USD[0.00]                                                                                                                                            Yes

07960518                              SOL[.184]

07960520                              NFT (330001780670343287/Reflection '15 #54)[1], USD[2.00]

07960530                              BTC[0.00605780], ETHW[97.49747217], USD[61.73]

07960541                              NFT (394999125718853642/Sigma Shark #5895)[1], SOL[.012]

07960549                              USD[0.00]

07960552                              NFT (298966079466576419/Sigma Shark #6156)[1], NFT (377331659244149096/Sigma Shark #4960)[1]

07960553                              NFT (316600520452648368/Sigma Shark #1981)[1], NFT (573497681336117853/Sigma Shark #2393)[1]

07960554                              SOL[.03], USD[19.60]

07960555                              SOL[.00572]

07960557                              BTC[.00866971], CUSDT[1], DOGE[1], ETH[.2538184], ETHW[.25362584], TRX[2], USD[0.00]                                                                                                   Yes

07960562                              NFT (306951204762825146/Sigma Shark #5412)[1], NFT (456918231136426651/Sigma Shark #5333)[1]

07960563                              NFT (318118200167306992/Sigma Shark #4934)[1]

07960564                              USD[0.00]                                                                                                                                                                              Yes

07960571                              NFT (538806444703960075/Sigma Shark #929)[1]

07960572                              DOGE[3.08964084], LINK[0], SOL[0], USD[0.00], USDT[0.00000129]                                                                                                                         Yes

07960573                              BCH[.14067781], CUSDT[12], DOGE[1935.64631058], ETH[.03708817], ETHW[.0366248], SHIB[3], SOL[.79207165], TRX[316.66136723], USD[10.38]                                                 Yes

07960578                              USD[0.00]

07960587                              AVAX[0.00001829], BTC[0], DOGE[1], ETH[.00000665], ETHW[.00000665], KSHIB[45.26361529], LINK[.00000915], MATIC[.00045741], SHIB[65566.04071036], SOL[.00000915], USD[42.98], USDT[0]   Yes

07960596                              NFT (485632846463371352/Unverfied Token)[1], SOL[.05]

07960600                              SOL[.2937556], USD[0.00]

07960606                              DOGE[52.91722908]                                                                                                                                                                      Yes

07960609                              TRX[.791302], USDT[8.13699212]

07960613                              AVAX[.00000337], BTC[0], ETH[.00000002], ETHW[.00000002], SHIB[1], SOL[0.00000229], SUSHI[.00008618], USD[0.01], USDT[0]                                                               Yes

07960614                              CUSDT[1], SHIB[232054.45544554], USD[0.00]

07960620                              NFT (427718010077098120/Sigma Shark #1438)[1], NFT (435171898027500406/Sigma Shark #4516)[1], NFT (439355941803036139/Sigma Shark #4816)[1], SOL[.02]

07960641                              USD[5.00], USDT[0]

07960648                              USD[3.68]

07960664                              CUSDT[1], DOGE[1], MATIC[5.97256313], NFT (330085020387323721/You in, Miami? #404)[1], SHIB[1866683.25773498], TRX[596.26558026], USD[0.00]                                            Yes

07960675                              NFT (313951335098638468/Sigma Shark #4086)[1], NFT (351507116578754494/Sigma Shark #2523)[1], NFT (425772789986207620/Sigma Shark #5329)[1], NFT (427581796969713288/Sigma Shark
                                      #3849)[1], NFT (521573929458027750/Sigma Shark #1442)[1]
07960678                              USD[4.91]

07960684                              USD[0.00]

07960687                              SOL[.20557787]                                                                                                                                                                         Yes

07960696                              BTC[.00457351], ETH[.05308755], ETHW[.05243091], MATIC[263.06137324], TRX[1784.52695555], USD[389.22]                                                                                  Yes

07960698                              BRZ[1], CUSDT[5], DOGE[295.623339], SHIB[10475119.27293688], TRX[3], USD[0.00]

07960699                              NFT (354634230771149330/Warriors Gold Blooded NFT #828)[1], NFT (506881715546607211/Coachella x FTX Weekend 1 #12406)[1]

07960700                              BF_POINT[300], CUSDT[202.65321961], DOGE[64.32276364], KSHIB[314.42941751], SOL[0.30005412], USD[0.00]                                                                                 Yes

07960710                              ETH[0], USD[0.45]

07960719                              NFT (458969201011654120/Coachella x FTX Weekend 1 #25788)[1]

07960734                              BRZ[1], LINK[4.53489607], SHIB[3], USD[0.00], USDT[0.00000001]                                                                                                                         Yes

07960740                              USDT[0]

07960747       Contingent, Disputed   BTC[0.00000001], SOL[0], USD[0.00], USDT[0.00000073]

07960748                              LTC[0], SHIB[3], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07960753                           USD[1.17]

07960763                           DOGE[1], TRX[1], USD[0.00]                                                                                                                                                                Yes

07960766                           NFT (327535801255919214/Sigma Shark #4250)[1], NFT (388833992458555769/Sigma Shark #2178)[1], NFT (422899672248249907/Sigma Shark #5969)[1], NFT (443990198852207472/Sigma Shark
                                   #3407)[1], NFT (471409561688674135/Sigma Shark #5346)[1], NFT (541935156900006028/Sigma Shark #2092)[1], NFT (559478672409142949/Sigma Shark #5751)[1], NFT
                                   (575404373203435335/Sigma Shark #4679)[1]
07960792                           NFT (291545527161705663/Voxel Cars #6)[1], NFT (292879794910137279/Vox Girls #2)[1], NFT (294023260891536129/Movie Buff #3)[1], NFT (296254203359200593/Metaverse Avatar #12)[1], NFT
                                   (304934040686572788/Voxel City #22)[1], NFT (308433929114355202/Voxel Animals #33)[1], NFT (309116736470335471/Voxel City #21)[1], NFT (314050136295346523/Movie Buff #4)[1], NFT
                                   (315009889533560358/Movie Buff #12)[1], NFT (319298074166085981/New Wave #2)[1], NFT (322728097457907081/Movie Buff #17)[1], NFT (322927812210082355/A bunch of avatars #4)[1], NFT
                                   (324140018776104648/Movie Buff #10)[1], NFT (326091313185613753/NFT People #8)[1], NFT (327839540014385110/New Wave #5)[1], NFT (328476203359485791/New Wave)[1], NFT
                                   (341016193134032324/Voxel City #23)[1], NFT (343257814675283050/Woman Paintings #3)[1], NFT (343582961804223257/Super Rare Heroes #6)[1], NFT (344483927432263879/Metarevers To
                                   Humanity)[1], NFT (345409152577283746/Metaverse Avatar #8)[1], NFT (354517294570537052/Metaverse Avatar #6)[1], NFT (356732201618691067/Vox Girls #14)[1], NFT
                                   (359708609084688131/Metaverse Avatar #7)[1], NFT (361141780404605512/Movie Buff #2)[1], NFT (361634429252239207/Super Rare Heroes #4)[1], NFT (367185248277748944/New Wave #6)[1],
                                   NFT (368443948351386153/Woman Paintings #4)[1], NFT (368556047378725086/Movie Buff #6)[1], NFT (382609868575883330/Super Rare Heroes)[1], NFT (385798527763275310/Voxel Animals
                                   #26)[1], NFT (386886728879901434/Sports Heritage)[1], NFT (388525838517159363/Voxel Animals #25)[1], NFT (395670016349539717/Metaverse Avatar #10)[1], NFT (395675086041383128/Woman
                                   Paintings #2)[1], NFT (396428855167570399/Hello World)[1], NFT (397335467441984643/Voxel City #25)[1], NFT (401565790632293178/Woman Paintings)[1], NFT (404723003535983063/Super Rare
                                   Heroes #2)[1], NFT (406623622862056378/Metaverse Avatar )[1], NFT (409762828134868448/Super Rare Heroes #3)[1], NFT (413103060544480749/Your Friendly Neighbourhood Spiderman #01)[1],
                                   NFT (416193392908019292/Voxel Animals #35)[1], NFT (418083695844754845/Gold Objects)[1], NFT (421079478771886775/Sports Heritage #2)[1], NFT (423253862387053679/Movie Buff #5)[1], NFT
                                   (423299585804626308/Metaverse Avatar #11)[1], NFT (423470601378871586/Movie Buff #9)[1], NFT (426740617635198801/Voxel Animals #17)[1], NFT (433480567978500083/Movie Buff)[1], NFT
                                   (439278283003804421/Metarevers To Humanity #3)[1], NFT (440376415095423049/Metaverse Avatar #14)[1], NFT (442022162892233201/Movie Buff #11)[1], NFT (443611149144920268/Metaverse
                                   Avatar #2)[1], NFT (446171580822185931/Metaverse Avatar #13)[1], NFT (446639657131552340/Voxel Animals #20)[1], NFT (449645404128147843/Movie Buff #8)[1], NFT (450264261734584106/A
                                   bunch of avatars)[1], NFT (450512677956450819/Voxel City #20)[1], NFT (454105421208507861/Metaverse Avatar #18)[1], NFT (458256163886017812/Voxel Animals #19)[1], NFT
                                   (459544545559829174/Movie Buff #13)[1], NFT (464171081226247112/Voxel Animals #34)[1], NFT (466219042086747290/Movie Buff #15)[1], NFT (468216366007215561/Super Rare Heroes #10)[1],
                                   NFT (468923063798594070/Metarevers To Humanity #4)[1], NFT (471063618115473333/Voxel Animals #37)[1], NFT (472815366767251057/Mice Universe)[1], NFT (473044562825731261/A bunch of
                                   avatars #2)[1], NFT (473327362900142236/NFT People #7)[1], NFT (475214434994848548/NFT People #5)[1], NFT (475914803662035508/NFT People #3)[1], NFT (483355293797410330/Metarevers
                                   To Humanity #5)[1], NFT (485035814643562601/Super Rare Heroes #13)[1], NFT (487457416036611180/Movie Buff #18)[1], NFT (493754101091356038/Voxel Cars #4)[1], NFT
                                   (496577009423090176/NFT People)[1], NFT (497508273091567333/Movie Buff #7)[1], NFT (501893253247239842/Super Rare Heroes #8)[1], NFT (506568039024272322/Movie Buff #14)[1], NFT
                                   (507203264633918043/Voxel City #24)[1], NFT (512064951506840346/Voxel Animals #36)[1], NFT (513842685830749110/Metaverse Avatar #4)[1], NFT (517297496523907269/Metarevers To
                                   Humanity #2)[1], NFT (517994638140105737/Metaverse Avatar #16)[1], NFT (521641183233700687/Voxel City #10)[1], NFT (522974555596174716/NFT People #4)[1], NFT
                                   (523960956550947024/Metaverse Avatar #5)[1], NFT (526567579937811318/Movie Buff #16)[1], NFT (527952276726726569/New Wave #3)[1], NFT (530886059688323368/Super Rare Heroes #7)[1],
                                   NFT (531564710280700974/Super Rare Heroes #5)[1], NFT (534018103482300171/Movie Buff #19)[1], NFT (536692881026221522/Super Rare Heroes #11)[1], NFT (554084097155368249/New Wave
                                   #4)[1], NFT (555077289716715607/NFT People #9)[1], NFT (555399694940716658/Woman Paintings #6)[1], NFT (559096391095772844/Metaverse Avatar #3)[1], NFT (559262023976609249/Gold
                                   Objects #4)[1], NFT (559632526040642849/Super Rare Heroes #12)[1], NFT (564502707634408910/NFT People #6)[1], NFT (566710915486817032/Voxel Animals #11)[1], NFT
                                   (567900451192217923/NFT People #2)[1], NFT (567938792830408225/Super Rare Heroes #9)[1], NFT (570574849237045885/Metarevers To Humanity #6)[1], NFT (572162091790279723/Metaverse
                                   Avatar #9)[1], NFT (575593882476358278/Metarevers To Humanity #7)[1], NFT (576062863507951275/Woman Paintings #5)[1], USD[0.00]


07960800                           BRZ[1], BTC[.00000024], CUSDT[13], DOGE[1], ETH[0.00000338], ETHW[0.36845174], NFT (548632368114294099/Blue Hat of Lord Catfist)[1], SHIB[3], SOL[0.00005562], TRX[8], USD[0.00]          Yes

07960808                           DOGE[.299], NFT (353385294190742282/G10 2.5 -+WE10)[1], USD[1.94], USDT[1.56199741]

07960820                           ALGO[423.145], MATIC[658.33452366], SOL[.00000001], TRX[12614.74964991], USD[4.27]

07960826                           BCH[0], BTC[.00387211], DOGE[600.40511653], ETH[0.02432217], ETHW[0.01199478], LTC[.17041178], NFT (329337968447523827/Bahrain Ticket Stub #2264)[1], PAXG[0], SHIB[30782.22370949],      Yes
                                   SUSHI[0], USD[0.00]
07960835                           CUSDT[6], DOGE[.60442771], SOL[.60043805], TRX[1], USD[0.26]

07960838                           DOGE[5], SHIB[99900], USD[1.70]

07960839                           USD[0.00]

07960843                           CUSDT[1], DOGE[2123.54070392], LINK[70.94696135], SHIB[7598765.64897265], TRX[1], USD[0.01]                                                                                               Yes

07960847                           SHIB[3], USD[0.00]                                                                                                                                                                        Yes

07960850                           BRZ[1], BTC[0.00698154], CUSDT[3.00558219], DOGE[.00130838], KSHIB[453.29544378], LINK[2.32623627], MATIC[175.15730885], NFT (430214523974284493/Skull Love #24)[1], NFT                  Yes
                                   (538622700217717711/Skull Love #26)[1], NFT (564799632394706164/Crazy Skull #2)[1], SUSHI[.00006621], TRX[.0057226], USD[0.84]
07960859                           USD[0.01]

07960860                           USD[0.00]

07960861                           SOL[.00000001]

07960862                           CUSDT[36], DOGE[1], ETH[.00000006], ETHW[.00000006], GRT[1.00299079], MATIC[12.03645214], SOL[.47805866], TRX[4], USD[0.00], USDT[0.00001846]                                             Yes

07960863                           USD[20.00]

07960866                           CUSDT[2], TRX[1], USD[1.08]                                                                                                                                                               Yes

07960867                           SOL[.00000133], USD[0.00]

07960869                           NFT (295140094110484068/Sigma Shark #2605)[1], NFT (337461420399655059/Sigma Shark #4861)[1], NFT (490099256066804380/Sigma Shark #4305)[1], NFT (500830823492453986/Sigma Shark
                                   #2604)[1], NFT (561157547306399808/Sigma Shark #6234)[1], NFT (572404709172180249/Sigma Shark #2606)[1]
07960874                           NFT (386239409488642251/Bold Badger #6334)[1], NFT (447254954549120375/Chosen One #3383)[1], NFT (565918791399157040/Bold Badger #3513)[1], SOL[.4]

07960880                           AAVE[.003894], ALGO[.5616], AVAX[.03348], BTC[0], DOGE[.3082], ETH[.0007862], ETHW[.000661], LINK[.0139], NEAR[.01612], SUSHI[160.9525], USD[251.46], USDT[2023.41367862]

07960888                           SHIB[99500], USD[0.95]

07960901                           USD[21.75]                                                                                                                                                                                Yes

07960903                           NFT (560436980396999065/Settler #338)[1], SOL[.495]

07960905                           NFT (441794901012034568/Sigma Shark #4398)[1], NFT (520705815495708749/Sigma Shark #5475)[1]

07960913                           ETH[.05], ETHW[.05], USD[0.34]

07960920                           ETH[.00003515], ETHW[0.00003515], NFT (547002742027843393/Australia Ticket Stub #594)[1], SOL[.02], USD[20.99], USDT[0]

07960921                           CUSDT[2], ETHW[.52123088], GRT[1], USD[0.25]                                                                                                                                              Yes

07960924                           USD[5.67]

07960939                           ETH[0], MATIC[0], TRX[0], UNI[0], USD[0.00]

07960945                           ETH[.006], ETHW[.006], NEAR[3.4], USD[0.42]

07960950                           SOL[51.91608]

07960955                           BTC[.00041235], CUSDT[2], ETH[.00498516], ETHW[.00491891], SOL[.05091696], USD[0.01]                                                                                                      Yes

07960957                           BTC[.00069032], SHIB[1], USD[0.53]

07960959                           USD[11.24]                                                                                                                                                                                Yes
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07960968                              SOL[0.02721241], USD[0.00]

07960972                              SOL[.04622573], USD[0.00]

07960973                              BTC[.01008743], TRX[1], USD[0.00]                                                                                                                                                      Yes

07960974                              DOGE[1], MATIC[0], SHIB[6], SOL[0], TRX[1], USD[0.00], USDT[0]                                                                                                                         Yes

07960976       Contingent, Disputed   USDT[0.00000071]

07960979                              USD[1.02]

07960981                              SOL[.0091165], USD[5.44]                                                                                                                                                               Yes

07960987                              ALGO[.1], AVAX[.1], ETH[.002], ETHW[1.014], NEAR[.11], SUSHI[1.998], USD[0.88]

07960994                              BTC[.134772], USD[1.80]

07960996                              ETH[.002], ETHW[.002], USD[1.16]

07960998                              BTC[.00046342], SHIB[1], USD[0.00]

07961003                              DOGE[1], LINK[1.00332055], USD[2.02]                                                                                                                                                   Yes

07961008                              BTC[3.85310179], ETH[.0003274], ETHW[.0003274], SHIB[59300], SOL[.002348], USD[30996.84]

07961014                              NFT (481725771417785461/Ganesha)[1], SHIB[850909.21192862], TRX[2], USD[170.09]                                                                                                        Yes

07961016                              BTC[.00817715], CUSDT[1], ETH[.10365407], ETHW[.10365407], TRX[1], USD[0.02]

07961021                              NFT (291950981727900949/You in, Miami? #405)[1]

07961038                              AAVE[1.999], AVAX[1], BTC[.0064], DOGE[233.98], ETH[.534475], ETHW[.534475], GRT[10], MATIC[19.98], SHIB[299700], SOL[1], SUSHI[3.499], TRX[15], USD[2.56], USDT[5]

07961040                              NFT (304318418258092095/You in, Miami? #440)[1]

07961042                              NFT (493848637648281278/BabyBlob #33)[1], SOL[.3]

07961045                              AUD[0.00]

07961052                              BRZ[1], USDT[0]

07961055                              USD[0.00]

07961059                              USD[0.00]

07961063                              BTC[0.10344602], SOL[31.52974]

07961064                              USD[0.00]                                                                                                                                                                              Yes

07961067                              BTC[.4452425], ETH[2.290753], ETHW[2.290753], MATIC[49.95], SOL[1.99916], USD[25066.18]

07961068                              USD[0.00]

07961070                              CUSDT[6], DOGE[2], SOL[7.35461184], SUSHI[23.52860168], UNI[10.58045772], USD[17.44]                                                                                                   Yes

07961092                              USD[0.00]

07961094                              BTC[.00197893], CUSDT[4], DOGE[179.41372522], ETH[.01315198], ETHW[.01298782], USD[1.37]                                                                                               Yes

07961106                              USD[0.00], USDT[10.77718038]                                                                                                                                                           Yes

07961118                              BRZ[1], CUSDT[1], DOGE[2], SHIB[1], SOL[74.74178481], TRX[3], USD[0.00], USDT[0.00000040]                                                                                              Yes

07961122                              ETH[0], ETHW[0], NFT (502234063843508415/Sigma Shark #3508)[1]

07961130                              SUSHI[4.34084705], TRX[1], USD[0.00]

07961144                              ETH[0], SOL[0], USD[0.00], USDT[0]

07961149       Contingent,            BTC[0], NFT (307072741808536442/Sun Set #707)[1], NFT (315777742414775791/GSW 75 Anniversary Diamond #598 (Redeemed))[1], NFT (337250973121540817/Warriors Foam Finger #382
               Unliquidated           (Redeemed))[1], NFT (340949449933203306/Imola Ticket Stub #318)[1], NFT (346047936654216302/GSW Western Conference Semifinals Commemorative Ticket #109)[1], NFT
                                      (361695010047646574/Entrance Voucher #29447)[1], NFT (367626148032005762/Reflector #307)[1], NFT (383902552994717859/GSW Round 1 Commemorative Ticket #210)[1], NFT
                                      (392627309171607064/GSW Western Conference Semifinals Commemorative Ticket #108)[1], NFT (405890435151153093/FTX - Off The Grid Miami #489)[1], NFT (410971914643717884/GSW Round
                                      1 Commemorative Ticket #209)[1], NFT (411260605911094546/Warriors Foam Finger #263 (Redeemed))[1], NFT (418381651730133642/Cosmic Creations #365)[1], NFT (443398279713791494/Beasts
                                      #124)[1], NFT (444351073448213237/GSW Round 1 Commemorative Ticket #212)[1], NFT (453096855940803647/Beasts #238)[1], NFT (461317871430443559/Night Light #80)[1], NFT
                                      (466784093986391263/GSW Western Conference Semifinals Commemorative Ticket #106)[1], NFT (468412590513615967/Warriors Logo Pin #212 (Redeemed))[1], NFT
                                      (469581906314695569/Barcelona Ticket Stub #1651)[1], NFT (476978663680555011/Ferris From Afar #414)[1], NFT (500970831057219110/Australia Ticket Stub #1448)[1], NFT
                                      (519078474460835342/GSW Round 1 Commemorative Ticket #211)[1], NFT (521512327028557616/Entrance Voucher #29448)[1], NFT (523436729099088099/The Hill by FTX #3353)[1], NFT
                                      (535185323580146663/FTX - Off The Grid Miami #490)[1], NFT (543419829491621664/GSW Western Conference Semifinals Commemorative Ticket #105)[1], NFT (543525407627870362/GSW
                                      Western Conference Semifinals Commemorative Ticket #107)[1], NFT (552470825043054595/Warriors Hoop #43 (Redeemed))[1], NFT (553114890262137880/Reflection '11 #38)[1], NFT
                                      (569482223648163765/Barcelona Ticket Stub #187)[1], NFT (570937189452380442/The Hill by FTX #3354)[1], NFT (571662886952381250/GSW Round 1 Commemorative Ticket #669)[1], USD[0.91]

07961153                              SHIB[1398600], SOL[1.999], USD[4.25]

07961158                              CUSDT[3], DOGE[1], ETH[0.09459303], ETHW[0.09355155], LTC[0], NFT (547524833151037956/Infinity #7)[1], SHIB[0], SOL[2.11215516], TRX[506.94995529], USD[5.48]                          Yes

07961159                              BRZ[1], SHIB[7818382.41314275], USD[0.00]                                                                                                                                              Yes

07961160                              AVAX[1.07769655], BRZ[1], CUSDT[2], ETH[.30922425], ETHW[.08240632], NFT (380198397342666081/Entrance Voucher #29730)[1], SHIB[14], TRX[3], USD[12.75]                                 Yes

07961163                              BTC[0], USD[0.79]

07961164                              AVAX[.14262331], BTC[.00499517], DOGE[75.54458938], ETH[.05059692], ETHW[.04996764], MATIC[14.50890071], SHIB[8], SOL[.95067507], TRX[1], USD[8.14]                                    Yes

07961190                              CUSDT[1], SHIB[2733016.21119237], USD[0.00]                                                                                                                                            Yes

07961194                              USD[20.00]

07961200                              USD[21.51]                                                                                                                                                                             Yes

07961201                              USD[20.00]

07961202                              USD[21.51]                                                                                                                                                                             Yes

07961206                              USD[20.00]

07961208                              DOGE[1], SHIB[1], USD[0.00]                                                                                                                                                            Yes

07961209                              USD[26.92]                                                                                                                                                                             Yes

07961213                              USD[20.00]
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                                                                                                                                         Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07961214                           USD[20.00]

07961218                           USD[20.00]

07961220                           TRX[0], USD[0.00], USDT[0.09151544]

07961225                           NFT (529357115323092456/Coachella x FTX Weekend 1 #10271)[1]

07961227                           USD[21.51]                                                                                                                                                                           Yes

07961230                           USD[21.51]                                                                                                                                                                           Yes

07961233                           USD[21.51]                                                                                                                                                                           Yes

07961237                           USD[20.00]

07961240                           SHIB[1], USD[0.00]

07961243                           USD[20.00]

07961253                           USD[20.00]

07961258                           USDT[0]

07961259                           USD[0.00]

07961261                           USD[20.00]

07961263                           BTC[.00000229], CUSDT[4], GRT[1], USD[0.01]                                                                                                                                          Yes

07961264                           USD[20.00]

07961265                           USD[20.00]

07961267                           USD[0.56]

07961268                           NFT (304776507564052399/Cadet 482)[1], SOL[.04743937]

07961269                           USD[21.51]                                                                                                                                                                           Yes

07961270                           SOL[.00006319], USD[0.01]                                                                                                                                                            Yes

07961276                           ETH[0], SOL[0], USD[0.00], USDT[0.00000070]

07961277                           BTC[.00000498], ETH[0.00013842], ETHW[0.44913842], USD[0.00]

07961288                           USD[20.00]

07961300                           BRZ[1], BTC[0], SOL[.00309451], TRX[1], USD[0.00], USDT[1.00026804]                                                                                                                  Yes

07961301                           NFT (303473607806317839/Blockchain Chicago)[1], SOL[.00946], USD[47.87]

07961305                           LINK[0], SHIB[0], SOL[0], TRX[0], USD[0.00], USDT[0]

07961314                           BTC[0], CUSDT[0], DOGE[0], ETH[0.02157552], ETHW[0.02130445], GRT[0], LINK[0], LTC[0], SHIB[989.54238], SOL[0], TRX[0], UNI[0], USD[0.00]                                            Yes

07961317                           CUSDT[1], ETH[.02518544], ETHW[.0248708], USD[108.59]                                                                                                                                Yes

07961327                           USD[20.00]

07961336                           0

07961337                           NFT (339270183973400989/Hall of Fantasy League #364)[1]

07961340                           USD[20.00]

07961354                           SHIB[9643476.64167182], USD[1.22], USDT[0]                                                                                                                                           Yes

07961356                           BCH[.03455455], BTC[.00032111], CUSDT[5], DOGE[1], ETH[.00523356], ETHW[.00516516], SHIB[403137.6652993], SOL[.10388148], USD[0.00], YFI[.00066151]                                  Yes

07961360                           USD[12506.96]

07961361                           BAT[3.0511325], BRZ[13.40687666], DOGE[29.82614345], GRT[3], LTC[.00023071], SHIB[34], TRX[33.08843078], USD[0.00], USDT[0.00540001]                                                 Yes

07961366                           BTC[.0000999], USD[3.95]

07961380                           USD[20.00]

07961382                           USD[20.00]

07961388                           BTC[.01093317]                                                                                                                                                                       Yes

07961389                           NFT (504593069466529937/DOTB #5031)[1], SOL[.46795]

07961392                           BRZ[1], DOGE[1], MATIC[.20045571], USD[3.96]                                                                                                                                         Yes

07961396                           USD[20.00]

07961404                           NFT (349955929678312172/Coachella x FTX Weekend 1 #6649)[1], SOL[4.17386276], USD[0.00]

07961409                           CUSDT[3], ETH[.01142161], ETHW[.01128471], LINK[1.62574531], USD[0.31]                                                                                                               Yes

07961418                           USD[20.00]

07961419                           USD[21.51]                                                                                                                                                                           Yes

07961420                           SOL[.07]

07961422                           NFT (380683602271104558/Entrance Voucher #2472)[1], NFT (517742973905938492/Romeo #602)[1], USD[0.01], USDT[0]                                                                       Yes

07961425                           USD[21.51]                                                                                                                                                                           Yes

07961437                           BRZ[1], CUSDT[13], ETH[.2921497], ETHW[.29195746], SHIB[2217474.39914744], TRX[1], USD[348.85]                                                                                       Yes

07961441                           ETH[1.08738021], ETHW[1.08692343]                                                                                                                                                    Yes

07961444                           ETH[.00000001], ETHW[0], NFT (311663950199082686/Metatun #591)[1], NFT (317791786485438581/Alejandra Brekke)[1], NFT (454137609178773312/Goth GF Poster 2)[1], NFT
                                   (464722640792785727/Crimson Crook #807)[1], NFT (534846667227153780/Goth GF Poster 3)[1], NFT (565387067466960587/Key)[1], SOL[.00721413], USD[0.00], USDT[0]
07961450                           NFT (566866125538654122/Fancy Frenchies #4501)[1]                                                                                                                                    Yes

07961455                           ALGO[217.59041297], AVAX[12.51268057], BAT[123.53084706], BF_POINT[100], BRZ[2], BTC[.0386127], CUSDT[11], DOGE[9.0368697], ETH[.84346367], ETHW[.60923583], LINK[11.00267186],      Yes
                                   LTC[1.09204789], NEAR[13.44492882], NFT (320135240041445237/Entrance Voucher #29765)[1], NFT (414595764166704422/Barcelona Ticket Stub #435)[1], NFT (510264746312139037/Australia
                                   Ticket Stub #1276)[1], SHIB[28], SOL[16.11995718], SUSHI[11.29312675], TRX[356.21393447], UNI[7.63610502], USD[18.43], YFI[.01499663]
07961467                           USD[21.51]                                                                                                                                                                           Yes
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                                                                                                                                         Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07961472                           USD[20.00]

07961474                           USD[24.71], WBTC[.00122326]

07961483                           USD[0.00]

07961484                           USD[0.00]

07961493                           CUSDT[3], SHIB[1107302.51087912], USD[0.07]                                                                                                                                      Yes

07961494                           SOL[65.52441], USD[31.83]

07961501                           TRX[838.20295], USD[0.38]

07961506                           ETH[.00051107], ETHW[.00051107], SOL[.00004513], USD[0.00], USDT[0.00000175]

07961509                           USD[20.00]

07961514                           USD[20.00]

07961529                           USD[0.01]                                                                                                                                                                        Yes

07961534                           USD[20.00]

07961535                           USD[21.51]                                                                                                                                                                       Yes

07961558                           USD[20.00]

07961562                           USD[20.00]

07961563                           USD[20.00]

07961564                           USD[21.51]                                                                                                                                                                       Yes

07961572                           SHIB[1800000], SOL[0.27741430], USD[0.00]

07961579                           USD[20.00]

07961591                           BTC[0.00002433], USD[0.00], USDT[0.00000027]

07961597                           BCH[.01199399]                                                                                                                                                                   Yes

07961598                           KSHIB[141.98692527], USD[0.00]                                                                                                                                                   Yes

07961599                           BRZ[1], DOGE[1], MATIC[.00015025], SHIB[10], TRX[1], USD[12.61]                                                                                                                  Yes

07961607                           BTC[.00197581], CUSDT[2], ETH[.08882615], ETHW[.08882615], USD[0.00]

07961608                           BTC[.00055074], SOL[.06], USD[1.78]

07961614                           BCH[.00848156], BTC[.00032953], CUSDT[3], DOGE[81.99865448], SUSHI[2.03391813], USD[0.00]                                                                                        Yes

07961617                           USD[20.00]

07961625                           USD[21.51]                                                                                                                                                                       Yes

07961628                           ETH[0]

07961632                           BTC[.00004147], ETH[.00086826], ETHW[.00085464], SOL[.10366218], USD[0.00]                                                                                                       Yes

07961633                           USD[20.00]

07961635                           USD[20.00]

07961639                           BTC[0], CUSDT[19], DOGE[1], ETH[0], MATIC[0], SHIB[1], SOL[0.00000001], TRX[4], USD[0.09], USDT[0.00000001]                                                                      Yes

07961650                           USD[20.00]

07961652                           USD[20.00]

07961656                           USD[20.00]

07961658                           USD[20.00]

07961661                           USD[20.00]

07961664                           SOL[.11133049], USD[0.00]

07961676                           USD[96.47]

07961678                           NFT (288665643281571065/Kiddo #4880)[1], NFT (343875778154389313/Photography)[1], NFT (348965654179980718/Cool Bean #3775)[1], NFT (356234045495927765/Kiddo #655)[1], NFT
                                   (456903085548310696/ApexDucks #2800)[1], NFT (477823733106123712/#0566 Elf)[1], NFT (479336498044195713/Cool Bean #4027)[1], NFT (509582631761018951/SOLYETIS #2983)[1], NFT
                                   (543185758447986929/Miami Ticket Stub #725)[1], NFT (545875781664327456/Long Way Down)[1], SOL[.496], USD[0.00]
07961680                           BTC[.00015297], DOGE[37.18984459], SHIB[179307.87161556], USD[0.00]

07961681                           DOGE[3], SHIB[5], TRX[3], USD[0.16]                                                                                                                                              Yes

07961684                           BRZ[.61541628], DOGE[2], TRX[2], USD[0.00]                                                                                                                                       Yes

07961690                           BRZ[2], DOGE[1], GRT[25.80813996], SHIB[902204.99730714], TRX[.00001235], USD[11.83]                                                                                             Yes

07961693                           USD[20.00]

07961695                           USDT[0]

07961699                           USD[21.51]                                                                                                                                                                       Yes

07961702                           BAT[1], BRZ[1], DOGE[10.12898159], ETHW[.66042007], SHIB[1], TRX[1], USD[1859.80], USDT[0]

07961703                           USD[20.00]

07961705                           CUSDT[2290.08800902], USD[70.00]

07961706                           TRX[1], USD[0.00]                                                                                                                                                                Yes

07961710                           ETH[.00000001], ETHW[.00000001], USD[0.00], USDT[0]                                                                                                                              Yes

07961712                           BAT[165.72304409], BRZ[1], BTC[.06819033], DOGE[18.12998743], ETH[.49131058], ETHW[.49110405], SHIB[27709874.57207223], SOL[8.85448256], SUSHI[1.07726874], TRX[1], USD[0.00],   Yes
                                   USDT[0], YFI[.00000014]
07961713                           USD[20.00]

07961716                           USD[20.00]

07961727                           USD[20.00]
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                                                                                                                                         Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07961731                           CUSDT[0], USD[0.07]                                                                                                                                                                        Yes

07961733                           NFT (305975673476201699/Hard work #2)[1], NFT (547917484176308872/Pixel Women #2)[1], TRX[1], USD[20.90]                                                                                   Yes

07961744                           SHIB[2060168.18856319], USD[0.00]

07961759                           BAT[200.1760431], BRZ[2], CUSDT[3], DOGE[1], ETH[.2096197], ETHW[.20940387], SOL[3.30835292], USD[0.31]                                                                                    Yes

07961760                           ETH[.098], ETHW[.098], SHIB[8566044.20078807], USD[3.01]

07961780                           CUSDT[2], DOGE[110.27876651], TRX[205.26285356], USD[2.19]                                                                                                                                 Yes

07961788                           ETHW[.75375701], SOL[0], USD[0.78]

07961790                           CUSDT[997.18039432], USD[0.00]                                                                                                                                                             Yes

07961800                           CUSDT[4], SHIB[2144516.16165756], USD[0.00]                                                                                                                                                Yes

07961814                           CUSDT[1], DOGE[1820.4900009], USD[0.00]

07961824                           USD[543.67]                                                                                                                                                                                Yes

07961838                           CUSDT[4963.50151152], USD[0.01]                                                                                                                                                            Yes

07961852                           SHIB[16179412.04408358], SOL[12.98286818], UNI[11.30418315]                                                                                                                                Yes

07961857                           ETHW[.21552935], SHIB[1], USD[0.00]                                                                                                                                                        Yes

07961863                           BRZ[1], CUSDT[4], ETH[.12194657], ETHW[.12077532], NFT (429418336108781526/Scoop #297)[1], NFT (443712039154446263/ApexDucks #3019)[1], SOL[.19883316], TRX[267.81718241],                 Yes
                                   USD[5.36]
07961870                           BTC[.00017513], CUSDT[1], ETH[.0002368], ETHW[.0002368], SOL[.01464067], USD[0.00]                                                                                                         Yes

07961877                           MATIC[1688.51551299]                                                                                                                                                                       Yes

07961886                           CUSDT[1], NFT (334780239038153644/Entrance Voucher #2783)[1], SHIB[653860.23192475], USD[0.00]                                                                                             Yes

07961901                           NFT (371860183635732711/Sigma Shark #5104)[1], NFT (437836560151554453/Sigma Shark #1845)[1]

07961921                           CUSDT[2], DOGE[893.75711215], ETH[.02573908], ETHW[.02542417], USD[0.00]                                                                                                                   Yes

07961933                           DOGE[1], SHIB[743530.48411565], USD[0.01]                                                                                                                                                  Yes

07961940                           CUSDT[1], SHIB[790125.92761617], USD[0.00], USDT[0.00006732]

07961943                           BTC[0.00164107], CUSDT[6], SHIB[2], TRX[2], USD[0.00], USDT[0]                                                                                                                             Yes

07961952                           BTC[.02612743], CUSDT[4], SHIB[2], USD[0.60]                                                                                                                                               Yes

07961960                           USD[14.80]

07961973                           USD[10.00]

07961976                           BAT[1.00122622], ETH[6.96028849], ETHW[6.95781607], SHIB[1], SOL[68.67723529], TRX[1], USD[18427.41]                                                                                       Yes

07961978                           NFT (429654223262703548/Sigma Shark #3478)[1], SOL[0.04871832]

07961980                           NFT (336897751303394642/AI-generated landscape #170)[1], NFT (343347849894651134/AI-generated landscape #132)[1], NFT (410457121408610877/Ali )[1], NFT (418169216956606537/Bussing        Yes
                                   around )[1], NFT (456116895234591401/Stop bugging me )[1], NFT (510648798788965648/Thristy?)[1], NFT (566805476419823643/Rooooar)[1], USD[0.49]
07961984                           BTC[.00171201], CUSDT[1], DOGE[409.55157053], USD[54.36]                                                                                                                                   Yes

07961986                           BRZ[1], BTC[.00186349], CUSDT[4], ETH[.02678405], ETHW[.02645573], SHIB[2427248.8098306], SOL[.69630391], USD[24.00]                                                                       Yes

07962001                           USD[20.00]

07962009                           CUSDT[2], MATIC[.00043429], SUSHI[14.17966097], USD[0.00]                                                                                                                                  Yes

07962014                           USD[0.00]                                                                                                                                                                                  Yes

07962016                           BF_POINT[400], DOGE[4384.76924675], SHIB[379240.93173852], SOL[4.66738671], USD[0.00]                                                                                                      Yes

07962017                           BTC[.00090398], CUSDT[1], DOGE[81.19692659], USD[45.20]                                                                                                                                    Yes

07962019                           CUSDT[4], ETH[0], ETHW[0], SHIB[2], TRX[2], USD[0.00], USDT[0.00068914]                                                                                                                    Yes

07962032                           USD[10.82]                                                                                                                                                                                 Yes

07962045                           CUSDT[1], GRT[48.99046908], USD[0.00]

07962049                           BTC[0], DOGE[1.10298531], ETH[0], ETHW[0], NFT (307508185872193852/Frog #279)[1], NFT (313539052034282725/MagicEden Vaults)[1], NFT (314908672929508526/MagicEden Vaults)[1], NFT          Yes
                                   (359901027832092072/MagicEden Vaults)[1], NFT (461017681625819949/Cyber Frogs Ramen)[1], NFT (489690466577627016/Revolver)[1], NFT (493228579495716579/MagicEden Vaults)[1], NFT
                                   (511419011098053210/Golden bone pass)[1], NFT (523305227296429824/Frog #7300)[1], NFT (528824790539105837/Frog #5298)[1], NFT (529403293911554634/Frog #3919)[1], NFT
                                   (548200498395421920/MagicEden Vaults)[1], SOL[0], USD[0.01], USDT[0]
07962071                           USD[0.00]

07962074                           DOGE[150.64220183], ETH[.03878934], ETHW[.03878934], SHIB[4213284.5489738]

07962081                           USD[20.00]

07962097                           CUSDT[3], USD[0.00]                                                                                                                                                                        Yes

07962104                           USD[20.00]

07962110                           AAVE[.07803032], BAT[32.5982353], BRZ[59.45158122], CUSDT[982.41543058], ETH[.00253132], ETHW[.00250396], GRT[92.37046371], KSHIB[751.75827172], MATIC[6.83862983], NFT                    Yes
                                   (320071045624506193/Happy Sun #9)[1], NFT (370437990552036493/Surreal World #14)[1], NFT (401621554572659807/Doak Walker's Playbook: Detroit Lions vs. Cleveland Browns - December 28,
                                   1952 #69)[1], NFT (402895548458981334/Surreal World #19)[1], NFT (439017970919948419/Tim Brown's Playbook: Michigan State vs. Notre Dame - September 19, 1987 #61)[1], NFT
                                   (475614666295344150/Marcus Allen's Playbook: Seattle Seahawks vs. Los Angeles Raiders - October 7, 1984 #71)[1], NFT (499466716366178469/Surreal World #17)[1], NFT
                                   (557415364772053392/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #101)[1], NFT (557924032720062574/Joe Theismann's Playbook: Washington vs. Chicago Bears -
                                   September 29, 1985 #63)[1], NFT (569741984484861388/Codart #9)[1], NFT (575884116902934724/Tim Brown's Playbook: Michigan State vs. Notre Dame - September 19, 1987 #63)[1],
                                   SHIB[1061100.25595092], SOL[.04898728], SUSHI[5.59005329], TRX[200.4536459], USD[2.13], USDT[0]
07962113                           NFT (502435621433052721/Skully Boys #1796)[1], NFT (517386109705959632/Skully Boys #4584)[1]

07962117                           BTC[.00016343], CUSDT[2], LTC[.20460487], SHIB[744158.35689834], USD[0.00]

07962119                           USD[20.00]

07962120                           CUSDT[25], GRT[0], KSHIB[0], MATIC[0], NFT (320998692842604020/America )[1], NFT (345174524157267340/Back flip )[1], NFT (414332421375041005/New Boots 4)[1], NFT                          Yes
                                   (486641816722026915/I’m cool )[1], NFT (489589824706118485/Over the Bridge)[1], NFT (494397596394358577/Perfectly Perfect 1)[1], NFT (509420564855108960/Gainzzz)[1], NFT
                                   (517242876354547185/Saddle up )[1], NFT (524877822481100535/Fly By #2 0f 5)[1], NFT (571613998325819173/Sunsets #1025)[1], TRX[0], USD[0.00]
07962130                           NFT (296396148633218054/Coachella x FTX Weekend 2 #3734)[1], NFT (514811218425926212/Coachella x FTX Weekend 2 #3730)[1]

07962134                           MATIC[0], SOL[0], USD[0.00]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07962136                              SHIB[78853701.00512922], USD[11000.02]

07962138                              USD[20.00]

07962141                              BTC[0]                                                                                                                                                        Yes

07962143                              BRZ[1], BTC[.00089764], CUSDT[2], ETH[.00656224], ETHW[.00648016], USD[0.00], USDT[27.05158484]                                                               Yes

07962145                              BTC[.00484675], SHIB[1], USD[0.00]

07962146                              SOL[.00000001], USD[0.00]                                                                                                                                     Yes

07962155                              SHIB[.78210375]                                                                                                                                               Yes

07962161                              CUSDT[5], DOGE[461.7328159], MATIC[141.13596385], SHIB[5524323.54889728], SOL[1.97150364], USD[0.00]                                                          Yes

07962162                              CUSDT[1], DOGE[373.23373719], SHIB[5871828.96558809], TRX[1], USD[0.01]                                                                                       Yes

07962170                              USD[20.00]

07962174                              USD[2.14]

07962175                              BF_POINT[300], BRZ[2], DOGE[1], GRT[2.0013521], SHIB[1], SOL[.00000001], TRX[4], USD[0.15]                                                                    Yes

07962177                              CUSDT[4], DOGE[1967.51006414], SHIB[890408.64064765], USD[0.00]                                                                                               Yes

07962178                              AAVE[10.16891], BTC[.0402], ETH[1.027644], ETHW[1.027644], GRT[5211.468], LINK[392.1159], MATIC[810], USD[0.00], USDT[3.71846611]

07962179                              CUSDT[1], DOGE[56.70479335], KSHIB[239.45059702], TRX[1], UNI[1.13594963], USD[0.00]                                                                          Yes

07962180                              USD[20.00]

07962186                              USD[21.51]                                                                                                                                                    Yes

07962188                              USD[108.73]                                                                                                                                                   Yes

07962198                              BTC[0.04309173], ETH[.008], SOL[0], USD[0.00]                                                                                                                 Yes

07962203                              TRX[.563], USD[3.40]

07962204                              USD[20.00]

07962205                              BTC[0], SOL[.00144712], USDT[0]

07962209                              USD[20.00]

07962214                              AVAX[.0002356], BRZ[1], DOGE[2], GRT[1], SHIB[2], TRX[3], USD[0.00]

07962215                              USD[20.00]

07962222                              USD[20.00]

07962228                              USD[20.00]

07962229                              USD[20.00]

07962240                              NFT (307770456293652022/Shane, the Powerful)[1], NFT (531058513583438956/Xandria, the Old-fashioned)[1], NFT (564581027695540208/Sollama)[1], USD[1.00]

07962241                              USD[20.00]

07962244                              USD[20.00]

07962265                              USD[20.00]

07962272                              USD[0.00]

07962280                              AAVE[.00001107], BTC[.00000009], DOGE[2], ETH[0.00000278], ETHW[0.30400229], LINK[.00018956], MATIC[0], SHIB[1], SOL[.00001475], TRX[2], USD[0.00], USDT[0]   Yes

07962281                              CUSDT[1], USD[0.00]

07962291                              USD[0.00]                                                                                                                                                     Yes

07962292                              TRX[.875], USD[93.25]

07962298                              BAT[1], USD[250.00]

07962301                              SOL[0], USD[8.71], USDT[0]

07962304                              BTC[.00016027], DOGE[37.12924297], SHIB[328515.11169513], USD[0.00]

07962306                              BAT[7.33953804], BTC[0.00000042], ETHW[.17082065], LTC[.00000979], MATIC[0.00008672], SHIB[31.06339559], SOL[0.00000001], USD[0.00]                           Yes

07962309                              BTC[.00008029], DOGE[18.44355707], USD[0.00]

07962324                              USD[20.00]

07962327       Contingent, Disputed   USD[20.00]

07962330                              USD[20.00]

07962337                              CUSDT[494.85763979], TRX[117.35106982], USD[0.00]                                                                                                             Yes

07962338                              CUSDT[2], USD[21.64]                                                                                                                                          Yes

07962339                              USD[0.00]

07962340                              USD[20.00]

07962342                              BRZ[6.14237471], ETH[.00000059], ETHW[.06356514], MATIC[.00473086], SHIB[.00000001], USD[0.00]                                                                Yes

07962343                              USD[20.00]

07962353                              CUSDT[2], DOGE[3], SHIB[2930190.37270628], TRX[1], USD[0.00]                                                                                                  Yes

07962356                              USD[21.51]                                                                                                                                                    Yes

07962357                              DOGE[1], ETH[.12362182], ETHW[.12245094], USD[0.00]                                                                                                           Yes

07962362                              USD[20.00]

07962365                              USD[108.73]                                                                                                                                                   Yes

07962368                              BF_POINT[100]                                                                                                                                                 Yes

07962381                              USD[20.00]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07962382                           BRZ[1], ETH[.82944556], ETHW[.82909734], TRX[1], USD[5319.48]                                                                                                                       Yes

07962384                           CUSDT[4], ETH[0], GRT[0], MATIC[0], SHIB[0], SUSHI[0], TRX[0], USD[0.00], YFI[0]                                                                                                    Yes

07962389                           BRZ[1], CUSDT[5], DAI[12.9748663], DOGE[1], ETH[.05115427], ETHW[.05051996], MATIC[71.52016744], MKR[.02372677], SOL[.97339576], SUSHI[1.23051691], TRX[117.50690169], USD[54.77]   Yes

07962391                           SHIB[7481669.90872362], USD[0.01]

07962401                           USD[20.00]

07962411                           BTC[0], DOGE[0], NFT (353110292472714633/SolDad #3282)[1], NFT (531177701739593847/Sol Slug - 07347)[1], SHIB[0], SOL[0], USD[0.00]

07962414                           DOGE[1], SOL[2.66872395], USD[0.00]

07962415                           USD[543.62]                                                                                                                                                                         Yes

07962418                           USD[20.00]

07962424                           BRZ[2], BTC[.00384777], CUSDT[5], ETH[.02748327], ETHW[.02714127], TRX[1], USD[0.00]                                                                                                Yes

07962425                           USD[20.00]

07962427                           CUSDT[1], SOL[0], TRX[1]

07962433                           USD[20.00]

07962436                           USD[20.00]

07962440                           USD[21.51]                                                                                                                                                                          Yes

07962451                           USD[20.00]

07962452                           BTC[0], SOL[0], USD[4.16]

07962454                           USD[20.00]

07962457                           BF_POINT[200], BTC[.35936134], LTC[8.59393181]                                                                                                                                      Yes

07962458                           USD[20.00]

07962459                           ETH[0.02207994], ETHW[0.02207994], SOL[0], USD[0.00]

07962467                           USD[0.00]

07962473                           USD[21.51]                                                                                                                                                                          Yes

07962475                           BTC[.00010496], LTC[.18977669], TRX[.01429], USD[3826.19], USDT[498.92704914]

07962478                           NFT (480818991062314203/Cosmic ray)[1]

07962480                           CUSDT[1], DOGE[.87102407], SHIB[1], SOL[0], USD[0.00], USDT[0]                                                                                                                      Yes

07962482                           BTC[.00004661], SHIB[1599678.56729462]                                                                                                                                              Yes

07962483                           USD[21.75]                                                                                                                                                                          Yes

07962484                           USD[20.00]

07962486                           USD[20.00]

07962487                           USD[0.01]

07962497                           ETH[0.00000001], ETHW[0], SOL[0], USD[0.00]

07962498                           USD[21.51]                                                                                                                                                                          Yes

07962499                           BTC[.0093906], USD[404.74]

07962500                           USD[21.51]                                                                                                                                                                          Yes

07962502                           USD[21.51]                                                                                                                                                                          Yes

07962503                           USD[21.51]                                                                                                                                                                          Yes

07962504                           USD[20.00]

07962505                           USD[20.00]

07962506                           USD[20.00]

07962515                           USD[20.00]

07962522                           USD[20.00]

07962524                           BRZ[1], CUSDT[1], DOGE[3], MATIC[217.82444928], NFT (310192373006550217/Entrance Voucher #1810)[1], SHIB[2], SOL[5.29215493], TRX[2], USD[1.85], USDT[1.02543197]                   Yes

07962527                           DOGE[1], SOL[2.52948959], USD[0.00]

07962529                           USD[21.51]                                                                                                                                                                          Yes

07962533                           USD[20.00]

07962540                           USD[20.00]

07962545                           BRZ[1], DOGE[2], LTC[.3791094], SHIB[6909894.96959646], TRX[5078.69178993], USD[0.00]

07962547                           BTC[0], ETH[0], USD[0.00]

07962550                           BTC[0], CUSDT[7], SOL[0.00000001], USD[0.00]

07962553                           USD[20.00]

07962556                           BF_POINT[100], BTC[.25778649]                                                                                                                                                       Yes

07962557                           USD[21.51]                                                                                                                                                                          Yes

07962563                           BRZ[1], BTC[.02687207], DOGE[1], SHIB[7100255.60920193], USD[0.00]

07962570                           BRZ[1], BTC[.00730564], CUSDT[8], DOGE[1], ETH[.04832526], ETHW[.04832526], LINK[25.32420365], TRX[557.97088046], USD[0.03]

07962571                           BTC[0], DOGE[2], ETHW[.57274635], SHIB[2], TRX[1], USD[1.19]                                                                                                                        Yes

07962581                           BRZ[2], CUSDT[32], DOGE[3.01194133], LTC[.00000107], SHIB[6317499.62174296], SOL[0.00000111], USD[2.06], USDT[0.00000001]                                                           Yes

07962594                           USD[21.51]                                                                                                                                                                          Yes
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07962596                           USD[21.51]                                                                                                                                                                         Yes

07962598                           USD[6.10]

07962606                           USD[0.00]

07962620                           SHIB[3], TRX[1], USD[0.00]

07962621                           USD[20.00]

07962625                           BTC[.00328879], ETH[.26476478], ETHW[.26476478], SHIB[1501276.08467197], SOL[4.35188159], USD[0.00]

07962627                           USD[42.95]                                                                                                                                                                         Yes

07962628                           AAVE[.00014366], ALGO[.02264356], AVAX[.00476044], BAT[2], DOGE[5], GRT[1.99319952], LTC[.00013564], MKR[.0000185], SHIB[7], SOL[.00044355], SUSHI[.00666412], TRX[6.000219],      Yes
                                   USD[0.01], USDT[0]
07962631                           USD[21.51]                                                                                                                                                                         Yes

07962632                           NEAR[.00000001], USD[0.00]

07962636                           USD[20.00]

07962641                           BRZ[1], DOGE[4], ETHW[.41871035], SHIB[1], SOL[5.39561594], USD[0.00], USDT[0]                                                                                                     Yes

07962642                           USD[21.51]                                                                                                                                                                         Yes

07962643                           BRZ[1], CUSDT[5], USD[0.00]

07962644                           BRZ[1], TRX[1.26613093], USD[0.00]                                                                                                                                                 Yes

07962645                           USD[20.00]

07962646                           SOL[.04674697], USD[0.00]                                                                                                                                                          Yes

07962649                           USD[20.00]

07962650                           USD[20.00]

07962651                           USD[20.00]

07962654                           AAVE[0.14314448], AVAX[0.00000007], BRZ[1.00000005], BTC[0.00085010], CUSDT[0], DOGE[0.00000007], ETH[0.00954566], ETHW[0.00942254], LINK[0], MATIC[0], NFT                        Yes
                                   (350607147019844818/Australia Ticket Stub #763)[1], PAXG[0.00556630], SHIB[4], SOL[0.36154529], SUSHI[8.35868679], USD[0.00]
07962657                           USD[0.00]                                                                                                                                                                          Yes

07962659                           USD[20.00]

07962660                           SOL[26.13941], USD[1.25]

07962661                           USD[21.51]                                                                                                                                                                         Yes

07962664                           USD[20.00]

07962670                           SOL[0], USD[0.00]

07962677                           ETH[0.01797780], ETHW[0.01797780], USD[1.09]

07962682                           AAVE[1.07491902], BTC[.02016601], CUSDT[7], DOGE[3], ETH[.31035248], ETHW[.31016853], KSHIB[265.93438973], LTC[3.17887686], MATIC[65.60212134], SOL[3.11055362], TRX[117.18813449], Yes
                                   USD[0.00]
07962684                           CUSDT[2], TRX[903.85660906], USD[0.00]

07962685                           USD[50.01]

07962687                           CUSDT[1], EUR[1.86], SHIB[297581.11102404], USD[0.03]                                                                                                                              Yes

07962689                           USD[0.00], USDT[0.00000001]

07962697                           USD[20.00]

07962698                           CUSDT[13], DOGE[1], ETH[0], ETHW[0], GRT[0], LINK[0], LTC[0], SOL[0], SUSHI[0], TRX[0], USD[0.00], USDT[1.08187291], YFI[0]                                                        Yes

07962702                           USD[20.00]

07962705                           CUSDT[3], MATIC[18.72899482], SOL[.00003861], USD[-3.52]                                                                                                                           Yes

07962709                           CUSDT[1], DOGE[2], ETH[0.02248706], ETHW[0.02221158], TRX[1], USD[0.00], USDT[0.00052488]                                                                                          Yes

07962712                           CUSDT[2.00415261], USD[48.84]                                                                                                                                                      Yes

07962718                           USD[21.51]                                                                                                                                                                         Yes

07962720                           CUSDT[9], KSHIB[1305.19285333], NFT (506505278929312327/947)[1], TRX[1], USD[3.00]

07962727                           NFT (361050446784814010/FTX - Off The Grid Miami #6077)[1], NFT (424218646354229217/Imola Ticket Stub #1440)[1], NFT (477821798079583477/Barcelona Ticket Stub #1339)[1],
                                   SOL[.00000001], USD[0.00]
07962738                           USD[20.00]

07962742                           USD[20.00]

07962744                           BRZ[1], DOGE[3], ETH[0], SHIB[2], SOL[.00463077], TRX[1], USD[1.85]

07962746                           SOL[0]

07962750                           SOL[.00230677], USD[92.22]

07962756                           USD[20.00]

07962761                           USD[0.00]

07962764                           USD[20.00]

07962768                           CUSDT[2], DOGE[1], SOL[0], TRX[1], USD[0.00]

07962770                           AVAX[0], BTC[0], DOGE[0], ETH[0], ETHW[0], LINK[0], LTC[0], MATIC[0], NFT (418863973136119532/Entrance Voucher #4131)[1], SOL[0], TRX[0], UNI[0], USD[0.00], USDT[0.00000046]

07962774                           BTC[.00000001], DOGE[0], KSHIB[0], SHIB[2], USD[0.00]                                                                                                                              Yes

07962778                           USD[20.00]

07962780                           CUSDT[9], DOGE[3], ETH[.04671457], ETHW[.04671457], MATIC[.00956805], SOL[1.77043073], USD[0.01]

07962788                           USD[21.51]                                                                                                                                                                         Yes

07962794                           USD[53.06]                                                                                                                                                                         Yes
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                                                                                                                                            Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07962801                              USD[20.00]

07962820                              ALGO[2771.41752188], AVAX[0], BF_POINT[200], ETH[1.00671016], ETHW[0], LINK[0], MATIC[226.15859685], NFT (296638176616663091/Ravager #498)[1], NFT (301859463788968360/Ravager    Yes
                                      #1846)[1], NFT (327199139007840079/Ravager #315)[1], NFT (329718098556281744/Ravager #1831)[1], NFT (342292689241999227/Ravager #1666)[1], NFT (346121804346288560/Ravager
                                      #1487)[1], NFT (370604785306948056/ApexDucks #5278)[1], NFT (388767427059705557/Roamer #505)[1], NFT (400965938600392403/Ravager #1299)[1], NFT (439520669372889416/Ravager
                                      #880)[1], NFT (451807962055375055/Nifty Nanas #7012)[1], NFT (456338295038222640/Ravager #1669)[1], NFT (506010135190903852/Ravager #1860)[1], NFT (557579320894925173/Entrance
                                      Voucher #3688)[1], NFT (572647749268274681/Roamer #78)[1], NFT (574192360779530203/Roamer #649)[1], SHIB[61400506.85695828], SOL[14.31308229], USD[0.00], USDT[0.00000076]

07962823                              USD[20.00]

07962833                              ETH[.023], SHIB[5780493.70952821], USD[7.73]

07962836                              USD[55.77]

07962841                              ETH[0.00000001], ETHW[0], USD[0.00]

07962844                              SHIB[412710.7584148], USD[0.00]                                                                                                                                                   Yes

07962846                              SOL[.00000002]

07962847                              USD[20.00]

07962851                              DOGE[10.1157112], USD[0.00]                                                                                                                                                       Yes

07962859                              AAVE[2.71822804], BTC[.02174749], DOGE[380.44773627], ETH[1.6320907], ETHW[1.6314053], GRT[217.04341944], LINK[7.05391117]                                                        Yes

07962865                              USD[20.00]

07962868                              USD[20.00]

07962869       Contingent, Disputed   USD[0.00], USDT[1.04216023]

07962885                              USD[20.00]

07962890                              USD[1.27]

07962892                              ETHW[2.51207527], SHIB[.00577029], SOL[.00000001], USD[0.00]

07962893                              NFT (387552524893559337/FTX Crypto Cup 2022 Key #26289)[1], SOL[.00545], USD[0.00]

07962896                              BRZ[1], BTC[.00945313], CUSDT[16], DOGE[406.01242931], SHIB[4560084.25834821], TRX[1], USD[2.09]                                                                                  Yes

07962897                              USD[21.51]                                                                                                                                                                        Yes

07962914                              BAT[1.01614718], SHIB[.00000008], USD[0.70]                                                                                                                                       Yes

07962927                              BRZ[1], CUSDT[1], GRT[1], SHIB[93548.495333], SOL[.00000001], UNI[1.0784204], USD[0.38]                                                                                           Yes

07962930                              USD[20.00]

07962932                              SOL[67.211822], USD[30.52], USDT[0]

07962942                              USD[108.71]                                                                                                                                                                       Yes

07962949                              BAT[1], BRZ[2], CUSDT[6], DOGE[7.07937917], ETH[.0000285], ETHW[3.12089402], GRT[3.00685944], SHIB[1], SOL[.00020247], TRX[2], USD[8363.90]                                       Yes

07962955                              SOL[8.72213182]                                                                                                                                                                   Yes

07962961                              NFT (494587268766387378/Warriors 75th Anniversary City Edition Diamond #194)[1]

07962964                              USD[100.00]

07962975                              BCH[.43605448], BTC[.00028348], ETH[.0241902], ETHW[.02388924], SUSHI[7.61116799], UNI[12.03081683]                                                                               Yes

07962976                              ETH[0], USD[0.00]

07962987                              BTC[.00838354], DOGE[1], USDT[0.12354776]                                                                                                                                         Yes

07962990                              USD[21.51]                                                                                                                                                                        Yes

07962991                              USD[21.51]                                                                                                                                                                        Yes

07962995                              DOGE[0], ETH[0], ETHW[0], USD[0.01]                                                                                                                                               Yes

07962999                              USD[20.00]

07963002                              USD[20.00]

07963005                              USD[21.51]                                                                                                                                                                        Yes

07963008                              BF_POINT[100]

07963009                              USD[21.51]                                                                                                                                                                        Yes

07963022                              USD[1.58]

07963024                              BF_POINT[400], MATIC[.00013913], SHIB[2], TRX[1], USD[0.00]                                                                                                                       Yes

07963029                              USD[20.00]

07963034                              USD[20.00]

07963035                              USD[21.51]                                                                                                                                                                        Yes

07963036                              ETH[0], USD[28.51]

07963039                              USD[0.11]

07963062                              ETH[.67995762], ETHW[.67995762], SOL[.00387], USD[0.00], USDT[10]

07963063                              NFT (359341361692037167/FTX Crypto Cup 2022 Key #598)[1], NFT (572427029114959140/Entrance Voucher #25332)[1], SOL[.013]

07963071                              CUSDT[5], TRX[1], USD[0.00]                                                                                                                                                       Yes

07963072                              BRZ[1], CUSDT[4], USD[0.74], USDT[1]

07963077                              BTC[.08912738], USD[0.00], USDT[1.08684397]                                                                                                                                       Yes

07963082                              BAT[1.01647198], USD[0.00]                                                                                                                                                        Yes

07963083                              USD[20.00]

07963085                              CUSDT[4], SOL[.00000073], USD[0.01]                                                                                                                                               Yes
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07963087                           USD[20.00]

07963092                           CUSDT[2], USD[0.01]

07963099                           BTC[.00017634]                                                                                                                                                                         Yes

07963100                           USD[20.00]

07963103                           USD[20.00]

07963106                           USD[20.00]

07963113                           USD[0.01]                                                                                                                                                                              Yes

07963121                           USDT[0.89578026]

07963125                           USD[20.00]

07963139                           USD[1.22]

07963141                           USD[20.00]

07963153                           USD[20.00]

07963161                           USD[20.00]

07963162                           USD[20.00]

07963171                           BTC[.0027997], ETH[.023], ETHW[.023], SHIB[200000], USD[10.71]

07963176                           BTC[0], ETH[.00000001], ETHW[0], USD[0.00]

07963177                           NFT (431136661205732702/CloudNFT Series 1 #27)[1], NFT (508137898848522349/CloudNFT Series 1 #57)[1], SHIB[3200000], SOL[.0040421], USD[5.92]

07963194                           USD[0.01], USDT[1.07631344]                                                                                                                                                            Yes

07963195                           USD[20.00]

07963196                           BRZ[1], BTC[.0004106], USD[0.01]                                                                                                                                                       Yes

07963198                           USD[0.36]

07963203                           CUSDT[2], USD[0.00]

07963215                           SHIB[4], USD[0.00], USDT[0]                                                                                                                                                            Yes

07963236                           BAT[0], BTC[0], LTC[0], MATIC[0], SHIB[0], USD[0.00]                                                                                                                                   Yes

07963237                           CUSDT[1], USD[21.52]                                                                                                                                                                   Yes

07963248                           USD[20.00]

07963253                           USD[20.00]

07963256                           USD[20.00]

07963259                           CUSDT[3], DOGE[1], SHIB[3], TRX[1], USD[0.00], USDT[.00000104]                                                                                                                         Yes

07963272                           USD[21.51]                                                                                                                                                                             Yes

07963275                           CUSDT[1], SHIB[8162067.63363509], TRX[1], USD[0.01]                                                                                                                                    Yes

07963280                           USD[21.51]                                                                                                                                                                             Yes

07963289                           BRZ[1], BTC[.00000002], CUSDT[2], USD[0.00]                                                                                                                                            Yes

07963305                           USD[21.51]                                                                                                                                                                             Yes

07963308                           USD[20.00]

07963316                           USD[20.00]

07963330                           USD[20.00]

07963338                           USD[20.00]

07963358                           NFT (295845539804922445/Gloom Punk #6288)[1], NFT (299921026504062442/Solninjas #1035)[1], NFT (360558195702497277/Gloom Punk #231)[1], NFT (413479425247325451/Solninjas #1534)[1],
                                   NFT (442188787090908752/Solninjas #7277)[1], NFT (467460033192391012/Gloom Punk #3984)[1], NFT (481710651810428043/Solninjas #9238)[1], NFT (485286350566870372/Gloom Punk
                                   #1730)[1], NFT (493562803657837660/Solninjas #1574)[1], NFT (494041869470773850/Solninjas #5814)[1], NFT (503547734870079202/Solninjas #9458)[1], NFT (563059993461094264/SolBunnies
                                   #2325)[1], SOL[.04105773], USD[0.00]
07963362                           NFT (449450183179364455/Entrance Voucher #3809)[1]

07963364                           USD[20.00]

07963381                           BRZ[1], CUSDT[1368.02552195], ETHW[.09371878], TRX[55.49491663], USD[0.85]                                                                                                             Yes

07963387                           USD[21.51]                                                                                                                                                                             Yes

07963391                           BTC[.00088483], CUSDT[1], DOGE[1], ETH[.01286279], ETHW[.01269863], USD[0.00]                                                                                                          Yes

07963396                           ETH[.00000001], SOL[0], USD[0.00]

07963397                           BRZ[1], CUSDT[2], SOL[0], USD[0.00]                                                                                                                                                    Yes

07963402                           CUSDT[1], USD[0.00]                                                                                                                                                                    Yes

07963418                           NFT (326002257993793236/Fireworks #37)[1], NFT (332890578572538870/Blue Mist #347)[1], NFT (353765116617746082/CORE 22 #212)[1], SOL[.1]

07963425                           USD[20.00]

07963426                           NFT (310410762538633664/Microphone #2839)[1], NFT (327074943575683708/The Hill by FTX #1239)[1]

07963430                           SOL[.09]

07963436                           NFT (338355831659806133/Snek #9495)[1], NFT (386955762402249113/The 1st building)[1]

07963442                           USD[20.00]

07963444                           USD[20.00]

07963449                           USD[20.00]

07963455                           AVAX[0], BTC[0], DOGE[0], ETH[0], GRT[0], MATIC[0], SOL[0], USD[0.27], YFI[0]

07963462                           BTC[.21661595], CUSDT[1], DOGE[1], ETH[2.62817713], ETHW[2.62817713], GRT[1], SOL[2.51063075], USD[0.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07963466                              USD[20.00]

07963468                              NFT (304657999007681819/theBULL #0386)[1], NFT (310782817592052969/theBULL #0178)[1], NFT (418111585693343368/theBULL #0184)[1], NFT (426768611712265564/theBULL #0206)[1]

07963475                              USD[0.31], USDT[0]                                                                                                                                                                   Yes

07963479                              NFT (464755235302941037/Megalodon Rogue Shark Tooth)[1], SOL[.05]

07963482                              BRZ[3], CUSDT[3], DOGE[1], ETH[.00001076], ETHW[.00001076], SOL[.0000617], TRX[2], USD[0.01]                                                                                         Yes

07963483                              ETH[.02291817], ETHW[.02291817], GRT[777.50081167], LINK[6.19343105], SOL[4.08170826], USD[615.00]

07963485                              AVAX[6.16516948], CUSDT[1], SHIB[6390418.06194575], TRX[4755.3532314], USD[0.01], USDT[1.08589161]                                                                                   Yes

07963490                              BF_POINT[300], BRZ[4], BTC[.00120294], CUSDT[74.15745573], DOGE[13.03686951], ETHW[4.47857977], GRT[136.62621324], LINK[25.25109267], MATIC[155.02439350], SHIB[126], USD[160.72],   Yes
                                      YFI[.00094227]
07963495                              SOL[1.116]

07963500                              USD[0.40]

07963517                              USD[20.00]

07963519                              BTC[.00000002], CUSDT[1], SHIB[2.89498487], USD[0.01], USDT[0.00010759]                                                                                                              Yes

07963520                              NFT (368946921327930599/Birthday Cake #2664)[1], TRX[1.000001], USD[0.80]

07963521                              USD[20.00]

07963530                              USD[20.00]

07963537                              USD[0.01]

07963550                              USD[20.00]

07963552                              BTC[0], USD[0.00], USDT[0.00015416]

07963555                              USD[20.00]

07963557                              NFT (396163411963010383/Fancy Frenchies #4296)[1], SOL[2.604]

07963558                              USD[20.00]

07963560                              USD[20.00]

07963568                              USD[21.51]                                                                                                                                                                           Yes

07963569                              USD[21.51]                                                                                                                                                                           Yes

07963572                              USD[1.99]

07963573                              USD[20.00]

07963575                              USD[20.00]

07963583                              NFT (293105034319860013/Microphone #3447)[1]

07963587                              USD[20.00]

07963590                              USD[20.00]

07963602                              BTC[0], ETH[0], ETHW[0], USD[0.00], USDT[0.00017592]

07963604                              USD[21.51]                                                                                                                                                                           Yes

07963623                              BRZ[1], CUSDT[1], USD[6.35]                                                                                                                                                          Yes

07963629                              USD[20.00]

07963635                              CUSDT[1], SHIB[2217950.613633], USD[0.00]

07963636                              USD[0.00]                                                                                                                                                                            Yes

07963641                              SHIB[1], TRX[327.29072361], USD[0.00]                                                                                                                                                Yes

07963642                              NFT (323648087483273672/Reservoir Doges #347)[1], USD[0.00]

07963655                              USD[20.00]

07963663                              CUSDT[1], USD[19.49]                                                                                                                                                                 Yes

07963664                              USD[0.00]                                                                                                                                                                            Yes

07963670                              CUSDT[1], USD[0.00]                                                                                                                                                                  Yes

07963679                              USD[21.99]                                                                                                                                                                           Yes

07963682                              BAT[1], DOGE[1], SHIB[2], USD[0.00]                                                                                                                                                  Yes

07963696                              NFT (375269541295225449/Humpty Dumpty #1457)[1]

07963701                              SHIB[133.48440831], TRX[131.23050912], USD[0.00], USDT[0]                                                                                                                            Yes

07963706                              ETH[.00739999], TRX[.000001], USD[33.06], USDT[0]

07963707                              USD[21.51]                                                                                                                                                                           Yes

07963717                              USD[20.00]

07963729                              USD[20.00]

07963730                              USD[10.87]                                                                                                                                                                           Yes

07963731                              USD[20.00]

07963737                              USD[21.51]                                                                                                                                                                           Yes

07963748                              DOGE[1], MATIC[45.38751119], USD[0.00]

07963753                              USD[20.00]

07963763                              DOGE[1], USD[0.00]                                                                                                                                                                   Yes

07963764       Contingent, Disputed   USD[0.00]

07963766                              USD[20.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07963767                              TRX[106.27353528], USD[0.00]                                                                                                                                   Yes

07963768                              DOGE[192], ETH[.00000001], SOL[1.11], SUSHI[3], USD[0.19]

07963775                              USD[20.00]

07963776                              ALGO[105.49712436], BTC[.07834702], DOGE[1893.06070312], ETH[.10462805], ETHW[.10356063], LTC[1.03923909], MATIC[99.79667262], SOL[1.23319466], USD[3759.72]   Yes

07963780       Contingent, Disputed   TRX[.000001]

07963783                              ETHW[.05893571], USD[5.94]

07963788                              CUSDT[2], TRX[2], USD[0.77]                                                                                                                                    Yes

07963791                              BTC[.016], ETH[.117882], ETHW[.117882], SOL[2.3976], USD[1.27]

07963794                              USD[0.00]

07963795                              BTC[.00792887], ETH[1.01259116], ETHW[1.01259115], SHIB[5100000], SOL[1.25], USD[0.00]

07963799                              CUSDT[2], ETH[.00520263], ETHW[.00513423], SOL[.07760164], USD[21.51]                                                                                          Yes

07963800                              USD[20.00]

07963805                              USD[20.00]

07963808                              ETH[0], ETHW[0.00667472], USD[0.00]

07963809                              USD[20.00]

07963811                              USD[20.00]

07963812                              MATIC[349.685], USD[10.00]

07963813                              ETHW[1.18973914], USD[0.00]                                                                                                                                    Yes

07963824                              TRX[.000001], USD[0.00], USDT[0]

07963836                              USD[0.00]

07963845                              USD[20.00]

07963846                              SHIB[1282946.251745], TRX[1], USD[0.06]                                                                                                                        Yes

07963847                              BTC[.2101248], DOGE[541.23465122], ETH[2.47562154], ETHW[2.47458178], SHIB[840284.97727554], SOL[7.51095758], USD[0.06]                                        Yes

07963849                              USD[20.00]

07963854                              ETHW[3.559437]

07963856                              CUSDT[1], USD[0.00]                                                                                                                                            Yes

07963857                              NFT (539674092120181522/You in, Miami? #408)[1]

07963864                              NFT (452825135335415118/FTX - Off The Grid Miami #1499)[1]

07963869                              USD[20.00]

07963871                              USD[20.00]

07963872       Contingent, Disputed   USDT[26.943933]

07963884                              USD[20.00]

07963889                              BTC[0], ETH[0], USD[0.00]

07963902                              USD[20.00]

07963908                              USD[20.00]

07963914                              USD[20.00]

07963918                              USD[0.00]

07963923                              USD[20.00]

07963928                              BTC[.00000001], CUSDT[3], DOGE[.41825801], ETH[.00000027], ETHW[.00000027], SHIB[12448.87150558], SOL[.00018277], TRX[1], USD[0.01]                            Yes

07963929                              USD[20.00]

07963931                              USD[271.82]                                                                                                                                                    Yes

07963932                              BTC[.0022977], USD[10.75]

07963939                              AVAX[.00000134], BTC[0], USD[682.49], USDT[0]

07963940                              USD[20.00]

07963944                              BRZ[2], BTC[.00173681], CUSDT[2], DOGE[1132.66951441], SHIB[4984585.06651688], TRX[1], USD[0.01]                                                               Yes

07963947                              USD[20.00]

07963952                              USD[20.00]

07963953                              USD[20.00]

07963967                              USD[21.51]                                                                                                                                                     Yes

07963969                              USD[21.51]                                                                                                                                                     Yes

07963970                              BTC[.0003], USD[5.96]

07963971                              USD[20.00]

07963973                              USD[20.00]

07963983                              USD[20.00]

07963989                              USD[20.00]

07963994                              USD[20.00]

07964000                              USD[20.00]

07964006                              BF_POINT[200], BTC[0], MATIC[0], SOL[0], USD[0.00], USDT[0]                                                                                                    Yes
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                                                                                                                                            Customer Claims                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07964011                              USD[20.00]

07964016                              DOGE[1], SHIB[1], TRX[1], USD[0.00]

07964031                              USD[0.00], USDT[2.04150782]

07964032                              DOGE[40.96105], USD[0.19]

07964045                              AAVE[0], DOGE[20.40186466], ETH[0], USD[0.01]

07964047                              USD[0.97], USDT[0.00437078]

07964048                              BTC[.0060881], USD[194.86]

07964051                              ETH[.13630532], ETHW[.13524388], SHIB[13886.08222805], USD[0.00]                                                                      Yes

07964060                              USD[20.00]

07964061                              BTC[.0000048], ETH[.00008851]                                                                                                         Yes

07964062                              USD[21.19]                                                                                                                            Yes

07964065                              USD[20.00]

07964071                              USD[0.41]                                                                                                                             Yes

07964080                              DOGE[8], ETH[.070929], ETHW[.070929], USD[0.26]

07964091                              BTC[.00051408], ETH[.00794512], ETHW[.00784936], SHIB[2], USD[25.97]                                                                  Yes

07964092                              AAVE[.006382], BTC[0.00007579], ETH[.0017462], ETHW[.0017462], LINK[.05581], LTC[.005077], NEAR[.08524], USD[0.32], USDT[.46138282]

07964100                              BF_POINT[200], BRZ[1], DOGE[1], TRX[2], USD[0.00], USDT[0]                                                                            Yes

07964106                              BRZ[1], CUSDT[1], USD[0.00]                                                                                                           Yes

07964108                              NFT (480017804408195864/FTX - Off The Grid Miami #4107)[1]

07964110                              USD[21.51]                                                                                                                            Yes

07964114                              NFT (414888573961848253/2200)[1], NFT (542473244552448711/Sigma Shark #11)[1], USD[801.98]                                            Yes

07964115                              BRZ[1], KSHIB[3441.1995353], USD[0.00]                                                                                                Yes

07964117                              CUSDT[1], ETH[.00001826], ETHW[.00001826], TRX[1], USD[0.00]                                                                          Yes

07964123                              USD[20.00]

07964125                              USD[0.00], USDT[1.08692342]                                                                                                           Yes

07964127                              MATIC[9.82], SOL[2.73925], USD[2.52], USDT[9.14635603]

07964130                              USD[0.01]

07964132                              USD[20.00]

07964135                              USD[20.00]

07964147                              NFT (480020290016452102/Entrance Voucher #2341)[1]                                                                                    Yes

07964153                              CUSDT[2], SHIB[14.07602184], USD[0.00]                                                                                                Yes

07964158                              BTC[.0000021], TRX[1], USD[0.01]                                                                                                      Yes

07964164                              USD[50.00]

07964165                              USD[5.53]

07964166       Contingent, Disputed   ETH[.00000001], USD[1.72], USDT[0.00000001]

07964173                              CUSDT[3], DOGE[1], ETH[.02453349], ETHW[.02423253], GRT[4.98561779], SHIB[131.18194936], SOL[1.28916932], USD[0.00]                   Yes

07964182                              ETH[.00000185], ETHW[.00000185], SHIB[44435.33019361], USD[0.00], USDT[0]

07964183                              USD[21.51]                                                                                                                            Yes

07964184                              BAT[1.01023451], CUSDT[2], DOGE[1], USD[0.00]

07964186                              BTC[.00009872], USD[0.00]                                                                                                             Yes

07964187                              EUR[0.04]

07964192                              SOL[0], USD[0.00]                                                                                                                     Yes

07964195                              USD[20.00]

07964197                              SOL[1.02], USD[4.09]

07964209                              BTC[.0276764], SHIB[5498377.63330121], SOL[.44177858], USD[0.00]

07964211                              ETH[.0266208], ETHW[.02629224], TRX[1], USD[0.00]                                                                                     Yes

07964216                              BTC[.00608057], ETH[.08808334], ETHW[.08808334], USD[500.00]

07964223                              BTC[0], ETH[0.00108610], ETHW[0.00108610], USD[0.04], USDT[0]

07964225                              USD[20.00]

07964226                              USD[21.51]                                                                                                                            Yes

07964234                              USD[21.51]                                                                                                                            Yes

07964241                              USD[8.09]

07964243                              USD[59725.10]                                                                                                                         Yes

07964247                              USD[14.82]

07964249                              USD[20.00]

07964251                              USD[0.00]                                                                                                                             Yes

07964254                              USD[20.00]

07964257                              USD[1.00], USDT[0]                                                                                                                    Yes
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07964273                           USD[20.00]

07964275                           AAVE[.42], BTC[.002973], DOGE[389.619], EUR[88.00], KSHIB[2470], LINK[6.77635637], LTC[.5], PAXG[.0545], USD[0.10]

07964280                           USD[0.00]

07964292                           USD[20.00]

07964295                           USD[20.00]

07964309                           USD[5.43]

07964310                           USD[21.51]                                                                                                                                                                               Yes

07964313                           LINK[0], NFT (339581946529240286/ApexDucks #315)[1], SOL[0.04969225], USDT[0]

07964314                           BRZ[5.88100645], BTC[.00007918], DAI[.99465242], DOGE[7.74481912], TRX[10.94458325], USD[0.00]                                                                                           Yes

07964320                           USD[20.00]

07964322                           SOL[.31]

07964323                           USD[20.00]

07964328                           USD[20.00]

07964329                           USD[20.00]

07964330                           BRZ[2], BTC[.00000016], CUSDT[44], DOGE[.03247802], ETH[.00000031], ETHW[.03333663], LINK[.00006479], LTC[.00000794], NFT (554614985184177308/FTX - Off The Grid Miami #2460)[1],        Yes
                                   SHIB[141.17797822], SOL[.0000037], TRX[6], USD[36.04]
07964346                           MATIC[10], NFT (292104604691657717/Imola Ticket Stub #2093)[1], NFT (359557348221417560/Entrance Voucher #3073)[1], TRX[60], USD[0.04]

07964348                           BTC[0], DOGE[1], ETH[.00000001], ETHW[0], USD[0.01]                                                                                                                                      Yes

07964351                           USD[20.00]

07964354                           BAT[0], BTC[0], DOGE[1], ETH[0], GRT[0], LTC[0], MATIC[0], SHIB[1], SOL[0], TRX[1], USD[2246.19], USDT[0.00000001]                                                                       Yes

07964356                           USD[21.51]                                                                                                                                                                               Yes

07964362                           USD[0.00]

07964369                           USD[0.49]

07964371                           USD[20.00]

07964372                           CUSDT[4], USD[0.00]

07964376                           USD[20.00]

07964377                           SHIB[3058.23715807], USD[0.00]                                                                                                                                                           Yes

07964386                           NFT (550877538091768037/FTX - Off The Grid Miami #1912)[1], SOL[0], USD[0.00]

07964391                           USD[20.00]

07964392                           BTC[0.01715012], CUSDT[2], DOGE[117.33125115], ETH[.09795711], ETHW[.0969345], SHIB[17760811.27300178], USD[0.79]                                                                        Yes

07964394                           USD[20.00]

07964396                           USD[20.00]

07964405                           USD[0.00], USDT[1.05990832]                                                                                                                                                              Yes

07964412                           BTC[.01107596], CUSDT[1], SHIB[5], USD[0.06]

07964415                           CUSDT[1], SHIB[2450435.34020725], USD[0.00]                                                                                                                                              Yes

07964417                           LTC[0], USD[0.00]

07964418                           USD[20.00]

07964420                           USD[20.00]

07964426                           SOL[7.02309079], SUSHI[93.54108809]                                                                                                                                                      Yes

07964433                           BTC[.00000001], USD[0.00]

07964447                           SOL[2.03978114], USD[0.00], USDT[1]

07964448                           DAI[0], ETH[0.00000001], ETHW[0], MATIC[0], USD[0.00], USDT[0.00000115]

07964450                           TRX[3613.140339], USDT[1.1151184]

07964458                           USD[0.00]

07964460                           AAVE[0], BTC[0], MATIC[0], USD[0.00], USDT[0]

07964464                           USD[20.00]

07964465                           USD[20.00]

07964466                           SOL[.00637364], USD[0.36]

07964467                           CUSDT[1], GRT[1.00160767], USD[0.16]                                                                                                                                                     Yes

07964470                           USD[20.00]

07964474                           USD[20.00]

07964481                           CUSDT[5], DOGE[1.37749203], ETH[.00000001], GRT[.11474503], TRX[4], USD[0.00]

07964483                           USD[0.34]                                                                                                                                                                                Yes

07964485                           AAVE[6.53866], ALGO[3.554], AVAX[6.7972], BCH[2.299727], BTC[0.01390498], DOGE[1.71], ETH[.006796], ETHW[.006796], LINK[.093], LTC[.00949], NEAR[.3698], PAXG[.0000599], SOL[3.94697],
                                   SUSHI[42.5], TRX[.186], UNI[.03115], USD[0.00], USDT[4.64792560]
07964486                           CUSDT[1], USD[0.00]                                                                                                                                                                      Yes

07964491                           USD[20.00]

07964495                           USD[20.00]

07964501                           USD[20.00]

07964511                           DOGE[2], ETH[1.5528881], ETHW[1.55223582], USD[0.00]                                                                                                                                     Yes
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07964512                              BRZ[1], BTC[0.00001830], DOGE[4], ETH[0.00001962], ETHW[0], LTC[0.04242002], MATIC[0], NFT (303967270047445766/Toy Soldier #007)[1], NFT (304057528930470778/Crypto Infinite )[1], NFT
                                      (316437038877354636/Space Bums #1080)[1], NFT (335716268678421797/The Ride.)[1], NFT (363906489509071658/Love 1)[1], NFT (437808048460417187/Solninjas #4629)[1], NFT
                                      (452554597808219842/Solninjas #1026)[1], NFT (486679184956705929/ApexDucks #1506)[1], NFT (524075919301846057/Toy Soldier #006)[1], NFT (539311350929648104/Kiddo #5510)[1], SHIB[10],
                                      SOL[0.00127151], TRX[1], USD[0.17], USDT[0.00000053]
07964513                              SOL[.32713397], USD[0.00]

07964516                              AAVE[.00718153], SOL[.00925137], USD[0.61]                                                                                                                                               Yes

07964517                              NFT (317790928104512046/Sigma Shark #1663)[1], NFT (506147608071088422/Shannon Sharpe's Playbook: Denver Broncos vs. Los Angeles Raiders - January 9, 1994 #71)[1], TRX[1], USD[0.01]    Yes

07964520                              SOL[106], USD[2941.60]

07964526                              BTC[0.00007490], DOGE[43], ETH[.00499525], ETHW[.00499525], SUSHI[96], TRX[389], USD[108.66], USDT[196.50051140]

07964530                              ETH[0.00007341], LINK[.08036045], USD[356.42]

07964533                              USD[20000.00]

07964538                              AVAX[0], BAT[1], BRZ[2], BTC[0.00033315], DOGE[1], ETH[0], LINK[0], NFT (304383277953774142/Australia Ticket Stub #1487)[1], NFT (469907761974673828/Entrance Voucher #3718)[1], NFT     Yes
                                      (482499495469736695/Barcelona Ticket Stub #1805)[1], SHIB[11], USD[0.01]
07964542                              USD[1.70]

07964554                              BTC[.00034087], CUSDT[2], ETH[.04565211], ETHW[.04565211], SOL[.85385513], TRX[1], USD[0.00]

07964555                              ETH[.00040602], ETHW[0.00040602], USD[0.00]

07964557                              SHIB[275895.24218366], USD[0.00]                                                                                                                                                         Yes

07964567                              BRZ[0], CUSDT[2], ETH[.00000001], ETHW[0], SHIB[0], SOL[0], USDT[0.00000168]                                                                                                             Yes

07964576                              BTC[.00310503], CUSDT[13], ETH[.05581908], ETHW[.05581908], SHIB[216606.49819494], SOL[3.29841413], TRX[1], USD[0.00]

07964579                              BAT[1.01585017], CUSDT[3], DOGE[3], MATIC[417.63105845], SHIB[55087833.56506651], USD[137.80]                                                                                            Yes

07964581                              USD[21.51]                                                                                                                                                                               Yes

07964582                              USD[20.00]

07964588                              SHIB[1], USD[0.01]                                                                                                                                                                       Yes

07964589                              SHIB[6400000], USD[6.37]

07964591                              USD[20.00]

07964599                              BTC[.03853815], CUSDT[7], DOGE[5], ETH[.93893739], ETHW[.9385346], GRT[1.00019173], SHIB[21999744.51445776], SOL[28.02844266], TRX[6], USD[147.60]                                       Yes

07964600                              KSHIB[1890], SOL[35], USD[0.44]

07964601                              TRX[.000001], USD[0.00], USDT[149.50039953]

07964606                              USD[3000.00]

07964608                              ETHW[1.965052], NFT (416332545648129871/Entrance Voucher #3315)[1], USD[37.94]

07964610                              CUSDT[3], DOGE[1], KSHIB[5766.3121586], SHIB[1412026.01935586], USD[0.00]

07964611                              USD[21.51]                                                                                                                                                                               Yes

07964616                              SOL[7.14285], USD[1.59]

07964618                              NFT (575496761351410322/SBF Hair & Signature #2 #112)[1]

07964619                              SOL[0], USD[0.00], USDT[54.42646655]

07964626                              USD[3.87]

07964634                              USD[20.00]

07964638                              BTC[.0006993], USD[2.29]

07964643                              BRZ[1], BTC[.08555214], CUSDT[1], DOGE[3], ETH[.57580445], ETHW[.57556249], SHIB[2], SOL[20.45898375], USD[19.84]                                                                        Yes

07964651                              BRZ[1], BTC[.0666903], CUSDT[11], DOGE[727.04252089], MATIC[27.21718877], SHIB[9], SOL[1.06935476], TRX[5], USD[1201.07]                                                                 Yes

07964658                              USD[20.00]

07964660                              CUSDT[2], DOGE[1], USD[0.00]                                                                                                                                                             Yes

07964663                              USD[20.00]

07964664       Contingent, Disputed   USD[1.00]

07964666                              NFT (415478756864325285/Festive Beaver)[1], USD[0.00]

07964668                              USD[20.00]

07964681                              NFT (352088400620985944/DOGO-IN-500 #3492)[1], NFT (528514041153655355/BabyBlob #117)[1], SOL[0], USD[0.01], USDT[0.00040507]

07964682                              AAVE[.24949929], CUSDT[1], DOGE[2], LTC[.05661287], SHIB[177304.964539], USD[0.01]

07964687                              ETH[0], SOL[.00000001], USD[0.00]                                                                                                                                                        Yes

07964689                              USD[20.00]

07964701                              TRX[545.587999]

07964702                              USD[21.51]                                                                                                                                                                               Yes

07964706                              CUSDT[1], USD[0.01]

07964707                              ETH[1.04895], ETHW[1.04895], USD[24.05]

07964708                              USD[20.00]

07964709                              USD[20.00]

07964714                              CUSDT[1], SHIB[11078184.89851223], USD[3.00]                                                                                                                                             Yes

07964721                              BAT[1.01554407], CUSDT[8], DOGE[483.3695447], ETH[.0793321], ETHW[.07835002], SHIB[89507.24369708], SOL[.06575059], UNI[.00269263], USD[0.00], USDT[1.07562701]                          Yes

07964728                              USD[20.00]

07964729                              BRZ[1], BTC[.00343601], CUSDT[2], DOGE[1], ETH[.05146098], ETHW[.05082014], LINK[11.63038853], SOL[1.2669194], USD[0.00]                                                                 Yes
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07964733                              USD[21.73]                                                                                                        Yes

07964735                              USD[20.00]

07964738                              USD[20.00]

07964740                              USD[20.00]

07964744                              ETH[0], USD[624.36]

07964752                              CUSDT[1], GRT[18.98301821], USD[0.62]                                                                             Yes

07964755                              ETH[0], ETHW[0], USD[0.00]

07964760                              USD[20.00]

07964763                              BTC[.03108842], ETH[.70000922], ETHW[.70000922], SOL[17.46491], USD[11.80]

07964764                              DOGE[74.715], USD[1.18], USDT[0.00821657]

07964773                              SOL[3.5050185], USD[0.91]

07964777                              USD[21.51]                                                                                                        Yes

07964779                              USD[0.01]

07964783                              DOGE[1], USD[0.00]                                                                                                Yes

07964786                              DOGE[1], SOL[.47909564], USD[0.00]

07964812                              DOGE[1], TRX[1], USD[0.00]

07964825                              BAT[1.00939542], CUSDT[7], DOGE[5], ETH[0], ETHW[0], SOL[0], TRX[7], USD[0.00]                                    Yes

07964827                              BTC[.00012979], USD[13.03]                                                                                        Yes

07964828       Contingent, Disputed   BTC[0], TRX[.000001], USD[0.00], USDT[0.00058970]

07964830                              DOGE[498.945], USD[38.77]

07964831                              SHIB[8347500], USD[1.50]

07964834                              USD[20.00]

07964845                              NFT (457832947269150102/Coachella x FTX Weekend 2 #8250)[1]

07964848                              USD[20.00]

07964850                              USD[20.00]

07964852                              USD[20.00]

07964853                              BF_POINT[300], CUSDT[1], USD[0.41]                                                                                Yes

07964857                              CUSDT[1], ETH[.10791529], ETHW[.10682495], LINK[3.34652505], TRX[1], USD[0.00]                                    Yes

07964861                              USD[20.00]

07964875                              NFT (348136194320738261/You in, Miami? #407)[1]

07964877                              USD[20.00]

07964879                              BTC[.00038047], CUSDT[1], ETH[.00114267], ETHW[.00112899], USD[1.79]                                              Yes

07964882                              USD[20.00]

07964886                              USD[53.85]                                                                                                        Yes

07964890                              SOL[.02489435], USD[0.00]                                                                                         Yes

07964901                              GRT[1.00021078], USD[0.40]                                                                                        Yes

07964904                              USD[3.19]

07964907                              DOGE[41.76101227], GRT[4.56623695], KSHIB[183.14998188], SHIB[1], SOL[.15307077], SUSHI[2.87952849], USD[0.97]    Yes

07964913                              USD[2.00]

07964915                              SOL[0]

07964916                              BRZ[1], BTC[.01662483], CUSDT[7], DOGE[4], SHIB[1], USD[5.90]                                                     Yes

07964920                              USD[0.00]

07964925                              USD[0.01]

07964927                              USD[20.00]

07964930                              USD[20.00]

07964932                              SOL[2.9866353]

07964935                              CUSDT[1], DOGE[1], GBP[0.00], TRX[1], USDT[0]

07964938                              USD[20.00]

07964944                              SOL[0], USD[7657.66]                                                                                              Yes

07964946                              LINK[15.03145497], USD[0.01]

07964949                              USD[20.00]

07964950                              SOL[0], USD[0.00], USDT[0]

07964952                              BRZ[1], BTC[0]

07964954                              USD[20.00]

07964958                              BTC[0.00321231], USD[0.00]

07964959                              USD[1.86]

07964960                              SOL[3.98601], USD[3.55]

07964963                              USD[0.00]
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07964968                              USD[20.00]

07964973                              BAT[3.36016013], BRZ[4], BTC[0], CUSDT[40], DOGE[65.3221869], MATIC[1.13973718], SHIB[1.22275733], TRX[5], USD[0.01]                                                                    Yes

07964981                              USD[0.00]

07964982                              BTC[.3191798]                                                                                                                                                                           Yes

07964983                              USD[5.43]                                                                                                                                                                               Yes

07964984                              USD[20.00]

07964990                              USD[20.00]

07964993                              USD[20.00]

07964996                              DOGE[1], NFT (484954544080667550/Coachella x FTX Weekend 1 #25855)[1], SUSHI[1], TRX[3], USD[0.01], USDT[1]

07964998                              CUSDT[2], SHIB[916385.50853383], USD[0.09]                                                                                                                                              Yes

07965000                              CUSDT[2], DOGE[1], TRX[1], USD[0.00]

07965004                              CUSDT[1], ETH[0], GRT[3.02000828], USD[0.00], USDT[3.0154447]

07965010                              USD[10.49]                                                                                                                                                                              Yes

07965016                              USD[20.00]

07965023                              LINK[0], USD[0.00]                                                                                                                                                                      Yes

07965026                              BRZ[1], SOL[1.87190546], TRX[1], USD[0.00]

07965031                              SHIB[1], SOL[0]                                                                                                                                                                         Yes

07965036                              BF_POINT[300], CUSDT[1], TRX[1], USD[0.01]                                                                                                                                              Yes

07965039                              USD[20.00]

07965041                              USD[21.51]                                                                                                                                                                              Yes

07965043       Contingent, Disputed   USD[0.01]                                                                                                                                                                               Yes

07965046                              BTC[0.00000090], MATIC[10], SHIB[99145], TRX[.9696], USD[15.11]

07965048                              MATIC[258.65659208], USD[0.00], USDT[1]

07965052                              DOGE[1], ETH[.0058673], ETHW[.0058673], USD[0.00]

07965057                              NFT (303875157500566325/Microphone #3000)[1]

07965060                              USD[20.00]

07965061                              ETHW[1.40751175]

07965064                              USD[20.00]

07965065                              USD[5.55]                                                                                                                                                                               Yes

07965067                              USD[20.00]

07965069                              USD[20.00]

07965075                              USD[20.00]

07965078       Contingent, Disputed   NFT (414301822977668374/Cyber Frogs Ramen)[1]

07965085                              BRZ[1], BTC[0.00000405], CUSDT[42], DOGE[0], SHIB[0.00000002], TRX[2], USD[0.00]                                                                                                        Yes

07965088                              BAT[1.0125621], BTC[.06390501], CUSDT[2], DOGE[1], ETH[.91584287], ETHW[.62641021], LINK[114.60560638], SHIB[2], TRX[1], USD[0.00]                                                      Yes

07965089                              NFT (444440904003420487/You in, Miami? #406)[1]                                                                                                                                         Yes

07965094                              USD[20.00]

07965098                              USD[20.00]

07965104                              BTC[.00041017], CUSDT[2], DOGE[99.948324], USD[0.00]                                                                                                                                    Yes

07965107                              BRZ[1], BTC[.0117292], CUSDT[19], DOGE[254.92543081], ETH[.10539456], ETHW[.09620789], MATIC[24.80568676], NFT (364345959612332965/Flood of Fantasy #13)[1], NFT                        Yes
                                      (522862133488659217/Mythical Bird)[1], NFT (567260613479237876/DOTB #1497)[1], SHIB[252188.10018674], SOL[1.03143094], SUSHI[6.52660333], TRX[1], USD[176.28], USDT[0.00013907]
07965112                              CUSDT[1], USD[0.01]                                                                                                                                                                     Yes

07965119                              CUSDT[1], KSHIB[203.8775055], SHIB[221047.50005839], USD[0.00]                                                                                                                          Yes

07965120                              USD[20.00]

07965121                              USD[20.00]

07965124                              BAT[60], ETH[.012], ETHW[.012], KSHIB[139.86], LINK[1.8981], LTC[.36], MATIC[70], MKR[.039], SHIB[699300], USD[0.55]

07965126                              CUSDT[3], TRX[1], USD[0.00]                                                                                                                                                             Yes

07965135                              GRT[12], USD[3.44]

07965137                              DOGE[1], ETHW[10.36864713], SHIB[17.54579322], USD[0.00]                                                                                                                                Yes

07965140                              NFT (573162771143020345/Entrance Voucher #2995)[1]

07965144                              BTC[.02], DOGE[0.59400895], SHIB[98600], USD[-199.58]

07965146                              USD[20.00]

07965150                              NFT (400590630326621379/You in, Miami? #409)[1]

07965158                              USD[20.00]

07965159                              CUSDT[29.09497986], DOGE[35.55820644], SHIB[309079.39058521], USD[0.00]                                                                                                                 Yes

07965163                              USD[20.00]

07965170                              ETH[0], LTC[0], SOL[0], USD[0.00]

07965171                              BRZ[296.42246431], CUSDT[14], NFT (406882485707967429/Earl Campbell's Playbook: Texas vs. Houston - November 5th, 1977 #118)[1], NFT (431185830575274441/Marcus Allen's Playbook: Los   Yes
                                      Angeles Raiders vs. Washington - January 22, 1984 #94)[1], NFT (545130653797859691/Australia Ticket Stub #661)[1], SHIB[10525614.25850031], SOL[1.10298091], USD[0.93]
07965180                              USD[20.00]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07965182                              CUSDT[1], DOGE[2], SOL[2.099654], USD[0.00]                                                                                                                                 Yes

07965190                              USD[42.60]

07965194                              USD[20.00]

07965197                              CUSDT[3], SHIB[1], SOL[0.10458576], USD[0.74]

07965198                              SOL[2.16], USD[1.69]

07965200                              USD[20.00]

07965202                              TRX[2], USD[0.00]                                                                                                                                                           Yes

07965206                              BF_POINT[500], USD[0.89]

07965207                              CUSDT[2], SHIB[616292.87098546], USD[0.01]                                                                                                                                  Yes

07965215                              USD[20.00]

07965216                              NFT (370994483620404875/Entrance Voucher #2113)[1]                                                                                                                          Yes

07965219                              LINK[.01275316], MATIC[810.23463228]                                                                                                                                        Yes

07965240                              SHIB[8224804.74590954], TRX[1], USD[0.11]                                                                                                                                   Yes

07965244                              CUSDT[1], DOGE[.01424265], USD[21.53]                                                                                                                                       Yes

07965262                              CUSDT[9], DOGE[1], SHIB[547721.63663219], USD[0.01]                                                                                                                         Yes

07965269                              NFT (344553185943580509/The Founder #17)[1], NFT (421775543852160845/Adams)[1]

07965271                              BRZ[1], CUSDT[1], ETH[0], LTC[.00000001], USD[414.82], USDT[0.00000601]                                                                                                     Yes

07965274                              CUSDT[5], TRX[1], USD[0.01]                                                                                                                                                 Yes

07965276                              ALGO[104.94352595], AUD[7.39], AVAX[6.6013935], BRZ[32.67503407], CUSDT[13], ETH[.00000237], ETHW[1.01745623], GRT[184.29311851], KSHIB[106.01132685], LINK[10.07359724],   Yes
                                      MATIC[80.51773572], NFT (422142408948739637/NFT Yourself)[1], NFT (428686718418984200/Astral Apes #1602)[1], SHIB[1726439.27743508], TRX[204.47961807], USD[0.00]
07965283                              AAVE[5.994], DOGE[7998], ETH[2.02692663], ETHW[2.02692663], MATIC[499.5], SOL[11.992], USD[657.58]

07965290                              USD[500.00]

07965294                              USD[32.38]                                                                                                                                                                  Yes

07965304                              USD[20.00]

07965307                              USD[75.60]                                                                                                                                                                  Yes

07965309                              CUSDT[1], SHIB[381709.27619595], USD[2.00]

07965312                              DOGE[.0134617], SHIB[91.11358457], TRX[1], USD[0.00]                                                                                                                        Yes

07965319                              USD[21.51]                                                                                                                                                                  Yes

07965320                              USD[20.00]

07965324                              CUSDT[1], SOL[1.69677307], TRX[1], USD[0.00]                                                                                                                                Yes

07965330                              NFT (539552749941937486/ChillOwl #1)[1]

07965334                              SOL[0]

07965339                              USD[108.62]                                                                                                                                                                 Yes

07965341                              CUSDT[3], SHIB[175814.34181068], USD[0.00]                                                                                                                                  Yes

07965342                              BF_POINT[100], ETH[.00000138], USD[0.01], USDT[0]                                                                                                                           Yes

07965345                              ETH[0], USD[1.41]                                                                                                                                                           Yes

07965350                              USD[21.51]                                                                                                                                                                  Yes

07965353                              ETH[.000781], ETHW[.000781], LINK[.0609], SOL[.00229], USD[0.00], USDT[0.00273855]

07965360                              USD[1.77]

07965364                              TRX[1], USD[0.00]

07965367                              CUSDT[1], SUSHI[24.68208614], USD[0.00]                                                                                                                                     Yes

07965370                              USD[20.00]

07965373                              USD[0.00]

07965376                              NFT (336583694227921733/Practical Bohr)[1], NFT (430884927053058226/Raydium Alpha Tester Invitation)[1], NFT (514087140010021687/Peaceful Mirzakhani)[1], NFT
                                      (549663641516485184/Mystery Box)[1], NFT (556101449723923320/StarAtlas Anniversary)[1]
07965382                              AVAX[1.03844394], ETHW[1.09284603], LINK[0], SOL[2.06272518], USD[0.00], USDT[0.00000001], YFI[.00000029]                                                                   Yes

07965386                              ETH[.12356351], ETHW[.12356351], TRX[1], USD[0.01]

07965389       Contingent, Disputed   BF_POINT[300], USD[6.76]

07965393                              NFT (314314560052888616/Barcelona Ticket Stub #882)[1], NFT (571017034183841834/Miami Ticket Stub #784)[1], USD[0.43], USDT[.61960937]

07965394                              NFT (385461352399877708/Coachella x FTX Weekend 1 #14747)[1]

07965396                              USD[40.15]

07965400                              CUSDT[3], LINK[1.07456447], MATIC[3.04274002], SHIB[260529.27599147], SUSHI[1.1523641], USD[4.17]                                                                           Yes

07965402                              USD[20.00]

07965412                              BAT[1], USD[0.01]

07965420                              ETH[.194], ETHW[.194], USD[23.10]

07965423                              USD[20.00]

07965430                              SOL[2.89808044], USD[0.00], USDT[0.00000097]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07965441                              NFT (295596164523260057/Box Poki 728)[1], NFT (306726274636543861/IRONMAN)[1], NFT (319973510913226070/Linner *8)[1], NFT (321374782360213931/spiderman )[1], NFT
                                      (338120449202280402/Box Poki 324)[1], NFT (372904602189286747/ crypto comic heroes)[1], NFT (419915091967425050/Musical)[1], NFT (426780284877770999/fantastic sister )[1], NFT
                                      (433234798822752192/Liner 1 )[1], NFT (447519620672391201/fantastic women)[1], NFT (448265630033217379/Linner *7)[1], NFT (453679641265645512/HULK)[1], NFT (456446625776698779/ Dark
                                      Monalisa)[1], NFT (467515141715819662/Liner 2 )[1], NFT (488689672306213795/Box Poki)[1], NFT (515131447757066234/ crypto comic heroes #2)[1], NFT (525115691827378232/Linner *5)[1], NFT
                                      (527748147758021230/Linner *6)[1], NFT (532917945846407725/Melting Streets and Lives)[1], NFT (539844070547936674/Liner 3)[1], NFT (550068943767712397/Linner *4 )[1], NFT
                                      (562973388853053028/Fantastic Women)[1], USD[0.00]
07965446                              LTC[.01], USD[0.18]

07965449                              BTC[.00398513], USD[0.93], USDT[4.40771454]

07965456                              USD[20.00]

07965466                              USD[20.00]

07965468                              SOL[12.85761575]                                                                                                                                                                            Yes

07965472                              BTC[0.00002532], SOL[0], USD[2.60]

07965477                              BTC[1.2476511], ETH[2.211786], ETHW[2.211786], USD[123.52]

07965482                              CUSDT[2], USD[0.00]                                                                                                                                                                         Yes

07965488                              USD[32.84]                                                                                                                                                                                  Yes

07965491                              USD[1.03]

07965498                              USD[20.00]

07965508                              USD[20.00]

07965513                              USD[20.00]

07965531                              ETH[.0001], USD[2977.40]

07965537       Contingent,            AVAX[.00000924], BTC[.00000022], ETH[0], ETHW[.00005572], LINK[1.42094761], SHIB[27.78431095], SUSHI[.00008644], USD[86.56]                                                                 Yes
               Unliquidated
07965539                              SOL[2.03], USD[1.78]

07965545                              SOL[.115]

07965546                              ETH[.07024252], ETHW[.07024252], SHIB[2106790.6893575], TRX[1005.33793078], USD[0.00]

07965555                              SHIB[1], TRX[1], USD[0.00], USDT[.17264266]                                                                                                                                                 Yes

07965561                              DOGE[1], SOL[6.47500116], SUSHI[26.63596586], USD[8.76], USDT[1.07938584]                                                                                                                   Yes

07965564                              ALGO[36.83482505], CUSDT[5], LINK[.4259874], MATIC[84.14215863], NFT (412974056951431889/FTX - Off The Grid Miami #1354)[1], SHIB[2163051.15413994], USD[92.70], USDT[11.11107073]          Yes

07965565                              BCH[.00000015], BTC[0], CUSDT[3], DOGE[2], SHIB[1], TRX[1], USD[53.97]                                                                                                                      Yes

07965569                              BTC[.0016995], DOGE[374.66], USD[0.29]

07965572                              NFT (486192066248561218/You in, Miami? #410)[1]

07965581                              ETH[.24694763], ETHW[0.24694763], NFT (397057006744759745/2974 Floyd Norman - OKC 6-0252)[1], NFT (422064430858517775/The 2974 Collection #0503)[1], NFT
                                      (454383284112907382/Birthday Cake #0503)[1], USD[0.00]
07965582                              USD[0.05]

07965583                              DOGE[32.01304234], SHIB[1], USD[53.93]                                                                                                                                                      Yes

07965592                              USD[20.00]

07965596                              BTC[.00000001], NFT (293933089173610151/Entrance Voucher #29695)[1], SOL[0], USD[0.00], USDT[0]                                                                                             Yes

07965599                              ETH[.00615261], ETHW[0.00615260], SHIB[.00000001], USD[0.00]

07965600                              USD[20.00]

07965602                              AAVE[0], BAT[0], BTC[0.00000001], DAI[0], ETH[0.00000001], ETHW[0], LINK[0], MATIC[0], MKR[0], SHIB[0], SOL[0], TRX[0], UNI[0], USD[0.00], USDT[0.00009559], YFI[0]

07965603                              ETHW[.023], NEAR[14.4], SOL[.13978478], USD[12.90]

07965617                              USD[20.00]

07965623                              USD[21.51]                                                                                                                                                                                  Yes

07965625                              USD[0.10]

07965628                              CUSDT[1], SOL[1.60033697], USD[0.00]

07965629                              LINK[1.1389413], SHIB[27432.26313027], TRX[58.46753756], USD[0.00]                                                                                                                          Yes

07965636                              BRZ[0.00003921], CUSDT[2], DOGE[2], LTC[.00001161], TRX[2], USD[0.01]

07965638                              ETH[.01331189], ETHW[.01314773], SHIB[1], USD[0.00]                                                                                                                                         Yes

07965642                              USD[20.00]

07965643                              SOL[358.68399442]                                                                                                                                                                           Yes

07965645                              BTC[.00023803], CUSDT[2], SOL[.07619357], USD[0.00]                                                                                                                                         Yes

07965653                              ALGO[.545]

07965655                              USD[20.00]

07965658                              USD[20.00]

07965659                              USD[21.51]                                                                                                                                                                                  Yes

07965670                              USD[20.00]

07965675                              USD[20.00]

07965682                              ETH[.00000001], USD[0.00]

07965686                              BAT[2], ETH[.20797936], ETHW[1.49157424], USD[1492.59], USDT[0.00001312]

07965691                              BTC[.0007], ETH[.016], ETHW[.016], USD[30.17]

07965693                              USD[20.00]

07965699       Contingent, Disputed   USD[1.63]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07965706                           USD[110.00]

07965714                           SOL[.999], USD[12.37]

07965715                           CUSDT[3], GBP[14.62], MATIC[7.35625902], TRX[196.91199325], USD[21.51]                                                                                                     Yes

07965717                           USD[20.00]

07965729                           USD[20.00]

07965733                           BAT[1.0165555], BTC[.08086454], CUSDT[3], DOGE[1209.13591098], LTC[.41644863], SHIB[3], TRX[1308.79995303], USD[314.24]                                                    Yes

07965735                           BTC[2], ETHW[103], SOL[102.5], USD[0.02]

07965736                           AVAX[0], BAT[1.01180424], BRZ[1], CUSDT[5], DOGE[2.00107335], SHIB[2], TRX[3], USD[177.40]                                                                                 Yes

07965737                           USD[0.00], USDT[0.00000163]

07965739                           CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                Yes

07965742                           USD[20.00]

07965744                           USD[21.51]                                                                                                                                                                 Yes

07965749                           USD[0.44]

07965751                           SOL[1.2977], USD[0.00], USDT[2.95224856]

07965755                           BTC[0], ETH[0], GRT[0], LINK[0]

07965760                           NFT (305802062644531942/MP Alpha Drop 1)[1]

07965761                           NFT (466344464061924147/FTX Crypto Cup 2022 Key #141)[1]

07965764                           DOGE[1], USD[0.00]                                                                                                                                                         Yes

07965769                           USD[0.00]

07965771                           BTC[.0001], SOL[.15712647], SUSHI[.46303265], USD[5.00]

07965779                           BAT[1], BRZ[2], CUSDT[1], DOGE[5], ETH[0], GRT[1], SHIB[11], SOL[0], TRX[6], USD[0.01]

07965781                           DOGE[1], USD[0.00]                                                                                                                                                         Yes

07965794                           USD[20.00]

07965800                           CUSDT[1], SOL[.08485477], USD[0.00]                                                                                                                                        Yes

07965804                           CUSDT[3], GRT[21.93569008], USD[0.00]                                                                                                                                      Yes

07965805                           AVAX[0], BRZ[1], SHIB[13], TRX[2], USD[0.00]                                                                                                                               Yes

07965806                           SOL[.00744714], USD[0.00]

07965809                           USD[49.84]

07965812                           USD[0.00]                                                                                                                                                                  Yes

07965814                           CUSDT[1], SOL[.00000001], USD[0.00]                                                                                                                                        Yes

07965817                           USD[20.00]

07965824                           DOGE[1], GRT[69.45809443], USD[0.00]                                                                                                                                       Yes

07965827                           USD[20.00]

07965829                           NFT (464259181166132682/You in, Miami? #411)[1]

07965831                           TRX[.000001], USD[0.01], USDT[0.00000001]

07965833                           ETHW[1.4733396], USD[0.00]

07965835                           BTC[.036963], SUSHI[.468], USD[0.00], USDT[0]

07965843                           CUSDT[2472.15421986], DOGE[1], KSHIB[700.04196051], TRX[1], USD[0.07]                                                                                                      Yes

07965845                           BRZ[1], GRT[1], USD[0.51]

07965847                           USD[20.00]

07965849                           USD[20.00]

07965854                           USD[500.00]

07965855                           DOGE[1], GRT[51.89474189], MATIC[24.74169032], SHIB[1131527.27422403], USD[0.00]

07965861                           BTC[.0000959], ETH[.00042], ETHW[.00042], SOL[.00061], USD[0.00]

07965862                           AAVE[6.91937931], GRT[2453.55855209], LTC[25.57874313], MATIC[5809.11995117], NFT (557119496929243383/Entrance Voucher #3831)[1], SOL[36.49848388], SUSHI[155.24386687],   Yes
                                   TRX[8795.5606854], UNI[89.24584262], USD[0.00]
07965865                           USD[50.00]

07965866                           PAXG[.00001984], USD[0.00], USDT[0]                                                                                                                                        Yes

07965871                           BTC[0], ETH[0], ETHW[0.00029466], NFT (417587408093261863/Entrance Voucher #2943)[1], SOL[0], USD[4001.00], USDT[0]

07965876                           USD[6.86]

07965888                           USD[20.00]

07965890                           USD[20.00]

07965891                           BTC[.00485549], CUSDT[1], USD[0.00]

07965904                           USD[0.00]

07965905                           SOL[.00792072], USD[410.17]

07965906                           BTC[0], SOL[.00000001], USD[0.00]

07965919                           USD[20.00]

07965922                           ETH[7.842205], ETHW[7.842205], MKR[.000613], SOL[215.62721], USD[36.99]

07965923                           CUSDT[1], DOGE[62.08145572], SHIB[409332.78755628], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07965929                              SOL[33.34902789], USD[524.42]                                                                                                                                           Yes

07965932                              BTC[.0036], ETH[.07356], ETHW[.07356], MKR[.011], SOL[.37], USD[0.33]

07965945                              BAT[0], CUSDT[4], DOGE[1], LTC[1.00246022], SOL[0.92843970], TRX[1], USD[0.01]                                                                                          Yes

07965946                              NFT (507587585735018599/Coachella x FTX Weekend 1 #19140)[1]

07965954                              USD[0.00]

07965970                              XRP[9.995]

07965972                              USD[0.00], USDT[0]

07965974                              DOGE[178], NFT (405053044155133702/Microphone #731)[1], USD[0.10], USDT[.00450075]

07965975                              KSHIB[549.01576114], SHIB[1], USD[0.34], USDT[5.25970125]                                                                                                               Yes

07965977                              ETH[.12326233], ETHW[.12326233], NFT (373626030711776704/Coachella x FTX Weekend 1 #24031)[1], NFT (414376073946663946/Reflection '11 #91 (Redeemed))[1], USD[166.89]

07965979                              SOL[26.96301], USD[722.95]

07965992       Contingent, Disputed   NFT (480963254539113788/Entrance Voucher #1357)[1], USD[0.69]

07965996                              BTC[0], ETH[0.00000265], ETHW[0.00000265], MATIC[0], USD[0.00]

07965997                              BTC[.00000977], CUSDT[1], DOGE[2], ETH[.1977858], ETHW[.19757444], SOL[1.34538441], TRX[2], USD[0.01]                                                                   Yes

07965998                              USD[20.00]

07966003                              BRZ[1], BTC[.0118651], DOGE[3], ETHW[0.12930098], EUR[54.93], GRT[155.12423968], SHIB[14], SOL[.00000001], USD[0.01]                                                    Yes

07966005                              BF_POINT[100], BTC[0], DOGE[2], GRT[0], KSHIB[0], NFT (470568894207296187/APEFUEL by Almond Breeze #236)[1], SHIB[0], SOL[0.00000001], TRX[6], USD[0.00], USDT[0]       Yes

07966011                              SOL[.52421664]                                                                                                                                                          Yes

07966013                              USD[0.01]

07966016                              BF_POINT[200]

07966021                              CUSDT[2], DOGE[1], SOL[.30673303], USD[0.00]                                                                                                                            Yes

07966022                              SOL[0]

07966023                              USD[0.00], USDT[0.00013240]

07966035                              DOGE[3], GRT[1], TRX[4], UNI[1.05004273], USD[0.01]                                                                                                                     Yes

07966049                              USD[21.51]                                                                                                                                                              Yes

07966054                              USD[108.59]                                                                                                                                                             Yes

07966055                              BCH[.01756732], CUSDT[2], GRT[4.75857963], USD[0.00], YFI[.00037628]                                                                                                    Yes

07966062                              DOGE[.00615786], USD[53.56]                                                                                                                                             Yes

07966068                              USD[20.00]

07966073                              USD[0.61]

07966079                              USD[21.51]                                                                                                                                                              Yes

07966080                              USD[20.00]

07966081                              BTC[0], USD[0.86]

07966085                              MATIC[100], USD[0.01], USDT[0]

07966092                              USD[20.00]

07966096                              BTC[0], NFT (330123806144425598/FTX - Off The Grid Miami #801)[1], USD[0.00]                                                                                            Yes

07966097                              CUSDT[1], MATIC[7.87060708], USD[0.00]

07966099                              CUSDT[1], GRT[17.69560313], USD[0.00]                                                                                                                                   Yes

07966101                              USD[50.00]

07966104                              BTC[.0000027], ETH[0.00000010], ETHW[0.00000010], LINK[.00258775], SHIB[1], USD[75.03]                                                                                  Yes

07966106                              USD[20.00]

07966111                              BTC[.00667489], DOGE[68.8397173], ETH[.06774296], ETHW[.0029679], LTC[2.10148737], SHIB[1], USD[0.00]                                                                   Yes

07966116                              MATIC[0]

07966121                              BAT[2], GRT[1], SUSHI[1], TRX[1], USD[0.00]

07966133                              SHIB[788022.0646178], USD[0.00]

07966137                              BCH[.36723406], BTC[.00275691], DOGE[1178.0622958], ETH[.43535279], ETHW[.43535279], LTC[.83172968], USD[0.00]

07966138                              CUSDT[.36728414], NFT (568762166643886513/Entrance Voucher #3480)[1], USD[0.00]

07966146                              USD[20.00]

07966153                              CUSDT[1], SHIB[161622.09814869], USD[0.00]

07966165                              USD[0.00]

07966168                              CUSDT[1], DOGE[2], USD[0.02]

07966171                              DAI[0], MATIC[0], USD[0.00]

07966174                              BTC[.00043625], ETH[.00356533], ETHW[.00356533], USD[0.00]

07966177                              USD[1.79]

07966202                              TRX[810], USD[0.04], XRP[93.131328]

07966203                              NFT (513266240743470021/You in, Miami? #412)[1]

07966205                              USD[21.51]                                                                                                                                                              Yes

07966227                              USD[20.00]
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                                                                                                                                            Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07966229                              NFT (551801691508733096/You in, Miami? #413)[1]

07966232                              BRZ[44.92577686], CUSDT[1], SHIB[604489.02921035], USD[2.83]                                                                                                                     Yes

07966233                              USD[20.00]

07966239                              CUSDT[1], USD[0.00]

07966241       Contingent, Disputed   USD[0.00]

07966242                              BRZ[2], CUSDT[11], DOGE[3.03842982], SHIB[8], SOL[4.63787191], TRX[2], USD[0.02]                                                                                                 Yes

07966247                              USD[20.00]

07966251                              USD[14.00]

07966252                              LTC[.03809886], USD[0.00]

07966255                              USD[0.70]

07966263                              USD[20.00]

07966268                              BRZ[2], CUSDT[1], SHIB[1], TRX[5], USD[0.01], USDT[1.07441936]                                                                                                                   Yes

07966273                              USD[20.00]

07966276                              BTC[.00842615], TRX[1], USD[0.01]

07966277                              USD[100.00]

07966278                              CUSDT[1], USD[0.00]

07966279                              BTC[.0788], USD[5.34]

07966281                              TRX[1], USD[0.00]                                                                                                                                                                Yes

07966285                              CUSDT[1], DOGE[1], LINK[3.10486045], MATIC[102.45445832], SHIB[1463401.2538661], TRX[1231.90394526], USD[0.00]                                                                   Yes

07966287                              USD[20.00]

07966291                              DOGE[1], SOL[2.13955923], USD[0.00]

07966296                              USD[20.00]

07966299                              USD[0.00]

07966302                              BAT[1.00256027], BRZ[2], CUSDT[1], DOGE[4], GRT[1], SOL[52.54241887], TRX[1], USD[8.16]                                                                                          Yes

07966307                              USD[20.00]

07966316                              CUSDT[2], DOGE[3], TRX[848.62780007], USD[0.00]

07966319                              BAT[.00000755], BTC[0], DOGE[.32903317], ETHW[.0005709], GRT[.22533197], MATIC[2.72057898], USD[0.47]

07966325                              BTC[.00014957], USD[0.00]

07966329                              BTC[.0001911]                                                                                                                                                                    Yes

07966332                              USD[0.00]

07966335                              AAVE[.31294764], BRZ[1], BTC[.01057815], CUSDT[10], DOGE[5], ETH[0.95608443], ETHW[0.95567412], MATIC[112.55418558], SOL[3.68342362], SUSHI[9.28128464], TRX[9], USD[1757.19],   Yes
                                      USDT[1.02543197]
07966338                              USD[20.00]

07966339                              BCH[.10146111], BRZ[4], BTC[.00442415], CUSDT[3250.77014464], DOGE[726.0819791], ETH[.02740914], ETHW[.02706714], SHIB[10882136.3503575], SOL[1.87033527], SUSHI[18.57109749],   Yes
                                      TRX[2798.69200805], USD[0.00]
07966345                              BRZ[1], CUSDT[1], SHIB[1973028.52492811], SUSHI[5.01855103], USD[5.41]                                                                                                           Yes

07966352                              USD[21.51]                                                                                                                                                                       Yes

07966353                              BAT[0], DOGE[0], MATIC[0], SHIB[0], SOL[0], TRX[0], USD[0.01], USDT[0]                                                                                                           Yes

07966356                              USD[0.01]                                                                                                                                                                        Yes

07966368                              CUSDT[6], DOGE[2], ETH[.04474291], ETHW[.04418607], SHIB[7318528.08571532], SOL[.43292584], USD[0.00]                                                                            Yes

07966379                              DOGE[4], GRT[2], TRX[2], USD[769.22]

07966387                              USD[20.00]

07966395                              MATIC[.00000062], SOL[.00000001], USD[0.00]

07966402                              USD[0.00]

07966420                              SOL[.00107089], USD[0.01]

07966423                              USD[0.45]

07966427                              NFT (313067371886426189/A Cat)[1], NFT (329943756663245531/An Apple)[1], NFT (377938254693703001/A Sparrow)[1], NFT (434825031962940042/The Night View)[1], NFT
                                      (464017312078111050/Swan Mother and Baby)[1]
07966434                              USD[0.00]

07966436                              SOL[.0013412], USD[0.00]

07966445                              BTC[.00000944], USD[0.00], USDT[0.00000001]                                                                                                                                      Yes

07966446                              SOL[.00005096], USD[0.00]

07966457                              USD[0.00], USDT[0.00000108]

07966458                              BTC[.0693306], DOGE[2844.075], ETH[.320679], ETHW[.320679], MATIC[579.42], SHIB[8791200], SOL[25.80417], USD[12860.26]

07966459                              USD[10.25]

07966460                              NFT (414088358122619818/The Hill by FTX #5118)[1]

07966465                              USD[0.00]

07966470                              UNI[.01268375], USD[5.23]

07966475                              USD[0.00]

07966482                              USD[3.09]
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                                                                                                                                            Customer Claims                                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07966484                              DOGE[332], SOL[.00000001], USD[0.31]

07966491                              BTC[.00482803]

07966495                              BTC[.0031], NFT (388398818889871492/2D SOLDIER #3082)[1], SOL[1.14], USD[0.75]

07966510                              NFT (313816620133971403/Entrance Voucher #2434)[1], SHIB[1098900], USD[1.92]

07966512                              USD[18.67]

07966516                              AVAX[0], ETH[0.00197543], ETHW[0.00197543], MATIC[0], NFT (290711007648767170/The Will of the Metaverse)[1], NFT (305362949719692605/Fever Dream Collection #7)[1], NFT
                                      (357612048772006678/Fever Dream Collection #5)[1], NFT (360662264712884424/Fever Dream Collection #11)[1], NFT (366040942580030853/Fever Dream Collection #3)[1], NFT
                                      (395439610422215414/Fever Dream Collection #14)[1], NFT (397686753494230117/Fever Dream Collection #17)[1], NFT (402050418295235771/Fever Dream Collection #20)[1], NFT
                                      (412746246031390193/Fever Dream Collection #15)[1], NFT (423766397009212053/Fever Dream Collection #1)[1], NFT (444710608509365384/Fever Dream Collection #18)[1], NFT
                                      (446769284251369122/Fever Dream Collection #4)[1], NFT (458990637651217783/Fever Dream Collection #16)[1], NFT (481667128130979898/Fever Dream Collection #13)[1], NFT
                                      (496439935774923461/Fever Dream Collection #10)[1], NFT (498141666433484117/Fever Dream Collection #6)[1], NFT (526061299965677487/Fever Dream Collection #9)[1], NFT
                                      (553989138723767442/Inspiration #1: The Observer)[1], NFT (556256965188659002/Fever Dream Collection #19)[1], SHIB[0.00000001], SOL[0.00000001], USD[0.00], USDT[0.00000016]
07966521                              USD[0.00]

07966527                              SHIB[31907224.60134735], TRX[1], USD[0.00]                                                                                                                                     Yes

07966528                              USD[0.35]

07966540                              ETHW[.216], SHIB[5700000], USD[711.01]

07966545                              NFT (513546478642256734/FTX - Off The Grid Miami #817)[1]

07966559                              ETH[.00023614], ETHW[.00023614], MATIC[20], SOL[.0499525], USD[0.00]

07966561                              BTC[.00001], ETHW[1.18538], SOL[.00169], USD[1.20]

07966569                              ETH[.11678553], ETHW[.11678553], USD[0.00]

07966574                              DOGE[6749.64639817], ETH[.00000001], USD[0.00]

07966576                              USD[177.56], USDT[0]

07966580                              LTC[.00341444], USDT[0.03099481]

07966583                              BTC[.0015], USD[4.88]

07966588                              USD[0.00]

07966600                              BTC[0], SOL[0], TRX[0], USD[0.00], USDT[0.00000001]

07966601                              BTC[0.00400000], ETH[0], ETHW[0], LTC[0], SHIB[2404686.51875498], SOL[0], USD[20.71], USDT[0]

07966622                              ETH[0.01192927], ETHW[0.01192927], SOL[0], USD[0.00]

07966634                              DOGE[.48367497], ETH[.001], USD[0.83]

07966639                              CUSDT[2], DOGE[.00004227], SHIB[2], TRX[1], USD[0.55]

07966648                              AVAX[.00022079], BRZ[2], CUSDT[8], DOGE[7.00122573], ETHW[.00003026], SHIB[1], SOL[.00000001], USD[10.97]                                                                      Yes

07966651                              BRZ[1], CUSDT[3], DOGE[1], ETH[.89916269], ETHW[.89877682], SOL[25.26599906], TRX[11201.3062844], USD[47.52]                                                                   Yes

07966654       Contingent, Disputed   USD[0.00]                                                                                                                                                                      Yes

07966661                              CUSDT[1], USD[0.00]

07966663                              LINK[203.94427689], USD[412.43]                                                                                                                                                Yes

07966669                              CUSDT[2], DOGE[1], GRT[1], MATIC[.00401147], TRX[3], USD[0.01]                                                                                                                 Yes

07966675                              USD[2.58]

07966677                              BTC[.06436541], SHIB[8.76908561], SOL[.00000934], USD[-400.00]                                                                                                                 Yes

07966678                              SHIB[47686656.46695828], TRX[1], USD[0.18]                                                                                                                                     Yes

07966679                              BAT[1], BRZ[2], CUSDT[1], DOGE[2], ETH[.00004006], ETHW[6.08269592], GRT[2.00091964], TRX[1], USD[0.00], USDT[1.04616476]                                                      Yes

07966680                              CUSDT[1], SHIB[210780.85381904], USD[0.00]                                                                                                                                     Yes

07966681                              USD[20.00]

07966683                              USD[11.00]

07966684                              SHIB[46984600], USD[2458.59]

07966685                              NFT (418163552407505215/You in, Miami? #414)[1]

07966688                              BTC[.0087984], CUSDT[232.999], DOGE[222.81], ETH[.075963], ETHW[.075963], LTC[1], SOL[2.03], SUSHI[21], TRX[53.997], USD[0.04]

07966691                              TRX[1], USD[0.00]                                                                                                                                                              Yes

07966699                              USD[20.00]

07966701                              USD[50.00]

07966706                              CUSDT[5], DOGE[406.80590988], GRT[104.3168872], LTC[.5502667], MATIC[62.30080247], TRX[1044.48628126], USD[0.00]                                                               Yes

07966709                              USD[20.00]

07966713                              BTC[.00000032], DOGE[1], SHIB[10], TRX[0], USD[0.00]                                                                                                                           Yes

07966715                              BTC[0], DOGE[1], USD[0.20], USDT[0.00000001]

07966718                              USD[21.74]                                                                                                                                                                     Yes

07966719                              USD[20.00]

07966721                              ETH[0], USD[1.24]

07966728                              BRZ[1], CUSDT[17], DOGE[7.00057537], ETH[.00000068], ETHW[.00000068], SHIB[12], TRX[2], USD[28.45]                                                                             Yes

07966729                              LINK[.079], MATIC[0.40000000], NFT (288825267574389599/Sigma Shark #1378)[1], NFT (336420532075131640/Solninjas #9351)[1], NFT (382204274795379511/SolBunnies #757)[1], NFT
                                      (409422882154757046/Cadet 517)[1], SHIB[0], USD[0.25], USDT[0]
07966732                              BRZ[7], CUSDT[2], DOGE[5], ETHW[1.88867209], SHIB[7], TRX[4.0002], USD[19.78], USDT[0.00000001]

07966733                              CUSDT[1], ETH[.00000022], ETHW[.00000022], NFT (497500149529298286/Warriors 75th Anniversary Icon Edition Diamond #350)[1], SOL[.75028546], TRX[1], USD[0.28]                  Yes
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                                                                                                                                            Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07966734                              BAT[1.00224908], BRZ[5.07026048], CUSDT[38], DOGE[10.3588764], ETH[.49766067], ETHW[.49745183], SHIB[4], SOL[4.51534592], TRX[8], USD[672.15]                                     Yes

07966746                              SOL[.00024288], USD[0.00]

07966747                              NFT (378730708606064790/2974 Floyd Norman - OKC 5-0253)[1]

07966748                              BF_POINT[300], BRZ[3], BTC[.2769111], CUSDT[3], DOGE[8.10033878], ETH[1.19833819], ETHW[1.19783495], GRT[1], SHIB[1], SOL[23.36699727], TRX[4], USD[0.00], USDT[1.08030624]       Yes

07966750                              SOL[28.8815545], USD[0.03]

07966753                              MATIC[3.54385731], SOL[.00093], USD[0.07]

07966760       Contingent, Disputed   BTC[.00011542], DOGE[1], USD[0.00]                                                                                                                                                Yes

07966762                              AAVE[.00459], ALGO[.21024613], AVAX[.0989477], DOGE[.816], SHIB[37783.71161548], SOL[.00522748], USD[849.27], USDT[50.00000017]

07966767                              ETH[.00059816], ETHW[1.20759816], MATIC[5095.56511232], SOL[.00810581], USD[42.25]

07966769                              BTC[.08593444], DOGE[3603.61540212], ETH[5.06632948], ETHW[2.06439342], GRT[1019.12478496], MATIC[30.85438744], SHIB[20162972.92379902], SUSHI[153.15507487], TRX[1], USD[7.65]   Yes

07966777                              BAT[.68676472], BRZ[1], CUSDT[22], DOGE[2], SHIB[119106.99064433], TRX[2], USD[0.00]                                                                                              Yes

07966782                              SOL[.47681], USD[80.29]

07966785                              USD[20.00]

07966789                              CUSDT[2], SUSHI[4.4682856], USD[197.37]                                                                                                                                           Yes

07966793                              USD[9.24]                                                                                                                                                                         Yes

07966801                              USD[2.02]

07966805                              USD[10.00]

07966807                              USD[20.00]

07966809                              DOGE[1], TRX[1], USD[0.00]

07966817                              USD[0.00], USDT[0]                                                                                                                                                                Yes

07966823                              BRZ[1], CUSDT[2], DOGE[1], KSHIB[12089.6000983], SHIB[13190767.18999582], TRX[1], USD[0.00]                                                                                       Yes

07966824                              CUSDT[3], MATIC[15.80344854], SOL[.12806122], SUSHI[2.40850694], TRX[1], UNI[1.00981842], USD[0.00]                                                                               Yes

07966825                              USD[0.00]

07966826                              CUSDT[5], DOGE[496.89965197], TRX[1], USD[0.00]                                                                                                                                   Yes

07966828                              SOL[0]

07966829                              NFT (296944503006532073/Pebble for breakfast )[1], USD[15.77]                                                                                                                     Yes

07966830                              USD[20.00]

07966836                              BTC[.00070566], CUSDT[1], MATIC[1.830505], SHIB[1], USD[0.00]                                                                                                                     Yes

07966845                              BTC[.00000001], CUSDT[3], DOGE[2], SHIB[1], USD[0.00]                                                                                                                             Yes

07966853                              BF_POINT[100]

07966856                              USD[10.87]                                                                                                                                                                        Yes

07966866       Contingent, Disputed   ETH[.000946], ETHW[.000946], SHIB[96100], SOL[.00915], USD[90.86]

07966871                              SOL[104.81207], USD[1.26]

07966875                              USD[0.00]                                                                                                                                                                         Yes

07966885                              CUSDT[1], SOL[.00000001], TRX[1], USD[0.00]                                                                                                                                       Yes

07966886                              CUSDT[1], SHIB[.00001629], SOL[0.06565021], TRX[1], USD[0.00]                                                                                                                     Yes

07966887                              NFT (295713595989284733/Megalodon Rogue Shark Tooth)[1]

07966889                              ETH[.00772031], ETHW[.00762455], SHIB[582395.04837003], SOL[.15235644], USD[0.00]                                                                                                 Yes

07966891                              USD[0.00]

07966892                              CUSDT[2], USD[0.56]

07966895                              BTC[.00147996], NFT (532517188076637968/Self-Sketch Series)[1], SOL[0.46831542], USD[0.01]

07966896                              USD[20.00]

07966900                              USD[0.00]

07966910                              CUSDT[0], KSHIB[0], MATIC[2.13041025], SHIB[1901567.51165337], SOL[.02872442], USD[0.03]                                                                                          Yes

07966914                              USD[20.00]

07966919                              BAT[1.15299464], USD[5.63], USDT[0]

07966922                              NFT (519572686439106392/Mutant Alien Ape 664)[1], NFT (528008079749652065/FTX - Off The Grid Miami #1910)[1]                                                                      Yes

07966928                              BTC[.09490975], USD[5.00]

07966936                              BTC[.00015868], USD[0.00]

07966940                              USD[20.00]

07966944                              CUSDT[1], GRT[15.77749989], SHIB[646553.41192145], USD[0.00]

07966945                              USD[10.00]

07966947                              DOGE[1], SHIB[1], SOL[1.04574464], USD[1.57]                                                                                                                                      Yes

07966953                              BRZ[1], CUSDT[1], ETH[.00000226], ETHW[.00000226], MATIC[.00214747], USD[45.02], USDT[1.07267431]                                                                                 Yes

07966960                              BTC[0], ETH[0], SOL[32.4063595], USD[0.00], USDT[0.10355085]

07966973                              ETH[0], KSHIB[705.18304678], USD[0.00]

07966974                              TRX[417.000001]

07966975                              BAT[1], BRZ[2], CUSDT[3], DOGE[1], GRT[2], TRX[2], USD[0.00]
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07966976                              CUSDT[2], DOGE[2], SHIB[286444.10293356], SOL[.00004995], TRX[2], USD[0.00]                                                                                                              Yes

07966982                              BTC[.00007923], CUSDT[1], DOGE[20.06517479], ETH[.00124699], ETHW[.00123331], GRT[10.2280638], LINK[.16448106], LTC[.02716117], MATIC[3.04703641], SOL[.02465], SUSHI[.45504917],        Yes
                                      USD[0.00]
07966987                              USD[0.00], USDT[0]

07966993                              BTC[.00861953], GRT[1.00342131], USD[0.00]                                                                                                                                               Yes

07967003                              USD[0.01]

07967004                              AVAX[1.02699394], DOGE[2], KSHIB[370.70716469], MATIC[89.7589483], SHIB[961360.95956254], USD[0.00]                                                                                      Yes

07967005                              USD[20.00]

07967009                              CUSDT[3], DOGE[152.94058365], SHIB[289823.14935271], USD[1.54]

07967011                              BAT[4.20976291], BRZ[4], CUSDT[20], DOGE[814.93574573], ETH[.00000001], ETHW[2.02087523], GRT[56.43221936], MATIC[373.16822384], SHIB[11709220.31903927], TRX[521.8282148],              Yes
                                      USD[529.86], USDT[0]
07967013                              BRZ[1], BTC[0], CUSDT[3], DOGE[1], ETH[.00000283], ETHW[0], MATIC[0], NFT (423863014105682192/Entrance Voucher #45)[1], SHIB[4], SOL[0], TRX[1], USD[0.00], USDT[0]                      Yes

07967014                              USD[20.46]

07967020       Contingent, Disputed   USD[0.01]                                                                                                                                                                                Yes

07967026                              BTC[0.00009979], SOL[.00000001], USD[30.17]

07967036                              BTC[.0000999], ETH[.002997], ETHW[.002997], GRT[6.993], SOL[.0999], USD[0.18]

07967040                              CUSDT[2], DOGE[.95818547], TRX[784.23644886], USD[14.30]                                                                                                                                 Yes

07967044                              BRZ[1], BTC[.00836639], CUSDT[1], SHIB[6928086.46251905], USD[0.00]

07967046                              USD[20.00]

07967049                              BAT[5.39316236], BCH[8.9570389], BRZ[2], BTC[.06478742], CUSDT[2910.45656017], DOGE[355.61182499], ETH[.74335539], ETHW[.74304305], GRT[73.07111517], KSHIB[2030.71053816],              Yes
                                      LINK[17.33903226], LTC[30.33526159], MATIC[397.69660402], SHIB[1824594.74162878], SOL[2.20184932], SUSHI[41.01818891], TRX[771.05743846], UNI[33.44276277], USD[0.80]
07967050                              DOGE[64.7611897], SHIB[265606.47346335], USD[0.00]                                                                                                                                       Yes

07967052                              USD[20.00]

07967054                              NFT (288935939813676316/Dagg Art #19)[1], NFT (289243011686313196/Metaverse Rooms #49)[1], NFT (289461310606323590/Metaverse Cats #6)[1], NFT (291169703986574866/Metaverse
                                      Rabbits #3)[1], NFT (292297918589630239/Dagg Art)[1], NFT (294390981400947396/Metaverse Rooms #43)[1], NFT (295911935138370432/Dagg Art #17)[1], NFT (297222814698914629/Metaverse
                                      Rooms #32)[1], NFT (301855974691776721/Metaverse Rabbits)[1], NFT (304064946261791003/Metaverse Rooms #40)[1], NFT (309345207423930763/Rovox #3)[1], NFT
                                      (315797889287189296/Metaverse Cats #2)[1], NFT (316622805169991530/CyberPunk Skull #2)[1], NFT (322540087757669800/Metaverse Rabbits #4)[1], NFT (324637226337049340/Rovox #6)[1], NFT
                                      (327191326924152558/Dagg Art #11)[1], NFT (328177579959173680/Metaverse Rooms #33)[1], NFT (330810477318366374/Crypto Gods Series #4)[1], NFT (346359534479600454/Dinasaur Avatar
                                      #3)[1], NFT (347752263530001138/Evolved Boy #6)[1], NFT (347839357052876632/Crypto Gods Series #8)[1], NFT (355101182748977039/Evolved Boy)[1], NFT (361299483484728909/Crypto Gods
                                      Series #5)[1], NFT (364575495896428561/Evolved Boy #7)[1], NFT (365760588377328903/Metaverse Rooms #37)[1], NFT (368584358985066135/GSW Round 1 Commemorative Ticket #434)[1], NFT
                                      (368737170338916282/Metaverse Rooms #38)[1], NFT (373326166383870044/Metaverse Rooms #35)[1], NFT (373541481697831074/Metaverse Rooms #27)[1], NFT (381982397163100985/GSW
                                      Western Conference Finals Commemorative Banner #248)[1], NFT (382416976719761350/Metaverse Rooms)[1], NFT (384539481832352381/Metaverse Rooms #29)[1], NFT
                                      (387607009009991875/Dagg Art #26)[1], NFT (389940637740679932/Metaverse Rabbits #6)[1], NFT (390086002826055988/Dinasaur Avatar)[1], NFT (396723426322796372/Dinasaur Avatar #2)[1],
                                      NFT (399728856067430437/Evolved Boy #2)[1], NFT (399894621437574339/Dinasaur Avatar #6)[1], NFT (402929107627197913/GSW Western Conference Semifinals Commemorative Ticket #117)[1],
                                      NFT (411276586539267316/Monkey KingdomZ #2)[1], NFT (411314473778180481/GSW Western Conference Finals Commemorative Banner #246)[1], NFT (414097463893844429/CyberPunk Skull
                                      #3)[1], NFT (414426210246941315/Crypto Gods Series)[1], NFT (419527352481560018/GSW Western Conference Finals Commemorative Banner #241)[1], NFT (419573320952550767/Monkey
                                      KingdomZ #3)[1], NFT (425523963551797160/Metaverse Rooms #46)[1], NFT (428606161257569532/Dinasaur Avatar #8)[1], NFT (428908760366849103/Metaverse Rooms #31)[1], NFT
                                      (430675455002159239/Metaverse Rooms #41)[1], NFT (434567650779034153/Metaverse Rooms #39)[1], NFT (441793360791833747/Evolved Boy #8)[1], NFT (450771083098813399/Metaverse
                                      Rooms #36)[1], NFT (456317773994539319/GSW Western Conference Finals Commemorative Banner #240)[1], NFT (456739537240808282/Dagg Art #4)[1], NFT (456772677653991382/GSW
                                      Western Conference Finals Commemorative Banner #247)[1], NFT (460545797298410845/Dagg Art #12)[1], NFT (461401073469036454/Evolved Boy #4)[1], NFT (461805434744807025/GSW Western
                                      Conference Finals Commemorative Banner #243)[1], NFT (462835831232329577/Evolved Boy #9)[1], NFT (462938427342260902/GSW Round 1 Commemorative Ticket #436)[1], NFT
                                      (464401684496323367/Crypto Gods Series #6)[1], NFT (468915377335337574/Metaverse Rabbits #9)[1], NFT (469604257180335834/Dagg Art #22)[1], NFT (480348791221624276/GSW Round 1
                                      Commemorative Ticket #433)[1], NFT (486633678509328957/Metaverse Rooms #45)[1], NFT (494167022303058812/GSW Western Conference Finals Commemorative Banner #242)[1], NFT
                                      (497895754939982923/King Skully)[1], NFT (500411395264907798/Metaverse Rabbits #13)[1], NFT (502722442231806458/Metaverse Rooms #42)[1], NFT (511377109277364716/Metaverse Rooms
                                      #28)[1], NFT (513804380181940342/Metaverse Rooms #34)[1], NFT (515803426542450724/GSW Western Conference Semifinals Commemorative Ticket #119)[1], NFT (516898541034377055/Monkey
                                      KingdomZ)[1], NFT (527314034656615788/GSW Western Conference Finals Commemorative Banner #244)[1], NFT (527861265202262392/GSW Western Conference Finals Commemorative Banner
                                      #245)[1], NFT (529921447760681399/Metaverse Rooms #48)[1], NFT (530707664470197972/Metaverse Rooms #30)[1], NFT (531375095139721273/Monkey KingdomZ #7)[1], NFT
                                      (532898398669656809/Metaverse Rabbits #7)[1], NFT (535221025849055793/Metaverse Rabbits #11)[1], NFT (536540252832242094/GSW Round 1 Commemorative Ticket #437)[1], NFT
                                      (536681987548114671/GSW Round 1 Commemorative Ticket #435)[1], NFT (539095972322552260/GSW Western Conference Semifinals Commemorative Ticket #116)[1], NFT
                                      (543062088925931191/Dinasaur Avatar #4)[1], NFT (554316421353270555/GSW Western Conference Semifinals Commemorative Ticket #118)[1], NFT (561417963242197179/GSW Western
                                      Conference Semifinals Commemorative Ticket #115)[1], NFT (564275383877269833/GSW Round 1 Commemorative Ticket #631)[1], SOL[0.00000001], TRX[.000003], USD[0.00], USDT[1.79525000]


07967059                              SHIB[20470.38327526], USD[0.00]

07967065                              BF_POINT[300]

07967074                              CUSDT[2.93849978], DOGE[.00072339], SHIB[5], USD[0.00]                                                                                                                                   Yes

07967075                              SHIB[8202099.7375328], USD[0.00], USDT[0.00002876]

07967076                              USD[20.00]

07967080                              LTC[6.78], SHIB[199800], SOL[1], USD[0.94]

07967082                              USD[50.00]

07967086                              CUSDT[1], USD[0.10]

07967087                              BTC[.00015855], CUSDT[2], DOGE[497.80668566], LINK[3.34604361], LTC[5.34939702], SHIB[6163515.48107446], TRX[4], USD[0.00]                                                               Yes

07967093                              MATIC[3.29397522], TRX[.00052941], USD[0.00]                                                                                                                                             Yes

07967094                              USD[0.00]

07967108                              CUSDT[3], DOGE[1], ETH[.005], ETHW[.005], USD[0.00]

07967112                              BTC[.00342064], CUSDT[2], DOGE[2], ETH[.05453766], ETHW[.02340921], SHIB[2843715.47728897], TRX[1], USD[35.01]

07967113                              USD[0.00]                                                                                                                                                                                Yes

07967115                              ETH[0], ETHW[0.07432204], SOL[0], USD[2343.09]

07967121                              CUSDT[2], USD[0.01]

07967127                              SOL[0], USD[0.00], USDT[0]

07967129                              NFT (418183089601960971/You in, Miami? #416)[1]
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                                                                                                                                         Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07967130                           BTC[.00431722], DOGE[1], USD[0.00]                                                                                                                                                           Yes

07967132                           CUSDT[2], DOGE[2], TRX[1], USD[0.00]

07967136                           NFT (314173475906602554/Jordan)[1], NFT (317301395512624715/Eitbit Ape #948)[1], NFT (366191386089037123/Pity For You (2021))[1], SOL[0], USD[0.00]

07967144                           ETHW[.570695], USD[2.67]

07967145                           BRZ[1], TRX[1], USD[0.00]                                                                                                                                                                    Yes

07967147                           USD[1.00]

07967150                           USD[21.51]                                                                                                                                                                                   Yes

07967158                           NFT (395865454911758651/The Hill by FTX #1788)[1]

07967160                           USD[0.00]

07967161                           USD[20.00]

07967163                           BRZ[1], BTC[.00347898], CUSDT[2], SOL[2.07936039], USD[0.10]                                                                                                                                 Yes

07967168                           KSHIB[0], USD[0.01]                                                                                                                                                                          Yes

07967178                           USD[2.81]

07967184                           USD[20.00]

07967190                           DOGE[1], ETHW[.54246122], SHIB[1], TRX[1], USD[0.00]                                                                                                                                         Yes

07967192                           ETH[1.26402145], ETHW[.45963339], MATIC[103.21325998], USD[2.20]

07967197                           NFT (396850648849843960/AI-generated landscape #190)[1], USD[0.13]                                                                                                                           Yes

07967203                           BRZ[1], BTC[.00099126], DOGE[1], SHIB[3], SOL[0], TRX[2], USD[0.00]                                                                                                                          Yes

07967206                           DOGE[1], SOL[2.19827815], USD[0.00]

07967216                           USD[27.18]                                                                                                                                                                                   Yes

07967223                           BTC[.01692047]

07967224                           BTC[.00000067], SOL[.00038964], USD[0.43]                                                                                                                                                    Yes

07967227                           BTC[.00243386], CUSDT[4], USD[104.70]                                                                                                                                                        Yes

07967230                           BF_POINT[100], TRX[2], USD[49.89]                                                                                                                                                            Yes

07967235                           BTC[.00000068], ETH[.0000122], ETHW[.0000122], MATIC[.00040655], SOL[.000152], USD[0.04]                                                                                                     Yes

07967236                           AUD[0.00], AVAX[0], BTC[0], CAD[0.00], CHF[0.00], CUSDT[0], DOGE[0], ETH[0], GBP[0.00], GRT[0], HKD[0.00], JPY[0.00], MATIC[0], MKR[0], NFT (368576673221826987/gammai.eth)[1], SGD[0.00],
                                   SHIB[0], TRX[0.00002900], USD[0.00]
07967239                           USD[0.01]

07967246                           DOGE[0], NFT (399187328025619599/Entrance Voucher #2511)[1], SHIB[0], USD[2.77], USDT[0]                                                                                                     Yes

07967248                           USD[6.47]

07967251                           USD[0.00]                                                                                                                                                                                    Yes

07967253                           USD[21.51]                                                                                                                                                                                   Yes

07967276                           ETH[0], USD[0.65]

07967285                           BTC[.00362555], ETH[.54883632], ETHW[.54860586], SHIB[1], USD[1.16], USDT[0]                                                                                                                 Yes

07967288                           DOGE[2], SOL[.23735567], TRX[1], USD[0.00]                                                                                                                                                   Yes

07967289                           USD[21.51]                                                                                                                                                                                   Yes

07967309                           ETHW[0.18151907], USD[0.01]                                                                                                                                                                  Yes

07967310                           DOGE[1], SHIB[3], TRX[2], USD[1.46]                                                                                                                                                          Yes

07967315                           BRZ[1], DOGE[1], SHIB[4], USD[0.14]

07967320                           SHIB[2752865.25566356], USD[0.00]

07967342                           USD[20.00]

07967348                           BF_POINT[200]

07967359                           USD[20.00]

07967366                           USD[0.00]

07967367                           BRZ[1], BTC[.00171167], CUSDT[4944.26651777], DOGE[6959.37178742], ETH[.01275345], ETHW[.01258956], SHIB[62060341.35012526], USD[0.00], USDT[1.08530672]                                     Yes

07967372                           BTC[.00000638], CUSDT[6], ETH[0.00912319], ETHW[0.00901375], SHIB[2.34663924], TRX[1], USD[0.00]                                                                                             Yes

07967378                           CUSDT[3], DOGE[2], LINK[4.34112098], MATIC[50.14918329], SOL[.75156906], USD[0.00]                                                                                                           Yes

07967379                           CUSDT[1], DOGE[101.47014885], USD[0.00]                                                                                                                                                      Yes

07967380                           USD[20.00]

07967385                           USD[20.00]

07967388                           USD[108.71]                                                                                                                                                                                  Yes

07967390                           SUSHI[48.4935], USD[0.22]

07967391                           USD[20.00]

07967393                           USD[21.51]                                                                                                                                                                                   Yes

07967398                           ETH[0], SOL[0], USD[0.00]

07967401                           SOL[.00000001]                                                                                                                                                                               Yes

07967412                           USD[20.00]

07967414                           NFT (428474512009573036/You in, Miami? #417)[1]                                                                                                                                              Yes

07967416                           USD[0.00]                                                                                                                                                                                    Yes
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07967433                              ETH[0], LINK[.0637], USD[0.08]

07967436                              ETH[0], MATIC[129.87], USD[2.00]

07967443                              MATIC[9.08], USD[0.95]                                                                                                                                                                   Yes

07967450                              SOL[.00000001], USD[0.00]

07967458                              BTC[0], GBP[0.00], NFT (483008965073629547/@ethbearmarket-nipples)[1], SOL[0.00817001], SUSHI[.437], USD[0.15]

07967462                              CUSDT[0], ETH[0], ETHW[0], SOL[0.00000001], TRX[0], USD[0.00], USDT[0]                                                                                                                   Yes

07967463                              CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                             Yes

07967465                              CUSDT[1], USD[0.00]                                                                                                                                                                      Yes

07967470                              BTC[0.00000010]

07967471                              USD[50.42]

07967473                              SHIB[2351.83443085], USD[0.01]                                                                                                                                                           Yes

07967478                              BTC[.0030969], ETH[.023], ETHW[.023], USD[8.41]

07967479                              BCH[.05093617]                                                                                                                                                                           Yes

07967488                              USD[0.00]

07967496                              BAT[2.05598424], BRZ[2], BTC[.13647236], CUSDT[19], DOGE[2267.73197361], ETH[2.92743385], ETHW[2.92620487], GRT[1.00294428], LINK[28.19477568], LTC[3.15146834],                         Yes
                                      MATIC[596.84702934], SHIB[6382308.70803725], SOL[17.40880189], TRX[14.14202293], USD[4099.87], USDT[1.06861555]
07967497                              CUSDT[2], DOGE[.01296421], ETH[.03842211], ETHW[.03794331], LINK[5.00815791], SHIB[22594817.99709727], USD[108.32]                                                                       Yes

07967500                              BTC[.1142856], ETH[1.67832], ETHW[1.67832], USD[34.40]

07967501                              BF_POINT[100], ETH[.00000001], ETHW[0], SHIB[1], USD[0.00]                                                                                                                               Yes

07967503                              USD[20.00]

07967504                              BF_POINT[100], BTC[.00129096], CUSDT[17], DOGE[335.34395429], ETH[.03315369], ETHW[.03274329], GRT[23.87678935], KSHIB[340.45089043], LINK[1.7326125], MATIC[210.01115039],              Yes
                                      SOL[1.4386475], SUSHI[12.1203152], TRX[261.53246295], USD[0.00], USDT[0]
07967505                              AAVE[0], DOGE[2], SHIB[2], TRX[.00285902], USD[0.00]                                                                                                                                     Yes

07967506                              BRZ[605.40346347], BTC[0.02837380], CUSDT[4945.17001168], DOGE[2830.36696747], ETH[.20508573], ETHW[.20487068], MATIC[45.46414436], SHIB[3927829.46982699], SUSHI[26.61466613],          Yes
                                      TRX[2], USD[0.01], USDT[1.0523371]
07967511                              DOGE[1], ETH[0], ETHW[0], GRT[0], MATIC[40.72330251], SHIB[0], TRX[3]                                                                                                                    Yes

07967514                              CUSDT[2], SHIB[3702674.30406456], TRX[1], USD[0.00]                                                                                                                                      Yes

07967518                              BTC[.0245754], USD[6.48]

07967522                              CUSDT[3], DOGE[2], ETH[0.00000088], ETHW[0.00000088], GRT[1.00283507], SHIB[307.95518969], SOL[0], USD[0.01]                                                                             Yes

07967529                              USD[20.00]

07967534                              BTC[.00000145], DOGE[171.78157684], ETH[.00004848], ETHW[6.20672423], MATIC[10.3906909], NFT (367069170121493887/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears -            Yes
                                      November 16, 1980 #115)[1], SHIB[4], SOL[4.19100043], TRX[531.21092415], USD[5109.22]
07967535                              USD[21.74]                                                                                                                                                                               Yes

07967539                              CUSDT[2], USD[0.01]                                                                                                                                                                      Yes

07967540                              CUSDT[30], DOGE[4], ETHW[.08042186], SHIB[1], TRX[3], USD[0.00]                                                                                                                          Yes

07967541                              DOGE[1364.59355561], NEAR[6.46124258], SHIB[1482203.34387789], TRX[1], USD[40.81]                                                                                                        Yes

07967544                              USD[25000.01]

07967545                              NFT (456030292984663445/Entrance Voucher #4480)[1]

07967554                              SHIB[102694.22863414], SOL[1.1625], USD[0.00]

07967557                              USD[20.00]

07967561                              USD[0.10]                                                                                                                                                                                Yes

07967567                              CUSDT[6], DOGE[1], LINK[.0000527], SHIB[439270.90705998], USD[10.61]                                                                                                                     Yes

07967571                              CUSDT[8], DOGE[348.62865627], SHIB[65815.60284897], TRX[1], USD[0.00]                                                                                                                    Yes

07967572                              NFT (488170257969032513/Entrance Voucher #2980)[1]

07967577                              NFT (292577797324619627/You in, Miami? #418)[1]

07967600                              USD[0.39]

07967601                              BAT[20268.21241796], BTC[6.16013417], LINK[105.50415707], SUSHI[105.08426538], UNI[2002.11508824]                                                                                        Yes

07967605                              USD[0.00], USDT[0]                                                                                                                                                                       Yes

07967612                              USD[20.00]

07967613                              BRZ[2], BTC[0.00000099], DOGE[3], GRT[1], SHIB[1], SOL[.00000001], USD[0.00], USDT[1.02543198]                                                                                           Yes

07967617                              BAT[5.03441745], TRX[61.06964258], USD[0.00]                                                                                                                                             Yes

07967626       Contingent, Disputed   NFT (359551114309084110/FTX - Off The Grid Miami #4148)[1], NFT (365773443749424153/Imola Ticket Stub #2188)[1], NFT (403676435891155239/FTX - Off The Grid Miami #2469)[1], USD[0.01]

07967634                              ETH[.00000001], SHIB[8], SOL[.00000001], TRX[1], USD[0.00]

07967638       Contingent, Disputed   USD[20.00]

07967641                              LTC[.099], USD[0.00]

07967642                              MATIC[9.41], USD[0.01], USDT[0]

07967646                              USD[2000.00]

07967647                              USD[100.00]

07967649                              USD[20.00]

07967651                              CUSDT[1], DOGE[0], ETH[0], SHIB[0], USD[0.00]

07967656                              MATIC[.00006146], USD[0.05]                                                                                                                                                              Yes
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                                                                                                                                         Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07967660                           USD[2.08]

07967663                           AAVE[6.88635953], AVAX[9.12984276], BAT[46.18230993], BRZ[6.26704253], BTC[.24042149], CUSDT[9], DOGE[15.52152441], ETH[5.42089363], ETHW[4.36714463], SHIB[3], SOL[120.39082423],        Yes
                                   TRX[21.97830641], USD[6710.83], USDT[1.06099428]
07967666                           USD[1000.00]

07967674                           CUSDT[1484.182658], NFT (422310983175991405/Astro Stones #2)[1], NFT (505491715828697359/Shannon Sharpe's Playbook: Denver Broncos vs. Los Angeles Raiders - January 9, 1994 #51)[1],     Yes
                                   SHIB[1683983.45973914], USD[0.00]
07967675                           LINK[.00023101]                                                                                                                                                                           Yes

07967676                           ETH[.2787014], ETHW[.2787014], SOL[.00007], USD[0.00], USDT[.0088703]

07967681                           USD[20.00]

07967692                           NFT (521992980902238432/Microphone #305)[1], USD[0.00], USDT[0.00000840]

07967704                           BTC[.00008016], DOGE[34.11358276], USD[0.00]

07967706                           USD[2.69]

07967709                           BF_POINT[200]

07967714                           USD[0.00]

07967717                           BTC[.00015929], USD[0.00]                                                                                                                                                                 Yes

07967740                           BF_POINT[100], BTC[.00031838], CUSDT[5], DOGE[101.43242066], ETH[.01126817], ETHW[.01113137], SOL[.12860883], USD[5.41]                                                                   Yes

07967741                           BTC[.00173223], TRX[1], USD[0.00]                                                                                                                                                         Yes

07967745                           AUD[71.63], BAT[76.31498597], CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                Yes

07967748                           USD[0.01]

07967749                           BTC[.00008059], DOGE[18.72506377], LINK[.17001166], SHIB[72571.47381047], SOL[.0010573], USD[0.01]                                                                                        Yes

07967751                           BAT[158.75213832], BRZ[232.42854075], CUSDT[3.91348], DOGE[667.27381641], GRT[86.03397737], LINK[8.18461407], SHIB[5], UNI[5.33729368], USD[0.01]                                         Yes

07967755                           ETH[.00000001], ETHW[0], SHIB[.00000095], USD[0.00]

07967757                           CUSDT[1], SOL[.4492847], TRX[1], USD[0.01]                                                                                                                                                Yes

07967767                           USD[4.50]

07967770                           USD[20.00]

07967778                           ETH[.005], ETHW[.005], NFT (317453561504682159/69x01x43)[1], NFT (341377556662038892/69x01x06)[1], NFT (348857601318220085/69x01x13)[1], NFT (354619521458634245/69x01x51)[1], NFT
                                   (381952363497922319/69x01x20)[1], NFT (395923038432794415/69x01x07)[1], NFT (433937842561688766/69x01x03)[1], NFT (456313470278444066/69x01x67)[1], NFT
                                   (461952003264477923/69x01x44)[1], NFT (477380316930108849/69x01x24)[1], NFT (483500578752859009/69x01x39)[1], NFT (485229232555313016/69x01x50)[1], NFT
                                   (488402364568618377/69x01x66)[1], NFT (491381683377956109/69x01x01)[1], NFT (502582163251419613/69x01x53)[1], NFT (507125520125083372/69x01x46)[1], NFT
                                   (515153261579646650/69x01x18)[1], NFT (518043975342478686/69x01x27)[1], NFT (531805018663734511/69x01x12)[1], NFT (536646997827571884/69x01x31)[1], NFT
                                   (546101959284760299/69x01x26)[1], NFT (559080700885356019/69x01x52)[1], NFT (560258784365013183/69x01x34)[1], NFT (560641846841205341/69x01x41)[1], NFT
                                   (573678443296764568/69x01x05)[1], SOL[.25], USD[27.78]
07967789                           USD[20.00]

07967792                           USD[20.00]

07967793                           MATIC[513.71488841], USD[0.12]

07967797                           USD[20.00]

07967799                           USD[21.51]                                                                                                                                                                                Yes

07967811                           ETH[0], ETHW[0.08134300], USD[0.00], USDT[0.00028668]

07967823                           NFT (315718379596981528/Unika Nightmare)[1], NFT (330358793645482592/Little Rocks #235)[1], NFT (354805887878531749/Helios 3D)[1], NFT (425903425562684140/Unika Nightmare)[1], NFT
                                   (425930533422043015/N9Cheshire)[1], NFT (479083544617498898/Bitebit Artwork)[1], NFT (506219781555782631/N9Cheshire)[1], NFT (537245280634565700/Helios 3D)[1], NFT
                                   (574400044032861955/Little Rocks #613)[1], SOL[.2]
07967824                           NFT (407603865251862897/You in, Miami? #419)[1]

07967825                           AVAX[.0871], BTC[.0000124], NFT (470385037549971308/Snek #2993)[1], SOL[.00363853], USD[218.93]

07967829                           BRZ[1], BTC[.00016516], CUSDT[10], DOGE[157.97593018], TRX[2], USD[0.77]                                                                                                                  Yes

07967833                           SOL[0], USD[0.00], USDT[0.00000169]

07967837                           SOL[5.43012474]                                                                                                                                                                           Yes

07967849                           USD[20.00]

07967855                           BRZ[1], CUSDT[13], DOGE[1.00001885], TRX[1], USD[0.00]

07967866                           DOGE[62314.51575836], SHIB[477352726.36787109], SOL[71.70353224]

07967887                           AAVE[3.38201083], BAT[521.64423295], BCH[.37044401], BRZ[159.71170805], BTC[.1310703], CUSDT[4959.44587593], DOGE[851.18718781], ETH[1.86574807], ETHW[1.86497169],                       Yes
                                   GRT[301.80522466], KSHIB[2566.37720783], LTC[.54863945], MATIC[1836.26866008], MKR[.68395404], NFT (353484139713928942/ApexDucks #1128)[1], NFT (422909676351397795/ApexDucks
                                   #7185)[1], NFT (464761718515274853/Jaileen, the Bitter)[1], NFT (504137788713458352/ApexDucks #1383)[1], NFT (513327714812353758/Sollama)[1], PAXG[.17626269], SHIB[11594001.27680186],
                                   SOL[44.98821079], SUSHI[163.55777856], TRX[1522.04803519], UNI[13.6508449], USD[0.00], USDT[1.07318898], YFI[.00415913]
07967893                           BTC[.00000004], SHIB[2], TRX[1], USD[0.00]                                                                                                                                                Yes

07967895                           GRT[1], SHIB[2], USD[0.00], USDT[.20241379]                                                                                                                                               Yes

07967896                           USD[20.00]

07967906                           BTC[.00000527], USD[0.00]                                                                                                                                                                 Yes

07967907                           USD[500.01]

07967914                           BRZ[1], BTC[0]                                                                                                                                                                            Yes

07967921                           USD[20.00]

07967926                           BRZ[4], BTC[0], CUSDT[55.30370432], DOGE[20.26633744], ETH[0], SHIB[30], SOL[0], TRX[7], USD[0.00], USDT[0]                                                                               Yes

07967928                           USD[0.18]                                                                                                                                                                                 Yes

07967931                           CUSDT[3], DOGE[4], GRT[1], TRX[2], USD[0.00]

07967932                           CUSDT[1], DOGE[18.9495858], KSHIB[367.37278824], USD[0.00]

07967957                           USD[1.09]                                                                                                                                                                                 Yes
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07967973                           USD[20.00]

07967974                           USD[0.00]

07967980                           USD[20.00]

07967994                           TRX[5195.8248048], USD[0.00]                                                                                                                                                                    Yes

07967999                           USD[20.00]

07968001                           NFT (573689593686910844/FTX - Off The Grid Miami #2729)[1]

07968005                           USD[20.00]

07968011                           GRT[.913], TRX[.000745], USD[1.30], USDT[9.97154029]

07968014                           BTC[.00142966]

07968020                           AAVE[0.00107287], BAT[2.15329476], BCH[0], BTC[0], CUSDT[4], DOGE[1.06567097], ETH[0], ETHW[0], LINK[0], MATIC[0], SHIB[0], SUSHI[0.06913429], TRX[6.92020089], UNI[0], USD[0.00]               Yes

07968039                           USD[20.00]

07968044                           SOL[.00000001]

07968051                           USD[70.00]

07968071                           DOGE[1], ETHW[.06999668], NFT (548130727909087371/FTX Crypto Cup 2022 Key #25755)[1], TRX[1], USD[0.00]                                                                                         Yes

07968074                           USD[20.00]

07968079                           USD[0.00]

07968091                           LTC[.05478057], USD[34.92]

07968092                           BTC[.00000008], CUSDT[17], DOGE[4], ETH[.00000048], ETHW[.00000048], SHIB[27.17980851], TRX[3], USD[0.61]

07968093                           AUD[0.00], BAT[1], BRZ[53.88207467], BTC[0], CAD[0.00], CUSDT[48.76691387], ETHW[.00565229], MATIC[10.17009769], SHIB[14], SOL[0], TRX[12.01480362], USD[44.24]                                 Yes

07968101                           CUSDT[1], TRX[144.24336278], USD[0.00]

07968117                           DOGE[1], SOL[2.37857166], USD[0.00]                                                                                                                                                             Yes

07968118                           BAT[30.56451597], CUSDT[1], USD[0.00]                                                                                                                                                           Yes

07968120                           DOGE[1], NFT (339675353817487429/Shannon Sharpe's Playbook: Kansas City Chiefs vs Denver Broncos - October 4, 1992 #72)[1], NFT (401212781884677464/Shannon Sharpe's Playbook: Kansas
                                   City Chiefs vs Denver Broncos - October 4, 1992 #88)[1], NFT (572296128855232339/Shannon Sharpe's Playbook: Kansas City Chiefs vs Denver Broncos - October 4, 1992 #98)[1], TRX[1], USD[0.00]

07968124                           USD[0.00]

07968125                           USD[0.00]                                                                                                                                                                                       Yes

07968126                           USD[20.00]

07968130                           BTC[.00235364], CUSDT[1], ETH[.00458442], ETHW[.0045297], SOL[.00000022], USD[0.00]                                                                                                             Yes

07968132                           BTC[.03458192]

07968141                           SOL[2.05232746], USD[0.00]

07968147                           TRX[.000001], USDT[0.00000146]

07968153                           USD[5.63]

07968156                           BAT[.00013166], BRZ[.00027492], CUSDT[2], DOGE[1.00081206], ETH[0], ETHW[1.65992540], GRT[.00014865], LINK[.00001835], MATIC[0], SHIB[88], TRX[.00087912], UNI[.00000951],                      Yes
                                   USD[2043.20], USDT[0]
07968162                           CUSDT[2], USD[0.01]                                                                                                                                                                             Yes

07968164                           BTC[.00150401], CUSDT[4.00208874], DOGE[657.24607774], SHIB[467.12222626], USD[0.00]                                                                                                            Yes

07968167                           USD[20.00]

07968174                           BAT[1.0165555], BF_POINT[100]                                                                                                                                                                   Yes

07968198                           BTC[.00018635], SHIB[4], USD[0.01]                                                                                                                                                              Yes

07968203                           USD[20.00]

07968209                           USD[4.87]                                                                                                                                                                                       Yes

07968210                           BF_POINT[200], USD[0.00], USDT[0]                                                                                                                                                               Yes

07968216                           NFT (496348824552343681/Humpty Dumpty #1343)[1]

07968219                           USD[2.08]

07968220                           USD[20.00]

07968221                           USD[20.00]

07968222                           USD[20.00]

07968228                           CUSDT[7], DOGE[2], KSHIB[203.87596268], SHIB[0], USD[0.00]                                                                                                                                      Yes

07968235                           USD[21.51]                                                                                                                                                                                      Yes

07968241                           USD[20.00]

07968259                           ETH[.00400213], ETHW[.00394741], SHIB[4.97100083], USD[0.00]                                                                                                                                    Yes

07968261                           USD[0.00]

07968266                           AAVE[0], CUSDT[11], DOGE[0], ETH[0], GRT[12.18519562], LINK[0], SOL[0], SUSHI[0], TRX[1], UNI[0], USD[11.49], YFI[0]                                                                            Yes

07968269                           CUSDT[3], TRX[1], USD[307.17]                                                                                                                                                                   Yes

07968282                           BTC[.00018102]

07968283                           SOL[3.28710503]                                                                                                                                                                                 Yes

07968284                           BTC[.00064415], CUSDT[2], ETH[.00846023], ETHW[.00835079], SHIB[1086328.9146371], USD[0.00]                                                                                                     Yes

07968287                           USD[0.00]

07968290                           BTC[0.00001024], ETHW[.05449104], USD[0.83]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07968292                              BRZ[1], BTC[.00000188], CUSDT[4], DOGE[3], SOL[0], USD[0.53]                                                                                                                          Yes

07968297                              USD[21.51]                                                                                                                                                                            Yes

07968299                              USD[108.34]                                                                                                                                                                           Yes

07968302                              LINK[.02080228], SOL[.37], UNI[5634.43430931], USD[-89.61], USDT[.6832232]

07968312                              SOL[.00000001], USD[0.00]

07968318                              USD[20.00]

07968323                              CUSDT[2], NFT (296440765487580494/Marilyn Monroe #2)[1], NFT (426985712692803730/Last supper )[1], NFT (463932371752433929/Man #1)[1], NFT (465836820220536301/420utils #5)[1], NFT   Yes
                                      (531269286448897650/Cat rauss #2)[1], TRX[868.5243354], USD[13.04]
07968330                              CUSDT[2], TRX[1], USD[0.01]                                                                                                                                                           Yes

07968335                              USD[20.00]

07968348                              BTC[.01081765], DOGE[1], USD[0.00]                                                                                                                                                    Yes

07968349                              NFT (440747565736519433/Pesky Crystal)[1]

07968351                              BTC[0], NFT (326975963527128195/Summer style)[1], SHIB[1], TRX[.00078132], USD[0.00], USDT[0]                                                                                         Yes

07968353                              SOL[.00873394], TRX[.00490199], USD[-0.10]                                                                                                                                            Yes

07968365                              BCH[0], BF_POINT[300], BTC[0], CUSDT[0], DOGE[0], GBP[0.00], GRT[0], LTC[0], MATIC[0], SHIB[0], SOL[0.00000312], SUSHI[0], TRX[0], USD[1.25], USDT[0.00000001]                        Yes

07968366                              USD[5.42]                                                                                                                                                                             Yes

07968379                              USD[21.51]                                                                                                                                                                            Yes

07968383                              MATIC[0], SHIB[13888888.62355973], USD[0.00]                                                                                                                                          Yes

07968387                              CUSDT[5], DOGE[1], MATIC[18.78904544], SOL[4.47825755], USD[0.30]                                                                                                                     Yes

07968401                              USD[20.00]

07968406                              USD[20.00]

07968407                              USD[0.00], USDT[2.07545334]                                                                                                                                                           Yes

07968408                              DOGE[0], SHIB[92664.58492279], USD[0.01]

07968421                              SHIB[154324.59271493], USD[0.00]                                                                                                                                                      Yes

07968426                              CUSDT[1], DOGE[1], SHIB[1603219.18358481], UNI[.00009781], USD[0.00]                                                                                                                  Yes

07968428                              SHIB[109176.77448432], USD[0.00]                                                                                                                                                      Yes

07968432                              SOL[.03756]

07968448       Contingent, Disputed   BTC[.00385852], MATIC[130], USD[10.91]

07968449                              BRZ[1], SOL[11.50121104], USD[0.00]                                                                                                                                                   Yes

07968458                              BTC[0.00000497], EUR[0.36], GRT[36], NFT (346404708748213121/Sigma Shark #7311)[1], SOL[1.32], UNI[.0238949], USD[15.34], USDT[6.27912444], YFI[.001]

07968462                              BTC[.00055855], USD[0.00]

07968465                              ETH[.00023704], ETHW[.4822876], USD[0.52]

07968466                              ETH[0], SOL[0], USD[4.77]

07968481                              USD[20.00]

07968508                              USD[20.00]

07968509                              BTC[.00079636]

07968519                              BTC[.33974014], ETH[.32217521], ETHW[.32200763], NFT (548613330577452479/Entrance Voucher #3652)[1]                                                                                   Yes

07968523                              USD[14.09]                                                                                                                                                                            Yes

07968526                              USD[20.00]

07968529                              CUSDT[1], SHIB[0], USD[0.00]                                                                                                                                                          Yes

07968534                              DOGE[1], USD[0.00]                                                                                                                                                                    Yes

07968550                              BTC[.00431722], CUSDT[1], USD[0.00]                                                                                                                                                   Yes

07968553                              USD[20.00]

07968588                              USD[0.00]

07968604                              SOL[.001]

07968642                              BF_POINT[100], BRZ[1], DOGE[1], ETH[.00000068], ETHW[.02562869], MATIC[0], NFT (353004398998012543/Entrance Voucher #3301)[1], SHIB[16], USD[0.00], USDT[0]                           Yes

07968654                              CUSDT[2], ETH[0], ETHW[1.09280465], GRT[1], LINK[.0014023], MATIC[0], TRX[0], USD[2.62]                                                                                               Yes

07968663                              ETH[.01032505], ETHW[0.01020184]                                                                                                                                                      Yes

07968670                              BTC[.0001], USD[0.58]

07968694                              ETH[.018], ETHW[.018]

07968699                              USD[20.00]

07968701                              BTC[.0002], ETH[0], ETHW[0.00013351], USD[198.48]

07968705                              ETH[0.02570996], ETHW[0.02570996], USD[0.00], USDT[0.00000773]

07968706                              USD[0.01]

07968710                              USD[100.05]

07968715                              USD[20.00]

07968719                              AVAX[2.1], ETHW[.0939802], MATIC[20], NEAR[8.69532], NFT (392495966190708713/Entrance Voucher #3950)[1], SHIB[299730], SOL[1.58], USD[1.85]                                           Yes

07968737                              DOGE[34.04768833], ETH[.00254932], ETHW[.00252196], SHIB[149534.34512939], TRX[1], USD[0.00]                                                                                          Yes

07968757                              USD[20.00]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07968761                           BRZ[1], CUSDT[9], DOGE[108.64538012], ETH[.02174555], ETHW[.02147195], PAXG[.00002589], SHIB[753239.31969751], SOL[.0046785], TRX[1], USD[2.93]                                   Yes

07968768                           USD[21.51]                                                                                                                                                                        Yes

07968781                           USD[20.00]

07968794                           BTC[.0080931], LINK[.198], LTC[.01], USD[2.75]

07968797                           DOGE[298.71683017]                                                                                                                                                                Yes

07968803                           BTC[.00147839], CUSDT[1], DOGE[1], SOL[1.07219798], USD[0.00]                                                                                                                     Yes

07968812                           USD[20.00]

07968813                           BTC[.00023497], CUSDT[3], DOGE[1], MATIC[44.02609592], USD[0.87]                                                                                                                  Yes

07968814                           SOL[0.00007432]

07968819                           BRZ[1], DOGE[1], USD[2.68]                                                                                                                                                        Yes

07968821                           MATIC[1984.48920346]                                                                                                                                                              Yes

07968822                           AAVE[.00903665], BTC[.00009622], ETH[.00151038], ETHW[.0014967], GRT[2.65587602], MATIC[4.10110856], MKR[.00214743], PAXG[.00301434], SHIB[41790.37346716], SUSHI[.44384803],     Yes
                                   USD[0.00], YFI[.00008124]
07968827                           DOGE[37.18506665], USD[0.00]

07968840                           BTC[.00555075], ETH[.00883667], ETHW[.00883667], SOL[1.99364726], USD[0.00], USDT[0]

07968846                           BTC[.02075772], CUSDT[4], ETH[.5203297], ETHW[.5201112], NFT (439191312827917381/Night Wolf Spirit)[1], NFT (489751528395630048/Root Chakra - #1.2)[1], SHIB[1543912.84129938],   Yes
                                   SOL[2.50119669], TRX[1052.00648494], USD[0.43]
07968849                           BTC[0.00000924], DOGE[309.69]

07968853                           BTC[0], CUSDT[4], DOGE[0], SHIB[4], TRX[1], USD[0.01]                                                                                                                             Yes

07968854                           SOL[.06695713], USD[0.00]

07968871                           SHIB[1711742.55391989], TRX[1], USD[0.00]

07968874                           NFT (314226751300752715/You in, Miami? #420)[1]

07968885                           USD[30.00]

07968889                           NFT (461247790893781609/Entrance Voucher #3600)[1], SOL[0.95227020], USD[0.01], USDT[0.00000001]

07968891                           LINK[0], USD[4.00]

07968900                           USD[20.00]

07968901                           USD[20.00]

07968916                           AVAX[11.42770575], CUSDT[3], DOGE[0], MATIC[177.09842338], SHIB[1], SOL[1.71325303], USD[0.00], USDT[1.06185565]                                                                  Yes

07968922                           USD[21.51]                                                                                                                                                                        Yes

07968931                           BTC[.466533], ETH[.999], ETHW[.999], GRT[5546.448], SOL[44.68527], SUSHI[99.9], USD[1909.56]

07968942                           BF_POINT[100], CUSDT[2], USD[23.96]                                                                                                                                               Yes

07968946                           USD[88.85]                                                                                                                                                                        Yes

07968947                           USD[0.83]

07968953                           CUSDT[1238.27108173], MATIC[14.60129361], TRX[259.62382088], USD[27.18]                                                                                                           Yes

07968958                           USD[3.93]

07968962                           USD[20.00]

07968968                           USD[0.00]

07968969                           CUSDT[1], USD[19.78]

07968974                           CUSDT[1], SHIB[5211924.3182954], USD[0.00]                                                                                                                                        Yes

07968975                           ETHW[.177], NFT (498327204248323902/FTX - Off The Grid Miami #526)[1], USD[0.01]

07968976                           AVAX[3.17714725], DOGE[2], ETH[.00736366], ETHW[.0072679], LTC[.1558124], NEAR[4.91707106], SHIB[7], SOL[4.24348473], TRX[1], UNI[14.84662148], USD[0.00]                         Yes

07968984                           DOGE[1], TRX[1], USD[0.00]                                                                                                                                                        Yes

07968992                           BRZ[1], CUSDT[4], ETH[.02701197], ETHW[.02667604], LINK[3.65032381], MATIC[60.01903448], SHIB[1456066.13738137], SOL[.56610197], USD[0.12]                                        Yes

07968994                           USD[20.00]

07969003                           LINK[0], NFT (478964713000094540/Megalodon Rogue Shark Tooth)[1], SOL[0]

07969007                           ETHW[1.31985194]                                                                                                                                                                  Yes

07969009                           USD[0.00]                                                                                                                                                                         Yes

07969023                           BTC[.00132116]                                                                                                                                                                    Yes

07969025                           BTC[.0031968], USD[4.67]

07969032                           USD[21.51]                                                                                                                                                                        Yes

07969039                           SHIB[1198800], USD[0.10]

07969041                           CUSDT[2], TRX[2], USD[0.00]                                                                                                                                                       Yes

07969044                           BRZ[1], CUSDT[4], DOGE[2], GRT[1], TRX[3], USD[0.00], USDT[0]                                                                                                                     Yes

07969047                           BAT[1], BRZ[2], CUSDT[5], DOGE[1], SOL[0], TRX[5], USD[0.00], USDT[0.00252737]

07969048                           USD[20.00]

07969049                           CUSDT[3], SHIB[385986.68097846], TRX[55.52831019], USD[3.66]                                                                                                                      Yes

07969065                           CUSDT[1], DOGE[2], TRX[1], USD[0.00]

07969068                           ETH[.04492525], ETHW[.04436437]                                                                                                                                                   Yes

07969086                           USD[0.01]                                                                                                                                                                         Yes

07969088                           USD[1.95]                                                                                                                                                                         Yes
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07969091                           NFT (314755278869940496/NGF #314)[1]

07969095                           USD[0.00], USDT[0.00002125]

07969104                           USD[20.00]

07969106                           BTC[.00158294], CUSDT[2], SHIB[511401.12939244], USD[0.00]                                                                                                                             Yes

07969114                           USD[20.00]

07969122                           USD[20.00]

07969123                           USD[20.00]

07969125                           BAT[2], BRZ[2], GRT[2], SHIB[4], TRX[7], USD[0.00], USDT[0]

07969126                           CUSDT[2], DOGE[1], ETH[.00989361], ETHW[.00977049], GRT[24.17727047], TRX[115.43774275], USD[26.12]                                                                                    Yes

07969148                           TRX[1], USD[0.00]

07969151                           CUSDT[2], DOGE[1], MATIC[1066.10967025], SOL[.11185056], USD[0.00]                                                                                                                     Yes

07969153                           SOL[.00000001]                                                                                                                                                                         Yes

07969157                           BTC[.01076318]                                                                                                                                                                         Yes

07969166                           USD[20.00]

07969168                           BF_POINT[300], SHIB[1522878.56094337], USD[0.00]                                                                                                                                       Yes

07969175                           BTC[.0008212], CUSDT[1], NFT (388675003620705064/Shannon Sharpe's Playbook: Kansas City Chiefs vs Denver Broncos - October 4, 1992 #78)[1], USD[25.00]

07969180                           USD[20.00]

07969184                           ETHW[.108943], USD[1.74]

07969190                           USD[43.50]

07969199                           BF_POINT[100], BTC[0], NFT (362981052830324935/Australia Ticket Stub #1103)[1], SHIB[1]                                                                                                Yes

07969200                           BTC[.03563212], ETH[.00057365], SOL[19.81749162], USD[504.01]

07969203                           ETH[.00001112], ETHW[1.21599860]                                                                                                                                                       Yes

07969209                           USD[20.00]

07969211                           USD[20.00]

07969213                           BTC[.00016047], CUSDT[2], ETH[.00383761], ETHW[.0037953], SOL[.07869244], USD[0.00]                                                                                                    Yes

07969214                           CUSDT[9], SHIB[4], TRX[2], USD[0.01]                                                                                                                                                   Yes

07969220                           USD[20.00]

07969221                           USD[0.00]

07969227                           ETH[0], KSHIB[72.75341104], SHIB[653795.79381147], USD[0.00]                                                                                                                           Yes

07969229                           USD[0.03]

07969233                           BTC[.00068063], CUSDT[1], USD[0.00]

07969236                           BTC[0], ETH[0], GRT[0], KSHIB[0], LINK[0], MATIC[0.00008502], SHIB[2], SOL[0], TRX[0], UNI[0], USD[55.73]                                                                              Yes

07969245                           USD[21.51]                                                                                                                                                                             Yes

07969249                           CUSDT[1], TRX[1], USD[0.00]

07969252                           BCH[.18463596], BTC[.00444965], CUSDT[10], DOGE[362.99448768], ETH[.14618344], ETHW[.14529633], GRT[48.41156948], LINK[5.72722229], LTC[.23974219], SHIB[1497107.52722592],            Yes
                                   SOL[1.56954671], TRX[1], USD[0.32]
07969253                           USD[20.00]

07969261                           USD[20.00]

07969262                           BTC[.00160785], CUSDT[1], USD[20.00]

07969264                           BAT[1], DOGE[1], ETH[0], NFT (337762390184169608/#4258)[1], SHIB[2], TRX[1], USD[0.00], USDT[.36579935]                                                                                Yes

07969265                           USD[277.51]                                                                                                                                                                            Yes

07969268                           CUSDT[2], DOGE[308.32584149], USD[0.01]

07969270                           USD[20.00]

07969275                           DOGE[187], USD[0.01]

07969282                           CUSDT[2], ETH[.01265333], ETHW[.01249779], MATIC[12.38803046], USD[0.00]                                                                                                               Yes

07969283                           NFT (303402592903933778/The 2974 Collection #1561)[1], NFT (389060605140535369/2974 Floyd Norman - CLE 5-0225)[1], NFT (561328561920586762/Birthday Cake #1561)[1], SOL[10.2396293],
                                   USD[4.97], USDT[11.83209788]
07969284                           DOGE[1], MATIC[.00278418], USD[0.00]                                                                                                                                                   Yes

07969292                           TRX[1], USD[0.00]

07969293                           LTC[.12919334]

07969313                           BAT[1.01180424], CUSDT[1], TRX[1], USD[0.01], USDT[0]                                                                                                                                  Yes

07969317                           SOL[15.85321133], USD[0.16]                                                                                                                                                            Yes

07969325                           ETH[0], MATIC[0], USD[0.00]

07969326                           LINK[2.27159654], USD[0.00], USDT[0]

07969330                           CUSDT[1], MATIC[84.38893852]                                                                                                                                                           Yes

07969333                           USD[21.51]                                                                                                                                                                             Yes

07969348                           NFT (297359315419389126/Entrance Voucher #2920)[1], USD[0.04]

07969353                           BTC[.00050615], ETH[.007], ETHW[.007], SOL[.21], USD[2.32]

07969357                           DOGE[1669.97674613], MATIC[550], USD[48.68]

07969360                           USD[0.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07969365                              USD[20.00]

07969373                              BRZ[301.72794511], CUSDT[2], GRT[23.75186004], SHIB[1], SUSHI[42.41329544], TRX[1], USD[26.98]                                                                                       Yes

07969381                              USD[20.00]

07969383                              BTC[.00806588], SOL[.23308411], USD[0.00]

07969387                              USD[0.01]                                                                                                                                                                            Yes

07969389                              ETH[.00006051], ETHW[.00006051], USD[0.00], USDT[0]

07969403       Contingent, Disputed   BTC[0], USD[0.01]

07969404                              BTC[.0006986], USD[4.74]

07969412                              BTC[.00060472], SOL[44.83512]

07969423                              USD[20.00]

07969426                              USD[20.00]

07969460                              SHIB[99900], USD[0.00]

07969464                              BRZ[1], BTC[0.00847656], CAD[0.00], CUSDT[4], DOGE[1], LINK[.00006284], TRX[1], USD[0.00]                                                                                            Yes

07969466                              BRZ[1], CUSDT[2], TRX[1], USD[0.00]

07969471                              EUR[0.00], SHIB[457.49565125], USD[0.00], USDT[5.23332665]                                                                                                                           Yes

07969472                              USD[20.00]

07969473                              BTC[.00032088], CUSDT[1], ETH[.00452409], ETHW[.00452409], SOL[.21431668], TRX[1], USD[10.00]

07969474                              USD[0.02]                                                                                                                                                                            Yes

07969481                              CUSDT[2], USD[0.00], USDT[0.00048952]                                                                                                                                                Yes

07969482                              USD[0.01]                                                                                                                                                                            Yes

07969484                              BAT[1], DOGE[2], TRX[1], USD[0.00]

07969490                              BTC[.0845154], ETH[.61938], ETHW[.61938], SOL[20.24529], USD[3.62]

07969491                              NFT (532522679091522835/Bahrain Ticket Stub #341)[1]

07969496                              BRZ[2], BTC[.01296667], ETH[.05860993], ETHW[.05788386], SOL[10.40026638], TRX[2], USD[0.01]                                                                                         Yes

07969501                              ETH[.001], ETHW[.001], MATIC[10.24953792], SOL[.10148786], TRX[10.64290779], USD[0.00]

07969510                              USD[21.51]                                                                                                                                                                           Yes

07969515                              BTC[.0001], ETH[.001], ETHW[.001], USD[1.59]

07969520                              USD[0.01]                                                                                                                                                                            Yes

07969539                              BAT[1.01290576], CUSDT[1], DOGE[2], GRT[1.00274536], SOL[131.21306149], TRX[2], USD[0.00]                                                                                            Yes

07969540                              CUSDT[1], SOL[1.04935817], USD[0.06]                                                                                                                                                 Yes

07969551                              CUSDT[1], DOGE[10991.07598696], SHIB[1], USD[0.00]                                                                                                                                   Yes

07969556                              CUSDT[3], DOGE[2], NFT (319105939723451158/Space Bums #5534)[1], NFT (345523025628762344/Highland Mesa #416)[1], NFT (366066204492025845/ApexDucks #3955)[1], NFT                    Yes
                                      (383941616540585300/Elysian - #481)[1], NFT (396595575485444342/Megalodon Rogue Shark Tooth)[1], NFT (462119695404279720/Baddies #2134)[1], NFT (528786544982117920/Cadet 192)[1],
                                      NFT (570231703978600694/Retro-Future-Bitcoin | USA #1 Edition SOL)[1], NFT (574389176790345465/Megalodon Rogue Shark Tooth)[1], SOL[0.93379884], TRX[1], USD[0.00]
07969557                              BTC[.0079], USD[4.52]

07969560                              CUSDT[4], DOGE[0], MATIC[0], SOL[0], USD[0.00]                                                                                                                                       Yes

07969561                              GRT[1484.42], MATIC[90], MKR[.1174], SOL[.404995], USD[0.00]

07969570                              USD[21.51]                                                                                                                                                                           Yes

07969574                              CUSDT[3], SHIB[580663.41144235], USD[0.00]                                                                                                                                           Yes

07969576                              USD[0.00]

07969583                              BCH[.222], USDT[.3077698]

07969590                              NFT (349274259879287064/Trump 2024)[1], NFT (564399316159374741/Trump #1)[1], SHIB[1], SOL[.00000001], TRX[1], USD[0.00]

07969595                              DOGE[1], ETH[.15898061], ETHW[.15840496], USD[1.73]                                                                                                                                  Yes

07969598                              BTC[.00234056], ETH[.01595442], ETHW[.01595442], USD[2099.47], USDT[25]

07969602                              BTC[0], SOL[.66877277], USD[3.46]

07969604                              ETH[.00995], ETHW[.00995], USD[10.53]

07969611                              USD[20.00]

07969615                              DOGE[1], TRX[522.65110304], USD[0.00]                                                                                                                                                Yes

07969625                              TRX[1], USD[0.00]                                                                                                                                                                    Yes

07969632                              BRZ[1], CUSDT[1], DOGE[1594.21254884], ETH[2.97564919], ETHW[2.97564919], GRT[1], MATIC[130.72908652], SHIB[4341785.34213268], TRX[878.73536], USD[3919.06]

07969635                              USD[0.00]

07969637                              ETH[.00000001], ETHW[0], NFT (401419206693383061/David #658)[1], SOL[0]

07969638                              NFT (494350389072999122/You in, Miami? #423)[1]

07969642       Contingent, Disputed   USD[50.00]

07969647                              BTC[.00000003], CUSDT[3.02087154], MATIC[.00049962], SOL[.00000483], TRX[1], USD[0.01], USDT[0]                                                                                      Yes

07969658                              CUSDT[1], SHIB[346291.06958872], SOL[.00685463], USD[0.00]                                                                                                                           Yes

07969660                              CUSDT[1], SOL[2.61737617], USD[0.00]                                                                                                                                                 Yes

07969664                              USD[0.00]                                                                                                                                                                            Yes

07969670                              USD[1.32]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07969678                           NFT (300764364428052077/ShibaPets #1 - Fiat)[1], NFT (378909780986958915/MagicEden Vaults)[1], NFT (457599062517000471/MagicEden Vaults)[1], NFT (487457088068097500/MagicEden   Yes
                                   Vaults)[1], NFT (490981664535992143/MagicEden Vaults)[1], NFT (573160625758157832/MagicEden Vaults)[1], USD[0.01]
07969683                           NFT (544983898290676056/Australia Ticket Stub #1148)[1]

07969687                           BTC[.04], USD[0.41]

07969692                           BCH[.0000004], CUSDT[1], DOGE[1], MATIC[.02230843], SHIB[564292.62883516], TRX[1], USD[0.00]                                                                                     Yes

07969709                           NFT (555586841873189506/The Hill by FTX #2681)[1]

07969714                           DOGE[15.81326243], ETH[.00115572], ETHW[.00115572], KSHIB[82.47798167], LINK[.16749411], MATIC[5.30440928], SHIB[280648.9690925], SOL[.02870182], SUSHI[.60209916], USD[0.00]

07969718                           USD[0.00]                                                                                                                                                                        Yes

07969722                           ETH[.00082525], ETHW[0.00082524], USD[0.00]

07969726                           BCH[0], BRZ[3], BTC[0], CUSDT[2], DOGE[2], GRT[4.16832203], SHIB[271.69513029], TRX[2], USD[0.01], USDT[1.08458331]                                                              Yes

07969737                           USD[83.25]

07969738                           BTC[.00015997], USD[0.00]                                                                                                                                                        Yes

07969747                           BTC[.00292801]

07969749                           BTC[.01723434]                                                                                                                                                                   Yes

07969754                           BTC[0], ETH[0], ETHW[0], EUR[0.00], USD[5.00]

07969758                           CUSDT[2], DAI[0], MATIC[0], SUSHI[0], USD[0.00]                                                                                                                                  Yes

07969760                           SHIB[4], USD[0.05]                                                                                                                                                               Yes

07969768                           BF_POINT[300], DOGE[6562.51743908], ETH[0], ETHW[0], MATIC[0], SOL[0], USD[0.00]                                                                                                 Yes

07969770                           USD[0.71]

07969780                           USD[20.00]

07969786                           USD[0.00]

07969792                           CUSDT[1], ETH[.03839848], ETHW[.03839848], USD[0.00]

07969823                           CUSDT[5], NFT (407809458538068269/City Postage Stamps Collection #6)[1], TRX[1], USD[0.00]                                                                                       Yes

07969846                           USD[21.51]                                                                                                                                                                       Yes

07969849                           CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                      Yes

07969864                           SOL[.0723595]                                                                                                                                                                    Yes

07969867                           TRX[1], USD[0.96]

07969870                           BTC[0], ETH[0], ETHW[0.89425566], USD[0.00], USDT[0]

07969872                           USD[21.51]                                                                                                                                                                       Yes

07969879                           BTC[.08032739], ETH[1.19774574], ETHW[1.19774574], USD[0.00]

07969880                           ETH[3.5181922], ETHW[3.5181922], SHIB[9729297]

07969881                           SOL[.00178306], USD[0.00]

07969882                           CUSDT[1], ETH[.12381151], ETHW[.12381151], USD[0.00]

07969883                           USD[10.84]

07969892                           NFT (316845329141729765/Birthday Cake #1272)[1], NFT (340325996786169747/2974 Floyd Norman - OKC 5-0283)[1], NFT (456918572250680342/The 2974 Collection #1272)[1], USD[6.39]

07969898                           BTC[.00664144], TRX[8901.65134]

07969908                           BRZ[2], BTC[.00000004], CUSDT[2], NFT (362389935123461647/You in, Miami? #425)[1], SHIB[25.79233193], TRX[1], USD[71.54]                                                         Yes

07969909                           BTC[.00824947], DOGE[375.624], ETH[.266], ETHW[.266], LTC[.48951], SHIB[3096900], SOL[.999], USD[0.00], USDT[156.61323]

07969920                           BTC[.00000032], USD[0.00]

07969927                           BTC[.00241828], DOGE[1], USD[1100.01]

07969942                           NFT (463996463292356892/Coachella x FTX Weekend 2 #9037)[1]

07969944                           NFT (395323673062699851/Coachella x FTX Weekend 1 #20793)[1]

07969965                           BTC[3.3059715], DOGE[3], LINK[1.00126548], TRX[1], USD[0.00], USDT[4.03526299]                                                                                                   Yes

07969966                           CUSDT[1], DOGE[403.89655797], SHIB[5877198.06117775], TRX[2], USD[0.00]                                                                                                          Yes

07969967                           ETH[.00000002], ETHW[3.07733702]

07969972                           SHIB[2197800], USD[9.12]

07969975                           DOGE[3], ETHW[.64677404], SHIB[1], TRX[3], USD[746.40]

07969977                           DOGE[45.13011123], USD[0.00]

07969982                           SHIB[5723.82825514], TRX[0], USD[637.28]                                                                                                                                         Yes

07969985                           KSHIB[0], USD[0.00]                                                                                                                                                              Yes

07969989                           AVAX[4.05878876], BRZ[1], BTC[.024732], CUSDT[1], DOGE[4], SHIB[9], SOL[107.70579693], TRX[2], USD[26.26]                                                                        Yes

07969991                           GRT[9.56032703], USD[0.00]                                                                                                                                                       Yes

07969993                           USD[20.00]

07969996                           USD[20.00]

07969999                           USD[0.00]

07970001                           USD[20.00]

07970003                           BTC[0], SOL[.00019], USD[0.55]

07970004                           SHIB[6665777.89628049], TRX[1], USD[0.00]

07970007                           USD[20.00]
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                                                                                                                                            Customer Claims                                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07970011                              BAT[9.995], USD[0.07], USDT[0]

07970025                              CUSDT[1], KSHIB[755.71932161], USD[0.00]                                                                                                                                       Yes

07970034                              USD[20.00]

07970039                              NFT (343688354619835545/Coachella x FTX Weekend 1 #22533)[1]

07970051                              USD[115.11]

07970064                              ETH[.00696152], ETHW[.00696152], MATIC[10.84146107], USD[0.00]

07970065                              USD[20.00]

07970067                              BTC[.00033381], CUSDT[1], ETH[.00254037], ETHW[.00251301], TRX[174.37020369], USD[0.00]                                                                                        Yes

07970072                              ETHW[.57857345], SOL[0], TRX[.000001], USD[0.01], USDT[.5498034]

07970078                              ETH[0.02972996], ETHW[0.02972996], NFT (311580998010613798/CryptoMcDuck)[1], NFT (345096159567127057/Dump)[1], NFT (366147246070652287/Ukraine2022)[1], NFT
                                      (406265579348109023/FearDuck)[1], NFT (417459361122442312/TradingDuck)[1], NFT (450043409525128618/Duck fear)[1], NFT (503687575274822050/DumpDuck)[1], NFT
                                      (531032583451293925/BtcMcDuck)[1], NFT (536083100426340864/DumpMcDuck)[1], SOL[0], USD[0.00], USDT[0.34445203]
07970081                              USD[20.00]

07970088                              NFT (324966783316839822/Solninjas #2476)[1], NFT (350438500478143421/Solninjas #4394)[1], NFT (532449543796225366/Solana Dog House #2398)[1], SOL[.1598]

07970094                              DOGE[1124.21217627]                                                                                                                                                            Yes

07970100                              ETH[.00805504], ETHW[.00795928], NFT (441657200804284700/Trippy Obi-Wan)[1], NFT (492562787425607955/Trippy EM)[1], SHIB[1], USD[0.03]                                         Yes

07970105                              BTC[.00743703], SHIB[2], USD[0.00]                                                                                                                                             Yes

07970107                              BCH[.002], BTC[0], DOGE[43], GRT[22], TRX[1], USD[0.00]

07970117                              CUSDT[2], DOGE[1], ETH[.01247297], ETHW[.01247297], SHIB[1], USD[42.26]

07970135                              BTC[.00005552], DOGE[.1769], MATIC[3.4141444], SHIB[21324.41370772], SOL[.006742], USD[0.02], USDT[0.45981332]

07970138                              CUSDT[1], SHIB[1], USD[0.01]                                                                                                                                                   Yes

07970163                              USD[20.00]

07970172                              TRX[0], USD[0.00], USDT[0]

07970179                              BTC[.00789214], CUSDT[79.66553099], DOGE[714.49015649], ETH[.11053974], ETHW[5.63555050], GRT[192.82985183], MATIC[213.93424118], SHIB[14973564.57533789], SOL[11.36444449],   Yes
                                      SUSHI[11.63285103], TRX[646.64492485], USD[0.00]
07970186                              ETH[.00191343], ETHW[.00191343], USD[0.00]

07970187                              USD[0.77]

07970199                              BTC[0], USD[1.21]

07970202                              USD[0.00]

07970204                              BTC[.00015997], USD[0.00]                                                                                                                                                      Yes

07970208                              USD[20.00]

07970209                              USD[20.00]

07970210                              BRZ[1], BTC[0.01053668], CUSDT[4], ETH[.41832759], ETHW[0.41815186], SHIB[1], TRX[2], USD[0.00], USDT[1.07184205]                                                              Yes

07970212                              USD[21.51]                                                                                                                                                                     Yes

07970217                              BTC[.01245854], CUSDT[1], DOGE[2], SUSHI[22.31507907], USD[54.35], USDT[0.00541571]                                                                                            Yes

07970218                              USD[0.94]

07970219                              USD[0.09]

07970222                              BTC[.00020557], CUSDT[3], DOGE[146.74300488], MATIC[5.41191815], SHIB[718608.72807858], TRX[234.97293082], USD[0.00]                                                           Yes

07970224                              AUD[3.95], CAD[2.59], EUR[6.46], USD[0.75]

07970225                              ETH[0], SHIB[1], USD[0.00], USDT[0.00000027]                                                                                                                                   Yes

07970228                              BRZ[1], DOGE[1], ETH[0], SHIB[0], TRX[2], USD[0.00]                                                                                                                            Yes

07970235                              USD[20.00]

07970238                              BTC[.00218479], CUSDT[1], ETH[.02702357], ETHW[.02668741], TRX[1], USD[0.22]                                                                                                   Yes

07970252                              BTC[.0207461], CUSDT[1], DOGE[3], ETH[.09479804], ETHW[.09375996], SHIB[22725842.19743074], TRX[2], USD[1.21]                                                                  Yes

07970265                              USD[20.00]

07970266                              USD[21.51]                                                                                                                                                                     Yes

07970272       Contingent, Disputed   USD[1.94]

07970278                              SUSHI[8.70020401]

07970285                              USD[0.00]

07970290                              USD[0.01]

07970292                              SHIB[1], USD[54.43]

07970293                              BF_POINT[100], TRX[.00107344]                                                                                                                                                  Yes

07970294                              CUSDT[1], SUSHI[1.87737639], USD[0.00]                                                                                                                                         Yes

07970305                              NFT (421779847859112861/Coachella x FTX Weekend 1 #20486)[1], SHIB[1], SOL[0], TRX[1], USD[0.00]

07970308                              USD[30.01]

07970310                              CUSDT[1], USD[0.00]

07970316                              USD[20.00]

07970317                              USD[0.01]

07970318                              BRZ[1], CUSDT[2], ETH[.02443373], ETHW[.02413277], USD[124.89]                                                                                                                 Yes

07970321                              USD[0.00]
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                                                                                                                                             Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07970325                              USD[20.00]

07970335                              SOL[68.58831009], USD[30.63], USDT[0]                                                                                                                                             Yes

07970336                              ETH[.00253652], ETHW[.00250916], USD[0.00]                                                                                                                                        Yes

07970337                              AAVE[.15648673], ALGO[.00292092], AVAX[.8536535], BAT[14.88287457], BCH[.46053944], DOGE[0.04062617], ETH[.00000119], ETHW[.12940549], GRT[.01895677], LINK[7.04760897],          Yes
                                      LTC[.89452698], MKR[.02143872], NFT (397833099915774347/Entrance Voucher #3763)[1], NFT (490872493933414825/Chick. #004)[1], SHIB[.00000004], SOL[2.17347802], UNI[7.91517159],
                                      USD[100.07], YFI[0.00049852]
07970340                              USD[20.00]

07970344                              USD[20.00]

07970345                              USD[20.00]

07970348                              LINK[16.79989408], TRX[1], USD[0.00]

07970350                              ETH[.00003167], ETHW[3.46713026]                                                                                                                                                  Yes

07970352                              BCH[.06006924], BF_POINT[100], BTC[.0024223], CUSDT[31], DOGE[284.93910761], ETH[.00345237], ETHW[.00341133], GRT[97.25258636], LTC[2.58573352], MATIC[32.22612143],              Yes
                                      SHIB[1888011.16088881], SOL[1.4299161], SUSHI[1.39804599], TRX[203.15839976], USD[0.00]
07970353                              USD[20.00]

07970355                              BTC[.0015], ETH[.033], ETHW[.033], USD[2.30]

07970360                              TRX[.000001], USD[0.47], USDT[0]

07970362                              AAVE[0], BAT[0], BCH[0], BRZ[0], BTC[0], DOGE[0], GRT[0], KSHIB[0], LINK[0], LTC[0], SHIB[0], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00], YFI[0]

07970366                              CUSDT[1], SHIB[639811.27844982], USD[0.01]                                                                                                                                        Yes

07970367       Contingent, Disputed   USD[0.00]

07970370                              USD[21.51]                                                                                                                                                                        Yes

07970383                              BRZ[1], BTC[.00625513], CUSDT[5], DOGE[401.51796098], SHIB[820584.74288723], TRX[1], USD[0.00], USDT[1.0867348]                                                                   Yes

07970390                              AAVE[4.2017923], BTC[0.00004859], DOGE[1470.05941291], ETH[.43566502], ETHW[.43566502], LINK[56], SOL[11.35824282], USD[11.58], USDT[0.01961252]

07970393                              BRZ[2], BTC[.00000027], DOGE[1], ETH[.00000021], ETHW[.02251837], MATIC[.00026879], SHIB[4.57355912], USD[904.14]                                                                 Yes

07970394                              USD[21.51]                                                                                                                                                                        Yes

07970396                              USD[0.01]                                                                                                                                                                         Yes

07970406                              BAT[73.48287457], BRZ[1], BTC[.0034722], CUSDT[2], DOGE[1], ETH[.02553221], ETHW[.02521757], LINK[1.60824208], LTC[.27821011], SOL[.26006383], TRX[3], USD[0.00]                  Yes

07970413                              USD[20.00]

07970414                              USD[20.00]

07970415                              USD[20.00]

07970416                              USD[21.17]                                                                                                                                                                        Yes

07970427                              BRZ[1], DOGE[1], ETH[.01099184], ETHW[.01099184], TRX[465.53695125], USD[0.00]

07970430                              DOGE[20.34989056], ETH[.00125138], ETHW[.0012377], GRT[.00059708], MATIC[3.00867996], SHIB[64245.83166148], USD[0.08]                                                             Yes

07970431                              CUSDT[1], SOL[.46101407], USD[0.57]                                                                                                                                               Yes

07970438                              BTC[.00031918], CUSDT[1], DOGE[56.73792177], USD[0.00]

07970445                              USD[0.00]

07970455                              BRZ[2], CUSDT[2], DOGE[.12302554], GRT[1], LINK[.00610773], MATIC[.43606497], TRX[2], USD[0.01], USDT[1.08366262]                                                                 Yes

07970458                              USD[20.00]

07970460                              USD[20.00]

07970472                              USD[0.78]

07970489                              USD[20.00]

07970494                              USD[0.00]

07970498                              BTC[.07912476], ETH[.438], ETHW[.438], GRT[5270], UNI[80.7], USD[2767.12]

07970501                              USD[20.00]

07970506                              USD[20.00]

07970507                              USD[20.00]

07970517                              BTC[.00170899], CUSDT[1], USD[0.00]                                                                                                                                               Yes

07970524                              BRZ[2], CUSDT[1], DOGE[4], GRT[1], SOL[.00022243], TRX[5], USD[0.01], USDT[2.10391793]                                                                                            Yes

07970525                              DOGE[1], SHIB[1], TRX[1], USD[0.00]

07970526                              SOL[7.55], USD[0.23]

07970531                              USD[20.00]

07970532                              USD[20.00]

07970538                              NFT (402867231446711808/Ravager #765)[1]

07970541                              BTC[.02047005], ETH[0.25607290], ETHW[0.25607290], USD[0.00]

07970550                              USD[20.00]

07970552                              USD[20.00]

07970556                              NFT (312975211908150881/Entrance Voucher #4129)[1]                                                                                                                                Yes

07970561                              USD[20.00]

07970576       Contingent, Disputed   ALGO[0], BAT[0], BTC[0], ETH[0], ETHW[0], LINK[0], SHIB[0], SUSHI[0], TRX[0], UNI[0], USD[0.00], USDT[0]                                                                          Yes

07970583                              NFT (466043209959474905/Entrance Voucher #3120)[1], USD[20.00]

07970586                              BRZ[1], DOGE[1], SOL[0]
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                                                                                                                                          Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07970621                           MATIC[189.8], USD[141.71]

07970624                           BRZ[1], SOL[.00000001], USD[0.00], USDT[0]                                                                                                                                           Yes

07970631                           ETH[.00112159], ETHW[.00110791], SOL[.02143935], USD[0.00]                                                                                                                           Yes

07970651                           BTC[.0016527], USD[0.00]

07970668                           AVAX[.00003566], BRZ[2], DOGE[3], MATIC[.00097164], NFT (405826227676519283/Founding Frens Investor #445)[1], NFT (540255181168697819/Founding Frens Investor #730)[1], SHIB[1],     Yes
                                   SOL[.00001066], TRX[5], USD[0.00]
07970670                           AVAX[0], BTC[0], DOGE[0], ETH[0], ETHW[0], USD[0.00]

07970672                           SOL[94.9454107], USD[0.00]

07970677                           BRZ[2], BTC[.26694793], CUSDT[9], DOGE[8.00921072], ETH[.00000386], ETHW[.00000386], LINK[3.66411897], NFT (292285362789187786/Metaverse Rooms #10)[1], SHIB[751613.45816236],       Yes
                                   TRX[7], USD[4214.74], USDT[1.01639777]
07970685                           GRT[9.34701017], USD[0.00]                                                                                                                                                           Yes

07970687                           USD[0.01]                                                                                                                                                                            Yes

07970689                           USD[21.74]                                                                                                                                                                           Yes

07970703                           BF_POINT[200], BRZ[1], CUSDT[16], DOGE[5078.67044908], SHIB[52043524.54762555], TRX[3], USD[0.00]

07970704                           USD[0.55]

07970710                           BRZ[1], BTC[.49706569], CUSDT[8], DOGE[4], ETH[3.93394203], ETHW[3.71445341], MATIC[915.17665561], NFT (540374503507603568/Entrance Voucher #2963)[1], SHIB[41], SOL[11.34420947],   Yes
                                   TRX[7], USD[0.92]
07970717                           USD[0.00]                                                                                                                                                                            Yes

07970719                           USD[20.00]

07970725                           CUSDT[1], DOGE[1], SHIB[2], USD[0.01]

07970727                           SOL[.00002474], USD[0.00], USDT[1.08576265]                                                                                                                                          Yes

07970736                           BTC[.00002637], SHIB[1985536.40678750], USD[4.81]

07970740                           CUSDT[1], DOGE[25.92988598], ETH[.00215255], ETHW[.00212519], SHIB[16047.16373481], USD[0.00]                                                                                        Yes

07970745                           BAT[2.07020878], BF_POINT[200], BRZ[2], BTC[.00733494], CUSDT[1], DOGE[5], ETH[.51488379], ETHW[.51466759], TRX[4], USD[0.50]                                                        Yes

07970750                           USD[20.00]

07970751                           USD[20.00]

07970760                           DOGE[1], ETH[.04258207], USD[0.00]                                                                                                                                                   Yes

07970762                           BTC[.0000448], USD[67.93]

07970767                           ALGO[0], USD[29.92]                                                                                                                                                                  Yes

07970773                           CUSDT[2], DOGE[100.78974699], LINK[8.05920334], USD[27.17]                                                                                                                           Yes

07970776                           USD[0.00]

07970779                           CUSDT[1], USD[0.00], USDT[.25381634]                                                                                                                                                 Yes

07970782                           NFT (448014876899948952/You in, Miami? #427)[1]

07970786                           BTC[.0000034]                                                                                                                                                                        Yes

07970792                           USD[10.00]

07970793                           BF_POINT[300]                                                                                                                                                                        Yes

07970798                           AAVE[0], AVAX[0], BTC[0], ETH[0], LINK[0], MATIC[0], SOL[0], USD[0.00]

07970805                           BTC[.00024097], CUSDT[1], SHIB[128103.15808811], USD[0.01]                                                                                                                           Yes

07970808                           BRZ[1], DOGE[2.09819609], USD[0.87]                                                                                                                                                  Yes

07970810                           CUSDT[1], USD[0.00]

07970812                           BTC[.0002536], DOGE[9.9905], USD[1.58]

07970813                           ALGO[27.60517591], AVAX[1.04045416], GRT[0], MATIC[46.44338504], NFT (315741692466577059/My Little Gang #17)[1], SHIB[3349825.20227958], USD[0.00]                                   Yes

07970814                           CUSDT[1], NFT (575777510156311634/Australia Ticket Stub #1533)[1], TRX[2], USD[0.00]                                                                                                 Yes

07970815                           USD[0.00], USDT[1.05417713]

07970819                           USD[21.51]                                                                                                                                                                           Yes

07970824                           USD[21.51]                                                                                                                                                                           Yes

07970826                           USD[20.00]

07970828                           BTC[0], ETH[.39962], ETHW[.39962], SHIB[1999050], USD[0.00], USDT[3836.73057985]

07970833                           USD[20.00]

07970836                           BTC[.0026], ETH[.019], ETHW[.019], SHIB[6699000], USD[1.86]

07970839                           CUSDT[2], SHIB[1922427.76048252], TRX[116.71811086], USD[0.00]                                                                                                                       Yes

07970850                           NFT (324064584064836304/You in, Miami? #428)[1]

07970852                           BAT[0], ETH[0], MATIC[385.54647063], USD[0.00]

07970856                           BTC[.00531789], CUSDT[9], DOGE[352.10873565], ETH[.07284746], ETHW[.07194414], SHIB[3369520.9678502], SOL[.45422655], TRX[3], USD[0.00]                                              Yes

07970868                           SOL[.00000756]                                                                                                                                                                       Yes

07970872                           SOL[0.04500132], TRX[.000001], USD[12894.70], USDT[0.00210166]

07970877                           CUSDT[3], DOGE[4], SOL[.00017615], TRX[1], USD[251.95]                                                                                                                               Yes

07970879                           USD[20.00]

07970880                           USD[5000.00]

07970883                           BTC[.00001562], CUSDT[1], TRX[1], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07970888                           USD[0.00]                                                                                                                                                               Yes

07970889                           NFT (499787654146355807/Megalodon Rogue Shark Tooth)[1], SOL[.01]

07970892                           USD[20.00]

07970893                           BAT[1], USD[0.00], USDT[0]                                                                                                                                              Yes

07970894                           TRX[4195.956862]

07970899                           MATIC[5.06941278], USD[0.00]

07970902                           BTC[0.00084236], SOL[0], TRX[0], USD[0.00]

07970904                           SHIB[1], USD[0.00]

07970914                           BTC[.00000103], CUSDT[4], TRX[1], USD[0.00], USDT[0]                                                                                                                    Yes

07970917                           SHIB[307799.69404105], USD[0.00]                                                                                                                                        Yes

07970921                           BTC[1.18207407], ETH[1.12283002], ETHW[1.12283003], USD[0.01], WBTC[-1.11449440]

07970935                           CUSDT[3], DOGE[2], ETH[.00001974], ETHW[2.16217441], SHIB[1], TRX[1], USD[0.00]                                                                                         Yes

07970936                           BF_POINT[100]

07970937                           BTC[0], ETH[0], USD[0.00], USDT[99.4367653]

07970941                           BTC[.026896], ETH[.380021], ETHW[.380021], LINK[9.678304], LTC[1.46067], MATIC[163.1187], SUSHI[23.93878]

07970951                           USD[0.01]

07970958                           BTC[.00530057], CUSDT[1], USD[0.00]                                                                                                                                     Yes

07970965                           AAVE[3.35027535], BTC[.00000048], DOGE[0], SHIB[2], USD[676.59]                                                                                                         Yes

07970974                           BTC[.00015984], ETH[.0023171], ETHW[.0023171], SOL[.04784867], USD[0.00]

07970979                           USD[20.00]

07970989                           SOL[.00000001], USD[0.00]

07970993                           CUSDT[11], ETH[.00000001], ETHW[0], SHIB[1], TRX[3], USD[0.00], USDT[0.00000001]                                                                                        Yes

07971000                           ETHW[.47038049], USD[3303.78]

07971002                           ETHW[.3468902], LINK[6.7], MATIC[89.919], USD[2.00]

07971012                           BTC[0], ETHW[.00407805], USD[0.91]

07971015                           USD[0.18]

07971018                           BTC[0], USD[0.00], USDT[0]

07971027                           USD[20.00]

07971030                           AVAX[36.50142264], CUSDT[16], ETH[.5890445], ETHW[.44251698], SHIB[31.89784172], SOL[22.43821773], TRX[16766.69572561], USD[0.00]                                       Yes

07971032                           SUSHI[7.992], TRX[5733.267], UNI[10.5], USD[0.27]

07971039                           ETH[.83527199], ETHW[.83527199], USD[185.42], USDT[0]

07971043                           ETH[0], SOL[0.30000000], USD[9.92]

07971046                           USD[20.00]

07971047                           BTC[.00457824], CUSDT[1], USD[0.00]                                                                                                                                     Yes

07971056                           USD[8.97]                                                                                                                                                               Yes

07971062                           NFT (433756270959564639/You in, Miami? #429)[1]                                                                                                                         Yes

07971066                           BTC[0], ETH[0], SOL[0]

07971072                           ETHW[.000948], USD[1345.15]

07971074                           BTC[.0062], USD[4.12]

07971079                           USD[20.00]

07971083                           SHIB[1], USD[0.00]

07971091                           ETH[0], ETHW[0]

07971100                           BTC[.00000049], CUSDT[36], DOGE[6.00038359], ETH[.11104397], ETHW[.63614557], LINK[.00007494], MATIC[.00098792], SHIB[18], SOL[.00008395], TRX[6], USD[0.00]            Yes

07971102                           BTC[.056943], ETH[.536728], ETHW[.536728], LINK[.0509], SHIB[40859100], SOL[31.08378], USD[5.97], USDT[0.17551677]

07971110                           USD[20.00]

07971131                           USD[0.70]

07971134                           USD[0.00]                                                                                                                                                               Yes

07971142                           AAVE[0], BTC[0], CUSDT[7], ETH[0.00409986], ETHW[0.00404510], LTC[.00000057], MATIC[6.08062211], TRX[1], USD[0.90]                                                      Yes

07971146                           NFT (370519015709604234/Coachella x FTX Weekend 2 #10615)[1]

07971149                           MATIC[3.58162074], SOL[.00506285], USD[0.00]

07971157                           DOGE[1], NFT (293327867040100714/Gold Metaverse Masks)[1], NFT (376951853478038950/Elysian - #128)[1], NFT (384244358879267071/Crypto Avatar Art #16)[1], NFT           Yes
                                   (452361658244902161/Voxel Animals #31)[1], SOL[.09923406], USD[0.00]
07971160                           USD[123.07], USDT[0.00000001]                                                                                                                                           Yes

07971161                           CUSDT[2], SUSHI[.00001809], USD[0.01], USDT[0.00000923]                                                                                                                 Yes

07971164                           BCH[.30149662], BTC[.01906518], DOGE[2015.1182038], ETH[.11095776], ETHW[.10985675], LINK[17.03271772], NFT (345615051717497358/Entrance Voucher #13319)[1], SHIB[4],   Yes
                                   SOL[2.4996227], TRX[6], USD[0.01]
07971178                           USD[20.00]

07971179                           BRZ[1], CUSDT[2], DOGE[207.87883225], SUSHI[4.69451288], UNI[2.02635448], USD[0.00]

07971190                           USD[20.00]

07971193                           BTC[0], MATIC[59.94], USD[1.08]
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07971194                              USD[20.00]

07971203                              USD[0.00]                                                                                                                                                                               Yes

07971211                              USD[543.47]                                                                                                                                                                             Yes

07971214                              SOL[0], USD[0.42]

07971224                              USD[0.02]                                                                                                                                                                               Yes

07971229                              NFT (322408148941357235/Coachella x FTX Weekend 2 #30902)[1]

07971231                              TRX[.67921], USD[0.01]

07971232                              USD[0.00]                                                                                                                                                                               Yes

07971233                              USD[1.88]

07971236                              ETH[.01646199], ETHW[.01646199], SHIB[1], USD[75.00]

07971249                              BTC[.01770023], DOGE[5.02297492], ETH[.97538769], ETHW[.97497797], LINK[2.71956392], TRX[1], USD[4171.84]                                                                               Yes

07971251                              USD[0.00], USDT[0]                                                                                                                                                                      Yes

07971256                              USD[0.00], USDT[0.00000098]

07971257                              USD[20.00]

07971263                              ETH[3.74435279], ETHW[2.09090538], USD[0.00], USDT[2.6221976]

07971266                              AAVE[.25974], MATIC[6.4], SUSHI[24.98], USD[0.00], USDT[13.83089812]

07971281                              ETH[.12098171], ETHW[.11981759], SHIB[11603781.50872475], SOL[2.62372892], USD[641.83], USDT[0]                                                                                         Yes

07971282                              SOL[.00147614], USD[0.47]

07971294                              BAT[156], BTC[.00006451], DOGE[1], LINK[24.16126524], MATIC[136.86307348], SHIB[1], SOL[13.43440109], USD[-13.47]                                                                       Yes

07971295                              ALGO[342.82584347], CUSDT[8], DOGE[14470.55231142], GRT[1501.66067023], LTC[1.00389981], SHIB[56222333.88933012], TRX[848.20061184], USD[0.00]                                          Yes

07971301                              DOGE[1], GRT[113.33411083], USD[0.00]                                                                                                                                                   Yes

07971302                              SOL[.00092952], USD[0.00]

07971310                              BF_POINT[100], BRZ[3], CUSDT[3], DOGE[1], ETH[0], LTC[1.21748955], NFT (296224598193506225/SharkBros x Leprechaun #1/25)[1], NFT (297131118476974398/Boneworld #6060)[1], NFT           Yes
                                      (323203080540260581/SharkBro #3624)[1], NFT (362879156105616773/SharkBros x Viking #11/15)[1], NFT (417901217491227881/SharkBro #1872)[1], SHIB[1], SOL[.16792397], TRX[1], USD[0.00]

07971319                              TRX[44.91593174]                                                                                                                                                                        Yes

07971323                              USD[20.00]

07971325                              CUSDT[1], SHIB[1228681.08504713], USD[0.03]                                                                                                                                             Yes

07971331                              USD[5000.00]

07971336                              BAT[17.03018068], CUSDT[260.61151837], DOGE[121.64059713], ETH[.02094227], ETHW[.02068235], LTC[.19785018], SHIB[1], SOL[.60057566], TRX[1848.74204592], USD[0.00]                      Yes

07971343                              MATIC[0], USD[0.00]

07971346                              NFT (556720276240229712/You in, Miami? #430)[1]

07971352                              BAT[.00637553], CUSDT[2], USD[0.01]                                                                                                                                                     Yes

07971356                              TRX[.000001], USD[0.00], USDT[0]

07971364                              SOL[.02913313], USD[0.00]

07971371                              USD[11.42]                                                                                                                                                                              Yes

07971372                              SHIB[4], USD[0.00]

07971379                              USD[50.00]

07971386                              DOGE[42.09087916], USD[0.00]

07971391                              USD[20.00]

07971400                              BTC[.00016931], USD[0.00]

07971402                              SOL[.04789899], USD[0.00]

07971404       Contingent, Disputed   USD[0.00], USDT[0]                                                                                                                                                                      Yes

07971407                              ETH[0], TRX[.00092909], USD[1.09]

07971411                              USD[21.51]                                                                                                                                                                              Yes

07971413                              BRZ[2], CUSDT[8], SHIB[9], TRX[6], USD[2142.28], USDT[0]                                                                                                                                Yes

07971418                              MATIC[13.05520589], SHIB[2], USD[0.00]                                                                                                                                                  Yes

07971420                              USD[21.51]                                                                                                                                                                              Yes

07971425                              BTC[.01351329], ETH[.106], ETHW[.106], MATIC[99.9], NEAR[13.4], USD[0.00], USDT[0]

07971428                              USD[20.00]

07971429                              CUSDT[1], SOL[.5263926], USD[0.00]                                                                                                                                                      Yes

07971435                              NFT (299107099524338191/Space Bums #7629)[1], NFT (300997397047706074/#5466)[1], NFT (382012139082375193/#9956)[1], NFT (407640026480894930/Naked Meerkat #7157)[1], NFT
                                      (418063626703460327/Space Bums #5764)[1], NFT (440922175439076997/Naked Meerkat #7560)[1], NFT (445583846210973986/#9973)[1], NFT (499715989320155309/#5713)[1], NFT
                                      (504556791203945766/ROGUE SHARKS #259)[1], NFT (569088242395977087/#9026)[1], USD[2.52], USDT[15.065]
07971436                              TRX[1], USD[0.00]                                                                                                                                                                       Yes

07971437                              ETHW[.12345291], NFT (343505070572846127/Humpty Dumpty #597)[1], USD[0.00]

07971440                              CUSDT[1], GRT[1.00318315], LINK[12.8925754], MATIC[61.81324527], USD[0.00]                                                                                                              Yes

07971445                              CUSDT[5], DOGE[1.44063151], GRT[1], SOL[.00730004], TRX[.28522262], USD[0.41]

07971451                              ETH[.26236308], ETHW[0.26236307]

07971459                              USD[21.51]                                                                                                                                                                              Yes
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                                                                                                                                         Customer Claims                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07971475                           CUSDT[1], TRX[5247.21869398], USD[0.00]                                                                                                   Yes

07971477                           USD[20.00]

07971482                           BTC[.00978418], CUSDT[3], DOGE[1], LTC[.47509703], SHIB[1613684.04066483], USD[250.02]

07971483                           BTC[.00136463], CUSDT[2], DOGE[346.60885659], ETH[.02083556], ETHW[.02057564], TRX[1], USD[0.00]                                          Yes

07971486                           BTC[.00041068], ETH[.00576658], ETHW[.00576658], SOL[.1223671], USD[0.00]

07971491                           DOGE[388.71434219], MATIC[12.63099742], SHIB[549152.74244757], TRX[1], USD[0.00]                                                          Yes

07971493                           DOGE[1], ETH[.00266574], ETHW[.00263838], USD[0.00]                                                                                       Yes

07971497                           BTC[.0103], SHIB[.94187003], SOL[.01401329], USD[8.20]

07971498                           LTC[.01343476], USD[0.01], USDT[0.00357900]

07971499                           USD[27.88]

07971503                           USD[21.51]                                                                                                                                Yes

07971508                           USD[0.92]                                                                                                                                 Yes

07971517                           BTC[.1440558], ETH[.697302], ETHW[.697302], USD[4.30]

07971518                           BTC[.00347151], ETH[.05788071], ETHW[.05788071], SOL[5.81813376], USD[250.00]

07971529                           NFT (356336481311617193/You in, Miami? #431)[1]

07971531                           BTC[.00075944], CUSDT[4], ETH[.00546802], ETHW[.00539962], TRX[1], USD[6.92]                                                              Yes

07971535                           USD[0.00]

07971546                           BRZ[1], CUSDT[1], USD[0.00]                                                                                                               Yes

07971557                           SOL[.00038]

07971558                           CUSDT[1], DAI[21.60642163], USD[21.67]                                                                                                    Yes

07971563                           SOL[12.57586465], USD[0.00]                                                                                                               Yes

07971565                           BRZ[3.19018376], DOGE[0], MATIC[0], SHIB[2130820.38077476], USD[0.00]                                                                     Yes

07971567                           CUSDT[1], TRX[1], USD[0.00]                                                                                                               Yes

07971572                           USD[0.00]

07971580                           CUSDT[1], MATIC[96.31482597], SOL[.0000113], TRX[1], USD[0.00]                                                                            Yes

07971581                           USD[0.01]

07971585                           USD[550.00]

07971587                           BTC[.00181473], CUSDT[7], DOGE[397.04063887], ETH[.01243949], ETHW[.01228901], LTC[.57316181], SHIB[765546.25081345], TRX[1], USD[0.00]   Yes

07971608                           USD[0.00]

07971610                           SOL[0], USD[0.00]

07971620                           USD[50.41]                                                                                                                                Yes

07971622                           BTC[.0000007], DOGE[1885.114], ETH[.011988], ETHW[.011988], MATIC[100], USD[27.09]

07971625                           USD[6.57]

07971632                           ETH[2.549448], ETHW[2.549448], SOL[.00585022], USD[10.71]                                                                                 Yes

07971637                           BTC[.00064778], SHIB[1], USD[0.00]

07971641                           NFT (433492450915684472/SharkBro #5582)[1], NFT (465358433591665673/Solninjas #8709)[1], SOL[.05]

07971644                           BTC[.0000274], ETH[0], NFT (482553788468335394/Imola Ticket Stub #733)[1], USD[0.63]

07971645                           DOGE[7795], SOL[4.36], SUSHI[100.899], USD[4.94]

07971648                           USD[0.00], USDT[4.60615142]

07971653                           USD[0.01]                                                                                                                                 Yes

07971655                           USD[0.00]

07971660                           USD[500.00]

07971665                           BRZ[1], CUSDT[4], LINK[5.41346824], TRX[2], USD[0.00]

07971669                           USD[2.62]

07971684                           TRX[0.00000090], USD[0.00]

07971687                           USD[502.28]                                                                                                                               Yes

07971689                           NFT (566290694352362912/You in, Miami? #432)[1]

07971693                           SOL[0], USD[0.00], USDT[0.00003035]

07971696                           CUSDT[5], SHIB[11224609.44337221], USD[5.40]                                                                                              Yes

07971702                           USD[20.00]

07971703                           BAT[1.00883324], CUSDT[1], DOGE[2], SOL[.00000001], USD[0.00]                                                                             Yes

07971707                           USD[0.00]

07971709                           USD[0.01]

07971723                           USD[20.00]

07971728                           USD[20.00]

07971738                           USD[0.34]

07971742                           DOGE[1], TRX[1], USD[0.00]

07971744                           BCH[.01172721], CUSDT[2], DOGE[80.91036458], GRT[74.6424054], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07971748                           USD[20.00]

07971755                           USD[20.00]

07971759                           CUSDT[2], DOGE[1843.36165958], GRT[1.00085885], MATIC[248.48958351], SHIB[9905461.02118997], SOL[2.33677909], TRX[1], USD[440.11]                                                        Yes

07971774                           USD[20.00]

07971775                           BTC[.00769673], CUSDT[2], DOGE[2], PAXG[.00001461], SHIB[2142999.07834892], SOL[.02504112], TRX[1], USD[10.59]                                                                           Yes

07971785                           BTC[.00000304]                                                                                                                                                                           Yes

07971793                           CUSDT[2], USD[0.01]                                                                                                                                                                      Yes

07971801                           SOL[.48951], USD[1.97]

07971806                           BF_POINT[200], BTC[.00016458], ETH[1.49], ETHW[16.99]

07971814                           SHIB[1], USD[382.87]                                                                                                                                                                     Yes

07971815                           BTC[.00759202], CUSDT[1], ETH[.01173854], ETHW[.01158806], TRX[1], USD[0.01]                                                                                                             Yes

07971818                           BTC[.0018], USD[43.53], USDT[0]

07971820                           NFT (308536293556386097/Entrance Voucher #4505)[1], NFT (530852128860451316/Humpty Dumpty #1421)[1]

07971822                           NFT (298327206058532547/APEFUEL by Almond Breeze #425)[1]                                                                                                                                Yes

07971824                           SOL[.00816], USD[39.96]

07971827                           ALGO[0], USD[0.00]                                                                                                                                                                       Yes

07971829                           BTC[.00032887], CUSDT[1], USD[0.00]                                                                                                                                                      Yes

07971830                           USD[16.30]                                                                                                                                                                               Yes

07971831                           ETH[.03781445], ETHW[0.03781445], USD[0.00]

07971834                           USD[253.97]                                                                                                                                                                              Yes

07971837                           BTC[0.00004385], ETH[0.03751246], ETHW[0.03704700], NFT (375059831726932334/Alien Breed)[1], NFT (458520400545015422/G12 2.9/3 -PU +PUPAFU)[1], NFT (514645961570573850/Lemon            Yes
                                   Lightning)[1], USD[0.00]
07971838                           DOGE[1], NFT (394166215000040609/Megalodon Rogue Shark Tooth)[1], USD[250.00]

07971859                           AAVE[.00625], BTC[0.00005480], GRT[.25], LINK[.005], LTC[.0013], SHIB[34880], USD[0.00]

07971877                           USD[20.00]

07971895                           USD[500.00]

07971897                           AAVE[0], CUSDT[4], GRT[0], SHIB[1646046.85930370], USD[0.00]                                                                                                                             Yes

07971910                           BTC[.00037699]

07971911                           ETH[1.0099496], ETHW[1.0099496], MATIC[649.21872539], UNI[56.3436], USD[281.55]

07971912                           BTC[.0016477], CUSDT[2], DOGE[387.34906661], ETH[.02400317], ETHW[.02400317], KSHIB[1416.51927783], TRX[1], USD[100.00]

07971923                           BAT[0], BRZ[7.14336558], CUSDT[0], DOGE[9.01859444], NEAR[0], SHIB[7], SUSHI[780.83626149], TRX[9], USD[0.20], USDT[0]                                                                   Yes

07971937                           BTC[.00011811], MATIC[4.43350830]                                                                                                                                                        Yes

07971943                           BTC[0], SOL[0], USD[15.86]

07971945                           DOGE[99.9], SHIB[999600], SUSHI[.497], USD[45.62]

07971947                           USD[20.00]

07971951                           USD[0.01]                                                                                                                                                                                Yes

07971952                           USD[20.00]

07971956                           USD[20.00]

07971972                           USD[20.00]

07971988                           ETH[1.8505483], ETHW[1.8505483], SOL[30.27273], USD[27.52]

07971999                           SOL[0]

07972003                           USD[0.00]

07972005                           CUSDT[1], TRX[1], USD[294.58]                                                                                                                                                            Yes

07972009                           BTC[.0018787], DOGE[93.43407769], ETH[.01222137], ETHW[.01207089], LINK[.86623184], SOL[.13419265], USD[0.85], YFI[.00079174]                                                            Yes

07972020                           CUSDT[2], DOGE[1], TRX[3], USD[0.00]

07972024                           BRZ[1], CUSDT[3], MATIC[.0010991], NFT (402768201067380458/Tim Brown's Playbook: New York Jets vs. Oakland Raiders - December 2, 2002 #53)[1], NFT (497927725377573855/Earl Campbell's   Yes
                                   Playbook: Rice vs. Texas - October 1st, 1977 #88)[1], NFT (508157906331860000/Whale Club)[1], USD[1.61]
07972030                           USD[0.00]

07972033                           BTC[0.01042206], ETH[.1056329], LINK[14.87740114], MATIC[170.67991805], SOL[2.76369919], USD[0.00]                                                                                       Yes

07972034                           AUD[20.00]

07972038                           USD[500.00]

07972048                           BRZ[2], CUSDT[75.50613043], DOGE[1], SHIB[55], SOL[0], TRX[5], USD[0.00]                                                                                                                 Yes

07972049                           BTC[.0165834], USD[7.32]

07972059                           TRX[1], USD[0.00]

07972060                           USD[21.51]                                                                                                                                                                               Yes

07972064                           USD[0.00], USDT[0]

07972074                           SOL[.15024]

07972085                           CUSDT[1], DAI[0], USD[0.00]                                                                                                                                                              Yes

07972101                           USD[20.00]

07972103                           CUSDT[2], SHIB[1509564.93327094], USD[0.00]                                                                                                                                              Yes
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07972115                              BRZ[1], DOGE[2], TRX[1], USD[0.55]                                                                                                                                                   Yes

07972116                              BRZ[2.1259724], BTC[.00007886], CUSDT[32.56870661], NFT (342989051791045140/DOTB #1713)[1], NFT (355663912520554746/Rogue Circuits #4711)[1], NFT (355795597738486011/DOTB           Yes
                                      #8436)[1], NFT (546302132203135960/DOTB #3237)[1], SHIB[2], SOL[.00608552], USD[0.00]
07972118                              CUSDT[1], ETH[0]                                                                                                                                                                     Yes

07972127                              CUSDT[1], MATIC[29.24709804], USD[103.27]                                                                                                                                            Yes

07972128                              USD[0.06]

07972142                              CUSDT[7], LTC[0.24157132], MATIC[0], SOL[0], SUSHI[1.77064463], TRX[170.63825077]                                                                                                    Yes

07972162                              USD[300.00]

07972167                              BTC[.0005845], CUSDT[6], DOGE[1], MATIC[17.93517612], USD[0.00]

07972170                              BAT[3.62350939], BRZ[29.29509756], CUSDT[251.1214725], DOGE[1021.51646007], KSHIB[224.5708339], MATIC[29.65536794], SHIB[657973.85944566], USD[0.55]                                 Yes

07972174                              USD[0.00]                                                                                                                                                                            Yes

07972180                              BTC[.00819707], USD[0.01]

07972181                              BCH[0], DAI[.00525543]

07972189                              USD[0.00]

07972195                              BTC[0.08351902], DOGE[1463], LINK[23.6], NFT (315270050095285836/Birdie Mohr)[1], NFT (331187211455552045/Swashbuckler 483)[1], NFT (338116345413699960/Swashbuckler 2714)[1], NFT
                                      (350206362925729476/Sigma Shark #4075)[1], NFT (393028647677485426/Swashbuckler 1373)[1], NFT (394461517785238814/Swashbuckler 2202)[1], NFT (403239730358344537/Zombie Hand)[1],
                                      NFT (411305251769288925/Swashbuckler 2137)[1], NFT (451059491953095772/Swashbuckler 347)[1], NFT (456976480300241080/Swashbuckler 3060)[1], NFT (460305698207509112/Metatun
                                      #697)[1], NFT (464938953610109715/Prof. Trycia Wehner)[1], NFT (464974186128993733/Metatun #616)[1], NFT (493428888323837227/Swashbuckler 882)[1], NFT
                                      (517490601880331040/Swashbuckler 259)[1], NFT (567606501300649737/Swashbuckler 356)[1], NFT (569628414461600761/Goth GF Poster 1)[1], USD[0.00], USDT[0]

07972200                              CUSDT[2], ETH[.4425049], ETHW[.44231906], NFT (399497040097158771/Chubby Grubby #21)[1], NFT (503526203681601459/Chubby Grubby #20)[1], SOL[.00602562], USD[0.01]                    Yes

07972202                              CUSDT[2], USD[0.01]                                                                                                                                                                  Yes

07972208                              BRZ[1], BTC[0], CUSDT[1], ETH[0], MATIC[0], NFT (331032773739007409/Coachella x FTX Weekend 2 #7111)[1], SOL[0], USD[0.00]

07972209                              BTC[.00033353], CUSDT[2], ETH[.00524367], ETHW[.00517527], SOL[.05425283], USD[0.00]                                                                                                 Yes

07972211                              USD[0.39]

07972215                              USD[0.24]

07972221                              CUSDT[4], USD[120.75]                                                                                                                                                                Yes

07972227                              CUSDT[1], USD[0.00]                                                                                                                                                                  Yes

07972232                              USD[21.51]                                                                                                                                                                           Yes

07972236       Contingent, Disputed   AUD[0.00], AVAX[0], BTC[0], CAD[0.00], ETH[0.00000002], ETHW[0], EUR[0.00], GBP[0.00], MATIC[0], SOL[0], USD[0.00], USDT[0]                                                          Yes

07972240                              USD[20.00]

07972245                              USD[20.00]

07972248                              CUSDT[1], LTC[.05393622], NFT (371410400803069559/World of Pixel #17)[1], NFT (527197009483717689/Machitto #7)[1], NFT (567469998170135446/Cyclops Presindent)[1],                   Yes
                                      SHIB[1650337.73574637], USD[7.62]
07972249                              CUSDT[3], USD[20.64]

07972256                              USD[20.00]

07972259                              BF_POINT[300]                                                                                                                                                                        Yes

07972263                              CUSDT[2], DOGE[3], LINK[.66524716], LTC[.46796357], SUSHI[3.6037734], USD[32.61]                                                                                                     Yes

07972266                              AAVE[0], BTC[0], DOGE[1], ETH[0], GRT[0], KSHIB[0], LINK[0], MATIC[0], UNI[0], USD[0.00]                                                                                             Yes

07972270                              SOL[1.38868289], USD[1.47]

07972290                              BRZ[1], BTC[.00840754], CUSDT[3], ETH[.13279829], ETHW[.13279829], USD[5.02]

07972291                              CUSDT[1], DOGE[1], MATIC[278.46874069], SOL[6.65267279], TRX[1], USD[0.01]                                                                                                           Yes

07972293                              USD[0.09]                                                                                                                                                                            Yes

07972295                              USD[20.00]

07972298                              USD[0.00]

07972316                              CUSDT[1], KSHIB[701.32601111], SHIB[948688.53283465], TRX[1], USD[0.05]                                                                                                              Yes

07972319                              CUSDT[2], DOGE[383.39530279], SHIB[2817091.25537961], TRX[1], USD[0.00]

07972321                              BTC[.00082069], CUSDT[4], DOGE[97.10884503], KSHIB[684.91953942], MATIC[36.98480203], SHIB[700967.33492219], TRX[245.36893335], USD[0.00], USDT[.99440734]

07972337                              BAT[13.15973562], BRZ[61.95439199], CUSDT[12], DOGE[1], GRT[51.60815757], SHIB[178039.36394217], USD[0.00]                                                                           Yes

07972347                              BTC[.0093906], ETH[.107898], ETHW[.107898], KSHIB[299.54], USD[0.04]

07972352                              CUSDT[13], DOGE[123.08707553], SHIB[17921188.59673443], USD[0.01]                                                                                                                    Yes

07972354       Contingent, Disputed   USD[0.07]                                                                                                                                                                            Yes

07972361                              KSHIB[118.35217322], NFT (384837875371681411/Barcelona Ticket Stub #2088)[1], NFT (518064450153060954/Imola Ticket Stub #2011)[1], SHIB[118021.95208308], USD[0.00]

07972362                              SHIB[5754.45768917], USD[0.00], USDT[0]

07972371                              TRX[5536.61170262], USD[0.21], USDT[1.05015781]                                                                                                                                      Yes

07972372                              CUSDT[2], ETH[.06282436], ETHW[.0620446], GBP[39.02], KSHIB[650.40768854], TRX[1117.03120065], USD[54.44], USDT[1.08687376]                                                          Yes

07972382                              NFT (304619684206287872/Welcome to Dopamine)[1], NFT (443359945500361537/Founding Frens Investor #342)[1], NFT (486804122544605892/Imola Ticket Stub #646)[1], SOL[.50604539],       Yes
                                      USDT[.01167378]
07972385                              BTC[.00436876], CUSDT[1], DOGE[1], ETH[.05660955], ETHW[.0559077], USD[0.54]                                                                                                         Yes

07972400                              SHIB[1], SOL[.00265899], USD[0.00]

07972405                              CUSDT[2], USD[202.60]

07972409                              BRZ[1], CUSDT[6], DOGE[2], ETHW[.04636399], SHIB[3], USD[301.00]                                                                                                                     Yes

07972411                              NFT (571014413976302578/You in, Miami? #433)[1]
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                                                                                                                                         Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07972413                           DOGE[430.09356357], USD[5.43]                                                                                                                                                           Yes

07972416                           MATIC[270.7895391], TRX[1], USD[0.00]                                                                                                                                                   Yes

07972419                           BTC[.00235792], SHIB[1], USD[5.00]

07972429                           AAVE[.05], BAT[15], DOGE[300], GRT[510], KSHIB[130], SOL[7], SUSHI[4], TRX[200], UNI[.3], USD[5.08]

07972435                           BAT[2], BRZ[1], BTC[0], DOGE[2], ETHW[.00474823], GRT[19.06320936], MATIC[0], NFT (293470895210273631/Montreal Ticket Stub #136)[1], NFT (301583430629634016/Netherlands Ticket Stub
                                   #12)[1], NFT (312336222112746752/Austin Ticket Stub #87)[1], NFT (315770904816137157/Barcelona Ticket Stub #2346)[1], NFT (322167486167035232/Singapore Ticket Stub #113)[1], NFT
                                   (330855210173678391/Monaco Ticket Stub #98)[1], NFT (367690822957162370/Monza Ticket Stub #25)[1], NFT (414669771603999264/Mexico Ticket Stub #2077)[1], NFT
                                   (454836397119184574/France Ticket Stub #244)[1], NFT (461029817779950433/Bahrain Ticket Stub #211)[1], NFT (476944881359486225/Belgium Ticket Stub #307)[1], NFT
                                   (510545536743282532/Baku Ticket Stub #74)[1], NFT (525468629391999945/Austria Ticket Stub #172)[1], NFT (556170530536884572/Japan Ticket Stub #40)[1], SHIB[3], TRX[2], USD[7605.16],
                                   USDT[0]
07972441                           USD[20.00]

07972449                           SOL[0], USD[0.00]

07972453                           CUSDT[1], DOGE[499.23559661], NFT (504584646357592631/Alice)[1], TRX[1], USD[5.02]

07972456                           MATIC[9.94127474], USD[0.29]                                                                                                                                                            Yes

07972459                           CUSDT[1], SHIB[7280964.92790087], TRX[1], USD[0.00]                                                                                                                                     Yes

07972477                           USD[0.27]                                                                                                                                                                               Yes

07972513                           CUSDT[4], DOGE[2], TRX[2], USD[0.01]                                                                                                                                                    Yes

07972515                           BTC[0], USD[19.32]                                                                                                                                                                      Yes

07972526                           MATIC[5.48593783], USD[0.00], USDT[0.00000001]                                                                                                                                          Yes

07972532                           BRZ[1], BTC[.00181857], CUSDT[2], DOGE[1], ETH[.03410648], ETHW[.0336824], SHIB[4936801.65560631], USD[0.00]                                                                            Yes

07972540                           BTC[.00000003], CUSDT[30], DOGE[2], ETH[.00000001], NFT (443714250544558892/DOTB #2009)[1], TRX[1], USD[0.00]

07972542                           USD[108.57]                                                                                                                                                                             Yes

07972553                           TRX[98], USD[0.02]

07972568                           USD[21.51]                                                                                                                                                                              Yes

07972571                           BCH[2.33228169], BRZ[3], BTC[.04639264], DOGE[3556.971652], ETH[.24027717], ETHW[.20116397], GRT[71.60251624], KSHIB[4701.31838182], LTC[1.02854027], SHIB[9728653.30016429],           Yes
                                   SUSHI[92.6447181], TRX[707.25186403], USD[0.01], USDT[21.29620256]
07972583                           BRZ[5.07114034], BTC[0], CUSDT[2], DOGE[3], GRT[0], SHIB[1], TRX[5437.50652232], USD[0.00], USDT[2.15732976]                                                                            Yes

07972584                           BTC[0], CUSDT[11], DOGE[8.19297472], ETHW[.16033019], GRT[1], SHIB[1531600.75087037], TRX[4], USD[0.00]                                                                                 Yes

07972585                           DOGE[2], MATIC[420.63037474], USD[50.01]

07972590                           MATIC[6.11865377], USD[0.00]                                                                                                                                                            Yes

07972595                           BAT[1], BRZ[2], CUSDT[13], DOGE[469.30810552], ETH[0.02492632], ETHW[0.02492632], LINK[14.57138843], SHIB[18631729.21341266], SOL[1.32993318], SUSHI[.30457245], TRX[9], USD[0.03],
                                   USDT[1]
07972601                           SHIB[0], USD[0.00]                                                                                                                                                                      Yes

07972602                           BF_POINT[300], BTC[0], DOGE[1], USD[0.04]                                                                                                                                               Yes

07972603                           CUSDT[1], MATIC[11.03427723], USD[0.00]

07972623                           USD[0.01]                                                                                                                                                                               Yes

07972625                           BF_POINT[100]                                                                                                                                                                           Yes

07972627                           BTC[0], CUSDT[1], KSHIB[0], PAXG[0], SOL[0], SUSHI[0], TRX[1], USD[0.00]                                                                                                                Yes

07972630                           SOL[.2], USD[1.17]

07972642                           DOGE[1], SOL[2.28932904], USD[523.70]                                                                                                                                                   Yes

07972649                           USD[20.00]

07972650                           ETH[.05], ETHW[.05], NFT (433019060311570004/Reflection '10 #80)[1], SOL[.0088], USD[20.72]

07972655                           USD[0.01]                                                                                                                                                                               Yes

07972660                           BTC[.00354925], CUSDT[1], USD[0.01]                                                                                                                                                     Yes

07972661                           AAVE[.00000236], BAT[1], BRZ[10.2114746], BTC[.55052165], CUSDT[75.6159923], DOGE[21066.87390727], ETH[3.61065712], ETHW[18.17633659], GRT[2], LINK[.00005011],                         Yes
                                   SHIB[11860384.1881794], SOL[.00000382], SUSHI[14.93760702], TRX[14], USD[-10.00], USDT[3.14267552], YFI[.0727445]
07972662                           USD[10.00]

07972673                           USD[20.00]

07972678                           SUSHI[8.17336574], USD[0.00]

07972684                           BCH[.02713983], BTC[.00040411], CUSDT[3], ETH[.00579696], ETHW[.00572856], KSHIB[139.03280715], USD[0.00]                                                                               Yes

07972689                           SOL[.00992], USD[0.00]

07972698                           USD[20.00]

07972707                           CUSDT[2], DOGE[6.03568932], MATIC[1995.48765196], SHIB[30024729.51613949], SOL[2.64702055], TRX[27638.92152504], USD[0.00]                                                              Yes

07972708                           ETH[.10515199], ETHW[.10515199], USD[0.01], USDT[1]

07972718                           CUSDT[1], DOGE[104.32133574], USD[0.00]                                                                                                                                                 Yes

07972719                           BRZ[1], DOGE[1832.31696133], USD[0.00]

07972720                           SHIB[5177840.40070495], USD[0.00]

07972727                           BTC[.0004118]                                                                                                                                                                           Yes

07972737                           USD[0.01]                                                                                                                                                                               Yes

07972739                           BTC[.01094292], CUSDT[1], DOGE[1], ETH[.1244121], ETHW[.12325385], USD[0.00]                                                                                                            Yes

07972748                           BAT[30.838], BTC[.0009972], DAI[10], KSHIB[9.03], MATIC[59.95], MKR[.030952], SHIB[698700], SOL[.57441], SUSHI[1.496], USD[31.54]

07972752                           CUSDT[2], SHIB[21763717.7537266], TRX[2], USD[0.00]                                                                                                                                     Yes

07972753                           USD[27.17]                                                                                                                                                                              Yes
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                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07972758                           NFT (496320493211957012/Karlee Gibson)[1]

07972760                           BTC[.00264362], CUSDT[2], LINK[8.25994536], USD[0.00]                                                                                                                                 Yes

07972764                           USD[20.00]

07972771                           BRZ[1], CUSDT[5], DOGE[2692.90858549], ETH[.03054987], ETHW[.03054987], MATIC[852.02875094], SHIB[2054234.71733771], SOL[26.84066241], TRX[2], USD[0.00]

07972773                           USDT[0]

07972778                           SHIB[1], USD[1010.14], USDT[0]                                                                                                                                                        Yes

07972779                           SOL[.00000765], USD[50.01]

07972787                           AVAX[.00000001], ETH[.00000001], ETHW[0], USD[0.00]

07972791                           BTC[0], USD[0.07], USDT[0.00000001]                                                                                                                                                   Yes

07972805                           BAT[0], BRZ[2], CUSDT[29], DOGE[0], ETH[0.00000093], ETHW[0.00000093], LINK[0], MATIC[0], NFT (296851345764952086/Spades)[1], NFT (506120571344331010/Crazy Skull #8)[1], SOL[0],     Yes
                                   TRX[7], USD[0.00], USDT[0.00002276]
07972806                           USD[10.00]

07972811                           BRZ[63.20104486], CUSDT[1481.91663161], DOGE[2], KSHIB[3106.97390899], SUSHI[13.08332044], TRX[1129.43846365], UNI[6.20398131], USD[0.11], USDT[32.40841615]                          Yes

07972813                           CUSDT[2], SHIB[753427.41591605], TRX[573.93226797], USD[5.48]                                                                                                                         Yes

07972815                           USD[0.17]

07972824                           USDT[0.00000111]

07972826                           USD[100.00]

07972827                           BF_POINT[100], BRZ[1], CUSDT[2], DOGE[1], SHIB[31230068.07241868], TRX[1], USD[0.12]                                                                                                  Yes

07972832                           USD[20.00]

07972848                           CUSDT[1], ETH[.01088871], ETHW[.01075191], SOL[0.07673879], TRX[1], USD[0.00]                                                                                                         Yes

07972851                           USD[0.00]                                                                                                                                                                             Yes

07972854                           CUSDT[4], USD[0.00]

07972856                           NFT (323836113647242950/Sloth #1091)[1], NFT (440510143637806455/SolDad #3700)[1], NFT (453646180231589025/Nifty Nanas #2959)[1], NFT (465975208558293123/Eitbit Ape #2604)[1], NFT
                                   (486764735383351479/Eitbit Ape #2162)[1], SOL[.27530518], USD[0.00]
07972858                           BTC[.00016]                                                                                                                                                                           Yes

07972866                           USD[0.00]                                                                                                                                                                             Yes

07972888                           BTC[.00521523], CUSDT[2], DOGE[2], TRX[1], USD[0.26]                                                                                                                                  Yes

07972890                           BAT[1], CUSDT[1], TRX[17.22892919], USD[0.15]                                                                                                                                         Yes

07972899                           AAVE[.02997], BTC[0], DOGE[28.971], GRT[8.991], LINK[.2997], SOL[0], SUSHI[.4995], UNI[.2997], USD[0.23]

07972905                           BTC[.02261533], DOGE[4], ETH[.03177783], ETHW[.03138111], SHIB[4], TRX[1], USD[588.88]                                                                                                Yes

07972906                           BTC[.00154488], CUSDT[1], USD[0.00]                                                                                                                                                   Yes

07972923                           BTC[.00035076], CUSDT[1], DOGE[.0021835], ETH[.00000007], ETHW[.00000007], USD[0.00]                                                                                                  Yes

07972924                           BTC[0], CUSDT[4], DOGE[1203.32234048], USD[0.00]                                                                                                                                      Yes

07972928                           USD[20.00]

07972937                           BTC[.00033414], CUSDT[244.24582088], DOGE[150.15720955], USD[0.00]                                                                                                                    Yes

07972949                           USD[20.00]

07972953                           BTC[0], DOGE[0], ETH[.00000001], ETHW[0], GRT[0], MATIC[2.45974027], SHIB[1], USD[0.00]                                                                                               Yes

07972957                           CUSDT[3], ETH[.02844609], ETHW[.02809041], USD[0.65]                                                                                                                                  Yes

07972963                           MATIC[7.65575603]                                                                                                                                                                     Yes

07972977                           DOGE[342.74419755], SHIB[17297235.92895593], USD[11.90]                                                                                                                               Yes

07972993                           BRZ[1], CUSDT[1], GRT[.0000097], SHIB[885521.3630614], USD[0.00]                                                                                                                      Yes

07972998                           BTC[.02655918], DOGE[2], SHIB[2], TRX[1], USD[20.00]

07972999                           NFT (529962583981527083/Coachella x FTX Weekend 1 #18618)[1]

07973016                           USD[4.91]

07973023                           BAT[1.01655549], CUSDT[2], DOGE[393.25162767], GRT[131.08860872], LINK[8.98884645], SOL[1.40323397], TRX[1], USD[0.01]                                                                Yes

07973035                           CUSDT[2], SUSHI[4.61353052], USD[0.00]                                                                                                                                                Yes

07973052                           ETH[.00255721], ETHW[.00252983], USD[10.87]                                                                                                                                           Yes

07973063                           CUSDT[1], LTC[4.90784579], USD[0.00]

07973105                           GRT[0], LINK[0], MATIC[0], SHIB[0], TRX[0], USD[0.00]                                                                                                                                 Yes

07973132                           USD[20.00]

07973145                           USD[21.51]                                                                                                                                                                            Yes

07973150                           NFT (348884257833425330/Coachella x FTX Weekend 1 #13344)[1], NFT (463354151320952039/You in, Miami? #434)[1]

07973167                           USD[0.00]                                                                                                                                                                             Yes

07973168                           BRZ[1], CUSDT[4], DOGE[1], NFT (289280708186856189/Momentum #255)[1], NFT (317951744539290412/ArtMonkees #1165)[1], NFT (330252653024562214/ApexDucks #5280)[1], NFT                  Yes
                                   (336761770988136218/Momentum #260)[1], NFT (371417042169560006/ApexDucks Halloween #1934)[1], NFT (424945426667893808/Frenchy Rare #3)[1], NFT (433285622674301360/ApexDucks
                                   #3706)[1], NFT (439220883497170409/Skeleton Glock #154)[1], NFT (450384296561301398/Dalmatian Common #337)[1], NFT (457482129001272440/Geovaldi #92)[1], NFT
                                   (478237308751579300/Chocolate Lab Common #40)[1], NFT (541358850170075823/DRIP NFT)[1], NFT (552800499169345668/Golden Retreiver Common #415)[1], SHIB[748104.89784256],
                                   SOL[6.08278467], TRX[2], USD[0.00], USDT[8.51998906]
07973175                           AUD[0.00], BAT[8.36538173], BRZ[0], ETH[0], LINK[0], LTC[0], MATIC[0], MKR[0], SHIB[0], SOL[0], SUSHI[0], TRX[0], USD[2.90], WBTC[0], YFI[0]

07973182                           BRZ[1], CUSDT[1], DOGE[1], SHIB[7881182.85122504], USD[0.00]                                                                                                                          Yes

07973183                           BF_POINT[200], CUSDT[1], MATIC[29.40856772], USD[0.00]                                                                                                                                Yes

07973187                           SOL[.49168796], USD[0.00]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07973190                           CAD[13.09], CUSDT[499.07298268], DOGE[3], SHIB[1760076.64250688], SOL[0], TRX[1], USD[0.00]                                                                                    Yes

07973191                           DOGE[396.4566528], KSHIB[1917.70771027], SHIB[10352087.31885801], TRX[4], USD[544.62]                                                                                          Yes

07973205                           BF_POINT[300], DOGE[278.2473209], ETH[.0000001], ETHW[.0000001]                                                                                                                Yes

07973209                           BRZ[1015.41578886], CUSDT[.29071659], DOGE[1040.85949941], SHIB[2], TRX[2], USD[1.86]                                                                                          Yes

07973213                           CUSDT[1], DOGE[1], SHIB[14257092.16346021], USD[0.04]                                                                                                                          Yes

07973214                           BCH[0], BTC[0], DOGE[0], ETH[0.03088047], ETHW[0.02675082], NFT (348987278372621905/Forest Cottage)[1], NFT (419256415208819940/A Hut in Heaven.)[1], USD[0.15]                Yes

07973223                           USD[20.00]

07973229                           CUSDT[1], SHIB[230231.60585097], USD[0.24]                                                                                                                                     Yes

07973232                           USD[0.00]

07973256                           CUSDT[4], USD[0.00]

07973261                           NFT (447502182892783945/Cryptographic zombie #20)[1], USD[0.00]                                                                                                                Yes

07973264                           BTC[.00009843], ETH[.00102663], ETHW[.00101295], USD[0.00]                                                                                                                     Yes

07973277                           USD[10.87]                                                                                                                                                                     Yes

07973285                           USD[20.00]

07973287                           USD[1.65]

07973290                           BF_POINT[200], CUSDT[4], DOGE[1], GRT[108.51175516], KSHIB[1988.16445698], MATIC[52.90161501], SHIB[3083657.43280332], USD[0.25]                                               Yes

07973291                           BTC[.00075879], CUSDT[2284.59222129], DOGE[132.76500041], SHIB[589622.64150943], TRX[1], USD[15.02]

07973292                           USD[108.69]                                                                                                                                                                    Yes

07973294                           BTC[.00432882], CUSDT[3], DOGE[1], SHIB[16546.84118846], SOL[.03867529], TRX[1], USD[0.74]                                                                                     Yes

07973302                           AAVE[3.86998918], ETH[0], LINK[47.86916308], MATIC[559.91769156], MKR[.39687119], UNI[26.81117503], USD[0.00], USDT[0]

07973303                           USD[2.09]                                                                                                                                                                      Yes

07973323                           BTC[1.23093372]                                                                                                                                                                Yes

07973325                           USD[1.99]

07973331                           NFT (294673255404468445/GSW 75 Anniversary Diamond #570 (Redeemed))[1], NFT (320348734815214158/GSW Championship Commemorative Ring)[1], NFT (333853572120013087/GSW
                                   Western Conference Semifinals Commemorative Ticket #541)[1], NFT (403186421756289092/GSW Championship Commemorative Ring)[1], NFT (406268452620626061/GSW Round 1
                                   Commemorative Ticket #122)[1], NFT (415189748029806512/GSW Western Conference Finals Commemorative Banner #1051)[1], NFT (460025633164135163/The Finale at Oracle Ticket #85
                                   (Redeemed))[1], NFT (471892734752129933/The Finale at Oracle Ticket #49 (Redeemed))[1], NFT (476222318118265019/GSW Championship Commemorative Ring)[1], NFT
                                   (482306467866334515/GSW Western Conference Finals Commemorative Banner #1052)[1], NFT (521780381058872834/GSW Western Conference Finals Commemorative Banner #1049)[1], NFT
                                   (525965728524851048/GSW Western Conference Semifinals Commemorative Ticket #540)[1], NFT (559619924698211261/GSW Western Conference Finals Commemorative Banner #1050)[1],
                                   USD[48.06]
07973337                           CUSDT[1], USD[0.00]                                                                                                                                                            Yes

07973342                           MATIC[60.740281], TRX[1], USD[0.00]                                                                                                                                            Yes

07973343                           BCH[.04046996], BTC[.00041009], CUSDT[2], DOGE[1], LTC[.12293769], USD[25.00]

07973344                           TRX[.00039], USD[0.00], USDT[3.01628422]

07973345                           BRZ[2], CUSDT[30], DOGE[2], MATIC[4.4386443], NFT (476040618438661500/Humpty Dumpty #1614)[1], SHIB[201367.86990387], SOL[1.00321063], TRX[4], USD[0.12]                       Yes

07973352                           CUSDT[2], ETH[.02592798], ETHW[.0256052], GRT[99.21628866], USD[0.00]                                                                                                          Yes

07973356                           BRZ[3], CUSDT[6], DOGE[2], SHIB[49263031.0795489], TRX[3], USD[0.00]                                                                                                           Yes

07973360                           BTC[.04246175], ETH[.5015482], ETHW[.5015482], USD[305.40]

07973362                           UNI[0], USD[2.57]

07973366                           USD[0.00]                                                                                                                                                                      Yes

07973368                           ETH[0], ETHW[0.06300000], MKR[.004], SOL[.19269887], USD[0.00], USDT[0.00000010]

07973371                           BRZ[1], BTC[.10810717], CUSDT[4], DOGE[5.00009132], ETH[.36004036], ETHW[.35988902], SHIB[3], TRX[3], USD[0.00]                                                                Yes

07973373                           USD[20.00]

07973376                           BTC[.00033371], CUSDT[1], USD[0.00]

07973381                           BTC[.00000485], USD[0.05]

07973389                           USD[21.51]                                                                                                                                                                     Yes

07973392                           USD[21.51]                                                                                                                                                                     Yes

07973393                           DOGE[1], USD[0.01]                                                                                                                                                             Yes

07973395                           SOL[4.50549], USD[20.27]

07973399                           BTC[.00227339], CUSDT[477.16926802], DOGE[585.24040776], SHIB[5139641.28491405], TRX[1], USD[-20.00]                                                                           Yes

07973401                           BRZ[1], CUSDT[3], DOGE[4], SHIB[1], TRX[13276.47621593], USD[0.00]                                                                                                             Yes

07973403                           KSHIB[1359.08484809], USD[0.01]                                                                                                                                                Yes

07973404                           USD[0.01]                                                                                                                                                                      Yes

07973408                           USD[0.00]                                                                                                                                                                      Yes

07973412                           ETH[.0015568], ETHW[.0015568], USD[3526.34]

07973416                           USD[5.50], USDT[.07]

07973417                           DOGE[1519.03220332]                                                                                                                                                            Yes

07973418                           USD[20.00]

07973422                           USD[20.00]

07973432                           AAVE[.02997], DOGE[73.926], ETH[0.73383100], ETHW[0.73383100], MATIC[40], SHIB[99900], SOL[1.01289], USD[2.94]

07973435                           BRZ[172.58782178], DOGE[1], USD[0.00]                                                                                                                                          Yes
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                                                                                                                                         Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07973440                           CUSDT[99.56600355], DOGE[25.27759788], GRT[5.94172188], KSHIB[75.48923958], SHIB[136301.27152295], USD[0.00]                                                                             Yes

07973446                           BTC[.00000002], TRX[1], USD[0.00]                                                                                                                                                        Yes

07973450                           BRZ[2], CUSDT[10], DOGE[3], ETHW[.15245538], SHIB[3927850.57252001], SOL[4.00626611], SUSHI[4.4731753], TRX[2], USD[0.00]                                                                Yes

07973455                           USD[20.00]

07973462                           LTC[.26654535]                                                                                                                                                                           Yes

07973466                           NFT (346097033065488554/Entrance Voucher #24872)[1], USD[105.21]                                                                                                                         Yes

07973472                           BTC[.00000029], DOGE[.00067622], ETH[.00000015], EUR[0.00], SHIB[7.0221911], USD[0.01]                                                                                                   Yes

07973481                           SHIB[0], TRX[1], USD[0.01]

07973490                           USD[20.00]

07973495                           LINK[0], MATIC[0], NFT (447791806586526732/Wonky Stonk #5494)[1], SOL[.00000001], USD[0.00], USDT[0.00000001]

07973498                           BTC[.0002465], CUSDT[3], SOL[.08010474], USD[0.00], YFI[.00050648]                                                                                                                       Yes

07973503                           ETH[0.00000001], ETHW[0.05562792], USD[1.70]

07973506                           USD[20.00]

07973512                           ETH[0], ETHW[0], SHIB[399600], USD[0.00], USDT[0]

07973513                           BAT[.00002478], NFT (339492849030641802/Halloween party)[1], NFT (410922295985065977/Jack o lantern)[1], NFT (568550682243673539/Morning thoughts)[1], SHIB[77390.47499033], USD[0.08]   Yes

07973519                           BTC[.0000374], CUSDT[1], GRT[11.33925696], USD[37.50]

07973530                           ETHW[.454857], NFT (567052562826070710/Microphone #207)[1], USD[1.01]

07973534                           USD[1.38]                                                                                                                                                                                Yes

07973550                           NFT (458406515471352356/Entrance Voucher #2211)[1], USD[10256.00], USDT[0]                                                                                                               Yes

07973552                           BTC[.00894856], CUSDT[2], ETH[.12914054], ETHW[.12805775], USD[0.00]                                                                                                                     Yes

07973553                           BTC[0.00016359]                                                                                                                                                                          Yes

07973554                           USD[5495.29]

07973556                           USD[0.15]                                                                                                                                                                                Yes

07973566                           NFT (467207671343667575/FTX Crypto Cup 2022 Key #2925)[1]

07973576                           SHIB[3500000], USD[15.09]

07973598                           BAT[152.26665435], CUSDT[4553.9959624], DOGE[1], GRT[202.1998433], USD[0.01]

07973612                           BRZ[2], CUSDT[3], DOGE[1], GRT[.00000913], KSHIB[42478.70407814], LINK[61.56455254], SOL[35.58287933], USD[0.00], USDT[0.00006334]                                                       Yes

07973613                           SOL[.02654067], USD[0.00]                                                                                                                                                                Yes

07973617                           USD[0.00]                                                                                                                                                                                Yes

07973619                           CUSDT[2], DOGE[1], NFT (357709289114878167/That loving feeling )[1], NFT (440306421052772180/CryptoFabula #119)[1], NFT (441899532835133676/CryptoFabula #24)[1], NFT
                                   (473564585776686129/LogantoFluffyPeople #6)[1], SOL[2.78716539], TRX[2], USD[0.01]
07973625                           BTC[.0020979], ETH[6.67332], ETHW[6.67332], USD[0.86]

07973631                           DOGE[0], LINK[0], LTC[0.00000091], NFT (561699238697040084/Gangster Gorillas #5111)[1], SHIB[1], SOL[0], TRX[0], USD[0.07]                                                               Yes

07973633                           USD[9.28]

07973635                           BTC[.00066547], CUSDT[1], USD[0.00]                                                                                                                                                      Yes

07973643                           SOL[.05660539], USD[0.00]

07973647                           USD[20.00]

07973653                           CUSDT[1], TRX[1], USD[0.00]

07973662                           DOGE[1], MATIC[7.10370729], SOL[5.90144609], USD[0.00]                                                                                                                                   Yes

07973670                           LINK[.00042614], MATIC[.00874314], USD[0.00]                                                                                                                                             Yes

07973673                           NFT (423887525214952308/Megalodon Rogue Shark Tooth)[1]

07973679                           USD[20.00]

07973685                           BAT[1.01429694], BRZ[2], BTC[.11337561], CUSDT[3], DOGE[3], ETH[1.14037562], ETHW[1.13989676], GRT[1168.53314217], LINK[38.04259312], LTC[4.71435076], SOL[5.6002808], TRX[5],           Yes
                                   USD[0.03]
07973688                           BRZ[1], BTC[.00517172], CUSDT[4], TRX[1], USD[0.00]                                                                                                                                      Yes

07973694                           BTC[.00064582]                                                                                                                                                                           Yes

07973697                           BAT[1.01417248], BTC[.01681969], CUSDT[2], DOGE[1], ETH[.02570287], ETHW[.02538823], SOL[.53310885], USD[27.08]                                                                          Yes

07973704                           TRX[1], USD[0.00]                                                                                                                                                                        Yes

07973709                           TRX[.000581]

07973713                           BTC[.00039765], CUSDT[920.54526945], DOGE[1], SHIB[507813.82133796], SOL[.11015994], USD[0.00]                                                                                           Yes

07973718                           CAD[0.00], CUSDT[5], HKD[0.01], USD[0.00]                                                                                                                                                Yes

07973729                           BTC[.00178873], NFT (480232312792381778/FTX - Off The Grid Miami #1436)[1], TRX[1], USD[0.00]                                                                                            Yes

07973733                           USD[0.91]

07973734                           CUSDT[9], KSHIB[175.0507443], LTC[.05798791], SHIB[483452.37249801], TRX[1], USD[0.00]                                                                                                   Yes

07973735                           USD[0.00]

07973736                           ETH[.02424403], ETHW[.02394307], SHIB[2], SOL[2.1647636], TRX[1], USD[0.00]                                                                                                              Yes

07973747                           USD[484.87]

07973769                           BTC[0], DOGE[1], ETH[.00000005], ETHW[.00000005], SHIB[3], TRX[2], USD[0.00]                                                                                                             Yes

07973770                           DOGE[1], USD[0.01], USDT[1]
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07973777                              USD[0.67]

07973780                              DOGE[43.29593672], USD[0.00]                                                                                                                                                            Yes

07973804                              BAT[13.18805752], BCH[4.67033893], BTC[.50100851], DOGE[8185.96178216], GRT[1], LTC[25.34714261], SHIB[838240.93482658], SOL[28.89061779], USD[1433.17]                                 Yes

07973812                              USD[34.21]                                                                                                                                                                              Yes

07973816                              KSHIB[1318.68], USD[1.00]

07973832                              SOL[.37995], USD[8.78]

07973838                              BTC[.06243786], ETH[.85764032], ETHW[.85764032], USD[400.01]

07973842                              BRZ[1], ETHW[2.19991085], USD[2828.73], USDT[2.08648681]                                                                                                                                Yes

07973844                              BRZ[1], BTC[.0089135], USD[0.00]                                                                                                                                                        Yes

07973848                              CUSDT[1], SOL[.00000153], USD[0.00]                                                                                                                                                     Yes

07973851                              BAT[10.40034868], ETH[.0023146], ETHW[.00228724], KSHIB[1.32567196], MATIC[.0098116], SHIB[102018.66903895], SOL[.02255974], USD[0.49]                                                  Yes

07973855                              DOGE[1], SHIB[1066736.15325711], USD[0.09]                                                                                                                                              Yes

07973859                              ETHW[.84423557], USD[0.00]

07973860                              BAT[6.27509938], CUSDT[252.60695227], DOGE[1], GRT[10.96606295], KSHIB[207.96229127], MATIC[22.16091023], SHIB[223487.50769651], TRX[165.74510513], USD[0.01]                           Yes

07973865                              SHIB[2], USD[0.01]                                                                                                                                                                      Yes

07973869                              BTC[.004], DOGE[874], ETH[.059], ETHW[.059], SHIB[4400000], USD[5.30]

07973884                              CUSDT[909.59902661], USD[0.00]

07973885                              BTC[.01750433], USD[0.00], USDT[0]                                                                                                                                                      Yes

07973905                              BAT[75.31384941], CUSDT[2475.53374721], MATIC[177.59422115], SHIB[1449728.00314924], USD[0.00]                                                                                          Yes

07973907                              BAT[1], CUSDT[1], DOGE[1836.28608384], ETH[1.48674013], ETHW[1.48674013], GRT[2], SHIB[7801529.09970354], SOL[17.45572947], TRX[3], USD[0.00]

07973917                              ETH[.00000145], ETHW[.00000145], USD[0.00]                                                                                                                                              Yes

07973923                              USD[54.75]

07973927                              BTC[.00181743], CUSDT[1], USD[0.00]                                                                                                                                                     Yes

07973933                              TRX[1], USD[0.00]                                                                                                                                                                       Yes

07973955                              CUSDT[2], GRT[.88032876], USD[3.24]                                                                                                                                                     Yes

07973958                              SOL[.45932526], TRX[1], USD[43.48]                                                                                                                                                      Yes

07973968                              ETH[.054], ETHW[.054], USD[63.29], USDT[0]

07973970                              NFT (295703538909216402/AI-generated city #6)[1], NFT (345844348688069011/Beddy Tears #37)[1], NFT (377353497447308550/Beddy Tears #51)[1], NFT (418756590305579242/Beddy Tears #47
                                      #2)[1], NFT (423730671175546986/Ape MAN#154)[1], NFT (441574467910366228/CryptoFabula #282)[1], NFT (506478758950079055/Nespace Album #11)[1], NFT (507525922681757980/Nespace
                                      Album #42)[1], NFT (541922903144555275/Meta Impression)[1], NFT (573696581677744119/Beddy Tears #52)[1], USD[0.03]
07973974                              CUSDT[1], DOGE[57.41523721], USD[0.00]

07973979                              BTC[.00018112], TRX[1], USD[0.00]                                                                                                                                                       Yes

07973981                              BAT[.00003209], BRZ[4], BTC[.00760011], CUSDT[43.00004978], DOGE[9.66848719], GRT[.00075524], KSHIB[.2631693], LTC[.00006147], MATIC[.00235051], NFT (506952511181521378/DRIP           Yes
                                      NFT)[1], SHIB[67.34363366], SOL[2.43064993], SUSHI[.0122564], TRX[10], USD[0.07], USDT[1.0820211]
07973997                              AVAX[.0932], BTC[0.00008609], ETH[.000174], ETHW[.000635], MATIC[9.1], SOL[.00545], USD[148.25]

07974000                              DOGE[1], USD[0.01]                                                                                                                                                                      Yes

07974001                              BTC[.00016457], DOGE[17.75186685], ETH[.0012776], ETHW[.00126392], SHIB[78750.24431702], SOL[.05339084], USD[0.00]                                                                      Yes

07974012                              BRZ[1], CUSDT[1], GRT[1.00313735], SHIB[8147683.32871690], TRX[1], USD[0.00], USDT[1.08456351]                                                                                          Yes

07974020                              BAT[1.00697222], BRZ[1], BTC[.74706976], CUSDT[1], DOGE[3], ETH[2.08218988], ETHW[2.08148359], GRT[2.02756408], SOL[6.3591432], TRX[2], USD[2652.21]                                    Yes

07974028                              BTC[.00182587], CUSDT[1], USD[217.38]                                                                                                                                                   Yes

07974036                              CUSDT[2], USD[0.01]

07974038       Contingent, Disputed   USD[0.04]

07974039                              DOGE[1], SOL[.5250034], USD[0.00]                                                                                                                                                       Yes

07974045                              SOL[.04413208], USD[0.02]                                                                                                                                                               Yes

07974051                              TRX[189.03182072], USD[8.13]                                                                                                                                                            Yes

07974053                              BRZ[1], BTC[.00000002], DAI[.00036614], DOGE[3], SHIB[23661635.48501435], SOL[.00000331], TRX[5.00716601], USD[0.00]                                                                    Yes

07974067                              NFT (350940824750500947/FTX - Off The Grid Miami #6930)[1], NFT (492653391814260792/Bahrain Ticket Stub #1312)[1], USD[10.87]                                                           Yes

07974068                              BAT[4.79199348], CUSDT[2], MATIC[3.56588166], USD[0.00]                                                                                                                                 Yes

07974077                              CUSDT[1], GRT[182.51652481], USD[0.00]

07974087                              AAVE[1.23441809], ALGO[81.2788524], AVAX[1.70050969], BAT[110.77359045], BCH[1.07735811], BRZ[138.05451824], BTC[0.37579841], CUSDT[1310.39094271], DAI[22.71504664],                   Yes
                                      DOGE[748.13505082], ETH[0.81798984], ETHW[0.41155309], GRT[214.00983258], KSHIB[3449.66082596], LINK[9.32658765], LTC[1.24844521], MATIC[83.64539271], MKR[0.26315647],
                                      NEAR[5.00717168], NFT (323842267205559845/Tim Brown's Playbook: San Diego Chargers vs. Los Angeles Raiders - September 4, 1988 #64)[1], NFT (388308142665278165/Tim Brown's Playbook:
                                      Kansas City Chiefs vs. Oakland Raiders - December 9, 2001 #50)[1], NFT (409694076017233579/Marcus Allen's Playbook: Los Angeles Raiders vs. Washington - January 22, 1984 #97)[1],
                                      PAXG[0.23991499], SHIB[68923383.84571415], SOL[1.33858634], SUSHI[32.73608377], TRX[504.27782739], UNI[7.98798426], USD[0.01], USDT[22.73682516], YFI[0.02969383]
07974095                              USDT[1965.2]

07974099                              ETH[0], USD[0.00]

07974100                              AAVE[8.31402814], SHIB[1], TRX[1], USD[0.01], USDT[0]                                                                                                                                   Yes

07974103                              CUSDT[1], SHIB[403902.12150305], USD[0.00]                                                                                                                                              Yes

07974104                              USD[108.69]                                                                                                                                                                             Yes

07974106                              TRX[0]

07974114                              USD[0.02]

07974115                              DOGE[2], SHIB[19052508.66680615], TRX[1], USD[0.26]                                                                                                                                     Yes
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                                                                                                                                            Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07974117                              BTC[0.00004880], USD[1.30], USDT[0]

07974119                              BTC[0.00282439], CUSDT[2], USD[0.00]                                                                                                                                              Yes

07974121                              BRZ[1], BTC[.00216345], CUSDT[2], DOGE[1], ETH[.02959364], ETHW[.02959364], GRT[176.63447201], SOL[1.00192553], USD[0.00]

07974135       Contingent, Disputed   SHIB[2], USD[0.00]                                                                                                                                                                Yes

07974140                              CUSDT[2], NFT (343870305604930878/Rocked! #2 of 5 )[1], USD[0.00]                                                                                                                 Yes

07974141                              BRZ[1], CUSDT[1], DOGE[317.71245317], ETH[.00803205], ETHW[.00793629], SHIB[3794034.57083371], TRX[2], USD[0.00]                                                                  Yes

07974159                              SHIB[2], TRX[.00005452], USD[165.02]

07974168                              CUSDT[1], SHIB[5032266.35829], TRX[1], USD[0.00]                                                                                                                                  Yes

07974171                              LTC[.21391541], USD[6.63]

07974172                              BCH[0], CUSDT[2], DOGE[2], KSHIB[.00004154], USD[0.01]                                                                                                                            Yes

07974173                              USD[10.00]

07974175                              BRZ[2], BTC[.00245271], CUSDT[23], DAI[.00045409], ETH[.00000001], ETHW[0], SHIB[2], TRX[8], USD[0.01], USDT[1.06321418]                                                          Yes

07974184                              BTC[.00011863], CUSDT[7], ETH[.01171445], ETHW[.01171445], SHIB[1290936.26851474], TRX[1], USD[0.01]

07974185                              CUSDT[1], NFT (507689399709813535/Entrance Voucher #3472)[1], USD[0.00]                                                                                                           Yes

07974190                              USD[0.00], USDT[0.00012718]

07974193                              BRZ[67.33655575], CAD[14.66], CUSDT[3], DOGE[45.52391428], SHIB[1822114.89034873], TRX[527.84485636], USD[0.00]                                                                   Yes

07974200                              BTC[.00015975], LTC[0.04466760]                                                                                                                                                   Yes

07974215                              USD[1.95]

07974218                              BTC[.00000078], ETH[.00429376], ETHW[.00429376], SHIB[190803.28181644], SOL[.04], TRX[93.906], USD[0.00]

07974234                              DOGE[1.43935066], KSHIB[0], SHIB[2261335.97241388], USD[0.00]                                                                                                                     Yes

07974244                              CUSDT[1], DOGE[161.55226813], SHIB[20803.05837173], TRX[209.60421156], USD[0.00]                                                                                                  Yes

07974249                              USD[0.00]                                                                                                                                                                         Yes

07974254                              USD[541.01]                                                                                                                                                                       Yes

07974264                              BTC[.2312685], ETH[1.7982], ETHW[1.7982], SOL[39.96999], USD[72.26]

07974269                              USD[20.00]

07974273                              USD[3.58]

07974274                              USD[0.00]                                                                                                                                                                         Yes

07974286                              CUSDT[2], SHIB[154129.84389479], TRX[235.48650473], USD[0.00]                                                                                                                     Yes

07974295                              USD[1.15]

07974296                              BTC[.00016403], DOGE[20.79028561], ETH[0.00045132], ETHW[0.00045132], LTC[.01492717], USD[0.00]                                                                                   Yes

07974299                              USD[21.51]                                                                                                                                                                        Yes

07974300                              BAT[0], BRZ[1], BTC[.00002623], CUSDT[24], DOGE[11.26116558], ETH[.00000002], ETHW[.00000002], SHIB[27], SOL[0], SUSHI[0], TRX[9.00074684], USD[0.00], USDT[0.00051529], YFI[0]   Yes

07974301                              DOGE[.14], USD[0.00]

07974306                              BRZ[1], SHIB[4476532.42447543], USD[0.00]                                                                                                                                         Yes

07974308                              BRZ[1], BTC[.00000081], CUSDT[3], DOGE[7.00622042], SHIB[2], SOL[.00000001], TRX[3], USD[1.02], USDT[0.00174584]                                                                  Yes

07974309                              USD[0.01]                                                                                                                                                                         Yes

07974312                              USD[20.00]

07974321                              USD[20.00]

07974324       Contingent, Disputed   BTC[.00028048], CUSDT[10], DAI[.09919815], DOGE[2], SHIB[34.3275198], TRX[1], USD[11.18]                                                                                          Yes

07974326                              LINK[9.72721713], USD[0.00]                                                                                                                                                       Yes

07974327                              CUSDT[1], SHIB[2204532.6775818], USD[0.00]                                                                                                                                        Yes

07974333                              BRZ[1], CUSDT[6], ETH[.02114943], ETHW[.02114943], SHIB[2], USD[0.01]

07974335                              USD[20.00]

07974340                              NFT (381718661336972283/Skull Love #25)[1], NFT (477912474137558711/Joe Theismann's Playbook: Notre Dame vs. USC - November 30, 1968 #66)[1], USD[0.02]                           Yes

07974341                              SOL[.09422361], USD[0.00]                                                                                                                                                         Yes

07974351                              BTC[0.00000001], ETH[0], NFT (443568915897065505/Zed ID # 1)[1], SHIB[4], USD[0.00]                                                                                               Yes

07974357                              SHIB[136003.65126696], USD[0.00]                                                                                                                                                  Yes

07974361                              SOL[2.43905], USD[1.03]

07974363                              BRZ[1], DOGE[2133.56590673], ETH[.07285236], ETHW[.07194896], SHIB[4], USD[0.00]                                                                                                  Yes

07974364                              USD[20.00]

07974365                              BRZ[1], SHIB[1], SOL[.00001642], USD[24.68]                                                                                                                                       Yes

07974373                              USD[20.00]

07974375                              BRZ[3.59825891], CUSDT[1], SHIB[238369.230751], USD[0.00]                                                                                                                         Yes

07974377                              USD[0.01]                                                                                                                                                                         Yes

07974388                              BRZ[3], CUSDT[4], NFT (488110981137580743/Entrance Voucher #19317)[1], SHIB[2], TRX[2], USD[273.60]

07974391                              USD[6.40]                                                                                                                                                                         Yes

07974394                              ALGO[.00005724], USD[3.02]                                                                                                                                                        Yes

07974399                              AVAX[.8], BTC[.0016979], DOGE[196.964], ETH[0.21099707], ETHW[0.16258607], LINK[1.6496], LTC[.40625], MATIC[20], SHIB[2699900], SOL[57.44075469], USD[-299.73]
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
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                                                                                                                                            Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07974407                              USD[5.26]

07974410                              BTC[.01628458], DOGE[1], TRX[1], USD[0.00]

07974411                              NFT (299581858186199154/Matt McLain x Hyena NFT 2022 x 15/15)[1], NFT (319892089097338790/Loden 9: Reese Alexiades)[1], NFT (322665300914226576/Loden 9: John Rogers)[1], NFT
                                      (345551149332492810/SB Props Champ 2022)[1], NFT (377616251047912499/Matt McLain x Hyena NFT 2022 x 13/15)[1], NFT (379889396527545014/Matt McLain x Hyena NFT 2022 x 4/15)[1], NFT
                                      (380044687244099686/Matt McLain x Hyena NFT 2022 x 6/15)[1], NFT (383380837280040783/Loden 9: Gabriel Curtier)[1], NFT (385819866850103986/Matt McLain x Hyena NFT 2022 x 9/15)[1], NFT
                                      (386239775156295541/Honey Badger "Baton Rouge")[1], NFT (407102617448849197/Loden 9: Walker Martin)[1], NFT (432501721626517306/Loden 9: Henry Bolte)[1], NFT
                                      (438224444853373330/Honey Badger "KCMO")[1], NFT (446105537704142493/Matt McLain x Hyena NFT 2022 x 14/15)[1], NFT (450049779799456772/Loden 10: Avery Ortiz)[1], NFT
                                      (461921483352284517/hyenapalmtree)[1], NFT (468425445721438173/Matt McLain x Hyena NFT 2022 x 5/15)[1], NFT (491938408146076924/Loden 9: Jace Holley)[1], NFT
                                      (499329204685225024/Honey Badger "Ink")[1], NFT (500476554745512068/Matt McLain x Hyena NFT 2022 x 8/15)[1], NFT (506601695523244085/Matt McLain x Hyena NFT 2022 x 11/15)[1], NFT
                                      (509275406847347090/Matt McLain x Hyena NFT 2022 x 2/15)[1], NFT (524658464723732897/Honey Badger "Mardi Gras")[1], NFT (532241624183056032/Matt McLain x Hyena NFT 2022 x 3/15)[1],
                                      NFT (535788905502121810/MM x Black/Black)[1], NFT (548442828060312657/Loden 9: Jace Holley 2021)[1], NFT (549544054295608412/Matt McLain x Hyena NFT 2022 x 12/15)[1], NFT
                                      (552399292911839618/Loden 10: Ellison Hanna II)[1], NFT (565644269983968386/Matt McLain x Hyena NFT 2022 x 7/15)[1], NFT (566579935957083836/Matt McLain x Hyena NFT 2022 x 10/15)[1],
                                      NFT (573351658614607729/Matt McLain x Hyena NFT 2022 x 1/15)[1], NFT (575328892929392659/Loden 9: Prince Deboskie)[1], USD[18.01]
07974414                              NFT (326820842268321894/Romeo #778)[1], NFT (344945261144228994/The Hill by FTX #555)[1], NFT (367918071180527128/GSW Western Conference Finals Commemorative Banner #1725)[1],
                                      NFT (420996854254911657/Entrance Voucher #2915)[1], NFT (425141543390043144/Microphone #1234)[1], NFT (434051767899823903/GSW Western Conference Finals Commemorative Banner
                                      #1726)[1], NFT (547564543493084710/GSW Western Conference Semifinals Commemorative Ticket #875)[1], NFT (559824202420045896/Montreal Ticket Stub #97)[1], NFT
                                      (563988446658726715/GSW Championship Commemorative Ring)[1], NFT (569275028306827818/GSW 75 Anniversary Diamond #430 (Redeemed))[1], USD[0.01]
07974415                              SOL[.14211965], USD[175.00]

07974435                              ALGO[0], AVAX[0.00046181], BRZ[.00006706], BTC[0], DOGE[0], ETH[0.00000006], ETHW[0.00000497], GRT[0], LINK[0], LTC[.0000043], MATIC[70.99664008], NEAR[0], NFT                           Yes
                                      (429086459655387993/Australia Ticket Stub #2304)[1], SHIB[204.29825114], SOL[0], USD[0.00], USDT[0.00187400]
07974439                              USD[20.00]

07974446                              USD[20.00]

07974448                              USD[1000.00]

07974449                              BTC[.0000004], SHIB[1], USD[20.50]                                                                                                                                                        Yes

07974451                              ETH[.00000463], ETHW[.00000463], USD[0.01]

07974452                              USDT[0.00001512]

07974461       Contingent, Disputed   USD[0.01]

07974464                              BRZ[1406.10109522], BTC[.01675733], DOGE[976.65820702], ETH[.06662638], ETHW[.06662638], SHIB[5], SOL[5.77182862], USD[0.01]

07974470                              SHIB[1], USD[27.19]                                                                                                                                                                       Yes

07974472                              BTC[.00000079], SHIB[1025419.44362184], USD[0.00], USDT[0]                                                                                                                                Yes

07974477                              BTC[0], USD[9135.33]

07974479                              CUSDT[4], DOGE[2], ETHW[.00503568], SHIB[1], TRX[1], USD[65.96]                                                                                                                           Yes

07974481                              NFT (312545581568567223/Entrance Voucher #1849)[1], NFT (318619788604474366/FTX Crypto Cup 2022 Key #2141)[1], NFT (322445071735287383/FTX - Off The Grid Miami #2688)[1], NFT            Yes
                                      (341020388021728267/Founding Frens Investor #518)[1], NFT (365412873520911934/Saudi Arabia Ticket Stub #1200)[1], NFT (382323085192230337/The Hill by FTX #5341)[1], NFT
                                      (410590486571555342/Australia Ticket Stub #1153)[1], NFT (453785248223327437/Chocolate Lab Common #438)[1], NFT (454964054713264762/Barcelona Ticket Stub #2119)[1], SHIB[4.24494738],
                                      USD[0.00]
07974486                              ETH[.00000789], ETHW[.00000789], USD[0.00]                                                                                                                                                Yes

07974489                              USD[2.79]

07974513                              USD[0.01]                                                                                                                                                                                 Yes

07974514                              USD[30.00]

07974517                              USD[1600.03]

07974525                              CUSDT[1], DOGE[726.99474202], SHIB[3470950.19112596], TRX[1], USD[0.00]                                                                                                                   Yes

07974530                              DOGE[1], SHIB[1], USD[0.00]                                                                                                                                                               Yes

07974533                              BF_POINT[100], BTC[1.31145257], ETH[1.00118688], ETHW[1.00118688], USD[0.00]

07974537                              USD[0.01], USDT[0.00508100]

07974538                              BRZ[1], SHIB[1], USD[43.10]                                                                                                                                                               Yes

07974545                              BCH[.01934325], BTC[.00016212], CUSDT[3], DOGE[57.69748873], ETH[.00121355], ETHW[.00119986], KSHIB[132.78222209], SHIB[279066.73162017], USD[0.00], USDT[0]                              Yes

07974546                              CUSDT[1], USD[0.00]                                                                                                                                                                       Yes

07974548                              NFT (413484274394704012/Coachella x FTX Weekend 1 #22439)[1]                                                                                                                              Yes

07974549                              GRT[0], SHIB[1067848.73324667], USD[0.00]                                                                                                                                                 Yes

07974550                              SOL[39.78], USD[0.00]

07974553                              DOGE[1], SOL[.52398512], USD[0.00]                                                                                                                                                        Yes

07974558                              BTC[0.00003151], USD[0.00], USDT[0]

07974559                              DAI[.03849966], USD[0.00]

07974560                              BAT[1.01276568], BRZ[1], CUSDT[1], DOGE[2], GRT[1.00019173], TRX[2330.09607072], USD[0.00]                                                                                                Yes

07974561                              BTC[0], USD[0.00]                                                                                                                                                                         Yes

07974563                              BRZ[1], USD[2.00]

07974572                              USD[0.00]

07974597                              NFT (298008065797708891/NFT BZL 2021 #110)[1]

07974622                              USD[11.00]

07974644                              AAVE[4.45009506], BAT[1.00555873], BRZ[3], CUSDT[40], DOGE[2626.23337522], ETH[.12688715], ETHW[.12577153], LINK[17.35398143], MATIC[330.30128424], NFT                                   Yes
                                      (406853207239948446/Solninjas #6118)[1], NFT (423545341561366060/Entrance Voucher #3538)[1], NFT (428959348255188015/Brick World #27)[1], NFT (440548867837054687/Brown
                                      Chameleon)[1], NFT (502485413275481279/Halloween #6)[1], NFT (517829506228528240/Mad Lions Series #23)[1], NFT (520631224161272086/Joker Voxel)[1], SHIB[27918715.94845097],
                                      SOL[7.62856995], SUSHI[37.29029984], TRX[5517.76944733], UNI[21.44140519], USD[0.00]
07974650                              CUSDT[1], DOGE[1], USD[0.01]

07974653                              USD[25.91]

07974655                              GRT[1.00019173], NFT (356524327625743373/Golden Beuty #003)[1], NFT (407659926293779345/Club the fight)[1], USD[5.43], USDT[0]                                                            Yes
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07974657                              BF_POINT[100]                                                                                                                                                                         Yes

07974662                              AAVE[.29], AVAX[.4], MATIC[70], SOL[.47952], SUSHI[8], USD[5.73], YFI[.002]

07974664                              BTC[.00206643], ETH[.00000004], ETHW[.00000004], USD[0.00]                                                                                                                            Yes

07974689                              TRX[.000001]

07974693                              CUSDT[1], ETH[.02227244], ETHW[.02199884], USD[122.03]                                                                                                                                Yes

07974695                              SOL[0]

07974696                              NFT (456603099917477245/Brick World #18)[1], NFT (523500574451885119/Brick World #19)[1], USD[21.75]                                                                                  Yes

07974697                              CUSDT[1], DOGE[1], NFT (366943127324737926/APEFUEL by Almond Breeze #293)[1], NFT (389010705781829210/Miami Ticket Stub #224)[1], NFT (395650088553725253/APEFUEL by Almond     Yes
                                      Breeze #187)[1], NFT (407208647363939168/APEFUEL by Almond Breeze #151)[1], NFT (457895505261103634/APEFUEL by Almond Breeze #27)[1], NFT (480146782151720589/APEFUEL by Almond
                                      Breeze #121)[1], NFT (491742844924027589/APEFUEL by Almond Breeze #267)[1], NFT (500997534629861256/Barcelona Ticket Stub #170)[1], NFT (504925537882570832/APEFUEL by Almond
                                      Breeze #161)[1], NFT (563171778279116915/APEFUEL by Almond Breeze #536)[1], NFT (567120326731581221/3D CATPUNK #1969)[1], SOL[0.29994945], TRX[1], USD[0.01]

07974702                              BTC[.00821699], ETH[1.16070458], ETHW[1.16070458], LINK[44.91248083], LTC[4.88429566], SOL[4.73169364], USD[384.57]

07974705                              USD[21.51]                                                                                                                                                                            Yes

07974706                              USD[20.00]

07974709                              USD[20.00]

07974715                              CUSDT[2], DOGE[1], SOL[1.52932432], USD[0.00]                                                                                                                                         Yes

07974717                              USD[20.00]

07974722                              CUSDT[7], MATIC[28.81796176], SHIB[1500636.23715134], SOL[.10688088], TRX[261.96520239], USD[0.00]                                                                                    Yes

07974726                              NFT (444344219282498862/Coachella x FTX Weekend 2 #12735)[1]

07974734                              BAT[1], CUSDT[2], DAI[0], DOGE[3], MATIC[0], SHIB[3], TRX[1], USD[0.00], USDT[1.02272928]

07974741                              BRZ[2], USD[0.13]

07974743                              BTC[0], USD[0.00]

07974744                              USD[21.51]                                                                                                                                                                            Yes

07974748                              BTC[0.00003215], DOGE[.04], SHIB[64200], SOL[3.98601], TRX[.000001], USD[3.39]

07974752                              TRX[1], USD[0.00]

07974754                              TRX[3], USD[0.00]

07974769                              USD[20.00]

07974774                              BF_POINT[100], USD[0.00], USDT[0]                                                                                                                                                     Yes

07974778                              USD[11.35], USDT[10.06170172]                                                                                                                                                         Yes

07974782                              USD[20.00]

07974788                              USD[20.00]

07974797                              SHIB[72958.61362993], USD[0.00]                                                                                                                                                       Yes

07974805                              USD[20.00]

07974809                              USD[20.00]

07974810                              BCH[0.13894821], DAI[0], SGD[0.00], SOL[34], USD[49.40]

07974812                              DOGE[1], ETH[1.61159335], ETHW[1.61091649], SUSHI[510.30564345]                                                                                                                       Yes

07974815                              SHIB[12.58077089], USD[0.00]                                                                                                                                                          Yes

07974820                              USD[0.79]

07974822                              DOGE[1], MATIC[0], TRX[0]                                                                                                                                                             Yes

07974828                              ETH[.00000401], ETHW[.43882145], LINK[31.79909642], NFT (292962543328026273/Juliet #339)[1], NFT (365510350188799468/Miami Ticket Stub #663)[1], NFT (386121456336338139/Microphone   Yes
                                      #325)[1], NFT (531813286152342148/Humpty Dumpty #81)[1], SOL[.00064261], USD[45.26], USDT[1.02543197]
07974830                              USD[21.51]                                                                                                                                                                            Yes

07974838                              USD[1490.83]                                                                                                                                                                          Yes

07974848                              SOL[.00000001], USD[0.00]

07974849                              NFT (445777811181300468/Coachella x FTX Weekend 1 #21819)[1]

07974850                              BRZ[0], CUSDT[1], LTC[0], SOL[0], TRX[1], USDT[1.08357351]                                                                                                                            Yes

07974858                              USD[20.00]

07974861                              USD[20.00]

07974864                              NFT (289777920940343833/Ferris From Afar #226)[1], NFT (413274986760485006/Entrance Voucher #29364)[1], USD[0.01]

07974867                              BTC[.00102152], USD[21.51]                                                                                                                                                            Yes

07974871                              USD[21.51]                                                                                                                                                                            Yes

07974875                              BTC[.00069393], SHIB[1], USD[0.00]                                                                                                                                                    Yes

07974882                              SHIB[313.09706074], UNI[.00000003], USD[0.00]

07974890                              USD[108.41]                                                                                                                                                                           Yes

07974906                              USD[20.00]

07974907                              BTC[.0012987], ETH[.00066058], ETHW[.00066058], SOL[.65], USD[0.65]

07974910                              CUSDT[4], SHIB[5688979.96357012], TRX[4], USD[0.00]

07974912       Contingent, Disputed   SHIB[1], SOL[.00000001], USD[0.00]                                                                                                                                                    Yes

07974921                              BRZ[1], SHIB[7257371.08730696], USD[0.00]                                                                                                                                             Yes
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                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07974941                           ETH[.00000001], NFT (319123397089323392/The 2974 Collection #0913)[1], NFT (330684417405679939/2974 Floyd Norman - CLE 4-0046)[1], NFT (400621579371507897/Birthday Cake #2403)[1],
                                   NFT (523693691707418128/2974 Floyd Norman - OKC 4-0114)[1], NFT (529299525103809749/Birthday Cake #0913)[1], NFT (570526227464269855/The 2974 Collection #2403)[1], USD[1962.16]

07974950                           BRZ[1], DOGE[1], ETH[1.17430632], ETHW[.2671608], TRX[1], USD[0.00]                                                                                                                   Yes

07974952                           USD[20.00]

07974953                           BTC[0.00000675], USD[20.01]

07974957                           NFT (557346765229161173/The Hill by FTX #1125)[1]

07974972                           ETH[.00699364], SHIB[1], USD[0.00]

07974978                           BTC[.00005762], DOGE[1], SHIB[8], SOL[.00005829], TRX[2], USD[499.04]                                                                                                                 Yes

07974980                           BRZ[1], CUSDT[1], NFT (321230228925106273/Entrance Voucher #3421)[1], SHIB[85844353.02271533], TRX[35788.40201378], USD[3518.03]                                                      Yes

07974982                           USD[0.69]

07974986                           SOL[2.85173516], TRX[1], USD[0.00]                                                                                                                                                    Yes

07974991                           NFT (295648519088900891/DOGO-IN-500 #1456)[1], NFT (330575952803176845/Microphone #5392)[1]

07974997                           BTC[.00384016], USD[0.44]

07974998                           CUSDT[1], DOGE[1322.72098271], SHIB[1], USD[0.01]

07975011                           ETH[0], ETHW[0], LTC[0], NFT (387377144842321631/FTX Crypto Cup 2022 Key #313)[1], NFT (435260904075896485/Imola Ticket Stub #1615)[1], NFT (505214566002183856/The Hill by FTX
                                   #758)[1], TRX[.000006], USD[0.00], USDT[0.00000007]
07975023                           CUSDT[4], DOGE[1], TRX[1], USD[0.00]                                                                                                                                                  Yes

07975026                           SHIB[99400], SOL[.00942], USD[0.00]

07975027                           USD[0.12]

07975028                           USD[0.49]

07975030                           BTC[.00003717], USD[0.00]

07975040                           CUSDT[1], NFT (377617210181386090/Sigma Shark #4524)[1], SOL[.00194466], USD[0.00]

07975049                           BTC[.01557484], ETH[.172878], ETHW[.172878], SHIB[5696000], SOL[.68999624], USD[1.06]

07975059                           NFT (508586567149184620/Coachella x FTX Weekend 1 #1032)[1]                                                                                                                           Yes

07975070                           USD[20.00]

07975078                           TRX[8645.824139]

07975081                           NFT (489593953142514138/FTX - Off The Grid Miami #2614)[1]

07975084                           USD[20.00]

07975090                           CUSDT[0], SHIB[0], TRX[0], USD[0.00], USDT[0]                                                                                                                                         Yes

07975097                           DOGE[3], SHIB[16], TRX[3], USD[0.00]

07975109                           DOGE[1], SHIB[19.11729761], TRX[1], USD[0.08], USDT[0]                                                                                                                                Yes

07975121                           USD[108.69]                                                                                                                                                                           Yes

07975139                           ETHW[.015854], MATIC[149.85], SOL[4], USD[0.47], USDT[0.86100002]

07975144                           BAT[0.00635726], BCH[0.00003645], BF_POINT[200], BRZ[0.01908379], BTC[0], DOGE[0], ETH[0], MATIC[0.11788587], SHIB[8065.03753107], SOL[0.00024247], USD[0.85]                         Yes

07975148                           USD[20.00]

07975153                           USD[5.83]

07975167                           BAT[1], BCH[1], BTC[.0274], DOGE[12], ETH[.01], ETHW[.01], EUR[1.00], GRT[1], LINK[1], MKR[1], PAXG[.1801], SOL[1], TRX[1], UNI[1], USD[0.01]

07975179                           BTC[.00172657], USD[0.00], USDT[0.00006953]

07975181                           BTC[.00016326], USD[43.47]                                                                                                                                                            Yes

07975182                           CUSDT[2], DOGE[1], LINK[26.20017038], SOL[.55136952], USD[0.00]                                                                                                                       Yes

07975194                           NFT (481081286285135944/Entrance Voucher #3246)[1], USD[0.00]

07975195                           SUSHI[16.28938473], USD[300.01]

07975221                           USD[0.01]                                                                                                                                                                             Yes

07975253                           SHIB[3], USD[0.01]                                                                                                                                                                    Yes

07975263                           BAT[.0005163], CUSDT[1], DOGE[1], MATIC[.00104321], SOL[.00000001], TRX[1], USD[0.00], USDT[1.07385051]                                                                               Yes

07975276                           USD[0.40], USDT[14.01117]

07975279                           GRT[51], USD[0.26]

07975281                           BTC[.00823918]

07975282                           USD[20.00]

07975289                           USD[0.00]                                                                                                                                                                             Yes

07975291                           SHIB[.00002497], USD[4.83]                                                                                                                                                            Yes

07975304                           CUSDT[3], SHIB[1453010.18995085], USD[1.03]                                                                                                                                           Yes

07975321                           USD[20.00]

07975333                           ETH[0], USD[0.00]

07975335                           SOL[.10329]

07975342                           USD[21.51]                                                                                                                                                                            Yes

07975345                           USD[20.00]

07975366                           BTC[.00915881], SHIB[5623524.93753781], USD[0.00]                                                                                                                                     Yes

07975372                           CUSDT[1], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07975374                              USD[20.00]

07975377                              ETH[.00225765], ETHW[.00223029], USD[0.00]                                                                                                                                                Yes

07975387                              USD[0.00], USDT[0.00000015]

07975393                              NFT (572034163748723626/Entrance Voucher #23234)[1]

07975397                              CUSDT[1234.26517441], DOGE[303.12057254], SHIB[1844592.93383187], USD[0.00]                                                                                                               Yes

07975398                              SOL[.00492038], USD[0.00]                                                                                                                                                                 Yes

07975402                              USD[47.92]                                                                                                                                                                                Yes

07975407                              DOGE[2], USD[0.00]

07975458                              CUSDT[1], ETH[.02662864], ETHW[.02630032], SOL[.56336592], TRX[1], USD[0.00]                                                                                                              Yes

07975464                              ETHW[.00083995], SHIB[10], TRX[1], USD[0.00], USDT[0.00000001]                                                                                                                            Yes

07975467                              CUSDT[2], SOL[1.1001678], USD[0.00]                                                                                                                                                       Yes

07975470                              BTC[0.12443299], CUSDT[2], DOGE[2], ETH[0], LINK[.00003472], MATIC[.00065479], SHIB[3], SOL[.00002149], TRX[5], USD[0.00]                                                                 Yes

07975471                              BTC[.0000004], ETH[.0000394], ETHW[4.31453925], SOL[.00016294]                                                                                                                            Yes

07975474                              SOL[.00017052], USD[0.00]

07975497                              BRZ[3], CUSDT[10], DOGE[2], SHIB[7668213.80109546], TRX[2], USD[0.00]                                                                                                                     Yes

07975501                              BAT[1.01395949], CUSDT[3], DOGE[1], SOL[2.23643606], USD[0.00]                                                                                                                            Yes

07975503                              USD[20.00]

07975513                              ETH[0], ETHW[0], USDT[0]

07975517                              CUSDT[1], DOGE[28.97157401], USD[21.37], USDT[0.10952843]                                                                                                                                 Yes

07975518                              AVAX[0], BAT[1], BRZ[2], DOGE[3], MATIC[0], TRX[6], USD[7.68]                                                                                                                             Yes

07975525                              NFT (406490187844685006/PixelTurtle#213)[1], NFT (491760308902511386/PixelTurtle#219)[1]

07975546                              BTC[.04510882], ETH[1.56396238], ETHW[1.56396238], SOL[10.99699919], USD[4475.00]

07975548                              USD[0.00], USDT[0]

07975561                              USD[20.00]

07975564                              DOGE[.01232382], SHIB[.00008983], USD[0.00]                                                                                                                                               Yes

07975568                              USD[21.51]                                                                                                                                                                                Yes

07975573                              BAT[1], BRZ[2], BTC[.00768397], ETH[.05567423], SHIB[14198935.13686115], SOL[3.25005905], TRX[2], USD[-110.00]                                                                            Yes

07975579                              NFT (298307063109543484/StickMen Solana #6198)[1]

07975609                              USD[21.51]                                                                                                                                                                                Yes

07975614                              NFT (522291691953608689/420utils #4)[1], USD[72.79]                                                                                                                                       Yes

07975622                              AAVE[.01142784], AVAX[2.19055128], BAT[2], BCH[.72865607], BRZ[7.06640469], BTC[.00008837], CUSDT[.33470168], DOGE[3452.52062966], ETH[.00052523], ETHW[.00052523], EUR[10.39],           Yes
                                      GBP[3.29], GRT[132.35510203], LINK[.00402725], LTC[1.18779079], MATIC[.04626972], NFT (338261262896196021/Robot rauss #25)[1], NFT (392995407682809316/SolBunnies #3978)[1], NFT
                                      (540033569592454867/SolBunnies #4098)[1], SHIB[2117329.84527222], SOL[382.22841835], SUSHI[129.48380682], TRX[24.23530511], UNI[1.15231863], USD[0.00], USDT[0.00001319],
                                      YFI[.01112501]
07975624                              MATIC[0], SHIB[4], SOL[0], USD[0.01]                                                                                                                                                      Yes

07975637                              BF_POINT[200], BRZ[1], BTC[0.00000001], CUSDT[15], DOGE[0.00050430], LINK[0], LTC[0], SHIB[0], SUSHI[0], TRX[5], USD[0.00]                                                                Yes

07975654       Contingent, Disputed   USDT[1.060414]

07975670                              DAI[0], ETH[0], LTC[0], SOL[0.08731484], USD[0.29]

07975678                              CUSDT[3], DOGE[1.90309505], MATIC[.00004727], SHIB[874.19752004], USD[26.91]                                                                                                              Yes

07975680                              USD[21.51]                                                                                                                                                                                Yes

07975682                              BTC[.00000002], ETH[.0000001], ETHW[.0000001], KSHIB[0], MATIC[0.00020536], SOL[.00000922], SUSHI[.00010479], USD[0.00], USDT[0]                                                          Yes

07975683                              ETH[.0183713], ETHW[.0183713], TRX[.805], USD[0.00]

07975684                              CUSDT[5], SOL[.50147558], USD[0.00]                                                                                                                                                       Yes

07975689                              BCH[.00180159]                                                                                                                                                                            Yes

07975699                              CUSDT[1], EUR[0.00], SHIB[1846486.41476078], USD[0.00]                                                                                                                                    Yes

07975700                              USD[10.00]

07975701                              SHIB[9871237.49947083]                                                                                                                                                                    Yes

07975706                              DOGE[2], SOL[45.93755817], USD[0.00], USDT[1.0591052]                                                                                                                                     Yes

07975719       Contingent, Disputed   AAVE[0], ALGO[0], BF_POINT[100], BTC[0], ETH[0], GRT[0], LINK[0], MATIC[0], NFT (427294880821174487/Saudi Arabia Ticket Stub #1379)[1], SHIB[5621.98761873], TRX[.00000001], USD[0.00],   Yes
                                      USDT[0]
07975728                              USD[20.00]

07975730                              USD[21.51]                                                                                                                                                                                Yes

07975731                              ETH[0], SOL[0]

07975753                              USD[20.00]

07975754                              USD[0.01], USDT[0]

07975755                              SOL[.21597]

07975765                              NFT (360700300611136619/Megalodon Rogue Shark Tooth)[1]

07975782                              CUSDT[4], LTC[2.95895508], TRX[7832.80352968], USD[0.00]                                                                                                                                  Yes

07975800                              BTC[.00110879], CUSDT[1], DOGE[280.66115], TRX[1], USD[3.72]                                                                                                                              Yes

07975806                              BTC[.00952689]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07975808                           USD[21.71]                                                                                                                                                                                  Yes

07975809                           BAT[1.00806872], CUSDT[2], DOGE[4], SHIB[1], TRX[1], USD[0.01]                                                                                                                              Yes

07975811                           CUSDT[1], MATIC[.00006669], USD[0.00]                                                                                                                                                       Yes

07975814                           LTC[7.52], SHIB[6000000], USD[47.34]

07975822                           BRZ[1], BTC[.00212627], CUSDT[6], DOGE[1], ETH[.00000228], ETHW[.00000228], USD[0.00]                                                                                                       Yes

07975828                           NFT (298074294023975124/Iron Man Ape Club #4)[1], NFT (451612074790038782/Iron Man Ape Club #3)[1], NFT (461686890123394669/Iron Man Ape Club)[1], NFT (515682975723095950/Iron Man
                                   Ape Club #2)[1], NFT (533794451201219764/Iron Man Ape Club #5)[1], NFT (537081600549065310/Iron Man Ape Club #7)[1], NFT (554847100459963577/Iron Man Ape Club #6)[1], USD[1.89], USDT[0]

07975829                           CUSDT[2], DOGE[1], LTC[.09679351], TRX[3], USD[0.00]                                                                                                                                        Yes

07975831                           BF_POINT[200], BTC[0.00005104], ETH[0], PAXG[0], USD[9.76], YFI[0]                                                                                                                          Yes

07975832                           ETHW[.045], SOL[0], USD[63.20]

07975834                           CUSDT[3], GRT[56.25325064], LINK[3.06719137], MATIC[30.79085489], SHIB[235411.5436605], TRX[1], USD[0.02]                                                                                   Yes

07975837                           USD[49.87]

07975840                           SHIB[1], SUSHI[5.7013841], USD[0.00]                                                                                                                                                        Yes

07975844                           SHIB[431909.31665274], USD[0.00]                                                                                                                                                            Yes

07975858                           USD[0.29]

07975863                           NFT (329720998295241228/You in, Miami? #435)[1]

07975876                           CUSDT[2], ETH[.00000162], ETHW[.00000162], NFT (312533794759288220/MagicEden Vaults)[1], NFT (388185849087468372/MagicEden Vaults)[1], NFT (393860571541667074/MagicEden            Yes
                                   Vaults)[1], NFT (416110369270094683/Sigma Shark #3024)[1], NFT (449075377622788808/Death Eyes)[1], NFT (466954259656899388/Cyber Frogs Ramen)[1], NFT (477551672180771513/MagicEden
                                   Vaults)[1], NFT (499283200269081832/Golden bone pass)[1], NFT (544740387635241370/Frog #8619)[1], NFT (567694102174716702/MagicEden Vaults)[1], SOL[.50861552], USD[0.11]

07975884                           BTC[.00000007], SHIB[2], TRX[1], USD[0.00]                                                                                                                                                  Yes

07975887                           AVAX[8.21911984], BAT[99.48891305], BRZ[2.05277733], BTC[.09642979], CUSDT[10], DOGE[13.45398859], ETH[1.83627406], ETHW[1.8355028], GRT[1219.89295856], LINK[36.91656066],                 Yes
                                   LTC[1.0202388], MATIC[720.56521147], SHIB[8075499.36461637], SOL[16.59086214], SUSHI[21.57616478], TRX[12.01438716], USD[655.98]
07975896                           USD[0.00]                                                                                                                                                                                   Yes

07975903                           BTC[0.01778831], GRT[27], LTC[1.79886], SHIB[599905], USD[3.79]

07975907                           SHIB[9.13242009]                                                                                                                                                                            Yes

07975914                           USD[4.71]

07975937                           BTC[.00210084], ETH[.00528596], ETHW[.00521756], SHIB[32777.99029126], USD[40.73], USDT[0]                                                                                                  Yes

07975948                           CUSDT[462.31845708], DOGE[296.80340132], USD[0.00]

07975952                           EUR[0.00], USD[0.00], USDT[0]                                                                                                                                                               Yes

07975956                           ETH[0], TRX[1], USD[0.00]

07975969                           CUSDT[3], USD[0.00]

07975970                           AUD[0.00], BF_POINT[400], BTC[0], CAD[0.00], DOGE[0], ETH[0], ETHW[0], EUR[0.00], GBP[0.00], MATIC[0], NFT (345235270236055522/Barcelona Ticket Stub #2275)[1], NFT                         Yes
                                   (346184664811404465/Astral Apes #2801)[1], NFT (415166905701298500/APEFUEL by Almond Breeze #789)[1], NFT (491924362056502170/Imola Ticket Stub #1960)[1], NFT
                                   (524973742368897563/APEFUEL by Almond Breeze #103)[1], NFT (533897541660760994/Entrance Voucher #25894)[1], NFT (536693263532559802/Astral Apes #2221)[1], SHIB[3], USD[0.00],
                                   USDT[0.00000917]
07975971                           USD[20.00]

07975999                           NFT (468528987492486279/You in, Miami? #436)[1]

07976003                           SOL[.0518954], USD[0.00]

07976007                           BRZ[2], CUSDT[13], DOGE[1], NFT (483420759464718176/Saudi Arabia Ticket Stub #1376)[1], NFT (522288758993433431/Entrance Voucher #2396)[1], NFT (573925756694383372/FTX - Off The Grid Yes
                                   Miami #2281)[1], SHIB[38455211.26797954], TRX[3], USD[0.00]
07976016                           CUSDT[495.7276409], DOGE[24.05046391], ETH[.00075418], ETHW[.00074752], SHIB[415757.67477978], SOL[.0451569], USD[36.64]                                                               Yes

07976017                           USD[0.01]

07976021                           USD[20.00]

07976029                           DOGE[207.19627471], USD[0.03]

07976036                           USD[5.00]

07976040                           CUSDT[1], SHIB[648679.69091515], USD[0.00]

07976042                           BTC[0], DOGE[.3101838], USD[0.97]

07976053                           USD[0.00]                                                                                                                                                                                   Yes

07976059                           USDT[55]

07976063                           SOL[.57831], TRX[.585107], USDT[1.53140338]

07976066                           USD[50.00]

07976067                           BAT[1], DOGE[4], NFT (413157043418271445/Romeo #3184)[1], SHIB[11], SOL[0], TRX[2], USD[0.01]                                                                                               Yes

07976079                           SOL[.07512]

07976103                           CUSDT[4], SHIB[3120092.48215204], USD[0.23]                                                                                                                                                 Yes

07976110                           CUSDT[3], DOGE[2], SHIB[6126177.62989308], TRX[.00849455], USD[0.00]                                                                                                                        Yes

07976111                           ETH[.00123866], ETHW[.00123866], SOL[.05182808], USD[0.00]

07976114                           BRZ[1], BTC[.00033703], CUSDT[2], DOGE[123.36075149], ETH[.01238511], ETHW[.01238511], USD[0.00]

07976126                           NFT (445794159921770438/You in, Miami? #437)[1]

07976127                           ETH[.02161681], ETHW[.02161681]

07976134                           USD[100.00]

07976136                           USD[779.86]

07976140                           BF_POINT[300], USD[0.00]                                                                                                                                                                    Yes
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                                                                                                                                            Customer Claims                                                                                                                22-11071 (JTD)
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07976145                              DOGE[0], SHIB[0], TRX[0], USD[0.02]                                                                                                                                                          Yes

07976152                              CUSDT[1], DOGE[1], MATIC[.16725762], SHIB[3688883.68413725], TRX[3], USD[0.03]                                                                                                               Yes

07976168                              CUSDT[2], USD[0.01]

07976171                              USD[20.00]

07976196                              USD[0.04]                                                                                                                                                                                    Yes

07976200                              DOGE[1], MATIC[571.93948144], TRX[1], USD[0.00]                                                                                                                                              Yes

07976208                              USD[100.00]

07976209                              CUSDT[4], DOGE[1397.36422517], SHIB[8630949.03731485], USD[0.00]

07976215                              CUSDT[1], SHIB[233943.00297745], USD[0.00]

07976222                              USD[20.00]

07976244                              NFT (470092263834778745/Saudi Arabia Ticket Stub #1585)[1]

07976245                              CUSDT[2], DOGE[1], USD[0.00]

07976246                              DOGE[.00002777], USD[49.74]

07976252                              USD[0.00]                                                                                                                                                                                    Yes

07976259                              KSHIB[6077.20972608], USD[0.00]                                                                                                                                                              Yes

07976266                              NFT (342152011942548660/Entrance Voucher #1987)[1], USD[0.59]

07976271                              USD[20.00]

07976273                              NFT (546075000291574827/Imola Ticket Stub #1990)[1]

07976296                              USD[0.65]

07976298                              ETHW[.04852356], SOL[.57], USD[776.97]

07976309                              USD[30.00]

07976316                              BRZ[2], CUSDT[5], NFT (315054021198016292/Space Bums #1216)[1], NFT (401996360466117362/Oink 1176)[1], NFT (452488967075675118/DOTB #2112)[1], NFT (467900625810741848/Astral                Yes
                                      Apes #527)[1], NFT (543917048995597063/Kiddo #7368)[1], SOL[.05971509], USD[0.00]
07976325                              BRZ[1], TRX[1], USD[0.09]

07976326       Contingent, Disputed   USD[0.01]                                                                                                                                                                                    Yes

07976329                              USD[20.00]

07976331                              BAT[860.09398367], BTC[.00210632], DOGE[2], SOL[13.68643604], TRX[4818.87169476], USD[16.79], USDT[1.08165552]                                                                               Yes

07976335                              BRZ[3], CUSDT[9], DOGE[3], SHIB[7841907.15181932], TRX[2], USD[55.54], USDT[1]

07976340                              LINK[24.1], USD[0.06]

07976343                              DOGE[1], TRX[2], USD[4105.06], USDT[1.08096344]

07976349                              KSHIB[73.66257854], SHIB[227376.24964966], TRX[1], USD[21.51]                                                                                                                                Yes

07976353                              AVAX[0], BTC[0], CUSDT[0], DAI[0], DOGE[0], ETH[0], ETHW[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], NFT (523390045202538937/Entrance Voucher #2104)[1], SHIB[0], SOL[0], USD[0.00], USDT[0],   Yes
                                      YFI[0]
07976354                              CUSDT[2], DOGE[1], SHIB[153.82327952], USD[0.00]                                                                                                                                             Yes

07976366                              BTC[.00271157], TRX[1], USD[0.00]                                                                                                                                                            Yes

07976368                              BRZ[1], BTC[.00280649], CUSDT[7], DOGE[464.35789714], LTC[5.72040085], NFT (358715787717655472/Mad Lions Remastered #29)[1], NFT (417670530129475285/Metaverse Owl)[1], NFT                  Yes
                                      (525706415277850546/ALPHA:RONIN #560)[1], NFT (537224792564754715/Mad Lions Remastered #31)[1], NFT (560862420151510863/SOLYETIS #7264)[1], SHIB[3412436.45497421],
                                      SOL[13.49017653], TRX[4], USD[0.03]
07976369                              USD[30.00]

07976375                              SHIB[157988.48112265], USD[97.81]                                                                                                                                                            Yes

07976392       Contingent, Disputed   DOGE[.78], USD[0.01]

07976398                              USD[20.00]

07976400                              DOGE[.32752933], ETHW[.12338305], SHIB[.00000013], SOL[3.05030923], USD[0.00]

07976409                              USD[0.01]                                                                                                                                                                                    Yes

07976432                              BRZ[107.98732189], CUSDT[3], LINK[2.19296156], SUSHI[2.22814514], USD[0.00]                                                                                                                  Yes

07976433                              BRZ[1], CUSDT[2], SHIB[972764.77272216], USD[0.00]                                                                                                                                           Yes

07976435                              BRZ[2], CUSDT[2], DOGE[4], ETH[.58101879], ETHW[.58101879], SHIB[4], TRX[2], USD[0.00]

07976444                              BTC[.0016], USD[4.83]

07976445                              ETH[.00996847], ETHW[.00996847], USD[0.00]

07976453                              CUSDT[2], MATIC[31.1070364], SOL[.22813211], USD[0.00]                                                                                                                                       Yes

07976468                              BTC[.00000984], CUSDT[5], DOGE[2], KSHIB[5043.67619891], TRX[370.37828448], USD[0.47]                                                                                                        Yes

07976470                              DOGE[1], ETH[.00323147], ETHW[.00323147], SOL[.06601967], TRX[1], USD[0.00]

07976477                              USD[100.00]

07976478                              BTC[.0145569], SHIB[1], USD[0.00]                                                                                                                                                            Yes

07976488                              USD[0.00]                                                                                                                                                                                    Yes

07976492                              USD[20.00]

07976493                              USD[0.01]

07976499                              CUSDT[1], GRT[12.96960407], SHIB[264340.47052603], SOL[.10582584], USD[0.00]

07976501                              CUSDT[1], SHIB[67918.46381066], USD[5.44]                                                                                                                                                    Yes

07976504                              USD[21.51]                                                                                                                                                                                   Yes

07976505       Contingent, Disputed   BRZ[1], CUSDT[2], DOGE[.81], MATIC[.00004475], SHIB[52.0828565], TRX[1], USD[0.00], USDT[0.00681264]                                                                                         Yes
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                                                                                                                                            Customer Claims                                                                                                              22-11071 (JTD)
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07976516                              CUSDT[6], ETHW[.01021139], KSHIB[151.44007395], SHIB[161721.03998415], SOL[.137], TRX[2], USD[52.83]                                                                                       Yes

07976519                              USD[20.00]

07976520                              USD[0.00]

07976524                              SHIB[50911.09061256], USD[0.00]                                                                                                                                                            Yes

07976528                              CUSDT[1], SOL[.1135031], USD[0.00]                                                                                                                                                         Yes

07976530                              ETHW[.723276], USD[2.77]

07976542                              DOGE[1], USD[10.38]                                                                                                                                                                        Yes

07976543       Contingent, Disputed   USD[1.17], USDT[0]

07976544                              BAT[16.62699777], CUSDT[7], DOGE[4.00614166], KSHIB[204.18171446], MATIC[7.23709684], SHIB[220408.27804452], TRX[289.29800332], USD[8.28], USDT[0]                                         Yes

07976564                              USD[0.01]                                                                                                                                                                                  Yes

07976583                              USD[0.00], USDT[0]

07976590                              CUSDT[2], USD[0.00]

07976593                              BF_POINT[100], BTC[.00000025], ETH[.00001133], ETHW[1.20192510], LTC[2.57341195], SHIB[3], TRX[1], USD[0.04], USDT[0]                                                                      Yes

07976601                              ETH[0], KSHIB[0], LTC[0], MKR[0], SHIB[0], SOL[1.83506882], TRX[0], USD[0.08]                                                                                                              Yes

07976604                              KSHIB[548.54963476], USD[0.07]

07976608                              AVAX[0], BTC[0], ETH[0.97458665], ETHW[0.97458665], MATIC[0], SOL[0], USD[0.00], USDT[0.00045167]

07976610                              USD[4.79]

07976619                              SOL[0]

07976625                              USD[0.00], USDT[0]                                                                                                                                                                         Yes

07976630                              BF_POINT[100], BRZ[2], CUSDT[4910.5459038], ETHW[3.54906045], GRT[67.89246111], LINK[1.32341214], MATIC[11.04342644], SHIB[17], SOL[3.87806578], SUSHI[2.29892133], TRX[5],                Yes
                                      UNI[1.12858513], USD[0.00], USDT[1.00024651]
07976637                              KSHIB[10633.3942438], NFT (300950425034967235/Horse Number #11)[1], NFT (314515539599799986/Animal Gang #73)[1], NFT (324460567729265789/pixel man #13)[1], NFT                            Yes
                                      (330117098103712970/God. Bring us a miracle. #9)[1], NFT (358837765120755721/Italian Sports Car #2)[1], NFT (378652712268363819/ Heavenly water#063)[1], NFT (384701635457658387/digital
                                      machine #13)[1], NFT (408051529361248882/Skull in a cage)[1], NFT (438803717273551814/digital machine #11)[1], NFT (486008398737865341/Travel sprouts collection #33)[1], NFT
                                      (512524053704182210/RelaxingMind)[1], NFT (566034708397976220/Horse Number #6)[1], SHIB[192006438.81432045], SOL[2], TRX[1], USD[28.23], USDT[0.00000001]
07976638                              BRZ[1], SHIB[32592783.98018122], USD[0.00], USDT[0]

07976640                              USD[21.51]                                                                                                                                                                                 Yes

07976690                              CUSDT[1], DOGE[1], SHIB[8355283.94027997], USD[0.00]                                                                                                                                       Yes

07976691                              USD[0.00]

07976695                              USD[0.00]

07976697                              BAT[1], ETH[.022], ETHW[.022], USD[0.17]

07976714                              BTC[.00479656], CUSDT[8], DOGE[733.81332977], ETH[.12139307], ETHW[.12022571], SHIB[3], SOL[2.99379454], TRX[1], USD[340.64]                                                               Yes

07976720                              BTC[.06287395], USD[4.73]

07976721                              BTC[.00033863], CUSDT[5], DOGE[88.66581054], MATIC[11.94647548], SHIB[2007022.55706761], SOL[.11396736], TRX[1], USD[0.08]                                                                 Yes

07976727                              DOGE[1], TRX[1], USD[0.01]                                                                                                                                                                 Yes

07976730                              SHIB[1860389.61038961], USD[0.01]

07976733                              ETHW[5.1662722]                                                                                                                                                                            Yes

07976740                              SHIB[1052870.07648339], USD[0.00], USDT[0.00000132]

07976742                              USD[20.00]

07976744                              CUSDT[244.34260827], SHIB[429528.20424008], SUSHI[5.04591876], TRX[117.1832229], USD[0.00]                                                                                                 Yes

07976747                              NFT (322188756196080213/3D CATPUNK #4181)[1], TRX[1.46511373], USD[0.00]                                                                                                                   Yes

07976749                              SOL[.00959573], TRX[.000097], USD[28.91], USDT[0.00595100]

07976750                              MATIC[10], USD[5.70]

07976752                              CUSDT[1], SHIB[1288161.79312121], USD[0.00]

07976753                              USD[0.01]

07976766                              CUSDT[1], SHIB[3], USD[0.00]                                                                                                                                                               Yes

07976770                              USD[20.00]

07976772                              USD[18.82]                                                                                                                                                                                 Yes

07976799                              AUD[7.24], BTC[.00014712], CUSDT[3], DAI[7.3045245], DOGE[39.6780893], KSHIB[190.67085634], SHIB[122841.53485705], TRX[1], USD[0.44]                                                       Yes

07976801                              SOL[.00000001], USDT[0]

07976803                              ETH[.00000001], ETHW[.00000001], USD[21.90]                                                                                                                                                Yes

07976812                              USD[0.00]

07976816       Contingent,            MATIC[0], USD[397.75], USDT[0.00000001]
               Unliquidated
07976830                              SOL[1.998], USD[22.00]

07976831                              USD[0.02]

07976837                              USD[20.00]

07976840                              DOGE[1], SHIB[641019.03918606], USD[0.02]                                                                                                                                                  Yes

07976844                              CUSDT[3], TRX[2], USD[261.50]
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                                                                                                                                            Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07976845                              NFT (297641536897913625/SolBunnies #3013)[1], NFT (306303633731308652/SolBunnies #382)[1], NFT (307145978605656618/SolBunnies #2281)[1], NFT (318387092789471537/Fancy Frenchies
                                      #2787)[1], NFT (331242302519200795/#218)[1], NFT (337517041824503560/Megalodon Rogue Shark Tooth)[1], NFT (354546760731988598/#6823)[1], NFT (361771400404223538/SolBunnies
                                      #3480)[1], NFT (386046196158074110/SolBunnies #2671)[1], NFT (388853632130176187/#2908)[1], NFT (389690237227271384/#6561)[1], NFT (395527290317665723/#5311)[1], NFT
                                      (414648546663415465/SolBunnies #62)[1], NFT (418275867103365711/SolBunnies #789)[1], NFT (419683541072382581/SolBunnies #4031)[1], NFT (436480469129216035/#4508)[1], NFT
                                      (440199154070280169/#3002)[1], NFT (466960477961322386/SolBunnies #1506)[1], NFT (474502606927392210/SolBunnies #1596)[1], NFT (484363511396077643/SolBunnies #2659)[1], NFT
                                      (503248824372916088/#6216)[1], NFT (511274104406105103/SolBunnies #1519)[1], NFT (512669206644162746/#1008)[1], NFT (514031049097056194/Fancy Frenchies #4974)[1], NFT
                                      (549906413494030461/#1931)[1], NFT (552111468449116629/SolBunnies #458)[1], NFT (558643821608553778/Megalodon Rogue Shark Tooth)[1], NFT (565522833027076190/#600)[1], NFT
                                      (571230670502203069/Fancy Frenchies #5715)[1], NFT (574973862307611038/#9333)[1], USDT[6.8372516]
07976847                              USD[20.00]

07976850                              TRX[.51406219], USD[477.17]

07976853                              ETH[0], USD[4.57]

07976856                              CUSDT[5], SHIB[9.97268613], TRX[1], UNI[.00000992], USD[0.01]                                                                                                                      Yes

07976864                              USD[2.41]

07976870                              SOL[.11589287], USD[0.00]                                                                                                                                                          Yes

07976874                              USD[422.48]

07976879                              BTC[.00414156], CUSDT[5], SHIB[10003055.62247374], USD[0.00]

07976887                              BTC[0], USD[0.00]

07976896                              CUSDT[1], DOGE[1], USD[0.01]                                                                                                                                                       Yes

07976899                              BRZ[1], DOGE[1], GRT[109.55265321], TRX[1157.15236899], USD[0.01]                                                                                                                  Yes

07976905                              USD[20.00]

07976906                              USD[20.00]

07976909                              USD[0.83]

07976910                              BRZ[1], CUSDT[5], DOGE[1.76358271], ETH[.00006455], ETHW[.00006455], GRT[42.72795637], SHIB[3], USD[0.09]                                                                          Yes

07976915                              NFT (548197331288339445/Microphone #735)[1], SHIB[16644.47403462], USD[0.00]

07976917                              DOGE[1], SHIB[6566687.66810809], TRX[3], USD[2703.33]                                                                                                                              Yes

07976919       Contingent, Disputed   NFT (296990516884334990/Primitive #23)[1], NFT (299500032449079120/Toy #3)[1], NFT (303672219363065470/Primitive #24)[1], NFT (317096523977371236/TransformRobo #3)[1], NFT
                                      (360876400079458257/Primitive #21)[1], NFT (368690887146613729/TransformRobo #2)[1], NFT (380060978503554030/Genie #3)[1], NFT (394992299651385832/Toy #4)[1], NFT
                                      (403750010918530924/Genie #4)[1], NFT (431875381824832287/TransformRobo #4)[1], NFT (432073143269013804/TransformRobo)[1], NFT (435886120376492650/Genie #2)[1], NFT
                                      (476334652941416407/Primitive #22)[1], NFT (493284478849054157/Genie)[1], NFT (500977539279357827/Primitive #16)[1], NFT (515327759495967298/Toy #2)[1], NFT
                                      (544333773458866329/Toy)[1], NFT (566384814052791844/Genie #5)[1], SOL[.009], USD[45.89]
07976924                              USD[0.75], USDT[0]

07976935                              CUSDT[2], DOGE[221.44482925], SHIB[1474655.90953927], USD[0.01]                                                                                                                    Yes

07976939                              USD[21.51]                                                                                                                                                                         Yes

07976941                              SHIB[455274.79880589], SOL[.108], USD[0.00]

07976944                              CUSDT[10], DOGE[311.34068288], ETH[.06897887], ETHW[.06812212], MATIC[34.54621331], NFT (525293880447776930/Entrance Voucher #25279)[1], SOL[.48626842], TRX[2], USD[0.00]         Yes

07976946                              BAT[1], BRZ[1], BTC[.02164208], DOGE[1], ETHW[2.03769715], SHIB[1], TRX[2], USD[0.02]                                                                                              Yes

07976969                              USD[20.00]

07976974                              CUSDT[1], SHIB[363481.75929712], SOL[2.10418305], USD[26.12]                                                                                                                       Yes

07976975                              BCH[.25867291], SHIB[1], TRX[1], USD[0.00], USDT[0]                                                                                                                                Yes

07976988                              USD[50.00]

07976996                              AVAX[2.599], BTC[.0032967], DOGE[1825], ETH[.059], ETHW[.059], SOL[4.32], USD[16.74]

07977007                              NFT (447480655924328455/FTX Crypto Cup 2022 Key #2459)[1]                                                                                                                          Yes

07977009                              NFT (531533204478450365/You in, Miami? #438)[1]

07977010                              BTC[.04137383], TRX[1], USD[999.00]

07977018                              USD[20.00]

07977047                              BRZ[2], CUSDT[5], DOGE[1], NFT (498799943623034696/Beyond The Object #012)[1], TRX[1], USD[0.00]                                                                                   Yes

07977053                              BTC[.19194975], USD[0.00]                                                                                                                                                          Yes

07977073                              USD[21.51]                                                                                                                                                                         Yes

07977075                              USD[0.00]

07977085                              CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                        Yes

07977093       Contingent, Disputed   SHIB[5288157290], USD[9.03]

07977112                              CUSDT[2], SHIB[2], SOL[.00001259], USD[0.00]                                                                                                                                       Yes

07977121                              BCH[0], CUSDT[4], DOGE[1], KSHIB[0], LTC[.00002772], MATIC[0], SHIB[1], SUSHI[.00004666], USD[0.00]                                                                                Yes

07977125                              USD[100.00]

07977126                              USD[0.01]

07977131                              BTC[.0315814], USD[1.23]

07977137                              USD[20.00]

07977140                              BTC[.0000982], MATIC[.702], SOL[.01476], USD[1.40]

07977142                              USD[0.37]

07977146                              BTC[.00032349], DOGE[176.57239455], ETH[.00236868], ETHW[.00236868], SHIB[503619.01327298], SOL[.18073255], USD[0.00]

07977151                              SOL[.02347551], USD[0.00]

07977152                              BTC[.00016925], DOGE[1], USD[0.00]                                                                                                                                                 Yes

07977156                              USD[0.00]                                                                                                                                                                          Yes
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                                                                                                                                            Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07977173                              SHIB[610413.63032107], SOL[.000001], USD[0.00]                                                                                                                                     Yes

07977177                              USD[1.24]

07977202                              USD[0.00]

07977205                              USD[20.00]

07977210                              USD[0.11]

07977232                              USD[20.00]

07977246                              USD[0.01], USDT[0]

07977249                              USD[20.00]

07977253                              BRZ[554.38517888], CUSDT[3], DOGE[403.61185584], ETH[.03749357], ETHW[.03749357], TRX[1069.20123834], USD[5.24], USDT[99.44073437]

07977258                              BTC[.16135964], COMP[1.231], USD[573.17], USDT[485.00399538]

07977282                              BTC[.00031813], ETH[.00164114], ETHW[.00162746], SHIB[1], USD[0.07]                                                                                                                Yes

07977286                              ETH[0.00000002], ETHW[0.00000002], USD[0.00]                                                                                                                                       Yes

07977306                              BRZ[301.64213543], BTC[.00489683], CUSDT[3], DOGE[327.82622724], TRX[873.68712613], USD[0.00]                                                                                      Yes

07977314                              BCH[.17779112], BTC[.00042428], CUSDT[2], DOGE[1], ETH[.06255303], ETHW[.06255303], LTC[.54075284], SUSHI[2.34823296], TRX[2], USD[0.00]

07977315                              BTC[.00072962], DOGE[104.18335576], SHIB[614469.67282777], USD[0.00]

07977319                              CUSDT[1], SHIB[1244258.80059636], USD[0.00]                                                                                                                                        Yes

07977323                              CUSDT[1], USD[0.00]                                                                                                                                                                Yes

07977327                              BTC[.093], ETH[1.465216], ETHW[1.465216], USD[10.58], YFI[.014]

07977334                              BRZ[1], CUSDT[1], USD[0.00]                                                                                                                                                        Yes

07977337                              CUSDT[1], SOL[.21205159], USD[0.00]                                                                                                                                                Yes

07977360                              DOGE[10.998], NFT (349222708290123641/DOTB #5379)[1], NFT (420003185034532875/Settler #1621)[1], NFT (500441873021392024/DOTB #4111)[1], SOL[.12974], USD[5.76]

07977364                              USD[20.00]

07977369                              SHIB[8372795.5161969], TRX[.012314], USD[0.00], USDT[9.71000000]

07977373                              USD[10.00]

07977376                              USD[20.00]

07977377                              DAI[99.7002], USD[-78.14]

07977378                              USD[20.00]

07977380                              USD[1.67]

07977381                              USD[4.90]

07977382                              BRZ[3], BTC[.00431465], CUSDT[8], DOGE[4], ETH[.02151647], ETHW[.02151647], GRT[1], TRX[1], USD[185.92]

07977384                              SOL[.00499836], USD[0.69]

07977392       Contingent, Disputed   USD[0.46]                                                                                                                                                                          Yes

07977397                              BTC[.1353], ETH[2.313], ETHW[2.313], SOL[21.62], USD[488.09]

07977405                              KSHIB[130.95861707], SHIB[.000007], USD[0.00]

07977407                              USD[10.87]                                                                                                                                                                         Yes

07977415                              GRT[.353], NFT (358787781152834455/Entrance Voucher #25100)[1], SHIB[99600], USD[100.59]

07977423                              CUSDT[5], DOGE[31.09572078], ETH[.00259026], ETHW[.0025629], SHIB[165397.76108456], USD[0.01], YFI[.00022266]                                                                      Yes

07977424                              USD[54.34]                                                                                                                                                                         Yes

07977435                              CUSDT[3], USD[0.00]                                                                                                                                                                Yes

07977436                              CUSDT[1], SHIB[1], USD[0.01]                                                                                                                                                       Yes

07977437                              CUSDT[2], DOGE[1], SHIB[16108133.60145156], USD[0.00]                                                                                                                              Yes

07977444                              ETH[.01125163], ETHW[.01125163], USD[49.79], USDT[0.00000001]

07977447                              USD[0.01]

07977452                              BTC[.0084], USD[4.94]

07977458                              ETHW[.00067859], SOL[.00971138], TRX[.798174], USD[224.12]                                                                                                                         Yes

07977460                              NFT (322387787421702719/#545)[1], NFT (329251591429980251/MagicEden Vaults)[1], NFT (334970021186834456/#4989)[1], NFT (339719074261954784/Rox #132)[1], NFT
                                      (369095250361222027/SolDad #1211)[1], NFT (377311717431653322/#5284)[1], NFT (380114988461752741/#496)[1], NFT (394255323768427599/Cyber Frogs Ramen)[1], NFT
                                      (395922079378651980/Toasty Turts #4591)[1], NFT (396480697434674728/#5099)[1], NFT (411147101615017568/Huntington Beach”Surf city USA”)[1], NFT (415315823273200962/Golden bone
                                      pass)[1], NFT (423003946722588849/Sloth #2907)[1], NFT (433755895994931473/FTX AU - we are here! #39546)[1], NFT (439503856201110114/MagicEden Vaults)[1], NFT
                                      (463493475206397582/Megalodon Rogue Shark Tooth)[1], NFT (475365972847117908/MagicEden Vaults)[1], NFT (494149809746760420/Frog #5234)[1], NFT (498772630504979147/Rox #248)[1],
                                      NFT (523071789937248867/Solana Penguin #803)[1], NFT (527985295526071063/FTX AU - we are here! #60966)[1], NFT (540198887030989186/MagicEden Vaults)[1], NFT
                                      (558464092598285686/MagicEden Vaults)[1], NFT (564123547966907868/SolBunnies #3876)[1], SOL[.226]
07977465                              USD[0.01]

07977475                              BTC[.00007533], CUSDT[2], DOGE[311.07100076], KSHIB[33.58723942], SHIB[281957.00940931], USD[0.00], USDT[0]                                                                        Yes

07977476                              BTC[.00093535], CUSDT[1], USD[0.01]                                                                                                                                                Yes

07977477                              BTC[.02807752], SOL[66.02], USD[0.46]

07977488                              AVAX[0.00090898], BTC[0], ETH[0], ETHW[0.00241859], MATIC[0], SHIB[1], SOL[0], USD[0.03]

07977496                              SHIB[99900], USD[3.66]

07977499                              CUSDT[2], LINK[.52022718], MATIC[7.99951906], USD[0.00]                                                                                                                            Yes

07977504                              BTC[.00002653], CAD[0.10], SHIB[0.28310508], SUSHI[0.21534419], USD[0.55]                                                                                                          Yes

07977510                              USD[21.51]                                                                                                                                                                         Yes
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07977511                              SOL[0.00053365]

07977514                              CUSDT[3], DOGE[1], SHIB[2], TRX[2], USD[0.00]                                                                                                                                        Yes

07977517                              BAT[612.57633294], BTC[.0249622], CUSDT[2], DOGE[2077.95219746], GRT[1220.41710945], MATIC[340.20621952], SHIB[3891538.58860129], SOL[5.45786823], TRX[2], USD[0.00],                Yes
                                      USDT[540.01453412]
07977519                              DOGE[15000], SOL[1.06219551], USD[5.09]

07977529                              BTC[.999], SOL[124.875], USD[29847.50]

07977536                              BRZ[1], USD[0.01]

07977537                              USD[20.00]

07977547                              ALGO[1175.7642078], BRZ[2], BTC[0], CUSDT[4], DOGE[4008.96370756], SHIB[2], TRX[3], USD[0.00]

07977560                              CUSDT[517.87567655], DOGE[27.161205], GRT[6.51095335], KSHIB[2483.64803409], MATIC[7.19756819], SHIB[77694.50248446], SOL[.08438401], SUSHI[1.20626407], TRX[140.46719619],          Yes
                                      USD[3.42]
07977566                              USD[0.00]                                                                                                                                                                            Yes

07977568                              USDT[.725015]

07977570                              USD[21.51]                                                                                                                                                                           Yes

07977577                              BTC[.00000009]                                                                                                                                                                       Yes

07977593                              USD[450.00]

07977595                              CUSDT[1], ETH[.51443822], ETHW[.51422202], SHIB[4620354.10319914], USD[0.00], USDT[1.08654633]                                                                                       Yes

07977606                              ETH[.01161184], ETHW[.01161184], SHIB[713470.3196347], USD[0.00]

07977607                              BF_POINT[300], CUSDT[13], KSHIB[261.62082032], TRX[1], USD[0.17]                                                                                                                     Yes

07977611                              BTC[.00864871], CUSDT[3], DOGE[2], TRX[1], USD[0.00]

07977630                              USD[20.00]

07977635       Contingent, Disputed   USD[21.51]                                                                                                                                                                           Yes

07977637                              SHIB[1], USD[0.00]                                                                                                                                                                   Yes

07977643                              USD[2.00]

07977651                              MATIC[0], SOL[0], USD[0.00], USDT[0.00000001]                                                                                                                                        Yes

07977652                              CUSDT[1], DOGE[982.9678428], USD[271.31]                                                                                                                                             Yes

07977653       Contingent, Disputed   SOL[.00000001]

07977673                              ALGO[.00048351], AVAX[.00003887], BF_POINT[400], BTC[.00000001], ETH[.00000815], ETHW[.89278887], LTC[.00000988], SOL[.00000988], USD[0.00]                                          Yes

07977674                              BRZ[1], BTC[.00000014], CUSDT[8], DOGE[5], ETHW[.06568899], MATIC[.00105273], NFT (526521108089287793/Entrance Voucher #2465)[1], NFT (539833232835647760/Saudi Arabia Ticket Stub   Yes
                                      #2020)[1], SHIB[6], SOL[.00001928], TRX[1], USD[0.00]
07977682                              SHIB[2433460.07604562], USD[0.00]

07977683                              SHIB[1725936.23907273], TRX[1], USD[0.00]                                                                                                                                            Yes

07977692                              USD[20.00]

07977704                              BAT[0], DAI[0], DOGE[0], ETH[0], KSHIB[0], SHIB[1824650.29145411], SOL[0], TRX[0], USD[0.00]                                                                                         Yes

07977727                              USD[2.92]

07977733                              NFT (532226712544180035/Good Boy #5051)[1]

07977735                              USD[20.00]

07977740                              BF_POINT[200]                                                                                                                                                                        Yes

07977742                              SHIB[100000], TRX[914.05534536], USD[0.00]

07977754                              ETH[.0000021], ETHW[.0000021], SHIB[1], TRX[.12703223], USD[0.01]                                                                                                                    Yes

07977759                              USD[0.00]

07977763                              USD[1.09]

07977764       Contingent, Disputed   USD[21.51]                                                                                                                                                                           Yes

07977765                              USD[0.00]

07977771                              USD[54.34]                                                                                                                                                                           Yes

07977772                              BRZ[.90935394], CUSDT[7], DOGE[2.00837872], KSHIB[.00002446], SHIB[834.19885071], SOL[.00005954], USD[0.01]                                                                          Yes

07977782                              ETH[.442448], ETHW[.442448], KSHIB[4995], LTC[4], SOL[16.97165], USD[0.53]

07977785       Contingent, Disputed   USD[0.01]                                                                                                                                                                            Yes

07977798                              USD[50.00]

07977799                              BTC[0], USD[11.12]

07977801                              BTC[.00168955], TRX[1], USD[0.00]

07977805                              CUSDT[4], DOGE[49.1865044], KSHIB[486.46208644], LINK[1.67623086], MATIC[6.48887539], SHIB[479790.22767971], TRX[1], USD[0.00]

07977813                              USD[0.00]

07977814       Contingent, Disputed   USD[20.00]

07977820                              BCH[0], DOGE[38.59774424], SOL[0], USD[0.00]

07977827                              BRZ[1], CUSDT[3], DOGE[4], ETHW[3.01353251], NFT (543670582177899069/Romeo #755)[1], SHIB[3], TRX[4], USD[0.00], USDT[0]                                                             Yes

07977829                              ETHW[.05230377], SHIB[4], USD[78.94]                                                                                                                                                 Yes

07977832                              BF_POINT[200]                                                                                                                                                                        Yes

07977833                              USD[0.00]

07977836                              USD[2483.39]
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                                                                                                                                         Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07977840                           SHIB[145732.27240973], USD[0.00]                                                                                                                                                       Yes

07977841                           CUSDT[2], ETH[0], GRT[1], USD[0.00]

07977845                           USD[20.00]

07977848                           CUSDT[4], GRT[1.00157198], USD[0.00]                                                                                                                                                   Yes

07977850                           USD[20.00]

07977852                           CUSDT[3], DOGE[1], SOL[2.46535939], USD[0.74]                                                                                                                                          Yes

07977854                           CUSDT[1], DOGE[426.88448816], ETH[.1083219], ETHW[.10722843], SOL[1.91426005], TRX[2], USD[0.00], USDT[1.0720868]                                                                      Yes

07977869                           BTC[.00227495], CUSDT[1], DOGE[1], ETH[.52840332], ETHW[.33898948], GRT[1], USD[694.56]                                                                                                Yes

07977883                           CUSDT[1], SHIB[842597.55224874], USD[16.29]                                                                                                                                            Yes

07977894                           USD[7.10]

07977899                           BTC[0], ETH[.00079673], ETHW[.00079673], SOL[.00066009], USD[0.10], USDT[0.00080596]

07977910                           BTC[.00112509], USD[0.03], USDT[0]

07977912                           USD[46.96], USDT[0]                                                                                                                                                                    Yes

07977923                           USD[0.00], USDT[0]

07977927                           CUSDT[4], ETH[.01278274], ETHW[.01261858], SHIB[6.32536903], USD[3.67]                                                                                                                 Yes

07977935                           BTC[.00003133], ETH[0], USD[963.21]

07977940                           BAT[0], BCH[0], ETH[0.00000001], ETHW[0.00000001], EUR[0.00], LTC[0], MATIC[0], MKR[0], PAXG[0], SOL[0], USD[0.18], USDT[0.00000001]                                                   Yes

07977977                           USD[1647.92]                                                                                                                                                                           Yes

07977979                           USD[20.00]

07977980                           CUSDT[6], TRX[2], USD[50.85], USDT[0]                                                                                                                                                  Yes

07977984                           USD[1.85]

07977987                           USD[20.00]

07977991                           GRT[2], USD[0.00]

07977993                           AVAX[19.88605], BAT[.5347], DOGE[.2007], ETH[.0007894], ETHW[.2337894], GRT[.3874], LINK[117.51704], MATIC[557.8188], SHIB[7892890], SOL[28.132948], SUSHI[.17335], UNI[.0199],
                                   USD[0.45]
07978004                           BAT[1.01516398], BRZ[1], CUSDT[3], DOGE[1], ETH[.00000023], ETHW[.00000023], USD[0.00]                                                                                                 Yes

07978012                           MATIC[33.93932549], SHIB[1], USD[0.00]

07978026                           BAT[0.00171971], BRZ[9.70867059], BTC[0], CUSDT[45.00246581], DOGE[297.20570885], ETH[0.01491321], ETHW[0.01472604], GRT[0.00314516], LINK[6.56845795], LTC[0],                        Yes
                                   MATIC[123.94970669], SHIB[0], SOL[0], SUSHI[0], TRX[15.61704208], USD[0.00], USDT[0.00000034]
07978028                           BTC[.00044107], DOGE[105.13139774], SOL[.07701312], USD[22.04], USDT[8.55244228]                                                                                                       Yes

07978031                           USD[20.00]

07978040                           CUSDT[2], DOGE[1], TRX[5808.1006027], USD[0.01]                                                                                                                                        Yes

07978043                           USD[0.00]

07978048                           BTC[.00004982], ETH[.00094068], ETHW[.000927], PAXG[.00168471], SHIB[1], SOL[.03029652], USD[0.00], YFI[.0005263]                                                                      Yes

07978057                           BRZ[1], BTC[0.00000003], DOGE[2], ETH[.00000041], GRT[0], LINK[0.00066833], MATIC[.0033318], SHIB[0], SOL[0.00019267], USD[201.63]                                                     Yes

07978058                           BAT[.00000001], BRZ[4], CUSDT[6], DOGE[5.00010114], TRX[9], USD[0.00], USDT[0]                                                                                                         Yes

07978059                           DOGE[15], USD[0.11]

07978060                           USD[20.00]

07978065                           DOGE[1], TRX[2], USD[0.02]                                                                                                                                                             Yes

07978066                           MATIC[12.9520534], MKR[.01004255], SOL[3.49051524], TRX[487.99026674], USD[272.15], USDT[198.88146874]

07978069                           CUSDT[3], USD[0.01]                                                                                                                                                                    Yes

07978071                           USD[20.52]                                                                                                                                                                             Yes

07978088                           DOGE[1], SHIB[10715816.54522074], USD[0.00]

07978093                           USD[0.01], USDT[0]                                                                                                                                                                     Yes

07978100                           BTC[.01658273], MATIC[0], SHIB[3], SOL[0], USD[0.00]                                                                                                                                   Yes

07978102                           BRZ[2], CUSDT[1], DOGE[11.02622774], MATIC[0.00087390], NFT (388793793015228246/Warriors 75th Anniversary Icon Edition Diamond #492)[1], SOL[0], TRX[3], USD[0.00], USDT[1.07203785]   Yes

07978104                           BRZ[1], DOGE[1], SHIB[9526825.23388944], USD[0.01]

07978105                           DOGE[1], MATIC[56.89599873], USD[0.00]

07978112                           USD[0.00]                                                                                                                                                                              Yes

07978115                           USD[0.44]

07978128                           USD[20.00]

07978129                           BTC[0]
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                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07978137                           AAVE[0.03766075], BTC[0.00005795], ETH[.00000001], ETHW[0], KSHIB[224.40814878], MKR[0], NFT (288811286239171482/Elysian - #3065)[1], NFT (289998458496132750/Fancy Frenchies
                                   #1925)[1], NFT (290502560967039143/Panda Fraternity #3218)[1], NFT (290703211251197970/DOTB #5636)[1], NFT (290735297665395305/Whales Nation #7194)[1], NFT
                                   (294676667871954052/Elysian - #3261)[1], NFT (295123760385679401/Red Panda #4101)[1], NFT (295771722992312969/Solana Surfer #3647)[1], NFT (298572234308308272/Sol Lion #7321)[1], NFT
                                   (299497400848651564/Divine Soldier #5821)[1], NFT (301172075861550318/Panda #3517)[1], NFT (303665490704057138/Red Panda #9208)[1], NFT (303672230995935049/DOTB #7235)[1], NFT
                                   (305253983007461939/Solana Surfer #2774)[1], NFT (305939103699297152/Divine Soldier #3098)[1], NFT (307266570402567125/Soulless #9499)[1], NFT (308373173762134027/Fancy Frenchies
                                   #9502)[1], NFT (310252129218084982/Fancy Frenchies #7381)[1], NFT (310498278630160163/DOTB #739)[1], NFT (310910383761641954/Panda Fraternity #2118)[1], NFT (311903238980615514/Sol
                                   Lion #8311)[1], NFT (312745345609455975/Fancy Frenchies #2515)[1], NFT (314622370646727782/Corrupt Catz #4644)[1], NFT (315723760912385701/Panda Fraternity #3564)[1], NFT
                                   (316519607798776781/Divine Soldier #2219)[1], NFT (316551952614125466/Elysian - #5770)[1], NFT (317508802181258860/Divine Soldier #1658)[1], NFT (318002812280502379/Income Bear Hero
                                   Club #1061)[1], NFT (320575763285292910/Panda Fraternity #4291)[1], NFT (320768465153362271/SolSoul-00746)[1], NFT (321767045337363022/Snek #5527)[1], NFT (322386501725988631/Panda
                                   Fraternity #3571)[1], NFT (322648839714705176/Soulless #2763)[1], NFT (323552624183649578/Red Panda #9734)[1], NFT (324974892235341522/Elysian - #6651)[1], NFT
                                   (325210456195168854/Elysian - #1725)[1], NFT (326483152746881285/Divine Soldier #4868)[1], NFT (328498964230572091/Hayes family reunion 2021 #4)[1], NFT (331859315932553009/Solana
                                   Surfer #4001)[1], NFT (333270982591234355/Fancy Frenchies #835)[1], NFT (335026015815648833/Divine Soldier #1348)[1], NFT (335273914515131700/Divine Soldier #6708)[1], NFT
                                   (335336128431662772/Solana Islands #22)[1], NFT (335633097875723032/Elysian - #1512)[1], NFT (338609387069150212/2D SOLDIER #847)[1], NFT (340499493422313717/Elysian - #5278)[1], NFT
                                   (341192396197894641/Fancy Frenchies #734)[1], NFT (341213569026507806/Nadir, the Delightful)[1], NFT (341684363223319900/Fancy Frenchies #1362)[1], NFT (342000863735001701/Fancy
                                   Frenchies #4258)[1], NFT (343441112842616107/Panda #5866)[1], NFT (344029283165571257/Elysian - #1190)[1], NFT (344995319425776616/Red Panda #2937)[1], NFT (347233584967339673/Red
                                   Panda #1694)[1], NFT (347667655080223219/Fancy Frenchies #4059)[1], NFT (347851313749070904/Panda Fraternity #3977)[1], NFT (347954950516400365/Soulless #2277)[1], NFT
                                   (348919875178508549/Eitbit Ape #5552)[1], NFT (350536517836673660/Sol Lion #2421)[1], NFT (352613883996946835/Fancy Frenchies #6407)[1], NFT (356638504436098834/Panda Fraternity
                                   #319)[1], NFT (356862005238460316/Fancy Frenchies #7518)[1], NFT (357590177835941444/Panda Fraternity #119)[1], NFT (359040826757984184/Sloth #1720)[1], NFT (360895688433046400/Sol
                                   Lion #1382)[1], NFT (362694791011215749/2D SOLDIER #4192)[1], NFT (363139112617724322/Panda #3900)[1], NFT (363326169564010372/Panda Fraternity #3611)[1], NFT
                                   (363644614027059939/Eitbit Ape #6436)[1], NFT (363974157775678629/Panda Fraternity #1188)[1], NFT (364368150409071147/SolSoul-09665)[1], NFT (365597818510088184/Panda #2818)[1], NFT
                                   (366277679314043216/Elysian - #1613)[1], NFT (366846069380126175/Elysian - #358)[1], NFT (368519717698468058/Panda Fraternity #991)[1], NFT (369874130902882018/DOTB #5859)[1], NFT
                                   (370134657038971525/Panda Fraternity #3606)[1], NFT (371912530133951906/Elysian - #6627)[1], NFT (374415642521130876/2D SOLDIER #4110)[1], NFT (374893401379415608/Red Panda
                                   #9388)[1], NFT (377646856873162012/SolDad #2123)[1], NFT (378445297036654088/Baddies #1360)[1], NFT (381801073894088884/Panda #2105)[1], NFT (382716625945638708/Income Bear Hero
                                   Club #1041)[1], NFT (383709969067355023/Fancy Frenchies #5336)[1], NFT (384854469874396993/Whales Nation #5020)[1], NFT (386139908171628145/Fancy Frenchies #2103)[1], NFT
                                   (388243107496181909/SolDad #1029)[1], NFT (390698467879675103/Divine Soldier #4890)[1], NFT (390703140742282613/Soulless #7799)[1], NFT (391002323324362988/Divine Soldier #7420)[1],
                                   NFT (391513518144723663/DOTB #4703)[1], NFT (392800697005479282/RIP Shkary Sharks #5672)[1], NFT (395098477121566608/Panda Fraternity #2798)[1], NFT (396447408885939858/Elysian -
                                   #5559)[1], NFT (396971376616817255/Solana Surfer #2998)[1], NFT (397889294759175199/Soulless #8259)[1], NFT (398160350365112420/Cool Bean #3393)[1], NFT (398993833568973193/Panda
                                   #6081)[1], NFT (402586804105472475/Metabaes #5167)[1], NFT (404596312509492809/Red Panda #6063)[1], NFT (407998062647544246/Elysian - #6571)[1], NFT (408344757689990563/Panda
                                   Fraternity #4097)[1], NFT (408354506745748500/Whales Nation #1901)[1], NFT (408594132823069468/2D SOLDIER #2666)[1], NFT (410151978424260903/Divine Soldier #7102)[1], NFT
                                   (411269585379953366/Red Panda #8207)[1], NFT (411321979936965468/Solana Surfer #0896)[1], NFT (411351970884167570/Panda Fraternity #4312)[1], NFT (412549088556460309/Red Panda
                                   #2191)[1], NFT (414840233015172240/Elysian - #2008)[1], NFT (418384165431956791/Panda Fraternity #3608)[1], NFT (419224394749667554/Red Panda #385)[1], NFT
                                   (420615451593341193/Elysian - #265)[1], NFT (423871216882510693/Lunarian #5190)[1], NFT (424651715733273488/Divine Soldier #3950)[1], NFT (425484596786867172/Solana Surfer #2092)[1],
                                   NFT (426002732320403823/Solana Surfer #2405)[1], NFT (427804255120970351/Divine Soldier #5873)[1], NFT (427835854716620705/Panda Fraternity #3482)[1], NFT (428983142667120777/Divine
                                   Soldier #2032)[1], NFT (430188030564785543/Panda Fraternity #534)[1], NFT (431472974093950226/Posh Dolphs #1813)[1], NFT (432711215199883872/Solana Surfer #1122)[1], NFT
                                   (433062620744142690/3D Santa Torso)[1], NFT (436089981905454502/Fancy Frenchies #8068)[1], NFT (436428692792692203/SolDad #856)[1], NFT (437036709853185666/FatCats)[1], NFT
                                   (437082510724904853/Fancy Frenchies #4076)[1], NFT (438862203430280355/Sisterverse #5754)[1], NFT (440905761562584339/Belugie #6879)[1], NFT (441803866785151524/DOTB #7194)[1], NFT
                                   (441925229185547390/DOTB #4939)[1], NFT (441962276316518353/Panda #5629)[1], NFT (442631133294634352/Soulless #6412)[1], NFT (443838648303397450/Panda Fraternity #2091)[1], NFT
                                   (444039367789359484/Panda Fraternity #2533)[1], NFT (444152795326866971/Eitbit Ape #3778)[1], NFT (446086756606655704/Panda Fraternity #2172)[1], NFT (446427750616615022/The
                                   CaLabs)[1], NFT (448468884651523832/Fancy Frenchies #8649)[1], NFT (453006593258214389/Cool Bean #3206)[1], NFT (453465125633287526/Elysian - #5345)[1], NFT
                                   (456100574822256632/LightPunk #4808)[1], NFT (456977744908740644/Panda Fraternity #868)[1], NFT (458256632760609342/Fancy Frenchies #1631)[1], NFT (459032355070221254/Elysian -
                                   #1769)[1], NFT (459295503596405653/Panda Fraternity #1367)[1], NFT (460168939056148207/Elysian - #4792)[1], NFT (462117242095769186/Divine Soldier #6585)[1], NFT
                                   (462322519152720414/Fancy Frenchies #6984)[1], NFT (463753278963209288/Panda Fraternity #1025)[1], NFT (468447000718078585/2D SOLDIER #4060)[1], NFT (468664477504728785/Panda
                                   Fraternity #1314)[1], NFT (470855918601750680/Fancy Frenchies #9280)[1], NFT (472732197641597232/Panda #2540)[1], NFT (474841970592277227/Panda Fraternity #3578)[1], NFT
                                   (475463144819934963/Elysian - #4216)[1], NFT (477354743797107206/Elysian - #4417)[1], NFT (478068392541956822/Sol Lion #1716)[1], NFT (478927194807574628/Solana Surfer #3374)[1], NFT
                                   (479272802850563024/Fancy Frenchies #7119)[1], NFT (480266228783861578/Elysian - #4184)[1], NFT (480596051733836347/Fancy Frenchies #2144)[1], NFT (480936258745383060/Sollama)[1],
                                   NFT (481979115882097275/Eitbit Ape #3012)[1], NFT (482943786670886217/Whales Nation #4130)[1], NFT (486559423775309571/Fancy Frenchies #8429)[1], NFT (489032991276154782/Kiddo
                                   #1597)[1], NFT (489954586384481132/the sea sunrise)[1], NFT (490262012662517516/Fancy Frenchies #1299)[1], NFT (491742297506522652/Red Panda #4340)[1], NFT
                                   (491936544111176716/Sigma Shark #1823)[1], NFT (493567895025410687/2D SOLDIER #1933)[1], NFT (494027400072456425/Cloud student)[1], NFT (494104293488257813/Elysian - #2352)[1], NFT
                                   (494650837581700561/Panda Fraternity #1941)[1], NFT (496055554512331208/Elysian - #838)[1], NFT (498340387995874718/Kiddo #3139)[1], NFT (499121381034187983/Divine Soldier #774)[1],
                                   NFT (500664635347257245/2D SOLDIER #4620)[1], NFT (500865493818539226/Divine Soldier #7085)[1], NFT (502333229565240625/Panda Fraternity #4300)[1], NFT (503744434730423853/Panda
                                   Fraternity #1579)[1], NFT (504329710919452013/Solninjas #3527)[1], NFT (507804812889469156/Solana Surfer #2200)[1], NFT (509318727872760453/Elysian - #3178)[1], NFT
07978139                           USD[0.35]                                                                                                                                                                              Yes

07978142                           BTC[.01797551], USD[0.00]

07978151                           BRZ[1], MATIC[9.69409263], USD[5.00]

07978153                           SOL[.20939093], USD[0.00]

07978154                           USD[20.00]

07978167                           ETH[.00098519], ETHW[.00098519], SHIB[2], USD[0.00], USDT[15.25234006]

07978171                           SHIB[853242.32081911], USD[0.00]

07978177                           SOL[.1150331], USD[0.00]

07978192                           DOGE[1680.77566393], LTC[.93141879]                                                                                                                                                   Yes

07978193                           SHIB[163724.66282636], SOL[.05380224], USD[0.00]                                                                                                                                      Yes

07978206                           MATIC[5]

07978215                           BTC[.00000406], SOL[.00405863], USD[0.75]                                                                                                                                             Yes

07978226                           SHIB[37169800], USD[100.68]

07978243                           NFT (333793086471166203/Geckos Spaceship)[1], SOL[.00000001]

07978247                           BTC[0], NFT (354057152104198370/Sigma Shark #562)[1], NFT (361467430596450161/Entrance Voucher #4400)[1], SOL[0], USD[0.00], USDT[0.00000064]

07978248                           USD[20.00]

07978249                           SHIB[147431.74207804], USD[0.00]                                                                                                                                                      Yes

07978264                           BAT[5132.04171129], BRZ[2], DOGE[3.38510978], MATIC[632.57194021], SOL[5.09025784], USD[0.00]                                                                                         Yes

07978272                           USD[20.00]

07978273                           CUSDT[9], DOGE[2], SHIB[2], SOL[.00001199], USD[0.01]                                                                                                                                 Yes

07978274                           DOGE[1], SOL[2.90836202], USD[0.00]                                                                                                                                                   Yes

07978276                           CUSDT[1], DOGE[1], LINK[35.4833285], TRX[2], USD[0.00], USDT[0.00000772]

07978288                           GRT[26.23432499]

07978290                           USD[0.00]

07978297                           USD[20.00]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07978300                              CUSDT[9], TRX[3.80329591], USD[7.43]                                                                                                                                                    Yes

07978306                              CUSDT[1], SOL[.52555832], USD[100.00]

07978308                              NFT (562454953114697594/Microphone #4569)[1]

07978309                              CUSDT[2], SOL[0], USD[0.00], USDT[0.00000207]                                                                                                                                           Yes

07978324                              BTC[.00057767], CUSDT[2], KSHIB[315.83637704], USD[0.00]

07978342                              CUSDT[1], SHIB[575682.03905601], TRX[98.29851642], USD[0.00]

07978349                              CUSDT[3], TRX[1], USD[0.00]                                                                                                                                                             Yes

07978359                              CUSDT[1], SOL[0], TRX[2], USD[0.00]                                                                                                                                                     Yes

07978360                              USD[20.00]

07978362                              CUSDT[1], SHIB[1830279.2911102], USD[0.00]                                                                                                                                              Yes

07978376                              CUSDT[1], SHIB[1289656.95125096], USD[0.00]

07978379                              AUD[143.00], BRZ[150.68161155], BTC[.00094165], CUSDT[4], ETH[.00651887], ETHW[.00643679], USD[54.34]                                                                                   Yes

07978380                              BF_POINT[200]

07978385                              BRZ[1], SHIB[8021845.44826562], USD[0.00]                                                                                                                                               Yes

07978391                              LINK[.066], NEAR[.04023196], SOL[.002], USD[0.60], USDT[0]

07978393                              DOGE[2], ETH[.00000023], ETHW[.00000023], NFT (532699294984717645/Purple.Pig.Marble)[1], SHIB[363240.99827269], USD[0.00]                                                               Yes

07978403                              DOGE[1], SHIB[2491549.41071289], USD[0.00]                                                                                                                                              Yes

07978404                              USD[20.00]

07978411                              SOL[0]

07978414                              CUSDT[6], SHIB[0], TRX[1], USD[0.00]                                                                                                                                                    Yes

07978422                              BTC[.01469803], CUSDT[1], GRT[1], USD[532.29]                                                                                                                                           Yes

07978431                              BRZ[138.69551651], CUSDT[1], USD[0.00]

07978439                              BCH[.000464], BTC[.0000781], DOGE[.663], ETH[.00085], ETHW[.14985], LTC[.00836], SOL[.00142], USD[2207.91]

07978453                              USD[0.54]

07978455                              CUSDT[1], DOGE[3], USD[0.01]                                                                                                                                                            Yes

07978461                              ETH[.337781], ETHW[.337781], USD[1.28]

07978466                              CUSDT[1], SHIB[0], USD[0.01]                                                                                                                                                            Yes

07978467                              BTC[.00000004], USD[0.00], USDT[0.25000000]

07978471                              BTC[.0097], DOGE[764], ETH[.83671], ETHW[.83671], LTC[1.56], MATIC[199.81], SHIB[6400000], SOL[7.96351363], USD[68.75]

07978486                              BRZ[4], CUSDT[13], DOGE[5], GRT[5789.01759618], MATIC[2899.23681928], SHIB[113724037.0519814], SOL[23.9337555], SUSHI[353.03243357], TRX[41430.45806575], USD[556.76],                  Yes
                                      USDT[1.07925849]
07978497                              BTC[.00323102], TRX[1], USD[0.00]

07978498                              USD[10.00]

07978502                              USD[20.00]

07978504                              DOGE[478.582], MATIC[20], SHIB[4695800], TRX[383.616], USD[0.23]

07978512                              BRZ[1], CUSDT[5], DOGE[2], LTC[.76897947], SHIB[3990724.36358004], TRX[1], USD[0.00]                                                                                                    Yes

07978515       Contingent, Disputed   SUSHI[1], USD[0.00]

07978520                              BTC[.00072502], CUSDT[2], GRT[27.49199386], SUSHI[3.21149038], TRX[1], USD[0.00]                                                                                                        Yes

07978530                              DOGE[1], TRX[2667.59486344], USD[0.00]                                                                                                                                                  Yes

07978538                              BRZ[1], BTC[.00330448], CUSDT[7], DOGE[2], ETH[.08758355], ETHW[.08655782], MATIC[64.27304567], SHIB[2], SOL[8.98448506], TRX[3], UNI[8.8444163], USD[0.00]                             Yes

07978539                              CUSDT[1], DOGE[2], ETH[.00000038], ETHW[.00000038], TRX[1], USD[0.00]                                                                                                                   Yes

07978544                              BTC[.00271681], SHIB[1], USD[0.00]                                                                                                                                                      Yes

07978546                              CUSDT[5], LINK[6.32394671], SHIB[3149029.13047632], TRX[1], USD[6.01], USDT[49.71539873]

07978554                              CUSDT[1], SHIB[1405678.94292943], USD[0.00]

07978568                              DOGE[1], SOL[.26201686], USD[0.00]

07978569                              SOL[0.19480548], USD[0.00]

07978570                              USD[20.00]

07978587                              CUSDT[1], MATIC[10.67095704], USD[23.90]                                                                                                                                                Yes

07978593                              CUSDT[1], ETH[.0758516], LINK[353.64575316], TRX[1], USD[0.00]                                                                                                                          Yes

07978603                              USD[20.00]

07978610                              BTC[.00016895], CUSDT[3], DOGE[1], ETH[.01746101], ETHW[.01724213], LTC[.05915918], SOL[.63335733], TRX[1], USD[0.03]                                                                   Yes

07978611       Contingent, Disputed   USD[0.01]

07978612                              BTC[.00016882], SHIB[138600.13860013], USD[0.00]

07978616                              BAT[2.02457349], BRZ[2], DOGE[3], GRT[1], NFT (289462128557459454/Skull Love #32)[1], NFT (299110295781691072/Scary Terry )[1], NFT (307516048565761650/The Wizard of Oz)[1], NFT       Yes
                                      (319009929105808348/Tim Brown's Playbook: San Diego Chargers vs. Los Angeles Raiders - September 4, 1988 #53)[1], NFT (416923538584621439/Thanos)[1], NFT (432686938353383699/Shannon
                                      Sharpe's Playbook: Denver Broncos vs. Los Angeles Raiders - January 9, 1994 #55)[1], NFT (434406169097590347/Minions)[1], NFT (461516674163472958/Charizard)[1], NFT
                                      (482147500065807973/Shannon Sharpe's Playbook: Baltimore Ravens vs. Denver Broncos - December 31, 2000 #68)[1], NFT (530253404231387838/Tim Brown's Playbook: Kansas City Chiefs vs.
                                      Oakland Raiders - December 9, 2001 #38)[1], SHIB[1], SOL[19.03567058], TRX[1], USD[4.07]
07978619                              BTC[.0000001], USD[0.00]                                                                                                                                                                Yes

07978634                              USD[1.20]

07978635                              CUSDT[10], DOGE[1], TRX[2], USD[0.40]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07978636                           SHIB[.00000001], USD[0.57]                                                                                                                                                             Yes

07978640                           BRZ[1], CUSDT[3], DOGE[606.84616515], USD[0.02]

07978641                           SOL[0]

07978642                           USD[20.00]

07978649                           BRZ[1], SHIB[2740398.67635701], USD[0.00]                                                                                                                                              Yes

07978650                           BTC[.00392208]                                                                                                                                                                         Yes

07978653                           ETH[.25], ETHW[.25], SOL[0]

07978662                           GRT[0], SHIB[1651601.12185959], USD[0.00]                                                                                                                                              Yes

07978666                           BTC[.00176921], CUSDT[1], DOGE[1], SHIB[2893032.78519185], USD[0.09]                                                                                                                   Yes

07978668                           ETH[.00480747], ETHW[.00480747], SOL[.999], USD[0.00]

07978676                           NFT (335550306328006867/SolDoge Strays #259)[1], NFT (394660580824822201/SolDoge Strays #150)[1]

07978679                           USD[20.00]

07978680                           BTC[0], NFT (418253943121417273/The Hill by FTX #176)[1], SOL[0], USD[0.00]

07978692                           SHIB[3], SOL[1.05679399], USD[0.00]                                                                                                                                                    Yes

07978697                           SHIB[89800], SOL[.06], USD[3.44], USDT[0]

07978701                           CUSDT[2], KSHIB[0], TRX[4], USD[0.00]                                                                                                                                                  Yes

07978703                           CUSDT[1], DOGE[1], SHIB[8612553.64846719], TRX[1], USD[0.00]                                                                                                                           Yes

07978707                           BRZ[1], CUSDT[1], SOL[.00001128], TRX[1], USD[0.00]                                                                                                                                    Yes

07978709                           USD[0.00]

07978732                           BTC[.0500499], SOL[.00464], USD[8087.32]

07978743                           BRZ[1], USD[0.00]

07978761                           ETH[.00000025], ETHW[.02651411], SHIB[1], TRX[1], USD[34.97]                                                                                                                           Yes

07978769                           BF_POINT[100], BRZ[2], CUSDT[3], DOGE[1], ETH[.04998576], ETHW[.04936662], SHIB[29.36404171], USD[0.00]                                                                                Yes

07978771                           ETH[.134], ETHW[.134], EUR[0.00], GRT[631.50028778], KSHIB[60], USD[0.07]

07978778                           USD[20.00]

07978780                           USD[500.00]

07978784                           BTC[.00516586], USD[0.00]

07978788                           USD[0.96], USDT[0]

07978791                           CUSDT[1], SOL[3.55816086], USD[0.00]                                                                                                                                                   Yes

07978800                           DOGE[1], USD[0.00]

07978811                           CUSDT[1], DOGE[1037.18527001], USD[0.01]

07978821                           SHIB[999427.53149072], USD[0.00]                                                                                                                                                       Yes

07978828                           USD[108.67]                                                                                                                                                                            Yes

07978836                           ETH[.0999525], ETHW[.0999525], USD[0.01], USDT[.8]

07978840                           SOL[10.32970933], USD[0.00]

07978841                           USD[20.00]

07978844                           SHIB[259405.11169824], USD[0.00]                                                                                                                                                       Yes

07978845                           USD[0.02]

07978848                           DOGE[1], SHIB[1], USD[147.07]

07978852                           BTC[.02858816], USD[0.00]

07978863                           USD[0.15], USDT[0]

07978870                           AAVE[.002248], AVAX[.067], BTC[0.00002585], DOGE[.718], ETH[.000532], ETHW[1.439532], SOL[0.00799312], USD[25286.20], USDT[.00561826]

07978879                           DOGE[1642.50216489], USD[0.00]

07978881                           CUSDT[1], LTC[0.80720995]                                                                                                                                                              Yes

07978886                           USD[10.00]

07978887                           AVAX[.0999], BAT[18], DOGE[325.884], ETH[.00999], ETHW[.00999], LINK[.6], LTC[.24975], MATIC[9.95], SHIB[200000], SOL[.47965], SUSHI[18.497], UNI[.8], USD[1.16]

07978904                           BRZ[1], CUSDT[1], DOGE[2], GRT[1], USD[0.01]

07978906                           CUSDT[1], USD[0.00]                                                                                                                                                                    Yes

07978907                           CUSDT[139], DOGE[109], KSHIB[190], SHIB[3900000], USD[0.11]

07978908                           USD[100.00]

07978910                           USD[20.00]

07978914                           ETH[0], NFT (325950914777806198/Entrance Voucher #3760)[1], USD[0.04], USDT[0.00003323]

07978918                           CUSDT[1], TRX[1], USD[13.64]                                                                                                                                                           Yes

07978937                           ETH[0], MATIC[50], UNI[12.81915842], USD[1.36]

07978942                           BAT[17.6751165], CUSDT[2], DOGE[66.60135202], MATIC[6.74093038], SHIB[98183.22900782], USD[0.00]                                                                                       Yes

07978965                           DOGE[4], TRX[4], USD[0.00]                                                                                                                                                             Yes

07978982                           DOGE[142.58775508], USD[0.00]

07978987                           ETH[0], ETHW[0.18278689], LINK[0], LTC[0], MATIC[0], NFT (359960391526950061/Boneworld #8727)[1], NFT (432896892993521394/Australia Ticket Stub #1079)[1], SOL[0], SUSHI[0], UNI[0],   Yes
                                   USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07978993                              DOGE[22.33552432], USD[5.43]                                                                                                                                                            Yes

07978995                              BTC[0], USD[0.00], USDT[0]                                                                                                                                                              Yes

07978997                              USD[5.84]                                                                                                                                                                               Yes

07979001                              SOL[.00000704], USD[12.59]                                                                                                                                                              Yes

07979005                              SUSHI[349.26055434], TRX[1], USD[0.00], USDT[1.08261412]                                                                                                                                Yes

07979010                              BTC[0]

07979016                              USD[100.00]

07979024                              USD[0.00]

07979025                              BTC[.00113014], DOGE[12.65006486], ETH[.06755728], ETHW[.06671934], LTC[.43384424], MATIC[2.17325663], SHIB[7], SOL[3.15955143], SUSHI[63.27662072], USD[0.03]                          Yes

07979042                              BTC[0], ETHW[.88679765], SOL[.0083565], USD[0.00]

07979047                              CUSDT[1], SHIB[806252.68302238], USD[0.00]                                                                                                                                              Yes

07979054                              SHIB[1], USD[0.00]                                                                                                                                                                      Yes

07979060                              BTC[0.02887070], USD[0.00]

07979070                              BAT[1], BTC[.0387321], CUSDT[1], ETH[.5153733], ETHW[.51515673], SOL[7.5712393], TRX[5], USD[86.65], USDT[1.05245242]                                                                   Yes

07979072       Contingent, Disputed   BTC[0], ETH[0], ETHW[0], USD[170.83]                                                                                                                                                    Yes

07979080                              BRZ[1], BTC[.00016194], CUSDT[1], DOGE[.00164371], SHIB[657123.89684435], TRX[1], USD[0.00]                                                                                             Yes

07979088                              BTC[0], LTC[0], USD[0.00]

07979099                              ETHW[.08855547], USD[0.76]

07979100                              USD[21.57]                                                                                                                                                                              Yes

07979113                              SHIB[2987114.66746308], USD[0.25]

07979119                              BTC[.00578641], CUSDT[5], DOGE[4475.51265177], GRT[1], SHIB[19412468.39508006], TRX[1], USD[0.01]

07979124                              CUSDT[1], MATIC[13.28148411], TRX[254.56166704], USD[0.01]                                                                                                                              Yes

07979127                              BTC[.01978807], USD[0.00]

07979128                              CUSDT[1], DOGE[134.74624299], USD[0.00]                                                                                                                                                 Yes

07979145                              BAT[.73077751], BF_POINT[300], BRZ[1], CUSDT[33], DOGE[1], GRT[.0509125], MATIC[.00025653], SHIB[2.27286468], TRX[2.35594129], USD[0.01], USDT[1.07204765]                              Yes

07979156                              CUSDT[2], DOGE[391.50716345], USD[0.06]                                                                                                                                                 Yes

07979157                              USD[0.00]

07979162                              CUSDT[2], MATIC[24.44872575], SHIB[1], USD[0.00]                                                                                                                                        Yes

07979172                              BTC[.06819496], ETH[0.65931583], ETHW[0.65931583], SOL[5.005139], USD[0.00]

07979178                              USD[0.00], USDT[0]

07979184                              BTC[.00473736], SHIB[2], USD[0.30]                                                                                                                                                      Yes

07979190                              USD[500.01]

07979201                              GRT[43.979], USD[0.86]

07979209                              SHIB[388997.98693667], USD[0.00]                                                                                                                                                        Yes

07979215       Contingent, Disputed   BF_POINT[300], BTC[.00000016], NFT (358693819421383739/Entrance Voucher #3850)[1], SHIB[1], USD[0.00], USDT[.0000173]                                                                   Yes

07979220                              BTC[.00211151], CUSDT[1], DOGE[1], GRT[50.60686589], USD[0.01]

07979228                              SOL[.007]

07979238                              AAVE[8.40159], AVAX[22.3], BTC[.05479263], ETH[.726273], ETHW[.726273], SOL[20.50947], USD[13.51]

07979249                              ALGO[77.71020699], CUSDT[1], SHIB[2885504.68604166], USD[0.00]                                                                                                                          Yes

07979250                              AVAX[.0001734], USD[0.00]                                                                                                                                                               Yes

07979267                              BRZ[1], DOGE[1519.86868893], SHIB[4811074.60971257], USD[0.00]

07979270                              BRZ[1], CUSDT[9], NFT (370225302296947144/Voxel Animals #6)[1], NFT (411521780419842195/Geometry of Protection #2)[1], NFT (426389783590651374/Megaphone Martin)[1], NFT                Yes
                                      (459930828145205797/Voxel Animals #21)[1], NFT (558243430472573560/Voxel Animals #14)[1], TRX[2], USD[46.17]
07979275                              CUSDT[0.00000009], ETH[0], SOL[0.00051929], USD[0.00]                                                                                                                                   Yes

07979280                              AAVE[0], BTC[0.00000642], ETH[0], ETHW[0], LINK[0], SOL[0], USD[5876.89], USDT[0], YFI[0]                                                                                               Yes

07979284                              DOGE[1], SHIB[6555493.10474977], SOL[5.12927917], USD[0.00]                                                                                                                             Yes

07979285                              DOGE[1], LINK[3.65929641], USD[0.00]                                                                                                                                                    Yes

07979289                              BRZ[55.36949865], CUSDT[5], DAI[9.94307974], ETH[.00399596], ETHW[.00399596], KSHIB[145.07993324], SHIB[257201.64609053], SUSHI[1.02815461], TRX[191.98950662], USD[0.00]

07979291                              USD[5.00]

07979292                              USD[0.01]

07979293                              USD[0.00]                                                                                                                                                                               Yes

07979296                              AAVE[1.24795], BCH[.424327], BTC[.01026809], DOGE[9.366], ETH[.014871], ETHW[.014871], LINK[1.477], LTC[5.03335], SOL[.16742], SUSHI[1.933], TRX[1735.604], UNI[19.91765], USD[0.00],
                                      USDT[1.48189978]
07979300                              DOGE[447.70787824], TRX[1], USD[0.00]                                                                                                                                                   Yes

07979303                              USD[0.01]

07979310                              TRX[1], USD[0.00]

07979317                              USD[20.00]

07979326                              USD[20.00]

07979329                              BTC[.00014411], ETH[.00253098], ETHW[.0025036], USD[0.00], USDT[3.56618088]                                                                                                             Yes

07979330                              ETH[.00000001], ETHW[0], GRT[0], USD[3.14], USDT[0]
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                                                                                                                                         Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07979334                           USD[20.00]

07979343                           CUSDT[1], DOGE[.00037414], ETH[.00000008], ETHW[.00000008], USD[21.51]                                                                                                                   Yes

07979349                           NFT (348533343496191361/Solameleon #3242)[1], NFT (352857710844254895/Solana Penguin #4409)[1], NFT (434246762214624247/SolGhost #931)[1], NFT (502029870334507577/SolGhost
                                   #66)[1], NFT (527526860618412373/SOLSHEEP#5755)[1], NFT (540249450142850899/SPICY CHICKEN #352)[1]
07979351                           USD[2.88]

07979355                           CUSDT[3], ETH[.00744476], ETHW[.00744476], GRT[20.32699591], MATIC[27.42100897], USD[0.00]

07979368                           BAT[1], BRZ[5], CUSDT[1], DOGE[5], ETH[0.00003878], ETHW[0.00003878], MATIC[1.00126101], SHIB[2], TRX[3], USD[0.00], USDT[0.59895250]                                                    Yes

07979371                           SHIB[0], USD[0.00]

07979373                           BTC[0], SHIB[59097400], USD[10.71]

07979377                           CUSDT[2], SHIB[1822462.10143533], USD[1.12]                                                                                                                                              Yes

07979385                           LTC[.06647194], USD[0.00]

07979394                           SHIB[1], TRX[1], USD[0.00], USDT[0]

07979398                           USD[10.00]

07979399                           AAVE[1.89098], BAT[1691.061], BCH[3.797491], BTC[.0038683], DAI[30], DOGE[523.932], ETH[.140508], ETHW[.140508], GRT[906.553], LINK[108.5706], LTC[6.81391], MATIC[728], MKR[.037745],
                                   PAXG[.0468818], SHIB[11339200], SOL[2.23417], SUSHI[690.2975], TRX[336.906], UNI[130.7768], USD[65.42], USDT[0]
07979405                           CUSDT[1], SHIB[318203.72800694], USD[0.00]                                                                                                                                               Yes

07979407                           BTC[.3167739], ETH[.003675], ETHW[1.323675], GRT[106.893], SOL[.00343], USD[2822.98]

07979408                           USD[649.72]

07979411                           SOL[.02951254], USD[0.00]

07979420                           BTC[.00777199], DOGE[123.56391858]                                                                                                                                                       Yes

07979421                           NFT (475162617139302420/Saudi Arabia Ticket Stub #319)[1]

07979422                           CUSDT[1], DOGE[1], ETH[0.79162555], ETHW[0.79129297], TRX[3], USD[0.29], USDT[1.06551786]                                                                                                Yes

07979429                           CUSDT[3], DOGE[545.23965557], SHIB[1460245.52759389], USD[0.00]

07979438                           ETH[.045954], ETHW[.045954], USD[174.21]

07979444                           SOL[.05]

07979448                           USD[0.01]

07979450                           BCH[.00037569], CUSDT[1], DOGE[3], SHIB[2], TRX[78.04731328], USD[0.01], USDT[71.73298800]                                                                                               Yes

07979452                           CUSDT[1], SHIB[408522.57082644], USD[0.00]                                                                                                                                               Yes

07979458                           BRZ[2], BTC[.0013917], CUSDT[3], DOGE[4], ETH[.00000071], ETHW[.10585968], NFT (407190258876379065/APEFUEL by Almond Breeze #940)[1], NFT (500644012465916927/Saudi Arabia Ticket        Yes
                                   Stub #775)[1], SHIB[28], USD[0.31]
07979464                           BRZ[1], BTC[.00067544], CUSDT[4], DOGE[4], ETH[.00000019], ETHW[.00000019], SOL[.00073567], TRX[3], USD[0.98], USDT[2]

07979477                           SHIB[1], USD[0.01]                                                                                                                                                                       Yes

07979480                           CUSDT[1], DOGE[2], SOL[21.18366851], TRX[1], USD[0.00]

07979496                           CUSDT[2], DOGE[37.56925397], ETH[.00571366], ETHW[.00571366], SHIB[1065109.56335139], USD[0.00]

07979500                           NFT (342383047416653110/Megalodon Rogue Shark Tooth)[1], NFT (364281484886604393/Megalodon Rogue Shark Tooth)[1], NFT (399534483987713290/Megalodon Rogue Shark Tooth)[1], NFT
                                   (535339283771741552/Megalodon Rogue Shark Tooth)[1], NFT (540144639941055579/Megalodon Rogue Shark Tooth)[1], SOL[.11268]
07979501                           CUSDT[1], SHIB[214285.71428571], USD[0.00]

07979505                           CUSDT[10], DOGE[3.65826752], SHIB[1], SOL[0], TRX[1], USD[0.95], USDT[0]

07979512                           BRZ[1], USD[0.00]

07979513                           USD[6.71], USDT[0]

07979514                           BTC[.00214834], USD[43.11]                                                                                                                                                               Yes

07979515                           NFT (481917802795351998/You in, Miami? #441)[1]

07979520                           BAT[1.01529179], BRZ[1], CUSDT[2], DOGE[5], ETH[.00836682], ETHW[0.00825729], GRT[1.00310523], SHIB[46108997.55220479], TRX[4], USD[9311.12]                                             Yes

07979535                           CUSDT[2], SHIB[1051844.7537934], USD[0.02]                                                                                                                                               Yes

07979538                           CUSDT[1], SHIB[1626640.62044324], USD[0.01]                                                                                                                                              Yes

07979540                           USD[99.22]

07979546                           USD[20.00]

07979549                           CUSDT[4], KSHIB[0], TRX[1], USD[0.00]                                                                                                                                                    Yes

07979553                           AAVE[8.26], BTC[.1572], ETH[2.595999], ETHW[4.895999], LINK[73.7], SHIB[1099800], SOL[.00855214], USD[1237.58]

07979568                           USD[20.00]

07979583                           USD[0.00]

07979585                           SOL[.003816], USD[2.36]

07979599                           CUSDT[7], DOGE[1], ETH[.00000001], MATIC[0], TRX[1], USD[0.00]

07979622                           BRZ[1], BTC[.00931576], CUSDT[1], DOGE[1], SOL[.44081001], TRX[1], USD[3.51]                                                                                                             Yes

07979627                           USD[10.00]

07979629                           CUSDT[1], SHIB[255263.20775452], USD[21.51]                                                                                                                                              Yes

07979638                           BTC[.01144533], CUSDT[2], DOGE[621.7129956], SOL[1.20145499], TRX[1], USD[0.00]                                                                                                          Yes

07979646                           USD[20.00]

07979649                           CUSDT[1], SHIB[363530.6092773], USD[0.00]

07979652                           BAT[2.03605387], BRZ[8.41333788], BTC[0.03676729], CUSDT[18], DOGE[12.28295709], ETH[0], GRT[4.13303366], LINK[1.05105969], MATIC[1.01083452], SHIB[120859077.62532776], SOL[0],         Yes
                                   TRX[22.47401943], UNI[1.0569312], USD[0.00], USDT[3.19600144]
07979654                           BF_POINT[200], CUSDT[497.94746189], NFT (520247605460712124/Entrance Voucher #1877)[1], SHIB[70593.17014421], TRX[97.37238667], USD[0.00]
West Realm Shires Services Inc.                                                    Case 22-11068-JTD      Doc F-3:
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                                                                                                                                         Customer Claims                                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07979672                           BTC[.0004995], ETH[.004995], ETHW[.004995], USD[3.00]

07979688                           USD[54.34]                                                                                                                                                                                  Yes

07979692                           BAT[1.0165555], USD[0.00]                                                                                                                                                                   Yes

07979705                           BF_POINT[100], NFT (400157308658889962/Red Panda #3410)[1], SOL[.00005105], USD[0.01]                                                                                                       Yes

07979724                           ETHW[8.364], SOL[.00795906], USD[3539.81]

07979725                           ETH[.00061135], ETHW[.00061135], SOL[0.00000011]

07979727                           CUSDT[2], SHIB[6034265.76455301], TRX[1022.28365769], USD[0.00]                                                                                                                             Yes

07979728                           KSHIB[660.66134314], TRX[1], USD[0.00]                                                                                                                                                      Yes

07979729                           USD[0.00]                                                                                                                                                                                   Yes

07979731                           TRX[1], USD[0.00]

07979732                           BTC[.00038892], CUSDT[4], ETH[.00582659], ETHW[.00575819], SOL[.22395896], USD[0.00]                                                                                                        Yes

07979749                           USD[18.82]

07979762                           USD[20.00]

07979764                           LTC[0], SHIB[0], USD[0.00], USDT[0]

07979773                           NFT (507731700638489996/FTX - Off The Grid Miami #2537)[1], USD[50.24]

07979776                           BTC[0.06231658], CUSDT[2], DOGE[3], ETH[.22402464], ETHW[.22381609], TRX[1], USD[0.01]                                                                                                      Yes

07979779                           ETH[.02737365], ETHW[.02737365], SOL[.04955821], USD[690.00]

07979781                           SOL[1.03928417], TRX[1], USD[0.00]

07979793                           BTC[.0003016], CUSDT[3], DOGE[1], ETH[.01252399], ETHW[.01237351], USD[0.00]                                                                                                                Yes

07979807                           USD[0.01]                                                                                                                                                                                   Yes

07979810                           BAT[1.01376504], BRZ[2], BTC[.08237172], USD[0.00]                                                                                                                                          Yes

07979812                           NFT (430979644309939649/SickintheGulliver Collection #22)[1], NFT (493101028333172104/2D SOLDIER #1110)[1], NFT (519030848862981958/BigDino4)[1], SHIB[86034.1276102], SOL[0],
                                   USD[0.00]
07979815                           NFT (537430359218296754/03371)[1]

07979823                           CUSDT[1], SHIB[342362.44437602], USD[0.00]                                                                                                                                                  Yes

07979824                           ETHW[1.6728048], USD[9.28]

07979826                           ETH[.00000001], ETHW[0], USD[0.00], USDT[0]

07979835                           BRZ[3], CUSDT[3], DOGE[7], ETH[0], ETHW[0], NFT (290171245666522917/ALPHA:RONIN #288)[1], NFT (290192859935089644/Cyber Pharmacist 5313)[1], NFT                                             Yes
                                   (298201625546506079/ALPHA:RONIN #819)[1], NFT (299947062916613961/ALPHA:RONIN #1307)[1], NFT (304923667478737768/ALPHA:RONIN #826)[1], NFT (305638707026982701/Lunarian
                                   #3499)[1], NFT (314152991200987137/ALPHA:RONIN #1116)[1], NFT (316146297095957972/ALPHA:RONIN #302)[1], NFT (317101426273639018/ALPHA:RONIN #936)[1], NFT
                                   (324384847343738416/ALPHA:RONIN #132)[1], NFT (324942292406185208/APE'S SERİES #4)[1], NFT (325257626847794493/ALPHA:RONIN #1095)[1], NFT (330076417603959908/ALPHA:RONIN
                                   #502)[1], NFT (334373146837260419/MIEZE)[1], NFT (335808969226479057/Lunarian #7173)[1], NFT (338960857204023081/ALPHA:RONIN #1089)[1], NFT (340652793310506299/APE'S SERİES
                                   #3)[1], NFT (344932584597164466/ALPHA:RONIN #799)[1], NFT (346113956663392179/ALPHA:RONIN #758)[1], NFT (348348236809411124/Ape MAN#46#3/10)[1], NFT
                                   (352097492919807128/ALPHA:RONIN #969)[1], NFT (357581389756541938/ALPHA:RONIN #341)[1], NFT (360039558706685729/ALPHA:RONIN #1178)[1], NFT (361831235779334635/David
                                   #730)[1], NFT (366318681027549409/ALPHA:RONIN #783)[1], NFT (368340666717344873/Lunarian #2979)[1], NFT (368424581884372761/ALPHA:RONIN #238)[1], NFT (368760076708517243/APE'S
                                   SERİES #5)[1], NFT (368795656469633649/ALPHA:RONIN #296)[1], NFT (369194296626619335/ALPHA:RONIN #246)[1], NFT (369757676504098377/APE'S SERİES #2)[1], NFT
                                   (372696122083857489/David #547)[1], NFT (372991416366082622/ALPHA:RONIN #694)[1], NFT (378606199570141663/Dark romance is a collection of pencil sketch art featuring the happy lifestyle of
                                   a young couple. #2)[1], NFT (381459292870078649/Skeleton Chainsaw #444)[1], NFT (386064441967599833/crypto cars #78)[1], NFT (387386424463647027/APE'S SERİES #6)[1], NFT
                                   (390035207535834885/ALPHA:RONIN #614)[1], NFT (392374649835388551/ALPHA:RONIN #554)[1], NFT (396808163588318751/ALPHA:RONIN #503)[1], NFT (397442485186375351/APE'S
                                   SERİES)[1], NFT (397765826017695284/Animal Gang #134)[1], NFT (400206193287221952/ALPHA:RONIN #674)[1], NFT (415414162938634369/Lunarian #4870)[1], NFT
                                   (415893484198196520/Lunarian #9275)[1], NFT (415971255984659873/ALPHA:RONIN #765)[1], NFT (416327910550544614/Ape MAN#67)[1], NFT (418490712098165012/Baddies #4864)[1], NFT
                                   (418785644860355165/Lunarian #2142)[1], NFT (421813037109998867/APE'S SERİES #12)[1], NFT (422846927249434050/ALPHA:RONIN #1096)[1], NFT (423974021274509130/ALPHA:RONIN
                                   #965)[1], NFT (425041985684304884/ALPHA:RONIN #534)[1], NFT (426188604031361871/APE'S SERİES #7)[1], NFT (426712341868560860/APE'S SERİES #8)[1], NFT (428327415331330178/Cyber
                                   Pharmacist 2398)[1], NFT (430869574356523290/Lunarian #4940)[1], NFT (434338951739242607/APE'S SERİES #10)[1], NFT (437319802593314636/ALPHA:RONIN #215)[1], NFT
                                   (460205881962863606/ALPHA:RONIN #565)[1], NFT (461466454686460606/ALPHA:RONIN #1075)[1], NFT (463023685022181616/Teen Ape 021)[1], NFT (466381360925870429/Richelle #32)[1], NFT
                                   (470352418020856598/Ape MAN#010)[1], NFT (471549932364698090/ALPHA:RONIN #729)[1], NFT (481979111987051303/ALPHA:RONIN #993)[1], NFT (496495006746524699/David #592)[1], NFT
                                   (502597410399621419/ALPHA:RONIN #1158)[1], NFT (506296853184843698/Skeleton Glock #188)[1], NFT (506933820054495925/ALPHA:RONIN #56)[1], NFT (509330683958247649/Cyber
                                   Pharmacist 4354)[1], NFT (518777228858723649/ALPHA:RONIN #556)[1], NFT (522138353691741201/Teen Ape 005)[1], NFT (524161001695075167/ALPHA:RONIN #516)[1], NFT
                                   (525721261232723011/ALPHA:RONIN #248)[1], NFT (526356591662026640/APE'S SERİES #9)[1], NFT (528711359983036997/David #109)[1], NFT (532321568926495858/David #9)[1], NFT
                                   (536073260526863514/Lobus #1855)[1], NFT (540840077875322349/Lunarian #2790)[1], NFT (542977457143472995/ALPHA:RONIN #318)[1], NFT (548143270191695413/ALPHA:RONIN #600)[1],
                                   NFT (548865312088279813/Lunarian #2179)[1], NFT (549090145295764580/ApexDucks #5928)[1], NFT (549942959322928440/ALPHA:RONIN #987)[1], NFT (554114806484884481/ALPHA:RONIN
                                   #699)[1], NFT (563471002333351367/Lobus #1173)[1], NFT (568448318039814934/ALPHA:RONIN #355)[1], NFT (569259234896218231/David #745)[1], NFT (571007062575868050/Modern House
                                   #3)[1], NFT (571308069150644593/Cyber Pharmacist 3245)[1], NFT (572460967976122737/Necropirate #376)[1], NFT (572518884516230706/Lunarian #706)[1], NFT
                                   (573500384013290930/ALPHA:RONIN #1064)[1], NFT (574902367080153913/ALPHA:RONIN #283)[1], SHIB[20], SUSHI[254.44122227], TRX[4], USD[0.00]


07979840                           SOL[.88815841], USD[1.67]

07979854                           SHIB[299700], USD[87.32]

07979856                           BTC[.00017294], CUSDT[1], USD[0.06]                                                                                                                                                         Yes

07979858                           SHIB[1], SUSHI[4.64361094], USD[0.00]                                                                                                                                                       Yes

07979859                           TRX[.91], USD[1.14]

07979860                           BTC[.00555044], CUSDT[13], DOGE[2], ETH[.06086219], ETHW[.06010819], LINK[3.46069376], MATIC[17.71908637], PAXG[.0179558], SHIB[567872.42598171], SOL[.40730607], TRX[4], USD[0.23],        Yes
                                   USDT[21.58868129], YFI[.0015201]
07979870                           CUSDT[1], KSHIB[88.74818554], SHIB[308817.5107961], USD[0.02]                                                                                                                               Yes

07979875                           CUSDT[1], DOGE[.00045284], TRX[1], USD[0.01]

07979876                           USD[20.00]

07979878                           SHIB[8900000], USD[2.73]

07979881                           SOL[.11382692]

07979899                           USD[0.00]

07979901                           BTC[.0031969], SHIB[1], USD[0.00]                                                                                                                                                           Yes
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                                                                                                                                            Customer Claims                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07979904                              NFT (426241746097859956/Series 1: Wizards #425)[1]

07979906                              BTC[.00016871], CUSDT[1], DOGE[117.47700953], SHIB[1], SOL[.05634917], USD[0.00]                                                                        Yes

07979913                              USD[20.00]

07979914                              CUSDT[2], DOGE[1], SOL[.08541294], USD[0.00]

07979916                              CUSDT[1], KSHIB[7054.23521351], USD[0.00]                                                                                                               Yes

07979917                              USD[108.14]                                                                                                                                             Yes

07979922                              SHIB[7591861.52444579], TRX[1], USD[0.00]

07979945                              NFT (413332126492513664/Australia Ticket Stub #2191)[1], USD[200.00]

07979946                              USD[20.00]

07979948                              BF_POINT[200], BTC[.00702599], CUSDT[3], ETH[.13617495], ETHW[.13511447], NFT (392512897976841843/Coachella x FTX Weekend 1 #11821)[1], USD[266.61]     Yes

07979951                              CUSDT[5], DOGE[1], MATIC[5.25965347], SHIB[1440219.2764089], USD[15.11]

07979957                              USD[0.59]

07979958                              BTC[0], ETHW[.000043], USD[13222.76]

07979978                              NFT (489689146946864936/You in, Miami? #442)[1]                                                                                                         Yes

07979979                              USD[21.51]                                                                                                                                              Yes

07979992                              CUSDT[460.93449997], DOGE[50.05807183], KSHIB[417.74436008], SHIB[8429223.04196659], TRX[191.23994869], USD[0.00]

07979993                              BTC[.0000977], SOL[.00953], USD[0.01]

07979997                              USD[1.60]

07980005                              SOL[0.98806260], USD[0.00]                                                                                                                              Yes

07980012                              CUSDT[3], DOGE[15.4538425], SHIB[2], USD[0.31]                                                                                                          Yes

07980018                              BRZ[3], CUSDT[4], DOGE[3], SHIB[1], SOL[17.08386051], TRX[2], USD[0.00]                                                                                 Yes

07980020                              BTC[0]

07980024                              BTC[.00022422], ETHW[2.25], USD[3038.84]

07980026                              CUSDT[2], DOGE[1], SHIB[5338141.65317939], SOL[.50751173], USD[0.01]                                                                                    Yes

07980040                              CUSDT[1], USD[13.53], USDT[118.5536744]                                                                                                                 Yes

07980041                              BTC[.00034044]                                                                                                                                          Yes

07980044                              DOGE[1], TRX[1], USD[0.00]

07980046                              USD[0.00]

07980047                              CUSDT[2], USD[0.34]

07980053                              SHIB[9421841.69662348], TRX[1], USD[0.00]                                                                                                               Yes

07980054                              USD[20.00]

07980059                              SOL[0], USD[0.01]

07980067                              USD[1.59]

07980074                              NFT (299626385270843533/FTX - Off The Grid Miami #359)[1], NFT (415271221106927307/Entrance Voucher #413)[1], SHIB[16], TRX[1], USD[686.46]             Yes

07980076                              BTC[.00016755], USD[0.00]                                                                                                                               Yes

07980078                              USD[29.31]

07980083                              BRZ[1], CUSDT[3], DOGE[1], SHIB[2264.08491776], TRX[1], USD[0.01]                                                                                       Yes

07980085                              CUSDT[5], DOGE[2], MATIC[.00052691], USD[0.44]                                                                                                          Yes

07980087                              CUSDT[1], DOGE[289.71629483], TRX[1], USD[0.00]                                                                                                         Yes

07980090                              USD[20.00]

07980094                              USD[20.00]

07980100       Contingent, Disputed   USD[0.00]

07980104                              USD[0.01]                                                                                                                                               Yes

07980109                              CUSDT[229.18618998], NFT (472660923198381055/BB Green #2)[1], SOL[.23357228], SUSHI[1.89274742], USD[3.01]

07980118                              DOGE[17.01679014], SHIB[69820.72520701], USD[0.00]                                                                                                      Yes

07980120                              USD[0.00]                                                                                                                                               Yes

07980124                              CUSDT[3], DOGE[345.75595844], SHIB[515889.39331407], USD[1.71]

07980126                              NFT (556516505647015786/Coachella x FTX Weekend 1 #12146)[1]

07980128                              BTC[.0079942], ETH[.032], ETHW[.032], USD[0.00]

07980133                              BTC[.26460131], ETH[2.51095591], SOL[94.3748], USD[0.13]

07980135                              BTC[0], CUSDT[1], DOGE[1], SHIB[0], USD[0.00], USDT[0.00000001]

07980138                              BTC[.0002997], ETH[.004], ETHW[.004], SOL[.00206839], USD[10.40]

07980151                              BTC[0], USD[0.00]

07980156                              BAT[1], BRZ[1], CUSDT[6], ETH[.02977533], ETHW[.02940597], GRT[443.69188921], SHIB[2307988.66365634], SOL[5.79491875], TRX[16.83878835], USD[3995.49]   Yes

07980158                              BAT[15.86129817], DOGE[51.33138953], MATIC[4.34714831], SHIB[205755.94089116], TRX[56.53756592], USD[0.00]                                              Yes

07980162                              USD[0.00]

07980175                              USD[20.00]

07980179                              USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07980184                           BTC[4], ETH[10], ETHW[10], USD[59258.92]

07980188                           DOGE[1], ETH[.00502487], ETHW[.00502487], USD[0.00]

07980217                           DOGE[1], SHIB[1], USD[0.49]

07980219                           ALGO[.00622272], BAT[.00000001], ETHW[0.00000272], PAXG[.00000001], SHIB[5], TRX[1], USD[0.00]                                                                                   Yes

07980227                           NFT (366022205798835400/Alaska )[1], NFT (514175963079323491/CaliforniaPier)[1]

07980237                           CUSDT[1], SHIB[10364842.45439469], USD[0.01]

07980252                           ETH[.194705], NFT (293562708293144816/Monkey League Cup)[1], SOL[.005857], USD[1.05]

07980255                           USD[20.00]

07980256                           AAVE[0], BRZ[0], BTC[0], CUSDT[5], DOGE[0], ETH[0], GRT[0], LINK[0], MKR[0], SOL[0.00050000], TRX[1], UNI[0], USD[0.00], YFI[0]                                                  Yes

07980267                           BTC[.0007], USD[3.78]

07980274                           BTC[0], ETH[0], SHIB[2528640.83453441], USD[0.00]                                                                                                                                Yes

07980277                           USD[7.58]

07980278                           CUSDT[1], SHIB[2], USD[0.00]                                                                                                                                                     Yes

07980282                           CUSDT[1], USD[0.00]                                                                                                                                                              Yes

07980288                           BRZ[169.15066076], DOGE[0.00448190], KSHIB[0], MATIC[0], NFT (513716618907106886/Entrance Voucher #3034)[1], SHIB[3], SOL[0], TRX[0], UNI[0], USD[0.00], USDT[0]                 Yes

07980289                           USD[21.51]                                                                                                                                                                       Yes

07980290                           USD[2.00]

07980292                           BRZ[1], BTC[.01126432], CUSDT[6], DOGE[600.18994313], ETH[.15868153], ETHW[.15868153], SHIB[5377839.53384879], SOL[.2216902], TRX[107.25171869], USD[0.60], USDT[9.94307974]

07980300                           CUSDT[2], DOGE[62.09409773], USD[0.00]                                                                                                                                           Yes

07980306                           BTC[.08474429], ETH[.4066337], ETHW[.4066337], SUSHI[.49325], USD[2.46]

07980330                           BTC[0.00016951], SHIB[1], USD[0.00]                                                                                                                                              Yes

07980333                           SHIB[5278613.65068807], SOL[.00000001], USD[0.00]                                                                                                                                Yes

07980335                           GRT[1], SHIB[23973959.66838892], TRX[1], USD[0.05]                                                                                                                               Yes

07980336                           BTC[.00000128], SOL[.00002557]                                                                                                                                                   Yes

07980342                           USD[114.10]                                                                                                                                                                      Yes

07980352                           BTC[0], ETH[0], USD[4.38], USDT[0.00018368]

07980356                           TRX[1], USD[21.51]                                                                                                                                                               Yes

07980361                           USD[0.00]

07980366                           BRZ[1], CUSDT[6], DOGE[385.6512651], ETH[.01131515], ETHW[.01117835], GRT[48.81148116], LINK[1.56612331], LTC[.23501926], MATIC[28.52440755], SHIB[1951144.15579156],            Yes
                                   SOL[.21826359], USD[0.01]
07980370                           USD[108.67]                                                                                                                                                                      Yes

07980376                           NFT (343080362991349921/Coachella x FTX Weekend 2 #27714)[1]                                                                                                                     Yes

07980384                           USD[10.87]                                                                                                                                                                       Yes

07980397                           BRZ[1], CUSDT[6], DOGE[2], SHIB[27775418.52474381], USD[0.00]                                                                                                                    Yes

07980398                           BTC[.00061949], CUSDT[2], USD[0.00]

07980402                           USD[0.39]

07980404                           CUSDT[1], SUSHI[50.66268538], USD[0.00]                                                                                                                                          Yes

07980408                           DOGE[43.38125503], USD[0.00]

07980410                           BAT[2], GRT[10], MATIC[89.98], TRX[52], USD[0.15]

07980415                           SOL[1.74], USD[0.02], USDT[.00592]

07980420                           CUSDT[5], SHIB[0], TRX[2], USD[0.00]                                                                                                                                             Yes

07980421                           BF_POINT[100], CUSDT[3], MKR[.01177747], NFT (354259625270263379/First 50 #31)[1], SHIB[364252.71444429], SOL[.30824019], USD[0.00]                                              Yes

07980432                           USD[20.00]

07980453                           BRZ[1], USD[0.00]

07980461                           SOL[.23905], USD[0.07]

07980466                           BTC[.00070125], CUSDT[3], ETH[.01039678], ETHW[.01027366], SOL[.16275051], USD[0.00]                                                                                             Yes

07980467                           USD[20.00]

07980471                           BTC[0]

07980474                           USD[1.03]

07980489                           USD[20.00]

07980494                           CUSDT[2], DOGE[1], SHIB[37909513.87826214], USD[0.02]

07980500                           BF_POINT[200]                                                                                                                                                                    Yes

07980501                           AAVE[.07882246], ALGO[34.74913883], AVAX[1.30440869], BCH[.32589383], BRZ[127.16428741], CUSDT[11], DOGE[757.1319222], ETHW[.17594117], KSHIB[340.10582221], LINK[2.47875916],   Yes
                                   LTC[1.76528972], MATIC[31.77261431], NFT (353498237424469501/Entrance Voucher #3924)[1], SHIB[2019948.20128383], SOL[1.67297741], SUSHI[2.45630099], TRX[3], UNI[8.62464518],
                                   USD[2.49], YFI[.00034083]
07980518                           USD[0.01]                                                                                                                                                                        Yes

07980519                           BTC[0.00000003], DOGE[1], ETH[0.00000001], ETHW[0], GRT[.00529905], LINK[0.00005688], MATIC[0], SHIB[2], SOL[0], USD[0.00], USDT[0], YFI[0]                                      Yes

07980522                           USD[20.00]

07980527                           BAT[0], BTC[0], ETH[0], KSHIB[0], LTC[0], MATIC[0], SHIB[0], TRX[10.2037605], USD[0.00], USDT[0]                                                                                 Yes

07980529                           BTC[0], USD[0.43]
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                                                                                                                                         Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07980534                           SHIB[6700000], USD[45.17]

07980537                           SOL[.0939]

07980544                           USD[20.00]

07980551                           CUSDT[1], SOL[.14583981], USD[0.00]                                                                                                                                                    Yes

07980557                           BTC[.00034023], CUSDT[1], USD[0.00]                                                                                                                                                    Yes

07980558                           USD[11.95]                                                                                                                                                                             Yes

07980569                           BRZ[1], CUSDT[1], DOGE[1], TRX[74.51335315], USD[531.33]                                                                                                                               Yes

07980576                           ETH[.00849929], ETHW[.00838985], SHIB[1], USD[5.98]                                                                                                                                    Yes

07980578                           CUSDT[1], SHIB[222353.98754817], USD[0.00]

07980579                           CUSDT[0], MATIC[0], SOL[0], USD[0.00]

07980589                           NFT (333420119160271358/Warriors Gold Blooded NFT #747)[1], NFT (445720869102297168/Warriors 75th Anniversary Icon Edition Diamond #1300)[1], NFT (446556619009039408/Warriors 75th    Yes
                                   Anniversary City Edition Diamond #26)[1], NFT (572421726524170376/Fancy Frenchies #3518)[1], SOL[.99430382], USD[0.00]
07980596                           USD[20.00]

07980606                           ETH[.0008035], ETHW[.0006725], USD[5094.50]

07980611                           SHIB[1093972.00422395], SOL[.05004852], TRX[1], USD[0.00]                                                                                                                              Yes

07980613                           DOGE[1], ETH[.00200014], ETHW[.00197278], SHIB[3], TRX[1], USD[0.00]                                                                                                                   Yes

07980614                           USD[23.20]

07980618                           DOGE[1], SHIB[2443368.0693046], USD[190.17]                                                                                                                                            Yes

07980622                           USD[20.00]

07980623                           USD[0.70]                                                                                                                                                                              Yes

07980627                           CAD[6.65], CUSDT[1], MATIC[2.97967951], USD[10.03], USDT[5.40358387]                                                                                                                   Yes

07980634                           USD[20.00]

07980635                           CUSDT[1], USD[6.10]

07980637                           BF_POINT[100]

07980646                           DOGE[3], SOL[20.70322151], USD[12000.00]

07980649                           DOGE[.314], LTC[.00105], SOL[.005], USD[4.41]

07980655                           USD[20.00]

07980661                           USD[168.55]

07980666                           BAT[3.31736814], CUSDT[1], DAI[10.80931857], USD[0.00], USDT[14.04649767]                                                                                                              Yes

07980696                           DOGE[1], SHIB[1499250.37481259], USD[0.00]

07980701                           USD[21.51]                                                                                                                                                                             Yes

07980702                           CUSDT[1], SHIB[6460496.28607945], USD[0.01]                                                                                                                                            Yes

07980709                           BTC[.00000048], CUSDT[6], DOGE[2], ETH[0.03417947], SHIB[2], TRX[6], USD[0.44]

07980713                           USD[8.66]

07980716                           BRZ[56.62097874], TRX[10.84750587], USD[9.23]                                                                                                                                          Yes

07980718                           BTC[.0007], NFT (308339188979032247/Munchpax #18)[1], NFT (315445813919072580/The Experience 420 #2)[1], NFT (355968005247162129/Munchpax #20)[1], NFT
                                   (434250362995369664/Munchpax #15)[1], NFT (462418512766172088/Munchpax #3)[1], NFT (465627505544940519/Munchpax #2)[1], NFT (512776149068907438/Munchpax #5)[1], USD[2.85]
07980726                           CUSDT[2], SHIB[2046185.32592809], SOL[.00108051], TRX[1], USD[3.98]

07980728                           CUSDT[2], USD[0.01]

07980736                           SOL[.27], USD[1.15]

07980749                           USD[0.00]                                                                                                                                                                              Yes

07980756                           BRZ[1], CUSDT[5], DOGE[1], ETH[.01835139], ETHW[.01835139], GRT[1], LINK[.04226919], MATIC[78.83422181], SHIB[2024406.56306301], SOL[.53756082], TRX[1], USD[6.26]

07980768                           ETH[0], SOL[0.00024334], USD[0.00], USDT[0.98800125]

07980774                           USD[12.00]

07980781                           CUSDT[1], ETH[.01339049], ETHW[.01322633], USD[0.00]                                                                                                                                   Yes

07980785                           NFT (343166014765906276/Coachella x FTX Weekend 1 #26956)[1]

07980794                           USD[0.00]

07980811                           CHF[0.01], CUSDT[3], SOL[0.12151262], USD[0.00]

07980818                           BTC[.08574897], ETH[.67286982], SHIB[1], TRX[1], USD[0.00]                                                                                                                             Yes

07980823                           USD[60.01]

07980828                           NFT (424284074962039080/Killy Billy)[1], NFT (426495332551208490/AI-generated landscape #58)[1], NFT (461487915845468060/CryptoAvatar #114)[1], NFT (487787859134461006/AI-generated
                                   landscape #56)[1], NFT (527329160529843901/SandJack)[1]
07980830                           USD[1000.00]

07980832                           BTC[0.00270368], CUSDT[3], DOGE[1], NFT (565208298194129122/Eitbit Ape #7781)[1], SOL[.69657368], USD[7.78]                                                                            Yes

07980835                           CUSDT[3], DOGE[1], GRT[11.38794969], MATIC[39.60728265], SOL[.05772254], SUSHI[3.119266], TRX[118.14901409], USD[187.45]                                                               Yes

07980840                           USD[0.00]

07980855                           SOL[0.00000001], USD[0.00], USDT[0]

07980859                           CUSDT[4], SOL[2.53468074], TRX[1], USD[0.93]                                                                                                                                           Yes

07980861                           BTC[0], SHIB[0], USD[0.00]

07980877                           USD[3.08]
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                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07980888                              ETHW[0], SHIB[1], SOL[.00000001], USD[0.00]                                                                                                                                         Yes

07980898                              BRZ[1], DOGE[0], ETH[0.00000230], ETHW[0.00000230], KSHIB[0], PAXG[0.00002311], USD[0.00], USDT[1.00049325]                                                                         Yes

07980902                              USD[10.00]

07980910                              BTC[.01150295], USD[0.00]

07980914                              CUSDT[1], SHIB[771797.41217134], USD[0.01]                                                                                                                                          Yes

07980923       Contingent, Disputed   BCH[0], BRZ[0], CUSDT[0], ETH[0], GBP[0.00], MKR[0], USD[0.00]                                                                                                                      Yes

07980926                              CUSDT[4], SHIB[190904.07501684], USD[0.54]

07980942                              CUSDT[2], DOGE[648.378], SHIB[1377.6337115], USD[0.00]

07980956                              USD[20.00]

07980962                              USD[100.00]

07980978                              DOGE[.6], KSHIB[999], SHIB[2498500], SOL[1.30869], USD[1.54]

07980983                              ETH[.00000028], ETHW[0.00000027]                                                                                                                                                    Yes

07980992                              USD[64.11]                                                                                                                                                                          Yes

07980996                              USD[50.00]

07981004                              CUSDT[6], DOGE[593.84365755], ETH[.10828198], ETHW[.10718892], NFT (517310998317227293/You in, Miami? #443)[1], SHIB[8880137.11738292], TRX[2], USD[0.00]                           Yes

07981011                              CUSDT[5], DOGE[1204.58948929], MATIC[172.50351146], SHIB[12043797.1055215], SOL[2.35744287], TRX[1], USD[429.40]                                                                    Yes

07981016                              NFT (554600540648349591/Coachella x FTX Weekend 1 #13055)[1]

07981037                              USD[20.00]

07981038                              ETHW[4.99870415], USD[34.00]

07981041                              CUSDT[2], DOGE[349.40953454], SHIB[3047134.00108134], TRX[1], USD[0.03]                                                                                                             Yes

07981045                              AAVE[0], BTC[0], ETH[0], ETHW[0], LTC[0], PAXG[0.00000402], SHIB[18], SOL[.00002892], SUSHI[0], TRX[1], USD[0.01], USDT[0]                                                          Yes

07981058                              GRT[.00013082], USD[0.00]                                                                                                                                                           Yes

07981061                              BTC[.00040935], CUSDT[6], DOGE[276.09475533], ETH[.01197714], ETHW[.01197714], SHIB[1376031.79737451], USD[0.00]

07981076                              CUSDT[3], DOGE[1], ETH[.05816684], ETHW[.05744267], TRX[1], USD[0.00]                                                                                                               Yes

07981099                              DOGE[1], SHIB[1391207.56816917], USD[0.00]

07981114                              BTC[.00229729], CUSDT[3], DOGE[115.05114785], ETH[.01835833], ETHW[.0181256], SHIB[1623730.73791571], TRX[1], USD[0.02]                                                             Yes

07981115                              BRZ[1], DOGE[1], SHIB[2], TRX[1], USD[0.00], USDT[0]                                                                                                                                Yes

07981118                              SOL[0]

07981130                              ETH[.7], ETHW[.7]

07981132                              BRZ[1], DOGE[144.21205853], USD[0.01]                                                                                                                                               Yes

07981134                              CUSDT[1], KSHIB[262.13294038], SOL[.08726643], USD[0.00]                                                                                                                            Yes

07981135                              USD[21.73]                                                                                                                                                                          Yes

07981138                              BRZ[1], SHIB[1452164.32898227], USD[0.00]                                                                                                                                           Yes

07981142                              BTC[.00029441], CUSDT[3], DOGE[84.42645828], SHIB[362582.85668744], TRX[1], USD[0.00]                                                                                               Yes

07981147                              BTC[.00000088], ETH[0.00084099], ETHW[0.52384099], SOL[.00842041], USD[0.00]

07981150                              CUSDT[1], USD[0.00]

07981153                              BF_POINT[300], ETH[.00000028], ETHW[.03043122], LINK[0.00024645], SHIB[7], TRX[1], USD[0.00]                                                                                        Yes

07981155                              USD[0.05]

07981160                              AUD[2.85], NFT (565083424113805849/FTX - Off The Grid Miami #1515)[1], USD[0.06]                                                                                                    Yes

07981178                              CUSDT[1], SHIB[793335.97778659], USD[0.01]

07981186                              AAVE[.04930872], BAT[25.39521115], BCH[.0293032], BRZ[1], BTC[.00564261], CUSDT[27], DOGE[81.330817], ETH[.02536266], ETHW[.02504802], GRT[17.37023658], LINK[.55186661],           Yes
                                      LTC[1.03851885], MATIC[8.7548898], MKR[.00717271], SHIB[3], SOL[1.59972442], SUSHI[1.58283928], TRX[178.34185948], UNI[.66514605], USD[0.96], YFI[.00043473]
07981199                              NFT (337384838466245706/You in, Miami? #444)[1]

07981200                              ETH[.00789853], ETHW[.00780277], TRX[1], USD[0.06]                                                                                                                                  Yes

07981204                              USD[20.00]

07981210                              USD[0.00]

07981212                              CUSDT[3], SHIB[1], TRX[1], USD[0.02], USDT[0]

07981218                              USD[0.00], USDT[1.018273]

07981221                              CUSDT[1], DOGE[1], USD[0.00]

07981229                              SHIB[4580917.87439613]

07981231                              USD[21.51]                                                                                                                                                                          Yes

07981242                              BF_POINT[200], CUSDT[3], KSHIB[394.31063381], SHIB[807684.14134294], USD[0.42]                                                                                                      Yes

07981245                              NFT (320654366893444163/Halloween Series)[1], NFT (389381457666534803/Halloween Series #4)[1], NFT (439040372320314838/Halloween Series #2)[1], NFT (499148054975603745/Halloween
                                      Series #3)[1], USD[10.62]
07981248                              NFT (371793650390227155/FTX - Off The Grid Miami #1958)[1], SHIB[1466499.83683752], USD[0.63]

07981251                              ETH[.00896605], ETHW[.00885661], USD[0.00]                                                                                                                                          Yes

07981256                              BTC[.00922609], USD[0.00]                                                                                                                                                           Yes

07981259                              USD[20.00]

07981260                              USD[20.00]

07981266                              BTC[0], USD[0.01]                                                                                                                                                                   Yes
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                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07981269                              CUSDT[1], SHIB[1803417.9519459], USD[0.00]                                                                                                                                          Yes

07981271       Contingent, Disputed   BF_POINT[200], CUSDT[1], USD[0.00]                                                                                                                                                  Yes

07981274                              BTC[0], DOGE[0], ETH[0], NFT (292023608145263257/Pisces #1)[1], NFT (313976762415753958/Ghoulie #5968)[1], NFT (318708913313947716/#5332)[1], NFT (332921785974784257/MİNİON #3)[1], Yes
                                      NFT (350332251570563022/ape#3)[1], NFT (354486057864224092/Ravager #1655)[1], NFT (363957200658179082/King Ape Club)[1], NFT (367100108654211363/LosAngeles)[1], NFT
                                      (375942411363995850/Player 69)[1], NFT (381845291998911969/The Time Traveler)[1], NFT (385462183657468989/MİNİON #1)[1], NFT (389839931136867333/Elixir bottle #6)[1], NFT
                                      (395622324942832090/BTC WORLD)[1], NFT (395710027946952908/Acid rauss #50)[1], NFT (398622561775482679/Rose #001)[1], NFT (408911398772775626/Terraform Seed)[1], NFT
                                      (418834282230096820/#0002 Air I drop)[1], NFT (422251055468864262/Geraldine1005)[1], NFT (423974389859189855/ETH WORLD)[1], NFT (426839523265312165/Mona Lisa Survive)[1], NFT
                                      (433579756493166418/FractumPunk #4)[1], NFT (454402075336032596/Geraldine1019)[1], NFT (458045915362801035/Tesla)[1], NFT (463150507764197127/Xtoner Ape)[1], NFT
                                      (464850733787224489/Ravager #1315)[1], NFT (465978721729513886/Cyclone bot #8)[1], NFT (467775326661088028/MİNİON #0)[1], NFT (470783912173351378/Feisty Fox #01)[1], NFT
                                      (479536454600075404/ Solar rainbow rauss #6)[1], NFT (479556638613520872/BTC-lNVESTOR)[1], NFT (483346883958388044/Ninjugon Warriors)[1], NFT
                                      (485521743649055863/Thinker_Head_Over_The_City)[1], NFT (486581104023898293/AbstractNeon#19)[1], NFT (490029435672999947/Baddies #1587)[1], NFT (496422548663213909/Solana Penguin
                                      #6454)[1], NFT (496957918305149147/Player 24)[1], NFT (499783649366252393/Latawica #37)[1], NFT (512539994967911431/Wizard #01)[1], NFT (517107401410232976/FractumPunk #89)[1], NFT
                                      (517553126982357508/Painting-Art #4)[1], NFT (523388324937684415/Psyche Exa Planet )[1], NFT (536905911407967637/Acid rauss #88)[1], NFT (539803155489001517/Meta Artificial World
                                      #0036)[1], NFT (539995946349706810/The Red Brick Society)[1], NFT (550230089914214293/Solana Penguin #3293)[1], NFT (553625860216106308/Ghoulie #6672)[1], NFT
                                      (555730503752928087/Inverse Bear 3D #7412)[1], NFT (556676232027912719/Melted)[1], NFT (557308083279084682/SOL 1ST.EDDY-PREDICTOR DAVID #4)[1], NFT
                                      (561218456082953309/Ravager #1169)[1], NFT (561929462217647857/Ghoulie #6765)[1], NFT (563673949493398033/SolWarrior #1386)[1], NFT (564677441266819517/#53)[1], NFT
                                      (567138528430371309/Sigma Shark #6066)[1], NFT (569463986507553270/Xeon)[1], NFT (571725553254993805/The Dude #5)[1], SHIB[0], SOL[0.20536805], TRX[0], USD[0.00], USDT[0]

07981278                              SOL[.1998], USD[1.49]

07981293                              CUSDT[1], DOGE[162.49186606], USD[0.00]

07981303                              USD[356.80]                                                                                                                                                                         Yes

07981311                              CUSDT[3], DOGE[1], GRT[34.47883858], MATIC[11.44944417], SHIB[320955.99974487], TRX[315.93519828], USD[0.90]                                                                        Yes

07981313                              BTC[0], SHIB[3293800], USD[1.11]

07981314                              BRZ[2], CUSDT[5], DOGE[4], ETH[.00058985], ETHW[111.20171099], GRT[2], SHIB[10034549.71073449], SOL[12.51741394], TRX[2], USD[0.00], USDT[3.08183037]                               Yes

07981323                              USD[15.00]

07981324                              SHIB[461736.82845389], USD[0.00]                                                                                                                                                    Yes

07981333                              BTC[.0353771], USD[1.76]

07981335                              USD[10.00]

07981338                              ETH[.003], ETHW[.003], USD[8.86]

07981341                              DOGE[3], TRX[1], USD[0.00]                                                                                                                                                          Yes

07981351                              BRZ[2], CUSDT[12], DOGE[5], NFT (378711679557904762/Saudi Arabia Ticket Stub #1862)[1], NFT (437981254564896599/Flea #2)[1], NFT (494832463234238920/Voxel Animals #16)[1],         Yes
                                      SOL[.00000706], TRX[3], USD[0.01]
07981353                              USD[292.48]                                                                                                                                                                         Yes

07981360                              ETH[0], ETHW[0], MATIC[0], USD[0.00]                                                                                                                                                Yes

07981377                              USD[20.00]

07981398                              USD[0.00]

07981399                              USD[20.00]

07981401                              CUSDT[2], LINK[1.36683145], MATIC[54.91706987], TRX[107.7017059], USD[0.00]

07981406                              BAT[62.937], BTC[.0057], ETH[.023], ETHW[.023], LINK[2], LTC[.21], MATIC[30], SHIB[8000000], SOL[1.85814], USD[2.46]

07981408       Contingent, Disputed   BF_POINT[100], BTC[0], SOL[0], USD[0.01], USDT[0]                                                                                                                                   Yes

07981420                              BTC[.0000975], DOGE[13], ETH[.00096], ETHW[.58696], USD[924.83]

07981431                              USD[0.02], USDT[.14765638]

07981435                              ETH[.002997], ETHW[.002997], SOL[.1], USD[3.32]

07981439                              BTC[.0025941], CUSDT[501.34616698], DOGE[495.76226383], MATIC[59.71959201], TRX[1118.22287361], USD[149.14]                                                                         Yes

07981442                              CUSDT[2], KSHIB[95.781663], USD[0.00]

07981444                              BAT[1.00422505], BRZ[2], CUSDT[6], DOGE[2], GRT[26.84285988], MATIC[.89070667], SHIB[5723966.72522132], SOL[0], USD[1020.75], USDT[0]                                               Yes

07981450                              SHIB[100000], USD[0.71], USDT[.0050571]

07981459                              SOL[.2], USD[0.31]

07981465                              ETH[.00062346], ETHW[.00062346], USD[54.18], USDT[0]

07981468                              BTC[0], ETH[0], ETHW[0], LTC[0], SOL[0], TRX[0], UNI[0], USD[0.00]

07981474                              DOGE[0], ETH[0], KSHIB[0], SHIB[0], USD[0.00]

07981479                              BTC[.00016267], USD[0.02]                                                                                                                                                           Yes

07981483                              BTC[.00025547], CUSDT[1], ETH[.00270178], ETHW[.00267442], USD[0.00]                                                                                                                Yes

07981487                              USD[0.00]

07981492                              NFT (308582520968264893/You in, Miami? #445)[1]

07981496                              DOGE[1], SHIB[6491950.14282004], USD[0.00]

07981498                              BTC[.00019245], CUSDT[1], GRT[.06341257], SHIB[477394.86715456], USD[0.56]                                                                                                          Yes

07981500                              BTC[.0008991], USD[2.46]

07981503                              ETH[.0366972], ETHW[.03624533]                                                                                                                                                      Yes

07981505                              CUSDT[3], DOGE[1], USD[0.00]

07981509                              DOGE[44.95725], USD[0.10]

07981510                              UNI[.25]

07981511                              BTC[.00871968], CUSDT[17], DOGE[3], ETH[.27630636], ETHW[.27630636], TRX[1], USD[0.13]

07981522                              USD[4.95]

07981524                              BRZ[2], BTC[.00000003], CUSDT[3], DOGE[1], ETH[.00000029], ETHW[.03156106], SHIB[2], USD[96.71]                                                                                     Yes
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
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                                                                                                                                            Customer Claims                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07981528                              BAT[.5611581], CUSDT[8], DOGE[.86993664], KSHIB[.00003444], MATIC[.55991687], SHIB[397065.56219659], TRX[.49201569], USD[1.22]                                            Yes

07981543                              BTC[.00032242], USD[0.00]

07981549                              USD[20.00]

07981554                              GRT[.611], USD[9.02]

07981580                              BTC[.03837387], DOGE[1], ETH[.36531391], ETHW[.36531391], SHIB[1], USD[0.00]

07981586                              SHIB[21247.86279379], USD[0.00]

07981620                              CUSDT[5], KSHIB[838.1757518], USD[0.00]                                                                                                                                   Yes

07981631                              NFT (361488812786013713/Humpty Dumpty #697)[1]

07981644                              SHIB[141023.83302778], USD[0.00]

07981648                              DOGE[15.3461813], ETH[0]

07981651                              BTC[.28592661], DOGE[6244.02620335], ETH[2.13640248], ETHW[.00003574], SHIB[82130804.824331], SOL[9.7506397], UNI[101.39126224], USD[15.34]

07981667                              SHIB[2], USD[140.96]                                                                                                                                                      Yes

07981669                              USD[200.00]

07981672                              SHIB[6890848.95259095], USD[0.01]

07981694                              BRZ[1], CUSDT[17], DOGE[5.01071749], ETH[0], ETHW[0], MATIC[0], SHIB[6279396.04239074], SOL[2.14181711], TRX[7], USD[0.00]                                                Yes

07981695                              SHIB[152742.71522217], USD[0.00], USDT[10.80251866]                                                                                                                       Yes

07981715                              CUSDT[1], SHIB[388107.94341241], USD[0.06]                                                                                                                                Yes

07981723                              BRZ[2], BTC[.24150009], CUSDT[2], DOGE[1885.47106892], ETH[.21712895], ETHW[.21712895], SHIB[9865824.78295185], TRX[1], USD[0.00]

07981726                              BRZ[305.77608705], CUSDT[2468.02945264], DOGE[1], SHIB[810895.04013378], USD[0.00]                                                                                        Yes

07981731                              BRZ[69.08946573], BTC[.00004134], CUSDT[72.59437816], MATIC[.00004735], SHIB[819915.07731573], TRX[3], USD[0.00]

07981732                              BTC[.00160653], DOGE[1], USD[0.00]

07981741                              SOL[.25], USD[0.50]

07981746                              USD[0.00]                                                                                                                                                                 Yes

07981756                              CUSDT[2], ETH[.00546901], ETHW[.00540061], LTC[.0889303], SOL[.05801607], USD[0.00]                                                                                       Yes

07981771                              BRZ[1], BTC[.00830141], CUSDT[127.45953675], DOGE[18.19043444], ETH[1.29678079], ETHW[1.29623615], SHIB[1261412.67524483], TRX[13.06757205], USD[2.09]                    Yes

07981773                              DOGE[0], ETH[0], MATIC[0], NFT (532887280515797180/Flowers )[1], SHIB[145225.85521055], USD[0.00], USDT[0]                                                                Yes

07981775                              BTC[0.00020500], DOGE[87.10647188], ETH[.0169191], ETHW[0.86983516], SHIB[6831875.14938273], SOL[.67086514], TRX[3], USD[-22.45]                                          Yes

07981778                              BTC[.00128087], CUSDT[.00007635], DOGE[1], ETH[.01587968], NEAR[.00001851], SHIB[1511.66408261], USD[41.07]                                                               Yes

07981797                              NFT (389098026811679848/FTX - Off The Grid Miami #3017)[1]

07981799                              USD[108.67]                                                                                                                                                               Yes

07981810                              BAT[4.24077126], BRZ[5.89050173], CUSDT[22.70714593], DAI[.99475097], GRT[1.03116668], KSHIB[12.82346715], LINK[.03185112], MATIC[.52058202], MKR[.0004069], NFT          Yes
                                      (405114904516061248/Galaxy Scorpion)[1], NFT (461842784568270096/Anime #56)[1], NFT (546235463583990371/Comp. Man 1)[1], NFT (551494610028779014/CryptoFabula #123)[1],
                                      PAXG[.00063514], SHIB[94486.78235043], SOL[.00912194], TRX[22.62585799], UNI[.03809073], USD[46.35], USDT[.99438061]
07981815                              CUSDT[12], DOGE[1], LTC[.00000202], TRX[.00051109], USD[0.00]                                                                                                             Yes

07981822                              BTC[.00174445], CUSDT[2], ETH[.01539978], ETHW[.01539978], LTC[.54256165], SOL[.90094911], USD[0.00]

07981830                              CUSDT[2], DOGE[1], SHIB[746802.80807712], TRX[848.7947285], USD[108.62]                                                                                                   Yes

07981836                              USD[0.00]                                                                                                                                                                 Yes

07981844                              BRZ[2], CUSDT[8], DOGE[3], PAXG[.06203257], SOL[.55233093], USD[0.68]                                                                                                     Yes

07981845                              DOGE[18.4220723], SHIB[277782.51810344], USD[0.00]                                                                                                                        Yes

07981849                              BF_POINT[300], CUSDT[3], SHIB[2770.11398090], SOL[2.64293473], TRX[1], USD[0.02]                                                                                          Yes

07981853                              SHIB[3768.24630913]                                                                                                                                                       Yes

07981875                              BTC[.00130845], CUSDT[4], SOL[0.10524013], USD[0.67]                                                                                                                      Yes

07981877                              SOL[2.22859869], TRX[1], USD[2.02]                                                                                                                                        Yes

07981878                              BRZ[2], DOGE[7.01202148], SOL[0], USD[0.00]                                                                                                                               Yes

07981892                              BTC[.00246491], CUSDT[2], DOGE[3], ETH[.02026538], ETHW[.02001873], LTC[.1923388], SHIB[1204418.99004596], TRX[1], USD[17.97]                                             Yes

07981894                              ETHW[5.69740305], USD[0.29]

07981908                              CUSDT[4], DOGE[903.74635725], KSHIB[1514.40051017], SHIB[821930.13546704], TRX[1117.88467346], USD[0.11]                                                                  Yes

07981909                              BRZ[121.08029117], BTC[.0018762], CUSDT[993.52079146], DAI[21.61824244], DOGE[90.58699664], MATIC[11.64095173], SHIB[2096795.93459856], USD[0.00]                         Yes

07981912                              USD[53.57]                                                                                                                                                                Yes

07981913                              NFT (346055400772518106/FTX - Off The Grid Miami #1146)[1]

07981921                              SHIB[7000000], USD[16.07]

07981933                              CUSDT[1], SHIB[137548.63993461], USD[0.00]                                                                                                                                Yes

07981939                              SHIB[2299700], USD[0.08]

07981940                              SHIB[4383.385612], USD[0.00]                                                                                                                                              Yes

07981946                              CUSDT[1], ETH[.02458546], ETHW[.0242845], SHIB[5172086.98390525], TRX[1], USD[0.08]                                                                                       Yes

07981948                              DOGE[2], SHIB[10373495.84801837], USD[40.79]                                                                                                                              Yes

07981963                              CUSDT[2], DOGE[109.78741642], SHIB[529941.70641229], USD[0.00]

07981969       Contingent, Disputed   USD[0.01]                                                                                                                                                                 Yes

07981972                              SHIB[1658656.06019795], USD[0.00]                                                                                                                                         Yes
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                                                                                                                                            Customer Claims                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07981973                              MATIC[50], SHIB[3100000], USD[3.30]

07981978                              BTC[0], ETH[0], ETHW[0], KSHIB[0], LTC[.00000583], PAXG[0], SHIB[7], SUSHI[0], TRX[1], USD[0.00]                                                                      Yes

07981979                              SOL[.0000245], TRX[2], USD[0.20]                                                                                                                                      Yes

07981980                              BAT[1.48307861], MATIC[511.70955806], SOL[6.52773191], SUSHI[1.91896657], UNI[33.25224131], USD[0.00]

07981995                              DOGE[1], SHIB[8057673.59043807], USD[0.00]                                                                                                                            Yes

07981996                              CUSDT[1], SOL[.00000001], USD[0.53], USDT[1.08664553]                                                                                                                 Yes

07982005                              CUSDT[1], DOGE[1], SHIB[2236894.85015874], TRX[391.94884614], USD[0.03]

07982009                              USD[20.00]

07982011                              BF_POINT[100], CUSDT[7], DOGE[1495.01702948], KSHIB[687.38528398], MATIC[26.17900586], SHIB[1383707.76070194], SOL[2.25331296], USD[0.05]                             Yes

07982024                              USD[21.51]                                                                                                                                                            Yes

07982028                              DOGE[0], SHIB[142.68410041], USD[0.00]                                                                                                                                Yes

07982031                              BAT[1], BTC[.00026879], CUSDT[5], DOGE[.00046345], ETH[.03374897], ETHW[.03332724], SHIB[6196215.31347737], USD[0.71]                                                 Yes

07982035                              CUSDT[1], USD[0.00]

07982053                              BTC[.00000081], CUSDT[3], DOGE[3], TRX[3], USD[0.00], USDT[.00132499]                                                                                                 Yes

07982057                              USD[543.33]                                                                                                                                                           Yes

07982061                              DOGE[3], ETH[.00377455], GRT[2.02997572], SHIB[3], USD[48.49], USDT[0]                                                                                                Yes

07982064                              CUSDT[2], LINK[1.76795298], SOL[.27200236], USD[0.00]                                                                                                                 Yes

07982071                              BCH[.00000037], BRZ[7.08175376], CUSDT[52.98204677], DOGE[2.44207492], ETH[.00000004], ETHW[.00000004], LTC[.00000106], MATIC[2.12638915], SHIB[2], SOL[.00000112],   Yes
                                      TRX[10.86076748], USD[0.00]
07982079                              BTC[.01635919], TRX[1], USD[0.00], USDT[0]

07982082                              BTC[.00296797], DOGE[388.15531491], USD[0.00]                                                                                                                         Yes

07982104                              BTC[.00365988]                                                                                                                                                        Yes

07982106                              BTC[.01368993], USD[0.28]

07982108                              USD[0.93]

07982109                              USD[20.00]

07982110                              CUSDT[1], DOGE[28.50822724], SHIB[118066.40565566], USD[0.46]                                                                                                         Yes

07982127                              BTC[.00790823], SOL[.61], USD[1.19]

07982133                              BTC[.00130474], CUSDT[4], ETH[.05690447], ETHW[.05619695], TRX[3], USD[0.00]                                                                                          Yes

07982144                              BAT[2.05236952], BRZ[2], BTC[.00396603], CUSDT[13], DOGE[2109.50889996], ETH[.11288556], ETHW[.11179501], SHIB[113767739.51745911], TRX[6230.40754513], USD[0.00]

07982150       Contingent, Disputed   USD[0.00]                                                                                                                                                             Yes

07982158                              BTC[.00084096], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07982167                           ETH[0], NFT (290599186490882328/Clock #60)[1], NFT (292912189156776004/Astro Stones #14)[1], NFT (293430373753930080/Fatperson #2)[1], NFT (293496033018545550/MONSTER LİFE)[1],
                                   NFT (293683396598732139/Munchpax #7)[1], NFT (296246478898599991/Clock #58)[1], NFT (298271796284782747/Clock #30)[1], NFT (298303726938874279/Clock #94)[1], NFT
                                   (298730821637143844/Mad Lions Series #55)[1], NFT (298897909585669711/Rhino Polly)[1], NFT (298976584756341679/Ape City #3)[1], NFT (299440210022327607/Mad Lions Remastered)[1], NFT
                                   (299919858912756479/Clock #10)[1], NFT (300258782941161154/BANANA #22)[1], NFT (300274379874572763/Mad Lions Remastered #13)[1], NFT (300900183430682762/Clock #74)[1], NFT
                                   (301007633911443783/Clock )[1], NFT (302137425095857169/Marijuana #27)[1], NFT (302171586891349709/BANANA #32)[1], NFT (302248487830115520/Brick World #15)[1], NFT
                                   (302867962633856176/Clock #100)[1], NFT (307416806635108866/The Experience 4/20 #10)[1], NFT (309480656329610737/Marijuana #28)[1], NFT (310226991468118919/The Experience 4/20 #6)[1],
                                   NFT (310983164826961636/Cali The Bear #22)[1], NFT (311985913267512647/Marijuana #7)[1], NFT (312254169309808611/Cali The Bear #7)[1], NFT (312699321262096770/Marijuana #8)[1], NFT
                                   (314196957942848524/Ape City #30)[1], NFT (314610638254472850/BANANA #25)[1], NFT (314716288188653306/Munchpax #16)[1], NFT (315761837276340304/Guard #6)[1], NFT
                                   (317978318352728808/Thinking)[1], NFT (319314893450579953/My Little Gang #29)[1], NFT (320120402018422833/Cali The Bear #11)[1], NFT (320179022629591768/Ape City #22)[1], NFT
                                   (321300487780064002/Marijuana #18)[1], NFT (321509486213342492/SKULL ART #7)[1], NFT (321521087859098696/Clock #46)[1], NFT (322427395241762424/Clock #27)[1], NFT
                                   (323437939498657414/Clock #42)[1], NFT (324184072028994104/Astro Stones #44)[1], NFT (324206758528210176/Mint ice cream)[1], NFT (324996414084445671/CatFamilya #5)[1], NFT
                                   (325272780769187230/Clock #67)[1], NFT (325712687655354018/BANANA #3)[1], NFT (326023071978628204/Marijuana #16)[1], NFT (326117073478527592/Pixel Fruit #10)[1], NFT
                                   (326638588667798207/Clock #36)[1], NFT (329133048672453914/Pug Love #7)[1], NFT (329347846884387281/CatFamilya #7)[1], NFT (331003763885018880/Cali The Bear #16)[1], NFT
                                   (332503905981355781/The Experience 420 #7)[1], NFT (333458737654534593/Clock #41)[1], NFT (333654171091720433/Megalodon Rogue Shark Tooth)[1], NFT (333924149530444658/Sea Lion
                                   Polly)[1], NFT (333970554666232275/Mad Girl Series #8)[1], NFT (334083894981249258/Marijuana #2)[1], NFT (334302951686592998/Clock #7)[1], NFT (334394556779268242/CatFamilya #9)[1], NFT
                                   (334615184205013713/Ape City #19)[1], NFT (335958267365796556/Robo ape)[1], NFT (336242111495845852/Clock #29)[1], NFT (336569089077590801/The Experience 420 #14)[1], NFT
                                   (339247749515157527/BANANA #16)[1], NFT (339805709387936953/Marijuana #6)[1], NFT (340146641260009247/Marijuana #30)[1], NFT (341227970805990147/Marijuana #26)[1], NFT
                                   (341459727283036201/My Little Gang #4)[1], NFT (342069817034469315/The Tower #394-11)[1], NFT (343654003591176607/Astro Stones #4)[1], NFT (345759459278706215/The Experience 420
                                   #19)[1], NFT (347071072198147898/Cute Axolotls Collection #2)[1], NFT (347539439479561578/Clock #8)[1], NFT (347796157566829298/Cali The Bear #18)[1], NFT (348068260443527760/Ape City
                                   #26)[1], NFT (349120505712143408/Infinity #40)[1], NFT (350370517362399253/SKULL ART #2)[1], NFT (351258421156583939/Astro Stones #33)[1], NFT (352486677616783190/The Experience 420
                                   #3)[1], NFT (355914079588621088/Clock #38)[1], NFT (357336674936743919/Clock #83)[1], NFT (357528127366079042/Skull Love #37)[1], NFT (357604440006708087/Pop Art #34)[1], NFT
                                   (357823185681932743/Clock #68)[1], NFT (358260392643018815/Clock #49)[1], NFT (358796240668632255/FTX Crypto Bags Logo Remix #2)[1], NFT (358804771211504412/Cali The Bear #21)[1],
                                   NFT (360121687649098452/Cali The Bear #23)[1], NFT (360244929040780725/Clock #57)[1], NFT (360739226262728102/Clock #93)[1], NFT (361404856400624181/The Experience 420 #13)[1], NFT
                                   (361759905839929162/CatFamilya #23)[1], NFT (362271156613916895/Clock #80)[1], NFT (362719023337226684/SKULL ART #6)[1], NFT (363384995583664734/AI-generated portrait #2)[1], NFT
                                   (363560677181996945/Cali The Bear #24)[1], NFT (365731811464072974/Clock #64)[1], NFT (366025815524183364/Ape City #13)[1], NFT (366095966720264677/Pixel Fruit #8)[1], NFT
                                   (366996468281466953/Cali The Bear #6 )[1], NFT (367038622309622126/Surreal World #49)[1], NFT (367602917553709077/Cali The Bear #7 #3)[1], NFT (368274846602436704/Ape City #11)[1], NFT
                                   (368668200796438253/The Experience 420 #16)[1], NFT (369897123536099832/Munchpax #4)[1], NFT (370206019547478981/Mad Lions Series #54)[1], NFT (370786571153307537/CryptoDog)[1],
                                   NFT (370822294735334126/Hall of Fantasy League #201)[1], NFT (372521057710448739/The Experience 420 #10)[1], NFT (372907789267562968/BANANA #4)[1], NFT
                                   (372961197930919426/BANANA #23)[1], NFT (374679802693157073/Marijuana )[1], NFT (375264798219209033/Clock #28)[1], NFT (376218190288278169/Munchpax)[1], NFT
                                   (376613792550875183/Cali The Bear #28)[1], NFT (376836339395095284/Cali The Bear #20)[1], NFT (377056100596270027/The Experience 4/20 #4)[1], NFT (377883735204759542/CatFamilya #6)[1],
                                   NFT (379106205178628742/Cali The Bear #12)[1], NFT (379654017257915622/Clock #63)[1], NFT (380929916587373591/The Experience 420 #26)[1], NFT (381634304633240882/FunTownPeople
                                   #3)[1], NFT (382625913970320512/Drinks #2)[1], NFT (384992656872549925/Holy Unicorn Edition)[1], NFT (385136752637501116/Cube )[1], NFT (385255668748268885/The Experience 4/20 #9)[1],
                                   NFT (385722538099327139/Clock #9)[1], NFT (385848003058412342/The Experience 4/20 #3)[1], NFT (386748540797771434/Clock #56)[1], NFT (390606689639591439/CatFamilya #3)[1], NFT
                                   (391701206150038242/Pug Love #10)[1], NFT (391834510664425299/Gold Series #3 of 10)[1], NFT (392456129076262173/Mad Lions Series #22)[1], NFT (393860434348052450/KuArmy #2)[1], NFT
                                   (395387287168874796/Rossi #2 of 5 )[1], NFT (401146934024022571/CatFamilya #2)[1], NFT (401884430893745592/Ape City #17)[1], NFT (402975747674375962/Marijuana #11)[1], NFT
                                   (404375844182807956/Munchpax #8)[1], NFT (405503033851161097/Clock #98)[1], NFT (405881682962781308/Marijuana #4)[1], NFT (406043763737968918/Ape City #12)[1], NFT
                                   (407384020045869034/Clock #90)[1], NFT (408289267218219146/Clock #44)[1], NFT (408711685636541039/Pixel Fruit #4)[1], NFT (408855154434208995/The Experience 4/20 #2)[1], NFT
                                   (410268388052346183/Marijuana #20)[1], NFT (410596993396987285/Skull Love)[1], NFT (414495295700675474/Cute Axolotls Collection #5)[1], NFT (414670546938075489/Clock #65)[1], NFT
                                   (415973764745352992/My Little Gang #21)[1], NFT (417455683757984826/The Experience 420 #28)[1], NFT (417535728942432274/Clock #96)[1], NFT (417673014282764404/Clock #35)[1], NFT
                                   (420221597220317431/Marijuana #5)[1], NFT (421830434876341423/Marijuana #3)[1], NFT (422208513838157369/Cali The Bear #17)[1], NFT (422663694817615451/Mind blow #2)[1], NFT
                                   (424046423778831717/AI-generated landscape #9)[1], NFT (424257825445791843/The Experience 420 #24)[1], NFT (424779112598826892/Exiled Alien #111)[1], NFT (426942489502435533/BANANA
                                   #20)[1], NFT (428522340081520399/Leone #1)[1], NFT (428769473679266747/The Experience 420 #29)[1], NFT (429958576931576465/Cali The Bear #32)[1], NFT (431186338801372220/Clock
                                   #75)[1], NFT (433929442215207027/Clock #26)[1], NFT (436458429792936054/01)[1], NFT (437440277619563844/Astro Stones #6)[1], NFT (437785147927171994/Cute Axolotls Collection #26)[1],
                                   NFT (438049008167330771/Metaverse Masks)[1], NFT (438705789982107331/Clock #99)[1], NFT (438776041650039356/Hungry)[1], NFT (439312037879487736/Marijuana #10)[1], NFT
                                   (439964449397596309/Clock #70)[1], NFT (440440194004080265/Munchpax #11)[1], NFT (441127308621114422/Clock #85)[1], NFT (441340154384539497/BANANA #18)[1], NFT
                                   (443112234488793830/Marijuana #13)[1], NFT (444863476607537940/Cali The Bear #8)[1], NFT (445165585243161227/BANANA #24)[1], NFT (446350040818400083/The Tower #164-11)[1], NFT
                                   (446828977894737105/Clock #47)[1], NFT (447681259820175037/Clock #91)[1], NFT (450735061304349888/Clock #76)[1], NFT (453275136078211389/Ape City #14)[1], NFT
                                   (453980625625050006/Marijuana #23)[1], NFT (457484988994673332/Cali The Bear #4)[1], NFT (457866175804265803/Cali The Bear)[1], NFT (458069765454370833/Cali The Bear #5)[1], NFT
                                   (458578541898903728/CatFamilya #16)[1], NFT (461949720320301296/CatFamilya #15)[1], NFT (462214619897852089/Astro Stones #28)[1], NFT (462424887019738138/Munchpax #13)[1], NFT
                                   (462428058181935463/Clock #54)[1], NFT (466573115669527195/Cute Axolotls Collection #15)[1], NFT (466590085690914045/BANANA #12)[1], NFT (467615359131138849/Clock #37)[1], NFT
                                   (468341188313275317/SKULL ART #3)[1], NFT (469231562840891886/Marijuana #15)[1], NFT (469639137903153340/Cali The Bear #14)[1], NFT (469833350289171354/Clock #82)[1], NFT
07982173                           USD[0.00]

07982178                           BAT[1.01402431], BTC[.02675113], CUSDT[4], DOGE[1], ETH[.00065877], ETHW[.00065579], SHIB[194050.3349359], SOL[1.08480426], TRX[95.73196201], USD[16.39]                                      Yes

07982180                           BAT[73.65022431], BF_POINT[300], BRZ[3], BTC[.00567944], CUSDT[96.07320967], DOGE[88.66470878], ETH[.01723532], ETHW[.00000029], LINK[.00001598], LTC[.10742833],                             Yes
                                   SHIB[3574215.90562328], SOL[.80533216], TRX[6], USD[0.00]
07982185                           USD[100.00]

07982188                           AAVE[.02351524], ALGO[3.34713085], BAT[4.71347591], BTC[.00010881], DAI[2.22885123], ETH[.00122888], ETHW[.0012152], GRT[8.26726312], MATIC[2.73656733], NFT                                  Yes
                                   (316272763259170401/Mona Lisa Military)[1], NFT (342973951210536588/Rare Art #31)[1], NFT (430007343665959115/The planet of forest monsters)[1], NFT (560212589596062552/Abstract Artillery
                                   #15)[1], NFT (569335078627339400/Portrait Easy #24)[1], PAXG[0.00374149], SOL[0.46974772], SUSHI[1.53893808], TRX[65.03261983], UNI[.35702376], USD[0.03], USDT[0]
07982190                           DOGE[54.38978766], TRX[1], USD[0.00]                                                                                                                                                          Yes

07982205                           BTC[0], SHIB[2], USD[0.32]                                                                                                                                                                    Yes

07982206                           BRZ[1], BTC[.28002916], CUSDT[10], DOGE[2], ETH[3.0828252], ETHW[3.08155373], SHIB[42741561.82280219], TRX[5], USD[0.00], USDT[3.19214964]                                                    Yes

07982214                           USD[0.01], USDT[0.00000001]

07982216                           USD[500.01]

07982225                           USD[20.00]

07982230                           DOGE[4.00299654], ETH[.18992431], ETHW[.1897046], MATIC[168.89279215], USD[0.00]                                                                                                              Yes

07982232                           USD[0.00], USDT[0]                                                                                                                                                                            Yes

07982233                           CUSDT[2], DOGE[1], KSHIB[343.07478779], SHIB[6077543.51423795], USD[0.00]                                                                                                                     Yes

07982239                           SHIB[1454968.71817255], USD[0.00]

07982247                           LINK[23.5], NFT (353492815976090218/Entrance Voucher #3590)[1], USD[0.19]

07982249                           BRZ[1], DOGE[1], USD[0.54]                                                                                                                                                                    Yes

07982255                           USD[0.03]                                                                                                                                                                                     Yes

07982256                           SHIB[144597.83255743], USD[0.00]                                                                                                                                                              Yes

07982267                           CUSDT[2], NFT (485905925620205108/Lunarian #5765)[1], NFT (572903508193721476/Lunarian #4892)[1], SOL[.20085929], TRX[1], USD[0.00]                                                           Yes

07982277                           USD[20.00]

07982279                           SHIB[5993407.25202277], TRX[1], USD[0.00]

07982280                           CUSDT[5], SHIB[66.15103148], TRX[1], USD[0.00], USDT[1.08613962]                                                                                                                              Yes

07982283                           BTC[.00564748], CUSDT[2], DOGE[3], USD[0.00]
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                                                                                                                                          Customer Claims                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07982293                           BF_POINT[100], BRZ[122.07359007], BTC[.00032139], CUSDT[3], SUSHI[.98754316], TRX[539.42581572], USD[0.00]                                                 Yes

07982310                           BRZ[1], DOGE[35102.37421878], SOL[46.41927445], USD[10166.19]                                                                                              Yes

07982311                           CUSDT[1], SOL[.11528929], USD[0.00]                                                                                                                        Yes

07982319                           NFT (537987974794114796/Flood life )[1]

07982320                           USD[20.00]

07982323                           SOL[.006], USD[584.63]

07982329                           SOL[.57209684], TRX[1], USD[0.00]                                                                                                                          Yes

07982335                           BTC[.00016722], USD[0.00]                                                                                                                                  Yes

07982345                           USD[0.92]

07982349                           BTC[0], USD[0.00], USDT[0.00017003]

07982350                           BTC[.00015654], SUSHI[.99905]

07982353                           CUSDT[4], GRT[102.96058756], MATIC[100.23554151], SOL[.98841444], TRX[129.57594199], USD[0.87]

07982362                           BTC[0], USD[0.09]

07982364                           AAVE[0], BCH[0], CUSDT[17], ETH[0], LTC[0], MKR[0], TRX[1], UNI[0], USD[0.00]                                                                              Yes

07982369                           USD[20.00]

07982374                           NFT (469329327974419895/You in, Miami? #446)[1]

07982376                           CUSDT[6], DOGE[1], ETH[.07082457], ETHW[.06994602], LINK[.36569516], PAXG[.02978877], SHIB[6416936.70682694], TRX[3], USD[0.00]                            Yes

07982393                           CUSDT[1], SHIB[1], TRX[1], USD[5.19], USDT[0.00009132]                                                                                                     Yes

07982395                           USD[0.00]                                                                                                                                                  Yes

07982397                           SHIB[200000], USD[85.75]

07982400                           BTC[0], ETH[0], SHIB[27.44439655], SOL[0], USD[0.00], USDT[0]                                                                                              Yes

07982401                           USD[0.00]                                                                                                                                                  Yes

07982411                           DOGE[24.975], SHIB[2300000], USD[0.08]

07982431                           USD[0.00]

07982434                           ETH[.016], ETHW[.016], SHIB[400000], USD[4.17]

07982438                           DOGE[793.206], SHIB[4995000], USD[2.74]

07982443                           ETH[.00000213], ETHW[0.00000213], USD[0.00], USDT[0]                                                                                                       Yes

07982447                           TRX[1], USD[0.00]                                                                                                                                          Yes

07982455                           ETH[0], NFT (344203561785239785/Goth GF Poster 3)[1], NFT (425391009100062527/Candy Corn)[1], USD[1.54]

07982456                           ETH[.00099155], ETHW[0.00099155]

07982457                           BTC[.00637857], SOL[5.17373087], USD[0.00]

07982463                           CUSDT[1], LTC[0], TRX[.00030252], USD[1.45]                                                                                                                Yes

07982469                           BTC[.0001], SOL[.00999], USD[1.49]

07982480                           CUSDT[1], SHIB[1], SOL[.00004209], USD[14.84]

07982481                           BF_POINT[200], CUSDT[1], SHIB[2058360.15772149], USD[0.00]

07982494                           NFT (301452090732371486/Coachella x FTX Weekend 2 #10590)[1]

07982500                           CUSDT[2273.86189987], MATIC[21.5166888], USD[0.02]

07982506                           BTC[.00000227], DOGE[3], ETH[.00003113], NFT (510650035276896721/Founding Frens Investor #206)[1], SHIB[2], SOL[0.00001076], USD[0.04], USDT[1.00571124]   Yes

07982507                           USD[20.00]

07982520                           DOGE[2], SHIB[14], SOL[2.17135362], USD[7.96]                                                                                                              Yes

07982522                           ETHW[.00252836], USD[84.42]                                                                                                                                Yes

07982528                           SOL[0]

07982533                           ETH[.00000001]

07982537                           DOGE[37.29268066], USD[1.00]

07982540                           USD[15.00]

07982543                           DOGE[1], ETH[.1351602], ETHW[.13409659], USD[0.00]                                                                                                         Yes

07982545                           SHIB[400000], USD[1.24]

07982554                           CUSDT[4], DOGE[1], USD[0.01]

07982557                           BAT[8.83187016], CUSDT[3], DOGE[1], ETH[.00266869], ETHW[.00264133], SOL[2.00723719], USD[0.01], USDT[.73532154]                                           Yes

07982564                           ETH[.27], ETHW[.27], USD[0.87]

07982567                           SOL[1.45694], USD[1.55], USDT[0.00000001]

07982572                           SHIB[1], SOL[3.26853997], USD[0.00]

07982576                           USD[20.00]

07982589                           BAT[1], BTC[.00000023], CUSDT[1], DOGE[2], GRT[1], SHIB[5], TRX[1.000066], USD[492.95]                                                                     Yes

07982600                           CUSDT[7], ETH[.01506936], ETHW[.01506936], MATIC[9.82133747], SHIB[1079446.11577735], TRX[290.2969948], USD[0.00]

07982601                           CUSDT[8], DOGE[1], MATIC[.00009029], TRX[2], USD[0.00]                                                                                                     Yes

07982603                           ETH[2.88466344], ETHW[2.88345314], LTC[41.62077685], MATIC[3721.3153141]                                                                                   Yes

07982611                           USD[21.51]                                                                                                                                                 Yes
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                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07982612                              CUSDT[2], DOGE[0], SHIB[1950350.42539187], TRX[2], USD[0.00]                                                                                                                        Yes

07982617                              USD[100.00]

07982625                              ETH[.00000147], ETHW[.16060758], SHIB[1], TRX[1], USD[0.00]                                                                                                                         Yes

07982633                              BTC[0], ETH[0], ETHW[0], SHIB[0], SOL[0], USD[4.42]

07982636                              CUSDT[4541.42918776], DOGE[1], USD[0.00]

07982639                              DAI[0], LINK[0], USD[0.24], YFI[0.00040436]

07982640                              USD[250.00]

07982643                              NFT (328222201346079514/Nobu Sensei #106)[1], NFT (335494440404669377/#1029)[1], NFT (546338495691957734/Cadet 301)[1], SOL[.06007062]

07982644                              ETH[.11171135], ETHW[.11171135], USD[0.00]

07982649                              DOGE[1], TRX[1081.38749368], USD[0.00]

07982653                              CUSDT[1], DOGE[.42329655], SHIB[4653488.2346624], USD[0.00]                                                                                                                         Yes

07982658                              LTC[0.02239317], SHIB[0], USD[0.00]

07982659                              AAVE[.63659], AVAX[3.9937], BCH[.316731], BTC[.0035882], DOGE[27.219], ETH[.061755], ETHW[.061755], GRT[407.562], LINK[6.771], LTC[.56581], MKR[.060737], PAXG[.0126874],
                                      SHIB[2574600], SOL[1.45244], SUSHI[51.3185], TRX[279.388], UNI[11.4507], USD[1.09], USDT[0]
07982662                              TRX[531.791343]

07982668                              USD[1.89]

07982672                              ETH[0], SHIB[1], TRX[6], USD[105.85], USDT[0.00097660]                                                                                                                              Yes

07982687                              AVAX[.90373982], BAT[1.00389798], BCH[.44646992], BRZ[3], BTC[.02478145], CUSDT[17], DOGE[1495.21994634], ETH[.29293742], ETHW[.29274509], LINK[6.88591347], LTC[1.31010663],       Yes
                                      MATIC[49.37980792], NFT (332862257229486743/Entrance Voucher #26794)[1], SHIB[21514423.80939448], SOL[8.04588306], SUSHI[37.38739365], TRX[1], UNI[9.80131269], USD[1.23]
07982688                              CUSDT[2], DOGE[1], USD[0.01]                                                                                                                                                        Yes

07982694                              CUSDT[1], TRX[1], USD[0.00]

07982697                              DOGE[1], SHIB[5943183.16890526], USD[0.00]

07982698                              USD[10.86]                                                                                                                                                                          Yes

07982704                              BRZ[1], BTC[.02076642], CUSDT[1], SHIB[1602417.84608891], USD[0.00]                                                                                                                 Yes

07982705                              BTC[.12574534], DOGE[1], ETH[1.8292661], ETHW[1.8292661], TRX[1], USD[0.00]

07982709                              MATIC[0], SHIB[0], USD[0.00]                                                                                                                                                        Yes

07982710                              DOGE[415.00252383], LINK[2.41557441], SHIB[4070004.07000407], USD[203.01]

07982712                              NFT (352653944275283320/Coachella x FTX Weekend 1 #6698)[1], SOL[1.3287365], USD[1.69]

07982714                              USD[0.00]

07982720                              BTC[.00849257]

07982722                              USD[20.00]

07982724                              USD[1.72]                                                                                                                                                                           Yes

07982725                              TRX[3610.03677732]                                                                                                                                                                  Yes

07982726                              DOGE[1], SHIB[4924189.65272441], USD[108.67]                                                                                                                                        Yes

07982728                              NFT (291104902704364521/Bahrain Ticket Stub #7)[1]

07982740       Contingent, Disputed   BRZ[1], CUSDT[5], TRX[1], USD[0.00]                                                                                                                                                 Yes

07982746                              CUSDT[1], LINK[5.01802068], TRX[1], USD[0.00]                                                                                                                                       Yes

07982755                              SHIB[432933.90777530], USD[0.00]

07982761                              BF_POINT[300], BRZ[2], BTC[.03358341], CUSDT[3], DOGE[4], ETH[.35306151], ETHW[.35291339], LINK[8.78201776], USD[220.60]                                                            Yes

07982762       Contingent,            DOGE[.67953909], SHIB[165.34197324], USD[60.58]
               Unliquidated
07982763                              USD[0.01]                                                                                                                                                                           Yes

07982765                              BTC[.00661623], ETH[.27026595], ETHW[.27006835], SOL[10.45646171]                                                                                                                   Yes

07982766                              BRZ[1], GRT[208.70224063], USD[0.01]

07982767                              CUSDT[1], TRX[3], USD[0.00]

07982769                              AVAX[1.22844024], CUSDT[1], DOGE[3], ETH[0], ETHW[1.37288619], NFT (316030451640007450/GSW Western Conference Finals Commemorative Banner #1483)[1], NFT                            Yes
                                      (432684760186683698/Australia Ticket Stub #311)[1], NFT (462164929284161332/GSW Championship Commemorative Ring)[1], NFT (476732648928840089/GSW Western Conference Semifinals
                                      Commemorative Ticket #767)[1], NFT (479322754667681779/GSW Western Conference Finals Commemorative Banner #1484)[1], NFT (521604568880430644/Barcelona Ticket Stub #1143)[1], NFT
                                      (537922380081610020/Warriors Foam Finger #529 (Redeemed))[1], NFT (564890254779950925/Romeo #795)[1], SHIB[2], TRX[4], USD[108.43]
07982770                              BTC[0], CUSDT[1], DOGE[0], SHIB[1], TRX[1], USD[0.01]                                                                                                                               Yes

07982778       Contingent, Disputed   USD[0.42]

07982779                              USD[20.00]

07982780                              USD[20.00]

07982783                              BRZ[1], CUSDT[4], DOGE[65.16147346], MATIC[52.67647159], SOL[2.17912641], TRX[1], USD[0.00]                                                                                         Yes

07982785                              BF_POINT[200], GRT[6.51391794], USD[0.00]                                                                                                                                           Yes

07982788                              CUSDT[1], DOGE[365.82851709], SHIB[2981538.35697324], TRX[1], USD[200.01]

07982789       Contingent, Disputed   USD[0.01]                                                                                                                                                                           Yes

07982793                              CUSDT[1], ETHW[.02019882], SHIB[1], TRX[1], USD[21.38]                                                                                                                              Yes

07982797                              SHIB[3538153.0840901], USD[0.00]

07982798                              USD[20.00]

07982800                              BTC[0.00002751], ETHW[2.00796801]

07982803                              USD[1.93]                                                                                                                                                                           Yes
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                                                                                                                                         Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07982805                           USD[20.45]

07982810                           CUSDT[1], SHIB[1289798.78376118], USD[0.00]                                                                                                                                                Yes

07982811                           BTC[0], LINK[0], LTC[0], SUSHI[0], USD[27.35]

07982814                           CUSDT[1], SHIB[238663.48448687], USD[0.00]

07982815                           USD[500.00]

07982816                           BTC[.00099301], CUSDT[12], DOGE[1110.93522325], ETH[.01344321], ETHW[.01327905], MATIC[79.06788628], SHIB[3893877.78459492], SOL[.39595102], USD[4.78]                                     Yes

07982818                           BTC[.00159657], CUSDT[1], USD[0.00]

07982819                           LTC[.7986958]

07982826                           AAVE[.49251204], BTC[.0000824], ETH[0.00041671], ETHW[0.00041671], LINK[0.06648230], SOL[0.00094102], SUSHI[.27808852], TRX[0], USD[-6.48], USDT[0]                                        Yes

07982829                           DOGE[521], PAXG[.0056], SHIB[200000], USD[25.99]

07982831                           BAT[1], BRZ[1], BTC[.04936231], CUSDT[3], DOGE[1556.60402903], ETH[.67817735], ETHW[.67789261], SHIB[3673107.66231392], TRX[4], USD[0.00]                                                  Yes

07982840                           BTC[.00035791], USD[0.00], USDT[0]                                                                                                                                                         Yes

07982841                           CUSDT[1], ETH[.00002039], ETHW[2.23241028], GRT[1], USD[2445.27], USDT[1.0001826]                                                                                                          Yes

07982846                           ETH[.01352162], ETHW[.01352162], USD[0.00]

07982863                           CUSDT[1], DOGE[1], LTC[1.00675673], SHIB[1187507.42192138], USD[0.00]

07982864                           BF_POINT[300], BRZ[1], CUSDT[5], DOGE[1], SHIB[1163609.74707813], TRX[2], USD[0.00]

07982868                           BTC[0], SHIB[1400000], SOL[0], USD[1.39]

07982869                           BTC[.0028], DOGE[399.6], SHIB[1794400], USD[0.79]

07982872                           LTC[.00000022], SHIB[1], USD[0.01], USDT[0]                                                                                                                                                Yes

07982883                           DOGE[1], SHIB[6449759.46942769], USD[0.01]                                                                                                                                                 Yes

07982894                           BAT[1.01655549], BRZ[1], CUSDT[2], DOGE[1843.42396848], SHIB[22209237.77202241], TRX[9.12472051], USD[0.00], USDT[2.15882956]                                                              Yes

07982903                           AAVE[0], BAT[0], BCH[0], BRZ[0], BTC[0.00179281], CUSDT[0], DAI[0], DOGE[1], ETH[0], ETHW[0], KSHIB[0], LINK[0], MATIC[0], MKR[0], SHIB[3], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00],   Yes
                                   USDT[0], YFI[0]
07982906                           BRZ[1], DOGE[1], SHIB[3716.3528921], USD[0.00]                                                                                                                                             Yes

07982913                           NFT (529713478956752874/You in, Miami? #447)[1]

07982918                           CUSDT[7], TRX[2], USD[0.00], USDT[0.00013621]                                                                                                                                              Yes

07982928                           BAT[1], BRZ[1], CUSDT[3], DOGE[3], ETH[0], ETHW[0], GRT[1], SHIB[1], TRX[6], USD[0.00]

07982930                           CUSDT[6], ETH[.02032664], ETHW[.02032664], SHIB[1761494.09230227], TRX[1], USD[0.00]

07982935                           USD[0.00], USDT[0]

07982939                           ETH[0], SHIB[1], TRX[1]                                                                                                                                                                    Yes

07982941                           CUSDT[4], SHIB[26226681.81758665], TRX[1], USD[0.22]                                                                                                                                       Yes

07982942                           BAT[54], ETH[0.23953200], ETHW[1.04695200], NFT (296383584155233611/Line)[1], NFT (341898677821876169/Line #10)[1], NFT (471678824455946483/Entrance Voucher #2707)[1], NFT
                                   (534675328603774892/Line #14)[1], NFT (575792624664504678/Line #13)[1], SHIB[9936078], SOL[0], USD[2.66]
07982958                           BRZ[1], SHIB[7052186.17771509], USD[0.01]

07982960                           SHIB[3400000], USD[3.96]

07982967                           NFT (301830397530299214/The 2974 Collection #1609)[1], NFT (302102981732420009/Birthday Cake #1609)[1], NFT (304357505672170030/Solana Penguin #6358)[1], NFT
                                   (305791852416172591/Solana Penguin #6511)[1], NFT (342782968751622237/Mech #6714)[1], NFT (360932478226341085/Solana Penguin #2110)[1], NFT (363674815363077906/Solana Penguin
                                   #6577)[1], NFT (402648013574716100/Solana Penguin #6281)[1], NFT (419549201241626909/Solana Penguin #5962)[1], NFT (427295124956385560/Mech #8072)[1], NFT
                                   (437385986741342470/Mech #725)[1], NFT (451147238604569551/2974 Floyd Norman - CLE 1-0253)[1], NFT (470191833276454560/Mech #7126)[1], NFT (480871862673825084/Mech #7567)[1], NFT
                                   (484544210895854459/Solana Squirrel #113)[1], NFT (489751104051773343/Mech #3974)[1], NFT (503904392789936446/Ravager #420)[1], NFT (546448878579594847/Solana Penguin #6016)[1],
                                   SHIB[2800000], USD[0.73]
07982969                           USD[0.01]

07982976                           DOGE[1], USD[0.00]                                                                                                                                                                         Yes

07982978                           MATIC[.01133056], SOL[.00010928]

07982983                           BAT[0], BTC[.01466078], CUSDT[0], LTC[0], SHIB[19327180.39758377], USD[0.00], USDT[0]                                                                                                      Yes

07982984                           NFT (290078874733456898/FTX - Off The Grid Miami #1377)[1]

07982988                           NFT (386548281923874616/Barcelona Ticket Stub #2176)[1], NFT (455693756166742911/FTX - Off The Grid Miami #2571)[1], USD[0.01]

07982990                           CUSDT[1], LTC[1.82587813], TRX[1], USD[0.05], USDT[1.08620906]                                                                                                                             Yes

07983003                           BF_POINT[200], BRZ[1], BTC[.1106933], DOGE[3], GRT[1], NFT (403516719797283515/Fancy Frenchies #2642)[1], NFT (417868918357065464/Fancy Frenchies #6659)[1], SHIB[1.00000002],             Yes
                                   SOL[.00000001], TRX[3], USD[1205.51]
07983020                           BRZ[1], SHIB[1171371.67623286], USD[0.00]

07983021                           BTC[0.00012868], SHIB[2], USD[0.01]                                                                                                                                                        Yes

07983025                           CUSDT[1], DOGE[2], TRX[1], USD[0.01]                                                                                                                                                       Yes

07983027                           ETH[2.16356796], ETHW[2.16265926]                                                                                                                                                          Yes

07983031                           ETH[.00349], ETHW[.00349], USD[0.00]

07983032                           CUSDT[1], SHIB[304450.73170861], USD[0.00]                                                                                                                                                 Yes

07983039                           BTC[.00178417], CUSDT[2], SHIB[1467274.20893153], USD[0.01]                                                                                                                                Yes

07983046                           DOGE[2], SHIB[5794289.76092933], USD[0.00]

07983052                           NFT (293056987935713300/GSW Western Conference Finals Commemorative Banner #2008)[1], NFT (319998372814714069/GSW Championship Commemorative Ring)[1], NFT
                                   (324976772077505025/GSW Western Conference Semifinals Commemorative Ticket #1084)[1], NFT (328810034062657924/GSW 75 Anniversary Diamond #57)[1], NFT (495084652522750733/GSW
                                   Western Conference Finals Commemorative Banner #2007)[1], TRX[.696217], USD[8.48]
07983058                           CUSDT[1], DOGE[1], NFT (428139138347295641/Oink 3058)[1], SHIB[1252818.84239538], SOL[.89018868], TRX[1620.61089658], USD[0.00]

07983063                           BRZ[1], BTC[.00083397], CUSDT[6], DOGE[3], ETH[.0000013], ETHW[.06468837], SHIB[2301616.72493169], SOL[.2425809], USD[201.61], USDT[0.00000998]                                            Yes

07983066                           BRZ[1], BTC[.01701263], CUSDT[6], DOGE[1026.4031958], SHIB[1486546.75189534], TRX[1], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07983067                              DOGE[1], SHIB[8488961.802171], USD[0.01]                                                                                                                                          Yes

07983071                              ETH[.00000925], ETHW[.00000925]                                                                                                                                                   Yes

07983081                              USD[0.00]

07983083                              SHIB[2], USD[0.00]                                                                                                                                                                Yes

07983084                              ETH[.47607412], ETHW[.47607412], SOL[58.31973861], USD[0.00]

07983086                              DOGE[1], USD[0.00]

07983087                              SHIB[2276607.85429709], USD[0.01]

07983088                              USD[0.01]                                                                                                                                                                         Yes

07983093                              USD[20.00]

07983094                              CUSDT[7], DOGE[2], NFT (395361564046918731/Kameko Fluffyniption)[1], NFT (503673916095944367/Berry Marine)[1], TRX[1], USD[0.01]                                                  Yes

07983095                              USD[0.00]

07983096                              DOGE[1], USD[0.95]                                                                                                                                                                Yes

07983097                              ETH[0], SOL[0], USD[0.00]

07983099                              BTC[.08392264], ETH[.09712604], ETHW[.09609663], LTC[.0000054], SHIB[3], SOL[2.32097631], TRX[2], USD[0.61]                                                                       Yes

07983100                              CUSDT[1], DOGE[106.33395118], SHIB[279049.00100457], USD[0.00]

07983101                              AAVE[.12624002], BRZ[1], CUSDT[1960.78409572], DOGE[139.62379356], ETH[.01033693], ETHW[.01021381], LINK[1.42273884], MATIC[21.98635288], MKR[.05408007], SHIB[15588690.42773584], Yes
                                      SOL[.25907988], TRX[457.137866], USD[0.00], USDT[.00455958]
07983104                              SHIB[14785200], USD[2.17]

07983109                              BTC[.25718022], MATIC[7763.0059395], SOL[285.13032615], USD[1243.51]

07983115                              ALGO[0], MATIC[0], NFT (315693288715503653/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #92)[1], USD[0.00]                                      Yes

07983117                              ETH[0], SHIB[22534.29131286], SOL[.09], USD[0.91]

07983118                              BRZ[1], CUSDT[1], SHIB[5680739.55297575], USD[0.00]

07983119                              CUSDT[1], SHIB[269951.86145564], USD[0.00]                                                                                                                                        Yes

07983120                              CUSDT[1], DOGE[1], USD[0.00]

07983121       Contingent, Disputed   USD[0.00]

07983126                              SOL[3.05296663], USD[0.00]

07983130                              CUSDT[1], USD[0.01]

07983131                              DOGE[4120.58475465], ETH[.6737281], EUR[0.00], GBP[0.00], SHIB[3], TRX[1], USD[47.27], USDT[0]                                                                                    Yes

07983143                              USD[0.21]

07983152                              DOGE[1], SHIB[4213191.7613613], USD[0.00]                                                                                                                                         Yes

07983157                              DOGE[1], USD[0.00]

07983161                              CUSDT[1], TRX[2], USD[0.00]                                                                                                                                                       Yes

07983162                              CUSDT[8.25941623], USD[0.01]                                                                                                                                                      Yes

07983165                              NFT (432416964056668668/Coachella x FTX Weekend 2 #28662)[1]

07983167                              USD[100.00]

07983181                              BTC[.00183389], CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                      Yes

07983186                              CUSDT[3], USD[9.60]

07983188                              SHIB[8.83240383], USD[0.00]                                                                                                                                                       Yes

07983193                              KSHIB[670], SHIB[2100000], USD[0.80]

07983196                              LINK[3.4965], SHIB[1700000], USD[6.53]

07983203                              CUSDT[1], LINK[.01013665], SHIB[2492765.13501848], SOL[.01189971], USD[0.56], USDT[1.02543197]                                                                                    Yes

07983208                              ETH[0], LINK[0], LTC[0], MATIC[0], SOL[0], USD[0.00]                                                                                                                              Yes

07983212                              CUSDT[7], SHIB[8], USD[0.00], USDT[0]

07983217                              CUSDT[1], DOGE[1], SHIB[2534312.76593552], USD[5.02]

07983231                              CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                       Yes

07983238                              CUSDT[1], SHIB[1497597.00796523], USD[0.00]                                                                                                                                       Yes

07983239                              CUSDT[1], SHIB[145746.67861528], SOL[.01992284], TRX[1], USD[-0.33], USDT[0.00287052]                                                                                             Yes

07983240                              BCH[0.10557718], BTC[.00023026], DOGE[48.82640903], KSHIB[223.92256578], SHIB[243396.92050938], SOL[.0485173], SUSHI[1.21406541], USD[0.00], USDT[0.00000001]                     Yes

07983241                              TRX[1], USD[0.00]

07983248                              ETH[.10564129], ETHW[.10456616], NFT (332861088325250099/Crystal Face #15)[1], USD[0.14]                                                                                          Yes

07983253                              USD[0.00], USDT[0]

07983254                              SHIB[6072681.07479798], TRX[1], USD[0.00]                                                                                                                                         Yes

07983256                              CUSDT[2], DOGE[1], SHIB[1371830.67242256], SOL[1.08436163], SUSHI[23.40947125], USD[49.75]                                                                                        Yes

07983258                              NFT (435837058437421833/Entrance Voucher #4501)[1], SHIB[194212.23405353], USD[0.00]                                                                                              Yes

07983264                              USD[0.00]

07983267                              BTC[.0071], ETH[.120982], ETHW[.120982], SOL[.999], USD[3.90]

07983272                              KSHIB[1000.00344372], MATIC[27.5509572], SUSHI[2.15626427], USD[0.30]                                                                                                             Yes

07983273                              CUSDT[3], SHIB[572873.07387927], TRX[491.7389818], USD[0.54]

07983281                              USD[20.00]
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                                                                                                                                         Customer Claims                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07983283                           CUSDT[3], ETH[.0375874], ETHW[.03712228], SOL[1.06537579], USD[0.01]                                                                                              Yes

07983290                           BTC[.00012197], NFT (465720769451726301/LogantoFluffyPeople #10)[1], USD[0.02]                                                                                    Yes

07983299                           SOL[2.64735], USD[3.55]

07983302                           USD[500.01]

07983312                           SHIB[357940.7434463], USD[0.02]                                                                                                                                   Yes

07983339                           BRZ[.00000001], DOGE[607.80660883], USD[197.61], USDT[0.00000001]                                                                                                 Yes

07983353                           USD[20.00]

07983366                           BAT[1.01629565], BTC[0.03566831], DOGE[2], LTC[9.90801145], SHIB[0], SOL[12.49852189], TRX[2173.87611194], USD[0.00]                                              Yes

07983369                           SHIB[44134489.24982472], USD[1.97]

07983375                           CUSDT[1], DOGE[1], TRX[1], UNI[47.77358713], USD[0.29]                                                                                                            Yes

07983381                           SHIB[113275.9401903], USD[0.00]

07983385                           SHIB[4100000], TRX[398], USD[80.41]

07983386                           USD[20.00]

07983409                           CUSDT[1], SHIB[1247727.12322301], USD[0.00]                                                                                                                       Yes

07983411                           CUSDT[1], DOGE[2], SHIB[1], USD[0.01]

07983412                           ETH[.03552624], ETHW[.03552624], SHIB[611961.84219734], USD[0.00]

07983424                           BF_POINT[300], BTC[.00000002], ETH[.00000025], ETHW[.02745083], SHIB[42731312.01087431], USD[320.37]                                                              Yes

07983425                           CUSDT[4], DOGE[1], SOL[1.48809462], TRX[1], USD[10.01]

07983428                           TRX[.000001], USDT[9.94535535]                                                                                                                                    Yes

07983430                           BRZ[1], CUSDT[2], DOGE[1], LTC[.03397183], SHIB[10762653.44765686], USD[0.71]                                                                                     Yes

07983432                           CUSDT[3], DOGE[168.41595122], SHIB[620992.0407222], USD[0.00]                                                                                                     Yes

07983434                           USD[48.25]                                                                                                                                                        Yes

07983436                           SHIB[85557.83709787], USD[0.00]

07983439                           BTC[.0023992], TRX[1139], USD[61.34]

07983443                           SHIB[11516.19891081]                                                                                                                                              Yes

07983450                           BRZ[1], BTC[.21698309], CUSDT[1], DOGE[3], ETH[1.67968891], ETHW[1.67900212], TRX[1], USD[1430.87], USDT[2672.93903738]                                           Yes

07983456                           SHIB[764693.04156688], USD[0.00]

07983458                           USD[0.00]                                                                                                                                                         Yes

07983464                           ETH[.113886], ETHW[.113886], USD[5.36]

07983465                           LINK[.00083677], USD[0.20]                                                                                                                                        Yes

07983475                           BRZ[1], BTC[0.00000001], CUSDT[18], DOGE[2], MATIC[70.50212599], TRX[1], USD[0.00]                                                                                Yes

07983477                           GRT[4], KSHIB[10], LINK[.1], MATIC[10], MKR[.000999], SOL[.00999], SUSHI[1], TRX[9], USD[4.87]

07983485                           SHIB[1], USD[0.00]                                                                                                                                                Yes

07983492                           USD[10.87]                                                                                                                                                        Yes

07983500                           CUSDT[2], SOL[0.10025725], USD[0.00]                                                                                                                              Yes

07983503                           DOGE[.404], ETH[.000629], USD[0.12], USDT[0.00002052]

07983514                           SOL[0], USD[0.00]

07983515                           SHIB[.94498988], SOL[2.17], USD[0.72]

07983516                           DOGE[1], SOL[2.27164289], USD[2337.20]                                                                                                                            Yes

07983523                           SHIB[2000545.19192589]                                                                                                                                            Yes

07983524                           USD[20.00]

07983527                           NFT (412937303919230308/Hero #20)[1], NFT (439760739527531497/Saudi Arabia Ticket Stub #1727)[1], NFT (461064028064905892/Entrance Voucher #1878)[1], USD[0.00]   Yes

07983530                           CUSDT[6], TRX[737.86325404], USD[0.00]                                                                                                                            Yes

07983540                           SHIB[90707.30160667], USD[134.65]

07983546                           ETH[0], SOL[0], USD[0.95]

07983548                           NFT (346795189931854949/You in, Miami? #448)[1]

07983553                           CUSDT[3], DOGE[1], ETH[.00000001], ETHW[0.05315133], SHIB[6730285.43480068], USD[69.31]                                                                           Yes

07983558                           BTC[.00007899], SHIB[1708745.16163727], SOL[1.97876], USD[1.53]

07983560                           USD[6.36]

07983571                           SHIB[0], TRX[0], USD[0.00]                                                                                                                                        Yes

07983573                           USD[50.01]

07983580                           SHIB[741179.95849392], TRX[1], USD[0.00]

07983582                           DOGE[1], SHIB[2645660.4170255], USD[0.00]                                                                                                                         Yes

07983585                           SHIB[1], USD[0.03]                                                                                                                                                Yes

07983589                           BRZ[1], BTC[.00000001], CUSDT[2], DOGE[1], ETH[.00000029], ETHW[.00000029], MATIC[.00027555], SOL[.00000211], USD[0.00]                                           Yes

07983599                           ETHW[.50899903], SOL[0], USD[0.07]

07983605                           USD[20.00]

07983620                           USD[0.00]                                                                                                                                                         Yes
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07983625                              USD[20.00]

07983628                              BRZ[1199.98610348], CUSDT[4883.84264886], DOGE[1], SHIB[642219.63835266], TRX[2045.8684909], USD[0.00]                                                                               Yes

07983629                              BF_POINT[300]

07983631                              CUSDT[1], DOGE[2], SOL[.18021956], USD[0.00]                                                                                                                                         Yes

07983633                              BTC[.00018585], CUSDT[1], DOGE[1], ETH[.00299557], ETHW[.00295453], USD[0.00]                                                                                                        Yes

07983637                              CUSDT[3], ETH[.00000057], ETHW[0.00000057], SHIB[3], USD[0.59]                                                                                                                       Yes

07983650                              BF_POINT[300], DOGE[.00430802], ETH[.00000769], SHIB[4], TRX[5], USD[0.07], USDT[0.00000001]                                                                                         Yes

07983652                              SHIB[93800], SOL[1.87812], USD[4.05]

07983661                              KSHIB[1333.92792307], SHIB[2023783.94250302], SOL[1.5456]

07983663       Contingent, Disputed   USD[0.00]                                                                                                                                                                            Yes

07983682                              USD[0.01], USDT[0]                                                                                                                                                                   Yes

07983689                              BRZ[1], BTC[.01862273], CUSDT[2], DOGE[4], ETH[.32860846], ETHW[.32844646], GRT[1.00019173], SHIB[3685075.74598845], TRX[3], USD[0.01]                                               Yes

07983693                              MATIC[90], USD[2.72]

07983694                              DOGE[1], SHIB[2086263.25363738], TRX[1], USD[0.06]                                                                                                                                   Yes

07983695                              AVAX[18.69164158], DOGE[1], ETH[.00000129], ETHW[.14062967], SHIB[11], SOL[.00002786], USD[0.00]                                                                                     Yes

07983706                              DOGE[2], ETHW[.20397474], SHIB[6], TRX[3], USD[0.00]                                                                                                                                 Yes

07983707                              CUSDT[3], USD[0.00]                                                                                                                                                                  Yes

07983708                              CUSDT[1], SHIB[651041.66666666], USD[0.00]

07983716                              USD[20.00]

07983722                              CUSDT[1], DOGE[269.82205492], SHIB[689258.00530494], USD[0.27]                                                                                                                       Yes

07983723                              SHIB[823799.85825074], TRX[1], USD[0.01]                                                                                                                                             Yes

07983726                              CUSDT[1], SHIB[439211.42496502], USD[0.00]                                                                                                                                           Yes

07983728                              CUSDT[1], DOGE[361.88563315], SHIB[1395456.46299787], USD[0.00]                                                                                                                      Yes

07983738                              USD[21.72]                                                                                                                                                                           Yes

07983739                              CUSDT[3], GRT[1.00019173], SHIB[8805630.19127774], USD[0.00], USDT[1.08191243]                                                                                                       Yes

07983741                              CUSDT[.00207512], SHIB[.85636383], TRX[.00083087], USD[0.00]                                                                                                                         Yes

07983742                              CUSDT[1], MATIC[55.46846645], USD[53.67]                                                                                                                                             Yes

07983743                              DOGE[.1215515], USDT[1.08602058]                                                                                                                                                     Yes

07983745                              AVAX[1.07512753], BRZ[2], BTC[.16719144], CHF[181.29], DOGE[4], GRT[1], LINK[37.20469045], PAXG[.0000779], SHIB[9], SOL[29.32716346], USD[1.28]                                      Yes

07983749                              CUSDT[2], SHIB[1434147.45423035], USD[0.00]                                                                                                                                          Yes

07983760                              BCH[0], BRZ[0], BTC[0], CAD[0.00], DOGE[0.00000321], ETH[0], EUR[0.00], KSHIB[0], LTC[0], PAXG[0], SHIB[4], TRX[0], USD[0.00], ZAR[0.00]                                             Yes

07983765                              BTC[.00024087], USD[0.00]

07983768                              USD[0.75]

07983776                              BTC[.0048991], USD[1.29]

07983777                              DOGE[1], SHIB[6393861.89258312], USD[0.00]

07983780                              AVAX[.2], BTC[.0004], DOGE[170.98], GRT[5.994], SHIB[9200000], TRX[70], USD[0.14]

07983781                              USD[0.00]

07983784                              SOL[2.47153499], USD[0.01]

07983795                              NFT (354848938862680961/FTX - Off The Grid Miami #1859)[1], NFT (478054117198373419/Echo #4)[1], SHIB[1006534.35823099], USD[13.01]                                                  Yes

07983802                              USD[20.00]

07983804                              ETH[.39874828], ETHW[.39874828], USD[8000.00]

07983810                              AAVE[0], ALGO[77.81646750], BCH[0], GRT[0], LINK[0], MATIC[0], NFT (387417903167878605/Elon Eagle #003)[1], SHIB[0], SOL[0], SUSHI[0], TRX[0], USD[0.00]                             Yes

07983815                              ALGO[1380.11678422], AVAX[6.34898828], BRZ[1], BTC[.02605701], ETH[.09084685], ETHW[.08979604], LINK[118.97615326], MATIC[145.50617374], SHIB[1], SOL[27.48407674], USD[0.00]        Yes

07983833                              USD[21.51]                                                                                                                                                                           Yes

07983837                              USD[50.00]

07983845                              CUSDT[1], SHIB[391137.82030865], USD[0.00]                                                                                                                                           Yes

07983847                              CUSDT[1], NFT (573992935129325792/Astro Stones #5)[1], USD[9.26], USDT[0]

07983848                              CUSDT[2], MATIC[7.30514145], SHIB[553359.68379446], USD[25.02]

07983853                              SHIB[98822449.81046849], USD[0.00], USDT[0]                                                                                                                                          Yes

07983855       Contingent, Disputed   USD[0.00]                                                                                                                                                                            Yes

07983856                              BRZ[1], CUSDT[1140.83535854], DOGE[5], GRT[1], SHIB[224581098.91854527], TRX[7], USD[1.00], USDT[1]

07983870                              BRZ[1168.96556489], CUSDT[4], DOGE[1], ETH[.11161686], ETHW[.1105103], GRT[240.38302404], LINK[24.12022441], MATIC[138.69298598], SHIB[15958131.80269755], SOL[.02882356], TRX[2],   Yes
                                      USD[1.12], USDT[1.08376162]
07983874                              USD[20.00]

07983875                              CUSDT[2], TRX[2], USD[0.92]                                                                                                                                                          Yes

07983878                              BTC[.0095]

07983882                              ETH[.024], ETHW[.024], USD[3.62]

07983888                              SHIB[1], USD[0.00]                                                                                                                                                                   Yes

07983893                              CUSDT[1], DOGE[302.31705236], SHIB[1237939.68674319], USD[0.00]                                                                                                                      Yes
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07983907                              USD[0.00]

07983917                              ETH[.14393409], ETHW[0.09832606], USD[0.32]

07983918                              NFT (370908191600010940/Cryptographic zombie #17)[1], NFT (405418652238182025/lazyPanda #19)[1], NFT (422599442840079426/Woofs#8)[1], NFT (424421624266626141/Cryptographic zombie
                                      #32)[1], NFT (437833290270035484/Holy Unicorn Edition #7)[1], NFT (464805099495278805/Crypto Avatar Art #54)[1], NFT (531645226145683892/lazyPanda #17)[1], NFT
                                      (536849334679081560/Cryptographic zombie #38)[1], SHIB[1], USD[0.75]
07983920                              USD[0.00]

07983924                              DOGE[1], TRX[313.99221129], USD[0.04]

07983935                              CUSDT[2], SHIB[1], TRX[1], USD[758.55]

07983937                              DOGE[1], SHIB[37790310.12285958], USD[0.01]                                                                                                                                           Yes

07983939                              BAT[1.01585017], BRZ[6.43910322], BTC[0.00000019], CUSDT[13], DOGE[14.75504145], PAXG[.00000149], TRX[6], USD[0.00]                                                                   Yes

07983944                              KSHIB[65.08356534], SHIB[139416.95932226], TRX[1], USD[0.00]                                                                                                                          Yes

07983946                              DOGE[1], MATIC[0], TRX[1], USD[0.01]

07983948                              BRZ[39.32378422], CUSDT[2], USD[0.04]

07983954                              SHIB[0], USD[0.00]                                                                                                                                                                    Yes

07983971                              SHIB[7000000], USD[1.02]

07983977                              BRZ[1], CUSDT[4], DOGE[4], MATIC[.00213646], NFT (364765065397556298/7503)[1], NFT (421558146718077842/Fancy Frenchies #3096)[1], SHIB[85900691.44686939], SOL[2.08841189], TRX[2],   Yes
                                      USD[37.53]
07983985                              USD[108.57]                                                                                                                                                                           Yes

07983998                              USD[21.51]                                                                                                                                                                            Yes

07984002                              BRZ[1], CUSDT[2], SHIB[3017754.19146307], USD[0.00]                                                                                                                                   Yes

07984003                              USD[0.00]                                                                                                                                                                             Yes

07984013                              DOGE[1], GRT[1], MATIC[1994.55880403], SOL[.00000001], USD[1420.71]                                                                                                                   Yes

07984017                              SOL[11.7388375], USD[3.50]

07984018                              CUSDT[2], SHIB[1426430.11381142], USD[0.01]                                                                                                                                           Yes

07984024                              ETH[.23], ETHW[.23], USD[1.16]

07984031                              USD[0.01]                                                                                                                                                                             Yes

07984041                              ETH[.01435848], ETHW[.01418064], MATIC[22.92257872], NFT (310348706071017001/3D CATPUNK #3707)[1], NFT (434062463451906599/Shannon Sharpe's Playbook: Baltimore Ravens vs.            Yes
                                      Oakland Raiders - January 14, 2001 #93)[1], NFT (485858198400461422/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #102)[1], NFT (489212519992887438/2D
                                      SOLDIER #2631)[1], NFT (572980394163308439/ApexDucks #3225)[1], SHIB[2003319.64467286], SOL[.30639377], USD[0.00]
07984042                              USD[0.03]

07984046                              USD[0.00]

07984051                              LTC[.009], USDT[46.53934690]

07984052                              AUD[7.12], CUSDT[2], DOGE[18.59646579], EUR[4.60], SUSHI[.4841159], USD[9.68]                                                                                                         Yes

07984055                              BTC[.00182771], CUSDT[3], DOGE[1], SHIB[3544790.9032986], USD[108.51]                                                                                                                 Yes

07984059                              BF_POINT[200], CUSDT[1], SHIB[8803408.19172525], TRX[1], USD[0.00]                                                                                                                    Yes

07984064                              BRZ[1], CUSDT[1], DOGE[98.71063026], SHIB[2521142.99196666], USD[0.00]                                                                                                                Yes

07984088                              NFT (465544646918241364/Microphone #1726)[1]

07984093                              CUSDT[1], DOGE[174.99211293], ETH[.01231478], ETHW[.0121643], SHIB[684913.21202854], TRX[1], USD[0.01]                                                                                Yes

07984094                              BRZ[1], SHIB[1355932.20338983], USD[0.00]

07984099                              BAT[.00008326], CUSDT[3], DOGE[1], GRT[.00014171], USD[0.00]                                                                                                                          Yes

07984100                              USD[21.51]                                                                                                                                                                            Yes

07984103                              DOGE[1], SHIB[6786382.88784599], USD[0.01]                                                                                                                                            Yes

07984111                              USD[20.00]

07984114                              USD[0.85], USDT[0]                                                                                                                                                                    Yes

07984115                              SHIB[40659300], USD[0.56]

07984126                              USD[1.24]

07984128                              SHIB[4990508.29196561], USD[0.00]

07984144                              USD[1.71]

07984149                              SHIB[127372.30925996], USD[0.00]

07984150                              USD[20.00]

07984152                              SHIB[46252655.15096561], USD[0.66]                                                                                                                                                    Yes

07984159                              BRZ[1], CUSDT[4], NFT (454199759576009628/Solana Penguin #3292)[1], NFT (475921448897437644/Halloween edition #3)[1], NFT (550386092574278359/DOTB #8522)[1], NFT                     Yes
                                      (568705950761505256/Solninjas #4009)[1], SHIB[5.02546795], SOL[1.70532103], TRX[508.159637], USD[72.81]
07984160                              BTC[.00016851], USD[0.00]

07984165                              USD[0.01]

07984172                              SHIB[139065.21843332], USD[16.28]                                                                                                                                                     Yes

07984174                              USD[10.87]                                                                                                                                                                            Yes

07984178                              USD[98.41], USDT[1.4449446]

07984179                              USD[32.19]                                                                                                                                                                            Yes

07984182                              USD[20.00]

07984187       Contingent, Disputed   SUSHI[0], USD[0.20]                                                                                                                                                                   Yes

07984192                              USD[1183.92]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07984196                           SHIB[37388.96691278], USD[0.00]                                                                                                                                                        Yes

07984209                           SHIB[3853564.54720616], TRX[1], USD[0.00]

07984210                           BTC[.0012938], TRX[1], USD[0.01]

07984215                           BTC[0], SHIB[.02768025], SOL[0], USD[0.00]

07984222                           BTC[.00000001], SHIB[1], USD[0.12]                                                                                                                                                     Yes

07984240                           SOL[.00000001], USD[0.00]

07984242                           BTC[0], ETH[0], USD[0.09]

07984250                           CUSDT[1], USD[15.43]

07984253                           USD[0.00]

07984270                           TRX[1], USD[0.00]                                                                                                                                                                      Yes

07984276                           SHIB[74147.76190476], USD[5.01]

07984288                           BRZ[1], CUSDT[1], USD[0.00]                                                                                                                                                            Yes

07984292                           USD[21.51]                                                                                                                                                                             Yes

07984298                           SOL[0], USD[1.56]

07984301                           CUSDT[1], SHIB[231356.81851298], USD[0.00]                                                                                                                                             Yes

07984306                           USDT[0]

07984308                           BTC[0], SOL[.0091015], USD[2.22]

07984311                           BTC[.00016533], USD[0.00]                                                                                                                                                              Yes

07984316                           USD[500.01]

07984317                           SHIB[1], USD[5.46]                                                                                                                                                                     Yes

07984321                           SHIB[2000000], USD[0.26]

07984324                           USD[0.07]                                                                                                                                                                              Yes

07984326                           BF_POINT[200], BTC[.00389281], CUSDT[4935.55838649], SHIB[1], USD[0.00]                                                                                                                Yes

07984327                           USD[0.01], USDT[49.7054643]

07984328                           USD[20.00]

07984344                           DOGE[105.32368487], ETH[.02974947], ETHW[.02938011], SHIB[3606690.02787131], SOL[0], UNI[2.45530462], USD[0.00], USDT[0]                                                               Yes

07984347                           BRZ[1], CUSDT[1], NFT (300560853039332467/The 2974 Collection #1581)[1], NFT (346007555875917218/The 2974 Collection #0462)[1], NFT (384468912339527805/Birthday Cake #1581)[1], NFT   Yes
                                   (497411406984623382/Birthday Cake #0462)[1], SOL[2.87419738], USD[0.00]
07984350                           CUSDT[16], DOGE[3], MKR[.24314448], SHIB[3], USD[0.89]                                                                                                                                 Yes

07984355                           SHIB[197841.13576451], USD[0.02]                                                                                                                                                       Yes

07984357                           TRX[.00665582], USD[0.00]                                                                                                                                                              Yes

07984364                           USDT[1.30190300]

07984367                           DOGE[125], SHIB[900000.35294118], SOL[0], USD[0.51]

07984376                           SHIB[699300], SOL[1.31868], USD[0.76]

07984387                           USD[0.00]

07984392                           CUSDT[1], SOL[.17610366], USD[0.37]                                                                                                                                                    Yes

07984394                           CUSDT[4], DOGE[1], USD[0.01]                                                                                                                                                           Yes

07984403                           SHIB[7243203.66731576], TRX[1], USD[0.00]                                                                                                                                              Yes

07984404                           NFT (500328796971904406/Coachella x FTX Weekend 1 #12935)[1]

07984409                           SHIB[1598600], USD[1.61]

07984418                           USD[5.11]

07984425                           BRZ[0], BTC[.00000001], CUSDT[2], DOGE[1], ETH[0], GRT[0], LINK[0.40936493], SHIB[1], USD[0.00]                                                                                        Yes

07984435                           USD[20.00]

07984444                           SHIB[918568.54330873], USD[18.55]                                                                                                                                                      Yes

07984446                           SOL[1.998], USD[10.72]

07984450                           ETH[0.00039076], ETHW[0.00039076], TRX[0.17490793], USD[0.00]

07984455                           CUSDT[2], SHIB[178674.33900344], SOL[.07104667], USD[0.00]                                                                                                                             Yes

07984458                           BF_POINT[100], NFT (362919706772718860/Entrance Voucher #2525)[1], NFT (376988123821267225/Humpty Dumpty #109)[1], SHIB[1], USD[0.00], USDT[0.00024709]                                Yes

07984466                           BTC[0.00184028], SOL[0], USD[0.00]

07984473                           CUSDT[1], DOGE[192.33469313], USD[0.00]

07984476                           CUSDT[1], DOGE[1], SHIB[5082717.65009662], USD[0.00]                                                                                                                                   Yes

07984478                           ETH[.00286044], ETHW[0.00281940]                                                                                                                                                       Yes

07984482                           DOGE[1], SHIB[1463914.50739276], USD[0.00]

07984490                           BAT[1.00736026], BRZ[1], CUSDT[4], DOGE[3], GRT[1], SHIB[9425781.52603267], SOL[22.96234684], TRX[1], UNI[1.06306853], USD[0.00]                                                       Yes

07984491                           USD[0.43]

07984494                           CUSDT[1], USD[0.00]                                                                                                                                                                    Yes

07984495                           DOGE[1], TRX[1], USD[0.01]                                                                                                                                                             Yes

07984498                           BRZ[1], CUSDT[1], SHIB[3840829.53447775], USD[0.00]                                                                                                                                    Yes

07984502                           BRZ[1], BTC[.00587787], CUSDT[3], DOGE[500.67833434], ETH[.05778151], ETHW[.05778151], SHIB[266703.21932662], TRX[1], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07984514                              BTC[.00032609], CUSDT[3], DOGE[80.17219124], KSHIB[356.6570393], NFT (389543854711498940/Entrance Voucher #1930)[1], USD[0.07], USDT[10.79483935]                                    Yes

07984515                              ETH[.00000007], ETHW[0.00000006], SOL[.00343144], TRX[.98675431]                                                                                                                     Yes

07984518                              BRZ[1], CUSDT[2], DOGE[1], SHIB[8308998.55242389], USD[0.03]

07984522                              CUSDT[3], DOGE[375.12019191], KSHIB[727.0636632], SHIB[797818.68021497], USD[0.00]                                                                                                   Yes

07984531                              CUSDT[1], USD[0.00]

07984536                              USD[0.00]                                                                                                                                                                            Yes

07984538                              SHIB[18], USD[173.72]                                                                                                                                                                Yes

07984539                              USD[20.00]

07984546                              BAT[1.00990253], CUSDT[4], DOGE[2], MATIC[294.00998803], SOL[18.56631199], TRX[1], USD[43.98]                                                                                        Yes

07984553                              AAVE[.00000028], BAT[.00008996], BCH[.00000015], BRZ[1], CUSDT[1], DAI[.00018383], DOGE[2], ETH[.00000002], ETHW[.00000002], GRT[.00176819], KSHIB[138.02384361], LINK[.00000291],   Yes
                                      LTC[.00000366], MATIC[.00009689], MKR[.00000004], NFT (336629744610036221/FTX - Off The Grid Miami #2022)[1], PAXG[.00597122], SHIB[1.27420539], SOL[.00000895], SUSHI[.0000073],
                                      TRX[5], UNI[.00000355], USD[0.00], USDT[.00009181]
07984555                              BRZ[1], CUSDT[2], SHIB[9217818.7374259], USD[0.04]                                                                                                                                   Yes

07984567                              GRT[45.9586], USD[1.68]

07984577                              USD[99.62]

07984589                              SOL[.08413775]

07984592                              USD[20.00]

07984593                              SHIB[142621.49820102], USD[0.00]

07984596                              BRZ[1], DOGE[1], ETH[.03962798], ETHW[.0391355], USD[0.00]                                                                                                                           Yes

07984597                              BCH[.01164572], CUSDT[1], GRT[2.07278516], KSHIB[256.41946121], SHIB[339007.89720477], TRX[38.62009307], USD[3.36]                                                                   Yes

07984598                              BAT[1.77223526], BTC[.00008107], DOGE[9.61047303], PAXG[.00300947], SHIB[21962.07893191], USD[1.10], YFI[.00008494]                                                                  Yes

07984602                              AAVE[0], BAT[0], BCH[0], BTC[0], ETH[0], ETHW[0], GRT[0], LINK[0], MATIC[0], SHIB[12], SOL[0], SUSHI[0], USD[0.00], USDT[0.00002654]                                                 Yes

07984604                              CUSDT[1], USD[0.00]

07984617                              USD[0.00]

07984618                              CUSDT[2], DOGE[1], ETH[.03294834], ETHW[.03253764], TRX[1], USD[1.99]                                                                                                                Yes

07984622                              CUSDT[3], USD[0.12], USDT[0.00444747]                                                                                                                                                Yes

07984629                              BTC[1.06193322], ETH[1.78019589], ETHW[1.77964043], USD[8479.58]                                                                                                                     Yes

07984638                              USD[0.12]

07984639                              NFT (318088621454088925/Nogth #1)[1], NFT (468545248020071348/Halloween Three)[1], USD[5.38]                                                                                         Yes

07984642                              ETH[.49476884], SHIB[3], SOL[.00254884], USD[0.00], USDT[0]                                                                                                                          Yes

07984646                              CUSDT[1], SHIB[824266.40290141], USD[0.01]

07984647                              USD[0.00]                                                                                                                                                                            Yes

07984654                              BTC[.00000002], CUSDT[6], DOGE[4], MATIC[8.02448484], SHIB[5], SOL[.00000051], TRX[1], USD[0.01]                                                                                     Yes

07984667                              BTC[0], DOGE[0], GRT[0], MATIC[0.05466861], PAXG[0], SHIB[0], SUSHI[0], USD[0.00], USDT[0]                                                                                           Yes

07984684                              TRX[.000201], USD[0.85], USDT[0]

07984685                              ETHW[0.36719204], NFT (316569636855646326/GSW Western Conference Semifinals Commemorative Ticket #700)[1], NFT (346712841728930452/Warriors 75th Anniversary City Edition Diamond
                                      #412)[1], NFT (371285620483536721/GSW Western Conference Finals Commemorative Banner #1335)[1], NFT (381403487080762383/GSW Round 1 Commemorative Ticket #120)[1], NFT
                                      (383994315794951392/GSW Championship Commemorative Ring)[1], NFT (395699177454741992/Warriors 75th Anniversary Icon Edition Diamond #1643)[1], NFT (403730720867807995/Warriors
                                      Logo Pin #439 (Redeemed))[1], NFT (435456489456984058/GSW Western Conference Finals Commemorative Banner #1336)[1], USD[0.00]
07984687                              USD[0.00]

07984693                              BTC[0], USD[0.00]                                                                                                                                                                    Yes

07984694       Contingent, Disputed   BTC[.01693326]

07984697                              CUSDT[1], SHIB[3245391.13277751], TRX[1], USD[0.00]                                                                                                                                  Yes

07984700                              DOGE[2], ETH[.41796227], ETHW[.41778655], SHIB[8075325.36450378], TRX[1], USD[0.00]                                                                                                  Yes

07984703                              USD[0.00]

07984727                              BAT[1.50378149], GRT[1.0363587], USD[3.95]                                                                                                                                           Yes

07984731                              BRZ[2], CUSDT[10], DOGE[1], SHIB[12835311.51795621], SOL[1.97106575], TRX[459.41231805], USD[0.00]                                                                                   Yes

07984732                              USD[20.00]

07984738                              CUSDT[3], DOGE[.00006148], SHIB[2], TRX[2.00000266], USD[8.73]                                                                                                                       Yes

07984752                              AVAX[61.2], BTC[0.40205685], DOGE[800], ETH[6.16596647], ETHW[6.16596647], USD[2.62]

07984756                              CUSDT[1], KSHIB[947.60681897], USD[3.24]                                                                                                                                             Yes

07984763                              DOGE[1], SHIB[8003956.22921732], USD[0.01]                                                                                                                                           Yes

07984771                              SHIB[16530277.61767968], USD[18.32]                                                                                                                                                  Yes

07984773                              CUSDT[3], SHIB[1063014.11942327], USD[0.00]                                                                                                                                          Yes

07984779                              BTC[.0008455]

07984784                              BTC[0], USD[0.73], USDT[0]

07984785                              USD[21.51]                                                                                                                                                                           Yes

07984796                              BTC[.00002036], ETH[.45046823], ETHW[.45027917], SHIB[2519704.99906075], TRX[2], USD[8.72]                                                                                           Yes

07984805                              NFT (324136938582820502/Pirate #1367)[1], SOL[1.899994], USDT[4989]

07984810                              USD[0.00]

07984813                              NFT (570576592281026956/Coachella x FTX Weekend 2 #22856)[1]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07984816                           SHIB[5280984.12565745]                                                                                                                                                               Yes

07984822                           SHIB[2000000], USD[1.59]

07984832                           USD[0.01]                                                                                                                                                                            Yes

07984834                           BTC[0], GRT[0], KSHIB[0], MATIC[0], SHIB[0], USDT[2.96459245]

07984836                           USD[0.00]

07984843                           CUSDT[1], ETH[.00156819], ETHW[.00155451], SOL[3.86656598], USD[0.00]                                                                                                                Yes

07984844                           AVAX[0.65201347], BTC[0.00073844], DOGE[115.90158375], ETH[0.01206807], ETHW[0.01191759], KSHIB[0], MATIC[0], SHIB[3], TRX[150.76360618], UNI[0], USD[0.00], USDT[0]                 Yes

07984852                           BRZ[3], BTC[0], CUSDT[5], GRT[1], KSHIB[530.00240953], SHIB[674441.92851111], USD[0.06]                                                                                              Yes

07984861                           SHIB[27099800], USD[0.73]

07984864                           CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                         Yes

07984866                           CUSDT[1], DOGE[341.26563205], USD[0.00]

07984871                           CUSDT[2], SHIB[1838282.84626236], USD[0.00]                                                                                                                                          Yes

07984878                           AVAX[7.64495816], BRZ[1], CUSDT[8], DAI[85.37048042], DOGE[1], ETHW[1.24043141], SHIB[9995274.10310983], SOL[27.44638089], TRX[3], USD[1826.96]                                      Yes

07984890                           USD[20.00]

07984898                           NFT (465153983116368772/Coachella x FTX Weekend 2 #11376)[1]

07984902                           CUSDT[2], KSHIB[329.70456097], SHIB[1132195.60055542], USD[0.01]                                                                                                                     Yes

07984906                           BTC[0], SOL[0], USDT[0]

07984915                           USD[20.00]

07984917                           KSHIB[1.00997294], SHIB[1123465.82529737], USD[0.11]                                                                                                                                 Yes

07984926                           USD[10.87]                                                                                                                                                                           Yes

07984930                           BRZ[1], SHIB[4469176.82083839], USD[108.66]                                                                                                                                          Yes

07984938                           USD[21.51]                                                                                                                                                                           Yes

07984940                           TRX[114.38066114], USD[0.00]                                                                                                                                                         Yes

07984946                           USD[7.70]

07984948                           CUSDT[1], USD[0.00]                                                                                                                                                                  Yes

07984953                           CUSDT[1], DOGE[35.99265568], ETH[.02291581], ETHW[.02262853], USD[0.00]                                                                                                              Yes

07984959                           CUSDT[2], DOGE[54812.30982893], SHIB[48761668.87449411], USD[0.00]

07984970                           SHIB[54150982.72666214]                                                                                                                                                              Yes

07984983                           USD[0.00]

07984984                           USD[20.00]

07984989                           USD[4.34]

07984991                           TRX[1], USD[0.00]                                                                                                                                                                    Yes

07984992                           AVAX[0], BRZ[0], CUSDT[0], DAI[0], DOGE[0], SHIB[0], SUSHI[0], TRX[0], USD[0.00]                                                                                                     Yes

07984998                           USD[20.00]

07985000                           DOGE[1], SHIB[1274327.60615479], TRX[3], USD[0.34]                                                                                                                                   Yes

07985005                           NFT (293165727376658527/Nois3)[1], NFT (294091289023453348/First 50 #33)[1], NFT (295906272720201445/Nois3)[1], NFT (301503969238944757/Nois3)[1], NFT (315511648116825815/Medical   Yes
                                   Cannabis #0027)[1], NFT (340866851868585231/Medical Cannabis #0016)[1], NFT (342058994825915767/Molly Water #8)[1], NFT (413842414297463703/Nois3)[1], NFT
                                   (414242792424932740/Nois3)[1], NFT (422049613200435718/Nois3)[1], NFT (505527361892631276/Nois3)[1], NFT (512539865103091979/Nois3)[1], NFT (518334149877664317/Nois3)[1], NFT
                                   (533828407354354808/Nois3)[1], NFT (542825989024504063/Nois3)[1], NFT (561693481183984978/Nois3)[1], NFT (571042168551347942/Nois3)[1], SOL[1.58722738], USD[0.00], USDT[0]

07985006                           BTC[0], LINK[0], MATIC[0], USD[0.00], USDT[0]

07985018                           CUSDT[1], SHIB[1], SOL[4.12187741], USD[0.01]                                                                                                                                        Yes

07985024                           SHIB[1], USD[0.00]

07985038                           USD[4.84]

07985039                           USD[20.00]

07985048                           LINK[.36028698], MATIC[5.79287804], USD[0.00]                                                                                                                                        Yes

07985056                           ETH[0], ETHW[0], TRX[0], USD[136.67]

07985067                           BRZ[1], CUSDT[8], DOGE[1], ETH[.00000102], SHIB[2], USD[0.00]                                                                                                                        Yes

07985070                           SOL[.00952182], USD[0.01]

07985073                           CUSDT[1], SHIB[574968.18100429], TRX[1], USD[0.00]

07985078                           USD[20.00]

07985092                           BRZ[1], CUSDT[1], SHIB[25664.03161376], TRX[1], USD[0.01], USDT[0.00000915]                                                                                                          Yes

07985094                           SHIB[785437.63117553], TRX[1], USD[0.00]                                                                                                                                             Yes

07985103                           USD[20.00]

07985104                           BRZ[1], ETH[0.12603566], ETHW[0.12490590], GRT[1.00313735], MATIC[0], TRX[1], USD[0.01]                                                                                              Yes

07985110                           CUSDT[20.995824], USD[0.00]                                                                                                                                                          Yes

07985121                           NFT (311875650196928633/Tower Community NFT)[1], NFT (397026558090278230/Tower Community NFT)[1], NFT (429076867247909743/Tower Community NFT)[1], NFT
                                   (551081225288595483/Tower Community NFT)[1], NFT (564268416370906859/Tower Community NFT)[1]
07985122                           TRX[.30057161], USD[0.00]                                                                                                                                                            Yes

07985123                           BTC[.058113], SOL[7.35918192]

07985125                           BTC[0.00009527], SOL[.19992]
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07985130                              BTC[.05809659], DOGE[1], SHIB[2], TRX[1], USD[0.03]

07985135                              CUSDT[1], SHIB[481534.96442296], USD[0.00]                                                                                                                                           Yes

07985142                              USD[0.00]

07985152                              CUSDT[1], TRX[5477.52147119], USD[0.01]                                                                                                                                              Yes

07985160                              BTC[0], DOGE[0], USD[0.00]

07985165                              SOL[.439582], USD[0.00], USDT[2.25053187]

07985169                              CUSDT[1], DOGE[89.42536674], USD[0.00]                                                                                                                                               Yes

07985175                              DOGE[1], SHIB[1333448.50959685], USD[0.00]                                                                                                                                           Yes

07985188                              ETH[.00117473], ETHW[.00116105], SHIB[101580.97080235], USD[21.51]                                                                                                                   Yes

07985194                              USD[0.00]

07985207       Contingent, Disputed   AVAX[.00000192], BTC[0.00000002], CHF[0.00], DOGE[.00214065], ETH[0.00000005], ETHW[0.00000005], SOL[0.00000105], TRX[.00212922], USD[0.00], USDT[0]                                 Yes

07985209                              BTC[.0003], DOGE[96], SHIB[100000], USD[1.01]

07985211                              USD[1.72]

07985212                              MATIC[30], SHIB[4600000], USD[1.06]

07985213                              BAT[2], BRZ[2], BTC[0], DOGE[6], ETH[0], ETHW[0], GRT[2], SHIB[24], TRX[13], USD[0.00], USDT[0]

07985214                              USD[1.08]                                                                                                                                                                            Yes

07985226                              AAVE[.1253735], BAT[63.6041], BCH[.114101], BRZ[114], BTC[.00048442], DOGE[1.59295], ETH[.00112283], ETHW[.00112283], GRT[76.6699], KSHIB[517.3785], LINK[2.7183], LTC[.039955],
                                      MATIC[48.6415], MKR[.01172545], SHIB[6108420], SOL[.0146505], SUSHI[7.608125], TRX[65.9129], USD[0.92], USDT[0]
07985229                              USD[20.00]

07985232                              BCH[.00929984], DOGE[18.48923939], ETH[.00077978], PAXG[.00473481], USD[0.00]                                                                                                        Yes

07985234                              USD[20.00]

07985242                              BRZ[.00051487], CUSDT[17], DOGE[1], TRX[1.00084506], USD[0.01]                                                                                                                       Yes

07985246                              SHIB[480884.02725652], TRX[1], USD[0.00]                                                                                                                                             Yes

07985249                              USD[100.00]

07985255                              CUSDT[1], SOL[.5438909], USD[0.00]                                                                                                                                                   Yes

07985264                              DOGE[1], SHIB[1336183.85889898], USD[0.00]

07985271                              USD[7.85]

07985272                              MATIC[0], USD[0.00], USDT[0.00000227]

07985276                              BAT[0], BCH[.01039595], BRZ[1], BTC[0.04572311], CUSDT[3], DOGE[5], SHIB[47.0658028], TRX[1], USD[0.33], USDT[3.23324627]                                                            Yes

07985290                              SHIB[5], SOL[1.07178003], USD[0.00]

07985291                              USD[20.00]

07985313                              USD[0.01]                                                                                                                                                                            Yes

07985322                              USD[0.00]

07985323                              CUSDT[2], MATIC[10.26215959], SHIB[2323460.22286094], TRX[1], USD[0.00]

07985324                              NFT (337151564443247279/Kriss #7)[1], NFT (429507318429035600/Geovaldi #68)[1], SOL[2.61986605], TRX[1], USD[0.00]                                                                   Yes

07985336                              DOGE[4], NFT (501899224133002212/Fortuo Distinctus #62)[1], NFT (572191608173903582/Bahrain Ticket Stub #1070)[1], SHIB[14.76582172], SOL[9.41814621], USD[4.12], USDT[0.00000001]   Yes

07985337                              BRZ[1], CUSDT[4], DOGE[6491.90953744], ETH[.47575228], ETHW[.47555264], SHIB[24798815.67807557], TRX[2], USD[0.00]                                                                   Yes

07985339                              BTC[.01701713], DOGE[2], USD[0.00]                                                                                                                                                   Yes

07985340                              CUSDT[3], SHIB[1316834.65729627], USD[8.72]                                                                                                                                          Yes

07985344                              USD[20.00]

07985356       Contingent, Disputed   CUSDT[1], SHIB[4717698.62972766], TRX[2], USD[648.15], USDT[540.18548556]                                                                                                            Yes

07985363                              ETH[0], ETHW[0.02853376], EUR[0.00], USD[118.30], USDT[0]                                                                                                                            Yes

07985365                              SOL[.00445449], USD[0.00]

07985367                              USD[20.00]

07985369                              DOGE[2], USD[0.00]                                                                                                                                                                   Yes

07985370                              ETH[.01514358], ETHW[.01514358], USD[47417.34]

07985374                              USD[20.00]

07985378                              DOGE[1], SHIB[2995128.26264033], USD[0.01]                                                                                                                                           Yes

07985380                              BAT[245.92760415], BRZ[7.57095469], CUSDT[190.06256257], DOGE[51.15986701], LINK[8.71831399], SHIB[23380812.719366], TRX[5014.92388005], USD[0.00]                                   Yes

07985389                              BAT[1.00024651], BRZ[1], CUSDT[3], SHIB[43884348.44038164], USD[0.05]

07985391                              BRZ[2], BTC[0], DOGE[2], ETH[0], SHIB[3], SOL[0], SUSHI[0], USD[0.00]                                                                                                                Yes

07985399                              USD[0.87]

07985403                              ETH[.00232671], ETHW[.00229935], USD[0.00]                                                                                                                                           Yes

07985405                              CUSDT[1], USD[6.67]                                                                                                                                                                  Yes

07985426                              USD[-500.00], USDT[997.47255062]

07985431                              DOGE[7], SHIB[2598600], USD[0.06]

07985440                              USD[0.06]                                                                                                                                                                            Yes

07985441                              CUSDT[1], SHIB[349015.77551305], USD[0.00]

07985443                              DOGE[.988], TRX[4.847], USD[2.78]
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                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07985445                           DOGE[1], TRX[1], USD[0.00]                                                                                                                                                            Yes

07985451                           ETH[.00000057], ETHW[.06202084], SHIB[2], SOL[.00000556], USD[0.00]                                                                                                                   Yes

07985461                           BTC[.02686653], DOGE[1], GRT[1.00313735], SHIB[6724632.78405763], SOL[4.61691156], TRX[2], USD[0.12]                                                                                  Yes

07985469                           BCH[.032967], CUSDT[150], EUR[11.00], GRT[23.976], PAXG[.0186], SOL[.1631368], USD[0.00], USDT[9.99]

07985484                           BTC[.0533924], NFT (506947322312861384/Entrance Voucher #6557)[1], USD[1.99]

07985488                           AAVE[3.74142779], BRZ[1], BTC[.00830663], CUSDT[1], LINK[33.14501189], TRX[1], USD[2000.00]

07985495                           DOGE[1], ETH[0], GRT[1.00028303], USD[0.00]                                                                                                                                           Yes

07985499                           USD[43.46]                                                                                                                                                                            Yes

07985502                           USD[0.64], USDT[.009428]

07985505                           CUSDT[1], MATIC[5.74233822], SHIB[1026820.28000878], TRX[1], USD[0.00]                                                                                                                Yes

07985511                           CUSDT[7], DOGE[348.73029993], ETH[.01856925], ETHW[.01833669], MATIC[61.56310301], NFT (397588618967689911/#20 Nurse Ted)[1], SHIB[1510074.89954571], SOL[.93982923], TRX[2],         Yes
                                   USD[0.00]
07985520                           CUSDT[1], DOGE[2], ETH[1.06458417], ETHW[1.06413705], TRX[2], USD[0.08]                                                                                                               Yes

07985535                           CUSDT[2], SHIB[1868219.45715274], USD[0.02]                                                                                                                                           Yes

07985536                           DOGE[1], SOL[.00002313], USD[0.00]                                                                                                                                                    Yes

07985539                           SHIB[6252344.62923596], USD[500.00]

07985541                           CUSDT[1], DOGE[1], ETH[0.74578040], ETHW[0.74546714], GRT[1], TRX[4], USD[0.00], USDT[1.05869906]                                                                                     Yes

07985542                           BAT[7.91692966], CUSDT[6], ETH[.00770236], ETHW[.0076066], LTC[.14481242], NFT (352301483868860383/Pop Art #25)[1], SOL[.14488724], SUSHI[3.02340962], TRX[1], USD[3371.82]           Yes

07985557                           CUSDT[1], SHIB[221641.10170889], USD[1.09], USDT[4.32305365]                                                                                                                          Yes

07985561                           BTC[.00016033], CUSDT[2], DOGE[17.45102944], KSHIB[131.255334], SOL[.02110701], TRX[50.99713684], USD[16.33]                                                                          Yes

07985569                           CUSDT[1], SHIB[24275793.7502013], USD[0.01]                                                                                                                                           Yes

07985576                           ETH[1.180998], ETHW[1.180998], USD[3.98]

07985581                           CUSDT[1], SHIB[152059.40600177], TRX[1], USD[0.01]                                                                                                                                    Yes

07985584                           USD[11.31]                                                                                                                                                                            Yes

07985591                           BCH[.00241574], CUSDT[1], DOGE[14.00829952], ETH[.00032014], ETHW[.00032014], SOL[.01321097], USD[0.67]                                                                               Yes

07985593                           BAT[0], BTC[0], CUSDT[2], ETH[0.02712723], ETHW[0.02678693], LINK[0], LTC[.60117454], USD[0.00]                                                                                       Yes

07985599                           BTC[0.00000024], DOGE[1], NFT (416668983194963194/Entrance Voucher #425)[1], NFT (534998187938066959/Saudi Arabia Ticket Stub #2148)[1], SHIB[92885.01820756], TRX[1], USD[399.90],   Yes
                                   USDT[0.00000913]
07985621                           USD[0.00], USDT[0]

07985623                           USD[0.44]                                                                                                                                                                             Yes

07985636                           SOL[.088]

07985638                           SHIB[33.4414856], USD[0.02]                                                                                                                                                           Yes

07985647                           BRZ[1], BTC[.00657803], DOGE[913.15091666], ETHW[.24167042], MATIC[10.78799769], SHIB[52], TRX[4], USD[0.00]                                                                          Yes

07985655                           CUSDT[9], DOGE[93.94641057], LINK[1.66255849], SHIB[418877.40854509], SOL[.46139172], TRX[393.27067771], UNI[4.10104331], USD[0.00]

07985656                           CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                           Yes

07985658                           BAT[0], DOGE[0], GRT[0], LTC[0], SHIB[91.79459459], USD[0.00]                                                                                                                         Yes

07985662                           BTC[0], DOGE[0], ETH[0], ETHW[0], KSHIB[0], LINK[0], LTC[0], SHIB[0], SOL[0], TRX[0], USD[0.29], USDT[0]                                                                              Yes

07985668                           BRZ[1], CUSDT[6], DOGE[2], TRX[2], USD[0.00]                                                                                                                                          Yes

07985673                           BRZ[2], BTC[0], CUSDT[4], DOGE[1], ETH[0], NFT (391839520871288039/Barcelona Ticket Stub #1479)[1], NFT (449671239065172113/Saudi Arabia Ticket Stub #832)[1], NFT                    Yes
                                   (519763149120915971/Halloween Two)[1], SHIB[1], SOL[0], TRX[1], USD[0.00]
07985678                           GRT[0], USD[0.00]                                                                                                                                                                     Yes

07985684                           BAT[34.21207418], BRZ[1], BTC[.00896105], CUSDT[15], ETH[.22554126], ETHW[.22533114], LINK[5.02425473], SOL[3.84762991], TRX[1], USD[0.00]                                            Yes

07985688                           ETH[.00063571], ETHW[.00063571], USD[0.00]

07985689                           BAT[.07519516], CUSDT[500.92296176], DOGE[1], GRT[17.1930744], SHIB[2051381.12539158], USD[0.00]                                                                                      Yes

07985692                           SHIB[999000], USD[24.11]

07985694                           USD[21.51]                                                                                                                                                                            Yes

07985695                           CUSDT[2], DOGE[2], MATIC[0], USD[0.00]

07985702                           USD[20.00]

07985706                           BTC[.00016184], TRX[1.35840903]

07985710                           BAT[1], TRX[3], USD[0.01], USDT[1]

07985723                           BRZ[1], CUSDT[3], DOGE[2], SHIB[1], TRX[1], USD[0.01]

07985727                           SHIB[0], USD[0.00], USDT[0]

07985729                           BAT[1.00165433], BRZ[1], BTC[.05769902], CUSDT[8.00005526], DOGE[3], ETH[.3435625], ETHW[.11191829], GRT[1], SHIB[14], SOL[10.32319392], TRX[7], USD[0.00]                            Yes

07985730                           BTC[.0000932], ETH[.000927], ETHW[.262927], SHIB[2499200], USD[632.56]

07985740                           BRZ[2], DOGE[1], SOL[15.33904103], USD[0.00], USDT[1.07511635]                                                                                                                        Yes

07985745                           BF_POINT[100], CUSDT[1], USD[0.00]                                                                                                                                                    Yes

07985755                           NFT (512142476041957057/Australia Ticket Stub #1295)[1], USD[0.00]                                                                                                                    Yes

07985756                           MATIC[199.8], SHIB[6500000], TRX[21022.845979], USD[1.08]

07985762                           USD[17.58]

07985766                           USD[30.00]
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                                                                                                                                         Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07985771                           USD[0.00]

07985774                           CUSDT[3], DOGE[710.77979433], MATIC[29.30661293], SHIB[2998592.74491032], TRX[409.01592511], USD[0.00]                                                                               Yes

07985775                           BRZ[2], BTC[.0174744], CUSDT[1], ETH[.07781424], ETHW[.07684936], SHIB[6984741.06172929], USD[0.00]                                                                                  Yes

07985776                           CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                         Yes

07985777                           SHIB[633793.89022689], TRX[1], USD[0.01]

07985797                           SHIB[1398600], USD[2.29]

07985801                           BCH[.04541033], BTC[0.00083072], CUSDT[4.00002522], DOGE[5.70052497], ETH[0.00680960], ETHW[0.00672752], GRT[1.13107577], MATIC[22.75691983], SHIB[1], TRX[1.00008678], USD[0.00]

07985802                           CUSDT[2], DOGE[656.23164294], MATIC[51.52169772], USD[0.00]

07985803                           CUSDT[1], SHIB[1253289.88595062], USD[0.00]

07985813                           SHIB[2688497.44490929], TRX[1], USD[0.01]                                                                                                                                            Yes

07985815                           ETH[.01625], ETHW[.00025], USD[0.23]

07985818                           CUSDT[1], SHIB[1439810.50429268], USD[0.00]                                                                                                                                          Yes

07985824                           CUSDT[1], DOGE[1], SHIB[4295845.68851572], USD[21.51]                                                                                                                                Yes

07985835                           SHIB[3045894.77133434]                                                                                                                                                               Yes

07985837                           DOGE[1], GRT[3], NFT (295364541137336061/The Pixelated Frogs #1343)[1], NFT (325751790716646561/Jinkou #1183)[1], NFT (333354230354884015/The Stoned Frogs #6358)[1], NFT            Yes
                                   (367076087656129989/Jinkou #50)[1], NFT (476083256899659432/Cyborg Ape #934)[1], NFT (476367580745254521/The Stoned Frogs #6012)[1], NFT (477220382801803350/Mutant Cyborg Apes
                                   #413)[1], NFT (484943114049797849/Mushroom)[1], NFT (491299092830738150/Cyborg Ape #886)[1], NFT (492666447842001671/Flower #533)[1], NFT (495924839842852897/The Pixelated Frogs
                                   #7255)[1], NFT (518088035245297385/Mushroom)[1], NFT (560260194386817001/Spore)[1], NFT (562639242609480727/FTX - Off The Grid Miami #1430)[1], NFT (571564251023005486/OnlyHands
                                   92)[1], NFT (571792840841863177/Solluminati #265)[1], SOL[0], TRX[2], USD[0.00]
07985843                           AVAX[.38105163], BAT[1], BRZ[3], BTC[.00000039], DOGE[1], ETH[.36330088], ETHW[10.36487556], GRT[2], MATIC[222.55210369], NFT (303480479698644673/Freddy)[1], NFT                    Yes
                                   (307670424473770843/Tom #2)[1], NFT (320014502655666469/Bat Boat #2 Of 5 )[1], NFT (489435019304275895/Real Goats #1)[1], SHIB[19527072.94070871], SOL[.36811208], TRX[3],
                                   USD[2109.15], USDT[1.05053716]
07985848                           SHIB[197582.43111698], USD[0.00]                                                                                                                                                     Yes

07985850                           BCH[.00000045], BTC[.00000002], ETH[.00000019], ETHW[.00000019], PAXG[.00000001], SHIB[13.06382679], SOL[.00001252], USD[60.32], USDT[0.00025187]                                    Yes

07985851                           MATIC[49.95], SHIB[2000000], SOL[.4995], USD[4.58]

07985862                           USD[0.04]

07985866                           BTC[.00000024], CUSDT[9], ETH[.00000064], ETHW[.06922453], LINK[.85454153], LTC[.0000017], MATIC[6.19395101], SHIB[1], TRX[1], USD[0.00]                                             Yes

07985867                           BAT[1], BRZ[2], BTC[0], CUSDT[16], DOGE[3], ETH[0], TRX[10], USD[0.00], USDT[0]

07985874                           BF_POINT[100], CUSDT[4], SHIB[5829888.50952333], TRX[531.45165003], USD[0.00]                                                                                                        Yes

07985878                           BTC[.00179816], USD[0.23]                                                                                                                                                            Yes

07985889                           MATIC[49.95], SHIB[1400000], SOL[.33], USD[0.04]

07985894                           SHIB[1], TRX[1], USD[383.48]                                                                                                                                                         Yes

07985895                           CUSDT[1], SHIB[4103911.50704048], TRX[1], USD[0.00]

07985896                           USD[0.00]                                                                                                                                                                            Yes

07985902                           USD[0.95]

07985909                           BRZ[1], DOGE[1], SHIB[43670222.93571793], USD[0.00]                                                                                                                                  Yes

07985911                           USD[3.55], USDT[0]                                                                                                                                                                   Yes

07985914                           USD[0.00]                                                                                                                                                                            Yes

07985916                           CUSDT[1], SOL[.14995203], USD[0.00]

07985917                           USD[20.00]

07985919                           SHIB[5056890.01264222], USD[0.00]

07985922                           ALGO[.08415344], BAT[0.00032711], BF_POINT[600], BRZ[8.0211603], BTC[.00004843], DOGE[6], ETH[.32707804], GRT[4], MATIC[0], NFT (457021973909148404/Bahrain Ticket Stub #1996)[1],   Yes
                                   SHIB[8], TRX[10.125205], USD[0.00], USDT[6.86420483]
07985934                           USD[27.16]                                                                                                                                                                           Yes

07985944                           USD[21.73]                                                                                                                                                                           Yes

07985948                           BAT[0], DOGE[0], USD[0.00]

07985955                           BTC[0], ETH[0.06615374], ETHW[0.06533294], USD[0.30]                                                                                                                                 Yes

07985958                           BTC[0.00009969], KSHIB[9.99], USD[25.53]

07985961                           AAVE[0], BCH[0], BTC[0], CUSDT[1], ETH[0], LTC[0], MKR[0], SHIB[0], SOL[0.00000098], TRX[1.39758598], USD[0.00]                                                                      Yes

07985968                           DOGE[1], LINK[6.6010143], MATIC[67.85392577], TRX[1], USD[0.00]                                                                                                                      Yes

07985971                           BAT[3.83924998], BTC[.00008764], SHIB[408688.54691542], TRX[1], USD[0.00]

07985982                           DOGE[1], SHIB[15076655.21245107], USD[0.00]                                                                                                                                          Yes

07985985                           CUSDT[1], SHIB[2951199.69174518], USD[0.00]                                                                                                                                          Yes

07985986                           USD[5238.29]

07985987                           CUSDT[1], DOGE[1], SOL[.31988748], USD[0.00]                                                                                                                                         Yes

07985995                           AVAX[11.36427647], BCH[.55444244], BTC[.00124898], DAI[127.79642019], DOGE[2692.2479951], ETH[.16632184], ETHW[.15289275], GRT[907.84515], KSHIB[54379.23357477], LINK[23.19202],
                                   LTC[1.32606299], MATIC[175.4277489], SHIB[74328851.54808281], SOL[5.15999458], SUSHI[95.84897757], TRX[5332.06735779], USD[0.00], USDT[.272]
07985999                           USD[20.00]

07986008                           BTC[.0046993], SHIB[299700], USD[2.76]

07986019                           BTC[0], ETH[0], SOL[0]

07986028                           BTC[.00445422], CUSDT[5], DAI[54.05049117], DOGE[1], ETH[.01282721], ETHW[.01266293], SHIB[2094883.64954177], SOL[.24545008], USD[0.01]                                              Yes

07986030                           CUSDT[5], USD[0.01]                                                                                                                                                                  Yes
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                                                                                                                                         Customer Claims                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07986038                           BAT[1.66603861], NFT (470655463163540481/Brick World #8)[1], SHIB[22870.15800281], SOL[36.75293822], USD[0.00]                                                   Yes

07986051                           SHIB[6484243.28880819], TRX[1], USD[0.00]

07986057                           NFT (296209710790120302/Solninjas #9697)[1], NFT (491319188767582057/Indigene 010101)[1], SOL[.54], USD[1.10]

07986063                           BTC[.00056796], CUSDT[2], ETH[.00654362], ETHW[.00654362], SHIB[1], USD[5.27]

07986083                           CUSDT[1], SHIB[2116942.93225117], USD[162.98]                                                                                                                    Yes

07986084                           BF_POINT[200], CUSDT[2], KSHIB[.07737109], TRX[1], USD[0.00]                                                                                                     Yes

07986091                           CUSDT[1], SHIB[1507354.17461642], USD[0.00]                                                                                                                      Yes

07986102                           DOGE[0], ETHW[.00426454], KSHIB[.17427718], SHIB[1], SOL[0], USD[6.04], USDT[0]                                                                                  Yes

07986128                           BRZ[1], CUSDT[4], DOGE[1119.93987167], GRT[127.97086015], UNI[4.92966912], USD[0.38]

07986138                           CUSDT[1], SHIB[1411649.10947482], USD[54.33]                                                                                                                     Yes

07986140                           CUSDT[1], SHIB[3183025.84421528], USD[1.01]

07986141                           DOGE[1], USD[0.00]

07986142                           BTC[0], ETH[.02308364], USD[0.00]                                                                                                                                Yes

07986144                           BTC[.0002], ETH[0], SHIB[5521095.1615239], SOL[.0041734], SUSHI[.999], TRX[79], USD[0.02]

07986159                           BTC[.0016248], CUSDT[1], DOGE[1], ETH[.02317452], ETHW[.02317452], NFT (567472300993339535/Fancy Frenchies #3775)[1], SOL[.48008923], TRX[1], USD[0.00]

07986163                           NFT (509027972752878740/Serum Surfers X Crypto Bahamas #85)[1]

07986168                           MATIC[300], TRX[56000], USD[16.35]

07986170                           CUSDT[4], SHIB[2981129.56193063], USD[0.00]

07986173                           CUSDT[1], DOGE[117.15439033], SHIB[139782.12714916], USD[0.00]                                                                                                   Yes

07986179                           SHIB[7992000], USD[8.01]

07986181                           NFT (333757979822823080/David #177)[1], NFT (367167589805420998/David #337)[1], NFT (526791470469574644/David #413)[1], NFT (550525617097621403/David #392)[1]

07986184                           BF_POINT[100], CUSDT[5], DOGE[1], ETH[.08954158], ETHW[.08850114], SOL[.64280217], SUSHI[3.00093466], TRX[1], USD[0.32]                                          Yes

07986199                           DOGE[1], LINK[22.46707473], MATIC[270.56595654], TRX[1], USD[0.00]                                                                                               Yes

07986207                           CUSDT[971.61851633], DOGE[314.42118511], SHIB[4940717.21883567], TRX[1], USD[11.27]                                                                              Yes

07986209                           USD[21.51]                                                                                                                                                       Yes

07986210                           BTC[.0001], DOGE[16], SHIB[3317300], SOL[.02], TRX[90], USD[0.71], USDT[.9952032]

07986214                           BTC[.00000001], SHIB[1], TRX[1], USD[0.01]                                                                                                                       Yes

07986216                           CUSDT[1], SHIB[2533890.78930698], USD[0.00]

07986223                           CUSDT[2], SHIB[618749.09934262], TRX[1], USD[0.41]                                                                                                               Yes

07986230                           DOGE[1], SHIB[280446.15970295], USD[0.00]                                                                                                                        Yes

07986239                           MATIC[23.90380072]                                                                                                                                               Yes

07986240                           BTC[0]

07986241                           BF_POINT[100]

07986242                           USD[21.51]                                                                                                                                                       Yes

07986245                           USD[0.00]

07986248                           BTC[.00153704], TRX[1], USD[7.59]                                                                                                                                Yes

07986252                           SHIB[704324.5527539], TRX[1], USD[0.01]

07986255                           BTC[0.00569694], USD[0.00]

07986266                           DOGE[.00227102], SHIB[29.43202754], USD[0.01]                                                                                                                    Yes

07986269                           BAT[.00045481], BRZ[1], CUSDT[30], DOGE[1], ETH[.00000013], ETHW[.00000013], TRX[1], USD[0.01]                                                                   Yes

07986272                           CUSDT[1], NFT (406084673786963828/Faty Belly)[1], NFT (570554118829738855/Fat Regular Person )[1], SHIB[.00004644], SOL[0.24205480], USD[0.00]

07986276                           BRZ[1], CUSDT[1], DOGE[1], SHIB[6796231.27727106], USD[0.00]                                                                                                     Yes

07986277                           BTC[.0001], SHIB[99900], USD[0.02]

07986279                           DOGE[1], USD[0.01]

07986280                           USD[11.00]

07986283                           TRX[1], USD[0.01]                                                                                                                                                Yes

07986286                           USD[75.32]

07986287                           BRZ[1], CUSDT[3], DOGE[1], ETH[.01420397], ETHW[.014026], LINK[14.84342972], SUSHI[12.26422384], TRX[2], UNI[.00004621], USD[0.00]                               Yes

07986291                           BRZ[1], CUSDT[6], SHIB[7141056.75096677], TRX[1], USD[0.00]                                                                                                      Yes

07986299                           CUSDT[3], SHIB[1546386.65759856], USD[0.93]                                                                                                                      Yes

07986300                           USD[0.00]

07986301                           DOGE[0], LTC[.00003126], MATIC[17.85195697], NEAR[0], NFT (291966187669792439/Fancy Frenchies #6732)[1], SHIB[2], SOL[0], USD[0.00], USDT[119.06963210]          Yes

07986305                           BTC[.00601079], CUSDT[1], DOGE[2], TRX[1], USD[0.01]                                                                                                             Yes

07986306                           BTC[.00032557], CUSDT[9], SHIB[8706951.68661794], TRX[2], USD[3.07]                                                                                              Yes

07986315                           CUSDT[6], ETHW[.07816569], SHIB[2], TRX[1], USD[256.73]                                                                                                          Yes

07986317                           BRZ[1], CUSDT[2479.0905085], DOGE[1], SHIB[10049028.98877944], TRX[599.9280252], USD[0.13]                                                                       Yes

07986320                           SHIB[8488968.62001897]                                                                                                                                           Yes

07986321                           USD[0.01]
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                                                                                                                                            Customer Claims                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07986334                              USD[0.00]

07986338                              USD[543.26]                                                                                                                                                    Yes

07986342                              USD[1.71]                                                                                                                                                      Yes

07986356                              CUSDT[2], SHIB[3788778.63154544], USD[0.01]

07986357                              SHIB[500000], SUSHI[17.97874351], USD[0.82]

07986363                              CUSDT[4], TRX[1], USD[0.00]                                                                                                                                    Yes

07986364                              BRZ[1], BTC[.00000018], SHIB[1], TRX[1], USD[0.14], USDT[1.01256221]                                                                                           Yes

07986365                              BAT[1206.71368614], DOGE[8556.44565294], ETH[.25359257], ETHW[.25359257], GRT[0], LTC[0.42585412], MATIC[0], SHIB[21746.54929752], SOL[0], UNI[0], USD[0.03]

07986369                              BRZ[1], CUSDT[3], SHIB[5.83458397], USD[0.00]                                                                                                                  Yes

07986370                              BTC[.00757742], ETHW[2.84507634], SHIB[1], TRX[1], USD[0.11]                                                                                                   Yes

07986380                              USD[9.43]

07986384                              DOGE[4], USD[0.21]

07986387                              USD[0.00]

07986391                              USD[1.12]

07986392                              CUSDT[3], SHIB[1471673.29915374], SOL[.54033623], TRX[1132.97169458], USD[0.00]                                                                                Yes

07986397                              CUSDT[5], DOGE[1], SHIB[1099550.31562632], USD[0.00]                                                                                                           Yes

07986398                              BRZ[1], ETH[.125314], ETHW[.12417157], USD[0.01]                                                                                                               Yes

07986400                              CUSDT[1], DOGE[3], SHIB[45745655.16285452], TRX[1], USD[0.01]

07986406                              USD[10.87]                                                                                                                                                     Yes

07986408                              SHIB[6706008.58369098], TRX[1], USD[0.01]

07986412                              USD[114.09]                                                                                                                                                    Yes

07986415                              CUSDT[8], DOGE[799.64212501], KSHIB[1050.20121872], SHIB[1126207.78780245], USD[0.01]                                                                          Yes

07986419                              TRX[1], USD[5.00]

07986422                              TRX[0], USD[0.00], USDT[0.00032316]

07986423                              BRZ[1], BTC[.02389909], CUSDT[4], DOGE[2], ETH[.73490651], ETHW[.73459785], SHIB[722529.65243873], SOL[.27253543], TRX[2], USD[0.17]                           Yes

07986427                              TRX[1], USD[10.01]

07986431                              USD[0.00]

07986433                              BTC[.01166933], ETH[.007], USD[1795.05]

07986434                              BAT[30.25005347], BRZ[56.17743981], CUSDT[4], SHIB[1295840.35246857], SUSHI[.58475557], USD[59.16]

07986436                              USD[500.00]

07986441                              CUSDT[1], USD[0.00]                                                                                                                                            Yes

07986442                              DOGE[1], ETH[1.22931168], ETHW[1.16001877], SHIB[1], TRX[1], USD[0.00]                                                                                         Yes

07986443                              USD[0.00]

07986444                              USD[21.51]                                                                                                                                                     Yes

07986445                              USD[21.56]                                                                                                                                                     Yes

07986447                              SHIB[17847853.31282097]                                                                                                                                        Yes

07986456                              BAT[1.01655549], BRZ[1], BTC[.00439812], CUSDT[2], ETH[.06432657], ETHW[.06352857], LINK[8.81997981], SOL[1.35305422], USD[0.00]                               Yes

07986460                              USD[20.80]                                                                                                                                                     Yes

07986475                              CUSDT[3], DOGE[2], ETH[.00232047], ETHW[.24528457], USD[288.00]

07986477                              SHIB[3], USD[0.24]                                                                                                                                             Yes

07986481                              GRT[10], SHIB[1500000], USD[19.04]

07986482                              DOGE[14.985], SHIB[500000], USD[0.34]

07986484                              CUSDT[2], EUR[96.86], KSHIB[1327.8866962], SHIB[5951488.47018568], TRX[1], USD[117.19]                                                                         Yes

07986488                              ETH[.001], ETHW[.001], SOL[4.995], USD[3.02]

07986489                              BRZ[1], ETH[.00055915], ETHW[.00055915], USD[0.01]

07986491                              BTC[.00140134], CUSDT[5], DOGE[151.74494033], SHIB[3139963.15913673], SOL[1.07537108], USD[33.86]                                                              Yes

07986494                              BRZ[1], CUSDT[1], SOL[0.00002255], USD[0.00]                                                                                                                   Yes

07986506                              USD[0.00]                                                                                                                                                      Yes

07986507                              BAT[1], BTC[.00659301], CUSDT[2], DOGE[1], NFT (310692883464277963/FTX - Off The Grid Miami #1851)[1], SOL[1.98352358], TRX[1], USD[0.00]

07986516                              BTC[.00129732], CUSDT[8], DOGE[1], ETH[.00842196], ETHW[.00831252], SOL[.11758317], TRX[116.7788394], USD[0.00]                                                Yes

07986518                              AAVE[0.00000089], BRZ[0], BTC[0.00245541], DOGE[.00009826], SUSHI[0], UNI[.00026573], USD[0.00]

07986529                              USD[0.37], USDT[1.9301897]

07986534                              CUSDT[1], SHIB[301023.47983142], USD[0.00]

07986538                              SOL[.25473012], TRX[1], USD[0.20]                                                                                                                              Yes

07986545                              CUSDT[5], DOGE[3], TRX[1], USD[0.01]

07986546                              DOGE[1], TRX[1], USD[0.00], USDT[1.07388975]                                                                                                                   Yes

07986551       Contingent, Disputed   USD[0.00]

07986562                              CUSDT[1], DOGE[452.57555096], TRX[1], USD[0.00]                                                                                                                Yes
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                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07986567                              CUSDT[2], KSHIB[335.73558861], SHIB[361696.53690281], USD[0.00]                                                                                                                     Yes

07986576                              BRZ[1], BTC[.1876271], CUSDT[13], ETH[.60447695], ETHW[.60422303], LINK[9.74440289], LTC[4.25480019], SOL[2.17814036], TRX[2], UNI[14.1828451], USD[0.00]                           Yes

07986583       Contingent, Disputed   USD[0.01]                                                                                                                                                                           Yes

07986588                              ETHW[.04766837], SHIB[1756479.95422206], USD[0.00]

07986590                              BCH[0], LTC[.00000006], USD[0.00]                                                                                                                                                   Yes

07986600                              AVAX[548.44026745], MATIC[1778.32], USD[2.87]

07986602                              BTC[.0017653], CUSDT[546.07159868], DOGE[304.63862144], ETH[.06508658], ETHW[.06427946], KSHIB[261.10241838], LINK[4.23713527], LTC[1.11437145], SHIB[10180042.14974503], TRX[1],   Yes
                                      USD[0.00]
07986611                              KSHIB[6720.18713301], TRX[1], USD[0.00]

07986613                              SHIB[6293459.67327046], USD[0.12]

07986619                              SHIB[1], USD[0.00]                                                                                                                                                                  Yes

07986623                              USD[3.02]

07986632                              SHIB[5690464.15715073], USD[0.00]                                                                                                                                                   Yes

07986651                              USD[487.74]

07986658                              SHIB[185611.89264903], USD[0.00]

07986660                              CUSDT[1], KSHIB[271.72469506], USD[0.00]                                                                                                                                            Yes

07986674                              AVAX[.0000016], BTC[.00023176], SHIB[1], USD[0.00]                                                                                                                                  Yes

07986676                              BAT[0], BCH[0], ETH[.00000916], ETHW[.00000916], GRT[1], SHIB[0], TRX[1], USD[0.00]                                                                                                 Yes

07986679                              BTC[.0343919], ETH[.38388], ETHW[.38388], LINK[17.04933189], MATIC[119.88], SOL[3.931], SUSHI[19.87581492], TRX[2519.818], UNI[4.8951], USD[0.26]

07986694                              BRZ[1], USD[0.00]                                                                                                                                                                   Yes

07986696                              DOGE[1], SHIB[676496.44405357], USD[0.00]

07986703                              MKR[.209], USD[1.96]

07986706                              SOL[2.28771], USD[2.89]

07986723                              BTC[.00177385], DOGE[1], USD[0.00]                                                                                                                                                  Yes

07986729                              CUSDT[1], ETH[.07749701], ETHW[.07749701], USD[0.00]

07986732                              CUSDT[1], SHIB[186834.0090791], USD[0.00]                                                                                                                                           Yes

07986735                              MATIC[526.76598863], USD[0.00]

07986739                              DOGE[2132.01357838], SHIB[3041468.03965559], USD[0.00], USDT[0]                                                                                                                     Yes

07986761                              CUSDT[1], SHIB[300646.4849934], USD[0.00]                                                                                                                                           Yes

07986763                              CUSDT[5], SHIB[1], TRX[5], USD[2837.87], USDT[0.00000001]                                                                                                                           Yes

07986778                              DOGE[122.72839069], SHIB[8708911.20432311], USD[0.00]                                                                                                                               Yes

07986783                              GRT[.95641695], USD[0.01]                                                                                                                                                           Yes

07986788                              BTC[0], ETH[.80351591], USD[0.00]

07986794                              BTC[0], DOGE[0], ETH[0], ETHW[0.00523650], SHIB[0], TRX[1], USD[10.78], USDT[0.00000001]                                                                                            Yes

07986795                              SHIB[27734.1513955], USD[0.00]                                                                                                                                                      Yes

07986800                              SOL[.00000001], USD[0.43], USDT[0]

07986801                              AVAX[.03451038], BAT[.06796948], BRZ[5], CUSDT[3.26422352], DOGE[2], GRT[3.00109619], LINK[.00049561], SHIB[45705877.94304097], TRX[6.42450362], USD[0.00], USDT[2.068004]          Yes

07986805                              CUSDT[2], LTC[1.31073973], TRX[1], USD[0.00]

07986811                              USD[400.00]

07986812                              BTC[.01651468], CUSDT[13], DOGE[565.74938741], ETH[.01781914], ETHW[.01760026], LTC[.30983373], NFT (309327261576643872/#1869)[1], SHIB[9], TRX[6], USD[404.20]                     Yes

07986813                              ETH[.01247884], ETHW[.01232825], SHIB[490.95335357], USD[0.00]                                                                                                                      Yes

07986827                              CUSDT[1], DOGE[1], SOL[.00000001], USD[0.00]                                                                                                                                        Yes

07986831                              BF_POINT[100], CUSDT[423.58220111], LINK[5.78807366], TRX[2], USD[0.00]                                                                                                             Yes

07986834                              USD[99.00]

07986835                              SHIB[1], USD[0.00]                                                                                                                                                                  Yes

07986840                              DOGE[1000]

07986844                              SHIB[1500000], USD[2.19]

07986846                              BF_POINT[300], BTC[.00227175], ETH[.02960635], SHIB[2], USD[0.00]                                                                                                                   Yes

07986851                              CUSDT[1], DOGE[1], SHIB[7367674.48922312], USD[0.00]                                                                                                                                Yes

07986858                              CUSDT[1], KSHIB[172.28639028], SOL[1.07998536], USD[0.00]                                                                                                                           Yes

07986862                              USD[500.00]

07986872                              SHIB[155686.54489984], USD[0.00]                                                                                                                                                    Yes

07986873                              CUSDT[110.29453926], NFT (414898966155618843/Entrance Voucher #3437)[1], USD[0.00]                                                                                                  Yes

07986874                              USDT[4.32075698]

07986877                              ETH[.000871], ETHW[.000871], USD[7959.00]

07986881                              USD[0.00]

07986882                              CUSDT[2], DOGE[369.64143873], ETH[.05641821], ETHW[.05572004], SHIB[5813320.40668116], USD[0.00]                                                                                    Yes

07986883                              USD[27.19]                                                                                                                                                                          Yes

07986886                              SHIB[10704345.96446157], TRX[1], USD[0.00]
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                                                                                                                                         Customer Claims                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07986887                           USD[200.00]

07986889                           DOGE[1], NFT (347678967192362424/Warriors 75th Anniversary City Edition Diamond #404)[1], SHIB[6167715.90134933], USD[0.01]   Yes

07986902                           SHIB[6964758.32288619], USD[0.00], USDT[1]

07986903                           BTC[.0079], ETH[.092], ETHW[.092], SHIB[1598400], SUSHI[18], USD[0.27]

07986905                           CUSDT[6], DOGE[1], ETH[0], ETHW[0], MATIC[.00003003], TRX[1], USD[0.01]                                                       Yes

07986911                           USD[10.00]

07986915                           CUSDT[2], SHIB[1455884.32846072], USD[0.00]                                                                                   Yes

07986916                           AUD[5.00], KSHIB[1390], SHIB[11584334.85784919], USD[8.35]

07986917                           USD[20.00]

07986930                           ETH[.205], ETHW[.205], USD[12.74]

07986931                           CUSDT[1], SHIB[669254.45054209], USD[0.01]

07986933                           BAT[51.34449385], BRZ[1], MATIC[.59257085], SHIB[11296114.57108597], USD[0.01]                                                Yes

07986941                           SHIB[7500000], USD[2.73]

07986950                           USD[386.36]

07986951                           BTC[0.00007896], USD[1335.56]

07986952                           TRX[217.68201499], USD[0.00]                                                                                                  Yes

07986955                           USD[20.00]

07986957                           DOGE[.02038684], TRX[1], USD[398.06]                                                                                          Yes

07986959                           BRZ[1], CUSDT[2], SHIB[12552154.23947419], USD[0.00]                                                                          Yes

07986961                           USD[0.00], USDT[1.08318772]                                                                                                   Yes

07986962                           USD[6.52]                                                                                                                     Yes

07986964                           CUSDT[1], DOGE[67.13495055], USD[0.00]                                                                                        Yes

07986965                           SHIB[9590400], USD[5.60]

07986966                           CUSDT[2], USD[0.00]                                                                                                           Yes

07986967                           USD[50.00]

07986969                           NFT (340674115747584316/Oils 1 #2)[1], NFT (498150175323886919/Oils 1)[1], SOL[1.2043427], USD[200.00]

07986970                           TRX[1016.97616287], USD[0.00]                                                                                                 Yes

07986974                           BRZ[4], DOGE[2], SHIB[1], TRX[11], USD[0.01]                                                                                  Yes

07986975                           DOGE[1], ETHW[1.01520861], NFT (369386162311524409/Coachella x FTX Weekend 1 #13159)[1], SHIB[5], TRX[1], USD[0.01]           Yes

07986979                           USD[20.00]

07986982                           CUSDT[3], ETH[.01207979], ETHW[.01192931], LINK[1.08203766], MATIC[10.16041011], USD[53.45]                                   Yes

07986991                           DOGE[1], KSHIB[6951.73121047], USD[0.01]

07986993                           DOGE[70785], USD[0.07]

07986995                           CUSDT[2], USD[0.00]

07986996                           SHIB[470682203.32294325], USD[67.93]

07987002                           BF_POINT[200], CUSDT[1], SHIB[1], TRX[2], USD[0.01]                                                                           Yes

07987015                           CUSDT[1], SOL[.13627711], USD[0.00]                                                                                           Yes

07987021                           BRZ[1], USD[0.00]

07987022                           USD[0.00]

07987028                           CUSDT[2], DOGE[95.59791355], TRX[249.44969527], USD[0.13]                                                                     Yes

07987031                           SHIB[1300000], SOL[.73926], USD[2.23]

07987035                           DOGE[22.45673723]                                                                                                             Yes

07987036                           USD[0.37]

07987041                           NFT (376464561054883866/Coachella x FTX Weekend 1 #9283)[1]

07987043                           NFT (527190587313758018/Bahrain Ticket Stub #421)[1], SOL[.0938]

07987045                           USD[0.00]

07987046                           USD[434.61]                                                                                                                   Yes

07987051                           CUSDT[8], USD[0.01]                                                                                                           Yes

07987053                           USD[20.00]

07987060                           USD[27.15]                                                                                                                    Yes

07987067                           BTC[.00351354], CUSDT[2], ETH[.02349832], ETHW[.02321104], TRX[1], USD[0.19]                                                  Yes

07987068                           USD[0.99]

07987078                           DOGE[1], ETH[.01289809], ETHW[.01273393], USD[0.00]                                                                           Yes

07987080                           BRZ[107.56879959], SHIB[4], SOL[.00000617], USD[0.00], USDT[0.00000001]                                                       Yes

07987083                           BTC[.00081169], CUSDT[2], SHIB[424999.40181303], TRX[1], USD[0.01]                                                            Yes

07987087                           USD[20.00]

07987094                           CUSDT[1], DOGE[1], SHIB[1569057.78001935], TRX[1], USD[0.00]                                                                  Yes

07987095                           SHIB[1298700], USD[5.96]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07987099                           DOGE[.00205513], ETH[.00000031], SHIB[10.5839868], SOL[.00000253], USD[0.00]                                                                                                     Yes

07987107                           BTC[.00032396], DOGE[1], USD[0.00]                                                                                                                                               Yes

07987120                           BRZ[1], CUSDT[2], SHIB[18815934.67931318], TRX[1], USD[0.01]                                                                                                                     Yes

07987126                           CUSDT[1], SHIB[267665.95289079], USD[0.00]

07987127                           TRX[.001904], USD[0.06], USDT[.04271534]

07987129                           CUSDT[5], LINK[2.00001838], MATIC[9.39769378], SHIB[1810354.1876695], SOL[.38019799], SUSHI[4.73444437], TRX[1], UNI[1.41443681], USD[7.85]

07987133                           BAT[.00024933], CUSDT[8], MATIC[.00031303], TRX[.00373548], USD[0.01]                                                                                                            Yes

07987134                           BTC[0], ETH[0], USD[0.01]                                                                                                                                                        Yes

07987139                           BTC[.00243729], CUSDT[3], ETH[.02578036], ETHW[.02546373], SHIB[1580087.04475137], TRX[1], USD[0.00]                                                                             Yes

07987140                           USD[0.00]

07987141                           BTC[.00089219], CUSDT[2], SHIB[1463854.03560584], USD[0.00]                                                                                                                      Yes

07987154                           CUSDT[1], SHIB[168.90080428], TRX[1], USD[15.78]

07987155                           USD[20.00]

07987158                           SHIB[2629822.04401369], USD[0.00]

07987163                           SHIB[600000], USD[7.03]

07987168                           NFT (484108885948167924/Entrance Voucher #10107)[1], SHIB[7300000], USD[2.94]

07987175                           GRT[729.68765321], USD[0.00]

07987180                           CUSDT[2], USD[0.01]

07987182                           DOGE[0], ETH[0], SOL[0], USD[1.73]

07987183                           USD[0.00], USDT[0]                                                                                                                                                               Yes

07987186                           USD[1.67], USDT[0.00000001]

07987187                           ETH[.00000001], SHIB[270049.97378365], USD[0.00]                                                                                                                                 Yes

07987190                           CUSDT[1], SHIB[1387732.44518456], USD[0.00]

07987201                           BRZ[1], BTC[.00042827], CUSDT[1], ETH[.0055913], ETHW[.0055913], SHIB[14810640.83010759], SOL[.14372819], SUSHI[4.43624424], TRX[1], UNI[1.67313821], USD[0.00], YFI[.0016424]

07987202                           CUSDT[2], SHIB[3427204.34620023], USD[0.04]                                                                                                                                      Yes

07987206                           CUSDT[.75], SHIB[36171.32658618], SUSHI[1.16120722], USD[0.69]                                                                                                                   Yes

07987207                           BTC[.00382906], TRX[904.39511246], USD[9.51]                                                                                                                                     Yes

07987211                           USD[0.00]                                                                                                                                                                        Yes

07987218                           BTC[0.00000001], SHIB[34.25081876], SOL[0], USD[35.38]                                                                                                                           Yes

07987219                           GRT[102.32745698], USD[0.00], USDT[0.00000221]

07987235                           USD[53.56]

07987236                           NFT (311065418209111495/Hall of Fantasy League #310)[1], SHIB[1499050], USD[3.53]

07987239                           BRZ[1], CUSDT[14], DOGE[55.98893114], ETH[.34386507], ETHW[.34372063], GRT[11.04430416], MATIC[20.8164217], NFT (414277612987253130/Entrance Voucher #1820)[1],                  Yes
                                   SHIB[449857.15168133], SOL[.37592718], TRX[2], USD[486.01]
07987240                           SOL[1.76], USD[0.51]

07987251                           ETH[0], USD[0.16]

07987256                           CUSDT[0], ETHW[0], LTC[0], SUSHI[0], USD[0.00], USDT[0.00000002]

07987259                           DOGE[1], SHIB[860024.419388], USD[0.00]                                                                                                                                          Yes

07987266                           USD[0.73]

07987268                           BAT[732], USD[0.59]

07987274                           USD[1.69]

07987275                           DOGE[1], ETH[1.07573099], ETHW[1.07536515], SHIB[8326974.63463129], TRX[1], USD[18725.35]                                                                                        Yes

07987280                           SHIB[999900], USD[4.08]

07987281                           CUSDT[1], SHIB[1918252.25162493]                                                                                                                                                 Yes

07987290                           USD[20.00]

07987296                           TRX[14507], USD[0.02]

07987298                           BRZ[1], CUSDT[2], DOGE[1], SHIB[10708189.9836784], TRX[1], USD[0.00]

07987310                           USD[5.00]

07987311                           SHIB[1499999.99999999], USD[0.01], USDT[11]

07987319                           ETH[.11995741], ETHW[.11879942], TRX[1], USD[0.56]                                                                                                                               Yes

07987322                           SHIB[159307.54072899], USD[2.17]                                                                                                                                                 Yes

07987323                           CUSDT[1], NFT (447998669595767917/Nifty Nanas #686)[1], SOL[.372], USD[0.00]

07987326                           CUSDT[1], SHIB[1398405.8173682], USD[0.00]

07987332                           CUSDT[1], KSHIB[158.93180029], SHIB[925192.15474421], USD[32.60]                                                                                                                 Yes

07987336                           BRZ[1], BTC[.00178671], CUSDT[54.27800263], DOGE[5.0365713], ETH[0.04872560], ETHW[0.04812368], MATIC[9.17974743], SOL[.56495621], UNI[0], USD[0.00], USDT[0]                    Yes

07987337                           NFT (541064223488824314/FTX - Off The Grid Miami #7502)[1]

07987339                           DOGE[.00833765], SHIB[.0047264], USD[788.71]

07987340                           CUSDT[1], SOL[-0.00000001], USD[0.00]                                                                                                                                            Yes

07987344                           BAT[1.0165555], NFT (385609722696362000/ALPHA:RONIN #659)[1], NFT (408469226047620744/ALPHA:RONIN #1123)[1], SHIB[7277404.90096458], SOL[6.72318081], TRX[1], USD[0.23]          Yes
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                                                                                                                                            Customer Claims                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07987363                              CUSDT[2], SHIB[6965277.12855134], USD[0.00]

07987368                              BTC[0], LINK[0], SOL[0], USD[0.00]

07987369                              BTC[.00121161], CUSDT[1], DOGE[501.68261727], SHIB[755470.77188256], TRX[1], USD[0.00]                                                                                     Yes

07987374                              BRZ[1], BTC[.0015626], CUSDT[5], DOGE[3], ETH[.0115231], ETHW[.01138398], SHIB[21209576.10102123], SOL[.23380761], TRX[4], USD[0.01]                                       Yes

07987390                              USD[20.00]

07987391                              USD[20.00]

07987400                              CUSDT[1], SHIB[1352814.85281385], SOL[2.62139772], USD[0.00]

07987401                              BTC[.00001593], USD[2.30]

07987403                              CUSDT[1], SHIB[795582.23240536], USD[0.00]                                                                                                                                 Yes

07987407                              SOL[0], USDT[0]

07987409                              BAT[11.87286897], BF_POINT[200], CUSDT[2], GRT[9.983949], KSHIB[133.96679981], SHIB[694792.72704254], SOL[.08073707], TRX[100.02375564], USD[100.00]

07987416                              NFT (289926730448418833/Coachella x FTX Weekend 1 #28896)[1]                                                                                                               Yes

07987417                              CUSDT[4], DOGE[1], SHIB[12067189.55612939], USD[0.95]                                                                                                                      Yes

07987419                              MATIC[5.22844818], USD[0.00]                                                                                                                                               Yes

07987421                              BF_POINT[300]

07987424                              BTC[.00387468], MATIC[20]

07987427                              USD[0.00]

07987432                              CUSDT[2], USD[0.00]                                                                                                                                                        Yes

07987448                              SHIB[1400000], SOL[3.18465366], USD[0.00]

07987455                              BTC[0], DOGE[3], ETHW[.05674993], SHIB[9], TRX[2], USD[0.00]                                                                                                               Yes

07987458                              CUSDT[1], DOGE[1], SHIB[1455535.93915296], USD[0.77]                                                                                                                       Yes

07987463                              CUSDT[1], DOGE[356.98263817], SHIB[1769436.90512923], SOL[.09326127], TRX[1], USD[2.20]                                                                                    Yes

07987464                              AAVE[.02168086], AVAX[.44534593], BTC[.00562825], CUSDT[1], DOGE[221.88269598], ETH[.02803396], ETHW[.02768768], GRT[1.48661176], KSHIB[247.88757547], LTC[.05358172],     Yes
                                      MATIC[39.40049795], MKR[.00076651], PAXG[.00213465], SHIB[12111234.06976178], SOL[.65810424], SUSHI[1.26510981], TRX[3], USD[0.01], YFI[.00151962]
07987468                              AUD[35.68], CUSDT[7], DOGE[2808.51206398], KSHIB[1121.89274974], SHIB[9967634.93083052], USD[0.00]                                                                         Yes

07987470                              ETH[.00000001], ETHW[0], SHIB[0], USD[0.01], USDT[0]                                                                                                                       Yes

07987472                              DOGE[183954.394], USD[90.51]

07987473                              BTC[.00023216], CUSDT[4], DOGE[68.09958486], ETH[.00731374], ETHW[.00721798], SHIB[303665.8892444], UNI[.80229823], USD[0.23]                                              Yes

07987480                              BAT[236.83254203], BTC[0.00427425], ETH[0.05848749], ETHW[0.05776245], SHIB[454008.67465389], SOL[3.16265809], SUSHI[2.49997953], USD[0.00]                                Yes

07987487                              SHIB[1298700], USD[5.06]

07987488                              BAT[1], BTC[0.00004979], DOGE[2], ETH[0], NFT (416648716997765384/APEFUEL by Almond Breeze #489)[1], SHIB[2], SOL[.00012127], USD[0.00], USDT[1.02543197]                  Yes

07987495                              CUSDT[1], DOGE[1], NFT (474586397869309196/Anti Artist #559)[1], NFT (567041064941749875/3D CATPUNK #3907)[1], SHIB[2945222.61684582], SOL[.13160482], TRX[1], USD[0.00]

07987496                              SHIB[1], SOL[.00004691], TRX[1], USD[0.00]                                                                                                                                 Yes

07987502                              USD[0.01]                                                                                                                                                                  Yes

07987511                              CUSDT[1], DOGE[1], SHIB[750460.38935895], SOL[.27173831], USD[0.00]                                                                                                        Yes

07987515                              CUSDT[1], GRT[16.82192105], USD[0.00]                                                                                                                                      Yes

07987517                              CUSDT[2], GRT[88.08476428], MATIC[0], SOL[.54291176], USD[0.00]                                                                                                            Yes

07987520                              SOL[0.00880034]

07987521                              BTC[0], ETH[0], MATIC[264.64224917], SOL[0]

07987525                              ETHW[2.21856366], SOL[.00000001]                                                                                                                                           Yes

07987530                              CUSDT[544.78825465], SHIB[215945.61644564], SOL[.72802734], TRX[109.71948172], USD[0.00]                                                                                   Yes

07987533                              NFT (347331696756389841/Coachella x FTX Weekend 1 #25446)[1]

07987553                              BRZ[1], CUSDT[13], DOGE[208.14240942], SHIB[21435104.09903357], TRX[3262.05701996], USD[0.00]                                                                              Yes

07987560                              BTC[.0019], ETH[0.00098251], ETHW[0.00098251], USD[20.23], USDT[40996.0142723]

07987561                              ETH[.046953], ETHW[.046953], USD[1.15]

07987566                              CUSDT[3], USD[0.00]                                                                                                                                                        Yes

07987567                              CUSDT[1], ETHW[1.37221572], TRX[1], USD[0.00]                                                                                                                              Yes

07987572                              USD[20.00]

07987586                              CUSDT[1], USD[7.60]                                                                                                                                                        Yes

07987593                              BTC[.01661402], DOGE[2], USD[0.00]                                                                                                                                         Yes

07987594       Contingent, Disputed   USD[0.00], USDT[0]                                                                                                                                                         Yes

07987595                              CUSDT[3], SHIB[88.35634055], USD[0.01]                                                                                                                                     Yes

07987599                              CUSDT[2], USD[0.01]                                                                                                                                                        Yes

07987601                              USD[4.77]

07987630                              ETH[.999], ETHW[.999], USD[8.78]

07987640                              SHIB[46741083.08098489], USD[-20.00]                                                                                                                                       Yes

07987648                              CUSDT[2], KSHIB[143.40752043], SHIB[1042156.04160911], USD[0.00]                                                                                                           Yes

07987653                              BTC[.00032469], ETH[.00473817], ETHW[.00473817], USD[0.01]

07987654                              USD[0.00], USDT[.1104201]                                                                                                                                                  Yes
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                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07987656                              KSHIB[70], SHIB[1103335.64111004], USD[0.00]

07987665                              BTC[.00181371], LINK[5.13233574], SHIB[12366168.90152867], SOL[2.17995039], USD[0.00], USDT[0]                                                                                      Yes

07987666                              CUSDT[1], SHIB[106475.56442431], USD[0.00]

07987670                              ETH[.01062046], ETHW[.01062046], SOL[.21], TRX[402], USD[3.71], USDT[4.6845116]

07987680                              BRZ[1], CUSDT[13], ETH[.00000033], ETHW[.00000033], GRT[0], LINK[.00000946], NFT (482507492917543640/Bahrain Ticket Stub #2001)[1], NFT (520425566879905580/Barcelona Ticket Stub   Yes
                                      #182)[1], SHIB[751825.7065831], SOL[.00000001], SUSHI[3.54719121], TRX[2], UNI[.00009346], USD[0.50]
07987682                              ALGO[35.07027463], BRZ[2], CUSDT[8], DOGE[2], MATIC[.00034292], SHIB[2], TRX[1], USD[0.00]                                                                                          Yes

07987684                              BTC[.00000005], CUSDT[4], DOGE[2], ETH[.00000058], ETHW[.00000058], SHIB[2], SOL[.06275108], USD[0.00]                                                                              Yes

07987685                              SHIB[69106.8755291], USD[0.00]                                                                                                                                                      Yes

07987688                              USD[50.00]

07987695                              CUSDT[1], SHIB[7343312.73123869], USD[0.01]                                                                                                                                         Yes

07987697                              BRZ[1], SHIB[392839.01283193], USD[0.00]                                                                                                                                            Yes

07987705                              SHIB[31768.99675015], USD[7.21]                                                                                                                                                     Yes

07987708                              ETH[.00000001], ETHW[0], SOL[0], USD[0.00]

07987736                              CUSDT[3], SHIB[3651303.1186532], TRX[1], USD[0.00]

07987740                              USD[21.51]                                                                                                                                                                          Yes

07987747                              CUSDT[1], LTC[.00000023], SHIB[1], USD[0.01]                                                                                                                                        Yes

07987752                              SHIB[1479159.41978684]                                                                                                                                                              Yes

07987756                              BRZ[7.42341133], CUSDT[2], DOGE[3], ETH[.00000112], ETHW[.00000112], GRT[1], LINK[19.37765249], MATIC[181.15662773], SOL[6.03847396], TRX[8], USD[0.00]                             Yes

07987757                              BTC[0], CUSDT[2], ETHW[.00263181], KSHIB[0], MATIC[0], SHIB[0], SOL[0], USD[0.00]                                                                                                   Yes

07987770                              USD[0.00], USDT[0]

07987772                              USD[40.01]

07987773                              BRZ[1], DOGE[1], ETH[.03714596], ETHW[.03668089], SHIB[3889127.85895828], USD[0.00]                                                                                                 Yes

07987775                              USD[21.51]                                                                                                                                                                          Yes

07987778                              BTC[.00008737], NFT (485452061074192289/The Hill by FTX #5393)[1], NFT (503571150427097329/Aliens Attack #11)[1], NFT (552977795205060088/Aliens Attack #07)[1]

07987781                              DOGE[1], SHIB[6801006.52883569], USD[0.00]

07987788                              CUSDT[2], USD[0.00]                                                                                                                                                                 Yes

07987790       Contingent, Disputed   AAVE[0], ALGO[0], AVAX[0], BCH[0], BTC[0], DOGE[0], MATIC[0], SHIB[1], SOL[0], TRX[0], UNI[0], USD[0.00]                                                                            Yes

07987800                              BRZ[2], CUSDT[1], ETH[.00000054], ETHW[.00000054], TRX[1], USD[0.01]                                                                                                                Yes

07987803       Contingent, Disputed   USD[0.00]

07987805                              NFT (294934235361384654/GSW Championship Commemorative Ring)[1], NFT (297088951765930541/FTX - Off The Grid Miami #890)[1], NFT (315146780901179136/Warriors Hoop #387
                                      (Redeemed))[1], NFT (353330430113475966/GSW Western Conference Finals Commemorative Banner #838)[1], NFT (394692679804124547/GSW Western Conference Semifinals Commemorative
                                      Ticket #441)[1], NFT (409606281736240459/GSW Round 1 Commemorative Ticket #137)[1], NFT (468462868990552158/GSW Round 1 Commemorative Ticket #304)[1], NFT
                                      (480646854395880251/GSW Championship Commemorative Ring)[1], NFT (487754081844298117/GSW Western Conference Finals Commemorative Banner #837)[1], NFT
                                      (531559659050770266/GSW Western Conference Semifinals Commemorative Ticket #440)[1], NFT (533120091156266994/GSW Western Conference Finals Commemorative Banner #839)[1], NFT
                                      (549270012854983654/GSW Western Conference Finals Commemorative Banner #840)[1], NFT (551604628017377426/Warriors Logo Pin #37 (Redeemed))[1], USD[0.00]
07987806                              BRZ[1], CUSDT[3], DOGE[2], KSHIB[12569.02489011], USD[0.00]

07987824                              ETH[0], SOL[0], TRX[.000001], USD[0.00]

07987829                              USD[50.00]

07987860                              USD[0.01]

07987865                              BTC[.0012148], CUSDT[7], DOGE[2], ETH[.01425947], ETHW[.01408163], SHIB[2935853.21028153], TRX[3], USD[0.00]                                                                        Yes

07987866                              USD[0.00], USDT[0.00047435]

07987868                              CUSDT[1], ETH[.01288769], ETHW[.01272353], USD[0.00]                                                                                                                                Yes

07987874                              SOL[.00463247], USD[0.00]

07987876                              CUSDT[1], MATIC[5.69123017], SHIB[211422.96332008], SOL[1.07507392], SUSHI[2.15504319], TRX[106.53715315], USD[2.01]                                                                Yes

07987879                              USD[638.14]

07987883                              BTC[.0091973], DAI[.07699365], DOGE[1008.379], ETH[.214823], ETHW[.214823], LTC[.48951], SOL[7.714], SUSHI[9.5], USD[0.00], USDT[185.83560929]

07987885                              USD[20.00]

07987905                              ETH[0.00000010], ETHW[0.00000010], USD[0.95], USDT[0.00001061]                                                                                                                      Yes

07987907                              USD[0.00]

07987913                              BTC[.00000375], ETH[0], USD[286.78]

07987916                              MATIC[62.06793283], SOL[15.53769319], USD[0.50], USDT[10.59303121]                                                                                                                  Yes

07987924                              AAVE[.88060775], BTC[.00319712], USD[5.02], USDT[0.00000107]

07987925                              USD[0.00]                                                                                                                                                                           Yes

07987953                              USD[20.00]

07987954                              CUSDT[1], DOGE[1], USD[0.00], USDT[0]

07987957                              BTC[0.00038595], ETH[.03227812], ETHW[.03227812], EUR[1.00], MKR[.003994], NFT (298785290787845912/Magic Eden Plus)[1], SOL[.11401708], USD[7.14], USDT[3.98041397]

07987958                              SHIB[150071.34692151], USD[0.00]                                                                                                                                                    Yes

07987962                              KSHIB[20], SHIB[1299050], USD[7.57]

07987968                              USD[20.00]

07987972                              CAD[7.31], USD[0.00]                                                                                                                                                                Yes
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                                                                                                                                         Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07987974                           SHIB[100000], USD[12.78]

07987984                           AAVE[0], AVAX[0], BTC[0], DOGE[1], ETH[0], MATIC[0], SHIB[2], SOL[0], TRX[0], USD[0.00], USDT[0]                                                                                   Yes

07987986                           BTC[.00106152], SHIB[80171.98104478], USD[0.38], USDT[0]

07987989                           SOL[.6], USD[396.06]

07987991                           CUSDT[1], ETH[0.00912577], ETHW[0.00912577]

07987998                           SHIB[59140800], USD[1004.59]

07988000                           ALGO[3418.403068], LINK[34.44070608]

07988001                           USD[134.59]                                                                                                                                                                        Yes

07988007                           USD[0.00]

07988016                           SHIB[901730.47864768]                                                                                                                                                              Yes

07988027                           SHIB[5568607.05370926], USD[54.24]                                                                                                                                                 Yes

07988039                           USD[20.00]

07988045                           CUSDT[3], ETH[.00507471], ETHW[.00500631], KSHIB[242.14720645], SHIB[262349.53216002], USD[0.01]                                                                                   Yes

07988049                           SHIB[6971556.05131065], USD[0.00]

07988058                           SHIB[5795500], USD[1.66]

07988067                           DOGE[1], SHIB[699496.36261891], USD[20.01]

07988081                           USD[21.51]                                                                                                                                                                         Yes

07988103                           USD[0.50]

07988108                           BAT[1], BRZ[1], BTC[0], SHIB[259247.32412772], SUSHI[1], TRX[1], USD[0.00], USDT[1]

07988111                           SHIB[2394.88909017], USD[0.00]                                                                                                                                                     Yes

07988112                           USD[0.00]

07988124                           BRZ[1], SHIB[1520028.75169836], USD[162.98]                                                                                                                                        Yes

07988130                           CUSDT[1], SHIB[1504023.57319953], USD[0.00]                                                                                                                                        Yes

07988145                           UNI[.939334]

07988147                           SHIB[1482176.88575651]                                                                                                                                                             Yes

07988151                           DOGE[1], ETH[7.50538034], ETHW[7.50269011], SOL[165.77569561]                                                                                                                      Yes

07988158                           SOL[0]

07988164                           SHIB[740602.06598981], USD[0.00]

07988185                           GRT[568.20919883], TRX[1], USD[0.00]                                                                                                                                               Yes

07988186                           AVAX[2.6], BTC[.0214893], SOL[44.72163], USD[36.73]

07988188                           CUSDT[6], DOGE[2], MATIC[.00136395], TRX[2.000002], USD[0.01], USDT[0]                                                                                                             Yes

07988189                           BTC[.0004], USD[0.47]

07988193                           CUSDT[2], DOGE[2], LINK[4.9947369], LTC[1.99634976], MATIC[58.67521503], SHIB[885739.59255978], SUSHI[7.93187565], TRX[1], USD[0.01]

07988213                           USD[0.80]

07988219                           CUSDT[2], USD[0.00]                                                                                                                                                                Yes

07988226                           BTC[.00044541], SHIB[1], USD[0.00]                                                                                                                                                 Yes

07988229                           DOGE[47.75549262], TRX[38.36655199], USD[0.72]                                                                                                                                     Yes

07988230                           BRZ[1], CUSDT[1], DOGE[175.88972818], SHIB[1503399.23796749], USD[0.01]                                                                                                            Yes

07988238                           CUSDT[1], SHIB[1012145.74898785], USD[0.01]

07988245                           BRZ[1], CUSDT[1], DOGE[1], TRX[1], USD[0.00]

07988247                           SOL[.18981], USD[2.67]

07988250                           UNI[11.40209056], USD[0.00]

07988253                           BAT[.66845], BTC[.0000981], DOGE[1.21615], ETH[.0009715], ETHW[.0009715], GRT[.9715], LINK[.06485], MATIC[9.9145], SHIB[99430], SOL[.0079685], SUSHI[.4905], TRX[.05], USD[0.89]

07988255                           CUSDT[1], SHIB[747253.52770253], USD[0.00]                                                                                                                                         Yes

07988269                           SHIB[33332647.33138941], USD[0.00]

07988290                           DAI[69.40254205]

07988293                           CUSDT[2], SHIB[1280821.71348464], USD[0.00], YFI[.00066845]                                                                                                                        Yes

07988302                           USD[21.51]                                                                                                                                                                         Yes

07988306                           CUSDT[1], USD[0.00]                                                                                                                                                                Yes

07988314                           USD[10.00]

07988324                           CUSDT[2], SHIB[8520412.99611631], USD[0.00]

07988326                           BTC[.00134797], CUSDT[2], GRT[1.00304575], SHIB[2], TRX[2], USD[0.00]                                                                                                              Yes

07988337                           DOGE[1], SHIB[2892700.39510548], USD[0.01]                                                                                                                                         Yes

07988342                           BAT[7.24537575], CUSDT[4], ETH[.00120783], ETHW[.00119414], TRX[1], USD[0.49]                                                                                                      Yes

07988351                           DOGE[93.16539101], PAXG[.00000008], USD[0.00]                                                                                                                                      Yes

07988352                           USD[0.00]

07988356                           CUSDT[2], SHIB[758705.19988932], USD[465.70]                                                                                                                                       Yes

07988357                           BRZ[2], BTC[0.01885574], CUSDT[5], DOGE[890.72907588], ETH[.03665279], ETHW[.03620135], SHIB[1624244.30925854], TRX[1], USD[0.04]                                                  Yes
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                                                                                                                                         Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07988370                           CUSDT[2], SHIB[6500012.23119517], USD[0.02]                                                                                                                                              Yes

07988379                           DOGE[46.40667986], TRX[.00000001], USD[0.00]

07988383                           BAT[1], BRZ[2], CUSDT[4], DOGE[5], GRT[1], NFT (400061583489448368/Entrance Voucher #3722)[1], SHIB[1], TRX[3], USD[101.14]                                                              Yes

07988387                           BRZ[1], CUSDT[1], DOGE[321.39708529], SHIB[1523211.31260261], USD[0.00]                                                                                                                  Yes

07988392                           CUSDT[2], KSHIB[2592.24147966], USD[0.03]                                                                                                                                                Yes

07988404                           BRZ[1], BTC[.00053836], CUSDT[7], KSHIB[363.14939469], SOL[.15817697], USD[0.87]

07988417                           BTC[.01229047], CUSDT[3], DOGE[1], SOL[3.34102279], TRX[2], USD[55.08]                                                                                                                   Yes

07988423                           CUSDT[1], SHIB[8275347.09877406], TRX[4601.16105367], USD[0.69]                                                                                                                          Yes

07988437                           SHIB[91675.83425009], USD[0.00]

07988455                           CUSDT[1], TRX[1], USD[0.01]                                                                                                                                                              Yes

07988457                           NFT (302799948714464262/ApexDucks #386)[1], SOL[4.41713859], USD[0.00]

07988461                           CUSDT[.00073103], SHIB[4], USD[90.39], USDT[0.00001008]                                                                                                                                  Yes

07988472                           BAT[27.92199308], BTC[.00073024], CUSDT[11], DOGE[204.64663824], ETH[.01729095], ETHW[.01707207], GRT[17.74394289], MATIC[7.12153605], SHIB[2958002.18521279], USD[0.00]                 Yes

07988477                           USD[0.00]

07988489                           USD[0.90]

07988492                           CUSDT[1], SHIB[5060728.74493927], USD[0.00]

07988498                           BTC[.00000001], CUSDT[6], DOGE[148.40128759], ETH[0], SHIB[1200762.7535322], TRX[1], USD[0.01]                                                                                           Yes

07988506                           BAT[22.14400501], CUSDT[470.70103797], GRT[18.47485418], SHIB[703451.03020685], TRX[219.42479878], USD[0.00]                                                                             Yes

07988512                           CUSDT[3], SHIB[.94208547], SOL[.63494119], USD[0.83]

07988523                           SHIB[3179776.03970181]                                                                                                                                                                   Yes

07988526                           NFT (545727047881229097/Entrance Voucher #2156)[1], USD[0.00]

07988530                           NFT (311939492352327214/MagicEden Vaults)[1], NFT (315624948274811648/MagicEden Vaults)[1], NFT (402531565365756450/Golden bone pass)[1], NFT (405477899618369924/Coogi #960)[1],        Yes
                                   NFT (420676521792955972/Cyber Frogs Ramen)[1], NFT (426509722999088380/MagicEden Vaults)[1], NFT (485829642013578591/MagicEden Vaults)[1], NFT (487160974806016645/MagicEden
                                   Vaults)[1], NFT (515874758185586052/Frog #5214)[1], NFT (547874737279314635/Tommy Gun)[1], NFT (556430625405981031/Frog #7403)[1], SHIB[6], USD[9.15], USDT[0]

07988533                           BRZ[1], CUSDT[4], SHIB[3683638.28532724], SOL[.0922763], TRX[2], USD[21.55]                                                                                                              Yes

07988534                           SHIB[1522070.0152207], TRX[1], USD[0.00]

07988539                           ALGO[42.92311431], AVAX[.82558362], BRZ[61.53446475], DOGE[613.30843983], ETHW[7.1397558], GRT[168.72613344], KSHIB[1394.03049274], MATIC[12.34401622], SHIB[1361161.23687771],
                                   TRX[990.4347732], USD[0.00]
07988542                           ETH[.00000509], ETHW[.00000508], SHIB[61], SOL[.0004562], TRX[6], USD[0.00]                                                                                                              Yes

07988544                           CUSDT[4], USD[0.00]                                                                                                                                                                      Yes

07988547                           BRZ[1], CUSDT[6], DOGE[1], ETH[0.00000020], ETHW[0.00000020], TRX[1], USD[0.00]                                                                                                          Yes

07988556                           CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                              Yes

07988561                           NFT (289201316613812381/Wild Wolves Bone Yard #182)[1], NFT (480284119633574602/FASC - 2483)[1], USD[0.00]

07988577                           SOL[.00044763], USD[250.00]

07988578                           CUSDT[1], SHIB[320072.70133452], USD[0.00]                                                                                                                                               Yes

07988582                           BTC[.00381391], ETH[.04068984], ETHW[.04068984], USD[25.00]

07988583                           CUSDT[1], DOGE[1], SHIB[1447807.33174494], USD[0.00]

07988585                           BTC[.00000003], CUSDT[148.74018443], GRT[7.13220765], SHIB[4923535.23530098], TRX[.61315238], USD[0.00]                                                                                  Yes

07988587                           CUSDT[1], SOL[5.59221314], USD[83.07]                                                                                                                                                    Yes

07988596                           USD[0.00]

07988597                           DOGE[1], USD[0.00], USDT[0]

07988599                           SHIB[.66332795], USD[0.00]

07988600                           BTC[0], USD[0.00], USDT[149.81151382]

07988601                           BRZ[7.58082364], CUSDT[1], DOGE[3.82360259], GRT[1.30682196], KSHIB[18.1310039], SHIB[37720.13335012], USD[0.00]                                                                         Yes

07988606                           USD[0.00]

07988609                           ETH[0], SOL[.01748], USD[0.09]

07988610                           DOGE[1], SHIB[1], USD[23.35]                                                                                                                                                             Yes

07988611                           SHIB[399700], USD[1.42]

07988618                           NFT (415024547057147049/Megalodon Rogue Shark Tooth)[1]

07988626                           CUSDT[2], DOGE[34.44989579], SHIB[1001790.49004254], USD[0.00]

07988632                           ETH[.35964], ETHW[1.066932], LTC[1.1988], NFT (314165092239827831/Coastal Series #2)[1], NFT (365321377403646606/Coastal Series #3)[1], NFT (383933324800639004/Coastal Series #5)[1],
                                   NFT (395313024005797348/Coastal Series #4)[1], NFT (548014954150961583/Coastal Series)[1], NFT (567289059572879735/Coastal Series #6)[1], SOL[4.50549], USD[102.06]
07988637                           BTC[.00000001], USD[0.00]                                                                                                                                                                Yes

07988646                           BTC[.00000016], ETHW[.28828727], TRX[2], USD[0.00]                                                                                                                                       Yes

07988654                           USD[20.00]

07988673                           SOL[1.98791], USD[4007.54]

07988684                           USD[18.33]

07988693                           USD[1.47]

07988708                           BAT[1], BRZ[5], CUSDT[14], DOGE[9.04415453], GRT[3.0257722], SHIB[11], TRX[4.1005895], USD[0.87], USDT[6.20250323]                                                                       Yes

07988714                           NFT (408843794498059297/Entrance Voucher #2420)[1]                                                                                                                                       Yes
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                                                                                                                                         Customer Claims                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07988720                           CUSDT[1], SHIB[390601.34704297], USD[0.00]                                                                                                       Yes

07988721                           USD[30.00]

07988729                           BRZ[1], BTC[.02000463], DOGE[2], ETH[.05246191], ETHW[.05246191], TRX[1], USD[0.03]

07988733                           CUSDT[1], SHIB[18858743.08361851], TRX[1], USD[2.17]                                                                                             Yes

07988742                           BAT[1.00081315], CUSDT[5], DOGE[.60461836], ETH[.02460107], ETHW[.02430011], LINK[2.51238517], USD[104.20]                                       Yes

07988749                           SOL[.124], USD[18.06]

07988751                           CUSDT[2], DOGE[3.64937195], SHIB[1930487.46552778], USD[0.19]                                                                                    Yes

07988753                           TRX[2], USD[0.01]                                                                                                                                Yes

07988757                           USD[20.00]

07988759                           BTC[0], USD[0.01]                                                                                                                                Yes

07988762                           BTC[.00005911]

07988763                           CUSDT[1], SOL[1.9864597], USD[0.00]

07988769                           BTC[.00016377], USD[0.00]

07988773                           DOGE[35.78382998], SHIB[160575.97080434], USD[0.00]                                                                                              Yes

07988779                           BTC[.0080919], USD[5.32]

07988782                           BRZ[1], SHIB[4832409.71689028], USD[0.00]                                                                                                        Yes

07988783                           BTC[.00882592]

07988787                           DOGE[3], SOL[2.63951637], TRX[1], USD[0.00]

07988788                           CUSDT[6], DOGE[1], SHIB[1], USD[0.00]                                                                                                            Yes

07988790                           USD[20.00]

07988796                           MATIC[32.10348989], TRX[1], USD[0.00]                                                                                                            Yes

07988805                           BRZ[1], CUSDT[1], DOGE[54.04774541], KSHIB[215.06449354], USD[0.01]                                                                              Yes

07988809                           PAXG[.00396304], SOL[1.04], USD[0.18], USDT[0.00001573]

07988810                           CUSDT[1], SHIB[215146.29948364], USD[0.00]

07988813                           NFT (349150025201990962/Tungsten Cube 65)[1]

07988815                           USD[10.00]

07988816                           BTC[.00021553]                                                                                                                                   Yes

07988819                           USD[19.95]                                                                                                                                       Yes

07988829                           USD[10.86]                                                                                                                                       Yes

07988830                           SOL[.32967], USD[0.38]

07988834                           CUSDT[1], TRX[1], USD[0.01], USDT[0]                                                                                                             Yes

07988837                           CUSDT[2], ETH[.0114571], ETHW[.0114571], SHIB[1014404.54453235], USD[0.02]

07988841                           SHIB[88400], USD[0.01]

07988843                           SOL[2.41758], USD[2.45]

07988852                           CUSDT[2], USD[0.01]                                                                                                                              Yes

07988858                           SOL[.71498], USD[4.24]

07988863                           SHIB[145772.59475218], USD[0.00]

07988864                           ETH[.00148241], ETHW[.00146873], NFT (346509302265365065/Infinity #13)[1], TRX[1], USD[0.00]                                                     Yes

07988870                           NFT (288251397615751947/Bord)[1], USD[0.01]                                                                                                      Yes

07988873                           BF_POINT[200]

07988874                           USD[0.00]

07988875                           SHIB[64535400], USD[1.95]

07988876                           USD[0.00], USDT[0.00000090]

07988877                           BF_POINT[300], BRZ[1], CUSDT[7], USD[0.98]

07988883                           BRZ[2], DOGE[3052.39921362], ETH[.15925431], ETHW[.15870186], GRT[1.00246868], KSHIB[5998.54295391], SHIB[8614117.49276771], TRX[1], USD[0.94]   Yes

07988884                           BTC[.00130663], USD[0.00]

07988896                           CUSDT[3], TRX[1], USD[0.01]

07988920                           DOGE[2], ETH[.02209381], ETHW[.02209381], SOL[.91664099], USD[10.00]

07988924                           USD[0.00]

07988933                           BTC[.001], ETH[.01098955], ETHW[.01098955], USD[0.74]

07988943                           DOGE[1], SOL[2.09971574], USD[0.00]

07988947                           BTC[.00007874], USD[48.84]                                                                                                                       Yes

07988953                           SOL[.00000045], USD[0.00]

07988957                           USD[20.00]

07988964                           USD[300.00]

07988966                           BTC[.00522214], CUSDT[1], DOGE[1], ETH[.07397821], ETHW[.07306069], TRX[1], USD[0.00]                                                            Yes

07988971                           ALGO[.01661277], TRX[1], USD[0.00]                                                                                                               Yes

07988975                           BTC[.000999], ETH[.013], ETHW[.013], LTC[.12], USD[1.36]
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                                                                                                                                            Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07988979                              USD[0.00]

07988982                              USD[1.01]

07988983                              DOGE[1], SHIB[7403020.43233639], USD[0.00]

07988984                              CUSDT[2], USD[523.72]                                                                                                                                                              Yes

07988989                              KSHIB[148.46352867], USD[0.00]

07988990                              ETH[.12913359], ETHW[.12913359], NFT (330805106856504506/Fancy Frenchies #8213)[1], NFT (391940099378787649/Pesky Crystal)[1], NFT (425656352054910918/PeskyPenguins.io)[1], NFT
                                      (538970970507996278/Pesky Penguins #526)[1], SOL[7.22318199], USD[0.00]
07988992                              USD[10.00]

07988994                              CUSDT[2], ETHW[.4267309], TRX[1], USD[0.00]                                                                                                                                        Yes

07988997                              USD[543.25]                                                                                                                                                                        Yes

07988999                              AVAX[.4], BTC[0.00007958], SOL[.00991], USD[1.90], USDT[0.00939027]

07989007                              BAT[1], DOGE[1], GRT[2], SOL[21.04159549], USD[0.00]

07989010                              SOL[.02519627], USD[0.00]

07989012                              USD[21.51]                                                                                                                                                                         Yes

07989026                              SOL[.21], USD[0.35]

07989027                              USD[0.29]

07989035                              USD[1.52]

07989040                              AVAX[.0477968], BCH[.00042524], CUSDT[5], LTC[.00596588], SHIB[374089.79219626], SOL[.00699129], SUSHI[.29140916], TRX[1], USD[-0.12]                                              Yes

07989055                              USD[20.00]

07989057                              BTC[0], DOGE[0], ETH[0], ETHW[0], EUR[0.00], SHIB[7], USD[0.01], USDT[0]                                                                                                           Yes

07989058                              BTC[0.00002628]

07989065                              CUSDT[1], DOGE[.00067227], SHIB[636153.2127377], TRX[1], USD[0.35]                                                                                                                 Yes

07989069                              SHIB[6389754.68695725], USD[0.00]                                                                                                                                                  Yes

07989070                              USD[10.00]

07989074                              BAT[18.25887732], BRZ[1], CUSDT[4], DOGE[213.63862812], MATIC[.15211298], SHIB[1354865.16110582], SOL[.75550427], TRX[4], UNI[2.57709023], USD[0.00]                               Yes

07989075                              BTC[.00008734], SHIB[843.4462978], USD[0.00]                                                                                                                                       Yes

07989084       Contingent, Disputed   AAVE[0], BTC[0], DOGE[0], USD[0.00]

07989095                              USD[0.00]

07989106                              USD[21.51]                                                                                                                                                                         Yes

07989112                              AVAX[1.07134609], BRZ[109.87124842], CUSDT[3], DOGE[110.78149374], KSHIB[2597.16853819], SHIB[2206133.54134479], TRX[1], USD[164.00]                                               Yes

07989113                              BTC[.0061], USD[1.64]

07989120                              SOL[0]

07989121                              SHIB[448967.37503741], USD[0.00]

07989129                              BCH[.01971116], ETH[.00289396], ETHW[.00285289], SHIB[177549.90882632], USD[0.00], USDT[0]                                                                                         Yes

07989132                              BTC[.00040059], CUSDT[2], DOGE[2], SHIB[1987850.67608597], USD[0.00]

07989141                              SOL[3.23300812]                                                                                                                                                                    Yes

07989143                              CUSDT[3], DOGE[2.9361458], LTC[0.48586549], SHIB[1871958.06813927], USD[0.01]

07989144                              USD[0.00]

07989145                              BRZ[1], SHIB[4089087.4175503], TRX[1], USD[0.00]

07989154                              SHIB[9130752.37399561], TRX[1], USD[0.00]

07989155                              LTC[.06408228]

07989157                              USD[0.00]

07989165                              BTC[.5045949], ETH[1.992006], ETHW[1.992006], USD[698.29]

07989167                              USD[499.98]

07989170                              MATIC[100], USDT[151.17481786]

07989176                              SHIB[1], SOL[5.84748992], TRX[1], USD[0.00]                                                                                                                                        Yes

07989193                              SHIB[844624.36353342], TRX[1], USD[0.01]                                                                                                                                           Yes

07989200                              CUSDT[1], TRX[259.29326159], USD[0.00]

07989207                              CUSDT[3], LINK[0], MATIC[0], USD[0.00]

07989211                              USD[100.00]

07989212                              USD[20.00]

07989213                              BTC[0], DOGE[6], ETH[.003], ETHW[.003], SOL[0], USD[0.70]

07989217                              BTC[.0030851], CUSDT[3], ETH[.03741873], ETHW[.03741873], SOL[.40434569], USD[0.00]

07989224                              BRZ[2], CUSDT[7], DOGE[1], TRX[1], USD[0.00], USDT[2]

07989226                              BAT[2.40025426], CUSDT[248.75648176], GRT[4.88626626], KSHIB[332.64206487], SHIB[329473.32654706], SUSHI[2.28908752], TRX[289.97507653], USD[0.40]                                 Yes

07989229                              CUSDT[2], DOGE[393.24415379], SHIB[6652023.36839958], TRX[1], USD[0.26]                                                                                                            Yes

07989232                              BTC[.00047867], ETH[.00661931], ETHW[.00661931], USD[0.00]

07989239                              KSHIB[150.98945655], SHIB[151400.45420136], TRX[1], USD[0.00]

07989243                              NFT (529233070967031045/Saudi Arabia Ticket Stub #1917)[1], SOL[.00000756]
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                                                                                                                                         Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07989249                           USD[0.01], USDT[0]                                                                                                                                                                   Yes

07989254                           LTC[0], MATIC[0], USD[0.00]

07989257                           SHIB[14518002.32288037], TRX[1], USD[0.00]

07989261                           USD[0.16]

07989265                           BTC[0], DOGE[2], SOL[0], TRX[2], USDT[0.00006549]                                                                                                                                    Yes

07989276                           CUSDT[11], DOGE[1], LINK[0], LTC[0], MATIC[0], SOL[0], TRX[3], USD[0.00]                                                                                                             Yes

07989282                           USD[10.86]                                                                                                                                                                           Yes

07989292                           BF_POINT[200], BTC[0.00008317], NFT (390832973271111456/Entrance Voucher #2452)[1], SOL[.00000408], UNI[.00002324], USD[0.02], USDT[0]                                               Yes

07989297                           BAT[43.57610626], BTC[.00085336], CUSDT[7], DOGE[1], MKR[.01848378], SHIB[1344876.13207875], SUSHI[4.87928547], USD[0.00]

07989302                           BRZ[2], CUSDT[1], SHIB[5066556.95058851], TRX[2102.81238539], USD[0.00]

07989304                           ETH[.01185935], ETHW[.01185935], USD[25.00]

07989306                           USD[0.20]

07989307                           BAT[.01007913], CUSDT[9], DAI[.0023895], DOGE[3.16439809], LINK[.0029111], PAXG[.00001901], SHIB[2], TRX[4], USD[50.00]                                                              Yes

07989311                           DOGE[1620], USD[498.04]

07989313                           DAI[5.38565192], USD[0.00], USDT[5.38672573]                                                                                                                                         Yes

07989316                           CUSDT[2], DOGE[56.67676687], SHIB[197541.33017865], TRX[163.28425254], USD[0.00], USDT[10.77414402]                                                                                  Yes

07989321                           DOGE[165.834], SHIB[699300], USD[3.36]

07989322                           SOL[3.47584889], USD[0.00]

07989323                           DOGE[381.618], SHIB[1400000], USD[0.59]

07989324                           ALGO[.00209621], SHIB[1004933.72186136]                                                                                                                                              Yes

07989325                           BRZ[1], CUSDT[4], SHIB[69.31232174], TRX[1], USD[0.01]                                                                                                                               Yes

07989326                           USD[220.52], USDT[0]

07989330                           BRZ[1], BTC[0], CUSDT[12], DOGE[4], ETH[0], ETHW[4.07324512], GRT[152.01614964], MATIC[0], SHIB[2840211.1954096], TRX[1], UNI[0], USD[0.01], USDT[1.00023738], YFI[.00349687]        Yes

07989331                           USDT[0.00000162]

07989332                           CUSDT[3], SHIB[1585009.62169913], TRX[101.28776047], USD[0.00]                                                                                                                       Yes

07989336                           CUSDT[592.17195252], DOGE[155.52623054], LINK[2.0738219], MATIC[66.75987072], NFT (343818009653201154/Entrance Voucher #25185)[1], SHIB[2697732.62752113], SOL[4.01144928],
                                   TRX[1533.71081023], USD[2.00]
07989342                           CUSDT[1], DOGE[1], SHIB[33.71961383], USD[0.00]                                                                                                                                      Yes

07989348                           USD[10.86]                                                                                                                                                                           Yes

07989350                           CUSDT[1], SHIB[3639888.6162506], USD[0.00]                                                                                                                                           Yes

07989351                           BRZ[1], CUSDT[2], USD[0.00]

07989360                           BTC[.00091347], CUSDT[1], DOGE[1], ETH[.00500811], ETHW[.00493971], SHIB[482289.3643552], TRX[1], USD[0.00]                                                                          Yes

07989362                           CUSDT[1], DOGE[1.00002616], TRX[1], USD[0.00]                                                                                                                                        Yes

07989367                           AVAX[.0000095], BF_POINT[200], BRZ[1], DOGE[3], TRX[6], USD[0.00]                                                                                                                    Yes

07989370                           BRZ[3], CUSDT[8], DOGE[5], ETHW[1.07906657], MATIC[18.69153889], SHIB[4], TRX[3], USD[278.35]                                                                                        Yes

07989373                           SHIB[0], USD[0.02]

07989377                           CUSDT[.0061469], ETH[0.00000001], PAXG[.00000023], SHIB[4], USD[0.00], USDT[0.00012703]                                                                                              Yes

07989383                           BAT[2.03166344], BF_POINT[600], BTC[.00015651], CUSDT[13.31245342], DOGE[3], SHIB[6], TRX[1.011391], USD[6.97], USDT[4.74998081]                                                     Yes

07989384                           CUSDT[2], DOGE[272.59835781], USD[0.00]                                                                                                                                              Yes

07989385                           SHIB[1498500], USD[11.21]

07989397                           BTC[.00022648], CUSDT[2], DOGE[80.74355121], ETH[.00208576], ETHW[.00208576], TRX[1], USD[50.00]

07989401                           USD[20.00]

07989408                           BRZ[1], CUSDT[1], MATIC[7.6639877], SOL[2.13201025], TRX[808.41310022], USD[0.00]                                                                                                    Yes

07989414                           USD[0.71]

07989424                           CUSDT[1], KSHIB[1408.61543297], USD[0.00]                                                                                                                                            Yes

07989441                           ETHW[.3956508], USD[0.00], USDT[0.00001510]

07989442                           NFT (295601399060347528/DOGO-ID-500 #8762)[1], NFT (317993317855957149/Astral Apes #1873)[1], NFT (332827335601544670/Elysian - #781)[1], NFT (371266477649523544/Astral Apes        Yes
                                   #173)[1], NFT (374099098554713125/3D CATPUNK #1756)[1], NFT (383525766585390280/Red Panda #951)[1], NFT (402170247171295098/ApexDucks #5800)[1], NFT
                                   (432626184288337290/Metabaes #1603)[1], NFT (462742066256315538/Baddies #3335)[1], NFT (503809294515996338/Gangster Gorillas #7131)[1], NFT (562741187983823216/Baddies #4271)[1],
                                   SHIB[5], SOL[.51305695], USD[0.00]
07989451                           CUSDT[1], SHIB[1340482.57372654], USD[0.00]

07989453                           USD[194.79]

07989454                           USD[0.38]

07989462                           SOL[.00000024], USD[12.08]                                                                                                                                                           Yes

07989479                           ETH[0], SHIB[.54334813], USD[0.00]

07989484                           CUSDT[16], DOGE[2], SHIB[2], TRX[3.77382623], USD[0.00]                                                                                                                              Yes

07989491                           BRZ[1], CUSDT[1], DOGE[172.06423069], SHIB[814702.14808117], USD[0.00]                                                                                                               Yes

07989493                           USD[15.00]

07989503                           USD[0.00]

07989504                           BTC[.03725039], ETH[1.03574719], ETHW[1.03574719], LINK[71.46796596], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07989506                           SHIB[8143357.70192085], USD[0.00], USDT[1.08648681]                                                                                                                           Yes

07989507                           CUSDT[1], SHIB[221533.00841825], USD[0.00]

07989518                           BRZ[1], SHIB[8148243.47293383], USD[0.00]                                                                                                                                     Yes

07989521                           USD[0.00]

07989524                           CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                   Yes

07989526                           DOGE[1], TRX[1], USD[0.00]

07989529                           NFT (304723428691451089/MagicEden Vaults)[1], NFT (444822616115041766/MagicEden Vaults)[1], NFT (479491440354906284/MagicEden Vaults)[1], NFT (488787549960761973/MagicEden
                                   Vaults)[1], NFT (525552708203093457/MagicEden Vaults)[1], USD[0.96]
07989530                           CUSDT[2], KSHIB[669.1089142], TRX[336.80126197], USD[21.73]                                                                                                                   Yes

07989531                           CUSDT[1], DOGE[368.38958052], USD[0.00]

07989533                           USD[21.51]                                                                                                                                                                    Yes

07989535                           AVAX[.66645829], BTC[.00306952], DOGE[420.82777967], ETH[.02410866], ETHW[.0238077], LINK[6.29799866], MATIC[83.33498766], SHIB[21525841.42189684], SOL[.60415579],           Yes
                                   SUSHI[36.48483372], TRX[7.15814208], USD[0.00]
07989562                           ETH[.0008917], ETHW[.0008917], SHIB[93255], USD[0.00]

07989564                           DOGE[1], SHIB[7761564.73144986], USD[0.01]

07989572                           SHIB[7498500.29994001], TRX[1], USD[0.00]

07989576                           USD[0.01]                                                                                                                                                                     Yes

07989581                           BRZ[3], CUSDT[15], DOGE[.01198329], ETH[.000001], ETHW[.000001], NFT (377054225708586130/Saudi Arabia Ticket Stub #318)[1], SHIB[116.02013229], SOL[0], SUSHI[.00049695],     Yes
                                   TRX[13.00800266], USD[0.00], USDT[0.00000040], YFI[.00000001]
07989582                           USD[10.00]

07989586                           BTC[.02629705], CUSDT[2], LINK[6.43824573], LTC[2.19264853], MATIC[85.65740471], SHIB[1128754.70418875], SOL[1.37222581], USD[0.00]                                           Yes

07989590                           DOGE[2], ETH[.00001916], ETHW[.00001916], TRX[1], USD[0.01], USDT[0.00004035]                                                                                                 Yes

07989595                           BRZ[1], BTC[.00156776], CUSDT[6], DOGE[80.20317933], MATIC[1.08554307], SHIB[5560118.1580715], TRX[3], USD[0.32]                                                              Yes

07989597                           CUSDT[1], SHIB[1589825.5555765], USD[0.00]                                                                                                                                    Yes

07989598                           USD[50.00]

07989603                           DOGE[986.013], USD[60.04]

07989611                           CUSDT[1], USD[0.00]                                                                                                                                                           Yes

07989613                           CUSDT[1], SHIB[1514692.51741896], USD[0.00]

07989614                           BAT[130.29932834], BTC[.00126191], CUSDT[13], DOGE[334.70897025], ETH[.11666728], ETHW[.11666728], GRT[20.66248813], KSHIB[314.92120277], LINK[2.7945531], LTC[.20344325],
                                   MATIC[9.57950829], SHIB[15301617.15816012], SOL[.247102], SUSHI[4.0202716], TRX[205.81327837], USD[10.00]
07989616                           CUSDT[20], DOGE[1], TRX[3], USD[0.00]                                                                                                                                         Yes

07989622                           SHIB[32199900], USD[0.75]

07989626                           USD[0.01]                                                                                                                                                                     Yes

07989629                           BTC[0.00471357], DOGE[7136.702], ETH[.051962], ETHW[.051962], KSHIB[1388.61], SHIB[307785800], TRX[408], USD[0.04]

07989641                           NFT (329594592026429864/88rising Sky Challenge - Coin #843)[1], NFT (490148878463888324/88rising Sky Challenge - Cloud #348)[1]

07989644                           DOGE[2], ETH[1.08930785], ETHW[1.08930785], SHIB[1330140.99494546], USD[0.00]

07989646                           USD[20.00]

07989649                           SOL[0], USD[0.26]                                                                                                                                                             Yes

07989652                           CUSDT[4], USD[0.00]                                                                                                                                                           Yes

07989653                           SHIB[165103.95523609], USD[0.00]                                                                                                                                              Yes

07989670                           BRZ[2], BTC[.0408616], CUSDT[4], DOGE[2], GRT[1], MATIC[940.81118326], NFT (545333012602695257/DRIP NFT)[1], SOL[28.10364822], TRX[6], USD[2041.09]

07989673                           CUSDT[3], DOGE[1], GRT[1.00313735], SHIB[40038040.71401526], USD[0.00]                                                                                                        Yes

07989676                           CUSDT[1], KSHIB[866.30815225], SHIB[13062723.64973448], TRX[541.33329891], USD[0.00]

07989679                           ETHW[.78535636]

07989687                           BTC[.0001], LTC[.2297], USD[2.50]

07989689                           ETH[0], SUSHI[0], USD[0.92]

07989690                           CUSDT[1], DOGE[2], TRX[3], USD[0.17]

07989692                           BRZ[1], CUSDT[2], ETH[.02647172], ETHW[.02647172], USD[0.00]

07989703                           USD[0.01]                                                                                                                                                                     Yes

07989712                           CUSDT[3], DOGE[2], GRT[1], TRX[40.07392972], USD[0.01], USDT[1.08507878]                                                                                                      Yes

07989715                           BRZ[1], BTC[.00348021], CUSDT[1], DOGE[414.63984548], GRT[1.00313735], SHIB[1718000.13478651], USD[0.02]                                                                      Yes

07989721                           BTC[.00034039], GRT[9.11444291], USD[0.00]

07989723                           BTC[.0018558], CUSDT[1], NFT (291242249982381727/Entrance Voucher #3882)[1], USD[0.00]                                                                                        Yes

07989724                           CUSDT[1], DOGE[71.60056912], USD[0.00]                                                                                                                                        Yes

07989735                           SHIB[79349.49221775], USD[0.00]                                                                                                                                               Yes

07989736                           CUSDT[1], KSHIB[961.69769648], USD[0.00]

07989739                           CUSDT[1], DOGE[131.93584607], MATIC[20.34771023], TRX[2], USD[0.00]                                                                                                           Yes

07989741                           USD[0.79]

07989745                           CUSDT[5], DOGE[1], SOL[2.81687566], TRX[1], USD[0.00]                                                                                                                         Yes

07989747                           CUSDT[1], SHIB[8128661.24950154], USD[0.00]                                                                                                                                   Yes

07989749                           CUSDT[2], DOGE[1173.11239197], SHIB[2870178.14239226], TRX[1], USD[0.43]                                                                                                      Yes
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07989751                              CUSDT[4], ETH[.00556798], ETHW[.00549958], SHIB[2109568.63910514], TRX[1], USD[0.00]                                                                                                  Yes

07989759                              BRZ[1], GRT[1], MATIC[0], SOL[.00000001], USD[0.00], USDT[.05519274]                                                                                                                  Yes

07989766                              SOL[140.35315139], USD[28000.00]

07989767                              NFT (297035080499669729/shatteredmarble #282)[1], NFT (495401353627716722/shatteredmarble #451)[1]

07989772                              SHIB[800299.63515091], TRX[1], USD[0.01]                                                                                                                                              Yes

07989773                              BTC[.04269352], CUSDT[3], DOGE[297.62631509], ETH[.29343955], ETHW[.29343955], SHIB[4820313.36153489], SOL[2.10339803], TRX[328.53645524], USD[0.04], USDT[24.87758734]

07989780                              AUD[0.00], BAT[1.0165555], BRZ[2], CAD[0.01], CUSDT[14], DOGE[1053.37384134], GBP[0.70], LINK[3.46853877], LTC[.08218314], SHIB[70479.61322139], SUSHI[9.82595015],                   Yes
                                      TRX[1287.23563821], UNI[4.2512704], USD[0.00]
07989781                              BF_POINT[100], SHIB[7992327.3657289], TRX[1], USD[0.00]

07989782                              BTC[0], ETH[0.00058147], ETHW[0.00058147], USD[0.00], USDT[0.00244705]

07989805                              BTC[.07325704], USD[-141.38]

07989807                              ETHW[2.93313908]

07989814                              USD[20.00]

07989826                              SHIB[4694072.22837291], SOL[2.22268565], USD[2.10]                                                                                                                                    Yes

07989827                              ETH[.00000008], ETHW[0.00000008], SOL[0.10016221]

07989831                              BTC[.00860292], CUSDT[1], USD[0.10]                                                                                                                                                   Yes

07989837                              BTC[.0003996], GRT[23.976], USD[0.41]

07989839                              SHIB[1], USD[0.00]

07989840                              USD[10.86]                                                                                                                                                                            Yes

07989841                              USD[0.01], USDT[5.11]

07989848                              USD[11.00]

07989854                              CUSDT[1], DOGE[416.55629002], SHIB[802812.06979578], USD[0.02]                                                                                                                        Yes

07989866                              CUSDT[1], SHIB[15060240.96385542], USD[0.00]

07989876                              DOGE[1], SHIB[1], USD[0.00]                                                                                                                                                           Yes

07989883                              CUSDT[1], MATIC[242.82915235], USD[0.00]                                                                                                                                              Yes

07989894                              CUSDT[1], SHIB[2431322.2342842], USD[0.00]                                                                                                                                            Yes

07989895                              BF_POINT[200]

07989897                              DOGE[438.61774378], USD[0.00]

07989905       Contingent, Disputed   ETH[0], USD[0.00]

07989907                              BRZ[1], SHIB[1756848.17473233], USD[0.00]

07989908                              USD[21.63]                                                                                                                                                                            Yes

07989912                              SOL[.00398], USD[493.75]

07989927                              BAT[1.01655549], ETH[.49663549], ETHW[.496427], SHIB[10871207.62801045], SOL[10.91793256], TRX[2], USD[16.28]                                                                         Yes

07989928                              USDT[0.08113817]

07989932                              BTC[.00519789], DOGE[1], SOL[.45013499], TRX[1], USD[0.07]                                                                                                                            Yes

07989937                              NFT (307845063729219413/Still Voices Series #2)[1], NFT (322092385144541975/Still Voices Series)[1], NFT (333497475467293049/Serum Surfers X Crypto Bahamas #24)[1], NFT
                                      (365841278252198639/FTX - Off The Grid Miami #5910)[1], NFT (372227440321662528/HIPHOP)[1], NFT (395571688974267557/Resilience #18)[1], NFT (473270580662196261/Still Voices Series
                                      #3)[1], SHIB[367955.67370304], USD[0.00], USDT[0]
07989939                              AAVE[3.03372424], BTC[.05640717], DOGE[3437.60306192], ETH[.63488962], ETHW[.63462282], LINK[12.86364442], LTC[5.10201205], UNI[27.484303]                                            Yes

07989949                              BRZ[2], BTC[.03322981], CUSDT[4], DOGE[1], SHIB[3], TRX[4], USD[0.00]                                                                                                                 Yes

07989951                              BTC[.00008533], ETH[.00056809], ETHW[.00056809], LINK[115.4125066], SHIB[479480], SOL[.00037125], USD[0.01]

07989980                              BF_POINT[100], BTC[0], SOL[-0.00000001], USD[0.05], USDT[0]                                                                                                                           Yes

07989982                              CUSDT[2], MATIC[58.79837747], SHIB[2288767.85147927], TRX[125.26641428], USD[30.81]                                                                                                   Yes

07989988                              CUSDT[2], DOGE[1], SHIB[8370126.07894933], USD[0.00]

07989994                              CUSDT[6], DOGE[1], TRX[1], USD[0.00]                                                                                                                                                  Yes

07989999                              USD[0.93]

07990001                              BRZ[1], BTC[.02279518], DOGE[2], ETH[.01311957], ETHW[.01295541], SOL[.4571614], TRX[1], USD[205.67]                                                                                  Yes

07990003                              BTC[0], ETH[0], ETHW[0], USD[0.00], USDT[0]

07990007                              BRZ[1], DOGE[2], ETH[.00009999], ETHW[.00009999], SHIB[83641494.99888221], USD[10.09], USDT[1.08347454]                                                                               Yes

07990018                              SHIB[7094200], USD[3.66]

07990023                              BAT[1.01336694], CUSDT[5], TRX[3], USD[0.00], USDT[1.0814382]                                                                                                                         Yes

07990028                              BCH[.00038592], BTC[.00000905], ETH[.00000993], ETHW[.00000993], USD[0.00], USDT[0.00000067]

07990029                              BTC[0], USD[0.01]

07990032                              USD[0.00]

07990035                              AVAX[0], BTC[0], ETH[0.00000001], ETHW[0], LTC[0], MATIC[0], NFT (506779323537464942/Rogue Circuits #74)[1], NFT (573413789130791390/Rogue Circuits #602)[1], SOL[0], USD[0.00],      Yes
                                      USDT[0.00002251]
07990036                              BTC[.2021], ETH[3.047], ETHW[3.047], USD[4.16]

07990040                              CUSDT[5], DOGE[36.52212663], ETH[.01791927], ETHW[.01770039], LINK[.35060007], SHIB[453609.43908], SUSHI[1.95817072], USD[0.00]                                                       Yes

07990042                              BTC[.00000153]                                                                                                                                                                        Yes

07990053                              USD[1.00], USDT[1.56727829]

07990055                              USD[100.00]
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07990063                              BTC[.00000001], SHIB[0], SOL[0], USD[0.00]                                                                                                                                              Yes

07990067                              TRX[.000001]

07990070                              USD[42.16]

07990076                              CUSDT[1], DOGE[1], SHIB[5615401.11621311], TRX[1], USD[0.00]

07990079                              SOL[0], USD[0.00]                                                                                                                                                                       Yes

07990092                              BTC[.0052947], SHIB[92300], USD[5.51]

07990093                              SHIB[23046496.28652582], TRX[2], USD[0.01]                                                                                                                                              Yes

07990095                              NFT (556932946048667257/Microphone #177)[1]

07990098                              SHIB[141970.84064847], USD[21.73]                                                                                                                                                       Yes

07990102                              BTC[0], NFT (364347787100577135/Cyber Frogs Ramen)[1], NFT (459995712256980952/Golden bone pass)[1], NFT (465895370705396857/MagicEden Vaults)[1], NFT                                  Yes
                                      (476610681714538198/MagicEden Vaults)[1], NFT (529633079991695623/MagicEden Vaults)[1], NFT (548948089331783154/MagicEden Vaults)[1], NFT (555543141975843999/Frog #8786)[1], NFT
                                      (575116463151822318/MagicEden Vaults)[1], SHIB[1], USD[0.01]
07990103                              BTC[.00016058], USD[0.00]                                                                                                                                                               Yes

07990108                              KSHIB[1.88909667], USD[0.81]

07990109                              BTC[0], LTC[.00000066], USD[0.00]

07990111                              SHIB[151020.40485483], USD[0.00]                                                                                                                                                        Yes

07990112                              CUSDT[5], DOGE[2], ETHW[.02201539], SHIB[2], TRX[1], USD[0.01]

07990117                              CUSDT[4], SHIB[4024324.90475872], USD[0.01]                                                                                                                                             Yes

07990120                              USD[20.00]

07990125                              BTC[0], DOGE[1467.41350749], ETH[.00000001], SHIB[0], USD[0.00], USDT[0]

07990145                              CUSDT[4], USD[39.99]                                                                                                                                                                    Yes

07990156                              NFT (315934860839080035/Australia Ticket Stub #780)[1]

07990168                              BRZ[1], BTC[0.02800234], DOGE[4032.83004271], NFT (319030052498065344/Cyber Frogs Ramen)[1], NFT (391523390102765386/MagicEden Vaults)[1], NFT (398033170455458121/Astral Apes          Yes
                                      #1828)[1], NFT (403767580026249682/MagicEden Vaults)[1], NFT (414798972210444502/Frog #602)[1], NFT (434730433364332033/MagicEden Vaults)[1], NFT (445018027102265533/Frog #6612)[1],
                                      NFT (454961661071516702/MagicEden Vaults)[1], NFT (507589351132169148/MagicEden Vaults)[1], NFT (514608788646843930/Golden bone pass)[1], NFT (517657680077877545/ApexDucks
                                      #3374)[1], SHIB[65807530.90143343], SOL[0], SUSHI[0], TRX[5], USD[0.03], USDT[1.02272928]
07990170                              BRZ[1], CUSDT[1], DOGE[1], ETH[.15419266], ETHW[.15419266], SOL[0.00017557], TRX[1], USD[0.00]

07990173       Contingent, Disputed   USD[50.00]

07990174                              BRZ[1], CUSDT[1], DOGE[179.99618332], SHIB[3139113.25215892], USD[0.00]                                                                                                                 Yes

07990178                              USD[20.00]

07990181                              BTC[0.16812537], ETH[.8698879], ETHW[.8698879], MATIC[260], SHIB[92115], SOL[21.88], USD[3.42]

07990186                              CUSDT[1], LINK[6.29431504], SHIB[5007678.18394258], TRX[1], USD[0.00]

07990200                              ETHW[1], USD[4295.28], USDT[0.00000001]

07990202                              SHIB[1233549.12817088], USD[0.00]

07990205                              BRZ[1], DOGE[1], ETH[.47724183], ETHW[.47704127], SOL[14.82215345], TRX[1], USD[0.00]                                                                                                   Yes

07990210                              USD[0.01]                                                                                                                                                                               Yes

07990211                              USD[0.00]                                                                                                                                                                               Yes

07990212                              ETHW[2.5974], USD[0.35]

07990225                              USD[606.00]

07990226                              USD[0.00], USDT[1.00004565]

07990227                              AVAX[35.4645], BAT[89.91], ETH[.054], ETHW[.054], KSHIB[1590], NFT (357312054379658899/Beasts #917)[1], NFT (360815544344955286/Golden Hill #19)[1], NFT (424959158909894625/Ferris
                                      From Afar #877)[1], NFT (576268307832283696/Beasts #986)[1], SOL[30.07989], USD[0.27]
07990228                              DOGE[2141.91506741], ETH[.2613828], ETHW[.2613828], SHIB[10814390.70253444], USD[0.00], USDT[0]

07990229                              KSHIB[152.38982291], SHIB[80296.63388948], USD[0.00]                                                                                                                                    Yes

07990232                              CUSDT[2], SHIB[1668422.70042708], SOL[2.999584], TRX[761.53420053], USD[46.28]                                                                                                          Yes

07990247                              ETH[.1008471], ETHW[0.10084709]

07990265                              USD[20.00]

07990266                              SHIB[.03711484], USD[0.00]                                                                                                                                                              Yes

07990269                              SHIB[67385.44474393], USD[0.00]

07990270                              LTC[.00897109], USD[0.23]

07990274                              ETH[0], SHIB[0], SOL[0], USD[0.00]

07990280                              CUSDT[2], ETH[.00000107], ETHW[.00000107], USD[0.01]                                                                                                                                    Yes

07990281                              LINK[0], NFT (291611760013275684/Gangster Gorillas #5310)[1], NFT (320335676382709273/Good Year Blimp)[1], NFT (340104065029615556/cockman)[1], NFT (369660132643867045/Pander
                                      Bears)[1], NFT (369777785018364785/Trump #6)[1], NFT (526822270384962254/Zombie Ape #0028)[1], NFT (558152125853777094/Let's Go Brandon)[1], NFT (573935220356832070/Sword of the
                                      Devil)[1], SHIB[0], SUSHI[0], USD[0.00]
07990290                              BRZ[1], CUSDT[4], DOGE[1], ETHW[.48768569], LINK[45.39387696], SHIB[22], TRX[1], USD[0.00]                                                                                              Yes

07990298                              USD[20.00]

07990314                              USD[0.10]                                                                                                                                                                               Yes

07990329                              SOL[.00000001], TRX[2], USD[0.00]

07990335                              BRZ[1], GRT[1], SHIB[1], TRX[1], USD[5.44]

07990337                              SHIB[159515.0741745], USD[0.00]

07990345                              BRZ[1], CUSDT[1], USD[0.00]

07990349                              AAVE[46.20026], ETH[.00007524], ETHW[.00007524], LTC[.00152755], SHIB[49900], SOL[.00626], UNI[.05], USD[9.60]
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                                                                                                                                         Customer Claims                                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07990353                           USD[0.28]

07990359                           BRZ[1], CUSDT[8], DOGE[1], ETH[.03487296], ETHW[.03487296], SOL[.30328711], TRX[1], USD[0.00]

07990362                           BAT[35.31747441], BTC[.05359204], SOL[21.51306974], TRX[113.65738042], USD[0.00]                                                                                                            Yes

07990363                           ETH[.00327262], ETHW[0.00323155], SOL[.001]                                                                                                                                                 Yes

07990365                           USD[20.00]

07990374                           CUSDT[2], NFT (355167402488992843/Imola Ticket Stub #614)[1], NFT (433966953303919831/Barcelona Ticket Stub #1889)[1], SHIB[6], SOL[1.76853705], USD[0.00]                                  Yes

07990386                           USD[0.00], USDT[0]

07990391                           USD[5000.00]

07990402                           USD[20.00]

07990405                           AVAX[0], BTC[0], DOGE[0], MATIC[0], SHIB[0], SOL[0], SUSHI[0], USD[0.00], USDT[0]                                                                                                           Yes

07990413                           BTC[.00090496], CUSDT[2], ETH[.01257869], ETHW[.01242821], USD[0.00]                                                                                                                        Yes

07990416                           ETH[0], USD[0.24]

07990425                           CUSDT[1], SHIB[784052.9395301], USD[0.00]                                                                                                                                                   Yes

07990426                           DOGE[385], SHIB[5494500], SOL[4], USD[646.23]

07990428                           CUSDT[2], DOGE[370.23561421], KSHIB[1330.20840774], SHIB[1443724.87752882], USD[0.00]                                                                                                       Yes

07990430                           AVAX[.1], BCH[.0016548], BRZ[10.28434812], BTC[0], CUSDT[.00040769], DOGE[44.97], ETH[.00125875], ETHW[.09416775], LTC[.00754227], MATIC[9.99], PAXG[.00000527], SOL[0],
                                   SUSHI[3.26383767], USD[1.87], USDT[.00015916], YFI[0.00002581]
07990434                           NFT (358106607951973106/You in, Miami? #451)[1]

07990437                           USD[20.00]

07990438                           BTC[.00043309], DAI[6.98928656], DOGE[75.37361256], MATIC[8.21737825], USD[0.00]

07990442                           KSHIB[69.78126504], SHIB[63607.77133252], USD[0.00]                                                                                                                                         Yes

07990445                           USD[20.00]

07990457                           DOGE[1], USD[0.00]                                                                                                                                                                          Yes

07990458                           CUSDT[1], DOGE[1858.31586565], USD[0.00]                                                                                                                                                    Yes

07990483                           BTC[.00227608], CUSDT[2], DOGE[1], ETH[.02842963], ETHW[.02807395], UNI[8.1431121], USD[0.00]                                                                                               Yes

07990500                           BRZ[1], CUSDT[3332.33761814], DOGE[2], SHIB[3554591.67101545], SUSHI[18.2793703], USD[0.00]                                                                                                 Yes

07990502                           ETH[.031968], ETHW[.031968], USD[1.04]

07990505                           BRZ[1], BTC[.05024161], CUSDT[9], DOGE[3], ETH[.62833071], ETHW[.62806667], LTC[.14085247], SHIB[7], SOL[2.52577922], SUSHI[2.45832445], TRX[4], USD[0.01]                                  Yes

07990508                           SHIB[238501.83849923], USD[0.00]

07990516                           BAT[0.00006625], CUSDT[11], DOGE[0.83440594], ETH[0.00000002], ETHW[0.00000002], SHIB[6.26586300], SOL[0], TRX[2], USD[0.00]                                                                Yes

07990523                           SHIB[325238.82802502], USD[0.00]                                                                                                                                                            Yes

07990525                           BRZ[1], CUSDT[1], SHIB[2435576.15912477], TRX[1], USD[0.02]                                                                                                                                 Yes

07990527                           USD[0.00]

07990544                           MATIC[420], USD[2.84]

07990545                           CUSDT[3], SHIB[8238077.89845732], TRX[1], USD[0.00]

07990550                           CUSDT[4], SHIB[0], USD[0.00]                                                                                                                                                                Yes

07990553                           SHIB[888362.17534356], SOL[.00003065], TRX[1], USD[0.00]                                                                                                                                    Yes

07990554                           BTC[0], DOGE[1], ETH[0], MATIC[0], NFT (351659369786997574/494)[1], NFT (381259038185836933/#2050)[1], SHIB[2], TRX[3], USD[0.02], USDT[0]                                                  Yes

07990558                           USD[21.51]                                                                                                                                                                                  Yes

07990563                           SHIB[4247000]

07990565                           USD[21.51]                                                                                                                                                                                  Yes

07990569                           DOGE[1], SHIB[7979267.17437841], USD[0.00]                                                                                                                                                  Yes

07990580                           USD[20.00]

07990582                           USD[0.00]                                                                                                                                                                                   Yes

07990584                           USD[20.00]

07990585                           CUSDT[1], SHIB[1], USD[0.00]

07990586                           USD[21.51]                                                                                                                                                                                  Yes

07990589                           CUSDT[5], MATIC[39.55285666], USD[0.00]

07990596                           CUSDT[1], ETH[.00572126], ETHW[.00565281], USD[5.49]                                                                                                                                        Yes

07990600                           AVAX[0], BF_POINT[300], DOGE[38.33477511], ETH[0], LINK[0], SHIB[0], USD[0.00]

07990608                           CUSDT[3], NFT (312193910799815086/Crypto Avatar Art #24)[1], NFT (333007396496756954/Crystal Face #10)[1], NFT (413546624827632963/BANANA #36)[1], NFT (435778502575300531/Surreal          Yes
                                   World #75)[1], NFT (491996081265291135/Crypto Avatar Art #43)[1], NFT (514992207405137183/Shannon Sharpe's Playbook: Kansas City Chiefs vs Denver Broncos - October 4, 1992 #100)[1], NFT
                                   (572412247346253552/Surreal World #89)[1], NFT (573704038237322439/Skull Ape Art #6)[1], SHIB[3], TRX[1], USD[12.13], USDT[1.0796226]
07990610                           USD[0.00]

07990614                           USD[10.00]

07990617                           USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07990629                              BTC[.01573159], NFT (292021693688051380/Notifish #2073)[1], NFT (297317839007767829/Notifish #1393)[1], NFT (299897194934902825/Notifish #2092)[1], NFT (301998881593995599/Notifish
                                      #1320)[1], NFT (305081067515383449/Notifish #1182)[1], NFT (306631328715589248/Notifish #1292)[1], NFT (308770089144822291/Notifish #1388)[1], NFT (316731761208636793/Notifish #2127)[1],
                                      NFT (318770649835842183/Notifish #1726)[1], NFT (327989554674058426/Notifish #1106)[1], NFT (330993994913608000/Notifish #1173)[1], NFT (335127536240793623/Notifish #1330)[1], NFT
                                      (335349981488245232/Notifish #1038)[1], NFT (339646490190240818/Notifish #1256)[1], NFT (342888292121301569/Notifish #2176)[1], NFT (346275453527479239/Notifish #1431)[1], NFT
                                      (352896502037555526/Notifish #2827)[1], NFT (357625727409378110/Notifish #1765)[1], NFT (360507821864595680/Notifish #1069)[1], NFT (360631920876605046/Notifish #1464)[1], NFT
                                      (362677367745127412/Notifish #2951)[1], NFT (378379063822343676/Notifish #1440)[1], NFT (385764586895392095/Notifish #2197)[1], NFT (386082515642006368/Notifish #1138)[1], NFT
                                      (386626557615141613/Notifish #2971)[1], NFT (387576390164622944/Notifish #1045)[1], NFT (392259992740573817/Notifish #890)[1], NFT (399876032064117935/Notifish #2124)[1], NFT
                                      (402580118593656407/Notifish #1086)[1], NFT (402705442836590753/Notifish #2074)[1], NFT (402880311459616345/Notifish #1406)[1], NFT (408498950919325173/Notifish #1135)[1], NFT
                                      (411623754454335475/Notifish #1725)[1], NFT (418533754251041936/Notifish #2274)[1], NFT (421675125252787740/Notifish #1109)[1], NFT (423265693863233682/Notifish #2072)[1], NFT
                                      (424891478183951504/Notifish #1174)[1], NFT (427556989727265482/Notifish #1051)[1], NFT (439026153788206358/Notifish #2085)[1], NFT (441077173800619646/Notifish #1336)[1], NFT
                                      (442503668772128567/Notifish #1424)[1], NFT (448263023217569256/Notifish #109)[1], NFT (448896719235480263/Notifish #1291)[1], NFT (454150039800446409/Notifish #1337)[1], NFT
                                      (455190343695078883/Notifish #1153)[1], NFT (456421788389649074/Notifish #2957)[1], NFT (461922870395227751/Notifish #2944)[1], NFT (462184044032741650/Notifish #3176)[1], NFT
                                      (462379001495866307/Notifish #1140)[1], NFT (464446479908857230/Notifish #213)[1], NFT (467762407940809521/Notifish #1149)[1], NFT (468433786825612317/Notifish #1498)[1], NFT
                                      (469706356559664671/Notifish #1414)[1], NFT (472439839262986388/Notifish #2222)[1], NFT (480690988911062909/Notifish #2946)[1], NFT (482124979890993170/Notifish #2135)[1], NFT
                                      (485617072526077050/Notifish #1139)[1], NFT (486226279819929337/Notifish #1077)[1], NFT (487105428396182641/Notifish #1114)[1], NFT (489664597736097305/Notifish #106)[1], NFT
                                      (489748417584909142/Notifish #2945)[1], NFT (490717023727054411/Notifish #1411)[1], NFT (493829020312335473/Notifish #2175)[1], NFT (494853514618267771/Notifish #1415)[1], NFT
                                      (494929894147836129/Notifish #102)[1], NFT (499926071070959197/Notifish #1387)[1], NFT (502141831730505547/Notifish #2879)[1], NFT (503144999674671142/Notifish #2078)[1], NFT
                                      (503515287817396478/Notifish #1082)[1], NFT (507051352654298006/Notifish #1084)[1], NFT (509641541665825083/Notifish #1039)[1], NFT (510035604057504756/Notifish #1329)[1], NFT
                                      (514449486879196922/Notifish #1184)[1], NFT (516966522834624982/Notifish #150)[1], NFT (519235636296200691/Notifish #14)[1], NFT (526257808842291629/Notifish #118)[1], NFT
                                      (536065350362762532/Notifish #2956)[1], NFT (542377226134608764/Notifish #2886)[1], NFT (554018983471996459/Notifish #1374)[1], NFT (559423075837437625/Notifish #1333)[1], NFT
                                      (560166473889908059/Notifish #1100)[1], NFT (562214924520497480/Notifish #1197)[1], NFT (562290695370933945/Notifish #1178)[1], NFT (562291466892907549/Notifish #1167)[1], NFT
                                      (571931072750747774/Notifish #2943)[1], NFT (572232721559383934/Notifish #1144)[1], SOL[.00625839], USD[0.01], USDT[1.85]
07990643                              SHIB[799200], USD[2.27]

07990654                              USD[20.00]

07990657                              BRZ[1], USD[0.00]                                                                                                                                                                            Yes

07990658                              USD[7.34]                                                                                                                                                                                    Yes

07990672                              USD[20.00]

07990674                              CUSDT[3], MATIC[25.94799376], SHIB[741753.2704273], TRX[1], USD[0.00]                                                                                                                        Yes

07990687                              BF_POINT[300]

07990694                              BF_POINT[300], CUSDT[3], DOGE[1], USD[0.01]

07990700                              CUSDT[2], DOGE[168.14930357], SHIB[721132.20050526], USD[5.43]                                                                                                                               Yes

07990701                              BRZ[1], CUSDT[2], DOGE[3], GRT[2.02633599], SOL[35.55090757], TRX[2], USD[0.05], USDT[1.08015505]                                                                                            Yes

07990702                              CUSDT[1], DOGE[1], SHIB[5864309.30029611], USD[0.00]                                                                                                                                         Yes

07990703                              BTC[0.00105648], CUSDT[1], DOGE[6], ETH[.20036783], GRT[1], SHIB[862143.74272092], TRX[6], USD[0.00]                                                                                         Yes

07990705                              SHIB[28920.80664329], USD[0.00]                                                                                                                                                              Yes

07990708                              DOGE[2], SHIB[2], TRX[0], USD[0.00], USDT[0]                                                                                                                                                 Yes

07990710                              DOGE[36.18750837], USD[0.00]                                                                                                                                                                 Yes

07990714                              ETH[0], USD[0.00]

07990719                              SHIB[7902990.72164755], TRX[.134301], USD[0.00]

07990723                              USD[157.93]

07990728                              USD[10.00]

07990732                              USD[0.15]

07990742                              BTC[.00049394]                                                                                                                                                                               Yes

07990744                              BTC[.00000001], DOGE[1], ETH[.00000014], ETHW[.00000014], LTC[0], SHIB[3], USD[0.29], USDT[0]                                                                                                Yes

07990756                              AAVE[.20410352], AVAX[1], DOGE[.01245822], LTC[.09024952], MATIC[3.68949659], SHIB[1202678.5643014], SOL[.08284573], UNI[.21367623], USD[62.23]                                              Yes

07990759                              USD[1.40]

07990769                              CUSDT[1], DOGE[1], NFT (537575734821747323/Lulu Art #006)[1], TRX[2.00874055], USD[10.80], USDT[0]                                                                                           Yes

07990776                              USD[20.00]

07990777                              USDT[0.00000065]

07990779                              CUSDT[2], USD[0.00]

07990786                              SHIB[7796.9113118], USD[0.86]

07990794                              CUSDT[1], SHIB[311294.58393361], USD[0.00]                                                                                                                                                   Yes

07990800                              USD[96.00]

07990803                              DOGE[110.889], MATIC[9.99], SHIB[199800], USD[0.09]

07990804                              BRZ[1], CUSDT[22], DOGE[5], MATIC[.00017113], NFT (359430497715094377/Entrance Voucher #2517)[1], SHIB[2], TRX[6], USD[0.00]                                                                 Yes

07990816                              BTC[.0000993], DOGE[7001], SOL[67.8630484], USD[25000.00]

07990819                              DOGE[.982], GRT[33], USD[0.26]

07990827                              MATIC[0], NFT (413731647520011732/Whales Nation #1940)[1], NFT (453899850522774561/Baby Whales #1141)[1], NFT (466624646404813124/Whales Nation #1930)[1], SOL[0.27300000]

07990828                              SHIB[172427.70043517], USD[0.00]                                                                                                                                                             Yes

07990832                              CUSDT[2], DOGE[896.97052413], SHIB[4126621.91759126], USD[0.01]                                                                                                                              Yes

07990833                              AAVE[1.40691364], BRZ[6.31519587], BTC[.02992541], CUSDT[223.64113953], DOGE[1873.69926339], ETH[.24404297], ETHW[.2438445], GRT[713.72090685], LINK[16.22760727],                           Yes
                                      MATIC[409.1554045], PAXG[.10596264], SHIB[73364460.10961562], SOL[4.80133355], SUSHI[53.68969121], TRX[24.73479701], UNI[26.3423383], USD[0.40], YFI[.01198878]
07990842                              ETH[0], SOL[0], USD[0.00], USDT[0]

07990845       Contingent, Disputed   BTC[.00044623], USD[0.00]

07990849                              BTC[.0000864], ETH[.000615], ETHW[.000615], SOL[.00755], USD[0.76], USDT[.6346705]

07990851                              BAT[2], BRZ[3], DOGE[18.17882709], ETHW[1.14406381], SHIB[63], TRX[12], USD[4179.94], USDT[1.00013695]                                                                                       Yes

07990854                              SHIB[1], USD[0.00]                                                                                                                                                                           Yes
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                                                                                                                                            Customer Claims                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07990861                              DOGE[3628.41204678], SHIB[10823008.02427983], SOL[3.99939209], USD[0.00]

07990866                              BRZ[0], BTC[0], DOGE[0], ETH[0], ETHW[0], SOL[0], USD[0.00]                                                                                                              Yes

07990872                              CUSDT[3], SHIB[1], TRX[1], USD[52.85]

07990873                              USD[0.01]                                                                                                                                                                Yes

07990892                              BRZ[2], CUSDT[3], SOL[2.08904809], TRX[2598.3293782], USD[0.00]                                                                                                          Yes

07990899                              SHIB[156595.13094042], USD[0.00]                                                                                                                                         Yes

07990910                              BRZ[1], DOGE[1], USD[0.00]                                                                                                                                               Yes

07990911                              CUSDT[1], SHIB[772418.59242718], USD[488.73]                                                                                                                             Yes

07990916       Contingent, Disputed   BRZ[1], CUSDT[3], DOGE[1], NFT (294359591407042881/What Time Is It #14 Of 20)[1], NFT (311572001490895064/HollyWood)[1], NFT (322875365369262736/Gods Fam #6)[1], NFT    Yes
                                      (391999905242449448/Gods Fam #7)[1], NFT (446870546288049091/The Scout 3)[1], NFT (456607544736427844/Game time usa )[1], NFT (498969870857088660/Gods Fam #3)[1], NFT
                                      (504567744800000790/Gods Fam #8)[1], NFT (573902008625000674/Gods Fam #5)[1], SHIB[3577907.0922431], TRX[1], USD[0.00]
07990938                              BTC[.00406616], ETH[.05712164], ETHW[.05712164], LINK[9.14316232], SHIB[14013594.75219197], TRX[2396.96065389], USD[0.01], USDT[0]

07990959                              CUSDT[3], DOGE[160.5145171], ETH[.00507309], ETHW[.00500469], KSHIB[135.62944949], LINK[.36117431], MATIC[5.67628421], SHIB[147795.15558245], USD[0.00]                  Yes

07990970                              CUSDT[1], SHIB[1620368.40920664], USD[0.00]                                                                                                                              Yes

07990974                              NFT (385728933750689815/Coachella x FTX Weekend 1 #29594)[1]

07990976                              BRZ[1], CUSDT[3], ETH[.0000009], ETHW[.0000009], LINK[.00004493], TRX[1], USD[0.01]                                                                                      Yes

07990980                              USD[21.51]                                                                                                                                                               Yes

07990988                              BAT[1], CUSDT[1], DOGE[1], SHIB[13], SOL[.00000001], TRX[6], USD[0.00]

07990989                              DOGE[1], SHIB[14351284.29887431], USD[0.00]                                                                                                                              Yes

07990996                              CUSDT[3], DOGE[1], ETHW[.15884521], GRT[1.00111884], KSHIB[6906.97601815], SHIB[1], TRX[5], USD[1977.07]                                                                 Yes

07991000                              USD[0.37]

07991006                              CUSDT[3], DOGE[1], LTC[.06559345], SHIB[3135712.0846755], SOL[.25374559], USD[0.00]                                                                                      Yes

07991018                              USD[0.55]

07991023                              DOGE[1], SHIB[318643.79325715], USD[0.00]                                                                                                                                Yes

07991025                              DOGE[19.66790998], SHIB[503905.88815934], USD[0.00]                                                                                                                      Yes

07991031                              ETH[.00413762], ETHW[.00413762], MATIC[6.93438353], USD[0.00]

07991037                              AAVE[.005611], ETH[.0007739], ETHW[.0007739], GRT[.12125], MATIC[7.4825], MKR[.000145], SHIB[93825], SOL[.0004905], USD[7.64]

07991064                              BRZ[60.93415659], CUSDT[153.69128322], DOGE[15.25228447], ETH[.00130099], ETHW[.00128731], SHIB[3108176.92833932], SOL[.06229944], USD[0.00]                             Yes

07991066                              DOGE[1], SHIB[8093554.43683502], USD[0.00]                                                                                                                               Yes

07991068                              NFT (478230516774601646/Microphone #8796)[1]

07991069                              CUSDT[2], USD[37.72]                                                                                                                                                     Yes

07991075                              USD[20.00]

07991076                              USD[0.00]

07991080                              BAT[1.0165555], DOGE[1], SHIB[79707537.2421652], USD[0.00]                                                                                                               Yes

07991089                              DOGE[.01986103], MATIC[.00921952], SHIB[.00000087], SOL[10.43610783], USD[0.00]                                                                                          Yes

07991090                              CUSDT[1], SHIB[1422272.79192149], USD[0.00]

07991094                              BRZ[2], BTC[.00602134], CUSDT[3], DOGE[2], ETH[.02280018], ETHW[.0225129], MATIC[15.43847362], SHIB[1], SOL[.72771402], USD[33.20]                                       Yes

07991098                              DOGE[1495.39955625]                                                                                                                                                      Yes

07991105                              CUSDT[2], ETH[.0000004], ETHW[.01038747], TRX[1], USD[17.18]                                                                                                             Yes

07991106                              DOGE[7.00057537], ETHW[.12128476], SHIB[36], TRX[3], USD[22.25]                                                                                                          Yes

07991110                              USD[37.96]

07991111                              USD[20.00]

07991122                              BAT[1.00333887], CUSDT[4], DOGE[4], ETH[.00000001], TRX[3], UNI[1.07086366], USD[0.00]                                                                                   Yes

07991124                              SHIB[7400000], USD[0.62]

07991134                              USD[0.94]

07991136                              USD[0.00]

07991138                              BRZ[2], DOGE[1], ETH[0], TRX[1], USD[0.00]                                                                                                                               Yes

07991145                              ETH[.01]

07991161                              BTC[.00016356], DOGE[1], LTC[.02825814], SHIB[160055.54189313], USD[0.00]                                                                                                Yes

07991174                              CUSDT[1], SHIB[324970.20575039], USD[5.46]                                                                                                                               Yes

07991176                              CUSDT[1], USD[0.01]

07991180                              BAT[1.01620285], BRZ[1], CUSDT[2], DOGE[5.03506294], GRT[1.00183733], SHIB[1], TRX[4], USD[0.00], USDT[2.16945438]                                                       Yes

07991189                              BTC[.01348337], SHIB[188442.36116582], USD[207.94]                                                                                                                       Yes

07991198                              CUSDT[1], DOGE[1], SHIB[1], SOL[.00015277], TRX[3], USD[2.84]

07991204                              NFT (453167929378414268/ApexDucks #6222)[1], USD[0.01]                                                                                                                   Yes

07991205                              TRX[261.278396]

07991208                              AVAX[0], BTC[0], DAI[0], ETH[0], LTC[0], SHIB[1], SOL[0.00000456], TRX[0], USD[0.00], USDT[0]                                                                            Yes

07991218                              USD[0.00]

07991220                              SOL[0]
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                                                                                                                                          Customer Claims                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07991222                           USDT[2117.23189644]                                                                                                                                                         Yes

07991228                           GRT[1.00313735], SHIB[32047708.89208974], USD[0.00]                                                                                                                         Yes

07991246                           BAT[2], DOGE[5], ETH[.99103638], GRT[4], MATIC[1694.71438853], SHIB[7], TRX[2], USD[0.00], USDT[0]                                                                          Yes

07991252                           BAT[.2821651], BRZ[1], CUSDT[1.95215434], TRX[264.26478485], USD[0.00]                                                                                                      Yes

07991256                           SHIB[5897000], USD[9.86]

07991267                           CUSDT[1], NFT (306180427486006453/ApexDucks #594)[1], SOL[.04224058], USD[0.00]                                                                                             Yes

07991271                           CUSDT[1], LTC[.11240148], USD[0.00]                                                                                                                                         Yes

07991273                           CUSDT[10], DAI[0], DOGE[1], GRT[0], MATIC[0], SHIB[0.00000582], SUSHI[0], TRX[0], UNI[0], USDT[0]

07991279                           SHIB[4642568.10583828], USD[0.00]                                                                                                                                           Yes

07991281                           CUSDT[1], SHIB[3077622.78468616], TRX[113.88477229], USD[0.00]                                                                                                              Yes

07991282                           USD[20.00]

07991283                           USD[0.00], USDT[0.82229598]

07991293                           BTC[0], DOGE[1], ETH[0], ETHW[0], GRT[1], TRX[1], USD[0.00], USDT[0.45049209]                                                                                               Yes

07991299                           BRZ[1], BTC[.00008789], CAD[4.10], CUSDT[1], DOGE[1], ETH[.00025418], ETHW[.00025418], LINK[1.02599413], MATIC[1.00164518], NEAR[1.02644389], SHIB[1], SUSHI[1.02651885],   Yes
                                   UNI[.14349438], USD[0.00], USDT[1.02543197]
07991301                           USD[20.00]

07991302                           DOGE[1], SHIB[32861769.11634581], TRX[4], USD[0.59]                                                                                                                         Yes

07991308                           CUSDT[1], TRX[519.80655295], USD[0.00]

07991316                           CUSDT[2], ETH[0.00107904], ETHW[0.00106536], USD[0.00]                                                                                                                      Yes

07991319                           TRX[.000004], USD[0.37]

07991330                           ETHW[1.74342429], LTC[2.72020049]                                                                                                                                           Yes

07991331                           CUSDT[5], DOGE[2], ETH[.06238386], ETHW[.06160873], SHIB[3014581.13132055], SOL[.26478728], TRX[1], USD[0.95]                                                               Yes

07991333                           BTC[.0069837], CUSDT[1], DOGE[40.49738276], ETH[.09913383], ETHW[.09810474], LTC[1.50262902], SHIB[2067968.30751603], SOL[2.60258641], TRX[1], USD[0.00]                    Yes

07991334                           NFT (382233394712989467/Coachella x FTX Weekend 1 #6072)[1]                                                                                                                 Yes

07991335                           BTC[0.00059961], CUSDT[0], DOGE[0], ETH[.00123776], ETHW[.00122408], LINK[0], PAXG[0], SHIB[80042.40763886], USD[0.01]                                                      Yes

07991340                           USD[108.65]                                                                                                                                                                 Yes

07991345                           SHIB[299715], USD[30.04]

07991356                           CUSDT[1], DOGE[1.08119288], SHIB[1407689.18989913], USD[0.00]                                                                                                               Yes

07991357                           BTC[.00030951], CUSDT[1], DOGE[1], ETH[.00000006], ETHW[.00000006], LTC[.04823753], SHIB[970980.89916753], USD[0.00]                                                        Yes

07991367                           CUSDT[1], SOL[1.36266786], TRX[1], USD[0.01]                                                                                                                                Yes

07991375                           ETH[0], USD[0.00], USDT[0]

07991378                           BTC[.0000182], ETH[.000512], ETHW[.000512], LINK[.0648], MATIC[9.34], SOL[.00649], USD[0.74]

07991382                           BTC[0], ETH[.000938], ETHW[.092938], USD[0.00]

07991384                           NFT (465810670792970184/Coachella x FTX Weekend 2 #6814)[1]

07991389                           BTC[.00001442], CUSDT[3], DOGE[.02086404], ETHW[.01302191], LTC[.00210298], NFT (547090768304581782/Anime #52)[1], SHIB[1], SOL[.032216], TRX[2], USD[0.18]                 Yes

07991391                           USD[0.00]

07991397                           SHIB[.00055655], USD[0.00]                                                                                                                                                  Yes

07991401                           BAT[1], ETH[.00000705], ETHW[.30600231], SHIB[.00000018], USD[0.00]                                                                                                         Yes

07991404                           BTC[.00367763], CUSDT[3], DOGE[1235.71841523], ETH[.01315007], ETHW[.01298579], SHIB[1197406.4245075], TRX[1], USD[0.00], USDT[53.97219675]                                 Yes

07991408                           SHIB[1601012.52073706], TRX[1], USD[0.00]                                                                                                                                   Yes

07991410                           BCH[0], ETHW[.00000768], SHIB[9784.07488916], USD[2964.97]                                                                                                                  Yes

07991412                           BRZ[1], CUSDT[13], DAI[.00491839], DOGE[9.26070793], SHIB[34138373.46678064], SOL[70.36216406], TRX[6], USD[0.00]                                                           Yes

07991419                           BRZ[1], DOGE[49.79668926], ETH[.00204814], ETHW[.00202078], KSHIB[183.11583951], TRX[1], USD[2.09]                                                                          Yes

07991420                           SHIB[5311696.63802764], USD[0.00]

07991425                           SOL[.24975], USD[1.12]

07991451                           CUSDT[3], SHIB[2.57932872], USD[0.00]                                                                                                                                       Yes

07991456                           BRZ[3], BTC[0.00279282], CUSDT[9], DOGE[6], ETH[0], MATIC[.42675907], SHIB[1571552.73283705], SOL[1.99999999], TRX[10], USD[0.13], USDT[4]

07991464                           ETH[.14708206], ETHW[0.14620703], TRX[3842.75969226]                                                                                                                        Yes

07991469                           BRZ[1], DOGE[1], SOL[.019959], USD[0.01]

07991472                           BF_POINT[700]

07991474                           DOGE[0], SHIB[51774.49803245], USD[1.31]

07991488                           ETH[.00000001], SOL[.00552], USD[6.37]

07991489                           BTC[.00801386], USD[0.00]

07991490                           SHIB[29770200], USD[4.33]

07991492                           NFT (369326070993788099/Soul 1018)[1], NFT (426634706960734311/Soul 1464)[1], NFT (522486566359563423/Soul 1489)[1], NFT (562938522349850656/Soul 1460)[1]

07991494                           NFT (543552504413671424/FTX - Off The Grid Miami #5461)[1]

07991501                           BRZ[1], CUSDT[2], DOGE[1], SHIB[3773162.08495149], USD[0.01]

07991515                           DOGE[1], SHIB[6413501.16093688], USD[0.00]                                                                                                                                  Yes

07991517                           CUSDT[1], DOGE[506.28908928], ETH[.01957047], TRX[1], USD[0.00]                                                                                                             Yes
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                                                                                                                                         Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07991519                           USD[20.00]

07991532                           USD[746.81]

07991542                           KSHIB[0]                                                                                                                                                                           Yes

07991556                           SHIB[1], USD[0.00]

07991563                           BRZ[9.41690576], CUSDT[27], DOGE[31.44122591], ETH[.05834509], ETHW[.18437446], GRT[2.00113139], NFT (292052961854572314/Dark Nature Series)[1], NFT (382666688946101537/Egg       Yes
                                   #0031 )[1], NFT (411740974477063488/Solana Penguin #2645)[1], NFT (425771916610824650/Breakpoint Azulejo Mosaics #157)[1], NFT (447129714228168532/Encanto #4)[1], NFT
                                   (458483252041454448/Space Dream #7)[1], NFT (477858287833591346/Entrance Voucher #3464)[1], NFT (519699018012655042/Excitement)[1], NFT (541901492333906855/Red Panda #7212)[1],
                                   SHIB[81], TRX[27.02807643], USD[0.00], USDT[1.06038536]
07991568                           USD[25.00]

07991570                           BTC[0], SHIB[0], UNI[0], USD[46.50]

07991575                           SHIB[1498500], USD[399.40]

07991583                           BTC[.0002], ETH[.000998], ETHW[.000998], USD[33.99]

07991586                           DOGE[18.47694501], SHIB[367412.70399079], TRX[1], USD[0.00]                                                                                                                        Yes

07991594                           USD[5.31], USDT[0]

07991608                           BRZ[61.0073941], CUSDT[247.22687305], SHIB[78999.09341638], USD[0.00]                                                                                                              Yes

07991612                           BAT[2], GRT[1], SHIB[3], TRX[3], USD[0.00], USDT[0.00000927]                                                                                                                       Yes

07991615                           CUSDT[2], ETH[.02721871], ETHW[.02687671], SHIB[1], TRX[2098.10273134], USD[0.00]                                                                                                  Yes

07991617                           BTC[.00000004], CUSDT[8], DOGE[1], SHIB[2168396.81956899], TRX[3], USD[0.00]                                                                                                       Yes

07991618                           USD[0.00]

07991619                           BRZ[1], CUSDT[1], TRX[1], USD[0.94], USDT[1]

07991621                           USD[0.00]

07991624                           BRZ[1], CUSDT[2], ETHW[.01379655], MATIC[.00003457], SHIB[1], USD[56.87]                                                                                                           Yes

07991626                           CUSDT[1], SHIB[3241190.62223137], USD[16.08]                                                                                                                                       Yes

07991628                           USD[20.00]

07991631                           BF_POINT[100]                                                                                                                                                                      Yes

07991632                           TRX[1], USD[0.00]

07991633                           BRZ[.0563085], CUSDT[1], SHIB[6308185.53091203], TRX[1118.89051859], USD[0.00], USDT[1.08642717]                                                                                   Yes

07991636                           SOL[124.876], USD[40.37]

07991650                           CUSDT[6], DOGE[.00074253], TRX[1], USD[23.22]                                                                                                                                      Yes

07991652                           CUSDT[3], SHIB[3.76182777], USD[0.01]                                                                                                                                              Yes

07991653                           BTC[0], SHIB[97647.46961617], USD[0.00]

07991654                           CUSDT[2], DOGE[181.04405037], TRX[1115.86160552], USD[0.05]                                                                                                                        Yes

07991655                           BRZ[1], DOGE[2], MATIC[.00255975], SHIB[3], SOL[.00002262], TRX[2], USD[0.00], USDT[1.04315143]                                                                                    Yes

07991659                           CUSDT[1], SOL[.5303749], USD[108.66]                                                                                                                                               Yes

07991662                           BCH[.18141895], BRZ[306.03719718], BTC[.01006482], CUSDT[6], DOGE[178.29155581], MATIC[81.31212728], SHIB[2], SOL[.82991552], SUSHI[9.77722259], TRX[1], USD[4.44]                 Yes

07991664                           CUSDT[3], DOGE[990.98477845], USD[0.06]                                                                                                                                            Yes

07991670                           BF_POINT[200]

07991672                           CUSDT[11], DOGE[3], SHIB[15069763.76281889], TRX[5], USD[0.00]                                                                                                                     Yes

07991676                           BTC[.0016192], TRX[1], USD[0.01]                                                                                                                                                   Yes

07991678                           ETH[.00119748], ETHW[0.00119748], SOL[0], USD[0.00]

07991691                           USD[0.01], USDT[0]                                                                                                                                                                 Yes

07991692                           BRZ[1], DOGE[1], ETH[.0187874], ETHW[.01855484], NFT (304457772363526538/Entrance Voucher #2818)[1], SHIB[4169874.99858631], UNI[2.47056222], USD[0.00]                            Yes

07991705                           DOGE[1], USD[0.00]                                                                                                                                                                 Yes

07991711                           ETH[.00164394], ETHW[.00164394], SOL[.002], USD[0.02]

07991713                           BTC[.00000006], CUSDT[1], DOGE[2], ETH[.00000061], ETHW[.00000061], LINK[34.06017143], USD[0.00]                                                                                   Yes

07991714                           USD[541.58]                                                                                                                                                                        Yes

07991722                           ETH[.00000001], ETHW[0]                                                                                                                                                            Yes

07991727                           USD[20.00]

07991733                           CUSDT[2434.23620324], SHIB[3879681.81115396], USD[0.70]                                                                                                                            Yes

07991746                           SOL[.41781464], USD[0.00]

07991759                           USD[0.01]                                                                                                                                                                          Yes

07991760                           USD[0.90]

07991761                           AVAX[0], BTC[0], ETH[0], SOL[.0100026], USD[0.00]                                                                                                                                  Yes

07991765                           AAVE[.00180619], SHIB[95375.61424734], USD[0.00], USDT[0]

07991770                           USD[20.00]

07991782                           USD[20.00]

07991808                           BF_POINT[100], BTC[.03547999], CUSDT[2], DOGE[2240.869443], LTC[8.39674932], SHIB[3], SOL[16.95523791], TRX[4], USD[0.00]

07991810                           DOGE[760.54063251], SHIB[176.6982599], USD[0.00]                                                                                                                                   Yes

07991812                           USD[915.71]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07991815                           ALGO[120.90133785], NFT (305874711364084679/#3733)[1], NFT (355547748231516090/Mexico Ticket Stub #109)[1], NFT (367983026050290982/Japan Ticket Stub #92)[1], NFT                         Yes
                                   (401795202916236795/Austin Ticket Stub #134)[1], NFT (500849755681008430/Singapore Ticket Stub #126)[1], NFT (572176872408483028/Entrance Voucher #1546)[1], SHIB[3], SOL[.1], USD[4.80]

07991820                           BRZ[1], DOGE[2], TRX[1], USD[0.01]                                                                                                                                                         Yes

07991821                           BF_POINT[200], BTC[.00015041], SHIB[4.27120113], USD[0.00], USDT[0]                                                                                                                        Yes

07991837                           CUSDT[1], LINK[.000322], SHIB[7304035.81912075], USD[0.05]                                                                                                                                 Yes

07991845                           CUSDT[3], DOGE[1], ETHW[.10057335], SHIB[3], USD[174.80]                                                                                                                                   Yes

07991853                           BTC[.00609313]

07991862                           ETH[.015], ETHW[.015], USD[31.73]

07991863                           USD[0.00]

07991866                           CUSDT[603.49928149], DOGE[1], SHIB[6662003.63526094], TRX[209.8735221], USD[0.00]                                                                                                          Yes

07991870                           DOGE[1], SHIB[1782362.24378612], USD[0.00]                                                                                                                                                 Yes

07991873                           BTC[0.06263493], LINK[1.34879313], SHIB[2], SOL[14.57913421], TRX[1], USD[0.33]                                                                                                            Yes

07991875                           USD[25.98]

07991876                           NFT (497606520642806202/FTX - Off The Grid Miami #2591)[1]

07991880                           SHIB[1300000], USD[7.04]

07991881                           DOGE[1], TRX[1], USD[0.01]

07991886                           SHIB[.00000002], USD[10.79]                                                                                                                                                                Yes

07991888                           ETH[.02331352], ETHW[.02302624], USD[0.00]                                                                                                                                                 Yes

07991910                           USD[0.00]

07991912                           DOGE[1], SHIB[281271.995852], USD[0.00]

07991916                           KSHIB[90], USD[1.71]

07991918                           USD[20.00]

07991922                           CUSDT[2], DOGE[178.736562], SHIB[770772.31385848], USD[0.00]

07991936                           CUSDT[1], ETH[.00153441], ETHW[.00152073], USD[0.80]                                                                                                                                       Yes

07991952                           USD[20.00]

07991959                           BTC[.00000316], LINK[.02761], SOL[16.650485], USD[79.77]

07991962                           USD[500.00]

07991977                           AAVE[.0028], ETHW[1.7], MATIC[.83], SOL[.00958], USD[0.94], USDT[.000633], YFI[.000017]

07991989                           MATIC[34.6079516], TRX[2], USD[0.00]                                                                                                                                                       Yes

07991992                           USD[80.94]                                                                                                                                                                                 Yes

07991995                           BAT[10], GRT[10], KSHIB[100], LINK[1.1], SHIB[200000], SUSHI[1], TRX[100], UNI[2.2], USD[1.68]

07991997                           TRX[1], USD[0.00]

07991999                           CUSDT[5], ETH[.06219241], ETHW[.06142063], SHIB[4709752.64264545], SOL[.23087919], TRX[2], USD[10.42]                                                                                      Yes

07992001                           CUSDT[11], DOGE[.0000807], SHIB[532765.84737444], USD[0.01]                                                                                                                                Yes

07992010                           ETH[.00738613], ETHW[.00738613], USD[0.00]

07992017                           USD[20.00]

07992018                           BAT[111.63205075], BRZ[1.00911271], CUSDT[5], DOGE[3], ETHW[10.07019931], SHIB[3222107.72280216], SOL[4.26867653], TRX[1], USD[0.00]                                                       Yes

07992025                           USD[500.00]

07992029                           KSHIB[1455.74942547], TRX[1], USD[0.00]                                                                                                                                                    Yes

07992030                           USD[20.00]

07992036                           ETH[.00134546], ETHW[0.00134546]

07992042                           CUSDT[2], LINK[0], SHIB[3], USD[52.77]                                                                                                                                                     Yes

07992047                           USD[4236.01]

07992052                           NFT (365418796583836116/Settler #3791)[1], NFT (440439585813099958/Settler #173)[1], NFT (542377766759942363/Settler #1150)[1], NFT (549910997320528496/Settler #859)[1]

07992055                           USD[3.41]

07992059                           LTC[2.78535742], SHIB[7334.1104446], TRX[1], USD[0.00]                                                                                                                                     Yes

07992069                           SHIB[3225763.58331986], TRX[1], USD[0.01]                                                                                                                                                  Yes

07992073                           CUSDT[5], SHIB[2], USD[0.00], USDT[0.00045674]                                                                                                                                             Yes

07992079                           USD[386.74]

07992080                           SOL[.00184146]

07992083                           DOGE[1], SHIB[2685073.95237886], TRX[1], USD[0.01]                                                                                                                                         Yes

07992094                           CUSDT[1], LTC[0], SHIB[927607.85991339], SOL[0], USD[0.00]                                                                                                                                 Yes

07992099                           KSHIB[1416.20953783], USD[0.00]

07992100                           BTC[.0004995], USD[4.80]

07992113                           BRZ[.3571962], SHIB[3452085.94678936], USD[0.00], USDT[0]                                                                                                                                  Yes

07992115                           BTC[0.02400230], USD[0.00]

07992116                           SOL[.243]

07992124                           CUSDT[1], SHIB[3667113.70268696], USD[0.00]                                                                                                                                                Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07992136                              SHIB[2950000], USD[0.02]

07992144                              AAVE[0], BAT[0], BCH[0], BTC[0], CUSDT[0], DOGE[0], ETH[0], GRT[0], HKD[0.00], KSHIB[0], LTC[0], MKR[0], PAXG[0], SHIB[0], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00], USDT[0]

07992146                              BTC[.0000927], MATIC[.97], USD[190.44], USDT[.0092329]

07992155                              CUSDT[1], KSHIB[266.64064253], SHIB[860858.7133318], USD[10.78]                                                                                                                   Yes

07992157                              CUSDT[1044.22334563], SHIB[763326.2697329], USD[0.00]                                                                                                                             Yes

07992158                              ALGO[511.35239127], AVAX[28.35513974], BRZ[7.39366492], BTC[.01695914], DOGE[2088.58867966], ETH[1.20675999], ETHW[1.05556530], GRT[142.75248485], MATIC[2988.51404674],          Yes
                                      SHIB[41942582.09148072], SOL[16.77385456], SUSHI[105.69304766], TRX[587.75988155], USD[627.46], USDT[0]
07992165       Contingent, Disputed   SHIB[799200], USD[0.66]

07992172                              SOL[.05249803]

07992194                              BF_POINT[200], BTC[0], DOGE[0], SOL[0], USD[4.17]

07992195                              DOGE[1], USD[0.00]

07992204                              DOGE[1], ETHW[1.14590627], SHIB[1], SOL[.00000001], USD[4511.56]                                                                                                                  Yes

07992221                              BTC[.00126304], CUSDT[4], DOGE[2], ETH[.00592788], ETHW[.00585948], LTC[.13329895], SHIB[2927743.52378983], TRX[1], USD[0.01]                                                     Yes

07992228                              BAT[1], BTC[0], DOGE[1], TRX[3], USD[0.00]

07992234                              BTC[.0001527], USD[-1.25]                                                                                                                                                         Yes

07992235                              BRZ[3], BTC[.04507336], CUSDT[8], DOGE[2790.35303392], SHIB[12813430.564347], TRX[2], USD[152.34]                                                                                 Yes

07992239                              NFT (328721930406517120/FTX - Off The Grid Miami #6878)[1]

07992243                              AVAX[11.34898932], BTC[0.04060846], ETH[0.05959587], ETHW[0.00071753], MATIC[223.93901464], SOL[5.87], USD[7729.84], USDT[79.96293395]

07992249                              CUSDT[18], DOGE[1], SHIB[7], TRX[1], USD[0.00]                                                                                                                                    Yes

07992255                              TRX[.638817], USD[0.03]

07992256                              BTC[.05449522], USD[0.00], USDT[0.00000001]

07992268                              LTC[.2853977], SUSHI[1.68308086], TRX[285.32952974], USD[0.02]                                                                                                                    Yes

07992271                              USD[20.00]

07992272                              MATIC[4.23965717], USD[2.00]

07992273                              DOGE[950], ETH[0], SOL[0.00024686], USD[0.00], USDT[0]

07992274                              USD[20.00]

07992279                              CUSDT[1], SOL[.47810366], USD[0.00]

07992280                              BTC[.00068325], CUSDT[2], ETH[.00886767], ETHW[.00886767], USD[0.00]

07992284                              CUSDT[1], SHIB[378226.27839417], USD[20.00]

07992288       Contingent,            BCH[.00232886], DOGE[.503], LTC[.04094768], SHIB[0], SOL[0.09651175], USD[139.25]
               Unliquidated
07992295                              NFT (306808977818652813/Splatter Boys)[1], NFT (355625101056909467/Splatter Boy #1)[1], SOL[.988], USD[100.04]

07992299                              CUSDT[2], SOL[.06173358], SUSHI[4.47670343], USD[0.00]                                                                                                                            Yes

07992304                              BTC[.0812], ETH[.185], ETHW[.185], LINK[.06], MATIC[8.75], SOL[5.37906], USD[1503.73]

07992305                              BRZ[2], CUSDT[3], DOGE[1], ETHW[.06904259], NFT (289195892514666703/Fancy Frenchies #9256)[1], NFT (348083503097089755/AmigoCactus)[1], NFT (398306593753355526/Solana Islands    Yes
                                      #386)[1], NFT (420437301047706206/Pixalate #1)[1], NFT (436627145566442685/1333)[1], NFT (453502848417842920/DOTB #27)[1], NFT (453610017195204129/G8 2/3+PAFU)[1], NFT
                                      (484864405037309870/Gangster Gorillas #4297)[1], NFT (488733700819798058/Sigma Shark #1657)[1], NFT (493349911688361756/LightPunk #126)[1], NFT (514837107196692593/Gold Crypto
                                      Fish)[1], NFT (552113351943030878/MM Shark #3)[1], SOL[.02153931], TRX[2], USD[0.00]
07992318                              BTC[0.01042349], PAXG[0], SOL[0], USD[0.00], USDT[0]                                                                                                                              Yes

07992322                              CUSDT[1], DOGE[2042.37256163], SHIB[7929040.83178624], USD[0.00]                                                                                                                  Yes

07992323                              BTC[.00089951], TRX[1], USD[0.01]                                                                                                                                                 Yes

07992333                              BTC[.00000218]                                                                                                                                                                    Yes

07992336                              DOGE[10.44514597]                                                                                                                                                                 Yes

07992341                              AAVE[.00001673], BTC[0], DOGE[1], TRX[1], USD[0.00]                                                                                                                               Yes

07992343                              SOL[9.93006], USD[2.06]

07992346                              BAT[12.9937597], BRZ[61.09718502], CUSDT[13], DAI[12.95595622], DOGE[283.23178587], GRT[25.05669236], KSHIB[341.16152887], SHIB[3421307.35424502], SOL[.24435703],                Yes
                                      SUSHI[1.17941904], TRX[1107.1430447], UNI[.47772548], USD[0.00]
07992347                              BTC[.00258672], CUSDT[1], SHIB[1489591.08273792], TRX[1], USD[0.00]                                                                                                               Yes

07992349                              SHIB[6908869.33803616], USD[0.00]

07992363                              BTC[.00403157], CUSDT[1], TRX[1], USD[0.00], USDT[1]

07992375                              USD[0.00]

07992376                              CUSDT[1950.25570315], DOGE[2], ETH[.16244268], ETHW[.16197944], GRT[35.02307947], SHIB[4214212.4005926], TRX[1783.99186863], USD[25.35]                                           Yes

07992383                              USD[0.00], USDT[38.68288581]

07992386                              USD[0.00]

07992391                              CUSDT[1], SHIB[1578531.92744097], USD[0.00]                                                                                                                                       Yes

07992402       Contingent, Disputed   USD[0.00]

07992403                              CUSDT[8], ETH[.00000299], ETHW[.00000299], TRX[1], USD[0.00]                                                                                                                      Yes

07992406                              SHIB[7200000], USD[0.73]

07992412                              DOGE[19.06545203], SHIB[368330.0215966], TRX[1], USD[0.03]                                                                                                                        Yes

07992418                              AVAX[15.22735217], BAT[1.0137743], BRZ[5], BTC[.0644727], CUSDT[20], DOGE[12.12169626], ETH[.35736327], ETHW[.35721331], MATIC[90.53935243], SHIB[130343150.03783688],            Yes
                                      SOL[37.64913821], TRX[8], UNI[6.05642787], USD[0.17], USDT[1.04988278]
07992421                              SOL[.00982], USD[1.70]

07992422                              BTC[0], CUSDT[4], USD[0.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07992425                              DOGE[2], GRT[1], KSHIB[5105.68683285], SOL[13.76548525]

07992426                              CUSDT[2], DOGE[179.81380053], SHIB[793671.57539039], USD[22.03]                                                                                                                   Yes

07992428                              BTC[.00008066], ETH[.00031191], ETHW[.00031191], SHIB[149252.75660275], USD[7.21]                                                                                                 Yes

07992446                              CUSDT[1], SHIB[710380.54500877], USD[0.00]                                                                                                                                        Yes

07992452                              SHIB[5000000], USD[86.05]

07992456                              NEAR[0], USD[0.16]

07992459                              SOL[6.22239823], TRX[1], USD[0.00]                                                                                                                                                Yes

07992476                              CUSDT[.97822], USD[0.01]                                                                                                                                                          Yes

07992478                              BAT[420.93017308], BRZ[5.07952967], BTC[.02572467], CUSDT[1261.47855026], DOGE[855.69131619], ETH[.07460644], ETHW[.07367968], KSHIB[1784.68534131], SHIB[14], SOL[1.19336945],   Yes
                                      TRX[8037.09500612], USD[5.73]
07992485                              USD[21.51]                                                                                                                                                                        Yes

07992496                              SHIB[2501556.84416591], TRX[1], USD[0.00]                                                                                                                                         Yes

07992503                              USD[20.00]

07992504                              BTC[.00876977], CUSDT[1], USD[0.00]

07992506                              USD[0.01]                                                                                                                                                                         Yes

07992519                              CUSDT[3], SHIB[1629100.85415916], USD[0.00]

07992522                              AAVE[.94054584], BTC[.00018296], CUSDT[4], SUSHI[.06494648], TRX[2], UNI[.00073368], USD[14.67]                                                                                   Yes

07992523                              DOGE[839.16], SHIB[3800000], USD[1.12]

07992529                              CUSDT[2], SHIB[162349.68269021], TRX[2], USD[384.96]                                                                                                                              Yes

07992538                              BRZ[1], CUSDT[1], USD[0.01]                                                                                                                                                       Yes

07992539                              NFT (474239095361854318/FTX - Off The Grid Miami #2212)[1], NFT (519485099287492045/Imola Ticket Stub #93)[1]                                                                     Yes

07992541                              BRZ[1], BTC[.00350131], CUSDT[1], USD[0.00]                                                                                                                                       Yes

07992542                              BF_POINT[100]

07992549                              AVAX[.61741711], BTC[.00123723], DOGE[1], ETH[.01758536], ETHW[.01736632], SHIB[2], USD[0.00]                                                                                     Yes

07992550                              CUSDT[2], KSHIB[1132.29919791], USD[0.00]

07992551                              CUSDT[1], SHIB[818832.72012497], USD[0.00]                                                                                                                                        Yes

07992555                              CUSDT[1], SHIB[757460.99075897], USD[0.01]

07992560                              CUSDT[1], DOGE[2], LINK[0], SHIB[1], SOL[21.51476499], TRX[2], USD[0.00], USDT[0]                                                                                                 Yes

07992562                              DOGE[1], TRX[5127.45888572], USD[0.00]

07992563                              SHIB[59043.49537492], TRX[1], USD[0.00]

07992567                              USD[0.00], USDT[0.00000194]

07992569                              ETH[.00243885], ETHW[.00241149], USD[0.00]                                                                                                                                        Yes

07992571                              ETH[.00999], ETHW[.00999], GRT[.999], NFT (488487632131767833/Miami University Blockchain Club Attendance NFT #6)[1], SOL[.00999], USD[0.01], USDT[.87]

07992577                              BAT[1.01649981], CUSDT[1], DOGE[614.79698116], ETH[.08712239], ETHW[.08609926], USD[55.42]                                                                                        Yes

07992578                              USD[0.00]                                                                                                                                                                         Yes

07992579                              SOL[.44442011], USD[0.00]

07992581                              CUSDT[2], USD[0.00]                                                                                                                                                               Yes

07992586                              USD[0.00]                                                                                                                                                                         Yes

07992592                              USD[3.22]

07992595                              BTC[.00301218], DOGE[9.4162093], ETH[.05762865], ETHW[.05752318], SHIB[930231.375651], SOL[1.62450602], TRX[2], USD[0.01]

07992624                              SHIB[4812697.01750449], USD[0.00]                                                                                                                                                 Yes

07992638                              BF_POINT[200], CUSDT[1], DOGE[1], MKR[.01011338], SUSHI[2.16876641], USD[0.05]                                                                                                    Yes

07992644                              USD[543.12]                                                                                                                                                                       Yes

07992648                              SOL[.02369191], USD[0.00]

07992653                              BRZ[1], CUSDT[1], USD[0.04], USDT[2161.52710917]                                                                                                                                  Yes

07992662                              BTC[0.00810000], USD[1.88], USDT[0]

07992670                              BAT[.00000922], MATIC[537.81791586], NFT (306325686893262710/Baseball Coin #5)[1], NFT (318502061851602150/Chick #3)[1], NFT (320601692554040291/Chick #14)[1], NFT               Yes
                                      (328396466777533137/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #124)[1], NFT (347432449767166173/Solana Islands #1282)[1], NFT
                                      (378068500555541782/Belugie #1764)[1], NFT (445907202905130546/Happy Holidays #2)[1], NFT (448719011692090246/#1472)[1], NFT (451353323003239955/BB Red #3)[1], NFT
                                      (496640002771287114/Doge Capital #148)[1], NFT (531158802862418167/DogChain #3)[1], NFT (536303503255737830/LightPunk #1056)[1], NFT (536499116613418863/DOTB #8158)[1], NFT
                                      (546569916941747160/Golden bone pass)[1], NFT (548801913512365493/DOTB #8277)[1], NFT (572183950267616707/Gorge rauss)[1], NFT (575473369685200581/Cool Bean #3706)[1],
                                      SHIB[32729363.83490666], SOL[15.23501557], TRX[5171.02975080], USD[41.73]
07992674                              USD[0.90]

07992681                              GRT[1.778], MATIC[49.91], SOL[.54908], USD[2.13]

07992685                              USD[20.00]

07992687                              USD[10.86]                                                                                                                                                                        Yes

07992690                              BRZ[1], CUSDT[2], MATIC[.32710676], USD[0.47]

07992693                              AAVE[.8], ETH[.105894], ETHW[.105894], SHIB[3300000], USD[9.00]

07992706                              KSHIB[53.47977521], SHIB[300675.49908843], USD[0.00]                                                                                                                              Yes

07992707       Contingent, Disputed   USD[0.00]                                                                                                                                                                         Yes

07992723                              CUSDT[1], SOL[.08887446], USD[0.00]                                                                                                                                               Yes
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                                                                                                                                         Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07992724                           KSHIB[10], SHIB[2500000], USD[0.43]

07992730                           ETH[0], NFT (299458136587233851/DarkPunk #3731)[1], SOL[0.05349462], USD[0.01]

07992731                           CUSDT[1], SHIB[392135.48964392], USD[0.00]                                                                                                                                          Yes

07992733                           KSHIB[1420], SHIB[2697300], TRX[2073], USD[9.77]

07992738                           BCH[.63982923], BRZ[1], CUSDT[2470.11874555], DOGE[366.31961364], KSHIB[1874.72242391], SOL[3.72186062], TRX[1], USD[0.73]                                                          Yes

07992739       Contingent,         AVAX[.55939149], DOGE[2], LINK[2.08221677], MATIC[11.24229165], NEAR[12.65555236], SHIB[3], SUSHI[9.22685789], UNI[1.55765303], USD[0.42]                                           Yes
               Unliquidated
07992743                           CUSDT[3], SHIB[940206.08514136], SOL[8.32188743], TRX[3], USD[0.00]                                                                                                                 Yes

07992744                           USD[0.01]

07992751                           DOGE[1], SHIB[563929.44308061], USD[0.00]

07992752                           CUSDT[6], TRX[2], USD[0.01]

07992762                           USD[0.00]                                                                                                                                                                           Yes

07992763                           CUSDT[1], USD[41.68]                                                                                                                                                                Yes

07992766                           BTC[.00000001], DOGE[6628.92725087], GRT[2495.97477257], LTC[5.11488643], SHIB[60325730.78088845], USD[200.00]

07992771                           BTC[0], USD[4.06]

07992772                           CUSDT[3], DOGE[1], USD[87.00]

07992776                           CUSDT[1], DOGE[616.18296156], SHIB[2969708.96852108], USD[0.00]

07992782                           DOGE[1627.371], USD[20.01]

07992791                           BTC[.0000996], DOGE[.633], MATIC[40], USD[8.38], WBTC[.0000996]

07992794                           BAT[1], BRZ[1], DOGE[1], ETHW[.04965222], NFT (456927383563563360/FTX - Off The Grid Miami #5636)[1], NFT (511935135651047583/Saudi Arabia Ticket Stub #765)[1], SHIB[5], TRX[2],   Yes
                                   USD[73.12], USDT[0.00000633]
07992795                           USD[0.07]                                                                                                                                                                           Yes

07992796                           SOL[1]

07992811                           CUSDT[457.13568277], SHIB[1297599.7615848], USD[0.00]

07992813                           BAT[1.00648666], BTC[0], ETH[0], NFT (397745151850386790/BANANA #9)[1], NFT (469754391543470020/Gold Objects #2)[1], NFT (472808397220461260/Pop Art #19)[1], NFT                   Yes
                                   (479157582761915596/#011)[1], NFT (480487335138685805/#012)[1], NFT (545328533719453163/New York City )[1], TRX[0], USD[0.01], USDT[0]
07992821                           BTC[.01703159], CUSDT[3], DOGE[1], ETH[.22035295], ETHW[.22035295], SHIB[16254876.46293888], SOL[6.26723953], TRX[1], USD[0.01]

07992829                           SHIB[7253329.31197856], USD[0.00], USDT[1.08625864]                                                                                                                                 Yes

07992839                           BRZ[2], CUSDT[6], DOGE[0], TRX[1], USD[0.00], USDT[0.00170001]                                                                                                                      Yes

07992841                           USD[0.00]

07992844                           USDT[51.10696687]

07992845                           USD[1.95]

07992847                           SHIB[3113795.49618644], TRX[1], USD[0.00]                                                                                                                                           Yes

07992850                           BTC[0], ETHW[.333694], SOL[5.01498000], USD[0.35], USDT[0]

07992852                           USD[0.09]

07992859                           CUSDT[9], TRX[2], USD[0.00]

07992865                           BRZ[1], CUSDT[6], DOGE[2], SHIB[2166401.54606202], TRX[1], USD[0.00]                                                                                                                Yes

07992866                           CUSDT[1], ETH[.00227497], ETHW[.00227497], SHIB[157819.22525107], SOL[.0488351], USD[0.00]

07992878                           BTC[.00069013], DOGE[2], USD[0.00]                                                                                                                                                  Yes

07992881                           USD[1000.00]

07992885                           DOGE[1], SHIB[8549081.92753539], USD[0.00]                                                                                                                                          Yes

07992889                           BRZ[1], CUSDT[3], ETH[.00000273], SHIB[2], SOL[.00032706], TRX[5], USD[0.00]                                                                                                        Yes

07992898                           USD[20.00]

07992900                           CUSDT[493.28141711], DOGE[90.58484373], SHIB[416188.06751523], USD[5.42]                                                                                                            Yes

07992905                           AAVE[.46], LINK[4], USD[3.19]

07992923                           DOGE[1], SOL[.09243341], USD[46.11]

07992924                           CUSDT[48.37511837], SHIB[2372342.55139719], SUSHI[2.37648617], USD[1.00]

07992938                           BF_POINT[200], CUSDT[5], USD[0.01]                                                                                                                                                  Yes

07992940                           CUSDT[3], DOGE[1], GRT[12.2121771], MATIC[7.67152333], SUSHI[4.48735067], TRX[1], UNI[1.09104999], USD[17.38]                                                                       Yes

07992945                           CUSDT[1], SOL[.48911246], USD[50.00]

07992957                           USD[10.86]                                                                                                                                                                          Yes

07992959                           BTC[0.00086247], CUSDT[3], DOGE[.00112919], USD[0.00]                                                                                                                               Yes

07992960                           USD[21.51]                                                                                                                                                                          Yes

07992973                           BTC[.00000328], CUSDT[1238.44858257], DOGE[1014.07098905], MATIC[3.99087035], SHIB[8307413.60613296], SOL[3.09217733], TRX[2], USD[0.04]                                            Yes

07992981                           SHIB[999000], TRX[373], USD[0.36]

07992985                           USD[0.01]                                                                                                                                                                           Yes

07992992                           BF_POINT[100]

07992996                           BAT[1], BRZ[6.31235045], BTC[0], CUSDT[16], DOGE[1], GRT[0], SHIB[10], SOL[0], TRX[4], USD[0.00], USDT[0]                                                                           Yes

07993006                           ETH[.00000001], USD[2.40]

07993010                           NFT (534237645437892235/2974 Floyd Norman - CLE 4-0198)[1], SOL[0], USD[0.00], USDT[0.00002824]
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                                                                                                                                         Customer Claims                                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07993021                           BAT[1], BTC[.07080561], CUSDT[4], DOGE[2821.66136472], ETH[3.38480314], ETHW[3.38480314], LINK[24.68989214], SOL[13.75062972], TRX[4], USD[0.00], USDT[1]

07993037                           DOGE[1], USD[0.01]

07993040                           CUSDT[1], DOGE[1], ETH[.1136918], ETHW[.1136918], USD[0.00]

07993045                           USD[0.00]

07993049                           ETHW[.03716], SOL[0], USD[0.00]

07993056                           AAVE[0], BTC[0], FTX_EQUITY[0], LTC[0], SOL[0], TRX[0], USD[275.15]

07993057                           BRZ[1], BTC[.0003229], USD[16.30]                                                                                                                                               Yes

07993064                           DOGE[1], MATIC[0], TRX[1], USD[0.00]

07993067                           DOGE[.03339103], LINK[197.77217545], SOL[.00013401]                                                                                                                             Yes

07993080                           USD[21.51]                                                                                                                                                                      Yes

07993081                           CUSDT[1], SHIB[646914.21917453], USD[0.01]

07993082                           CUSDT[98.92713685], NFT (538087825624662630/Entrance Voucher #4010)[1], SHIB[13140.72447332], TRX[75.16727771], USD[0.00]                                                       Yes

07993086                           BRZ[1], CUSDT[1], ETH[0], SOL[.00000492], TRX[1], USD[56.39]                                                                                                                    Yes

07993088                           BRZ[2], CUSDT[1], DOGE[1], SOL[99.35680381], TRX[1], USD[33.31], USDT[1.07944704]                                                                                               Yes

07993091                           BTC[.0000611], CUSDT[1], DOGE[43.82535688]                                                                                                                                      Yes

07993092                           USD[20.00]

07993099                           BAT[2.00018269], BRZ[6.24448035], BTC[.00000037], CAD[0.01], CUSDT[9], DOGE[11.10039143], GRT[3.02271552], SHIB[16], SOL[21.28320563], SUSHI[1.03983197], TRX[19.52609635],     Yes
                                   USD[0.03], USDT[2.10704195]
07993102                           BAT[1.01251413], BRZ[4], BTC[.00000114], CUSDT[6], DOGE[8.06299691], GRT[2], SHIB[16], SOL[153.87894295], TRX[10], USD[8192.96]                                                 Yes

07993104                           CUSDT[2], USD[21.34]                                                                                                                                                            Yes

07993105                           DOGE[0], TRX[0], USD[0.00]                                                                                                                                                      Yes

07993106                           BAT[1], BTC[.09793085], CUSDT[7], DOGE[5], ETH[1.68773115], ETHW[1.68700688], SHIB[186745.50251829], TRX[2], USD[1.23]                                                          Yes

07993107                           BRZ[1], BTC[.13635532], DOGE[1], USD[0.04]                                                                                                                                      Yes

07993122                           BTC[0], CUSDT[1], DOGE[1], ETH[.00000001], TRX[1], USD[0.00]

07993137                           DOGE[1], SHIB[7481669.90872362], USD[0.00]

07993143                           BTC[.00032396], CUSDT[2], ETH[.01094516], ETHW[.01094516], SHIB[192270.71716977], TRX[192.81656811], USD[0.00]

07993154                           BTC[0], TRX[.188946], USD[0.00], USDT[0]

07993156                           CUSDT[2], DOGE[98.91893943], KSHIB[1295.19351097], MATIC[18.82670829], TRX[1], USD[0.01]                                                                                        Yes

07993157                           BCH[.00148867], CUSDT[1], DOGE[321.9107043], ETH[.00414765], ETHW[0.00409292], LTC[.00306097], USD[0.01]                                                                        Yes

07993160                           SHIB[391439.56539374], USD[0.00]                                                                                                                                                Yes

07993168                           CUSDT[1], SHIB[827446.70170084], USD[0.00]                                                                                                                                      Yes

07993172                           BTC[.00031911], CUSDT[1], USD[0.00]

07993174                           USD[2.48]

07993180                           BF_POINT[100], BRZ[11.42188682], BTC[.00000003], CUSDT[12], DOGE[11.0505457], SHIB[18], TRX[17.47703489], USD[0.00], USDT[2.04262828]                                           Yes

07993181                           USD[0.01]                                                                                                                                                                       Yes

07993183                           DAI[110.30652623], USD[36.24]

07993190                           BCH[7.60366895], BRZ[1], SHIB[7494724.95711477], TRX[1], USD[0.00]                                                                                                              Yes

07993199                           BAT[20.61268255], CUSDT[3], SHIB[210651.58626095], SUSHI[1.88014852], USD[0.00]                                                                                                 Yes

07993200                           NFT (316422004663770162/Burn Project #110 #2)[1], NFT (377760635009739814/Ali and Fans - 1 of 1)[1], NFT (436893993506874422/Burn Project #110)[1], SOL[.15987092], USD[6.84]

07993212                           BRZ[1], CUSDT[2], DOGE[911.7853841], SHIB[3474149.95297026], USD[0.00]

07993216                           SHIB[10800000], USD[2.85]

07993222                           SHIB[3.20513224], USD[0.07]                                                                                                                                                     Yes

07993226                           BRZ[1], BTC[0.00635728], CUSDT[7], DOGE[2], ETH[0], KSHIB[32.22185111], MATIC[53.41815821], SHIB[216912.71607986], TRX[1110.74975557], USD[41.14], YFI[0.00280213]              Yes

07993227                           CUSDT[1], SHIB[1599232.36846313], USD[100.00]

07993249                           BRZ[1], SHIB[51291695.05987037], TRX[2], USD[0.01]                                                                                                                              Yes

07993253                           CUSDT[1], USD[17.02]                                                                                                                                                            Yes

07993264                           CUSDT[2], USD[0.01]                                                                                                                                                             Yes

07993266                           BRZ[1], CUSDT[5], DOGE[1], SHIB[18], TRX[3], USD[0.61], USDT[0]                                                                                                                 Yes

07993274                           BAT[1.00893051], BRZ[2], CUSDT[23], DOGE[4], ETH[.82838051], LINK[142.24027097], MATIC[741.37751105], SHIB[8], TRX[4], USD[-499.73], USDT[1.07809369]                           Yes

07993276                           USD[20.00]

07993285                           BTC[.00081572], CUSDT[1], DOGE[1], LINK[1.61115866], USD[0.00]

07993293                           BCH[.027], LTC[.04], USD[0.46], USDT[.245574]

07993297                           SOL[.00579422], USD[0.00], USDT[0]                                                                                                                                              Yes

07993298                           LINK[20.4795], USD[2.47]

07993300                           KSHIB[.26106], SHIB[141672.16050447], USD[0.00]                                                                                                                                 Yes

07993322                           SOL[0], TRX[.000001], USD[0.00], USDT[0.00000001]

07993335                           USD[20.00]
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                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07993345                           BCH[0], BRZ[0], BTC[0], ETH[0], ETHW[0], MATIC[0], NFT (291435470241778911/MetaVerse Skull #2)[1], NFT (321662934673917246/Rogue Circuits #5104)[1], NFT (326764366319543311/Rogue     Yes
                                   Circuits #144)[1], NFT (329437929809572829/Rogue Circuits #5163)[1], NFT (351596051885397857/Rogue Circuits #415)[1], NFT (365939263542702133/The Arrival Of Aliens )[1], NFT
                                   (366932402668999502/Rogue Circuits #4198)[1], NFT (368173808632427493/MetaVerse Skull #5)[1], NFT (379198842259119130/Rogue Circuits #239)[1], NFT (380988402600708062/Rogue Circuits
                                   #4218)[1], NFT (385196970836816734/MetaVerse Skull #4)[1], NFT (398702724862056240/Rogue Circuits #4359)[1], NFT (402711866771208576/Rogue Circuits #4638)[1], NFT
                                   (403328251984051492/Rogue Circuits #1736)[1], NFT (410343617126021871/Rogue Circuits #4333)[1], NFT (441128755376965649/Rogue Circuits #493)[1], NFT (450347231748686423/Ether
                                   flower)[1], NFT (460762594543554236/Rogue Circuits #1040)[1], NFT (472598653033881407/Rogue Circuits #5277)[1], NFT (478583186803436888/Steampunk Series. 3/25 Total NFTs.)[1], NFT
                                   (493073867467618585/Rogue Circuits #5020)[1], NFT (517312261835846392/MetaVerse Skull #3)[1], NFT (531489493088698357/Rogue Circuits #3834)[1], NFT (541819987588934908/Galaxy Phoenix
                                   )[1], NFT (547777249263336500/Rogue Circuits #355)[1], NFT (557799252228122281/Fighting)[1], NFT (560547430161369252/Rogue Circuits #271)[1], NFT (572922034953660823/Rogue Circuits
                                   #3938)[1], SOL[0.00002016], USD[0.00], USDT[0.00000002]
07993346                           USD[0.00], USDT[0]                                                                                                                                                                     Yes

07993349                           BTC[0], ETH[0], MATIC[0], SHIB[1], SOL[0], USD[0.22]                                                                                                                                  Yes

07993350                           CUSDT[3], DOGE[5422.39534955], MATIC[82.75749067], SHIB[8977534.34319226], TRX[1], USD[0.00]                                                                                          Yes

07993351                           SHIB[172774.71531727], USD[0.00]                                                                                                                                                      Yes

07993358                           BTC[.00000025], GRT[1], USD[0.20], USDT[0.00015090]                                                                                                                                   Yes

07993362                           USD[0.00]                                                                                                                                                                             Yes

07993365                           BTC[.00439511], DOGE[1], SHIB[4333841.59052599], TRX[1], USD[0.00]                                                                                                                    Yes

07993381                           CUSDT[2], SHIB[348213.27254353], USD[0.00]                                                                                                                                            Yes

07993387                           SOL[.01465901], USD[0.00]

07993399                           ETHW[.02243354], SHIB[1], TRX[1], USD[181.10]

07993401                           BTC[.00000107], USD[0.86]

07993406                           LINK[1.01753651], TRX[1], USD[0.00]                                                                                                                                                   Yes

07993407                           BRZ[1], CUSDT[3], DOGE[2], GRT[1.00280669], SOL[90.34477544], TRX[4], USD[1.84]                                                                                                       Yes

07993408                           BRZ[1], CUSDT[7.00092566], DOGE[2.00000875], GRT[0], MATIC[0], TRX[0], USD[0.01]                                                                                                      Yes

07993411                           USD[0.00]

07993415                           CUSDT[4960.98167201], NFT (530593223393252442/From above )[1], NFT (572647083126630254/Compton Easy)[1], SHIB[1213722.43601585], USD[102.50]                                          Yes

07993422                           BAT[36], USD[1.34]

07993440                           SHIB[1752552.68592247], TRX[1], USD[0.00]                                                                                                                                             Yes

07993443                           BTC[0], USD[0.00]                                                                                                                                                                     Yes

07993450                           SOL[.00016632], USD[0.70]

07993458                           CUSDT[1], DOGE[1], SHIB[1578495.56707351], USD[133.12]                                                                                                                                Yes

07993473                           DOGE[1], NFT (415039093779445966/SOLYETIS #7987)[1], SHIB[1], TRX[1], USD[0.00]                                                                                                       Yes

07993519                           AVAX[15.84739312], BRZ[1], DOGE[6], KSHIB[9283.34093329], SHIB[25820171.90625849], SOL[49.13528404], TRX[4325.16507611], USD[0.00]                                                    Yes

07993531                           BTC[0], ETH[0], USD[12.66]

07993532                           USD[21.51]                                                                                                                                                                            Yes

07993534                           SOL[0]

07993537                           CUSDT[3], DOGE[1], ETH[.00000044], ETHW[.04854412], SHIB[4], TRX[1], USD[0.00]                                                                                                        Yes

07993546                           BF_POINT[300], CUSDT[10], DOGE[1], ETH[.00000164], ETHW[.00000164], GRT[1.0001826], MATIC[.01236321], TRX[1], USD[0.00]                                                               Yes

07993551                           BTC[.00079126]

07993555                           ETH[0], SHIB[1498500], USD[0.00]

07993563                           USD[0.31]

07993564                           BTC[.00877473], CUSDT[1], DOGE[2], ETH[.05600299], ETHW[.05530531], LINK[7.24478441], USD[0.00]                                                                                       Yes

07993567                           BTC[.02069358], CUSDT[1], ETH[.5285427], ETHW[.00041218], NFT (540789105157897383/Entrance Voucher #2591)[1], SHIB[6469646.71825898], USD[1147.44]                                    Yes

07993570                           CUSDT[50.41548813], DOGE[377.9066263], ETH[.02165039], ETHW[.02165039], LINK[2.96954162], MATIC[158.89622576], SHIB[8028379.13874891], USD[100.00], USDT[0]

07993572                           NFT (421123701631914071/What's on TV)[1]

07993573                           GRT[1.00312819], SHIB[7190711.22597572], USD[0.00]                                                                                                                                    Yes

07993576                           CUSDT[0], DOGE[0], USD[0.00], USDT[0]                                                                                                                                                 Yes

07993586                           CUSDT[1], SHIB[420681.0965037], USD[0.00]                                                                                                                                             Yes

07993587                           BTC[.1613385], ETH[.304695], ETHW[.304695], SOL[25.80417], USD[0.01]

07993591                           BTC[.0013], ETH[.003], ETHW[.003], SOL[1.15884], USD[46.63]

07993596                           BRZ[1], CUSDT[3], DOGE[2], USD[0.00], USDT[1.06939765]                                                                                                                                Yes

07993602                           DOGE[1], USD[0.00]                                                                                                                                                                    Yes

07993604                           DOGE[33.59907288], USD[0.00]

07993606                           ETH[.05433851], ETHW[.05433851], SHIB[1500000], SOL[1.59935199], USD[2.82]

07993607                           BAT[47.17096255], USD[0.01]

07993614                           BTC[.0004434], DOGE[1], SHIB[2136558.07375146], USD[0.00], USDT[0]                                                                                                                    Yes

07993615                           SOL[.11988], USD[0.14]

07993618                           BRZ[1], USD[7.42]                                                                                                                                                                     Yes

07993620                           DOGE[1], SHIB[5198835.48393013], TRX[1], USD[0.01]                                                                                                                                    Yes

07993623                           CUSDT[5], DOGE[6.00038359], SHIB[198330729.82097811], TRX[3], USD[0.01]                                                                                                               Yes

07993625                           USD[20.00]

07993631                           USD[9.79]
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07993639                              ETH[.118], ETHW[.118], USD[0.01], USDT[1.019196]

07993650                              USD[20.00]

07993651                              CUSDT[3], DOGE[14.27843944], KSHIB[27.28103162], SHIB[116399.48337964], SOL[.08098548], USD[2.00]                                                                                       Yes

07993657                              USD[1.89]

07993660       Contingent, Disputed   AUD[0.00], CAD[0.00], EUR[0.00], GBP[0.00], USD[0.00]

07993661                              BRZ[1], USD[0.08]                                                                                                                                                                       Yes

07993662                              USD[0.00], USDT[2.16096144]                                                                                                                                                             Yes

07993665                              BTC[.00032855]

07993681                              NFT (461605167270770269/Highland Mesa #945)[1], NFT (466118472742762059/Highland Mesa #45)[1], SOL[1.023]

07993686                              BRZ[2], DOGE[1], TRX[12719.53515614], USD[0.00]

07993692                              SHIB[1], TRX[1], USD[228.37]

07993694                              USD[0.00], USDT[0]                                                                                                                                                                      Yes

07993696                              BAT[98], DOGE[338], ETH[.012], ETHW[.012], USD[173.15]

07993697                              CUSDT[1], ETH[.07651874], ETHW[.07556957], LINK[10.70489834], TRX[1], USD[0.00]                                                                                                         Yes

07993699                              USD[0.00], USDT[0.00312867]

07993714                              DOGE[18.01456847], USD[0.00]                                                                                                                                                            Yes

07993718                              BTC[.01635629], CUSDT[1], DOGE[1], TRX[1], USD[47.91]

07993732                              CUSDT[1], SHIB[6801795.67405795], USD[0.00]

07993742                              ETH[2.7423622], ETHW[2.74121041], LINK[539.07236049]                                                                                                                                    Yes

07993749                              USD[10.00]

07993750                              CUSDT[1], SHIB[78170.08530058], USD[5.43]                                                                                                                                               Yes

07993752                              USD[20.00]

07993755                              BCH[.00041884], BTC[.00001614], DOGE[.83296555], ETH[.00005667], ETHW[.00005667], USD[0.29]                                                                                             Yes

07993764                              CUSDT[1], TRX[1], USD[0.01]                                                                                                                                                             Yes

07993769                              CUSDT[1], DOGE[2263.82343168], USD[0.00]                                                                                                                                                Yes

07993771                              DOGE[0], MATIC[10], USD[2.85]

07993776                              DOGE[1], SOL[.04203375], USD[51.70]

07993782                              SOL[0], USD[0.02]

07993796                              BAT[1.01328369], BTC[0], CUSDT[27], DOGE[5], GRT[1], MATIC[0.01498875], NFT (485722292130689842/Barcelona Ticket Stub #1333)[1], NFT (490908248641975333/Saudi Arabia Ticket Stub       Yes
                                      #1114)[1], SHIB[3], USD[0.00], USDT[0]
07993808                              GRT[3], USD[0.10]

07993819                              BCH[.16024241], BTC[.00336708], CUSDT[3], DOGE[1154.00405879], ETH[.02304572], ETHW[.02275844], LINK[3.13088806], TRX[1], USD[632.12]                                                   Yes

07993822                              BTC[.00016175], USD[0.00]                                                                                                                                                               Yes

07993832                              DOGE[518], SHIB[4998000], USD[42.29]

07993870                              BAT[10.6988553], BCH[.03175867], BRZ[60.61364731], BTC[.00016293], CUSDT[495.62842818], DAI[10.78116858], DOGE[394.01688237], ETH[.00239555], ETHW[.00236819], GRT[10.03076626],        Yes
                                      LINK[1.08868528], SHIB[1627944.42330336], SOL[.04473825], TRX[899.4735869], USD[76.69], USDT[10.78440043]
07993871                              BRZ[232.30200377], CUSDT[2.01047668], KSHIB[553.64804683], SHIB[665671.59698883], USD[0.00]                                                                                             Yes

07993874                              SHIB[39889.30693877], USD[0.00]                                                                                                                                                         Yes

07993875                              CUSDT[1], TRX[1667.16632523], USD[0.00]                                                                                                                                                 Yes

07993879                              BRZ[1], BTC[.00044358], CUSDT[5], DOGE[69.44933043], ETH[.00284391], ETHW[.00284391], SHIB[6842474.81513925], SOL[.07993643], TRX[2], USD[0.00]

07993885                              BTC[.00044054], DOGE[1], USD[0.02]

07993891                              BRZ[2], CUSDT[15], GRT[0], KSHIB[0], LTC[.00000482], MATIC[0], NFT (515406420217796308/Eitbit Ape #2952)[1], SHIB[0], SOL[0], SUSHI[0], TRX[0], USD[0.00]                               Yes

07993892                              BRZ[300.6146793], CUSDT[1234.5341382], DOGE[1], SHIB[130639.92567431], TRX[254.84506155], USD[1.09], USDT[.00182275]                                                                    Yes

07993898                              CUSDT[1], KSHIB[352.21377629], TRX[265.8818923], USD[0.00], USDT[54.01308746]                                                                                                           Yes

07993900                              CUSDT[2], SHIB[1157914.00304517], USD[0.00]                                                                                                                                             Yes

07993904                              DOGE[1], SHIB[406281.783274], USD[0.00]                                                                                                                                                 Yes

07993906                              CUSDT[1], USD[0.00]                                                                                                                                                                     Yes

07993907                              USD[20.00]

07993909                              AAVE[.54099095], AVAX[2.02382942], BTC[.01312358], DOGE[2.00297938], ETH[.00000128], ETHW[.00000128], KSHIB[128.56346231], MATIC[468.7475099], SHIB[713172.31313443],                   Yes
                                      SOL[1.16366653], UNI[13.90435902], USD[0.24]
07993918                              AVAX[4.64302637], BRZ[1], BTC[0.03239755], DOGE[1], ETH[.20619302], ETHW[.2059787], NFT (394758713104177709/Entrance Voucher #1293)[1], SHIB[11], SOL[4.96695412], TRX[2], USD[0.00],   Yes
                                      USDT[0]
07993925                              DOGE[1], SHIB[6663113.00639658], USD[0.00]

07993926                              BF_POINT[100], USD[0.01]

07993928                              TRX[1], USD[0.01], USDT[4.48446468]                                                                                                                                                     Yes

07993929                              BTC[0.00507295], USD[0.00]

07993936                              USD[20.00]

07993937       Contingent, Disputed   BTC[.00180884]

07993941                              NFT (486952339968209828/Colossal Cacti #216)[1], USD[5.01]

07993947                              DOGE[1], SOL[.25714952], USD[30.00]

07993967                              BTC[0.00051873], SOL[266.52662], USD[1.15]
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                                                                                                                                         Customer Claims                                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07993971                           BTC[.1042952], USD[0.50]

07993979                           CUSDT[1], KSHIB[0], SOL[.00810408], USD[0.00]                                                                                                                                   Yes

07993983                           CUSDT[1], DOGE[2], NFT (503090668607677814/Mad Lions Series #30)[1], TRX[.00384547], USD[0.00]                                                                                  Yes

07993993                           SHIB[8175704.14755463], TRX[1], USD[0.00]                                                                                                                                       Yes

07993997                           CUSDT[1], DOGE[1], USD[42.22]

07994001                           BRZ[2], DOGE[1], TRX[1], USD[0.00], USDT[0]                                                                                                                                     Yes

07994006                           BAT[1], USD[0.00], USDT[1]

07994021                           BRZ[1], CUSDT[2], DOGE[2], GRT[1], SOL[25.96213246], TRX[2], USD[2.41]                                                                                                          Yes

07994023                           USD[0.10]

07994026                           SOL[.03267187], TRX[1], USD[0.00]                                                                                                                                               Yes

07994037                           SHIB[600000], USD[0.31], USDT[.040771]

07994045                           NFT (556590358584284150/FTX - Off The Grid Miami #896)[1]                                                                                                                       Yes

07994046                           AAVE[.88940395], AVAX[6.2587152], BAT[175.18917787], BRZ[2], CUSDT[174.97051716], DOGE[299.22353315], ETH[.34398259], ETHW[.34383815], GRT[31.44446242], KSHIB[153.24601885],   Yes
                                   LINK[28.13031721], MATIC[1352.51816989], MKR[.01621863], PAXG[.09365416], SHIB[1830632.83881413], SOL[28.48543189], SUSHI[33.559434], TRX[4294.51442369], UNI[13.82052691],
                                   USD[0.01], USDT[369.40309161], YFI[.00234025]
07994049                           ETH[.00246218], ETHW[.00243482], USD[0.00]                                                                                                                                      Yes

07994053                           TRX[1], USD[0.00]

07994059                           CUSDT[8], SHIB[15.21232799], SUSHI[.00000964], TRX[1], USD[0.00], USDT[0]                                                                                                       Yes

07994062                           KSHIB[0], SUSHI[0], USD[0.69]

07994074                           GRT[1.00312819], USD[0.00]                                                                                                                                                      Yes

07994090                           ETH[.00463183], ETHW[0.00463182], SHIB[1300000], USD[1.09]

07994094                           BTC[0], USD[0.00], USDT[0]

07994113                           CUSDT[1], DOGE[24.6054724], KSHIB[30.19647335], SHIB[30802.57907745], USD[0.00]                                                                                                 Yes

07994114                           SHIB[1598260.65723681], USD[0.14]

07994115                           USD[0.24], USDT[0]                                                                                                                                                              Yes

07994118                           USD[20.00]

07994126                           BAT[1], CUSDT[1], DOGE[3], USD[0.01], USDT[0]

07994140                           DOGE[1], SHIB[696884.23788319], USD[0.00]

07994141                           SOL[.6737]

07994148                           BAT[1.01655549], BTC[.0088258], USD[0.00]                                                                                                                                       Yes

07994149                           BTC[0.00000042], NFT (539800644977466215/WuTakenPeople #14)[1], NFT (543503101350859796/Explain This)[1], SHIB[0], USD[0.01]                                                    Yes

07994150                           USD[21.51]                                                                                                                                                                      Yes

07994155                           CUSDT[4], ETH[.03464779], ETHW[.03421886], SOL[.8220258], TRX[1], USD[0.00], USDT[0]                                                                                            Yes

07994163                           NFT (560433289093731262/Australia Ticket Stub #2241)[1], USD[0.00]                                                                                                              Yes

07994168                           USD[21.51]                                                                                                                                                                      Yes

07994178                           BAT[2.08510288], CUSDT[2], DOGE[1], TRX[2], USD[0.00]                                                                                                                           Yes

07994185                           USD[21.51]                                                                                                                                                                      Yes

07994193                           DOGE[2], GRT[1], SHIB[3], USD[0.00]                                                                                                                                             Yes

07994197                           BAT[1.01122069], BRZ[3], CUSDT[42], DOGE[2], GRT[1], SHIB[2], TRX[5], USD[246.58]

07994198                           CUSDT[14], DOGE[3], USD[0.01]                                                                                                                                                   Yes

07994200                           USD[4.70]

07994202                           BTC[.00064503], CUSDT[1], USD[10.86]                                                                                                                                            Yes

07994208                           BTC[.00039441], CUSDT[2], SHIB[34740.31613687], SOL[.08667578], TRX[97.40101937], USD[0.00]

07994210                           BRZ[3], CUSDT[6], DOGE[5], GRT[1], TRX[1], USD[0.00], USDT[1]

07994215                           CUSDT[3405.697671], KSHIB[151.75844789], USD[0.00]

07994223                           BCH[0], CUSDT[7], DOGE[1], MATIC[0], SOL[0], USD[0.00]                                                                                                                          Yes

07994230                           SHIB[795040.4775612], USD[0.01]                                                                                                                                                 Yes

07994232                           CUSDT[3], DAI[4152.61789553], DOGE[1], ETH[.30436253], ETHW[.30417627], USD[429.54], USDT[1.07386032]                                                                           Yes

07994233                           SHIB[503978.48884539], USD[0.00]                                                                                                                                                Yes

07994238                           NFT (387189483114387336/Coachella x FTX Weekend 1 #13683)[1]

07994240                           USD[20.00]

07994251                           SOL[.66]

07994265                           SOL[2.67865872], TRX[1], USD[0.00]                                                                                                                                              Yes

07994273                           CUSDT[3], TRX[1], USD[0.00]                                                                                                                                                     Yes

07994274                           BAT[1], CUSDT[1], GRT[2.00105965], NFT (340696943529481713/Careless Cat #864)[1], NFT (442645268251549878/Careless Cat #898)[1], SHIB[1], TRX[1], USD[0.00], USDT[0]            Yes

07994277                           CUSDT[1], SOL[1.08228307], USD[0.00]                                                                                                                                            Yes

07994278                           BTC[.0000298], USD[2.88]

07994283                           DOGE[99.9], USD[19.91]

07994299                           BTC[.0280639], CUSDT[1], DOGE[4130.4794212], ETH[.11301189], ETHW[.1118987], SHIB[10915476.42194445], SOL[2.38091277], TRX[3], USD[0.06], USDT[1.0796226]                       Yes
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07994304                              USD[0.20]

07994313                              BAT[2.00247776], BRZ[2], BTC[.03271222], CUSDT[2], DAI[158.8591189], DOGE[25474.31310999], ETH[1.44689935], ETHW[1.44629187], GRT[488.29571321], LTC[6.66867293],                      Yes
                                      MATIC[78.65538515], SHIB[63879216.94823263], SOL[73.1466213], TRX[8], USD[0.00], USDT[159.84454793]
07994314                              BRZ[1], CUSDT[3], DOGE[1], ETH[.00000001], SOL[0], TRX[1], USD[0.00]

07994320                              SHIB[3], TRX[1], USD[0.21]                                                                                                                                                             Yes

07994329                              DOGE[0], KSHIB[.01243454], USD[0.00], USDT[0]                                                                                                                                          Yes

07994333                              BRZ[1], BTC[.15130132], CUSDT[11], DOGE[2], ETH[.73713752], ETHW[.54854637], GRT[2.03317654], SHIB[11], TRX[8271.72143235], USD[0.00]                                                  Yes

07994336                              DOGE[1], GRT[1.00298163], TRX[1], USD[0.00]                                                                                                                                            Yes

07994340                              USD[0.96]

07994341                              DOGE[1], SHIB[131096.77467729], USD[1.09]                                                                                                                                              Yes

07994343                              DOGE[4], ETH[0], USD[0.00]                                                                                                                                                             Yes

07994346                              SHIB[1], SOL[.00000002], USD[80.22]                                                                                                                                                    Yes

07994351                              DOGE[2], SOL[0], USD[0.01]                                                                                                                                                             Yes

07994361                              SOL[6.10884044], USD[0.00]

07994363                              CUSDT[1], DOGE[1], GRT[1], SHIB[44883303.41113105], USD[0.00], USDT[1]

07994368                              USD[10.86]                                                                                                                                                                             Yes

07994371                              USD[21.51]                                                                                                                                                                             Yes

07994376                              SOL[1235.11720602], USD[0.00]                                                                                                                                                          Yes

07994380                              BAT[1], BTC[0], CUSDT[36], DOGE[5], ETH[0], EUR[0.00], NFT (330266199837307339/Saudi Arabia Ticket Stub #1764)[1], SHIB[2], SOL[0], SUSHI[1108.78856328], UNI[.00014884], USD[0.00],   Yes
                                      USDT[0]
07994381                              AVAX[.0000101], ETH[.07985755], ETHW[.07882754], MATIC[.00095357], SHIB[2], SOL[.00000565], TRX[2], USD[0.00], USDT[0.00030104], YFI[.00022703]                                        Yes

07994384                              CUSDT[1], SHIB[737226.95838057], USD[0.01]                                                                                                                                             Yes

07994385                              DOGE[1], SHIB[2964195.48668444], USD[0.00]                                                                                                                                             Yes

07994387                              DOGE[1], ETH[.05499827], ETHW[.05431427], SHIB[1], USD[103.75]                                                                                                                         Yes

07994388                              SHIB[447590.88298676], TRX[1], USD[0.00]                                                                                                                                               Yes

07994401                              CUSDT[7], DOGE[1], SHIB[1], TRX[3], USD[0.01]                                                                                                                                          Yes

07994405                              NFT (548702909802320749/Coachella x FTX Weekend 2 #2933)[1], USD[0.00]

07994410                              USD[0.01]

07994421                              SOL[3.28178761], USD[0.00]

07994426                              BTC[.00702537], CUSDT[9], DOGE[3], ETH[.10270737], ETHW[.10165302], SHIB[777553.92386792], TRX[1], USD[0.00]                                                                           Yes

07994430                              CUSDT[1], SHIB[489148.34598381], USD[0.01]                                                                                                                                             Yes

07994433                              TRX[.000002], USD[0.00], USDT[0.00000001]

07994434                              CUSDT[1], USD[0.00]                                                                                                                                                                    Yes

07994450                              BRZ[12.06487025], USD[0.00]                                                                                                                                                            Yes

07994453                              KSHIB[137.04168122], SHIB[148859.63904861], SOL[.05354857], USD[0.00]                                                                                                                  Yes

07994455                              USD[20.00]

07994458       Contingent, Disputed   USD[0.00]

07994462                              BRZ[1], CUSDT[3], DOGE[2], SOL[1.64923639], TRX[1], USD[0.00], USDT[0.00374282]                                                                                                        Yes

07994464                              CUSDT[2], DOGE[510.97648901], SHIB[2060396.65114681], USD[275.81]                                                                                                                      Yes

07994466                              BRZ[1], BTC[.0156116], CUSDT[5], DOGE[3], ETH[.25151173], ETHW[.25131853], GRT[1], MATIC[212.55438556], TRX[2], USD[0.00]                                                              Yes

07994476                              SHIB[1367733.99014778], USD[0.04]

07994482                              SHIB[6893100], USD[6.25]

07994484                              USD[0.00]

07994487                              USD[5.43]                                                                                                                                                                              Yes

07994492                              USD[20.00]

07994493                              SOL[2.88972834], USD[0.00]                                                                                                                                                             Yes

07994512                              USD[4.29]

07994513                              SHIB[7], TRX[1], USD[523.05]

07994516                              USD[20.00]

07994520                              BTC[.0025099], DOGE[2], LTC[.99730877], SHIB[1], TRX[1], USD[122.60]

07994524                              CUSDT[1], ETH[.00495938], ETHW[.00489829], USD[0.00]                                                                                                                                   Yes

07994549                              BAT[1.0165555], BTC[.00436133], TRX[1], USD[0.01]                                                                                                                                      Yes

07994552                              BRZ[1], BTC[.00003322], CUSDT[1], DOGE[1], USD[0.00]

07994553                              ALGO[.184889], BCH[.00162676], BRZ[1], LTC[.00366305], NFT (306593234782440722/Saudi Arabia Ticket Stub #445)[1], NFT (326371404895183306/The Hill by FTX #8737)[1], NFT               Yes
                                      (340654841631439358/Barcelona Ticket Stub #705)[1], NFT (351106174195105311/Austin Ticket Stub #137)[1], NFT (369706774219454680/Japan Ticket Stub #108)[1], NFT
                                      (413184103690142554/Mexico Ticket Stub #106)[1], NFT (413896341166468518/Singapore Ticket Stub #130)[1], NFT (416321219185752416/FTX Crypto Cup 2022 Key #26685)[1], NFT
                                      (461780639703292218/FTX - Off The Grid Miami #2302)[1], SHIB[227601616.09393035], USD[-1085.34], USDT[0]
07994568                              DOGE[7], USD[0.29], USDT[0]

07994570                              USD[20.00]

07994571                              ETHW[.00025015], USD[0.00]

07994578                              CUSDT[1], TRX[426.73396861], USD[0.00]                                                                                                                                                 Yes
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                                                                                                                                          Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07994585                           USD[20.00]

07994590                           USD[20.00]

07994591                           SHIB[2], SOL[1], USD[0.36]

07994593                           SOL[1.2240625]                                                                                                                                                                     Yes

07994598                           ETHW[24.23064335], TRX[.000075], USD[0.00], USDT[0]

07994605                           AAVE[2.45870921], NFT (387565837239202937/FTX - Off The Grid Miami #2841)[1]                                                                                                       Yes

07994611                           SOL[.0000325]                                                                                                                                                                      Yes

07994621                           BTC[.00180883], USD[0.00]

07994625                           CUSDT[1], NFT (499579302592098560/Shannon Sharpe's Playbook: Baltimore Ravens vs. Oakland Raiders - January 14, 2001 #85)[1], SOL[1.09637065], TRX[453.88484931], USD[1.00]

07994632                           USD[0.00]

07994664                           KSHIB[8695.35728788], TRX[1], USD[0.00]

07994675                           GRT[.1176], USD[0.01], USDT[0]

07994676                           SHIB[1], USDT[0.00000643]

07994679                           USD[20.00]

07994698                           USD[100.00]

07994711                           SHIB[6532532.00940684], TRX[1], USD[0.00]

07994716                           BTC[.00208867], SHIB[17815528.31009503], TRX[947.75961827], USD[0.00], USDT[52.71043077]

07994720                           BAT[1.01338544], BTC[.07357089], DOGE[3], ETH[.2615526], ETHW[.26135901], SHIB[10712108.36405824], SOL[2.43095658], TRX[2], USD[1.18]                                              Yes

07994727                           SHIB[85.27008618], USD[0.00]                                                                                                                                                       Yes

07994729                           USD[21.51]                                                                                                                                                                         Yes

07994735                           USD[5.00]

07994747                           ETH[.00000275], ETHW[.00000275]                                                                                                                                                    Yes

07994748                           NFT (550130875215491110/Entrance Voucher #2682)[1]

07994754                           BF_POINT[100], PAXG[.14696259], USD[0.44]                                                                                                                                          Yes

07994755                           BTC[.04652028], CUSDT[3], DOGE[3], ETH[.30958401], ETHW[.30940006], LTC[1.07852874], SHIB[3], SOL[1.55926751], TRX[1], USD[163.65]                                                 Yes

07994777                           ETH[.00747975], ETHW[.00747975], NFT (307634123445374909/Crypto Campus Mint Pass 5 )[1], NFT (343488237298537415/Crypto Campus Mint Pass 4 )[1], NFT (461912394524634790/Crypto
                                   Campus Mint Pass 5)[1], NFT (468107257822653914/Crypto Campus Mint Pass 2)[1], NFT (505423835950229080/Crypto Campus Mint Pass 3)[1], NFT (523397137931518411/Crypto Campus Mint
                                   Pass 4)[1], NFT (572079801998393778/Crypto Campus Mint Pass 1)[1], SUSHI[2.5], USD[0.00]
07994778                           CUSDT[547.60957498], TRX[2], USD[0.00]                                                                                                                                             Yes

07994779                           USD[3.85]

07994789                           AAVE[0], BTC[0.00000260], ETH[0.00044100], ETHW[0.00083100], USD[4571.11], USDT[0]

07994796                           USD[1.15]

07994799                           USD[0.00], USDT[9.94506732]

07994805                           BRZ[1], SHIB[3286039.58808879], USD[0.01]                                                                                                                                          Yes

07994812                           SHIB[29848.86043495], USD[0.00], USDT[0]

07994813                           USD[20.00]

07994819                           BTC[.00016623], CUSDT[8], DOGE[46.42390032], ETH[.00022863], ETHW[.00022863], LINK[.3706465], SHIB[965455.32823964], SOL[.00432261], USD[0.00]                                     Yes

07994820                           USD[0.84]

07994822                           ETH[0], MATIC[0], USD[0.00]                                                                                                                                                        Yes

07994825                           DOGE[1], SHIB[2717757.03788245], USD[0.00]                                                                                                                                         Yes

07994828                           BAT[1], DOGE[3], SHIB[1], TRX[6], USD[64.06]                                                                                                                                       Yes

07994837                           BTC[.00161052], USD[0.00]

07994871                           SOL[0.00654140]

07994872                           ETH[.00000012], ETHW[.00000012], NFT (363052088578542313/88rising Sky Challenge - Coin #308)[1], NFT (449201660025223749/Coachella x FTX Weekend 2 #1766)[1], SHIB[1], USD[0.00]   Yes

07994873                           USD[20.00]

07994878                           KSHIB[1298.765], SHIB[1500000], USD[5.03]

07994887                           BRZ[1], BTC[.02383473], ETH[.31427274], NEAR[159.10039355], SUSHI[284.02625764], TRX[3], USD[0.00]                                                                                 Yes

07994889                           USD[0.00]

07994898                           SHIB[50160.68700213], USD[0.00], USDT[0]                                                                                                                                           Yes

07994899                           USD[20.00]

07994913                           NFT (539475639194239022/Lunarian #2550)[1], SOL[.00000968]                                                                                                                         Yes

07994922                           CUSDT[2], SHIB[57.53672136], TRX[1], USD[0.03]                                                                                                                                     Yes

07994928                           BAT[0], BF_POINT[3300], BTC[0], DOGE[0], ETH[0], ETHW[0], LINK[0], LTC[0], MATIC[0], SHIB[0.62640660], SOL[0], SUSHI[0], USD[8.48], YFI[0]                                         Yes

07994932                           TRX[.818474], USDT[2.5123912]

07994947                           BAT[1.00192488], BF_POINT[200], BRZ[1], CUSDT[3], MATIC[.00000001], SOL[.00000002], TRX[2], USD[0.00], USDT[0]                                                                     Yes

07994949                           KSHIB[9.86], SHIB[0], USD[0.96]

07994953                           USD[53.78]                                                                                                                                                                         Yes

07994965                           NFT (414399775065235468/Microphone #5582)[1]

07994966                           CUSDT[1], ETH[.00271635], ETHW[.00268899], USD[0.00]                                                                                                                               Yes
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                                                                                                                                         Customer Claims                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07994971                           USD[0.00]

07994981                           BRZ[1], BTC[.00000085], SOL[.00000001], USD[0.00]                                                                                                                         Yes

07994987                           BTC[.0002344], CUSDT[3], MATIC[.0126989], SHIB[.82413543], SOL[.0000006], USD[0.00], USDT[0]                                                                              Yes

07994996                           AAVE[0], AVAX[0.09201321], BAT[0], BCH[0], BTC[0], CUSDT[0], DOGE[0], ETH[0], GRT[0], KSHIB[0], SHIB[0], SOL[0], TRX[0], USD[0.00], USDT[0]                               Yes

07994999                           CUSDT[1], DOGE[1], GRT[1.00019173], USD[0.00]                                                                                                                             Yes

07995005                           CUSDT[4], USD[0.00]

07995013                           BTC[.00016456], NFT (378185517419851221/Hype Santas NFT #273)[1], NFT (569843460708417934/Hype Santas NFT #275)[1]                                                        Yes

07995024                           BRZ[3], NFT (560721992593568641/Imola Ticket Stub #2242)[1], SHIB[20837358.10227546], USD[0.00]                                                                           Yes

07995028                           DOGE[1], SHIB[1450747.1347744], USD[0.00]

07995032                           USD[543.17]                                                                                                                                                               Yes

07995043                           ETHW[.000386], USD[0.00]

07995046                           BCH[1.99426574], BRZ[5.0588826], BTC[0], CUSDT[6], DOGE[2667.65249368], ETH[0], ETHW[0], LINK[10.83476738], SHIB[4389699.52346514], SOL[5.16795752], TRX[7], USD[0.00],   Yes
                                   USDT[1.04700728]
07995054                           SOL[8.21749836], TRX[1], USD[0.00]                                                                                                                                        Yes

07995062                           DOGE[1], USD[0.00]

07995065                           USD[10.00]

07995066                           NFT (415935190659595743/Microphone #4138)[1]

07995068                           CUSDT[3], ETH[0], ETHW[0.02286861], LTC[0], SHIB[2], TRX[3], USD[124.99]                                                                                                  Yes

07995074                           USD[107.97]                                                                                                                                                               Yes

07995084                           DOGE[1], SOL[.00170707], TRX[1], USD[0.00]                                                                                                                                Yes

07995093                           USD[0.18]                                                                                                                                                                 Yes

07995094                           CUSDT[3], DOGE[362.85130509], SHIB[2413874.4567108], USD[0.02]

07995096                           CUSDT[2], DOGE[2], MATIC[403.56371855], SHIB[9746266.3421], SOL[1.26], TRX[2], USD[0.00], USDT[0]

07995113                           USD[0.00]

07995122                           BTC[.00690055], DOGE[2], TRX[1], USD[0.00]

07995126                           CUSDT[594.51367482], DOGE[.00001767], SHIB[3130.78420703], TRX[1], USD[0.66]                                                                                              Yes

07995142                           BTC[.089226], ETH[.000853], ETHW[.000853], USD[0.71]

07995152                           LINK[28.11457853], SHIB[104048839.70215478], USD[0.00]                                                                                                                    Yes

07995156                           CUSDT[3411.16821223], DOGE[3], MATIC[62.46389618], SHIB[3007565.47133101], USD[0.01]

07995163                           BRZ[2], CUSDT[5], DOGE[1], MATIC[.00001573], SHIB[1], TRX[3], USD[0.01], USDT[1]

07995178                           DOGE[1], TRX[1], USDT[0]                                                                                                                                                  Yes

07995181                           BTC[.00888188], CUSDT[4], ETH[.07053644], ETHW[.07053644], GRT[1], SHIB[2807805.69984557], TRX[1], USD[0.00]

07995193                           BTC[0], SOL[0.70018316], TRX[0], USD[1.33]

07995196                           CUSDT[1], USD[70.50]                                                                                                                                                      Yes

07995198                           CUSDT[1], LINK[8.20496407], SOL[1.27190744], TRX[1], USD[0.00]

07995210                           USD[63.13]

07995211                           DOGE[1], USD[0.00]                                                                                                                                                        Yes

07995212                           USD[0.34]                                                                                                                                                                 Yes

07995213                           CUSDT[5], DOGE[3], EUR[23.09], GRT[11.59570652], LTC[.13061346], SHIB[2], SOL[.65004436], USD[1.19]                                                                       Yes

07995218                           CUSDT[4], DOGE[1], MATIC[25.77110285], SHIB[1937932.9494528], USD[0.00]

07995223                           CUSDT[1], ETH[.00489321], ETHW[.00483849], USD[0.00]                                                                                                                      Yes

07995226                           NFT (308838546507181269/Nifty Nanas #5444)[1], SOL[.01200975]

07995228                           AUD[17.86], CAD[13.45], DOGE[93.9066641], ETH[.02336463], ETHW[.02307735], EUR[0.00], KSHIB[1250.8621638], SHIB[4318709.87255247], TRX[2], USD[57.06]                     Yes

07995231                           CUSDT[3], ETH[.00000095], ETHW[.00000095], GRT[1.00190138], TRX[1], USD[0.00]                                                                                             Yes

07995233                           NFT (530987701272507012/Entrance Voucher #10759)[1]

07995240                           USD[0.01]

07995242                           WBTC[0]

07995247                           BF_POINT[200], SHIB[1], TRX[142.41957171], USD[0.00]                                                                                                                      Yes

07995249                           CUSDT[1], ETH[.0000001], ETHW[.0000001], SHIB[.6247692], USD[0.00]                                                                                                        Yes

07995266                           ETHW[12.60137007], USD[23642.11]

07995272                           BAT[1.0165555], CUSDT[2], SHIB[12716206.99737096], TRX[1], USD[0.00]                                                                                                      Yes

07995275                           USD[0.00]                                                                                                                                                                 Yes

07995288                           DAI[0], ETH[0.00007532], ETHW[0.00007532], NFT (415293499336825280/Fur man #2)[1], NFT (519992056276631248/Fur man)[1], NFT (573579969788161172/Robot series)[1],
                                   SHIB[62119.14117847], SOL[0.14671283], USD[0.00]
07995296                           USD[40.01]

07995302                           CUSDT[3], DOGE[146.20956735], LINK[1.38255978], SHIB[285927.54877152], USD[0.00]                                                                                          Yes

07995308                           BRZ[3], BTC[.00000491], CUSDT[8], DOGE[6], ETH[0.00000990], ETHW[1.23947563], GRT[1], LINK[2.48114352], SHIB[3], SOL[5.23369401], TRX[6], USD[0.00]                       Yes

07995311                           SHIB[60424795.63612563], USD[0.00]                                                                                                                                        Yes

07995318                           USD[0.00]

07995319                           ETH[.07294721], ETHW[.0720424], TRX[1], USD[0.00]                                                                                                                         Yes
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                                                                                                                                         Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07995326                           CUSDT[2], SHIB[983630.40276596], USD[70.14]                                                                                                                                             Yes

07995327                           SHIB[1744946.92453104], USD[0.01]

07995330                           DOGE[1], SHIB[1], USD[125.23]                                                                                                                                                           Yes

07995335                           CUSDT[4], TRX[2236.05028306], USD[0.00]

07995338                           AVAX[.00000001], MATIC[0.28925271], USD[0.00], USDT[0]                                                                                                                                  Yes

07995349                           BTC[0.00004533], ETH[.00000007], ETHW[.00000007], SOL[0], USD[0.00]                                                                                                                     Yes

07995353                           CUSDT[2], ETH[.0607578], ETHW[.0600054], SHIB[3717314.46093982], USD[0.00]                                                                                                              Yes

07995355                           BTC[.00034539], CUSDT[1], TRX[93.77075987], USD[0.00]                                                                                                                                   Yes

07995364                           USD[0.00]

07995370                           CUSDT[1], DOGE[1], NFT (473158635874693892/Sloth #1613)[1], SOL[.91100311], USD[0.02]                                                                                                   Yes

07995375                           NFT (289783447169410272/Oink 1041)[1], NFT (291472804191761330/3D SOLDIER #3899)[1], NFT (292316133770544915/Fancy Frenchies #1207)[1], NFT (293295660027362193/2D SOLDIER
                                   #2047)[1], NFT (293448655755096979/PixelPuffins #1619)[1], NFT (294735563890061933/David #161)[1], NFT (294994345971640113/CryptoPet #9687)[1], NFT (295438618173530189/2D SOLDIER
                                   #1517)[1], NFT (295884790462540894/Rat Bastard #3493)[1], NFT (296234038341633184/Roamer #371)[1], NFT (297942531718930475/PixelPuffins #6374)[1], NFT (299699740070771809/Cyber
                                   Technician 3380)[1], NFT (300082287701827574/Munk #892)[1], NFT (303017126475752745/Roamer #375)[1], NFT (303029318454518059/Sloth #6619)[1], NFT (303077911658259247/CryptoPet
                                   #9799)[1], NFT (303576233898393316/#0019 Baby)[1], NFT (304295742090165697/Joylina's Cantina S1 #7578)[1], NFT (304812928172362819/Elysian - #4641)[1], NFT
                                   (305131429380083908/PixelPuffins #533)[1], NFT (306004184607045566/Solbucks Brew Club #5247)[1], NFT (306352574222366556/BrokenMaze-750)[1], NFT (306718334823663078/Eitbit Ape
                                   #7636)[1], NFT (307750823623855076/Synesthesia #410)[1], NFT (307898028021565914/Gangster Gorillas #5465)[1], NFT (308072347386699627/DarkPunk #4430)[1], NFT
                                   (308477934366403133/Belugie #7754)[1], NFT (310782070399640904/Sloth #7074)[1], NFT (311406921232221444/PixelPuffins #4261)[1], NFT (311648809624646266/gmoot bag #7581)[1], NFT
                                   (311896791301647535/SharkBro #4140)[1], NFT (312239207811828216/Nifty Nanas #7997)[1], NFT (312387472218647905/SharkBro #4330)[1], NFT (312443909712869998/Entrance Voucher
                                   #6224)[1], NFT (313020923372540438/Elysian - #3816)[1], NFT (313096061996424941/Fancy Frenchies #5655)[1], NFT (313815294773995129/Panda Fraternity #3149)[1], NFT
                                   (314403129498082395/DarkPunk #3956)[1], NFT (315201984898714806/Roamer #784)[1], NFT (315205227712620511/Lunarian #6196)[1], NFT (315289121124350440/KAM1 #4650)[1], NFT
                                   (316498491708236097/CryptoPet #5611)[1], NFT (317666558963950514/SharkBro #8686)[1], NFT (317926878481917173/UNQ Universe | Ship #4291)[1], NFT (319970071093128448/Blue Monday)[1],
                                   NFT (322081135082064271/Eitbit Ape #3662)[1], NFT (323277024764942441/Bull #725)[1], NFT (325059277960314807/Belugie #2550)[1], NFT (326158882366123422/556)[1], NFT
                                   (326498969993233592/Lunarian #4011)[1], NFT (326712564285942692/Autumn 2021 #884)[1], NFT (327108466943514884/Gangster Gorillas #6714)[1], NFT (327108513039059846/Solbucks Brew
                                   Club #142)[1], NFT (327407119220940133/Whales Nation #1647)[1], NFT (327778839133296422/Cow #2808)[1], NFT (328222206755522676/Joylina's Cantina S1 #3700)[1], NFT
                                   (328893065533244126/Toasty Turts #2918)[1], NFT (329861291625781481/Anti Social Bot #2253)[1], NFT (331086430890710877/Joylina's Cantina S1 #4695)[1], NFT (331415044054855309/Lunarian
                                   #6645)[1], NFT (331587219252474279/Inverse Bear 3D #3048)[1], NFT (332004521064219816/Sloth #6913)[1], NFT (333027404835757866/Bull #690)[1], NFT (334646643640079516/DarkPunk
                                   #8495)[1], NFT (335218541358807015/Flutter #582)[1], NFT (337437077969086200/Careless Cat #776)[1], NFT (337497841343002095/LightPunk #1073)[1], NFT (337531562640574742/#6645 Inverse
                                   Bear)[1], NFT (337712870469872630/#2966)[1], NFT (338213739930904374/Cool Bean #4225)[1], NFT (339146430971390867/Gangster Gorillas #3028)[1], NFT (342472402587591382/Bull #268)[1],
                                   NFT (342599507361844640/BrokenMaze-968)[1], NFT (342653272118264585/SolWarrior #3174)[1], NFT (344650623175538967/Rogue Circuits #4782)[1], NFT (344741082165307459/Sigma Shark
                                   #4206)[1], NFT (345385755294887609/Toasty Turts #2276)[1], NFT (345825874543916591/The Tower #160-19)[1], NFT (346998876743450601/Inverse Bear 3D #7135)[1], NFT
                                   (347061533438817085/Solana Squirrel #159)[1], NFT (349467010613927827/PixelPuffins #6011)[1], NFT (350804164382300311/Synesthesia #539)[1], NFT (350997639012997758/Sloth #5250)[1], NFT
                                   (351542664446986472/Danerob Collection #2650)[1], NFT (351860261628041217/Rogue Circuits #4676)[1], NFT (351861477009397375/Gangster Gorillas #2961)[1], NFT (352339131248285194/Cool
                                   Bean #2670)[1], NFT (352619972948210765/Solana Squirrel #583)[1], NFT (353222749487697686/gmoot bag #6129)[1], NFT (353640111388969899/Geomendrian 326)[1], NFT
                                   (353929203685341480/Roamer #144)[1], NFT (354447502504131492/David #402)[1], NFT (354556398740312236/Solana Squirrel #1994)[1], NFT (355168305663055233/SharkBro #5045)[1], NFT
                                   (355887774416461363/SharkBro #3837)[1], NFT (357264261779471319/Gangster Gorillas #7112)[1], NFT (358381769638749472/Skeleton Glock #10)[1], NFT (360031133391011644/#478)[1], NFT
                                   (360627292941098492/Roamer #979)[1], NFT (361554216733611552/Synesthesia #210)[1], NFT (361713532934239081/SolSister #03500)[1], NFT (362712193594840475/SolDad #4695)[1], NFT
                                   (363116399617164028/Joylina's Cantina S1 #5500)[1], NFT (363261406587853346/PixelPuffins #5857)[1], NFT (363302413346205914/David #646)[1], NFT (363452570830988442/Solana Squirrel
                                   #316)[1], NFT (364497341444069306/Gangster Gorillas #368)[1], NFT (364799886437966622/Anti Social Bot #654)[1], NFT (365247583814850469/Wilhelm Fishaxe)[1], NFT
                                   (365520049577627002/PixelPuffins #2755)[1], NFT (367376444787759158/Munk #99)[1], NFT (368323343964597138/Gangster Gorillas #4741)[1], NFT (368797234081754256/Jada of the Dead)[1],
                                   NFT (369139488148301883/Panda Fraternity #1308)[1], NFT (369460099881750132/Flame Orc)[1], NFT (370143348495306236/Solana Squirrel #930)[1], NFT (371613805189174285/Gangster Gorillas
                                   #7492)[1], NFT (371700042913189896/#9961 Inverse Bear)[1], NFT (371859305276982129/Roamer #123)[1], NFT (372421150039883024/Metabaes #467)[1], NFT (372713586384308747/#162)[1], NFT
                                   (373774666839893914/Solana Islands #651)[1], NFT (374577604265333759/SolDad #5308)[1], NFT (374715699708827032/Panda Fraternity #3084)[1], NFT (374777960709634370/Elysian - #499)[1],
                                   NFT (374934045419745306/Sloth #0391)[1], NFT (375287973762062127/SharkBro #3099)[1], NFT (375433247322025485/Cyber Technician 4774)[1], NFT (375760709925397648/Sloth #5631)[1], NFT
                                   (375892488611448903/Synesthesia #576)[1], NFT (376914886647566461/Fancy Frenchies #1692)[1], NFT (376980085412941220/Bull #679)[1], NFT (377376117249387239/Solana Squirrel #338)[1],
                                   NFT (379372427165331973/The Tower #344-20)[1], NFT (379726555671794499/Skeleton Chainsaw #953)[1], NFT (379975366887605337/SharkBro #4829)[1], NFT (380952012540681050/Solana
                                   Islands #924)[1], NFT (381103805932724971/Cyber Technician 4903)[1], NFT (384556144267283493/SolWarrior #3177)[1], NFT (384797848915462072/Inverse Bear 3D #1518)[1], NFT
                                   (385790378634722621/Cyber Technician 4065)[1], NFT (385808733951666626/#0459 Elf)[1], NFT (385834786414708605/Chanty #526)[1], NFT (386653688252876967/Elysian - #5080)[1], NFT
                                   (387011307575918832/Sol Lion #4022)[1], NFT (387219218941475629/#300)[1], NFT (387274492537267754/Reclaimed Tower #206)[1], NFT (387597567351263315/Inverse Bear 3D #7348)[1], NFT
                                   (387993813898302275/Gangster Gorillas #9926)[1], NFT (388854294839613026/Cool Bean #147)[1], NFT (389488735696278043/Solana Islands #1523)[1], NFT (389762621418874465/Zandra)[1], NFT
                                   (391129877944483988/Anti Social Bot #103)[1], NFT (391682464423998528/DarkPunk #8903)[1], NFT (392020890164973682/DarkPunk #7957)[1], NFT (394065317249913511/Gangster Gorillas
                                   #4947)[1], NFT (395022310952187585/Synesthesia #698)[1], NFT (396500689505884330/UNQ Universe | Ruby #1767)[1], NFT (396642716688335742/Careless Cat #660)[1], NFT
                                   (397143770171520429/JungleCats #0614)[1], NFT (397439244515302704/Oink 1129)[1], NFT (397624263870015358/SharkBro #1185)[1], NFT (397943682511651844/Cyber Technician 1510)[1], NFT
                                   (398142989663207914/Joylina's Cantina S1 #4280)[1], NFT (399352336887744667/Sol Lion #2179)[1], NFT (399584298396549823/Sol Lion #4337)[1], NFT (401538946858363314/Synesthesia
                                   #1094)[1], NFT (401689304434789583/David #737)[1], NFT (401851231993956813/JungleCats #1541)[1], NFT (402130362568686724/Cool Bean #2870)[1], NFT (402369888703881622/CryptoPet
                                   #7065)[1], NFT (403601898682153953/PixelPuffins #3519)[1], NFT (403692260674350330/Metabaes #6685)[1], NFT (404095956880634107/JungleCats #1600)[1], NFT (404593125093541844/Gangster
                                   Gorillas #3291)[1], NFT (404621650136230611/Oink 165)[1], NFT (405716963503891284/Metabaes #7839)[1], NFT (405748953139085557/Eitbit Ape #885)[1], NFT (405804588189773303/Necropirate
                                   #743)[1], NFT (406004743651710943/Flutter #42)[1], NFT (406243863882565317/Munk #2001)[1], NFT (406900162414998562/SolSister #06560)[1], NFT (407326271301657583/Gangster Gorillas
                                   #7570)[1], NFT (407683149971836421/SolFractal #5842)[1], NFT (407850284108883391/Munk #1674)[1], NFT (408785382129108555/Munk #2683)[1], NFT (409113283309267287/Bull #1899)[1], NFT
                                   (410317749356771586/Gangster Gorillas #68)[1], NFT (410519848779871162/PixelPuffins #4822)[1], NFT (410989490244635147/Nifty Nanas #3519)[1], NFT (412383635869903692/Synesthesia
                                   #244)[1], NFT (413145956555172659/Gangster Gorillas #5687)[1], NFT (413380130800487585/Rat Bastard #4921)[1], NFT (413684669687490801/Toasty Turts #2548)[1], NFT
07995378                           BAT[1.00941386], BRZ[2], CUSDT[1], DOGE[1], MATIC[114.54290191], SHIB[69617812.19725528], TRX[2], USD[3.31]                                                                              Yes

07995379                           USD[20.00]

07995384                           CUSDT[1], USD[0.00]

07995385                           BTC[.00073602], CUSDT[6], DOGE[1], LTC[.00000143], SHIB[2779160.77208023], TRX[2], USD[115.38]                                                                                          Yes

07995386                           NFT (506192591054007259/FTX - Off The Grid Miami #733)[1]

07995392                           BAT[10.86468444], CUSDT[6], DOGE[21.72789228], KSHIB[68.38207197], MATIC[1.04205168], SHIB[73886.01294036], TRX[2.0000237], USD[0.00]                                                   Yes

07995393                           BTC[.00000583]                                                                                                                                                                          Yes

07995397                           USD[20.00]

07995399                           CUSDT[65.57898643], NFT (530678752203337225/U.S Presidents Limited 100 #5)[1], SHIB[1], TRX[0], USD[25.34]                                                                              Yes

07995402                           CUSDT[2], TRX[384.84261831], USD[0.00]                                                                                                                                                  Yes

07995408                           TRX[.01011853], USD[0.99]

07995414                           BTC[.00093357], SHIB[1100000], USD[5.42]

07995416                           CUSDT[1], SHIB[3167971.24094077], TRX[1], USD[6.61]                                                                                                                                     Yes

07995423                           CUSDT[1], USD[0.00]

07995427                           CUSDT[1], SHIB[943941.10985277], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07995428                           BTC[.12712217], USD[211.81]                                                                                                                                                            Yes

07995455                           CUSDT[5], SOL[.20950986], USD[0.00]                                                                                                                                                    Yes

07995460                           USD[108.63]                                                                                                                                                                            Yes

07995462                           BRZ[1], CUSDT[1], DOGE[2], GRT[11.13986626], KSHIB[1328.64640029], MATIC[94.89935905], SHIB[9508931.54373635], TRX[1], USD[0.01]                                                       Yes

07995463                           CUSDT[52.70652607], GRT[0.00045086], KSHIB[0], SOL[0], USD[0.00]                                                                                                                       Yes

07995465                           BF_POINT[100], SHIB[763184.9767963], USD[0.01]                                                                                                                                         Yes

07995467                           CUSDT[4], DOGE[42.75005458], KSHIB[720.80163363], SHIB[719059.59816629], TRX[91.55351948], USD[0.00]

07995468                           CUSDT[3], TRX[1], USD[0.00]                                                                                                                                                            Yes

07995470                           ETHW[.04379965], USD[0.00], USDT[1]

07995478                           USD[150.00]

07995483                           BF_POINT[300], CUSDT[3], SHIB[4554136.39604312], USD[0.00]                                                                                                                             Yes

07995488                           USD[0.97]

07995489                           CUSDT[4], DOGE[247.5742299], ETH[.00495509], ETHW[.00489486], SHIB[1397318.1833024], TRX[111.77528705], USD[0.00]                                                                      Yes

07995492                           BTC[.00020537], CUSDT[1], SOL[.17138727], USD[0.00]                                                                                                                                    Yes

07995515                           BRZ[1], CUSDT[1], KSHIB[0], MATIC[0.00415713], SHIB[18303854.40511138], TRX[3], USD[0.00]                                                                                              Yes

07995518                           SOL[4.81672502]                                                                                                                                                                        Yes

07995520                           CUSDT[1], SHIB[720426.18241973], USD[0.00]                                                                                                                                             Yes

07995522                           USDT[0.00000001]

07995525                           SHIB[305181.55530074], USD[108.63]                                                                                                                                                     Yes

07995530                           BTC[0], MATIC[0], USD[0.00]

07995532                           ETH[.00000057], ETHW[.06189419], SHIB[1], USD[69.24]                                                                                                                                   Yes

07995537                           BTC[.01153395], CUSDT[2], DOGE[1], ETH[.06852981], ETHW[.06768019], SHIB[1], TRX[3], USD[274.10]                                                                                       Yes

07995539                           NFT (329005749444284002/Penguin Brawler #2929)[1], NFT (359411100336686132/Colossal Cacti #891)[1], NFT (378982437387941861/Sun Set #496)[1], NFT (548586515265343324/#451)[1],
                                   USD[13.18]
07995540                           GRT[.00003064], SHIB[134879.95683841], USD[1.64]

07995548                           USD[0.01]                                                                                                                                                                              Yes

07995554                           SHIB[0], SOL[0], USD[0.01]                                                                                                                                                             Yes

07995555                           ETH[0], ETHW[0.00792330], NFT (294394938154742294/Warriors 75th Anniversary City Edition Diamond #1578)[1], NFT (301669327236483832/Warriors 75th Anniversary Icon Edition Diamond
                                   #1330)[1], NFT (320481519173757231/Sea Dubs Inaugural NFT #61)[1], NFT (341352090888322244/Good Boy #25)[1], NFT (356436539856032496/MagicEden Vaults)[1], NFT
                                   (413574902747723436/Good Boy #229)[1], NFT (430919459135176692/MagicEden Vaults)[1], NFT (436825645995107202/GSW Western Conference Finals Commemorative Banner #1264)[1], NFT
                                   (442887022310344880/Good Boy #301)[1], NFT (443638063269581186/Miami Ticket Stub #963)[1], NFT (482476109961698689/MagicEden Vaults)[1], NFT (483360943798623862/MagicEden
                                   Vaults)[1], NFT (547127865015601879/Romeo #1276)[1], SOL[0], USD[2.49], USDT[0.00000423]
07995559                           CUSDT[1], USD[0.00]

07995567                           NFT (319730289516698335/Voxel Animals #5)[1], NFT (442540536070171185/Voxel Animals)[1], NFT (487505313169945886/Voxel Animals #2)[1], NFT (529574370385071397/Voxel Animals #3)[1],
                                   NFT (549024692049123110/Voxel Animals #4)[1], NFT (565781995004169109/1964 Chevy Impala Interior #2 of 3)[1], TRX[.00000001], USD[0.06]
07995572                           CUSDT[1], KSHIB[702.72133051], USD[0.00]                                                                                                                                               Yes

07995578                           USD[0.00], USDT[0]

07995579                           USD[20.00]

07995582                           USD[0.00]                                                                                                                                                                              Yes

07995595                           SHIB[5723857.69602812], USD[0.00]

07995599                           MATIC[49.95], SHIB[4995000], USD[3.13]

07995608                           CUSDT[3], DOGE[1], ETH[.06089609], ETHW[.06089609], SOL[1.00137252], USD[2.36]

07995618                           DOGE[2], MATIC[.00209055], SHIB[0.00000004], USD[0.01], USDT[1.08619914]                                                                                                               Yes

07995635                           BRZ[0], CUSDT[0], TRX[0], USD[0.00]                                                                                                                                                    Yes

07995648                           BRZ[1], CUSDT[3], DOGE[1758.87158116], KSHIB[1982.66830672], LTC[2.19765149], SHIB[1968891.51407757], SOL[2.03717744], USD[0.00], USDT[1]

07995656                           DOGE[1], SHIB[815190.5322084], USD[0.01]                                                                                                                                               Yes

07995679                           USD[0.00]

07995683                           KSHIB[134.16670535], USD[27.16]                                                                                                                                                        Yes

07995687                           SHIB[0], USD[0.00]                                                                                                                                                                     Yes

07995689                           BCH[0], GRT[0], NFT (293283248013213750/Sigma Shark #4102)[1], NFT (330304426663555673/Sigma Shark #3391)[1], NFT (339673259456149073/Sigma Shark #5753)[1], NFT                       Yes
                                   (346161995427850662/Sigma Shark #5385)[1], NFT (388279480819362936/Sigma Shark #3348)[1], NFT (389920732842821602/Nobu Sensei #146)[1], NFT (416622985899685531/Sigma Shark
                                   #6082)[1], NFT (447168039266400879/Sigma Shark #5973)[1], NFT (467563828707557029/Nobu Sensei #444)[1], NFT (476303552489200481/Nobu Sensei #924)[1], NFT (487749626512108262/Nobu
                                   Sensei #891)[1], NFT (511382830512388480/Nobu Sensei #370)[1], NFT (544489356128526482/Nobu Sensei #659)[1], NFT (548496436281484346/Entrance Voucher #1836)[1], SHIB[1],
                                   SOL[0.00300000], TRX[2], USD[0.00]
07995690                           SOL[2.51], USD[0.95]

07995693                           LINK[.08895436], USD[0.50]

07995694                           BTC[0], ETH[0], ETHW[0.04606511], SOL[.00000001], USD[0.00], USDT[0.00000985]

07995697                           CUSDT[1], ETH[.00622474], ETHW[.00614266], USD[0.00]                                                                                                                                   Yes

07995700                           CUSDT[2], DOGE[26.82382967], KSHIB[307.11771094], SHIB[2984545.13001677], USD[0.00]                                                                                                    Yes

07995704                           ETHW[.66038375], NFT (305988741301530891/Fancy Frenchies #2472)[1], NFT (326601777588847838/Fancy Frenchies #9191)[1], SHIB[1], USD[288.65]                                            Yes

07995705                           CUSDT[1], SOL[7.80058226], USD[0.00]                                                                                                                                                   Yes

07995710                           USD[0.00]

07995716                           CUSDT[1], KSHIB[14.23248572], TRX[2], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07995717                           BRZ[2], BTC[0], CUSDT[9], DOGE[4.00001397], NFT (426854770034286546/Eitbit Ape #7695)[1], NFT (429322877045999667/DarkPunk #8569)[1], NFT (493427866735984734/Psychedelic path)[1],   Yes
                                   NFT (545260768815041123/Eitbit Ape #3958)[1], SOL[0], TRX[2], USD[0.00]
07995720                           USD[0.00]                                                                                                                                                                             Yes

07995723                           BRZ[3], DOGE[4], SHIB[21.33833043], TRX[1], USD[0.00], USDT[0.02327097]

07995727                           NFT (465747950356055647/2974 Floyd Norman - CLE 2-0037)[1], USD[1.10]

07995729                           USD[1.06]                                                                                                                                                                             Yes

07995733                           USD[19461.01], USDT[0]                                                                                                                                                                Yes

07995736                           SHIB[14560094.23165915], TRX[2], USD[0.00]

07995742                           BRZ[1949], BTC[.0531], USD[0.64]

07995744                           TRX[2], USD[0.00]

07995749                           ETHW[2.11555268], SHIB[75147.95962763], SUSHI[.00159597], UNI[.00068978], USD[0.00]                                                                                                   Yes

07995750                           BAT[1], GRT[1], USD[0.00]

07995751                           USD[108.14]                                                                                                                                                                           Yes

07995759                           USD[1.00]

07995778                           AVAX[.00195418]                                                                                                                                                                       Yes

07995779                           BRZ[1], SHIB[9.09315762], USD[0.01]                                                                                                                                                   Yes

07995780                           SOL[3.12622965]

07995784                           DOGE[22], SHIB[2600000], USD[0.01]

07995785                           BF_POINT[300], BTC[0], SOL[0], USD[0.00]

07995792                           BTC[0], DOGE[3], ETH[0.00000001], ETHW[0.00000006], GRT[1], NEAR[0.00026513], SHIB[71], SOL[0], TRX[10], USD[0.00], USDT[2.00171174]                                                  Yes

07995793                           BTC[.00160953], CUSDT[3], DOGE[1], ETH[.02189938], ETHW[.02189938], SOL[.20656844], SUSHI[3.9460009], USD[200.00]

07995803                           ETH[.41592], ETHW[.41592], LINK[45.1548], SHIB[197300], SOL[38.85111], USD[8.27]

07995806                           USDT[0.00266198]

07995811                           ETH[.024396], ETHW[.02409504], TRX[1], USD[0.01]                                                                                                                                      Yes

07995818                           BRZ[1], DOGE[191.36067216], SHIB[3716298.88835817], USD[0.00]

07995826                           ETH[2], ETHW[2]

07995827                           CUSDT[1], ETH[.12514777], ETHW[.12400114], USD[0.01]                                                                                                                                  Yes

07995837                           BRZ[1], CUSDT[2], SOL[0], TRX[1], USD[0.29]                                                                                                                                           Yes

07995838                           CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                          Yes

07995842                           CUSDT[3], DOGE[1], TRX[1], USD[0.00]

07995845                           BRZ[1], CUSDT[1], SOL[1.61811335], USD[0.00]                                                                                                                                          Yes

07995848                           USD[50.00]

07995851                           SHIB[681663.25835037], SOL[.2742777], TRX[2], USD[55.01]

07995859                           BTC[.00000001]

07995864                           BRZ[1], CUSDT[11270.7530374], DOGE[1.55229519], SHIB[1372495.19626681], TRX[1], USD[0.00]

07995865                           ETH[0], SOL[0], USD[0.00], USDT[0]

07995869                           NFT (498355349488486863/Test Series 1)[1], USD[1.79], USDT[0.00022127]

07995875                           AVAX[3.46856676], BTC[.00000036], DOGE[2], ETH[0], ETHW[.96651285], NEAR[.00013511], SHIB[10], TRX[4], USD[0.00]                                                                      Yes

07995884                           BAT[.05930328], GRT[10.92732359], SHIB[282080.1730134], SOL[.26823577], SUSHI[1.85755956], USD[0.02]                                                                                  Yes

07995886                           CUSDT[2], KSHIB[1314.56087816], SHIB[2459552.52316626], USD[0.53]                                                                                                                     Yes

07995892                           BRZ[1], BTC[.00000118], DOGE[4], ETH[.00134545], ETHW[1.20566174], SHIB[87], SUSHI[.00082557], TRX[.00338466], USD[294.14]                                                            Yes

07995893                           BRZ[1], CUSDT[6], DOGE[4], ETH[0], SHIB[1], SOL[0.00599622], TRX[1], USD[0.27]

07995897                           BAT[477.522], USD[2.20]

07995902                           LTC[0], UNI[0]

07995905                           BTC[.00000002], DOGE[.00033931], USD[33.18]                                                                                                                                           Yes

07995906                           USD[0.16]                                                                                                                                                                             Yes

07995927                           USD[0.01], USDT[0.00000001]                                                                                                                                                           Yes

07995930                           ETH[0], ETHW[0], MATIC[0], SHIB[41703.71204448], USD[0.00]                                                                                                                            Yes

07995937                           CUSDT[2], SHIB[313497.49214003], USD[0.00]

07995938                           BTC[.02585839], DOGE[99.8603171], ETH[.03433164], ETHW[.03433164], SHIB[24], TRX[1], USD[0.00]

07995949                           BF_POINT[300]

07995952                           BRZ[1], CUSDT[6], DOGE[192.24466838], SHIB[9], SOL[2.68910778], TRX[2], USD[0.00]                                                                                                     Yes

07995953                           SOL[7.80219], USD[132.41]

07995956                           BRZ[2], SHIB[1], TRX[1], USD[0.04]

07995957                           SOL[.1]

07995961                           USD[0.00]

07995968                           CUSDT[4], DOGE[1], NFT (295861417421080664/Careless Cat #585)[1], NFT (302454324090576554/Fancy Frenchies #8159)[1], NFT (309505177843716853/ApexDucks #2304)[1], NFT                 Yes
                                   (335058407199552925/DOTB #2399)[1], NFT (398838680448460740/Elysian - #3964)[1], NFT (430253375579529087/Scene #0397 | Timeline #2)[1], NFT (454925793059767453/Baddies #4272)[1],
                                   NFT (467246472319735884/Scene #0402 | Timeline #4)[1], NFT (499767734631073275/Ghoulie #1576)[1], NFT (537103621949459712/#1330)[1], SHIB[1], SOL[1.56933483], TRX[0], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07995974                           MATIC[.30598411], SOL[0], USD[0.00], USDT[0.00000079]

07995979                           DAI[0], ETH[0], ETHW[0], LINK[0], USD[2020.99], USDT[0]                                                                                                                               Yes

07995982                           USD[0.00]

07995983                           CUSDT[2], SHIB[18224298.84563159], USD[0.02]                                                                                                                                          Yes

07996001                           DOGE[.00006525], GRT[.00000001], KSHIB[.00011118], SHIB[.00009271], SUSHI[115.71345635], USD[0.01], USDT[0]                                                                           Yes

07996007                           CUSDT[1], DOGE[1], LTC[0], SHIB[1], TRX[1], USD[15.50]                                                                                                                                Yes

07996011                           ALGO[0], BAT[2], BCH[.00002568], BRZ[1.00012089], DOGE[25.7660734], SHIB[86], TRX[4], USD[0.00], USDT[1.01946552]                                                                     Yes

07996012                           DOGE[0], SHIB[0], USD[0.00]                                                                                                                                                           Yes

07996013                           DOGE[2.997], LINK[.999], SUSHI[1.4985], USD[0.48]

07996015                           USD[0.00]

07996016                           USD[20.00]

07996018                           ETH[0], ETHW[0], MATIC[0], SOL[0], TRX[0], USD[0.00]

07996030                           ETH[.00099436], ETHW[0.00099436], SHIB[11398700], USD[1.18]

07996031                           SOL[.00740988]

07996032                           BAT[1.00003776], BF_POINT[1900], BRZ[3], DOGE[4], LINK[.00000754], MATIC[34.69351125], SHIB[6.00000001], SUSHI[.00003053], TRX[70.33072224], USD[2.06], USDT[0.13382458]              Yes

07996037                           BF_POINT[100], DOGE[.06666306]                                                                                                                                                        Yes

07996038                           SOL[1.99], USD[2.37]

07996040                           USD[21.51]                                                                                                                                                                            Yes

07996041                           USD[5.38]

07996052                           BTC[.00024222], ETH[.00189492], ETHW[.00186756], SHIB[1], USD[0.00], YFI[.00023892]                                                                                                   Yes

07996060                           SHIB[1], UNI[2.42821001], USD[0.00]

07996069                           BTC[.0480832], ETH[.07056795], ETHW[.57071217], TRX[1], USD[0.00]                                                                                                                     Yes

07996073                           CUSDT[1], SOL[.99944063], USD[0.00]

07996076                           BRZ[1], CUSDT[4], DOGE[4], SHIB[1], SOL[.00001078], TRX[0], USD[487.30], USDT[1.07462545]                                                                                             Yes

07996086                           BRZ[1], DOGE[1], GRT[527.6756699], MATIC[785.142562], SOL[8.31927712], USD[0.00], USDT[1063.93198124]                                                                                 Yes

07996090                           USD[0.00]                                                                                                                                                                             Yes

07996091                           USD[10.86]                                                                                                                                                                            Yes

07996092                           BAT[1.00852924], BRZ[7.42317413], CUSDT[7], DOGE[6.00007183], GRT[.0000129], TRX[5], USD[0.01], USDT[3.22294308], YFI[.0000061]                                                       Yes

07996096                           DOGE[697.47441376], SHIB[2647603.91845379], SOL[.50044103], USD[0.00]

07996107                           SHIB[300525.92036063]

07996109                           SHIB[1], USDT[51.92934972]

07996111                           CUSDT[7], DOGE[1404.09595842], ETH[.00454731], ETHW[.00454731], LINK[.00447654], SHIB[4008014.02082241], TRX[4], USD[0.42]

07996114                           DOGE[80.83555413], SHIB[510100.77138776], SOL[.31582801], USD[0.00]                                                                                                                   Yes

07996117                           USD[0.15]                                                                                                                                                                             Yes

07996120                           DOGE[0], EUR[0.00], SUSHI[17.57064073], USD[0.00]

07996122                           AVAX[.41577081], BAT[22.47850267], BRZ[1], CUSDT[8], DOGE[3], LTC[.14184699], NFT (569414636286179577/Jailed in my mind)[1], SHIB[6], SOL[.15197801], TRX[1.00001396], USD[458.03],   Yes
                                   USDT[0]
07996125       Contingent,         USD[0.77]                                                                                                                                                                             Yes
               Unliquidated
07996140                           USD[20.00]

07996141                           USD[27.06]                                                                                                                                                                            Yes

07996145                           USD[20.00]

07996147                           CUSDT[2], DOGE[.52082914], SOL[.00913419], USD[0.21]                                                                                                                                  Yes

07996151                           CUSDT[1], SHIB[3637514.01931599], TRX[1], USD[0.01]                                                                                                                                   Yes

07996158                           USD[6.34]                                                                                                                                                                             Yes

07996160                           DAI[50.01250313]

07996165                           CUSDT[3], DOGE[1], NFT (396695443839760015/Vox Robo #21)[1], NFT (554108804983763419/Saudi Arabia Ticket Stub #481)[1], SHIB[1], SOL[0.01690558], USD[0.00]                           Yes

07996167                           USD[20.00]

07996168                           CUSDT[2], DOGE[1], ETH[0], EUR[0.00], SHIB[3], SOL[0], TRX[3], USD[1.70]                                                                                                              Yes

07996179                           USD[108.63]                                                                                                                                                                           Yes

07996181                           USD[0.01]

07996182                           BTC[.01649028], SHIB[1], USD[0.00]                                                                                                                                                    Yes

07996192                           CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                           Yes

07996194                           ETHW[.04995], SOL[.0081], USD[95.81]

07996197                           SHIB[7302468.23426318], TRX[1], USD[0.00]

07996198                           USD[2.01]

07996201                           KSHIB[128.06032153], USD[0.00]

07996207                           BTC[.0001], ETH[0], USD[0.12]

07996208                           CUSDT[2], KSHIB[320.25296021], SHIB[646470.05697486], USD[0.00]

07996211                           GRT[1], SHIB[15263367.81698311], TRX[1], USD[0.01]
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                                                                                                                                            Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07996212                              SOL[.279]

07996214                              USD[10.00]

07996215                              BAT[29.43832569], CUSDT[6], DOGE[120.53518421], GRT[20.29154671], KSHIB[870.13876937], SHIB[865566.17388547], TRX[147.36069706], USD[0.00]

07996216                              CUSDT[5], ETH[.02598675], ETHW[.02566152], MATIC[72.31806685], SHIB[2196087.23135864], SOL[1.12349217], TRX[3], USD[162.17]                                                        Yes

07996217                              SOL[.00754], USD[0.00], USDT[0.00226800]

07996231                              DAI[.00004853], DOGE[2], SUSHI[0.00097218], TRX[1.00360883], USD[0.00]                                                                                                             Yes

07996235                              BRZ[1], CUSDT[17], MATIC[16.8270918], SHIB[16], SOL[22.64315780], TRX[4], USD[131.15]                                                                                              Yes

07996236                              BRZ[1], CUSDT[18], USD[0.00]                                                                                                                                                       Yes

07996239                              USD[0.01], USDT[1.0668128]                                                                                                                                                         Yes

07996246                              SHIB[1300000], USD[7.40]

07996251                              USD[108.24]                                                                                                                                                                        Yes

07996254                              BF_POINT[200], CUSDT[3], DOGE[5904.92623672], SHIB[17121884.02521454], USD[0.01]                                                                                                   Yes

07996266                              USD[0.88]

07996269                              USD[1.94]

07996273                              BTC[.00112053], CUSDT[4], SHIB[1372038.36541067], SOL[.1214941], TRX[137.35359935], USD[59.11]                                                                                     Yes

07996283                              CUSDT[1], DOGE[1], KSHIB[1314.82307872], SHIB[10204852.2428383], TRX[1], USD[0.00]                                                                                                 Yes

07996290                              BRZ[1], DOGE[2], ETHW[.86287542], GRT[1], LINK[1.06201449], SOL[.00262226], TRX[1], USD[0.00], USDT[1.06242731]                                                                    Yes

07996292                              CUSDT[1], DOGE[1], SHIB[3774182.83877696], USD[0.00]                                                                                                                               Yes

07996295                              BTC[0], USD[0.00]

07996299                              BF_POINT[100], BTC[.01176287], DOGE[3.86332548], USD[0.00]                                                                                                                         Yes

07996300                              USD[0.00]

07996303                              BTC[.00155119], CUSDT[6], DOGE[1182.02774667], ETH[.13202869], ETHW[.13096482], SHIB[71134223.16871042], SOL[.08253097], TRX[118.4065996], USD[10.86]                              Yes

07996313                              BTC[.00064534], CUSDT[5], DOGE[69.85877426], ETH[.01790948], ETHW[.01790948], SHIB[134120.17167381], USD[0.00]

07996314                              SHIB[.68612629], USD[0.00]                                                                                                                                                         Yes

07996318                              BTC[.01338045], CUSDT[4], DOGE[9.0838494], ETH[.24145368], ETHW[.24145368], SHIB[4], SOL[26.31866195], TRX[5], USD[0.00]

07996320                              CUSDT[1], SHIB[1462030.09237401], USD[0.00]                                                                                                                                        Yes

07996326                              KSHIB[10], SHIB[300000], USD[0.12]

07996328                              NFT (288350710376635721/"NON-FUNGIBLE TOKEN" #3)[1], NFT (289792414600148009/"NON-FUNGIBLE TOKEN" #5)[1], NFT (307318025465069275/"NON-FUNGIBLE TOKEN" #6)[1], NFT
                                      (315370712117619322/"NON-FUNGIBLE TOKEN" #2)[1], NFT (322151923105969793/"65k" #2)[1], NFT (368492317364995904/"NON-FUNGIBLE TOKEN" #9)[1], NFT (391999953776410927/"NON-
                                      FUNGIBLE TOKEN" )[1], NFT (402539983823655952/"NON-FUNGIBLE TOKEN" #10)[1], NFT (444784137202161473/"65k")[1], NFT (446634351270526476/"65k" #3)[1], NFT
                                      (449726624652476428/Carmen)[1], NFT (472058811587168823/"NON-FUNGIBLE TOKEN" #7)[1], NFT (513123083008286568/"NON-FUNGIBLE TOKEN" #4)[1], NFT (523920260270359007/"NON-
                                      FUNGIBLE TOKEN" #8)[1], SOL[.049], USD[0.00]
07996348       Contingent,            USD[0.01], USDT[0.00000001]                                                                                                                                                        Yes
               Unliquidated
07996366                              BTC[.0007992], USD[0.27]

07996369                              BTC[.00016493], CUSDT[1], KSHIB[317.27000581], SHIB[519127.66494796], TRX[1], USD[0.00]                                                                                            Yes

07996370                              USD[1.10], USDT[0]

07996375                              BTC[.00009704], CUSDT[2], MATIC[5.03137826], SHIB[33701.80636729], TRX[201.38155804], USD[0.00], USDT[0]

07996383                              BTC[0], CUSDT[0], LINK[0.00004900], TRX[1], USD[0.01]                                                                                                                              Yes

07996392                              BCH[.0269607], BTC[.00028845], CUSDT[201.22837676], DOGE[61.39093815], ETH[.00405872], ETHW[.004004], GRT[8.67920388], LINK[.13031222], LTC[.08583239], MATIC[2.72317815],         Yes
                                      MKR[.00152441], SOL[.02269107], SUSHI[.42253397], TRX[51.52397368], USD[0.52], YFI[.00023155]
07996409                              CUSDT[1], SOL[.13186857], USD[0.00]                                                                                                                                                Yes

07996419                              SHIB[134770.88948787], USD[1.00]

07996422                              BTC[0.41830627], ETH[.133518], ETHW[4.289862], SOL[1.9453], USD[1.50]

07996423                              SOL[1.998], USD[1.61]

07996424                              CUSDT[3], TRX[1], USD[0.98]

07996435                              TRX[0], USD[0.00]                                                                                                                                                                  Yes

07996444                              SOL[.03]

07996451                              CUSDT[1], SHIB[722183.47545948], TRX[1], USD[0.59]                                                                                                                                 Yes

07996458                              NFT (479034908859841121/Encryptas #5911)[1], NFT (561225219142212079/Encryptas #1196)[1], USD[0.01]                                                                                Yes

07996462                              CUSDT[2], SHIB[1466958.89515446], USD[0.01]                                                                                                                                        Yes

07996466                              SHIB[100000], USD[27.67]

07996469                              ETHW[24.82659235], EUR[0.00], USD[0.00], USDT[0]                                                                                                                                   Yes

07996471                              AUD[0.00], BTC[0], DOGE[2], ETH[0.00000001], ETHW[0.00000043], SHIB[5], TRX[1], USD[3.10], USDT[0]                                                                                 Yes

07996472                              LINK[31.968], SOL[4.995], USD[8.00]

07996479                              AAVE[.22265123], AVAX[1.16529452], BRZ[91.68311562], BTC[.02643141], CUSDT[1964.27240525], DOGE[1927.88004947], ETH[.24511112], ETHW[.244914], LINK[9.57941043], LTC[.29111136],   Yes
                                      MATIC[15.14259954], SHIB[10277360.44156487], SOL[6.82524928], SUSHI[8.93675737], TRX[477.72612058], UNI[12.1114524], USD[0.39], USDT[43.2433489]
07996480       Contingent, Disputed   ALGO[0], BTC[0], MATIC[0], NEAR[0], USD[0.00], USDT[5.25131179]                                                                                                                    Yes

07996481                              BAT[32.89185473], BRZ[1], BTC[.02816146], CUSDT[8], DOGE[2], ETH[.04155485], ETHW[.04103574], GRT[132.02540669], MATIC[27.64354387], SHIB[1073263.30315849], USD[0.00]             Yes

07996482                              SHIB[40610], USD[1.42]

07996484       Contingent, Disputed   BTC[.00265962], SOL[27.6187194], TRX[1942.77039942], USD[0.00], USDT[0.00000046]

07996486                              CUSDT[24.24714265], TRX[1], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07996495                           SHIB[4453.38354254], USD[0.00]                                                                                                                                                        Yes

07996499                           CUSDT[1], DOGE[1], TRX[1], USD[0.26]                                                                                                                                                  Yes

07996505                           USD[10.86]                                                                                                                                                                            Yes

07996512                           BTC[.0000198], CUSDT[2], DOGE[78.88521075], SHIB[367980.50077346], USD[0.00]                                                                                                          Yes

07996513                           BRZ[2], CUSDT[15], DOGE[5], LINK[.00002353], SUSHI[.00002807], USD[0.00]                                                                                                              Yes

07996519                           SOL[.00483147], USD[22.35]                                                                                                                                                            Yes

07996532                           BTC[.0134891], DOGE[8.991], ETH[.121], ETHW[.121], SOL[3.78693], SUSHI[24.4915], USD[404.34]

07996533                           USD[6.87]                                                                                                                                                                             Yes

07996536                           ETH[0], LINK[0], SHIB[2], USD[0.00], USDT[0.00000643]                                                                                                                                 Yes

07996537                           SHIB[445841.34963201], TRX[1], USD[0.00]                                                                                                                                              Yes

07996538                           BTC[0.00079638], ETH[.001998], ETHW[.001998], SHIB[98700], SOL[.04], USD[2.41]

07996543                           SHIB[1], SOL[.18554658], USD[0.00]

07996553                           SOL[2.24], USD[49.28]

07996574                           BAT[0], SHIB[1], USD[94.01], USDT[0]                                                                                                                                                  Yes

07996594                           CUSDT[2], DOGE[74.47291625], ETH[.00268047], ETHW[.00265311], SHIB[294387.08906092], TRX[1], USD[0.11]                                                                                Yes

07996596                           BTC[.0009079], DOGE[1], USD[0.00]                                                                                                                                                     Yes

07996597                           SHIB[3200000], USD[100.00], USDT[4959.63000000]

07996604                           ALGO[31.29700103], AVAX[12.10416009], BAT[.00041468], BRZ[3], CUSDT[16], DOGE[162.15075816], ETHW[2.96159247], GRT[132.12783349], LINK[11.70972251], MATIC[15.85425905],              Yes
                                   NEAR[9.38053552], SUSHI[.00030492], TRX[548.93995308], USD[0.01]
07996616                           CUSDT[1], SHIB[1866560.19623981], USD[0.00]                                                                                                                                           Yes

07996622                           CUSDT[1], TRX[381.56908366], USD[0.00]                                                                                                                                                Yes

07996623                           USD[10.00]

07996630                           CUSDT[3], DOGE[2], SHIB[4171197.26616433], USD[57.43], USDT[53.77136318]                                                                                                              Yes

07996632                           USD[0.00]

07996636                           USD[10.86]                                                                                                                                                                            Yes

07996643                           DOGE[1], TRX[5], USD[0.01], USDT[1]

07996650                           CUSDT[1], SHIB[20597322.34809474], USD[0.00]

07996659                           ETH[.01], ETHW[.01], NFT (329961872448072425/FTX - Off The Grid Miami #7480)[1]

07996660                           BTC[.00255819], CUSDT[4], DOGE[371.56605058], ETH[.02424763], ETHW[.02394667], LINK[5.08763972], SOL[1.58198481], TRX[1], USD[0.00]                                                   Yes

07996662                           CUSDT[2], SHIB[1], USD[0.01]                                                                                                                                                          Yes

07996665                           CUSDT[1], SHIB[1], SOL[.00027632], USD[0.01]                                                                                                                                          Yes

07996667                           BRZ[1], CUSDT[4543.11777797], KSHIB[1338.7126377], SHIB[6669334.40042683], USD[100.00]

07996669                           BTC[.0002043], CUSDT[2], SHIB[4.90661577], USD[0.00]                                                                                                                                  Yes

07996671                           USD[0.24]

07996680                           CUSDT[3], DOGE[1020.79234922], SHIB[17429566.5128266], TRX[1], USD[0.00]

07996690                           USD[21.51]                                                                                                                                                                            Yes

07996694                           SOL[0], USD[1.37]

07996696                           BTC[.00088094], CUSDT[4], DOGE[2], ETH[.04674685], ETHW[.04616743], SHIB[762815.12673577], SOL[3.2455198], TRX[2], USD[0.00]                                                          Yes

07996700                           USD[0.00]                                                                                                                                                                             Yes

07996707                           BTC[.23457682], ETH[.25975513], ETHW[.25975513], SOL[26.44309705], USD[0.00]

07996722                           DOGE[1], KSHIB[1313.16469934], NFT (374804627444746117/Joe Theismann's Playbook: Washington vs. Chicago Bears - September 29, 1985 #68)[1], NFT (418010111548941821/Earl Campbell's   Yes
                                   Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #119)[1], USD[10.79]
07996724                           BAT[0], ETH[.00000008], ETHW[0.00000008], LINK[0], MATIC[0], SOL[0], SUSHI[0], TRX[0], USD[0.01]

07996731                           BRZ[1], SHIB[1016122.47662918], USD[0.00]

07996737                           BTC[.0016], USD[5.08]

07996746                           BTC[0], SHIB[1.42733938], TRX[1], USD[575.83], USDT[0]                                                                                                                                Yes

07996756                           ETH[.00036254], ETHW[.00036254], USD[0.01]

07996761                           SHIB[2721134.76871473], USD[49.66]

07996763                           AUD[0.00], CUSDT[6], DOGE[2], SHIB[39.33155548], USD[0.01]                                                                                                                            Yes

07996769                           SOL[1.52134818], USD[0.00]

07996770                           USD[0.00]

07996784                           SOL[0], USD[1.65]

07996787                           BTC[0], SHIB[.00000001], USD[4924.15], USDT[5000]

07996789                           GRT[1438.453], TRX[5594.7], USD[4.93]

07996791                           CUSDT[1], SHIB[419943.91529952], USD[0.00]

07996792                           SOL[2.44052324], USD[0.00]

07996795                           BRZ[1], SHIB[7014590.34792368], USD[0.01]

07996798                           CUSDT[1], SHIB[7516457.50264812], USD[0.00]                                                                                                                                           Yes

07996805                           USD[20.00]
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07996806                              AAVE[.00639166], AVAX[.04564588], BAT[.04579824], BTC[0], DOGE[0], ETHW[.02619766], KSHIB[93.30283418], MKR[.0009959], PAXG[.00000566], SHIB[0], SOL[.02693817], TRX[3.30726733],
                                      USD[2.62], USDT[0.00016590], YFI[.00008303]
07996812                              BTC[0], LTC[.00891], SOL[0], USD[0.00], USDT[0]

07996815                              SOL[1]

07996816                              USD[0.00]

07996820                              BRZ[2], BTC[.00580831], CUSDT[488.65955696], DOGE[53.6694078], ETH[.03204115], ETHW[.03164443], KSHIB[272.11721067], MATIC[6.14445206], SHIB[725139.25090301], SOL[1.02636288],         Yes
                                      TRX[116.7370071], USD[0.00]
07996824                              NFT (289631719695825457/Metaverse Ape )[1], NFT (295855452148503284/Metaverse Ape #13)[1], NFT (301656810802838228/Crypto Dinasaurs #14)[1], NFT (304629136134152425/Crypto
                                      Dinasaurs #12)[1], NFT (311099618760245210/The Great Boar)[1], NFT (314349751274101408/Crypto Boys #10)[1], NFT (321619949546034363/FTX Great Skull #4)[1], NFT
                                      (336300516638962165/Crypto Boys #9)[1], NFT (342427803449482155/Degen Ape)[1], NFT (347322293413905720/The Super Cats)[1], NFT (347676414357492153/Metaverse Ape #12)[1], NFT
                                      (362362854979842855/Metaverse Ape #4)[1], NFT (362993663475933695/Metaverse Ape #6)[1], NFT (364509317179154060/Inception Box #4)[1], NFT (365116402271244051/Crypto Boys #13)[1],
                                      NFT (366356620009861783/The Super Skull)[1], NFT (376768294355501634/Nike Punks)[1], NFT (379372845392554386/Crypto Dinasaurs #10)[1], NFT (383669797731525288/Metaverse Ape #5)[1],
                                      NFT (387327996001329668/Bored Super Ape Club)[1], NFT (389543132218107888/Crypto Dinasaurs #17)[1], NFT (395185136510586706/Crypto Dinasaurs #16)[1], NFT (406613003758211050/Degen
                                      Ape #3)[1], NFT (407296387067912911/Degen Ape #2)[1], NFT (413849911882410266/Crypto Boys #14)[1], NFT (416278801334690357/Crypto Dinasaurs #9)[1], NFT (419407530527471141/Inception
                                      Box #2)[1], NFT (421863384446973186/FTX Great Skull #8)[1], NFT (432803591588418472/The Mutant Corgi's)[1], NFT (434467312808341388/The Great Ape)[1], NFT (436196337051980842/Crypto
                                      Dinasaurs #5)[1], NFT (436501839711708646/Crypto Boys #12)[1], NFT (441821593589529694/Metaverse Ape #11)[1], NFT (448619761059642292/FTX Great Skull #2)[1], NFT
                                      (450006706711309335/Crypto Boys #11)[1], NFT (453271790316489548/FTX Great Skull #5)[1], NFT (457603905840330957/FTX Great Skull #3)[1], NFT (459796994076052397/FTX Great Skull
                                      #10)[1], NFT (462405185993495211/FTX Great Skull #7)[1], NFT (467208785501862361/Crypto Dinasaurs #8)[1], NFT (470159241327989521/Feel #18)[1], NFT (471164005657711258/Metaverse Ape
                                      #9)[1], NFT (476694478768853113/Crypto Dinasaurs #3)[1], NFT (493550629043946231/Metaverse Ape #2)[1], NFT (498064640520836797/Metaverse Ape #14)[1], NFT
                                      (508120087859309190/Inception Box)[1], NFT (525145375082213455/Metaverse Ape #10)[1], NFT (529060422602858150/Metaverse Ape #3)[1], NFT (531820431370748339/Feel #19)[1], NFT
                                      (535121599782869714/FTX Great Skull)[1], NFT (540336529531555027/FTX Great Skull #9)[1], NFT (544320508772796087/Inception Box #3)[1], NFT (546214099789781084/Metaverse Ape #8)[1],
                                      NFT (547960231411287726/Crypto Boys #8)[1], NFT (555507711734299499/Metaverse Ape #7)[1], NFT (561436964911761604/FTX Great Skull #6)[1], NFT (564848871083284373/Crypto Dinasaurs
                                      #13)[1], NFT (567460230133943852/Crypto Dinasaurs #4)[1], NFT (572335762952686815/Crypto Dinasaurs #15)[1], TRX[.000001], USD[2.00], USDT[0]

07996841                              CUSDT[1], KSHIB[158.22944132], USD[0.01]                                                                                                                                                Yes

07996842                              BRZ[1], BTC[.01262385], CUSDT[15.89317696], DOGE[1], ETH[.23706615], ETHW[.23686311], SOL[6.70872228], USD[0.00]                                                                        Yes

07996849                              BTC[.00244019], ETH[.03246815], ETHW[.03246815], SHIB[3], SOL[.9609029], USD[0.00]

07996853                              BTC[.00015865], TRX[1], USD[10.86]                                                                                                                                                      Yes

07996855                              USD[11.95]                                                                                                                                                                              Yes

07996859                              CUSDT[1], DOGE[1], ETH[.0024181], ETHW[.00239074], SOL[.07996095], USD[0.00]                                                                                                            Yes

07996862                              USD[20.00]

07996863                              BRZ[1], ETHW[.03505231], SHIB[1], USD[50.30]

07996867                              SHIB[.00407166], USD[0.00], USDT[0]                                                                                                                                                     Yes

07996868                              CUSDT[1], SHIB[2951442.57107109], USD[0.00]                                                                                                                                             Yes

07996872                              SOL[.006124], USD[5.19]

07996878                              BTC[0.00000587], CUSDT[1], ETH[.00001372], ETHW[.60831858], GRT[3373.89510207], NFT (358548082013105068/CryptoAvatar #43)[1], SHIB[10490116.32513162], USD[1329.22]                     Yes

07996880                              NFT (475242119356909822/SBF Hair & Signature #2 #95)[1], SOL[5]

07996904                              BRZ[20.0772307], DOGE[15.58088852], GRT[1], SHIB[242266.0898481], SOL[.00000001], TRX[13.07500974], USD[0.00], USDT[2.1133949]                                                          Yes

07996907                              BTC[0], CUSDT[1], ETH[.00327503], ETHW[.00323399], MATIC[.00001453], SHIB[10.83247682], SOL[0], USD[0.00]                                                                               Yes

07996908                              ETHW[.9995], SOL[.00428], USD[0.00]

07996922                              USD[20.00]

07996935                              BTC[.00005963], DOGE[5.59333267], MATIC[5.57879420], SHIB[10243.37652834], USD[0.00]                                                                                                    Yes

07996936                              NFT (311681166206404320/Emptiness of Peace)[1], NFT (312528784373464793/No sense album #16)[1], NFT (339762047663583938/Mixed)[1], NFT (360121100395864666/red fish girl)[1], NFT       Yes
                                      (376609817524157428/Beauties Beauty 69)[1], NFT (430270565636651858/The FALCON)[1], NFT (430642542251374181/Lunaa )[1], SHIB[39022.87681472], USD[1.07]
07996940                              BRZ[1], USD[0.01]                                                                                                                                                                       Yes

07996942                              CUSDT[13], USD[0.00]                                                                                                                                                                    Yes

07996946                              BCH[1.47115506], BRZ[1], BTC[.02071766], TRX[1], USD[0.00]                                                                                                                              Yes

07996948                              USD[0.00], USDT[49.45076326]

07996949                              BRZ[1], CUSDT[1], NFT (308241848271910857/Warriors 75th Anniversary Icon Edition Diamond #1896)[1], SHIB[1959247.64890282], SOL[1.00003928], USD[158.63]

07996954                              ETH[.124], ETHW[.124], USD[2.41]

07996959       Contingent, Disputed   USD[0.00]

07996965                              BRZ[1], BTC[.00035191], CUSDT[3], DOGE[4], MATIC[8.52178771], TRX[1], USD[7.06]                                                                                                         Yes

07996967                              DOGE[1], SOL[2.44871053], USD[0.00]

07996969                              DOGE[37.43838996], USD[0.00]                                                                                                                                                            Yes

07996970                              CUSDT[1], ETH[.00178685], ETHW[.00175947], SHIB[1.11943268], USD[0.00]                                                                                                                  Yes

07996971                              CUSDT[2], DOGE[1], KSHIB[50.97413366], SHIB[90701.09173779], USD[0.26]                                                                                                                  Yes

07996975                              AVAX[13.89630251], BAT[1.0067027], BRZ[4], CUSDT[4], DOGE[659.98139421], ETHW[.67772041], GRT[2.01937635], NEAR[191.42587012], SHIB[7], SOL[.00000001], TRX[6], USD[0.02],              Yes
                                      USDT[1.07207449]
07996978                              NFT (539040037912085504/Golden Hill #747)[1], USD[0.00]

07996980                              DOGE[109.89], SHIB[399600], SUSHI[2], UNI[.5], USD[3.51]

07996982                              BRZ[1], CUSDT[3], DOGE[2], LINK[.0001629], SOL[0.00003030], TRX[2], USD[0.00]                                                                                                           Yes

07996984                              SOL[2.55826888], USD[0.00]

07996985                              DOGE[2], KSHIB[6654.76362414], USD[0.01]                                                                                                                                                Yes

07996989                              BTC[.01054776], CUSDT[1], DOGE[1267.97202486], ETH[.05061368], ETHW[.0499844], SHIB[855177.34600459], USD[0.00]                                                                         Yes

07996996                              DOGE[1], SHIB[6752148.410858], USD[5.01]

07996997                              KSHIB[129.35844163], USD[0.00]

07997001                              NFT (511150096234797209/Coachella x FTX Weekend 1 #15565)[1], USD[10.86]                                                                                                                Yes
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                                                                                                                                         Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07997006                           GRT[85.96499116]

07997007                           CUSDT[1], SOL[.28244333], USD[0.00]                                                                                                                                              Yes

07997017                           SOL[.00003496], USD[9.77]

07997022                           BRZ[1], BTC[.00271228], CUSDT[1], USD[0.02]                                                                                                                                      Yes

07997034                           SHIB[445744.12732209], TRX[1], USD[5.44]                                                                                                                                         Yes

07997044                           CUSDT[2], SHIB[1355932.20338983], TRX[1], USD[0.00]

07997045                           USD[0.01]

07997048                           SHIB[1376772.08287895], TRX[1], USD[0.00]

07997059                           CUSDT[17], SHIB[1], TRX[1], USD[0.01], USDT[0.00000001]                                                                                                                          Yes

07997061                           USD[1.11]

07997066                           NFT (352764378129763169/Settler #1560)[1], NFT (380881165580374105/Settler #1444)[1], NFT (393145801789946947/Settler #1380)[1], NFT (421375347650041683/Settler #152)[1], NFT
                                   (455316790860171184/Settler #1911)[1], NFT (497913655422835502/Settler #382)[1]
07997067                           CUSDT[280.5872198], NFT (313514978361986864/CryptoAvatar #159)[1], NFT (369967355486780803/Digital Z #3)[1], NFT (396373164556886321/Halloween edition #5)[1], USD[0.06]         Yes

07997071                           CUSDT[183.816], SHIB[3496700], USD[1.95]

07997073                           BRZ[1], CUSDT[5], USD[0.00]

07997074                           BRZ[2], CUSDT[5], ETH[0.00000116], ETHW[0.00000116], SOL[0], SUSHI[0], USD[2.01], USDT[0.00000040]                                                                               Yes

07997078                           SHIB[136.25946609], USD[0.00]                                                                                                                                                    Yes

07997079                           SHIB[40836.5515927], SOL[.00000068], USD[0.00]

07997086                           USD[67.18]

07997089                           USD[0.01]

07997095                           ETH[.02915387], ETHW[.02915387], SHIB[2], SOL[.57046199], USD[25.00]

07997099                           BTC[.00088557], DOGE[395.6481741], ETH[.01216937], ETHW[.01201889], TRX[2], USD[0.00]                                                                                            Yes

07997108                           BRZ[1], BTC[.00067267], CUSDT[1], USD[0.00]

07997109                           DOGE[1], SHIB[928671481.56407439], TRX[1], USD[0.05]                                                                                                                             Yes

07997113                           BTC[.00447273], CUSDT[1], USD[1.12]                                                                                                                                              Yes

07997115                           BRZ[1], ETH[.02077026], ETHW[.02051034], USD[0.00]                                                                                                                               Yes

07997122                           CUSDT[1], SHIB[1490757.30471079], USD[0.00]

07997132                           USD[482.15]

07997137                           BTC[.0463741], USD[0.00]

07997146                           BRZ[3], BTC[.04211242], CUSDT[7], DOGE[2], ETH[.37942049], ETHW[.37926133], GRT[1], SHIB[18], TRX[4], USD[0.00]                                                                  Yes

07997151                           CUSDT[1], DOGE[3], ETH[.05745416], ETHW[.0567428], MATIC[5.80334703], TRX[107.56006069], USD[42.02]                                                                              Yes

07997166                           USD[21.72]                                                                                                                                                                       Yes

07997173                           BRZ[1], SHIB[2894296.30201342], TRX[1], USD[0.01]

07997174                           CUSDT[1], LINK[1.0010304], USD[0.00]

07997176                           BTC[0.00002415]

07997193                           BTC[.03944295]                                                                                                                                                                   Yes

07997194                           CUSDT[1], SHIB[1502403.84615384], USD[0.00]

07997204                           USD[20.00]

07997207                           BTC[0], USD[0.00]

07997213                           USD[500.00]

07997222                           USD[10.00]

07997224                           ETH[0], USD[0.00]

07997230                           BTC[.01201281], ETH[.19603503], ETHW[.19603503], SHIB[1298700], SOL[3.37201858], USD[0.00]

07997252                           DOGE[1], ETH[.25321848], ETHW[.25302675], USD[0.00], USDT[1.07483158]                                                                                                            Yes

07997258                           BTC[.000027], USD[0.00]

07997264                           USD[4.27]

07997268                           AUD[87.50], BAT[22.98127526], BRZ[139.74378793], CUSDT[504.15981129], EUR[112.02], GBP[63.72], SHIB[280889.27682926], TRX[235.42279681], USD[73.59]                              Yes

07997274                           USD[5.40]                                                                                                                                                                        Yes

07997275                           USD[0.00]

07997283                           BF_POINT[100]

07997284                           BTC[.0000002], DOGE[.053], ETH[.00062345], ETHW[.00034587], LINK[.1077], MATIC[.809], USD[0.01]

07997289                           CUSDT[2], DOGE[153.07098052], ETH[.01128665], ETHW[.01114985], USD[0.01]                                                                                                         Yes

07997292                           CUSDT[1], ETH[.00362505], ETHW[.00358398], USD[0.00]                                                                                                                             Yes

07997294                           CUSDT[1], LINK[6.72440511], USD[0.00]                                                                                                                                            Yes

07997295                           SUSHI[508.57899068], USD[0.00]

07997298                           BAT[74], GRT[100], SUSHI[50], USD[2.11]

07997299                           USD[10.86]                                                                                                                                                                       Yes

07997300                           BTC[.0192], USD[4.46]

07997307                           GRT[1.00312819], SHIB[29092200.78987366], USD[0.01]                                                                                                                              Yes
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                                                                                                                                            Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07997310                              BAT[1.0165555], CUSDT[1], MATIC[102.39487353], USD[0.01]                                                                                                                                   Yes

07997332                              USD[0.00]

07997335                              SHIB[2], USD[0.00]

07997339                              SOL[.00009], USD[0.00], USDT[0]

07997346                              AUD[0.02], CAD[0.01], CUSDT[2], DAI[.99468657], DOGE[55.0863977], GBP[1.60], TRX[27.16184812], USD[5.63]                                                                                   Yes

07997349                              BTC[.0000853], ETH[0], TRX[.000074], USD[0.52], USDT[0.00816160]

07997353                              BRZ[5], DOGE[19.10295889], ETH[.0000126], ETHW[1.75092138], GRT[1], LINK[1.00075831], MATIC[.01233596], SHIB[17], TRX[10], USD[1541.68]                                                    Yes

07997359                              USD[500.00]

07997364                              USD[10.00]

07997366                              AAVE[0], BAT[0], BTC[0.00023879], DOGE[5.12162542], ETH[0], SHIB[8572.4351914], SOL[0.00096768], TRX[0], USD[0.00]                                                                         Yes

07997367                              USD[500.00]

07997368                              CUSDT[4], DOGE[2], GRT[1.00252363], TRX[4], USD[0.00]                                                                                                                                      Yes

07997371                              SOL[.014], USD[2.02]

07997372                              BTC[.00106383], NFT (379534604012666049/Statue of Bitcoin Liberty )[1], SOL[.9], USD[0.00]

07997379                              USD[10.00]

07997381                              SOL[1.99804547], TRX[1128.54667088], USD[0.00]

07997387                              USD[20.00]

07997389                              USD[300.00]

07997392                              CUSDT[1], DOGE[1], KSHIB[2650.79055189], SHIB[2855311.17820623], SOL[6.80985533], TRX[1], USD[0.00]                                                                                        Yes

07997393                              CUSDT[2], DOGE[356.11994176], NFT (289483757316589024/CatFamilya #34)[1], NFT (293109065809464126/Alien Women #9)[1], NFT (304994338622853136/CatFamilya #45)[1], NFT
                                      (318850656259246361/CatFamilya #51)[1], NFT (356957500729615999/Cute Cat)[1], NFT (358659529249199586/88rising Sky Challenge - Fire #71)[1], NFT (391100211003082061/CatFamilya #31)[1],
                                      NFT (423333320870743831/8bit Mario Mushroom #2)[1], NFT (425051608707046813/CatFamilya #40)[1], NFT (427119454305146358/CatFamilya #32)[1], NFT (442184508058200868/Cheshire #2)[1],
                                      NFT (456840203872054627/CatFamilya #33)[1], NFT (481332483231362823/My Avatar #16)[1], NFT (485001979552268351/CatFamilya #47)[1], NFT (488489625093940895/Bice Sketch Tattoo #2)[1],
                                      NFT (495175845250454915/Cute Bird)[1], NFT (508689055792712573/CatFamilya #48)[1], NFT (529118482097064521/CatFamilya #37)[1], NFT (533533452338283763/Tim Brown's Playbook: New
                                      York Jets vs. Oakland Raiders - December 2, 2002 #60)[1], NFT (574976011053692263/Artus)[1], SHIB[578035.68208092], USD[0.00]
07997394                              DOGE[1], KSHIB[0], SHIB[4], SOL[.000011], USD[0.01]                                                                                                                                        Yes

07997409                              USD[0.00], USDT[18.89373953]

07997412                              CUSDT[1], DOGE[33.84351863], SHIB[368726.58449809], USD[20.37]                                                                                                                             Yes

07997414                              CUSDT[5], DOGE[1], ETH[.0392716], ETHW[.03878172], SOL[.53894517], TRX[2], USD[0.00]                                                                                                       Yes

07997421                              BTC[.00165269], CUSDT[2], USD[5.61]                                                                                                                                                        Yes

07997423                              USD[25.00]

07997424                              BTC[.54052265], USD[0.00]

07997434                              SHIB[500000], USD[3.42]

07997445                              BRZ[14.93637385], BTC[0], CUSDT[83.54367664], DOGE[28.70820440], ETH[0], GRT[5.1251657], LTC[0], MATIC[0], NFT (405151420938808331/Entrance Voucher #1751)[1], SHIB[30], SOL[0],           Yes
                                      TRX[22.07381465], USD[0.08], USDT[2.15006992]
07997455                              MATIC[9.74], USD[0.01], USDT[4.69426623]

07997483                              BTC[.00033834], SHIB[601555.53954079], USD[0.00]

07997484                              BTC[0], NEAR[2.02750788], PAXG[0.00104993], SOL[2], USD[0.00]

07997491                              BTC[0], USD[0.07], USDT[0]

07997494                              ALGO[54.99476132], BTC[.00080146], CUSDT[1], DOGE[83.07004038], KSHIB[342.20862833], SHIB[3712209.19379009], TRX[831.152229], USD[0.04]                                                    Yes

07997497                              CUSDT[1], SHIB[2671296.91465206], USD[0.00]

07997498                              DOGE[0], ETH[0], ETHW[0], LTC[0], SHIB[0], SOL[0], USD[0.00], USDT[0.00000012]

07997500                              CUSDT[1], SHIB[267379.67914438], USD[0.00]

07997504                              SHIB[1453007.64862639], TRX[1], USD[0.00]                                                                                                                                                  Yes

07997516                              BTC[.00001737], CUSDT[1], USD[0.00], USDT[0]

07997518                              ETH[.001], ETHW[.001], USD[0.61]

07997519                              ETH[.125874], ETHW[.125874], USD[2.31]

07997520                              USD[2.02]

07997524                              SHIB[3], USD[0.01]                                                                                                                                                                         Yes

07997527                              CUSDT[3], SHIB[1], TRX[1], USD[0.00]                                                                                                                                                       Yes

07997531                              CUSDT[1], ETH[.00560652], ETHW[.00560652], USD[0.00]

07997532                              CUSDT[2], DOGE[372.76846373], MATIC[26.5395536], SHIB[6779002.96001886], TRX[2], USD[0.00]                                                                                                 Yes

07997535                              NFT (400815738660394831/Australia Ticket Stub #142)[1]

07997539                              USD[0.75]

07997545                              BF_POINT[200], CUSDT[3], DOGE[1], SHIB[58614.6097944], TRX[3], USD[0.00], USDT[2]

07997547                              CUSDT[5], LTC[0], MATIC[.00000458], TRX[2], USD[0.00], USDT[0.00036652]                                                                                                                    Yes

07997548       Contingent, Disputed   USD[0.00], USDT[0.00002001]

07997553                              CUSDT[7], DOGE[1.00028329], GRT[.00092918], KSHIB[.00003896], SHIB[4020.26558336], TRX[3], USD[0.00]                                                                                       Yes

07997555                              TRX[144.23469917], USD[0.00]                                                                                                                                                               Yes

07997559                              BRZ[1], CUSDT[22], ETHW[.16785865], SHIB[3], TRX[7], USD[0.00]                                                                                                                             Yes

07997568                              USD[20.00]
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                                                                                                                                         Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07997572                           ETH[0], ETHW[0], SOL[.00000001]

07997577                           DOGE[2], SHIB[1], USD[0.00]

07997581                           NFT (518909896417086315/Gods Fam #2)[1], USD[125.07]

07997584                           CUSDT[4], DOGE[2], NFT (341380782699257629/AI #11)[1], NFT (417482170761431673/AI #4)[1], SHIB[4], USD[0.00]                                                                            Yes

07997591                           BTC[.0002402]                                                                                                                                                                           Yes

07997593                           USD[11.00]

07997606                           USD[0.01]

07997615                           USD[99.19]

07997631                           BRZ[1], DOGE[.22480193], GRT[.05612128], LTC[.00035364], SHIB[142170.00354995], SOL[.00266905], USD[0.00]                                                                               Yes

07997632                           CUSDT[1], KSHIB[1336.4999472], USD[0.00]

07997635                           USD[21.51]                                                                                                                                                                              Yes

07997648                           TRX[2259], USDT[.00919959]

07997651                           CUSDT[1], SHIB[2728378.73341208], USD[0.01]                                                                                                                                             Yes

07997654                           BTC[.00328124], CUSDT[207.13091915], DOGE[145.13676236], ETH[.07209781], ETHW[.07120228], LINK[2.60954893], SHIB[5], SOL[1.069894], TRX[1], USD[4.41]                                   Yes

07997658                           USD[10.76]                                                                                                                                                                              Yes

07997659                           AAVE[0.19551895], BCH[0], CUSDT[2], DAI[0], LTC[0], SHIB[418599.09251336], SOL[0.16864771], SUSHI[0], TRX[0], USD[0.00]                                                                 Yes

07997664                           SOL[.79203713], TRX[1], USD[0.00]                                                                                                                                                       Yes

07997672                           CUSDT[362.40344955], MKR[.002964], PAXG[.00106709], USD[2.97], USDT[3.11991236]                                                                                                         Yes

07997676                           LTC[2.76736716], TRX[1], USD[0.00]                                                                                                                                                      Yes

07997680                           BTC[.00011563], SHIB[20], SOL[3.08724867]                                                                                                                                               Yes

07997681                           USD[0.01]                                                                                                                                                                               Yes

07997685                           SHIB[349691.9258927], USD[0.00]                                                                                                                                                         Yes

07997690                           BAT[552.97882476], CUSDT[1], USD[1000.00]

07997693                           USD[20.00]

07997697                           BTC[.00002934], ETH[.000999], ETHW[.000999], SHIB[600000], USD[0.00]

07997699                           SHIB[934854.72546909], USD[0.00]

07997712                           AVAX[0], BTC[0.01983043], SHIB[2], SOL[.00000019], USD[0.00]                                                                                                                            Yes

07997723                           USD[0.00]                                                                                                                                                                               Yes

07997749                           BRZ[1], BTC[.02741038], DOGE[1], USD[1494.14], USDT[1.07087344]                                                                                                                         Yes

07997750                           ETH[.0005], ETHW[.0005], SOL[.04], USDT[.6416288]

07997756                           DOGE[1], SHIB[6685385.74675758], USD[0.00]

07997757                           USDT[0]

07997761                           NFT (417075165517795434/Anti Social Bot #1569)[1], SOL[.009995]

07997766                           BAT[90.909], BTC[.0025], CUSDT[1636.639], DOGE[155], ETH[.020979], ETHW[.020979], MATIC[59.94], SHIB[400000], SOL[.42957], SUSHI[15], TRX[1187], USD[214.17]

07997767                           SHIB[28700], USD[0.00], USDT[0.00008216]

07997779                           ETHW[3.01], USD[5.95]

07997789                           TRX[1], USD[0.02]                                                                                                                                                                       Yes

07997790                           CUSDT[1], SHIB[218328.80837643], USD[0.00]                                                                                                                                              Yes

07997792                           ETH[0], NFT (297824495720830200/JPEG #565)[1], NFT (356733357776671424/Golden Hill #644)[1], NFT (366797951046999258/Beasts #379 (Redeemed))[1], NFT (430275587484629558/SolFighter
                                   #3951)[1], NFT (433627516844412010/Guardian Bubs)[1], NFT (452747755374557760/SolFighter #3876)[1], NFT (453899892212604937/Golden Hill #160)[1], NFT (508754074274417885/Ferris From
                                   Afar #382)[1], NFT (557118369787946418/Guardian Bubs)[1], USD[0.00], USDT[0]
07997793                           ETH[.00000001], SOL[0]

07997794                           USD[21.51]                                                                                                                                                                              Yes

07997796                           BTC[.05777945], ETH[.231768], ETHW[.231768], KSHIB[1900], SHIB[1900000], SOL[8.33186], USD[857.62]

07997799                           SHIB[13], USD[0.00]                                                                                                                                                                     Yes

07997802                           USD[1.15]

07997803                           ETH[.00114858], ETHW[.00114858], SHIB[478659.92533883], USD[0.00]

07997808                           CUSDT[1], ETH[1.17733534], ETHW[1.17733534], SHIB[1374759.417102], TRX[2], USD[100.00]

07997824                           SOL[.00000123], USD[0.01]                                                                                                                                                               Yes

07997825                           USD[0.01]

07997826                           BTC[.0630702], ETH[.07992], ETHW[.07992], USD[2.91]

07997827                           BTC[.0214785], ETH[.4995], ETHW[.4995], LINK[8.0959], NFT (425786135157277702/Sollama)[1], NFT (530128132666284956/Vinny, the Nutty)[1], SHIB[1298700], SOL[10.001], SUSHI[34.965],
                                   TRX[1000], USD[9.42], USDT[200]
07997831                           ETH[.04087277], ETHW[0.04087277], SHIB[5000000.73866806], USD[0.00]

07997840                           CUSDT[1], DOGE[1], TRX[1.0322005], USD[0.01]                                                                                                                                            Yes

07997842                           DOGE[1], SHIB[1], TRX[3], USD[0.01]                                                                                                                                                     Yes

07997843                           USD[108.02]                                                                                                                                                                             Yes

07997844                           CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                             Yes

07997846                           USD[0.00]

07997849                           BTC[.32197659], ETH[2.19534943], ETHW[2.19534943], SOL[41.59], USD[2.57]
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                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07997853                           CUSDT[2], ETH[0.00000004], ETHW[0.00000004], TRX[1], USD[0.00]                                                                                                                        Yes

07997859                           KSHIB[13785.76415205], SHIB[20837.38109567], SOL[0.00000425], USD[0.00]                                                                                                               Yes

07997866                           BTC[.0106966], SOL[.999], USD[1880.17]

07997870                           CUSDT[259.26919954], DOGE[1], ETH[.00000008], ETHW[.00000008], SHIB[1], TRX[1], USD[29.79]                                                                                            Yes

07997872                           USD[0.01]

07997876                           CUSDT[1], TRX[1], USD[0.00]

07997877                           SOL[2.5]

07997893                           USD[0.08]                                                                                                                                                                             Yes

07997894                           BTC[.1211487], DOGE[697.70185447], ETH[1.46127191], GRT[799.57189905], LINK[61.04544826], MATIC[823.24733885], NFT (313927083625026495/Entrance Voucher #1981)[1],                     Yes
                                   SOL[144.9656475], TRX[3193.31156333], USD[0.00], USDT[0]
07997898                           BRZ[1.27441446], CHF[0.23], CUSDT[347.79754775], DOGE[2], ETH[.02503761], ETHW[.00412188], EUR[0.88], HKD[1.94], MATIC[.11430864], NFT (289081706330283331/NFT Energy Stones#1)[1], Yes
                                   NFT (289340729086728345/Nobu Sensei #762)[1], NFT (290629261980622390/FTX Crypto Cup 2022 Key #1602)[1], NFT (291432911575785515/FTX Crypto Cup 2022 Key #1163)[1], NFT
                                   (295129290888487619/ApexDucks Halloween #2447)[1], NFT (298348620502661573/Mad Lions Remastered #30)[1], NFT (298382343979205040/Call It #2)[1], NFT (298695489524088850/Mona Lisa
                                   Kitty Cats)[1], NFT (299539320262555494/Solana Christmas Tree)[1], NFT (303540760238000049/Rooster)[1], NFT (304509044875832786/SolBunnies #1957)[1], NFT (306656867166049999/GSW
                                   Round 1 Commemorative Ticket #178)[1], NFT (307415882883149114/Sigma Shark #3210)[1], NFT (307442737690454519/FTX Crypto Cup 2022 Key #1061)[1], NFT (309112959950724703/FTX
                                   Crypto Cup 2022 Key #1155)[1], NFT (310524068837842815/FTX x Fragadelphia Proof of Attendance #175)[1], NFT (315019249776196129/FTX Crypto Cup 2022 Key #853)[1], NFT
                                   (315538002011454130/Black.Picasso.Marble)[1], NFT (315916053615197153/StarAtlas Anniversary)[1], NFT (317643432006767125/GSW Round 1 Commemorative Ticket #345)[1], NFT
                                   (319086641873123758/FTX Crypto Cup 2022 Key #850)[1], NFT (320915637164217642/Sigma Shark #3262)[1], NFT (322577065927575200/Founding Frens Lawyer #632)[1], NFT
                                   (325096894299532230/FTX Crypto Cup 2022 Key #1156)[1], NFT (328560269891424701/3D SOLDIER #1121)[1], NFT (333169387097558202/FTX Crypto Cup 2022 Key #1595)[1], NFT
                                   (334848434208777285/3D Snowman)[1], NFT (335818455872995726/FTX Crypto Cup 2022 Key #1153)[1], NFT (337452073824868111/Solana Squirrel #800)[1], NFT
                                   (338843470973715908/White.Emo.Marble)[1], NFT (343868821428462920/FTX Crypto Cup 2022 Key #1608)[1], NFT (348302222935790272/FTX Crypto Cup 2022 Key #1594)[1], NFT
                                   (349014252926549689/StarAtlas Anniversary)[1], NFT (350361077117888977/StarAtlas Anniversary)[1], NFT (351403212708613692/Horse Number #9)[1], NFT (352681155337830321/Mob cats
                                   collection #5)[1], NFT (352730786621898149/StarAtlas Anniversary)[1], NFT (353731810140507006/Purple.LSD.Marble)[1], NFT (355837753115920378/FTX Crypto Cup 2022 Key #1151)[1], NFT
                                   (356149686942531338/3D CATPUNK #4538)[1], NFT (356800768733967836/Cadet 81)[1], NFT (363822339888041517/FTX Crypto Cup 2022 Key #851)[1], NFT (365094142982989965/Mob cats
                                   collection #10)[1], NFT (366783240520053848/FTX Crypto Cup 2022 Key #1157)[1], NFT (368927724175434693/Tre'Quan)[1], NFT (370016186370879222/Mona Lisa Bride)[1], NFT
                                   (371642545196727289/Sigma Shark #5802)[1], NFT (372703296311827990/FTX Crypto Cup 2022 Key #1045)[1], NFT (373764540649785439/FTX Crypto Cup 2022 Key #843)[1], NFT
                                   (375216395113340055/SOL BROBOT #2799)[1], NFT (375770705771456545/Microphone #4223)[1], NFT (377125543563491809/FTX Crypto Cup 2022 Key #847)[1], NFT (379313237369259434/Ape
                                   MAN#05)[1], NFT (379409215074188001/Christmas Tree #2)[1], NFT (383014488944410133/FTX Crypto Cup 2022 Key #844)[1], NFT (383827831408921999/FTX Crypto Cup 2022 Key #1617)[1], NFT
                                   (385491171323853706/White.Shadow.Marble)[1], NFT (386614653207293733/Entrance Voucher #29473)[1], NFT (386898543522392187/Mob cats collection #4)[1], NFT
                                   (387895387357752906/ApexDucks Halloween #3126)[1], NFT (389094089672898963/Sigma Shark #4063)[1], NFT (390005958121191747/Mona Lisa The Films)[1], NFT (390731182006520196/FTX
                                   Crypto Cup 2022 Key #922)[1], NFT (391156174807886503/FTX Crypto Cup 2022 Key #1162)[1], NFT (391718795257833235/Black.FurSeal.Marble)[1], NFT (391835666403481626/FTX Crypto Cup
                                   2022 Key #2057)[1], NFT (392480095300384145/Yellow.Chain.Marble)[1], NFT (393584838455568079/FTX Crypto Cup 2022 Key #1609)[1], NFT (393854228150382511/Feisty Fox #10)[1], NFT
                                   (394099361283659752/ApexDucks Halloween #728)[1], NFT (394759172048669970/Microphone #7874)[1], NFT (395036741220794022/Grey.Nerd.Marble)[1], NFT (396577321216892532/Ape
                                   MAN#2)[1], NFT (397071550577518482/Solana Squirrel #824)[1], NFT (398927654833347344/FTX Crypto Cup 2022 Key #1605)[1], NFT (400634079850727651/SOL BROBOT #4816)[1], NFT
                                   (402245004597513461/FTX Crypto Cup 2022 Key #856)[1], NFT (409224068778906627/Microphone #9009)[1], NFT (411594702565026033/Yellow.BNB.Marble)[1], NFT
                                   (411607784251329885/SickintheGulliver Collection #28)[1], NFT (416440840181798314/FTX Crypto Cup 2022 Key #1160)[1], NFT (416559416537977352/FTX Crypto Cup 2022 Key #1161)[1], NFT
                                   (419508805719488727/Sigma Shark #1593)[1], NFT (420147004794815666/Sigma Shark #2309)[1], NFT (420381972645528484/Solana Original #6)[1], NFT (423704855630339080/FTX Crypto Cup
                                   2022 Key #849)[1], NFT (428150348783868117/SolBunnies #698)[1], NFT (430050068200215067/FTX Crypto Cup 2022 Key #848)[1], NFT (430755097170567384/Microphone #7724)[1], NFT
                                   (431627321392332979/Grey.French.Marble)[1], NFT (433681406987844818/Mob cats collection #100)[1], NFT (442943064510194078/Feisty Fox #14)[1], NFT (447235858315209939/Boneworld
                                   #4022)[1], NFT (450968030963671823/Sigma Shark #5617)[1], NFT (451507457389144196/FTX Crypto Cup 2022 Key #1611)[1], NFT (457850847321695076/FTX Crypto Cup 2022 Key #2043)[1], NFT
                                   (462387127101823918/Solana Squirrel #521)[1], NFT (465313002113212919/FTX Crypto Cup 2022 Key #1607)[1], NFT (465632092831167306/Autumn 2021 #2271)[1], NFT
                                   (465873831596985826/Humpty Dumpty #1365)[1], NFT (465975896619390466/Founding Frens Investor #125)[1], NFT (466759867248295063/SickintheGulliver Collection #42)[1], NFT
                                   (467547629344050916/FTX EU - we are here! #249929)[1], NFT (468902697814429621/FTX Crypto Cup 2022 Key #2049)[1], NFT (471353379520111327/Sigma Shark #4753)[1], NFT
                                   (474647994740960389/Feisty Fox #23)[1], NFT (476070401928345076/DarkPunk #3801)[1], NFT (478228414848950833/Dragon Zodiac)[1], NFT (479070705960593626/FTX Crypto Cup 2022 Key
                                   #1166)[1], NFT (480069840107178167/FTX Crypto Cup 2022 Key #846)[1], NFT (486104785383093500/Feisty Fox #13)[1], NFT (488765829504229775/FTX Crypto Cup 2022 Key #2051)[1], NFT
                                   (491028268220583203/September 30 Birthday Cake)[1], NFT (491758204291269934/FTX Crypto Cup 2022 Key #1603)[1], NFT (491905008422745224/September 1 Birthday Cake)[1], NFT
                                   (493054698427009953/Sigma Shark #1966)[1], NFT (494937711066655054/January 25 Birthday Cake)[1], NFT (495689104593424382/ApexDucks Halloween #823)[1], NFT (496868026648420356/SOL
                                   BROBOT #4736)[1], NFT (500806681513049780/FTX Crypto Cup 2022 Key #2050)[1], NFT (502139527909193677/Solana Squirrel #174)[1], NFT (503059335859982766/GSW Round 1
                                   Commemorative Ticket #657)[1], NFT (503447705063807444/Travel sprouts collection #11)[1], NFT (505961909994391812/Baddies #1640)[1], NFT (510515615525505312/FTX Crypto Cup 2022 Key
                                   #1159)[1], NFT (512926293376838281/FTX Crypto Cup 2022 Key #2036)[1], NFT (516616292514553128/Solana Squirrel #539)[1], NFT (519014551309975652/Pixalate #2)[1], NFT
                                   (519301070407781559/StarAtlas Anniversary)[1], NFT (520338908892829226/FTX Crypto Cup 2022 Key #1612)[1], NFT (520363757038616467/January 31 Birthday Cake)[1], NFT
                                   (520445136077077164/FTX EU - we are here! #252487)[1], NFT (524156749230153396/Travel sprouts collection #17)[1], NFT (525553770534162171/SOL BROBOT #813)[1], NFT
                                   (527244184172789650/FTX Crypto Cup 2022 Key #852)[1], NFT (527302478383072822/Solana Squirrel #137)[1], NFT (528031180201444785/Microphone #1439)[1], NFT (529810234055377938/FTX
                                   Crypto Cup 2022 Key #845)[1], NFT (532161329780126310/November 26 Birthday Cake)[1], NFT (532441936203469259/420utils)[1], NFT (532825562546416669/Smile Zabava #2)[1], NFT
                                   (535970427221673770/White.Diamond.Marble)[1], NFT (535994127400814505/FTX x Fragadelphia Proof of Attendance #174)[1], NFT (536203372812268511/FTX - Off The Grid Miami #4634)[1], NFT
                                   (544458094754622386/Sigma Shark #4402)[1], NFT (544821879127753747/FTX Crypto Cup 2022 Key #25525)[1], NFT (545208623685876599/Animal Gang #144)[1], NFT
                                   (545457732228217667/APEFUEL by Almond Breeze #969)[1], NFT (546614435033692618/FTX - Off The Grid Miami #705)[1], NFT (548386382099396301/420utils #2)[1], NFT
                                   (549404995346709085/Feisty Fox #24)[1], NFT (552635449689332137/Sigma Shark #4731)[1], NFT (553090206740501211/Solana Squirrel #314)[1], NFT (554152114331669362/Cryptographic zombie
                                   #11)[1], NFT (555341167888984223/Yellow.Love.Marble)[1], NFT (556303433971477052/Correction)[1], NFT (556657235694354081/StarAtlas Anniversary)[1], NFT (558787730753294191/2D SOLDIER
                                   #3491)[1], NFT (560137444432876157/Feisty Fox #20)[1], NFT (561113839512219481/Grey.Ethereum.Marble)[1], NFT (561800532988667017/Boneworld #5494)[1], NFT (563038123255384423/FTX
                                   Crypto Cup 2022 Key #1158)[1], NFT (563083142116124489/God. Bring us a miracle.)[1], NFT (563906397347575602/Feisty Fox #08)[1], NFT (563907576681337209/FTX Crypto Cup 2022 Key
07997901                           DOGE[1], LTC[1.90435904], USD[0.01]

07997917                           SOL[.97902], USD[3.11]

07997920                           USD[0.00]                                                                                                                                                                             Yes

07997921                           BRZ[8958.0246532], BTC[.02765494], CUSDT[2], DOGE[11677.93447112], ETH[1.30711468], ETHW[1.30656688], GRT[2.02302668], LINK[120.82368397], SHIB[136959085.59241034],                  Yes
                                   SOL[43.82410444], TRX[20804.21066627], USD[2.45]
07997925                           SOL[0]

07997929                           USD[20.00]

07997931                           BAT[1], BRZ[1], CUSDT[5], DOGE[1], ETH[.3521495], ETHW[.3521495], SHIB[5], SOL[9.18999122], TRX[3], USD[0.00]

07997932                           ETHW[10.797], USD[0.41]

07997936                           SHIB[196097.13366709], USD[0.00], USDT[0]                                                                                                                                             Yes

07997941                           AVAX[.00011163], BAT[.00212488], BRZ[12.42273787], BTC[0], CUSDT[17], DOGE[1], ETHW[.08830934], GRT[4.06563413], SHIB[4], USD[0.01], USDT[0]                                          Yes

07997951                           USD[0.00]                                                                                                                                                                             Yes

07997959                           USD[2.01]                                                                                                                                                                             Yes

07997971                           BTC[.00079362], DOGE[63.90103508], ETH[.00264616], ETHW[.0026188], MATIC[4.41273413], SHIB[622947.71633887], TRX[1], USD[0.00]                                                        Yes

07997972                           CUSDT[3], SHIB[4633857.03593764], USD[3.35]                                                                                                                                           Yes

07997973                           BTC[.0002974], DOGE[6.409], ETH[.008916], ETHW[.008916], LINK[1.8766], LTC[.12753], MATIC[29.66], SHIB[1484200], SOL[.1668], UNI[.33835], USD[590.08], USDT[15.55786101]

07997986                           CUSDT[5], DOGE[1], SHIB[1110151.37036376], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07997990                           SHIB[156895.6539553], TRX[43.51483131], USD[21.51]                                                                                                                  Yes

07997992                           USD[0.00]

07997993                           AVAX[.48903398], BTC[.01655918], CUSDT[43], DOGE[83.90576846], ETH[.13394741], ETHW[.13287762], LINK[.5904031], SHIB[470250.41217753], SOL[3.45267349], USD[1.52]   Yes

07997999                           BRZ[1], CUSDT[8], DOGE[1], TRX[7], USD[0.00]

07998000                           BRZ[1], CUSDT[9], DOGE[1], TRX[1], USD[299.13], USDT[2.14419314]                                                                                                    Yes

07998008                           USD[3.58]

07998012                           USD[0.00]                                                                                                                                                           Yes

07998014                           BRZ[1], CUSDT[1], DOGE[3], SHIB[6246737.02559972], SUSHI[364.66923761], TRX[1], USD[0.00]                                                                           Yes

07998017                           CUSDT[10], DOGE[627.21249034], KSHIB[.38439203], SHIB[1], USD[0.00]

07998024                           CUSDT[2], USD[21.55]                                                                                                                                                Yes

07998031                           SOL[.24541455], USD[0.00]

07998036                           USD[0.00]                                                                                                                                                           Yes

07998039                           USD[12437.47]                                                                                                                                                       Yes

07998041                           USD[54.31]                                                                                                                                                          Yes

07998045                           CUSDT[4], DOGE[1], TRX[1], USD[0.01]                                                                                                                                Yes

07998046                           USD[20.00]

07998052                           CUSDT[3], DOGE[2], SHIB[70237259.87705492], TRX[2], USD[0.00]

07998053                           KSHIB[48.2728958], SHIB[97568.60944463], USD[0.00]                                                                                                                  Yes

07998054                           DOGE[1], SHIB[7094444.16157184], USD[0.00]                                                                                                                          Yes

07998058                           LINK[21.57505623], MATIC[275.86136514], SHIB[60.49146748], USD[114.84]                                                                                              Yes

07998060                           USD[10.86]                                                                                                                                                          Yes

07998067                           SOL[.00000001]

07998070                           BTC[.00480768], ETH[.02263843], ETHW[.02263843], USD[0.00]

07998075                           CUSDT[2], ETH[.02456339], ETHW[.02426221], USD[0.00]                                                                                                                Yes

07998078                           USD[0.00], USDT[0]

07998085                           SOL[.0002203], USD[0.00]

07998090                           BAT[1.00896218], ETH[0]                                                                                                                                             Yes

07998094                           CUSDT[1], SHIB[649266.32904817], USD[0.01]

07998106                           SHIB[139887.80914058], USD[0.00]                                                                                                                                    Yes

07998107                           SHIB[5411707.67001545], USD[0.00]

07998115                           BTC[0], SOL[0], USD[0.00]

07998116                           DOGE[.966], SHIB[99500], USD[12.82], USDT[11.05718413]

07998122                           CUSDT[1], DOGE[1], ETH[.02651137], ETHW[.02618305], USD[0.00]                                                                                                       Yes

07998123                           USD[0.00], USDT[0]

07998126                           SHIB[156542.14383807], USD[0.00]                                                                                                                                    Yes

07998129                           CUSDT[1], SHIB[352449.27896633], USD[0.00]                                                                                                                          Yes

07998133                           USD[135.79]                                                                                                                                                         Yes

07998145                           USD[217.25]                                                                                                                                                         Yes

07998157                           USD[100.00]

07998158                           SOL[.00000001]

07998178                           LINK[12.71562606]                                                                                                                                                   Yes

07998184                           BAT[1.01370948], CUSDT[18360.38430518], DOGE[1], TRX[1241.25882052], USD[0.00]                                                                                      Yes

07998186                           BTC[0], DOGE[0], ETH[0], ETHW[0], LINK[0], USD[0.01]                                                                                                                Yes

07998194                           USD[3.74]

07998196                           USD[0.01]

07998198                           CUSDT[1], KSHIB[936.07511815], SHIB[1406264.290537], USD[0.00]                                                                                                      Yes

07998208                           CUSDT[1], SOL[1.77186626], USD[0.01]                                                                                                                                Yes

07998210                           CUSDT[1], SHIB[4793252.38476435], TRX[1], USD[0.00]                                                                                                                 Yes

07998211                           BAT[4.15266943], BRZ[5.02095055], BTC[0.55356140], CUSDT[3], DOGE[9.11418834], ETH[5.03159705], ETHW[5.02984227], GRT[2], SHIB[2], TRX[13], USD[3.66], USDT[0]      Yes

07998213                           BRZ[61.56874566], CUSDT[1], LTC[.26772679], USD[54.37]                                                                                                              Yes

07998216                           USD[20.00]

07998217                           SOL[1.986102], TRX[1], USD[0.00]

07998225                           BTC[.00146138], CUSDT[5], DOGE[79.90223864], ETH[.01498206], ETHW[.01479054], SHIB[155259.0365968], SOL[.10668098], USD[0.03]                                       Yes

07998231                           ETH[.111888], ETHW[.111888], USD[5.00]

07998235                           BTC[.00028187], USD[0.00]

07998239                           SHIB[656857.59327377], TRX[1], USD[0.01]

07998242                           SOL[0], USD[0.00], USDT[0.00000200]

07998244                           CUSDT[2], DOGE[372.85353], KSHIB[2599.23759162], SHIB[1481449.91631902], TRX[1092.42745942], USD[0.01]                                                              Yes
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                                                                                                                                          Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07998245                           USD[0.00]

07998250                           ETH[0], USD[0.61]

07998256                           BTC[0], USD[3164.00]

07998261                           SOL[.04], USD[2.00]

07998269                           USD[0.00]

07998271                           SHIB[26500000], USD[5.08]

07998274                           USD[0.00]

07998280                           USD[1.92]

07998286                           MATIC[20], SHIB[200000], USD[102.44]

07998293                           CUSDT[4], SHIB[2323395.92096466], USD[0.19]                                                                                                                                               Yes

07998294                           CUSDT[5], DOGE[4], TRX[2], USD[0.00], USDT[1]

07998302                           BRZ[1], CUSDT[5], SHIB[41.46979494], USD[0.01]                                                                                                                                            Yes

07998303                           SOL[.05379438], USD[0.00]                                                                                                                                                                 Yes

07998304                           BTC[.00071517], CUSDT[150.70130242], DOGE[64.65901255], ETH[.04097312], ETHW[.04046696], SHIB[4000690.92363037], SOL[.13834578], TRX[191.91949137], USD[0.01]                             Yes

07998308                           NFT (301571734506626600/Humpty Dumpty #1329)[1]

07998311                           DOGE[1], SOL[21.23289461], USD[0.00]                                                                                                                                                      Yes

07998316                           CUSDT[2], DOGE[1.37806959], LINK[.00618658], SHIB[4631.95063387], TRX[0.16526170], USD[0.84]                                                                                              Yes

07998317                           CUSDT[3], USD[0.00]                                                                                                                                                                       Yes

07998318                           CUSDT[2], SHIB[1], USD[13.97]                                                                                                                                                             Yes

07998324                           DOGE[1], TRX[1], USD[448.97]

07998327                           BTC[.0681], SHIB[26200000], USD[3.35]

07998328                           BAT[78.48903249], BRZ[1], CUSDT[5.00044182], ETH[0.01476773], ETHW[0.01458989], LTC[0.14348440], SOL[.04413162], TRX[1], USD[0.00]                                                        Yes

07998339                           NFT (395167148740380532/Ape City #2)[1], NFT (562238858238370296/Contemporary #5)[1], USD[0.00], USDT[0]                                                                                  Yes

07998340                           ETH[0], SOL[0], USD[0.00]

07998361                           CUSDT[1], SHIB[1433586.95774931], USD[0.00]                                                                                                                                               Yes

07998362                           SHIB[1], TRX[1], USD[0.00]                                                                                                                                                                Yes

07998363                           BTC[.00005554]                                                                                                                                                                            Yes

07998385                           ALGO[182.69932948], SHIB[4], TRX[443.23102114], USD[0.00]                                                                                                                                 Yes

07998395                           BTC[.00094607], CUSDT[1], DOGE[1], ETH[.0125502], ETHW[.01239972], SOL[.49541842], TRX[2], USD[0.01]                                                                                      Yes

07998400                           USD[3.25]                                                                                                                                                                                 Yes

07998402                           CUSDT[1], DOGE[2], SOL[.13837763], TRX[1], USD[5.65]

07998405                           USD[10.00]

07998410                           BTC[.00112786], CUSDT[7], DOGE[188.48321532], ETH[.01692642], ETHW[.01672122], SOL[.15848427], USD[0.09]                                                                                  Yes

07998411                           CUSDT[7], DOGE[0], SHIB[0], TRX[3], USD[0.01]

07998415                           SOL[.00000727], USD[0.00]                                                                                                                                                                 Yes

07998416                           BTC[.00052748], CUSDT[4], DOGE[108.71347763], ETH[.02177066], ETHW[.02177066], USD[0.00]

07998418                           BTC[.00032176], ETH[0.01188166], ETHW[0.01188166], SHIB[1]

07998427                           BCH[0], BTC[0], USD[8.92], USDT[0]

07998431                           BTC[.024], ETH[.11], ETHW[.11], USD[11.46]

07998435                           CUSDT[1], KSHIB[1996.52099561], USD[0.00]                                                                                                                                                 Yes

07998439                           BRZ[1], BTC[.03767301], CUSDT[5], DOGE[5], ETH[.47110555], ETHW[.47110555], GRT[1], SHIB[20], TRX[5], USD[0.00]

07998440                           DOGE[1], ETH[1.13319864], USD[8587.51], USDT[1.00793413]                                                                                                                                  Yes

07998443                           BTC[.00355034], DOGE[1], USD[0.01]                                                                                                                                                        Yes

07998448                           USD[1000.00]

07998468                           USD[0.00]                                                                                                                                                                                 Yes

07998472                           BTC[0], ETH[.000091], ETHW[.000091], SOL[.00297], USD[1.17]

07998475                           CUSDT[4], LINK[2.23646654], SHIB[985095.41095731], SUSHI[5.11586996], TRX[1], UNI[2.52116828], USD[0.00]                                                                                  Yes

07998476                           BTC[0], ETH[0], ETHW[0], USD[0.00], USDT[0.00000913]                                                                                                                                      Yes

07998478                           USD[0.00]                                                                                                                                                                                 Yes

07998479                           USD[0.00]

07998488                           AAVE[.02412], BAT[3.44739441], BTC[0.00003374], DOGE[5.71599146], ETH[0.00220537], ETHW[0.00220537], LINK[0.18852717], MATIC[0.82083623], NFT (363201885211112348/Tiger Dino 2)[1],
                                   NFT (380458863238010277/Hall of Fantasy League #203)[1], NFT (487978917381815159/Computer Generated Dino CGD # 4 of 500 )[1], NFT (500221896280027150/Computer Generated Dino CGD #
                                   1 of 500 )[1], NFT (508610084540555133/Hall of Fantasy League #227)[1], SOL[0.03767976], SUSHI[0.64461013], UNI[0.05474088], USD[2.30], YFI[0.00010432]
07998504                           USD[20.00]

07998506                           AUD[0.00], CAD[0.00], CHF[0.00], ETH[.00000001], ETHW[.00000001], EUR[0.00], GBP[0.00], HKD[0.00], NFT (294829977630981316/Miller time)[1], NFT (297499627688014163/Saudi Arabia Ticket   Yes
                                   Stub #541)[1], NFT (297576619085761120/Dual Power ing dark )[1], NFT (304083971932262962/Rare Rock )[1], NFT (315421439882624486/Cute Axolotls Collection #30)[1], NFT
                                   (345738471592175016/Blender #3)[1], NFT (354802515908622207/Series 1: Capitals #229)[1], NFT (361413644504306430/Fluffy fluff)[1], NFT (361737619611034352/Heavenly water#087)[1], NFT
                                   (382256208061334240/No sense album #25)[1], NFT (387223836285125602/2 Acid rauss #4)[1], NFT (390791779295968723/No sense album #30)[1], NFT (391319354533724574/Fishing #0149)[1],
                                   NFT (409548800201969197/Impastas!)[1], NFT (419727049035491193/I sometimes wonder )[1], NFT (459788271387778877/VLADE )[1], NFT (461929446634695208/FTX - Off The Grid Miami
                                   #3412)[1], NFT (473672486037040148/Trap in the Void from Planet Htrae.)[1], NFT (495087257599822332/like a bird set free)[1], NFT (506480014407537505/QB Pressure)[1], NFT
                                   (509392758528444422/Looking Up)[1], NFT (513154568852816292/FTX - Off The Grid Miami #3246)[1], NFT (522669954595780461/Barcelona Ticket Stub #2170)[1], NFT
                                   (527690994460864032/Desert Rose Ferris Wheel #447)[1], NFT (531999595865271833/Series 1: Wizards #203)[1], NFT (556441619987748974/Mauve )[1], SHIB[384227.82194041], SOL[1.03877234],
                                   USD[0.00]
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                                                                                                                                         Customer Claims                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07998508                           DOGE[234.97999454], GRT[105.432562], SHIB[1264316.82241814], USD[31.61]                                                                                                     Yes

07998511                           BTC[.00071913], CUSDT[3], DOGE[1], KSHIB[1989.76271106], USD[0.44]                                                                                                          Yes

07998512                           CUSDT[1], USD[0.00], USDT[1.05618815]                                                                                                                                       Yes

07998513                           USD[0.00]

07998515                           DOGE[1], USD[0.00]                                                                                                                                                          Yes

07998517                           CUSDT[3], DOGE[106.01710869], ETH[.02756846], ETHW[.02756846], SHIB[2344783.4418921], TRX[48.10748722], USD[0.00]

07998539                           DOGE[1], SHIB[2], TRX[1], USD[0.00]                                                                                                                                         Yes

07998540                           NFT (302301215521932874/Woman on Beach)[1], NFT (312982863900147278/Acrobatics)[1], NFT (360666969702228770/Avatar)[1], NFT (368062204169224316/Good Boy #55)[1], NFT       Yes
                                   (387442617823212717/Lonely Woman)[1], NFT (477988415666718776/Someone in Heaven)[1], NFT (492088049977356631/Romeo #929)[1], NFT (556925595818660577/Crazy Woman)[1], NFT
                                   (563540899065527094/Mother Earth)[1], USD[5031.89], USDT[0.00000001]
07998541                           BAT[1], BTC[0], DOGE[4], GRT[1], MATIC[0], SHIB[6], TRX[7], USD[0.01]                                                                                                       Yes

07998542                           CUSDT[3], USD[0.00]                                                                                                                                                         Yes

07998551                           BTC[.00000222]                                                                                                                                                              Yes

07998553                           SHIB[2070.80274779], USD[0.00]                                                                                                                                              Yes

07998555                           DOGE[2], SHIB[1], USD[0.00]

07998560                           BTC[.00181849], CUSDT[1], SHIB[1460913.46227342], TRX[1], USD[0.00]                                                                                                         Yes

07998561                           USD[10.00]

07998565                           NFT (358578742784763711/Humpty Dumpty #65)[1]

07998570                           CUSDT[1], USD[0.01]                                                                                                                                                         Yes

07998571                           CUSDT[6], DOGE[1], KSHIB[9628.24918323], SHIB[3], USD[-24.44]                                                                                                               Yes

07998574                           CUSDT[1], MATIC[52.13325391], USD[0.00]

07998579                           BAT[25.91936257], BRZ[183.01284667], CUSDT[3], ETH[.00510096], ETHW[.00503256], USD[0.00]                                                                                   Yes

07998593                           SHIB[3258602.71115745], USD[0.00]

07998598                           BTC[.0158841], USD[2.70]

07998601                           DOGE[45.50166819], SHIB[218900.65415514], TRX[.00081506], USD[0.00], USDT[0.00000001]                                                                                       Yes

07998602                           BAT[1.01161936], BRZ[1], BTC[.36914868], DOGE[4.00422583], ETH[2.16746942], ETHW[2.1665762], SHIB[7098551.03079264], TRX[2], USD[-4995.89]                                  Yes

07998603                           DOGE[1], SHIB[3702116.00643939], USD[0.00]                                                                                                                                  Yes

07998609                           ETHW[1.38311511]

07998625                           SHIB[7], SOL[1.56225405], USD[0.00]                                                                                                                                         Yes

07998634                           USD[0.00], USDT[0]                                                                                                                                                          Yes

07998642                           USD[10.00]

07998644                           DOGE[1], SHIB[1417881.16144712], TRX[1088.76562758], USD[0.00]                                                                                                              Yes

07998649                           NFT (551039940238443491/Coachella x FTX Weekend 2 #4278)[1]

07998653                           BRZ[120.68738604], CUSDT[3], DOGE[40.28606315], KSHIB[406.03924888], SHIB[593801.96606835], TRX[205.90691282], USD[0.03]                                                    Yes

07998661                           USD[10.86]                                                                                                                                                                  Yes

07998662                           USD[0.00]                                                                                                                                                                   Yes

07998673                           CUSDT[1], SHIB[1453797.00725398], USD[0.01]

07998678                           BTC[.00015939], USD[0.00]

07998680                           BTC[.0007], USD[4.84]

07998686                           CUSDT[3], USD[0.01]

07998687                           TRX[1], USD[0.01], USDT[0]                                                                                                                                                  Yes

07998688                           SOL[.05122142], USD[0.00]

07998690                           TRX[108.8476665], USD[0.00]                                                                                                                                                 Yes

07998694                           SOL[.1], USD[0.34]

07998698                           CUSDT[1], DOGE[1], LTC[.27462889], SHIB[709218.30614605], USD[0.00]                                                                                                         Yes

07998705                           GRT[1.00042013], SHIB[912.44975656], USD[0.00]                                                                                                                              Yes

07998711                           USD[10.00]

07998721                           CUSDT[1], SHIB[345447.0084289], USD[25.00]

07998725                           BF_POINT[300], BRZ[2], BTC[.00019726], CUSDT[4], DOGE[6.00038359], MATIC[.00581552], SHIB[2], TRX[9], USD[-0.75]                                                            Yes

07998726                           NFT (518309178550282049/FTX Crypto Cup 2022 Key #2405)[1], USD[10.00]

07998734                           CUSDT[2], DOGE[36.86110284], KSHIB[211.17787038], SHIB[366588.11207122], USD[0.00]

07998736                           BRZ[1], ETHW[.12778555], GRT[.22607872], SOL[.00179499], USD[0.00]

07998737                           DOGE[1], LTC[.20085419], SOL[.22239669], TRX[1], USD[0.00]                                                                                                                  Yes

07998738                           USD[200.00]

07998743                           DOGE[122.25574351], USD[21.77]                                                                                                                                              Yes

07998756                           CUSDT[2], USD[0.88]                                                                                                                                                         Yes

07998761                           BRZ[1], BTC[.01058646], CUSDT[5], DOGE[2], LINK[17.58774834], SHIB[14151848.93105354], SOL[.52626469], TRX[4], USD[0.00]

07998765                           SHIB[2], USD[0.00], USDT[0.00025748]

07998766                           CUSDT[1], DOGE[62.05007867], USD[0.05]                                                                                                                                      Yes
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07998776                           ETH[0], USD[0.01], USDT[0.00000001]

07998783                           USD[0.11]

07998790                           CUSDT[2], DOGE[1], SHIB[4946240.45940769], USD[0.05]                                                                                                                        Yes

07998792                           USD[0.69]

07998793                           BRZ[1], CUSDT[1], DOGE[4], SHIB[1], USD[9.41]                                                                                                                               Yes

07998796                           CUSDT[554.41043819], SHIB[3774135.98050249], USD[0.06]                                                                                                                      Yes

07998797                           BAT[0.00033657], BTC[0.00000081], DOGE[0], ETH[0], ETHW[0], MATIC[0], MKR[0], USD[0.24], USDT[0]                                                                            Yes

07998798                           SHIB[1200000], USD[2.39], USDT[0]

07998802                           CUSDT[1], SOL[1.33025078], USD[0.00]                                                                                                                                        Yes

07998804                           BTC[.0004], USD[2.01]

07998811                           BTC[0], SHIB[1], SOL[.01001143], USD[140.01]                                                                                                                                Yes

07998816                           USD[20.00]

07998817                           USD[10.86]                                                                                                                                                                  Yes

07998824                           BAT[1.00636326], BRZ[2], CUSDT[2], DOGE[3], ETH[3.97682086], ETHW[3.97515093], LINK[261.87480647], MATIC[534.16345084], SHIB[21611720.7298681], SOL[9.23202687],            Yes
                                   SUSHI[158.25274277], TRX[10002.2578792], USD[0.48], USDT[1.0706011]
07998826                           USD[487.00]

07998830                           SHIB[13526.51369764], USD[0.02]

07998832                           ETH[.035], ETHW[.035], MATIC[42.96894935], USD[101.16], USDT[398.33120000]

07998834                           BTC[.00133211], CUSDT[1], SUSHI[1.02035178], USD[0.00]                                                                                                                      Yes

07998844                           CUSDT[2], USD[0.01]                                                                                                                                                         Yes

07998845                           GRT[0], SHIB[24993415.68432635], USD[0.00]                                                                                                                                  Yes

07998848                           BAT[.00017303], BCH[.00000212], ETH[.00000018], ETHW[.01931716], GRT[.00110829], KSHIB[1889.86580251], LINK[.00002104], LTC[.00000249], MATIC[.0001189], PAXG[.00000011],   Yes
                                   SHIB[2.87298677], SOL[.00000167], UNI[.00003793], USD[217.19]
07998854                           USD[0.20]

07998855                           USD[20.00]

07998858                           BTC[.00201868], SOL[.40108552], USD[0.67]

07998859                           CUSDT[5], ETH[.00481982], ETHW[.0047651], GRT[1.00067605], USD[0.01]                                                                                                        Yes

07998861                           NFT (293618388080285573/Unfair Advantage [SE])[1]

07998864                           USD[0.00]

07998876                           CUSDT[1], DOGE[188.45095345], SHIB[8064434.99950309], TRX[1], USD[0.01]

07998884                           USD[1.50]

07998886                           ETH[0], NFT (434683002636332550/Golden Ticket #6114)[1]

07998887                           NFT (369762830541764845/Lunarian #8052)[1], NFT (489572238009288792/Lunarian #7622)[1], SHIB[765089.01032985], USD[30.10]                                                   Yes

07998888                           BRZ[.00152521], BTC[0], CUSDT[58.40314568], DOGE[12.56791794], KSHIB[483.60698073], LTC[0.50826803], SHIB[519965.00129786], SOL[0], TRX[2.6607236], USD[0.00], WBTC[0]      Yes

07998891                           USD[0.00], USDT[0]                                                                                                                                                          Yes

07998893                           USD[15.00]

07998897                           USD[20.00]

07998899                           SHIB[340145.03325912], USD[0.00]

07998901                           SOL[.07726755], USD[0.18]                                                                                                                                                   Yes

07998904                           ETH[.00000001], ETHW[0], USD[0.00]

07998907                           BAT[87.84321456], BRZ[2], CUSDT[3], KSHIB[1401.76998692], SHIB[1420930.665942], SOL[0.52897705], TRX[1054.081305], USD[0.09]                                                Yes

07998916                           CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                 Yes

07998917                           CUSDT[1], MATIC[9.85443661], USD[0.00]

07998920                           BRZ[1], CUSDT[5], MATIC[0], SHIB[12.31691034], SOL[.00000215], TRX[1.01188225], USD[0.00]                                                                                   Yes

07998930                           TRX[1009], USD[0.08]

07998933                           USD[500.00]

07998934                           TRX[1], USD[0.00]

07998935                           ETH[0], ETHW[0.16417670], SHIB[6], USD[0.00]

07998948                           BRZ[2], CUSDT[1], DOGE[4], ETHW[.000228], GRT[4], SHIB[290114192.32766367], SOL[.00053174], TRX[5.009946], USD[0.00], USDT[0]                                               Yes

07998957                           CUSDT[1], SHIB[2656042.49667994], USD[0.00]

07998961                           USD[10.00]

07998964                           ETH[.00252871], ETHW[.00250135], NFT (473120836074366032/Coachella x FTX Weekend 1 #7650)[1], USD[0.00]                                                                     Yes

07998966                           BF_POINT[700], USD[0.00]                                                                                                                                                    Yes

07998969                           TRX[1], USD[0.00]

07998973                           ETH[.00153381], ETHW[0.00153381]

07998979                           DOGE[0], SHIB[0], USD[0.20]

07998984                           USD[20.00]

07998985                           TRX[1], USD[0.00]

07999001                           BTC[.00052738], CUSDT[3], DOGE[309.02893408], SHIB[784456.78284641], USD[0.00]                                                                                              Yes

07999002                           USD[0.36]
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                                                                                                                                         Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07999011                           USD[0.06]                                                                                                                                                                        Yes

07999012                           MATIC[0], SHIB[0], USD[0.00], USDT[0]                                                                                                                                            Yes

07999013                           BTC[.00046811], CUSDT[446.29228094], DOGE[307.98877982], KSHIB[331.28559884], SHIB[3718419.38838401], TRX[1], USD[0.00]

07999014                           SHIB[7000000], USD[52.35]

07999018                           USD[10.86]                                                                                                                                                                       Yes

07999021                           CUSDT[8], TRX[1], USD[0.00]                                                                                                                                                      Yes

07999031                           SOL[.2878]

07999035                           DOGE[0], ETH[0], MATIC[0], NFT (296130136986912901/Kiddo #3018)[1], NFT (302614221852734581/ApexDucks #941)[1], NFT (400253838835796820/DayBreak)[1], NFT                        Yes
                                   (401226734904198699/ApexDucks #4989)[1], NFT (430961020736519739/Kiddo #730)[1], NFT (431400597343829260/Polka Dino 2)[1], NFT (448233545321061560/Kiddo #2410)[1], NFT
                                   (450533904048274126/NS Dino 3)[1], NFT (472354203326432628/Ape Punks #2)[1], NFT (475134883392484171/Kiddo #1067)[1], NFT (565536950253462847/Think Love)[1], SOL[0.00000510],
                                   SUSHI[0], USD[10.19]
07999044                           BTC[.00159856], DOGE[.9973], ETH[.0659793], ETHW[.0659793], LINK[2.8], SOL[.41], SUSHI[.5], USD[2.81], YFI[.003]

07999047                           BRZ[1], SHIB[7180254.08438983], USD[0.00]                                                                                                                                        Yes

07999051                           ETH[.626], ETHW[.626], USD[1.62]

07999057                           BTC[.0016], DOGE[341], MATIC[40], SHIB[1300000], TRX[1013], USD[20.12]

07999059                           USD[20.00]

07999063                           SHIB[22272.43919597], USD[0.00], USDT[0.00000001]                                                                                                                                Yes

07999067                           CUSDT[1], TRX[2178.592374], USD[0.01]                                                                                                                                            Yes

07999069                           SHIB[587496.56809586], TRX[60.59668775], USD[0.00]

07999070                           ETH[.05633109], ETHW[.05633109], TRX[1], USD[0.00]

07999071                           BTC[.00018745], CUSDT[2], USD[0.00]                                                                                                                                              Yes

07999079                           BF_POINT[300]

07999081                           USD[0.00]                                                                                                                                                                        Yes

07999084                           TRX[1], USD[499.81]

07999089                           USD[2.62]

07999093                           CUSDT[1], USD[0.00]

07999102                           BRZ[1], CUSDT[5], SHIB[92634194.82548018], USD[95.68]                                                                                                                            Yes

07999104                           CUSDT[1], SHIB[510682.41039146], USD[92.23]                                                                                                                                      Yes

07999107                           USD[0.13]

07999117                           BRZ[1], BTC[.00173577], ETH[.02446735], ETHW[.02416639], TRX[1], USD[0.00]                                                                                                       Yes

07999120                           USD[84.19]

07999123                           AAVE[.03026528], BTC[.00056661], CUSDT[4], DOGE[1], ETH[.00219598], ETHW[.00219598], PAXG[.00607661], SHIB[97809.07668231], SOL[.06074064], USD[14.00]

07999127                           BTC[.00281381], CUSDT[2], DOGE[2], ETH[.24844478], ETHW[.2482541], MATIC[61.89932012], SHIB[5], SOL[2.90516334], USD[0.00]                                                       Yes

07999133                           BAT[1.00302743], BRZ[3], CUSDT[4], DOGE[4], GRT[1], SOL[.00027538], TRX[3], USD[0.01], USDT[1.08009589]                                                                          Yes

07999140                           SHIB[6631237.49821985], USD[0.02]                                                                                                                                                Yes

07999157                           CUSDT[1], DOGE[365.45665049], USD[0.00]                                                                                                                                          Yes

07999161                           USD[15.00]

07999166                           SHIB[657713.6128048], USD[0.06]                                                                                                                                                  Yes

07999167                           USD[20.00]

07999168                           BRZ[3], CUSDT[17], DOGE[2.00003752], ETH[0.02246146], ETHW[0.02218720], KSHIB[139.09146014], SUSHI[0], TRX[5], USD[0.98]                                                         Yes

07999169                           BTC[.00002679], USD[1.77], USDT[.075649]                                                                                                                                         Yes

07999170                           USD[47.62]                                                                                                                                                                       Yes

07999175                           DOGE[0], KSHIB[0], LINK[0], MATIC[0], SOL[0], USD[34.29]

07999183                           BTC[.00689448], ETH[5.41996964], ETHW[5.41769324], TRX[1], USD[0.01], USDT[0]                                                                                                    Yes

07999185                           GRT[24.95357512], LINK[.79556126], LTC[.25416566], USD[0.00]

07999186                           SHIB[1442534.97715263], TRX[1], USD[0.00]                                                                                                                                        Yes

07999188                           USD[0.01]                                                                                                                                                                        Yes

07999189                           CUSDT[1], SHIB[361928.20141269], USD[0.00]                                                                                                                                       Yes

07999191                           SHIB[126.47386299], USD[0.00]                                                                                                                                                    Yes

07999199                           SHIB[300000], TRX[18.98195], USD[0.04]

07999209                           SHIB[200000], USD[5.90]

07999211                           BTC[.0107], SOL[3.24], USD[0.30]

07999212                           BTC[.00187787], CUSDT[1302.66727113], DOGE[475.61924774], ETH[.02526179], ETHW[.02494715], LTC[.49506274], SHIB[6730974.18620654], SOL[1.15105644], TRX[1], USD[32.43]           Yes

07999216                           ALGO[62.87402731], CUSDT[3], GRT[1438.36444875], SHIB[16867186.79754091], TRX[4], USD[1005.43], USDT[0.00049235]                                                                 Yes

07999217                           BTC[.00160178]

07999218                           SHIB[7216940.07948967], USD[0.06]                                                                                                                                                Yes

07999220                           BTC[.001], ETH[.00090064], ETHW[.00090064], LTC[.00237124], USD[3.53]

07999223                           SHIB[2500000], USD[6.69]

07999226                           CUSDT[1], SOL[.26977986], USD[0.00]                                                                                                                                              Yes

07999228                           CUSDT[1], SHIB[2167883.31208624], TRX[2], USD[0.01]                                                                                                                              Yes
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                                                                                                                                         Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07999232                           TRX[199.95652945], USD[0.02]

07999235                           DOGE[350.81932806], ETH[.63194957], SHIB[865.70358306], TRX[0], USD[0.00], USDT[0.09427923]                                                                                        Yes

07999237                           BRZ[1], DOGE[167.06904317], GRT[9.41487916], SHIB[1], SOL[8.93268701], TRX[1], USD[24.81], USDT[10.80192681]                                                                       Yes

07999238                           SHIB[4215293.70068723], USD[0.00]

07999241                           BTC[.00157074], CUSDT[1967.93229702], DOGE[163.2560484], SHIB[424029.53494981], USD[0.01]                                                                                          Yes

07999254                           DOGE[1605.88256778]                                                                                                                                                                Yes

07999255                           ETH[0], NFT (299582291498784297/Entrance Voucher #2488)[1]

07999259                           DOGE[1], SHIB[4148803.76158207], USD[700.00]

07999264                           UNI[1.44167888], USD[0.00]

07999269                           SHIB[0], SOL[0.26536712], USD[0.00]                                                                                                                                                Yes

07999276                           CUSDT[1], SHIB[7295659.62906867], USD[0.29]                                                                                                                                        Yes

07999279                           DOGE[1], USD[0.00]                                                                                                                                                                 Yes

07999281                           CUSDT[1], DOGE[325.51695827], USD[0.00]                                                                                                                                            Yes

07999284                           BRZ[2], BTC[.07255594], CUSDT[14], DOGE[6.00038359], ETH[.04956218], ETHW[.04894613], NFT (447916853852324365/Fancy Frenchies #4845)[1], SHIB[1], SOL[20.34834911],                Yes
                                   TRX[5051.63612301], USD[224.17]
07999285                           ETH[.00057302], ETHW[0.00057301], USD[6.69]

07999287                           BRZ[1], BTC[.01033295], CUSDT[3], DOGE[202.96025652], ETH[.02319224], ETHW[.02319224], SHIB[1], SOL[.45206476], TRX[3], USD[100.00]

07999307                           CUSDT[1], SHIB[2496489.31190513], USD[0.00]

07999311                           SOL[1.00895601], TRX[1], USD[0.00]

07999318                           CUSDT[1], DOGE[2], GRT[1.00283507], KSHIB[1316.83635858], SHIB[1431417.23924206], SOL[1.85032788], USD[0.00]                                                                       Yes

07999319                           CUSDT[248.57908832], DOGE[293.3581597], MATIC[3.10089749], SHIB[3731026.88407622], TRX[86.6764887], USD[2.35], USDT[16.15561924]                                                   Yes

07999321                           BTC[.00176337], CUSDT[3], DOGE[1], ETH[.02485491], ETHW[.0245445], MATIC[56.01355955], SHIB[1514544.76403062], SUSHI[9.62322072], TRX[1], USD[0.00]                                Yes

07999324                           GRT[1.00283507], SHIB[7921946.59294001], USD[542.90]                                                                                                                               Yes

07999325                           CUSDT[2], MATIC[2.28398229], SHIB[6282.58703880], SOL[0.12810335], USD[0.00]                                                                                                       Yes

07999326                           USD[0.00]

07999327                           USD[21.51]                                                                                                                                                                         Yes

07999331                           SHIB[14844835.681264], USD[0.00]                                                                                                                                                   Yes

07999335                           NFT (562371318914685712/FTX - Off The Grid Miami #851)[1], USD[0.00]

07999343                           CUSDT[1], SHIB[7286214.36736358], USD[0.00]                                                                                                                                        Yes

07999345                           USD[15.00]

07999354                           ETH[.05908782], ETHW[.05835343], USD[0.00]                                                                                                                                         Yes

07999356                           BAT[2.08423664], DOGE[2], MATIC[43.69968046], USD[0.00]                                                                                                                            Yes

07999359                           DOGE[2], SHIB[11827775.37578525], USD[0.07]                                                                                                                                        Yes

07999363                           BRZ[1], CUSDT[3], DOGE[723.84649345], NFT (309403382068736016/Traveling pug)[1], NFT (455663772578925575/Mad Lions Series #16)[1], NFT (484799835445791518/Abstracticart #1)[1],   Yes
                                   SHIB[4543472.96375526], USD[0.00]
07999365                           BAT[49.14365453], BTC[.0000014], DOGE[1], GRT[20.22825563], SHIB[6729475.10094212], TRX[300.72519881], USD[10.78]

07999374                           USD[20.00]

07999375                           SHIB[13484.35814455], USD[9.00]

07999383                           BRZ[1], CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                Yes

07999384                           USD[0.80]

07999386                           BTC[.00031878], CUSDT[1], USD[0.00]

07999389                           USD[0.10]

07999398                           CUSDT[3], SHIB[18138992.07927926], USD[0.00]                                                                                                                                       Yes

07999400                           USD[0.00]

07999402                           KSHIB[2807.19], USD[300.42]

07999405                           BTC[.00012756], CUSDT[1], ETH[.00119056], ETHW[.00117688], MATIC[2.08337192], SHIB[27225.71229145], SOL[.02447752], USD[0.00]                                                      Yes

07999407                           BTC[.00035488], ETH[0.00000001], ETHW[0.00000001], USD[0.00]                                                                                                                       Yes

07999410                           BTC[.20086065], DOGE[2], ETH[1.000002], LINK[20.2754314], TRX[1], USD[96.00]

07999413                           BTC[0], SUSHI[.0106664], USD[2.77]

07999420                           TRX[160.16888031], UNI[.05761246], USD[0.00]                                                                                                                                       Yes

07999421                           CUSDT[1], DOGE[1], SHIB[145391.36902536], USD[0.00]                                                                                                                                Yes

07999435                           NFT (352161102837264482/City streets )[1], SHIB[.00007552], TRX[0], USD[1.13]                                                                                                      Yes

07999444                           BTC[0], CUSDT[3], ETH[0], USD[0.00]                                                                                                                                                Yes

07999450                           USD[10.00]

07999456                           BTC[.00752843], CUSDT[1], SOL[5.22988050], TRX[2]

07999463                           BAT[1], DOGE[2], ETHW[1.53690908], SHIB[4004066.52960073], SOL[1.74666916], USD[0.00], USDT[2.13727236]                                                                            Yes

07999470                           BRZ[2], CUSDT[2], DOGE[2], ETHW[1.58779666], LINK[165.70290752], SHIB[3], USD[0.00]                                                                                                Yes

07999474                           MATIC[51.78216934], SUSHI[0], USD[0.00]                                                                                                                                            Yes

07999479                           DOGE[0], SHIB[3118230.99696785], USD[0.00]                                                                                                                                         Yes

07999482                           USD[10.00]
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                                                                                                                                            Customer Claims                                                                                                              22-11071 (JTD)
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07999484                              BRZ[.99673044], CUSDT[1.72039841], DOGE[20.41431781], GRT[12.17329299], MATIC[3.98370614], SHIB[53582.14134], TRX[.00002809], USD[0.00]                                                    Yes

07999488                              USD[0.10]                                                                                                                                                                                  Yes

07999490                              USD[20.00]

07999493                              USD[200.00]

07999499                              USD[0.00]                                                                                                                                                                                  Yes

07999501                              BTC[.00018081], USD[0.06]                                                                                                                                                                  Yes

07999508                              BTC[.02669543], CUSDT[1], SHIB[7337334.99523706], TRX[1], USD[1.51]                                                                                                                        Yes

07999509                              BTC[.00028367], CUSDT[3], SHIB[210.21353923], USD[0.00]                                                                                                                                    Yes

07999510                              USD[20.00]

07999515                              SUSHI[4.66664923], USD[0.03]                                                                                                                                                               Yes

07999517                              DOGE[3], USD[0.37]                                                                                                                                                                         Yes

07999518                              USD[21.72]                                                                                                                                                                                 Yes

07999521                              BF_POINT[300], CUSDT[1], LINK[33.00730693], USD[0.00]                                                                                                                                      Yes

07999527                              BTC[.00037091], CUSDT[1], DOGE[1], SHIB[699791.18173023], TRX[1], USD[0.00]                                                                                                                Yes

07999529                              SHIB[1], USD[0.27]                                                                                                                                                                         Yes

07999537                              SOL[.00486307], USD[0.00], USDT[0.00000001]

07999545                              KSHIB[140.79531613], USD[0.00]                                                                                                                                                             Yes

07999546                              DOGE[1], SHIB[153718.40636282], USD[0.00]                                                                                                                                                  Yes

07999550                              CUSDT[3], DOGE[1.00161295], SHIB[727993.77768039], SOL[0.00000043], TRX[0.00015982], USD[0.00]                                                                                             Yes

07999551                              USD[27.16]                                                                                                                                                                                 Yes

07999553                              BF_POINT[100], USD[42.31]                                                                                                                                                                  Yes

07999554                              USD[0.01]

07999557                              CUSDT[1], SHIB[1336362.4214887], USD[0.00]

07999559                              ETH[0.21456105], ETHW[.15255424], USD[0.00]

07999561                              USD[10.00]

07999566                              CUSDT[3], ETH[.01222323], ETHW[.01207264], SHIB[585417.04419876], USD[10.86]                                                                                                               Yes

07999568                              TRX[1], USD[0.00]

07999569                              DOGE[1], SHIB[1338150.67576609], USD[0.00]

07999575                              NFT (306736501844058769/The Dark Dutchess)[1], NFT (328710909187046005/The Scout 1)[1], NFT (395884676783618219/Marcus Allen's Playbook: Kansas City Chiefs vs. Detriot Lions - November   Yes
                                      29, 1996 #60)[1], NFT (545488385231562070/The Scout 2)[1], SHIB[146390.6897682], TRX[22.58116241], USD[0.00]
07999582                              BRZ[2], CUSDT[5], DOGE[4], TRX[3], USD[0.01]                                                                                                                                               Yes

07999583                              SHIB[6700000], SOL[.25], USD[1.70]

07999584                              ETH[.122], ETHW[.122], USD[0.06]

07999585                              CUSDT[1], SHIB[1463118.15473967], USD[0.00]                                                                                                                                                Yes

07999587                              BTC[0], SHIB[0], USD[0.00]

07999588                              CUSDT[1], SHIB[1348617.66689143], USD[0.00]

07999594                              SHIB[1], USD[0.00]                                                                                                                                                                         Yes

07999595                              BF_POINT[300], BTC[0], SHIB[1], SOL[0], SUSHI[.00000914], TRX[2], USD[0.02], USDT[1.01672259]                                                                                              Yes

07999597                              BRZ[1], TRX[0]

07999607                              CUSDT[1], GRT[41.55329542], USD[0.00]

07999608                              CUSDT[6], SHIB[63.53278788], TRX[2], USD[0.00], USDT[0]                                                                                                                                    Yes

07999611                              BTC[.00200595], USD[3.79]

07999615                              CUSDT[1], DOGE[2], SHIB[888.47855662], USD[0.19]                                                                                                                                           Yes

07999618                              USD[250.00]

07999623                              BF_POINT[100], CUSDT[4], DOGE[1], ETH[0], TRX[2], USD[0.00]                                                                                                                                Yes

07999626                              SHIB[3275656.34118018], SOL[.0139881], TRX[1], USD[21.24]                                                                                                                                  Yes

07999627                              USD[0.00]                                                                                                                                                                                  Yes

07999628       Contingent, Disputed   SOL[0], USD[0.00]

07999630                              CUSDT[1], DOGE[1], SOL[.29713623], USD[0.00]                                                                                                                                               Yes

07999631                              USD[0.00]

07999633                              CUSDT[1], DOGE[1], SHIB[1718237.06886744], USD[0.00]

07999639                              BAT[464.57301873], BRZ[4], CUSDT[65.84072029], DOGE[1877.13524531], LTC[2.21704197], SHIB[68806858.04615709], TRX[228.82547488], USD[11.01]                                                Yes

07999649                              DOGE[77.84910577], MATIC[24.06984368], SHIB[5176516.44873404], SOL[.63587835], TRX[.00081213], USD[0.02]                                                                                   Yes

07999652                              BTC[.00257289], SOL[2.29340263]                                                                                                                                                            Yes

07999657                              USD[21.72]                                                                                                                                                                                 Yes

07999662                              CUSDT[3], ETH[.00450783], ETHW[.00450783], KSHIB[672.47560056], SOL[.12340695], USD[5.00]

07999671                              BF_POINT[200], DOGE[1], SHIB[732983.24217273], USD[0.00]                                                                                                                                   Yes

07999673                              MATIC[7.48], USD[3.53]

07999681                              BTC[0], DAI[0], DOGE[0.00575325], ETH[0.00000489], ETHW[0.00000489], GRT[1], SOL[0], USD[0.00], USDT[0.00005917]
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                                                                                                                                         Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07999687                           TRX[1], USD[0.00]                                                                                                                                                                        Yes

07999688                           BAT[11.1407627], CUSDT[987.58305818], DOGE[80.71697931], SHIB[144723.16443549], USD[0.01]                                                                                                Yes

07999692                           CUSDT[1], SHIB[338461.83410766], USD[1.87]                                                                                                                                               Yes

07999693                           SOL[9.99274217], USD[82.11]

07999697                           BCH[0], BTC[0.00001245], DOGE[0], ETH[0], EUR[0.00], HKD[50.13], LTC[0], NFT (304110944209367063/The Hill by FTX #1984)[1], NFT (348838568349041267/Saudi Arabia Ticket Stub #214)[1],   Yes
                                   NFT (488278870350194830/Barcelona Ticket Stub #1327)[1], NFT (507061413564469640/The Hill by FTX #2355)[1], NFT (507279093566852346/The Hill by FTX #1963)[1], NFT
                                   (515486349273780907/FTX Crypto Cup 2022 Key #180)[1], NFT (555057352504663413/The Hill by FTX #2336)[1], SOL[0], USD[0.54], USDT[0.00000001]
07999699                           ETH[.00245277], ETHW[.00242541], USD[0.00]                                                                                                                                               Yes

07999704                           CUSDT[1], SHIB[336881.82185689], USD[0.00]

07999711                           BTC[.00881296], TRX[1.00143227], USD[0.00]                                                                                                                                               Yes

07999714                           CUSDT[3], DOGE[181.95180722], ETH[.01061737], ETHW[.01061737], SHIB[689464.97517926], USD[0.00]

07999715                           ETH[.09065242], ETHW[.08960231], TRX[1], USD[109.84]                                                                                                                                     Yes

07999727                           ETH[.06761887], ETHW[.06761887], SOL[1.1247406], USD[0.01], USDT[0.59001272]

07999728                           USD[20.00]

07999733                           CUSDT[1], USD[0.01], USDT[0]                                                                                                                                                             Yes

07999735                           CUSDT[3], SHIB[.192692], USD[16.21]                                                                                                                                                      Yes

07999740                           DOGE[1], SHIB[5019303.13070434], USD[0.00]                                                                                                                                               Yes

07999745                           CUSDT[4], DOGE[56.99131696], SHIB[1.87689972], TRX[1], USD[0.00]                                                                                                                         Yes

07999753                           USD[0.00]

07999756                           CUSDT[3], MATIC[11.6717751], USD[0.00]

07999758                           BRZ[.60308888], CUSDT[1], KSHIB[9.09467529], SHIB[15662.37649594], TRX[5.51019790], USD[0.00], USDT[0]                                                                                   Yes

07999760                           BTC[0], NFT (409488527838764661/SolBunnies #4266)[1], NFT (493212996698140040/SolBunnies #153)[1], SHIB[1], SOL[0.30690410], USD[0.00]

07999765                           BTC[.00100528], CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                             Yes

07999769                           ETH[.00000003], ETHW[.00000003], USD[0.19]                                                                                                                                               Yes

07999774                           BRZ[1], ETHW[2.87651726], GRT[1], NFT (559121413093938640/Saudi Arabia Ticket Stub #451)[1], SHIB[6], TRX[3], USD[0.00], USDT[1.02071163]                                                Yes

07999775                           ETH[0.00000199], ETHW[0.00000199], USD[0.01]                                                                                                                                             Yes

07999778                           SHIB[3], USD[67.39]

07999779                           DOGE[4.03945611], ETH[.00000117], ETHW[.00000117], USD[0.00], USDT[.99452218]                                                                                                            Yes

07999781                           BTC[.00000008], ETH[.00000109], ETHW[.00000109], NFT (445568851704146333/Romeo #1918)[1], SOL[.00004976], USD[0.00]                                                                      Yes

07999783                           CUSDT[496.7990868], DOGE[1], KSHIB[266.62429117], SHIB[578391.33013162], TRX[217.8347474], USD[10.86]                                                                                    Yes

07999786                           USD[3.02]

07999789                           BTC[.00160255], USD[0.00]

07999796                           CUSDT[2], DOGE[74.45989875], SHIB[150404.78020341], USD[0.00]                                                                                                                            Yes

07999797                           USD[20.00]

07999800                           SHIB[133226.75193178], USD[0.00]

07999802                           BTC[.2046], ETH[.800933], ETHW[.481933], LINK[2.9], SOL[.52951], USD[0.19]

07999808                           USD[10.86]                                                                                                                                                                               Yes

07999810                           USD[10.00]

07999811                           BTC[.00016074], USD[0.00]

07999812                           DOGE[32.985], SHIB[200000], UNI[.999], USD[0.17]

07999818                           BTC[.00015979], USD[0.00]                                                                                                                                                                Yes

07999824                           SOL[.00348], USD[0.15]

07999825                           BAT[17.49491324], CUSDT[8], ETH[0], ETHW[0], GRT[5.94085664], KSHIB[186.72342118], LINK[1.05490985], MATIC[6.87274447], SHIB[1405318.85497847], SOL[0], SUSHI[0], TRX[69.61749399],      Yes
                                   UNI[0], USD[0.00]
07999826                           SHIB[280463.80086275], USD[0.00]

07999828                           AAVE[.00975], NEAR[.0076], SOL[.00779], USD[0.00]

07999829                           DOGE[.00000633], USD[0.00]                                                                                                                                                               Yes

07999831                           CUSDT[1], USD[0.00]

07999838                           USD[10.00]

07999840                           BTC[0], USD[0.46]

07999846                           CUSDT[1], SHIB[6350869.83860825], SOL[.49379792], TRX[1], USD[12.00]

07999849                           USD[10.85]                                                                                                                                                                               Yes

07999851                           BRZ[1], CUSDT[1], SHIB[8126472.45844155], TRX[1], USD[0.00]                                                                                                                              Yes

07999862                           CUSDT[1], ETH[.31038453], ETHW[.31020058], SHIB[566461.08196955], TRX[1], USD[0.14], USDT[20.44636745]                                                                                   Yes

07999863                           SHIB[145041.91722271], USD[0.00]                                                                                                                                                         Yes

07999868                           SHIB[131995.77613516], USD[3.33]

07999871                           SHIB[229463.05644791], USD[0.00]

07999875                           BTC[.00785572], CUSDT[1], ETH[.01228267], ETHW[.01213219], TRX[1], USD[0.00]                                                                                                             Yes

07999881                           SHIB[25979100], USD[0.80], USDT[0.00190223]

07999882                           USD[54.32]                                                                                                                                                                               Yes
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                                                                                                                                         Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
07999887                           AVAX[.00002659], BAT[1], BTC[.00000031], DOGE[1], SHIB[10], TRX[1], USD[0.00]                                                                                                       Yes

07999889                           BTC[.00001303], DOGE[1], ETH[.00001935], USD[0.01], USDT[0]                                                                                                                         Yes

07999890                           NFT (560415827127455837/Saudi Arabia Ticket Stub #1340)[1], SOL[.19], USD[0.43]

07999892                           CUSDT[2], DOGE[1], SHIB[375.67272084], USD[0.00]                                                                                                                                    Yes

07999894                           CUSDT[1], SHIB[7188742.01243519], USD[0.01]                                                                                                                                         Yes

07999900                           CUSDT[5], ETH[0.00050001], ETHW[0.00050000], LTC[.01], SHIB[6.9914199], USD[0.03], USDT[0]                                                                                          Yes

07999903                           BTC[0], CUSDT[2], DOGE[0], ETH[0], NFT (366175440772120999/Imola Ticket Stub #1985)[1], NFT (366304728920620780/Barcelona Ticket Stub #1364)[1], NFT (414026575094216582/Entrance   Yes
                                   Voucher #5675)[1], NFT (460676491414906807/Humpty Dumpty #619)[1], NFT (506733027029990243/Good Boy #13514)[1], SHIB[60], USD[0.00]
07999904                           CUSDT[1], TRX[1991.2221361], USD[0.00]

07999907                           SHIB[1798300], USD[0.23], USDT[0]

07999913                           SHIB[144309.67424957], USD[0.00]                                                                                                                                                    Yes

07999914                           SHIB[133981.58610106], USD[0.00]

07999918                           USD[0.00]                                                                                                                                                                           Yes

07999919                           SOL[.04020176], TRX[1], USD[0.84]                                                                                                                                                   Yes

07999922                           SHIB[9320757.13465668], USD[0.00]                                                                                                                                                   Yes

07999926                           BTC[.00000093], USD[0.00]                                                                                                                                                           Yes

07999928                           USD[0.00]                                                                                                                                                                           Yes

07999935                           CUSDT[1], KSHIB[1016.02783916], USD[0.00]                                                                                                                                           Yes

07999939                           USD[0.00]

07999943                           CUSDT[2], DOGE[1], ETH[.00000043], ETHW[.00000043], MATIC[42.23592332], SOL[1.59583188], TRX[2], USD[37.56]                                                                         Yes

07999945                           USD[0.00], USDT[0]                                                                                                                                                                  Yes

07999946                           ETH[.1365]

07999950                           SHIB[144424.79962608], USD[0.00]                                                                                                                                                    Yes

07999952                           AUD[0.00], BTC[.00150121], CUSDT[0], DOGE[1], SHIB[4], TRX[.00280845], USD[0.00]                                                                                                    Yes

07999958                           SHIB[165909.63558094], TRX[1], USD[0.00]                                                                                                                                            Yes

07999961                           SOL[.06028617], USD[0.71]                                                                                                                                                           Yes

07999963                           ETH[.00246481], ETHW[.00246481], USD[0.00]

07999972                           USD[10.00]

07999974                           BRZ[1], BTC[.00480611], CUSDT[6], DOGE[2], KSHIB[695.02662577], LINK[1.7255922], MATIC[42.87828558], SOL[2.19071759], SUSHI[6.48634448], TRX[538.52039471], USD[271.63],            Yes
                                   USDT[53.98402028], YFI[.00151017]
07999980                           SHIB[69407.82060924], USD[0.00]                                                                                                                                                     Yes

07999981                           CUSDT[4], USD[0.00]                                                                                                                                                                 Yes

07999982                           BTC[0], USD[0.00]

07999985                           BRZ[2], CUSDT[3], ETH[0], ETHW[0], TRX[2], USD[0.00]                                                                                                                                Yes

07999987                           SHIB[10171496.53979238], USD[0.00]

07999997                           SHIB[132082.9480914], USD[0.00]

07999998                           BTC[.0012865], CUSDT[1], SHIB[143698.75884083], USD[16.29]                                                                                                                          Yes

08000004                           BAT[3], BTC[0], DOGE[1], ETH[.00000151], ETHW[.00000151], GRT[1], USD[0.01]

08000005                           BTC[.00015669], USD[0.01]                                                                                                                                                           Yes

08000008                           CUSDT[1], NFT (338381584862305321/Entrance Voucher #1788)[1], SHIB[2], TRX[1], USD[0.00], USDT[0.00106262]                                                                          Yes

08000014                           CUSDT[3], LINK[1.5060846], USD[0.00]                                                                                                                                                Yes

08000015                           CUSDT[1], SUSHI[2.79846056], USD[0.00]                                                                                                                                              Yes

08000016                           DOGE[71.93445499], SHIB[272360.19511309], USD[0.51]                                                                                                                                 Yes

08000018                           CUSDT[3], USD[0.00]                                                                                                                                                                 Yes

08000024                           BTC[.00015939], DOGE[1], USD[0.00]

08000025                           BTC[.00319715], CUSDT[3], DOGE[172.83344462], SHIB[4564125.96987676], USD[50.00]

08000026                           CUSDT[3], SHIB[1339555.57366516], USD[0.00]

08000027                           SHIB[219638.23640095], USD[0.00]                                                                                                                                                    Yes

08000029                           CUSDT[1], SHIB[171864.66137393], USD[0.00]                                                                                                                                          Yes

08000031                           CUSDT[1], USD[0.00], USDT[11.88861458]                                                                                                                                              Yes

08000036                           CUSDT[4], DOGE[232.3918696], MATIC[12.6053642], SHIB[957120.98009188], SOL[.66428166], TRX[250.45406976], USD[0.00]

08000043                           CUSDT[3], DOGE[1], SOL[.00000698], USD[0.00]                                                                                                                                        Yes

08000048                           BRZ[1], BTC[.00371865], SHIB[27924831.67055423], USD[0.00]                                                                                                                          Yes

08000051                           ETH[.00000001], ETHW[0], SOL[.00029805], USD[0.00]

08000053                           ETH[.00224689], ETHW[.00224689], USD[0.00]

08000054                           CUSDT[2], SOL[2.21557792], USD[0.00]                                                                                                                                                Yes

08000055                           SHIB[288254.45635158], USD[0.00]                                                                                                                                                    Yes

08000058                           USD[10.86]                                                                                                                                                                          Yes

08000060                           CUSDT[1], LTC[.5607132], USD[0.00]                                                                                                                                                  Yes

08000063                           SOL[.19388365], USD[0.00]
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                                                                                                                                          Customer Claims                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08000066                           USD[10.86]                                                                                                                                                                   Yes

08000069                           USD[0.01]

08000073                           USD[10.00]

08000078                           BRZ[1], EUR[0.00], USD[0.01]                                                                                                                                                 Yes

08000084                           USD[108.62]                                                                                                                                                                  Yes

08000086                           BTC[.00007994], DOGE[37.4581256], SHIB[77735.33347926], USD[0.00]                                                                                                            Yes

08000090                           ETH[.00000009], ETHW[.00000009], SOL[.00823631], TRX[1], USD[0.00]                                                                                                           Yes

08000094                           BF_POINT[100], CUSDT[2], LINK[5.25778809], USD[0.00]                                                                                                                         Yes

08000096                           BTC[0.00002070], ETH[.002], ETHW[.002]

08000097                           KSHIB[129.93361172], SHIB[141241.80519671], USD[0.00]                                                                                                                        Yes

08000098                           USD[10.86]                                                                                                                                                                   Yes

08000102                           CUSDT[1], SHIB[719820.40972313], USD[0.00]                                                                                                                                   Yes

08000106                           SHIB[133155.79227696], USD[0.00]

08000107                           SHIB[3703117.74858474], TRX[1], USD[0.02]                                                                                                                                    Yes

08000116                           ETH[0], USD[0.00]                                                                                                                                                            Yes

08000123                           USD[10.00]

08000125                           CUSDT[7], DOGE[1], KSHIB[0], SHIB[2], USD[0.00]                                                                                                                              Yes

08000127                           BTC[.00025935], CUSDT[1], USD[0.00]

08000128                           BTC[.00015988], SHIB[143091.68730896], USD[0.00]                                                                                                                             Yes

08000133                           ETH[2], ETHW[2], USD[1492.10]

08000139                           BTC[.01550852], CUSDT[10], DOGE[2666.68387086], KSHIB[2676.94187058], MATIC[222.7111678], SHIB[46980428.96434076], USD[0.01]                                                 Yes

08000140                           BTC[0], CUSDT[3], DOGE[1], SHIB[4], TRX[2], USD[0.05]

08000141                           CUSDT[3], KSHIB[145.55924373], USD[0.00]

08000143                           AAVE[.00000157], BRZ[2], CUSDT[5], DOGE[2], ETH[0], GRT[0.00029564], TRX[3], USD[0.00]                                                                                       Yes

08000149                           CUSDT[1], TRX[1004.32593309], USD[0.00]

08000150                           CUSDT[4], DOGE[1], ETH[.0025647], ETHW[.0025647], LINK[.76842561], SHIB[851063.82978723], SUSHI[2.10696625], TRX[1], USD[0.32]

08000151                           DOGE[1], LTC[.00000001], USD[0.00]

08000152                           ETH[.0999], ETHW[.0999], LTC[1], SOL[3.20679], USD[2.66]

08000160                           USD[500.00]

08000165                           NFT (298777769636462389/FTX - Off The Grid Miami #911)[1], SHIB[0], USD[0.31], USDT[0]                                                                                       Yes

08000168                           ETH[.00225096], ETHW[.00225096], USD[0.00]

08000169                           BTC[.00000072], USD[0.00]                                                                                                                                                    Yes

08000170                           BTC[.00021437]

08000180                           MATIC[5.30213899], SOL[.18696196], TRX[109.77404959], USD[0.00]                                                                                                              Yes

08000182                           CUSDT[1], KSHIB[660.17616668], USD[54.31]                                                                                                                                    Yes

08000183                           DOGE[1], ETH[.0104772], ETHW[.0104772], USD[5.01]

08000187                           AVAX[.44091323], BAT[0], DOGE[.02816108], KSHIB[0], MATIC[0], SHIB[0], TRX[1078.96779683], USD[0.00]                                                                         Yes

08000189                           USD[21.51]                                                                                                                                                                   Yes

08000195                           CUSDT[1], SHIB[331723.84161838], USD[0.00]                                                                                                                                   Yes

08000198                           USD[10.00]

08000202                           USD[1.32]

08000209                           BTC[.00697101], CUSDT[4], DOGE[749.51284388], SHIB[715269.98443489], TRX[1], USD[0.00]                                                                                       Yes

08000211                           CUSDT[3], ETH[.00332772], ETHW[.00328668], USD[0.00]                                                                                                                         Yes

08000216                           BRZ[1], CUSDT[1], ETH[.25061149], ETHW[.25041913], NFT (503121317573432785/Australia Ticket Stub #263)[1], NFT (529866014823389924/Barcelona Ticket Stub #81)[1],            Yes
                                   SHIB[1655130.74693826], SOL[1.26440091], TRX[1], USD[0.00]
08000218                           BTC[.0104895], LINK[7], NFT (414161671224664198/Toute la fratrie s’est réunie #2)[1], NFT (534335345830362353/Toute la fratrie s’est réunie)[1], SOL[4.24575], USD[147.28]

08000228                           BAT[1.01617501], CUSDT[1], DOGE[1], ETH[.00000113], ETHW[.12323746], TRX[1], USD[0.00]                                                                                       Yes

08000231                           CUSDT[1], SOL[.11165205], USD[0.00]                                                                                                                                          Yes

08000235                           USD[500.00]

08000239                           NFT (317048549095466497/2021 Sports Illustrated Awards #68)[1]

08000257                           SHIB[.00048919], USD[173.00]

08000269                           NFT (528016930002527400/Good Boy #102)[1]

08000272                           NFT (510444746674314664/FTX - Off The Grid Miami #1940)[1]                                                                                                                   Yes

08000281                           CUSDT[1], USD[0.00]                                                                                                                                                          Yes

08000282                           CUSDT[4], NFT (394677285986404263/Joe Theismann's Playbook: Washington vs. Miami Dolphins - January 30, 1983 #73)[1], SOL[.15226517], TRX[1], USD[0.00]                      Yes

08000286                           CUSDT[1], SHIB[13238447.43953609], USD[0.00]                                                                                                                                 Yes

08000287                           CUSDT[1], TRX[877.0747952], USD[0.01]                                                                                                                                        Yes

08000290                           ETH[.00327165], ETHW[.00323061]                                                                                                                                              Yes

08000303                           BRZ[1], CUSDT[2], DOGE[1], SHIB[9], TRX[4], USD[0.00]                                                                                                                        Yes
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                                                                                                                                         Customer Claims                                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08000304                           SHIB[7653638.56602478], USD[0.00]                                                                                                                                                             Yes

08000307                           BTC[0.00010000], ETH[0], USD[0.00], USDT[0.00031587]

08000308                           AVAX[3.06160795], CUSDT[14], ETHW[.11275208], TRX[582.01578001], USD[0.00]                                                                                                                    Yes

08000311                           BF_POINT[100], DOGE[1], GRT[1.00181903], SOL[9.3741816], USD[0.09]                                                                                                                            Yes

08000317                           DOGE[.00063559], ETH[.00000007], ETHW[.00000007], SHIB[2.45015904], SOL[.00000091], TRX[.00046906], USD[0.00]                                                                                 Yes

08000319                           BAT[1], BRZ[2], BTC[.0000001], CUSDT[3], DOGE[6], ETH[.00000119], ETHW[.12886658], GRT[1.00312819], LTC[.00004705], NFT (364680193324549762/Dragon Avatar #4)[1], SHIB[2],                    Yes
                                   SOL[.00000991], TRX[1], USD[762.79]
08000320                           NFT (290352409061104133/Miami Ticket Stub #518)[1], USD[0.00]                                                                                                                                 Yes

08000323                           USD[0.00]

08000326                           AAVE[0], ARS[0.00], AVAX[0], BAT[0], BTC[0.00623072], DOGE[0], ETH[0.00000002], GRT[0], LTC[0], MATIC[0], MKR[0], PAXG[0], SGD[0.00], SHIB[0], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00],
                                   USDT[0]
08000333                           USD[50.00]

08000339                           DOGE[38.38633288], SHIB[1296115.77900377], TRX[1], USD[0.00]                                                                                                                                  Yes

08000344                           SHIB[1400000], USD[1.73]

08000347                           CUSDT[1], SHIB[214665.80995305], USD[0.00]                                                                                                                                                    Yes

08000348                           CUSDT[9], SOL[2.18346402], USD[2.00]

08000353                           NFT (468436999100312716/FTX - Off The Grid Miami #1443)[1]

08000358                           SHIB[131337.01076963], USD[0.00]

08000359                           SHIB[143261.54027495], USD[0.00]                                                                                                                                                              Yes

08000365                           BRZ[1], BTC[.00001209], CUSDT[1], TRX[2], USD[0.00], USDT[0.00099563]                                                                                                                         Yes

08000375                           USD[21.13]

08000376                           BF_POINT[300], BTC[.26278564], CUSDT[1], ETH[1.00739581], ETHW[1.00697261], MATIC[1.00963714], NFT (489510283077574985/Coachella x FTX Weekend 1 #7859)[1], SHIB[1], TRX[2],                  Yes
                                   USD[0.00]
08000382                           SHIB[142472.32401274], USD[0.00]                                                                                                                                                              Yes

08000383                           BTC[0], USD[2.84]

08000384                           CUSDT[1], SHIB[811144.32507816], USD[0.00]                                                                                                                                                    Yes

08000385                           BAT[86.92151731], CUSDT[1], USD[0.00]

08000386                           BTC[.00810261], USD[0.00]

08000388                           BCH[0], DOGE[0], ETH[0], GRT[0], LINK[0], LTC[0], MATIC[0], MKR[0], SOL[0], SUSHI[0], USD[0.01], YFI[0]                                                                                       Yes

08000391                           CUSDT[1], SHIB[363763.92452903], USD[0.00]                                                                                                                                                    Yes

08000392                           USD[20.00]

08000396                           CUSDT[61.9163091], ETH[.03561662], ETHW[.03517798], MATIC[47.21609346], SHIB[7157586.21503341], SOL[.56477804], TRX[239.57386788], USD[0.00]                                                  Yes

08000397                           BAT[1], CUSDT[1], GRT[1], SOL[0], TRX[1], USD[0.01]

08000401                           BTC[.00032456], CUSDT[3], DOGE[75.24987001], ETH[.05962426], ETHW[.05962426], KSHIB[165.89982238], LTC[.11178782], PAXG[.01089569], TRX[2], USD[0.00]

08000403                           USD[18.96]                                                                                                                                                                                    Yes

08000421                           BTC[.00000004], ETH[0.00000068], ETHW[0.00000068], SOL[.00000094], USD[0.00]                                                                                                                  Yes

08000423                           SOL[2.85504909], USD[0.00]

08000428                           LINK[.00961929], SHIB[130434.95860313], USD[0.39]                                                                                                                                             Yes

08000432                           CUSDT[1], KSHIB[331.31636763], SHIB[331608.96670645], TRX[1], USD[0.00]

08000436                           USD[0.00]

08000441                           CUSDT[2], DOGE[109.14750703], KSHIB[269.80489328], USD[0.00]

08000443                           CUSDT[1], SHIB[153940.8866995], USD[0.00]

08000445                           BAT[23.08572403], BTC[.00094784], CUSDT[13], DOGE[98.40533036], ETH[.0055243], ETHW[.0054559], LTC[.14299044], SHIB[1404575.89416332], SOL[.13201621], SUSHI[6.73374285],                     Yes
                                   TRX[273.58392624], USD[2.24], USDT[48.25309431]
08000447                           CUSDT[1], SHIB[359624.22141448], USD[0.00]                                                                                                                                                    Yes

08000455                           USD[0.01]                                                                                                                                                                                     Yes

08000460                           USD[2.93]

08000474                           CUSDT[1], LINK[.15971605], NFT (475967267206436251/Barcelona Ticket Stub #23)[1], NFT (538078316104051230/Imola Ticket Stub #900)[1], SHIB[70283.94714647], USD[0.00]

08000475                           NFT (439498791829495392/Coachella x FTX Weekend 1 #10191)[1]

08000481                           SHIB[144575.94551399], USD[0.00]                                                                                                                                                              Yes

08000489                           DOGE[1], SHIB[716193.61714089], USD[0.00]                                                                                                                                                     Yes

08000493                           AVAX[0], LINK[0], NEAR[0], USD[0.00]                                                                                                                                                          Yes

08000504                           SHIB[59747538.95105288]                                                                                                                                                                       Yes

08000506                           KSHIB[132.37584998], TRX[1], USD[0.00]

08000507                           USD[21.51]                                                                                                                                                                                    Yes

08000512                           CUSDT[2], DOGE[101.63966551], SHIB[1213262.83043438], USD[0.00]                                                                                                                               Yes

08000513                           ARS[0.00], BTC[.00048407], DOGE[0], NFT (305950296605669141/Knife Catcher)[1], NFT (343573367888044397/BTC PRIDE)[1], NFT (373145636604979722/BTC TEAL)[1], NFT
                                   (382815477016521857/crypto-05)[1], NFT (402224538141276988/BTC BLUE)[1], NFT (421181956024296360/07)[1], NFT (439737220743025395/BTC Sam Bankman-Fried)[1], NFT
                                   (448783309286624312/Mushy-01)[1], NFT (451439698925163632/08)[1], NFT (455294047255935982/crypto-06)[1], NFT (461397353052524473/BTC Y450)[1], NFT (503689448786310502/06)[1], NFT
                                   (519885573333771680/crypto-03)[1], NFT (526187776525433323/SBF Hair & Signature #5 #19)[1], NFT (527165356356187461/BTC LILAC)[1], NFT (561973556261236322/crypto-02)[1], SHIB[0],
                                   USD[17.90]
08000516                           BTC[.15961325], ETH[1.65415573], ETHW[1.65346103], NFT (427572259308893955/Brick World #4)[1], NFT (489759955137241504/Vox World #16)[1], SHIB[91711952.14300093], SOL[18.34298251], Yes
                                   USD[0.95]
08000519                           CUSDT[1], MATIC[20.88034337], SHIB[724405.54704754], TRX[1], USD[0.64]                                                                                                               Yes
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                                                                                                                                             Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08000529                              USD[20.00]

08000533                              BRZ[1], CUSDT[2], ETHW[1.48082105], LINK[1.0399385], SHIB[1634754.78476008], TRX[2], USD[0.00]

08000537                              BAT[1], BTC[.00000349], DOGE[4], GRT[2], SHIB[4], SOL[.00109588], TRX[2], UNI[1.03655262], USD[0.00]                                                                                        Yes

08000538                              BTC[.00080592], CUSDT[2], DOGE[182.49602514], ETH[.01152324], ETHW[.01152324], SHIB[651635.60536947], TRX[2], USD[0.00]

08000546                              DOGE[1], LINK[13.75809717], SHIB[2], USD[0.00], USDT[0]

08000554                              CUSDT[1], KSHIB[282.43082365], LINK[1.09501401], USD[0.00]                                                                                                                                  Yes

08000563                              CUSDT[2], SOL[.10735274], SUSHI[.93329095], USD[0.00]                                                                                                                                       Yes

08000573                              BRZ[1], CUSDT[1], DOGE[1], SHIB[1], USD[0.00]

08000574                              TRX[96.93325476], USD[0.00]

08000575                              BTC[.00294224], CUSDT[3], DOGE[1], MATIC[42.41963243], SOL[.2878307], TRX[1], USD[101.27]                                                                                                   Yes

08000582                              USD[10.00]

08000585                              BTC[0], ETH[0], ETHW[1.00675486], USD[0.00]

08000588                              SHIB[146882.90450658], USD[0.00]                                                                                                                                                            Yes

08000589                              SHIB[56800000], SOL[18.6], USD[0.38]

08000599                              SHIB[711868.73791469], USD[0.02]                                                                                                                                                            Yes

08000600                              BTC[.00017693], CUSDT[556.81951842], DOGE[1.63670616], SHIB[1376095.84707475], TRX[1], USD[0.00]                                                                                            Yes

08000602                              AVAX[2.49531532], BRZ[1], BTC[.02771486], CUSDT[11], DOGE[4], ETH[.37321163], ETHW[.37321163], LINK[3.28236676], MATIC[255.03899808], SHIB[4], SOL[2.49617869], TRX[8], USD[0.00]

08000607       Contingent, Disputed   BTC[.00128383], SHIB[1], USD[0.00]

08000620                              BRZ[13.88927523], BTC[.05774953], CUSDT[64.17521215], DOGE[8.23114912], GRT[1], MATIC[1089.9359683], NFT (536827937114473369/Entrance Voucher #2550)[1], SHIB[18985679.51542401],           Yes
                                      SOL[50.37606234], TRX[9], USD[2825.22], USDT[2.1359844]
08000622                              ETH[.00121295], ETHW[.00119927], SHIB[68996.02514975], USD[0.00]                                                                                                                            Yes

08000625                              CUSDT[4], TRX[2], USD[42.45]                                                                                                                                                                Yes

08000630                              USD[0.00]                                                                                                                                                                                   Yes

08000634                              KSHIB[19.98], SHIB[3200000], SOL[.02], USD[0.12]

08000635                              SHIB[167069.80484495], USD[0.00]                                                                                                                                                            Yes

08000636                              BTC[.00049433], DOGE[141.62005845], KSHIB[92.78100676], SHIB[100093.91009718], USD[0.04]                                                                                                    Yes

08000638                              BTC[.00941256], CUSDT[13], DOGE[794.00782584], SHIB[2003432.85158852], SOL[1.89090746], TRX[479.04316296], USD[1.07]                                                                        Yes

08000645                              CHF[20.76], DOGE[262.23219426], LINK[4.51929974], NFT (400571633714509448/Barcelona Ticket Stub #1707)[1], NFT (572987651725928816/Imola Ticket Stub #1561)[1], SHIB[15.14254009], SOL[- Yes
                                      0.00000001], UNI[15.34249285], USD[0.51]
08000646                              USD[0.00]                                                                                                                                                                                Yes

08000656                              SHIB[40772600], USD[10.93]

08000658                              CUSDT[1], SHIB[1357220.412595], USD[0.00]

08000660                              CUSDT[1], SHIB[1229873.52329821], USD[0.00]                                                                                                                                                 Yes

08000661                              BTC[.01459574], CUSDT[1], DOGE[.06015476], KSHIB[10.01192574], SHIB[141708.27334561], TRX[3], USD[1.78]

08000667                              LTC[.04], TRX[.000435], USD[168.47], USDT[2978.614008]

08000671                              BRZ[1], CUSDT[2], ETH[0], USD[0.00]                                                                                                                                                         Yes

08000672                              BRZ[1], BTC[.00201486], DOGE[1], SOL[.45954566], USD[0.18]                                                                                                                                  Yes

08000673                              USD[0.00]

08000676                              ETH[.00000046], ETHW[.00000046], SOL[0], TRX[2], USD[0.00]                                                                                                                                  Yes

08000681                              CUSDT[4], MATIC[13.25898367], SHIB[1341540.70866814], USD[0.00]                                                                                                                             Yes

08000683                              CUSDT[2], DOGE[172.91030205], SHIB[5130851.48043799], TRX[1], USD[0.02]

08000686                              ETH[.00000088], ETHW[.09571227], LINK[.00020809], MATIC[.00111573], SHIB[3], USD[0.00], USDT[0.00000001]                                                                                    Yes

08000704                              BRZ[1], CUSDT[4], SHIB[6], TRX[2], USD[0.01]

08000705                              ETH[.39625675], ETHW[.39609023], LTC[1.8261235], SHIB[2452790.00403373]                                                                                                                     Yes

08000706                              KSHIB[200.76615039], SHIB[69613.57893346], USD[0.02]                                                                                                                                        Yes

08000709                              USD[93.09]                                                                                                                                                                                  Yes

08000711                              CUSDT[1], SHIB[2677734.63649752], USD[0.00]

08000712                              CUSDT[1], LINK[13.50648178], SHIB[3], USD[0.00]

08000715                              BTC[0.00751622], SHIB[2], USD[0.00]

08000720                              USD[0.01]                                                                                                                                                                                   Yes

08000721                              DOGE[1], SHIB[1452331.96770375], USD[0.00]                                                                                                                                                  Yes

08000725                              USD[0.01]

08000733                              BF_POINT[200], CUSDT[2], SHIB[3654478.98244558], USD[0.00]

08000736                              BRZ[1], CUSDT[3], SHIB[22.80493213], USD[0.00]                                                                                                                                              Yes

08000737                              BTC[.00015988], GRT[11.03520049], USD[0.00]                                                                                                                                                 Yes

08000744                              AVAX[2.10877892], BRZ[7.48620384], BTC[0], CUSDT[187.85769227], DOGE[25.63352927], ETH[.00000001], ETHW[0], KSHIB[.00002619], MATIC[31.64247449], NFT (452186742370522573/Brick             Yes
                                      World #11)[1], SHIB[19], SOL[0], SUSHI[0.00007526], TRX[20.230562], USD[0.00], USDT[0.00000001]
08000745                              BAT[0], BTC[0.00424918], DAI[0], DOGE[0], ETH[0], KSHIB[0], LINK[0.00487308], LTC[0], MATIC[0.00857046], SOL[0.00031324], SUSHI[0], TRX[0.60978656], UNI[0.00892680], USD[3.30], USDT[0],
                                      YFI[0]
08000746                              BRZ[1], BTC[.00781759], CUSDT[13], DOGE[3], ETH[.0855062], ETHW[.08447462], SHIB[1], SOL[1.54015617], TRX[1], USD[0.00]                                                                     Yes

08000749                              USDT[.6773238]
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                                                                                                                                            Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08000753                              CUSDT[1], SHIB[1693624.29609088], USD[0.00]                                                                                                                                       Yes

08000755                              CUSDT[1], ETH[0]

08000760                              DOGE[40.84024144], ETH[.00000002], ETHW[.00000002], USD[0.00]                                                                                                                     Yes

08000763                              CUSDT[1], KSHIB[690.11921809], USD[0.01]                                                                                                                                          Yes

08000767                              BRZ[1], DOGE[.001764], SHIB[4], TRX[2], USD[0.00]                                                                                                                                 Yes

08000771                              BAT[0], CUSDT[1], ETH[.00688466], ETHW[.00680252], SOL[0.04380809], TRX[105.64848288], UNI[.89107892], USD[0.01]                                                                  Yes

08000777                              USD[10.00]

08000782                              CUSDT[1], SHIB[3.85857066], USD[0.01]                                                                                                                                             Yes

08000789                              BRZ[1], KSHIB[681.61661852], USD[54.31]                                                                                                                                           Yes

08000791                              BRZ[1], DOGE[1], TRX[1], USD[0.00]                                                                                                                                                Yes

08000792                              SOL[27.86670891], USD[20.63]

08000796                              CUSDT[1], SHIB[162582.52641362], USD[0.00]                                                                                                                                        Yes

08000797                              SHIB[1479633.67216408], TRX[1], USD[0.00]                                                                                                                                         Yes

08000800                              CUSDT[23], DOGE[1], SHIB[8109268.38231796], USD[0.00]                                                                                                                             Yes

08000807       Contingent, Disputed   NFT (329259510582583751/Entrance Voucher #2180)[1]

08000809                              DOGE[1], SOL[.16987217], TRX[1], USD[0.00]                                                                                                                                        Yes

08000813                              NFT (325583576030059677/Entrance Voucher #29570)[1], USD[500.00]

08000817                              CUSDT[2], SHIB[2296297.43587209], USD[0.00]                                                                                                                                       Yes

08000824                              CUSDT[1], ETH[.01963741], ETHW[.01939117], SHIB[1031948.09317574], TRX[1], USD[0.00]                                                                                              Yes

08000831                              BTC[.00000009], CUSDT[3], ETH[.00000028], ETHW[.03047346], NFT (432416746166296576/Ravager #1598)[1], NFT (452204421362185721/Roamer #1002)[1], NFT (477504001465251233/Ravager   Yes
                                      #1754)[1], NFT (565942700824879757/Ravager #1562)[1], SOL[.01494387], TRX[1], USD[0.00]
08000836                              ETH[.00232823], ETHW[.00230087], LINK[.33265181], USD[5.43]                                                                                                                       Yes

08000843                              CUSDT[15], DOGE[.00003879], LINK[.00000042], SHIB[.00003211], TRX[2.12847001], USD[0.00]                                                                                          Yes

08000848                              SHIB[2], USD[0.00]                                                                                                                                                                Yes

08000853                              ALGO[124.85542568], BAT[16.30765449], BRZ[62.53731625], CUSDT[1], GRT[102.1503342], MATIC[41.09977371], NFT (356126830852749366/Shannon Sharpe's Playbook: Baltimore Ravens vs.   Yes
                                      Oakland Raiders - January 14, 2001 #79)[1], NFT (363540557053061200/Contemporary)[1], SHIB[3], SOL[1.17918338], TRX[112.08708968], USD[0.18]
08000854                              NFT (478750745774506331/Series 1: Capitals #1486)[1], NFT (540645436991357882/Series 1: Wizards #1416)[1]

08000857                              TRX[3257.15586908]                                                                                                                                                                Yes

08000864                              USD[7.35]

08000874                              CUSDT[1], USD[0.00]

08000876                              SHIB[153181.97650036], USD[0.00]                                                                                                                                                  Yes

08000878                              BTC[.00032056], CUSDT[5], DAI[21.62411339], DOGE[75.11517727], MATIC[10.74613531], PAXG[.0120341], USD[0.00]                                                                      Yes

08000884                              CUSDT[1], DOGE[1], SHIB[9811462.70647646], USD[0.00]                                                                                                                              Yes

08000885                              BRZ[3], BTC[.00129165], CUSDT[10], ETH[.07951264], ETHW[.07951264], LINK[1.00758918], MKR[.01729925], SHIB[438750.43875043], SOL[1.06430655], TRX[1], USD[5.00]

08000886                              USD[20.00]

08000903                              CUSDT[1], SHIB[205704.88206253], USD[0.00]

08000905                              USD[27.15]                                                                                                                                                                        Yes

08000908                              CUSDT[5], ETH[.00000547], ETHW[.59909636], SHIB[27.94641958], SOL[.55256791], TRX[2], USD[6.10]                                                                                   Yes

08000909                              BTC[0.00005243], SOL[.00612], USD[0.00], USDT[0]

08000912                              AVAX[3.36454759], BTC[.01678546], CUSDT[1], DOGE[880.77925035], ETH[.0415158], ETHW[.04099772], GRT[1], SHIB[13687103.22581915], TRX[2], USD[0.00]                                Yes

08000914                              CUSDT[3], ETH[.00243895], ETHW[.00241159], SHIB[319776.51203802], TRX[211.39649731], USD[0.01]                                                                                    Yes

08000917                              CUSDT[2], DOGE[3.60362211], SHIB[17.47143815], TRX[2], USD[118.92]

08000918       Contingent, Disputed   USD[0.15]                                                                                                                                                                         Yes

08000925                              CUSDT[1], DOGE[1], SHIB[52.66331664], USD[48.92]                                                                                                                                  Yes

08000927                              USD[10.86]                                                                                                                                                                        Yes

08000928                              BTC[.05060905], CUSDT[32], DOGE[1], ETH[.66466819], ETHW[.52064609], MATIC[113.86185541], SHIB[15], TRX[1915.41296432], USD[0.27]                                                 Yes

08000934                              CUSDT[2], DOGE[2], LTC[.65800764], SHIB[1735809.75525082], SOL[.99998544], USD[0.62]

08000942                              CUSDT[1], DOGE[1], SOL[.00250519], USD[0.00]

08000949                              BRZ[4], CUSDT[20], DOGE[365.29083021], MATIC[64.09447988], NFT (362494454729464900/Entrance Voucher #2893)[1], SHIB[971071.97416997], TRX[3], USD[4.22]                           Yes

08000959                              BRZ[1], BTC[.00458033], CUSDT[2], DOGE[509.01684093], ETH[.04272436], ETHW[.04219084], SHIB[2], TRX[1], USD[0.47]                                                                 Yes

08000965       Contingent, Disputed   USD[0.04]                                                                                                                                                                         Yes

08000978                              CUSDT[1], GRT[22.32812143], USD[0.00]                                                                                                                                             Yes

08000979                              BRZ[1], ETHW[.22874527], SHIB[6768648.62420468], TRX[2], USD[575.57]

08000997                              BRZ[1], DOGE[3], GRT[1], SHIB[6], SUSHI[751.55599662], TRX[1], USD[2.45]                                                                                                          Yes

08000999                              SHIB[7390709.04858584], TRX[1], USD[0.00]                                                                                                                                         Yes

08001003                              CUSDT[1], ETH[.00113518], ETHW[.00113518], LTC[.02527429], SHIB[132802.12483399], USD[0.00]

08001014                              CUSDT[1], USD[0.00]

08001016                              CUSDT[5], SHIB[8162840.52982353], USD[0.00]

08001023                              USD[500.00]

08001028                              UNI[.0427], USDT[0.00019094]
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                                                                                                                                         Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08001036                           BRZ[1], DOGE[2744.04625106], SHIB[27280353.21451755], SOL[2.29597979], TRX[2], USD[862.18]                                                                                           Yes

08001050                           USD[0.00]

08001051                           BTC[.00007993]

08001056                           SOL[.12378704], USD[6.30], USDT[0.00000001]

08001062                           SOL[.00601571], USD[0.00]

08001065                           CUSDT[2], SHIB[1605850.81712583], USD[0.02]

08001068                           CUSDT[1], DOGE[100.84759293], SHIB[816251.65382353], TRX[1], USD[0.01]                                                                                                               Yes

08001069                           SHIB[1480758.2490851], USD[0.00]                                                                                                                                                     Yes

08001071                           SHIB[18600000], USD[2.63]

08001073                           DOGE[46.19475481], ETHW[.0001111], USD[0.00], USDT[.0018956]

08001074                           BTC[.00054282], ETH[.00249214], ETHW[.00246478], SHIB[1], SOL[.04569164], USD[0.00]                                                                                                  Yes

08001081                           SHIB[210340.64356933], USD[0.00]                                                                                                                                                     Yes

08001082                           BRZ[2], CUSDT[4], DOGE[3], ETH[0], TRX[9.93294806], USD[0.00]                                                                                                                        Yes

08001088                           DOGE[13389.75476982], GRT[1.00019173], KSHIB[14470.75932631], MATIC[1806.00752693], SOL[28.13637893], SUSHI[609.31389699], TRX[2], USD[3656.50], USDT[1.02543197]                    Yes

08001089                           BAT[1.01511763], BRZ[0.05328564], CUSDT[30], DOGE[3], ETH[0], LINK[.00001453], MATIC[0], SHIB[22543941.08507089], SOL[0], SUSHI[.00003589], TRX[2], USD[0.01]                        Yes

08001094                           BRZ[1], CUSDT[1], USD[0.00]                                                                                                                                                          Yes

08001095                           BTC[.0007992], ETH[.000998], ETHW[.000998], SHIB[600000], USD[0.01], USDT[24.95]

08001104                           BAT[0.39781328], DOGE[99.85], GRT[.986], SUSHI[5.41369538], USD[0.08]

08001105                           SHIB[1], USD[93.06]

08001108                           BF_POINT[300]                                                                                                                                                                        Yes

08001114                           BTC[.00573461]                                                                                                                                                                       Yes

08001119                           BTC[.00372662], CUSDT[2], SHIB[1706928.58932059], TRX[1], USD[59.34]                                                                                                                 Yes

08001120                           BTC[.00048764], CUSDT[4], DOGE[120.05937742], ETH[.00611709], ETHW[.00603501], SHIB[734407.8155508], SOL[.09030998], TRX[104.02336565], USD[0.01]                                    Yes

08001132                           BTC[.0025995], ETH[.01], ETHW[.01], SHIB[500000], USD[5.14]

08001134                           SHIB[147681.72382576], SUSHI[.87013132], USD[0.02]                                                                                                                                   Yes

08001163                           ETH[.29358239], ETHW[.29358239], SHIB[4634188.40056574], TRX[1], USD[0.00]

08001170                           USD[10.84]                                                                                                                                                                           Yes

08001171                           BCH[.08991078], CUSDT[2], DOGE[122.24403253], KSHIB[309.67043478], USD[0.00]                                                                                                         Yes

08001176                           BRZ[1], CUSDT[2], KSHIB[1882.96882577], NFT (568892659835501384/Mad Lions Remastered #2)[1], TRX[494.57307494], USD[0.54]                                                            Yes

08001186                           USD[10.00]

08001187                           CUSDT[2], SHIB[1101968.85101381], TRX[243.04776452], USD[0.00]

08001188                           AVAX[.03758415], BAT[2], BRZ[3], BTC[.00007435], DOGE[4], ETHW[.00057778], GRT[1], MATIC[.92850924], NEAR[.02073982], NFT (314735195721909860/Degenerate Trash Can)[1], NFT          Yes
                                   (318376305653076738/Lucky Zero #3)[1], NFT (322458290300103446/GSW Round 1 Commemorative Ticket #460)[1], NFT (340206145691998229/GSW Western Conference Finals Commemorative
                                   Banner #1104)[1], NFT (361448410273094649/The 2974 Collection #1368)[1], NFT (380831405949526797/GSW Western Conference Semifinals Commemorative Ticket #394)[1], NFT
                                   (407200770019209905/Warriors Foam Finger #162 (Redeemed))[1], NFT (408991623804527758/Lucky Zero #3)[1], NFT (425112547610621563/GSW Championship Commemorative Ring)[1], NFT
                                   (441219479673186992/GSW Championship Commemorative Ring)[1], NFT (456697611521188627/GSW 75 Anniversary Diamond #287 (Redeemed))[1], NFT (479800209656522085/GSW Western
                                   Conference Finals Commemorative Banner #1102)[1], NFT (485630071995234710/Exclusive 2974 Collection Merchandise Package #2039 (Redeemed))[1], NFT (512536353394983274/Degen Banana
                                   #3356)[1], NFT (513225585065801637/GSW Western Conference Semifinals Commemorative Ticket #395)[1], NFT (517563472799361024/Crypto City 2022)[1], NFT (521574735521052062/Degen
                                   Banana #3356)[1], NFT (524395256772561085/Degenerate Trash Can)[1], NFT (542381842452557891/GSW Western Conference Finals Commemorative Banner #1103)[1], NFT
                                   (566689834702431144/GSW Western Conference Finals Commemorative Banner #1101)[1], SHIB[5], SOL[.00010189], SUSHI[.00813573], TRX[2], USD[13141.13], USDT[.00645748]

08001197                           SHIB[743209.84916911], USD[0.00]

08001199                           SHIB[1025218.36239081], USD[0.03]

08001203                           BAT[6], BF_POINT[100], BRZ[3], BTC[.00005597], CUSDT[5], DOGE[31], GRT[3], LINK[.00233428], MATIC[.00001891], SHIB[4179387.12280596], TRX[10], UNI[1], USD[0.01], USDT[2]

08001216                           CUSDT[1], ETH[.00488293], ETHW[.00482821], USD[0.00]                                                                                                                                 Yes

08001217                           SOL[197.57329325], USD[3001.11]

08001219                           CUSDT[1], SHIB[422966.5949544], USD[0.00]

08001221                           DOGE[1], MATIC[24.32290705], USD[2.97]                                                                                                                                               Yes

08001227                           BTC[0.00008792], USD[1.47]

08001230                           DOGE[1], TRX[1], USD[0.01], USDT[0]

08001232                           ETH[.01237308], ETHW[0.01222259]                                                                                                                                                     Yes

08001238                           SOL[.00000001]                                                                                                                                                                       Yes

08001239                           CUSDT[1], DOGE[37.52040353], SHIB[803371.16500005], USD[5.44]                                                                                                                        Yes

08001245                           MKR[.00000014], SHIB[11], SUSHI[.00003014], USD[144.23], USDT[0]                                                                                                                     Yes

08001256                           CUSDT[1], KSHIB[30.96813672], SOL[.13004952], USD[0.00]                                                                                                                              Yes

08001261                           BRZ[1], ETHW[.01781642], LTC[0.00133436], SHIB[5], TRX[1], USD[0.00]                                                                                                                 Yes

08001268                           BTC[.00032429], DOGE[0], ETH[0.00324016], ETHW[0.00324016], MKR[0], SHIB[135648.39934888], USD[0.00], USDT[0]

08001281                           USD[311.22]                                                                                                                                                                          Yes

08001283                           CUSDT[1], SHIB[1698138.83983154], USD[0.01]

08001288                           CUSDT[64.79605331], GRT[21.82685486], KSHIB[397.3807073], SHIB[518710.53147987], TRX[9.80284929], USD[0.44]                                                                          Yes

08001298                           LINK[.32727822], USD[0.00]

08001302                           BTC[.00174827], CUSDT[1], USD[0.00]                                                                                                                                                  Yes
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                                                                                                                                            Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08001303                              CUSDT[1], SHIB[147821.06140405], USD[0.00]                                                                                                                                                Yes

08001310                              USD[5.76]                                                                                                                                                                                 Yes

08001316       Contingent, Disputed   BRZ[1], BTC[.00178998], USD[0.00]                                                                                                                                                         Yes

08001317                              DOGE[1803.75850602], TRX[1], USD[0.00]

08001322                              CUSDT[3], NFT (524525401028018792/Earl Campbell's Playbook: Rice vs. Texas - October 1st, 1977 #107)[1], SHIB[2874240.21709975], USD[5.01]

08001338                              CUSDT[4], TRX[1], USD[0.00]                                                                                                                                                               Yes

08001341                              AUD[67.00], USD[0.04]

08001342                              SHIB[1400000], USD[27.39]

08001344                              SOL[.0250712], USD[0.00]

08001345                              USD[21.51]                                                                                                                                                                                Yes

08001353                              SHIB[2728622.38267163], USD[0.00]

08001355                              DOGE[1], SHIB[1350986.21994055], USD[0.00]

08001358                              LINK[.34323227], USD[21.61]                                                                                                                                                               Yes

08001368       Contingent, Disputed   BTC[.00016374], USD[0.00]

08001373                              BAT[2.0157203], BRZ[5], DOGE[6], GRT[1], LINK[.00138737], SHIB[4], SOL[.00000001], TRX[1], USD[0.00], USDT[4.14030554]

08001383                              SHIB[6700000], USD[2.56]

08001386                              DOGE[1], SHIB[1634483.92161059], TRX[1073.74849316], USD[0.00]                                                                                                                            Yes

08001389                              SHIB[15504563.88999332], TRX[1], USD[0.00]                                                                                                                                                Yes

08001390                              BF_POINT[300], USD[142.39]                                                                                                                                                                Yes

08001391                              SOL[5.46607623], TRX[1], USD[0.00]

08001393                              USD[10.00]

08001399                              BTC[.00270811], CUSDT[5], TRX[1], USD[45.50]

08001400                              CUSDT[1], LTC[.27327979], USD[0.00]                                                                                                                                                       Yes

08001401                              CUSDT[1], SHIB[698421.56725799], USD[0.01]

08001406                              SHIB[133779.26421404], USD[0.00]

08001411                              BTC[.00837677], CUSDT[2], DOGE[2], SOL[1.27785941], USD[0.00]                                                                                                                             Yes

08001418                              SHIB[1430615.16452074], TRX[1], USD[0.00]

08001420                              CUSDT[1], DOGE[2], NFT (297824597948712290/Australia Ticket Stub #456)[1], SHIB[1375992.45449269], USD[0.00]                                                                              Yes

08001424                              BRZ[1], CUSDT[5], DOGE[2], TRX[3], USD[0.00]                                                                                                                                              Yes

08001426                              USD[108.62]                                                                                                                                                                               Yes

08001435                              ETH[.528], ETHW[.528], USD[1.68]

08001436                              SHIB[146902.76965418], USD[0.00]                                                                                                                                                          Yes

08001442                              MATIC[725.91378022], SHIB[1], USD[0.36]

08001447                              BRZ[1], CUSDT[1], DOGE[1], LTC[.34983773], USD[0.00]

08001450                              AVAX[1.21776153], BCH[0], BTC[0], ETH[0], USD[0.00], USDT[0.46361700]

08001454                              CUSDT[9], DOGE[1], TRX[1], USD[0.00]

08001465                              USD[20.00]

08001470                              SHIB[3667381.45201322], TRX[1], USD[0.01]                                                                                                                                                 Yes

08001471                              BTC[0], ETH[.00000011], ETHW[.00000011], GRT[1], SOL[.0000023], USD[0.00]                                                                                                                 Yes

08001473                              CUSDT[2], SHIB[986905.7638421], SUSHI[.03774297], USD[52.92]                                                                                                                              Yes

08001483                              USD[74.94]                                                                                                                                                                                Yes

08001497                              CUSDT[1], SOL[.10821069], USD[0.00]                                                                                                                                                       Yes

08001498                              USD[20.00]

08001501                              USD[10.86]                                                                                                                                                                                Yes

08001516                              USD[0.05], USDT[0]                                                                                                                                                                        Yes

08001520                              BRZ[1], CUSDT[3], USD[0.00]                                                                                                                                                               Yes

08001521                              NFT (299196776769535108/Sun City Drive)[1], NFT (307100902746081798/Sun City Drive #12)[1], NFT (310250642566858762/Sun City Drive #22)[1], NFT (313156202132497270/Sun City Drive #8)[1],
                                      NFT (320362106103293972/Sun City Drive #20)[1], NFT (321473079243139065/Sun City Drive #18)[1], NFT (332838181885649463/Sun City Drive #14)[1], NFT (351655214398070216/Sun City Drive
                                      #21)[1], NFT (354907885669670459/Sun City Drive #6)[1], NFT (359320827382460051/Sun City Drive #11)[1], NFT (367504605684956720/Sun City Drive #15)[1], NFT (377432874702362840/Sun City
                                      Drive #5)[1], NFT (380262340295935612/Sun City Drive #13)[1], NFT (381820639807904553/Sun City Drive #2)[1], NFT (403408891610218843/Sun City Drive #7)[1], NFT (434720549235423353/Sun
                                      City Drive #23)[1], NFT (450040262229136884/Sun City Drive #4)[1], NFT (458179274391182631/Sun City Drive #9)[1], NFT (472661157749668450/Sun City Drive #16)[1], NFT
                                      (476078207276123268/Sun City Drive #24)[1], NFT (485773301519497566/Sun City Drive #3)[1], NFT (506133224073889799/Sun City Drive #19)[1], NFT (516181675687784444/Sun City Drive #26)[1],
                                      NFT (516955875932603040/Sun City Drive #10)[1], NFT (526282444722856126/Sun City Drive #27)[1], NFT (531821903510446955/Sun City Drive #17)[1], NFT (540673647150713354/Sun City Drive
                                      #25)[1], SOL[.25707284]
08001525                              CUSDT[1], SHIB[300351.2532735], USD[27.08]                                                                                                                                                 Yes

08001529                              CUSDT[1], KSHIB[117.4177445], SHIB[131993.36775560], USD[0.00], USDT[0.00000001]                                                                                                          Yes

08001535                              USD[0.00]                                                                                                                                                                                 Yes

08001541                              BCH[.41756714], CUSDT[1], USD[0.00]

08001545                              BRZ[1], CUSDT[12], DOGE[3], SHIB[6562908.09050325], TRX[1], USD[0.05]                                                                                                                     Yes

08001550                              USD[543.11]                                                                                                                                                                               Yes

08001554                              CUSDT[2], DOGE[1], SOL[.00000001], USD[0.52]                                                                                                                                              Yes
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08001569                              BTC[.00065246], CUSDT[1], ETH[.0024447], ETHW[.00241734], USD[5.44]                                                                                                                      Yes

08001571                              USD[500.00]

08001572                              USD[0.00], USDT[0]

08001573                              DOGE[1], USD[5.15]                                                                                                                                                                       Yes

08001575                              BRZ[1], CUSDT[7], DOGE[1], GRT[.16808141], LTC[.00000042], SUSHI[.00004101], TRX[.00712481], USD[0.01]                                                                                   Yes

08001576                              SOL[.23606917], USD[0.00]

08001579                              MATIC[0], USD[0.00]

08001586                              BRZ[7.18504167], CUSDT[2], DOGE[1], SHIB[2908912.89484769], TRX[1], USD[111.52]                                                                                                          Yes

08001587                              USD[0.00]

08001599                              USD[0.00]

08001604                              CUSDT[1], DOGE[1.00356546], SOL[1.83929721], TRX[3], USD[0.00]                                                                                                                           Yes

08001609                              USD[10.86]                                                                                                                                                                               Yes

08001610                              USD[10.00]

08001613                              CUSDT[1], SHIB[473190.74478248], USD[0.00]                                                                                                                                               Yes

08001614                              BAT[1.00694621], BRZ[1], BTC[.08533134], CUSDT[1], DOGE[3], SHIB[2], TRX[2], USD[0.00], USDT[0.00012645]                                                                                 Yes

08001621                              USD[100.00]

08001626                              DOGE[1], SHIB[666311.30063965], USD[0.01]

08001629                              BF_POINT[200], BTC[0], SHIB[0], SOL[.00000001], USD[0.80], USDT[0]                                                                                                                       Yes

08001636                              BTC[.00130107], CUSDT[2], SHIB[816884.68963763], USD[0.20]                                                                                                                               Yes

08001639                              CUSDT[1], KSHIB[2846.89079668], USD[50.00]

08001640                              CUSDT[1], SHIB[2372169.86442905], USD[0.00]                                                                                                                                              Yes

08001642                              BRZ[1], BTC[.00000016], DOGE[.05496099], ETH[.00001001], GRT[1], SHIB[2], USD[50.13]                                                                                                     Yes

08001646                              CUSDT[1], DOGE[1], KSHIB[661.32396263], SHIB[722104.21433374], USD[107.98]                                                                                                               Yes

08001651                              CUSDT[1], DOGE[2], SHIB[2800350.95986837], USD[0.38]                                                                                                                                     Yes

08001658                              BTC[.00000174], SOL[0], UNI[.00000001], USD[0.00], USDT[0.00000026]                                                                                                                      Yes

08001659                              BRZ[2], CUSDT[1], DOGE[3], SHIB[6], USD[0.00]                                                                                                                                            Yes

08001661                              BTC[.02636736], ETH[.60466227], ETHW[.60440835], MATIC[1835.08095928], SOL[13.21133597]                                                                                                  Yes

08001663                              NFT (288509796094300762/Romeo #751)[1], NFT (292076210993897864/Entrance Voucher #2610)[1], NFT (562920288966045827/Imola Ticket Stub #2276)[1], SHIB[1], SOL[0], TRX[1], USD[100.28],   Yes
                                      USDT[0]
08001668                              SHIB[168435.2366515], USD[10.00]

08001677                              CUSDT[2.9353], ETH[.00428009], ETHW[.00422537], USD[0.00]                                                                                                                                Yes

08001678                              CUSDT[1], DOGE[94.44723985], USD[0.00]                                                                                                                                                   Yes

08001681                              SOL[.04], USD[0.65]

08001684                              BRZ[1], CUSDT[1], DOGE[1], SHIB[1453153.70919738], USD[0.00]                                                                                                                             Yes

08001686                              SHIB[9890100], USD[5.00]

08001695       Contingent, Disputed   USD[0.00]

08001696                              BTC[.00401387], CUSDT[2], DOGE[1], ETH[.0229893], ETHW[.0229893], SOL[.60026075], TRX[1], USD[0.00]

08001698                              CUSDT[1], DOGE[2], ETHW[.0400266], USD[0.00], USDT[1.00655103]                                                                                                                           Yes

08001701                              CUSDT[1], SHIB[760724.72894885], USD[0.00]                                                                                                                                               Yes

08001703                              BAT[13.19660129], CUSDT[5], DOGE[258.93801113], KSHIB[1136.77685098], SHIB[104525.29824786], TRX[141.26204591], USD[1.11]                                                                Yes

08001705                              SOL[0], USD[0.00]

08001713                              NFT (315157008718285950/Humpty Dumpty #1436)[1]

08001715                              USD[0.05]

08001716                              BF_POINT[300], BTC[0], ETH[0], ETHW[0], KSHIB[0], SHIB[1], SOL[0], TRX[1], USD[0.01]

08001719                              ETHW[.82462519], USD[3263.76], USDT[0]

08001720                              CUSDT[1], SOL[.1253768], USD[0.00]

08001723                              USD[50.01]

08001730                              USD[27.15]                                                                                                                                                                               Yes

08001737                              BCH[.83638852], DOGE[1], USD[0.00]

08001740                              SHIB[1334935.2556401], TRX[1], USD[0.00]

08001746                              BAT[76.1066119], BTC[.00173521], CUSDT[2], DOGE[408.33016603], ETH[.02468567], ETHW[.02438262], TRX[1073.76152836], USD[0.11]                                                            Yes

08001756                              BTC[.00497867], CUSDT[2], ETH[.03349046], SHIB[2], USD[11.87]                                                                                                                            Yes

08001757                              USD[0.00]

08001766                              BRZ[1], SHIB[7217137.80507972], USD[0.01]                                                                                                                                                Yes

08001769                              BRZ[1], ETHW[.35390749], USD[0.00]

08001780                              SHIB[144670.90559359], USD[0.00]                                                                                                                                                         Yes

08001783                              USD[10.86]                                                                                                                                                                               Yes

08001784                              BF_POINT[100], BRZ[1], BTC[0.00003057], CUSDT[8], DOGE[2], SHIB[8231.58164697], SOL[5.87860797], TRX[1], USD[0.06]                                                                       Yes

08001793                              BRZ[1], CUSDT[7], DOGE[2], TRX[1], USD[0.00]                                                                                                                                             Yes
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                                                                                                                                         Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08001794                           AUD[0.00], ETH[0], EUR[0.00], USD[0.00], USDT[0.06000000]

08001795                           CUSDT[2], SHIB[1803719.38249844], USD[86.84]                                                                                                                                         Yes

08001800                           DOGE[2], USD[0.00]

08001805                           DOGE[0], SOL[0], USD[0.02], YFI[0]                                                                                                                                                   Yes

08001809                           USD[0.01]

08001814                           ETHW[.54526328], SHIB[9], TRX[1], USD[0.00]

08001815                           CUSDT[1], SHIB[660327.52245113], USD[0.01]

08001817                           CUSDT[4], USD[108.33]                                                                                                                                                                Yes

08001819                           BRZ[1], DOGE[1], ETH[.01458634], ETHW[.0144085], SOL[.17995826], TRX[2], USD[4.12]                                                                                                   Yes

08001820                           TRX[1], USD[0.01]                                                                                                                                                                    Yes

08001822                           USD[20.00]

08001830                           DOGE[19.03397669], USD[5.43]                                                                                                                                                         Yes

08001831                           BAT[2.08200489], BRZ[6.43416563], BTC[0], CUSDT[22], DOGE[20.24690106], ETH[0], GRT[2.004663], SHIB[7], SOL[0], TRX[13.07441273], USD[0.00], USDT[2.13446147]                        Yes

08001836                           BRZ[1], BTC[.02098598], ETH[1.04768353], ETHW[1.04724344], TRX[8257.6667432], USD[0.00]                                                                                              Yes

08001841                           SOL[0.00903717], TRX[2.68906264], USD[0.05]                                                                                                                                          Yes

08001842                           KSHIB[4171.88151856], SHIB[.00000487], USD[0.00]

08001845                           BTC[.00089329], DOGE[1], USD[54.31]                                                                                                                                                  Yes

08001847                           BTC[.0003203], CUSDT[1], USD[0.00]

08001849                           BTC[.0003203], CUSDT[1], USD[0.00]                                                                                                                                                   Yes

08001853                           CUSDT[1], SHIB[1471453.79635079], USD[0.00]

08001854                           BTC[.00016134], DOGE[18.8535992], USD[0.00]                                                                                                                                          Yes

08001864                           USD[10.00]

08001872                           CUSDT[1], DOGE[1], SHIB[623321.00518189], USD[0.00]                                                                                                                                  Yes

08001876                           CUSDT[3], USD[0.00]                                                                                                                                                                  Yes

08001877                           CUSDT[1], DOGE[1980.428693], USD[0.00]                                                                                                                                               Yes

08001880                           BTC[0.00000001]                                                                                                                                                                      Yes

08001882                           CUSDT[2], DOGE[891.88109744], SHIB[6382055.37689034], TRX[1], USD[0.99]                                                                                                              Yes

08001890                           CUSDT[2], SHIB[2921500.77846378], SOL[2.16550688], USD[5.00]

08001894                           USD[543.09]                                                                                                                                                                          Yes

08001906                           CUSDT[1], DOGE[2], LTC[0], SOL[0], TRX[2], USD[0.00]

08001917                           BAT[1.00918327], BRZ[1], CUSDT[10], DOGE[1], SHIB[1431066.19203574], TRX[1], USD[0.00]                                                                                               Yes

08001922                           BTC[.00023604], CUSDT[3], SHIB[492890.2034215], USD[0.00]

08001923                           BTC[.0000764], ETHW[4.995], USD[8829.39]

08001924                           ETH[.01953455], ETHW[.01953455], NFT (367434353650839725/Football moments #2)[1], NFT (369762410486415539/SolBunnies #1236)[1], NFT (381762599794116328/Ghoulie #6524)[1], NFT
                                   (387760494056663070/Football moments #5)[1], NFT (397196031002517206/ballerina #3)[1], NFT (404089451106086837/Football moments #4)[1], NFT (426684163208635462/SolBunnies #1304)[1],
                                   NFT (442214200388986492/Football moments #3)[1], NFT (458793494157850633/T-Punk #20)[1], NFT (525271888472992665/Solana Penguin #4542)[1], NFT (537473085952370682/Gangster Gorillas
                                   #9597)[1], NFT (540442323620498747/Roamer #522)[1], NFT (546402235807535155/Gangster Gorillas #2527)[1], NFT (546761037357791201/SolBunnies #3629)[1], NFT
                                   (551260638337934264/Football#7)[1], NFT (565975183666812292/Football moments #9)[1], SOL[.11028219]
08001929                           SOL[.04486084], USD[0.02]                                                                                                                                                             Yes

08001938                           BAT[.03257152], BRZ[1], DOGE[1], ETH[.0000048], ETHW[.0000048], GRT[.03503095], MATIC[.00948961], SHIB[1], TRX[1], USD[0.00], USDT[0.00000001], YFI[.00000621]                       Yes

08001940                           MATIC[535.60289218], USD[0.00]                                                                                                                                                       Yes

08001948                           BF_POINT[100], CUSDT[1], SHIB[732292.10803832], USD[0.00]                                                                                                                            Yes

08001953                           BTC[.4634568], ETH[.624375], ETHW[.624375], SOL[40.56939], USD[1026.91]

08001966                           BF_POINT[200], SHIB[1], USD[0.00]                                                                                                                                                    Yes

08001967                           USD[0.01], USDT[0]                                                                                                                                                                   Yes

08001973                           BRZ[702], KSHIB[8248.62000587], SHIB[41312219.19457013], USD[1006.85]

08001976                           BTC[.00089588]                                                                                                                                                                       Yes

08001980                           SHIB[1444976.93122248], TRX[1], USD[0.00]                                                                                                                                            Yes

08001983                           CUSDT[1], DAI[0], ETH[.00000001], GRT[1.00019173], LTC[0.00000851], USD[107.20]                                                                                                      Yes

08001989                           BAT[3.50485329], DOGE[61.30577235], SHIB[4], USD[16.10], USDT[0]                                                                                                                     Yes

08001993                           BRZ[148.29421512], CUSDT[1], KSHIB[1329.71774214], TRX[1], USD[81.53]                                                                                                                Yes

08001994                           SHIB[1], USD[0.00]                                                                                                                                                                   Yes

08001998                           CUSDT[1], SHIB[1], SUSHI[167.23276062], TRX[546.20506366], USD[0.01]                                                                                                                 Yes

08001999                           AVAX[2.13766642], CUSDT[1], DOGE[3], LINK[13.24817291], MATIC[105.11499955], SHIB[4204787.26976159], SOL[3.15942397], TRX[525.54285427], USD[0.04]                                   Yes

08002002                           CUSDT[1], TRX[1], USD[47.90]

08002004                           CUSDT[1], SHIB[252270.43390514], USD[0.00]

08002016                           BTC[.01726067], ETH[.42221503], ETHW[.42221503], USD[0.00]

08002035                           BAT[1], LINK[0], TRX[0]                                                                                                                                                              Yes

08002037                           CUSDT[1], DOGE[0], SHIB[0.00008730], SOL[0], USD[0.01]                                                                                                                               Yes

08002040                           BF_POINT[300]                                                                                                                                                                        Yes
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                                                                                                                                          Customer Claims                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08002047                           USD[50.00]

08002051                           BTC[.00827675], DOGE[1], GRT[1], SHIB[6603275.22451135], USD[0.02]

08002055                           BTC[.00040146], CUSDT[1], USD[0.00]                                                                                                        Yes

08002061                           BTC[.01102282], DOGE[1], SHIB[31130198.02461996], TRX[1], USD[0.00], USDT[2.16388723]                                                      Yes

08002065                           USD[10.86]                                                                                                                                 Yes

08002068                           CUSDT[2], SHIB[5057559.68023771], TRX[1], USD[0.00]                                                                                        Yes

08002071                           BRZ[5.97264029], CUSDT[45.86044519], KSHIB[94.80655129], TRX[9.43208487], USD[0.01]                                                        Yes

08002072                           BRZ[1], CUSDT[3], SHIB[678981.20205005], USD[0.00]                                                                                         Yes

08002080                           BAT[61.12645116], CUSDT[5], DOGE[94.41256736], SHIB[1182577.30676529], SOL[.27211042], TRX[1], USD[27.16]                                  Yes

08002086                           USD[28.84], USDT[0]

08002096                           NFT (310041648095771243/The Hill by FTX #7032)[1], NFT (572003302311852421/FTX Crypto Cup 2022 Key #3023)[1], USD[0.00]                    Yes

08002103                           USD[0.01]                                                                                                                                  Yes

08002108                           SHIB[199900], USD[0.08]

08002115                           CUSDT[1], DOGE[69.17721312], KSHIB[132.39758252], SHIB[329902.34890472], USD[0.00]

08002124                           BRZ[1], DOGE[1], USD[0.00]                                                                                                                 Yes

08002127                           CUSDT[2], DOGE[1], USD[0.00]

08002128                           CUSDT[2], ETH[.08168206], ETHW[.08067649], USD[0.00]                                                                                       Yes

08002130                           USD[0.17], USDT[0]                                                                                                                         Yes

08002145                           CUSDT[2], SHIB[660896.02477757], USD[0.00]

08002152                           CUSDT[453.99776814], USD[40.00]

08002155                           SHIB[.00000001], USD[0.92]                                                                                                                 Yes

08002156                           BTC[.00174563], CUSDT[1], USD[0.00]                                                                                                        Yes

08002160                           BAT[161.60501073], NFT (429003227106801822/Entrance Voucher #2563)[1], TRX[1], USD[0.01]                                                   Yes

08002172                           USD[0.01]                                                                                                                                  Yes

08002177                           BTC[.00005699], DOGE[.99425], ETH[.00030935], ETHW[2.31130935], SHIB[80775], SOL[.004116], UNI[.02628], USD[9736.87]

08002185                           DOGE[.95], SHIB[299900], USD[0.66]

08002191                           BTC[0], DOGE[0], ETH[0], ETHW[0], LTC[0], MATIC[0], SOL[0], SUSHI[0], USD[0.00], USDT[0], YFI[0]                                           Yes

08002193                           BRZ[1], DOGE[194.34999045], LINK[0], USD[0.00]                                                                                             Yes

08002194                           CUSDT[10], DOGE[2], NFT (418617233209170726/Australia Ticket Stub #321)[1], SHIB[586764.67139869], TRX[2], USD[0.00], USDT[0]              Yes

08002195                           USD[15.21]                                                                                                                                 Yes

08002196                           KSHIB[546.3959779], TRX[1], USD[0.11]                                                                                                      Yes

08002203                           CUSDT[1], SHIB[2900364.95195643], USD[1.39]                                                                                                Yes

08002206                           BF_POINT[100], BRZ[1], CUSDT[2], DOGE[1], SHIB[13705385.78162119], USD[0.03]                                                               Yes

08002213                           CUSDT[1], NFT (289097915073274967/Entrance Voucher #3509)[1], SHIB[3113756.0670574], USD[0.00]                                             Yes

08002217                           CUSDT[2], SHIB[729959.37749728], USD[0.01]                                                                                                 Yes

08002221                           USD[0.24]                                                                                                                                  Yes

08002223                           BTC[.00105174], CUSDT[8], DOGE[1], GRT[21.9888664], LINK[.68269682], USD[0.00]                                                             Yes

08002226                           SHIB[1073865.58109155], TRX[1], USD[27.15]                                                                                                 Yes

08002233                           CUSDT[1], SHIB[358617.02316302], USD[0.00]                                                                                                 Yes

08002243                           BRZ[.636], CUSDT[.00031], DOGE[.00006041], ETH[.00000004], ETHW[.00000004], GRT[.32], SHIB[7699486.18133293], TRX[1], USD[0.48], USDT[0]

08002244                           BTC[0], DOGE[0], ETH[0], ETHW[0], EUR[0.12], GBP[0.06], SOL[.00319589], USD[0.01], USDT[0.84060395]

08002245                           DOGE[1], KSHIB[596.86768613], TRX[151.98248583], USD[0.01]

08002246                           LTC[.40634189]

08002254                           USD[500.01]

08002265                           USD[308.79]                                                                                                                                Yes

08002269                           BTC[.00092242], CUSDT[1], DOGE[1], SHIB[728099.77192363], USD[0.24]                                                                        Yes

08002271                           CUSDT[1], ETH[.02473037], ETHW[.02442538], NFT (389584523260740028/Entrance Voucher #3158)[1], USD[0.00]                                   Yes

08002272                           SHIB[166682.93222176], USD[0.00]                                                                                                           Yes

08002275                           CUSDT[1], SHIB[13924956.00241166], USD[0.00]

08002287                           CUSDT[1], TRX[55.41110765], USD[0.00]

08002289                           CUSDT[2], SHIB[1], SOL[1.59640794], SUSHI[8.07329247], TRX[1058.77825201], USD[5.84]                                                       Yes

08002295                           BRZ[1], BTC[.00089329], USD[0.00]                                                                                                          Yes

08002310                           SHIB[747790.61862678], USD[0.10]

08002314                           BRZ[1], CUSDT[2], SHIB[3456271.48938725], USD[300.00]

08002318                           BRZ[1], SHIB[1444758.3405171], USD[54.31]                                                                                                  Yes

08002319                           USD[10.00]

08002320                           BTC[.00016047], USD[0.00]                                                                                                                  Yes

08002322                           BRZ[1], BTC[0], CUSDT[17], DOGE[0], LTC[.00000104], MATIC[.00003505], USD[0.00]                                                            Yes
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                                                                                                                                         Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08002328                           DOGE[1.90469028], NFT (505619335621972288/Captain Barrack)[1], USD[0.50]                                                                                                            Yes

08002334                           BRZ[30.02980576], BTC[.00031671], CUSDT[247.31832534], DAI[5.39362853], DOGE[20.04124517], SHIB[92597.75679238], TRX[52.28303667], USD[0.00]                                        Yes

08002343                           DOGE[1], KSHIB[66.22778835], SHIB[69333.10487786], USD[0.00]                                                                                                                        Yes

08002344                           BTC[.00070481], ETH[.0025376], ETHW[.0025376], SOL[.05216365], TRX[1], USD[0.00], YFI[.0004575]

08002349                           BTC[0], SHIB[1]

08002360                           DOGE[1], SHIB[439453.40189069], USD[27.09]                                                                                                                                          Yes

08002361                           BAT[84.83348628], BTC[.00296129], DOGE[273.37901095], ETH[.04183361], ETHW[.04183361], SHIB[3000000], TRX[1086.66936033], USD[0.00]

08002362                           ALGO[32.1947831], AVAX[13.99397198], BRZ[3], CUSDT[2], DOGE[1160.41529104], LINK[16.57694545], MATIC[471.28891942], NFT (299376932723906479/Australia Ticket Stub #1566)[1], NFT     Yes
                                   (317575609291917223/APEFUEL by Almond Breeze #124)[1], NFT (320501736829410495/Coachella x FTX Weekend 1 #4742)[1], NFT (347622723923995266/SolBunnies #2648)[1], NFT
                                   (351255008522837138/APEFUEL by Almond Breeze #708)[1], NFT (360618695298376761/Sigma Shark #5964)[1], NFT (364108578426067342/APEFUEL by Almond Breeze #565)[1], NFT
                                   (364939509557509269/Sigma Shark #3701)[1], NFT (392903701713058724/SolBunnies #2662)[1], NFT (396923525973747557/ApexDucks Halloween #529)[1], NFT (397275384735964999/Solninjas
                                   #6088)[1], NFT (401523097260302155/SolBunnies #1940)[1], NFT (409464069256106931/SolBunnies #3421)[1], NFT (411413031221616902/Sigma Shark #5383)[1], NFT (427742313092749119/Sigma
                                   Shark #1203)[1], NFT (430516511136855178/APEFUEL by Almond Breeze #692)[1], NFT (435775242036436618/Sigma Shark #5639)[1], NFT (442798993514644318/Solninjas #7815)[1], NFT
                                   (442987913474046242/SolBunnies #2064)[1], NFT (457286222270660565/SolBunnies #2508)[1], NFT (464105405452394268/Sigma Shark #4458)[1], NFT (469693771909805060/SolBunnies #2768)[1],
                                   NFT (471857212540513793/The District #31-Rookie)[1], NFT (472262160083697475/Barcelona Ticket Stub #2308)[1], NFT (474635108460515232/3D CATPUNK #3566)[1], NFT
                                   (480980072267396528/Solninjas #5817)[1], NFT (485119067229619670/SolBunnies #3788)[1], NFT (486724117309846775/APEFUEL by Almond Breeze #158)[1], NFT (490233542351678052/Solninjas
                                   #2703)[1], NFT (498132341390266844/Vlad Sporkness)[1], NFT (504885063119924890/Coachella x FTX Weekend 1 #2723)[1], NFT (511974505905936105/Sigma Shark #1047)[1], NFT
                                   (524875793805500597/Solninjas #6992)[1], NFT (536822269717121733/Sigma Shark #2181)[1], NFT (541208671224262676/Sigma Shark #2295)[1], NFT (542112838981261439/Solninjas #5515)[1],
                                   NFT (550564779821965699/Solninjas #5799)[1], NFT (560284179557657843/Mech #5267)[1], NFT (566111744276732209/Solninjas #4030)[1], NFT (569204622187482175/ApexDucks #6527)[1], NFT
                                   (570207361319672675/APEFUEL by Almond Breeze #880)[1], SHIB[22], SOL[11.54645907], TRX[8], USD[0.00]

08002369                           BTC[.00040918], CUSDT[11], DOGE[1], ETH[.00020786], ETHW[.00020786], LTC[.90449546], MATIC[15.85783351], SHIB[3775241.72532391], SOL[.13644882], TRX[241.05517381],                 Yes
                                   UNI[12.16355505], USD[0.01]
08002372                           ETH[.00245422], ETHW[.00242686], TRX[1], USD[0.00]                                                                                                                                  Yes

08002373                           CUSDT[5], DOGE[1], MATIC[26.46584714], SHIB[11194544.63137141], TRX[1], USD[0.94]                                                                                                   Yes

08002374                           CUSDT[1], DOGE[1], ETH[.00145543], ETHW[.00144175], KSHIB[307.37420109], SHIB[886512.72890295], USD[0.00]                                                                           Yes

08002393                           BRZ[1], CUSDT[2], DOGE[1], USD[0.00]                                                                                                                                                Yes

08002395                           CUSDT[4], SHIB[1444602.43784254], SOL[1.3629361], USD[2.74]                                                                                                                         Yes

08002396                           CUSDT[1], SHIB[6643635.39728939], USD[0.00]

08002398                           BRZ[1], CUSDT[8], DOGE[2104.70584073], SHIB[11691254.90329479], TRX[1], USD[59.96]

08002403                           USD[20.00]

08002408                           BTC[.00350626], CUSDT[4], ETH[.03073424], ETHW[.0303512], KSHIB[1408.54493786], SHIB[1467875.15465433], SOL[1.0860801], SUSHI[8.58724691], TRX[2106.8102183], USD[0.00]             Yes

08002409                           BRZ[1], BTC[.08070645], CUSDT[34], DOGE[138.80159017], ETH[2.10375428], ETHW[2.10287067], GRT[1], SHIB[1503956.90288621], TRX[6], USD[130.66]                                       Yes

08002412                           CUSDT[1], SOL[.13356021], USD[0.00]                                                                                                                                                 Yes

08002416                           CUSDT[1], SHIB[330425.58815754], USD[0.00]

08002423                           BTC[.00005505], USD[12.50]                                                                                                                                                          Yes

08002426                           BTC[.02561324], ETH[.19198149], ETHW[.19176799], SHIB[15387649.81209135], USD[0.00]                                                                                                 Yes

08002436                           DOGE[43.23346464], TRX[1], USD[0.01]                                                                                                                                                Yes

08002439                           DOGE[189.19467005], TRX[1], USD[0.00]                                                                                                                                               Yes

08002440                           CUSDT[2], DOGE[1], SHIB[7264704.27612422], USD[0.00]                                                                                                                                Yes

08002442                           BRZ[1], SOL[2.73030272], USD[0.00]                                                                                                                                                  Yes

08002451                           USD[50.00]

08002455                           CUSDT[1], DOGE[20.76441633], SHIB[201111.30721329], USD[4.34]                                                                                                                       Yes

08002456                           USD[2074.86]                                                                                                                                                                        Yes

08002459                           USD[0.11]

08002460                           CUSDT[1], SHIB[63120.34677614], TRX[107.62601047], USD[0.50]                                                                                                                        Yes

08002462                           SUSHI[1.11409003], TRX[1], USD[0.00]

08002467                           CUSDT[2], DOGE[147.28502146], SHIB[556589.12081651], USD[0.01]                                                                                                                      Yes

08002472                           CUSDT[6], DOGE[1032.90499007], GRT[43.07617937], MATIC[10.77345795], NFT (325929417429688259/Signature series #1 of 5)[1], NFT (508945043597487160/Feel the burn #3 of 3)[1], NFT   Yes
                                   (524731051345290078/Silver oz’s )[1], NFT (552703886809694513/Moon #2 of 3)[1], SHIB[203839.65860108], USD[3.08]
08002478                           BRZ[2], CUSDT[1], ETHW[.00001048], SOL[0], TRX[1], USD[1.29], USDT[0.00000001]                                                                                                      Yes

08002483                           CUSDT[1], DOGE[79.11794843], SOL[2.68885879], USD[0.05]                                                                                                                             Yes

08002494                           BAT[1], BTC[0], DOGE[3], SHIB[2], TRX[2], USD[0.30]

08002500                           BRZ[1], BTC[.00292248], CUSDT[8], DOGE[3], TRX[3], USD[0.00]

08002503                           CUSDT[1], ETH[.06175993], ETHW[.06099385], USD[0.00]                                                                                                                                Yes

08002504                           BTC[0], LINK[1.4985], USD[3.06]

08002517                           CUSDT[1], SHIB[133671.9689881], USD[0.00]

08002518                           AAVE[.07610798], BRZ[1], DOGE[4], ETH[.02581257], ETHW[.02581257], LTC[.24111271], MKR[.00767497], PAXG[.01334099], TRX[2], USD[1.84]

08002521                           USD[108.57]                                                                                                                                                                         Yes

08002526                           CUSDT[1], SHIB[226783.00905396], USD[0.00]                                                                                                                                          Yes

08002530                           BTC[.0000661], USD[0.01]

08002535                           CUSDT[2], DOGE[1], USD[0.00]                                                                                                                                                        Yes

08002538                           TRX[1026.70880564], USD[546.34]                                                                                                                                                     Yes

08002541                           CUSDT[2], USD[1.85]                                                                                                                                                                 Yes

08002542                           CUSDT[1.91340904], ETH[.00015475], ETHW[.00015475], LTC[.00293484], USD[53.87]                                                                                                      Yes
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                                                                                                                                         Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08002543                           BRZ[1], CUSDT[13], DOGE[1694.97833399], GRT[11.15643635], SHIB[17464027.70045783], TRX[108.03820678], USD[0.07]                                                                          Yes

08002544                           BRZ[1], SHIB[7328163.58104426], USD[0.19]                                                                                                                                                Yes

08002546                           CUSDT[1], DOGE[1], KSHIB[2785.0283249], USD[0.00]                                                                                                                                        Yes

08002556                           BAT[3.16700209], BRZ[1], CUSDT[2], DOGE[3], GRT[1], TRX[2], USD[0.00]                                                                                                                    Yes

08002559                           CUSDT[1], USD[0.00], YFI[.00113431]

08002566                           NFT (349418464120907272/Entrance Voucher #2266)[1], SHIB[2070079.42263803], USD[0.03]                                                                                                    Yes

08002568                           CUSDT[1], ETHW[.05246073], TRX[1], USD[58.16]

08002569                           GRT[.60036122], MATIC[.00017318], PAXG[.0001], SHIB[12], TRX[2], USD[0.53]

08002571                           BAT[170], ETH[.251], ETHW[.251], MATIC[79.99], NFT (311992098172599000/Luna #11)[1], NFT (316185417757660936/Aurora #5)[1], NFT (317331616655386382/Luna #4)[1], NFT
                                   (318701612348108634/Aurora #9)[1], NFT (339838670998017299/Luna #2)[1], NFT (373439427206922936/Stellar #8)[1], NFT (375389106714372067/Aurora #4)[1], NFT (377757928552902415/Stellar
                                   #4)[1], NFT (379962018822944131/Aurora #7)[1], NFT (381421323147046159/Stellar #2)[1], NFT (391138573404729221/Aurora #6)[1], NFT (407493548126411232/Luna #9)[1], NFT
                                   (411128078853476041/Stellar #10)[1], NFT (417510513486725806/Luna #7)[1], NFT (438050812272433212/Stellar #5)[1], NFT (452533943123655560/Stellar #3)[1], NFT (457475022557800843/Luna
                                   #8)[1], NFT (465855277252019063/Luna #5)[1], NFT (483481910454331460/Luna #6)[1], NFT (486455915636989945/Stellar #7)[1], NFT (502624466553092345/Aurora #3)[1], NFT
                                   (504402349428274143/Stellar #9)[1], NFT (507041258206526895/Aurora)[1], NFT (510038277536756123/Luna #10)[1], NFT (514988643917344468/Lightning)[1], NFT (516402774114962962/Aurora
                                   #8)[1], NFT (533924774536343294/Stellar #6)[1], NFT (539844497324144656/Luna #3)[1], NFT (572605534935322014/Aurora #2)[1], SOL[2], TRX[2829.462], USD[43.74]

08002575                           DOGE[1], SOL[2.50638794], USD[0.00]

08002579                           CUSDT[2], TRX[1], USD[0.00]                                                                                                                                                              Yes

08002581                           CUSDT[2], DOGE[1], ETHW[.76490473], SHIB[3], TRX[3], USD[212.63]                                                                                                                         Yes

08002593                           ETH[0.00050000], ETHW[.0005]

08002595                           CUSDT[2], DOGE[521.65450446], SHIB[5762028.23393834], USD[0.00]

08002596                           USD[10.00]

08002597                           BAT[20.20153295], BRZ[91.52564583], CUSDT[10], DOGE[158.83418248], ETH[.01186806], ETHW[.01171758], GRT[16.81097709], KSHIB[552.44789388], LINK[1.05242034], MATIC[5.51545738],          Yes
                                   SHIB[1750713.97468673], SUSHI[1.8937249], TRX[4], UNI[2.13454173], USD[130.19]
08002598                           DOGE[647.91889824], SHIB[11.90006582], USD[0.15]                                                                                                                                         Yes

08002600                           CUSDT[1], SOL[2.50378919], USD[0.00]

08002603                           CUSDT[1], SHIB[240115.20523564], USD[0.00]                                                                                                                                               Yes

08002610                           CUSDT[3], SHIB[1449946.01264846], USD[0.32]

08002611                           DOGE[1], SHIB[35621471.49676159], USD[0.00]                                                                                                                                              Yes

08002612                           CUSDT[7], DOGE[.0009436], KSHIB[134.13440186], USD[0.00]                                                                                                                                 Yes

08002622                           AAVE[.03421953], BAT[13.70889167], BCH[.01865766], BRZ[30.49398379], BTC[.00016064], CUSDT[10], DAI[11.07660722], DOGE[39.17713429], ETH[.00245391], ETHW[.00242655],                    Yes
                                   GRT[11.51146859], KSHIB[134.16670535], LINK[.35124313], LTC[.05560244], MATIC[5.48354356], MKR[.00451666], PAXG[.00147418], SHIB[2077445.73234673], SOL[.05423103],
                                   SUSHI[.97325671], TRX[1], UNI[.43866674], USD[0.00], USDT[11.07549981], YFI[.00029254]
08002623                           BAT[6.68273743], CUSDT[1], TRX[161.3588808], USD[0.00]                                                                                                                                   Yes

08002624                           BTC[.00008036], USD[0.00]                                                                                                                                                                Yes

08002635                           USD[10.77]                                                                                                                                                                               Yes

08002636                           CUSDT[1], SHIB[669523.29941081], USD[0.00]

08002639                           AUD[0.00], BRZ[.91210622], CUSDT[.00002611], DAI[.00007634], DOGE[79.98328101], GBP[0.46], GRT[.0000289], KSHIB[351.75225385], LINK[1.18487733], MATIC[7.13994258],                      Yes
                                   SHIB[650722.76052596], TRX[.54448044], USD[0.08]
08002642                           CUSDT[2], TRX[1], USD[0.00]

08002644                           ETH[.78529597], ETHW[.78496615], SHIB[1], USD[0.00]                                                                                                                                      Yes

08002650                           BRZ[1], CUSDT[3], DOGE[2641.99791849], ETH[1.07865244], ETHW[1.07819934], LTC[22.43299066], USD[4.16]                                                                                    Yes

08002657                           USD[0.00]

08002671                           USD[0.00]

08002672                           CUSDT[5], USD[0.00]

08002678                           USD[50.01]                                                                                                                                                                               Yes

08002679                           SHIB[1], SOL[0], USD[0.01]                                                                                                                                                               Yes

08002680                           USD[0.01]                                                                                                                                                                                Yes

08002684                           CUSDT[4], TRX[2], USD[0.01]                                                                                                                                                              Yes

08002685                           SHIB[68957.05815057], USD[0.00]                                                                                                                                                          Yes

08002692                           CUSDT[2], SHIB[6087917.57195248], TRX[1], USD[0.00]

08002693                           BTC[0.00005448], SOL[0]

08002698                           BAT[1], CUSDT[4], SHIB[2070457.35475896], USD[0.65]

08002700                           BAT[0], BTC[0], DOGE[0], GBP[0.00], GRT[0], MATIC[0], SHIB[9642.72129900], SOL[0], TRX[0], USD[0.00]

08002701                           BAT[117.06674891], BRZ[1], CUSDT[13], DOGE[5.00000222], SHIB[1], TRX[1], USD[0.00], USDT[0]                                                                                              Yes

08002706                           BAT[43.49259082], CUSDT[1102.28822884], DAI[27.00993556], KSHIB[266.00590799], TRX[531.52502287], USD[0.00]                                                                              Yes

08002713                           SHIB[24588.551168], TRX[.000001], USD[0.98]

08002717                           BAT[4.48397321], CUSDT[4], DOGE[1], GRT[15.76844741], SHIB[660589.24560708], TRX[278.7416043], USD[0.69]

08002731                           DOGE[1], USD[0.71]                                                                                                                                                                       Yes

08002738                           USD[0.07]

08002750                           USD[1.77]

08002752                           ETH[.00582909], ETHW[.00576069], SHIB[2903338.17834952], USD[0.00]                                                                                                                       Yes

08002753                           SHIB[67312.87022078], USD[5.00]

08002761                           SHIB[455195.73416569], SOL[.15232257], USD[10.00]
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                                                                                                                                          Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08002768                           BTC[.01136364]

08002769                           CUSDT[3], SHIB[3602813.52920875], TRX[1], USD[0.15]                                                                                                                                     Yes

08002772                           CUSDT[5], DOGE[1], USD[0.00]                                                                                                                                                            Yes

08002780                           BTC[.01136364]

08002781                           USD[0.01]

08002784                           USD[20.00]

08002785                           BTC[.00038594], ETH[.00317859], ETHW[.00313755], SHIB[618093.17817328], TRX[1], USD[6.13], USDT[6.05924213]                                                                             Yes

08002788                           BRZ[1], CUSDT[2450.58795767], KSHIB[3957.62256905], NFT (299918129223388651/Lil Jakey)[1], NFT (315595997312768033/Lil Jakey #2)[1], NFT (315771567880917589/Tim Brown's Playbook:       Yes
                                   Kansas City Chiefs vs. Oakland Raiders - December 9, 2001 #52)[1], NFT (318619653664098201/Abstract Wolf)[1], NFT (336983399086623183/DOTB #8159)[1], NFT (364425724434465923/Snug as a
                                   bug #2)[1], NFT (371908408197979295/Baby pugger)[1], NFT (394009033123330214/Fancy Frenchies #3852)[1], NFT (412017055681812710/Tim Brown's Playbook: San Diego Chargers vs. Los
                                   Angeles Raiders - September 4, 1988 #67)[1], NFT (427906951732871139/Fancy Frenchies #5777)[1], NFT (485345945379308992/Tim Brown's Playbook: Michigan State vs. Notre Dame - September
                                   19, 1987 #72)[1], NFT (507181782996568100/Marcus Allen's Playbook: Los Angeles Raiders vs. Washington - January 22, 1984 #88)[1], NFT (510321674847321967/Tim Brown's Playbook: New York
                                   Jets vs. Oakland Raiders - December 2, 2002 #69)[1], NFT (531908421638407041/MLB )[1], NFT (555125031839934334/Fancy Frenchies #3720)[1], SHIB[11730727.86011343], SOL[.72948133],
                                   TRX[2], USD[15.55]
08002792                           BTC[.00150436], SHIB[2], USD[0.00]                                                                                                                                                       Yes

08002796                           CUSDT[2], USD[0.19]                                                                                                                                                                     Yes

08002797                           USD[50.01]

08002799                           AVAX[.00005369], BRZ[2], CUSDT[3], DOGE[3], ETH[0.15113904], ETHW[0.15033753], NFT (358827134585617743/#2536)[1], NFT (418216655452603403/#1182)[1], SHIB[1], SOL[.00000001],           Yes
                                   SUSHI[202.65152343], TRX[3], USD[0.00], USDT[1.06368921]
08002802                           BTC[0.00040158], USD[0.44]

08002806                           USD[0.00]

08002811                           CUSDT[3], DOGE[1], TRX[1], USD[23.51]                                                                                                                                                   Yes

08002812                           BTC[.00180483], CUSDT[3], DOGE[2], SHIB[16432614.93802498], TRX[1], USD[0.02]                                                                                                           Yes

08002814                           CUSDT[1], SOL[.1358238], USD[0.00]                                                                                                                                                      Yes

08002815                           BRZ[2], BTC[.03992778], CUSDT[1], DOGE[3], NFT (386731828419400933/Australia Ticket Stub #1867)[1], TRX[1], USD[0.00]                                                                   Yes

08002817                           CUSDT[1], TRX[108.04112791], USD[0.00]

08002825                           AVAX[.00018692], BCH[.00003285], BRZ[2], BTC[.00000132], DOGE[5], ETH[.0002055], ETHW[.0002055], GRT[1], MATIC[.0048248], SHIB[4], SOL[.0002635], TRX[7], USD[0.01], USDT[0]            Yes

08002834                           DOGE[1], NFT (302858573812559467/Imola Ticket Stub #1806)[1], SHIB[3], TRX[2], USD[14.89]

08002835                           CUSDT[1], DOGE[1], USD[0.54]

08002837                           BTC[.00089418], SHIB[1], TRX[2], USD[0.00]                                                                                                                                              Yes

08002845                           DOGE[0], USD[0.00]

08002848                           CUSDT[1], SHIB[415928.68596705], USD[0.00]                                                                                                                                              Yes

08002856                           BTC[.00044918], CUSDT[1], DOGE[1], SHIB[23891013.47512998], TRX[1], USD[0.00]                                                                                                           Yes

08002858                           BF_POINT[300]

08002859                           USD[0.00]

08002860                           BTC[.00305188], CUSDT[1], SHIB[2], USD[50.60]                                                                                                                                           Yes

08002863                           USD[21.72]                                                                                                                                                                              Yes

08002866                           DOGE[0], ETH[.00000001]

08002871                           USD[0.14]

08002873                           BTC[.00010697], MATIC[.70695855], USD[0.00], USDT[0.09004032]

08002887                           BRZ[3], CUSDT[1], DOGE[1], SHIB[36026043.65589251], TRX[87.47719205], USD[0.00]                                                                                                         Yes

08002889                           BRZ[1], BTC[.00571382], CUSDT[990.55688205], DOGE[807.04940423], ETH[.16819549], ETHW[.16787193], KSHIB[8161.27268755], SHIB[3326353.56606752], SOL[.04870665], TRX[2], USD[0.04]       Yes

08002892                           BRZ[1], BTC[.00255709], CUSDT[10], ETH[.16550159], ETHW[.16511805], GRT[111.92966973], LINK[8.53320021], SHIB[2], SOL[.27413084], TRX[1], USD[0.63]                                     Yes

08002896                           USD[0.00]                                                                                                                                                                               Yes

08002898                           SOL[.13537435], USD[0.00]

08002911                           CUSDT[1], SHIB[1312508.20317626], USD[0.00]

08002912                           CUSDT[2], USD[0.01]                                                                                                                                                                     Yes

08002914                           BRZ[1], SHIB[747066.24037857], USD[0.00]                                                                                                                                                Yes

08002915                           NFT (545730223608190606/David #756)[1]

08002917                           ETH[.00000022], ETHW[.00000022]                                                                                                                                                         Yes

08002928                           CUSDT[1], USD[0.00]                                                                                                                                                                     Yes

08002931                           USD[5.42]                                                                                                                                                                               Yes

08002932                           BTC[.00045991], CUSDT[4], DOGE[49.34214619], TRX[1], USD[0.00]                                                                                                                          Yes

08002936                           BTC[.0014178], CUSDT[2], DOGE[2], ETH[.00469619], ETHW[.00464147], KSHIB[135.98376571], SOL[.11797398], USD[0.00]                                                                       Yes

08002942                           SHIB[2557980.90040927], TRX[1], USD[350.00]

08002945                           BRZ[2], BTC[.04553609], CUSDT[1], DOGE[3], ETH[.32470384], ETHW[.32453796], SHIB[4], SOL[1.07274324], TRX[2], USD[0.00]                                                                 Yes

08002946                           DOGE[2], USD[0.01]                                                                                                                                                                      Yes

08002951                           DOGE[1], SHIB[1], USD[0.00]                                                                                                                                                             Yes

08002954                           SOL[.05456308], USD[0.00]                                                                                                                                                               Yes

08002956                           BRZ[1], BTC[0], CUSDT[3], EUR[0.02], USD[0.10]

08002960                           BTC[.02112166], DOGE[1], USD[0.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08002965                              USD[0.00]

08002968                              BTC[.00163045], CUSDT[1], USD[0.00]

08002973                              SOL[.0186]

08002975                              CUSDT[1], DOGE[2], NFT (403500124633096709/3D CATPUNK #5979)[1], SHIB[8084788.14459762], SOL[.11065745], USD[0.00]                                                                        Yes

08002977                              BRZ[1], SHIB[7139275.14394962], USD[0.01]                                                                                                                                                 Yes

08002980                              BAT[1.00984721], BRZ[2], DOGE[1], ETH[.00000001], ETHW[0], SHIB[1], TRX[1], USD[0.00]                                                                                                     Yes

08002984                              BTC[.00007213], DOGE[.5709061], SHIB[1], USD[2.53]                                                                                                                                        Yes

08002989                              USD[0.00]                                                                                                                                                                                 Yes

08002996       Contingent, Disputed   BTC[0.00000022], SOL[0], USD[0.00]

08003000                              USD[10.50]

08003008                              BTC[.00160224], USD[3.61]

08003012                              CUSDT[2], ETH[.15032469], USD[10.81]                                                                                                                                                      Yes

08003013                              USD[27.15]                                                                                                                                                                                Yes

08003015                              USD[584.59]                                                                                                                                                                               Yes

08003022                              CUSDT[3], USD[0.01]

08003028                              DAI[.06403821], DOGE[399.63221818], KSHIB[2756.62983257], SHIB[18519968.51246168], TRX[501.00362875], USD[108.46]                                                                         Yes

08003030                              AAVE[0], AUD[0.00], AVAX[0], BAT[0], BCH[0], BRZ[0], BTC[0.00000002], CUSDT[0], DAI[0], DOGE[0], ETH[0], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], MKR[0], PAXG[0.00000001],           Yes
                                      SHIB[33099.41728358], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00], USDT[0], YFI[0]
08003031                              CUSDT[1], SHIB[389914.21887184], USD[0.00]

08003038                              DOGE[1], NEAR[.00009311], SHIB[5], TRX[.00114559], USD[0.00]                                                                                                                              Yes

08003039                              DOGE[1], KSHIB[1156.80433608], SOL[.09840901], USD[0.00]                                                                                                                                  Yes

08003042                              SHIB[51.01053241], TRX[.00372366], USD[0.01]                                                                                                                                              Yes

08003046                              BCH[.00189164], BTC[.00038644], CUSDT[3], KSHIB[410.16936268], USD[0.00]                                                                                                                  Yes

08003049                              LTC[.0067], SHIB[91700], SOL[3.67632], USD[4.39]

08003050                              BTC[.00176155], CUSDT[1], USD[0.00]                                                                                                                                                       Yes

08003052                              CUSDT[1], SUSHI[4.36818062], USD[0.00]                                                                                                                                                    Yes

08003056                              BTC[0.00267092], DOGE[220.28974442], USDT[122.75196773]

08003060                              AAVE[.76546898], BAT[91.74629445], BCH[.24650416], BRZ[613.6712272], BTC[.13854096], CUSDT[25], DAI[53.29165823], DOGE[3], ETH[.56750351], ETHW[.56726523], GRT[536.36934785],            Yes
                                      KSHIB[95.95826966], LINK[23.43766234], LTC[1.42528287], MATIC[108.95638107], MKR[.04379459], PAXG[.05824974], SHIB[664804.8488595], SOL[1.74271328], SUSHI[19.89170746],
                                      TRX[2641.69323639], UNI[7.23705537], USD[2087.10], USDT[29.89172679]
08003064                              BTC[.00373176], CUSDT[4], DOGE[899.00711431], USD[0.00]

08003075                              AAVE[.06840034], BAT[11.95853019], BCH[.02738157], BRZ[1], BTC[.00078327], CUSDT[32], DOGE[110.50648645], ETH[.0035977], ETHW[.00355666], GRT[10.90321722], KSHIB[1416.76997721],         Yes
                                      LINK[.46291445], LTC[.3012249], MATIC[7.15268305], SHIB[2947234.40734583], SOL[.16638343], SUSHI[2.29100585], TRX[553.26517377], UNI[.53669747], USD[0.00], YFI[.00064591]

08003078                              CUSDT[1], SHIB[6429232.31477494], TRX[1], USD[0.00]

08003079                              ALGO[.00297524], BAT[2], BRZ[4], BTC[0.00472661], CUSDT[0], DOGE[94.42532356], ETHW[.89452039], GRT[1], LINK[16.14012289], MATIC[173.36977504], SHIB[1], TRX[11], USD[31.67]              Yes

08003083                              BTC[.00157897], DOGE[2], UNI[6.1817293], USD[0.00]

08003086                              CUSDT[1], TRX[1], USD[0.01]

08003096                              BTC[.00035474], DOGE[1], SHIB[168321.83134152], SOL[.04193382], USD[0.00]

08003098                              USD[0.00]                                                                                                                                                                                 Yes

08003100                              CUSDT[4], DOGE[.00962072], LTC[0], USD[0.00]                                                                                                                                              Yes

08003104                              CUSDT[1], TRX[1065.46885849], USD[108.62]                                                                                                                                                 Yes

08003106                              BRZ[1], BTC[.00000015], CUSDT[2], GRT[2.0275671], SOL[0], TRX[5], USD[0.00]                                                                                                               Yes

08003107                              BTC[.00219417], CUSDT[2], DOGE[942.69757428], KSHIB[1620.69006649], USD[0.17]                                                                                                             Yes

08003124                              BRZ[1], CUSDT[4], DOGE[1], TRX[1], USD[0.00]

08003126                              CUSDT[247.56463579], DOGE[1], KSHIB[134.9447354], SHIB[289235.3385862], TRX[105.26695818], USD[0.00]                                                                                      Yes

08003130                              BTC[.00016364], ETH[.00247689], ETHW[.00244951], SHIB[152098.18644027], TRX[1], USD[21.72]                                                                                                Yes

08003131                              BF_POINT[100], CUSDT[15], ETH[.01659413], ETHW[.01659413], PAXG[.00684568], USD[0.00]

08003139                              BAT[1], DOGE[3], ETHW[.99607213], SHIB[1], TRX[1], USD[0.00]

08003147                              CUSDT[1], TRX[221.7053633], USD[0.00]                                                                                                                                                     Yes

08003154                              BTC[.0004517], USD[0.00]                                                                                                                                                                  Yes

08003156                              DOGE[2898.25850535], GRT[1], MATIC[772.56148214], SOL[10.24734655], SUSHI[56.17231383], TRX[5], USD[1100.52], USDT[2]

08003159                              CUSDT[1], SHIB[3935122.12919787], USD[0.00]                                                                                                                                               Yes

08003160                              AVAX[31.66342408], DOGE[3910.95302707], GRT[2789.14216808], MATIC[617.53012032], NEAR[123.23526666], NFT (320559776035152778/Tim Brown's Playbook: San Diego Chargers vs. Los              Yes
                                      Angeles Raiders - September 4, 1988 #61)[1], NFT (365376427049371283/Tim Brown's Playbook: Michigan State vs. Notre Dame - September 19, 1987 #65)[1], NFT (425866959718130954/Tim Brown's
                                      Playbook: Kansas City Chiefs vs. Oakland Raiders - December 9, 2001 #48)[1], NFT (474181724678464371/Tim Brown's Playbook: New York Jets vs. Oakland Raiders - December 2, 2002 #61)[1],
                                      SHIB[28549816.25210695], SOL[19.20414029], SUSHI[0], USD[0.01]
08003166                              DOGE[717.59074151], SHIB[6427949.69279915], SUSHI[107.91080856], TRX[1], USD[0.00]                                                                                                         Yes

08003174                              CUSDT[1], SHIB[736593.98939304], TRX[1], USD[100.00], USDT[49.72533663]

08003175                              TRX[4623.94604818], USD[0.00]

08003176                              DOGE[1], TRX[3041.10348937], USD[0.00]                                                                                                                                                    Yes

08003178                              CUSDT[7], ETHW[.01152355], GRT[37.76865476], KSHIB[1087.87437114], NFT (567262748012186349/Earl Campbell's Playbook: Texas vs. Houston - November 5th, 1977 #111)[1], SOL[.20467011],
                                      USD[83.37]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08003179                           BAT[1], SOL[20.54857722], USD[0.00]                                                                                                                                               Yes

08003180                           USD[0.00], USDT[0.00004980]

08003182                           CUSDT[2], SHIB[3848085.4719624], USD[0.00]                                                                                                                                        Yes

08003189                           CUSDT[2], NFT (334532261573504158/Doak Walker's Playbook: Texas vs. SMU - November 1, 1947 #64)[1], SHIB[840594.60527746], USD[5.55]                                              Yes

08003196                           BRZ[1], BTC[.00489633], DOGE[1], SHIB[15033362.67078259], TRX[2], USD[0.00]

08003211                           CUSDT[2], SHIB[398026.36370914], USD[3.84]                                                                                                                                        Yes

08003219                           CUSDT[1], SOL[1.10074677], USD[0.00]                                                                                                                                              Yes

08003222                           BAT[1], BRZ[1], CUSDT[2], DOGE[1], USD[0.01]

08003225                           BRZ[1], CUSDT[8], DOGE[3], SHIB[106703262.10735088], TRX[6], USD[0.44]                                                                                                            Yes

08003227                           LTC[1.02]

08003241                           CUSDT[543.90815039], DOGE[93.06230048], ETH[.00194209], ETHW[.00191473], SOL[.03732637], TRX[112.41126932], USD[1.66]                                                             Yes

08003242                           AAVE[.03445829], BAT[10.65687133], CUSDT[1], DOGE[1], GRT[10.33049447], KSHIB[151.13936409], LINK[.36207078], MATIC[5.711199], NFT (377173079720866145/FTX - Off The Grid Miami   Yes
                                   #2201)[1], SHIB[163002.95824216], SOL[.05421687], SUSHI[.99566777], TRX[106.74341113], UNI[.43277829], USD[1.79]
08003250                           CUSDT[1], SHIB[1411709.54042178], USD[0.00]                                                                                                                                       Yes

08003255                           CUSDT[1], SHIB[6947481.90098877], USD[0.00]                                                                                                                                       Yes

08003259                           SHIB[151553.82618986], USD[0.00]                                                                                                                                                  Yes

08003260                           CUSDT[1], SOL[.93540721], USD[269.61]                                                                                                                                             Yes

08003266                           CUSDT[1], SHIB[7044813.3370729], USD[0.00]                                                                                                                                        Yes

08003271                           SHIB[157725.13925768], USD[0.00]                                                                                                                                                  Yes

08003279                           TRX[1], USD[46.09]

08003281                           NFT (416727378790421946/Entrance Voucher #2319)[1], NFT (441427747866625977/FTX - Off The Grid Miami #825)[1]

08003283                           SHIB[2], USD[954.55]                                                                                                                                                              Yes

08003284                           CUSDT[1], SOL[.1040579], USD[0.00]

08003285                           CUSDT[4], DOGE[2], TRX[1], USD[0.01]                                                                                                                                              Yes

08003290                           CUSDT[1], DOGE[5945.60210655], TRX[1], USD[1081.66]                                                                                                                               Yes

08003293                           CUSDT[3], SHIB[1744412.9306222], TRX[1], USD[0.25]                                                                                                                                Yes

08003298                           BRZ[3], CUSDT[1], DOGE[1270.49590012], GRT[1.00019173], SHIB[2], TRX[1], USD[0.00]                                                                                                Yes

08003306                           ETHW[.02447608], SHIB[1], USD[159.58]                                                                                                                                             Yes

08003313                           CUSDT[1], SHIB[117235.55637204], USD[1.09]                                                                                                                                        Yes

08003320                           CUSDT[3], DOGE[1], GRT[75.53221132], TRX[1], USD[26.87]                                                                                                                           Yes

08003327                           CUSDT[1], SHIB[10828203.8943811], TRX[2578.9803612], USD[0.00]

08003336                           DOGE[694.31525403], SHIB[2087973.27394209], USD[0.00]

08003344                           BAT[302.6308888], CUSDT[1], DOGE[1], USD[107.20]

08003357                           BRZ[1], SHIB[7623067.11178394], USD[0.00]                                                                                                                                         Yes

08003361                           SHIB[685477.69497382], USD[151.44]                                                                                                                                                Yes

08003364                           SHIB[7393090.73624433], USD[0.26]

08003365                           AVAX[.81671722], BTC[.00046071], CUSDT[1], DOGE[1], SHIB[1], SOL[.00064095], USD[0.00]                                                                                            Yes

08003367                           SHIB[2], USD[0.05]

08003379                           BRZ[152.64626921], BTC[.00170007], CUSDT[6], DAI[27.00261178], DOGE[99.50944986], KSHIB[1379.78023136], LTC[.13992892], USD[0.02]                                                 Yes

08003381                           ETH[.00000008], ETHW[.00818187], SHIB[1], USD[8.99]                                                                                                                               Yes

08003382                           BTC[.00000003], CUSDT[3], LINK[5.46792539], NFT (396408740628771463/Australia Ticket Stub #2103)[1], TRX[1410.85994815], USD[0.00]                                                Yes

08003395                           CUSDT[3], DOGE[301.40272574], KSHIB[190.86274596], SHIB[1511489.92469137], SUSHI[1.10474167], TRX[1], USD[0.00]                                                                   Yes

08003400                           BTC[.0004081], CUSDT[1], ETH[.00130717], ETHW[.00129348], SHIB[213125.97734888], USD[0.05]                                                                                        Yes

08003405                           SHIB[1], USD[117.24]                                                                                                                                                              Yes

08003407                           ETH[0.03199740], ETHW[0.03199740], SOL[0.94814616], USD[0.27]

08003408                           USD[0.01]

08003409                           BRZ[2], CUSDT[11], DOGE[613.52388186], KSHIB[432.56202333], SHIB[10462878.20821874], TRX[1995.98228293], USD[0.06]                                                                Yes

08003430                           DOGE[205.56071406], USD[0.00]                                                                                                                                                     Yes

08003433                           CUSDT[2464.73791783], DOGE[1087.07470557], KSHIB[2083.29571827], USD[27.48]                                                                                                       Yes

08003442                           USD[20.00]

08003450                           BAT[0], CUSDT[0], GRT[0], SHIB[2993089.97123658], USD[0.00]                                                                                                                       Yes

08003452                           MATIC[0], USD[0.01], USDT[0]                                                                                                                                                      Yes

08003467                           BTC[.03824577], CUSDT[3], DOGE[1], ETH[.56692847], ETHW[.56669019], USD[0.00]                                                                                                     Yes

08003470                           USD[10.00]

08003473                           ETHW[.02379226], SHIB[1], USD[30.66]                                                                                                                                              Yes

08003475                           SHIB[.00852693], USD[0.15]                                                                                                                                                        Yes

08003478                           AAVE[0], AUD[0.00], BAT[0], BCH[0], BRZ[0], BTC[0], CAD[0.00], CUSDT[2], DAI[0], DOGE[0], ETH[0.00000002], ETHW[0.00000002], GRT[0.00011561], KSHIB[0], LINK[0], LTC[0],          Yes
                                   MATIC[0.00009498], MKR[0], PAXG[0], SHIB[0], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00], USDT[0], YFI[0]
08003479                           CUSDT[4], SHIB[1400966.49090783], SUSHI[2.52656246], USD[0.00]                                                                                                                    Yes

08003482                           ETH[.00004555], ETHW[.00004555], USD[0.00], USDT[0]
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                                                                                                                                         Customer Claims                                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08003488                           BF_POINT[400], SHIB[967243.51436526], USD[0.00]                                                                                                                                Yes

08003490                           CUSDT[1], USD[0.00]                                                                                                                                                            Yes

08003495                           BTC[0.00002282], SHIB[89100], USD[21.36]

08003498                           CUSDT[2], SHIB[6137300.11732273], USD[0.31]                                                                                                                                    Yes

08003500                           USD[1.56]

08003501                           BAT[44.66598065], BTC[.00087707], CUSDT[4], ETH[.06426874], ETHW[.06347172], LTC[.40984036], USD[0.00]                                                                         Yes

08003504                           BAT[1.0165555], SOL[2.44772431], USD[488.77]                                                                                                                                   Yes

08003514                           BRZ[1], KSHIB[147.41794784], USD[1.00]

08003516                           CUSDT[2], DOGE[1], SHIB[9647869.86464573], USD[52.54]                                                                                                                          Yes

08003527                           CUSDT[1], DOGE[1], TRX[1], USD[0.00]

08003528                           CUSDT[1], SHIB[644080.8965606], USD[0.00]

08003530                           ETH[0], SOL[0]

08003534                           CUSDT[1], ETH[.00500466], ETHW[.00493626], USD[0.00]                                                                                                                           Yes

08003535                           CUSDT[1], SHIB[1134074.02885573], USD[0.00]                                                                                                                                    Yes

08003543                           CUSDT[1], SOL[.1044459], USD[1.09]                                                                                                                                             Yes

08003548                           CUSDT[1], SHIB[1424845.07560844], USD[0.00]                                                                                                                                    Yes

08003552                           DOGE[1], SHIB[1669104.97970843], USD[0.00]                                                                                                                                     Yes

08003557                           USD[1.93]

08003559                           CUSDT[495.13831637], DOGE[152.97012042], KSHIB[135.02764218], SHIB[437931.5974845], TRX[104.48395819], USD[0.00]                                                               Yes

08003560                           BTC[.0015247], CUSDT[7], ETH[.02169842], ETHW[.02142482], SHIB[2631803.83060508], SOL[.17945671], TRX[395.05949083], USD[0.00]                                                 Yes

08003562                           ETH[.12397626], ETHW[.12280896], TRX[1], USD[0.00]                                                                                                                             Yes

08003566                           SOL[0]

08003575                           BTC[0], CUSDT[8], DOGE[3], KSHIB[.00037426], MATIC[1.15649299], SOL[0.52140477], TRX[8.47521267], USD[0.00]                                                                    Yes

08003578                           USD[0.04]                                                                                                                                                                      Yes

08003588                           USD[20.00]

08003606                           BRZ[1], KSHIB[6529.26055471], USD[0.00]                                                                                                                                        Yes

08003608                           CUSDT[2], USD[0.00]                                                                                                                                                            Yes

08003616                           CUSDT[3], NFT (316033398032957090/PeeKing Punkz #609)[1], NFT (320981696779737505/PeeKing Punkz #607)[1], NFT (332307703103809807/PeeKing Punkz #608)[1], NFT                  Yes
                                   (337815189928113716/PeeKing Punkz #606)[1], NFT (412029210781497118/Sloth #0360)[1], NFT (516867160076484967/Arluene The Vicarious Vegetable)[1], SOL[0.25526275], USD[0.00]
08003617                           BTC[.0008923], CUSDT[7], DOGE[153.10122144], ETH[.00592084], ETHW[.00585244], KSHIB[407.45826053], SHIB[205319.33569208], SOL[.08881548], SUSHI[3.55445831], USD[0.00]         Yes

08003630                           CUSDT[5], USD[0.01]                                                                                                                                                            Yes

08003633                           SHIB[48971000], USD[3366.36]

08003637                           BCH[.00080684], USD[22.35]

08003644                           LINK[0.49755957], SHIB[240629.48259844], SOL[.008778], TRX[1], USD[0.00]

08003646                           BTC[.00033675], CUSDT[9], DOGE[1], ETH[.00598745], ETHW[.00598745], EUR[4.39], GRT[30.68600654], MATIC[15.23787109], SHIB[134524.07867962], TRX[96.20576951], USD[0.20]

08003648                           USD[0.00]

08003653                           BTC[.00014665], ETH[.00000001], USD[0.00]                                                                                                                                      Yes

08003656                           BTC[.00367445], CUSDT[3], DAI[53.56283661], LINK[2.13882272], TRX[403.58089153], USD[0.00]                                                                                     Yes

08003658                           BTC[.00044483], CUSDT[1], NFT (411996082813082633/FTX - Off The Grid Miami #2611)[1], SHIB[1], USD[0.00]

08003664                           CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                   Yes

08003666                           CUSDT[1], KSHIB[0], TRX[2], USD[0.00]                                                                                                                                          Yes

08003667                           BF_POINT[100], CUSDT[1], USD[0.02]                                                                                                                                             Yes

08003685                           BTC[0.40823879], ETH[1.998], ETHW[1.998], SOL[13.66], USDT[1487.129382]

08003686                           AVAX[.0918], BTC[.00003052], ETH[.000499], ETHW[.000499], LINK[.07], MATIC[9.4], SOL[.00099], USD[0.00]

08003688                           BAT[117.27154892], BRZ[4], CUSDT[2], DOGE[228.81711772], GRT[338.27394336], MATIC[.0002699], NEAR[.00175086], NFT (422448675106468672/FTX Crypto Cup 2022 Key #549)[1],        Yes
                                   SHIB[5115699.60260626], SOL[1.00050239], SUSHI[.00013691], TRX[3], USD[65.37]
08003692                           USD[100.00]

08003701                           USD[1.08]

08003702                           USD[10.00]

08003712                           BTC[.00900389], CUSDT[2], DOGE[1], ETH[.02116905], ETHW[.02116905], USD[5.00], USDT[1]

08003721                           CUSDT[1], SHIB[1441663.76687426], USD[0.00]                                                                                                                                    Yes

08003734                           SHIB[1526510.18882086]                                                                                                                                                         Yes

08003737                           BTC[0], DOGE[1.01557077], ETH[0], SOL[0], USD[0.00]                                                                                                                            Yes

08003738                           BTC[.00159446], CUSDT[1], USD[0.00]                                                                                                                                            Yes

08003744                           BAT[537.96536213], BRZ[0], CUSDT[0], TRX[0], USD[0.13]                                                                                                                         Yes

08003749                           MATIC[39.13321065], SHIB[408563.49076646], TRX[2], USD[0.00]

08003760                           AAVE[.03326248], BAT[10.6011728], BTC[.00089774], CUSDT[8], DOGE[46.29500882], ETH[.00491661], ETHW[.00486189], MATIC[6.40343997], MKR[.00500318], SHIB[172820.64558974],      Yes
                                   SOL[.22509732], SUSHI[1.08809769], TRX[1], UNI[.48405529], USD[0.00]
08003765                           USD[5.00]

08003767                           BAT[133.8762161], CUSDT[18], DOGE[339.75670133], KSHIB[9423.39187959], MATIC[111.05571415], SHIB[6899077.17853923], TRX[1], USD[0.00]                                          Yes
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                                                                                                                                         Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08003769                           USD[21.51]                                                                                                                                                                          Yes

08003777                           CUSDT[1], SHIB[15793619.16625716], TRX[1], USD[0.00]

08003779                           CUSDT[2], KSHIB[1315.08538389], SHIB[1422233.07730342], TRX[1052.84128359], USD[0.02]                                                                                               Yes

08003784                           BTC[.00004425], KSHIB[53.29016119], SHIB[56471.51305621], USD[0.00]                                                                                                                 Yes

08003789                           CUSDT[1], DOGE[1], SHIB[1528405.76078853], USD[0.00]                                                                                                                                Yes

08003794                           BTC[.00000008], USD[0.00]                                                                                                                                                           Yes

08003800                           LTC[.00000335], SOL[0.00000558], USD[0.00]                                                                                                                                          Yes

08003805                           USD[2.84]

08003813                           SHIB[796860.16648015], TRX[1], USD[0.01]                                                                                                                                            Yes

08003820                           BRZ[1], BTC[.00199457], CUSDT[3], DOGE[1], ETH[.04110211], ETHW[.04059454], SHIB[4031192.61830801], USD[56.48]                                                                      Yes

08003828                           BTC[.00594917], CUSDT[3], DOGE[157.36829576], ETH[.00119063], ETHW[.00117695], KSHIB[151.78875043], LINK[.17721436], LTC[.02797603], MATIC[2.75768962], SHIB[164643.19738737],      Yes
                                   TRX[2], USD[0.00], USDT[5.40258413]
08003830                           LINK[.98384856], SHIB[1], USD[0.00]                                                                                                                                                 Yes

08003834                           CUSDT[4], DOGE[532.26221739], KSHIB[.57340178], SHIB[1748751.21319006], TRX[1], USD[0.01]                                                                                           Yes

08003836                           BTC[.0062937], ETH[.206793], ETHW[.206793], SHIB[3496500], USD[5.15]

08003839                           SOL[2.51026874], USD[0.01]

08003840                           BTC[0], CUSDT[1], ETH[.00000001], SHIB[2], TRX[1], USD[0.00]                                                                                                                        Yes

08003841                           CUSDT[33], SHIB[13938877.29753971], TRX[1], USD[0.00]                                                                                                                               Yes

08003853                           BTC[.00081837], CUSDT[228.87363592], DOGE[73.52424073], SHIB[352013.51731906], USD[0.04]

08003855                           CUSDT[8], DOGE[2], TRX[2], USD[0.01]                                                                                                                                                Yes

08003867                           BTC[.00068055], DOGE[1], ETH[.00249016], ETHW[.00246278], USD[0.00]                                                                                                                 Yes

08003869                           USD[500.00]

08003872                           USD[0.01]                                                                                                                                                                           Yes

08003881                           CUSDT[1], SHIB[71319.46922634], USD[0.00]

08003894                           CUSDT[1], DOGE[1], LINK[18.08102113], SHIB[7862190.46476563], USD[0.01]                                                                                                             Yes

08003901                           BTC[0.00001520], ETH[.00587003], ETHW[.00580163], SOL[0.00000002], TRX[234.93128327], USD[0.00]                                                                                     Yes

08003905                           CUSDT[1], SOL[10.43721652], TRX[1], USD[0.00]                                                                                                                                       Yes

08003909                           SOL[7.36263], USD[0.01]

08003915                           BTC[.00000005], SHIB[10], USD[0.01], USDT[0]                                                                                                                                        Yes

08003918                           DOGE[1], ETH[.12374615], ETHW[.12257753], USD[0.01]                                                                                                                                 Yes

08003931                           BF_POINT[200]                                                                                                                                                                       Yes

08003932                           BTC[.0009708], DOGE[14579.58713615], ETH[.12945583], ETHW[0.12837621]                                                                                                               Yes

08003944                           USD[2.00]

08003945                           USD[20.00]

08003963                           CUSDT[1], TRX[1054.52712207], USD[0.00]                                                                                                                                             Yes

08003965                           CUSDT[1], SHIB[708888.78810646], USD[0.00]                                                                                                                                          Yes

08003969                           CUSDT[3], DOGE[103.36556202], SHIB[1155510.55789572], USD[0.00]

08003981                           BTC[0.00001384], SOL[.00001068], USD[0.30]

08003983                           BTC[.00001649], DOGE[3.78688648], KSHIB[26.5822031], SHIB[13902.40511608], USD[5.70]                                                                                                Yes

08004000                           USD[0.00]                                                                                                                                                                           Yes

08004004                           USD[0.13]

08004005                           CUSDT[1], SHIB[284931.63725845], USD[0.00]                                                                                                                                          Yes

08004015                           CUSDT[2], SHIB[612660.61476876], USD[0.00]                                                                                                                                          Yes

08004023                           BTC[.00161484], CUSDT[1], DOGE[1], SHIB[692520.77562326], USD[0.00]

08004027                           SHIB[2], USD[24.57]

08004033                           BTC[.00281171], CUSDT[6], DOGE[2.31322466], USD[0.00]                                                                                                                               Yes

08004034                           CUSDT[1], USD[0.01]                                                                                                                                                                 Yes

08004038                           ETH[.03], ETHW[.03]

08004039                           BTC[.0000022], ETH[.000609], ETHW[.000609], USD[0.11]

08004040                           DOGE[1], USD[0.00]                                                                                                                                                                  Yes

08004042                           KSHIB[.89318605], NFT (345211714996036337/#1387)[1], NFT (359848829689115589/ApexDucks #5189)[1], NFT (394005407081096699/Astral Apes #196)[1], NFT (525599639723153316/ApexDucks   Yes
                                   #3711)[1], SHIB[3], SOL[.00000107], TRX[6.46315641], USD[0.23]
08004047                           DOGE[0], USD[0.01]

08004063                           BRZ[1], CUSDT[2], DOGE[1], ETH[.0000054], ETHW[.0000054], GRT[1.00019173], SHIB[415.6714895], SOL[.0001969], USD[0.42]                                                              Yes

08004064                           BTC[.00368192], CUSDT[4], DOGE[1], ETH[.0224193], ETHW[.0224193], SHIB[2238638.90754421], SOL[.4256426], USD[110.54]

08004066                           NFT (469743304320060925/Humpty Dumpty #403)[1]                                                                                                                                      Yes

08004069                           USD[20.00]

08004075                           BRZ[1], CUSDT[1], USD[30.19]                                                                                                                                                        Yes

08004090                           USD[20.00]

08004102                           SHIB[132170.23526301], USD[0.00]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08004104                           DOGE[163.45585998], SHIB[2900995.100843], TRX[1], USD[0.00], USDT[0]                                                                                                         Yes

08004118                           CUSDT[1], SHIB[729155.13021195], USD[10.86]                                                                                                                                  Yes

08004119                           USD[21.72]                                                                                                                                                                   Yes

08004127                           CUSDT[23], DOGE[1102.74581047], GRT[119.74424461], SHIB[9872238.58850373], SOL[.93051986], SUSHI[30.80458465], TRX[5], USD[0.00]

08004129                           BRZ[1], CUSDT[1], SHIB[554748.81362799], USD[0.00]

08004135                           SOL[.055]

08004146                           ETH[.00160825], ETHW[.00160825], USD[0.00]

08004155                           CUSDT[1], ETH[.02128073], ETHW[.02102081], NFT (312587943233947131/#1649)[1], NFT (327649689791769498/Cool Bean #549)[1], NFT (399269376876229723/Cool Bean #2769)[1], NFT   Yes
                                   (560148672021650713/#2841)[1], SOL[1.31601422], TRX[2], USD[0.00]
08004160                           USD[0.01]                                                                                                                                                                    Yes

08004161                           BTC[.00788152], DOGE[1], USD[0.10]                                                                                                                                           Yes

08004170                           USD[20.00]

08004174                           ETH[.00762525], ETHW[.00752949], NFT (304773939853875834/Rainbow #177)[1], SHIB[54067911.64907441], SOL[9.12983504], USD[0.00], USDT[0.00000001]                             Yes

08004175                           USD[20.00]

08004183                           DOGE[1], SOL[2.07793375], USD[0.00]

08004190                           SHIB[47985692.40506329], USD[590.39]

08004192                           TRX[3027], USD[0.03]

08004198                           NFT (545634811418223577/Coachella x FTX Weekend 2 #15701)[1]

08004203                           KSHIB[26.4848359], SHIB[26753.03359144], USD[5.43]                                                                                                                           Yes

08004212                           CUSDT[1], GRT[129.85861076], SHIB[1], USD[0.15]                                                                                                                              Yes

08004216                           CUSDT[2], SHIB[2044295.25801638], USD[0.00]                                                                                                                                  Yes

08004222                           USD[0.00]

08004229                           BRZ[1], CUSDT[1], DOGE[1], SOL[.20718497], USD[91.16]                                                                                                                        Yes

08004233                           USD[1046.71]                                                                                                                                                                 Yes

08004248                           BAT[1.11943426], SHIB[1], SUSHI[.23239278], USD[0.00]                                                                                                                        Yes

08004251                           BTC[.00873872], DOGE[1], USD[0.00]                                                                                                                                           Yes

08004252                           SOL[.00012869], USD[0.00]

08004256                           ALGO[611.73708986], BRZ[1], BTC[.02144009], CUSDT[2], DOGE[119.4576187], ETH[1.31066344], ETHW[1.2332828], LINK[5.61040209], MATIC[390.4464079], NEAR[9.85582003], NFT       Yes
                                   (501705718500806404/Shaq's Fun House Commemorative Ticket #117)[1], SHIB[1628631.10286607], SOL[3.94208266], TRX[6], USD[0.00], USDT[1.02543197]
08004263                           BTC[0], ETH[0], NEAR[11.19646723], SHIB[5], SOL[0], TRX[1], USD[4673.43]                                                                                                     Yes

08004275                           SOL[.00000001], TRX[.500001], USDT[.4119477]

08004284                           CUSDT[3], ETH[.00368338], ETHW[.00364234], GRT[22.20078501], SHIB[69275.38003699], SUSHI[.05881647], USD[0.00]                                                               Yes

08004292                           ETH[0.03837394], SHIB[17], USD[0.00]                                                                                                                                         Yes

08004299                           CUSDT[1], DOGE[209.3009405], SOL[.00058997], USD[0.00]                                                                                                                       Yes

08004301                           SHIB[1439752.75976018], TRX[1], USD[0.00]                                                                                                                                    Yes

08004306                           CUSDT[1], USD[13.61]

08004316                           BTC[.00032275], CUSDT[1], USD[0.00]

08004320                           SHIB[2528910.09478879], USD[0.00]                                                                                                                                            Yes

08004322                           CUSDT[1], ETH[.00489003], ETHW[.00483531], SUSHI[1.041814], USD[0.02]                                                                                                        Yes

08004326                           BAT[1], BRZ[2], CUSDT[3], DOGE[954.63737412], ETHW[1.43523036], GRT[1.00155612], SHIB[1], TRX[5], USD[0.00]                                                                  Yes

08004330                           USD[0.01], USDT[0.00180000]

08004332                           CUSDT[1], SHIB[2393586.1858711], TRX[1], USD[0.00]                                                                                                                           Yes

08004333                           BAT[0], ETH[0], SHIB[0], SOL[0], USD[0.04]                                                                                                                                   Yes

08004339                           USD[20.00]

08004345                           CUSDT[5], DOGE[4], ETH[.08370549], ETHW[.08267949], NFT (404125844116425347/Board Game LUXURY TAX 4/5)[1], USD[0.00]                                                         Yes

08004349                           BTC[.4720275], ETH[1.135863], ETHW[1.135863], MATIC[1198.8], SOL[46.99790078], USD[11.87]

08004351                           USD[4.09]

08004352                           DOGE[1], SHIB[1], USD[0.01]

08004353                           BCH[.03516348], ETHW[.00303508], TRX[195.01329551], USD[0.00]

08004354                           BTC[0.00000004], CUSDT[5], DOGE[49.49678873], SHIB[2.86659209], SOL[.00000444], TRX[2], USD[0.01]                                                                            Yes

08004355                           SHIB[6680026.72010688], TRX[1], USD[0.00]

08004370                           CUSDT[1], DOGE[1], SHIB[1669169.66608644], SOL[.05706974], USD[0.00]                                                                                                         Yes

08004373                           USD[0.45]

08004374                           CUSDT[2], DOGE[1], GRT[576.55267669], SHIB[0], SOL[0.64834269], TRX[3441.68691645], USD[0.00], YFI[0.00000007]                                                               Yes

08004389                           BTC[.00031034], CUSDT[2], ETH[.00474768], ETHW[.00469296], USD[0.00]                                                                                                         Yes

08004397                           USD[0.00]                                                                                                                                                                    Yes

08004405                           ETH[.00454618], ETHW[.00454618], TRX[1], USD[0.00]

08004409                           CUSDT[3], MATIC[.74415027], SOL[0.22884422], TRX[1], USD[0.00]                                                                                                               Yes

08004412                           BTC[0], USD[0.00]

08004413                           BTC[.00259073], DOGE[1], ETH[.02938745], ETHW[.02901809], SHIB[3726883.57393297], USD[131.36]                                                                                Yes
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08004415                           BTC[.00002023], ETH[.0000333], USD[127.89]

08004416                           BCH[0], USD[17.51]

08004425                           USD[500.00]

08004435                           CUSDT[1], SHIB[726029.11957207], USD[0.00]                                                                                                                                             Yes

08004438                           BRZ[1], SHIB[31373.05072822], SOL[.00000845], USD[0.00]                                                                                                                                Yes

08004439                           BRZ[1], DOGE[1], NFT (326865127667583833/Mech #6133)[1], NFT (340160860875343677/Mech #6266)[1], NFT (377879002379973228/Australia Ticket Stub #766)[1], NFT                           Yes
                                   (570867434726699391/Barcelona Ticket Stub #1687)[1], SHIB[95.65450819], TRX[1], USD[0.00]
08004465                           BTC[.005], ETH[.062], ETHW[.062], MATIC[190], SOL[3.57734], USD[0.07]

08004466                           KSHIB[373.21121033], USD[0.00]                                                                                                                                                         Yes

08004468                           USD[4.77]                                                                                                                                                                              Yes

08004482                           BRZ[2], CUSDT[8], DOGE[5], ETH[0], GBP[0.00], NFT (296349568507833501/FTX - Off The Grid Miami #4590)[1], NFT (492990648663861887/#9414)[1], SHIB[477567.07255873], TRX[4.00016734],   Yes
                                   USD[0.00]
08004489                           CUSDT[5], NFT (308722389885391729/Cyber Pharmacist 3584)[1], NFT (371529890674327488/DOTB #7289)[1], NFT (373167493649781162/Elysian - #5723)[1], NFT (401115487514052892/Divine       Yes
                                   Soldier #4246)[1], NFT (534959066811995174/DOGO-TR-500 #6307)[1], SOL[.05046994], USD[0.00]
08004494                           CUSDT[1], SHIB[668091.92944949], USD[0.00]

08004495                           USD[0.00], USDT[0.00000141]

08004496                           KSHIB[70], SHIB[600000], USD[0.22]

08004497                           NFT (345537504650542283/Coachella x FTX Weekend 2 #25110)[1]

08004504                           DOGE[.00051526], USD[10.51]                                                                                                                                                            Yes

08004511                           BCH[1.19071206], DOGE[8236.63225869], LINK[17.1799506], MATIC[2237.6051209], MKR[.71897306], SHIB[6329760.15176965], SOL[80.97540088]                                                  Yes

08004522                           SHIB[434108.5382853], TRX[1], USD[5.44]                                                                                                                                                Yes

08004525                           GRT[.448], MATIC[7.048], SUSHI[626.6365], USD[16.67], YFI[.0009112]

08004535                           BRZ[1], BTC[.00187091], CUSDT[1426.4936404], DOGE[2], ETH[.49002366], ETHW[.48981802], KSHIB[2259.06144429], LINK[3.19891907], SHIB[522648.49665765], SOL[.29549889],                  Yes
                                   TRX[1023.8286508], USD[0.00]
08004537                           USD[26.23]

08004539                           BRZ[1], BTC[.08385781], CUSDT[3], DOGE[1153.77064743], ETH[.51444914], ETHW[.51422824], GRT[1], KSHIB[1846.94188251], SHIB[1], TRX[2], USD[0.00]                                       Yes

08004563                           CUSDT[247.23811994], USD[5.07]                                                                                                                                                         Yes

08004567                           CUSDT[1], SHIB[788678.27257895], USD[0.01]                                                                                                                                             Yes

08004582                           USD[21.58]                                                                                                                                                                             Yes

08004583                           USD[0.00]

08004586                           BRZ[1], CUSDT[2], DOGE[2], GRT[1.00144388], NFT (359885868188749110/Solana Islands #1544)[1], NFT (382562560506449752/Surreal World #42)[1], NFT (421563421573055709/Way back )[1],    Yes
                                   NFT (487983034447121113/Solana Islands #1016)[1], NFT (527649271986649816/The CaLabs #37)[1], NFT (549948390798947521/Pacific Beach Sunrise #47)[1], SHIB[3115542.69779872],
                                   SOL[.28160094], USD[0.00]
08004593                           USD[0.01]

08004594                           NFT (292483436221817360/Coachella x FTX Weekend 1 #70)[1], SOL[.25551536], TRX[1], USD[0.01]                                                                                           Yes

08004615                           CUSDT[1], KSHIB[314.03941765], USD[0.00]                                                                                                                                               Yes

08004617                           CUSDT[4], DOGE[2], ETH[0], ETHW[0], SHIB[4], SOL[0], TRX[3], USD[0.01]                                                                                                                 Yes

08004621                           NFT (430667608658707648/Entrance Voucher #3443)[1]

08004630                           USD[10.00]

08004632                           AVAX[15.51647172], BTC[.02144962], DOGE[116.09474391], ETH[0.45070228], LINK[25.53920175], MATIC[.00109747], NFT (320242743266123677/Entrance Voucher #44)[1], NFT                     Yes
                                   (470163507985906229/Humpty Dumpty #459)[1], SHIB[40], SOL[11.22726954], SUSHI[95.87222194], TRX[57.21792891], USD[0.00]
08004639                           USD[20.00]

08004641                           USD[25.00]

08004646                           USD[20.00]

08004648                           ETH[.023976], ETHW[.023976], SOL[2.04608873], USD[0.00], USDT[0.00000125]

08004649                           USD[10.86]                                                                                                                                                                             Yes

08004661                           AAVE[0.03977689], BRZ[1], BTC[0], CUSDT[5], DOGE[9.97364221], ETH[0], KSHIB[46.09694833], LTC[.02556158], SHIB[147271.29104310], SOL[0], TRX[5], USD[0.00], USDT[1.21599962], ZAR[0.00] Yes

08004670                           BTC[.00016207], DOGE[37.9776292], USD[0.00]                                                                                                                                            Yes

08004675                           USD[21.51]                                                                                                                                                                             Yes

08004678                           SHIB[1], USD[0.00]                                                                                                                                                                     Yes

08004682                           SHIB[1], USD[0.00]

08004683                           BRZ[1], CUSDT[3], DOGE[1], LTC[.34383891], USD[0.56]

08004687                           USD[21.51]                                                                                                                                                                             Yes

08004690                           DOGE[36.42649922], USD[0.00]

08004702                           CUSDT[2], SHIB[920807.93162088], USD[0.00]

08004705                           ETH[.00789347], ETHW[.00789347], SHIB[782336.75665302], USD[0.00]

08004706                           USD[0.00]                                                                                                                                                                              Yes

08004713                           CUSDT[1], ETH[.00617216], ETHW[.00609008], USD[81.46]                                                                                                                                  Yes

08004722                           USD[10.86]                                                                                                                                                                             Yes

08004724                           ETH[0], SOL[0], USD[0.17], USDT[0]                                                                                                                                                     Yes

08004725                           CUSDT[4925.51052481], USD[108.57]                                                                                                                                                      Yes

08004731                           SOL[.00080113], USD[0.00]

08004736                           NFT (291413625379101819/Entrance Voucher #29386)[1], USD[0.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08004737                              USD[0.00], USDT[0]

08004740                              CUSDT[1], SHIB[289171.89664457], USD[0.00]                                                                                                                                    Yes

08004748                              USD[20.00]

08004752                              USD[0.00]                                                                                                                                                                     Yes

08004757                              BRZ[1], BTC[.00000215], ETHW[.78944401], TRX[3], USD[0.00]                                                                                                                    Yes

08004761                              CUSDT[2], ETH[.00459538], ETHW[.00459538], SHIB[712523.02936761], SOL[.15193207], USD[0.00]

08004774                              BTC[.00070103], CUSDT[4], ETH[.00002162], ETHW[.00002162], SHIB[804726.82271977], SOL[.07457108], USD[0.00]                                                                   Yes

08004781                              SHIB[166918.37570445], USD[0.00]                                                                                                                                              Yes

08004784                              CUSDT[4], USD[0.00]                                                                                                                                                           Yes

08004791                              BRZ[1], BTC[0], DOGE[2], SHIB[4], SOL[0], USD[0.01]                                                                                                                           Yes

08004793                              SHIB[146240.69528539], USD[0.00]                                                                                                                                              Yes

08004803                              LTC[0], SUSHI[0], USD[0.00]

08004816                              BRZ[1], CUSDT[2], DOGE[142.75288736], SHIB[268060.58169146], SUSHI[2.61742675], USD[0.02]

08004832                              KSHIB[191.46755476], USD[0.00]                                                                                                                                                Yes

08004833                              BTC[.0042004]

08004834                              BTC[.00016148], CUSDT[1], SHIB[143245.95330181], USD[0.00]

08004838                              USD[10.86]                                                                                                                                                                    Yes

08004841                              CUSDT[2], TRX[1]

08004846                              BRZ[92.94718695], BTC[.01893505], CUSDT[10], ETH[.01272173], ETHW[.01256049], LINK[4.09547955], LTC[.2479517], MKR[.00404599], SOL[.78627752], TRX[157.13854451], USD[0.00]   Yes

08004848                              ETH[0.02785028], ETHW[0.02785028], MATIC[0], SHIB[1], USD[0.52], USDT[0]

08004857                              USD[12.75]

08004862                              DOGE[674.27312009], ETH[.04518739], ETHW[.04462651], SHIB[8265877.29748279]                                                                                                   Yes

08004863                              USD[16.27]                                                                                                                                                                    Yes

08004869                              SHIB[1], USD[0.00]                                                                                                                                                            Yes

08004879                              USD[10.00]

08004880                              AVAX[5.48494692], BAT[389.12330405], CUSDT[2], DOGE[6714.36227528], GRT[1213.03742513], SHIB[16063821.55318954], TRX[2595.79986617], USD[0.00], USDT[0]                       Yes

08004887                              USD[20.00]

08004893                              USD[20.00]

08004894                              USD[20.00]

08004897                              SHIB[4366017.92169386], TRX[1], USD[0.00]                                                                                                                                     Yes

08004905                              BCH[.07193784], BRZ[118.54051685], BTC[.00668122], CUSDT[5], DOGE[3], ETH[.0307228], ETHW[.03033976], MKR[.00874115], SOL[.29749178], SUSHI[2.33164708], USD[0.02]            Yes

08004918                              MATIC[0.46724586], SHIB[489649.98306308], USD[0.00]                                                                                                                           Yes

08004925                              LINK[.0000607], TRX[1], USD[0.00]                                                                                                                                             Yes

08004944                              CUSDT[3], SHIB[1], USD[0.01]                                                                                                                                                  Yes

08004946                              MATIC[4.38970425], SOL[.00395], USD[0.09], USDT[.0090554]

08004947                              BTC[0], DOGE[.01572661], USD[0.00], USDT[0]                                                                                                                                   Yes

08004955                              SHIB[539956926.50151234]                                                                                                                                                      Yes

08004959                              SOL[.00000001], USD[9.30]

08004980                              DOGE[1], SHIB[1.2116784], USD[0.00]                                                                                                                                           Yes

08004987                              ETH[.00120814], ETHW[0.00120814], SHIB[2397600], USD[0.00], USDT[0.00003646]

08004989                              USD[20.00]

08004994                              USDT[1.803803]

08005005                              NFT (552340831404022828/Entrance Voucher #2297)[1]

08005007                              USD[9.20]

08005010                              DOGE[553], ETH[.000989], ETHW[.000989], SHIB[1400000], SOL[1.11916], USD[0.15]

08005016                              CUSDT[1], SHIB[1461199.79305205], USD[0.00]                                                                                                                                   Yes

08005021                              ETH[.016927], ETHW[.016927], GRT[61.806], USD[0.36]

08005025                              BRZ[1], CUSDT[.00000274], DOGE[21.93907822], GRT[.00001751], USD[0.00]                                                                                                        Yes

08005029       Contingent, Disputed   SHIB[375.67652566], USD[0.00]                                                                                                                                                 Yes

08005037                              SHIB[3097700], USD[6.61]

08005042                              USD[1086.10]                                                                                                                                                                  Yes

08005044                              BTC[0], CUSDT[2], DOGE[5.00240815], ETH[0], SHIB[702070.48411632], SOL[0], TRX[2], USD[0.00]                                                                                  Yes

08005051                              BRZ[1.61949677], BTC[.00007056], CUSDT[1], DOGE[64.34228783], EUR[0.18], KSHIB[127.944355], SHIB[160249.01375725], SOL[.06398074], USD[0.01]                                  Yes

08005052                              NFT (417151941301785069/Romeo #3810)[1], NFT (471004192569468843/Microphone #10615)[1], NFT (484417628889524283/Entrance Voucher #5908)[1]

08005059                              BF_POINT[200]                                                                                                                                                                 Yes

08005070                              ETH[.00000001], ETHW[0], USD[0.00], USDT[0]                                                                                                                                   Yes

08005076                              BRZ[1], MATIC[287.48110142], USD[0.00]                                                                                                                                        Yes

08005086                              BTC[.1904678], LINK[90.63790555], USD[0.01]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08005089                           USD[10.86]                                                                                                                                                                           Yes

08005097                           BTC[0.00002818], ETH[0], MATIC[1189.78533486], NFT (298531312753789106/Abstraction No.2245)[1], SOL[0], TRX[0], USD[2.07], USDT[0]

08005108                           USD[20.00]

08005120                           USD[200.00]

08005124                           SOL[0], USD[0.00], USDT[0.00000109]

08005126                           SHIB[146910.56488199], USD[0.00]                                                                                                                                                     Yes

08005138                           ALGO[0], BCH[0], BTC[0], DOGE[0], ETH[0], ETHW[0], GRT[0], KSHIB[0], LINK[0], LTC[0], PAXG[0], SHIB[1091837.06364169], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00], USDT[0]          Yes

08005144                           BRZ[1], DOGE[1], KSHIB[400.66831474], SHIB[4], SUSHI[2.89668982], TRX[3], USD[0.00]                                                                                                  Yes

08005145                           CUSDT[2], DOGE[43.61024317], SHIB[158665.27623118], USD[0.00]                                                                                                                        Yes

08005146                           SHIB[.0000184], USD[0.01]                                                                                                                                                            Yes

08005151                           SHIB[67585.83400919], USD[0.00]

08005153                           USD[0.82]

08005158                           CUSDT[1], SHIB[751314.80090157], USD[0.01]

08005167                           CUSDT[3], SHIB[8762371.21339993], TRX[2], USD[0.00]                                                                                                                                  Yes

08005174                           USD[542.89]                                                                                                                                                                          Yes

08005175                           CUSDT[3], DOGE[394.77406366], SHIB[1547855.44997222], TRX[497.13834481], USD[0.01]                                                                                                   Yes

08005177                           BTC[.00341952], CUSDT[5], ETH[.0060733], ETHW[.00599644], LINK[1.20931457], MATIC[11.27201454], SOL[.14044489], TRX[1], USD[0.00]                                                    Yes

08005192                           BTC[.00009022], USD[0.00], USDT[0.00050170]

08005194                           CUSDT[7], DOGE[2], NFT (289478548020431302/CROCO DIARIES)[1], NFT (352489218212461256/Going deep )[1], NFT (410688115385147023/Ninja Turtles #4)[1], NFT                             Yes
                                   (418705421102090227/Convertible impala )[1], NFT (503722360403388595/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #95)[1], USD[36.83]
08005197                           CUSDT[1], SHIB[24277349.57872436], USD[54.01]                                                                                                                                        Yes

08005199                           BTC[.00505123], DOGE[91.54217781], ETH[.05325946], ETHW[.05259972], GRT[1], LINK[1.05765442], MATIC[498.8028566], SHIB[13], SUSHI[7.13242323], TRX[1], UNI[9.77230402], USD[88.78]   Yes

08005213                           USD[0.80]

08005216                           AAVE[.00001161], CUSDT[1], USD[0.00]                                                                                                                                                 Yes

08005233                           CUSDT[3], TRX[1], USD[0.00]                                                                                                                                                          Yes

08005235                           USD[0.00]                                                                                                                                                                            Yes

08005240                           USD[108.49]                                                                                                                                                                          Yes

08005244                           CUSDT[3], DOGE[1], GRT[1.00312819], KSHIB[2756.05563855], SHIB[11226529.12238969], USD[0.01]                                                                                         Yes

08005246                           BTC[.00000271], DOGE[0], ETH[0], TRX[1.00019500], USD[0.00], USDT[3.45966605]

08005250                           BRZ[247.18449725], DOGE[370.81974896], MATIC[33.333378], SHIB[2], USD[50.00]

08005268                           BTC[.0037962]

08005291                           USD[9.67]                                                                                                                                                                            Yes

08005292                           USD[20.00]

08005295                           BRZ[1], CUSDT[2], LINK[6.86738056], MATIC[49.40387297], SOL[1.08644835], USD[5.43]                                                                                                   Yes

08005296                           BRZ[1], CUSDT[4], DOGE[79.0535597], SHIB[746255.71104173], SOL[.54361215], USD[0.00]                                                                                                 Yes

08005297                           USD[20.00]

08005300                           USD[0.21]                                                                                                                                                                            Yes

08005301                           CUSDT[3], DOGE[1], USD[364.92]                                                                                                                                                       Yes

08005304                           SHIB[145393.57012401], USD[0.00]                                                                                                                                                     Yes

08005305                           SHIB[96600], USD[0.22]

08005314                           USD[20.00]

08005315                           BAT[0], BRZ[1], CUSDT[0], DOGE[0], KSHIB[0], LINK[0], PAXG[0], SHIB[467007.92343720], TRX[2], USD[0.00]                                                                              Yes

08005328                           BTC[.0003], USD[1.20]

08005341                           USD[0.95]

08005345                           LINK[.3537418], USD[0.00]                                                                                                                                                            Yes

08005358                           DOGE[1], KSHIB[6969.76696305], USD[0.26]                                                                                                                                             Yes

08005373                           ETHW[.118], USD[0.20]

08005377                           CUSDT[1], SHIB[1513352.01556032], USD[0.00]                                                                                                                                          Yes

08005388                           CUSDT[1], DOGE[96.19323608], MATIC[27.71002031], USD[27.15]                                                                                                                          Yes

08005389                           USD[10.86]                                                                                                                                                                           Yes

08005392                           BAT[1], SHIB[15621315.65686488], TRX[1], USD[0.00]

08005397                           CUSDT[1], GRT[33.2101592], USD[27.34]                                                                                                                                                Yes

08005405                           BRZ[1], CUSDT[2], SHIB[1], USD[50.16]                                                                                                                                                Yes

08005411                           DOGE[13025.17211433]                                                                                                                                                                 Yes

08005434                           DOGE[1], SHIB[148208.03018054], USD[0.00]

08005436                           CUSDT[1], DOGE[1], GRT[31.90109675], SHIB[440339.08847797], TRX[124.81837101], USD[101.40]                                                                                           Yes

08005455                           USD[0.00]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08005462                              BAT[8.23362218], BRZ[22.7160006], BTC[.00680495], DOGE[69.28916408], ETH[.11314225], GRT[7.00722744], LINK[13.99844366], MATIC[888.02536343], NEAR[295.62374419], NFT                           Yes
                                      (309793340857640936/Ghoulie #6591)[1], NFT (400389900908230681/DarkPunk #8962)[1], NFT (400747970929676333/#529)[1], NFT (427084769145279774/Ghoulie #1583)[1], NFT
                                      (435233223237118863/Gangster Gorillas #3587)[1], NFT (510023006310292192/DarkPunk #4747)[1], NFT (512084401846828769/Ghoulie #1926)[1], NFT (521718613642111655/DarkPunk #3659)[1],
                                      SHIB[91], SOL[.40612845], TRX[75.47140149], UNI[32.69868301], USD[0.00], USDT[1.00131585]
08005465                              USD[0.00]

08005466                              CUSDT[1], TRX[1067.13590383], USD[0.05]                                                                                                                                                         Yes

08005469                              SHIB[146846.95110555], USD[0.00]                                                                                                                                                                Yes

08005475                              BCH[.0312408], CUSDT[248.28101641], DOGE[364.64714449], ETH[.0088624], ETHW[.00875296], LTC[.04880574], SHIB[665864.90854416], SOL[.23966621], TRX[445.88147625], USD[0.42]                     Yes

08005479                              SHIB[147025.863054], USD[0.00]                                                                                                                                                                  Yes

08005485                              SHIB[152741.71376202], USD[0.00]

08005488                              USD[20.00]

08005497                              NFT (371093701120410902/Romeo #1246)[1], NFT (507467021997445048/Entrance Voucher #950)[1]                                                                                                      Yes

08005505                              BTC[.00052401], USD[0.00]

08005506                              USD[20.00]

08005518                              BRZ[2], BTC[.0366005], CUSDT[1921.60427014], DOGE[120.45824569], ETH[.15668322], ETHW[.15601273], SHIB[7], TRX[1], USD[0.03]                                                                    Yes

08005520                              CUSDT[1], USD[0.92]                                                                                                                                                                             Yes

08005535                              BAT[142.44173871], BRZ[3], BTC[.02256412], DOGE[192.0166288], ETH[.15165107], ETHW[.15086585], LINK[21.74243753], MATIC[180.14469189], NFT (519733462639849551/Magic Summer                     Yes
                                      Box)[1], SHIB[1998237.07175092], SOL[12.58283144], TRX[1], USD[29.17]
08005538                              SHIB[136407.03860319], USD[0.00]

08005549                              SOL[.00575339], USD[0.97]                                                                                                                                                                       Yes

08005551                              CUSDT[6], NFT (504266000270947653/Entrance Voucher #25594)[1], NFT (515142199646420563/AI-generated landscape #114)[1], SOL[.62355146], USD[0.00]                                               Yes

08005561                              BAT[0], BCH[0], BRZ[0], BTC[0], CAD[0.00], CUSDT[0], DAI[0], DOGE[0], ETH[0], ETHW[0], KSHIB[0], LTC[0], MKR[0], PAXG[0], SHIB[0], SOL[0], TRX[0], UNI[0], USD[0.00], USDT[0], YFI[0], ZAR[0.00] Yes

08005566                              BRZ[3], CUSDT[10.5], DAI[.00094639], DOGE[5], ETH[.06189476], ETHW[.06112821], SHIB[16.0834401], SUSHI[.00015924], TRX[9], USD[0.00], USDT[0.00181783]                                          Yes

08005567                              CUSDT[1], SHIB[888572.95183934], USD[0.01]

08005568                              BRZ[2], CUSDT[6], ETH[.00737164], ETHW[.00727588], LINK[3.83393085], MATIC[101.96032052], SHIB[1397423.67616626], SOL[1.40126131], TRX[441.89314458], USD[0.00]                                 Yes

08005570                              SUSHI[110.79912007], USD[0.00]

08005573                              ETHW[.52823336], USD[200.06]                                                                                                                                                                    Yes

08005575                              SHIB[190331.17624666], USD[0.00]

08005577                              USD[0.56]

08005594                              USD[0.00]                                                                                                                                                                                       Yes

08005607                              CUSDT[3], KSHIB[1802.95309292], SHIB[1957579.3629414], USD[0.12], USDT[107.86074653]                                                                                                            Yes

08005610                              NFT (456832851775076153/FTX Crypto Cup 2022 Key #2636)[1]

08005611                              CUSDT[4], SHIB[1], USD[0.01]                                                                                                                                                                    Yes

08005614                              BAT[19.54480544], MATIC[18.77164554], SOL[0.06344294], SUSHI[1.47201145], TRX[157.75600496], UNI[.6510544], USD[0.00]                                                                           Yes

08005615                              DOGE[1], ETH[.00228552], ETHW[.00225816], USD[0.01]                                                                                                                                             Yes

08005617                              USD[0.00]

08005620                              BTC[.00092282], CUSDT[1418.44747979], DOGE[1], ETH[.02253901], ETHW[.02226106], LTC[.59724154], MATIC[30.64990272], SHIB[980737.19389674], SOL[.49042986], TRX[386.87030358],                   Yes
                                      USD[0.12]
08005621       Contingent, Disputed   USD[43.89]

08005623                              USD[0.27], USDT[0]

08005629                              BRZ[3], CUSDT[9], DOGE[5], ETH[.2229267], ETHW[.20555184], GRT[2], LINK[3.50038626], MATIC[4.79157245], NFT (393853028512383601/Barcelona Ticket Stub #1049)[1],                                Yes
                                      SHIB[1128367.72946469], SOL[6.3229131], SUSHI[1.72222388], TRX[4], USD[-36.68], USDT[22.47606855]
08005641                              CUSDT[2], DOGE[1], SHIB[14994687.60218052], USD[0.00]

08005643                              CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                                    Yes

08005650                              BRZ[1], BTC[.00045216], CUSDT[7], DOGE[1], ETH[.00966718], ETHW[.00954406], LINK[.19359074], SHIB[3], SOL[.4245314], TRX[2], USD[0.01]                                                          Yes

08005651                              BRZ[1], BTC[.00354074], CUSDT[1], ETH[.03248987], ETHW[.03248987], USD[0.00]

08005652                              AAVE[.00783], BTC[.0662568], DOGE[11220.542], LTC[.00632], USD[2202.73]

08005653                              SOL[.05486059], USD[0.00]                                                                                                                                                                       Yes

08005655                              USD[20.00]

08005660                              CUSDT[2], DOGE[172.32510740], SHIB[1394944.08113879], USD[1.49]                                                                                                                                 Yes

08005666                              NFT (483840751741095545/Voxel Animals #8)[1], NFT (498357896779616626/Beyond The Object #003)[1], SHIB[71530.55396916], USD[0.00]

08005672                              USDT[0]

08005680                              USD[20.00]

08005681                              SOL[.00852042], USD[0.00]

08005685                              CUSDT[1], MATIC[198.40748975], SOL[18.70021081], TRX[1], USD[0.00], USDT[1.07321332]                                                                                                            Yes

08005692                              BTC[.00016516], CUSDT[4], SHIB[1], USD[0.35]                                                                                                                                                    Yes

08005697                              BTC[.00417144], SHIB[1], TRX[1], USD[0.00]

08005699                              NFT (380648482975666547/FTX - Off The Grid Miami #2630)[1], USD[10.86]                                                                                                                          Yes

08005705                              DOGE[1], KSHIB[1038.14907156], SHIB[1132170.16753006], TRX[1], USD[0.00]                                                                                                                        Yes

08005706                              CUSDT[1], MATIC[8.14565121], USD[15.93]                                                                                                                                                         Yes

08005708                              ETH[0.00177742], ETHW[0.00175006], PAXG[0], USD[0.00], USDT[0.00003124]                                                                                                                         Yes

08005711                              BRZ[1], CUSDT[8], USD[0.47], USDT[0]
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                                                                                                                                             Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08005719                              CUSDT[1], SHIB[36.86467205], TRX[2], USD[0.01]                                                                                                                                    Yes

08005723                              BAT[.63889466], CUSDT[2], SHIB[633870.12321596], TRX[1], USD[0.86]                                                                                                                Yes

08005726                              MATIC[200], USD[5.55]

08005732                              USD[0.01]                                                                                                                                                                         Yes

08005733                              NFT (554491845067944652/FTX - Off The Grid Miami #2686)[1], TRX[0], USD[0.00], USDT[0]                                                                                            Yes

08005741                              DOGE[1], SHIB[701459.03479236], USD[0.00]

08005747                              USD[0.46]

08005755                              TRX[1], USD[10.10]                                                                                                                                                                Yes

08005757                              CUSDT[1], SHIB[4908551.21071204], USD[0.00]

08005759                              USD[0.00]

08005774                              SOL[0.85847299]

08005775                              USD[0.02]

08005778                              CUSDT[10], ETH[.00269395], ETHW[.00266659], GRT[25.05237795], USD[0.18]                                                                                                           Yes

08005787                              BTC[.00010599], CUSDT[1], USD[0.01]                                                                                                                                               Yes

08005791                              BRZ[27.05547636], CUSDT[2], GRT[9.54596771], SHIB[731729.95352896], SOL[.04979778], USD[0.00], USDT[4.97104307]

08005792                              DOGE[1], SHIB[1422070.53469852], USD[0.00]

08005801                              USD[20.00]

08005811                              CUSDT[1972.87842733], DOGE[1], KSHIB[690.55298654], TRX[1061.01713561], USD[336.68]                                                                                               Yes

08005817                              CUSDT[5], DOGE[1], TRX[1], USD[0.00]

08005828                              USD[0.00], USDT[0]

08005831                              CUSDT[1], SHIB[648925.2054451], TRX[1], USD[5.00]

08005835                              BTC[.00032396], CUSDT[1], ETH[.00623225], ETHW[.00615017], TRX[1], USD[0.00]                                                                                                      Yes

08005839                              BTC[.01254236], CUSDT[1], SOL[0.47101150]                                                                                                                                         Yes

08005849                              BTC[0], DOGE[.00000001], ETH[0], ETHW[0], SHIB[2], TRX[1], USD[0.00]                                                                                                              Yes

08005850                              CUSDT[1], LTC[.0000005], SHIB[3297079.08502632], TRX[1], USD[0.13]                                                                                                                Yes

08005851                              ETH[.0000681], ETHW[.0000681], USD[0.00], USDT[0]                                                                                                                                 Yes

08005854                              ETH[.87276482], ETHW[.8723982], USD[0.00]                                                                                                                                         Yes

08005864                              ETH[.05777705], ETHW[.05777705], SHIB[1], USD[0.00]

08005875                              USD[0.01], USDT[0]                                                                                                                                                                Yes

08005877                              USD[0.00], USDT[0]

08005890                              BRZ[1], ETH[.12359989], ETHW[.12242809], USD[0.01]                                                                                                                                Yes

08005894                              DOGE[1], SHIB[1370426.20254899], USD[0.00]

08005897                              CUSDT[9], DOGE[2], SHIB[12358786.01207272], TRX[2], USD[0.00]

08005900                              CUSDT[2], DOGE[1], SHIB[8.34753925], USD[0.01]                                                                                                                                    Yes

08005902                              CUSDT[2], USD[0.01]                                                                                                                                                               Yes

08005903                              DOGE[.47808029]                                                                                                                                                                   Yes

08005908                              BRZ[3], CUSDT[6], DOGE[5], ETHW[.59914084], SHIB[13], SOL[.00057866], TRX[9], USD[0.04]                                                                                           Yes

08005919                              CUSDT[1], DOGE[165.82997154], USD[0.00]

08005920                              CUSDT[1], LTC[.18926438], USD[0.00]                                                                                                                                               Yes

08005922                              SHIB[335.12118018], USD[0.00]                                                                                                                                                     Yes

08005925                              BTC[0.00296883], DOGE[71.26073966], ETH[.04090015], ETHW[.04090015], SHIB[1064642.68427366], USD[0.00]

08005926                              BRZ[1], DOGE[1], SHIB[2], USD[0.00]

08005928                              DOGE[2], ETH[3.45570112], ETHW[3.45424969], TRX[105.73695014], USD[14.00]                                                                                                         Yes

08005929                              NFT (334100727764671017/What Time Is It #7 Of 20)[1], NFT (341326954922218703/Ape City #10)[1], NFT (389355971762107482/#016)[1], NFT (408730677725129054/Ape City #28)[1], NFT   Yes
                                      (436079214686741068/#008)[1], NFT (438334599656751511/#007)[1], NFT (439802116346424030/Ape City #23)[1], NFT (476975170767262112/Worried Mask #2)[1], NFT
                                      (521838307803190481/#014)[1], NFT (572032959296533509/#005)[1], SHIB[0], USD[0.07]
08005943                              CUSDT[2], SHIB[2], USD[132.99]

08005950                              ETH[32.282482], ETHW[32.282482], LTC[119.1063], SHIB[584849400], SOL[251.87357], USD[1393.14]

08005953       Contingent, Disputed   USD[0.00]                                                                                                                                                                         Yes

08005959                              BCH[0], BTC[.00000001], CUSDT[1], SOL[0], USD[20.33]

08005962                              USD[0.10]                                                                                                                                                                         Yes

08005963                              BTC[.00027362], CUSDT[1], USD[0.12]                                                                                                                                               Yes

08005988                              CUSDT[1], SHIB[375750.80672137], USD[0.00]                                                                                                                                        Yes

08005989                              SHIB[154423.46274387], USD[0.00]                                                                                                                                                  Yes

08005991                              CUSDT[1], GRT[1.00130671], SHIB[14061756.70006277], USD[0.00]                                                                                                                     Yes

08006001                              SHIB[13724119.6671482], USD[0.00]                                                                                                                                                 Yes

08006002                              SHIB[2025690.35349302], TRX[1], USD[9.46]                                                                                                                                         Yes

08006009                              CAD[0.00], CUSDT[2], USD[0.01]                                                                                                                                                    Yes

08006011                              BAT[0], GRT[1], SHIB[1], USDT[0]                                                                                                                                                  Yes
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                                                                                                                                             Customer Claims                                                                                                          22-11071 (JTD)
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08006027                              CUSDT[2466.75817985], DOGE[2], SHIB[1476435.39929696], SUSHI[4.9250164], TRX[1], UNI[4.33467494], USD[0.00]                                                                             Yes

08006029                              DOGE[1], SOL[1.37275614], USD[0.00]                                                                                                                                                     Yes

08006032                              CUSDT[2], DOGE[1], MATIC[.00066464], SHIB[1], TRX[3], USD[0.00]                                                                                                                         Yes

08006034                              DOGE[1], USD[0.00]                                                                                                                                                                      Yes

08006038                              LTC[.01255957], USD[0.27]

08006040                              BTC[0], SOL[.00753], USD[0.01]

08006046                              CUSDT[3], TRX[2], USD[0.01]

08006053                              CUSDT[5], DOGE[1], SHIB[207.47657393], TRX[3], USD[0.00]                                                                                                                                Yes

08006062                              AAVE[10.2168053], BTC[.48284598], DOGE[16767.19833241], ETH[2.06444142], ETHW[2.06444142], MATIC[483.01245472], SHIB[86660487.21850944], SOL[19.69911093], USD[66.57]

08006071                              CUSDT[1], ETH[.00622719], ETHW[.00614511], USD[0.00]                                                                                                                                    Yes

08006073                              BAT[108.79457015], DOGE[1], SHIB[23179843.75296904], TRX[1], USD[0.00]                                                                                                                  Yes

08006075                              AAVE[.00825], AVAX[12.4603], BAT[1704.679], BCH[.00054], BTC[.7705123], DOGE[.855], ETH[.010623], ETHW[.010623], LINK[57.0692], LTC[4.4119], MATIC[29.7], SOL[8.13516], USD[4328.52],
                                      USDT[15.48519119]
08006077                              BTC[.01165225], CUSDT[1], DOGE[1], SHIB[1], TRX[1], USD[39.91]                                                                                                                          Yes

08006087                              BTC[.00040437], CUSDT[1], USD[27.15]                                                                                                                                                    Yes

08006096                              CUSDT[1], SHIB[416377.51561415], USD[0.00]

08006105                              ALGO[0], BTC[.00245163], CUSDT[1], DOGE[1], ETHW[2.09139006], SHIB[3], USD[0.00]                                                                                                        Yes

08006117                              BTC[.00010915], CUSDT[2], ETH[.00079936], ETHW[.00079936], SHIB[14.01447402], SOL[0.00769457], USD[0.01]

08006126                              USD[0.00]

08006136                              CAD[33.28], CUSDT[2], DOGE[98.95953302], USD[54.30]                                                                                                                                     Yes

08006140                              BRZ[305.00475582], CUSDT[4], DOGE[670.56184695], NFT (357867659351574805/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #94)[1], NFT                    Yes
                                      (560915270660179428/Hall of Fantasy League #187)[1], SHIB[6417602.04865253], TRX[532.93545117], USD[0.00]
08006142                              USD[0.01]

08006146                              DOGE[1], MATIC[11.36063135], USD[0.00]                                                                                                                                                  Yes

08006147                              NFT (350147313057727954/Barcelona Ticket Stub #1808)[1], NFT (408972772040681673/Bahrain Ticket Stub #1916)[1], SHIB[0], USD[0.00]                                                      Yes

08006156                              CUSDT[6], SHIB[3412808.66038521], USD[0.00]

08006173                              DOGE[986.015], SHIB[5197500], USD[0.12]

08006176                              BRZ[2], SHIB[1], USD[183.86]                                                                                                                                                            Yes

08006179                              DOGE[1], SHIB[7655649.647176], USD[0.01]                                                                                                                                                Yes

08006181                              ETHW[.83027189], SOL[0], TRX[1]                                                                                                                                                         Yes

08006182                              USD[0.11]

08006184                              LTC[.05152157], USD[0.00]

08006190                              SHIB[14257199.8859424], USD[0.00]

08006195                              SHIB[1998000], USD[2.78]

08006201                              CUSDT[3], USD[0.00]                                                                                                                                                                     Yes

08006202                              USD[0.00]

08006211                              CUSDT[1], DOGE[246.05068873], SOL[.24407995], TRX[2], USD[0.00]                                                                                                                         Yes

08006215                              CUSDT[2], SHIB[3], TRX[1], USD[0.00]                                                                                                                                                    Yes

08006216                              CUSDT[1], ETH[.02206207], ETHW[.02206207], USD[0.00]

08006217                              BRZ[1], CUSDT[7], DOGE[1], TRX[1.00219154], USD[48.79]                                                                                                                                  Yes

08006218                              DOGE[130.66465422], SHIB[915418.74639609], USD[0.00]                                                                                                                                    Yes

08006219       Contingent, Disputed   GRT[2], USD[0.00]

08006224                              CUSDT[544.11877412], DAI[5.98812753], DOGE[155.36476833], GRT[19.10925905], KSHIB[397.23532538], LINK[.81091687], MATIC[10.15443612], SHIB[410375.05491461], SUSHI[2.93579127],
                                      TRX[134.73982884], USD[15.00]
08006231                              USD[3.16]

08006239                              BRZ[1], CUSDT[6], DOGE[.01183367], SOL[.00001888], TRX[1], USD[0.00]                                                                                                                    Yes

08006243                              CUSDT[6], DOGE[71.16645357], SHIB[1415776.84911968], USD[0.01]

08006244                              BTC[.00099088], SUSHI[.00304933], USD[0.00]                                                                                                                                             Yes

08006248                              USD[10.86]                                                                                                                                                                              Yes

08006250                              USD[10.86]                                                                                                                                                                              Yes

08006254                              BRZ[2], CUSDT[3], DOGE[3], SUSHI[1], TRX[290.09844], USD[0.00], USDT[1]

08006256                              BCH[.22561475], BTC[.00177725], DOGE[2], LINK[4.492486], USD[0.02]                                                                                                                      Yes

08006264                              CUSDT[2], DOGE[1], SHIB[1], TRX[1], USD[91.96]                                                                                                                                          Yes

08006279                              ALGO[0], ETH[.00000001], TRX[.00000001], USD[0.00]                                                                                                                                      Yes

08006280                              BAT[1], BRZ[1], DOGE[4], GRT[1], MATIC[1.00126101], SHIB[2], TRX[3], USD[0.08], USDT[2.07300149]                                                                                        Yes

08006282                              CUSDT[1], GRT[1.00093197], SOL[7.60614892], USD[0.00]                                                                                                                                   Yes

08006289                              USD[0.00]

08006291                              BTC[.0078921], SHIB[0], USD[0.05]

08006294                              CUSDT[2], DOGE[498.59294919], SHIB[1423082.39647075], USD[0.00]

08006310       Contingent, Disputed   ETHW[.003], SOL[0], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08006319                              AVAX[1.00035313], BTC[.00005261], ETH[.00079911], ETHW[.00079911], SOL[.40277318], USD[0.00]

08006325                              BTC[.05997508], ETH[.76296717], ETHW[0.76264659], SOL[5.08520888]                                                                                                                     Yes

08006339                              USD[543.03]                                                                                                                                                                           Yes

08006347                              CUSDT[2], ETH[.01063174], ETHW[.01049494], PAXG[.04327653], TRX[1], USD[11.35]                                                                                                        Yes

08006351                              USD[1.24]

08006353                              CUSDT[2], DOGE[1], SHIB[14352973.03637668], USD[0.00]

08006354                              BTC[.00115808], CUSDT[1], USD[0.01]

08006355                              USD[0.00], USDT[0]

08006371       Contingent, Disputed   USD[1.53]

08006379                              CUSDT[2], ETH[.0123866], ETHW[.0123866], SHIB[780152.90997035], USD[0.00]

08006384                              BRZ[1207.96914877], BTC[.01511938], CUSDT[1203.14823631], DOGE[409.07213722], ETH[.12801752], ETHW[.12691516], KSHIB[1747.27026743], SHIB[4316454.08871872], SOL[1.1237269],          Yes
                                      SUSHI[49.98101908], TRX[308.65664567], USD[0.04], YFI[.08176759]
08006386                              ETH[.000892], ETHW[.000892], USD[0.57]

08006388                              DOGE[1], SHIB[3], SOL[.98087865], USD[0.00]                                                                                                                                           Yes

08006391                              NFT (487881856402805698/Humpty Dumpty #127)[1]                                                                                                                                        Yes

08006396                              CUSDT[3], KSHIB[140.34599216], MATIC[5.89422387], SHIB[140193.46698443], SOL[.04941211], TRX[1], USD[0.37]

08006399                              CUSDT[1], USD[0.00]

08006400                              BRZ[1], CUSDT[27], DOGE[3], ETH[1.53095552], ETHW[1.53031244], SHIB[1], SOL[0], TRX[5], USD[0.00]                                                                                     Yes

08006416                              BRZ[1], NFT (391227146279042089/Solana Penguin #203)[1], NFT (438802393548522045/Toasty Turts #1725)[1], NFT (479961778859982765/Sigma Shark #3261)[1], NFT                           Yes
                                      (509313771260322637/Belugie #4813)[1], NFT (570729677105343412/Red Panda #7336)[1], SOL[.16083423], USD[0.00]
08006430                              SHIB[1], TRX[7637.73198465], USD[0.00]

08006433                              CUSDT[2], SHIB[407010.04427268], USD[0.00]

08006435                              BTC[.00015676], CUSDT[1], KSHIB[.38158394], SHIB[223163.70664736], TRX[48.96869783], USD[0.01]                                                                                        Yes

08006437                              BTC[.00000096], NFT (395128461591413580/Entrance Voucher #2289)[1], USD[0.00], USDT[0.00000001]                                                                                       Yes

08006441                              NFT (450661387117306639/Coachella x FTX Weekend 2 #21491)[1]

08006445                              CUSDT[1], SHIB[1555514.48507451], USD[0.00]                                                                                                                                           Yes

08006450                              DOGE[1], USD[0.00]                                                                                                                                                                    Yes

08006451                              SHIB[1], USD[0.01]

08006452                              DOGE[1], SHIB[5], TRX[2], USD[0.00]

08006453                              BRZ[1], BTC[.00002049], CUSDT[10], DOGE[5.00520819], ETH[.00001066], ETHW[.00001066], MATIC[72.96720811], SHIB[761769.7644333], SOL[.00847972], TRX[3], USD[0.05], USDT[1.08521746]   Yes

08006454                              BTC[.01284607], CUSDT[2], DOGE[36.93377192], ETH[.00916388], ETHW[.00905444], SHIB[3], TRX[1], USD[32.59]                                                                             Yes

08006461                              AVAX[3.88003167], BRZ[1], BTC[.00403278], LINK[10.62385122], MATIC[11.24159273], SHIB[3], SOL[3.35565791], SUSHI[27.93297851], TRX[1], USD[204.69]                                    Yes

08006464                              AVAX[0], BAT[1.00932166], BRZ[3], CUSDT[5], ETH[.00000245], ETHW[.00000245], NFT (311270456643688418/Australia Ticket Stub #2079)[1], SHIB[1039484.27182385], TRX[1], USD[0.00]       Yes

08006468                              USD[0.01]

08006486                              DOGE[1], TRX[4718.24735349], USD[0.00]                                                                                                                                                Yes

08006490                              BAT[0.00091728], BTC[0.00000016], ETH[0.00000047], ETHW[0.00000047], SHIB[9.22914714], SOL[0.00000918], USD[0.01]                                                                     Yes

08006493                              NFT (335542266625081252/JUNGLE HORSES #3)[1], NFT (348761018631273338/Change of civilization)[1], NFT (376234979332411393/Covid-19#19)[1], NFT (397851136526612376/Mob cats           Yes
                                      collection #59)[1], NFT (413724055449404412/Horse Number #8)[1], NFT (435352657214840476/Mid Day Cruz #0165)[1], NFT (540244739028103400/Toy Car GTR)[1], USD[11.44]
08006495                              SHIB[7642510.24154349], USD[0.03], USDT[1.08600074]                                                                                                                                   Yes

08006504       Contingent, Disputed   SOL[1839.60062029], USD[0.00]

08006505                              SOL[1]

08006511                              AAVE[.00853], BTC[.0067941], DOGE[9.103], ETH[.217218], ETHW[.217218], LINK[.3932], LTC[.30963], MATIC[489.34], USD[4.65]

08006517                              BF_POINT[100], CUSDT[5], DOGE[2], ETHW[.09569691], SHIB[4], USD[275.47]                                                                                                               Yes

08006520                              DOGE[1], SOL[0.00054575], TRX[1], USD[0.01]                                                                                                                                           Yes

08006525                              USD[21.51]                                                                                                                                                                            Yes

08006534                              DOGE[118.96455915], USD[0.14]

08006537                              ETH[.00231229], ETHW[.00231229], USD[0.00]

08006542                              CUSDT[1], SHIB[2846569.88329063], USD[0.00]

08006549                              ETH[.000374], ETHW[.000374], USDT[.13928453]

08006556                              USD[541.90]                                                                                                                                                                           Yes

08006559                              BRZ[1], CUSDT[2], NFT (320850436242965057/Solana Penguin #4788)[1], NFT (351019967797441396/Fancy Frenchies #8851)[1], NFT (537901460713911608/Solana Penguin #1085)[1], NFT          Yes
                                      (560906482267115487/Sigma Shark #4178)[1], NFT (573554104865615586/Solana Squirrel #752)[1], SOL[.04526708], USD[0.10]
08006560                              BRZ[1], BTC[.00123594], CUSDT[1], TRX[1], USD[0.00]                                                                                                                                   Yes

08006561                              BTC[0], SHIB[0], USD[0.01]

08006577                              DOGE[1], SHIB[7727084.78991625], USD[0.01]                                                                                                                                            Yes

08006591                              SOL[10.2923]

08006594                              CUSDT[2], DOGE[1], TRX[1], USD[0.00]                                                                                                                                                  Yes

08006596                              USD[0.00], USDT[0]                                                                                                                                                                    Yes

08006599                              BRZ[1], ETHW[2.57817621], SHIB[19], SOL[.00000001], USD[0.00]                                                                                                                         Yes

08006600                              NFT (445059545557199071/Entrance Voucher #2669)[1]

08006621                              SHIB[8224398.55908035], TRX[2], USD[0.00]                                                                                                                                             Yes
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                                                                                                                                         Customer Claims                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08006642                           TRX[.000003], USDT[1.45184518]                                                                                                                                      Yes

08006644                           ETH[0], SHIB[1547274.60254413], USD[0.00]                                                                                                                           Yes

08006649                           BTC[0.01017657], ETH[.999], ETHW[.999], SHIB[5422584.23155511], SOL[30.10000001], USD[0.00]

08006650                           BAT[.03832136], SHIB[125496.98097702], SOL[.05576881], USD[0.00]                                                                                                    Yes

08006651                           NFT (483620232676715441/FTX - Off The Grid Miami #2285)[1]

08006654                           USD[0.00]                                                                                                                                                           Yes

08006656                           BTC[.0048], DOGE[2011.989], USD[0.01], USDT[0.00003328]

08006663                           BTC[0], CAD[0.00], ETHW[.00247665], NFT (326548731163588408/ApexDucks Halloween #1887)[1], USD[69.12]

08006666                           ETH[.00000001], ETHW[0]

08006689                           ETH[0], ETHW[0], USD[2.34]

08006696                           BRZ[1], CUSDT[41], DOGE[1376.68879087], ETH[1.91400259], ETHW[1.91319869], LINK[77.4388161], LTC[13.40735129], SHIB[16602562.0473152], TRX[10], USD[0.00]           Yes

08006701                           BTC[.00222], SOL[8.16305408]

08006707                           BRZ[1], SHIB[1], SOL[.00106639], TRX[2], USD[0.00], USDT[0.00000044]                                                                                                Yes

08006708                           BTC[.00085559], CUSDT[2], DOGE[216.24890513], USD[43.26]                                                                                                            Yes

08006709                           CUSDT[7], DOGE[2], TRX[2], USD[0.01]                                                                                                                                Yes

08006710                           BF_POINT[100]

08006712                           USD[20.00]

08006723                           DOGE[65.10141172], USD[0.00]

08006727                           ETH[.00669679], ETHW[.00669679], USD[27.66]

08006736                           DOGE[1], SHIB[1623389.71769101], USD[0.00]                                                                                                                          Yes

08006737                           NFT (288750858037402042/Entrance Voucher #5968)[1]                                                                                                                  Yes

08006738                           BRZ[1], CUSDT[3], DOGE[2], ETH[0.00050809], ETHW[0.00050809], SOL[0], TRX[1], USD[0.00]                                                                             Yes

08006744                           BTC[.00099708], CUSDT[1], USD[0.06]                                                                                                                                 Yes

08006751                           DOGE[58.48596693], GRT[17.50960531], KSHIB[237.32708866], SHIB[254224.07339784], USD[0.00], USDT[0]                                                                 Yes

08006755                           CUSDT[2], DOGE[1], SHIB[14102269.01050793], TRX[1], USD[0.00]

08006760                           USD[0.00]                                                                                                                                                           Yes

08006776                           BAT[1.00038357], DOGE[271.35686093], MATIC[.00045784], SHIB[1325560.17667546], SUSHI[.00017245], TRX[2], USD[4.64], USDT[0], YFI[.00000004]                         Yes

08006779                           BTC[.02245028], CUSDT[6], DOGE[2792.97411706], ETH[1.08684345], ETHW[.66457638], LINK[5.48803815], MATIC[247.63922041], SHIB[11424442.87124834], SOL[9.46403829],
                                   TRX[313.72170695], USD[0.05], USDT[99.48243269]
08006780                           CUSDT[2], ETH[.01151694], ETHW[.01151694], SOL[2.05239275], USD[0.00]

08006790                           USD[12.69]

08006794                           BTC[0.00012451], CUSDT[4], DOGE[.00121421], ETH[.00237214], ETHW[.00234478], SOL[.17146689], USD[25.02]                                                             Yes

08006797                           NFT (538427679669115406/Microphone #3489)[1]

08006800       Contingent,         BTC[0], ETH[0], ETHW[0], SHIB[0], SOL[0], USD[0.02], USDT[0]                                                                                                        Yes
               Unliquidated
08006809                           BTC[.0010199], LINK[52.47452053], USD[0.00], USDT[0.00000006]

08006812                           BRZ[1], CUSDT[12], DOGE[2], ETHW[.17187792], SHIB[1], TRX[3], USD[0.00]                                                                                             Yes

08006814                           AAVE[.01586463], BTC[.00040519], CUSDT[3], DOGE[19.15975654], ETH[.00579015], ETHW[.00579015], GRT[4.5610025], PAXG[.00265111], USD[0.01], USDT[4.97402929]

08006816                           BTC[.00001331], CUSDT[1], USD[0.24]                                                                                                                                 Yes

08006817                           DOGE[1141], SHIB[11293300], USD[60.98]

08006833                           USD[5.00]

08006848                           BF_POINT[100], DOGE[103.40910164], SHIB[33493.8229665], SOL[.09036382], TRX[1], USD[0.02]

08006852                           BRZ[1], USD[0.00]

08006858                           CUSDT[4930.44890053], DOGE[391.24936985], GRT[105.652106], SHIB[1520199.41062219], TRX[1062.72251127], USD[0.12]                                                    Yes

08006861                           SOL[.83], SUSHI[10], USD[2.29]

08006869                           BTC[.000406], ETH[0], USD[0.93]

08006872                           CUSDT[5], DOGE[1276.37295041], GRT[1.00019173], SHIB[5976480.81138546], SOL[6.74406671], USD[0.04]                                                                  Yes

08006875                           BTC[.00000231], CUSDT[3], SHIB[1], TRX[0], USD[5.66]                                                                                                                Yes

08006882                           BAT[4.65602488], DOGE[19.68183195], KSHIB[801.17009289], SHIB[1], USD[0.00]                                                                                         Yes

08006887                           BRZ[1], CUSDT[2], SOL[6.82441562], USD[0.56]                                                                                                                        Yes

08006897                           BAT[1], BRZ[2], CUSDT[1], DOGE[4], GRT[111.12795109], NFT (488681042764483359/Shiba Vacation)[1], SHIB[154204.82223359], SOL[1.76473757], TRX[3], USD[0.01]         Yes

08006902                           SOL[18.49401316], USD[3.09], USDT[0]

08006908                           BTC[.02705493], DOGE[1], TRX[1], USD[0.00]

08006913                           CUSDT[4.38348354], SHIB[482845.78287878], USD[0.00]                                                                                                                 Yes

08006917                           DOGE[1], USD[0.00]                                                                                                                                                  Yes

08006918                           BTC[.0005], USD[0.00]

08006919                           CUSDT[1], DOGE[1], ETH[.02470913], ETHW[.02440506], SOL[2.18256393], USD[0.00]                                                                                      Yes

08006931                           USD[50.01]

08006933                           USD[2.18]
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                                                                                                                                             Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08006937                              BAT[1.01451511], BRZ[1], BTC[0], CUSDT[4], DOGE[4.00018265], ETH[0], GRT[1.00288087], LINK[0], MATIC[0], SHIB[0], SOL[0], SUSHI[0.00033881], TRX[10.02596967], UNI[.0002805], USD[0.01],   Yes
                                      USDT[1.08298664]
08006941                              BRZ[1], CUSDT[3], ETH[0], ETHW[0], TRX[1], USD[0.00]                                                                                                                                       Yes

08006949                              DOGE[1], TRX[441.06467334], USD[0.52]

08006955                              CUSDT[1], MATIC[0]                                                                                                                                                                         Yes

08006956                              SHIB[3000000], USD[1.37]

08006967                              DOGE[1064.9612204], SHIB[5174912.02649554], TRX[1], USD[0.00]

08006970                              CUSDT[1], DOGE[1214.69435879], NFT (561298105095596145/Imola Ticket Stub #887)[1], SHIB[1], TRX[1], USD[161.63]                                                                            Yes

08006971                              DOGE[2], SHIB[2869334.66491576], SOL[.54689599], USD[0.01]                                                                                                                                 Yes

08006973                              USD[10.00]

08006974                              CUSDT[2], SOL[6.78083598], TRX[188.30111107], USD[0.06]                                                                                                                                    Yes

08006987                              SUSHI[0], USD[2.73]

08006993                              ETH[.00246173], ETHW[.00243437], SHIB[79683.22992833], USD[0.00]                                                                                                                           Yes

08006994                              USD[50.01]

08006999                              USD[0.01]

08007001                              BTC[.02235876], CUSDT[17], DOGE[815.0676144], ETH[.24381202], ETHW[.24361588], SHIB[30], TRX[10], USD[0.00]                                                                                Yes

08007003                              TRX[1], USD[0.00]                                                                                                                                                                          Yes

08007005                              CUSDT[1], SHIB[1577743.76707819], USD[0.00]                                                                                                                                                Yes

08007015                              BAT[12.55777451], BF_POINT[200], CUSDT[249.32339174], DOGE[1], ETH[.00429927], ETHW[.00424455], LINK[2.20846871], MATIC[2.82522247], NFT (399259170967522001/Parallel Scene #7)[1],        Yes
                                      SUSHI[1.4355656], TRX[107.84038983], USD[0.00]
08007021                              USD[20.00]

08007022                              BTC[.0001986], USD[0.00]

08007028                              LINK[.32965513], SHIB[173671.4136853], TRX[93.13249373], USD[0.00]

08007036                              BTC[.00009747], CUSDT[1], USD[0.00]

08007037                              USD[20.00]

08007045                              BF_POINT[100], BRZ[1], CUSDT[28], SHIB[2], USD[0.01]

08007050                              BF_POINT[300], ETH[0], USD[0.00], USDT[0]                                                                                                                                                  Yes

08007059                              CUSDT[2], DOGE[1.00026229], TRX[1], USD[0.01]

08007062                              CUSDT[10], DOGE[1], KSHIB[1552.63328418], MATIC[50.21534701], SHIB[3207333.66200231], SOL[1.08903975], TRX[459.5886584], USD[60.50]                                                        Yes

08007076                              SOL[.1]

08007079                              CUSDT[5], DAI[.00003939], DOGE[1], SOL[0], TRX[1], USD[0.00], USDT[.71984336]

08007081                              BTC[.00015838], USD[0.00]                                                                                                                                                                  Yes

08007103                              CUSDT[7], DOGE[1], ETH[.00623432], ETHW[.00615224], GRT[16.35523427], SHIB[1], SOL[1.02120517], TRX[533.85039835], USD[13.59]                                                              Yes

08007105                              BRZ[1], CUSDT[2], DOGE[197.18577564], SHIB[5714425.8952243], USD[0.14]                                                                                                                     Yes

08007118                              SOL[21.3786], USD[0.00]

08007127                              BTC[.00780331], ETH[.08938722], ETHW[.08834704], SHIB[3], TRX[1], USD[0.00]                                                                                                                Yes

08007130                              USD[21.51]                                                                                                                                                                                 Yes

08007137                              USD[20.00]

08007144                              SHIB[197.11858145], USD[0.00]

08007150                              CUSDT[3], DOGE[3], ETHW[.01864314], SHIB[5], TRX[2], USD[23.79]                                                                                                                            Yes

08007153                              BRZ[1], MATIC[1.00012028], SHIB[1], TRX[1], UNI[1.07164027], USD[0.00], USDT[11863.45697556]                                                                                               Yes

08007173                              BRZ[1], BTC[.00876227], CUSDT[2], DOGE[1], KSHIB[.0072721], SHIB[1], TRX[46.93316485], USD[0.28]

08007179                              CUSDT[1], DOGE[1], SHIB[3830203.60791227], USD[0.00]

08007186                              BTC[.00336252], CUSDT[4907.20812235], DOGE[2], SHIB[9549550.91412089], TRX[1], USD[0.00]                                                                                                   Yes

08007190                              CUSDT[1], LINK[21.06365822], TRX[1], USD[0.00]                                                                                                                                             Yes

08007191                              SHIB[1898600], USD[2.20]

08007192                              DOGE[90.909], USD[0.42]

08007197                              USD[33.09]                                                                                                                                                                                 Yes

08007202                              CUSDT[2], ETH[.00316646], ETHW[.00312542], SHIB[197951.84523225], USD[0.00]                                                                                                                Yes

08007204                              BRZ[1], CUSDT[2], DOGE[344.82955035], SHIB[2952316.78307527], USD[1.00]                                                                                                                    Yes

08007205                              USD[21.51]                                                                                                                                                                                 Yes

08007209                              SOL[.02], USD[2.87]

08007212                              CUSDT[1], SHIB[1538272.72102465], USD[0.00]                                                                                                                                                Yes

08007217                              SHIB[182481.69726], USD[0.02]                                                                                                                                                              Yes

08007229                              CUSDT[1], TRX[1], USD[0.00], USDT[0]                                                                                                                                                       Yes

08007230                              USD[10.86]                                                                                                                                                                                 Yes

08007236                              USD[0.00]

08007238                              CUSDT[2], DOGE[1], SHIB[7253125.47492985], SOL[1.11692741], USD[0.00]                                                                                                                      Yes

08007242                              CUSDT[1], SHIB[856624.32446103], USD[5.00]

08007243       Contingent, Disputed   ETH[0], EUR[0.00], USDT[0]
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                                                                                                                                         Customer Claims                                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08007260                           CUSDT[1], NFT (373110138691737769/FTX - Off The Grid Miami #2005)[1], SOL[1.27002812], SUSHI[.00036373], TRX[2], USD[0.00]                                                      Yes

08007265                           ETHW[.06724519], SOL[.00000001], USD[0.01]

08007270                           BRZ[1], DOGE[1], USD[0.00]                                                                                                                                                      Yes

08007271                           USD[10.86]                                                                                                                                                                      Yes

08007272                           ETH[.00000001], ETHW[1.51097469], LINK[.00000001], USD[1100.20]                                                                                                                 Yes

08007279                           BAT[1], CUSDT[33], SHIB[27], SOL[0], TRX[19.89670952], USD[0.00], USDT[1.02543197]                                                                                              Yes

08007284                           BTC[.00355954], CUSDT[7], DOGE[222.61836606], ETH[.02511114], ETHW[.0247965], SHIB[1], SOL[.32275789], USD[0.00]                                                                Yes

08007288                           ETHW[.41876816], SHIB[.00000043], TRX[2], USD[0.00]                                                                                                                             Yes

08007290                           DOGE[35.65442066], USD[0.00]

08007292                           ETHW[.08676573], USD[119.27], USDT[0]                                                                                                                                           Yes

08007301                           BTC[.00090932], CUSDT[3], DOGE[3], ETH[.12424149], ETHW[.12308193], SHIB[1526838.71369177], SOL[1.38353931], USD[0.16]                                                          Yes

08007305                           SOL[.00000046], USD[0.01]                                                                                                                                                       Yes

08007309                           BTC[.00039217], CUSDT[1240.15924909], DOGE[189.12671445], ETH[.03687594], ETHW[.03641882], KSHIB[726.78559592], LTC[.06912529], SHIB[3002486.91262304], USD[0.00]               Yes

08007333                           USD[0.74]

08007335                           BTC[.0000761]

08007339                           BTC[.00000037], CUSDT[6], DOGE[313.46290687], SHIB[1191947.32753717], TRX[4], USD[26.19]                                                                                        Yes

08007341                           ETH[.20455677], ETHW[.20455677]

08007343                           CUSDT[4], DOGE[5], ETH[0.01823815], ETHW[0.01800924], SHIB[3], TRX[1], USD[0.00]                                                                                                Yes

08007344                           USD[10.86]                                                                                                                                                                      Yes

08007345                           SOL[4.16174], USD[9.96]

08007352                           BRZ[1], CUSDT[6], DOGE[5434.67140956], MATIC[507.56584948], SHIB[149721354.34288776], SOL[5.68063978], USD[3.78]                                                                Yes

08007354                           USD[1.77]

08007356                           DOGE[1], SHIB[358090.59362456], USD[0.00]                                                                                                                                       Yes

08007359                           DOGE[0.00000001], ETHW[1.0561986], USD[0.00]

08007360                           BTC[.00191964], CUSDT[6], SHIB[1], TRX[1], USD[0.01]                                                                                                                            Yes

08007369                           CUSDT[1], DOGE[1], SHIB[1883720.16845925], USD[0.00]                                                                                                                            Yes

08007380                           ETH[.00250068], ETHW[.00247332], SHIB[147678.44358523], USD[0.00]                                                                                                               Yes

08007387                           CUSDT[1], DOGE[1], GRT[1], SHIB[1], TRX[3], USD[0.01]                                                                                                                           Yes

08007398                           BTC[.00176115], CUSDT[1], DOGE[1], ETH[.02471741], ETHW[.02441298], USD[107.59]                                                                                                 Yes

08007400                           CUSDT[2], USD[0.00]

08007402                           BAT[1], BRZ[2], CUSDT[3], DOGE[2], TRX[2], UNI[1], USD[0.00], USDT[1]

08007405                           ETH[.083929], ETHW[.083929], USD[1.98]

08007414                           BTC[.0003996], LINK[2.997], MATIC[19.98], SHIB[2798200], SOL[5.51499], UNI[1.1988], USD[58.87]

08007416                           SHIB[141203.04998587], USD[0.00]

08007424                           NFT (468419958717929041/FTX - Off The Grid Miami #3674)[1]

08007432                           USD[0.01]                                                                                                                                                                       Yes

08007433                           BTC[.00008201], CUSDT[1], DOGE[34.29230514], ETH[.00079064], ETHW[.00079064], GRT[1.92817661], KSHIB[220.54924666], MATIC[2.50546431], MKR[.00079341], SHIB[219865.31891414],
                                   SOL[.03968079], SUSHI[.24776865], TRX[49.96088837], USD[0.00]
08007438                           BTC[.0009026], CUSDT[1], USD[0.01]                                                                                                                                              Yes

08007440                           DOGE[.85], SHIB[95600], USD[0.39]

08007444                           CUSDT[1], SHIB[1531359.80969394], USD[0.00]                                                                                                                                     Yes

08007445                           USD[20.00]

08007450                           BRZ[1], CUSDT[21], DOGE[7.00057537], GRT[692.29757597], LTC[1.89846343], SHIB[24867241.64024171], SOL[3.05663634], SUSHI[47.66804333], TRX[2047.73234407], USD[95.26]           Yes

08007452                           CUSDT[1], DOGE[1], USD[35.02]                                                                                                                                                   Yes

08007454                           SOL[.04225473], USD[0.00]

08007461                           CUSDT[2], DOGE[78.61464623], SHIB[306528.49532842], USD[0.00]                                                                                                                   Yes

08007463                           MATIC[.6076], USD[1150.10], USDT[.00039953]

08007466                           USD[0.00]

08007471                           CUSDT[1], SHIB[770015.92375047], USD[0.01]                                                                                                                                      Yes

08007472                           BRZ[1], ETH[.02515406], ETHW[.02483942], USD[0.00]                                                                                                                              Yes

08007475                           LTC[.0000046], USD[0.00]                                                                                                                                                        Yes

08007477                           ETH[0.00222309], ETHW[0.00222309]

08007479                           USD[0.00]

08007491                           USD[2.09]                                                                                                                                                                       Yes

08007494                           USD[543.02]                                                                                                                                                                     Yes

08007504                           DOGE[1092.98999408], SHIB[1], USD[0.12]                                                                                                                                         Yes

08007508                           NFT (307186234832708132/Toasty Turts #0174)[1], NFT (401926123195926844/Sloth #3295)[1], NFT (482565841196886718/#140)[1], NFT (557566133501420092/2429)[1], NFT                Yes
                                   (558826640807193197/#1943)[1], NFT (576187940808217034/Red Panda #6265)[1], SOL[.44103919], TRX[1], USD[0.00]
08007511                           CUSDT[2], DOGE[1], SHIB[3181378.05324976], USD[0.00]                                                                                                                            Yes

08007512                           BRZ[2], DOGE[35.0297764], SHIB[288211.03699979], TRX[1], USD[0.00], USDT[0]                                                                                                     Yes
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08007514                              DOGE[0], USD[13025.09], USDT[0]

08007523                              BTC[.00494102], CUSDT[5], ETH[.05476238], ETHW[.05408087], SHIB[2], USD[0.05]                                                                                                            Yes

08007528                              USD[200.00]

08007536                              USD[1000.00]

08007541                              BTC[.16344359], ETH[2.22178239], ETHW[2.22178239], USD[5000.00]

08007560                              BTC[.00343914], USD[50.00]

08007565                              CUSDT[1], MATIC[59.98423746], USD[0.00]

08007568                              BF_POINT[300], ETH[0], ETHW[0], USD[0.00]                                                                                                                                                Yes

08007577                              DOGE[2], USD[0.00], USDT[1.08310861]                                                                                                                                                     Yes

08007579                              BTC[.00353493], CUSDT[6], DOGE[1], ETH[.50415587], ETHW[.50394427], LINK[28.92259047], MATIC[114.03702586], SHIB[5], SOL[3.34275178], TRX[3], USD[0.00], USDT[53.0873382]                Yes

08007595                              NFT (313156168934867297/Shannon Sharpe's Playbook: Baltimore Ravens vs. Oakland Raiders - January 14, 2001 #102)[1], SHIB[0.57988611], USD[0.05]

08007601                              SHIB[3062691.64985628], TRX[1], USD[0.01]                                                                                                                                                Yes

08007602                              USD[6.80]                                                                                                                                                                                Yes

08007620                              USD[0.00]                                                                                                                                                                                Yes

08007625                              SHIB[1280819.72462375], TRX[1], USD[0.01]

08007629                              NFT (473338524881448649/Entrance Voucher #1935)[1], SOL[.02317946], USD[0.00]                                                                                                            Yes

08007633                              BRZ[1], CUSDT[6], DOGE[1], GRT[1], USD[0.00]

08007637                              BRZ[1], ETH[.05064919], ETHW[0.05001991], PAXG[0.05700871], SHIB[1085260.41319721], SOL[.87335713], TRX[1]                                                                               Yes

08007650                              LTC[.0279866], USD[0.00], USDT[0]

08007699                              BRZ[2], CUSDT[10], DOGE[2], SHIB[2290057.69762752], SOL[74.3901901], TRX[5], USD[0.81]                                                                                                   Yes

08007708                              BTC[.0131], USD[0.36]

08007710                              USD[0.00], USDT[.83815175]

08007711                              SUSHI[4.77814408], USD[0.08]                                                                                                                                                             Yes

08007712                              CUSDT[1], SHIB[5751828.88299798], USD[0.00]                                                                                                                                              Yes

08007713                              NFT (296883882074617906/White.Piercing.Marble)[1], NFT (322541000381831216/C)[1], NFT (333154674582088352/SKULL- BIT #16)[1], NFT (395459664272159862/C #8)[1], NFT                      Yes
                                      (460268186126809157/Bull Series#2)[1], NFT (509024779667989553/Black.8.Marble)[1], NFT (533854506478076067/C #2)[1], NFT (565797073868197123/Grey.Diver.Marble)[1], SHIB[1], USD[0.01]

08007717                              CUSDT[2], SHIB[15598398.80736421], USD[0.00], USDT[1.0860305]                                                                                                                            Yes

08007723                              SOL[0], TRX[1], USD[0.05], USDT[1.08256468]                                                                                                                                              Yes

08007724                              NFT (346096037369051565/DS01)[1], NFT (432638816411589845/DS01 #2)[1], NFT (440401258739278426/funkys)[1], NFT (506968276987323293/Faces)[1], USD[0.15]

08007726                              BRZ[1], DOGE[208.77757918], SHIB[5453590.62552437], USD[54.22]                                                                                                                           Yes

08007729                              BTC[.02855447], DOGE[3], ETH[.06384353], ETHW[.06305009], SHIB[20], TRX[1], USD[107.04]                                                                                                  Yes

08007732                              CUSDT[2], DOGE[1], USD[0.00]

08007753                              BRZ[2], KSHIB[557.38493937], SOL[.99475012], USD[0.02]

08007755                              MATIC[19.98], SHIB[2498200], SOL[.28971], USD[14.51]

08007768                              SHIB[0], TRX[0], USD[0.00]                                                                                                                                                               Yes

08007778                              USD[0.00]

08007780                              AVAX[22.97571382], BF_POINT[300], USD[8330.78]                                                                                                                                           Yes

08007781                              CUSDT[1], DOGE[198.00896894], SHIB[751963.61180698], TRX[1], USD[0.00]                                                                                                                   Yes

08007782                              BTC[.1792806], SOL[32.02862], USD[31.71]

08007786                              BAT[1], BRZ[5], BTC[.00000026], CUSDT[4], DOGE[11.10481855], GRT[1], NEAR[.00059128], SHIB[24], TRX[21.68568819], USD[0.00]                                                              Yes

08007796                              BAT[0], BTC[0], DOGE[0], ETH[0], LINK[0], MATIC[0], NFT (493061869706521743/5318)[1], SHIB[0.00000004], SOL[0], TRX[0], USD[0.02], USDT[0]                                               Yes

08007809                              USD[10.00]

08007813                              USD[500.00]

08007819                              AAVE[5.49719573], BAT[3.19918909], BRZ[1], BTC[.08834337], CUSDT[2469.64773549], DOGE[6174.28977782], ETH[.90969297], ETHW[.90931082], GRT[2.00810789], MATIC[496.41096307], NFT         Yes
                                      (483461839997630212/World of Voxi - Romeo)[1], SHIB[39462392.52121666], SOL[18.3632908], TRX[3], USD[1.80], USDT[192.72772718]
08007820                              BRZ[83.65449613], CUSDT[6], DOGE[192.22374934], KSHIB[185.20058303], SHIB[959778.56999749], SOL[.00000001], TRX[1], USDT[0]

08007822       Contingent, Disputed   SHIB[89.03312117], TRX[1], USD[0.00]                                                                                                                                                     Yes

08007826                              ETH[0], USD[0.00]                                                                                                                                                                        Yes

08007831                              BRZ[1], USD[0.49]

08007832                              NFT (417192736557341328/Saudi Arabia Ticket Stub #2061)[1]

08007833                              SOL[.18480378], USD[0.00]

08007834                              CUSDT[1], SHIB[788534.70149789], USD[0.01]                                                                                                                                               Yes

08007835                              USD[100.00]

08007840                              SHIB[1], SUSHI[23.68243078], USD[0.00]

08007841                              BTC[0], ETH[0], PAXG[0], USD[0.01], USDT[0]                                                                                                                                              Yes

08007846                              CUSDT[3], DOGE[288.04075015], SUSHI[4.5462415], USD[0.00]                                                                                                                                Yes

08007854                              BTC[.00138076], CUSDT[3], DOGE[1], ETH[.04470733], ETHW[.04415136], SHIB[300435.91980518], USD[0.03]                                                                                     Yes

08007856                              BTC[.00677115], CUSDT[4], DOGE[2], ETH[.06961904], ETHW[.06875585], SHIB[1151296.73634354], SOL[1.09597848], USD[0.30], USDT[1.08227799]                                                 Yes

08007857                              AVAX[.7491497], TRX[1], USD[0.49]                                                                                                                                                        Yes
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                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08007858                           SUSHI[9.6759245], TRX[1], USD[0.00]                                                                                                                                                   Yes

08007859                           AVAX[.49408165], BCH[.55126193], BRZ[1], BTC[.00669838], CUSDT[14], DOGE[1712.52962631], ETH[.06781164], ETHW[.06781164], KSHIB[7039.84722144], MATIC[174.84634395],
                                   SHIB[6846581.03800902], SOL[2.72780946], TRX[2370.86671716], UNI[20.58126601], USD[0.00], YFI[.00737266]
08007860                           CUSDT[1], SOL[2.17334707], USD[0.04]                                                                                                                                                  Yes

08007862                           BAT[18.40132168], CUSDT[3], DOGE[39.60841448], ETH[.00248285], ETHW[.00245547], SHIB[312389.0524815], SOL[.11140092], TRX[106.57192283], USD[10.86]                                   Yes

08007869                           BRZ[1], CUSDT[7], DOGE[2], LTC[.00000109], SOL[.00000001], USD[0.00]                                                                                                                  Yes

08007873                           BRZ[1], DOGE[.02117906], SHIB[12], USD[0.22]                                                                                                                                          Yes

08007896                           ETH[.00899145], ETHW[.00899145], LTC[.0499525], SHIB[2099335], USD[8.05]

08007897                           BTC[.25414485], ETH[1.00044231], MATIC[500.17811309], NFT (321996807314939550/FTX Crypto Cup 2022 Key #2645)[1], NFT (410440190780777972/The Hill by FTX #6467)[1], USD[2603.53],     Yes
                                   USDT[0]
08007899                           BTC[0], USD[0.00], USDT[0.00000001]

08007903                           CUSDT[3], KSHIB[2.99999373], SHIB[300077.4], USD[0.01]

08007905                           BRZ[1], CUSDT[9], DAI[.00046509], DOGE[.2995915], LTC[.00631866], SHIB[2], TRX[4], USD[0.25]                                                                                          Yes

08007911                           SHIB[600000], USD[157.89]

08007912                           CUSDT[1], DOGE[193.44299599], SHIB[780972.63120399], USD[0.00]                                                                                                                        Yes

08007914                           NFT (319265050024660452/FTX - Off The Grid Miami #1992)[1], USD[0.27]                                                                                                                 Yes

08007926                           CUSDT[1094.04716898], TRX[233.58592391], USD[0.00]                                                                                                                                    Yes

08007929                           CUSDT[4], SHIB[946001.58606173], USD[38.35]                                                                                                                                           Yes

08007930                           MATIC[4.34], SOL[342.20000000], USD[26.51], USDT[0]

08007949                           SHIB[10157658.87708649], USD[1.00]

08007954                           BRZ[1], BTC[0], DOGE[1], ETH[0], USDT[0]                                                                                                                                              Yes

08007955                           NFT (530605863176193252/Entrance Voucher #3113)[1]                                                                                                                                    Yes

08007956                           BF_POINT[100]                                                                                                                                                                         Yes

08007961                           BTC[.00350673], CUSDT[1], DOGE[395.41150069], TRX[1], USD[0.00]                                                                                                                       Yes

08007965                           BRZ[1], DOGE[1], SHIB[1430410.52782148], TRX[1], USD[0.00]

08007969                           BTC[.0211], ETH[.134], ETHW[.134], LTC[2.55], SOL[.49], USD[2.85]

08007971                           SOL[.44955], USD[12.65]

08007980                           SHIB[1], TRX[0], USD[0.00]                                                                                                                                                            Yes

08007985                           USD[0.00], USDT[0]

08007990                           CUSDT[1], SUSHI[2.04078892], USD[28.27]                                                                                                                                               Yes

08007995                           BRZ[1], DOGE[1], USD[0.00]                                                                                                                                                            Yes

08007999                           NFT (294771204202691332/Birthday Cake #2929)[1], NFT (423504598495754556/2974 Floyd Norman - OKC 5-0118)[1], SOL[0.00000001], USD[0.00], USDT[0]                                      Yes

08008001                           CUSDT[4], SHIB[2], TRX[2], USD[44.23]

08008004                           BTC[.1723747], USD[5.31]

08008010                           BRZ[2], DOGE[2], SHIB[13], USD[20.72]                                                                                                                                                 Yes

08008011                           SHIB[394.36128131]                                                                                                                                                                    Yes

08008015                           USD[10.00]

08008029                           BRZ[2], CUSDT[2], DOGE[1], NFT (402754811004620873/World of Pixel #16)[1], SHIB[1], SOL[2.39736888], TRX[1], USD[0.00]

08008032                           BTC[.00163756], CUSDT[1], TRX[1], USD[0.00]                                                                                                                                           Yes

08008041                           BRZ[24.41225761], CHF[0.91], CUSDT[147.42696134], DAI[.99505023], DOGE[1], ETH[0.02348883], ETHW[0.02320155], EUR[0.86], KSHIB[18.01728758], LINK[.02670596], SHIB[28633.32531311],   Yes
                                   SOL[.01635223], TRX[9.7811237], USD[0.00], USDT[.99519517], ZAR[15.20]
08008042                           BAT[0], BRZ[1], CUSDT[0], DOGE[1], SHIB[4], SOL[0], TRX[2], USD[0.01], USDT[0]                                                                                                        Yes

08008049                           CUSDT[2], ETH[.01243725], ETHW[.01228677], SHIB[766091.44337441], USD[0.00]                                                                                                           Yes

08008052                           CUSDT[1], DOGE[1], USD[0.01]

08008058                           CUSDT[1], ETH[.00000044], ETHW[.00000044], SHIB[1], TRX[1], USD[0.02]                                                                                                                 Yes

08008081                           BTC[.00046442], DOGE[1], USD[0.03]                                                                                                                                                    Yes

08008089                           USD[100.00]

08008093                           CUSDT[246.46053919], SHIB[153304.71810349], TRX[105.55244395], USD[0.00]                                                                                                              Yes

08008100                           USD[16.29]                                                                                                                                                                            Yes

08008101                           ETH[.11663935], ETHW[.11663935], TRX[1], USD[0.00]

08008102                           USD[10.86]                                                                                                                                                                            Yes

08008104                           USD[0.01]

08008107                           ETH[.714987], ETHW[.714987], USD[3.40], USDT[10]

08008116                           BCH[1.04519645], CUSDT[3], GRT[1], USD[0.00]

08008119                           BTC[.00047911], CUSDT[1], DOGE[79.71456826], USD[0.04]                                                                                                                                Yes

08008120                           BAT[202.02688541], BTC[.00440258], CUSDT[1], TRX[1], USD[0.01]                                                                                                                        Yes

08008125                           USD[0.00], USDT[19.8941114]

08008132                           CUSDT[1], SHIB[2], USD[0.00]

08008136                           USD[0.85]

08008139                           USD[10.86]                                                                                                                                                                            Yes
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                                                                                                                                         Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08008143                           CUSDT[2], DOGE[1], SOL[.00009345], TRX[3], USD[0.00], USDT[1.08434717]                                                                                                              Yes

08008145                           BTC[.0000997], USD[97.25]

08008152                           TRX[1], USD[0.00], USDT[.25336633]

08008154                           BTC[.00072648], CUSDT[2], USD[2.70], USDT[0]                                                                                                                                        Yes

08008170                           CUSDT[1], SHIB[366607.99720586], USD[0.00]                                                                                                                                          Yes

08008173                           ETH[.00311619], ETHW[.00311619], MATIC[150], USD[0.00]

08008175                           CUSDT[5], DOGE[1], SHIB[2640340.90414148], TRX[315.80357551], USD[0.00]                                                                                                             Yes

08008176                           BTC[.1057], DAI[3998.8], ETH[3.28671], ETHW[3.28671], LINK[224.1756], USD[518.74]

08008187                           SHIB[154637.69627728], USD[0.00]                                                                                                                                                    Yes

08008191                           USD[20.00]

08008193                           SHIB[0], USD[4.06]

08008202                           BTC[0], USD[0.78]

08008203                           ETH[.00001837], SOL[.00000001], USD[1.35], USDT[0]                                                                                                                                  Yes

08008213                           ALGO[.0435828], BAT[3], BRZ[7.064844], CUSDT[1], DOGE[10.01654575], ETH[.00007683], ETHW[9.17353878], GRT[2.0002718], LINK[1.0051221], MATIC[.00941703], SHIB[8], SOL[.00164102],   Yes
                                   TRX[17.10165098], USD[3048.48], USDT[107.50869050]
08008219                           CUSDT[3], DOGE[391.07200939], SHIB[5399359.23992923], SOL[2.08576469], USD[2.15], USDT[207.84994822]                                                                                Yes

08008226                           USD[21.72]                                                                                                                                                                          Yes

08008229                           BTC[0], USD[9617.58]

08008233                           BTC[0], ETH[0], MATIC[0], SHIB[0], SOL[0], USD[0.00], USDT[0]

08008235                           CUSDT[1], SOL[.00000777], TRX[1], USD[396.75]                                                                                                                                       Yes

08008238                           ETH[.02292114], ETHW[.02292114], TRX[.00000163], UNI[.00000034], USD[0.00]

08008241                           SOL[0.07914025], USD[0.00]

08008243                           USD[10.00]

08008251                           GRT[1.00312819], USD[0.00]                                                                                                                                                          Yes

08008252                           USD[20.00]

08008255                           BRZ[1], BTC[.00000001], CUSDT[6], SHIB[4], SOL[.48412678], USD[0.00]                                                                                                                Yes

08008261                           CUSDT[4], DOGE[2], SOL[.00082732], TRX[1], USD[0.22], USDT[1]

08008270                           CUSDT[1], SHIB[1386524.75653983], USD[0.00]                                                                                                                                         Yes

08008274                           ETH[.00000001], LINK[0], LTC[0], USD[4074.52], USDT[0.00000033]

08008282                           USD[15.00]

08008290                           BAT[9.32741691], USD[0.00]                                                                                                                                                          Yes

08008291                           BRZ[1], TRX[1], USD[181.62]                                                                                                                                                         Yes

08008293                           CUSDT[1], SHIB[765119.50334453], USD[0.00]                                                                                                                                          Yes

08008295                           CUSDT[3], SOL[.10769409], USD[0.01]

08008308                           USD[1.08]

08008313                           USD[0.00]

08008317                           BTC[0], USD[0.00]

08008318                           USD[0.00], USDT[2.54992528]

08008321                           BTC[.00046034], CUSDT[5], DOGE[126.66761816], ETH[.00652718], ETHW[.0064451], MATIC[9.68144094], NFT (346043374543902525/Imola Ticket Stub #1930)[1], NFT                           Yes
                                   (360322502474896976/Barcelona Ticket Stub #2082)[1], UNI[1.31195265], USD[0.00]
08008323                           BTC[.00014409], CUSDT[1], ETH[0.00000087], ETHW[0.00000087], LINK[1.64809862], SHIB[2], USD[166.95], USDT[0.00005675]                                                               Yes

08008331                           CUSDT[2], DOGE[1], SHIB[20196542.44088909], TRX[1], USD[5.01]

08008338                           BTC[.0031997], CUSDT[1239.78221529], DOGE[2], ETH[.03789376], ETHW[.03742532], SOL[.48877441], TRX[3], USD[0.00]                                                                    Yes

08008353                           SOL[1.78], USD[1.91]

08008355                           DOGE[1], GRT[439.56146529], USD[0.74]                                                                                                                                               Yes

08008358                           ALGO[4494.29341642], AVAX[133.80206985], BRZ[3], BTC[.13808612], CUSDT[5], DOGE[10.04772576], ETH[3.38755035], ETHW[3.38635512], GRT[11330.76938454], LINK[127.94447616],           Yes
                                   MATIC[2202.25066646], NEAR[979.9065472], SHIB[12138322.48587498], SOL[100.44615557], TRX[8], USD[0.00], USDT[2.10881477]
08008359                           SHIB[5538.15056330], SOL[0], TRX[.00000001], USD[0.00], USDT[0]                                                                                                                     Yes

08008361                           BAT[1.01513617], BRZ[1], SHIB[7654271.35632761], TRX[1440.04865948], USD[0.00]                                                                                                      Yes

08008364                           CUSDT[1], SHIB[200140.59075614], USD[0.00]                                                                                                                                          Yes

08008369                           CUSDT[1], DOGE[2], SHIB[2.00000009], SOL[28.54203256], SUSHI[0], USD[0.00]                                                                                                          Yes

08008370                           ALGO[0], BRZ[4], BTC[0], DOGE[1], ETH[0], ETHW[0], GRT[0], KSHIB[0], LTC[0.03295210], NFT (364623521563030069/Scoop #154)[1], NFT (369190629159532874/Lorenz #77)[1], NFT           Yes
                                   (432708156443647701/Entrance Voucher #3807)[1], SHIB[4], SOL[0], SUSHI[0], TRX[0], USD[0.00]
08008375                           BRZ[1], TRX[1], USD[0.00]                                                                                                                                                           Yes

08008377                           BAT[54.24037205], BRZ[4], CUSDT[10], DOGE[4], ETH[.0234938], ETHW[.02320652], KSHIB[121.72210998], LTC[.19525415], SHIB[116220.66909924], SUSHI[7.16464096], TRX[1], USD[0.97],     Yes
                                   USDT[0], YFI[.00184331]
08008389                           SHIB[536540.83560662]                                                                                                                                                               Yes

08008392                           BTC[0], ETH[1.43380769], ETHW[0], LINK[27], SOL[6.10000000], TRX[0], USD[0.02], USDT[10]

08008394                           CUSDT[1], SHIB[1], TRX[1], USD[0.00]

08008400                           BAT[.00131091], BRZ[256.05240845], CUSDT[6], ETHW[4.7769291], LINK[.0001904], MATIC[.00063829], NEAR[.00049681], SHIB[58.14299326], SOL[.00111561], SUSHI[.00095713],               Yes
                                   TRX[3378.00499898], UNI[.0003061], USD[0.00], USDT[1.02891801]
08008403                           BTC[.0001], USD[4.47]

08008410                           USD[108.33]                                                                                                                                                                         Yes
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                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08008411                              BRZ[1], CUSDT[1], SOL[1.27532341], USD[0.00]                                                                                                                                        Yes

08008417                              AVAX[0], MATIC[0], NFT (379078597934407203/Entrance Voucher #2648)[1], SOL[0], USD[0.00]                                                                                            Yes

08008424                              SHIB[2657350.39174388], USD[0.00]                                                                                                                                                   Yes

08008433                              AVAX[1.62263615], BRZ[2], CUSDT[3], DOGE[1], ETH[1.63933015], ETHW[1.60206508], NFT (374719694954434192/Founding Frens Lawyer #235)[1], NFT (394717643971738613/Founding Frens      Yes
                                      Investor #600)[1], SHIB[8], SOL[21.00546438], TRX[1], USD[-160.00]
08008436                              BTC[.0097981], USD[511.92]

08008440                              BAT[9.32741692], SHIB[152744.11012001], SUSHI[.95596746], USD[0.00]                                                                                                                 Yes

08008443                              BTC[.02], ETH[7], ETHW[7], SHIB[8700000], SOL[20], USD[3.61]

08008451                              CUSDT[2], DOGE[1], SHIB[972803.40757788], USD[0.00]                                                                                                                                 Yes

08008454                              ETH[0], USD[0.00]                                                                                                                                                                   Yes

08008455                              USD[10.00]

08008461                              CUSDT[3], SOL[.4402454], TRX[1038.158537], USD[0.09]                                                                                                                                Yes

08008472                              CUSDT[1], SHIB[5791.55631176], TRX[1], USD[0.00]

08008485                              BRZ[1], BTC[.00000037], DOGE[2], ETH[.00000558], ETHW[.00000558], GRT[1], SHIB[2], SOL[.00000001], USD[0.00], USDT[0]                                                               Yes

08008486                              TRX[105.45549357], USD[0.00]                                                                                                                                                        Yes

08008489                              SOL[.00000119], USD[0.00]

08008494                              CUSDT[2225.83799845], DOGE[1842.68688025], TRX[.00577165], USD[0.00]                                                                                                                Yes

08008497                              CUSDT[1], USD[0.00]

08008502                              SOL[1.16]

08008507                              BAT[.00189292], CUSDT[5], DOGE[1], TRX[1], USD[0.00]                                                                                                                                Yes

08008514                              USD[0.00]

08008518                              CUSDT[4], DOGE[1], TRX[1], USD[191.27]                                                                                                                                              Yes

08008520                              BTC[.00033238]                                                                                                                                                                      Yes

08008526                              BTC[0], ETH[0], USD[0.00], USDT[0]

08008528                              CUSDT[2], USD[0.00]                                                                                                                                                                 Yes

08008530                              DOGE[2], ETH[.00000085], ETHW[.00000085], TRX[1], USDT[0]                                                                                                                           Yes

08008545                              USD[20.00]

08008547                              BRZ[1], BTC[.0010922], CUSDT[3], DOGE[1], ETH[.08075255], ETHW[.07975757], LINK[23.4380665], MATIC[4.41796864], TRX[1], USD[0.00]                                                   Yes

08008555                              BRZ[1], CUSDT[2], DOGE[1], GRT[1.00019173], SOL[.00000001], TRX[1], USD[0.00]                                                                                                       Yes

08008569                              SOL[0], USD[0.00]

08008574                              USD[0.10]                                                                                                                                                                           Yes

08008577                              SOL[.00877584], USD[0.00]

08008580                              DOGE[1], SOL[.04270273], USD[0.00]

08008586                              SOL[20.92], USD[6.93]

08008590                              BTC[.008], USD[6.25]

08008593                              BAT[50.12487268], BTC[.16877494], CUSDT[1232.71485546], DOGE[1042.72479868], KSHIB[217.84359817], MATIC[28.14244233], SHIB[9134462.08681619], SOL[1.10672861], SUSHI[9.38567427],   Yes
                                      TRX[2], USD[0.76]
08008594                              DOGE[1], KSHIB[7060.35886674], USD[0.11]                                                                                                                                            Yes

08008596                              ETH[.00000001], SOL[.00000001], USD[0.01], USDT[0]

08008602                              BAT[77.99048189], BCH[.21735447], BTC[.00310405], CUSDT[4933.41602585], DOGE[193.42848496], ETH[.0220474], ETHW[.0217738], SHIB[905633.13651026], SOL[.22025506],                   Yes
                                      TRX[535.07175943], USD[0.24]
08008606                              CUSDT[2], KSHIB[0], SHIB[3.32183413], USD[14.17]                                                                                                                                    Yes

08008607                              BTC[.00019434]                                                                                                                                                                      Yes

08008610                              SOL[.00000001]                                                                                                                                                                      Yes

08008611                              USD[20.00]

08008613                              BAT[79.08613781], BTC[.00196112], CUSDT[4], NFT (536133780580791223/Imola Ticket Stub #476)[1], SHIB[3156426.97505946], USD[0.00]

08008614                              ETH[.00000001], USD[0.09]

08008623                              CUSDT[6], TRX[2.14521099], USD[45.18]                                                                                                                                               Yes

08008626                              BTC[.00231786], TRX[1], USD[0.00]                                                                                                                                                   Yes

08008628                              SHIB[73103.65751162], USD[16.29]                                                                                                                                                    Yes

08008630       Contingent, Disputed   ETHW[.01]

08008636                              SOL[.0039], USD[0.01]

08008638                              USD[1.52]

08008649                              BRZ[2], BTC[.00088976], CUSDT[1], MATIC[6.04821069], MKR[.00060946], SHIB[163592.14051683], SOL[.13510903], USD[5.25]

08008658                              USD[0.00], USDT[0]

08008664                              TRX[1], USD[0.00]

08008665                              BTC[.00160962], DOGE[1], USD[0.00]

08008669                              CUSDT[1], SHIB[562113.54693648], USD[0.01]

08008670                              SHIB[24086720.43417809]                                                                                                                                                             Yes

08008681                              SOL[.0048], USD[17.54], USDT[0]
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                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08008703                              CUSDT[3], DOGE[1], SHIB[2119924.7109438], TRX[1], USD[0.00]

08008704                              BAT[.00000001], ETH[0], ETHW[0.11195100], USD[2.42]

08008714                              USD[10.00]

08008715                              ETH[.00000001], ETHW[0], SOL[152.74367438]

08008716                              TRX[1], USD[0.00]                                                                                                                                                                   Yes

08008719                              CUSDT[1], SHIB[1528932.43028686], USD[0.00]                                                                                                                                         Yes

08008733                              BTC[0.00009760], ETH[0.00092598], ETHW[0.00092598], NFT (504053530783265952/Ego Series)[1], USD[0.01]

08008736                              BAT[1], BRZ[1], BTC[0], DOGE[1], ETHW[0], GRT[1], LINK[0], MATIC[0], SHIB[18], TRX[4], USD[0.01], USDT[0]                                                                           Yes

08008766                              BRZ[2], BTC[.15213039], ETH[.9399886], ETHW[.93959392], SOL[1.4736705], TRX[1], USD[2.08]                                                                                           Yes

08008768                              ETH[.00000001], ETHW[0], MATIC[19.35773649], USD[0.27], USDT[0.00000001]

08008782                              SHIB[70631.44511936], TRX[40.97833494], USD[0.00]

08008784                              BTC[.0032], SHIB[11897700], USD[1.27]

08008799                              CUSDT[1], SHIB[7066139.06161673], USD[0.00]

08008800                              BTC[.0000999], DOGE[28.971], ETH[.000999], ETHW[.000999], SUSHI[.4995], USD[25.53]

08008805                              BTC[.00041821], DOGE[54.34121769], ETH[.00212098], ETHW[.00212098], USD[0.00]

08008822                              USD[1.58]

08008826                              CUSDT[3], USD[9.98]

08008830                              MATIC[2.50978016], USD[0.00]                                                                                                                                                        Yes

08008839                              BRZ[3], CUSDT[2], DOGE[2], ETHW[.81396672], GRT[1.00312819], NFT (355452923484672747/Eitbit Ape #1369)[1], SHIB[1], TRX[3], USD[21036.50]                                           Yes

08008841                              BRZ[3], CUSDT[1], DOGE[4], SHIB[9], TRX[3], USD[0.01]

08008849                              USD[0.00]

08008853                              BTC[.00082555], CUSDT[4], DOGE[.00676217], LINK[.6072705], USD[0.00]                                                                                                                Yes

08008855                              SHIB[551369.76430988], USD[5.29]                                                                                                                                                    Yes

08008858                              CUSDT[1], DAI[3.07211457], DOGE[1], ETH[.50801428], ETHW[.50780084], SHIB[1], TRX[7], USD[0.00], USDT[0.00466758]                                                                   Yes

08008867                              USD[100.00]

08008870                              BTC[0], ETH[.00000003], ETHW[.00000003], SOL[0], USD[0.00]                                                                                                                          Yes

08008872                              USD[20.00]

08008873                              BAT[.00010129], SHIB[1], TRX[.00405904], USD[0.01]                                                                                                                                  Yes

08008876                              USD[0.00]                                                                                                                                                                           Yes

08008884                              NFT (296256148408313899/GSW Western Conference Finals Commemorative Banner #712)[1], NFT (316382807986567461/GSW Western Conference Semifinals Commemorative Ticket #337)[1], NFT
                                      (352980325771609084/GSW Western Conference Finals Commemorative Banner #711)[1], NFT (366986760793832927/GSW 75 Anniversary Diamond #233)[1], NFT (391248864808596811/GSW
                                      Championship Commemorative Ring)[1], NFT (395963384410694837/GSW Western Conference Finals Commemorative Banner #710)[1], NFT (422444739823548769/GSW Round 1 Commemorative
                                      Ticket #234)[1], NFT (502433547586267179/GSW Championship Commemorative Ring)[1], NFT (518633014601267915/GSW Western Conference Semifinals Commemorative Ticket #336)[1], NFT
                                      (520007925820591959/GSW 75 Anniversary Diamond #734)[1], NFT (535593565363911662/GSW Western Conference Finals Commemorative Banner #709)[1], USD[14.47]

08008885                              CUSDT[1], SHIB[158068.68802988], USD[0.00]

08008895                              SOL[.2], USD[0.00], USDT[0]

08008912                              BTC[0], ETH[.00229387], USD[0.00]

08008922                              BTC[0], SOL[0.13788848], USD[0.00]

08008927                              CUSDT[2], DOGE[1], TRX[1], USD[0.00]                                                                                                                                                Yes

08008932                              ETH[2.85264639], ETHW[2.85264639], USD[1.17]

08008933                              DOGE[735], USD[0.00], USDT[0.00019772]

08008940                              ETHW[.19124522], USD[0.00], USDT[0]

08008941                              BTC[.0005], ETH[.002], ETHW[.002], GRT[3], SOL[.027], USD[0.79]

08008944                              BTC[0.00025566], SHIB[200000], USD[0.00]

08008949                              USD[20.00]

08008951                              USD[10.86]                                                                                                                                                                          Yes

08008956                              USD[0.00], USDT[0.00034145]

08008967       Contingent, Disputed   SHIB[1], USD[0.00]                                                                                                                                                                  Yes

08008972                              NFT (391789871298673384/FTX - Off The Grid Miami #144)[1]

08008975                              ETH[.022], ETHW[.022], USD[0.18]

08008977                              NFT (363824492967262994/Entrance Voucher #2567)[1], SOL[.86759864]                                                                                                                  Yes

08008978                              CUSDT[1], SOL[1.10857909], USD[0.00]                                                                                                                                                Yes

08008982                              CUSDT[3], DOGE[3], ETH[.00007621], MATIC[.00923765], SHIB[4], TRX[4], USD[0.00], USDT[0]                                                                                            Yes

08008990                              AAVE[.00000005], CUSDT[.02920146], SHIB[.90508797], SUSHI[.00002744], USD[0.01]                                                                                                     Yes

08008994                              USD[1.00]

08009000                              CUSDT[4], DOGE[37.5491899], ETH[.0296725], ETHW[.0296725], USD[7.00]

08009004                              BAT[5.63645103], DOGE[1], KSHIB[45.56451472], TRX[1], USD[0.00]                                                                                                                     Yes

08009006                              CUSDT[1], DOGE[1], NFT (298788497589277002/Genius)[1], NFT (300295715656561982/#017)[1], NFT (301649938380252577/Skull crusher)[1], NFT (338629882557321490/Cybertron)[1], NFT      Yes
                                      (339040238916671469/Crypto Avatar Art #31)[1], NFT (344295795995019748/DOTB #7877)[1], NFT (375860588110488220/Rare Art #18)[1], NFT (392435685662022726/05x-BO)[1], NFT
                                      (414351237892746022/Eitbit Ape #1859)[1], NFT (494955790382701652/Toxicity)[1], NFT (502233818175551972/Dream Land #20)[1], NFT (516986889444999193/Gun power)[1], NFT
                                      (562311084863235774/Nifty Nanas #6518)[1], NFT (566691738035335917/Nifty Nanas #6881)[1], SOL[.00743744], USD[37.37]
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                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08009007                           BAT[6.01779293], BTC[.00051919], CUSDT[7], ETH[.0078213], ETHW[.00772554], KSHIB[24.65060392], LTC[.03678946], SOL[.04339736], TRX[85.43960019], USD[0.01]                            Yes

08009008                           DOGE[245.59760603], SHIB[3267129.63799546], USD[0.00]                                                                                                                                 Yes

08009013                           NFT (520956439659902859/USB #3111)[1]

08009033                           BAT[1], DOGE[500], SHIB[2000001], TRX[1], USD[5.25]

08009035                           BRZ[1], SHIB[1], USD[218.75]                                                                                                                                                          Yes

08009040                           USD[0.01]

08009047                           CUSDT[2], DOGE[80.75108429], SHIB[326169.35569375], USD[10.87]                                                                                                                        Yes

08009053                           ALGO[320.41166926], BTC[.00651031], ETH[1.54745275], ETHW[1.12790975], LINK[66.5334], NEAR[42.6108], SOL[4.82528992], TRX[1891.33990813], USD[8.23], USDT[15.47742014]

08009055                           USD[150.00]

08009057                           BTC[.0002835], SHIB[1], TRX[381.22730219], USD[0.00]                                                                                                                                  Yes

08009061                           SHIB[7796700], USD[5.03]

08009062                           BAT[1.01615646], SHIB[1], USD[1049.77]                                                                                                                                                Yes

08009063                           ETH[.00000001]

08009075                           SHIB[1099300], USD[3.65]

08009081                           CUSDT[1], SHIB[1588867.28225019], USD[0.00]                                                                                                                                           Yes

08009085                           SOL[.02649115], USD[0.00]

08009089                           BTC[.01764239], LINK[8.22949134]

08009102                           USD[0.18]                                                                                                                                                                             Yes

08009105                           SOL[10.07], USD[0.00]

08009108                           USD[54.30]                                                                                                                                                                            Yes

08009123                           NFT (550392878784775528/Fruit Series )[1], USD[0.60]

08009130                           USD[3.33]

08009132                           BTC[.0002997], USD[6.15]

08009155                           BTC[.00003264], SHIB[27874.56445993], USD[6.00]

08009157                           BTC[.0000011], SHIB[304798.88380689], TRX[1], USD[0.00]                                                                                                                               Yes

08009160                           ETH[.24295424], ETHW[0.24295423], USD[0.00]

08009162                           CUSDT[2], DOGE[1], USD[0.00]

08009173                           ALGO[1101], AVAX[2.7], ETHW[.93582], MATIC[450], USD[0.00]

08009180                           BTC[.00100332], CUSDT[2], PAXG[.01129683], USD[0.00]                                                                                                                                  Yes

08009184                           BTC[0], ETH[0], LINK[10.13969133], USD[0.00]

08009187                           BRZ[18.02313923], CUSDT[50.52525196], KSHIB[134.3581095], SHIB[172703.23578261], TRX[279.37193268], USD[0.00]                                                                         Yes

08009197                           DOGE[1], USD[0.01]                                                                                                                                                                    Yes

08009198                           BTC[.00000149], DOGE[1], ETH[.00000288], ETHW[.31557343], SOL[5.78637451], UNI[7.946639], USD[0.00]                                                                                   Yes

08009201                           USD[0.04]

08009203                           USD[1.80]

08009205                           CUSDT[1], GRT[31.55031813], SHIB[172200.50244224], USD[0.00]                                                                                                                          Yes

08009207                           BAT[1], BTC[0.00000050], DOGE[2], NFT (387070877149056251/YMH KEY #2325)[1], NFT (422481483099606261/Gods and Titans Mint Pass #14)[1], NFT (517228098103798901/Bloom. 🌸              Yes
                                   #2325)[1], NFT (544703426440871243/#420)[1], NFT (556602882245668310/Bronze Ring)[1], SHIB[1], SOL[.00936145], TRX[1], USD[0.00], USDT[3.08366957]
08009210                           NFT (494277866858369249/Coachella x FTX Weekend 2 #18009)[1], USD[131.19]                                                                                                             Yes

08009222                           USD[0.01]

08009223                           DOGE[0], SHIB[139516765.94770882], USD[0.00]

08009226                           SOL[.00888997], SUSHI[.425], USD[0.08]

08009231                           USD[10.00]

08009236                           BRZ[1], BTC[.01930635], DOGE[1], GRT[1], NFT (328508027690964705/Joesiah, the Innocent)[1], NFT (372576654904997976/Sollama)[1], NFT (391715505230638290/Little Rocks #394)[1], NFT
                                   (432728841425137350/Sigma Shark #1264)[1], SOL[3.6389473], TRX[1], UNI[31.56068776], USD[0.00]
08009237                           CUSDT[1], DOGE[1], USD[0.00]

08009241                           USD[500.01]

08009242                           TRX[1], USD[0.00]

08009244                           SHIB[1507840.77201447], TRX[1], USD[0.00]

08009245                           SHIB[13.86244307], USD[0.01]                                                                                                                                                          Yes

08009246                           BAT[68.74390472], BRZ[2], BTC[.07851315], CUSDT[5], DOGE[5], ETH[.01419426], ETHW[.01401642], SHIB[504423.85840385], SOL[53.63502219], TRX[7], USD[0.04]                              Yes

08009249                           AAVE[9.42687907], ALGO[3077.17322368], AVAX[119.05192181], ETH[.00000001], ETHW[3.61063483], LINK[245.04258501], LTC[15.42977197], MKR[.58288716], PAXG[.50584162],                   Yes
                                   TRX[52922.6555985], UNI[304.37420571], USD[2.15], USDT[0.00000001]
08009254                           USD[20.00]

08009256                           CUSDT[1], NFT (365757614558400561/CatFamilya)[1], NFT (457953257043718249/Space ocean )[1], NFT (488567978621183596/Chitto #23)[1], SOL[1.13519834], TRX[1032.26733818], USD[0.02]

08009266                           BAT[16.1233316], CUSDT[1], USD[0.00]                                                                                                                                                  Yes

08009269                           BTC[.00091829], USD[0.00]                                                                                                                                                             Yes

08009275                           CUSDT[1], DOGE[1], SOL[.82312035], USD[100.00]

08009283                           TRX[.000046], USD[7366.90]

08009285                           SHIB[77066.82445216], USD[0.00], USDT[.99572103]                                                                                                                                      Yes
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08009292                           CUSDT[1], DOGE[451.80192807], USD[0.00]

08009295                           DOGE[17.88736739], GRT[.94198628], LTC[.00516997], SHIB[15297.53709652], SOL[.00501874], TRX[1], USD[0.00], USDT[.99440826]

08009299                           BTC[.00032309], CUSDT[3], ETH[.00499169], ETHW[.00492414], KSHIB[302.68089004], SHIB[317842.37089637], SOL[.11220059], USD[0.00]                                                                 Yes

08009305                           USD[20.00]

08009308                           DOGE[1], USD[0.00]

08009309                           BTC[.04053335], CUSDT[1], DAI[1.1], DOGE[4.995], ETH[.063966], ETHW[.063966], KSHIB[60], PAXG[.0262], SHIB[699300], SOL[.42957], TRX[1], USD[0.03], USDT[.00463297]

08009313                           AAVE[1.05951991], AUD[0.00], CUSDT[1], ETH[0], ETHW[0], MATIC[106.50859912], SOL[0.00003650], SUSHI[0], USD[0.00]                                                                                Yes

08009318                           USD[10.86]                                                                                                                                                                                       Yes

08009322                           BRZ[1], SOL[2.59368119], USD[0.00]

08009327                           CUSDT[1], LTC[.54734962], USD[0.05]                                                                                                                                                              Yes

08009334                           USD[9.08]

08009343                           AAVE[.00049444], AVAX[16.983], BTC[.0143714], ETH[.152695], ETHW[.152695], LINK[.0433758], LTC[4.44903025], MATIC[609.81], SOL[.00453], USD[1417.82], USDT[.1337435]

08009351                           BTC[.00130667], CUSDT[4], SOL[.59788029], USD[0.00]                                                                                                                                              Yes

08009356                           USDT[0.68214266]

08009361                           BTC[0], CUSDT[1], MATIC[0], USD[0.00]                                                                                                                                                            Yes

08009364                           SHIB[826022.82771483], USD[0.00]                                                                                                                                                                 Yes

08009376                           USD[0.00]                                                                                                                                                                                        Yes

08009383                           DOGE[.00070011], SHIB[4.20320321], TRX[.00093299], USD[0.00], USDT[0.00019059]                                                                                                                   Yes

08009386                           BRZ[1], CUSDT[2], TRX[3], USD[0.00]                                                                                                                                                              Yes

08009395                           CUSDT[1], ETH[.00010675], ETHW[.00010675], USD[0.20]                                                                                                                                             Yes

08009397                           BTC[.00107349], CUSDT[8], ETH[.00653165], ETHW[.00644957], MATIC[14.43278159], SHIB[1331623.65611954], TRX[1], USD[0.69]                                                                         Yes

08009402                           USD[20.00]

08009404                           BTC[.00288683], CUSDT[3], DOGE[1], ETH[.00137715], ETHW[.00136347], NFT (411559123604321383/Bird Watching)[1], TRX[1], USD[0.00]                                                                 Yes

08009408                           CUSDT[1], SHIB[368622.82512533], USD[0.00]

08009412                           LINK[2.92060719], TRX[1], USD[0.00]                                                                                                                                                              Yes

08009416                           USD[10.86]                                                                                                                                                                                       Yes

08009418                           CUSDT[1], TRX[1], USD[7.78]                                                                                                                                                                      Yes

08009422                           USD[0.00]

08009430                           DOGE[1], SHIB[16612413.75014496], TRX[1], USD[0.00]                                                                                                                                              Yes

08009441                           CUSDT[3], DAI[16.19969548], SHIB[324949.39254195], TRX[159.34610253], USD[0.00]                                                                                                                  Yes

08009443                           CUSDT[1], SHIB[222630.20464578], USD[0.00]                                                                                                                                                       Yes

08009452                           BAT[.00007182], BRZ[1], BTC[0.00077002], TRX[.00045233], USD[0.01], USDT[0.00000001]                                                                                                             Yes

08009454                           SHIB[150982.51057094], USD[0.00]                                                                                                                                                                 Yes

08009462                           CUSDT[1.00003974], DOGE[1], TRX[0.01005033], USD[192.37]                                                                                                                                         Yes

08009464                           CUSDT[1], DOGE[40.88021408], SHIB[324888.91555638], USD[0.00]                                                                                                                                    Yes

08009471                           DOGE[23.60063316], USD[0.00]                                                                                                                                                                     Yes

08009481                           CUSDT[1], ETH[1.10455629], ETHW[1.10409237], USD[0.00]                                                                                                                                           Yes

08009482                           CUSDT[4], DOGE[1], ETH[.00000252], ETHW[.00000252], SOL[6.02312021], TRX[1], USD[0.02]                                                                                                           Yes

08009493                           BAT[77.07271103], BRZ[1], BTC[.00019118], CUSDT[21], DOGE[.38743771], ETH[.00338662], ETHW[.00334558], GRT[.411865], LINK[.77998607], SHIB[1935440.9468596], SOL[.0038518],                      Yes
                                   TRX[152.62808246], USD[10.73]
08009494                           USD[0.00]                                                                                                                                                                                        Yes

08009495                           CUSDT[1], SHIB[150330.72760072], USD[10.00]

08009501                           ETH[.00000001], ETHW[0]                                                                                                                                                                          Yes

08009503                           BRZ[1], BTC[.2145383], CUSDT[3], LINK[45.87265388], MATIC[557.95358096], SOL[4.10114644], TRX[1], USD[0.00]                                                                                      Yes

08009504                           CUSDT[1], SOL[.54449429], USD[0.00]                                                                                                                                                              Yes

08009506                           BF_POINT[700], BTC[.00000001], ETH[.00000014], ETHW[.01526602], USD[0.00]                                                                                                                        Yes

08009507                           SHIB[660230.54755043], USD[1.29]

08009509                           ETHW[0.44861129], SOL[.00000001], USD[1066.88]

08009512                           AAVE[0], BAT[0], BCH[0], BRZ[0], BTC[0], CUSDT[0], DAI[0], DOGE[0], ETH[0], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], MKR[0], SHIB[0], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00], USDT[0]   Yes

08009513                           DOGE[.348], LTC[.00344194], SOL[.42802], USD[0.03]

08009520                           USD[0.00]

08009521                           BAT[0], USD[0.00]

08009528                           USD[0.00]

08009539                           USD[20.00]

08009543                           CUSDT[1], SHIB[177817.60085937], USD[1.91]                                                                                                                                                       Yes

08009548                           CUSDT[1], SHIB[760071.88769409], USD[0.02]                                                                                                                                                       Yes

08009553                           KSHIB[7665.5560809], TRX[1], USD[0.01]

08009554                           MATIC[2.37302919], USD[0.00]                                                                                                                                                                     Yes

08009563                           BRZ[1], CUSDT[3], DOGE[0], GRT[1], NFT (483021926913764027/Space Dream #8)[1], SHIB[2787398.23444125], TRX[2], USD[0.00], USDT[0]                                                                Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08009565                              USD[50.01]

08009568                              BAT[207.93125759], CUSDT[2], ETH[0], MATIC[106.14370464], NFT (465417086824121263/Shannon Sharpe's Playbook: Baltimore Ravens vs. Denver Broncos - December 31, 2000 #90)[1],         Yes
                                      SHIB[11866397.29201083], TRX[433.43399432], USD[143.28]
08009570                              USD[0.00]

08009575                              BTC[.0001], DOGE[10], SHIB[2800000], SOL[.4], USD[0.98]

08009577                              BAT[11.67631591], CUSDT[1], USD[0.00]                                                                                                                                                 Yes

08009592                              DOGE[1], MATIC[210.73374078], USD[0.00]

08009601                              USD[0.00]

08009602                              DOGE[1], SHIB[1519756.83890577], USD[0.00]

08009604                              USD[20.00]

08009618                              AAVE[.00918], BAT[.476], BCH[.000806], BTC[.0000955], CAD[0.95], DOGE[.1], ETH[.000886], ETHW[.078886], GRT[.613], KSHIB[4.74], LINK[.0869], LTC[.00779], MATIC[.84], MKR[.000952],
                                      SHIB[94300], SOL[.00935], SUSHI[.4845], TRX[.157004], UNI[.0754], USD[1918.51], WBTC[.000098], YFI[.000092]
08009619                              SOL[.00000001]

08009620                              USD[0.00]                                                                                                                                                                             Yes

08009622                              SHIB[2], USD[0.00]

08009624                              SOL[2.59], USD[1.08]

08009630                              SHIB[183601.54775256]                                                                                                                                                                 Yes

08009639                              USD[0.00]                                                                                                                                                                             Yes

08009640                              BTC[.00000832], CUSDT[3], LINK[1.08958062], SHIB[1054276.21585867], USD[0.84]                                                                                                         Yes

08009641                              CUSDT[5], SOL[.2078831], USD[0.00]                                                                                                                                                    Yes

08009648                              BAT[10.33150794], CUSDT[1], USD[0.00]                                                                                                                                                 Yes

08009654                              DAI[2.15830481], DOGE[17.31903568], ETH[.00124913], ETHW[.00123545], SHIB[260604.46419854], SOL[.02427777], TRX[21.46891317], USD[0.01]                                               Yes

08009659                              USD[37.00]                                                                                                                                                                            Yes

08009669                              BTC[.00063458], DOGE[444.0740602], ETH[.00521365], ETHW[.00521365], SHIB[1137188.99497646], USD[0.00]

08009673                              BTC[.0073], ETH[.021], ETHW[.021], PAXG[.0034], USD[0.38]

08009677                              USD[542.88]                                                                                                                                                                           Yes

08009679                              USD[0.01]                                                                                                                                                                             Yes

08009680                              USD[0.00]

08009682                              BTC[.00550321], CUSDT[2], SHIB[3114436.74280835], TRX[2], USD[5.57]                                                                                                                   Yes

08009686                              KSHIB[2074.72212332], USD[0.00]

08009691                              GRT[.892], SHIB[.2], USD[0.44]

08009699                              ETH[.002998], ETHW[.002998], USD[3.98]

08009708       Contingent, Disputed   BTC[.25977465], USD[17560.84]                                                                                                                                                         Yes

08009710                              SHIB[4], USD[991.36]                                                                                                                                                                  Yes

08009713                              CUSDT[8], DOGE[1], TRX[.0038324], USD[0.00]                                                                                                                                           Yes

08009719                              SOL[0]

08009722                              AVAX[.00218844], USD[0.00]

08009729                              SHIB[2000000], TRX[484], USD[103.59]

08009731                              CUSDT[1], TRX[972.78866895], USD[0.00]

08009732                              BAT[304.76400149], BRZ[1], CUSDT[2], DOGE[1], NFT (433717016778244934/Coachella x FTX Weekend 1 #22686)[1], TRX[1504.19120738], USD[0.30]                                             Yes

08009748                              BTC[.0008993], CUSDT[5], DOGE[396.48023817], KSHIB[392.71921451], SOL[.04612826], TRX[1], USD[0.14]                                                                                   Yes

08009750                              USDT[11.94578958]                                                                                                                                                                     Yes

08009752                              CUSDT[1], USD[0.00]                                                                                                                                                                   Yes

08009754                              USD[10.78]                                                                                                                                                                            Yes

08009757                              BAT[43.30620684], DOGE[1], MATIC[41.53706059], SHIB[819731.93673323], TRX[2], USD[1.44]                                                                                               Yes

08009761                              BAT[8.33482684], TRX[1], USD[0.00]                                                                                                                                                    Yes

08009763                              CUSDT[1], SHIB[1264329.06271072], USD[0.00]

08009778                              BTC[.00010666], USD[0.00]                                                                                                                                                             Yes

08009789                              BRZ[2], CUSDT[6], TRX[2], USD[0.00]                                                                                                                                                   Yes

08009791                              ETH[0.00000001], ETHW[0], SOL[.00000001], USD[1139.45]

08009798                              DOGE[1], ETH[.00230008], ETHW[.00230008], USD[0.00]

08009806                              CUSDT[4], DOGE[2], SHIB[1062402.89994451], TRX[1], USD[0.00]                                                                                                                          Yes

08009808                              BTC[0], ETH[.00000001], SOL[.009995], USDT[4.4528444]

08009809                              KSHIB[9.02], SHIB[99300], SOL[.01], USD[8.75]

08009813                              TRX[10275.86072832]                                                                                                                                                                   Yes

08009817                              SHIB[23241745.18124608], TRX[2], USD[0.01]                                                                                                                                            Yes

08009821                              BAT[2.01254362], BRZ[4], CUSDT[3], DOGE[1], ETH[.00002252], MATIC[256.41501658], SHIB[4], TRX[9], USD[8661.67], USDT[1]

08009827                              DOGE[1], SHIB[7613826.70930409], USD[0.01]

08009841                              NFT (536544378647527233/Bahrain Ticket Stub #1596)[1], SHIB[1300000], SUSHI[5.51755086], USD[1.44]

08009844                              USD[15.00]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08009850                           CUSDT[1], USD[0.00]                                                                                                                                                                 Yes

08009855                           BTC[0], SHIB[2], SOL[0], USD[0.00]                                                                                                                                                  Yes

08009856                           DOGE[41.0494103], SHIB[159525.85342046], TRX[102.41415804], USD[0.01]                                                                                                               Yes

08009859                           BTC[.02264569], DOGE[1], ETH[.96416434], ETHW[.96375953], GRT[1.00019173], USD[0.00]                                                                                                Yes

08009861                           USD[20.00]

08009863                           USD[100.00]

08009865                           DOGE[.47761635], NFT (299363375501294913/King Cat)[1], NFT (328138083368000499/PROG Diamond hands Short Squeeze)[1], NFT (337530214896289519/Salem)[1], NFT
                                   (361618037601173270/420 CAT)[1], NFT (395023190620863586/Dinner with King Cat)[1], NFT (409470345258319215/Afternoon Lounge)[1], NFT (424462855836201766/It's My Box Cat)[1], NFT
                                   (432444095708607487/Dimebag Darrell)[1], NFT (455867840611945584/Cool Cat)[1], NFT (510064296145092575/He's my dog!)[1], NFT (512778732042628131/WUZup CAT)[1], NFT
                                   (566677820970607340/Freedom Guitar)[1], NFT (568911575809479568/Static Howchles)[1], NFT (571367518026561698/Howie go Brownies)[1], USD[0.12]
08009868                           USD[561.37]                                                                                                                                                                         Yes

08009873                           USD[10.86]                                                                                                                                                                          Yes

08009885                           BTC[.0566569], USD[79.39]

08009888                           BTC[.00088908], CUSDT[5], ETH[.02370091], ETHW[.02340643], NFT (519876010587033816/Colorful Meadows)[1], SHIB[165116.45922666], USD[3.23]                                           Yes

08009898                           BTC[.00016137], DOGE[1], USD[0.00]                                                                                                                                                  Yes

08009910                           CUSDT[3], SHIB[0]                                                                                                                                                                   Yes

08009912                           BRZ[1], BTC[.00699216], CUSDT[5], DOGE[200.42012175], TRX[3], USD[0.00]                                                                                                             Yes

08009916                           BRZ[1], ETH[.00000114], SHIB[7], TRX[3], USD[0.00]                                                                                                                                  Yes

08009919                           SOL[.00000694], USD[0.00]

08009921                           NFT (311830093858748996/FTX - Off The Grid Miami #2260)[1], NFT (445630785627274979/Entrance Voucher #3489)[1], SHIB[44274.65822784], TRX[1], USD[0.00]                             Yes

08009923                           SOL[.3996], USD[1.69]

08009933                           BTC[0], SOL[13.24189276], USD[0.00]                                                                                                                                                 Yes

08009943                           CUSDT[1], NFT (425484634527740169/FTX - Off The Grid Miami #2700)[1], USD[0.00]                                                                                                     Yes

08009957                           CUSDT[1], SHIB[3875997.82465406], USD[0.00]                                                                                                                                         Yes

08009963                           NFT (485288665988217291/2974 Floyd Norman - CLE 6-0178)[1]

08009964                           BRZ[1], ETH[.07493305], ETHW[.07400281], USD[0.00]                                                                                                                                  Yes

08009966                           CUSDT[1], ETH[.02672138], ETHW[.02639306], SHIB[1652420.80391369], TRX[1], USD[0.00]                                                                                                Yes

08009968                           BTC[0], ETHW[.00003879], USD[0.00]

08009970                           DOGE[34.4579881], TRX[8.12655318], USD[0.00]                                                                                                                                        Yes

08009972                           CUSDT[5], GRT[60.35828588], KSHIB[361.76171443], SHIB[1277473.74244181], TRX[418.5797093], USD[0.00], USDT[53.78964938]                                                             Yes

08009973                           BRZ[1], CUSDT[5], NFT (311467558230052052/Kiddo #5392)[1], SHIB[1], SOL[.64663858], USD[0.01]                                                                                       Yes

08009974                           USD[0.00]

08009975                           BF_POINT[300], EUR[0.00], USD[30.95], USDT[0]                                                                                                                                       Yes

08009979                           USD[10.86]                                                                                                                                                                          Yes

08009981                           BRZ[2], CUSDT[1], DOGE[1], SOL[.91184438], USD[0.00]

08009987                           SHIB[427741.40850088]                                                                                                                                                               Yes

08009990                           ETHW[.1], USDT[.3647309]

08009995                           BTC[.00167367], CUSDT[8], SHIB[1], TRX[765.13639717], USD[4.01]

08009996                           SHIB[10489500], USD[758.81]

08010008                           BAT[.00069851], CUSDT[.00058059], SHIB[3314416.81195260], TRX[.00003882], USD[0.02]

08010010                           CUSDT[1], DOGE[1], SHIB[1], USD[0.00], USDT[31.16895147]                                                                                                                            Yes

08010013                           BCH[.00000007], CUSDT[1], SHIB[252.24251164], USD[0.00]                                                                                                                             Yes

08010020                           CUSDT[6], DOGE[1], TRX[1], USD[0.00], USDT[0.00000184]                                                                                                                              Yes

08010026                           SHIB[5603086.14685538], TRX[1], USD[0.00]                                                                                                                                           Yes

08010033                           CUSDT[1], NFT (563266814120322692/ApexDucks #7220)[1], SOL[.05227368], USD[0.00]

08010036                           USD[0.00]

08010042                           BTC[0.05439332], ETHW[0], USD[0.00]

08010043                           MATIC[30], SHIB[11715.79743008], USD[37.66]

08010046                           BTC[0], SHIB[2], USD[0.00]                                                                                                                                                          Yes

08010064                           BRZ[0], ETH[.00000012], USD[0.00]                                                                                                                                                   Yes

08010065                           CUSDT[2], SHIB[178903.91416171], USD[0.00]                                                                                                                                          Yes

08010068                           CUSDT[1], SHIB[1600889.18194001], USD[0.00]                                                                                                                                         Yes

08010069                           BRZ[1], SHIB[4], USD[0.00], USDT[0]                                                                                                                                                 Yes

08010089                           NFT (347456090456542158/#3298)[1]

08010090                           CUSDT[9], TRX[1], USD[0.00]                                                                                                                                                         Yes

08010093                           BTC[.02004205], ETH[0], ETHW[0], NFT (475481236539574972/Colossal Cacti #950 (Redeemed))[1], SOL[0], USD[9.34]

08010103                           AAVE[.0027388], BTC[0.00000001], DOGE[0.74922941], ETH[0.02143334], ETHW[0.02143334], LINK[0.02984727], MATIC[0.35960690], SOL[0.00336526], SUSHI[0.06629975], UNI[0.03748920],
                                   USD[0.00], USDT[0.00001703]
08010105                           SHIB[1], USD[115.81]                                                                                                                                                                Yes

08010107                           AVAX[0], BTC[0], DAI[0], ETH[0], ETHW[0], SUSHI[0], USD[0.00], USDT[0]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08010108                              ETHW[.069], USD[2.39]

08010118                              BTC[.00016201]                                                                                                                                                                          Yes

08010120                              CUSDT[3], USD[0.00]                                                                                                                                                                     Yes

08010121                              BRZ[3], CUSDT[5], GRT[1], USD[0.00]                                                                                                                                                     Yes

08010123                              TRX[1], USD[41.34]                                                                                                                                                                      Yes

08010133                              SHIB[10000], USD[1.36]

08010142                              ALGO[0], SOL[.2], USD[0.00]

08010157                              CUSDT[1], DOGE[242.71229068], SHIB[30798404.68522824], USD[0.00]                                                                                                                        Yes

08010176                              USD[1.53]

08010180                              USD[0.01]                                                                                                                                                                               Yes

08010181                              CUSDT[1], ETH[.10748319], ETHW[.10748319], USD[500.02]

08010184                              ETH[.0000023], ETHW[.0000023], USD[0.00]                                                                                                                                                Yes

08010187                              SHIB[155243.8898338], USD[10.85]                                                                                                                                                        Yes

08010198                              BRZ[1], CUSDT[3], DOGE[2], SOL[3.34824458], USD[0.00]

08010199                              BRZ[1], CUSDT[3], ETH[.10033845], ETHW[.09930493], SHIB[2], SOL[4.10422], TRX[2], USD[0.00]                                                                                             Yes

08010203                              BTC[.0337662], ETH[1], ETHW[1], SHIB[5200000], SOL[4.43556], USD[84.29]

08010204                              SHIB[160502.66551559], USD[0.00]                                                                                                                                                        Yes

08010206                              BTC[.0040713], CUSDT[1], ETH[.05849823], ETHW[.05849823], TRX[1], USD[0.00]

08010227                              ALGO[525.49837384], BAT[110.51826812], BF_POINT[300], BRZ[302.20632505], BTC[.02129177], CUSDT[13], DOGE[1120.43114629], ETH[.24113606], ETHW[.24094026], GRT[468.23458269],            Yes
                                      LINK[68.64698738], MATIC[1109.8718013], MKR[.12554578], SHIB[7145179.78780386], SOL[3.22025671], SUSHI[9.53026615], TRX[3929.56114039], USD[177.39]
08010233       Contingent, Disputed   USD[0.00]                                                                                                                                                                               Yes

08010234                              USD[500.00]

08010236                              BTC[.00085093], DOGE[1], NFT (368508599352925882/Humpty Dumpty #90)[1], NFT (464087754147696589/Romeo #1099)[1], USD[0.00]                                                              Yes

08010240                              SHIB[19.85986402], USD[0.00]                                                                                                                                                            Yes

08010244                              NFT (290019847570514543/Bald Ape #11)[1], NFT (290180586057263653/Bald Ape #3)[1], NFT (290187106064056058/Yellow Frame #2)[1], NFT (290820479185344472/Bald Ape)[1], NFT
                                      (293041808938600723/Laura)[1], NFT (295339512119836850/Yellow Frame #5)[1], NFT (298884240061237567/MetaVerse Skull #13)[1], NFT (302304446277111848/Generated Form #3)[1], NFT
                                      (303672948983551567/Generated Form #5)[1], NFT (309459155135529378/Sphynx #11)[1], NFT (310209840884936962/MetaVerse Skull #11)[1], NFT (312160925612129746/Sphynx #9)[1], NFT
                                      (321842512667853292/Bald Ape #5)[1], NFT (322258307526916070/Sphynx #15)[1], NFT (322578999632472176/Sphynx #29)[1], NFT (329172160051066581/MetaVerse Skull #10)[1], NFT
                                      (331184276169830718/Crypto Mask #5)[1], NFT (332407350592915641/Sphynx #22)[1], NFT (336628885930104604/Generated Form #6)[1], NFT (338831910033140834/Space Dream #53)[1], NFT
                                      (344737077608823845/Yellow Frame)[1], NFT (346530704707523242/Space Dream #50)[1], NFT (349117242119356814/Yellow Frame #6)[1], NFT (355489358274533708/Fay)[1], NFT
                                      (355732998329960115/Crypto Mask #4)[1], NFT (360119476802056097/Bald Ape #10)[1], NFT (363216728057485624/Sphynx #28)[1], NFT (363223065398049882/Crypto Mask #11)[1], NFT
                                      (363561117910260544/Bald Ape #9)[1], NFT (364070285951063974/Surreal Ape #6)[1], NFT (370802944897390483/Sphynx #25)[1], NFT (371335726816371392/MetaVerse Avatar #2)[1], NFT
                                      (379656232259777727/Space Dream #54)[1], NFT (383542617537487508/Bald Ape #13)[1], NFT (383963799072763194/Surreal Ape #16)[1], NFT (384490640061339710/Annie)[1], NFT
                                      (386460300588259098/Ivy)[1], NFT (393447320527726396/MetaVerse Avatar)[1], NFT (394325043433039941/Generated Form #4)[1], NFT (395202454088943757/Yellow Frame #8)[1], NFT
                                      (399346670591062202/Emma)[1], NFT (402173234990877808/Bald Ape #7)[1], NFT (407137830929918451/MetaVerse Skull #9)[1], NFT (408043989107216284/Sphynx #7)[1], NFT
                                      (410850036476129462/Sphynx #21)[1], NFT (414031235887340092/Bald Ape #6)[1], NFT (418030536577562352/Sphynx #17)[1], NFT (427882063073759225/MetaVerse Avatar #10)[1], NFT
                                      (434895020753252090/Yellow Frame #3)[1], NFT (435461146000011316/Generated Form)[1], NFT (435577878685681491/Surreal Ape #4)[1], NFT (439025408885960318/Space Dream #52)[1], NFT
                                      (441402677102574217/Surreal Ape #10)[1], NFT (444765599146625845/Bald Ape #16)[1], NFT (445007436361889553/Crypto Mask #12)[1], NFT (445514054944176193/Surreal Ape #15)[1], NFT
                                      (447699430676492067/Surreal Ape #11)[1], NFT (453187887204946317/Julia)[1], NFT (453784771455977259/Space Dream #48)[1], NFT (460666161751534088/Sphynx #6)[1], NFT
                                      (463710280787742096/MetaVerse Avatar #4)[1], NFT (465606221758438685/Helen)[1], NFT (472981532539028378/MetaVerse Skull #8)[1], NFT (478203175863915804/MetaVerse Avatar #14)[1], NFT
                                      (481147506527591273/Crypto Mask #7)[1], NFT (491013529095579726/MetaVerse Avatar #8)[1], NFT (491812957996409081/Kate)[1], NFT (499907598127226003/Sphynx #24)[1], NFT
                                      (505253341640835521/Surreal Ape #14)[1], NFT (506728633233435190/MetaVerse Avatar #5)[1], NFT (510115983183636134/Space Dream #51)[1], NFT (511292286200777642/Bald Ape #15)[1], NFT
                                      (512003950322216234/Sphynx #2)[1], NFT (519199808627784511/Yellow Frame #9)[1], NFT (523770174087416400/Surreal Ape #12)[1], NFT (527605055926885475/MetaVerse Avatar #12)[1], NFT
                                      (529879262382411771/Paula)[1], NFT (530681784042792832/Surreal Ape #5)[1], NFT (530853635046807171/Betty)[1], NFT (533284164190353558/Sphynx #14)[1], NFT (541030963888490545/Bald
                                      Ape #12)[1], NFT (542009403169530020/Crypto Mask #10)[1], NFT (544066540147242862/Candice)[1], NFT (549411651808198376/Bald Ape #14)[1], NFT (551341556588269333/Generated Form
                                      #7)[1], NFT (552774471020040238/Crypto Mask #6)[1], NFT (555812230184106891/Crypto Mask #9)[1], NFT (556102415311042788/Generated Form #2)[1], NFT (556778186667884676/Sphynx
                                      #23)[1], NFT (563075297503781168/Olivias)[1], NFT (563622264700619439/Crypto Mask #8)[1], NFT (563736134685373888/Crypto Mask)[1], NFT (563878749460791798/Surreal Ape #13)[1], NFT
                                      (567986198062304733/Nora)[1], NFT (568958252842480996/Yellow Frame #4)[1], NFT (570571336120541168/MetaVerse Avatar #11)[1], NFT (574957801757535271/Yellow Frame #10)[1], USD[0.00]

08010245                              USD[20.00]

08010255                              CUSDT[15], SHIB[8431977.43457985], SOL[.27940511], TRX[2], USD[8.00]

08010256                              SHIB[491815.2283211], USD[0.88]                                                                                                                                                         Yes

08010259                              SHIB[1399300], USD[4.96]

08010260                              CUSDT[2], SOL[.00000104], USD[29.35]                                                                                                                                                    Yes

08010265                              CUSDT[1], DOGE[11.69691573], LTC[1.1870476], USD[0.00], USDT[0.00000001]                                                                                                                Yes

08010267                              USD[10.00]

08010270                              CUSDT[2], SHIB[2015906.79951332], USD[0.00]

08010275                              SHIB[183.87491065], USD[0.00], USDT[0]                                                                                                                                                  Yes

08010276                              BAT[.57672766], CUSDT[5], DOGE[1], SOL[0.00000151], TRX[1], USD[0.00]                                                                                                                   Yes

08010282                              BTC[.0000215], SHIB[2000000], USD[3.71]

08010288                              BTC[.00039111], CUSDT[1], DOGE[10.38356113], ETH[.00144642], ETHW[.00144642], SHIB[145751.34819997], TRX[97.32433978], USD[0.00]

08010289                              SHIB[5551991.19718669], TRX[1], USD[5391.28]                                                                                                                                            Yes

08010320                              BTC[.00000011], USD[0.00]                                                                                                                                                               Yes

08010324                              SHIB[2706359.9458728], USD[0.00]

08010327                              DOGE[1], SHIB[7290755.32225138], USD[0.01]

08010331                              BAT[7.88092694], USD[0.00]

08010332                              USD[10.00]

08010337                              BTC[0], DAI[0], ETH[0], NFT (382476402495276838/Harris, the Macho)[1], NFT (393873505869108893/Bahrain Ticket Stub #2316)[1], NFT (408891032061955163/Sollama)[1], NFT                  Yes
                                      (534803662365570095/Series 1: Wizards #4)[1], NFT (537567373890209645/Series 1: Capitals #6)[1], NFT (555010295894662720/Entrance Voucher #19662)[1], SOL[1.34803849]
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                                                                                                                                         Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08010348                           CUSDT[98.37655054], DOGE[18.88229577], KSHIB[145.60324077], SHIB[159045.25994103], USD[22.63]                                                                                        Yes

08010357                           USD[108.60]                                                                                                                                                                          Yes

08010369                           BAT[23.74136155], BRZ[148.55646788], BTC[.00338619], CUSDT[32], DOGE[4], ETH[.04249357], ETHW[.04196512], GRT[24.92780235], SHIB[3028997.35330328], SOL[5.36305728],                 Yes
                                   SUSHI[2.45284645], TRX[6], USD[0.55]
08010382                           USD[0.00]                                                                                                                                                                            Yes

08010385                           BAT[392.72852114], CUSDT[2], ETHW[6.12032067], LTC[1.56347647], NFT (300769942646732115/Solana Squirrel #377)[1], NFT (342665325253810025/Bahrain Ticket Stub #1710)[1], NFT         Yes
                                   (378724506444551766/SOL SURFER 009 - CLIFF HANGER CLAYTON)[1], NFT (456979044270531532/Solana Squirrel #696)[1], NFT (500954131768589032/ALPHA:RONIN #1051)[1],
                                   SHIB[.96469069], SOL[.00000001], TRX[3457.79786766], USD[0.01], USDT[129.75906090]
08010393                           BRZ[1], CUSDT[22], SHIB[2], TRX[4], USD[0.30]                                                                                                                                        Yes

08010394                           CUSDT[18], DOGE[212.96147766], SHIB[6098441.08166178], SOL[1.16040135], TRX[3], UNI[3.66004756], USD[60.57]                                                                          Yes

08010414                           BTC[0], CUSDT[6.42907458], ETH[0.00000162], ETHW[0.00000162], USD[0.00], USDT[.00889489]                                                                                             Yes

08010417                           CUSDT[9], DOGE[1], SHIB[1200114.84700823], TRX[120.93438879], USD[0.00]                                                                                                              Yes

08010430                           USD[0.01]                                                                                                                                                                            Yes

08010442                           BF_POINT[100], CUSDT[2], ETH[.05081767], ETHW[.05018793], USD[0.00]                                                                                                                  Yes

08010445                           CUSDT[3], SHIB[6561414.16453634], TRX[1], USD[0.00], USDT[64.31048342]                                                                                                               Yes

08010451                           CUSDT[2], USD[0.00]

08010459                           BRZ[1], SHIB[1595813.54521401], USD[0.00]                                                                                                                                            Yes

08010461                           BRZ[1], CUSDT[1], ETH[.10763446], ETHW[.10763446], USD[0.00]

08010465                           BRZ[2], CUSDT[12], DOGE[1], TRX[3], USD[0.85], USDT[1]

08010472                           SHIB[0], SOL[0], USD[5173.75]

08010484                           BRZ[1], CUSDT[9], ETH[.10194798], ETHW[.10090036], TRX[1], USD[0.63]                                                                                                                 Yes

08010494                           BRZ[58.50621659], KSHIB[138.49945535], SHIB[151184.53063568], USD[0.00]                                                                                                              Yes

08010497                           BTC[.00012191], CUSDT[5], DOGE[1431.89011227], LINK[21.19823419], SHIB[3921070.35755861], SOL[3.744004], SUSHI[35.64782569], TRX[221.57452581], USD[0.10]

08010506                           USD[0.01]                                                                                                                                                                            Yes

08010510                           CUSDT[2], DOGE[368.42344078], ETH[.00000015], ETHW[.00000015], USD[0.00]                                                                                                             Yes

08010513                           BRZ[1], CUSDT[5], DOGE[1], LINK[23.76699213], TRX[535.53167044], USD[0.00]                                                                                                           Yes

08010522                           SHIB[7], SOL[.00083912], TRX[2], USD[0.08]                                                                                                                                           Yes

08010523                           SOL[0]

08010528                           MATIC[0], USD[0.00]

08010531                           CUSDT[1], DOGE[54.99944646], SHIB[1104921.65235672], USD[0.07]                                                                                                                       Yes

08010540                           CUSDT[3], DAI[.00045916], DOGE[1], USD[0.01], USDT[0.00045921]                                                                                                                       Yes

08010546                           CUSDT[1], SHIB[7874465.54886515], TRX[1], USD[0.02]                                                                                                                                  Yes

08010550                           BTC[.00037098], USD[0.00]

08010552                           CUSDT[2], SHIB[2085604.93405416], USD[0.00]                                                                                                                                          Yes

08010553                           ETH[.12050325], ETHW[.1193413], TRX[1], USD[10.87]                                                                                                                                   Yes

08010556                           ETH[.00000001], ETHW[0], SHIB[15200000], USD[1.96]

08010558                           BTC[.00003469], DOGE[20.43373875], PAXG[.00118783], SHIB[14843.43600412], USD[0.03]                                                                                                  Yes

08010569                           CUSDT[1], SOL[.05480824], USD[0.00]                                                                                                                                                  Yes

08010570                           BTC[.0016], USD[42.95]

08010576                           BCH[1.37446523], BRZ[6.09416559], BTC[.23238022], CUSDT[4991.17971078], DOGE[4964.32262835], ETH[1.80111216], ETHW[1.80035548], MKR[.03549852], SHIB[11435390.70142588],             Yes
                                   SOL[47.85991516], TRX[7], USD[7417.05], USDT[261.35113839]
08010585                           BCH[.07570173], CUSDT[10], KSHIB[97.89268377], MATIC[3.31807552], SHIB[992348.06042315], SOL[4.62847706], SUSHI[2.98338477], TRX[5], UNI[4.8934797], USD[445.94], USDT[1.06640372]   Yes

08010589                           BTC[.00031891], CUSDT[1], USD[0.00]                                                                                                                                                  Yes

08010598                           BTC[.00088759], CUSDT[1], SHIB[799205.942655], TRX[1], USD[0.00]                                                                                                                     Yes

08010604                           USD[20.00]

08010608                           BRZ[1], CUSDT[2], DOGE[4.0140153], SOL[0], TRX[1], USD[0.00]                                                                                                                         Yes

08010610                           CUSDT[1], KSHIB[276.80097788], USD[0.02]

08010611                           CUSDT[1], SOL[.79037324], USD[59.14]                                                                                                                                                 Yes

08010612                           CUSDT[1], DOGE[1107.27941188], SHIB[3], TRX[3], USD[0.78]                                                                                                                            Yes

08010614                           BTC[.00088809], CUSDT[1], USD[0.00]                                                                                                                                                  Yes

08010618                           USD[5.33]                                                                                                                                                                            Yes

08010622                           BAT[1.00514147], BF_POINT[100], BRZ[1], CUSDT[3], DOGE[2], ETH[2.30356031], ETHW[2.30259282], GRT[1], LINK[501.72305092], LTC[10.68452811], MATIC[209.08343225],                     Yes
                                   SHIB[72458823.0431587], TRX[3], USD[0.00], USDT[1.0656636]
08010623                           BCH[.00000154], BTC[.00000001], DOGE[.00654543], ETH[.00000023], ETHW[.00000023], USD[0.00]

08010626                           BTC[0.03465135], LINK[0], SHIB[3896100], USD[12.79]

08010630                           USD[6.31]                                                                                                                                                                            Yes

08010631                           SHIB[245317.74342019], USD[0.01]                                                                                                                                                     Yes

08010636                           DAI[49.7352785], SHIB[1], USD[0.00]

08010637                           USD[0.00]

08010655                           USD[20.71]                                                                                                                                                                           Yes

08010661                           BRZ[1], BTC[.0028913], CUSDT[2], ETH[.02488862], ETHW[.02457675], SHIB[1625417.15349], TRX[1], USD[0.00]                                                                             Yes
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                                                                                                                                              Customer Claims                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or         Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08010665      Contingent, Disputed     USD[0.00]                                                                                                                                                                 Yes

08010672                               USD[0.01]                                                                                                                                                                 Yes

08010680                               CUSDT[1], SHIB[280466.12443939], USD[0.80]

08010694                               BRZ[2], BTC[.00000019], CUSDT[19.00004384], DOGE[4], ETH[.00000301], ETHW[.00000301], LINK[.00011734], MATIC[.00098679], SOL[.00001992], TRX[3], USD[0.01]                Yes

08010700                               ETH[1], ETHW[1], LTC[1.86], USD[0.41]

08010706                               BTC[.00032189], DOGE[1], USD[0.00]                                                                                                                                        Yes

08010710                               USD[0.90]

08010713                               BRZ[1], CUSDT[2], ETHW[.12925758], SHIB[1], TRX[1], USD[0.01]

08010723                               BTC[.01048366], CUSDT[2], ETH[.0554008], ETHW[.05471478], MATIC[80.53046592], USD[0.00]                                                                                   Yes

08010727                               DOGE[2], ETH[.00000107], MATIC[.00119469], SHIB[2], SOL[3.65881868], USD[0.02]                                                                                            Yes

08010731                               USD[0.00], USDT[0.00000696]

08010733                               CUSDT[1], SHIB[3226715.54752069], USD[0.00]                                                                                                                               Yes

08010742                               SOL[.0083135], USD[0.78]

08010751                               CUSDT[2], DOGE[1], SOL[1.34958817], USD[0.00]                                                                                                                             Yes

08010752                               CUSDT[1], SHIB[1624702.44990723], USD[0.00]                                                                                                                               Yes

08010757                               USD[0.24], USDT[.755106], WBTC[0.00009330]

08010758                               BTC[0.00000434], USD[0.00], USDT[0.00000018]

08010760                               CUSDT[1], ETH[.02384787], ETHW[.02354691], USD[0.00]                                                                                                                      Yes

08010789                               BRZ[1], BTC[.00000035], CUSDT[2], DOGE[3], LINK[0.00256988]                                                                                                               Yes

08010794                               CUSDT[1], SHIB[298819.66233378], USD[0.00]

08010802                               BTC[.00000001], ETH[.00000004], ETHW[.00485237], SHIB[1], USD[54.89]                                                                                                      Yes

08010804                               BTC[0.00023011], CAD[0.97], ETH[.002998], ETHW[.002998], KSHIB[118.35], SOL[.01], UNI[1.4455], USD[1.59]

08010805                               NFT (497029899380904788/Coachella x FTX Weekend 2 #4586)[1]

08010820                               SOL[106.893], USD[31.00]

08010831                               DOGE[185.15813853], LTC[.25909982], SHIB[747272.45553728], TRX[1], USD[0.00]

08010855                               CUSDT[2], DOGE[134.4507445], ETH[.02990482], ETHW[.02990482], USD[75.01]

08010860                               USD[500.00]

08010874                               BF_POINT[100], CUSDT[2], USD[0.00]

08010882                               DOGE[1], SHIB[8031684.00053111], USD[0.01]                                                                                                                                Yes

08010888                               USD[0.06]                                                                                                                                                                 Yes

08010891                               CUSDT[1], KSHIB[378.00409302], USD[0.00]                                                                                                                                  Yes

08010899                               BAT[0], DOGE[27.37397614], ETH[0], MATIC[1.95111461], SOL[0], USD[0.00]                                                                                                   Yes

08010902                               BAT[70.71428492], TRX[1], USD[0.00]

08010904                               CUSDT[2], SHIB[1721742.77967824], USD[0.00]                                                                                                                               Yes

08010905                               BRZ[0], CUSDT[2], KSHIB[197.69340861], TRX[518.37668854], USD[0.31]                                                                                                       Yes

08010914                               USD[0.00]                                                                                                                                                                 Yes

08010915                               BAT[1.01644414], BRZ[1], CUSDT[4], DOGE[2.0000312], SOL[.00067776], USD[0.01], USDT[1.08527699]                                                                           Yes

08010916                               DOGE[2429.18819251], TRX[1], USD[0.00]

08010919                               CUSDT[1], DOGE[36.04960887], MATIC[5.09791813], SHIB[274838.53236223], USD[0.01]

08010920                               CUSDT[3], SOL[.90468986], USD[0.00]                                                                                                                                       Yes

08010923                               AAVE[.00000774], BRZ[1], CUSDT[1], DOGE[1], LTC[.00001269], SHIB[1], USD[143.28]                                                                                          Yes

08010924                               DOGE[.0019296], MATIC[.00007985], SHIB[1597643.77067425], USD[0.00]                                                                                                       Yes

08010935                               BRZ[5.07952967], CUSDT[27], SHIB[2], TRX[9], USD[0.00], USDT[1.06939765]                                                                                                  Yes

08010937                               BAT[1.01610078], CUSDT[1], SHIB[12081709.33989468], USD[0.04]                                                                                                             Yes

08010940                               SHIB[19442.03270897], USD[0.00]

08010952                               BRZ[2], DOGE[.01873933], LINK[.00034178], SHIB[1], USD[0.02]                                                                                                              Yes

08010955                               USD[378.46]

08010960                               ETH[0], GBP[0.00], USD[0.00]

08010961                               BTC[0], DOGE[0.00000001], ETH[.456], USD[0.00]

08010967                               BTC[.008]

08010968                               BTC[.00046923], USD[0.00]                                                                                                                                                 Yes

08010976                               BAT[1], DOGE[1620.896562], SHIB[8909029.67806585], USD[0.01]                                                                                                              Yes

08010978                               DOGE[228.03545244], ETH[.00000001], ETHW[0], SHIB[1], USD[19.40], USDT[0]                                                                                                 Yes

08010988        Contingent, Disputed   BRZ[1], CUSDT[1], SOL[.00003628], USD[0.00]                                                                                                                               Yes

08010996                               BCH[.07705035], BRZ[296.44141423], CUSDT[8121.39389699], DOGE[401.08596094], KSHIB[954.45858146], SHIB[6551442.24113319], SOL[.22571184], TRX[1433.24868317], USD[5.71]   Yes

08011001                               NFT (527089798731012694/Shaq's Fun House presented by FTX #17)[1]                                                                                                         Yes

08011017                               KSHIB[315.03290253], SHIB[1305360.53635848], USD[0.00], USDT[0]                                                                                                           Yes

08011020                               BRZ[1], CUSDT[4903.29693898], DOGE[1], KSHIB[7117.7391498], SHIB[1977648.58004878], USD[0.00]                                                                             Yes
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                                                                                                                                         Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08011036                           CUSDT[1.00001868], KSHIB[1.45207745], USD[0.01]                                                                                                                                    Yes

08011038                           CUSDT[2], ETH[.00000001], ETHW[0], USD[0.00]                                                                                                                                       Yes

08011053                           CUSDT[1], SHIB[323681.40611548], USD[0.00]                                                                                                                                         Yes

08011058                           CUSDT[3.0211134], ETH[0], GRT[0.00003092], SOL[0], USD[0.00]                                                                                                                       Yes

08011067                           CUSDT[2], USD[17.26]                                                                                                                                                               Yes

08011068                           CUSDT[2], DOGE[102.72666583], SHIB[509966.77225131], USD[0.01]                                                                                                                     Yes

08011070                           DOGE[1], ETH[.16797774], ETHW[.16764573], USD[8.09]                                                                                                                                Yes

08011073                           BTC[0.00057728], ETH[.000998], ETHW[.000998], MATIC[.09], SHIB[2498100], SOL[1.01813], USD[3.90]

08011077                           BRZ[3], CUSDT[3], DOGE[6], GRT[1], SHIB[1], TRX[1], USD[0.00], USDT[2]

08011078                           BTC[.00039988], CUSDT[1], USD[27.16]                                                                                                                                               Yes

08011084                           BRZ[1], DOGE[4], SHIB[7], USD[0.00], USDT[0]

08011088                           CUSDT[1], DOGE[1], SHIB[1759751.84531122], TRX[1], USD[0.00]                                                                                                                       Yes

08011094                           USD[50.01]

08011108                           ALGO[.498], DOGE[.844], ETH[.00050258], GRT[.532], KSHIB[9.4], MATIC[.75], MKR[.000392], SOL[.00968], SUSHI[.401], USD[0.00]

08011110                           DOGE[65.86749031], KSHIB[1.86333962], USD[0.00]                                                                                                                                    Yes

08011124                           CUSDT[2], SHIB[378730.49537948], TRX[237.98877778], USD[0.01]

08011128                           GRT[1], USD[0.00]

08011131                           USD[500.00]

08011135                           BF_POINT[300], SHIB[1700194.07973915], SOL[.00000001], USD[299.72]                                                                                                                 Yes

08011138                           BTC[.00084309], CUSDT[6], DOGE[326.41293726], ETH[.01442539], ETHW[.01442539], LTC[.73379055], MATIC[4.68254663], SHIB[1665645.50376536], SOL[.36767106], TRX[1], USD[0.00],
                                   USDT[0.00003987]
08011140                           CUSDT[1], SHIB[0], SUSHI[0.00006543], TRX[2], USD[0.00], YFI[0]                                                                                                                    Yes

08011145                           NFT (325121605208379846/Ape MAN#121)[1], NFT (329247443918001005/Sigma Shark #4339)[1], NFT (372383359590057035/3D CATPUNK #9819)[1], SHIB[2], SOL[.66507022], TRX[1], USD[0.00]   Yes

08011158                           CUSDT[1], SHIB[8309361.02615783], USD[0.35]

08011164                           CUSDT[2], DOGE[1], SHIB[1803751.8037518], USD[71.41]

08011185                           USD[0.00]                                                                                                                                                                          Yes

08011189                           CUSDT[2], SHIB[502462.05712802], USD[0.00]                                                                                                                                         Yes

08011190                           BRZ[1], CUSDT[5], ETH[.00956601], ETHW[.0094428], GRT[12.71534548], SHIB[7076053.78014686], USD[0.34]                                                                              Yes

08011196                           BTC[.00016457], DOGE[43.10910986], USD[0.00]                                                                                                                                       Yes

08011206                           BRZ[1], CUSDT[1], DOGE[370.07136822], SHIB[697370.33270376], TRX[1366.82242671], USD[0.00]

08011212                           BTC[.00160056], CUSDT[2], DOGE[2], ETH[.02259875], ETHW[.02259875], LINK[3.30601094], LTC[.5210657], SHIB[1497454.327643], TRX[1], USD[0.00]

08011220                           BTC[.00016424], DOGE[1], ETH[.0023424], ETHW[.0023424], SHIB[156445.55694618], USD[10.01]

08011222                           DOGE[0.00172032], SHIB[2], USD[14.05]                                                                                                                                              Yes

08011225                           CUSDT[3], DOGE[.00175438], SHIB[18.97456075], TRX[1], USD[0.01]                                                                                                                    Yes

08011227                           CUSDT[1], TRX[1], USD[518.83]                                                                                                                                                      Yes

08011229                           USD[5.00]

08011230                           USD[108.38]                                                                                                                                                                        Yes

08011233                           DOGE[2], SHIB[13891053.62650574], SOL[2.36437118], SUSHI[132.23912211], TRX[2], USD[0.87]                                                                                          Yes

08011234                           SOL[.51], USD[1.12]

08011239                           BF_POINT[100], BTC[.00032149], SHIB[1207694.38627739], USD[0.00]                                                                                                                   Yes

08011246                           BRZ[2], CUSDT[5], GRT[1], SHIB[5953718.60560161], SOL[.85387708], TRX[159.76260832], USD[0.00], USDT[1.08554455]                                                                   Yes

08011250                           CUSDT[5], DOGE[0], SHIB[687611.08481927], TRX[2], USD[0.00]                                                                                                                        Yes

08011253                           BTC[.00754751], CUSDT[4], DOGE[229.19916625], SHIB[610268.80257898], TRX[605.83278346], USD[0.00]                                                                                  Yes

08011257                           BTC[.00164357], CUSDT[5], DOGE[413.3981433], ETH[.06943613], ETHW[.06857429], KSHIB[1917.65401877], MATIC[61.58644979], TRX[1], USD[0.01]                                          Yes

08011260                           SHIB[5692567.18986968], USD[0.00]                                                                                                                                                  Yes

08011262                           USD[0.02]                                                                                                                                                                          Yes

08011266                           BAT[1], BTC[.00409554], CUSDT[1], SHIB[3741394.79197844], USD[50.01]

08011270                           CUSDT[1], TRX[280.71075872], USD[0.00]                                                                                                                                             Yes

08011274                           CUSDT[4], KSHIB[505.04782676], SHIB[790136.61767232], TRX[351.80192948], USD[0.00]

08011280                           CUSDT[7], DOGE[1], ETHW[3.2953632], MATIC[1498.84915429], SHIB[15], TRX[2], USD[1212.57]                                                                                           Yes

08011281                           BTC[.000066], CUSDT[1], SHIB[170819.95620529], USD[0.00]

08011293                           DOGE[1], TRX[5380.73120631], USD[0.00]                                                                                                                                             Yes

08011308                           GRT[1.00312819], SHIB[8359748.13753813], USD[0.01]                                                                                                                                 Yes

08011312                           ALGO[8.39814639], AVAX[.27395868], BTC[.00696431], MATIC[18.89662293], SOL[1.26371338], USD[0.00]                                                                                  Yes

08011314                           BRZ[1], CUSDT[1], USD[0.00]

08011326                           CUSDT[6], ETH[.00000063], ETHW[.00000063], TRX[1], USD[0.01]                                                                                                                       Yes

08011342                           CUSDT[5], DOGE[2], TRX[2], USD[0.00]                                                                                                                                               Yes

08011347                           CUSDT[5], USD[0.05]                                                                                                                                                                Yes

08011348                           BAT[1.006744], CUSDT[1], DOGE[2], TRX[2], USD[0.00]                                                                                                                                Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08011351                              BTC[.00000097]                                                                                                                                                                           Yes

08011353                              USD[0.01]                                                                                                                                                                                Yes

08011357                              BTC[.00000229], DOGE[3], ETHW[1.54803613], GRT[1], SHIB[10], TRX[1], USD[6343.68]                                                                                                        Yes

08011360                              BAT[62.78474118], BRZ[1], BTC[.00485592], DOGE[510.49913571], ETH[0.00778930], ETHW[0.00769354], TRX[1], USD[0.00]                                                                       Yes

08011361                              BTC[0.00005212], SOL[0], USD[0.00]

08011371                              USD[0.01]                                                                                                                                                                                Yes

08011376                              AVAX[4.14009274], BTC[.00399663], DOGE[1], SHIB[4341676.76350136], SOL[6.21292809], USD[0.22]                                                                                            Yes

08011379                              BAT[0], BTC[0.00135333], KSHIB[0], SHIB[7613.35007610], TRX[0], USD[0.00], USDT[0], YFI[0]

08011381                              USD[0.00]

08011386                              USD[0.00]

08011392                              CUSDT[1], DOGE[1], SHIB[489777.37465011], SOL[.11169551], USD[0.01]                                                                                                                      Yes

08011398                              CUSDT[1], LINK[.14334661], MATIC[6.27577787], SHIB[1], USD[11.86], USDT[14.69927888]                                                                                                     Yes

08011404                              SHIB[162639.08943484], USD[0.00]                                                                                                                                                         Yes

08011410                              BAT[81.27332637], DOGE[1], USD[0.00]                                                                                                                                                     Yes

08011414                              CUSDT[1135.40544814], SHIB[374027.52842609], USD[0.00]

08011415                              CUSDT[1], DOGE[37.24376198], KSHIB[135.44524684], SHIB[2188442.38801097], TRX[78.53289335], USD[11.05], USDT[9.94208615]

08011431                              SOL[24.5]

08011448                              USD[500.01]

08011449                              BAT[28.37174754], BRZ[1], BTC[.00078195], CUSDT[13], DOGE[180.99873624], MATIC[5.98160815], SHIB[2896680.30817981], SOL[.14521639], SUSHI[.8693709], TRX[329.21883131], USD[0.00]        Yes

08011452                              BRZ[91.48787556], CUSDT[1727.47268122], SHIB[324452.1064379], TRX[791.7926265], USD[2.26], USDT[5.3467818]                                                                               Yes

08011457                              SOL[0.00307517], USD[0.00]                                                                                                                                                               Yes

08011460                              BF_POINT[100], ETHW[.00000262], LINK[.0000505], MATIC[.00066402], SHIB[3], SOL[.00003696], USD[2.01], USDT[0]                                                                            Yes

08011473                              BTC[.00039988], CUSDT[1], USD[27.15]                                                                                                                                                     Yes

08011499                              USD[13.98]                                                                                                                                                                               Yes

08011505                              BRZ[2], BTC[.03460004], CUSDT[1], DOGE[497.11586474], ETH[.12052637], ETHW[.11936421], SHIB[2401027.75476097], TRX[5], USD[52.02]                                                        Yes

08011510                              USD[119.45]                                                                                                                                                                              Yes

08011518                              SHIB[4], USD[0.01]                                                                                                                                                                       Yes

08011528                              BRZ[2], CUSDT[2], TRX[1.00995323], USD[0.01]                                                                                                                                             Yes

08011534                              BCH[.28915937], BRZ[1], BTC[.00109804], CUSDT[6], DOGE[553.92128682], LTC[.98122041], SHIB[6680397.91006655], SOL[2.19570868], TRX[2], USD[0.96]                                         Yes

08011539       Contingent, Disputed   USD[0.00]

08011542                              BAT[1.01563679], DOGE[1987.45965403], USD[0.89]                                                                                                                                          Yes

08011543                              BAT[36.88202679], BRZ[1], SHIB[748951.46794487], TRX[1], USD[0.00]

08011547                              KSHIB[.93], SHIB[27370700], TRX[.166], USD[1.43], USDT[0]

08011550                              USD[0.01]                                                                                                                                                                                Yes

08011552                              CUSDT[1], SHIB[1], USD[33.03]                                                                                                                                                            Yes

08011556                              BAT[44.53872239], BTC[.00089055], CUSDT[6], DOGE[201.78277109], GBP[0.00], GRT[8.91068036], MATIC[5.61747478], SHIB[313111.91505393], SUSHI[2.41295572], TRX[107.62217742],              Yes
                                      USD[0.00], USDT[21.57904588]
08011559                              BTC[.00020975], DOGE[105], SHIB[1098900], USD[0.00]

08011566                              BAT[2], BRZ[5], BTC[0], DOGE[1], ETH[0], MATIC[0.65851684], NFT (490727410679939789/Magic Eden Pass)[1], NFT (498125033491933452/Imola Ticket Stub #959)[1], SHIB[4], SOL[0.00000001],   Yes
                                      TRX[.012591], USD[34.43], USDT[0]
08011573                              DOGE[.00000001], KSHIB[0], SHIB[0], USD[0.00]                                                                                                                                            Yes

08011585                              ETH[.022], ETHW[.022], LINK[.9982], SHIB[1498500], USD[24.86]

08011593                              CUSDT[5], TRX[1], USD[0.01]

08011595                              CUSDT[22], DOGE[1974.66667059], ETH[.10684085], ETHW[.10575657], GRT[65.11482461], LTC[5.0752517], MATIC[45.06494089], SHIB[23669749.72731857], SOL[3.34448297],                         Yes
                                      SUSHI[11.37040757], TRX[1399.03346959], USD[1.71]
08011601       Contingent, Disputed   BTC[0], USD[0.00], USDT[0]

08011609                              AAVE[.04402583], ALGO[18.56045452], AVAX[.12274984], BAT[12.10347863], BCH[.03401358], BTC[.0002281], CUSDT[20], DOGE[86.00382296], ETH[.00309309], ETHW[.00305205],                     Yes
                                      GRT[29.7386239], KSHIB[321.58176128], LINK[.66711046], LTC[.10163624], MATIC[4.53855778], MKR[.00551613], NEAR[.87272926], PAXG[.00581786], SHIB[324127.97048735], SOL[.06565437],
                                      SUSHI[1.23379448], UNI[.61288203], USD[0.01], USDT[0.00000001], YFI[.00043177]
08011611                              CUSDT[2], SHIB[1538712.31330988], SOL[.51394239], USD[0.00]

08011615                              CUSDT[1], DOGE[612.18156527], SHIB[13107019.74315271], USD[12.32]                                                                                                                        Yes

08011617                              USD[0.79], USDT[1.55188404]

08011621                              CUSDT[1232.9835554], SHIB[812020.32632072], USD[0.00]                                                                                                                                    Yes

08011629                              CUSDT[4], SHIB[1702097.67312343], USD[0.00]

08011637                              CUSDT[2], MATIC[0], USD[0.00]

08011643                              AAVE[.54112972], BRZ[1], DOGE[1], NFT (324663506139019499/The Statue of Liberty)[1], NFT (352365487104303006/Brooklyn Bridge)[1], NFT (377858810421987652/THE THIRD EYE)[1], NFT         Yes
                                      (439148853192907064/Seahorse #2)[1], NFT (527541854734118682/Chorizo #19)[1], SUSHI[75.22168166], USD[362.74]
08011648                              CUSDT[6], DOGE[2], SHIB[51567332.46348571], TRX[2], USD[10.45]

08011649                              DOGE[2060.59966311], TRX[1], USD[0.00]                                                                                                                                                   Yes

08011650                              CUSDT[5], DOGE[1], MATIC[77.77636783], SHIB[2074799.57228226], SUSHI[6.71857608], TRX[1], UNI[1.98998726], USD[0.00]

08011653                              BTC[.01040662], CUSDT[2], DOGE[1], USD[5.42]                                                                                                                                             Yes

08011670                              BTC[.00082368], USD[50.00]
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                                                                                                                                         Customer Claims                                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08011672                           CUSDT[2], DOGE[1], USD[0.00]

08011676                           AVAX[1.39812732], BF_POINT[300], BTC[.01264505], DOGE[5705.93141525], ETH[.12051748], ETHW[7.40823293], SHIB[29226295.95124743], SOL[.68423583], USD[0.00]                     Yes

08011679                           ETHW[.431], USD[4.09]

08011685                           BTC[.00016088], USD[0.00]                                                                                                                                                      Yes

08011687                           CUSDT[1], MATIC[10.77357382], TRX[87.92579094], USD[0.01]                                                                                                                      Yes

08011689                           SHIB[5100000], USD[1.29]

08011692                           CUSDT[2], DOGE[1], USD[0.00]                                                                                                                                                   Yes

08011693                           SOL[0], USD[0.00]

08011694                           SHIB[7466029.56547707], TRX[1], USD[0.01]

08011712                           BTC[.00382445], CUSDT[4], SHIB[572160.68195121], TRX[1], USD[0.00]                                                                                                             Yes

08011716                           ETH[.000026], ETHW[.993826], LINK[.92], SOL[.00007], USD[55.47]

08011717                           BAT[1.0151269], BRZ[4], CUSDT[1], DOGE[5.02447969], SHIB[511326.98798929], TRX[3], USD[0.00]                                                                                   Yes

08011727                           BAT[615.60892135], BCH[2.03456509], BTC[.23724684], LTC[18.7789991], SHIB[64903642.53012905], SOL[3.5508205], USD[0.00], YFI[.02101507]                                        Yes

08011729                           CUSDT[1], SHIB[303122.15822976], USD[0.00]

08011739       Contingent,         BAT[0], BTC[0], CHF[0.00], ETHW[.00075], EUR[0.00], JPY[0.00], SOL[0], USD[0.00], USDT[0]
               Unliquidated
08011750                           USD[10.86]                                                                                                                                                                     Yes

08011757                           BRZ[2], BTC[0.11937134], DOGE[1], ETH[.01851019], ETHW[.01827763], NFT (491201587040708147/Entrance Voucher #29750)[1], SHIB[39], SOL[.00001343], TRX[3], USD[0.00], USDT[0]   Yes

08011768                           SHIB[5185918.05596908], USD[0.00], USDT[0]                                                                                                                                     Yes

08011774                           CUSDT[1], SHIB[1], USD[0.00]

08011782                           USD[1.08]                                                                                                                                                                      Yes

08011792                           CUSDT[6], USD[0.00]

08011798                           CUSDT[1], DOGE[404.6793455], USD[0.00]                                                                                                                                         Yes

08011799                           BRZ[1], BTC[0.00000389], DOGE[.0030832], ETH[.00001603], ETHW[1.55292209], SHIB[60.31674809], TRX[2], USD[0.01], USDT[1.83808701]                                              Yes

08011800                           MATIC[12.890981], SHIB[694251.59677867], USD[0.00]

08011804                           DOGE[1], SHIB[4991336.78037803], USD[0.00]

08011819                           USD[108.52]                                                                                                                                                                    Yes

08011821                           USD[54.30]                                                                                                                                                                     Yes

08011827                           USD[0.00]                                                                                                                                                                      Yes

08011839                           BAT[1], BRZ[2], BTC[.00000021], ETH[.00000064], GRT[1], MATIC[.98000319], SHIB[8], TRX[3], USD[733.84]                                                                         Yes

08011850                           TRX[8231.471682]

08011854                           USD[108.59]                                                                                                                                                                    Yes

08011855                           ETH[.00244645], ETHW[.00241909], USD[0.00]                                                                                                                                     Yes

08011857                           BTC[.00016024], CUSDT[1], ETH[.00243913], ETHW[.00241177], USD[0.00]                                                                                                           Yes

08011858                           BTC[.00499536], CUSDT[498.70894093], DOGE[4], ETH[.02229984], ETHW[.02202624], GRT[53.09819469], SHIB[3572.64375637], SOL[.44134684], SUSHI[2.02900122], TRX[1], USD[0.00]     Yes

08011862                           DOGE[1], SHIB[4434417.8266779], USD[0.07]                                                                                                                                      Yes

08011864                           BTC[.00102687], CUSDT[1], DOGE[2], KSHIB[575.89239565], SHIB[17671644.73249914], USD[0.00]

08011875                           DOGE[0], NFT (302001226472163113/MagicEden Vaults)[1], NFT (330319994688816947/MagicEden Vaults)[1], NFT (400513578919573968/MagicEden Vaults)[1], NFT
                                   (467985700108936331/MagicEden Vaults)[1], NFT (471354917707881274/MagicEden Vaults)[1], NFT (571276369158934226/DINO SERIES)[1], USD[0.00]
08011890                           BTC[0], ETH[.00000001], USD[0.00]                                                                                                                                              Yes

08011894                           BTC[.43552743], ETH[1.67803695], ETHW[1.67803695], SOL[47.0125405], USD[0.75]

08011895                           BRZ[2], BTC[.00000002], CUSDT[4], DOGE[9.01859444], ETHW[.1542686], SHIB[3053303.73046433], SOL[.00007073], TRX[6], USD[287.28]                                                Yes

08011900                           USD[0.03]                                                                                                                                                                      Yes

08011901                           USD[0.00]                                                                                                                                                                      Yes

08011907                           DOGE[1], SHIB[4298480.51303881], USD[0.00]                                                                                                                                     Yes

08011910                           USD[0.01]                                                                                                                                                                      Yes

08011923                           BTC[.0069511], ETH[.00930698], ETHW[.00919754], SOL[.33051969], USD[216.20]                                                                                                    Yes

08011928                           BTC[.000001], CUSDT[13], DOGE[4], ETH[.57426154], ETHW[.4300634], TRX[1], USD[-25.00], USDT[1.08129003]                                                                        Yes

08011943                           USD[0.00]

08011958                           ETH[.023], ETHW[.023], SOL[1], TRX[100], USD[0.86]

08011959                           DOGE[1], NFT (450044291613274561/Eitbit Ape #298)[1], NFT (512660544696044193/LightPunk #983)[1], NFT (573042312337196053/LightPunk #1414)[1], SOL[1.65659674], USD[0.00]      Yes

08011962                           CUSDT[1], SHIB[1671949.62750782], USD[0.00]                                                                                                                                    Yes

08011977                           ETH[.12886674], ETHW[.12777925], LINK[1.07788866], MATIC[11.43959817], SHIB[1781282.54265906], TRX[27.41356153], USD[0.00]                                                     Yes

08011981                           SOL[0], USD[0.00], USDT[0.00141383]

08011984                           DOGE[1], TRX[1], USD[549.93]                                                                                                                                                   Yes

08011985                           BTC[.00016024], USD[0.00]

08011986                           BAT[30.60039397], BRZ[2], BTC[.06282338], CUSDT[2], SHIB[3], TRX[1], USD[1.03]                                                                                                 Yes

08011987                           BAT[12.77835238], CUSDT[3.00906201], USD[0.00]                                                                                                                                 Yes

08011990                           BTC[0], CUSDT[2], ETH[.00000062], ETHW[.00000062], SHIB[1], USD[0.00]                                                                                                          Yes

08011996                           SOL[.00000001]
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                                                                                                                                              Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08012006                              SHIB[4], USD[5.66]                                                                                                                                                                   Yes

08012013                              USD[0.00]

08012023                              BCH[0], BTC[0], DOGE[0], ETH[0], LTC[0], SOL[0], USD[2.79]

08012025                              BRZ[632.48033399], CUSDT[984.57619764], LINK[2.38196198], TRX[1280.13154672], USD[16.31]                                                                                             Yes

08012033                              CUSDT[4], DOGE[1], TRX[1], USD[0.00], USDT[0.00002382]

08012035                              USD[20.00]

08012044                              CUSDT[2], DOGE[1], USD[0.00]

08012045                              AVAX[21.24383272], BTC[0.15790690], ETH[1.16301201], ETHW[0.98997650], GRT[5986.6212341], MATIC[0], NFT (367364796347303960/Entrance Voucher #3876)[1], NFT                          Yes
                                      (374051045418867386/Australia Ticket Stub #2152)[1], NFT (505996515919381085/Barcelona Ticket Stub #2447)[1], SOL[0], USD[2138.80], USDT[0]
08012049                              USD[0.04]                                                                                                                                                                            Yes

08012054                              DOGE[1], SHIB[5236475.57603087], USD[0.00]                                                                                                                                           Yes

08012064                              USD[0.00], USDT[0]

08012077                              SOL[.04533524], USD[5.44]                                                                                                                                                            Yes

08012085                              CUSDT[2], DOGE[1], ETH[.01254402], ETHW[.01254402], SHIB[529753.70965274], USD[0.00]

08012086                              USD[10.00]

08012088                              LINK[7.2], SOL[.00468232], USD[0.64]

08012091                              USD[20.00]

08012093                              GRT[2.03521985], USD[0.00]                                                                                                                                                           Yes

08012095                              USD[0.94]                                                                                                                                                                            Yes

08012097                              SHIB[77243.93635099], USD[0.00]

08012100                              USD[0.00]

08012105                              LINK[16.59570187], TRX[1], USD[0.01]                                                                                                                                                 Yes

08012112                              BRZ[5], CUSDT[1], DOGE[10], ETHW[.06079029], GRT[1], SHIB[50], TRX[8], USD[0.00]

08012118                              USD[11.00]

08012122                              BTC[.00136004]

08012135                              CUSDT[184.57491026], SHIB[197897.81968413], TRX[27.74351197], USD[0.00]

08012141                              BTC[0], DOGE[0], ETH[0], LINK[0], MATIC[0], SOL[0], SUSHI[0], UNI[0], USD[0.00]

08012143                              USD[10.00]

08012152                              SHIB[152788.3880825], USD[10.00]

08012164                              CUSDT[4], TRX[1], USD[0.00]                                                                                                                                                          Yes

08012165                              NFT (323514057250463135/Joker Voxi)[1], USD[125.00]

08012167                              CUSDT[1], DOGE[1], SHIB[40836.74095721], TRX[1], USD[0.96]                                                                                                                           Yes

08012179                              SOL[2.58741], USD[2.72]

08012191                              BTC[.00814302], DOGE[1], USD[0.00]                                                                                                                                                   Yes

08012202                              BTC[.008], SOL[.76], USD[0.91]

08012219                              SHIB[1], TRX[1], USD[0.00]                                                                                                                                                           Yes

08012220                              BAT[99.44063156], CUSDT[1], SHIB[163642.44771904], USD[0.00]                                                                                                                         Yes

08012221                              BTC[0.00005113], DOGE[.4], ETH[.000939], ETHW[.000939], USD[0.00]

08012222                              ETHW[.05883], USD[0.01]

08012229                              DOGE[0], KSHIB[0], LINK[199.54547579], MATIC[0], NFT (344242543746492881/Ape MAN#97)[1], NFT (435156554120830584/3D CATPUNK #3586)[1], NFT (489353171804419304/Baddies #3349)[1], Yes
                                      SHIB[0], SOL[0.01400000], USD[0.00], USDT[0]
08012231                              USD[0.00]                                                                                                                                                                         Yes

08012237                              BTC[.0882], ETH[1.104], ETHW[1.104], TRX[.0000007], USD[0.82], USDT[.00000089]

08012243                              CUSDT[4], DOGE[1], USD[0.01]                                                                                                                                                         Yes

08012251                              BTC[.00081609], ETH[.00613553], ETHW[.00605345], SHIB[1], USD[0.00]                                                                                                                  Yes

08012252                              USD[10.00]

08012260                              AAVE[0.06455997], BAT[20.9840426], BRZ[1], BTC[.00090173], CUSDT[4382.45801170], DOGE[1], ETH[.02154595], ETHW[.02127636], GRT[109.08441171], SUSHI[.48657051], TRX[109.25191865],   Yes
                                      UNI[2.05860953], USD[2.79], USDT[0.00000001]
08012272                              CUSDT[1], LINK[2.56251302], NFT (556297994115654210/Entrance Voucher #2660)[1], USD[0.01]                                                                                            Yes

08012274                              CUSDT[2], SHIB[15800188.65153969], USD[0.01]

08012281                              BTC[.00008066], ETH[.00122411], ETHW[.00121043], SHIB[156373.84747325], USD[0.00]                                                                                                    Yes

08012286                              ETHW[1.2], USD[3.29]

08012289                              ALGO[404.9840481], AVAX[10.96308028], SHIB[3], SOL[6.45466411], USD[0.00]                                                                                                            Yes

08012295                              CUSDT[6], TRX[1], USD[37.06]                                                                                                                                                         Yes

08012297                              ETH[.00000972], ETHW[.00000972], MATIC[.00412409], SHIB[2], SOL[.00006158], TRX[1], USD[1718.98], USDT[0.00001866]                                                                   Yes

08012302                              CUSDT[1], NFT (432339797102249379/Entrance Voucher #3900)[1], SHIB[1072402.51290356], SOL[.04534457], USD[0.00]                                                                      Yes

08012303                              MATIC[19.98], SHIB[99900], SOL[.268], USD[0.97]

08012306                              SUSHI[.98619462], USD[0.00]                                                                                                                                                          Yes

08012310                              BTC[.00029023], CUSDT[1], ETH[.00102394], ETHW[.00102394], USD[0.00]

08012312       Contingent, Disputed   BTC[.00704248], CUSDT[7], ETH[.01594715], ETHW[.01575085], SHIB[1], SUSHI[7.39931217], USD[1659.50]                                                                                  Yes
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08012316                              SHIB[164753.47446598], USD[0.00]                                                                                                                                                       Yes

08012317                              USD[0.00], USDT[.79148367]

08012318                              USD[0.02]                                                                                                                                                                              Yes

08012328                              BCH[0], BTC[.00001943], DOGE[0], SOL[0], TRX[0.00000158]

08012337                              BAT[178.14377464], CUSDT[5], DOGE[334.2824429], GRT[23.53061653], KSHIB[1168.38972994], SHIB[1746216.53084982], SOL[1.28783571], TRX[1], USD[0.00]

08012344                              USD[541.43]                                                                                                                                                                            Yes

08012347                              BRZ[1], BTC[.01757352], DOGE[4311.60482946], MATIC[.00417369], SHIB[9972172.26784176], USD[1.00]                                                                                       Yes

08012352                              CUSDT[1], ETH[.04063669], ETHW[.04013053], USD[0.02]                                                                                                                                   Yes

08012369                              CUSDT[1], DOGE[124.80965705], ETH[.00466751], ETHW[.00461279], SHIB[785597.19954695], USD[1.00]                                                                                        Yes

08012376                              USD[21.51]                                                                                                                                                                             Yes

08012377                              USD[0.15]                                                                                                                                                                              Yes

08012387                              CUSDT[1], SHIB[797948.02752716], USD[0.01]                                                                                                                                             Yes

08012390                              BF_POINT[100], USD[0.00]

08012391                              BAT[10.80125549], BRZ[26.81180342], CUSDT[2], GRT[1.1056094], SHIB[5503673.60064012], USD[0.00], USDT[10.78745391]                                                                     Yes

08012397                              BTC[.0003464], CUSDT[4], DOGE[1696.20126533], GRT[11.59934747], SHIB[4861608.86125624], USD[0.38]                                                                                      Yes

08012423                              USD[21.51]                                                                                                                                                                             Yes

08012436                              USD[400.00]

08012439                              AAVE[.13036126], ALGO[25.73362394], AVAX[.53741969], CUSDT[10], DOGE[1], MATIC[23.48934274], SHIB[452666.58899058], SOL[.37646307], TRX[1], USD[543.29]                                Yes

08012444                              CUSDT[1], DOGE[80.05090618], USD[0.00]                                                                                                                                                 Yes

08012446                              SOL[.0054285], TRX[.00000026], USD[0.00], USDT[0.00000002]

08012452                              BAT[1.01458926], CUSDT[1], DOGE[832.15258667], GRT[1.00312819], PAXG[.30066227], SHIB[10361836.11838972], SOL[3.71950841], TRX[1], USD[0.06]                                           Yes

08012454                              DOGE[1], SHIB[8327906.51975679], USD[0.00]                                                                                                                                             Yes

08012458                              CUSDT[1], MATIC[11.30630876], USD[0.00]                                                                                                                                                Yes

08012460                              CUSDT[1], SHIB[518902.89103039], USD[115.00]

08012461                              ETHW[.000231], USD[1.86]

08012479                              USD[0.00], USDT[1.08093469]                                                                                                                                                            Yes

08012485                              MATIC[18], USD[0.73]

08012486                              CUSDT[3], SHIB[2087544.82434371], USD[0.00]                                                                                                                                            Yes

08012491                              CUSDT[4], DOGE[2], USD[0.01], USDT[0]                                                                                                                                                  Yes

08012492                              CUSDT[1], SHIB[320709.20436331], USD[0.00]                                                                                                                                             Yes

08012498                              BF_POINT[100], BTC[0], ETH[0], ETHW[0], MATIC[0], NFT (307647437307680209/Marcus Allen's Playbook: Los Angeles Raiders vs. Washington - January 22, 1984 #81)[1], NFT                  Yes
                                      (484516343843894412/Shannon Sharpe's Playbook: Kansas City Chiefs vs Denver Broncos - October 4, 1992 #81)[1], SHIB[23], SOL[0], TRX[1], USD[0.92], USDT[0.00000001]
08012513                              CUSDT[1], ETH[.02462266], ETHW[.0243217], USD[434.37]                                                                                                                                  Yes

08012521                              NFT (290707116992615087/SHIB to the MOON)[1], NFT (306868903955762740/Street Kings #4)[1], NFT (374321700700630390/Street Kings #2)[1], NFT (391779757382429677/Street Kings #3)[1],
                                      NFT (505227779393035048/Street Kings #1)[1], SOL[.3021144], USD[0.04]
08012526                              USD[20.00]

08012529                              BTC[0], SHIB[0], USD[0.00]

08012538                              NFT (531440933601024942/Entrance Voucher #4250)[1], USD[3229.08]

08012548                              SOL[.02584898], USD[0.00]

08012557                              USD[21.51]                                                                                                                                                                             Yes

08012562                              USD[10.86]                                                                                                                                                                             Yes

08012573                              USDT[50]

08012579                              SOL[2.59], USD[2.86]

08012591                              CUSDT[1], KSHIB[223.44963936], USD[0.00]                                                                                                                                               Yes

08012597                              AAVE[0], BTC[0], ETH[0.01657638], ETHW[0.01657638], MATIC[0], SHIB[862367.31132761], USD[0.00]

08012602                              NFT (575528017454925369/2974 Floyd Norman - OKC 6-0266)[1], USD[0.00]

08012614                              BCH[1.02961655], BRZ[1], CUSDT[1], ETH[1.0678176], ETHW[1.0673691], SHIB[1733640.80690395], TRX[3], USD[0.00]                                                                          Yes

08012616                              CUSDT[2], SOL[.0000011], USD[0.00]                                                                                                                                                     Yes

08012617                              SHIB[1128381.23662871], USD[0.01]                                                                                                                                                      Yes

08012619       Contingent, Disputed   ETH[0], ETHW[0], LTC[0], MATIC[0], SHIB[0], SOL[5.65633295], TRX[0], USD[0.00]                                                                                                         Yes

08012629                              ETH[.00000017], ETHW[.00000017], USD[0.01], USDT[0.00000001]                                                                                                                           Yes

08012633                              USD[0.00], USDT[0]

08012634                              ALGO[13.37675314], BAT[13.78104685], BRZ[24.14160927], DOGE[64.20549548], KSHIB[459.55544444], SHIB[828339.17770048], TRX[1], UNI[1.00816734], USD[0.02]                               Yes

08012637                              BAT[7.76193066], BRZ[2.80745412], SOL[.02167819], TRX[42.87334208], USD[0.00]                                                                                                          Yes

08012654                              SOL[1.01796239], TRX[1], USD[265.00]

08012672                              CUSDT[2], DOGE[708.86203914], SHIB[3197687.47770954], TRX[1], USD[0.00]                                                                                                                Yes

08012677                              USD[0.00]

08012681                              BAT[1], BRZ[1], BTC[0], DOGE[3], ETH[0], ETHW[.17353831], SHIB[21], SOL[0], TRX[7], USD[0.00], USDT[0.00001124]                                                                        Yes

08012688                              SHIB[1757875.02176659], USD[0.00]                                                                                                                                                      Yes

08012692                              SHIB[3447331.02405343], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08012710                              CUSDT[1], USD[0.01]                                                                                                                                                                    Yes

08012712                              ETH[.00190718], ETHW[2.62790718], LINK[.1], USD[0.00]

08012719                              CUSDT[1], KSHIB[177.30493834], SHIB[450568824.08344788], USD[0.00]                                                                                                                     Yes

08012725                              SUSHI[1.26398876], USD[0.00]                                                                                                                                                           Yes

08012727                              USD[23745.80]

08012728                              CUSDT[1], DOGE[59.74742761], USD[0.00]                                                                                                                                                 Yes

08012737                              CUSDT[1251.34266194], DOGE[198.77219963], SHIB[1209815.68772076], TRX[1071.14790613], USD[0.00]                                                                                        Yes

08012751                              AVAX[.3104333], BRZ[1], BTC[.04090568], CUSDT[2], DOGE[1379.05478606], ETH[.09415652], ETHW[.09415652], KSHIB[1999.45374923], SHIB[3], SOL[.27086498], TRX[2], USD[0.00]

08012761                              BTC[.00000016], CUSDT[5], USD[0.00], USDT[1.08203097]                                                                                                                                  Yes

08012771                              CUSDT[9], DOGE[1], GRT[.00002491], SHIB[1.41794407], TRX[.009981], USD[0.00]                                                                                                           Yes

08012775                              DOGE[515.4781189], ETH[0], ETHW[4.78589395], LINK[9.05228647], SHIB[6266237.15246837], SOL[8.47026866], TRX[302.3573991], USD[0.38], USDT[0]                                           Yes

08012776                              DOGE[3], USD[0.01]

08012798                              ETH[.00000001], ETHW[0]

08012801                              SOL[0], USDT[1.08193219]                                                                                                                                                               Yes

08012806                              CUSDT[1], SHIB[796823.78116805], USD[0.00]                                                                                                                                             Yes

08012814                              DOGE[199.59526048], USD[54.30]                                                                                                                                                         Yes

08012815                              CUSDT[3], USD[0.01]                                                                                                                                                                    Yes

08012827                              BTC[.03255771]                                                                                                                                                                         Yes

08012832                              CUSDT[2], DOGE[.04369438], NFT (337150218730585126/FTX - Off The Grid Miami #7522)[1], NFT (340341299907115255/FTX - Off The Grid Miami #212)[1], NFT (447327392056367650/Barcelona
                                      Ticket Stub #622)[1], SHIB[51.97932684], USD[0.00]
08012843                              ETH[0], SHIB[24492.4544524], USD[0.00]

08012846                              DOGE[0], SOL[0.00000001], SUSHI[0], USD[0.00], USDT[0]                                                                                                                                 Yes

08012850                              BRZ[2], BTC[.00000003], LTC[.45038763], MATIC[.00072585], SHIB[31], SOL[.00002103], TRX[7], USD[0.00]                                                                                  Yes

08012856                              CUSDT[9], DOGE[1], SHIB[12949392.54015532], TRX[1], USD[0.00]                                                                                                                          Yes

08012857                              DOGE[1], NFT (297780362906141554/Mad Lions Remastered #11)[1], NFT (430966312573316226/AI-generated landscape #139)[1], NFT (523628084721331364/Abstract Painting)[1], USD[23.40]

08012862                              BRZ[1], CUSDT[5], SHIB[53.42994111], TRX[1], USD[0.52]                                                                                                                                 Yes

08012889                              CUSDT[5], ETH[.00000019], ETHW[.00000019], TRX[1], USD[51.93], USDT[0.00644006]                                                                                                        Yes

08012891                              SOL[.03029042], USD[0.00]

08012895                              SHIB[22], USD[12050.57]                                                                                                                                                                Yes

08012897                              USD[0.03]

08012899                              ETH[.0851738], ETHW[.08414417], TRX[1], USD[0.00]                                                                                                                                      Yes

08012905                              USD[0.01]                                                                                                                                                                              Yes

08012913                              BTC[.001745], USD[0.00]

08012930                              BAT[0], BRZ[5.07952967], BTC[0.00000003], LINK[17.10491266], MATIC[0], SOL[0], TRX[1869.89878929], UNI[1.08498961], USD[77.21]                                                         Yes

08012931                              AAVE[.32361599], AVAX[1.74609612], BRZ[54.21777838], CUSDT[948.94992656], DOGE[226.54694387], ETH[.0224248], ETHW[.01902689], LINK[11.09269397], NFT (354823804756616163/Bahrain       Yes
                                      Ticket Stub #1757)[1], NFT (382220155565892957/Barcelona Ticket Stub #103)[1], SHIB[1223712.48485847], USD[5116.45], YFI[.00496798]
08012932                              DOGE[0], SHIB[0], TRX[.003825], USD[0.01]

08012942                              NFT (572805575434828591/FTX - Off The Grid Miami #537)[1]

08012945                              ETH[.05693135], ETHW[.0562228], TRX[1], USD[212.78]                                                                                                                                    Yes

08012955                              BTC[0], MKR[0], SOL[0], USD[0.00]                                                                                                                                                      Yes

08012958                              SOL[1.16002021], USD[0.50]

08012960                              USD[10.86]                                                                                                                                                                             Yes

08012970                              USD[0.00]

08012973                              SOL[0]

08012983                              CUSDT[1], DOGE[1], NFT (300337524900868524/Gloom Punk #7895)[1], NFT (310436865854441466/Eitbit Ape #3394)[1], NFT (333914713733660606/Cyber Frogs Ramen)[1], NFT
                                      (374626643784120700/MagicEden Vaults)[1], NFT (379407018016962502/Space Bums #9458)[1], NFT (379876140248853953/Solana Penguin #3156)[1], NFT (395225951487809283/MagicEden
                                      Vaults)[1], NFT (396259509753001860/GalaxyKoalas # 377)[1], NFT (407698111479185732/MagicEden Vaults)[1], NFT (411614054378367276/MagicEden Vaults)[1], NFT (439717986764580055/Cool
                                      Bean #4408)[1], NFT (446015902374082413/Kiddo #311)[1], NFT (492953430069568373/Frog #7306)[1], NFT (522107568386070851/MagicEden Vaults)[1], NFT (531700076498520189/Fancy
                                      Frenchies #7864)[1], NFT (573360033071049912/Golden bone pass)[1], NFT (575864566819463031/ALPHA:RONIN #37)[1], SOL[.28940057], TRX[1], USD[0.00]

08012986                              AAVE[1.06768872], BAT[21.47149023], BCH[.02711993], ETH[.03692076], ETHW[.03646232], LINK[3.22289627], MKR[.00467983], SOL[.0000095], SUSHI[10.77857375], TRX[430.19751694],           Yes
                                      UNI[2.18844269], USD[3.35], YFI[.0002938]
08012989                              CUSDT[1], USD[0.00]                                                                                                                                                                    Yes

08012996       Contingent, Disputed   USD[0.00]

08012999                              ALGO[.00032643], GRT[.00126944], LINK[.0000148], SHIB[9], TRX[.00159939], USD[0.03]                                                                                                    Yes

08013000                              BF_POINT[100], BTC[0.01315041], USD[0.00], USDT[0]                                                                                                                                     Yes

08013002                              BTC[0.10317298], USD[4.75]

08013029                              BF_POINT[300]

08013031                              USD[21.51]                                                                                                                                                                             Yes

08013041                              BTC[.00177261], CUSDT[1], ETH[.05163864], ETHW[.05099568], SHIB[2], USD[3.39]                                                                                                          Yes

08013058                              CUSDT[3], DOGE[507.45874721], ETH[.01289816], ETHW[.012734], MATIC[19.84425273], SHIB[225134.27604958], SOL[.39691815], TRX[1], USD[0.01]                                              Yes

08013061                              USDT[0.00001762]
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                                                                                                                                         Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08013063                           NFT (347667777717098714/Imola Ticket Stub #681)[1]                                                                                                                               Yes

08013075                           BTC[.34853479], ETH[4.63265312], ETHW[4.63090173]                                                                                                                                Yes

08013081                           CUSDT[1], SHIB[1601110.64445289], USD[0.00]                                                                                                                                      Yes

08013084                           USD[10.00]

08013085                           SOL[0], USD[91.79]

08013095                           CUSDT[1], SHIB[12208784.04412955], USD[0.00]                                                                                                                                     Yes

08013105                           CUSDT[1], ETH[.12435241], ETHW[.12319355], USD[0.01]                                                                                                                             Yes

08013109                           BAT[10.55393437], CUSDT[8], DAI[0], DOGE[47.84571266], LTC[0.00000069], MATIC[2.17253499], SHIB[2406738.81728168], TRX[1], USD[0.00]                                             Yes

08013125                           SOL[.00177095], TRX[.000003], USD[19.55]

08013137                           USD[0.00]

08013144                           SHIB[147972.77300976], TRX[1], USD[0.00]

08013147                           USD[10.00]

08013148                           USD[0.00]

08013155                           USD[0.00]                                                                                                                                                                        Yes

08013162                           BTC[0], DOGE[0], ETH[0]

08013167                           USD[0.00]

08013168                           BAT[4.53884009], BTC[.00015427], DAI[5.40125217], DOGE[20.03748574], ETH[.00123633], ETHW[.00122264], LINK[.16583053], SHIB[77620.1283217], SOL[.04370167], TRX[106.37881274],   Yes
                                   USD[0.03], USDT[5.39963268]
08013178                           GRT[.483], USD[6.17]

08013181                           USD[0.00]

08013183                           DOGE[1], TRX[1], USD[0.00]                                                                                                                                                       Yes

08013184                           USD[0.01]                                                                                                                                                                        Yes

08013190                           BTC[.003397], ETH[.051948], ETHW[.051948], SOL[4.75], USD[2.83]

08013192                           CUSDT[1], TRX[.00223433], USD[0.00]                                                                                                                                              Yes

08013197                           USD[43.05]                                                                                                                                                                       Yes

08013210                           SHIB[170103.81019801], TRX[1], USD[0.00]                                                                                                                                         Yes

08013213                           USD[0.00], USDT[300.2171332]

08013214                           CUSDT[0]

08013219                           BCH[0], BTC[0], DOGE[0], ETH[0], SHIB[0], SOL[0], USD[0.00], YFI[0]                                                                                                              Yes

08013220                           DOGE[120.00069678], TRX[1], USD[21.73]                                                                                                                                           Yes

08013239                           AVAX[.00000001], BTC[0], ETH[0], ETHW[0], MATIC[0], SOL[1.23508296], USD[0.00]

08013248                           BRZ[61.03735378], CUSDT[1], KSHIB[153.66841858], TRX[268.1692527], USD[5.43]                                                                                                     Yes

08013261                           BTC[0], CUSDT[5], MKR[.00000001], USD[0.00]                                                                                                                                      Yes

08013264                           NFT (411060943400966367/Solana Squirrel #464)[1], NFT (506461721759334985/SolBunnies #1049)[1], SHIB[0], SOL[8.65904309], USD[0.00]                                              Yes

08013267                           CUSDT[1.77610121], KSHIB[.64703716], TRX[1], USD[0.82]

08013272                           CUSDT[1], USD[0.00]                                                                                                                                                              Yes

08013275                           CUSDT[1], KSHIB[912.4924988], SHIB[165581.22880776], TRX[1], USD[0.00]                                                                                                           Yes

08013277                           BTC[.0080919], USD[6.20]

08013286                           TRX[8405.54597]

08013288                           USD[0.14], USDT[0]

08013298                           DOGE[1], SHIB[776172.24181527], USD[0.00]                                                                                                                                        Yes

08013314                           ETH[.00000001], ETHW[0], USD[0.01]

08013315                           NFT (315987898427582226/Microphone #1849)[1]

08013317                           CUSDT[1], LINK[3.63746889], USD[0.00]                                                                                                                                            Yes

08013318                           CUSDT[1], ETHW[.1240004], LTC[0], SHIB[2], USD[0.01]                                                                                                                             Yes

08013336                           CUSDT[1], TRX[1], USD[0.26]

08013340                           USD[13.56]                                                                                                                                                                       Yes

08013343                           NFT (425405432001308134/FTX - Off The Grid Miami #2751)[1]                                                                                                                       Yes

08013349                           AAVE[0], SUSHI[0], UNI[0], USD[0.00], USDT[0]                                                                                                                                    Yes

08013357                           CUSDT[1], DOGE[1], SHIB[4905802.86162], USD[0.19]

08013366                           USD[0.06]

08013369                           USD[0.00]

08013376                           TRX[.000001]

08013379                           BRZ[1], TRX[2], USD[0.00]                                                                                                                                                        Yes

08013391                           SHIB[814496.92318177], TRX[1], USD[0.00]

08013396                           BTC[.0466633], ETH[.24975], ETHW[.24975], SOL[5.64485], USD[1.57]

08013407                           BF_POINT[100]

08013412                           SOL[0], USD[1.43]

08013417                           CUSDT[2], USD[20.23]
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                                                                                                                                         Customer Claims                                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08013418                           ETH[0.00788409], ETHW[0.00788409], SOL[0], USD[0.00]

08013420                           USD[20.00]

08013441                           USDT[0.00000076]

08013449                           BRZ[549.00708483], CUSDT[4900.30949096], DOGE[1720.54972877], KSHIB[975.35473651], SHIB[49878310.559739], SOL[3.73059668], TRX[1632.47449928], USD[13.90], USDT[108.99086263]   Yes

08013459                           BTC[0], CUSDT[2], KSHIB[149.91431647], MATIC[0], SHIB[139538.21803196], SOL[0], TRX[1], USD[0.00]                                                                               Yes

08013460                           USD[0.00]

08013468                           CUSDT[5], DOGE[.00254803], SHIB[40.40047125], USD[0.33]                                                                                                                         Yes

08013482                           SOL[.42], USD[2.35]

08013483                           BAT[10.66612103], CAD[5.30], CUSDT[2], DOGE[19.6257406], EUR[3.22], GRT[13.17496055], KSHIB[27.71889053], SHIB[47901.89207169], TRX[50.82262814], USD[7.20], USDT[5.37660413]   Yes

08013516                           AAVE[.82801081], BAT[129.8286235], BRZ[3], BTC[.0140244], DOGE[1416.60097929], LINK[1.94916089], LTC[.25599773], MATIC[56.94265281], MKR[.03281444], SHIB[8895421.19074955],    Yes
                                   TRX[1743.59838171], UNI[3.27380539], USD[0.00], USDT[0]
08013529                           CUSDT[4], DOGE[76.60040137], KSHIB[295.46941965], MATIC[20.14363134], SHIB[297929.39073439], USD[0.00], USDT[19.88417231]

08013534                           BTC[.01098866], SHIB[1], USD[0.01]                                                                                                                                              Yes

08013539                           DOGE[11.11174988], MATIC[1.42521699], SOL[.01549956], TRX[20.36210343], USD[0.00]                                                                                               Yes

08013540                           CUSDT[2], SHIB[1], SOL[.00161135], TRX[1], USD[0.00]

08013557                           DOGE[116.14401858]

08013564                           USD[20.00]

08013574                           USD[1.75]

08013591                           BTC[.00882869], CUSDT[1], USD[0.00]                                                                                                                                             Yes

08013594                           CUSDT[4], DOGE[205.99737187], SHIB[3450481.68719128], USD[0.02]                                                                                                                 Yes

08013600                           DOGE[1], ETHW[.12], GRT[1], SHIB[35715.66236794], TRX[1], USD[2102.12]

08013601                           TRX[967.83180377], USD[0.00]                                                                                                                                                    Yes

08013618                           USD[0.00]

08013622                           ETHW[1.9735], USD[1.02]

08013625                           SHIB[999000], USD[0.12]

08013633                           USD[0.05]                                                                                                                                                                       Yes

08013644                           CUSDT[4], USD[0.01]                                                                                                                                                             Yes

08013647                           BTC[.00016377], DOGE[1], ETH[.0022462], ETHW[.00221884], GRT[30.016759], MATIC[15.3084021], SHIB[2], SOL[.21355867], USD[0.00]                                                  Yes

08013653                           USD[13.78]

08013656                           SOL[1.32867], USD[0.64]

08013662                           SHIB[9810443.63791908], USD[0.00]                                                                                                                                               Yes

08013667                           MATIC[1], TRX[1], USD[0.00], USDT[4991.09274968]

08013669                           USD[38.67]

08013672                           BAT[26.04488216], CUSDT[3], DAI[10.80417173], DOGE[95.65425309], ETH[.00712652], ETHW[.00704316], SHIB[1100915.9070714], TRX[110.38395872], USD[1.09]                           Yes

08013681                           SHIB[14775206.28276579]                                                                                                                                                         Yes

08013685                           SHIB[169371.70995372], USD[0.00]                                                                                                                                                Yes

08013703                           USD[20.00]

08013710                           CUSDT[1], USD[0.00]                                                                                                                                                             Yes

08013711                           BTC[.00047226], CUSDT[1], DOGE[1], SHIB[1575953.76754234], USD[0.00]                                                                                                            Yes

08013714                           DOGE[2], USD[140.50]

08013715                           ETH[.00235088], ETHW[.00235088], USD[40.00]

08013722                           BTC[.0015984], DOGE[20.979], SHIB[4095900], SOL[.95904], UNI[1.8981], USD[0.70]

08013733                           BTC[.00000011], DOGE[.02002705], USD[0.01]                                                                                                                                      Yes

08013737                           DOGE[104.4854007]                                                                                                                                                               Yes

08013740                           BTC[0.00472351], USD[0.00]

08013748                           SOL[0], USD[295.59]

08013750                           CUSDT[2], GRT[196.81476485], MATIC[130.759692], SHIB[2179810.42308183], TRX[1], USD[0.03]                                                                                       Yes

08013766                           USD[2000.00]

08013770                           BCH[.01594335], BTC[.00034002], CUSDT[2], DOGE[19.92523299], ETH[.00866557], ETHW[.00866557], KSHIB[425.01327247], SHIB[954551.25371093], TRX[96.22071065], USD[0.00]

08013773                           CUSDT[1551.69449312], DAI[13.71045945], KSHIB[74.00995194], LINK[.06775417], MATIC[2.775446], MKR[.00012192], PAXG[.00015806], SHIB[8774414.71104244], SOL[.00720889],          Yes
                                   SUSHI[.00011414], TRX[251.41085336], UNI[.50892296], USD[0.00], USDT[12.16679349]
08013774                           BAT[53.01507588], TRX[1], USD[0.00]                                                                                                                                             Yes

08013775                           NFT (552005735671130205/Entrance Voucher #3606)[1]

08013780                           USD[0.01]                                                                                                                                                                       Yes

08013795                           CUSDT[3], DOGE[1], SHIB[7772993.07729201], TRX[1], USD[300.00]

08013802                           BAT[0], BCH[0], BRZ[1], DOGE[.00000185], ETH[0.28831485], ETHW[0.28812286], MKR[0], SHIB[1], SOL[11.31959111], TRX[1], UNI[0.10209425], USD[0.00], USDT[0.00000913]             Yes

08013804                           BTC[.00447586], CUSDT[3], DOGE[630.19783995], SHIB[1863239.03377612], USD[0.01]                                                                                                 Yes

08013805                           BTC[.00040918], CUSDT[2], DOGE[147.71513742], ETH[.00837555], ETHW[.00826603], SHIB[1], USD[0.00]                                                                               Yes

08013808                           BTC[.00002092], DOGE[11.18011665], KSHIB[231.00004081], SHIB[33029.68304908], SOL[.09841372], TRX[55.27956492], USD[13.59]
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                                                                                                                                             Customer Claims                                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08013810                              USD[0.01]                                                                                                                                                                        Yes

08013821                              BTC[0.00000545], DOGE[1], MATIC[0], SHIB[1], SOL[0], USD[0.01], USDT[0.00000727]                                                                                                 Yes

08013835                              BRZ[1], CUSDT[3], DOGE[609.75329294], SHIB[20754296.81373381], TRX[2], USD[0.00]                                                                                                 Yes

08013841       Contingent, Disputed   SOL[.64], USD[166.78]

08013842                              ETHW[.308269], USD[14.51]

08013847                              BTC[.0055037], SHIB[1], USD[0.00]                                                                                                                                                Yes

08013866                              BTC[.0008991], DOGE[193.10151779], ETH[.01176263], ETHW[.01176263], SHIB[1536445.87070104], USD[1.60]

08013868                              TRX[1], USD[89.85]                                                                                                                                                               Yes

08013873                              BTC[.00032827], CUSDT[998.8293302], USD[0.00]                                                                                                                                    Yes

08013874                              BRZ[2992.08638088], DOGE[1], USD[0.00], USDT[7.87586612]                                                                                                                         Yes

08013880                              CUSDT[3], MATIC[19.1045765], SHIB[1], SOL[2.15378946], TRX[1], USD[0.02]                                                                                                         Yes

08013885                              USD[542.93]                                                                                                                                                                      Yes

08013903                              SHIB[4381181.87637386], TRX[1], USD[0.00]                                                                                                                                        Yes

08013908                              CUSDT[1], DOGE[1], SOL[1.77099914], TRX[924.33739312], USD[0.04]                                                                                                                 Yes

08013919                              DAI[.0000321], ETH[0], NFT (418287475222284928/Entrance Voucher #3726)[1], USD[6.53]

08013926                              CUSDT[4852.66047543], DOGE[3078.66336124], KSHIB[3436.34723752], NFT (452035570692451063/2022-04-19: Transformed Tree)[1], SHIB[3121689.99524721], SOL[14.55069775], USD[0.00]   Yes

08013931                              BTC[.02070942], CUSDT[5], DOGE[318.97235537], ETH[.22320935], ETHW[.06935111], LTC[1.36384763], SHIB[1314901.76506705], SOL[5.31619414], TRX[5], USD[0.00]                       Yes

08013933                              BCH[2.73383814], BRZ[3], CUSDT[6], SHIB[3.75], SOL[.40788643], TRX[249.55775296], USD[1331.72]                                                                                   Yes

08013939                              USD[0.01]

08013947                              DOGE[.002], KSHIB[9.45], MATIC[9.84], SHIB[10623800], SUSHI[.4695], TRX[.223], USD[1.12]

08013951                              USD[0.00]                                                                                                                                                                        Yes

08013954                              CUSDT[1], SHIB[350336.32286995], USD[0.00]

08013961                              CUSDT[3], DOGE[1], USD[0.01]                                                                                                                                                     Yes

08013966                              SHIB[7.51834477], USD[0.00]                                                                                                                                                      Yes

08013970                              BTC[.00661842], CUSDT[22], DOGE[4], ETH[.02613383], ETHW[.02580551], LINK[10.35246397], SOL[.89276586], TRX[2], USD[0.69]                                                        Yes

08013971                              DOGE[2], ETH[.00812596], SHIB[1], USD[380.08], USDT[110.73135745]                                                                                                                Yes

08013972                              ETH[0], ETHW[0], USD[0.00]

08013975                              USD[0.00]                                                                                                                                                                        Yes

08013982                              BTC[.0016], ETH[1], ETHW[1], USD[3.04]

08013985                              USD[0.00]

08013992                              BRZ[1], CUSDT[7], DOGE[2], GRT[410.65579502], TRX[11265.90443723], USD[0.02]                                                                                                     Yes

08013999                              BTC[.00544516], CUSDT[3], DOGE[3.13645096], SHIB[11301998.88163727], TRX[1125.60894211], USD[0.00]                                                                               Yes

08014016                              BF_POINT[100]

08014018                              USD[0.00]

08014019                              CUSDT[2], GRT[1], TRX[1], USD[0.00], USDT[0.04609981]                                                                                                                            Yes

08014027                              ETH[.0007], ETHW[.0007], SOL[.009], USD[70.73]

08014030                              TRX[183.816], USD[0.09]

08014039                              BAT[1], BRZ[4], BTC[0.00000050], CUSDT[109.45847773], LTC[0], SHIB[2], TRX[15.3510292], USD[0.01], USDT[1.06436054]                                                              Yes

08014044                              SOL[.05793983]

08014046                              CUSDT[1], USD[0.00]

08014057                              BAT[336.65670399], BRZ[1], CUSDT[2], DOGE[4], ETH[7.00944924], ETHW[7.00711223], GRT[2.01300752], SHIB[11890145.84256905], SOL[8.51211906], UNI[1.05964979], USD[18346.48]

08014058                              USD[4000.00]

08014062                              BTC[0.10969060], ETH[1.41823274], ETHW[1.41774489], USD[17281.43], USDT[0]                                                                                                       Yes

08014064                              BAT[1], BTC[.0000685], DOGE[3], ETHW[.15607664], SHIB[7], TRX[4], USD[4841.68], USDT[1.04882557]                                                                                 Yes

08014066                              CUSDT[2], ETH[.02332818], ETHW[.0230409], SHIB[11109180.37761999], TRX[1], USD[0.00]                                                                                             Yes

08014075                              BTC[.02966834], ETH[.00000087], LINK[.00014828], MATIC[.00226202], SHIB[2], USD[0.11]                                                                                            Yes

08014094                              CUSDT[3], SHIB[3794472.41683991], USD[0.01]                                                                                                                                      Yes

08014099                              USD[20.00]

08014101                              SHIB[1], USD[0.01]

08014106                              USD[20.00]

08014110                              BTC[.00177419], CUSDT[2], ETH[.01234929], ETHW[.01219881], SUSHI[4.19340171], TRX[1], USD[21.69]                                                                                 Yes

08014119                              MATIC[2.93156331], USD[7.60]                                                                                                                                                     Yes

08014124                              BTC[0], ETH[.00000001], ETHW[0], USD[4.29]

08014129                              BRZ[1], BTC[.10305611], CUSDT[4], DOGE[4409.83808458], SHIB[22619168.08679236], USD[0.00]

08014133                              CUSDT[15], DOGE[1], LINK[14.44985112], TRX[1], USD[5.86]

08014136                              CUSDT[1], SHIB[355880.13054393], USD[0.00]                                                                                                                                       Yes

08014140                              CUSDT[2], MATIC[.08865829], USD[20.16]                                                                                                                                           Yes

08014145                              BAT[111.81719665], CUSDT[3], DOGE[3], GRT[51.02962955], KSHIB[5310.76034149], SHIB[6017032.13412729], TRX[505.87112775], USD[0.00]                                               Yes
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                                                                                                                                            Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08014155                              BTC[.00020898], CUSDT[1], USD[0.00]                                                                                                                                               Yes

08014156                              CUSDT[1], USD[0.00]

08014163       Contingent, Disputed   USD[0.01]

08014167                              BAT[50.61593109], CUSDT[3], DOGE[1], SHIB[1911927.26287688], TRX[531.08673729], USD[0.01]

08014177                              KSHIB[158.6350029], LTC[.0568391], SHIB[172134.14712386], SOL[.29661972], SUSHI[1.00283806], TRX[1], USD[0.00]                                                                    Yes

08014181                              USD[0.00], USDT[0.00000002]

08014182                              USD[162.87]                                                                                                                                                                       Yes

08014189                              SOL[0.00355502]

08014191       Contingent, Disputed   USD[20.00]

08014193                              USD[20.00]

08014197                              USD[1.48]

08014204                              BRZ[4], CUSDT[17], GRT[1], SHIB[118475157.2100059], TRX[9], USD[0.00]                                                                                                             Yes

08014221                              DOGE[1], ETH[.00000001], ETHW[.50292286], USD[578.91]

08014223                              BTC[.00016403], TRX[1], USD[0.00]                                                                                                                                                 Yes

08014224                              SHIB[157604.41292356], TRX[1], USD[0.00]

08014234                              SHIB[46021.54], USD[3.75]

08014236                              BTC[.00133736], CUSDT[3], DOGE[195.78885839], ETH[.01224796], ETHW[.01209748], KSHIB[695.16403577], USD[0.00]                                                                     Yes

08014255                              BTC[.0206], DOGE[999], ETH[.649], ETHW[.649], USD[1.81]

08014262                              BTC[.00609699], DOGE[1], TRX[2], USD[0.00]                                                                                                                                        Yes

08014271                              USD[0.25], USDT[0]                                                                                                                                                                Yes

08014275                              CUSDT[1], SHIB[1557875.05842031], SOL[.88751], TRX[1], USD[5.08]

08014279                              BRZ[1], DOGE[.00007167], SHIB[36.05525561], TRX[20.90977946], USD[0.01]                                                                                                           Yes

08014280                              BRZ[1], ETH[2.32862943], ETHW[2.32765142], USD[0.00]                                                                                                                              Yes

08014283                              BRZ[1], SHIB[1434670.37882359], USD[0.01]

08014285                              BCH[2.08709819], BTC[.05281784], DOGE[8186.78380397], ETH[1.32034205], ETHW[1.32034205], LTC[10.60211314], NFT (450018128775405671/Support the Troops #1)[1], SOL[13.61120996],
                                      SUSHI[50.72123424], UNI[65.87643758], USD[0.00]
08014289                              DOGE[1], SHIB[1133273.33999785], USD[0.00]                                                                                                                                        Yes

08014290                              SHIB[8281791.5624727], TRX[1], USD[0.01]                                                                                                                                          Yes

08014308                              USD[0.01]

08014313                              USDT[0.00000001]                                                                                                                                                                  Yes

08014315                              DOGE[36], USD[0.26]

08014318                              BRZ[2], BTC[.03324936], DOGE[1], ETH[.15576734], ETHW[.1546044], GRT[1], MATIC[146.58291822], SHIB[10], SOL[5.65434], TRX[1], USD[1.20], USDT[1.05296187]                         Yes

08014324                              BTC[.00051134], SHIB[1], USD[0.00]                                                                                                                                                Yes

08014325                              USD[10.00]

08014335                              CUSDT[2], ETH[.07414676], ETHW[.07322676], SHIB[3322081.07711829], USD[0.00]                                                                                                      Yes

08014343                              CUSDT[1], SHIB[330338.36326586], USD[5.43]                                                                                                                                        Yes

08014351                              BAT[.00000921], BRZ[2], BTC[.00311526], CUSDT[8], TRX[2], USD[0.00], USDT[1.0845041]                                                                                              Yes

08014359                              BRZ[1], DOGE[2], SOL[2.07789292], USD[0.46]

08014360                              CUSDT[1], ETH[2.41073307], ETHW[2.66986756], GRT[2], TRX[1], UNI[1.00205693], USD[0.00], USDT[1.08580233]                                                                         Yes

08014371                              SHIB[12187800], USD[2.00]

08014373                              BTC[.00619139], SHIB[1], USD[0.00]                                                                                                                                                Yes

08014375                              DOGE[2], ETH[.04711244], ETHW[.04711244], USD[0.00]

08014376                              BRZ[1], CUSDT[1], SHIB[1525660.81011081], USD[0.02]                                                                                                                               Yes

08014386                              ETH[0], USD[0.00]                                                                                                                                                                 Yes

08014398                              DOGE[1], SOL[.21868852], USD[50.00]

08014401                              SOL[2.10776019], USDT[0.00002372]

08014404                              BRZ[2], CUSDT[2], DOGE[1], SHIB[118.84287914], TRX[12819.63532946], USD[0.00]                                                                                                     Yes

08014409                              BRZ[2], BTC[.00079501], CUSDT[5], DOGE[1], SHIB[683530.78014106], TRX[2], USD[0.06]                                                                                               Yes

08014412                              BTC[.00000122]                                                                                                                                                                    Yes

08014415                              CUSDT[1], ETH[.02554791], ETHW[.02523327], USD[0.00]                                                                                                                              Yes

08014431                              SHIB[3300000], SOL[1.21], USD[7.52]

08014438                              TRX[4], USD[0.00]

08014439                              CUSDT[1], DOGE[1], ETH[0], MATIC[0], TRX[1], USD[0.00]

08014446                              BTC[.00100699], ETH[.0136141], ETHW[.01344994], LTC[.09875518], USD[0.16]                                                                                                         Yes

08014462                              USD[15.01]

08014463                              ETH[0], LINK[1], SHIB[1499900], SOL[0], USD[0.00]

08014467                              CUSDT[2], DOGE[.04820015], USD[12.58]                                                                                                                                             Yes

08014471                              SHIB[1855292.43484682], USD[0.00]                                                                                                                                                 Yes

08014472                              SOL[0], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08014473                           BTC[.00251263], USD[0.00]

08014476                           USD[0.00]

08014478                           SHIB[918294.97751595], SOL[1.06894917], TRX[1], USD[0.00], USDT[0]                                                                                                                       Yes

08014488                           BRZ[1], MATIC[127.35125033], NFT (430282647156236188/Sloth #8367)[1], SOL[23.97186112], USD[0.00]                                                                                        Yes

08014490                           SHIB[1], USD[0.00]                                                                                                                                                                       Yes

08014491                           NFT (496196946229554448/Big rig )[1], USD[0.01], USDT[0]                                                                                                                                 Yes

08014494                           BTC[0.00001715], USD[1.45], USDT[0]

08014498                           AVAX[1.998], ETH[1.29501796], ETHW[0.66225197], SHIB[87000], SOL[4.8012], SUSHI[39.96], USD[93.23]

08014503                           BAT[13.80472291], CUSDT[3], DOGE[79.58246023], SHIB[1606996.21502023], TRX[103.83842403], USD[0.00]                                                                                      Yes

08014516                           CUSDT[2], DOGE[88.41467188], SHIB[337746.55498513], USD[0.00]

08014533                           CUSDT[239.59168537], TRX[53.04649967], USD[0.21]                                                                                                                                         Yes

08014557                           LTC[0], USD[0.00]

08014567                           SHIB[73997.3360959], USD[5.00]

08014585                           CUSDT[1], DAI[39.80218245], USD[0.00]

08014586                           CUSDT[1], SHIB[834028.35696413], USD[0.00]

08014589                           BAT[205.27820918], MATIC[706.09074596], SHIB[588479.45121431], USD[0.00]                                                                                                                 Yes

08014591                           USD[0.00]

08014599                           BF_POINT[100], DOGE[4425.49698588], ETH[.28290377], MATIC[502.73325617], NFT (318549226504526638/FTX - Off The Grid Miami #2830)[1], SOL[10.06128265], USD[0.00]                         Yes

08014604                           CUSDT[1], DOGE[1], SHIB[161083.532911], TRX[.47123047], USD[0.00]                                                                                                                        Yes

08014606                           BTC[.00033438], SHIB[410227.27272727], USD[68.83]

08014619                           MATIC[50], USD[4.86]

08014625                           SHIB[8608564.87193697]                                                                                                                                                                   Yes

08014630                           CUSDT[1], KSHIB[360.97887652], USD[0.00]                                                                                                                                                 Yes

08014644                           ETH[.00235747], ETHW[.00235747], SOL[.05066453], TRX[185.63157206], USD[0.00]

08014651                           SOL[.01998], USD[1.79]

08014666                           ETH[0], SHIB[884.26942381], USD[0.00]                                                                                                                                                    Yes

08014670                           CUSDT[1], SHIB[1587863.41323633], TRX[1], USD[0.00]

08014680                           CUSDT[1], SHIB[778353.71337797], USD[0.03]                                                                                                                                               Yes

08014685                           USD[0.00]                                                                                                                                                                                Yes

08014687                           DOGE[724.8437161], ETH[.22168209], ETHW[.22168209], MATIC[52.46406092], SHIB[1714971.7029669], SOL[.39016889], USD[0.00]

08014689                           SHIB[1], TRX[1], USD[0.00]                                                                                                                                                               Yes

08014690                           DOGE[1], SHIB[1544746.57555642], USD[0.00]                                                                                                                                               Yes

08014694                           BRZ[1], BTC[.09832543], CUSDT[3720.80473176], DOGE[27367.88125863], ETH[.07536525], ETHW[.07442915], SOL[1.50649826], TRX[2034.41546382], USD[0.00]                                      Yes

08014701                           USD[10.86]                                                                                                                                                                               Yes

08014709                           DOGE[6107.91], USD[0.16]

08014714                           CUSDT[1], SHIB[769458.06453224], TRX[2], USD[0.00], USDT[0]                                                                                                                              Yes

08014720                           BTC[.00164363], CUSDT[4], USD[0.00]

08014721                           SHIB[3], USD[0.73], USDT[0]                                                                                                                                                              Yes

08014723                           USD[0.00]

08014724                           BRZ[1], CUSDT[2], SHIB[1702359.87508243], USD[63.80]                                                                                                                                     Yes

08014727                           AAVE[.00968], BAT[.791], DOGE[.437], ETH[0], MKR[.000946], SHIB[94400], USD[0.00], USDT[0.00000001]

08014729                           ETH[.489305], ETHW[.489305], USD[6.31]

08014732                           ALGO[1.20152524], NFT (295181626159406456/Rare Art #4)[1], NFT (308552404067253582/Untitled (Blessed) #3)[1], NFT (369342131289241968/The father )[1], NFT (442598412145364402/Markers   Yes
                                   #5)[1], NFT (454808514065266001/Comics)[1], NFT (544322464797685527/04 #2)[1], USD[0.00], USDT[0]
08014733                           USD[0.00]

08014740                           CUSDT[6], KSHIB[1755.37772363], SHIB[1], SOL[1.60520049], TRX[1], USD[0.06]                                                                                                              Yes

08014741                           NFT (363981405006513957/Humpty Dumpty #556)[1], SOL[20.26849001], USD[15.99]

08014760                           USD[20.82]

08014761                           ETH[0], USD[0.00], USDT[0]

08014763                           USD[11.00]

08014766                           CUSDT[3], DOGE[793.10644777], SHIB[4677605.68236867], USD[0.10]                                                                                                                          Yes

08014777                           BAT[1.01446881], BRZ[3], CUSDT[3], DOGE[6.06124546], ETH[.00000228], ETHW[.00000228], SOL[0], TRX[2], USD[0.00]                                                                          Yes

08014784                           BTC[.0021], SHIB[800000], TRX[975], USD[2.38]

08014792                           CUSDT[2], USD[16.29]                                                                                                                                                                     Yes

08014810                           SHIB[1500000], USD[0.54]

08014821                           CUSDT[4], TRX[1], USD[0.00]                                                                                                                                                              Yes

08014830                           CUSDT[5], DOGE[1], ETHW[.00000004], SHIB[100652.39548519], SOL[.0443903], TRX[2], USD[140.79]                                                                                            Yes

08014835                           BTC[.00006475], DOGE[20.41186686], SHIB[15348.60416284], USD[0.00]                                                                                                                       Yes

08014840                           BTC[0], SUSHI[13.48462691], USD[0.00]
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                                                                                                                                         Customer Claims                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08014849                           USD[0.12]                                                                                                                                          Yes

08014851                           BRZ[1], CUSDT[5], DOGE[1], SHIB[107.14082368], TRX[1], USD[0.00]

08014852                           USD[0.01]                                                                                                                                          Yes

08014856                           USD[542.90]                                                                                                                                        Yes

08014864                           SOL[0], USD[0.00]

08014865                           SHIB[3743623.11984985], USD[0.61]

08014870                           ETH[.0001147], ETHW[.0001147], TRX[5.40731982], USD[2.52]

08014871                           USD[20.00]

08014872                           TRX[2], USD[0.00]                                                                                                                                  Yes

08014873                           CUSDT[1], SHIB[1483071.04552816], USD[0.00]

08014875                           BTC[0], MATIC[.913], USD[1.05], USDT[0]

08014876                           BRZ[1.00105431], BTC[.00163554], DOGE[6], GRT[1155.53872669], MATIC[83.18871616], NEAR[40.69313562], SHIB[89], TRX[8], USD[0.00], YFI[.00047395]   Yes

08014878                           BF_POINT[100], CUSDT[4], DOGE[1], SHIB[25507.73346979], SOL[.00015889], TRX[1], USD[0.28]

08014886                           BRZ[1], SHIB[1], USD[0.00]

08014891                           USD[0.00]

08014892                           CUSDT[1], SHIB[4019703.71671345], USD[0.00]                                                                                                        Yes

08014896                           BF_POINT[200], BTC[0], ETH[0], MATIC[0], SOL[0], USD[0.00]

08014899                           SHIB[15844596.17500151]                                                                                                                            Yes

08014903                           SOL[.00978849], USD[0.00]                                                                                                                          Yes

08014915                           ETHW[.91769933], USD[0.01]

08014916                           BTC[.0004096], CUSDT[4], ETH[.00634211], ETHW[.00626003], SHIB[398840.12928258], SOL[.13623443], USD[0.00]                                         Yes

08014917                           SOL[.00995], USD[1.67]

08014919                           USD[114.01]                                                                                                                                        Yes

08014924                           SHIB[2193259.57849529], USD[0.00]                                                                                                                  Yes

08014934                           CUSDT[24741.15873181], SHIB[3834.48644158], USD[0.00]                                                                                              Yes

08014935                           CUSDT[6], SHIB[8944192.90610829], USD[0.01]                                                                                                        Yes

08014945                           LTC[1], USD[0.00]

08014950                           BCH[.403596], SOL[.42], TRX[1084.914], USD[0.22]

08014952                           USD[10.86]                                                                                                                                         Yes

08014960                           BRZ[1], BTC[.01510291], CUSDT[1], DOGE[2], ETH[.13948052], ETHW[.13847376], SOL[4.56375381], USD[0.00]                                             Yes

08014972                           SUSHI[99.95], USD[0.00]

08014974                           CUSDT[1], SHIB[812539.22931903], USD[0.03]                                                                                                         Yes

08014978                           CUSDT[3], DOGE[10.26802366], KSHIB[1498.15943622], USD[0.49], USDT[0]                                                                              Yes

08014982                           USD[10.86]                                                                                                                                         Yes

08014991                           BTC[.00031891], CUSDT[2], ETH[.00485414], ETHW[.00479942], SHIB[158593.09356448], USD[0.00]                                                        Yes

08014995                           NFT (398418902308729550/3987)[1], SOL[.00000001]

08014997                           AUD[0.00], BTC[.00008006], ETH[0.00123104], ETHW[0.00121736], USD[0.00]                                                                            Yes

08014999                           BAT[1], DOGE[1], GRT[1], SHIB[83], SOL[0.30638465], TRX[1], USD[0.00], YFI[.00001218]                                                              Yes

08015000                           BAT[1.01632349], USD[0.00]                                                                                                                         Yes

08015012                           CUSDT[1], SHIB[2938151.90245335], USD[0.01]

08015018                           BRZ[1], GRT[1], SHIB[7188537.44657367], USD[0.00]

08015022                           BRZ[1], SHIB[7561539.91366017], USD[0.12]                                                                                                          Yes

08015023                           BRZ[0], DOGE[8.83064215], USD[0.00]                                                                                                                Yes

08015031                           BTC[0], ETH[0.00000001], MATIC[.00000001], SOL[0], USD[0.00], USDT[.45563729]                                                                      Yes

08015034                           BTC[0], ETH[0], SOL[0], TRX[0]

08015036                           CUSDT[1], TRX[1], USD[3.91]

08015039                           BTC[.00086851], CUSDT[2], DOGE[2], SHIB[1301566.29163909], USD[0.49]

08015041                           BTC[.00000001], CUSDT[4], DOGE[1187.11926994], TRX[2], USD[0.64]                                                                                   Yes

08015044                           BRZ[1], CUSDT[3], DOGE[1], TRX[1], USD[0.06]                                                                                                       Yes

08015049                           CUSDT[1], SHIB[663253.49052652], SOL[0.13928416]                                                                                                   Yes

08015054                           USD[10.00]

08015055                           USD[0.00]                                                                                                                                          Yes

08015062                           CUSDT[4], SHIB[623148.24210757], USD[0.00]                                                                                                         Yes

08015069                           BTC[.00133607], ETH[.01824279], ETHW[.01801344], SHIB[2], USD[0.00]                                                                                Yes

08015070                           DOGE[1], SHIB[801914.66177736], USD[0.00]                                                                                                          Yes

08015073                           BTC[.008], ETH[.113], ETHW[.113], SOL[1.77], USD[605.67], USDT[999.3]

08015075                           BRZ[1], SHIB[4252906.15253756], USD[200.00]

08015076                           CUSDT[3], DOGE[1], USD[0.00]                                                                                                                       Yes
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08015087                              CUSDT[1], GRT[24.98283446], USD[0.04]                                                                                                                                                  Yes

08015088                              USD[20.00]

08015090                              BRZ[1], BTC[.00528093], CUSDT[5], DOGE[1], SHIB[4], SOL[5.33514758], TRX[2], USD[0.00]                                                                                                 Yes

08015096                              CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                           Yes

08015097                              BCH[.23579787], CUSDT[10], LINK[9.23750609], LTC[2.36670533], MATIC[3.42156888], SOL[.29366553], TRX[3], UNI[6.89781871], USD[0.01]                                                    Yes

08015104                              AVAX[11.93881496], ETH[.1365885], ETHW[.13552498], SHIB[1], TRX[1], USD[8559.95]                                                                                                       Yes

08015112                              NFT (356743116974687684/FTX - Off The Grid Miami #5651)[1], USD[2.48]

08015119                              BRZ[1], SOL[1.31763764], USD[0.70]                                                                                                                                                     Yes

08015121                              SOL[.9396956], USD[0.00]

08015125                              BTC[0.02840466], SOL[1.00899], USD[0.00]

08015126                              NFT (298301631317623838/Vox Girls)[1], NFT (303098713638608900/Vox Girls #19)[1], NFT (305693764899667785/Voxel Tiger)[1], NFT (309197928602659886/Vox Girls #27)[1], NFT
                                      (310864380571745840/Vox Girls #11)[1], NFT (311082059180278016/Vox Girls #13)[1], NFT (316227913510733561/Smiley kid)[1], NFT (319711246903130711/Vox Girls #4)[1], NFT
                                      (320332124357214155/Qwes Avatar #4)[1], NFT (325493047599717335/Vox Girls #25)[1], NFT (327265673333166133/Vox Girls #40)[1], NFT (331519209804213404/Vox Girls #12)[1], NFT
                                      (335497922086057182/Vox Girls #21)[1], NFT (341095854039357884/Vox Girls #33)[1], NFT (344032958782667568/Vox Girls #32)[1], NFT (363398638102115565/Vox Girls #29)[1], NFT
                                      (364287499519651501/Vox Girls #8)[1], NFT (367551815396099519/Vox Girls #3)[1], NFT (394146128072294880/Vox Girls #39)[1], NFT (395054956353825261/Vox Girls #9)[1], NFT
                                      (404319922839761242/Vox Girls #5)[1], NFT (407271749771995648/DDD #17)[1], NFT (416970217218537651/DDD #25)[1], NFT (423589971346229698/Vox Girls #15)[1], NFT
                                      (428112179087463241/Vox Girls #26)[1], NFT (440144534769248358/Vox Girls #17)[1], NFT (443778753113375343/Vox Girls #23)[1], NFT (445499033902447511/Vox Girls #10)[1], NFT
                                      (445630843309979159/Vox Girls #30)[1], NFT (448088590715748424/Qwes Avatar)[1], NFT (451135574279889939/Vox Girls #37)[1], NFT (470431119742628309/Vox Girls #31)[1], NFT
                                      (489883071759717207/Vox Girls #18)[1], NFT (497781687689125204/Mickey Mouse)[1], NFT (505402903921537162/Vox Girls #20)[1], NFT (516700987425926079/Dream land)[1], NFT
                                      (543753304323915994/Vox Girls #36)[1], NFT (554424762579646923/Vox Girls #22)[1], NFT (560631156827020935/Vox Girls #6)[1], NFT (565686339346906268/DDD #24)[1], NFT
                                      (567762670786938885/Vox Girls #38)[1], NFT (576033779982334937/Vox Girls #7)[1], SHIB[48223.28660876], TRX[2], USD[38.77]
08015129                              USD[0.00]

08015144                              SHIB[88900], USD[2357.34]

08015146                              CUSDT[1], USD[0.00]

08015156                              ETH[.00074724], ETHW[.00074724], USD[7.50]

08015157                              SHIB[2], USD[42.34]                                                                                                                                                                    Yes

08015164                              USD[0.00]

08015165                              BRZ[1], BTC[.00880335], CUSDT[9], ETH[.12345175], ETHW[.12228014], SHIB[203549.40062809], SOL[2.73600545], TRX[1], USD[0.01]                                                           Yes

08015166                              USDT[0.00000039]

08015168                              USD[0.00]                                                                                                                                                                              Yes

08015176                              CUSDT[1], TRX[1], USD[12.49], USDT[0]                                                                                                                                                  Yes

08015177                              BF_POINT[300], BTC[3.72292474], CUSDT[1], DOGE[3], GRT[2], SHIB[2759051.31661776], TRX[5], USD[12688.96], USDT[6876.68723633]                                                          Yes

08015181                              CUSDT[1], DOGE[1], SHIB[3686745.36682336], USD[0.00]                                                                                                                                   Yes

08015188                              ETH[.00000001], SOL[0], USD[0.00]

08015190                              KSHIB[930], TRX[494.505], USD[0.39]

08015192                              KSHIB[152.67863324], USD[489.90]

08015197                              TRX[.000001], USDT[148.677]

08015198                              BAT[1.01585017], CUSDT[2], SHIB[9510544.85264029], USD[0.00]                                                                                                                           Yes

08015203                              USD[11.57]                                                                                                                                                                             Yes

08015204                              USD[2.62]

08015208                              CUSDT[1], SHIB[2440600.20381895], USD[0.47]                                                                                                                                            Yes

08015211                              DOGE[127.75085604], LINK[.10278564], SHIB[4], TRX[1], USD[0.00]                                                                                                                        Yes

08015220                              BTC[0.00012206], USD[0.00], USDT[0]

08015224                              BAT[1.01470047], CUSDT[5], DOGE[3], LINK[3.43943279], LTC[.1435027], NFT (311826190022777433/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #93)[1], NFT    Yes
                                      (417165742264492426/Shannon Sharpe's Playbook: Baltimore Ravens vs. Oakland Raiders - January 14, 2001 #43)[1], NFT (495787466231338712/Earl Campbell's Playbook: LA Rams vs Houston
                                      Oilers - September 4th, 1978 #94)[1], SHIB[2717987.38599706], SOL[.35844182], TRX[1], USD[14.86], USDT[1.08295037]
08015228                              DOGE[1], USD[0.00]

08015231                              CUSDT[2], DOGE[1], SHIB[6005813.97543695], SOL[9.48563304], TRX[1], USD[0.16]                                                                                                          Yes

08015238                              CUSDT[1], DOGE[.00029142], TRX[1], USD[152.58]

08015247                              BRZ[2], USD[0.30]

08015249                              SOL[2.60003373], USD[0.00], USDT[1.08571304]                                                                                                                                           Yes

08015251                              BAT[1.014191], BTC[.0410192], DOGE[1], ETH[.34402239], ETHW[.34387795], SOL[4.48470076], USD[0.01], USDT[1.08238667]                                                                   Yes

08015254                              BRZ[1], CUSDT[1], USD[0.00]                                                                                                                                                            Yes

08015257                              BTC[0.00030109], USD[0.57]

08015272                              CUSDT[6], DOGE[1], ETH[.05512465], ETHW[.05512465], USD[1.83]

08015276                              GRT[1], SOL[0], TRX[2], USD[0.00]                                                                                                                                                      Yes

08015287                              BRZ[1], BTC[.00363577], CUSDT[2], DOGE[2], TRX[1330.36628476], USD[111.08]                                                                                                             Yes

08015289                              BF_POINT[100], CUSDT[8], DOGE[1], SUSHI[4.25250715], UNI[2.3456077], USD[1.36]                                                                                                         Yes

08015290                              BRZ[1], BTC[.00084428], CUSDT[9], DOGE[2], LINK[15.69636008], MKR[.11855782], SOL[12.67743196], TRX[2], USD[0.00]                                                                      Yes

08015296       Contingent, Disputed   ETH[0], ETHW[0], MKR[0], SOL[0], USD[0.01]                                                                                                                                             Yes

08015301                              USD[0.00]                                                                                                                                                                              Yes

08015305                              SHIB[167506.90033538], USD[0.01]                                                                                                                                                       Yes

08015309                              BTC[.00034853]                                                                                                                                                                         Yes
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                                                                                                                                         Customer Claims                                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08015312                           BTC[.000097], USD[0.98]

08015314                           USD[15000.00], USDT[.006032]

08015322                           CUSDT[3], DOGE[.0399274], SHIB[2], TRX[2], USD[0.01]                                                                                                                            Yes

08015343                           BTC[1.0841664], ETH[6.69744391], USD[20251.22]                                                                                                                                  Yes

08015368                           BTC[.0008192], DOGE[1], USD[0.00]

08015370                           BRZ[1], BTC[.00345345], CUSDT[1], DOGE[.00599377], USD[0.00]                                                                                                                    Yes

08015381                           AAVE[0], BCH[0], BTC[0], DOGE[0], ETH[0], ETHW[0], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], MKR[0], SHIB[0], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00], USDT[0], YFI[0]   Yes

08015383                           SHIB[1676107.65071489], TRX[1], USD[0.00]                                                                                                                                       Yes

08015386                           CUSDT[1], DAI[10.80024063], DOGE[1], GRT[15.47196332], USD[0.00]                                                                                                                Yes

08015387                           USD[1.22]                                                                                                                                                                       Yes

08015388                           BTC[.0001661], USD[0.08], USDT[.00489]

08015399                           CUSDT[1], GRT[10.28926886], USD[0.00]                                                                                                                                           Yes

08015403                           USD[10.00]

08015409                           BRZ[1], CUSDT[1], SHIB[412685.15228035], USD[0.00]                                                                                                                              Yes

08015423                           DOGE[1], SOL[.05502189], USD[10.86]                                                                                                                                             Yes

08015425                           CUSDT[3], DOGE[1], SHIB[1155278.52112365], USD[0.01]                                                                                                                            Yes

08015429                           CUSDT[8.03189739], SHIB[5638552.45278343], TRX[1009.44896607], USD[0.01]                                                                                                        Yes

08015433                           CUSDT[2], SHIB[271282.52440653], USD[0.00]                                                                                                                                      Yes

08015438                           USD[15.00]

08015440                           BRZ[2], BTC[.0044385], CUSDT[9], ETH[.12623106], ETHW[.12510416], TRX[3], USD[0.01]                                                                                             Yes

08015444                           DOGE[581.64663529], NFT (519185151662701297/Entrance Voucher #2068)[1], TRX[1], USD[0.00]

08015459                           USD[0.00], USDT[0]

08015465                           CUSDT[1], SHIB[389286.82653379], USD[0.00]

08015474                           BAT[102.84778312], BRZ[1], CUSDT[7], DOGE[770.92568638], ETH[2.07552379], ETHW[2.07552379], SHIB[5115091.51406649], TRX[2398.27847184], USD[0.02], USDT[1]

08015480                           USD[0.00]                                                                                                                                                                       Yes

08015483                           USD[0.00]

08015487                           TRX[.000001], USDT[5.9147742]

08015488                           ETH[.00020847], ETHW[.00020847], USD[0.39]

08015493                           SHIB[469405.99603826], TRX[1], USD[0.00]                                                                                                                                        Yes

08015500                           BRZ[1], SOL[5.45499031], TRX[1], USD[0.00]                                                                                                                                      Yes

08015519                           CUSDT[1], DOGE[193.80561307], LINK[5.11570147], SHIB[1], SOL[.00574256], TRX[2], USD[5.30]                                                                                      Yes

08015520                           USD[0.00]

08015521                           CUSDT[2], DOGE[387.30994696], SHIB[827444.46006082], USD[0.01]                                                                                                                  Yes

08015542                           ETH[0], SOL[0], USD[0.46], USDT[.21701725]

08015543                           CUSDT[1], SHIB[451207.89385727], USD[54.04]                                                                                                                                     Yes

08015559                           NFT (362782926973101360/Tower Community NFT)[1]                                                                                                                                 Yes

08015561                           CUSDT[184.17259493], USD[0.00]                                                                                                                                                  Yes

08015565                           KSHIB[155.67606612], USD[0.00]                                                                                                                                                  Yes

08015567                           CUSDT[4], DOGE[2], SOL[.82448304], USD[0.77]                                                                                                                                    Yes

08015569                           USD[0.00]

08015570                           CUSDT[4], DOGE[278.24142835], ETH[.08754428], ETHW[.08651904], SHIB[777600.49634075], TRX[1], USD[0.05]                                                                         Yes

08015573                           BRZ[1], CUSDT[5], DOGE[3], SHIB[1], TRX[0], USD[0.00]                                                                                                                           Yes

08015574                           ETH[.102897], ETHW[.102897], USD[1.27]

08015575                           CUSDT[1], SHIB[2497965.95756991], USD[0.00]                                                                                                                                     Yes

08015579                           DOGE[279.99615362], SHIB[1]

08015580                           CUSDT[8], DOGE[1], SHIB[0], TRX[1], USD[0.00]

08015588                           SHIB[7293065], USD[95.11]

08015599                           BTC[0], SOL[.00457142], USD[0.00]

08015606                           USD[0.00]

08015618                           DOGE[21519], SHIB[104998300], USD[4.02]

08015621                           USD[20.00]

08015625                           BAT[4.50796074], BRZ[23.37468568], CAD[4.22], CUSDT[12], DAI[5.35723677], DOGE[6.0407682], ETH[0.12556974], ETHW[0.12443263], GRT[1.00002939], KSHIB[1170.09762362],            Yes
                                   LINK[.54562952], LTC[.3047379], MATIC[79.48035678], SGD[0.00], SOL[0.66629797], SUSHI[.90552014], TRX[27.25975867], UNI[.0000051], USD[0.00], USDT[1.07680639]
08015626                           BTC[.0020979], DOGE[262.67203856], ETH[.024975], ETHW[.024975], SHIB[1825340.3203834], SOL[.54945], USD[3.05]

08015637                           DOGE[1], SHIB[8363394.13144743], USD[0.00]                                                                                                                                      Yes

08015643                           DOGE[504.08954763], USD[0.00]                                                                                                                                                   Yes

08015648                           ETHW[.126], NFT (299059451061629020/Warriors Logo Pin #296 (Redeemed))[1], NFT (458557147893047952/GSW Western Conference Semifinals Commemorative Ticket #1123)[1], NFT
                                   (468954293510818679/GSW Western Conference Finals Commemorative Banner #2089)[1], NFT (525883316763856545/GSW Championship Commemorative Ring)[1], NFT
                                   (537751055962526718/GSW Western Conference Finals Commemorative Banner #2090)[1], NFT (570379409718538641/GSW Round 1 Commemorative Ticket #693)[1], USD[242.27]
08015651                           KSHIB[100.00515144], SHIB[212560.51969151], USD[0.00]                                                                                                                           Yes
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                                                                                                                                         Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08015656                           CUSDT[3], DOGE[403.73542889], ETH[.46230103], ETHW[.46210691], SHIB[14909441.50847304], TRX[1], USD[0.04]                                                                         Yes

08015658                           CUSDT[3], DOGE[1], SHIB[5024948.39671192], TRX[2], USD[0.26]                                                                                                                      Yes

08015661                           ETH[.00029478], ETHW[.12315369], USD[165.15]                                                                                                                                      Yes

08015662                           BRZ[1], CUSDT[1], ETH[.01307504], ETHW[.01307504], SHIB[3033840.21566794], TRX[1], USD[0.00]

08015663                           DOGE[2], SOL[.00001432], TRX[2], USD[0.00], USDT[1.0843754]                                                                                                                       Yes

08015670                           BAT[1.01631421], BRZ[2], BTC[0.08536824], ETH[2.38799568], ETHW[2.38699273], SHIB[1], SOL[0], TRX[1], USD[2145.23], USDT[1.02543197]                                              Yes

08015672                           BTC[.600555], ETH[1.01494533], ETHW[1.01494533], SOL[10.06504487], USD[150.00]

08015673                           USD[21.51]                                                                                                                                                                        Yes

08015674                           CUSDT[2], ETH[.01309234], ETHW[.01292818], SHIB[299843.73395782], SOL[.13279435], TRX[1], USD[0.00]                                                                               Yes

08015677                           DOGE[231.52075979], SOL[.00020477], TRX[267.77642462], USD[0.00]                                                                                                                  Yes

08015679                           BRZ[1], CUSDT[5], DOGE[413.10967967], ETH[.00000267], ETHW[.29266788], LTC[2.11894396], NFT (330374483491443280/Astral Apes #2145)[1], NFT (373152572019727442/Panda Fraternity   Yes
                                   #257)[1], SHIB[4], SOL[6.14678151], TRX[1], USD[332.04]
08015690                           CUSDT[2.45388237], ETH[.00598934], ETHW[.00592094], SOL[.53375243], USD[0.00]                                                                                                     Yes

08015693                           ETH[.00096899], ETHW[.00096899], SHIB[0.00000001], USD[2.96]

08015698                           BRZ[1], ETH[.01269557], ETHW[.01253651], USD[0.00]                                                                                                                                Yes

08015701                           DOGE[44.56826111], SHIB[166842.26277792], USD[21.62]                                                                                                                              Yes

08015705                           CUSDT[2], DOGE[354.93781862], SHIB[770416.02465331], USD[0.01]

08015709                           BRZ[2], CUSDT[10], DOGE[4], ETH[.02794785], ETHW[.02760488], LINK[3.96381203], SHIB[77050080.74629801], SOL[1.08429578], TRX[2], USD[0.06]                                        Yes

08015711                           BTC[.00021874], CUSDT[3], ETH[.0029515], ETHW[.00291046], MATIC[5.99202161], SOL[.05715203], TRX[1], USD[0.00]                                                                    Yes

08015713                           DOGE[19.44104066], GRT[4.86630058], LTC[.05286857], USD[0.00]                                                                                                                     Yes

08015722                           BRZ[1], SUSHI[42.6165104], USD[0.00]                                                                                                                                              Yes

08015723                           ETH[0], SOL[0]

08015732                           SHIB[9800000], USD[6.38]

08015734                           NFT (463151199739358206/Entrance Voucher #2151)[1]                                                                                                                                Yes

08015735                           AUD[0.00], BTC[.00000001], CAD[0.00], DAI[.00010545], GBP[0.00], KSHIB[.001], PAXG[0], SHIB[1047901.94882898], SOL[.0000014], TRX[1], USD[0.01], USDT[0.00025271]                 Yes

08015741                           CUSDT[1], MATIC[56.02945102], USD[0.05]                                                                                                                                           Yes

08015749                           NFT (298138064933633736/Warriors Hoop #28)[1], NFT (314952967545688880/GSW Western Conference Finals Commemorative Banner #906)[1], NFT (330750093834429929/GSW Championship
                                   Commemorative Ring)[1], NFT (348744824591820366/GSW Western Conference Finals Commemorative Banner #905)[1], NFT (349656890849349218/GSW Western Conference Finals
                                   Commemorative Banner #908)[1], NFT (394064320723574663/GSW Round 1 Commemorative Ticket #177)[1], NFT (435335573462358116/GSW Western Conference Semifinals Commemorative
                                   Ticket #416)[1], NFT (442047181438443313/GSW Championship Commemorative Ring)[1], NFT (481614412112950390/GSW Western Conference Semifinals Commemorative Ticket #417)[1], NFT
                                   (514393625736841608/GSW Western Conference Finals Commemorative Banner #907)[1], NFT (531864894924540123/Warriors Hoop #440)[1], USD[0.00]
08015750                           CUSDT[2], DOGE[1], SOL[.20275419], USD[25.00]

08015751                           USD[21.72]                                                                                                                                                                        Yes

08015752                           CUSDT[2], NFT (294486758488296058/WuTakenPeople #5)[1], NFT (295477092123670859/DDD #36)[1], NFT (295877804081905623/Mad Lions Remastered #20)[1], NFT (300380013645881761/DDD Yes
                                   #50)[1], NFT (304159842984953997/World of Pixel #19)[1], NFT (309157164632757740/DDD #34)[1], NFT (311488044620036388/DDD 'random #3)[1], NFT (316076145047434027/DDD #33 #2)[1],
                                   NFT (317365742772371194/DDD 'monster #3)[1], NFT (318865849289310439/DDD 'monster #14)[1], NFT (324811099172799852/Caelum Series #33)[1], NFT (326175259404034837/Crypto Avatar Art
                                   #26)[1], NFT (327976837480838507/DDD #11)[1], NFT (329391466072261894/World of Pixel #25)[1], NFT (336037114754908718/DDD 'monster #12)[1], NFT (342597101153484481/Series 2 | #6)[1],
                                   NFT (352341632729023788/CryptoAvatar #163)[1], NFT (353591720931593779/CryptoAvatar #171)[1], NFT (359481330054348104/CryptoAvatar #166)[1], NFT (364954148396251861/voxel
                                   mechanical)[1], NFT (368465353602176410/DDD #31)[1], NFT (374915858597111908/Series 2 | #2)[1], NFT (379211294636590988/World of Pixel #23)[1], NFT (384096430809273671/CryptoAvatar
                                   #164)[1], NFT (384767645818984155/Grealish )[1], NFT (390588624890609965/Anime )[1], NFT (393690593149850834/DDD #46)[1], NFT (401229707142675031/DDD #35)[1], NFT
                                   (406123533354741771/World of Pixel #22)[1], NFT (406720159761165630/DDD 'monster #5)[1], NFT (414077082210290092/DDD #13)[1], NFT (416768227704246409/Voxi People #4)[1], NFT
                                   (418098346569560209/CryptoAvatar #149)[1], NFT (419364395244169080/DDD 'monster #17)[1], NFT (423401288909457349/CryptoAvatar #89)[1], NFT (426247814537074761/DDD #37)[1], NFT
                                   (427016367123405800/Mad Lions Remastered #18)[1], NFT (431979592724077421/Entrance Voucher #29423)[1], NFT (434633325189360381/DDD #18)[1], NFT (435592088284283657/Earl Campbell's
                                   Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #111)[1], NFT (455039886921927903/CryptoAvatar #174)[1], NFT (462646534166167617/Surreal World #83)[1], NFT
                                   (464767395957124574/CryptoAvatar #173)[1], NFT (468422856833172421/DDD #38)[1], NFT (473339996244573526/DDD 'monster #2)[1], NFT (474069427095787664/DDD 'monster #11)[1], NFT
                                   (482505822287629340/SickintheGulliver Collection)[1], NFT (482510673575119897/MM Shark #6)[1], NFT (487182399106505647/DDD #7)[1], NFT (488806097939883660/CryptoAvatar #116)[1], NFT
                                   (514005199264679071/Caelum Series #25)[1], NFT (529100309126673321/DDD #27)[1], NFT (534101149808586502/CryptoAvatar #165)[1], NFT (536384310595103393/MM Shark #7)[1], NFT
                                   (543611904129333740/DDD #44)[1], NFT (545348283800642671/CryptoAvatar #168)[1], NFT (546337122469464820/Don’t pug me )[1], NFT (547138052221620033/Mad Lions Remastered #19)[1], NFT
                                   (558110956463543056/DDD #30)[1], NFT (558468191620679852/DDD #10)[1], NFT (559083436467512622/DDD 'monster #25)[1], NFT (572716363428084340/Caelum Series #27)[1],
                                   SHIB[744269.17558751], USD[0.00], USDT[0]

08015756                           BRZ[2], DOGE[1], USD[0.00]                                                                                                                                                        Yes

08015760                           ETH[.00204535], ETHW[.00201799], SHIB[419880.57607414], SOL[.04464011], USD[0.00]                                                                                                 Yes

08015769                           BTC[.00016367], USD[0.00]

08015773                           BAT[1.01563679], BRZ[1], BTC[.00000004], CUSDT[2], DOGE[3], ETH[.00001035], ETHW[.00001035], SOL[.00004424], TRX[3], USD[0.00]                                                    Yes

08015774                           USD[10.86]                                                                                                                                                                        Yes

08015775                           ETHW[1], NFT (458693555660224566/Coachella x FTX Weekend 2 #2513)[1], USD[0.53]

08015798                           SHIB[193256231.14840461], TRX[1], USD[0.00], USDT[2]

08015800                           DOGE[1], SOL[.07923008], USD[0.00]

08015804                           BF_POINT[300], BRZ[1], DOGE[1], ETHW[1.56432264], NEAR[.0010467], USD[0.01]                                                                                                       Yes

08015806                           CUSDT[2], KSHIB[767.98415372], SHIB[767341.92756292], USD[0.00]

08015808                           ETH[.00000001], ETHW[.00000001], USD[19.14]                                                                                                                                       Yes

08015812                           GRT[10.08439361], USD[0.00]                                                                                                                                                       Yes

08015814                           BRZ[2], CUSDT[6], DOGE[316.66946194], SOL[11.3636752], TRX[692.92834565], USD[0.68]                                                                                               Yes

08015818                           CUSDT[1], SHIB[1957453.89302291], TRX[1], USD[0.02]                                                                                                                               Yes

08015825                           MATIC[.00010575], NFT (514221927684995843/Carrie Anne)[1], SUSHI[0], USD[0.00]                                                                                                    Yes

08015839                           USD[0.01]
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                                                                                                                                            Customer Claims                                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08015842                              BAT[30.25630153], CUSDT[8], DOGE[109.57112449], GRT[57.16196125], SHIB[1208676.26315258], TRX[1], USD[0.00]                                                                                 Yes

08015845                              USD[542.84]                                                                                                                                                                                 Yes

08015848                              USD[108.58]                                                                                                                                                                                 Yes

08015850                              AVAX[3.0617124], BRZ[1], CUSDT[2], DOGE[797.93365443], SHIB[3347017.94233046], USD[4.57]                                                                                                    Yes

08015852                              CUSDT[1], USD[0.27], USDT[.00113819]                                                                                                                                                        Yes

08015856                              BRZ[1], BTC[.00599591], USD[0.00]

08015863                              USD[0.00]                                                                                                                                                                                   Yes

08015870                              USD[0.12]

08015874                              BTC[.0014], ETH[.03], ETHW[.03], LTC[.5], SHIB[100000], SOL[.50949], USD[0.36]

08015876                              CUSDT[2], DOGE[36.5006252], SHIB[2953286.35204919], USD[0.00]

08015911                              AVAX[0], BAT[0], BRZ[1], BTC[0], DAI[0], DOGE[0], GRT[0], MATIC[19.52083281], SHIB[8], SOL[0], TRX[1.00001100], USD[0.00], YFI[0]                                                           Yes

08015921                              SHIB[3000000], USD[4.16]

08015924                              CUSDT[1], SHIB[333519.46567091], USD[0.00]                                                                                                                                                  Yes

08015925                              USD[10.86]                                                                                                                                                                                  Yes

08015926                              SHIB[166020.27836234], USD[0.00]                                                                                                                                                            Yes

08015927                              BTC[.02335619], SOL[4.10126631], USD[0.00]

08015931                              NFT (383331775544894081/FTX - Off The Grid Miami #1522)[1]

08015933                              BRZ[.00360235], CUSDT[4], TRX[2], USD[0.01]                                                                                                                                                 Yes

08015935                              CUSDT[2], DOGE[2], ETH[.10627565], ETHW[.10519611], LTC[6.90215448], SHIB[2], TRX[1], USD[0.18]                                                                                             Yes

08015940                              BRZ[1], CUSDT[6], DOGE[2], ETHW[.03685112], SHIB[1], TRX[2], USD[109.10]                                                                                                                    Yes

08015950       Contingent, Disputed   USD[0.18], USDT[0]                                                                                                                                                                          Yes

08015955                              USD[542.89]                                                                                                                                                                                 Yes

08015956                              USD[0.01]

08015959                              ETH[0], UNI[0], USD[6.42], USDT[0]

08015963                              DOGE[360], USD[0.14]

08015971                              BRZ[3], CUSDT[7], NFT (335569315430831377/Revolver)[1], NFT (383986997982022641/Frog #1881)[1], NFT (419289044507456848/Anti Artist #101)[1], NFT (422235913862366368/Anti Artist           Yes
                                      #345)[1], NFT (439815474855130127/Frog #6740)[1], NFT (478625778444688223/Anti Artist #562)[1], NFT (480246609942268476/Frog #7278)[1], NFT (545218720673479832/Anti Artist #134)[1], NFT
                                      (553441422531151952/Frog #7369)[1], NFT (563765278594567335/Golden bone pass)[1], SHIB[104140.68283167], TRX[7], USD[436.71], USDT[0]
08015974                              BAT[2.07046985], CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                Yes

08015976                              USD[0.00]

08015980                              BTC[0], NFT (501094816075377801/APEFUEL by Almond Breeze #131)[1], SOL[0.42005811]

08015990                              USD[542.89]                                                                                                                                                                                 Yes

08015998                              USD[388.54]                                                                                                                                                                                 Yes

08016020                              CUSDT[4], USD[0.00]                                                                                                                                                                         Yes

08016026                              CUSDT[1], USD[0.00]                                                                                                                                                                         Yes

08016029                              USD[0.00]

08016033                              BRZ[1], CUSDT[249.4615221], DOGE[425.09185682], KSHIB[1692.47268941], SHIB[5356862.03329784], SOL[.24745381], TRX[4], USD[0.00]                                                             Yes

08016036                              GRT[0], USD[7.09]                                                                                                                                                                           Yes

08016039                              USD[0.35]

08016041                              DOGE[1], SHIB[1], USD[0.00]

08016042                              CUSDT[1], SHIB[340314.25186724], USD[0.00]                                                                                                                                                  Yes

08016045                              CUSDT[3], USD[0.00]

08016056                              DOGE[0], ETH[.02139591], ETHW[.02113382], LTC[1.76738242], USD[0.15]                                                                                                                        Yes

08016061                              ETH[.00924932], ETHW[.00924932], MATIC[19.99], USD[0.00]

08016063                              DOGE[16.29594764], SHIB[543575.064066], USD[27.14]                                                                                                                                          Yes

08016073                              USD[500.01]

08016078                              USD[5.00]

08016081                              CUSDT[1], MATIC[0], SHIB[6.47995766], SOL[.00000127], USD[0.00]                                                                                                                             Yes

08016082                              NFT (572132048612030957/1101)[1], SOL[.07139604]                                                                                                                                            Yes

08016085                              USD[10.00]

08016099                              SHIB[1], USD[0.00], USDT[21.66369467]                                                                                                                                                       Yes

08016104                              DOGE[.01207916], LTC[.00002136], NFT (342262337970152262/Entrance Voucher #2939)[1], SHIB[4], TRX[2], USD[0.00]                                                                             Yes

08016105                              NFT (411203582065361249/Bahrain Ticket Stub #2033)[1]

08016118                              NFT (322840941812333913/NFT BZL 2021 #21)[1]

08016126                              BTC[.00131368], CUSDT[2], DOGE[1], SHIB[426194.30859704], TRX[268.15832293], USD[0.01]                                                                                                      Yes

08016133                              CUSDT[2], DOGE[36.91582324], KSHIB[300.74803555], SHIB[314267.75612822], USD[0.00]

08016137                              BRZ[1], BTC[.01048219], DOGE[5], ETH[0.40357151], ETHW[0.25340304], SHIB[26], TRX[2], USD[1.13]                                                                                             Yes

08016139                              BRZ[1], CUSDT[2], DOGE[1], ETH[0], USD[0.00]                                                                                                                                                Yes

08016144                              BRZ[1], BTC[0.00000001], CUSDT[12], DOGE[1.00057197], ETH[0], KSHIB[0], SHIB[.00000154], TRX[1.00254204], USD[0.00]                                                                         Yes
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                                                                                                                                          Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08016174                           BRZ[1], DOGE[916.52786901], SHIB[3872533.76336583], USD[0.00]

08016176                           TRX[107.10987198], USD[0.00]                                                                                                                                                           Yes

08016177                           BAT[1.0158409], CUSDT[11], DOGE[412.18540346], SHIB[2998440.63879621], USD[489.85]                                                                                                     Yes

08016179                           GRT[1.00310071], SOL[2.7289529], USD[0.00]                                                                                                                                             Yes

08016184                           BTC[.00016403], USD[0.00]                                                                                                                                                              Yes

08016186                           ETHW[.26162469], SHIB[1], USD[98.94]

08016188                           BTC[.00017961]

08016190                           BTC[.0015], DOGE[283], ETH[.007], ETHW[.007], USD[0.28]

08016191                           DOGE[3], TRX[2], USD[0.00]

08016197                           CUSDT[6], ETH[.05276784], ETHW[.05211072], SHIB[1], SOL[.61211777], TRX[1], USD[0.43]                                                                                                  Yes

08016199                           ETH[.233], ETHW[.233], USD[1.72]

08016201                           BF_POINT[100], BTC[0.00165815], ETH[0.01045647], ETHW[0.01032796], NFT (296695342268488110/Gloom Punk #3844)[1], NFT (317696878118771425/Cyber Pharmacist 4905)[1], NFT                Yes
                                   (329527587818409090/ApexDucks #2400)[1], NFT (357418650004142950/ApexDucks #1439)[1], NFT (374056725154216770/Gloom Punk #9609)[1], NFT (465154591606843182/ApexDucks #1058)[1],
                                   NFT (553713267288507806/Astral Apes #2360)[1], SOL[0], USD[0.00]
08016208                           CUSDT[1], DOGE[1], NFT (446394061329787872/Cyber Samurai Tensei Ceremony Announcement)[1], NFT (460980345001234405/Cyber Samurai #3147)[1], TRX[1], USD[0.00]                          Yes

08016220                           SOL[2.22247017], TRX[1], USD[0.36]                                                                                                                                                     Yes

08016224                           BF_POINT[200], BRZ[1], BTC[.00663421], CUSDT[40], DOGE[2], ETH[.0490716], ETHW[.0490716], SHIB[686529.92006342], SOL[.12916339], TRX[2], USD[0.00]

08016232                           ETH[0.00680808], USD[0.00], USDT[0]

08016239                           CUSDT[7], SHIB[547461.9760474], USD[0.00]                                                                                                                                              Yes

08016251                           CUSDT[2], KSHIB[136.8342896], SHIB[484156.46613077], USD[0.00]                                                                                                                         Yes

08016259                           NFT (528936340335678246/Spheathers)[1], NFT (546783604530845017/Elephant 01 (Meltephant))[1], USD[86.00]

08016260                           BTC[.00008182], DOGE[18.13562509], ETH[.00116687], ETHW[.00116687], SHIB[76804.91551459], TRX[1], USD[0.00]

08016261                           DOGE[1], ETH[.06680636], ETHW[.0659764], USD[0.55]                                                                                                                                     Yes

08016263                           AAVE[0], ALGO[0], AVAX[0], BAT[0], BTC[0.00000006], CUSDT[0], DOGE[0], ETH[0.00015911], ETHW[0], GBP[0.00], GRT[0], LINK[0.00000001], LTC[.00079376], MATIC[0], MKR[0], NEAR[0], NFT   Yes
                                   (316333450038797197/Skull Love #3)[1], NFT (370805921694567982/Skull Love #28)[1], NFT (457996934689874699/Skull Love #33)[1], NFT (487228208985204090/Skull Love #15)[1], NFT
                                   (514028061106331354/Skull Love #6)[1], NFT (532252686158506562/Skull Love #16)[1], SHIB[5], SOL[0], TRX[0], UNI[0.00538975], USD[12.61], USDT[0], YFI[0]
08016266                           DOGE[1], LTC[.11378636], USD[0.00], USDT[0]                                                                                                                                            Yes

08016270                           BTC[.00016433]

08016287                           ETH[0], SHIB[443978.05846303], SOL[0.03769803], SUSHI[0], USD[0.01], USDT[0]                                                                                                           Yes

08016293                           CUSDT[60.72435418], DOGE[5], ETH[.03587151], ETHW[.03877328], SHIB[26], SOL[.00000559], TRX[11], USD[0.00]                                                                             Yes

08016307                           DOGE[1], SOL[0]                                                                                                                                                                        Yes

08016314                           SHIB[2], SOL[.00000001], USD[0.00]                                                                                                                                                     Yes

08016315                           BF_POINT[400], ETHW[.19766486], GRT[0], KSHIB[0], LINK[.00009766], MATIC[0], NEAR[0], SHIB[0], USD[0.00], USDT[0]                                                                      Yes

08016321                           SUSHI[.8434896], USD[0.80]

08016329                           USD[27.14]                                                                                                                                                                             Yes

08016341                           BRZ[1], CUSDT[12], DOGE[12.04684486], LINK[.00051794], SHIB[114], TRX[4], USD[0.01]                                                                                                    Yes

08016343                           CUSDT[1], SHIB[227066.30336058], USD[0.00]

08016344                           DOGE[1], USD[0.00]

08016345                           CUSDT[1], SHIB[1639134.51819259], USD[0.00]                                                                                                                                            Yes

08016350                           BRZ[1], CUSDT[2], SOL[0], TRX[1], USD[0.00]                                                                                                                                            Yes

08016359                           CUSDT[1], SHIB[498513.63854927], USD[0.00]                                                                                                                                             Yes

08016364                           BRZ[2], ETH[.04287885], ETHW[.04234533], SHIB[1], USD[0.00]                                                                                                                            Yes

08016367                           CUSDT[1], KSHIB[0], MATIC[0], TRX[2], USD[0.00], USDT[28.01104512]                                                                                                                     Yes

08016372                           CUSDT[2], DOGE[1], SHIB[1250498.23774216], TRX[1], USD[0.00]

08016375                           CUSDT[1], USD[0.00]

08016378                           BTC[.00000494], USD[0.00]                                                                                                                                                              Yes

08016395                           USD[0.00]

08016400                           BTC[.00044395], USD[35.42], USDT[4.42087766]

08016408                           BTC[.00024262], CUSDT[1], USD[0.00]                                                                                                                                                    Yes

08016420                           SHIB[1091444.78393714], TRX[1], USD[0.00]

08016423                           ETH[.00000001], ETHW[0], USD[0.00]

08016431                           USD[13.18]                                                                                                                                                                             Yes

08016432                           CUSDT[1], KSHIB[2737.57935971], USD[0.00]                                                                                                                                              Yes

08016437                           TRX[195.64984312], USD[0.00]

08016450                           ETH[0], MATIC[0], SOL[4.79094000], USD[112.37]

08016454                           CUSDT[2], DOGE[1], USD[0.00]

08016457                           USD[3.26]

08016460                           CUSDT[1], SHIB[8353229.64533161], USD[0.01]                                                                                                                                            Yes

08016475                           NFT (549761809777330249/Sigma Shark #6244)[1], SOL[0.62147090], USD[0.00]                                                                                                              Yes

08016476                           BRZ[1], SHIB[8989572.09636821], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08016494                              BTC[.00059209], USDT[4.4139032]

08016497                              USD[20.00]

08016499                              USD[800.00]

08016506                              AVAX[0.00000437], ETH[0], SHIB[4], USD[0.00]                                                                                                                                          Yes

08016520                              BTC[0.04838451], USD[4.90]

08016524                              CUSDT[1], MATIC[6.95683218], USD[0.00]                                                                                                                                                Yes

08016528                              AAVE[1.0798852], BTC[.28128521], ETH[4.85618479], ETHW[4.85437198], LTC[2.12734124], SHIB[61980811.83611224], TRX[10688.87413827]                                                     Yes

08016535                              BCH[0.03374094], MATIC[4.40861074], SHIB[19558.06113381], SUSHI[.52434891], USD[0.90]                                                                                                 Yes

08016537                              SHIB[4595400], USD[2.43]

08016540                              BTC[0], MATIC[.10890461], USD[0.00]

08016546                              CUSDT[1], SHIB[.00000003], TRX[1], USD[0.00]                                                                                                                                          Yes

08016548                              TRX[106.55093884], USD[0.00]                                                                                                                                                          Yes

08016549                              USD[11.87]                                                                                                                                                                            Yes

08016550                              USD[100.00]

08016552                              ALGO[.00019508], BAT[26.58420387], BRZ[29.15609324], BTC[.00000011], CUSDT[.0000158], DOGE[.00021314], ETH[.00000105], ETHW[.18167271], KSHIB[459.51089716], LINK[.00011204],         Yes
                                      MATIC[.00001996], NFT (289171667248909367/Ape MAN#80)[1], NFT (291927290772332672/Nobu Sensei #898)[1], NFT (349183626971553605/CryptoFabula #94 #2)[1], NFT
                                      (374836804758350036/SolBunnies #3128)[1], NFT (376195588901116080/CryptoPet #9050)[1], NFT (386232611229066838/Panda Fraternity #570)[1], NFT (418406839442535581/Gangster Gorillas
                                      #4040)[1], NFT (437711810968323037/Nobu Sensei #737)[1], NFT (454794819248204179/crypto-04)[1], NFT (488046706894722268/Gangster Gorillas #643)[1], NFT (502456839788957320/Nobu
                                      Sensei #60)[1], NFT (524690832521158638/DOTB #1544)[1], NFT (524783315127158065/Gangster Gorillas #1852)[1], NFT (550337715534103922/Kiddo #7543)[1], NFT
                                      (570283154359116139/Coachella x FTX Weekend 1 #19315)[1], PAXG[.01777384], SHIB[7259001.22433618], SOL[.00050798], TRX[1.00001355], USD[964.82], USDT[0.00061305]
08016555                              BTC[.00090581], CUSDT[1], USD[0.00]                                                                                                                                                   Yes

08016556                              USD[16.29]                                                                                                                                                                            Yes

08016560                              UNI[.00527016], USD[0.00]                                                                                                                                                             Yes

08016566                              LINK[.18038828], USD[6.51]                                                                                                                                                            Yes

08016568                              CUSDT[1], ETH[.00580642], ETHW[.00580642], USD[0.00]

08016574                              USD[9.04]                                                                                                                                                                             Yes

08016580                              ETH[0.05493508], ETHW[0.05493508], USD[5.00]

08016584                              USD[0.00]

08016589                              BTC[.0021], SOL[.54], USD[0.38]

08016598                              ETH[.00000001], SOL[0.00777937], USD[1025.82]

08016601                              ETHW[.000951], SOL[.00000001], USD[0.59]

08016603                              USD[0.00], USDT[0]

08016606                              TRX[1332], USD[0.14]

08016612                              CUSDT[1], USD[0.00], USDT[107.83118683]                                                                                                                                               Yes

08016613                              KSHIB[1625.92450763], USD[0.00]

08016626                              USD[32.56]                                                                                                                                                                            Yes

08016628                              CUSDT[18], DOGE[2], SHIB[4], SOL[3.31503507], TRX[3], USD[0.01]                                                                                                                       Yes

08016629                              BRZ[6.03357316], CUSDT[1], DOGE[11.30557048], KSHIB[76.77457127], USD[2.17]                                                                                                           Yes

08016632                              BTC[.001]

08016638                              CUSDT[3], SHIB[2162669.14896522], USD[0.00]

08016640                              CUSDT[3], DOGE[492.16344601], LINK[4.06948327], MATIC[60.68566676], SOL[1.0293074], TRX[1], USD[0.68]                                                                                 Yes

08016648                              SOL[.41999]

08016657                              AVAX[0.74246096], CUSDT[4], DOGE[1], ETH[0], KSHIB[0], SOL[0], TRX[2], USD[0.00]                                                                                                      Yes

08016659                              CUSDT[4], DOGE[3], ETH[.00000001], ETHW[0.75222459], SHIB[2], TRX[1], USD[0.00]                                                                                                       Yes

08016663                              SHIB[155110.90429657], USD[0.00]

08016668                              CUSDT[2], SHIB[6331680.84447504], USD[0.00]                                                                                                                                           Yes

08016672       Contingent, Disputed   AUD[0.00], ETH[0], GBP[0.00], USD[0.00], USDT[0]                                                                                                                                      Yes

08016676                              DOGE[35.80578099], USD[0.00]

08016677                              USD[48.71]

08016691                              USD[29.45]

08016699                              BTC[.00049561], ETH[.01082554], ETHW[.01068874], SHIB[2], USD[0.01]                                                                                                                   Yes

08016704                              BF_POINT[100], BTC[.00000001], ETH[0.03279967], ETHW[0.03238928], SHIB[1], USD[209.70]                                                                                                Yes

08016716                              BTC[.0003806], USD[443.06]

08016717                              ETH[0], USD[0.00]

08016718                              SOL[10.46], USD[3996.13]

08016724                              BTC[.00108245], CUSDT[1], ETH[.00224132], ETHW[.00224132], USD[0.00]

08016725                              SOL[.0000285]                                                                                                                                                                         Yes

08016730                              BTC[.0114928], DOGE[4.17156306], ETH[.07868166], PAXG[.03899036], SOL[2.23482628], USD[0.00]                                                                                          Yes

08016735                              CUSDT[2], DOGE[.00072739], ETH[.00000004], ETHW[.00000004], USD[0.01]                                                                                                                 Yes

08016737                              BTC[.0056975], ETH[.089956], ETHW[.089956], MATIC[19.98], SOL[.8394], USD[20.74]
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08016746                              ETHW[2.66711165]                                                                                                                                                                         Yes

08016757                              CUSDT[2], SHIB[33651890.04639616], TRX[1], USD[500.00]

08016760                              BRZ[1], DOGE[4], GRT[1], SHIB[30224898.2685844], USD[0.00], USDT[0]                                                                                                                      Yes

08016767                              USD[4.34]                                                                                                                                                                                Yes

08016781                              BTC[0], ETH[0], ETHW[0.44511657], TRX[0], USD[0.07]                                                                                                                                      Yes

08016783                              BTC[0], ETHW[.8072324], USD[0.00]

08016791                              DOGE[389.87806301], SHIB[825918.75041872], USD[0.00]                                                                                                                                     Yes

08016795                              BRZ[1], BTC[.0026524], CUSDT[6], DOGE[755.71854388], KSHIB[866.33656933], MATIC[9.77405924], SHIB[12334850.64404891], SOL[2.10186911], TRX[1], USD[0.01]

08016796                              NFT (361232871807731873/Skyline FLP)[1], SOL[.01]

08016799                              ETH[0], USD[0.00], USDT[0]

08016814                              USD[15.00]

08016816                              BTC[0], ETH[0], GRT[0], SOL[0], TRX[0], UNI[37.25298014], USD[0.00], USDT[0]

08016840                              USD[19.63]

08016846                              ETH[.00000014], ETHW[0.00000013]                                                                                                                                                         Yes

08016859                              DOGE[1], SHIB[2], TRX[2], USD[0.00], USDT[0]

08016860                              BRZ[1], DOGE[1], LINK[1.06007917], MATIC[5819.245933], SOL[126.50574449], TRX[1], USD[0.00]                                                                                              Yes

08016862                              SHIB[150082.54539996], TRX[1], USD[10.00]

08016866                              BTC[.01084725], CUSDT[2], ETH[.03424875], ETHW[.03424875], SHIB[5], TRX[2], USD[0.08]

08016867                              CUSDT[1], KSHIB[700.68000994], USD[26.85]                                                                                                                                                Yes

08016868                              BTC[.00226733], CUSDT[22], DOGE[4], ETH[.0000001], ETHW[.0000001], SHIB[2], TRX[3], USD[0.01]                                                                                            Yes

08016872                              NFT (504143335769623526/Bahrain Ticket Stub #2050)[1]

08016874                              DOGE[1], ETH[.02346946], ETHW[.02318218], USD[0.06]                                                                                                                                      Yes

08016875                              CUSDT[1], SOL[5.45782072], USD[0.00]                                                                                                                                                     Yes

08016877                              BTC[.00016104], USD[0.00]                                                                                                                                                                Yes

08016878                              BTC[0], ETH[.000992], ETHW[.000992], KSHIB[9.96]

08016879                              NFT (404219138123362865/Entrance Voucher #3592)[1], SOL[.25]

08016889                              BTC[0.00008543], ETH[0.00074674], ETHW[0.00074674], GRT[0.36468275], LINK[-0.09504281], LTC[.0021813], MATIC[9.18209232], SOL[0.00160644], SUSHI[.27955], USD[-7.08], USDT[0.00894458]

08016898                              SHIB[239147.49679712]                                                                                                                                                                    Yes

08016900                              USD[0.01]                                                                                                                                                                                Yes

08016901                              NFT (411577614051291712/Coachella x FTX Weekend 1 #27426)[1]

08016902                              USD[108.19]                                                                                                                                                                              Yes

08016904                              USD[20.00]

08016907                              BTC[.0211], DOGE[5378], ETH[.533], ETHW[.533], GRT[737], LINK[43.6], LTC[2.55], MATIC[540], SHIB[24100000], SOL[18.92], SUSHI[23.5], TRX[9205], UNI[18.4], USD[13.72]

08016910                              USD[500.00]

08016912                              BTC[.00810245], CUSDT[1], USD[0.00]

08016914                              DOGE[1], LINK[13.62276677], SUSHI[0], USD[0.01], USDT[1.08558419]                                                                                                                        Yes

08016915                              ETH[0], USD[0.00]

08016920                              USD[0.00]                                                                                                                                                                                Yes

08016930                              SOL[.5]

08016931                              KSHIB[1.72], SOL[.00606], USD[0.01]

08016939                              CUSDT[1], KSHIB[1397.20263266], USD[0.00]                                                                                                                                                Yes

08016940                              BTC[.00081471], CUSDT[2269.5911787], SHIB[1406865.50365785], TRX[493.51898732], USD[0.02]

08016942                              AVAX[8.35896152], USD[0.00]                                                                                                                                                              Yes

08016944                              USD[0.00]

08016948                              UNI[.00001895], USD[0.00], YFI[0.00130019]                                                                                                                                               Yes

08016964                              KSHIB[499.5], SHIB[699300], SOL[1.999], USD[4.14]

08016970                              USD[65010.51]                                                                                                                                                                            Yes

08016973                              BRZ[1], BTC[0], CUSDT[1], DOGE[3], ETH[.00000024], ETHW[.02547392], SHIB[2], SOL[.00003637], TRX[3], USD[97.32]                                                                          Yes

08016974                              DOGE[1], SHIB[149441.61018426], USD[0.00]                                                                                                                                                Yes

08016979                              SHIB[45041.37419815]

08016980                              MATIC[3.52519734], TRX[1], USD[0.00]

08016991                              USD[0.00]                                                                                                                                                                                Yes

08017001                              TRX[186], USD[0.02]

08017002                              BRZ[1], BTC[.07642448], CUSDT[10], DOGE[3], PAXG[0], SHIB[2], TRX[6], USD[0.00], USDT[0.00004011]                                                                                        Yes

08017005       Contingent, Disputed   USD[162.86]                                                                                                                                                                              Yes

08017008                              USD[271.44]                                                                                                                                                                              Yes

08017009                              ETHW[.41774643], SHIB[3], USD[0.00]                                                                                                                                                      Yes

08017012                              BTC[.00014723], GRT[7.77732836], LTC[.03822196], TRX[1], USD[0.01]
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                                                                                                                                         Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08017014                           ETH[2.13567251], ETHW[2.13477551]                                                                                                                                                    Yes

08017021                           CUSDT[1], DOGE[1], SOL[0], USD[0.00]

08017029                           SOL[1.01], USD[2.84]

08017030                           BCH[0.00000001], BRZ[8.20763699], CUSDT[18], GRT[0.00004968], KSHIB[.07745656], NFT (404332541404791096/Fancy Frenchies #126)[1], NFT (504261968716689441/Sigma Shark #6057)[1],     Yes
                                   SHIB[3.98133525], SOL[0.00028041], TRX[.0009887], USD[1.67], YFI[.00000001]
08017035                           BCH[.392607], ETH[.032], ETHW[.032], SOL[.4], USD[33.05]

08017038                           ALGO[132.71331079], AVAX[28.76376423], CUSDT[10], DOGE[3], ETH[.00000114], ETHW[.00000114], SOL[31.41900905], SUSHI[12.19691921], TRX[4], UNI[91.25934255], USD[0.00]                Yes

08017042                           USD[520.00]

08017051                           KSHIB[133.37062375], SHIB[162075.36554003], USD[0.00]                                                                                                                                Yes

08017058                           CUSDT[11], DOGE[5.02603196], TRX[1], USD[0.00]                                                                                                                                       Yes

08017066                           USD[21.51]                                                                                                                                                                           Yes

08017067                           BTC[.00114202], CUSDT[1], TRX[84.05990059], USD[0.00]                                                                                                                                Yes

08017070                           ALGO[57.30315073], AVAX[1.61105458], BTC[.01409407], CUSDT[2], DOGE[6], ETH[.12333332], ETHW[.10241731], EUR[449.57], GRT[83.80621228], LINK[2.29164395], LTC[1.12520904],           Yes
                                   MATIC[98.02539399], SHIB[57], SOL[2.877012], TRX[5], USD[0.00]
08017079                           BRZ[1], DOGE[1], USD[0.01]                                                                                                                                                           Yes

08017080                           BRZ[1], BTC[.00002716], CUSDT[5], DOGE[1], ETH[.00065658], ETHW[.00065365], SHIB[1], SOL[0], TRX[.00002841], USD[0.01]                                                               Yes

08017085                           SOL[.00000001]                                                                                                                                                                       Yes

08017093                           BAT[230.70793813], CUSDT[3], MATIC[155.8591316], TRX[1], USD[0.00]                                                                                                                   Yes

08017104                           NFT (512379484264651125/Humpty Dumpty #531)[1], NFT (564298661472930066/FTX - Off The Grid Miami #1758)[1]

08017113                           USD[0.63]

08017114                           AAVE[.78], MATIC[130], UNI[5.9], USD[0.00]

08017115                           DOGE[1], SHIB[7532561.67525234], USD[0.01]                                                                                                                                           Yes

08017121                           BTC[.00004067], DOGE[15.32956571], USD[4.15]                                                                                                                                         Yes

08017122                           ETHW[.058], USD[734.24]

08017129                           SHIB[0], USD[0.00]                                                                                                                                                                   Yes

08017131                           SOL[.78345063]                                                                                                                                                                       Yes

08017135                           CUSDT[9], SHIB[62236.11177175], USD[0.01]                                                                                                                                            Yes

08017147                           USD[1.09]                                                                                                                                                                            Yes

08017150                           BTC[.00104436]                                                                                                                                                                       Yes

08017151                           USD[0.00]                                                                                                                                                                            Yes

08017153                           BTC[.00361094], CUSDT[4], DOGE[1], ETH[.04425538], ETHW[.04370818], SHIB[400987.26843118], TRX[1], USD[0.13]                                                                         Yes

08017165                           BTC[0], ETHW[0.00063321], NFT (304897645032403038/Entrance Voucher #3748)[1], USD[1.66], USDT[0.00000001]

08017171                           BAT[63.79663937], BCH[.35200826], BTC[.01409543], CUSDT[18], DOGE[237.52652847], GRT[143.7622629], LINK[3.32966909], MATIC[.0004772], PAXG[.02410435], SHIB[1470238.28955613],       Yes
                                   SOL[2.62036343], SUSHI[7.14007668], TRX[3], USD[6.70]
08017172                           CUSDT[1], SHIB[295072.29271171], USD[0.00]

08017174                           BRZ[2], ETH[.00003399], ETHW[.00003399], GRT[.08858422], LINK[1.07949432], UNI[1.02557248], USD[0.04], USDT[.01845343]                                                               Yes

08017176                           BTC[0], CUSDT[7], DOGE[2], ETH[0], ETHW[0], SUSHI[8.49680262], TRX[1], UNI[0], USD[0.00]                                                                                             Yes

08017178                           USD[20.00]

08017179                           DOGE[1], SHIB[402067.42476687], USD[0.00]                                                                                                                                            Yes

08017184                           CUSDT[2], DOGE[1], USD[0.01]                                                                                                                                                         Yes

08017185                           CUSDT[1], ETH[.00497681], ETHW[.00491219], USD[0.00]                                                                                                                                 Yes

08017186                           BRZ[1], BTC[0], NFT (457983475484070454/Lucky Lemur #813)[1], SOL[0.00006301], USD[0.00], USDT[0]                                                                                    Yes

08017187                           BTC[.0332667], ETH[1.363635], ETHW[1.363635], USD[11.15]

08017189                           MATIC[8.18100299], NFT (322538991009734303/Sigma Shark #3743)[1], NFT (391161608719643951/Sigma Shark #2672)[1], NFT (466751342633317149/Sigma Shark #4190)[1], NFT                  Yes
                                   (545155371976451628/Sigma Shark #1748)[1], NFT (556631026806123289/Solana Penguin #5971)[1], SOL[.18862089], USD[0.00], USDT[0]
08017190                           DOGE[1], USD[0.01]                                                                                                                                                                   Yes

08017197                           AVAX[.00000001], BRZ[2], BTC[0.00000146], DOGE[2], GRT[1], LINK[0], MATIC[0], SHIB[7], SOL[0.00046299], TRX[1], USD[766.33], USDT[0]                                                 Yes

08017198                           DOGE[51], SHIB[66000], USD[0.03]

08017200                           DOGE[1], SHIB[2957704.82105885], USD[100.00]

08017205                           USDT[0]

08017206                           GBP[0.83], SOL[.00078], TRX[.000036], USDT[0]

08017209                           DOGE[1], SHIB[8034208.03492846], USD[0.00]                                                                                                                                           Yes

08017212                           NFT (470964873720820440/Australia Ticket Stub #2313)[1], NFT (483755512679846891/FTX - Off The Grid Miami #4480)[1], USD[0.01]                                                       Yes

08017222                           BRZ[1], DOGE[2], ETH[0], ETHW[0], GRT[1], NFT (428112860171638430/Gloom Punk #9259)[1], NFT (469115379778538803/Space Bums #9494)[1], SHIB[0], SOL[0.00000001], TRX[1], USD[0.00],   Yes
                                   USDT[1.04763852]
08017232                           CUSDT[2], TRX[1], UNI[1.00277298], USD[0.00]                                                                                                                                         Yes

08017236                           SHIB[0], SOL[0], TRX[56.19980108], USD[0.00]                                                                                                                                         Yes

08017240                           SHIB[789600], USD[0.01]

08017242                           BRZ[0], BTC[0.00079350], DOGE[0], ETH[0], KSHIB[0], LTC[0], MATIC[0], NFT (318820185686276548/FTX - Off The Grid Miami #2499)[1], NFT (327383033679403094/FTX Crypto Cup 2022 Key    Yes
                                   #1873)[1], NFT (375824316309307382/Bahrain Ticket Stub #349)[1], NFT (416082159196441005/The Hill by FTX #4538)[1], NFT (503558373474914617/Barcelona Ticket Stub #2238)[1], NFT
                                   (569353492983802969/lazyPanda #28)[1], NFT (574103478952539659/lazyPanda #29)[1], SHIB[6817.96328489], SOL[0.00000936], TRX[0], USD[0.00], USDT[0]
08017261                           CUSDT[1], DOGE[1], SHIB[2141412.86304933], USD[5.01]

08017263                           BTC[.00016184], USD[5.43]                                                                                                                                                            Yes
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                                                                                                                                         Customer Claims                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08017265                           CUSDT[1], KSHIB[.00003495], SHIB[183752.91419988], USD[1.39]                                                                                                     Yes

08017268                           BTC[.054], ETH[.522], ETHW[.522], SOL[9.086], USD[37.24]

08017271                           ETH[.018], ETHW[.018], USD[3.26]

08017272                           CUSDT[1], SHIB[8304434.47932237], USD[0.00]

08017279                           USD[6.87]

08017297                           CUSDT[1], SHIB[2227235.80346578], USD[0.00]                                                                                                                      Yes

08017300                           USD[500.01]

08017305                           USD[0.00]

08017308                           GRT[.00023821], USD[0.00]                                                                                                                                        Yes

08017309                           BRZ[1], CUSDT[5], DOGE[3], SHIB[1], TRX[2], USD[0.00], USDT[0.00000001]                                                                                          Yes

08017312                           BTC[.00081476]

08017319                           SHIB[1354097683.73304991], USD[0.00]

08017320                           GRT[423.09655912], NFT (538511651531679819/Entrance Voucher #29401)[1], USD[0.00]

08017325                           NFT (340026831518093742/Nebula l)[1], NFT (343306172544051015/Nebula ll)[1], NFT (418793864217654240/Nebula Vl)[1], NFT (442857854929113585/Nebula lV)[1], NFT
                                   (460017249285049214/Nebula V)[1], NFT (536873631364832076/Nebula lll)[1], USD[13.49]
08017327                           CUSDT[2], SOL[.27525637], USD[0.00]                                                                                                                              Yes

08017329                           USD[100.00]

08017337                           BRZ[1], BTC[0], DOGE[1], SHIB[6], TRX[2], USD[0.00]                                                                                                              Yes

08017363                           BRZ[1], CUSDT[2471.3120949], DOGE[1], KSHIB[731.24581178], LTC[.29472189], MATIC[55.09971925], TRX[238.30549585], USD[0.00], USDT[27.13148552]                   Yes

08017372                           SOL[.3996], USD[3.17]

08017376                           TRX[.000135], USD[566.10], USDT[.000436]                                                                                                                         Yes

08017385                           CUSDT[2], SOL[.00000225], USD[0.01]                                                                                                                              Yes

08017395                           BTC[.00000002]                                                                                                                                                   Yes

08017397                           BAT[.96], DOGE[.851], KSHIB[8.67], SHIB[97300], USD[0.23], USDT[0]

08017403                           CUSDT[1], DOGE[2], GRT[1], SHIB[1], USD[4192.82]

08017413                           BTC[.00084609], SHIB[1], USD[0.00]

08017414                           AAVE[.0000817], BAT[1], BRZ[4], DOGE[6], ETHW[2.613392], GRT[1], SHIB[3], SOL[.0002294], TRX[3], USD[0.00], USDT[0.00000070]                                     Yes

08017431                           BTC[0], SOL[.00000001], USD[1.23]

08017432                           DOGE[11.51027897], ETH[.0012444], ETHW[.00123072], SHIB[77061.988009], SOL[.00896087], USD[0.00]                                                                 Yes

08017434                           USD[0.00]

08017435                           CUSDT[1], KSHIB[147.09747988], USD[0.00]                                                                                                                         Yes

08017440                           BRZ[1], CUSDT[2], USD[0.00]

08017457                           DOGE[17.68011939], USD[0.00]

08017461                           BTC[.03798047], CUSDT[1], DOGE[1966.6163386], LINK[9.95220416], SHIB[7], SOL[1.2609048], TRX[1773.67380921], USD[0.00]                                           Yes

08017463                           USD[217.15]                                                                                                                                                      Yes

08017470                           SHIB[1], USD[38.75]

08017473                           USD[0.00]

08017476                           DOGE[1], ETH[.27122959], ETHW[.27103615], KSHIB[276.45340183], LTC[.11283128], MATIC[11.42366323], SHIB[318673.62344497], USD[0.00]                              Yes

08017477                           SOL[.44792886]

08017487                           DOGE[883.87505067], SHIB[34891758.36624683], TRX[1709.99796861], USD[0.00]                                                                                       Yes

08017490                           MATIC[9.69], TRX[.549], USD[0.00]

08017507                           ETHW[.97478878], USD[1614.00]

08017508                           ETHW[.53024382], USD[3188.19]

08017516                           USDT[.00000001]

08017518                           SOL[1.72329324], TRX[1], USD[0.00]                                                                                                                               Yes

08017519                           SHIB[5], USD[2.01]

08017521                           BTC[0], ETH[.00000001], ETHW[3.51300000], LINK[.076], SHIB[5742.22881178], USD[9408.70]

08017523                           CUSDT[1], KSHIB[684.15185489], SHIB[1037496.81313886], USD[22.46]                                                                                                Yes

08017527                           SHIB[1], USD[0.01]

08017535                           ETH[.1702333], ETHW[.1702333]

08017536                           SHIB[18563.22547635]

08017538                           CUSDT[1], USD[0.00]                                                                                                                                              Yes

08017540                           DOGE[389.88978647], KSHIB[1480.55366784], SHIB[4818297.52895755], USD[0.00]                                                                                      Yes

08017544                           DOGE[1], GRT[1.00287171], USD[938.82]                                                                                                                            Yes

08017546                           CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                     Yes

08017550                           USD[500.01]

08017551                           CUSDT[1], DOGE[1], GRT[1], USD[0.00]                                                                                                                             Yes

08017555                           ETH[.016], ETHW[.016], USD[1.03]

08017557                           BF_POINT[100], BTC[0], ETH[.05436848], ETHW[.05369485], LINK[0], MATIC[162.87420999], NFT (383447310093367197/SolDad #4422)[1], SHIB[2], SOL[0], USD[0.00]       Yes
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08017564                           BAT[41.96321299], BRZ[546.51019741], CUSDT[7], DOGE[1], KSHIB[934.61542631], LINK[2.89535498], MATIC[57.38730706], SHIB[3749531.30858642], SUSHI[17.95767532], TRX[829.25746379],
                                   USD[0.00], USDT[99.47055701]
08017565                           USD[0.00]

08017566                           NFT (404769756964962776/Coachella x FTX Weekend 1 #8053)[1], NFT (571828803521376509/Desert Rose Ferris Wheel #470)[1], USD[0.01]                                                   Yes

08017575                           BTC[.00022826], USD[0.00]

08017577                           USD[0.00]

08017580                           CUSDT[2], NFT (292020475602650001/MagicEden Vaults)[1], NFT (339868433834594393/MagicEden Vaults)[1], NFT (422426372117376056/MagicEden Vaults)[1], NFT (440579331589721932/NFTree
                                   #3556)[1], NFT (508404423774564929/MagicEden Vaults)[1], NFT (562969095178873565/MagicEden Vaults)[1], SOL[1.85958924], USD[0.00]
08017587                           USD[0.01]                                                                                                                                                                          Yes

08017591                           BRZ[1], SHIB[5423357.97907441], TRX[1], USD[0.02]                                                                                                                                   Yes

08017596                           SHIB[6800000], USD[4.82]

08017599                           SOL[2.57742], USD[1.49]

08017601                           CUSDT[1], MATIC[53.64329395], TRX[1], USD[0.00]                                                                                                                                     Yes

08017602                           SHIB[5280677.7641677], TRX[964.48065013], USD[0.00]                                                                                                                                 Yes

08017604                           BRZ[1], CUSDT[1], DOGE[0.01576817], SHIB[85.63141588], TRX[3], USD[0.01]                                                                                                            Yes

08017615                           BTC[.00037209], CUSDT[1], USD[168.26]                                                                                                                                               Yes

08017621                           USD[542.86]                                                                                                                                                                         Yes

08017628                           USD[0.00]

08017629                           SHIB[1], TRX[1], USD[0.00], USDT[1.05102129]                                                                                                                                        Yes

08017636                           CUSDT[1], GRT[1], SHIB[27080.28025995], SOL[0], TRX[2], USD[0.01], USDT[0]                                                                                                          Yes

08017637                           BTC[.0003229], CUSDT[1], ETH[.00247222], ETHW[.00244486], LINK[.35453842], SOL[.02518506], USD[16.29]                                                                               Yes

08017640                           USD[250.00]

08017649                           CUSDT[5], DOGE[1], SOL[0], TRX[1], USD[0.00]                                                                                                                                        Yes

08017650                           USD[16.01]                                                                                                                                                                          Yes

08017662                           BRZ[1], CUSDT[8], DOGE[1], USD[0.93]                                                                                                                                                Yes

08017663                           CUSDT[32.25697571], SHIB[24021.5686902], USD[0.01]                                                                                                                                  Yes

08017664                           BAT[11.22175038], BRZ[2], CUSDT[107.13988639], DOGE[305.43831793], ETH[.23250831], ETHW[.23230267], LTC[.33070749], SHIB[4868247.33774758], SOL[12.44217009], TRX[121.6969226],     Yes
                                   USD[1242.34]
08017667                           CUSDT[20], DOGE[6.08036863], NFT (431063521316473837/SolBunnies #1411)[1], NFT (536307078570742561/Crypto Gods Series #9)[1], TRX[2], USD[0.00], USDT[0]                            Yes

08017669                           BTC[.02061179], CUSDT[1], SHIB[1], USD[0.00]                                                                                                                                        Yes

08017676                           BTC[.00016164], USD[0.00]

08017679                           BTC[.00016164], USD[0.00]                                                                                                                                                           Yes

08017698                           CUSDT[1], ETH[.02399139], ETHW[.02369043], USD[0.00]                                                                                                                                Yes

08017710                           CUSDT[1], TRX[1], USD[0.00]

08017715                           BTC[.48303724], USD[1568.31]                                                                                                                                                        Yes

08017718                           CUSDT[2], USD[26.85]                                                                                                                                                                Yes

08017719                           USD[0.04]                                                                                                                                                                           Yes

08017723                           CUSDT[2], DOGE[1], TRX[3.40450612], USD[0.00]                                                                                                                                       Yes

08017728                           NFT (384294231888225767/SharkBro #2506)[1], NFT (542557983318918376/Solana Penguin #4611)[1], NFT (567584072802663047/DOTB #1853)[1], USD[0.00]

08017735                           NFT (301356418583031717/Gangster Gorillas #3929)[1], NFT (301814061821041294/Gangster Gorillas #731)[1], SOL[.01688401], USD[2.56]

08017742                           ETH[.05456876], ETHW[.05389112], SHIB[0], USD[0.00]                                                                                                                                 Yes

08017743                           BAT[10.55806023], BRZ[61.03456683], CUSDT[2], DOGE[1], GRT[10.31916162], KSHIB[148.95850448], MATIC[5.49582906], SHIB[161732.92536984], SUSHI[1.17526523], TRX[1], USD[19.54],      Yes
                                   USDT[10.79425361]
08017746                           SOL[.04497351], TRX[106.06918158], USD[0.00]                                                                                                                                        Yes

08017752                           TRX[2], USD[0.00]

08017756                           USD[25.00]

08017760                           BAT[33.26567574], BTC[0.00369921], CUSDT[4], MATIC[34.36635338], SHIB[769410.90840295], TRX[1], USD[0.00], USDT[0.00019212]                                                         Yes

08017761                           USD[542.87]                                                                                                                                                                         Yes

08017763                           BTC[.00317095], CUSDT[1], DOGE[1], ETH[.01627663], ETHW[.01607143], SHIB[4], SOL[.2005001], TRX[1], USD[0.03]                                                                       Yes

08017764                           AAVE[2.15619581], BTC[.07583138], CUSDT[11], DOGE[3063.88420047], ETH[1.2018484], ETHW[1.20134371], GRT[1069.17928365], LINK[113.01869667], SHIB[17005486.6880793],                 Yes
                                   TRX[354.14265298], UNI[36.45912914], USD[973.93], USDT[0]
08017765                           USD[0.31]

08017767                           BTC[.0001998], ETH[.08543632], ETHW[.08543632], SOL[.10115898], USD[0.00]

08017772                           BRZ[1], ETH[.05969107], ETHW[.05895211], TRX[5100.12921905], USD[215.00]                                                                                                            Yes

08017776                           ALGO[13.63206299], BTC[.00814488], DOGE[274.90387676], LINK[1.88297305], MATIC[13.90949828], SHIB[1059777.62861357], SOL[1.04822293], TRX[1], UNI[1.1455765], USD[0.00]             Yes

08017778                           SHIB[6339370.82936129], USD[0.00]

08017788                           DOGE[0], MATIC[0.00004733], USD[0.00]

08017791                           BTC[.0003219], CUSDT[2], ETH[.0049078], ETHW[.00485308], USD[10.87]                                                                                                                 Yes

08017794                           BRZ[2], BTC[0], CUSDT[6], DOGE[1], NFT (291652988821767624/Space Bums #5156)[1], NFT (293926073834465157/Sigma Shark #3897)[1], NFT (301863927909241266/Eclipse #2)[1], NFT         Yes
                                   (309105796716873390/3D CATPUNK #5519)[1], NFT (313554568656377059/Munk #330)[1], NFT (336645908590698001/Munk #343)[1], NFT (347931665332152188/3D CATPUNK #285)[1], NFT
                                   (441124200329151666/3D CATPUNK #3043)[1], NFT (449091110342691397/Munk #3565)[1], NFT (468297367218619524/3D CATPUNK #4454)[1], NFT (472575163702088981/Astral Apes #3175)[1],
                                   NFT (491886346432060093/Astral Apes #1554)[1], NFT (500433914889371439/ Skull #3)[1], NFT (513607988610786750/3D CATPUNK #5358)[1], NFT (538716868666604401/SolDad #5015)[1], NFT
                                   (541060624332718486/Astral Apes #1134)[1], SOL[0.17719184], TRX[2], USD[0.00]
08017795                           AVAX[.00005489], ETH[.13431694], ETHW[.1341391], NFT (445661454392134456/G6 SE03)[1], NFT (558736325287963198/G7 Fallspice)[1], SOL[4.3927373], USD[1.36]                           Yes
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                                                                                                                                         Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08017798                           BTC[.00163442], CUSDT[1], DOGE[2], ETH[.02330405], ETHW[.02330405], SOL[.22603184], USD[0.00]

08017800                           BTC[.00033304]

08017805                           BF_POINT[200], CUSDT[2], DOGE[1], ETH[.00775204], ETHW[.00775204], LINK[1.04791539], SOL[.16050214], USD[0.00]

08017807                           SOL[.00476723], USD[0.00]                                                                                                                                                        Yes

08017812                           BRZ[1], DOGE[175.29300829], SHIB[747272.45553728], USD[0.00]

08017817                           LINK[73.90290206]                                                                                                                                                                Yes

08017822                           ETH[.00022164], ETHW[.00022164], USD[0.00]

08017838                           USD[5.15]

08017839                           NFT (431088512200954043/Coachella x FTX Weekend 1 #3326)[1]

08017841                           CUSDT[1], SHIB[884506.42594879], USD[0.00]                                                                                                                                       Yes

08017853                           ETH[0], NFT (478516820826463209/Entrance Voucher #2454)[1], NFT (514627024543437812/God of Egypt)[1], USD[0.01], USDT[0]                                                         Yes

08017859                           DOGE[1], SHIB[7419498.44190532], USD[0.00]

08017861                           USD[0.40]                                                                                                                                                                        Yes

08017864                           CUSDT[1], DOGE[.00259734], SHIB[3547187.86066672], USD[0.00]                                                                                                                     Yes

08017869                           SHIB[1], SOL[.00000039], TRX[1], USD[0.04]                                                                                                                                       Yes

08017878                           CUSDT[3], DOGE[157.23141685], SHIB[4241953.68376854], TRX[767.63572094], USD[0.00]                                                                                               Yes

08017882                           CUSDT[1], MATIC[5.5511357], USD[0.00]                                                                                                                                            Yes

08017887                           ETH[.00413663], ETHW[.00408191]                                                                                                                                                  Yes

08017895                           NFT (465149475912378669/Solstice Flower #1)[1], SOL[0], USD[8.91]

08017901                           CUSDT[3], USD[0.00]

08017904                           SHIB[299700], USD[79.95]

08017913                           CUSDT[734.97849343], KSHIB[1292.22624577], MATIC[22.70706928], TRX[105.32571566], USD[0.00]                                                                                      Yes

08017916                           NFT (288507220581453332/Kelly Kin)[1], NFT (289554460745913673/Owen Orca)[1], NFT (298023287092642209/Alice Aurory)[1], NFT (303234968525393411/Suzy Solrise)[1], NFT
                                   (303724648729000638/Sara Sunny)[1], NFT (308102478256142392/Aaron Atlas)[1], NFT (308154426404390014/Mike Mango)[1], NFT (341445924752955979/Serg Saber)[1], NFT
                                   (350802338898973484/Soren Samo)[1], NFT (371348138292533118/Tiffany Tulip)[1], NFT (371844673706406397/Mel Maps)[1], NFT (374321132646070445/Poly Playground)[1], NFT
                                   (393571951415355233/David Degen)[1], NFT (395038380880343405/Stan Step)[1], NFT (395139810037066804/Olivia Oxy)[1], NFT (413521124411591642/Liam Lido)[1], NFT
                                   (414529817389415089/Sven Solanium)[1], NFT (420777363448172182/Reggie Rust)[1], NFT (424610394004391568/Ashley Alameda)[1], NFT (433154794741697468/Mary Mercurial)[1], NFT
                                   (434615340268740925/Barry Burnt)[1], NFT (437940796285829217/Amy Arweave)[1], NFT (438961087689745392/Anatoly Sol)[1], NFT (444160519475852628/Paul Parrot)[1], NFT
                                   (455374172508417805/Cam Cope)[1], NFT (464264378094678321/Rachel Ray)[1], NFT (465901049885321025/Flex Ftx)[1], NFT (475144670550035815/Sam Serum)[1], NFT
                                   (480453986336016476/Peter Port)[1], NFT (491573844571707648/Jenny Jet)[1], NFT (528332442001355647/Allan Allbridge)[1], NFT (544353941074077005/Gary Grape)[1], NFT
                                   (553235249773413778/Amanda Apricot)[1], NFT (555986192069259991/Fin Fabric)[1], NFT (558745543828135062/Sophie Sollet)[1], SOL[1]
08017925                           DOGE[3836.89859393], SHIB[1], TRX[2], USD[0.00]                                                                                                                                  Yes

08017927                           CUSDT[1], KSHIB[1850.2767866], USD[0.00]                                                                                                                                         Yes

08017929                           BTC[.00076886], CUSDT[12], DOGE[253.06452128], ETH[.01520276], ETHW[.01501124], LTC[.07853456], MATIC[5.48201739], MKR[.00503499], SOL[.39979111], TRX[1], USD[0.00]             Yes

08017930                           BCH[3.50454815], BTC[.01228149], DOGE[2], ETH[.14790873], ETHW[.14704646], SHIB[1], TRX[1], USD[0.05]                                                                            Yes

08017932                           USD[0.15]                                                                                                                                                                        Yes

08017939                           BRZ[1], BTC[.00090704], CUSDT[1], MATIC[.00021361], SHIB[655225.16818058], TRX[144.52846529], USD[24.32]                                                                         Yes

08017940                           USD[0.00]

08017952                           BRZ[1], CUSDT[4], TRX[2], USD[0.00], USDT[0.00002513]                                                                                                                            Yes

08017955                           CUSDT[1], SHIB[265287.17336516], USD[0.00]

08017956                           BRZ[2], CUSDT[28], DOGE[7.11781101], SHIB[46410770.85947301], TRX[7], USD[1.06]                                                                                                  Yes

08017958                           BAT[752], USD[0.37]

08017969                           CUSDT[1], TRX[628.720708], USD[0.00]                                                                                                                                             Yes

08017976                           BTC[.00000001], CUSDT[1], MATIC[.99105126], SHIB[3144881.32451965], TRX[.00009872], USD[0.01]                                                                                    Yes

08017980                           BTC[.00529894], CUSDT[1], ETH[.05002644], ETHW[.04940641], TRX[1], USD[0.00]                                                                                                     Yes

08017984                           CUSDT[1], SOL[2.19172866], USD[86.93]                                                                                                                                            Yes

08017985                           TRX[7971.30578711]                                                                                                                                                               Yes

08017986                           CUSDT[4], DOGE[.00017283], KSHIB[479.13219586], TRX[.77523887], USD[-4.65]                                                                                                       Yes

08017991                           CUSDT[3], LINK[1.4388253], USD[0.00]                                                                                                                                             Yes

08017992                           USD[8.96], USDT[0.62034514]

08017996                           ETH[.16022799], NFT (368353917967154192/TheWayEyeSeeIt)[1], NFT (400442284494877693/TheWayEyeSeeIt)[1], NFT (418705285251667514/TheWayEyeSeeIt)[1], SOL[.00779147], USD[0.00],
                                   USDT[0]
08017999                           SHIB[143041.05278214], USD[0.00]

08018002                           BCH[.00221257], BTC[.00008338], USD[5.37]                                                                                                                                        Yes

08018003                           CUSDT[1], GRT[99.17372715], USD[0.00]

08018012                           AAVE[1.27758587], BTC[0], DOGE[2], SHIB[44], USD[0.00], USDT[53.14534026]                                                                                                        Yes

08018014                           USD[1.05]

08018034                           BRZ[0], BTC[0], CUSDT[92.27833261], SHIB[113018.90893284], TRX[1], USD[0.00]

08018040                           CUSDT[1], SHIB[6.47259502], TRX[1], USD[0.01]                                                                                                                                    Yes

08018043                           BAT[10.0404557], DOGE[92.09830513], GRT[9.76751755], MATIC[5.11961074], SHIB[421907.97059551], TRX[100.40047596], USD[10.00], USDT[9.94307974]

08018044                           DOGE[.99562826], ETH[0], LINK[0], SHIB[79.80296724], USD[0.01]                                                                                                                   Yes

08018045                           BF_POINT[100], BRZ[1.04086191], DOGE[0.00655944], KSHIB[0], MATIC[0], SHIB[1], USD[0.00], USDT[92.51928994]                                                                      Yes
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                                                                                                                                            Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08018047                              SHIB[1], USD[0.00]                                                                                                                                                                         Yes

08018049                              CUSDT[3], MATIC[6.83482699], SHIB[285184.65706544], TRX[128.70321217], USD[5.00]

08018051                              BTC[.05326154]                                                                                                                                                                             Yes

08018052                              BAT[15.86399226], SHIB[1], TRX[121.97630082], USD[0.00]                                                                                                                                    Yes

08018062                              ETH[.00069135], ETHW[1.66669135], SHIB[97070972.55022613], USD[2193.93]

08018065                              BTC[.00117104], USD[0.00]

08018068                              SHIB[1398600], USD[3.62]

08018077                              CUSDT[2], SHIB[6837215.94392821], USD[0.00]

08018079                              KSHIB[1422.83111805], TRX[1], USD[0.00]

08018086                              BRZ[2], CUSDT[6], DOGE[203.19684082], GRT[39.99031512], SHIB[7945915.56061547], SOL[.2862637], USD[0.00]                                                                                   Yes

08018091                              CUSDT[6], SHIB[1.81092051], TRX[3], USD[0.00]                                                                                                                                              Yes

08018093                              CUSDT[2], SHIB[4802562.41601266], USD[0.50]                                                                                                                                                Yes

08018094                              CUSDT[2], KSHIB[143.39711493], SHIB[1], SOL[.12671797], TRX[.06131167], USD[33.64]                                                                                                         Yes

08018100                              USD[0.01]                                                                                                                                                                                  Yes

08018101                              KSHIB[143.3659486], USD[0.00]                                                                                                                                                              Yes

08018103                              USD[10.61]                                                                                                                                                                                 Yes

08018104                              USD[0.03]                                                                                                                                                                                  Yes

08018110                              CUSDT[3], SHIB[1329874.919734], USD[0.00]

08018114                              BTC[.00113016], CUSDT[1], DOGE[1], ETH[.03100097], ETHW[.03100097], SHIB[279837.6941374], TRX[2], USD[0.00]

08018115                              CUSDT[1], SHIB[167508.24057835], SOL[.30623033], USD[0.00]                                                                                                                                 Yes

08018116                              SOL[.01102714], USD[0.00]

08018126                              SHIB[154203.88831816], USD[0.00]                                                                                                                                                           Yes

08018129       Contingent, Disputed   AAVE[.2688098], AVAX[.59032421], BAT[67.2274502], BCH[.00077952], BF_POINT[300], BRZ[17.10355981], BTC[.00007793], CUSDT[.48567311], DAI[.02520725], DOGE[.60506361],                      Yes
                                      ETH[.00056946], ETHW[.00056946], GRT[79.94397346], KSHIB[1655.2636019], LINK[.02230509], LTC[.11894935], MATIC[45.81830891], MKR[.01248014], NFT (398826967444426607/Shannon
                                      Sharpe's Playbook: Kansas City Chiefs vs Denver Broncos - October 4, 1992 #71)[1], NFT (402265780872528799/Joe Theismann's Playbook: Notre Dame vs. USC - November 30, 1968 #41)[1], NFT
                                      (406575944492117822/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #96)[1], NFT (474337014151307097/Joe Theismann's Playbook: Notre Dame vs. USC -
                                      November 30, 1968 #56)[1], NFT (532936004347459355/Joe Theismann's Playbook: Washington vs. Chicago Bears - September 29, 1985 #55)[1], NFT (540071777032924100/Joe Theismann's
                                      Playbook: Notre Dame vs. USC - November 30, 1968 #57)[1], PAXG[.00001217], SHIB[2586394.17641919], SOL[.00040946], SUSHI[.3280048], TRX[.14898912], UNI[.034264], USD[-38.83],
                                      USDT[0.00288307]
08018130                              BTC[.00044], DOGE[9.23021937], ETH[.00206893], ETHW[.00204157], KSHIB[50.48544787], LINK[.40246258], MATIC[3.26665662], SHIB[109865.92021197], SOL[.04997972], UNI[.34299947],             Yes
                                      USD[0.51]
08018139                              CUSDT[2], MATIC[.00056071], SHIB[64.32588957], USD[0.00]                                                                                                                                   Yes

08018141                              BRZ[1], DOGE[1], MATIC[.00438382], SHIB[1], TRX[605.45280915], USD[0.00]                                                                                                                   Yes

08018155                              CUSDT[4], SHIB[2270841.4219646], USD[153.19]                                                                                                                                               Yes

08018161                              USD[0.00], USDT[0]                                                                                                                                                                         Yes

08018168                              CUSDT[3], TRX[1], USD[0.01]                                                                                                                                                                Yes

08018170                              BAT[.00005535], BRZ[1], BTC[.00196543], CUSDT[1], DOGE[1.00067899], USD[0.00]                                                                                                              Yes

08018171                              USDT[0]

08018175                              GRT[10.49386562], MATIC[5.55234392], USD[0.00]                                                                                                                                             Yes

08018193                              DOGE[.00024082], ETH[.00000006], ETHW[.00000006], LTC[.00000034], SHIB[1], SOL[.00000038], USD[0.00]                                                                                       Yes

08018197                              CUSDT[1], SHIB[7470983.91812268], USD[0.01]                                                                                                                                                Yes

08018198                              ETH[.03903896], ETHW[.03855554], SHIB[1055622.96674672], SOL[.06088248], USD[0.00]                                                                                                         Yes

08018206                              CUSDT[3], USD[0.00]

08018209                              USD[542.86]                                                                                                                                                                                Yes

08018212                              CUSDT[3], LINK[3.46653798], USD[0.00]                                                                                                                                                      Yes

08018214                              BRZ[1], CUSDT[1], SHIB[577483.92658707], USD[0.04]                                                                                                                                         Yes

08018215                              CUSDT[1], DOGE[44.51937939], USD[0.00]                                                                                                                                                     Yes

08018222                              CUSDT[1], GRT[81.30494033], TRX[805.21712919], USD[0.00]                                                                                                                                   Yes

08018223                              CUSDT[2], DOGE[458.95880238], SHIB[5364568.49531578], TRX[1], USD[0.01]

08018224                              SOL[.05314546], USD[32.58]                                                                                                                                                                 Yes

08018231                              CUSDT[2], USD[0.00]                                                                                                                                                                        Yes

08018233                              CUSDT[1], SUSHI[3.62485024], USD[0.00]                                                                                                                                                     Yes

08018235                              BTC[0.00814498], DOGE[1], USD[0.00]                                                                                                                                                        Yes

08018237                              USD[0.01]

08018239                              BAT[1.01563679], DOGE[2], TRX[1], USD[0.00]                                                                                                                                                Yes

08018257                              BRZ[1], DOGE[2], GRT[1], SOL[.00037111], USD[0.00]                                                                                                                                         Yes

08018259                              BTC[.00016234], USD[0.00]                                                                                                                                                                  Yes

08018260                              CUSDT[1], DOGE[2], MATIC[1.00015521], SOL[1.66023564], SUSHI[1.06527302], TRX[1], USD[0.00]                                                                                                Yes

08018261                              CUSDT[1], SHIB[2900357.00428471], USD[0.01]

08018276                              USD[0.00]

08018277                              USD[1.00]
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                                                                                                                                         Customer Claims                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08018278                           BRZ[1], BTC[.00419259], CUSDT[4], DOGE[696.91313254], ETH[.04940034], ETHW[.04878474], KSHIB[1787.73899224], MATIC[24.98829078], SHIB[5146227.18575442], SOL[1.07193153],   Yes
                                   TRX[1078.13330184], USD[0.00]
08018290                           USD[20.00]

08018291                           CUSDT[2], DOGE[232.39961388], LINK[1.28742776], USD[0.02]                                                                                                                   Yes

08018292                           SOL[.00000001], USD[0.00]                                                                                                                                                   Yes

08018296                           USD[0.00], USDT[2965.60264806]

08018297                           BTC[.00051482], CUSDT[1], ETH[.00485046], ETHW[.00479574], SHIB[386374.77864874], SOL[.04670064], TRX[100.47905184], USD[0.00]                                              Yes

08018301                           USD[50.01]

08018303                           DOGE[81], ETH[.006], ETHW[.006], SHIB[300000], USD[33.95]

08018311                           USD[0.00]                                                                                                                                                                   Yes

08018316                           CUSDT[1], DOGE[3.65917746], SHIB[359398.63712477], USD[0.00]                                                                                                                Yes

08018330                           ETH[.02333317], ETHW[.02304589], TRX[1], USD[0.04]                                                                                                                          Yes

08018331                           TRX[20.87898477], USD[0.00]                                                                                                                                                 Yes

08018335                           USD[0.00]

08018339                           BAT[1.00571479], CUSDT[2], ETH[.40381936], ETHW[.40364962], MATIC[128.40112915], SOL[1.52323091], USD[0.00]                                                                 Yes

08018347                           USD[0.01], USDT[0]

08018352                           USD[1.45]

08018360                           CUSDT[1], ETH[.10886703], ETHW[.10886703], USD[0.01]

08018361                           CUSDT[2], SHIB[627564.19605565], USD[0.00]

08018364                           CUSDT[1], DAI[5.4746491], USD[0.00], USDT[5.326599]                                                                                                                         Yes

08018365                           BTC[.0164835], USD[1.25]

08018369                           DOGE[393.25849629], SHIB[1509192.5604717], USD[0.00]                                                                                                                        Yes

08018370                           BTC[.00000003], ETH[.00000037], ETHW[.04013942], SHIB[3], SOL[.00000699], USD[334.98]                                                                                       Yes

08018371                           BRZ[2], CUSDT[0], KSHIB[0], SHIB[3008252.28142128], TRX[3], USD[0.00], USDT[0]                                                                                              Yes

08018372                           BRZ[1], CUSDT[1], ETH[.02502565], ETHW[.02471101], SOL[1.99550944], TRX[1], USD[0.00]                                                                                       Yes

08018375                           BAT[27.88324396], CUSDT[4], ETH[.04427269], ETHW[.04372549], SHIB[1779386.937617], TRX[2], USD[0.00]                                                                        Yes

08018377                           USD[2000.00]

08018381                           CUSDT[1], SHIB[1085069.44444444], USD[0.00]

08018383                           SHIB[764795.16265537], TRX[1], USD[0.00]                                                                                                                                    Yes

08018384                           SOL[.00000001]

08018388                           USD[0.00]                                                                                                                                                                   Yes

08018390                           CUSDT[3], SHIB[4033032.83750514], USD[0.01]                                                                                                                                 Yes

08018391                           CUSDT[1], DOGE[1], USD[0.00]

08018396                           USD[0.00]                                                                                                                                                                   Yes

08018399                           USD[54.29]                                                                                                                                                                  Yes

08018405                           BTC[.00344686], CUSDT[1], USD[0.00]                                                                                                                                         Yes

08018411                           BRZ[1], SHIB[687379.708551], USD[0.01]

08018414                           ETH[.00000214], ETHW[.00000214], TRX[1], USD[0.01], USDT[0]                                                                                                                 Yes

08018419                           USD[162.86]                                                                                                                                                                 Yes

08018423                           BTC[.00179612], CUSDT[2], DOGE[200.46811727], ETH[.02528848], ETHW[.02497384], SHIB[771677.23310646], TRX[1], USD[0.00]                                                     Yes

08018434                           DOGE[.12193094], USD[0.00]                                                                                                                                                  Yes

08018435                           USD[10.86]                                                                                                                                                                  Yes

08018436                           USD[20.00]

08018438                           CUSDT[1], GRT[21.19041546], USD[0.00]                                                                                                                                       Yes

08018455                           BTC[.00025083], CUSDT[1], ETH[.00256677], ETHW[.00253941], USD[0.04]                                                                                                        Yes

08018471                           DOGE[2], USD[0.71]                                                                                                                                                          Yes

08018476                           USD[0.04]                                                                                                                                                                   Yes

08018480                           BAT[26.49854017], BTC[.00149248], CUSDT[4], DOGE[755.45170564], ETH[.04511598], ETHW[.0445551], GRT[1.00091369], SHIB[1], TRX[1], USD[3.54]                                 Yes

08018492                           KSHIB[4113.73264056], TRX[1], USD[0.00]                                                                                                                                     Yes

08018501                           CUSDT[1], USD[0.01]                                                                                                                                                         Yes

08018503                           CUSDT[2], DOGE[2], ETH[.00000087], ETHW[.00000087], USD[0.50]                                                                                                               Yes

08018509                           CUSDT[1], SHIB[2027666.01482765], USD[54.00]                                                                                                                                Yes

08018510                           BTC[.00000001], SHIB[5075.08603523], USD[0.00]                                                                                                                              Yes

08018514                           DOGE[1], SHIB[62.75970997], TRX[1], USD[0.01]                                                                                                                               Yes

08018515                           CUSDT[1], SHIB[587978.99426246], USD[0.01]                                                                                                                                  Yes

08018520                           USD[21.51]                                                                                                                                                                  Yes

08018521                           DOGE[.0869586], SHIB[704.53267340], SOL[0], USD[0.00]

08018522                           SHIB[7997.82462186], USD[26.66]

08018533                           DOGE[1], SHIB[739378.37974362], USD[0.00]                                                                                                                                   Yes
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                                                                                                                                          Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08018537                           AAVE[.33], AVAX[10], BTC[.100995], ETH[1.74734046], ETHW[1.74734046], LINK[39.99], MATIC[699.65], SOL[50], USD[54.49]

08018543                           BAT[39], MATIC[130], SHIB[11598000], USD[1.02]

08018547                           USD[500.00]

08018553                           CUSDT[4], SHIB[5264965.43024775], SOL[.86705656], TRX[1], USD[0.00]                                                                                                                      Yes

08018554                           USD[0.01], USDT[0]                                                                                                                                                                       Yes

08018563                           LINK[106.85967869]                                                                                                                                                                       Yes

08018564                           BRZ[1], CUSDT[3], DOGE[1], NFT (328869160524809671/Cyber Frogs Ramen)[1], NFT (343160464615800387/StarAtlas Anniversary)[1], NFT (394961287346809494/StarAtlas Anniversary)[1], NFT      Yes
                                   (396191780937017242/StarAtlas Anniversary)[1], NFT (461982471053817069/Golden bone pass)[1], NFT (509541330332599766/StarAtlas Anniversary)[1], NFT (518545156566193594/Mech #272)[1],
                                   NFT (554979728766896837/StarAtlas Anniversary)[1], NFT (575531025186354581/StarAtlas Anniversary)[1], NFT (576261826232309856/Frog #561)[1], SHIB[6097404.04728005], SOL[0], SUSHI[0],
                                   TRX[1], USD[0.01]
08018565                           SHIB[8192719.11101744], TRX[1], USD[0.22]                                                                                                                                                Yes

08018570                           SOL[.04950816]

08018577                           SOL[.009138], USD[0.00]

08018585                           DOGE[1], MATIC[172.00205893], USD[0.04]                                                                                                                                                  Yes

08018586                           BAT[2.0287214], BRZ[5.04805951], BTC[0], CUSDT[9], DOGE[8.05650536], SHIB[13], SOL[0], TRX[3], USD[0.41], USDT[1.04930007]                                                               Yes

08018593                           BTC[0], USDT[1]

08018600                           CUSDT[1], USD[0.00]                                                                                                                                                                      Yes

08018602                           BTC[.00033807], CUSDT[1], SHIB[217534.80982277], USD[0.00]                                                                                                                               Yes

08018604                           TRX[86.5238868], USD[0.00]                                                                                                                                                               Yes

08018607                           SOL[0]

08018610                           BRZ[1], CUSDT[7], DOGE[1], MATIC[.00444284], USD[51.98], USDT[1.07321332]                                                                                                                Yes

08018618                           CUSDT[2], SHIB[618903.33499732], USD[16.30]                                                                                                                                              Yes

08018624                           LINK[.00006414], SHIB[2], USD[0.00]                                                                                                                                                      Yes

08018625                           SHIB[377249.01921117]                                                                                                                                                                    Yes

08018627                           USD[4964.80]

08018640                           CUSDT[2270.41186829], USD[450.01]

08018644                           BRZ[1], CUSDT[1], SOL[1.04298395], TRX[1], USD[6.26]                                                                                                                                     Yes

08018648                           BAT[56.04314582], BTC[.00216275], CUSDT[2], DOGE[61.91168186], ETH[.00908672], ETHW[.00897728], SHIB[421503.82604373], TRX[1], USD[0.00]                                                 Yes

08018654                           BTC[.0016], DOGE[92], ETH[.01], ETHW[.01], KSHIB[340], SHIB[300000], USD[194.19]

08018658                           BAT[1], BRZ[4], CUSDT[4], DOGE[8.00437563], ETH[0], ETHW[0.00108760], GRT[1], MATIC[552.49552951], SHIB[18], TRX[6], USD[0.00]                                                           Yes

08018665                           SHIB[7346753.3692356], TRX[1], USD[0.00]                                                                                                                                                 Yes

08018667                           MATIC[8.55516985], USD[0.00]                                                                                                                                                             Yes

08018673                           ETH[.00600883], ETHW[.00594043], USD[0.00]                                                                                                                                               Yes

08018689                           BTC[.00040835], CUSDT[2], DOGE[99.63970754], USD[0.00]                                                                                                                                   Yes

08018690                           SHIB[15032955.34904719]                                                                                                                                                                  Yes

08018695                           USD[50.01]

08018697                           CUSDT[2], USD[0.00]

08018737                           CUSDT[2], SHIB[377221.58589975], SOL[.12901707], USD[0.00]                                                                                                                               Yes

08018744                           AUD[20.11], BTC[.00073224], CUSDT[8], DOGE[73.21173206], ETH[.00218458], ETHW[.00218458], LTC[.12190226], PAXG[.01095791], SHIB[540501.85388994], SOL[.14847047], SUSHI[2.5687904],
                                   USD[0.00]
08018748                           SHIB[135851.10718652], USD[0.00]

08018751                           CUSDT[3], KSHIB[687.31135948], USD[0.00]

08018755                           DOGE[1], ETH[0], ETHW[0], SHIB[2], USD[14.74]                                                                                                                                            Yes

08018756                           USD[10.00]

08018757                           BTC[.00343765], CUSDT[1], DOGE[1098.13404034], TRX[1], USD[27.21]                                                                                                                        Yes

08018758                           CUSDT[3], USD[0.00]                                                                                                                                                                      Yes

08018761                           SHIB[171.87095744], SOL[.01249406], USD[0.00]                                                                                                                                            Yes

08018763                           BRZ[2], DOGE[3], TRX[3], USD[0.01]                                                                                                                                                       Yes

08018764                           CUSDT[1], DOGE[1], SHIB[1127903.80562037], USD[206.41]                                                                                                                                   Yes

08018784                           CUSDT[2], DOGE[1], SHIB[1], USD[0.01]                                                                                                                                                    Yes

08018786                           USD[5.00]

08018791                           USD[0.01]                                                                                                                                                                                Yes

08018793                           BRZ[1], BTC[.00175993], CUSDT[2], ETH[.06820098], ETHW[.06820098], LTC[.39237065], SOL[.80615303], TRX[1], USD[300.02]

08018799                           ETH[0], ETHW[.01874865], USD[164.87]

08018810                           USD[0.00]

08018813                           USD[0.01]                                                                                                                                                                                Yes

08018815                           USD[0.00]

08018827                           SHIB[1466706.77882076], USD[0.00]

08018837                           CUSDT[1], DOGE[1], NFT (449917825783549156/Shannon Sharpe's Playbook: Denver Broncos vs. Los Angeles Raiders - January 9, 1994 #84)[1], SOL[.46103844], USD[2.40]

08018839                           BRZ[119.7694781], CUSDT[2], DOGE[1], KSHIB[360.13104448], SHIB[981048.04528881], USD[0.00]                                                                                               Yes
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                                                                                                                                            Customer Claims                                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08018841                              CUSDT[1], SHIB[408099.23439606], USD[0.00]                                                                                                                                                  Yes

08018843                              CUSDT[1], SHIB[7439459.67047229], USD[0.00]                                                                                                                                                 Yes

08018855                              AVAX[.27763548], BCH[.06240784], BRZ[1], BTC[.01478845], CUSDT[1], DOGE[1985.24155476], ETH[.09865686], ETHW[.09762965], LINK[.61668792], LTC[.24396634], MATIC[11.57209226],               Yes
                                      SHIB[8120390.53209284], SOL[.71768056], USD[0.00], YFI[.00110208]
08018862                              BRZ[1], CUSDT[1], DOGE[259.54173633], SHIB[20006603.78715191], TRX[2], USD[2.59]                                                                                                            Yes

08018863                              USD[50.00]

08018867                              BRZ[1], CUSDT[2], DOGE[1], SHIB[17459773.59207211], SOL[.44190727], TRX[3088.3644071], USD[0.01], USDT[1.08474185]                                                                          Yes

08018893                              BTC[.00011461], ETH[.00065299], ETHW[.00065016], LTC[.02486019], PAXG[.00238498], SOL[.0432525], USD[0.50]                                                                                  Yes

08018915                              CUSDT[9], MATIC[27.3362404], USD[0.00]                                                                                                                                                      Yes

08018928                              BTC[.00000001], DOGE[0], KSHIB[0], SHIB[0], USD[0.00], USDT[0]                                                                                                                              Yes

08018932                              DOGE[399.75127985], ETH[.05634173], ETHW[.05564405], MKR[.03554122], SHIB[67712.07866288], USD[228.75]                                                                                      Yes

08018946                              CUSDT[3], SHIB[1], USD[0.00]                                                                                                                                                                Yes

08018948                              CUSDT[1], KSHIB[314.84678], USD[0.67]                                                                                                                                                       Yes

08018966                              USD[0.00], USDT[0]                                                                                                                                                                          Yes

08018975                              DOGE[1], USD[3.42]                                                                                                                                                                          Yes

08018983       Contingent, Disputed   AUD[0.00], BTC[0], CAD[0.00], CUSDT[0], DAI[0], ETH[0], GRT[0], KSHIB[0], SOL[0], TRX[0], USD[0.00], USDT[0.00949637]                                                                       Yes

08018993                              CUSDT[2], KSHIB[340.21668809], SHIB[369988.17400706], USD[0.00]                                                                                                                             Yes

08018997                              ETH[.02517265], ETHW[.02517265]

08019003                              CUSDT[1], SHIB[135556.45926528], USD[0.00]

08019013                              BTC[.00006075], ETH[.00477691], USD[0.00]

08019016                              CUSDT[2], DOGE[147.99282267], ETH[.00963777], ETHW[.00963777], SHIB[368867.57654002], TRX[99.41547676], USD[0.00]

08019017                              USD[520.05]                                                                                                                                                                                 Yes

08019019                              BTC[.00375007], CUSDT[58.9526759], ETH[.00021882], ETHW[.00021882], SOL[.12301875], TRX[12.62840547], USD[25.96]                                                                            Yes

08019022                              CUSDT[1], SUSHI[4.99921433], USD[0.00]                                                                                                                                                      Yes

08019033                              CUSDT[1], SOL[.21705857], USD[0.00]                                                                                                                                                         Yes

08019039                              CUSDT[4], DAI[5.39682814], GRT[10.93839138], KSHIB[67.91250804], MATIC[5.62637497], SHIB[69581.16386787], SOL[.05315093], USD[0.00], USDT[5.39756757]                                       Yes

08019041                              CUSDT[1], SHIB[67732.32186399], USD[0.00]

08019044                              BTC[.00080027], CUSDT[4], DOGE[129.88507775], ETH[.00583915], ETHW[.00583915], MATIC[13.01794158], SOL[.36167222], USD[0.00]

08019055                              BTC[.00000075], DAI[1.18721542], DOGE[2.66648054], MKR[.00050301], SHIB[.00002865], USD[1.09], USDT[0]                                                                                      Yes

08019067                              BRZ[1], CUSDT[1], DOGE[3], NFT (299391746512526605/#015)[1], NFT (302145319671825637/Hall of Fantasy League #152)[1], NFT (346934724277679915/Shannon Sharpe's Playbook: Baltimore          Yes
                                      Ravens vs. Oakland Raiders - January 14, 2001 #84)[1], NFT (437372394055151223/Shannon Sharpe's Playbook: Kansas City Chiefs vs Denver Broncos - October 4, 1992 #70)[1], NFT
                                      (446774493967323559/Shannon Sharpe's Playbook: Denver Broncos vs. Los Angeles Raiders - January 9, 1994 #54)[1], NFT (528839874150639544/Marcus Allen's Playbook: Los Angeles Raiders vs.
                                      Washington - January 22, 1984 #69)[1], NFT (549586170663757808/Shannon Sharpe's Playbook: Baltimore Ravens vs. Denver Broncos - December 31, 2000 #66)[1], TRX[1], USD[0.00]

08019071                              BTC[.0373831], DOGE[857.347], ETH[.098947], ETHW[.098947], LTC[3.21896], SOL[4.39811], USD[97.37]

08019079                              CUSDT[2462.89658505], USD[0.04]                                                                                                                                                             Yes

08019087                              BRZ[1], SHIB[790946.23082201], USD[0.01]                                                                                                                                                    Yes

08019093                              CUSDT[2], ETH[.01053727], ETHW[.01053727], KSHIB[68.02461947], USD[0.01]

08019107                              CUSDT[1], LINK[5.44982834], USD[0.00]                                                                                                                                                       Yes

08019115                              BTC[.00056241], CUSDT[1], MATIC[2.60864814], TRX[185.23750498], USD[0.00]

08019118                              USD[0.55]                                                                                                                                                                                   Yes

08019128                              BCH[0], BRZ[1], CUSDT[6], DOGE[1], ETH[0.00000013], ETHW[0.00000013], LINK[0], MATIC[0], MKR[0.00000007], TRX[2], USD[0.00]                                                                 Yes

08019144                              USD[0.00]

08019150                              BRZ[1], TRX[1], USD[0.01]                                                                                                                                                                   Yes

08019158                              CUSDT[3], KSHIB[146.08713944], LINK[1.09811839], SHIB[65355.89507072], SUSHI[1.11765923], USD[0.00]                                                                                         Yes

08019162                              BAT[17.25096548], BRZ[154.13471384], CUSDT[483.82147085], DAI[11.21377342], DOGE[8.17145819], ETH[.02520458], ETHW[.02488994], NEAR[.50714579], PAXG[.00620866],                            Yes
                                      SHIB[460349.20962639], TRX[22.57551034], USD[0.00]
08019168                              CUSDT[3], DOGE[1], SHIB[1], TRX[.92492705], USD[0.00], USDT[0.00002583]

08019170                              USD[0.01]                                                                                                                                                                                   Yes

08019174                              CUSDT[6], DOGE[791.54920073], ETH[.01688221], ETHW[.01688221], KSHIB[667.39314635], LINK[2.52197741], MATIC[26.09545687], SHIB[1], SOL[.20716604], TRX[499.21480156], USD[0.00]

08019181                              CUSDT[247.31154964], KSHIB[155.7250848], SHIB[81381.64480945], USD[1.08]                                                                                                                    Yes

08019187                              BRZ[1], SHIB[7168250.44774245], USD[0.01]                                                                                                                                                   Yes

08019190                              SHIB[27044.33441674], USD[0.00]                                                                                                                                                             Yes

08019194                              DOGE[1], NFT (540982505394994513/Entrance Voucher #799)[1], TRX[1], USD[0.00]                                                                                                               Yes

08019210                              BRZ[1], CUSDT[1], SHIB[203697.8574831], SOL[0], USD[0.00]

08019215                              SHIB[99900], USD[1.91]

08019217                              SHIB[89400000], USD[0.65]

08019220                              CUSDT[2], SHIB[16301785.64316292], USD[0.00]                                                                                                                                                Yes

08019224                              DOGE[1964.88736518], USD[0.05]                                                                                                                                                              Yes

08019226                              BTC[.00031619], CUSDT[4], KSHIB[263.51407671], SHIB[674931.08292668], USD[0.00]                                                                                                             Yes

08019232                              CUSDT[1], SHIB[811923.89945901], USD[0.00]                                                                                                                                                  Yes

08019239                              BTC[.0004098], ETHW[.00458039], SHIB[589257.08364709], USD[13.93]
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                                                                                                                                         Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08019240                           ETH[.00000161], SHIB[2], USD[752.98]                                                                                                                                                 Yes

08019241                           BAT[30.99564439], CUSDT[4], GRT[23.55427796], TRX[296.59128885], UNI[1.15799529], USD[0.00]                                                                                          Yes

08019261                           DOGE[1], USD[0.00]                                                                                                                                                                   Yes

08019269                           DOGE[1], SHIB[1823183.03617224], USD[0.00]                                                                                                                                           Yes

08019286                           BRZ[1], CUSDT[4], DOGE[196.91638178], MATIC[79.86568281], NFT (373966319134601356/Warriors Gold Blooded NFT #504)[1], SHIB[781878.39789213], TRX[501.7273598], USD[0.00]             Yes

08019290                           BAT[89.49111998], BCH[.00047203], BTC[.00004952], CUSDT[13], DOGE[.05913698], ETH[.00018853], ETHW[.00018853], KSHIB[132.42417954], LINK[.05924484], SHIB[287218.68956773],          Yes
                                   SOL[.03910803], TRX[76.99881982], USD[3.06], USDT[.00681207]
08019294                           CUSDT[4], MATIC[23.49412609], SHIB[1], SOL[1.02748971], USD[0.02]                                                                                                                    Yes

08019299                           CUSDT[1], DOGE[1], SHIB[1297774.355252], USD[0.01]

08019300                           BAT[1], DOGE[1], SHIB[4], USD[1627.52]                                                                                                                                               Yes

08019320                           ETH[.00273979], ETHW[0.00273979]

08019324                           USD[20.00]

08019326                           CUSDT[1], SOL[.35575897], USD[0.00]

08019333                           DOGE[1], ETH[.00124267], ETHW[.00122899], LINK[.17336093], MATIC[2.83953348], PAXG[.00302742], TRX[1], USD[10.86]                                                                    Yes

08019334                           USD[21.51]                                                                                                                                                                           Yes

08019343                           DOGE[1], SHIB[2994830.36403806], USD[0.00]                                                                                                                                           Yes

08019345                           SHIB[7419992.46786724], TRX[1], USD[0.00]                                                                                                                                            Yes

08019347                           CUSDT[1], SHIB[1345170.83669626], USD[0.00]

08019352                           BRZ[1], DOGE[1], TRX[2], USD[0.01]

08019356                           BF_POINT[100], BRZ[1], CUSDT[1], NFT (398801223975942264/Earl Campbell's Playbook: Rice vs. Texas - October 1st, 1977 #62)[1], SHIB[3332261.97350641], USD[0.00]                     Yes

08019359                           ETH[.00000001], ETHW[2.55922739]                                                                                                                                                     Yes

08019362                           CUSDT[1], ETH[.01528183], ETHW[.01509031], TRX[1], USD[0.17]                                                                                                                         Yes

08019367                           CUSDT[1], DOGE[214.97093255], KSHIB[155.01724954], SHIB[169355.66454007], USD[38.02]                                                                                                 Yes

08019371                           AAVE[.05386519], AVAX[.2234727], BAT[1], BRZ[64.23698417], BTC[.01646542], CUSDT[36], DOGE[1923.0826169], ETH[.28744696], ETHW[.28725305], GRT[54.63540715], KSHIB[1562.30743061],   Yes
                                   LINK[20.49867338], SHIB[26185863.39134497], SOL[.23795934], SUSHI[8.04478921], TRX[1078.56550457], USD[891.56], USDT[0.00001492], YFI[.00051746]
08019372                           CUSDT[1], DOGE[77.49313314], ETH[.00320396], ETHW[0.00316292], MATIC[5.57222669], NFT (469330669374540097/G5 Martian)[1], USD[0.51]                                                  Yes

08019384                           BTC[.00016547]

08019389                           CUSDT[9], DOGE[2], GRT[.00004625], SOL[.39445165], TRX[2.41777592], USD[0.00], USDT[0.00009092]                                                                                      Yes

08019392                           BTC[0.00003701], USD[0.07]                                                                                                                                                           Yes

08019396                           BAT[5.52682569], USD[5.43]                                                                                                                                                           Yes

08019397                           BTC[.00015806], KSHIB[69.93], SHIB[299700], USD[10.00]

08019406                           CUSDT[2], TRX[2], USD[0.00]

08019421                           USD[43.43]                                                                                                                                                                           Yes

08019424                           USD[105.00]

08019425                           BTC[0.00050346], CUSDT[1], ETH[.00642619], ETHW[.00634411], MATIC[1.25778325], NFT (419694354779284346/First 50 #4)[1], NFT (487588002978373921/Hot kicks )[1], NFT                  Yes
                                   (491304566898901101/Gone Fishin’)[1], TRX[1], USD[0.00]
08019429                           USD[54.30]                                                                                                                                                                           Yes

08019438                           ETH[.00468361], ETHW[.00468361], TRX[1], USD[0.00]

08019445                           CUSDT[1], SHIB[666400.10662401], USD[0.00]

08019455                           BTC[0], ETH[.00001947], ETHW[.00001947], MKR[0], SHIB[1], USD[0.00]                                                                                                                  Yes

08019463                           BTC[.00501711], CUSDT[2], DOGE[.55838019], TRX[1], USD[0.00]

08019469                           CUSDT[1], DOGE[35.80159044], SHIB[330731.57825109], TRX[1], USD[15.00]

08019471                           CUSDT[3], MATIC[10.4937976], SHIB[416890.90000709], USD[0.00]

08019476                           SHIB[2597922.66266986], USD[0.00]

08019479                           DOGE[59.997], ETH[.00039388], ETHW[.00039388], SHIB[600000], USD[0.12]

08019483                           SOL[.02447496], USD[0.00]

08019487                           CUSDT[3], SHIB[323229.64923891], USD[0.00]

08019493                           CUSDT[494.61389098], DOGE[1], KSHIB[471.50430868], SHIB[790551.27931499], USD[0.00]                                                                                                  Yes

08019502                           USD[54.29]                                                                                                                                                                           Yes

08019510                           CUSDT[1], TRX[1], USD[0.23]

08019519                           BRZ[2], BTC[.01417943], CUSDT[25], DOGE[913.79219612], ETH[.08190863], ETHW[.08090004], SHIB[7139643.62049845], TRX[5], USD[0.52]                                                    Yes

08019530                           DOGE[1], KSHIB[1497.73752404], USD[0.00]                                                                                                                                             Yes

08019531                           CUSDT[2], KSHIB[104.0478931], SHIB[720442.50164483], USD[0.00]

08019532                           CUSDT[2], SHIB[3541053.79948352], USD[0.00]

08019536                           AUD[84.52], CUSDT[1050.19331602], DOGE[669.68561107], GRT[10.37561687], KSHIB[1454.16069832], LINK[.58550222], MATIC[25.66538394], SHIB[540810.17824134], SOL[.0240315],             Yes
                                   TRX[109.75296427], USD[0.01], USDT[0.00000001]
08019539                           TRX[94.56212542], USD[0.00]                                                                                                                                                          Yes

08019540                           BCH[.02507045], BRZ[2], BTC[.00475416], CUSDT[1], ETH[.1358046], ETHW[.13474096], GRT[1.00168178], LTC[.13922578], SOL[1.12659841], TRX[1], UNI[.43175513], USD[0.01]                Yes

08019551                           CUSDT[3], USD[0.38]                                                                                                                                                                  Yes

08019554                           BTC[.28721151], DOGE[1], ETH[.85675071], ETHW[.85675071], TRX[3], USD[0.00]

08019558                           AVAX[1.23465907], BTC[.01792382], CUSDT[1], DOGE[1], MATIC[256.65186249], SHIB[2], USD[0.07]                                                                                         Yes
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08019561                              SHIB[1326787.84662332], TRX[1], USD[0.00]

08019562                              CUSDT[2], KSHIB[1387.40801404], USD[0.00]                                                                                                                                            Yes

08019570                              CUSDT[1], DOGE[39.62875452], KSHIB[136.6065352], SHIB[893058.82335768], SOL[.11303672], USD[0.00]                                                                                    Yes

08019571                              CUSDT[1], SHIB[2.65033861], USD[0.00]                                                                                                                                                Yes

08019572                              BRZ[1], BTC[.00187456], USD[0.00]

08019577                              DOGE[1], SHIB[333244.46814182], USD[0.00]

08019580                              CUSDT[3], SHIB[3605342.43037837], USD[0.00]                                                                                                                                          Yes

08019583                              CUSDT[6], DOGE[274.01757665], ETH[.02336655], ETHW[.02336655], KSHIB[469.20160654], SHIB[2332820.53400954], TRX[441.17637691], USD[0.00], USDT[99.36881327]

08019591                              CUSDT[3], USD[0.00], USDT[162.6387464]                                                                                                                                               Yes

08019595                              BRZ[1], CUSDT[2], DOGE[456.37826967], SHIB[4199125.93361857], USD[0.01]

08019605                              CUSDT[1], LINK[3.59875734], USD[0.00]                                                                                                                                                Yes

08019606                              DOGE[1], LINK[3.46550821], USD[0.01]                                                                                                                                                 Yes

08019609                              CUSDT[2466.11359653], DOGE[551.28931832], KSHIB[2029.60586068], SHIB[7111207.72614063], TRX[1090.09409885], USD[110.35]                                                              Yes

08019613                              TRX[1], USD[0.00]                                                                                                                                                                    Yes

08019615                              CUSDT[2], DOGE[1], MATIC[25.82412747], SHIB[7853233.46701918], TRX[1], USD[0.12]                                                                                                     Yes

08019616                              CUSDT[4], DOGE[3], NFT (549372892542856452/Inu #2)[1], SHIB[31139934.40677805], TRX[1], USD[0.00]                                                                                    Yes

08019617                              CUSDT[1], ETH[.02537201], ETHW[.02505737], USD[108.52]                                                                                                                               Yes

08019620                              BRZ[60.04531979], CUSDT[3], KSHIB[647.19231191], SHIB[423981.33023894], TRX[1], USD[0.00]                                                                                            Yes

08019627                              BRZ[2], CUSDT[3], DOGE[1], MATIC[28.99854146], SOL[5.71713909], TRX[1], USD[159.97]                                                                                                  Yes

08019628                              BRZ[141.54026827], CUSDT[2], DOGE[1], KSHIB[2982.81333885], SHIB[1334352.88932086], TRX[2], USD[0.01]

08019629                              USD[13.01]                                                                                                                                                                           Yes

08019633                              CUSDT[4], SHIB[27.68040904], USD[0.01]                                                                                                                                               Yes

08019638                              CUSDT[3], DOGE[1], SHIB[4616835.30030615], USD[0.00]                                                                                                                                 Yes

08019641                              DOGE[68.931], SHIB[499500], USD[0.48]

08019649                              CUSDT[7], DOGE[396.82111549], KSHIB[354.33143964], LINK[.68872317], LTC[.10953547], SHIB[768831.15497515], SOL[.06984216], SUSHI[1.7310279], USD[0.00]                               Yes

08019652                              USD[324.66]                                                                                                                                                                          Yes

08019655                              BTC[.01506105], DOGE[3], ETH[.0551106], ETHW[.0544261], GRT[1], SHIB[7], TRX[3], USD[0.00]                                                                                           Yes

08019660                              DOGE[2], GRT[1], SHIB[10079142.08293591], SOL[8.8079397], TRX[1], USD[0.00]                                                                                                          Yes

08019670                              DOGE[1822.993694], USD[0.00]

08019671                              CUSDT[2], TRX[427.94412515], USD[176.52]                                                                                                                                             Yes

08019673                              BRZ[1], CUSDT[2], KSHIB[420.36341257], SHIB[4074967.069045], USD[0.00]                                                                                                               Yes

08019676       Contingent, Disputed   NFT (292881387734809267/Series 1: Capitals #600)[1]

08019680                              CUSDT[1], DOGE[79.49799136], USD[5.43]                                                                                                                                               Yes

08019693                              SHIB[7226393.09037696], USD[0.15]                                                                                                                                                    Yes

08019697                              SOL[0.00001037], TRX[0]                                                                                                                                                              Yes

08019698                              BAT[.00002273], BTC[.00003091], CUSDT[1], DOGE[.00087915], SHIB[67980.9653297], SOL[.03612285], USD[0.74]

08019701                              AAVE[0], BF_POINT[200], MATIC[0], SOL[0], UNI[0], USD[0.00], USDT[0]                                                                                                                 Yes

08019702                              BTC[.00530594], DOGE[1], SHIB[1], USD[0.00]                                                                                                                                          Yes

08019705                              USD[0.00]

08019706                              CUSDT[1], SOL[.44875332], USD[0.00]                                                                                                                                                  Yes

08019712                              CUSDT[1], KSHIB[956.71903714], USD[0.00]                                                                                                                                             Yes

08019715                              CUSDT[2], KSHIB[345.32467512], SHIB[343878.95460797], USD[0.01]

08019719                              KSHIB[69.03601968], SHIB[149895.52643776], USD[0.00]                                                                                                                                 Yes

08019726                              DOGE[0.03809183], GRT[6.91732384], KSHIB[0], MATIC[0.00001735], SUSHI[0], TRX[0], UNI[0], USD[0.00]                                                                                  Yes

08019728                              CUSDT[1], SHIB[1323276.43244673], USD[0.00]

08019732                              BAT[0], BRZ[1], BTC[0], CUSDT[1], DOGE[9.00921072], GRT[0], KSHIB[0], LINK[1.02701594], SHIB[322458.2867208], SUSHI[1.03217231], TRX[7], USD[54.86], USDT[1.02543197]                Yes

08019733                              BTC[.00000001], CUSDT[4], DOGE[3], TRX[1], USD[0.00]                                                                                                                                 Yes

08019734                              BRZ[26.87250903], DOGE[98.82073987], GRT[9.74024064], KSHIB[646.23356042], LTC[.24776692], MATIC[7.35556193], NFT (539043166059608533/Playoffs )[1], SHIB[3], SUSHI[5.3111222],      Yes
                                      TRX[78.6610271], USD[0.30], USDT[10.49358856]
08019738                              ETH[0], SOL[0], USD[0.00], USDT[3.07814573]                                                                                                                                          Yes

08019753                              USD[75.36]                                                                                                                                                                           Yes

08019754                              BRZ[1], BTC[.01759908], CUSDT[7], NFT (547866864094343018/Entrance Voucher #4385)[1], NFT (565901253754720714/7085)[1], SHIB[3026.14645995], SOL[2.33461899], TRX[1], USD[9769.17]   Yes

08019755                              SHIB[55702593.90810492], TRX[1], USD[0.02]

08019764                              CUSDT[6], DOGE[1.02629705], SHIB[0], USD[0.00]                                                                                                                                       Yes

08019766                              USD[35.11]                                                                                                                                                                           Yes

08019773                              BTC[.00016413], USD[0.00]

08019779                              BTC[.00182447], DOGE[1], USD[0.00]                                                                                                                                                   Yes

08019785                              BRZ[616.33401807], BTC[.01378586], CUSDT[6], NFT (376650640221148443/digital machine #8)[1], NFT (521995065727304273/Big Hurt Coin (BHC))[1], NFT (546921708526838604/Cicada and     Yes
                                      flower)[1], NFT (569738082943927760/Famous person)[1], PAXG[.0897732], TRX[1040.39469806], USD[9.74], USDT[1.08506888]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08019786                           SHIB[5058612.51342304], TRX[1], USD[0.00]                                                                                                                                         Yes

08019790                           DOGE[1], SHIB[12588183.25299531], TRX[2], USD[0.00]                                                                                                                               Yes

08019793                           DOGE[1], MATIC[.00171606], TRX[2], USD[0.21]                                                                                                                                      Yes

08019804                           BTC[.00069076], TRX[1], USD[0.00]                                                                                                                                                 Yes

08019805                           DOGE[1], SHIB[2607425.94910304], USD[375.00]

08019806                           CUSDT[13], DOGE[4.01306233], SHIB[7481403.66012913], TRX[2], USD[0.00]                                                                                                            Yes

08019808                           CUSDT[3], DOGE[150.42690624], SHIB[434499.97693021], TRX[216.11380461], USD[0.00], USDT[21.39318254]                                                                              Yes

08019813                           BTC[.05245392], CUSDT[1], KSHIB[1743.61590590], TRX[2066.06569072], USD[0.00]                                                                                                     Yes

08019821                           BTC[.0195852], DOGE[1], USDT[0.00417349]                                                                                                                                          Yes

08019826                           DOGE[1], KSHIB[191.80154508], SHIB[192207.50065262], USD[0.00]

08019830                           KSHIB[132.96719486], USD[0.00]                                                                                                                                                    Yes

08019833                           BRZ[0], USD[0.01]

08019839                           CUSDT[1], USD[0.00]                                                                                                                                                               Yes

08019841                           ETH[.01630306], ETHW[.01609786], TRX[1], USD[0.00]                                                                                                                                Yes

08019845                           BRZ[1], BTC[.00662484], CUSDT[361.24936142], DOGE[352.08581634], ETH[.06174548], ETHW[.0609794], GRT[264.48024423], LTC[.24956686], MATIC[138.4757683], SHIB[1819323.78645561],   Yes
                                   SOL[1.51476147], TRX[114.27985369], UNI[.45866802], USD[0.00]
08019846                           USD[108.50]                                                                                                                                                                       Yes

08019849                           SHIB[4.06578433], USD[0.01]                                                                                                                                                       Yes

08019854                           BRZ[1], CUSDT[1], DOGE[1], GRT[.00381449], MATIC[113.44129389], TRX[2], USD[0.00]                                                                                                 Yes

08019855                           CUSDT[1], USD[0.00]                                                                                                                                                               Yes

08019856                           AAVE[0.14898930], BCH[0], CUSDT[9], DOGE[1], SHIB[3], SOL[.00000169], TRX[1], USD[0.00], YFI[0.00000001]                                                                          Yes

08019860                           SHIB[1663339.98669328], TRX[1], USD[5.00]

08019862                           KSHIB[509.2214111], SHIB[651563.53680357], USD[0.00], USDT[0]

08019866                           BRZ[305.16725528], CUSDT[6], KSHIB[339.84258763], PAXG[.01502546], SHIB[369383.94729791], SOL[.13258532], UNI[1.08852183], USD[244.28]                                            Yes

08019869                           BTC[.00103892], SHIB[1], USD[0.00], USDT[0]                                                                                                                                       Yes

08019872                           SHIB[19181.08219178], SOL[5.26142639], TRX[4447.86478479], USD[0.00]                                                                                                              Yes

08019874                           DOGE[1], LINK[20.49347623], USD[0.00]                                                                                                                                             Yes

08019876                           BAT[5.42591517], CUSDT[494.60937403], DOGE[91.63028986], KSHIB[132.84217154], SHIB[1002533.33396759], TRX[1], USD[0.04]                                                           Yes

08019881                           CUSDT[3], MATIC[51.15206209], SHIB[2615376.65334206], TRX[996.35537322], USD[0.00]

08019893                           CUSDT[1], SHIB[278125.43457099], USD[0.00]

08019903                           DOGE[1], GRT[.0031814], SUSHI[.00029899], TRX[3], USD[0.00]                                                                                                                       Yes

08019905                           BRZ[1], CUSDT[6], NFT (295507108587616388/ApexDucks Halloween #1999)[1], TRX[1], USD[188.92]

08019907                           NFT (330344352065317818/Barcelona Ticket Stub #323)[1], NFT (480922740183574975/Imola Ticket Stub #1532)[1]                                                                       Yes

08019908                           GRT[295.69218526], TRX[1], USD[0.00]                                                                                                                                              Yes

08019910                           SHIB[4072213.92697163], TRX[1], USD[0.00]

08019918                           CUSDT[1], TRX[1], USD[27.44]                                                                                                                                                      Yes

08019930                           DOGE[1], SHIB[11177990.10976701], USD[0.00]                                                                                                                                       Yes

08019932                           USD[108.57]                                                                                                                                                                       Yes

08019937                           BRZ[1], CUSDT[3923.41668344], DAI[.59793068], KSHIB[410.71835255], SHIB[10496629.03359783], TRX[1], USD[105.07], USDT[1.68107666]                                                 Yes

08019941                           USD[0.01]                                                                                                                                                                         Yes

08019952                           BTC[.01079193], CUSDT[1], DOGE[1], TRX[1], USD[0.59]                                                                                                                              Yes

08019954                           SHIB[1], USD[27.51]

08019956                           DOGE[1], SHIB[2], TRX[.00134373], USD[0.00], USDT[0]                                                                                                                              Yes

08019957                           BAT[1.01627709], BRZ[683.89247079], SHIB[2], USD[0.00]                                                                                                                            Yes

08019969                           BRZ[1], BTC[.00517879], CUSDT[2], ETH[.04647986], ETHW[.0459053], LTC[.4115504], SOL[.45030836], TRX[1], USD[216.20]                                                              Yes

08019980                           CUSDT[1], SHIB[740885.28585955], USD[0.00]                                                                                                                                        Yes

08019985                           KSHIB[133.3166954], USD[0.00]                                                                                                                                                     Yes

08019988                           BCH[.00000526], BRZ[2], CUSDT[20], DOGE[192.63266274], GRT[.00004267], KSHIB[3505.38660715], LTC[.00000851], SHIB[15], SOL[8.12593034], TRX[10], USD[1.14]                        Yes

08019989                           SHIB[69204152.24913494], TRX[1], USD[0.00]

08019991                           SHIB[1594461.41121172], USD[0.00]

08019992                           CUSDT[1], USD[5.97]                                                                                                                                                               Yes

08019993                           USD[39.77]

08019995                           CUSDT[494.60937403], KSHIB[204.15810166], SHIB[731803.19008837], USD[0.00]                                                                                                        Yes

08020012                           BTC[.00890791], CUSDT[2], SOL[1.50842769], USD[161.79]                                                                                                                            Yes

08020015                           CUSDT[4], DOGE[378.42175735], LINK[1.0076359], MATIC[2.14107374], SHIB[6961542.32276735], TRX[3], USD[14.00]

08020018                           BTC[.00091272], CUSDT[5], DOGE[236.7661957], ETH[.02030929], ETHW[.02006033], USD[64.00]                                                                                          Yes

08020019                           USD[50.01]

08020021                           CUSDT[1], DOGE[1779.07971622], USD[0.00]

08020023                           BTC[.07684139], ETH[.66991742], ETHW[.66991742], USD[0.00]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08020026                              SHIB[3715083.51433696], TRX[1], USD[69.90]                                                                                                              Yes

08020028                              CUSDT[1], SHIB[2182214.64893735], USD[0.00]                                                                                                             Yes

08020031                              CUSDT[1], SHIB[1082252.66371782], USD[0.00]                                                                                                             Yes

08020035                              USD[500.01]

08020036                              BTC[.00505204], DOGE[2], SHIB[3], USD[0.07], USDT[0.00003117]                                                                                           Yes

08020041                              CUSDT[1], KSHIB[6798.25366459], SHIB[.00000004], USD[0.00]                                                                                              Yes

08020043                              CUSDT[2], DOGE[182.50918815], TRX[497.70270385], USD[0.00]

08020044                              CUSDT[1], SHIB[300561.95124819], USD[0.00]                                                                                                              Yes

08020045                              CUSDT[2], USD[0.00]

08020062                              CUSDT[2], USD[0.01]                                                                                                                                     Yes

08020066                              USD[0.00]

08020074                              CUSDT[1], DOGE[18.26851657], GRT[5.07288667], KSHIB[67.35290294], LINK[.15365883], SHIB[340817.72693939], SOL[.02441968], USD[7.01], USDT[2.98381842]

08020075                              USD[3.81]

08020078                              DOGE[1494.64416477], USD[160.00]

08020088                              CUSDT[2], TRX[1], USD[26.51]                                                                                                                            Yes

08020090                              CUSDT[1], SHIB[367732.45420905], USD[0.00]                                                                                                              Yes

08020092                              BAT[9.94804731], DOGE[151.32794168], KSHIB[185.15583455], SHIB[532500.79598546], TRX[188.12941612], USD[0.26]

08020095                              SHIB[481858.29761691]

08020100                              BAT[1.00440234], CUSDT[6], DOGE[1], ETHW[.28905092], TRX[1], USD[52.30]

08020105                              CUSDT[1], SHIB[619588.22546133], USD[0.01]                                                                                                              Yes

08020107                              BRZ[28.67237304], BTC[.00063869], CUSDT[1130.26582853], DAI[5.16789646], SHIB[1682619.72501614], TRX[107.49858656], USD[0.00]                           Yes

08020109                              CUSDT[2], KSHIB[449.03971733], SHIB[741391.21681152], USD[32.39]                                                                                        Yes

08020112                              SHIB[200000], USD[0.56]

08020114                              USD[0.00]                                                                                                                                               Yes

08020116                              CUSDT[1], SHIB[1385233.41182989], USD[0.00]

08020117                              BTC[.00016472], CUSDT[1], DOGE[39.90595628], ETH[.00223845], ETHW[.00221109], SOL[.05313331], USD[0.00]                                                 Yes

08020127                              CUSDT[1], DOGE[1], SHIB[4.15781567], SOL[.08656087], TRX[1], USD[0.00]                                                                                  Yes

08020132                              SOL[.00000001]                                                                                                                                          Yes

08020140                              CUSDT[1], KSHIB[339.07362373], SHIB[368932.07078259], TRX[1], USD[0.01]                                                                                 Yes

08020143                              BRZ[1], CUSDT[4], DOGE[5], KSHIB[5735.57950457], SHIB[120941801.91660719], TRX[3], USD[-100.00]                                                         Yes

08020151                              SHIB[135961.93065941], USD[10.00]

08020152                              CUSDT[13], SHIB[5295131.25374441], SUSHI[106.753625], TRX[1], USD[0.00]                                                                                 Yes

08020157                              BCH[.18211179], CUSDT[1], USD[10.83]                                                                                                                    Yes

08020163                              CUSDT[1], KSHIB[183.70515957]                                                                                                                           Yes

08020168                              USD[0.00]                                                                                                                                               Yes

08020176                              CUSDT[2], KSHIB[1354.71525578], SHIB[1381215.46961325], USD[0.00]

08020182                              SHIB[7100000], USD[2.38]

08020190                              BTC[.00102618], CUSDT[6], TRX[1], USD[0.00]                                                                                                             Yes

08020197                              BRZ[1], BTC[.00000107], CUSDT[1], ETH[.00000003], ETHW[.00375077], GRT[1], SHIB[2], SOL[.00004185], TRX[.00612565], USD[0.00]                           Yes

08020215                              BTC[.00082368], CUSDT[1], DOGE[1], SOL[.24494975], USD[0.00]

08020217                              USD[10.00]

08020218                              USD[21.62]                                                                                                                                              Yes

08020219                              CUSDT[2], DOGE[394.57067768], SHIB[2953463.81365159], USD[0.01]                                                                                         Yes

08020225                              USD[20.00]

08020226                              DOGE[1], SHIB[1478743.25510509], USD[0.00]                                                                                                              Yes

08020232                              USD[542.85]                                                                                                                                             Yes

08020237                              BAT[32.80251443]                                                                                                                                        Yes

08020239                              BRZ[6.3322439], CUSDT[5], DOGE[9.02587581], GRT[2], SHIB[16], TRX[13.05687264], USD[0.00], USDT[1.056234]                                               Yes

08020241                              KSHIB[24488.74413676], SHIB[154669349.42621180], USD[0.01], USDT[0]                                                                                     Yes

08020244       Contingent, Disputed   USD[0.00]

08020248                              BF_POINT[200], BTC[0.01610632], DOGE[.61738258], SOL[0], USD[0.00], USDT[0]                                                                             Yes

08020249                              USD[260.59]                                                                                                                                             Yes

08020253                              USD[10.00]

08020255                              BAT[.00078961], CUSDT[11], DOGE[1.00925796], KSHIB[.00296199], LTC[.00004758], MATIC[.00308687], SHIB[90333.9145941], TRX[2], USD[0.00]                 Yes

08020259                              USD[0.00]                                                                                                                                               Yes

08020275                              BRZ[1], BTC[.00297199], CUSDT[494.33185918], DOGE[94.20873008], ETH[.06017678], ETHW[.05942899], SHIB[2666383.4173411], TRX[1], USD[0.05]               Yes

08020281                              KSHIB[714.75755638], TRX[1], USD[0.01]                                                                                                                  Yes

08020283                              CUSDT[1], SOL[2.0893831], TRX[1], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08020290                           BTC[.00347983], CUSDT[2], TRX[1], USD[0.00]

08020291                           USD[8.68]                                                                                                                                                                                 Yes

08020293                           SOL[.02287577], TRX[28.77784143], USD[0.03], USDT[2.15409895]                                                                                                                             Yes

08020295                           CUSDT[1], DOGE[13.94990974], SHIB[.62876015], USD[10.48]                                                                                                                                  Yes

08020299                           ETH[0], SOL[0], USD[0.00]

08020300                           CUSDT[1], DOGE[1], KSHIB[3020.42213044], TRX[1], USD[0.00]                                                                                                                                Yes

08020302                           NFT (564736257315172403/Coachella x FTX Weekend 1 #6379)[1]

08020303                           USD[0.00]

08020305                           SOL[0], USD[0.00], USDT[0.00015848]

08020308                           USD[100.00]

08020309                           BTC[.0000003], CUSDT[3], DOGE[.03760595], TRX[1], USD[0.00]                                                                                                                               Yes

08020317                           CUSDT[1], DOGE[37.29013714], SHIB[475788.88180093], USD[0.00]                                                                                                                             Yes

08020321                           DOGE[7.59498101], SHIB[107584.08347881], USD[0.00]                                                                                                                                        Yes

08020344                           NFT (289139933486147472/FTX Crypto Cup 2022 Key #2406)[1], NFT (364707465296405445/Barcelona Ticket Stub #1715)[1], NFT (509541415211769992/Saudi Arabia Ticket Stub #6)[1], NFT          Yes
                                   (561518439274029759/The Hill by FTX #1739)[1]
08020345                           CUSDT[1], KSHIB[13.91991483], NFT (468929914410616682/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #95)[1], SOL[.40407245], USD[19.01]

08020346                           CUSDT[.02087723], DOGE[733.33930239], SHIB[50728439.18613922], TRX[6347.26436558], USD[0.02]                                                                                              Yes

08020351                           NFT (476906257596865170/Coachella x FTX Weekend 1 #20500)[1]

08020352                           USD[0.01]

08020361                           BTC[.00091371], TRX[1], USD[0.00]                                                                                                                                                         Yes

08020365                           SHIB[.00003306], USD[0.22]                                                                                                                                                                Yes

08020380                           CUSDT[1], SHIB[551329.75058564], USD[0.00]

08020383                           CUSDT[2], DOGE[1], SOL[0], USD[0.00]

08020384                           BTC[0], ETH[.00000001], LINK[.00000001], TRX[.788485], USDT[.00000001]

08020387                           BTC[.00083544], CUSDT[2], DOGE[196.67653178], SHIB[1500019.91300666], TRX[1], USD[0.10], USDT[53.95155551]                                                                                Yes

08020391                           SHIB[99900], SOL[1.70229354], USD[0.04]

08020405                           NFT (300104985560103676/Coachella x FTX Weekend 2 #13003)[1], NFT (307739720278410923/Voxel Dog)[1], NFT (322923295847130084/Voxel Bat)[1], NFT (482481259395958380/Hall of Fantasy       Yes
                                   League #224)[1], NFT (572409860550843421/Voxel Animals #13)[1], USD[166.83]
08020413                           USD[0.01]                                                                                                                                                                                 Yes

08020430                           SHIB[137532.6640077], USD[0.00]

08020432                           BRZ[4], BTC[.00000035], CUSDT[1], DOGE[6], ETH[.00000961], ETHW[0.00000961], MATIC[.00311247], SHIB[30], TRX[6], USD[0.00]                                                                Yes

08020434                           BAT[10.92609046], BTC[.0000823], CUSDT[246.21899499], DOGE[39.60334466], SHIB[149236.192151], SUSHI[1.00437232], USD[0.00]                                                                Yes

08020436                           SHIB[18681300], SOL[.54975], TRX[4000.28909954], USD[304.36]

08020443                           BTC[.00016462], KSHIB[139.07190365], USD[0.00]                                                                                                                                            Yes

08020453                           CUSDT[3], MATIC[0], TRX[0], USD[0.00]                                                                                                                                                     Yes

08020456                           SHIB[1], TRX[3], USD[0.00]

08020459                           CUSDT[1], GRT[1], KSHIB[4159.87336236], SUSHI[15.90329464], USD[0.00]

08020462                           BTC[.00211289], CUSDT[3], KSHIB[137.7259463], SHIB[745406.46016311], TRX[1], USD[0.00]                                                                                                    Yes

08020467                           CUSDT[5], DOGE[1], ETHW[2.34203561], KSHIB[3.87742727], SHIB[1], TRX[4], USD[0.00]                                                                                                        Yes

08020469                           CUSDT[1], KSHIB[69.14219701], USD[0.00]

08020485                           USD[0.01]

08020504                           BTC[.00000196], DOGE[1], ETHW[.11224864], SHIB[3108798.73826392], TRX[10], USD[39.42]                                                                                                     Yes

08020510                           CUSDT[1], DOGE[2], USD[2.77]

08020513                           BF_POINT[100]                                                                                                                                                                             Yes

08020515                           CUSDT[3], USD[0.00]                                                                                                                                                                       Yes

08020517                           CUSDT[4], DOGE[749.77292625], KSHIB[.19531301], SHIB[7.71774858], USD[0.00]                                                                                                               Yes

08020520                           AVAX[5.0376747], BAT[1169.4860643], BRZ[3457.82223225], BTC[.01241341], CUSDT[37522.49826948], DOGE[11582.1355288], ETH[.6964415], ETHW[.69614894], GRT[2038.90632732],                   Yes
                                   LTC[3.29037461], SHIB[52844806.7593094], SUSHI[164.10586567], TRX[14693.13583393], USD[0.63]
08020523                           BTC[.02492024], USD[0.00]

08020527                           CUSDT[1], SHIB[1287396.65477443], USD[54.12]                                                                                                                                              Yes

08020532                           CUSDT[6], DOGE[2], NFT (425856637986536575/Joe Theismann's Playbook: Washington vs. Miami Dolphins - January 30, 1983 #61)[1], NFT (502118425443430133/Hall of Fantasy League #221)[1],   Yes
                                   SHIB[8611067.32554256], USD[0.10]
08020533                           BRZ[30.51672605], CUSDT[247.30468659], KSHIB[163.12388769], SHIB[176476.84698736], TRX[108.53102515], USD[0.00]                                                                           Yes

08020534                           SHIB[2600000], USD[6.28]

08020537                           BRZ[1], BTC[.00355445], CUSDT[21], DOGE[2], ETH[.12658715], ETHW[.12546262], LINK[1.48149474], MATIC[20.58638523], SHIB[2], SOL[3.69531739], TRX[2], USD[0.00]                            Yes

08020541                           BTC[.00142748], CUSDT[490.23682287], DOGE[2], ETH[.02329186], ETHW[.02300458], SHIB[3746045.63956653], TRX[106.05737793], USD[86.34]                                                      Yes

08020543                           BAT[1.0092803], BRZ[1], BTC[.24524331], CUSDT[20], DOGE[13.32394153], ETH[4.44569129], ETHW[1.72099178], GRT[3.01957311], LINK[1.07746029], SHIB[11], SOL[59.37676098], TRX[10],          Yes
                                   USD[30993.55], USDT[1.06373546]
08020563                           NFT (511301006635480173/Humpty Dumpty #533)[1]                                                                                                                                            Yes

08020567                           CUSDT[2], SHIB[300646.69872211], SOL[.20778795], USD[0.00]                                                                                                                                Yes

08020579                           CUSDT[1], SHIB[281769.51253874], USD[0.00]

08020580                           USD[5.14]                                                                                                                                                                                 Yes
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                                                                                                                                         Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08020582                           BF_POINT[100], CUSDT[1], SHIB[153547.2186595], USD[0.00]                                                                                                                            Yes

08020598                           BTC[.00140462], CUSDT[1], DOGE[1985.16436182], TRX[1], USD[0.00]                                                                                                                    Yes

08020600                           DOGE[2], TRX[2], USD[0.03]

08020605                           USD[0.00]

08020614                           CUSDT[1], SHIB[1500198.00732094], USD[0.00]                                                                                                                                         Yes

08020615                           DOGE[1], NFT (330078086639471672/3D CATPUNK #6694)[1], SHIB[8606825.47744121], SOL[.02193384], TRX[1], USD[0.00]                                                                    Yes

08020621                           SHIB[875691.78062237], TRX[0], USD[0.00]                                                                                                                                            Yes

08020623                           BTC[0], USD[0.33]

08020624                           ETH[0], USD[0.00], USDT[0]

08020626                           CUSDT[1], GRT[28.41021384], USD[108.57]                                                                                                                                             Yes

08020629                           ETH[.00002308], ETHW[.00002308], USD[0.00]                                                                                                                                          Yes

08020630                           USD[27.14]                                                                                                                                                                          Yes

08020632                           USD[0.00]

08020633                           USD[464.29], USDT[500]

08020636                           CUSDT[1], DOGE[1], SHIB[4141534.07813554], USD[0.01]

08020638                           CAD[0.00], CHF[0.00], DAI[0], ETH[0], EUR[56.95], GBP[0.00], HKD[0.00], MXN[0.00], SUSHI[0], USD[0.00], USDT[0]                                                                     Yes

08020643                           BAT[1], BTC[.00112003], DOGE[1], SOL[1.00087777], USD[0.00]

08020646                           BRZ[1], BTC[.00720347], CUSDT[6], ETH[.09197026], ETHW[.09091972], SHIB[1], SOL[5.48674337], TRX[3], USD[0.00]                                                                      Yes

08020652                           CUSDT[1], DOGE[1], SHIB[8284346.3898551], USD[43.40]                                                                                                                                Yes

08020655                           CUSDT[1], SHIB[203998.36801305], USD[5.00]

08020657                           USD[0.00]

08020660                           USD[0.01]

08020661                           CUSDT[1], DOGE[1], SHIB[7220073.33700578], USD[0.00]                                                                                                                                Yes

08020666                           SHIB[15628475.63029166], TRX[2], USD[0.02]

08020682                           BCH[2.727472], GRT[1022.976], LINK[37.3626], SOL[2.42757], SUSHI[329.1705], USD[3.40]

08020683                           CUSDT[2], DOGE[534.17207568], SHIB[3079583.69416694], USD[0.00]                                                                                                                     Yes

08020693                           BTC[.00301558], CUSDT[11], DOGE[322.83488125], GRT[58.04107635], MATIC[92.49918987], NFT (393739419834112434/MagicEden Vaults)[1], NFT (401490977307507481/MagicEden Vaults)[1],    Yes
                                   NFT (431007643331662456/Golden bone pass)[1], NFT (440393452406889372/MagicEden Vaults)[1], NFT (452126626624634801/MagicEden Vaults)[1], NFT (452704879663469054/Frog #1159)[1],
                                   NFT (469523716282729097/MagicEden Vaults)[1], NFT (481321171209342772/Sigma Shark #1697)[1], NFT (499892024220476072/Cyber Frogs Ramen)[1], SHIB[5511438.08859497], TRX[2],
                                   USD[6.23]
08020706                           CUSDT[1], SHIB[3743701.61432855], USD[0.00]                                                                                                                                         Yes

08020709                           AAVE[.13627001], ALGO[95.19287903], AVAX[.73970295], BAT[236.65008079], BCH[.04368311], BTC[.00136417], CUSDT[10], DAI[11.86857093], DOGE[3.00264841], ETH[.01000137],              Yes
                                   ETHW[.00987825], GRT[15.46311892], LINK[1.50370051], LTC[1.00350119], MATIC[46.43734889], NEAR[13.12941439], PAXG[.01740149], SHIB[13], SOL[1.07913535], SUSHI[6.1577014],
                                   TRX[1260.40837528], UNI[3.4348157], USD[0.00], USDT[11.86738499], YFI[.00268942]
08020713                           BRZ[2], CUSDT[5], SHIB[11462550.17704311], TRX[13.50966528], USD[0.00], USDT[0]                                                                                                     Yes

08020720                           BTC[.00000001], CUSDT[1489.67565519], DOGE[167.0221042], ETH[.07326674], ETHW[.07235716], SHIB[4292010.84302247], SOL[0.00000199], USD[0.00]                                        Yes

08020722                           CUSDT[1], DOGE[1], USD[0.00]

08020732                           CUSDT[11], SHIB[1], TRX[2], USD[0.00]                                                                                                                                               Yes

08020733                           BRZ[1], BTC[.01035222], CUSDT[7], DOGE[3540.52920902], GRT[1], LINK[3.70535046], LTC[.46913857], SHIB[2291536.6105818], TRX[2], USD[361.98]                                         Yes

08020747                           BTC[0], ETH[0], ETHW[0], SHIB[1], USD[38.63]

08020748                           CUSDT[2], DOGE[1], SOL[1.32966484], USD[0.00]                                                                                                                                       Yes

08020750                           DOGE[5810], USD[12.47]

08020754                           BRZ[1], CUSDT[2], SHIB[1], USD[0.01]                                                                                                                                                Yes

08020756                           CUSDT[9], SHIB[2952935.63653799], USD[0.01], USDT[2.15292461]                                                                                                                       Yes

08020760                           SHIB[70728.45214379], TRX[54.23174552], USD[3.26]                                                                                                                                   Yes

08020761                           BTC[.00000001], CUSDT[1], TRX[1], USD[10.86]                                                                                                                                        Yes

08020771                           BRZ[1], CUSDT[6], DOGE[8.19924919], SHIB[3], TRX[5.15276824], USD[0.00]                                                                                                             Yes

08020773                           KSHIB[9834.62875063], SHIB[1], USD[0.00]                                                                                                                                            Yes

08020785                           CUSDT[484.21844059], DOGE[428.8195221], NFT (574668352049040959/Anti Artist #261)[1], SHIB[3364424.23276738], SOL[3.71865118], TRX[1], USD[4.25]                                    Yes

08020786                           BRZ[2], CUSDT[4.03690723], TRX[2], USD[0.00]                                                                                                                                        Yes

08020789                           USD[0.01]                                                                                                                                                                           Yes

08020798                           CUSDT[1], USD[0.00]                                                                                                                                                                 Yes

08020800                           CUSDT[4], DOGE[1], KSHIB[.00002741], SHIB[51441.42066022], TRX[.00001783], USD[101.88]

08020801                           BRZ[2], CUSDT[8], DOGE[2], SHIB[28344086.22386290], SOL[0], USD[0.00], USDT[1.08317784]                                                                                             Yes

08020809                           CUSDT[1], SHIB[4803996.92544196], USD[0.00]

08020815                           CUSDT[2], DOGE[2], USD[0.00]

08020821                           CUSDT[13.16634974], KSHIB[531.87397159], SHIB[5284763.05914059], USD[0.00]                                                                                                          Yes

08020828                           BTC[.00183259], DOGE[1], KSHIB[331.38502855], USD[0.19]                                                                                                                             Yes

08020831                           BTC[.00037136], ETH[.00284107], ETHW[.00284107], USD[0.00]

08020834                           CUSDT[2], DOGE[121.93335211], SHIB[351637.66425936], USD[0.00]                                                                                                                      Yes

08020837                           CUSDT[2], KSHIB[341.15552925], SHIB[294505.16693257], USD[0.01]                                                                                                                     Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08020840                              BRZ[1], BTC[0], CUSDT[3], GRT[1], SHIB[224.1429243], TRX[1], USD[0.00]                                                                                                                  Yes

08020841                              USD[54.28]                                                                                                                                                                              Yes

08020843                              BRZ[4], BTC[.00000001], CUSDT[24], MATIC[.0001229], SHIB[806065.21621282], TRX[6], USD[0.00]                                                                                            Yes

08020845                              KSHIB[3210], USD[0.18]

08020854                              BRZ[8], CUSDT[21], DOGE[1], ETH[.00005936], ETHW[3.9348669], GRT[2], SHIB[10643589.02937988], TRX[470.27093326], USD[20546.15], USDT[1]

08020863                              CUSDT[1], DOGE[3], MATIC[0], SHIB[2051494.04051100], SOL[0], TRX[0], USD[0.00]

08020867                              AUD[0.27], BTC[0], EUR[0.09], GBP[0.26], KSHIB[0], MKR[0], SOL[0], USD[28.36]                                                                                                           Yes

08020873                              CUSDT[1], SHIB[1471129.12982045], USD[0.00]                                                                                                                                             Yes

08020883                              BAT[37.81528124], CUSDT[3], DOGE[2], USD[0.00]                                                                                                                                          Yes

08020889                              DOGE[1], MATIC[301.09066531], USD[0.97]                                                                                                                                                 Yes

08020891                              USD[10.00]

08020897                              CUSDT[1], SHIB[243272.14631971], USD[0.00]                                                                                                                                              Yes

08020902                              USD[0.36]                                                                                                                                                                               Yes

08020906                              CUSDT[2], SHIB[12.66753064], USD[0.01]                                                                                                                                                  Yes

08020907                              DOGE[138.84157927], SHIB[16200100.48323753], USD[31.20]                                                                                                                                 Yes

08020919                              BTC[.00007287], CUSDT[1], SHIB[4850827.00044843], USD[0.13]                                                                                                                             Yes

08020932                              BTC[.01235039], ETH[.10984712], ETHW[.10984712], GRT[1], SHIB[1], USD[0.01]

08020938                              BTC[.00125734], CUSDT[3], DOGE[1], KSHIB[419.96173308], TRX[1], USD[0.21]                                                                                                               Yes

08020941                              AAVE[.00421576], BTC[.00000828], DAI[3.22171553], DOGE[34.35417944], ETH[.00022844], ETHW[.00022844], GRT[2.01523902], KSHIB[9.15733473], MATIC[2.19919898], USD[0.00]                  Yes

08020951                              BTC[.00261752], CUSDT[2], ETH[.05978214], ETHW[.05904152], SHIB[1861626.14121371], TRX[1], USD[0.51]                                                                                    Yes

08020952                              CUSDT[2], MKR[.00678783], SHIB[441826.21502209], USD[0.01]

08020965                              USD[0.83]                                                                                                                                                                               Yes

08020969                              BF_POINT[200], USD[27.14]                                                                                                                                                               Yes

08020987                              SHIB[1466756.6845423], TRX[1], USD[0.00]                                                                                                                                                Yes

08020992                              USD[1.63], USDT[0]

08020994                              CUSDT[6], DOGE[1.6383286], KSHIB[.00016396], LINK[6.04934624], SHIB[2248112.80212944], TRX[1245.0789721], USD[0.00]                                                                     Yes

08020996                              BRZ[1], CUSDT[4], NFT (428975389135265111/SBF Hair & Signature #7 #16)[1], NFT (461589292948298900/Holy Unicorn Edition #17)[1], NFT (484288003292174825/ Alien Octopus)[1], SHIB[1],   Yes
                                      USD[72.71]
08021003                              CUSDT[2], DOGE[.19375373], GRT[.56733872], SHIB[1], TRX[1], USD[51.32]

08021004                              BRZ[1], CUSDT[14], DOGE[2], TRX[2], USD[3.52]                                                                                                                                           Yes

08021005                              BRZ[1], CUSDT[2], DOGE[1], MATIC[92.26058829], USD[0.00]

08021008                              BRZ[1], CUSDT[1], DOGE[4], SHIB[157.68759685], TRX[2], USD[0.00]                                                                                                                        Yes

08021016                              BRZ[1], BTC[.00374164], CUSDT[1], USD[0.00]                                                                                                                                             Yes

08021017                              KSHIB[1358.34351638], TRX[1], USD[0.01]                                                                                                                                                 Yes

08021022                              CUSDT[4], DOGE[.56496407], ETH[.06225458], ETHW[.06148171], GRT[.31958536], SHIB[6163.05084292], TRX[1], USD[0.00], USDT[1.07727857]                                                    Yes

08021030                              KSHIB[135.7132], USD[0.00]                                                                                                                                                              Yes

08021035                              CUSDT[4], DOGE[81.91306579], KSHIB[2823.4879746], SHIB[1712878.40995837], SUSHI[8.09584295], USD[193.84]                                                                                Yes

08021039                              BTC[.02845188], DOGE[2], USD[0.00]                                                                                                                                                      Yes

08021040                              USD[21.51]                                                                                                                                                                              Yes

08021055                              BAT[157.01386947], BRZ[3], CUSDT[11], DOGE[752.09476549], GRT[119.46622943], KSHIB[3297.24160199], SHIB[8595213.74217975], SUSHI[15.77547499], TRX[843.90217514], UNI[6.68475047],      Yes
                                      USD[2.23]
08021061                              CUSDT[1], ETH[.00381], ETHW[.00376896], SHIB[72175.13029079], USD[0.00]                                                                                                                 Yes

08021063       Contingent, Disputed   BAT[1.01562751], BRZ[1], CUSDT[2], DOGE[1], SOL[4.78596808], TRX[2], USD[0.00]                                                                                                          Yes

08021066                              USD[0.00]                                                                                                                                                                               Yes

08021067                              BTC[.00089365], CUSDT[2], USD[0.00]                                                                                                                                                     Yes

08021068                              CUSDT[5], DOGE[1], TRX[1], USD[0.00]                                                                                                                                                    Yes

08021071                              SHIB[150517.59087491], USD[0.00]                                                                                                                                                        Yes

08021074                              BTC[.00025859], CUSDT[2], LINK[.00000287], USD[0.00]                                                                                                                                    Yes

08021075                              BTC[.00039958], CUSDT[6], DOGE[4.00720278], ETH[.00368694], ETHW[.0036459], LTC[.04066566], SHIB[747479.55085789], SOL[.1321346], SUSHI[.99591371], TRX[1], USD[16.61]                  Yes

08021079                              USD[92.52]

08021081                              SHIB[136556.05626109], USD[0.00]

08021089                              BTC[.00043085], CUSDT[6], DAI[19.88613774], DOGE[116.73905558], ETH[.00514112], ETHW[.00514112], MATIC[9.28246369], SOL[.58062311], USD[0.00]

08021094                              BTC[.00294184], CUSDT[2], SHIB[341678.4846586], USD[0.00]                                                                                                                               Yes

08021110                              KSHIB[79.92], SHIB[99900], USD[0.08]

08021112                              BCH[.04606433], CUSDT[1], USD[0.06]                                                                                                                                                     Yes

08021113                              USD[0.00]                                                                                                                                                                               Yes

08021119                              SHIB[2840391.78458449], USD[0.00]                                                                                                                                                       Yes

08021124                              MATIC[.00041796], SHIB[3], USD[0.00]                                                                                                                                                    Yes

08021126                              BAT[1], BRZ[3], CUSDT[4], DOGE[4], GRT[1], SUSHI[1.00000913], TRX[4], USD[0.00], USDT[4.00018596]

08021129                              CUSDT[3], TRX[1], USD[0.01]                                                                                                                                                             Yes
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08021136                              LINK[26.18266966], USD[0.00], USDT[1.07763281]                                                                                                                                        Yes

08021142                              USD[0.01]                                                                                                                                                                             Yes

08021144                              BAT[7.14369473], BTC[.00030477], CUSDT[3], DOGE[104.1533377], GRT[9.5256241], LTC[1.16173764], TRX[328.56067107], USD[0.07], USDT[11.85515093]                                        Yes

08021151                              ETH[.00047342], ETHW[.00047342], NFT (364667352369785519/Got Gas?)[1], NFT (547975894084752711/Send It! )[1], SHIB[28105.31513251], SOL[.01215704], TRX[80.26170425], USD[10.78],     Yes
                                      USDT[3.77303991]
08021154                              BRZ[2], CUSDT[1], ETH[.00000001], ETHW[0.24562082], SHIB[3], TRX[1], USD[0.00], USDT[0]

08021155                              BTC[.00027535], CUSDT[1], ETH[.00000001], ETHW[.00000001], USD[0.00]                                                                                                                  Yes

08021168                              ETH[.02395119], ETHW[.02395119], USD[0.00]

08021170                              CUSDT[1], MATIC[12.42822146], SHIB[422502.03169725], TRX[189.70113875], USD[0.18]                                                                                                     Yes

08021175                              DOGE[1], SHIB[6900358.81865857], USD[0.00]

08021176                              BTC[.0016]

08021177                              CUSDT[1], DOGE[1], ETH[.00472211], ETHW[.00472211], SHIB[415627.59767248], USD[50.00]

08021183                              USD[0.00]                                                                                                                                                                             Yes

08021192                              ETH[.67007614], ETHW[.67007614], SHIB[1], TRX[1], USD[0.02]

08021193                              KSHIB[69.40420928], SHIB[1313326.97298517], TRX[1], USD[0.00]

08021194                              CUSDT[1], SHIB[339618.62199898], USD[92.30]                                                                                                                                           Yes

08021195                              AVAX[0], BF_POINT[300], ETH[0], NFT (327572754383901837/SolFractal #9500)[1], NFT (406675942843750631/SolFractal #2567)[1], NFT (408614027302603641/SOLYETIS #694)[1], NFT            Yes
                                      (420685771962439879/ALPHA:RONIN #243)[1], NFT (554737108007710776/SOLYETIS #5138)[1], SHIB[0], SOL[0.52887835], USD[0.00], USDT[0]
08021201                              CUSDT[12], SHIB[3], TRX[1], USD[0.01]                                                                                                                                                 Yes

08021207                              USD[108.57]                                                                                                                                                                           Yes

08021210                              CUSDT[1], SOL[0]                                                                                                                                                                      Yes

08021213                              CUSDT[1], DOGE[1], LINK[1.53178095], SHIB[1], SOL[2.07189777], TRX[2], USD[131.25]

08021214                              CUSDT[1], DOGE[1], ETH[.01697739], ETHW[.01677189], TRX[1], USD[0.45]                                                                                                                 Yes

08021216                              CUSDT[1], SHIB[1503716.59692745], USD[0.00]                                                                                                                                           Yes

08021221                              SHIB[6425.56486676], USD[0.00]                                                                                                                                                        Yes

08021226                              CUSDT[1], USD[0.00]                                                                                                                                                                   Yes

08021227                              SHIB[13992.14026758], USD[0.00]                                                                                                                                                       Yes

08021239                              AAVE[0], BAT[0], BCH[0], BTC[0], CUSDT[3], ETH[0], GRT[0.00000914], KSHIB[0], LINK[0], LTC[0], MATIC[0], SHIB[0], SOL[0], SUSHI[0], TRX[0.01067685], USD[0.54], USDT[0.00000001]      Yes

08021247                              CUSDT[3], SOL[.06233566], USD[0.86]                                                                                                                                                   Yes

08021250                              CUSDT[1], DOGE[1], SHIB[2260931.84298421], USD[0.00]                                                                                                                                  Yes

08021252                              BRZ[1], DOGE[1], LTC[.00002268], SOL[.00018261], USD[0.00]                                                                                                                            Yes

08021253                              BAT[.00000112], CUSDT[8.63495936], DOGE[.06629322], SHIB[153.75632012], TRX[2], USD[0.00]                                                                                             Yes

08021256       Contingent, Disputed   USD[0.09], USDT[.00010447]                                                                                                                                                            Yes

08021261                              TRX[.800002], USD[0.00]

08021263                              ETH[0.13207047], ETHW[0.13207047], KSHIB[0], SHIB[0], SOL[5.28427117], USD[0.00]

08021266                              BTC[.00000032], MATIC[90.56344338], TRX[1], USD[0.00]                                                                                                                                 Yes

08021274                              CUSDT[1], KSHIB[1387.20786269], USD[0.00]                                                                                                                                             Yes

08021275                              BF_POINT[100], BTC[0], DOGE[85.22288835], ETHW[.00247036], MATIC[21.29180478], NFT (541013869379085052/Fused SolSoul-04016)[1], SHIB[4], SOL[.00000001], USD[0.00]                    Yes

08021276                              BAT[1], BRZ[1], DOGE[1], SHIB[4], TRX[1], USD[0.00]

08021284                              LTC[.00555811], SOL[.1251725], USD[0.00]

08021293                              BTC[0], DOGE[.055], USDT[0]

08021294                              DOGE[1], SHIB[27200195.35645577], USD[0.12]

08021295                              AAVE[0], BTC[0], SOL[0], SUSHI[0], UNI[0], USD[0.00]                                                                                                                                  Yes

08021298                              AUD[1.32], CAD[0.00], DOGE[1], EUR[0.86], GBP[0.72], NFT (490377650120063027/Red Skull Set #1 - Exclusive Edition )[1], SHIB[2112357.95067855], SOL[1.88123292], TRX[392.72399146],   Yes
                                      USD[107.14]
08021303                              USD[1.00]

08021305                              CUSDT[1], USD[0.01]                                                                                                                                                                   Yes

08021312                              ALGO[157.67368253], AVAX[1.02631121], BTC[.00000089], CUSDT[2], DOGE[1], ETHW[.00017999], SHIB[285.58595305], USD[0.00], USDT[0.15666166]                                             Yes

08021315                              CUSDT[1], SHIB[7509222.45802693], USD[0.00]                                                                                                                                           Yes

08021323                              NFT (411910614982118394/FTX - Off The Grid Miami #6866)[1]

08021329                              SHIB[21424893.15280615], USD[0.00]

08021332                              DOGE[55.48875497], TRX[565.27049595]

08021356                              BRZ[1], USD[0.00]

08021360                              CUSDT[1], LINK[.3168215], USD[0.00]                                                                                                                                                   Yes

08021369                              USD[2.00]

08021372                              USD[0.01]                                                                                                                                                                             Yes

08021386                              AVAX[.32851339], BAT[18.19917918], BTC[.00033943], CUSDT[495.85733733], DOGE[67.23797888], ETH[.00451957], ETHW[.00451957], LINK[1.04464213], MATIC[19.03869032], MKR[.0051685],
                                      SHIB[486550.08530651], SOL[.27873465], TRX[165.2204644], USD[0.02]
08021392                              CUSDT[3], USD[0.00]                                                                                                                                                                   Yes

08021396                              CUSDT[3], TRX[0.00002150], USD[0.01]

08021400                              CUSDT[2], TRX[.2461706], USD[54.37]                                                                                                                                                   Yes
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08021407                           CUSDT[2], DOGE[1], TRX[2], USD[0.00]

08021408                           USD[0.00]                                                                                                                                                               Yes

08021409                           CUSDT[1], SHIB[16.94805901], USD[0.01]                                                                                                                                  Yes

08021410                           SHIB[305197.67734811], TRX[1], USD[0.00]                                                                                                                                Yes

08021412                           DOGE[35.35075996], SHIB[176772.14071062], USD[0.00]

08021413                           ETH[.39118025], ETHW[.39101603], SOL[9.42132112], TRX[2], USD[2716.27]                                                                                                  Yes

08021417                           USD[0.00], USDT[0.00000001]                                                                                                                                             Yes

08021420                           USD[0.00]

08021422                           USD[0.01]                                                                                                                                                               Yes

08021426                           CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                            Yes

08021432                           NFT (478974361598662619/Marcus Allen's Playbook: Los Angeles Raiders vs. Washington - January 22, 1984 #68)[1], USD[25.00]

08021435                           BAT[1], DOGE[1], SHIB[1], USD[0.00], USDT[0]

08021437                           CUSDT[3], LINK[.69129234], MKR[.00696711], TRX[202.36609576], USD[0.00]                                                                                                 Yes

08021438                           NFT (552837340899621032/DOGO-IN-500 #4122)[1]

08021447                           CUSDT[1], DOGE[1], SHIB[1], USD[0.00]                                                                                                                                   Yes

08021448                           USD[542.85]                                                                                                                                                             Yes

08021453                           USD[0.01]                                                                                                                                                               Yes

08021457                           BTC[.03246957], CUSDT[2], DOGE[1], ETH[.45636985], ETHW[.45636985], TRX[2], USD[0.00]

08021458                           GRT[1.01692456], SHIB[68296.68078131], USD[0.00]

08021461                           CUSDT[2], MATIC[28.55219681], UNI[2.17921283], USD[0.00]                                                                                                                Yes

08021464                           BCH[0], USD[0.01]                                                                                                                                                       Yes

08021472                           USD[1.00]

08021473                           DOGE[3.75569602], ETH[.00021021], ETHW[.00021021], KSHIB[20.31447209], LTC[.00377097], SHIB[19865.02098156], SOL[.00416278], USD[0.00]                                  Yes

08021481                           CUSDT[2], USD[0.01]

08021482                           CUSDT[2], DOGE[1], LINK[.00002502], TRX[1], USD[0.00]

08021486                           DOGE[1], USD[0.17]                                                                                                                                                      Yes

08021488                           BAT[27.82986925], BTC[.00693508], CUSDT[14], DOGE[2], ETH[.08876228], ETHW[.0877267], MATIC[21.34574115], NFT (324435304403892717/LightPunk #1030)[1], NFT              Yes
                                   (379947597497045588/DOTB #8226)[1], SHIB[1], SOL[.78307756], TRX[1], USD[0.01]
08021489                           TRX[1], USD[0.00]                                                                                                                                                       Yes

08021493                           DOGE[1], SHIB[7468859.85247248], USD[0.00]                                                                                                                              Yes

08021496                           BF_POINT[100]

08021498                           CUSDT[2], KSHIB[552.24949859], SOL[.24374245], USD[110.00]

08021500                           CUSDT[1], DOGE[1], SOL[.27332831], USD[0.00]                                                                                                                            Yes

08021509                           BTC[.0007443], CUSDT[17], DOGE[4.0060319], SOL[.00000106], SUSHI[.00002633], TRX[1], USD[0.00], USDT[0.00061332], YFI[0]                                                Yes

08021510                           CUSDT[1], SHIB[342371.95288961], USD[0.00]

08021513                           BTC[.00327749], CUSDT[2], SHIB[2832459.99150262], USD[0.00]

08021529                           BTC[.00354188], CUSDT[1], DOGE[1], TRX[1], USD[0.64]                                                                                                                    Yes

08021532                           BRZ[1], CUSDT[1], LTC[3.00000539], TRX[1], USD[41.29]

08021535                           BAT[0], CUSDT[12], DOGE[4], KSHIB[0], LINK[0], LTC[0], MATIC[0], SHIB[0], SUSHI[0], TRX[0], USD[0.00]                                                                   Yes

08021538                           BTC[.00001598], USD[0.00]                                                                                                                                               Yes

08021540                           USD[226.16]

08021543                           USD[0.67]

08021546                           BRZ[1], BTC[.00000001], CUSDT[11], DOGE[1], ETH[.00000022], ETHW[.00000022], SOL[.0000166], TRX[1], USD[0.00]                                                           Yes

08021549                           SOL[.00000001]

08021550                           SOL[.28189408], USD[0.00]                                                                                                                                               Yes

08021555                           DOGE[1], SHIB[1895375.28430629], USD[0.00]

08021568                           CUSDT[1], DOGE[48.42524993], SUSHI[.44251641], TRX[1], USD[2.77]                                                                                                        Yes

08021570                           DOGE[1], SHIB[649.46550231], USD[0.96]                                                                                                                                  Yes

08021575                           NFT (305459337204616461/The 2974 Collection #1874)[1], NFT (549589870085806988/FTX - Off The Grid Miami #497)[1], SOL[.2]

08021577                           CUSDT[1], KSHIB[283.50577572], USD[0.00]                                                                                                                                Yes

08021591                           USD[500.01]

08021593                           BTC[0.00112603], CUSDT[1], MATIC[38.84510728], SHIB[2985788.41574819], USD[0.00]

08021596                           CUSDT[2], DOGE[249.59813307], USD[0.00]                                                                                                                                 Yes

08021597                           CUSDT[1], SOL[0]                                                                                                                                                        Yes

08021601                           BRZ[1], BTC[.00435743], CUSDT[554.25501438], DAI[21.73184667], DOGE[3], ETH[.11325053], ETHW[.11213502], KSHIB[515.95043226], SHIB[4248109.77543054], SOL[.23628734],   Yes
                                   TRX[114.76903668], UNI[2.88205411], USD[0.00], YFI[.00226368]
08021605                           BAT[2.04797926], BRZ[6.47746057], BTC[0.09645728], CUSDT[42], DOGE[9.32270491], ETH[0], GRT[1], SHIB[1], SOL[0], TRX[21.54857687], USD[0.15], USDT[0.00005151]          Yes

08021606                           USD[0.00]                                                                                                                                                               Yes

08021611                           BTC[0], ETH[.00000001], SOL[0], USD[3.42], USDT[0.00000001]

08021614                           BRZ[1], BTC[.0003451], CUSDT[4], ETH[.0027739], ETHW[.00273441], KSHIB[708.10476891], SHIB[1536692.80701376], SOL[.05830492], USD[7.60]                                 Yes
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                                                                                                                                           Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or       Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08021616      Contingent, Disputed   USD[2.00]

08021619                             BRZ[1], CUSDT[1], DOGE[2], SHIB[36139159.36546813], TRX[3], USD[0.00]                                                                                                               Yes

08021626                             BTC[.00000001], CUSDT[2], DOGE[1], NFT (309220311105675596/ApexDucks Halloween #2388)[1], NFT (364052967901906059/Marcus Allen's Playbook: USC vs. Washington - November 14, 1981   Yes
                                     #89)[1], NFT (419500813078791421/Fancy Frenchies #5546)[1], NFT (427739759845079867/Fancy Frenchies #5819)[1], NFT (487069595303273025/Fancy Frenchies #833)[1], NFT
                                     (487783299324312145/Fancy Frenchies #9616)[1], NFT (490598582658591357/Fancy Frenchies #4408)[1], SHIB[387804.22863285], SOL[.22574372], USD[0.01]
08021631                             USD[0.00]

08021642                             CUSDT[1], DOGE[1], ETH[.13687514], ETHW[.13687514], USD[0.01]

08021645                             BTC[0], ETH[0.00000114], ETHW[0.00000114], USD[0.00]                                                                                                                                Yes

08021649                             BTC[.00011793], DOGE[200], SHIB[1000000], SOL[1], SUSHI[10], TRX[300], USD[0.00]

08021655                             AVAX[0], BRZ[2], BTC[0], DOGE[0], ETH[0], NEAR[60.16283392], SHIB[2], SOL[0], SUSHI[0], TRX[3], USD[0.00], USDT[0]                                                                  Yes

08021656                             USD[10.86]                                                                                                                                                                          Yes

08021664                             USD[0.00]                                                                                                                                                                           Yes

08021669                             NFT (290587525433575229/GSW Western Conference Semifinals Commemorative Ticket #920)[1], NFT (297130411970594643/GSW 75 Anniversary Diamond #591)[1], NFT
                                     (357910565783691298/GSW Western Conference Finals Commemorative Banner #1819)[1], NFT (452439041010141260/GSW Western Conference Finals Commemorative Banner #1820)[1], NFT
                                     (562648385278668457/GSW Championship Commemorative Ring)[1], SOL[.005], USD[0.00]
08021670                             SHIB[3500000]

08021674                             USD[21.71]                                                                                                                                                                          Yes

08021682                             BRZ[1], CUSDT[1], LINK[46.8203012], SHIB[7487067.90791601], USD[11.60], USDT[1.07476284]                                                                                            Yes

08021684                             CUSDT[1], SHIB[2759762.6604112], USD[0.01]

08021685                             SHIB[4095900], USD[0.41]

08021695                             SHIB[99900], USD[0.18]

08021702                             BF_POINT[300], DOGE[1], MATIC[524.62668511], USD[0.00]                                                                                                                              Yes

08021703                             TRX[1]

08021704                             NFT (394968437436226259/Microphone #222)[1]

08021721                             SOL[0], USD[0.00]

08021723                             ETH[.00049899], ETHW[0.00049899], SOL[.00314232], USD[2.04]

08021730                             SHIB[4395600], USD[6.20]

08021735                             BTC[.03061164], ETH[.53238147], ETHW[.53215791], SOL[16.3955399]                                                                                                                    Yes

08021738                             BTC[.11439189], DOGE[7589.50903293]

08021739                             ALGO[.0009094], DOGE[4], MATIC[.00030751], SHIB[2929117.72561677], SOL[.00019482], TRX[1], USD[3489.76], USDT[1.02341124]                                                           Yes

08021749                             CUSDT[1], SHIB[1540997.81441962], USD[0.00]                                                                                                                                         Yes

08021758                             CUSDT[1], USD[0.00]                                                                                                                                                                 Yes

08021760                             USD[108.57]                                                                                                                                                                         Yes

08021762        Contingent,          AUD[1.99], BCH[0], BRZ[10.28330702], BTC[0.00062864], CAD[5.25], CHF[1.93], DAI[0], DOGE[112.77848584], ETH[0.00808648], ETHW[0.34998319], EUR[2.02], GBP[5.07], MXN[0.00],         Yes
                Unliquidated         PAXG[.00534072], SOL[0], TRX[1], USD[18.00], USDT[0], YFI[0]
08021767                             BRZ[1], BTC[.00182637], DOGE[1], ETH[.05036756], ETHW[.04974012], USD[0.00]                                                                                                         Yes

08021779                             ETH[0], LTC[0], SHIB[49000], SOL[.00139404], SUSHI[.3525], USD[0.22], USDT[0.44326680]                                                                                              Yes

08021781                             GRT[1], SOL[2.52735119], USD[0.00]

08021783                             USD[0.00]                                                                                                                                                                           Yes

08021786                             ETH[.0130332], ETHW[0.01303319]

08021788                             USD[0.02]

08021790                             CUSDT[1], DOGE[2], TRX[1], USD[0.01]                                                                                                                                                Yes

08021791                             BTC[0], USD[10256.22]                                                                                                                                                               Yes

08021793                             BRZ[1], DOGE[2], ETHW[.46351146], SHIB[6], TRX[2], USD[0.01]                                                                                                                        Yes

08021794                             DOGE[.90672855], MATIC[3.62515156], NEAR[.0467131], SHIB[462.14066482], SUSHI[.01121693], TRX[2], USD[0.83]                                                                         Yes

08021796                             TRX[.011591], USD[0.00], USDT[0.00415779]

08021809                             BRZ[0], ETH[0], ETHW[0], SHIB[9], SOL[0.00000001], USD[0.00], USDT[0.00319618]                                                                                                      Yes

08021814                             USD[0.48]

08021815                             BTC[.03336784], ETH[.17318737], ETHW[.17291719], LINK[5.83971456], LTC[7.13003741], NFT (568126402022083879/7311)[1], SOL[3.77819072]                                               Yes

08021843                             TRX[2151.45522324], USD[0.00]                                                                                                                                                       Yes

08021853                             CUSDT[2], USD[0.01]

08021860                             CUSDT[1], SOL[.86824727], USD[0.52]                                                                                                                                                 Yes

08021862                             BTC[0], LTC[0], USD[0.00], USDT[0]

08021872                             CUSDT[2], MATIC[55.66609007], SOL[.51384646], USD[0.00]                                                                                                                             Yes

08021880                             USD[1.09]                                                                                                                                                                           Yes

08021888                             SHIB[900000], USD[0.00]

08021889                             CUSDT[1], SOL[1.08699942], USD[0.00]                                                                                                                                                Yes

08021892                             BAT[0], BRZ[0.22885001], DOGE[0], MATIC[0], PAXG[0], SHIB[66538.44352859]

08021895                             USD[27.14]                                                                                                                                                                          Yes

08021896                             BAT[1.01216462], DOGE[1], USD[0.00], USDT[0]                                                                                                                                        Yes

08021904                             USD[100.00]
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08021913                              AVAX[0], BTC[0], ETH[0], MATIC[0], SOL[0], USD[0.00], USDT[0.00003890]

08021917                              SOL[0], USD[2.15]

08021924                              USD[0.00]                                                                                                                                                                               Yes

08021930                              BTC[.37848243], DOGE[2], SOL[.00042014], USD[0.01], USDT[1.07311532]                                                                                                                    Yes

08021933                              TRX[.000175], USDT[.00022309]                                                                                                                                                           Yes

08021935                              KSHIB[372.76345737], SHIB[642.23907578], USD[0.00]

08021941                              SOL[1.02460296], USD[0.00]

08021944                              BRZ[1], ETH[.70261415], ETHW[.70231903], TRX[1], USD[0.02]                                                                                                                              Yes

08021949                              SHIB[69764.19701409], USD[0.00]

08021955                              CUSDT[2], ETH[.06929407], ETHW[.05492408], USD[0.00]

08021958                              CUSDT[1], SHIB[2257502.96714476], USD[217.30]                                                                                                                                           Yes

08021972                              DOGE[21], SHIB[22485800], USD[0.28]

08021974                              SOL[1.44240741], USD[0.00]

08021978                              ETH[.00000001], SHIB[1], TRX[1], USD[0.00]                                                                                                                                              Yes

08021996                              CUSDT[1], SHIB[6], TRX[2], USD[0.01], USDT[0.00000001]                                                                                                                                  Yes

08022024                              ETH[0], USD[0.09]                                                                                                                                                                       Yes

08022029                              USDT[4.503023]

08022030                              NFT (338822625755819867/Coachella x FTX Weekend 1 #203)[1], NFT (427597638624691503/Coachella x FTX Weekend 2 #13966)[1]

08022035                              CUSDT[3], KSHIB[137.94684604], SHIB[414861.70295626], SOL[.16358244], TRX[195.5434475], USD[0.00]

08022042                              AVAX[.46375011], TRX[1], USD[20.01]

08022047                              USD[0.70]

08022052                              BAT[.00019723], CUSDT[5.00295321], LINK[.00000778], SHIB[463.46537396], SOL[.00000055], TRX[5], USD[4.46], USDT[0.40251432]                                                             Yes

08022058                              CUSDT[1], TRX[2], USD[0.16]                                                                                                                                                             Yes

08022064                              CUSDT[1], ETH[.00736786], ETHW[.0072721], USD[0.00]                                                                                                                                     Yes

08022065                              BRZ[1], BTC[.0005197], CUSDT[9], DOGE[61.1649251], ETH[.01248593], ETHW[.01233545], KSHIB[273.05633042], LTC[.07724125], MATIC[7.82631154], MKR[.00403791], SHIB[5202836.64539952],     Yes
                                      SOL[.15625049], TRX[131.29981712], USD[0.00]
08022075                              DOGE[24.74290268], MATIC[2.87957844], SHIB[130174.43374121], USD[4.78]

08022095                              SOL[.04], USD[0.79]

08022109                              NFT (426271556516464204/Microphone #4542)[1]

08022114                              BTC[0], USD[0.00], USDT[0]

08022123                              DOGE[2], ETH[0], SOL[0], USD[0.01]

08022129                              DOGE[2], SHIB[0], TRX[1], USD[0.00]                                                                                                                                                     Yes

08022138                              BTC[.02185696], USD[0.00]                                                                                                                                                               Yes

08022142                              BRZ[1], DOGE[2], MATIC[.46891034], SHIB[7], USD[0.00], USDT[1.07585278]                                                                                                                 Yes

08022153                              CUSDT[4], DOGE[1], USD[0.00], USDT[0.00019164]                                                                                                                                          Yes

08022157                              CUSDT[9], DOGE[2], SHIB[0], SUSHI[12.52402306], USD[0.00]                                                                                                                               Yes

08022174                              AAVE[0], AUD[0.00], BAT[0], BCH[0], BRZ[2.35124591], BTC[0], CAD[0.00], CHF[0.00], CUSDT[0], DOGE[0], ETH[0.00000001], ETHW[0], GBP[0.00], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0],  Yes
                                      MKR[0], NFT (297666417052559615/StarAtlas Anniversary)[1], NFT (346386967625104133/StarAtlas Anniversary)[1], NFT (379464680767088022/DOTB #3559)[1], NFT (383344412941352225/Yeti
                                      #0003)[1], NFT (412639525713217389/DOTB #2391)[1], NFT (437688445475656247/StarAtlas Anniversary)[1], NFT (455383586865410111/StarAtlas Anniversary)[1], NFT (456334561423953560/DOTB
                                      #6069)[1], NFT (476288423442435129/Solflare Holidays)[1], NFT (479795433574504515/StarAtlas Anniversary)[1], NFT (484531269376288601/Amiga Spicynano)[1], NFT
                                      (487553741445043834/StarAtlas Anniversary)[1], NFT (488540168182443510/Hall of Fantasy League #222)[1], NFT (492325336945136457/StarAtlas Anniversary)[1], NFT
                                      (501103294286877474/Infused Core)[1], NFT (508864618792324263/Hall of Fantasy League #229)[1], NFT (509431742068358314/DOTB #3608)[1], NFT (533308170705514042/Hall of Fantasy League
                                      #223)[1], NFT (535740144116121897/#841954)[1], NFT (549453263258293749/StarAtlas Anniversary)[1], NFT (561735923317656451/#6,823)[1], NFT (570401742238610511/StarAtlas Anniversary)[1],
                                      PAXG[0], SHIB[0], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00], USDT[0], YFI[0]
08022177                              CUSDT[1], TRX[1], USD[0.01]

08022211                              SHIB[8400000], USD[3.94]

08022245                              MATIC[62.185792], USD[0.00]

08022250                              CUSDT[1], DOGE[.00004953], KSHIB[.00009665], SHIB[.0000847], TRX[.00000615], USD[0.00], USDT[.03436294]                                                                                 Yes

08022262                              SHIB[1], USD[0.00], USDT[99.45067326]

08022268                              USD[20.00]

08022280                              BTC[0], ETH[0], MATIC[0], SHIB[3], SOL[0.00000001], USD[0.12], USDT[0]                                                                                                                  Yes

08022289                              USD[0.94]                                                                                                                                                                               Yes

08022293                              BRZ[1], SHIB[2967780.15609558], USD[0.00]                                                                                                                                               Yes

08022295                              CUSDT[5], DOGE[.00084369], KSHIB[.0004733], TRX[2], USD[7.99], USDT[0]                                                                                                                  Yes

08022306                              USD[0.14]

08022323                              NFT (341776408547413784/Entrance Voucher #4333)[1]                                                                                                                                      Yes

08022333                              SHIB[847928.99627004], USD[0.00]

08022334                              CUSDT[2], SHIB[1692403.2052968], USD[0.00]                                                                                                                                              Yes

08022336                              BRZ[1], BTC[.00159956], CUSDT[3], DOGE[180.31537447], ETH[.04575699], ETHW[.04575699], LTC[.25660552], SHIB[1376273.05257363], TRX[1], USD[0.01]

08022339                              CUSDT[3], DOGE[181.06207974], ETHW[.32241563], SHIB[2169067.77764244], USD[48.01]

08022348                              USD[0.02], USDT[0]                                                                                                                                                                      Yes

08022357       Contingent, Disputed   CUSDT[2], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08022372                              CUSDT[1], SHIB[1349892.0086393], USD[0.00]

08022384                              ALGO[0], BTC[0], DAI[0], DOGE[3.23934288], ETH[0], LINK[0], LTC[0], MATIC[0], SHIB[58205.61538091], SOL[0], TRX[0], USD[0.00], USDT[0]                                       Yes

08022393                              CUSDT[4366.66357846], DOGE[1], KSHIB[1386.62445412], USD[0.00]

08022424                              ETH[0], ETHW[0], NFT (390997271756134497/Spectra #477 (Redeemed))[1], NFT (406234447765648622/Sun Set #972 (Redeemed))[1], USD[0.00]

08022430                              SHIB[14219469.68088651], TRX[2], USD[0.00]

08022434                              BRZ[3], BTC[0], CUSDT[6], DOGE[2], SOL[0], TRX[2], USD[0.00], USDT[2.15687625]                                                                                               Yes

08022436                              DOGE[216.86797036], SHIB[121764.93679565], USD[0.00]                                                                                                                         Yes

08022438       Contingent, Disputed   USD[0.00], USDT[175]

08022439                              ETH[.052947], ETHW[.052947], USD[4.49]

08022448                              BAT[1], BRZ[1], BTC[.00000009], DOGE[1], SHIB[18401903.91857966], USD[0.01]                                                                                                  Yes

08022452                              BAT[1.00132495], BF_POINT[100], BRZ[1], CUSDT[6], DOGE[.42903758], ETHW[1.78038347], LINK[594.30544244], SHIB[69307466.22295931], SOL[17.1928849], TRX[4], USD[0.00],        Yes
                                      USDT[1.01870823]
08022465                              CUSDT[1], SHIB[1316369.33707483], USD[0.00]                                                                                                                                  Yes

08022475                              USD[108.56]                                                                                                                                                                  Yes

08022476                              CUSDT[2], DOGE[387.02324813], USD[0.00]

08022477                              DOGE[1], SHIB[9990009.99000999], USD[0.00]

08022493                              NFT (531164388192050318/Humpty Dumpty #128)[1]

08022498                              BRZ[1], CUSDT[1], DOGE[1], GRT[1.00017464], USD[5.28], USDT[1.08106151]                                                                                                      Yes

08022506                              AAVE[0], BTC[.00000032], DOGE[.00067949], ETH[.00000003], ETHW[.00000003], TRX[1], USD[0.00], USDT[0]                                                                        Yes

08022507                              CUSDT[7], DOGE[183.79161447], ETH[.0550421], ETHW[.0550421], SHIB[2544645.94115356], TRX[239.12628522], USD[0.00]

08022509                              CUSDT[2], DOGE[78.5384215], SHIB[296413.37365416], USD[10.87]                                                                                                                Yes

08022510                              DOGE[0], MATIC[0], SHIB[0], USD[0.00]                                                                                                                                        Yes

08022511                              USD[27.14]                                                                                                                                                                   Yes

08022513                              SHIB[151164.85771491], USD[0.00]                                                                                                                                             Yes

08022514                              ETH[0], USD[0.00]

08022515                              ETH[0], SOL[0], USD[0.00]

08022519                              SHIB[2.63095657], USD[0.00]                                                                                                                                                  Yes

08022521                              CUSDT[1], SHIB[370516.71709868], USD[0.00]                                                                                                                                   Yes

08022522                              BRZ[2], DOGE[38.43177437], ETHW[.00355069], NFT (359994853927119489/3D SOLDIER #1151)[1], SHIB[3], SUSHI[.68166764], TRX[2], USD[0.00]                                       Yes

08022523                              CUSDT[1], SHIB[43961253.22876148], TRX[1], USD[0.00]                                                                                                                         Yes

08022543                              SHIB[103893128.2797931]                                                                                                                                                      Yes

08022557                              BRZ[1], BTC[.00243273], CUSDT[35], DOGE[561.9284478], LINK[8.02145212], SHIB[6929869.99457612], TRX[2], USD[0.00]

08022560                              CUSDT[1], DOGE[2055.36575763], USD[0.44]                                                                                                                                     Yes

08022564                              BTC[.08453293]

08022570                              DOGE[1], KSHIB[6781.47247468], USD[0.00]                                                                                                                                     Yes

08022576                              BRZ[1], CUSDT[3], ETH[0], SHIB[104165.86609663], USD[0.00]                                                                                                                   Yes

08022585                              NFT (394038515157332299/UNQ Universe | Edge #7902)[1], NFT (448065265635556238/UNQ Universe | Atlas #2)[1], NFT (499640847165021926/UNQ Universe | Air #1432)[1]

08022588                              BRZ[1], BTC[.0447367], SHIB[30225694.60272795], TRX[1], USD[0.02]                                                                                                            Yes

08022594                              USD[10.40]                                                                                                                                                                   Yes

08022603                              CUSDT[1], TRX[1], USD[0.00]

08022605                              CUSDT[1], SHIB[163271.05190019], USD[0.00]                                                                                                                                   Yes

08022607                              USD[0.00], USDT[0.00000017]

08022611                              CUSDT[152.67449178], DOGE[1], GRT[4.12890568], KSHIB[109.976061], SHIB[255013.90820094], SOL[.02018542], USD[0.01]                                                           Yes

08022616                              USD[0.00]

08022634                              DOGE[0], ETH[0], LTC[0], SHIB[5441.18610700], SOL[0], TRX[0], USD[0.01]

08022660                              CUSDT[1], DOGE[2], SOL[1.76966569], SUSHI[5.77104205], UNI[5.71497953], USD[53.60]                                                                                           Yes

08022663                              DOGE[.989], ETH[.072], ETHW[.072], SHIB[91700], USD[2.12], USDT[1.50533946]

08022665                              CUSDT[2], DOGE[13605.59608712], SOL[44.15996389], TRX[3], USD[0.29], USDT[1.06939765]                                                                                        Yes

08022682                              USD[27.14]                                                                                                                                                                   Yes

08022683                              DOGE[1], SOL[79.48896204], TRX[4], USD[0.00]

08022684                              SHIB[136742.78681799], USD[0.00]

08022702                              USD[50.00]

08022707                              CUSDT[3], DOGE[907.44411581], MATIC[32.93050815], SHIB[15943022.36886087], TRX[2], USD[0.00]                                                                                 Yes

08022741                              CUSDT[3], SOL[.46910048], USD[0.00]                                                                                                                                          Yes

08022745                              ETHW[1.363669], USD[0.01]

08022746                              NFT (363950970981914746/Microphone #8920)[1], NFT (414713821854826694/Handdrawn Beauty's #4)[1], NFT (425783402028505051/Handdrawn Beauty's #2)[1], NFT
                                      (432819460289043416/Handdrawn Beauty's)[1], NFT (447732951680758380/Handdrawn Beauty's #3)[1], NFT (498695862475026092/Barcelona Ticket Stub #1504)[1], USD[0.00], USDT[0]
08022756                              USD[54.29]                                                                                                                                                                   Yes

08022761                              BTC[.000011], NFT (369811281186230124/Night Light #124)[1], NFT (443813565022235638/Reflection '10 #67)[1], USD[1.58]

08022765                              SHIB[964519.24762141], USD[0.00]                                                                                                                                             Yes
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08022774                              BF_POINT[300], BRZ[5.07952967], CUSDT[7], TRX[2], USD[0.00], USDT[.00556805]                                                                                                            Yes

08022776                              SUSHI[38.4615], USD[7.67]

08022779                              BTC[0], DOGE[1]

08022786                              NFT (288278316931540808/The Solana Smile)[1], NFT (294775715471603343/crypto cars #128)[1], NFT (442477053538456069/FTX Great Cats)[1], NFT (517534832891802414/New Inception #12)[1]

08022787                              USD[25.00]

08022788                              CUSDT[1], DOGE[100.10901421], KSHIB[342.47865501], USD[0.00]                                                                                                                            Yes

08022789                              DOGE[.03527274], NFT (337555830919410068/Frog #3978)[1], NFT (386878122306561014/Golden bone pass)[1], NFT (416771368397524995/Solana Squirrel #510)[1], USD[0.00]                      Yes

08022792                              BRZ[1], DOGE[1], KSHIB[2797.96274736], SHIB[4597575.84692074], TRX[1], USD[0.02]                                                                                                        Yes

08022793                              USD[27.14]                                                                                                                                                                              Yes

08022795                              USD[10.86]                                                                                                                                                                              Yes

08022799       Contingent, Disputed   TRX[0], USD[0.00], USDT[0]                                                                                                                                                              Yes

08022800                              CUSDT[1], SHIB[54283105.04435096], SOL[29.92976484], TRX[1], UNI[576.97893534], USD[0.00], USDT[1.05650205]                                                                             Yes

08022809                              CUSDT[2], DOGE[1], NFT (290054290203728417/Fancy Frenchies #9853)[1], TRX[3], USD[0.01]                                                                                                 Yes

08022812                              CUSDT[4], DOGE[1], TRX[1], USD[0.01]                                                                                                                                                    Yes

08022814                              CUSDT[2], USD[209.00]                                                                                                                                                                   Yes

08022816                              BRZ[40.52820300], CUSDT[1], TRX[1], USD[0.00]

08022820                              CUSDT[2], TRY[0.11], USDT[0]                                                                                                                                                            Yes

08022826                              ETH[.17195], ETHW[.17195], SHIB[1931926.76315789], SOL[.48292263], TRX[.000036], USD[1.89], USDT[0.00000001]

08022827                              USD[0.00]                                                                                                                                                                               Yes

08022844                              SHIB[43571900], USD[8.12]

08022854                              DOGE[110.889], KSHIB[230], SHIB[400000], USD[0.27], USDT[5]

08022856                              CUSDT[2], USD[0.00]

08022862                              SHIB[7495829.4843131], USD[0.00], USDT[0.00000001]                                                                                                                                      Yes

08022864                              ETH[.00245243], ETHW[.00242507], USD[0.00]                                                                                                                                              Yes

08022876                              BTC[.003996], ETH[.054945], ETHW[.054945], SHIB[100000], USD[4.98]

08022878                              AAVE[29.43516], SHIB[42719200], SOL[.22977], USD[1.03], USDT[.0717766]

08022888                              USD[50.00]

08022910                              CUSDT[3], SHIB[1], TRX[1], USD[0.00]

08022930                              CUSDT[1], TRX[903.86582509], USD[0.00]

08022943                              BAT[240], CUSDT[11473], DAI[249.7], PAXG[.1376], TRX[9991.063], USD[0.15]

08022946                              ETH[.20000573], ETHW[.20000573], SHIB[12541747.38736371], USD[0.00]

08022951                              SHIB[378786.57105474], USD[0.01]

08022952                              CUSDT[1], SHIB[1548010.94940086], USD[0.01]                                                                                                                                             Yes

08022957                              CUSDT[2], DOGE[1], KSHIB[931.46725038], SHIB[2381157.00061269], TRX[197.44163655], USD[30.00]

08022960                              BRZ[1], BTC[.00267509], CUSDT[6], DOGE[2], GRT[128.75051936], SOL[.76734264], TRX[2], USD[0.00]

08022963                              AAVE[0], ETH[0], SOL[0], USD[0.01]                                                                                                                                                      Yes

08022964                              AUD[0.00], KSHIB[0], SHIB[1024236.13032614], TRX[0], USD[6.35]                                                                                                                          Yes

08022966                              BRZ[1], TRX[1], USD[0.00], USDT[0.00000182]

08022971                              BRZ[2], BTC[.00041819], CUSDT[33], DAI[5.34698093], DOGE[70.86023583], ETH[.01225367], ETHW[.01210319], KSHIB[116.52208955], MATIC[.00001725], SHIB[219638.1375552], SOL[.02011091], Yes
                                      SUSHI[.01329897], TRX[8], USD[0.00], USDT[0.00019618]
08022976                              BRZ[1], DOGE[1], KSHIB[383.44859478], TRX[1], USD[367.03]

08022980                              TRX[27], USDT[.01863331]

08022983                              CUSDT[5], SHIB[2], TRX[2], USD[241.19], USDT[0.00029232]

08022984                              DOGE[1], KSHIB[6944.3190609], USD[0.00]

08022986                              USD[0.00]

08023017                              ALGO[3.71210741], BAT[1], BRZ[9.25873834], BTC[.00275075], CUSDT[29], DOGE[787.01507081], ETHW[.58791541], GRT[5.07830632], NFT (387019812254747131/The Hill by FTX #4076)[1], NFT Yes
                                      (527303566065164278/Founding Frens Lawyer #591)[1], NFT (546692899645778207/Ronin Duckie #71)[1], SHIB[169299343.04493989], SOL[.5], TRX[23.68491934], USD[2852.12], USDT[4.16603252]

08023027                              BRZ[1], CUSDT[1], DOGE[1], TRX[1], USD[0.67]

08023028                              DOGE[2], LTC[0], SHIB[1.96402170], TRX[4], USD[340.39], USDT[1.00021912]                                                                                                                Yes

08023037                              BF_POINT[100]                                                                                                                                                                           Yes

08023038                              CUSDT[1], SHIB[7617673.73280347], USD[0.01]                                                                                                                                             Yes

08023041                              TRX[.000006], USD[0.00]

08023052                              BTC[.00105834], CUSDT[5], SOL[.51195746], TRX[1], USD[68.90]

08023055                              ETH[.00005], ETHW[.00005], USD[1.17]

08023056                              CUSDT[1], SHIB[2933641.81274258], USD[325.68]                                                                                                                                           Yes

08023063                              USD[1.09]                                                                                                                                                                               Yes

08023066                              TRX[.000001], USD[2.27], USDT[.006]

08023070                              ETH[.015984], ETHW[.015984], TRX[3742.130662], USD[0.58]

08023078                              SHIB[1511740.03536598], USD[0.00]                                                                                                                                                       Yes
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08023085                              SOL[.08674163], USD[13.26]                                                                                                                                                              Yes

08023089                              CUSDT[1], SHIB[2112580.17161569], USD[10.86]                                                                                                                                            Yes

08023096                              NFT (409561993654170143/ApexDucks Halloween #1882)[1], NFT (485549169544179678/ApexDucks Halloween #1872)[1], NFT (487710277587608788/ApexDucks Halloween #1874)[1]

08023107                              BTC[.00009657], CUSDT[5], DOGE[4], SHIB[251457623.44240733], TRX[4], USD[0.01]                                                                                                          Yes

08023110                              BTC[.0038], DOGE[880], ETH[.052], ETHW[.052], SHIB[8700000], USD[7.32]

08023112                              GRT[79], LTC[.09], SHIB[799200], TRX[563], USD[88.72]

08023117                              BAT[1], GRT[1], MATIC[1.00364577], TRX[1], USD[0.00], USDT[12.53998559]                                                                                                                 Yes

08023122                              CUSDT[1], SHIB[10286930.72870473], TRX[1], USD[0.01]

08023130                              USD[0.54]

08023136                              CUSDT[2], SHIB[4185098.76253229], TRX[1], USD[0.00]

08023140                              BAT[11.16660991], CUSDT[109.88160232], DOGE[719.96187238], ETH[.0004018], ETHW[.00417183], KSHIB[1119.47403420], LINK[.39276745], LTC[.04518768], MATIC[5.05534804],                    Yes
                                      SHIB[10962153.38190183], SOL[2.32316668], SUSHI[2.44065442], TRX[102.58233927], USD[0.09], USDT[5.352009]
08023144                              DOGE[1], SHIB[5338248.6317403], TRX[1], USD[0.00]

08023147                              BTC[.00877755], CUSDT[2], DOGE[2101.97600112], ETH[.04196812], ETHW[.04144828], SOL[1.02566165], TRX[2467.20279956], USD[0.00]                                                          Yes

08023148                              AVAX[1.01538458], BAT[1], BRZ[2], CUSDT[12], DOGE[93.13233198], ETH[.0201655], ETHW[.0201655], LINK[1.12143754], SHIB[7305946.08567102], TRX[4], USD[0.00]

08023150                              CUSDT[2], SHIB[785805.73437983], USD[0.00]                                                                                                                                              Yes

08023153                              BTC[.001103]

08023156                              BRZ[1], BTC[.00000011], CUSDT[498.76350495], DOGE[4], SHIB[8], TRX[111.43453514], USD[38.68]                                                                                            Yes

08023157                              SHIB[149055.92815924], USD[0.00]                                                                                                                                                        Yes

08023162                              CUSDT[1], SHIB[988602.19751314], USD[0.00]

08023172                              BCH[.0006], BTC[0.05754853], ETH[.00006128], ETHW[.00006128], NFT (307567686564910813/FTX Crypto Cup 2022 Key #2752)[1], NFT (400603293437355567/The Hill by FTX #6613)[1], USD[1.20]

08023173                              SHIB[4745377.70178989], TRX[1], USD[0.00]                                                                                                                                               Yes

08023182                              SHIB[211542784.45080204], USD[0.00]                                                                                                                                                     Yes

08023189                              DOGE[1], SHIB[208.52914311], USD[0.01]                                                                                                                                                  Yes

08023196                              CUSDT[1], SUSHI[1.75315987], USD[15.06]                                                                                                                                                 Yes

08023198                              CUSDT[0], DOGE[1], MATIC[0], TRX[0], UNI[4.09466868], USD[38.47]                                                                                                                        Yes

08023199                              DOGE[1], SOL[2.62237492], USD[0.00]                                                                                                                                                     Yes

08023201                              BTC[0], CUSDT[3], DOGE[1], TRX[2], USD[0.00]                                                                                                                                            Yes

08023213                              USD[10.86]                                                                                                                                                                              Yes

08023222                              ETHW[2.4975], USD[1.71]

08023227                              CUSDT[1], SOL[.52521854], USD[0.00]                                                                                                                                                     Yes

08023230                              USD[0.00], USDT[1.00729320]                                                                                                                                                             Yes

08023235                              BTC[.0001], USD[3.82]

08023239                              USD[234.82]

08023241                              SHIB[23626482.43294849], USD[508.65]

08023251                              BRZ[3], CUSDT[1], LINK[3.16265596], USD[0.01]

08023252                              KSHIB[67.40798372], TRX[106.40769056], USD[5.43]                                                                                                                                        Yes

08023255                              SOL[.00035493]                                                                                                                                                                          Yes

08023256                              USDT[54.888938]

08023258                              BTC[.00000282], CUSDT[10], DOGE[.00005654], ETH[.05174567], ETHW[.05174567], PAXG[.00527006], SHIB[3.00008397], TRX[1], USD[0.00]

08023261                              DOGE[60.00000019], LINK[.00437967], SOL[0], USD[0.03]

08023271                              SHIB[300000], USD[0.52]

08023273                              SHIB[1], USD[0.00]

08023279                              USD[1.97], USDT[0]

08023280                              BAT[24.66482086], CUSDT[1], USD[0.00]

08023283                              SOL[.00000001], USD[0.00], USDT[0.00000081]

08023284                              SHIB[899400], USD[3.81]

08023295                              NFT (453837764165781088/90's #236)[1]

08023309                              CUSDT[10], DOGE[2], TRX[1], USD[69.59]

08023310                              BRZ[2], DOGE[1], TRX[1], USD[4669.06]                                                                                                                                                   Yes

08023317                              ETH[.00000001], NFT (501751193407838178/SOLYETIS #3589)[1], USD[0.25]

08023325                              DOGE[2], KSHIB[450.84435031], USD[0.01]                                                                                                                                                 Yes

08023340                              BTC[.00479945], ETH[.06221076], ETHW[.06143866]                                                                                                                                         Yes

08023343                              CUSDT[7], LINK[.00001169], MATIC[.00018945], SHIB[5006300.85259887], TRX[0], USD[0.32]                                                                                                  Yes

08023344                              ETH[0], SOL[0], USD[0.00]

08023353                              DOGE[466.533], SHIB[1600000], USD[0.79]

08023372                              BTC[.00080974], CUSDT[1], USD[0.00]

08023380                              ETH[.01709833], SHIB[1], USD[0.00]

08023381       Contingent, Disputed   SOL[0], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08023384                           CUSDT[5], TRX[196.44141353], USD[0.00]

08023394                           DOGE[40.61758939], SHIB[148141.95398354], USD[0.00]                                                                                                                                  Yes

08023395                           KSHIB[68.40098738], SHIB[68530.70175438], USD[0.00]

08023404                           USD[0.00], USDT[49.72037286]

08023408                           BRZ[1], CUSDT[4], DOGE[951.32344132], TRX[4], USD[0.00]

08023410                           AAVE[.19006023], BCH[.05979591], BTC[.00403763], CUSDT[39], DOGE[2], ETH[.06006282], ETHW[.0593171], KSHIB[685.81225889], LTC[.13836315], SHIB[1537204.06167672], SOL[2.16147694],   Yes
                                   TRX[270.2025068], USD[5206.54]
08023420                           DOGE[2], USD[0.00]

08023422                           CUSDT[1], SHIB[295598.15896395], USD[0.00]                                                                                                                                           Yes

08023428                           USD[217.13]                                                                                                                                                                          Yes

08023434                           BRZ[5], DOGE[1], ETH[1.21593698], MATIC[120.61732644], NFT (351532060310304665/1166)[1], NFT (480575076975846244/Settler #1192)[1], NFT (538897370231461919/Kiddo #5226)[1], NFT     Yes
                                   (568193013227583110/Megalodon Rogue Shark Tooth)[1], SHIB[6], SUSHI[.01572049], TRX[18.09700449], USD[0.00], USDT[0]
08023438                           BTC[0.00000099], DOGE[.99335], MATIC[10], USD[17.79]

08023456                           BTC[1.24305703], USD[0.44], USDT[.7435]

08023458                           DOGE[1], TRX[1], USD[0.02]                                                                                                                                                           Yes

08023476                           BTC[.0699335], ETH[.00005], ETHW[.00005], SOL[5.9943], USD[4843.91]

08023481                           CUSDT[3], SHIB[4559415.41535889], SOL[.81746477], USD[0.00]

08023484                           CUSDT[1], MATIC[12.30231393], USD[0.00]                                                                                                                                              Yes

08023485                           CUSDT[1], SHIB[1], USD[0.00]

08023487                           USD[11.60]

08023494                           BTC[0], ETH[0.00771690], ETHW[0.29771690], SHIB[58770], USD[521.43], USDT[3.00499159]

08023499                           CUSDT[4], ETH[.00000005], ETHW[.00000005], USD[46.81]                                                                                                                                Yes

08023512                           DOGE[2], USD[100.00]

08023513                           BTC[.00000002], TRX[1], USD[0.00]                                                                                                                                                    Yes

08023517                           USD[27.22]

08023521                           ETH[.01], ETHW[.01], SHIB[3500000], USD[6.10]

08023528                           ETH[0]

08023530                           CUSDT[2], SHIB[4009687.89678317], USD[0.00]

08023543                           BRZ[1], CUSDT[14], DOGE[1], SHIB[2257.20106288], TRX[1], USD[0.01]                                                                                                                   Yes

08023559                           CUSDT[1231.69121987], USD[0.00]                                                                                                                                                      Yes

08023572                           CUSDT[1], SHIB[804587.33294739], USD[0.00]                                                                                                                                           Yes

08023577                           BRZ[1], BTC[.00450155], ETH[.0604366], TRX[1], USD[0.00]

08023581                           CUSDT[30], DOGE[4.01145009], TRX[4], USD[0.00]                                                                                                                                       Yes

08023586                           CUSDT[1], DOGE[1], SHIB[803502.95725867], TRX[92.148587], USD[0.00]

08023588                           KSHIB[972.53176634], USD[0.00]

08023593                           LTC[1.8395378], USDT[0]

08023595                           SOL[.283], USD[2.15]

08023596                           SHIB[277123.45850076], TRX[1], USD[0.00]

08023597                           AAVE[.00352435], AVAX[.028329], BTC[0.00002903], LINK[.0965645], MATIC[2.98315], TRX[.782275], USD[0.07], USDT[0.03757288]

08023601                           SHIB[5494500], USD[105.94]

08023605                           BRZ[2], CUSDT[1], DOGE[1], SHIB[238414873.9794505], TRX[2], USD[0.00]                                                                                                                Yes

08023613                           USD[0.00]                                                                                                                                                                            Yes

08023614                           BTC[.02393687], SOL[15.00946], USD[0.00]

08023615                           BTC[.00352043], CUSDT[1], DOGE[3], ETH[.05685047], ETHW[.05614399], KSHIB[2080.52000794], SHIB[2256746.39679232], SOL[1.24018844], TRX[1], USD[0.00]                                 Yes

08023616                           USD[0.09], WBTC[.00009595]

08023619                           CUSDT[1], SHIB[3020614.28778085], USD[0.00]                                                                                                                                          Yes

08023622                           BTC[.00003265], ETH[.00045584], ETHW[.00045584], GRT[7.76107382], SOL[.02297734], USD[0.00]                                                                                          Yes

08023632                           USD[0.00]

08023633                           BAT[45.87009794], SOL[1.11526691]                                                                                                                                                    Yes

08023636                           AVAX[.5623606], SHIB[2272.18824076], USD[0.04], USDT[0.00000080]                                                                                                                     Yes

08023654                           ETH[.00111927], USD[0.01]

08023655                           GRT[550.487], LINK[4.3153], SHIB[1158500], SOL[.00529], SUSHI[37.1245], USD[2.05], USDT[.0031286]

08023657                           CUSDT[1], LTC[.07683705], USD[0.00]

08023659                           CUSDT[1], SHIB[0], TRX[0], USD[0.01]                                                                                                                                                 Yes

08023664                           SOL[.2], USD[0.00]

08023668                           CUSDT[1], USD[20.00]

08023670                           CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                         Yes

08023673                           SOL[.05]

08023675                           NFT (419478686607773221/FTX - Off The Grid Miami #229)[1]

08023684                           DOGE[1], GRT[1], LTC[.00013815], SHIB[2], TRX[1], USD[0.00]                                                                                                                          Yes
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                                                                                                                                         Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08023690                           CUSDT[3], USD[0.00]

08023699                           BTC[.00000001], ETH[.00000007], ETHW[0.00000007]                                                                                                                                         Yes

08023710                           BTC[0.00065738], USD[0.00]

08023711                           BRZ[1.0000738], ETHW[.24183544], USD[1224.52]

08023712                           USD[48.86]                                                                                                                                                                               Yes

08023715                           BTC[0], MATIC[3.00014748], SOL[0], USD[0.00], USDT[0]

08023719                           BTC[0], CUSDT[3], DOGE[0], ETH[0.00000001], ETHW[0.00000001], KSHIB[0], MATIC[0], SHIB[0.00000786], SOL[0.02715429], SUSHI[0], YFI[0]                                                    Yes

08023740                           USD[20.00]

08023741                           BTC[0], SOL[0], USD[11.08], USDT[0]

08023743                           USDT[0.00000101]

08023755                           USD[21.51]                                                                                                                                                                               Yes

08023758                           BTC[.0062], DOGE[181], USD[7.47]

08023767                           BTC[.00000199], CUSDT[1], ETH[.00001159], ETHW[1.26943664], SHIB[1], SUSHI[1.00030131], TRX[3], USD[0.03], USDT[1.07721146]                                                              Yes

08023769                           BRZ[1], CUSDT[1], SHIB[5304628.3404897], TRX[1], USD[0.00]                                                                                                                               Yes

08023770                           BTC[.02057294], CUSDT[4], DOGE[1], USD[0.00]                                                                                                                                             Yes

08023772                           ETH[.04104], ETHW[.04104], NFT (295888745715558096/Lotus flower and wild duck)[1], NFT (354306351536889968/Ether winter)[1], NFT (382596748255293583/Good afternoon)[1], NFT
                                   (385615025258029547/Running Horses)[1], NFT (388237242742557262/Roosters)[1], NFT (388638331343985435/A sunday afternoon)[1], NFT (450019130490712601/Mona Lisa)[1], NFT
                                   (483103764261181508/Animated girl transformer)[1], NFT (499766803596613387/Sunny morning)[1], NFT (520900800760042905/Girl with pearl earring)[1], NFT (530372973477222021/Christmas
                                   Tree)[1], NFT (564779534696369908/Solana Girl)[1], SOL[.02696], USD[42.19]
08023780                           BTC[.01596714], DOGE[5944.223], ETH[.05196095], ETHW[8.57339669], LINK[132.90345151], USD[3.50]

08023781                           SHIB[40212781.68196529], SOL[5.51720204]                                                                                                                                                 Yes

08023787                           BAT[6.38262668], CUSDT[1], DOGE[39.69791006], ETH[.00120075], ETHW[.00118707], SHIB[228463.84176476], SOL[.04750095], TRX[53.15327025], USD[0.00], USDT[5.39550052]                      Yes

08023791                           BRZ[1], CUSDT[3], DOGE[2], TRX[2], USD[106.78]                                                                                                                                           Yes

08023801                           ETH[.00000001], ETHW[0], USD[4.39]

08023806                           DOGE[1.15245504], USD[0.00]                                                                                                                                                              Yes

08023809                           ETH[.65341181], ETHW[.65341181], USD[2.49]

08023811                           SHIB[1], USD[29.39]                                                                                                                                                                      Yes

08023812                           CUSDT[1], SOL[1.05647413], USD[0.00]                                                                                                                                                     Yes

08023816                           USD[0.00]

08023822                           USD[0.00]

08023823                           BTC[.12773507], ETH[.1291215], ETHW[.12803888], GRT[1.00019173], TRX[1], USD[0.07]                                                                                                       Yes

08023833                           USD[10.00]

08023835                           BTC[0], DOGE[3], ETH[0], GRT[1], MATIC[0], MKR[.00020146], SHIB[4], SOL[0], TRX[4], USD[680.79]                                                                                          Yes

08023837                           BTC[0], CUSDT[0], DOGE[0], KSHIB[0], LINK[0], LTC[0], SHIB[0], SUSHI[0], TRX[0], UNI[0], USD[1.43]

08023841                           DOGE[1], TRX[3], USD[0.00]                                                                                                                                                               Yes

08023845                           CUSDT[1], DOGE[0.00193322], USD[0.01]                                                                                                                                                    Yes

08023868                           USD[0.00]

08023874                           SOL[.00287], USD[1.04]

08023882                           BTC[.00203538], DOGE[1], USD[0.00], YFI[.01622488]                                                                                                                                       Yes

08023891                           DAI[1.57457657], ETH[.00041267], ETHW[.00041267], MATIC[1.48393583], USD[19.71], USDT[6.07078943]                                                                                        Yes

08023897                           USD[20.00]

08023898                           NFT (331308899804593053/Romeo #6835)[1]

08023911                           SHIB[820749.52265265], USD[0.00]

08023914                           USD[217.12]                                                                                                                                                                              Yes

08023924                           ETHW[.02], USD[27.94]

08023932                           CUSDT[5], DOGE[4], USD[0.00]

08023937                           USD[20.00]

08023948                           SHIB[209380.23450586], TRX[1], USD[0.00]

08023953                           BTC[.88142973], DOGE[2], ETH[6.28815712], ETHW[6.2862879], SOL[13.02224379], TRX[1], USD[18490.56]                                                                                       Yes

08023955                           BTC[.00162259], CUSDT[2], DOGE[1], NFT (436810120037751934/Shannon Sharpe's Playbook: Kansas City Chiefs vs Denver Broncos - October 4, 1992 #86)[1], SHIB[1], SOL[.18536206], USD[22.29] Yes

08023960                           ETHW[2.39586372], SHIB[5398596.36494511], USD[4.67], USDT[0.00002989]

08023964                           DOGE[1], SHIB[514311.99354701], USD[1.13]                                                                                                                                                Yes

08023965                           USD[16.28]                                                                                                                                                                               Yes

08023969                           ETH[.0007314], ETHW[.0007314], MATIC[.702], USD[5.66]

08023974                           SHIB[1402310.42886588], USD[0.00]

08023977                           BRZ[2], TRX[1], USD[173.83]

08023982                           CUSDT[2], ETH[0], TRX[1], USDT[0]                                                                                                                                                        Yes

08023987                           CUSDT[1], SHIB[1384186.78952598], USD[0.02]                                                                                                                                              Yes

08023990                           USD[20.00]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08023991                           BTC[.00001052], DOGE[25.50612768], GRT[.76658216], LINK[0.45239765], LTC[.00669625], MATIC[1.62622349], SOL[.002855], SUSHI[2.3892921], TRX[62.98043009], UNI[.16169886], USD[0.00],   Yes
                                   USDT[0]
08023994                           USD[486.01]

08024008                           CUSDT[4], SHIB[3484429.51791357], USD[0.01]

08024018                           SHIB[151804.57241015], USD[0.00]                                                                                                                                                       Yes

08024019                           CUSDT[1], SHIB[438384.17434525], USD[0.07]                                                                                                                                             Yes

08024022                           CUSDT[1], DOGE[2], ETHW[.11240222], SHIB[7150007.15000715], TRX[3], USD[1886.21]

08024025                           DOGE[1], SHIB[1], USD[0.00]                                                                                                                                                            Yes

08024029                           USD[0.00]                                                                                                                                                                              Yes

08024033                           CUSDT[1], DOGE[182.29308452], KSHIB[688.15054311], USD[0.00]

08024044                           BRZ[1], USD[0.00]

08024045                           SOL[.04581298], USD[0.00]

08024047                           BTC[0], CUSDT[2], DOGE[1], USD[0.00]                                                                                                                                                   Yes

08024051                           ETH[.00203768], ETHW[.02980358], SHIB[15010.65879728], SOL[0], TRX[3], USD[0.00]                                                                                                       Yes

08024054                           CUSDT[2], DOGE[1.03226613], SHIB[8375813.99363437], SOL[.00439287], SUSHI[.00026837], TRX[.0000706], USD[0.11]

08024057                           CUSDT[2], DOGE[1], USD[0.01]                                                                                                                                                           Yes

08024058                           BRZ[1], SHIB[4637017.05409743], USD[0.00]                                                                                                                                              Yes

08024062                           BTC[.01751115], USD[0.00]

08024064                           USD[10.00]

08024065                           USD[10.00]

08024066                           BTC[.00032188], CUSDT[100.77392728], DAI[15.38074057], ETH[.01948954], ETHW[.0192433], GRT[23.7187536], MATIC[8.71882101], SHIB[8.31898086], TRX[92.99229115], USD[0.00], USDT[0]      Yes

08024067                           SHIB[55626591.71186345], USD[367.90], USDT[0]                                                                                                                                          Yes

08024070                           DOGE[1], SUSHI[1.57668546], USD[0.00]

08024077                           CUSDT[1], SHIB[1372872.04832509], USD[0.00]

08024080                           MATIC[5.67836612], USD[0.01]                                                                                                                                                           Yes

08024082                           CUSDT[1], SHIB[7016405.29489538], TRX[1], USD[0.01]

08024087                           ETH[.01], ETHW[.01], NFT (441771286582119685/G6 UN25 +FU)[1]

08024089                           CUSDT[10], ETHW[.00685101], SHIB[1], TRX[1], USD[0.00]

08024093                           SHIB[2568874.98367572]                                                                                                                                                                 Yes

08024097                           SHIB[20900000], USD[0.37]

08024104                           BAT[1.01598014], CUSDT[1], DOGE[2], USD[0.01]                                                                                                                                          Yes

08024109                           USD[1000.00]

08024122                           CUSDT[3], USD[29.94]

08024123                           CUSDT[1], SOL[.11227229], USD[81.20]                                                                                                                                                   Yes

08024125                           SHIB[279870.69985414], USD[0.00]

08024126                           ETH[.220779], ETHW[.220779], LTC[1.13886], MATIC[119.88], USD[13.06]

08024138                           CUSDT[1], SOL[0], USD[0.00]                                                                                                                                                            Yes

08024139                           NFT (476819144988467398/Kuchisake Onna Yokai)[1], NFT (557645198783585715/Oni Yokai)[1], USD[0.00]

08024140                           USD[3.91]                                                                                                                                                                              Yes

08024145                           BTC[.08808594], DOGE[2], ETH[.0340168], ETHW[.03371584], GRT[1], KSHIB[2638.76680927], MATIC[66.37654223], SHIB[36686837.56277622], TRX[3.043946], USD[37012.08]                       Yes

08024148                           AAVE[.00002315], ALGO[.00568435], DOGE[1], GRT[.01907123], LTC[.00003497], MATIC[.00388881], NFT (567236160813007604/Founding Frens Investor #444)[1], SHIB[4], TRX[3], USD[164.59]    Yes

08024153                           BTC[.00168137], CUSDT[3], LINK[5.13299289], LTC[.39922978], TRX[1], USD[0.00]                                                                                                          Yes

08024164                           CUSDT[1], DOGE[133.34195202], KSHIB[112.62164016], SHIB[286082.61164319], TRX[.00004138], USD[0.00]

08024170                           USD[120.00]

08024172                           CUSDT[3], KSHIB[2085.49210731], SHIB[1643495.29025797], USD[0.08]                                                                                                                      Yes

08024178                           BRZ[1], DOGE[1], SHIB[73609.68147373], SUSHI[.767069], TRX[2], USD[0.09], USDT[1.30373686]                                                                                             Yes

08024184                           ALGO[.00003223], AVAX[.33075923], BF_POINT[300], DOGE[202.38884206], ETHW[0.00000303], GRT[25.54200017], SHIB[2230934.31482916], TRX[0], USD[1.98]                                     Yes

08024191                           AAVE[1.29658533], ALGO[88.22062435], AUD[160.39], AVAX[1.11596385], BRZ[413.49140003], BTC[.02209128], CAD[137.83], CUSDT[4], DOGE[398.74442245], ETH[1.11718864],                     Yes
                                   ETHW[7.52212936], EUR[100.83], GBP[91.77], GRT[468.05728604], KSHIB[3819.90499097], LINK[14.17474352], LTC[.38700326], MATIC[102.48326434], MKR[.0261545], NEAR[5.45082775],
                                   PAXG[.12186524], SHIB[5829455.29932811], SOL[6.4273701], SUSHI[45.5270355], TRX[350.18347112], USD[201.66]
08024196                           SHIB[858098.83321894], TRX[1], USD[0.00]

08024201                           KSHIB[1293.66895048], TRX[1], USD[0.22]                                                                                                                                                Yes

08024207                           BTC[.00339071], CUSDT[6], ETH[.1848427], ETHW[.18460103], SHIB[2019102.15628471], USD[0.04]                                                                                            Yes

08024212                           BRZ[2], CUSDT[4], DOGE[1633.20080469], KSHIB[696.09370312], LINK[.00000001], SHIB[17717930.54571226], SOL[7.95565166], SUSHI[82.10952089], TRX[1], UNI[19.49786684], USD[0.35]

08024215                           CUSDT[1], SHIB[233972.85914833], USD[285.00]

08024216                           SHIB[599959.79739843], USD[0.00], USDT[0]                                                                                                                                              Yes

08024220                           BTC[.00032548], CUSDT[3], ETH[.00623236], ETHW[.00615028], LTC[.13762736], USD[5.43]                                                                                                   Yes

08024222                           TRX[1], USD[472.96], USDT[0]

08024223                           BTC[.0016411], CUSDT[4], DOGE[3], SHIB[1], SOL[0], TRX[1], USD[0.00]                                                                                                                   Yes

08024232                           LTC[.00473], USD[95.95]
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                                                                                                                                         Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08024238                           BRZ[1], DOGE[1], SOL[0], TRX[1], USD[2000.81], USDT[0]

08024240                           CUSDT[3], DOGE[56.51372872], LINK[.000361], SHIB[161.47533865], USD[0.00]                                                                                                          Yes

08024243                           BRZ[1], CUSDT[4], ETH[0], TRX[1], USD[0.02]                                                                                                                                        Yes

08024246                           BRZ[1], CUSDT[1], KSHIB[709.93462637], SHIB[771616.83600219], USD[0.02]                                                                                                            Yes

08024247                           BTC[0], DOGE[0], ETH[0], ETHW[0.00000001], LTC[0], NFT (314661435020743733/Magic Eden Prime)[1], SHIB[0], SOL[0.00000003], TRX[0], USD[0.00], USDT[0.00000027]

08024253                           SOL[0.05014862]

08024259                           MATIC[263.65533524], TRX[1], USD[0.00]                                                                                                                                             Yes

08024263                           DOGE[1], ETH[.04588991], ETHW[.04588991], SHIB[1401345.29147982], TRX[1], USD[100.02]

08024268                           BCH[.08486032], BTC[.00981258], DOGE[92.13269172], ETH[.18495641], ETHW[.18495641], GRT[50.4725686], LINK[1.60280356], MATIC[26.2933734], MKR[.02043804], SHIB[348577.80256553],
                                   SOL[.24648524], SUSHI[3.95423671], TRX[495.75676824], UNI[1.92272206], USD[0.00], WBTC[.00081525], YFI[.00145826]
08024269                           USD[0.00]

08024276                           CUSDT[1], SHIB[455474.56558151], USD[0.00]                                                                                                                                         Yes

08024279                           BTC[0], ETH[0], SHIB[1], USD[0.00]

08024290                           ETH[.017], ETHW[.017], SOL[.5], USD[41.36]

08024297                           BTC[.00395998], USD[0.00]

08024299                           TRX[450], USD[50.92]

08024300                           DAI[0], ETH[0], ETHW[0], SOL[0], USD[0.11], USDT[0.00000026]

08024307                           NFT (351850084645965573/Romeo #3834)[1], NFT (424193572849846415/Entrance Voucher #5931)[1], NFT (534753537787629859/Microphone #10635)[1]

08024308                           BCH[0], BTC[.0000107], USD[0.00]                                                                                                                                                   Yes

08024311                           NFT (400066728497773013/Coachella x FTX Weekend 1 #17575)[1]

08024317                           BRZ[1], USD[0.00]                                                                                                                                                                  Yes

08024320                           USD[0.00]

08024321                           CUSDT[11], USD[0.01]                                                                                                                                                               Yes

08024322                           BTC[.00022603]                                                                                                                                                                     Yes

08024327                           BRZ[1], CUSDT[2], DOGE[4.00394712], TRX[2], USD[0.00]                                                                                                                              Yes

08024330                           USD[0.00]

08024335                           CUSDT[3], SHIB[1856823.26621923], USD[0.66]

08024338                           USD[150.00]

08024341                           SHIB[23376600], USD[2.52]

08024342                           MATIC[.02221187], USD[2000.56], USDT[0]                                                                                                                                            Yes

08024343                           DOGE[1], GRT[1.00019173], USD[0.00]                                                                                                                                                Yes

08024344                           BTC[.00001634], USD[1.38]                                                                                                                                                          Yes

08024356                           USD[21.10]

08024357                           CUSDT[4073.86203083], SHIB[2190100.74463425], USD[10.01]

08024361                           USD[0.00]

08024364                           CUSDT[3], SHIB[7447086.60375648], USD[0.00]                                                                                                                                        Yes

08024366                           BTC[0], SHIB[983.21235516], USD[0.00]                                                                                                                                              Yes

08024367                           USD[2.16]                                                                                                                                                                          Yes

08024372                           ETHW[5.41452501]                                                                                                                                                                   Yes

08024376                           CUSDT[9], DOGE[3], ETHW[.16404384], LINK[16.89979642], SHIB[10], USD[0.00]                                                                                                         Yes

08024382                           CUSDT[1], MATIC[317.19482891], SHIB[25290833.04147359], TRX[2], USD[0.32]                                                                                                          Yes

08024383                           USD[27.14]                                                                                                                                                                         Yes

08024387                           CUSDT[1], USD[19.10], USDT[0.00009096]                                                                                                                                             Yes

08024410                           BTC[.001], SHIB[900000], USD[2.81]

08024413                           BAT[190.28772664], CUSDT[2], DOGE[2], ETH[.00935816], ETHW[.0092431], TRX[2675.17664684], USD[54.80], USDT[1.08554455]                                                             Yes

08024418                           CUSDT[2], GRT[10.76421938], KSHIB[139.18934455], SHIB[3032275.13213249], SOL[.81105939], TRX[1337.35255892], USD[0.02]                                                             Yes

08024432                           USD[2.00]

08024446                           CUSDT[4], NFT (407439785178472255/ Skull #5)[1], NFT (425889992179679933/Turtle neck)[1], USD[0.01]                                                                                Yes

08024447                           BAT[9.042938], USD[0.00]                                                                                                                                                           Yes

08024454                           AVAX[.54108291], BAT[1], BRZ[7], BTC[.05767929], CUSDT[3], DOGE[2779.67943177], ETH[3.10687432], ETHW[3.10687432], GRT[1], KSHIB[4003.27788393], LTC[1.10237846], SHIB[4],
                                   SOL[6.76297211], TRX[3], USD[0.08], USDT[0.00081718]
08024466                           CUSDT[4], DOGE[73.21130793], SHIB[355913.97848924], TRX[1], USD[0.00]

08024470                           CUSDT[1], SHIB[392889.00760924], USD[0.00]                                                                                                                                         Yes

08024476                           CUSDT[1], DOGE[108.74554904], SHIB[697350.069735], TRX[1], USD[0.00]

08024478                           USD[0.00], USDT[.00069584]

08024479                           USD[50.01]

08024482                           SUSHI[1.4985], USD[0.00]

08024487                           DOGE[1], MATIC[174.98490055], USD[200.00]

08024488                           USD[3.08]                                                                                                                                                                          Yes

08024495                           CUSDT[12], SHIB[12693185.88167186], TRX[1], USD[53.79]                                                                                                                             Yes
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                                                                                                                                              Customer Claims                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08024496                              USD[20.00]

08024499                              BTC[0], ETH[.000136], ETHW[.000136], USD[0.00], USDT[0.00012633]

08024503                              BRZ[2], SHIB[92.12056418], SOL[0], USD[0.01], USDT[0]                                                                                                                Yes

08024509                              USD[271.39]                                                                                                                                                          Yes

08024510                              USD[20.00]

08024515                              USD[29.02]

08024517                              BTC[0], DAI[0], USD[0.00], USDT[0.00000001], WBTC[0]

08024519                              SHIB[1400000], SOL[.02929552], USD[0.00]

08024526                              CUSDT[1], SHIB[3732377.79063195], USD[0.01]                                                                                                                          Yes

08024528                              NFT (333390965445452544/Coachella x FTX Weekend 1 #5834)[1]

08024530                              AAVE[1.73], BTC[0.00188866], DOGE[5059.738], USD[2.24], USDT[0.00000001]

08024531                              DOGE[73.79136039], SHIB[440141.08391878], USD[0.00]

08024535                              CUSDT[1], SHIB[14767140.76754698], USD[0.00]

08024551                              USD[20.00]

08024553                              SOL[24.94055725], USD[0.00]

08024563                              USD[10.00]

08024576                              SOL[0.01960000], TRX[1], USD[0.01]

08024577       Contingent, Disputed   USD[0.00]

08024578                              LINK[0], MATIC[19.20185301], SHIB[0], SOL[0], SUSHI[0], USD[0.00]

08024585                              BRZ[1], BTC[.07131571], ETH[.25101601], ETHW[.25082365], GRT[1.00298163], USD[0.01]                                                                                  Yes

08024595                              BF_POINT[100], CUSDT[1], DOGE[102.61564152], SHIB[1070962.05815568], TRX[1], USD[0.00]

08024598                              ALGO[227.64400549], SHIB[1], USD[0.00]                                                                                                                               Yes

08024603                              SHIB[27.16530995], SUSHI[.85121717], USD[0.00]                                                                                                                       Yes

08024606                              BCH[.0009], BTC[.0021], GRT[3], SHIB[6495000], USD[0.65]

08024609                              ETHW[.00072358], NFT (401218037590681439/The Hill by FTX #5399)[1], NFT (510870198164873896/FTX Crypto Cup 2022 Key #2155)[1], USD[0.00]

08024610                              CUSDT[118.2742416], DOGE[40.40267658], ETH[.01821488], ETHW[.01798718], MATIC[5.23475283], SHIB[283663.06865458], TRX[80.38725712], USD[18.71]                       Yes

08024617                              CUSDT[1], DOGE[157.41893169], KSHIB[693.21504681], SHIB[152442.91792296], TRX[1], USD[0.00]                                                                          Yes

08024621                              USD[25.00]

08024623                              USD[108.38]                                                                                                                                                          Yes

08024629                              BRZ[1], CUSDT[2], SUSHI[.00007234], TRX[939.51451943], USD[0.00]                                                                                                     Yes

08024642                              CUSDT[2], DOGE[335.49500984], KSHIB[1778.71155328], TRX[46.95295224], USD[0.00]

08024656                              USD[21.71]                                                                                                                                                           Yes

08024660                              BRZ[1], CUSDT[7], ETH[.6997915], ETHW[.6997915], LINK[7.94286868], MATIC[137.35117671], SHIB[9153643.1905825], SOL[2.13660563], TRX[2], UNI[1], USD[0.20], USDT[1]

08024661                              LTC[.48], SOL[.45954], USD[1.55]

08024662                              USD[77.33]

08024665                              SOL[0], USD[0.04]                                                                                                                                                    Yes

08024669                              CUSDT[1], SHIB[1], USD[0.01]

08024677                              USD[27.14]                                                                                                                                                           Yes

08024678                              LINK[4.7], SHIB[399600], SOL[.80969], USD[1.74]

08024679                              BAT[1], BF_POINT[100], BTC[0.60044978], DOGE[0], ETH[0], LINK[1.0001388], NEAR[0], SHIB[187.37835617], SOL[251.73992823], USD[0.00], USDT[0]                         Yes

08024682                              BRZ[31.08393154], DOGE[1743.40961486], SHIB[5287004.69934142], TRX[1056.85482914], USD[0.06]                                                                         Yes

08024690                              USD[20.00]

08024695                              SHIB[6962818.54894861], TRX[1], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08024697                           NFT (294287675220613620/ Knowledge is Power 知識即力量)[1], NFT (297008164940259249/Rainbow is there 虹的存在 #2)[1], NFT (303545493144389791/Quiet 灰藍色)[1], NFT
                                   (306096621434693329/ 金蝶川梅湖 Gold Butterfly fly Plum lake)[1], NFT (308933865045216842/ZOO 發現動物園)[1], NFT (309066272864438371/Mistake from Sky 雨之偏誤)[1], NFT
                                   (311853651318310764/Time 光陰)[1], NFT (316177848175153652/Some Wine 他的酒櫃)[1], NFT (318419906503402657/S. H. A. N. A. gold)[1], NFT (322067656258738141/Before Christ.b)[1], NFT
                                   (324250800495134584/Sea & Sea 海之海)[1], NFT (333400675633651862/Saterday 星期六)[1], NFT (334972771388780792/SHANA.universe)[1], NFT (343431812913075488/Into the Woman
                                   女子的海)[1], NFT (345871427453060024/Rainbow is there 虹的存在)[1], NFT (362147364233812442/Tellus 女神)[1], NFT (363701954822897893/the Woman with her Line 女人與她的外輪廓 #2)[1],
                                   NFT (368521389495091433/the Color Man 男色)[1], NFT (372096943137411663/Before Christ.multi)[1], NFT (373431584260253891/思念的金蝶與梅湖 missing Gold Butterfly and Plum lake)[1], NFT
                                   (375131320546669309/S. H . A. N. A.forest)[1], NFT (380608515395578651/Sea & Sea 在海之海 )[1], NFT (380856223182793575/S. H. A. N. A.eye)[1], NFT (381799681354597992/S. H. A. N.
                                   A. pink)[1], NFT (387384252719979553/Dinging with Wine晚餐與紅酒)[1], NFT (392380858511893024/BC garden 野人見花)[1], NFT (393305118654431104/BC Apple 創世紀蘋果)[1], NFT
                                   (394678098021893401/金蝶梅湖盼 Gold Butterfly with Plum lake)[1], NFT (398152579259191043/圓滿 Planet DD)[1], NFT (401756355436297530/around Moon 月光皎潔)[1], NFT
                                   (405203890331562131/元星球 Planet D)[1], NFT (406478618072792351/Marine 魚)[1], NFT (406587852070571553/Move on 感動)[1], NFT (407089703728346112/where's the Glass shoes?
                                   尋找玻璃鞋)[1], NFT (407159564080722822/Some Wine 你的酒櫃)[1], NFT (408529013032709117/something Coming 風起了)[1], NFT (410507158588963131/Christmas 聖誕)[1], NFT
                                   (415795823188559071/Some Wine 我的酒櫃)[1], NFT (416065262846699331/BC garden 野人花園)[1], NFT (416416319573670424/BC heart愛在公元前)[1], NFT (416620631952289764/BC girl
                                   野人女孩)[1], NFT (418981248167565101/S. H. A. N. A.naked)[1], NFT (420824149437974676/方滿 Planet SS)[1], NFT (421867883713022799/Together 在一起吧 #2)[1], NFT
                                   (424968111728989550/Door after Door after Door 門)[1], NFT (428714942228256615/Mermaid 人魚)[1], NFT (431493278347757145/Air 空氣)[1], NFT (432331351718399668/Door after Door 門)[1],
                                   NFT (434005531493798252/BC garden 野人見蝶)[1], NFT (435012677471423619/Mistake from Sky 雨之偏誤 S. H. A. N. A.)[1], NFT (436307122671068107/Time of Opera 時間魅影)[1], NFT
                                   (450132161567929017/the Woman with Her Heart 女人與她的靈魂)[1], NFT (454342961407908286/方星球 Planet Ｓ)[1], NFT (455036946521697435/S. H. A. N. A.)[1], NFT
                                   (463317086111214941/Space 宇宙)[1], NFT (463806744224006892/S. H. A. N. A.skin)[1], NFT (464282762903412250/Sea & Sea 深海之海)[1], NFT (466421326767143206/So many Heart
                                   單細胞愛情)[1], NFT (468716169221764599/雙瓶記 Bottle story)[1], NFT (470190045389757268/BC garden blossom time 野人花園)[1], NFT (480570966791834999/the Woman with her Line
                                   女人與她的外輪廓)[1], NFT (484003527147630477/川星球 Planet Ｒ)[1], NFT (484179093921089914/Forest there 遠方是林)[1], NFT (484750163779374920/Together 在一起吧)[1], NFT
                                   (485248342773738382/S. H. A. N. A.africa)[1], NFT (487658505906699588/Christmas 雪 聖誕)[1], NFT (487853273528603385/Before Christ.max)[1], NFT (490942506914159058/Crystal 水晶)[1], NFT
                                   (495721366017996317/Crystal black 水晶)[1], NFT (496059358861312668/BC love 創世紀)[1], NFT (499884865278070687/The War 世紀之戰)[1], NFT (501759518956039035/Canine Tooth
                                   臉上有虎牙的女孩)[1], NFT (501841913822419512/BC run 奔在公元前)[1], NFT (510383308177984455/BC Apple 創世紀樂園)[1], NFT (511036046851789510/Time Time 光陰)[1], NFT
                                   (513026766052902351/GA Fami.)[1], NFT (515555859004067953/Life 生命)[1], NFT (516232359906721555/Dinging with Moon 晚餐與月)[1], NFT (520912453690669425/Some Wine 他的酒櫃 #2)[1],
                                   NFT (527350681547082880/BC girl 野人女孩 #2)[1], NFT (528608299063838926/BC elephant 創世象 )[1], NFT (532692064231929044/small 親愛的我把孩子縮小了)[1], NFT (533060004002781106/want
                                   Apple? 要不要吃蘋果？)[1], NFT (535397131521141253/Paradise 天堂)[1], NFT (540217507613242626/S. H. A. N. A.red)[1], NFT (542172966359585955/Wave on the table 花與浪潮)[1], NFT
                                   (542359851987814281/BC garden want to fly 野人花園)[1], NFT (545019177522476685/Before Christ .c)[1], NFT (546327089736867595/Dream)[1], NFT (550903040404481282/Angel 天使)[1], NFT
                                   (551527768190234290/Sea on the Sky 天空之海)[1], NFT (556464042068095962/ZOO 動物園)[1], NFT (557933241401976725/Sunday 星期日)[1], NFT (566610970730437571/Before Christ.p)[1], NFT
                                   (572107777934855110/Happy )[1], NFT (575798007509685129/Sea Far 遠方是海)[1], USD[54.00]
08024704                           CUSDT[2], ETH[.02508499], ETHW[.02477035], SHIB[1521222.79086861], SOL[1.06671772], TRX[2], USD[108.56]                                                                              Yes

08024708                           CUSDT[0], DOGE[0], ETH[.00000001], ETHW[0], GRT[0], MATIC[0], MKR[0], SHIB[206420.85560486], TRX[0], USD[0.01], YFI[0]                                                              Yes

08024716                           USD[1.09]                                                                                                                                                                           Yes

08024719                           SHIB[25091700], USD[200.95]

08024722                           CUSDT[498.82753179], ETH[.00272629], ETHW[.00269893], GRT[11.63499655], LTC[.11185768], MATIC[14.30055868], SOL[.05782287], SUSHI[1.08882765], USD[0.00]                            Yes

08024728                           BRZ[1], BTC[0.00000002], CUSDT[0.00666413], DOGE[8.00921072], SHIB[30], TRX[6], USD[0.00], USDT[0.00010863]                                                                         Yes

08024732                           CUSDT[1], SHIB[695410.29207232], USD[0.01]

08024745                           USD[0.01]                                                                                                                                                                           Yes

08024757                           USD[0.66]

08024759                           CUSDT[2], USD[0.02]                                                                                                                                                                 Yes

08024760                           CUSDT[1], SHIB[7581539.01821088], USD[0.00]                                                                                                                                         Yes

08024764                           USD[1.93]                                                                                                                                                                           Yes

08024765                           USD[200.00]

08024772                           ETHW[.045954], SOL[60.41053], USD[0.00], USDT[0]

08024779                           ETH[0], ETHW[0], TRX[.000001], USD[0.00], USDT[0.00000259]

08024780                           SHIB[999900], TRX[1198], USD[294.35]

08024789                           USD[24.43]

08024790                           USD[16.28]                                                                                                                                                                          Yes

08024795                           CUSDT[2], DOGE[1], SHIB[10805511.01579222], TRX[1], USD[0.00]

08024809                           CUSDT[4], DOGE[1511.7715951], SHIB[17373150.66266505], USD[13.66]                                                                                                                   Yes

08024816                           AVAX[13.32699884], BTC[.01627463], DOGE[1], NEAR[78.19171952], USD[0.00]

08024827                           SHIB[23458404.22272157]                                                                                                                                                             Yes

08024829                           BTC[0.00008077], DOGE[1], SOL[4.98], USD[0.07], USDT[0.00058106]

08024831                           DOGE[.15111289], XRP[40.563779]

08024832                           USD[0.00]

08024834                           CUSDT[5], DOGE[1], SOL[0], USD[0.00]                                                                                                                                                Yes

08024836                           ETH[.00084], ETHW[.00084], USD[1883.59]

08024842                           CUSDT[3], DOGE[1], SHIB[7919681.24524049], SOL[6.85332557], TRX[60.65203851]                                                                                                        Yes

08024844                           AAVE[0], BAT[0], BCH[0], BRZ[0], BTC[0], CUSDT[0], DAI[0], DOGE[0], ETH[0], ETHW[0], KSHIB[0], LTC[0], MATIC[0], MKR[0], PAXG[0], SHIB[0], SOL[0], USD[0.17], USDT[0], YFI[0]       Yes

08024851                           DOGE[98.62456082], ETH[0.00021210], ETHW[0.00021210], USD[0.00]                                                                                                                     Yes

08024852                           BTC[.00000229]                                                                                                                                                                      Yes

08024853                           DOGE[54.80540955], USD[10.00]

08024858                           USD[10.86]                                                                                                                                                                          Yes

08024862                           CUSDT[1], SOL[.48690872], USD[0.00]

08024870                           BTC[.1616382], SOL[357.39], USD[5.10]

08024871                           USD[0.00]

08024873                           CUSDT[2], DOGE[2], SHIB[29473029.67597253], TRX[1], USD[0.00]                                                                                                                       Yes

08024874                           CUSDT[1], SHIB[1305509.81178507], TRX[1], USD[0.00]                                                                                                                                 Yes

08024889                           BTC[.00016323], USD[0.00]

08024895                           CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                        Yes
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                                                                                                                                            Customer Claims                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08024896                              BF_POINT[100]

08024897                              BTC[.0266378], ETH[.000894], ETHW[.000894], USD[1.04]

08024898                              BCH[.16126406], BRZ[303.08484193], BTC[.00178267], CUSDT[6], DOGE[410.90660595], MKR[.03618146], SHIB[1059110.94172634], USD[0.63]                     Yes

08024899                              BAT[1.0159523], BRZ[4], BTC[.00000014], CUSDT[2], DOGE[4], GRT[1], SHIB[1], SOL[.00003808], TRX[3], USD[0.00]                                          Yes

08024902                              USD[10.00]

08024903                              CUSDT[5], KSHIB[558.7111833], SHIB[1867980.87528707], USD[0.06]                                                                                        Yes

08024905                              CUSDT[1], DOGE[72.71237327], KSHIB[44.60203398], MATIC[.5994274], MKR[.01349218], SHIB[843607.69413965], SOL[.40156559], USD[0.01]                     Yes

08024908                              USD[10.00]

08024911                              NFT (359218821807611149/Warriors 75th Anniversary Icon Edition Diamond #2818)[1]

08024913                              BTC[.10989495], DOGE[1], ETH[1.57825945], ETHW[1.5778305], LTC[33.40172349], SOL[1.04246909], USD[59760.62]                                            Yes

08024914                              CUSDT[1], SHIB[3045860.22349657], USD[0.00]                                                                                                            Yes

08024923                              CUSDT[1], DOGE[1], SOL[0], TRX[1], USD[7.46]                                                                                                           Yes

08024930                              ETH[0], SHIB[6900000], SOL[0], USD[0.22]

08024935                              ETH[.56099059], ETHW[.56099059], SOL[10.26410819], USD[40.41]

08024936                              SHIB[6062745.99327292], TRX[1], USD[108.56]                                                                                                            Yes

08024940                              USD[3.37]

08024943                              SHIB[700967.33492219], TRX[1], USD[0.01]

08024945                              SOL[138.1876106]                                                                                                                                       Yes

08024948                              BCH[0], USD[0.34]

08024953                              USD[500.00]

08024954                              BTC[0.00665924], USD[0.00]

08024961                              BTC[.00230261], CUSDT[493.8022827], DOGE[2], USD[0.03]                                                                                                 Yes

08024962                              BRZ[2], BTC[.01328973], CUSDT[6], DOGE[1], ETH[.0594838], ETHW[.05874508], SHIB[12821145.32519759], TRX[2], USD[61.74]                                 Yes

08024964                              ETH[.00016401], ETHW[.00016401], USD[179.28]

08024970                              BTC[.00073604], CUSDT[3], DOGE[1], SHIB[9976437.78830329], SOL[.43686195], USD[60.02]

08024976                              BRZ[1], BTC[.00231227], CUSDT[5], DOGE[2], GRT[117.66519224], SHIB[5023428.49540486], SOL[.00005789], USD[0.02]                                        Yes

08024988                              KSHIB[6949.68663168], TRX[1], USD[0.01]

08024997                              CUSDT[1], LINK[7.48399149], TRX[2441.36910429], USD[0.11]                                                                                              Yes

08024998       Contingent, Disputed   BTC[0], USD[200.00], USDT[19.06889855]

08025001                              DOGE[1], MATIC[0], SHIB[1], USD[65.69]                                                                                                                 Yes

08025005                              USD[20.00]

08025009                              CUSDT[2], DOGE[1], MATIC[1615.18155586], NFT (384609818559012576/ALPHA:RONIN #160)[1], SOL[7.73237383], TRX[1], USD[0.06]                              Yes

08025010                              BRZ[1], CUSDT[2], TRX[1], USD[0.00]                                                                                                                    Yes

08025013                              USD[0.00]

08025014                              CUSDT[2], DOGE[1], ETH[0], MATIC[.0000156], USD[0.00]                                                                                                  Yes

08025020                              BTC[.00808751], CUSDT[1], USD[0.00]

08025022       Contingent, Disputed   ALGO[9.17289099], AUD[0.00], BAT[0], DOGE[0], GRT[26.17261931], KSHIB[0], SUSHI[0], TRX[0], USD[0.00]

08025025                              SHIB[1898100], USD[4.05]

08025030                              BTC[0], CUSDT[0], NFT (355852161028256349/Sigma Shark #1246)[1], NFT (460388596743407669/Sigma Shark #2099)[1], SHIB[0], SOL[0], SUSHI[0], USD[0.02]

08025065                              BTC[0], ETH[0.00049700], ETHW[0.00049700], SOL[.01], UNI[56.45432928], USD[0.61], USDT[0]

08025069                              CUSDT[2], TRX[1], USD[0.00]

08025074                              USD[27.14]                                                                                                                                             Yes

08025075                              CUSDT[1], LTC[.1424025], USD[0.00]                                                                                                                     Yes

08025078                              BTC[.00061028], CUSDT[1], USD[12.50]

08025079                              DOGE[3], SHIB[3985219.86064855], USD[0.00]

08025080                              BTC[.22000055], CUSDT[2], DOGE[3], ETH[1.73096285], ETHW[1.57921764], SHIB[3], TRX[4], USD[2.17]                                                       Yes

08025094                              BTC[.0000147], USD[3984.80]

08025095                              CUSDT[1], SOL[.9431733], USD[0.00]                                                                                                                     Yes

08025099                              USD[0.00]

08025105                              USD[21.51]                                                                                                                                             Yes

08025116                              CUSDT[1], SHIB[564283.85494381], USD[0.01]                                                                                                             Yes

08025122                              USD[54.29]                                                                                                                                             Yes

08025124                              TRX[8786.38688]

08025126                              BTC[.11688057], ETH[1.50859885], ETHW[1.50859885], SOL[6.23804244], SUSHI[127.2443139], USD[0.00]

08025128                              BTC[.0719942], ETH[.602928], ETHW[.602928], USD[3.56]

08025143                              BTC[.0005], TRX[.00001], USDT[5.355189]

08025145                              USD[92.94]                                                                                                                                             Yes

08025148                              USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08025157                              CUSDT[2], SOL[1.53307387], TRX[2], USD[175.00]

08025180       Contingent, Disputed   BTC[0], ETH[0], SOL[0], USD[0.00], USDT[0.00000257]

08025185                              BAT[1], DOGE[1], TRX[1], USD[0.00]

08025186                              BRZ[60.44721691], CUSDT[247.28444858], SHIB[192479.93276945], USD[3.25]                                                                                                              Yes

08025195                              USD[0.04]                                                                                                                                                                            Yes

08025201                              SUSHI[89.91], USD[50.21]

08025202                              CUSDT[1], SHIB[305799.15235518], USD[0.00]                                                                                                                                           Yes

08025206                              AAVE[.03688243], BTC[.00018451], CUSDT[4], DOGE[1], ETH[.00256802], ETHW[.00254066], LTC[.05913859], SHIB[200895.21886005], SOL[.26402988], TRX[1], USD[0.00]                        Yes

08025209                              USD[3000.00]

08025212                              SOL[.00365059]

08025223                              CUSDT[1], DOGE[63.35563913], TRX[101.06297397], USD[0.00]                                                                                                                            Yes

08025224                              CUSDT[1], SHIB[448722.32490772], USD[0.00]                                                                                                                                           Yes

08025228                              BTC[0.10963476], DAI[0], MATIC[0], SHIB[1], SOL[0], USD[0.00], USDT[0.00000001]                                                                                                      Yes

08025237                              SOL[37.83213], USD[0.76]

08025241                              USD[0.13]                                                                                                                                                                            Yes

08025246                              CUSDT[1], SHIB[378076.995715], USD[0.00]                                                                                                                                             Yes

08025251                              BTC[.00659351], CUSDT[4], DOGE[700.50805696], ETH[.09844607], ETHW[.09844607], LINK[3.06656557], LTC[1.80798947], SOL[1.06512911], TRX[1], USD[50.02]

08025256                              CUSDT[1], DOGE[65.21709357], USD[2.00]

08025257                              CUSDT[1], SUSHI[1.26384717], USD[0.00]                                                                                                                                               Yes

08025261                              BTC[.00130972], CUSDT[5], DOGE[98.81981041], ETH[.00616849], ETHW[.00608641], SHIB[1617028.46480071], USD[0.00]                                                                      Yes

08025262                              CUSDT[6], SHIB[918357.67058823], SOL[.10939994], USD[0.00]

08025265                              BTC[.0312], DOGE[.424], ETH[.418], ETHW[.418], SHIB[118600000], USD[177.33]

08025266                              AAVE[.04042079], BRZ[230.89027357], CUSDT[4], SHIB[418109.87371], TRX[256.89513519], USD[0.00]                                                                                       Yes

08025271                              DOGE[70.49996671], SOL[.00606641], USDT[.04409457]

08025272                              SHIB[10600000], USD[2.86]

08025277                              BTC[.00069558], CUSDT[2], DOGE[1], ETH[.00332974], ETHW[.0032887], SHIB[150926.84208771], SOL[.10486048], USD[0.08]                                                                  Yes

08025281                              BCH[.02511626], CUSDT[1], DOGE[1], ETH[.00504469], ETHW[.00504469], USD[0.00]

08025292                              SHIB[87300], USD[0.96]

08025293                              AVAX[5.5559713], CUSDT[1], DOGE[1], SHIB[906948.21567204], SOL[4.93510502], TRX[1381.46552958], USD[0.00]

08025309                              USD[0.00], USDT[1]

08025310                              BTC[.0020979], MATIC[40], USD[1.58]

08025314                              ETH[.003996], ETHW[.003996], SOL[2.12787], USD[2.01]

08025326                              CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                         Yes

08025331                              SHIB[99900], USD[4.01]                                                                                                                                                               Yes

08025341                              CUSDT[1], TRX[1], USD[12.19]                                                                                                                                                         Yes

08025345                              CUSDT[2], KSHIB[17.585525], SHIB[829946.12757112], SOL[.21910363], USD[28.96]                                                                                                        Yes

08025348                              BRZ[1], SOL[1.48016185], TRX[1], USD[0.00]                                                                                                                                           Yes

08025351                              BRZ[3], CUSDT[14], DOGE[524.57493143], GRT[1], SHIB[44], SOL[.00000002], TRX[17.75630185], USD[0.97], USDT[0]                                                                        Yes

08025352                              DOGE[1], ETH[.11270634], ETHW[.11159407], USD[0.75]                                                                                                                                  Yes

08025355                              BTC[.0000858], DOGE[106.893], ETH[.000354], ETHW[.000354], SHIB[499500], USD[5709.94]

08025356                              CUSDT[.00003574], DOGE[1], KSHIB[79.15878904], NFT (348688419661038048/Ancient Civilization #3)[1], SHIB[79214.19518377], USD[34.64]

08025358                              SHIB[10000013.09066925], USD[0.00], USDT[0]

08025359                              USD[200.00]

08025366                              ALGO[70.27072246], BRZ[291.28821976], CUSDT[2845.57319643], DOGE[1935.82249874], KSHIB[1282.93361846], NFT (415153203076678640/Skull Love #38)[1], SHIB[4074173.43954495],           Yes
                                      TRX[609.95412413], USD[8.17]
08025371                              USD[0.00]                                                                                                                                                                            Yes

08025377                              CUSDT[3], DOGE[1], USD[56.80]                                                                                                                                                        Yes

08025381                              CUSDT[2], SOL[4.30498913], USD[0.00]                                                                                                                                                 Yes

08025384                              USD[10.86]                                                                                                                                                                           Yes

08025385                              CUSDT[1], TRX[1], USD[0.01]

08025390                              BTC[.0654774], SHIB[100000], SOL[.00692], USD[0.84]

08025391                              BTC[0.02014535], KSHIB[29.97], USD[0.01]

08025397                              AVAX[3.2], BTC[.0099], ETH[.151], MATIC[540], SOL[9.27], USD[1.33]

08025409                              CUSDT[2], KSHIB[139.80914374], SOL[.31536317], USD[0.00]                                                                                                                             Yes

08025419                              USD[0.01]

08025421                              AVAX[.0013485], BCH[0.00424496], BRZ[.51059811], DOGE[4.07172118], ETH[.00051107], ETHW[.00051107], GBP[0.02], PAXG[0.00126998], SHIB[17969.34118298], TRX[1.11259787], USD[0.09],   Yes
                                      USDT[0]
08025427                              USD[542.77]                                                                                                                                                                          Yes

08025430                              LTC[3.56809039]

08025435                              DOGE[1], SOL[0], TRX[0], USD[0.00], USDT[0]                                                                                                                                          Yes
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08025437                              BTC[0], LINK[0], LTC[.0013135], SOL[0], UNI[0], USD[0.66], WBTC[0]

08025446                              BRZ[.00487871], BTC[0], DOGE[0], ETH[0.00000463], ETHW[0.00000021], GRT[.00279589], LINK[.00015585], NFT (295111017745590788/ApexDucks #1474)[1], NFT                                  Yes
                                      (303048485215285241/ApexDucks #5058)[1], NFT (327522699561911913/Carmen #3)[1], NFT (330832607001835417/Rox #181)[1], NFT (332976654178787353/ApexDucks #7317)[1], NFT
                                      (350546168592776203/ApexDucks #1027)[1], NFT (350947102801878176/The dolphins make me cry)[1], NFT (353666712454499902/ApexDucks #5144)[1], NFT (354305764665630969/Life is strange
                                      🦋)[1], NFT (355615966503570211/Rubber Duckie #0040 - Pan African colors)[1], NFT (358852305148144664/Baby Blinkin Mushy #001 - Red Top )[1], NFT (364880941729922932/ApexDucks
                                      #1272)[1], NFT (369932171775662740/Popshach)[1], NFT (380487331371894038/ApexDucks #2420)[1], NFT (384123904174175521/Rox #199)[1], NFT (384182558198941504/Tortoise)[1], NFT
                                      (402896921409362386/#7 (G))[1], NFT (405447647144099866/Carmen #20)[1], NFT (408357482926152701/Medical Cannabis #0004)[1], NFT (409329428444012874/#9 (I))[1], NFT
                                      (410984481514879218/Medical Cannabis #0002 )[1], NFT (411069096302456690/ApexDucks #5670)[1], NFT (419202017906423750/Rox #147)[1], NFT (420536628489016762/Carmen #12)[1], NFT
                                      (421867514354682543/Hare)[1], NFT (423399336980702135/ApexDucks #6994)[1], NFT (429468200168900412/Shroom Head)[1], NFT (435223940110591799/ApexDucks #5357)[1], NFT
                                      (448151732631704498/Sigma Shark #523)[1], NFT (460012934700301926/ApexDucks #5587)[1], NFT (461726654912948887/ApexDucks #2353)[1], NFT (467438518034614316/ApexDucks #6679)[1],
                                      NFT (473262778490479191/Rox #098)[1], NFT (481993601289922485/Rubber Duckie #0054)[1], NFT (493632802985720912/ApexDucks #1256)[1], NFT (502781846116923604/Carmen #31)[1], NFT
                                      (503409435968504343/ApexDucks #7553)[1], NFT (503632325772435783/Rubber Duckie #0063)[1], NFT (505161253863602925/Carmen #10)[1], NFT (516865854753377651/Carmen #21)[1], NFT
                                      (524771079073747652/Goody Gumdrops #001)[1], NFT (528638998261206246/ApexDucks #1225)[1], NFT (530007392691946583/Carmen #17)[1], NFT (532926058997397527/Carmen #7)[1], NFT
                                      (533418727149383061/Carmen #11)[1], NFT (541462123003364061/Medical Cannabis #0005)[1], NFT (541805101859295716/Rubber Duckie #0096)[1], NFT (542868461418700965/Rox #077)[1], NFT
                                      (549327993610601988/ApexDucks #7225)[1], NFT (567722753722697494/#5 (E))[1], SHIB[10], SOL[0.00441882], TRX[4.04718802], USD[0.00], USDT[0.00000013]

08025452                              CUSDT[2], SHIB[1459427.90426152], SOL[.10326912], USD[0.01]

08025454                              SHIB[2764340.0138217], TRX[1], USD[0.01]

08025457                              BAT[1], BRZ[1], DOGE[1494.47342312], KSHIB[.48577796], MATIC[.22413409], SHIB[10331749.59763278], TRX[285.79543896], USD[0.00]                                                         Yes

08025458                              USD[80.72]

08025461                              SOL[0], USD[0.00]

08025466       Contingent, Disputed   BTC[0], ETH[0], USD[0.00]

08025472                              BAT[30.29279212], BRZ[4.54205982], CUSDT[103.55397187], DAI[4.52390202], DOGE[48.29902359], GRT[4.59206944], LINK[.0037362], LTC[.00018413], MATIC[.09739438], SHIB[252837.4950509],   Yes
                                      SOL[2.00662478], SUSHI[.00010034], TRX[210.63794757], USD[8.61]
08025474       Contingent, Disputed   USD[0.00]

08025476                              CUSDT[1], GRT[115.03011616], USD[0.00]                                                                                                                                                 Yes

08025479                              CUSDT[5], SHIB[.00000076], USD[0.01]                                                                                                                                                   Yes

08025483                              BRZ[1], SHIB[69.6418103], TRX[1], USD[59.46]                                                                                                                                           Yes

08025494                              USD[0.79]

08025495                              NFT (506563602423739875/Fancy Frenchies #7240)[1], SHIB[0], SOL[0], USD[0.00]                                                                                                          Yes

08025496                              BAT[1], BRZ[1], DOGE[1], USD[0.00]                                                                                                                                                     Yes

08025509                              BRZ[5], CUSDT[14], DOGE[11.30642103], ETHW[.52684962], GRT[1.00170923], SHIB[1], TRX[10], USD[20000.00]                                                                                Yes

08025514                              DOGE[2], ETHW[1.21397432], SHIB[2], TRX[4], USD[1.00]

08025515                              BTC[0.00345365], SOL[.13], USD[250.01]

08025523                              USD[0.32], USDT[0]

08025531                              SOL[.00999], USD[0.01]

08025534                              AVAX[.46991746], BTC[0], ETH[0], SOL[0], USD[2.69], USDT[0.00880530]                                                                                                                   Yes

08025536                              ALGO[103.59357849], BAT[53.39014141], BRZ[1], CUSDT[1], DOGE[3], ETH[0.00838060], ETHW[0.00827116], MATIC[53.15553895], SHIB[6], SOL[2.10110919], UNI[.77697925], USD[0.00],           Yes
                                      USDT[0.25594751]
08025538                              USD[6.81]

08025539                              USD[0.00]

08025543                              LINK[6.4], SOL[1.47], USD[1.88]

08025555                              BCH[.0161556], BTC[.02981992], DOGE[36.50419477], ETH[0.04700200], ETHW[0.04700200], GRT[8.97794104], KSHIB[155.44358781], LINK[3.55154915], LTC[.09514968], MATIC[25.26573594],
                                      SHIB[138908.1816919], SOL[1.15495271], USD[0.28]
08025556                              USD[150.12]

08025564                              USD[0.06]

08025570                              NFT (427737273187882484/Divine Soldier #7144)[1], NFT (474154257817765904/Astral Apes #1068)[1], SOL[.6904814], TRX[1], USD[0.01]                                                      Yes

08025574       Contingent, Disputed   BAT[1.01585017], SHIB[64.92389469], TRX[4244.44748067], USD[0.00]                                                                                                                      Yes

08025581                              BTC[0], USD[0.01]

08025590                              SHIB[7399500], USD[0.44]

08025591                              BTC[.00162447], CUSDT[1], USD[0.00]

08025592                              USD[8.40]

08025596                              CUSDT[1], KSHIB[694.57815073], SHIB[695603.78408458], TRX[1], USD[0.00]

08025599       Contingent, Disputed   USD[0.00]

08025601                              SHIB[150162.50611676], USD[0.00]                                                                                                                                                       Yes

08025605                              BRZ[1], DOGE[2], TRX[1], USD[0.00]                                                                                                                                                     Yes

08025607                              BTC[.0101898], SOL[.10367], USD[4.23]

08025608                              ETH[.01075774], ETHW[.01075774], LTC[.37237562], TRX[395.33048284], USD[0.01]

08025610                              USD[0.09]

08025615                              BTC[.05062994], ETH[.00069459], ETHW[.00069459], SOL[10.926995], USD[0.00]

08025623                              CUSDT[2], ETH[.04682364], ETHW[.04682364], SHIB[5633555.79812604], TRX[2], USD[25.00]

08025626                              ETH[.24925928], ETHW[.24906569]                                                                                                                                                        Yes

08025634                              CUSDT[1], SHIB[765368.39101773], USD[0.01]                                                                                                                                             Yes

08025635                              CUSDT[1], SHIB[1394116.8269901], USD[0.00]

08025638                              CUSDT[2], GRT[.00370214], SHIB[64.52574873], TRX[1], USD[25.51]                                                                                                                        Yes

08025640                              MATIC[269.73], SOL[1.85], TRX[63.936], USD[0.04], USDT[.01325998]
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                                                                                                                                         Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08025641                           ETH[.00073782], ETHW[.00073782], USD[0.89], USDT[4.57005]

08025642                           BRZ[2], CUSDT[5], DOGE[2.00636195], TRX[2], USD[0.11], USDT[0.00008227]                                                                                                                Yes

08025649                           USD[0.60]

08025653                           CUSDT[1], SHIB[1389274.79855515], USD[0.00]

08025655                           DOGE[1], USD[0.00]                                                                                                                                                                     Yes

08025663                           USD[0.35]

08025665                           SOL[0]

08025670                           BTC[.00157942]

08025680                           USD[0.00]

08025682                           USD[0.00]

08025684                           SHIB[6793200], USD[2.21]

08025692                           USD[0.00]

08025716                           BTC[.00015179], USD[0.00]

08025719                           CUSDT[5], DOGE[1], TRX[1], USD[0.00]                                                                                                                                                   Yes

08025722                           KSHIB[.14593957], USD[18.02]                                                                                                                                                           Yes

08025727                           KSHIB[700.13449583], TRX[1], USD[0.01]                                                                                                                                                 Yes

08025734                           CUSDT[2], ETH[.00746308], ETHW[.00736732], USD[0.00]                                                                                                                                   Yes

08025736                           USD[1.02], USDT[0.00571258]

08025740                           BTC[.01492921], MATIC[872.97903014], SHIB[72183091.87218901], SOL[13.68393216]                                                                                                         Yes

08025744                           DOGE[3.60006982], SHIB[6937836.99163133], USD[0.00]

08025746                           USD[0.01]

08025750                           KSHIB[139.74988404], USD[0.00]

08025754                           USD[5.38]

08025766                           KSHIB[142.54972419], USD[0.00]

08025774                           BTC[.00000471]                                                                                                                                                                         Yes

08025779                           SHIB[8791200], USD[0.71]

08025788                           CUSDT[1], LINK[1.04290891], NFT (445794455613094977/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #154)[1], USD[0.40]                                 Yes

08025798                           NFT (316745830498655092/The Hill by FTX #6438)[1], NFT (333113184883222806/2974 POAP #27)[1], NFT (374595249444453806/2974 Floyd Norman - OKC 6-0159)[1], NFT
                                   (405166019269350132/Exclusive 2974 Collection Merchandise Package #4512 (Redeemed))[1], NFT (433697849419435478/Saudi Arabia Ticket Stub #2053)[1], NFT (444505687034856025/Birthday
                                   Cake #0849)[1], NFT (488476114364322533/FTX Crypto Cup 2022 Key #2632)[1], NFT (506252188063263281/Birthday Cake #0779)[1], NFT (550674542499918958/2974 Floyd Norman - OKC 3-
                                   0241)[1], USD[0.74]
08025799                           ETH[.00000001], SHIB[4.11677282], USD[0.00], USDT[0]                                                                                                                                   Yes

08025815                           AAVE[7.77], LINK[6.10374572], NFT (398130381346119564/3D CATPUNK #5629)[1], SHIB[2600000], SOL[27.08118584], USD[24.71]

08025816                           DOGE[1], SHIB[1], USD[0.00]                                                                                                                                                            Yes

08025834                           CUSDT[494.3604406], ETH[.00423355], ETHW[.00417883], SHIB[1652544.94185791], USD[0.01]                                                                                                 Yes

08025846                           CUSDT[5], SHIB[3.49022078], TRX[190.71640712], USD[0.00]                                                                                                                               Yes

08025853                           USD[1.58]

08025854                           USD[216.88]                                                                                                                                                                            Yes

08025856                           CUSDT[2], MATIC[410.62174045], TRX[2], USD[0.00]

08025859                           BTC[0.00389800], USD[0.00]

08025861                           ALGO[17.27697289], BRZ[67.69400791], BTC[0.00041107], CUSDT[521.65175401], DAI[11.62614629], ETH[.00307646], ETHW[.00303539], PAXG[.00576695], SHIB[4], SOL[.02479619], USD[34.83],    Yes
                                   USDT[0]
08025872                           CUSDT[1], GRT[217.64432202], USD[0.00]                                                                                                                                                 Yes

08025875                           BAT[1], BRZ[2], BTC[.06531547], CUSDT[1], DOGE[2], ETH[1.52929299], ETHW[1.52865075], GRT[1], SHIB[2], SOL[26.45614885], USD[0.01], USDT[0.00728032]                                   Yes

08025876                           BTC[.00000002], CUSDT[1], USD[28.20]                                                                                                                                                   Yes

08025878                           USD[0.00], USDT[16.59246203]

08025881                           USD[1.79]

08025892                           BRZ[1], CUSDT[4], DOGE[3], MATIC[58.86115207], USD[0.00]                                                                                                                               Yes

08025897                           CUSDT[1], KSHIB[70.13756923], SHIB[160591.97309414], USD[0.00]                                                                                                                         Yes

08025898                           ETH[.02], ETHW[.02], SOL[0]

08025904                           BAT[1], CUSDT[2], GRT[1], USD[0.00], USDT[1]

08025906                           USD[1.82]

08025907                           USD[8.17]

08025921                           AAVE[.39655265], BAT[68.87433684], BRZ[5.07689589], BTC[.03366949], CUSDT[12], DOGE[29.63350745], LINK[5.4239758], LTC[.6784311], NFT (370165088458818937/Parcl HOA #4659)[1],         Yes
                                   SHIB[106006.90445546], SOL[28.32391538], TRX[11], USD[0.00]
08025922                           SOL[.22516699], USD[9.35]

08025925                           CUSDT[1], SHIB[1403311.81588548], USD[0.00]

08025934                           BAT[1.01615646], CUSDT[3], ETH[.03130785], ETHW[.03092135], SOL[.00001711], TRX[1], USD[0.00]                                                                                          Yes

08025942                           BTC[0.00376330], SHIB[1], USD[0.00]                                                                                                                                                    Yes

08025951                           CUSDT[1], DOGE[1], MATIC[0], SHIB[849981.95337878], TRX[2], USD[0.00]                                                                                                                  Yes

08025953                           BTC[.00000948], KSHIB[1338.73163584], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08025961                           BRZ[1], CUSDT[3], TRX[1], USD[0.01], USDT[0.00000059]

08025967                           USD[0.00]                                                                                                                                                                             Yes

08025975                           CUSDT[2], KSHIB[166.67534767], SOL[.07937327], USD[79.24]                                                                                                                             Yes

08025979                           BRZ[1], CUSDT[3], DOGE[1], NFT (447631085738263520/DOGO-US-500 #7104)[1], NFT (460510861602372804/The Hill by FTX #3346)[1], NFT (555238718585206518/The Hill by FTX #1439)[1], NFT   Yes
                                   (569568813136558534/The Hill by FTX #2221)[1], SOL[.20739613], TRX[2], USD[0.00]
08025982                           SOL[0]

08025987                           CUSDT[493.38629136], KSHIB[350.76248749], USD[70.56]                                                                                                                                  Yes

08025991                           SHIB[35964000], SOL[6.00399], USD[1.13]

08025993                           BTC[.00012552], CUSDT[14], DOGE[2], USD[0.01]                                                                                                                                         Yes

08025997                           AVAX[0], BTC[0], DAI[0], ETH[0], LINK[0], LTC[0], MATIC[300.11353542], NEAR[0], SHIB[0], USD[0.00], USDT[0]                                                                           Yes

08026000                           ETH[.11518607], ETHW[.11518607], USD[0.00]

08026001                           ETHW[105.47229743]                                                                                                                                                                    Yes

08026002                           CUSDT[1], DOGE[1], SHIB[5723765.22941322], USD[3.54]                                                                                                                                  Yes

08026005                           SHIB[381891.84784397], USD[0.00]                                                                                                                                                      Yes

08026008                           DOGE[0], SHIB[1254224.60561252]

08026009                           USD[0.18]

08026014                           BTC[.00356105], CUSDT[3], DAI[2.1580819], DOGE[1], ETH[.07596687], ETHW[.07502364], SHIB[1], SOL[1.09413355], SUSHI[1.271006], TRX[1], USD[0.00]                                      Yes

08026041                           BTC[0], ETH[0.03690467], ETHW[0.03690467], SHIB[88993000], USD[0.00]

08026054                           USD[50.00]

08026059                           CUSDT[1], SHIB[1891381.50229088], USD[0.16]                                                                                                                                           Yes

08026060                           CUSDT[1], USD[0.01]                                                                                                                                                                   Yes

08026062                           DOGE[1], SHIB[7374340.61767513], USD[0.01]                                                                                                                                            Yes

08026071                           ETH[.00225679], ETHW[.00222943], USD[0.78]                                                                                                                                            Yes

08026072                           BTC[.00000001], DOGE[4.73502034], SHIB[14.10964797], USD[0.00]                                                                                                                        Yes

08026073                           USD[0.01]                                                                                                                                                                             Yes

08026074                           BRZ[1], BTC[0], CUSDT[6], ETH[0], SOL[.0000037], USD[0.01], USDT[0.00182285]                                                                                                          Yes

08026075                           BTC[0], LTC[0], SHIB[0], USD[0.00]

08026079                           SHIB[1999100], USD[0.36]

08026084                           USDT[0.00002606]

08026093                           BTC[.00000369], SOL[.00000001], USD[2.31]

08026101                           CUSDT[2], TRX[1], USD[0.00]                                                                                                                                                           Yes

08026108                           BRZ[1], CUSDT[1], GRT[1], TRX[1], USD[0.00]

08026124                           BRZ[1], SHIB[808570.85102082], USD[35.00]

08026133                           CUSDT[1], SOL[.53228109], USD[0.00]                                                                                                                                                   Yes

08026135                           USD[49.61]

08026145                           CUSDT[101.69314679], DOGE[28.7160384], EUR[9.25], KSHIB[181.96283125], SHIB[859099.0538607], TRX[150.61005206], USD[7.40]                                                             Yes

08026147                           BTC[.21595769], ETH[10.25535019], ETHW[10.25535019], SOL[9.99], USD[47.87]

08026150                           USD[0.01], USDT[0]                                                                                                                                                                    Yes

08026154                           BTC[.0052974], USD[2.55], WBTC[.0026973]

08026155                           BRZ[1], CUSDT[2], DOGE[3], ETH[0], SOL[0], USD[0.01], USDT[1.06694916]                                                                                                                Yes

08026156                           BRZ[1], CUSDT[1], KSHIB[42461.39044673], SHIB[54110792.02064624], TRX[1], USD[0.01], USDT[1.06228245]                                                                                 Yes

08026161                           BAT[1.98716325], CUSDT[1]

08026163                           ETH[.00000001], ETHW[0], MATIC[0], SOL[0.85000000], USD[0.00]

08026168                           BRZ[1], CUSDT[2], DOGE[1], MATIC[32.12495965], USD[0.00]                                                                                                                              Yes

08026170                           SOL[.00489784], USD[9.00]

08026187                           SOL[.1], USD[0.52]

08026188                           USD[0.00]

08026189                           CUSDT[1], USD[0.01]                                                                                                                                                                   Yes

08026205                           BTC[.0000001], SHIB[7.00354295], TRX[.00394233], USD[0.00], USDT[0]                                                                                                                   Yes

08026206                           BTC[.00071051], ETH[.01285234], ETHW[.01285234], USD[0.00]

08026208                           BTC[.0443593], ETH[.004], ETHW[.004], USD[0.09]

08026211                           USD[5.00]

08026223                           USD[20.00]

08026239                           BTC[.0081], USD[4.80]

08026242                           BTC[.00087502], CUSDT[1], USD[0.01]                                                                                                                                                   Yes

08026243                           BTC[.00178637], CUSDT[1], DOGE[1], ETH[.00461001], ETHW[.00461001], SHIB[1], USD[5.01]

08026255                           CUSDT[1], SHIB[1], USD[16.12]                                                                                                                                                         Yes

08026258                           BAT[8.77266091], BRZ[42.72195648], CUSDT[1], GRT[5.64345275], MATIC[6.74145386], SOL[.0376042], SUSHI[.79266351], USD[0.00]                                                           Yes

08026267                           CUSDT[1], TRX[1], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08026269                           USD[100.04]                                                                                                                                                                                   Yes

08026271                           DOGE[100], ETH[.005], ETHW[.005], KSHIB[1070], MATIC[10], SHIB[200000], SOL[.11], TRX[599], USD[0.07]

08026272                           CUSDT[2], SHIB[382310.28630806], USD[0.00]                                                                                                                                                    Yes

08026273                           CUSDT[1], SHIB[301361.72400707], USD[0.00]                                                                                                                                                    Yes

08026274                           USD[60.01]

08026276                           AUD[0.00], BAT[.00001865], DAI[.00001819], GBP[0.00], MATIC[.00000708], NFT (389345396077839737/DOTB #3611)[1], NFT (457610601572497442/DOTB #4770)[1], PAXG[.00000001],                      Yes
                                   SHIB[.53395726], USD[0.15]
08026278                           USD[12.75]                                                                                                                                                                                    Yes

08026279                           DOGE[1], SHIB[8377845.60788078], USD[0.01]                                                                                                                                                    Yes

08026286                           USD[0.01]                                                                                                                                                                                     Yes

08026296                           NFT (298097874454992769/3D Station #17)[1], NFT (301854650521961557/3D Station #16)[1], NFT (307910278307103023/Spiritual Vision #4)[1], NFT (310870014767703089/Weird Face #3)[1], NFT
                                   (312585220305730961/Weird Face)[1], NFT (313355878885367257/PolygonArt #8)[1], NFT (326707116619289977/3D Station #13)[1], NFT (337076375631223980/Weird Face #4)[1], NFT
                                   (339714285851560783/Spiritual Vision)[1], NFT (368178917838496805/PolygonArt #15)[1], NFT (375605656054689242/3D Station #6)[1], NFT (378446827698290351/Weird Face #2)[1], NFT
                                   (380321048122571905/Line #2)[1], NFT (380511040355322100/Line #5)[1], NFT (383255973773793806/PolygonArt #13)[1], NFT (390737535538050296/Spiritual Vision #3)[1], NFT
                                   (401498911133732242/Line #17)[1], NFT (410277659835766453/Weird Face #5)[1], NFT (419475639235278787/3D Station #10)[1], NFT (425416373994210799/Line #7)[1], NFT
                                   (434728380236531158/3D Station)[1], NFT (437616282101954188/PolygonArt #7)[1], NFT (441743724693670540/PolygonArt)[1], NFT (454259963429017641/PolygonArt #5)[1], NFT
                                   (454654934840257237/Line #4)[1], NFT (468297759179670347/Line #9)[1], NFT (483899573240597340/PolygonArt #3)[1], NFT (488895335473859612/PolygonArt #14)[1], NFT
                                   (490310033506787251/PolygonArt #9)[1], NFT (490830503108939750/Weird Face #6)[1], NFT (493805824683694145/PolygonArt #11)[1], NFT (507345421766295801/Line #12)[1], NFT
                                   (511869188705046262/PolygonArt #17)[1], NFT (513211804797840344/PolygonArt #4)[1], NFT (519309284000017335/Spiritual Vision #5)[1], NFT (520991754306358479/Spiritual Vision #2)[1], NFT
                                   (531179866199963748/3D Station #8)[1], NFT (537243776167456712/3D Station #14)[1], NFT (545709521776647359/Line #16)[1], NFT (548543269041187403/PolygonArt #10)[1], NFT
                                   (551866911710267900/PolygonArt #12)[1], NFT (556486169761892579/PolygonArt #2)[1], NFT (560291100731661171/3D Station #12)[1], NFT (561181200749999549/Line #15)[1], NFT
                                   (562410480349570648/PolygonArt #16)[1], NFT (568363046725836234/Line #8)[1], NFT (569481008761918335/Line #11)[1], USD[0.00]
08026297                           DOGE[94.40018837], USD[25.00]

08026314                           TRX[1], USD[0.00]                                                                                                                                                                             Yes

08026319                           AVAX[0.00000001], BTC[0.00000001], ETH[0.00000001], SOL[0], USD[7.00]

08026324                           USD[0.00]                                                                                                                                                                                     Yes

08026331                           CUSDT[3], SUSHI[.0003108], TRX[2], USD[0.00]                                                                                                                                                  Yes

08026337                           BTC[.00058806], CUSDT[5], DOGE[11.91362666], KSHIB[692.39006542], NFT (440127212454726457/Coachella x FTX Weekend 2 #1175)[1], SHIB[517384.10596026], USD[39.22]

08026346                           CUSDT[2], DOGE[2], SHIB[3872985.16922015], TRX[2], USD[0.00], USDT[1]

08026348                           BCH[0], BTC[0], CUSDT[0], DAI[0], ETH[0], NFT (465984646074982857/Doak Walker's Playbook: Cleveland Brown vs. Detroit Lions - December 27, 1953 #87)[1], SHIB[1], SOL[0], TRX[0], USD[0.00]   Yes

08026351                           BTC[.00651781], CUSDT[2], ETH[.0215869], ETHW[.0215869], USD[0.00]

08026373                           DOGE[1], SHIB[3536568.11430188], USD[0.00]

08026378                           AAVE[0.03770710], BAT[0], BCH[0.00853012], CUSDT[3], DOGE[66.31243944], ETH[0], GRT[26.36694588], LINK[0.56153161], LTC[.01679088], MATIC[0], MKR[0.00025863], NEAR[.0551109],                Yes
                                   SHIB[302705.09309066], SOL[0.03754451], SUSHI[1.52284565], UNI[0.75421167], USD[0.00]
08026383                           GRT[1027.06323786], LINK[7.12755514], SHIB[2201694.89620489], USD[0.00]                                                                                                                       Yes

08026389                           USD[1.09]                                                                                                                                                                                     Yes

08026390                           CUSDT[2], DOGE[1], TRX[1], USD[0.01]

08026392                           ETH[.00322587], ETHW[.00318483], USD[11.13]                                                                                                                                                   Yes

08026401                           USD[1.05], USDT[0]                                                                                                                                                                            Yes

08026404                           AAVE[.88444371], AVAX[0.60161055], CUSDT[2], GRT[.00626395], SHIB[1], SOL[1.07264321], TRX[1], USD[0.00]

08026417                           USD[0.00]                                                                                                                                                                                     Yes

08026419                           BTC[0.00000251], DOGE[1], ETH[0.00003148], ETHW[3.58709128], GRT[1], SHIB[1], TRX[1], USD[0.00], USDT[1.02438775]                                                                             Yes

08026431                           BTC[.00006785], ETH[.126253], ETHW[.126253], LINK[.0676], LTC[17.4185681], MATIC[9.53], SOL[3.39432], SUSHI[.3745], USD[0.21], USDT[.0005016]

08026434                           USD[0.00]

08026436                           CUSDT[1], SHIB[835073.06889352], USD[0.01]

08026450                           USD[0.02]

08026455                           CUSDT[3], DOGE[1], ETH[.0248897], ETHW[.02457778], NFT (325878301113534320/FTX - Off The Grid Miami #2162)[1], SHIB[1504928.50391312], SOL[2.80757902], TRX[2], USD[0.00]                     Yes

08026456                           CUSDT[6], USD[4.23]                                                                                                                                                                           Yes

08026457                           BRZ[1], USD[0.00]                                                                                                                                                                             Yes

08026460                           USD[0.00]

08026461                           BTC[0], ETH[1.14872881], ETHW[1.14872881], NFT (406578879031691120/Reflector #674 (Redeemed))[1], NFT (469621298828662197/Reflector #67 (Redeemed))[1], NFT
                                   (507898012094958892/Ferris From Afar #270 (Redeemed))[1], NFT (551209437396075596/Golden Hill #952 (Redeemed))[1], SOL[0], USD[0.00]
08026462                           BTC[0], SOL[0]

08026466                           BAT[1.00000913], GRT[1.00019173], MATIC[.00545136], USD[665.78]                                                                                                                               Yes

08026476                           BAT[1], CUSDT[1], ETH[2.09887359], ETHW[2.09887359], SOL[20.22347248], USD[5000.00]

08026489                           KSHIB[6310], USD[0.30]

08026493                           CUSDT[1], KSHIB[153.1298275], USD[0.00]                                                                                                                                                       Yes

08026498                           USD[1.47], USDT[1.48]

08026500                           BAT[2], BRZ[3], CUSDT[1], DOGE[27441.29645944], GRT[1], SHIB[10792700.99531275], SOL[205.09534569], TRX[9], USD[0.00]                                                                         Yes

08026518                           BTC[0.03805296], ETH[.240626], ETHW[.240626], LINK[.0958], LTC[2.57435], SHIB[21700000], SOL[.52], SUSHI[30], USD[0.83], USDT[299.83053767]

08026543                           CUSDT[1], SHIB[1436344.56929445], USD[0.00]                                                                                                                                                   Yes

08026548                           DOGE[.00346548], USD[0.01]

08026551                           USD[35.29]

08026577                           DOGE[1], MATIC[1.00110563], SHIB[2], SOL[2.39121789], TRX[1008.0941964], USD[0.00]                                                                                                            Yes

08026583                           BRZ[1], CUSDT[3], DOGE[1], MATIC[35.18483604], SHIB[1], SOL[7.61549202], TRX[1], USD[0.00]                                                                                                    Yes
West Realm Shires Services Inc.                                                        Case 22-11068-JTD      Doc F-3:
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                                                                                                                                             Customer Claims                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08026585                              BRZ[1], CUSDT[4], DOGE[1], TRX[2], USD[0.00]                                                                                                                                   Yes

08026586                              USD[0.01]                                                                                                                                                                      Yes

08026590                              CUSDT[1], SHIB[509450.48888914], USD[0.00]                                                                                                                                     Yes

08026591                              CUSDT[2], DOGE[79.61529043], SHIB[426012.02941541], USD[0.00]                                                                                                                  Yes

08026592                              BAT[100], GRT[100], LINK[2.997], MATIC[60], SOL[.3996], USD[0.99]

08026595                              USD[0.07]

08026599                              USD[0.00]                                                                                                                                                                      Yes

08026608                              ETHW[3.984], USD[0.00]

08026621                              BTC[0], ETH[0], ETHW[0.37562293], SOL[0], USD[0.01], USDT[0.00000522]

08026627                              BTC[.00013848], CUSDT[1], ETH[.00205472], ETHW[.00202736], SOL[.02073401], TRX[46.63827626], USD[0.00]                                                                         Yes

08026634                              SOL[.02311385], USD[0.00]                                                                                                                                                      Yes

08026640                              CUSDT[6931.062], USD[0.61]

08026643                              USD[20.00]

08026654                              MATIC[169.90810671], SOL[3.60809], TRX[0], USD[1.57]

08026661                              ETH[.12070917], ETHW[.11954753], TRX[1], USD[16.29]                                                                                                                            Yes

08026665                              ETH[.00000001], SOL[0.00493934], USD[0.00]

08026667                              SHIB[6993000], USD[3.70]

08026668       Contingent, Disputed   SOL[.29580045], USD[0.00]

08026679                              USD[1.00]

08026686                              SHIB[374308.62647109], TRX[1], USD[0.00]                                                                                                                                       Yes

08026694                              USD[10.00]

08026695                              BTC[.00111598], CUSDT[1], DOGE[1], ETH[.00127955], ETHW[.00126586], SOL[.04234887], USD[0.00]                                                                                  Yes

08026700                              CUSDT[5], DOGE[.00000398], ETH[.00621994], ETHW[.0061378], SHIB[2420753.57892474], USD[0.00]                                                                                   Yes

08026702                              ETH[.11443444], ETHW[.11443444], USD[0.00]

08026708                              BTC[0], ETH[0], SOL[0.00000001], USD[1.26]

08026720                              USD[5.31]

08026721                              BTC[.02389933]

08026727                              USD[205.64]

08026729                              USD[0.00]                                                                                                                                                                      Yes

08026744                              ETH[1.261], MATIC[585.414], USD[2.06]

08026751                              USD[0.00]

08026763                              BTC[.00884539], DOGE[1], USD[0.00]                                                                                                                                             Yes

08026770                              CUSDT[3], LINK[5.00966552], TRX[1], USD[25.00]

08026772                              ETH[2.39007739], ETHW[3.19007739], SHIB[93947935.36804308], SOL[.00000001], USD[0.00]

08026774                              BTC[.00157665], CUSDT[4], DOGE[366.84278299], ETH[.02148175], ETHW[.02148175], LTC[.47510792], SOL[.40987979], TRX[1], USD[0.00]

08026778                              ETHW[.444], SUSHI[6]

08026781                              BTC[.00867714], SHIB[2], UNI[10.9589426], USD[0.00]

08026782                              USD[1.34]

08026785                              SOL[.00004308], USD[0.17]                                                                                                                                                      Yes

08026786                              BRZ[1], CUSDT[3], DOGE[1], ETH[.16067684], ETHW[.16016554], MATIC[334.98618287], SHIB[5], SOL[12.80710932], TRX[1], USD[365.58]                                                Yes

08026788                              KSHIB[138.62357876], TRX[1], USD[0.00]                                                                                                                                         Yes

08026810                              BTC[.07669199], DOGE[2], ETH[.39815654], ETHW[.39815654], GRT[1], SOL[11.64240493], TRX[2], USD[0.00]

08026813                              DAI[2], MATIC[.00000001], USD[0.17]

08026822                              BTC[.01432247], SHIB[1], SOL[6.05799314], TRX[1], USD[0.00]

08026825                              BTC[.00090405], CUSDT[3], ETH[.00617798], ETHW[.0060959], TRX[255.36004241], USD[0.00]                                                                                         Yes

08026834                              AVAX[4.26252807], BRZ[2], BTC[.00000078], CUSDT[1], ETH[.00000699], ETHW[.76553432], LINK[46.34078901], MATIC[.01359759], SHIB[19], TRX[6], USD[0.00]                          Yes

08026840                              BTC[.9999587], ETH[7.49772955], ETHW[7.49772955], USD[1.75]

08026843                              BRZ[56.70603596], CUSDT[4], DAI[14.91461961], DOGE[117.38322308], KSHIB[84.65135492], LINK[1.0144503], SHIB[2127004.74681751], TRX[99.80712138], USD[6.02], USDT[9.94407343]

08026844                              BAT[1], BRZ[1], CUSDT[7], DOGE[3], SHIB[1], SOL[.00908667], TRX[1], USD[0.00]                                                                                                  Yes

08026855                              BAT[2.08453163], BRZ[3], BTC[.00418122], CUSDT[7], TRX[5], USD[0.00]                                                                                                           Yes

08026856                              SHIB[9756136.23635792], TRX[1]

08026864                              USD[0.00]                                                                                                                                                                      Yes

08026865                              CUSDT[7], DOGE[2], SHIB[5128623.38715575], USD[0.00]                                                                                                                           Yes

08026866                              BRZ[2], CUSDT[2], DOGE[1], ETH[.02613094], ETHW[.02580262], LINK[7.17564874], MATIC[85.85949143], SOL[0.85160957], TRX[1], USD[0.00]                                           Yes

08026868                              AAVE[0.51269950], BTC[.00335706], USD[0.00]

08026876                              CUSDT[1], ETH[.02192616], ETHW[.02192616], USD[0.00]

08026879                              BTC[0], ETH[0], LTC[17.64], SHIB[92438528.37881308], USD[0.00], USDT[0]

08026883                              KSHIB[138.74024413], USD[0.00]                                                                                                                                                 Yes
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                                                                                                                                         Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08026897                           BTC[.00023704], USD[0.00]                                                                                                                                                            Yes

08026904                           SHIB[4696381.68856812], USD[0.00]                                                                                                                                                    Yes

08026907                           NFT (289166689100389740/Donkey )[1], NFT (297148964388378719/Freddy )[1], NFT (319929745610798580/My favorite flower.)[1], NFT (321327173652060441/Sox's)[1], NFT
                                   (332295576767350116/Rare Art)[1], NFT (413204643202988141/The House by The Sea)[1], NFT (421506710964509491/iberd "1")[1], NFT (422400016948223152/ fountain illusion3456)[1], NFT
                                   (447794734153113462/Noble Woman)[1], NFT (497785451160604433/Calm morning )[1], NFT (502861570476158422/iberd cripto)[1], NFT (522524426623073178/Love iberd7)[1], NFT
                                   (575563234617752770/Liar)[1]
08026908                           NFT (546910027708220333/FTX - Off The Grid Miami #117)[1]

08026909                           BRZ[1], BTC[.00038892], CUSDT[5], DOGE[36.45514939], KSHIB[2565.69589518], LTC[.07487948], TRX[1586.66408392], USD[0.00]

08026910                           BAT[.936], ETH[.009], ETHW[.009], SHIB[1342263.05893186], USD[0.00]

08026913                           BRZ[3], BTC[.03040483], CUSDT[995.06720079], DOGE[1], ETH[.00000001], ETHW[1.11987010], KSHIB[1489.62180488], LINK[15.56809991], MATIC[137.61538857], NFT                            Yes
                                   (300160884360533411/Symphony#4)[1], NFT (383144343103681691/Cyber Planet)[1], NFT (437616047621995039/Planet Explosion)[1], NFT (466147326866210889/black hole)[1], NFT
                                   (473383358830136213/Snow Planet)[1], NFT (545413506925694388/A planet with towers)[1], SHIB[43539128.80633692], TRX[2165.10936804], USD[0.04]
08026916                           BRZ[1], BTC[.00395975], CUSDT[26], DOGE[1], ETH[.01192993], ETHW[.01177945], MATIC[11.57374043], SHIB[2898200.29312083], TRX[630.5318297], USD[0.84]                                 Yes

08026918                           USD[1055.05], USDT[0]

08026941                           USD[0.07]

08026949                           ETH[.042957], ETHW[.042957], USD[48.97], USDT[0.00003245]

08026950                           BTC[.00880592], TRX[1], USD[0.00]                                                                                                                                                    Yes

08026952                           BAT[1], BTC[0], DOGE[2.08857944], TRX[1], USD[0.00]

08026957                           KSHIB[6976.52762688], TRX[1], USD[0.01]                                                                                                                                              Yes

08026963                           USD[500.00]

08026964                           SHIB[0], USD[0.95]

08026967                           BRZ[1], SHIB[3145159.55757346], USD[0.01]                                                                                                                                            Yes

08026980                           BTC[.00008157], SHIB[68851.55604516], USD[0.00]

08026986                           USD[0.00]

08026987                           BRZ[1], BTC[.01081696], CUSDT[3], ETH[.05267029], ETHW[.05201365], SHIB[2057331.76330026], SOL[.50957266], TRX[3], USD[0.03]                                                         Yes

08026997                           CUSDT[3], DOGE[1], ETH[.03322156], ETHW[.03281116], MATIC[40.3322105], USD[0.00]                                                                                                     Yes

08027000                           CUSDT[1], DOGE[8.6576948], ETHW[.16684008], NFT (391227699869068998/Sigma Shark #982)[1], TRX[3], USD[0.00]                                                                          Yes

08027004                           BTC[.00172087], ETH[.02528515], ETHW[.02497051], USD[0.07]                                                                                                                           Yes

08027007                           BAT[17.982], BTC[.0050949], ETH[.043956], ETHW[.020979], USD[12.67]

08027013                           USD[0.00]

08027014                           BTC[0], ETHW[.20051889], SHIB[1], TRX[1], USD[2.01]                                                                                                                                  Yes

08027015                           BTC[1], ETH[18.89546444], ETHW[18.89546444], SOL[.796]

08027020                           BAT[1], BRZ[3], CUSDT[7], DOGE[12], GRT[4], SHIB[5], TRX[12], USD[1491.28], USDT[1.00022796]

08027023                           NFT (370707060175278670/The Hill by FTX #3066)[1], NFT (513392003866215015/FTX Crypto Cup 2022 Key #1242)[1], SHIB[15], USD[0.00]                                                    Yes

08027025                           BAT[3.17952384], BRZ[1], BTC[.23294775], CUSDT[3], DOGE[4], ETH[.00001033], ETHW[.00001033], MATIC[2404.31134202], SHIB[1426.06055674], SOL[40.41804324], TRX[4], USD[0.00],         Yes
                                   USDT[1.06581738]
08027028                           BTC[.0787993]

08027030                           BTC[.00088139], CUSDT[3], DOGE[96.98109112], SHIB[731102.62659674], SUSHI[2.06001797], TRX[1], USD[0.00]                                                                             Yes

08027031                           SOL[0], USD[703.45]

08027039                           USD[0.01]                                                                                                                                                                            Yes

08027042                           ETH[.167635], ETHW[.16729228], TRX[1], USD[0.00]                                                                                                                                     Yes

08027043                           BTC[.00782879], CUSDT[1], TRX[1], USD[1123.45]                                                                                                                                       Yes

08027047                           CUSDT[4], DAI[11.86999903], DOGE[1], KSHIB[.0000021], LINK[.85057022], TRX[63.34675877], USD[25.11]                                                                                  Yes

08027049                           USD[0.01]

08027053                           USD[50.00]

08027059                           SHIB[76163.00342468], USD[0.00]                                                                                                                                                      Yes

08027061                           BRZ[1], CUSDT[1], DOGE[1], ETH[.00494446], ETHW[.00488635], GRT[10.77228756], MATIC[8.48330013], SHIB[300519.15577143], TRX[106.81781814], USD[0.00]                                 Yes

08027079                           SHIB[1], USD[232.59]

08027085                           HKD[173.76], NFT (387201831602105945/Gloom Punk #9202)[1], SHIB[2], USD[5.59]                                                                                                        Yes

08027091                           BRZ[30.76972299], GRT[10.78021613], SUSHI[.40696583], TRX[53.4878923], USD[0.00]                                                                                                     Yes

08027092                           USD[1.09]                                                                                                                                                                            Yes

08027096                           BRZ[1], BTC[0.01258132], CUSDT[3], DOGE[982.93298407], ETH[.46656531], ETHW[.46636935], SHIB[4459869.6316499], SOL[9.35876683], TRX[1], USD[0.00], USDT[1.07894121]                  Yes

08027099                           CUSDT[8], DOGE[1514.23444312], KSHIB[2411.49187463], MATIC[141.24481578], SHIB[13659805.17881746], TRX[4], USD[87.45], USDT[0.00721835]                                              Yes

08027100                           DOGE[1], USD[628.27]                                                                                                                                                                 Yes

08027102                           ETHW[35.95612652]

08027105                           CUSDT[1], SHIB[633362.77148439], USD[0.01]                                                                                                                                           Yes

08027107                           CUSDT[2], DOGE[1299.72773822], KSHIB[56.71105975], SHIB[6788491.89197371], SOL[.41034311], TRX[3], USD[78.23]

08027111                           BTC[.00000001], CUSDT[2119.41208017], USD[0.00]                                                                                                                                      Yes

08027113                           DOGE[1364.4810727], USD[0.00]

08027118                           CUSDT[1], SHIB[2205023.16274124], SOL[1.00447874], TRX[2], USD[100.00]

08027121                           BTC[.00184043]

08027140                           AAVE[.02311329], BAT[10.15347449], BTC[.00188767], CUSDT[2], DOGE[33.30892056], GRT[39.59107468], KSHIB[223.64176427], SHIB[684204.95120983], SOL[0.20596673], USD[0.00]             Yes
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08027146                              CUSDT[9], DOGE[.00813763], KSHIB[0], SHIB[0], USD[0.01]                                                                                                                              Yes

08027147                              CUSDT[1], ETH[.0458046], ETHW[.0458046], USD[0.00]

08027150                              CUSDT[2], SHIB[458004.64431987], USD[0.00]

08027154                              BRZ[1], CUSDT[2], GRT[1], SHIB[34886865.58742718], TRX[5], USD[0.93], USDT[1]

08027156                              ETH[.00006011], ETHW[.00006011], NFT (427971000111809351/Coachella x FTX Weekend 2 #97)[1], USD[0.00]

08027164                              DOGE[0.00085298], USD[0.00]                                                                                                                                                          Yes

08027170                              DOGE[0], USD[0.00]

08027171                              BTC[.00000002], CUSDT[4], ETH[.0000001], ETHW[.0000001], USD[0.01]                                                                                                                   Yes

08027176                              ETHW[3.011177], MATIC[809.306], USD[1.65], USDT[.00073437]

08027177       Contingent, Disputed   SOL[.00000001]

08027180                              ALGO[126.36553719], BF_POINT[100], BRZ[2], BTC[.04486749], CUSDT[6], DOGE[1], ETH[.00933048], ETHW[.00921849], MATIC[76.99042701], NFT (462234315438228533/Melania's Vision)[1],     Yes
                                      SHIB[6], SOL[2.67450546], TRX[3], USD[0.00]
08027189                              ETH[0.00250905], ETHW[0.00250906], TRX[0.00000132]

08027203                              USD[0.00]

08027207                              USD[0.00]

08027209                              BAT[1], BRZ[3], BTC[0], DOGE[2], GRT[2.00071587], SHIB[1], TRX[5], USD[0.00], USDT[0]                                                                                                Yes

08027213                              BTC[.00040858], CUSDT[7], DOGE[2], ETH[.07223143], ETHW[.07133387], NFT (330643083281634965/DOTB #5651)[1], NFT (358618570433733391/MagicEden Vaults)[1], NFT                         Yes
                                      (362237865640468508/Cadet 661)[1], NFT (436781403314824119/MagicEden Vaults)[1], NFT (452838522752207148/Space Bums #2849)[1], NFT (459042168917412662/SOLYETIS #544)[1], NFT
                                      (506438904013109446/Doge Capital #1255)[1], NFT (553826117367628114/MagicEden Vaults)[1], NFT (563528198506019994/Golden bone pass)[1], NFT (568088964939465922/MagicEden Vaults)[1],
                                      NFT (568896085294530416/MagicEden Vaults)[1], SHIB[3044269.82879407], SOL[2.73059222], TRX[2], USD[0.00]
08027215                              BAT[364.15081282], DOGE[1], SHIB[7595158.94132966], TRX[1], USD[0.00]                                                                                                                 Yes

08027217                              BTC[.01476556], ETH[.02231249], ETHW[.02203889], TRX[2], USD[6.58]                                                                                                                   Yes

08027218                              USD[20.00]

08027223                              BTC[.017]

08027230                              USD[0.00]

08027233                              SHIB[0], USD[0.00]                                                                                                                                                                   Yes

08027240                              BRZ[1], DOGE[3], ETHW[.06634511], SHIB[12], USD[0.00]                                                                                                                                Yes

08027246                              USD[100.00]

08027250       Contingent, Disputed   USD[0.00]

08027260                              BTC[.0007992], ETH[.011], ETHW[.011], USD[1.79]

08027262                              AVAX[63.46084135], BRZ[1], DOGE[3], SOL[12.90957025], TRX[2], USD[0.00]

08027270                              USD[50.00]

08027278                              BRZ[1], CUSDT[5], DOGE[1], TRX[1], USD[130.76], USDT[0]                                                                                                                              Yes

08027291                              BF_POINT[200], BRZ[1], CUSDT[6], DOGE[5.0000744], SHIB[.00000002], TRX[3], USD[0.00]                                                                                                 Yes

08027293                              BTC[.01465553], CUSDT[3], SHIB[5], TRX[4], USD[0.12]

08027295                              USD[459.81]

08027301                              MATIC[5.72959623], SHIB[152670.19742017], TRX[98.74830758], UNI[.42037003], USD[0.00]                                                                                                Yes

08027307                              DOGE[1], TRX[0], USD[0.00], USDT[0]                                                                                                                                                  Yes

08027314                              MATIC[48.02905048], USD[1.27]                                                                                                                                                        Yes

08027316                              CUSDT[1], SHIB[12.94012885], USD[12.54]                                                                                                                                              Yes

08027319                              USD[0.36]

08027322                              KSHIB[2820], USD[0.82]

08027323                              USD[2.51]

08027325                              DOGE[2], ETHW[.05564605], PAXG[.03403337], SHIB[1], USD[173.06]                                                                                                                      Yes

08027326                              CUSDT[1], SHIB[419815.28127623], USD[0.00]

08027332                              CUSDT[1], SHIB[763350.98710315], USD[0.01]                                                                                                                                           Yes

08027334                              ETH[.41729494], ETHW[.41729494], LINK[47.61385397], USD[20.46]

08027335                              BTC[.0016983], USD[6.11]

08027336                              BTC[.0043956], SHIB[5695900], USD[2.23]

08027337                              BAT[2], DOGE[5], SHIB[1], TRX[3], USD[0.00]                                                                                                                                          Yes

08027338                              SOL[.02153888], USD[0.06]                                                                                                                                                            Yes

08027349                              CUSDT[1], USD[0.00], USDT[19.88814687]

08027351                              BRZ[1], CUSDT[3], DOGE[3], ETH[0], TRX[2]                                                                                                                                            Yes

08027355                              BAT[1], KSHIB[630], SHIB[900000], USD[0.05]

08027358                              CUSDT[1], SHIB[8231545.17262738], USD[0.00]                                                                                                                                          Yes

08027359                              USD[0.82]

08027360                              ETH[.00004334], ETHW[.00004334], USD[0.00], USDT[0]                                                                                                                                  Yes

08027371                              CUSDT[1], SHIB[2], USD[0.01]                                                                                                                                                         Yes

08027373                              BTC[.00250062], ETH[.0351179], ETHW[.03468014], SHIB[2], TRX[2], USD[0.00]                                                                                                           Yes

08027376                              DOGE[1], TRX[1], USD[0.01]                                                                                                                                                           Yes
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                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08027378                           USD[0.01]

08027379                           CUSDT[1], SHIB[9543342.58288789], TRX[1], USD[0.00]                                                                                                                                   Yes

08027380                           CUSDT[296.56097722], DAI[3.23791951], DOGE[3.61259765], LINK[.40850136], SHIB[43463.37134845], USD[0.00], YFI[.00014185]                                                              Yes

08027381                           ETHW[.41156019], SHIB[1], USD[1907.63], USDT[0]                                                                                                                                       Yes

08027383                           USD[108.55]                                                                                                                                                                           Yes

08027386                           USD[0.01]                                                                                                                                                                             Yes

08027388                           DOGE[1], USD[0.00]                                                                                                                                                                    Yes

08027402                           SHIB[399600], SOL[.00996], USD[28.60]

08027405                           CUSDT[9078.64747319], USD[0.00]

08027406                           BRZ[1], KSHIB[7041.72192071], USD[0.00]

08027411                           NFT (397785774378332022/Romeo #567)[1]

08027416                           BTC[.00031114], CUSDT[1137.79558935], SHIB[973.23081304], USD[3.83]

08027418                           BAT[20.02991743], CUSDT[5], DOGE[281.76706755], ETH[.14658767], ETHW[.14570552], LINK[75.04233668], LTC[5.17266702], SHIB[5148148.05105476], SOL[1.95871889], TRX[698.65766514],      Yes
                                   USD[0.00]
08027430                           BAT[5.20018735], BRZ[7.27238222], BTC[.00000136], CUSDT[16], DOGE[23.93291399], GRT[5.07697345], SHIB[5], SUSHI[1.04108537], TRX[27.92921706], USD[22.17], USDT[5.19246149]

08027432                           BTC[.00461765], ETH[.04710425], USD[0.00]

08027433                           USD[0.00]

08027437                           CUSDT[3], DOGE[59.85524729], ETH[.00621932], ETHW[.00613724], KSHIB[140.88459748], LTC[.05428021], SOL[.06354757], TRX[1], USD[41.25]                                                 Yes

08027444                           CUSDT[1], DOGE[547.15294799], USD[0.00]

08027448                           NFT (428512771900421878/Coachella x FTX Weekend 2 #6412)[1]

08027449                           DOGE[235.38761094], USD[0.00]                                                                                                                                                         Yes

08027454                           CUSDT[1], SHIB[1529053.65635311], USD[0.00]                                                                                                                                           Yes

08027455                           BTC[.00024083], CUSDT[1], DOGE[1], SHIB[186698.39262461], SOL[.1835058], USD[0.01]                                                                                                    Yes

08027469                           BRZ[1], CUSDT[1], ETH[0], ETHW[0.12056368], SHIB[2], SOL[0.00003485], USD[153.16], USDT[1.08141844]                                                                                   Yes

08027489                           ETH[0.14465564], ETHW[0], MATIC[0], SHIB[3.0798845], USD[0.00], USDT[0]                                                                                                               Yes

08027490                           DOGE[368.631], SHIB[999000], TRX[.618], USD[0.00]

08027494                           BRZ[1], MATIC[84.36584573], USD[2.17]                                                                                                                                                 Yes

08027498                           CUSDT[1], DOGE[2], SHIB[7643265.4672595], USD[0.00]                                                                                                                                   Yes

08027501                           USD[0.00]

08027502                           ETH[0], SHIB[2], USD[0.00]

08027505                           ALGO[.00215067], AVAX[.00001753], BRZ[2], DOGE[409.91428271], LINK[.00003917], NFT (464488725343449406/Imola Ticket Stub #688)[1], SHIB[4], TRX[6], USD[257.51]                       Yes

08027514                           SHIB[1132823.5627301], TRX[1], USD[20.00]

08027527                           CUSDT[1], SHIB[2810962.75474349], USD[0.01]

08027534                           CUSDT[2325.672], SHIB[5096900], TRX[446.553], USD[0.04]

08027536                           BTC[0.00003459], USD[0.00]                                                                                                                                                            Yes

08027539                           CUSDT[1], SHIB[1409840.68800225], USD[0.00]

08027558                           BAT[2.01529377], BRZ[3], BTC[.00000043], CUSDT[3], DOGE[10.41492147], ETH[.00000543], ETHW[.00000543], GRT[1.00261523], SHIB[1], TRX[3], USD[0.00], USDT[1.08498961]                  Yes

08027561                           BTC[.00206528], CUSDT[3], DOGE[1], GRT[47.86467343], SUSHI[6.60389919], USD[0.01]                                                                                                     Yes

08027563                           CUSDT[1], ETH[.00000096], ETHW[.00000096], USD[0.00]                                                                                                                                  Yes

08027570                           BRZ[2], TRX[4908.81916812], USD[0.00]

08027573                           CUSDT[1], DOGE[.00667541], ETH[.01407816], ETHW[.01390032], USD[0.03]                                                                                                                 Yes

08027578                           BRZ[2], CUSDT[3], DOGE[2], MATIC[.64086803], SHIB[3], SOL[21.10425707], TRX[4], USD[1.93], USDT[1.07564665]                                                                           Yes

08027601                           CUSDT[4], DOGE[312.78857824], SHIB[11577199.41078626], TRX[265.12698219], USD[0.00]                                                                                                   Yes

08027608                           BTC[.0020695], CUSDT[16], DOGE[1], ETH[.0213738], ETHW[.02111282], MATIC[6.61001331], SOL[.53512304], USD[0.00]                                                                       Yes

08027611                           USD[0.00]

08027618                           CUSDT[2], MATIC[21.33626644], SOL[1.06427911], TRX[1], USD[0.06]                                                                                                                      Yes

08027623                           ARS[369.82], USD[0.00]

08027636                           SHIB[0], USD[0.01]

08027646                           USD[0.83]

08027650                           BTC[.00258692], CUSDT[1], DOGE[1], ETH[1.63753918], ETHW[1.63685148], SHIB[356324.67862702], SOL[7.58524273], TRX[2], USD[0.00]                                                       Yes

08027651                           NFT (394623616035832044/Medallion of Memoria)[1], NFT (443326882496005513/FTX - Off The Grid Miami #4606)[1], NFT (447592376356430524/MagicEden Vaults)[1], NFT                       Yes
                                   (464878968137988263/MagicEden Vaults)[1], NFT (465764109610578309/The Reflection of Love #1897)[1], NFT (479662600830968276/MagicEden Vaults)[1], NFT (501644926292878574/MagicEden
                                   Vaults)[1], NFT (503372606404202637/MagicEden Vaults)[1], NFT (561192877783375125/The Hill by FTX #2760)[1], USD[170.33]
08027653                           BRZ[1], BTC[.00164439], CUSDT[2275.41186829], DOGE[4], ETH[.04379084], ETHW[.04379084], SHIB[8086549.0085625], TRX[3], USD[9.87], USDT[0]

08027663                           USD[0.00]

08027666                           USD[0.00], USDT[0]

08027673                           SHIB[1532581.45107052], USD[0.10]                                                                                                                                                     Yes

08027689                           SOL[0]

08027695                           BRZ[1], CUSDT[1], SHIB[155.53608004], USD[0.00]                                                                                                                                       Yes

08027698                           DOGE[1], KSHIB[1418.74902372], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08027699                           CUSDT[3], SOL[.00000513], SUSHI[.00003114], TRX[.00167119], USD[0.01]                                                                                                                     Yes

08027700                           BTC[.00488197], DOGE[675.44657728], ETH[.05710018], ETHW[.05710018], MATIC[19.98], SHIB[900007.89299695], SOL[.80959], USD[0.00]

08027704                           USD[0.00]

08027710                           CUSDT[1], SHIB[1136970.73032111], USD[0.00]

08027720                           BTC[.00001334], CUSDT[2], TRX[534.18208174], USD[0.00]                                                                                                                                    Yes

08027724                           ETH[.01209376], ETHW[.01209376], SHIB[500000], USD[0.00]

08027730                           BRZ[1], CUSDT[11], DOGE[1], TRX[901.94078464], USD[0.00]                                                                                                                                  Yes

08027739                           USD[0.57]                                                                                                                                                                                 Yes

08027740                           CUSDT[1], TRX[2], USD[0.00]                                                                                                                                                               Yes

08027746                           SHIB[3996000], USD[20.32]

08027751                           BAT[2.06233035], BRZ[1], BTC[0], CUSDT[17], DAI[0], DOGE[6.0288361], ETH[0], ETHW[0], GRT[1], LINK[0], MATIC[0.00898251], PAXG[0], SOL[0.00007274], TRX[6], USD[0.27], USDT[2.14943748]   Yes

08027758                           USD[0.03]                                                                                                                                                                                 Yes

08027759                           BTC[.0000002]                                                                                                                                                                             Yes

08027761                           USD[41.15]                                                                                                                                                                                Yes

08027777                           BAT[0], CUSDT[11], DOGE[0], SHIB[1], TRX[549.79931644], USD[0.00], USDT[0]

08027778                           SHIB[299700], SOL[91.93724], TRX[187.812], USD[1.05]

08027782                           CUSDT[1235.0481309], DOGE[400.36838053], SHIB[2093608.04034281], USD[271.18]                                                                                                              Yes

08027784                           SHIB[1872798.58006854], USD[0.00]                                                                                                                                                         Yes

08027787                           AVAX[.13562109], BCH[.01687236], BRZ[22.83458211], BTC[.00048193], CUSDT[4], DOGE[41.31496869], ETH[.00691325], ETHW[.00683117], KSHIB[143.03419876], LINK[.15580965],                    Yes
                                   LTC[.04733719], SHIB[699554.25794232], SOL[.21704954], TRX[1], USD[18.95]
08027795                           USD[0.01]                                                                                                                                                                                 Yes

08027800                           BTC[0], USD[88.60]                                                                                                                                                                        Yes

08027803                           BRZ[2], BTC[.00000074], CUSDT[3], DOGE[2], GRT[1.00298163], NFT (547560299120279376/Humpty Dumpty #281)[1], SHIB[2], TRX[4], USD[0.00]                                                    Yes

08027808                           DOGE[1], USD[0.00]

08027809                           CUSDT[3], LINK[7.93085781], SHIB[9066327.4365421], USD[0.00]

08027814                           CUSDT[2], LINK[.62419021], SUSHI[1.58430856], TRX[1], UNI[.50050869], USD[0.00]                                                                                                           Yes

08027829                           SUSHI[7.992], USD[25.26]

08027842                           DOGE[1], SHIB[5], USD[0.00]                                                                                                                                                               Yes

08027844                           USD[0.01]                                                                                                                                                                                 Yes

08027846                           NFT (341287852119013479/Vox World #18)[1], USD[85.86]                                                                                                                                     Yes

08027848                           CUSDT[1], SHIB[4271678.76975651], USD[0.00]

08027854                           USD[1.00]

08027866                           SHIB[1], USD[119.18]

08027869                           CUSDT[12], ETHW[.14337521], USD[0.00]                                                                                                                                                     Yes

08027873                           CUSDT[4], MATIC[.00030267], SHIB[7.59652632], TRX[2.00413054], USD[0.00]

08027874                           CUSDT[4], SHIB[1270038.95116278], SUSHI[1.7218055], USD[10.94]                                                                                                                            Yes

08027883                           SOL[2.24011544], TRX[1], USD[0.00]                                                                                                                                                        Yes

08027884                           USD[0.00]                                                                                                                                                                                 Yes

08027885                           USD[542.73]                                                                                                                                                                               Yes

08027887                           SHIB[716024.63124731], TRX[1], USD[0.01]

08027892                           USD[50.00]

08027893                           BRZ[1], DOGE[1], SHIB[1509516.29131913], TRX[1], USD[0.00]                                                                                                                                Yes

08027894                           SHIB[1], USD[0.01]

08027896                           DAI[.08], DOGE[.485], ETH[.001], ETHW[.001], MATIC[9.9], NFT (458985590968921998/Love Blast Night)[1], SHIB[7691219.53600226], USD[0.62]

08027899                           BAT[1], BRZ[1], CUSDT[4], DOGE[2], USD[0.00], USDT[0.00000063]                                                                                                                            Yes

08027906                           USD[15.26]                                                                                                                                                                                Yes

08027917                           CUSDT[1], SHIB[295115.83296443], USD[0.00]

08027929                           CUSDT[1], SHIB[1], SOL[5.29983901], USD[0.00]

08027934                           CUSDT[5], ETH[0], TRX[1], USD[0.01]

08027939                           BRZ[1], CUSDT[4], DOGE[0.00106924], LTC[0], USD[0.00]                                                                                                                                     Yes

08027940                           GRT[46.953], LINK[.999], MATIC[60], SHIB[1298700], USD[0.17]

08027956                           SHIB[330582.21015452], USD[0.00]

08027957                           USD[0.25]

08027960                           SOL[.12554372], USD[0.02]

08027978                           USD[5.43]                                                                                                                                                                                 Yes

08027982                           BF_POINT[200], BRZ[1], CUSDT[2], KSHIB[35.09367414], SHIB[6330579.18252464], USD[0.00]                                                                                                    Yes

08027987                           DOGE[1], SHIB[1545806.43366569], USD[54.27]                                                                                                                                               Yes

08027995                           BTC[.06334825], DOGE[.2391816], ETH[.01], ETHW[.01], LTC[.00915781], TRX[.00007], USD[0.00], USDT[0]

08028002                           USD[2.66]                                                                                                                                                                                 Yes
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                                                                                                                                            Customer Claims                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08028003                              BRZ[3], BTC[.00000022], CUSDT[34], GRT[1], SHIB[7], SOL[.00001245], TRX[4], USD[0.01]                                                                                    Yes

08028005                              USD[0.00], USDT[0]

08028014                              USD[20.00]

08028019                              CUSDT[1], SHIB[5712185.65144295], USD[327.34]                                                                                                                            Yes

08028039                              CUSDT[7], DOGE[2], ETH[.00000017], ETHW[.00000017], SOL[.09284698], TRX[1], USD[0.00]                                                                                    Yes

08028041                              USD[0.00]

08028045                              NFT (329269408346283579/Relax!)[1], NFT (384653582518341226/Distorted Consciousness!)[1], NFT (399205406047290871/Ice Scream!)[1], USD[0.00]

08028050                              BF_POINT[600], BRZ[2], GRT[1], TRX[1], USD[0.00], USDT[0]                                                                                                                Yes

08028053                              BAT[1.00092241], CUSDT[1], DOGE[1], ETH[0], LINK[.00649623], USD[0.00], USDT[1.00043561]

08028056                              BTC[.00245386], CUSDT[1], ETH[.00237985], ETHW[.00235249], USD[0.01]                                                                                                     Yes

08028062                              DOGE[74.79494849], SHIB[2], SOL[.00000395], USD[4.23]                                                                                                                    Yes

08028064                              SOL[.54], USD[0.11]

08028073                              CUSDT[1], DOGE[1], ETH[0.10418065], ETHW[0.10418065], USD[0.01]

08028084                              CUSDT[2], GRT[1], SOL[.48874913], TRX[5526.26601884], USD[0.01]

08028087                              CUSDT[3], DOGE[298.23195033], SHIB[389334.74810611], USD[0.00]                                                                                                           Yes

08028090                              BAT[1.01576669], BRZ[2], CUSDT[2], DOGE[2], ETH[0], USD[0.01]                                                                                                            Yes

08028102                              USD[27.14]                                                                                                                                                               Yes

08028112                              DOGE[380.70502232], USD[10.96]                                                                                                                                           Yes

08028117                              SOL[.00800284], USD[0.91]

08028139                              MATIC[.795], SHIB[6796800], TRX[2359.638], USD[530.66]

08028143                              BRZ[1], CUSDT[2], DOGE[1], MATIC[.0005686], TRX[2], USD[0.01]                                                                                                            Yes

08028148                              USD[20.00]

08028156                              CUSDT[1], LTC[.26470066], USD[0.00]                                                                                                                                      Yes

08028159                              BRZ[1], CUSDT[6], DOGE[1], NFT (534522299385902115/Good Boy #80)[1], SHIB[4], TRX[3], USD[0.00]                                                                          Yes

08028161                              USD[2.10]

08028162                              SHIB[1412828.4826222], TRX[1], USD[0.00]

08028163                              USD[0.03]

08028170                              ETH[.00006556], ETHW[.00006556], GRT[1], SHIB[1], TRX[1], USD[622.90]

08028185                              BTC[.00599506], CUSDT[16], DOGE[1], ETH[.00799621], ETHW[.00790045], USD[0.00]                                                                                           Yes

08028188                              SHIB[7157568.72543514], USD[0.00]

08028194                              SHIB[1], SOL[0]                                                                                                                                                          Yes

08028200                              BAT[.00000001], BTC[0], ETH[.00000001], USD[0.00]

08028204                              USD[0.00], USDT[0]

08028214                              CUSDT[2], SHIB[1], USD[0.01]

08028223                              CUSDT[2], DOGE[1], TRX[1], USD[0.00]                                                                                                                                     Yes

08028224                              BTC[.00073203], CUSDT[3], ETH[.01191573], ETHW[.01176525], SHIB[.0000716], SOL[.04350703], USD[0.00]                                                                     Yes

08028226                              CUSDT[5], ETH[.01204491], ETHW[.01189443], USD[0.00]                                                                                                                     Yes

08028230                              BCH[.10853803]                                                                                                                                                           Yes

08028233                              BTC[.00015796], CUSDT[2], DOGE[99.01167148], SHIB[239990.64913645], USD[0.00]                                                                                            Yes

08028238                              ETH[0], NFT (368341158630664875/Dalmatian Common #343)[1], USD[0.00]                                                                                                     Yes

08028252                              BAT[0], USD[0.00]                                                                                                                                                        Yes

08028254                              BAT[2.08068071], BRZ[3], BTC[.00811634], CUSDT[31], DOGE[10.16508321], ETH[.06323767], ETHW[.06245317], LTC[2.69703868], MATIC[47.24863675], SHIB[1], SOL[4.19711779],   Yes
                                      TRX[15.30999991], USD[0.65]
08028255       Contingent, Disputed   USD[0.00]

08028258                              ETH[.02], ETHW[.02], USD[0.00]

08028263                              CUSDT[13], DOGE[1], ETH[.04591517], ETHW[.04534304], USD[0.00]                                                                                                           Yes

08028265                              BRZ[1], USD[0.00]                                                                                                                                                        Yes

08028268                              USD[50.01]

08028271                              USD[0.00]

08028277                              USD[10.85]                                                                                                                                                               Yes

08028281                              SHIB[14616.27686252], USD[0.00]                                                                                                                                          Yes

08028286                              SHIB[153422.65409476], USD[0.00]                                                                                                                                         Yes

08028287                              BAT[0], BTC[0], DOGE[43.96165021], GRT[595.77336829], LTC[0], MATIC[2.53469126], SHIB[380950749.34647026], SOL[0], USD[420.73], USDT[0.00000005], YFI[.00273491]

08028289                              BTC[.00488139], USD[0.00]

08028300                              NFT (384905387941685636/Coachella x FTX Weekend 2 #857)[1], NFT (470255067357416573/FTX - Off The Grid Miami #4202)[1]

08028302                              USD[21.71]                                                                                                                                                               Yes

08028305                              BAT[1.92834335], BTC[.00071043], CUSDT[1], KSHIB[140.80437597], USD[0.12]                                                                                                Yes

08028306                              NFT (297698195838404413/Solana Squirrel #915)[1]

08028307                              ETH[.00000001], SHIB[0], SOL[0], USD[0.00], USDT[0]
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                                                                                                                                         Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08028309                           USD[0.00]

08028318                           CUSDT[1], SHIB[306193.33285657], USD[0.00]                                                                                                                                                 Yes

08028321                           BTC[.00000003], CUSDT[2], SOL[1.1088332], USD[55.87]                                                                                                                                       Yes

08028325                           USD[15.00]

08028326                           USD[2.29]                                                                                                                                                                                  Yes

08028329                           SHIB[152773.45037058], USD[0.00]                                                                                                                                                           Yes

08028344                           BAT[6.9776497], BRZ[4], BTC[.00000015], CUSDT[578.04315708], DOGE[4], ETH[.00000828], ETHW[.00000828], SHIB[1101601.29290112], USD[0.01]                                                   Yes

08028345                           ETH[.00073], ETHW[.00073], USD[0.00]

08028358                           BTC[.00001056], USDT[4.03703673]

08028365                           BRZ[2], CUSDT[7], DOGE[2], SHIB[46.2807047], USD[0.00]                                                                                                                                     Yes

08028371                           CUSDT[2], SHIB[1709167.56742993], USD[0.00]                                                                                                                                                Yes

08028373                           BRZ[1], BTC[.00000017], CUSDT[1], SHIB[1], SOL[.14028785], TRX[2], USD[0.00], USDT[1.05185124]                                                                                             Yes

08028379                           BTC[0], CUSDT[3], DOGE[1], USD[0.01]                                                                                                                                                       Yes

08028385                           BTC[.00000018], ETH[.00000159], MATIC[.00075689], SHIB[1], USD[0.00]                                                                                                                       Yes

08028400                           SOL[.17765]

08028401                           BTC[.00090532], CUSDT[2], LTC[.53002915], SHIB[1528288.65852208], TRX[1], USD[0.00]                                                                                                        Yes

08028404                           SOL[.00293474], USD[1.58]

08028408                           BRZ[1], BTC[.00000009], USD[0.00]                                                                                                                                                          Yes

08028415                           BAT[4.62210223], CUSDT[15], DOGE[5], ETHW[2.0185512], SHIB[29359884.27656821], SOL[9.22718488], TRX[28.02884379], USD[0.12]                                                                Yes

08028419                           BAT[20.6852351], CUSDT[2], DOGE[79.70302529], LINK[.34530758], SOL[.26358707], USD[0.00]                                                                                                   Yes

08028425                           CUSDT[2], DOGE[1], ETH[1.32256329], ETHW[1.32200778], LINK[102.97337266], SOL[2.35719226], USD[8937.59]                                                                                    Yes

08028427                           USD[5.43]                                                                                                                                                                                  Yes

08028437                           USD[7.59]

08028440                           BTC[.0015433], CUSDT[4], LINK[2.53551671], SUSHI[5.58330072], TRX[686.30405227], USD[0.00]

08028441                           CUSDT[1], KSHIB[621.92177801], USD[0.00]                                                                                                                                                   Yes

08028442                           BTC[.00082995], CUSDT[4], TRX[1], USD[0.00]

08028445                           CUSDT[1], USD[0.00]                                                                                                                                                                        Yes

08028451                           SHIB[1], SOL[.00474784], USD[0.00]

08028456                           SHIB[1409641.95094446], TRX[1], USD[0.00]

08028458                           DOGE[0], SHIB[3], TRX[1], USD[0.00]                                                                                                                                                        Yes

08028466                           USD[0.00]

08028468                           BAT[3184.86238294], SOL[.00000001], USD[21.71]                                                                                                                                             Yes

08028478                           USD[5.43]                                                                                                                                                                                  Yes

08028484                           BRZ[3], CUSDT[11], DOGE[1], MATIC[0], TRX[2], USD[0.00]

08028491                           BRZ[1], SHIB[3816113.64363387], USD[0.00]                                                                                                                                                  Yes

08028497                           BTC[.00087347], CUSDT[3], SHIB[1362759.35617363], USD[1.10]                                                                                                                                Yes

08028499                           BTC[.00594604], CUSDT[5], DOGE[307.78981135], ETH[.02449935], ETHW[.02419839], LINK[2.35407134], SHIB[1556475.76940953], SOL[.33755905], TRX[462.76785131], USD[159.83]                    Yes

08028500                           ETH[.217436], ETHW[.217436], USD[4.37], USDT[0]

08028504                           USD[20.00]

08028505                           BTC[.00016314], SHIB[187300.99269526], USD[0.00]

08028514                           AAVE[0], ALGO[0], AVAX[0], BTC[0], ETH[0], ETHW[0], LINK[0], MATIC[0], NFT (345090619762611300/HEART OF DARKNESS)[1], NFT (385757766687247234/Rare Art #13)[1],                            Yes
                                   SHIB[2238012.79697798], SOL[0], UNI[0], USD[211.92]
08028525                           CUSDT[4], DOGE[1], TRX[1], USD[0.01]                                                                                                                                                       Yes

08028536                           USD[0.01]                                                                                                                                                                                  Yes

08028542                           USD[2.04]

08028556                           NFT (318209620469324724/Qwes Avatar #6)[1], SHIB[0], SOL[0], USD[4.20]                                                                                                                     Yes

08028559                           CUSDT[6], DOGE[125.41479144], SHIB[1], SOL[6.96318897], TRX[3], USD[4.25]                                                                                                                  Yes

08028562                           BTC[.11620279], DOGE[33787.14190807], ETH[6.95042758], ETHW[6.94785518], GRT[1], LTC[4.12614985], NFT (289514291492880817/Divine Soldier #1560)[1], NFT (314669348800056233/Divine         Yes
                                   Soldier #3049)[1], NFT (314896617187668701/Divine Soldier #6120)[1], NFT (317380571255015694/Divine Soldier #5703)[1], NFT (318390012927410643/Divine Soldier #6700)[1], NFT
                                   (330565249560108286/Divine Soldier #5395)[1], NFT (346247586417357436/Divine Soldier #2630)[1], NFT (352953385358604205/Divine Soldier #2165)[1], NFT (362720179659727135/Divine Soldier
                                   #263)[1], NFT (365082049769443283/Divine Soldier #5304)[1], NFT (385471479405289124/Divine Soldier #395)[1], NFT (389600468480916115/Divine Soldier #2266)[1], NFT
                                   (397044860680382558/Divine Soldier #5571)[1], NFT (412512521744442325/Divine Soldier #4162)[1], NFT (438704878679647802/Divine Soldier #6951)[1], NFT (452843493004912067/Divine Soldier
                                   #5400)[1], NFT (480632839290490231/Divine Soldier #1415)[1], NFT (500514830176984922/Divine Soldier #4628)[1], NFT (508624617638858228/Divine Soldier #4324)[1], NFT
                                   (556944957545493044/Divine Soldier #3503)[1], NFT (572288278521714089/Divine Soldier #6257)[1], NFT (574573321684467317/Divine Soldier #504)[1], SHIB[2], SOL[.79503172], USD[0.00]

08028563                           DOGE[1], SOL[2.63580776], USD[0.00]                                                                                                                                                        Yes

08028565                           BTC[0], LINK[0]

08028566                           USD[54.28]                                                                                                                                                                                 Yes

08028567                           USD[0.01]                                                                                                                                                                                  Yes

08028570                           CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                                Yes

08028572                           USD[422.11]

08028573                           BTC[.00000909], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08028578                              CUSDT[6], TRX[1], USD[0.84], USDT[0]                                                                                                                                                Yes

08028605                              USD[0.03], USDT[0]

08028611                              BTC[.02000714], DOGE[1], GRT[1.0001826], LINK[35.43801099], USD[0.00]                                                                                                               Yes

08028620                              MATIC[119.88], USD[10.83]

08028622                              SOL[.01], USD[0.57]

08028625                              USD[10.00]

08028627                              CUSDT[1], KSHIB[138.53619881], SHIB[591914.78939137], TRX[97.74361944], USD[0.00]

08028655                              BRZ[7.29283012], BTC[.00000009], ETH[0.00000083], ETHW[0.00000082], LINK[.00012342], MATIC[.00150912], NFT (567691557086628478/ApexDucks #3665)[1], SHIB[29], SOL[0], TRX[8],       Yes
                                      USD[0.12]
08028657                              DOGE[35.67702615], USD[0.00]

08028669                              USD[2.23]

08028670                              SHIB[74108.30217541], USD[0.00]                                                                                                                                                     Yes

08028679                              MATIC[0], SOL[0], USD[0.00]

08028680                              NFT (419103909909775512/Alpine Sports Club )[1], NFT (513151410491912697/Alpine Sports Club)[1], NFT (523060429503720676/Alpine Sports Club 1/1)[1], SOL[.22], USD[1.27]

08028684                              BTC[.00554466], USD[0.23]

08028689                              USD[3.63]

08028692                              USD[25.00]

08028696                              KSHIB[1925.58482982], SHIB[8436.1395481], USD[0.19]                                                                                                                                 Yes

08028698                              BTC[.00259524], CUSDT[3], ETH[.02354704], ETHW[.02325956], SHIB[1676300.82362868], TRX[983.12784257], USD[111.03]                                                                   Yes

08028704                              SHIB[153202.54947193], USD[0.00]                                                                                                                                                    Yes

08028706                              CUSDT[3], SHIB[248015.08754411], USD[0.00]                                                                                                                                          Yes

08028712       Contingent, Disputed   BRZ[1], SHIB[740.39617924], USD[0.01]                                                                                                                                               Yes

08028714                              BRZ[1], SOL[17.25907184], USD[0.08]                                                                                                                                                 Yes

08028715                              SHIB[0], USD[0.00]                                                                                                                                                                  Yes

08028721                              USD[0.00]                                                                                                                                                                           Yes

08028726                              USD[0.01]

08028729                              USD[0.89]

08028730                              CUSDT[1], TRX[1], USD[0.00]

08028735                              CUSDT[1], SHIB[229602.51669059], USD[0.00]                                                                                                                                          Yes

08028738                              CUSDT[1], ETH[.00000001], TRX[1], USD[0.61]                                                                                                                                         Yes

08028747                              USD[250.00]

08028752                              USD[20.00]

08028754       Contingent, Disputed   USD[0.44]                                                                                                                                                                           Yes

08028755                              BTC[.00016254], CUSDT[4], DOGE[272.22292417], ETH[.02730627], ETHW[.02730627], KSHIB[141.58041116], MATIC[5.21708989], SHIB[4442495.02222079], SOL[.32228744], TRX[98.26452283],
                                      USD[60.00]
08028763                              ALGO[4.72908972], ETHW[1], SOL[.82174821], USD[0.14]

08028765                              NFT (569185768895513217/The Hill by FTX #6843)[1], USD[2.12]

08028768                              BTC[0], USD[3.03]

08028770                              CUSDT[2], DOGE[1], USD[0.86]

08028778                              BTC[.1644], ETH[2.069928], ETHW[2.069928], USD[479.08]

08028779                              DOGE[1], ETHW[.08470239], SHIB[3], USD[0.01]                                                                                                                                        Yes

08028780                              USD[0.01]                                                                                                                                                                           Yes

08028785                              NFT (320216426502980516/Mayar - Init Gathering)[1], NFT (394961645942880380/Dinobieber)[1], NFT (408761910679585025/Dinoagent)[1], NFT (475927082488585041/Dinogembel)[1], NFT
                                      (484899447492554193/Dinowati)[1], NFT (532708069192310900/Dinoboy)[1]
08028786                              DOGE[38.10362089], SHIB[195160.0312256], USD[0.00]

08028795                              BAT[1.00327324], BTC[.00000511], CUSDT[1], SHIB[90.08701761], SUSHI[1.05950192], USD[0.00]                                                                                          Yes

08028796                              AVAX[.00003628], BRZ[4], DOGE[9.01859444], GRT[2.89134355], LINK[.00022382], NEAR[.00011885], SHIB[58], SOL[.00000837], TRX[8], USD[0.00]                                           Yes

08028799                              KSHIB[70.60825481], USD[0.00]                                                                                                                                                       Yes

08028803                              USD[0.00]                                                                                                                                                                           Yes

08028808                              BTC[.00006317], DOGE[3.62668212], ETH[.00074017], ETHW[.00073531], LINK[.03081047], USD[0.00]                                                                                       Yes

08028828                              BTC[.00362045], CUSDT[2], DOGE[1], SHIB[1], USD[16.17]

08028829                              NFT (373840950526152938/FTX x CAL: The Decision #127)[1]

08028831                              PAXG[.0037], USD[0.07]

08028837                              BTC[.00163317]

08028839                              USD[10.19]                                                                                                                                                                          Yes

08028843                              BAT[0], BCH[0], BTC[0], DAI[0], DOGE[10.02267013], ETH[0], EUR[0.00], GBP[0.00], GRT[0], KSHIB[0], LINK[0], MATIC[15.24374028], MKR[0], NFT (334581118974393366/Gangster Gorillas   Yes
                                      #9593)[1], NFT (573743083937693660/David #632)[1], PAXG[0], SHIB[2], SOL[0], USD[0.00], USDT[0], YFI[0]
08028845                              USD[39.82]

08028854                              AVAX[.00046178], BAT[2], BRZ[3], CUSDT[1], DOGE[8.00921072], GRT[2], NEAR[.03651352], SHIB[7], SOL[.00000002], SUSHI[1.04562767], TRX[8], USD[100.05]                               Yes

08028855                              AVAX[.0000164], BRZ[1], CUSDT[2], DOGE[2], ETH[0], SHIB[30], SOL[.00000698], TRX[1], USD[0.01]                                                                                      Yes

08028858                              ALGO[0], AVAX[0.41412657], ETH[0], GRT[66.11167475], MATIC[7.68971613], SOL[3.69872645], TRX[0], UNI[2.24348186], USD[0.00]                                                         Yes
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08028871                              DOGE[.00687001]                                                                                                                                                                      Yes

08028877                              BTC[.00016194], USD[0.00]                                                                                                                                                            Yes

08028881                              BTC[.003084], USD[2.84]

08028893                              USD[4.32]

08028896                              ETH[0.00276040], ETHW[0.00272541]                                                                                                                                                    Yes

08028901                              USD[108.54]                                                                                                                                                                          Yes

08028905                              BRZ[1], SOL[.00000505], USD[0.42]                                                                                                                                                    Yes

08028915                              KSHIB[70.12265714], USD[0.00]

08028919                              USD[0.00]                                                                                                                                                                            Yes

08028929                              BTC[.22846963], DOGE[2], ETH[2.99505729], ETHW[2.99379937], SOL[1.42056721], TRX[2], USD[0.63]                                                                                       Yes

08028947                              BTC[.00050407]

08028950                              USD[0.01]

08028954                              BTC[.00024028], CUSDT[2], USD[0.00]                                                                                                                                                  Yes

08028957       Contingent, Disputed   ALGO[.00006745], NEAR[.00032716], SHIB[5], USD[0.24]                                                                                                                                 Yes

08028958                              USD[0.00]                                                                                                                                                                            Yes

08028964                              CUSDT[4], DOGE[2], USD[0.00]                                                                                                                                                         Yes

08028965                              BTC[.00001615], USD[2.17]                                                                                                                                                            Yes

08028968                              BRZ[1], CUSDT[3], DOGE[1], ETH[.14289969], ETHW[.14199358], SHIB[5], TRX[1], USD[15.81], USDT[5.3963354]                                                                             Yes

08028969                              CUSDT[4], DOGE[1], LINK[.79024695], MATIC[13.04026883], SHIB[958104.00681545], SUSHI[1.98199978], USD[0.00]

08028971                              BRZ[1], CUSDT[2], LTC[.52254155], SOL[1.07623008], TRX[148.45156393], USD[0.00]                                                                                                      Yes

08028973                              CUSDT[2], KSHIB[1387.01333862], SHIB[2770850.6511499], USD[0.00]

08028992                              ETH[.024934], ETHW[.024934], USD[1.17]

08028994                              SHIB[1], USD[0.01]                                                                                                                                                                   Yes

08028997                              BRZ[1], SHIB[1528365.88586601], USD[0.00]                                                                                                                                            Yes

08028998                              DOGE[45.01569604], KSHIB[83.04891504], SHIB[27000.20369034], USD[0.00]                                                                                                               Yes

08029008                              USD[0.33]                                                                                                                                                                            Yes

08029012                              BRZ[2], BTC[.00165753], CUSDT[4], SOL[1.57904873], USD[0.08], YFI[.00308288]                                                                                                         Yes

08029018                              ALGO[0], BTC[.00000034], ETH[0.00000001], ETHW[0], LINK[.0033318], MATIC[0.04155748], USD[0.00], USDT[0.00003812]                                                                    Yes

08029019                              USD[0.01]

08029021                              BAT[2.77363257], BRZ[11.6670449], BTC[.00092118], CUSDT[3], DAI[5.29419073], DOGE[1], GRT[2.83777813], KSHIB[55.55113056], MATIC[1.91255103], SHIB[506248.9591078], TRX[28.22372548], Yes
                                      USD[0.00], USDT[2.11960026]
08029031                              CUSDT[2], DOGE[36.29167302], NFT (337567761538462037/Z - Town #24)[1], NFT (345533206077380380/Z - Town #27)[1], NFT (354177635836489787/Z - Town #4)[1], NFT                         Yes
                                      (354951451744152845/Z - Town #2)[1], NFT (373885008903360997/Z - Town #25)[1], NFT (415830429796179186/Z - Town #23)[1], NFT (416870629161574021/Skull Love #11)[1], NFT
                                      (457660834551524040/Z - Town #21)[1], NFT (538394813193640345/FunTownPeople #12)[1], NFT (546909766337896894/Z - Town #19)[1], TRX[1.01203826], USD[0.00]
08029035                              USD[0.00], USDT[0]                                                                                                                                                                    Yes

08029045                              MATIC[40], SHIB[300000], USD[2.31]

08029049                              SHIB[12039489.52564411], TRX[1], USD[0.01]

08029070                              USD[0.00]

08029072                              BTC[.00002467], NFT (294140019903364742/Coachella x FTX Weekend 1 #14793)[1], NFT (323082866106886427/Reflector #357)[1], NFT (382645852924705306/MagicEden Vaults)[1], NFT          Yes
                                      (405116583296886294/Reflection '15 #58)[1], NFT (416929356892282502/Ferris From Afar #250)[1], NFT (497119734670769214/MagicEden Vaults)[1], NFT (519748647108432085/MagicEden
                                      Vaults)[1], NFT (539527033832846320/MagicEden Vaults)[1], NFT (544559178528568411/MagicEden Vaults)[1], NFT (550681039581829016/Reflection '19 #43)[1], USD[5899.94]
08029074                              BAT[1.00007443], BRZ[1], CUSDT[1], DOGE[1], ETH[0], SOL[0], TRX[1], USDT[0]                                                                                                          Yes

08029085                              DOGE[1], SHIB[2], USD[0.01], USDT[1]

08029088                              NFT (492051262694890329/Microphone #8888)[1]

08029094                              CUSDT[1], KSHIB[7028.71087819], USD[0.00]                                                                                                                                            Yes

08029103                              USD[204.11]

08029104                              BAT[53.74937591], BRZ[5.07952967], BTC[.04156584], CUSDT[728.51641275], DOGE[738.63798972], ETH[.48104688], ETHW[1.69024256], GRT[194.05397496], LINK[11.7702477],                   Yes
                                      MATIC[14.88861565], SHIB[3883558.71101944], SOL[4.73986143], SUSHI[2.39805888], TRX[1531.12879836], UNI[3.22814215], USD[1121.80]
08029105                              USD[54.28]                                                                                                                                                                           Yes

08029108                              SOL[.97], USD[1.23]

08029110                              DOGE[1], TRX[1], USD[0.01]                                                                                                                                                           Yes

08029118       Contingent, Disputed   ETH[0.00000001], ETHW[0.00000001], USD[0.00], USDT[0]                                                                                                                                Yes

08029124                              USD[0.00]

08029132                              CUSDT[1], SOL[.35380319], USD[0.03]                                                                                                                                                  Yes

08029141                              CUSDT[2], DOGE[21.80485238], SHIB[2675329.63883049], SOL[1.37810672], TRX[1], USD[0.00]

08029144                              USD[0.00]

08029146                              DOGE[39.42881229], USD[0.00]                                                                                                                                                         Yes

08029153                              USD[216.11]                                                                                                                                                                          Yes

08029154                              BRZ[1], CUSDT[1], DOGE[3], KSHIB[2262.31258078], TRX[292.3515315], USD[0.00]

08029185                              SHIB[3], SOL[4.40810521], USD[1168.63]                                                                                                                                               Yes

08029190                              BAT[1], BRZ[1], CUSDT[1], DOGE[3], SHIB[502056137.74066842], TRX[3], USD[0.01], USDT[1]

08029195                              SHIB[754711.18545781], USD[0.10]                                                                                                                                                     Yes
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                                                                                                                                         Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08029203                           SHIB[46953000], USD[18002.97]

08029207                           USD[27.14]                                                                                                                                                                       Yes

08029208                           CUSDT[2], SOL[.19832401], USD[0.00]                                                                                                                                              Yes

08029209                           USD[10.85]                                                                                                                                                                       Yes

08029217                           BTC[0], SOL[0.00000001], USD[0.47]

08029227                           USD[0.00]                                                                                                                                                                        Yes

08029228                           CUSDT[1], SHIB[747160.78900179], USD[0.00]

08029229                           BTC[.00099703], ETH[.00454978], ETHW[.00454978], KSHIB[9.59], SOL[.19997574], USD[0.61]

08029256                           DOGE[1], GRT[1.00256943], SOL[4.36897737], USD[0.00]                                                                                                                             Yes

08029261                           BRZ[1], CUSDT[1], KSHIB[2771.50032953], MATIC[172.72842753], SHIB[1425726.21407375], TRX[1], USD[0.33]                                                                           Yes

08029271                           DOGE[1], MATIC[0], SHIB[1], TRX[1], USD[0.00], USDT[0.00000009]                                                                                                                  Yes

08029272                           BRZ[340.21671124], CUSDT[1], USD[0.00]

08029274                           CUSDT[6], DOGE[1], KSHIB[.00003842], SHIB[55.29265372], SOL[0], TRX[1], USD[0.37]

08029275                           USD[8.84]                                                                                                                                                                        Yes

08029280                           SHIB[383000.09665462], TRX[1], USD[0.00]                                                                                                                                         Yes

08029281                           USD[0.00]

08029289                           ALGO[942.4485506], BAT[1262.5706973], CUSDT[2], DOGE[1695.74665076], KSHIB[1039.45839505], MATIC[1712.15943713], MKR[3.83329301], SHIB[19820536.85257044], TRX[1908.56118638],   Yes
                                   USD[0.00], USDT[0.38304960], YFI[1.81990967]
08029303                           USD[10.85]                                                                                                                                                                       Yes

08029309                           BTC[.00137351], CUSDT[3], DOGE[1], ETH[.01158334], ETHW[.01143874], SHIB[1], SOL[.54857422], TRX[1], USD[0.00]                                                                   Yes

08029312                           BF_POINT[300], DOGE[0], ETH[0.00000002], ETHW[0], GRT[0.86357532], UNI[0], USD[0.00]                                                                                             Yes

08029317                           DOGE[11.8531632], LINK[.00022008], SHIB[18], TRX[1], USD[0.02]                                                                                                                   Yes

08029320                           BTC[.00000791], SUSHI[0], USD[0.00]

08029324                           SOL[2.71]

08029326                           BTC[.000018], USD[0.00]

08029334                           LINK[38], USD[623.20]

08029349                           USD[0.01]

08029358                           CUSDT[1], SOL[.10476521], USD[0.00]                                                                                                                                              Yes

08029361                           SOL[.00979104], USD[0.02]

08029365                           USD[107.92]                                                                                                                                                                      Yes

08029367                           BAT[1], BF_POINT[100], BTC[.00000111], CUSDT[17], ETHW[4.47603944], TRX[4], USD[0.01]                                                                                            Yes

08029370                           SOL[.00001372], USD[0.00]                                                                                                                                                        Yes

08029374                           SOL[2.44], USD[1.80]

08029375                           LINK[.87383058], PAXG[.00123618], SHIB[1.76810591], USD[0.00]                                                                                                                    Yes

08029381                           BTC[0.00018586], DOGE[0], ETH[0], ETHW[0], KSHIB[0], SHIB[21.58194856], SOL[0], USD[0.00], USDT[0]                                                                               Yes

08029385                           USD[0.01], USDT[0]                                                                                                                                                               Yes

08029388                           BAT[1.01103756], BRZ[1], CUSDT[4], DOGE[7.00057537], KSHIB[.00003994], TRX[5], USD[2340.04]                                                                                      Yes

08029395                           USD[50.01]

08029415                           USD[54.28]                                                                                                                                                                       Yes

08029419                           USD[0.00]

08029425                           CUSDT[1], ETH[0], KSHIB[0], TRX[0], USDT[0]                                                                                                                                      Yes

08029445                           BTC[0], SOL[.00115], USD[0.72]

08029447                           DOGE[.00359253]                                                                                                                                                                  Yes

08029475                           USD[1.70]

08029495                           CUSDT[1], SOL[.02184568], TRX[.00045669], USD[0.00]                                                                                                                              Yes

08029499                           BRZ[1], CUSDT[1], DOGE[1], ETH[0], SHIB[0], TRX[1], USD[42.70]

08029507                           DOGE[1], SOL[0], USD[0.00]                                                                                                                                                       Yes

08029523                           USD[0.01]                                                                                                                                                                        Yes

08029531                           ETH[.00362764], ETHW[0.00362763]

08029542                           CUSDT[4], DAI[19.90033454], DOGE[1], KSHIB[691.38449191], SHIB[4810885.14036142], TRX[36.08674814], USD[2.50], USDT[74.64774846]

08029547                           ETH[.00892451], ETHW[.00892451], PAXG[.0055], SOL[.00001389], USD[0.00]

08029551                           BTC[0], USD[0.06]                                                                                                                                                                Yes

08029562                           NFT (340021407744322785/2974 Floyd Norman - OKC 6-0213)[1], NFT (384940329431386738/Blue Mist #105)[1], NFT (415343927259315470/WuhanLab.com Genesis #606)[1], NFT
                                   (466053696135453031/Saudi Arabia Ticket Stub #223)[1], NFT (471438140204570587/Barcelona Ticket Stub #2362)[1], NFT (477862131578797817/FTX AU - we are here! #57479)[1], NFT
                                   (552244800183211349/Beasts #815)[1], SOL[3.953], USD[44.53], USDT[0.00000001]
08029564                           CUSDT[1], ETH[.01140134], ETHW[.01140134], USD[0.00]

08029565                           USD[0.00]

08029569                           KSHIB[69.9292875], USD[0.00]

08029588                           USD[0.36], USDT[0]

08029590                           BCH[0], BTC[0], ETH[0], ETHW[0], USD[3.85]                                                                                                                                       Yes
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                                                                                                                                         Customer Claims                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08029602                           BTC[.00071853], CUSDT[1], LTC[.15912511], TRX[1], USD[5.44]                                                                                                               Yes

08029607                           DOGE[1], SHIB[8454514.71085559], USD[0.00]

08029619                           USD[54.28]                                                                                                                                                                Yes

08029624                           USD[10.85]                                                                                                                                                                Yes

08029625                           SOL[.06993], USDT[.744325]

08029627                           SHIB[135981.92600511], USD[0.00]                                                                                                                                          Yes

08029633                           DOGE[1], MATIC[4.88974691], SOL[.20398256], SUSHI[.75304943], TRX[1], USD[0.00]

08029634                           BRZ[1], CUSDT[1], DOGE[1], SOL[5.75667675], TRX[2], USD[0.00], USDT[1]

08029639                           ETH[.00049004], ETHW[0.00049004], USD[0.25]

08029651                           BTC[0.00008565], ETH[.00000001], USD[0.00], USDT[4.27]

08029654                           USD[500.00]

08029658                           USD[0.01]                                                                                                                                                                 Yes

08029662                           USD[0.51]

08029667                           BRZ[4], CUSDT[9], DOGE[1], SHIB[100.53785861], USD[0.00]                                                                                                                  Yes

08029671                           BRZ[55.3540024], USD[10.00]

08029672                           USD[3.00]

08029684                           SOL[0]

08029685                           NFT (344383917183286669/BabyBlob #12)[1]

08029712                           ETH[0], USD[0.00], USDT[0.00000130]

08029715                           CUSDT[494.3228758], DOGE[1], NFT (543922209680401167/WuTakenPeople)[1], SHIB[2759459.11523994], TRX[322.78573383], USD[0.12]                                              Yes

08029723                           CUSDT[1], MATIC[39.64948614], SOL[.14327441], TRX[1], USD[0.08]                                                                                                           Yes

08029737                           CUSDT[4], USD[0.00]

08029745                           BRZ[1], CUSDT[3], DOGE[411.83622973], ETH[.00000203], ETHW[.00000203], KSHIB[4076.70981796], SHIB[4403174.61456825], TRX[3], USD[0.00]                                    Yes

08029748                           SHIB[0]                                                                                                                                                                   Yes

08029751                           CUSDT[2], SHIB[8207489.13275133], USD[0.01]

08029764                           USD[0.00]                                                                                                                                                                 Yes

08029771                           USD[5.81]                                                                                                                                                                 Yes

08029784                           BAT[.00214754], BRZ[3], CUSDT[17], DOGE[2415.43951255], ETH[2.63440668], ETHW[.00005463], LTC[3.87448274], SHIB[17940972.06601712], TRX[7], USD[0.28], USDT[0.00385214]   Yes

08029787                           BRZ[1], ETH[.0245819], ETHW[.02428094], USD[0.00]                                                                                                                         Yes

08029823                           BTC[.00114149], DOGE[.00095694], USD[0.17]                                                                                                                                Yes

08029831                           BTC[.00045357], CUSDT[3], SHIB[1], USD[5.29]                                                                                                                              Yes

08029847                           CUSDT[1], LINK[.0000206], SHIB[7735738.19962242], USD[17.04]                                                                                                              Yes

08029864                           USD[300.00]

08029869                           BTC[.00015755], ETH[.0035356], ETHW[.00349456], LINK[.32350118], SOL[.05485043], TRX[1], UNI[0.71692758], USD[0.00]                                                       Yes

08029883                           ALGO[148.90239037], AVAX[3.24661631], ETHW[.09567116], KSHIB[1674.29424551], LINK[7.45661887], MATIC[193.63620283], NEAR[22.49340942], SHIB[124], TRX[2], USD[0.00]       Yes

08029884                           USD[6.09]                                                                                                                                                                 Yes

08029887                           BRZ[1], SOL[.11514067], USD[0.00]                                                                                                                                         Yes

08029897                           DOGE[2], SHIB[1130030.74059227], USD[0.00]

08029916                           LTC[0], SOL[0]

08029918                           BTC[.00000003], DOGE[1], MATIC[.00072776], SHIB[0], TRX[1], USD[0.00]                                                                                                     Yes

08029919                           NFT (518058445105548039/Nifty Nanas #26)[1]

08029928                           TRX[1], USDT[0.00000019]

08029940                           CUSDT[2], SHIB[3492107.83628998], USD[0.00], USDT[0]

08029950                           BRZ[1], CUSDT[1], USD[130.31]                                                                                                                                             Yes

08029970                           BTC[0], USD[0.00]

08029980                           BRZ[1], SHIB[3087849.31295352], USD[0.01]

08029987                           BAT[0], BRZ[1], CUSDT[14], DOGE[0], ETH[.00000057], ETHW[.00000057], MATIC[0.00115878], SHIB[3], TRX[7], USD[0.00], USDT[0.00000001]                                      Yes

08029988                           USD[100.00]

08030011                           BF_POINT[300], SOL[0.00000001], TRX[0], USD[0.00]                                                                                                                         Yes

08030019                           BRZ[1], CUSDT[1], USD[34.13]

08030030                           BAT[1.01044683], BCH[1.12370292], BTC[.02614704], CUSDT[1], DOGE[1], ETH[.12556628], ETHW[.1244292], TRX[1], USD[1.82]                                                    Yes

08030047                           ETH[.00043066], ETHW[.00043066], USD[0.00]                                                                                                                                Yes

08030063                           USD[0.00]                                                                                                                                                                 Yes

08030066                           BRZ[1], BTC[.00000003], CUSDT[2274.72032577], DOGE[1], SHIB[2], USD[0.34]                                                                                                 Yes

08030070                           CUSDT[1], DOGE[50.42594913], SHIB[275202.01101681], USD[0.01]                                                                                                             Yes

08030073                           BF_POINT[200], ETH[.00000001], SHIB[552.46262047], USD[0.00]                                                                                                              Yes

08030075                           CUSDT[4], SHIB[3.18598892], USD[0.01]                                                                                                                                     Yes

08030080                           DOGE[2], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08030081                              BCH[0.10359674], DOGE[9370.43118273], ETH[.18208893], SHIB[2], TRX[2], USD[0.00]

08030083                              ETHW[17.32042483]                                                                                                                                                                        Yes

08030114                              DOGE[1], SHIB[7685640.51444447], USD[0.00]                                                                                                                                               Yes

08030122                              DOGE[1], USD[6622.31]

08030126                              SHIB[7100000], USD[5.16]

08030135                              SOL[.00000001], USD[92.00], USDT[0.00000174]

08030150                              BF_POINT[100], BRZ[4], BTC[.02630398], CUSDT[24], DOGE[4], ETH[.70960271], ETHW[0.69250904], MATIC[133.03869521], SHIB[1639167.35288953], SOL[1.19528068], TRX[10], USD[0.00],           Yes
                                      USDT[0]
08030155                              BRZ[2], DOGE[.41149897], ETH[.00005054], ETHW[.00005054], USD[0.41], USDT[1]

08030158                              SOL[.04476421], USD[0.00], USDT[0]                                                                                                                                                       Yes

08030165                              ETHW[.25696617], USD[0.00]

08030184                              DOGE[1], TRX[4555.32656893], USD[0.00]

08030186                              CUSDT[1], USD[0.00]                                                                                                                                                                      Yes

08030196                              SHIB[1], TRX[1], USD[0.00]

08030207                              CUSDT[1], DOGE[5825.00769604], SHIB[37229645.75204495], SOL[13.12339569], TRX[2], USD[0.00], USDT[1.08536618]                                                                            Yes

08030211                              BTC[.00465356], CUSDT[1], USD[0.00]                                                                                                                                                      Yes

08030215                              BAT[0], DOGE[0], GRT[0], KSHIB[0], LINK[0], MATIC[0], SHIB[0], SUSHI[0], TRX[0], UNI[0], USD[0.00]                                                                                       Yes

08030216                              USDT[89.0000248]                                                                                                                                                                         Yes

08030221                              SHIB[14214.64108031]

08030232                              CUSDT[3], USDT[0]                                                                                                                                                                        Yes

08030236                              BTC[.00158363], CUSDT[2], DOGE[1], NFT (419509301622022623/SOLYETIS #7159)[1], NFT (498890356542248472/GalaxyKoalas # 614)[1], SOL[.38716933], USD[0.00]

08030240                              AAVE[3.81078596], BRZ[1], CUSDT[24], DOGE[9.09966207], NFT (288838761881071296/Solana Penguin #4947)[1], NFT (322921827392884298/Rox #143)[1], NFT (373385496116214620/Rox               Yes
                                      #282)[1], NFT (394645045696976582/Solana Penguin #2381)[1], NFT (419149510510844439/Megalodon Rogue Shark Tooth)[1], NFT (429009290849977984/32)[1], NFT
                                      (445330269656142639/Megalodon Rogue Shark Tooth)[1], NFT (451716432719113996/Rox #250)[1], NFT (466710758973066041/Miner Bot 857)[1], NFT (481960849507353036/Mech #3501)[1], NFT
                                      (511820082512726093/Mech #2735)[1], NFT (537100120451567562/Mech #4555)[1], NFT (551025692002295029/Solninjas #6363)[1], NFT (552747777675493469/Gloom Punk #3349)[1], SHIB[1],
                                      SOL[0.95749150], TRX[5], USD[0.00], USDT[0]
08030246       Contingent, Disputed   CUSDT[2], SHIB[8003664.00003692], TRX[1], USD[0.01]                                                                                                                                      Yes

08030248                              DOGE[1], USD[0.00]                                                                                                                                                                       Yes

08030253                              USD[0.01], USDT[0]

08030257                              BTC[0], DOGE[0], SHIB[11341493.57638124], TRX[0], USD[62.71]

08030266                              SHIB[12187800], USD[7.25]

08030270                              DOGE[0], USD[0.00]                                                                                                                                                                       Yes

08030277                              BTC[.00004818], ETH[.00000001], ETHW[.00000001], LINK[.0000008], MATIC[3.82821695], SOL[.12373477], USD[0.00]                                                                            Yes

08030284                              DOGE[2], LINK[6.04945829], NFT (443880671018461390/Astral Apes #2808)[1], NFT (543752043393956912/Eitbit Ape #4567)[1], NFT (554787285176023547/Bahrain Ticket Stub #459)[1], SHIB[4],   Yes
                                      SOL[4.38784646], SUSHI[7.5024359], TRX[318.40783496], USD[14.74]
08030296                              CUSDT[1], USD[0.01]

08030297                              DOGE[68.93558885], SHIB[125667.67127013], USD[0.00]

08030298                              CUSDT[4], DOGE[1], NFT (524840365913042240/🌈 Queen 1)[1], SOL[1.01522827], USD[0.01]                                                                                                     Yes

08030329                              USDT[15.12139108]

08030335                              SHIB[245760.25881909], TRX[1], USD[0.00]

08030345                              BTC[.00011321], DOGE[2], SHIB[1], SOL[0], TRX[1], USD[0.00]                                                                                                                              Yes

08030348                              USD[0.00]

08030351                              SOL[.05]

08030353                              CUSDT[3], DOGE[309.94106833], USD[0.00]

08030361                              SHIB[1700000], USD[1.64]

08030376                              GRT[1], USD[0.00]                                                                                                                                                                        Yes

08030389       Contingent, Disputed   BTC[0], ETH[0], MATIC[0], SOL[0], USD[0.00]                                                                                                                                              Yes

08030414                              BAT[1.00936323], BTC[.0010282], DOGE[4], ETHW[4.31031109], SOL[1.92715024], TRX[5], USD[0.01]

08030427                              CUSDT[1], MATIC[10.99347101], USD[0.00]                                                                                                                                                  Yes

08030436                              USD[5.00]

08030438                              BTC[.00057862], NFT (567950451607500552/Lemur series)[1], SHIB[1400000], USD[68.37]

08030440                              ETH[.0005], ETHW[.0005], SOL[.00733], USD[0.59]

08030443                              SHIB[200742.98426516], USD[0.37]

08030445                              AVAX[2.07576381], BRZ[1], BTC[.02171091], CUSDT[8], DOGE[2], ETH[.15306428], ETHW[.15230312], SHIB[8], SOL[4.15321521], TRX[2], USD[100.24]                                              Yes

08030457                              CUSDT[0], GRT[0], SHIB[0], SOL[0], USD[0.00], USDT[0]                                                                                                                                    Yes

08030459                              BCH[.00593403], USD[0.01]                                                                                                                                                                Yes

08030462                              BAT[1.01592446], SHIB[7911407.35202791], USD[0.00]                                                                                                                                       Yes

08030468                              BTC[0], SHIB[2], SOL[0], USD[0.00]

08030476                              USD[0.01]

08030477                              BTC[.00015256], TRX[87.9007607], USD[0.00], USDT[0]                                                                                                                                      Yes

08030480                              BTC[.00144135], SHIB[1316143.92912593], USD[0.00]

08030482                              CUSDT[1], LINK[6.6546486], USD[0.01]                                                                                                                                                     Yes
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                                                                                                                                            Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08030485                              BTC[0.00043947], USD[5.10]

08030492                              CUSDT[2], LINK[1.53422872], SHIB[708516.36672807], USD[0.00]

08030506                              BRZ[1], BTC[.00000095], CUSDT[2], ETH[.14258384], ETHW[.14167483], TRX[1012.36070823], USD[108.28]                                                                               Yes

08030509                              CUSDT[5], DOGE[1], TRX[1], USD[0.01]                                                                                                                                             Yes

08030513                              ETH[.00089143], ETHW[.00089143], SOL[.00629], USD[11.73]

08030515                              MATIC[119.45025083], SHIB[4613914.86261996], TRX[1], USD[0.00]                                                                                                                   Yes

08030519                              DOGE[1], SOL[2.17017057], USD[48.97]                                                                                                                                             Yes

08030523                              BRZ[1], CUSDT[1], SOL[1.6218561], USD[0.00]

08030527                              SOL[41.74855], USD[1.13]

08030553                              BRZ[5], CUSDT[34], DOGE[17.71634913], ETH[.00002821], ETHW[7.22811238], MKR[.00538201], SHIB[29], SOL[8.73251721], TRX[81.44119075], USD[0.05]                                   Yes

08030554                              USD[10.85]                                                                                                                                                                       Yes

08030557                              BTC[.01871275], ETH[.55931018], ETHW[.55907512]                                                                                                                                  Yes

08030578                              MATIC[54.51793374], SHIB[650.52488888], SOL[.52256812], USD[0.00]                                                                                                                Yes

08030580                              AAVE[0.01371956], BAT[1.82192166], BRZ[12.41466554], BTC[0.00077935], CHF[0.34], CUSDT[27.55041896], DOGE[5.38289345], ETH[0.00063292], ETHW[0.00063139], KSHIB[485.30843748],   Yes
                                      PAXG[0.00237655], TRX[0.00013846], USD[0.02], YFI[0.00004440]
08030581                              BTC[.00066168], CUSDT[5], SHIB[3], USD[0.00]                                                                                                                                     Yes

08030582                              USD[469.85], USDT[30]

08030588                              GBP[0.00], USD[0.01]                                                                                                                                                             Yes

08030596                              USD[0.00]

08030601                              USD[0.00]

08030608                              DOGE[1], USD[0.00]

08030609                              CUSDT[1], SOL[.45925954], USD[0.00]                                                                                                                                              Yes

08030610                              BRZ[4], CUSDT[57.72886406], DOGE[11.10260902], ETH[1.10059329], ETHW[.62746329], SHIB[183384181.55565787], SOL[3.24160835], TRX[477.03682263], USD[0.00]                         Yes

08030614                              BAT[1], BTC[.01499119], CUSDT[2], DOGE[1], ETH[.31286687], ETHW[.31286687], KSHIB[.67589618], TRX[2], USD[1.21]

08030616                              ETH[.00013759], ETHW[2.43813759], NFT (382557783880232070/Warriors Gold Blooded NFT #103)[1], USD[3774.88]

08030621                              USD[10.00]

08030626                              USD[1.00]

08030635                              BRZ[1], CUSDT[2], DOGE[1], SOL[.27451798], TRX[1], USD[0.23]

08030637                              CUSDT[3], SOL[0], USD[25.15]

08030639                              CUSDT[2], ETH[.00000078], ETHW[.0845449], SHIB[10], USD[0.00]                                                                                                                    Yes

08030648                              BRZ[600.56982327], BTC[.00423803], CUSDT[1], DOGE[1], MATIC[55.69410601], SHIB[1], TRX[1], USD[163.22]                                                                           Yes

08030649                              USD[400.00]

08030671                              USD[21.71]                                                                                                                                                                       Yes

08030672                              CUSDT[6], DOGE[1], TRX[1], USD[0.00]                                                                                                                                             Yes

08030674                              BTC[.00757955], USD[0.00]

08030680                              BTC[0.00110369], TRX[0.00048765], USD[0.00], YFI[0]                                                                                                                              Yes

08030682                              ETH[.00351487], ETHW[.00351487], USD[0.00]

08030684                              BTC[0], ETH[0.00000472], ETHW[0.00000472], SOL[0], USD[1853.99]

08030686                              DOGE[.00070387], USD[5.40]

08030698                              BAT[2], BRZ[2], CUSDT[2], DOGE[4], GRT[1], LINK[.00004601], SHIB[7], SUSHI[.00003913], TRX[3], USD[1982.39], USDT[10.86035339]                                                   Yes

08030700                              BAT[1], BRZ[5], CUSDT[4], DOGE[2], ETHW[.09391291], GRT[1], KSHIB[.29363546], SUSHI[1.02566303], TRX[5], USD[0.00], USDT[690.14204766]                                           Yes

08030708                              USD[21.51]                                                                                                                                                                       Yes

08030710                              BRZ[1], CUSDT[1], DOGE[92.70635457], ETH[.00741225], ETHW[.00731649], SHIB[232607.44313811], TRX[1], USD[0.00]                                                                   Yes

08030721                              ETH[0.04499718], TRX[1]

08030728                              AUD[0.71], ETH[.003992], ETHW[.003992], SOL[.12987], USD[0.71]

08030731                              USD[0.00]                                                                                                                                                                        Yes

08030739                              MATIC[0], USDT[0.00004527]

08030742                              USD[5000.00]

08030744                              SHIB[816273.58716066], USD[2.70]

08030757       Contingent, Disputed   AUD[0.00], NFT (289093170163778036/Baddies #2967)[1], NFT (465783446151299510/Baddies #2975)[1]

08030764                              BCH[.01492764], CAD[13.32], DOGE[2], GRT[8.59923045], LTC[.04083353], PAXG[.00584514], USD[0.01], USDT[5.38707286]                                                               Yes

08030765                              CUSDT[1], ETH[0], USD[0.00]                                                                                                                                                      Yes

08030769                              CUSDT[4], DOGE[2], NFT (445689361770657886/Fortuo Distinctus #25)[1], USD[0.00]                                                                                                  Yes

08030770                              CUSDT[2], USD[0.00]

08030771                              CUSDT[1], DOGE[1], ETH[.03316194], ETHW[.03316194], USD[0.00]

08030779                              USD[217.07]                                                                                                                                                                      Yes

08030781                              USD[0.44]

08030784                              USD[20.00]

08030785                              USD[110.00]
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08030788                              DOGE[2], SHIB[4787470.59466214], USD[0.00]                                                                                                                                               Yes

08030792                              AVAX[0], DOGE[1], SHIB[12973057.28941949], SOL[0], SUSHI[0], USD[0.00]                                                                                                                   Yes

08030793                              DOGE[1], ETH[.00000001], NFT (402815161936879691/Entrance Voucher #56)[1], SHIB[10], TRX[3], USD[0.00], USDT[0]

08030806                              DOGE[2], TRX[1], USD[0.00], USDT[1.08338553]                                                                                                                                             Yes

08030809                              BTC[.00350391], CUSDT[1], DOGE[1], NFT (556892954415472338/Series 1: Capitals #571)[1], SHIB[2252759.63054742], SOL[3.15367667], TRX[1], USD[0.00]

08030813                              USD[0.05]                                                                                                                                                                                Yes

08030819                              BAT[1], BRZ[2], CUSDT[3], DOGE[6], MATIC[14677.42298344], SHIB[1], TRX[8], USD[5578.62], USDT[1.05647651]                                                                                Yes

08030822                              CUSDT[1], USD[0.00]

08030824                              BTC[0], USD[1564.54]

08030836                              BTC[.00434554], USD[0.00]

08030837                              BTC[.00003113], ETH[.00130052], ETHW[.00128684], SHIB[1], SUSHI[.00001308], USD[2.00]                                                                                                    Yes

08030838                              DOGE[1], TRX[1022.29323641], USD[0.00]                                                                                                                                                   Yes

08030839                              BTC[.0092], USD[4.48]

08030845                              CUSDT[1], LINK[14.17170291], USD[0.00]                                                                                                                                                   Yes

08030848                              USD[0.00]

08030852                              CUSDT[1], SOL[.50399094], TRX[983.01251984], USD[0.00]                                                                                                                                   Yes

08030856                              CUSDT[1], SHIB[2800485.4401743], USD[0.00]                                                                                                                                               Yes

08030870                              NFT (315310819684138490/CryptoGang Avatar #9)[1], NFT (317426096466013478/Punk Line #13)[1], NFT (330547391184859497/Punk Line #4)[1], NFT (336761248676369785/Another Universe
                                      #3)[1], NFT (338900917332165765/Punk Line #8)[1], NFT (353517960939812756/CryptoGang Avatar #5)[1], NFT (368697082140803277/Another Universe #11)[1], NFT (372618417494333266/Ndia Art
                                      #4)[1], NFT (373745700112596936/Another Universe #2)[1], NFT (373826826480473791/Ndia Art #3)[1], NFT (374191207426286548/Another Universe #8)[1], NFT (374492066414749417/Ndia Art
                                      #2)[1], NFT (376111181611624977/Punk Line #3)[1], NFT (377470500418283635/CryptoGang Avatar #4)[1], NFT (384329223808071116/Another Universe #10)[1], NFT (390170237588129700/Another
                                      Universe #14)[1], NFT (392635586043754563/Cube Art #13)[1], NFT (392864341969052541/Another Universe #17)[1], NFT (394781955414038859/Another Universe #6)[1], NFT
                                      (412188704695634978/Cube Art #3)[1], NFT (412541711038966254/Punk Line)[1], NFT (419484553434399546/Another Universe #13)[1], NFT (435028185765507482/Punk Line #7)[1], NFT
                                      (451075743874955467/Ndia Art #5)[1], NFT (451675964927892858/Cube Art #4)[1], NFT (462914142888685190/Punk Line #10)[1], NFT (469785971458325650/Cube Art #11)[1], NFT
                                      (476180742861710568/Another Universe #12)[1], NFT (491454612846990283/Another Universe #16)[1], NFT (494142237679472272/Cube Art #6)[1], NFT (497470918843994960/Punk Line #5)[1], NFT
                                      (499345681372909097/CryptoGang Avatar #8)[1], NFT (500419048554731609/Cube Art #5)[1], NFT (517088235483618508/Punk Line #11)[1], NFT (518704004831677566/Punk Line #6)[1], NFT
                                      (525815815441997371/Cube Art #10)[1], NFT (528075881950835175/Cube Art #7)[1], NFT (535429688656713781/Another Universe #15)[1], NFT (546048412202200492/CryptoGang Avatar #7)[1], NFT
                                      (572056769386522890/CryptoGang Avatar #6)[1], NFT (575391800539578926/Another Universe #7)[1], SOL[0], USD[0.00]
08030886                              BTC[.00166996], CUSDT[1], USDT[0.00021340]

08030892                              BRZ[2], CUSDT[1], DOGE[1], ETH[.00000001], ETHW[0], TRX[1], USD[0.00]

08030894                              CUSDT[983.88711678], SHIB[309435.87446447], TRX[182.93523972], USD[0.00]                                                                                                                 Yes

08030895                              USD[0.01]                                                                                                                                                                                Yes

08030897       Contingent, Disputed   BAT[0], BRZ[0], BTC[0], DOGE[0], ETH[0], ETHW[0], USD[0.00]                                                                                                                              Yes

08030903                              CUSDT[1], SHIB[3968253.96825396], USD[0.00]

08030905                              USD[200.00]

08030907                              CUSDT[3], NFT (314685947629838877/DOTB #953)[1], NFT (323356696024624348/Kiddo #1322)[1], NFT (540604975874563688/DOTB #4625)[1], SHIB[673567.54386894], SOL[.19339933],                 Yes
                                      TRX[296.87295047], USD[0.26]
08030915                              SHIB[1], UNI[1.00026477], USD[0.00]                                                                                                                                                      Yes

08030922                              DOGE[19.72484913], SHIB[78536.26370332], USD[0.00]                                                                                                                                       Yes

08030925                              CUSDT[7], DOGE[184.8059765], SOL[1.62096558], TRX[3], USD[0.00]

08030928                              BRZ[2], BTC[.00362227], CUSDT[3], DOGE[2], ETH[.13285097], ETHW[0.13178270], SOL[.52446223], TRX[3], USD[0.00], USDT[2.15271045]                                                         Yes

08030929                              BTC[0.00000004], DOGE[4.77266569], ETH[0], USD[0.00]                                                                                                                                     Yes

08030932                              USDT[0.00000001]

08030937                              USD[10.00]

08030950                              DOGE[1], SOL[.04835694], USD[0.00]

08030951                              DOGE[227.34709899], USD[100.00]

08030953                              SHIB[1124.44239347], USD[0.01]

08030956                              BAT[1], BRZ[2], ETHW[.43756466], NFT (324058254626690074/Sollama)[1], NFT (543749402957937283/Jocelynne, the Chubby)[1], TRX[1], USD[0.01], USDT[1.06177805]                             Yes

08030962                              AVAX[5.50484903], CUSDT[12], DOGE[4], ETH[.00000021], ETHW[.00000021], GRT[1.00220333], SHIB[1], TRX[2], USD[0.40]                                                                       Yes

08030963                              USD[250.00]

08030966                              CUSDT[4], MATIC[25.21673633], SUSHI[1.97375655], TRX[452.31525251], USD[50.01], USDT[24.85521538]

08030974                              USD[50.00]

08030983                              BAT[1], BRZ[2], DOGE[1], LINK[.00410792], MATIC[.00596144], TRX[1], USD[0.01], USDT[0]                                                                                                   Yes

08030984                              DOGE[1], SHIB[1435750.17946877], USD[150.00]

08030988                              BAT[1], BRZ[1], CUSDT[1], SOL[.79794331], USD[0.00]

08030999                              ETH[.0000595], ETHW[.0000595], SHIB[4155000]

08031006                              BF_POINT[100], USD[271.34]                                                                                                                                                               Yes

08031007                              USD[2.00]

08031008       Contingent, Disputed   BTC[0], CUSDT[12], DOGE[1], ETHW[.04291687], LTC[0], SHIB[4], TRX[1], USD[0.00]

08031010                              USD[0.00]

08031016                              SOL[1.20000001], USD[0.58]

08031017                              CUSDT[1], SOL[.49874432], USD[0.01]                                                                                                                                                      Yes

08031022                              CUSDT[1], SOL[.08202533], USDT[0.00000030]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08031028                           USD[542.67]                                                                                                                                                                              Yes

08031030                           BTC[.0464614], ETH[.31835263], ETHW[.31835263], SOL[9.70236629], USD[0.01]

08031039                           USD[108.53]                                                                                                                                                                              Yes

08031043                           USD[0.00]                                                                                                                                                                                Yes

08031044                           USD[0.00]

08031046                           KSHIB[192.13399578], SHIB[94661.11321469], TRX[90.44857609], USD[0.00]

08031050                           SHIB[1], TRX[1], USD[15.30]                                                                                                                                                              Yes

08031053                           USD[5000.00]

08031056                           USD[9.50]

08031062                           BRZ[1], DOGE[1], NFT (310796244168252236/SOLYETIS #7604)[1], NFT (318203471947475881/Astral Apes #1641)[1], SOL[.23275494], USD[0.00]

08031063                           SOL[2.39863913]

08031066                           BRZ[1], CUSDT[4], SHIB[2], TRX[1], USD[0.00]                                                                                                                                             Yes

08031067                           BRZ[1], CUSDT[2], SOL[.00002036], TRX[1], USD[0.00]                                                                                                                                      Yes

08031097                           BRZ[1], BTC[0], CUSDT[1288.47998493], DOGE[1141.5683553], KSHIB[0], NFT (340066574095122377/CryptoManchos)[1], NFT (345932076784092481/CryptoAvatar #177)[1], NFT                        Yes
                                   (357015395826721014/CryptoAvatar #175)[1], NFT (372701417649073849/CryptoAvatar #180)[1], NFT (405416069092837696/World of Pixel #15)[1], NFT (464230912578837287/CryptoAvatar
                                   #176)[1], NFT (465586355466505144/CryptoAvatar #172)[1], NFT (470339775160362951/Carmen #24)[1], NFT (503531607152474755/Carmen #29)[1], NFT (570380174352166943/CryptoAvatar
                                   #181)[1], TRX[2.00406145], USD[0.00]
08031098                           CUSDT[1], SOL[2.62100805], USD[0.01]                                                                                                                                                     Yes

08031103                           USD[0.00], USDT[0.00000001]                                                                                                                                                              Yes

08031107                           BAT[114.9], BTC[0.00537960], DOGE[0], ETH[0], GRT[0], MKR[0], SOL[0], SUSHI[0], USD[0.74]

08031109                           USD[0.00]                                                                                                                                                                                Yes

08031112                           DOGE[1.82581705]                                                                                                                                                                         Yes

08031119                           BRZ[1], CUSDT[1], SOL[2.11678747], USD[0.10]                                                                                                                                             Yes

08031121                           BTC[.00087301], CUSDT[1], USD[0.00]                                                                                                                                                      Yes

08031124                           CUSDT[1], SOL[.10355894], USD[0.00]

08031128                           MATIC[2.74308181], SOL[.16556535], USD[0.27]                                                                                                                                             Yes

08031137                           AAVE[.22864704], AVAX[1.14371475], BAT[172.34081007], BRZ[6.30706901], BTC[.01221344], CUSDT[93.55092348], DOGE[723.36613534], ETH[.01590836], ETHW[.01571465], HKD[0.00],               Yes
                                   LINK[3.30495775], LTC[.39616996], MATIC[88.41206876], SHIB[3375797.185334], SOL[.95792146], SUSHI[12.79816996], TRX[736.17997262], USD[0.46], USDT[0]
08031138                           CUSDT[1], TRX[186.60565159], USD[0.00]

08031145                           CUSDT[1], DOGE[1], MATIC[13.68582661], TRX[262.39566158], USD[0.00]                                                                                                                      Yes

08031153                           SHIB[28140], USD[62.46]

08031154                           DOGE[1], ETHW[.23288174], SHIB[28], TRX[6], USD[23.15]                                                                                                                                   Yes

08031157                           CUSDT[1], SHIB[406752.08460443], USD[0.00]

08031158                           BTC[0], ETH[0.00110504], ETHW[0.00109136], SHIB[209998.73535217], SOL[0.15558705], USD[0.00]                                                                                             Yes

08031159                           CUSDT[6], SHIB[923878.48077641], TRX[0], USD[0.00]

08031163                           SHIB[767695.37847382], USD[0.00]

08031164                           CUSDT[1], DOGE[1], USD[0.12]

08031168                           CUSDT[2], USD[0.00]

08031179                           NFT (294886707669184878/Matrica 3D Cube)[1], NFT (359284252488796260/Pixels #334)[1], NFT (365749408751714076/StarAtlas Anniversary)[1], NFT (385603809047113932/StarAtlas               Yes
                                   Anniversary)[1], NFT (392999902694281753/StarAtlas Anniversary)[1], NFT (416114815403929421/StarAtlas Anniversary)[1], NFT (516353945275779897/StarAtlas Anniversary)[1], NFT
                                   (538886947084680018/StarAtlas Anniversary)[1], NFT (554534987212002089/StarAtlas Anniversary)[1], NFT (556348697572305861/StarAtlas Anniversary)[1], NFT (570931888815453528/StarAtlas
                                   Anniversary)[1], SOL[8.02852859]
08031182                           DOGE[548.451], KSHIB[5130], USD[0.23]

08031184                           DOGE[2], ETH[.06618772], ETHW[.06536692], SOL[.2276315], USD[0.00]                                                                                                                       Yes

08031193                           CUSDT[1], DOGE[3], SOL[0], USD[0.00]

08031199                           USD[0.00]

08031204                           SHIB[910161.33533077], SUSHI[0], USD[0.00]

08031207                           CUSDT[1], DOGE[1], TRX[2], USD[0.00]                                                                                                                                                     Yes

08031211                           BTC[0], DOGE[0], SOL[0], USD[0.01], USDT[0]                                                                                                                                              Yes

08031214                           ETH[.10918943], ETHW[.10918943], TRX[1], USD[0.00]

08031225                           USD[1.09]                                                                                                                                                                                Yes

08031233                           DOGE[1], SHIB[7912560.95473287], USD[0.00]                                                                                                                                               Yes

08031237                           DOGE[1], SHIB[1552032.62967821], USD[0.00]                                                                                                                                               Yes

08031239                           CUSDT[227.75911787], SHIB[362197.74591867], TRX[1], USD[0.00]

08031265                           CUSDT[1], KSHIB[822.69261958], USD[0.01]                                                                                                                                                 Yes

08031267                           USD[10.85]                                                                                                                                                                               Yes

08031279                           CUSDT[1], TRX[197.63382515], USD[0.00]                                                                                                                                                   Yes

08031286                           CUSDT[4], MATIC[0], USD[0.00]                                                                                                                                                            Yes

08031289                           CUSDT[1], SOL[.07835043], SUSHI[.84388326], USD[0.00]                                                                                                                                    Yes

08031297                           BTC[0], ETH[0], ETHW[0], SHIB[0], SOL[0], USD[0.00]

08031298                           USD[542.29]                                                                                                                                                                              Yes

08031299                           BTC[.00164829], CUSDT[1], USD[0.00]                                                                                                                                                      Yes
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08031300                              BTC[.02284801], USD[0.00]

08031304                              USD[0.01]

08031316                              AVAX[1.34823574], BTC[.00877863], LINK[13.68392271], SOL[7.36978546], TRX[2363.36940223]                                                                                             Yes

08031322                              DOGE[1], SHIB[1574091.97669869], USD[0.00]                                                                                                                                           Yes

08031325                              SHIB[15655.06673347], USD[0.00]                                                                                                                                                      Yes

08031328                              CUSDT[1], MATIC[8.32472241], USD[0.25]                                                                                                                                               Yes

08031338                              CUSDT[1], SHIB[1556707.42662559], USD[0.00]                                                                                                                                          Yes

08031339                              DOGE[23.976], LINK[1.49817779], USD[0.03]

08031340                              DOGE[208.52624967], USD[0.01]                                                                                                                                                        Yes

08031346                              SOL[.00000031], USD[0.01]

08031351                              SOL[0], USD[0.00]

08031356                              CUSDT[1], SHIB[171631.69346278], USD[0.00]                                                                                                                                           Yes

08031359                              USD[275.00]

08031372                              BTC[.0751155], USDT[0.00002961]

08031374                              BTC[.00021202], ETH[.00372653], ETHW[.00372653], SOL[.07550404], USD[0.14]

08031375                              SOL[0], USDT[0.00056451]

08031379                              USD[0.01]

08031380                              USD[54.15]                                                                                                                                                                           Yes

08031383                              CUSDT[1], SOL[.1024565], USD[0.00]                                                                                                                                                   Yes

08031386                              SOL[1.12974883], USD[0.10]                                                                                                                                                           Yes

08031387                              USD[21.70]                                                                                                                                                                           Yes

08031393                              USD[0.00]

08031394                              CUSDT[1], SOL[1.10029235], USD[5.75]                                                                                                                                                 Yes

08031396                              CUSDT[2], MATIC[0], SOL[0.00000209], USD[0.00]                                                                                                                                       Yes

08031400                              BTC[0], USD[0.00]                                                                                                                                                                    Yes

08031403                              SOL[.19], USD[2.30]

08031422                              BAT[1], DOGE[1], ETH[.00000001], ETHW[0], GRT[2], NFT (562849224082615763/The Hill by FTX #295)[1], SHIB[2], TRX[1], USD[187.93]                                                     Yes

08031426                              CUSDT[12], DOGE[1], ETH[.00769266], ETHW[.0075969], GRT[27.93419519], LINK[.71598122], MATIC[25.43779909], SHIB[1], SOL[.64433104], TRX[5], USD[255.36]                              Yes

08031435                              TRX[91.04390209], USD[0.00]

08031442                              USD[0.00]                                                                                                                                                                            Yes

08031443                              ETHW[.004817], SOL[.00787], USD[2.08]

08031446       Contingent, Disputed   USD[0.00]

08031450                              NFT (315361629954499791/MagicEden Vaults)[1], NFT (315508797497270330/MagicEden Vaults)[1], NFT (317405638212536886/Ivy #38)[1], NFT (318440084931382628/MagicEden Vaults)[1], NFT
                                      (324646300250133083/The Reflection of Love #4367)[1], NFT (406825375673862310/MagicEden Vaults)[1], NFT (415929444021997788/Medallion of Memoria)[1], NFT
                                      (453612169279920974/MagicEden Vaults)[1]
08031452                              USD[10.00]

08031467                              CUSDT[1], SHIB[1107324.72305828], USD[0.00]                                                                                                                                          Yes

08031469                              CUSDT[35], DOGE[1], TRX[1], USD[30.93], USDT[0]                                                                                                                                      Yes

08031472                              USD[2.19]

08031475                              CUSDT[2], DOGE[37.28482308], ETH[.0137368], ETHW[.0137368], SOL[.08204486], USD[0.01]

08031476                              USDT[188.397138]

08031479                              CUSDT[1], DOGE[187.49811019], USD[0.01]

08031482                              USD[2.31]

08031483                              SHIB[98500], USD[3.99]

08031495                              AVAX[0], BTC[0.00011654], DOGE[0], ETH[0.00428081], ETHW[0.00428081], GRT[0], LINK[0.79015117], SOL[0.96705273], SUSHI[0], UNI[1.00075], USD[0.00], USDT[5.07442356]

08031496                              SOL[.00711074], USD[0.00], USDT[0.00000111]

08031504                              USD[108.53]                                                                                                                                                                          Yes

08031506                              SHIB[4910002.12113726], USD[0.00]

08031507                              SOL[2.43796083], TRX[4738.07848057], USD[0.02]                                                                                                                                       Yes

08031514                              DOGE[49.91058226], USD[0.00]                                                                                                                                                         Yes

08031516                              USD[0.93]

08031518                              LINK[58.2417], USD[8.74]

08031522                              BRZ[1], CUSDT[4], TRX[4], USD[0.00]

08031525                              SHIB[7724548.12297234], USD[0.00]

08031527                              BTC[.1567919], ETH[2.975], ETHW[2.975], MKR[1.64], SHIB[100000], USD[1.55]

08031530                              USD[10.00]

08031534                              AVAX[38.43], ETH[.35432], ETHW[.35432], MATIC[3289.53], SOL[34.31298], USD[2.66]

08031538                              BTC[.00171935], CUSDT[4], ETH[.02352812], ETHW[.02324084], SHIB[963074.26979467], SOL[.21903283], USD[0.00]                                                                          Yes

08031539                              ETH[.0006199], ETHW[.0006199], SOL[.00898], TRX[.671], UNI[.0931], USD[0.05]
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                                                                                                                                            Customer Claims                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08031540                              BRZ[1], BTC[.01118804], CUSDT[4], DOGE[1], ETH[.03552549], ETHW[.03552549], SHIB[1], SOL[1.29144894], USD[0.00]

08031547                              BTC[.00087446], CUSDT[1], DOGE[1], ETH[.01192885], ETHW[.01177837], USD[0.00]                                                  Yes

08031549                              USD[0.01]

08031554                              TRX[1], USD[759.89]                                                                                                            Yes

08031558                              XRP[490.202087]

08031561                              ETH[.025], ETHW[.025], SHIB[700000], SOL[2.7972], USD[1.05]

08031566                              USD[10.00]

08031578                              MATIC[56.72838389], TRX[1], USD[0.00]                                                                                          Yes

08031580                              LINK[.00000001], SOL[0.00000001]                                                                                               Yes

08031589                              AAVE[.3516624], EUR[0.00], LTC[0], MATIC[.90837401], SHIB[0], SUSHI[0], TRX[0], USD[0.00]

08031593                              USD[0.00], USDT[0]

08031605                              ETH[0], ETHW[0.01013266], SOL[0], USD[0.00], USDT[0.00000016]

08031613                              USDT[25.40621202]

08031632                              USD[2.06]

08031634                              USD[500.00]

08031635                              BTC[0.00189504], CUSDT[1], SOL[1.12148768], USD[0.00]                                                                          Yes

08031653                              ETH[0]

08031656                              SOL[0]

08031657                              USD[107.62]                                                                                                                    Yes

08031663                              CUSDT[1], USD[5.38]                                                                                                            Yes

08031664                              BTC[.00001791], USD[25.96]

08031669                              BTC[.00079828], CUSDT[2], DOGE[161.60664648], TRX[1], USD[0.38]

08031681                              BTC[.0143856], USD[191.42]

08031683                              SHIB[700000], USD[1.02]

08031688                              SHIB[2800000], USD[6.27]

08031694                              CUSDT[5], SHIB[1522535.04826102], USD[0.00]

08031695       Contingent, Disputed   DOGE[3.39334435], USD[0.00]                                                                                                    Yes

08031697                              MATIC[19.98], USD[12.89]

08031704                              BRZ[59.08854758], BTC[.00254906], CUSDT[317.57944556], DOGE[219.02526797], SHIB[1371393.08555119], SOL[.62957486], USD[0.03]   Yes

08031708                              BTC[0.00000103], USD[0.60], USDT[1.888128]

08031709                              USD[0.00]

08031722                              CUSDT[7], DOGE[550.67685418], SHIB[43978517.43152569], TRX[1], USD[0.01]                                                       Yes

08031733                              BAT[1], ETH[0], USD[0.10]

08031742                              BTC[.00000002], CUSDT[10], DOGE[.00011526], ETH[.00000027], ETHW[.00000027], SHIB[1.84907326], SOL[.00000211], USD[0.00]       Yes

08031747                              CUSDT[2], ETH[1.16501393], ETHW[1.1645245], USDT[0.00000128]                                                                   Yes

08031752                              DOGE[1], SHIB[181495.63553541], USD[0.00]                                                                                      Yes

08031758                              USD[4.00]

08031762                              USD[0.00]                                                                                                                      Yes

08031775                              BCH[.01086053], CUSDT[8], DOGE[3.00010918], ETH[.0137164], ETHW[.01355002], SHIB[.13124889], TRX[135.68653964], USD[21.99]     Yes

08031784                              CUSDT[3], DOGE[1], USD[0.79]

08031785                              SHIB[124968.48127767], USD[0.00]                                                                                               Yes

08031792                              USD[1.35]

08031797                              CUSDT[1], ETH[.058154], ETHW[.05743007], USD[0.00]                                                                             Yes

08031798                              BTC[0], ETH[0], ETHW[0.00157300], USD[0.00]

08031800                              DOGE[99.51], ETH[.441892], ETHW[.441892], SHIB[32854.06182602], USD[37.12]

08031821                              USD[0.00]

08031825                              CUSDT[4], SHIB[15.8159808], TRX[2], USD[0.01]                                                                                  Yes

08031832                              BTC[.00000014], DOGE[1], SHIB[1], USD[0.16]                                                                                    Yes

08031848                              USD[1.85]

08031850                              BTC[0.00004872], CUSDT[15], KSHIB[1720], SHIB[2100000], USD[0.02]

08031852                              USD[3.00]

08031855                              CUSDT[1], USD[20.57]

08031858                              ETH[.11931984], ETHW[.11816818], TRX[1], USD[0.00]                                                                             Yes

08031864                              NFT (357331870915184845/SolFractal #6742)[1], NFT (535890859222776887/Humpty Dumpty #730)[1]

08031873                              BTC[1.06567924]                                                                                                                Yes

08031883                              USD[20.00]

08031892                              ETH[.0104279], ETHW[.0104279], TRX[1], USD[0.01]

08031894                              USD[1.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08031902                              USD[1.70]

08031906                              AVAX[.07144], BTC[0], ETH[.0001512], ETHW[.0001512], GRT[1], LINK[.09352], MATIC[.3556], SHIB[1], SOL[.007284], USD[1.91]

08031916                              BTC[.0207865], CUSDT[1], DOGE[1], USD[0.01]

08031931                              USD[0.00], USDT[0]

08031948                              BTC[0.00117925], CUSDT[7], DOGE[53.9776006], MATIC[.00003789], SHIB[389183.66978336], USD[0.00]                                                                    Yes

08031949                              USD[0.00]

08031952                              CUSDT[2], USD[20.00]

08031953                              ETH[1.04469502], ETHW[1.04469502], USD[0.00]                                                                                                                       Yes

08031954                              CUSDT[1], SOL[1.12456435], USD[10.82]                                                                                                                              Yes

08031962                              KSHIB[553.03447477], SHIB[155864.83707429], USD[0.00]                                                                                                              Yes

08031967                              USD[27.20]                                                                                                                                                         Yes

08031969                              USD[0.00]

08031970                              NFT (491921565799809336/Skeleton Dino)[1], USD[0.00]

08031972       Contingent, Disputed   AVAX[.00000693], BTC[.00000016], ETH[.00000038], LINK[.00001458], MATIC[.00020155], NEAR[.00002871], PAXG[.00000011], SOL[.00001698], UNI[.00001442], USD[0.00]    Yes

08031977                              BTC[0], DOGE[0], TRX[0], USD[0.01], USDT[0]

08031981                              BCH[0], DOGE[0], SHIB[25341.66418634], SOL[0], TRX[1.00001568], USD[0.00], YFI[0]                                                                                  Yes

08031987                              SOL[.0006422], USD[0.00]

08031992                              USD[1.00]

08032000                              USD[0.89]

08032001                              BTC[0], USD[0.00]

08032006                              BTC[.00156942]

08032021                              BAT[1], BRZ[3], BTC[0], CUSDT[6], DOGE[1], ETH[.00053245], ETHW[0.00053245], SHIB[12], SOL[0], TRX[2], USD[0.00]                                                   Yes

08032027                              NFT (451410431723950492/Coachella x FTX Weekend 2 #19632)[1]                                                                                                       Yes

08032034                              BTC[.0448551], ETH[0.25125632], ETHW[0.00550232], LINK[51.7], MATIC[370], SOL[.00472], USD[0.50]

08032041                              BTC[.00040258], CUSDT[2], ETH[.00468659], ETHW[.00468659], MATIC[1.39337219], NFT (335013142550122379/Coachella x FTX Weekend 2 #2915)[1], USD[0.00]

08032044                              SHIB[144508.67052023], USD[0.65]

08032047                              SOL[12.87776159], USD[0.00]

08032051                              USD[95.50]                                                                                                                                                         Yes

08032053                              BTC[.00166137], CUSDT[1], USD[0.00]                                                                                                                                Yes

08032056                              ETH[0], ETHW[0], LINK[0], SOL[0], USD[0.00], USDT[0.00000042]

08032062                              USD[0.00]                                                                                                                                                          Yes

08032063                              USD[0.00]

08032066                              AAVE[.06517979], CUSDT[5], DOGE[37.20084361], GRT[8.94257241], LINK[.62644592], MATIC[32.69698472], UNI[.80783838], USD[162.91]                                    Yes

08032071                              ETH[.11956618], ETHW[.11841118], TRX[1], USD[0.01]                                                                                                                 Yes

08032075                              USD[0.50]

08032079                              USD[232.88]

08032082                              CUSDT[1], ETH[0], GRT[1], SOL[.00027152], TRX[1], USD[0.00]                                                                                                        Yes

08032084                              CUSDT[1], SHIB[1118720.76500027], USD[0.06]                                                                                                                        Yes

08032106                              BRZ[21.42249078], BTC[.1973022], CUSDT[102.82590423], DOGE[72.20317028], ETH[.09875315], ETHW[.09772576], KSHIB[3829.74653643], MKR[.09310733], PAXG[.01079988],   Yes
                                      SHIB[24541973.67521968], TRX[20.74105902], USD[10.98]
08032119                              ETH[.23978688], ETHW[.23978688], USD[0.00], USDT[0.00001331]

08032121                              USD[542.67]                                                                                                                                                        Yes

08032129                              BTC[0], SOL[4.65000000], TRX[50.02227], USD[1.45]

08032130                              DOGE[.665], USD[723.37]

08032131                              ETH[.233], ETHW[.233], USD[3.08]

08032142                              USD[20.62]                                                                                                                                                         Yes

08032146                              SOL[.00069], USDT[0]

08032147                              DOGE[2], SHIB[2], TRX[1], USD[0.00]                                                                                                                                Yes

08032165                              SOL[1.66060032], USD[0.01]

08032178                              CUSDT[1], TRX[460.65593874], USD[0.00]                                                                                                                             Yes

08032181                              USD[0.20]

08032185                              CUSDT[3], USD[0.00]                                                                                                                                                Yes

08032192                              NFT (561810922438133571/Microphone #427)[1]

08032194                              CUSDT[1], DOGE[7367.0230243], SHIB[38978756.57766517], SOL[20.55462749], TRX[2], USD[0.00]

08032195                              ETH[.00023077], ETHW[.00023077], USD[0.00]

08032196                              BTC[.00156371], CUSDT[1], USD[0.00]

08032208                              CUSDT[1], SHIB[16937669.37669376], USD[0.00]

08032212                              CUSDT[1], DOGE[1], MATIC[3.57726023], SHIB[289309.99566035], TRX[.000001], USD[13.81], USDT[7.97683446]

08032214                              BTC[.00704511], SOL[118.3715], SUSHI[76.529]
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08032223                              AAVE[0], BTC[0], ETH[0], GRT[0], LINK[0], MATIC[0], SHIB[10], SOL[0], SUSHI[0], USD[0.00], USDT[0.00000026]                                                                            Yes

08032224                              SOL[16.27974894]                                                                                                                                                                       Yes

08032225                              DOGE[14.985], SHIB[499500], TRX[468.99265543], UNI[11.988], USD[0.02], USDT[8.6966909]

08032226                              BAT[1.01022529], BRZ[1], CUSDT[5], DOGE[6.01997832], GRT[1], KSHIB[360.11140982], LINK[.66262065], MATIC[11.14445319], MKR[.00670966], SOL[.50044311], TRX[249.36307929], USD[0.00],   Yes
                                      USDT[0]
08032233                              USD[0.00]

08032234                              BRZ[2], DOGE[10.01754856], ETHW[1.21259701], GBP[0.00], GRT[3], NFT (477200451908916637/Magic Eden Pass)[1], SHIB[375.28824229], SOL[.00026409], TRX[9], USD[0.01], USDT[9.92252918]   Yes

08032236                              ETHW[15.05684353], USD[49014.64]

08032246                              CUSDT[1], USD[106.93]                                                                                                                                                                  Yes

08032248                              ETH[.13048325], ETHW[.1294187], TRX[1], USD[539.69]                                                                                                                                    Yes

08032257                              CUSDT[2], SOL[.11429509], USD[0.08]                                                                                                                                                    Yes

08032265       Contingent, Disputed   NFT (408554308822667649/Good Boy #136)[1]

08032269                              LINK[5.5], USD[0.51]

08032270                              BRZ[55.37259833], CUSDT[1], KSHIB[354.19820506], TRX[91.55380447], USD[0.01], USDT[9.94208615]

08032271                              CUSDT[146], SHIB[37063.8758354], USD[0.02]

08032273                              USD[0.00]

08032274                              BRZ[2], CUSDT[12], DOGE[11.17327984], ETH[0], MATIC[.00063299], SHIB[8], SOL[.00000001], TRX[9], USD[0.00]                                                                             Yes

08032276                              BRZ[1], BTC[.00254826], CUSDT[1], ETH[.0464518], ETHW[.04587724], SOL[.68392316], TRX[1], USD[0.00]                                                                                    Yes

08032283                              BTC[.00023499], CUSDT[1], USD[10.85]                                                                                                                                                   Yes

08032290                              CUSDT[1], USD[0.00]                                                                                                                                                                    Yes

08032295                              USD[0.00]

08032307                              AAVE[.29084538], AVAX[2.29531912], BRZ[1], BTC[.00347436], CUSDT[2], DOGE[3], ETH[.18686999], ETHW[.18663439], SHIB[23], SOL[2.21097372], USD[0.07]                                    Yes

08032311                              BTC[.00787369], CUSDT[597.06043373], DOGE[57.49017012], ETH[.54762039], ETHW[.54739039], SHIB[533006.60875104], SOL[2.79516354], TRX[3], USD[62.46]                                    Yes

08032314                              LTC[2], SHIB[599600], SOL[4], USD[2.13]

08032318                              NFT (399991708831799639/The 2974 Collection #0599)[1], NFT (503706987821373539/Birthday Cake #0599)[1], NFT (533939609017249092/2974 Floyd Norman - OKC 1-0154)[1], USD[1001.01]

08032321                              BTC[.00043529], CUSDT[6], DOGE[55.66771341], SHIB[2297329.01683204], TRX[1], USD[0.00]

08032323                              USD[0.00]                                                                                                                                                                              Yes

08032328                              CUSDT[.00000254], DOGE[329.7664082], SHIB[1], TRX[417.73886781], USD[0.04], USDT[0]                                                                                                    Yes

08032329                              USD[20.00]

08032335                              BTC[0], DOGE[.00126226], SHIB[1]                                                                                                                                                       Yes

08032345                              USD[0.01]                                                                                                                                                                              Yes

08032350                              BTC[0], DOGE[0], ETH[0], ETHW[0], MATIC[0], SOL[.00000001], USD[0.00], USDT[0]                                                                                                         Yes

08032354                              BRZ[1], BTC[.01333845], CUSDT[7], DOGE[69.55297212], ETH[.20136661], ETHW[.20121611], LINK[33.31345691], MATIC[59.25996975], SHIB[69], SOL[5.79749456], TRX[5], USD[33619.47]          Yes

08032357                              USD[0.00]                                                                                                                                                                              Yes

08032362                              USD[3.48]                                                                                                                                                                              Yes

08032365       Contingent, Disputed   NFT (443376723351555244/Musing Tereshkova)[1], TRX[.000156], USD[0.00], USDT[6.56654455]

08032370                              CUSDT[3], ETH[0.05244014], ETHW[0.05178828], SHIB[1576549.63952185], USD[0.00]                                                                                                         Yes

08032379                              USD[1.17]

08032380                              CUSDT[4], ETH[.00052943], ETHW[.00874407], SHIB[1], TRX[1], USD[13.00]

08032382                              CUSDT[2], DOGE[1], TRX[1], USD[0.00]

08032396                              USD[54.27]                                                                                                                                                                             Yes

08032403                              BAT[15.74651011], CUSDT[2], DOGE[1], KSHIB[277.01418049], SHIB[415572.02354896], SOL[.04591341], USD[0.00], USDT[0]

08032406                              BTC[0], USD[0.02]

08032408                              BTC[.01658205], DOGE[399.232], ETH[.12875687], ETHW[0.12875687], LINK[4.5]

08032417                              SOL[.45756215], TRX[1], USD[0.00]

08032418                              DOGE[0], ETH[0.00000001], ETHW[0], LINK[0.00000001], LTC[0.00000001], MATIC[0], SOL[0.00000001], SUSHI[0.00000001], UNI[0], USD[0.00], YFI[0]

08032422                              BTC[.0007992], USD[0.54]

08032423                              SHIB[1583118.00828399], TRX[1], USD[0.01]                                                                                                                                              Yes

08032434                              SOL[0.39275764], USD[0.00], USDT[0.00000125]

08032435                              USD[120.00]

08032443                              GRT[22.977], SHIB[335839.16585466], TRX[63], USD[0.09]

08032457                              CUSDT[2], USD[54.83]                                                                                                                                                                   Yes

08032463                              USD[0.55], USDT[0]

08032470                              USD[5.43]                                                                                                                                                                              Yes

08032472                              USD[500.00]

08032482                              USD[0.00]

08032483                              MATIC[0], USD[1152.94]                                                                                                                                                                 Yes

08032485                              SHIB[0], TRX[0], USD[29.65]                                                                                                                                                            Yes
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                                                                                                                                             Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08032488                              SHIB[500000], USD[0.36]

08032503                              BAT[0], SHIB[18.45341208], SOL[0], USD[22.69]                                                                                                                                            Yes

08032507                              BTC[0], ETH[0], ETHW[0], NFT (410599622337798165/MagicEden Vaults)[1], NFT (437811420420446843/MagicEden Vaults)[1], NFT (479435343762263350/MagicEden Vaults)[1], NFT
                                      (536225294876226969/MagicEden Vaults)[1], NFT (563183495029417230/MagicEden Vaults)[1], SOL[149.30219383], USD[0.00]
08032509                              CUSDT[1], SOL[.41727707], USD[0.00]

08032511                              CUSDT[4], DOGE[1], SHIB[158091.29961336], USD[0.00]                                                                                                                                      Yes

08032512                              SHIB[42700000], USD[131.70]

08032519                              BTC[.0463536], ETH[2.02620789], ETHW[2.02620789], SOL[26.45162923], USD[0.84]

08032520                              BTC[.0000027], DOGE[.88], ETH[.000407], ETHW[.000407], LINK[.035], SOL[.00888], USD[5350.44]

08032522                              USD[0.00]

08032528                              BCH[0], BTC[0.00005306], ETH[0.00082929], ETHW[0.00081583], LINK[0], LTC[0], SOL[0], USD[0.00]                                                                                           Yes

08032536                              KSHIB[45.61327966], USD[0.00]                                                                                                                                                            Yes

08032541                              SHIB[1400000], USD[2.83]

08032563                              BCH[0], TRX[0], USD[0.00]                                                                                                                                                                Yes

08032567                              BRZ[24.91312171], BTC[.00015706], MATIC[4.6086305], SHIB[289041.55568391], USD[0.00]

08032571                              BRZ[1], BTC[.02220924], CUSDT[4], SHIB[1], SOL[1.16545274], TRX[1], USD[0.00]

08032576                              ETH[.24159055], ETHW[.24139411]                                                                                                                                                          Yes

08032580                              CUSDT[5], USD[0.45]                                                                                                                                                                      Yes

08032593                              BAT[1], BRZ[8], GRT[1], SHIB[31], SOL[10], TRX[19], USD[0.01], USDT[2]

08032594                              TRX[.913], USD[0.01]

08032598                              BF_POINT[200], SHIB[15031954.05895041], USD[0.00]                                                                                                                                        Yes

08032615                              CUSDT[1], KSHIB[0], USD[0.00]                                                                                                                                                            Yes

08032617                              SOL[0], USD[0.00]

08032626                              USD[20.00]

08032628                              NFT (485442720092814483/The Hill by FTX #4506)[1], USD[0.00]

08032640                              DOGE[2], ETH[.05505475], ETHW[.05437025], TRX[1], USD[0.00]                                                                                                                              Yes

08032643                              NFT (477074963259331756/Night Light #573)[1], USD[27.31]

08032650                              CUSDT[1], DOGE[1], SOL[1.26024025], USD[0.00]                                                                                                                                            Yes

08032652                              USD[0.00]

08032655                              SHIB[1], USD[0.02]                                                                                                                                                                       Yes

08032670                              BTC[0], ETH[0], ETHW[0], USD[0.00]

08032686                              DOGE[180.20694355], ETH[.00153543], ETHW[.00153543], SHIB[813098.29990659]

08032691                              USD[0.01]

08032696                              USD[50.00]

08032697                              PAXG[.0067725], SHIB[199800], SOL[.07992], SUSHI[.5], USD[0.00]

08032707                              BTC[0], USDT[0.00000297]

08032710                              GRT[10.90984237], LTC[8.73435729], SHIB[1], USD[0.00]                                                                                                                                    Yes

08032711       Contingent, Disputed   NFT (568695597236305968/BB Red #4)[1], USD[0.32]                                                                                                                                         Yes

08032712                              USD[1000.00]

08032716                              USD[0.00], USDT[0.00000059]

08032719                              CUSDT[2], DOGE[127.78337529], KSHIB[563.10491545], LINK[4.78025532], SUSHI[9.09367756], TRX[2], USD[0.00]                                                                                Yes

08032758                              CUSDT[2], MATIC[25.45822468], SHIB[1], USD[54.98]                                                                                                                                        Yes

08032760                              DOGE[1], SOL[.50426941], USD[0.00]                                                                                                                                                       Yes

08032761                              ETH[.129], ETHW[.129], SOL[5.58441], USD[2.83]

08032765                              BRZ[1], DOGE[361.43929899], SHIB[5818181.81818181], TRX[1], USD[0.01]

08032769                              USD[20.00]

08032771                              ETH[0], ETHW[0], USD[0.00]

08032780                              BTC[0], ETH[0], SHIB[1], SOL[0.20656580], USD[0.00], USDT[0.00000001]                                                                                                                    Yes

08032782                              USD[10.00]

08032785                              BAT[1], BTC[.02293207], TRX[1], USD[0.10]                                                                                                                                                Yes

08032791                              BTC[0], ETHW[1.19397], NFT (321995783596076155/Night Light #260 (Redeemed))[1], NFT (391271398859478817/Reflection '16 #27 (Redeemed))[1], NFT (405060776011028562/Colossal Cacti #110
                                      (Redeemed))[1], NFT (457386883915990916/Reflection '14 #33 (Redeemed))[1], NFT (512349965854865206/Cosmic Creations #151 (Redeemed))[1], USD[10004.96], USDT[0]
08032793                              BRZ[1], BTC[0], CUSDT[7], DOGE[1], LTC[.88084518], MATIC[.00163645], SOL[.00008286], TRX[5], USD[0.00], USDT[0]                                                                          Yes

08032801                              CUSDT[2], SHIB[2], TRX[3], USD[0.01]                                                                                                                                                     Yes

08032807                              SOL[4.35771023], USD[0.00]                                                                                                                                                               Yes

08032819                              DOGE[1], SOL[1.94708398], USD[150.00]

08032823                              BTC[0], ETHW[0], MATIC[13], NFT (301685300297922571/SolBunnies #3693)[1], NFT (314759434426579994/Terraform Seed)[1], NFT (423748942330585925/APEFUEL by Almond Breeze #262)[1],
                                      NFT (426553539740637545/Petal to the Metal #08-Rookie)[1], NFT (461161422590794910/Entrance Voucher #1665)[1], NFT (488975490010852464/Entrance Voucher #1363)[1], NFT
                                      (494079069010005146/Shaq's Fun House Commemorative Ticket #103)[1], NFT (566379234711765413/Terraform Seed)[1], NFT (575663979161574042/Sol Lion #7374)[1], SOL[.0603317],
                                      TRX[.000366], USD[0.51], USDT[0.08773834]
08032824                              SHIB[2197800], SOL[5.72427], USD[0.73]
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08032825                              CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                           Yes

08032826                              USD[100.00]

08032830                              BTC[.00001895], ETH[.00027929], ETHW[.00027929], LINK[79.7714735], USD[-10.58]

08032839                              USD[2.67]

08032850                              AAVE[.03487781], BAT[10.44076083], BCH[.0176608], BRZ[65.87590339], BTC[.00091139], CUSDT[564.89465595], DAI[21.54989947], DOGE[43.32280977], ETH[.00535509], ETHW[.00528669],        Yes
                                      GRT[9.70700172], KSHIB[191.01238124], LINK[.33366245], LTC[.04864987], MATIC[6.27405251], MKR[.00361065], PAXG[.00647182], SHIB[207402.33961321], SOL[.04785591], SUSHI[.94690707],
                                      TRX[105.83428869], UNI[.43891097], USD[102.14], USDT[11.85481368], YFI[.00030655]
08032868                              DOGE[50.988], MATIC[69.93], SHIB[699300], TRX[27], USD[0.13]

08032869                              BTC[.00006005], DOGE[436.05017361], USD[0.00], USDT[0.00007175]

08032873                              SOL[100.01507], USD[3.56]

08032882                              USD[160.37]

08032892                              CUSDT[1], USD[10.84]                                                                                                                                                                  Yes

08032896                              SOL[.27179904], USD[5.97]

08032898                              DOGE[2], TRX[322.24801268], USD[0.01]

08032901                              BAT[1], CUSDT[1], DOGE[1], ETHW[1.0121554], SHIB[1], TRX[1], USD[2649.84]                                                                                                             Yes

08032903                              USD[0.12]

08032910                              CUSDT[1], SHIB[9], TRX[1], USD[0.01]                                                                                                                                                  Yes

08032914                              BTC[0], ETH[0], SOL[0], SUSHI[0]

08032915                              SOL[54.73466222]

08032921                              CUSDT[215.08094242], ETH[.00000003], ETHW[.00352525], USD[0.00]                                                                                                                       Yes

08032922                              DOGE[25385.259], MATIC[3998], SHIB[112080000], SOL[304.20967], USD[1.72]

08032926                              CUSDT[1], SHIB[1451168.19039326], SOL[.41089751], TRX[1], USD[0.00]

08032927                              BTC[.00173702], CUSDT[5], ETH[.02288345], ETHW[.02288345], MATIC[50.9523457], SHIB[2329373.39855578], TRX[910.53006488], USD[0.01]

08032932                              BTC[.00068598], CUSDT[4], ETH[.00418486], ETHW[.00413014], USD[0.01]                                                                                                                  Yes

08032933                              USD[0.00]

08032945                              SHIB[2844950.21337127]

08032953                              DOGE[24], TRX[.662], USD[0.65]

08032959                              BCH[.0559496], BTC[.02857327], ETH[.1978218], ETHW[.1978218], USD[1.59]

08032961                              CUSDT[9], TRX[2], USD[0.01]                                                                                                                                                           Yes

08032963       Contingent, Disputed   BTC[0], CUSDT[1], GRT[0], UNI[0], USD[0.00]

08032967                              MATIC[0], SHIB[1], TRX[.00115544], USD[0.00]                                                                                                                                          Yes

08032972                              ETH[.00000001], ETHW[0], USD[0.00]                                                                                                                                                    Yes
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                                                                                                                                         Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08032978                           NFT (295373970327630365/Puppets)[1], NFT (299902097457039468/Liquid Women #2)[1], NFT (302051028204424989/Crystal Buildings)[1], NFT (306661838557562304/Galaxy Goblin Shark )[1], NFT
                                   (306848864238255859/Shed)[1], NFT (307577569005051845/Zurek Soup )[1], NFT (314485348884358296/Waterfall Cabin)[1], NFT (315048950291121577/ Circus)[1], NFT
                                   (315454748536108355/Galaxy Duck)[1], NFT (318704186497807714/Red Head)[1], NFT (321028909597975245/Galaxy Heron Bird)[1], NFT (322034766015759380/Mutant Ape Skullz #4)[1], NFT
                                   (322652517210886202/Galactic Princess #3)[1], NFT (323039725191906255/Wise Old Man)[1], NFT (326117662504413695/Galaxy Helmeted Hornbill)[1], NFT (327202581313987739/Galaxy
                                   Vulture)[1], NFT (328814523628950285/Mountain)[1], NFT (330076664105186210/Volcano)[1], NFT (332080019877648454/Galaxy Saiga Antelope)[1], NFT (332728183266754045/Liquid Women)[1],
                                   NFT (335700404038702281/Big Brother's Eye)[1], NFT (337193886191578096/Galactic Princess)[1], NFT (339035599867677179/Galaxy Pied Tamarin)[1], NFT (339267014137460600/Chichken Broth
                                   Soup )[1], NFT (341222317510931034/Galaxy Donkey)[1], NFT (342068780819929303/Rainy Day )[1], NFT (342408062200428485/Galaxy White Bat)[1], NFT (343386567510265462/Jungle)[1], NFT
                                   (345462117344035679/Close Relations)[1], NFT (349473912992445351/Meta Hotel Room)[1], NFT (350013899856976772/Colorful Dreams)[1], NFT (350140826295671503/Uncanny Canyon)[1], NFT
                                   (351776875514232739/ Misty Mountains)[1], NFT (354275865942941989/Liquid Woman)[1], NFT (354771075126061306/Insanity )[1], NFT (354781451616485458/Village)[1], NFT
                                   (355350094877181847/Giant Bugs)[1], NFT (356363901367657884/Uncanny Plateau)[1], NFT (359402243004153897/Bazaar)[1], NFT (359858938033924690/LiquidWoman #8)[1], NFT
                                   (363277009985800601/Flower Country)[1], NFT (363382800255757880/Meta City)[1], NFT (367001942181993149/Festival)[1], NFT (367976255422976270/Ozoni Soup )[1], NFT
                                   (368710434201068735/LiquidWoman #4)[1], NFT (369075942760465250/Scary Siblings)[1], NFT (369083639791227871/ Amusement Park)[1], NFT (369287058082944724/Chichken Broth Soup #2)[1],
                                   NFT (369445837469266633/Summerhouse)[1], NFT (371045979922622321/City on Water)[1], NFT (372024934636071805/LiquidWoman #10)[1], NFT (375127194828363121/Meta Restaurant)[1], NFT
                                   (377064515585782119/Galaxy Zebra)[1], NFT (384181146315739463/Galaxy Boar)[1], NFT (384355633032397248/Knights)[1], NFT (384999014809022477/Alien Visit)[1], NFT
                                   (385555261133785300/Galaxy Iguana )[1], NFT (386031637595805661/The Holy Tree)[1], NFT (395208221424000707/Castle)[1], NFT (395909071634351792/Bakso Soup )[1], NFT
                                   (396037989370258566/Hip-Hop Girl)[1], NFT (396817064520729636/Feast)[1], NFT (399490028950698029/Art of Soul #11)[1], NFT (399541284101340452/Captain)[1], NFT
                                   (400355628125966452/Okra Soup With Fufu)[1], NFT (400816290173679816/Galactic Princesses)[1], NFT (401942998730116528/Hunting House)[1], NFT (403374278085367479/Hell)[1], NFT
                                   (407195485263731365/Galaxy Fossa)[1], NFT (407616759520985084/LiquidWoman #3)[1], NFT (409514246962064041/Spaceship Invasion)[1], NFT (410344207761582769/LiquidWoman #13)[1], NFT
                                   (415117137930151779/Galaxy Shoebill)[1], NFT (415118828974882858/Mutant Ape Skullz #2)[1], NFT (416362794682941611/Galaxy Buffalo)[1], NFT (417435139283912590/Detective)[1], NFT
                                   (419197422216822079/Magic Mushroom)[1], NFT (422275236445940014/LiquidWoman #2)[1], NFT (422897336088427276/Old Village)[1], NFT (423153355072168660/Shopping)[1], NFT
                                   (424423184760150381/Starlight)[1], NFT (425820946033458619/Galaxy Pug)[1], NFT (426522185192946655/Christmas Eve)[1], NFT (428708946581111939/Galactic Princess #2)[1], NFT
                                   (430403243445161019/Galaxy Thorny Devil )[1], NFT (431889502901969275/War)[1], NFT (435897713025678275/ Cloud City)[1], NFT (437056018857982965/Stray Jellyfish)[1], NFT
                                   (437858158732552023/Halloween Night)[1], NFT (438728356522744745/Uncanny Desert)[1], NFT (440301006924420240/Art of Soul #13)[1], NFT (442031983428047037/Sea Life)[1], NFT
                                   (443964553620192500/Museum )[1], NFT (447997589471397461/Ghost House)[1], NFT (448937101383780889/Art of Soul #12)[1], NFT (452569971635832860/Hometown)[1], NFT
                                   (452902392805368065/Veggie Tofu Soup )[1], NFT (452952834528692914/Brides)[1], NFT (453970952098830794/Sunset Over The Bay)[1], NFT (454052985372237543/Reflexion)[1], NFT
                                   (455685783673311528/Sea Plants)[1], NFT (458392642986974174/Beef Noodle Soup )[1], NFT (460087987077317518/Heaven's Gate)[1], NFT (460211766601788007/Art of Soul #7)[1], NFT
                                   (460650457633002330/Phobia of Birds)[1], NFT (462304552563548772/Under the Rainbow)[1], NFT (463903647086252400/Dragon Attack)[1], NFT (466930373060457425/Miso Hot Pot)[1], NFT
                                   (469504976076713619/Art of Soul #10)[1], NFT (469751274771086795/Mysterious Ships)[1], NFT (477514819470355255/Double Life)[1], NFT (479798414352955326/Egg Noodle Soup )[1], NFT
                                   (482434157589250018/Galaxy Tufted Deer)[1], NFT (482557147638951015/Rivers)[1], NFT (482746387130967814/Art of Soul #8)[1], NFT (483126187724848336/Magic Mushroom #3)[1], NFT
                                   (484348845960644012/Galaxy Lemur)[1], NFT (485743723915832476/Mutant Ape Skullz)[1], NFT (486995506291485090/Primitive Creatures)[1], NFT (488591023052552209/Galactic Princess #9)[1],
                                   NFT (492140351111538681/Forest)[1], NFT (493629937359905374/Galactic Princess #8)[1], NFT (493965331906708159/ Fall in Love)[1], NFT (494619157768671697/Camping)[1], NFT
                                   (494732215068490689/Galaxy Philippine Eagle)[1], NFT (497336353431430376/Magic Mushroom #4)[1], NFT (497754673193442519/Pork Belly Soup)[1], NFT (500529216164992473/Dismembered
                                   Bodies)[1], NFT (502331205710111545/Ramen Soup )[1], NFT (503849016389678115/LiquidWoman)[1], NFT (507027847788981622/Magic Mushroom #22)[1], NFT (508740172706031950/Castle )[1],
                                   NFT (510166797303792375/Galaxy Babirusa)[1], NFT (511141253532634255/Galaxy Rhinoceros)[1], NFT (513021535704564881/Mutant Ape Skullz #3)[1], NFT (514461283888790428/Meta
                                   Theatre)[1], NFT (518445459408762194/Magic Mushroom #25)[1], NFT (520974160508762206/Magic Mushroom #2)[1], NFT (522948037538815241/Fishes)[1], NFT (523411313385362171/Uncanny
                                   Rocks)[1], NFT (524292824947744923/Festival #2)[1], NFT (525106737155377222/Art of Soul #3)[1], NFT (528096999012174461/Magic Mushroom #26)[1], NFT (529959123210147095/Galactic
                                   Princess #4)[1], NFT (530493035936529894/ Trees With Flying Branches)[1], NFT (531276025273751050/Resort)[1], NFT (535534726200777937/Hungry Girl )[1], NFT (536530555676539118/Art of
                                   Soul #5)[1], NFT (536537621460258932/ Rock Bridge)[1], NFT (537273182608548601/Kids)[1], NFT (541306579355000510/Meta Summerhouse)[1], NFT (541778182325941026/Sky City)[1], NFT
                                   (541838356547334109/Hopelessness)[1], NFT (541995167354301416/ Carnival)[1], NFT (544320626047315356/Galactic Princess #7)[1], NFT (544437921616182973/Vegan Kale Soup )[1], NFT
                                   (546933118473335367/Liquid Women #3)[1], NFT (547082150155517741/Galaxy Hippopotamus)[1], NFT (547169498772955471/Art of Soul #14)[1], NFT (547749224555737914/Rain)[1], NFT
                                   (547923186224261918/Zoo)[1], NFT (549882392562952577/LiquidWoman #15)[1], NFT (549943230570482940/Art of Soul #9)[1], NFT (551060404372351616/Stardust)[1], NFT
                                   (551773370745859965/Uncanny Temple)[1], NFT (554049687761157505/Galactic Princess #6)[1], NFT (564213042153119772/Galactic Princess #5)[1], NFT (567385496436964825/Seafood Soup )[1],
                                   NFT (568865574056680973/LiquidWoman #14)[1], NFT (573071609805656307/Magic Mushroom #5)[1], SOL[3.17510349], USD[102.60], USDT[0]
08032979                           SOL[3.40389687], USD[0.00]

08032983                           SOL[4.998], USD[0.01]

08032989                           DOGE[1], ETH[.10965567], ETHW[.10965567], USD[0.00]

08032990                           BTC[.0365], ETH[.512], ETHW[.512], USD[25005.92]

08032995                           DOGE[0], TRX[0], USD[0.03], USDT[0]

08033000                           DOGE[1], TRX[1], USD[0.00]

08033002                           CUSDT[1], MATIC[10.35043654], USD[0.00]

08033004                           DOGE[1183.21776866], USD[0.07]                                                                                                                                                            Yes

08033008                           CUSDT[4], USD[0.01]

08033010                           BTC[0], SOL[0], USD[0.54], USDT[0.00000001]

08033013                           CUSDT[2], ETH[.02380683], ETHW[.02350754], SHIB[1572438.09308388], USD[0.01]                                                                                                              Yes

08033018                           NFT (476530844327679315/Coachella x FTX Weekend 1 #3963)[1]

08033022                           SOL[1.38], USD[1.25]

08033029                           BTC[.0037415], DOGE[2], SHIB[15], USD[18.01]                                                                                                                                              Yes

08033032                           LTC[21.92805], SOL[500.87762], USD[55.21], USDT[.23791]

08033045                           SOL[.00009916], USD[0.00], USDT[0]                                                                                                                                                        Yes

08033058                           DOGE[1], TRX[1], USD[0.00]                                                                                                                                                                Yes

08033059                           BTC[.00015277], CUSDT[2], DOGE[1], ETH[.00232258], ETHW[.0022952], LTC[.01918847], SOL[.02171738], USD[1.55]                                                                              Yes

08033075                           USD[1.10]

08033078                           BTC[.00001582], DOGE[2.22518689], KSHIB[108.56311077], USD[0.88]                                                                                                                          Yes

08033080                           CUSDT[1], USD[0.00]                                                                                                                                                                       Yes

08033086                           NFT (532933304521455940/Bahrain Ticket Stub #235)[1], SHIB[8463.85964917], SOL[0], USD[0.00], USDT[0]                                                                                     Yes

08033089                           CUSDT[1], SOL[.00000001], USD[0.00]                                                                                                                                                       Yes

08033091                           BTC[.00013181], DOGE[37.02075683], ETH[.00209316], ETHW[.0020658], SHIB[492688.91896257], USD[0.00]                                                                                       Yes

08033100                           USD[20.00]

08033102                           DOGE[3], SHIB[5], TRX[2], USD[2.91], USDT[1]

08033105                           USD[0.00]

08033106                           USD[1.10]

08033119                           BTC[.006199], ETH[.033966], ETHW[.033966], SOL[1.16895], USD[50.71]

08033120                           BRZ[1], BTC[.03070785], CUSDT[14], DAI[53.22183749], DOGE[194.65779451], ETH[.41640575], ETHW[.32970869], MATIC[53.8482631], SHIB[770772.36159708], SOL[.31228696], TRX[4], USD[0.01] Yes
West Realm Shires Services Inc.                                                    Case 22-11068-JTD      Doc F-3:
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                                                                                                                                         Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08033123                           BTC[.0001], USD[3.66]

08033128                           CUSDT[1], DOGE[1], KSHIB[1559.70666284], SHIB[965302.02174457], USD[0.01]                                                                                                                Yes

08033135                           BRZ[1], USD[0.00]

08033136                           TRX[1], USD[0.00]                                                                                                                                                                        Yes

08033137                           ETH[.0008], ETHW[.0008], USD[0.00]

08033138                           BRZ[1], USD[0.00]

08033150                           BTC[.00078334], CUSDT[1], SOL[0.13818181], TRX[2], USD[0.00]

08033158                           BTC[0], ETH[0.11600625], ETHW[0.11600626], SOL[2.56701069], USD[3.12]

08033163                           USD[0.07]

08033170                           SOL[10.03], USDT[.2845314]

08033171                           BRZ[65.99646451], CUSDT[1], USD[0.01]                                                                                                                                                    Yes

08033173                           CUSDT[2], SHIB[0], USD[5.05]

08033185                           DOGE[1], LTC[0], SHIB[1], TRX[0], USD[0.02]                                                                                                                                              Yes

08033190                           BAT[1], BRZ[6.28634784], DOGE[15.18919848], ETH[.00000001], SHIB[1], SUSHI[1.04608972], TRX[13], USD[0.01], USDT[4.23037714]                                                             Yes

08033193                           USD[0.00]

08033196                           BTC[.03522145], DOGE[2], ETH[.21384137], ETHW[.21362492], SHIB[2], TRX[2], USD[0.00]                                                                                                     Yes

08033198                           CUSDT[2], SOL[.49378073], USD[0.00]                                                                                                                                                      Yes

08033217                           DOGE[1], TRX[4436.61391946], USD[0.00]

08033221                           MATIC[.00174513]                                                                                                                                                                         Yes

08033222                           BAT[2.0405857], BCH[3.88838372], BRZ[5.06256657], BTC[0.00000075], CUSDT[23909.47360714], DOGE[6.00565184], ETH[6.72118966], ETHW[6.71864453], GRT[1], LINK[15.72179813],                Yes
                                   LTC[16.18866745], SHIB[18587790.06470259], SOL[33.39505524], SUSHI[150.77746817], TRX[5], UNI[1.05839572], USD[4.54], USDT[213.82871883]
08033230                           BTC[.38635541], ETH[2.0878368], ETHW[2.08696098], SHIB[1], USD[0.00], USDT[0.00019322]                                                                                                   Yes

08033235                           USD[15.77]

08033239                           AUD[0.00], BRZ[0], BTC[0], CUSDT[1], ETH[0], GRT[0], KSHIB[0], LTC[0], MATIC[0], NFT (445737668457724696/FTX - Off The Grid Miami #589)[1], SHIB[1], SOL[0], SUSHI[0], TRX[1], UNI[0],   Yes
                                   USD[0.00], USDT[0]
08033244                           BTC[.00007867], CUSDT[1], USD[0.00]

08033248                           USD[0.00]

08033251                           CUSDT[1], KSHIB[728.1233872], USD[0.01]

08033263                           CUSDT[2], ETH[.11735702], ETHW[.11622121], TRX[1], USD[0.00]                                                                                                                             Yes

08033269                           BTC[.00340071], CUSDT[1], ETH[.00246994], ETHW[0.00244257], USD[0.00]                                                                                                                    Yes

08033270                           USD[0.72]

08033285                           CUSDT[2], ETH[.02268403], ETHW[.02239917], SOL[.43738885], USD[0.00]                                                                                                                     Yes

08033288                           BTC[.00021943], CAD[9.08], USD[0.04]                                                                                                                                                     Yes

08033295                           DOGE[1], TRX[1], USD[0.02]                                                                                                                                                               Yes

08033298                           AAVE[.30522095], CUSDT[2], DOGE[1], GRT[99.29320613], SUSHI[7.50402277], USD[200.00]

08033304                           CUSDT[1], DOGE[1], SHIB[1975156.0181854], USD[0.00]                                                                                                                                      Yes

08033309                           SOL[1.00275]

08033315                           CUSDT[2], DOGE[1], MATIC[.00048182], SOL[.45657555], USD[0.00]                                                                                                                           Yes

08033331                           SOL[.90725]

08033344                           DOGE[537.649], LTC[.06993], SHIB[2598500], USD[1.69]

08033345                           NFT (312140341059061944/Romeo #1151)[1], NFT (319898015759715504/BabyBlob #41)[1], NFT (448469397346283928/Humpty Dumpty #546)[1]

08033349                           CUSDT[2], DOGE[1], USD[0.00]                                                                                                                                                             Yes

08033352                           CUSDT[1], GRT[87.64322623], SHIB[1750875.35014005], TRX[1], USD[0.00]

08033356                           BTC[.00078584], CUSDT[1], USD[0.01]

08033359                           DAI[299.90897693], DOGE[2], ETH[.00000059], ETHW[.00000059], USD[0.00]                                                                                                                   Yes

08033361                           CUSDT[4], DOGE[3], ETH[.0458836], ETHW[.04531222], NFT (310184022290843276/digital machine #3)[1], NFT (344240984961009403/MagicEden Vaults)[1], NFT (355777914837621726/Frog            Yes
                                   #3272)[1], NFT (363452932386256307/Cyber Frogs Ramen)[1], NFT (365770093786642550/Eitbit Ape #2600)[1], NFT (380028647935617617/MagicEden Vaults)[1], NFT
                                   (387192689675321743/MagicEden Vaults)[1], NFT (402718343579309050/MagicEden Vaults)[1], NFT (444616957313827199/LightPunk #6852)[1], NFT (469204171969782360/MagicEden Vaults)[1],
                                   NFT (479944418677156175/Tom Selleck)[1], NFT (483463257964507057/Golden bone pass)[1], NFT (543772484951547718/SOLYETIS #896)[1], NFT (568716029628024388/Marcus Allen's Playbook:
                                   Seattle Seahawks vs. Los Angeles Raiders - October 7, 1984 #67)[1], SOL[.000004], USD[0.00]
08033374                           CUSDT[16.47294694], USD[0.01]                                                                                                                                                            Yes

08033377                           BAT[.00052619], BTC[.00000002], CUSDT[.0225], MATIC[.00024166], SHIB[5.77985493], SUSHI[.00003982], UNI[.00001931], USD[202.67]                                                          Yes

08033379                           NFT (295431148247622943/FTX - Off The Grid Miami #162)[1]

08033380                           USD[11.22]

08033398                           NFT (373807802291737525/Humpty Dumpty #540)[1], NFT (410605658677426884/Romeo #1146)[1], NFT (476185863103974599/Juliet #326)[1], NFT (569536537734018042/BabyBlob #81)[1]

08033406                           DOGE[1.95405677], SOL[0], SUSHI[.03483392], USD[0.00]

08033415                           USD[0.00]

08033416                           USD[0.00]

08033421                           SOL[0], USD[0.00], USDT[0.00000152]

08033422                           USD[250.00]

08033435                           BRZ[1], BTC[.0035405], ETH[.19895169], ETHW[.19895169], TRX[1], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08033445                              AAVE[.05831299], BAT[24.83740528], BCH[.02354036], BRZ[1235.76623786], BTC[.02012972], CUSDT[5589.41293921], DAI[10.87936901], DOGE[1071.10827955], ETH[.07288182],
                                      ETHW[.07288182], GRT[27.29947782], LINK[3.87297743], LTC[.13856128], MATIC[9.27908091], MKR[.00422401], PAXG[.00607661], SHIB[23736721.28869282], SOL[.18072518],
                                      SUSHI[1.70188907], TRX[1224.28899123], UNI[.67267104], USD[0.01], USDT[10.93192558], YFI[.00047032]
08033447                              BTC[.00314933], ETH[.0219837], ETHW[.0219837], SOL[.91357198], USD[0.00]

08033453                              USD[50.00]

08033454                              SHIB[155775.34958425], USD[0.00]                                                                                                                                                 Yes

08033460                              USD[0.00]

08033471                              DOGE[1], SOL[2.9993536], USD[0.00]                                                                                                                                               Yes

08033474                              DOGE[1], SHIB[4539951.57384987], USD[0.00]

08033485                              BTC[0], DOGE[0.10361529], ETH[0], SOL[0], USD[0.00]

08033497                              USD[100.00]

08033501                              DOGE[1], USD[0.00]

08033506                              SHIB[1], USD[0.01]                                                                                                                                                               Yes

08033510                              MATIC[.00838439], USD[252.00]

08033512                              USD[0.57]

08033513                              ALGO[237.5050203], AVAX[7.05764623], BAT[91.05680752], DOGE[506.92944319], ETH[.02700256], ETHW[1.97321756], GRT[90.49394175], LTC[2.12582698], MATIC[118.93283274],             Yes
                                      SHIB[19411224.36915563], SOL[5.86529106], TRX[3], USD[966.19]
08033518                              SOL[.2], USD[152.15]

08033521                              USD[0.00]

08033534                              USD[1.20]

08033537                              BTC[.0025974], ETH[.01998], ETHW[.01998], SHIB[900000], USD[7.35]

08033543                              CUSDT[1], SHIB[7512393.56852733], USD[0.00]                                                                                                                                      Yes

08033550                              BTC[.00178083], CUSDT[4], ETH[.0215928], ETHW[.02132087], SUSHI[1.7530809], USD[0.00]                                                                                            Yes

08033552                              BTC[.0322013], TRX[.000002], USDT[93.61624447]                                                                                                                                   Yes

08033553                              USD[500.00]

08033554                              TRX[1], USD[0.00]

08033562                              ETH[.00076707], ETHW[0.00076706], SHIB[13802269.69292389], USD[3.71]

08033567                              DOGE[0], ETH[0], ETHW[0], MATIC[0], SHIB[2], SOL[0], USD[0.01], USDT[0]                                                                                                          Yes

08033568                              CUSDT[2], DOGE[3], ETH[.1882665], ETHW[.1882665], SOL[1.0590708], TRX[3], USD[101.65]

08033569                              USD[4.55]

08033570                              ETHW[.30714046], FTX_EQUITY[0], NFT (305339732458651775/Resilience #46)[1], NFT (357172146274939065/Serum Surfers X Crypto Bahamas #113)[1], NFT (391731612923485250/Australia
                                      Ticket Stub #2277)[1], NFT (555937588152719950/APEFUEL by Almond Breeze #892)[1], SOL[0], USD[0.00]
08033583                              SHIB[1], USD[0.00]

08033585                              BRZ[59.8802794], CUSDT[987.35547818], SHIB[357685.54724823], USD[0.00]                                                                                                           Yes

08033594                              USD[0.00]

08033600                              CUSDT[2], DOGE[2], TRX[2], USD[0.00]

08033603                              SOL[.00009268]                                                                                                                                                                   Yes

08033607                              MATIC[12.86725944], SOL[.0997014], USD[0.00]

08033611                              USD[0.00], USDT[0.00013969]

08033616                              BTC[.0000405], USD[0.85]

08033626                              CUSDT[1], USD[8.78]

08033631                              BAT[1], BRZ[1], CUSDT[2], DOGE[1], ETH[.06959993], ETHW[.06873704], GRT[1], MATIC[268.4733085], SHIB[8], USD[0.00]                                                               Yes

08033632                              BTC[.00908933], CUSDT[1], DOGE[1], ETH[.01171932], ETHW[.01156884], USD[0.02]                                                                                                    Yes

08033637       Contingent, Disputed   NFT (288948326966774210/BabyBlob #150)[1], NFT (521065596420101649/BabyBlob #140)[1]

08033639                              ETHW[2.07761392], NFT (348648757741636272/APEFUEL by Almond Breeze #617)[1], NFT (450084336442352452/APEFUEL by Almond Breeze #145)[1]                                           Yes

08033643                              USD[2.17]                                                                                                                                                                        Yes

08033645                              ETHW[0], SHIB[394835.09703979]

08033647                              MATIC[0], SHIB[3611762.55591218], USD[0.00]

08033649                              TRX[.013728], USD[0.02], USDT[0.00220000]

08033668                              SOL[2], USD[30.62]

08033670                              CUSDT[6], DOGE[1], ETH[.02444459], ETHW[.02414341], LINK[1.66944729], SHIB[388848.77003198], SOL[.17126538], USD[0.01]                                                           Yes

08033672                              CUSDT[3], DOGE[3], LINK[1.40755293], SOL[.64792091], USD[0.00]                                                                                                                   Yes

08033673                              BRZ[1], BTC[.00000065], CUSDT[1], DOGE[1], SHIB[4.93351478], TRX[1], USD[0.00], USDT[1.08485087]                                                                                 Yes

08033687                              CUSDT[16], DOGE[1], MATIC[337.5831489], USD[0.00]                                                                                                                                Yes

08033694                              CUSDT[2], DOGE[1], LTC[.10091611], USD[0.16]                                                                                                                                     Yes

08033695                              USD[27.10]                                                                                                                                                                       Yes

08033702                              TRX[.000004]

08033708                              ETH[.00260617], ETHW[.00257881], USD[0.00]                                                                                                                                       Yes

08033712                              USD[5.96]

08033718                              CUSDT[9], SHIB[2], TRX[3.79855624], USD[0.77]                                                                                                                                    Yes

08033720                              SOL[0], USD[256.81]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08033725                              BAT[2], BRZ[2], CUSDT[17], DOGE[3.68460138], SHIB[27518035.10460734], TRX[3], USD[0.00]

08033727                              USD[5.00]

08033728                              CUSDT[.00210927], DOGE[97.96526108], USD[0.00]                                                                                                              Yes

08033729                              CUSDT[2], SHIB[756817.95630815], SOL[.17456214], USD[0.00]                                                                                                  Yes

08033732                              BRZ[1], CUSDT[6], DOGE[1], LINK[.00002554], SHIB[2608013.58432849], SUSHI[.000151], TRX[1], UNI[.00010525], USD[0.00]                                       Yes

08033734                              BTC[.0101898], ETHW[10.7346302], USD[0.61]

08033743                              ETH[.01], ETHW[.01], SUSHI[.37905987], USD[0.00]

08033746                              CUSDT[1], SHIB[279837.6941374], USD[0.00]

08033748                              BTC[.0000999], USD[3.68]

08033750                              BTC[0], SOL[0], USD[1.21]

08033752                              USD[20.72]                                                                                                                                                  Yes

08033753                              USD[0.00]

08033760                              PAXG[.00000001], USD[4.26]

08033764                              USD[50.00]

08033781                              BRZ[1], TRX[1], USD[0.00]

08033790                              SHIB[0]

08033794                              CUSDT[4], DOGE[2], ETH[.02185871], ETHW[.02185871], SHIB[3656134.98248811], TRX[1], USD[15.69]

08033795                              SHIB[963107.47263861], USD[0.00]                                                                                                                            Yes

08033799                              SOL[0], USD[0.00]

08033810                              BTC[.00021218]

08033812                              SOL[.04], USD[1.41]

08033814                              SOL[.00002587], USD[0.00]

08033825                              BAT[.0002167], CUSDT[489.6361206], DOGE[1], GRT[26.52610514], SHIB[1], TRX[101.80702584], USD[2.14]                                                         Yes

08033839                              SOL[.00000001], USD[0.00]                                                                                                                                   Yes

08033847                              DOGE[2], SHIB[2], USD[0.01]                                                                                                                                 Yes

08033855                              ETH[.00000001], ETHW[0], SOL[0], USD[0.00]

08033856                              USD[475.28]

08033860                              USD[0.09], USDT[0]

08033861                              USD[6.58]                                                                                                                                                   Yes

08033865                              USD[0.00]

08033866                              LINK[25.1290982], TRX[15.985936], USD[0.11]                                                                                                                 Yes

08033868                              SOL[.00003765]                                                                                                                                              Yes

08033870                              CUSDT[1], DOGE[1337.60653375], SHIB[12104882.33316034], TRX[1], USD[0.00]                                                                                   Yes

08033874                              ETH[.04937648], ETHW[0.04876088]                                                                                                                            Yes

08033875                              BRZ[1], CUSDT[1], SOL[1.24563085], UNI[10.32503642], USD[0.00]                                                                                              Yes

08033876                              BAT[3.17668462], BRZ[3], CUSDT[3], DOGE[3], MATIC[0.00491884], SHIB[1], SOL[0], TRX[3], USD[0.00]                                                           Yes

08033877                              USD[0.40]                                                                                                                                                   Yes

08033880                              ETH[.0000696]                                                                                                                                               Yes

08033887                              ETH[.00000074], ETHW[.04478101], LINK[0], SHIB[81], TRX[6], USD[426.13]                                                                                     Yes

08033894                              USD[2000.00]

08033903                              USD[21.71]                                                                                                                                                  Yes

08033904                              ETH[2.210787], ETHW[2.210787], LINK[40], SOL[19.62474888], USD[0.00]

08033910                              USD[3.44]

08033961       Contingent, Disputed   USD[0.00]                                                                                                                                                   Yes

08033962                              AAVE[.00999], BTC[.0004], ETH[.001998], ETHW[.001998], LINK[.1], SUSHI[.4995], USD[3.32]

08033964                              USD[535.13]

08033972                              DOGE[19.47370653], USD[21.51]                                                                                                                               Yes

08033995                              CUSDT[1], SHIB[7121492.66486255], USD[0.00]

08033996                              CUSDT[1], TRX[250.12136088], USD[0.00]                                                                                                                      Yes

08033997                              BTC[.07936907], CUSDT[1], DOGE[4], TRX[2], USD[0.00]                                                                                                        Yes

08033998                              BF_POINT[100], BRZ[61.53766359], CUSDT[5], GRT[10.71342712], MATIC[28.0057785], SHIB[1314619.31305153], SOL[.40747196], TRX[1], UNI[.53811849], USD[0.00]   Yes

08034003                              SHIB[1], SOL[0], USD[74.71]                                                                                                                                 Yes

08034009                              CUSDT[1], SHIB[4477901.33288589], USD[0.05]                                                                                                                 Yes

08034024                              BRZ[1], CUSDT[2], DOGE[1146.02067741], GRT[1.00203863], SHIB[1602711.41620456], SOL[6.39003988], TRX[1], USD[0.00]                                          Yes

08034029                              BTC[.00113974]                                                                                                                                              Yes

08034037                              USD[8.02]

08034047                              BTC[0], ETH[.00000001], ETHW[0], SHIB[1], SOL[0], TRX[1], USD[8.26]                                                                                         Yes

08034059                              BRZ[1], GRT[1.00283507], SHIB[2], USD[0.00]                                                                                                                 Yes
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08034062                              BTC[0.00168734], CUSDT[2], DOGE[1], USD[0.00]

08034066                              USD[21.51]                                                                                                                                                                        Yes

08034069                              USD[21.51]                                                                                                                                                                        Yes

08034081                              BTC[.23140782], ETH[0], LINK[29.4], USD[0.59]

08034086                              SOL[.19807721], USD[0.00]

08034088                              NFT (425355031074004272/Miami University Blockchain Club Attendance NFT #2)[1], USD[50.00]

08034095                              USD[50.00]

08034098                              SOL[5]

08034100                              TRX[.000001], USD[0.54], USDT[0]

08034104                              BTC[.01021296], ETH[.22267916], ETHW[.22267916], USD[0.02]

08034106                              USD[50.00]

08034110                              BRZ[1], SHIB[809139.1917811], USD[0.01]                                                                                                                                           Yes

08034113                              CUSDT[5], DOGE[105.89735546], GRT[3.98486829], SHIB[373266.20457904], SOL[.04450983], TRX[1], USD[0.00]                                                                           Yes

08034115                              USD[0.00]

08034116                              BTC[.00082509], NFT (376812057237792681/Fair day )[1], USD[52.90]

08034120                              USD[50.00]

08034123                              SHIB[18600000], USD[0.38]

08034126                              BF_POINT[400], BTC[.00000053], USD[0.00]                                                                                                                                          Yes

08034128                              USD[25.00]

08034143                              USD[50.00]

08034145                              SOL[130.98888], USD[23.23], USDT[4.24]

08034153                              BRZ[1], CUSDT[4], DOGE[1.00891706], ETH[0.02386267], ETHW[0.02356171], SHIB[25.88563939], TRX[1], USD[0.00]                                                                       Yes

08034170                              SHIB[1], USD[0.01], USDT[72.80989107]                                                                                                                                             Yes

08034173                              USD[10.00]

08034180                              USD[50.00]

08034181                              BTC[.00245842], CUSDT[6], DOGE[58.15138744], ETH[.00447434], ETHW[.00441962], LTC[.08230684], SHIB[191226.82637072], SOL[.06567926], TRX[1], USD[27.38]                           Yes

08034184                              USD[542.63]                                                                                                                                                                       Yes

08034187                              KSHIB[9.99], NFT (315479099343028231/LightPunk #7559)[1], NFT (418154549426088008/DarkPunk #8572)[1], NFT (488845607573803571/ApexDucks #7322)[1], NFT
                                      (491128510728213844/ApexDucks #4166)[1], SOL[.0102624], USD[0.00]
08034190                              SOL[5.56742], USD[1.22]

08034198                              BRZ[1], CUSDT[20.32548492], DOGE[.00150313], ETHW[0], NFT (363950851175734450/Saudi Arabia Ticket Stub #511)[1], SHIB[2], TRX[191.79480804], USD[1.13]                            Yes

08034207                              BTC[.0014985], ETH[.020979], ETHW[.020979], LTC[.47952], SHIB[1598400], SOL[.41958], USD[11.02]

08034213                              AVAX[.21444662], BAT[1], BF_POINT[200], ETH[.00001271], ETHW[1.39240136], GRT[25.63324345], LINK[.67056884], NFT (318182238904919241/DAC_0)[1], NFT (347012910047529460/DAC_3)[1], Yes
                                      NFT (385913326762789965/Disco Astronaut Club #2)[1], NFT (464629966144501133/DAC_7)[1], NFT (520127484875245279/DAC_1)[1], SHIB[11], SOL[0], TRX[4], USD[0.04], USDT[2.07650303]

08034218                              CUSDT[4], ETH[.00000005], ETHW[.00000005], SOL[.00000188], TRX[2], USD[0.00]                                                                                                      Yes

08034219                              SHIB[98670]

08034227                              USD[0.00]

08034242                              BF_POINT[100], CUSDT[1], MATIC[15.83336710], TRX[.00009531], USD[1.32]

08034245                              BAT[.983], SHIB[499500], USD[1.45]

08034260                              MATIC[.9980393], USD[0.00]                                                                                                                                                        Yes

08034263       Contingent, Disputed   DOGE[1], USD[0.00]

08034266                              CUSDT[2], DOGE[1], ETH[.01142282], ETHW[0.01128602], LINK[1.10836036], SHIB[1], SOL[0.00000001], USD[0.01]                                                                        Yes

08034291                              USD[250.00]

08034300                              BTC[.00045613], CUSDT[4], ETH[.00658189], ETHW[.00649981], LINK[.83761741], SHIB[1172670.04563288], USD[0.00]                                                                     Yes

08034303                              CUSDT[1], ETH[.01161837], ETHW[.01147059], SOL[.22828905], TRX[1], USD[0.00]                                                                                                      Yes

08034304                              BF_POINT[100], BRZ[1], DOGE[7.00057537], ETH[.00000457], ETHW[.00000457], MATIC[0.00305053], SHIB[40379.62409524], TRX[2], USD[0.00]                                              Yes

08034311                              BTC[.00137462], CUSDT[2], SHIB[1019894.08902247], TRX[1], USD[0.00]

08034320                              BTC[.1907516], SOL[0], USD[0.00], USDT[0]

08034327                              USD[542.63]                                                                                                                                                                       Yes

08034328                              CUSDT[3], SHIB[1917044.26629487], TRX[1], USD[8.87]

08034331                              BRZ[1], BTC[.00597329], CUSDT[2], TRX[1], USD[0.00]                                                                                                                               Yes

08034335                              NFT (485721578591074475/BabyBlob #224)[1]

08034339                              CUSDT[1], SHIB[778855.40915528], USD[0.01]                                                                                                                                        Yes

08034340                              BTC[0], EUR[0.00], SOL[0]

08034353                              SOL[62.06], USD[1.93]

08034355                              SOL[1.92152803], USD[0.55]

08034357                              BRZ[1], BTC[.01598172], DOGE[2], ETHW[.28548767], SHIB[2], SUSHI[.00004276], TRX[2], USD[0.00]

08034358                              BTC[.00009556], ETH[.00068737], LINK[.06], SOL[.005568], USD[0.98]

08034361                              AVAX[.07228], MATIC[.89], SOL[.00989], SUSHI[.38], TRX[.673], USD[3351.80]
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08034362                              BRZ[1], SOL[0], USD[99.88]

08034367                              USD[0.06], USDT[0.00000001]

08034377                              AVAX[7.04978329], DOGE[1], MATIC[85.9235862], SHIB[1], SOL[1.08716356], TRX[1], USD[3.17], USDT[1.08457341]                                                                           Yes

08034384                              USD[250.00], USDT[.55125716]

08034391                              BTC[.00026803], ETH[.00115526], ETHW[.00114158], USD[10.36]                                                                                                                           Yes

08034392                              NFT (342567751493588207/Diamond Sponsor - Georgia Tech Trading Club)[1], NFT (362419362729896914/Silver Sponsor - Georgia Tech Trading Club)[1], NFT (439402655467626164/Platinum
                                      Sponsor - Georgia Tech Trading Club)[1], NFT (441427172601441574/Gold Sponsor - Georgia Tech Trading Club)[1], NFT (552315948690201649/Trading Club at Georgia Tech)[1], USD[22.62]

08034393       Contingent,            BCH[.049881], BTC[0.00068977], LTC[.00971], SOL[.21], UNI[5.1154], USD[0.00], USDT[0]
               Unliquidated
08034399                              USD[5.00]

08034400                              CUSDT[3], TRX[720.69495909], USD[0.00]                                                                                                                                                Yes

08034403                              BTC[.00965784], CUSDT[1], DOGE[2], ETH[.03093304], ETHW[.03054972], LINK[.49952179], MATIC[90.33488063], SHIB[320035.73470135], TRX[1], USD[6.86]                                     Yes

08034408       Contingent, Disputed   USD[0.00]                                                                                                                                                                             Yes

08034410                              USD[10.85]                                                                                                                                                                            Yes

08034414                              BRZ[50.20384112], DOGE[88.54619295], SHIB[226342.88846589], TRX[165.99473035], USD[0.05]                                                                                              Yes

08034421       Contingent, Disputed   USD[0.00], USDT[4.9]

08034422                              BRZ[.29010989], CUSDT[5], DOGE[38.74117611], KSHIB[591.77270247], SHIB[412812.93398106], SOL[.34612125], TRX[1.32280471], UNI[2.2810042], USD[0.00]                                   Yes

08034434                              SOL[1.49907845], USD[0.00]

08034436                              BTC[.00005871], USD[710.16]

08034438                              CUSDT[1], TRX[527.98753446], USD[54.26]                                                                                                                                               Yes

08034441       Contingent, Disputed   MATIC[129.87], USD[3.87]

08034445                              USD[27.13]                                                                                                                                                                            Yes

08034461                              USD[0.00]

08034462                              TRX[1], USD[0.01]                                                                                                                                                                     Yes

08034470                              AVAX[2.04728954], SHIB[7937883.25721989], USD[0.00], USDT[0]

08034474                              USD[0.00]

08034489                              BTC[.00356543], CUSDT[2], ETH[.05423759], ETHW[.05423759], USD[25.01]

08034496                              USD[1.41]

08034500                              TRX[2], USD[0.01]

08034503                              MATIC[0], USD[94.90]

08034505                              USD[0.00], USDT[0.00001372]

08034514                              BTC[.00015381]                                                                                                                                                                        Yes

08034516                              USD[100.00]

08034521                              ETH[.00912489], ETHW[0.00912489]

08034532                              CUSDT[2], TRX[1], USD[0.00]                                                                                                                                                           Yes

08034539                              CUSDT[1], DOGE[229.6842079], MATIC[11.17804889], USD[0.38]                                                                                                                            Yes

08034541                              USD[0.48]

08034542                              SHIB[4724460.19708316], USD[0.01]

08034543                              SHIB[1], TRX[1], USD[188.12]

08034547                              BRZ[2], CUSDT[5], DOGE[9.35319808], SOL[17.26418557], TRX[2], USD[0.03]                                                                                                               Yes

08034549                              SHIB[1], USD[0.00]

08034550                              CUSDT[6], ETH[.00468523], ETHW[.00463051], MATIC[8.29251122], SOL[1.71941831], TRX[1], USD[0.00]                                                                                      Yes

08034552                              BTC[0], USD[0.00]

08034553                              DOGE[1], ETHW[.05079058], SHIB[1044481.4229765], USD[166.28]

08034554                              USD[2.00]

08034558                              BRZ[1], DOGE[1], ETH[.00000014], ETHW[.00000014], SHIB[5], USD[0.88]                                                                                                                  Yes

08034559                              CUSDT[1], UNI[19.32717104], USD[0.01]

08034561                              NFT (325688492360224709/Imola Ticket Stub #960)[1], SHIB[19], TRX[1], USD[0.00], USDT[0]                                                                                              Yes

08034565                              SHIB[1807337.79143321], TRX[1], USD[0.00]

08034566                              MATIC[0], SHIB[176872.70177886], SOL[0], USD[0.00]

08034570                              CUSDT[1], ETH[.0116989], ETHW[.01154842], USD[0.01]                                                                                                                                   Yes

08034571                              USD[0.00]

08034575                              CUSDT[1], SOL[.23410947], USD[0.00]                                                                                                                                                   Yes

08034580                              CUSDT[1], SHIB[405350.62829347], TRX[69.55809835], USD[2.23]

08034603                              CUSDT[1], USD[43.41], YFI[.0010867]                                                                                                                                                   Yes

08034609                              BAT[1.01563679], CUSDT[1], GRT[1], SHIB[1], USD[0.00]                                                                                                                                 Yes

08034612                              DOGE[2], NFT (563316057182064114/Coachella x FTX Weekend 2 #2812)[1], SHIB[54766119.26604859], TRX[1], USD[0.00]

08034617                              CUSDT[1], USD[0.00]                                                                                                                                                                   Yes

08034622                              USD[1.20], USDT[3.31036273]
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                                                                                                                                            Customer Claims                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08034629                              SHIB[8900000], USD[4.53]

08034636                              SOL[.97], USD[1.16]

08034638                              BTC[0.00000040], ETHW[.00000988], NFT (390545434299179265/Unity #282)[1], NFT (397233636438183425/MagicEden Vaults)[1], NFT (436668835042443918/MagicEden Vaults)[1], NFT   Yes
                                      (448541363123263759/MagicEden Vaults)[1], NFT (525693375983956191/MagicEden Vaults)[1], NFT (555353538967821680/MagicEden Vaults)[1], SHIB[2], SOL[0], USD[1787.74]
08034643                              BTC[.0013975], SOL[.53], USD[0.51], USDT[0.00000001]

08034649                              CUSDT[2], USD[0.00]                                                                                                                                                         Yes

08034652                              BCH[0], BRZ[1], CUSDT[0], DOGE[1], ETH[0], ETHW[0], SHIB[31.52537309], TRX[1], USD[2.00], USDT[0.00000915]                                                                  Yes

08034655                              USD[0.00]

08034660                              USD[531.54]                                                                                                                                                                 Yes

08034663                              ETH[.00018087], ETHW[.00018087], NFT (479073349687946157/NY skyline )[1], SHIB[74711.26535064], SOL[.00383848], USD[0.00], USDT[0]                                          Yes

08034667                              SHIB[437697.9568393]                                                                                                                                                        Yes

08034674                              SOL[22.5], TRX[410.24473438], USD[0.00]

08034678                              BTC[.1935063], USD[5023.10]

08034680                              USD[4.00]

08034689                              CUSDT[3], ETH[.00511816], ETHW[.00504976], USD[0.00]                                                                                                                        Yes

08034702                              DOGE[1], ETH[.04689543], ETHW[.04631255], USD[0.01]                                                                                                                         Yes

08034704                              ETH[0.02897624], ETHW[0.02897624]

08034706                              USD[10.00]

08034709                              NFT (567663522412258292/Romeo #1212)[1]

08034710                              BRZ[1], CUSDT[3], DOGE[2], ETH[.06173053], ETHW[.06096445], SHIB[1], USD[0.00], USDT[0.86351508]                                                                            Yes

08034714       Contingent, Disputed   SHIB[1], USD[66.47]                                                                                                                                                         Yes

08034718                              USD[1.00]

08034721                              TRX[.04169202], USD[0.00]                                                                                                                                                   Yes

08034722                              BRZ[1], BTC[.00335076], CUSDT[3], SHIB[1034340.09102192], TRX[1], USD[0.00]

08034725                              BAT[1.01201717], CUSDT[1], ETH[3.16918659], ETHW[3.16785554], MATIC[1591.18671486], SOL[5.32651834], TRX[3], USD[0.00], USDT[1.07857689]                                    Yes

08034737                              AAVE[.39822989], BCH[.22574028], BRZ[1], CUSDT[24], DAI[.81839335], DOGE[1], ETH[.31707708], ETHW[.31690343], GRT[347.54747516], KSHIB[8.69839337], MATIC[402.72828342],    Yes
                                      SHIB[361317.72872287], USD[0.63]
08034746                              CUSDT[1], NFT (549896117542496958/FTX - Off The Grid Miami #4636)[1], SHIB[380484.84765573], USD[0.00]                                                                      Yes

08034748                              TRX[124067.966633]

08034751                              BAT[103.62814821], BRZ[2], CUSDT[2], GRT[114.23316718], MATIC[65.26981555], SUSHI[12.10386791], TRX[1055.37388686], USD[0.00]                                               Yes

08034752                              USD[0.01]

08034754                              BTC[.00217071], CUSDT[2], TRX[1], USD[0.00]

08034780                              USD[1.00]

08034788                              NFT (341716947424248952/FTX - Off The Grid Miami #215)[1], NFT (415814019507365001/Serum Surfers X Crypto Bahamas #34)[1], NFT (566825577297097678/Resilience #21)[1]

08034790                              BF_POINT[300], BTC[0.00000014], CUSDT[2], USD[0.00]                                                                                                                         Yes

08034798                              CUSDT[3], DOGE[224.28564215], SOL[.21366674], TRX[575.46082212], USD[0.00]

08034805                              USD[8888.00], USDT[0]

08034809                              DOGE[3], GRT[1], SHIB[3], SOL[5.04695236], TRX[2], USD[0.00]                                                                                                                Yes

08034822                              BRZ[1], CUSDT[1], DOGE[2], SHIB[1.00000004], USD[386.78]

08034831                              AAVE[.03337191], BCH[.01795544], GRT[10.89028165], PAXG[.0059906], UNI[.41156508], USD[0.00]                                                                                Yes

08034838                              DOGE[349.65], MATIC[69.93], SHIB[99900], USD[80.14]

08034848                              ETH[.02065466], ETHW[.02039474], SHIB[156849.92212673], USD[0.00]                                                                                                           Yes

08034851                              BRZ[1], CUSDT[5], DOGE[3], ETH[.03792401], ETHW[.03745471], KSHIB[459.3636573], SOL[.23889008], TRX[2], USD[0.00]                                                           Yes

08034853                              SHIB[13459.64667301], USD[0.00]

08034863                              BRZ[1], CUSDT[5], DOGE[4], KSHIB[0.00004110], SOL[.00000091], TRX[3], USD[0.00]                                                                                             Yes

08034866                              CUSDT[1], MATIC[5.40136279], SOL[.14500931], UNI[.40591405], USD[0.00]                                                                                                      Yes

08034875                              SOL[.20166992], USD[0.00]

08034877                              USD[10.85]                                                                                                                                                                  Yes

08034878                              ETH[.006], ETHW[.006], SOL[.13], USD[0.00], USDT[2.36]

08034885                              USD[0.02]

08034888                              BTC[.0001], ETH[.0001], ETHW[.0001], LINK[.0001], MATIC[9], SOL[.01], USD[1.78]

08034890                              CUSDT[2], DOGE[117.35415665], SHIB[595415.30217326], USD[15.01]

08034891                              USD[2.00]

08034893                              BRZ[1], BTC[0.00827622], CUSDT[2], DOGE[1], ETH[0.07892325], ETHW[0.07794534], LTC[0.00000791], MATIC[0], SHIB[9], SOL[0], TRX[1], UNI[0], USD[10.00]                       Yes

08034894                              BTC[.0235817], ETH[.222], ETHW[.222], SOL[2.96], USD[5.57]

08034897                              AAVE[.03659972], CUSDT[3], PAXG[.00450184], SOL[.04398381], USD[12.21]                                                                                                      Yes

08034927                              USD[2.03]                                                                                                                                                                   Yes

08034948                              ALGO[225.774], AVAX[2.6973], LINK[31.3686], USD[0.01]

08034952                              SHIB[156263.09808239], USD[0.00]                                                                                                                                            Yes

08034962                              USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08034970                              CUSDT[1], SOL[.64723459], USD[0.00]                                                                                                                                                      Yes

08034973                              ETH[.000869], ETHW[.000869], LINK[107.8889356], SOL[6.61336], USD[19.33]

08034977                              BCH[0], BTC[0.00000001], DOGE[222.88294452], LTC[0], NFT (297518736893215397/Red Panda #917)[1], NFT (436654947365331094/Sigma Shark #656)[1], NFT (508297110702617042/Sigma             Yes
                                      Shark #5966)[1], SHIB[965109.79140218], SOL[0], SUSHI[0], USD[0.00]
08034979                              CUSDT[1], SOL[8.40573359], USD[0.01]

08034980                              CUSDT[2], SHIB[0], SOL[0.00000340], USD[0.00]                                                                                                                                            Yes

08034984                              BRZ[3], CUSDT[3], DOGE[2], LINK[32.65732311], MATIC[1305.59256248], TRX[2], USD[0.00]                                                                                                    Yes

08034989                              BRZ[1], CUSDT[2], DOGE[1], USD[0.01]

08034990                              NFT (387459420611035361/Tower Community NFT)[1]

08035015                              SHIB[14444.60494005], USD[0.00]                                                                                                                                                          Yes

08035017                              ETH[.002], ETHW[.002], USD[1.02]

08035018                              DOGE[1], SOL[.00002071], USD[0.00]                                                                                                                                                       Yes

08035020                              BTC[0], ETH[0], SOL[2.59096816], USD[0.00]

08035022                              USD[20.00]

08035030                              CUSDT[1], SHIB[1], USD[25.85]                                                                                                                                                            Yes

08035033                              AVAX[0], BTC[0], CUSDT[0.10505191], ETH[0], ETHW[0.00023507], LTC[0], SOL[0], USD[0.00], USDT[0]

08035034                              BRZ[1426.19220072], CUSDT[12113.70932337], NFT (298269484131191793/Sea rauss)[1], NFT (303863616617795669/AI-generated landscape #196)[1], NFT (347295016236496643/Covid-19#1)[1],       Yes
                                      NFT (384752070338139453/alien undead #12)[1], NFT (386827527799977993/Live iberd1)[1], NFT (453314927528040834/alien undead #6)[1], NFT (489973746156307503/Capitol Xray First Edition
                                      #18)[1], NFT (519028035400478193/blueSun)[1], NFT (525898786004375466/AI-generated landscape #194)[1], NFT (529974237156839714/AI-generated landscape #182)[1], NFT
                                      (540712997115478097/AI-generated landscape #185)[1], SOL[2.16508542], TRX[4389.79393512], USD[109.01]
08035036                              DOGE[0], SHIB[12637.71895269], USD[0.00]                                                                                                                                                 Yes

08035040                              BRZ[2], CUSDT[5], DOGE[3707.76735454], ETH[.00000061], ETHW[.00000061], LINK[.00077655], SHIB[3], TRX[1.09325563], USD[0.00]                                                             Yes

08035042                              DOGE[1], SHIB[3021299.09365558], USD[0.00], USDT[9.94307974]

08035043                              CUSDT[1], SHIB[988012.79161716], SOL[.22047582], TRX[1], USD[0.00]                                                                                                                       Yes

08035047                              USD[3.66]                                                                                                                                                                                Yes

08035053                              BTC[.02401919]

08035054                              ETH[.02], ETHW[.02]

08035083                              LTC[.00725214], MATIC[2.71256197], USD[0.50], USDT[5.38667655]                                                                                                                           Yes

08035085                              USD[0.07]

08035092                              BTC[.00168797], USD[0.11]                                                                                                                                                                Yes

08035098                              BRZ[1], TRX[1], USD[0.01]

08035100                              CUSDT[2], LTC[.07835198], MATIC[5.30407114], MKR[.00437948], TRX[1], USD[0.00], YFI[.00034345]                                                                                           Yes

08035105                              AVAX[0], BRZ[1], CUSDT[10], DOGE[1], LTC[0], SHIB[1], TRX[2], USD[0.03]                                                                                                                  Yes

08035112                              BTC[0], USD[0.00], USDT[.45606075]

08035113                              BTC[2.62507047], CUSDT[2], LINK[17.5021103], SHIB[2], SOL[14.78616478], TRX[3], USD[7.43]                                                                                                Yes

08035118                              NFT (329741947302399014/GSW Western Conference Finals Commemorative Banner #1229)[1], NFT (366839410133879640/Warriors Foam Finger #453)[1], NFT (410012230249315134/GSW
                                      Western Conference Semifinals Commemorative Ticket #653)[1], NFT (444269784013512287/GSW Western Conference Finals Commemorative Banner #1230)[1], NFT (499512284859996459/GSW
                                      Championship Commemorative Ring)[1], USD[0.00]
08035127                              TRX[1840.07758489], USD[0.00]

08035129                              BRZ[1], CUSDT[6], USD[0.42]

08035130                              BTC[.00086018], CUSDT[5], DOGE[1], ETH[.011633], ETHW[.01148379], GRT[55.07971379], SHIB[789045.23618679], USD[1.09]                                                                     Yes

08035134                              MATIC[4.7987379], USD[0.07]                                                                                                                                                              Yes

08035159                              BRZ[1], CUSDT[1], USD[0.01]

08035160                              SHIB[29256.49393093], USD[0.00]                                                                                                                                                          Yes

08035168                              AAVE[.01863342], DOGE[3], SOL[.12468476], UNI[1.08557334], USD[0.02]                                                                                                                     Yes

08035181                              USD[150.00]

08035182                              BRZ[1], CUSDT[9], SOL[.00000672], TRX[.1134813], USD[0.00]                                                                                                                               Yes

08035184                              ETH[.215784], ETHW[.215784], SOL[8.43101479], USD[3625.25]

08035185                              USD[108.52]                                                                                                                                                                              Yes

08035191                              CUSDT[26895.12821735], DOGE[4117.63150204], GRT[1391.94709929], SHIB[37456340.11416426], TRX[10635.12099002], USD[0.00]                                                                  Yes

08035201                              USD[0.00]

08035207                              BTC[.00000659], CUSDT[1], TRX[3], USD[0.00]                                                                                                                                              Yes

08035212                              USD[0.00], USDT[0]                                                                                                                                                                       Yes

08035214                              DOGE[1], GRT[2.00105965], SHIB[3], SOL[8.95247384], TRX[4], USD[0.18]                                                                                                                    Yes

08035217                              BAT[21.38138299], BTC[.0006452], ETH[.00358603], ETHW[.00354499], LINK[.95314465], SHIB[1114001.06440798], SOL[.00512883], USD[0.00]                                                     Yes

08035221                              USD[0.35]                                                                                                                                                                                Yes

08035222                              CUSDT[1], SHIB[508976.49454007], USD[72.50]

08035232                              SHIB[5912638.17933462], TRX[1], USD[0.00]                                                                                                                                                Yes

08035238                              USDT[0.00001649]

08035240       Contingent, Disputed   USD[1.81]

08035249                              NFT (575499892280505034/Coachella x FTX Weekend 1 #18577)[1]

08035259                              BTC[.00029882], CUSDT[10], DOGE[.00035684], USD[0.00]                                                                                                                                    Yes
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08035261                              DOGE[1], SHIB[5543389.62248371], USD[-50.00]                                                                                                                                             Yes

08035264                              USD[0.00]                                                                                                                                                                                Yes

08035267                              SHIB[1], USD[0.00]                                                                                                                                                                       Yes

08035271                              ETH[.00000001], ETHW[0], USD[0.00], USDT[0]                                                                                                                                              Yes

08035273                              DOGE[5], NFT (549111708441745513/FTX - Off The Grid Miami #1943)[1], SHIB[30], TRX[7], USD[0.00]                                                                                         Yes

08035275                              USD[31.92]

08035282                              CUSDT[2], LINK[2.52044267], SHIB[3053452.48015438], SOL[.59344043], TRX[1], USD[3.29]                                                                                                    Yes

08035283                              AAVE[0], AVAX[0], BAT[0], BRZ[0], BTC[0], CAD[0.00], CHF[0.00], CUSDT[0], DAI[0], DOGE[2], ETH[0], GRT[0], HKD[0.00], KSHIB[0], LINK[0], LTC[0.00000091], MATIC[0], MKR[0], SGD[0.00],   Yes
                                      SHIB[2], SOL[0], SUSHI[0], TRX[0], USD[0.00], USDT[0], WBTC[0]
08035289                              CUSDT[3], DOGE[216.92945855], SOL[.41578843], TRX[1], USD[0.01]                                                                                                                          Yes

08035296                              AAVE[.00553997], BAT[1.09035438], BRZ[5.01591563], BTC[.00118718], CUSDT[1.08758814], DOGE[9.01859444], ETH[.00031866], ETHW[.00031866], GRT[6.49865506], KSHIB[31.57006122],      Yes
                                      MKR[.00046486], NFT (291775625199630828/Red Panda #4020)[1], NFT (294065962256239634/DRIP NFT)[1], NFT (299054875061495797/3D CATPUNK #4728)[1], NFT (301593467378046789/3D
                                      CATPUNK #7693)[1], NFT (303911230675899449/Momentum #179)[1], NFT (304573585169848052/3D CATPUNK #3247)[1], NFT (305408747972266834/DRIP NFT)[1], NFT
                                      (306804496004575788/SharkBro #1058)[1], NFT (307146697017470780/3D CATPUNK #9973)[1], NFT (309880396820613228/ApexDucks Halloween #579)[1], NFT (310799607171611581/Momentum
                                      #329)[1], NFT (311907653890122896/SOL SURFER 028 - GOOFY FOOT GORDON)[1], NFT (314467538200476055/Red Panda #6079)[1], NFT (327285268180856248/DRIP NFT)[1], NFT
                                      (327520733002808512/GalaxyKoalas # 286)[1], NFT (329726598849838940/SharkBro #2801)[1], NFT (330150385028480402/Momentum #20)[1], NFT (338440282240989828/SharkBro #859)[1], NFT
                                      (340442054955665222/Toasty Turts #0544)[1], NFT (341565836049614117/DOTB #1882)[1], NFT (342264278627103608/GalaxyKoalas # 652)[1], NFT (344004186802521357/Degenerate Trash
                                      Can)[1], NFT (358405466179765343/SharkBro #6003)[1], NFT (361496858022440725/Red Panda #7478)[1], NFT (365725417740256099/DOTB #3924)[1], NFT (367342717538082227/SharkBro
                                      #3216)[1], NFT (371234965035398873/SOL SURFERS 002-Bruce)[1], NFT (371241065836960060/GalaxyKoalas # 738)[1], NFT (372939937709251103/GalaxyKoalas # 393)[1], NFT
                                      (374742194524818035/SharkBro #8977)[1], NFT (376696322863507180/SOL SURFER 015 - ORANGUTAN MOONBABY)[1], NFT (378743445881262289/SOL SURFER 035 - NEW WAVE NICKY)[1],
                                      NFT (379510151374581703/SharkBro #5032)[1], NFT (380452906696930055/SharkBro #3070)[1], NFT (382136654593284846/ApexDucks #523)[1], NFT (383895479921470483/SOL SURFER 014 - SO
                                      PITTED PAULIE)[1], NFT (384650220149979902/DRIP NFT)[1], NFT (390637041086353005/Toasty Turts #2086)[1], NFT (390789722756917830/SharkBro #2930)[1], NFT
                                      (391301923711486077/Momentum #305)[1], NFT (392652905059611188/SharkBro #1213)[1], NFT (393537315024530088/Frog #1435)[1], NFT (400204391076316562/GalaxyKoalas # 527)[1], NFT
                                      (404267198908128879/SharkBro #4392)[1], NFT (405177962994730008/SharkBro #4712)[1], NFT (406181189666227809/SOL SURFER 033 - GURGLE GURGLE GARY)[1], NFT
                                      (410769694976183443/SharkBro #9378)[1], NFT (415107641316636993/Panda Fraternity #938)[1], NFT (419426245599096851/Momentum #8)[1], NFT (423298010693702152/Space Bums #7705)[1],
                                      NFT (423619081327559908/Degen Trash Panda #12613)[1], NFT (425663074462654704/Red Panda #6201)[1], NFT (426510704095625934/SOL SURFER 034 - TREK TOP TONY)[1], NFT
                                      (427820279781675879/DOTB #1412)[1], NFT (430166512625062499/SharkBro #3586)[1], NFT (437960451307203170/Naked Meerkat #3253)[1], NFT (442609421055571555/ApexDucks #5993)[1], NFT
                                      (444100486621221165/SharkBro #3970)[1], NFT (450920121236017760/GalaxyKoalas # 7)[1], NFT (452838621958584079/DRIP NFT)[1], NFT (454624465314304798/SharkBro #1853)[1], NFT
                                      (454871726851362877/GalaxyKoalas # 9)[1], NFT (458762429133531969/Red Panda #7059)[1], NFT (459017727694980187/SharkBro #2322)[1], NFT (459841326787352342/SharkBro #3380)[1], NFT
                                      (461434562450986082/ApexDucks Halloween #2646)[1], NFT (466148720387088001/ApexDucks Halloween #501)[1], NFT (467093898397768713/GalaxyKoalas # 726)[1], NFT
                                      (469912678371845908/SOL SURFER 030 - BAMBORA BABCOCK)[1], NFT (472538599737716446/SharkBro #4311)[1], NFT (472963182569126647/GalaxyKoalas # 411)[1], NFT
                                      (473422839287443724/GalaxyKoalas # 88)[1], NFT (473541183638408819/SharkBro #2942)[1], NFT (482640287765914428/SharkBro #4167)[1], NFT (484908941244690678/Momentum #201)[1], NFT
                                      (487393450027072604/Degenerate Trash Can)[1], NFT (489405039716237880/GalaxyKoalas # 321)[1], NFT (491505037108089891/SOL SURFER 008 - KRISTOF KRUZ)[1], NFT
                                      (491997824173323198/SharkBro #5990)[1], NFT (492211664585816758/SOL SURFER 020- CAPTAIN CUTBACK)[1], NFT (495080027758440572/GalaxyKoalas # 356)[1], NFT
                                      (500556874630704165/Momentum #493)[1], NFT (510045573605541767/GalaxyKoalas # 710)[1], NFT (510804765598836043/Red Panda #9527)[1], NFT (515314746447768854/DRIP NFT)[1], NFT
                                      (517825807607540086/DRIP NFT)[1], NFT (519890294812981989/Golden bone pass)[1], NFT (520027536852987884/SharkBro #3688)[1], NFT (521021351658260767/SharkBro #8370)[1], NFT
                                      (521140627048275317/SharkBro #6557)[1], NFT (522550669210500880/GalaxyKoalas # 572)[1], NFT (525473225775033364/ApexDucks Halloween #2520)[1], NFT (525817300891331250/SharkBro
                                      #3204)[1], NFT (528674485746955779/Red Panda #1565)[1], NFT (529136352236951486/GalaxyKoalas # 856)[1], NFT (529207775617146817/SharkBro #3307)[1], NFT (533396048337612618/Toasty
                                      Turts #2816)[1], NFT (534536062752682828/DRIP NFT)[1], NFT (534563588635631751/GalaxyKoalas # 111)[1], NFT (535033535747083146/GalaxyKoalas # 257)[1], NFT
                                      (541624254791902534/GalaxyKoalas # 979)[1], NFT (549597278341885049/GalaxyKoalas # 385)[1], NFT (554049887331675720/Degen Trash Panda Merch Token)[1], NFT (562385498405821604/3D
                                      CATPUNK #6487)[1], NFT (563604395914859704/SharkBro #4658)[1], NFT (570205302649701433/GalaxyKoalas # 913)[1], NFT (574040096761486297/SharkBro #3940)[1], NFT
                                      (576435628580975436/Degen Trash Panda #9472)[1], PAXG[.00048301], SHIB[34572.1826595], SOL[.22007303], SUSHI[1.13751065], TRX[162.99473882], USD[0.00]


08035299                              USD[0.00]                                                                                                                                                                                Yes

08035314                              BTC[.00007858], CUSDT[2], DOGE[19.63034639], ETH[.00116043], ETHW[.00114675], NFT (528761307606387057/SolBunnies #1081)[1], SHIB[300614.48691172], SOL[.19871145], USD[0.00]             Yes

08035316                              CUSDT[1], MATIC[.00004525], SHIB[1], USD[52.15]

08035325                              BRZ[1], CUSDT[1], SHIB[2], TRX[3], USD[0.00]                                                                                                                                             Yes

08035326                              CUSDT[1], SHIB[9979451.75355434], USD[0.00]                                                                                                                                              Yes

08035327                              CUSDT[1], DOGE[1], SHIB[11991612.53694849], USD[0.10]                                                                                                                                    Yes

08035333                              SHIB[1], USD[0.01]                                                                                                                                                                       Yes

08035336                              BAT[1], BRZ[3], CUSDT[5], DOGE[9.00057537], ETHW[1.73531943], SHIB[28], TRX[9], USD[5064.34]                                                                                             Yes

08035338                              ETH[0], SHIB[1578756.62704529], TRX[1], USD[0.00]                                                                                                                                        Yes

08035346                              DOGE[1], USD[0.01]                                                                                                                                                                       Yes

08035350                              CUSDT[1], MATIC[5.86763635], SHIB[97593.60879526], SOL[.02202973], TRX[40.44220959], USD[0.00]                                                                                           Yes

08035356                              CUSDT[2], KSHIB[797.67716078], USD[54.28]                                                                                                                                                Yes

08035357       Contingent, Disputed   BRZ[1], CUSDT[6], DOGE[1], ETHW[.19505718], SHIB[3], TRX[3], USD[0.00]                                                                                                                   Yes

08035363                              CUSDT[2], DOGE[575.82518354], SHIB[2], USD[0.17]                                                                                                                                         Yes

08035364                              BTC[0.00000065], ETH[0], ETHW[0], GRT[2], MATIC[0], NFT (322146276739094258/The 2974 Collection #0692)[1], NFT (477839687797457827/Birthday Cake #0692)[1], NFT                          Yes
                                      (485314119115293711/Birthday Cake #1620)[1], SHIB[40.26928978], SOL[0], TRX[2], USD[0.00], USDT[0]
08035376                              CUSDT[1], LINK[.59526917], USD[0.00]

08035380                              BTC[0], ETH[0], MATIC[0], SOL[0]

08035383                              CUSDT[3], DOGE[2], KSHIB[.0000487], TRX[341.8246583], USD[0.00]                                                                                                                          Yes

08035386                              SOL[0.21646499], USD[0.00]                                                                                                                                                               Yes

08035399                              LTC[1.90921004], TRX[1], USD[0.01]

08035404                              CUSDT[2], SHIB[8916776.95520117], USD[0.00]                                                                                                                                              Yes

08035406                              BTC[.00441486], CUSDT[8], DOGE[1], SHIB[3713317.3174448], TRX[1], USD[0.00]                                                                                                              Yes

08035411                              CUSDT[7], DOGE[318.57167476], GRT[223.61997619], KSHIB[1057.22460779], LINK[3.07515785], SHIB[16527854.45208413], USD[0.00]                                                              Yes

08035414                              USD[0.00]                                                                                                                                                                                Yes

08035415                              ETH[.010982], ETHW[.010982], USD[4.23]

08035416                              BTC[.00048428], CUSDT[15], TRX[4], USD[0.00]

08035420                              BRZ[1], CUSDT[4], DOGE[2], ETH[.22030519], ETHW[.22008811], SOL[.00007356], TRX[4], USD[0.00]                                                                                            Yes
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                                                                                                                                            Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08035421                              CUSDT[2], SHIB[996380.25239907], USD[0.00]                                                                                                                                        Yes

08035425                              USD[0.97]

08035427                              DOGE[1], TRX[3837.58129542]                                                                                                                                                       Yes

08035429                              TRX[.00000001], USD[23.14]                                                                                                                                                        Yes

08035432                              ALGO[0], BAT[0], ETH[0], ETHW[0], LINK[0], MATIC[0], USD[0.00]                                                                                                                    Yes

08035438                              DOGE[1], SHIB[1570517.213718], USD[0.00]                                                                                                                                          Yes

08035456                              BF_POINT[100], ETH[0], LINK[0.00024722], MATIC[0.00519279], NFT (362348875565107949/Mad Lions Remastered #4)[1], NFT (403997815613736824/Mad Lions Series #64)[1], NFT            Yes
                                      (520771371085403680/Pop Art #13)[1], NFT (533125991208507224/Ascension)[1], NFT (572261869672446431/Gold Series #1 of 10)[1], SHIB[4], TRX[2], USD[0.00]
08035458                              ETHW[.517], USD[3.01]

08035459                              TRX[2360.637], USD[1.03]

08035460                              CUSDT[2], DOGE[109.11627961], TRX[186.57485691], USD[0.01]

08035461                              ETH[.10747327], ETHW[.10747327], SHIB[2520.47392253], USD[0.00]

08035465                              BCH[.00158429], LTC[0], SHIB[47222466.92088059], USD[0.48]

08035467                              CUSDT[1], DOGE[1], TRX[.000001], USDT[0.00006398]

08035468                              BTC[.0000847], USD[0.00], USDT[.5018462]

08035471                              TRX[37.22243998], USD[0.16]                                                                                                                                                       Yes

08035473                              ETH[0], SOL[0], USD[1.68]

08035475                              GRT[10.89818167], TRX[1], USD[0.00]                                                                                                                                               Yes

08035481                              USD[0.00]

08035485                              BTC[.00176265], CUSDT[1], NFT (291384705639954798/Bunny Bird)[1], NFT (295714010665546336/Galaxy Bear)[1], NFT (444977895530905124/LGBT Vox)[1], NFT (463242342505137666/Galaxy   Yes
                                      Owl )[1], NFT (477504723918802254/Galaxy Gorilla)[1], NFT (543215444769159869/Galaxy Fox)[1], USD[16.84]
08035497                              SHIB[157098.62556909], USD[10.85]                                                                                                                                                 Yes

08035499       Contingent, Disputed   BF_POINT[300], LTC[.00009736], MATIC[0], SHIB[1.00000001], SOL[.00000001], USD[0.00]                                                                                              Yes

08035500                              USD[0.00]

08035501                              DOGE[118.9557853], KSHIB[447.92461051], SHIB[320525.12800513], USD[16.23]                                                                                                         Yes

08035503                              CUSDT[1], USD[0.00], USDT[1]

08035512                              CUSDT[4482.40115719], KSHIB[2606.43032425], SHIB[4732607.66682442], TRX[1], USD[100.01]

08035519                              NFT (549457560511244232/FTX - Off The Grid Miami #1244)[1]

08035522                              CUSDT[1], USD[0.00]

08035524                              DOGE[1], SHIB[1], TRX[1], USD[0.00]                                                                                                                                               Yes

08035527                              CUSDT[1], SHIB[4865952.07994776], TRX[2], USD[0.01]

08035530                              USD[5.00]

08035536                              USD[100.00]

08035544                              CUSDT[1], ETH[.00488641], ETHW[.00483169], SOL[.09551977], USD[0.00]                                                                                                              Yes

08035550                              DOGE[1], SHIB[1712035.61034069], USD[0.00]

08035554                              NFT (456578692954687111/Coachella x FTX Weekend 1 #27853)[1], SOL[2.13735005], TRX[1], USD[0.00]                                                                                  Yes

08035563                              BTC[.0015896], ETH[.02669571], ETHW[.02669571], SHIB[2], USD[0.00]

08035564                              USD[0.23]                                                                                                                                                                         Yes

08035569                              ETHW[.62518232], USD[1.40], USDT[1.01265471]                                                                                                                                      Yes

08035574                              DOGE[0], ETH[0], NFT (353403681169176838/University of Michigan)[1], SHIB[0], USD[2000.77]                                                                                        Yes

08035580                              BRZ[2], CUSDT[2], DOGE[3], MATIC[1258.55072515], NFT (368148771051551828/ApexDucks #1079)[1], SOL[.00007264], USD[0.00], USDT[1.07274291]                                         Yes

08035587                              CUSDT[1], SHIB[4515352.1974714], USD[0.00]

08035594                              CUSDT[2], ETHW[.02499145], SHIB[1], TRX[1], USD[67.41]

08035599                              CUSDT[1], NFT (491287604767072260/David #127)[1], TRX[2], USD[0.00]

08035601                              BRZ[3], DOGE[4], GRT[2], SHIB[9], TRX[3], USD[0.00], USDT[0]                                                                                                                      Yes

08035603                              SOL[.00000001]

08035607                              BTC[.00000042], MATIC[.01334613], SOL[20.9959049], USD[0.00]                                                                                                                      Yes

08035611                              BAT[1.01169337], CUSDT[3], DOGE[1], LTC[73.19981475], TRX[2], USD[1.95]                                                                                                           Yes

08035614                              USD[0.00]

08035630                              USD[0.01]                                                                                                                                                                         Yes

08035635       Contingent, Disputed   BTC[.00016823], ETH[.00125448], ETHW[.00124079], USD[0.00]                                                                                                                        Yes

08035636                              CUSDT[4922.73834761], LINK[21.08336714], SHIB[2149348.31484937], TRX[1], USD[0.00]                                                                                                Yes

08035641                              DOGE[1], SHIB[7305669.19929865], USD[0.01]

08035643                              BTC[.00002717], ETH[.00065], ETHW[.34965], SOL[.75], USD[1.99]

08035653                              SOL[0], USD[0.00]

08035657                              DAI[526.0597143]                                                                                                                                                                  Yes

08035659                              NFT (332648655018850275/2974 Floyd Norman - OKC 5-0171)[1], NFT (427124831923313102/Birthday Cake #2476)[1], NFT (547011092899283241/The 2974 Collection #2476)[1], USDT[0]

08035660                              BAT[133.95], DOGE[102], GRT[31], SUSHI[4.96], USD[0.02], USDT[0.00714000]

08035669                              ETHW[.03159895], USD[0.00]

08035688                              USD[107.68]                                                                                                                                                                       Yes
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                                                                                                                                         Customer Claims                                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08035689                           USD[4.75]

08035692                           BTC[0.00300975], CUSDT[8], DOGE[50.3720107], ETH[.01139563], ETHW[.01125883], LINK[1.07115344], MATIC[8.61637278], PAXG[.00593072], SHIB[206846.36861703], SOL[.2155064], USD[0.00] Yes

08035702                           SHIB[2599600], USD[10.38]

08035709                           BTC[.00030527], CUSDT[2], MATIC[10.39878584], USD[0.00]                                                                                                                                           Yes

08035711                           SHIB[2], SOL[.41626452], TRX[1], USD[0.00]

08035716                           USD[0.24]

08035717                           SHIB[3], USD[0.01]                                                                                                                                                                                Yes

08035728                           BTC[.00001578], DOGE[3.64427427], SOL[.03538783], USD[0.67]                                                                                                                                       Yes

08035734                           BTC[.02384012], ETH[0], NFT (406751288283715472/Humpty Dumpty #601)[1], USD[0.00]

08035738                           TRX[2], USD[0.00]                                                                                                                                                                                 Yes

08035741                           SHIB[2200000], USD[2.28]

08035744                           USD[10.85]                                                                                                                                                                                        Yes

08035747                           USD[10.00]

08035749                           DOGE[1], ETH[.01738215], ETHW[.01716327], MATIC[34.00964293], SHIB[4], SOL[.21049008], TRX[179.15592826], USD[0.07]                                                                               Yes

08035761                           ETH[.02438984], ETHW[.02408888], SOL[1.06726545], TRX[2], USD[1.57]                                                                                                                               Yes

08035762                           USD[0.00], USDT[0]

08035764                           USD[0.00]

08035766                           USD[0.00]

08035769                           CUSDT[1], SHIB[802208.30475942], USD[5.40]                                                                                                                                                        Yes

08035773                           ETH[.00079353], ETHW[0.00079352], LTC[44.81], USD[0.22]

08035778                           USD[50.00]

08035779                           BAT[1], CUSDT[1], GRT[1], TRX[1], USD[0.01]                                                                                                                                                       Yes

08035781                           BRZ[1], CUSDT[5], DOGE[1], SHIB[21785477.5527185], USD[0.00]                                                                                                                                      Yes

08035788                           DOGE[1], LINK[14.52312267], TRX[2], USD[1.55]

08035789                           DOGE[1], MATIC[5.14873275], SOL[.046966], USD[0.00]                                                                                                                                               Yes

08035792                           BTC[.00000013], CUSDT[1], USD[0.01]                                                                                                                                                               Yes

08035799                           USD[0.00]                                                                                                                                                                                         Yes

08035800                           SOL[0]

08035801                           AAVE[0], BAT[0], BCH[0], BRZ[0], BTC[0], CUSDT[0], DAI[0], DOGE[0], ETH[0], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], MKR[0], PAXG[0], SHIB[0], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00],   Yes
                                   USDT[0.00000001], YFI[0]
08035802                           CUSDT[2], GRT[1.00283507], SOL[0.00002013], USD[0.00]                                                                                                                                             Yes

08035805                           ETH[.00227383], ETHW[.00224647], LTC[.03925373], USD[0.00]                                                                                                                                        Yes

08035806                           CUSDT[2], DOGE[1], TRX[1], USD[0.01]

08035814                           CUSDT[2], SHIB[4205214.46593776], SOL[1.45278425], TRX[1], USD[0.00], USDT[0.00000031]

08035817                           BCH[0], ETH[0], ETHW[0], LTC[0], PAXG[0], USD[0.01]                                                                                                                                               Yes

08035827                           AAVE[4.16972296], SHIB[1], USD[0.00]                                                                                                                                                              Yes

08035828                           CUSDT[1], LINK[1.53961198], SHIB[747980.85551899], USD[0.00]

08035831                           SHIB[190.32348771], TRX[0], USD[0.00]                                                                                                                                                             Yes

08035832                           USD[0.14]                                                                                                                                                                                         Yes

08035835                           USD[0.00]

08035837                           CUSDT[7], DOGE[1], SHIB[450619.86571923], TRX[2], USD[109.61]                                                                                                                                     Yes

08035838                           USD[9.98]

08035840                           USD[21.70]                                                                                                                                                                                        Yes

08035847                           USD[0.02]                                                                                                                                                                                         Yes

08035853                           SOL[4.12897622]                                                                                                                                                                                   Yes

08035855                           BTC[.04473928], ETH[0.67808483], ETHW[0.67808483], USD[732.21], USDT[0]

08035857                           SHIB[34386.83958003], USD[0.13], USDT[0]                                                                                                                                                          Yes

08035862                           CUSDT[1], MATIC[34.0226309], SHIB[3], USD[2.50]                                                                                                                                                   Yes

08035873                           USD[10.00]

08035874                           USD[1.09]                                                                                                                                                                                         Yes

08035875                           CUSDT[1], SHIB[1291462.90545673], TRX[2], USD[0.02]                                                                                                                                               Yes

08035879                           GRT[310.689], MKR[.12788], SOL[1.38], USD[1.21]

08035884                           USD[108.52]                                                                                                                                                                                       Yes

08035902                           ETH[.02220947], ETHW[.02220947], USD[100.00]

08035915                           CUSDT[3], DOGE[1], SOL[.85255142], TRX[1027.8835214], USD[0.00]                                                                                                                                   Yes

08035916                           CUSDT[3], USD[0.00]                                                                                                                                                                               Yes

08035920                           USD[107.89]                                                                                                                                                                                       Yes

08035929                           ETH[.03034186], ETHW[.02996431], SHIB[1], USD[0.00]                                                                                                                                               Yes

08035933                           BTC[.04745389]
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                                                                                                                                         Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08035934                           BTC[.17728798], CUSDT[1], TRX[1], USD[0.00]

08035946                           BTC[.00078733], CUSDT[5], DOGE[181.89357835], ETH[.01076467], ETHW[.01076467], KSHIB[368.81337689], SHIB[370480.14226437], USD[0.00]

08035948                           BAT[539.46847662], BF_POINT[200], BRZ[594.94443981], CUSDT[9855.41142019], DOGE[12916.0369614], GRT[252.71174228], NFT (333601664430996583/Earl Campbell's Playbook: Houston
                                   Oilers vs. Chicago Bears - November 16, 1980 #104)[1], NFT (488035876653631490/Marcus Allen's Playbook: Seattle Seahawks vs. Los Angeles Raiders - October 7, 1984 #27)[1],
                                   SHIB[4730829.98024626], TRX[3807.51877438], USD[0.00]
08035950                           CUSDT[1], SOL[.1946924], USD[0.01]

08035952                           CUSDT[2], DOGE[3], ETH[0.09336747], ETHW[0.09336747], SOL[2.17461790], TRX[1], USD[0.02]

08035953                           AVAX[1], SOL[.00000001]

08035955                           CUSDT[1], SOL[1.00092959], USD[0.00]

08035956                           BRZ[1], CUSDT[2], USD[0.00]                                                                                                                                                                Yes

08035959                           NFT (307387351181776175/SolDad #3791)[1]

08035961                           USD[0.00]

08035963                           CUSDT[4], DOGE[198.11443865], SHIB[815585.09003376], USD[0.00]                                                                                                                             Yes

08035975                           BAT[781.083], BTC[.02876311], ETH[1.014887], ETHW[.726887], LINK[5.2586], SOL[10.20221], USD[18.03]

08035977                           BTC[.00042912], USD[0.00]

08035992                           BTC[.00000001], CUSDT[3], USD[0.00]                                                                                                                                                        Yes

08036000                           BTC[.00001588], USD[0.00]                                                                                                                                                                  Yes

08036006                           BTC[.00000006], SHIB[8], USD[0.00]                                                                                                                                                         Yes

08036017                           BTC[.00016244], ETH[.00118852], ETHW[.00117484], SHIB[111035.31752627], TRX[1], USD[0.00]                                                                                                  Yes

08036018                           CUSDT[3], SHIB[746871.1886118], SOL[.10812506], USD[25.00]

08036028                           USDT[0]

08036029                           BRZ[1], CUSDT[12], DOGE[2.00237933], SHIB[2], SOL[.00000304], TRX[3], USD[0.01]                                                                                                            Yes

08036035                           USD[0.22]

08036036                           NEAR[0], SOL[0], USD[0.00]

08036051                           BTC[.1050475], ETH[1.227561], ETHW[1.227561], USD[2026.69]

08036054                           BTC[.001]

08036055                           SHIB[1], USD[0.01]                                                                                                                                                                         Yes

08036058                           SHIB[3928581.4722133], SOL[.00044942], USD[0.00]                                                                                                                                           Yes

08036061                           BRZ[2], CUSDT[1], TRX[2], USD[0.01]                                                                                                                                                        Yes

08036064                           AVAX[.20108139], BAT[21.62555259], BRZ[73.3018835], CUSDT[710.2844177], GRT[42.71595482], SHIB[6], SOL[.10236849], TRX[254.16471338], USD[0.00]                                            Yes

08036066                           SHIB[402560.2766258], USD[0.04]                                                                                                                                                            Yes

08036074                           MATIC[113.76457679], NFT (339278201088926107/#1250)[1], NFT (392960244948235747/Geomendrian 338)[1], SOL[0.00000001], USD[0.01]                                                            Yes

08036076                           ETH[0], KSHIB[99.9], SHIB[99900], SOL[0], SUSHI[.4825], USD[0.78]

08036080                           USD[0.01]

08036082                           USD[0.00], USDT[0.00047424]

08036083                           SOL[.0000879], TRX[1], USD[0.08]                                                                                                                                                           Yes

08036084                           MATIC[10], SHIB[100000], SOL[.13], USD[0.94]

08036088                           AVAX[1.06775766], LINK[5.65478827], SHIB[1099197.69308691], SOL[1.49097236], USD[0.00]                                                                                                     Yes

08036099                           BTC[.00048954]

08036108                           SHIB[78690.83243998], USD[0.00]                                                                                                                                                            Yes

08036113                           USD[100.00]

08036114                           SOL[20.86785858]                                                                                                                                                                           Yes

08036117                           BRZ[4], BTC[.00000002], CUSDT[7], DOGE[1], SHIB[4679178.30844015], TRX[1], USD[0.00]                                                                                                       Yes

08036126                           BTC[.00087687], CUSDT[1], SOL[.23627508], TRX[1], USD[0.00]                                                                                                                                Yes

08036128                           SOL[12.26], USD[3.58]

08036134                           CUSDT[2], MATIC[25.59374076], SUSHI[9.13218376], USD[0.00]                                                                                                                                 Yes

08036143                           CUSDT[1], DOGE[1], SHIB[2226179.87533392], TRX[1], USD[0.00]

08036148                           CUSDT[1], SHIB[1493428.91278375], USD[0.00]

08036160                           CUSDT[3], PAXG[0.01561164], SOL[.00169747], USD[0.00]                                                                                                                                      Yes

08036167                           BRZ[2], BTC[.00312961], CUSDT[5], DOGE[1], TRX[1], USD[0.00]

08036172                           SHIB[28478297.0814613], USD[3.58], YFI[.013986]

08036173                           USD[0.00]                                                                                                                                                                                  Yes

08036182                           BAT[1], BRZ[1], CUSDT[2], DOGE[3], GRT[1], SOL[1.55054134], TRX[1], USD[0.00], USDT[1]

08036199                           BRZ[1], BTC[0], CUSDT[9], DOGE[2], ETH[.00000247], ETHW[.00000247], NFT (344627392798159553/Shannon Sharpe's Playbook: Denver Broncos vs. Los Angeles Raiders - January 9, 1994 #56)[1],   Yes
                                   NFT (363515988677488001/Shannon Sharpe's Playbook: Baltimore Ravens vs. Denver Broncos - December 31, 2000 #70)[1], NFT (500820295040250488/Shannon Sharpe's Playbook: Kansas City
                                   Chiefs vs Denver Broncos - October 4, 1992 #73)[1], NFT (564487260089398304/Shannon Sharpe's Playbook: Baltimore Ravens vs. Oakland Raiders - January 14, 2001 #86)[1], SOL[.00000001],
                                   USD[17.01]
08036204                           BAT[19.80198192], CUSDT[5], MATIC[13.12993854], SOL[.40008473], SUSHI[2.01606718], TRX[220.34801059], USD[0.00]

08036215                           BTC[.03], ETHW[.067932], SOL[.64935], USD[33.66]

08036217                           BTC[0], CUSDT[1], DOGE[1], LINK[0], LTC[0], SUSHI[0], USD[0.00]                                                                                                                            Yes

08036218                           BAT[.7771522], BRZ[5.91100895], CUSDT[45.76575253], DAI[.99455213], DOGE[3.63886682], GRT[2.96791852], MATIC[.50100902], SHIB[9294.44811791], USD[0.17], USDT[0]                           Yes
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                                                                                                                                             Customer Claims                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08036225                              DOGE[1], USD[0.00]                                                                                                                                                           Yes

08036233                              CUSDT[1], KSHIB[209.17802369], USD[0.00]                                                                                                                                     Yes

08036244                              SHIB[1030040.69679982], USD[0.00]                                                                                                                                            Yes

08036245                              DOGE[1], SHIB[1633625.59689395], USD[0.00]                                                                                                                                   Yes

08036250                              CUSDT[1], DOGE[19.81684911], USD[0.00]                                                                                                                                       Yes

08036254                              BRZ[1], DOGE[29.87366244], SHIB[1], SOL[.00038961], TRX[1], USD[0.00], USDT[42.42170777]                                                                                     Yes

08036255                              CUSDT[2], SHIB[735501.93807392], USD[1.01]

08036260                              CUSDT[1], USD[5.68]                                                                                                                                                          Yes

08036262                              SHIB[700000], USD[3.83]

08036267                              USD[0.00]

08036268                              BTC[.00012604], CUSDT[1], DOGE[28.76724506], GRT[5.47302876], USD[0.01]                                                                                                      Yes

08036271                              USD[108.52]                                                                                                                                                                  Yes

08036283                              BRZ[1], USD[140.82]                                                                                                                                                          Yes

08036284                              CUSDT[3], DOGE[99.63038323], ETH[.01141394], ETHW[.01141394], USD[0.00], USDT[24.86018359]

08036288                              BTC[.00015815], DOGE[38.85367009], ETH[.0023367], ETHW[.00230934], TRX[1], USD[0.00]                                                                                         Yes

08036289                              CUSDT[2], LTC[.11011001], SOL[.43272701], USD[0.01]

08036290                              BRZ[1], DOGE[1], SHIB[13], TRX[5], USD[278.36]

08036291                              CUSDT[1], SHIB[406936.20969563], USD[0.00]                                                                                                                                   Yes

08036293                              GRT[1.00173668], SHIB[9639105.17934728], USD[0.01]                                                                                                                           Yes

08036295                              BAT[1.01585017], CUSDT[1], SHIB[4160578.00744928], TRX[2604.0174013], USD[0.00]                                                                                              Yes

08036300                              BRZ[119.11433808], CUSDT[2], KSHIB[149.87268315], TRX[186.76779865], USD[0.00]                                                                                               Yes

08036305                              BTC[0.00010921], ETH[0.00137467], ETHW[0.00137467], USD[5.34]

08036317                              BRZ[1], NFT (379308600583965679/Barcelona Ticket Stub #1330)[1], NFT (574917804481186765/Bahrain Ticket Stub #1835)[1], SHIB[1], USD[0.00]                                   Yes

08036328                              BRZ[1], SOL[.94980871], USD[0.03]                                                                                                                                            Yes

08036331                              CUSDT[1], DOGE[183.69222998], SHIB[785299.19899481], TRX[1], USD[0.00]

08036342                              BAT[24.78654891], CUSDT[2], TRX[1], USD[0.00]

08036348                              DOGE[1.07037514], USD[0.00]                                                                                                                                                  Yes

08036358                              BRZ[66.57069645], BTC[.00122303], CUSDT[997.07597888], GRT[9.81145276], KSHIB[364.47757788], LINK[.67044766], MATIC[5.87775056], SHIB[1862509.9530331], TRX[218.27163058],   Yes
                                      USD[40.03], USDT[21.55146253]
08036359                              CUSDT[227.38969878], DOGE[16.11389849], SHIB[614880.09838081], USD[0.00]

08036360                              BAT[1], BCH[1.2720093], BRZ[147.97520343], BTC[.03784699], CUSDT[2463.87843411], DOGE[3], ETH[.0250925], ETHW[.02477786], GRT[45.12149754], SHIB[5856259.71128702],          Yes
                                      TRX[233.57267188], USD[0.18], USDT[53.89330955]
08036366                              CUSDT[3], SHIB[711072.77743088], SOL[.14669178], USD[0.00]                                                                                                                   Yes

08036367                              BTC[.00000001], DOGE[1], USD[0.01]                                                                                                                                           Yes

08036370                              DOGE[27.90509085], SHIB[1587.61102831], USD[0.00]

08036383                              USD[100.00]

08036385       Contingent, Disputed   CUSDT[1], DOGE[2], SHIB[4527300.58807239], TRX[1], USD[0.00]

08036403                              USD[22.00]

08036405                              ETH[.00117668], ETHW[.001163], SOL[.06600894], USD[0.00]                                                                                                                     Yes

08036413                              CUSDT[1], DOGE[70.18407534], SHIB[428082.19176164], USD[0.00]

08036423                              CUSDT[1], DOGE[2], ETH[.02223964], ETHW[.02223964], KSHIB[3100.34499088], SOL[.41996096], USD[0.00]

08036426                              USD[3.17]                                                                                                                                                                    Yes

08036431                              BTC[.00000001], SHIB[17.3680137], USD[0.05]                                                                                                                                  Yes

08036447                              USD[5.43]                                                                                                                                                                    Yes

08036450                              MATIC[33.52821455], SHIB[750581.06189732], SOL[2.21905079], USD[5.02]                                                                                                        Yes

08036458                              SHIB[88358.39404743], USD[0.00]

08036462                              CUSDT[2], SHIB[1664995.8913906], SOL[.15144816], TRX[1], USD[0.00]

08036471                              SHIB[700000], USD[15.66]

08036472                              DOGE[1], LINK[1.66729936], SOL[.23474523], TRX[1], USD[0.00]                                                                                                                 Yes

08036473                              CUSDT[49.76441912], KSHIB[509.72159006], SHIB[4859611.42247328], TRX[1], USD[0.52]                                                                                           Yes

08036474                              CUSDT[1], ETH[.11073175], ETHW[.10963198], USD[0.84]                                                                                                                         Yes

08036475                              BTC[.00016593], USD[0.00]                                                                                                                                                    Yes

08036489                              CUSDT[1], USD[0.00]                                                                                                                                                          Yes

08036503                              DOGE[3], ETH[.33798948], ETHW[.3379833], SHIB[4225834.71916644], SOL[2.13847034], USD[0.02]                                                                                  Yes

08036511                              SHIB[2278423.33105491], TRX[1], USD[0.00]

08036512                              SHIB[4721370.77634648], SOL[4.81803881], USD[0.45]                                                                                                                           Yes

08036514                              BTC[.00003528], SHIB[1], USD[0.00]                                                                                                                                           Yes

08036521                              AVAX[0.44291074], USD[0.00]

08036523                              BF_POINT[200], BRZ[2], CUSDT[3], DOGE[1799.96975998], TRX[1.03604087], USD[0.00]                                                                                             Yes

08036524                              AAVE[.29072955], DOGE[0], ETH[0.00192673], ETHW[0.00189937], SHIB[996518251.07466410], SOL[1.47367723], USD[0.00]                                                            Yes
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                                                                                                                                            Customer Claims                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08036532                              BAT[0], BTC[0], SHIB[0], SOL[0], TRX[0], USD[0.00]                                                                                                                          Yes

08036533                              CUSDT[1], ETH[.00233263], ETHW[.00230527], MATIC[.9682085], SHIB[15006.00240096], SOL[.04416383], TRX[20.37065868], USD[0.00]                                               Yes

08036550                              BRZ[1], CUSDT[1], ETH[.00000024], ETHW[.00000024], USD[0.01]                                                                                                                Yes

08036553                              BAT[1], BTC[.02988018], USD[0.00]                                                                                                                                           Yes

08036559                              BTC[.00000001], CUSDT[2], DAI[.0002752], DOGE[1], USD[1.37], USDT[0]                                                                                                        Yes

08036562                              ETH[.00000442], ETHW[.00000442], GRT[1], SOL[.00002742], USD[0.01]                                                                                                          Yes

08036565                              ETHW[.168206], USD[913.40]

08036566                              DOGE[0], KSHIB[0], USD[0.01]                                                                                                                                                Yes

08036568                              CUSDT[4], USD[0.01]                                                                                                                                                         Yes

08036571                              BTC[.00884497], CUSDT[2], DOGE[1], LINK[1.55636018], SOL[1.93537583], USD[0.22]                                                                                             Yes

08036572                              SOL[2.19], USD[2.27]

08036580                              ETH[.11789419], ETHW[.11675403], TRX[1], USD[0.01]                                                                                                                          Yes

08036582                              AVAX[.67445184], BRZ[1], BTC[.00131222], DOGE[1], ETH[.01882021], ETHW[.01882021], SHIB[2], SOL[.57422078], USD[0.01]

08036590                              USD[0.01]

08036592                              ETH[.08567872], ETHW[.08464877], USD[0.00]                                                                                                                                  Yes

08036595                              USD[539.32]                                                                                                                                                                 Yes

08036603                              USD[0.67]                                                                                                                                                                   Yes

08036605                              USD[0.30]

08036606                              USD[0.00]

08036607                              CUSDT[4], USD[0.01]                                                                                                                                                         Yes

08036608                              DOGE[1], SHIB[58316156.89795606], USD[0.02]                                                                                                                                 Yes

08036611                              USD[0.00]

08036623                              SOL[5.99506], USD[0.26]

08036637                              BTC[0.00002760], ETH[.00062963], ETHW[.00062963], USD[0.00], USDT[0]

08036644                              BRZ[1], DOGE[353.47449744], NFT (543148155566957168/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #78)[1], SOL[0], USD[67.50]

08036650                              SHIB[.01794203], USD[0.00]

08036657                              BTC[.0634], SOL[88.73], USD[-999.93]

08036659                              USD[4.68]

08036664                              AAVE[.00308678], CUSDT[2], DAI[4.97203671], DOGE[36.33855087], ETH[.00216007], ETHW[.00216007], LINK[.03070885], MATIC[.47178836], MKR[.00336797], SHIB[243238.05503853],
                                      SOL[.02168095], SUSHI[.07783557], USD[0.01], USDT[9.94208615]
08036668                              USD[25.00]

08036669                              SOL[0], USD[0.20]

08036673                              SHIB[6993000], USD[176.02]

08036682                              USD[0.00]

08036688       Contingent, Disputed   USD[0.00]

08036692                              CUSDT[1], SHIB[1847683.64879337], USD[0.00]                                                                                                                                 Yes

08036693                              USD[0.00]                                                                                                                                                                   Yes

08036695                              CUSDT[3], SHIB[1], USD[0.00]

08036697                              DOGE[1], SHIB[2459393.93394845], USD[0.00]                                                                                                                                  Yes

08036698                              USD[0.00]

08036724                              BAT[39.22026293], CUSDT[4], DOGE[2], ETH[.00306034], ETHW[.00301927], SOL[2.17244643], TRX[3.38086923], USD[0.00]                                                           Yes

08036727                              SHIB[387663.03674262], USD[0.00]                                                                                                                                            Yes

08036737                              AAVE[.06736501], BTC[.00039366], CUSDT[4], ETH[.00465679], ETHW[.00460207], SOL[.13358751], USD[0.01]                                                                       Yes

08036741                              USD[200.23], USDT[0]                                                                                                                                                        Yes

08036742                              USD[0.01]

08036744                              SOL[.00367156], USD[490.65]

08036749                              BCH[.00135778], ETH[.00642654], ETHW[.00634446], LINK[5.00049895]                                                                                                           Yes

08036752                              BTC[.01698178], TRX[2], USD[0.00]

08036753                              CUSDT[2], NFT (393907685448377234/Cadet 181)[1], SOL[4.16305306], USD[0.00]                                                                                                 Yes

08036765                              BRZ[27.54273441], CUSDT[100.64891681], DOGE[.00011577], KSHIB[85.63113508], SHIB[227065.58457252], USD[2.76]                                                                Yes

08036771                              ETH[.0002168], ETHW[.0002168], KSHIB[34.33465784], SHIB[34928.71887512], USD[0.00]                                                                                          Yes

08036772                              TRX[1], USD[0.00]                                                                                                                                                           Yes

08036777                              BTC[.02634952], ETH[.36713135], ETHW[.36697725], SOL[1.07433963], USD[10.19]                                                                                                Yes

08036778                              DOGE[1], SHIB[483560.87118819], USD[0.00]                                                                                                                                   Yes

08036794                              USD[0.00]                                                                                                                                                                   Yes

08036795                              BTC[.00000341], ETH[0], MATIC[0], SHIB[4743.80583379], SOL[0], USD[0.00]                                                                                                    Yes

08036798                              CUSDT[1], ETH[.01176144], ETHW[.01161096], USD[0.01]                                                                                                                        Yes

08036801                              BTC[.00006347]

08036810                              BAT[0.00462019], BRZ[.86358298], DOGE[1.00001506], TRX[1.75], USD[0.00], USDT[4.12174216]                                                                                   Yes
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                                                                                                                                          Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08036811                           ETH[.03735697], SOL[8.96317151], TRX[1], USD[0.00]                                                                                                                                       Yes

08036816                           USD[541.51], USDT[.99428125]                                                                                                                                                             Yes

08036817                           TRX[147.27113982]                                                                                                                                                                        Yes

08036818                           CUSDT[1], USD[0.00]

08036828                           ETHW[.8149686], GRT[1], TRX[2], USD[0.00], USDT[1.00417309]                                                                                                                              Yes

08036832                           BRZ[2], CUSDT[13], DOGE[3], NFT (419864741314221157/Fancy Frenchies #8858)[1], SOL[3.2819778], TRX[3], USD[0.00], USDT[0]                                                                Yes

08036836                           USD[1.20]

08036838                           CUSDT[1], MATIC[233.8051617], SHIB[1], SOL[2.62610743], TRX[6554.11267362], USD[0.00], USDT[0.00000134]                                                                                  Yes

08036841                           USD[10.00]

08036848                           SHIB[698700], USD[0.65]

08036849                           USD[0.00], USDT[0.00000096]

08036859                           DOGE[10741.09194463], LINK[157.21532435], SOL[192.25677091]                                                                                                                              Yes

08036861                           BTC[.00015964], DOGE[46.4713926], SHIB[2011138.63073493], USD[0.00]

08036867                           USD[1.90]

08036875                           ETH[.02515326], ETHW[.02515326]

08036877                           USD[2.88]

08036890                           USD[1000.00]

08036895                           SHIB[1096938.13240119], TRX[1], USD[217.14]                                                                                                                                              Yes

08036897                           USD[10.57]                                                                                                                                                                               Yes

08036905                           NFT (290345142044715967/Natives Tribute)[1], SOL[.994]

08036914                           BF_POINT[300], BRZ[1], CUSDT[4], DOGE[2], LINK[0], SHIB[15203.87840097], TRX[4], USD[1.02], USDT[1]

08036922                           USD[0.00]                                                                                                                                                                                Yes

08036923                           BRZ[1], USDT[0]                                                                                                                                                                          Yes

08036924                           SOL[.00033752]                                                                                                                                                                           Yes

08036925                           BTC[.00359082], CUSDT[1], USD[324.66]                                                                                                                                                    Yes

08036933                           CUSDT[1], DOGE[1], SOL[0]                                                                                                                                                                Yes

08036936                           BTC[.00485944], USD[0.00], USDT[0.00411933]

08036938                           BAT[2], DOGE[5], GRT[1], LINK[1], TRX[2], UNI[1], USD[50.00], USDT[2]

08036946                           CUSDT[1], LINK[.00008182], TRX[3], USD[0.00]                                                                                                                                             Yes

08036947                           USD[0.01]                                                                                                                                                                                Yes

08036954                           GRT[1], SHIB[39362330.24995079], USD[0.00]

08036955                           CUSDT[0], NFT (347448784028748158/AI-generated landscape #128)[1], NFT (369987328971470785/AI-generated landscape #157)[1], NFT (373622250791649320/AI-generated landscape #152)[1],     Yes
                                   NFT (383977202380006125/AI-generated landscape #158)[1], NFT (441227702442496933/Astro Stones #60)[1], NFT (574321108443418484/Astro Stones #61)[1], SHIB[3721189.45072678], USD[0.00]

08036958                           ETH[.54232639], ETHW[.54232639], SOL[10.85616673], USD[0.00]

08036960                           NFT (339865193182013818/Microphone #8020)[1], NFT (427346090333921430/Imola Ticket Stub #354)[1], SOL[0], USD[0.00], USDT[0.00000176]

08036964                           CUSDT[1], USD[0.00]                                                                                                                                                                      Yes

08036969                           CUSDT[2], DOGE[2], SHIB[3], TRX[2], USD[44.47]                                                                                                                                           Yes

08036973                           BF_POINT[100]

08036975                           USD[0.01]

08036979                           BTC[.00000109], DOGE[6], ETH[.00000935], ETHW[10.80608776], LINK[56.46780297], MATIC[.00319983], NEAR[.00020457], SHIB[58], SOL[.00007412], USD[0.00]                                    Yes

08036981                           CUSDT[2], ETH[.00000009], ETHW[.00000009], SOL[0], TRX[1], USD[0.00]                                                                                                                     Yes

08036982                           BTC[.00088521], CUSDT[3], ETH[.04639141], ETHW[.04581685], SHIB[425.35952544], SOL[1.07848227], USD[0.00]                                                                                Yes

08036986                           USD[108.52]                                                                                                                                                                              Yes

08036989                           ETHW[1.21547057]                                                                                                                                                                         Yes

08036991                           CUSDT[3], SHIB[327313.37883322], SOL[2.17729786], USD[0.00]                                                                                                                              Yes

08036994                           SHIB[4191269.98742737], USD[3.61]                                                                                                                                                        Yes

08036995                           USD[0.25]

08037000                           CUSDT[1], MATIC[104.83094964], USD[0.00]                                                                                                                                                 Yes

08037005                           SOL[2.38443211], TRX[1], USD[0.00]                                                                                                                                                       Yes

08037015                           NFT (439244270847341532/FTX - Off The Grid Miami #6150)[1], USD[10480.49]                                                                                                                Yes

08037017                           CUSDT[2], USD[0.00]                                                                                                                                                                      Yes

08037019                           BRZ[70.53066246], KSHIB[425.38058801], NFT (333069351596584636/Mountain Series #6)[1], NFT (356021126570990546/A planet inside an asteroid)[1], NFT (362435500633854665/Ape
                                   MAN#167)[1], NFT (406977617198108864/ApexDucks #7673)[1], NFT (412445733778066652/Entrance Voucher #1179)[1], NFT (427688627867211482/Lutetia Exa Planet )[1], NFT
                                   (460499382892600287/#2841)[1], NFT (468851098235381780/Highlands #4)[1], NFT (536855006178026309/#3042)[1], SHIB[425171.06802721], SOL[.10685885], USD[0.51]
08037030                           USD[0.16]

08037038                           DOGE[2], SOL[6.46110981], USD[0.00]                                                                                                                                                      Yes

08037043                           USD[0.00]

08037050                           SOL[1]

08037051                           BTC[0.00410372], ETH[0], USD[-10.90], USDT[0.00000001]
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                                                                                                                                            Customer Claims                                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08037056                              MATIC[24.51320286], NFT (382469995643355591/Warriors 75th Anniversary Icon Edition Diamond #204)[1], NFT (463015999966818753/Warriors 75th Anniversary Icon Edition Diamond #149)[1], NFT
                                      (500958695986106630/Warriors Gold Blooded NFT #582)[1], NFT (520540020160090424/Warriors 75th Anniversary Icon Edition Diamond #910)[1], NFT (541568142214117046/Warriors 75th
                                      Anniversary Icon Edition Diamond #40)[1], NFT (549766311699962074/Warriors 75th Anniversary Icon Edition Diamond #139)[1], NFT (555330283655452769/Warriors 75th Anniversary Icon Edition
                                      Diamond #52)[1], USD[0.00]
08037060                              USD[0.00]

08037063                              USD[0.60]

08037066                              NFT (350853737599647036/Coachella x FTX Weekend 1 #2784)[1]

08037070                              BRZ[2], DOGE[2], SHIB[2], USD[51.25]                                                                                                                                                        Yes

08037071                              NFT (435757857628296339/Coachella x FTX Weekend 1 #11029)[1]

08037078                              BTC[0], ETH[0], ETHW[0], LTC[0], USD[0.00], USDT[0]

08037082                              BTC[0], ETH[0], SOL[0.00000009], USD[0.00], USDT[0], YFI[0]                                                                                                                                 Yes

08037096                              BRZ[89.90263784], CUSDT[989.1332962], DOGE[657.45704888], KSHIB[2854.94872888], SHIB[4185959.77155884], TRX[912.95869068], USD[102.50]                                                      Yes

08037119                              BTC[.00103002], CUSDT[4], DOGE[76.06777761], ETH[.12348013], ETHW[.10372916], LTC[.28949101], SHIB[520986.44137876], SOL[.11834702], SUSHI[17.37695714], TRX[247.25334273],                 Yes
                                      USD[0.02]
08037127                              DOGE[1], TRX[2], USD[0.00]                                                                                                                                                                  Yes

08037138                              USD[0.29]                                                                                                                                                                                   Yes

08037145                              BAT[1], BRZ[1.604], CUSDT[6.974], DOGE[3], GRT[1], MATIC[.00004159], TRX[3], USD[0.80]                                                                                                      Yes

08037149                              BRZ[1], CUSDT[6], DOGE[3], ETH[0.09822840], ETHW[0.09822840], SHIB[1541307.02836004], SOL[0], TRX[2], USD[0.00], USDT[1]

08037152                              BRZ[1], CUSDT[1], ETH[.5445325], ETHW[.40030759], LINK[37.58046627], SHIB[3], SOL[53.49962878], TRX[1], USD[497.45]                                                                         Yes

08037157                              BAT[1], BRZ[5], BTC[.00000017], DOGE[8.00057537], GRT[1], LINK[.00009188], SHIB[90469.55961884], USD[0.01], USDT[0.69913393]                                                                Yes

08037165                              USD[0.01]

08037167                              BTC[0], NFT (296207194394401288/Skully Boys #2042)[1], NFT (338952234902619626/Skully Boys #2098)[1], NFT (355886395519532408/ARTIFAKT #1287)[1], SOL[0.32935977], USD[0.00]

08037175                              USD[107.37]                                                                                                                                                                                 Yes

08037178                              AVAX[0], BTC[0], ETH[0], ETHW[0], MATIC[4.05779967], SOL[0], USD[18.15], YFI[0.00099959]

08037181                              USD[0.00], USDT[0]

08037182                              BRZ[1], BTC[0], ETH[0], ETHW[0], TRX[2], USD[0.12]                                                                                                                                          Yes

08037184       Contingent, Disputed   ETH[0], ETHW[0], SHIB[0], USD[0.00], USDT[0]                                                                                                                                                Yes

08037189                              BTC[0], USD[0.00], USDT[0]                                                                                                                                                                  Yes

08037192                              USD[97.45]

08037203                              SHIB[289481.8073602], USD[0.00]                                                                                                                                                             Yes

08037211                              NFT (329263237283595295/Coachella x FTX Weekend 1 #9901)[1]

08037212                              BTC[.0216783], ETHW[.024975], USD[148.60]

08037213                              ETH[0], ETHW[0], SHIB[5], SOL[0.00000001], TRX[4], USD[0.01], USDT[1.06382594]                                                                                                              Yes

08037217                              USD[0.01]

08037235                              BTC[0], SOL[0], USD[0.00]

08037237                              ETH[.00218943], ETHW[.00218943], UNI[182.8], USD[66.44]

08037241                              BAT[3.20914001], BTC[.00034584], CUSDT[2], DOGE[1.80399897], ETH[.00832101], ETHW[.00821169], GRT[3.13565757], KSHIB[.02868358], LINK[.03088455], LTC[.0415442], MATIC[2.57392976],         Yes
                                      MKR[.0007367], SHIB[51225.34720486], SOL[.04245157], SUSHI[.07857496], TRX[55.57102205], USD[0.00], USDT[2.15078025]
08037257                              BF_POINT[200], CUSDT[1], SOL[.14491927], USD[0.00]

08037258                              BTC[0], ETH[0], SOL[.00000001], USD[0.00]                                                                                                                                                   Yes

08037264                              DOGE[.00000001], USD[0.01]

08037272                              USD[54.27]                                                                                                                                                                                  Yes

08037273                              BTC[.00803273], USD[0.00]

08037275                              USD[0.00], USDT[0]                                                                                                                                                                          Yes

08037280                              ETH[.00000017], ETHW[0.00000016]                                                                                                                                                            Yes

08037291                              DOGE[1], SHIB[1869796.58919618], USD[0.10]                                                                                                                                                  Yes

08037293                              ETH[.00000685], ETHW[.00000685], USD[0.00], USDT[2.14485901]                                                                                                                                Yes

08037302                              CUSDT[1], KSHIB[149.69120948], SHIB[202855.05141129], SOL[.01116449], TRX[330.63701793], USD[0.00]                                                                                          Yes

08037304                              CUSDT[9852.52959418], USD[0.00]                                                                                                                                                             Yes

08037306                              CUSDT[2], SHIB[1], SOL[.00009569], USD[15.29]                                                                                                                                               Yes

08037310                              SHIB[327933.65287317], USD[0.00]                                                                                                                                                            Yes

08037316                              CUSDT[1], USD[0.01]

08037320                              TRX[100.40242668], USD[0.00]                                                                                                                                                                Yes

08037333                              USD[0.01]

08037344       Contingent, Disputed   AVAX[0], BCH[0], BTC[0.00006795], ETH[0], LINK[0], LTC[0], SOL[0], SUSHI[0], UNI[0], USD[-1.02], USDT[3.17679843], WBTC[0]

08037358                              CUSDT[1], DAI[0], DOGE[0], ETH[0], ETHW[0], SHIB[9.44357873], USD[0.00]                                                                                                                     Yes

08037367                              CUSDT[3], SHIB[492312.74960224], TRX[254.43732034], USD[0.02]                                                                                                                               Yes

08037369                              USD[0.42]

08037377                              CUSDT[2], USD[0.01]                                                                                                                                                                         Yes

08037380                              USD[0.00]

08037381                              SHIB[1498500], USD[1.56]
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                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08037386                              BTC[0.00034866], CUSDT[1], USD[0.00]                                                                                                                                                Yes

08037387                              USD[54.27]                                                                                                                                                                          Yes

08037395                              SHIB[2], USD[0.00]

08037404                              DOGE[1], USDT[0.00000001]

08037410       Contingent, Disputed   BTC[0.00000014], ETH[.00000001], SOL[.00070275], USD[0.00]                                                                                                                          Yes

08037411                              GRT[2001], USD[23.91]

08037415                              SOL[.099], USD[19.07]

08037421                              SHIB[299700], SOL[.03996], USD[14.31]

08037426                              USD[50.01]

08037427                              MATIC[1708.29], SOL[19.98], USD[5517.20]

08037428                              BRZ[1], CUSDT[3], USD[0.01]                                                                                                                                                         Yes

08037442                              USD[0.23]

08037448                              USD[1.08]                                                                                                                                                                           Yes

08037452                              USD[0.00]                                                                                                                                                                           Yes

08037458                              SOL[16.8160785]                                                                                                                                                                     Yes

08037468                              BF_POINT[300]

08037479                              ALGO[.00000001], USD[0.00]

08037483                              BTC[0], ETHW[4.600395], SOL[0], USD[0.00]

08037484                              BRZ[1], BTC[.00349027], CUSDT[1], USD[0.00]                                                                                                                                         Yes

08037486                              BAT[1], BRZ[2], BTC[0], DOGE[8], GRT[1], SHIB[16], TRX[7], USD[0.00], USDT[1]

08037516                              CUSDT[7], USD[0.09]                                                                                                                                                                 Yes

08037521                              BRZ[1], CUSDT[4], USD[0.00], USDT[0]                                                                                                                                                Yes

08037525                              NFT (472358148222750025/Coachella x FTX Weekend 1 #3690)[1]

08037529                              USD[0.60]

08037545                              LINK[.00000001], USD[0.00]                                                                                                                                                          Yes

08037546                              USD[23.15]

08037547                              ETHW[1.33947845], USD[5709.25]                                                                                                                                                      Yes

08037559                              CUSDT[10], USD[0.00]                                                                                                                                                                Yes

08037564                              BAT[1.01574814], BRZ[1], CUSDT[11], DOGE[3298.58721298], ETH[2.47948741], ETHW[2.17191765], GRT[1], LINK[0], LTC[7.45507743], MATIC[0], SHIB[8444651.57401626], SOL[0], SUSHI[0],   Yes
                                      TRX[2], USD[0.00], USDT[1.0753324]
08037572                              USD[541.34]                                                                                                                                                                         Yes

08037578                              DOGE[1], ETH[.00000217], ETHW[.00000217], USD[0.00]                                                                                                                                 Yes

08037580                              SHIB[408883.88929336]                                                                                                                                                               Yes

08037582                              USD[200.45]

08037584                              BTC[0], CUSDT[2], DOGE[1], USD[0.00]

08037586                              BRZ[1], BTC[.06065295], CUSDT[3], DOGE[475.77457919], GRT[1], SHIB[46816696.09939867], SOL[2.11188882], USD[0.18], USDT[1.0832075]                                                  Yes

08037590                              SHIB[1500000], USD[1.06]

08037601                              USD[0.00], USDT[0]

08037605                              SHIB[1213172.29861516], USD[0.00]

08037610                              DOGE[2], MATIC[0], TRX[3], USD[0.00]

08037623                              MATIC[.90233273], NFT (575812979828810153/DESOLATEs #4823)[1], SOL[.00171928], USD[0.01]

08037633                              CUSDT[1], KSHIB[979.70271508], USD[0.01]

08037664                              BTC[0], CUSDT[5], TRX[1], USD[0.00]                                                                                                                                                 Yes

08037666                              USD[0.00]

08037671                              BTC[0.00001313]

08037678                              AVAX[7.9874047], BAT[1083.10772542], BCH[4.91184555], BRZ[7], BTC[.10092253], CUSDT[68.65020104], DOGE[1338.85163651], ETH[1.26855893], ETHW[12.50211179], LTC[20.93976338],
                                      MATIC[237.06824724], SHIB[11546657.51022481], SOL[53.37992544], TRX[6645.07237994], UNI[240.03611906], USD[50.14], USDT[.0696433]
08037694                              SHIB[1], SOL[.19759932], USD[0.04], USDT[0]                                                                                                                                         Yes

08037701                              BTC[.00039441], CUSDT[1], SOL[.09137628], TRX[1], USD[0.00]                                                                                                                         Yes

08037728                              SHIB[57780467.03818351], TRX[1], USD[0.26]                                                                                                                                          Yes

08037738                              CUSDT[1], SOL[.02260913], USD[0.00]                                                                                                                                                 Yes

08037760                              USD[542.58]                                                                                                                                                                         Yes

08037761                              DOGE[1], LTC[0], SHIB[0], SUSHI[0], TRX[1], USD[0.04]                                                                                                                               Yes

08037764                              USD[162.78]                                                                                                                                                                         Yes

08037772                              USD[0.00]

08037784                              CUSDT[3], LINK[1.1051298], MATIC[17.07249041], SUSHI[2.79185664], USD[0.00]                                                                                                         Yes

08037814                              USD[0.00]

08037841                              SOL[.00427186], USD[0.00]                                                                                                                                                           Yes

08037874                              USD[0.00]

08037886                              AVAX[.08032], BTC[.00000876], ETH[.0006704], ETHW[.000147], GRT[0], LINK[.04382], MATIC[.5934], SOL[0.00049800], UNI[0], USD[0.00], USDT[0]
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08037900                              SOL[.07992], USD[0.82]

08037920                              DOGE[1], SHIB[324506.01430217], USD[0.00]                                                                                                                                             Yes

08037922                              AAVE[.00835087], USD[0.00], USDT[.00923534]

08037964                              LTC[0], USD[0.00]

08037965                              USD[381.85]

08037967                              BTC[.00088081]                                                                                                                                                                        Yes

08037968                              BRZ[.18514987], CUSDT[4], LTC[0], USD[0.00]                                                                                                                                           Yes

08037969       Contingent, Disputed   USD[0.67]

08037971                              BRZ[.00250905], BTC[.00040013], CUSDT[4], MATIC[14.64748941], NFT (313147012574579669/Joe Theismann's Playbook: New York Giants vs. Washington - October 20, 1974 #46)[1], NFT        Yes
                                      (514783647345368899/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #112)[1], SHIB[1421366.34646851], TRX[1], USD[24.83]
08037972                              SHIB[98244.25871551], USD[0.00]                                                                                                                                                       Yes

08037979                              USD[10.00]

08037982                              CUSDT[36.39267619], DOGE[4], SHIB[38699965.90382635], SOL[.00012976], TRX[2], USD[12.08]                                                                                              Yes

08037984                              AAVE[0], ALGO[0], BRZ[1], BTC[0], ETH[0], ETHW[0], LTC[0], MATIC[24.49381037], SHIB[2885534.60068151], SOL[0.00000157], TRX[1351.80421753], USD[0.00]                                 Yes

08037986                              CUSDT[1], TRX[498.2300629], USD[0.00]                                                                                                                                                 Yes

08037989                              CUSDT[1], MATIC[0], TRX[0], USD[0.00]

08037997                              CUSDT[1], DOGE[3746.98168158], MATIC[48.91915188], SHIB[1], SOL[2.3508025], TRX[1], USD[0.03], USDT[1]

08037999                              CUSDT[1], ETH[.00540069], ETHW[.00540069], USD[25.00]

08038016                              SHIB[64200], USD[74.39]

08038034                              USD[21.69]                                                                                                                                                                            Yes

08038056                              USD[542.58]                                                                                                                                                                           Yes

08038058                              NFT (423260897663116773/Warriors 75th Anniversary Icon Edition Diamond #2054)[1]

08038064                              BTC[.00015858]

08038081                              CUSDT[2], TRX[1], USD[2.08]

08038110                              BRZ[1], CUSDT[6], DOGE[1], USD[0.00]                                                                                                                                                  Yes

08038119                              AVAX[.01380138], BRZ[1], ETH[0.01857196], ETHW[0.01833940], MATIC[.0018648], SHIB[7], USD[0.00]                                                                                       Yes

08038142                              BRZ[53.0171977], SHIB[322272.9385267]                                                                                                                                                 Yes

08038152                              USD[5.43]                                                                                                                                                                             Yes

08038155                              BAT[1.0151044], BF_POINT[300], BRZ[1], CUSDT[4], DOGE[3], ETH[.00000754], ETHW[.82547786], SOL[.00015619], TRX[5], USD[0.01]                                                          Yes

08038157                              CUSDT[2], USD[0.01]

08038159                              BTC[.0001], USD[3.73]

08038164                              SHIB[51691.79265318], USD[0.01]                                                                                                                                                       Yes

08038166                              BTC[.00021318], ETH[.07709142], ETHW[.07709142], MKR[.01173284], USD[0.00]

08038167                              AAVE[0.00000049], ALGO[0.00018350], AVAX[.00000101], BAT[0], BCH[.00000018], BRZ[0.00012394], BTC[0], DOGE[1.00057183], ETH[0.00000002], ETHW[0.00000002], GRT[0], LINK[.00000311],   Yes
                                      LTC[.00000036], MATIC[0.00006521], MKR[0.00000002], PAXG[.00000001], SHIB[2.72510290], SOL[0.00000052], SUSHI[0.00004378], TRX[0], UNI[0.00000308], USD[0.00], USDT[0]

08038168                              BAT[.654], DOGE[1597.401], ETH[.000847], ETHW[.000847], USD[0.00], USDT[361.43048477]

08038170                              BTC[.00012325], ETH[.00185101], ETHW[.00185101], USD[0.00]

08038181                              AAVE[.00165], AVAX[.02536], DOGE[.4726], ETH[.00079365], ETHW[.00079365], GRT[.3992], LINK[.07368], LTC[.000772], MATIC[5.188], NEAR[.08286], SOL[.00842344], USD[77.76],
                                      USDT[0.24241935], YFI[.0005096]
08038184                              ETHW[.00000986], MATIC[.00069059], NFT (329131153359147644/AC #18)[1], SOL[.00057953], UNI[.00001034], USD[2171.98], USDT[0.00000914]                                                 Yes

08038187                              BTC[.1097932], DOGE[100], ETH[1.113712], ETHW[1.113712], MATIC[99.93], SOL[6.45839], USD[2.36], WBTC[.0249949]

08038188                              MATIC[0], SOL[0], USD[0.01]

08038201                              BTC[0], ETHW[0], SOL[0], USD[0.00], USDT[1.00020999]                                                                                                                                  Yes

08038216                              BTC[.00039415], CUSDT[1], USD[0.00]                                                                                                                                                   Yes

08038224                              GRT[.00000001], USD[0.01]

08038234                              USD[0.00]

08038236                              BF_POINT[200]

08038249                              BRZ[1], BTC[0], CUSDT[4], DOGE[1], ETH[0.00000091], ETHW[0.00000091], SHIB[3], TRX[3], USD[0.02]                                                                                      Yes

08038254                              USD[501.41], USDT[490.17861927]

08038257                              BTC[0], USD[0.21], USDT[0]

08038266                              USD[148.00]

08038268                              USD[0.00], USDT[0.00000001]                                                                                                                                                           Yes

08038270                              DOGE[1], GRT[1.00013057], SOL[253.77524037], TRX[2], USD[0.00]                                                                                                                        Yes

08038272                              CUSDT[2], DOGE[200.76585171], ETH[.02340953], ETHW[.02312225], USD[0.00]                                                                                                              Yes

08038274                              SOL[.04413693], USD[0.00]                                                                                                                                                             Yes

08038278                              USD[25.00]

08038286                              LTC[.1629809]                                                                                                                                                                         Yes

08038293                              USD[0.00]

08038295                              CUSDT[3], ETH[.11397697], ETHW[.11285941], USD[0.81]                                                                                                                                  Yes

08038303                              BAT[.05678231], BTC[0.00001196], DOGE[.67603939], ETH[.00046302], ETHW[982.88729681], SOL[139.13107313], USD[2.44]                                                                    Yes
West Realm Shires Services Inc.                                                        Case 22-11068-JTD      Doc F-3:
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                                                                                                                                             Customer Claims                                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08038310                              USD[0.00], USDT[0]                                                                                                                                                               Yes

08038324                              ETH[0], SOL[0], USD[0.00]

08038328       Contingent, Disputed   USD[0.07]

08038349                              BTC[.00048345], CUSDT[7], DOGE[42.99293023], ETH[.00352125], ETHW[.00348021], LTC[.05110424], SHIB[731025.60601577], USD[0.02]                                                   Yes

08038350                              USD[0.00]                                                                                                                                                                        Yes

08038365                              KSHIB[198.19837675], USD[0.00]                                                                                                                                                   Yes

08038375                              NFT (307463594579428099/2021 Sports Illustrated Awards #26)[1]

08038376                              BCH[0], BTC[0], EUR[0.00], SHIB[4], USD[0.00], YFI[0]

08038389                              CUSDT[1], SOL[.42626231], USD[150.00]

08038402                              CUSDT[1], SHIB[939477.63144584], USD[0.00]                                                                                                                                       Yes

08038405                              USD[1.79]

08038428                              USD[37.84]                                                                                                                                                                       Yes

08038440                              DOGE[391.608], ETH[.016995], ETHW[.016995], KSHIB[479.52], SHIB[400000], USD[0.75]

08038443                              ETH[0], ETHW[0], SOL[0], USD[0.00], USDT[0]                                                                                                                                      Yes

08038450                              BRZ[594.40180043], BTC[.00957013], CUSDT[5], DAI[53.46586439], DOGE[42.27475659], GRT[106.10725238], NFT (293552667056536078/Courtois)[1], NFT (295132514848182798/ Lukaku Man   Yes
                                      U.)[1], NFT (444033168188356827/Elena)[1], NFT (462941097166448762/Woman #3)[1], NFT (484823199845859810/Rooney)[1], NFT (504798549009258778/ De Bruyne )[1], NFT
                                      (563717005473325750/Olga)[1], SHIB[7635861.16472378], SOL[.21633848], TRX[507.92042474], USD[0.37]
08038451                              BTC[.00041661]

08038469                              CUSDT[5], TRX[1], USD[2.94]                                                                                                                                                      Yes

08038474                              BCH[.21066258], BRZ[446.78279002], BTC[.00371246], CUSDT[10], DOGE[102.93622437], ETH[.02577302], ETHW[.0254567], LINK[1.3737933], LTC[.10335884], MATIC[1.0342331],             Yes
                                      PAXG[.01984951], SHIB[745507.36285422], SOL[1.08472191], TRX[331.16126481], USD[3.17]
08038475                              CUSDT[1], TRX[1913.95050772], USD[0.01]

08038478                              ETH[.0054262], ETHW[.0053578]                                                                                                                                                    Yes

08038479                              SHIB[8414148.98920015], TRX[1], USD[0.00]                                                                                                                                        Yes

08038481                              SHIB[33419106.32507], SOL[1.08511843], USD[0.00]                                                                                                                                 Yes

08038482                              CAD[40.05], CUSDT[2], GRT[22.41071087], KSHIB[1544.84531463], TRX[1], USD[65.11]                                                                                                 Yes

08038485                              CUSDT[1], GRT[160.17440135], USD[0.95]                                                                                                                                           Yes

08038497                              NFT (358673633428783491/The Hill by FTX #3370)[1], USD[15.59]

08038510                              USD[1.14]

08038515                              CUSDT[3], DOGE[2833.44206661], SHIB[7783312.57783312], USD[0.00]

08038522                              NFT (458038575559861259/Series 1: Capitals #302)[1], NFT (535168021025339408/Series 1: Wizards #252)[1]

08038527                              BTC[.00000013], CUSDT[6], DOGE[.00034447], USD[0.01]                                                                                                                             Yes

08038538                              SHIB[24289427.11316279], TRX[2], USD[0.00]

08038546                              BRZ[1], BTC[.00000006], CUSDT[4], ETH[.00000098], ETHW[.00000098], SHIB[4], TRX[6], USD[0.00]                                                                                    Yes

08038547                              CUSDT[2], DOGE[1], SHIB[11.07577928], USD[0.63]                                                                                                                                  Yes

08038550                              CUSDT[5], LINK[2.54784158], TRX[383.65365387], USD[111.43]                                                                                                                       Yes

08038551                              BTC[.00078484], CUSDT[466.06256301], DOGE[151.02631835], SOL[.04121333], USD[0.00]                                                                                               Yes

08038553                              BRZ[.51194759], TRX[1], USD[10.53]                                                                                                                                               Yes

08038584                              MATIC[5.17970888], USD[2.83]

08038587                              ETH[0], MATIC[0], SOL[0], USD[0.00]                                                                                                                                              Yes

08038591                              BTC[.00016034], DOGE[1], ETH[.00218705], ETHW[.00218705], SHIB[196850.39370078], USD[0.00]

08038601                              CUSDT[2], SOL[2.36693723], TRX[1], USD[0.00]                                                                                                                                     Yes

08038605                              BF_POINT[600], DOGE[1], ETH[.0000187], ETHW[2.93839014], SOL[.00099447], TRX[1], USD[0.00]

08038606                              DOGE[1], SHIB[234449.69252392], SOL[.03326032], USD[0.00]                                                                                                                        Yes

08038609                              USD[10.00]

08038620                              BTC[0.00136521], ETH[0], USD[0.00]                                                                                                                                               Yes

08038629                              SHIB[5200000], USD[2.21]

08038633                              BCH[0], BTC[0.01977216], DAI[0], DOGE[0], SOL[0], USDT[0.00001256]                                                                                                               Yes

08038637                              CUSDT[1], SOL[.05221204], USD[9.77]                                                                                                                                              Yes

08038639                              CUSDT[1], ETH[.11939557], ETHW[.11824322], USD[0.00]                                                                                                                             Yes

08038643                              USD[0.01]

08038653                              BTC[.00191198], CUSDT[10], DOGE[354.47520515], SHIB[7888512.75387901], TRX[3], USD[0.04]

08038658                              BTC[.00744509], CUSDT[1], DOGE[1], ETH[.10922911], ETHW[.10922911], USD[0.00]

08038660                              NFT (348158220647280698/Astral Apes #1951)[1], SHIB[1], SOL[.00081291], SUSHI[3.18928258], TRX[104.41047072], USD[0.00]                                                          Yes

08038673                              BTC[.00040337], CUSDT[3], ETH[.00599743], ETHW[.00592903], SOL[.23873967], USD[0.00]                                                                                             Yes

08038676                              ETH[.00000001], USD[0.00], USDT[0]

08038686                              AUD[2.87], CAD[2.67], CUSDT[3], DOGE[29.32618486], ETH[.00359651], ETHW[.00355547], KSHIB[169.79867945], LINK[.6923758], SHIB[454823.3133616], SOL[.08222241], USD[0.00]         Yes

08038687                              BTC[.00032848], ETH[.01397351], ETHW[.01397351], NFT (470762051718548880/Joke_re_SpaceX)[1], SOL[.27372945], USD[59.01]

08038688                              USD[0.00]

08038697                              USD[0.14]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08038698                           BTC[0.00020948], ETH[1.15953443], ETHW[1.15953443]

08038699                           USD[2.81], USDT[0]

08038702                           LINK[18.1818], MATIC[479.52], SHIB[10289700], USD[23.21]

08038706                           USD[20.00]

08038707                           CUSDT[1], SOL[.08342619], USD[0.00]

08038711                           ETH[0.00484106], ETHW[0.00484106], LINK[.4], USD[0.76]

08038713                           BTC[0.00000048], USD[826.56]                                                                                                                                Yes

08038715                           CUSDT[1], ETH[.02125818], ETHW[.02099826], MATIC[.00018488], SHIB[1], USD[0.00]                                                                             Yes

08038718                           USD[200.00]

08038721                           KSHIB[123.75479269], USD[0.00]                                                                                                                              Yes

08038726                           USD[2.15]

08038727                           CUSDT[1], SHIB[779699.71255057], USD[0.00]

08038732                           USD[20.00]

08038740                           ETH[0.00948315], ETHW[0], USD[0.00]                                                                                                                         Yes

08038748                           CUSDT[4], DOGE[3], LINK[2.12274999], SHIB[674948.4382658], SOL[.07471429], TRX[1], USD[0.00]                                                                Yes

08038751                           ETH[.04310889], ETHW[.04310889], MATIC[105.52981541], SOL[.41175177]

08038755                           BRZ[1], CUSDT[18], DOGE[1], TRX[2], USD[0.00]                                                                                                               Yes

08038763                           USD[21.51]                                                                                                                                                  Yes

08038765                           CUSDT[1], TRX[.0008834], USD[7.79]                                                                                                                          Yes

08038768                           CUSDT[1], DOGE[2], MATIC[1.60201479], TRX[1], USD[0.00]                                                                                                     Yes

08038781                           CUSDT[2], SOL[.21700204], TRX[1], USD[0.00]                                                                                                                 Yes

08038787                           SHIB[4914.19117647], USD[0.00]                                                                                                                              Yes

08038788                           BRZ[1], BTC[.00000001], CUSDT[2], USD[0.00]                                                                                                                 Yes

08038794                           SHIB[3398500], USD[4.50]                                                                                                                                    Yes

08038803                           ETH[.00000001], ETHW[0], UNI[.00000001]                                                                                                                     Yes

08038806                           USD[37.61]                                                                                                                                                  Yes

08038807                           CUSDT[2], USD[0.00]

08038812                           DOGE[1], SOL[2.38145061], USD[0.01]                                                                                                                         Yes

08038821                           BTC[.01212728], DOGE[369.19062855], ETH[.20321416], ETHW[.20321416], LTC[2.33726129], SHIB[9917760.98846321], SOL[1.00899], SUSHI[30.90581439], USD[1.03]

08038822                           DOGE[1], SHIB[4], USD[0.00], USDT[0]                                                                                                                        Yes

08038824                           USD[21.51]                                                                                                                                                  Yes

08038825                           TRX[1], USD[0.00]                                                                                                                                           Yes

08038829                           ETH[.00000001], USD[0.05], USDT[0.00000001]                                                                                                                 Yes

08038837                           KSHIB[77.6242026], SHIB[253443.30628647], USD[0.00]                                                                                                         Yes

08038838                           USD[12.47]

08038840                           USD[100.00]

08038843                           USD[0.01]                                                                                                                                                   Yes

08038851                           BRZ[1], BTC[.00218624], CUSDT[1], DOGE[80.27802737], ETH[.10838168], ETHW[.10728957], SHIB[1], TRX[206.00762382], USD[0.33]                                 Yes

08038854                           EUR[0.00], USD[0.00], USDT[0]

08038861                           SOL[0], TRX[2]

08038873                           DOGE[1], TRX[1], USD[0.00]                                                                                                                                  Yes

08038878                           CUSDT[2], DOGE[1], ETHW[.09577756], USD[0.25]

08038886                           USD[542.55]                                                                                                                                                 Yes

08038892                           ETH[.00072024], ETHW[.00071601], LINK[.06202342], SOL[.01267791], USD[0.00]                                                                                 Yes

08038904                           SOL[4.518062], USD[2.03]

08038909                           USD[1.04]

08038914                           SOL[20.77991158]

08038915                           USD[0.00]

08038918                           USD[28.86]                                                                                                                                                  Yes

08038919                           BAT[1.0158409], DOGE[1], GRT[1791.50334081], SHIB[6684789.60547414], USD[164.03]                                                                            Yes

08038923                           CUSDT[1], SHIB[98282.70745720], TRX[0], USD[0.00]                                                                                                           Yes

08038926                           USD[0.00]

08038930                           CUSDT[3], DOGE[21.2573394], SHIB[251102.72210708], SOL[0.43020846], TRX[104.11385582], USD[0.01]                                                            Yes

08038931                           AVAX[.00000001], BTC[0], ETH[0], SHIB[6], SOL[0], USD[0.00]                                                                                                 Yes

08038955                           CUSDT[5], DOGE[407.91341422], KSHIB[407.37719359], MATIC[12.76461155], SHIB[1283783.24083582], TRX[1], USD[0.23]                                            Yes

08038956                           SHIB[15547.26368159], USD[0.00]

08038957                           SOL[.00000098], USD[0.00]

08038958                           BTC[.00455708], ETH[.06400941], ETHW[.06321597]                                                                                                             Yes
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                                                                                                                                           Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or       Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08038961      Contingent, Disputed   SOL[0.00000001]

08038969                             MATIC[0], SHIB[0], SOL[0], TRX[0.26721214], USD[0.00]                                                                                                                                    Yes

08038972                             USD[1000.00]

08038973                             CUSDT[1], ETH[.01408776], ETHW[.01408776], SHIB[2], USD[0.00]

08038979                             DOGE[4], ETH[.12373215], ETHW[.12256366], USD[830.71]                                                                                                                                    Yes

08038981                             DOGE[2], TRX[1], USD[0.00]

08038982                             BAT[1], TRX[1], USDT[0]

08038987                             BTC[.00040568], CUSDT[3], DOGE[116.05705619], TRX[1], USD[0.00]                                                                                                                          Yes

08038991                             BTC[.0015], ETH[.021], ETHW[.021], LTC[.37], SHIB[1800000], SOL[.42], USD[10.64]

08038996                             BAT[0], TRX[1], USD[11.74]                                                                                                                                                               Yes

08038998                             CUSDT[1], SHIB[3863390.5115129], USD[0.00]

08039002                             SOL[1.75925], USD[0.90]

08039003                             SHIB[4070004.07000407], TRX[1], USD[0.01]

08039004                             BTC[.0060135], CUSDT[1], USD[125.00]

08039009                             BRZ[1], CUSDT[9], DOGE[2], SHIB[2], USD[0.00]                                                                                                                                            Yes

08039010                             USD[0.94], USDT[0]

08039012                             BRZ[2954.45298515], CUSDT[24479.3270105], DOGE[22863.43817485], GRT[1.00279691], LTC[14.63212159], SHIB[100561075.75471385], SOL[9.04464976], TRX[6], USD[0.56]                          Yes

08039020                             USD[1.08]                                                                                                                                                                                Yes

08039023                             SHIB[165713.41865257], USD[0.00]                                                                                                                                                         Yes

08039024                             USD[0.01]

08039028                             CUSDT[2], DOGE[2], SHIB[1], USD[0.01]                                                                                                                                                    Yes

08039033                             SOL[2.15029835], TRX[1], USD[0.01]                                                                                                                                                       Yes

08039043                             BTC[.0064935], GRT[220.779], SHIB[1529285.82352041], USD[3798.17]

08039054                             BRZ[1], CUSDT[7], DOGE[3], ETH[.29413183], ETHW[.29393841], MATIC[374.18838023], SOL[2.94181797], USD[0.00]                                                                              Yes

08039062                             CUSDT[4], MATIC[.00006374], NEAR[0], SHIB[4], SOL[.00000635], TRX[1], USD[5.56]                                                                                                          Yes

08039063                             TRX[999], USD[104.98]

08039073                             USD[21.70]                                                                                                                                                                               Yes

08039077                             BTC[0.00008759], DOGE[465], MATIC[90], SUSHI[15.5], USD[0.00]

08039080                             BTC[.0045092], CUSDT[3], DOGE[1], ETH[.16118961], ETHW[.16069863], SHIB[1834505.21520294], SOL[2.19965538], USD[0.01]                                                                    Yes

08039093                             SOL[4.9], USD[1.86]

08039102                             BTC[.0515], ETH[0.40844438], ETHW[0.40844438], USD[9.51]

08039111                             USD[0.00]

08039123                             BTC[0.00000045], DOGE[0], ETH[.000152], ETHW[.000152], LINK[0], SOL[0.00345766], USD[0.13]

08039127                             BTC[.01138974], SOL[5.99460000], USD[-70.29]

08039135                             CUSDT[1], SHIB[2340823.97003745], USD[5.00]

08039149                             SOL[.00000001]

08039151                             CUSDT[247.33865355], DOGE[20.17568643], SHIB[168965.83044726], USD[0.00]                                                                                                                 Yes

08039154                             SOL[2.39446527], TRX[1], USD[0.07]                                                                                                                                                       Yes

08039161                             USD[0.00]

08039169                             CUSDT[1], MATIC[66.59101184], NFT (387259988982908543/Entrance Voucher #11231)[1], SHIB[1], USD[0.74]                                                                                    Yes

08039173                             CUSDT[2.0413172], SHIB[31642269.92679219], TRX[1], USD[0.03], USDT[1.08153699]                                                                                                           Yes

08039176                             CUSDT[3], ETH[0.00503096], ETHW[0.00496256], TRX[1], USD[0.00]                                                                                                                           Yes

08039177                             BAT[.00000918], BTC[.00000023], USD[0.00]                                                                                                                                                Yes

08039178                             NFT (305248070287765863/Reflection '12 #75)[1], NFT (309614983926984362/Night Light #191)[1], NFT (336712548130535723/Spectra #324)[1], NFT (357341531722828964/Night Light #222)[1], NFT
                                     (414145805243011864/Vintage Sahara #334)[1], NFT (454304236375367182/Sun Set #645)[1], NFT (507022892680907190/Reflection '07 #62)[1], NFT (509973865307861476/Reflector #801)[1], NFT
                                     (560779624821213137/Vintage Sahara #694)[1], USD[25.76]
08039185                             CUSDT[1], DOGE[1], SHIB[3726973.97179920], SOL[0]                                                                                                                                         Yes

08039186                             AVAX[0], BTC[0], ETH[0], ETHW[0], LINK[0], MATIC[0], SOL[0], SUSHI[0], UNI[0], USD[0.00], USDT[0], YFI[0]

08039187                             SHIB[99000], USD[99.91]

08039203                             ETHW[.207], USD[3854.02]

08039206                             NFT (497551426120514667/FTX - Off The Grid Miami #60)[1], SHIB[3779.75872146], USD[0.00]                                                                                                 Yes

08039208                             SHIB[20957.57418273], USD[0.00]

08039212                             MATIC[2434.65149401], SOL[52.74985468]                                                                                                                                                   Yes

08039217                             BRZ[1], BTC[.11743509], CUSDT[2], DOGE[3], ETH[.51520665], ETHW[.51499044], TRX[1], USD[0.00], USDT[2.15903187]                                                                          Yes

08039230                             BTC[.00001588], DOGE[3.69668766], ETH[.00021765], ETHW[.00021765], SOL[.00436743], USD[1.00]

08039232                             CUSDT[1], SHIB[2699973.12179328], USD[0.00]                                                                                                                                              Yes

08039233                             CUSDT[487.02669555], DOGE[1], ETH[.00236521], ETHW[.00233785], KSHIB[418.49374058], SOL[.13193073], TRX[105.04022334], USD[0.00]                                                         Yes

08039248                             CUSDT[2], DOGE[1], USD[0.00]                                                                                                                                                             Yes

08039250                             SHIB[167221.23025592], USD[0.00]                                                                                                                                                         Yes
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                                                                                                                                             Customer Claims                                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08039251                              USD[0.01]

08039266                              DOGE[1], ETH[.00000107], ETHW[.00000107], TRX[1], USD[0.00]                                                                                                                                  Yes

08039289                              DOGE[368.631], KSHIB[1948.05], SHIB[3996000], SUSHI[7.992], USD[2.57]

08039297                              CUSDT[4], DOGE[109.71876584], LINK[.00187169], MATIC[.00003185], SHIB[289908.92585001], SOL[.00003188], USD[1.19], USDT[0]

08039303                              SHIB[5366995.11207876], USD[0.00]

08039316                              CUSDT[2], ETH[.00547381], ETHW[.00540536], LTC[0.93941746], TRX[1], USD[0.00]                                                                                                                Yes

08039318                              DOGE[12], ETH[.194], ETHW[.194], USD[0.02]

08039319                              BTC[.00031891], CUSDT[5], DOGE[76.44500589], SHIB[487790.49361459], SOL[.09443846], TRX[398.12668801], USD[58.92]                                                                            Yes

08039336                              CUSDT[1], SOL[.43984313], USD[100.00]

08039338                              BRZ[1], BTC[.00230741], CUSDT[3], ETH[.12623442], ETHW[.12510749], LINK[9.42303421], TRX[1], USD[5.42]                                                                                       Yes

08039339                              USD[12133.46]

08039340                              CUSDT[1], ETH[.01018298], ETHW[.01018298], TRX[1], USD[0.00]

08039342                              BAT[1], USD[0.00]                                                                                                                                                                            Yes

08039352                              SOL[.00724807], TRX[.000001], USD[0.01], USDT[0.00000001]

08039360                              CUSDT[7], DOGE[1], SHIB[1.00000001], TRX[8], USD[0.00], USDT[0]                                                                                                                              Yes

08039371                              BRZ[5], CUSDT[4], NFT (298409729672911694/Birthday Cake #0680)[1], NFT (357934980698954165/The 2974 Collection #0680)[1], NFT (516037531150471881/3D CATPUNK #237)[1], TRX[2],                Yes
                                      USD[0.00]
08039383       Contingent, Disputed   AAVE[0], AUD[0.00], BAT[0], BCH[0], BF_POINT[200], BRZ[0], BTC[0], CAD[0.00], CHF[0.00], CUSDT[0], DAI[0], DOGE[0], ETH[0], EUR[0.00], GBP[0.00], GRT[0], KSHIB[0], LINK[0], LTC[0.98185844], Yes
                                      MATIC[0], MKR[0], PAXG[0], SHIB[0], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00], USDT[0], YFI[0]
08039390                              TRX[1], USD[0.00]                                                                                                                                                                             Yes

08039394                              BTC[.04639844], USD[15.25]

08039400                              BTC[.00000005], DOGE[1], ETH[.00000473], ETHW[.49772568], SHIB[6], TRX[3], USD[0.01]                                                                                                         Yes

08039409                              CUSDT[1], SHIB[3255621.25152331], USD[0.01]                                                                                                                                                  Yes

08039413                              AUD[0.00], BRZ[1], CUSDT[2], SHIB[0], SOL[0], SUSHI[1.08438532], TRX[2], USD[0.00]                                                                                                           Yes

08039414                              BTC[.00000959], DOGE[8.991], ETHW[.020096], NFT (424143469516802058/Classic Monsters)[1], SHIB[4085.17290771], USD[0.17]

08039420                              CUSDT[1], DOGE[1], LINK[10.87906296], USD[0.00]

08039423                              USD[0.91]                                                                                                                                                                                    Yes

08039424                              BTC[0], CUSDT[1], TRX[.000001]

08039441                              USD[0.00]

08039450                              CUSDT[1], SHIB[408296.45302377], USD[0.00]                                                                                                                                                   Yes

08039453                              USD[1.87]

08039458                              USD[0.00], USDT[0]

08039462                              AVAX[7.70995897], BAT[67.86696969], CUSDT[2], DOGE[4], GRT[1], SHIB[1], USD[0.76]

08039466                              BTC[.00013521], USD[0.00]                                                                                                                                                                    Yes

08039475                              BTC[.00000005], NFT (429323194547495003/Entrance Voucher #3377)[1], SHIB[3], USD[0.13]                                                                                                       Yes

08039478                              CUSDT[3], SHIB[3369372.94442492], USD[0.00]                                                                                                                                                  Yes

08039497                              NFT (316655841570263032/Series 1: Capitals #1303)[1], NFT (347091954725195526/88rising Sky Challenge - Coin #812)[1], NFT (385323173736818557/Series 1: Wizards #1223)[1], NFT
                                      (423201764585899463/Coachella x FTX Weekend 2 #10619)[1], NFT (486159815992247307/88rising Sky Challenge - Fire #235)[1], NFT (528339159784631586/88rising Sky Challenge - Cloud #321)[1],
                                      NFT (529927618346062687/FTX - Off The Grid Miami #3704)[1]
08039501                              MATIC[100.86], USD[0.30]

08039503                              ETH[.115999], ETHW[.115999], SHIB[11888200], USD[0.64]

08039513                              BTC[.00008879], USD[0.00]

08039515                              USD[450.00]

08039517                              BF_POINT[100], BTC[.01134971], DOGE[2033.77914291], ETH[.20853262], ETHW[.20831602], KSHIB[7530.87446162], TRX[2], USD[0.00]                                                                 Yes

08039519                              ETH[1.08391229], ETHW[1.08345694], SOL[.00062587], USD[5.41]                                                                                                                                 Yes

08039523                              BF_POINT[200], CUSDT[5], DOGE[3.03566541], ETH[.03900435], ETHW[.03852154], NFT (335485806043805554/G7 Inflatable)[1], NFT (474322460816229798/Señor Kungfubun)[1], SHIB[2], TRX[3],         Yes
                                      USD[0.00]
08039524                              USD[0.07]                                                                                                                                                                                    Yes

08039558                              SOL[.00956], USD[0.00]

08039566                              BRZ[2], DOGE[3], GRT[2.00105965], SHIB[2], TRX[2], USD[58.54]                                                                                                                                Yes

08039567                              TRX[.057165], USD[0.77]

08039575                              BCH[.005715], DOGE[0], ETH[0], LTC[0], SHIB[0], SUSHI[0], USD[1.04], USDT[0]

08039579                              CUSDT[2], GRT[53.9514787], MATIC[54.39641656], TRX[1], USD[0.02], USDT[53.95541305]                                                                                                          Yes

08039586                              DOGE[0.30397671], USD[0.00]

08039591                              BRZ[1], CUSDT[7], SHIB[1], TRX[1], USD[0.01]                                                                                                                                                 Yes

08039594                              CUSDT[2], DOGE[1], ETH[.54998565], ETHW[.54975473], TRX[1], USD[715.08]                                                                                                                      Yes

08039603                              USD[9.58]                                                                                                                                                                                    Yes

08039611                              USD[20.00]

08039613                              USD[0.00]

08039616                              GRT[1.00281675], SHIB[8332429.86185341], USD[0.02]                                                                                                                                           Yes

08039621                              BTC[.0008], DOGE[100], SHIB[399600], USD[1.89]

08039643                              USD[500.00]
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08039647                              BTC[.00015139], USD[0.00]                                                                                                                                                                Yes

08039668       Contingent, Disputed   BTC[.00792236], GRT[1], TRX[1], USD[0.00]

08039670                              CUSDT[1], SOL[.08984829], USD[0.00]                                                                                                                                                      Yes

08039678                              CUSDT[3.00443407], DOGE[8.20602952], ETH[.00000037], ETHW[.00000037], LINK[.00000948], MATIC[.00003864], SHIB[47633.6898006], TRX[11.08465595], USD[0.00]                                Yes

08039679                              USD[4.05], USDT[0]

08039690                              AAVE[.00294608], SHIB[36588.78669122], USD[0.07]                                                                                                                                         Yes

08039699                              USD[2.79]

08039701                              USD[1500.00]

08039710                              USD[271.27]                                                                                                                                                                              Yes

08039712                              BTC[.00002686], ETH[.0005965], ETHW[.0005965], NFT (432541913004719707/Earl Campbell's Playbook: Texas vs. Houston - November 5th, 1977 #29)[1], SOL[173.22697813], USD[4.07], USDT[0]

08039719       Contingent, Disputed   TRX[1], USD[0.00]

08039722                              MATIC[1739.75], USD[45.68]

08039730                              CUSDT[1137.70593414], DOGE[186.06221354], SHIB[770534.75111727], USD[0.00]

08039741                              SHIB[1], TRX[1], UNI[50.1422761], USD[0.00]                                                                                                                                              Yes

08039745                              AVAX[.65459663], CUSDT[7], SHIB[1], USD[0.00]                                                                                                                                            Yes

08039751                              SOL[.04750168], USD[0.00]                                                                                                                                                                Yes

08039753                              ETHW[51.82779572], SHIB[.00000003], SOL[.00000001], SUSHI[389.88705411], TRX[2], USD[0.00]

08039762                              MKR[.016], USD[2.31], USDT[17.76910506]

08039771                              NFT (405118122917383484/Coogi #1062)[1], NFT (422286322025809170/Megalodon Rogue Shark Tooth)[1], NFT (459692476634018106/Coogi #1011)[1], NFT (479192173053531653/Coogi #740)[1],
                                      NFT (532735106561675040/Coogi #1059)[1]
08039775                              SHIB[9105649.53537434], TRX[1], USD[0.02]                                                                                                                                                Yes

08039782                              BTC[.01009634], ETH[.16962954], ETHW[.16962954], LINK[19.87685887]

08039783                              CUSDT[2], KSHIB[171.8658754], TRX[1], USD[0.00]

08039784                              USD[0.00]

08039786                              USD[19.98]

08039793                              ETH[0.00059936], ETHW[0.00059936]

08039795                              BAT[6.33054425], ETH[.00203061], ETHW[.00200325], MATIC[3.08857874], SOL[.05276383], USD[0.00]                                                                                           Yes

08039796       Contingent, Disputed   USD[0.00]

08039801                              BTC[.00152164], SHIB[167553.8517999], TRX[1], USD[0.02]                                                                                                                                  Yes

08039807                              DOGE[0.08057994], MKR[0], SOL[0], USD[0.00]                                                                                                                                              Yes

08039809                              NFT (447651908182761466/Digital renderings.)[1], NFT (471891734372290151/Conceptual Mobility)[1], USD[14.70]

08039811                              AUD[22.00], UNI[1.2], USD[7.67]

08039813                              BTC[.00348136], CUSDT[1], USD[0.01]                                                                                                                                                      Yes

08039822                              BRZ[1], DOGE[4], GRT[1.00026659], SHIB[261218806.90902545], USD[3043.85], USDT[0]                                                                                                        Yes

08039829                              BTC[0]

08039840                              DOGE[1], UNI[.77686772], USD[1.08]                                                                                                                                                       Yes

08039842                              ETH[.001971], ETHW[.001971], SOL[1.97795], USD[99.64]

08039852                              SHIB[4295700], USD[24.06]

08039856                              USD[542.54]                                                                                                                                                                              Yes

08039858                              BTC[.00031652], CUSDT[1], MKR[.03205965], TRX[1], USD[412.34]                                                                                                                            Yes

08039866                              USD[50.00]

08039868                              BF_POINT[100], BRZ[3], DOGE[3], NFT (296101921110983819/Crypto Boys #7)[1], NFT (321623587502624896/Vox Punk)[1], NFT (327763157211613301/Crypto Boys #6)[1], NFT
                                      (333008552841433175/LightPunk #336)[1], NFT (334687982392627170/Ape MAN#52)[1], NFT (335044373247863394/Vox Punk #2)[1], NFT (363152196004527972/Skull Punk)[1], NFT
                                      (364483144618271800/LightPunk #95)[1], NFT (381831348259328280/Fancy Frenchies #1278)[1], NFT (417339999392840526/Ape MAN#24)[1], NFT (426541560714684575/Mad Lions Series #50)[1],
                                      NFT (454210138378880496/DarkPunk #9897)[1], NFT (549599750678733832/Skull Punk #2)[1], SOL[2.82513710], TRX[1], USD[0.00]
08039873                              LINK[2182.96838897]                                                                                                                                                                      Yes

08039874                              BTC[0], LINK[.04040884], USD[0.00], USDT[.00289498]                                                                                                                                      Yes

08039885                              USD[0.00], USDT[0]

08039887                              BTC[.00081728], CUSDT[1], LINK[1.60753136], TRX[1], USD[0.10]                                                                                                                            Yes

08039899                              BRZ[0], CUSDT[3], ETH[0], KSHIB[1816.74130591]

08039901                              ETH[.00088181], ETHW[.00086816], EUR[0.00], SHIB[2], USD[0.00]                                                                                                                           Yes

08039903                              USD[0.01]

08039908                              SHIB[0], USD[0.00]

08039915                              CUSDT[2], MATIC[28.38134108], SOL[.43967799], SUSHI[4.42600099], TRX[2], USD[0.01], USDT[323.34001427]                                                                                   Yes

08039918                              ALGO[0], AVAX[0], BTC[0], ETH[0.02800000], ETHW[0.26167700], USD[0.01]

08039920                              BAT[1], CUSDT[3], ETHW[.81222966], SHIB[1], TRX[2], USD[0.00]

08039921                              BTC[0.00240745], DOGE[1], ETH[0.02962378], ETHW[0.02925442], LINK[2.99293944], MATIC[56.90149793], SHIB[9], TRX[1], USD[0.00]                                                            Yes

08039922                              USD[0.00]

08039923                              CUSDT[3], SHIB[1], TRX[1], USD[0.00]                                                                                                                                                     Yes

08039928                              CUSDT[492.33786377], USD[97.66]                                                                                                                                                          Yes
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                                                                                                                                            Customer Claims                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08039936                              ALGO[320], AVAX[29.2889], SHIB[2163097.55569976], USD[0.01], USDT[3.58604085]

08039944                              SHIB[428357.24994645], TRX[1], USD[0.00]

08039951                              DOGE[20.07590239], MATIC[5.38074207], USD[5.43]                                                                                                                 Yes

08039953                              USD[86.33]

08039962                              CUSDT[1], SOL[2.03709329], USD[0.00]

08039967                              NFT (574515312526183865/FTX - Off The Grid Miami #4631)[1], SOL[.12]

08039968                              CUSDT[1], SOL[1.19430496], TRX[1], USD[0.00]                                                                                                                    Yes

08039974                              ETH[.109], ETHW[.109], USD[2.50]

08039975                              BTC[0.00000262], ETH[0.00021520], ETHW[0.00021520], UNI[.05], USD[1.04], USDT[.2872485]

08039977                              USD[0.00]                                                                                                                                                       Yes

08039981                              USD[5.00]

08039987                              USD[50.01]

08039994                              CUSDT[1], MATIC[26.93079424], USD[0.00]                                                                                                                         Yes

08039995                              BRZ[1], CUSDT[1], DOGE[1], LTC[.99909463], MATIC[49.71763268], SOL[.71819766], USD[0.00]

08039998                              BCH[.15261959], BRZ[450.35843595], CUSDT[4], DOGE[1], LTC[.70424488], MATIC[42.49857338], MKR[.0682531], SOL[1.3110725], SUSHI[8.73409892], TRX[2], USD[0.00]   Yes

08040009                              SOL[.00000023]                                                                                                                                                  Yes

08040011                              ETH[.016968], ETHW[.016968], LINK[1.998], SHIB[100000], USD[0.24], USDT[0]

08040021                              EUR[0.00]

08040028                              USD[0.63]

08040033                              USD[0.31]

08040038                              USD[0.00], USDT[0.00004319]

08040040                              USD[0.01]

08040041                              SHIB[8900000], USD[3.55]

08040044                              USD[100.00]

08040048                              USD[0.01]

08040058                              CUSDT[1], MATIC[10.85381048], USD[0.00]                                                                                                                         Yes

08040061                              USD[0.00]

08040063                              AVAX[0], ETH[0], USD[0.00]

08040064                              SOL[.04482216], USD[10.85]                                                                                                                                      Yes

08040074                              CUSDT[1], SHIB[2.62496777], USD[0.00]                                                                                                                           Yes

08040075       Contingent, Disputed   BAT[0], BCH[0], BTC[0], DAI[0], DOGE[0], ETH[0], ETHW[0], MATIC[0], MKR[0], SOL[0], TRX[0], USD[0.00], USDT[0.00717395], YFI[0]                                 Yes

08040083                              DOGE[1], ETH[2.72647861], ETHW[2.72533348], SOL[0.88792715]                                                                                                     Yes

08040086                              SOL[206.56091], USD[22.09]

08040100                              BRZ[1.41418308], SHIB[24578.77955586], SOL[.2110514], SUSHI[0.10703704], UNI[0.01016307], USD[0.63]

08040101                              TRX[1], USD[0.00]                                                                                                                                               Yes

08040105                              BTC[.0207616], ETHW[.32967], USD[134.07]

08040115                              BAT[1.00072947], BRZ[3], CUSDT[4], DOGE[11.01193537], ETHW[.55913151], GRT[1], SHIB[11], TRX[6], UNI[1.01028072], USD[7374.75], USDT[2.14534174]                Yes

08040116                              DOGE[2], SHIB[20], SOL[.00000001], USD[0.27]                                                                                                                    Yes

08040119                              USD[0.00]

08040120                              CUSDT[13], DOGE[291.98398221], SHIB[283937.85383655], SOL[.00190968], TRX[1], USD[0.56]                                                                         Yes

08040122                              SHIB[2], TRX[1], USD[753.71]                                                                                                                                    Yes

08040131                              CUSDT[2], USD[20.24]                                                                                                                                            Yes

08040139                              CUSDT[7], DOGE[1], KSHIB[194.72531949], SHIB[24541932.65886911], SUSHI[30.36624273], TRX[1], USD[5.07]                                                          Yes

08040148                              SOL[0], USD[0.00]

08040158                              SHIB[1], USD[0.00]                                                                                                                                              Yes

08040159                              SHIB[9091355], USD[3.06]

08040160                              SOL[0.61744873], USD[0.00], USDT[0.00002400]

08040165                              BTC[.00404916], LTC[0], USD[0.13]

08040166                              ETHW[4.119], USD[19.42]

08040167                              ETH[.01180698], ETHW[0.01165650]                                                                                                                                Yes

08040171                              BRZ[3], DOGE[1], SHIB[1], TRX[2], USD[0.50]                                                                                                                     Yes

08040173                              SHIB[999900], USD[9.02]

08040194                              CUSDT[2], ETH[.0011674], ETHW[.00115372], MATIC[6.25022678], SOL[.00000048], USD[0.00]                                                                          Yes

08040197                              USD[0.00]                                                                                                                                                       Yes

08040206                              CUSDT[1476.23975454], USD[0.00]                                                                                                                                 Yes

08040210                              SOL[.00272622], USD[356.23]

08040213                              CUSDT[2], USD[0.01]                                                                                                                                             Yes

08040226                              BTC[.0886103], USD[955.75]
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                                                                                                                                            Customer Claims                                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08040234                              USD[0.00]                                                                                                                                                                                   Yes

08040236                              AVAX[.09326], SOL[.004946], SUSHI[.2962], USD[6096.00]

08040238                              USD[0.01]                                                                                                                                                                                   Yes

08040244                              BAT[15.07407384], BRZ[83.97527657], CUSDT[685.75031667], DAI[14.91611015], SHIB[382409.17782026], TRX[142.12249206], USD[5.00]

08040245                              SHIB[.00000001], TRX[.000007], USD[130.85], USDT[0]

08040253                              DOGE[21.87579226], SHIB[69228.51909069], TRX[43.50058842], USD[0.00]

08040255                              BTC[.0080919], USD[6.78]

08040257                              USD[108.51]                                                                                                                                                                                 Yes

08040277                              CUSDT[2], SHIB[1685674.74747171], SOL[.45491391], USD[0.01]                                                                                                                                 Yes

08040284                              BTC[.0083916], ETH[.121], ETHW[.121], USD[9.95]

08040288                              USD[0.31]

08040297                              SOL[8.41158], USD[1498.34]

08040307                              NFT (472395921446615288/CryptoAvatar #55)[1], USD[0.00], USDT[0]                                                                                                                            Yes

08040310                              SOL[0.08928971], USD[6.78], USDT[.005556]

08040313                              BRZ[2], BTC[.00309481], CUSDT[5], DOGE[477.35711368], GRT[25.07070314], SHIB[2238344.78175985], SOL[1.04565934], TRX[2], USD[0.00]                                                          Yes

08040321                              GRT[4.90740555], SOL[.02101267], USD[0.00]                                                                                                                                                  Yes

08040324                              BTC[.00000006], CUSDT[2], DOGE[1], TRX[3], USD[0.21]                                                                                                                                        Yes

08040329                              SHIB[5], TRX[2], USD[0.00], USDT[0]                                                                                                                                                         Yes

08040338                              BTC[.1033965], USD[23.20]

08040340                              BTC[0], ETH[0], ETHW[0], MKR[0], SOL[0], USD[0.00], USDT[0]

08040342                              ETH[.00000001], ETHW[0], NFT (435249414820198929/Miami Ticket Stub #7)[1], USD[0.00]

08040355                              USD[5.34]

08040356                              BTC[0.00000010], SHIB[60668688], SOL[.00999976], USD[4430.70]

08040367                              CUSDT[3], DOGE[298.54372955], ETH[.02025301], ETHW[.02000677], GRT[1], MATIC[0], SHIB[1], USD[0.00]                                                                                         Yes

08040370                              ETH[.10166975], ETHW[.10166975], SHIB[1], SOL[0.14925787], TRX[1], USD[0.01]

08040375                              ARS[18.46], AUD[1.00], BF_POINT[200], CAD[3.27], EUR[0.98], NFT (289254210643230008/Call It #20)[1], NFT (327177649190464449/Call It #13)[1], NFT (329538946839187023/Call It #6)[1], NFT    Yes
                                      (346761444514026050/Call It #3)[1], NFT (348535615290947162/Saudi Arabia Ticket Stub #1819)[1], NFT (353307675611578676/Call It #7)[1], NFT (356447927235021121/Call It #9)[1], NFT
                                      (371964207131640268/Call It #10)[1], NFT (378276750328684562/Call It #11)[1], NFT (402784339602278134/Call It #17)[1], NFT (407807403984304539/Call It #21)[1], NFT
                                      (409840933658008669/Entrance Voucher #101)[1], NFT (426554323558431616/Call It #18)[1], NFT (451774521197314266/Call It #22)[1], NFT (457305288288460033/Coachella x FTX Weekend 2
                                      #4)[1], NFT (460222059001359374/Call It #16)[1], NFT (501238568094472288/Call It #14)[1], NFT (506597415380485753/Call It #12)[1], NFT (517623873938799626/Coachella x FTX Weekend 1 #5)[1],
                                      NFT (525579473185288763/Call It #19)[1], NFT (568012661342859381/Call It #8)[1], SHIB[.00178762], USD[274.58]
08040380                              USD[10.52]

08040382                              USD[0.04]

08040383                              BTC[.00090452], CUSDT[2], ETH[.0124809], ETHW[.01233042], USD[0.00]                                                                                                                         Yes

08040389                              ETH[.305], ETHW[.305], NFT (353979127782275865/Birthday Cake #1016)[1], NFT (381178685458677135/The 2974 Collection #1016)[1], NFT (497923241239608207/2974 Floyd Norman - CLE 5-
                                      0013)[1], USD[5.15]
08040406                              USD[0.00]

08040411                              DOGE[7.29750621], KSHIB[17.653011], SHIB[35925.9336393], USD[0.00]                                                                                                                          Yes

08040416                              SHIB[24.18589939], USD[0.00]                                                                                                                                                                Yes

08040421                              SOL[0], USD[0.00]

08040442                              SOL[.00858791], USD[0.39]

08040443                              USD[1.17], USDT[0]

08040448                              ETH[0], PAXG[0], SOL[0], USD[0.00]

08040460                              CUSDT[2], MATIC[119.75659869], TRX[1], USD[0.52]                                                                                                                                            Yes

08040463                              USD[54.26]                                                                                                                                                                                  Yes

08040474                              BTC[.00194824]                                                                                                                                                                              Yes

08040476                              CUSDT[1], SOL[.00000165], USD[0.00]                                                                                                                                                         Yes

08040478                              BCH[.12179326]

08040482                              BTC[.00007655], ETH[.00077046], ETHW[0.00077046], MATIC[1270], SHIB[49850300], TRX[.075005], USD[0.00]

08040484                              CUSDT[6], TRX[1], USD[0.00], USDT[0]                                                                                                                                                        Yes

08040487                              BTC[0], USD[2.00]

08040495                              BRZ[1], BTC[.01463571], CUSDT[4], DOGE[638.00973652], ETH[.23186592], ETHW[.2316624], KSHIB[206.48389463], SOL[.05151634], TRX[3], USD[0.00]                                                Yes

08040499                              CUSDT[1], UNI[1.36855816], USD[0.00]

08040508       Contingent, Disputed   USD[0.00]

08040509                              AVAX[11.21164307], BTC[.00003159], DOGE[18266.92847196], LINK[188.48314336], MATIC[451.4320882], SOL[14.05268495], USDT[711.49478819]                                                       Yes

08040511                              BRZ[1], CUSDT[2], USD[22.00]                                                                                                                                                                Yes

08040514                              BTC[.00001687], DOGE[32.45864361], USD[0.00]

08040521                              CUSDT[4], SHIB[1937068.72670936], TRX[1], USD[17.42]                                                                                                                                        Yes

08040524                              BTC[.00000002], LINK[.00001808], USD[0.00]                                                                                                                                                  Yes

08040529                              SOL[34.64], USD[0.91]

08040540                              BTC[0], ETH[.00611587], ETHW[.00810433], NFT (474960970867095821/CryptoFabula #26)[1], USD[10.21], USDT[0]
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                                                                                                                                         Customer Claims                                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08040545                           SOL[.04568728], TRX[1], USD[0.00]                                                                                                                                              Yes

08040546                           BF_POINT[200], USD[0.00]                                                                                                                                                       Yes

08040550                           TRX[140.68538862], USD[0.00]

08040560                           BRZ[1], BTC[.00000034], CUSDT[9], DOGE[2], ETHW[1.90713945], TRX[3], USD[0.00], USDT[0.00153306]                                                                               Yes

08040562                           BTC[.00580468], LINK[17.36888608], MKR[.06069293], SOL[.99019561], USD[0.01]

08040565                           ETH[.008], ETHW[.008], USD[0.76]

08040573                           ETHW[.31294579]                                                                                                                                                                Yes

08040591                           BRZ[3], BTC[0.00000001], CUSDT[15], DOGE[6.00054603], ETH[.00001102], ETHW[.00001102], TRX[9], USD[1.25], USDT[0.00014769]                                                     Yes

08040595                           SHIB[960.54309985], USD[0.00]                                                                                                                                                  Yes

08040605                           BTC[.00015049], CUSDT[1], ETH[.00550638], ETHW[.00543798], SOL[.07770785], USD[0.00]                                                                                           Yes

08040607                           USD[21.51]                                                                                                                                                                     Yes

08040611                           CUSDT[1], LINK[2.55735119], MATIC[47.68102501], TRX[2], USD[0.62]                                                                                                              Yes

08040612                           SHIB[1715236.99926339], TRX[1], USD[0.00]                                                                                                                                      Yes

08040616                           USD[0.00]

08040619                           USD[108.51]                                                                                                                                                                    Yes

08040626                           DOGE[2000], SHIB[5000000], TRX[600], USD[692.89]

08040632                           BRZ[2], CUSDT[3], DOGE[5], ETH[.00000111], ETHW[.00000111], GRT[1.00019173], MKR[.00000165], TRX[3], USD[0.00], USDT[1.08505898]                                               Yes

08040643                           USD[20.00]

08040647                           BF_POINT[100], BTC[0.01250000], USD[0.00]

08040652                           CUSDT[4904.62737909], SHIB[1706257.87234096], USD[0.00]                                                                                                                        Yes

08040653                           CUSDT[2], ETH[.01272449], SHIB[1], USD[13.26]                                                                                                                                  Yes

08040662                           CUSDT[1], ETH[.00580126], ETHW[.00573286], USD[0.00]                                                                                                                           Yes

08040663                           BTC[.0017982], ETH[.048975], ETHW[.048975], USD[1.92]

08040665                           BTC[.00121711], SHIB[157879.11809283], USD[0.00]

08040678                           CUSDT[2], SOL[0], USD[0.00], USDT[0]                                                                                                                                           Yes

08040679                           BTC[.00031593], DOGE[1], LINK[.03040814], SOL[.04329387], USD[0.00]                                                                                                            Yes

08040680                           SHIB[1], USD[16.68]                                                                                                                                                            Yes

08040683                           BRZ[1], CUSDT[157.52712642], ETHW[1.02617933], GRT[1], KSHIB[2613.78713975], LTC[.1240553], NFT (295817426350078931/Megalodon Rogue Shark Tooth)[1], SHIB[3891332.30996787],   Yes
                                   SOL[.77340615], SUSHI[29.81078642], TRX[125.2112562], USD[14935.48], USDT[1.0534988]
08040693                           USD[0.01], USDT[0.00000001]

08040699                           USD[0.00]                                                                                                                                                                      Yes

08040716                           SOL[131.88419925], USD[0.00]

08040722                           NFT (552633141330911298/Kiddo #751)[1], USDT[0]

08040725                           SOL[0], USDT[0.00000033]

08040728                           USD[11.31]

08040738                           USD[2.40]

08040754                           ETH[.04], ETHW[.04]

08040760                           USD[0.15]

08040763                           USD[1.02]

08040765                           SOL[.1]

08040783                           USD[0.14]                                                                                                                                                                      Yes

08040794                           SOL[.1], TRX[.011195], USD[3694.90], USDT[1450.06920740]

08040795                           USD[22.59]                                                                                                                                                                     Yes

08040797                           CUSDT[3], DOGE[4], SHIB[24456957.72843637], USD[0.00]                                                                                                                          Yes

08040805                           BTC[.4944], ETH[6.33273], ETHW[6.33273], SOL[56.79], USD[0.69]

08040812                           SOL[0.00003077], USD[0.01]                                                                                                                                                     Yes

08040813                           NFT (431785295481326469/Beasts #31)[1], NFT (432075031034211408/Coachella x FTX Weekend 2 #28997)[1], NFT (455069760733807820/BlobForm #433)[1], USD[0.00]                     Yes

08040814                           DOGE[1], SHIB[7076584.36861141], USD[50.01]

08040819                           BTC[.01712995], ETH[.07336095], ETHW[.07244996], SHIB[4229209.42520107], SOL[.50195627], USD[0.00]                                                                             Yes

08040823                           ALGO[28.3302772], AVAX[.35670065], BTC[0], LINK[1.12863642], SHIB[1226493.23221586], USD[0.00]

08040824                           NFT (523286497080803537/Magic Eden Pass)[1], SOL[1.70545993], USD[0.00]                                                                                                        Yes

08040829                           SHIB[3], USD[0.00]                                                                                                                                                             Yes

08040838                           SOL[5.84], USD[3.09]

08040839                           CUSDT[1], SHIB[0]

08040841                           UNI[0.96089427], USD[0.00]

08040843                           LTC[.00763999], USD[0.00]                                                                                                                                                      Yes

08040845                           USD[0.00]                                                                                                                                                                      Yes

08040846                           SHIB[11948946.51539708], USD[0.00]

08040848                           MATIC[538.53560932], USD[0.00]                                                                                                                                                 Yes
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                                                                                                                                         Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08040854                           USD[706.18]                                                                                                                                                                              Yes

08040856                           CUSDT[1], UNI[.97825809], USD[0.00]                                                                                                                                                      Yes

08040857                           BTC[.00015806], USD[0.00]                                                                                                                                                                Yes

08040872                           USD[0.01]

08040880                           USD[0.00]

08040883                           BAT[16.8234742], BCH[.02959327], BTC[.00030656], DOGE[75.87329402], ETH[.00421876], ETHW[.00421876], LINK[.58041936], LTC[.18869547], SHIB[190258.75190258], USD[0.01], YFI[.00059953]

08040884                           BTC[.00002528], ETH[.000488], ETHW[.000488], LINK[.05038], MATIC[44.036], SOL[.006476], SUSHI[.6233], UNI[.0636], USD[1574.57], USDT[0]

08040890                           SOL[.01827398], USD[4.39]

08040891                           USD[268.59]

08040898                           CUSDT[5], DOGE[119.3644015], LINK[1.35380632], MATIC[25.40396359], SOL[.15737125], USD[0.06]                                                                                             Yes

08040899                           BTC[0], NFT (344779096484923040/2974 Floyd Norman - CLE 4-0259)[1], SOL[.00000001], USD[0.00]

08040903                           BTC[.0060956], DOGE[25.988], USD[0.02]

08040906                           BTC[.00000001], CUSDT[1], USD[0.40]                                                                                                                                                      Yes

08040914                           CUSDT[1], DOGE[1], SHIB[1], USD[9.81]                                                                                                                                                    Yes

08040922                           USD[0.01]

08040929                           BTC[.00030884], TRX[1], USD[0.00]                                                                                                                                                        Yes

08040930                           DOGE[1], USD[0.00]                                                                                                                                                                       Yes

08040931                           USD[6.82]                                                                                                                                                                                Yes

08040943                           ETH[.00171], ETHW[9.61171], USD[0.38]

08040944                           USD[0.00], USDT[0]

08040945                           BRZ[24.17244471], CUSDT[196.2184591], KSHIB[83.35080227], TRX[50.53088148], USD[5.47]                                                                                                    Yes

08040946                           ETH[1.67802827], ETHW[1.67732355]                                                                                                                                                        Yes

08040948                           CUSDT[4], DOGE[1503.81468489], SHIB[20361771.12925213], TRX[2], USD[0.00]

08040957                           USD[200.00]

08040967                           USD[10.85]                                                                                                                                                                               Yes

08040979                           BRZ[34.59835473], BTC[.00079032], CUSDT[3], DOGE[69.90595968], ETH[.02843814], ETHW[.02843814], USD[0.00]

08040981                           SOL[0.00001700], USD[0.25], USDT[0.00000001]                                                                                                                                             Yes

08040983                           USD[0.00], USDT[99.59002967]

08040985                           BTC[0.00000001], SOL[0]

08041002                           USD[54.25]                                                                                                                                                                               Yes

08041003                           CUSDT[1], ETH[.00392224], ETHW[.00392224], USD[0.00]

08041006                           SHIB[50594.63817778], USD[0.00]

08041018                           BAT[40.73251325], BCH[.04334936], BTC[.00130026], DOGE[295.58130767], ETH[.04628639], ETHW[.04628639], KSHIB[424.7594672], LTC[.33394184], SHIB[920340.49806183], SOL[.71199361],
                                   SUSHI[1.9669263], TRX[236.18711612], USD[0.01]
08041029                           CUSDT[1], GRT[2.01017117], SHIB[266681.74035149], SUSHI[.63000173], USD[0.00]                                                                                                            Yes

08041036                           CUSDT[1], SHIB[1211650.30306727], USD[0.11]                                                                                                                                              Yes

08041040                           BRZ[1], SOL[2.03330159], USD[0.00]

08041044                           DOGE[2], NFT (449990218638107249/#3530)[1], NFT (490798438588900293/#5462)[1], SOL[.00000012], USD[0.00]                                                                                 Yes

08041054                           CUSDT[2], USD[0.00]                                                                                                                                                                      Yes

08041059                           AAVE[.0095], BTC[.0000004], ETH[.016], ETHW[.016], LTC[.32967], SHIB[98700], SOL[.2997], TRX[.010865], USD[75.66]

08041063                           ETH[3.272], USD[18.10]

08041077                           SOL[.23]

08041078                           DOGE[1], SHIB[9076968.4487177], USD[0.00]                                                                                                                                                Yes

08041079                           DOGE[4.15374157], SHIB[157656.57608127], USD[0.11]                                                                                                                                       Yes

08041084                           USD[217.01]                                                                                                                                                                              Yes

08041085                           BTC[.0000002], CUSDT[2431.61780122], KSHIB[2591.06559127], NFT (325779689785818774/Animated Mask #5)[1], NFT (341204552141335232/The Majestic Wolf)[1], NFT                              Yes
                                   (376574170413202414/Animated Mask #6)[1], NFT (392032894670914884/3D Shapes)[1], SHIB[2], USD[554.01]
08041087                           ETH[.113995], ETHW[13.217059], SHIB[5098900], SOL[1.72], USD[0.20]

08041091                           USD[0.00]

08041097                           ALGO[29.06812058], BAT[13.29535704], BRZ[73.77567593], CUSDT[8], DOGE[92.18848291], ETHW[.02619401], GRT[23.37712414], KSHIB[1036.87199773], MATIC[19.94712938],                         Yes
                                   SHIB[298055.46041474], SUSHI[2.77533261], TRX[2], USD[0.00], YFI[.00339142]
08041101                           SOL[.01], USD[0.20]

08041103                           SOL[2], USD[9.96]

08041107                           BTC[0], SOL[0]

08041110                           DOGE[1], TRX[2], USD[0.00]                                                                                                                                                               Yes

08041111                           DOGE[1], SOL[2.10066959], USD[21.71]                                                                                                                                                     Yes

08041115                           CUSDT[1], USD[0.00]

08041117                           BF_POINT[100]

08041118                           MATIC[.0044464], USD[11.34]                                                                                                                                                              Yes

08041119                           BAT[1], CUSDT[3], DOGE[1819.20606092], SHIB[86161901.0654688], TRX[3], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08041120                           SOL[.30111321], TRX[1], USD[0.00]                                                                                                                                                          Yes

08041130                           BTC[.00334564], USD[0.18]

08041141                           CUSDT[1], ETH[.09195839], ETHW[.09195839], USD[0.00]

08041143                           CUSDT[14], SHIB[41195443.80102674], TRX[4], USD[0.00]                                                                                                                                      Yes

08041148                           CUSDT[3], ETH[.01703093], ETHW[.01703093], USD[0.00]

08041151                           SHIB[4867161.71617161], USD[0.00]

08041154                           USD[0.01]                                                                                                                                                                                  Yes

08041156                           DOGE[1], SHIB[2038735.98369011], USD[0.00]

08041157                           USD[0.01]                                                                                                                                                                                  Yes

08041158                           USD[0.00]

08041173                           BRZ[2], CUSDT[21], DOGE[10.1183573], ETH[.95965165], ETHW[.95924869], GRT[108.29374126], MATIC[164.84565134], SHIB[7196643.26418615], SOL[3.3425905], SUSHI[4.03325947], TRX[4],           Yes
                                   USD[0.08]
08041176                           SOL[0], USD[0.00]

08041178                           BAT[1], DOGE[1], TRX[1], USD[0.00]

08041183                           USD[0.00]

08041184                           CUSDT[1], ETH[.011845], ETHW[.01169452], USD[0.00]                                                                                                                                         Yes

08041187                           BRZ[1], DOGE[2], SHIB[2], TRX[1], USD[0.00], USDT[1.05955984]                                                                                                                              Yes

08041189                           SOL[.00999], USD[0.29]

08041193                           SOL[0]

08041201                           CUSDT[1], SOL[.68057091], USD[0.00]                                                                                                                                                        Yes

08041205                           CUSDT[5], SHIB[1], SOL[.22955917], USD[34.13]

08041209                           USD[0.00], USDT[0.00046546]

08041211                           BTC[.0000481], LINK[.47789119], SHIB[2], TRX[1], USD[3.82]                                                                                                                                 Yes

08041213                           LTC[.0000141]                                                                                                                                                                              Yes

08041217                           DOGE[.00014656], SHIB[54], USD[0.00], USDT[0]                                                                                                                                              Yes

08041218                           NFT (288347227257285136/Anti Artist #635)[1], NFT (288618880460101569/Baddies #3207)[1], NFT (295335230511488747/#5780)[1], NFT (295733248457371401/Sigma Shark #933)[1], NFT
                                   (299667167666469974/LightPunk #2099)[1], NFT (303636556876005968/Cadet 665)[1], NFT (306983988964113515/#6425)[1], NFT (307225689774918578/Solana Penguin #1772)[1], NFT
                                   (308843607797382965/Nobu Sensei #949)[1], NFT (309961446532965656/#4168)[1], NFT (311018450726720387/SolFractal #3017)[1], NFT (311049311800687020/Elysian - #1137)[1], NFT
                                   (313137116467392603/Beasts #904)[1], NFT (314080820749634892/BitCaptain #1711)[1], NFT (314382355551646489/Panda Fraternity #881)[1], NFT (314387804985414204/Ghoulie #6586)[1], NFT
                                   (315959192595735376/Rogue Circuits #3960)[1], NFT (317600458857366454/ALPHA:RONIN #1277)[1], NFT (318407350498893799/#3276)[1], NFT (320747139013114833/Elysian - #275)[1], NFT
                                   (326394600108143677/The Tower #310-4)[1], NFT (327263212621010407/DRIP NFT)[1], NFT (329739391819468579/#4236)[1], NFT (330716328286257526/The Tower #155-10)[1], NFT
                                   (331386645520650795/Mental Art Series #3)[1], NFT (331808614455743940/#2889 Inverse Bear)[1], NFT (332366070332848458/Nancy Kerrigan - Common)[1], NFT (334081937188555801/Divine
                                   Soldier #5729)[1], NFT (334221714848332819/Solana Penguin #4211)[1], NFT (334393164059665802/Solana Penguin #5462)[1], NFT (334895028573772129/#4969)[1], NFT
                                   (336501799803824534/gmoot bag #3206)[1], NFT (340165584227257641/Boneworld #2056)[1], NFT (341433976634297639/Anti Artist #648)[1], NFT (342592677740157610/#5660)[1], NFT
                                   (342799776491964712/SolFractal #6348)[1], NFT (344349708260019077/Kiddo #7221)[1], NFT (344612967888116216/Anti Artist #304)[1], NFT (346539167234585496/Inverse Bear 3D #3209)[1], NFT
                                   (346939344284367901/Soulless #5299)[1], NFT (348216181070160639/Elysian - #1549)[1], NFT (349038480690686159/DOTB #4479)[1], NFT (352372457764950089/Metabaes #8839)[1], NFT
                                   (352459551261866651/SolDoge Strays #124)[1], NFT (352661885080800638/Roamer #352)[1], NFT (352990938721361630/ALPHA:RONIN #881)[1], NFT (353135180016729423/Rogue Circuits
                                   #228)[1], NFT (353359877389980951/First 50 #42)[1], NFT (354665180925586192/Baddies #2505)[1], NFT (356862685752613281/Soulless #1936)[1], NFT (357903077282892997/#1356)[1], NFT
                                   (359624903115279403/DOTB #2481)[1], NFT (360706415467098766/Astral Apes #1187)[1], NFT (363985005723914560/Divine Soldier #3728)[1], NFT (364982692521466044/Toasty Turts #2575)[1],
                                   NFT (365809467476029689/Elysian - #2588)[1], NFT (367731053349607556/PixelPuffins #1780)[1], NFT (368376346776265887/Nobu Sensei #579)[1], NFT (370124229700466085/#6152)[1], NFT
                                   (370594560453874648/Nobu Sensei #956)[1], NFT (371692562256689571/#4592)[1], NFT (371837712226744590/SKYLINE #3481)[1], NFT (372299732418266809/Danerob Collection #745)[1], NFT
                                   (372561011569191502/ApexDucks #3919)[1], NFT (372611717359493157/ApexDucks #5609)[1], NFT (372951399216303123/Gus Kenworthy - Bronze)[1], NFT (374134098693428488/DOTB #4278)[1],
                                   NFT (377613098727463826/Baddies #2202)[1], NFT (377628261676474948/ApexDucks #986)[1], NFT (378352322437359383/Gloom Punk #4455)[1], NFT (378858371807318818/Mental Art Series
                                   #4)[1], NFT (378913348504230610/#4157)[1], NFT (381918743568583746/Baddies #201)[1], NFT (382547111590776183/Rat Bastard #201)[1], NFT (389704762434092516/3D CATPUNK #2915)[1],
                                   NFT (390216804873194836/Solninjas #4142)[1], NFT (390725673496287156/DOTB #570)[1], NFT (391054862680760741/Soulless #3411)[1], NFT (393669412174687658/#6087 Inverse Bear)[1], NFT
                                   (395438912690198413/3D CATPUNK #4582)[1], NFT (396157830598784590/Soulless #6689)[1], NFT (396855590395832383/Sigma Shark #924)[1], NFT (401140185526985431/The Hellions #957)[1],
                                   NFT (401933690676315855/6101)[1], NFT (403651074270224296/Rox #288)[1], NFT (404056760218686337/Bahrain Ticket Stub #2477)[1], NFT (404381354366601388/#6242)[1], NFT
                                   (405695608922299295/Elysian - #2356)[1], NFT (405721333067347269/ApexDucks #7166)[1], NFT (407145891702715949/Careless Cat #605)[1], NFT (409182863187016374/Ghoulie #6777)[1], NFT
                                   (411591321027650061/PixelPuffins #6474)[1], NFT (413505107310753268/Monk #2212)[1], NFT (413876207860743145/Boneworld #4104)[1], NFT (416851727832737601/Mental Art Series)[1], NFT
                                   (421776969125972132/Half Dead # 1190)[1], NFT (422871540643165894/ApexDucks #760)[1], NFT (425180487734982628/Megalodon Rogue Shark Tooth)[1], NFT (426178966115637315/#3934)[1],
                                   NFT (429078996958670144/DOTB #1366)[1], NFT (430641169834456758/#5328)[1], NFT (431878912211327602/Anti Artist #88)[1], NFT (432869118911899569/Gangster Gorillas #4055)[1], NFT
                                   (432927646631363368/3655)[1], NFT (433115347012089586/Divine Soldier #5506)[1], NFT (433288232393709749/sheep_2481)[1], NFT (434070487697763712/Goblin Experiment 10348)[1], NFT
                                   (434921607532756175/Divine Soldier #1894)[1], NFT (437250522369216204/ApexDucks #6917)[1], NFT (437558154802124743/Nois3)[1], NFT (437607795814893581/Nois3)[1], NFT
                                   (437868864698719156/DOTB #1090)[1], NFT (442957010955448056/#3298)[1], NFT (445466428597949381/Toasty Turts #4286)[1], NFT (445816484225447539/SolFractal #3154)[1], NFT
                                   (448833278577299699/The Tower #356-13)[1], NFT (449310003179795592/#6271)[1], NFT (451875950199707911/Reclaimed Tower #28)[1], NFT (453146796714252407/Autumn 2021 #1987)[1], NFT
                                   (453278543673511310/Mental Art Series #7)[1], NFT (453686467899915405/Highland Mesa #175)[1], NFT (454535854988676641/ApexDucks Halloween #1987)[1], NFT
                                   (456374160064443953/PixelPuffins #3179)[1], NFT (460134212066340161/Miner Bot 362)[1], NFT (460825785187643843/The Hellions #6352)[1], NFT (465573864951230636/Solana Islands #1389)[1],
                                   NFT (467435859324485294/DOTB #2454)[1], NFT (469479746117948635/ApexDucks Halloween #3145)[1], NFT (476599849901749229/DOTB #2732)[1], NFT (477600317069969212/Solbucks Brew
                                   Club #4981)[1], NFT (478950493151795748/#5738)[1], NFT (480389537996070084/Inaugural Collection #1775)[1], NFT (481480043464865019/#5369)[1], NFT (482805497332523736/Sigma Shark
                                   #4231)[1], NFT (483744291332536407/PixelPuffins #4554)[1], NFT (484550173526802898/#2050 Inverse Bear)[1], NFT (485835487729634695/#6475)[1], NFT (486937431028817091/Nois3)[1], NFT
                                   (487096114000207335/Autumn 2021 #336)[1], NFT (491190018023633689/Solana Penguin #2711)[1], NFT (491281621375160127/DOTB #3957)[1], NFT (493412893364957812/Solana Surfer
                                   #1632)[1], NFT (495697248916758128/Amethyst jewelfly)[1], NFT (502524543816969920/5047)[1], NFT (503670609883959375/#4948)[1], NFT (504919944820130150/Nobu Sensei #137)[1], NFT
                                   (511120729158527784/#5566)[1], NFT (511427078316680403/Fae #3030)[1], NFT (513516070003462236/DOTB #4043)[1], NFT (516030755428307817/#4477)[1], NFT (516289014609194274/Scoop
                                   #195)[1], NFT (519945042731099288/Divine Soldier #462)[1], NFT (521238441372061572/Sigma Shark #5651)[1], NFT (522436422658230887/Nobu Sensei #134)[1], NFT
                                   (523142839385565961/#5939)[1], NFT (524826213843967445/Mental Art Series #2)[1], NFT (526112676060347784/Mental Art Series #6)[1], NFT (529446346881079787/Entrance Voucher #29605)[1],
                                   NFT (531360324471543916/#3219)[1], NFT (532555364819603562/ApexDucks #5082)[1], NFT (532908231093157014/Inaugural Collection #1109)[1], NFT (539001402149503777/#4786)[1], NFT
                                   (540065078454034701/Gangster Gorillas #2049)[1], NFT (540795724876792971/ROLE#354)[1], NFT (541556908791733135/ApexDucks #5723)[1], NFT (543197887022783022/Inaugural Collection
                                   #530)[1], NFT (543337600383104622/Reclaimed Tower #225)[1], NFT (544540883930918547/#3292)[1], NFT (545270131177232802/#5559)[1], NFT (547674299148957100/Kiddo #5881)[1], NFT
                                   (548725779588385166/Miner Bot 552)[1], NFT (549160923424782356/Careless Cat #812)[1], NFT (549881768474920810/Careless Cat #991)[1], NFT (551265451504382243/DOTB #180)[1], NFT
                                   (552453194786921544/Scoop #720)[1], NFT (552527039613864209/ALPHA:RONIN #558)[1], NFT (553665686816248259/Scoop #187)[1], NFT (556357209371095757/Lorenz #289)[1], NFT
                                   (556918315521781871/Divine Soldier #2312)[1], NFT (557401541431712698/#6922)[1], NFT (558670002859494662/Soulless #7649)[1], NFT (560201291768121415/Megalodon Rogue Shark Tooth)[1],
                                   NFT (561031579817207585/Baddies #422)[1], NFT (561191967028247716/#6918)[1], NFT (563210529026657022/#4700)[1], NFT (564047466928879279/#2618)[1], NFT
                                   (564184590472764918/PixelPuffins #2055)[1], NFT (564441012052912847/#2360)[1], NFT (564468643921079640/ALPHA:RONIN #823)[1], NFT (565524421109791006/Mental Art Series #5)[1], NFT
                                   (566676910469729245/Solana Penguin #4134)[1], NFT (567601147562355621/#6466)[1], NFT (568173061057403040/Solana Penguin #82)[1], NFT (569500979156936613/Beyond Reach #82)[1], NFT
                                   (571503391727622288/3D CATPUNK #8059)[1], NFT (572608270298616610/Solana Penguin #4952)[1], NFT (573370886980264169/Nois3)[1], NFT (574793482462838555/Anti Artist #54)[1],
                                   SOL[.18515056], USD[0.51], USDT[.00583]
08041219                           AAVE[9.83016], BTC[1.2922065], ETH[7.245408], ETHW[7.245408], LINK[109.902], MATIC[749.25], SOL[63.01093], USD[1730.24]
West Realm Shires Services Inc.                                                    Case 22-11068-JTD      Doc F-3:
                                                                                               Amended Schedule 1754      Filed
                                                                                                                   Nonpriority     06/27/23
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                                                                                                                                         Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08041222                           DOGE[1], USD[0.00]

08041225                           BTC[.00079545], CUSDT[1], USD[0.00]

08041226                           SOL[.2], USD[3.46]

08041257                           DOGE[1], USD[0.93], USDT[0.00000001]                                                                                                                                                    Yes

08041267                           BRZ[1], CUSDT[3], ETH[.01228372], ETHW[.01228372], NFT (492828654206290243/Doggo)[1], SHIB[446428.57142857], USD[1.16]

08041269                           SHIB[2.66058437]                                                                                                                                                                        Yes

08041277                           BF_POINT[200], BRZ[1], CUSDT[10], DOGE[151.51342757], ETH[.05045586], ETHW[.04982658], SHIB[18832833.14829065], TRX[1], USD[0.00]                                                       Yes

08041288                           CUSDT[2], USD[0.01]                                                                                                                                                                     Yes

08041295                           USD[7.04]

08041306                           USD[0.00]                                                                                                                                                                               Yes

08041316                           BRZ[1], USD[0.00]

08041317                           USD[0.80]

08041322                           BTC[.00103497], CUSDT[7], DOGE[399.22921145], ETH[.05657622], ETHW[.05587501], SHIB[1942252.28112877], USD[0.00]                                                                        Yes

08041327                           BTC[.0026105], CUSDT[2], SOL[.40982039], USD[0.00]

08041331                           USD[20.00]

08041333                           BAT[1], BRZ[4], CUSDT[8], DOGE[7.00057537], ETH[.00000381], ETHW[.41710858], LINK[33.01648137], MATIC[501.41365676], SHIB[21], TRX[6], USD[1.89], USDT[1.06813852]                      Yes

08041348                           USD[0.00]

08041355                           BTC[.0023], ETH[.011], ETHW[.011], SOL[.00999], USD[0.85]

08041357                           AAVE[0.29654970], BTC[0], CUSDT[0], DOGE[1.00034584], ETH[0.02622903], ETHW[0.02590071], LINK[.00000297], MATIC[.00004732], SHIB[1], SOL[.17284749], TRX[2], USD[0.05], YFI[0.00025690] Yes

08041379                           SOL[.04110716], TRX[1], USD[0.00]

08041393                           USD[500.01]

08041394                           CUSDT[1], ETH[.00306602], ETHW[.00306602], USD[15.00]

08041395                           ETH[.01739147], ETHW[.01739147]

08041400                           BTC[.06021307], DOGE[740.0195389], MATIC[1216.85819288], SHIB[1], TRX[1], USD[0.00]                                                                                                     Yes

08041413                           USDT[1.367518]

08041415                           BTC[0], ETH[0], ETHW[0], NFT (392778312117749408/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #110)[1], USD[0.20], USDT[0]                            Yes

08041417                           CUSDT[1], SOL[.44613238], USD[0.00]                                                                                                                                                     Yes

08041425                           BAT[.635], SHIB[18200], USD[1.24]

08041435                           USD[10.85]                                                                                                                                                                              Yes

08041438                           KSHIB[770], SOL[1.03801], USDT[8.089157]

08041456                           BTC[0], DOGE[1], SHIB[1], USD[0.69]

08041482                           BRZ[2], BTC[.00000007], CUSDT[7], DOGE[5.00400158], SHIB[4417904.98602492], TRX[3], USD[1523.09]                                                                                        Yes

08041484                           USD[0.00]

08041485                           ETH[2.49549852], ETHW[2.49445041], SOL[.00094064], USD[4.37]                                                                                                                            Yes

08041487                           BRZ[1], DOGE[1], LINK[.00004538], NFT (340266515944950938/Dosis Heath #4)[1], NFT (531306772195698397/2974 Floyd Norman - OKC 4-0155)[1], SHIB[14], SOL[.0000093], TRX[5], USD[32.25]   Yes

08041492                           USD[0.77]

08041496                           CUSDT[1], USD[0.00]

08041506                           USD[0.47]

08041508                           USD[542.51]                                                                                                                                                                             Yes

08041515                           SOL[2.06361265], USD[0.00]

08041522                           USD[542.53]                                                                                                                                                                             Yes

08041529                           BAT[0], BTC[0], CUSDT[2.95113778], USD[13.33]

08041539                           CUSDT[1], DOGE[1], SOL[.00003271], TRX[1], USD[0.00]                                                                                                                                    Yes

08041543                           BAT[1], BRZ[1], CUSDT[1], GRT[1], USD[0.01]

08041547                           BTC[.00015815], DOGE[39.94144189], ETH[.00233701], ETHW[.00230963], SOL[.04441817], TRX[1], USD[0.00]                                                                                   Yes

08041549                           BAT[1.01353354], CUSDT[11], DOGE[4], NFT (374653805520796116/Warriors 75th Anniversary Icon Edition Diamond #890)[1], SHIB[7], SOL[127.91047943], TRX[1], USD[417.50]                   Yes

08041556                           USD[0.01], USDT[0]                                                                                                                                                                      Yes

08041557                           BRZ[105.29641154], BTC[0], CUSDT[6], DOGE[125.93506984], ETH[0.00000001], SHIB[6], SOL[.00000001], TRX[3], USD[0.00]                                                                    Yes

08041560                           CUSDT[1], DOGE[1], USD[0.01]                                                                                                                                                            Yes

08041563                           CUSDT[3], ETH[.021699], ETHW[.021699], SHIB[2659102.9959227], SOL[.20445281], USD[0.00]

08041564                           CUSDT[1], TRX[1], USD[0.01]                                                                                                                                                             Yes

08041581                           SHIB[8507019.29008932], USD[0.00]

08041587                           USD[0.00]                                                                                                                                                                               Yes

08041594                           CUSDT[4], TRX[549.94547094], USD[0.00]                                                                                                                                                  Yes

08041596                           BTC[0], MKR[.000356], SOL[0], USD[0.00], USDT[0.00000171]

08041599                           BAT[5.47232796], BRZ[1], BTC[.00102979], CUSDT[9], ETH[.10143825], ETHW[.10039611], GRT[89.81396361], MATIC[28.30819356], SHIB[3], SOL[.07744991], USD[0.00]                            Yes

08041600                           ETH[.00121408], ETHW[.0012004], SOL[.00046357]                                                                                                                                          Yes

08041606                           CUSDT[1], KSHIB[276.80090126], SHIB[2], USD[0.01], USDT[0.03974795]                                                                                                                     Yes
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08041612                              SOL[1.99]

08041614                              DOGE[40.9914894], ETH[.0023768], ETHW[.00234944], MATIC[5.45138966], SHIB[188917.05331755], SOL[.04344172], TRX[1], USD[0.00]                                                           Yes

08041618                              CUSDT[1], SOL[.08262737], USD[0.00]

08041630                              USD[0.81]

08041636                              AVAX[0], BAT[1], BF_POINT[300], BTC[0.00201060], DAI[0.01021909], ETH[0.02065844], ETHW[0], MATIC[10.97205539], SHIB[51], SOL[.00005595], TRX[7], USD[92.37], USDT[0]                   Yes

08041638       Contingent, Disputed   BRZ[30.045521], KSHIB[17.96658179], LTC[.00997217], SHIB[18159.80589264], TRX[9.41504009], USD[0.00]                                                                                    Yes

08041644                              SOL[.00000001]

08041646                              DOGE[.964], GRT[26.991], SOL[.05], USD[6.67]

08041647                              NFT (339553063285596724/FTX - Off The Grid Miami #657)[1]

08041655                              BTC[.00007972], CUSDT[2], DOGE[2], ETH[.03484395], ETHW[.03440889], MATIC[2.69082355], SHIB[246737.44369967], SOL[.36563893], TRX[1], USD[1.12]                                         Yes

08041660                              DOGE[999], ETH[.29389], ETHW[.29389], MATIC[269.73], SHIB[10094900], SOL[1.999], USD[3.57]

08041663                              BTC[.00021482], ETH[.01174933], ETHW[.01159885], NFT (427375048392184284/Solninjas #531)[1], SHIB[12870315.48631224], SOL[0.73659171], USD[0.01]                                        Yes

08041687                              BTC[.00017943], CUSDT[2], DOGE[30.13091221], SHIB[206139.56427183], SOL[.0453454], USD[0.27]                                                                                            Yes

08041692                              CUSDT[1], SOL[2.01427448], USD[0.00]

08041699                              USD[0.00]                                                                                                                                                                               Yes

08041710                              SHIB[6288888.88], USD[0.16]

08041718                              AAVE[12.46288392], AVAX[18.61706727], BAT[1], DOGE[11924.27432194], GRT[11246.99930003], MATIC[0], MKR[1.11319214], NFT (317256670406256591/Sigma Shark #1095)[1], NFT                  Yes
                                      (353987194507155604/SKYLINE #3855)[1], NFT (359733833417788004/The Tower #228-13)[1], NFT (373368010555349332/SKYLINE #3807)[1], NFT (381598379419575217/Space Bums #6548)[1],
                                      NFT (398971925285528567/Divine Soldier #6886)[1], NFT (405496232539387918/Divine Soldier #1240)[1], NFT (406887587585846949/The Tower #42-13)[1], NFT (414926078938885750/Sigma Shark
                                      #4910)[1], NFT (448130401802587801/Space Bums #6993)[1], NFT (525241389476722703/ALPHA:RONIN #393)[1], NFT (550531570370395412/Divine Soldier #7071)[1], SHIB[245701798.93405762],
                                      SOL[60.12533334], TRX[0], UNI[3.9830235], USD[21.25], USDT[2.06384570]
08041725                              CUSDT[820.59515294], DOGE[530.03334219], SHIB[156536.82240179], TRX[46.69687107], USD[5.87]                                                                                             Yes

08041735                              USD[20.00]

08041744                              USD[100.00]

08041747                              AAVE[.0550631], MATIC[19.34446459], USD[0.00]

08041755                              DOGE[4.22747787], SOL[2.18876392], SUSHI[0], UNI[0], USD[0.00]                                                                                                                          Yes

08041756                              CUSDT[1], SHIB[428375.59972583], USD[0.00]

08041770                              BF_POINT[200], BTC[.02695711], TRX[2], USD[1739.24]                                                                                                                                     Yes

08041771                              SOL[.00060862], USD[25.00]

08041773                              ETH[.01709562], ETHW[.01709562], TRX[1], USD[0.00]

08041775                              BRZ[2], CUSDT[6], DOGE[1], TRX[2], USD[0.00]                                                                                                                                            Yes

08041781                              SOL[.027]

08041782                              BTC[.01084958], DOGE[3066.3416692], GRT[1], SHIB[2273864.5155473], TRX[1], USD[0.03]                                                                                                    Yes

08041783                              AAVE[.00385757], BCH[.01021233], BRZ[11.07080048], BTC[.00045794], DOGE[19.98525097], ETH[.00186243], ETHW[.00186243], GRT[1.53353744], KSHIB[151.50739637], LINK[.09011862],
                                      LTC[.03330219], MATIC[3.00050101], PAXG[.00109129], SHIB[239470.42991197], SOL[.04048278], TRX[74.53678582], USD[12.00], YFI[.00003005]
08041786                              BTC[.18863239], CUSDT[1], DOGE[2], GRT[1], USD[750.00], USDT[1]

08041791                              USD[0.00]

08041796                              USD[100.00]

08041799                              USD[0.66]

08041806                              BTC[0], ETHW[0.41368600], LINK[78.3566], MATIC[1836.72], USD[0.00], USDT[0.00012481]

08041820                              USD[10.79]                                                                                                                                                                              Yes

08041822                              CUSDT[1.03963494], TRX[5003.36510532], USD[0.01]                                                                                                                                        Yes

08041823                              SOL[0], TRX[23.63846772], USDT[0.05862449]

08041824                              BTC[0], DOGE[1], SHIB[56.10943395], USD[0.00]                                                                                                                                           Yes

08041825                              CUSDT[1], DOGE[2], SOL[1.85335983], TRX[1], USD[0.00]

08041836                              USD[10.00]

08041839                              NFT (294523515067914035/Coachella x FTX Weekend 1 #26576)[1]

08041842                              GRT[16.983], SUSHI[2.4975], USD[0.22]

08041844                              CUSDT[12], TRX[15.16148036], USD[0.00]                                                                                                                                                  Yes

08041845                              BTC[.02630933], CUSDT[4], DOGE[2], ETH[.94831231], ETHW[.94831231], KSHIB[1165.5978911], SOL[.92590937], SUSHI[11.72034962], USD[50.00], USDT[99.47055701]

08041848                              SHIB[8791900], USD[4.85]

08041849                              CUSDT[1], MATIC[120.91343613], USD[0.00]                                                                                                                                                Yes

08041852                              BCH[.07874123], CUSDT[11], TRX[1], USD[0.00]                                                                                                                                            Yes

08041859                              CUSDT[1.0005551], SHIB[7], USD[25.06]                                                                                                                                                   Yes

08041861                              BAT[533.7474826], LINK[70.48151543], MATIC[489.35096836], SOL[47.24285695], USD[0.19], USDT[0.78775396]

08041862                              BRZ[1], CUSDT[7], DOGE[4], ETH[0], GRT[2.00775929], LTC[0], SOL[0], TRX[2], USD[0.00]                                                                                                   Yes

08041864                              SOL[.14989582]

08041881                              USD[0.00], USDT[0]

08041884                              TRX[23766.698365]

08041896                              CUSDT[1], SHIB[1791793.58537896], USD[0.00]

08041901                              ETH[.00792166], ETHW[.00792166], SHIB[634979.22931785], TRX[1], USD[0.01]
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                                                                                                                                         Customer Claims                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08041904                           USD[0.65]

08041907                           CUSDT[1], ETH[.01192843], ETHW[.01192843], USD[0.00]

08041911       Contingent,         BTC[0], ETH[0], NFT (436765126641810234/The Hill by FTX #998)[1], SOL[156.50859329], USD[0.00]                             Yes
               Unliquidated
08041918                           ETH[.13075405], ETHW[.13075405], USD[0.00]

08041920                           SHIB[1], TRX[240.10699946], USD[0.00]                                                                                      Yes

08041923                           BAT[16.10516768], BCH[.61088665], BRZ[1], CUSDT[8], DOGE[2], SHIB[11277958.66330513], SOL[6.84714606], TRX[3], USD[4.80]   Yes

08041925                           NFT (548170690474654178/Coachella x FTX Weekend 1 #14628)[1]

08041936                           USD[1.00]

08041949                           CUSDT[11], DOGE[2], USD[0.01]                                                                                              Yes

08041950                           NFT (551835883451582080/Coachella x FTX Weekend 2 #12746)[1], SOL[51.59], USD[838.10]

08041955                           CUSDT[2], USD[0.90]                                                                                                        Yes

08041960                           BRZ[2], CUSDT[6], LTC[.35842926], TRX[3], USD[0.00]

08041962                           USD[2.15]

08041963                           ETHW[.000556], SOL[.00046646], USD[0.00]

08041965                           SHIB[199025.64774935], USD[0.00]

08041971                           USD[1.13]

08041982                           CUSDT[1], SHIB[1914341.526255], USD[0.00]                                                                                  Yes

08041984                           SHIB[10046212.57785814], TRX[1], USD[0.00]

08041989                           USD[0.03]                                                                                                                  Yes

08041994                           SHIB[1606100], SOL[4.91944], USD[9.12]

08041996                           SHIB[7790031.34015322], TRX[1], USD[0.00]                                                                                  Yes

08041997                           USD[0.00], USDT[0]

08041999                           SOL[.00541477], USD[0.00]

08042000                           BAT[1], USD[0.00]                                                                                                          Yes

08042001                           USDT[0]

08042002                           BTC[0], USD[0.00]

08042005                           SHIB[88533.01700276], USD[94.29]

08042013                           NFT (321197651351999963/FTX - Off The Grid Miami #4550)[1]

08042017                           CUSDT[2], SHIB[3079629.1975623], USD[0.00]

08042025                           USD[0.00], USDT[0]

08042035                           BRZ[1], CUSDT[8], DOGE[2], SHIB[2], TRX[3], USD[0.00], USDT[1.01258994]

08042048                           BTC[.0011783], CUSDT[1], KSHIB[.0092006], SHIB[17.6011546], TRX[1], USD[0.00]                                              Yes

08042053                           CUSDT[1], DOGE[75.28488364], SHIB[85595.91728394], USD[0.00]

08042056                           SHIB[0], SOL[0], USD[0.00]                                                                                                 Yes

08042059                           ETH[.11464742], ETHW[.11352733], TRX[1], USD[3.67]                                                                         Yes

08042060                           DOGE[1], ETH[.08541602], ETHW[.08438406], TRX[3.03950584], USD[0.00]                                                       Yes

08042065                           ETH[0], SOL[2.18088160], USD[0.00]

08042066                           ETH[5.042994], ETHW[.000131], USD[299.55]

08042078                           SOL[.00000628], USD[0.01]

08042082                           USD[0.00]                                                                                                                  Yes

08042088                           USD[0.01]                                                                                                                  Yes

08042091                           USD[10.85]                                                                                                                 Yes

08042099                           ETH[0], SOL[1.00140965], USD[0.00]

08042104                           BRZ[2], CUSDT[5], DOGE[3], SHIB[3], TRX[1], USD[0.70]                                                                      Yes

08042107                           SOL[.0558]

08042114                           USD[1.40]

08042117                           SOL[.45104858], TRX[1], USD[0.00]                                                                                          Yes

08042121                           KSHIB[18460], SHIB[19980000], USD[931.99]

08042123                           ALGO[.011], BTC[0], ETH[0], MATIC[299.7], SOL[14.73756124], USD[0.22], USDT[0.00000001]

08042126                           USD[20.00]

08042128                           DOGE[1], TRX[1], USD[0.00], USDT[0]

08042133                           BTC[.04840896], SOL[9.13086], USD[0.92]

08042139                           SHIB[182381.90771475], USD[0.00]

08042142                           ETHW[1.01986383]

08042158                           ETH[.00108712], ETHW[.00108712], USD[0.00]

08042164                           CUSDT[1], ETH[.00503331], ETHW[.00496486], USD[0.06]                                                                       Yes

08042165                           BTC[.8766225], ETH[1.998], ETHW[1.998], SHIB[87612300], USD[189.16]

08042169                           BCH[5.10726247], BTC[.06174284], DOGE[264.90601662], ETH[.13415954], ETHW[.04956128], LTC[6.26212539], USD[0.04]
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08042173                              CUSDT[1], ETH[.00464898], ETHW[.00464898], USD[0.00]

08042185                              SOL[.00627405]

08042192                              BTC[0], NFT (332189235663909743/MagicEden Vaults)[1], NFT (349292170166781707/Sigma Shark #2052)[1], NFT (375999368843112685/Pesky Crystal)[1], NFT (377368687313784806/Space Bums    Yes
                                      #5692)[1], NFT (404167584067961455/Penguin Brawler #2379)[1], NFT (434938746427947326/MagicEden Vaults)[1], NFT (458628319180045988/MagicEden Vaults)[1], NFT
                                      (472009226799152145/MagicEden Vaults)[1], NFT (508971855428807617/PeskyPenguins.io)[1], NFT (528689796987092949/Eitbit Ape #3726)[1], NFT (544380028219160906/MagicEden Vaults)[1],
                                      NFT (570816161042554792/Pesky Penguins #626)[1], TRX[1]
08042202                              NFT (367711295514911435/Sun Set #871)[1], NFT (426145610349144028/Sun Set #741)[1], NFT (545717425241842674/Reflector #511)[1], USD[2.82], USDT[.00235787]

08042204                              CUSDT[2], SHIB[928850.0835965], SOL[.20396771], USD[0.00]

08042206                              USD[0.00]

08042207                              BTC[.00935141], DOGE[2], SHIB[9811896.11458359], USD[0.00]                                                                                                                            Yes

08042216                              DOGE[1], USD[0.17]                                                                                                                                                                    Yes

08042231                              SHIB[201524.7735924], USD[1.09]                                                                                                                                                       Yes

08042232                              USD[0.00], USDT[0]

08042234                              DOGE[1], USD[0.00]                                                                                                                                                                    Yes

08042235                              BAT[0], DOGE[0], ETH[0], SHIB[0], SOL[0], USD[0.00], USDT[0]

08042243                              BRZ[1], SOL[.00002731], TRX[1], USD[0.00]                                                                                                                                             Yes

08042245                              BAT[1], BRZ[104], DOGE[1], ETH[.0009991], ETHW[.0009991], SHIB[2], TRX[1], USD[0.01], USDT[0]

08042249                              TRX[20.46846941], USDT[0]                                                                                                                                                             Yes

08042250                              BRZ[1], CUSDT[9], DOGE[3], GRT[0], LINK[0], SOL[0], TRX[2.02244218], USD[0.00]                                                                                                        Yes

08042263       Contingent, Disputed   USD[0.00], USDT[0.00004336]

08042265                              CUSDT[1], SOL[.00003904], USD[0.00]

08042269                              USD[155.00]

08042270                              BAT[0], DOGE[206.70867928], SHIB[1], SOL[0], USD[0.00]                                                                                                                                Yes

08042276                              SHIB[1], SOL[0.00100001], USD[0.01], USDT[0]                                                                                                                                          Yes

08042302                              CUSDT[1], DOGE[1], SOL[3.03082732], TRX[106.67321632], USD[0.00]

08042309                              CUSDT[1], DOGE[426.50141941], SHIB[361138.11948354], SOL[.00000141], UNI[.00000427], USD[0.03]                                                                                        Yes

08042316                              DOGE[749.5], USD[20.42]

08042323                              SOL[.00828042], USD[0.00]                                                                                                                                                             Yes

08042324                              SOL[.04406391], USD[10.85]                                                                                                                                                            Yes

08042325                              CUSDT[1], SOL[.19497583], USD[5.43]                                                                                                                                                   Yes

08042326                              AUD[0.00], CUSDT[3], KSHIB[171.09317734], SHIB[3949454.3023675], USD[0.75]                                                                                                            Yes

08042330                              DOGE[2], SHIB[1], USD[0.01], USDT[80.57422727]                                                                                                                                        Yes

08042334                              BTC[0], USD[0.43]

08042339                              USD[0.00]                                                                                                                                                                             Yes

08042348                              SHIB[3400000], USD[2.45]

08042364                              BRZ[1], CUSDT[3], DOGE[0], TRX[1], USD[0.00]

08042374                              SHIB[1], USD[60.62]

08042375                              USD[0.06]

08042376                              BTC[.00011891], CUSDT[1], ETH[.0005396], ETHW[.0005396], MKR[.00063068], SHIB[94186.91900804], SOL[.00574885], TRX[1], USD[0.00]                                                      Yes

08042380                              SHIB[1], USD[47.26]                                                                                                                                                                   Yes

08042386                              AAVE[.1528985], CUSDT[24], TRX[4], USD[0.00], USDT[0]                                                                                                                                 Yes

08042392                              BTC[.00086236], TRX[1], USD[0.00], USDT[0.00025458]                                                                                                                                   Yes

08042393                              AVAX[10], BTC[.0556926], ETH[.00148396], GRT[1000], MATIC[.69284654], SOL[.24336325], UNI[50], USD[215.58], USDT[11.99995]

08042394                              SHIB[200000], USD[1.52]

08042404                              USD[0.00]

08042415                              SOL[3.10209211]                                                                                                                                                                       Yes

08042423                              SOL[.0000015]                                                                                                                                                                         Yes

08042430                              TRX[433.99978898], USD[542.51], USDT[216.99989461]                                                                                                                                    Yes

08042431                              SOL[.0724662], USD[0.00]

08042442                              BTC[0], USD[1.37]

08042451                              CUSDT[1], TRX[1], USD[0.21]                                                                                                                                                           Yes

08042459                              ETHW[140.36651868], GRT[1], TRX[1], USD[0.00], USDT[1.04142435]                                                                                                                       Yes

08042460                              DOGE[2], SOL[.44324431], SUSHI[8.27933924], USD[0.00]                                                                                                                                 Yes

08042463                              SHIB[903421.35860879], USD[0.00]                                                                                                                                                      Yes

08042464                              BTC[.0068972], CUSDT[6], DOGE[2], ETH[.0066749], ETHW[.00659282], GRT[9.80474347], SHIB[554216.00246421], SOL[.13219923], SUSHI[.00001512], TRX[2], USD[4.77]                         Yes

08042476                              SOL[.00000001]                                                                                                                                                                        Yes

08042479                              BTC[.00018561], CUSDT[2], USD[0.00]                                                                                                                                                   Yes

08042483                              BTC[0], USD[0.01]                                                                                                                                                                     Yes

08042484                              BRZ[1], DOGE[1], ETHW[.57792], SHIB[3], USD[3.15]

08042498                              USD[10.85]                                                                                                                                                                            Yes
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                                                                                                                                             Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08042515                              BTC[0.00285885], SOL[2.76723], USD[0.58]                                                                                                                                              Yes

08042522                              AVAX[1.79829], BTC[0], USD[1.92]

08042531                              USD[20000.00]

08042533                              USD[0.76]                                                                                                                                                                             Yes

08042536                              TRX[2], USD[0.00], USDT[0]                                                                                                                                                            Yes

08042548                              SHIB[1398600], SUSHI[.4995], USD[1.10]

08042550                              BAT[1.01477456], BRZ[3], CUSDT[5], DOGE[4], ETHW[.201426], SHIB[998275.30363625], TRX[1564.82191305], USD[3005.73], USDT[0.00036915]                                                  Yes

08042551                              CUSDT[7], DOGE[3], MATIC[27.09791375], SHIB[0], SOL[1.21177482], SUSHI[1.59070637], TRX[1], UNI[2.06655691], USD[0.00]                                                                Yes

08042553                              SOL[93.64031], USD[20.82]

08042556                              CUSDT[1], SHIB[948417.45084787], USD[0.01]                                                                                                                                            Yes

08042563                              CUSDT[1], ETH[.01928114], ETHW[.01904199], USD[0.00]                                                                                                                                  Yes

08042574                              BTC[.01492177], TRX[1], USD[9504.05]                                                                                                                                                  Yes

08042588                              BTC[.00103228], CUSDT[1], USD[0.00]                                                                                                                                                   Yes

08042605                              BRZ[2], ETH[0], SHIB[1], SOL[0], TRX[1], USD[0.00]                                                                                                                                    Yes

08042608                              DOGE[0], ETH[0], MATIC[0], SOL[0.00033392], USD[0.00]

08042611                              USD[0.00]

08042622                              LTC[0], SOL[0]

08042625                              ETH[.069811], ETHW[.069811], TRX[1], USD[0.00]

08042628                              CUSDT[1], DOGE[1], SHIB[1], SOL[0], TRX[1.04311183], USD[0.89]                                                                                                                        Yes

08042629                              BAT[108.0971387], BTC[.00602543], CUSDT[5], DOGE[1], ETH[.07471877], ETHW[.07379036], MATIC[43.11496714], SOL[1.45427221], TRX[30.20909582], USD[0.00]                                Yes

08042639       Contingent, Disputed   SOL[0], USD[0.00]                                                                                                                                                                     Yes

08042641                              AAVE[0], AVAX[0], BTC[0], ETH[0], LINK[0], LTC[0], MATIC[0], SHIB[1], SOL[0], SUSHI[0], UNI[0], USD[0.00], USDT[0]                                                                    Yes

08042647                              CUSDT[4], DOGE[200.16252701], ETH[.04620948], ETHW[.04563492], SHIB[4905863.82298864], USD[0.05]                                                                                      Yes

08042649                              USD[3.40]

08042658                              CUSDT[3], DOGE[1], ETH[.00000004], ETHW[.00000004], SHIB[2], SOL[.04762132], TRX[1], USD[629.92], USDT[0]                                                                             Yes

08042662                              SOL[0]

08042666                              CUSDT[1], KSHIB[1897.06559995], USD[16.39]                                                                                                                                            Yes

08042670                              BTC[.0075924], ETH[.107], ETHW[.107], USD[499.38]

08042671                              NFT (454682409716041676/Coogi #2022)[1]

08042674                              BTC[.00207565], CUSDT[1], DOGE[1], ETH[.10869839], ETHW[.10869839], NFT (375129535511864056/Tim Brown's Playbook: New York Jets vs. Oakland Raiders - December 2, 2002 #68)[1], NFT
                                      (478988043904300774/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #123)[1], USD[50.02]
08042686                              BAT[11.23605301], BTC[0.00481334], DOGE[1], SHIB[986667.63697107], USD[0.00], USDT[0.00000001]                                                                                        Yes

08042690                              CUSDT[6], DAI[13.48396044], DOGE[1], ETH[0.07076068], ETHW[0.06988312], LINK[1.69057429], LTC[.26215997], MATIC[27.12857996], SOL[.22072388], USD[0.00]                               Yes

08042692                              BRZ[181.71106755], CUSDT[4910.44615508], SHIB[6604232.75908861], SOL[2.69887156], TRX[995.77887102], USD[0.00], USDT[1.08153699], YFI[.00901992]                                      Yes

08042703                              DOGE[1], SHIB[2], USD[3.06]

08042708                              BRZ[2], CUSDT[15], NFT (374566300103274466/Megalodon Rogue Shark Tooth)[1], NFT (481524178158559171/Skull Love #14)[1], TRX[1], USD[0.00]                                             Yes

08042709                              MATIC[9.99]

08042710                              BTC[0.04518807], ETH[0], ETHW[0], USD[0.00], USDT[101.60444576]                                                                                                                       Yes

08042712                              NFT (331499228791673335/Reflection '19 #89)[1], USD[0.00]

08042742                              CUSDT[2], SHIB[2310286.73988], USD[0.00]                                                                                                                                              Yes

08042748                              CUSDT[3], GRT[118.15224419], SHIB[3594018.71172772], USD[0.12]                                                                                                                        Yes

08042760                              ETH[.094], ETHW[.094], USD[2.65]

08042763       Contingent, Disputed   NFT (367266154114152013/2974 Floyd Norman - CLE 5-0050)[1], SOL[.004775], USD[12.61]

08042766                              SOL[.05618288], USD[0.05]                                                                                                                                                             Yes

08042768                              USD[1.56]

08042777                              AAVE[7.5], ALGO[1396], AVAX[57.6], BTC[.000037], DOGE[16076], LINK[83.1], MATIC[1360], NEAR[273.7], SOL[32.37], SUSHI[488.5], UNI[131.1], USD[0.16], YFI[.062]

08042791                              SOL[0], USD[0.00]

08042800                              BRZ[1], BTC[.01068096], CUSDT[7], DOGE[6], ETH[.22149026], ETHW[.18437867], LINK[3.67209683], SHIB[4], TRX[2], USD[0.00]                                                              Yes

08042802                              SOL[10.63427432], USD[0.15]

08042809                              BTC[.00088372], CUSDT[4], SHIB[917461.15657877], SOL[.00000187], USD[0.00]                                                                                                            Yes

08042813                              ETHW[.421771], USD[0.29]

08042816                              CUSDT[5], DOGE[201.92182948], ETH[.01129043], ETHW[.01115363], SHIB[478294.07096353], SOL[.33289227], USD[162.60]                                                                     Yes

08042820                              BTC[.00000005], SHIB[18], USD[9086.62], USDT[2.04426473], YFI[0]                                                                                                                      Yes

08042822                              ETH[.00584066], ETHW[.00577226], SOL[.04442249], USD[5.41]                                                                                                                            Yes

08042823                              ETH[.00000199], ETHW[.00000199], USD[0.00], USDT[1.0821693]                                                                                                                           Yes

08042825                              BTC[.00193759]                                                                                                                                                                        Yes

08042829                              SOL[4.96667507], USD[0.00]                                                                                                                                                            Yes

08042844                              USD[100.00]

08042849                              ETH[.041], ETHW[.041], MATIC[69.93], SOL[2.79], USD[8.29]
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                                                                                                                                          Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08042866                           USD[32.55]                                                                                                                                                                            Yes

08042870                           DOGE[1], NFT (301310970351488949/The Hill by FTX #1829)[1], TRX[1], USD[0.00], USDT[0]                                                                                                Yes

08042875                           CUSDT[1], SHIB[4286136.43518756], USD[0.04]                                                                                                                                           Yes

08042877                           USD[0.00]

08042880                           TRX[7365.557773]

08042890                           USD[0.00]

08042891                           NFT (351496473483439690/Infinity #29)[1], TRX[1], USD[0.00]                                                                                                                           Yes

08042894                           BRZ[1], CUSDT[2], DOGE[1], GRT[1], TRX[3], USD[0.01]                                                                                                                                  Yes

08042901                           CUSDT[1], SOL[2.36866303], TRX[1], USD[0.00]                                                                                                                                          Yes

08042908                           AVAX[8.66697008], BF_POINT[100], BRZ[3], BTC[.00000013], CUSDT[23], DOGE[11.11921212], ETH[.00000923], ETHW[.79548367], GRT[1], LINK[2.20063674], LTC[.02009291], SHIB[25.39404255], Yes
                                   TRX[1247.30021112], USD[0.00], USDT[1.06496325]
08042912                           CUSDT[1], TRX[46.27116281], USD[0.00]                                                                                                                                                Yes

08042913                           AVAX[0], BTC[0], ETH[0.00000001], ETHW[0.00035180], SUSHI[0], TRX[0], UNI[0], USD[0.00], USDT[0]

08042915                           BTC[.0047], USD[4.91]

08042918                           BTC[.00002405], USD[0.00]

08042925                           ALGO[4], BTC[0.00015846], NEAR[1], USD[0.43]

08042931                           DOGE[1], SHIB[1771141.94102988], USD[0.00]                                                                                                                                            Yes

08042940                           SHIB[678100.39227575], USD[0.00]                                                                                                                                                      Yes

08042941                           USD[20.00]

08042943                           CUSDT[1], USD[0.00], USDT[1.08405852]                                                                                                                                                 Yes

08042950                           SOL[.00000716], USD[0.00]

08042952                           AAVE[.2269973], BAT[4117.10566], BCH[23.0324694], BTC[0.13979249], DOGE[7.36571], ETH[.01033332], ETHW[.01033332], GRT[27.91738], LINK[1.607609], LTC[92.6893922], MATIC[736.9812],
                                   MKR[.02283846], SHIB[1719908], SOL[27.3562198], SUSHI[555.06094], TRX[5.13911], UNI[3.129946], USD[8853.47], YFI[.02866351]
08042965                           BTC[.0003979], CUSDT[1], DOGE[1], SHIB[467829.23584424], USD[0.00]                                                                                                                    Yes

08042969                           ETHW[.0405009], USD[2.01]

08042970                           DOGE[1], SOL[.40980752], USD[0.00]

08042973                           SHIB[1533540.00799685], TRX[1141.84774487]                                                                                                                                            Yes

08042974                           CUSDT[3], DOGE[264.6258478], SHIB[1446278.69296074], USD[0.00]                                                                                                                        Yes

08042977                           BAT[1], CUSDT[4], SHIB[2], TRX[4], USD[864.51]

08042980                           BAT[113.89197482], BRZ[2], CUSDT[26], DOGE[8.20501144], KSHIB[40819.83855632], SHIB[48703530.31656253], TRX[1649.64683818], USD[0.01]                                                 Yes

08042983                           SOL[.00984], USD[0.00]

08043006                           ETHW[.1199224], USD[0.98]

08043007                           BRZ[1], CUSDT[3], DOGE[1], NFT (497581503158117012/Sigma Shark #5618)[1], SOL[.00000001], USD[0.00]                                                                                   Yes

08043013                           USD[25.00]

08043027                           SHIB[82918.73963515], SOL[.20455597], USD[0.00]

08043029                           USD[0.00]

08043031                           BRZ[1], CUSDT[5], ETH[.00593305], ETHW[.00586465], USD[0.00]                                                                                                                          Yes

08043035                           BRZ[1], CUSDT[1], DOGE[2], ETH[.18313525], ETHW[.1828931], MATIC[335.5349274], TRX[1], USD[0.00], USDT[0.00459262]                                                                    Yes

08043036                           SOL[0], USD[0.00]                                                                                                                                                                     Yes

08043038                           BAT[1], BTC[0], SOL[0], USD[500.48], USDT[1.00026477]                                                                                                                                 Yes

08043040                           TRX[11], USD[0.25], USDT[0]

08043041                           BTC[0], TRX[0], USD[1.34], USDT[0]

08043054                           USD[40.00]

08043066                           SOL[.74270942], USD[0.00]

08043067                           CUSDT[2], MATIC[.29169276], USD[0.00]                                                                                                                                                 Yes

08043093                           TRX[11133.883744]

08043104                           USD[217.00]                                                                                                                                                                           Yes

08043106                           CUSDT[3], USD[0.32]                                                                                                                                                                   Yes

08043115                           BRZ[2], CUSDT[1], DOGE[1], ETHW[1.01218312], SHIB[5], TRX[2], USD[0.01], USDT[1.01394131]                                                                                             Yes

08043122                           USD[2.00]

08043125                           ETH[.00000001], TRX[1], USD[242.52]                                                                                                                                                   Yes

08043127                           CUSDT[1], DOGE[1], ETH[.01179273], ETHW[.01164225], SHIB[919630.15357702], USD[0.00]                                                                                                  Yes

08043134                           BRZ[1], CUSDT[5], DOGE[1], ETH[.01354952], ETHW[.09663857], SHIB[5], SOL[.74159513], TRX[4], USD[660.36]

08043137                           BAT[1], BRZ[1], DOGE[2], ETH[.04547586], SHIB[6], SUSHI[.00001446], TRX[3], USD[0.00]                                                                                                 Yes

08043139                           ETH[0], SOL[0], USD[0.00]

08043144                           CUSDT[2], DOGE[1], ETHW[.17360188], SHIB[2], SOL[9.77453652], TRX[4], USD[0.00]                                                                                                       Yes

08043146                           DOGE[1], SOL[4.83643378], TRX[1], USD[0.00]                                                                                                                                           Yes

08043147                           SOL[0.02112947]                                                                                                                                                                       Yes

08043150                           SOL[.006155], USD[584.46]

08043154                           BRZ[1], DOGE[1], SHIB[15030451.30618144], USD[0.41]                                                                                                                                   Yes
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                                                                                                                                         Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08043157                           CUSDT[3], SHIB[8600615.0050695], USD[8.57]                                                                                                                                                   Yes

08043162                           CUSDT[6], DOGE[103.30441455], GRT[24.71504038], MATIC[14.95250811], SHIB[431719.4571074], TRX[223.43086947], USD[0.00]

08043167                           MATIC[.33847312], PAXG[.00005129], USD[2.01]

08043168                           BTC[0], DOGE[118.25482026], ETH[0], ETHW[0.02372376], LINK[.00000626], NFT (438962977789617359/Barcelona Ticket Stub #2141)[1], NFT (510668232507158382/Australia Ticket Stub #1605)[1], Yes
                                   SHIB[41], TRX[1], USD[10.00]
08043170                           MATIC[1.00164518], USD[0.00], USDT[0]                                                                                                                                                    Yes

08043171                           ETH[.37679112], ETHW[0.37679112], USD[3031.22]

08043174                           ETH[0], SOL[.0007025], USD[0.00], USDT[0]

08043176                           SHIB[16815152.17680678]

08043184                           USD[0.00], USDT[0]

08043186                           SHIB[94607379.3755913]

08043200                           BRZ[1], DOGE[2], ETH[0], USD[0.00]                                                                                                                                                           Yes

08043202                           USD[0.00], USDT[0]                                                                                                                                                                           Yes

08043205                           BTC[.01095622], DOGE[1], ETH[.35360174], ETHW[.35345316], MATIC[197.57940166], SHIB[2050094.90925871], SOL[5.66825047], TRX[3], USD[0.00]                                                    Yes

08043224                           KSHIB[919.85324285], SHIB[.00000554]                                                                                                                                                         Yes

08043231                           AAVE[2.30043248], BF_POINT[300], BRZ[4], BTC[.00195782], CUSDT[16], ETH[11.54835385], ETHW[11.54434446], GRT[1], LINK[59.61069604], MATIC[262.11049445], SHIB[6], SOL[23.42776198],          Yes
                                   TRX[10], USD[0.00], USDT[0]
08043232                           LTC[1.12916849], TRX[1], USD[0.00]

08043240                           ETH[.0002], ETHW[.0002], MATIC[4746.25], SOL[174.875], USD[25760.79], USDT[0]

08043253                           USD[0.01]                                                                                                                                                                                    Yes

08043254                           BTC[0], ETH[0], USD[0.00]

08043257                           BTC[.00100932], DOGE[1], SHIB[1], SOL[.05555102], USD[0.04]                                                                                                                                  Yes

08043261                           BTC[.00001991], ETH[.00006467], ETHW[.324], USD[2293.65]

08043263                           BTC[0], DOGE[3.21415512], SHIB[44520.96228707], USD[0.00]                                                                                                                                    Yes

08043265                           USD[0.18]

08043271                           BTC[.00000005], SOL[.00000733], TRX[310.89530014], USD[0.01]                                                                                                                                 Yes

08043279                           BTC[.0004], ETH[.003], ETHW[.003], LINK[.1], USD[13.21]

08043285                           BRZ[1], BTC[.00264423], CUSDT[12], DOGE[5], SHIB[6], TRX[3], USD[6.49]                                                                                                                       Yes

08043288                           AVAX[15.19447693], BAT[2.03229834], BRZ[4], BTC[.03172366], CUSDT[19], DOGE[517.94822921], ETH[1.58015433], ETHW[1.57949059], MATIC[284.98607116], SHIB[4], SOL[21.57760404],                Yes
                                   TRX[4975.0325816], USD[0.00], USDT[2.16344441]
08043292                           BRZ[3], CUSDT[9], SOL[0], TRX[1], USD[0.00]                                                                                                                                                  Yes

08043297                           DOGE[1], SOL[4.82989127], TRX[1], USD[0.00]                                                                                                                                                  Yes

08043298                           BTC[0], ETH[0], USD[0.00]                                                                                                                                                                    Yes

08043305                           ETH[0], GRT[199.8], NFT (409587714281525126/Ferris From Afar #24)[1], USD[2.42]

08043326                           ETH[.01181238], ETHW[.0116619], TRX[1], USD[488.24]                                                                                                                                          Yes

08043329                           BRZ[2], CUSDT[7], DOGE[3], NFT (502606603021670790/6130)[1], SHIB[7], TRX[1], USD[0.00]                                                                                                      Yes

08043332                           CUSDT[2], USD[0.00]                                                                                                                                                                          Yes

08043336                           SOL[20.54504862], USD[0.86]

08043340                           USD[0.00], USDT[0]

08043342                           ALGO[.00226555], BTC[.00000035], DOGE[1], ETH[.00000084], ETHW[.07930347], LINK[.00104109], MATIC[50.9867755], SHIB[2], UNI[.00011619], USD[2.00]                                            Yes

08043343                           SHIB[2693800.05174358], TRX[1], USD[0.00]                                                                                                                                                    Yes

08043345                           ETH[.002], ETHW[.002], SOL[.09717308], USD[2.29]

08043350                           LTC[0], USD[0.00], USDT[0.00000197]

08043352                           USD[216.97]                                                                                                                                                                                  Yes

08043378                           BTC[.82272069], ETH[1.251057], ETHW[1.251057], SOL[18.76858], USD[44.45]

08043380                           USD[0.00], USDT[0.00034992]

08043389                           USD[0.00]

08043394                           MATIC[49.95], USD[105.50]

08043397                           AAVE[.14], BAT[47], BCH[.208983], BTC[.0023], DOGE[394], ETH[.021], ETHW[.021], GRT[94], LINK[1.7], LTC[.55], MATIC[20], MKR[.035], SHIB[2400000], SOL[.57], SUSHI[6.5], TRX[1024], UNI[3.2],
                                   USD[133.32], YFI[.003]
08043406                           BRZ[1], SOL[.00042448], TRX[1], USD[0.02]                                                                                                                                                     Yes

08043414                           SOL[.00413658], USD[0.00]

08043417                           SGD[1.00]

08043423                           CUSDT[2], USD[45.48]                                                                                                                                                                         Yes

08043425                           USD[100.00]

08043427                           BTC[.00006], USD[2513.39]

08043428                           DOGE[558.23059406], KSHIB[2700.15101763], SHIB[6007232.30064901], USD[0.00]                                                                                                                  Yes

08043433                           CUSDT[12], TRX[15.72656844], USD[0.01]                                                                                                                                                       Yes

08043446                           CUSDT[1], SOL[.08959791], USD[0.00]                                                                                                                                                          Yes

08043456                           AAVE[.00000209], BTC[.08505839], SOL[5.09686648], USD[0.00]

08043460                           BTC[.0195832], SHIB[2], TRX[1], USD[10405.13]                                                                                                                                                Yes
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08043467                           SHIB[198151.70326202], USD[0.00]                                                                                                                                                        Yes

08043470                           SOL[.23], USD[9950.90]

08043473                           USD[0.00], USDT[0]

08043475                           ETH[.01016893], USD[13.12]                                                                                                                                                              Yes

08043481                           SOL[.00646859], USD[0.00]

08043482                           CUSDT[3], SOL[0.00002125], TRX[1], USD[0.00]                                                                                                                                            Yes

08043485                           SOL[0], USD[0.00]

08043504                           USD[0.00]

08043508                           AVAX[0], BTC[0], ETH[0], ETHW[0], MATIC[0], NEAR[0], PAXG[0], SHIB[0], SOL[0.00000001], USD[0.00], USDT[0.09844236]                                                                     Yes

08043509                           SOL[.02095948], USD[0.13]

08043512                           USD[0.00]

08043515                           CUSDT[5], DOGE[1], MATIC[0.00096634], SOL[.81913882], TRX[1], USD[0.00]                                                                                                                 Yes

08043519                           CUSDT[1], ETH[.00424112], ETHW[.00424112], USD[0.00]

08043534                           DOGE[1], ETH[.03524591], ETHW[.03480815], USD[0.00]                                                                                                                                     Yes

08043537                           BTC[0], USD[1.37]

08043543                           USD[21.86]                                                                                                                                                                              Yes

08043545                           BTC[.05058124], LTC[1.44059533], SOL[1.20573672]                                                                                                                                        Yes

08043554                           DOGE[1], SHIB[906256.05319113], USD[54.25]                                                                                                                                              Yes

08043569                           CUSDT[2], USD[0.01]

08043572                           AAVE[0], AUD[0.00], BAT[0], BCH[0], BRZ[0], BTC[0], CAD[0.00], CUSDT[0], DAI[0], DOGE[0], ETH[0], EUR[0.00], GBP[0.00], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], MKR[0], PAXG[0],   Yes
                                   SGD[0.00], SHIB[0], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00], USDT[0.00019041], YFI[0], ZAR[0.00]
08043587                           USD[0.22]

08043589                           USDT[100]

08043602                           USD[1.64]

08043603                           CUSDT[2], DOGE[1], SOL[6.97589982], TRX[1], USD[2.72]                                                                                                                                   Yes

08043607                           USD[0.00], USDT[0]                                                                                                                                                                      Yes

08043613                           CUSDT[1], DOGE[1], SUSHI[2.08747019], TRX[1], USD[53.02]

08043616                           ETH[.00047743], ETHW[0.00047742]

08043617                           BF_POINT[200], BTC[0], NFT (356543438116407651/Good Boy #138)[1], NFT (390362958477088166/Bahrain Ticket Stub #474)[1], NFT (412514818390995628/Humpty Dumpty #237)[1], NFT             Yes
                                   (437378128464807305/Barcelona Ticket Stub #1856)[1], NFT (440800607118481346/Good Boy #5327)[1], NFT (463178097252632257/The Hill by FTX #977)[1], NFT (520455747856494829/Montreal
                                   Ticket Stub #20)[1], NFT (561907128807074950/FTX - Off The Grid Miami #49)[1], NFT (562499747038991727/FTX Crypto Cup 2022 Key #2446)[1], SOL[.00000001], USD[2.59], USDT[0]

08043632                           USD[57.44]

08043640                           BTC[.00017636], CUSDT[6], TRX[1], USD[0.00]                                                                                                                                             Yes

08043645                           BRZ[1], CUSDT[4], DOGE[3], SHIB[1], TRX[2], USD[0.01], USDT[1.0714896]                                                                                                                  Yes

08043649                           SOL[.095], USD[18.95]

08043660                           USD[0.00]

08043666                           SHIB[170969.39647803], USD[1.00]

08043675                           BTC[.0000998], DOGE[.98], USD[17.55]

08043692                           BAT[.05881261], USD[0.00]                                                                                                                                                               Yes

08043704                           DOGE[1], TRX[1], USD[0.01]                                                                                                                                                              Yes

08043711                           USD[0.00]

08043712                           ETH[.4], ETHW[.4], USD[214.71]

08043718                           BF_POINT[100], BTC[.00005935], USD[0.00], USDT[0.00000001]                                                                                                                              Yes

08043719                           CUSDT[1], DOGE[1], ETH[.00425384], ETHW[.00419912], SOL[2.14890112], USD[0.00]                                                                                                          Yes

08043720                           BTC[1.16684853], SHIB[1], USD[172552.19], USDT[0.00000001]                                                                                                                              Yes

08043723                           CUSDT[4], SHIB[897170.0679677], USD[0.00]                                                                                                                                               Yes

08043724                           DOGE[132.04517113], ETH[.04987664], TRX[1], USD[0.33]                                                                                                                                   Yes

08043726                           USD[0.00]

08043729                           CUSDT[1], SHIB[3400824.61224326], TRX[1], USD[5.00]

08043733                           BTC[0], CUSDT[1], DOGE[1], LINK[0.34791759], SOL[0.06890777], TRX[1], USD[0.00]                                                                                                         Yes

08043734                           CUSDT[1], DOGE[0], KSHIB[0], SHIB[2.54582216], USD[0.00], USDT[0]                                                                                                                       Yes

08043749                           USD[0.04]                                                                                                                                                                               Yes

08043760                           SOL[.21753521], USD[0.00]

08043774                           BF_POINT[300], NFT (521558922738137823/Coachella x FTX Weekend 1 #20069)[1]

08043775                           CUSDT[1], SHIB[5797181.22716161], USD[15.97]                                                                                                                                            Yes

08043792                           DOGE[1], SHIB[1], USD[0.00]

08043794                           BTC[.00863353], ETH[.07104664], ETHW[.07104664], SHIB[4870946.44668188], SOL[.89812427], USD[40.24]

08043797                           ETH[.001993], TRX[150], USD[3.75]

08043798                           ETHW[2.399], USD[8363.03]
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                                                                                                                                            Customer Claims                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08043801                              SOL[1.998], USD[4.52]

08043802                              DOGE[1], MATIC[61.89022807], USD[0.00]

08043805                              BRZ[119.94874629], CUSDT[350.09861146], GRT[24.96116759], SUSHI[4.36014911], TRX[1], USD[0.00]                                                                  Yes

08043812                              SHIB[186554.41950121], USD[0.50]                                                                                                                                Yes

08043815                              USD[100.00]

08043820                              USD[0.00]                                                                                                                                                       Yes

08043826                              USD[0.00]

08043834                              USD[10.85]                                                                                                                                                      Yes

08043846                              SOL[.00005578]                                                                                                                                                  Yes

08043847                              LINK[15.8941], USD[1.96]

08043851                              BRZ[1], CUSDT[1], DOGE[4], TRX[4], USD[0.00], USDT[3.00048101]

08043858                              MATIC[12.08328495], SOL[.98471663], SUSHI[5.67037254], USD[0.11]

08043873                              BTC[.00006037], USD[0.00]                                                                                                                                       Yes

08043891                              CUSDT[3], KSHIB[0], USD[39.31]                                                                                                                                  Yes

08043893                              USD[8.31]

08043896                              BTC[.00007967], CUSDT[2], MATIC[5.19838529], SOL[.0898204], TRX[216.26283399], USD[0.01]                                                                        Yes

08043900                              BTC[0], MATIC[.00207404], SHIB[10], USD[0.00], USDT[0]                                                                                                          Yes

08043905                              USD[0.00]

08043907                              DOGE[2], SHIB[1], SOL[.00000001], TRX[4], USD[6.91]

08043916                              DOGE[1], SOL[.76255569], USD[0.00]                                                                                                                              Yes

08043917                              NFT (471115428773162080/#777)[1], NFT (542876745726541361/#5990)[1]

08043918                              AVAX[.25531715], BTC[.00045651], CUSDT[12], DOGE[1], ETH[.02857203], ETHW[.02821635], LINK[2.99668885], SHIB[1], SOL[0.84686811], TRX[45.30716796], USD[0.38]   Yes

08043919                              DOGE[2051.72869683], TRX[1], USD[0.00]

08043925                              USD[1084.86]                                                                                                                                                    Yes

08043930                              USD[0.00]

08043940                              CUSDT[3], DOGE[925.1297661], SHIB[427715.99657827], SOL[.93743891], USD[0.00]

08043945                              SOL[0.13961073], USD[0.00]                                                                                                                                      Yes

08043953                              BAT[24.975], SUSHI[0], USD[3.47], USDT[.415292]

08043956                              BCH[.00000298], CUSDT[4], NFT (372109975707609488/Hall of Fantasy League #207)[1], USD[0.72]                                                                    Yes

08043960                              CUSDT[2], DOGE[2], SOL[.00000001], USD[0.01]                                                                                                                    Yes

08043966                              BRZ[1], CUSDT[19], DOGE[1212.03334615], ETH[.06333028], ETHW[0.06254418], SHIB[18846533.71373569], TRX[9], USD[0.00], USDT[0]                                   Yes

08043970                              USD[20.00]

08043972                              NFT (313730600684430020/Bahrain Ticket Stub #747)[1], USD[5.00]

08043973                              USD[50.01]

08043977                              SOL[0]

08043978                              USD[0.00]

08043987                              ETHW[2.318206], USD[0.90]

08043991                              ETH[0], USD[364.30]                                                                                                                                             Yes

08043993                              CUSDT[2], DOGE[.00000229], USD[23.12]                                                                                                                           Yes

08043996                              DOGE[1], SOL[.20689069], USD[0.01]

08043999                              BAT[1], SOL[0]

08044003                              CUSDT[2], USD[0.00]

08044013                              USD[100.00]

08044017       Contingent, Disputed   ETHW[0], USD[0.00]                                                                                                                                              Yes

08044020                              BRZ[1], SOL[10.96614878], TRX[1], USD[0.00]                                                                                                                     Yes

08044024                              USD[2338.65]

08044038                              BRZ[1], CUSDT[1], SHIB[193.60300635], USD[212.92]                                                                                                               Yes

08044053                              CUSDT[1], DOGE[1], SHIB[1705029.83802216], SOL[1.54532663], USD[0.00]

08044061                              AVAX[51.66109311], CUSDT[1], DOGE[1], ETH[1.06514598], ETHW[1.0646986], SHIB[1], USD[0.00]                                                                      Yes

08044072                              SOL[2.05], USD[0.57]

08044078                              CUSDT[2], SHIB[329218.10699588], SOL[.99653365], USD[0.00]

08044088                              USD[0.00]                                                                                                                                                       Yes

08044091                              SOL[.00002356], USD[0.00]                                                                                                                                       Yes

08044102                              SHIB[2120966.30605772], USD[0.00]

08044113                              BTC[0.00257542], SHIB[0], SOL[0], USD[0.01]

08044121                              BAT[1.01585017], SOL[2.19866347], USD[0.00]                                                                                                                     Yes

08044139                              BTC[0], LINK[0], USD[0.00], USDT[0.00000060]

08044150                              CUSDT[1], SOL[.22144123], USD[0.01]                                                                                                                             Yes
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                                                                                                                                         Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08044153                           USD[0.45]                                                                                                                                                                            Yes

08044169                           USD[542.47]                                                                                                                                                                          Yes

08044172                           BTC[.00049546], SOL[.00017912], USD[0.00]

08044185                           USD[0.00]

08044193                           USD[0.00]

08044196                           CUSDT[1], KSHIB[1276.25164551], USD[0.01]                                                                                                                                            Yes

08044218                           DOGE[0], USD[0.00]

08044220                           AAVE[0.14033229], USD[0.00]                                                                                                                                                          Yes

08044232                           AAVE[0], BTC[0], GRT[1], MATIC[10.09602562], NFT (384416717238459232/Humpty Dumpty #83)[1], NFT (494350692183065454/Monaco Ticket Stub #70)[1], SHIB[5], UNI[0], YFI[0.00099982]     Yes

08044238                           USD[0.00], USDT[0]

08044239                           DOGE[737], USD[0.00], USDT[1.94255906]

08044253                           CUSDT[1], DOGE[250.29938122], USD[0.00]

08044262                           USD[0.01], USDT[29.72139941]

08044267                           USD[0.00]

08044269                           ETH[.000413], ETHW[.000413], YFI[.000333]

08044271                           USD[52.75]

08044293                           DOGE[1], ETH[0], TRX[1], USD[0.00]                                                                                                                                                   Yes

08044296                           AVAX[0], BAT[1], BTC[.00000001], CUSDT[1], DOGE[4], ETH[0.00000379], ETHW[0.00000379], GRT[1], SHIB[6], SOL[0], TRX[5], USD[0.21]                                                    Yes

08044306                           KSHIB[469.83845909], TRX[1], USD[0.00]                                                                                                                                               Yes

08044309                           SOL[1.51101715], USD[9.95], USDT[11154.56560334]

08044314                           USDT[0]

08044343                           DOGE[1], USD[0.00]                                                                                                                                                                   Yes

08044348                           USD[1.28]

08044356                           BTC[0.02145573], DOGE[1], SHIB[1], TRX[2], USD[0.04]

08044363                           USD[0.00]

08044364                           NFT (295966277695135473/Digi Yorkies)[1], NFT (339133981551400584/2974 Floyd Norman - CLE 2-0112)[1], NFT (341496705275764523/2974 Floyd Norman - CLE 5-0081)[1], NFT
                                   (344893673024892431/2974 Floyd Norman - CLE 3-0271)[1], NFT (365511716137173154/2974 Floyd Norman - CLE 1-0233)[1], NFT (369933102089522361/Saudi Arabia Ticket Stub #403)[1], NFT
                                   (384967276531720255/The 2974 Collection #2968)[1], NFT (391718266654176085/2974 Floyd Norman - CLE 4-0150)[1], NFT (445012415185709861/Birthday Cake #2968)[1], NFT
                                   (540943611492436719/2974 Floyd Norman - CLE 4-0031)[1], NFT (550271124104547210/2974 Floyd Norman - CLE 6-0023)[1]
08044382                           CUSDT[3], TRX[1], USD[0.01], USDT[0.00000001]

08044385                           USD[10.85]                                                                                                                                                                           Yes

08044388                           CUSDT[1], SOL[1.00232153], USD[0.00]

08044389                           USD[21.51]                                                                                                                                                                           Yes

08044391                           CUSDT[2], LTC[.49013018], SOL[.41510105], USD[0.00]

08044392                           CUSDT[2], SHIB[17.83863054], USD[0.00]                                                                                                                                               Yes

08044400                           SOL[.00000001], USD[1.41]

08044403                           DOGE[1], SHIB[2], USD[0.81]

08044404                           USDT[4]

08044411                           BRZ[1], CUSDT[29], SHIB[2], TRX[6], USD[0.00], USDT[1]

08044419                           BRZ[1], BTC[.00032471], CUSDT[1], DOGE[122.38945869], ETH[.00239108], ETHW[.00236372], KSHIB[662.15637979], TRX[2], USD[0.00]                                                        Yes

08044437                           BTC[.00084318], SHIB[1], USD[26.41]                                                                                                                                                  Yes

08044469                           BRZ[6], BTC[.0001], DAI[2.1], GRT[1.998], KSHIB[89.91], LINK[.080838], NFT (428173989074201318/#8)[1], SHIB[250000], SOL[.02997], SUSHI[1.14274498], TRX[102], UNI[.1], USD[1.12]

08044473                           AUD[0.63], USD[2.11]

08044479                           SOL[.00763331], USD[0.00]

08044497                           BF_POINT[300], CUSDT[5], USD[22.79]                                                                                                                                                  Yes

08044514                           SOL[3.996], USD[223.16]

08044528                           BCH[0], BTC[0], DOGE[1], SHIB[2], SOL[0], TRX[2], USD[0.00]                                                                                                                          Yes

08044530                           USD[0.00]

08044536                           USDT[2]

08044542                           KSHIB[106.15489627], USD[0.00]                                                                                                                                                       Yes

08044547                           NFT (369875047403162371/Glamis)[1], USD[14.70]

08044550                           SHIB[5591351.17146519], USD[10.01]

08044556                           CUSDT[1], DOGE[60.4817679], USD[0.01]                                                                                                                                                Yes

08044559                           USD[0.00], USDT[10.70355737]                                                                                                                                                         Yes

08044569                           CUSDT[7], DOGE[1], ETH[.00000001], ETHW[0], SHIB[1], TRX[3], USD[0.00]                                                                                                               Yes

08044570                           USDT[7]

08044583                           BTC[0], ETH[0.08326875], ETHW[0.08326875], USD[0.00]

08044588                           CUSDT[1], SHIB[1076037.95872948], USD[0.00]                                                                                                                                          Yes

08044590                           BTC[.00000832], DOGE[1], ETH[.01479589], ETHW[.0146171], SHIB[1], TRX[1], USD[0.00], USDT[0]                                                                                         Yes

08044606                           BRZ[2], BTC[.09908495], CUSDT[1], DOGE[5150.26192372], ETH[1.76347425], ETHW[1.76271755], SHIB[26973551.0691888], TRX[1], USD[541.98], USDT[1.0754324]                               Yes
West Realm Shires Services Inc.                                                     Case 22-11068-JTD      Doc F-3:
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                                                                                                                                          Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08044607                           DOGE[19.00257606], SHIB[184162.0626151], USD[0.00]

08044611                           CUSDT[2], USD[48.08]

08044616                           USD[0.00]

08044618                           SOL[0], USD[0.76]

08044620                           BRZ[1], BTC[.002339], CUSDT[1], DOGE[1], SHIB[1], TRX[3], USD[0.00]

08044621                           USD[0.00]                                                                                                                                                                             Yes

08044627                           CUSDT[8], MATIC[0], SOL[0], USD[0.00], USDT[0], YFI[0]                                                                                                                                Yes

08044628                           SHIB[2], USD[0.01]

08044633                           MATIC[1], TRX[.000001], USD[0.00], USDT[42.22550489]

08044640                           BTC[.0046], ETH[0.08517461], ETHW[0.08517461], SHIB[0], SOL[3.28311801], USD[0.44]

08044641                           CUSDT[1], GRT[213.55969986], USD[0.00]                                                                                                                                                Yes

08044651                           BRZ[1], CUSDT[2], USD[0.00]

08044653                           CUSDT[10], DOGE[1], KSHIB[.00473756], USD[0.00]                                                                                                                                       Yes

08044678                           BCH[.04834734]

08044683                           SOL[.49749205], TRX[1], USD[0.00]                                                                                                                                                     Yes

08044687                           BTC[.00141116], GRT[0], SHIB[110], USD[0.00]                                                                                                                                          Yes

08044701                           CUSDT[2], USD[0.00]

08044719                           USD[0.74]

08044728                           CUSDT[2], USD[0.01]

08044740                           CUSDT[2], ETH[.02380546], ETHW[.02350623], LTC[.54466522], SOL[1.80622713], TRX[1], USD[0.00]                                                                                         Yes

08044743                           USD[500.00]

08044752                           BTC[.0038], ETH[.184], ETHW[.184], LINK[1.1], LTC[.18], SOL[1.50951], USD[6.47]

08044768                           CUSDT[3], DOGE[1], SHIB[1], TRX[1], USD[72.83]                                                                                                                                        Yes

08044772                           CUSDT[4], DOGE[2], SHIB[6], SOL[19.02175238], TRX[1], USD[0.00]                                                                                                                       Yes

08044780                           USD[54.26]                                                                                                                                                                            Yes

08044787                           BAT[.00000001], SOL[0], SUSHI[0]

08044800                           LINK[8.75172445], USD[0.02]                                                                                                                                                           Yes

08044803                           USD[4.47]

08044813                           USDT[5]

08044824                           ETH[.00236699], ETHW[.00233963], SOL[.04466798], USD[0.00]                                                                                                                            Yes

08044839                           USD[0.00]

08044840                           BRZ[0], CUSDT[0], DAI[0], DOGE[23.54058256], GRT[0], KSHIB[0], SHIB[534437.06716228], SUSHI[1.05803129], TRX[0], UNI[0], USD[0.00]                                                    Yes

08044843                           DOGE[1], MATIC[56.70153419], USD[0.03]                                                                                                                                                Yes

08044844                           NFT (356615595001787494/ARTIFICIAL INTELLIGENCE GENERATED ART #2)[1], NFT (397534779838732982/MAMONKEY)[1], NFT (399989515674176845/ARTIFICIAL INTELLIGENCE
                                   GENERATED ART #12)[1], NFT (403671481597348892/BORED APES - RADIO MOON LASER EYES (Personalization))[1], NFT (413365984449458427/ARTIFICIAL INTELLIGENCE GENERATED ART
                                   #10)[1], NFT (429895661500138840/ARTIFICIAL INTELLIGENCE GENERATED ART #5)[1], NFT (434511788295758719/ARTIFICIAL INTELLIGENCE GENERATED ART #11)[1], NFT
                                   (435126988907458001/ARTIFICIAL INTELLIGENCE GENERATED ART #3)[1], NFT (507053770879169662/ARTIFICIAL INTELLIGENCE GENERATED ART #6)[1], NFT (521683418522629463/The little
                                   Mozart)[1], NFT (529173437220306190/ARTIFICIAL INTELLIGENCE GENERATED ART)[1], NFT (560314312850064195/ARTIFICIAL INTELLIGENCE GENERATED ART #9)[1], NFT
                                   (564426199429613434/ARTIFICIAL INTELLIGENCE GENERATED ART #8)[1], NFT (568073815158898298/ARTIFICIAL INTELLIGENCE GENERATED ART #13)[1], NFT
                                   (576155973008159944/ARTIFICIAL INTELLIGENCE GENERATED ART #4)[1], USD[0.77]
08044845                           BRZ[3], BTC[0.00027684], CUSDT[1], DOGE[3], ETH[.00343697], ETHW[.00339593], SHIB[12], TRX[6], USD[0.00]                                                                   Yes

08044853                           BTC[0], CUSDT[1], SHIB[0], SOL[0], TRX[1], USD[0.00]

08044864                           BRZ[3], BTC[0.13723727], CUSDT[4], DOGE[1], ETH[.86792598], ETHW[.67622296], GRT[1], MATIC[510.43344634], SHIB[5], TRX[7], USD[0.01]                                                  Yes

08044867                           NFT (302135208021951284/Coachella x FTX Weekend 2 #6308)[1]

08044881                           BAT[1.34049819], BRZ[1], CUSDT[4], DOGE[8.01151516], MATIC[0], SHIB[4], TRX[3], USD[0.01]                                                                                             Yes

08044888                           BTC[.00000002], ETH[.00000011], SOL[0], USD[72.86]                                                                                                                                    Yes

08044890                           USD[50.01]

08044891                           USD[100.00]

08044899                           BTC[0], DOGE[8], ETH[0.00025828], ETHW[0.00025828], SOL[0], TRX[152.66775959], USD[0.17]

08044906                           DOGE[1], SHIB[284564.13851713], SOL[.06648402], USD[0.00]                                                                                                                             Yes

08044910                           AAVE[.002088], ALGO[.16635], AVAX[0.00767612], BTC[0.00000254], ETH[0.00091996], ETHW[-0.01227434], LINK[0.02211590], LTC[0.00590480], NEAR[.09822], SOL[0], TRX[0.54540332], USD[-
                                   0.96], USDT[0.00335229]
08044912                           NFT (340250635110974213/Microphone #1686)[1]

08044919                           BTC[.14400233], SHIB[1], USDT[0.02452534]                                                                                                                                             Yes

08044929                           NFT (290770862461580818/Meowth Vox)[1], NFT (300419995284785427/Jediman #7)[1], NFT (302893523204097468/Jediman #5)[1], NFT (316047456106575336/Superman Hero)[1], NFT
                                   (316085099185525093/Nidoking Vox)[1], NFT (327910136807250640/Pikachu Vox)[1], NFT (342148849681854764/Spirit Woman #2)[1], NFT (343314678431279913/Hey Nigga #3)[1], NFT
                                   (343904031469106850/Jediman #6)[1], NFT (348829228528729261/Elfich #6)[1], NFT (354269045351426035/Spirit Woman)[1], NFT (354510770728417364/Spirit Woman #6)[1], NFT
                                   (355263859440023331/Elfich #4)[1], NFT (361304902573222347/DeadPool Hero)[1], NFT (363412870604726482/Dune Art #3)[1], NFT (364224999769256537/Jediman #8)[1], NFT
                                   (374237076206733848/Spirit Woman #4)[1], NFT (374489937248077136/Spirit Woman #5)[1], NFT (375639909917274022/Dune Art)[1], NFT (377386916130799944/Venusaur Vox)[1], NFT
                                   (379139310086692967/Jediman #9)[1], NFT (385169996230449133/Hey Nigga #2)[1], NFT (393281174008837101/Dune Art #4)[1], NFT (393387074194287063/Elfich #2)[1], NFT
                                   (402549998835300190/Charmander Vox)[1], NFT (453101141142077460/Golduck Vox)[1], NFT (457855464947942403/Arcanine Vox)[1], NFT (458352903524744842/Hot Fruit #3)[1], NFT
                                   (463680635954039759/Elfich)[1], NFT (463695919108307981/Duydus Hero)[1], NFT (467056202569159803/Jediman #3)[1], NFT (476950273085083657/Jediman #4)[1], NFT
                                   (480747394403599124/Hot Fruit #2)[1], NFT (487529869712184088/Hot Fruit)[1], NFT (491325393053363114/Jediman)[1], NFT (497196962184985348/Spirit Woman #3)[1], NFT
                                   (510003067967103580/Hey Nigga #4)[1], NFT (515858658680764369/Elfich #7)[1], NFT (516252310577932479/Jediman #2)[1], NFT (528248438939538237/Hey Nigga)[1], NFT
                                   (534133279850296512/Batman Hero)[1], NFT (534886938400764721/Supergirl Hero)[1], NFT (538646652869037345/Charizard Vox)[1], NFT (539459129437733020/Elfich #5)[1], NFT
                                   (548105071747014475/Jediman #10)[1], NFT (551081019480509059/Elfich #3)[1], SOL[.0099], USD[4.59]
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                                                                                                                                         Customer Claims                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08044935                           ETHW[.03839812], USD[59.76]                                                                                                                                                   Yes

08044948                           TRX[1], USD[0.00]

08044951                           BTC[.00228222]

08044959                           BTC[0], ETHW[514.764685], SOL[.000009], USD[0.38]

08044962                           MATIC[21.64931658]                                                                                                                                                            Yes

08044965                           BRZ[1], BTC[.00000003], CUSDT[2], GRT[1.00019173], LINK[1.08214099], TRX[3.25839288], USD[0.00], USDT[0.00000088]                                                             Yes

08044972                           NFT (441503992670081401/Hall of Fantasy League #242)[1]

08044975                           BTC[.00046807], CUSDT[2], SHIB[366367.46656896], USD[0.00]

08044998                           CUSDT[1], DOGE[188.8317477], USD[5.01]

08045000                           BTC[0], SOL[.00000001], USD[10.01]                                                                                                                                            Yes

08045001                           BRZ[1], BTC[0.00000028], CUSDT[3], DOGE[2], SOL[.0000484], TRX[4], USD[0.72]                                                                                                  Yes

08045002                           CUSDT[2], TRX[512.2876157], USD[0.00]                                                                                                                                         Yes

08045014                           BTC[0.00000001], ETH[0.00000002], ETHW[0.00000002]

08045019                           BRZ[0], BTC[0], CAD[0.00], CHF[0.00], MATIC[0], MXN[0.00], USD[0.00]                                                                                                          Yes

08045027                           USD[0.00]

08045034                           CUSDT[7], DOGE[1], GRT[.00055899], MATIC[26.79334968], SOL[0.00167014], TRX[.00187062], USD[0.00]                                                                             Yes

08045041                           BTC[.00000103], CUSDT[1], ETH[.00001127], ETHW[1.23370015], GRT[1], MATIC[.00525918], SOL[.00040979], TRX[1], USD[9.41], USDT[1.06955385]                                     Yes

08045055                           USD[0.64]

08045059                           BCH[.24457925]

08045061                           BAT[1], BCH[0], BRZ[1], BTC[0], CUSDT[2], DOGE[5], GRT[2], MATIC[1], SHIB[1], TRX[6], USD[0.00], USDT[1]

08045069                           SOL[0], USD[0.00]

08045076                           CUSDT[1], DOGE[2], SOL[7.44475542], USD[0.00]

08045080                           NFT (312831807158723159/The Hill by FTX #6889)[1], NFT (449206121789345401/LightPunk #6940)[1], SOL[.05440107], USD[10.88]

08045081                           BAT[0], CUSDT[1.14267572], DOGE[1], KSHIB[933.99339380], MKR[.01017818], SHIB[1662633.12769106], USD[21.28], USDT[0]                                                          Yes

08045084                           USD[27.12]                                                                                                                                                                    Yes

08045085                           SHIB[1036180.11017873], TRX[1], USD[0.00]                                                                                                                                     Yes

08045087                           CUSDT[1], TRX[1], USD[0.01], USDT[0]

08045088                           BRZ[3], CUSDT[10], DOGE[5], ETH[.17616699], ETHW[.45477219], SHIB[10], TRX[8], USD[-99.99]                                                                                    Yes

08045089                           BRZ[1], CUSDT[2], TRX[1], USD[381.84]                                                                                                                                         Yes

08045090                           SOL[.02]

08045092                           DOGE[.05765262], USD[0.00]

08045094                           USD[0.00]

08045096                           SOL[.00120287], USD[0.00]

08045102                           CUSDT[2], SHIB[6752311.0809487], USD[0.00]                                                                                                                                    Yes

08045104                           USD[0.00], USDT[.0004088]                                                                                                                                                     Yes

08045106                           CUSDT[4], DOGE[1], SHIB[1], SOL[.00002692], USD[0.00]                                                                                                                         Yes

08045109                           DOGE[27.27813433], USD[2.70]                                                                                                                                                  Yes

08045110                           CUSDT[2], KSHIB[120.68160196], LTC[.04965748], MATIC[5.47849751], SHIB[238237.48727659], SOL[.04206859], TRX[1], USD[4.06]                                                    Yes

08045114                           BTC[.11688976], SOL[23.97486718], USD[12.02], USDT[1.00359371]                                                                                                                Yes

08045119                           SOL[.14984144], USD[0.00]

08045127                           CUSDT[3], DOGE[282.86523474], ETH[.01092439], ETHW[.01092439], SHIB[1982946.65873488], SUSHI[5.86244363], TRX[1], USD[0.01]

08045130                           BTC[.00017824], CUSDT[9], DOGE[45.2980117], ETH[.00259439], ETHW[.00256703], GRT[11.22851748], LTC[.05870477], MATIC[6.13264725], SHIB[222461.12038118], SOL[.04777037],      Yes
                                   TRX[114.24381547], USD[1.09]
08045145                           USD[43.52]

08045151                           CUSDT[2], SOL[9.58573209], TRX[2], USD[0.00]

08045155                           BTC[0], CUSDT[13], DOGE[1], ETH[.00745034], ETHW[.00735458], SHIB[1223309.40988962], SOL[.00000001], USD[0.00]                                                                Yes

08045156                           ETH[0], MATIC[0], SOL[0], USD[0.00], USDT[0.00000002]

08045158                           SHIB[1], SOL[.00003164], TRX[1], USD[0.01]

08045162                           BTC[.000016], TRX[1], USD[0.92], USDT[3.23579283]                                                                                                                             Yes

08045173                           NFT (289964926352673220/LL POP)[1], NFT (375665260790437857/ZOM POP #2)[1], NFT (451942905557654846/ZOM POP)[1], SOL[.19178]

08045174                           BRZ[1], CUSDT[18], DOGE[3], SHIB[963291.91179368], SOL[8.63578489], TRX[5], USD[0.00]                                                                                         Yes

08045175                           ETH[.092907], ETHW[.092907], USD[1.12], USDT[0]

08045180                           BTC[.00171738], DOGE[29], USD[1.66]

08045182                           DOGE[1], TRX[1], USD[0.00]

08045190                           BCH[.03791584], CUSDT[3.75], DAI[1.57802993], DOGE[1], ETH[.00000009], ETHW[.00000009], EUR[6.25], SOL[.00378155], TRX[1], USD[10.16], USDT[1.39951851]                       Yes

08045203                           ETH[.013], ETHW[.013], GRT[6], LTC[.18], SHIB[2100000], TRX[244], USD[8.07]

08045209                           BTC[.00000046], DOGE[1], ETH[0]                                                                                                                                               Yes

08045210                           USD[54.24]                                                                                                                                                                    Yes

08045222                           BAT[.00082674], CAD[0.00], CUSDT[4], DOGE[3.00018872], GRT[.00008479], LINK[.00055561], LTC[.00289578], MATIC[.00096356], SOL[.03184411], SUSHI[.00003858], TRX[.00048977],   Yes
                                   UNI[.00000116], USD[0.31], USDT[0.00069945]
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                                                                                                                                         Customer Claims                                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08045225                           CUSDT[14], ETH[.00000019], ETHW[.00000019], GRT[1.00019173], MATIC[58.14926192], SHIB[18045077.26092687], SOL[.16710229], TRX[917.38102782], USD[30.31], USDT[0.00000141]       Yes

08045234                           BTC[.0021], ETH[.00999], ETHW[.00999], LINK[3.996], MATIC[9.99], USD[2.46]

08045235                           USD[0.00]

08045239                           BRZ[1], DOGE[1], GRT[.00044221], USD[0.01]                                                                                                                                      Yes

08045240                           CUSDT[6], USD[0.01]

08045244                           USD[20.00]

08045248                           BAT[1.00668886], CUSDT[10], DOGE[1], SHIB[2], TRX[3], USD[0.00]                                                                                                                 Yes

08045252                           BTC[.00000166]                                                                                                                                                                  Yes

08045253                           BRZ[1], MATIC[104.04997913], SHIB[1], SOL[.00004096], USD[0.00]

08045261                           USD[0.88]

08045269                           BRZ[3], DOGE[4], SHIB[7], TRX[5], USD[0.00]

08045273                           AAVE[0], BAT[0], BTC[0], DOGE[0], ETH[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], PAXG[0], SHIB[920.25101492], SOL[0], USD[0.00]                                                   Yes

08045275                           CUSDT[1], SOL[.2216101], USD[0.00]                                                                                                                                              Yes

08045277                           CUSDT[1], USD[0.22]                                                                                                                                                             Yes

08045278                           SOL[1.45], USD[1.67]

08045279                           NFT (353641045484815127/Australia Ticket Stub #1782)[1], NFT (492844535935525803/FTX - Off The Grid Miami #3712)[1]

08045286                           ETHW[85.16966985]                                                                                                                                                               Yes

08045292                           CUSDT[4], DOGE[152.95143397], SHIB[834354.86893722], TRX[191.09457251], USD[0.00]

08045293                           BTC[.0815357], CUSDT[44], DOGE[18.13349185], ETH[.24208551], ETHW[.24188882], GRT[1], SHIB[15429470.69827560], SOL[9.39417894], TRX[17.85219121], USD[1.55], USDT[0.00000085]   Yes

08045301                           SOL[.90635708], TRX[456.543], USD[0.82]

08045302                           CUSDT[1], ETH[.08741505], ETHW[.08638984], SHIB[651966.58715196], USD[0.00]                                                                                                     Yes

08045305                           GRT[1], USD[0.01]                                                                                                                                                               Yes

08045317                           USD[26.51]

08045320                           SHIB[1864084.77224238], TRX[1], USD[0.00]

08045324                           BTC[.00000006], SHIB[347.23904998], USD[0.00]                                                                                                                                   Yes

08045326                           SOL[.0444986], USD[0.00]                                                                                                                                                        Yes

08045328                           USDT[2]

08045331                           SHIB[197044.33497536], USD[0.00]

08045333                           BTC[0], ETH[0], ETHW[0], LTC[23.31666000], USD[0.00]

08045340                           TRX[1], USD[0.00]

08045347                           BTC[.0000844], SOL[.00491], USD[0.00]

08045348                           MATIC[29.18044735], TRX[1], USD[0.00]

08045356                           BTC[.0343], USD[494.55]

08045357                           AVAX[0.00000001], BRZ[1], BTC[0], CUSDT[3], SHIB[1], SOL[.00000001], TRX[1], USD[0.00], USDT[0.00051225]

08045373                           USD[162.73]                                                                                                                                                                     Yes

08045382                           CUSDT[1], ETH[.10242399], ETHW[.10242399], USD[0.00]

08045383                           CUSDT[1], GRT[20.59744737], USD[0.00]                                                                                                                                           Yes

08045396                           USD[16.22]

08045405                           CUSDT[1], DOGE[.00002968], SHIB[149524.53110047], TRX[1], USD[0.56]

08045411                           USD[100.00]

08045415                           USD[0.00], USDT[0]

08045420                           USD[542.44]                                                                                                                                                                     Yes

08045422                           ETH[.10998303], ETHW[.10998303], TRX[1], USD[0.00]

08045436                           DOGE[0], NFT (449984808470044193/Petal to the Metal #72-Rookie)[1], SHIB[1], SOL[0.00000172], USD[0.00]                                                                         Yes

08045437                           USD[54.25]                                                                                                                                                                      Yes

08045439                           BTC[.0884302], DOGE[1], ETH[.47463925], ETHW[.47444007], GRT[2.03338183], SOL[2.18865793], USD[0.00], USDT[1.08487069]                                                          Yes

08045449                           BTC[.00000894], USD[0.09]

08045465                           ETHW[1.02733312], USD[0.00], USDT[0.00000001]                                                                                                                                   Yes

08045466                           CUSDT[2], KSHIB[2093.80760588], SHIB[1105862.2355289], SOL[.23618047], TRX[1], USD[0.09]                                                                                        Yes

08045470                           CUSDT[1], SHIB[3.51746234], USD[0.00]

08045476                           BAT[20.96], BTC[0.00004189], GRT[83.916], LINK[2.0936], SUSHI[2.4975], TRX[.010861], UNI[1.0989], USD[0.00]

08045491                           BAT[15.80203701], CUSDT[910.76474731], SHIB[831488.09800569], TRX[1], USD[0.00]

08045492                           BTC[0.00003597], ETH[.000387], ETHW[.000387], LTC[.00357], MATIC[9.19], SHIB[57700], TRX[.204], USD[1.66], USDT[1.082175]

08045494                           SHIB[17900000], USD[2.04]

08045504                           ETH[.00218775], ETHW[.00218775], USD[0.00]

08045521                           CUSDT[1], NFT (489403124913960968/Surreal World #39)[1], SHIB[1246215.63757076], USD[0.00]                                                                                      Yes

08045522                           BTC[.00016185]

08045525                           BTC[0.00005470], DOGE[47.2408404], ETH[.005], ETHW[.005], USD[0.00], USDT[1.29038402], YFI[.004]
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                                                                                                                                            Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08045528                              CUSDT[1], DOGE[1], ETH[.00000598], ETHW[.00000598], MATIC[.00046691], NFT (342150310961356417/#2046)[1], NFT (392872905468486037/#1722)[1], NFT (494801869770589132/#1929)[1],   Yes
                                      SHIB[.00000002], TRX[1], USD[1.38], USDT[0]
08045531                              BAT[2.06120053], BRZ[2], CUSDT[9], DOGE[470.88863945], KSHIB[.01660299], SHIB[5544328.57423205], TRX[15.0641574], USD[0.00], USDT[1.0609736]                                     Yes

08045535                              BAT[1.0024412], BRZ[2], BTC[.04510722], CUSDT[4], DOGE[1], ETH[1.54384517], ETHW[1.54319672], GRT[1], KSHIB[1749.84037081], SOL[1.0815614], USD[0.00]                            Yes

08045545                              AAVE[.0000354], BRZ[2], SHIB[30], SUSHI[.00181478], USD[0.00], USDT[0]                                                                                                           Yes

08045546                              DOGE[1], ETH[.00000015], ETHW[.00000015], USD[0.00]

08045551                              USD[0.00]

08045552                              CUSDT[1], TRX[2], USD[0.00]

08045556                              CUSDT[1], USD[0.01]

08045558                              TRX[.00042624], USD[0.00]                                                                                                                                                        Yes

08045566                              BTC[0.00000003], CUSDT[5], DOGE[4], GRT[1], LTC[0], SHIB[1], SOL[0], TRX[2], USD[0.01]                                                                                           Yes

08045576                              USD[0.01]                                                                                                                                                                        Yes

08045583                              BTC[.00003433], USD[0.00]

08045585                              CUSDT[1], KSHIB[969.75207512], USD[0.01]

08045588                              SOL[.13], USD[1.69]

08045599                              SOL[4.45267178], TRX[1], USD[0.00]                                                                                                                                               Yes

08045606                              BTC[.00000043], DOGE[.26862109], ETH[.0110612], ETHW[.0109244], GRT[1], SHIB[3097361.90734256], SOL[26.32883977], TRX[3.37390159], USD[-90.29]                                   Yes

08045621                              CUSDT[1], SOL[2.22423079], USD[0.01]                                                                                                                                             Yes

08045622                              CUSDT[1], GRT[159.58425244], USD[54.25]                                                                                                                                          Yes

08045626                              BRZ[1], USD[0.00], USDT[0.00016031]                                                                                                                                              Yes

08045629                              BRZ[1], BTC[.15726839], ETH[2.15502079], ETHW[2.15502079], GRT[1], SOL[20.75851798], TRX[1], USD[0.00]

08045630                              BTC[.00014699], LTC[.04321545], USD[0.00]                                                                                                                                        Yes

08045632                              USD[0.00]

08045640                              AAVE[0], DAI[0], MATIC[0], SHIB[1.6924e+06], SOL[.00005], SUSHI[0.45850000], TRX[0.61520000], USD[107.31], YFI[0]

08045646                              BTC[.00434006], CUSDT[1], ETH[.05769223], ETHW[.05769223], TRX[1], USD[0.00]

08045650                              SHIB[0], USD[0.00]                                                                                                                                                               Yes

08045653                              USD[0.00]

08045655                              AAVE[.0578774], BAT[2.93657336], BRZ[0], DOGE[0], GRT[13.24192012], LINK[.37897167], MATIC[0], SUSHI[2.31848234], TRX[.000001], USD[0.00], USDT[0], YFI[.00033758]

08045657                              SOL[1.97802], USD[4.14]

08045658                              BTC[.0386], ETH[.4], ETHW[.4], MATIC[180], SOL[8.366148], USD[10.01]

08045668                              BAT[9.90933887], USD[1.09]                                                                                                                                                       Yes

08045674                              BTC[.0005], USDT[.248536]

08045676                              BRZ[307.31029018], BTC[.13742349], CUSDT[2877.43611212], DOGE[981.00389388], ETH[1.22893847], ETHW[1.15036554], LINK[16.99516977], LTC[8.84667555], SHIB[2941972.27086068],      Yes
                                      SOL[8.8249453], TRX[1018.62839541], USD[91.04], USDT[1.02534773]
08045681                              BTC[.00011984], CUSDT[1], MATIC[4.27237186], USD[0.00]                                                                                                                           Yes

08045691                              USD[0.01]                                                                                                                                                                        Yes

08045694                              USD[0.00]

08045700                              SOL[6.67688172], USD[0.00]

08045701                              CUSDT[10], DOGE[1], KSHIB[.23], SHIB[7289700.37970402], TRX[1], USD[0.80]                                                                                                        Yes

08045711                              SOL[.20868897]

08045712                              BRZ[1], BTC[.00458929], CUSDT[20], DOGE[2], ETH[.01909086], ETHW[.0188583], SHIB[1558537.16827001], SOL[.53632116], TRX[1], USD[0.14]                                            Yes

08045715       Contingent, Disputed   BTC[.00002959], CUSDT[1], USD[8.35]                                                                                                                                              Yes

08045719                              USD[1.12]

08045721                              USD[0.02]                                                                                                                                                                        Yes

08045731                              CUSDT[1478.25539181], TRX[210.93126222], USD[0.01]                                                                                                                               Yes

08045735                              BTC[.004], SHIB[4600000], USD[25.90]

08045746                              USD[2.65], USDT[0]

08045749                              SHIB[599400], USD[17.66]

08045752                              BTC[.04380254], ETH[.01786343], ETHW[.01786343], SOL[.56613532], USD[0.00]

08045753                              BAT[72.014082], DOGE[360.45264922], ETH[0], ETHW[0], GRT[39.99393372], KSHIB[1028.97], SHIB[1017087.06265256], TRX[2108.63330518], USD[0.00], USDT[0]

08045757                              USD[542.43]                                                                                                                                                                      Yes

08045766                              BTC[.0081], USD[3.14]

08045770                              CUSDT[4], DOGE[2], SHIB[1], SOL[.49194486], TRX[1], USD[0.00]                                                                                                                    Yes

08045778                              CUSDT[1], SOL[1.02496432], USD[0.00]

08045781                              BTC[0], KSHIB[9.1], SHIB[5598000], TRX[844.27768748], USD[3.23]

08045782                              CUSDT[2], SHIB[1180262.80596898], USD[0.00]                                                                                                                                      Yes

08045785                              BTC[.00334094], CUSDT[17.04983567], DOGE[482.24721013], ETH[.05084496], ETHW[.05021568], MATIC[117.13796778], MKR[.08376128], SOL[.11532248], USD[0.00]                          Yes

08045797                              USD[1.54]

08045800                              CUSDT[1], SOL[.0886415], USD[0.02]                                                                                                                                               Yes

08045815                              BAT[2], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08045827                              CUSDT[2], DOGE[4], SHIB[1], SOL[.00004641], TRX[4], USD[0.00]                                                                                                                           Yes

08045828                              SOL[.14431923], USD[2.27]

08045833                              SOL[5.08915], USD[0.04]

08045843                              USD[100.00]

08045845                              SHIB[101522.84263959], TRX[478.26381979], USD[5.00]

08045847                              AAVE[1.84481633], BRZ[71.93666034], CUSDT[8], DOGE[3], MKR[.44988625], SOL[2.76000436], USD[0.18]                                                                                       Yes

08045851                              BTC[.10470625], CUSDT[3], ETH[1.00114782], ETHW[1.00114782], LINK[22.28827093], TRX[1], USD[0.00], USDT[2]

08045856                              ALGO[0], AVAX[0], BTC[0], ETH[0], ETHW[0], LINK[0], MATIC[0], NEAR[0], SHIB[151725.21879793], SOL[0], SUSHI[0], USD[0.00], USDT[0]                                                      Yes

08045858                              BAT[421], NFT (347092203951851629/Night Light #468)[1], NFT (369068665362231359/Golden Hill #114)[1], NFT (432309117653818870/Vintage Sahara #377)[1], NFT (472266750670833288/Cosmic
                                      Creations #193)[1], NFT (554397534149994739/Saudi Arabia Ticket Stub #1657)[1], USD[0.67]
08045861                              USD[500.01]

08045871                              USD[0.00]

08045883                              USD[0.01]

08045895                              USD[0.00]

08045897                              USD[0.00]

08045902                              BTC[0], CUSDT[11], DAI[0], MATIC[0], SOL[0], TRX[1], USD[0.00]                                                                                                                          Yes

08045909       Contingent, Disputed   USD[0.00]

08045916       Contingent, Disputed   USD[0.00]

08045920                              BTC[.00019968], CUSDT[4], USD[0.00], USDT[0]                                                                                                                                            Yes

08045928                              USD[0.00]                                                                                                                                                                               Yes

08045930                              DOGE[2109.95866083], ETH[1.07745629], ETHW[1.07700365], SHIB[44541059.56441976], SOL[2.17571861], USD[0.00]                                                                             Yes

08045931                              CUSDT[1], LTC[.49654043], USD[0.00]

08045933                              USD[1.90]

08045939                              USD[0.01]                                                                                                                                                                               Yes

08045941                              BTC[.01103307], CUSDT[8], DOGE[2], ETH[.13719162], ETHW[.13613443], MATIC[194.71288874], SOL[.4805592], TRX[1], USD[0.38]                                                               Yes

08045945                              USDT[0.00000037]

08045946                              BTC[.00008202]

08045950                              USD[50.00]

08045952                              BF_POINT[300], CUSDT[1], USDT[0]                                                                                                                                                        Yes

08045961                              USD[0.60]

08045963                              CUSDT[1], DOGE[203.68467123], USD[54.17]                                                                                                                                                Yes

08045969                              BTC[.0277], USD[0.81]

08045970                              USD[500.11]

08045974                              BTC[0.00000005], SHIB[58.91703106], SOL[0], USD[0.00]                                                                                                                                   Yes

08045980                              BRZ[1], MATIC[194.82771513], USD[0.00]                                                                                                                                                  Yes

08045983                              BTC[.02646437], SHIB[4183549.5060291]                                                                                                                                                   Yes

08045986                              BRZ[607.08918564], CUSDT[2], SHIB[2191920.59907338], USD[0.02]                                                                                                                          Yes

08045988                              KSHIB[214.280143], USD[0.00]                                                                                                                                                            Yes

08045995                              USD[0.00]

08046001                              DOGE[608], ETH[.097902], ETHW[.097902], SHIB[5994200], USD[116.43]

08046007                              ETH[0], ETHW[0], NFT (390564678584597285/Coachella x FTX Weekend 1 #26058)[1], USD[0.00]                                                                                                Yes

08046015                              MATIC[56.31564206], USD[0.00]                                                                                                                                                           Yes

08046016                              BTC[.01016304]                                                                                                                                                                          Yes

08046017                              ETH[.0646407], ETHW[.0646407], USD[0.00]

08046021                              USD[10.85]                                                                                                                                                                              Yes

08046027                              USD[20.00]

08046037                              USD[7.00]

08046039                              USDT[2]

08046041                              AAVE[0], BRZ[1], BTC[0], DOGE[1], SOL[.00000001], TRX[1], USD[0.03], USDT[0.00000001]                                                                                                   Yes

08046042                              BTC[.0080919], USD[4.07]

08046050                              SOL[0.41321047]

08046052                              CUSDT[2], SHIB[2267664.826807], SOL[.43315996], USD[0.00]                                                                                                                               Yes

08046073                              ETH[0], ETHW[.398601], USD[0.01]

08046074                              SOL[2.03969699], TRX[1], USD[0.01]

08046075                              SHIB[0], USD[1.32]

08046086                              USD[1.00]

08046091                              USD[22.95], USDT[0.00000013]

08046096                              USD[1000.00]

08046104                              USD[0.61]
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                                                                                                                                             Customer Claims                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08046107                              BTC[.00000269], USD[5.42]                                                                                                   Yes

08046112       Contingent, Disputed   USD[0.00]

08046113                              BTC[.00000001], ETH[.00095538], ETHW[.00095538], LTC[0.10072628], PAXG[.00102824], USD[5.00], USDT[0.00045993]

08046116                              USD[0.51], USDT[0]                                                                                                          Yes

08046121                              CUSDT[1], DOGE[100], KSHIB[5103.25023455], SHIB[42891586.8186674], TRX[3], USD[0.00], USDT[1]

08046123                              SOL[.01]

08046125                              USD[1000.00]

08046129                              BAT[1.00842798], CUSDT[6], DAI[.51613816], DOGE[9.21555766], SOL[.00003724], TRX[5], USD[0.83]                              Yes

08046132                              USD[0.00]

08046150                              BAT[1.00219418], BRZ[1], BTC[.03171677], CUSDT[1], DOGE[2], ETH[.63733832], ETHW[.63733832], MATIC[52.5818386], USD[0.00]

08046155                              CUSDT[11.04799944], USD[0.00]

08046158                              LTC[.57843663]                                                                                                              Yes

08046166                              DOGE[4], SHIB[14], SOL[0.76690498], TRX[2], USD[0.00], USDT[0]                                                              Yes

08046179                              BRZ[1], DOGE[1], SHIB[14], TRX[1], USD[0.00]                                                                                Yes

08046188                              SOL[.02997], USD[5.05]

08046189                              CUSDT[1], SHIB[2132058.59111986], USD[0.01]                                                                                 Yes

08046194                              BCH[0.00207417], BTC[0.00002486], USD[0.53]

08046197                              CUSDT[1], SHIB[1084957.06199945], USD[1.27]                                                                                 Yes

08046206                              USD[0.00], USDT[0]

08046209                              USD[20.00]

08046210                              BTC[.00163365]

08046216                              USD[0.06]

08046220                              BCH[0], BRZ[1], DOGE[2], SHIB[22], USD[0.00], USDT[0]                                                                       Yes

08046231                              BTC[0], ETH[0], USD[0.00]

08046233                              CUSDT[1], SHIB[4036326.94248234], USD[0.00]

08046234                              USD[0.22]

08046238                              BTC[.00084768], CUSDT[2], DOGE[414.787642], ETH[.01134898], ETHW[.01121218], USD[0.00]                                      Yes

08046239                              USD[300.00]

08046242                              SOL[24.87972], USD[8.53]

08046243                              SOL[.00905]

08046245                              USDT[0.11784635]

08046246                              BAT[.64868809], BRZ[1], CUSDT[1], DAI[.00024484], DOGE[1], LTC[.1070797], SHIB[4], TRX[1], USD[0.00]                        Yes

08046250                              USD[0.01], USDT[0.00000354]

08046253                              ETH[.083954], ETHW[.083954], LINK[3.2], MATIC[49.99], SOL[1.21979], USD[4.40]

08046256       Contingent, Disputed   USD[0.00]

08046257                              BRZ[1], LINK[3.14061331], TRX[520.88300044], USD[0.01]                                                                      Yes

08046265                              AAVE[0], SHIB[1411766.61436256], USD[0.00]                                                                                  Yes

08046272                              TRX[83.56619823], USD[0.00], USDT[0.00000669]

08046275                              USDT[0.00000158]

08046279                              BTC[.00297405], CUSDT[2], DOGE[1], SHIB[1808972.50361794], SOL[3.37568218], TRX[1], USD[0.00]

08046280                              USD[20.00]

08046295                              BTC[0], DOGE[160.84161647], SHIB[5], USD[0.00]

08046297                              USD[31.65]                                                                                                                  Yes

08046307                              USD[50.01]

08046327                              CUSDT[2], SHIB[1], USD[0.01]                                                                                                Yes

08046331                              ETHW[.00582822], NFT (319474554703227179/Tungsten Cube 481)[1], USD[4.71], USDT[0]

08046332                              CUSDT[2], DOGE[1], USD[0.01]                                                                                                Yes

08046335                              USD[4.10]

08046342                              DOGE[2414], GRT[273], MATIC[180], SHIB[15975603.61541945], SUSHI[34], TRX[2522.77150634], UNI[12.2], USD[0.12]

08046347                              TRX[3057.9]

08046359                              USD[0.00]                                                                                                                   Yes

08046362                              BAT[1], TRX[1], USD[1.00]

08046369                              BRZ[1], DOGE[1], SHIB[1], SOL[6.17168439], USD[0.00]

08046386                              BTC[.00163305], SOL[.39935312], TRX[1], USD[0.00]

08046394                              ETH[0.02621529], ETHW[0.02621529], USD[0.00]

08046397                              CUSDT[12], DOGE[2], SHIB[1], TRX[2], USD[310.90]                                                                            Yes

08046400       Contingent, Disputed   BTC[.00010785], CUSDT[1], TRX[1], USD[24.98]                                                                                Yes

08046401                              USD[0.00]
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                                                                                                                                             Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08046406                              BTC[.0037076], CUSDT[1], ETH[.05238713], ETHW[.05238713], TRX[1], USD[0.00]

08046412                              ETHW[.771], USD[1854.53]

08046420                              USD[8.52], USDT[0]

08046421                              BTC[.00128583], DOGE[1], USD[0.00]

08046424                              BAT[1], BRZ[1], CUSDT[9], DOGE[4], ETH[.00000001], NFT (291905055051854954/SharkBro #3667)[1], NFT (299654099537732288/SharkBro #3331)[1], NFT (305919105559375826/SharkBro
                                      #5559)[1], NFT (345942940152468179/SharkBro #8750)[1], NFT (360931757394925571/SharkBro #5910)[1], NFT (370197325447017204/SharkBro #8390)[1], NFT (374719965736832891/SharkBro
                                      #301)[1], NFT (396978667529766087/SharkBros x RS7 #12/31)[1], NFT (401418300715098137/SharkBro #4030)[1], NFT (402484266924686929/SharkBro #4777)[1], NFT
                                      (409231558432072118/SharkBro #8835)[1], NFT (419291511433668287/SharkBro #8584)[1], NFT (450997800570678279/Captain America SB #4/7)[1], NFT (465900616303461592/SharkBro #6908)[1],
                                      NFT (469197978245229999/SharkBro #8175)[1], NFT (482799963083286817/SharkBro #3826)[1], NFT (486056839657445173/SharkBro #1620)[1], NFT (495398111827440986/SharkBro #3975)[1],
                                      NFT (529822891168419868/SharkBro #6887)[1], NFT (537273951009353627/SharkBro #6771)[1], NFT (543992080545592024/SharkBro #8011)[1], NFT (547076598430133488/SharkBro #209)[1], NFT
                                      (558956296644348070/SharkBro #1486)[1], NFT (563571017349215802/SharkBro #5019)[1], SHIB[2], TRX[2], USD[0.00], USDT[1]
08046430                              BTC[0], SHIB[0], USD[0.00]

08046431                              MATIC[2.08197597], USD[0.76]                                                                                                                                                              Yes

08046435                              BTC[.0001634], CUSDT[1], ETH[.00240267], ETHW[.00237531], SOL[.04461656], USD[16.79]                                                                                                      Yes

08046436                              USD[0.15]

08046440                              BCH[0], BTC[0], ETH[.00000001], SOL[0], YFI[0]

08046448                              ETH[.00672165], ETHW[0.00672164]

08046450                              LINK[2.997], USD[403.47]

08046452                              NFT (395659643637065443/Coachella x FTX Weekend 1 #27806)[1], NFT (432801014949400519/The Hill by FTX #7991)[1], NFT (516053351055929969/Rock Series)[1], USD[162.51]

08046458                              CUSDT[2270.53239008], USD[0.00]

08046464                              BAT[.00000078], CUSDT[11], DOGE[1691.29818492], ETH[.03549153], ETHW[.03505345], SHIB[13308796.58011116], SOL[2.0294138], TRX[5417.6546952], USD[0.01], USDT[1.08220883]                  Yes

08046472                              DOGE[1], SHIB[2], USD[42.42]                                                                                                                                                              Yes

08046482                              USD[2.74]

08046499                              NFT (565593500443029126/SolPenguin#623)[1]

08046501                              SHIB[1087531.11411621], USD[0.00]                                                                                                                                                         Yes

08046509                              BTC[.00245612], CUSDT[7], DOGE[1], MATIC[2.80679603], SHIB[7648093.86401708], TRX[2], USD[0.00]                                                                                           Yes

08046511                              BRZ[1], BTC[.00352352], CUSDT[2], DOGE[412.3171796], ETH[.04792855], ETHW[.04733359], USD[0.04]                                                                                           Yes

08046518                              SHIB[20.36400105], TRX[1], USD[0.11]                                                                                                                                                      Yes

08046519                              CUSDT[1], SHIB[2108105.40007528], USD[0.00]                                                                                                                                               Yes

08046520                              BTC[0], USD[0.41]

08046525                              USD[0.54]

08046529                              NFT (376838782886618079/Coachella x FTX Weekend 1 #18683)[1]

08046548                              TRX[2560.935229]

08046549                              BRZ[2], USD[35.73]

08046559                              ETH[0], MATIC[0], USD[0.00]

08046563                              USD[1.92]

08046583                              AVAX[0], BRZ[0], BTC[0], CAD[0.00], CHF[0.00], DOGE[0], ETH[0], ETHW[0], GRT[0], HKD[0.00], KSHIB[0], LINK[0], MATIC[0.00349602], SHIB[2], SOL[0], TRX[23.45704265], USD[0.00], USDT[0]   Yes

08046584                              CUSDT[1], DOGE[2], TRX[1], USD[1.14]                                                                                                                                                      Yes

08046587                              USD[11.59], USDT[0.00027061]

08046593                              CUSDT[1], SOL[.83536595], USD[0.00]

08046595                              SOL[0]

08046604                              LTC[0], USD[0.00]

08046610                              CUSDT[1], MATIC[.00004885], SHIB[1], USD[61.23]                                                                                                                                           Yes

08046616                              USD[0.00]

08046623                              SHIB[1], USD[11.16]

08046625                              SHIB[1268519.09913395], USD[0.30]                                                                                                                                                         Yes

08046633                              BTC[0], ETH[.00047414], ETHW[.00047414], LINK[.05719005], UNI[.061068], USD[0.01]

08046634                              ETH[.00000526], ETHW[.00000526], USD[0.00]                                                                                                                                                Yes

08046641                              USD[500.00]

08046642       Contingent, Disputed   USD[0.00]

08046646                              SOL[.00000792], USD[0.00], USDT[0]                                                                                                                                                        Yes

08046647                              SOL[0]

08046663       Contingent, Disputed   BTC[.00008372], CUSDT[2], TRX[1], USD[142.79]                                                                                                                                             Yes

08046672                              AAVE[.11], BTC[.0079536], ETH[.129794], ETHW[.129794], MATIC[9.99], SOL[24.84381], UNI[1.7988], USD[9.87], USDT[25]

08046673                              ALGO[0], ETH[0], ETHW[0], SOL[0], USD[0.00]                                                                                                                                               Yes

08046682                              BTC[.00024337], CUSDT[1], USD[0.00]

08046685                              SOL[0.00044926], USD[15.08], USDT[0.00000030]

08046692                              DOGE[1], USD[0.55]                                                                                                                                                                        Yes

08046696                              USD[99.29]

08046697                              BRZ[1], CUSDT[1], DOGE[2], SOL[.35101433], TRX[1], USD[0.02]                                                                                                                              Yes

08046702                              BF_POINT[100]
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                                                                                                                                         Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08046703                           USD[0.00], USDT[91.80655552]

08046722                           ETHW[.54966606]                                                                                                                                                                        Yes

08046733                           USDT[1.25741900]                                                                                                                                                                       Yes

08046738                           CUSDT[1], SHIB[411935.08212999], USD[0.00]                                                                                                                                             Yes

08046744                           CUSDT[16], DOGE[360.64981731], ETH[.04281298], ETHW[.04227946], KSHIB[2211.06567616], SHIB[5483710.97100476], SOL[4.39466046], TRX[1643.82514518], USD[484.67]                         Yes

08046763                           BAT[0], KSHIB[980], MATIC[0], MKR[0], SOL[0], UNI[0], USD[0.03]

08046764                           ETH[.000955], ETHW[.000955], USDT[.6321414]

08046782                           BTC[.00045758], CUSDT[3], GRT[10.02218269], USD[0.00], USDT[7.54804627]                                                                                                                Yes

08046799                           SOL[.0023]

08046801                           SOL[3.95604], USD[0.18]

08046808                           BRZ[1], CUSDT[1], SHIB[9262173.65767255], USD[0.00]                                                                                                                                    Yes

08046812                           BTC[0], ETH[.000945], ETHW[.000945], LINK[158.8991], TRX[.000006], USD[0.00], USDT[.004547]

08046835                           AAVE[1.36], BAT[161], BTC[0.00234200], DOGE[1384.34], ETH[.041], ETHW[.041], KSHIB[9840], LINK[2.8], SHIB[100000], SOL[1.41], SUSHI[19.981], UNI[5.5], USD[16.28], USDT[0.15912400],
                                   WBTC[.0099]
08046836                           BTC[.0010122]

08046837                           CUSDT[1], DOGE[1], ETH[.05248021], ETHW[.05182751], SOL[2.18373744], USD[0.11]                                                                                                         Yes

08046840                           BTC[.02060357], SHIB[1], USD[0.00]                                                                                                                                                     Yes

08046846                           CUSDT[1], LINK[3.24188475], SHIB[2399572.53054533], TRX[2], USD[32.55]                                                                                                                 Yes

08046849                           AVAX[0.00003405], BRZ[2], BTC[0], DOGE[1], USD[0.00], USDT[1.0712353]                                                                                                                  Yes

08046851                           USD[500.00]

08046861                           BTC[.00009791], LTC[.009734], SOL[1.046447], TRX[.43855], USD[0.25]

08046879                           LINK[4.70688378], USD[0.00]                                                                                                                                                            Yes

08046882                           BTC[0], ETH[.00001952], ETHW[.00001952], USD[0.00]

08046883                           SHIB[200160.12810248], TRX[96.09735199], USD[0.00]

08046890                           USD[0.00]

08046894                           MATIC[8.57455044], SHIB[977731.27606026], USD[0.02]                                                                                                                                    Yes

08046903                           BTC[0.03296700], USD[1.70], USDT[0]

08046910                           DOGE[1], SHIB[16299469.13351018], USD[3.41]                                                                                                                                            Yes

08046918                           SOL[.00000001], USD[0.01]

08046927                           BTC[.0936], ETH[4.127], ETHW[4.127], SOL[29.46], USD[104.60]

08046929                           BTC[0], CUSDT[2], LINK[4.07151552], SHIB[317.06860959], USD[0.00]                                                                                                                      Yes

08046933                           BRZ[1], SHIB[11060135.97269617], USD[1.46]                                                                                                                                             Yes

08046936                           BAT[0], BCH[0], BTC[0], DOGE[0], LTC[0], USD[9.70], USDT[0]                                                                                                                            Yes

08046937                           USD[0.00]                                                                                                                                                                              Yes

08046942                           USD[0.00]

08046944                           BRZ[2], CUSDT[9], DOGE[1.00004294], SOL[0], TRX[181.57157812], USD[0.00], USDT[1.00000860]

08046949                           USD[500.00]

08046950                           USD[500.01]

08046956                           BAT[2.06722349], BRZ[2], CUSDT[1], TRX[2], USD[0.00]                                                                                                                                   Yes

08046963                           USD[2974.92], USDT[1087.00673266]

08046964                           USD[0.01]

08046965                           USD[0.00]

08046978                           BTC[.0164856], NFT (327617586027870760/Masterworks)[1], NFT (330373737046299895/Masterworks #3)[1], NFT (349456164110948042/Masterworks #9)[1], NFT (349747399793761216/Masterworks
                                   #2)[1], NFT (366641341346796783/Masterworks #7)[1], NFT (376349086908900780/Countdown to 11111100110)[1], NFT (386605979681217348/Masterworks #4)[1], NFT
                                   (420035995377299605/Countdown to 11111100110 #3)[1], NFT (420251548009852188/Countdown to 11111100110 #8)[1], NFT (434440260469469180/Countdown to 11111100110 #5)[1], NFT
                                   (479715716605511963/Countdown to 11111100110 #9)[1], NFT (514572376016244708/Countdown to 11111100110 #10)[1], NFT (524999134268658059/Masterworks #6)[1], NFT
                                   (533491961027547249/Countdown to 11111100110 #6)[1], NFT (534157017643342826/Countdown to 11111100110 #2)[1], NFT (562040446743558128/Countdown to 11111100110 #7)[1],
                                   SOL[6.07352], USD[511.13]
08046985                           LTC[0], SHIB[0], SUSHI[0], USD[0.00]

08046987                           ETH[.136863], ETHW[.136863], SOL[15.45453], USD[0.19]

08046989                           LINK[121.2137], USD[0.07], USDT[44.6]

08046990                           USD[0.01]                                                                                                                                                                              Yes

08046993                           USD[121.34]

08046995                           USD[2.74]

08047002                           CUSDT[15], ETH[.00413563], ETHW[.00408091], USD[0.00]                                                                                                                                  Yes

08047009                           AVAX[.18990193], ETH[.05193946], ETHW[.05193946], SHIB[1643926.76874642], SOL[.44486251], TRX[1], USD[0.00], USDT[0.00000521]

08047014                           DOGE[5.65306554], ETHW[.01028691], SHIB[3], USD[0.00]

08047020                           GRT[250.71497966], TRX[1], USD[0.00]                                                                                                                                                   Yes

08047021                           USD[0.31]

08047029                           ETH[.00000001], ETHW[0], GRT[0], LTC[0], SOL[0], TRX[0], USD[0.00]                                                                                                                     Yes

08047037                           CUSDT[2], DOGE[1], SHIB[11918952.49304727], TRX[1], USD[0.00]
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                                                                                                                                              Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08047038                              BRZ[1], CUSDT[10], DOGE[2], GRT[1.00019173], SOL[1.75427005], TRX[3], USD[0.00]                                                                                                      Yes

08047039                              BTC[.00002489], CUSDT[7], DOGE[168.64571637], ETH[.00289321], ETHW[.00285214], LTC[.19880446], SOL[.00046578], USD[0.20]                                                             Yes

08047040                              BF_POINT[300], MATIC[5.03506592], SOL[.00941004], USD[3.44]                                                                                                                          Yes

08047044                              USD[0.07]

08047045                              USD[0.00]

08047048                              BTC[.00013743]                                                                                                                                                                       Yes

08047049                              SHIB[2271060.48119556], USD[0.00]

08047061                              USD[20.00]

08047069                              AAVE[.0000061], BAT[1], BCH[.00072068], BRZ[2], CUSDT[34], DOGE[6], ETHW[1.00002428], TRX[15], USD[201.90]

08047080                              CUSDT[1], PAXG[.04274827], USD[0.00]                                                                                                                                                 Yes

08047082                              DOGE[2], ETH[.05229594], ETHW[.05229594], GRT[8.13627964], LTC[.80387238], TRX[1], USD[0.02]

08047091                              CUSDT[1], SHIB[3908420.41078597], TRX[1], USD[0.00]                                                                                                                                  Yes

08047098                              CUSDT[1], SHIB[1], USD[0.01]                                                                                                                                                         Yes

08047101                              USD[0.00]                                                                                                                                                                            Yes

08047104                              LTC[46.52667], USDT[863.45982648]

08047105                              BRZ[1], DOGE[2], SOL[48.17294974], TRX[2], USD[1.55]                                                                                                                                 Yes

08047110                              ETH[0], EUR[0.01], SOL[0], USD[220.00], USDT[0]

08047120                              BTC[.00004234], DOGE[1779.98338961], SHIB[12907885.41066457], SOL[3.04695], USD[1.07]

08047121                              BRZ[1], DOGE[2], TRX[1], USD[0.13]                                                                                                                                                   Yes

08047135                              USD[320.00]

08047136                              BRZ[1], ETH[.07812489], ETHW[.07715563], USD[0.28]                                                                                                                                   Yes

08047137                              USD[54.24]                                                                                                                                                                           Yes

08047138                              SOL[6.07395583], USD[0.00]

08047139       Contingent, Disputed   BTC[0], USD[0.00]

08047152                              USD[0.00]

08047156                              USD[20.00]

08047157                              ETHW[3.0563], USD[0.01]

08047184                              USD[5.84]

08047189                              CUSDT[1], USD[0.00]

08047192                              DOGE[1], SHIB[6636409.39275766], TRX[1], USD[0.00]

08047196                              USD[0.00]

08047204                              USD[21.24]                                                                                                                                                                           Yes

08047205                              USD[0.00]

08047206                              USD[102.04]

08047217                              SHIB[26509754.98235008], TRX[2], USD[1.96]                                                                                                                                           Yes

08047232                              SOL[.00000001], USD[0.00], USDT[0.00000001]

08047238                              SOL[0], USD[0.01]                                                                                                                                                                    Yes

08047239                              SOL[.79429086], USD[9.99]

08047241                              USD[107.46]                                                                                                                                                                          Yes

08047246                              USD[0.00]

08047249                              NFT (340936691950511363/Sun Set #119)[1]

08047250                              CUSDT[2], SHIB[299059.03000233], USD[0.06], USDT[3.23505423]                                                                                                                         Yes

08047252                              NFT (289541882001823069/Hawk )[1], NFT (293590525443794172/The warrior)[1], NFT (296269950284285254/Day of the dead )[1], NFT (330890374082051747/Sigma Shark #6566)[1], NFT
                                      (334949086466543439/Kiddo #723)[1], NFT (351840982611477143/DOTB #240)[1], NFT (381396043286538962/Gold McDuck)[1], NFT (384453537748223375/Behind the Gold)[1], NFT
                                      (417625078461617654/Cyber Pharmacist 3508)[1], NFT (445866960882649210/Among the stars)[1], NFT (458336251954003251/VickingBoar)[1], NFT (474175923650768899/Cadet 331)[1], NFT
                                      (509555504852746259/#002 | Series #1)[1], NFT (524330922212258881/Fallen traveler #10)[1], NFT (535921107894013825/Green bird)[1], NFT (563301944569453786/Pixel Women #3)[1], NFT
                                      (563688807949908570/Red Panda #7570)[1], NFT (570147058721134594/Day of the dead #2)[1], SOL[.33581663], USD[0.00]
08047261       Contingent,            NFT (409916777700692657/Cosmic Creations #239)[1], USD[150.00]
               Unliquidated
08047263                              CUSDT[1], DOGE[5220.00530518], SHIB[27540369.70485284], USDT[2324.61707077]                                                                                                          Yes

08047266                              BTC[.0037], DOGE[157], ETH[.041], ETHW[.041], LTC[1.24906], USD[1.89], USDT[2.89]

08047281                              BRZ[1], BTC[.00162248], ETH[.02198866], ETHW[.02198866], TRX[1], USD[50.00]

08047290                              USD[50.12]

08047296                              NFT (447573176831556667/Coachella x FTX Weekend 1 #59)[1]

08047297                              ETH[.00000001], SOL[0], USD[0.62]

08047299                              NFT (553371924287051968/Tulip Essentials #48)[1], SOL[.04]

08047307                              USD[0.00]                                                                                                                                                                            Yes

08047311                              DOGE[1], SOL[.10736998], USD[0.00]                                                                                                                                                   Yes

08047317       Contingent, Disputed   BRZ[1], BTC[0], DOGE[1], SHIB[1], SOL[0], TRX[2], USD[0.00], USDT[0]                                                                                                                 Yes

08047322                              CUSDT[1], GRT[35.4945627], USD[0.00]

08047323                              BTC[.00040611], CUSDT[3], DOGE[1], ETH[.00559051], ETHW[.00552211], KSHIB[394.65678909], LTC[.13503225], USD[0.04]                                                                   Yes
West Realm Shires Services Inc.                                                    Case 22-11068-JTD      Doc F-3:
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                                                                                                                                         Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08047327                           USD[20.00]

08047328                           USD[2.07]

08047332                           NFT (501568201455120475/Solamander #7564)[1]

08047340                           ETH[.00000871], ETHW[.00000871], USD[0.00], USDT[1.19472643]

08047343                           BAT[1.00001826], BRZ[1], CUSDT[11], DOGE[5], ETH[.90080452], ETHW[.9004262], SHIB[4], SOL[3.87757994], TRX[3], USD[0.00], USDT[0]                                                            Yes

08047346                           CUSDT[3], NFT (450113866187945632/Solana Squirrel #403)[1], NFT (556741838601951755/Fortune Cookies #1603)[1], SOL[1.94784422], TRX[1], USD[0.00]                                            Yes

08047350                           SOL[.02083105], USD[0.00]                                                                                                                                                                    Yes

08047351                           NFT (497084489019313200/#3146)[1], NFT (560515781590281586/Solana Islands #356)[1], SOL[.01019813]                                                                                           Yes

08047352                           CUSDT[2], DOGE[1], USD[0.00]                                                                                                                                                                 Yes

08047354                           CUSDT[1], DOGE[1], SOL[4.35403219], USD[0.00]                                                                                                                                                Yes

08047359                           BRZ[1], CUSDT[1], DOGE[1], ETHW[.00006321], SOL[.00319825], TRX[1], USD[0.01], USDT[0]                                                                                                       Yes

08047365                           BTC[.0000881], ETH[.00093329], ETHW[.00093329], SOL[7.78221], USD[3.30]

08047367                           ETH[.04365295], ETHW[.04365295], USD[0.00]

08047370                           KSHIB[179.94], SHIB[19388511.11780861], USD[0.05]

08047377                           CUSDT[1], SHIB[9224690.66747084], USD[0.00]                                                                                                                                                  Yes

08047385                           SHIB[1], USD[0.00], USDT[0.67640458]                                                                                                                                                         Yes

08047389                           USD[500.00]

08047402                           ETH[0], USD[0.01]

08047412                           CUSDT[4], DOGE[458.8653127], SHIB[3266685.17161964], USD[0.00]                                                                                                                               Yes

08047417                           DOGE[0], NFT (321408596208623949/Doak Walker's Playbook: Detroit Lions vs. Cleveland Browns - December 28, 1952 #67)[1], NFT (554593513246539430/Doak Walker's Playbook: Detroit Lions vs.   Yes
                                   Cleveland Browns - December 28, 1952 #66)[1], USD[0.01]
08047418                           BTC[.00033268], CUSDT[4], ETH[.00648976], ETHW[.00640768], USD[0.00]                                                                                                                         Yes

08047422                           CUSDT[1], SHIB[1547269.07009128], USD[0.00]

08047423                           CUSDT[1], DOGE[552.12752667], SHIB[1], USD[10.00]

08047424                           BRZ[270.58100477], BTC[.00422582], CAD[65.19], SHIB[3], TRX[1634.10273818], USD[5.18]                                                                                                        Yes

08047426                           SOL[4.02], USD[3.09]

08047440                           AAVE[.00000982], BTC[0], CUSDT[.00045714], DOGE[.00964636], ETH[.00000235], ETHW[.00000235], LINK[.00001011], LTC[.00002121], MATIC[.00111672], NFT (429932747210845107/Anti Artist          Yes
                                   #117)[1], SHIB[98.03817776], SOL[.00000334], SUSHI[.00042921], TRX[.01074249], UNI[.00000972], USD[0.00], USDT[0]
08047455                           BTC[.00329555]                                                                                                                                                                               Yes

08047456                           BRZ[1], BTC[.09231734], ETH[3.92475016], ETHW[3.92310176], USD[7.62], USDT[2.15178086]                                                                                                       Yes

08047463                           SOL[3.07443153], USD[20.50], USDT[0.00000113]

08047468                           CUSDT[2], DOGE[1], SHIB[1], USD[88.74]                                                                                                                                                       Yes

08047472                           BTC[0], SOL[.000024], USD[0.06], USDT[0]

08047483                           CUSDT[1], SOL[2.15590194], USD[0.00]                                                                                                                                                         Yes

08047486                           ETH[0.02798748], ETHW[0.02764299], USD[5.88]                                                                                                                                                 Yes

08047491                           USD[0.01]

08047492                           SOL[.04290839], USD[0.00]                                                                                                                                                                    Yes

08047507                           CUSDT[5], DOGE[278.55862132], ETH[.002], ETHW[.002], NFT (403418758501150389/Sigma Shark #618)[1], TRX[2], USD[0.00]

08047509                           NFT (548171144827865344/Angel #4092)[1], USD[0.00]                                                                                                                                           Yes

08047514                           BTC[.00000023], CUSDT[3], ETH[.00000041], ETHW[.00000041], TRX[1], USD[3.90]                                                                                                                 Yes

08047522                           AAVE[3.61125907], ALGO[663.82141923], BAT[895.48689742], BCH[2.00651735], BTC[.01570196], DAI[0], DOGE[4156.1955612], ETH[0.21177686], GRT[2227.01968737], LINK[47.89775071],                Yes
                                   LTC[6.02122905], MKR[.36216712], SHIB[38905620.05610476], SOL[7.25055516], SUSHI[215.82965047], TRX[9644.96607499], UNI[73.52855252], USD[0.00], USDT[0], YFI[.03354265]
08047524                           DOGE[31.56144519], SHIB[52686.70465724], USD[0.00]                                                                                                                                           Yes

08047525                           CUSDT[2], ETH[0.05453626], ETHW[0.05385927], SOL[.00001336], USD[0.00]                                                                                                                       Yes

08047527                           BTC[0.00009050], ETH[.00034209], ETHW[.00034209], USD[7.48]

08047532                           NFT (466485226233989482/Coachella x FTX Weekend 2 #30996)[1], SHIB[1], USD[0.34]

08047542                           BRZ[1], SHIB[3], TRX[1], USD[0.00], USDT[0]                                                                                                                                                  Yes

08047549                           USD[20.00]

08047555                           CUSDT[1], MATIC[5.54903349], SUSHI[1.28098401], USD[0.00]                                                                                                                                    Yes

08047570                           NFT (374380411199583798/Romeo #1170)[1]

08047574                           DOGE[1], SOL[1.17420136], TRX[1], USD[0.00]

08047580                           SOL[.00000001], USD[0.00]                                                                                                                                                                    Yes

08047581                           CUSDT[2], USD[0.01]

08047594                           USD[20.54]

08047607                           CUSDT[1], NFT (327354201444606853/DOTB #3620)[1], USD[0.00]

08047609                           AVAX[0], USD[1.35]

08047611                           USD[54.25]                                                                                                                                                                                   Yes

08047612                           BTC[.00014962], CUSDT[7], DOGE[317.41998448], ETH[.01149639], ETHW[.01135959], LTC[.06300153], SHIB[2111379.43426612], SOL[.09169795], TRX[285.3494792], USD[0.12]                           Yes

08047620                           SOL[1.66612621], USD[0.40]

08047622                           SOL[0.00016116], USD[0.00]                                                                                                                                                                   Yes
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                                                                                                                                         Customer Claims                                                                                                              22-11071 (JTD)
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08047624                           BTC[0], USD[0.00]                                                                                                                                                                          Yes

08047633                           NFT (364014802414297168/Saudi Arabia Ticket Stub #602)[1]

08047637                           BAT[1], BRZ[1], DOGE[2], GRT[1], MATIC[1.00164518], SUSHI[1.03165898], USD[0.00]                                                                                                           Yes

08047640                           CUSDT[2], DOGE[162.70717734], KSHIB[179.28212211], SHIB[979513.47785675], TRX[93.32982902], USD[0.03]                                                                                      Yes

08047644                           BTC[.00033466], CUSDT[8], DAI[11.85752175], DOGE[19.5044022], ETH[.00264705], ETHW[.00261969], GRT[10.5412763], KSHIB[351.02388401], LINK[.4388394], SHIB[311363.78047174],                Yes
                                   SOL[.03670558], TRX[96.86406034], UNI[.55979422], USD[0.00]
08047645                           AAVE[0], BTC[0], ETH[0], ETHW[0], MATIC[0], SOL[0], USD[0.00]

08047678                           BAT[15.92464905], BTC[.00040406], CUSDT[5], DOGE[40.89448224], ETH[.00477607], ETHW[.00472135], SHIB[841502.57431021], USD[5.42], USDT[5.39175709]                                         Yes

08047687                           CUSDT[1], DOGE[2], SOL[3.16985584], USD[0.00]

08047702                           NFT (322469029940167333/Coachella x FTX Weekend 2 #15230)[1], NFT (391311739469994230/Coachella x FTX Weekend 1 #20356)[1]

08047703                           BTC[0], SHIB[1], SOL[.00000001], USD[0.00]                                                                                                                                                 Yes

08047718                           USD[0.00]

08047725                           USD[0.82]

08047726                           BTC[.003], DOGE[1390], ETH[.14747508], ETHW[.14747508], USD[3.09]

08047731                           SHIB[26918207.6202]

08047732                           BAT[22.02550478], CUSDT[6], NFT (545170980853919577/Little Rocks #1584)[1], SHIB[414570.68518786], SOL[.12451696], TRX[2], USD[10.76], USDT[1.07643284]                                    Yes

08047735                           CUSDT[1232.24864739], KSHIB[975.54732106], MATIC[30.26720869], SHIB[1055931.35269495], USD[27.08]                                                                                          Yes

08047742                           BTC[0], USD[0.01]                                                                                                                                                                          Yes

08047747                           ETHW[.35340934], NFT (533777888166641231/ApexDucks #1174)[1], SHIB[1], SOL[.00047104], USD[0.00], USDT[1.02543197]                                                                         Yes

08047749                           USD[0.00]

08047751                           USD[0.01]                                                                                                                                                                                  Yes

08047761                           USD[0.00]                                                                                                                                                                                  Yes

08047762                           BRZ[1], BTC[.00000033], CUSDT[2], DOGE[1], SHIB[19116026.76945602], TRX[1369.70637592], USD[0.01]                                                                                          Yes

08047767                           USD[175.30]

08047768                           USD[0.00], USDT[.00994904]

08047769                           CUSDT[1], GRT[1], SHIB[781944.19761862], TRX[1008.70838887], USD[0.00]

08047770                           SOL[7.22047019], USD[0.22]

08047773                           DOGE[134.987998], USD[3.59]

08047787                           SOL[0.00327452], USD[1.29]

08047789                           BTC[0], USD[1.01]

08047790                           AAVE[.73926], AUD[151.85], KSHIB[1138.86], LINK[13.4], USD[22.44]

08047794                           ETH[.038], ETHW[.038]

08047800                           BTC[.00202187], CUSDT[5], DOGE[178.2844352], ETH[.02732463], ETHW[.02732463], GRT[91.13199645], LINK[2.96172755], USD[0.00]

08047801                           BTC[0], USD[0.00]

08047807                           NFT (361478531302679210/Coachella x FTX Weekend 2 #25838)[1]                                                                                                                               Yes

08047819                           BTC[0], USD[0.28]

08047827                           AAVE[.0000204], AUD[0.00], AVAX[0], BRZ[2], BTC[0.00000608], CAD[0.00], CHF[0.00], DOGE[2], ETH[0.00000144], ETHW[0.00000144], EUR[0.00], GBP[0.00], GRT[1], LINK[0], MATIC[1.00362332],   Yes
                                   SHIB[53247.83876092], SOL[578.89845601], SUSHI[0], TRX[11], UNI[.00035626], USD[3122.37], USDT[0.00001872]
08047829                           MATIC[8.285812], USD[1.25]

08047834                           USD[0.01]

08047838                           CUSDT[1], USD[0.00]                                                                                                                                                                        Yes

08047839                           BRZ[1], DOGE[2], SHIB[7], USD[0.00]                                                                                                                                                        Yes

08047843                           SOL[2], USD[529.07]

08047847                           ETH[0], ETHW[0], USD[0.00]

08047851                           SHIB[400000], USD[3.87]

08047860                           USD[21.33]

08047864                           NFT (533394684213015754/SolDad #4244)[1], NFT (545802148764962470/SolDad #3921)[1]

08047866                           SOL[.1]

08047868                           AVAX[37.18807065], BRZ[11.6389949], CUSDT[7], DOGE[12.05739108], GRT[4.07096396], LINK[.00493312], MATIC[276.14247157], SHIB[20], SOL[394.50167453], TRX[22.84893614], USD[0.60],          Yes
                                   USDT[3.1706369]
08047880                           BRZ[1], CUSDT[4], DOGE[1], ETH[.00859421], ETHW[.00859421], USD[0.00]

08047885                           SHIB[3], USD[0.00]

08047897                           BRZ[1], BTC[.00435507], SOL[1.07436149], TRX[1], USD[0.00]                                                                                                                                 Yes

08047899                           BTC[.0022969], ETH[.000951], ETHW[.000951], SOL[.009], USD[0.78]

08047905                           BAT[2.0212907], BRZ[6.41474571], BTC[.00000001], CUSDT[26], ETHW[1.59925405], SHIB[5], TRX[13.01480362], USD[6.23], USDT[0]                                                                Yes

08047921                           BTC[.00000001], EUR[0.00], USD[0.00]                                                                                                                                                       Yes

08047926                           USD[0.00]

08047928                           ETH[.000994], ETHW[.000994], USD[0.00], USDT[53.38838880]

08047933                           CUSDT[7], DOGE[1], TRX[4], USD[0.40]                                                                                                                                                       Yes

08047936                           USD[9.78]
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08047949                              CUSDT[1], KSHIB[403.18378104], USD[0.01]                                                                                                                                             Yes

08047952                              BTC[.00038022], ETH[.17787458], ETHW[0.17787458], USD[0.00]

08047956                              SOL[.4], USD[0.15]

08047958                              CUSDT[1], SOL[.23223502], USD[0.00]

08047962                              SHIB[20685.57919621], USD[0.01]

08047968                              DOGE[3717.21364391], TRX[1], USD[0.00]                                                                                                                                               Yes

08047969                              USD[1.34]

08047972                              SHIB[3], USD[0.00]

08047983                              CUSDT[3], USD[0.00]

08047988                              BTC[.01063919], LINK[3.16642324], MATIC[439.23459243]                                                                                                                                Yes

08047996       Contingent, Disputed   BTC[.02234832], ETH[.1317], ETHW[.1317], NFT (301553953177736686/The New Grad)[1], NFT (442428475953766032/Father's cake)[1], NFT (535539723546506782/Extra Color)[1], SOL[8.832],
                                      USD[159.84], USDT[0]
08047999                              ETHW[.24908701], USD[0.00]

08048000                              USD[0.29]

08048003                              CUSDT[1], SUSHI[.00086437], USD[14.40]                                                                                                                                               Yes

08048024                              CUSDT[2], USD[0.00]                                                                                                                                                                  Yes

08048038                              CUSDT[1], SHIB[2210150.52702651], USD[0.00]                                                                                                                                          Yes

08048041                              BTC[0.00005497], DOGE[.989625], ETH[0.00095503], ETHW[-1.77347131], LINK[.008465], MATIC[4.76198596], SOL[0.00454967], SUSHI[.3012], USD[1.15], USDT[0], YFI[0.00020962]

08048043                              ETHW[.105], USD[133.31]

08048048                              BTC[.00790263], USD[0.01], USDT[1.08377152]                                                                                                                                          Yes

08048055                              ETH[0], USD[0.00]

08048056                              BTC[0], ETH[2], ETHW[.72095624], LINK[299.99913342], USD[0.00]

08048057                              SOL[.08646966], USD[5.00]

08048059                              USD[0.00]

08048060                              SOL[2.11], USD[6.41]

08048066                              AAVE[15.20504166], BRZ[2], BTC[1.19558456], DOGE[1], ETH[13.18835723], ETHW[13.18454737], LINK[508.59205811], SHIB[2], TRX[2], USD[11959.38]                                         Yes

08048068                              BRZ[1], BTC[.00890272], CUSDT[7], DOGE[1], ETH[0.05630902], ETHW[0.05561134], SHIB[1], SOL[1.15793668], TRX[1], USD[0.00]                                                            Yes

08048069                              CUSDT[11], ETH[0], GRT[2.01847774], SOL[7.63476343], TRX[2], USD[119.55], USDT[1.06573192]                                                                                           Yes

08048074                              SOL[.02005688]                                                                                                                                                                       Yes

08048080                              USD[25.00]

08048081                              BTC[.00002167], USD[0.00]

08048082                              BAT[407.19831333], BCH[.82560653], BRZ[2196.94563042], BTC[.01605551], CUSDT[5], DOGE[4], MATIC[359.48070834], SOL[2.73959579], TRX[3], USD[0.01], USDT[0]

08048086                              USD[0.01]

08048089                              LTC[0], SHIB[0], SOL[0], USD[0.00], USDT[0.00000001]

08048105                              USD[0.00]

08048112                              SOL[9.36463], USD[2.24]

08048137                              BRZ[1], CUSDT[6], DOGE[5], GRT[1], NFT (477122438795419829/Coachella x FTX Weekend 1 #1143)[1], SHIB[6], TRX[3], USD[0.00]                                                           Yes

08048147                              USD[0.02]                                                                                                                                                                            Yes

08048149                              BTC[.02249049], CUSDT[1], DOGE[1], ETH[.26110383], ETHW[.26091105], SHIB[13721566.56918109], SOL[4.33286076], TRX[1], USD[0.00], USDT[0.00001152]                                    Yes

08048151                              USD[1.06]                                                                                                                                                                            Yes

08048156                              BTC[.00014939], USD[0.00]                                                                                                                                                            Yes

08048159                              CUSDT[1], SHIB[1], USD[21.69]                                                                                                                                                        Yes

08048161                              SHIB[77200000]

08048162                              BAT[1], BRZ[1], DOGE[7.00057537], GRT[1], SHIB[10], SOL[0], TRX[7], USD[0.00], USDT[1.00244123]                                                                                      Yes

08048169                              BRZ[1], BTC[0], DOGE[.03151094], ETHW[0], MATIC[0], NFT (333746334386126120/4802)[1], NFT (477837919138948452/776)[1], NFT (516679906034242718/Carmen #27)[1], NFT
                                      (529579521621389798/3943)[1], NFT (540483945860947350/4101)[1], PAXG[0], SHIB[1], SOL[0], TRX[0], USD[0.00], USDT[0.00006675]
08048171                              ETH[.537], ETHW[.537], USD[9.30]

08048176                              USD[0.99]

08048177                              BTC[.00000005], ETH[.00000223], ETHW[.00000223], SHIB[1], USD[0.00]                                                                                                                  Yes

08048182                              CUSDT[1], DOGE[1], GRT[.00002552], USD[0.01]                                                                                                                                         Yes

08048183                              USD[3.24]                                                                                                                                                                            Yes

08048202                              DOGE[3], SUSHI[.00034571], TRX[2], USD[0.00]                                                                                                                                         Yes

08048205                              CUSDT[1], DOGE[1], SOL[5.37930697], USD[0.00]                                                                                                                                        Yes

08048206                              LTC[.0999958]

08048210                              BAT[1.01572406], BRZ[1], DOGE[2], TRX[3], USD[0.00]                                                                                                                                  Yes

08048212                              USD[0.01]

08048215                              DOGE[1], SHIB[4], TRX[1], USD[121.18]                                                                                                                                                Yes

08048216                              ETH[.00000001], ETHW[0], SOL[0], USD[0.00], USDT[0]

08048217                              BAT[60.44300545], CUSDT[1], DOGE[1], SHIB[1613561.60724845], SOL[2.46214978], USD[0.01]

08048221                              ETHW[.314752], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08048224                              USD[0.95]

08048226                              BAT[2], BRZ[20.33597603], BTC[.00000066], DOGE[44.70524217], ETH[.0000019], ETHW[.00001116], GRT[5], MATIC[.00845625], SHIB[131], SOL[.00040424], TRX[34.54337633], USD[0.75],         Yes
                                      USDT[2.04738737]
08048235                              SHIB[1], TRX[326.3677402], USD[84.89]                                                                                                                                                  Yes

08048236                              SOL[.0031], USD[0.00], USDT[0]

08048238                              LINK[.086], USD[0.00]

08048241                              ETH[.109], ETHW[.109], SHIB[92736.13236814], USD[5000.00]

08048242                              BTC[0]

08048264                              USD[20.00]

08048265                              USD[251.09]

08048272                              BTC[.00481414], SHIB[5], SOL[28.72336046], TRX[1], USD[1188.41]                                                                                                                        Yes

08048279                              DOGE[0], MATIC[97.42905846], SHIB[24], USD[0.00], USDT[0]

08048282                              BRZ[.46944697], CUSDT[6], DOGE[1.71673023], USD[22.93], USDT[0]

08048284                              BRZ[1], CUSDT[4], USD[0.01]                                                                                                                                                            Yes

08048285                              USD[0.93]

08048287                              USD[0.59]

08048293                              USD[57.54]                                                                                                                                                                             Yes

08048294                              AVAX[0], BCH[.00000033], DOGE[6], ETH[0], ETHW[0], LTC[0], NEAR[2.25779015], SHIB[22], SOL[0.00001618], TRX[4], USD[33.32]                                                             Yes

08048311                              CUSDT[5], DOGE[1868.4480422], SHIB[1], TRX[2666.87261431], USD[0.00]

08048312                              SHIB[12071013.29208109], USD[0.00]                                                                                                                                                     Yes

08048316                              USD[0.00]

08048317                              BTC[.00591046], CUSDT[2], ETH[.07142735], ETHW[.07053953], TRX[2], USD[0.01]                                                                                                           Yes

08048326       Contingent,            BTC[0], ETHW[.00069789], USD[0.00], USDT[0]
               Unliquidated
08048334                              USD[108.48]                                                                                                                                                                            Yes

08048339                              SHIB[1513230]

08048356                              USD[21.51]                                                                                                                                                                             Yes

08048358                              BTC[.00318681], CUSDT[11], DOGE[589.98909962], ETH[.02889461], ETHW[.02853893], SHIB[5846478.7075178], TRX[446.41957752], USD[0.00]                                                    Yes

08048364                              BTC[.00174057], DOGE[0], LTC[0], SHIB[1301887.10498452]                                                                                                                                Yes

08048372                              CUSDT[1], LINK[42.66158824], USD[0.00]                                                                                                                                                 Yes

08048376                              SOL[6.42]

08048377                              BRZ[1], CUSDT[3], GRT[.00182917], LINK[.000099], TRX[1], USD[0.00]                                                                                                                     Yes

08048382                              USD[16.27]                                                                                                                                                                             Yes

08048384                              BRZ[1], BTC[.00091992], CUSDT[1], DOGE[201.15510997], USD[0.01]                                                                                                                        Yes

08048387                              CUSDT[1], GRT[.00051153], TRX[1], USD[0.00]                                                                                                                                            Yes

08048388                              ETH[.01093779], ETHW[.01093779], SOL[.25], USD[50.91]

08048389                              SOL[.00000001]                                                                                                                                                                         Yes

08048395       Contingent, Disputed   USD[0.38]                                                                                                                                                                              Yes

08048400                              CUSDT[1], ETH[.00472421], ETHW[.00466949], MATIC[11.38625504], TRX[1], USD[0.00]                                                                                                       Yes

08048406                              CUSDT[1], DOGE[1], SHIB[2216060.6565725], USD[0.00], YFI[.00946831]                                                                                                                    Yes

08048409                              BAT[3750.64755185], BF_POINT[400], BTC[0.00000053], ETHW[.72041317], NFT (341750354079224964/ApexDucks #7076)[1], NFT (392557997134347102/Barcelona Ticket Stub #1811)[1], NFT         Yes
                                      (453265959468629721/Australia Ticket Stub #1166)[1], SHIB[0.00000001], SOL[.00019606], USD[0.00]
08048416                              DOGE[1], SHIB[281.93408107], USD[0.00]                                                                                                                                                 Yes

08048422                              BAT[24.11577855], CUSDT[1], ETH[.00000005], ETHW[.00000005]                                                                                                                            Yes

08048436                              BTC[.00581759], ETH[.07525995], ETHW[.08393426], SOL[3.19074867], USD[0.01]

08048447                              ALGO[34], BTC[.0005], ETH[.056], NFT (297597903222022108/Pot #12)[1], NFT (302334420185279213/Shiba Inu Collection #10)[1], NFT (325134458810884237/#6430 Inverse Bear)[1], NFT
                                      (348925317891882647/Gangster Gorillas #754)[1], NFT (373016673670975232/Kiddo #5095)[1], NFT (421819308059600820/Careless Cat #487)[1], NFT (430379718749811671/2D SOLDIER #595)[1],
                                      NFT (461128361790113327/GalaxyKoalas # 659)[1], NFT (496266343565684196/Kiddo #3725)[1], NFT (516586226348916317/Ravager #1546)[1], NFT (528752783529835818/Autumn 2021 #104)[1],
                                      SHIB[4100000], SOL[.07], USD[0.56]
08048452                              BTC[.00000321], DOGE[767.51994547], GRT[53.52686679], USD[0.00]                                                                                                                        Yes

08048457                              USD[5.42]                                                                                                                                                                              Yes

08048466                              BTC[0], USD[0.00]

08048473                              NFT (440025804662307169/Solninjas #2410)[1], TRX[.000103], USD[0.01], USDT[0]

08048481                              USD[0.00]

08048484                              CUSDT[1], ETH[.00232546], ETHW[.0022981], SHIB[150810.00087976], USD[0.75], USDT[5.38874849]                                                                                           Yes

08048489                              BAT[1], BRZ[1], CUSDT[3], DOGE[3], TRX[1], USD[0.00]

08048502                              AVAX[.09368], ETH[.0000198], ETHW[.0000198], LINK[.00301], LTC[.001414], MATIC[.54532795], SOL[.007763], UNI[.055], USD[79594.42]

08048504                              CUSDT[2], DOGE[1], GRT[22.94441821], NFT (448384756799567006/DOTB #2151)[1], USD[0.00]                                                                                                 Yes

08048506                              AVAX[.81810026], DOGE[5], ETH[.00031476], LINK[.66969058], MATIC[5.80060518], SHIB[.76443356], TRX[419.8637078], USD[0.00]                                                             Yes

08048507                              BTC[.0078616], CUSDT[1], DOGE[2], USD[0.02]                                                                                                                                            Yes

08048518                              SHIB[22318425.08797478], TRX[1], USD[6455.96]                                                                                                                                          Yes

08048524                              USD[20.00]
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                                                                                                                                         Customer Claims                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08048528                           ETH[.00000025], ETHW[.00000025], SOL[.00019584]                                                                                                                            Yes

08048530                           BCH[1.19947657], CUSDT[2], SHIB[5076556.68051], SOL[4.5486832], TRX[1], USD[0.02]                                                                                          Yes

08048531                           DOGE[1], SOL[0]

08048539                           BTC[.042957]

08048540                           SHIB[12189900], USD[2.01]

08048542                           CUSDT[5], USD[0.00]

08048548                           USD[64.91]                                                                                                                                                                 Yes

08048550                           SOL[.00000001], TRX[498.501], USD[0.76], USDT[0]

08048551                           SOL[0], USD[4.15]

08048552                           CUSDT[1], DOGE[1], SHIB[2], SOL[13.58899258], TRX[1], USD[0.00]                                                                                                            Yes

08048556                           TRX[1], USD[0.00]                                                                                                                                                          Yes

08048557                           BRZ[1], CUSDT[8], DOGE[2], MATIC[0], NFT (408005572996673636/FTX - Off The Grid Miami #211)[1], SHIB[2], SOL[0], TRX[3], USD[0.00]                                         Yes

08048560                           BTC[.0003205], USD[0.00]

08048565                           SOL[2.80912231]                                                                                                                                                            Yes

08048571                           CUSDT[2], KSHIB[149.3826968], USD[2.17]                                                                                                                                    Yes

08048575                           CUSDT[1], GRT[1.00246868], SOL[.1374599], USD[0.00]                                                                                                                        Yes

08048580                           SOL[.00327448], USD[1072.35]                                                                                                                                               Yes

08048582                           BRZ[1], CUSDT[1], SOL[0]                                                                                                                                                   Yes

08048587                           BTC[0.00136775], KSHIB[0], SHIB[1], USD[0.00], USDT[19.30136932]                                                                                                           Yes

08048591                           CUSDT[2], DOGE[40.46390224], GRT[9.23252198], SHIB[351159.33314854], SUSHI[1.08362376], TRX[79.62416075], USD[0.00]                                                        Yes

08048595                           USD[5.56]                                                                                                                                                                  Yes

08048597                           CUSDT[1], TRX[1], USD[0.00]

08048599                           BRZ[1], BTC[.00015446], TRX[1], USD[58.98]                                                                                                                                 Yes

08048600                           BRZ[1], CUSDT[21.00005602], DOGE[1], ETH[.00000079], ETHW[.08559993], MKR[.00000121], SHIB[8], SUSHI[71.32492488], TRX[1], USD[0.00]                                       Yes

08048601                           SOL[.00000001], USD[2.59]

08048605                           TRX[0], USD[3.93]                                                                                                                                                          Yes

08048613                           DOGE[1], SHIB[1], USD[0.00]

08048615                           SHIB[1], USD[118.95]                                                                                                                                                       Yes

08048621                           CUSDT[1], USD[0.00]

08048624                           SOL[.01367695], USD[0.00]

08048632                           USD[0.00]                                                                                                                                                                  Yes

08048636                           ETHW[.22073486], TRX[2], USD[0.00]

08048646                           NFT (402795359876031558/Warriors 75th Anniversary City Edition Diamond #394)[1]

08048650                           DOGE[1], SOL[.00001863], USD[0.00]                                                                                                                                         Yes

08048652                           ETHW[0], USD[0.00]                                                                                                                                                         Yes

08048660                           BRZ[1], CUSDT[3], ETHW[.53756294], TRX[1], USD[0.14], USDT[1.07181267]                                                                                                     Yes

08048662                           MATIC[1.09230584], USD[0.00]                                                                                                                                               Yes

08048669                           LINK[.03168757], USD[0.00], USDT[0]                                                                                                                                        Yes

08048677                           ETHW[0], SOL[0], USD[0.00]

08048686                           MATIC[82.46675322], SHIB[1], USD[0.00]                                                                                                                                     Yes

08048689                           DOGE[1], USD[0.00]                                                                                                                                                         Yes

08048704                           USD[0.00]

08048709                           USD[20.00]

08048712                           DOGE[1], SOL[2.02601519], USD[0.00]

08048725                           USD[1.93]

08048726                           USD[542.31]                                                                                                                                                                Yes

08048735                           BRZ[1], CUSDT[1], SOL[.00000747], USD[0.00]                                                                                                                                Yes

08048745                           USD[0.00]

08048746                           BRZ[1], DOGE[4], SHIB[2], TRX[5], USD[0.05]                                                                                                                                Yes

08048753                           CUSDT[2], DOGE[2494.74038093], TRX[1], USD[1.55]                                                                                                                           Yes

08048757                           BTC[.00040417], CUSDT[1], USD[0.12]                                                                                                                                        Yes

08048775                           ETH[.000837], ETHW[.000837], SOL[.25], USD[0.75]

08048783                           SHIB[3000000], SUSHI[.487], USD[0.19]

08048796                           CUSDT[1], DOGE[637.15790994], SHIB[5697847.48706413], TRX[2], USD[9.78]                                                                                                    Yes

08048797                           USD[542.26], USDT[.08407161]                                                                                                                                               Yes

08048798                           ETH[.0000152], ETHW[.0000152], USD[0.00]                                                                                                                                   Yes

08048799                           USD[0.01]                                                                                                                                                                  Yes

08048801                           BF_POINT[100], BTC[.00082065], CUSDT[6], DOGE[191.84475411], ETH[.01245313], ETHW[.01230265], GRT[56.15395287], LINK[.73330637], LTC[.10075861], SHIB[2483799.97680965],   Yes
                                   TRX[559.55642049], USD[232.31]
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                                                                                                                                            Customer Claims                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08048807                              USD[0.00], USDT[0]

08048809                              BTC[.00118761], CUSDT[3], DOGE[1], SOL[0], SUSHI[0], TRX[3], USD[0.00]                                                                                    Yes

08048810                              BTC[.00060752], CUSDT[3], DOGE[1], ETH[.01084493], ETHW[.01070813], SHIB[195845.80940324], TRX[1], USD[0.00]                                              Yes

08048813                              NFT (576300151340663832/Australia Ticket Stub #736)[1], USD[0.00]

08048815                              TRX[917], USD[0.30]

08048817                              BTC[.03261894], USD[2.19]

08048819                              CUSDT[1], MATIC[56.55736984], USD[0.00]                                                                                                                   Yes

08048826                              CHF[1.06], GBP[0.00], TRX[59.54839278], UNI[.09619713], USD[0.07]                                                                                         Yes

08048832                              USD[0.00], USDT[0]

08048834                              BRZ[2], SHIB[38.42718448], TRX[1], USD[0.00]                                                                                                              Yes

08048835                              SOL[4.7], USD[0.00]

08048842                              AAVE[.00000013], BTC[.00016104], CUSDT[1], GRT[15.50102459], PAXG[.00595672], SOL[.04391813], USD[9.13]                                                   Yes

08048844                              SHIB[1600000], USD[25.25]

08048847                              BTC[.00042383], USD[0.00]                                                                                                                                 Yes

08048850                              CUSDT[5], DOGE[1], ETH[0], SOL[.00066771], TRX[1], USD[0.00]                                                                                              Yes

08048855                              USD[301.15]                                                                                                                                               Yes

08048858                              BTC[.00000046], ETH[.02663478], ETHW[0.02630646], TRX[1], USD[0.00], USDT[1.02543198]                                                                     Yes

08048859                              AVAX[12.12955533], BTC[.21267092], CUSDT[1], MATIC[3350.89683822], SHIB[38798763.63999996], SOL[14.18355269], SUSHI[637.62682244], USD[0.00]              Yes

08048870                              CUSDT[1], SOL[.00000001], USD[0.00]                                                                                                                       Yes

08048872                              USD[0.01]                                                                                                                                                 Yes

08048876                              SHIB[417208.05221705], USD[0.01]                                                                                                                          Yes

08048903                              USD[0.01]                                                                                                                                                 Yes

08048906                              ETH[.00073413], ETHW[.00072958], USD[0.00]                                                                                                                Yes

08048914                              BTC[0], DAI[.00000001], DOGE[2], SOL[0], TRX[1], USD[0.02], USDT[0]                                                                                       Yes

08048923                              USD[542.38]                                                                                                                                               Yes

08048929                              NFT (340736563812627126/Sun Set #222)[1], NFT (477964714875373289/Vintage Sahara #536)[1], NFT (573570644682615069/Cosmic Creations #338)[1], USD[0.00]

08048932                              USD[0.00]

08048948                              BAT[1.00788981], TRX[2], USD[0.00], USDT[0]                                                                                                               Yes

08048955                              GRT[1.00019173], USD[0.00]                                                                                                                                Yes

08048966                              CUSDT[1], ETH[.01189224], ETHW[.01174176], TRX[517.7254781], USD[0.00]                                                                                    Yes

08048972                              CUSDT[1], USD[18.95]                                                                                                                                      Yes

08048973                              BTC[.00785345], ETH[.10770143], ETHW[.10770143], SOL[1.95026534], USD[0.00]

08048974                              BTC[0], ETH[0], SOL[.00000001], USD[0.00]

08048976                              GRT[1], SOL[2.51305559], USD[0.01]

08048985                              USD[0.55]

08048988                              BTC[0], SHIB[1], USD[0.00], USDT[0]                                                                                                                       Yes

08048995                              CUSDT[1], SHIB[2284053.94106204], TRX[1], USD[0.00]

08049002                              USD[10.82]                                                                                                                                                Yes

08049003                              USD[10.00]

08049004                              CUSDT[3], ETH[.0114313], ETHW[.0112945], SHIB[6209157.62824615], USD[0.00]                                                                                Yes

08049015                              BRZ[1], CUSDT[1], MATIC[909.96844449], SOL[10.52988464], TRX[2], USD[1.18]                                                                                Yes

08049019                              BRZ[2], CUSDT[1], ETHW[.07800048], MATIC[.00146194], TRX[3], USD[166.72], USDT[1.00008217]                                                                Yes

08049023                              DOGE[1], ETH[.00549127], ETHW[.00549127], TRX[1], USD[0.00]

08049037       Contingent, Disputed   USD[0.00]

08049040                              BTC[.0015989], CUSDT[7], ETH[.01581191], ETHW[.01562039], SHIB[1011967.96009946], USD[0.10]                                                               Yes

08049041                              BTC[.10990035], CUSDT[1], DOGE[3], ETH[.45003304], ETHW[.44984398], SOL[4.43083295], TRX[1], USD[109.46]                                                  Yes

08049044                              CUSDT[1], TRX[499.95132031], USD[0.00]                                                                                                                    Yes

08049045                              USD[0.06]

08049066                              LINK[0], MATIC[1.09669036], SOL[0], USD[0.00]                                                                                                             Yes

08049069                              USD[0.00]                                                                                                                                                 Yes

08049075                              BTC[.00027993], USD[0.00]

08049076                              LTC[.00008354]                                                                                                                                            Yes

08049077                              BRZ[1], DOGE[1], GRT[4], SUSHI[1357.67625224], TRX[4], USD[0.00], USDT[2]

08049082                              CUSDT[1], SOL[.42141923], USD[0.00]

08049083                              GRT[255.9], USD[7.28]

08049086                              USD[5.30]                                                                                                                                                 Yes

08049089                              CUSDT[4], DOGE[2], KSHIB[432.63766638], USD[10.54]                                                                                                        Yes

08049091                              CUSDT[1], SHIB[1168107.42187585], SOL[.004296]                                                                                                            Yes
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                                                                                                                                          Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08049105                           ETHW[.14333715], USD[1.35]                                                                                                                                                               Yes

08049110                           BRZ[1], DOGE[1], USD[0.00], USDT[0]                                                                                                                                                      Yes

08049113                           USD[0.00]

08049115                           ETH[.00083095], ETHW[0.00083095], LTC[.00522368], USD[0.00]

08049116                           SOL[.01]

08049122                           BRZ[24.49903032], CAD[0.41], CUSDT[104.06014176], DOGE[165.63833628], KSHIB[177.71979447], SHIB[2146001.58920666], TRX[10.03015036], USD[0.03]                                           Yes

08049135                           BTC[.0124304], DOGE[2], ETHW[9.04950147], MATIC[1.00763284], SHIB[1], USD[13577.27], USDT[3.12321908]                                                                                    Yes

08049136                           SHIB[96968.46434116], USD[0.05]

08049139                           CUSDT[2], DOGE[1], ETH[.35434714], ETHW[.35419498], SOL[3.36216322], TRX[1], USD[0.00]                                                                                                   Yes

08049143                           USD[0.00], USDT[1]

08049146                           USD[0.00]                                                                                                                                                                                Yes

08049147                           DOGE[1], SHIB[1728011.05927077], USD[0.00]

08049151                           CUSDT[1], DOGE[7.24894764], HKD[0.00], MATIC[2.15957792], SHIB[188803.46851186], TRX[38.99456122], USD[1.06]                                                                             Yes

08049156                           DOGE[1], SHIB[7777259.29382485], TRX[6985.4156733], USD[0.00]

08049166                           CUSDT[1], USD[0.00]

08049167                           USD[0.20], USDT[0.00000142]

08049171                           BTC[0], GRT[0], USD[0.00]

08049183                           ETHW[.00875816], SHIB[188484.21896222], USD[58.94]                                                                                                                                       Yes

08049184                           BRZ[2], CUSDT[1], DOGE[2], SHIB[12780080.78707626], USD[0.00]

08049185                           BCH[.87927298], BRZ[2], CUSDT[2754.67592236], DOGE[1786.29596956], SHIB[12618097.60154857], TRX[10], USD[25.26]                                                                          Yes

08049193                           BTC[.00955434], ETH[.12346517], ETHW[.12346517], USD[0.00]

08049194                           USD[108.48]                                                                                                                                                                              Yes

08049198                           CUSDT[1], DOGE[5694.68498597], SHIB[63027424.15290841], TRX[2], USD[0.00]                                                                                                                Yes

08049203                           BRZ[1], BTC[.00978101], CUSDT[2], DOGE[65.63405963], KSHIB[2187.19864892], NEAR[38.29995745], SHIB[5], SOL[7.39359022], USD[0.00]                                                        Yes

08049205                           ETH[.00000001], LTC[0], MATIC[0], NFT (443835253135303035/Solsworn Knight #283)[1], SHIB[0], SOL[0.00000001], SUSHI[0], USD[0.29], USDT[0]

08049220                           USD[50.01]

08049226                           CUSDT[4], DOGE[1], USD[0.00]                                                                                                                                                             Yes

08049229                           USD[108.47]                                                                                                                                                                              Yes

08049233                           SOL[0], USDT[0]

08049239                           BRZ[2], TRX[1], USD[0.00], USDT[1.06169075]                                                                                                                                              Yes

08049241                           ETHW[.011], SOL[.00905489], TRX[1], USD[33.48]

08049245                           CUSDT[1], DOGE[1], USD[0.01]

08049247                           CUSDT[4], SHIB[2], SOL[.00038073], TRX[2], USD[0.00]                                                                                                                                     Yes

08049249                           ETHW[.00008979], SHIB[32], SOL[.00130706], USD[0.00]                                                                                                                                     Yes

08049258                           BAT[1.00993941], BRZ[2], BTC[.07892044], CUSDT[1], DOGE[5], SOL[50.17034329], USD[1090.10], USDT[1.06935446]                                                                             Yes

08049277                           BRZ[3], BTC[.01521042], CUSDT[10], DOGE[5], SHIB[2], SOL[4.17285410], TRX[3], USD[0.00]                                                                                                  Yes

08049294                           BTC[0], USD[0.01], USDT[0]

08049297                           CUSDT[1], SOL[2.19428998], USD[0.00]                                                                                                                                                     Yes

08049300                           KSHIB[2015.95572578], TRX[1], USD[0.00]                                                                                                                                                  Yes

08049301                           BF_POINT[200], BTC[0.59062500], ETH[0], ETHW[0], USD[19.99], USDT[0]                                                                                                                     Yes

08049310                           CUSDT[3], DOGE[1], USD[0.00]

08049311                           SHIB[1170528.9672544], USD[0.01]

08049314                           BTC[.0000069], SOL[.00004484], USD[0.00]

08049317                           BTC[.0000835], ETH[.000649], ETHW[.000649], SOL[.01450001], USD[0.76]

08049322                           USD[542.22]                                                                                                                                                                              Yes

08049329                           BTC[.00000001], USD[2.01]

08049330                           USD[280.14]

08049331                           CUSDT[28], LINK[0], SHIB[7], TRX[9.00598653], USD[0.00], USDT[0]                                                                                                                         Yes

08049334                           BTC[.03049], ETH[.64256824], ETHW[.64256824], USD[2.35]

08049339                           DAI[0], SOL[3.10689000], USD[0.48]

08049344                           BTC[0.00027925], SHIB[1], USD[0.00]                                                                                                                                                      Yes

08049354                           SHIB[1], USD[0.01]                                                                                                                                                                       Yes

08049355                           BTC[.00079044], DOGE[1], NFT (322267010125204200/Kiddo #4094)[1], NFT (347485011460389545/Kiddo #368)[1], NFT (490514179876803874/3624)[1], NFT (520293704556485253/Kiddo                Yes
                                   #1812)[1], SHIB[687041.93076129], SOL[.96120188], USD[0.01]
08049357                           USD[10.85]                                                                                                                                                                               Yes

08049361                           SHIB[0], USD[0.00]                                                                                                                                                                       Yes

08049373                           BAT[83.916], BTC[.00070496], DOGE[963.993], ETH[.042957], ETHW[.042957], EUR[428.57], LINK[3.996], MATIC[49.95], SHIB[999000], SOL[10.04661739], SUSHI[9.99], TRX[429.57], UNI[7.992],
                                   USD[92.49]
08049382                           USD[0.39]

08049387                           ETH[.00503], ETHW[.00503]
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                                                                                                                                            Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08049394                              NFT (567481289118162717/480)[1]

08049396                              USD[0.00]

08049406                              AUD[73.86], BTC[.00178227], CAD[68.25], CUSDT[3], USD[0.00]                                                                                                                                  Yes

08049416                              CUSDT[1], SHIB[283285.01070807], USD[0.00]                                                                                                                                                   Yes

08049419                              USD[0.00]

08049423                              USD[20.00]

08049427                              CUSDT[1], ETHW[.06005486], SHIB[1], USD[0.01]

08049430                              SHIB[1], TRX[1], USD[0.00]                                                                                                                                                                   Yes

08049431                              USD[50.00]

08049433                              ETH[0], SHIB[4], USD[200.24], USDT[0]                                                                                                                                                        Yes

08049441                              SOL[8.22177], SUSHI[1], USD[3.90]

08049445                              DOGE[3], SHIB[1], USD[0.01]                                                                                                                                                                  Yes

08049446                              AAVE[.62716494], CUSDT[1], DOGE[1], SOL[.44559046], USD[1842.19]                                                                                                                             Yes

08049451                              AAVE[.00000001], BRZ[1], BTC[0.00600653], DOGE[4], GRT[2], SHIB[16], SOL[0], TRX[10], USD[0.00], USDT[1.00000037]

08049452                              ETHW[3.60526477], USD[8711.61], USDT[0.00000001]

08049454                              BCH[0], CUSDT[13], DOGE[1], ETH[0], KSHIB[0], MATIC[0], MKR[0], SHIB[2], SOL[0.17774695], TRX[0], USD[0.00]                                                                                  Yes

08049462                              DOGE[1], MATIC[0], NFT (338357056201595037/Barcelona Ticket Stub #702)[1], NFT (474283103388347810/Imola Ticket Stub #84)[1], SHIB[2], SOL[.10315627], TRX[1], USD[4.58]

08049464                              NFT (493378631808254775/Devil Havin' a Beer)[1], NFT (540022652728370238/Shrine of Satoshi )[1], SOL[.15195725], USD[0.00]

08049472                              AAVE[0], ALGO[0], BAT[0], BCH[0], BTC[0.00087703], CUSDT[0], DAI[0], ETH[0], ETHW[0], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], MKR[0], PAXG[0], SHIB[11], SUSHI[0], UNI[0], USD[0.00],   Yes
                                      USDT[0.00000001], YFI[0]
08049480                              USD[10.05]

08049481                              USD[0.00]

08049490                              SOL[1.09181905], USD[2.17]                                                                                                                                                                   Yes

08049492                              BTC[0.06003112], ETH[.02817137], ETHW[0.02817136], USD[2.80], USDT[0]

08049493                              SHIB[700000], USD[3.34]

08049495                              ETH[0], USD[0.01]

08049497                              ETH[.09117833], ETHW[.09117833], USD[0.00]

08049499                              CUSDT[3], LTC[.40501889], SOL[.43808489], USD[0.00], USDT[99.45067326]

08049506                              BTC[.00118763], CUSDT[3], DOGE[1], ETH[.02562844], ETHW[.02562844], USD[5.00]

08049518                              SHIB[3.99326422], USD[0.00], USDT[0]                                                                                                                                                         Yes

08049521                              SHIB[3483629.00694327], USD[0.00]                                                                                                                                                            Yes

08049522                              CUSDT[1], SOL[.23573834], USD[0.08]                                                                                                                                                          Yes

08049526                              BRZ[1], BTC[.00871375], CUSDT[2], DOGE[2], ETH[.2375044], ETHW[.23730259], GRT[1.00175498], LINK[17.1043295], LTC[2.67952177], MATIC[279.46309788], SHIB[11037058.06164957],                 Yes
                                      SOL[2.78059039], TRX[2], UNI[20.96051191], USD[0.03]
08049530                              BTC[.00192103], CUSDT[3], DOGE[252.5653565], ETH[.02094706], ETHW[.02094706], SHIB[2268190.89094538], TRX[1], USD[95.01]

08049532                              CUSDT[1], SOL[.20436173], USD[50.00]

08049540                              ALGO[.00008381], AVAX[.00009519], BRZ[1], DOGE[3], LINK[.00003893], MATIC[.00000987], SHIB[5], TRX[1], UNI[.2699506], USD[0.00]

08049551                              BTC[0.00001353], USD[0.00], USDT[0]

08049555                              NFT (288636644846216834/Juliet #22)[1], NFT (348013299051770278/Noot Nest #1342)[1], NFT (382210988100289760/APEFUEL by Almond Breeze #659)[1], NFT (449661599178538037/Good Boy
                                      #7353)[1], SOL[.1], USD[1.58]
08049559                              USD[10.00]

08049562                              USD[1.87]

08049563                              LINK[1.09412026], MATIC[28.4705227], SHIB[216812.2120432], SOL[.13124177], TRX[116.62085315], USD[0.03]                                                                                      Yes

08049567                              SOL[0], USD[2.50]

08049570                              CUSDT[1], SHIB[2815843.81452975], USD[0.00]

08049577                              USD[0.00]                                                                                                                                                                                    Yes

08049590                              BAT[55.61184764], CUSDT[13], DOGE[438.95243301], GRT[0.00069389], SHIB[471.10825321], SUSHI[0.00044932], TRX[1.00657425], USD[0.00]                                                          Yes

08049593                              BRZ[1], CUSDT[1], DOGE[1], SHIB[3764.30947809], USD[0.01]

08049594                              CUSDT[18], DOGE[4], PAXG[0], SHIB[14], TRX[7], USD[1.51]

08049595                              CUSDT[3939.87899858], SHIB[13717778.84865992], TRX[1], USD[0.25]                                                                                                                             Yes

08049605                              ETH[.001], ETHW[.001], USD[1.49]

08049614                              USD[0.29], USDT[0]

08049619                              NFT (565158546691661412/2021 Sports Illustrated Awards #148)[1]                                                                                                                              Yes

08049621                              BRZ[1], CUSDT[20], DOGE[5.00001956], SHIB[18905.19150292], TRX[9], USD[0.01]                                                                                                                 Yes

08049628       Contingent, Disputed   CUSDT[3], DOGE[59.14957043], ETH[.00924401], ETHW[.00913457], SHIB[4644416.41034396], TRX[102.67510828], USD[42.81]                                                                          Yes

08049631                              BTC[0], ETH[0], SOL[0], USD[0.00]

08049634                              CUSDT[3], DOGE[1], ETH[.00000193], ETHW[.00000193], SOL[0], TRX[2], USD[0.00]                                                                                                                Yes

08049640                              CUSDT[1], DOGE[1], TRX[1], USD[0.21], USDT[0.00000009]                                                                                                                                       Yes

08049649                              ETH[.00002], ETHW[.00002]

08049657                              USD[2.17]                                                                                                                                                                                    Yes
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08049659                              ETH[.07744038], ETHW[.07648076]                                                                                                                                                      Yes

08049666                              USD[30.89]

08049673                              BRZ[1], BTC[.00000078], CUSDT[4], DOGE[1], ETH[.00000102], ETHW[.11035928], MATIC[110.93841171], SHIB[6], USD[0.03]                                                                  Yes

08049688                              CUSDT[2], USD[107.23]

08049698                              USD[0.00]

08049710                              BTC[.00000003], DOGE[1], SOL[.00042785], USD[0.00]                                                                                                                                   Yes

08049729                              SOL[.00322509], USD[0.00]

08049732                              ALGO[103.08266875], ETH[0.16435630], ETHW[0.16080582], MATIC[92.87738732], SOL[0], SUSHI[82.49620395], USD[0.00]                                                                     Yes

08049734                              ALGO[0], BRZ[7.07823954], DOGE[7.00057537], SHIB[35], TRX[13], USD[0.03]                                                                                                             Yes

08049741                              ETH[.00139886], ETHW[.00138518], SHIB[1], SOL[.052725], USD[1.04]                                                                                                                    Yes

08049749                              USD[108.47]                                                                                                                                                                          Yes

08049753                              BTC[0], MATIC[0], SOL[0], TRX[0.00000094]

08049771                              BTC[0], ETH[0], MATIC[214.24759091], SOL[0], USD[0.00]                                                                                                                               Yes

08049780                              BRZ[3], BTC[0], DAI[0], DOGE[1], GRT[0], SHIB[1], TRX[4], USD[0.00]                                                                                                                  Yes

08049781                              USD[2.39]

08049787                              DOGE[168.80137641]

08049788                              CUSDT[2], SHIB[5400875.77641126], SUSHI[18.31331354], TRX[1], USD[0.00]                                                                                                              Yes

08049790                              USD[21.68]                                                                                                                                                                           Yes

08049802                              ETH[.060939], ETHW[.060939], SUSHI[32.967], USD[70.92]

08049814       Contingent, Disputed   USD[0.01]

08049817                              BRZ[1], SHIB[4], TRX[2], USD[0.00]                                                                                                                                                   Yes

08049832                              ETH[0], ETHW[0.18603924], SOL[0.03930622], USD[100.03], USDT[0.00000001]                                                                                                             Yes

08049834                              BRZ[1], BTC[.00549493], USD[0.00]

08049837                              DOGE[1], GRT[1], USD[0.00], USDT[0.00000054]                                                                                                                                         Yes

08049839                              NFT (292845697875869001/Rockefeller Center)[1], NFT (334743131633117109/Ha Long Bay)[1], NFT (354177854054613885/Redwood Forest)[1], NFT (409011420890645047/Oceans Apart)[1], NFT
                                      (488960563078865451/To The World)[1], NFT (490423431760806670/Golden Gate Bridge)[1], NFT (497355802603240341/Ancient Crypto Transfer)[1], NFT (526478473849426489/The Freedom
                                      Fighter)[1], NFT (540448396486862312/Angkor Wat)[1], NFT (554852048551251111/Mar Pacifico)[1]
08049842                              SOL[.00307], USD[0.00]

08049849                              USD[0.00]

08049854                              ETH[.23369736], ETHW[0.23369736], USD[0.00]

08049862                              BTC[0.03778917], LTC[12.68524877], USD[6.16]

08049867                              BRZ[1], CUSDT[3], ETH[.0000003], ETHW[.0000003], LINK[0], USD[0.00]                                                                                                                  Yes

08049874                              SOL[117.50024255]

08049879                              BTC[0], USD[0.00]

08049880                              SOL[.11], USD[1004.70]

08049883                              AAVE[1.08680257], BAT[90.90986204], ETHW[.00000106], LINK[4.7694377], NFT (463913462969088066/ALPHA:RONIN #1223)[1], SHIB[1], SUSHI[31.06318654], UNI[27.07647139], USD[0.00]        Yes

08049897                              USD[0.01]                                                                                                                                                                            Yes

08049902                              NFT (300649452727658073/Birthday Cake #0641)[1], NFT (467312864401707322/The 2974 Collection #0641)[1], NFT (505064297162352396/2974 Floyd Norman - CLE 1-0066)[1], NFT
                                      (552342015428302727/2974 Floyd Norman - OKC 6-0261)[1], USD[0.00], USDT[0]
08049907                              CUSDT[5], SHIB[2422331.89900431], SOL[.10616907], USD[0.00]                                                                                                                          Yes

08049909                              USD[0.01]                                                                                                                                                                            Yes

08049911                              USD[25.00]

08049919                              ETH[.00000033], ETHW[.00000033], USD[10.49]                                                                                                                                          Yes

08049920                              ETHW[.1338727], USD[0.20]

08049921                              SOL[9.99], USD[4.10]

08049935                              BRZ[1], USD[0.22]                                                                                                                                                                    Yes

08049938                              USD[3.25]                                                                                                                                                                            Yes

08049939                              TRX[2961], USD[0.10]

08049940                              BRZ[1], CUSDT[2], DOGE[104.22486065], KSHIB[2086.54188701], USD[0.55], USDT[1.00291751]                                                                                              Yes

08049942                              CUSDT[1], SHIB[9975154.1465938], USD[1.04]                                                                                                                                           Yes

08049948                              CUSDT[1], SOL[.44727413], USD[0.00]                                                                                                                                                  Yes

08049949                              BTC[.00004829], USD[64726.97]

08049955                              ETH[0], USD[0.00], USDT[0.00003394]

08049965                              BTC[0], SHIB[1], TRX[2], USD[0.04]                                                                                                                                                   Yes

08049967                              BTC[.00625883], CUSDT[6788.43671806], DOGE[1], USD[0.00]

08049968                              BTC[0.00000004], ETH[0], GRT[0.00835742], PAXG[0.00000062], SHIB[9], SOL[0], TRX[1], USD[0.00]                                                                                       Yes

08049978                              BTC[.00069867], DOGE[41.9601], USD[2.84]

08049979                              USD[0.00]

08049984                              USD[0.00]

08049988                              BRZ[118.87894859], CUSDT[1], SHIB[193442.09784422], USD[16.27]                                                                                                                       Yes
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                                                                                                                                            Customer Claims                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08049989                              ETH[.00552181], ETHW[.00545341], USD[0.00]                                                                                                                             Yes

08049991                              BRZ[1], CUSDT[1], USD[0.54], USDT[0.00061268]                                                                                                                          Yes

08049995                              SOL[.01522], USD[280.04]

08049997                              BTC[.00000146]                                                                                                                                                         Yes

08049998                              SOL[.00357], USD[0.01]

08049999                              CUSDT[4], DOGE[103.14574913], ETH[.00000001], KSHIB[481.64499103], SHIB[599872.72752539], SOL[.08937247], USD[0.02]                                                    Yes

08050000                              BF_POINT[300], BRZ[1], CUSDT[1], DOGE[2], ETH[.00000021], ETHW[.00000021], SHIB[8], USD[0.00]                                                                          Yes

08050018                              NFT (569586219798629728/Warriors Gold Blooded NFT #707)[1]

08050029                              BTC[.00040328], CUSDT[7], DOGE[1], SHIB[2], USD[0.00]                                                                                                                  Yes

08050037                              USD[10.00]

08050040                              USD[1.11]

08050053                              NFT (387859709011539853/Oasis Ocotillo 2023 GA #28 (Redeemed))[1], NFT (484091159252802407/Coachella x FTX Weekend 2 #4895)[1]

08050063       Contingent, Disputed   USD[2.00]

08050080                              CUSDT[8], DOGE[2], SHIB[31.88082322], TRX[.00437472], USD[0.00]                                                                                                        Yes

08050092                              USD[0.00]

08050100                              ETH[.00236015], ETHW[.00233279], USD[0.00]                                                                                                                             Yes

08050108                              CUSDT[1], SHIB[30.46212878], USD[0.00]                                                                                                                                 Yes

08050115                              NFT (324326508057598509/BALKO (LEGEND))[1], NFT (344731060336645835/BALKO (LEGEND))[1], NFT (365672436905325637/ROP THE GREY KNIGHT (LEGEND))[1], NFT
                                      (471146755309641817/IN SNKR WE TRUST)[1], NFT (493460914778542509/IN SNKR WE TRUST)[1], NFT (494666330255303540/SOOTH N SAYER SNKR (INSTA))[1], NFT
                                      (559681450920605344/BALKO (LEGEND))[1]
08050119                              ETHW[.3171607], USD[10.27], USDT[0.00001329]                                                                                                                           Yes

08050120                              BTC[.0000737], DOGE[.806], USD[0.00]

08050130                              TRX[.000301], USD[0.00], USDT[0]                                                                                                                                       Yes

08050133                              SHIB[1], TRX[1], USD[27.90]                                                                                                                                            Yes

08050140                              CUSDT[1], TRX[1121.30221335], USD[0.00]                                                                                                                                Yes

08050141                              BRZ[1], CUSDT[1], LINK[.00046303], SOL[268.2065101], TRX[1], USD[0.01], USDT[0]                                                                                        Yes

08050152                              BAT[2.06216295], KSHIB[34.46628017], USD[0.00]                                                                                                                         Yes

08050179                              CUSDT[3], DOGE[1], SHIB[5222381.09347246], SOL[6.29734453], TRX[1], USD[2.17]                                                                                          Yes

08050181                              BRZ[2], CUSDT[2], DOGE[4], GRT[1.00019173], LINK[1.07021833], SHIB[529002.69350208], SOL[.00002744], TRX[3], USD[0.17], USDT[2.11447647]                               Yes

08050182                              SHIB[20852866.59423107], TRX[1], USD[0.13]                                                                                                                             Yes

08050192                              BTC[0], CUSDT[6], ETH[.01431293], ETHW[.00585229], SHIB[2], TRX[1], USD[139.05]                                                                                        Yes

08050193                              BTC[.00177209], CUSDT[4], DOGE[1], USD[0.01]                                                                                                                           Yes

08050197                              DOGE[16962.021], NFT (370129221344646369/Saudi Arabia Ticket Stub #2423)[1], USD[3.11]

08050209                              USD[0.81]

08050221                              SOL[0]

08050242                              ETH[0], USD[0.00]

08050252                              SOL[.00566096], USD[0.00]

08050255                              USDT[0]

08050262                              DAI[108.46824422]                                                                                                                                                      Yes

08050265                              BRZ[82.93816522], CUSDT[2], TRX[140.6062792], USD[0.00]

08050277                              CUSDT[9], SHIB[2], SOL[2.25269936], TRX[343.25656767], USD[0.02]                                                                                                       Yes

08050278                              BTC[.0043], ETH[.0229793], ETHW[.0229793], SOL[.439604], USD[41.25]

08050285                              CUSDT[4], DOGE[1], USD[0.00]                                                                                                                                           Yes

08050287                              ETH[.01476476], SHIB[178039868.09336577], SOL[48.1072456], USD[0.00]                                                                                                   Yes

08050291                              AUD[3.00], LINK[1.8], USD[0.53]

08050295                              AAVE[0], BAT[0], BCH[0], BTC[0], DOGE[0], ETH[0], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], MKR[0], SHIB[0], SOL[0], SUSHI[6.85337681], TRX[0], UNI[0], USD[0.00]   Yes

08050296                              USD[0.00]

08050300                              SHIB[1], SOL[1.18123604], USD[0.00]                                                                                                                                    Yes

08050302                              NFT (349636454354050989/Australia Ticket Stub #867)[1], USD[0.01]                                                                                                      Yes

08050314                              DOGE[1], TRX[28.88278509], USD[0.00]                                                                                                                                   Yes

08050319                              SHIB[1], TRX[1], USD[0.00]

08050339                              USDT[477.971587]

08050341                              SOL[.13214129], TRX[1], USD[0.00]                                                                                                                                      Yes

08050345                              USD[485.10]

08050364                              BRZ[1], DOGE[1], ETH[.54648155], ETHW[.54625201], USD[0.00]                                                                                                            Yes

08050368                              CUSDT[1], DOGE[0], KSHIB[0], SHIB[0], USD[0.01], USDT[0]                                                                                                               Yes

08050388                              SOL[.2], USD[2.22]

08050414                              BTC[.0003229], CUSDT[1], USD[0.00]                                                                                                                                     Yes

08050418                              DOGE[22], ETHW[.085], USD[0.26]
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                                                                                                                                         Customer Claims                                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08050425                           BTC[0], ETH[0.08660083], ETHW[0.08660083], MATIC[29.82], TRX[0], USD[0.00], USDT[0]

08050426                           NFT (299496502625642697/5156)[1], NFT (300371478228174204/7074)[1], NFT (306007755948284751/5438)[1], NFT (338531430297992125/1150)[1], NFT (341498397150012608/4590)[1], NFT
                                   (352530186883567505/346)[1], NFT (363470629236273278/4151)[1], NFT (366019478366657402/261)[1], NFT (367204088704618695/164)[1], NFT (370020326657004985/3726)[1], NFT
                                   (370763646726474309/1657)[1], NFT (371134658768923232/3842)[1], NFT (379263027392315499/1349)[1], NFT (388110566160399089/3206)[1], NFT (395066717489864328/3618)[1], NFT
                                   (408469060157666910/4876)[1], NFT (413635809269843875/3876)[1], NFT (419823935739449171/848)[1], NFT (421088134423546960/5454)[1], NFT (424132657195120682/5601)[1], NFT
                                   (425898085210439868/4078)[1], NFT (431084247664943103/1882)[1], NFT (431205258484533081/2085)[1], NFT (435249306895439865/2301)[1], NFT (436809533426270348/2205)[1], NFT
                                   (440566511279091670/5299)[1], NFT (441495079049221680/227)[1], NFT (449276747972724048/1860)[1], NFT (455331404956124777/1949)[1], NFT (467871939743201984/5448)[1], NFT
                                   (473995152471080003/1901)[1], NFT (477410521047630537/3692)[1], NFT (485051982116447254/4623)[1], NFT (510992788777517393/495)[1], NFT (511489788093746226/4095)[1], NFT
                                   (520281616271095504/1147)[1], NFT (524447924239008149/1042)[1], NFT (524808596203947113/2450)[1], NFT (525099815017750468/462)[1], NFT (527381236971362886/897)[1], NFT
                                   (529633196595549735/5669)[1], NFT (531282855692742844/6067)[1], NFT (534506462421919282/1987)[1], NFT (539152145923880812/4225)[1], NFT (554317514677680980/5969)[1], NFT
                                   (563986829899820382/1520)[1], SOL[.02]
08050434                           BTC[.0000899], ETH[.000479], ETHW[.000479], GRT[.545], LTC[.0051], SOL[119.09527], USD[0.17]

08050443                           USD[5.03]

08050446                           USD[10.00]

08050448                           AVAX[0], SOL[0.01749413], USD[0.00], USDT[0.00000023]

08050457                           USD[0.47], USDT[0.00000001]                                                                                                                                                     Yes

08050466                           SOL[2.01606992], USD[0.00]

08050468                           ETHW[.99767137], USD[103.87]

08050483                           BTC[0.00344314], SOL[.25974], USD[0.00]

08050491                           BTC[0], DOGE[3], ETH[.01056522], ETHW[.01042842], SHIB[5], SOL[0.00004328], TRX[1], USD[0.00]                                                                                   Yes

08050496                           BRZ[1], BTC[.01657871], CUSDT[7], DOGE[382.47054918], ETH[.12461178], ETHW[.12346082], LTC[2.33949864], SHIB[1954961.91247125], SOL[8.27227131], TRX[2], USD[0.12]              Yes

08050500                           ETH[0.00079524], SHIB[2], USD[0.00], USDT[0.00001283]

08050518                           BTC[.00181716], CUSDT[1], DOGE[1], TRX[1], USD[9.85]                                                                                                                            Yes

08050520                           USD[0.00], USDT[0]

08050522                           CUSDT[5], DOGE[1], USD[0.00], USDT[0]                                                                                                                                           Yes

08050525                           BF_POINT[200], SOL[.00000001], USD[0.00], USDT[0]                                                                                                                               Yes

08050527                           AVAX[8.4], SOL[5.24], TRX[999], USD[4.08]

08050550                           BAT[.54365833], BRZ[1], CUSDT[7], DOGE[.28982252], KSHIB[1.06638172], SHIB[84.65773969], TRX[.43787799], USD[0.40]

08050560                           DOGE[1], USD[0.01]                                                                                                                                                              Yes

08050576                           USD[1063.35]                                                                                                                                                                    Yes

08050578                           BCH[.00140737], BTC[.0000869], GRT[.79476854], LTC[.00363639], USD[2.50]

08050579       Contingent,         BTC[.00008228], SOL[683.30243915], USD[13081.22], USDT[0]
               Unliquidated
08050597                           USD[1.33]

08050603                           BAT[2.0536749], BRZ[3], CUSDT[4], DOGE[4], SHIB[2], SOL[0], TRX[3], USD[0.00], USDT[0]                                                                                          Yes

08050612                           SHIB[.99999999]

08050629                           DOGE[0], ETHW[1.56308515], USD[39.47]                                                                                                                                           Yes

08050630                           SHIB[2], SOL[.00459761], USD[48.84]

08050644                           SHIB[19000000], USD[1.37]

08050648                           BRZ[1], CUSDT[6], DOGE[2], KSHIB[2276.53893985], SOL[.78981232], TRX[1], USD[0.00]                                                                                              Yes

08050654                           BTC[.00460298], CUSDT[4], DOGE[1], ETH[.0557119], ETHW[.05501978], SHIB[105688.94505226], TRX[1], USD[0.07]                                                                     Yes

08050657                           BTC[.0048], SOL[.25], USD[3.33]

08050658                           BRZ[.00000769], MATIC[.00003629], TRX[.00003122], USD[0.00]                                                                                                                     Yes

08050660                           NFT (328665814234305283/ALPHA:RONIN #747)[1], NFT (342883342570402279/ALPHA:RONIN #320)[1], NFT (541264898730318154/ALPHA:RONIN #466)[1], NFT                                   Yes
                                   (554588688459695348/ALPHA:RONIN #957)[1], NFT (572912957291838572/ApexDucks #892)[1], SHIB[1], SOL[.00000001], USD[386.36]
08050663                           CUSDT[1], DOGE[1058.89613106], SHIB[2], USD[0.08]                                                                                                                               Yes

08050686                           BTC[.00089359], CUSDT[2], DOGE[205.22545082], SOL[.45275091], TRX[1013.87214763], USD[0.00]                                                                                     Yes

08050688                           NFT (550819981266718707/OctoPirate)[1]

08050694                           AAVE[.14866482], BTC[.00162646], CUSDT[2], DOGE[2], ETH[.01101516], ETHW[.01101516], SHIB[806711.84252984], SOL[.20938054], TRX[1], USD[0.00]

08050697                           USD[20000.00]

08050699                           BTC[.00458488], CUSDT[2], ETH[0.02023873], ETHW[0.01999249], TRX[3.00947232], USD[0.00]                                                                                         Yes

08050700                           USD[108.46]                                                                                                                                                                     Yes

08050701                           BAT[2.0026494], BRZ[3], BTC[.00000322], CUSDT[24], DOGE[.04323364], ETH[.00000283], SHIB[1], TRX[1], USD[0.01]

08050711                           USD[0.01]                                                                                                                                                                       Yes

08050713                           BTC[.02044766]                                                                                                                                                                  Yes

08050714                           ETH[1.227771], ETHW[1.227771], USD[4615.81]

08050715                           CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                     Yes

08050716                           SHIB[215078.8856744], USD[0.00]                                                                                                                                                 Yes

08050725                           BAT[66.9397], LINK[21], USD[427.72]

08050727                           USD[0.00]                                                                                                                                                                       Yes

08050732                           BTC[.005], ETH[.023], ETHW[.023], USD[2.05]

08050733                           USD[0.03]                                                                                                                                                                       Yes

08050735                           BTC[.00006723], USD[-0.63]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08050737                           BRZ[1], BTC[.00000005], CUSDT[7], DAI[.0019055], DOGE[1], NFT (503306171331609552/Earl Campbell's Playbook: Rice vs. Texas - October 1st, 1977 #85)[1], TRX[1], USD[0.00]               Yes

08050746                           SOL[0]

08050748                           USD[0.01]                                                                                                                                                                               Yes

08050759                           CUSDT[6], SHIB[1793914.18749337], USD[0.00]

08050762                           USD[113.86]                                                                                                                                                                             Yes

08050767                           BF_POINT[300], BRZ[2], BTC[.00890121], CUSDT[8], DOGE[6.00067346], ETH[.00000001], ETHW[0], GRT[1], MATIC[363.17998867], NFT (414206599788031199/Digital Ducklings #274)[1], SHIB[3],   Yes
                                   SOL[50.36586917], TRX[7], USD[0.00], USDT[0]
08050783                           CUSDT[1], ETH[.24898969], ETHW[.24879901], NFT (456075314956543349/2021 Sports Illustrated Awards #142)[1], USD[0.00]                                                                   Yes

08050787                           USD[1.23]

08050791                           BTC[.0758892], ETH[1.48711413], ETHW[1.48711413], SOL[5.25564], USD[2.81]

08050792                           USD[0.02]

08050809                           SHIB[5210694.75880052], TRX[1], USDT[0]

08050811                           SOL[0], USD[0.00]

08050823                           USD[4000.00]

08050827                           USD[0.00]

08050833                           BTC[.00262016], CUSDT[4], KSHIB[2880.75794261], TRX[1], USD[0.03]                                                                                                                       Yes

08050843                           BRZ[1], CUSDT[2], GRT[94.83382298], MATIC[28.01467687], SOL[1.13236442], TRX[1011.71918927], USD[0.00]                                                                                  Yes

08050849                           BTC[.00008066], CUSDT[494.35214967], DOGE[203.62492516], KSHIB[1974.66270786], USD[0.00]                                                                                                Yes

08050854                           DOGE[2], USD[0.00]

08050859                           SOL[1]

08050861                           NFT (324857697785239820/Solana Penguin #1416)[1], NFT (340653812319416892/Sigma Shark #7490)[1], SOL[.01391293], USD[0.00]

08050862                           USD[0.06]                                                                                                                                                                               Yes

08050872                           CUSDT[2], DOGE[1], ETH[.00410788], ETHW[.00405316], GRT[1.00217588], TRX[2], USD[0.33]                                                                                                  Yes

08050875                           USD[100.00]

08050884                           ALGO[0], DOGE[1], USD[0.00]                                                                                                                                                             Yes

08050888                           BRZ[8.09327489], DOGE[1756.00987678], ETH[0.62218923], ETHW[0.40201976], LINK[85.10223817], MATIC[1179.84817435], SHIB[211], SOL[59.45818812], SUSHI[194.39535886],                     Yes
                                   TRX[24.24062469], UNI[27.81955565], USD[47.86], USDT[1.01986146]
08050891                           DOGE[1], USDT[0]

08050893                           CUSDT[2], USD[0.00]                                                                                                                                                                     Yes

08050895                           USD[500.01]

08050898                           BTC[0], DOGE[0], ETH[0], MATIC[0], SHIB[0], TRX[0], USD[0.00], USDT[0]

08050903                           DOGE[1], TRX[1], USD[0.00]                                                                                                                                                              Yes

08050908                           BTC[.0009742], CUSDT[1], USD[0.00]                                                                                                                                                      Yes

08050911                           BRZ[2], BTC[.00370111], CUSDT[8], DOGE[347.02739443], ETH[.08320727], ETHW[.08320727], LINK[1.01991304], LTC[1.21033512], SHIB[1], SOL[.8240138], USD[135.00]

08050913                           SOL[9485.12334], USD[0.27]

08050915                           DOGE[4439.60213343], TRX[2], USD[0.00]

08050918                           USD[257.72]                                                                                                                                                                             Yes

08050926                           AVAX[1.19497421], BRZ[5.0433833], CUSDT[5], DOGE[2], SHIB[10867709.60405832], TRX[0.00077700], USD[0.15], USDT[0]                                                                       Yes

08050931                           CUSDT[3], DOGE[4], SHIB[1], USD[0.07]

08050940                           ETH[61.95112683], ETHW[.000921], USD[4809.34]

08050947                           BAT[1], DOGE[1], GRT[1.00015725], SOL[103.02686138], USD[0.00], USDT[1.02543197]                                                                                                        Yes

08050952                           AAVE[.58918392], ALGO[22.46704374], AVAX[.31221855], BAT[53.19607946], BCH[.18080093], BRZ[302.04320675], BTC[.01469033], CUSDT[2518.85790708], DAI[53.90474053],                       Yes
                                   DOGE[424.85832419], ETH[.26522378], ETHW[.26503018], GRT[449.25839135], KSHIB[1376.09174662], LINK[3.74881805], LTC[1.43224114], MATIC[70.9036995], MKR[.1176217],
                                   NEAR[1.55749067], PAXG[.11801304], SHIB[1483014.91870164], SOL[20.28428023], SUSHI[23.31244618], TRX[2679.71808027], UNI[5.19347968], USD[1497.91], USDT[53.89935395],
                                   YFI[.00312558]
08050955                           NEAR[5.76376431], SHIB[1], USD[0.00]                                                                                                                                                    Yes

08050958                           BTC[0.03777564], ETH[.42295497], ETHW[.42295497], LINK[28.1553974], SOL[.91950298], USD[0.00], USDT[0]

08050959                           CUSDT[1], SHIB[9430403.62127499], USD[0.00]

08050961                           SHIB[843859.64912281]

08050985                           CUSDT[1], ETH[.00260321], ETHW[.00257583], USD[0.00]                                                                                                                                    Yes

08050988                           LTC[4.58448071], SHIB[898291.43352917], SOL[5.4743244], USD[0.00]

08050990                           BRZ[2], BTC[0.01049773], CUSDT[12], DOGE[2], ETH[0.00000756], ETHW[0.00000756], MKR[0], SHIB[8], SOL[0], TRX[6], USD[0.00]                                                              Yes

08050991                           ETHW[1], NEAR[58.1], USD[36.59]

08050993                           ETH[.247], ETHW[.247], USD[2.27]

08050996                           CUSDT[1], DOGE[1], ETH[.00000001], ETHW[0], TRX[1], USD[0.00]                                                                                                                           Yes

08051006                           USD[0.00]

08051021                           USD[2.29]

08051023                           BTC[.00001666], CUSDT[1], USD[0.32]                                                                                                                                                     Yes

08051029                           USD[32.51]                                                                                                                                                                              Yes

08051036                           ETHW[2.11326585], MATIC[329.67], SOL[0.00000001], USD[6.66]

08051037                           GRT[12], SHIB[425290.69559236], USD[0.00], USDT[0]
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                                                                                                                                            Customer Claims                                                                                                    22-11071 (JTD)
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08051039                              AAVE[0], AUD[0.00], AVAX[0.00882545], BTC[-0.00700082], ETH[0], ETHW[0.00030481], EUR[0.16], LTC[0], MATIC[0], SOL[0.00164300], USD[245.02], USDT[0]

08051053                              USD[500.00]

08051065                              SOL[4.65637628], TRX[2], USD[0.00]                                                                                                                                               Yes

08051068                              USD[100.00]

08051074                              TRX[1], USD[0.00]

08051075                              BCH[0], BTC[0], ETH[0], USD[0.00]

08051078                              CUSDT[9], DOGE[21.91834122], KSHIB[57.17691597], MATIC[20.41813069], SHIB[1], SOL[10.14833804], SUSHI[.00001907], TRX[16.90718643], USD[0.00]                                    Yes

08051085                              BTC[0.00236480], USD[0.00]

08051086                              BTC[.00029575], USD[5.33]                                                                                                                                                        Yes

08051090                              CUSDT[1015.51633742], DOGE[1016.51658026], LINK[13.91432907], MATIC[50.69489592], SHIB[19512811.09483292], SOL[3.18884206], USD[12.97]                                           Yes

08051096                              USD[0.00], USDT[0]

08051102                              TRX[.011169], USD[0.01], USDT[0.00000001]

08051105                              AAVE[.00505339], BAT[1.0171214], BCH[.00278171], BTC[.00002399], CUSDT[45.27343105], DAI[.9947856], DOGE[6.98815453], ETH[.00032636], ETHW[.00032636], GRT[1.84348073],          Yes
                                      KSHIB[37.2508292], LINK[.03619289], LTC[.00795456], MATIC[.49368778], MKR[.00049958], SHIB[37530.2090768], SOL[.00738884], SUSHI[.14967262], TRX[16.53145469], UNI[.06598129],
                                      USD[0.01], USDT[.99487773], YFI[.00003125]
08051106                              USD[2.11]

08051110                              BTC[.00090366], CUSDT[1], DOGE[1], ETH[.01123896], ETHW[.01110216], USD[0.00]                                                                                                    Yes

08051122                              BTC[.00163778], DOGE[2], ETH[0], ETHW[0], SOL[0], USD[0.00]                                                                                                                      Yes

08051125                              ETH[4.89236], ETHW[4.89236], USDT[449.25]

08051137                              BTC[.0439707], ETH[1.53315947], ETHW[1.53315947], MATIC[1089.27], SOL[11.88721], USD[2.00]

08051145                              ETH[.10425919], ETHW[.10425919], TRX[1], USD[0.01]

08051150                              USD[0.01]                                                                                                                                                                        Yes

08051157                              CUSDT[1], SOL[.43365225], USD[0.00]                                                                                                                                              Yes

08051159                              CUSDT[3], ETH[.0000001], ETHW[.0000001], SHIB[2.21310918], TRX[1], USD[0.00]                                                                                                     Yes

08051163                              BTC[.00126645], CUSDT[11], ETH[.02341642], ETHW[.02312914], LINK[.85937281], MATIC[29.22225055], SOL[.11391089], USD[23.80]                                                      Yes

08051171                              USD[0.01], USDT[0.03578043]

08051180                              NFT (291431262734724748/Gloom Punk #1022)[1], SOL[.12657651]

08051190                              SHIB[400000], USD[1.19]

08051197       Contingent, Disputed   USD[0.00]

08051199                              CUSDT[2], TRX[1], USD[0.06]                                                                                                                                                      Yes

08051201                              BTC[.00033797], CUSDT[3], DOGE[123.84106861], USD[0.00]                                                                                                                          Yes

08051210                              CUSDT[1], USD[0.00]

08051221                              BTC[.00004887], DOGE[28.92145577], USD[0.00]                                                                                                                                     Yes

08051222                              SOL[8.92587], USD[21.92]

08051223                              ETH[.00000001], ETHW[0], SOL[.00000001], USD[0.01]                                                                                                                               Yes

08051224                              DOGE[5124.09032992], KSHIB[3620], SHIB[3600000], USD[474.90]

08051225                              BTC[0], USD[0.20]

08051226                              USD[0.00]

08051232                              USD[0.00]                                                                                                                                                                        Yes

08051237                              BAT[10.21176415], BRZ[1], CUSDT[493.32380249], DOGE[45.4731633], ETH[.00469397], ETHW[.00463921], GRT[9.95446859], SHIB[772487.5258635], TRX[102.15157978], USD[0.00]            Yes

08051239                              ETH[.00616], ETHW[.00616]

08051242                              USD[0.00]

08051247                              SOL[.40278545], USD[0.00]

08051248                              BAT[8.64698571], CUSDT[3], DOGE[1], KSHIB[354.64275239], SOL[.16201468], TRX[175.99610459], USD[0.00]

08051249                              DOGE[.0007698], SHIB[801131.57564402], USD[0.00]                                                                                                                                 Yes

08051254                              SOL[.02217605], USD[0.00]                                                                                                                                                        Yes

08051262                              SOL[0]

08051263                              CUSDT[2278.90473482], TRX[523.13072018]

08051270                              BRZ[1], BTC[.00305372], CUSDT[1], DOGE[1], ETH[.02148671], ETHW[.02148671], PAXG[.10675763], USD[0.01]

08051274                              USD[0.01]

08051283                              BCH[0.40880296], CUSDT[2], SHIB[1], TRX[1], USD[0.55]

08051287                              SHIB[3], USD[161.34]                                                                                                                                                             Yes

08051297                              CUSDT[2], DOGE[6], ETH[0], ETHW[0], SHIB[20], SOL[0], TRX[2], USD[1.36]                                                                                                          Yes

08051300                              SHIB[97100], USD[0.60]

08051306                              BRZ[1], CUSDT[1], SHIB[17148504.23660136], USD[25.00]

08051310                              BTC[0.08862209], ETH[0.02310698], ETHW[0.02310698], LTC[0], SOL[4.68219498], USD[0.00]

08051314                              DOGE[.02004799], LTC[.00085307], MATIC[5.64], SHIB[12494.34638664], TRX[.979], USD[3.30]

08051323                              BTC[0], ETH[.00000001], NFT (301275181140330873/Humpty Dumpty #371)[1], TRX[.00017], USD[2.00]

08051325                              CUSDT[2], ETH[.03254502], ETHW[.03254502], USD[0.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08051329                              USDT[3]

08051332                              SHIB[1598300], USD[4.84]

08051336                              ETHW[.158], USD[765.20]

08051338                              CUSDT[2], KSHIB[883.20216603], SHIB[570806.12692317], USD[32.65]                                                                                                             Yes

08051343                              DOGE[0.19779274], SHIB[216700], USD[2.08]

08051344                              USD[4.01]

08051345                              USD[0.00], USDT[0.00026719]

08051352                              CUSDT[2], SOL[3.12067302], TRX[1], USD[0.01]

08051366                              ETH[0], USD[0.00]

08051369                              SOL[0]

08051370                              USD[11.26]

08051371                              KSHIB[34.93499819], USD[19.52]                                                                                                                                               Yes

08051373                              AVAX[3.2], GRT[609], SUSHI[127.5], UNI[13.9], USD[187.60]

08051382                              CUSDT[1], TRX[9806.59437957], USD[0.74]                                                                                                                                      Yes

08051392                              USD[0.89]                                                                                                                                                                    Yes

08051397                              BTC[.0274], USD[0.57], USDT[0]

08051401                              BRZ[1], DOGE[2], SHIB[3], SOL[.0000192], TRX[1], USD[114.78], USDT[1.0034195]                                                                                                Yes

08051408                              BAT[2], BRZ[1], CUSDT[1], DOGE[4], SHIB[3], TRX[2], USD[0.01]

08051422                              SOL[1.6167153]                                                                                                                                                               Yes

08051430                              USD[0.02], USDT[0]

08051433                              BRZ[1], BTC[.22189448], CUSDT[1], DOGE[1368.02058579], ETH[1.49689476], ETHW[1.49626598], SHIB[4361736.62690282], SOL[9.88931548], TRX[3], USD[4.45]                         Yes

08051435                              SHIB[1698300], TRX[239.76], USD[3.50]

08051446                              SHIB[325634.68760809], USD[0.00]                                                                                                                                             Yes

08051452                              SOL[60.83506], USD[2.10]

08051456                              ETH[5.29], ETHW[5.29], USD[4.54]

08051476                              BTC[.00043004]                                                                                                                                                               Yes

08051480                              NFT (381952091789594649/BabyBlob #266)[1], NFT (426129962764042443/BabyBlob #267)[1], NFT (452122556929766771/BabyBlob #268)[1], NFT (514856201164229313/BabyBlob #265)[1]

08051481                              BTC[.00121644], USD[0.00], USDT[0]                                                                                                                                           Yes

08051484                              BAT[3.02001159], BRZ[1], BTC[0], DOGE[5], GRT[15.76160822], SHIB[7], TRX[2], USD[0.00], USDT[0]                                                                              Yes

08051485                              ETH[.08268429], ETHW[.08268429], MATIC[25.89805696], SOL[1.71], USD[0.18]

08051487                              USD[0.00]

08051515                              USD[0.40]

08051517                              BTC[0], SOL[0], USD[0.00]

08051526                              SOL[2.66102099], USD[0.00]

08051535                              BTC[.00109978], CUSDT[13], DOGE[3], ETH[.01862907], ETHW[.01839651], SHIB[2], TRX[8], USD[7.37]                                                                              Yes

08051536                              CUSDT[1], SHIB[84573.74830852], TRX[1], USD[0.00]

08051543                              SOL[.01711329]

08051552                              USD[0.01]

08051555                              LINK[.00049436], SUSHI[37.7345024]                                                                                                                                           Yes

08051557                              USD[0.00], USDT[0]

08051563                              BTC[.0000932], DOGE[.806], ETH[.000975], ETHW[.000975], SHIB[99100], USD[0.01]

08051579       Contingent, Disputed   GRT[1.00180073], USD[0.00]                                                                                                                                                   Yes

08051583                              BTC[0.00048772]

08051592                              DOGE[61.59393126], USD[0.00]                                                                                                                                                 Yes

08051598                              CUSDT[1], DOGE[1], SHIB[816741.23568201], USD[0.75]                                                                                                                          Yes

08051601                              KSHIB[2.09], LTC[.02266], TRX[.788], USD[0.12], USDT[1.41988019]

08051605                              BRZ[1], BTC[.03037341], DOGE[1], ETH[1.63375323], ETHW[1.63305209], LTC[.16963317], SOL[7.888199], TRX[1], USD[0.04]                                                         Yes

08051609                              SOL[.00111], USD[7.91], USDT[.00264]

08051615                              BTC[0], USD[0.00]

08051616                              CUSDT[1], SOL[.09898748], USD[0.00]

08051621                              DOGE[1], SHIB[1714438.31141408], USD[0.00]                                                                                                                                   Yes

08051622                              BTC[.00000002], USD[0.16]                                                                                                                                                    Yes

08051624                              BTC[.00438754], CUSDT[3], DOGE[12.26667832], ETH[.02583486], ETHW[.02551596], SOL[.50726072], TRX[31.15166831], USD[6.44]                                                    Yes

08051627                              ETH[0], GRT[0], SOL[0], USD[0.00]

08051629                              BAT[1.01123139], CUSDT[1], LINK[29.40657343], USD[3.95]                                                                                                                      Yes

08051636                              SOL[0], USD[0.00]

08051643                              LINK[.05383], SOL[.00685], SUSHI[.4298], TRX[.7902], USD[0.01], USDT[2.66743382]

08051645                              CUSDT[1], SHIB[462242.82757568], USD[0.00]                                                                                                                                   Yes
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                                                                                                                                             Customer Claims                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08051646                              USD[0.43]                                                                                                                                                                    Yes

08051649                              CUSDT[1], SOL[.02203075], USD[0.00]                                                                                                                                          Yes

08051650                              LTC[.00021], SOL[5.88411], USD[7.53]

08051661                              USD[5.00]

08051663                              NFT (351999821127471528/Desert Rose Ferris Wheel #131)[1], NFT (354876976135239992/Coachella x FTX Weekend 1 #15667)[1], USD[50.01]

08051669                              CUSDT[1], DOGE[1], SOL[.00000001], TRX[1], USD[0.00]                                                                                                                         Yes

08051683                              DOGE[2], ETH[.00000001], ETHW[0.00002958], GRT[1], SHIB[21], TRX[4], USD[0.02], USDT[0]                                                                                      Yes

08051693                              USD[4.82]

08051694                              BTC[.00027751], CUSDT[4], ETH[.00260852], ETHW[.00258116], KSHIB[195.77304635], SHIB[212328.60210595], USD[0.00]                                                             Yes

08051704                              USD[20.00]

08051714                              USD[0.00]

08051715                              MATIC[.00222868], SHIB[18.80836587], TRX[.03316951], USD[0.00]                                                                                                               Yes

08051719                              SOL[1.79719582], TRX[1], USD[0.00]                                                                                                                                           Yes

08051721                              SHIB[3099600], USD[4.13]

08051726                              NFT (292853662927785452/Joe Theismann's Playbook: Washington vs. Chicago Bears - September 29, 1985 #62)[1], SHIB[989707.04671417], USD[0.01]

08051737                              CUSDT[2], USD[0.00]                                                                                                                                                          Yes

08051743                              USD[0.00]                                                                                                                                                                    Yes

08051756       Contingent, Disputed   DOGE[1], USD[0.17]                                                                                                                                                           Yes

08051759                              DOGE[1], ETH[.00000347], ETHW[.00000347], SHIB[13], TRX[1], USD[0.00]                                                                                                        Yes

08051766                              KSHIB[677.19992458], TRX[1], USD[0.00]                                                                                                                                       Yes

08051770                              ETH[.999], ETHW[.999], USD[0.01]

08051773                              BTC[.00006542]                                                                                                                                                               Yes

08051777                              MATIC[6.5], USD[323.59]

08051778                              NFT (381419000774249357/Saudi Arabia Ticket Stub #2268)[1]

08051791                              AVAX[.13200348], BCH[.02686614], ETH[.08166639], ETHW[.08166639], GRT[25.47779427], LINK[.64554446], SHIB[447630.57385854], SOL[.09970853], SUSHI[2.53142555], USD[236.44]

08051795                              NFT (559193980837598255/Mech #4757)[1], SOL[.26071342]                                                                                                                       Yes

08051800                              USD[0.00]

08051801                              ETH[.006], ETHW[.006], SHIB[300000], USD[5.98]

08051802                              BTC[.00646901], ETH[.31927298], ETHW[.31927298], USD[0.58]

08051806                              BTC[.00000001], CUSDT[3], DOGE[1], ETH[.00000019], ETHW[.00000019], TRX[1.00793731], USD[0.00]                                                                               Yes

08051807                              DAI[0], ETH[0], SOL[0], USD[0.00]

08051815                              CUSDT[5], USD[0.00]                                                                                                                                                          Yes

08051826                              BTC[.00834]

08051839                              ALGO[117.02775362], BAT[1], BRZ[1], ETH[1.03370937], ETHW[1.03327513], SHIB[102588652.52442562], SOL[14.78223714], USD[0.00]                                                 Yes

08051840                              CUSDT[1], SHIB[904830.8304686], USD[0.00]

08051841                              USD[1.44]

08051843                              USD[7621.94]

08051844                              BRZ[1], CUSDT[2], SHIB[1], USD[0.01]

08051861                              BRZ[1], BTC[.00000001], CUSDT[5], ETH[.0000008], ETHW[.0000008], TRX[1], USD[0.04]                                                                                           Yes

08051874                              ETH[.01913594], ETHW[.01890338], SOL[0.00095047], USD[0.01]                                                                                                                  Yes

08051875                              USD[5.00]

08051879                              BTC[.00159874], USD[2.68]

08051880                              SHIB[1259420.20222437], SOL[11.64888099]                                                                                                                                     Yes

08051888                              CUSDT[1], SHIB[376464.17727937], USD[0.00]                                                                                                                                   Yes

08051896                              NFT (452781207195833173/Warriors 75th Anniversary Icon Edition Diamond #1507)[1]

08051904                              BF_POINT[200], DOGE[0], SOL[0.00000001], USD[0.00], USDT[0]                                                                                                                  Yes

08051905                              SOL[.04155236], USD[0.00]

08051908                              ETH[.034], ETHW[.01], USD[2.21]

08051910                              CUSDT[1], DOGE[.00089525], USD[0.03]                                                                                                                                         Yes

08051930                              SHIB[2], USD[0.00], USDT[0.00681069]

08051935                              USD[0.00], USDT[0]

08051939                              USD[0.00], USDT[0]

08051944                              BRZ[1], CUSDT[2], SHIB[3465444.70385015], USD[0.00]

08051951                              NFT (417788845862335381/Bored Cats #1427)[1]

08051956                              USD[5000.00]

08051958                              USD[25000.52]

08051962                              USD[0.00]

08051975                              USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08051985                              BRZ[1], CUSDT[2], ETH[0], ETHW[0], SOL[.00001879], TRX[2], USD[0.88]

08051989                              CUSDT[.88237365], ETH[0], KSHIB[.15039755], USD[0.66]

08051991                              CUSDT[1], NFT (464991753869280236/DOTB #104)[1], SOL[1.20193555], USD[0.00]                                                                                                    Yes

08052005       Contingent, Disputed   CUSDT[1], KSHIB[167.02016484], USD[0.00]

08052006                              USD[829.68]

08052016                              BRZ[1], CUSDT[2], DOGE[146.64772802], SHIB[18634207.04435969], TRX[1], USD[0.01]                                                                                               Yes

08052017                              SOL[2.16884594], TRX[1], USD[0.00]                                                                                                                                             Yes

08052023                              NFT (410943724548481737/Sigma Shark #5196)[1], SOL[100.97900658], USD[1557.76]                                                                                                 Yes

08052024                              CUSDT[1], ETH[.02076454], ETHW[.02076454], SOL[1.10818025], TRX[1], USD[0.01]

08052033       Contingent, Disputed   DOGE[605.2898418], USD[0.92]                                                                                                                                                   Yes

08052039                              NFT (541616858138990329/David #364)[1], SOL[0]

08052042                              CUSDT[3], MATIC[0], SOL[0.00000001], TRX[1], USD[0.00]

08052044                              BAT[1.00725906], BRZ[4], CUSDT[9], DOGE[4], ETHW[6.20817924], SHIB[2], TRX[9], USD[0.02]                                                                                       Yes

08052048                              SOL[1.89], USD[2047.20]

08052053                              CUSDT[1], SHIB[2], TRX[225.68111579], USD[0.00]                                                                                                                                Yes

08052054                              USD[0.01]                                                                                                                                                                      Yes

08052056                              BRZ[1], BTC[.00230132], ETHW[.05919308], NEAR[3.7079552], SHIB[22], USD[0.00]                                                                                                  Yes

08052058                              USD[500.00]

08052064                              USD[0.00]

08052065                              AVAX[.17385953], BTC[.00000488], DOGE[1], SHIB[3], SOL[.00014599], TRX[34.79366446], USD[0.01]                                                                                 Yes

08052067                              USD[0.14]

08052074                              SHIB[1700000], SOL[.02], USD[19.47]

08052080                              USD[26672.16]

08052081                              SOL[0], USD[0.00]

08052085                              SOL[106.46875192]

08052088                              BTC[0], ETH[0.00000004], ETHW[0.00000004], USD[0.29], USDT[0.72069061]

08052090                              ETH[1.20224114], ETHW[1.20173609], GRT[3681.84825125], USD[0.00]                                                                                                               Yes

08052095                              USD[3000.00]

08052097                              BTC[.00034965], SHIB[1026278.35145051]

08052109                              SHIB[79974733.00603631], USD[0.00]

08052112                              BTC[.00209159], CUSDT[1], DOGE[3], ETH[.02650821], ETHW[.02650821], USD[45.64]

08052115                              BRZ[1], CUSDT[1], DAI[.00002582], DOGE[2], PAXG[0.11740069], USD[0.00], USDT[1.08222859]                                                                                       Yes

08052117                              CUSDT[14], DOGE[1.00225944], ETH[0], SHIB[1], TRX[4], USD[0.00], USDT[0.00002814]                                                                                              Yes

08052118                              ETH[.10581], ETHW[.10581], SOL[0], USD[1500.00]

08052119                              SOL[.259], USD[0.99]

08052120                              NFT (300152446564625835/FTX - Off The Grid Miami #4251)[1], NFT (322529322408337456/GSW Western Conference Finals Commemorative Banner #962)[1], NFT (330916592887802692/GSW
                                      Western Conference Semifinals Commemorative Ticket #530)[1], NFT (382122449327202958/GSW Championship Commemorative Ring)[1], NFT (392917681417236265/GSW Championship
                                      Commemorative Ring)[1], NFT (420373896085849288/GSW 75 Anniversary Diamond #561 (Redeemed))[1], NFT (442405249330797445/Warriors Foam Finger #283 (Redeemed))[1], NFT
                                      (460897934290721270/GSW Round 1 Commemorative Ticket #275)[1], NFT (465638528716477501/Saudi Arabia Ticket Stub #1155)[1], NFT (478781425299022651/GSW Round 1 Commemorative
                                      Ticket #108)[1], NFT (519243944303054473/FTX - Off The Grid Miami #4217)[1], NFT (543937058164271411/GSW Western Conference Finals Commemorative Banner #964)[1], NFT
                                      (554185354320420680/GSW Western Conference Finals Commemorative Banner #963)[1], NFT (569097057283808224/GSW Western Conference Finals Commemorative Banner #961)[1], NFT
                                      (569168088041157518/GSW Western Conference Semifinals Commemorative Ticket #531)[1], USD[48.06]
08052121                              BAT[22.15752742], CUSDT[2], SHIB[188036.28549636], SOL[.31667456], TRX[1], USD[0.00]                                                                                           Yes

08052123                              SOL[.13], USD[2.37]

08052124                              KSHIB[8742.2], USD[0.21]

08052135                              BTC[0], NFT (386924709680133260/Tre Jones)[1], NFT (428581156735474277/Kevin Durant)[1], SOL[0], USD[100.00], USDT[0.00058310]

08052141                              CUSDT[1], SHIB[248460.57029252], USD[2.17]                                                                                                                                     Yes

08052143                              SOL[13.94177891], USD[0.00]

08052144                              BRZ[1], CUSDT[5], ETH[0.00000072], ETHW[0.00000072], SOL[.00002321], TRX[1], USD[0.00]

08052147                              SHIB[383221.59376284], USD[0.00]                                                                                                                                               Yes

08052153                              SHIB[25.58060109], USD[0.00]

08052157                              USD[10.01]                                                                                                                                                                     Yes

08052172                              USD[0.00]                                                                                                                                                                      Yes

08052173                              SHIB[142000.89925742]

08052204                              CUSDT[2462.32395287], DOGE[1], USD[0.00]                                                                                                                                       Yes

08052206                              USD[0.00]

08052215                              BTC[.00100215], CUSDT[4], DOGE[246.90495131], KSHIB[1079.79942336], SHIB[1266379.15267858], USD[0.10]                                                                          Yes

08052227                              SOL[0], USD[0.00]

08052245                              DOGE[1], SHIB[9019907.48334045], USD[0.00]                                                                                                                                     Yes

08052248                              CUSDT[1], LINK[0], SHIB[2], TRX[1], USD[0.00]

08052253                              BTC[.0000003], SHIB[644762.60117418], USD[0.00]                                                                                                                                Yes
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                                                                                                                                         Customer Claims                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08052273                           USD[0.00]

08052279                           BTC[0], ETH[0], ETHW[0], GRT[0], SOL[0], USD[0.00], USDT[0]

08052281                           SOL[2.277948], USD[1.59]

08052291                           USD[150.00]

08052300                           CUSDT[2], DOGE[3], TRX[1], USD[0.00], USDT[0]                                                                          Yes

08052303                           DOGE[42.08740809], USD[0.00]                                                                                           Yes

08052306                           BF_POINT[300], CUSDT[3], SHIB[83006.56257175], TRX[335.50205666], USD[14.63]                                           Yes

08052311                           BTC[.00011695], USD[0.00]                                                                                              Yes

08052314                           USD[0.01]

08052322                           SOL[.03396365], USD[0.01]                                                                                              Yes

08052325                           SOL[.00413684], USD[0.00]

08052330                           USD[0.00]

08052331                           SOL[0]

08052335                           USD[0.00]                                                                                                              Yes

08052338                           BRZ[1], BTC[.03849112], CUSDT[1], ETH[2.22422032], ETHW[2.22328612], SHIB[1], TRX[3], USD[1.47], USDT[1.08137323]      Yes

08052348                           CUSDT[1], SOL[.18657567], USD[0.01]                                                                                    Yes

08052351                           USD[0.00]                                                                                                              Yes

08052355                           USD[0.00], USDT[0]

08052358                           SHIB[92385.14037732], USD[0.00]                                                                                        Yes

08052364                           SHIB[2], USD[0.00]

08052365                           CUSDT[1], DOGE[4.40883859], ETH[.40407719], ETHW[.40390745], USD[53.75]                                                Yes

08052374                           CUSDT[1], ETH[.03401694], ETHW[.03359286], USD[0.01]                                                                   Yes

08052404                           USD[53.29]                                                                                                             Yes

08052411                           CUSDT[1], USD[0.00]                                                                                                    Yes

08052416                           BTC[.03358056], ETH[1.44330718], ETHW[1.44330718], MATIC[9.631], SOL[9.977068], USD[883.72]

08052426                           NFT (411530443836494142/David #1008)[1]

08052435                           DOGE[70.97640514]

08052439                           CUSDT[3], SHIB[9224307.42692387], TRX[1], USD[0.00]                                                                    Yes

08052449                           SHIB[1698300], SOL[.60939], USD[1.31]

08052458                           BTC[.00434964], CUSDT[3], DOGE[1], ETH[.07604748], ETHW[.07510356], USD[0.00]                                          Yes

08052466                           NFT (571790591926909446/David #915)[1]

08052473                           BRZ[1], CUSDT[1], USD[0.01]                                                                                            Yes

08052476                           CUSDT[3], SHIB[3211303.78933847], SOL[1.00037114], TRX[991.87633444], USD[10.54]

08052478                           BCH[0], BTC[0], LTC[0], SHIB[0], TRX[0]                                                                                Yes

08052479                           CUSDT[2], KSHIB[651.61040921], USD[0.00]                                                                               Yes

08052489                           DOGE[1], SHIB[8786320.39753132], USD[0.00]                                                                             Yes

08052495                           SOL[.00000001], USD[10.00]

08052498                           SOL[.47952], USD[2.71]

08052525                           SHIB[14069469.13364544], TRX[1], USD[0.00]                                                                             Yes

08052532                           BRZ[1], CUSDT[7], DOGE[1], ETH[0.03018699], ETHW[0.02981497], TRX[3], USD[0.00]                                        Yes

08052534                           LINK[0], SHIB[1], USD[4.45]

08052543                           BTC[0.00530515], CUSDT[33], DOGE[.04534439], TRX[1055.75762349], USD[0.00]                                             Yes

08052555                           USD[0.00]

08052559                           SHIB[88922200], USD[15.52]

08052576                           LTC[0], SOL[0], USD[0.06], USDT[0]

08052582                           CUSDT[4], USD[0.00]                                                                                                    Yes

08052588                           BAT[1.00995785], BRZ[1], BTC[0], DOGE[0], SOL[.00001008], TRX[1], USD[0.00], USDT[0.00000207]                          Yes

08052599                           SHIB[8800000], USD[31.35]

08052603                           BTC[.00014854], USD[0.00]                                                                                              Yes

08052604                           USD[0.00]

08052610       Contingent,         AVAX[0], BTC[0], DOGE[0], ETH[0], ETHW[0], LINK[0], MATIC[0], PAXG[0], SHIB[1], SOL[0], UNI[0], USD[412.22], USDT[0]   Yes
               Unliquidated
08052616                           SHIB[37314.11710465], USD[0.00]

08052626                           CUSDT[1], KSHIB[3124.83399319], USD[0.00]                                                                              Yes

08052631                           SHIB[1], SOL[.00000001], USD[0.00]                                                                                     Yes

08052639                           USD[10.00]

08052649                           BTC[.00008238], SHIB[5], TRX[2], UNI[.05827519], USD[0.01]

08052654                           USD[21.51]                                                                                                             Yes

08052657                           BTC[.00829253], ETH[.08290391], ETHW[.08290391], SOL[1.42813856], USD[8.93]
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                                                                                                                                            Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08052674                              CUSDT[1], USD[142.99]                                                                                                                                                                      Yes

08052680                              BF_POINT[300], BRZ[8.31152636], CUSDT[18], DOGE[15.43964919], ETH[.00000775], ETHW[.00000775], GRT[1167.40014763], LINK[1.06730034], LTC[.00017468], MATIC[11545.7835458], NFT             Yes
                                      (289406163652818507/Lorenz #818)[1], NFT (289800566269339451/Astral Apes #103)[1], NFT (294265659608224548/Lorenz #674)[1], NFT (295946325311483818/Lorenz #70)[1], NFT
                                      (298205722706108372/SolFractal #9887)[1], NFT (302027018228003971/SolFractal #7516)[1], NFT (320027444231647452/Lorenz #1391)[1], NFT (326853848030127258/ApexDucks #4830)[1], NFT
                                      (330290382814936225/ApexDucks #6522)[1], NFT (356626265303461230/SolFractal #9292)[1], NFT (360869717120787532/ApexDucks #2257)[1], NFT (366079286846266384/SolFractal #3760)[1],
                                      NFT (368758288903903149/SolFractal #7763)[1], NFT (378658738644526883/Lorenz #165)[1], NFT (386995531823221119/Lorenz #543)[1], NFT (392778655671977417/ApexDucks #5068)[1], NFT
                                      (396492150710980512/SolFractal #6429)[1], NFT (397055242507949643/ApexDucks #6481)[1], NFT (409294305131265403/Lorenz #546)[1], NFT (421867707661057189/Lorenz #899)[1], NFT
                                      (422224804203565882/Astral Apes #2667)[1], NFT (428713700648158493/Lorenz #228)[1], NFT (434125276424197294/SolFractal #4327)[1], NFT (435014774784888338/Astral Apes #3052)[1], NFT
                                      (436224979558686521/SolFractal #8001)[1], NFT (444418520088265201/SolFractal #2440)[1], NFT (456473605959111646/Lorenz #676)[1], NFT (474907949863196387/ApexDucks #1008)[1], NFT
                                      (477401704514366707/Lorenz #319)[1], NFT (478050556472262354/Lorenz #744)[1], NFT (480790779939438704/Lorenz #699)[1], NFT (485580207751149234/Anti Social Bot #3195)[1], NFT
                                      (485822172196912280/Lorenz #870)[1], NFT (488009044722937786/HUTY)[1], NFT (488032196613428292/SolFractal #3539)[1], NFT (488045279662820107/Astral Apes #2640)[1], NFT
                                      (491886651309342792/Ape MAN#125#1/10)[1], NFT (508551350873546401/Astral Apes #3002)[1], NFT (508828179096324995/Astral Apes #1565)[1], NFT (527312799739945919/Astral Apes
                                      #1867)[1], NFT (529490156666519261/Lorenz #696)[1], NFT (536246580956987384/SolFractal #6723)[1], NFT (536664658117026964/Lorenz #1644)[1], NFT (537403490817249018/SolFractal
                                      #3948)[1], NFT (540571757079002469/SolFractal #5609)[1], NFT (550016525293589989/SolFractal #2886)[1], NFT (559120454984418835/Lorenz #1020)[1], NFT (560071672279079039/SolFractal
                                      #3812)[1], NFT (569867042645540782/Astral Apes #2435)[1], SHIB[4], SOL[101.35807169], TRX[8], UNI[.00029295], USD[-60.00], USDT[3.21853626]

08052688                              BRZ[1], CUSDT[3], GRT[1], TRX[5], USD[0.00]

08052691                              DOGE[1], TRX[474.51947421], USD[0.00]                                                                                                                                                      Yes

08052700       Contingent, Disputed   USD[3000.00]

08052708                              CUSDT[4], SHIB[2008623.48958675], TRX[1766.08875834], USD[5.49]                                                                                                                            Yes

08052710                              SOL[0.04651713], USD[5.00]

08052714                              BRZ[1], BTC[.06973507], CUSDT[4], DOGE[2], TRX[1.00304669], USD[0.00], USDT[1]

08052716                              BTC[0], USDT[0]

08052717                              BRZ[1], CUSDT[2], DOGE[92.4361495], SHIB[2225379.39280489], USD[1.08]                                                                                                                      Yes

08052720                              ETH[.129952], ETHW[.129952], LTC[.72978], USD[1.77]

08052721                              LINK[15.61758862], TRX[1], USD[0.00]                                                                                                                                                       Yes

08052722                              BTC[.13413702], ETH[.99798692], ETHW[.99798692], SOL[14.1758], USD[0.00]

08052724                              DOGE[1], USD[0.00]                                                                                                                                                                         Yes

08052731                              BTC[0], ETH[0], LTC[0]

08052739                              CUSDT[3], DOGE[1], SHIB[444261.85785067], TRX[3], USD[0.01], USDT[1.08456351]                                                                                                              Yes

08052740                              BTC[0], DOGE[5], PAXG[.0000014], SHIB[19], SOL[.00000001], USD[0.24]                                                                                                                       Yes

08052747                              BTC[.0000976], USD[79.50], USDT[2.32]

08052754                              BTC[0], LTC[0], SHIB[0], SUSHI[0], USD[0.00]

08052758                              CUSDT[1], MATIC[120.36100143], USD[0.00]                                                                                                                                                   Yes

08052760                              DOGE[1], USD[0.01]                                                                                                                                                                         Yes

08052764                              BAT[89], KSHIB[1788.21], SOL[.40959], TRX[911], USD[2.08]

08052767                              BCH[2.997], USD[91.08]

08052769                              ETH[0.04873298], ETHW[0.04873298], SUSHI[.4995], USD[0.29]

08052782                              BTC[0], USD[0.01]

08052783                              DOGE[371.809], MATIC[19.98], SHIB[2199600], SOL[1], TRX[991.338], USD[39.97]

08052787                              CUSDT[2], LINK[3.17686725], SOL[.59160577], TRX[2], USD[0.26]                                                                                                                              Yes

08052788                              CUSDT[2], USD[0.00]

08052790                              BTC[0.00000001], ETH[0], ETHW[0], SOL[0], USD[0.00]                                                                                                                                        Yes

08052792                              CUSDT[2], DOGE[1033.30770134], SHIB[4148460.39278802], USD[0.00]                                                                                                                           Yes

08052793                              CUSDT[2], DOGE[3], SOL[4.22090076], USD[113.67]

08052800                              BTC[0.00012838], USD[23.64]

08052801                              CUSDT[1], KSHIB[1682.99140277], LINK[39.8623865], SHIB[2], USD[10.43]                                                                                                                      Yes

08052804                              BF_POINT[100], SHIB[2084616.20916495]                                                                                                                                                      Yes

08052806                              CUSDT[3], TRX[1], USD[18.83]                                                                                                                                                               Yes

08052810                              BF_POINT[300], DOGE[0], ETH[.00000001], NFT (388451096552958067/Solninjas #7477)[1], NFT (396070921243210037/Solninjas #1130)[1], SHIB[3], SOL[.00369402], USD[0.00]                       Yes

08052811                              CUSDT[7], MATIC[.30001603], SHIB[7288781.58230446], USD[42.43]                                                                                                                             Yes

08052830                              BAT[1], BRZ[1], BTC[.00703045], CUSDT[4], DOGE[961.69171917], SHIB[18238243.54366142], TRX[2], USD[0.00], USDT[1.08221871]                                                                 Yes

08052835                              USD[0.00]

08052836                              USD[0.00]

08052839                              BTC[.0000937], ETH[.333806], ETHW[.333806], KSHIB[749.25], SOL[2.01269], USD[1164.59]

08052842                              USD[0.68]

08052853                              CUSDT[1], KSHIB[233.95599942], SHIB[119131.46996953], USD[0.00]                                                                                                                            Yes

08052856                              BTC[.00005636], LTC[0], NFT (292714341702204060/FTX Crypto Cup 2022 Key #3223)[1], NFT (298847178743598147/Penrose #000)[1], NFT (313252249266653493/Ravager #1926)[1], NFT
                                      (313300955226287135/Ravager #1205)[1], NFT (314235993247201267/FTX Crypto Cup 2022 Key #3226)[1], NFT (315388334737106814/#000)[1], NFT (319764458747739489/FTX Crypto Cup 2022
                                      Key #3224)[1], NFT (327423871530727355/Penrose #001)[1], NFT (328914497581865176/Exordia #001)[1], NFT (330800925981639428/StarAtlas Anniversary)[1], NFT
                                      (339155063081918543/#5905)[1], NFT (348100591837682565/FTX Crypto Cup 2022 Key #3220)[1], NFT (353563425569871644/StarAtlas Anniversary)[1], NFT (358166234935199550/FTX Crypto Cup
                                      2022 Key #3225)[1], NFT (361716868321321340/Exordia #005)[1], NFT (362479276803432325/FTX Crypto Cup 2022 Key #3221)[1], NFT (393425708079808765/Ravager #1493)[1], NFT
                                      (415022564844263507/Exordia #003)[1], NFT (420799053038402487/StarAtlas Anniversary)[1], NFT (441101072868031920/The Hill by FTX #5448)[1], NFT (444376070176565404/FTX Crypto Cup
                                      2022 Key #3219)[1], NFT (449081507196288675/Ravager #2060)[1], NFT (451540780027502282/StarAtlas Anniversary)[1], NFT (464373315411789708/Exordia #002)[1], NFT
                                      (465307944428132256/Reflector #275)[1], NFT (469215307553391284/StarAtlas Anniversary)[1], NFT (493901356004576794/Lost Skeleton Head #2)[1], NFT (505451929505514508/Ravager #1557)[1],
                                      NFT (506565674291951199/FTX Crypto Cup 2022 Key #3230)[1], NFT (509275932455362210/StarAtlas Anniversary)[1], NFT (509793550048561126/FTX Crypto Cup 2022 Key #3228)[1], NFT
                                      (520109972790710627/Exordia #004)[1], NFT (526792697885695682/Exordia #006)[1], NFT (539192990489878858/StarAtlas Anniversary)[1], NFT (553935963965860874/FTX Crypto Cup 2022 Key
                                      #3227)[1], SOL[0], USD[0.00], USDT[0]
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                                                                                                                                         Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08052862                           BRZ[53.95594436], CUSDT[1], DOGE[166.65248869], SHIB[845729.55420333], USD[1.08]                                                                                                        Yes

08052863                           SOL[0]

08052867                           DOGE[1], TRX[1], USD[0.00]                                                                                                                                                              Yes

08052875                           CUSDT[1], NFT (545493477116523395/Cool Bean #1868)[1], SOL[19.78301049], USD[1.00]

08052892                           BTC[.00028443], ETH[.00249887], ETHW[.00247151], KSHIB[0], SHIB[1], USD[0.00]                                                                                                           Yes

08052903                           CUSDT[682.17911196], SHIB[750443.87208029], SOL[.02556175], TRX[107.12438264], USD[0.00]

08052904                           DAI[20.979], USD[0.98], USDT[25.24473]

08052906                           LTC[.66670678], USD[0.00], USDT[0]

08052908                           BCH[.36490254], CUSDT[1], USD[0.04]                                                                                                                                                     Yes

08052909                           SHIB[1], USD[37.48]                                                                                                                                                                     Yes

08052914                           MATIC[40], SHIB[54400000], USD[2.31]

08052924                           BTC[.0019982], SOL[1.19892], USD[0.11]

08052925                           USD[0.01]                                                                                                                                                                               Yes

08052927                           USDT[0]

08052931                           USD[0.00]                                                                                                                                                                               Yes

08052935                           PAXG[0.00005784], USD[1709.02], USDT[0.00672789]

08052937                           AVAX[.06292662], SOL[.00000001], USD[0.14]

08052943                           BAT[1], DOGE[3], ETHW[.91994813], SHIB[97.87608312], TRX[4], USD[0.01]                                                                                                                  Yes

08052956                           AAVE[11.28983], ALGO[471.5752], AVAX[99.91], BTC[.31231866], DOGE[61962.4406], ETH[2.547975], ETHW[2.547975], LINK[520.23137], LTC[21.9982], MATIC[4845.635], SHIB[51952300],
                                   SOL[35.9676], SUSHI[68.9379], TRX[340.6931], UNI[1000.0991], USD[3.65], USDT[0.05086242]
08052957                           ETH[.063], ETHW[.063], TRX[.000001], USDT[3.4112912]

08052959                           BRZ[2], GRT[257.76289724], SOL[1.10461982], USD[0.08]                                                                                                                                   Yes

08052960                           USD[0.02]

08052963                           BTC[.00798181], CUSDT[2451.69545712], DOGE[1040.73460518], ETH[.10253284], ETHW[.10148128], LINK[1.88573768], MATIC[66.67310762], SOL[1.54631769], TRX[3], USD[0.00]                    Yes

08052964                           SHIB[224251.20674799], USD[0.00]                                                                                                                                                        Yes

08052965                           CUSDT[1], USD[1083.31]                                                                                                                                                                  Yes

08052972                           BTC[.19641186], NFT (370111884499881249/You in, Miami? #75)[1], NFT (461619962896073552/You in, Miami? #139)[1], NFT (547762482326412651/You in, Miami? #98)[1]

08052993                           SOL[.09], USD[0.20]

08053009                           EUR[97.22], USD[103.39]                                                                                                                                                                 Yes

08053012                           BTC[0], USD[0.00]

08053016                           USDT[14.09932673]                                                                                                                                                                       Yes

08053019                           ALGO[833.27631332], AVAX[0], BAT[2.0093272], BRZ[2], CUSDT[4], DOGE[6], ETH[0], MATIC[0], NFT (299677854522853347/PeskyPenguins.io)[1], NFT (317096551637629962/MagicEden Vaults)[1],   Yes
                                   NFT (398551466632893357/Pesky Penguins #4583)[1], NFT (400284938143718576/MagicEden Vaults)[1], NFT (510703157896971821/MagicEden Vaults)[1], NFT (543874209144412341/MagicEden
                                   Vaults)[1], NFT (558367076383691438/MagicEden Vaults)[1], SHIB[6], SOL[0], TRX[7], USD[0.00], USDT[0]
08053020                           CUSDT[1], SOL[.45549397], USD[0.00]                                                                                                                                                     Yes

08053024                           BTC[.000011], ETH[.000892], ETHW[.000892], USD[0.47]

08053026                           TRX[1], USD[0.00]                                                                                                                                                                       Yes

08053031                           BTC[.0031], USD[1290.72]

08053033                           BF_POINT[300]

08053037                           ETH[0], USD[0.00]

08053043                           USD[0.00]                                                                                                                                                                               Yes

08053049                           DOGE[1], TRX[1], USD[0.01]                                                                                                                                                              Yes

08053066                           BTC[.00179414], CUSDT[1], TRX[1], USD[0.00]                                                                                                                                             Yes

08053068                           SOL[11.47519681]                                                                                                                                                                        Yes

08053072                           USDT[15]

08053080                           USD[0.00], USDT[.00000007]

08053086                           USD[50.00]

08053088                           USD[0.85]

08053089                           BTC[.28708], SOL[.41276], USD[0.83]

08053090                           BAT[2.988], ETH[.002], ETHW[.002], SOL[.00997], USD[45.04]

08053097                           ETH[2.24], ETHW[2.24]

08053103                           USD[0.00]                                                                                                                                                                               Yes

08053104                           BRZ[299.95779653], CUSDT[4930.23501578], DOGE[3542.32143579], SHIB[39123426.90339059], TRX[1051.59432821], USD[0.00], USDT[1.07903111]                                                  Yes

08053105                           USD[539.90]                                                                                                                                                                             Yes

08053106                           DAI[.99292376], LTC[.00321532], USDT[1314.17426820]

08053108                           CUSDT[3], DOGE[1], LINK[17.69492876], NEAR[9.84076495], NFT (307656644786400949/Bull #1189)[1], NFT (417385575527222818/Joe Theismann's Playbook: New York Giants vs. Washington -      Yes
                                   October 20, 1974 #55)[1], NFT (469911694734382854/Sloth #8710)[1], SHIB[7], TRX[1357.6059032], USD[114.63], USDT[1.02543197]
08053113                           USD[0.65]

08053130                           SOL[2.53767], USD[43.51], USDT[2.315377]

08053133                           BRZ[2], DOGE[3], ETH[1.09741661], ETHW[1.09695569], GRT[1969.94755379], KSHIB[9109.42109082], SOL[161.29536665], TRX[2], USD[0.00], USDT[1.06425222]                                    Yes

08053134                           BTC[.50719686], CUSDT[1], DOGE[1], SOL[16.68222742], TRX[1], USD[0.12]                                                                                                                  Yes
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                                                                                                                                         Customer Claims                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08053144                           LTC[.54789], SHIB[7276500], SOL[.06839], USD[2.65]

08053151                           DOGE[1], SHIB[79251.86241876], USD[0.00]

08053154                           USD[8.31], USDT[0]

08053163                           BRZ[4], CUSDT[5], DOGE[3], SHIB[1], TRX[2], USD[0.00], USDT[1]

08053164                           DOGE[1], TRX[1], USD[0.00]                                                                                                                             Yes

08053170                           CUSDT[7], DOGE[1], ETH[.00000001], SOL[.00000001], TRX[1], USD[0.00], USDT[1.06478822]                                                                 Yes

08053193                           BTC[.00893673], USD[0.02]                                                                                                                              Yes

08053194                           SHIB[49931.53915659], USD[7.59]                                                                                                                        Yes

08053207                           NFT (435952687096359812/Oni Mask VCUBlockchain)[1], NFT (437693784965264072/Oni Mask 02)[1], NFT (477600735192994854/Oni Mask 01)[1]

08053211                           BTC[.0081], DOGE[9], ETH[.010989], ETHW[.010989], LINK[.999], SHIB[799200], SOL[2.00799], USD[2.83]

08053220                           CUSDT[9], SHIB[5], TRX[2], USD[0.00]                                                                                                                   Yes

08053221                           USD[12.90]                                                                                                                                             Yes

08053223                           SOL[.56164524], USD[0.00]                                                                                                                              Yes

08053224                           ALGO[.00388783], CUSDT[1], ETH[0], ETHW[1.05031157], SHIB[153.83986193], TRX[1], USD[86.93], USDT[0], YFI[.00000023]                                   Yes

08053226                           USD[0.00]

08053232                           USD[8.27]

08053241                           USD[0.61]

08053242                           CUSDT[1], SOL[.50164073], USD[0.00]                                                                                                                    Yes

08053243                           LTC[.25925199], MATIC[15.79418051], USD[0.00]

08053247                           USD[1.80]

08053249                           MATIC[.04192083], SHIB[1269.07076370], USD[0.00], USDT[0]                                                                                              Yes

08053251                           USD[2.91]

08053266                           USD[0.00]

08053270                           ETH[0], USD[0.00]

08053273                           CUSDT[1], ETH[.01288895], ETHW[.01272479], USD[6.28]                                                                                                   Yes

08053276                           CUSDT[2], DOGE[1], NFT (565252280153879709/FTX - Off The Grid Miami #4574)[1], USD[0.01]                                                               Yes

08053277                           ALGO[21.10949382], SHIB[21], TRX[1668.05189573], USD[0.00]                                                                                             Yes

08053278                           BTC[.00202484], CUSDT[2], USD[0.00]                                                                                                                    Yes

08053279                           TRX[1.03692392], USD[0.00]

08053283                           ETH[0], USD[2.15]

08053290                           CUSDT[1], SHIB[4669482.66385267], USD[0.00]                                                                                                            Yes

08053291                           USD[27.11]                                                                                                                                             Yes

08053292                           CUSDT[1], SHIB[4161510.12781082], USD[0.00]                                                                                                            Yes

08053296                           BRZ[1], DOGE[1], LINK[11.61081345], TRX[1], USD[1.78]

08053314                           USD[25.00]

08053318                           BTC[.39311261], ETH[1.09680273], ETHW[1.09634213]                                                                                                      Yes

08053319                           BCH[0], BTC[0], ETH[0], ETHW[0], SHIB[0], USD[0.31], USDT[0]                                                                                           Yes

08053327                           USD[0.00], USDT[0]

08053333                           CUSDT[2], USD[15.33]

08053334                           BCH[.00009542]                                                                                                                                         Yes

08053341                           BAT[40.80015368], DOGE[445.07249111], GRT[87.027006], SHIB[1017707.65483381], SOL[.41986003], TRX[278.06533836], USD[0.00]                             Yes

08053346                           BTC[.00181261], CUSDT[2], ETH[.01314148], ETHW[.01297732], SOL[.23188974], USD[0.00]                                                                   Yes

08053348                           BAT[1], BTC[.31482965], CUSDT[1], ETH[1.1421419], ETHW[1.14168499], SHIB[2], TRX[4], USD[0.00], USDT[2.08227574]                                       Yes

08053352                           BTC[.00011304], USD[0.00]                                                                                                                              Yes

08053354                           BRZ[2], DOGE[4], ETH[0.13921560], ETHW[0.13819959], GRT[0], SHIB[99.26737604], SOL[3.48091300], TRX[4], USD[0.00], USDT[0]                             Yes

08053357                           USD[2.58]

08053359                           BRZ[1], DOGE[3], ETH[.00822804], ETHW[.00813034], SOL[0], TRX[1], USD[0.75]                                                                            Yes

08053360                           NFT (367568819900372882/Solana Penguin #2618)[1], NFT (514585560400599947/Solana Penguin #2534)[1], NFT (519332979707412349/Solana Penguin #2541)[1]

08053365                           AAVE[.01059027], AVAX[.01772069], GRT[1.00200859], SHIB[1], SUSHI[.00004209], USD[0.00], USDT[1.08164748]                                              Yes

08053370                           BAT[.25], BTC[.00005637], ETHW[.00885], MATIC[.65], USD[1428.25]

08053374                           NFT (443326388377800372/Coachella x FTX Weekend 2 #5356)[1]

08053381                           DOGE[0], ETH[0], NFT (516070556400670445/Tome of Aetio [SE])[1], SHIB[.85103132], USD[0.27]

08053387                           LINK[15.1], USD[0.75]

08053391                           AVAX[0], BCH[0], DOGE[0.36421418], LINK[0], MATIC[0], MKR[0.00039884], TRX[0], USD[5.32], USDT[0]                                                                       USD[5.31]

08053399                           USD[0.01]

08053412                           SOL[.00989051], USD[0.00]

08053419                           BTC[.0000202], MATIC[7.63376562], USD[0.00]

08053421                           SHIB[1829663.94599772], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08053426                           NFT (300059282618254866/SolSister #08891)[1], NFT (511524729658084030/Gloom Punk #4824)[1], NFT (536872666790718139/#6605)[1], NFT (544975441915346441/Baddies #875)[1], NFT
                                   (553266399940850149/Anti Artist #252)[1], NFT (572675303634853664/Gangster Gorillas #5403)[1], SOL[.08], USD[0.71]
08053428                           CUSDT[1], USD[0.01]

08053429                           BTC[.01445881], CUSDT[6], ETH[.09225513], ETHW[.07106994], SHIB[15], TRX[1], USD[0.00], USDT[0]                                                                                Yes

08053440                           USD[2.13]

08053444                           BTC[.07292728], CUSDT[4], ETH[0], SHIB[1], TRX[3], USD[0.00]                                                                                                                   Yes

08053451                           CUSDT[7], DOGE[1], TRX[1], USD[0.00]

08053452                           USD[0.00]                                                                                                                                                                      Yes

08053453                           USD[0.00]

08053459                           BRZ[1], CUSDT[5], SHIB[1893377.87041827], USD[0.00]                                                                                                                            Yes

08053462                           CUSDT[1], KSHIB[789.1246004], USD[0.00]                                                                                                                                        Yes

08053465                           CUSDT[1], USD[0.00]                                                                                                                                                            Yes

08053475                           ETHW[.312687], USD[2.33]

08053476                           CUSDT[2], ETH[.02259046], ETHW[.02231006], SOL[.45312048], USD[0.09]                                                                                                           Yes

08053480                           CUSDT[1], SHIB[1707136.42576912], USD[0.00]                                                                                                                                    Yes

08053485                           TRX[1], USD[0.08]                                                                                                                                                              Yes

08053486                           CUSDT[2], KSHIB[357.48634067], SOL[2.22004983], TRX[1], USD[112.74]                                                                                                            Yes

08053488                           CUSDT[1], USD[0.00]

08053496                           CUSDT[1], DOGE[269.30010088], USD[25.00]

08053499                           SHIB[1], USD[0.01]                                                                                                                                                             Yes

08053512                           USD[4.18]

08053536                           CUSDT[3], USD[0.73]                                                                                                                                                            Yes

08053537                           ETHW[4.995], USD[1.68]

08053544                           CUSDT[1], SOL[.00000403], USD[0.00]                                                                                                                                            Yes

08053551                           USD[0.02]                                                                                                                                                                      Yes

08053572                           CUSDT[496.12724375], DOGE[231.94530672], SHIB[2191374.69408095], TRX[175.37221539]

08053575                           TRX[1], USD[0.00]

08053585                           ETH[0], ETHW[0], USD[5.38]

08053587                           BTC[0], SHIB[127], USD[0.00]                                                                                                                                                   Yes

08053592                           DOGE[150], KSHIB[270], SHIB[300000], USD[5.26]

08053593                           DOGE[.00000001]

08053603                           USD[20.00]

08053604                           USDT[4]

08053612                           SHIB[96300], USD[0.09]

08053635                           USD[246.81]                                                                                                                                                                    Yes

08053641                           USD[0.00]

08053642                           BRZ[1], BTC[.00370285], CUSDT[1], DOGE[1], ETH[.05700557], ETHW[.05629611], TRX[1], USD[0.13]                                                                                  Yes

08053651                           BAT[1], UNI[1], USD[0.01], USDT[1]

08053660                           AAVE[0], ALGO[0], AVAX[14.25270933], BTC[.05968182], MATIC[2], SOL[0], UNI[0]                                                                                                  Yes

08053663                           USDT[0]

08053666                           BAT[17.966], USD[0.32]

08053670                           USD[0.01]                                                                                                                                                                      Yes

08053677                           BTC[0.00018967], USD[0.00]

08053679                           CUSDT[8], DOGE[2], SHIB[2], SOL[7.64628553], TRX[3], USD[0.00]                                                                                                                 Yes

08053680                           NFT (397291323835030473/Coachella x FTX Weekend 2 #4343)[1]

08053681                           USD[20.00]

08053682                           BTC[.0341], USD[2.10]

08053683                           USD[20.00]

08053695                           BRZ[1], CUSDT[2], DOGE[2], ETH[.03864495], ETHW[.03817343], GRT[1.00014695], SHIB[1], TRX[3], USD[0.10]                                                                        Yes

08053700                           ETH[0.00001982], ETHW[.00001982], SHIB[2], SOL[0.00002376], USD[0.00]                                                                                                          Yes

08053703                           BRZ[5.00499997], BTC[.27820038], CUSDT[8], DOGE[11.0411479], ETH[.28739682], ETHW[.28720294], GRT[1], MATIC[751.72359532], SHIB[7], SOL[10.39945043], SUSHI[1.05990662],       Yes
                                   TRX[1909.43979345], USD[589.50], USDT[1.76400256]
08053704                           ETH[0.00025900], ETHW[0.00025900], SUSHI[68.5], USD[4199.75], USDT[0.00000001]

08053708                           USD[0.00]

08053710                           BRZ[.00024791], LINK[0], USD[0.00]                                                                                                                                             Yes

08053714                           USD[2.71]

08053717                           USD[21.69]                                                                                                                                                                     Yes

08053719                           CUSDT[1], SHIB[1423234.29994662], USD[20.00]

08053720                           BTC[.00089889], CUSDT[1], USD[0.00]                                                                                                                                            Yes

08053724                           USD[1.17]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08053732                           SHIB[3], USD[0.00], USDT[0]                                                                                                                  Yes

08053733                           BRZ[66.01597894], CUSDT[795.47485904], GRT[11.28317911], MATIC[58.31498417], SUSHI[1.00140293], UNI[4.30387729], USD[0.00]                   Yes

08053736                           BTC[.01873239], SHIB[2], TRX[2], USD[51.77]                                                                                                  Yes

08053748                           BTC[.00039028], CUSDT[1], ETH[.00000005], ETHW[.00000005], SHIB[2], USD[0.00]                                                                Yes

08053756                           USD[1.52]                                                                                                                                    Yes

08053763                           ETH[.02200751], ETHW[.02200751], USD[0.00]

08053766                           BTC[0]

08053767                           SHIB[1650437.36590196], USD[0.02]

08053768                           SOL[.009995], USD[3.78]

08053774                           SOL[.07606675], USD[0.00]                                                                                                                    Yes

08053778                           CUSDT[1], SHIB[30032449.23622411], USD[0.01]

08053780                           USD[0.02], USDT[0]

08053782                           SHIB[1760155.33812561], SOL[.00000001]                                                                                                       Yes

08053789                           BTC[.00000001], CUSDT[3], DOGE[1], TRX[1], USD[0.00]                                                                                         Yes

08053790                           AVAX[.00000626], CUSDT[4], DOGE[1], ETH[0], SHIB[2], SOL[.00002569], USD[0.00]                                                               Yes

08053791                           BRZ[1], CUSDT[1], DOGE[1], SHIB[3], USD[0.01]                                                                                                Yes

08053799                           GRT[1.00202033], USD[0.00]                                                                                                                   Yes

08053802                           MATIC[179.829], USD[36.10]

08053805                           BRZ[2], ETH[.05798909], ETHW[.05726827], GRT[1158.05729343], USD[0.00]                                                                       Yes

08053807                           BRZ[1], CUSDT[7], DOGE[4], ETH[.56614146], ETHW[.05190325], GRT[1], SHIB[73224013.93356581], SOL[.00904197], TRX[4], USD[0.02]               Yes

08053812                           BF_POINT[100]

08053817                           SHIB[1], USD[4.83]                                                                                                                           Yes

08053824                           SHIB[1800000], USD[0.86]

08053826                           BTC[.00100068], CUSDT[3], USD[0.00]                                                                                                          Yes

08053827                           BRZ[1], BTC[.01638665], CUSDT[1], KSHIB[1.70108336], LTC[2.3666803], SHIB[1], SOL[2.13530682], USD[0.00]                                     Yes

08053828                           CUSDT[8], SHIB[1], SOL[.00000684], USD[0.00]                                                                                                 Yes

08053840                           AVAX[.5799832], BRZ[1], DOGE[2], GRT[1], MATIC[.05656301], NEAR[.39601685], SHIB[8], SOL[25.22494765], TRX[6], USD[0.00], USDT[0.44240050]   Yes

08053847                           USD[0.00]

08053851                           SHIB[81592.68929503], USD[15.00]

08053866                           CUSDT[3], NFT (374926403748167302/FTX - Off The Grid Miami #2385)[1], USD[0.00], USDT[0]                                                     Yes

08053871                           USD[0.00]                                                                                                                                    Yes

08053874                           BTC[.00031808]                                                                                                                               Yes

08053877                           CUSDT[4], DOGE[190.20611861], SHIB[8700922.52330227], TRX[1], USD[0.22]                                                                      Yes

08053894                           USD[0.00], USDT[0]

08053897                           BTC[.0789], ETH[2.021976], ETHW[2.021976], USD[0.39]

08053900                           USD[0.01]                                                                                                                                    Yes

08053904                           DOGE[2], SHIB[1], TRX[2], USD[0.01]                                                                                                          Yes

08053910                           USDT[100]

08053911                           ETH[0], MATIC[8.17471234], NFT (373125022832429837/FTX - Off The Grid Miami #5508)[1], USD[0.00]

08053932                           BTC[.00008734], KSHIB[24.3107773], SHIB[133322.49321591], USD[0.03]                                                                          Yes

08053942                           CUSDT[2], USD[23.99]                                                                                                                         Yes

08053945                           SHIB[1], USD[430.54]                                                                                                                         Yes

08053946                           CUSDT[1], ETH[.00000089], ETHW[.00000089], SHIB[13296718.23067499], USD[0.30]                                                                Yes

08053948                           CUSDT[1], SOL[1.57442708], USD[20.00]

08053954                           LTC[.00944], USD[0.00]

08053956                           BAT[10.09094246], CUSDT[3], DOGE[2], ETH[.0000001], ETHW[.0000001], GRT[16.67900754], MATIC[39.67131053], TRX[1], USD[0.00]                  Yes

08053959                           SHIB[1], USD[25.89]                                                                                                                          Yes

08053962                           BRZ[1], LINK[1.04119127], MATIC[1.00164518], SHIB[2], SOL[.00047451], TRX[2], USD[0.00], USDT[1.00782817]                                    Yes

08053977                           BTC[.10510089]                                                                                                                               Yes

08053978                           USD[2.41]

08053989                           SHIB[1], USD[0.00]

08053991                           ALGO[86.5640725], DOGE[3.5318], SHIB[2], USD[0.00]                                                                                           Yes

08053993                           CUSDT[1], SOL[.32276223], USDT[0.00000108]                                                                                                   Yes

08053994                           SHIB[0.00000001], TRX[.00000001], USD[0.00], USDT[0]                                                                                         Yes

08053995                           ETH[.00000001], SOL[0]

08054009                           SHIB[8700000], USD[1.08]

08054016                           USD[0.66]                                                                                                                                    Yes

08054017                           CUSDT[10], SOL[.00001004], USD[0.00]                                                                                                         Yes
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                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08054019                           BTC[0], ETH[0], ETHW[0], USD[0.01]                                                                                                                                                    Yes

08054021                           MATIC[379.62], USD[0.01]

08054035                           BRZ[1], CUSDT[4], DOGE[1], USD[0.01]

08054036                           BTC[.00182585], CUSDT[1], USD[0.01]                                                                                                                                                   Yes

08054041                           USD[0.32]

08054049                           AAVE[.00001804], CUSDT[5], DOGE[1], LINK[.00020969], SHIB[10], SOL[.00006674], SUSHI[.0007361], TRX[2], UNI[0.00012545], USD[737.76]                                                  Yes

08054057                           BRZ[1], USD[0.00]

08054059                           DOGE[1], SOL[1.11873072], USD[0.00]                                                                                                                                                   Yes

08054064                           USD[8.30]

08054066                           BTC[1.84527567], ETH[25.71601643], ETHW[25.70871894], GRT[2], LINK[1.03183303], SUSHI[1.01700059], UNI[1.05959203], USD[0.06], USDT[1.05930602]                                       Yes

08054067                           CUSDT[26], DOGE[1], SOL[.00002557], TRX[2], USD[0.00], USDT[0.00000001]                                                                                                               Yes

08054079                           NFT (363444928238245110/Series 1: Wizards #170)[1]

08054085                           NFT (305215587661159368/SolDad #2069)[1], NFT (310528931614785499/SolDad #759)[1], NFT (313283224468077396/Gloom Punk #7778)[1], NFT (316016980849168589/Joylina's Cantina S1
                                   #6842)[1], NFT (319017452048594574/Gloom Punk #9980)[1], NFT (332096153058159478/Joylina's Cantina S1 #7463)[1], NFT (334294326438436661/Joylina's Cantina S1 #2257)[1], NFT
                                   (338041649925975085/Joylina's Cantina S1 #1505)[1], NFT (338160504465601320/Joylina's Cantina S1 #879)[1], NFT (338688511240185724/Joylina's Cantina S1 #9661)[1], NFT
                                   (340709389027838860/DRIP NFT)[1], NFT (341557365989610083/Joylina's Cantina S1 #6706)[1], NFT (357556069381041375/Joylina's Cantina S1 #2243)[1], NFT (378313808588289229/Joylina's
                                   Cantina S1 #6672)[1], NFT (383985539286335054/Joylina's Cantina S1 #3026)[1], NFT (402822799778704222/Joylina's Cantina S1 #1483)[1], NFT (409407581855942590/Joylina's Cantina S1
                                   #1405)[1], NFT (415595147841909786/Joylina's Cantina S1 #2068)[1], NFT (445549640721493390/Gloom Punk #5310)[1], NFT (446579989986341495/Joylina's Cantina S1 #6256)[1], NFT
                                   (473475159138425201/Joylina's Cantina S1 #4780)[1], NFT (487339500425581400/Cyber Frogs Ramen)[1], NFT (490822524484270204/Joylina's Cantina S1 #1129)[1], NFT
                                   (491708714919221841/Joylina's Cantina S1 #5952)[1], NFT (495656999429190897/Joylina's Cantina S1 #7345)[1], NFT (496175716680022430/Joylina's Cantina S1 #3515)[1], NFT
                                   (499219960116249411/Gloom Punk #1262)[1], NFT (517900963993205626/Joylina's Cantina S1 #6418)[1], NFT (523705044865425469/Joylina's Cantina S1 #4956)[1], NFT
                                   (548508954709583294/Joylina's Cantina S1 #4032)[1], NFT (549348742433047514/Joylina's Cantina S1 #8273)[1], NFT (562354704786216947/Gloom Punk #8652)[1], NFT
                                   (569774662562865522/Joylina's Cantina S1 #3077)[1], NFT (571151741649511924/DRIP NFT)[1], NFT (574108321043164108/Joylina's Cantina S1 #33)[1]

08054087                           BTC[.00031114], CUSDT[5], ETH[.00461851], ETHW[.00456379], MATIC[12.31027789], SHIB[414741.74659694], SOL[.09036215], USD[0.00]                                                       Yes

08054093                           SHIB[1], SOL[1.63355902], TRX[1], USD[107.61]                                                                                                                                         Yes

08054100                           BRZ[1], SOL[0.00001843], USD[0.06]                                                                                                                                                    Yes

08054116                           BTC[.00004036], CUSDT[4], DOGE[3], SHIB[1], USD[0.92]                                                                                                                                 Yes

08054121                           BTC[.00007784], ETH[3.54188], ETHW[3.54188], GRT[12507.5670884], SOL[120.04000704], USD[14.56], YFI[.29626194]

08054129                           USD[85.03]                                                                                                                                                                            Yes

08054131                           ETH[.00054034], ETHW[1.21654034], LINK[.086387], MATIC[.97], SOL[.0003785], USD[4263.87]

08054132                           CUSDT[1], USD[31.85]                                                                                                                                                                  Yes

08054133                           BTC[.00048943], CUSDT[6], DOGE[41.66396327], ETH[.00477], ETHW[.00471528], LINK[.65875808], LTC[.21978888], SHIB[367818.51982861], SOL[.08973037], TRX[1], USD[0.00]                  Yes

08054135                           BTC[0], SHIB[878.20585625], USD[0.00]

08054150                           BTC[.00178207], CUSDT[1], USD[0.00]                                                                                                                                                   Yes

08054161                           DOGE[18.83463629], USD[0.00]

08054163                           SOL[.01157007], USD[88.71]

08054164                           USD[0.16]

08054169                           GRT[116.70573994], TRX[1], USD[0.00]                                                                                                                                                  Yes

08054173                           BTC[.09], ETHW[2.09807], USDT[0.00003420]

08054177                           USD[8.98]

08054186                           CUSDT[13], TRX[1], USD[0.00]                                                                                                                                                          Yes

08054188                           DOGE[1], SOL[.00973367], SUSHI[75.04797335], USD[7.40]                                                                                                                                Yes

08054190                           USD[0.00]

08054191                           AAVE[0], BAT[0], BTC[0], CUSDT[14], DOGE[2], MATIC[0], SHIB[0], SUSHI[0], TRX[2], USD[0.00], USDT[0]                                                                                  Yes

08054201                           SOL[2.20365448], TRX[1], USD[0.01]                                                                                                                                                    Yes

08054205                           DOGE[.9], SOL[.8495], USD[2.47]

08054207                           CUSDT[1], TRX[1], USD[97.10]

08054208                           BAT[10.70750956], CUSDT[4], DOGE[87.30196111], MATIC[7.74561999], SHIB[456829.09624787], SUSHI[12.06242669], USD[0.14]                                                                Yes

08054210                           BTC[.00168259], SHIB[90882.61776202], USD[0.00]                                                                                                                                       Yes

08054212                           BRZ[1], TRX[507.07434632], USD[0.01]

08054226                           SHIB[1288755.74720315], TRX[4], USD[0.00], USDT[0]

08054232                           BTC[0.00046467], CUSDT[3], DOGE[2], TRX[1], USD[0.00]                                                                                                                                 Yes

08054233                           SOL[.00000001]

08054254                           BRZ[1], BTC[.00695647], CUSDT[13], DOGE[3], MATIC[704.42168023], SHIB[1], SOL[.00000754], TRX[5], USD[0.00]                                                                           Yes

08054257                           BTC[.00043713], SHIB[1], USD[0.00]

08054263                           MATIC[0.00322568], NEAR[0], SOL[0.00048802], USD[0.00]                                                                                                                                Yes

08054265                           USD[0.00]

08054272                           CUSDT[0], DOGE[1], LINK[.00000275], SOL[1.38371732], USD[0.00]                                                                                                                        Yes

08054282                           SOL[.00000001]

08054292                           BTC[0.02578139], ETH[.1478956], ETHW[.1478956], SOL[.00000001], USD[0.00], USDT[0.00000001]

08054293                           BTC[.0088], USD[1.52]

08054298                           BRZ[1], CUSDT[11], DOGE[4], ETHW[.26226348], SHIB[22], TRX[7], USD[579.53]
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                                                                                                                                          Customer Claims                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08054304                           BTC[0.00000082], USD[0.00], USDT[0]                                                                                                                                            Yes

08054312                           BRZ[1], TRX[1], USD[0.09]                                                                                                                                                      Yes

08054314                           USD[0.96]

08054321                           SHIB[0], USD[0.01], USDT[1.02543197]                                                                                                                                           Yes

08054328                           SHIB[178290.94139868], USD[0.00]                                                                                                                                               Yes

08054332                           BCH[1.387611], MATIC[49.85], USD[497.25]

08054341                           NFT (416792574318037859/Otaku Origins Chapter 1 #3459)[1], NFT (471059762125963697/MetaLeagueSilverWL)[1], NFT (522795155666868463/Nekoverse Community WL)[1], NFT
                                   (526200937842837101/Balloons2xLazyVerse #1)[1], SOL[0], USD[0.00], USDT[0.00000050]
08054344                           CUSDT[2], DOGE[1], ETH[.02318094], ETHW[.02289366], TRX[.00897713], USD[0.00]                                                                                                  Yes

08054346                           SHIB[930583.93920544], USD[0.00]                                                                                                                                               Yes

08054361                           CUSDT[1], KSHIB[462.53233679], USD[0.00]                                                                                                                                       Yes

08054366                           SHIB[13620.43143297], USD[2.45]

08054368                           BAT[58.23820350], BF_POINT[200], BTC[.00637652], DOGE[1], ETH[.11173822], ETHW[0], MATIC[36.58674780], SHIB[11], SOL[2.46377061], SUSHI[4.72676987], USD[0.00]                 Yes

08054379                           SHIB[1], USD[0.00]                                                                                                                                                             Yes

08054381                           BTC[.00108491], CUSDT[5], ETH[0.01165824], ETHW[0.01150776], LTC[.07494737], SHIB[350252.88466003], SOL[0.09040849], USD[0.00]                                                 Yes

08054390                           GRT[422.54193879], MATIC[0], SHIB[6015947.12197885], SOL[26.14194496], USD[0.00]                                                                                               Yes

08054391                           ETH[0], SOL[0], USD[0.00]

08054393                           ALGO[703.60324317], BTC[0], GRT[2511.45403654], LINK[31.65171231], MATIC[402.20913817], NEAR[218.23416323], SHIB[1981340.41350393], SOL[141.23969643], USD[-100.00], USDT[0]   Yes

08054397                           CUSDT[2], DOGE[103.51326958], ETH[.04592583], ETHW[.04592583], KSHIB[1814.76346373], SHIB[7238510.86717336], SOL[1.02178889], TRX[2], USD[0.00]

08054398                           BTC[.0074363], CUSDT[3], DOGE[2], ETH[.01657632], ETHW[.01637112], LTC[.04854322], SHIB[32875.34399353], SOL[.03541525], TRX[1], USD[0.00]                                     Yes

08054408                           TRX[1], USD[0.00]

08054411                           BTC[.06317696], ETH[.0749478], ETHW[.0749478], SOL[4.59586], USD[5.24]

08054422                           USD[216.90]                                                                                                                                                                    Yes

08054427                           USDT[1.90269950]

08054428                           KSHIB[0], USD[0.00]                                                                                                                                                            Yes

08054430                           CUSDT[1], DOGE[2], SHIB[1446990.94626806], USD[0.00]

08054441                           DOGE[1], TRX[2], USD[0.22]                                                                                                                                                     Yes

08054454                           KSHIB[944.79362967], SHIB[1937048.16177675], USD[10.28]                                                                                                                        Yes

08054456                           BTC[.0000056], SHIB[7], TRX[2], USD[0.00], USDT[1.00015521]                                                                                                                    Yes

08054464                           USD[100.00]

08054472                           CUSDT[11], TRX[2], USD[0.00]                                                                                                                                                   Yes

08054474                           ETH[.01374794], LINK[.00001937]                                                                                                                                                Yes

08054479                           SOL[.44532348]                                                                                                                                                                 Yes

08054481                           BTC[.00374115], SHIB[1], USD[0.09]                                                                                                                                             Yes

08054482                           CUSDT[1], DOGE[1], TRX[6370.57693838], USD[0.00]                                                                                                                               Yes

08054486                           SHIB[183342.2870803], USD[0.00]                                                                                                                                                Yes

08054495                           DOGE[1], USD[0.00], USDT[497.2633114]

08054505                           USD[4.40]

08054523                           ETH[0], ETHW[.00010384], GRT[1], SHIB[15], SOL[2.8308882], TRX[3], USD[681.80]                                                                                                 Yes

08054527                           BTC[.00015815], CUSDT[9], NFT (330614197128968952/Cr iberd1)[1], NFT (345995208274872988/Winter iberd)[1], NFT (432369529978012202/Heavenly water#061)[1], NFT                 Yes
                                   (531332319421616818/Heavenly water #011)[1], NFT (533334037908222226/santorini13 iberd)[1], SHIB[2], USD[0.01]
08054530                           BAT[1.01529377], USD[0.00]                                                                                                                                                     Yes

08054531                           MATIC[.00323223], SHIB[5], SOL[0.10193297], USD[0.00]                                                                                                                          Yes

08054534                           NFT (394671306917265418/Sun Set #981)[1], NFT (420781842093268623/Reflection '13 #56)[1], USD[0.01]

08054550                           USD[3.20]

08054553                           BRZ[88.90205458], CUSDT[11], DOGE[1395.54642414], GRT[15.7172436], KSHIB[282.81105518], SHIB[2339140.3947161], TRX[114.34779997], USD[6.26]                                    Yes

08054554                           USD[5.42]                                                                                                                                                                      Yes

08054555                           BTC[.13572623], DOGE[1835.39730731]                                                                                                                                            Yes

08054556                           AVAX[.00114635], ETH[0.00051279], USD[0.21], USDT[1.94805028]

08054558                           USD[0.00]

08054560                           LINK[3.58373662], SHIB[1], USD[0.00]

08054565                           BAT[1], DOGE[1], SHIB[1], USD[0.00], USDT[.99572729]                                                                                                                           Yes

08054578                           ETH[.207], ETHW[.207], SOL[6.16383], USD[0.70]

08054583                           USD[100.00]

08054587                           CUSDT[1], DOGE[403.66234563], SHIB[936964.96214275], USD[0.00]                                                                                                                 Yes

08054593                           BAT[1], BRZ[2], BTC[0], ETH[0], ETHW[0.00004023], GRT[4], LINK[0], SHIB[4], SOL[0.00000001], TRX[2], USD[0.00], USDT[0.00000001]                                               Yes

08054599                           CUSDT[8], DOGE[2], ETH[.00116382], ETHW[.00115014], KSHIB[22005.61672329], SHIB[8201216.58591582], TRX[190.21530912], USD[0.09]                                                Yes

08054617                           KSHIB[1437.95097737], SHIB[15131569.95482342], TRX[2], USD[8360.07]                                                                                                            Yes

08054622                           CUSDT[1], SHIB[490276.18891975], USD[0.00]

08054631                           SOL[.0002726], TRX[.508124]
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                                                                                                                                            Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08054660                              USD[0.00]

08054665                              CUSDT[3], DOGE[.01372243], TRX[1], USD[0.01]                                                                                                                                      Yes

08054666                              USD[0.00]

08054667                              USD[0.00]

08054671                              USD[100.00]

08054678                              BRZ[3], CUSDT[2], DOGE[1], ETH[.00626623], ETHW[.00618409], GRT[1], SHIB[2], SOL[.0079377], TRX[3], USD[0.34]                                                                     Yes

08054682                              USD[7.76]

08054683                              BTC[.0000422], DOGE[4], ETH[.0011534], ETHW[.0011534], KSHIB[120], MKR[.000446], PAXG[.00071685], SHIB[217516.49584371], SOL[.04], USD[0.90], YFI[.00003084]

08054687                              BTC[.0001627]                                                                                                                                                                     Yes

08054694                              NFT (387754635010369396/JungleCats #1059)[1], NFT (563718544099824406/Glitched JungleCats #1059)[1], SOL[38.15508699]

08054697                              USD[0.00]

08054705                              ETH[.0005], ETHW[.0005], UNI[0], USD[0.00]

08054718                              CUSDT[8], DOGE[1], SHIB[44364075.28398868], USD[0.00]                                                                                                                             Yes

08054726                              CUSDT[1], NFT (406295892457828605/Coachella x FTX Weekend 1 #18503)[1]                                                                                                            Yes

08054730                              CUSDT[3], TRX[2], USD[0.00]                                                                                                                                                       Yes

08054731                              USD[0.98]                                                                                                                                                                         Yes

08054743                              USD[11329.42]                                                                                                                                                                     Yes

08054745                              DOGE[2], TRX[1], USD[0.35], USDT[1]

08054747       Contingent, Disputed   BRZ[1], BTC[0], SHIB[2], USD[0.00]                                                                                                                                                Yes

08054750                              USD[0.58]                                                                                                                                                                         Yes

08054751                              BRZ[299.80137698], CUSDT[2464.29036006], DOGE[2], SHIB[1805050.66953784], TRX[1550.16040221], USD[703.01]                                                                         Yes

08054754                              BAT[2.07772185], BRZ[1], CUSDT[4], DOGE[.06501428], MATIC[.0066405], TRX[7], USD[0.00], USDT[3.23882081]                                                                          Yes

08054755                              USD[0.00]

08054760                              NFT (485621298915809098/Solninjas #7243)[1], SOL[.07850417]

08054773                              USD[0.00]

08054777                              LINK[.0927298], USD[97.00]

08054790                              SOL[2.73780781], TRX[1], USD[0.00]                                                                                                                                                Yes

08054796                              CUSDT[1], SHIB[1715854.49553877], USD[0.00]

08054800                              BTC[0.00003042], DOGE[.9982], SOL[.52], USD[0.01]

08054801                              SHIB[1], USD[0.01]

08054804                              BRZ[1], CUSDT[6], DOGE[5.007357], SHIB[1], SOL[47.60406755], TRX[3], USD[0.00], USDT[1.08303938]                                                                                  Yes

08054806                              BRZ[2], CUSDT[1], DOGE[1], GRT[2.01306585], LINK[1.07810041], SHIB[1], SOL[25.4710616], SUSHI[.00111282], TRX[6], UNI[.00084208], USD[0.00], USDT[0.00000001]                     Yes

08054808                              CUSDT[1], LTC[.00003046], TRX[1], USD[286.45]

08054812                              BAT[1], BRZ[1], CUSDT[6], DOGE[1], NFT (290615874115295927/5382)[1], NFT (302561484956427263/Sigma Shark #3525)[1], NFT (372498226269418466/Nifty Nanas #6145)[1], NFT
                                      (385267390311125258/SolBunnies #3781)[1], NFT (422338325602761226/FLIP)[1], NFT (424963039815557591/Drinks #4)[1], NFT (494673800143347691/Rejection)[1], SOL[1.225], USD[0.01]
08054816                              CUSDT[24], DOGE[2], USD[0.00]                                                                                                                                                     Yes

08054825                              BRZ[1], SHIB[1641766.54079789], USD[0.00]

08054840                              USD[0.03]                                                                                                                                                                         Yes

08054841                              BTC[.00000001], USD[0.01]

08054846                              LTC[0], MATIC[0.72290446], SUSHI[2060.24617437], USD[-1732.58]

08054847                              BRZ[249.5014249], CUSDT[7], DOGE[1], MATIC[21.3721321], SHIB[848168.67216375], SUSHI[3.54143313], TRX[97.6790252], USD[0.00]                                                      Yes

08054855                              BRZ[4], CUSDT[13], DOGE[3], ETH[.00000001], GRT[1], LINK[.00027591], SHIB[11], SOL[.00000001], TRX[9], USD[0.00]                                                                  Yes

08054866                              ETH[.01279321], ETHW[.01279321], TRX[1], USD[0.00]

08054870                              NFT (362808588485098034/FTX Cap)[1], NFT (389164430772543724/Banana Boost)[1], NFT (447320303637144841/Cryptid #1846)[1], SOL[2], USD[200.62]

08054886                              ALGO[.00222867], BTC[0], ETH[0], ETHW[0], GRT[1], SHIB[2], SOL[0.00000282], TRX[2], USD[0.00]                                                                                     Yes

08054891                              USD[0.01]                                                                                                                                                                         Yes

08054898                              USD[0.32], USDT[.05627307]

08054907                              CUSDT[2], USD[0.02]                                                                                                                                                               Yes

08054916                              BTC[.0001]

08054922                              USD[3.97]

08054924                              ETH[.00000001], USD[0.00]

08054932                              CUSDT[1], NFT (313175898425709183/GalaxyKoalas # 487)[1], SOL[2.46651637], TRX[1], USD[0.00]                                                                                      Yes

08054933                              KSHIB[67.59757708], SHIB[196472.40455568], SOL[.0000076], USD[0.00]                                                                                                               Yes

08054940                              USD[0.00], USDT[0.00000001]                                                                                                                                                       Yes

08054947                              KSHIB[0], LTC[0]                                                                                                                                                                  Yes

08054955                              ETH[.00000001], ETHW[0], USD[0.00]                                                                                                                                                Yes

08054956                              UNI[11.29109849], USD[0.00]

08054960                              TRX[29.10225628], USD[0.00], USDT[30.51384900]

08054973                              ETH[0.00000632], ETHW[0.00000632], SOL[.00000025], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08054984                              USD[0.00]

08054993                              SOL[.0000002], USD[0.00]                                                                                                                                                                  Yes

08054994                              NFT (299541240926177728/Munk #1824)[1], NFT (309651250901294022/Munk #1037)[1], NFT (366140648250835481/Munks and me)[1], NFT (414263365281917542/Humpty Dumpty #1670)[1],
                                      USD[0.93]
08055013                              BAT[.5670646], BRZ[1.98008049], CUSDT[68.27394428], DOGE[8.88392198], LINK[.00104582], LTC[0.01166271], SHIB[250420.32687309], TRX[8.96835012], USD[0.51]                                 Yes

08055024                              MATIC[0], USD[0.00]                                                                                                                                                                       Yes

08055031                              ETH[0.85058945], ETHW[0], GRT[1], SHIB[29], USD[0.00], USDT[0.00000311]                                                                                                                   Yes

08055033                              NFT (506143753638477793/Entrance Voucher #2985)[1], SOL[.00793063], USD[0.00], USDT[0]                                                                                                    Yes

08055047                              CUSDT[1], DOGE[1], SHIB[1], USD[0.00]                                                                                                                                                     Yes

08055049                              USD[0.00]

08055052                              CUSDT[1], ETH[.11296126], ETHW[.11184754], USD[27.18]                                                                                                                                     Yes

08055070                              BTC[.04414586], ETH[.037962], SOL[7.48251], USD[-290.43]

08055083                              NFT (485630330209802448/Ferris From Afar #182)[1], UNI[12.4], USD[0.20]

08055086                              SOL[.00085192]                                                                                                                                                                            Yes

08055088                              GRT[4.27269136], LINK[0.00000135], SOL[0], USD[0.00]                                                                                                                                      Yes

08055090                              BCH[6.29873427], BRZ[1], CUSDT[3], NFT (302653280701848881/SolDad #4792)[1], NFT (316752057003243286/Sigma Shark #5245)[1], NFT (341438179827839035/Clemson Memorial Stadium)[1],         Yes
                                      NFT (349380636117315476/Sanford Stadium )[1], NFT (357946814786071787/Iron Mike )[1], NFT (371889995272408701/Michael Jordan Drawing #3)[1], NFT (381127946161988867/Jesus Christ
                                      #1)[1], NFT (382728174235491964/Doak S. Campbell Stadium)[1], NFT (422453159532171557/Tim Brown's Playbook: San Diego Chargers vs. Los Angeles Raiders - September 4, 1988 #54)[1], NFT
                                      (458982732278629954/Kobe Bryant Set #3)[1], NFT (496777287571760848/Notre Dame Field)[1], NFT (502376685560309689/Kobe Bryant Set #2)[1], NFT (508747771943448489/Michael Jordan
                                      Drawing #2)[1], NFT (515049311714994334/Bryant - Denny Stadium)[1], SOL[0], TRX[3], USD[0.02], USDT[2.16031026], YFI[.08620804]
08055096                              USD[30.36]                                                                                                                                                                                Yes

08055104                              USD[319.95]

08055111                              USD[50.01]

08055122                              CUSDT[2], DOGE[3], SHIB[191293.13845799], USD[0.01]                                                                                                                                       Yes

08055129                              BAT[9.39473331], DOGE[36.05925035], MATIC[3.38926164], SOL[0.06662954], USD[0.00], USDT[0]                                                                                                Yes

08055146                              CUSDT[12180.16028542], DOGE[3], SHIB[12481421.1022936], USD[0.00]                                                                                                                         Yes

08055154                              CUSDT[1], DOGE[0], SOL[0.00000001], TRX[1], USD[0.00]

08055155                              BTC[0], SHIB[1], SOL[.00000001], USD[0.00], USDT[0]                                                                                                                                       Yes

08055156       Contingent, Disputed   BTC[.00008076], CUSDT[5], DOGE[4.00570268], TRX[2], USD[0.00], USDT[1.08369232]                                                                                                           Yes

08055164                              CUSDT[2], USD[0.14]

08055166                              NFT (461643858769884040/Megalodon Rogue Shark Tooth)[1], NFT (510413634233505103/Silver Surfboard)[1], NFT (562046290754346067/Silver Starfish)[1]

08055175                              BTC[0], DOGE[0], ETH[0], ETHW[0], LTC[0], SOL[0], USD[0.00], USDT[0.00000001]

08055177                              USD[108.44]                                                                                                                                                                               Yes

08055184                              CUSDT[1], SHIB[9542633.96897448], SOL[1.25414869], TRX[1], USD[6.55]                                                                                                                      Yes

08055209                              DOGE[1], MATIC[.00024357], USD[0.03]                                                                                                                                                      Yes

08055215                              ALGO[180.37683485], USD[0.00]                                                                                                                                                             Yes

08055219                              BRZ[1], CUSDT[20], DOGE[2], ETH[.00000376], ETHW[.00000376], GRT[1], LINK[.00000362], MATIC[.00004788], TRX[4], USD[0.00]

08055221                              TRX[.0060613], USD[0.00]                                                                                                                                                                  Yes

08055227                              BTC[0], USD[0.22]                                                                                                                                                                         Yes

08055233                              USD[108.44]                                                                                                                                                                               Yes

08055235                              DOGE[0], ETH[0.00258644], ETHW[0.00258644], SHIB[25956704.98706179], SOL[.72805399], TRX[6541.1763891], USD[0.00]

08055236                              USD[0.01]

08055240                              ETH[.00000377], ETHW[.00000377], SOL[0.00111218], USD[0.00]                                                                                                                               Yes

08055241                              CUSDT[7], DOGE[1566.54104519], ETH[.02448342], ETHW[.02418246], SHIB[480887.29788296], USD[24.11]                                                                                         Yes

08055249                              USD[8.96], USDT[0]

08055253                              DOGE[19.99366516], USD[0.00]                                                                                                                                                              Yes

08055266                              BTC[.00505206], NFT (312626925744885551/Coachella x FTX Weekend 1 #742)[1], SHIB[1], USD[200.00]                                                                                          Yes

08055270                              CUSDT[1], DOGE[1291.96156764], KSHIB[8874.02312534], USD[0.00]                                                                                                                            Yes

08055275                              CUSDT[1], SHIB[23817810.76898714], USD[0.00]                                                                                                                                              Yes

08055298                              BCH[0], BTC[0], CUSDT[8], DOGE[1], USD[11.95]                                                                                                                                             Yes

08055303                              AVAX[0.00008492], BTC[0.00469198], DOGE[0], ETH[0.00000004], ETHW[0.00000004], NFT (291829905882554184/Birthday Cake #0118)[1], NFT (405989464003179923/The 2974 Collection               Yes
                                      #0118)[1], NFT (526838501628753964/The 2974 Collection #0690)[1], SHIB[6], SOL[0.00007821], SUSHI[0], TRX[4], USD[0.00], USDT[0]
08055312                              SHIB[199800], USD[0.53]

08055315                              BTC[.00284249], SOL[0], USD[0.09]                                                                                                                                                         Yes

08055317                              NFT (367407730331391539/Fancy Frenchies #2448)[1], SOL[1], USD[0.00], USDT[1.9073648]

08055323                              SHIB[1], SOL[.20842749], USD[0.00]                                                                                                                                                        Yes

08055326                              TRX[1739.80973778], USD[0.00]

08055330                              DOGE[0]

08055332                              BTC[.05483457], DOGE[1462.91050261], SHIB[18646105.59230008], SOL[20.54230622], USD[-315.00]                                                                                              Yes

08055333                              USD[500.00]

08055338                              USD[33.34]

08055344                              BTC[.00041134], CUSDT[4], ETH[.02881076], ETHW[.02845508], SOL[.1098227], USD[0.00]                                                                                                       Yes
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08055347                              AUD[7.23], CAD[6.67], HKD[41.70], KSHIB[168.4998609], SHIB[182266.95078209], USD[0.00], ZAR[74.25]                                                                                      Yes

08055348                              TRX[1073.1162388], USD[0.00]                                                                                                                                                            Yes

08055350                              USD[3.04]

08055363                              BAT[130.95121056], CUSDT[2], SHIB[3603660.16928061], USD[0.00]                                                                                                                          Yes

08055366                              BTC[.00023405], CUSDT[5], DOGE[4], NFT (316420843874503244/Cool Bean #103)[1], NFT (342342216031223883/Cool Bean #2310)[1], NFT (557966573625077416/2641)[1], SHIB[8],                  Yes
                                      SOL[5.35568759], TRX[1], USD[0.00]
08055368                              DOGE[1], SOL[2.19877655], USD[0.00]                                                                                                                                                     Yes

08055372                              AVAX[.00016889], BRZ[2], SHIB[3], USD[0.00]                                                                                                                                             Yes

08055388                              BTC[.00091143], CUSDT[3], DOGE[209.87219004], ETH[.00996795], ETHW[.00984483], GRT[1.00228568], SHIB[1275821.60557026], USD[0.00]                                                       Yes

08055392                              USD[0.00], USDT[0]                                                                                                                                                                      Yes

08055396                              USD[3.53]                                                                                                                                                                               Yes

08055401                              SHIB[175799.05508254], USD[0.00]

08055403                              AVAX[0], BAT[0], BF_POINT[100], BTC[0], GRT[0], LINK[0], MATIC[0], SHIB[0], SOL[0], USD[0.00], USDT[0]                                                                                  Yes

08055411                              CUSDT[2], SHIB[5205914.02694251], TRX[2336.47815421], USD[0.44]                                                                                                                         Yes

08055415                              BRZ[1], ETH[.00176605], ETHW[0.00176605], TRX[1], USD[0.00], USDT[0]

08055439                              DOGE[2], NFT (319236757300567765/Anti Artist #610)[1], SHIB[36.39681124], SOL[.00002271], TRX[.09673989], USD[0.00]                                                                     Yes

08055445                              USD[0.00]

08055447                              BTC[0.02919216], DOGE[1], ETH[.00000232], SHIB[3], TRX[1], USD[0.00]                                                                                                                    Yes

08055452                              BAT[2.88520498], CUSDT[1], SHIB[.03933], SOL[0.06162064], TRX[1], USD[0.00]                                                                                                             Yes

08055456                              ALGO[.998], AVAX[.00000001], ETH[.000646], ETHW[.000646], MATIC[.19137037], USD[0.01]

08055458                              BRZ[1], CUSDT[1], NFT (289787814490182795/Eitbit Ape #7301)[1], NFT (394953013477947365/Eitbit Ape #7405)[1], NFT (420298101729589689/Eitbit Ape #4881)[1], SOL[.00074214], USD[0.00]   Yes

08055459                              BTC[.00623295], CUSDT[3], DOGE[2], SHIB[5731114.1389666], SOL[.6369704], TRX[5], USD[0.00], YFI[.00916044]

08055461                              SOL[.00803], USD[1.35]

08055465                              CUSDT[1], SHIB[357473.28649787], USD[0.00]                                                                                                                                              Yes

08055466                              ALGO[0], KSHIB[0], LINK[0], MATIC[0], SHIB[1], SOL[0], USD[0.01]                                                                                                                        Yes

08055467                              CUSDT[2], USD[102.12]

08055468                              NFT (418809379924079283/Saudi Arabia Ticket Stub #1087)[1]

08055469                              BTC[0.00050000], DOGE[6], USD[0.21], USDT[0]

08055480                              BRZ[3], CUSDT[4], DOGE[9.22771194], ETH[4.1343956], ETHW[4.23305076], GRT[1.00004367], LINK[1.0592705], MATIC[2392.77120824], SOL[20.52754257], TRX[5], USD[846.46],                    Yes
                                      USDT[1.05404781]
08055491                              USD[53.78]                                                                                                                                                                              Yes

08055495                              BTC[0], USD[0.00]

08055508                              BTC[.00000001], CUSDT[9], GRT[1.02954065], SHIB[5], USD[47.83]                                                                                                                          Yes

08055511                              AVAX[0], CUSDT[2], SHIB[1], USD[0.00]                                                                                                                                                   Yes

08055519                              BRZ[302.02529647], BTC[.05767356], CUSDT[565.96256412], DAI[23.52766073], DOGE[9633.12409282], ETH[.11689552], ETHW[.11576297], KSHIB[296.62252114], LTC[.43665423],                    Yes
                                      NEAR[6.3032016], SHIB[82942198.94363863], TRX[327.44497182], USD[17.55]
08055537                              ETH[0], USD[0.08]

08055544                              BTC[0], CUSDT[1], DOGE[0], ETH[0], SHIB[0], TRX[1], USD[0.00]

08055549                              CUSDT[1], SHIB[4755351.63974627], TRX[1], USD[0.00]

08055552                              CUSDT[1], SOL[1.17111719], USD[27.19]                                                                                                                                                   Yes

08055565                              CUSDT[1], TRX[1], USD[0.01]                                                                                                                                                             Yes

08055566                              ALGO[.10539426], USD[0.13]                                                                                                                                                              Yes

08055571                              CUSDT[1], DOGE[1], GRT[1.00180988], USD[0.01], USDT[1.0843853]                                                                                                                          Yes

08055572                              CUSDT[1], MATIC[7.98143227], USD[0.00]                                                                                                                                                  Yes

08055573       Contingent, Disputed   AUD[0.00], BTC[0], ETH[0], ETHW[0], KSHIB[0], MATIC[0], SOL[0], USD[0.00]                                                                                                               Yes

08055574                              CUSDT[1], SHIB[364812.48701673], USD[0.00]                                                                                                                                              Yes

08055577                              USD[0.00]

08055578                              BTC[.00003958], USD[0.56]                                                                                                                                                               Yes

08055582                              CUSDT[3], ETH[.00000005], ETHW[.00000005], USD[0.00]                                                                                                                                    Yes

08055583                              USD[0.00]                                                                                                                                                                               Yes

08055584                              USD[0.54], USDT[.43296827]

08055587                              ALGO[56.01084705], USD[0.01]                                                                                                                                                            Yes

08055602                              CUSDT[2], USD[0.00]                                                                                                                                                                     Yes

08055604                              SOL[0], USD[0.00]

08055623                              USD[0.00]                                                                                                                                                                               Yes

08055628                              BAT[1]

08055631                              CUSDT[2], SHIB[1741442.89289729], USD[10.79]                                                                                                                                            Yes

08055637                              BRZ[4], DOGE[6], ETH[.23284593], ETHW[.73284593], GRT[1], NEAR[83.69965603], SHIB[6], SOL[0], SUSHI[124.62261281], TRX[4], USD[47.57]

08055640                              CUSDT[3], ETH[.0036243], ETHW[.00358326], USD[0.00]                                                                                                                                     Yes

08055645                              ETH[.00369456], ETHW[.00365352]                                                                                                                                                         Yes
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                                                                                                                                         Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08055651                           USD[0.00]                                                                                                                                                                                Yes

08055652                           AAVE[.34255662], CUSDT[1], DOGE[1], LINK[3.4176712], USD[0.00]                                                                                                                           Yes

08055653                           CUSDT[2], ETH[.00000011], ETHW[.00000011], SHIB[7], SOL[.00000049], TRX[3], USD[1.19], USDT[0]                                                                                           Yes

08055656                           DOGE[3], USD[909.35]

08055661                           BRZ[4], CUSDT[23], NFT (496996995206266598/ALPHA:RONIN #1164)[1], SOL[0.64829247], TRX[2], USD[0.10], USDT[1.05349097]                                                                   Yes

08055676                           CUSDT[1], SHIB[1], USD[1773.61]

08055688                           USD[7.10]

08055689                           ALGO[62.24365834], BCH[.16998218], BRZ[1], BTC[.00593846], CUSDT[52.44116526], DOGE[2181.40977835], ETH[.41356408], LINK[1.09512809], LTC[4.15467769], MATIC[229.68271869],              Yes
                                   MKR[.08148964], NEAR[12.27496695], SHIB[27946491.14605779], SOL[8.30783329], TRX[413.95166013], USD[7.68]
08055696                           USD[1.00]

08055704                           BTC[0], ETHW[.00040074], SOL[.00000001], TRX[.000372], USD[11082.12]

08055710                           BAT[1.0157203], CUSDT[9845.92575179], LINK[3.32817936], LTC[1.07310748], USD[0.07]                                                                                                       Yes

08055723                           BAT[101.40685477], BCH[.18216516], BRZ[89.95634319], CUSDT[13], DAI[122.03954967], DOGE[413.96019998], GRT[17.90188561], KSHIB[1878.10462432], LINK[6.63239305], LTC[.47348328],         Yes
                                   MATIC[10.21597876], SOL[.88133622], SUSHI[1.90155192], TRX[155.31262772], UNI[4.91734151], USD[0.05], USDT[10.74418847]
08055727                           NFT (459652731299053960/FTX - Off The Grid Miami #5196)[1]

08055739                           BTC[.06219316], CUSDT[5], DOGE[8.07766312], SHIB[5], TRX[15.1776211], USD[2.47]                                                                                                          Yes

08055742                           CUSDT[1], DOGE[1], KSHIB[6662.80446101], SHIB[18831472.35812479], USD[0.16]                                                                                                              Yes

08055744                           USD[0.01], USDT[1]

08055747                           CUSDT[1], ETH[.00395701], ETHW[.00390229], USD[0.00]                                                                                                                                     Yes

08055754                           CUSDT[2], MATIC[5.28070473], SHIB[482998.45440494], TRX[128.53191231], USD[0.00]

08055760                           CUSDT[1], DOGE[1], NFT (297526785355960637/Vox World #25)[1], SOL[1.21539675], TRX[2456.49065164], USD[10.30]                                                                            Yes

08055763                           USD[500.00]

08055765                           DOGE[30.04510935], SHIB[250879.23580511], TRX[57.94932632], USD[2.00]

08055768                           CUSDT[3], SOL[1.08915614], USD[0.00]

08055770                           USD[428.18], USDT[0]

08055771                           NFT (299851897299449923/FTX - Off The Grid Miami #2321)[1], NFT (307394564287910249/FTX - Off The Grid Miami #754)[1], NFT (400911005097636716/FTX - Off The Grid Miami #2233)[1], NFT   Yes
                                   (448724986909610199/FTX - Off The Grid Miami #2440)[1], USD[18.73]
08055772                           BRZ[1], CUSDT[2], DOGE[2], GRT[1.00019173], SOL[94.48481554], TRX[1], USD[0.00]                                                                                                          Yes

08055780                           SOL[.11060174], USD[2.39]

08055782                           BRZ[1], CUSDT[1], DOGE[3014.44217884], ETH[.00000099], ETHW[.00000099], TRX[2], USD[0.00]                                                                                                Yes

08055783                           BAT[1.01337601], BRZ[1], CUSDT[1], DOGE[1], GRT[1.00019173], TRX[1], USD[0.01], USDT[1.08009567]                                                                                         Yes

08055790                           USDT[0.00002378]

08055794                           SHIB[5185024.57243836], TRX[1], USD[10.85]                                                                                                                                               Yes

08055813                           BTC[.00090487], CUSDT[2], SOL[.1944754], USD[5.41]                                                                                                                                       Yes

08055816                           DOGE[1.8745069], USD[0.00]                                                                                                                                                               Yes

08055818                           BRZ[9.58905136], CUSDT[213.27846204], ETHW[2.61264298], SHIB[51], TRX[16.64138323], USD[0.00], USDT[1.06441442]                                                                          Yes

08055824                           CUSDT[2], DOGE[1], SOL[4.72502131], TRX[1], USD[0.00]                                                                                                                                    Yes

08055825                           ETH[.000236], ETHW[7.315236], MKR[.5], USD[23976.72]

08055827                           BTC[.000999], DOGE[199.8], ETH[.00999], ETHW[.00999], SHIB[1000000], USD[284.26]

08055828                           CUSDT[1], SOL[.00000973], USD[0.00]                                                                                                                                                      Yes

08055829                           USDT[3]

08055847                           CUSDT[2], KSHIB[248.99542794], SHIB[179831.72660752], USD[0.00]                                                                                                                          Yes

08055859                           CUSDT[2], USD[0.00]                                                                                                                                                                      Yes

08055860                           BTC[0], SOL[0], USD[0.00]

08055865                           BTC[.00772397], TRX[1], USD[0.00]

08055875                           BTC[.00079977], CUSDT[1], DOGE[1], SHIB[842176.18325753], USD[0.02]

08055885                           ETH[0], ETHW[0], LTC[0], USD[0.00], USDT[0], YFI[0]                                                                                                                                      Yes

08055888                           NFT (361960977246649086/David #52)[1], NFT (366620935499129298/David #246)[1], NFT (468237592156612700/David #317)[1], NFT (547432992473520821/David #429)[1]

08055896                           BRZ[3], DOGE[4], ETHW[.13635174], SHIB[415.20566631], TRX[2], USD[0.00]                                                                                                                  Yes

08055907                           BTC[.00008187], USD[0.00]

08055911                           SOL[.1395]

08055917                           BCH[.00000394], DAI[0], EUR[0.00], MXN[0.02], SHIB[1], TRX[0], USD[0.28]                                                                                                                 Yes

08055922                           BTC[.00433109], CUSDT[2], DOGE[1], USD[0.00], USDT[0]

08055933                           BTC[.00001902]

08055949                           ETH[.0834148], ETHW[0.08341479]

08055950                           ETH[.50237451], ETHW[.50215878], USD[1.32], USDT[0.00000001]                                                                                                                             Yes

08055957                           NFT (381852701371114325/David #157)[1]

08055958                           NFT (363471776724734016/#5734)[1], SOL[.31], USD[60.00]

08055960                           USD[2.00]

08055972                           USD[205.70]
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                                                                                                                                          Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08055984                           NFT (510904114877791849/Coachella x FTX Weekend 1 #26611)[1]                                                                                                                      Yes

08055987                           TRX[.000109], USD[0.99], USDT[0]

08055989                           SHIB[7], USD[211.97], USDT[0.00000001]                                                                                                                                            Yes

08056001                           USDT[4]

08056012                           DOGE[212.11628669], SHIB[1442172.07132707], USD[2.00]

08056014                           BTC[.0019], DOGE[4.26257095], ETH[.026], ETHW[.026], SOL[.5], UNI[2.1], USD[0.00], YFI[.003]

08056023                           CUSDT[2], DOGE[130.38968890], LTC[0], MATIC[0], SHIB[0], UNI[0.60267912], USD[0.00]                                                                                               Yes

08056030                           CUSDT[1], SHIB[3141147.81682634], TRX[1], USD[0.01]                                                                                                                               Yes

08056036                           NFT (368746477435357503/Munk #3988)[1], NFT (452967937359083279/Munk #4203)[1], NFT (514225178550643472/Munk #1922)[1]

08056038                           BTC[0], NFT (394812750911630781/Barcelona Ticket Stub #1347)[1], NFT (451492496273421706/Entrance Voucher #1726)[1], USD[0.55]

08056042                           DOGE[1], TRX[822.65689218], USD[0.01]

08056060                           CUSDT[1], SHIB[912466.68501391], USD[0.00]                                                                                                                                        Yes

08056068                           DOGE[1], SHIB[1], USD[0.00]                                                                                                                                                       Yes

08056071                           ETH[.040976], ETHW[.040976], USD[3.54]

08056080                           NFT (566031668813188936/David #836)[1]

08056081                           CUSDT[1], MATIC[2.25665899], USD[28.19]                                                                                                                                           Yes

08056082                           CUSDT[1], DOGE[.01910524], SHIB[1973326.85683881], USD[0.00]                                                                                                                      Yes

08056083                           SHIB[924161.4163141]

08056084                           USD[5.09], USDT[0]

08056087                           BAT[1], DOGE[1], SHIB[10], TRX[1.00279861], USD[0.00]                                                                                                                             Yes

08056089                           BAT[4], ETH[0], KSHIB[865.64413999], USD[1.00]

08056091                           TRX[8767], USD[0.00]

08056098                           BRZ[1], CUSDT[2], SOL[.00000001], TRX[1], USD[0.00]                                                                                                                               Yes

08056104                           BTC[.01727063], ETH[.51577055], ETHW[.51577055], SOL[10.35920159], USD[2000.00]

08056109                           CUSDT[1], USD[0.00]

08056116                           BTC[0], TRX[218.41776996], USD[0.00]

08056117                           LINK[.999], SOL[1.83816], USD[8.56]

08056120                           ETH[0], LINK[.0853], MATIC[1.74960348], USD[0.00], USDT[0.08041369]

08056125                           BAT[2], BRZ[3], DOGE[1], SHIB[15], TRX[14], USD[0.01], USDT[0]

08056126                           USD[200.00]

08056129                           CUSDT[2], KSHIB[434.08090747], SHIB[424382.99273284], USD[2.72]                                                                                                                   Yes

08056133                           SHIB[1], TRX[1], USD[371.50]

08056140                           ETH[7.017], ETHW[7.017], SOL[.00162217], USD[0.68]

08056142                           CUSDT[4], DOGE[1], SOL[0], USD[0.00]

08056143                           CUSDT[1], SHIB[1814854.24027059], USD[0.00]                                                                                                                                       Yes

08056148                           USD[0.00]

08056151                           BTC[0], USD[0.00]

08056157                           ETHW[.4]

08056158                           BRZ[2], DOGE[1], ETH[1.06183935], ETHW[1.06139337], GRT[1], SHIB[5], TRX[1], USD[5.62]                                                                                            Yes

08056159                           BAT[.00000001], BTC[0], USD[0.03]

08056160                           BTC[.0417582], SOL[3.0085], USD[4537.06]

08056161                           CUSDT[1], USD[0.00]                                                                                                                                                               Yes

08056162                           BRZ[1], CUSDT[3], SHIB[1], USD[0.00]

08056164                           USD[0.59]

08056172                           NFT (416173878533482953/David #72)[1]

08056193                           AVAX[.00849236], BAT[1], DOGE[2], MATIC[.00077663], SHIB[2], SOL[.00933891], TRX[1], USD[453.85]                                                                                  Yes

08056194                           NFT (327060836239857808/Coachella x FTX Weekend 1 #4443)[1]

08056196                           CUSDT[1], USD[49.78]

08056202                           CUSDT[2], USD[0.00]

08056207                           CUSDT[2], SHIB[91.63422294]                                                                                                                                                       Yes

08056209                           TRX[1], USD[0.00]

08056211                           ETH[.024975], ETHW[.024975], USD[102.54]

08056216                           BAT[1], BRZ[1], CUSDT[4], DOGE[4], GRT[1], SOL[0], TRX[2], USD[0.00], USDT[0.00001353]                                                                                            Yes

08056218                           BTC[.00062411], CUSDT[2], DOGE[9.93781668], SHIB[337160.52170919], USD[0.02]                                                                                                      Yes

08056227                           NFT (335413937022797898/Sol Lion #3763)[1]

08056228                           USD[0.15]

08056233                           USD[0.01]

08056234                           CUSDT[3], DOGE[1], NFT (326902334927387631/DarkPunk #5482)[1], NFT (334323677723334823/LightPunk #416)[1], NFT (441855142494938937/SOLYETIS #7220)[1], SHIB[1], SOL[.00000443],   Yes
                                   USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08056242                              BAT[0], CUSDT[1], GRT[0], TRX[0], USD[19.53]                                                                                                                                        Yes

08056248                              BAT[1], TRX[1], USD[0.00], USDT[0]

08056253                              USD[0.00]

08056254                              NFT (404394834149758850/Microphone #1683)[1]

08056255                              NFT (346626123406033851/Toy Soldier #009)[1], NFT (433245609332921213/Lava #2)[1], USD[32.07]

08056256                              USD[0.20]

08056260                              CUSDT[3], LINK[1.00018826], SHIB[6242120.1929036], TRX[244.44795043], USD[21.84]                                                                                                    Yes

08056263                              USD[0.00]

08056264                              BTC[.00083]

08056267                              NFT (313062092764367139/David #49)[1]

08056271                              NFT (320503185392795865/David #510)[1], NFT (330525751552399797/David #851)[1], NFT (336341513162772072/David #559)[1], NFT (346700057030657273/David #466)[1], NFT
                                      (382997014706777945/David #575)[1], NFT (396635465873835083/David #849)[1], NFT (425552416909411500/David #590)[1], NFT (519759778736035236/David #887)[1], NFT
                                      (528776981467073943/David #536)[1], NFT (543480232965001480/David #841)[1]
08056275                              USD[0.01]                                                                                                                                                                           Yes

08056278                              USD[0.50]

08056280                              MATIC[0.00004755], NFT (529343663799420803/DOTB #6115)[1], SOL[0.00000073], USD[0.00]                                                                                               Yes

08056282                              NFT (298757465571346048/Bahrain Ticket Stub #396)[1], NFT (353725767160084136/Art of Architectur)[1], NFT (405670889937834372/David #775)[1], SOL[.01046585]

08056285                              USD[0.04], USDT[1.12397715]

08056288                              USD[20.00]

08056295                              CUSDT[1], DOGE[87.7983552], SHIB[480072.23413331], TRX[1], USD[0.00]                                                                                                                Yes

08056296                              BTC[0], SHIB[7], SOL[0], USD[0.00]

08056297                              USD[0.00], USDT[0.00000057]

08056305                              CUSDT[1], DOGE[33.32115695], MATIC[4.80655136], TRX[22.25598354], USD[0.00]                                                                                                         Yes

08056310                              NFT (488461892102488689/David #383)[1], NFT (530952304717976171/David #149)[1], TRX[.000001]

08056321       Contingent, Disputed   SOL[.86844941], TRX[1], USD[0.00]                                                                                                                                                   Yes

08056322                              ETH[0], USD[0.00]

08056326                              NFT (554975866241573132/David #792)[1]

08056327                              TRX[.000001], USD[0.00]

08056333                              CUSDT[2], DOGE[2], ETH[0], ETHW[0], GRT[1.0001826], NFT (493032320000714962/Aku World: Dream #293)[1], NFT (539182232519591811/Aku World Avatar #122)[1], SOL[0], SUSHI[1.08377334], Yes
                                      TRX[2], USD[0.00]
08056343                              AVAX[3.3], BTC[.0054], ETH[.142], ETHW[.142], USD[9.41]

08056346                              ETH[.016983], ETHW[.016983]

08056347                              DOGE[1988.027], LINK[19.8706], SHIB[18021383.11507338], SOL[5.98501], USD[0.78]

08056350                              USD[10.00]

08056355                              SOL[.58941], USD[1.93]

08056356                              BTC[.000363], USD[0.00]                                                                                                                                                             Yes

08056361                              BTC[.00311402], CUSDT[4], KSHIB[1415.7026911], LINK[1.64262659], SUSHI[7.88582175], TRX[3], USD[0.23]                                                                               Yes

08056365                              USD[3.12]

08056370                              USD[0.61]                                                                                                                                                                           Yes

08056371                              BTC[.04631399], ETH[1.0840179], ETHW[1.0840179], USD[0.00]

08056372                              BTC[0], PAXG[.00006266], SOL[0], USD[0.00]

08056380                              CUSDT[1], USD[0.00]                                                                                                                                                                 Yes

08056385                              BTC[0], USD[0.00]

08056391                              CUSDT[1], TRX[3], USD[0.00]                                                                                                                                                         Yes

08056395                              SHIB[9668.30518977], USD[0.00]                                                                                                                                                      Yes

08056401                              BRZ[3], CUSDT[4], DOGE[9.01859444], SHIB[371470.61294851], SOL[29.98983531], TRX[4], USD[2.20], USDT[3.20246368]                                                                    Yes

08056404                              USD[12.86]

08056409                              SHIB[178967.73487197], USD[0.00]                                                                                                                                                    Yes

08056414                              USD[48.70]

08056419                              SOL[.0077031]

08056420                              NFT (516472082526522814/David #660)[1]

08056424                              ETHW[1.19307019]                                                                                                                                                                    Yes

08056428                              USD[108.44]                                                                                                                                                                         Yes

08056432                              CUSDT[10], DOGE[1], SHIB[17110757.95102116], USD[0.00]                                                                                                                              Yes

08056434                              BAT[8.83288346], BCH[.06786354], BTC[.0006933], CUSDT[6], DOGE[140.33891753], ETH[.00581139], ETHW[.00574299], KSHIB[189.22986849], SHIB[205759.21819579], TRX[2], USD[0.01]        Yes

08056445                              BTC[.0213223], CUSDT[4], SHIB[7], TRX[4], USD[0.00]                                                                                                                                 Yes

08056447                              BRZ[1], BTC[.03326702], CUSDT[6], DOGE[1073.85436211], ETH[.02489613], ETHW[.02458393], SHIB[2], SOL[.49379224], TRX[2], USD[0.00]                                                  Yes

08056450                              USD[0.01]                                                                                                                                                                           Yes

08056457                              BTC[0.00157020], CUSDT[3], ETH[.02239538], ETHW[.02239538], USD[0.01]

08056458                              CUSDT[1], DOGE[1], SHIB[1], TRX[.10624133], USD[0.43]                                                                                                                               Yes
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                                                                                                                                         Customer Claims                                                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08056476                           DOGE[372.26309381], ETH[.0176571], ETHW[.0176571], SHIB[2], USD[0.00]

08056482                           BRZ[1], CUSDT[1], DOGE[.27886316], USD[0.00], USDT[0.00003868]                                                                                                                                  Yes

08056483                           CUSDT[3], SHIB[850.95146792], TRX[208.33468648], USD[0.62]

08056493                           BRZ[2], SOL[.54012071], UNI[5.06506885], USD[0.00]                                                                                                                                              Yes

08056495                           BAT[.877], SHIB[44400], SOL[.00745], USD[539.29]

08056497                           NFT (293976668846953826/Corporate Monkey)[1], NFT (294429436144713275/SolBunnies #164)[1], NFT (351294327717528964/MetaVerse Skull #7)[1], NFT (379230688044705786/Pixel Mask Kat)[1], Yes
                                   NFT (391145462797772784/Grey.Angel.Marbel)[1], NFT (415341886064296823/Red.Christmas.Marble)[1], NFT (417763511476834656/Molly Water #21)[1], NFT
                                   (419607500284161502/Black.Smoker420.Marble)[1], NFT (438070372572483380/White.Smoker420.Marble)[1], NFT (442924864400954315/Mask Kat #3)[1], NFT (449321717974809639/Rare Bear)[1],
                                   NFT (460628416581867462/Bebop #05)[1], NFT (466404289499829141/40' CCX)[1], NFT (472024311273106765/Solninjas #2247)[1], NFT (481132245651754951/Molly Water #35)[1], NFT
                                   (491387327879655196/lazyPanda #32)[1], NFT (493838882063329518/Guy Fawkes (Limited Color Edition) )[1], NFT (499731163501074442/Solninjas #4931)[1], NFT (515071773957174150/Ancient
                                   Civilization #8)[1], NFT (526280220112944963/A.I)[1], NFT (527493268771972406/Style #3 Of 10)[1], NFT (540078798677174434/lazyPanda #8)[1], NFT (545986408621048372/CatFamilya #68)[1],
                                   NFT (557703460230906392/Washington Football Team)[1], SOL[1.62179371], TRX[1822.50839651], USD[25.42], USDT[0]
08056504                           BRZ[1], CUSDT[1], TRX[1], USD[0.01]                                                                                                                                                     Yes

08056509                           BRZ[554.23038969], CUSDT[7], DOGE[2], GRT[95.0377159], LINK[3.76916462], MATIC[153.86255701], SHIB[1728907.33056708], SUSHI[12.70481353], TRX[1972.22967458], USD[0.00]

08056510                           CUSDT[1], EUR[4.71], SHIB[1], USD[0.01]                                                                                                                                                         Yes

08056512                           KSHIB[202.9946996], SHIB[178967.73487197], USD[0.00]                                                                                                                                            Yes

08056534                           CUSDT[4580.20336635], DOGE[1], SHIB[3204114.50659511], USD[4.02]

08056535                           BRZ[6.00164408], USD[200.56]                                                                                                                                                                    Yes

08056545                           BTC[0], USD[0.00], USDT[0]                                                                                                                                                                      Yes

08056546                           BCH[.33904925], BRZ[1], USD[0.01]

08056552                           SHIB[1], USD[11.67]

08056562                           USD[0.00]

08056563                           CUSDT[4], DOGE[1], SHIB[788464.85427949], USD[0.00]                                                                                                                                             Yes

08056565                           SHIB[.00000011], USD[93.32]                                                                                                                                                                     Yes

08056569                           CUSDT[8], DOGE[2], MATIC[.0000923], USD[0.00], USDT[0.00000001]                                                                                                                                 Yes

08056588                           CUSDT[.04188207], DOGE[4], KSHIB[1658.57778281], SHIB[7040685.30108924], TRX[935.36071608], USD[0.00]                                                                                           Yes

08056594                           CUSDT[4], LTC[.2754948], SHIB[897654.605098], SOL[.21271493], USD[0.00]                                                                                                                         Yes

08056595                           BAT[2.00071252], BF_POINT[300], CUSDT[7], DOGE[5], SHIB[12], SOL[.00000197], TRX[0.00734499], USD[0.00], USDT[0.00109112]                                                                       Yes

08056609                           NFT (392534517556473860/Tim Brown's Playbook: New York Jets vs. Oakland Raiders - December 2, 2002 #55)[1], NFT (407358928047753132/Tim Brown's Playbook: Michigan State vs. Notre Dame -
                                   September 19, 1987 #57)[1], NFT (449193502831568875/Tim Brown's Playbook: Kansas City Chiefs vs. Oakland Raiders - December 9, 2001 #45)[1], NFT (526949719970622944/Tim Brown's
                                   Playbook: San Diego Chargers vs. Los Angeles Raiders - September 4, 1988 #58)[1]
08056610                           BTC[.01311455], CUSDT[2], DOGE[1], ETH[.13715848], ETHW[.13610156], TRX[2], USD[0.00]                                                                                                     Yes

08056612                           BRZ[1], CUSDT[1], USD[0.00]                                                                                                                                                                     Yes

08056622                           NFT (567039254041022472/Vox Robo #33)[1], SHIB[1], USD[0.00]                                                                                                                                    Yes

08056631                           BTC[.00001529]

08056644                           BTC[0], DAI[0], DOGE[0], ETH[0.00121748], ETHW[0.00121748], SHIB[16866.52133755], SOL[0], TRX[0.00000006], USD[0.00], USDT[.00005839]

08056653                           BTC[.00437845], CUSDT[1], USD[0.30]

08056661                           NFT (562739098072288454/David #885)[1]

08056668                           CUSDT[1], USD[0.00]

08056671                           BAT[1], BRZ[3], CUSDT[22], DOGE[8.03110542], ETH[.00000001], ETHW[0], GRT[2], SHIB[30.58212571], TRX[7], USD[0.00], USDT[0.00001044]                                                            Yes

08056675                           CUSDT[2], DOGE[1], ETHW[.09989031], SHIB[2], TRX[1], USD[1.63]                                                                                                                                  Yes

08056683                           CUSDT[1], SOL[.21114827], USD[0.01]                                                                                                                                                             Yes

08056686                           BTC[.00000057], USD[0.01]                                                                                                                                                                       Yes

08056698                           CUSDT[3], KSHIB[3697.23354499], SHIB[3697541.13514512], SOL[.40326164], USD[0.00]

08056699                           CUSDT[2], SHIB[9244290.89776981], TRX[1], USD[0.00]                                                                                                                                             Yes

08056701                           CUSDT[3], NFT (293474129030282277/Marcus Allen's Playbook: Los Angeles Raiders vs. Washington - January 22, 1984 #75)[1], NFT (350966269935057065/Doak Walker's Playbook: Texas vs. SMU - Yes
                                   November 1, 1947 #65)[1], NFT (473886180995094491/Marcus Allen's Playbook: USC vs. Washington - November 14, 1981 #81)[1], NFT (518586946954231142/Marcus Allen's Playbook: Kansas City
                                   Chiefs vs. Detriot Lions - November 29, 1996 #68)[1], NFT (572941959353308328/Marcus Allen's Playbook: Seattle Seahawks vs. Los Angeles Raiders - October 7, 1984 #68)[1], SHIB[546763.2400299],
                                   TRX[1210.95779504], USD[0.20]
08056703                           USD[758.04]                                                                                                                                                                                      Yes

08056708                           BRZ[1], DOGE[1], USD[0.03]                                                                                                                                                                      Yes

08056711                           SHIB[8917479.48601406], TRX[1], USD[0.01]                                                                                                                                                       Yes

08056714                           USD[50.00]

08056726                           BRZ[1], CUSDT[1], DOGE[768.4932485], SOL[.08506563], USD[0.00]                                                                                                                                  Yes

08056733                           SHIB[3], USD[0.01]                                                                                                                                                                              Yes

08056735                           BF_POINT[100], BRZ[1], CUSDT[24], SHIB[2], SOL[0.00001331], TRX[4], USD[0.00]                                                                                                                   Yes

08056738                           KSHIB[29.97], SHIB[199800], USD[0.19]

08056741                           USD[0.87]

08056748                           CUSDT[1], SOL[1.28055933], TRX[1], USD[0.03]                                                                                                                                                    Yes

08056749                           USD[5.42]                                                                                                                                                                                       Yes

08056751                           ALGO[80.95856832], AVAX[52.43375791], BAT[11.81053703], BF_POINT[400], BRZ[1], BTC[.00147987], DOGE[3805.30786528], ETH[1.04602807], ETHW[.00000846], GRT[54.60054401],                         Yes
                                   LTC[1.09508339], SHIB[136760080.7238291], TRX[861.9253711], USD[10191.08], USDT[0.00000767]
08056752                           BRZ[2], CUSDT[4], ETHW[5.79671569], GRT[1], LINK[1.00563032], MATIC[5129.13580519], TRX[6], USD[0.00]

08056754                           CUSDT[4], DOGE[2], USD[0.96]                                                                                                                                                                    Yes
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                                                                                                                                         Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08056756                           CUSDT[1], DOGE[.00085855], TRX[.81], USD[0.01]

08056757                           CUSDT[1], SOL[.42383596], USD[0.00]                                                                                                                                                     Yes

08056759                           ETHW[.00280584], MATIC[0], SOL[.00000001], USD[0.00], USDT[0]

08056760                           CUSDT[1], DOGE[1], SOL[2.02337647], USD[0.00]

08056761                           BRZ[1], BTC[.00461614], CUSDT[.00056045], DOGE[8.88352666], ETH[.01783103], ETHW[.01761199], SHIB[272855.58773761], SOL[.47732922], TRX[18.85971687], USD[1.36], USDT[0]                Yes

08056764                           ETH[.47930899], ETHW[.47910751], LINK[65.72630776]                                                                                                                                      Yes

08056765                           BTC[.00108416], ETH[.01065537], SHIB[872100.89788683], USD[0.00]                                                                                                                        Yes

08056766                           CUSDT[14], DOGE[3], KSHIB[257.18861467], NFT (341170613979658586/Tim Brown's Playbook: Michigan State vs. Notre Dame - September 19, 1987 #73)[1], SOL[.54167111], TRX[3890.8396503],   Yes
                                   USD[0.02]
08056767                           ETH[.00022216], ETHW[.00022216], SOL[.03572749], USD[0.00]

08056780                           DOGE[16017.898], SOL[6.01507], USD[2125.06]

08056781                           USD[0.01]                                                                                                                                                                               Yes

08056786                           GRT[1.00019173], SHIB[8798003.84403315], TRX[2298.68901996], USD[0.01]                                                                                                                  Yes

08056787                           DOGE[1], SUSHI[8.86495598], TRX[1], USD[0.00]

08056790                           USDT[14.650743]

08056791                           ETH[.37732046], ETHW[.37716196], SOL[4.34391754]                                                                                                                                        Yes

08056792                           USD[4.84]                                                                                                                                                                               Yes

08056799                           BTC[.00370053], CUSDT[5], DOGE[498.42908983], ETH[.01696306], ETHW[.01675771], USD[0.00]                                                                                                Yes

08056803                           BCH[0], SHIB[2], USD[0.01], USDT[0]                                                                                                                                                     Yes

08056805                           NFT (475363572543732800/David #927)[1]

08056806                           CUSDT[1], SOL[.000061], USD[0.00]                                                                                                                                                       Yes

08056807                           NFT (521037497880792122/David #511)[1], NFT (540020037947579513/David #280)[1]

08056810                           SOL[.00006227], USD[0.91], USDT[0.00000071]

08056824                           DOGE[0.28442784], USD[0.01]

08056829                           BTC[0], DOGE[1], EUR[0.00], LINK[0], SHIB[1], SOL[.00000001], USD[0.00], USDT[0]                                                                                                        Yes

08056832                           USD[0.00]

08056837                           CUSDT[3], DOGE[1], TRX[1], USD[0.00]                                                                                                                                                    Yes

08056859                           BRZ[1], CUSDT[10], DOGE[4], MATIC[763.18158372], SOL[0], TRX[2], USD[0.00]                                                                                                              Yes

08056868                           AVAX[0.09114394], BAT[11.39753117], CUSDT[2], DOGE[.00051932], ETH[0.00847376], ETHW[0.00836432], MATIC[5.00354338], SHIB[470983.06167009], SOL[.05839621], USD[0.00]                   Yes

08056871                           USD[0.00]

08056872                           BAT[78], ETH[0.02100000], ETHW[0.02176773], SHIB[1000000], USD[225.07], YFI[.001]

08056876                           SOL[0], USD[0.00]

08056885                           DOGE[1], SHIB[9115295.9213082], USD[0.01]                                                                                                                                               Yes

08056892                           CUSDT[1], USD[0.00]                                                                                                                                                                     Yes

08056895                           BRZ[3], CUSDT[7], TRX[2], USD[0.79]                                                                                                                                                     Yes

08056896                           NFT (470383025751811039/Fireworks #162)[1], USD[0.00], USDT[0]

08056906                           BRZ[8.42794074], CUSDT[21], DOGE[7.00390063], ETH[.00000001], SHIB[91.71060136], TRX[2], USD[0.00], USDT[0]                                                                             Yes

08056909                           BTC[.00008737], ETH[.00157732], ETHW[.00156363], SOL[1.0843556]                                                                                                                         Yes

08056915                           BTC[0], ETH[0], ETHW[0], SOL[0], USD[0.00]

08056923                           BTC[0], DAI[0], USD[2.66]

08056925                           CUSDT[1], TRX[1], USD[14743.11]                                                                                                                                                         Yes

08056927                           SOL[.00000001]                                                                                                                                                                          Yes

08056936                           CUSDT[4], SHIB[4128520.93392947], USD[0.03]                                                                                                                                             Yes

08056937                           NFT (456476170157408183/David #981)[1]

08056948                           DOGE[222.71956804], LTC[.03916967], SHIB[2289411.19820335], USD[0.00]                                                                                                                   Yes

08056955                           DOGE[1], TRX[1], USD[0.00]

08056956                           KSHIB[0], SHIB[3], SOL[.00744], TRX[2], USD[0.00], USDT[0.00000001]                                                                                                                     Yes

08056959                           TRX[6541], UNI[18.4815], USD[0.01]

08056960                           BTC[0], USD[0.00]

08056976                           USD[0.00]

08056989                           NFT (525703498933222473/David #973)[1]

08056996                           BAT[.00000915], CUSDT[15.12796078], TRX[2], USD[0.00], USDT[0.00000915]                                                                                                                 Yes

08057001                           NFT (433403780303838391/David #243)[1]

08057019                           BAT[1.00228246], BRZ[4], BTC[.00000071], CUSDT[4], DOGE[4], GRT[3.00125857], MATIC[1.00164518], SHIB[3], SOL[0], TRX[2], USD[0.00], USDT[1.05148356]                                    Yes

08057031                           CUSDT[1], SHIB[1853899.29934871], USD[0.00]                                                                                                                                             Yes

08057032                           ETH[.13498887], ETHW[.13498887], SHIB[1], USD[0.00]

08057038                           USD[0.00]                                                                                                                                                                               Yes

08057039                           CUSDT[1], ETH[.00798242], ETHW[.00788666], USD[0.00]                                                                                                                                    Yes

08057043                           AAVE[2.80507892], BAT[85.74222225], BF_POINT[100], BRZ[1], BTC[.03753207], CAD[0.00], CUSDT[24318.30984237], DOGE[1], ETH[.07048541], ETHW[.06960989], LTC[2.70755549],                 Yes
                                   MATIC[102.3105987], MKR[.07964608], SHIB[1487933.5808098], SOL[20.12675588], SUSHI[12.08727184], TRX[944.1769511], USD[521.11], USDT[1.07754425]
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                                                                                                                                             Customer Claims                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08057045                              CUSDT[1], SHIB[1], TRX[1], USD[224.20]

08057047                              USD[0.00]                                                                                                                                                                     Yes

08057052                              ETH[.023], ETHW[.023], USD[1.98]                                                                                                                                              Yes

08057055                              DOGE[1], LINK[3.30930779], USD[0.00]                                                                                                                                          Yes

08057064                              BTC[.00318963], SHIB[1], USD[5.00]

08057077                              MATIC[80], NEAR[20.01284564], SOL[.748], USD[70.78]

08057078                              SOL[.7797907], TRX[1], USD[0.00]

08057080                              BRZ[59.98929938], BTC[.00029697], CUSDT[6], DAI[8.08553224], DOGE[63.43318686], ETH[.00600276], ETHW[.00593436], MATIC[31.60861188], SHIB[185231.58525777], SOL[.07407301],   Yes
                                      USD[0.00]
08057081       Contingent, Disputed   NFT (428282299531675234/David #750)[1]

08057084                              SOL[.19], USD[12.02]

08057087                              BF_POINT[200], USD[4.89]

08057093                              USD[0.00]                                                                                                                                                                     Yes

08057097                              ALGO[0], ETH[0], ETHW[0], SOL[0], TRX[1], USD[0.00], USDT[0]                                                                                                                  Yes

08057100                              BRZ[131.14916607], CUSDT[741.47741819], SHIB[3.98305875], USD[0.00]                                                                                                           Yes

08057101                              BTC[.00066082], CUSDT[3], ETH[.00943837], ETHW[.00931525], SHIB[487398.10348893], TRX[1], USD[0.05]                                                                           Yes

08057107                              MATIC[38.9], USD[6.33]

08057111                              USD[3.32]

08057132                              BRZ[1], MATIC[.00287867], SHIB[1], USD[353.26]                                                                                                                                Yes

08057133                              NFT (375634765006791712/David #744)[1]

08057140                              USD[861.86]                                                                                                                                                                   Yes

08057141                              BRZ[.00122126], CUSDT[3.00471991], DOGE[3], ETH[0], NFT (459883336143157673/APEFUEL by Almond Breeze #450)[1], SHIB[4], SOL[0], TRX[4], USD[0.01]                             Yes

08057156                              CUSDT[1], DOGE[3], SHIB[1], TRX[2], USD[0.00]                                                                                                                                 Yes

08057158                              CUSDT[2], DOGE[1], ETH[0.02028082], ETHW[0.02003336], USD[0.00]                                                                                                               Yes

08057159                              SOL[.00000001], USD[1.48]

08057169                              ETH[0], SHIB[20], SOL[0.00608080], TRX[1], USD[0.00]                                                                                                                          Yes

08057172                              BAT[1], BRZ[1], BTC[.04760786], ETH[3.53982968], ETHW[3.53834294], LINK[44.16369404], MATIC[75.39604884], TRX[1], USD[0.54]                                                   Yes

08057177                              BTC[.00183497], CUSDT[1], DOGE[1], ETH[.04451573], ETHW[.04396443], SHIB[1125342.24769181], SOL[.42454775], TRX[3], USD[156.67]                                               Yes

08057180                              USD[4.92]

08057183                              NFT (574249567583568162/Confetti #128)[1], SHIB[302.00099777], USD[163.91]                                                                                                    Yes

08057186                              CUSDT[1], TRX[5668.38854492], USD[1.60]                                                                                                                                       Yes

08057187                              SHIB[0], USD[0.01], USDT[0]                                                                                                                                                   Yes

08057189                              BRZ[1], BTC[.00000004], CUSDT[1], DOGE[2], MATIC[.00006514], USD[0.01]                                                                                                        Yes

08057192                              AAVE[10.58781205], BTC[1.22392679], CUSDT[2], DOGE[2], ETH[8.74933502], ETHW[8.74682472], LINK[170.61081672], MATIC[1562.25648405], SOL[107.55983355], USD[0.00]              Yes

08057194                              CUSDT[2], USD[0.00]                                                                                                                                                           Yes

08057201                              SOL[.02], USD[0.01], USDT[10.83]

08057205                              BRZ[2], BTC[.00000063], CUSDT[6], DOGE[3], ETH[0], ETHW[0.00001627], MATIC[.00116644], SHIB[3], TRX[4], USD[114.11], USDT[0.00000968]                                         Yes

08057216                              BTC[.00278879], ETHW[0], USD[743.80]                                                                                                                                          Yes

08057217                              USD[0.00]

08057225                              BTC[.00000006], LINK[.00010375], SOL[.0000231], USD[0.00], USDT[0.00503536]                                                                                                   Yes

08057234                              BTC[0], NFT (302063893265278305/Testing)[1], NFT (468740006503146651/Zombie #1)[1], USD[0.00]

08057235                              BTC[0], MATIC[.00006279], NFT (455775090445647088/5057)[1], SHIB[1], USD[0.00], USDT[.00000914]                                                                               Yes

08057244                              BRZ[1], CUSDT[2], DOGE[3], USD[0.00]                                                                                                                                          Yes

08057245                              USD[542.17]                                                                                                                                                                   Yes

08057258                              ETH[.3], ETHW[.3], KSHIB[22934.50412500]

08057259                              BTC[.75011236], ETH[0.00000885], ETHW[20.32406299], MATIC[0], TRX[0], USD[0.00]                                                                                               Yes

08057264                              ETH[.68590847], ETHW[.68590847], USD[0.00]

08057268                              USD[21.69]                                                                                                                                                                    Yes

08057275                              BTC[0.00192293], ETH[0], SOL[0], SUSHI[0], UNI[0], USD[0.00]

08057277                              CUSDT[1], SHIB[858516.48351648], USD[0.00]

08057281                              ETH[0], USD[19.00], YFI[.000999]

08057287                              NFT (449126663770661013/Coachella x FTX Weekend 1 #25857)[1]

08057291                              USD[0.04]

08057297                              SOL[.6417]

08057299                              BTC[0], MATIC[.00000001], TRX[.000034], USD[0.00], USDT[0]

08057301                              CUSDT[4], DOGE[2], SHIB[495.93697108], TRX[5], USD[0.00]                                                                                                                      Yes

08057307                              BTC[.00000295]                                                                                                                                                                Yes

08057313                              ETH[.02586774], ETHW[.02586774], USD[0.00]

08057324                              USDT[39.4602]
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                                                                                                                                         Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08057328                           ETHW[.20989], USD[6.99]

08057336                           BTC[.00183431], KSHIB[0], SHIB[2], USD[0.00]                                                                                                                                             Yes

08057345                           BRZ[1], BTC[.00077338], CUSDT[1], ETH[.0105757], ETHW[.0105757], USD[0.00]

08057346                           SOL[.0699335], USD[549.56], USDT[0]

08057352                           BTC[.00815723], USD[0.00]

08057354                           USD[6.11]

08057356                           ETH[.00002342], ETHW[2.06079903], LINK[.00000001]                                                                                                                                        Yes

08057358                           BAT[.00089298], BRZ[9.53183927], BTC[0.00000005], CUSDT[20], DOGE[1], ETH[0], GRT[1], MATIC[0], MKR[0], SHIB[3], SOL[0], TRX[9], UNI[0], USD[0.01], USDT[0]                              Yes

08057360                           AAVE[.03355355], SOL[.08402199], TRX[1], USD[21.69]                                                                                                                                      Yes

08057363                           CUSDT[2], DOGE[.0000209], USD[0.54]                                                                                                                                                      Yes

08057374                           CUSDT[1], DOGE[2], ETH[2.6613155], ETHW[2.66019775], TRX[2], USD[0.00], USDT[1.07577429]                                                                                                 Yes

08057377                           SHIB[58960.00356053], USD[0.00], USDT[0]                                                                                                                                                 Yes

08057378                           BAT[1.01566463], CUSDT[1], ETH[0], ETHW[0.09123408], SHIB[1], SOL[.00003417], USD[116.25]                                                                                                Yes

08057390                           BCH[0], BTC[0], ETH[0], MATIC[0], PAXG[0], SOL[0], SUSHI[0], UNI[0], USD[37.20]                                                                                                          Yes

08057397                           CUSDT[1], SHIB[469003.37265524], USD[0.00]                                                                                                                                               Yes

08057398                           USD[0.00]

08057399                           DOGE[286.842], SHIB[11190600], USD[0.02]

08057400                           BTC[.00177179], CUSDT[1], ETH[.02388275], ETHW[.02358179], TRX[1], USD[0.00]                                                                                                             Yes

08057402                           CUSDT[1], GRT[1.00187393], SHIB[2], USD[0.00]                                                                                                                                            Yes

08057410                           NFT (411030100873380666/David #224)[1], NFT (453231960988377105/David #60)[1]

08057422                           LINK[.02], USD[0.01]

08057426                           CUSDT[4], DOGE[170.89335528], ETH[.02268294], ETHW[.02239813], MATIC[14.36860031], SHIB[526743.17182947], USD[0.10]                                                                      Yes

08057431                           BTC[0], ETHW[1.23982], LINK[.97], USD[0.00]

08057432                           DOGE[1], SOL[1.95594794], USD[0.01]

08057437                           USD[0.00], USDT[0.00000001]                                                                                                                                                              Yes

08057441                           BRZ[1], BTC[.00000699], CUSDT[5], DOGE[2], MATIC[0], SOL[0], TRX[2], USD[2.54]                                                                                                           Yes

08057443                           SOL[19.6712945], USD[19.02]

08057446                           AAVE[1.9], CUSDT[22807], LINK[14.6], SHIB[17100000], SOL[2.0979], SUSHI[81.964], USD[1004.83]

08057458                           USD[0.19], USDT[.00126]

08057471                           USD[20.00]

08057473                           BTC[.0283264], CUSDT[2], DOGE[3], SHIB[3795043.57775909], USD[0.00]                                                                                                                      Yes

08057482                           UNI[1.29088581], USD[0.00]                                                                                                                                                               Yes

08057486                           CUSDT[1], SHIB[3634019.72659629], USD[0.00]

08057488                           CUSDT[1], SHIB[1], USD[0.00]

08057490                           BRZ[1], DOGE[1], SHIB[1], TRX[2], USD[0.00]

08057513                           DOGE[1], USD[0.01], USDT[1.08273279]                                                                                                                                                     Yes

08057515                           BTC[.00025502], CUSDT[3], DOGE[45.92309879], ETH[.00103917], ETHW[.00102549], LINK[.75853151], USD[0.52]                                                                                 Yes

08057518                           BTC[.0081], ETH[.14588], ETHW[.14588], USD[3.08]

08057521                           BRZ[1], NFT (431651324298871758/Mad Lions Series #47)[1], USD[21.96]                                                                                                                     Yes

08057524                           BRZ[1], CUSDT[3], DAI[161.72644617], GRT[48.40426844], SHIB[1879452.94937454], USD[0.01]                                                                                                 Yes

08057525                           CUSDT[3], SHIB[417899.80124415], USD[0.00]                                                                                                                                               Yes

08057528                           USD[5.42]                                                                                                                                                                                Yes

08057534                           CUSDT[1], DOGE[653.12361446], SHIB[910539.49465058], SOL[.04967235], USD[0.01]

08057535                           USD[3000.00]

08057538                           BTC[.00013248], DOGE[1], ETH[.13787958], ETHW[.13682721], USD[0.00]                                                                                                                      Yes

08057544                           BTC[0.00211693], MATIC[7.6651528], NFT (422385082840870512/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #103)[1], NFT (456328303750936849/Earl Campbell's   Yes
                                   Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #104)[1], SHIB[22819043.97024529], SOL[.28158086], TRX[145.74241631], USD[0.00]
08057551                           TRX[968.45978052], USD[0.00]

08057553                           DOGE[0], SHIB[1], SOL[.0000089], USD[13.26], USDT[0.00000001]                                                                                                                            Yes

08057555                           DOGE[405.45046025], ETH[.008371], ETHW[.008371], MATIC[.68385976], SOL[.999], USD[0.90]

08057564                           BTC[.20989101], ETH[1.6515123], ETHW[1.6515123], USD[179.70]

08057572                           BF_POINT[100], BTC[.00000033], CUSDT[3], DOGE[3], SHIB[4], TRX[1], USD[0.00], USDT[1.06921858]                                                                                           Yes

08057577                           BAT[1.01568319], SOL[2.10856676], USD[0.01]                                                                                                                                              Yes

08057579                           KSHIB[3870], SHIB[1200000], USD[5.72]

08057587                           CUSDT[1], SOL[.08434807], USD[0.00]                                                                                                                                                      Yes

08057589                           CUSDT[1], USD[0.00]

08057592                           USD[0.20]                                                                                                                                                                                Yes

08057595                           SOL[134.75025448], USD[0.00]

08057599                           AUD[0.06], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08057602                              BTC[.00214586], CUSDT[2], DOGE[1], ETH[.03930005], ETHW[.03880938], SOL[6.42077151], SUSHI[10.72411138], TRX[456.2215618], USD[0.00]                                               Yes

08057610                              SOL[.00869], USD[0.01]

08057612                              BRZ[2], BTC[.00000077], CUSDT[2], DOGE[2], ETH[.00000146], ETHW[.15967302], GRT[1.0001826], LINK[.00030755], SHIB[236.47848982], SOL[.00018905], TRX[5], USD[2999.01]              Yes

08057616                              BAT[1], BRZ[1], TRX[3], USD[0.00]                                                                                                                                                  Yes

08057619                              BTC[.00418652], DOGE[1], ETH[.0595563], ETHW[.0595563], TRX[1], USD[0.00]

08057620                              BTC[.42234714], ETH[1.45803635], ETHW[1.45743295]                                                                                                                                  Yes

08057637                              SOL[0]

08057640                              BTC[0.10861112], ETHW[.410896], SHIB[7792400], USD[1.08]

08057644                              BTC[.00017165], SHIB[97149.09558241], SOL[.04135539], USD[0.00]                                                                                                                    Yes

08057652                              DOGE[.815], USD[0.01], USDT[0]

08057654                              NFT (297202993385430744/David #1872)[1], NFT (324675540796074490/David #517)[1]

08057657                              CUSDT[3], KSHIB[2099.14029709], MATIC[56.68981392], SHIB[3112442.88687634], USD[0.01]                                                                                              Yes

08057661                              CUSDT[3], DOGE[4], SOL[.0000024], USD[0.00], USDT[0.00054529]                                                                                                                      Yes

08057662                              AVAX[51.30419001], BCH[0.13945851], BTC[0.03597728], ETH[0.75000000], ETHW[10.74525093], GRT[1492.01363454], LTC[1.1413022], NFT (288828288668585097/Cyber Pharmacist 8860)[1], NFT Yes
                                      (289908353395783589/Dancing Skeleton #4)[1], NFT (321111625307331876/MetaVerse Skull)[1], NFT (322390768220353486/Dancing Skeleton #3)[1], NFT (379359773385737828/Dancing Skeleton
                                      #12)[1], NFT (499794217985942704/Dancing Skeleton #2)[1], NFT (508523772259678408/If you…)[1], NFT (520055037307499115/DRIP NFT)[1], NFT (548382946358151658/Dancing Skeleton #5)[1],
                                      NFT (562302744600941221/Ancient Civilization #2)[1], NFT (575617779903325591/Dancing Skeleton)[1], SHIB[8434935.14353903], SOL[.00000001], SUSHI[0], USD[4899.83]

08057669                              USD[0.00]

08057675                              USD[0.00]

08057680                              CUSDT[1], DOGE[66.982296], SHIB[366683.60371788], USD[23.45]                                                                                                                       Yes

08057681                              NFT (534189793932285693/DinoBitten)[1]

08057682                              ETHW[.252747], SOL[.0991], USD[13.21], USDT[0]

08057709                              BTC[.00446485], CUSDT[2], SOL[37.34171544], USD[0.00]                                                                                                                              Yes

08057720                              USD[40.01]

08057722                              BTC[.32644154], CUSDT[3], DOGE[1], MATIC[684.15095687], SOL[10.91972417], TRX[98.16998875], USD[1.44]                                                                              Yes

08057727                              DOGE[.07769113]                                                                                                                                                                    Yes

08057735                              BRZ[1], CUSDT[3], DOGE[4], ETH[0], TRX[3], USD[0.00], USDT[1.05516734]

08057739                              SOL[8.93], USD[1.32]

08057744                              SOL[2.130065], USD[1.09]

08057745                              BRZ[2], BTC[.01740508], CUSDT[6], DOGE[1119.44786851], ETH[.03927642], ETHW[.03927642], SHIB[10442282.99804201], SOL[1.98985951], TRX[1], USD[0.00], YFI[.01508372]

08057750                              CUSDT[1], DOGE[2596.79578067], USD[0.00]                                                                                                                                           Yes

08057761                              CUSDT[1], TRX[2394.11751918], USD[0.00]

08057771                              DAI[.00921063], PAXG[.00015544], SHIB[1], SOL[5.14819435], TRX[2], USD[0.00]

08057778                              USD[0.00]                                                                                                                                                                          Yes

08057788                              SOL[.29985], USD[23.71]

08057789                              USD[0.00]

08057790                              ETH[0], USD[0.00]

08057792                              SOL[21.5495085], USD[20.40]

08057796                              CUSDT[1], LTC[.23974829], USD[0.00]

08057798                              ETHW[.05723214]

08057801                              USD[542.17]                                                                                                                                                                        Yes

08057818                              BRZ[1], DOGE[1], USD[0.00]                                                                                                                                                         Yes

08057824                              USD[25.28], USDT[0.00000001]

08057827                              USD[0.77]                                                                                                                                                                          Yes

08057828                              LTC[.001], USD[4.75]

08057833                              USD[10.84]                                                                                                                                                                         Yes

08057835                              BAT[0], SOL[0]

08057841                              ETH[.01810763], ETHW[0.01810763], LINK[5.12697122], MATIC[0], SHIB[0], SUSHI[50.07692306], XRP[2405.815781]

08057849                              ETH[.000906], ETHW[.000906], USD[3.42], USDT[.75808475]

08057852                              SOL[.00721], USD[0.01]

08057853                              BRZ[2], BTC[.00000176], DOGE[3], ETHW[2.17957358], SOL[0], TRX[5], USD[0.00], USDT[1.02543197]                                                                                     Yes

08057860                              USD[22.02], USDT[4.185332]

08057862       Contingent, Disputed   USD[556.00]

08057866                              TRX[2804.339673]

08057871                              ETHW[1.94395052], USD[4.55]

08057877                              CUSDT[10.000105], DOGE[2], TRX[1], USD[0.73]                                                                                                                                       Yes

08057883                              TRX[89.87796982], TRY[0.00], USDT[0.00000241]                                                                                                                                      Yes

08057884                              BAT[1.01549772], BTC[.00809062], CUSDT[3], ETH[.1116007], ETHW[.1104943], LTC[1.98478092], MATIC[304.10858595], SHIB[9871208.61957461], SOL[2.15693273], TRX[1], USD[0.00],        Yes
                                      USDT[1.08315806]
08057887                              BTC[.003292]
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                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08057906                           BAT[1], BRZ[1], CUSDT[5], DOGE[3], ETHW[5.36835609], GRT[1], SOL[.00050571], TRX[1], USD[0.00], USDT[0.00000091]                                                                      Yes

08057914                           DOGE[1], SOL[2.08967053], USD[0.01]                                                                                                                                                   Yes

08057924                           SHIB[4396040], USD[4.46]

08057925                           SOL[.00000001]

08057929                           CUSDT[5], DOGE[2], SHIB[18603249.29018706], USD[0.01]                                                                                                                                 Yes

08057947                           CUSDT[1], SHIB[327979.28561174], USD[0.00]                                                                                                                                            Yes

08057948                           BF_POINT[100], CUSDT[2404.36925984], DOGE[103.85885583], GRT[514.65053854], KSHIB[0], PAXG[0], SHIB[750560.62259613], TRX[883.9668315], USD[0.00]                                     Yes

08057959                           ETH[.12697775], SOL[18.91373948], USD[0.00]

08057969                           USD[16.15]                                                                                                                                                                            Yes

08057973                           ETH[.00654686], ETHW[0.00646477]                                                                                                                                                      Yes

08057981                           SHIB[2200805.2206905], USD[0.00]                                                                                                                                                      Yes

08057986                           BTC[.00032389], CUSDT[2], SHIB[2102617.62135236], USD[5.39]                                                                                                                           Yes

08057999                           SHIB[16940.53870913], USD[0.00]

08058019                           USD[0.01]                                                                                                                                                                             Yes

08058028                           CUSDT[1], USD[0.00]                                                                                                                                                                   Yes

08058030                           BTC[.003299], ETH[.021979], ETHW[.021979], USD[0.69]

08058031                           USD[1.08]                                                                                                                                                                             Yes

08058039                           AAVE[2.14063337], AVAX[.57776594], BCH[.23296832], BRZ[1], BTC[.01203953], CUSDT[24], DOGE[410.34003841], ETH[.0172238], ETHW[.01700492], KSHIB[7000.9581923], LINK[2.63265434],      Yes
                                   MATIC[28.50576609], SHIB[9154238.5210888], SOL[1.08564697], SUSHI[90.35917343], TRX[3841.95552533], USD[2.40], YFI[.0063706]
08058041                           NFT (343954608610400329/David #672)[1], NFT (494640894611037530/David #770)[1], NFT (551787086606550875/David #77)[1]

08058053                           CUSDT[1], MATIC[26.03903498], USD[0.00]                                                                                                                                               Yes

08058056                           BRZ[2], BTC[.04860514], CUSDT[8], DOGE[41.41257507], ETH[.59251046], ETHW[.52325741], LINK[1.79276818], LTC[.27382053], SHIB[1242955.06244975], SOL[.28579233], TRX[3], USD[50.93],   Yes
                                   USDT[26.8199066], YFI[.00096096]
08058061                           BTC[.00239288], CUSDT[1], USD[0.10]                                                                                                                                                   Yes

08058064                           USD[21.51]                                                                                                                                                                            Yes

08058066                           CUSDT[2], SHIB[367243.44988833], TRX[310.12078697], USD[54.22]                                                                                                                        Yes

08058067                           SOL[1.02897], USD[0.00], USDT[747.06507624]

08058073                           USD[0.00]

08058074                           BAT[272.61309965], CUSDT[1], DOGE[1], LINK[48.94085072], USD[20.76]                                                                                                                   Yes

08058081                           BRZ[3], BTC[0], CUSDT[23], DOGE[7], ETH[.00000392], ETHW[.42952227], SOL[.00043772], TRX[7], USD[0.00]                                                                                Yes

08058082                           CUSDT[1], USD[0.00]                                                                                                                                                                   Yes

08058089                           BTC[.00000001], CUSDT[4], DOGE[1], SHIB[1], SOL[.45975142], TRX[7], USD[0.00]                                                                                                         Yes

08058091                           BTC[.00089787], CUSDT[3], DOGE[204.84956847], ETH[.02330319], ETHW[.02301591], USD[0.00]                                                                                              Yes

08058093                           BTC[.00020537], ETH[.00262447], ETHW[.00259711], USD[0.00]                                                                                                                            Yes

08058095                           ETH[.367], ETHW[.367], USD[0.88]

08058097                           DOGE[1], ETH[0], USD[0.01]                                                                                                                                                            Yes

08058099                           USD[10.00]

08058102                           TRX[2], USD[0.00]

08058109                           USD[0.00]

08058110                           BTC[0.00000260], USDT[1.468998]

08058114                           BRZ[7.38291596], CUSDT[27], DOGE[16.75875422], GRT[2], SHIB[1], SOL[0], SUSHI[23.82341906], TRX[8], USD[0.00], USDT[3.17133853]                                                       Yes

08058115                           DOGE[1], ETH[.10988383], ETHW[.10988383], USD[0.01]

08058122                           BTC[0.00062408], CUSDT[995.61161616], USD[0.00]                                                                                                                                       Yes

08058123                           CUSDT[2], SHIB[366684.57416141], TRX[309.88178127], USD[0.00]                                                                                                                         Yes

08058131                           BTC[0], DOGE[1], ETH[0], ETHW[0], SHIB[3], TRX[2], USD[24125.85], USDT[0.00003669]                                                                                                    Yes

08058133                           CUSDT[1], DOGE[.6233005], TRX[1], USD[0.00]                                                                                                                                           Yes

08058134                           BTC[.00009512], ETH[.0006], ETHW[.0006], SOL[.01], USD[0.00]

08058141                           BRZ[1], CUSDT[1], DOGE[1], GRT[1.00174583], LINK[62.08626851], LTC[10.09378539], SOL[4.19526607], USD[2.65]                                                                           Yes

08058156                           CUSDT[9843.31902801], USD[0.02]                                                                                                                                                       Yes

08058157                           CUSDT[8], SOL[.57973158], TRX[664.52579647], USD[-15.00]                                                                                                                              Yes

08058170                           SHIB[89243.49083643], USD[0.00]                                                                                                                                                       Yes

08058182                           DOGE[1], SHIB[2722707.52303451], USD[434.19]                                                                                                                                          Yes

08058183                           SHIB[9342430.95159887], USD[0.00]

08058192                           NFT (437696495844598533/Miami Ticket Stub #564)[1]

08058198                           ETHW[1.998]

08058201                           USD[0.00]

08058205                           BTC[.00009108], ETH[.00016152], ETHW[0.00016151], USD[1.28]

08058208                           DOGE[2], ETH[0], ETHW[0.55974648], USD[1014.03], USDT[1.05626535]                                                                                                                     Yes

08058213                           DOGE[1], LINK[6.69176886], USD[0.00]                                                                                                                                                  Yes

08058214                           BTC[0], SHIB[4], SOL[.01994812], TRX[2], USD[0.92], USDT[0.00000001]                                                                                                                  Yes
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                                                                                                                                         Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08058217                           CUSDT[1], ETHW[1.96674095], LINK[3.42920439], MATIC[118.19819247], NFT (470730409364211640/Inaugural Collection #961)[1], SOL[0.00000001]                                              Yes

08058218                           BTC[0]

08058219                           BTC[.00295272], CUSDT[489.28509677], ETH[.0354325], ETHW[.03499474], MATIC[11.44120955], NFT (462994999238387435/Skull Love #30)[1], SHIB[1219110.32850793], SOL[.30007541], TRX[1],   Yes
                                   USD[0.00]
08058220                           CUSDT[1], SHIB[1], USD[30.49]                                                                                                                                                          Yes

08058223                           AAVE[.00011127], SHIB[6], TRX[6], USD[0.00]

08058224                           BTC[.00001549], USD[4.33]                                                                                                                                                              Yes

08058231                           BTC[.006], USD[0.01], USDT[2.35]

08058234                           SHIB[1], TRX[1], USD[47.41]

08058248                           ETHW[.041768], SOL[.008], USD[0.00], USDT[0]

08058263                           CUSDT[4], USD[0.00]                                                                                                                                                                    Yes

08058271                           ALGO[.0020865], BF_POINT[100], BTC[0.07060958], ETHW[.56306172], MATIC[260.24299936], NFT (362216698074244914/Founding Frens Investor #75)[1], NFT (386460531170047224/Ronin Duckie Yes
                                   #17)[1], USD[3.87]
08058288                           BTC[.16218863], CUSDT[4774.43701101], DOGE[3353.74209109], ETH[.03762146], ETHW[.03715634], KSHIB[4278.77647276], LTC[.83873775], SHIB[6], TRX[6], USD[0.00]                        Yes

08058293                           CUSDT[.25], USD[0.01]                                                                                                                                                                  Yes

08058296                           CUSDT[1], SOL[1.11010942], USD[64.97]                                                                                                                                                  Yes

08058313                           ETH[.00006041], ETHW[.00006041]                                                                                                                                                        Yes

08058316                           DOGE[205.73193004], TRX[1], USD[0.01]                                                                                                                                                  Yes

08058325                           BAT[0], BTC[0], CUSDT[0], DOGE[0], SHIB[0], TRX[0], UNI[0], USD[0.01], USDT[0]                                                                                                         Yes

08058326                           CUSDT[1], SHIB[372610.37386661], USD[0.00]                                                                                                                                             Yes

08058335                           CUSDT[18], DOGE[1], SHIB[8691719.24786284], USD[0.00]                                                                                                                                  Yes

08058342                           ETH[.00000001], ETHW[0], USD[0.00]

08058346                           CUSDT[1], SHIB[1863512.44051924], TRX[1], USD[54.01]                                                                                                                                   Yes

08058351                           BTC[.00071728]

08058352                           BTC[.03806195], ETH[.16188145], ETHW[.16141003], USD[1.08]                                                                                                                             Yes

08058356                           SHIB[0], USD[0.00]

08058360                           BRZ[3], SHIB[7], USD[0.00]

08058365                           BTC[.08695961], ETH[1.07587305], ETHW[1.07587305], USD[1000.00]

08058371                           SOL[0], USD[0.92]

08058372                           ETH[0], ETHW[.0005036], USD[0.00]

08058380                           BRZ[1], BTC[.01279488], CUSDT[30], DOGE[9.2747506], ETH[.01754197], ETHW[.01732309], SHIB[113901174.3608463], TRX[13.07867526], USD[0.00]                                              Yes

08058381                           AAVE[.08444704], CUSDT[4], ETH[.00593728], ETHW[.00586888], LINK[.84133294], SOL[.10512397], USD[0.00]                                                                                 Yes

08058384                           CUSDT[1], KSHIB[850.32234869], USD[0.01]

08058402                           BTC[0], DAI[0], ETH[0], USD[0.01], USDT[0.00854776]

08058404                           MATIC[1.26018417], USD[0.00]                                                                                                                                                           Yes

08058407                           AVAX[5.25861096], CUSDT[1], MKR[.10970916], SOL[.00000001], USD[0.00]                                                                                                                  Yes

08058415                           MATIC[25.52], USD[26.52]

08058431                           NFT (435031950081607472/Series 1: Wizards #15)[1], NFT (532713143134393194/Series 1: Capitals #15)[1], USD[0.00]

08058434                           AVAX[.04770759], BTC[.000057], ETH[0.00050831], ETHW[0.00050831], MATIC[4.96408845], SOL[.0042213], SUSHI[28.91452746], UNI[.00962], USD[0.01]                                         Yes

08058439                           USD[0.00], YFI[.00014156]                                                                                                                                                              Yes

08058442                           USD[0.00]

08058446                           AAVE[1.61911], CUSDT[.999], SOL[9.00444], USD[50.30]

08058447                           BTC[0], DOGE[0], ETH[0], ETHW[0], LINK[0], LTC[0], MATIC[0], SOL[0], USD[0.00], USDT[0]

08058451                           BTC[.00162666]

08058453                           BAT[399.7693228], CUSDT[3], DOGE[1], KSHIB[1719.71795937], SHIB[2193755.56635702], TRX[1], USD[0.00], USDT[0]                                                                          Yes

08058455                           TRX[2], UNI[2.13934351], USD[5.43]                                                                                                                                                     Yes

08058456                           USD[0.01]                                                                                                                                                                              Yes

08058466                           CUSDT[3], MATIC[170.64038801], NFT (332572616530205134/ALPHA:RONIN #641)[1], SOL[3.09889484], USD[0.00]                                                                                Yes

08058467                           DOGE[381], ETH[.021], ETHW[.021], SHIB[2000000], SOL[.39], USD[35.86]

08058474                           ETHW[.0005], NEAR[.0653], USD[0.65]

08058481                           GRT[23], SOL[.13998], USD[0.42]

08058484                           USD[21.51]                                                                                                                                                                             Yes

08058495                           USDT[0]

08058502                           DOGE[1], TRX[1], USD[6.99]                                                                                                                                                             Yes

08058504                           CUSDT[2], SOL[.65903337], USD[0.00]                                                                                                                                                    Yes

08058508                           BAT[2], BRZ[1], BTC[.23532376], GRT[2], SHIB[1], TRX[2], USD[0.00], USDT[3.05124978]                                                                                                   Yes

08058509                           USD[200.00]

08058510                           USD[0.00]                                                                                                                                                                              Yes

08058512                           SOL[.19517181]                                                                                                                                                                         Yes

08058513                           CUSDT[1], PAXG[.29507936], USD[0.00]                                                                                                                                                   Yes
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                                                                                                                                         Customer Claims                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08058520                           DOGE[1], ETH[.0000002], ETHW[.0000002], USD[0.00]                                                                                                                          Yes

08058521                           USD[500.01]

08058527                           BAT[12.41187237], USD[0.00]                                                                                                                                                Yes

08058536                           SOL[.04425277], USD[0.00]                                                                                                                                                  Yes

08058539                           CUSDT[2], DOGE[.00379392], USD[95.30]                                                                                                                                      Yes

08058548                           USD[0.46]

08058549                           SOL[.28949003], USD[0.00], USDT[0.00000066]

08058551                           USD[267.42]                                                                                                                                                                Yes

08058553                           ETH[.001], ETHW[.001], SOL[.03996], USD[0.83]

08058562                           CUSDT[2], USD[0.00]                                                                                                                                                        Yes

08058568                           BTC[.00000001], NFT (358174066960881925/The Weird Apes #66)[1], USD[0.01]                                                                                                  Yes

08058570                           CUSDT[1], USD[0.00]                                                                                                                                                        Yes

08058573                           CUSDT[5], MATIC[0], SHIB[1572412.97909474], TRX[1], USD[0.00]

08058575                           USD[0.21]                                                                                                                                                                  Yes

08058576                           BTC[.00777959], CUSDT[243.57427886], NFT (337591775773439937/The 2974 Collection #1124)[1], NFT (519363178367190854/Birthday Cake #1124)[1], USD[0.00]                     Yes

08058580                           MATIC[.16272542], USD[0.00]                                                                                                                                                Yes

08058581                           USD[0.00]                                                                                                                                                                  Yes

08058585                           BTC[.00001306]

08058596                           USD[0.00]

08058609                           USD[21.69]                                                                                                                                                                 Yes

08058610                           SHIB[3], USD[0.00]                                                                                                                                                         Yes

08058618                           CUSDT[3], SOL[.00000171], USD[38.12]                                                                                                                                       Yes

08058620                           AVAX[.99905], BAT[29.9715], BTC[0.03127026], GRT[119.886], LINK[15.58518], MATIC[349.6675], MKR[.02098005], SHIB[2797340], SOL[28.9806225], SUSHI[4.99525], USD[2040.41]

08058623                           SHIB[.00006701], USD[3.99]

08058625                           ETHW[.053946], USD[1.18]

08058631                           BTC[.00416548], CUSDT[1], DOGE[1], ETH[.05711523], ETHW[.05640387], USD[0.05]                                                                                              Yes

08058633                           USD[100.02], USDT[0.00000113]

08058636                           CUSDT[1], ETH[.02205276], ETHW[.02177916], USD[1742.26]                                                                                                                    Yes

08058639                           AAVE[.00000037], BRZ[3], BTC[0.00000002], DAI[0], DOGE[4], NFT (318428510157858188/Duzgixon #3)[1], SHIB[7], SOL[0], TRX[6], USD[22.09]                                    Yes

08058642                           USD[0.00], USDT[49.76]

08058643                           USD[0.00], USDT[.99428125]                                                                                                                                                 Yes

08058652                           CUSDT[2], DOGE[144.81162395], GRT[44.69466574], SHIB[219750.91734466], TRX[223.2612858], USD[0.01]                                                                         Yes

08058653                           USD[0.22]                                                                                                                                                                  Yes

08058654                           USD[0.01], USDT[0.00760275]

08058664                           BTC[.00168812], ETHW[.058], MATIC[95.53584062], SHIB[8], SOL[.0001303], TRX[1], USD[0.00]                                                                                  Yes

08058667                           ETH[.00024169], ETHW[.00024169], USD[2.16]                                                                                                                                 Yes

08058671                           SOL[.22], USD[4.83]

08058672                           SHIB[2], USD[0.60]                                                                                                                                                         Yes

08058674                           USD[25.00]

08058688                           USD[0.00]

08058691                           BRZ[1], CUSDT[5], SOL[.97725244], USD[28.16]                                                                                                                               Yes

08058694                           CUSDT[1], DOGE[1], SHIB[910247.04986095], TRX[474.17077271], USD[0.00]                                                                                                     Yes

08058697                           BTC[.00004806], ETHW[3.56976252]                                                                                                                                           Yes

08058700                           NFT (312536886745461646/Ravager #1426)[1], NFT (406349297052432561/Ravager #1445)[1]

08058703                           CUSDT[1], DOGE[55.08559571], ETH[.00465812], ETHW[.0046034], USD[16.09]                                                                                                    Yes

08058704                           BTC[0.00000010], DOGE[0.00432744], ETH[0.00000311], ETHW[0], LINK[0], MATIC[0], SOL[0], SUSHI[0], USD[0.00], USDT[0]                                                       Yes

08058710                           LINK[1.71842449]

08058718                           NFT (388316402392572274/David #1001)[1], NFT (391855008705523209/David #727)[1]

08058721                           BRZ[1], BTC[.02371685], CUSDT[2], DOGE[3], SHIB[3], TRX[1], USD[392.25]                                                                                                    Yes

08058732                           DOGE[0], ETH[0], KSHIB[3.73435788], LTC[0], SHIB[427187.19068709], SOL[0.00000108], TRX[0], USD[2.54], USDT[0]                                                             Yes

08058734                           ETH[.025], ETHW[.025], SOL[2], USD[14.16]

08058740                           USD[0.04]

08058744                           DOGE[270.32034153], USD[8.53]

08058752                           NFT (358374742742542695/Persia)[1], NFT (546849182749660431/Seascape)[1], NFT (565774443993328648/AI-generated city #3)[1], USD[6.01]

08058753                           USD[2037.52]

08058757                           USD[542.14]                                                                                                                                                                Yes

08058760                           ETH[.00104884], ETHW[.00104884], SHIB[87366.76568233], USD[0.00]

08058761                           USD[0.00]
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                                                                                                                                         Customer Claims                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08058762                           CUSDT[14], DOGE[.00533754], MATIC[.00015253], SHIB[.00000001], SOL[.00001519], TRX[1], USD[0.00]                                                                           Yes

08058763                           BTC[.0379874], ETH[.167832], ETHW[.167832], LINK[9.3906], SOL[4.40559], USD[11.60]

08058767                           BTC[.10199169], ETH[.00000038], ETHW[.00000038], NFT (316355449740429490/Cool Bean #318)[1], SHIB[27939691.79077819], USD[0.05], USDT[0]                                   Yes

08058769                           CUSDT[1], USD[0.00]                                                                                                                                                        Yes

08058775                           ETHW[.222777], USD[0.05]

08058780                           USD[1.00]

08058782                           SOL[24.66346], USD[4.24]

08058785                           CUSDT[18], USD[0.00], YFI[.00075592]                                                                                                                                       Yes

08058800                           ETH[.010151], ETHW[.010151]

08058804                           SHIB[8762705.9235892], TRX[1], USD[0.00]

08058830                           BAT[1], BRZ[4], BTC[.08478666], CUSDT[9671.83215289], DOGE[13.10088345], GRT[1], KSHIB[19481.25319005], SHIB[969714890.84872744], TRX[1], USD[1114.87], USDT[2.10257826]   Yes

08058833                           KSHIB[0], SHIB[77.95105187], USD[0.01]                                                                                                                                     Yes

08058837                           USD[175.79]

08058839                           USD[0.01]                                                                                                                                                                  Yes

08058848                           BTC[.001]

08058854                           ETH[.12608429], LTC[0], SOL[0], USD[0.00], USDT[0]

08058855                           CUSDT[1], SHIB[387707.03198479], USD[0.00]                                                                                                                                 Yes

08058856                           BTC[.0003205], CUSDT[4], DOGE[81.83425534], ETH[.00470827], ETHW[.00465355], SOL[.08489662], TRX[1], USD[0.00], YFI[.00067486]                                             Yes

08058859                           USD[2.28]

08058875                           BTC[.00227934], CUSDT[5], DOGE[682.47684832], SHIB[854997.13767428], SOL[.22379049], TRX[468.28889253], USD[14.62]                                                         Yes

08058879                           CUSDT[2], KSHIB[0], MATIC[3.37119474], SUSHI[0], USD[0.00]

08058881                           DOGE[1], SHIB[2], USD[0.00], USDT[1]

08058882                           USD[0.00], USDT[0]

08058885                           BTC[.05424686], DOGE[250.03285384], GRT[67.05980031], MKR[.00506815], SOL[3.35793562], USD[1.38]

08058893                           CUSDT[2], SHIB[1], USD[26.29]

08058899                           USD[0.01], USDT[0]

08058902                           AAVE[.00000917], BAT[1], BRZ[1], CUSDT[14], DOGE[4], GRT[.00161641], SHIB[10], SOL[.00000001], SUSHI[.00019355], TRX[7], USD[0.01], YFI[.00000002]                         Yes

08058907                           SOL[.17982], USD[15.51]

08058910                           DOGE[1], ETHW[.113778], USD[142.36]

08058924                           USD[42.07]

08058931                           DOGE[4.995], ETH[.047952], ETHW[.047952], USD[0.02]

08058936                           BRZ[1], CUSDT[26], DOGE[0.00055584], ETH[.00000004], ETHW[.00000004], GRT[.00010429], MATIC[.00003052], SHIB[2.51830101], SOL[.00000077], TRX[1], USD[0.00]                Yes

08058939                           BAT[.41433533], USD[0.00], USDT[2492.84900195]

08058942                           ETH[.608348], ETHW[.60809257], LINK[23.25029999], SOL[17.11012251], USD[3539.11], YFI[.00341648]                                                                           Yes

08058946                           BTC[.05574978], ETH[.3886499], ETHW[.3886499], MATIC[29.937], SHIB[1998200], SOL[.00955]

08058951                           DOGE[1], ETH[0.15486603], ETHW[0], LTC[0], SHIB[1], SOL[0], TRX[1], USD[0.00], USDT[0]                                                                                     Yes

08058954                           BTC[0], LTC[.01226543], USD[-0.19], USDT[0]

08058956                           CAD[40.86], CUSDT[2], SHIB[2], TRX[1], USD[48.65]                                                                                                                          Yes

08058958                           TRX[1], USD[428.36], USDT[.60145843]                                                                                                                                       Yes

08058959                           BTC[.00451934], DOGE[1], ETH[.11819722], ETHW[.11705426], LINK[3.8352848], SOL[2.13330934], USD[0.00]                                                                      Yes

08058961                           BTC[.00009532], SOL[0], USD[1.06]

08058964                           USD[0.00]

08058968                           BTC[0]

08058977                           USD[0.01]

08058982                           BAT[2.05985335], BRZ[2], CUSDT[6], DOGE[11433.23903337], LINK[.00011375], SHIB[2], SOL[22.3406015], SUSHI[324.70716516], TRX[5], USD[0.01]                                 Yes

08058986                           NFT (465900268098020203/Miami HEAT: Standard - 15/50)[1], SHIB[1], SOL[0.01931987], USD[0.00]                                                                              Yes

08058988                           CUSDT[3], NFT (533111020383345495/Marcus Allen's Playbook: Kansas City Chiefs vs. Detriot Lions - November 29, 1996 #57)[1], USD[0.00]                                     Yes

08058993                           SOL[18.38], USDT[1.6479719]

08058997                           BTC[.00000065], ETH[0.00000002], SHIB[.0000029], USD[0.01]                                                                                                                 Yes

08059001                           USD[0.00]

08059003                           LINK[1]

08059004                           BTC[0.00003882], ETH[4.570681], MATIC[547.452], USD[1684.68]

08059008                           USD[0.00]

08059016                           USD[0.01]

08059023                           SOL[.10062], USD[0.00], USDT[14.26369049]

08059035                           CUSDT[1], SOL[.51847883], USD[0.00]

08059037                           DOGE[1.00359415], SHIB[86.88590556], TRX[1703.0191917], USD[0.00]                                                                                                          Yes

08059045                           CUSDT[2.01175706], USD[0.00]                                                                                                                                               Yes
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08059048                           NFT (334669395798173442/Fortune Cookies #2488)[1], NFT (515645515772175383/Good Boy #90)[1]

08059050                           ETH[.00000666], ETHW[.18454748], SHIB[5], USD[0.01]                                                                                                                                       Yes

08059052                           AAVE[.11988], BTC[.0041958], ETH[.056943], ETHW[.056943], SOL[3.52461833], USD[191.85]

08059054                           USDT[14.993253]

08059064                           BTC[.01393221], USD[0.17]                                                                                                                                                                 Yes

08059065                           USDT[4]

08059067                           CUSDT[1], DOGE[581.17826057]                                                                                                                                                              Yes

08059069                           BTC[0], ETH[.00044249], ETHW[.00018816], USD[0.11]                                                                                                                                        Yes

08059070                           USD[0.05]                                                                                                                                                                                 Yes

08059073                           BTC[.00039988], CUSDT[1], USD[0.00]                                                                                                                                                       Yes

08059074                           SHIB[3596400], USD[3.34]

08059098                           CUSDT[1], SOL[0.23020475]                                                                                                                                                                 Yes

08059099                           BRZ[1], CUSDT[6], DOGE[2], ETH[.00000001], ETHW[0], SOL[.00000001], SUSHI[1], TRX[4], USD[0.00]

08059101                           BTC[.00004603], USD[0.00], USDT[0.00022132]

08059110                           CUSDT[4], GRT[1.0001826], NFT (531985995598546956/Saudi Arabia Ticket Stub #589)[1], SHIB[941897.71996855], SOL[.00000002], TRX[2], USD[0.00], USDT[0.00000038]                           Yes

08059111                           NFT (363379873846057457/Eitbit Ape #5399)[1], NFT (505164318967256280/Coachella x FTX Weekend 1 #7237)[1], USD[0.00]                                                                      Yes

08059113                           BRZ[1], CUSDT[3], TRX[1], USD[0.00]

08059119                           USD[1.08]                                                                                                                                                                                 Yes

08059121                           NFT (333989276564450484/Crypto Curiosity - Jack #2 #2)[1], NFT (365915298868724440/Crypto Curiosity - Jack’s Love)[1], NFT (495118840354782252/Crypto Curiosity-Jack B&W)[1], USD[0.45]

08059130                           SOL[2.10853852], TRX[1], USD[0.00]                                                                                                                                                        Yes

08059133                           CUSDT[2], DOGE[1], USD[0.00]                                                                                                                                                              Yes

08059135                           SHIB[2], USD[20.00]

08059139                           SOL[.99]

08059156                           DOGE[0], SHIB[3170.48708325], USD[0.00]                                                                                                                                                   Yes

08059157                           CUSDT[1], SOL[1.94786459], USD[0.00]

08059166                           USD[75.13]                                                                                                                                                                                Yes

08059173                           USD[1.87]

08059186                           USD[10.84]                                                                                                                                                                                Yes

08059195                           USD[0.01]

08059201                           DOGE[0], SHIB[102452.29720059], TRX[0], USD[0.00]

08059205                           ETH[0], SOL[2.13795629], USD[0.00]                                                                                                                                                        Yes

08059213                           BTC[.0131868], SOL[6.28371], TRX[92772.191], USD[4.39]

08059217                           USD[20.00]

08059220                           USD[0.00], USDT[2.81177763]

08059227                           CUSDT[3], DOGE[1], SUSHI[0], USD[0.03]                                                                                                                                                    Yes

08059237                           USD[100.00]

08059240                           CUSDT[2], SOL[1.10270586], USD[0.00]

08059267                           USD[0.12], USDT[0.00000001]                                                                                                                                                               Yes

08059270                           USD[40.01]

08059284                           CUSDT[3], SHIB[1.34740912], USD[0.01]                                                                                                                                                     Yes

08059301                           USD[0.25]                                                                                                                                                                                 Yes

08059303                           BAT[1], SOL[.04160049], USD[0.01]                                                                                                                                                         Yes

08059309                           USD[1.00]

08059311                           BAT[1], BRZ[1], BTC[.00000062], DOGE[2], ETH[.00000378], ETHW[1.14493722], SHIB[7], USD[0.00]                                                                                             Yes

08059316                           USD[2000.00]

08059323                           USD[0.00], USDT[0.00000008]

08059332                           SOL[1.998], USD[2.00]

08059342                           USDT[0]

08059345                           BTC[.00000001], ETH[.0000001], ETHW[.0000001], USD[0.01]                                                                                                                                  Yes

08059349                           BTC[.00436346], ETH[0.18251548], ETHW[0.18227526], SHIB[1]                                                                                                                                Yes

08059350                           DOGE[1], KSHIB[0], USD[0.00]                                                                                                                                                              Yes

08059360                           TRX[1964.51459295]                                                                                                                                                                        Yes

08059381                           TRX[.584872], USD[0.03], USDT[.0003176]

08059393                           CUSDT[2], DOGE[0], SHIB[23486334.30205875]                                                                                                                                                Yes

08059401                           ETH[0], NFT (325756442552690478/FractaVerse)[1], NFT (380426876352347623/Into The Void)[1], NFT (470076793889391098/Fractaverse)[1], NFT (484328481407120594/Angels Gift)[1],
                                   SHIB[7024665.77518684], TRX[22.57830355], USD[1.58]
08059409                           DOGE[1], SOL[.52388048]                                                                                                                                                                   Yes

08059416                           SOL[3.39595271], USD[0.00]

08059429                           BTC[0], USD[0.95], USDT[0.00335152]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08059435                           BTC[0], USD[0.00]                                                                                                                                                                  Yes

08059436                           USD[0.44]

08059438                           AAVE[.00022378], CUSDT[3], DOGE[1], ETH[0], SOL[0], USD[0.00], USDT[0.00000806]                                                                                                    Yes

08059440                           CUSDT[1], DOGE[1], ETH[.00000001], USD[0.00]                                                                                                                                       Yes

08059450                           CUSDT[1], SOL[0]                                                                                                                                                                   Yes

08059458                           BTC[.00175687]                                                                                                                                                                     Yes

08059467                           NFT (397757905456260627/David #153)[1], NFT (513160478838334221/David #437)[1]

08059473                           SOL[.00000087]                                                                                                                                                                     Yes

08059474                           BAT[12.38288803], CUSDT[1], DOGE[2.51302008], SHIB[18.35936949], USD[0.00]                                                                                                         Yes

08059482                           USD[0.57]

08059484                           CUSDT[1], SHIB[2], TRX[1], USD[0.01]

08059486                           USDT[.02590768]

08059489                           BRZ[1], CUSDT[1], SOL[.0000595], USD[0.00]                                                                                                                                         Yes

08059491                           USD[0.00]

08059503                           USD[1.03]

08059518                           NFT (352835957335762469/Elysian - #6538)[1], NFT (378920120081675979/Sloth #0946)[1], NFT (448310710427920998/Elysian - #2399)[1], SHIB[2], SOL[.18176925], USD[0.00]              Yes

08059520                           ETH[.02355414], ETHW[.02326634], TRX[1], USD[0.00]                                                                                                                                 Yes

08059526                           BTC[.00112267], CUSDT[1], USD[0.00]

08059533                           BTC[0.00000048], CUSDT[11], DOGE[5], ETH[0], ETHW[3.53710226], GRT[3.07387294], MATIC[.0034817], SHIB[2], SOL[0], SUSHI[1.06308541], TRX[5], USD[0.00], USDT[0.00001536]           Yes

08059546                           USD[0.00]

08059563                           USD[0.01]                                                                                                                                                                          Yes

08059568                           DOGE[1], TRX[4799.48790773], USD[0.00]                                                                                                                                             Yes

08059570                           CUSDT[1], SHIB[3397893.30615018], USD[0.01]

08059571                           BRZ[1], CUSDT[1], SOL[.00000921], USD[0.00]                                                                                                                                        Yes

08059579                           BAT[9.92764233], BCH[.12695315], BRZ[60.51052867], BTC[.00089029], CUSDT[30], DAI[.00432751], DOGE[2012.43577533], ETHW[.06606838], LTC[.09826907], NFT (326520308153727933/Golden Yes
                                   Gift Box 0010)[1], NFT (389943215649022325/Clear for take off )[1], NFT (394690945551710451/Medical Cannabis #0011)[1], NFT (451698256276717633/Smokin )[1], NFT (512677123969235596/Mr
                                   White )[1], NFT (536917538048176080/Surreal World #65)[1], PAXG[.00002756], SHIB[235165.35060295], SOL[0.00617527], TRX[256.65779646], USD[1.09]

08059586                           NFT (376190968452657066/David #481)[1]

08059591                           BTC[.00803771], ETH[.10879759], ETHW[.10879759], USD[0.00]

08059595                           TRX[0], USD[0.00]                                                                                                                                                                  Yes

08059623                           USD[0.00]                                                                                                                                                                          Yes

08059627                           USD[5.42]                                                                                                                                                                          Yes

08059644                           USD[0.44]

08059649                           ETHW[20.75777754]                                                                                                                                                                  Yes

08059663                           CUSDT[1], DOGE[76.41959562], SHIB[1893811.47910416], USD[0.00]                                                                                                                     Yes

08059677                           BTC[.0001616]                                                                                                                                                                      Yes

08059680                           USD[0.00], USDT[0]

08059723                           AAVE[.07825738], BRZ[146.23696422], CUSDT[7], DAI[5.39050718], DOGE[98.1679624], LINK[1.09777802], SHIB[386180.70106029], SOL[.08869809], TRX[186.92956926], USD[0.02],            Yes
                                   USDT[26.93853525]
08059735                           BTC[.00003084], USD[1.08]                                                                                                                                                          Yes

08059750                           USD[5.00]

08059751                           BTC[.29204348], ETH[5.83381038], ETHW[5.83359976], SOL[266.30946145], USD[4.17]                                                                                                    Yes

08059768                           ETH[1.70433595], ETHW[1.70433595], SHIB[83316600], USD[0.15]

08059772                           USD[16.26]                                                                                                                                                                         Yes

08059776                           BTC[0], SHIB[6], USD[37.17]                                                                                                                                                        Yes

08059784                           BAT[1.01207221], BRZ[1], CUSDT[1], DOGE[1], ETH[.00087516], ETHW[.00086153], TRX[1], USD[0.01]                                                                                     Yes

08059786                           CUSDT[1699.25802001], TRX[1], USD[0.00]                                                                                                                                            Yes

08059788                           USD[20.00]

08059789                           ETH[.00848052], ETHW[.00837108], MATIC[.01056063], USD[0.00]                                                                                                                       Yes

08059793                           BRZ[1], CUSDT[1], MATIC[.94257672], USD[0.08]                                                                                                                                      Yes

08059797                           USD[120.00]

08059799                           BTC[.15881901]                                                                                                                                                                     Yes

08059800                           BTC[0.00648622], ETH[.07692685], ETHW[.07692685], SOL[1.0490025], USD[4.07]

08059809                           AAVE[0], BAT[1], SHIB[.00000002], SOL[0.00000001], USD[0.00], USDT[0]                                                                                                              Yes

08059812                           BRZ[1], CUSDT[1], TRX[1], USD[0.00]

08059830                           BF_POINT[300], DOGE[1], ETH[0], LINK[89.55735883], LTC[0.00004986], SHIB[1], SOL[0.00029624], TRX[.00031], USD[0.00], USDT[0.00005744]                                             Yes

08059846                           ETHW[.27601218], USD[1.49], USDT[0]                                                                                                                                                Yes

08059848                           BCH[.22390623], BRZ[68.98276051], CUSDT[614.58582669], DOGE[276.67450079], ETH[.25061873], ETHW[.25042637], MATIC[52.89148684], SHIB[809459.99285644], SOL[2.61926759],            Yes
                                   TRX[201.83552837], USD[91.16], USDT[11.75196779]
08059852                           BTC[.00331427], CUSDT[2], ETH[.04636833], ETHW[.04579377], SOL[.44412778], TRX[2], USD[0.01]                                                                                       Yes
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                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08059854                           TRX[1], USD[0.00]

08059855                           BTC[0], SOL[0], USD[0.00]

08059856                           DOGE[0], LINK[205.94603133], MATIC[.00113631], USD[0.00]                                                                                                                              Yes

08059870                           DAI[0], DOGE[1], ETH[0], ETHW[.00001151], NFT (559582299417278402/The Hill by FTX #8496)[1], SHIB[3], SOL[.03003375], TRX[1.00005], USD[0.00], USDT[0]                                Yes

08059874                           USD[16.30]

08059876                           BTC[.00000063], ETH[0], ETHW[1.66893458], MATIC[0], SHIB[51], USD[0.77]                                                                                                               Yes

08059886                           USD[20.00]

08059916                           TRX[.111608], USD[19.53], USDT[68.59000000]

08059933                           BTC[0], USD[0.00]

08059959                           USD[0.00]

08059962                           SHIB[193789.09383392], USD[0.00]                                                                                                                                                      Yes

08059965                           DOGE[18.68039046]

08059979                           DOGE[1], USD[0.13]                                                                                                                                                                    Yes

08059981                           DOGE[1], USD[0.00]

08059990                           CUSDT[1], SHIB[10910211.16745235], USD[0.27]                                                                                                                                          Yes

08059996                           USD[13.01]                                                                                                                                                                            Yes

08059998                           BRZ[2], BTC[0], CUSDT[3], DOGE[0], ETH[0], MATIC[0], SHIB[278.47787577], SOL[0], TRX[3], USD[0.00], USDT[1.05861203]                                                                  Yes

08060001                           SOL[4.57], USD[16.18]

08060011                           USD[3.00]

08060016                           AVAX[.09924959], USD[0.00]

08060033                           CUSDT[456.34905184], USD[0.00]

08060039                           CUSDT[4], GRT[48.83328805], MATIC[28.2482483], USD[0.00]                                                                                                                              Yes

08060041                           ETH[0], SOL[0]

08060048                           NFT (289346425436283918/Patria y Vida 3d )[1], NFT (363367436370575649/Cave in heaven Unique NFT)[1], NFT (392060549210497446/Square Simmetry)[1], NFT (406133023168939289/Cocoon
                                   tank)[1], NFT (422297506068747616/Mister Teeth)[1], NFT (422700242293632323/Monkey Maniac)[1], NFT (489486471315336690/Waters of babylon)[1], NFT (510968349057199754/Surrealist
                                   Flower)[1], NFT (512004417939441225/Surrealist Rooster)[1], NFT (563648319076567763/Christmas chocolate unique NFT)[1], NFT (568086525212910283/Angel Wings NFT)[1], SOL[.00340111]

08060067                           CUSDT[2], KSHIB[1769.0902082], SHIB[814774.57903313], USD[5.00]

08060068                           SHIB[323.08374384], SOL[.00000003], USD[0.00], USDT[0]                                                                                                                                Yes

08060071                           USD[0.00]                                                                                                                                                                             Yes

08060095                           BTC[.00121615]

08060098                           BTC[.0002], ETH[.039], ETHW[.039], LINK[1.9], MATIC[40], USD[0.55], USDT[.0582354]

08060113                           BAT[1.01205373], CUSDT[11], KSHIB[.00002538], MATIC[226.03638607], SHIB[.0064151], TRX[1], USD[0.58]                                                                                  Yes

08060116                           BTC[.00378756], DOGE[34.66963379], ETH[.01066114], ETHW[0.01052433], GRT[0], SHIB[1], USD[100.21]                                                                                     Yes

08060122                           SOL[11.373574], USD[416.49]

08060126                           AAVE[.00711], LTC[.008], SOL[.00386], USD[80.02]

08060127                           BTC[.1597602], ETH[.608391], ETHW[.608391], USD[3342.51]

08060130                           ETH[.00943514], ETHW[.00931202]                                                                                                                                                       Yes

08060134                           USD[27.10]                                                                                                                                                                            Yes

08060141                           SOL[2.08791], USD[3.18]

08060145                           MATIC[26.8133277], USD[0.00]

08060146                           BTC[.1495913], ETH[.931068], ETHW[.931068], SOL[.999], USD[3.75]

08060150                           USD[1.29]

08060153                           BRZ[1], SHIB[1777640.37691938], USD[3.25]                                                                                                                                             Yes

08060156                           USD[65.05]                                                                                                                                                                            Yes

08060157                           SOL[13.29669], USD[1.10]

08060161                           USD[2.00]

08060165                           MATIC[1], NFT (429053007501876727/Australia Ticket Stub #451)[1]

08060170                           BRZ[1], CUSDT[1], DOGE[1], USD[0.00]

08060177                           ALGO[0.00000001], BTC[0], ETH[0], USD[0.00]                                                                                                                                           Yes

08060183                           BTC[.000964], DOGE[1], USD[13.21]                                                                                                                                                     Yes

08060188                           BAT[1], CUSDT[2], ETH[0], USD[0.00]

08060189                           BAT[2.04336916], BRZ[1], CUSDT[10], DOGE[6], GRT[1], SHIB[19], SOL[.00004142], TRX[5], USD[1.41], USDT[0.53690445]                                                                    Yes

08060191                           BAT[2.05361183], BRZ[2], DOGE[12.03742799], ETH[1.37073731], ETHW[1.37016158], GRT[7.18839972], SHIB[3], SOL[77.92460606], TRX[24.32021856], USD[0.00], USDT[3.16781313]              Yes

08060193                           ETHW[1.04830721], USD[1.42]                                                                                                                                                           Yes

08060198                           ETH[.92653907], ETHW[.77841539], GRT[1], KSHIB[2263.58058126], MATIC[2369.29105866], SHIB[10261563.43304071], USD[18.81]                                                              Yes

08060201                           USD[0.00]

08060203                           USD[0.00]

08060222                           CUSDT[3], DOGE[2], ETH[.00000001], USD[0.00]

08060223                           BRZ[1], BTC[.00000002], CUSDT[2], DOGE[1], ETH[.00000028], ETHW[.00000028], SOL[.00001065], TRX[2], USD[0.00]                                                                         Yes
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08060234                              USDT[1]

08060237                              CUSDT[1], GRT[1], LINK[481.0923805], TRX[2], USD[0.00]

08060245                              CUSDT[2], SOL[1.2284354], TRX[1], USD[0.00]                                                                                                                                          Yes

08060246                              NFT (485588274063825430/Aku World: Dream #244)[1], TRX[1]

08060265                              USDT[4]

08060284                              BTC[.00016085], CUSDT[2], DOGE[61.24193838], ETH[.00583248], ETHW[.00576408], USD[0.01]                                                                                              Yes

08060297                              USD[0.01]                                                                                                                                                                            Yes

08060308                              BTC[.00004586], MATIC[14.87066118], USD[0.00]

08060310                              USD[49.00]

08060312                              USDT[5]

08060328                              CUSDT[2], USD[47.64]                                                                                                                                                                 Yes

08060330                              USD[0.78]

08060342                              SHIB[1], USD[0.01], USDT[0]                                                                                                                                                          Yes

08060351                              SHIB[8673026.88638334], TRX[1], USD[0.01]

08060356                              BAT[1], BRZ[1], CUSDT[6], DOGE[3], SHIB[6], TRX[1], USD[0.02]

08060360                              BTC[.00000005]                                                                                                                                                                       Yes

08060373                              BTC[0], ETH[0], USD[0.54]                                                                                                                                                            Yes

08060385                              ETH[0.57196587], ETHW[0.57196587], GRT[24.30292078], SOL[.12517559], USD[742.01]

08060389                              TRX[2], USD[64.33], USDT[0]

08060392                              USDT[33]

08060393                              ETH[.021], ETHW[.021], KSHIB[1730], LINK[3.0969], SHIB[3400000], USD[5.77]

08060408       Contingent, Disputed   BTC[0], ETH[0], USD[0.00]

08060413                              LINK[0.00000001], USD[0.00], USDT[0.00000010]                                                                                                                                        Yes

08060418                              CUSDT[1], NFT (361226882244079829/Frog #8776)[1], NFT (435902974264771824/Golden bone pass)[1], NFT (442299371495484505/Cyber Frogs Ramen)[1], TRX[1], USD[0.00]                     Yes

08060419                              SOL[.00000167], SUSHI[.00007506], UNI[.00012503], USD[0.01]                                                                                                                          Yes

08060431                              BTC[0], SOL[0], USD[0.24]

08060440                              BTC[.00000002], CUSDT[1], DOGE[1], USD[44.11]                                                                                                                                        Yes

08060445                              CUSDT[2], DOGE[2], NFT (334161595182794681/Coachella x FTX Weekend 1 #12021)[1], NFT (429818878993097836/Fancy Frenchies #5332)[1], TRX[2], USD[0.09]                                Yes

08060446                              CUSDT[3], DOGE[191.36144759], KSHIB[86.16570043], SHIB[752765.81001659], USD[0.01]                                                                                                   Yes

08060447                              USD[1047.74]                                                                                                                                                                         Yes

08060448                              BTC[.00000001], CUSDT[3], SHIB[4.35221109], SOL[.00000037], TRX[2], USD[28.24]                                                                                                       Yes

08060450                              USDT[0]

08060458                              BAT[54.06125621], BRZ[30.47612764], CUSDT[9.89868509], DOGE[21.72074761], LINK[3.13534998], LTC[.50880764], SOL[.61574488], UNI[4.14816292], USD[0.00]                               Yes

08060463                              BRZ[1], CUSDT[4], DOGE[3], SHIB[4], SOL[28.02694719], TRX[2], USD[0.00]                                                                                                              Yes

08060476                              BTC[.00160653], USD[0.00]

08060477                              MATIC[60], USD[11.73]

08060484                              BRZ[1], BTC[0], ETH[0], SHIB[98822.56557317], SUSHI[0], TRX[1], USD[0.00]                                                                                                            Yes

08060489                              USDT[26]

08060492                              BTC[0], DOGE[0], MATIC[0], NFT (292096824430924148/Barcelona Ticket Stub #2167)[1], SHIB[0.24896494], SOL[0], TRX[0.00004400], USD[0.01], USDT[0.00000617]                           Yes

08060493                              BRZ[1], SHIB[2], TRX[3], USD[0.00], USDT[0]

08060505                              SHIB[1700000], SOL[.41057441], USD[4.21], USDT[0.00000089]

08060506                              USD[0.00]                                                                                                                                                                            Yes

08060509                              SHIB[4521247.88589256]                                                                                                                                                               Yes

08060511                              SOL[.55], USD[0.31]

08060513                              CUSDT[2], TRX[1], USD[0.01]

08060521                              ETH[0], USD[0.00], USDT[0.00004525]

08060529                              AVAX[1.30756082], BRZ[3], CUSDT[16], DOGE[16.30551317], ETHW[.21770175], LINK[19.88074725], NFT (312592966093931357/Shannon Sharpe's Playbook: Denver Broncos vs. Los Angeles        Yes
                                      Raiders - January 9, 1994 #36)[1], NFT (393566924487774634/Shannon Sharpe's Playbook: Baltimore Ravens vs. Oakland Raiders - January 14, 2001 #47)[1], SHIB[16], TRX[7], USD[0.00]
08060533                              BTC[.00017372], CUSDT[3], SOL[0], USD[0.00], USDT[0.00053605]                                                                                                                        Yes

08060536                              BRZ[1], SOL[.1061964], USD[0.00]                                                                                                                                                     Yes

08060543                              AAVE[.16604721], BAT[93.59459362], BRZ[112.51860254], BTC[.00042877], CUSDT[9], ETH[.0022807], ETHW[.0022807], MATIC[49.71357898], SHIB[3747955.89478359], SOL[.04483107],
                                      SUSHI[1.0589312], TRX[238.69293364], USD[0.00]
08060547                              USD[0.02]                                                                                                                                                                            Yes

08060549                              CUSDT[4], DOGE[80.735234], SHIB[1198887.91225463], USD[0.00]                                                                                                                         Yes

08060552                              SOL[.047855], USD[0.00]                                                                                                                                                              Yes

08060555                              CUSDT[2], DOGE[1], TRX[1], USD[0.00]

08060560                              SOL[.42262288]                                                                                                                                                                       Yes

08060566                              USD[0.00]

08060569                              USD[12358.75]                                                                                                                                                                        Yes

08060570                              GRT[2621.376], USD[8.82]
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                                                                                                                                            Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08060579                              DOGE[1], MATIC[215.31582034], SHIB[3], SOL[12.97440414], TRX[1], USD[0.00], USDT[1.05526265]                                                                                       Yes

08060581                              SOL[.0000028], USD[0.06], USDT[0]                                                                                                                                                  Yes

08060586                              BRZ[1], CUSDT[4], DOGE[3034.87625241], SHIB[9001422.45648153], TRX[1158.49293559], USD[0.03]                                                                                       Yes

08060588                              CUSDT[1], SHIB[361076.00649936], USD[0.00]

08060592                              NFT (293334150937152818/AI #10)[1], NFT (298909777472561525/Frases do zap)[1], NFT (330787843601930712/AI #7)[1], NFT (431782223246993677/AI #13)[1], NFT (465294526872101003/AI
                                      #2)[1], NFT (466623420881751392/AI #16)[1], NFT (477529522504919007/AI #12)[1], NFT (520703973992091604/AI #18)[1], NFT (559601259825703200/Dark #2)[1], USD[0.00], USDT[0]

08060593                              DOGE[1], SHIB[1278964.81819828], USD[0.01]                                                                                                                                         Yes

08060606                              BRZ[1], CUSDT[7], DOGE[1], GRT[21.70290566], LINK[4.63497816], MATIC[32.11551748], SOL[5.38927272], TRX[2], USD[0.00]                                                              Yes

08060608                              TRX[1], USD[10.54]                                                                                                                                                                 Yes

08060611                              SOL[.35]

08060622                              CUSDT[1], SOL[2.13084559], USD[0.00]                                                                                                                                               Yes

08060628                              USD[0.00]

08060632                              USD[12.68]

08060637                              USDT[30]

08060639                              DOGE[1067.08239665], USD[0.00]

08060643                              CUSDT[1], SOL[1.7074096], USD[0.00]                                                                                                                                                Yes

08060647                              ETH[0], LTC[0], NFT (356349650462069140/Galaxy Heart S#001)[1], SOL[0], USD[0.34], USDT[0]

08060648                              CUSDT[4], ETH[0], SOL[0], USD[0.00]                                                                                                                                                Yes

08060654                              USD[0.86]

08060656                              SHIB[2], USD[2.00]                                                                                                                                                                 Yes

08060659                              NFT (312190688268817937/Munch moon)[1], NFT (408189852889848297/PepperMint)[1], NFT (520298195935348316/Bloombell)[1], NFT (534266869554556373/DinoBitten)[1], NFT
                                      (567956736810528180/Kitty Key)[1], SOL[.07324506], USDT[0]
08060664                              AAVE[1.20439134], BRZ[2], CUSDT[37], DOGE[7.00057537], ETH[1.52707295], ETHW[1.15617323], MATIC[997.59887369], MKR[.0474011], SHIB[6], SOL[24.68413407], TRX[4], USD[2024.69],     Yes
                                      USDT[1.05514697]
08060668                              USD[10.00]

08060671                              USD[7.00]

08060675                              USD[1.55]

08060679                              USD[145.50]                                                                                                                                                                        Yes

08060687                              USDT[30]

08060692                              BAT[1.00235888], BRZ[3], CUSDT[1], DOGE[6.00038359], SHIB[3], SOL[.00000001], TRX[3], USD[0.00], USDT[0]                                                                           Yes

08060695                              CUSDT[1], DOGE[1], ETHW[4.31025574], LINK[1.07945341], USD[0.19]                                                                                                                   Yes

08060704                              USD[0.01]                                                                                                                                                                          Yes

08060710                              SOL[73.69571867], TRX[1], USD[0.00]

08060711                              USD[0.00], USDT[0]

08060712                              SHIB[2525624.41369299]                                                                                                                                                             Yes

08060727                              BTC[0], LTC[0], SOL[7.93000000], TRX[0], USD[0.74]

08060734                              BTC[.0176823], ETH[.000885], SOL[.00857], USD[319.23]

08060735                              CUSDT[.00006037], DOGE[1], LTC[2.15069253], SHIB[2], TRX[1], USD[0.01]

08060739       Contingent, Disputed   SOL[.00000001], USD[0.00]                                                                                                                                                          Yes

08060746                              USD[0.04]

08060747                              ETH[0], SOL[.00238929], USD[0.00]

08060757                              USD[6.82]

08060760                              DOGE[2], USD[0.00]                                                                                                                                                                 Yes

08060762                              CUSDT[1], DOGE[1], SOL[.81888013], TRX[1], USD[0.00]                                                                                                                               Yes

08060764                              TRX[2], USD[0.00]

08060766                              SOL[.00492], USD[0.00]

08060768                              BTC[.2231579], ETH[2.826333], ETHW[.000333], SOL[77.49269899], USD[1.69], USDT[.003328]

08060772                              BTC[.0503075], ETH[.000466], ETHW[.000466], MATIC[9.87], NFT (292960499109236024/2974 Floyd Norman - OKC 3-0035)[1], NFT (296276671840523249/GSW Western Conference Finals
                                      Commemorative Banner #2087)[1], NFT (324709277875735186/Warriors Logo Pin #42 (Redeemed))[1], NFT (369521781598147722/GSW Championship Commemorative Ring)[1], NFT
                                      (429176449818831311/GSW Western Conference Semifinals Commemorative Ticket #1122)[1], NFT (436930025980694079/GSW Round 1 Commemorative Ticket #150)[1], NFT
                                      (465181989560576104/The 2974 Collection #1310)[1], NFT (556710077272328289/GSW Western Conference Finals Commemorative Banner #2088)[1], SHIB[998200], USD[0.00]
08060774                              TRX[3557.10824487], USD[0.00]                                                                                                                                                      Yes

08060776                              DOGE[1], SHIB[5102908.65793502], USD[0.00]

08060778                              BRZ[1], CUSDT[2], DOGE[220.06004058], SOL[.50785166], USD[20.95]                                                                                                                   Yes

08060781                              ETH[.01590556], ETHW[0.01571217]                                                                                                                                                   Yes

08060786                              BTC[.03355743], ETH[1.20122544], ETHW[1.20122544], SOL[2.45868793], USD[80.01]

08060787                              CUSDT[4], DOGE[96.72609753], ETH[.01603937], ETHW[.01583706], LINK[5.89210994], SOL[.10795354], USD[0.00]                                                                          Yes

08060793                              SHIB[185356.07199168], USD[0.00]                                                                                                                                                   Yes

08060799                              TRX[3813.061538]

08060801                              SHIB[52], USD[133.19]                                                                                                                                                              Yes

08060810                              BTC[.0006993], DOGE[302.984], ETH[.005], ETHW[.005], SHIB[2080601.14289017], USD[0.02]
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                                                                                                                                          Customer Claims                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08060813                           USD[0.10]                                                                                                                                                                      Yes

08060821                           CUSDT[1], SHIB[5059101.10139834], USD[0.02]                                                                                                                                    Yes

08060825                           DOGE[36.66486936], SHIB[2], TRX[1], USD[0.00]                                                                                                                                  Yes

08060836                           AAVE[0], AVAX[0], BRZ[0], BTC[0], CAD[0.00], CHF[0.00], DAI[0], ETH[0], EUR[0.00], GBP[0.00], LINK[0], MATIC[0], NEAR[0], SOL[0], TRX[0], UNI[0], USD[0.01], USDT[0], YFI[0]   Yes

08060839                           BF_POINT[300]

08060856                           BTC[.00665812], CUSDT[7], DOGE[4], SOL[24.78434484], TRX[4], USD[4032.14]                                                                                                      Yes

08060862                           BAT[5.259], BTC[.0000922], DOGE[3.926], ETH[.004899], ETHW[.004899], LINK[.4865], LTC[.00387], MATIC[9.2], SHIB[90000], SOL[.08642], SUSHI[.962], UNI[.1725], USD[0.00]

08060874                           ETH[0.11141452], ETHW[0.11141452], USD[0.00]

08060876                           DOGE[39698.62223534], USD[0.00]                                                                                                                                                Yes

08060881                           BAT[.00000914], BTC[0.00000078], USD[0.00]                                                                                                                                     Yes

08060899                           BAT[1.00993941], CUSDT[11], DOGE[4], GRT[1], SHIB[4], TRX[1], USD[0.01], USDT[0]

08060907                           MATIC[210], SOL[4.54945], USD[11.66]

08060911                           CUSDT[6], DOGE[1], GRT[1.00200203], SOL[2.29682388], USD[2.63]                                                                                                                 Yes

08060929                           BTC[0.12252198], DOGE[0], SOL[0], USD[0.00]                                                                                                                                    Yes

08060949                           SOL[.00000001]

08060953                           BTC[.0003219], DOGE[1], SOL[9.06806339], USD[0.00]

08060956                           USD[30.00]

08060962                           BTC[.00000407], MATIC[.99395866], SHIB[8], SOL[.00000001], TRX[1], USD[1.07], USDT[0]                                                                                          Yes

08060964                           CUSDT[1], SHIB[1], TRX[2], USD[0.00]

08060993                           USD[20.00]

08061000                           SHIB[10000000], SOL[.23], USD[2.79]

08061004                           AAVE[31.30771147], BTC[0], DOGE[52525.14285935], ETH[20.48035276], ETHW[20.47496716], GRT[1], SHIB[502962206.94785408], SOL[460.812463], USD[22.33]                            Yes

08061013                           BTC[0], USD[150.00]

08061014                           USD[0.00]                                                                                                                                                                      Yes

08061018                           DOGE[1], ETH[.17088581], ETHW[.17059721], GRT[1.00202948], SHIB[1], TRX[8512.56874648], USD[0.00]                                                                              Yes

08061031                           DOGE[1], USD[0.00]

08061034                           BRZ[1], BTC[.04448678], CUSDT[2], TRX[1], USD[0.00]                                                                                                                            Yes

08061038                           CUSDT[1], DOGE[1], SHIB[1], USD[3.19]                                                                                                                                          Yes

08061043                           USD[0.53]

08061049                           BRZ[1], CUSDT[3], SHIB[.00000003], SOL[.00000929], TRX[1.01959084], USD[0.01]                                                                                                  Yes

08061050                           SHIB[130975.76948264], USD[0.00], USDT[1]

08061054                           SHIB[381582.14102322], USD[0.00]                                                                                                                                               Yes

08061059                           CUSDT[3], SHIB[1867012.86555273], USD[0.00]                                                                                                                                    Yes

08061067                           BTC[.03188874], CUSDT[1], ETH[.1136605], ETHW[.11254392], USD[0.00]                                                                                                            Yes

08061078                           CUSDT[3], DOGE[401.670427], ETH[.02722168], ETHW[.02687968], SOL[.12698543], USD[81.62]                                                                                        Yes

08061083                           BTC[.00000008], SHIB[17.6482789], USD[0.00]

08061093                           BTC[.00008001], ETH[.00116596], ETHW[.00115228], SOL[.02081106], USD[10.84]                                                                                                    Yes

08061097                           USD[3.72]

08061106                           BRZ[1], DOGE[2], ETHW[.74801794], SOL[.00028278], TRX[1], USD[0.01], USDT[1]

08061121                           USD[0.01]                                                                                                                                                                      Yes

08061126                           SOL[46.58644], USD[5017.33]

08061136                           ETH[.11682701], ETHW[.1156951], TRX[1], USD[0.00]                                                                                                                              Yes

08061150                           CUSDT[1], SHIB[1709986.32010943], USD[0.00]

08061155                           USD[1362.41], USDT[0]

08061157       Contingent,         BTC[0], ETH[0], ETHW[0], SOL[0.00249000], USD[2.00]
               Unliquidated
08061158                           NFT (407348492954402585/Imola Ticket Stub #2368)[1], SOL[0], USD[0.00]

08061159                           USD[0.00]

08061163                           BRZ[1], CUSDT[1], USD[2.00]                                                                                                                                                    Yes

08061165                           BRZ[1], CUSDT[2], DOGE[1], SOL[5.86839727], USD[0.00]                                                                                                                          Yes

08061167                           BAT[1], DOGE[1], GRT[1], USD[0.00], USDT[1]

08061172                           EUR[0.13], USD[0.56]

08061174                           BRZ[1], USD[0.01], USDT[198.57350749]

08061177                           USD[20.00]

08061181                           CUSDT[3], USD[0.00]

08061183                           BRZ[1], CUSDT[2], USD[0.00]

08061184                           TRX[1], USD[0.00]                                                                                                                                                              Yes

08061193                           DOGE[1], USD[0.01]                                                                                                                                                             Yes

08061197                           DOGE[1], ETH[.02259047], ETHW[.02231007], USD[0.00]                                                                                                                            Yes
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                                                                                                                                         Customer Claims                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08061199                           BTC[.36420229], USD[0.58]

08061201                           CUSDT[1], USD[0.00]                                                                                                                                                        Yes

08061202                           BTC[.02156823], USD[0.83]

08061204                           TRX[.000001], USD[8.96], USDT[0]

08061208                           BTC[.00804044], SOL[8.19214100], USD[0.01]

08061212                           USD[0.00]                                                                                                                                                                  Yes

08061214                           CUSDT[1], SOL[.43965406], USD[0.00]                                                                                                                                        Yes

08061215                           CUSDT[1], DOGE[2], GRT[1], LINK[0], SHIB[1], TRX[1], USD[94.67], USDT[0.00182005]                                                                                          Yes

08061217                           BRZ[1], CUSDT[1], USD[0.06]                                                                                                                                                Yes

08061219                           USD[0.00]

08061220                           CUSDT[1], ETH[.875367], ETHW[.87499946], GRT[1], NFT (575381563452462853/SOLYETIS #5277)[1], SOL[1.96681066], USD[0.00]                                                    Yes

08061227                           CUSDT[1], SHIB[464175.31411943], USD[0.00]                                                                                                                                 Yes

08061232                           SOL[18.48], USD[1262.64]

08061235                           USD[27.10]                                                                                                                                                                 Yes

08061239                           USD[0.00]

08061243                           SOL[.06]

08061253                           BTC[.00012941], CUSDT[1], SOL[.05410853], USD[0.00]

08061254                           BRZ[1], CUSDT[1], SOL[3.60855459], TRX[1], USD[0.05]                                                                                                                       Yes

08061255                           USD[5.00]

08061261                           USD[0.00], USDT[0]                                                                                                                                                         Yes

08061275                           BTC[0], SOL[.00000001], USD[0.09]

08061276                           SHIB[11931062.78287534], USD[0.03]                                                                                                                                         Yes

08061282                           DOGE[48.80602091], SHIB[920396.58331318], USD[9.62], USDT[0]                                                                                                               Yes

08061290                           BRZ[1], CUSDT[7], DOGE[31.4274213], ETH[.0070245], ETHW[.00694242], SHIB[128111.85527909], TRX[2], USD[0.00], USDT[0.00007766]                                             Yes

08061295                           BTC[0], CUSDT[.00002127], LTC[0.00000129], TRX[.00000075], USD[0.00]                                                                                                       Yes

08061298                           SOL[.27670658], TRX[1], USD[0.00]

08061300                           SHIB[1343591.90297406], USD[0.00]                                                                                                                                          Yes

08061304                           USD[2.67]

08061318                           BTC[.00602177], SHIB[1000000], USD[1401.42]

08061323                           ETHW[.01202951], SHIB[492704.4768414], USD[18.13]                                                                                                                          Yes

08061330                           USD[1.00]

08061332                           CAD[0.00], USD[316.48]

08061335                           BRZ[1], DOGE[2], GRT[1], SHIB[1], TRX[1], USD[0.00]                                                                                                                        Yes

08061342                           USD[0.47], USDT[.11833475]

08061344                           USD[299.81]

08061355                           DOGE[2], USD[13.00], USDT[1]

08061361                           LTC[0], MATIC[0], NFT (320972178068600838/Prayer worriers #2)[1], NFT (352572553145695513/Prayer worriers #4)[1], NFT (390917448810694362/Prayer worriers #3)[1], NFT
                                   (558711247066586202/Prayer worriers)[1], SOL[0], USD[0.33]
08061364                           BAT[19.27340851], CUSDT[5], DOGE[281.69916916], SHIB[6708802.46793741], SOL[2.40837326], USD[0.04]                                                                         Yes

08061374                           USD[0.01]                                                                                                                                                                  Yes

08061377                           CUSDT[2], GRT[1], USD[0.01]                                                                                                                                                Yes

08061380                           BRZ[1], SOL[2.14374911], USD[0.03]                                                                                                                                         Yes

08061385                           USD[0.00]

08061391                           CUSDT[1], SHIB[374095.19101644], USD[0.00]                                                                                                                                 Yes

08061395                           USD[0.01]                                                                                                                                                                  Yes

08061404                           BAT[1.01450585], BRZ[1], CUSDT[2], MATIC[11.34773331], SOL[1.67179372], USD[0.18]                                                                                          Yes

08061413                           BRZ[2], BTC[.00000002], DOGE[.00226929], LINK[.06071079], NFT (348791051805433211/Doak Walker's Playbook: Cleveland Brown vs. Detroit Lions - December 27, 1953 #91)[1],   Yes
                                   SHIB[633616.27914471], TRX[.89905427], USD[0.00], USDT[0.00037886]
08061422                           USD[541.18]                                                                                                                                                                Yes

08061426                           BTC[.0000992], ETH[.003], ETHW[.013], SOL[.07], SUSHI[2], USD[0.01], USDT[0.00000001]

08061427                           USD[5.38]                                                                                                                                                                  Yes

08061428                           BAT[388], ETH[.06], ETHW[.06], MATIC[179.829], USD[3680.44], USDT[0]

08061429                           DOGE[1], ETH[0.16670893], ETHW[0.16670893], GRT[1], SHIB[1], USD[0.00]

08061445                           TRX[44.17885686], USD[0.00]

08061446                           BTC[.00160616]

08061447                           USD[210.01]                                                                                                                                                                Yes

08061460                           BTC[.00758951], DOGE[1], TRX[2], USD[13.19]

08061472                           AAVE[0], CUSDT[3], ETH[0]

08061483                           CUSDT[2], TRX[.00538672], USD[0.00]                                                                                                                                        Yes

08061487                           BTC[0], ETH[0], ETHW[0], SOL[0], USD[0.00], USDT[0]                                                                                                                        Yes
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08061504                              BRZ[1], CUSDT[.02638321], SHIB[3378453.10309645], TRX[1], USD[13.86]                                                                                                               Yes

08061506                              DOGE[9], KSHIB[129.87], SHIB[100000], SOL[3.45939], SUSHI[1.5], USD[0.64]

08061520                              BRZ[1], CUSDT[10], MATIC[235.78422644], SHIB[6], TRX[1], USD[-22.62]                                                                                                               Yes

08061523                              CUSDT[1], MATIC[141.70664628], USD[0.00]                                                                                                                                           Yes

08061527                              CUSDT[2], SHIB[8769744.40427612], USD[0.01]

08061532                              ETHW[8.53014195]                                                                                                                                                                   Yes

08061533                              BRZ[1], CUSDT[4], DOGE[1], LINK[1.08052996], USD[0.01]                                                                                                                             Yes

08061535                              AAVE[2.7555], BAT[803.945], BCH[1.552364], BTC[.03173168], DOGE[327.501], ETH[.749227], ETHW[.749227], GRT[1061.472], LINK[32.6641], LTC[14.16921], MKR[.177465], SHIB[7851600],
                                      SOL[3.0299], SUSHI[101.901], TRX[178.222], USD[5.38]
08061536                              BTC[.00015964], DOGE[20.19286967], LTC[.02193614], USD[0.50]                                                                                                                       Yes

08061537                              BTC[.00111844], ETH[.01134035], ETHW[.01120355], SHIB[54286.18058799], TRX[1], USD[0.00]                                                                                           Yes

08061544                              BTC[0], DOGE[1], ETH[0.00004000], ETHW[0.00004000], SHIB[.00000853], TRX[2], USD[0.18]

08061551                              BTC[.00074339], CUSDT[8], TRX[511.04190363], USD[0.82]                                                                                                                             Yes

08061553                              CUSDT[1], USD[0.00]                                                                                                                                                                Yes

08061555                              TRX[0], USD[0.00]

08061558                              BRZ[1], SOL[2.1501605], USD[0.00]                                                                                                                                                  Yes

08061561                              BTC[.0000565], UNI[.04812981], USD[0.00]

08061566                              USD[0.01]                                                                                                                                                                          Yes

08061574                              BAT[1], BRZ[2], BTC[.00895045], CUSDT[3], DOGE[3983.21534371], ETH[1.83337801], ETHW[1.83260797], SHIB[4660085.46240334], TRX[3], USD[1.69]                                        Yes

08061587                              BTC[.00024289], CUSDT[2], DOGE[1], USD[0.00]                                                                                                                                       Yes

08061594                              CUSDT[1], SHIB[938792.83247859], USD[0.00]                                                                                                                                         Yes

08061597                              SHIB[9990000], USD[7.50]

08061598                              TRX[2083.896192]

08061605                              BTC[.00172747], DOGE[1], USD[0.00]                                                                                                                                                 Yes

08061608                              LTC[0], NFT (396616872063951514/Sigma Shark #1016)[1], NFT (435345714777130140/2990)[1], NFT (464012438118818478/Sigma Shark #2741)[1], NFT (566149651622449910/Sigma Shark
                                      #7164)[1], SOL[0], USD[0.00]
08061618       Contingent, Disputed   ETHW[.02766154], USD[0.09]

08061620                              BTC[0], USD[0.01], USDT[0]

08061621                              BTC[0.00014827], DOGE[.855], LINK[.0594], SOL[.00141], USD[0.00]

08061623                              BTC[0], USD[0.01], USDT[0]

08061625                              ETH[.10743574], ETHW[.10743574], SOL[1], TRX[1500], USD[104.58]

08061627                              BAT[82.14417402], BCH[.20826389], BRZ[2], BTC[.00803615], CUSDT[148.54254959], DOGE[649.22367784], ETH[.12312997], ETHW[.12195854], LTC[1.29706068], MATIC[4.31834178],            Yes
                                      SHIB[16937759.9761131], SOL[3.30357983], TRX[7], USD[0.41]
08061638                              CUSDT[2], DOGE[19.8870546], SHIB[73010.70663575], TRX[28.76487142], USD[0.53]                                                                                                      Yes

08061641                              NFT (442255825641675642/Little Rocks #907)[1], SOL[6.48857736]

08061644                              USD[0.20]

08061645                              USD[0.16]

08061655                              USD[0.02]                                                                                                                                                                          Yes

08061664       Contingent, Disputed   BCH[0]                                                                                                                                                                             Yes

08061680                              USD[27.10]                                                                                                                                                                         Yes

08061682                              USD[0.00], USDT[0]

08061686                              CUSDT[1], DOGE[1], SOL[2.61154901], TRX[1], USD[0.00]                                                                                                                              Yes

08061702                              NFT (418499458383575199/FTX - Off The Grid Miami #7238)[1]

08061712                              SHIB[13386600], USD[2.73]

08061721                              BTC[0], DOGE[3.58447214], SHIB[2], SOL[0], USD[151.37]                                                                                                                             Yes

08061729                              DOGE[1], SHIB[844594.59459459], USD[0.00]

08061731                              SHIB[1], SOL[4.00896187], USD[15.88]                                                                                                                                               Yes

08061733                              BAT[3.82418198], BTC[.00015188], CUSDT[1], DOGE[40.72102062], SUSHI[1.15988548], USD[0.00]                                                                                         Yes

08061734                              USD[0.01], USDT[.354]

08061736                              BRZ[1], CUSDT[1], ETH[.05167575], ETHW[.05167575], SOL[1.00132559], USD[0.00]

08061746                              USD[20.00]

08061749                              CUSDT[1], DOGE[1], TRX[409.90821413], USD[0.66]

08061764                              USD[0.00], USDT[0.00000001]

08061772                              USD[10.00]

08061779                              BF_POINT[100], USD[0.00], USDT[0.00000001]                                                                                                                                         Yes

08061792                              BCH[0], BTC[0], ETH[0], SHIB[0], SOL[0], USD[0.39], YFI[0]                                                                                                                         Yes

08061793                              BTC[.0011937], CUSDT[2], ETH[.02144901], ETHW[.02144901], SOL[1.19230649], TRX[1], USD[25.00]

08061808                              NFT (502580678429519303/Coachella x FTX Weekend 1 #28735)[1], SOL[3.53763736], USD[9.06]                                                                                           Yes

08061809                              ETHW[1.480449], USD[757.12]

08061818                              SOL[.00096909]                                                                                                                                                                     Yes
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08061825                              BRZ[2], BTC[.00000002], CUSDT[2], TRX[2], USD[0.01]                                                                                                                                     Yes

08061833                              CUSDT[2], SHIB[6753617.38149801], USD[0.00]                                                                                                                                             Yes

08061836                              NFT (464629634534112564/Imola Ticket Stub #410)[1]

08061850                              BRZ[1], CUSDT[1], USD[0.00]

08061855                              ETH[0], MATIC[0], SOL[0], USD[99.85]

08061858                              BTC[.18838277], CUSDT[2], DOGE[1], ETH[2.30074895], ETHW[2.29978262], SOL[1.07376594], TRX[5], USD[0.01], USDT[1.07376594]                                                              Yes

08061860                              USD[37.95]                                                                                                                                                                              Yes

08061868                              USD[108.36]                                                                                                                                                                             Yes

08061873                              SHIB[1], USD[0.00]                                                                                                                                                                      Yes

08061881                              BTC[.000236]                                                                                                                                                                            Yes

08061884                              AAVE[.00831], BTC[0], DOGE[.748], ETH[.0009814], ETHW[0.00098140], LINK[.079], LTC[.00742], NFT (408021364662876170/Round Boiz)[1], NFT (511240247362859913/MILFS)[1], SOL[.00656],
                                      SUSHI[.3865], TRX[.338], UNI[.0117], USD[0.00], USDT[4.51013699]
08061885                              SHIB[21100.05226781], USD[0.00]                                                                                                                                                         Yes

08061889                              USD[0.01], USDT[.72538163]

08061891                              BRZ[1], CUSDT[3], DOGE[162.35494026], KSHIB[129.82609016], SHIB[23236409.94500767], TRX[1], USD[0.23]                                                                                   Yes

08061894                              SOL[.6], USD[0.61]

08061895                              USD[0.00]

08061899                              USD[0.88]

08061901                              BAT[1], BRZ[2], MATIC[1], TRX[1], USD[0.01]

08061902                              CUSDT[1], SHIB[1], TRX[2001.20839566], USD[59.75]

08061903                              CUSDT[18], NFT (339162770799530648/Shannon Sharpe's Playbook: Denver Broncos vs. Los Angeles Raiders - January 9, 1994 #83)[1], SHIB[4], USD[0.14]                                      Yes

08061914                              NFT (292888130396872280/Megalodon Rogue Shark Tooth)[1], NFT (313338910929767415/Megalodon Rogue Shark Tooth)[1], NFT (319830382747069650/Megalodon Rogue Shark Tooth)[1], NFT
                                      (335354476160154371/Megalodon Rogue Shark Tooth)[1], NFT (338808683607436875/Megalodon Rogue Shark Tooth)[1], NFT (342507033957994078/Megalodon Rogue Shark Tooth)[1], NFT
                                      (361282758601158900/Megalodon Rogue Shark Tooth)[1], NFT (379625094021026902/Megalodon Rogue Shark Tooth)[1], NFT (425306692283308911/Megalodon Rogue Shark Tooth)[1], NFT
                                      (439291992084353619/Megalodon Rogue Shark Tooth)[1], NFT (454763483660291887/Megalodon Rogue Shark Tooth)[1], NFT (456176997474957842/Megalodon Rogue Shark Tooth)[1], NFT
                                      (480684474758723721/Megalodon Rogue Shark Tooth)[1], NFT (497097684648638519/Megalodon Rogue Shark Tooth)[1], NFT (506495983516679968/Megalodon Rogue Shark Tooth)[1], NFT
                                      (514409034645518488/Megalodon Rogue Shark Tooth)[1], NFT (539841006649774358/Megalodon Rogue Shark Tooth)[1], NFT (556514257096423399/Megalodon Rogue Shark Tooth)[1], NFT
                                      (567437504143678012/Megalodon Rogue Shark Tooth)[1], NFT (569241485104500095/Megalodon Rogue Shark Tooth)[1], NFT (574051667094170619/Megalodon Rogue Shark Tooth)[1], SOL[.67]

08061921                              USD[0.00]

08061926                              ALGO[23.03973441], AVAX[.33888679], BAT[25.39084377], BRZ[48.50665157], BTC[.00062856], CUSDT[1], DAI[26.0516408], DOGE[432.99279921], ETH[.00932862], ETHW[.00921684], GBP[27.77], Yes
                                      GRT[22.16354278], KSHIB[1064.94404054], LINK[.1327844], LTC[.14528751], MATIC[9.52627001], MKR[.02279527], SHIB[796635.25817223], SUSHI[11.46405122], TRX[99.13379391],
                                      UNI[1.4736528], USD[3.25], USDT[10.439197], YFI[.00134024]
08061928                              BTC[0], SOL[27.13543456], USD[0.47]                                                                                                                                                 Yes

08061933                              BTC[.00032966], CUSDT[1], DOGE[.00040011], USD[21.59]                                                                                                                                   Yes

08061952                              USD[0.00]

08061955                              SOL[1.01139677]

08061960                              BTC[.00844344], CUSDT[27], DOGE[2], ETH[.11862129], ETHW[.11862129], SHIB[6], SOL[1.2612843], TRX[3], USD[0.00]

08061961                              BTC[.00030158], CUSDT[6], DOGE[57.32543805], ETH[.04089566], ETHW[.0403895], LINK[.46465925], LTC[.07080201], SOL[.06484185], TRX[1], USD[0.01]                                         Yes

08061966       Contingent, Disputed   CUSDT[1], DOGE[1], SHIB[4669460.41611407], USD[0.00]

08061970                              ETHW[.54565353]                                                                                                                                                                         Yes

08061971                              ETH[0], NFT (301095995401185788/2974 Floyd Norman - CLE 1-0024)[1], NFT (536792566661924492/2974 Floyd Norman - OKC 6-0251)[1], USD[0.00]

08061972                              BCH[.00000614], BRZ[5], BTC[.00000008], DOGE[5], ETH[.00000379], ETHW[.00000379], MATIC[.00030102], NFT (301142490043483567/Ether deer)[1], SHIB[61.21667288], SOL[.00000976], TRX[5], Yes
                                      USD[0.01], USDT[0], YFI[.00000003]
08061975                              USD[0.88], USDT[0]                                                                                                                                                                     Yes

08061978                              BAT[0], BCH[0], BTC[0], GRT[0], LINK[0], LTC[0], MATIC[0], MKR[0], PAXG[0], SUSHI[0], UNI[0], USD[0.00], USDT[0], WBTC[0], YFI[0]

08061981                              ETH[.001], ETHW[.001], USD[0.35]

08061985                              SHIB[63800], USD[0.00]

08061990                              SOL[.00000001]

08062006                              BTC[0], SUSHI[0], USD[0.00]

08062011                              CUSDT[1], ETH[0.00000059], ETHW[0.00000059], TRX[2], USD[0.00]                                                                                                                          Yes

08062015                              DOGE[37.77148253]

08062016                              BRZ[1], BTC[.00319316], CUSDT[1], ETH[.02109387], ETHW[.02109387], USD[0.00]

08062019                              USD[6.84]                                                                                                                                                                               Yes

08062023                              BTC[.00155527], CUSDT[1], SOL[.4308205], USD[0.00]                                                                                                                                      Yes

08062033       Contingent, Disputed   CUSDT[4], DOGE[123.33764396], SHIB[501315.1637758], SUSHI[0], TRX[1.00339007], USD[0.00], USDT[.06368928]                                                                               Yes

08062036                              BRZ[1], BTC[.00277429], CUSDT[6], NFT (300290728637253717/#2994)[1], NFT (374716049670458031/#2823)[1], NFT (389501952714882468/#3954)[1], SHIB[4], SOL[.8776339], TRX[3], USD[29.84]   Yes

08062045                              NFT (492277522749995361/Sigma Shark #5796)[1], NFT (567660855691901437/Sigma Shark #6567)[1]                                                                                            Yes

08062049                              ETH[0], USD[9.22]

08062051                              BTC[.00012825], ETH[0], SOL[0]                                                                                                                                                          Yes

08062056                              USD[0.36]

08062069                              CUSDT[1], SHIB[263.05586671], SOL[.4291554], USD[0.00]                                                                                                                                  Yes

08062071                              BRZ[1], CUSDT[3], DOGE[3], GRT[1568.62647475], SOL[8.90146618], TRX[14423.12214849], USD[0.00]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08062076                           ETH[2.41192891], ETHW[2.41192891], SOL[63.22687664], USD[6.80], USDT[1.1858846]

08062081                           NFT (432579972555036872/DRIP NFT)[1], SOL[3.95765283]                                                                                                                            Yes

08062082                           USD[15.37]

08062084                           USD[0.00], USDT[0.00000034]

08062089                           BCH[.00807502], BTC[.00012449], CUSDT[1], LTC[.02252146], USD[2.18]                                                                                                              Yes

08062091                           SHIB[899100], SUSHI[11.988], USD[71.39]

08062094                           USD[0.00]

08062102                           CUSDT[1], DOGE[1123.7049478], USD[0.00]

08062103                           CUSDT[1], SOL[.00000453], USD[0.00]                                                                                                                                              Yes

08062109                           BTC[.3263617], SOL[30.58938], USD[3.96]

08062111                           AAVE[0], CUSDT[1], GRT[0], MATIC[0], SOL[0.00000495], SUSHI[0], UNI[0], USD[0.00]                                                                                                Yes

08062112                           DOGE[1], LTC[.00001744], USD[0.00]                                                                                                                                               Yes

08062120                           NFT (471811741924091032/Lunarian #5824)[1], USD[0.00]                                                                                                                            Yes

08062121                           NFT (308562375547540829/moodCard #201)[1], NFT (332854806248337576/moodCard #180)[1], NFT (376474580649042179/moodCard #189)[1], NFT (425566891558181280/moodCard #208)[1],
                                   NFT (445350671776939720/moodCard #247)[1], NFT (474314409852967499/moodCard #152)[1], NFT (519714542425507312/moodCard #85)[1], NFT (531752357388847399/moodCard #197)[1]

08062122                           ETHW[0.21640699]

08062134                           BTC[.00026711], CUSDT[2], USD[0.00]                                                                                                                                              Yes

08062136                           SOL[.38961], USD[2.70]

08062138                           SOL[78.96474], USD[0.00]

08062140                           BTC[0], DAI[0], ETH[0], ETHW[0], MATIC[0], SOL[-0.00000002], USD[0.65], USDT[0]

08062141                           BRZ[3], BTC[.00258593], CUSDT[3], LTC[.64541079], TRX[1], USD[0.00]                                                                                                              Yes

08062142                           USD[0.00]

08062146                           SHIB[1700000], USD[2.46]

08062155                           USD[0.00]                                                                                                                                                                        Yes

08062157                           ETH[.00875592], ETHW[.00864648], SHIB[1], USD[0.00]                                                                                                                              Yes

08062159                           BAT[1.01337619], CUSDT[1], SOL[4.84030043], USD[0.00]                                                                                                                            Yes

08062169                           AVAX[6.54764591], BTC[.06106485], ETH[.07055847], ETHW[.07055847], EUR[798.00], USD[0.15]

08062177                           BAT[1.01003343], BRZ[5.05254031], DAI[10.05159938], DOGE[3], ETH[.00000282], GRT[2.00602181], SHIB[3], SOL[.00003576], SUSHI[1.03138649], TRX[1], USD[0.00]                      Yes

08062178                           USD[0.51]

08062186                           USD[0.00]                                                                                                                                                                        Yes

08062190                           SOL[0], TRX[1]

08062196                           BRZ[1], CUSDT[507.60647256], KSHIB[.00003662], LINK[3.12451048], MATIC[106.58027944], SHIB[6241425.0229664], SOL[1.06431675], SUSHI[10.33921008], TRX[323.73289043], USD[0.31]   Yes

08062201                           USD[0.01]                                                                                                                                                                        Yes

08062212                           USD[1.32]

08062217                           ETH[0.00030000], ETHW[0.00030000]

08062218                           DOGE[0], USD[0.00], USDT[0]                                                                                                                                                      Yes

08062219                           CUSDT[1], SHIB[0], USD[0.13]                                                                                                                                                     Yes

08062224                           BRZ[1], BTC[.01337693], CUSDT[9], DOGE[2], ETH[.81063254], ETHW[.81029214], GRT[1], MATIC[323.5966502], SOL[2.14615458], TRX[3], USD[0.01]                                       Yes

08062225                           ETH[0], USD[2.28]

08062255                           USDT[1.1789072]

08062260                           BAT[0], BRZ[1], DOGE[4], ETH[0], ETHW[0], MATIC[0], SHIB[9], TRX[3], USD[242.42]                                                                                                 Yes

08062265                           CUSDT[3], ETH[.00619184], ETHW[.00610976], GRT[20.71979531], TRX[1], USD[55.70]                                                                                                  Yes

08062267                           NFT (391456383117158619/Coachella x FTX Weekend 1 #24508)[1]

08062270                           NFT (311222756611797620/Coachella x FTX Weekend 1 #12507)[1]

08062273                           BCH[.16823191], BTC[.00126338], CUSDT[4919.7107284], ETH[.04482647], ETHW[.04426719], TRX[197.53783275], USD[0.13]                                                               Yes

08062275                           USD[2.06]

08062278                           CUSDT[1], ETH[.00388348], ETHW[.0038297], MATIC[1.82180556], TRX[64.97157023], USD[0.00]                                                                                         Yes

08062281                           AVAX[2.48077990], BTC[0.00565670], ETH[0.09525886], ETHW[0], MATIC[32.89644011], SHIB[356.40805604], SOL[1.64157104], USD[273.44]

08062282                           BRZ[2], CUSDT[11], DOGE[1085.13060008], SHIB[8], TRX[7], USD[0.00]                                                                                                               Yes

08062294                           USD[8.96]                                                                                                                                                                        Yes

08062301                           USD[10.00]

08062308                           BF_POINT[200], BTC[.00000796], LTC[0], USD[0.11], USDT[0.00000001]                                                                                                               Yes

08062315                           ETH[.214], ETHW[.214], USD[4.42]

08062323                           DOGE[1276.51811762], SHIB[2], USD[0.01]                                                                                                                                          Yes

08062333                           BTC[.0000004], CUSDT[2], ETH[0.00282349], ETHW[.00002812], NFT (435482975965477324/Coachella x FTX Weekend 1 #30116)[1], SHIB[1], SOL[.5924316], USD[30.48]                      Yes

08062334                           BRZ[1], CUSDT[2], DOGE[1], USD[0.00]                                                                                                                                             Yes

08062336                           BAT[.055], ETH[.00035235], ETHW[.00035235], MATIC[9.5], USD[4.02], USDT[.4308624]

08062343                           ETH[.01709205], ETHW[.01709205], SHIB[1], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08062344                              NFT (378559710225497915/FTX Crypto Cup 2022 Key #2509)[1], SHIB[8600000], USD[5.17]

08062349                              NFT (451547929619067962/Magic Eden Pass)[1], USD[2.42]

08062378                              BTC[.00015806], DOGE[1], USD[0.00]                                                                                                                                                  Yes

08062391                              USD[35.01]

08062394                              CUSDT[1], USD[0.00]                                                                                                                                                                 Yes

08062398                              SOL[.04741758], USD[0.63]

08062413                              AVAX[5.08329487], CUSDT[2], SHIB[9], TRX[1], USD[0.00]                                                                                                                              Yes

08062437                              USD[0.00]

08062445                              BTC[.0003996], USD[0.30]

08062447                              USD[100.00]

08062449                              CUSDT[2], DOGE[472.77512934], SHIB[2], USD[0.00]

08062450                              BRZ[1], BTC[.00525162], CUSDT[2], DOGE[1], MATIC[287.54469025], SHIB[1], SOL[1.08266772], USD[0.00]                                                                                 Yes

08062452                              BTC[.00022419], ETH[.00313415], ETHW[.00313415], USD[0.00]

08062453                              BTC[.00006238], ETH[.0000627], ETHW[.6670627], LTC[.003503], SOL[.000531], USD[3625.63], USDT[0.00254401]

08062461                              USD[0.00]

08062466                              CUSDT[1], USD[0.00]                                                                                                                                                                 Yes

08062478                              BTC[0.00000003], CUSDT[1], SOL[0], TRX[1], USD[0.00]

08062483                              BRZ[1], BTC[.00101079], DOGE[2], SHIB[12], SOL[10.63624933], TRX[1], USD[123.67]                                                                                                    Yes

08062486                              TRX[.000001]

08062494                              BTC[.0035982], DOGE[499.75], ETH[.1], ETHW[.1], LINK[5], SHIB[2497500], SOL[.999], TRX[1600.398], USD[209.72]

08062495                              USD[0.53]                                                                                                                                                                           Yes

08062500                              BTC[.01543226], DOGE[563.20295593], SOL[.03970656], USD[2.64]

08062509                              BAT[1], BF_POINT[300], BTC[.0000045], ETHW[.79592228], USD[0.01]                                                                                                                    Yes

08062510                              SOL[.00024086]                                                                                                                                                                      Yes

08062512                              BAT[2], BRZ[12.20975839], BTC[.03835912], CUSDT[5], DOGE[52.64784825], ETH[.02453616], ETHW[1.62742311], GRT[2], KSHIB[423.92579458], SHIB[210], SOL[52.62301574], TRX[55.55384423], Yes
                                      USD[0.01]
08062519                              SOL[.19981], USD[0.81]

08062520                              ETH[0], USD[0.01], USDT[0]

08062521                              USD[0.00]

08062523                              SOL[8.96103], USD[4.50]

08062529                              USD[0.00]

08062530                              TRX[1], USD[0.00]                                                                                                                                                                   Yes

08062543                              NFT (327068749915494207/Kira)[1], NFT (334761080458801001/Effects Series#1)[1], NFT (455139743357565346/Effects Series#2)[1], NFT (503473943405820094/Effects Series)[1]

08062546                              BTC[.00169757], CUSDT[1], USD[0.00]                                                                                                                                                 Yes

08062563                              BCH[0], CUSDT[4], TRX[3], USD[0.00]                                                                                                                                                 Yes

08062567                              DOGE[1], MATIC[.00240174], TRX[1], USD[0.00], USDT[0]                                                                                                                               Yes

08062568                              CUSDT[1], SHIB[865201.59197092], USD[0.01]

08062570                              USD[0.00]                                                                                                                                                                           Yes

08062579                              CUSDT[1], SOL[.42996997], USD[108.41]                                                                                                                                               Yes

08062580                              USD[0.00]

08062588                              BRZ[1], CUSDT[1], ETH[.00000029], ETHW[0.00000029], USD[0.00]                                                                                                                       Yes

08062590                              KSHIB[58.52821668], MATIC[1.5051488], USD[0.00]                                                                                                                                     Yes

08062591                              CUSDT[4], SOL[0], TRX[1], USD[0.00]                                                                                                                                                 Yes

08062598                              BRZ[2], DOGE[2], GRT[1], TRX[3610.89872064], USD[0.00], USDT[0]

08062613                              USD[5.15]

08062614                              BTC[.00015826], USD[0.00]

08062617                              CUSDT[493.10402822], KSHIB[189.13786168], SHIB[187719.19677315], TRX[287.01933557], UNI[1.22500418], USD[10.84]                                                                     Yes

08062631                              BRZ[1], DOGE[5], GRT[2], MATIC[.00408873], NFT (331629862641765519/SOLYETIS #788)[1], NFT (360326178333233435/Eitbit Ape #3804)[1], NFT (374446298173138576/SOLYETIS #8450)[1],     Yes
                                      NFT (376157806687295666/DarkPunk #3096)[1], NFT (405574825000988096/Fancy Frenchies #8897)[1], NFT (447122480973172089/SOLYETIS #7048)[1], NFT (469953973160347136/SOLYETIS
                                      #2340)[1], NFT (551829456514357191/Eitbit Ape #4711)[1], SHIB[4], SOL[18.51151225], TRX[10], USD[0.00], USDT[1.06643294]
08062633                              USD[0.00], USDT[0]

08062634       Contingent, Disputed   USD[10.21]                                                                                                                                                                          Yes

08062638                              CUSDT[2], NFT (499109674739947992/Solana Huskies #115)[1], SOL[0], USD[0.01]                                                                                                        Yes

08062644                              AAVE[.01639623], BAT[8.09926211], BTC[.00088099], CUSDT[4], ETH[.01318023], ETHW[.01301607], LINK[.15153769], MATIC[.52759934], MKR[.00030438], SOL[.12368493], UNI[.03853449],     Yes
                                      USD[0.00]
08062646                              BAT[1.00340299], BRZ[1], CUSDT[1], ETH[0.51551866], ETHW[0.51530200], MATIC[1496.58422562], SHIB[1], SOL[4.22820040], USD[0.00]                                                     Yes

08062650                              BF_POINT[100]

08062654                              USD[0.22]

08062658                              MATIC[0], SUSHI[0], USD[0.02]                                                                                                                                                       Yes

08062659                              CUSDT[3], USD[0.00]                                                                                                                                                                 Yes

08062673                              ETH[0], ETHW[0], SOL[0], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08062680                              CUSDT[1], KSHIB[17.52320685], SHIB[357905.97508219], USD[0.00]                                                                                                                 Yes

08062684                              AVAX[0], BRZ[1], CUSDT[4], KSHIB[0], MATIC[0], NFT (398672014026577380/Bloom City #07-Rookie)[1], SHIB[1], USD[0.49]                                                           Yes

08062694                              USD[0.90]

08062712                              ETH[.11135312], ETHW[.11024915], GRT[1.00169093], USD[0.14]                                                                                                                    Yes

08062725                              BTC[.00077751], CUSDT[3], DOGE[237.89965199], ETH[.00817492], ETHW[.00807916], LINK[2.00519097], SHIB[3], SOL[.35737855], TRX[1], USD[0.00]                                    Yes

08062731                              SHIB[0], USD[0.00]

08062733                              USD[4.33]

08062736                              CUSDT[1], KSHIB[718.28167216], USD[0.00]                                                                                                                                       Yes

08062737                              SHIB[0], USD[0.00]                                                                                                                                                             Yes

08062742                              CUSDT[1], DOGE[978.48657989], ETH[.0152367], SHIB[2], TRX[1], USD[0.00]                                                                                                        Yes

08062749                              MATIC[113.72133816], TRX[1], USD[54.20]                                                                                                                                        Yes

08062752                              BRZ[55.33232344], BTC[.00015377], USD[0.00]

08062755                              AAVE[3.20884255], SOL[32.54806945]                                                                                                                                             Yes

08062763                              SOL[1.82], USD[2106.39]

08062765                              USD[0.00]

08062768                              BRZ[1], LINK[.00015151], SHIB[1], USD[98.02]                                                                                                                                   Yes

08062772                              CUSDT[1], USD[0.01], USDT[172.44643228]                                                                                                                                        Yes

08062773                              BRZ[2], BTC[.00171124], CUSDT[550.44997283], DOGE[1573.85430575], ETH[.25924496], ETHW[.25905062], MATIC[14.62938115], NFT (317753502915718598/Fortuo Distinctus #70)[1],      Yes
                                      SHIB[1642272.73958607], SOL[2.94793739], SUSHI[7.77091665], TRX[381.87177569], USD[12.53]
08062775                              BTC[1.22326509]                                                                                                                                                                Yes

08062780                              GRT[1], SOL[.00003316], TRX[1], USD[0.00]

08062800                              BTC[0], DOGE[0], ETH[0], GBP[0.00], NFT (298931357742198500/Mech #7566)[1], NFT (301438121950578328/Ravager #1183)[1], NFT (449244264821930676/Ravager #1603)[1], NFT          Yes
                                      (450865924587795919/Ravager #188)[1], SHIB[0], TRX[0], USD[0.05]
08062804                              SOL[1.97840488], USD[0.00]

08062808                              LINK[0], SHIB[5], TRX[1], USD[0.00], USDT[0]

08062813                              BAT[1.00378795], BRZ[1], CUSDT[4], DOGE[1.00035661], SUSHI[24.77570362], USD[0.00]                                                                                             Yes

08062815                              AVAX[0], DOGE[1], ETH[0.00013833], ETHW[0], SHIB[1]                                                                                                                            Yes

08062816                              USD[50.00], USDT[49.7352785]

08062821                              CUSDT[1], DOGE[426.88119864], ETH[.00131712], ETHW[.00130344], USD[0.00]                                                                                                       Yes

08062822                              CUSDT[1], UNI[1.27812041], USD[80.96]                                                                                                                                          Yes

08062823       Contingent, Disputed   CUSDT[1], GRT[12.27069114], UNI[.00000475]                                                                                                                                     Yes

08062836                              DOGE[1], SOL[.48895208], USD[0.00]

08062857                              BTC[.00022757], KSHIB[311.38155637], USD[0.00]                                                                                                                                 Yes

08062866                              DOGE[391], ETHW[.024], SHIB[2000000], SOL[.86191441], USD[7.55]

08062882                              BRZ[1], DOGE[1], ETH[.34993495], ETHW[.06323936], NFT (469137622468551462/Saudi Arabia Ticket Stub #618)[1], NFT (507695639293904220/Humpty Dumpty #216)[1], SOL[4.8628523],
                                      USD[0.00]
08062900                              CUSDT[22670], TRX[6085.908], USD[4.16]

08062907                              USD[0.29]

08062909                              CUSDT[1], SHIB[4781943.38179035], USD[250.00]

08062911                              USD[1.66]

08062912                              USDT[0.00022297]

08062919                              BTC[.01481957]                                                                                                                                                                 Yes

08062936                              SOL[.005], USD[0.01]

08062938                              CUSDT[1], USD[0.00], USDT[0]                                                                                                                                                   Yes

08062946                              BRZ[1], BTC[.00040424], CUSDT[1], DOGE[991.44092997], ETH[.05653814], ETHW[.05583766], USD[0.11]                                                                               Yes

08062948                              USD[0.00]

08062949                              NFT (311262672540594251/Megalodon Rogue Shark Tooth)[1], NFT (417116565768899471/Megalodon Rogue Shark Tooth)[1], NFT (471120070223391963/Megalodon Rogue Shark Tooth)[1]

08062952                              USD[0.01]

08062963                              BTC[.1574323], ETH[.000878], ETHW[.000878], SHIB[58316000], SUSHI[35.964], USD[1.48], USDT[38.170383]

08062966                              CUSDT[4], TRX[1], USD[0.00]                                                                                                                                                    Yes

08062977                              USD[0.00], USDT[0]

08062984                              MATIC[142.46113689], TRX[1], USD[0.00]                                                                                                                                         Yes

08062985                              CUSDT[1], SHIB[330160.00844018], TRX[1], USD[0.01]                                                                                                                             Yes

08062988                              BF_POINT[100], BTC[.00000187], CUSDT[3], ETH[.00000585], SHIB[8], USD[0.07]                                                                                                    Yes

08063000                              BTC[0.00003006], SOL[.00426], SUSHI[.0275], USD[1807.24]

08063003                              TRX[43.20141493], USD[0.00]

08063005                              USD[0.05]                                                                                                                                                                      Yes

08063011                              CUSDT[1], LINK[16.52172925], USD[0.00]                                                                                                                                         Yes

08063018                              BTC[0], CUSDT[1], DOGE[2], ETHW[.06866822], TRX[1], USD[0.01], USDT[0]

08063021                              CUSDT[1], USD[0.00]                                                                                                                                                            Yes
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                                                                                                                                            Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08063024                              CUSDT[4], DOGE[341.25958789], KSHIB[1305.56620317], SUSHI[7.48319392], UNI[2.3853235], USD[0.00]                                                                                 Yes

08063027                              DOGE[1], SHIB[1955336.87091521], USD[0.00]                                                                                                                                       Yes

08063028                              SOL[.00000001], USD[0.00], USDT[0]                                                                                                                                               Yes

08063030                              SHIB[4872886.7979967], TRX[1898.15291414], USD[44.29]                                                                                                                            Yes

08063031                              BTC[0]

08063034                              SOL[2], USD[0.22]

08063035                              BRZ[2], CUSDT[1], DOGE[6], ETH[.00000903], ETHW[.98896824], MATIC[0], SHIB[59], TRX[4], USD[73.18]                                                                               Yes

08063038                              SOL[.00119099], USD[1.84]

08063044                              BTC[.00158596], CUSDT[5], ETH[.00454263], ETHW[.00448791], MATIC[74.07773689], TRX[1919.16496732], USD[54.20]                                                                    Yes

08063048                              USD[32.35]                                                                                                                                                                       Yes

08063053                              SOL[41.681112], USD[241.08]

08063065       Contingent, Disputed   MATIC[2.28994925], USD[0.00], USDT[0.00000001]

08063066                              SOL[.01751658]

08063073                              USD[10.84]                                                                                                                                                                       Yes

08063100                              BTC[.00044799], DOGE[140.72493955], ETH[1.1731054], ETHW[1.17261274], SHIB[4], TRX[1], USD[0.00]                                                                                 Yes

08063109                              ETH[0], USD[2.05]                                                                                                                                                                Yes

08063117                              CUSDT[10], DOGE[5], ETH[0], MATIC[.00111053], SOL[.0000026], TRX[1], USD[0.00], USDT[0.00000915]                                                                                 Yes

08063118                              BTC[.25929664], CUSDT[1], ETH[.44980583], ETHW[.44961677], SOL[9.00179223], USD[0.01], USDT[1.08227561]                                                                          Yes

08063124                              BTC[0], SOL[1.22766], USD[0.00], USDT[0]

08063125                              USD[0.00], USDT[0]

08063126                              USD[108.41]                                                                                                                                                                      Yes

08063128                              CUSDT[2], LTC[0.00000109], TRX[1], USD[0.01]                                                                                                                                     Yes

08063137                              BTC[.07432647], USD[0.00]

08063156                              SOL[.5], USD[174.63]

08063158                              BTC[.00051254], ETH[1.4634433], ETHW[1.46282874], MATIC[325.16511047], SUSHI[2.16809741]                                                                                         Yes

08063159                              CUSDT[1], TRX[1], USD[0.00], USDT[0]                                                                                                                                             Yes

08063161                              CUSDT[2], SHIB[1], USD[0.00]                                                                                                                                                     Yes

08063164                              CUSDT[1231.51974755], SHIB[971552.75239384], TRX[509.92592445], USD[0.02]                                                                                                        Yes

08063169                              CUSDT[1], SOL[8.77820374], TRX[2], USD[0.01]

08063173       Contingent, Disputed   ETH[19.063], ETHW[19.063], MATIC[4650], SOL[52.7], USD[0.50]

08063176       Contingent, Disputed   BTC[0], USD[0.00]

08063199                              ETHW[50.61560376], USDT[1.41144808]

08063203                              BF_POINT[200], CUSDT[3], DOGE[2], ETH[0], MATIC[0], SHIB[3], USD[0.00], USDT[0]                                                                                                  Yes

08063205                              BRZ[1], LINK[4.0013014], USD[0.00]                                                                                                                                               Yes

08063206                              CUSDT[1], USD[0.00], USDT[.00182141]                                                                                                                                             Yes

08063213                              AAVE[.15], BTC[0.00074947], ETH[.009], ETHW[.009], LINK[1.4], LTC[.01], USD[1.18]

08063219                              BF_POINT[100], BTC[0.00001558], ETH[.00003483], ETHW[.00003483], GRT[1], USD[0.03]                                                                                               Yes

08063220                              BTC[.00046349]

08063225                              BAT[.00162357], BRZ[1], CUSDT[9], DOGE[2], GRT[3.11069077], NFT (440746841308344402/GalaxyKoalas # 824)[1], NFT (506408176683056808/GalaxyKoalas # 819)[1], SHIB[18.14772155],   Yes
                                      SOL[.00001323], SUSHI[.00032908], TRX[2], USD[0.00]
08063227                              BTC[.00004797], SOL[.001166], USD[2.01]

08063233                              BTC[.00084812], CUSDT[2], USD[0.00]                                                                                                                                              Yes

08063236                              CUSDT[3], SHIB[0], USD[0.00]                                                                                                                                                     Yes

08063244                              BTC[0], ETHW[.71801796], SOL[.00534406], TRX[2832], USD[0.03], USDT[0.02430359]

08063253                              AVAX[0], BRZ[1], BTC[0.17008792], ETH[.03266568], ETHW[.03225686], NEAR[68.35290818], SOL[0], USD[0.00], USDT[0]                                                                 Yes

08063260                              USD[1.08]                                                                                                                                                                        Yes

08063263                              SOL[46.35687106], USD[745.57]

08063265       Contingent, Disputed   BTC[.0056], ETH[.12], ETHW[.12], GRT[95], SOL[5.42999796], USD[0.42], USDT[0]

08063290                              DOGE[1], TRX[1], USD[0.00]                                                                                                                                                       Yes

08063293                              BTC[.0000759], ETH[.00099375], ETHW[.00099375], USD[50.00]                                                                                                                       Yes

08063305                              BTC[0], ETH[0], ETHW[0], USD[5.09]

08063319                              USD[500.00]

08063321                              ETH[2.997], ETHW[2.997], SOL[38.95169], USD[2.63]

08063331                              BAT[1.00984721], BRZ[16.20927964], CUSDT[20], DOGE[7.14639293], GRT[0], LINK[0], MATIC[0], SOL[0], TRX[1], USD[0.00], USDT[5.40155158]                                           Yes

08063332                              USD[0.50]

08063333                              SUSHI[139.64025233], USD[0.00]

08063334                              NFT (484165720456393278/Outcast Academy WL Envelope)[1], USD[31.40]

08063336                              BTC[.00007728], USD[0.01]                                                                                                                                                        Yes

08063341                              USD[2.00]
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                                                                                                                                         Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08063347                           SOL[.08365647], USD[0.01]

08063355                           BAT[107.65217937], BRZ[1], CUSDT[2], ETH[.06880573], ETHW[.06795173], MATIC[55.9704056], TRX[1015.14183259], USD[0.00]                                                                   Yes

08063358                           CUSDT[.00003511], USD[0.04]                                                                                                                                                              Yes

08063359                           BF_POINT[200], SHIB[12059224.4984997], USD[0.00]                                                                                                                                         Yes

08063361                           USD[0.01]

08063362                           BRZ[2], CUSDT[2], DOGE[2], ETH[2.27473727], ETHW[2.27378185], GRT[1], TRX[1], USD[2772.71]                                                                                               Yes

08063366                           CUSDT[1], SOL[.06108516], USD[0.00]

08063367                           USD[2.17]

08063371                           USD[0.31]                                                                                                                                                                                Yes

08063375                           CUSDT[2], DOGE[1], NFT (463578891786013744/Marcus Allen's Playbook: Seattle Seahawks vs. Los Angeles Raiders - October 7, 1984 #72)[1], SHIB[1264548.63467732], USD[8.87]                Yes

08063380                           CUSDT[3], GRT[31.69499078], SHIB[554381.93862932], USD[0.00]

08063382                           USD[0.00]                                                                                                                                                                                Yes

08063383                           BTC[0], ETH[0], ETHW[0], USDT[0]

08063386                           MATIC[915.87413215], NFT (293513996585162088/Censor Bird)[1], NFT (297761588152955939/Ethereum Monster #1)[1], NFT (328022018699684522/SKULL-BIT #8)[1], NFT                         Yes
                                   (335460513390227873/Heaven Gate)[1], NFT (335564439072251260/AI-generated landscape #145)[1], NFT (338210623792212815/USA Stand up)[1], NFT (351909999960377794/Techniflower #7)[1],
                                   NFT (369222078343041392/SKULL-BIT #5)[1], NFT (369986862580892888/AI-generated landscape #127)[1], NFT (370412832351948893/AI-generated landscape #144)[1], NFT
                                   (375736162798591351/AI-generated landscape #136)[1], NFT (379894854878400845/AI-generated landscape #126)[1], NFT (381313555040524883/8)[1], NFT (388090833343359314/AI-generated
                                   landscape #134)[1], NFT (388263192363852728/AI-generated landscape #143)[1], NFT (401623414900752174/AI-generated landscape #121)[1], NFT (410644335552689673/Mad Lions Remastered
                                   #16)[1], NFT (417127494820800565/AI-generated landscape #130)[1], NFT (422927421323610310/Gentleman Monkey #13)[1], NFT (434727641052098374/AI-generated landscape #120)[1], NFT
                                   (446311746051063861/Voxel Animals #15)[1], NFT (446362165463758070/AI-generated landscape #117)[1], NFT (451415802419989218/SKULL-BIT #11)[1], NFT (463413075102835178/AI-generated
                                   landscape #137)[1], NFT (472719212007681647/AI-generated landscape #123)[1], NFT (498787210627813011/HarryPotterPixel #7)[1], NFT (499023905093100882/Ape City #29)[1], NFT
                                   (505454914022598503/Mad Lions Remastered #6)[1], NFT (520625945340314882/Old Abe)[1], NFT (522005293001358407/Crystal Face #14)[1], NFT (524144664599172520/Gentleman Monkey #6)[1],
                                   NFT (541675608593208065/AI-generated landscape #141)[1], NFT (542558375245931676/Mad Lions Remastered #12)[1], NFT (566979134703474492/Skull Love #17)[1], SHIB[33631.29384569],
                                   TRX[1], USD[0.00]
08063392                           BRZ[1], CUSDT[2], ETH[.04486074], ETHW[.04430103], USD[0.00], USDT[0.00095029]                                                                                                       Yes

08063398                           USD[18.85]

08063413                           CUSDT[1], SHIB[2955665.02463054], USD[0.01]

08063416                           ETH[.00000001]

08063419                           BTC[.00401587], USD[0.01]

08063425                           BTC[.0001488], CUSDT[2], DOGE[42.81229269], ETH[.00455769], ETHW[.00450297], GRT[4.61708729], KSHIB[192.07067545], MATIC[2.83705395], SHIB[176043.25917797], SOL[.06969256],             Yes
                                   USD[14.08]
08063430                           ALGO[117.67202445], BAT[128.50836111], BRZ[251.14875316], CUSDT[4], DOGE[3623.35140747], KSHIB[4275.2362923], MATIC[64.63598297], SHIB[2861497.11084147], TRX[666.82462607],             Yes
                                   USD[0.08], USDT[82.6164743]
08063431                           AVAX[57.8], BTC[.5803], ETH[2.22], ETHW[2.22], SOL[89.66], USD[0.29]

08063433                           BTC[0], DOGE[0], ETH[0], ETHW[0.91528878], LTC[.00005076], USD[0.00]                                                                                                                     Yes

08063438                           SHIB[1], USD[0.01]

08063439                           USD[0.63]

08063440                           CUSDT[1], DOGE[189.97403098], USD[0.02]                                                                                                                                                  Yes

08063447                           GRT[1], SOL[1.00776042], USD[0.00]

08063451                           BRZ[0], DOGE[1], USD[0.00]                                                                                                                                                               Yes

08063456                           CUSDT[1], ETH[.0190077], ETHW[.0190077], USD[0.00]

08063466                           ETH[0], MATIC[0], SOL[0], USDT[0.00014822]

08063467                           USD[3657.13]

08063468                           CUSDT[498.7331041], DOGE[161.36509071], NFT (305691503091004828/Astro Stones #31)[1], NFT (490645737857828639/Marcus Allen's Playbook: Kansas City Chiefs vs. Detriot Lions - November   Yes
                                   29, 1996 #70)[1], SHIB[4999335.70420087], TRX[286.26413705], USD[22.02]
08063471                           CUSDT[0.00292831], ETH[.04256652], ETHW[.04203592], MATIC[62.6111682], SOL[1.19446242], USD[0.00]                                                                                        Yes

08063472                           BTC[0], USD[0.00], USDT[0.00000161]

08063474                           CUSDT[2], SHIB[1517959.24747983], USD[1.14]                                                                                                                                              Yes

08063483                           CUSDT[2], NFT (426241368674939481/Sigma Shark #4505)[1], SOL[.00000565], TRX[631.11080918], USDT[0.00000031]                                                                             Yes

08063486                           BTC[.00007629], ETH[.00114069], ETHW[.00112701], USD[1.08]                                                                                                                               Yes

08063488                           USD[2.00]

08063489                           BTC[.02068019], ETH[.18134679], ETHW[.1811035], SOL[1.25478814], TRX[1]                                                                                                                  Yes

08063492                           BTC[.00824723], DOGE[1], USD[0.00]                                                                                                                                                       Yes

08063493                           NFT (297147410049573040/Good Boy #1900)[1], NFT (310920929717702995/SBF Hair & Signature #7 #2)[1], NFT (312652324762214429/SBF Hair & Signature #2)[1], NFT
                                   (346246057350275838/SBF Hair & Signature #1 #2)[1], NFT (436640708176556240/SBF Hair & Signature #5)[1], NFT (473165741949173378/Romeo #804)[1], NFT (491339450595136382/SBF Hair &
                                   Signature #4 #51)[1], NFT (515628139691084856/Humpty Dumpty #46)[1], NFT (519182176574739735/SBF Hair & Signature #6)[1], NFT (521845507499129293/SBF Hair & Signature #4)[1], NFT
                                   (575522761549456196/SBF Hair & Signature #3)[1]
08063513                           TRX[.41816286], USD[1.15]

08063515                           BTC[.0039], DOGE[500], SHIB[2200000], USD[1.15]

08063518                           BTC[.0000374], ETHW[2.25700154], USD[0.00], USDT[0]

08063525                           ETH[.00000001], TRX[.011339], USD[0.33], USDT[0.00000001]

08063526                           DOGE[1], MATIC[11.38423116], SHIB[9791406.74182059], USD[0.11]                                                                                                                           Yes

08063529                           BRZ[1], CUSDT[1], SUSHI[354.35914009], USD[0.01], USDT[1.06062476]                                                                                                                       Yes

08063538                           USD[0.06]                                                                                                                                                                                Yes

08063540                           USD[0.00], USDT[.72013324]

08063542                           USD[4192.76]                                                                                                                                                                             Yes
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                                                                                                                                         Customer Claims                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08063545                           USD[0.84]                                                                                                                                                            Yes

08063552                           BTC[.00000026], SOL[.00010349]                                                                                                                                       Yes

08063555                           GRT[1.00193798], SOL[1.77190957], TRX[1], USD[0.79]                                                                                                                  Yes

08063556                           BTC[.00016587], CUSDT[1], USD[0.00]                                                                                                                                  Yes

08063563                           BTC[.00000015], SHIB[1], USD[0.00]                                                                                                                                   Yes

08063564                           BTC[0], DAI[0]

08063566                           USD[10.84]                                                                                                                                                           Yes

08063569                           BTC[.000311], NFT (490565233457497570/The Weird Apes #46)[1], NFT (536593639560199225/The Weird Apes #32)[1], USD[0.08]                                              Yes

08063574                           SOL[.37167526], USD[2460.25]

08063576                           BAT[274.725], BTC[.0050949], CUSDT[35263.61529548], ETH[.058941], ETHW[.058941], GRT[692.307], MKR[.524475], PAXG[.1187], SOL[6.80319], TRX[4654.341], USD[245.42]

08063583                           BTC[0.00313587], ETH[.02676527], ETHW[.02643695], SHIB[1], USD[0.00], USDT[0]                                                                                        Yes

08063596                           BTC[.0015984], DOGE[390.609], ETH[.02105122], ETHW[.02105122], LTC[.01078947], SOL[.20000003], USD[137.65]

08063607                           CUSDT[1], DOGE[1], SHIB[16.50464323], USD[0.80]                                                                                                                      Yes

08063608                           TRX[36.963], USD[0.00], USDT[0]

08063611                           DOGE[20.67450256], SUSHI[.89704104], TRX[47.88605988], USD[1.05]                                                                                                     Yes

08063613                           USD[0.00], USDT[0]

08063615                           LTC[.00400996], SHIB[98500], SOL[.00751], USD[18.10]

08063617                           USD[10.84]                                                                                                                                                           Yes

08063628                           SHIB[.00000899], SOL[0], USD[0.00], USDT[0.00000011]

08063629                           BTC[.0023795], SHIB[1], TRX[1], USD[0.00]                                                                                                                            Yes

08063633                           USD[10.00]

08063636                           CUSDT[1], DOGE[1], SHIB[430292.59896729], SOL[1.01678786], USD[25.01]

08063641                           SOL[169.46037], USD[19.40]

08063652                           CUSDT[1], NFT (364383504988504228/GalaxyKoalas # 575)[1], NFT (410650076853280983/GalaxyKoalas # 448)[1], SOL[.30149083], USD[0.00]

08063659                           DOGE[41.010128], SHIB[189237.8756675], USD[0.00]                                                                                                                     Yes

08063663                           CUSDT[1], SOL[1.55102061], TRX[509.6291478], USD[0.00]

08063672                           CUSDT[2], DOGE[3], SHIB[0], TRX[1], USD[0.01]

08063676                           BTC[.0011486], CUSDT[1], DOGE[1], SOL[2.06213554], TRX[2], USD[0.00]

08063682                           ETH[.00000001], ETHW[0], USD[2.81], USDT[2.69568291]

08063683                           LINK[.39073223]                                                                                                                                                      Yes

08063716                           USD[21.51]                                                                                                                                                           Yes

08063717                           SOL[3.06115671], USD[547.42]

08063719                           USD[1.00]

08063720                           AAVE[0], BAT[0], BTC[0], CUSDT[0], ETH[0], GRT[0], LTC[0], MATIC[0.01075562], MKR[0], PAXG[0], SHIB[0], SOL[0], SUSHI[0], USD[0.00], USDT[0], YFI[0]                 Yes

08063725                           SUSHI[44.457725], USD[5.47]

08063726                           BTC[.00457911], ETH[.12081567], ETHW[.12081567], SOL[2.48573654], USD[0.00]

08063727                           AVAX[0], BTC[0], USD[0.00]

08063730                           USD[0.01]                                                                                                                                                            Yes

08063738                           LINK[0], USD[0.00]

08063744                           CUSDT[4], TRX[24.01486039], USD[0.01], USDT[0.00000049]

08063745                           CUSDT[2], DOGE[106.86877689], SHIB[1378937.19128382], TRX[1], USD[0.00]

08063746                           USD[10.00]

08063753                           BTC[.00152785], USD[0.00]

08063762                           CUSDT[1], SHIB[1], SOL[5.60111527], TRX[1], USD[0.00]                                                                                                                Yes

08063769                           CUSDT[3], USD[0.00]                                                                                                                                                  Yes

08063776                           USD[0.00]

08063789                           DOGE[1], USD[0.00]

08063791                           BTC[.01328906], CUSDT[8], DOGE[1], ETH[.00228369], ETHW[.00225633], SHIB[2], SOL[1.2905263], TRX[1], USD[0.77]                                                       Yes

08063805                           SOL[39.19560762]                                                                                                                                                     Yes

08063809                           ETHW[.55978331], LINK[1], SOL[.28199128], USD[27209.15]

08063812                           USD[1179.00]

08063815                           USD[0.00]

08063827                           BF_POINT[100]

08063831                           SHIB[39000000], USD[4.28]

08063832                           USD[2.00]

08063840                           SOL[1.74122267], TRX[1], USD[108.41]                                                                                                                                 Yes

08063842                           AVAX[5.30773498], DOGE[1], ETHW[.68987705], SHIB[11397227.65891618], SOL[2.75966184], TRX[1], USD[0.01]                                                              Yes

08063843                           USD[10.00]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08063845                           NFT (466659182938366114/Gloom Punk #2093)[1], USD[0.00]

08063855                           USD[12.39]                                                                                                                                        Yes

08063880                           ETHW[.246], USD[0.30]

08063884                           NFT (391520992897064372/SOLYETIS #4082)[1], SOL[.00596348], SUSHI[4.78896105], USDT[0]

08063894                           USD[1083.18]                                                                                                                                      Yes

08063926                           AVAX[1.37639689], BRZ[1], CUSDT[5], DOGE[3], SHIB[2], SOL[1.76703981], TRX[2], USD[28.31]

08063933                           TRX[1], USD[0.01]                                                                                                                                 Yes

08063938                           ETH[19.47112581], ETHW[19.47112581], USD[0.88], USDT[.00103]

08063940                           BRZ[1], BTC[.00260797], CUSDT[29], DOGE[325.85537367], ETH[.03925348], ETHW[.0387641], SHIB[2254035.60015375], SOL[.88808571], USD[4.45]          Yes

08063944                           MATIC[6.78405938], SHIB[1], USD[5.00]

08063953                           ETH[5.032], ETHW[5.032], USD[2931.95]

08063954                           BTC[.02016963], CUSDT[26], DOGE[2], ETH[.06156061], ETHW[.06079397], MATIC[34.29460602], SHIB[14], SOL[1.48045006], TRX[1], USD[0.22]             Yes

08063958                           SOL[148.66959429]                                                                                                                                 Yes

08063959                           SOL[.06015303]

08063967                           CUSDT[1], DOGE[1], SOL[.00001449], USD[0.00]                                                                                                      Yes

08063968                           ETH[.0002641], ETHW[.00037397], MATIC[.12815662], USD[0.01]                                                                                       Yes

08063974                           ETH[.02547029], ETHW[.02547029], USD[200.01]

08063989                           BCH[.402735], DOGE[249.647], ETH[.084686], ETHW[.084686], LTC[.79746], SHIB[3585200], USD[1.10]

08063990                           USD[100.00]

08063995                           SHIB[9001818.51245681], USD[0.00]

08063997                           BRZ[1], BTC[.00000077], ETHW[.00002546], GRT[1], LINK[.0006201], SHIB[2], SOL[0.00093160], TRX[1], USD[0.00]                                      Yes

08064002                           CUSDT[1], USD[0.00]                                                                                                                               Yes

08064004                           USD[1328.37]                                                                                                                                      Yes

08064005                           BAT[1], BRZ[3], DOGE[3], LINK[1.03765421], SOL[.00000001], TRX[3], USD[0.00], USDT[1.00042927]                                                    Yes

08064012                           BTC[.00590625], USD[5.65]

08064016                           CUSDT[1], SHIB[451671.1833785], USD[0.00]

08064017                           DOGE[1], ETH[1.00633159], ETHW[1.00590885], USD[0.00]                                                                                             Yes

08064038                           AAVE[1.76823], BTC[0.00002647], GRT[2200], LINK[31.0847], MATIC[9.89], PAXG[.2206], TRX[10044.653], UNI[54.49545], USD[2.51]

08064040                           DOGE[1], MATIC[.00240028], USD[0.00], USDT[1.02543197]                                                                                            Yes

08064044                           NFT (427820197134895041/Doak Walker's Playbook: Detroit Lions vs. Cleveland Browns - December 28, 1952 #72)[1], USD[0.02]                         Yes

08064046                           ETH[.897711], ETHW[.897711]

08064057                           NFT (501263143766248932/Coachella x FTX Weekend 2 #1260)[1]

08064061                           SOL[8], USD[14.24]

08064062                           BTC[.0044955], ETH[1.198802], ETHW[1.198802], SOL[2.997], USD[100.75]

08064067                           NFT (307446304258804684/Sigma Shark #3718)[1], SOL[.01]

08064069                           BTC[.00005826], NFT (312641932147338783/Saudi Arabia Ticket Stub #1360)[1], NFT (418951070183291712/Barcelona Ticket Stub #679)[1], USD[123.83]   Yes

08064072                           CUSDT[1], DOGE[1], USD[0.01]                                                                                                                      Yes

08064074                           USD[0.01], USDT[0]

08064075                           DOGE[3], ETH[.8418286], ETHW[3.33846706], SHIB[3], SOL[0], TRX[1], USD[0.80]                                                                      Yes

08064077                           USD[1.77]

08064078                           BTC[.00015238], MATIC[3.71857776], SHIB[1], SUSHI[5.60042966], USD[0.00]                                                                          Yes

08064079                           SHIB[429893.25426162], TRX[1], USD[0.00]                                                                                                          Yes

08064097                           BRZ[1], CUSDT[1], DOGE[1], ETHW[101.21563346], SHIB[4], USD[0.00]                                                                                 Yes

08064098                           BTC[0], LTC[0], USD[0.00], USDT[0]

08064107                           USD[0.00], USDT[1]

08064112                           ETH[.00005308], ETHW[.052], USD[71.88]

08064114                           AVAX[.00000201], BRZ[1], DOGE[3], LINK[.00002016], SHIB[9], TRX[3], USD[0.01]                                                                     Yes

08064119                           ETHW[.000529], USD[1.22]

08064132                           SHIB[2265528.38566163], TRX[1], USD[0.06]                                                                                                         Yes

08064137       Contingent,         USD[1738.10]
               Unliquidated
08064140                           USDT[3]

08064150                           CUSDT[3], DOGE[1], MATIC[422.61320287], SHIB[1], USD[23.89]

08064152                           ETH[.17835839], ETHW[.17835839], USD[1.96]

08064153                           CUSDT[3], DOGE[1], TRX[0], USD[0.00], USDT[0]

08064174                           BTC[0], DOGE[0], SHIB[1], USD[0.00]

08064194                           USD[4.26]                                                                                                                                         Yes

08064199                           CUSDT[3], DOGE[77.210957], GRT[10.88826966], SHIB[224944.3962484], TRX[69.18702131], USD[0.00]                                                    Yes

08064204                           BTC[.00063607], ETHW[.31612569], SHIB[9], TRX[1], USD[3.88], USDT[7.47082179]                                                                     Yes
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                                                                                                                                           Customer Claims                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08064206                           BTC[.00007339], ETHW[.27781586], USD[0.00]

08064211                           SHIB[2676539.66789738], USD[0.00]                                                                                                                                        Yes

08064212                           SOL[1]

08064217                           USD[92.97]                                                                                                                                                               Yes

08064220                           BRZ[1], CUSDT[2], DOGE[0], SHIB[3], TRX[1], USD[0.11]                                                                                                                    Yes

08064221                           ETH[.027], ETHW[.027], KSHIB[890], MATIC[10], USD[1.74]

08064231                           BAT[1.00875035], BTC[.01130343], USD[0.00]                                                                                                                               Yes

08064233                           BCH[9.99799775]

08064247                           BTC[0], ETH[0], USD[0.34]

08064248                           AUD[14.60], BAT[13.84849286], CUSDT[1], DOGE[1], SOL[.03551668], USD[0.04]                                                                                               Yes

08064252                           BTC[.00006087], USD[1.08]                                                                                                                                                Yes

08064253                           KSHIB[1060], LINK[47.4], SHIB[13884900], USD[0.73]

08064257                           CUSDT[1], SUSHI[1.62686184], USD[0.00]

08064264                           USD[0.01]                                                                                                                                                                Yes

08064267                           SHIB[4179.38267148], USD[0.00]

08064269                           AVAX[11.37192173], BRZ[2], CUSDT[5], ETH[.10272041], ETHW[0.10166684], LINK[60.12635569], MATIC[1303.57685167], NFT (437812909734844998/Bahrain Ticket Stub #1329)[1],   Yes
                                   SHIB[78263290.24496462], SOL[23.93914205], TRX[1357.64799531], USD[631.82], YFI[.0153487]
08064284                           USD[5.42]                                                                                                                                                                Yes

08064288                           DOGE[1], ETHW[.04178776], USD[7.20]                                                                                                                                      Yes

08064298                           BTC[.24883111]                                                                                                                                                           Yes

08064308                           USD[0.00]

08064309                           USD[0.00]                                                                                                                                                                Yes

08064310                           CUSDT[1], SOL[.00001883], USD[0.01]                                                                                                                                      Yes

08064326                           USD[11.05]

08064333                           BTC[0.00010344], ETH[0], ETHW[0], SHIB[1274597.32128074], USD[0.00]                                                                                                      Yes

08064338                           USD[6.35]                                                                                                                                                                Yes

08064349                           DOGE[399.6], ETH[0], SHIB[99900], SOL[1.39000000], USD[0.18]

08064352                           USD[0.01]

08064354                           USD[0.05]

08064356                           BTC[.00063111], USD[0.00]                                                                                                                                                Yes

08064358                           ETH[0], MATIC[85.56932395], USD[0.23]

08064361                           SHIB[1], USD[0.01]

08064366                           BTC[0], USD[0.00]

08064368                           CUSDT[4], SHIB[974542.45005368], USD[0.00]                                                                                                                               Yes

08064372                           BTC[0]

08064375                           BAT[2], BRZ[1], CUSDT[2], DOGE[4], GRT[2], TRX[2], USD[0.00], USDT[2]

08064386                           USD[0.01]                                                                                                                                                                Yes

08064387                           BRZ[1], TRX[1], USD[0.00]                                                                                                                                                Yes

08064393                           USD[500.00]

08064396                           USD[1.00]

08064397                           CUSDT[589.55763687], DOGE[1], KSHIB[719.04881589], SHIB[374958.16265779], USD[0.01]                                                                                      Yes

08064402                           BAT[0], BTC[0], CUSDT[15], DOGE[1.00003982], GRT[0], SOL[0], TRX[204.83412548], USD[0.00]                                                                                Yes

08064405                           USD[0.76]

08064410                           BTC[.00361901], USD[185.60]                                                                                                                                              Yes

08064412                           BRZ[1], SOL[1.4935849], USD[0.00]                                                                                                                                        Yes

08064431                           USD[137.64]

08064433                           CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                             Yes

08064445                           ETH[0], SOL[0], USD[0.00]                                                                                                                                                Yes

08064446                           LINK[6.7], MATIC[30], SOL[4.3060995], USD[1.01]

08064452                           TRX[.000015], USD[0.01], USDT[0.05512856]

08064462                           DOGE[678.45618964], TRX[1]

08064465                           BRZ[1], CUSDT[2], ETH[0], USD[0.00]                                                                                                                                      Yes

08064482                           BRZ[.00255132], BTC[.00243571], CUSDT[.75], DOGE[2], MATIC[29.79549784], SOL[0.25824596], USD[0.01]                                                                      Yes

08064491                           BAT[0], BTC[0], ETH[0], ETHW[0], SHIB[1], SOL[0], TRX[0], USD[0.11], USDT[0]                                                                                             Yes

08064496                           CUSDT[2], DOGE[1872.97975456], MATIC[5.6216336], SHIB[1], SUSHI[1.76273387], TRX[4], USD[5.77]                                                                           Yes

08064498                           BRZ[2], CUSDT[1], GRT[1], TRX[4], USD[7.00], USDT[1]

08064501                           USD[0.01]                                                                                                                                                                Yes

08064513                           USD[0.00]                                                                                                                                                                Yes

08064514                           DOGE[35.964], USD[5.15]
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                                                                                                                                            Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08064516                              BTC[.0007], SOL[0.00005861], USD[0.35], USDT[0.00000001]

08064519                              DOGE[1], KSHIB[13380.47542434], USD[0.01]

08064535                              CUSDT[2], SHIB[421411.11102649], USD[0.00]                                                                                                                                         Yes

08064540                              NFT (311669622420061381/UBAJIHAND DEBUT SERIES #4)[1], NFT (384563826176472023/UBAJIHAND DEBUT SERIES #3)[1], NFT (394816709210157744/CHIMAMANDA)[1], NFT
                                      (416576857473398455/UBAJIHAND DEBUT SERIES #2)[1], NFT (472417074680547720/UBAJIHAND DEBUT SERIES)[1], USD[5.40], USDT[0]
08064558                              BRZ[1], CUSDT[7], ETH[0.00000018], ETHW[0.00000018], SOL[.47511533], TRX[1], USD[0.00]                                                                                             Yes

08064560                              BTC[.00276974], CUSDT[9], TRX[1], USD[0.00]

08064592                              USD[9.43]                                                                                                                                                                          Yes

08064612       Contingent, Disputed   USD[0.00]                                                                                                                                                                          Yes

08064617                              USD[0.01], USDT[.0733921]

08064621       Contingent, Disputed   USDT[.05343355]

08064625                              CUSDT[1], DOGE[1], NFT (401669047180674574/Astral Apes #2953)[1], SOL[.5196286], USD[0.00]

08064626                              BRZ[2], BTC[.11716006], CUSDT[2], DOGE[2], ETH[1.48667252], ETHW[1.48603458], SHIB[4008631.23905577], SOL[8.14741816], TRX[4], USD[0.00]                                           Yes

08064636                              CUSDT[2], DOGE[187.028583], SHIB[933007.3998235], USD[0.00]                                                                                                                        Yes

08064655                              USD[1.55]

08064656                              LINK[0], USD[0.01]

08064667                              AAVE[1.01557524], BAT[1004.73846631], BRZ[1], DOGE[333.52371117], ETH[.00000001], ETHW[9.62882469], LINK[158.17888765], SHIB[4], TRX[6865.76842166], USD[0.00], USDT[1.01999006]   Yes

08064672                              NFT (382724054122730098/Coachella x FTX Weekend 1 #13014)[1]

08064673                              USD[100.00]

08064674                              USD[500.00]

08064676                              SHIB[3622057.22564288], USD[0.00]

08064679                              BTC[.00000005], CUSDT[5], DOGE[3], ETH[.00000018], ETHW[.00000018], SOL[.00001049], USD[0.00]                                                                                      Yes

08064680                              CUSDT[1], DOGE[1], GRT[1], SHIB[0], SOL[0], TRX[1], USD[0.00], USDT[0]                                                                                                             Yes

08064687                              NFT (522786434383877368/Coachella x FTX Weekend 1 #8622)[1]

08064697                              CUSDT[1], ETH[.00454578], ETHW[.00449106], USD[0.00]                                                                                                                               Yes

08064714                              SUSHI[44.62584939], UNI[20.68549813], USD[0.01]                                                                                                                                    Yes

08064746                              USD[0.00], USDT[0]                                                                                                                                                                 Yes

08064751                              SOL[0]

08064755                              CUSDT[1], SOL[1.09874029], USD[809.26]                                                                                                                                             Yes

08064761                              AAVE[.00939], DOGE[.262], SHIB[92200], USD[0.88]

08064780                              MATIC[4.74081559], USD[0.06]                                                                                                                                                       Yes

08064799                              CUSDT[1], MATIC[30.19246083], USD[0.02]                                                                                                                                            Yes

08064803                              SOL[.11106505]                                                                                                                                                                     Yes

08064810                              BRZ[1], CUSDT[10], SHIB[447540.31567845], SOL[2.11948775], SUSHI[38.49169203], TRX[3492.39847235], USD[0.00]                                                                       Yes

08064814                              BTC[.00101243], CUSDT[1], USD[0.00]                                                                                                                                                Yes

08064816                              SOL[0.32178274], TRX[1]                                                                                                                                                            Yes

08064827                              CUSDT[1], DOGE[121.94858367], SHIB[246908.27258701], USD[0.00]                                                                                                                     Yes

08064829                              CUSDT[9], USD[0.01], USDT[1.07271351]                                                                                                                                              Yes

08064841                              USD[0.00]

08064842                              BTC[0.00090154], DOGE[6952.3335], USD[0.80]

08064857       Contingent,            USD[38.06]                                                                                                                                                                         Yes
               Unliquidated
08064862                              USD[0.00]                                                                                                                                                                          Yes

08064875                              BTC[0], ETH[0.00376159], ETHW[0.00376159], USD[0.01]

08064877                              USDT[1199.820027]

08064879                              BTC[.00114327]

08064885                              USD[0.01]                                                                                                                                                                          Yes

08064891                              BTC[0], ETH[0]

08064901                              BTC[0], USD[0.33]

08064911                              NFT (330407028139147049/SBF Hair & Signature #4 #2)[1], NFT (333290575415108602/SBF Hair & Signature #3 #2)[1], NFT (416324670405079601/SBF Hair & Signature #2 #2)[1], NFT
                                      (464319800168799171/SBF Hair & Signature #1 #3)[1]
08064912                              USD[10.00]

08064927                              NFT (309877872019475913/SBF Hair & Signature #2 #3)[1], NFT (497797912224977500/SBF Hair & Signature #3 #53)[1], USD[39.19]

08064928                              BTC[0.05887528], DOGE[.254], LTC[.00014511], MATIC[189.98400000], SHIB[9792880], SOL[3.77], TRX[.552], UNI[25.45650000], USD[1.60], USDT[0.00128611]

08064930                              USD[0.00]                                                                                                                                                                          Yes

08064934                              USD[20.00]

08064937                              NFT (362949365113922772/SBF Hair & Signature #2 #5)[1], NFT (367438860672704955/SBF Hair & Signature #3 #4)[1], NFT (477218906341159391/SBF Hair & Signature #1 #5)[1], NFT
                                      (485093148576267022/SBF Hair & Signature #4 #4)[1]
08064939                              BTC[.04326792], ETH[1.224], ETHW[1.224], USD[370.13], USDT[1371.54406100]

08064949                              USD[100.00]

08064956                              NFT (314636915294170448/SBF Hair & Signature #3 #3)[1], NFT (397146570880636406/SBF Hair & Signature #2 #4)[1], NFT (437321765812860827/SBF Hair & Signature #1 #4)[1], NFT
                                      (575070944256748521/SBF Hair & Signature #4 #3)[1]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08064961                              USD[0.00], USDT[0.00416208]                                                                                                                                                           Yes

08064962                              NFT (321211728669845462/Aku World Avatar #27)[1]

08064972                              NFT (300652175384211421/SBF Hair & Signature #3 #8)[1], NFT (391002259741067876/SBF Hair & Signature #1 #9)[1], NFT (463977978872014797/SBF Hair & Signature #2 #10)[1], NFT
                                      (482616729057928232/SBF Hair & Signature #4 #8)[1]
08064976                              CUSDT[1], SHIB[700869.07765629], USD[0.00]

08064978                              NFT (310389017935142821/SBF Hair & Signature #2 #8)[1], NFT (400030092963259503/SBF Hair & Signature #3 #7)[1], NFT (418595912527644443/SBF Hair & Signature #4 #7)[1], NFT
                                      (466677271289330073/SBF Hair & Signature #1 #8)[1]
08064980                              CUSDT[1], GRT[98.20786376], SOL[3.94410541], TRX[1], USD[0.00]                                                                                                                        Yes

08064984                              NFT (315020463454451148/SBF Hair & Signature #4 #11)[1], NFT (456097178873776686/SBF Hair & Signature #2 #11)[1], NFT (545086460032946553/SBF Hair & Signature #1 #12)[1], NFT
                                      (554448535038455974/SBF Hair & Signature #3 #11)[1]
08064986                              NFT (292317529909491247/SBF Hair & Signature #2 #13)[1], NFT (480283829662146401/SBF Hair & Signature #1 #11)[1], NFT (489126219571164510/SBF Hair & Signature #3 #10)[1], NFT
                                      (567696912409744400/SBF Hair & Signature #4 #10)[1]
08064988                              NFT (303190266670899333/SBF Hair & Signature #3 #9)[1], NFT (432965664213781635/SBF Hair & Signature #4 #9)[1], NFT (495577438131026241/SBF Hair & Signature #2 #12)[1], NFT
                                      (555623655601225711/SBF Hair & Signature #1 #10)[1]
08064996                              NFT (306387497154403835/SBF Hair & Signature #1 #15)[1], NFT (509132585880428195/SBF Hair & Signature #4 #15)[1], NFT (509191526416923537/SBF Hair & Signature #2 #16)[1], NFT
                                      (571610544574000082/SBF Hair & Signature #3 #14)[1]
08064997                              NFT (297702969200276718/SBF Hair & Signature #4 #13)[1], NFT (420545256703441304/SBF Hair & Signature #3 #13)[1], NFT (484112157606159833/SBF Hair & Signature #2 #15)[1], NFT
                                      (519945667955019442/SBF Hair & Signature #1 #14)[1]
08064999                              NFT (302872810434208419/Humpty Dumpty #1615)[1], NFT (317004317657413364/SBF Hair & Signature #3 #16)[1], NFT (397605620507500560/Misty Winter #219)[1], NFT
                                      (404066680327219344/SBF Hair & Signature #4 #14)[1], NFT (408566961865884389/Romeo #572)[1], NFT (461345601255347500/Good Boy #161)[1], NFT (469842366279765662/FTX - Off The Grid
                                      Miami #230)[1], NFT (506697551038491075/Aku World Avatar #154)[1], NFT (514174933970213678/SBF Hair & Signature #1 #18)[1], NFT (520038287546917687/SBF Hair & Signature #2 #18)[1]

08065004                              BTC[.00030364]

08065005                              BRZ[1], USD[0.00]                                                                                                                                                                     Yes

08065008                              NFT (361635774811154777/SBF Hair & Signature #4 #16)[1], NFT (367097303897599953/SBF Hair & Signature #3 #15)[1], NFT (394441866145719407/SBF Hair & Signature #1 #16)[1], NFT
                                      (458509791960748872/SBF Hair & Signature #2 #17)[1]
08065010                              NFT (342072509596280645/SBF Hair & Signature #1 #19)[1], NFT (355206988551164975/SBF Hair & Signature #2 #20)[1], NFT (357405699181332694/SBF Hair & Signature #4 #18)[1], NFT
                                      (362848310599286126/SBF Hair & Signature #3 #18)[1]
08065014                              BAT[9.66997933], CUSDT[2], DOGE[1], GRT[4.61401454], KSHIB[88.33599195], MATIC[4.06656417], TRX[1], USD[0.00], USDT[11.82670503]                                                      Yes

08065016                              NFT (298253985913787646/SBF Hair & Signature #3 #22)[1], NFT (336498353097325658/SBF Hair & Signature #1 #25)[1], NFT (392682523935380280/SBF Hair & Signature #4 #22)[1], NFT
                                      (463516970469767660/SBF Hair & Signature #2 #19)[1]
08065019                              NFT (318369281700458298/SBF Hair & Signature #1 #20)[1]

08065021                              BTC[.00015119], USD[0.02]                                                                                                                                                             Yes

08065027                              SHIB[12.01371204], USD[9.85]                                                                                                                                                          Yes

08065028                              CUSDT[1], ETH[.00372], ETHW[.00372], LINK[.24295682], LTC[.03127618], USD[0.00]

08065036                              NFT (410792964772740146/SBF Hair & Signature #2 #21)[1]                                                                                                                               Yes

08065037                              NFT (344823385864213301/SBF Hair & Signature #4 #20)[1], NFT (366137741141116714/SBF Hair & Signature #2 #23)[1], NFT (407457611469282932/SBF Hair & Signature #1 #22)[1], NFT
                                      (449883310036629734/Humpty Dumpty #552)[1], NFT (530213687503186925/Good Boy #157)[1], NFT (545287645498285528/SBF Hair & Signature #3 #20)[1]
08065040                              DOGE[2], TRX[1], USD[0.00]                                                                                                                                                            Yes

08065041                              NFT (350421894560445003/SBF Hair & Signature #1 #24)[1], NFT (385160081416111026/SBF Hair & Signature #3 #25)[1], NFT (557143718543708874/SBF Hair & Signature #2 #24)[1]

08065052                              NFT (478332965325292396/SBF Hair & Signature #3 #33)[1], NFT (507217562873009465/SBF Hair & Signature #1 #38)[1], NFT (542030561999670766/SBF Hair & Signature #4 #29)[1], NFT
                                      (570305016450861535/SBF Hair & Signature #2 #27)[1]
08065055                              BTC[0.00012099], LTC[.0000003], USD[0.00]                                                                                                                                             Yes

08065057                              SHIB[269445.22182998], TRX[89.02583382], USD[0.00]

08065062                              BRZ[1], CUSDT[4], DOGE[1], NFT (505271831040540865/Mushroom Voxi)[1], NFT (576377550264368809/Voxi People #8)[1], SHIB[42.58510499], TRX[1], USD[0.00]                                Yes

08065065                              CUSDT[1], SHIB[939925.33236043], USD[0.07]                                                                                                                                            Yes

08065072                              NFT (420964203998749330/SBF Hair & Signature #2 #28)[1], NFT (430156692214840751/SBF Hair & Signature #1 #26)[1], NFT (512951531794783895/SBF Hair & Signature #3 #24)[1]

08065086                              DOGE[.179], USD[0.01]

08065092                              NFT (321642516338516483/SBF Hair & Signature #2 #29)[1], NFT (452440987545617524/SBF Hair & Signature #1 #28)[1]

08065093                              NFT (357628693336703882/SBF Hair & Signature #1 #32)[1],   NFT (446185678267075063/SBF Hair & Signature #3 #59)[1], NFT (491720095721836309/SBF Hair & Signature #4 #43)[1], NFT
                                      (505174763102192540/SBF Hair & Signature #2 #33)[1]
08065094                              NFT (305901914968925048/SBF Hair & Signature #2 #31)[1],   NFT (349211265169633929/SBF Hair & Signature #4 #24)[1], NFT (466099362160640718/SBF Hair & Signature #3 #27)[1], NFT
                                      (513208050073838670/SBF Hair & Signature #1 #29)[1]
08065099                              NFT (329523666294404866/SBF Hair & Signature #3 #28)[1],   NFT (376722618578520257/SBF Hair & Signature #2 #32)[1], NFT (430445751687056714/SBF Hair & Signature #4 #28)[1], NFT
                                      (460495551448721083/SBF Hair & Signature #1 #30)[1]
08065101                              NFT (362697285226981852/SBF Hair & Signature #3 #29)[1],   NFT (389185055876190689/SBF Hair & Signature #4 #25)[1], NFT (404779266763177761/SBF Hair & Signature #1 #31)[1], NFT
                                      (556786417309917339/SBF Hair & Signature #2 #35)[1]
08065102                              NFT (335192134866666578/SBF Hair & Signature #4 #27)[1],   NFT (360912894288306441/SBF Hair & Signature #3 #31)[1], NFT (374343858364594146/SBF Hair & Signature #1 #34)[1], NFT
                                      (527800162764887563/SBF Hair & Signature #2 #34)[1]
08065106                              USD[80.00], USDT[687.71]

08065107                              USD[20.00]

08065112                              NFT (316085123594474799/SBF Hair & Signature #2 #36)[1], NFT (361827050724816632/SBF Hair & Signature #3 #30)[1], NFT (416547740386897005/SBF Hair & Signature #4 #26)[1], NFT
                                      (508775771466797241/SBF Hair & Signature #1 #33)[1]
08065115                              NFT (426086489406592831/SBF Hair & Signature #1 #37)[1], NFT (493474679863351855/SBF Hair & Signature #3 #32)[1], NFT (555218011758710986/SBF Hair & Signature #4 #30)[1], NFT
                                      (572671453053922152/SBF Hair & Signature #2 #37)[1]
08065117       Contingent, Disputed   DOGE[1], TRX[2791.09147313], USD[0.00]                                                                                                                                                Yes

08065126                              USDT[1]

08065132                              ETH[.000659], ETHW[.000659], USD[0.88], USDT[0]

08065133                              NFT (474427240498168929/SBF Hair & Signature #1 #36)[1]

08065134                              NFT (288995542780572320/SolBunnies #326)[1], NFT (359252564503274041/SolBunnies #3233)[1]

08065137                              DOGE[1], ETH[.10478991], ETHW[.10478991], USD[0.00]

08065140                              NFT (540207353758048931/SBF Hair & Signature #1 #40)[1]

08065141                              NFT (410949412024375461/SBF Hair & Signature #2 #48)[1]
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                                                                                                                                         Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08065142                           NFT (344044111721507448/SBF Hair & Signature #2 #38)[1], NFT (345186788737262865/SBF Hair & Signature #3 #34)[1], NFT (368994933325474727/SBF Hair & Signature #4 #31)[1], NFT
                                   (380073936893148091/SBF Hair & Signature #1 #39)[1]
08065144                           DOGE[19.06052483], USD[0.00]                                                                                                                                                            Yes

08065169                           NFT (289947753489898494/SBF Hair & Signature #2 #39)[1], NFT (393052416409393338/SBF Hair & Signature #4 #32)[1], NFT (445008734736749406/SBF Hair & Signature #1 #42)[1], NFT
                                   (528585314636950564/SBF Hair & Signature #3 #35)[1]
08065172                           SOL[.02993], USD[2.91]

08065173                           NFT (315228605657733475/SBF Hair & Signature #1 #41)[1]

08065179                           NFT (406989469779031523/SBF Hair & Signature #4 #33)[1], NFT (407656229416702727/SBF Hair & Signature #1 #43)[1], NFT (448291403813132675/SBF Hair & Signature #2 #40)[1], NFT
                                   (536861918164858980/SBF Hair & Signature #3 #36)[1]
08065180                           NFT (345066239023120238/SBF Hair & Signature #2 #41)[1], NFT (393294553297644120/SBF Hair & Signature #3 #45)[1], NFT (460856377979697224/SBF Hair & Signature #4 #36)[1], NFT
                                   (467899372272188512/SBF Hair & Signature #1 #45)[1]
08065186                           NFT (345852845709116471/SBF Hair & Signature #1 #44)[1], NFT (424110697714939464/SBF Hair & Signature #4 #34)[1], NFT (517040728185851327/SBF Hair & Signature #2 #42)[1], NFT
                                   (569850168456783931/SBF Hair & Signature #3 #37)[1]
08065187                           BCH[0], BTC[0], CUSDT[0], ETH[0], ETHW[0], LTC[0], USD[0.00], USDT[0]                                                                                                                   Yes

08065191                           TRX[.000001]

08065192                           NFT (302311896160840198/SBF Hair & Signature #3 #38)[1], NFT (349877645719910108/SBF Hair & Signature #2 #44)[1], NFT (454508155608586277/SBF Hair & Signature #4 #35)[1], NFT
                                   (530187356668033358/SBF Hair & Signature #1 #46)[1]
08065193                           NFT (434546198112334421/SBF Hair & Signature #4 #41)[1], NFT (442805051710043941/SBF Hair & Signature #1 #52)[1], NFT (474549515382829083/SBF Hair & Signature #3 #43)[1]

08065201                           NFT (351561952483508400/SBF Hair & Signature #3 #41)[1], NFT (409807612175783670/SBF Hair & Signature #4 #37)[1], NFT (532486707146785984/SBF Hair & Signature #1 #50)[1], NFT
                                   (563246955658895980/SBF Hair & Signature #2 #49)[1]
08065208                           NFT (349091876906111135/SBF Hair & Signature #1 #49)[1], NFT (381028809825128309/SBF Hair & Signature #2 #46)[1], NFT (400220633604611095/SBF Hair & Signature #3 #40)[1], NFT
                                   (466357583591717202/SBF Hair & Signature #4 #39)[1]
08065210                           NFT (376097954238262438/SBF Hair & Signature #3 #42)[1], NFT (392646903654153599/SBF Hair & Signature #4 #40)[1], NFT (406346074975210852/SBF Hair & Signature #2 #47)[1], NFT
                                   (408046212436214548/SBF Hair & Signature #1 #51)[1]
08065212                           BTC[.00000003], DOGE[0], ETH[.00000007], ETHW[0.00000006], MATIC[0], SOL[0], USD[35.62], USDT[0]

08065224                           NFT (366747207881503586/SBF Hair & Signature #3 #44)[1], NFT (366880162077078908/SBF Hair & Signature #4 #42)[1], NFT (495454220837228241/SBF Hair & Signature #2 #50)[1], NFT
                                   (563661242338720283/SBF Hair & Signature #1 #53)[1]
08065233                           USD[0.67], USDT[0]

08065237                           DOGE[1], SOL[.00005099], USD[0.00]                                                                                                                                                      Yes

08065251                           CUSDT[1], USD[0.00]

08065253                           CUSDT[5], DOGE[1], MATIC[.00096569], NFT (370154601520882647/SOL SURFER 006 - SANDY STEVENS)[1], NFT (424193383679845947/DOTB #1905)[1], NFT (427463936569843898/SOL                    Yes
                                   SURFERS 003 - Ted)[1], NFT (439818244533433416/SOLYETIS #6906)[1], NFT (529725566740012549/Sigma Shark #4448)[1], SOL[.00000903], USD[0.01]
08065257                           CUSDT[1], DOGE[2], LTC[.35279141], TRX[1], USD[0.00]

08065259                           BTC[0], ETHW[6.518]

08065263                           NFT (354481409052361651/SBF Hair & Signature #2 #51)[1]

08065273                           USD[2.13]

08065283                           NFT (438339290527723189/SBF Hair & Signature #4 #46)[1], NFT (453336646009838322/SBF Hair & Signature #1 #56)[1], NFT (487589773014700228/SBF Hair & Signature #2 #54)[1],   NFT
                                   (558276754807057712/SBF Hair & Signature #3 #50)[1]
08065287                           NFT (290176942252401471/SBF Hair & Signature #1 #57)[1], NFT (322152311281613527/SBF Hair & Signature #4 #47)[1], NFT (344182634568926773/SBF Hair & Signature #3 #47)[1],   NFT
                                   (436637752393581711/SBF Hair & Signature #2 #53)[1]
08065292                           NFT (312512680718879427/SBF Hair & Signature #4 #48)[1], NFT (412990473723766060/SBF Hair & Signature #1 #58)[1], NFT (449760048558754586/SBF Hair & Signature #2 #55)[1],   NFT
                                   (566218369993964406/SBF Hair & Signature #3 #51)[1]
08065294                           NFT (423103851090149960/SBF Hair & Signature #4 #50)[1], NFT (536921333199759385/SBF Hair & Signature #2 #57)[1], NFT (541765134760150108/SBF Hair & Signature #1 #59)[1],   NFT
                                   (559532995569550740/SBF Hair & Signature #3 #48)[1]
08065300                           NFT (386594993320701440/FTX - Off The Grid Miami #1541)[1], NFT (402726432410660703/SBF Hair & Signature #3 #49)[1], NFT (455582238394012521/NFT BZL 2021 #64)[1], NFT
                                   (494938184528005394/SBF Hair & Signature #4 #45)[1], NFT (543333626839778671/SBF Hair & Signature #1 #60)[1], NFT (576024477598254028/SBF Hair & Signature #2 #59)[1]
08065303                           BTC[.00077328], USD[0.00]

08065306                           BTC[0], ETH[0.00926811], ETHW[0.00926811], USD[0.00], USDT[0]

08065310                           NFT (308234535587414708/Under the spring flowers)[1], NFT (310205587599515217/Yanomami children)[1], SOL[.26176906], USDT[0.00000209]

08065313                           NFT (320431585961337332/SBF Hair & Signature #2 #56)[1], NFT (392846132649196478/SBF Hair & Signature #1 #79)[1], NFT (466915960151909396/SBF Hair & Signature #3 #69)[1]

08065314                           USD[541.98]                                                                                                                                                                             Yes

08065315                           BTC[.00005228], USD[0.00]

08065318                           NFT (424821405411888146/SBF Hair & Signature #3 #63)[1], NFT (489141867281924666/SBF Hair & Signature #1 #72)[1], NFT (572708577548359721/SBF Hair & Signature #2 #70)[1]

08065324                           BRZ[1], ETH[.00000016], ETHW[.00000016], LINK[.00006403], SHIB[6], USD[0.01]                                                                                                            Yes

08065328                           ETHW[44.07140842], USD[0.00]                                                                                                                                                            Yes

08065330                           AAVE[.08291629], BRZ[1], BTC[.00041064], CUSDT[7], KSHIB[191.06267845], LINK[1.10924046], MATIC[120.51603053], SHIB[1], SOL[.11013016], SUSHI[2.23175154], TRX[111.24757699],           Yes
                                   UNI[1.10154726], USD[0.00]
08065339                           NFT (304411674062373347/SBF Hair & Signature #2 #66)[1], NFT (528898620938466674/SBF Hair & Signature #3 #60)[1], SOL[.00703192]                                                        Yes

08065346                           CUSDT[1], MATIC[26.097233], USD[0.00]

08065348                           USD[0.00]                                                                                                                                                                               Yes

08065349                           USD[0.00]

08065355                           NFT (550473976515145986/SBF Hair & Signature #2 #58)[1]

08065369                           NFT (338845487632529813/SBF Hair & Signature #1 #63)[1], NFT (525410446508506421/SBF Hair & Signature #3 #54)[1], NFT (574129060695210306/SBF Hair & Signature #2 #62)[1]

08065373                           NFT (471836137455644922/SBF Hair & Signature #3 #52)[1], NFT (476121843860913501/SBF Hair & Signature #2 #60)[1]

08065374                           BTC[.00007369], DOGE[1], TRX[101.93112775], USD[0.00]                                                                                                                                   Yes

08065375                           NFT (395551738533220775/SBF Hair & Signature #1 #62)[1], NFT (553228147231591891/SBF Hair & Signature #2 #61)[1]

08065383                           SOL[.40591385], USD[0.00]

08065391                           AAVE[0], ALGO[0], AVAX[0], BAT[0], BRZ[0], BTC[0.00091580], CUSDT[0], DAI[0], DOGE[0], ETH[0], ETHW[0], HKD[0.00], KSHIB[0], LINK[0], LTC[0], MXN[0.00], NEAR[0], PAXG[0], SGD[0.00],   Yes
                                   SHIB[1.00000319], SOL[0], TRX[1], USD[0.00], USDT[0]
08065395                           USD[0.00], USDT[0]

08065403                           USD[0.00], USDT[0]
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                                                                                               Amended Schedule 1754      Filed
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                                                                                                                               Unsecured           Page 924 of 1384
                                                                                                                                         Customer Claims                                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08065410                           BTC[0.00002730], LTC[0], USD[0.00]                                                                                                                                                          Yes

08065411                           SOL[.04]

08065415                           USD[20.00]

08065417                           ETH[0], SOL[.00000001], USD[0.00]

08065420                           ETH[0], SHIB[8.01257861], USD[0.00]

08065421                           BRZ[1], BTC[.00062469], CUSDT[18], DOGE[1589.66202488], ETH[.01490911], ETHW[.0147221], SHIB[25363674.48621053], TRX[2], USD[8.21]                                                          Yes

08065423                           AAVE[.15444189], BAT[1.98221179], BCH[.02392081], BRZ[30.24043557], BTC[.00014791], CUSDT[358.58844388], DAI[7.06859222], DOGE[268.5417305], ETH[.11322178], ETHW[0.11210654],        Yes
                                   KSHIB[35.72689858], LINK[.06238365], LTC[.00000118], MATIC[1.14732616], MKR[.00195174], PAXG[.00849195], SHIB[1747633.32442244], SOL[.26957376], SUSHI[1.10129257], TRX[45.97982191],
                                   UNI[.00005223], USD[0.00], USDT[2.15583291]
08065427                           BRZ[2], CUSDT[3], DOGE[1], SHIB[41165590.55575263], TRX[2], USD[0.14]                                                                                                                 Yes

08065433                           CUSDT[5], ETH[0.00000049], ETHW[0.00000049], MATIC[.00012252], NFT (314171505691477248/StarAtlas Anniversary)[1], NFT (326894973693413050/StarAtlas Anniversary)[1], NFT                    Yes
                                   (387243348745180021/StarAtlas Anniversary)[1], NFT (395886775173522886/#005 | Series #1)[1], NFT (442407287830680832/Second 50 #4)[1], NFT (465754297427422497/StarAtlas Anniversary)[1],
                                   NFT (476913142424640315/StarAtlas Anniversary)[1], NFT (497804627225115298/StarAtlas Anniversary)[1], NFT (503549637432592900/StarAtlas Anniversary)[1], NFT
                                   (529015869694792087/StarAtlas Anniversary)[1], NFT (557851113159610187/StarAtlas Anniversary)[1], SOL[0], TRX[3], USD[0.00]
08065434                           NFT (464728130765288805/SBF Hair & Signature #3 #57)[1]

08065438                           LINK[4.7903], USD[6.80]

08065439                           NFT (461686615320528292/SBF Hair & Signature #2 #65)[1], NFT (502287268309485234/SBF Hair & Signature #3 #58)[1], NFT (548575772982040344/SBF Hair & Signature #1 #66)[1]

08065446                           CUSDT[1], USD[0.01]

08065457                           ETHW[.0000389], USD[1.18]

08065467                           BAT[.00005032], ETH[.01403516], ETHW[.01385732], MATIC[14.17893851], SOL[0], TRX[1], USD[0.04]                                                                                              Yes

08065468                           DOGE[1], ETH[.00226959], ETHW[.00224223], USD[0.00]                                                                                                                                         Yes

08065474                           USD[21.68]                                                                                                                                                                                  Yes

08065475                           BTC[.00030234], CUSDT[4], DOGE[1], ETH[.00380125], ETHW[.00380125], SHIB[1066747.81667633], TRX[92.48486485], USD[0.00]

08065477                           USD[100.00]

08065484                           SHIB[1], USD[0.00]                                                                                                                                                                          Yes

08065489                           ETH[.00000001], ETHW[0], SHIB[2], USD[0.00]                                                                                                                                                 Yes

08065494                           ETH[.01432941], ETHW[.01432941], NFT (309368133789971153/Rumulus1)[1], NFT (496433146945714932/Rumulus1 #2)[1], NFT (552373811242748311/SCHIZOPHRENIC BEHAVIORS)[1],
                                   USD[66.07]
08065498                           DOGE[1], TRX[1], USD[237.52]

08065507                           SHIB[1], USD[0.00]

08065516                           DOGE[1.00001936], GRT[1], SHIB[2], SOL[.00004916], TRX[.72053082], USD[0.01]                                                                                                                Yes

08065518                           CUSDT[3], SHIB[1878303.97857084], SOL[.9147429], USD[0.00]                                                                                                                                  Yes

08065520                           SHIB[1285669.82921204], USD[0.00]

08065522                           BAT[2.00038704], BRZ[3], BTC[.00000518], CUSDT[10], DOGE[18558.56671108], ETH[.00000781], ETHW[5.73370402], GRT[1.00065178], LINK[108.01435054], SHIB[.53171506],                           Yes
                                   SUSHI[64.72013377], TRX[988.38956543], USD[0.01], USDT[1.01850804]
08065523                           BTC[.0005], DOGE[357.642], ETH[.01077455], ETHW[.02455855], SHIB[1800000], SOL[.3], USD[1.95]

08065525                           BAT[.00003754], CUSDT[2], DOGE[1], MATIC[.00000983], SHIB[1232043.0375797], USD[0.00]                                                                                                       Yes

08065536                           SHIB[135381.67205882], USD[0.00]                                                                                                                                                            Yes

08065537                           NFT (308340605979683570/SBF Hair & Signature #1 #69)[1], NFT (381481053926270563/SBF Hair & Signature #3 #62)[1], NFT (387388107448051850/SBF Hair & Signature #2 #68)[1]

08065545                           USD[0.00]

08065546                           BTC[.00006017], ETH[.00069024], ETHW[.0006865], USD[0.01]                                                                                                                                   Yes

08065562                           TRX[2651], USD[0.06]

08065568                           DOGE[1], SHIB[0], USD[0.01], USDT[0]                                                                                                                                                        Yes

08065573                           USD[0.47]

08065579                           CUSDT[2], SHIB[2], TRX[2], USD[0.00]

08065587                           USD[50.01]

08065589                           BRZ[178.59764818], CUSDT[2], DOGE[.777532], SHIB[650063.42349187], USD[0.02]                                                                                                                Yes

08065590                           CUSDT[2], USD[0.00]

08065593                           USD[0.47]

08065601                           BRZ[3], CUSDT[1], DOGE[5], ETHW[4.49061535], GRT[1.00147915], MATIC[.03932863], SHIB[3], TRX[2], USD[15626.67]                                                                              Yes

08065605                           NFT (512163740003092240/SBF Hair & Signature #1 #70)[1]

08065607                           DOGE[39.14393539], USD[10.77]                                                                                                                                                               Yes

08065610                           BAT[3], BRZ[3], DOGE[4], GRT[2], SHIB[1], TRX[4], USD[0.00], USDT[2.00000384]

08065616                           NFT (477457158890755113/SBF Hair & Signature #1 #80)[1], NFT (508000845821711385/SBF Hair & Signature #3 #70)[1], NFT (538325544181189286/SBF Hair & Signature #2 #69)[1]

08065617                           KSHIB[18.49047862], SHIB[1781027.7957957], TRX[.00242974], USD[0.00]                                                                                                                        Yes

08065633                           BTC[.00323302], CUSDT[3], ETH[.03336294], ETHW[.03295254], SOL[.64075635], USD[0.00]                                                                                                        Yes

08065636                           NFT (440964131004386325/SBF Hair & Signature #3 #79)[1], NFT (466311679966028483/SBF Hair & Signature #1 #90)[1], NFT (551795213046158715/SBF Hair & Signature #2 #86)[1]

08065641                           ETH[0.00291216], ETHW[0.00291216], USD[0.00]

08065642                           BTC[.00043682], DOGE[1], TRX[593.28682226], USD[19.34]                                                                                                                                      Yes

08065643                           BAT[15.93860632], CUSDT[30], DOGE[2], TRX[107.13164098], USD[0.00], USDT[.0019878]                                                                                                          Yes

08065645                           BTC[.0000983], ETH[.000992], ETHW[.014992], NEAR[.0945], PAXG[.0055], USD[0.02]

08065655                           TRX[.000495], USDT[0]
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                                                                                                                                          Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08065656                           CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                              Yes

08065657                           CUSDT[68.01530435], DOGE[1.78531577], SHIB[35371.02197199], USD[0.00]

08065664                           BRZ[1], CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                      Yes

08065666                           BRZ[1], CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                     Yes

08065672                           USD[772.47]                                                                                                                                                                              Yes

08065674                           USD[2.00]

08065676                           BTC[.2012985], USD[21.75]

08065677                           BAT[44.20584138], BTC[.02306682], DOGE[88.85324886], ETH[.12148309], ETHW[.12148309], GRT[75.04672183], LINK[6.13272302], LTC[.37516643], MATIC[128.14872485],
                                   SHIB[2568845.44740616], SOL[.57555926], SUSHI[5.90851056], TRX[479.25625563], UNI[2.71978392], USD[0.00]
08065684                           BTC[.00749987], DOGE[1], USD[0.00]

08065692                           ETH[1.07], ETHW[1.07], SOL[11.07], USD[2.77]

08065697                           ALGO[41.14267686], BAT[9.40369463], BTC[.00162744], CUSDT[747.64911388], DOGE[260.85679946], ETH[.02255005], ETHW[.02227157], LINK[1.0944655], LTC[.17610551], NEAR[1.11507529],         Yes
                                   SHIB[1], SOL[.3672655], SUSHI[1.76469269], TRX[337.47698658], USD[1.28], USDT[3.10846983]
08065704                           CUSDT[2.00782036], USD[0.00], USDT[0]                                                                                                                                                    Yes

08065709                           BTC[.00101733], ETHW[.00222542], SHIB[1], USD[0.00]                                                                                                                                      Yes

08065742                           USD[0.00]

08065744                           AAVE[1.74380033], BRZ[2], BTC[.03199847], DOGE[11087.65865551], ETH[.28829965], ETHW[.25637516], LTC[1.10441093], SHIB[10], TRX[3], UNI[16.03530991], USD[0.00], USDT[170.00386274]      Yes

08065758                           USD[0.00]

08065760                           CUSDT[2], DOGE[94.18802323], GRT[67.69201062], USD[0.01]                                                                                                                                 Yes

08065763                           NFT (431914099132661435/SBF Hair & Signature #2 #72)[1]

08065772                           USD[20.00]

08065774                           CUSDT[1], ETH[.03611906], ETHW[.03566762], SOL[.06476425], TRX[1], USD[0.00]                                                                                                             Yes

08065777                           SHIB[3600000], USD[0.02]

08065781                           CUSDT[1], NFT (477678502403933825/Coachella x FTX Weekend 2 #25062)[1], SOL[.0872202], USD[32.52]                                                                                        Yes

08065783                           BTC[.00528742], USD[0.00]                                                                                                                                                                Yes

08065785                           ETH[.00006821], ETHW[.00007266], MATIC[.00900817], SOL[.00166949], USD[1.18]                                                                                                             Yes

08065786                           BTC[.02737823], ETH[.38389317], ETHW[.38389317], SOL[7.33615501], USD[0.00]

08065788                           BTC[.04185191], ETH[1.19512191], ETHW[1.19512191], USD[1889.48]

08065792                           NFT (349468729301576321/Metaverse Santa #2355)[1], NFT (356730613880396309/Happy Pup #4297)[1], NFT (452054387005018150/Happy Pup #2232)[1], NFT (510057556576813179/Happy Pup
                                   #3937)[1], NFT (523567825150711401/Happy Pup #1612)[1], NFT (537046313962213726/Happy Pup #3303)[1], NFT (571156686960137869/Happy Pup #813)[1], NFT (573799345082763163/Happy
                                   Pup #4970)[1], USD[0.00]
08065793                           BRZ[1], CUSDT[1], DOGE[134.87553759], ETH[.02120002], ETHW[.02120002], SHIB[1082966.96104228], USD[2.50]

08065808                           SOL[2.29841864], TRX[1], USD[0.00]

08065809                           BRZ[1], CUSDT[6], DOGE[2], ETH[.00000057], ETHW[0.00000057], SHIB[5], SOL[.00000001], USD[0.00]                                                                                          Yes

08065815                           SOL[2.20752179], USD[0.00]

08065820                           USD[0.00]                                                                                                                                                                                Yes

08065835                           DOGE[1], TRX[1], USD[0.00], USDT[0.00000001]                                                                                                                                             Yes

08065838                           BTC[0], ETHW[.103564], USD[6.65], USDT[0]

08065840                           USD[500.00]

08065859                           BTC[.00158619], DOGE[1], USD[0.00]                                                                                                                                                       Yes

08065865                           USDT[38.4211255]

08065868                           BRZ[1], BTC[.89154921], DOGE[1], ETH[3.24757305], ETHW[3.24661291], MATIC[1071.3719825], UNI[1.04662813], USD[24717.57]                                                                  Yes

08065869                           AAVE[.00929], NFT (390534310767503912/Bahrain Ticket Stub #1703)[1], USDT[0]

08065876                           MATIC[7.45878063], USD[0.00]

08065880                           KSHIB[2490], USD[0.39]

08065889                           BTC[.0773], ETH[1.138], ETHW[1.138], USD[0.88]

08065896                           CUSDT[2], DOGE[2], MATIC[.00049827], SHIB[2], USD[0.00]                                                                                                                                  Yes

08065898                           LTC[4.36], USD[1.86]

08065917                           BTC[.00030099], CUSDT[1], USD[0.00]                                                                                                                                                      Yes

08065918                           ETH[0], LTC[0], NFT (319152389068329833/Romeo #1085)[1], NFT (426538913335246560/Good Boy #5335)[1], USD[1.10]

08065920                           SOL[0], USD[0.00]

08065925                           BTC[.00023881], CUSDT[1], ETH[.00536028], ETHW[.00529188], TRX[1], USD[1.08]                                                                                                             Yes

08065928                           BCH[1.71099601], CUSDT[3], DOGE[40.60818337], ETH[.22561523], ETHW[.22540511], LINK[9.83061374], LTC[7.36137133], MATIC[28.38843242], SHIB[94610.84432305], SUSHI[10.62628009],          Yes
                                   TRX[1], USD[857.96], USDT[1.0839002]
08065929                           CUSDT[1], DOGE[1], SHIB[1], SOL[6.24987412], TRX[1], USD[0.00]                                                                                                                           Yes

08065933                           DOGE[0], ETH[0], ETHW[0], SHIB[1860663.99854778], TRX[0], USD[0.00]

08065934                           CUSDT[1], NFT (301804489359748888/Shannon Sharpe's Playbook: Baltimore Ravens vs. Oakland Raiders - January 14, 2001 #91)[1], NFT (483929960241283933/Marcus Allen's Playbook: Seattle   Yes
                                   Seahawks vs. Los Angeles Raiders - October 7, 1984 #69)[1], TRX[3], USD[0.00]
08065942                           NFT (502196905732102553/FTX - Off The Grid Miami #3074)[1]

08065943                           BTC[.00045]

08065944                           USD[0.00]
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
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                                                                                                                                            Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08065948                              NFT (290090545767070373/Alt Hatchlings # 013)[1], NFT (291877822254654611/Alt Hatchlings # 078)[1], NFT (292930325751593524/Alt Hatchlings # 033)[1], NFT (293857265969415031/Alt
                                      Hatchlings # 037)[1], NFT (300181846946045741/Alt Hatchlings # 071)[1], NFT (302410163624960383/Alt Hatchlings # 064)[1], NFT (304600880339876141/Alt Hatchlings # 022)[1], NFT
                                      (304868109150070820/Alt Hatchlings # 084)[1], NFT (308904895928619468/Alt Hatchlings # 050)[1], NFT (309380414683745073/Alt Hatchlings # 017)[1], NFT (311609152267180993/Alt Hatchlings #
                                      051)[1], NFT (314215004061398455/Alt Hatchlings # 075)[1], NFT (315311728398934207/Alt Hatchlings # 088)[1], NFT (320140102672015599/Alt Hatchlings # 007)[1], NFT (320512326883787271/Alt
                                      Hatchlings # 096)[1], NFT (322470967094304739/Alt Hatchlings # 095)[1], NFT (324432560914551412/Alt Hatchlings # 058)[1], NFT (326501173427464986/Alt Hatchlings # 059)[1], NFT
                                      (326611645965302440/Alt Hatchlings # 043)[1], NFT (329479529907983196/Alt Hatchlings # 021)[1], NFT (334166002508433438/Alt Hatchlings # 073)[1], NFT (336876190694556647/Alt Hatchlings #
                                      056)[1], NFT (343204211402663497/Alt Hatchlings # 014)[1], NFT (351221314364609510/Alt Hatchlings # 039)[1], NFT (352786985119232762/Alt Hatchlings # 027)[1], NFT (356252351509612194/Alt
                                      Hatchlings # 023)[1], NFT (356483246962308932/Alt Hatchlings # 044)[1], NFT (356855117402926941/Alt Hatchlings # 036)[1], NFT (366345936119998660/Alt Hatchlings # 011)[1], NFT
                                      (370500930684876059/Alt Hatchlings # 031)[1], NFT (393433419561302135/Alt Hatchlings # 081)[1], NFT (398269702043454559/Alt Hatchlings # 097)[1], NFT (402994861960584944/Alt Hatchlings #
                                      063)[1], NFT (404803216396555489/Alt Hatchlings # 086)[1], NFT (412306508073297223/Alt Hatchlings # 025)[1], NFT (415296239492686225/Alt Hatchlings # 004)[1], NFT (420389993623774482/Alt
                                      Hatchlings # 062)[1], NFT (423532170345385841/Alt Hatchlings # 032)[1], NFT (424813841215192804/Alt Hatchlings # 093)[1], NFT (432034840264152640/Alt Hatchlings # 066)[1], NFT
                                      (432051738147407670/Alt Hatchlings # 083)[1], NFT (432283998020768364/Alt Hatchlings # 026)[1], NFT (432868596004044604/Alt Hatchlings # 077)[1], NFT (434905282929650268/Alt Hatchlings #
                                      087)[1], NFT (435054453847764699/Alt Hatchlings # 061)[1], NFT (438049805603839523/Alt Hatchlings # 005)[1], NFT (440462876202680215/Alt Hatchlings # 040)[1], NFT (443588128483741973/Alt
                                      Hatchlings # 089)[1], NFT (444120296746265186/Alt Hatchlings # 034)[1], NFT (445173918753999575/Alt Hatchlings # 041)[1], NFT (446573923642189998/Alt Hatchlings # 049)[1], NFT
                                      (456077287591053360/Alt Hatchlings # 003)[1], NFT (456443432467846090/Alt Hatchlings # 030)[1], NFT (458278243949431951/Alt Hatchlings # 101)[1], NFT (458752352274904985/Alt Hatchlings #
                                      048)[1], NFT (459344221470679395/Alt Hatchlings # 092)[1], NFT (460959650831247850/Alt Hatchlings # 029)[1], NFT (461098065934566877/Alt Hatchlings # 010)[1], NFT (463265303887945444/Alt
                                      Hatchlings # 074)[1], NFT (469160764451903089/Alt Hatchlings # 042)[1], NFT (471383543515073201/Alt Hatchlings # 055)[1], NFT (472755529634084223/Alt Hatchlings # 018)[1], NFT
                                      (474508802718106616/Alt Hatchlings # 053)[1], NFT (477581776088805586/Alt Hatchlings # 035)[1], NFT (478329673974711994/Alt Hatchlings # 015)[1], NFT (481178850569810090/Alt Hatchlings #
                                      099)[1], NFT (481272106802162741/Alt Hatchlings # 068)[1], NFT (485751406816622747/Alt Hatchlings # 080)[1], NFT (492696675555537094/Alt Hatchlings # 067)[1], NFT (496238802565925445/Alt
                                      Hatchlings # 091)[1], NFT (500298068892218946/Alt Hatchlings # 082)[1], NFT (501993524603478577/Alt Hatchlings # 076)[1], NFT (503679337652174069/Alt Hatchlings # 016)[1], NFT
                                      (504312461035860240/Alt Hatchlings # 019)[1], NFT (507576549325412255/Alt Hatchlings # 100)[1], NFT (510197608463573245/Alt Hatchlings # 009)[1], NFT (514338571164491203/Alt Hatchlings #
                                      052)[1], NFT (517670593818912319/Alt Hatchlings # 079)[1], NFT (521870533305079782/Alt Hatchlings # 045)[1], NFT (523919744113935009/Alt Hatchlings # 069)[1], NFT (524745063682354450/Alt
                                      Hatchlings # 098)[1], NFT (526165656609148656/Alt Hatchlings # 070)[1], NFT (526347400991322679/Alt Hatchlings # 002)[1], NFT (527456911958863709/Alt Hatchlings # 060)[1], NFT
                                      (528109171330246922/Alt Hatchlings # 094)[1], NFT (529137981349424588/Alt Hatchlings # 054)[1], NFT (535264407999072409/Alt Hatchlings # 090)[1], NFT (546633548547767831/Alt Hatchlings #
                                      046)[1], NFT (547066470919263541/Alt Hatchlings # 020)[1], NFT (554852350432041944/Alt Hatchlings # 065)[1], NFT (559533879076691858/Alt Hatchlings # 028)[1], NFT (560680090543012279/Alt
                                      Hatchlings # 006)[1], NFT (563483432399833859/Alt Hatchlings # 072)[1], NFT (570210170816878324/Alt Hatchlings # 012)[1], NFT (572514084557474223/Alt Hatchlings # 085)[1], NFT
                                      (573209611073212605/Alt Hatchlings # 047)[1], NFT (575419165135822409/Alt Hatchlings # 057)[1], NFT (576228662289895229/Alt Hatchlings # 038)[1], USD[0.00]

08065951                              BTC[.0000014], ETH[.000925], ETHW[.074925], USD[499.40], USDT[0.00940000]

08065959                              USD[932.16]                                                                                                                                                                                  Yes

08065961                              BAT[1.00463159], BRZ[1], BTC[.0000009], CUSDT[1], DOGE[1], USD[0.00], USDT[1.08283165]                                                                                                       Yes

08065972                              USD[100.00]

08065973                              NFT (290891656654083701/SBF Hair & Signature #1 #75)[1], NFT (311673596227766159/SBF Hair & Signature #2 #74)[1], NFT (405844738621795194/SBF Hair & Signature #3 #65)[1]

08065974                              USD[0.00]

08065976                              BAT[126.59327874], CUSDT[1], USD[0.00]

08065990                              USD[0.82]

08065996                              ETH[1.391607], ETHW[1.391607], USD[24.28]

08066005                              CUSDT[1], LTC[.01102107], SHIB[514019.81282636], USD[0.00]

08066023                              USD[108.38]                                                                                                                                                                                  Yes

08066029                              ETH[.84823147], ETHW[.84787524], SHIB[864590.83227727], USD[0.00]                                                                                                                            Yes

08066033                              AAVE[.01717405], BCH[.00146799], BRZ[1.78498769], BTC[.00074628], CUSDT[6], DAI[5.38112796], DOGE[131.44770339], ETH[.00372068], ETHW[.00367964], GRT[4.87008872],                           Yes
                                      KSHIB[15.207724], LINK[.16193472], LTC[.08822897], MKR[.000311], SHIB[17677.53694402], SOL[.00426962], SUSHI[.47573667], UNI[.22135542], USD[65.74], USDT[.99447998], YFI[.00000095]

08066035                              CUSDT[1], LINK[20.60592583], SOL[1.31906309], TRX[2], USD[0.07]                                                                                                                              Yes

08066036                              BF_POINT[100], CUSDT[1], SHIB[390232.39489137], USD[0.00]                                                                                                                                    Yes

08066037                              SHIB[1], USD[0.00], USDT[0]                                                                                                                                                                  Yes

08066040                              SOL[0], USD[1.77]

08066045                              BRZ[1], CUSDT[2], TRX[1], USD[0.00], USDT[0.00117283]                                                                                                                                        Yes

08066049                              ETH[0.00037084], ETHW[0.00037084], SHIB[1200000], USD[2.74], USDT[0.00003368]

08066051                              CUSDT[1], SHIB[1754078.23188914], USD[0.00]

08066064                              BTC[.00159416], CUSDT[1], USD[0.00]                                                                                                                                                          Yes

08066067                              SHIB[177714.59036786], USD[0.00]

08066076                              BTC[.00293427], CUSDT[4], DOGE[200.32263763], ETH[.03582205], ETHW[.03582205], SHIB[1778093.88335704], SOL[.20213033], TRX[5], USD[0.00]

08066086                              TRX[.000001], USD[0.00]

08066091                              AAVE[0.14743477], DOGE[0], SHIB[0], UNI[0], USD[0.00]

08066094                              BF_POINT[300], SHIB[0], TRX[1], USD[0.92]                                                                                                                                                    Yes

08066097                              USD[30.22]

08066098                              USD[0.00], USDT[0]

08066101                              USD[54.21]                                                                                                                                                                                   Yes

08066103                              USD[0.01], USDT[498.25754013]

08066108                              USD[0.00]                                                                                                                                                                                    Yes

08066109                              DOGE[16.28714931], SOL[.0430612], USD[0.37]                                                                                                                                                  Yes

08066117                              DOGE[.00000005], KSHIB[.80533764], LTC[.00000001], SHIB[477.49777511], SOL[.00027603], SUSHI[.00039477], TRX[.00002225], USD[1.15], USDT[0.00004629]                                         Yes

08066128                              BRZ[1], BTC[.00000001], CUSDT[1], USD[0.00], USDT[0.00010832]                                                                                                                                Yes

08066133                              ETH[.00313], ETHW[.00313], TRX[91.85202711], USD[0.00]

08066135                              BRZ[1], CUSDT[3], DOGE[.25740451], KSHIB[0.90099790], SHIB[3586478.44377021], TRX[1], USD[0.00]                                                                                              Yes

08066136                              CUSDT[1], ETH[.005275], ETHW[.005275], USD[0.00]

08066137       Contingent, Disputed   USD[0.18]

08066140                              USD[0.00], USDT[0]
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                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08066149                              BTC[.006], DOGE[1265], ETH[.07], ETHW[.07], LINK[2.8], LTC[1.14], MKR[.105], SHIB[3900000], SOL[1.18], SUSHI[25], USD[0.00], USDT[0]

08066155                              ETH[0], USD[0.00]

08066157                              USD[21.00]

08066158                              CUSDT[1], SOL[0], USD[0.00]                                                                                                                                                         Yes

08066162                              NFT (457075590891246676/Honorary Lions)[1], SOL[1.954], USD[150.00]

08066164                              CUSDT[1], DOGE[1], SOL[.24490054], USD[10.00]

08066165                              BTC[.00148259], USD[0.00]

08066173                              BTC[.0025971], DOGE[.658], ETH[.144792], ETHW[.144792], LINK[24.857], SHIB[3000000], SOL[1.76], SUSHI[33.5], USD[2.38]

08066174                              USD[0.00]                                                                                                                                                                           Yes

08066179                              BTC[.00462542], TRX[1], USD[0.00]

08066180                              BTC[0], SHIB[6037205.03379975], SOL[5.18475701]

08066194                              AVAX[.00000001], MATIC[0], USD[0.29]

08066196                              CUSDT[1], GRT[1], USD[0.00], USDT[1]

08066198                              BRZ[1], CUSDT[4], DOGE[1], ETH[0.06437966], ETHW[0.06437966], MATIC[39.40869059], TRX[884.27741434], USD[0.00]

08066201                              BTC[.00008735], DOGE[7.78971594], ETH[.00184936], ETHW[.001822], GRT[1.65580804], LTC[.03888511], SOL[.01271345], USD[0.02]                                                         Yes

08066208                              BTC[1.0160849], ETH[3.80807706], ETHW[3.80807706], SHIB[137100000], SOL[17.67], USD[0.00]

08066212                              USD[4.45]                                                                                                                                                                           Yes

08066218                              NFT (555832694555179335/Founding Frens Lawyer #807)[1], USD[0.01]                                                                                                                   Yes

08066219                              BTC[.00003395], ETH[.00100753], ETHW[.00099385], SHIB[817.81195962], TRX[2], USD[0.00]                                                                                              Yes

08066220                              CUSDT[.00000009], KSHIB[71.15609875], SHIB[146354.04582432], TRX[22.99039425], USD[0.00]                                                                                            Yes

08066222                              BTC[.0163], DOGE[152], ETH[.203], ETHW[.203], SHIB[5000000], SOL[.40959], SUSHI[8.5], USD[9.93]

08066237                              USD[46.54]

08066245                              SHIB[6995600], USD[6.38]

08066246                              USD[0.00]                                                                                                                                                                           Yes

08066260                              BTC[.01474458]

08066262                              SHIB[192347.89265015], USD[0.00]                                                                                                                                                    Yes

08066272                              USD[500.00]

08066274                              ETH[.108], ETHW[.097], USD[2.29]

08066285                              BCH[.38107491], BTC[.01801789], CUSDT[17], DOGE[63.81607853], ETH[.18088828], ETHW[.18064408], KSHIB[138.17808737], SHIB[3585342.84556106], SOL[.84633637], TRX[4], UNI[1.20191768], Yes
                                      USD[288.86]
08066289                              CUSDT[947.58614124], SHIB[1], SUSHI[3.80614136], TRX[105.4145314], USD[0.00], USDT[26.16629689]                                                                                      Yes

08066291                              BTC[.03388391], DOGE[2], TRX[2], USD[0.01], USDT[1]

08066292                              DOGE[1], TRX[1], USD[0.00]                                                                                                                                                          Yes

08066293                              USD[0.00]

08066296                              BF_POINT[200]

08066298                              BTC[.00219685]

08066306                              BTC[.0001], ETH[.006], ETHW[.006], SOL[.26], USD[0.64]

08066307                              USD[0.55]                                                                                                                                                                           Yes

08066313                              ALGO[0], BAT[0], DOGE[0], EUR[0.00], GRT[0], LTC[0], NEAR[42.86141491], SHIB[0], SUSHI[0], UNI[0], USD[0.60], USDT[0.00000007]

08066316                              BTC[.00150594], CUSDT[1], USD[0.00]

08066330                              USD[0.00]

08066352                              ETH[0], USD[0.00], USDT[0.00000353]

08066355                              BRZ[2], BTC[.07345846], CUSDT[28], DOGE[12.05995395], ETH[1.23705884], ETHW[1.07712972], LTC[3.46399702], SHIB[20], SOL[7.4577592], TRX[8], USD[2804.03]                            Yes

08066357                              ETH[0], USDT[0.00059507]

08066361                              BRZ[2], ETHW[.24442283], NFT (437608859307230557/Coachella x FTX Weekend 1 #14215)[1], SHIB[1], USD[0.01]

08066365                              BTC[.68850504], DOGE[2407.58636241], ETH[.12081085], ETHW[.12081085], KSHIB[12359.53389725], LINK[40.71307678], SOL[37.14319123], USD[0.00]

08066370                              CUSDT[1], DOGE[38.22398639], TRX[98.03589118], USD[0.00]                                                                                                                            Yes

08066374                              USD[0.00], USDT[0]

08066377                              CUSDT[4], DOGE[1], USD[0.00]

08066385                              BTC[0], DAI[0.00009919], SOL[0.06430688], USD[0.00]                                                                                                                                 Yes

08066386                              BTC[0.00000962], ETH[.37140735], ETHW[.37140735], TRX[29.97], USD[0.03]

08066389                              BTC[.043], ETH[.573], ETHW[.573], USD[6.40]

08066395                              USD[0.00]

08066396                              ETH[.023], ETHW[.023], USD[3.05]

08066401                              BF_POINT[100], CUSDT[6], ETH[.0892367], ETHW[.08819747], MATIC[33.51068678], SOL[.34189474], TRX[1], USD[0.00]                                                                      Yes

08066405                              BRZ[1], CUSDT[2], ETH[.00000001], SOL[.00000756], TRX[1], USD[0.36], USDT[1.00000843]

08066407                              TRX[.03490055]

08066418                              USD[0.00]

08066421       Contingent, Disputed   BTC[.00015109], CUSDT[491.02621312], TRX[1], USD[0.00]                                                                                                                              Yes
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                                                                                                                                            Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08066440                              ETHW[.029], USD[0.01]

08066447                              CUSDT[1], DOGE[0.00071689], LTC[.00009378], TRX[1], USD[172.57]                                                                                                                           Yes

08066455                              BRZ[1], CUSDT[6], DOGE[1.00001404], SOL[.00873068], USD[48.53]

08066456                              BCH[0], BTC[0], USD[0.00], USDT[0]

08066458                              BTC[.0576423], SOL[.00322], USD[0.03]

08066462                              DOGE[3], TRX[1], USD[0.00]                                                                                                                                                                Yes

08066469                              CUSDT[1336.57289808], DOGE[1], ETH[0], LINK[1.06114647], TRX[0], USD[0.00]                                                                                                                Yes

08066471                              DOGE[1], MATIC[523.8199476], SOL[6.50860708], TRX[1], USD[5.12]                                                                                                                           Yes

08066474                              USD[1041.70]                                                                                                                                                                              Yes

08066476                              BTC[.0003806], CUSDT[2], USD[0.00], USDT[0.00009674]                                                                                                                                      Yes

08066481                              BTC[.0212], ETH[.034], ETHW[.034], SOL[23.11362899], USD[0.94]

08066487                              CUSDT[1], ETH[.00447197], ETHW[.00441725], USD[0.00]                                                                                                                                      Yes

08066496                              USD[21.68]                                                                                                                                                                                Yes

08066506                              TRX[18.08200082], USD[8.02]

08066510       Contingent, Disputed   BRZ[1], CUSDT[8], DOGE[7.00825213], SHIB[3], SOL[.00069846], TRX[6], USD[1081.76], USDT[2.13561659]                                                                                       Yes

08066517                              AVAX[.22426078], BAT[.0000036], DOGE[.00000724], MATIC[.00065046], SHIB[2], SOL[.49105366], TRX[1], USD[0.00]                                                                             Yes

08066522                              CUSDT[1], USD[0.00]                                                                                                                                                                       Yes

08066536                              SHIB[1259734.24240514], USD[1047.08], USDT[0]                                                                                                                                             Yes

08066539                              CUSDT[1], SHIB[1931664.05556844], USD[0.00]                                                                                                                                               Yes

08066540                              BF_POINT[200], DOGE[1], MATIC[1065.67258429], SHIB[63139932.14113102], SOL[7.77757578], USD[0.00]                                                                                         Yes

08066543                              USD[0.01], USDT[0]                                                                                                                                                                        Yes

08066544                              CUSDT[3], USD[0.01]                                                                                                                                                                       Yes

08066547                              BTC[.05546267], ETH[1.0836536], ETHW[1.08319851]                                                                                                                                          Yes

08066548                              DOGE[58.67186932], LTC[0], TRX[1], USD[0.00]                                                                                                                                              Yes

08066558                              ETH[.12564311], ETHW[.12450765], TRX[5786.63402366], USD[0.00]                                                                                                                            Yes

08066563                              CUSDT[9], SHIB[485058.17908208], USD[0.03]                                                                                                                                                Yes

08066565       Contingent, Disputed   AAVE[10.731925], MATIC[649.3825], SOL[4.9852595], USD[92.98]

08066569                              NFT (291383457232275767/Coachella x FTX Weekend 1 #14229)[1], USD[0.00]

08066572                              BTC[0], DOGE[0], ETH[0], USD[0.00]

08066576                              SHIB[518701.27920507], USD[0.00]                                                                                                                                                          Yes

08066578                              USD[0.01]                                                                                                                                                                                 Yes

08066579                              CUSDT[2], TRX[2927.93756198], USD[0.00]                                                                                                                                                   Yes

08066580                              USD[0.58]

08066585                              ETH[.00207397], ETHW[.00207397], TRX[1], USD[0.00]

08066591                              BTC[.00753662], CUSDT[1], TRX[1], USD[0.00]                                                                                                                                               Yes

08066592                              NFT (512591661488561640/Entrance Voucher #29379)[1]

08066593                              BAT[1], BRZ[1], BTC[.67537746], CUSDT[7], DOGE[8.0074608], GRT[1], SHIB[6], SOL[189.97453267], TRX[5], USD[77.69], USDT[1.04425997]                                                       Yes

08066597                              AAVE[1.45458084], BCH[.840454], BTC[.00367522], ETH[.2], ETHW[.2], GRT[.049], LTC[2.3177], MATIC[167.93], SHIB[11907934.84052121], SOL[.002], USD[626.69], USDT[101.38184677]

08066599                              USD[0.83]

08066604                              CUSDT[1], DOGE[1], ETH[.00000001], ETHW[0.07653113], SHIB[2], TRX[1], USD[166.95]

08066605                              USD[0.00]                                                                                                                                                                                 Yes

08066607                              ETH[0], NFT (539155348368393939/Coachella x FTX Weekend 1 #3568)[1]

08066614                              USD[21.67]                                                                                                                                                                                Yes

08066616                              BAT[2.07568717], BTC[0], DAI[0], DOGE[1], MATIC[.00287863], TRX[1], UNI[24.95995774], USD[0.00]                                                                                           Yes

08066620                              AVAX[197.5023], DOGE[30572.871], ETHW[17.494835], LINK[312.1875], MATIC[7716.935], UNI[654.345], USD[24477.02]

08066632                              CUSDT[1], GRT[1], TRX[2], USD[1817.19]

08066640                              AUD[14.69], CUSDT[4], DOGE[69.05499953], KSHIB[63.61991514], LTC[.05242963], SHIB[2028368.77045317], SUSHI[1.18548024], TRX[1], USD[0.01]                                                 Yes

08066642                              DOGE[353.3742612], MATIC[22.18909439], SHIB[1252910.9410127], USD[0.88], USDT[0]

08066643                              USD[0.57]                                                                                                                                                                                 Yes

08066645                              NFT (296186806785082083/Cool Men by Sciontia #4)[1], NFT (348678486481034396/Cool Men by Sciontia #5)[1], NFT (397069561742047264/Cool Men by Sciontia #9)[1], NFT
                                      (437839777818156103/Cool Men by Sciontia #3)[1], NFT (458569818931939379/Cool Men by Sciontia #8)[1], NFT (464251034881808446/Cool Men by Sciontia #7)[1], NFT (486676704889691971/Cool
                                      Men by Sciontia #2)[1], NFT (499653275942304498/Cool Men by Sciontia #6)[1], NFT (504346736213138422/Cool Men by Sciontia)[1], NFT (538187008438511452/Cool Men by Sciontia #10)[1],
                                      SOL[.04]
08066646                              ETH[.00000001]

08066647                              TRX[1], USD[0.00]                                                                                                                                                                         Yes

08066648                              NFT (340375623128241023/APEFUEL by Almond Breeze #730)[1], USD[0.00]                                                                                                                      Yes

08066650                              BRZ[1], NFT (362936653094110445/Fancy Frenchies #7884)[1], NFT (497653378975564815/Warriors 75th Anniversary Icon Edition Diamond #444)[1], NFT (574977004151584428/Fancy Frenchies       Yes
                                      #7646)[1], SOL[.00000001], USD[0.00]
08066651                              BTC[.00015898], USD[0.01]                                                                                                                                                                 Yes

08066658                              BAT[1], BRZ[2], CUSDT[8], DOGE[1], TRX[2], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08066664                           BTC[.0000843], ETH[.00534778], ETHW[.00534778], SHIB[229357.79816513], USD[-3.30]

08066670                           CUSDT[3], DOGE[2629.56431242], SHIB[1], USD[0.01]

08066676                           DOGE[1], NFT (444071433744094009/Entrance Voucher #3675)[1], SHIB[1], TRX[1], USD[0.00]

08066679                           BRZ[1], USD[0.00], USDT[0]                                                                                                                                                         Yes

08066697                           CUSDT[2], DOGE[1], TRX[1], USD[0.00]

08066698                           ETH[.00000001]                                                                                                                                                                     Yes

08066700                           USD[120.01]

08066705                           SOL[.0200399], USD[0.00], USDT[4.94607021]

08066707                           BTC[.00068934], CUSDT[3], LTC[.0954051], USD[0.00], USDT[10.77551236]                                                                                                              Yes

08066722                           USD[5.42]                                                                                                                                                                          Yes

08066728                           SHIB[.00000013], USD[0.00], USDT[0]                                                                                                                                                Yes

08066730                           CUSDT[2], DOGE[56.78379036], SHIB[294263.47786733], USD[10.84]                                                                                                                     Yes

08066731                           BAT[18.01005919], BRZ[59.0473514], CUSDT[986.99383058], DOGE[41.32165178], KSHIB[361.15027083], SHIB[195327.17188913], USD[0.00]                                                   Yes

08066734                           USD[0.02], USDT[0]                                                                                                                                                                 Yes

08066744                           AAVE[1.37862], BTC[.1091], ETH[10.659109], SOL[18.98266641], UNI[15.7842], USD[2.37], USDT[0.42283493]

08066748                           AAVE[.174802], CUSDT[6], GRT[94.62532844], MKR[.00990585], SOL[.31695502], USD[0.00], YFI[.00081939]                                                                               Yes

08066765                           SHIB[1], USD[1013.46], USDT[0.00000001]                                                                                                                                            Yes

08066770                           USD[10.84]                                                                                                                                                                         Yes

08066774                           DOGE[88.857], SHIB[2000000], USD[1.02]

08066777                           ETHW[9.941154]

08066785                           USD[3.75]

08066788                           BRZ[2], CUSDT[2], DOGE[1851.82827069], SHIB[6893074.39001645], USD[0.01]

08066792                           ALGO[.2421691], DOGE[53], GRT[2.997], SHIB[300000], USD[0.00]

08066793                           BTC[.00773642], USD[0.00]

08066794                           DOGE[1.00125691], TRX[2038.33101989], USD[0.00]                                                                                                                                    Yes

08066796                           ETH[.00829281], ETHW[.00829281], NFT (303990983738910780/Catsup Proudpooka)[1], NFT (497299327080491842/G1 💯Olive Newton John)[1], NFT (525060835416770346/G3 Elk)[1], USD[5.90]

08066802                           CUSDT[1], SOL[2.48393893], USD[0.00]                                                                                                                                               Yes

08066806                           BTC[.00520344], DOGE[2], LTC[1.11097457], SOL[2.17162647], TRX[1], USD[0.01]                                                                                                       Yes

08066814                           DOGE[2], SOL[.00000619], USD[0.00]

08066815                           USD[0.00]

08066822                           SOL[2.1677212]                                                                                                                                                                     Yes

08066840                           USD[0.00]

08066842                           USD[0.00]                                                                                                                                                                          Yes

08066847                           NFT (311782758698392197/SBF Hair & Signature #1 #91)[1], NFT (503829985885469551/SBF Hair & Signature #2 #87)[1], NFT (574931501297744207/SBF Hair & Signature #3 #80)[1]

08066858                           NFT (338390919298076246/Coachella x FTX Weekend 2 #16771)[1]

08066860                           BTC[0.00426775], USD[0.90]

08066861                           CUSDT[5], TRX[2], USD[0.00]

08066866                           BTC[.00004576], ETH[.00093786], ETHW[.00092418], USD[0.00]                                                                                                                         Yes

08066869                           USD[21.68]                                                                                                                                                                         Yes

08066870                           MATIC[37.78034835], SOL[4.1306003]                                                                                                                                                 Yes

08066871                           CUSDT[1], SOL[0.06598133], USD[0.00]                                                                                                                                               Yes

08066876                           DOGE[2], ETH[.00000244], SHIB[2], TRX[1], USD[0.01]                                                                                                                                Yes

08066878                           SHIB[1976026.76456255], TRX[1], USDT[0]                                                                                                                                            Yes

08066885                           CUSDT[1], DOGE[1], TRX[1], USD[0.00]

08066886                           USD[0.83]

08066889                           USD[0.00]

08066906                           BTC[.00015822], USD[0.00], USDT[0]

08066908                           DOGE[1], USD[255.49]                                                                                                                                                               Yes

08066910                           DOGE[2], SHIB[1], SOL[.00002765], USD[0.00]                                                                                                                                        Yes

08066911                           USD[0.21]                                                                                                                                                                          Yes

08066918                           USD[10.00]

08066921                           NFT (325505966734118567/Entrance Voucher #29747)[1], SOL[.00000001]

08066929                           USD[90.00], USDT[9.95003995]

08066932                           BTC[.1698789], DOGE[2], ETHW[1.27260159], LINK[56.45602207], TRX[3], USD[0.01]                                                                                                     Yes

08066959                           CUSDT[1], DOGE[203.0277988], USD[0.00]                                                                                                                                             Yes

08066964                           SHIB[7], USD[0.00]                                                                                                                                                                 Yes

08066966                           SOL[.51002721], USD[0.00]

08066977                           SOL[.00957935], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08066983                              CUSDT[2], MATIC[5.3447332], SHIB[265425.44399026], USD[10.00]

08066985                              SOL[.10069986]

08066992                              CUSDT[1], TRX[3], USD[0.00]

08066993                              DOGE[1], SOL[15.86008608], TRX[1], USD[0.00]                                                                                                                                         Yes

08067003                              CUSDT[1], DOGE[2], SHIB[228.78833092], TRX[1], USD[0.00]                                                                                                                             Yes

08067007                              GRT[0], USD[0.00]                                                                                                                                                                    Yes

08067013                              SOL[2.82], USD[1.47]

08067027                              AVAX[0], DOGE[1], SHIB[1], USD[0.00]                                                                                                                                                 Yes

08067036                              AVAX[1.71401398], MATIC[79.39613884], SHIB[1704044.2693982], TRX[1], USD[0.03]                                                                                                       Yes

08067063                              BAT[8.48553224], DOGE[35.49507699], SHIB[363207.79265237], TRX[91.57923444], USD[0.00]

08067075                              ETH[0], TRX[1]                                                                                                                                                                       Yes

08067082                              BTC[.05948978], ETH[.88915044], ETHW[.88915044], PAXG[.2700386], SOL[7.81112406], USD[940.06]

08067087                              USD[0.00]                                                                                                                                                                            Yes

08067089                              USD[1.00]

08067091                              USD[6.85], USDT[0.00000001]

08067094                              ETH[.000211], ETHW[.000211], USD[0.01]

08067099                              SOL[2.1], USD[3.17]

08067100                              BTC[.01850113], CUSDT[7], ETH[.01321273], ETHW[.01304857], SOL[.08704844], USD[0.02]                                                                                                 Yes

08067104                              ETH[0], ETHW[109.8384425], USD[0.00]

08067111                              USD[0.00]

08067112                              NFT (310350622740445562/Tim Brown's Playbook: Michigan State vs. Notre Dame - September 19, 1987 #55)[1]

08067113                              USD[9.82]

08067115                              BRZ[5.52704796], CUSDT[23], ETHW[.05810805], GRT[4.42390563], KSHIB[18.12203195], SHIB[18148.94431344], TRX[3], USD[285.37], USDT[.99450673]

08067126                              CUSDT[2], DOGE[1], NFT (512046461920696737/Fancy Frenchies #5733)[1], NFT (527236700834950651/Fortune Cookies #1157)[1], SOL[.04], TRX[1], USD[1.32], USDT[0.00000171]

08067127                              SHIB[8691300], TRX[39980], USD[4.30]

08067131                              NFT (527934613995550390/Banana 1)[1], SOL[0], USD[0.00], USDT[0]

08067133                              CUSDT[8], DOGE[.00000024], USD[0.00]                                                                                                                                                 Yes

08067136                              USD[1.14]                                                                                                                                                                            Yes

08067141                              BTC[.00000003], DOGE[2], ETH[.00000046], ETHW[.05011083], NFT (384790101449452804/Bahrain Ticket Stub #1266)[1], SHIB[85.42274892], SOL[.00000478], USD[0.01]                        Yes

08067142                              SOL[4.9], USD[1.99]

08067146                              BF_POINT[100], SOL[.00000001], USD[0.00], USDT[0]                                                                                                                                    Yes

08067148                              USD[0.00]

08067168                              SHIB[12500000], USD[47.45]

08067171                              NFT (332949087240176436/Saudi Arabia Ticket Stub #497)[1], NFT (335708176743299089/Kozgukoth #1)[1], NFT (505435443216303165/Three Zero 20)[1], SHIB[1], SOL[.02774288], USD[0.00]   Yes

08067186                              SHIB[196385.05540931], TRX[95.04144579], USD[0.00]                                                                                                                                   Yes

08067194                              BTC[.00149996], ETH[.02071791], ETHW[.02071791], USD[0.00]

08067204                              KSHIB[89.91], SOL[.12987], USD[15.63]

08067215                              USD[3.25]                                                                                                                                                                            Yes

08067220                              SHIB[57984217.00044711], TRX[1], USD[1.37]                                                                                                                                           Yes

08067224                              USD[0.65]

08067225       Contingent, Disputed   USD[10.84]                                                                                                                                                                           Yes

08067232                              SHIB[635.8676455], USD[0.00]                                                                                                                                                         Yes

08067239                              CUSDT[1], SHIB[494006.69114107], USD[37.95]                                                                                                                                          Yes

08067242                              BRZ[1], CUSDT[8], DOGE[1], SHIB[1], USD[301.14]                                                                                                                                      Yes

08067244                              NFT (340280694074301875/SBF Hair & Signature #1 #83)[1], NFT (413471003384376511/SBF Hair & Signature #3 #73)[1], NFT (502004454441421125/SBF Hair & Signature #2 #80)[1]

08067256                              BTC[.001], DOGE[189], KSHIB[1799.1], SHIB[1798200], SOL[.83], USD[4.42]

08067257                              NFT (383472949227793842/Coogi #1674)[1]

08067261                              USD[0.09]

08067264                              BTC[.00181345], USD[0.02]

08067269                              AAVE[.32300885], CUSDT[1], USD[0.00]                                                                                                                                                 Yes

08067270                              USD[20.00]

08067275                              NFT (288277693871491184/SBF Hair & Signature #1 #84)[1], NFT (416793403642988664/SBF Hair & Signature #3 #74)[1], NFT (425431360768547500/SBF Hair & Signature #2 #81)[1]

08067276                              USD[1.86]                                                                                                                                                                            Yes

08067278                              CUSDT[1], SOL[1.08571606], USD[55.28]                                                                                                                                                Yes

08067284                              CUSDT[1], DOGE[1], SHIB[1], USD[0.00]

08067294                              CUSDT[2], SHIB[4659044.58221548], USD[0.00]                                                                                                                                          Yes

08067300                              USD[0.95]                                                                                                                                                                            Yes

08067303                              USD[110.01]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08067305                              CUSDT[2], DOGE[5], ETH[1.39738804], ETHW[.38719342], GRT[1], SOL[21.53208269], TRX[3], USD[2.05]                                                                            Yes

08067308                              NFT (484889524468360410/Warriors 75th Anniversary Icon Edition Diamond #2383)[1]

08067310                              BTC[.02479586], CUSDT[5], DOGE[2], ETH[.2160775], ETHW[.2158608], MATIC[277.26633472], SOL[7.83925618], USD[0.01]                                                           Yes

08067311                              USD[110.00]

08067313                              BTC[0], USD[0.84]

08067327                              BTC[.00205821], CUSDT[3], DOGE[1], ETH[.01792309], ETHW[.01792309], USD[2.00]

08067334                              CUSDT[1], LTC[0], SOL[.00000001], USDT[1.08340531]                                                                                                                          Yes

08067335                              USD[3.67]

08067336                              ETH[.00207248], ETHW[.00207248], USD[0.00]

08067338                              NFT (325750444187891564/SBF Hair & Signature #2 #82)[1], NFT (385630023862364611/SBF Hair & Signature #1 #85)[1], NFT (398927268469457773/SBF Hair & Signature #3 #75)[1]

08067344                              BRZ[1], DOGE[1], ETH[0.03296313], ETHW[0.03296313], SOL[0], TRX[1], USD[0.00]

08067347                              USD[10.00]

08067353                              USD[0.00]

08067355                              BRZ[1], CUSDT[4], ETH[.00244985], ETHW[.00242249], USD[0.00]                                                                                                                Yes

08067357                              DOGE[312.687], LTC[.33966], USD[67.02]

08067372                              CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                 Yes

08067381                              BAT[688.311], USD[0.01], YFI[.005994]

08067388                              CUSDT[2], USD[14.06]

08067391                              BAT[1], BTC[.05927851], CUSDT[1], ETH[3.41991011], ETHW[3.41847375], SOL[.00000001]                                                                                         Yes

08067396                              NFT (310557931420248207/SBF Hair & Signature #2 #83)[1], NFT (402120224782564739/SBF Hair & Signature #3 #76)[1], NFT (419047036131683482/SBF Hair & Signature #1 #86)[1]

08067397                              DOGE[1], ETH[.02073974], ETHW[.02073974], USD[0.00]

08067404                              USD[0.00], USDT[0]

08067408                              NFT (551852210421189679/Sigma Shark #6124)[1], SOL[.089995]

08067409                              USD[0.00]

08067410                              USD[10.00]

08067411                              AVAX[29.97], BTC[.0995004], SOL[34.97], USD[9.87]

08067424                              USD[0.03]

08067432                              BRZ[4], CUSDT[4], USD[0.00], USDT[0.00000001]

08067434                              CUSDT[3], DOGE[1], MATIC[22.64379479], SHIB[.91917409], USD[0.60]                                                                                                           Yes

08067435                              ETH[0], ETHW[0.00081978], LTC[0], SOL[0], TRX[0], USD[0.04], USDT[0]

08067436       Contingent, Disputed   USD[0.00]

08067437                              BTC[.32867999], ETH[2.32504959], ETHW[2.32504959], GRT[1], SUSHI[1], USD[0.00]

08067443                              USD[11.86]

08067444                              CUSDT[1], SOL[.06542654], USD[0.00]                                                                                                                                         Yes

08067445                              BTC[.00074151], SHIB[905633.0374932], USD[0.00]

08067448                              USD[0.00], USDT[0]

08067463                              CUSDT[8], DOGE[96.26130691], ETH[.00447847], ETHW[.00442375], GRT[13.96159807], KSHIB[268.4851584], MATIC[8.4895766], SHIB[488568.69017045], SOL[.08614679], USD[0.01],     Yes
                                      USDT[16.16800902]
08067473                              SOL[18.3677485]                                                                                                                                                             Yes

08067489                              ETH[.004], ETHW[.004], USD[0.67]

08067507                              ETH[0], SOL[.00000001], USD[0.74]

08067510                              BTC[.00076402], CUSDT[1], TRX[1], USD[0.00]                                                                                                                                 Yes

08067517                              USD[0.35]

08067527                              CUSDT[1], DOGE[2], TRX[3], USD[0.00], USDT[0]

08067534                              USD[0.00]

08067539                              USD[0.00]

08067543                              DOGE[15821.57215699], GRT[1.00154453], SHIB[72659168.5723097], TRX[1], USD[0.13], USDT[2.16318249]                                                                          Yes

08067548                              USD[0.37]

08067549                              USD[16.17]                                                                                                                                                                  Yes

08067553                              SOL[2.1729746], USD[0.00], USDT[1.08384082]                                                                                                                                 Yes

08067556                              CUSDT[2], DOGE[2], ETH[.00014086], ETHW[.00014086], KSHIB[8915.83981260], TRX[3], USD[0.53], USDT[9.45067326]

08067563                              ETH[.00224989], ETHW[.00222253], USD[0.00]                                                                                                                                  Yes

08067574                              BAT[1.82635933], ETH[0], ETHW[0], LTC[0.00000015], USD[0.00]                                                                                                                Yes

08067577                              SOL[0], USD[0.24]

08067578                              SOL[2.06634643], USD[0.00]

08067579                              ETHW[11.30632235], MATIC[0], USD[0.01]

08067585       Contingent, Disputed   BTC[0], USD[0.00]

08067586                              SOL[.00178], USD[0.00], USDT[0]

08067592                              CUSDT[3], USD[0.00]                                                                                                                                                         Yes
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                                                                                                                                             Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08067599                              CUSDT[1], DOGE[42.56898369], SHIB[96141.93306741], USD[0.00], USDT[5.38938562]                                                                                                       Yes

08067600                              BRZ[1], CUSDT[8], DOGE[3], SHIB[2], SOL[.04873096], USD[0.01]                                                                                                                        Yes

08067601                              BTC[.00041831], USD[0.00]                                                                                                                                                            Yes

08067604                              TRX[450], USD[0.74]

08067608                              BTC[.0054054]

08067614                              CUSDT[1], SOL[.21665849], USD[0.00]                                                                                                                                                  Yes

08067625                              BRZ[1], CUSDT[1], DOGE[1], ETH[.00000032], ETHW[.00000032], SOL[.80646496], USD[0.00]                                                                                                Yes

08067639                              USD[26.00]                                                                                                                                                                           Yes

08067640                              USD[1.45]

08067654                              BTC[0.04591615], DOGE[4814.28420791], LINK[9.9026], USD[0.00]

08067658                              USD[412.43]

08067662                              BAT[1.01373726], BRZ[2], CUSDT[1], SOL[.00000916], USD[0.01]                                                                                                                         Yes

08067669                              USD[0.00]

08067670                              TRX[1], USD[0.00]

08067671                              CUSDT[12.77937106], DOGE[51.3548179], SOL[0], USD[0.00]

08067672                              ETH[0.00667142], ETHW[0.00667142]

08067676                              ETH[0], SOL[0], USD[0.00], USDT[0.00000141]

08067685                              CUSDT[1], SHIB[783681.04430518], USD[10.84]                                                                                                                                          Yes

08067688                              USD[50.00]

08067693                              BTC[.0004], DOGE[120.905], SUSHI[2], USD[0.13]

08067702                              LINK[2.3], USD[0.65]

08067706                              BTC[0], SHIB[1], SOL[0], USD[0.00]                                                                                                                                                   Yes

08067712                              BTC[.00124734], CUSDT[3], SHIB[493325.80782196], USD[0.00], USDT[0.00119460]                                                                                                         Yes

08067714                              BAT[1], BRZ[5], CUSDT[1], DOGE[10.00750305], ETHW[2.02188075], GRT[1], SHIB[6], TRX[8], USD[1775.92], USDT[4.05921381]                                                               Yes

08067716                              BTC[.00000002], CUSDT[6], DOGE[1], ETH[.00000056], ETHW[0.00000056], USD[0.70]                                                                                                       Yes

08067717                              GRT[107.892], USD[0.41]

08067728                              CUSDT[1], DOGE[3], ETH[0], ETHW[0.26592584], SOL[23.07347215], TRX[2], USD[0.01], USDT[0.00000001]                                                                                   Yes

08067744                              SOL[0], USD[0.00], USDT[0.00006152]

08067749                              USDT[0]

08067758                              BAT[4.8713543], GRT[1.80294762], KSHIB[89.76309365], SUSHI[.41804225], TRX[29.30209813], USD[0.00]                                                                                   Yes

08067763                              BAT[1], DOGE[276.51463342], ETH[2.08875195], ETHW[2.08787471], TRX[2], USD[0.00]                                                                                                     Yes

08067769                              BAT[6.42275261], BRZ[40.02909697], CUSDT[2], GRT[6.31267957], TRX[162.48014906], USD[0.00]                                                                                           Yes

08067776                              CUSDT[1], TRX[404.26766854], USD[0.00]                                                                                                                                               Yes

08067778                              CUSDT[1], USD[101.94]                                                                                                                                                                Yes

08067789                              BTC[0], CUSDT[0], DOGE[0], ETH[0], LINK[0], SHIB[3264263.82864279], SOL[0], TRX[0], USD[0.00]                                                                                        Yes

08067797                              SOL[15.92], USD[1.05]

08067805                              BTC[.03831455], ETH[.03405837], ETHW[.03405837], USD[1.19]

08067815                              CUSDT[1], DOGE[295.61088566], TRX[235.0907301], USD[0.00]                                                                                                                            Yes

08067825                              USD[100.00]

08067826                              USD[0.00]                                                                                                                                                                            Yes

08067827                              BTC[.00790475], CUSDT[1], DOGE[1], SOL[2.69710045], USD[0.00]                                                                                                                        Yes

08067828                              BRZ[1], BTC[.01780695], DOGE[1], USD[0.00]                                                                                                                                           Yes

08067835                              SOL[2.03037483], TRX[1], USD[0.00]                                                                                                                                                   Yes

08067840                              SHIB[1600000], USD[8.97]

08067858                              AVAX[0], USD[0.00], USDT[.46061415]

08067862                              SHIB[99900], USD[2.46]

08067866                              CUSDT[3], DOGE[57.17848406], ETH[.03879459], ETHW[.03831544], SHIB[232621.20973692], USD[0.00]                                                                                       Yes

08067872                              BTC[.00000004], ETH[.00000039], ETHW[.04179177], USD[127.34]                                                                                                                         Yes

08067875                              USD[40.00]

08067876                              DOGE[1032.58572061], ETH[.03673156], ETHW[.03673156], USD[0.75]

08067881                              SOL[.06273788]

08067891                              BRZ[.00295673], CUSDT[3], ETH[0], ETHW[0], MATIC[6.02775370], SOL[0.05936533], USD[0.00]                                                                                             Yes

08067892                              BRZ[2], CUSDT[10], DOGE[7.00076719], ETHW[.48124896], GRT[1], SHIB[6], TRX[10], USD[1264.22], USDT[0.00000001]                                                                       Yes

08067895                              CUSDT[1], ETH[.04926866], ETHW[.04926866], NFT (372741560541308154/Joe Theismann's Playbook: Washington vs. Miami Dolphins - January 30, 1983 #77)[1], NFT (382661693499906521/Joe
                                      Theismann's Playbook: Washington vs. Chicago Bears - September 29, 1985 #82)[1], USD[0.00]
08067899                              CUSDT[2], DOGE[1], ETH[.00469202], ETHW[.00469202], SOL[1.00387187], TRX[1], USD[0.87]

08067906       Contingent, Disputed   ALGO[.00796297], AVAX[.0043522], BAT[.65205583], BCH[.00000434], BRZ[1.69427389], BTC[.00002193], CUSDT[.00469635], DAI[.18861595], DOGE[.00129252], ETH[.00018528],
                                      ETHW[.00008603], GRT[2.94383967], KSHIB[.62986698], LINK[.00170398], LTC[.00001577], MATIC[.009675], MKR[.00004927], NEAR[.00467277], NFT (377191941204429062/Enemy Robot Aerial
                                      Unit)[1], NFT (487899821704254488/Red Army Emmisary Girl)[1], PAXG[.00000922], SHIB[.49917381], SOL[1.00527529], SUSHI[.00385603], TRX[.63039697], UNI[.00054364], USD[659.93],
                                      USDT[0.00017840], WBTC[.00001463]
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                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08067922                           BRZ[4], BTC[.0000009], CUSDT[5], DOGE[2], SHIB[1], TRX[4.000045], USD[0.00], USDT[0.00415239]                                                                                         Yes

08067923                           USD[2009.18]                                                                                                                                                                          Yes

08067932                           BAT[0], BTC[0], DOGE[0], ETH[0.00000004], ETHW[0], LINK[0], MATIC[0], MKR[0], SHIB[0], SOL[0], SUSHI[0], USD[0.00], YFI[0]

08067934                           BRZ[1], CUSDT[2], DOGE[476.54258035], SHIB[4422586.6584933], USD[0.00]                                                                                                                Yes

08067936                           AAVE[7.85903], BAT[4045.707], BCH[2.761329], BTC[.0226855], DOGE[281.8], ETH[1.035094], ETHW[.238094], GRT[3442.482], KSHIB[4974.53], LINK[188.7439], LTC[6.17227], MATIC[431.237],
                                   MKR[.096832], SHIB[33862800], SOL[35.70251], SUSHI[530.571], TRX[3300.117], UNI[13.1967], USD[30.43], WBTC[.0159751], YFI[.173147]
08067938                           BTC[0], LINK[.0295], MATIC[.11], SOL[.00561], UNI[.0131], USD[147.24]

08067939                           TRX[1], USD[0.00]                                                                                                                                                                     Yes

08067942                           SOL[2.81708954], USD[0.00]

08067945                           DOGE[1], UNI[2.00837439], USD[0.00]                                                                                                                                                   Yes

08067949                           USD[54.16]                                                                                                                                                                            Yes

08067954                           DOGE[2], SOL[7.91640773], USD[0.00]

08067955                           CUSDT[1], DOGE[2], NFT (379840228141824035/CryptoAvatar #158)[1], NFT (568570744362962020/CryptoAvatar #115)[1], SOL[0.26283354], TRX[1], USD[0.00]                                   Yes

08067958                           USD[0.00]

08067960                           BCH[0], BTC[0], ETH[0], MATIC[0], USD[0.00]                                                                                                                                           Yes

08067961                           BTC[.00036378], CUSDT[4], DOGE[59.98948814], ETH[0.22209690], ETHW[0.22188172], LINK[.70884553], MATIC[1279.81527752], TRX[4], USD[12638.27], USDT[1.07809321]                        Yes

08067970                           CUSDT[3], DOGE[2], ETH[.00000034], ETHW[.03726546], NFT (293499318253941460/G9 Walrus)[1], NFT (345476585189894705/Astral Apes #1379)[1], NFT (469879825004727964/Astral Apes         Yes
                                   #2433)[1], SHIB[2], SOL[.00000895], TRX[1], USD[0.00]
08067971                           BTC[0], GRT[0], MATIC[0], SHIB[0], TRX[0], USD[0.95], USDT[0.00000913]                                                                                                                Yes

08067978                           USD[0.00]

08067980                           USD[0.00]                                                                                                                                                                             Yes

08067984                           USD[541.91]                                                                                                                                                                           Yes

08067997                           BAT[38.1687664], BTC[.00233071], CUSDT[7], MATIC[10.50391718], SHIB[1807664.49746926], TRX[135.49319115], USD[0.00]

08068002                           LTC[0], SOL[0], TRX[0], UNI[0], USD[0.00], USDT[0.00000040]                                                                                                                           Yes

08068003                           CUSDT[3], ETH[.00226852], ETHW[.00224116], EUR[20.38], SHIB[7], SOL[2.61349606], USD[31.82]                                                                                           Yes

08068017                           USD[0.00], USDT[.99408261]                                                                                                                                                            Yes

08068019                           CUSDT[1], USD[0.00]

08068024                           DOGE[385.49563787]                                                                                                                                                                    Yes

08068032                           SOL[.00000001]

08068033                           BTC[.00084087], CUSDT[2], TRX[1], USD[117.35], YFI[.00140583]                                                                                                                         Yes

08068040                           BTC[.01235126], CUSDT[2], ETH[.09291045], ETHW[.09186267], NFT (465644553303547266/Warriors 75th Anniversary Icon Edition Diamond #1406)[1], USD[0.00]                                Yes

08068047                           KSHIB[175.12508687], LTC[.00000037], MKR[.00000003], USD[0.00]                                                                                                                        Yes

08068050                           MATIC[0], SHIB[1], SOL[0], USD[0.00]

08068051                           USD[0.66]

08068052                           CUSDT[1], KSHIB[1754.34133693], USD[0.00]

08068058                           SOL[.00194521]                                                                                                                                                                        Yes

08068060                           BTC[.0106915], DOGE[1904.64302328], ETH[.148882], ETHW[.148882], LINK[13.97890000], SHIB[1790830.94555873], USD[57.74]

08068064                           ETH[0], NFT (298314250504956192/Pirate #735)[1], NFT (408166145355299697/Cyber Pharmacist 6508)[1], NFT (527098897547376446/Pirate #3539)[1], NFT (565698143081010759/Cyber
                                   Pharmacist 3178)[1], SOL[0.20500000], USD[0.00]
08068065                           SHIB[2], USD[0.00]                                                                                                                                                                    Yes

08068072                           MATIC[.02104162], NFT (292370244461420619/Coachella x FTX Weekend 2 #11979)[1], SHIB[959.30515042], TRX[2.47289077], USD[0.00]                                                        Yes

08068079                           DOGE[634.20241464], SHIB[1083811.08854773], TRX[1], USD[0.00]                                                                                                                         Yes

08068084                           USD[20.00]

08068092                           ETH[.001], ETHW[.001], KSHIB[3496.5], SOL[.01721], USD[9.71]

08068095                           USD[5.42]                                                                                                                                                                             Yes

08068101                           BTC[.00857555], CUSDT[3], DOGE[1], ETH[.05334479], ETHW[.05334479], LINK[23.97100361], SOL[.01098657], TRX[1], USD[0.00]

08068109                           USD[0.00]

08068114                           USDT[3.4002832]

08068118                           BTC[.00002938], DOGE[3.49506831], LTC[.00849], USD[0.00]                                                                                                                              Yes

08068121                           USD[10.84]                                                                                                                                                                            Yes

08068122                           BCH[0], BTC[0], SOL[.00000001], USD[0.01]                                                                                                                                             Yes

08068124       Contingent,         USD[617.51]                                                                                                                                                                           Yes
               Unliquidated
08068128                           AAVE[15.489], SHIB[17182800], USD[1038.63]

08068129                           MKR[.1368767], USD[4.21]

08068140                           USD[15.00]

08068141                           USD[0.28]

08068154                           DOGE[2], ETHW[.01880434], SHIB[1], TRX[1], USD[77.72]

08068161                           BF_POINT[400], BTC[.0005047], CUSDT[1], NFT (475959835301786593/Serum Surfers X Crypto Bahamas #105)[1], USD[21.81]                                                                   Yes

08068162                           ETH[.00000001]

08068166                           USD[100.00]
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08068167                              USD[1.16]

08068177                              USD[108.38]                                                                                                                                                                           Yes

08068189                              SOL[1]

08068196                              CUSDT[1], SOL[.43142367], USD[0.00]

08068197                              SOL[.429696], USD[2.86]

08068199                              BRZ[9.06207399], BTC[.00355598], CUSDT[26], DOGE[2], ETH[.05395543], ETHW[.05328511], SOL[.05560564], TRX[7], USD[0.01]                                                               Yes

08068210       Contingent, Disputed   USD[0.00]

08068221                              USD[0.00]

08068227                              MKR[.000399], USD[0.01]

08068228                              NFT (548186618445839146/Terraform Seed)[1], USD[1.10]

08068241                              ETH[0], SOL[0.00000001], USD[0.00], USDT[0.00000008]

08068250                              BTC[.00180111], SHIB[11.53646692], TRX[0], USD[0.00], USDT[.00017706]                                                                                                                 Yes

08068254                              NFT (423199417646235594/Coachella x FTX Weekend 2 #7555)[1]

08068256                              NFT (518225356773889493/David #311)[1]

08068258                              BRZ[1], BTC[.00392868], CUSDT[4], DOGE[750.30464035], ETH[.05613794], ETHW[.05544026], TRX[934.49121424], USD[0.10], USDT[53.98846851], YFI[.00340559]                                Yes

08068263                              AVAX[3.09824969], BAT[455.57348781], BTC[.06328065], DOGE[176.62930997], ETH[.10907525], ETHW[.10797612], LINK[1.5435573], MATIC[28.48449516], SHIB[4], SOL[.82605535], USD[11.74],   Yes
                                      YFI[.00335531]
08068264                              BTC[0], ETH[0], LINK[142.73000845], USD[0.00]

08068270                              BTC[0], NFT (555117395257943955/Entrance Voucher #4199)[1], USD[51.94]

08068275                              USD[0.00], USDT[.00442]

08068277                              BRZ[3], DOGE[2], SHIB[7], TRX[3], USD[0.00]                                                                                                                                           Yes

08068290                              LINK[19.11]

08068292                              AAVE[0], AVAX[32.07761196], DOGE[0], ETH[0], GRT[0], LINK[0.00058659], MATIC[0], NEAR[0], SHIB[75064.01869312], SOL[23.14032177], TRX[0], USD[1205.00], USDT[0]                       Yes

08068293                              BTC[.00000127], MATIC[0], USD[0.01]                                                                                                                                                   Yes

08068295                              CUSDT[1], DOGE[102.69553987], USD[0.00]                                                                                                                                               Yes

08068301                              USD[2.45]

08068316                              CUSDT[1], SHIB[1800828.38105528], USD[0.00]

08068317                              BTC[.00000001], MATIC[0], USD[0.00]                                                                                                                                                   Yes

08068319                              BTC[.00110603], DOGE[86.60954432], ETH[.0103716], ETHW[.0103716], SHIB[438135.29617946], SOL[.10019839], USD[0.00]

08068320                              USD[3.56], USDT[7.44]

08068327                              USD[10.00]

08068332                              TRX[.011344], USD[0.01], USDT[0.00000001]

08068351                              USD[50.00]

08068362                              CUSDT[1], SOL[1.13863557], USD[0.00]                                                                                                                                                  Yes

08068363                              SHIB[4785423.37413104], USD[0.00], USDT[0.00699723]

08068370                              USD[76.36]

08068382                              BTC[0.07317175], ETH[4.09796134], ETHW[4.00306864], USD[1228.09]

08068389                              USD[0.05]

08068390                              BTC[0], USD[4.30]

08068404                              USD[15.67], USDT[0]

08068405                              BTC[.03603574], ETH[.11320207], ETHW[.11320207], SOL[2.29577534], USD[0.00], USDT[0.00048366]

08068413                              BAT[1.01105357], DOGE[6.01137283], GRT[1.00080258], TRX[1], USD[697.96]                                                                                                               Yes

08068422                              DOGE[733.99642256], SOL[1.03059648]                                                                                                                                                   Yes

08068425                              BTC[0], SOL[.10282526], USD[0.21], USDT[0.00000023]

08068429                              USD[0.01]

08068441                              USD[54.20]                                                                                                                                                                            Yes

08068457                              CUSDT[4], ETH[0], LTC[.08772491], TRX[1], USD[0.00]                                                                                                                                   Yes

08068458                              CUSDT[5], DOGE[391.39387199], ETH[.15599128], ETHW[.15530826], SHIB[1], SOL[.2157761], TRX[2], USD[0.00]                                                                              Yes

08068467       Contingent, Disputed   BTC[0], SOL[0.00000001], USD[0.00]

08068476                              SOL[.279]

08068494                              USD[34.43]

08068495                              BTC[.0023], USD[3.90]

08068504                              NFT (344850430376034984/Barcelona Ticket Stub #1176)[1], NFT (363662754240851053/04)[1], NFT (505923817967597086/Imola Ticket Stub #2343)[1], SHIB[153311.89079259], SOL[.0109592],   Yes
                                      USD[0.00]
08068510                              BTC[.02307921], SOL[4.9973], USD[879.57]

08068516                              SHIB[20180.53959644], USD[0.00]                                                                                                                                                       Yes

08068534                              CUSDT[1], SHIB[422301.11273405], USD[5.41]                                                                                                                                            Yes

08068539                              NFT (540440532510837255/SBF Hair & Signature #1 #92)[1]

08068541                              BRZ[1], SHIB[3], USD[0.00]                                                                                                                                                            Yes

08068543                              USD[50.00]
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                                                                                                                                            Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08068558                              SHIB[1336364.1098545], TRX[1], USD[0.00]                                                                                                                                          Yes

08068561                              DOGE[1111]

08068566                              CUSDT[1], DOGE[2], ETH[.07307566], ETHW[.07216893], SOL[.41394911], USD[0.01]                                                                                                     Yes

08068576                              CUSDT[3], USD[0.00]                                                                                                                                                               Yes

08068577                              USD[108.38]                                                                                                                                                                       Yes

08068589                              BAT[1.0155348], SOL[1.94223611], USD[54.19]                                                                                                                                       Yes

08068593                              MATIC[0], USD[0.00]

08068594                              CUSDT[1], SHIB[1435164.63095108], USD[0.07]                                                                                                                                       Yes

08068595                              BTC[.00022042], TRX[45.01481092]                                                                                                                                                  Yes

08068596                              USD[10.83], USDT[10.77394867]                                                                                                                                                     Yes

08068614                              NFT (302197394496255660/The 2974 Collection #0728)[1], NFT (562510539198919797/Birthday Cake #0728)[1], USD[1.78]

08068619                              USD[5.22]                                                                                                                                                                         Yes

08068627                              BRZ[1], BTC[.00000004], CUSDT[3], PAXG[0], TRX[1], USD[0.68], USDT[0.00038623]                                                                                                    Yes

08068639                              USD[0.00], USDT[0]

08068640                              PAXG[.05325336], USD[19.01], USDT[0.47548995]

08068641                              BTC[.00034728], CUSDT[0], USD[0.03], USDT[0.00002701]                                                                                                                             Yes

08068648                              SHIB[2879292.03195796]                                                                                                                                                            Yes

08068655                              CUSDT[1], SHIB[369929.81940293], USD[0.00]                                                                                                                                        Yes

08068656                              USD[5000.00]

08068658                              CUSDT[1], USD[0.00]                                                                                                                                                               Yes

08068664                              BTC[.000075], USD[0.01], USDT[.009842]

08068665                              USD[0.00]

08068668                              CUSDT[1], SHIB[445553.37729459], USD[0.00]

08068670                              USD[2.23]

08068674                              AVAX[.16129959], CUSDT[2], LTC[.00000037], PAXG[.00647054], SHIB[91978.39809337], SOL[.0724927], SUSHI[1.29062406], TRX[1], USD[0.00]                                             Yes

08068677                              MATIC[.00105895], USD[0.01], USDT[0]                                                                                                                                              Yes

08068678                              CUSDT[1], DOGE[156.24558396], USD[0.00]                                                                                                                                           Yes

08068680                              DOGE[.5], USD[0.00], USDT[0]

08068682                              BTC[.00007243], CUSDT[1], USD[6.86]                                                                                                                                               Yes

08068684                              CUSDT[1], SOL[1.00082811], USD[0.00]

08068685                              BRZ[1], CUSDT[1], SOL[.0000046], USD[0.00]                                                                                                                                        Yes

08068686                              CUSDT[2], DOGE[3], ETH[.00053752], ETHW[1.70653752], TRX[3], USD[0.00]

08068689                              USD[16.26]                                                                                                                                                                        Yes

08068692                              BRZ[1], CUSDT[9.49860208], DOGE[2], KSHIB[2944.30156259], NFT (293257882136079503/Sigma Shark #928)[1], NFT (507009988987145420/Sigma Shark #1268)[1], SOL[2.71169133], TRX[1],   Yes
                                      USD[0.00]
08068695                              SHIB[1741888.59263801], USD[0.00]

08068698                              ETH[.00000001], SHIB[2], USD[0.00]                                                                                                                                                Yes

08068712       Contingent, Disputed   USD[0.00], USDT[0]                                                                                                                                                                Yes

08068716                              LINK[.999], USD[1.01]

08068729                              USD[0.01]

08068731                              BTC[.00163582], CUSDT[1], USD[0.00]                                                                                                                                               Yes

08068733                              SHIB[94256.45908374], USD[0.00]                                                                                                                                                   Yes

08068734                              BTC[.00082365], CUSDT[3], DOGE[63.72060872], ETH[.01122033], ETHW[.01108353], MATIC[20.28309346], USD[0.00]                                                                       Yes

08068744                              USD[10.00]

08068749                              MATIC[0], USD[3.45]

08068754                              USDT[2.47640588]

08068762                              AVAX[.00915], ETH[.0009606], ETHW[.0009606], SOL[.005], USD[3373.06], USDT[0.00409880]

08068764                              SOL[.00000074], USD[0.00]

08068765                              USD[50.00]

08068779                              ETHW[.01], USD[84.42]

08068782                              SHIB[3], USD[0.00]                                                                                                                                                                Yes

08068787                              BTC[.00906931], DOGE[1], USD[1.97]                                                                                                                                                Yes

08068789                              USD[1724.52]

08068792                              USD[0.00]

08068793                              CUSDT[2], LINK[.78301151], SOL[.10830576], USD[0.00]                                                                                                                              Yes

08068797                              AVAX[1.26208715], ETH[0], ETHW[.00002307], NFT (314367878926972971/Skull Love #29)[1], SHIB[4], USD[0.00]                                                                         Yes

08068803                              CUSDT[5], DOGE[1], TRX[3], USD[0.00]                                                                                                                                              Yes

08068816                              SOL[0], USD[0.00], USDT[0]

08068817                              DOGE[1], MATIC[28.44542284], USD[0.00]                                                                                                                                            Yes
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08068823                              BAT[1], ETH[.00360781], SHIB[438694.59316051], USD[0.00]                                                                                                                               Yes

08068827                              CUSDT[1], TRX[882.55193067], USD[0.00]

08068836                              CUSDT[1], DOGE[452.3577275], TRX[1], USD[0.00]                                                                                                                                         Yes

08068840                              SHIB[99910], USD[1.04]

08068845                              DOGE[0], GRT[0], SHIB[0], USD[0.00]                                                                                                                                                    Yes

08068850                              CUSDT[1], SHIB[1751006.82892663], USD[0.00]

08068856                              SHIB[31.07374729], USD[0.00]                                                                                                                                                           Yes

08068859                              BTC[.00000002], CUSDT[1], SHIB[9000], SOL[0.56480361], USDT[0.00019751]                                                                                                                Yes

08068864                              SOL[0], USD[0.00]

08068868                              SHIB[38392.18173461], USD[2.17]                                                                                                                                                        Yes

08068871                              BTC[0], ETH[0], USD[0.01]

08068876                              AVAX[0], BTC[0.00000094], DOGE[20.05156963], ETH[0], ETHW[0], EUR[0.00], KSHIB[0], NEAR[1.00915876], SHIB[5015.13748079], SOL[0], USD[0.00]                                            Yes

08068881                              DOGE[.00019397], USD[0.00]                                                                                                                                                             Yes

08068883                              USD[10.00]

08068894                              BTC[.00182127], CUSDT[4], DOGE[447.0929004], ETH[.02481619], ETHW[.02450747], SHIB[2204311.22981244], TRX[963.63119892], USD[0.37]                                                     Yes

08068899                              SOL[2.00738339], USD[0.00]

08068900                              CUSDT[1], ETH[.01034159], ETHW[.01034159], USD[0.01]

08068901                              NFT (474515892495299201/5035)[1], SOL[.00000002], USD[6.84]                                                                                                                            Yes

08068902                              BF_POINT[200], USD[0.60]                                                                                                                                                               Yes

08068907                              BTC[.00024663], SOL[2], USD[0.00]

08068910                              BRZ[1], LTC[0]

08068911                              BTC[.00192283], DOGE[1], USD[0.52]                                                                                                                                                     Yes

08068926                              BTC[.00192484], CUSDT[2], DOGE[1], SHIB[1], USD[13.66]                                                                                                                                 Yes

08068935                              ETH[.00000001], LINK[.0000862], SOL[6.85923133], USD[0.00]

08068936                              USD[0.00]

08068937                              USD[0.19]

08068943                              BTC[.00701097], DOGE[1], SHIB[9614.31713521], USD[0.61]                                                                                                                                Yes

08068946                              BAT[1.01237718], ETH[.62011906], ETHW[.6198587], USD[0.00]                                                                                                                             Yes

08068950                              ETH[.19982], ETHW[.19982], USD[170.00]

08068952                              CUSDT[2], ETH[.00580629], ETHW[.00573789], TRX[1], USD[0.00]                                                                                                                           Yes

08068956                              BTC[.00030596], CUSDT[1], USD[0.01]                                                                                                                                                    Yes

08068957                              BTC[.0026583], CUSDT[2], USD[0.03]

08068968                              BF_POINT[300], BTC[.01970155], DOGE[.00031785], ETHW[22.36521254], LTC[6.9041148], NFT (294592822400980695/Stacks #3 Of 20)[1], NFT (363847732533487257/Decisions #5)[1], NFT          Yes
                                      (376380335485051368/Commodities #2 of 5 )[1], NFT (389457538083823612/Earl Campbell's Playbook: Rice vs. Texas - October 1st, 1977 #86)[1], NFT (401636283847715857/Pix NFL)[1], NFT
                                      (516204601340701446/Doak Walker's Playbook: SMU vs. Santa Clara - September 27, 1947 #65)[1], NFT (519466997144250837/HOFV EMOJI)[1], SHIB[6659.69086425], SOL[1.01143291],
                                      TRX[3075.95003185], USD[0.00]
08068970       Contingent,            BAT[1], BRZ[1], GBP[0.00], HKD[506.38], SHIB[1], USD[0.47], USDT[0.00000001]                                                                                                           Yes
               Unliquidated
08068973                              SUSHI[1.4985], TRX[15.984], USD[0.05]

08068987                              CUSDT[2], DOGE[376.86268917], SHIB[1897725.95533547], USD[0.01]                                                                                                                        Yes

08068992                              SOL[.2024]

08069008                              CUSDT[5], ETH[0], MATIC[32.82068394], TRX[407.13465229], USD[117.25]                                                                                                                   Yes

08069012                              SOL[10.01839160], USD[11.00]

08069016                              SOL[.00576079], USD[0.00]

08069028                              BRZ[2], BTC[.01439485], CUSDT[1], DOGE[3], ETH[.16008704], ETHW[.1595556], SOL[9.78136038], TRX[2], USD[0.00], USDT[0.17991460]                                                        Yes

08069032                              BTC[.0003646], CUSDT[2], ETH[.00764607], ETHW[.00755024], SHIB[1.74908849], USD[0.00]                                                                                                  Yes

08069033                              USD[1.39], USDT[1.6075178]

08069034                              USD[0.00]

08069035                              USD[1.10]

08069036                              USD[2090.76]                                                                                                                                                                           Yes

08069037                              BTC[.00000001], ETH[0.00025000], ETHW[0], USD[0.00], USDT[0.00015171]

08069039                              SOL[.05846366], USD[2.22]

08069041                              CUSDT[3], SUSHI[9.29863779], TRX[940.75132558], USD[0.00]                                                                                                                              Yes

08069048                              DOGE[1], NFT (289090042892359451/DOTB #97)[1], NFT (298440864834803667/DOTB #3041)[1], NFT (340384203912946851/DOTB #851)[1], NFT (359519693532758039/#441)[1], NFT                    Yes
                                      (403732566865853657/Humpty Dumpty #356)[1], NFT (430475624548574525/DOTB #893)[1], SHIB[4], SOL[.11671093], USD[0.00]
08069056                              LINK[1]

08069062       Contingent, Disputed   BTC[.00082799], USD[19718.71], USDT[0]

08069076                              BRZ[2], CUSDT[1], ETH[.02078139], ETHW[.02078139], GRT[81.10628124], LTC[.3618638], SOL[.80585801], TRX[1], USD[0.00]

08069080                              SOL[2.64489504], USD[0.00], USDT[0.00000080]

08069082                              BTC[.00001288], USD[0.00]                                                                                                                                                              Yes

08069097                              CUSDT[5], USD[0.00], USDT[0]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08069100                              DOGE[1748.44462435], USD[0.01]

08069102                              BRZ[1], SHIB[1], SOL[1.87349813], TRX[1], USD[0.00]                                                                                                                   Yes

08069111                              USD[0.00]

08069114                              USD[0.00]

08069116                              CUSDT[2], KSHIB[438.27439799], SHIB[1425527.96690013], USD[0.00]                                                                                                      Yes

08069124                              CUSDT[1], USD[0.00]

08069133                              CUSDT[14], DOGE[7.63896315], MATIC[.00000315], SHIB[269107.86714503], TRX[.00000585], USD[0.00]                                                                       Yes

08069143                              BRZ[2], CUSDT[4], DOGE[1], USD[0.00], USDT[0.00006018]

08069145                              SOL[2.15], USD[0.00]

08069147                              SOL[.26738414]                                                                                                                                                        Yes

08069151                              BTC[0], ETH[0], SHIB[14846.01735623], SOL[0], USD[0.00], USDT[0]

08069153                              BTC[.00014631]                                                                                                                                                        Yes

08069156       Contingent, Disputed   SOL[.5994], USD[1.65]

08069160                              NFT (379549361553181834/FTX - Off The Grid Miami #700)[1], TRX[736.921907]

08069164                              BTC[.03637889], USD[0.00]

08069180                              BTC[0.00005487], USDT[6.3178728]

08069192                              USD[0.01]                                                                                                                                                             Yes

08069193                              LTC[0.00000085], SHIB[92583.77513083], USD[0.00]                                                                                                                      Yes

08069206                              BRZ[1], SHIB[866851.59500693], USD[0.00]

08069209                              DOGE[1], MATIC[5.24757527], SUSHI[.80562545], USD[0.00]

08069216                              BTC[0], CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                  Yes

08069228                              CUSDT[.02191041], DOGE[.00412704], SHIB[18.19114402], TRX[1.00900146], USD[0.01]                                                                                      Yes

08069237                              CUSDT[2], ETH[.00308923], ETHW[.00308923], SHIB[172235.61832586], USD[0.00]

08069242                              BRZ[1], BTC[.00259058], CUSDT[1], SOL[2.80319671], TRX[1], USD[0.00]

08069245                              USD[0.00], USDT[0]                                                                                                                                                    Yes

08069246                              NFT (409440665174265780/Coachella x FTX Weekend 1 #29475)[1]

08069251                              USD[0.00]

08069254                              AAVE[.1973057], CUSDT[5], DOGE[1], ETH[.03412746], ETHW[.03370338], MATIC[70.54075069], SOL[.49970395], USD[0.00], YFI[.00371879]                                     Yes

08069260                              ETH[6.096], ETHW[6.096], SOL[36.39377], USD[7448.75]

08069264                              USD[0.00]

08069265                              USD[100.00]

08069266                              USD[2701.86]                                                                                                                                                          Yes

08069272                              BTC[.00160056], DOGE[1], USD[0.00]                                                                                                                                    Yes

08069279                              ETHW[.15], USD[8.63]

08069287                              SOL[.00849], USD[23.65]

08069292                              BTC[.00014673]

08069293                              ETH[.00053864], ETHW[.00053864], SOL[15.84299], USD[0.28]

08069306                              CUSDT[1], DOGE[1], SOL[1.09069617], TRX[2414.26020364], USD[0.01]                                                                                                     Yes

08069310                              DOGE[.00021377], NFT (405247836982283924/Marcus Allen's Playbook: Kansas City Chiefs vs. Detriot Lions - November 29, 1996 #67)[1], USD[15.64]                        Yes

08069311                              BRZ[1], SOL[2.1825443], USD[0.00]                                                                                                                                     Yes

08069317                              BRZ[88.92186673], BTC[.0002235], CUSDT[7], KSHIB[446.30056403], SHIB[382601.27793689], TRX[46.11812302], UNI[1.14363917], USD[0.01]                                   Yes

08069322                              USDT[0.00003265]

08069323                              BRZ[1], CUSDT[1], DOGE[3766.60536115], GRT[135.80589406], SHIB[1], SOL[1.57718593], USD[331.89]                                                                       Yes

08069325                              BTC[.0276925], DOGE[838], ETH[.347901], ETHW[.347901], SHIB[1700000], SOL[6.3079], USD[212.49]

08069327                              BTC[0], ETH[.002], ETHW[.002], LTC[0], SHIB[246906.80826656], USD[0.49]

08069338                              BTC[.00000001], CUSDT[2], DOGE[1], ETH[.00238215], ETHW[.00235479], LTC[.07815162], SHIB[97946.08021258], USD[9.29]                                                   Yes

08069341                              SOL[.0060535], TRX[.16845], USD[49.94], USDT[0]

08069362                              SOL[.00008], USD[0.68]

08069367                              SHIB[410142.10803771]                                                                                                                                                 Yes

08069368                              USD[100.00]

08069384                              USD[3.53]

08069386                              AVAX[.21162828], BRZ[2], BTC[.01299809], CUSDT[22], DOGE[128.86815912], ETH[.28435892], ETHW[.28416132], LTC[.15916323], MATIC[72.93997491], SHIB[871992.76576087],   Yes
                                      SOL[2.91536002], TRX[387.26017128], USD[1699.17], USDT[1.02543197]
08069389                              BTC[.0001468], USD[0.00]

08069398                              BAT[1], BRZ[1], CUSDT[1], DOGE[1], SHIB[17890017.73778607], TRX[2], USD[0.71]                                                                                         Yes

08069402                              SOL[2.16628103]                                                                                                                                                       Yes

08069403                              DOGE[1], SOL[2.14347374], USD[0.01]

08069413                              BTC[.00000007], CUSDT[1], USD[0.00]

08069414                              SOL[.1729], USD[963.73]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08069420                           BTC[.00006368], CUSDT[2], ETH[.00003832], ETHW[.00003832], SOL[.41585543], TRX[1], USD[-4.40]

08069427                           CUSDT[1], DOGE[1], SHIB[1], TRX[1], USD[0.01]                                                                                                                                    Yes

08069429                           SHIB[.00000709], USDT[0]

08069439                           NFT (331423272794690450/FTX - Off The Grid Miami #5049)[1]                                                                                                                       Yes

08069451                           DOGE[25.89510397], ETH[.00476299], ETHW[.00476299], LTC[0.08552980], SHIB[130276.18551328], USD[2.05]

08069458                           BCH[0], BTC[.00098448], CUSDT[0], GRT[0], KSHIB[0], SHIB[2], USD[0.00]                                                                                                           Yes

08069459                           CUSDT[1], SHIB[861641.99192462], USD[0.00]

08069475                           CUSDT[544.31519644], ETH[.05094133], ETHW[.05031155], TRX[1], USD[0.00]                                                                                                          Yes

08069485                           NFT (341257299171007593/Coachella x FTX Weekend 1 #202)[1]                                                                                                                       Yes

08069491                           USD[0.28], USDT[0]

08069494                           BRZ[1], ETH[.00000001], SOL[0], TRX[3], USD[2004.15]                                                                                                                             Yes

08069507                           USD[1.88]

08069508                           BRZ[1], USD[0.00]

08069509                           BTC[.00050647], CUSDT[492.38622496], DAI[10.75324976], GRT[10.49894706], SHIB[196439.59472272], USD[0.00]                                                                        Yes

08069517                           NFT (314336277150330574/Heavenly water#071)[1], NFT (481077346469661359/Heavenly water#085)[1], NFT (498267502631361939/Rare Art #19)[1], USD[0.00]                              Yes

08069518                           BTC[.00156936]                                                                                                                                                                   Yes

08069521                           BAT[15.03982538], CUSDT[922.75295377], DAI[.00004449], DOGE[131.03311332], GRT[17.04062113], KSHIB[177.19428094], SHIB[384328.12599962], SUSHI[1.07971899], TRX[267.34465371],   Yes
                                   USD[0.26], USDT[0.00003507]
08069524                           ETH[.03205587], ETHW[.03205587], TRX[1], USD[0.00]

08069536                           USD[0.01]                                                                                                                                                                        Yes

08069537                           BRZ[1], CUSDT[1], DOGE[1], SHIB[3], USD[0.00]                                                                                                                                    Yes

08069542                           USD[1.09]                                                                                                                                                                        Yes

08069544                           BRZ[2], CUSDT[3], DOGE[3], GRT[2.03185823], TRX[3], USD[0.00]                                                                                                                    Yes

08069550                           BTC[0], CUSDT[1], USD[0.00]                                                                                                                                                      Yes

08069561                           BTC[.00000001], SOL[0], USD[0.68], USDT[0]

08069562                           BTC[.00157434]                                                                                                                                                                   Yes

08069565                           CUSDT[1], SHIB[1011324.570273], USD[0.00]

08069567                           SHIB[299715], USD[1.98]

08069573                           CUSDT[1], DOGE[1], ETHW[9.27480691], SHIB[1], TRX[1], USD[0.00]                                                                                                                  Yes

08069579                           BTC[0], CUSDT[3], DOGE[2], ETH[0], ETHW[0], USD[0.00]                                                                                                                            Yes

08069584                           USD[10.84]                                                                                                                                                                       Yes

08069586                           USD[108.38]                                                                                                                                                                      Yes

08069587                           USD[0.00]

08069591                           BAT[4.29089116], LTC[.02180827], SHIB[187859.52517304], USD[5.42]                                                                                                                Yes

08069596                           BTC[.00228654], CUSDT[5], DOGE[182.62738608], USD[0.01]

08069601                           USD[4.94]

08069603                           MATIC[2.46653739], SOL[0.03749803], TRX[49.94427578], USD[0.00]

08069610                           USD[10.55]                                                                                                                                                                       Yes

08069623                           BTC[.00957249], CUSDT[1], DOGE[1], USD[0.01], USDT[0.00032411]

08069624                           KSHIB[86.93063908], USD[0.00]

08069631                           AVAX[.11230377], BTC[.00029282], CUSDT[3], ETH[.00223841], ETHW[.00221105], SHIB[379404.02724217], SOL[.04366807], SUSHI[4.78492449], USD[17.13]                                 Yes

08069632                           BTC[0.15832003], USD[0.00]

08069636                           ETH[.01908], ETHW[.01908], USD[1.94]

08069644                           NFT (487010608198138016/#5911)[1], SHIB[7], SOL[.00000436], TRX[1], USD[0.00], USDT[0]                                                                                           Yes

08069645                           USD[0.00], USDT[1]

08069656                           SOL[1.31026414], USD[0.00]                                                                                                                                                       Yes

08069674                           USD[0.00]

08069687                           BTC[.00018289], CUSDT[3], ETH[.00115831], ETHW[.00114462], TRX[1], USD[0.00]                                                                                                     Yes

08069693                           BTC[0.00400224], USD[353.37]                                                                                                                                                     Yes

08069696                           TRX[1], USD[0.00]                                                                                                                                                                Yes

08069701                           USD[4.52]                                                                                                                                                                        Yes

08069710                           DOGE[1], SHIB[1], USD[0.01]

08069726                           GRT[8.86267954], MATIC[5.71299489], TRX[98.67694401], USD[0.00]                                                                                                                  Yes

08069728                           SHIB[133503.37974228]                                                                                                                                                            Yes

08069731                           USD[0.00]

08069735                           SHIB[100000], USD[0.51]

08069740                           CUSDT[4], USD[0.47], USDT[5.38850247]                                                                                                                                            Yes

08069742                           CUSDT[1], DOGE[2], ETHW[.03057889], SHIB[7], TRX[1], USD[0.00]

08069743                           CUSDT[1], SOL[.22387679], USD[216.70]                                                                                                                                            Yes
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                                                                                                                                            Customer Claims                                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08069749                              CUSDT[3], DOGE[858.43103605], SOL[1.11348098], TRX[619.29664299], USD[0.00]                                                                                                                 Yes

08069750                              CUSDT[2], DOGE[1], MATIC[49.10411258], SOL[1.70014047], USD[53.90]                                                                                                                          Yes

08069754                              USD[20.00]

08069782                              ALGO[265.05965602], BAT[1], BF_POINT[300], ETH[.00008925], ETHW[3.25835812], GRT[204.37296733], SHIB[286599.21762311], SOL[.00000001], TRX[4], USD[0.00]                                    Yes

08069788                              USD[21.68]                                                                                                                                                                                  Yes

08069794                              USD[0.00]

08069795       Contingent, Disputed   BAT[430.67139074], TRX[1], USD[0.00]                                                                                                                                                        Yes

08069798                              TRX[.000001], USDT[0]

08069805                              USD[0.01]                                                                                                                                                                                   Yes

08069813                              SOL[0], USD[0.05]

08069818                              NFT (365490909227004219/Australia Ticket Stub #642)[1]

08069819                              USD[0.00]

08069820                              BTC[.0155927], ETH[.103896], ETHW[.103896], SOL[2.02797], USD[11.46]

08069827                              USDT[1.4840274]

08069834                              DOGE[185.73895324], SHIB[1], USD[21.54]                                                                                                                                                     Yes

08069835                              NFT (371967322673075075/Dream bear)[1], USD[105.53]                                                                                                                                         Yes

08069849                              USD[20.00]

08069850                              NFT (381399651100289962/Brick World #17)[1], NFT (435552155981641807/Lacasapixel #4)[1], NFT (486945837095578180/CatFamilya #27)[1], SOL[0], USD[0.01]

08069860                              NFT (308475471935441605/Coachella x FTX Weekend 1 #4691)[1]

08069863                              LTC[0], MATIC[0], SOL[0], USD[0.00]

08069864                              SOL[.41], USD[6.72]

08069867                              TRX[.119741]

08069869                              BTC[.00014729]

08069878                              USDT[24]

08069880                              BTC[.00036752]                                                                                                                                                                              Yes

08069886                              SOL[2.81718], USD[0.74]

08069888                              BTC[0.00014064], USD[1.98]

08069890                              CUSDT[1], PAXG[.00074981], SHIB[130687.95352846], USD[0.00], USDT[0]                                                                                                                        Yes

08069891                              CUSDT[1], USD[18.91], USDT[0]

08069893                              DOGE[381.46310311], ETH[.0155175], SHIB[3], USD[0.01]                                                                                                                                       Yes

08069896                              CUSDT[2], DOGE[3], SHIB[4], TRX[3], USD[0.00]

08069897                              USDT[21]

08069901                              NFT (490100104830657589/Australia Ticket Stub #318)[1]

08069903                              BTC[0], SOL[.03]

08069910                              CUSDT[1], DOGE[106.04109771], KSHIB[204.42535929], USD[0.00]

08069917                              USDT[30]

08069919                              USD[20.00]

08069936                              USD[0.01]                                                                                                                                                                                   Yes

08069937                              USDT[30]

08069959                              NFT (298813278706716334/SBF Hair & Signature #7 #41)[1]

08069965                              USDT[30]

08069967                              BTC[.00227287], ETH[.04619763], NFT (530890933123047886/The Hill by FTX #8161)[1], USD[2.10]                                                                                                Yes

08069974                              USD[411.13]

08069986                              AAVE[0], BAT[0], BCH[0], BTC[0.00496877], CHF[0.00], CUSDT[0], DOGE[1221.39602895], ETH[0.01611658], EUR[0.00], KSHIB[0], LINK[0], MKR[0], PAXG[0], SHIB[4], SOL[0], SUSHI[0], USD[0.00],   Yes
                                      WBTC[0.00547700], YFI[0]
08069990                              CUSDT[1], NFT (318177442643418104/Mega Voxels #8)[1], NFT (326105565504383553/Box Poki #4)[1], NFT (490479862956740102/Box Poki #2)[1], USD[47.96]

08069996                              SOL[.41], USD[2.15]

08070000                              NFT (312767312821104488/Microphone #8262)[1], USD[0.00]

08070033                              USD[0.01]                                                                                                                                                                                   Yes

08070037                              USD[0.83]

08070038                              SHIB[35393.02112183], USD[0.00]                                                                                                                                                             Yes

08070047                              DOGE[184.82], USD[0.00], USDT[0.01662055]

08070048                              ETH[.00000004], ETHW[.00000004], MATIC[0], USD[0.00]                                                                                                                                        Yes

08070066                              USD[0.00]

08070074                              TRX[.00001], USD[0.00], USDT[0]

08070076                              BAT[1.01427554], BTC[.2602969], CUSDT[1], GRT[1.00121087], LTC[0.00012750], TRX[4], USD[0.00], USDT[1.08227821]                                                                             Yes

08070094                              USD[541.87]                                                                                                                                                                                 Yes

08070099                              BRZ[1], BTC[0], CUSDT[1], DOGE[4], SHIB[2], TRX[196.90370706], USD[0.02]                                                                                                                    Yes
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
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                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08070100                              AAVE[1.36927587], ALGO[212.61124648], AVAX[16.22019346], BAT[100.24771886], BCH[.26929965], BRZ[222.16197838], BTC[.17189538], CUSDT[1621.66568348], DOGE[86.8242104],              Yes
                                      ETH[1.26627071], ETHW[15.1179284], GRT[1386.47538485], LINK[13.08159458], LTC[2.06378619], MATIC[.00514107], MKR[.09312043], NEAR[22.21261345], PAXG[.00529973],
                                      SHIB[9264177.36738743], SOL[12.42424426], SUSHI[37.8934694], TRX[725.01954258], UNI[22.0368753], USD[159.46], USDT[0.00009182], YFI[.0116973]
08070109                              USD[500.01]

08070111                              USD[0.03]                                                                                                                                                                           Yes

08070118                              SOL[0.00004834], USD[0.00]

08070137                              ETH[.0449775], ETHW[.0449775], LINK[1], LTC[.19982], SOL[.269847], SUSHI[5.49685], USD[8.86]

08070159                              USD[0.00], USDT[0.00000001]

08070162                              BRZ[1], CUSDT[3], DOGE[191.65931929], GRT[1], LINK[.00001008], MATIC[.00017748], SHIB[122215.78232711], SUSHI[1.04252314], USD[0.00]                                                Yes

08070166                              BTC[.00001041], SHIB[1800000], USD[0.00]

08070167                              AAVE[.14566512], BTC[.00073106], CUSDT[2], USD[0.00]

08070169                              USD[0.01]                                                                                                                                                                           Yes

08070180                              NFT (480157976387970025/Microphone #479)[1]

08070181                              BTC[0], ETH[.00146492], ETHW[.00146492], GRT[0], NFT (370209516934538849/Abundance)[1], NFT (431592888110000885/Abundance #3)[1], NFT (476937425974453042/Abundance #2)[1], NFT
                                      (488768044473033591/Abundance #4)[1], SOL[.04524988], USD[0.00]
08070183                              USD[270.19]                                                                                                                                                                         Yes

08070199                              CUSDT[1], ETH[.23932878], ETHW[.23913008], TRX[1], USD[0.02]                                                                                                                        Yes

08070203                              CUSDT[2], DOGE[1], USD[0.00]

08070208                              BTC[.0164], USD[5.84]

08070219                              CUSDT[1], DOGE[345.23034511], USD[0.00]                                                                                                                                             Yes

08070227                              DOGE[1], SHIB[1056014.52578355], USD[0.00]                                                                                                                                          Yes

08070229                              BTC[0.00005976], ETH[0], ETHW[0]                                                                                                                                                    Yes

08070242                              NFT (390195106721537019/SBF Hair & Signature #3 #77)[1], NFT (434112051710233200/SBF Hair & Signature #1 #88)[1], NFT (464793667715582077/SBF Hair & Signature #2 #84)[1]

08070263                              NFT (294516074641994650/SBF Hair & Signature #1 #89)[1], NFT (381970072920840518/SBF Hair & Signature #2 #85)[1], NFT (509785570401700726/SBF Hair & Signature #3 #78)[1]

08070268                              BAT[86.31731533], BCH[.18774861], BTC[.00405911], CUSDT[4], DOGE[4], ETH[.07024218], ETHW[.06936926], GRT[224.97448852], MATIC[79.28964383], TRX[3], USD[2.01], YFI[.00273123]      Yes

08070272                              TRX[.000005], USDT[.43591085]

08070274                              BRZ[1], SOL[2.21200181], USD[0.01]                                                                                                                                                  Yes

08070275                              ETH[0], GBP[0.00], LTC[0], TRX[338.41759393], USD[0.08]

08070284                              BCH[.00174908]

08070289                              BTC[0], DOGE[.375], ETH[.00000001], ETHW[0], SOL[0], USD[0.12]

08070290                              USD[1.12]

08070309                              BTC[.00015357], ETH[.00025604], ETHW[.00025604], USD[9.75]                                                                                                                          Yes

08070331                              CUSDT[1], USD[0.00]                                                                                                                                                                 Yes

08070356                              BTC[0], SOL[0], USD[0.00], USDT[0.00000054]

08070363                              BRZ[2], CUSDT[10], DOGE[5], SOL[0], TRX[4], USD[0.00], USDT[0]                                                                                                                      Yes

08070365                              CUSDT[2], KSHIB[1821.08484166], SHIB[2862243.19075626], TRX[1], USD[0.36]                                                                                                           Yes

08070373                              USD[0.00]

08070377                              CUSDT[1], SOL[.00000536], USD[0.00]                                                                                                                                                 Yes

08070386                              BTC[.00069258], CUSDT[2], USD[0.00]                                                                                                                                                 Yes

08070395                              BTC[0], ETH[0], ETHW[0], LINK[0], SHIB[2], SOL[0], TRX[2], USD[64.91]                                                                                                               Yes

08070408                              CUSDT[4], DOGE[143.30622361], MATIC[18.66069653], TRX[881.94216364], USD[0.00], USDT[74.57309809]

08070410                              DOGE[44.92005276], USD[0.00]                                                                                                                                                        Yes

08070413                              BRZ[2], BTC[.00000435], DOGE[5], ETH[.00000001], ETHW[0], GRT[1], SHIB[1], SUSHI[1.03159373], TRX[11], USD[0.05], USDT[0]                                                           Yes

08070415       Contingent, Disputed   LINK[0], USD[0.00]

08070416                              USD[0.00]

08070419                              CUSDT[1], LTC[.36933319], USD[6.35]                                                                                                                                                 Yes

08070421                              SOL[.5228941], USD[0.04]

08070422                              BTC[0], SUSHI[.00026073], UNI[0.00004970], USD[0.00]                                                                                                                                Yes

08070436                              USD[100.00]

08070442                              NFT (374249529312374007/SBF Hair & Signature #3 #81)[1], NFT (434593556269737025/SBF Hair & Signature #2 #88)[1], NFT (507899717090139881/SBF Hair & Signature #1 #93)[1]

08070443                              NFT (299690525622149271/SBF Hair & Signature #3 #82)[1], NFT (336538718869830773/SBF Hair & Signature #1 #94)[1], NFT (354079957832952465/SBF Hair & Signature #2 #89)[1]

08070460                              BAT[96.54401046], CUSDT[3], DOGE[1], KSHIB[965.30854832], SOL[1.29994202], TRX[1079.81258283], USD[0.00]                                                                            Yes

08070466                              USD[0.00]

08070467                              BRZ[59.62628687], CUSDT[491.23280177], DAI[10.78062564], DOGE[42.23654513], LTC[.90781956], SHIB[382053.66882184], SOL[.59921786], TRX[284.15424934], USD[68.84]                    Yes

08070471                              BTC[.00000001], KSHIB[0], MATIC[0], USD[0.01]                                                                                                                                       Yes

08070475                              CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                         Yes

08070477                              BTC[.00734549], ETH[.10335647], ETHW[.10335647], USD[0.00]

08070482                              DOGE[1], USD[0.00]

08070488                              CUSDT[2], NFT (307082052774696676/ApexDucks #981)[1], NFT (425933474493721304/1179)[1], NFT (491627905137279839/4905)[1], NFT (553222500985527928/Mech #6972)[1], SOL[.01060836],   Yes
                                      USD[0.00]
08070494                              CUSDT[7], TRX[2], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08070500                              TRX[.000001], USDT[35.94472]

08070508                              BRZ[1], BTC[0], DOGE[4], SHIB[1], TRX[2], USD[0.00]

08070511                              SOL[.00000001]

08070519                              NFT (363804193761350752/SBF Hair & Signature #3 #83)[1], NFT (405984419640209626/SBF Hair & Signature #1 #95)[1], NFT (454576608825190198/SBF Hair & Signature #2 #90)[1]

08070526                              BTC[.08173072], CUSDT[3426.18503166], DOGE[7785.03686152], ETH[.09518542], ETHW[.09414719], KSHIB[3698.02882755], SHIB[6399080.74033902], SOL[5.99447805], TRX[358.10984534],        Yes
                                      USD[0.20]
08070527                              CUSDT[2], USD[0.00]                                                                                                                                                                  Yes

08070529                              NFT (468059985095756492/SBF Hair & Signature #1 #96)[1], NFT (474858708470157337/SBF Hair & Signature #3 #84)[1], NFT (554743831994229540/SBF Hair & Signature #2 #91)[1]

08070535                              USD[0.22]

08070552                              SHIB[1300000], SOL[.01972], USD[2.04]

08070553                              USD[1.46]

08070557                              CUSDT[6.00219948], USD[0.00]                                                                                                                                                         Yes

08070560                              USD[32.51]                                                                                                                                                                           Yes

08070567                              CUSDT[1], USD[0.00]

08070571                              BAT[147.403], BTC[.00681263], KSHIB[5160], SHIB[1000000], UNI[1.7956], USD[3.37]

08070591                              SHIB[464863.98006037], USD[0.00]

08070592                              SOL[.00000286]

08070625                              BAT[2.0454806], BRZ[2], BTC[1.05211029], CUSDT[2], DOGE[2], ETH[1.23807343], ETHW[1.23768575], SOL[264.60203071], TRX[2], USD[0.00], USDT[2.11003632]                                Yes

08070638                              NFT (338983408331777359/SBF Hair & Signature #3 #85)[1], NFT (401744409575544927/SBF Hair & Signature #2 #92)[1], NFT (568294626052019155/SBF Hair & Signature #1 #97)[1]

08070653                              BTC[0], ETH[0], ETHW[0], SOL[0.00000226], USD[0.00]

08070654                              ETH[0.00000010], ETHW[0.00000010], USD[0.01]                                                                                                                                         Yes

08070663                              CUSDT[1], NFT (417549843583173903/David #20)[1], SOL[.00000668], TRX[1], USD[0.00]                                                                                                   Yes

08070668                              AAVE[0], BCH[0], BTC[0], DOGE[1], ETH[0], ETHW[0], PAXG[0], SHIB[6], USD[0.00]                                                                                                       Yes

08070672                              CUSDT[3], SHIB[1531899.41301151], TRX[1], USD[0.32]                                                                                                                                  Yes

08070680                              USD[100.00]

08070689                              SHIB[1942395.82726525], TRX[1], USD[0.00]                                                                                                                                            Yes

08070695                              NFT (453183555067788924/SBF Hair & Signature #1 #98)[1], NFT (520976824750550302/SBF Hair & Signature #3 #86)[1], NFT (556608889608679106/SBF Hair & Signature #2 #93)[1]

08070710                              NFT (383174118209810258/SBF Hair & Signature #3 #94)[1], NFT (403933650153833002/SBF Hair & Signature #1 #151)[1]

08070717                              USDT[0.05989151]

08070721                              BRZ[1], SHIB[1], USD[0.00]

08070724                              AVAX[.3001845], BRZ[56.30925496], BTC[.0026867], CUSDT[144.36103233], DOGE[3421.09290035], GRT[1], KSHIB[14422.21156697], LINK[1.21411489], LTC[.97661474], MATIC[331.31295891],     Yes
                                      SHIB[52067499.11251665], SOL[.4731101], TRX[580.5611474], USD[0.61]
08070729                              ETH[0], USD[0.00]

08070749                              CUSDT[4], ETH[.00244427], ETHW[.00241691], KSHIB[.86604841], SHIB[286234.13236548], USD[11.88]                                                                                       Yes

08070750       Contingent, Disputed   ETH[0], LTC[0], SHIB[0], USD[0.00], USDT[0]                                                                                                                                          Yes

08070756                              USD[0.00]

08070759                              CUSDT[1], DOGE[1], TRX[1], USD[0.00]

08070761                              USD[1.00]

08070766                              USD[0.00]

08070774                              ETH[0], ETHW[.00000587], USD[0.01]                                                                                                                                                   Yes

08070775                              NFT (312031239691604864/SBF Hair & Signature #1 #102)[1], NFT (392473557383449907/SBF Hair & Signature #2 #113)[1], NFT (406045688476960166/SBF Hair & Signature #3 #90)[1]

08070776                              USD[0.00], USDT[0.00006062]

08070786                              CUSDT[1], DOGE[1], SHIB[1], SOL[.00103653], TRX[87.96477397], USD[43.79]

08070787                              DOGE[1], ETH[.11171531], ETHW[.11060779], USD[0.01]                                                                                                                                  Yes

08070801                              USD[2000.00]

08070819                              USD[11.45]

08070820                              NFT (363022525953707131/SBF Hair & Signature #2 #94)[1], NFT (399198060345076586/SBF Hair & Signature #1 #99)[1], NFT (508894037397330839/SBF Hair & Signature #3 #87)[1]

08070823                              NFT (338903602593291518/Australia Ticket Stub #1439)[1], NFT (472526800902880475/Coachella x FTX Weekend 1 #14106)[1], NFT (513939207699565199/Cloud Show 2 #4623)[1], USD[162.00]

08070837                              NFT (447233646730590566/SBF Hair & Signature #1 #100)[1], NFT (489291337494816166/SBF Hair & Signature #2 #97)[1], NFT (543730065849079416/SBF Hair & Signature #3 #88)[1]

08070842                              BRZ[1], CUSDT[1], ETH[.02420349], ETHW[.02390253], SHIB[1945043.01503488], USD[0.24]                                                                                                 Yes

08070843                              NFT (388971752934019913/SBF Hair & Signature #2 #98)[1]

08070851                              NFT (374985932156500567/SBF Hair & Signature #2 #100)[1]

08070864                              CUSDT[1], SOL[5.06966129], USD[0.01]

08070866                              USD[98.00], USDT[1.98881468]

08070869                              DOGE[3], ETH[.00004962], ETHW[.00004962], GRT[1], MATIC[1.00131648], SHIB[1], SOL[.00327399], USD[10.04], USDT[1.01293508]                                                           Yes

08070874                              BTC[.00492787], ETH[.04541104], ETHW[.04541104], LTC[.54], SOL[1.43334506], USD[12.17]

08070877                              NFT (348268903465523740/SBF Hair & Signature #2 #103)[1], NFT (464401325208401242/SBF Hair & Signature #1 #123)[1], NFT (534486667510497315/SBF Hair & Signature #3 #110)[1]

08070879                              BTC[.00086205], CUSDT[1], TRX[497.20921646], USD[0.00]                                                                                                                               Yes

08070881                              ETH[.012], ETHW[.012], MATIC[10], SHIB[199800], USD[302.75]
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                                                                                                                                            Customer Claims                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08070883                              SHIB[6], USD[0.00], USDT[0]                                                                                                                                                   Yes

08070888                              SHIB[621811.39560036]                                                                                                                                                         Yes

08070903                              NFT (409328150220211125/SBF Hair & Signature #2 #106)[1]

08070909                              AAVE[.32], BTC[.0062], CUSDT[4580], ETH[.128], ETHW[.128], LINK[8.9], SUSHI[27.5], USD[200.91]

08070912                              NFT (320893990504349729/2974 Floyd Norman - CLE 3-0244)[1], USD[0.00]

08070916                              DOGE[1], TRX[90.62674439], USD[0.00]                                                                                                                                          Yes

08070924                              TRX[1], USD[0.00]                                                                                                                                                             Yes

08070937                              BRZ[2], BTC[.01762609], DOGE[2], SHIB[8], TRX[2], USD[3450.91]                                                                                                                Yes

08070943                              DOGE[1], SHIB[7.65711025], USD[0.00]                                                                                                                                          Yes

08070950                              USD[1.66]

08070951                              USDT[0.00000012]

08070954                              USD[0.00]

08070959                              SOL[.00026585], USD[0.05]                                                                                                                                                     Yes

08070960                              USD[0.00]

08070962                              KSHIB[382.53187775], SHIB[228503.3829778], USD[0.00], USDT[0]

08070964                              DOGE[.004], USD[1.58]

08070977                              NFT (379961922296346750/SBF Hair & Signature #2 #110)[1], NFT (536413795108139010/SBF Hair & Signature #3 #89)[1], NFT (568380890946433748/SBF Hair & Signature #1 #101)[1]

08070978                              USD[176.23], USDT[0]                                                                                                                                                          Yes

08070991                              BTC[0], PAXG[0], SUSHI[0], USD[4.37]

08070994                              CUSDT[1], SHIB[4875.99237659], USD[13.46]                                                                                                                                     Yes

08070998                              CUSDT[2], KSHIB[80.94989848], SHIB[89999.87483158], TRX[.000001], USDT[0]                                                                                                     Yes

08071008                              USD[0.01]

08071016                              CUSDT[1], USD[0.00]

08071018                              DOGE[1944.054], KSHIB[9640], SHIB[17791100], USD[43.28]

08071019                              USD[10.00]

08071027                              CUSDT[1], DOGE[182.0025504], SHIB[356697.98591046], USD[0.00]

08071036                              SOL[2.06612264], USD[1.68]

08071049                              BRZ[2], DOGE[1], SHIB[232724.7331719], TRX[6044.34445784], USD[0.00]                                                                                                          Yes

08071050                              CUSDT[1], MATIC[59.73466144], USD[0.00]                                                                                                                                       Yes

08071064                              BTC[.0064], ETH[.069], ETHW[.069], SOL[.68], TRX[.000001], USD[0.00], USDT[0.70440900]

08071068                              USD[1.00]

08071073                              BAT[.00008603], CUSDT[2], SHIB[208578.31557569], TRX[.01300591], USD[0.15]                                                                                                    Yes

08071075                              ETH[0], ETHW[1.30409573], MATIC[0], USD[0.00]

08071082                              SHIB[1978630.78749505], TRX[1], USD[0.00]

08071087                              CUSDT[1], SOL[1.08587737], USD[5.42]                                                                                                                                          Yes

08071088                              SOL[.00000007], USD[0.00]

08071093                              BTC[.00001484], USD[0.00]                                                                                                                                                     Yes

08071099                              CUSDT[3], ETH[.00010135], ETHW[.00010135], LTC[0], SHIB[0], USD[0.01]                                                                                                         Yes

08071100       Contingent, Disputed   USD[0.00]

08071104                              BTC[.0004], LINK[1.3994], LTC[.02997], MATIC[.09], SHIB[100000], SOL[.0999], USD[2.22]

08071116                              NFT (306969989687350136/SBF Hair & Signature #3 #92)[1], NFT (316620115531616855/SBF Hair & Signature #1 #104)[1], NFT (477497962882016499/SBF Hair & Signature #2 #116)[1]

08071122                              USD[1.19], USDT[0.00000089]

08071125                              CUSDT[1], SHIB[2668089.64781216], USD[50.01]

08071126                              CUSDT[2], LINK[4.43156411], TRX[2309.75953706], USD[0.00]                                                                                                                     Yes

08071132                              CUSDT[1], SOL[2.06034839], USD[0.01]

08071133                              BTC[.00003008]                                                                                                                                                                Yes

08071135                              CUSDT[4.02095033], DOGE[199.00533583], ETH[0], ETHW[0], TRX[.02806833], USD[0.02]                                                                                             Yes

08071136                              BF_POINT[100], CUSDT[1], DOGE[1], TRX[1], USD[0.01]                                                                                                                           Yes

08071139                              USD[0.01]

08071143                              SHIB[99000], USD[130.78]

08071158                              USD[0.00]

08071159                              CUSDT[1], SHIB[1], USD[0.00]

08071160                              SOL[56.26368], USD[0.00], USDT[0.00001557]

08071165                              NFT (454353348503407793/Microphone #5673)[1]

08071167                              DOGE[106.45978954], USD[0.00]

08071171                              CUSDT[902.9991458], USD[0.00]

08071175                              BTC[0], USD[0.00]

08071177                              ETH[.01092261], ETHW[.01078581], MATIC[27.57296015], SHIB[5], USD[0.00], USDT[0]                                                                                              Yes
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                                                                                                                                             Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08071179                              USDT[0.00000103]

08071181                              CUSDT[23], TRX[2], USD[0.00]                                                                                                                                                      Yes

08071191                              BTC[.00889376], CUSDT[6], DOGE[1], ETH[.06207357], ETHW[.06130388], SOL[1.07938909], TRX[1], USD[0.00]                                                                            Yes

08071195                              BCH[0], BTC[0], USD[0.02]                                                                                                                                                         Yes

08071201                              CUSDT[4911.09646179], DOGE[1], USD[0.00]                                                                                                                                          Yes

08071202                              CUSDT[1], USD[0.78]                                                                                                                                                               Yes

08071203                              ETH[.00042634], ETHW[.00042634], USD[0.22]

08071205                              CUSDT[491.12758607], DAI[2.1507695], GRT[4.15318364], TRX[76.51676943], USD[0.00]                                                                                                 Yes

08071206                              USD[2.41]

08071208                              BRZ[2], CUSDT[5], GRT[1], SHIB[1.00000001], TRX[2], USD[18.35]                                                                                                                    Yes

08071215                              NFT (365114736526195862/SBF Hair & Signature #2 #118)[1]

08071216                              CUSDT[3], DOGE[1], USD[0.01]                                                                                                                                                      Yes

08071217                              CUSDT[2], MATIC[126.18290514], SOL[1.39148941], TRX[2], USD[0.00]                                                                                                                 Yes

08071227                              SOL[2.58741], USD[0.44]

08071238                              USD[1.68], USDT[0.00016658]

08071254                              USD[0.00], USDT[95.551944]

08071262                              BRZ[584.82022261], CUSDT[2], SHIB[961896.43936065], SOL[.77666421], TRX[2], USD[0.00]                                                                                             Yes

08071276                              DOGE[1], SOL[2.26458316], USD[0.00]                                                                                                                                               Yes

08071277                              SOL[.02], USD[1.46]

08071283       Contingent, Disputed   BTC[.0121519], USD[0.00]

08071290                              DOGE[1], SOL[.45086289], USD[0.00]                                                                                                                                                Yes

08071292                              AVAX[.05664891], CUSDT[.16217123], USD[94.59]

08071302                              CUSDT[1], ETH[.01398517], ETHW[.01380733], USD[5.44]                                                                                                                              Yes

08071305                              BTC[0], USD[0.00]

08071310                              USD[27.09]                                                                                                                                                                        Yes

08071314                              ALGO[0], USDT[.35438689]

08071321                              BRZ[1], CUSDT[1], DOGE[171.40648724], SHIB[2032376.83927853], USD[5.01]

08071331                              BTC[0], USD[0.00]

08071345                              CUSDT[1], ETH[.02708443], ETHW[0.02674583], TRX[1], USD[0.00], YFI[.00316854]                                                                                                     Yes

08071346                              CUSDT[1], SOL[.27788336], USD[0.00]                                                                                                                                               Yes

08071350                              USD[541.83]                                                                                                                                                                       Yes

08071354                              BTC[.00008353], MATIC[6.55282861], SOL[.00248947], SUSHI[.1976], USD[-5.43]

08071360                              CUSDT[1467.17029917], DOGE[921.67799789], LINK[3.85460426], LTC[.25705795], MATIC[70.11416387], SHIB[2468000.29554312], SOL[.63429137], SUSHI[17.79783201], TRX[514.24544513],    Yes
                                      UNI[5.10980909], USD[21.66]
08071361                              CHF[0.00], CUSDT[1], ETH[.00894765], ETHW[.00883821], TRX[427.64085393], USD[0.00]                                                                                                Yes

08071371                              ETH[.057], ETHW[.057], USD[1.79]

08071377                              NFT (484475230965853115/Microphone #6284)[1], USD[0.00]

08071378                              BTC[.0014], ETH[.061979], ETHW[.061979], SHIB[1800000], SOL[.41], USD[415.65]

08071381                              ETH[.00000924], ETHW[.00000924], USD[0.00]

08071388                              DOGE[1], USD[0.00]                                                                                                                                                                Yes

08071390                              CUSDT[1177.43343207], DOGE[723.1470147], SHIB[4784175.03890673], SOL[4.42887871], TRX[96.54660146], USD[30.35]                                                                    Yes

08071393                              USD[0.10]

08071399                              CUSDT[3], KSHIB[182.44050295], NFT (418311552107785667/DOTB #2493)[1], NFT (516271335476797377/DOTB #5250)[1], SOL[.10220907], USD[0.01]                                          Yes

08071403                              DOGE[1], SHIB[4], SOL[0], TRX[5], USD[0.00]                                                                                                                                       Yes

08071416                              NFT (290493864826380808/SBF Hair & Signature #3 #96)[1], NFT (403171410881695795/Australia Ticket Stub #1323)[1], NFT (490873461549510189/SBF Hair & Signature #2 #125)[1], NFT
                                      (545202685061297585/SBF Hair & Signature #1 #107)[1]
08071424                              SHIB[3], USD[0.00], USDT[0.00000001]                                                                                                                                              Yes

08071428                              BCH[.06996873], BTC[.00086917], CUSDT[1], DOGE[2], LINK[1.45090587], TRX[433.66615635], USD[0.00]

08071431                              SHIB[7], USD[5244.69], USDT[0]

08071435                              BAT[1.01336694], USD[0.00]                                                                                                                                                        Yes

08071442                              AAVE[.01854], BAT[61.847], BTC[0.00001556], CUSDT[461.997], DOGE[328.224], ETH[.002881], ETHW[.002881], GRT[34.942], KSHIB[3016.97], LINK[.0968], MATIC[69.94], MKR[.012988],
                                      PAXG[.0000945], SHIB[4295800], SOL[.45941], SUSHI[3.4955], TRX[.826], UNI[1.5485], USD[137.24], USDT[0], WBTC[.0000996]
08071447                              SOL[.00000001]

08071451                              CUSDT[18], DOGE[1], GRT[1], SHIB[1], USD[0.00]                                                                                                                                    Yes

08071452                              BTC[.00006], ETH[.0008017], ETHW[.0008017], GRT[.4705], LINK[.03507726], SOL[141.022], UNI[.02472828], USD[0.00], WBTC[.00009887]

08071457                              NFT (318805570339183061/SBF Hair & Signature #2 #126)[1]

08071465                              DOGE[380], SHIB[1700000], USD[5.17]

08071470                              BTC[.0767], SOL[7.01], USD[0.20]

08071473                              AAVE[.00017164], AVAX[105.64300837], BAT[2], BRZ[7.27405944], BTC[.01602824], CUSDT[5], DOGE[10.02267403], ETH[1.1254703], ETHW[1.32643103], GRT[2], MATIC[2635.77451866],        Yes
                                      SHIB[31], SOL[34.94683433], SUSHI[.00019447], TRX[9260.11319436], USD[0.75]
08071477                              BTC[.00016772], CUSDT[1], DOGE[35.94027982], SOL[.01754812], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08071478                           CUSDT[3], ETHW[.02105915], SHIB[464039.12296983], USD[36.04]

08071479                           CUSDT[1], SHIB[523088.1204333], USD[0.00]                                                                                                                                                  Yes

08071494                           ETH[.01162747], ETHW[.01147886], GRT[391.67438516], USD[0.22]                                                                                                                              Yes

08071500                           USD[150.00]

08071503                           USD[541.84]                                                                                                                                                                                Yes

08071509                           BTC[.02725055], CUSDT[2], DOGE[3335.97367854], ETH[1.15366075], ETHW[1.15366075], MKR[.43301609], TRX[17263.21292115], USD[490.00], USDT[499.25336633]

08071517                           USD[0.01], USDT[2.669664]

08071522                           NFT (351013502366779608/SBF Hair & Signature #1 #113)[1]

08071533                           NFT (297201540471120112/Warriors Gold Blooded NFT)[1], NFT (331290393261076842/Golden State Warriors #3)[1], NFT (337875758402893051/Warriors 75th Anniversary City Edition Diamond)[1],
                                   NFT (431799643664025069/Warriors 75th Anniversary Icon Edition Diamond #3)[1]
08071534                           SOL[.00409496], USD[1.79]

08071537                           USD[0.28]

08071539                           BTC[0.00887939], DOGE[1], SHIB[5], TRX[2], USD[0.01]

08071541                           CUSDT[1], SHIB[391069.19370283], USD[0.00]                                                                                                                                                 Yes

08071544                           CUSDT[2], SHIB[9074539.14634235], TRX[2], USD[0.03]                                                                                                                                        Yes

08071554                           ETH[0], SOL[2.14602199], USD[0.00]                                                                                                                                                         Yes

08071557                           NFT (326064140409970939/SBF Hair & Signature #2 #130)[1], NFT (376216889803776026/SBF Hair & Signature #3 #102)[1], NFT (515340398287186771/Good Boy #120)[1], NFT
                                   (525105805252069530/SBF Hair & Signature #1 #114)[1]
08071578                           SHIB[143010.8094439], USD[0.04]                                                                                                                                                            Yes

08071581                           NFT (364430365314780955/SBF Hair & Signature #2 #132)[1], NFT (400019925147599510/SBF Hair & Signature #3 #103)[1]

08071587                           NFT (298316051683530820/SBF Hair & Signature #1 #117)[1], NFT (344795152396170412/SBF Hair & Signature #3 #105)[1], NFT (380204169786006191/Microphone #8105)[1], NFT
                                   (537817565450586914/SBF Hair & Signature #2 #134)[1]
08071589                           NFT (289186018173888910/SBF Hair & Signature #3 #104)[1], NFT (361260333199814485/SBF Hair & Signature #2 #133)[1], NFT (559898958460418979/SBF Hair & Signature #1 #115)[1]

08071590                           MATIC[42.70603904]                                                                                                                                                                         Yes

08071600                           BTC[.00047191], CUSDT[8], DOGE[0], ETH[.26452679], ETHW[0.26433364], LINK[0.19760613], USD[19.86], USDT[0]                                                                                 Yes

08071604                           BTC[.05767], DOGE[33.9677], ETH[.3516656], ETHW[.3516656], USD[0.07]

08071605                           BTC[0], CUSDT[11], DOGE[1], TRX[2], USD[1.08]                                                                                                                                              Yes

08071610                           USD[108.37]                                                                                                                                                                                Yes

08071613                           BRZ[329.24496722], CUSDT[1.00419487], SHIB[12.60737307], TRX[1], USD[0.00]                                                                                                                 Yes

08071617                           BCH[.00000004], USD[0.73]                                                                                                                                                                  Yes

08071624                           CUSDT[2], MATIC[0.41332217], SHIB[3767.79794977], TRX[1], USD[0.23]                                                                                                                        Yes

08071625                           ETH[.01045], ETHW[.01045], SOL[3.26176336]

08071626                           USDT[0.00000113]

08071643                           USD[5.97]                                                                                                                                                                                  Yes

08071644                           BAT[.00116975], BRZ[3], DOGE[6], SHIB[34], TRX[6], USD[0.01]                                                                                                                               Yes

08071645                           BTC[.00010136], SOL[.20809407], USD[0.00]                                                                                                                                                  Yes

08071646                           NFT (352333967037415599/SBF Hair & Signature #2 #136)[1], NFT (429257380054469553/SBF Hair & Signature #3 #107)[1], NFT (506889384954908645/DOGO-ID-500 #5590)[1], NFT
                                   (514540750861670768/Microphone #2174)[1], NFT (547258532520531283/SBF Hair & Signature #1 #119)[1]
08071647                           USD[0.22]

08071649                           BTC[0], CUSDT[4], LTC[0], TRX[2], USD[0.01]                                                                                                                                                Yes

08071651                           ETH[0.00000203], ETHW[0.09000000], LINK[0.00703581], USD[0.76]

08071661                           BTC[.00806102], TRX[1], USD[0.00]                                                                                                                                                          Yes

08071663                           CUSDT[1], SOL[2.35427557], USD[0.32]                                                                                                                                                       Yes

08071668                           USDT[0.00000046]

08071680                           ETH[.0332676], ETHW[.0328572], SHIB[1], USD[0.53]                                                                                                                                          Yes

08071683                           NFT (327916687631441594/SBF Hair & Signature #1 #120)[1]

08071689                           SHIB[47300], USD[713.77]

08071700                           USD[25.00]

08071701                           BRZ[293.52497921], CUSDT[4906.16580162], DAI[53.86086236], DOGE[1], KSHIB[3621.80019976], TRX[1], USD[0.00]                                                                                Yes

08071702                           SOL[.01848117]                                                                                                                                                                             Yes

08071708                           BTC[.0045], USD[0.46]

08071715                           MATIC[39.21087277], SHIB[550470.93009766]                                                                                                                                                  Yes

08071716                           AVAX[0], BTC[0], ETH[0], LINK[0], MATIC[0], SOL[.00000001], SUSHI[0], USD[3.65], USDT[0]

08071722                           BAT[14.8232242], TRX[158.29107866], USD[0.00]

08071723                           SHIB[7], SOL[0], TRX[1], USD[0.00]                                                                                                                                                         Yes

08071728                           TRX[.029444], USDT[0]

08071736                           CUSDT[2], DOGE[195.18430749], ETH[.02403986], ETHW[.0237389], USD[0.15]                                                                                                                    Yes

08071739                           SHIB[196800.48377684], USD[0.00]                                                                                                                                                           Yes

08071745                           BTC[.00364549], CUSDT[4], ETH[.04892621], ETHW[.04831988], USD[0.00]                                                                                                                       Yes

08071747                           BTC[0], ETH[0], USD[0.00]                                                                                                                                                                  Yes

08071753                           BTC[.00000007], CUSDT[3], DOGE[1], ETHW[.12972491], SOL[.6978659], TRX[1017.51124455], USD[0.00]                                                                                           Yes
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                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08071755                           DOGE[1], LTC[4.64327829], TRX[2], USD[0.00]                                                                                                                                           Yes

08071756                           AAVE[13.63420326], BTC[.18394137], MATIC[669.83318083], SOL[10.55289296], TRX[1], USD[10.25], USDT[1.00014608]                                                                        Yes

08071759                           USD[0.00]

08071768                           BTC[.00047129], CHF[9.85], USD[0.03]                                                                                                                                                  Yes

08071771                           USD[0.00]

08071774                           CUSDT[3], DOGE[1631.13304618], SHIB[7707944.44083441], SOL[1.15207624], USD[0.00]

08071776                           USD[9.71]

08071779                           CUSDT[4], SHIB[1], SOL[8.35959053], TRX[4], USD[0.00]

08071789                           BRZ[1], CUSDT[1], SOL[.00000001], SUSHI[0], TRX[1], USD[0.00]

08071794                           LINK[71.332], USDT[10.9111456]

08071800                           USD[0.00]

08071803                           BRZ[1], CUSDT[1], DOGE[3], ETH[0], ETHW[0], SHIB[4], SOL[.00003653], TRX[3], USD[0.00], USDT[1.07366413]                                                                              Yes

08071815                           USD[0.00], USDT[.35821141]

08071816                           USD[0.00]

08071819                           CUSDT[2777.58464052], DOGE[389.80919975], GRT[140.73363084], SHIB[2927736.13740712], TRX[1227.58793201], USD[1073.20], USDT[107.10511528]                                             Yes

08071821                           SOL[.00042054], USD[0.00]

08071822                           SHIB[1], TRX[1], USD[19.65]

08071835                           USD[1.14]

08071866                           ETH[.127076], ETHW[.127076], USD[2.73]

08071867                           BRZ[1], TRX[1], USD[0.01]

08071880                           USD[20.00]

08071881                           SOL[.00507964], USD[0.00]

08071886                           BTC[.04040219], TRX[1], USD[0.00]                                                                                                                                                     Yes

08071898                           USD[0.30]

08071906                           BTC[0], ETH[0], USD[0.95]

08071909                           BAT[.00009104], DOGE[.00029865], USD[0.00]                                                                                                                                            Yes

08071917                           MATIC[0], USD[1.71], USDT[0]

08071918                           SOL[0], USD[1.49], USDT[0.00000066]

08071923                           USD[432.21]                                                                                                                                                                           Yes

08071937                           BAT[1.00553119], BRZ[1], BTC[.00000004], CUSDT[5], DOGE[5], ETH[.00000453], ETHW[.00000453], TRX[2], USD[0.00], USDT[1.07768201]                                                      Yes

08071942                           USD[0.00]

08071944                           USD[5.00]

08071945                           SOL[10.2]

08071958                           USD[24.25]

08071961                           USD[0.10]                                                                                                                                                                             Yes

08071966                           CUSDT[4], DOGE[1], SHIB[995715.25771467], SOL[.46548215], USD[0.00]

08071969                           USD[0.01]                                                                                                                                                                             Yes

08071971                           BTC[.001475], DOGE[9142.35625564]                                                                                                                                                     Yes

08071976                           KSHIB[.40623058], USD[0.01]

08071979                           BTC[.00479073], ETH[.04500505], ETHW[.04500505], USD[0.00], YFI[.00600037]

08071985                           CUSDT[1], TRX[51.62464946], USD[1.00]

08071986                           NFT (477518585059898465/SBF Hair & Signature #2 #138)[1]

08071992                           BTC[.00007424], DOGE[19.42788459], USD[0.00]                                                                                                                                          Yes

08071996                           SHIB[899100], USD[0.57]

08071998                           NFT (343360691853923075/Bahrain Ticket Stub #825)[1], NFT (396837672539565713/FTX Crypto Cup 2022 Key #276)[1], NFT (440544217714984819/The Hill by FTX #824)[1]

08072012                           ETH[.137862], ETHW[.137862], USD[6.46]

08072013                           SOL[.06825245], USD[0.02]

08072022                           BAT[0], BRZ[9.69126962], BTC[0], CUSDT[15], DOGE[0], ETH[0], ETHW[0], GRT[1], LINK[0.00014827], MATIC[525.10645420], SOL[17.96004326], TRX[5], USD[0.00], USDT[3.20911225]            Yes

08072023                           BTC[0], SOL[.00555], USD[215.72]

08072035                           ETH[.00590184], ETHW[0.00590183], GRT[1], NFT (314869379600400077/MagicEden Vaults)[1], NFT (319780959154221088/Frog #8733)[1], NFT (348757269283461695/Cyber Frogs Ramen)[1], NFT
                                   (390805819059519483/MagicEden Vaults)[1], NFT (429239080658866578/Golden bone pass)[1], NFT (549406941209897596/MagicEden Vaults)[1], NFT (555376796203413808/MagicEden Vaults)[1],
                                   NFT (568998107749906148/MagicEden Vaults)[1], SOL[0.45930552]
08072051                           BRZ[1], CUSDT[1], DOGE[4], ETH[0.12546550], ETHW[0.12432702], SOL[0], USD[160.85]                                                                                                     Yes

08072078                           SHIB[.00000001]                                                                                                                                                                       Yes

08072079                           BTC[.00232407], DOGE[649.96560341], SOL[3.01023620], USD[164.96], USDT[0], YFI[.00298584]

08072087                           BTC[0], ETH[0.00095460], ETHW[0.00095460], SOL[0.00499500], USD[1.24], USDT[0]

08072092                           LTC[.00029819], USD[5.17], USDT[0.00000001]

08072101                           CUSDT[1], DOGE[2], USD[0.00]                                                                                                                                                          Yes

08072113                           SHIB[4200000], USD[0.58]
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                                                                                                                                         Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08072117                           BRZ[1], BTC[.00000014], DOGE[1], ETH[.00000019], ETHW[.00000019], TRX[1], USD[0.00]                                                                                                  Yes

08072121                           BTC[.56206814], DOGE[78], SHIB[4099840], USD[2.34]

08072123                           USD[0.00]

08072137                           BTC[0], USD[0.17], USDT[62.88237929]

08072140                           BRZ[2], DOGE[3131.34812424], SHIB[25637738.71435038], USD[0.00]                                                                                                                      Yes

08072143                           BTC[.0009]

08072147                           MATIC[227.04539191], USD[0.00]

08072153                           CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                         Yes

08072166                           BTC[0.00031903], ETH[0.00541334], ETHW[0.00541334], USD[0.00]

08072177                           DOGE[2122.45787603], SOL[2.08048086], TRX[1], USD[0.02]

08072178                           NFT (355996943438891936/Tim Brown's Playbook: Michigan State vs. Notre Dame - September 19, 1987 #84)[1], SHIB[518743.19995236], USD[0.02]                                           Yes

08072181                           BTC[.03170737], CUSDT[5], DOGE[3], SHIB[3], SOL[12.42498187], USD[3.36]                                                                                                              Yes

08072198                           AVAX[0], BTC[0], DOGE[0], ETH[0], LINK[0], MATIC[0], NEAR[0], NFT (289018438494196419/DRIP NFT)[1], NFT (570085344923078925/Momentum #562)[1], SOL[0.82258567], USD[0.00], USDT[0]   Yes

08072200                           USD[0.01]

08072203                           SOL[0]

08072211                           ETH[.25433796], ETHW[.2541454], SHIB[2], TRX[1], USD[0.00]                                                                                                                           Yes

08072213                           USD[0.00]

08072215                           NFT (406746741685259293/SBF Hair & Signature #1 #121)[1], NFT (463918669984469755/SBF Hair & Signature #2 #140)[1], NFT (562676595514185976/SBF Hair & Signature #3 #108)[1]

08072222                           BTC[.0011653]

08072226                           USD[0.94]

08072228                           BRZ[1], CUSDT[9], DOGE[49.282974], SHIB[9306219.66215953], USD[0.00]                                                                                                                 Yes

08072234                           USD[0.00]

08072237                           DOGE[4], ETH[0.00149903], ETHW[0.00149903], MATIC[2], NFT (462785671118556720/GOATquotes Project Logo (White))[1], NFT (513242801451180950/GOATquotes Logo - Black)[1],
                                   SHIB[9401554.05419102], SOL[.00785638], USD[0.62]
08072239                           CAD[30.76], CUSDT[1], USD[0.00]

08072241                           AUD[0.00], BAT[2], BF_POINT[100], BRZ[3], DOGE[6], SUSHI[2.04446193], TRX[6], USD[0.00], USDT[1.01902548]                                                                            Yes

08072263                           USDT[0]

08072268                           CUSDT[2], USD[0.02]

08072276                           ETHW[.313], SHIB[0], USD[4.01]

08072283                           ETH[.0022692], ETHW[.00224184], USD[0.00]                                                                                                                                            Yes

08072288                           BTC[.00000006], CUSDT[2], LTC[.04109039], SOL[.17680082], TRX[2], USD[0.00]                                                                                                          Yes

08072292                           LTC[.00961], USD[3.42]

08072294                           CUSDT[1], SOL[3.27426817], USD[0.00]                                                                                                                                                 Yes

08072305                           USD[142.81]

08072314                           BTC[0], USD[0.02], USDT[.31653606]

08072332                           USD[0.01], USDT[0]                                                                                                                                                                   Yes

08072336                           ETH[0], SOL[.00000001], USD[0.00], USDT[0]                                                                                                                                           Yes

08072341                           SHIB[225.26304426], USD[0.00]                                                                                                                                                        Yes

08072343                           CUSDT[9], DOGE[2], GRT[1], SHIB[1], TRX[1], USD[0.00]                                                                                                                                Yes

08072344                           USD[21.67]                                                                                                                                                                           Yes

08072349                           ETH[.02962458], ETHW[.02962458], MATIC[238.86], SOL[4.71], USD[68.82]

08072351                           USD[1.90]

08072355                           USD[0.05]                                                                                                                                                                            Yes

08072358                           ETH[.00051704], ETHW[.00051704], USD[7.19]

08072359                           CUSDT[2], NFT (543529170823345259/Solana Squirrel #32)[1], TRX[1], USD[0.00]                                                                                                         Yes

08072361                           USD[0.06]

08072365                           BAT[1], BRZ[1], USD[0.00], USDT[1.06010192]                                                                                                                                          Yes

08072367                           USD[0.00]

08072368                           SOL[0], USD[0.00]

08072371                           NFT (413251966960132483/Rubber Duckie #0080 - 2K)[1], NFT (500830189006598989/Rubber Duckie #0133)[1], SOL[1.24862937]

08072372                           ETH[.00000001], ETHW[0], USD[39.99]

08072374                           USD[0.00], USDT[18.18353109]

08072378                           NFT (382059603731016609/Humpty Dumpty #320)[1]

08072389                           NFT (341749958326749208/Ernest In Disguise #2773)[1]

08072402                           SHIB[1], USD[30.81], USDT[0]                                                                                                                                                         Yes

08072406                           ETH[0.05463069], ETHW[0.05395181], NFT (312041766248165478/FTX - Off The Grid Miami #599)[1], SHIB[3], TRX[1], USD[0.00]                                                             Yes

08072411                           BTC[.0003165], CUSDT[2], USD[0.00], USDT[0.09811913]                                                                                                                                 Yes

08072413                           ETH[.00112999], ETHW[.00111631], LTC[.00756095], USD[0.00]                                                                                                                           Yes

08072414                           BTC[.0015], ETH[.105], ETHW[.105], SOL[5.2], USD[199.56]
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
                                                                                                  Amended Schedule 1754      Filed
                                                                                                                      Nonpriority     06/27/23
                                                                                                                                  Unsecured           Page 947 of 1384
                                                                                                                                            Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08072427                              BTC[0.01380592], USD[0.00]

08072428                              BCH[2.662], USD[95.70], USDT[.2291994]

08072429                              AAVE[3.88611], USD[6.49]

08072431                              BTC[.09517489], USD[0.00]

08072432                              AVAX[.418], BTC[.0000977], USD[0.22]

08072433                              BAT[1], BRZ[2], DOGE[1], USD[973.56]                                                                                                                                                      Yes

08072438                              USD[5.61]

08072447                              USD[50.00]

08072448                              ETH[.0219373], ETHW[.0219373], GRT[59.82045], LINK[8.684135], LTC[.0792115], SOL[1.918157], SUSHI[.991925], UNI[.197245], USD[1.05]

08072454                              BAT[4.1297835], BRZ[5], CUSDT[9], ETHW[15.95838366], GRT[85.66885922], SHIB[7], SUSHI[12.13331051], TRX[17.35978247], USD[0.17], USDT[3.10234187]                                         Yes

08072458                              ETH[3.27490343], ETHW[3.27352793], SOL[35.84603452]                                                                                                                                       Yes

08072464                              SOL[0]

08072468                              AAVE[5.34766677], BRZ[1], BTC[.02186872], CUSDT[74.8319661], DOGE[10.24564552], ETH[.30851605], ETHW[.30832993], PAXG[.42011273], SHIB[61], SOL[8.78426127], TRX[3], USD[34.69]           Yes

08072472                              USD[0.00]

08072474                              USD[0.73], USDT[0]

08072477                              AAVE[.00942], BTC[.05111965], DOGE[.468], ETH[1.05184481], GRT[.936], MATIC[1718.88], MKR[.000944], NEAR[.0648], SHIB[87900], SOL[13.2227507], SUSHI[.4705], USD[0.00], USDT[0]

08072487                              CUSDT[2], DOGE[1], SHIB[6747533.3119231], USD[0.00]                                                                                                                                       Yes

08072491       Contingent, Disputed   USD[0.00]

08072496                              CUSDT[1], USD[0.00]                                                                                                                                                                       Yes

08072500                              SHIB[97900], USD[0.01]

08072502                              USD[33.07]

08072516                              BRZ[1], CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                      Yes

08072537                              SOL[2.22868144], TRX[1], USD[0.00]                                                                                                                                                        Yes

08072543                              BRZ[1], DOGE[.22820838], USD[0.00]

08072551                              SOL[.98864686], USD[0.00]

08072557                              ETHW[.00342179], SHIB[2], USD[32.61]

08072572                              GRT[.00829439], SHIB[1], USD[0.00]                                                                                                                                                        Yes

08072575                              USD[21.65]                                                                                                                                                                                Yes

08072577                              DOGE[32.967], KSHIB[19.98], USD[0.24]

08072583                              BTC[0], USD[0.00]                                                                                                                                                                         Yes

08072585                              BTC[.00007454], USD[0.00]                                                                                                                                                                 Yes

08072586                              ETHW[.47262111], GRT[1], SHIB[.00000004], USD[0.00], USDT[1.02527355]                                                                                                                     Yes

08072589                              USD[25.00]

08072593                              TRX[101.58050117], USD[0.00]

08072597                              ETH[0], SOL[0]

08072599                              BTC[0], ETH[0], ETHW[0], MATIC[0], SOL[0], TRX[0.00104100], USD[0.00], USDT[0]

08072600                              USD[2.41]

08072608                              USD[0.03]

08072609                              NFT (289849232740911763/#841)[1], NFT (291266367503144188/Solana Penguin #4731)[1], NFT (299113203859557031/Fancy Frenchies #2792)[1], NFT (304132468666043561/Panda #1488)[1], NFT
                                      (304778210194989204/Ghoulie #6104)[1], NFT (312090780979534097/shatteredmarble #418)[1], NFT (313663685401681677/2D SOLDIER #1512)[1], NFT (314098943047894508/#3675)[1], NFT
                                      (315468046607328897/Ghoulie #6015)[1], NFT (317469808504273588/Entrance Voucher #2537)[1], NFT (332277545183974258/SolFractal #440)[1], NFT (333236566753927263/Anti Social Bot
                                      #2748)[1], NFT (335902801452008992/ApexDucks #1236)[1], NFT (340638952439265414/Refined Fire Crystal)[1], NFT (343690233621103299/#286)[1], NFT (344201243313655432/Soulless #9742)[1],
                                      NFT (346814586050012754/Synesthesia #187)[1], NFT (356273274487489202/Divine Soldier #5812)[1], NFT (359754841955336846/Solana Penguin #6525)[1], NFT (361209231923572864/SolSister
                                      #04611)[1], NFT (364968376649584455/2D SOLDIER #3222)[1], NFT (366523608607051814/DOTB #5717)[1], NFT (368088989193396656/Deep #194)[1], NFT (377212607811424268/Soulless
                                      #8367)[1], NFT (380768610416429415/Nobu Sensei #436)[1], NFT (387238417434627934/Divine Soldier #658)[1], NFT (388208719518099817/Deep #495)[1], NFT (388899341953005630/Inaugural
                                      Collection #806)[1], NFT (400673291015947845/Panda #7179)[1], NFT (401234186675678199/Inaugural Collection #293)[1], NFT (401403192825591895/ApexDucks Halloween #1735)[1], NFT
                                      (401568279150515348/Ghoulie #5873)[1], NFT (405598919190409251/Deep #410)[1], NFT (410616623788311275/SolFractal #4134)[1], NFT (410868715046741292/Anti Artist #579)[1], NFT
                                      (412239648998388598/Inaugural Collection #111)[1], NFT (414864099491574117/Gangster Gorillas #5268)[1], NFT (421133616851086261/Inverse Bear 3D #1697)[1], NFT (421456069791216464/Rat
                                      Bastard #4497)[1], NFT (427115603350164745/The Hellions #1222)[1], NFT (427729255536162508/Lunarian #4960)[1], NFT (429016243913020940/SolFractal #9594)[1], NFT
                                      (430015734705158732/Metabaes #5784)[1], NFT (433610204266446448/#5695)[1], NFT (434679506827218587/The Hellions #1436)[1], NFT (450335281316858816/DOTB #337)[1], NFT
                                      (454149341355983510/Soulless #7316)[1], NFT (462363066079101237/Soulless #8429)[1], NFT (467437944318673067/ApexDucks Halloween #2402)[1], NFT (472883329903458659/Inverse Bear 3D
                                      #7207)[1], NFT (473642183130454665/#3193)[1], NFT (474526817117504036/#5879)[1], NFT (475737327484273703/ApexDucks #2928)[1], NFT (477029927092347085/Ghoulie #6930)[1], NFT
                                      (481065953611997120/Solana Penguin #5911)[1], NFT (482307054625781255/2D SOLDIER #1766)[1], NFT (482779486227012904/ApexDucks Halloween #2856)[1], NFT (485608784342785938/UNQ
                                      Universe | Hallway #4610)[1], NFT (486122297816978084/#8859)[1], NFT (487737890325158852/Cow #7715)[1], NFT (488053570089571676/Monk #8401)[1], NFT (495718327481808500/Divine
                                      Soldier #5750)[1], NFT (500301627077485306/SolCities Genesis #3569)[1], NFT (502980111750926581/Panda #6925)[1], NFT (507919950865029308/ApexDucks #7151)[1], NFT
                                      (515417714757419976/Ghoulie #1556)[1], NFT (520405143667469677/Deep #513)[1], NFT (521141258821673249/Gangster Gorillas #9218)[1], NFT (522608452899393316/Lorenz #704)[1], NFT
                                      (530777253656516299/Half Dead # 5594)[1], NFT (544302331923863506/Ghoulie #7488)[1], NFT (547555356259757981/Inaugural Collection #704)[1], NFT (552278596995399771/Ghoulie #5872)[1],
                                      NFT (553263963566677211/Toasty Turts #0196)[1], NFT (558749755609401777/ApexDucks Halloween #3135)[1], NFT (562924651318466447/#1270)[1], NFT (565700669282430044/DOTB #4901)[1],
                                      NFT (568419892975208073/#4525)[1], NFT (569033792538443224/2D SOLDIER #525)[1], NFT (575909077606000179/Faceless #1192)[1], SOL[.13298961], USD[0.00]

08072610                              AVAX[0], BTC[0], ETH[0], ETHW[0], NFT (296673352106812803/Saudi Arabia Ticket Stub #1165)[1], NFT (390147881203694254/Entrance Voucher #2337)[1], NFT (486333821410287583/FTX - Off       Yes
                                      The Grid Miami #1973)[1], SHIB[1], SOL[15.32174010], USD[0.09], USDT[0.00000006]
08072617                              USD[30.00]

08072618                              USD[100.00]

08072622                              CUSDT[1], LINK[.92270451], MATIC[3.80339255], SHIB[197190.59242947], SUSHI[1.35012047], TRX[1], USD[2.68]                                                                                 Yes

08072633                              SHIB[9899029.89507028], TRX[1], USD[0.00]

08072636                              SOL[0]
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
                                                                                                  Amended Schedule 1754      Filed
                                                                                                                      Nonpriority     06/27/23
                                                                                                                                  Unsecured           Page 948 of 1384
                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08072637                              USD[1.00]

08072640                              USD[54.19]                                                                                                                                                                              Yes

08072644                              USD[0.00]

08072646                              USD[2.00]

08072652                              USD[0.01]

08072662                              BRZ[1], CUSDT[1], ETH[.05827157], ETHW[.057546], SOL[1.15329408], USD[0.04]                                                                                                             Yes

08072668                              BTC[.00091433], NFT (469320730897500517/SBF Hair & Signature #2 #145)[1], USD[0.00]

08072675                              NFT (432405745339334556/SBF Hair & Signature #2 #146)[1]

08072684                              BTC[.00007629], USD[5.42]                                                                                                                                                               Yes

08072685                              CUSDT[1], USD[0.00]                                                                                                                                                                     Yes

08072688                              USD[21.67]                                                                                                                                                                              Yes

08072697                              NFT (405991425458373140/SBF Hair & Signature #2 #148)[1]

08072700                              BTC[0], SOL[0], USD[0.00]

08072701                              USD[541.02]                                                                                                                                                                             Yes

08072712                              BCH[.00496511], USD[0.00]                                                                                                                                                               Yes

08072713                              NFT (288664011170202106/Zombie Ape #0004)[1], NFT (288777051895743291/ape#8 #2)[1], NFT (289556298378264588/Gangster Gorillas #4070)[1], NFT (289651801334784908/Punk#0001)[1], NFT
                                      (289769384510060791/King Ape Club #13)[1], NFT (293299330019513343/King Ape Club #10)[1], NFT (293817975591855225/Ape#003)[1], NFT (293906422931635088/King Ape Club #28)[1], NFT
                                      (297491846417425463/Art#010)[1], NFT (298756622564362060/Art#002)[1], NFT (306356961487034085/King Ape Club #16)[1], NFT (314345891916737411/Ape#012)[1], NFT
                                      (315752809526171903/Zombie Ape #0002)[1], NFT (318234485524066371/King Ape Club #35)[1], NFT (322419210457202426/Art#008)[1], NFT (322645138776756443/ape#5)[1], NFT
                                      (330311866768263188/Art#007)[1], NFT (333992643865836054/art#9)[1], NFT (344233225028114801/King Ape Club #27)[1], NFT (346326528570463184/seal#0006)[1], NFT
                                      (348855327321135039/Ape#011)[1], NFT (357397056684653585/ape#1)[1], NFT (358647514707801676/Ape#001)[1], NFT (362593288891805020/Ape#007)[1], NFT (363283985641542601/art#2)[1],
                                      NFT (371892282577734144/seal#0010)[1], NFT (372840692545355334/King Ape Club #2)[1], NFT (376978306703119939/art#5)[1], NFT (379382766399346450/seal#0002)[1], NFT
                                      (380257770567637404/Zombie Ape #0005)[1], NFT (385117621843150941/art#8)[1], NFT (390709798187352726/King Ape Club #12)[1], NFT (390991318587067182/mad#0002)[1], NFT
                                      (401959182807633034/King Ape Club #19)[1], NFT (404208356757881372/Zombie Ape #0010)[1], NFT (406085339777516308/Angel#0001)[1], NFT (409885798730816983/King Ape Club #32)[1], NFT
                                      (415339094819363644/Ape#015)[1], NFT (422034484675912224/Ape#002)[1], NFT (426988177558926257/King Ape Club #24)[1], NFT (433531228546863246/BINANCECOIN)[1], NFT
                                      (440557282738182926/ape #2)[1], NFT (440618758896006501/Art#005)[1], NFT (444605196899188390/Art#003)[1], NFT (445390634057069888/King Ape Club #9)[1], NFT
                                      (445588835774913697/Zombie Ape #0009)[1], NFT (448906940447334274/seal#0008)[1], NFT (452924354602267710/King Ape Club #14)[1], NFT (461356827788523895/Shiba#0001)[1], NFT
                                      (461687626302158131/King Ape Club #34)[1], NFT (461757917211042872/King Ape Club #23)[1], NFT (464262543316489344/product#1)[1], NFT (464646291604162901/Ape#009)[1], NFT
                                      (465175711867353214/Old English Latin Alphabet )[1], NFT (466649588388663892/ape#9)[1], NFT (467626035047709440/Zombie Ape #0008)[1], NFT (469985470896120880/art#6)[1], NFT
                                      (471781857759507528/product#4)[1], NFT (475512500992405440/seal#0005)[1], NFT (479504393969719912/nature#10)[1], NFT (480803270768435386/Zombie Ape #0006)[1], NFT
                                      (480854116080028991/nature#1)[1], NFT (490857220765372564/seal#0007)[1], NFT (497087971928294506/art#7)[1], NFT (498788874068902271/Art#006)[1], NFT (500796604994041467/Art#001)[1],
                                      NFT (503091730605183415/King Ape Club #21)[1], NFT (503213940970872433/Old English Latin Alphabet #7)[1], NFT (504317831109995148/King Ape Club #29)[1], NFT
                                      (507261561267362731/Emo#001)[1], NFT (507887431504991960/Art#004)[1], NFT (510968787189446412/King Ape Club #22)[1], NFT (514963046499030042/King Ape Club #5)[1], NFT
                                      (520104371982630148/product#3)[1], NFT (520222992055591545/Ape#010)[1], NFT (521471800757367827/King Ape Club #31)[1], NFT (526337631970773210/Ape#008)[1], NFT
                                      (526530934554622696/seal#0004)[1], NFT (529161648330628600/Ape#006)[1], NFT (529424144686022951/Ape#005)[1], NFT (531919070632613558/Art#009)[1], NFT (533774539900534371/Zombie
                                      Ape #0007)[1], NFT (534486429057590393/mad#0003)[1], NFT (535406975197745803/seal#0009)[1], NFT (535412119558996939/ape)[1], NFT (535508636879529749/seal#0009 #2)[1], NFT
                                      (536523591976961977/King Ape Club #25)[1], NFT (543358021828526512/seal#0003)[1], NFT (546706731496763211/mad#0001)[1], NFT (547574727354188062/King Ape Club #4)[1], NFT
                                      (548468808503660062/King Ape Club #20)[1], NFT (552443054954449349/King Ape Club #26)[1], NFT (552845019728923880/King Ape Club #30)[1], NFT (553209819029539772/Zombie Ape
                                      #0003)[1], NFT (562679561210557964/King Ape Club #7)[1], NFT (563270133743974008/ape#6)[1], NFT (563841693607024256/seal#0001)[1], NFT (568587681849073166/Punk#6)[1], NFT
                                      (568724642520103686/Ape#004)[1], NFT (570933168219505650/nature#7)[1], NFT (571218302945362281/Ape#014)[1], NFT (573316220169512360/ape#7)[1], NFT (574048402569131497/King Ape
                                      Club #3)[1], NFT (574829663655235540/Ape#013)[1], SOL[0.31897357], USD[0.37], USDT[0]

08072724                              CUSDT[6], DOGE[1], USD[0.01]                                                                                                                                                            Yes

08072729                              AVAX[.3], BTC[.0082], DOGE[38.81734564], ETH[.009], ETHW[.009], GRT[.999], SHIB[16400000], SOL[1.76], USD[0.92]

08072737                              CUSDT[1], GRT[17.72044198], USD[0.00]

08072738                              USD[0.00]

08072740                              USD[4.33]                                                                                                                                                                               Yes

08072751                              BTC[.00000878], NFT (331507059028787006/Happy Sun #7)[1], NFT (412055926305026739/Happy Sun #12)[1], NFT (496416743918664964/Happy Sun #5)[1], NFT (505240063624942979/Happy Sun
                                      #3)[1], NFT (559777085832418713/Happy Sun #11)[1], USD[0.00]
08072761       Contingent, Disputed   BTC[0.08310000], USD[0.00], USDT[243.02871517]

08072763                              BAT[1], USD[0.00], USDT[0]

08072764                              CUSDT[1], USD[0.14]                                                                                                                                                                     Yes

08072765       Contingent, Disputed   NFT (375616932604623764/SBF Hair & Signature #2 #150)[1], NFT (389223682852402775/Microphone #7272)[1]

08072786                              SHIB[17780.93883357], USD[0.00]

08072790                              AAVE[.99905], BAT[99.905], BTC[.03088879], DOGE[1168.26945], ETH[.19981], ETHW[.19981], GRT[199.81], MATIC[129.8765], SHIB[1998100], SOL[4.0380775], USD[522.36]

08072792                              CUSDT[1], SHIB[3548616.03974449], USD[0.00]

08072799                              SHIB[2], SUSHI[.00002291], TRX[1], USD[0.00]                                                                                                                                            Yes

08072801                              BTC[.00166945]

08072804                              SOL[0]

08072805                              BRZ[2], BTC[.00413793], ETHW[.51484703], SHIB[2], TRX[3], USD[0.00]                                                                                                                     Yes

08072808                              SHIB[2], SOL[.00002327], USD[0.00], USDT[0.00000030]                                                                                                                                    Yes

08072809                              DOGE[2484.37145559], MATIC[22.5471883], USD[0.00]                                                                                                                                       Yes

08072812                              BRZ[1], CUSDT[4], ETH[0], MATIC[29.68996073], SOL[.55526205], USD[2.81]                                                                                                                 Yes

08072813                              USD[0.00]                                                                                                                                                                               Yes

08072814                              USD[541.81]                                                                                                                                                                             Yes

08072820                              BTC[0]

08072823                              BTC[.002]

08072826                              BTC[.00404293], USD[757.34]                                                                                                                                                             Yes

08072827                              TRX[2.15]
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                                                                                                                                         Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08072841                           BTC[.0377714], ETH[0.54776700], ETHW[0.54776700], SOL[28.93451], USD[12.21]

08072854                           BRZ[1], MATIC[63.11992826], SHIB[248879.18547807], SOL[.04444488], TRX[1], USD[0.01], YFI[.00332854]                                                                                     Yes

08072863                           CUSDT[2], DOGE[1], SHIB[265553107.59104345], TRX[1], USD[0.00]

08072865                           DAI[0.09898881], NFT (299269231698609083/FTX - Off The Grid Miami #5696)[1], SOL[0], USD[0.40]

08072870                           USD[4.20]

08072874                           USD[4592.83]

08072878                           BTC[.00010826], USD[0.00]

08072879                           BAT[1.00961669], BTC[.38641818], CUSDT[4], DOGE[7.0544707], TRX[5], USD[0.06], USDT[2.14160333]                                                                                          Yes

08072881                           NFT (525572384855668129/Coachella x FTX Weekend 2 #7540)[1]

08072883                           BF_POINT[300], CUSDT[6], DOGE[1], SHIB[3922486.70273249], USD[0.00]                                                                                                                      Yes

08072891                           BRZ[1], CUSDT[1], DOGE[0], GRT[1], SHIB[1], TRX[2], USD[0.01]                                                                                                                            Yes

08072896                           CUSDT[1], GRT[89.03182176], USD[0.00]

08072899                           USD[0.01]                                                                                                                                                                                Yes

08072902                           BTC[.00007374], CUSDT[1], USD[5.42]                                                                                                                                                      Yes

08072908                           ETH[.00132504], ETHW[.00131136], KSHIB[35.80774392], SOL[.00845322], USD[0.00]                                                                                                           Yes

08072910                           USD[0.01]

08072914                           BRZ[1], CUSDT[4], DOGE[1], TRX[4], USD[0.00], USDT[1.00900823]

08072920                           AVAX[.3986], SOL[1.28177826], USD[1.22]

08072926                           SOL[.04439331], USD[0.00]                                                                                                                                                                Yes

08072931                           CUSDT[1], DOGE[1], USD[0.07]                                                                                                                                                             Yes

08072937                           MATIC[93.32050906], USD[0.00], USDT[0.00000001]

08072941                           CUSDT[1], DOGE[1954.43775189], USD[0.00]                                                                                                                                                 Yes

08072943                           USD[0.00]

08072947                           USD[0.00], USDT[0]

08072948                           GRT[8.24966652], USD[0.00]                                                                                                                                                               Yes

08072949                           CUSDT[2], USD[0.00]                                                                                                                                                                      Yes

08072954                           NFT (330425791804787545/Pandas #3)[1], NFT (365224195822195247/Panda#1 #8)[1], NFT (367944811174498015/CatFamilya #35)[1], NFT (398963202800692347/Ancient Civilization #26)[1], NFT
                                   (400618180083463558/Dragons #3)[1], NFT (409178701085176723/Red.Cherry.Marble)[1], NFT (425305089167463566/Motley Zoo #6)[1], NFT (472316925101115903/019x-BO)[1], NFT
                                   (487232071343998796/The Hill by FTX #2745)[1], NFT (494126945469379566/Travel sprouts collection #27)[1], NFT (497294157245356645/CryptoAvatar #186)[1], NFT (523912688756434872/Robot
                                   Planet)[1], NFT (525764509005979760/Ancient Civilization #55)[1], NFT (548025373301261719/BB Yellow #3)[1], NFT (566894471850596977/Solana Mafia #0684)[1], NFT
                                   (571423146015187842/Beddy Tears #33)[1], NFT (572849162224086229/Cryptographic zombie #8)[1], TRX[.000002], USD[2.00], USDT[0]
08072961                           BAT[3.1727343], BRZ[6.17933958], BTC[.00000014], CUSDT[1388.47038443], DOGE[4], GRT[1], SHIB[8], SOL[.0001251], TRX[11], USD[0.00], XRP[395.213]                                         Yes

08072964                           BTC[.00347296], CUSDT[1], DOGE[2], ETH[.03820336], ETHW[.03772608], SHIB[1], USD[0.10]                                                                                                   Yes

08072965                           BAT[1], DOGE[1], ETH[.00000001], ETHW[0], SOL[0.00001774], TRX[3], USD[0.00], USDT[0]                                                                                                    Yes

08072968                           SOL[.00000001], USD[0.00]

08072977                           USD[484.14]

08072978                           USD[500.00]

08072981                           USD[0.00]                                                                                                                                                                                Yes

08072983                           BTC[.00001877], NFT (292583281407301137/ApexDucks Halloween #1473)[1], NFT (302098144406167159/Rox #242)[1], NFT (306518399051704074/ApexDucks #3424)[1], NFT                            Yes
                                   (403728910748340216/ApexDucks Halloween #2932)[1], USD[0.12]
08072985                           NFT (508774762499185467/Hall of Fantasy League #380)[1]

08072993                           SHIB[1], USD[10.14]                                                                                                                                                                      Yes

08072996                           BRZ[2], CUSDT[1], SHIB[5186322.22421486], TRX[1], USD[0.00]                                                                                                                              Yes

08072999                           BRZ[2], CUSDT[4], DOGE[2842.99157149], SHIB[12301389.79488281], SUSHI[24.26272908], TRX[3], UNI[20.51064201], USD[230.40]

08073027                           USD[0.10]

08073030                           NFT (345671715919208619/SBF Hair & Signature #1 #138)[1], NFT (391185029261312814/SBF Hair & Signature #3 #125)[1]

08073039                           ALGO[444], BRZ[0], DOGE[0], ETH[0], ETHW[0], MATIC[0], NFT (376963719115078794/Animal Gang #281)[1], NFT (516307151128655543/PixelPuffins #3084)[1], SHIB[75354.55262527], SOL[0],
                                   SUSHI[0], TRX[0], USD[0.21]
08073044                           ETH[0], ETHW[0]

08073045                           NFT (576207856306937798/Solgen #6268)[1], SOL[.07]

08073054                           BTC[.0166], NFT (381987398899542267/Humpty Dumpty #811)[1], USD[0.00], USDT[.65657731]

08073055                           ETH[.00000001], ETHW[0], NFT (353638885768045368/Jerrod, the Shocking)[1], NFT (445749092160450279/Sollama)[1], SHIB[1], USD[240.45]                                                     Yes

08073056                           SOL[.00000001], USD[0.00], USDT[0]

08073060                           BAT[1], BTC[0], ETH[0], ETHW[0], GRT[0], LINK[0], MATIC[0], SHIB[13], SOL[0], TRX[4], USD[0.00]                                                                                          Yes

08073064                           ETH[.03], ETHW[.03], USD[7.64]                                                                                                                                                           Yes

08073065                           CUSDT[3], SHIB[983804.70473908], TRX[2], USD[0.00]                                                                                                                                       Yes

08073066                           USD[100.00]

08073067                           LTC[0.18001378], SHIB[1777461.83373502], SOL[.2181057], USD[0.00]

08073068                           SOL[.0005012]

08073075                           NFT (328411068209409565/SBF Hair & Signature #3 #124)[1], NFT (345432084822549814/SBF Hair & Signature #1 #137)[1]

08073076                           ETH[.0034838], ETHW[.0034838], NFT (419988634301687987/Singapore Ticket Stub #136)[1], NFT (443700376238421047/Japan Ticket Stub #119)[1], USD[0.00]

08073077                           USD[0.00]                                                                                                                                                                                Yes
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                                                                                                                                             Customer Claims                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08073084                              BRZ[2], CUSDT[2], DOGE[3], GRT[2], SOL[6.26564068], TRX[3], USD[0.00], USDT[1.00000188]

08073087                              BAT[1], BRZ[546.95828294], CUSDT[1], DOGE[1869.26810483], GRT[8656.33336036], KSHIB[6626.88965224], SHIB[16508661.92338527], TRX[2], USD[0.00]

08073090                              KSHIB[17.77196437], MKR[.00031311], SHIB[17784.42583893], SOL[.00409504], TRX[8.71921358], USD[0.00], YFI[.00002836]                                                           Yes

08073092                              BTC[0], SOL[0], USD[0.00], USDT[0]

08073094                              SOL[0]

08073099                              CUSDT[2], DOGE[4], ETHW[.05409871], KSHIB[22.47494549], LINK[.00000271], SHIB[2], TRX[2], USD[524.05]

08073109                              USD[0.00]

08073114                              ETHW[.79930176], SHIB[4], USD[0.00]                                                                                                                                            Yes

08073121                              CUSDT[1], SOL[.08898172], USD[0.00]                                                                                                                                            Yes

08073122                              BRZ[1], CUSDT[1], SHIB[1], USD[12.66]

08073126                              USD[0.43]

08073134                              BAT[0], CUSDT[0], DOGE[0], ETH[0], GRT[0.11993253], KSHIB[0], LINK[0], LTC[0], MATIC[0], SOL[0], UNI[0], USD[0.00], USDT[0]                                                    Yes

08073135                              USD[541.81]                                                                                                                                                                    Yes

08073137                              BAT[1], BF_POINT[100], DOGE[1], ETHW[.00054277], SHIB[1], TRX[3], USD[31.30]                                                                                                   Yes

08073148                              USD[0.00]

08073151                              CUSDT[1], SHIB[390276.6991698], USD[5.42]                                                                                                                                      Yes

08073152                              CUSDT[2], DOGE[858.67320337], SHIB[1556607.44753468], USD[0.00]                                                                                                                Yes

08073159                              SOL[.00006469], USD[0.01]                                                                                                                                                      Yes

08073170                              SOL[.00000001], USD[0.01]

08073174                              EUR[0.00], USD[0.00], USDT[0]

08073175                              SHIB[2705627.7056277], TRX[1], USD[0.00]

08073178                              SOL[20.17], USD[541.30]

08073179                              BTC[-0.00005724], ETH[.00545982], ETHW[.00545982], SOL[0], USD[1.98], USDT[0]

08073183                              BTC[.00001005], ETH[.0007962], ETHW[.0007962], NFT (351789636113851102/Entrance Voucher #3207)[1], USD[0.00]

08073187                              NFT (477695331206127586/SBF Hair & Signature #3 #128)[1]

08073203                              SOL[10.83603263]                                                                                                                                                               Yes

08073205                              BTC[.00110629], ETH[.00312628], ETHW[.00312628], SHIB[180701.12034694], USD[0.00]

08073217                              CUSDT[1], NFT (297836800068383315/AI-generated landscape #116)[1], NFT (495505151425640004/AI-generated landscape #142)[1], USD[0.00]                                          Yes

08073223       Contingent, Disputed   NFT (357562863602041885/SBF Hair & Signature #3 #130)[1], NFT (383081973318063209/SBF Hair & Signature #1 #143)[1]

08073226                              SOL[0.00000001], USD[0.23]

08073230                              NFT (337196273737202683/Happy Sun #10)[1], NFT (364584889319101138/Ape Art #811)[1], NFT (386489358304612328/Ape Art #569)[1], NFT (426749307215030648/Ape Art #786)[1], NFT
                                      (458301096882908571/Happy Sun #13)[1], NFT (550246530582088579/Ape Art #602)[1], NFT (566264873367772648/Happy Sun #2)[1], USD[0.06]
08073231       Contingent, Disputed   GRT[0.01354407], SHIB[.04658575], USD[0.39]                                                                                                                                    Yes

08073246                              BRZ[1], CUSDT[8], NFT (384650465054179374/#006)[1], NFT (476903714034166591/#002)[1], NFT (512727373057474399/Dream Land #16)[1], TRX[1], USD[0.00]                            Yes

08073247                              ETHW[34.55695361], USD[2.01]

08073251                              SHIB[1], TRX[1], USD[0.01]                                                                                                                                                     Yes

08073272                              NFT (299138952833791638/CRYPTOMEN LIMITED)[1], NFT (423248798925012383/Holy Jay)[1], USD[0.00]

08073278                              USD[9630.04]

08073283                              DAI[0], ETH[0], SHIB[2], USD[0.00]                                                                                                                                             Yes

08073288                              AVAX[0], BTC[0], ETH[0], MATIC[0], USD[655.97]

08073291                              CUSDT[1], KSHIB[900.40965037], USD[0.01]                                                                                                                                       Yes

08073295                              SHIB[0]

08073311                              BAT[1], BTC[.00000064], DOGE[1], ETH[.37665269], ETHW[1.48669496], GRT[1], SHIB[3], TRX[3], USD[0.00]                                                                          Yes

08073312                              BTC[0.00051541], CUSDT[4], ETH[.01022205], ETHW[.01022205], SOL[.40555151], USD[0.00]

08073321                              USD[0.00]

08073326                              ETH[0], ETHW[0], USD[0.00]                                                                                                                                                     Yes

08073329                              ETH[0], ETHW[0], SUSHI[0], USD[0.00]                                                                                                                                           Yes

08073331                              USD[24.07]

08073337                              BTC[.0014971], SOL[4.00113397], USD[12.76]

08073339                              USD[0.00], USDT[49.75521498]

08073348       Contingent, Disputed   BTC[.00000088], ETH[.00001209], ETHW[.00001209], SHIB[1], SOL[.00024454], USD[0.00], USDT[0]                                                                                   Yes

08073350                              SOL[27.18676939], USD[834.21]

08073351                              NFT (289639258298703964/Women Art#18)[1], NFT (299566763078069121/Women Art#1)[1], NFT (321215935024311461/AmongUS#6)[1], NFT (324961143758858706/AmongUS#5)[1], NFT
                                      (330687755627685396/AmongUS#11)[1], NFT (333158121687912155/Women Art#8)[1], NFT (340463281038541941/Women Art#24)[1], NFT (346003477586090634/Women Art#10)[1], NFT
                                      (347103158046421412/AmongUS#7)[1], NFT (348037048894830516/Women Art#22)[1], NFT (349996307693312808/Women Art#3)[1], NFT (363347718708614501/AmongUS#1)[1], NFT
                                      (368345517762214715/AmongUS#9)[1], NFT (372185369430404700/AmongUS#10)[1], NFT (374512704236308535/Women Art#7)[1], NFT (383138937525442563/art#3)[1], NFT
                                      (411835113241786973/AmongUS#8)[1], NFT (418187515704030755/Women Art#20)[1], NFT (420526175891077844/Women Art#23)[1], NFT (434655117354433099/Women Art#9)[1], NFT
                                      (435885601373911139/AmongUS#3)[1], NFT (436826537737679634/Women Art#14)[1], NFT (458751712023205030/Women Art#16)[1], NFT (467605375309498325/Women Art#4)[1], NFT
                                      (471472767511116180/Women Art#17)[1], NFT (496758661014586814/Women Art#21)[1], NFT (499244073747344896/Women Art#13)[1], NFT (510632572869518832/Women Art#11)[1], NFT
                                      (513152090057761310/Women Art#2)[1], NFT (523607276533630980/Women Art#12)[1], NFT (524456231201547363/AmongUS#2)[1], NFT (551382558792968256/AmongUS#4)[1], NFT
                                      (558665869149037141/Women Art#19)[1], NFT (573191026748295698/Women Art#6)[1], NFT (575208582680043272/Women Art#5)[1], SOL[.09455283], USDT[0.00000149]
08073353                              USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08073362                           USD[0.02]                                                                                                                                                                                    Yes

08073370                           ETH[.024], ETHW[.024]

08073387                           TRX[2], USD[0.00]

08073391                           USD[41.18]                                                                                                                                                                                   Yes

08073408                           SOL[.00004908], USD[2.04]

08073410                           BTC[0], ETHW[.00032349], USD[25.04]

08073413                           GRT[4.0653156], USD[0.00]

08073418                           LTC[3.61244204], USD[0.00], USDT[0]

08073422                           NFT (301862481147685791/Humble Wabbit 038)[1], NFT (311032613712391008/Humble Wabbit 034)[1], NFT (319495344324612046/Humble Wabbit 036)[1], NFT (345634472716758727/Happy Guys
                                   005)[1], NFT (367359738924596427/Humble Wabbit 035)[1], NFT (387058091524064120/Happy Together 012)[1], NFT (434628760846647117/Happy Guys 009)[1], NFT (485700057942002664/Humble
                                   Wabbit 040)[1], NFT (492900112645357026/Humble Wabbit 022)[1], NFT (494124712884359904/Humble Wabbit 037)[1], NFT (510918556641262939/Happy Guys 010)[1], NFT
                                   (529496287434712138/Humble Wabbit 039)[1], NFT (537120564208053109/Humble Wabbit 021)[1], NFT (537958764437759568/Happy Guys 008)[1], NFT (550226103479337288/Humble Wabbit
                                   041)[1], NFT (555001411494018598/Happy Guys 003)[1], NFT (565758124243140005/Humble Wabbit 042)[1], USD[0.00], USDT[0]
08073423                           AVAX[6.14053316], BRZ[1], BTC[.00000059], CUSDT[8], ETHW[.13318942], GRT[132.65495998], MATIC[121.33216033], NFT (513374218277147964/Pirate #3052)[1], SHIB[6], TRX[3], USD[0.00]  Yes

08073427                           SHIB[0], USD[0.00]

08073430                           SOL[.02046744], USD[0.00]

08073433                           DOGE[6], MATIC[1.33239678], SHIB[4], SOL[0], TRX[3], USD[0.00], USDT[0.00000916]                                                                                                             Yes

08073444                           USD[0.44]

08073455                           NFT (550436632296097067/SBF Hair & Signature #1 #145)[1]

08073456                           CUSDT[3], DOGE[20.88763098], ETH[.01167289], ETHW[.01152241], SHIB[38415.2510193], SOL[1.08819513], TRX[1], USD[3.27]                                                                        Yes

08073461                           USD[0.00]

08073465                           MATIC[121.89744696], SHIB[1], TRX[1], USD[25.18]                                                                                                                                             Yes

08073473                           USD[0.00]                                                                                                                                                                                    Yes

08073476                           BTC[0], ETH[0.07692601], ETHW[0.07692601], USD[0.00]

08073491                           CUSDT[2], SHIB[1], USD[15.66]                                                                                                                                                                Yes

08073494                           NFT (395811581125849783/Boston Bruins)[1], NFT (543797607933910819/Seattle Kraken)[1], SHIB[194552.52918287], USD[1.67]

08073496                           USD[0.00]

08073498                           BCH[.30029176], BTC[.00179351], CUSDT[460.45808943], DOGE[341.93396707], ETH[.00723578], ETHW[1.58791598], GRT[124.53874498], KSHIB[718.96618414], LTC[1.04437817],                          Yes
                                   MKR[.01186771], SHIB[2996846.2302325], SUSHI[14.75906724], TRX[1], USD[0.07], USDT[31.41877979], WBTC[.0009866]
08073501                           BRZ[1], BTC[.61809679], CUSDT[1], DOGE[1], ETH[1.10777333], ETHW[1.10735284], GRT[1], SHIB[3], SOL[22.36541548], TRX[3], USD[0.01], USDT[1.0622396]                                          Yes

08073505                           CUSDT[2], SHIB[4333383.97179878], TRX[1114.57923856], USD[204.87]                                                                                                                            Yes

08073508                           CUSDT[1], USD[0.00], USDT[1.02303291]                                                                                                                                                        Yes

08073511                           BTC[0.00014514], ETH[0], ETHW[0], SOL[0], USD[0.00], USDT[5.35800461]

08073515                           SOL[.02618644], USD[0.86]

08073520                           BRZ[.00055222], CUSDT[.00468525], DOGE[58.49263806], GRT[6.89023262], KSHIB[215.34601025], MATIC[2.25614505], SHIB[131258.41879457], TRX[108.58842033], USD[0.00]                            Yes

08073528                           BTC[0], ETH[0], SOL[0], USD[0.00], USDT[0.00008720]                                                                                                                                          Yes

08073531                           USD[240.37]

08073538                           BTC[.00544789], CUSDT[4], LINK[14.62797126], SHIB[1], SOL[.18748828], TRX[2], USD[0.00], USDT[42.61318788]                                                                                   Yes

08073540                           USD[0.01]

08073543                           USD[2.34]

08073548                           CUSDT[248.33226259], DOGE[40.21131332], SHIB[1936847.79513786], TRX[93.20735168], USD[0.00]                                                                                                  Yes

08073561                           DOGE[1], SHIB[1], TRX[1], USD[0.00]                                                                                                                                                          Yes

08073563                           LTC[0], NFT (289465229713987862/Power Girl #4)[1], NFT (289824328577748243/Portrait Easy #8)[1], NFT (292720815135696947/Bice Sketch Tattoo #13)[1], NFT (297218732488207826/Nespace
                                   Album #82)[1], NFT (299302267949027435/Top Dark Anime Pic Opensea rare #3)[1], NFT (309680739816417524/Caelum Series #69)[1], NFT (311002543911710768/SickintheGulliver Collection
                                   #69)[1], NFT (313158040483314518/Caelum Series #68)[1], NFT (313861898710124376/Caelum Series #66)[1], NFT (315658930629869086/Nespace Album #75)[1], NFT (319907132174089197/NBA
                                   #14)[1], NFT (320100620311155971/Caelum Series #109)[1], NFT (322805615935767705/Fiures serie #4)[1], NFT (325773417550463624/Pokemon #2)[1], NFT (334170469424289344/Pokemon #6)[1],
                                   NFT (334361412026977610/Fiures serie)[1], NFT (336766247069557044/Top Dark Anime Pic Opensea rare #11)[1], NFT (337094511035688353/SickintheGulliver Collection #10)[1], NFT
                                   (337887521750016603/Caelum Series #65)[1], NFT (338490669495488464/SickintheGulliver Collection #68)[1], NFT (343571304450009914/Portrait Easy #9)[1], NFT (344533951731897778/NBA
                                   #9)[1], NFT (346859872520143284/Fiures serie #3)[1], NFT (351934092354756817/SickintheGulliver Collection #64)[1], NFT (355974632403699098/NBA #2)[1], NFT (359461170377286103/Power
                                   Girl)[1], NFT (362943132353679207/Portrait Easy #12)[1], NFT (367589123202187827/Nespace Album #80)[1], NFT (368391299303661244/Caelum Series #67)[1], NFT (374511500860412998/Bice
                                   Sketch Tattoo #16)[1], NFT (374965449160379457/SickintheGulliver Collection #59)[1], NFT (379172000926471537/NBA #12)[1], NFT (379273475746570137/SickintheGulliver Collection #9)[1], NFT
                                   (380401464450087032/Portrait Easy #10)[1], NFT (383177110862224763/Bice Sketch Tattoo #14)[1], NFT (383745638683848361/Top Dark Anime Pic Opensea rare #2)[1], NFT
                                   (386143231427110847/NBA #7)[1], NFT (390092339933303997/Pokemon #7)[1], NFT (395651539677221139/Pokemon #5)[1], NFT (397479519611264562/SickintheGulliver Collection #65)[1], NFT
                                   (408107666559715864/Fiures serie #2)[1], NFT (419289960383253901/Caelum Series #111)[1], NFT (427088660033649329/Portrait Easy)[1], NFT (430729048924960713/NBA #8)[1], NFT
                                   (436691727165165674/Bice Sketch Tattoo #11)[1], NFT (439721845370803064/Nespace Album #48)[1], NFT (444441177439253538/SickintheGulliver Collection #6)[1], NFT
                                   (456217899625848662/Caelum Series #64)[1], NFT (471304038635233133/Power Girl #5)[1], NFT (472763945854262948/Bice Sketch Tattoo #12)[1], NFT (474125944466526685/Caelum Series
                                   #61)[1], NFT (474374208210052786/Fiures serie #5)[1], NFT (475885504738166374/Top Dark Anime Pic Opensea rare #5)[1], NFT (476109492874996817/Pokemon)[1], NFT
                                   (476902572583715324/SickintheGulliver Collection #4)[1], NFT (479053924968286728/SickintheGulliver Collection #61)[1], NFT (479368326485530567/NBA #11)[1], NFT (488888219156630480/Top
                                   Dark Anime Pic Opensea rare #6)[1], NFT (491841282396646761/Bice Sketch Tattoo #9)[1], NFT (492287655135276297/Caelum Series #58)[1], NFT (495713444837039725/NBA #13)[1], NFT
                                   (496309464453108947/Caelum Series #108)[1], NFT (500149561641144487/Power Girl #3)[1], NFT (500515519877618402/Pokemon #8)[1], NFT (500800784246923566/NBA #6)[1], NFT
                                   (502401550203886559/Power Girl #2)[1], NFT (504575987947042115/Pokemon #3)[1], NFT (505968681907746759/Top Dark Anime Pic Opensea rare)[1], NFT (508161926560236460/Caelum Series
                                   #110)[1], NFT (521540877339947242/Pokemon #4)[1], NFT (523101629290159556/NBA #3)[1], NFT (533146251476726969/SickintheGulliver Collection #14)[1], NFT (535884439893442126/Horse
                                   Number)[1], NFT (536040466717763706/SickintheGulliver Collection #67)[1], NFT (539237579901806310/Portrait Easy #11)[1], NFT (543124476109899855/NBA)[1], NFT
                                   (543812945129211349/SickintheGulliver Collection #70)[1], NFT (543913342533085937/Top Dark Anime Pic Opensea rare #10)[1], NFT (544748171116703470/NBA #5)[1], NFT
                                   (547989826288087212/Caelum Series #57)[1], NFT (550139909169754859/Portrait Easy #2)[1], NFT (551559433606644301/NBA #10)[1], NFT (555667755201332584/NBA #4)[1], NFT
                                   (559929219758451280/SickintheGulliver Collection #63)[1], NFT (562012524162573044/Top Dark Anime Pic Opensea rare #9)[1], NFT (569542110150588942/SickintheGulliver Collection #8)[1], NFT
                                   (572313864955941014/SickintheGulliver Collection #66)[1], NFT (575441178784803725/Top Dark Anime Pic Opensea rare #8)[1], USD[0.03], USDT[0]


08073564                           USD[541.81]                                                                                                                                                                                  Yes
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                                                                                                                                         Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08073565                           CUSDT[1], NFT (486501208565478126/Overlapping Color Circls)[1], USD[0.01]

08073578                           AAVE[0.00802000], SOL[1.09141759], USD[106.49], YFI[.025]

08073592                           USD[2.49]                                                                                                                                                                        Yes

08073593                           BCH[.06755693], SHIB[27973.82827318], USD[0.74], USDT[0]                                                                                                                         Yes

08073594                           SOL[4.539], USD[1.80]

08073605                           BTC[0], ETH[.00024], ETHW[.00024], USD[0.00], USDT[0]

08073607                           DOGE[1], SHIB[3], USD[0.01]                                                                                                                                                      Yes

08073608                           BTC[.000006], USD[0.00]

08073609                           SOL[.02468979], USD[0.01]

08073618                           BTC[0], SOL[.00747312]

08073628                           BAT[.00000999], BRZ[2], CUSDT[6], DOGE[3], SOL[7.97487671], TRX[4], USD[0.00]                                                                                                    Yes

08073629                           USD[4.95]

08073633                           BTC[0], ETH[0], SOL[0], USD[0.00], USDT[.009886]

08073639                           BF_POINT[100]

08073640                           ETH[.012987], ETHW[.012987], KSHIB[0], USD[3.10]

08073645                           ETH[.122], ETHW[.122], MATIC[150], SOL[2.55], USD[700.64]

08073647                           CUSDT[1], ETH[.39566882], ETHW[.39550276], USD[0.00]                                                                                                                             Yes

08073648                           BAT[1], BRZ[2], LTC[.00014861], SHIB[57.04727476], SOL[.00014265], USD[0.00]                                                                                                     Yes

08073653                           SHIB[5789600], USD[1971.97]

08073676                           CUSDT[1], SOL[1.91648456], USD[0.00]

08073680                           SOL[.062546]

08073684                           CUSDT[1], ETH[.44353323], ETHW[.44334693], USD[0.00]                                                                                                                             Yes

08073690                           USD[0.00]

08073692                           BTC[0.02512079], USD[0.00], USDT[0.00017695]

08073693                           USD[0.01]                                                                                                                                                                        Yes

08073694                           SOL[.08508979]

08073701                           BTC[.08855384], ETH[1.20134490], ETHW[1.20134490], SOL[3.77339035], USD[3362.75]

08073718                           DOGE[1], ETH[0], GRT[17.99605539], SHIB[1], TRX[0], USD[0.00]                                                                                                                    Yes

08073721                           ETHW[.996], SHIB[5000000], USD[1.63]

08073723                           SHIB[1], SOL[.9552104], USD[0.00]

08073725                           CUSDT[1], DOGE[1], USD[0.00]

08073727                           CUSDT[10], ETH[.01338127], ETHW[.01321711], KSHIB[.00001392], LTC[.06212154], TRX[2], USD[0.01], USDT[0.00484883], YFI[.0004903]                                                 Yes

08073734                           CUSDT[1.01250072], TRX[191.23159264], USD[31.34]                                                                                                                                 Yes

08073742                           ETH[1.28316802], ETHW[1.27416802], LTC[0], MATIC[0], USD[0.52], USDT[0]

08073743                           USD[0.00]

08073750                           KSHIB[781.00714025], SHIB[2], USD[0.00]                                                                                                                                          Yes

08073751                           SHIB[9838237.36685697], TRX[1], USD[0.01]                                                                                                                                        Yes

08073755                           ETH[.0000464], ETHW[5.08134311], USD[7.01]                                                                                                                                       Yes

08073762                           ETH[0], SOL[.04885508], USD[0.00]

08073763                           USD[0.00], USDT[0]

08073764                           CUSDT[1], ETH[0.00176371], ETHW[0.00173635], NFT (338826748466582023/#199)[1], SHIB[3], SUSHI[.00004786], USD[0.00], USDT[0.00000913]                                            Yes

08073768                           BTC[.17072988], DOGE[1], SHIB[2], SOL[85.94553619], TRX[2], USD[1821.69]                                                                                                         Yes

08073769                           BF_POINT[100], BRZ[1], CUSDT[3], SHIB[2], TRX[2], USD[0.00]                                                                                                                      Yes

08073778                           TRX[.406], USD[0.02]

08073779                           CUSDT[3], KSHIB[450.1638056], TRX[225.56961515], USD[0.00], YFI[.00072863]

08073789                           BTC[0], CUSDT[6], DOGE[18.56506763], SHIB[3], SOL[1.31651663], TRX[2], USD[0.00]                                                                                                 Yes

08073791                           USD[2.58], USDT[0]

08073793                           SOL[.35022257], USD[10.40]                                                                                                                                                       Yes

08073802                           BAT[0], DAI[0.00000001], DOGE[0.00103218], GRT[0.01710344], LTC[0], NFT (414809291911837094/Elysian - #623)[1], SHIB[10.17302868], SOL[0], TRX[2.00003967], USD[0.01], USDT[0]

08073804                           BTC[.3528468], USD[42.03]

08073808                           BF_POINT[1400]

08073810                           CUSDT[1], MATIC[5.49961227], USD[0.00]

08073811                           USD[0.00]

08073814                           BTC[.0198838], DOGE[753.994], ETH[.054537], ETHW[.054537], GRT[499.857], KSHIB[21387.48], LINK[13.0748], LTC[1.01872], SHIB[31926200], SOL[1.5765], SUSHI[72.9765], USD[0.96]

08073815                           ETH[.00000156], ETHW[0.00000155]                                                                                                                                                 Yes

08073833                           SOL[1], USD[0.10]

08073838                           DOGE[5], ETH[0], ETHW[0.20049998], SHIB[2], TRX[2], USD[0.00]                                                                                                                    Yes

08073840                           BTC[.0001038], USD[0.00]                                                                                                                                                         Yes
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                                                                                                                   Nonpriority     06/27/23
                                                                                                                               Unsecured           Page 953 of 1384
                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08073843                           BRZ[1], SOL[4.46140928], USD[0.00]                                                                                                                                                    Yes

08073850                           BTC[0.00310539], CUSDT[17], DAI[.00002205], DOGE[1], SOL[1.70421466], TRX[2], USD[0.07]

08073852                           SOL[.00000001]

08073856                           BRZ[1], USD[0.00]

08073858                           CUSDT[6], DOGE[2], TRX[2], USD[0.00]                                                                                                                                                  Yes

08073861                           TRX[1], USD[0.00]                                                                                                                                                                     Yes

08073865                           BTC[.00099899]

08073869                           CUSDT[5], DOGE[6819.91736041], SHIB[14081033.63018808], TRX[1], USD[0.00]                                                                                                             Yes

08073870                           ALGO[46.4652966], BRZ[2], DOGE[1], GRT[222.55579661], KSHIB[1577.44464483], NEAR[23.07300056], SHIB[5711383.75476533], SOL[1.48959277], SUSHI[12.99473074], TRX[796.2922301],         Yes
                                   USD[12.22], USDT[0]
08073871                           SGD[0.00], USD[0.00]

08073876                           BRZ[1], CUSDT[1], SOL[1.12312909], TRX[1], USD[0.58]                                                                                                                                  Yes

08073878                           NFT (311813039261801307/Romeo #219)[1], NFT (396790985820710494/Good Boy #356)[1], NFT (482972329597611791/Romeo #207)[1]

08073890                           SOL[.44]

08073891                           USD[0.48]                                                                                                                                                                             Yes

08073892                           USD[50.00]

08073899                           BTC[0], USD[3.11]                                                                                                                                                                     Yes

08073900                           SHIB[192745.11714945], TRX[1], USD[0.00]                                                                                                                                              Yes

08073909                           SHIB[916590.28414299]

08073914                           SOL[16.70203119]                                                                                                                                                                      Yes

08073915                           NFT (323840646066171835/Lovely Dogs)[1], NFT (334441295044628590/Gold Standard Bot)[1], NFT (362459198058227306/Crypto Bot)[1], NFT (368950257965800384/Bench under a tree)[1], NFT
                                   (442399547791290701/Memories)[1], NFT (442829890362590074/Buildings by the water)[1], NFT (537616231719770879/Gorgeous Garden)[1]
08073920                           CUSDT[1], TRX[497.01129352], USD[0.00]                                                                                                                                                Yes

08073930                           USD[19.99]

08073934                           CUSDT[4], DOGE[574.61601656], SHIB[5123522.64488775], TRX[987.0278938], USD[54.87]                                                                                                    Yes

08073940                           CUSDT[2], SHIB[947.37556561], USD[47.88]

08073948                           AAVE[4.15737629], BAT[1], DOGE[1], SHIB[9054690.32959072], SOL[4.12568639], TRX[1], USD[0.00]

08073954                           SOL[.02], USD[0.18]

08073980                           ETH[0], MATIC[0], USD[0.00]

08073982                           SOL[.00417926], USD[0.36]                                                                                                                                                             Yes

08073984                           CUSDT[1], SHIB[4], TRX[1], USD[0.01]

08073987                           SOL[.45119021], USD[0.40]

08073992                           BTC[.01138228], USD[1207.85]
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                                                                                                                                    Unsecured           Page 954 of 1384
                                                                                                                                              Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08073995                              NFT (288284731779143532/Idlekids #3299)[1], NFT (289074330598813781/Idlekids #1797)[1], NFT (289298959010219598/Idlekids #6433)[1], NFT (289486465455870024/Idlekids #5429)[1], NFT
                                      (290031867425136878/LootKids #4252)[1], NFT (290073477232202810/Idlekids #5964)[1], NFT (290207499061739028/LootKids #8170)[1], NFT (290535645317703252/LootKids #8041)[1], NFT
                                      (290554282012530779/Idlekids #9424)[1], NFT (290728104104468114/Idlekids #6589)[1], NFT (290799840605285693/Idlekids #2719)[1], NFT (291602192291257962/LootKids #4056)[1], NFT
                                      (292099848921291365/Idlekids #1893)[1], NFT (292666007415368368/Idlekids #2397)[1], NFT (292811414122924746/Idlekids #7675)[1], NFT (293370859781420344/Idlekids #6889)[1], NFT
                                      (293518877467739872/Idlekids #5523)[1], NFT (293725859509881161/LootKids #3495)[1], NFT (294310615675123607/Idlekids #2162)[1], NFT (294611123650975870/Idlekids #1021)[1], NFT
                                      (295286136132466113/Idlekids #7586)[1], NFT (295895631878481914/Idlekids #8371)[1], NFT (295920176708314754/Idlekids #576)[1], NFT (295938581078848379/Idlekids #6769)[1], NFT
                                      (296343893931615034/Idlekids #9735)[1], NFT (297253027136876834/LootKids #5032)[1], NFT (297386689798598518/Idlekids #8898)[1], NFT (297573024121305088/Idlekids #9036)[1], NFT
                                      (297809142906481689/Idlekids #5992)[1], NFT (298477322706070308/Idlekids #6250)[1], NFT (299109463382301192/Idlekids #2159)[1], NFT (299236786910243901/Idlekids #3243)[1], NFT
                                      (300328216310429656/Idlekids #2508)[1], NFT (300373599759240034/Idlekdis #7715)[1], NFT (301119594000072543/Idlekids #2555)[1], NFT (301320369119911979/Idlekids #3189)[1], NFT
                                      (301848166717378560/Idlekids #1932)[1], NFT (302711284449620923/Idlekids #5572)[1], NFT (302857156199480707/Idlekids #1640)[1], NFT (302973454257051877/LootKids #5476)[1], NFT
                                      (303769383558304555/LootKids #1594)[1], NFT (304548238891787408/Idlekids #8826)[1], NFT (304689579454479438/LootKids #8960)[1], NFT (305090505926634136/Idlekids #9370)[1], NFT
                                      (305172523053832562/Idlekids #6798)[1], NFT (306439714165231577/Idlekids #4897)[1], NFT (306967614154847046/Idlekids #2881)[1], NFT (307040562002922598/Idlekids #2170)[1], NFT
                                      (307900864208506063/Idlekids #508)[1], NFT (308137603365700714/Idlekids #4568)[1], NFT (308423358245159306/Idlekids #5020)[1], NFT (308823563304825419/Idlekids #2244)[1], NFT
                                      (309613539125390046/Idlekids #9000)[1], NFT (309934392362835753/Idlekids #4384)[1], NFT (310402805605423128/Idlekids #3810)[1], NFT (310427851670185782/Idlekids #1985)[1], NFT
                                      (311095777071132342/Idlekdis #4894)[1], NFT (311539823497330275/Idlekids #7067)[1], NFT (311723061954955908/Idlekids #2831)[1], NFT (312224881320376403/Idlekids #1909)[1], NFT
                                      (312238699172035756/Idlekids #4265)[1], NFT (312296229909992223/Idlekids #936)[1], NFT (312661559112309658/Idelkids #8235)[1], NFT (312677928737043956/Idlekids #8973)[1], NFT
                                      (314353943724465624/Idlekids #9662)[1], NFT (314701726614100360/LootKids #9508)[1], NFT (315005443494612152/Idlekids #7418)[1], NFT (315468712670970749/LootKids #2799)[1], NFT
                                      (316846334634242522/Idlekids #2543)[1], NFT (317441977685112548/LootKids #7207)[1], NFT (317442017630723939/Idlekids #1522)[1], NFT (317610922882592815/Idlekids #5701)[1], NFT
                                      (319128656807745083/Idlekids #1237)[1], NFT (319184435510818301/Idlekids #3669)[1], NFT (319209657407521969/Idlekids #2062)[1], NFT (319253475666727040/Idlekids #9413)[1], NFT
                                      (319399333848989618/Idlekids #5692)[1], NFT (319478055459575982/Idlekids #9771)[1], NFT (319880748482468369/Idlekids #2419)[1], NFT (320100073483539597/Idlekids #9176)[1], NFT
                                      (320358653252248922/Idlekids #5467)[1], NFT (320871468708830697/Idlekids #8899)[1], NFT (320876217824967598/LootKids #5252)[1], NFT (320997336166610774/Idlekids #4244)[1], NFT
                                      (321085551392785678/Idlekids #4636)[1], NFT (321589081424201721/Idlekids #1785)[1], NFT (322008616873338300/LootKids #2125)[1], NFT (322557012797267669/LootKids #4059)[1], NFT
                                      (322758843011686110/Idlekids #7072)[1], NFT (322791467380623566/Idlekids #8991)[1], NFT (323094121209819989/Idlekids #5043)[1], NFT (323291515913657957/Idlekids #3662)[1], NFT
                                      (324075883414620411/Idlekids #3292)[1], NFT (324468981104593950/Idlekids #5110)[1], NFT (325083782876909818/Idlekids #4264)[1], NFT (325662112524418063/Idlekids #3607)[1], NFT
                                      (326179911890323463/Idlekids #6911)[1], NFT (326285419252176079/LootKids #7995)[1], NFT (326410030512881527/Idlekiods #2588)[1], NFT (326445033552589950/Idlekids #4338)[1], NFT
                                      (327009113909265008/Idlekids #6429)[1], NFT (327055092012664773/LootKids #9939)[1], NFT (327350719754227691/Idlekids #8545)[1], NFT (327479442705311224/Idlekids #8470)[1], NFT
                                      (327936296702593729/Idlekids #9405)[1], NFT (328265824993212627/Idlekids #8635)[1], NFT (328810247891563751/LootKids #8492)[1], NFT (328835685360462262/Idlekids #6323)[1], NFT
                                      (328889846430111421/LootKids #8321)[1], NFT (328962687168922220/Idlekids #9692)[1], NFT (329063733586384182/Idlekids #8246)[1], NFT (329135636358997503/Idlekids #1328)[1], NFT
                                      (329289245584939083/Idlekids #8433)[1], NFT (329336954432737735/LootKids #8984)[1], NFT (329757906581454506/Idlekids #7840)[1], NFT (331236111445830471/Idlekids #3789)[1], NFT
                                      (331237279454157824/Idlekids #4859)[1], NFT (331831856887535171/LootKids #1498)[1], NFT (331896253710918408/Idlekids #5997)[1], NFT (331956670346137640/Idlekids #6692)[1], NFT
                                      (332108515771244545/LootKids #8412)[1], NFT (332375205146640403/Idlekids #3308)[1], NFT (332634836229922969/LootKids #9418)[1], NFT (332831837817793216/Idlekids #1439)[1], NFT
                                      (333255978789440448/Idlekids #9241)[1], NFT (333288071526078486/Idlekids #4989)[1], NFT (334001487574155298/Idlekids #803)[1], NFT (334168160478077184/Idlekids #6866)[1], NFT
                                      (335111145242999433/Idlekids #3814)[1], NFT (335129654159827581/LootKids #7963)[1], NFT (335312539839867520/Idlekids #9675)[1], NFT (335363814192125555/Idlekids #4986)[1], NFT
                                      (335584255713860279/Idlekids #2227)[1], NFT (335700710236303265/Idlekids #2858)[1], NFT (335742883929939048/Idlekids #1070)[1], NFT (336513039643145595/Idlekids #8577)[1], NFT
                                      (336537135808686148/Idlekids #7413)[1], NFT (336912055736356497/Idlekids #1772)[1], NFT (336932452559799479/Idlekids #8191)[1], NFT (336939384112009688/Idlekids #2948)[1], NFT
                                      (336943195273302464/Idlekids #9126)[1], NFT (337029397185078749/LootKids #5039)[1], NFT (338258778085087887/Idlekids #6630)[1], NFT (338657420347308473/Idlekids #1473)[1], NFT
                                      (340106624717243690/Idlekids #5175)[1], NFT (340498961940642319/Idlekids #9457)[1], NFT (340553235111024704/Idlekids #6124)[1], NFT (340884117857256372/Idlekids #2047)[1], NFT
                                      (341603795631594339/Idlekids #3017)[1], NFT (341897928611690047/Idlekids #5068)[1], NFT (341960833730257731/Idlekids #7032)[1], NFT (342231141739892590/Idlekids #5462)[1], NFT
                                      (342356981159259082/Idlekids #9935)[1], NFT (342482513740084949/Idlekids #1306)[1], NFT (342581248106911209/Idlekids #7359)[1], NFT (343318872126994412/Idlekids #6314)[1], NFT
                                      (343348249770062396/Idlekids #2226)[1], NFT (343541972542033834/Idlekids #7079)[1], NFT (343559182564776770/Idlekids #4554)[1], NFT (343659991076696331/Idlekids #6435)[1], NFT
                                      (344130006215405910/LootKids #871)[1], NFT (344253194368246641/Idlekids #8356)[1], NFT (345601922957909678/Idlekids #5053)[1], NFT (345638536487129620/LootKids #6478)[1], NFT
                                      (345888642798024927/Idlekdis #6063)[1], NFT (346105012300718320/LootKids #3420)[1], NFT (346689702691935195/Idlekids #6044)[1], NFT (347080794332722751/Idlekids #9702)[1], NFT
                                      (347139000943255546/Idlekids #4835)[1], NFT (347693120151958253/Idlekids #7376)[1], NFT (347727961439856963/LootKids #3035)[1], NFT (348605686709899441/Idlekids #5673)[1], NFT
                                      (349029293438135024/LootKids #8162)[1], NFT (349446646175418405/Idlekids #1407)[1], NFT (350037170147826123/Idlekids #8382)[1], NFT (350317664013571242/Idlekids #1149)[1], NFT
                                      (350363399917927031/LootKids #2788)[1], NFT (350943437542167069/Idlekids #789)[1], NFT (351783929589002039/Idlekids #711)[1], NFT (351793854398891052/LootKids #5624)[1], NFT
                                      (351966427429156554/Idlekids #9565)[1], NFT (352013368004251181/Idlekids #7097)[1], NFT (352620124252399190/Idlekids #6777)[1], NFT (352908242062230739/Idlekids #5984)[1], NFT
                                      (352939017196077208/Idlekids #1272)[1], NFT (354287989967229322/Idlekids #2136)[1], NFT (354303941910209218/Idlekids #9400)[1], NFT (354409442168288853/Idlekids #3625)[1], NFT
                                      (354481782286281381/Idlekids #9356)[1], NFT (355075322502920539/LootKids #1441)[1], NFT (355693350639805875/LootKids #9830)[1], NFT (355754910039519286/Idlekids #1663)[1], NFT
                                      (355864277200984657/Idlekids #9170)[1], NFT (356008438782969460/Idlekids #1144)[1], NFT (356058666805573614/Idlekids #8258)[1], NFT (356312471529926943/Idlekids #9080)[1], NFT
                                      (356410056811004054/Idlekids #9398)[1], NFT (356574222710618255/LootKids #3284)[1], NFT (357716886337425620/Idlekids #1039)[1], NFT (357720450825696796/Idlekids #1255)[1], NFT
                                      (358148297786185519/Idlekids #9394)[1], NFT (358370756107414335/Idlekids #7885)[1], NFT (358437738570105652/Idlekids #9310)[1], NFT (358685160897861494/LootKids #2756)[1], NFT
08073997       Contingent, Disputed   GBP[0.00], USD[0.00]

08074001                              SOL[.00957], USD[0.00], USDT[0.00000071]

08074002                              LINK[31.0074], MATIC[369.2], USD[79.59], USDT[0.00000001]

08074009                              BTC[.0087775], CUSDT[15], DOGE[1756.18168027], ETH[.17667549], ETHW[.17642594], GRT[152.10635489], MATIC[428.78477], SOL[4.31061142], TRX[5], USD[0.00]                               Yes

08074016                              USD[500.00]

08074017                              USD[25.00]

08074023                              USD[0.01]

08074025                              USD[0.07], USDT[0]                                                                                                                                                                    Yes

08074026                              SHIB[.02628336], USD[0.00]

08074028                              USD[3002.43]

08074030                              CUSDT[2], USD[5.00]

08074032                              NFT (327068975747548382/FTX - Off The Grid Miami #4430)[1]

08074033                              DOGE[19.54543977], ETH[.00226222], ETHW[.00223486], SHIB[195060.9671249], TRX[1], USD[0.00]                                                                                           Yes

08074044                              ETHW[.130896], USD[1082.68], USDT[0]

08074048                              CUSDT[2], SOL[.15650788], USD[5.42]                                                                                                                                                   Yes

08074051                              CUSDT[1], DOGE[198.53044106], SHIB[1986999.63347705], TRX[1], USD[0.00]                                                                                                               Yes

08074052                              USD[0.40]

08074055                              USD[0.01]

08074062                              SHIB[1127055.81024151], USD[0.00]

08074066                              BTC[.00089742], DOGE[328.43087819], SHIB[1127266.88541881], USD[0.00]                                                                                                                 Yes

08074068                              CUSDT[1], SHIB[195980.02677289], TRX[92.1951251], USD[0.00]                                                                                                                           Yes

08074069                              TRX[91.67870051], USD[0.00]                                                                                                                                                           Yes

08074071                              BRZ[1], CUSDT[2], DOGE[1], SHIB[0], TRX[1], USD[0.00]                                                                                                                                 Yes

08074085                              BAT[55], BTC[.00008925], SUSHI[.486], USD[1.08]

08074091                              DOGE[1], USD[0.00]                                                                                                                                                                    Yes
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                                                                                                                                         Customer Claims                                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08074092                           ETHW[.87764634], MATIC[10.63317028], SOL[0.00000027], USD[0.00]

08074095                           CUSDT[1], DOGE[1], NFT (435267503068901352/Nifty Nanas #5958)[1], SOL[.00002495], USD[0.01]                                                                                                   Yes

08074097                           MATIC[0], SHIB[22678302.39252493], USD[0.00]                                                                                                                                                  Yes

08074100                           BAT[184.63185311], CUSDT[1], USD[0.00]                                                                                                                                                        Yes

08074104                           SOL[.02028915], USD[0.00]                                                                                                                                                                     Yes

08074105                           USD[0.22]

08074112                           BTC[.01986255], CUSDT[1], DOGE[1], ETH[.96077032], ETHW[.9603669], SOL[15.07647085], TRX[1], USD[0.22], USDT[1.07891291]                                                                      Yes

08074115                           BRZ[1], BTC[0.00000005], CUSDT[13], DOGE[1.00069702], MATIC[.00010523], TRX[3.00170625], USD[0.86]                                                                                            Yes

08074118                           BTC[0], DOGE[0], SUSHI[.14641322], UNI[0], USD[0.00], USDT[0]

08074131                           SHIB[541320.82280765], USD[20.02]

08074143                           CUSDT[2], SHIB[123640.87360383], TRX[1], USD[0.00]                                                                                                                                            Yes

08074155                           TRX[77], USD[1769.19]

08074157                           MATIC[0], NFT (298375060967035357/The aggressor planet)[1], NFT (300008157006354863/Crypto Witch ETH #2)[1], NFT (349304862864207703/Good vibes #9)[1], NFT (376810620265171902/New
                                   reeds are growing #2)[1], NFT (390693773371751121/Planet of parallel worlds)[1], NFT (394417876038796733/Reed #2)[1], NFT (434864731222308048/Australia Ticket Stub #2139)[1], NFT
                                   (438876555911312578/Crypto Witch BTC #2)[1], NFT (470015831831494804/Forest belt at sunset #2)[1], NFT (470273862190900724/Series 1: Capitals #1107)[1], NFT (477113472347815998/Forest
                                   belt near the dry lake #2)[1], NFT (481786195202855151/The planet is the key to power)[1], NFT (507623712829356011/Ethereum to the moon)[1], NFT (525674322709997441/The dried-up bottom of
                                   the lake #2)[1], NFT (540869007050552220/Sky high #2)[1], USD[0.00]
08074166                           USD[1.01]

08074176                           USD[27.09]                                                                                                                                                                                    Yes

08074180                           CUSDT[1], KSHIB[450.06567477], USD[0.00]

08074189                           USD[100.00]

08074190                           USD[0.00]

08074198                           CUSDT[4.99996213], DOGE[0.00001186], ETH[.00846871], ETHW[.00835927], USD[0.00]                                                                                                               Yes

08074213                           USD[3.20]

08074216                           BAT[.00048408], CUSDT[3], DOGE[3], MATIC[.00861567], SOL[.00022158], TRX[2], USD[0.00]                                                                                                        Yes

08074231                           BTC[0], USD[0.00]

08074234                           BRZ[1], ETHW[.12038951], SHIB[1], SOL[3.98297128], USD[0.00]                                                                                                                                  Yes

08074237                           BTC[.00145415], CUSDT[6], DOGE[95.65206732], ETH[.02047685], ETHW[.02047685], SHIB[920137.01080184], SOL[1.17056881], USD[0.03]

08074244                           NFT (462479584289612660/Austin Ticket Stub #136)[1], SOL[.00000001], USD[0.09]                                                                                                                Yes

08074247                           USD[0.00], USDT[.0976054]

08074253                           USD[0.00]                                                                                                                                                                                     Yes

08074255                           USD[0.00]

08074256                           USD[0.00]

08074257                           CUSDT[3], USD[0.00]                                                                                                                                                                           Yes

08074260                           CUSDT[5], ETH[.00000001], ETHW[0], SHIB[6.88607992], TRX[2], USD[0.00]                                                                                                                        Yes

08074269                           DOGE[10], SHIB[600000], USD[0.14]

08074277                           USD[108.36]                                                                                                                                                                                   Yes

08074281                           USD[10.70]

08074282                           USD[0.00]

08074283                           TRX[4334.25469038]                                                                                                                                                                            Yes

08074286                           BTC[0], CUSDT[4], DOGE[0], ETH[.00000001], ETHW[0], SOL[0], SUSHI[16.72952639], TRX[1], USD[0.00], USDT[0.00000002]                                                                           Yes

08074293                           CUSDT[1], ETH[.00112986], ETHW[.00111618], SHIB[995005.36558809], USD[0.01]                                                                                                                   Yes

08074299                           USD[10916.01]                                                                                                                                                                                 Yes

08074307                           ETH[.000981], ETHW[.000981], GRT[6.98860000], MATIC[39.962], SHIB[98290], SOL[0], USD[0.12], USDT[0]

08074308                           USD[150.00]

08074312                           BTC[.00000003], CUSDT[2], USD[0.01]                                                                                                                                                           Yes

08074314                           USD[10.84]                                                                                                                                                                                    Yes

08074315                           USD[0.01]                                                                                                                                                                                     Yes

08074320                           BTC[.01654982], CUSDT[6], ETH[.15428369], ETHW[.1535526], SHIB[51], SOL[2.1821012], TRX[3], USD[0.00]                                                                                         Yes

08074325                           BCH[0], BTC[0.00000002], DOGE[1], TRX[1]                                                                                                                                                      Yes

08074326                           BAT[3], BRZ[2], CUSDT[1], DOGE[2], GRT[1], SHIB[.00000017], SOL[.00000001], TRX[5], USD[0.00], USDT[0]                                                                                        Yes

08074330                           USD[0.01]                                                                                                                                                                                     Yes

08074333                           ALGO[68], AVAX[64.8], BTC[0], DOGE[83], SHIB[6100000], SOL[44.83], USD[30.20]

08074335                           CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                                   Yes

08074336                           USD[1.25]

08074338                           SOL[0.15813030], USD[0.00]

08074340                           BCH[.00009164]                                                                                                                                                                                Yes

08074342                           BRZ[1], CUSDT[2], DOGE[4], SHIB[1], SOL[.19551791], USD[212.71], USDT[0]                                                                                                                      Yes

08074348                           ETH[0], MATIC[0], SOL[0], USD[0.00]

08074350                           DOGE[1], SOL[1.59329125], USD[0.07]                                                                                                                                                           Yes
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                                                                                                                                         Customer Claims                                                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08074358                           CUSDT[1], TRX[462.6382227], USD[0.01]                                                                                                                                                          Yes

08074365                           SOL[.50199], USD[0.54]

08074367                           USD[0.00]

08074369                           BTC[0], CUSDT[4], SHIB[1], TRX[2], USD[0.00]                                                                                                                                                   Yes

08074374                           CUSDT[2458.36907977], DOGE[1], SHIB[4665484.04386893], TRX[1], USD[0.00]                                                                                                                       Yes

08074377                           USD[25.00], USDT[4.97353215]

08074382                           BTC[0], USD[0.36]

08074387                           CUSDT[5], DOGE[2], GRT[1], SOL[152.82971104], TRX[5], USD[0.00], USDT[1]

08074392                           DOGE[1], SHIB[7], SOL[2.55440434], USD[0.00]

08074401                           AAVE[.00001866], AVAX[.00004665], BRZ[1], CUSDT[1], DOGE[3], MATIC[0], SHIB[5], USD[0.00]                                                                                                      Yes

08074402                           BTC[.00002989], ETH[.00041984], ETHW[.00041984], USD[6.50]                                                                                                                                     Yes

08074411                           BAT[2.73089095], BCH[.00758429], BTC[.00007484], LTC[.01211487], MATIC[1.76943195], TRX[8.62627736], USD[0.00]                                                                                 Yes

08074413                           BTC[.019688], DOGE[581], ETH[.016], ETHW[.016], GRT[13], LINK[1.7], SHIB[2000000], SOL[5.33933], SUSHI[.5], USD[0.03]

08074414                           BTC[.00000035], CUSDT[5], DOGE[7.02516832], ETH[.00000326], ETHW[.35736107], SHIB[3], TRX[4], USD[1361.77], USDT[0]                                                                            Yes

08074423                           CUSDT[4], DOGE[68.26275392], KSHIB[36.46792135], MKR[.00067347], SHIB[18186.95146768], SOL[2.14637485], TRX[18.67425146], UNI[.07632931], USD[0.01]                                            Yes

08074426                           BRZ[4], CUSDT[10], ETH[0], NFT (297628265574203387/3D SOLDIER #3253)[1], SHIB[0], SOL[.51283551], TRX[1], USD[0.00]                                                                            Yes

08074428                           USD[1048.45]                                                                                                                                                                                   Yes

08074433                           NFT (299654849170297943/The Orient #6)[1], NFT (301115181080944706/Ethereum Blockchain Collection #Purple Chain)[1], NFT (324856239694465114/Ethereum Future Collection #Blue Edition)[1],
                                   NFT (325771639348937457/Ethereum Blockchain Collection #Gray Chain)[1], NFT (328100853132772826/Ethereum Blockchain Collection #Yellow Chain)[1], NFT (336324158741751657/Ethereum
                                   Blockchain Collection #Violet Chain)[1], NFT (338515456372321949/The Orient #5)[1], NFT (342823454794297972/The Orient #10)[1], NFT (350292172266190734/the thought)[1], NFT
                                   (358996570928758364/Ethereum Blockchain Collection #Red Chain)[1], NFT (376550607023766773/Ethereum Future Collection #Purple Edition)[1], NFT (383604591594655221/Ethereum Future
                                   Collection #Red Edition)[1], NFT (413474607547643394/Ethereum Future Collection #Yellow Edition)[1], NFT (433062308307738321/The Orient #9)[1], NFT (445542777064534818/The way upwards)[1],
                                   NFT (447770107189640949/The Orient #3)[1], NFT (456864389176606881/The Orient #7)[1], NFT (461843268211426235/Ethereum Blockchain Collection #Green Chain)[1], NFT
                                   (462029672727035071/The Orient #2)[1], NFT (486056393791310490/The Orient #4)[1], NFT (488199083967228866/Ethereum Future Collection #Green Edition)[1], NFT (503996923214754272/The
                                   Orient)[1], NFT (513900371909796791/The Orient #8)[1], NFT (522172760393822356/The depth)[1], NFT (541675930665100980/Twisted world)[1], SOL[0.25206596], USD[39.37]

08074437                           BTC[0.00032596], SHIB[0], USD[0.00], USDT[0.00000002]

08074438                           USD[10.84]                                                                                                                                                                                     Yes

08074442                           BCH[.03091111], CUSDT[6], ETH[.00921857], ETHW[.00910913], LTC[.08132642], PAXG[.01172567], SHIB[980946.74715755], SOL[.22378835], USD[0.01]                                                   Yes

08074443                           USD[1.74]                                                                                                                                                                                      Yes

08074449                           TRX[171.44503927]                                                                                                                                                                              Yes

08074455                           BCH[.05118483], CUSDT[4], DOGE[1], SHIB[4], TRX[1], USD[0.00], USDT[0]                                                                                                                         Yes

08074464                           MATIC[50], SOL[.45], TRX[11.60943735], USD[0.00], USDT[0]

08074465                           USD[120.00]

08074477                           BTC[.00151491], USD[0.00]

08074485                           ETHW[.2013294], USD[34.00]

08074487                           USDT[0]

08074492                           BAT[1], BTC[.01216115], CUSDT[1], ETH[.15213907], ETHW[.15213907], USD[0.00]

08074497                           DOGE[1], SOL[22.18907789], USD[59.04]                                                                                                                                                          Yes

08074503                           AUD[0.00], ETH[.01028375], ETHW[.01028375], NFT (344966416315041673/Clint Eastwilly)[1], NFT (435817342380160257/Beddy Tears #49)[1], NFT (470643351135545771/Beddy Tears #8)[1], NFT
                                   (473031510420168821/Beddy Tears #50)[1], NFT (510653351272208683/Beddy Tears #47)[1], NFT (564046932461218626/Beddy Tears #46)[1], NFT (573851890049326540/Beddy Tears #7)[1],
                                   USD[0.00]
08074509                           NFT (306256347630189952/Divinity - DevNet)[1], NFT (483180707691467003/1957 Family Sedan)[1], NFT (539703483089275625/NS Dino 4)[1], SOL[.009995], USD[9.38]

08074510                           USD[0.00]

08074511                           CUSDT[18], SHIB[1130438.19551797], TRX[104.93355508], USD[0.00]                                                                                                                                Yes

08074512                           BTC[.00000766], USD[0.66]                                                                                                                                                                      Yes

08074521                           BTC[.0044], ETH[.123], ETHW[.123], LTC[2.44], SOL[2.56], USDT[0.51753956]

08074522                           USD[0.00], USDT[0]

08074525                           BAT[3], BRZ[5], DOGE[16], GRT[4], MATIC[1], SHIB[18], TRX[5.015881], USD[397.55], USDT[0]

08074533                           SOL[.21175987]

08074542                           KSHIB[90.81817366], USD[5.26]                                                                                                                                                                  Yes

08074546                           NFT (344695865398397387/Miami Grand Prix 2022 - ID: 8A2B85DC)[1]

08074550                           CUSDT[1], SHIB[2413927.57660167], USD[0.02]

08074552                           USD[2.12]

08074557                           BTC[.0025974], USD[3.04]

08074567                           CUSDT[1], SHIB[1], TRX[2], USD[389.36]                                                                                                                                                         Yes

08074573                           SOL[2.08791], USD[4.36]

08074577                           CUSDT[1], USD[21.84]                                                                                                                                                                           Yes

08074586                           CUSDT[1], DAI[4.97352785], DOGE[18.90529994], SHIB[190804.28181644], TRX[87.10098819], USD[21.70]

08074589                           SOL[2.31441133], TRX[1], USD[0.00]                                                                                                                                                             Yes

08074594                           USDT[1000]

08074597                           CUSDT[1], SHIB[8289768.60955922], USD[0.00]                                                                                                                                                    Yes

08074606                           USD[30.00]
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                                                                                                                                            Customer Claims                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08074615                              USD[0.01]

08074628                              BAT[1], BRZ[1], CUSDT[2], USD[0.00], USDT[1]

08074636                              BAT[1.0152845], BTC[.0000002], CUSDT[1], USD[0.00]                                                                                                                            Yes

08074639                              BAT[1], BTC[.00844463], CUSDT[3], DOGE[1], ETH[.08952533], ETHW[0.08848427], SOL[2.36805281], TRX[2], USD[0.00]                                                               Yes

08074641                              USD[1.08]                                                                                                                                                                     Yes

08074644                              USD[0.01]                                                                                                                                                                     Yes

08074648                              USD[0.01]

08074651                              BTC[.0043], DOGE[208.80145], ETH[.18093445], ETHW[.18093445], SOL[4.5277485], USD[1.73]

08074659                              USD[0.01]

08074663                              USD[0.00]

08074665                              CUSDT[2], DOGE[1], TRX[2], USD[0.00]

08074669                              CUSDT[1], DOGE[1], SHIB[8006767.04029936], USD[0.00]                                                                                                                          Yes

08074678                              USD[1.32]                                                                                                                                                                     Yes

08074691                              USD[0.01]

08074697                              BAT[1], ETH[.06335577], ETHW[.06335577], SOL[.00000087], USD[0.00]

08074699                              BRZ[1], USD[0.01]                                                                                                                                                             Yes

08074704                              BRZ[1], DOGE[2], USD[0.00]                                                                                                                                                    Yes

08074709                              BCH[.05648927], BRZ[1], CUSDT[11], DOGE[1], LINK[.00000009], TRX[1], USD[0.00]                                                                                                Yes

08074712                              ALGO[0], BTC[0], DOGE[0], MATIC[0], SHIB[0], SOL[0], TRX[0]

08074714                              ETH[.00000001], TRX[1], USD[0.00], USDT[1]

08074716                              CUSDT[1], NFT (303285758394992178/#4899)[1], NFT (309527751788113909/#5971)[1], NFT (312350483921551608/#1932)[1], NFT (313816016809412776/#4136)[1], NFT                      Yes
                                      (318252507510661696/Gloom Punk #5525)[1], NFT (323040124323781431/#4035)[1], NFT (323522245107906408/Gloom Punk #7774)[1], NFT (334394509043185963/GalaxyKoalas # 306)[1], NFT
                                      (337262780750805888/#5080)[1], NFT (339413388974530695/DOTB #8762)[1], NFT (362206311642000302/DOTB #8196)[1], NFT (367590221834299487/#6249)[1], NFT (368397226725498740/DOTB
                                      #2714)[1], NFT (380228636166603577/DOTB #4734)[1], NFT (387700206020599631/DOTB #1529)[1], NFT (388360249886266107/#4797)[1], NFT (406621133874162453/DOTB #618)[1], NFT
                                      (406649921259354526/DOTB #6280)[1], NFT (410061095029152140/DOTB #783)[1], NFT (410604174129170033/DOTB #2720)[1], NFT (429937335021145248/DOTB #3934)[1], NFT
                                      (442382744771858856/DOTB #1441)[1], NFT (444902865195126516/DOTB #8299)[1], NFT (456598384658272512/Monk #7280)[1], NFT (463033398605767409/Panda Fraternity #729)[1], NFT
                                      (466221650768250201/Gloom Punk #8127)[1], NFT (471960659719491405/Gloom Punk #5273)[1], NFT (483490538244320428/DOTB #552)[1], NFT (494469099573417026/Gloom Punk #8621)[1],
                                      NFT (495804085175962501/DOTB #1658)[1], NFT (501289752814843122/DOTB #1411)[1], NFT (502353111040151265/DOTB #4899)[1], NFT (503106914520888338/Geraldine1045)[1], NFT
                                      (509590515484221512/#2650)[1], NFT (511136677094805836/GalaxyKoalas # 215)[1], NFT (528035200954738855/DOTB #4440)[1], NFT (561725207709810751/DOTB #7704)[1], SHIB[10],
                                      SOL[.77539414], USD[0.46]
08074731                              NFT (565846164620280283/Coachella x FTX Weekend 2 #8369)[1]                                                                                                                    Yes

08074733                              BAT[1], BRZ[1], CUSDT[1], DOGE[1], SHIB[.00000002], TRX[1.08792375], USD[579.12]                                                                                              Yes

08074740                              USD[0.00]                                                                                                                                                                     Yes

08074742                              NFT (399633859731866923/Coachella x FTX Weekend 2 #21154)[1]

08074744                              CUSDT[1], NFT (563371785300587632/Doak Walker's Playbook: Cleveland Brown vs. Detroit Lions - December 27, 1953 #103)[1], TRX[1], USD[0.84]                                   Yes

08074746                              USD[0.00], USDT[.85]

08074756                              BTC[.00030534], CUSDT[5], ETH[.00443605], ETHW[.00438133], SHIB[1], SOL[.06535788], USD[0.01]                                                                                 Yes

08074757                              SHIB[1625638.27070343], USD[0.00]                                                                                                                                             Yes

08074773                              USD[2000.00]

08074776                              USD[0.00]

08074779                              USD[0.00]

08074791                              CUSDT[1], SOL[.22629839], USD[104.19]                                                                                                                                         Yes

08074792                              USD[0.00], USDT[0.00000025]

08074828                              CUSDT[2], DOGE[2], TRX[1], USD[0.00]                                                                                                                                          Yes

08074837                              DOGE[1], SHIB[14275392.57744186], TRX[2], USD[0.00]                                                                                                                           Yes

08074842                              CUSDT[1], USD[0.00]                                                                                                                                                           Yes

08074858                              USD[3.33]

08074863       Contingent, Disputed   TRX[.000003], USDT[0.00000200]
West Realm Shires Services Inc.                                                    Case 22-11068-JTD      Doc F-3:
                                                                                               Amended Schedule 1754      Filed
                                                                                                                   Nonpriority     06/27/23
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                                                                                                                                         Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08074873                           BCH[0], NFT (295529638083024786/Avatars #24)[1], NFT (298159130889010708/Avatars #399)[1], NFT (306431774337560666/Black and white #22)[1], NFT (317763963625927454/Black and white
                                   #13)[1], NFT (318090131021922604/Avatars #405)[1], NFT (318316712302214961/Avatars)[1], NFT (320021742141083918/Avatars #376)[1], NFT (322681411608322758/Avatars #340)[1], NFT
                                   (322931753447468223/Art ape #11)[1], NFT (324854991390545888/Avatars #394)[1], NFT (326152801133252708/Live iberd #6)[1], NFT (328207704217731545/Avatars #38)[1], NFT
                                   (328304215471430486/Avatars #364)[1], NFT (329092830637979114/Avatars #404)[1], NFT (333553655503458195/Avatars #328)[1], NFT (338498927380113782/PSG #2)[1], NFT
                                   (338733214718220082/Avatars #400)[1], NFT (339346573426949720/Avatars #398)[1], NFT (339415482200127600/Avatars #330)[1], NFT (339652718558394767/Avatars #59)[1], NFT
                                   (341870960076319116/Avatars #14)[1], NFT (342877412649267468/Art ape #9)[1], NFT (342965483234994664/Avatars #347)[1], NFT (348283835612670400/Art ape #16)[1], NFT
                                   (349916947841062328/Avatars #408)[1], NFT (350729398474070987/Avatars #386)[1], NFT (351851704127380621/Avatars #402)[1], NFT (352951640503804014/Avatars #342)[1], NFT
                                   (355591650691234881/Avatars #34)[1], NFT (357010272739927232/Black and white #18)[1], NFT (358172856498294832/Art ape #10)[1], NFT (359727627359684345/Avatars #395)[1], NFT
                                   (361471177021485944/Avatars #337)[1], NFT (368110078453528087/Avatars #360)[1], NFT (368313306936678065/Art ape #19)[1], NFT (376592115612904538/Avatars #356)[1], NFT
                                   (381269792319995173/Avatars #393)[1], NFT (382121395038687490/City art #14)[1], NFT (390676647346472005/Cr iberd #14)[1], NFT (391985648274411808/Avatars #17)[1], NFT
                                   (392557514432038822/Avatars #410)[1], NFT (394222648860827167/Black and white #23)[1], NFT (394684362893353396/Z art #3)[1], NFT (396151047428527923/Avatars #387)[1], NFT
                                   (398024572508568562/Avatars #397)[1], NFT (409418614324326461/Avatars #327)[1], NFT (411824831559357741/City art #13)[1], NFT (412023159064574367/Black and white #17)[1], NFT
                                   (413654404874989791/Avatars #388)[1], NFT (415642798309787466/Black and white #16)[1], NFT (416228390115000270/Z art #5)[1], NFT (417766974289395113/Avatars #126)[1], NFT
                                   (422306649834716516/criptoelka iberd11)[1], NFT (423440425499720118/Art ape #17)[1], NFT (423533641338193621/Z art #4)[1], NFT (424423347025397473/Black and white #11)[1], NFT
                                   (429103434373815199/Avatars #371)[1], NFT (429330378340733091/Avatars #409)[1], NFT (432130807399262784/Art ape #20)[1], NFT (432299200796160205/ little girl iberd #3)[1], NFT
                                   (432895840264902696/Avatars #380)[1], NFT (438295716006232765/Avatars #396)[1], NFT (438337713493043549/Avatars #19)[1], NFT (439304376268845821/Avatars #350)[1], NFT
                                   (440463858601574905/Avatars #129)[1], NFT (446660081354455215/Avatars #22)[1], NFT (448173704214948910/Avatars #401)[1], NFT (452764775315471194/Avatars #406)[1], NFT
                                   (454117527177587794/Avatars #20)[1], NFT (454821716142015126/Avatars #331)[1], NFT (455517799682822781/Black and white #21)[1], NFT (457607824980537142/Avatars #15)[1], NFT
                                   (457975301852170731/Avatars #368)[1], NFT (459548452552897650/Avatars #23)[1], NFT (460458978516075172/Live iberd #5)[1], NFT (464726282772270173/Avatars #346)[1], NFT
                                   (466448353773395019/Avatars #335)[1], NFT (466993768195086923/Avatars #378)[1], NFT (469096888288091331/Avatars #39)[1], NFT (469641225616714438/Avatars #411)[1], NFT
                                   (470828461745090191/Avatars #390)[1], NFT (475006298868368217/Avatars #349)[1], NFT (477915308491839081/criptoelka iberd12)[1], NFT (480288456511326221/Avatars #354)[1], NFT
                                   (481230870946311299/Avatars #379)[1], NFT (481270204770511341/Z art #6)[1], NFT (483437645367724338/Avatars #3)[1], NFT (485953026691339009/Avatars #332)[1], NFT
                                   (487656087879630930/Avatars #348)[1], NFT (488496065603433646/Avatars #407)[1], NFT (488578387212225517/Avatars #392)[1], NFT (489218241977974142/Black and white #24)[1], NFT
                                   (493396893774224585/Avatars #389)[1], NFT (504697573890811133/Avatars #391)[1], NFT (504891351189327651/Avatars #361)[1], NFT (508985801234747862/Z art #2)[1], NFT
                                   (513951956504572347/Black and white #19)[1], NFT (518726152898420018/Black and white #20)[1], NFT (519984055701558442/Art ape #18)[1], NFT (524452104750452139/Avatars #370)[1], NFT
                                   (525024365259282563/Avatars #48)[1], NFT (527919047858967532/Avatars #372)[1], NFT (529131309390308249/Avatars #18)[1], NFT (531921582311386890/Bavaria #2)[1], NFT
                                   (531992420826334723/Avatars #21)[1], NFT (533294219726225851/Avatars #367)[1], NFT (537905409379818201/Avatars #334)[1], NFT (540813790142397043/Avatars #403)[1], NFT
                                   (542697058400331254/Avatars #355)[1], NFT (545452389582585198/Live iberd #4)[1], NFT (550821036192520981/Z art)[1], NFT (551159346622332796/Avatars #373)[1], NFT
                                   (552154222540344931/Live iberd #2)[1], NFT (553039111588603590/Art ape #8)[1], NFT (553706102566603228/Avatars #333)[1], NFT (553915304291300657/Avatars #191)[1], NFT
                                   (555288677470993235/Avatars #338)[1], NFT (555735877765292828/Avatars #4)[1], NFT (559731286188533307/Avatars #125)[1], NFT (565055370482377112/Avatars #362)[1], NFT
                                   (567398624020666480/Avatars #16)[1], NFT (570325473766684971/Avatars #384)[1], NFT (571778327129111115/Bavaria)[1], NFT (572809047872968316/Avatars #297)[1], NFT
                                   (573962754253796935/Avatars #139)[1], NFT (574764252038249122/Avatars #5)[1], NFT (574776017238402664/Avatars #353)[1], SOL[0.17400000], TRX[.000001], USD[0.00], USDT[0]
08074874                           BCH[.00000297], BTC[.0000017], CAD[0.00], DOGE[.49806953], ETH[.00012153], ETHW[.00012153], KSHIB[.22112632], LTC[.000034], PAXG[.0000012], SHIB[50.19871205], SOL[.00040499],         Yes
                                   TRX[.20200812], USD[0.03]
08074877                           USD[0.00]

08074882                           TRX[1844.653], USD[0.51]

08074884                           USD[8.67]                                                                                                                                                                              Yes

08074890                           USD[0.15]

08074897                           ETH[.048], ETHW[.048], SOL[.41000001], USD[0.07]

08074900                           USD[4.06]

08074904                           TRX[92.3352967], USD[16.25]                                                                                                                                                            Yes

08074915                           USD[1000.00]
West Realm Shires Services Inc.                                                    Case 22-11068-JTD      Doc F-3:
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                                                                                                                                         Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08074930                           NFT (289066706811848208/Momentum #251)[1], NFT (289219201976102403/CryptoFabula #138)[1], NFT (289471869459942451/Momentum #748)[1], NFT (290501341606630984/Momentum
                                   #592)[1], NFT (290526798163666934/CryptoFabula #242)[1], NFT (290795131095158575/FractumPunk #29)[1], NFT (291189960464399722/CryptoFabula #279)[1], NFT
                                   (291212346103699326/CryptoFabula #341)[1], NFT (291505953537276463/CryptoFabula #108)[1], NFT (292238756618886191/Momentum #762)[1], NFT (292382904362329026/CryptoFabula #287)[1],
                                   NFT (292819050618676392/CryptoFabula #248)[1], NFT (293130688602084785/CryptoFabula #153)[1], NFT (293360349681009652/FractumPunk #103)[1], NFT (293636014254453888/CryptoFabula
                                   #334)[1], NFT (293737763352336778/CryptoFabula #369)[1], NFT (294055271684326964/CryptoFabula #137)[1], NFT (294057682822248154/Momentum #313)[1], NFT
                                   (294448944750717966/FractumPunk #98)[1], NFT (294895101815847769/Momentum #603)[1], NFT (295431831491222967/CryptoFabula #322)[1], NFT (295470345740383437/CryptoFabula #302)[1],
                                   NFT (295699795334972592/FractumPunk #156)[1], NFT (296265687085257094/FractumPunk #71)[1], NFT (296275745869153909/FractumPunk #158)[1], NFT (296548525853763254/CryptoFabula
                                   #74)[1], NFT (296712818802518224/CryptoFabula #114)[1], NFT (296884176671643709/Momentum #253)[1], NFT (297345106720980354/Momentum #589)[1], NFT
                                   (298134563075207399/CryptoFabula #235)[1], NFT (298194047307819048/FractumPunk #152)[1], NFT (298995479804432466/Momentum #607)[1], NFT (299034291149473556/CryptoFabula #329)[1],
                                   NFT (299344611144391985/Momentum #423)[1], NFT (300283837788389282/Momentum #263)[1], NFT (300658322757352173/FractumPunk #140)[1], NFT (301811429489979099/Momentum #27)[1],
                                   NFT (301971159069069266/Momentum #510)[1], NFT (302165261933124727/CryptoFabula #110)[1], NFT (302278680896676699/CryptoFabula #317)[1], NFT (302317644840082960/CryptoFabula
                                   #64)[1], NFT (302539013931901650/Momentum #529)[1], NFT (302965904647832794/CryptoFabula #276)[1], NFT (303398939164903188/FractumPunk #28)[1], NFT
                                   (304904544791460700/CryptoFabula #180)[1], NFT (305081397709470981/FractumPunk #185)[1], NFT (305125596055147285/CryptoFabula #261)[1], NFT (305139786498197799/FractumPunk
                                   #58)[1], NFT (305987506277619524/CryptoFabula #363)[1], NFT (306403098301016564/CryptoFabula #102)[1], NFT (306549136735798087/CryptoFabula #299)[1], NFT
                                   (306886935487682284/CryptoFabula #240)[1], NFT (307052182051285109/CryptoFabula #82)[1], NFT (307934902014372716/CryptoFabula #151)[1], NFT (308060473483289119/FractumPunk
                                   #191)[1], NFT (308289912233626970/Momentum #160)[1], NFT (308543569619127982/Momentum #356)[1], NFT (308601567665510447/CryptoFabula #142)[1], NFT
                                   (308625806537781911/Momentum #627)[1], NFT (309091364749714875/Momentum #611)[1], NFT (309309512354685398/Momentum #152)[1], NFT (309487754065804566/Sarozuth #2)[1], NFT
                                   (309582201170258246/FractumPunk #77)[1], NFT (309731101412964402/Dean Winchester)[1], NFT (310048399447504884/CryptoFabula #127)[1], NFT (310468019698022462/FractumPunk #145)[1],
                                   NFT (311088389372369947/CryptoFabula #193)[1], NFT (312322307201296408/CryptoFabula #162 #2)[1], NFT (312363790958767837/Momentum #342)[1], NFT (312478177953823287/CryptoFabula
                                   #315)[1], NFT (312749328753718911/CryptoFabula #4)[1], NFT (313000541968584890/Momentum #621)[1], NFT (313063772234588030/Dazeken #5)[1], NFT (314025692808380895/CryptoFabula
                                   #206)[1], NFT (314648897285508219/Momentum #727)[1], NFT (314716122589928858/Momentum #133)[1], NFT (315402228084895072/CryptoFabula #31)[1], NFT
                                   (315789736283367987/CryptoFabula #229)[1], NFT (316953585980041513/Momentum #323)[1], NFT (317127465826672467/FractumPunk #83)[1], NFT (317182423484200513/CryptoFabula #300)[1],
                                   NFT (317201066502978890/Momentum #516)[1], NFT (317412816187137678/CryptoFabula #352)[1], NFT (317984512530921695/CryptoFabula #350)[1], NFT (318203899859376839/Cristiano
                                   Ronaldo)[1], NFT (318366415662100806/Momentum #728)[1], NFT (318556368479967546/FractumPunk #115)[1], NFT (319230685613103397/CryptoFabula #70)[1], NFT
                                   (319713570857605014/Momentum #324)[1], NFT (320931855038202724/Momentum #145)[1], NFT (321131857869443518/CryptoFabula #146)[1], NFT (321529273006547699/FractumPunk #141)[1],
                                   NFT (321725297312722959/CryptoFabula #301)[1], NFT (322837521990728470/FractumPunk #105)[1], NFT (323212819720599460/CryptoFabula #285)[1], NFT (323308992525516692/2Pac
                                   Shakur)[1], NFT (323545886381205787/CryptoFabula #297)[1], NFT (323738062983712416/CryptoFabula #196)[1], NFT (323844295722359234/Liam Neeson)[1], NFT
                                   (324710044496303426/CryptoFabula #44)[1], NFT (325086077509781100/CryptoFabula #257)[1], NFT (325119867003799087/Momentum #185)[1], NFT (325435915466917919/CryptoFabula #28)[1],
                                   NFT (326313835784674729/Momentum #115)[1], NFT (326496245012853986/CryptoFabula #62)[1], NFT (327001811469060190/Momentum #168)[1], NFT (327206301402808099/CryptoFabula
                                   #140)[1], NFT (327278403712796417/Momentum #237)[1], NFT (327318514367697528/FractumPunk #175)[1], NFT (328182539639198915/FractumPunk #78)[1], NFT (328534477297289626/Alexandra
                                   Daddario )[1], NFT (328608356811663829/FractumPunk #68)[1], NFT (328827121097688704/Momentum #767)[1], NFT (329764094418915832/CryptoFabula #45)[1], NFT
                                   (330601372694828354/CryptoFabula #191)[1], NFT (331029243900830287/FractumPunk #69)[1], NFT (333411846405346454/CryptoFabula #118)[1], NFT (333495771887013963/CryptoFabula
                                   #260)[1], NFT (333550929858327482/CryptoFabula #254)[1], NFT (334214950629144811/CryptoFabula #308)[1], NFT (335264815308924597/Momentum #316)[1], NFT
                                   (335549203485172134/CryptoFabula #85)[1], NFT (335791621480533823/Momentum #850)[1], NFT (336061526722740087/Momentum #206)[1], NFT (336289272439614001/FractumPunk #7)[1], NFT
                                   (336741099341130345/CryptoFabula #38)[1], NFT (336743124612631513/CryptoFabula #268)[1], NFT (337323241571790863/FractumPunk #31)[1], NFT (338071362282695928/CryptoFabula #33)[1],
                                   NFT (338105371266598940/CryptoFabula #106)[1], NFT (338461006109008864/CryptoFabula #343)[1], NFT (338671104049859851/Momentum #234)[1], NFT (339128615719206529/FractumPunk
                                   #116)[1], NFT (339380927422385958/CryptoFabula #65)[1], NFT (339675456088087914/Momentum #119)[1], NFT (340121841569196378/FractumPunk #25)[1], NFT (340125004947997458/Momentum
                                   #131)[1], NFT (340128149045753381/FractumPunk #164)[1], NFT (340649602320768763/FractumPunk #119)[1], NFT (340798085949203122/CryptoFabula #159)[1], NFT
                                   (341317207489833879/Momentum #129)[1], NFT (341340788139504548/FractumPunk #47)[1], NFT (341927067566247015/FractumPunk #146)[1], NFT (341955388258128645/Momentum #527)[1],
                                   NFT (342129403767946188/CryptoFabula #74 #2)[1], NFT (342257611067591544/Momentum #424)[1], NFT (342542055490944773/CryptoFabula #79)[1], NFT (344025180382101741/CryptoFabula
                                   #57)[1], NFT (344717609753692436/CryptoFabula #246)[1], NFT (344721114163216421/FractumPunk #76)[1], NFT (345181808418953500/CryptoFabula #136)[1], NFT
                                   (347280422720774653/CryptoFabula #292)[1], NFT (347934960497537260/CryptoFabula #288)[1], NFT (348380592290268871/CryptoFabula #325)[1], NFT (348493739158315345/FractumPunk
                                   #151)[1], NFT (348517246398316206/FractumPunk #30)[1], NFT (348637609103438244/CryptoFabula #251)[1], NFT (348703171281138689/Momentum #127)[1], NFT
                                   (348799125330286144/CryptoFabula #163)[1], NFT (349069688420954552/CryptoFabula #239)[1], NFT (349192358211795247/CryptoFabula #126)[1], NFT (349266127622612349/CryptoFabula
                                   #111)[1], NFT (349525283915313128/CryptoFabula #52)[1], NFT (349530084355009079/CryptoFabula #112)[1], NFT (349601504769178122/CryptoFabula #25)[1], NFT
                                   (349789498685752062/FractumPunk #81)[1], NFT (350307756557241561/Momentum #782)[1], NFT (352297363847950248/Momentum #220)[1], NFT (352306278073267251/CryptoFabula #192)[1],
                                   NFT (353397396002272517/CryptoFabula #185)[1], NFT (353447198120733193/CryptoFabula #230)[1], NFT (354046235607218849/Momentum #681)[1], NFT (354121161393431891/Momentum
                                   #677)[1], NFT (354584401837246376/FractumPunk #153)[1], NFT (354610562690509383/FractumPunk #80)[1], NFT (356966062229610027/CryptoFabula #145)[1], NFT
                                   (357111788309302677/Momentum #24)[1], NFT (357697478142598092/CryptoFabula #355)[1], NFT (358312734708751234/Momentum #172)[1], NFT (358818700665257509/FractumPunk #178)[1],
                                   NFT (359337718103914256/FractumPunk #113)[1], NFT (359670483351062394/Momentum #520)[1], NFT (359848713816297372/Momentum #59)[1], NFT (360366996877427656/CryptoFabula #96)[1],
                                   NFT (360499617604265617/Momentum #658)[1], NFT (360535815336329734/CryptoFabula #86)[1], NFT (360633496016710204/CryptoFabula #89)[1], NFT (360953151860048210/Momentum
08074940                           CUSDT[1], SHIB[2072839.64317545], USD[0.01]                                                                                                                                         Yes

08074944                           BTC[.00362624], TRX[1], USD[112.64]                                                                                                                                                Yes

08074945                           CUSDT[2], ETH[0.00000010], ETHW[0.00000010], TRX[550.04149977], USD[0.01]                                                                                                          Yes

08074950                           CUSDT[3], DOGE[1], GRT[49.84041157], MATIC[61.84194548], NFT (352044984056163349/Amalgam of colors #3)[1], SHIB[1016265.01145784], TRX[375.98624151], USD[0.00], USDT[0]           Yes

08074956                           KSHIB[2110], USD[0.16]

08074970                           BTC[0.00077884], DOGE[23.91770444], USD[0.00]

08074976                           AAVE[.009], AVAX[.0952], DOGE[.09], SHIB[98500], SOL[.00265], USD[474.38]

08074979                           BAT[.00117424], TRX[1], USD[0.00]                                                                                                                                                  Yes

08074985                           CUSDT[1], GRT[.00554523], SHIB[1], USD[39.21]                                                                                                                                      Yes

08075011                           SHIB[6237392.2759864], TRX[1], USD[0.01]                                                                                                                                           Yes

08075019                           USD[10.84]                                                                                                                                                                         Yes

08075020                           BAT[1], BTC[.0143732], ETH[.38426144], ETHW[.38409998], SHIB[2], USD[481.98]                                                                                                       Yes
West Realm Shires Services Inc.                                                      Case 22-11068-JTD      Doc F-3:
                                                                                                 Amended Schedule 1754      Filed
                                                                                                                     Nonpriority     06/27/23
                                                                                                                                 Unsecured           Page 960 of 1384
                                                                                                                                           Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or       Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08075021      Contingent, Disputed   AVAX[0], MATIC[0], NFT (289081670450672521/crypto barbarian #29)[1], NFT (289909231076206838/digital machine #16)[1], NFT (290941522975391876/avto #4)[1], NFT
                                     (292092634929749406/Zombi #6)[1], NFT (293166928190889618/Pixel Cat #26)[1], NFT (295002011987628595/Crypto Guardian #14)[1], NFT (295993596186834207/Сrypto Warrior #17)[1], NFT
                                     (297346170897346195/digital avatar #21)[1], NFT (297425302775177246/Zombi #3)[1], NFT (297996713390490117/Сrypto Warrior #16)[1], NFT (298948422889965739/doll #4)[1], NFT
                                     (301363605020928701/crypto barbarian #30)[1], NFT (301970817214464115/Pixel Cat #11)[1], NFT (302528491942262163/avto #2)[1], NFT (304799692500768551/digital cat #8)[1], NFT
                                     (305115196596060748/crypto barbarian #25)[1], NFT (305322143411396756/Crypto Guardian #15)[1], NFT (305633280922422499/Сrypto Warrior #24)[1], NFT (305763671616488474/pixel man #2)[1],
                                     NFT (305849400845960139/digital machine #23)[1], NFT (307271014611049893/Pixel Cat #22)[1], NFT (307803973873186279/digital cat #5)[1], NFT (317499175866645475/Crypto Guardian #9)[1],
                                     NFT (318780776083733058/Crypto Guardian #8)[1], NFT (320948796089053169/Cryptographic zombie #33)[1], NFT (324044850503042126/Сrypto Warrior #19)[1], NFT
                                     (324199243623767405/avatar)[1], NFT (324276746189228528/alien undead)[1], NFT (324597141921743875/crypto barbarian #12)[1], NFT (326984102487209002/Сrypto Warrior #22)[1], NFT
                                     (329159145857181814/crypto barbarian #2)[1], NFT (329373231376192559/Pixel Cat #23)[1], NFT (330676284937368704/Zombi #5)[1], NFT (331423425815941606/Cryptographic zombie #52)[1], NFT
                                     (331427493099950892/avto #6)[1], NFT (333852995110377300/Pixel Cat #24)[1], NFT (337836810389375211/avatar #2)[1], NFT (337938674586202211/Pixel Cat #18)[1], NFT
                                     (339637817570036049/Big monkey )[1], NFT (342195271830134689/Cryptographic zombie #51)[1], NFT (343557525079043134/Pixel Cat #14)[1], NFT (344479605836217961/photo NFT #10)[1], NFT
                                     (346442084886774429/digital cat #4)[1], NFT (346506437972457170/crypto barbarian #6)[1], NFT (346536687285440505/crypto barbarian #28)[1], NFT (347302018309974810/doll #2)[1], NFT
                                     (349103511671224615/pixel man #14)[1], NFT (349893811436102081/digital avatar #23)[1], NFT (350053560474521028/alien undead #20)[1], NFT (350386254059505809/Cryptographic zombie
                                     #21)[1], NFT (351809620522577556/Zombi #8)[1], NFT (353567231104952475/Crypto Guardian #6)[1], NFT (356653622742027516/cat #5)[1], NFT (356671738094365016/Crypto Guardian #2)[1], NFT
                                     (358536135862281007/Cryptographic zombie #35)[1], NFT (358865864635266442/photo NFT #6)[1], NFT (358929825511706602/crypto barbarian #7)[1], NFT (360224591047558505/crypto barbarian
                                     #11)[1], NFT (361296324665538828/digital avatar #10)[1], NFT (362939784106125339/Cryptographic zombie #26)[1], NFT (365661229336056325/crypto barbarian #3)[1], NFT
                                     (366039164403982005/doll #15)[1], NFT (366069906484449380/doll #13)[1], NFT (368620408684996414/Cryptographic zombie #44)[1], NFT (374225769029261384/herbarium)[1], NFT
                                     (378438362957201339/digital cat #7)[1], NFT (380182228276570038/digital avatar #16)[1], NFT (381312267376659522/digital avatar #20)[1], NFT (383824851770495984/digital avatar #18)[1], NFT
                                     (386276505726075071/alien undead #17)[1], NFT (388486831894800817/Crypto Guardian #10)[1], NFT (390700959776709218/crypto barbarian #10)[1], NFT (393366407993697578/doll)[1], NFT
                                     (395805088562788980/Pixel Cat #19)[1], NFT (396210264589123566/Cryptographic zombie #46)[1], NFT (397109598865241884/Сrypto Warrior #26)[1], NFT (397200336244511918/digital cat #3)[1],
                                     NFT (402183889419448336/Crypto Guardian #13)[1], NFT (402871299974080963/photo NFT #7)[1], NFT (403195030738034509/digital machine #19)[1], NFT (404352816454630129/Crypto Guardian
                                     #7)[1], NFT (404665632765577632/crypto barbarian #24)[1], NFT (407092417786171323/avto)[1], NFT (408914088579602501/alien undead #10)[1], NFT (411267110594339619/Crypto Guardian #3)[1],
                                     NFT (412603670400720041/avatar #5)[1], NFT (412822383712654489/crypto barbarian #8)[1], NFT (413300903997217310/alien undead #19)[1], NFT (413443112284195535/Big monkey #5)[1], NFT
                                     (414505801593583484/avto #5)[1], NFT (415035735923491883/Pixel Cat #21)[1], NFT (415970470864490218/ morning)[1], NFT (416075709172614494/avto #10)[1], NFT (417327248873160726/digital
                                     avatar #12)[1], NFT (417493715963936327/doll #14)[1], NFT (418316134356024079/photo NFT #3)[1], NFT (418859758232484364/doll #8)[1], NFT (421677252211590752/digital avatar #8)[1], NFT
                                     (422809850085029246/crypto barbarian #17)[1], NFT (422946254526143564/photo NFT #9)[1], NFT (423781463510606870/pixel man #3)[1], NFT (424481325503882750/photo NFT #8)[1], NFT
                                     (424833994783532082/pixel man #22)[1], NFT (425569341835898249/Pixel Cat #16)[1], NFT (425737248701041901/doll #11)[1], NFT (428559386707291477/crypto barbarian #18)[1], NFT
                                     (433475990180150319/Zombi)[1], NFT (436227450227657844/Crypto Guardian #12)[1], NFT (436352638575360511/digital cat #9)[1], NFT (437558521535886162/Сrypto Warrior #13)[1], NFT
                                     (440871534409068360/photo NFT)[1], NFT (442155275486219796/Zombi #4)[1], NFT (442347174510584970/avatar #6)[1], NFT (445832638794408974/Cryptographic zombie #54)[1], NFT
                                     (446450820867913816/Cryptographic zombie #27)[1], NFT (446685111462769865/Zombi #51)[1], NFT (447269922536657669/Big monkey #4)[1], NFT (451059107842686205/digital avatar #7)[1], NFT
                                     (453573478982309330/pixel man #11)[1], NFT (454980156997671363/herbarium #5)[1], NFT (456142149661164969/crypto barbarian #5)[1], NFT (458120865307417431/digital cat #10)[1], NFT
                                     (458168600298560296/pixel man #19)[1], NFT (458261677262858714/digital avatar)[1], NFT (459685817518488635/alien undead #16)[1], NFT (460558093203313486/Сrypto Warrior #14)[1], NFT
                                     (460763166566662069/Сrypto Warrior #21)[1], NFT (461129926398405927/crypto barbarian #15)[1], NFT (461656671469212844/crypto barbarian #20)[1], NFT (462429741813473134/digital cat
                                     #12)[1], NFT (463091781131154328/pixel man #16)[1], NFT (463182254840458680/digital machine #20)[1], NFT (465449640512608317/crypto barbarian #13)[1], NFT
                                     (468879628292665157/Cryptographic zombie #29)[1], NFT (469076695237754973/digital avatar #2)[1], NFT (471311586888905678/pixel man #6)[1], NFT (471367738485810715/pixel man #21)[1], NFT
                                     (471577072130106637/herbarium #4)[1], NFT (471804977576517508/avatar #4)[1], NFT (474755825995557823/digital cat #2)[1], NFT (476227452627681883/Pixel Cat #20)[1], NFT
                                     (478530212956302742/avto #8)[1], NFT (480382105462685555/Big monkey #8)[1], NFT (480443641830868822/Crypto Guardian #16)[1], NFT (481608487964422655/photo NFT #2)[1], NFT
                                     (482502243336496748/Big monkey #3)[1], NFT (483084288136794801/alien undead #2)[1], NFT (486700620932364619/herbarium #2)[1], NFT (487011559593028863/Cryptographic zombie #31)[1],
                                     NFT (487682738869314127/Pixel Cat #25)[1], NFT (491075272014912291/punishment)[1], NFT (495669754706476626/nude)[1], NFT (499555010972980069/crypto barbarian)[1], NFT
                                     (499841042286454387/crypto barbarian #19)[1], NFT (500849331172568195/photo NFT #5)[1], NFT (500883011362681369/crypto barbarian #4)[1], NFT (501380682236753171/crypto barbarian
                                     #16)[1], NFT (501975521928108125/crypto barbarian #23)[1], NFT (503591896642310740/pixel man #12)[1], NFT (504675465384125348/digital machine #14)[1], NFT (505625786376095188/Zombi
                                     #2)[1], NFT (506602490029167367/Cryptographic zombie #56)[1], NFT (506730196335321559/Crypto Guardian #5)[1], NFT (506926096307369103/Pixel Cat #3)[1], NFT (508371799093652549/alien
                                     undead #23)[1], NFT (510547683379816880/Cryptographic zombie #50)[1], NFT (514073553003121091/doll #12)[1], NFT (515843049252386473/Cryptographic zombie #36)[1], NFT
                                     (516934332623201180/crypto barbarian #26)[1], NFT (518782047180630615/crypto barbarian #27)[1], NFT (519228048211494419/Famous person #2)[1], NFT (520557935171635001/Сrypto Warrior
                                     #12)[1], NFT (521883897339631149/Pixel Cat #15)[1], NFT (522618855865124003/crypto barbarian #21)[1], NFT (524036874860963767/Cryptographic zombie #39)[1], NFT (524206119021624332/doll
                                     #5)[1], NFT (527458432966477023/avto #9)[1], NFT (528035622588237619/digital machine #21)[1], NFT (533302010015688709/digital avatar #3)[1], NFT (533555332911211816/digital machine
                                     #18)[1], NFT (533900385078190648/avatar #3)[1], NFT (533978235418629205/Big monkey #7)[1], NFT (534067090333918174/Big monkey #6)[1], NFT (534098897032708525/Cryptographic zombie
                                     #59)[1], NFT (534369987789785623/Zombi #9)[1], NFT (535577717131468075/Crypto Guardian #4)[1], NFT (537552215946441330/avto #12)[1], NFT (537915115780227893/Cryptographic zombie
                                     #37)[1], NFT (538362259805340462/avto #11)[1], NFT (539590369690969070/avto #7)[1], NFT (543285022291186180/doll #10)[1], NFT (544150329698856333/digital avatar #22)[1], NFT
                                     (544384497897710083/Crypto Guardian)[1], NFT (545457649448032770/Сhief)[1], NFT (546158213514005414/Zombi #10)[1], NFT (547043012126688560/crypto barbarian #22)[1], NFT
                                     (547433871510567249/digital avatar #4)[1], NFT (551039963130947857/crypto barbarian #9)[1], NFT (551471191469994563/doll #7)[1], NFT (553347385862889644/nude #2)[1], NFT
08075024                             BRZ[1], BTC[.01486009], CUSDT[3], GRT[1], LTC[.00126548], TRX[2], USD[0.45]                                                                                                                 Yes

08075028                             CUSDT[1], SHIB[1], TRX[1], USD[0.01]                                                                                                                                                       Yes

08075030                             TRX[2249.6848388]                                                                                                                                                                          Yes

08075031                             ETH[0.01301210], ETHW[0.01301210], USD[0.28]

08075044                             DOGE[23.37914711], USD[0.00]

08075047                             SOL[.00147224], USD[0.00]

08075051                             CUSDT[2], DOGE[79.20134688], ETH[.01130251], ETHW[.01116571], USD[0.01]                                                                                                                    Yes

08075055                             CUSDT[1], SOL[.041956], USD[0.00]

08075058                             BAT[0], BRZ[2], BTC[0], CUSDT[9], ETH[.00000001], GRT[1], MATIC[.00203083], SHIB[3], SOL[0], SUSHI[.00046063], UNI[0], USD[0.01], USDT[0.00024674]                                         Yes

08075062                             BTC[.0607], ETH[.459563], ETHW[.459563], SOL[7.384889], USD[5.12]

08075068                             ETH[0.00076042], ETHW[0.00076042], NFT (394939609329996321/Humpty Dumpty #555)[1], SOL[.00795561], USD[1.74]

08075070                             USD[8.08]

08075073                             CUSDT[2], DOGE[1], ETH[.01130649], ETHW[.01116969], USD[4.33]                                                                                                                              Yes

08075091                             ETHW[8.48749503], MATIC[451.38845931], SOL[0], USD[3.05]

08075093                             USDT[0.00000038]

08075096                             CUSDT[1], KSHIB[905.76969863], USD[0.00]                                                                                                                                                   Yes

08075097                             BAT[1], BRZ[1], CUSDT[10], DOGE[2], GRT[1], SHIB[3], SOL[.00000001], TRX[13.01480362], USD[0.00], USDT[1.06853864]                                                                         Yes

08075098                             USD[0.00]

08075100                             USD[100.00]

08075103                             CUSDT[1], DOGE[231.18116024], SHIB[909258.91891268], TRX[584.5818461], USD[0.00]                                                                                                           Yes

08075111                             USD[0.11]

08075122                             BTC[.0360639], DOGE[5784.21], ETH[3.743253], ETHW[3.743253], LINK[87.5124], USD[10.74]

08075127                             NFT (351987706214605935/PICTURE)[1], NFT (420479372302823717/ETH filled watches #3)[1], NFT (456328850746937320/ETH filled watches #1)[1], NFT (490149708550570689/ETH filled watches
                                     #4)[1], NFT (491085973151076722/myPicture #1)[1], NFT (528393354059384389/ETH filled watches #2)[1]
08075130                             USD[0.00]

08075132                             CUSDT[738.16073525], SHIB[1083222.37479486], USD[0.00]                                                                                                                                     Yes
West Realm Shires Services Inc.                                                    Case 22-11068-JTD      Doc F-3:
                                                                                               Amended Schedule 1754      Filed
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                                                                                                                                         Customer Claims                                                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08075138                           BRZ[4], BTC[0], CUSDT[60.52408803], DOGE[12.58891535], ETH[0], GRT[0], KSHIB[.84901697], LINK[0], MATIC[0], MKR[0], SHIB[408.832506], SOL[0], SUSHI[0.00002636], TRX[12.03314306],              Yes
                                   UNI[0.00004577], USD[0.21]
08075139                           SOL[.09991291]                                                                                                                                                                                  Yes

08075140                           BRZ[29.53043899], CUSDT[1], MATIC[29.56065992], SHIB[205630.73104576], SOL[.04470967], USD[0.01]                                                                                                Yes

08075157                           CUSDT[19], KSHIB[1.24658552], USD[0.00]

08075159                           BTC[.00014939], USD[0.00]

08075160                           NFT (572975655627798800/Coachella x FTX Weekend 2 #9595)[1]

08075167                           USD[200.00]

08075176                           CUSDT[4], DOGE[92.48875853], LINK[1.02039383], SHIB[1], SOL[.57469593], USD[0.00]                                                                                                               Yes

08075181                           BRZ[1], DOGE[2], GRT[1], SHIB[2], TRX[2], USD[0.00], USDT[0.81495488]                                                                                                                           Yes

08075183                           NFT (324979261020217217/SBF Hair & Signature #3 #133)[1], NFT (483354240829681147/SBF Hair & Signature #1 #147)[1]

08075184                           ETH[.00000001], ETHW[0]

08075186                           BTC[0], DAI[0], ETH[.0001858], ETHW[.0001858], EUR[104.90], SOL[0], USD[50.37], USDT[0]

08075190                           NFT (395247995840461893/SBF Hair & Signature #1 #148)[1], NFT (490050461379596340/SBF Hair & Signature #3 #134)[1]

08075192                           AAVE[.0197077], AVAX[.00042843], BAT[3.21093594], BRZ[11.43406384], BTC[.00371977], CUSDT[417.75719287], ETH[.00100916], ETHW[.60207591], GRT[620.8213089], LINK[29.27733099],                  Yes
                                   MATIC[1305.79348895], MKR[.01062523], SHIB[936371.87703293], SOL[.00038319], SUSHI[31.03574119], TRX[45.11481858], UNI[.1000172], USD[14.12]
08075201                           BAT[264.343], BTC[.0125887], DOGE[249.105], ETH[.181241], ETHW[.181241], MATIC[159.21], SOL[1.35433], USD[0.42], USDT[13.46337027]

08075209                           BTC[0.56460745], ETH[0], USD[0.00]

08075212                           BTC[0.02587539], DOGE[7563.52042384], ETH[.567], ETHW[.567], LINK[25.8], SHIB[86908360.2480022], SOL[6.03], USD[0.00]

08075226                           USD[0.00], USDT[0.00000153]

08075240                           TRX[766.000001]

08075251                           ETH[.00007348], ETHW[.00007348], SOL[0.00000026]

08075258                           CUSDT[1], DOGE[195.3592987], SHIB[988941.68598246], TRX[1], USD[0.00]                                                                                                                           Yes

08075262                           USD[0.00]

08075267                           CUSDT[1], SOL[.40690286], USD[0.00]

08075270                           USD[20.00]

08075285                           DOGE[1], TRX[2], USD[0.00]                                                                                                                                                                      Yes

08075290                           CUSDT[1], DOGE[1], SHIB[106.68985502], USD[0.00], USDT[0]                                                                                                                                       Yes

08075305                           KSHIB[46841.39130174], USD[0.01]

08075309                           NFT (303675368228193425/Humpty Dumpty #687)[1], NFT (421070097109513980/Barcelona Ticket Stub #960)[1], NFT (525376110167013647/Miami Ticket Stub #641)[1], SHIB[2], SOL[.00005518],            Yes
                                   USD[317.43]
08075316                           CUSDT[2], USD[21.46], USDT[0]                                                                                                                                                                   Yes

08075320                           NFT (538036409536503531/Coachella x FTX Weekend 2 #1357)[1]

08075322                           LTC[.0194681], SOL[.02126032], USD[0.00]                                                                                                                                                        Yes

08075337                           CUSDT[1], TRX[188.53031991], USD[0.00]                                                                                                                                                          Yes

08075339                           USD[0.01]

08075345                           DOGE[1], ETH[.00540525], ETHW[.00533685], SHIB[836817.29599069], TRX[.00012767], USD[0.00]                                                                                                      Yes

08075347                           USD[0.00]                                                                                                                                                                                       Yes

08075350                           BTC[0], USD[0.00]

08075359                           DOGE[1], SHIB[4], USD[0.00]

08075370                           USD[0.00], USDT[0.00000034]

08075373                           NFT (322519670048873066/Fishing before sunset )[1], NFT (370789439898426126/Crypto Bird #5)[1], NFT (383983581512259454/Crypto Bird #7)[1], NFT (411423131150998734/Way to Brightness
                                   and Success)[1], NFT (411517549113596616/Morning in a lake)[1], NFT (417403911918403022/Crypto Bird #8)[1], NFT (425796637186508935/Sunset)[1], NFT (454862390728527126/MoonView)[1],
                                   NFT (463259392809152244/Sunrise in the morning)[1], NFT (523225139265456740/Crypto Bird #1)[1], NFT (532272657561270936/Forest area)[1], NFT (533782580535212108/Crypto Bird #6)[1], NFT
                                   (539804424281344237/River view)[1]
08075375                           USD[100.00]

08075392                           NFT (304307230683316429/VeChain Bag)[1], NFT (506158386088267078/Chainlink Bag)[1]

08075401                           GRT[132], KSHIB[80], LINK[3.2], MATIC[145.16427124], NFT (375020089604598171/FTX Crypto Cup 2022 Key #1003)[1], NFT (417606973953437748/Megalodon Rogue Shark Tooth)[1], NFT
                                   (421367109575612465/Entrance Voucher #133)[1], NFT (427951536225897202/Crypto Inceptions - US #3)[1], NFT (455306754672174066/Heart attack burger )[1], NFT (464932221388187903/Crypto
                                   Inceptions - US)[1], NFT (481695114443275925/Retro-Future-Bitcoin | USA #1 Edition SOL #2)[1], NFT (491035367170613921/Retro-Future-Bitcoin)[1], NFT (498981262370182991/Retro-Future-Bitcoin
                                   | Diamond Edition )[1], NFT (504382763173490550/CryptoFabula #5)[1], NFT (505752142658554263/Retro-Future-Bitcoin | F-T-X #2 Edition #4)[1], NFT (508677224965114743/Happy Sun)[1], NFT
                                   (516453456685330786/Retro-Future-Bitcoin | Deep Sea Blue Edition)[1], NFT (516667312988879184/Romeo #42)[1], NFT (528377017849193385/AI ART - FLAG OF AMERICA - MOON #3)[1], NFT
                                   (559071006114701227/Crypto Inceptions - US #2)[1], SHIB[100000], SOL[2.2936], SUSHI[50.474], TRX[840.14031895], USD[1.30]

08075407                           NFT (300982549790936426/Popcorn on the Wall ^)[1], NFT (413518169550757988/Sushi on the Wall )[1], NFT (422819519240761790/Popcorn on the Wall)[1], NFT (451521609685371107/# Blue Moon
                                   )[1], NFT (462741486729755790/FISHHH)[1], NFT (471060801455834690/Sushi on the Wall)[1], NFT (480855649586598782/Blue Moon)[1], NFT (488317916754855371/Sunshine)[1], NFT
                                   (519160720411252822/Blue Moon )[1], NFT (527643760248017446/Morning Weather )[1], NFT (527726250694263425/Morning Weather)[1], USD[0.07], USDT[0]
08075412                           BTC[.00014909], USD[0.00]

08075415                           BRZ[1], DOGE[2], GRT[1], SHIB[5], TRX[2], USD[0.01]                                                                                                                                             Yes

08075436                           SHIB[2000000], USD[3.09]

08075437                           ETH[1.306996], ETHW[1.306996], MATIC[5.78], USD[2.41]

08075444                           BRZ[1], CUSDT[7], DOGE[2], GRT[1], SHIB[21788751.94225941], TRX[2], USD[0.00]

08075446                           DOGE[1], USD[0.00]

08075450                           NFT (327272857103371574/The Hill by FTX #6664)[1], NFT (345406734034376657/The Hill by FTX #6653)[1], NFT (350543807950913624/#16 Spikefush)[1], NFT (362514638596806825/The Hill by
                                   FTX #6657)[1], NFT (387460071366053059/The Hill by FTX #6655)[1], NFT (421724276754778151/FTX Crypto Cup 2022 Key #2905)[1], NFT (437128362470958107/The Hill by FTX #6714)[1], NFT
                                   (521545493592568708/The Hill by FTX #6652)[1], NFT (542592620459975195/#32 Friz)[1], NFT (548908394923137012/The Hill by FTX #6821)[1], USD[44.53]
08075452                           CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                                    Yes
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
                                                                                                  Amended Schedule 1754      Filed
                                                                                                                      Nonpriority     06/27/23
                                                                                                                                  Unsecured           Page 962 of 1384
                                                                                                                                            Customer Claims                                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08075454                              BTC[.0516483], ETH[1.000998], SOL[12.72726], USD[2.44]

08075462                              USD[0.00], USDT[0]

08075465                              BTC[0], TRX[1], USD[0.01]                                                                                                                                                       Yes

08075466                              TRX[.000001], USDT[0.00000029]

08075475                              BTC[.00000233], SOL[0.00000103]

08075476                              AAVE[0], AVAX[0], BCH[0.00000001], BTC[0], DOGE[-0.00000912], ETH[0], GRT[0], LINK[0], LTC[0], MATIC[0], MKR[0], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00], USDT[0], YFI[0]

08075486                              LINK[0], NFT (292713224671225275/David #321)[1], SHIB[3], TRX[1], USD[0.01], USDT[0]

08075493                              CUSDT[1], TRX[277.37129815], USD[0.00]                                                                                                                                          Yes

08075494                              CUSDT[2], ETH[.11766522], ETHW[.11652653], MATIC[33.41469634], TRX[1], USD[3.89]                                                                                                Yes

08075498       Contingent, Disputed   DOGE[80.32464391], ETH[19.952], ETHW[19.952], SHIB[240364363.33315126], USDT[0]                                                                                                 Yes

08075500                              CUSDT[3], TRX[1], USD[0.01], USDT[0]                                                                                                                                            Yes

08075501                              BTC[.05417343]                                                                                                                                                                  Yes

08075508                              USD[0.00], USDT[2.67220312]

08075511                              USD[10.84]                                                                                                                                                                      Yes

08075529                              BRZ[1], SHIB[25], TRX[1.680361], USD[0.68], USDT[0]                                                                                                                             Yes

08075530                              USD[0.00]                                                                                                                                                                       Yes

08075531                              NFT (318178454854766128/Entrance Voucher #29139)[1], NFT (390284335463340569/Good Boy #14019)[1], NFT (490788807963322009/Romeo #1420)[1]

08075549                              BTC[0.00000006], ETH[0], USD[0.00]

08075550                              SOL[.00214064], USD[0.00]                                                                                                                                                       Yes

08075555                              CUSDT[1], SHIB[.00000003], TRX[1], USD[0.00]                                                                                                                                    Yes

08075560                              USD[0.34]

08075563                              BAT[1], BTC[0.00280886], DAI[0], DOGE[.5593737], ETH[0.00000001], ETHW[0], GRT[1], LINK[1.01457073], SHIB[2], TRX[1], USD[0.76], USDT[1.02451463]                               Yes

08075567                              NFT (433764512950887319/ELEMENT4LS GEN1 #919)[1], NFT (476560827305653034/ELEMENT4LS BANNERS #1080)[1]

08075568                              CUSDT[1], SHIB[3110419.9066874], USD[0.00]

08075579                              USD[5.51]

08075589                              CUSDT[1], ETH[.02812794], ETHW[.02812794], USD[0.00]
West Realm Shires Services Inc.                                                    Case 22-11068-JTD      Doc F-3:
                                                                                               Amended Schedule 1754      Filed
                                                                                                                   Nonpriority     06/27/23
                                                                                                                               Unsecured           Page 963 of 1384
                                                                                                                                         Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08075592                           BCH[0], LTC[0], NFT (289585721573357045/Klaus #10)[1], NFT (293374126692350638/1ST.EDDY-ETHERIUM PURPLE)[1], NFT (294971257522939024/Klaus #8)[1], NFT
                                   (297190049879436766/1ST.EDDY-King of Spades ICP)[1], NFT (300229675406577496/Serious putty )[1], NFT (301004525481569380/SOL 1ST.EDDY-KLAUS LTC 2.0 #3)[1], NFT
                                   (302198667684910922/1ST.EDDY - LUKE CRYPTO BEAR LTC)[1], NFT (307073380366263817/1ST.EDDY- DUCK TRADER)[1], NFT (309286226154074318/Klaus #11 - U)[1], NFT
                                   (310186841921896944/1ST.EDDY-ACE OF DIAMONDS ETH)[1], NFT (310767928304476734/1ST.EDDY-Bobby CryptoBoy XMR-Metaverse )[1], NFT (315713902191395963/SOL 1ST.EDDY -GHOST
                                   OF THE MARKET ADA (RARE))[1], NFT (316681875403053279/The Snowman )[1], NFT (321704223381881072/Klaus #6)[1], NFT (326854072153933626/Digital Caramel -Cowboy)[1], NFT
                                   (327706398035909213/Klaus #3)[1], NFT (330533015663819653/ 1ST.EDDY- ETH NEWS 3 )[1], NFT (335903048788509264/1ST.EDDY- 2022 BULLY AXS)[1], NFT (337152509451323767/1ST.EDDY-
                                   BEAR LTC (Rare))[1], NFT (342908658348709611/Digital Caramel -OfficeWorker #1)[1], NFT (343164733351024086/1ST.EDDY-Klaus LITECOIN TOY)[1], NFT (346088127934969456/Klaus #2 )[1],
                                   NFT (347654066348279869/1ST.EDDY - LUKE CRYPTO BEAR ADA)[1], NFT (349586461864529497/1ST.EDDY -GHOST OF THE MARKET DASH (RARE))[1], NFT (349811382482207548/SOL
                                   1ST.EDDY -GHOST OF THE MARKET DOT (RARE))[1], NFT (349852996336037684/Just putty)[1], NFT (350279091149570103/1ST.EDDY-Klaus DOT TOY)[1], NFT (350608418555134574/DASH-
                                   DOSH)[1], NFT (351991001504583874/Happy Balls DOT)[1], NFT (352418681135334704/Shy putty )[1], NFT (355080283151408789/Christmas Trees )[1], NFT (355148751894147873/Klaus #7)[1], NFT
                                   (357265365509204554/SOL 1ST.EDDY - FAST AND FURIOUS)[1], NFT (357423836541673634/1ST.EDDY - Z Metacommuniverse)[1], NFT (358437771425978704/1ST.EDDY -GHOST OF THE
                                   MARKET DOT (RARE))[1], NFT (358612489421764589/1ST.EDDY - Period. )[1], NFT (358831276264559969/1ST.EDDY-Bobby CryptoBoy NEM-Metaverse )[1], NFT (360039463880304486/1ST.EDDY-
                                   King of Diamonds ENS)[1], NFT (360722421555078658/1ST.EDDY-ACE OF HEARTS DASH)[1], NFT (360840553932887537/Klaus #5)[1], NFT (363465810100803396/1ST.EDDY-Klaus LTC TOY)[1],
                                   NFT (369200470680357340/1ST.EDDY-Bully IOTA)[1], NFT (374844879953859019/SOL 1ST.EDDY -GHOST OF THE MARKET ETH (RARE))[1], NFT (375174181663673174/1ST.EDDY-Klaus ADA
                                   TOY #2)[1], NFT (375453920169992385/Happy Balls DASH)[1], NFT (376606310464162579/1ST.EDDY-NFT ARTS ETH)[1], NFT (377523828305234800/Happy Balls XRP)[1], NFT
                                   (378176349944675241/1ST.EDDY-HOLD YOUR SHOPPING UPSTAIRS (RARE))[1], NFT (379721773631391209/1ST.EDDY -GHOST OF THE MARKET BTC (RARE))[1], NFT
                                   (380053516180092689/#2 Guardian of DogeCoin.)[1], NFT (385837867356956311/1ST.EDDY - FAST AND FURIOUS)[1], NFT (386657527866211530/Digital Caramel -Angel Of Market #3)[1], NFT
                                   (389459203300944243/SOL 1ST.EDDY -GHOST OF THE MARKET XRP (RARE))[1], NFT (390243057165668716/0x-SOL 1ST.EDDY-CRYPTO CHUMBLEY DASH)[1], NFT
                                   (390245646763097793/1ST.EDDY-JOURNAL NFT PREDICTOR)[1], NFT (391144988863683595/1ST.EDDY- FIGHT )[1], NFT (392357843820994255/SOL 1ST.EDDY -GHOST OF THE MARKET BTC
                                   (RARE))[1], NFT (392857685600610519/0x-SOL 1ST.EDDY-CRYPTO CHUMBLEY ADA)[1], NFT (393903050333534135/1ST.EDDY - CLOUDS)[1], NFT (394003471764251284/1ST.EDDY-Bobby
                                   CryptoBoy LTCv2-Metaverse )[1], NFT (395243580416317624/1ST.EDDY - LUKE CRYPTO BEAR DOT)[1], NFT (395512750703177917/The Predictor #3 MCGREGOR)[1], NFT
                                   (399561866126132460/1ST.EDDY-Bobby CryptoBoy DASH-Metaverse )[1], NFT (399945775127922308/1ST.EDDY- Black Cumin Oil)[1], NFT (400508529395074053/1ST.EDDY-Bully DOGE)[1], NFT
                                   (406407635869371127/1ST.EDDY-Klaus ETHERIUM TOY)[1], NFT (406466782383233257/1ST.EDDY-ACE OF SPADES CARDANO)[1], NFT (407428448991538841/FLAPPY BTC )[1], NFT
                                   (408425530312818086/1ST.EDDY -GHOST OF THE MARKET ADA (RARE))[1], NFT (409235227679983645/1ST.EDDY-Klaus TRON TOY)[1], NFT (410372931931618546/1ST.EDDY- 2022 BULLY
                                   MANA)[1], NFT (410805197929187225/1ST.EDDY-Bobby CryptoBoy XRP-Metaverse )[1], NFT (414008672772237925/INVESTKIT - BULLRUN #3)[1], NFT (417071660486697691/GRAVITY DOT)[1],
                                   NFT (422529486144335424/Digital Caramel -Cowboy #6)[1], NFT (423590747704458943/Happy Balls ETH)[1], NFT (425840661355413399/SOL 1ST.EDDY-PREDICTOR DAVID #3)[1], NFT
                                   (428761949246798739/Neurographic pictures-Popularity and money)[1], NFT (429026445287962732/Investkit - the predictor)[1], NFT (431241070412374095/1ST.EDDY-PREDICTOR DAVID #2)[1], NFT
                                   (431692640856819780/1ST.EDDY - LUKE CRYPTO BEAR BTC)[1], NFT (432334043065922173/The Predictor #2)[1], NFT (432480508659855643/#3 Guardian of Open Sea)[1], NFT
                                   (435096242672336527/1ST.EDDY-JOKER BTC)[1], NFT (436462296915774697/1ST.EDDY- 2022 BULLY META)[1], NFT (438431565718715256/1ST.EDDY - LUKE CRYPTO BEAR ZEC)[1], NFT
                                   (441043618771504168/1ST.EDDY-BEAR LTC (Rare) #2)[1], NFT (441818120655628540/1ST.EDDY-Klaus ETH TOY)[1], NFT (444367531670195100/Good putty )[1], NFT
                                   (445265511258763178/1ST.EDDY-King's Cross POLKADOT)[1], NFT (446164059897859596/INVESTKIT - BULLRUN #2)[1], NFT (446445291474029842/1ST.EDDY-JOKER TON)[1], NFT
                                   (451055288653041133/1ST.EDDY - LUKE CRYPTO BEAR TRX)[1], NFT (451412933318355318/0x-SOL 1ST.EDDY-CRYPTO CHUMBLEY BNB)[1], NFT (452089017526198602/#3 Guardian of
                                   RARIBLE)[1], NFT (453593623212306223/1ST.EDDY - A question mark)[1], NFT (454820998082309030/0x-1ST.EDDY-CRYPTO CHUMBLEY BNB)[1], NFT (454958707556553188/Digital Caramel -The
                                   Predictor #5)[1], NFT (455607375662654029/1ST.EDDY-PREDICTOR DAVID #4)[1], NFT (456917897247787314/Blue Santa Claus)[1], NFT (457718893610950774/LTC DEFENSE)[1], NFT
                                   (460913781801342833/1ST.EDDY-Klaus XRP TOY #2)[1], NFT (461763184385834883/1ST.EDDY-Klaus DASH TOY)[1], NFT (461938704414916879/1ST.EDDY-ACE OF CROSSES XRP)[1], NFT
                                   (464476675655661146/1ST.EDDY-Bobby CryptoBoy BTC-Metaverse )[1], NFT (464792264108572005/The Predictor #1)[1], NFT (465650173064561989/Digital Caramel - Future #2)[1], NFT
                                   (465860335045851223/1ST.EDDY-Bully NEM)[1], NFT (466026636170078685/Neurographic pictures-The energy of money)[1], NFT (466404241164981271/1ST.EDDY - Night light car)[1], NFT
                                   (470998981160616704/GHOST IN THE BLOCK-2030)[1], NFT (477092242777889337/1ST.EDDY- 2022 BULLY LUNA)[1], NFT (477614575052754585/SOL 1ST.EDDY-BEAR BTC (Rare))[1], NFT
                                   (477789198424353758/1ST.EDDY-BULLY META (Rare))[1], NFT (480808357156807184/1ST.EDDY - LUKE CRYPTO BEAR XRP)[1], NFT (481808960543563762/1ST.EDDY-The Lady of Spades
                                   MBOX)[1], NFT (483330195480793033/1ST.EDDY-The Lady of Hearts Atlas)[1], NFT (483835961588518202/0x-SOL 1ST.EDDY-CRYPTO CHUMBLEY ETH)[1], NFT (486253749701480790/1ST.EDDY-
                                   Bobby CryptoBoy ETH-Metaverse )[1], NFT (488335666755191469/1ST.EDDY-Bully COIN)[1], NFT (489994129912847678/1ST.EDDY-King of hearts LINK)[1], NFT (490696314719013325/1ST.EDDY -
                                   GHOST OF THE MARKET ETH (RARE))[1], NFT (493693767071545366/0x-SOL 1ST.EDDY-CRYPTO CHUMBLEY XRP)[1], NFT (494988876973014402/1ST.EDDY-Klaus XRP TOY)[1], NFT
                                   (496370439679188959/1ST.EDDY-KLAUS LTC 2.0 #3)[1], NFT (496651238653037641/1ST.EDDY-Klaus TRON TOY #2)[1], NFT (496965104756286110/1ST.EDDY- BLUE CRYPTO EGG)[1], NFT
                                   (499246110604159482/1ST.EDDY- 2022 BULLY ENJ)[1], NFT (503607134230555782/Neurographic pictures-Richness)[1], NFT (503771858091249229/1ST.EDDY-Klaus ADA TOY)[1], NFT
                                   (505379083471635752/1ST.EDDY-Bobby CryptoBoy ZEC-Metaverse )[1], NFT (505724070673917366/SOL 1ST.EDDY-PREDICTOR DAVID #1)[1], NFT (506106672457351618/1ST.EDDY-Your
                                   Creativity)[1], NFT (507162158133256827/Klaus #1 - A fisherman ready to catch tons of fish)[1], NFT (507962021366390427/INVESTKIT - BULLRUN #6)[1], NFT (508086795965723853/1ST.EDDY-
                                   2022 BULLY SAND)[1], NFT (508867622388714399/1ST.EDDY-KLAUS ETH 2.0 #5)[1], NFT (509724975748044946/Klaus #9)[1], NFT (510726013559283905/Happy Balls TRX)[1], NFT
                                   (512760401242412363/1ST.EDDY-Klaus BTC TOY)[1], NFT (513050916014138480/1ST.EDDY - HOLOGRAM GIRL)[1], NFT (514532652527909073/Klaus #4)[1], NFT (514836964590795639/Digital
                                   Caramel -OfficeWorker)[1], NFT (515021759759773025/STAKE THE ETH)[1], NFT (521290715483928631/1ST.EDDY- RED CRYPTO EGG)[1], NFT (522807897937862375/1ST.EDDY -GHOST OF
                                   THE MARKET TRON (RARE))[1], NFT (527941812115364595/1ST.EDDY -GHOST OF THE MARKET XRP (RARE))[1], NFT (529008275240729064/Happy Balls BTC)[1], NFT
                                   (531004960625283141/1ST.EDDY-Klaus POLKADOT TOY)[1], NFT (531812743709437028/Digital Caramel -Devil Of Market #4)[1], NFT (532041063048119321/INVESTKIT - BULLRUN #1)[1], NFT
08075596                           USD[0.00], USDT[0]

08075608                           CUSDT[1], DOGE[1], GRT[200.49570816], USD[0.00]                                                                                                                                           Yes

08075609                           MATIC[5.45938398], SHIB[95383.44162533], USD[0.00]

08075610                           CUSDT[1], USD[0.00]                                                                                                                                                                       Yes

08075612                           USD[3.54]

08075614                           BAT[15.69643363], CUSDT[3], KSHIB[508.95941618], SHIB[998060.4331045], USD[0.15]                                                                                                          Yes

08075619                           DOGE[0], ETH[0.00000001], ETHW[0], LTC[0], MATIC[0], NFT (467443957451241603/Humpty Dumpty #582)[1], SOL[0], USD[0.00], USDT[0]

08075620                           GRT[1], TRX[2], USD[0.00]

08075641                           NFT (322439742018821199/SBF Hair & Signature #3 #135)[1], NFT (466846866602424915/SBF Hair & Signature #1 #149)[1]

08075650                           BTC[0], USD[0.00], USDT[364.82053571]

08075653                           CUSDT[16], DOGE[1], TRX[586.7094924], USD[0.59], USDT[0]

08075655                           EUR[0.00], USD[0.00]

08075668                           BTC[.00000295], SHIB[1], USD[0.00], USDT[0]                                                                                                                                               Yes

08075687                           USD[0.00]

08075693                           NFT (463502657247891048/Australia Ticket Stub #176)[1], USD[10.00]

08075697                           USD[3.00]

08075705                           NFT (324368068070242136/0x31-BO)[1], NFT (357831080905354420/EP7-BO)[1], NFT (365361228086598125/EP5-BO)[1], NFT (384090916587216713/0x33-BO)[1], NFT (389422234497291681/Saudi
                                   Arabia Ticket Stub #681)[1], NFT (414566427586357563/EP3-BO)[1], NFT (432366841336805884/Barcelona Ticket Stub #101)[1], NFT (476138209103409958/0x27-BO)[1], NFT
                                   (506370868715436230/0x32-BO)[1], NFT (512971325699983726/0x30-BO)[1], NFT (512991845122726789/0x26-BO)[1], NFT (529684191458369509/0x25-BO)[1], NFT (540610849550082897/EP6-
                                   BO)[1], NFT (542394505806798548/EP9-BO)[1], NFT (563920147879390104/EP10-BO)[1], NFT (571981317773317107/0x28-BO)[1], TRX[3.78654893], USD[0.00], USDT[0.00000021]

08075709                           BTC[.00023085], ETH[.00116314], ETHW[.00114945], LINK[.15546884], USD[0.00]                                                                                                               Yes

08075713                           BTC[.00015391], USD[0.00]                                                                                                                                                                 Yes

08075715                           SOL[.00074566], USD[0.00]

08075721                           USD[0.00]

08075722                           NFT (519772896951015284/Coachella x FTX Weekend 2 #1459)[1]

08075732                           CUSDT[4], DOGE[1.97322558], TRX[1], USD[0.89]                                                                                                                                             Yes
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                                                                                                                                            Customer Claims                                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08075734                              USD[0.00]

08075743                              BRZ[2], CUSDT[19], DOGE[3], GBP[0.00], NFT (292666554350312932/SolBunnies #759)[1], NFT (314415945754782122/Settler #297)[1], NFT (324576278810244257/SolBunnies #771)[1], NFT
                                      (331641964306619298/DOTB #2525)[1], NFT (333241509042225614/Series 2 | #9)[1], NFT (336478999303006775/Skull smoke)[1], NFT (354475318319795058/Skull beer 6)[1], NFT
                                      (354948090876515629/Brick World #29)[1], NFT (388085843889113026/DDD 'monster #8)[1], NFT (392798130675045655/Metaverse Rooms #20)[1], NFT (398499837879357005/Skull beer 3)[1], NFT
                                      (399832977450700379/Box Heads #6)[1], NFT (403528541852963154/Solninjas #6911)[1], NFT (407359309427734208/Brick World #20)[1], NFT (410057368789882792/Brick World #14)[1], NFT
                                      (411472897099610553/Brick World #30)[1], NFT (415431238220406484/3D CATPUNK #5477)[1], NFT (418343615158974949/Pill #33)[1], NFT (429436381405172668/DDD #47)[1], NFT
                                      (435782159992055340/Pill #29)[1], NFT (442609353368516081/328)[1], NFT (442669550069143785/Pill #37)[1], NFT (452685776862103808/4773)[1], NFT (453613838649948036/Naked Meerkat
                                      #3212)[1], NFT (453799549909308786/Settler #3174)[1], NFT (478839294727288871/AI-generated city #9)[1], NFT (479945617382930668/Digital Z #21)[1], NFT (489372576254525602/Rogue Circuits
                                      #4331)[1], NFT (498384439984457649/Rogue Circuits #4813)[1], NFT (499675109961542280/Pretto #14)[1], NFT (514147339392927059/Returned From Exile)[1], NFT (521286960491024424/Settler
                                      #159)[1], NFT (540409299532885373/APEFUEL by Almond Breeze #958)[1], NFT (555301597626090977/Box Heads #3)[1], NFT (573276178330568304/Whales Nation #159)[1], NFT
                                      (574729768136712392/Pill #31)[1], SHIB[3], SOL[0.59953439], TRX[5], USD[0.00], YFI[0]
08075744                              USD[0.00]

08075750                              NFT (492131116092148654/Distracted Mccarthy)[1], NFT (496113749822168347/Mint your own Gopnik!)[1], NFT (535326263686075988/Kind Hermann)[1]

08075759                              CUSDT[6], DOGE[1], SHIB[267.62290676], TRX[.35615862], USD[0.69]                                                                                                                            Yes

08075773                              BTC[0], USD[0.00]                                                                                                                                                                           Yes

08075774                              BAT[1.01429286], BRZ[1], BTC[.03957698], CUSDT[3], SHIB[70087455.29333631], TRX[3], USD[0.00], USDT[1.07730809]                                                                             Yes

08075778                              NFT (295358917738835674/Pizza Art Clup #4)[1], NFT (329320028723258292/Wincent Art #6)[1], NFT (357936563856639538/Pizza Art Clup #8)[1], NFT (515228385240104417/3d Pixel Cat #5)[1]

08075781                              SHIB[183486.23853211], USD[15.00]

08075786                              BCH[.00340335], CUSDT[2], DOGE[4.23594268], KSHIB[20.06919456], LTC[.0052058], PAXG[.00021918], SHIB[20256.51060751], TRX[13.09203369], USD[5.79]                                           Yes

08075787                              TRX[1], USD[0.00]                                                                                                                                                                           Yes

08075796                              NFT (303338182723313894/Blooming Creeper #4)[1], NFT (320487353051193292/Fly high )[1], NFT (513073112298421977/Circular Cognitive illusion)[1]

08075800                              USD[0.01], USDT[0]                                                                                                                                                                          Yes

08075801                              GRT[16.94186117], USD[0.00]                                                                                                                                                                 Yes

08075804                              USD[0.00]

08075807                              USD[19.74]

08075809                              CUSDT[18], DOGE[2.00465551], GRT[1], SHIB[8], TRX[5], USD[0.01]                                                                                                                             Yes

08075815                              DOGE[1], USD[1032.27], USDT[0]                                                                                                                                                              Yes

08075821                              SOL[321428.2], USD[179.28]

08075826                              NFT (366974579505604227/Saudi Arabia Ticket Stub #2067)[1], TRX[.000004], USDT[0.20814849]

08075876                              BTC[.01633468], DOGE[1], ETH[.23342371], ETHW[.23342371], TRX[1], USD[0.00]

08075883                              USD[4.12]                                                                                                                                                                                   Yes

08075884                              CUSDT[1], TRX[1], USD[0.01]                                                                                                                                                                 Yes

08075905                              AAVE[0], USD[0.00], USDT[0.00001126]

08075911                              USD[0.03]

08075914                              USD[0.60]

08075915                              USD[10.83]                                                                                                                                                                                  Yes

08075916                              CUSDT[3], DOGE[164.82736422], SHIB[388532.02196507], USD[0.00]                                                                                                                              Yes

08075917                              TRX[1], USD[0.02]                                                                                                                                                                           Yes

08075918                              SOL[.01555874]

08075941                              NFT (480130771748198599/NFT BZL 2021 #204)[1]

08075942                              USD[10.00]

08075947                              BRZ[1], KSHIB[3803.99823038], SHIB[1046220.37130235], USD[0.00]                                                                                                                             Yes

08075951                              BTC[0], USD[0.00], USDT[0.00002732]

08075956                              ETH[11.25518130], ETHW[11.25518129], SOL[0], USD[0.00]

08075974                              ETH[.00764439], ETHW[.00764439], SOL[.00000001], USD[0.00]

08075978                              AVAX[.0001657], BAT[1], BRZ[7.13758129], BTC[.00000005], DOGE[1], ETH[.00000058], ETHW[.00000058], GRT[1], SHIB[90.53222157], TRX[8.002431], USD[0.00], USDT[0]                             Yes

08075986                              NFT (556815297696599800/Microphone #8857)[1]

08075995                              USD[0.00], USDT[10.08668473]

08076001                              BRZ[11.8594144], DOGE[11.47719894], GRT[2.58551915], USD[0.00]                                                                                                                              Yes

08076033                              SOL[0]

08076035                              CUSDT[7], DOGE[307.13079094], ETH[.00009579], ETHW[.00009579], MATIC[371.0129216], SHIB[2], SOL[10.09575966], TRX[1], USD[0.00]                                                             Yes

08076050                              GRT[.99], SOL[.00000001], USD[0.29]

08076053                              TRX[0], USD[0.00]

08076054                              SHIB[123271.90279747], USD[0.00]                                                                                                                                                            Yes

08076060                              NFT (312775500680873368/Skull #10)[1], NFT (367489666409376545/Skull #60)[1], NFT (370698559324462851/Skull #14)[1], NFT (371929817576465888/Skull #20)[1], NFT
                                      (410785973670593940/Skull #18)[1], NFT (456381729922829669/Skull #13)[1], NFT (463117087766707579/Skull #15)[1], NFT (508139355007873539/Skull #16)[1], NFT (524142847036873066/Skull
                                      #12)[1], NFT (557575099613633429/Skull #11)[1], NFT (562735217367534487/Skull #19)[1], NFT (569643106244685858/Skull #17)[1], USD[0.57]
08076069                              AAVE[0], BAT[0], CUSDT[11], DAI[0], ETH[.00508746], ETHW[.00501906], GRT[0], MKR[0], SOL[0.57892418], USD[27.46], USDT[0.00000098]                                                          Yes

08076076       Contingent, Disputed   BAT[.00010482], BTC[0], CUSDT[5], DOGE[2], ETH[0], MKR[.00000002], NFT (318519615139177916/FTX - Off The Grid Miami #3991)[1], SHIB[11], SUSHI[.00004035], TRX[2], UNI[.00002892],          Yes
                                      USD[15.26]
08076079                              BTC[0], DOGE[1], SHIB[2], SOL[109.82594056], SUSHI[1], TRX[1], USD[0.00], USDT[1]

08076080                              USD[103.48]                                                                                                                                                                                 Yes

08076086                              MATIC[0], SOL[0.00000022], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08076087                              SOL[2.30104249], TRX[1], USD[0.01]                                                                                                                                                   Yes

08076091                              BTC[.00000142], SOL[0.00000201]

08076096                              BTC[.0536766], CUSDT[1], DOGE[2], ETH[.88231285], ETHW[.88194219], LTC[20.59910679], SOL[31.2594024], TRX[1], USD[537.06]                                                            Yes

08076103                              NFT (459914637670791213/Defeated)[1], NFT (506752954567020688/Gilbert And His Little Friend)[1], NFT (517966600302280818/Herbert )[1]

08076110                              SOL[.05105872], USD[500.01]

08076127                              BRZ[1], DOGE[316.37401728], TRX[327.51984677], USD[0.00]                                                                                                                             Yes

08076134                              CUSDT[1], TRX[1], USD[0.36]                                                                                                                                                          Yes

08076142                              BTC[.00511694], CUSDT[1], USD[0.00]

08076156                              AVAX[1.16858099], BTC[.00121691], ETH[.14502866], ETHW[.14413106], SOL[10.36040074], USD[0.00]                                                                                       Yes

08076158                              USDT[.71]

08076166                              USD[27.09]                                                                                                                                                                           Yes

08076167                              ETH[.00699], ETHW[.00699]

08076169                              USD[0.00]

08076170                              BRZ[1], CUSDT[4], DOGE[1], USD[0.00]                                                                                                                                                 Yes

08076194                              CUSDT[1], DOGE[1], SHIB[.00000886], SOL[0.43716011], USD[0.00]                                                                                                                       Yes

08076201                              CUSDT[2], KSHIB[443.58172727], SHIB[422623.54663422], USD[5.44]                                                                                                                      Yes

08076205                              SHIB[1], USD[51.24]                                                                                                                                                                  Yes

08076227                              USD[108.35]                                                                                                                                                                          Yes

08076228                              BRZ[1], CUSDT[1], DOGE[1], SHIB[6], TRX[2], USD[1188.32]                                                                                                                             Yes

08076236                              CUSDT[42], LTC[.00001227], SOL[.00007476], TRX[4], USD[0.96]                                                                                                                         Yes

08076237                              USD[0.01]

08076244                              SOL[12.11285], UNI[50.6], USD[0.95]

08076245                              USD[0.00]

08076250                              CUSDT[44], DOGE[8.27184074], LTC[1.0002345], SHIB[1], TRX[8], USD[0.97]                                                                                                              Yes

08076255                              BRZ[5], CUSDT[1], DOGE[8], GRT[3], SHIB[4], TRX[6], USD[0.00], USDT[5]

08076256                              CUSDT[1.33621792], KSHIB[112.73979401], TRX[.51017332], USD[0.95]                                                                                                                    Yes

08076264                              USD[0.00]

08076275                              NFT (523561781813337197/Paintet Cousin # 1)[1], NFT (555521690685254578/Painted Helium # 1 #2)[1], NFT (571743329946222351/Painted Helium # 1)[1], SOL[.0077924], USD[7.50]

08076279                              USD[1.00]

08076281                              AAVE[.17835938], CUSDT[2], LINK[4.92667795], SOL[.12109699], TRX[2], USD[0.00]

08076287       Contingent, Disputed   ETHW[.02382982], USD[0.00]

08076302       Contingent, Disputed   USD[0.00]

08076309                              ETH[.00224165], ETHW[.00221429], SHIB[101926.5839752], SOL[.02138658], TRX[46.17304388], USD[0.00]                                                                                   Yes

08076314                              CUSDT[1], KSHIB[9875.30062883], USD[0.00]

08076316                              BCH[.0265846], CUSDT[7], DOGE[146.29311217], ETH[.00596815], ETHW[.00589975], LTC[.10255749], MATIC[6.50914341], SHIB[2219620.20566193], SOL[.27900991], TRX[1], USD[0.10]           Yes

08076318                              BRZ[5], CUSDT[4], DOGE[1], GRT[2], LINK[.00183581], SHIB[15], TRX[9], USD[0.01], USDT[0.00900825]                                                                                    Yes

08076320                              BTC[.00021871], CUSDT[1], GRT[6.38510172], SHIB[204115.47340127], USD[8.13]                                                                                                          Yes

08076326                              BTC[0], DOGE[1.01851737], ETH[0], ETHW[0], SHIB[8], USD[0.00], USDT[0.00004832]                                                                                                      Yes

08076330                              AAVE[0], BAT[0], BCH[0], BTC[0], EUR[0.00], LINK[0], MATIC[0], SUSHI[0], TRX[0], UNI[0], USD[0.00]

08076333                              BTC[.1662383], ETH[.00845], USD[0.00]

08076338                              USD[0.01]

08076347                              USD[10.83]                                                                                                                                                                           Yes

08076348                              SHIB[15995.04781199], USD[0.00], USDT[0]                                                                                                                                             Yes

08076349                              USD[36.39]

08076351                              CUSDT[1], SOL[1.11112529], USD[270.86]                                                                                                                                               Yes

08076354                              BTC[0], ETHW[.25312664], USD[0.13]

08076358                              BRZ[1], BTC[.00094156], CUSDT[1], SHIB[2272434.32056724], USD[0.02]                                                                                                                  Yes

08076360                              ETH[0], USD[0.24]

08076366                              AVAX[.1283976], BAT[3.22931311], BCH[0.04642301], BTC[.00023853], CUSDT[4], DOGE[83.49944057], ETH[.00622131], ETHW[.00613923], GRT[15.09758702], LINK[.49521015], LTC[.10059406],   Yes
                                      MATIC[5.67852257], SHIB[528134.58707903], SOL[.11030024], SUSHI[.77203154], TRX[80.03069697], UNI[.35000374], USD[0.01], USDT[5.33647281]
08076372                              USD[5.00]

08076379                              USD[5.00]

08076407                              AAVE[1.06473311], BTC[.07511709], ETH[.48755937], ETHW[.48755937], MATIC[184.22828867], SOL[1.15217932], SUSHI[11.02209866], USD[0.00]

08076413                              USD[0.00]                                                                                                                                                                            Yes

08076426                              USD[150.00]

08076429                              USD[1.21]

08076431                              CUSDT[1], GRT[1], SHIB[1], USD[0.00]                                                                                                                                                 Yes

08076449                              BTC[.00000138]                                                                                                                                                                       Yes
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                                                                                                                                            Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08076454                              AUD[0.00], BTC[0], NFT (289674457175945281/FTX AU - we are here! #51457)[1], NFT (291445741081626232/riverauss4)[1], NFT (291636561710835664/Solninjas #6861)[1], NFT
                                      (291813749671459414/Solano$ #3)[1], NFT (292010833200071332/Acid rauss #34)[1], NFT (292167594305960306/Acid rauss #82)[1], NFT (292195250949297096/BRUSH 1#1 #6)[1], NFT
                                      (293663240617533219/Australia Ticket Stub #1272)[1], NFT (293724821712306563/2 Acid rauss #2)[1], NFT (296929141948492055/ beauty rauss)[1], NFT (298987449817347486/Acid rauss #86)[1],
                                      NFT (300200313002850861/Acid rauss #56)[1], NFT (301595815580764045/FTX Crypto Cup 2022 Key #25783)[1], NFT (302248703918837135/Azelia )[1], NFT (303242656521321022/Acid rauss
                                      #40)[1], NFT (303431422811711843/Acid #7)[1], NFT (303761255390248417/Acid rauss #95)[1], NFT (304643103030202530/Acid rauss #20)[1], NFT (307212868153367901/Acid #4)[1], NFT
                                      (308023511188646376/Acid rauss #84)[1], NFT (310848746491848596/DOGO-US-500 #4003)[1], NFT (311913217489020908/Acid rauss #32)[1], NFT (312250519704505063/Acid rauss #74)[1], NFT
                                      (312389057756800707/Series 1: Wizards #878)[1], NFT (312499416420969287/Monkey 69 )[1], NFT (312980515127949028/FTX EU - we are here! #256439)[1], NFT (316391217252720654/skull
                                      flowers)[1], NFT (317933042646171162/Acid rauss #39)[1], NFT (318217383414120796/Acid rauss #67)[1], NFT (318306186553574928/Acid rauss #80)[1], NFT (318448324354404304/Silence #5)[1],
                                      NFT (318535382674121328/Acid rauss #77)[1], NFT (319023544775230801/Collection of crypto robots rauss #6)[1], NFT (324096996518618717/Acid rauss #38)[1], NFT (324400435703892184/Solana
                                      Mountain #8)[1], NFT (326051006736803507/$ilence #5)[1], NFT (327990964944103944/ Children's drawings robot rauss #3)[1], NFT (328146828551256483/Not a Separable Crypt rauss)[1], NFT
                                      (328470337648319384/DOGO-US-500 #4361)[1], NFT (331091594294522899/BRUSH 1#5 #11)[1], NFT (331193292266189434/Acid rauss #63)[1], NFT (332426536774943123/Acid #9)[1], NFT
                                      (332915163197356906/666)[1], NFT (333710777349959551/Solano$ #5)[1], NFT (333898452755132766/DOGO-US-500 #3990)[1], NFT (333956511444562453/FTX EU - we are here! #252107)[1], NFT
                                      (334182372955484243/BTC rauss-1)[1], NFT (335867747382608682/Bahrain Ticket Stub #1883)[1], NFT (336965420403221581/DOGO-US-500 #4001)[1], NFT (339655200695153946/skull flowers
                                      #16)[1], NFT (341086697764777514/Traveling pug #3)[1], NFT (342321734419932745/Acid rauss #78)[1], NFT (342683896445431643/FTX EU - we are here! #250561)[1], NFT
                                      (343955522573485682/PixelPuffins #2257)[1], NFT (344642916884814764/Acid #5)[1], NFT (345976585499792901/Acid rauss #79)[1], NFT (346812012550107160/Acid rauss #33)[1], NFT
                                      (347591777026983365/Acid rauss #65)[1], NFT (350525610095921853/City Postage Stamps Collection #3)[1], NFT (352105081850778755/R-O-B-O-T #7)[1], NFT (352475393238158879/City Postage
                                      Stamps Collection)[1], NFT (352684623647822808/Acid rauss #72)[1], NFT (353912241808387400/Acid rauss #69)[1], NFT (354829516067356330/Cadet 288)[1], NFT (355123858316736463/FTX EU -
                                      we are here! #246863)[1], NFT (356159357501890464/Azimuth projection #2)[1], NFT (356469338528246294/BRUSH 1#5 #9)[1], NFT (358202297542606777/FTX EU - we are here! #249162)[1], NFT
                                      (359943448679347209/Solana Mountain #7)[1], NFT (360509635424637828/Solano creator #2)[1], NFT (360985952398255708/FTX EU - we are here! #218142)[1], NFT (362710835070658532/Robot
                                      rauss #2)[1], NFT (363028671787337772/Sunset in the mountain$)[1], NFT (363309365210070852/Good Boy #383)[1], NFT (363991912177570184/Collection of crypto robots rauss #13)[1], NFT
                                      (365937117321667101/skull flowers #13)[1], NFT (365997575633145290/FTX EU - we are here! #255843)[1], NFT (366359889438881534/Good Boy #17529)[1], NFT (366683582069393243/Monkey
                                      19)[1], NFT (366772649951109868/FTX - Off The Grid Miami #2443)[1], NFT (367760175122509241/Acid rauss #48)[1], NFT (368528315720781940/BRUSH 1#5 #3)[1], NFT
                                      (369044372872914985/Acid rauss #26)[1], NFT (369404804378874670/Kripta$rauss)[1], NFT (369792454454978050/FTX AU - we are here! #51979)[1], NFT (369809727450438750/Acid #10)[1], NFT
                                      (371437374858872767/FTX EU - we are here! #249380)[1], NFT (373483875125833490/Acid rauss #59)[1], NFT (374044367454875686/skull flowers #18)[1], NFT (374629091536508424/Robot rauss
                                      #20)[1], NFT (376486058436718702/FTX EU - we are here! #247243)[1], NFT (377398363666918809/Robot rauss #15)[1], NFT (377667089092772301/FTX EU - we are here! #248966)[1], NFT
                                      (378065267677314538/FTX AU - we are here! #62463)[1], NFT (378563582235401762/Robot rauss #11)[1], NFT (379303037304324226/Saudi Arabia Ticket Stub #1373)[1], NFT
                                      (380298553226620834/FTX EU - we are here! #251732)[1], NFT (381801588090979720/Barcelona Ticket Stub #1156)[1], NFT (383718903558769815/Acid rauss #27)[1], NFT
                                      (383846664421575631/DOGO-US-500 #4285)[1], NFT (384845479402660770/FTX EU - we are here! #264740)[1], NFT (385623588174154709/FTX EU - we are here! #252122)[1], NFT
                                      (387243540906779632/skull flowers #14)[1], NFT (389132415901763413/Acid rauss #61)[1], NFT (389162862188561808/skull flowers #17)[1], NFT (390070611939836101/Acid #14)[1], NFT
                                      (392822795725447892/BRUSH 1#1 #4)[1], NFT (394318856793146000/Ex Populus Trading Card Game)[1], NFT (395650134495824634/Acid rauss #71)[1], NFT (396851398269453033/Barcelona
                                      Ticket Stub #2048)[1], NFT (397368006614882231/Acid rauss #8)[1], NFT (397936262980647992/FTX EU - we are here! #251594)[1], NFT (399015259879113996/Silence #8)[1], NFT
                                      (399712690820204694/Robot rauss #4)[1], NFT (402592728166184563/Acid rauss #87)[1], NFT (403166224647513119/Robot rauss #29)[1], NFT (404531436433783937/Acid rauss #9)[1], NFT
                                      (404977486042691257/FTX EU - we are here! #247799)[1], NFT (406009601731359062/Roamer #741)[1], NFT (406057979638383751/GSW Western Conference Finals Commemorative Banner
                                      #901)[1], NFT (406333481465868123/Acid )[1], NFT (407138310910048980/Acid #11)[1], NFT (407643637050429264/Acid rauss #14)[1], NFT (408726743300769147/Acid rauss #73)[1], NFT
                                      (409164090585772480/ Solar rainbow rauss #2)[1], NFT (409182275766358523/Kripta$)[1], NFT (409869550656382523/Collection of crypto robots rauss #9)[1], NFT (412957594922323865/Above the
                                      mountains)[1], NFT (413727068092168023/FTX EU - we are here! #213027)[1], NFT (415688179216657461/The Hill by FTX #2250)[1], NFT (416646563832934302/Nobu Sensei #925)[1], NFT
                                      (416997711578840861/Acid rauss #53)[1], NFT (417420102685135909/Nobu Sensei #144)[1], NFT (418366904768464285/Barcelona Ticket Stub #1988)[1], NFT (420134395435815509/Acid rauss
                                      #30)[1], NFT (420755715490701539/Silence)[1], NFT (420851237227284017/FTX EU - we are here! #248961)[1], NFT (421103572053410572/Silence #7)[1], NFT (422110157630810770/$ NFT $)[1],
                                      NFT (422302250242495351/Robot rauss #8)[1], NFT (423725882870494719/PixelPuffins #2061)[1], NFT (424380237110698602/FTX EU - we are here! #250298)[1], NFT (424474832001819246/Acid
                                      #17)[1], NFT (426041624312125361/Collection of crypto robots rauss #8)[1], NFT (427967852208993059/Robot rauss #18)[1], NFT (429707667575814189/Ex Populus Trading Card Game)[1], NFT
                                      (430137874733332123/FTX EU - we are here! #259720)[1], NFT (430635230137505545/Ex Populus Trading Card Game)[1], NFT (431638583921630667/Good Boy #388)[1], NFT
                                      (432508566630923142/City Postage Stamps Collection #7)[1], NFT (432965160730295691/FTX EU - we are here! #252924)[1], NFT (434929700803360810/Acid #8)[1], NFT
                                      (436094881481881300/FTX EU - we are here! #244451)[1], NFT (436259549293814821/Acid rauss #49)[1], NFT (437150906097208394/Barcelona Ticket Stub #2489)[1], NFT
                                      (438852264422393514/FTX EU - we are here! #251775)[1], NFT (440549807597813230/Acid rauss #62)[1], NFT (440563668073964051/Silence #3)[1], NFT (441318193446080825/skull flowers #7)[1],
                                      NFT (442552707349701361/Series 1: Capitals #1061)[1], NFT (442702143571747467/Acid rauss #90)[1], NFT (443321852914511830/Entrance Voucher #2356)[1], NFT (443450306686472510/Acid
                                      rauss #76)[1], NFT (444303377942096845/$ilence #2)[1], NFT (445395985265383054/Acid rauss #41)[1], NFT (445727832513713478/BRUSH 1#5 #10)[1], NFT (447083535559327848/Acid rauss
                                      #21)[1], NFT (447109697654495140/FTX EU - we are here! #252269)[1], NFT (448593806458980310/Acid #2)[1], NFT (451829302370530521/Nature through the eyes of a realist)[1], NFT
                                      (452264893412238233/5G)[1], NFT (456388750016382663/Acid #12)[1], NFT (457385938381368325/$ NFT $ #2)[1], NFT (458110188315727785/Good Boy #5166)[1], NFT (458695012899346291/skull
                                      flowers #4)[1], NFT (458910676728786198/Silence #4)[1], NFT (459761319485460989/$ilence #4)[1], NFT (462921010139866743/Silence #9)[1], NFT (463571651748033013/R-O-B-O-T #8)[1], NFT
                                      (463827110267561150/Acid rauss #5)[1], NFT (465546379255192551/Silence #2)[1], NFT (467053478988449279/Barcelona Ticket Stub #1225)[1], NFT (468062632327110069/Solano$)[1], NFT
                                      (468965164496793683/FTX EU - we are here! #218153)[1], NFT (469595012165883332/Collection of crypto robots rauss #7)[1], NFT (470867209669740989/ Children's drawings robot rauss #5)[1], NFT
08076458                              BRZ[1], DOGE[2], USD[0.00]                                                                                                                                                                    Yes

08076478                              BRZ[1], CUSDT[6], DOGE[1], USD[0.00]

08076482                              NFT (414114342094348191/Tim Brown's Playbook: Michigan State vs. Notre Dame - September 19, 1987 #56)[1], SOL[.21499523]                                                                     Yes

08076485                              SOL[.11], USD[0.36]

08076487                              AAVE[1.6983], BAT[1307.691], BTC[.0000691], GRT[3179.817], LINK[77.4225], SUSHI[427.5785], USD[0.77], USDT[.0037664], YFI[.061938]

08076491                              CUSDT[5], DOGE[1], SOL[0], USD[0.00]                                                                                                                                                         Yes

08076499                              CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                                  Yes

08076501                              CUSDT[1], MATIC[5.68697885], SHIB[912223.12594736], TRX[96.89293438], USD[0.00]

08076528                              CUSDT[2], SHIB[4285.90759927], TRX[2], USD[0.23]

08076529                              USD[54.17]                                                                                                                                                                                   Yes

08076531                              CUSDT[4], SHIB[1], SOL[1.1128467], USD[0.00]                                                                                                                                                 Yes

08076542                              SHIB[0], SOL[0], USD[0.00]

08076549                              BTC[.0008994], ETH[.009995], ETHW[.009995], USD[2.80]

08076552       Contingent, Disputed   DOGE[29.32327136], USD[0.00]

08076553                              BTC[.00000004], NEAR[.41045173], USD[0.08]                                                                                                                                                   Yes

08076559                              CUSDT[3], TRX[1], USD[39.05]                                                                                                                                                                 Yes

08076569                              USD[0.00], USDT[1]

08076570                              BAT[2.01678233], CUSDT[3], DOGE[2], SHIB[1], TRX[2], USD[0.00]                                                                                                                               Yes

08076585                              CUSDT[1], GRT[1], LINK[1.05502411], TRX[287020.12178661], USD[82.29]                                                                                                                         Yes

08076587                              NFT (288394947447122837/Dinosaur #5)[1], NFT (370574594393176353/Dinosaur #4)[1], NFT (392176916064680802/Dinosaur #3)[1], NFT (463044598858464504/Pixel Fruit #7)[1], NFT
                                      (518779843525396251/Dinosaur #2)[1], USD[0.01], USDT[0]
08076590                              BRZ[1], CUSDT[2], KSHIB[976.309918], NFT (446787861132974591/Joe Theismann's Playbook: Washington vs. Chicago Bears - September 29, 1985 #61)[1], NFT (508831681866857757/Kiddo
                                      #809)[1], NFT (576170263651534053/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #97)[1], SOL[0.06042620], USD[0.00]
08076591                              DOGE[1], MATIC[341.07305962], TRX[.04112808], USD[0.00]                                                                                                                                      Yes

08076599                              NFT (497623705584519913/2974 Floyd Norman - OKC 1-0259)[1], USD[0.00], USDT[0]

08076609                              BTC[.00962696], USD[2.01]                                                                                                                                                                    Yes

08076629                              DOGE[2], ETH[3.43683359], ETHW[3.43683359], GRT[1], SOL[168.22618999], TRX[2], USD[5455.92], USDT[1]
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                                                                                                                                         Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08076632                           ETH[.024], ETHW[.024], USD[0.65]

08076647                           BAT[1.01370078], BRZ[3], CUSDT[3], DOGE[4], GRT[2.03091909], NFT (341967315591298732/Presidential Wave)[1], NFT (379278892339272686/Sowing Seeds )[1], NFT                              Yes
                                   (405462571737327302/Another Universe #9)[1], NFT (433700399052781967/I.O.U.)[1], NFT (440716125532413982/Classic)[1], NFT (447536791141188887/Morning Walk)[1], NFT
                                   (447580463614919071/Rodeo )[1], NFT (455438368848567632/Mirror Mirror)[1], NFT (479082079441491702/Cool)[1], NFT (506977636852181378/All Seeing Eye - Limited Edition)[1], NFT
                                   (565679643213301313/Rough Seas)[1], NFT (569660258260042682/Love and Enjoy)[1], TRX[1.69356357], USD[0.28], USDT[2.16491794]
08076653                           LTC[.00000145], SHIB[1], USD[0.00]

08076655                           USD[4500.00]

08076656                           BTC[0.00000354], SOL[.00000001], USD[0.00]                                                                                                                                              Yes

08076658                           AVAX[.84844796], BRZ[1], BTC[.00565976], DOGE[.0000509], ETH[.03158725], ETHW[.03158725], SHIB[3], SOL[.42299432], TRX[2], USD[0.07]

08076660                           TRX[1], UNI[19.12398223], USD[3.45]                                                                                                                                                     Yes

08076690                           ETH[.0042], ETHW[.0042], NFT (302737608771794251/wappy Cube)[1]

08076694                           PAXG[.00007], SOL[1.998], USD[19.07]

08076707                           SHIB[.36954022], SOL[0], USD[0.00]

08076709                           USD[1082.95]                                                                                                                                                                            Yes

08076710                           CUSDT[2], ETH[2.06991855], ETHW[2.06904915], SOL[7.92581549], USDT[1.08293012]                                                                                                          Yes

08076714                           BTC[.000037], SOL[.00055], USD[0.00]

08076722                           DOGE[9.88830561], SHIB[18223.07206237], SOL[.02894687], USD[0.00]                                                                                                                       Yes

08076723                           AAVE[0], AUD[0.00], BAT[0], BCH[0.00000045], BRZ[0], CAD[0.00], CUSDT[0], GBP[0.00], GRT[0], KSHIB[0], LINK[0], LTC[0], MKR[0], PAXG[0], SHIB[0], SOL[0], SUSHI[0], TRX[0], USD[0.00]   Yes

08076728                           USD[1000.00]

08076736                           CUSDT[1], TRX[2195.35819563], USD[0.00]

08076744                           CUSDT[23903.33645841], SHIB[1], TRX[1], USD[0.00]                                                                                                                                       Yes

08076747                           USD[3.33]

08076757                           GRT[1], LINK[.00000002], USD[0.00], USDT[0]                                                                                                                                             Yes

08076765                           ETH[.00030283], ETHW[.00030283], LTC[.00503074], SOL[.00628159], USD[0.84], USDT[0.00000025]

08076770                           LTC[.34689009], USD[0.00]

08076777                           BTC[.00069891], CUSDT[4], ETH[.00888758], ETHW[.00877814], USD[0.00]                                                                                                                    Yes

08076783                           USD[0.01]                                                                                                                                                                               Yes

08076784                           CUSDT[2], USD[0.00]                                                                                                                                                                     Yes

08076786                           USD[0.00]

08076787                           MATIC[345.57716021], NFT (537427138343403305/ApexDucks #2598)[1], USD[0.00]

08076790                           NFT (296008941014691818/Soviet Space Stamps #13)[1], NFT (310518990863319062/Soviet Space Stamps #8)[1], NFT (334936548740899224/Soviet Space Stamps #3)[1], NFT
                                   (363161019688970947/Soviet Space Stamps #12)[1], NFT (378777482244518553/Soviet Space Stamps)[1], NFT (431006912304899230/Soviet Space Stamps #11)[1], NFT
                                   (441007350914969544/Space Stamps)[1], NFT (459022642845773801/Soviet Space Stamps #4)[1], NFT (474492259097357762/Soviet Space Stamps #6)[1], NFT (478142958045344503/Soviet Space
                                   Stamps #5)[1], NFT (482517784952260671/Soviet Space Stamps #14)[1], NFT (539348098712705617/Soviet Space Stamps #10)[1], NFT (550262049283746007/Soviet Space Stamps #7)[1], NFT
                                   (556323867283368617/Soviet Space Stamps #2)[1], NFT (559600121577797359/Soviet Space Stamps #9)[1], SOL[.01]
08076791                           USD[0.00]

08076797                           BAT[1413], SHIB[84040], SOL[301.1702146], USD[0.37]

08076800                           KSHIB[0], USD[0.00]                                                                                                                                                                     Yes

08076805                           USD[10.00]

08076812                           AVAX[0], BAT[1], BRZ[5], CUSDT[8], DAI[.44769055], DOGE[5], ETH[1.36277299], ETHW[0.00617618], MATIC[0.00007101], NFT (293662447286336642/Montreal Ticket Stub #221)[1], NFT           Yes
                                   (299241455692824313/Entrance Voucher #4646)[1], NFT (305725100568752906/FTX - Off The Grid Miami #2382)[1], NFT (307714755934748682/Saudi Arabia Ticket Stub #2006)[1], NFT
                                   (312077835587614642/Microphone #9453)[1], NFT (324285373976842428/France Ticket Stub #141)[1], NFT (351872975357476977/Good Boy #17786)[1], NFT (367935017818721132/Baku Ticket Stub
                                   #269)[1], NFT (375546012875091680/Romeo #2188)[1], NFT (465164908330546460/The Hill by FTX #613)[1], NFT (468253077813429895/FTX Crypto Cup 2022 Key #73)[1], SHIB[35], TRX[5.000001],
                                   USD[0.00], USDT[0.00000483]
08076841                           BTC[.0005086], CUSDT[8], DOGE[138.04361536], ETH[.00776275], ETHW[.00766699], EUR[13.94], KSHIB[390.06504334], SHIB[2218812.8843099], USD[70.43]                                       Yes

08076849                           USD[0.00]

08076851                           BAT[1.01509909], BTC[.00831561], CUSDT[1], ETH[.1164999], ETHW[.11537138], SOL[2.30948415], USD[0.00], USDT[1.08334596]                                                                 Yes

08076859                           DOGE[108.231902], USD[35.01]

08076873                           BRZ[1], CUSDT[1], DOGE[1], SOL[14.46788967], USD[0.00]

08076886                           ETH[1.29382742]

08076891                           USD[9.92]

08076901                           GRT[.1], USD[9.00]

08076907                           CUSDT[1], SOL[.30253533], USD[0.00]

08076917                           DOGE[1], LINK[.61293859], USD[0.01]                                                                                                                                                     Yes

08076924                           CUSDT[1], SOL[.21821352], USD[54.17]                                                                                                                                                    Yes

08076927                           SHIB[1], USD[3.48]                                                                                                                                                                      Yes

08076930                           BAT[12.08038649], BTC[.00030988], CUSDT[18], SHIB[1], TRX[1], USD[13.41]                                                                                                                Yes

08076938                           TRX[.00000024], USD[1.25]

08076942                           CUSDT[1], USD[0.00]                                                                                                                                                                     Yes

08076950                           CUSDT[3], DOGE[1], KSHIB[1382.24277174], USD[85.01]

08076958                           USD[0.01]

08076959                           NFT (538545320640780362/VanilliNFT)[1], SOL[0.05515904]

08076974                           USDT[0]
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08076983                              USD[0.06]

08076984                              BRZ[2], CUSDT[109.90822932], DOGE[177.59683381], SHIB[1], TRX[5], USD[1.08]                                                                                                           Yes

08076987                              BTC[.00007633], USD[5.42]                                                                                                                                                             Yes

08076991                              USD[0.00]                                                                                                                                                                             Yes

08076992                              SHIB[1], USD[0.00]                                                                                                                                                                    Yes

08077000                              ETH[.207792], ETHW[.207792], USD[8.65]

08077002                              USD[0.00]

08077004                              USD[65.32]                                                                                                                                                                            Yes

08077005                              USD[20.00]

08077024                              BRZ[1], CUSDT[11], DOGE[1094.17588592], ETH[.05022272], ETHW[.04959842], GRT[168.97423039], SHIB[18923568.28965707], SOL[1.19031743], TRX[535.61503814], USD[0.00]                    Yes

08077044                              CUSDT[1], LINK[92.92660037], SOL[16.0643345], USD[0.00]                                                                                                                               Yes

08077051                              BRZ[1], CUSDT[1], GRT[71.30728849], MATIC[106.4981968], USD[10.88]                                                                                                                    Yes

08077053                              BRZ[1], CUSDT[18], DOGE[4], USD[0.00]

08077061                              BTC[.00029043], CUSDT[1], USD[0.00]                                                                                                                                                   Yes

08077066                              BTC[.01823416]

08077073                              USD[0.00]

08077075                              CUSDT[1], USD[0.00]

08077079                              NFT (558735999641496925/Entrance Voucher #1295)[1]

08077080                              USD[0.00]

08077086                              USD[0.00]

08077092                              TRX[1768.3185], USD[0.07]

08077093                              ETH[.000403], ETHW[.000403], USD[0.40]

08077099                              SOL[.58064714], TRX[1], USD[0.00]                                                                                                                                                     Yes

08077101                              USD[24.20]

08077104                              USD[0.00], USDT[0.00000237]

08077115                              NFT (477142804632703057/Coachella x FTX Weekend 2 #13226)[1]

08077121                              NFT (480108758588874064/Sunset)[1]

08077143                              USD[10.83]                                                                                                                                                                            Yes

08077146                              USD[0.00], USDT[.0045599]                                                                                                                                                             Yes

08077147                              USD[3.00]

08077151                              CUSDT[2], USD[0.00]

08077169                              DOGE[1], USD[6.75]

08077175                              NFT (297818808039743550/Moving Apes #5)[1], NFT (383704813887673941/Moving Apes #2)[1], NFT (408799240405041092/Moving Apes #6)[1], NFT (413896747409205545/Moving Apes #8)[1], NFT
                                      (432453709725942992/Moving Apes #4)[1], NFT (452652002646040495/Moving Apes #3)[1], NFT (467502977979173893/Moving Apes #7)[1], NFT (472859156176651496/Moving Apes #10)[1], NFT
                                      (492126895422101317/Moving Apes #11)[1], NFT (522052463347813441/Moving Apes #9)[1], NFT (526631727656277510/Moving Apes)[1], USD[1.52], USDT[0]
08077186       Contingent, Disputed   USD[0.00]

08077196                              ETHW[.22021407], NFT (466694195880148319/FTX - Off The Grid Miami #3071)[1], USD[570.64]

08077203                              SOL[0]

08077206                              CUSDT[2], SHIB[1], TRX[569.44428628], USD[0.00]                                                                                                                                       Yes

08077207                              DOGE[1], MATIC[.00094818], SHIB[4], SOL[.00002282], USD[0.00]                                                                                                                         Yes

08077209                              CUSDT[1], USD[0.00]                                                                                                                                                                   Yes

08077211       Contingent, Disputed   BRZ[1], SHIB[8.59224391], USD[0.01]                                                                                                                                                   Yes

08077212                              SOL[19.84224], USD[1.17]

08077214                              CUSDT[1], SHIB[199720.39145196], SOL[.08564607], USD[0.00]

08077224                              NFT (456750200598444487/Black pencil oneiron #2)[1], NFT (530366759032650293/Black pencil oneiron)[1], USD[0.08]

08077226                              BTC[.00316272], ETH[.02], ETHW[.02], LTC[.36], SOL[.42], USD[12.60]

08077227                              BTC[.00034371], DOGE[13.18137718], USD[6.43], USDT[0]                                                                                                                                 Yes

08077229                              DOGE[1], SOL[.00002105], USD[0.00]                                                                                                                                                    Yes

08077230                              BTC[.00015735], USD[0.00]

08077231                              CUSDT[1], SHIB[228027.02259822], USD[0.00]                                                                                                                                            Yes

08077235                              ETH[.00210138], ETHW[.00210138], USD[0.00]

08077237                              USD[20.00]

08077256                              BTC[.03867941], SOL[4.54234917]

08077274                              BTC[.00012908]                                                                                                                                                                        Yes

08077276                              DOGE[1], SHIB[106810.47130714], USD[0.00]                                                                                                                                             Yes

08077277                              CUSDT[5], ETH[.17187075], ETHW[.17158972], SOL[1.95561407], USD[0.00]                                                                                                                 Yes

08077279                              USD[0.00]

08077280                              USD[1.07]

08077284                              BTC[.00016883], CUSDT[2], LTC[.04740883], USD[0.01]                                                                                                                                   Yes
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                                                                                                                                            Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08077288                              BTC[.2086564], ETH[3.006166], ETHW[3.006166], USD[32.82]

08077304                              DOGE[1], NFT (316832623117400134/Doak Walker's Playbook: Texas vs. SMU - November 1, 1947 #78)[1], SHIB[1], USD[15.45]                                                             Yes

08077313                              BTC[.00062693], CUSDT[1], DOGE[32.97656767], KSHIB[39.04885578], SHIB[1], TRX[19.48654609], USD[0.00], USDT[.99467878]                                                             Yes

08077317                              USD[0.19]

08077318                              DOGE[1], ETH[.01049436], ETHW[.01049436], USD[0.01]

08077323                              BTC[0], USD[0.00]

08077326                              SHIB[91500], SOL[.00475559], USD[0.13]

08077332       Contingent, Disputed   USD[0.00]                                                                                                                                                                          Yes

08077335                              CUSDT[1], DOGE[1], LINK[3.70269333], LTC[.9196153], USD[0.00]                                                                                                                      Yes

08077337                              AVAX[2.19746508], DOGE[2], MATIC[29.32313429], SHIB[6], TRX[3], USD[0.00]                                                                                                          Yes

08077339                              USD[50.00]

08077341                              CUSDT[2], KSHIB[4809.89098285], SHIB[4812319.53801732], USD[0.01]

08077344                              BRZ[1], GRT[1], USD[0.01]

08077349                              BRZ[1], BTC[.00335861], CUSDT[3], DOGE[502.68564245], ETH[.02254021], ETHW[.022262], USD[108.94]                                                                                   Yes

08077351                              USD[0.68]

08077352                              SOL[4.57743292], TRX[1], USD[0.00]                                                                                                                                                 Yes

08077363                              USD[0.25]

08077375                              BTC[.00193568], DOGE[1256.162], ETH[.022977], ETHW[.022977], LTC[.43], SHIB[7996000], USD[0.00]

08077391                              USD[21.51]                                                                                                                                                                         Yes

08077404                              DOGE[42790.167], USD[40.02]

08077405                              BRZ[2], BTC[.00151553], CUSDT[53], ETH[.05134182], ETHW[.05134182], SOL[2.13603006], TRX[500.11075248], USD[0.03]

08077408                              BTC[.0001574], USD[0.00]                                                                                                                                                           Yes

08077413                              NFT (517959835873028248/PixelTurtle#184)[1]

08077418                              BTC[0.00954846], KSHIB[9.99], NFT (360490386774356338/Imola Ticket Stub #1880)[1], TRX[88], USD[0.00]

08077421                              DOGE[1], LINK[13.12214812], USD[0.00]

08077425                              SHIB[1]

08077430                              GRT[1], USD[0.00]

08077432                              BRZ[1], CUSDT[1], DOGE[.00002755], USD[0.00]

08077435                              BTC[0], ETH[0], NFT (343927673922668794/employment #2)[1], NFT (353250688731165740/Mcdonalds #2)[1], NFT (402514086696704765/Mcdonalds)[1], NFT (410223331591049694/Mcdonalds
                                      #5)[1], NFT (433515575053157979/employment #4)[1], NFT (450464570498669161/Beaver 001)[1], NFT (487951938587443729/Beaver 004)[1], NFT (524073007668252679/Mcdonalds #4)[1], NFT
                                      (548359269902346142/employment #3)[1], NFT (556733940187571103/Mcdonalds #3)[1], SOL[0.01960000], USD[0.00], USDT[0.00000029]
08077455                              USD[3871.99], USDT[0.00000001]                                                                                                                                                     Yes

08077457                              USD[0.00]

08077459                              SHIB[3], USD[0.01]                                                                                                                                                                 Yes

08077465                              DOGE[1], SHIB[440077.46998141], USD[0.00]                                                                                                                                          Yes

08077466                              USD[0.00]

08077471                              USD[100.00]

08077475                              BRZ[20.68339066], BTC[.00010207], USD[0.00]                                                                                                                                        Yes

08077480                              USD[0.00]                                                                                                                                                                          Yes

08077488                              ETH[.00000001], ETHW[2.11186783], USD[0.00]                                                                                                                                        Yes

08077503                              MATIC[0.00013721], NFT (322980796507693364/Microphone #2537)[1]

08077511                              USD[0.00]

08077520                              USD[0.69]

08077521       Contingent, Disputed   ETH[0], ETHW[0], LTC[0], USD[0.00]

08077524                              DOGE[36.548], ETH[.004997], ETHW[.004997], SHIB[200000], USD[0.14]

08077529                              USD[991.99]

08077530                              DOGE[3401.85174645]

08077533                              USD[541.70]                                                                                                                                                                        Yes

08077536                              DOGE[1], SHIB[1000180.21265092], USD[44.50]

08077539                              ETH[.0008], ETHW[.0008], USDT[2.1310362]

08077541                              CUSDT[3], USD[81.69], USDT[0], YFI[.00000001]                                                                                                                                      Yes

08077556                              CUSDT[1], SOL[.09032471], USD[0.00]                                                                                                                                                Yes

08077567                              SOL[.1]

08077568                              SUSHI[2.05891042], USD[0.00]

08077569                              USD[54.18]                                                                                                                                                                         Yes

08077570                              CUSDT[10], LINK[2.46441341], MATIC[26.7219333], SOL[.40826977], TRX[1], USD[7.81]                                                                                                  Yes

08077576                              USD[0.00]

08077577                              MATIC[0]

08077594       Contingent, Disputed   USD[0.00]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08077605                           SOL[.98], USD[1.99]

08077613                           MATIC[0], SOL[0], USD[0.01], USDT[0]

08077614                           USD[0.00]

08077616                           SOL[.00824], USD[0.00]

08077617                           BTC[.00019529], CUSDT[4], KSHIB[680.33306774], LINK[1.14903433], LTC[.12973078], SHIB[738884.13381926], USD[0.27]                                                                    Yes

08077626                           BRZ[1], ETH[.00687371], ETHW[.00679163], SHIB[1], USD[0.00]                                                                                                                          Yes

08077627                           USD[0.00]

08077631                           USD[0.01]                                                                                                                                                                            Yes

08077638                           TRX[.000001], USD[0.00], USDT[0]

08077642                           CUSDT[13], DOGE[1], MATIC[0], TRX[.34125908], USD[24.46], USDT[0.00063817]

08077645                           USDT[0.00000179]

08077655                           BF_POINT[100], CUSDT[1], DOGE[1], ETH[.68359862], ETHW[.68331158], USD[9.71]                                                                                                         Yes

08077659                           USD[0.00], USDT[0]

08077660                           BRZ[1], DAI[.00017336], DOGE[3], MATIC[.04804916], NEAR[.23013919], SHIB[24971276.39932885], USD[0.00]

08077668                           USD[2.56]

08077681                           CUSDT[1], TRX[0], USDT[0]

08077682                           BAT[1], GRT[2], LINK[1], USD[26266.97], USDT[0.00002245]

08077683                           SHIB[1], SOL[.66916802], USD[0.00]                                                                                                                                                   Yes

08077687                           NFT (332865887174220987/Bahrain Ticket Stub #1737)[1]

08077688                           USD[0.00]

08077689                           BTC[.00000001], CUSDT[1], SHIB[0], USD[0.13]                                                                                                                                         Yes

08077690                           USD[35.01]

08077703                           BTC[.01038329], CUSDT[1], DOGE[1896.76106477], USD[0.00]

08077706                           DOGE[36.52300015], MATIC[17.01704347], USD[0.00], USDT[19.88815412]

08077712                           BTC[0], SOL[0.00000001], USD[0.00], USDT[0.52588800]

08077715                           CUSDT[4], TRX[1], USD[0.01]                                                                                                                                                          Yes

08077719                           USD[1062.33], USDT[0]                                                                                                                                                                Yes

08077726                           USD[28.96]

08077735                           BRZ[2], BTC[.00000001], CUSDT[4], DOGE[3], ETHW[.3986026], NFT (430822726825182037/Barcelona Ticket Stub #1320)[1], NFT (570655255854579415/Bahrain Ticket Stub #801)[1], SHIB[3],   Yes
                                   SOL[.00002872], TRX[1], USD[0.00]
08077738                           NFT (307179786675575505/Art of Color #7)[1], NFT (365304048078583563/Birds)[1], NFT (380151172404150709/bikini girl #3)[1], NFT (410277368196817667/Nature )[1], NFT
                                   (423273306529103529/bikini girl #2)[1], NFT (431809975572241747/bikini girl #1)[1], NFT (435261556705853436/bikini girl #4)[1], NFT (440895230530890170/happiness)[1], NFT
                                   (466017798631906509/Lake in Switzerland)[1], NFT (477635212283119284/Clouds)[1], NFT (481911357287243959/Symphony#41)[1], NFT (496207645900854849/feel the love)[1], NFT
                                   (504621999360221302/Art of Color #2)[1], NFT (526896310134068441/bikini girl #5)[1], USD[10.17], USDT[0]
08077745                           ETH[.02075098], ETHW[.02075098]

08077754                           MATIC[0.44809597], SOL[0], USD[0.00], USDT[0.00000001]

08077760                           USD[2.15]

08077762                           SOL[.00004935], USD[0.00]

08077763                           BTC[.00038628], CUSDT[1], USD[0.00]                                                                                                                                                  Yes

08077764                           SHIB[1700000], SOL[1.73], USD[496.43]

08077767                           BTC[.000095], ETH[.000927], ETHW[.072927], LTC[.00868], SOL[.00861], USD[246.11]

08077772                           SHIB[2155717.7510971], USD[0.00]                                                                                                                                                     Yes

08077789                           CUSDT[1], SHIB[1], USD[72.69]

08077792                           BTC[.00085649], ETH[2.062308], ETHW[.001308], USD[790.52], USDT[98.433744]

08077798                           USD[0.00]                                                                                                                                                                            Yes

08077800                           BTC[.00732059], TRX[1], USD[0.01]

08077802                           CUSDT[2], KSHIB[317.64415175], TRX[1], USD[0.00]                                                                                                                                     Yes

08077809                           SHIB[491125.98196101], TRX[1], USD[0.00]

08077820                           USD[2.67]

08077824                           BAT[1], BRZ[1], BTC[.0000219], GRT[4], SHIB[.00000005], TRX[1], USD[0.09]                                                                                                            Yes

08077829                           CUSDT[1], SHIB[420250.33197045], USD[0.00]                                                                                                                                           Yes

08077833                           ETH[.055944], ETHW[.055944], SOL[.999], USD[1.67]

08077834                           TRX[1], USD[0.01]                                                                                                                                                                    Yes

08077835                           USD[3.49]

08077845                           SOL[1.1685582], USD[0.00]

08077847                           USD[10.00]

08077861                           DOGE[1], SHIB[3765059.06338773], USD[0.00]                                                                                                                                           Yes

08077869                           SHIB[6100000], USD[0.42]

08077883                           USD[1.91], USDT[0.00000092]

08077893                           BTC[.00014689]
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                                                                                                                                            Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08077895                              BTC[.00007294], USD[0.00]                                                                                                                                                        Yes

08077902                              USD[0.00]

08077906                              USD[0.00]

08077929                              BTC[.00485], MATIC[9880.75644]

08077930                              TRX[.000001], USDT[1.67748]

08077931                              BTC[.00300651], CUSDT[2], DOGE[1], ETH[.04197971], ETHW[.04145987], LINK[3.61855794], USD[0.00]                                                                                  Yes

08077937                              SOL[0], USD[0.00]

08077949                              TRX[1], USD[0.00]

08077957                              CUSDT[1], SHIB[1746894.40993788], USD[10.00]

08077959                              KSHIB[5298.6], USD[0.51]

08077960                              BRZ[2], DOGE[2], SOL[.00022901], UNI[1.07023663], USD[0.00]                                                                                                                      Yes

08077963                              USD[474.92]                                                                                                                                                                      Yes

08077976                              GRT[1.00128843], SHIB[6552436.08549954], USD[0.02]                                                                                                                               Yes

08077982       Contingent, Disputed   BTC[0], USD[0.00]                                                                                                                                                                Yes

08077991                              BTC[.00016562], USD[0.00]                                                                                                                                                        Yes

08077994                              USD[1.00]

08077998                              SOL[2.1176]

08077999                              USD[1.21]

08078000                              ETHW[.0003406], KSHIB[2.82], USD[0.00]

08078001                              USD[6.33]

08078002                              BTC[0], DOGE[15247.70944371], SHIB[1], USD[0.02]

08078006                              ETH[0], SOL[.00000001]

08078013       Contingent, Disputed   USD[20.00]

08078021                              ETH[0], MATIC[0], SOL[1.82059670], UNI[15.8841], USD[1.03]

08078024                              CUSDT[2], KSHIB[431.41103765], SHIB[747141.99076568], USD[55.19]                                                                                                                 Yes

08078032                              DOGE[12879.53879412]

08078033                              DOGE[1], ETH[.00000001], USD[0.00]

08078034                              DAI[0], DOGE[1], USD[0.00]                                                                                                                                                       Yes

08078035                              NFT (537919470672052549/SOLYETIS #4402)[1]

08078055                              USD[0.00]

08078060                              NFT (382508704198301701/Future Millionaires Club-34)[1]

08078061                              BTC[.00002691], DOGE[0], USD[0.00]

08078065                              USD[0.00]

08078075                              USD[2.83]

08078082                              SOL[.40950161], TRX[1], USD[0.00]

08078100                              BTC[.00000092]                                                                                                                                                                   Yes

08078108       Contingent, Disputed   USD[0.49]

08078112                              BAT[11.86764236], BRZ[90.19919868], BTC[.00023066], CUSDT[8], DOGE[1], ETH[.00335652], ETHW[.00331548], GRT[8.92975218], LINK[.40464252], LTC[.06244255], MATIC[6.39598049],     Yes
                                      SHIB[4966696.78088422], SOL[.06721956], SUSHI[1.4424332], TRX[131.95676208], USD[0.00]
08078114                              USD[0.01]                                                                                                                                                                        Yes

08078117                              USD[531.12]                                                                                                                                                                      Yes

08078125                              TRX[278.721], USD[0.20]

08078138       Contingent, Disputed   BTC[0]                                                                                                                                                                           Yes

08078140                              CUSDT[2], USD[0.01]

08078166                              MATIC[66.27384128], SHIB[1], USD[0.00]

08078167                              ETH[.004914], ETHW[.004914], USD[2.53]

08078169                              SOL[0], USD[0.09], USDT[0.00000001]

08078172                              USD[50.01]

08078174                              CUSDT[2], ETH[.00308084], ETHW[.0030398], LINK[.6598746], SOL[.00000116], USD[0.00]                                                                                              Yes

08078177                              SOL[3.4875], USD[0.13]

08078179                              GRT[.01068041], NEAR[.00014651], SHIB[1], USD[0.00]                                                                                                                              Yes

08078210                              USD[236.26]

08078221                              SOL[.0015]

08078228                              ALGO[666.45726746], BRZ[8.52032695], CUSDT[24], DOGE[1014.82310281], ETH[1.0248632], ETHW[1.02443264], GRT[1], MATIC[402.67615171], SHIB[510106032.61711862], SOL[4.65449771],   Yes
                                      TRX[141.63042269], USD[0.00], USDT[2.13673732]
08078236                              ETH[.00000001], USD[0.00]

08078241                              SOL[0]

08078259                              BTC[.00046919], CUSDT[1], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08078265                              NFT (292559428142901170/Ape MAN#161)[1], NFT (293698635049324423/Ape MAN#131)[1], NFT (295618040627560127/Ukraine#4)[1], NFT (296036119847632224/Zebra Zombie Ape #3)[1], NFT
                                      (296927199777543556/Infected Ape#2)[1], NFT (297799778681689321/The Weird Apes #90)[1], NFT (305245570172729857/Laser Eye Ape#3)[1], NFT (307671523561159658/Ape MAN#125#4/10)[1],
                                      NFT (307719672716085380/Ape MAN#101)[1], NFT (308477115391872228/DevAngel Ape)[1], NFT (311376047833748288/Ape MAN#128)[1], NFT (312483422060160870/Ape MAN#79#10/10)[1], NFT
                                      (313316847384464553/Warriors of History#4)[1], NFT (314463017036568814/Ape MAN#125#9/10)[1], NFT (316767914423612480/Fantasy Girls#40)[1], NFT (319091736327425300/The Weird Apes
                                      #94)[1], NFT (320045164449720270/The Weird Apes #73)[1], NFT (321141429357368662/Fantasy Girls#032)[1], NFT (322800729403349225/Laser Eye Ape)[1], NFT (323041625251344431/Ape
                                      MAN#147)[1], NFT (324334432549770763/Warriors of History#5)[1], NFT (325537841661414833/Fantasy Girls#26)[1], NFT (328924125267222794/The Weird Apes #63)[1], NFT
                                      (329064095552667752/Shoto Ape)[1], NFT (330742468838172221/LAZY BITCOIN EYE MONKEY)[1], NFT (332756088206510296/Jackson Ape)[1], NFT (335796612951423247/Lazy Bitcoin
                                      Leopard)[1], NFT (336792867447169536/Ape MAN#125#10/10)[1], NFT (338806017649157301/Laser Eye Ape#2)[1], NFT (346799596691485143/Fantasy Girls#24 #2)[1], NFT
                                      (349216034647096385/Ape MAN#79#5/10)[1], NFT (350087448031407731/Ukraine#2)[1], NFT (351851010808759953/Ape MAN#137 #2)[1], NFT (351972780536249718/Ape MAN#136)[1], NFT
                                      (352565313023945759/Ape MAN#125#5/10)[1], NFT (353340663432439815/Nefertiti Coin#2/1000)[1], NFT (354372563058740039/Ape MAN#130)[1], NFT (357841362946533189/Fantasy
                                      Girls#99#1)[1], NFT (363155841452694195/Covid-19#Mask#1)[1], NFT (363573234967089225/Lava Ape)[1], NFT (364945083276323715/Ape MAN#44#1/10)[1], NFT (366675790286163882/Metaverse
                                      Universe#11)[1], NFT (367348832384554626/Ape MAN#100#1)[1], NFT (368449731125069968/Lucky Basketball Player)[1], NFT (373559431806328342/PunkMAN#3/50)[1], NFT
                                      (374203030418430009/The Weird Apes #92)[1], NFT (376354106962210718/The Weird Apes #57)[1], NFT (376482430145862648/ World of Crypto#1)[1], NFT (377285179215429938/Ukraine#4/10)[1],
                                      NFT (380825441928914513/Covid-19#Virüs#4)[1], NFT (385935859100628823/Fantasy Girls#18)[1], NFT (387240029333802057/Ape MAN#127)[1], NFT (389804126165518541/Ape MAN#172)[1], NFT
                                      (390644881712333908/Fantasy Girls#44 #2)[1], NFT (394477795688356058/Metaverse Universe#2)[1], NFT (395911060308502445/The Weird Apes #40)[1], NFT (398532656565985705/Alienz Ape)[1],
                                      NFT (398761632293980480/The Weird Apes #80)[1], NFT (398913073061580273/Fantasy Girls#051)[1], NFT (399559404412285250/APEFUEL by Almond Breeze #411)[1], NFT
                                      (401862580292938076/Ukraine#3)[1], NFT (406736239030899984/The Weird Apes #98)[1], NFT (409148773711736960/Ape MAN#45#10/10)[1], NFT (410738172205003014/Laser Ape)[1], NFT
                                      (410799244133980421/Laze Ape)[1], NFT (413247195517406969/Covid-19#Virüs#5)[1], NFT (414746322636078786/PunkMAN#5/50)[1], NFT (414969270632691157/Fantasy Girls#44)[1], NFT
                                      (420193217239041712/Fantasy Girls#47)[1], NFT (421891846913461579/Gangster Gorillas #808)[1], NFT (422580802212829072/The Weird Apes #65)[1], NFT (423578943196077781/Fantasy
                                      Girls#35)[1], NFT (427761022702587750/The Weird Apes #61)[1], NFT (427893020457672350/Warriors of History#1)[1], NFT (428881672711729642/Young Ape)[1], NFT
                                      (429348485104549983/Ukraine#10)[1], NFT (432052307421575108/Fantasy Girls#34)[1], NFT (433314036426035259/The Weird Apes #95)[1], NFT (435434702420624500/Ape MAN#100#2)[1], NFT
                                      (436475338270512052/Fantasy Girls#H.Q 3/1#100)[1], NFT (436847843886262476/Ape MAN#44 #2)[1], NFT (440318916570976849/Covid-19#Virüs#6)[1], NFT (440568387415983527/Lazy Boxer
                                      Leopard)[1], NFT (441900035500501366/Fantasy Girls#69#1)[1], NFT (442530023465466561/Fantasy Girls#38)[1], NFT (442925032057125529/FTX Crypto Cup 2022 Key #1025)[1], NFT
                                      (443832054776879107/Ape MAN#122)[1], NFT (444293385773308079/The Weird Apes #42)[1], NFT (447211653958443162/Ape MAN#156)[1], NFT (451007855859934005/Ape MAN#160)[1], NFT
                                      (451200394871134259/Ape MAN#171)[1], NFT (452122694205466005/Warriors of History#3)[1], NFT (452790620612918952/Nefertiti Coin#9/1000)[1], NFT (454112115706153082/The Hill by FTX
                                      #2351)[1], NFT (455050256640678190/Warriors of History#2)[1], NFT (457633357915596173/Nefertiti Coin#6/1000)[1], NFT (459079325493741314/Gangster Gorillas #1249)[1], NFT
                                      (459420877970667027/The Weird Apes #31)[1], NFT (459697961059107281/The Weird Apes #62)[1], NFT (460498069556028813/Nefertiti Coin#5/1000)[1], NFT (462230401184639146/Ape
                                      MAN#153)[1], NFT (463257614805837777/Covid-19#Mask#9)[1], NFT (463339453084896802/Fantasy Girls#4/100)[1], NFT (463551651922094170/The Weird Apes #33)[1], NFT
                                      (470110959153063734/Ape MAN#79#9/10)[1], NFT (477188079613102494/The Weird Apes #16)[1], NFT (479010848356153306/Ukraine#5/10)[1], NFT (481851729886851835/Covid-19#Mask#11)[1],
                                      NFT (483347316706292388/Hatake Ape)[1], NFT (483948485759254727/Fantasy Girls#22)[1], NFT (490650837344729416/Ape MAN#163)[1], NFT (491885710916803445/Ape MAN#159)[1], NFT
                                      (496263621358219139/Iron Ape)[1], NFT (498757730114185462/Fantasy Girls#24)[1], NFT (502322577560592891/The Weird Apes #96)[1], NFT (507790330471240338/Fantasy Girls#51)[1], NFT
                                      (508441459332163980/Fantasy Girls#27)[1], NFT (509544058357116415/The Weird Apes #47)[1], NFT (509631134455475371/The Weird Apes #97)[1], NFT (509772717862595711/Nefertiti
                                      Coin#8/1000)[1], NFT (512837199670658919/The Weird Apes #37)[1], NFT (514020722682304352/Nefertiti Coin#10/1000)[1], NFT (516430116395836061/Gangster Gorillas #8460)[1], NFT
                                      (518351215272266206/Treasure#1)[1], NFT (519700976874057642/Fantasy Girls#19)[1], NFT (523382756922020516/Covid-19#Mask#10)[1], NFT (524860460685199421/Metaverse Universe#2 #2)[1],
                                      NFT (526719785593263605/The Weird Apes #60)[1], NFT (529195227829516440/Fantasy Girls#31)[1], NFT (529415874035516696/Ape MAN#158)[1], NFT (530710107490962209/Ape
                                      MAN#79#7/10)[1], NFT (535564208274769332/Music Lover Ape)[1], NFT (536811242526230745/The Weird Apes #27)[1], NFT (537480889134721108/Marvel Loki)[1], NFT
                                      (541150641517225171/Ukraine#2/10)[1], NFT (545833976204030589/Ape MAN#147 #2)[1], NFT (554156877655261674/Ape MAN#162)[1], NFT (554539936826873757/Fantasy Girls#37)[1], NFT
                                      (559509383489047064/Fantasy Girls#50)[1], NFT (560614980883406067/Fantasy Girls#21)[1], NFT (560807081445427519/The Weird Apes #56)[1], NFT (561675748627287923/The Weird Apes
                                      #21)[1], NFT (564974551571237852/Marvel Thanos)[1], NFT (565865407343606471/Monkey Venom)[1], NFT (567735112025447028/Ukraine#3/10)[1], NFT (568927356763945518/NFT Energy
                                      Stones#3)[1], NFT (569825568385343697/Nefertiti Coin#3/1000)[1], NFT (570415407405321652/Dream Killer Ape)[1], NFT (572632123232451664/The Weird Apes #25)[1], NFT
                                      (574838943635960726/Lucky Jolly Tiger)[1], SOL[0.00820000], USD[0.00]
08078278                              BTC[.00496768], DOGE[1], ETH[.03483913], SHIB[9980963.90762021], SOL[1.42009873], TRX[131.10028641], USD[0.00]                                                                           Yes

08078285                              BTC[.00074499], CUSDT[1], USD[0.00]

08078294                              USD[0.00]

08078296                              USD[2.86], USDT[0]

08078303                              USD[0.00]

08078304                              BRZ[1], ETH[.04816323], ETHW[.04816323], USD[5.00]

08078319                              ETH[0], SHIB[11800000], SOL[0], USD[1.80]

08078321                              SHIB[203873.59836901], USD[0.00]

08078335                              SOL[.12503016], USD[0.00]

08078336                              USD[100.00]

08078345                              ETH[.09134286], ETHW[.09029263]                                                                                                                                                          Yes

08078352                              BTC[0], USD[0.00]

08078353                              CUSDT[2], GRT[.07282985], SHIB[99820.32341784], USD[0.03], USDT[29.24142054]

08078357                              CUSDT[1], DOGE[75.28660103], USD[0.00]

08078360                              CUSDT[1], SOL[10.95747467], USD[0.00]                                                                                                                                                    Yes

08078377                              USD[0.01]

08078379                              USD[0.00]

08078383       Contingent, Disputed   DOGE[1], USD[0.00]

08078386                              ETH[0], SOL[0.50668466], USDT[0]

08078387                              USD[0.00], USDT[0]

08078395                              TRX[.000001], USDT[0.00000133]

08078402                              USD[541.57]                                                                                                                                                                              Yes

08078405                              NFT (463991078274446897/Texture cracked meets FTX)[1], NFT (496559274391787368/Love)[1], USD[11.82]

08078407                              SOL[1.998], USD[218.76]

08078421                              CUSDT[1], SHIB[296033.15571343], USD[0.00]

08078424                              USD[13.73]

08078427                              CUSDT[7], ETH[.01321427], ETHW[.01321427], USD[0.00]

08078428                              BTC[.09944558], ETH[.88202949], ETHW[.88202949], USD[1.57]

08078429                              BTC[.23432857], SOL[80.12886299], USD[20.30]

08078430                              GRT[17.9829], USD[0.19]

08078433                              GRT[1], SHIB[9766390.92277406], TRX[1], USD[0.00]
West Realm Shires Services Inc.                                                        Case 22-11068-JTD      Doc F-3:
                                                                                                   Amended Schedule 1754      Filed
                                                                                                                       Nonpriority     06/27/23
                                                                                                                                   Unsecured           Page 973 of 1384
                                                                                                                                             Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08078435                              CUSDT[2], DOGE[2], GRT[1], TRX[1], USD[0.01]                                                                                                                                            Yes

08078444                              ETH[.00000001], ETHW[0], NFT (288303636308856740/ApexDucks Halloween #3082)[1], NFT (288610704107774444/Mech #1537)[1], NFT (289105400910165507/Miner Bot 526)[1], NFT
                                      (289183462594905681/ApexDucks #7524)[1], NFT (291228415254758535/Oink 113)[1], NFT (291831428346674891/Toasty Turts #0843)[1], NFT (291876423403961846/SolFractal #7738)[1], NFT
                                      (294986650641033166/Elysian - #3849)[1], NFT (295408978315837989/Cool Bean #3287)[1], NFT (295440562953325428/Boneworld #4286)[1], NFT (296781734330733311/Baddies #1035)[1], NFT
                                      (296794431869578587/Ghoulie #6936)[1], NFT (296992190519725349/Ghoulie #5875)[1], NFT (298019393132715342/SolFractal #9501)[1], NFT (299141685832593084/3D CATPUNK #6441)[1], NFT
                                      (300063343057883436/ApexDucks #2036)[1], NFT (300399819147980320/Marilyn Monroe #9)[1], NFT (301642457469292184/Eitbit Ape #2355)[1], NFT (302675372520239466/SolFractal #6731)[1],
                                      NFT (303293388958142208/SolFractal #8937)[1], NFT (303321114690274414/3D SOLDIER #584)[1], NFT (306126621144725560/Rat Bastard #103)[1], NFT (306252379136383151/Baddies #910)[1],
                                      NFT (306265924644608505/Cadet 749)[1], NFT (306669951589953839/Baddies #623)[1], NFT (306747339620316264/Marilyn Monroe #4)[1], NFT (308161512865749800/Deep #474)[1], NFT
                                      (308289645698378139/Settler #2557)[1], NFT (309057718944721675/Lunarian #3915)[1], NFT (310659421953828786/SolFractal #9644)[1], NFT (311456693215528995/Boneworld #7543)[1], NFT
                                      (311827586795491392/Metabaes #6369)[1], NFT (312283202256976411/Toasty Turts #4562)[1], NFT (312773675614871196/Baddies #2853)[1], NFT (312977954048175785/Toasty Turts #1531)[1],
                                      NFT (313078121427004428/Oink 734)[1], NFT (313087513769525266/PixelPuffins #2455)[1], NFT (313116736754053810/Animal Gang #24)[1], NFT (313899464096426418/Cool Bean #3519)[1], NFT
                                      (314195281223080510/Baddies #3748)[1], NFT (315321931760726341/DOTB #5416)[1], NFT (315367654736512242/David #1080)[1], NFT (315818198722718656/Oink 597)[1], NFT
                                      (316530888826301982/Miner Bot 230)[1], NFT (317731930051506518/ApexDucks Halloween #2350)[1], NFT (318119983473804462/SolFractal #722)[1], NFT (318424324095841367/ApexDucks
                                      Halloween #3047)[1], NFT (318543912673620380/Ghoulie #6917)[1], NFT (318632777279505075/2D SOLDIER #2380)[1], NFT (319555280113030846/Ghoulie #6676)[1], NFT
                                      (321681365449727712/Careless Cat #606)[1], NFT (322657258429113749/Solana Penguin #4081)[1], NFT (323205938434240818/Common Cryptogram)[1], NFT (323657890319600207/Deep #491)[1],
                                      NFT (323918631094775503/PixelPuffins #6023)[1], NFT (324130605770163469/Oink 667)[1], NFT (325280698784192798/Gangster Gorillas #9782)[1], NFT (325583211999602697/The Tower #335-
                                      11)[1], NFT (325734213375967046/Cadet 464)[1], NFT (326597717874304667/ApexDucks Halloween #365)[1], NFT (327197229081481078/Gangster Gorillas #2007)[1], NFT
                                      (327366469751423069/Toasty Turts #0389)[1], NFT (327398704325501642/Soulless #9993)[1], NFT (327764327339660687/Oink 3130)[1], NFT (328992226338558222/ApexDucks #5295)[1], NFT
                                      (329279839354722709/Ravager #1800)[1], NFT (329869223711019236/ApexDucks Halloween #360)[1], NFT (332481419026733252/PixelPuffins #4943)[1], NFT (332931261780710107/Rat Bastard
                                      #4448)[1], NFT (333290404396744857/ALPHA:RONIN #1266)[1], NFT (333299357005478593/Crazy Cat #4 #2)[1], NFT (333837411419393134/SolFractal #8399)[1], NFT (334517950904215115/Toasty
                                      Turts #4295)[1], NFT (334529593755599363/Entrance Voucher #23)[1], NFT (337457109335845681/Baddies #1834)[1], NFT (337995486434492133/SolDad #2126)[1], NFT
                                      (339242056344197969/SolanaDoge #3164)[1], NFT (339298850814840584/PixelPuffins #3566)[1], NFT (339321436787779353/Crazy Cat #8)[1], NFT (339333638887129526/Deep #627)[1], NFT
                                      (340929528591076331/Ghoulie #4845)[1], NFT (342781196438675082/Ravager #2023)[1], NFT (343026794440116718/Metabaes #7309)[1], NFT (343123652472695409/Oink 819)[1], NFT
                                      (343616053392556967/DOTB #3914)[1], NFT (343666868390466240/SolFractal #2540)[1], NFT (344688494179230607/Careless Cat #66)[1], NFT (345265797895475428/PixelPuffins #5702)[1], NFT
                                      (346106820671610696/Astral Apes #2252)[1], NFT (346472850038943716/Gangster Gorillas #9408)[1], NFT (347873511575171904/SolanaDoge #5074)[1], NFT (348304389698544923/Autumn 2021
                                      #744)[1], NFT (348844234247285460/Baddies #1286)[1], NFT (351057859795460075/Baddies #1354)[1], NFT (351228053078638167/SolFractal #1134)[1], NFT (351423652496155547/Solana Islands
                                      #583)[1], NFT (352374551333548288/ApexDucks Halloween #3207)[1], NFT (353045666816894507/Metabaes #7665)[1], NFT (353469086464288120/Marilyn Monroe #8)[1], NFT
                                      (353572020392581155/Oink 332)[1], NFT (354837523200204914/ApexDucks #6468)[1], NFT (356659041764618182/ApexDucks #4056)[1], NFT (357586179166736242/SolFractal #4639)[1], NFT
                                      (357677977984425463/SolDoge Strays #818)[1], NFT (359172035667001420/Metabaes #5798)[1], NFT (360414577947444353/ApexDucks Halloween #3166)[1], NFT (360598624034185676/Ghoulie
                                      #4130)[1], NFT (361092770236977881/DAGs #17295 1st Edition)[1], NFT (361203436154969677/SolFractal #5830)[1], NFT (361305132427157674/Metabaes #7430)[1], NFT
                                      (364195150172159349/Soulless #3644)[1], NFT (365163012232689554/ApexDucks #1194)[1], NFT (365224396505889410/ApexDucks Halloween #2889)[1], NFT (365927205294176139/Gangster
                                      Gorillas #4861)[1], NFT (365997768405341541/DOTB #7449)[1], NFT (366544931539493690/Toasty Turts #6042)[1], NFT (366850058849568041/Rat Bastard #3024)[1], NFT
                                      (368166880392018369/Marilyn Monroe #7)[1], NFT (368804107370747902/Mech #2973)[1], NFT (369962329719131920/Whales Nation #4314)[1], NFT (370043930528444299/Rox #108)[1], NFT
                                      (370621822763908571/DOTB #1747)[1], NFT (370762569685474678/Skeleton)[1], NFT (371139401692103381/Elysian - #1112)[1], NFT (371661925252868059/Boneworld #7050)[1], NFT
                                      (371710558601131826/ApexDucks Halloween #1471)[1], NFT (372472169312096176/Ghoulie #6678)[1], NFT (374190873987573501/PixelPuffins #7166)[1], NFT (374470846801158241/Toasty Turts
                                      #1506)[1], NFT (374530825682559158/Ghoulie #2736)[1], NFT (375620405076974426/Baddies #4032)[1], NFT (376391392636833956/Baddies #110)[1], NFT (377660578961120944/Miner Bot 24)[1],
                                      NFT (379945446957464043/Solana Islands #572)[1], NFT (380100873320426818/Marilyn Monroe #6)[1], NFT (380232844038311127/Ravager #1756)[1], NFT (380749781796069838/Ravager #2053)[1],
                                      NFT (380926615222203951/Rogue Circuits #4912)[1], NFT (381641565371347590/ApexDucks #4750)[1], NFT (381959507245936806/Gangster Gorillas #3425)[1], NFT
                                      (382497046687513976/PixelPuffins #4277)[1], NFT (382574599973705294/Baddies #754)[1], NFT (382643260570728861/Oink 239)[1], NFT (382948016648448456/DOTB #6219)[1], NFT
                                      (383234330973121305/ApexDucks #6455)[1], NFT (383542360363442165/Ravager #1766)[1], NFT (383860430726219004/Rat Bastard #554)[1], NFT (384071883157486277/Ghoulie #7138)[1], NFT
                                      (384300208011900907/Soulless #8394)[1], NFT (384529929374940770/The Tower #277-14)[1], NFT (384559040678006951/ApexDucks Halloween #2774)[1], NFT (385359338524733841/Oink 4670)[1],
                                      NFT (385492760480534455/Solana Islands #1008)[1], NFT (386170560001206863/ApexDucks Halloween #3051)[1], NFT (386242881277797210/Ghoulie #0264)[1], NFT (386857527367080868/DOTB
                                      #5099)[1], NFT (387284116967954100/Solbucks Brew Club #239)[1], NFT (387546463286119105/Ravager #1980)[1], NFT (389156177923761274/Elysian - #2021)[1], NFT (390015336933073310/DAGs
                                      #25176 1st Edition)[1], NFT (390300504159229207/Inaugural Collection #238)[1], NFT (391760117861060060/ApexDucks Halloween #2456)[1], NFT (391901907588433387/Ravager #1394)[1], NFT
                                      (392694994759476748/APEFUEL by Almond Breeze #245)[1], NFT (392735394875890783/Baddies #1112)[1], NFT (393159815169694399/SolanaDoge #1590)[1], NFT (393205419115986863/Baddies
                                      #2161)[1], NFT (395198277794093397/Oink 1344)[1], NFT (396489272631111383/Space Bums #8479)[1], NFT (397911439895229056/Oink 849)[1], NFT (398588551125987853/PixelPuffins #4499)[1],
                                      NFT (398627734653011452/ApexDucks Halloween #2465)[1], NFT (399223225329827417/3D CATPUNK #4933)[1], NFT (399280272960471622/PixelPuffins #5983)[1], NFT
                                      (399333892114119336/Ravager #1976)[1], NFT (399715188250502378/Ravager #1990)[1], NFT (401100968407337981/Red Rose)[1], NFT (402787387242357612/Gangster Gorillas #7637)[1], NFT
                                      (403965976906475558/Oink 488)[1], NFT (406614615674057713/#593 Inverse Bear)[1], NFT (406828758718585153/SolFractal #2480)[1], NFT (407043843868208902/Ghoulie #4162)[1], NFT
                                      (408656769010094779/Nifty Nanas #6205)[1], NFT (409044923374659265/ApexDucks Halloween #98)[1], NFT (409561261961754717/Common Cryptogram)[1], NFT (410985148539533382/Solana
                                      Islands #1470)[1], NFT (411027144288138886/SolFractal #4619)[1], NFT (411095540257663858/Baddies #2181)[1], NFT (411125772178177429/Deep #136)[1], NFT (411864531689067649/Soulless
                                      #8892)[1], NFT (412353911207682114/DAGs #12560 1st Edition)[1], NFT (413509852363720069/ApexDucks Halloween #1769)[1], NFT (414924384792362198/Toasty Turts #4811)[1], NFT
08078458                              NFT (408600936940565732/2974 Floyd Norman - OKC 4-0023)[1], NFT (458529945988550236/The 2974 Collection #0708)[1], NFT (525703452862731989/Birthday Cake #0708)[1], USD[1.06]

08078463                              ETH[0], ETHW[0], SOL[0]

08078469                              BCH[.03690323], SUSHI[11], TRX[500], USD[0.38]

08078474                              BTC[0], SOL[0.00084510], USD[0.20], USDT[0.00054094]

08078475                              CUSDT[2], USD[0.00]

08078490                              CUSDT[1], SOL[1.15443069], USD[0.00]                                                                                                                                                    Yes

08078493                              USD[1.82]                                                                                                                                                                               Yes

08078495                              USD[2.89]

08078498                              USD[6.54]

08078503                              SHIB[937746.10913182], TRX[1], USD[103.02]

08078532                              AAVE[.28971], BTC[.0000908], ETH[.000388], ETHW[.000388], LINK[68.78], MATIC[139.85], SHIB[300000], SOL[.00922], SUSHI[8.5], TRX[3111.085], USD[15877.69], USDT[0.41020326]

08078533                              BTC[0], USD[0.00]

08078544                              BTC[.00179244], DOGE[125], ETH[.0079928], ETHW[.0079928], SOL[.119892], USD[0.14], YFI[.001]

08078549                              USD[150.00]

08078552                              USD[0.00]

08078555                              CUSDT[4], DOGE[1], SOL[4.49226654], TRX[1], UNI[1.23999042], USD[0.00]                                                                                                                  Yes

08078560                              CUSDT[5], SHIB[2], USD[0.01]                                                                                                                                                            Yes

08078568                              NFT (337767070263901631/Lightness #02)[1], NFT (470049432217076866/Lightness #01)[1]

08078570                              BAT[1], BTC[.00000082], DOGE[1], ETH[.00000056], ETHW[.08326646], LINK[1.00874014], SHIB[1], SUSHI[1.00107235], TRX[1], USD[0.00]                                                       Yes

08078576                              MATIC[.99], USD[39.43]

08078577                              USD[0.00], USDT[0]

08078578       Contingent, Disputed   USD[4.00]

08078597                              NFT (393829449833744921/Chili Cowboy #79)[1], NFT (482655184971183910/Swaga Bears #1757)[1], USD[0.00]

08078598       Contingent, Disputed   BTC[.00233186], CUSDT[2], USD[21.65]                                                                                                                                                    Yes
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08078606                              DOGE[1], SOL[1.34673534], USD[0.00]                                                                                                                                                  Yes

08078615                              BRZ[2], BTC[.00683661], DOGE[3], ETH[.07078368], ETHW[.06990576], MATIC[520.44019286], SHIB[23], TRX[8], USD[213.06]                                                                 Yes

08078617                              CUSDT[1], DOGE[164.62679359], USD[0.01]                                                                                                                                              Yes

08078618                              AAVE[.11686], BTC[.001672], DOGE[842.662], ETH[.614331], ETHW[.614331], GRT[352.068], KSHIB[17136.49], MATIC[826.2], SHIB[13058900], SOL[15.89213], SUSHI[232.1415], TRX[16.087],
                                      USD[0.63], WBTC[.0007923]
08078623                              USD[10.00]

08078624                              BTC[0], CUSDT[0], DOGE[0], ETH[0], LTC[0], PAXG[0], TRX[1.216686], USD[0.00]                                                                                                         Yes

08078653                              DOGE[1], NFT (395973435358956843/Markers #3)[1], NFT (455473966128633396/Space Bums #4189)[1], NFT (492286669194904751/Eitbit Ape #6800)[1], NFT (497589284789126507/LightPunk       Yes
                                      #1830)[1], SHIB[7628318.65099116], TRX[1], USD[0.00], USDT[1.05115569]
08078656                              USD[541.69]                                                                                                                                                                          Yes

08078665       Contingent, Disputed   USD[0.00]

08078676                              ETH[0.01653667], ETHW[0.01653667], USD[0.00]

08078683                              BTC[.00454771], ETH[.02937708], ETHW[.02937708], USD[0.00]

08078689                              TRX[0]

08078690                              AAVE[.03435121], BAT[10.0160725], CUSDT[1], DOGE[41.63875917], GRT[9.58828644], MATIC[6.56713838], MKR[.00365816], SHIB[219751.6579983], SOL[.04642039], SUSHI[.95335054], TRX[1],   Yes
                                      USD[10.83]
08078691                              DOGE[1], TRX[4533.83103916], USD[0.01]

08078693                              CUSDT[1], MATIC[62.56917838], USD[0.00]                                                                                                                                              Yes

08078694                              USD[539.54]                                                                                                                                                                          Yes

08078697                              ETH[0], ETHW[0], SOL[0], USD[0.00]

08078700                              CUSDT[1], TRX[475.01614443], USD[0.00]                                                                                                                                               Yes

08078714                              AUD[0.00], AVAX[2.79832347], BRZ[2.00356381], BTC[.0077051], CHF[0.00], CUSDT[13.00440983], DOGE[813.8641466], ETH[.19061164], ETHW[.1903924], EUR[0.00], GBP[0.00],                 Yes
                                      LINK[6.04378543], MATIC[34.04583094], SHIB[2190347.01703015], SOL[.00002193], TRX[871.7384371], USD[0.00], USDT[0]
08078717                              ETH[0], NFT (531861713060864842/Finn Voxi)[1], USD[0.00]                                                                                                                             Yes

08078724                              ETHW[2.527236], USD[198.64]

08078732                              USD[0.00]

08078738                              CUSDT[1], SHIB[1976241.65299866], USD[0.00]                                                                                                                                          Yes

08078739                              USD[4.41]

08078747                              SOL[.00612], USD[0.00]

08078749                              CUSDT[1], SOL[.98313916], USD[0.00]

08078757                              USD[4.23], USDT[0]

08078758                              CUSDT[1], DOGE[24.08320483], SHIB[405236.52040317], USD[0.00]                                                                                                                        Yes

08078768                              NFT (463192564505697380/BANANA #40)[1], USD[0.00]                                                                                                                                    Yes

08078769                              USD[1.45]

08078776                              DOGE[8.79388324], MKR[.00097815], USD[0.00], USDT[0.00000001]

08078786                              USD[10.83]                                                                                                                                                                           Yes

08078792                              USD[0.01]                                                                                                                                                                            Yes

08078794                              CUSDT[1], USD[0.00]                                                                                                                                                                  Yes

08078796                              SHIB[0], SOL[0], USD[0.00]

08078798                              CUSDT[1], DOGE[42.4430725], SHIB[614578.09981371], USD[0.00]                                                                                                                         Yes

08078806                              BTC[0], USD[0.00]                                                                                                                                                                    Yes

08078809                              NFT (525863396155368559/FTX - Off The Grid Miami #191)[1]

08078811                              CUSDT[2], ETH[.00000007], ETHW[.00000007], SHIB[3], SOL[.00000358], USD[0.16]                                                                                                        Yes

08078816                              SOL[.00037807], TRX[0], USD[0.00]

08078822                              AAVE[.00359], AVAX[.09266], BTC[0.00005080], ETH[.000205], ETHW[.000205], GRT[.962], LINK[.059], LTC[.0077], SHIB[95000], TRX[.8496], USD[19.41]

08078833                              DOGE[1], ETH[.00000106], ETHW[.11522043], USD[0.00]                                                                                                                                  Yes

08078835                              BTC[.096], ETH[1.673699], ETHW[1.485699], USD[8.65]

08078838                              NFT (438589530514238641/Shannon Sharpe's Playbook: Kansas City Chiefs vs Denver Broncos - October 4, 1992 #75)[1], USD[5.42]                                                         Yes

08078845                              SOL[.00003596], USD[0.00]

08078857                              DOGE[2162.05993874], TRX[1], USD[0.25]                                                                                                                                               Yes

08078859                              USD[0.00], USDT[0.00000192]

08078861                              BTC[.00030635], CUSDT[1], USD[0.00]                                                                                                                                                  Yes

08078865                              NFT (502896856802791911/Hall of Fantasy League #257)[1]

08078870                              BTC[.0001], USD[93.49]

08078871                              CUSDT[1], UNI[19.29624839], USD[0.00]

08078877                              USD[0.00]

08078885                              LTC[.00822355], USD[0.01]                                                                                                                                                            Yes

08078886                              CUSDT[5], DOGE[.01932676], SHIB[47299615.45247225], TRX[4], USD[0.00], USDT[1.08206062]                                                                                              Yes

08078887                              SOL[1.00000001], USD[5.25]

08078893                              SOL[.00006854], USD[0.00]

08078896                              BTC[.0012334], DOGE[2], ETH[.01372555], ETHW[.01355847], LINK[2.94794721], LTC[.36110962], SHIB[1], SOL[.40965153], TRX[3], UNI[.00677175], USD[0.00], USDT[0]                       Yes
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                                                                                                                                         Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08078905                           TRX[.000001], USDT[10]

08078907                           DOGE[1], TRX[1], USD[0.00]

08078910                           BTC[.00305895], CUSDT[4], ETH[.02471468], ETHW[.02471468], LTC[1.06863715], USD[0.00]

08078912                           DOGE[114.957], SHIB[34440271.3342598], UNI[5.8944], USD[6.10]

08078913                           USD[5.42]                                                                                                                                                                              Yes

08078914                           NFT (462766934174660993/Sigma Shark #5742)[1], USD[0.90]

08078915                           BTC[.00015308], DOGE[39.2223033], SHIB[199600.79840319], USD[0.00]

08078916                           ETH[0], USD[0.00]

08078919                           USD[1.08]                                                                                                                                                                              Yes

08078921                           USD[7.00]

08078922                           USD[0.96]                                                                                                                                                                              Yes

08078923                           ETH[0], SHIB[0], USD[0.08]

08078926                           SOL[2.15895454]

08078929                           BTC[.00162944], CUSDT[1], USD[0.01]                                                                                                                                                    Yes

08078938                           CUSDT[1], DOGE[85.80992682], TRX[203.2214222], USD[0.00]                                                                                                                               Yes

08078940                           USD[4.39]                                                                                                                                                                              Yes

08078958                           AAVE[.00501], AUD[1.66], AVAX[110.1491], BTC[.0000882], ETH[.409315], ETHW[.000126], EUR[1.07], TRX[.817], USD[2.02], USDT[0]

08078967                           BRZ[1], CUSDT[5], DOGE[1], GRT[.00206137], LTC[.00001099], SHIB[5566333.07761539], TRX[1], USD[0.00]                                                                                   Yes

08078975                           BRZ[1], CUSDT[2], ETH[.04249058], ETHW[.04249058], LINK[1.69422032], MATIC[22.79304828], USD[0.00]

08078977                           USD[25.00]

08078987                           NFT (324139480970173278/Coachella x FTX Weekend 2 #29307)[1]

08078993                           NFT (341003415986769663/FTX Crypto Cup 2022 Key #2388)[1], NFT (472802863087835423/Romeo #220)[1], USD[874.64], USDT[0]                                                                Yes

08078996                           AAVE[.008], BAT[.583], BTC[.08109667], ETH[.69606945], ETHW[0.69606944], LINK[17.9813], MATIC[299.77], SOL[6.02649], SUSHI[67.5], UNI[27.6555], USD[0.00], USDT[.0034328], YFI[.024]

08078997                           AAVE[1.23102827], BRZ[1], DOGE[1], MATIC[149.07073171], SOL[1.61014712], TRX[1]                                                                                                        Yes

08078998                           USD[2.72]

08079000                           USD[2.12]

08079001                           ETH[.47431744], ETHW[.47431744], NFT (292435140241611819/Entangled Particles #4)[1], NFT (297673785225516418/Entangled Particles #2)[1], NFT (331304201321646261/Entangled Particles
                                   #17)[1], NFT (337360625934363772/Entangled Particles #12)[1], NFT (366268713249094749/Entangled Particles #6)[1], NFT (369155362922238615/Entangled Particles #5)[1], NFT
                                   (400738936265512885/Entangled Particles #14)[1], NFT (403455770619219097/Entangled Particles #15)[1], NFT (413404922524051424/Entangled Particles #3)[1], NFT
                                   (453151926044373244/Entangled Particles #13)[1], NFT (484997656275057189/Entangled Particles #20)[1], NFT (527869773252718826/Entangled Particles #18)[1], NFT
                                   (545365856801426054/Entangled Particles #7)[1], NFT (573272392466076351/Entangled Particles #11)[1], USD[85.16], USDT[99.75]
08079017                           SOL[0], USD[0.00]

08079021                           NFT (332149721487802158/First Exchange Partnership #2)[1], NFT (359351419755945385/Abstratica Partnership #3)[1], NFT (383111409262438125/Abstratica Partnership )[1], NFT
                                   (451045207241119777/Abstratica Partnership #2)[1], NFT (504732865657451332/First Exchange Partnership )[1], SOL[.07]
08079031                           TRX[2], USD[0.01]                                                                                                                                                                      Yes

08079036                           BTC[.00009269], LINK[.0902], USDT[1.1649369]

08079039                           CUSDT[5], SHIB[7027256.00226215], USD[0.31]                                                                                                                                            Yes

08079053                           AVAX[10.752], BTC[.0962678], ETH[1.690752], ETHW[2.108012], LINK[58.9396], LTC[.05596], MATIC[3213.874], SOL[29.42194], USD[251.69], USDT[3.04053375]

08079054                           USD[0.88]

08079062                           EUR[0.00]

08079068                           AVAX[17.9], USD[0.67], USDT[.1]

08079070                           BTC[.00811863], CUSDT[1], DOGE[1], ETH[.11367936], ETHW[.1125626], SOL[2.25580361], TRX[1], USD[0.00]                                                                                  Yes

08079074                           CUSDT[2], DOGE[1], LINK[.07436049], SHIB[197782.89240125], SOL[.05123477], TRX[197.0249416], USD[7.18]                                                                                 Yes

08079085                           USD[6.97]

08079086                           BTC[0], ETH[0], NFT (382598160462044694/Australia Ticket Stub #797)[1], SHIB[0], USD[0.28]                                                                                             Yes

08079087                           CUSDT[3], DOGE[537.80561106], SHIB[1891254.39315575], TRX[71.3424866], USD[0.01]                                                                                                       Yes

08079098                           USD[1083.37]                                                                                                                                                                           Yes

08079099                           CUSDT[1], SOL[1.1446839], USD[0.00]                                                                                                                                                    Yes

08079106                           DOGE[254.7922717], SOL[.37], USD[0.20]

08079107                           BTC[0], ETH[0], SOL[0], USD[0.00]

08079112                           TRX[.000001]

08079124                           TRX[1], USD[0.00]

08079126                           USD[0.00], USDT[0]

08079134                           DOGE[1], SHIB[3], TRX[3], USD[0.01], USDT[0]

08079136                           BTC[.0083], USD[0.82]

08079141                           BTC[0], USD[0.00]                                                                                                                                                                      Yes

08079145                           USD[0.00]

08079160                           USD[0.02]                                                                                                                                                                              Yes

08079163                           BCH[0], BTC[0], DOGE[0], ETH[0], ETHW[0], KSHIB[0], MKR[0], USD[0.00], USDT[1.17146214], YFI[0]                                                                                        Yes

08079176                           CUSDT[2], SHIB[2025192.49927615], USD[0.00]                                                                                                                                            Yes

08079193                           BTC[0.00004431], DAI[.04165682], ETH[.005994], ETHW[.005994], USD[1.20]
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                                                                                                                                            Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08079210                              BTC[0], DOGE[0], ETH[0], LTC[0], MATIC[0], SHIB[0], SOL[0], USD[0.00]                                                                                                                      Yes

08079239                              CUSDT[1], ETH[.02551238], ETHW[.02519751], USD[0.00]                                                                                                                                       Yes

08079243                              SOL[4.80784], USD[0.61]

08079274                              BTC[.0026], LINK[1], USD[629.47]

08079279                              USD[1.08]                                                                                                                                                                                  Yes

08079296                              SHIB[61358.75263238], USD[0.00]                                                                                                                                                            Yes

08079304                              DOGE[55.40794392], USD[0.00]

08079305                              DOGE[1], TRX[1], USD[0.01]                                                                                                                                                                 Yes

08079306                              BTC[.00000001], CUSDT[13], DOGE[1], GRT[.0010259], TRX[1], USD[0.00]                                                                                                                       Yes

08079310                              USD[24.21]

08079314                              USD[6.00]

08079315       Contingent, Disputed   USD[0.00]

08079327                              NFT (526552815367784527/The Hill by FTX #501)[1]

08079334                              USD[0.00]

08079335                              CUSDT[1], KSHIB[354.42027652], USD[0.00]                                                                                                                                                   Yes

08079342                              CUSDT[1], TRX[1], USD[0.20]

08079347                              USD[531.44]                                                                                                                                                                                Yes

08079348                              BAT[0], LTC[0.71035942], SOL[2.63322792], UNI[4.67060856]

08079354                              SOL[.00975], USD[2.08]

08079371                              USD[0.28]                                                                                                                                                                                  Yes

08079374                              BAT[2.00962956], DOGE[2], GRT[1.00014997], TRX[1], USD[0.00]                                                                                                                               Yes

08079388                              USD[0.96]

08079391                              CUSDT[1], GRT[342.75170451], USD[424.64]                                                                                                                                                   Yes

08079392                              DOGE[21.4328754], ETH[.00115276], ETHW[.00113907], SHIB[422098.69973488], TRX[99.66378232], USD[0.00]                                                                                      Yes

08079403                              CUSDT[1], SOL[.71743521], USD[0.00]                                                                                                                                                        Yes

08079405                              SOL[4.81518], USD[54.20]

08079408                              USD[1.13]

08079414                              BRZ[1], CUSDT[2], USD[0.01]                                                                                                                                                                Yes

08079415                              KSHIB[194.99407315], USD[0.00]

08079416                              BTC[.00004592], ETH[.00041492], ETHW[.00041492], USD[7.54], USDT[0]                                                                                                                        Yes

08079420                              SHIB[1], USD[0.00]                                                                                                                                                                         Yes

08079424                              ETH[.00231706], ETHW[.0022897], SHIB[210892.71687958], SOL[.0461389], USD[0.00]                                                                                                            Yes

08079429                              BRZ[1], BTC[.00000011], ETH[.00000051], ETHW[.05551228], SHIB[3], SOL[.00001127], TRX[1], USD[287.82], USDT[1.07852874]                                                                    Yes

08079431                              AAVE[8], BTC[.08851583], ETH[1.0001849], ETHW[1.0001849], LINK[84.12001], MATIC[1368.3185], SOL[43.818084], USD[5004.35]

08079436                              CUSDT[1], DOGE[1], ETH[0.00000036], ETHW[0.00000036], USD[0.01]                                                                                                                            Yes

08079439                              CUSDT[1], LTC[0], MATIC[.57712528], TRX[1], USD[0.00]                                                                                                                                      Yes

08079444                              USD[0.00]

08079448                              CUSDT[10], DOGE[0], SHIB[1], SOL[0], SUSHI[0], TRX[3], USD[0.01]                                                                                                                           Yes

08079453                              USD[15.50]                                                                                                                                                                                 Yes

08079456                              ETH[.00719357], ETHW[.00719357], LTC[7.051], SHIB[37217330.82360524], SOL[0.00000011]

08079461                              BTC[.00002607], USD[5007.57]

08079463                              SHIB[2], USD[346.18]

08079467                              NFT (505065096744744810/Founding Frens Lawyer #442)[1], SHIB[1], SOL[.07348443], USD[0.02]                                                                                                 Yes

08079475       Contingent, Disputed   USD[0.16]                                                                                                                                                                                  Yes

08079476                              SOL[.00981], USD[0.34]

08079479                              NFT (303272498015711928/Exiled Alien #318)[1], NFT (355059702292842617/Exiled Alien #300)[1], NFT (455725513660939754/Exiled Alien #778)[1], NFT (463465073591105233/Austria Ticket Stub
                                      #183)[1], TRX[.000006], USD[0.00], USDT[.00000001]
08079481                              SHIB[417491.16274789], USD[0.01]                                                                                                                                                           Yes

08079482                              BTC[.00358644], DOGE[2044.05709294], USD[0.00]                                                                                                                                             Yes

08079490                              CUSDT[2], USD[0.01], USDT[0]

08079491                              CUSDT[1], GRT[19.9523279], USD[0.00]                                                                                                                                                       Yes

08079493                              CUSDT[40], DOGE[49.25221525], ETHW[.60855031], SHIB[206481.01360253], SOL[.00017425], TRX[9], USD[0.00]                                                                                    Yes

08079495                              BTC[.00927811], SHIB[1], SOL[2.79504161], TRX[1], USD[541.17]                                                                                                                              Yes

08079501                              BAT[1.00687267], BTC[.01513673], CUSDT[3], MATIC[8.59141438], PAXG[1.07438894], SHIB[31181.23352013], TRX[10434.3086595], USD[0.01]                                                        Yes

08079502                              SHIB[399600], SOL[1], USD[6.50]

08079511                              USD[2.79]
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                                                                                                                                         Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08079515                           NFT (288588364007417904/1200m x 0.90 = 1080 (m²))[1], NFT (290620987218499470/Sword of the King’s)[1], NFT (294927114236732807/1800m x 0,90 = 1620 (m²))[1], NFT
                                   (305623399336119502/Jeff Bezos Medallion)[1], NFT (307869044664352413/1000 m x 0.40 = 400 (m²))[1], NFT (314267781101773100/1800m x 0,90 = 1620 (m²) #2)[1], NFT
                                   (316458411934732774/Drawing #2)[1], NFT (318089746958139055/Modern House #9)[1], NFT (319422094726184898/1060m x 0,40 = 424 (m²))[1], NFT (320044793175384579/Mini House #9)[1], NFT
                                   (322087734944590973/Mini House #8)[1], NFT (328389414579083769/Natalia #2)[1], NFT (328672205790192776/Drawing #1)[1], NFT (336732955822316339/Modern House #5)[1], NFT
                                   (341037778966196187/Elon Musk Medallionn)[1], NFT (341682887709098186/Natalia #21)[1], NFT (344362141792913907/Natalia #13)[1], NFT (345836810336715149/1000m x 0,60 = 600 (m²))[1],
                                   NFT (347745600886205940/Natalia #1)[1], NFT (349368518866628514/Metaverse House )[1], NFT (351647288011071466/1500m x 0.80 = 1200 (m²))[1], NFT (353887017731461633/Natalia #5)[1], NFT
                                   (354461757434127140/Metaverse House #5)[1], NFT (361181970771142440/1100 m x 0.60 = 660 (m²))[1], NFT (362510780538720502/Donald Trump Medallion)[1], NFT
                                   (367049959306913703/Modern House #10)[1], NFT (368001204724326835/Cristiano Ronaldo Medallion)[1], NFT (370148986379000876/Abraham Lincoln Medallionn)[1], NFT
                                   (371276423677501138/Sword of the Sun)[1], NFT (372179727503122087/Joe Biden Medallionn)[1], NFT (373328306559705418/ELON MUSK (LEGENDARY RARE))[1], NFT
                                   (374991258143350695/Snoop Dogg Medallionn)[1], NFT (376200323139954854/Barack Obama Medallionn)[1], NFT (378279063278289035/Bay Simpleton Ape #21)[1], NFT
                                   (381638597670741039/Metaverse House #6 Rare)[1], NFT (387903662022212752/Sword of the Winter King)[1], NFT (396072352822428540/Sword of the Dragon)[1], NFT (396400434745492389/
                                   Metaverse House #2 (Ultra Rare))[1], NFT (398043035761726963/Natalia #10)[1], NFT (402206730287470478/Modern House #8)[1], NFT (403723332850889880/Elon Musk Medallionnn)[1], NFT
                                   (405744450393683602/Metaverse House #3)[1], NFT (407772804570554074/Statue #1)[1], NFT (408426301103391881/1100 m x 0.70 = 770 (m²) #2)[1], NFT (415306191806176689/1000m x 0,30 =
                                   300 (m²) #2)[1], NFT (415374218864585558/Natalia #14)[1], NFT (417002079813098083/Sword of the Queen)[1], NFT (417094409608951464/Villa House)[1], NFT (417334748035182394/1000m x
                                   0,80= 800 (m²) )[1], NFT (423656868158415108/2000m x 50 = 1000 (m²) )[1], NFT (424716126129932851/Sword of the Octopus)[1], NFT (425880985438126697/Mini House #5)[1], NFT
                                   (430405652237248368/Mini House #7)[1], NFT (431963053418161220/Sword of the Green Valley)[1], NFT (436734311864898293/Cristiano Ronaldo Medallionn)[1], NFT
                                   (444028117153400147/Metaverse House #4)[1], NFT (448373846779670838/Mini House #10)[1], NFT (448435319180176781/Lionel Messi Medallion)[1], NFT (449347009274351545/Sword of the
                                   Hobbit)[1], NFT (451814042563857782/Sword of the Moon)[1], NFT (469042028613092389/ Metaverse House #3 (Ultra Rare))[1], NFT (474569537885002865/Metaverse House #1)[1], NFT
                                   (477558807573415868/1100 m x 0.70 = 770 (m²))[1], NFT (480512642308432595/TheMask #1)[1], NFT (482657472620356823/Natalia #11)[1], NFT (483417918016439464/Winston Churchill
                                   Medallionn)[1], NFT (491540549609700135/Modern House #4)[1], NFT (493424345201538573/Natalia #19)[1], NFT (494787409695384821/Drawing #3)[1], NFT (495288276457335191/Jeff Bezos
                                   Medallionn)[1], NFT (495424785019756948/Modern House #2)[1], NFT (497164843467268187/Sword of the Darkness)[1], NFT (497974112154938972/China House)[1], NFT (509206264128941380/Mini
                                   House #3)[1], NFT (513171678388813337/Natalia #17)[1], NFT (517171684402030110/Natalia #18)[1], NFT (518417280204690701/2000m x 50 = 1000 (m²))[1], NFT (520457453588782777/Mini House
                                   #4)[1], NFT (528595993417918484/Tupac Shakur Medallionn)[1], NFT (529593729666216414/1300m x 0.60 = 780 (m²))[1], NFT (529718006890663714/1000 m x 0.65 = 650 (m²))[1], NFT
                                   (530370226127630264/Modern House #6)[1], NFT (532559390941769085/Metaverse House #2 (Legendary Rare))[1], NFT (533131001053300858/Natalia #3)[1], NFT (534283197453124977/Mini House
                                   #1)[1], NFT (544664067275817784/Sword of the King)[1], NFT (549113789639591078/Natalia #12)[1], NFT (550477150839698294/Modern House #7)[1], NFT (550505432884910845/Natalia #23)[1],
                                   NFT (551048103527913227/Metaverse House #1 (Ultra Rare))[1], NFT (551402020576267992/Sword of the Winter)[1], NFT (552909910600911923/Natalia #8)[1], NFT (557826698629187775/Mini
                                   House #2)[1], NFT (557952161843498734/Natalia #7)[1], NFT (560396359711538744/1300m x 0.80 = 1040 (m²))[1], NFT (569466167726861308/Modern House #11)[1], NFT
                                   (570207299807014694/Tupac Shakur Medallionnn)[1], NFT (572840127048362597/2000m x 80 = 1600 (m²))[1], NFT (573248258140666331/Lebron James Medallion)[1], TRX[.000003], USD[0.00],
                                   USDT[0]

08079521                           DOGE[50.29096547], SHIB[0], USD[0.00]                                                                                                                                                     Yes

08079532                           ETH[.52091589], ETHW[17.02669589], USD[362.73]

08079536                           CUSDT[6], DOGE[1], ETH[.00000055], ETHW[.00000055], SHIB[1], SOL[.00000001], TRX[1], USD[0.00], USDT[0]                                                                                   Yes

08079539                           BRZ[1], CUSDT[4], TRX[2], USD[0.00]                                                                                                                                                       Yes

08079563                           USD[0.01]

08079573                           USD[0.01], USDT[0]                                                                                                                                                                        Yes

08079580                           USD[0.00]

08079596                           SOL[.04609006], USD[0.00]

08079599                           BRZ[1], CUSDT[1], USD[0.00]                                                                                                                                                               Yes

08079601                           ETH[0]

08079602                           BTC[.01007684], CUSDT[1146.40895354], DOGE[175.18104341], ETH[.01341875], ETHW[.01341875], MATIC[71.2641521], SHIB[1], TRX[98.11334574], USD[0.01]

08079612                           SUSHI[2]

08079616                           DOGE[1], SHIB[8], SUSHI[5.58668008], TRX[1], USD[67.34], USDT[14.92356745]

08079617                           USD[13.85]

08079622                           ETHW[.1584172]                                                                                                                                                                            Yes

08079623                           USD[0.00]

08079624                           BTC[0], CUSDT[3], DOGE[1], TRX[0], USDT[0.00000556]

08079631                           CUSDT[3], DOGE[421.57923673], ETH[.04664388], ETHW[.04606685], SHIB[4304115.98347235], USD[0.01]                                                                                          Yes

08079632                           DOGE[1], TRX[1.000055], USD[0.00], USDT[0]                                                                                                                                                Yes

08079638                           CUSDT[1], USD[0.00], USDT[29.83520197]

08079640                           DOGE[.0103469]                                                                                                                                                                            Yes

08079648                           ETH[0], NFT (538880401096614160/Wolverine)[1], SHIB[10593.50667773], USD[0.00]

08079651                           AAVE[.0000019], CUSDT[2], DOGE[4], NFT (363987152364233839/ApexDucks #1753)[1], NFT (498072736182522193/Sigma Shark #5974)[1], SHIB[7016220.33609697], SOL[.18816855], TRX[4],            Yes
                                   USD[52.58]
08079677                           CUSDT[7], DOGE[2], TRX[1], USD[0.00]

08079682                           SHIB[143929.60016271]                                                                                                                                                                     Yes

08079685                           BTC[.00000408], TRX[0], USD[0.00]

08079690                           AVAX[.00000001], NFT (575679362623328836/FTX - Off The Grid Miami #561)[1], USD[0.01]

08079691                           BAT[9.97585216], BRZ[30.08303004], BTC[.00032297], CUSDT[5], DAI[5.36394535], DOGE[90.16594519], GRT[5.83397529], KSHIB[262.15109655], MATIC[2.36431049], NFT                             Yes
                                   (444873431258768145/Space Bums #6690)[1], SHIB[317177.76217876], SOL[.02753805], TRX[108.586385], USD[0.00]
08079692                           BTC[.00001553], ETH[.8566535], ETHW[.8566535], USD[0.00]

08079700                           GRT[.80671623], MATIC[61.91373884], SHIB[1100000], USD[2.76]

08079702                           USD[30.00]

08079704                           BTC[0], ETH[0], LTC[0], MATIC[0], MKR[0], SOL[0.00000004], USD[0.00]

08079709                           CUSDT[1], DOGE[749.12920939], SHIB[4662439.38828795], USD[50.00]

08079720                           USD[0.00], USDT[0.00051193]

08079728                           CUSDT[1], SOL[0.00002362], USD[0.00]                                                                                                                                                      Yes

08079733                           USD[0.00]

08079750                           USD[20.00]

08079759                           CUSDT[1], ETH[0], USD[0.15], USDT[0.00000001]                                                                                                                                             Yes
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                                                                                                                                         Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08079771                           CUSDT[3], LINK[.62061327], SHIB[214161.97363401], SOL[.0902945], TRX[199.90941104], USD[50.61], USDT[16.06497392]                                                                    Yes

08079774                           SOL[1.79806006], USD[47.81]

08079776                           CUSDT[1], DOGE[1], USD[0.01]

08079778                           BTC[.00030939]

08079794                           LINK[.999], USD[5.04]

08079806                           USD[100.00]

08079815                           USD[0.00]                                                                                                                                                                            Yes

08079832                           USD[1.18]

08079840                           CUSDT[1], USD[0.00]                                                                                                                                                                  Yes

08079842                           USD[0.63], USDT[.00209309]

08079844                           CUSDT[1], SHIB[1], USD[0.01]

08079849                           BRZ[3], CUSDT[3], DOGE[2], ETH[.00000003], ETHW[.00000003], SHIB[3], SOL[.00001923], TRX[1.13167171], USD[0.00], USDT[1.07131354]                                                    Yes

08079854                           USD[5.42]                                                                                                                                                                            Yes

08079858                           CUSDT[1], ETH[.00076254], ETHW[.00076254], USD[0.00]

08079868                           SOL[.55], TRX[.000001], USDT[2.8148204]

08079877                           ETH[.16771715], ETHW[.16771715]

08079878                           SOL[.0738868], USD[0.00]

08079879                           USD[0.00]

08079882                           BTC[.015692], ETH[.111], ETHW[.111], SOL[2.1489], USD[2.87]

08079883                           CUSDT[1], SHIB[1], TRX[690.91018697], USD[0.00]                                                                                                                                      Yes

08079886                           CUSDT[2], DOGE[1], TRX[3], USD[0.40], USDT[1]

08079889                           USD[500.00]

08079894                           BAT[3.77444839], ETH[0], SHIB[0], USD[7.53]                                                                                                                                          Yes

08079907                           USDT[0.00000190]

08079910                           USD[54.18]                                                                                                                                                                           Yes

08079914                           MATIC[2.46892056], USD[0.00]

08079916                           USD[20.00]

08079918                           ETH[.02695803], ETHW[.02695803], LINK[2.998], MATIC[20], NFT (340378058879517664/MagicEden Vaults)[1], NFT (346251002011974196/MagicEden Vaults)[1], NFT (390469553118457948/Rebel
                                   Crew #2)[1], NFT (443342189878015575/MagicEden Vaults)[1], NFT (479523089204477029/MagicEden Vaults)[1], NFT (553619479799342992/Frog #8799)[1], NFT
                                   (564227513165985854/ThreeBody)[1], NFT (566705225174975207/MagicEden Vaults)[1], SOL[3.62621181], USD[0.00]
08079928                           CUSDT[1132.07278634], USD[0.00]

08079931                           CUSDT[1], SHIB[6035731.53066151], USD[25.00]

08079933                           BTC[.00244574], CUSDT[1], SHIB[319016.21048378], USD[0.01]                                                                                                                           Yes

08079936                           DOGE[1], SOL[2.26170982], USD[0.00]                                                                                                                                                  Yes

08079940                           USD[1.45]

08079944                           ETH[.00000001], ETHW[0]

08079948                           USD[21.51]                                                                                                                                                                           Yes

08079949                           CUSDT[1], DOGE[1], SHIB[185150.89798185], SOL[.2387517], USD[0.00]

08079950                           SOL[.00167933], USD[0.00]                                                                                                                                                            Yes

08079960                           SHIB[219075.06697064], USD[0.00]                                                                                                                                                     Yes

08079963                           CUSDT[3], DOGE[1], USD[0.01]                                                                                                                                                         Yes

08079967                           USD[5.03]

08079968                           AVAX[59.9], ETH[.908], ETHW[.908], MATIC[9.16], SOL[19.2807], USD[615.31]

08079977                           AVAX[43.7562], ETHW[8.213], NEAR[.076], USD[2.24], USDT[0]

08079982                           CUSDT[1], TRX[201.74269853], USD[0.00]                                                                                                                                               Yes

08079983                           CUSDT[1], SOL[.08416583], USD[0.00]

08079986                           ETH[.11642374], ETHW[.11529594], TRX[1], USD[0.00]                                                                                                                                   Yes

08079991                           BAT[12.4624347], CUSDT[4], DOGE[51.96103017], MATIC[7.86216161], SOL[.05655753], USD[0.00]                                                                                           Yes

08079996                           BRZ[1], SHIB[8619203.58558869], USD[0.00]

08079998                           BTC[.00000001], ETHW[.00856182], SHIB[3], USD[30.00]                                                                                                                                 Yes

08080004                           USD[0.00], USDT[497.36316256]

08080005                           DOGE[2], USD[0.29]                                                                                                                                                                   Yes

08080008                           BTC[.00421941], ETH[.0000044], ETHW[.4817283], NFT (360535370849992646/FTX Crypto Cup 2022 Key #87)[1], SHIB[4], TRX[1.000001], USD[0.00], USDT[0]                                   Yes

08080014                           BTC[.00154976], TRX[1], USD[0.00]

08080024                           CUSDT[2], USD[106.73]                                                                                                                                                                Yes

08080037                           ETH[0], ETHW[0], SOL[0], USD[2069.99]

08080038                           SOL[2.26305126], TRX[1], USD[0.00]                                                                                                                                                   Yes

08080042                           DOGE[1], ETHW[.06700285], SHIB[1], USD[84.66]

08080058                           USD[20.00]
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                                                                                                                                            Customer Claims                                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08080060                              BTC[0], TRX[.00000042], USD[0.00]

08080065                              CUSDT[2], USD[0.00]                                                                                                                                                             Yes

08080066                              CUSDT[3], TRX[1], USD[0.01]                                                                                                                                                     Yes

08080079                              CUSDT[1], SHIB[1969667.12625566], USD[0.00]

08080081                              ETH[.053], ETHW[.053], SOL[3.09], USD[1.82]

08080085                              SOL[.00000008], USD[2.84], USDT[0]                                                                                                                                              Yes

08080086                              USD[100.00]

08080091                              CUSDT[1], ETH[0], ETHW[0]

08080102                              GRT[838.161], SOL[5.88411], TRX[5217], UNI[32.3676], USD[2.00]

08080122                              SOL[.81], USD[339.10]

08080130                              GRT[443.22134097], TRX[1], USD[0.00]                                                                                                                                            Yes

08080137                              SHIB[1200000], USD[1.15], USDT[0.00000232]

08080161                              ETH[.000847], ETHW[.000847], SOL[.0094], USD[0.00]

08080168                              MATIC[0], SHIB[15900000], SUSHI[100.00472432], TRX[0], USD[13411.40]

08080176                              TRX[.011319]

08080184                              SHIB[4], TRX[1], USD[0.00]

08080192                              DOGE[35], SHIB[100000], SOL[0.00865239], TRX[30], USD[0.17]

08080193                              USD[1.45]

08080195                              USD[0.01]

08080196                              SHIB[8824408.25916195]                                                                                                                                                          Yes

08080200                              BRZ[1], USD[0.00]                                                                                                                                                               Yes

08080201                              CUSDT[2], GRT[1], MATIC[444.96610209], SOL[6.6027783], TRX[1], USD[0.00]                                                                                                        Yes

08080203                              BTC[.06491169], ETH[.0006795], ETHW[.0006795], USD[1.50]

08080227                              BTC[0.01868223], USD[6.99]

08080235                              BRZ[1], BTC[.01150719], CUSDT[2], DOGE[2], ETH[.0000002], ETHW[.0000002], SHIB[7], USD[50.36]                                                                                   Yes

08080236                              NFT (323175068013661909/3D SOLDIER #3302)[1], NFT (352075721998801261/Astral Apes #2885)[1], NFT (355484252888478454/3D SOLDIER #2066)[1], NFT (356694902724005232/3D SOLDIER   Yes
                                      #2424)[1], NFT (361105681442612987/Red Panda #4940)[1], NFT (362476416167369933/3D SOLDIER #1508)[1], NFT (405564754888274793/Grim #7296)[1], NFT (407692556568529536/Grim
                                      #5299)[1], NFT (467834776690841029/3D CATPUNK #8)[1], NFT (495926471261888524/Red Panda #1345)[1], NFT (508313507325678382/3D CATPUNK #7911)[1], NFT (513305248932763578/3D
                                      CATPUNK #24)[1], NFT (519142425498483890/Astral Apes #408)[1], NFT (527676873564333308/Red Panda #8020)[1], NFT (529567063025388721/Red Panda #3208)[1], NFT
                                      (532945390992199266/3D SOLDIER #1642)[1], SHIB[1], SOL[8.83282417], TRX[2], USD[0.00], USDT[1.06587787]
08080238                              USD[27.08]                                                                                                                                                                      Yes

08080239                              BTC[0.03797140], ETH[.2297815], ETHW[.2297815], EUR[0.28], SOL[18.4482575], USD[0.64]

08080241                              USD[0.01]                                                                                                                                                                       Yes

08080246                              USD[0.01]

08080247                              CUSDT[2], SHIB[2303440.30044524], USD[0.00]                                                                                                                                     Yes

08080254                              DOGE[39.15838331], MATIC[14.64845824], USD[15.01]

08080256                              BRZ[1], CUSDT[31], DOGE[15.19407521], ETHW[2.23373755], GRT[2.00098504], SHIB[21.5367768], TRX[13], USD[0.00], USDT[2.11224426]                                                 Yes

08080268                              DOGE[0], KSHIB[51.07862737], SHIB[26105.11610228], USD[15.25], USDT[0.00000001]                                                                                                 Yes

08080278                              ETHW[.96487854]

08080279                              SOL[1.509995]

08080281                              SOL[4.995], USD[2900.00]

08080290                              USD[3.97]

08080302                              USD[0.00], USDT[10.74832197]                                                                                                                                                    Yes

08080304       Contingent, Disputed   USD[0.00]

08080311                              BTC[.00190931], CUSDT[5], DOGE[1], LTC[.40266234], SHIB[1975538.40633937], SOL[.70061242], SUSHI[2.37902079], TRX[245.35498139], USD[0.00]                                      Yes

08080312                              CUSDT[2], GRT[.00001516], USD[21.32]                                                                                                                                            Yes

08080317                              SOL[0], USD[0.00]

08080320                              BTC[.00023615], TRX[1], USD[0.00]                                                                                                                                               Yes

08080322                              BTC[0], DAI[0], ETH[0], SOL[0]

08080324                              BRZ[1], BTC[.03287946], CUSDT[9], DOGE[6.07854257], ETH[.2175268], ETHW[4.72521708], SHIB[288.60588235], SOL[9.85929226], TRX[3], USD[0.00]

08080333                              CUSDT[1], SOL[1.36991393], TRX[2], USD[0.08]                                                                                                                                    Yes

08080340                              USD[0.00]

08080351                              SHIB[6774.28167938], USD[0.00]

08080357                              CUSDT[1], SHIB[1043044.88693493], USD[0.00]                                                                                                                                     Yes

08080360                              KSHIB[960], USD[0.46]

08080368                              CUSDT[1], PAXG[.01155249], USD[0.00]                                                                                                                                            Yes

08080374                              SOL[.00253], TRX[.000001]

08080375                              CUSDT[4608.204], DOGE[488], SHIB[9890100], USD[16.77]

08080376                              CUSDT[1], SHIB[1], TRX[1], USD[0.00]                                                                                                                                            Yes

08080390                              USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08080391                              USD[10.28]                                                                                                                                                                                   Yes

08080395                              AVAX[1.05470303], CUSDT[1], SHIB[1], SOL[.00000402], USD[0.00]                                                                                                                               Yes

08080396                              USD[0.20]                                                                                                                                                                                    Yes

08080406                              CUSDT[2], SHIB[1], USD[0.01]                                                                                                                                                                 Yes

08080411                              USD[25.00]

08080416                              BRZ[1], USD[0.00]

08080418                              BF_POINT[300], USD[0.25]                                                                                                                                                                     Yes

08080427                              SOL[.00000001]

08080429                              AVAX[0], BTC[0], ETH[0], MATIC[0], USD[0.00], USDT[0]

08080430                              BTC[.0004992], ETH[.00027772], ETHW[.00027772], USD[0.01]

08080434                              USD[1.41]

08080435                              BTC[.00017991], SHIB[552549.05187835], USD[0.00]

08080439                              BTC[.06884351], USD[0.00]

08080454       Contingent, Disputed   BTC[.00000061], MATIC[.00622829], SOL[.00272327], USD[0.00], USDT[0]                                                                                                                         Yes

08080455                              CUSDT[2], KSHIB[193.86649073], SHIB[949096.19211913], SOL[.22778007], USD[0.00]                                                                                                              Yes

08080456                              BTC[0], ETH[.00000001], NFT (321776391690788820/#Abstract A.I. #5)[1], SOL[0], USD[0.00], USDT[0]

08080457                              USD[523.47]                                                                                                                                                                                  Yes

08080458                              SOL[.0000008]

08080464                              CUSDT[7], DOGE[2], SHIB[8032887.92386933], USD[101.65]                                                                                                                                       Yes

08080477                              USD[4.55]

08080483                              SHIB[521461.5371306], USD[0.00]                                                                                                                                                              Yes

08080492                              AAVE[.00072274], AVAX[.00622434], BAT[1], BRZ[1], CUSDT[1], DOGE[5], ETHW[63.82485825], GRT[2], NFT (319508851510273880/GSW Western Conference Finals Commemorative Banner                   Yes
                                      #1201)[1], NFT (322852203006994032/GSW Championship Commemorative Ring)[1], NFT (327358344218038852/GSW Western Conference Finals Commemorative Banner #1202)[1], NFT
                                      (369031144420903281/GSW 75 Anniversary Diamond #715)[1], NFT (500808453305942938/GSW Western Conference Semifinals Commemorative Ticket #638)[1], SHIB[3], SUSHI[.04346521],
                                      TRX[1], USD[0.00], USDT[3.11561555]
08080500                              USD[0.00]                                                                                                                                                                                    Yes

08080504                              USD[106.86]                                                                                                                                                                                  Yes

08080505                              BRZ[1], CUSDT[11], DOGE[1], SHIB[2], TRX[.03461249], USD[0.00]                                                                                                                               Yes

08080506                              SUSHI[600.3855], USD[0.00]

08080507                              TRX[99.44639451], USD[0.00]                                                                                                                                                                  Yes

08080524                              ETH[.02324707], ETHW[.02324707], USD[0.00]

08080529                              CUSDT[1], DOGE[890.4343412], USD[0.00], USDT[0.00000001]                                                                                                                                     Yes

08080531                              CUSDT[2], DOGE[11.40642297], KSHIB[363.70087364], NFT (427466303786334212/BB Blue #1)[1], NFT (439013723810509409/BB Blue #4)[1], NFT (554092722055324638/BB Blue #2)[1], USD[0.00]          Yes

08080532                              BTC[.00000001], SHIB[1], SOL[.00000001], USD[0.00]                                                                                                                                           Yes

08080537                              BTC[.00083154], SOL[.00421815], USD[0.00], USDT[94.17612719]

08080541                              USD[1.82]                                                                                                                                                                                    Yes

08080543                              SOL[.42121909]                                                                                                                                                                               Yes

08080553                              MATIC[2230], SOL[7.4925], USD[58.02]

08080564                              BAT[6.66499023], BTC[.00625192], CUSDT[1], GRT[11.20644815], SOL[0], TRX[2], USD[27.11]                                                                                                      Yes

08080572                              AAVE[.00368248], BRZ[1], DOGE[.15348323], GRT[.23], LINK[0], MATIC[0], NFT (309081414067735403/Fancy Frenchies #3918)[1], SUSHI[0], USD[1.71]

08080582                              USD[0.00]

08080583                              BTC[.00826792], SHIB[4100574.92], USD[0.01]

08080604                              BRZ[1], DOGE[1], SHIB[3], SOL[2.28101629], TRX[2], USD[0.01]

08080610                              USD[0.00]

08080615                              CUSDT[3], DOGE[21.40134879], LINK[1.27760062], MATIC[3.1389545], SHIB[312253.17099168], SOL[1.10389692], TRX[98.9904611], USD[0.00]                                                          Yes

08080616                              DOGE[1], SHIB[1], USD[578.80]                                                                                                                                                                Yes

08080623                              BTC[.3115881], ETH[.221], ETHW[.221], USD[11.57]

08080624                              TRX[853.97873433], USD[0.00]                                                                                                                                                                 Yes

08080634                              BRZ[1485.25130788], BTC[.00419254], CUSDT[2], USD[0.00]                                                                                                                                      Yes

08080644                              BTC[.00015462]

08080646                              SOL[1.06330853]

08080647                              BTC[.0009], USD[4.26]

08080654                              KSHIB[3007.02], SOL[17.22767], USD[0.24]

08080658                              BTC[.00014013], CUSDT[1], SHIB[257850.68668018], USD[0.00]                                                                                                                                   Yes

08080661                              CUSDT[1], SOL[.89608153], USD[0.00]                                                                                                                                                          Yes

08080681                              BTC[.00000711], ETHW[4.69680243], USD[0.15]                                                                                                                                                  Yes

08080682                              BRZ[3], BTC[0.00000614], CUSDT[1], DOGE[6], ETHW[1.05585984], MATIC[.0013467], SHIB[21], SOL[8.0160519], TRX[9], USD[0.00]                                                                   Yes

08080687                              AAVE[0], AVAX[0], BCH[0], BTC[0], DAI[0], DOGE[0], ETH[0], ETHW[0], GRT[0], LINK[0], LTC[0], MATIC[0], MKR[0], NFT (343331847369602410/FTX Crypto Cup 2022 Key #2471)[1], NFT                Yes
                                      (353579039943747316/Romeo #1837)[1], NFT (402750515370398362/FTX - Off The Grid Miami #1907)[1], NFT (413124945266885254/Humpty Dumpty #374)[1], NFT (438418028482481864/Entrance
                                      Voucher #92)[1], NFT (456488640327030762/Imola Ticket Stub #1314)[1], NFT (468668487720866994/Reflection '13 #44)[1], NFT (560285289984986638/Cosmic Creations #513)[1], SOL[0], SUSHI[0],
                                      TRX[0], UNI[0], USD[50100.20], USDT[0], WBTC[0], YFI[0]
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                                                                                                                                         Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08080694                           BRZ[2], CUSDT[72.44171687], DOGE[4.03454332], TRX[8], USD[0.75]                                                                                                                           Yes

08080697                           SOL[.00009], USD[0.02]

08080711                           DOGE[1], USD[0.00]

08080712                           USD[54.17]                                                                                                                                                                                Yes

08080716                           USD[0.01]                                                                                                                                                                                 Yes

08080722                           USD[0.54]                                                                                                                                                                                 Yes

08080723                           CUSDT[1], DOGE[1], ETH[.0000002], ETHW[.0000002], SHIB[26787896.77263324], TRX[1], USD[0.00]                                                                                              Yes

08080726                           SOL[0], USD[0.00]

08080735                           SOL[1.998], USD[0.00]

08080742                           DOGE[0.55081860], ETH[.0010816], ETHW[0.00108159], SHIB[153624.68022672]

08080750                           BTC[.05234402], CUSDT[1], DOGE[2], ETH[1.57367409], ETHW[1.5729987], SHIB[1], SOL[12.50966788], TRX[1], USD[0.36]                                                                         Yes

08080751                           BTC[.00163083], CUSDT[3], DOGE[418.63099061], ETH[.02295048], ETHW[.0226632], SHIB[2049853.78280825], SOL[.45870369], USD[0.00]                                                           Yes

08080752                           CUSDT[1], SHIB[1891074.1301059], USD[0.00]

08080757                           USD[0.85]

08080760                           CUSDT[2], DOGE[1], SHIB[2078883.93717245], SOL[.71061438], USD[0.04]                                                                                                                      Yes

08080769                           SOL[.24213368], TRX[1], USD[0.00]                                                                                                                                                         Yes

08080771                           USD[0.01]                                                                                                                                                                                 Yes

08080780                           SOL[0], USD[0.07]

08080791                           USD[0.00]

08080793                           SHIB[1800000], USD[3.15]

08080799                           BTC[.00768911], DOGE[1], ETH[.10387231], ETHW[.10387231], TRX[1], USD[0.00]

08080801                           BTC[.00015368], DOGE[1], USD[0.00]                                                                                                                                                        Yes

08080804                           USD[5.42]                                                                                                                                                                                 Yes

08080805                           AAVE[0], BTC[0], ETH[0], MATIC[0], SOL[0], USD[0.00]

08080806                           SOL[.00412475], USD[2.17]                                                                                                                                                                 Yes

08080811                           NFT (320642027172518789/Dasher6969: NAMEWEE)[1], NFT (335004544037811688/DASHER: THENA (ANGELINA JOLIE))[1], NFT (504956431265343409/DASHER: SPIDERMAN NO WAY
                                   HOME)[1], NFT (545134111441630618/DASHER: WONDER WOMAN (GAL GADOT))[1], USD[40.20]
08080814                           USD[25.00]

08080815                           ETH[0], SOL[0], USD[1.43]

08080817                           ETHW[.324774], SOL[.001], USD[20450.42], USDT[0]

08080818                           USD[0.00]

08080824                           DOGE[1], SOL[8.27475659], USD[0.00]

08080829                           CUSDT[4], SHIB[1], SOL[1.63435874], USD[0.82]

08080830                           NFT (323404778649847317/Saudi Arabia Ticket Stub #851)[1]

08080842                           ETHW[.052947], USD[3.66]

08080843                           USD[0.00]                                                                                                                                                                                 Yes

08080845                           ETH[.00021205], ETHW[.00021205], USD[0.00]                                                                                                                                                Yes

08080850                           USD[4.77]

08080851                           USD[0.00]                                                                                                                                                                                 Yes

08080867                           USD[0.01], USDT[.0899864]

08080876                           ETH[.31499846], ETHW[.31482278], SHIB[32121867.43974579]                                                                                                                                  Yes

08080877                           CUSDT[2], KSHIB[5716.10968642], SHIB[7622535.36938071], TRX[1], USD[0.00], USDT[1]

08080897                           AAVE[3.30763], BTC[.0176954], CUSDT[29706.264], ETH[.788458], ETHW[.788458], LINK[63.936], SUSHI[125.3745], USD[425.93], YFI[.022977]

08080910                           BRZ[1], DOGE[1], USD[232.53], USDT[1]

08080912                           USD[0.00]                                                                                                                                                                                 Yes

08080926                           USD[0.01]                                                                                                                                                                                 Yes

08080930                           BAT[5], BF_POINT[100], BTC[.00022883], DOGE[1], ETH[.00000003], ETHW[0.00000002], GRT[4], LINK[.0005507], MATIC[2.00069193], SHIB[5], SOL[.00003676], SUSHI[2], TRX[3], UNI[.00005824],
                                   USD[12.90], USDT[0]
08080931                           SHIB[6306.51132792], USD[0.00]                                                                                                                                                            Yes

08080946                           USD[0.00]

08080947                           BTC[0], DOGE[1], SHIB[1], TRX[1], USD[0.00]                                                                                                                                               Yes

08080957                           TRX[1], USD[0.00]                                                                                                                                                                         Yes

08080969                           CUSDT[2], SHIB[1800180.0180018], USD[0.01], USDT[4.73030707]

08080980                           USD[0.00]

08080981                           TRX[504.99583774], USD[0.22]                                                                                                                                                              Yes

08080983                           USD[0.84], USDT[0]

08080986                           BTC[.00020455], CUSDT[545.69280967], USD[0.00]

08080987                           MATIC[39.96], USD[11.53]

08080994                           USD[0.00]

08080995                           BTC[.00309436], CUSDT[16], ETH[.03288864], ETHW[.03247824], KSHIB[208.6118776], SOL[.15370255], TRX[1], USD[0.00]                                                                         Yes
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08081006                              USD[0.02]                                                                                                                                                                             Yes

08081007                              CUSDT[6], DAI[8.51428883], DOGE[104.71078582], GRT[11.75193931], SHIB[388508.69316706], SOL[.06640343], SUSHI[1.16290737], TRX[104.6903862], USD[0.00]                                Yes

08081014                              BTC[.00005412], ETH[.399274], ETHW[.399274], USD[1102.44]

08081049                              USD[103.00], USDT[0.00000118]

08081050                              BRZ[1], DOGE[1], USD[0.01]                                                                                                                                                            Yes

08081055       Contingent, Disputed   USD[0.00]

08081063                              USD[0.00]

08081066                              CUSDT[1], SHIB[3819709.70206264], USD[0.01]

08081068                              SHIB[1], USD[51.58], USDT[0]                                                                                                                                                          Yes

08081069                              TRX[.000066]

08081073                              ETH[0], ETHW[0], LTC[0], MATIC[.00000001], USD[0.68]

08081080                              NFT (380053013158525837/MaskOn Collection KOL Series #2)[1], NFT (424658523784550790/MaskOn Collection KOL Series)[1], USD[3.00]

08081084                              USD[2.19]

08081093                              CUSDT[1], ETH[.05312655], ETHW[.05312655], USD[0.00]

08081105                              ETHW[.715783], USD[0.00]

08081113                              SHIB[17918.3842351], USD[0.00]                                                                                                                                                        Yes

08081121                              BTC[.00514148], DOGE[3962.95045853], ETH[.04568392], ETHW[.0451173], LTC[1.75898962], SOL[1.08035084], USD[0.01]                                                                      Yes

08081130                              CUSDT[2], TRX[1], USD[0.00], USDT[2]

08081136                              ETHW[1.40354277], USD[1.73]

08081143                              BAT[2.05972031], BRZ[2], CUSDT[12], DOGE[10.22864458], GRT[1], MATIC[2602.55870509], SHIB[12], SOL[35.87668691], TRX[4], USD[0.77]                                                    Yes

08081144                              USD[400.00]

08081147                              USD[21.66]                                                                                                                                                                            Yes

08081149                              KSHIB[3248.02073607], SHIB[176505.21505174], USD[-6.98]                                                                                                                               Yes

08081152                              BAT[1], BRZ[3], DOGE[4], ETH[.00000396], ETHW[.00000396], GRT[1], SHIB[12], SOL[0], TRX[4], USD[0.00], USDT[0.00021171]                                                               Yes

08081157                              BRZ[1], BTC[.00553276], CUSDT[5], DOGE[379.57310627], ETH[.05566655], ETHW[.05566655], LTC[.41738795], SHIB[1973164.95659037], SOL[.40608315], TRX[2], USD[0.00]

08081162                              CUSDT[2], SHIB[2055399.2878881], SOL[.44024117], USD[0.00]                                                                                                                            Yes

08081194                              USD[0.39], USDT[0]

08081202                              EUR[0.00], USD[0.00], USDT[0]                                                                                                                                                         Yes

08081209                              NFT (572812145330129521/Original)[1]

08081217                              BRZ[9.249101], BTC[0], DOGE[12.02447618], ETH[.00016201], ETHW[.00016201], GRT[4], LINK[.00001279], NFT (289897755599913925/SolBunnies #922)[1], NFT (342960013720255820/SolBunnies   Yes
                                      #3200)[1], SHIB[30], SOL[.00817224], TRX[14], USD[0.00], USDT[1.03777386]
08081237                              USD[0.01]

08081243                              CUSDT[7], DOGE[1], TRX[1], USD[0.01]                                                                                                                                                  Yes

08081245                              ETH[.00020047], ETHW[2.81470047], USD[0.86]

08081262                              USD[0.00]                                                                                                                                                                             Yes

08081266                              USD[0.00]

08081284                              USD[20.00]

08081311                              SOL[.00000091]                                                                                                                                                                        Yes

08081331                              SOL[0], USD[0.00]

08081338                              CUSDT[2], USD[0.00]                                                                                                                                                                   Yes

08081353                              CUSDT[1], MATIC[0]                                                                                                                                                                    Yes

08081354                              USD[0.00]

08081355                              NFT (290038339170013131/Furry art#3)[1], NFT (291189413792431993/Naughty #2)[1], NFT (292555308671174383/FurryArt #2)[1], NFT (299000075504731322/Electrical#5)[1], NFT
                                      (311863233868891280/Ash #3)[1], NFT (338441697394641244/FurryArt #4)[1], NFT (339386676665803085/Ural Mars #5)[1], NFT (344146687191088186/FurryArt #7)[1], NFT
                                      (353796094614596591/Winter#4)[1], NFT (356235204457496574/Granite #2)[1], NFT (356880880458938502/Confidence #5)[1], NFT (397801568862305107/Fiery #2)[1], NFT
                                      (397914581919142862/Sol Invictus #2)[1], NFT (398995667608332806/Light#4)[1], NFT (405536333029754235/Confidence #4)[1], NFT (408023302261588041/Grisaille)[1], NFT
                                      (409706668202695248/FurryArt #9)[1], NFT (424391392859595460/Ural Mars #6)[1], NFT (424886707420126414/Fiery#5)[1], NFT (437926380037301171/Avatar #4 #2)[1], NFT
                                      (445840925771004604/Electrical #2)[1], NFT (457959981249206617/Sunset in Russia #2 )[1], NFT (470620967467245780/FurryArt #8)[1], NFT (473189608636316527/Light#5 #2)[1], NFT
                                      (473928132331355261/Softness #3)[1], NFT (497877258372187531/A minute of kindness)[1], NFT (504714510777467621/FurryArt #11)[1], NFT (512316883417348976/Heavenly #2)[1], NFT
                                      (515155004473787934/Secret#3)[1], NFT (524528904894369265/Softness #2)[1], NFT (535346455240718023/Thoughtfulness)[1], NFT (536424409221510551/Dark#8)[1], NFT
                                      (542695500630075642/Electrical#4)[1], NFT (544631346483147863/FurryArt #10)[1], NFT (557691815612767604/Sunset in Russia #6)[1], NFT (559197833938187775/Sol Invictus)[1], NFT
                                      (561851457637633083/Furry art)[1], NFT (568875399552581143/Furry art#2)[1], NFT (571547393183630048/FurryArt)[1], NFT (572334303035704349/Heyday)[1], SOL[0], USD[0.00]
08081373                              CUSDT[3], DOGE[87.68592088], KSHIB[187.98897106], USD[36.94], USDT[4.90999469]

08081374                              USD[0.00]

08081375                              BTC[.00761441], DOGE[1], USD[0.01]

08081379                              BAT[0], BTC[0], ETH[0], ETHW[0], SOL[0], USD[0.00]                                                                                                                                    Yes

08081385                              CUSDT[13], NFT (307050064044499578/Earl Campbell's Playbook: Rice vs. Texas - October 1st, 1977 #89)[1], USD[0.11]                                                                    Yes

08081399                              BAT[287.56630318], BRZ[1203.21385509], CUSDT[3], KSHIB[4.87859019], SHIB[20522983.04958586], TRX[3241.88819122], USD[0.04]                                                            Yes

08081402                              CUSDT[1], DOGE[1], TRX[1], USD[0.01]

08081406                              DOGE[1], SHIB[1], USD[0.01], USDT[0.00017622]                                                                                                                                         Yes

08081407                              BTC[.0086], ETH[.001], ETHW[.001], USD[1.10]

08081411                              SHIB[4958931.94511983], SUSHI[.47165], USD[0.62], USDT[.00699443]

08081413                              CUSDT[3], DOGE[2], TRX[1], USD[0.01]                                                                                                                                                  Yes
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                                                                                                                                         Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08081427                           SOL[.3979445], USD[0.00]

08081464                           USDT[30]

08081479                           CUSDT[2], LINK[3.20310785], MATIC[20.77828296], USD[0.00]                                                                                                                            Yes

08081483                           SOL[6.04873169], USD[0.00]

08081484                           NFT (347370072432291543/Muse of Caravaggio. August.)[1], NFT (351969109164526708/Muse of Caravaggio. November.)[1], NFT (364575964454220558/Muse of Caravaggio. March.)[1], NFT
                                   (414382373671112691/Muse of Caravaggio. May.)[1], SOL[.049], TRX[.000005], USDT[0]
08081490                           USDT[5]

08081493                           USD[70.42]                                                                                                                                                                           Yes

08081495                           BTC[.0002], DOGE[6], ETH[.001], ETHW[.001], USD[0.13]

08081502                           USDT[30]

08081503                           ETH[.22673778], ETHW[.22653285]                                                                                                                                                      Yes

08081504                           BTC[.0007992], DOGE[25.974], USD[0.11]

08081513                           ALGO[0.00031627], AVAX[.00000893], BAT[.00066584], GRT[.00623505], LINK[.00004531], NFT (395762120062160868/FTX Crypto Cup 2022 Key #872)[1], NFT (399635916192691914/Saudi Arabia   Yes
                                   Ticket Stub #2159)[1], NFT (401485972948280857/The Hill by FTX #1687)[1], NFT (438875023294592681/Barcelona Ticket Stub #648)[1], SHIB[12.58519901], USD[0.18]
08081522                           USDT[30]

08081536                           USDT[30]

08081541                           AAVE[.6294015], AVAX[.99905], DOGE[354.66275], ETH[.07293065], ETHW[.07293065], GRT[299.715], LINK[20.683185], MATIC[89.9145], SHIB[10090405], SOL[3.5372355], SUSHI[32.96865],
                                   TRX[2127.9765], UNI[10.58993], USD[303.97]
08081557                           USD[0.00]

08081561                           USDT[0.00000110]

08081565                           USD[0.00]

08081571                           BTC[0.04779124], ETH[0], ETHW[0.11129761], LTC[0], SOL[0.00000001], TRX[.022286], USD[1459.51], USDT[89.38022796]

08081578                           BTC[0.06080754], SOL[.00103], USD[235.48]

08081582                           USD[0.07]                                                                                                                                                                            Yes

08081587                           BTC[0], USD[1.00], USDT[0]

08081594                           DOGE[677.40082464], SHIB[1887.22649253], USD[0.00]                                                                                                                                   Yes

08081597                           SOL[.00973917], USD[0.00]

08081601                           USD[0.00], USDT[.04445297]

08081609                           BTC[.1793389], USD[3.84]

08081633                           NFT (479400362163896133/Microphone #5372)[1]

08081638                           BTC[.00000007], CUSDT[1], TRX[1], USD[0.01]                                                                                                                                          Yes

08081647                           BTC[.0007992], USD[5.90]

08081661                           SOL[5.10382632], USD[0.00]

08081669                           BTC[.00015597], USD[10.84]                                                                                                                                                           Yes

08081672                           USD[1.17], USDT[.00322847]

08081683                           ETH[.00000001], TRX[0.00000003]

08081684                           USD[0.00]

08081703                           GBP[0.00], GRT[0], USD[0.00]                                                                                                                                                         Yes

08081733                           KSHIB[2420], USD[1863.88]

08081744                           ETHW[.00021994], USD[0.00]

08081747                           USD[0.00], USDT[0.00000117]

08081752                           BTC[0], ETH[0], ETHW[0], MATIC[0], SOL[0], USD[1689.36], USDT[0]                                                                                                                     Yes

08081762                           BRZ[1], BTC[0.01043298], CUSDT[26], DOGE[1], ETH[0], ETHW[0], MATIC[0], MKR[.00000007], SHIB[904801.78639884], SOL[0], SUSHI[0], UNI[0], USD[6.24], YFI[0]                           Yes

08081765                           SOL[.01]

08081769                           DOGE[1], SOL[.19903502], SUSHI[1.08363471], USD[0.00]                                                                                                                                Yes

08081787                           USD[0.00]

08081788                           TRX[.000004], USDT[0.00000139]

08081790                           BRZ[1], CUSDT[10], DOGE[1.70828918], GRT[0], KSHIB[.796671], MATIC[0.00123402], SHIB[9391.83469031], SUSHI[0.00015845], TRX[3], UNI[0.00017360], USD[1.21], USDT[1.08223847]         Yes

08081791                           USD[0.00], USDT[1]

08081797                           USD[0.01]

08081801                           USD[0.12]

08081803                           BTC[.00270184]

08081806                           CUSDT[2], USD[0.00]

08081809                           EUR[0.00]

08081810                           CUSDT[5], DOGE[1], SHIB[9], TRX[1], USD[0.61]                                                                                                                                        Yes

08081812                           SOL[.00000043], USD[0.00]

08081820                           CUSDT[1], ETH[.00000004], ETHW[.00000004], USD[0.00]                                                                                                                                 Yes

08081826                           USD[0.00], USDT[0.00000153]

08081832                           BRZ[1], CUSDT[4], DOGE[1], TRX[1], UNI[0], USD[0.00]                                                                                                                                 Yes

08081838                           BAT[2.00127898], BRZ[1], BTC[0], DOGE[2], GRT[4], SHIB[2], USD[0.00], USDT[0]                                                                                                        Yes
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08081839                              USD[19.78]

08081840                              AAVE[.00000023], MATIC[.00000652], SHIB[.83925947], SOL[.00000003], USD[0.00]                                                                                                          Yes

08081843                              GRT[6.32340697], USD[0.05]

08081848                              BTC[.00284795]                                                                                                                                                                         Yes

08081850                              USD[476.56]

08081852                              USD[228.90]                                                                                                                                                                            Yes

08081863                              USD[0.00]                                                                                                                                                                              Yes

08081867                              BAT[1], BF_POINT[300], BRZ[2], CUSDT[1], GRT[1.00019173], TRX[3], USD[0.00], USDT[3.21828425]                                                                                          Yes

08081878                              BRZ[1], BTC[.02105974], CUSDT[25], DOGE[7.00095897], ETH[.08569969], ETHW[.08466948], SHIB[14], SOL[.93100259], TRX[2], USD[764.97]                                                    Yes

08081879                              SOL[.00001329]

08081888                              USD[5.39]

08081899                              KSHIB[0], TRX[0], USD[0.00]

08081907                              BAT[0], CUSDT[5], SHIB[1], TRX[1], USD[0.01]

08081914                              USD[24.19]

08081944                              NFT (292301960247725187/lazyPanda #77)[1], NFT (301904685483903336/lazyPanda #76)[1], NFT (311576344430296589/Pet #5)[1], NFT (337460187219160303/People)[1], NFT
                                      (355955140196792440/lazyPanda #75)[1], NFT (388640641575157949/lazyPanda #78)[1], NFT (408682564725618879/Pet #3)[1], NFT (416338437461576163/lazyPanda #73)[1], NFT
                                      (439154658708174083/lazyPanda #69)[1], NFT (451352110846607337/lazyPanda #72)[1], NFT (455354164132053955/lazyPanda #54)[1], NFT (458085479994040070/People #2)[1], NFT
                                      (480586302756468598/People #3)[1], NFT (481489361747948638/lazyPanda #40)[1], NFT (490929816610728198/lazyPanda #70)[1], NFT (506031802714828937/Pet #4)[1], NFT
                                      (509886403210775696/Pet #2)[1], SOL[.30896397], USD[0.00]
08081945                              ETH[.00227991], ETHW[.00225255], USD[0.00]                                                                                                                                             Yes

08081947       Contingent, Disputed   BRZ[1], NFT (450251933057383368/Coachella x FTX Weekend 1 #8339)[1], NFT (470902453357995808/FTX - Off The Grid Miami #1110)[1], USD[6.38], USDT[0]

08081949                              CUSDT[1], KSHIB[1952.63569695], USD[0.00]

08081956                              NFT (504071592507086289/Future-Telling Series)[1]

08081961                              BRZ[27.31460318], BTC[.00025576], CUSDT[481.09999258], KSHIB[97.03786106], SHIB[175462.72124921], TRX[162.89040547], USD[0.00]                                                         Yes

08081972                              NFT (405577140929649253/Microphone #8934)[1]

08081995                              USD[0.00]

08081997                              BTC[.00278522], CUSDT[3], SHIB[34.95318212], USD[0.00]                                                                                                                                 Yes

08082006                              NFT (374503654691680033/Venus "Galaxy")[1], NFT (389695204783754748/Venus "The Fighter" #2)[1], SOL[.01363614]

08082010                              USDT[0.00000144]

08082030       Contingent, Disputed   KSHIB[217.93525679], SOL[8.51148], USD[0.00]

08082031                              USD[0.00]

08082033                              BTC[.00000262], ETH[.00002289]                                                                                                                                                         Yes

08082037                              SOL[2.07], USD[0.74]

08082046                              AAVE[0.78677870], BRZ[1], BTC[.24806875], CUSDT[3], DAI[0], DOGE[2], ETH[0.44444084], ETHW[0.07253092], LINK[160.83070738], SOL[12.42520747], USD[0.00], USDT[0.05201280]              Yes

08082055                              ETH[.00000001], ETHW[0.01079076]                                                                                                                                                       Yes

08082064                              CUSDT[2], SHIB[1], TRX[2], USD[0.48]                                                                                                                                                   Yes

08082065                              USD[0.00]

08082069                              NFT (378597602966605227/Bahrain Ticket Stub #1862)[1], SOL[.00008], USD[0.01]

08082077                              CUSDT[1], USD[0.00]

08082079                              BAT[2], BRZ[2], CUSDT[1], DOGE[1], GRT[1], TRX[1], USD[0.00]

08082091                              USD[0.00], USDT[0]

08082098                              BTC[.00969562], CUSDT[1], SHIB[15103286.40834199], USD[9.44]                                                                                                                           Yes

08082099                              CUSDT[3], ETH[.02492849], ETHW[.02461488], TRX[.86225449], USD[0.00]                                                                                                                   Yes

08082104                              USD[100.00]

08082106                              SHIB[194370.5862618], USD[0.00]                                                                                                                                                        Yes

08082114                              USD[100.00]

08082123                              USD[0.00]

08082125                              NFT (387042583147187278/TRAVNFT LOGO )[1], NFT (529305500351304431/JOKER XX USD)[1], NFT (553804687224298375/TRAVNFTPLAYCARD COLLECTION)[1], USD[0.00]

08082129                              AAVE[5.029835], DOGE[919.33005], LINK[65.260695], TRX[1103.7857], USD[2.01]

08082134                              USD[500.01]

08082142                              USD[0.00]

08082147                              USD[237.63]

08082150                              ETH[.002], ETHW[.002], SOL[.03], USD[3.42]

08082159                              USD[0.00]

08082162                              USD[541.61]                                                                                                                                                                            Yes

08082164                              USD[21.51]                                                                                                                                                                             Yes

08082166                              SHIB[492234.03318268], USD[0.01]                                                                                                                                                       Yes

08082168                              USD[33.50]

08082173                              NFT (318489975454177002/Fedena Neural)[1], NFT (318623782026181245/Eldara Stargate)[1], NFT (391395284202994072/Eldara Stargate #3)[1], NFT (411887533260784820/Eldera Stargate)[1],
                                      NFT (454593888313744251/Sacred Mirrors)[1], NFT (571731606994500612/Eldara Stargate #2)[1], SOL[0.00587460], USD[0.00]
08082196                              LTC[.00000975]                                                                                                                                                                         Yes
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                                                                                                                                            Customer Claims                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08082202                              AVAX[0], BTC[0], DOGE[0], ETH[0.06200000], ETHW[0.81900000], LTC[0], SOL[0], USD[-3.22], USDT[0]

08082206                              ETH[.00000001], SOL[0]

08082207                              BRZ[2], DOGE[7], ETHW[.3041026], MATIC[128.48246707], SHIB[11], SOL[8.71422577], TRX[5], USD[0.00]

08082210                              BTC[.0000971], DOGE[.792], SHIB[10600], SOL[.00598], USD[8.40]

08082211                              CUSDT[1], SHIB[982763.42115001], USD[0.00]                                                                                                                              Yes

08082214                              AAVE[0], AVAX[0], BTC[0], ETH[0], LINK[0], MATIC[0], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[3.39], USDT[0]

08082217                              CUSDT[1], SOL[.00002758], TRX[1], USD[3.37]                                                                                                                             Yes

08082222                              BRZ[1], ETH[.02439397], ETHW[.02409279], NFT (353016666999122699/Fallen Traveler #05)[1], SOL[1.85248409], TRX[1], USD[0.00]                                            Yes

08082225                              BTC[.02859483], DOGE[3], ETH[.13651993], ETHW[.1354582], GRT[1], USD[1.90]                                                                                              Yes

08082226                              SHIB[0], USD[0.08]                                                                                                                                                      Yes

08082235                              CUSDT[7], ETH[.00820677], ETHW[.00811101], MATIC[27.47585368], SHIB[47037.70253552], SOL[.23564688], TRX[17.61556943], USD[0.00]                                        Yes

08082239                              AVAX[2.997], ETH[.103948], ETHW[.103948], LTC[.37], USD[1632.47]

08082242                              CUSDT[3], MATIC[52.95565372], SHIB[4], USD[0.00]                                                                                                                        Yes

08082250                              DOGE[210.61795307], SHIB[1063455.6763559], SUSHI[5.0029423], USD[1.85]

08082256                              DOGE[1], EUR[4.65], GRT[23.48570574], SHIB[376151.13977197], USD[0.00]                                                                                                  Yes

08082261                              SOL[.02052437], USD[0.00]

08082266                              SOL[.04133995], USD[0.00]

08082270                              DOGE[3], NEAR[.00025645], SHIB[8], TRX[.01588408], USD[0.01]                                                                                                            Yes

08082273                              TRX[214.07220769], USD[0.02]                                                                                                                                            Yes

08082277                              NFT (301337562916955592/Birthday Cake #1828)[1], NFT (474798500772132186/The 2974 Collection #1828)[1], USD[0.00]

08082282                              BRZ[1], SHIB[9560612.39931485], USD[0.01]                                                                                                                               Yes

08082311                              BTC[.00133345], KSHIB[0], SHIB[2823251.83936534], TRX[1], USD[0.00]                                                                                                     Yes

08082312                              USD[0.00]

08082318                              SHIB[1798200], USD[1.09]

08082320                              KSHIB[1754.96387143], TRX[1], USD[0.00]

08082329                              BTC[.6244454], ETH[1.512486], ETHW[1.512486], SHIB[1900000], SOL[14.24675], USD[1.12]

08082339                              LINK[0], SUSHI[0], USD[5.94]                                                                                                                                            Yes

08082340                              SOL[.87], USD[1.33]

08082350                              SOL[0]

08082360       Contingent, Disputed   LINK[.00000511], USD[0.00]                                                                                                                                              Yes

08082363                              CUSDT[1], SHIB[2403268.44508531], USD[0.00]

08082375                              USD[10.00]

08082391                              BTC[0], DOGE[0], ETH[0], ETHW[0], MATIC[0.49727442], NEAR[0], SHIB[42], TRX[1], USD[0.00], USDT[0.00000027]

08082395                              SOL[1.08962], USD[2.22]

08082396                              USD[0.01]

08082398                              USD[10.82]                                                                                                                                                              Yes

08082404                              USD[0.00]

08082417                              CUSDT[2], USD[12.64]                                                                                                                                                    Yes

08082422                              BRZ[.00101973], CUSDT[.00043685], ETH[.00000005], ETHW[.00000005], SHIB[1], USD[0.00]                                                                                   Yes

08082432                              AAVE[0], BAT[0], BCH[0], BTC[0], CUSDT[0], DAI[0], DOGE[0], ETH[0], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], SHIB[0], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00]   Yes

08082438                              USD[0.01], USDT[.7355821]

08082441                              BTC[.00038495], CUSDT[1], USD[0.00]                                                                                                                                     Yes

08082443                              TRX[4550.445], USD[2.07]

08082447                              NFT (382819214899437490/Unity #273)[1], USD[3.00]

08082453                              CUSDT[1], GBP[0.00], USD[19.33]                                                                                                                                         Yes

08082455                              USD[5.42]                                                                                                                                                               Yes

08082458                              ETH[.79445274], ETHW[0.79411920]                                                                                                                                        Yes

08082460                              SOL[0]

08082465                              SOL[.00096874], USD[0.00]

08082478                              BRZ[1], DOGE[3], ETHW[.8311021], MATIC[900], SHIB[23], TRX[6], USD[0.01]

08082485                              USD[22.59]                                                                                                                                                              Yes

08082506                              TRX[1], USD[0.19], YFI[.00332909]                                                                                                                                       Yes

08082512                              DOGE[207.97713825], USD[0.01]                                                                                                                                           Yes

08082514                              AAVE[0], AVAX[0], ETH[0], MATIC[0], NFT (361476010342965081/NFT)[1], NFT (420413060329815032/Glitched JungleCats #5457)[1], SOL[0], USD[81.33], USDT[0.00000001]        Yes

08082515                              SOL[0]

08082517                              CUSDT[1], DOGE[1], SHIB[742060.5604747], USD[0.01]

08082520                              USD[2.37]

08082521                              CUSDT[1], SOL[0.04366511], USD[0.00]                                                                                                                                    Yes
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08082522                              CUSDT[1], SHIB[1930163.0300179], USD[0.00]                                                                                                                                               Yes

08082529                              USD[2.09]

08082530                              CUSDT[1], USD[0.00]                                                                                                                                                                      Yes

08082535                              BRZ[1], BTC[.03382315], CUSDT[1], DOGE[1], TRX[1], USD[481.18]                                                                                                                           Yes

08082538                              USDT[1]

08082551                              SOL[.00000001]

08082552                              BTC[.0017], DOGE[231], ETH[.034], ETHW[.034], SHIB[1000000], SOL[.29], USD[107.49]

08082562                              USD[0.00], USDT[0.00005154]

08082566                              SOL[.14549078], USD[0.00]

08082569                              BTC[.00015208], CUSDT[984.12063717], DOGE[41.00964452], ETH[.00450936], ETHW[.00445464], SHIB[388734.07232593], USD[0.27]                                                                Yes

08082572                              CUSDT[2], ETH[0], USD[0.01]

08082575                              BTC[.05838344], ETH[7.9226777], ETHW[7.91964721], LTC[6.41356793]                                                                                                                        Yes

08082576                              BTC[.30008875], LINK[299.56608526], NFT (297804736750754249/Goals)[1], NFT (346191196444894633/Goals #4)[1], NFT (443690716884312152/Black Nails BF)[1], NFT
                                      (445185697052996896/Goals #3)[1], NFT (477960705282917604/Goals #2)[1], NFT (524859900135319906/Spacey #2)[1], NFT (532883629280346869/Goals #5)[1], NFT
                                      (543491022109518683/Spacey)[1], SOL[45.34094999]
08082589                              BTC[0], ETH[0], SOL[0], USD[0.00]                                                                                                                                                        Yes

08082606                              NFT (387837291463251451/Silverstone Ticket Stub #118)[1], NFT (407219430862181222/Romeo #46)[1], NFT (456972602042847618/Entrance Voucher #1677)[1], NFT (458339364160175840/Austria Yes
                                      Ticket Stub #120)[1], NFT (477067256211505217/Montreal Ticket Stub #208)[1], NFT (521187630109587156/Humpty Dumpty #299)[1], NFT (571827619952594973/Baku Ticket Stub #257)[1], USD[0.00]

08082607                              BRZ[2], CUSDT[8], DOGE[3], TRX[443.6724527], USD[0.00]

08082613       Contingent, Disputed   USD[0.01]

08082618                              EUR[0.00], TRX[.470002], USD[0.00], USDT[0]

08082620                              SOL[2.12882188], USD[0.00]

08082629                              GRT[1], LINK[.09369339], LTC[.00308337], SHIB[12898316.77085795], USD[0.03]                                                                                                              Yes

08082632                              EUR[0.00], NFT (357120989565689651/Floral Season #1)[1], NFT (366283530355787287/Ape Art #409)[1], NFT (452217430535889383/Ape Art #181)[1], NFT (473919502394479339/Ape Art #675)[1],
                                      NFT (484835424718117254/Ape Art #299)[1], NFT (532369768303262264/crypto mask #0007)[1], NFT (575138461394777884/Ape Art #552)[1]
08082639                              CUSDT[1], GRT[21.34475917], USD[0.00]                                                                                                                                                    Yes

08082660                              ALGO[0], AVAX[0], BTC[0.00578505], DOGE[0], ETH[0.08379889], ETHW[0], KSHIB[0], MATIC[0], NEAR[0], NFT (290965988097391432/Barcelona Ticket Stub #821)[1], NFT                           Yes
                                      (293429573417623165/3D SOLDIER #1936)[1], NFT (299713671909576591/2D SOLDIER #274)[1], NFT (334441106629739768/ApexDucks Halloween #266)[1], NFT (356067532601699696/#2446)[1],
                                      NFT (362675057286248010/#5026)[1], NFT (366678188544743945/Animal Gang #71)[1], NFT (415343818434407385/2D SOLDIER #2298)[1], NFT (434683819554679659/ApexDucks Halloween
                                      #1854)[1], NFT (435170847015981745/Bahrain Ticket Stub #1976)[1], NFT (439353463266996520/Barcelona Ticket Stub #1729)[1], NFT (442126955661834289/#6274)[1], NFT
                                      (451166793747847329/2D SOLDIER #3066)[1], NFT (452954589747063138/2D SOLDIER #4064)[1], NFT (468741686421707335/#6693)[1], NFT (477301915187784396/#3838)[1], NFT
                                      (477580447048576564/2D SOLDIER #3336)[1], NFT (493673705058063410/2D SOLDIER #3481)[1], NFT (499635819002327451/ApexDucks Halloween #79)[1], NFT (513061604194456213/2D
                                      SOLDIER #3597)[1], NFT (537168911079360283/Belgium Ticket Stub #157)[1], NFT (547231594630709130/Australia Ticket Stub #1816)[1], NFT (552338005420770051/Imola Ticket Stub #1740)[1],
                                      NFT (557062870217992054/Animal Gang #198)[1], NFT (558112102103532624/2D SOLDIER #2151)[1], NFT (559844472320402066/3D SOLDIER #4411)[1], NFT (564013532545190271/Hungary
                                      Ticket Stub #400)[1], NFT (569046387345967903/2D SOLDIER #3272)[1], SHIB[0], SOL[0], TRX[0], USD[0.00], USDT[0]
08082661                              USD[1.50]

08082673                              CUSDT[6], USD[0.00]                                                                                                                                                                      Yes

08082674                              BRZ[58.41083836], ETH[.00000008], ETHW[.00000008], SHIB[2], USD[0.00], USDT[0]                                                                                                           Yes

08082683                              BRZ[4], CUSDT[6], DOGE[14.33168332], ETHW[4.70908317], SHIB[115], SOL[24.56847804], TRX[26.17319199], USD[0.00]                                                                          Yes

08082687                              BRZ[2], CUSDT[21], DOGE[13.03575996], ETH[.00000493], ETHW[.54021302], LINK[24.42743864], MATIC[10.80863532], NFT (530201488924279268/Australia Ticket Stub #1509)[1], SHIB[19],         Yes
                                      SOL[5.20644974], TRX[9], USD[0.00]
08082689                              BTC[0.00022725], ETH[.03458811], ETHW[.03458811], USD[0.00]

08082692                              NFT (359683861536252638/Cyber Samurai Tensei Ceremony Announcement)[1], NFT (394543730247836221/Cyber Samurai #3506)[1], NFT (447933374918873712/7262)[1], SOL[.41214727], TRX[1],
                                      USD[0.00]
08082700                              BAT[20], BTC[.0017], DOGE[546.811], ETH[.085938], ETHW[.085938], SHIB[500000], SOL[.349645], SUSHI[10], USD[6.95]

08082702                              USD[50.00]

08082721                              USD[100.00]

08082722                              BTC[.0016983], ETH[.510977], ETHW[.510977], SOL[13.78956], USD[701.42]

08082727                              SHIB[3260568.76103274]

08082741                              BAT[10.03660702], CUSDT[9], MATIC[18.54195337], SHIB[2], TRX[1], USD[56.52], USDT[0.00006207]                                                                                            Yes

08082750                              BRZ[1], CUSDT[1], DOGE[1], USD[31.34]                                                                                                                                                    Yes

08082766                              USD[0.01]

08082768                              USD[18.44]                                                                                                                                                                               Yes

08082771                              BTC[.0000733], ETH[.000903], ETHW[.000903], LINK[.0881], SOL[.00866], USD[0.98]

08082772                              BTC[.00165463], CUSDT[8], ETH[.00621961], ETHW[.00613753], SHIB[1011305.283434], SOL[.12931929], USD[0.00]                                                                               Yes

08082776                              BAT[2.00001826], BRZ[4], DOGE[2], GRT[4.00167156], LINK[0], MATIC[0], NFT (356517094328530495/Entrance Voucher #964)[1], SHIB[4], SOL[0], TRX[9], UNI[0], USD[0.00], USDT[0.00000001]    Yes

08082780                              SHIB[0], SUSHI[0], USDT[0]

08082781                              USD[401.00]

08082784                              BTC[.00000007], DOGE[2], TRX[3], USD[0.00]                                                                                                                                               Yes

08082790                              USD[0.00]                                                                                                                                                                                Yes

08082795                              TRX[1], USD[0.00]

08082804                              CUSDT[1], SOL[.22943435], USD[0.00]                                                                                                                                                      Yes

08082808                              CUSDT[5], DOGE[343.75153829], GRT[60.98703756], SHIB[13457866.74497839], TRX[2], USD[3.45]                                                                                               Yes

08082814                              BAT[1.00779204], BTC[.00000018], DOGE[1], ETH[0.00005250], ETHW[0.00005250], GRT[1], USD[0.00]                                                                                           Yes

08082815                              SOL[0], USD[0.00]                                                                                                                                                                        Yes
West Realm Shires Services Inc.                                                    Case 22-11068-JTD      Doc F-3:
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                                                                                                                                         Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08082824                           USD[0.06]                                                                                                                                                                        Yes

08082834                           CUSDT[1], LINK[20.01542677], TRX[1], USD[0.00], USDT[0]                                                                                                                          Yes

08082838                           SHIB[1098311.66284146], USD[0.00]

08082860                           CUSDT[1], DOGE[375.16084141], SHIB[622277.53578095], USD[0.00]

08082867                           BTC[.196], USD[1.65]

08082871                           USD[2.78]

08082873                           USD[0.01]

08082880                           BRZ[1], BTC[.01655369], CUSDT[8], DOGE[6118.72448676], ETH[.10482461], ETHW[.10482461], GRT[1], MATIC[422.70412754], SOL[28.4659034], TRX[4], USD[0.00]

08082887                           BRZ[1], USD[0.00], USDT[0]

08082894                           BTC[.00002486], USD[0.42], USDT[0.00149033]

08082897                           USD[0.00]                                                                                                                                                                        Yes

08082898                           KSHIB[0], SHIB[1534002.62025938], USD[10.88]                                                                                                                                     Yes

08082906                           BTC[.00005657], SOL[6.81739738], USD[364.39]

08082921                           DOGE[1], SHIB[23247832.29259611], TRX[1], USD[0.00]                                                                                                                              Yes

08082931                           CUSDT[1], DOGE[1], SHIB[191276.28471134], SOL[.16891786], SUSHI[1.93417974], TRX[99.47484081], USD[0.00]                                                                         Yes

08082932                           USD[0.00], USDT[0]

08082937                           BTC[.0259838], SHIB[91000], USD[741.17]

08082938                           USD[0.70]

08082940                           SHIB[1179473.13967291], TRX[1], USD[21.86]                                                                                                                                       Yes

08082953                           USD[0.00]

08082956                           BRZ[1], DOGE[2], ETH[.23380758], ETHW[.23360512], MATIC[375.06199006], SOL[2.43372264], TRX[2], USD[0.00], USDT[0.00000002]                                                      Yes

08082957                           ALGO[.00308036], SHIB[221.19205553], YFI[.0000002]                                                                                                                               Yes

08082960                           CUSDT[3], ETH[.00390612], ETHW[.00390612], USD[0.00]

08082966                           USD[10.83]                                                                                                                                                                       Yes

08082984                           BTC[0], SHIB[0], SOL[0], TRX[0], USD[0.00]

08083000                           CUSDT[1], SOL[3.99323839], USD[0.00]                                                                                                                                             Yes

08083002                           BTC[.0019], DOGE[1621.805], ETH[.04], ETHW[.04], SHIB[2597400], USD[4.08]

08083006                           BAT[1.01189664], BRZ[3], BTC[.01353969], CUSDT[9], DOGE[408.29105397], ETH[.09084205], ETHW[.0897913], MATIC[79.9110881], SHIB[2322855.46583673], USD[126.78]                    Yes

08083007                           AVAX[.043], ETH[.0002036], ETHW[.0002036], SHIB[29300000], SOL[.008854], USD[0.00]

08083008                           SOL[6.20209176], TRX[1]                                                                                                                                                          Yes

08083013                           USD[0.00]

08083014                           USD[0.01]                                                                                                                                                                        Yes

08083020                           NFT (296950773320083179/AlgoPrime AI.Glitches #14)[1], NFT (297161337419424915/AlgoPrime AI.Glitches #59)[1], NFT (297888072323261592/AlgoPrime AI.Glitches #45)[1], NFT
                                   (300067341494059597/AlgoPrime AI.Glitches #33)[1], NFT (300606183147328170/AlgoPrime AI.Glitches #12)[1], NFT (301664150853497122/AlgoPrime AI.Glitches #36)[1], NFT
                                   (301875576264601530/AlgoPrime AI.Glitches #17)[1], NFT (302879257564663506/AlgoPrime AI.Glitches #92)[1], NFT (306023585704592126/AlgoPrime AI.Glitches #40)[1], NFT
                                   (306105250512500257/AlgoPrime AI.Glitches #35)[1], NFT (307654481089262063/AlgoPrime AI.Glitches #102)[1], NFT (309155846223852208/AlgoPrime AI.Glitches #82)[1], NFT
                                   (310591689024604769/AlgoPrime AI.Glitches #87)[1], NFT (313963389478188689/AlgoPrime AI.Glitches #88)[1], NFT (321093084784358349/AlgoPrime AI.Glitches #90)[1], NFT
                                   (321393091819529154/AlgoPrime AI.Glitches #5)[1], NFT (321792170965211257/AlgoPrime AI.Glitches #89)[1], NFT (324544061216316578/AlgoPrime AI.Glitches #52)[1], NFT
                                   (325293271278137869/AlgoPrime AI.Glitches #3)[1], NFT (327693098567088483/AlgoPrime AI.Glitches #39)[1], NFT (328384548592308651/AlgoPrime AI.Glitches #86)[1], NFT
                                   (328733257942984616/AlgoPrime AI.Glitches #94)[1], NFT (330140325978577733/AlgoPrime AI.Glitches #20)[1], NFT (330344739356310525/AlgoPrime AI.Glitches #55)[1], NFT
                                   (338558917838815933/AlgoPrime AI.Glitches #99)[1], NFT (342086488369593590/AlgoPrime AI.Glitches #78)[1], NFT (345358907822551279/AlgoPrime AI.Glitches #24)[1], NFT
                                   (346960576217085698/AlgoPrime AI.Glitches #37)[1], NFT (348250928631160976/AlgoPrime AI.Glitches #47)[1], NFT (365166083642966652/AlgoPrime AI.Glitches #43)[1], NFT
                                   (365901760393731155/AlgoPrime AI.Glitches #6)[1], NFT (379644030576674681/AlgoPrime AI.Glitches #13)[1], NFT (381120156671194879/AlgoPrime AI.Glitches #18)[1], NFT
                                   (389063636317070010/AlgoPrime AI.Glitches #68)[1], NFT (392295499805509847/AlgoPrime AI.Glitches #93)[1], NFT (392443099628659737/AlgoPrime AI.Glitches #80)[1], NFT
                                   (393944971055796615/AlgoPrime AI.Glitches #61)[1], NFT (397580049087476223/AlgoPrime AI.Glitches #56)[1], NFT (399031525148011122/AlgoPrime AI.Glitches #19)[1], NFT
                                   (402876766507466501/AlgoPrime AI.Glitches #9)[1], NFT (407350512041527449/AlgoPrime AI.Glitches #71)[1], NFT (407563835529448606/AlgoPrime AI.Glitches #42)[1], NFT
                                   (408040609253695659/AlgoPrime AI.Glitches #79)[1], NFT (408823602606656266/AlgoPrime AI.Glitches #28)[1], NFT (409342632904357013/AlgoPrime AI.Glitches #22)[1], NFT
                                   (409659533856379131/AlgoPrime AI.Glitches #30)[1], NFT (412524030543680182/AlgoPrime AI.Glitches #41)[1], NFT (413243287322968398/AlgoPrime AI.Glitches #97)[1], NFT
                                   (413248375176178729/AlgoPrime AI.Glitches #66)[1], NFT (419557014478890256/AlgoPrime AI.Glitches #95)[1], NFT (420123664943107398/AlgoPrime AI.Glitches #16)[1], NFT
                                   (427410052783998823/AlgoPrime AI.Glitches #4)[1], NFT (429095096042457424/AlgoPrime AI.Glitches #50)[1], NFT (433518205649396536/AlgoPrime AI.Glitches #44)[1], NFT
                                   (434683559812116968/AlgoPrime AI.Glitches #83)[1], NFT (440744158204699411/AlgoPrime AI.Glitches #57)[1], NFT (440812516580561479/AlgoPrime AI.Glitches #34)[1], NFT
                                   (449681411111383083/AlgoPrime AI.Glitches #73)[1], NFT (452841890500976881/AlgoPrime AI.Glitches #29)[1], NFT (456148018177479732/AlgoPrime AI.Glitches #49)[1], NFT
                                   (460604707815777012/AlgoPrime AI.Glitches #76)[1], NFT (464446583785338155/AlgoPrime AI.Glitches #11)[1], NFT (465805908893574606/AlgoPrime AI.Glitches #46)[1], NFT
                                   (469315049998445663/AlgoPrime AI.Glitches #8)[1], NFT (471947802876216242/AlgoPrime AI.Glitches #91)[1], NFT (477684016128299376/AlgoPrime AI.Glitches #23)[1], NFT
                                   (479089929591615729/AlgoPrime AI.Glitches #74)[1], NFT (491541549914911859/AlgoPrime AI.Glitches #75)[1], NFT (494248841084062086/AlgoPrime AI.Glitches #69)[1], NFT
                                   (499364158688124100/AlgoPrime AI.Glitches #58)[1], NFT (503110594082066627/AlgoPrime AI.Glitches #67)[1], NFT (503182221224148215/AlgoPrime AI.Glitches #85)[1], NFT
                                   (504709204760252887/AlgoPrime AI.Glitches #98)[1], NFT (505081922680144630/AlgoPrime AI.Glitches #96)[1], NFT (507851974085649020/AlgoPrime AI.Glitches #62)[1], NFT
                                   (509466857640975555/AlgoPrime AI.Glitches #64)[1], NFT (510054711024540182/AlgoPrime AI.Glitches #81)[1], NFT (511270979704518631/AlgoPrime AI.Glitches #53)[1], NFT
                                   (515542253776810676/AlgoPrime AI.Glitches #2)[1], NFT (516062912147382276/AlgoPrime AI.Glitches #60)[1], NFT (520605903632018931/AlgoPrime AI.Glitches #32)[1], NFT
                                   (524608129287231539/AlgoPrime AI.Glitches #26)[1], NFT (526525931319640666/AlgoPrime AI.Glitches #63)[1], NFT (531819259207230401/AlgoPrime AI.Glitches #72)[1], NFT
                                   (533586261640285394/AlgoPrime AI.Glitches #25)[1], NFT (539406270061218574/AlgoPrime AI.Glitches #101)[1], NFT (540848477544605999/AlgoPrime AI.Glitches #51)[1], NFT
                                   (547051695505944480/AlgoPrime AI.Glitches #84)[1], NFT (548780461119858636/AlgoPrime AI.Glitches #21)[1], NFT (550557491348491105/AlgoPrime AI.Glitches #100)[1], NFT
                                   (553688941147269953/AlgoPrime AI.Glitches #65)[1], NFT (554671828541258012/AlgoPrime AI.Glitches #54)[1], NFT (556945815481026151/AlgoPrime AI.Glitches #10)[1], NFT
                                   (557669619740104390/AlgoPrime AI.Glitches #15)[1], NFT (565122029619320796/AlgoPrime AI.Glitches #38)[1], NFT (570730847676258873/AlgoPrime AI.Glitches #7)[1], SOL[.73500001]
08083022                           USD[105.39], USDT[0]                                                                                                                                                             Yes

08083024                           USD[1.83]

08083026                           BTC[0], ETHW[.011912], USD[1.99]

08083027                           NFT (375372691117738038/Coachella x FTX Weekend 1 #132)[1]                                                                                                                       Yes

08083030                           ETH[.17972248], ETHW[0.17972248], USD[389.89]

08083033                           GRT[17.955], LINK[3.4948], USD[0.15], USDT[0]
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                                                                                                                                         Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08083036                           USD[54.17]                                                                                                                                                                           Yes

08083044                           CUSDT[1], USD[0.00]                                                                                                                                                                  Yes

08083047                           ETH[.09287135], ETHW[0.09182402]                                                                                                                                                     Yes

08083048                           ETH[.03909242], ETHW[.03909242]

08083053                           USD[0.01]

08083058                           BTC[.00015388], USD[0.00]                                                                                                                                                            Yes

08083069                           BRZ[1], CUSDT[1], DOGE[5], ETH[.00000001], ETHW[0], MATIC[1.47806508], SHIB[18], TRX[4], USD[0.00], USDT[0.00000050]                                                                 Yes

08083086                           CUSDT[2], SHIB[2], SOL[0], USD[0.44]                                                                                                                                                 Yes

08083088                           BTC[.0119], ETH[.06943641], ETHW[.06943641], MATIC[199.8], SOL[2.76723], USD[537.22]

08083092                           BTC[.000057], LTC[.00140804], USDT[0]

08083094                           CUSDT[1], MATIC[30.83692661], USD[0.00]                                                                                                                                              Yes

08083096                           CUSDT[1], DOGE[1], SHIB[2879882.96738249], TRX[1], USD[0.00], USDT[0]

08083098                           AVAX[0], BRZ[2], DOGE[1], LINK[0], SHIB[1], SOL[0], TRX[3]                                                                                                                           Yes

08083101                           USD[1.08], USDT[5.38647975]                                                                                                                                                          Yes

08083102                           CUSDT[1], SHIB[2150472.3853681], TRX[1], USD[32.56]                                                                                                                                  Yes

08083103                           BTC[.0000816], USD[0.00]

08083107                           ETH[0], ETHW[.351648], USD[0.00]

08083111                           BTC[.18163701], DOGE[6710.74597517], ETH[1.30934453], ETHW[.31646911], GRT[1], SHIB[2], SOL[23.93677963], SUSHI[33.80793767], TRX[2], USD[0.00]

08083120                           ETH[.00034922], ETHW[.00034922], SHIB[30395.13677811], SOL[.0000085], USD[0.00]

08083127                           USD[20.00]

08083134                           USD[2.10]

08083135                           BTC[0.00397403], ETH[0], LTC[0], USD[0.00], USDT[4.9730307]

08083136                           NFT (319126091865908002/FTX - Off The Grid Miami #928)[1], SOL[.00998], USD[0.00]

08083137                           BRZ[1], BTC[.0000001], CUSDT[2], DOGE[1], LINK[1.07918685], NFT (513681426769995180/ALPHA:RONIN #990)[1], SOL[.00002762], USD[0.02]                                                  Yes

08083141                           SOL[0]

08083143                           BRZ[1], BTC[0], CUSDT[2], SHIB[3], TRX[0], USDT[0.00015492]

08083155                           NFT (293049856603720602/Monk #3876)[1], NFT (296642036489025265/Solninjas #651)[1], NFT (302540243349463971/Kiddo #2618)[1], NFT (305126015115597779/SolBunnies #1704)[1], NFT       Yes
                                   (325895580493320319/SOLYETIS #2281)[1], NFT (330326751547281880/Kiddo #2541)[1], NFT (334503083458436311/Red Panda #8730)[1], NFT (335078268118233428/DOTB #2700)[1], NFT
                                   (342839209021738156/ApexDucks #3813)[1], NFT (346552787735573892/Solana Penguin #3033)[1], NFT (367278969667498740/Little Rocks #473)[1], NFT (369023352338795955/CryptoAvatar
                                   #154)[1], NFT (372594478714198571/SolBunnies #464)[1], NFT (379577731217889199/Solana Penguin #4217)[1], NFT (387981686247869472/Solninjas #7313)[1], NFT
                                   (389118029004637230/SolBunnies #2193)[1], NFT (389175218706900497/Solana Penguin #4261)[1], NFT (394281396558008510/Monk #1481)[1], NFT (402253844454051439/ApexDucks #1708)[1],
                                   NFT (403915119296933270/ApexDucks #1598)[1], NFT (404135487210733224/SOLYETIS #2724)[1], NFT (424512960933418908/ApexDucks #7167)[1], NFT (427020115588195007/Solninjas
                                   #8306)[1], NFT (435043253193074199/SOLYETIS #8018)[1], NFT (442065279069581839/Eitbit Ape #469)[1], NFT (445156064104078120/Solninjas #2360)[1], NFT (452252303439782772/Solninjas
                                   #9489)[1], NFT (459057652185656474/Anti Social Bot #2361)[1], NFT (462715153973851221/Solana Penguin #3579)[1], NFT (474312676844289999/SolBunnies #2526)[1], NFT
                                   (481468714775068180/Monk #5870)[1], NFT (484482679384855337/Solninjas #4158)[1], NFT (485799440749250319/Anti Social Bot #183)[1], NFT (497822722757395869/Kiddo #1716)[1], NFT
                                   (499895466221814081/Kiddo #5877)[1], NFT (508918825765201064/Solninjas #9376)[1], NFT (510347351475268236/SOLYETIS #5851)[1], NFT (516608699228557926/ApexDucks #3389)[1], NFT
                                   (529358493337697774/Anti Social Bot #2700)[1], NFT (529598275140418044/ApexDucks #3107)[1], NFT (534497385613964207/SolBunnies #1385)[1], NFT (543243067579618103/Solana Penguin
                                   #221)[1], NFT (547074492856443285/Eitbit Ape #1791)[1], NFT (572926260557689176/SOLYETIS #6022)[1], SOL[.02869185], USD[0.00]

08083166                           USD[0.60]

08083173                           USD[13.10]

08083181                           DOGE[1], NFT (476557931029623197/Entrance Voucher #29357)[1], TRX[1.04410987], USD[238.68]                                                                                           Yes

08083182                           AAVE[.00788], BAT[1], BTC[0.00001053], ETH[.00078], ETHW[.000112], SOL[.00976], UNI[.0429], USD[0.00]

08083188                           USD[300.00]

08083189                           TRX[1]

08083192                           DOGE[.625856]

08083198                           SOL[0], USD[0.00]

08083202                           BTC[.01746203], CUSDT[2], SOL[1.22169011], TRX[1], USD[0.00]                                                                                                                         Yes

08083203                           USD[0.00]

08083204                           SOL[1], USD[260.71]

08083214                           BTC[.00816162], TRX[1], USD[793.56]                                                                                                                                                  Yes

08083218                           BTC[0.00150000], DOGE[23.976], USD[0.07], USDT[0.00489163]

08083228                           ETH[0], MATIC[0], SOL[0], USD[0.00]

08083233                           BTC[.00788038]

08083237                           AVAX[.66950832], DOGE[1], MATIC[183.60747061], SHIB[1], USD[1246.74]                                                                                                                 Yes

08083249                           MATIC[1098.9], USD[102.21]

08083251                           KSHIB[0], SOL[0.50492965], USD[201.59]

08083264                           BRZ[1], CUSDT[1], DOGE[3], TRX[1], USD[783.37]                                                                                                                                       Yes

08083266                           BRZ[1], SOL[.00040801], USD[0.00]                                                                                                                                                    Yes

08083267                           BTC[.0136], KSHIB[4580], SHIB[52400000], USD[1.78]

08083278                           USD[11.35]

08083280                           SOL[0], USD[0.00]                                                                                                                                                                    Yes

08083303                           SOL[17.91081369], USD[3.87]
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08083310                              CUSDT[496.89597004], DOGE[338.13403406], SHIB[2069448.38030662], TRX[210.57147585], USD[4.34]                                                                                        Yes

08083314       Contingent, Disputed   SOL[1.4701313]                                                                                                                                                                       Yes

08083315                              BRZ[1], USD[0.00]                                                                                                                                                                    Yes

08083322                              ETHW[.070929], SHIB[97700], USD[126.93]

08083325                              AAVE[.01], SHIB[99900], SOL[.48], USD[0.39], USDT[.6947554]

08083343                              BF_POINT[100]                                                                                                                                                                        Yes

08083346                              USD[100.00]

08083347                              CUSDT[2], TRX[3], USD[104.06]                                                                                                                                                        Yes

08083348                              CUSDT[2], DOGE[1869.08348631], ETH[.12018575], ETHW[.12018575], USD[0.00]

08083349                              KSHIB[6803.19], SHIB[20497500], USD[0.38]

08083351                              BTC[.0000993], SOL[.01], USD[5.90]

08083356                              BTC[.10797139], CUSDT[2], ETH[.06429839], ETHW[.06350087], SOL[1.11706018], USD[0.87]                                                                                                Yes

08083361                              SHIB[98273.0531653], USD[0.00]                                                                                                                                                       Yes

08083371                              USD[1.91]                                                                                                                                                                            Yes

08083373                              USD[15.00]

08083384                              CUSDT[1], KSHIB[1821.38115697], SHIB[1959084.49296566], TRX[2], USD[0.00], USDT[107.73353063]                                                                                        Yes

08083389                              BTC[0.00000003], ETH[.00000128], ETHW[.00000128], SHIB[13.79318537], SOL[.0000127]                                                                                                   Yes

08083390                              USD[3.44]

08083396       Contingent, Disputed   AAVE[0.00518168], BAT[1.05871579], BCH[.01360592], BTC[.0001111], CUSDT[2], DOGE[1.63818261], ETH[.00130615], ETHW[.00129247], LINK[.32918782], LTC[.03768891], MATIC[1.05668987],   Yes
                                      SOL[0.02474948], SUSHI[1.09181655], TRX[1], USD[7.59], USDT[0]
08083416                              ETH[0], LTC[0], USD[0.00], USDT[0]

08083424                              BRZ[1], BTC[0.00000442], ETHW[5.35967205], SHIB[34], USD[0.64]                                                                                                                       Yes

08083427                              USD[20.00]

08083428                              BTC[.00085042], CUSDT[1], USD[0.00]                                                                                                                                                  Yes

08083434                              USD[10000.00]

08083435                              NFT (419252311616616247/NFT BZL 2021 #103)[1]

08083446                              BTC[0.01328736], USD[0.50]

08083449                              SOL[13.37438], USD[0.41]

08083458                              USD[100.00]

08083463                              SOL[.00002173], USD[0.00]

08083469                              NFT (378899706115584889/Coachella x FTX Weekend 1 #23004)[1], SOL[.00000001], USD[13.56], USDT[0]

08083473                              AVAX[.0000022], CUSDT[1], SHIB[1], USD[0.54]                                                                                                                                         Yes

08083481                              ETH[.00007807], ETHW[.00007807], USD[91.59], USDT[0]

08083484                              USD[0.00]                                                                                                                                                                            Yes

08083512                              AVAX[0], BTC[0.00593069], ETH[0.08695496], ETHW[0], SOL[5.92182685], USD[222.76], USDT[0], WBTC[0]

08083515                              DOGE[1], SUSHI[.00055684], USD[0.00]                                                                                                                                                 Yes

08083518                              USD[0.01]                                                                                                                                                                            Yes

08083522                              UNI[4.0959], USD[2.08]

08083534                              CUSDT[1], DOGE[81.16508889], USD[21.67]                                                                                                                                              Yes

08083538                              USD[108.32]                                                                                                                                                                          Yes

08083540                              BTC[.00000002], TRX[1], USD[0.00]                                                                                                                                                    Yes

08083542                              ETH[.00000001], ETHW[.00000001]

08083543                              BTC[.0009], ETH[.013], ETHW[.013], USD[0.86]

08083564                              USD[1000.00]

08083567                              BRZ[1], ETH[.05585929], ETHW[.05516428], USD[0.06]                                                                                                                                   Yes

08083570                              BTC[.000095], USD[0.79]

08083578                              AVAX[0], BTC[0], DAI[0], ETH[0], ETHW[0], USD[1.28]

08083587                              CUSDT[1], DOGE[1], SHIB[246.86407516], TRX[1], USD[0.00]

08083588                              CUSDT[1], DOGE[1], USD[0.00]

08083597                              LTC[0]

08083598                              USD[11.92]

08083602                              ETH[4.4244537], USD[1985.44], USDT[99.998867]

08083610                              BRZ[2], CUSDT[2], DOGE[3], SHIB[2], SOL[.00000001], TRX[2], USD[0.00]                                                                                                                Yes

08083616                              ETH[.11253583], ETHW[.11253583], USD[0.00], USDT[0.00001307]

08083622                              USD[0.06], USDT[0]

08083626                              TRX[.964602], USDT[0]

08083627                              BRZ[2], CUSDT[9], DOGE[4], ETH[.00003303], ETHW[.07946286], SHIB[130053.30700944], SOL[.00018549], TRX[10], USD[2423.79], USDT[0.06607256]                                           Yes

08083633                              SHIB[13078733.97855087], TRX[1], USD[0.00]

08083652                              CUSDT[3], DOGE[2], SHIB[6], USD[34.83]                                                                                                                                               Yes
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08083655                              USD[127.01]                                                                                                                                                                Yes

08083672                              BAT[1], SHIB[1], USD[11297.30]                                                                                                                                             Yes

08083678                              CUSDT[1], USD[0.00]

08083680                              USD[162.48]                                                                                                                                                                Yes

08083690                              NFT (394835130634910179/The Hill by FTX #7987)[1]

08083691                              USD[0.17]

08083695                              MATIC[0], SOL[0], TRX[0], USD[0.00]

08083712                              MATIC[219.78], SOL[.07], USD[0.68]

08083731                              NFT (407942988144628714/Coachella x FTX Weekend 1 #727)[1], NFT (575852343349023869/Microphone #397)[1]

08083745                              USD[100.00]

08083746                              BRZ[1], CUSDT[3], DOGE[1], SHIB[2860043.56797638], SOL[5.18031344], TRX[2], USD[108.75]                                                                                    Yes

08083751                              DOGE[1], SHIB[1], USD[0.00]

08083759                              BRZ[3], CUSDT[13], DOGE[2], GRT[1], NFT (308608712281090869/Bob Voxi)[1], NFT (381322285487351502/Solana Penguin #4844)[1], NFT (454811198332026592/Play ball 4)[1], NFT   Yes
                                      (530007125179631257/Weendy Pooh)[1], NFT (543403639185867429/Pug Love #29)[1], SOL[.00009567], TRX[2], USD[0.00]
08083760                              CUSDT[5], DOGE[1], KSHIB[230.30229468], LINK[0], SHIB[0], SUSHI[4.41018718], TRX[4], USD[0.01]

08083761                              BTC[.00016151], CUSDT[1], ETH[.11303458], ETHW[.11192117], GRT[197.00358765], TRX[1], USD[0.01]                                                                            Yes

08083764                              CUSDT[2], TRX[1], USD[0.00]

08083774       Contingent, Disputed   DOGE[1], USD[0.00]

08083784                              USD[0.01]                                                                                                                                                                  Yes

08083791                              CUSDT[7], NFT (288586931741500264/FTX Crypto Cup 2022 Key #2514)[1], TRX[1], USD[0.00]                                                                                     Yes

08083792                              TRX[.000001], USDT[.8459052]

08083803                              USD[10.00], USDT[0.00000175]

08083804                              USD[0.00]

08083825                              BTC[.00030635], CUSDT[1], USD[0.00]                                                                                                                                        Yes

08083829                              ETHW[.5195]

08083841                              SOL[.00004952], USD[0.00]

08083851                              USD[14.09]

08083852                              USD[0.00]

08083853                              CUSDT[2], USD[0.00]                                                                                                                                                        Yes

08083855                              USD[0.00], USDT[5.38662737]                                                                                                                                                Yes

08083865                              SOL[0], USD[0.00]

08083879                              BTC[.0006993], ETH[.01], ETHW[.01], USD[40.03]

08083880                              NFT (396045363201662335/The 2974 Collection #1692)[1], NFT (542602738720360846/Birthday Cake #1692)[1], USD[895.00]

08083887                              USD[60.01]

08083891                              USD[0.00]                                                                                                                                                                  Yes

08083892                              BF_POINT[100], BRZ[4], BTC[.00000014], CUSDT[25], DOGE[9.01859444], SHIB[2], SUSHI[.00013736], TRX[18.64803135], USD[0.00]                                                 Yes

08083899                              MATIC[0], SOL[0], USD[0.00], USDT[0]

08083903                              ETH[.00414438], ETHW[0.01914919], SOL[.0339135], USD[0.00], USDT[1.02390679]                                                                                               Yes

08083906                              USD[23.72]

08083907                              SOL[.11124896], USD[0.00]

08083921                              USD[1.44]

08083940                              BTC[.0000251], USD[3.70]

08083945                              BTC[.00000001]

08083953                              USD[0.10]

08083956                              SOL[.05438338], USD[0.00], USDT[0.00000058]

08083959                              LTC[.04317844], USD[0.90]                                                                                                                                                  Yes

08083961                              DOGE[2.31669109], USD[0.00]                                                                                                                                                Yes

08083973       Contingent, Disputed   USD[0.01]

08083975                              AAVE[0], LINK[0], MATIC[0], MKR[0], SOL[0], SUSHI[0], USD[1.03], USDT[0.00000002]

08083987                              BRZ[1], BTC[.00686642], USD[0.00]

08084006                              SOL[2.08479853], USD[0.00]

08084009                              ALGO[.72701841], LINK[.20003843], SHIB[31228.28619286], USD[0.40]                                                                                                          Yes

08084018                              CUSDT[4], DOGE[2], TRX[1], USD[0.00]

08084019       Contingent, Disputed   BTC[.0015], PAXG[.0267], SOL[.21], USD[305.86]

08084020                              DOGE[1], USD[0.01]

08084021                              BF_POINT[300], BRZ[3], CUSDT[3], DOGE[5], ETHW[.83290952], SHIB[2], TRX[2], USD[42.64]                                                                                     Yes

08084025                              USD[10.00]

08084033                              DOGE[2211.64073162], ETH[.06187889], ETHW[.06111262], SHIB[7329775.41941673], SOL[.00002128], TRX[1], USD[0.00]                                                            Yes

08084034                              USD[0.00], USDT[0.00000206]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08084036                              BAT[1], BRZ[3], DOGE[3], ETH[.00000848], ETHW[.00000848], GRT[1], SHIB[6], TRX[2], USD[0.00], USDT[1.01670401]                                                                          Yes

08084043                              CUSDT[2], TRX[293.2332269], USD[0.00]                                                                                                                                                   Yes

08084052                              ETHW[.00586879], USD[0.00]

08084067                              NFT (295512435653304306/StarAtlas Anniversary)[1], NFT (304125218132398048/Settler #2071)[1], NFT (371619113252162984/StarAtlas Anniversary)[1], NFT (372744535159875722/StarAtlas      Yes
                                      Anniversary)[1], NFT (387728629795174812/StarAtlas Anniversary)[1], NFT (411430700080221674/StarAtlas Anniversary)[1], NFT (424557892395728295/Frog #3693)[1], NFT
                                      (455054743899580549/SolBunnies #852)[1], NFT (487381562955703942/StarAtlas Anniversary)[1], NFT (493005385224203468/Tommy Gun)[1], NFT (532520821824820208/StarAtlas Anniversary)[1],
                                      NFT (545610165913066075/Golden bone pass)[1], NFT (546088482131342037/StarAtlas Anniversary)[1], NFT (556682969587624443/Cyber Frogs Ramen)[1], NFT (564860052645855014/Frog
                                      #5753)[1], SOL[4.86175654]
08084097                              ETH[1], ETHW[1]

08084104                              TRX[458.98433376], USDT[0]

08084109                              BRZ[2], CUSDT[6], DOGE[1.00352107], LTC[.00000418], MATIC[.65990225], SHIB[34.47284637], TRX[.00836745], USD[0.75]                                                                      Yes

08084114                              USD[2.18]

08084120                              BAT[1], SHIB[2], USD[0.05]                                                                                                                                                              Yes

08084131                              SOL[40.21177961], USD[5.71]

08084135                              DOGE[505.79092992], LINK[4.0200808], USD[0.00], USDT[50.71984336]

08084158                              USD[0.00]

08084163                              BTC[.0049], USD[0.97]

08084169                              NFT (521565562487229362/Microphone #228)[1]

08084170                              USD[2.46]

08084173                              DOGE[20.62579462], SHIB[272144.94875549], USD[0.00]

08084179                              CUSDT[1], USD[15.74]                                                                                                                                                                    Yes

08084187                              USD[0.57], USDT[0]                                                                                                                                                                      Yes

08084193                              USDT[0]

08084195                              BTC[.05624933], SOL[10.440595], USD[227.00]

08084205                              BTC[.0000993], SHIB[98200], USD[0.00]

08084212                              ETH[0], USD[0.00]

08084214                              BTC[.00036447], CUSDT[2], DOGE[.00266727], ETH[.00238489], ETHW[.00235751], SHIB[10.70989471], USD[0.02]                                                                                Yes

08084218                              BTC[.03101757]

08084220                              BTC[.0013], ETH[.03], ETHW[.03]

08084228       Contingent, Disputed   BTC[.0087928], USD[1.85]

08084240                              USD[0.00]

08084242                              ETH[.002], ETHW[.002], USD[4.47]

08084249                              ALGO[0], DOGE[1], LINK[.00025685], SHIB[3], TRX[2], USD[0.16]                                                                                                                           Yes

08084250                              CUSDT[6], DOGE[.0023059], ETH[1.72768297], ETHW[1.61391856], LINK[.000019], MATIC[25.20487947], MKR[.00000016], SHIB[3], SOL[2.7611463], TRX[6], USD[2465.01], USDT[1.06713427]         Yes

08084258                              DOGE[1], SOL[2.25045938], USD[0.01]                                                                                                                                                     Yes

08084261                              USD[0.00]

08084264                              USD[100.00]

08084272                              USD[0.71]

08084273                              SOL[.10228925], TRX[1], USD[0.00]                                                                                                                                                       Yes

08084276                              USD[0.00]

08084290                              USD[0.00], USDT[11.23]

08084293                              CUSDT[1], SHIB[1283349.89636227], USD[0.00]                                                                                                                                             Yes

08084294                              SHIB[37148.78332516], USD[0.00]                                                                                                                                                         Yes

08084303                              BAT[1], CUSDT[1], DOGE[1], TRX[4773.4372945], USD[0.00], USDT[0]

08084310       Contingent, Disputed   USD[0.48]

08084313                              BTC[.00000032], CUSDT[1], DOGE[1], ETH[.09244109], ETHW[.09139159], USD[0.00]                                                                                                           Yes

08084318                              USDT[0]

08084320                              BAT[2.00925712], BRZ[3], BTC[.00000004], CUSDT[8], DOGE[7.00550927], GRT[0], SHIB[14], TRX[12.0060289], USD[0.01], USDT[0]                                                              Yes

08084327                              CUSDT[1], SHIB[9730235.38951908], USD[0.00]                                                                                                                                             Yes

08084329                              ALGO[0], LINK[0], SHIB[2], TRX[1], USD[0.00]

08084332                              MATIC[.00090757], TRX[413.70691533], USD[0.01]                                                                                                                                          Yes

08084341                              BTC[.002997], ETH[.001], ETHW[.001], SOL[.32217253], USD[10.11]

08084345                              BTC[.0180819], ETH[.280724], ETHW[.280724], SHIB[4197800], SOL[3.45713], USD[89.41]

08084347                              USD[0.00]

08084348                              BTC[0], NFT (472153565594109468/The Hill by FTX #3380)[1], USD[0.67]

08084351                              USD[5.42]                                                                                                                                                                               Yes

08084356                              USD[0.00]

08084362                              BTC[.00092988], ETH[.07416262], ETHW[.07416262], SOL[2.87541379], USD[0.00]

08084363                              USD[0.01]                                                                                                                                                                               Yes

08084378                              CUSDT[1], TRX[2], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08084379                              USD[0.09], USDT[0]

08084382                              CUSDT[1], DOGE[1], TRX[1], USD[0.00]

08084386                              CUSDT[4], DOGE[519.98285945], ETH[.00000047], ETHW[.00000047], SOL[2.60375084], TRX[1435.8409291], USD[162.72]                                                                            Yes

08084389                              AVAX[0], BTC[0], DOGE[.19395043], ETH[0], MATIC[0], SOL[0], TRX[0], USD[0.00], USDT[0.00027134]

08084391                              USD[108.06]                                                                                                                                                                               Yes

08084395                              CUSDT[1], SOL[2.2958958], USD[0.00]                                                                                                                                                       Yes

08084398                              USD[129.98]                                                                                                                                                                               Yes

08084411                              SHIB[400000], SOL[2], USD[5.03]

08084422                              DOGE[66.93011174], USD[0.00]                                                                                                                                                              Yes

08084426                              CUSDT[1], ETH[.00417651], ETHW[.00417651], USD[0.00]

08084430                              USD[534.23], USDT[0]                                                                                                                                                                      Yes

08084431                              CUSDT[1], SHIB[9018759.01875901], USD[0.01]

08084433                              USD[50.01]

08084436                              ETH[0], SOL[0], USDT[0.00003857]

08084451                              DAI[0], USD[0.00]                                                                                                                                                                         Yes

08084454                              BCH[0], ETH[.0001856], ETHW[.0001856], KSHIB[0], SHIB[0], TRX[0], USD[0.00]                                                                                                               Yes

08084455                              BTC[.00001974], USD[0.00]

08084458                              AVAX[134.5947281], DOGE[1], ETHW[3.06666167], SHIB[39520854.43942871], USD[17000.00], USDT[0]

08084460                              DOGE[.9], ETH[.00038967], ETHW[0.00038966], USD[87.26]

08084468                              DOGE[165.21387332], SHIB[194321.5178686], USD[0.00]                                                                                                                                       Yes

08084475                              NFT (346816462606927742/Coachella x FTX Weekend 2 #7335)[1]

08084476                              KSHIB[9.08], NFT (307099297872074668/Serum Surfers X Crypto Bahamas #48)[1], NFT (364190840285647662/PixelPuffins #3350)[1], NFT (366300864112076791/Cool Goonie Original Allan Pachino
                                      Wallace )[1], NFT (366858684613766869/Unapologetic Apes #4)[1], NFT (374272678420570009/PixelPuffins #5738)[1], NFT (382892254721386768/Humpty Dumpty #61)[1], NFT
                                      (392580448115782844/Resilience #26)[1], NFT (439230928902054959/PixelPuffins #2693)[1], NFT (474858496741374548/Ghoulie #0394)[1], NFT (545363512917705217/Unapologetic Apes #5)[1],
                                      NFT (552343834905942308/PixelPuffins #5592)[1], NFT (565025586986401479/Unapologetic Apes #3)[1], SOL[0.14232535], USD[0.89]
08084483                              SOL[.84], USD[2462.64]

08084494                              ETH[.108584], ETHW[.108584], USD[74.03]

08084495                              ETH[.01223759], ETHW[.01223759], SOL[.00000001], USD[0.00]

08084501                              BTC[0], ETH[0], SOL[0], USD[0.00]

08084507                              USD[108.31]                                                                                                                                                                               Yes

08084508                              BRZ[1], CUSDT[11973.40146356], DOGE[2], ETH[1.29179578], ETHW[1.29124145], GRT[1.00017642], MATIC[315.81811571], SOL[20.8097353], TRX[1], USD[54.68]                                      Yes

08084509                              USD[0.01]

08084517                              CUSDT[4], DOGE[352.59585584], USD[0.00]                                                                                                                                                   Yes

08084525                              USD[0.27]

08084529                              SOL[0], USD[0.00], USDT[0.00001926]

08084535                              BTC[0], USD[0.00]

08084539                              BTC[.00065387], CUSDT[1], DOGE[41.30023641], ETH[.00113426], ETHW[.00112058], SHIB[37273.87433401], SOL[.04533132], USD[0.63]                                                             Yes

08084546                              NFT (438123078497059563/Coachella x FTX Weekend 1 #4986)[1]

08084547                              SHIB[1058116.61311164], SOL[.23002306]                                                                                                                                                    Yes

08084559                              MATIC[4.43751322], SOL[1.08361135], TRX[1], USD[1.23]                                                                                                                                     Yes

08084571                              USD[0.00], USDT[1.8029]

08084572                              SHIB[5000000], USD[6.82]

08084577                              TRX[1], USD[0.00]                                                                                                                                                                         Yes

08084578                              USD[0.00]                                                                                                                                                                                 Yes

08084585                              ETH[0], ETHW[0], SOL[.00000001], USD[0.00]

08084586                              SHIB[442350.48871992], USD[0.00]                                                                                                                                                          Yes

08084589       Contingent, Disputed   USD[1.28]

08084590                              USD[0.00]                                                                                                                                                                                 Yes

08084592                              USD[0.00]

08084600                              ETH[.01], ETHW[.01]

08084611                              USD[20.00]

08084616                              AVAX[.00114097], ETH[0], MATIC[0], SHIB[0], SOL[0.17526260], USD[0.27]                                                                                                                    Yes

08084619                              CUSDT[1], SHIB[895415.47277936], USD[0.00]

08084621                              BTC[.00002597], CUSDT[13], ETH[.00218073], ETHW[.00215337], GRT[16.76386353], LINK[2.13576368], MATIC[34.79071576], NFT (326560821954174646/Marcus Allen's Playbook: Seattle              Yes
                                      Seahawks vs. Los Angeles Raiders - October 7, 1984 #89)[1], SHIB[271291.10892506], SOL[.12946417], TRX[1], USD[0.05]
08084624                              BRZ[1], CUSDT[1], GBP[1.18], TRX[230.89674211], USD[0.00]                                                                                                                                 Yes

08084645                              SOL[.00000001]

08084646                              USD[3.98]

08084647                              ETH[.118881], ETHW[.118881], SOL[10.54944], USD[13.45]

08084649                              CUSDT[1], SUSHI[20.05348279], USD[0.00]                                                                                                                                                   Yes
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08084652                              BRZ[147.50230596], CUSDT[2], DOGE[307.5455772], USD[0.00]                                                                                                                            Yes

08084653                              USD[541.57]                                                                                                                                                                          Yes

08084661                              CUSDT[1], SOL[.54868163], USD[0.00]

08084662                              USD[0.92], USDT[0]

08084663                              BRZ[1], UNI[10.4514748], USD[0.00]                                                                                                                                                   Yes

08084668                              BTC[0.00000005], ETH[0.00000041], ETHW[0.00000041], SHIB[5], USD[0.00]                                                                                                               Yes

08084670                              USD[0.00]

08084675                              BTC[.00082617], DOGE[187604.53688684], ETH[.01473566], ETHW[0.01457730], SHIB[219334555.35489647]                                                                                    Yes

08084679                              BAT[1], DOGE[3], GRT[1], SHIB[84], SOL[0], TRX[7], USD[0.00], USDT[0]                                                                                                                Yes

08084683                              KSHIB[145.96585055], SHIB[182415.17694272], USD[2.00]

08084685                              BTC[.0516561], ETH[1.639], ETHW[1.639], USD[5.78]

08084688                              USD[6.58]

08084697                              USD[1.90]

08084704                              USD[2.66]

08084711       Contingent, Disputed   BTC[1.01367561], ETH[2.51637679], ETHW[2.51637679], SOL[22.83807353], USD[0.00]

08084714                              BTC[.00000114], ETH[.00000614], ETHW[.00000614], USD[0.00]                                                                                                                           Yes

08084720                              BTC[0], DOGE[1]

08084725                              CUSDT[2], USD[0.00]

08084731                              USD[0.06]

08084751                              AAVE[0], BCH[0], BTC[0], DOGE[0], ETH[0], ETHW[0], GRT[0], LTC[0], MATIC[0], SHIB[0], SOL[0], TRX[0], USD[0.01], USDT[0.08000000]                                                    Yes

08084756                              USD[0.00], USDT[492.71460507]

08084761                              USD[296.44], USDT[0]

08084766                              SOL[1.0824268]

08084770                              CUSDT[4], GRT[109.11379257], USD[0.00]                                                                                                                                               Yes

08084774                              BTC[0], ETH[.00000001], SOL[0.78840000], USD[85.06]

08084778                              ETH[.02], ETHW[.02], SOL[1.31526279]

08084786                              USD[0.00]

08084799                              USD[54.00]                                                                                                                                                                           Yes

08084803                              CUSDT[1], ETH[.01130527], ETHW[.01116847], USD[0.00]                                                                                                                                 Yes

08084817                              BAT[0.00000003], EUR[0.00], SOL[.00985843], USD[1.98], USDT[2.14867647], YFI[.00000001]                                                                                              Yes

08084819                              USD[0.00], USDT[0.00014055]

08084820                              USD[0.00]

08084831                              CUSDT[2], KSHIB[897.71248495], SHIB[972820.41397949], USD[0.00]                                                                                                                      Yes

08084837                              AAVE[.000026], BRZ[1], DOGE[2], LTC[.00001874], TRX[3], USD[0.93], USDT[1.08289092]                                                                                                  Yes

08084853                              NFT (394595623827711135/NastyNerd-5212)[1], NFT (436886650221294214/NastyNerd-5772)[1], NFT (470814730739789839/NastyNerd-4980)[1], USD[3.20]

08084860                              BTC[.0000001], CUSDT[1], DOGE[1], TRX[1], USD[0.01]                                                                                                                                  Yes

08084868                              CAD[0.56], CUSDT[1], NFT (480289686144043494/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #98)[1], USD[0.56]                                            Yes

08084871                              BTC[.04919685]                                                                                                                                                                       Yes

08084873                              BRZ[1], CUSDT[2], ETH[.04923459], ETHW[.04862097], SHIB[1], TRX[2], USD[0.01]                                                                                                        Yes

08084878                              SOL[1.98813354], USD[0.00]

08084883                              ETH[0], SHIB[25798.8992493], SUSHI[0], USD[0.00]                                                                                                                                     Yes

08084888                              CUSDT[5], SOL[2.07942326], USD[0.00]                                                                                                                                                 Yes

08084890                              AUD[51.96], NFT (519959957340685255/BADBODY GIRLS)[1], SUSHI[315.68529413], USD[2.91]

08084891                              USD[0.00], USDT[0]

08084892                              USD[0.00]

08084899                              CUSDT[0], NFT (296063115784306487/AI #6)[1], NFT (527978133935004827/AI #15)[1], SHIB[1], USD[0.01]                                                                                  Yes

08084903                              BTC[.00001996], NFT (296437520022212140/Doak Walker's Playbook: Texas vs. SMU - November 1, 1947 #63)[1], NFT (363690694986790497/Jolly Dolphins Test #3)[1], NFT
                                      (440369315351913759/Tim Brown's Playbook: Michigan State vs. Notre Dame - September 19, 1987 #44)[1], NFT (468554819921886763/Jolly Dolphins Test #1)[1], SOL[.0024754], USD[0.00]
08084905                              USD[0.08]

08084907                              BF_POINT[100], DOGE[0], NFT (350180466882411368/Cyber Pharmacist 4317)[1], NFT (376497913328566146/Cyber Pharmacist 7219)[1], NFT (439104616359198655/Cyber Pharmacist 0283)[1],     Yes
                                      NFT (557135743115620651/Cyber Pharmacist 8121)[1], SOL[1.10988497], USD[0.00]
08084914                              ETH[.43458675], ETHW[.43458675], SOL[.0499525], USD[11.18]

08084921                              CUSDT[2], DOGE[1], NFT (525944931770926629/3D CATPUNK #1148)[1], SHIB[15397213.54914051], TRX[73.16799499], USD[0.32]                                                                Yes

08084922                              ETH[0], SOL[0.00000001]

08084923                              BAT[2188.283], GRT[.329], LINK[125.7673], MATIC[7.31], SOL[13.71631], USD[11.99]

08084929                              NFT (402257826640820804/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #98)[1]

08084938                              USD[66.26]

08084944                              USD[0.90]

08084956                              BTC[.005]

08084960                              DOGE[2.12588732], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08084961                              CUSDT[1], USD[0.00]                                                                                                                                                               Yes

08084975                              BF_POINT[300], BTC[.01387247], DOGE[1], ETH[0.13388259], ETHW[0.13281212], USD[0.00]                                                                                              Yes

08084980                              USD[8.85]

08084986                              BTC[0], ETH[0], LTC[0], USD[0.00]

08084988                              USD[0.00], USDT[0]

08084991                              BAT[1.01488589], CUSDT[1], SHIB[3878745.91439947], USD[0.00]                                                                                                                      Yes

08085001                              BTC[0.00120150], SOL[0]

08085003                              BTC[.00849997]                                                                                                                                                                    Yes

08085008                              BTC[.00126348], MATIC[114.57189304], TRX[1]

08085016                              BRZ[1], BTC[.03261471], DOGE[5], SHIB[85], TRX[6], USD[0.00], USDT[2.06618549]                                                                                                    Yes

08085018                              BRZ[1], SHIB[1], TRX[1], USD[0.03], USDT[1.02543197]                                                                                                                              Yes

08085023                              ETH[.00208889], ETHW[.00208889], USD[0.00]

08085038                              SHIB[8729050.2793296], TRX[1], USD[0.01]

08085039                              USD[20.00]

08085048                              USD[1.87]

08085051                              ETH[.10548905], ETHW[.10548905]

08085061                              BRZ[3], CUSDT[3], DOGE[1], ETH[.11311595], ETHW[.11200175], LINK[16.66679778], LTC[1.43067461], MATIC[123.61603987], SHIB[1039852.20932735], SOL[1.38105263], TRX[2],             Yes
                                      UNI[20.46290759], USD[1.18]
08085063       Contingent, Disputed   NFT (425274456703813327/Oh really #2)[1], NFT (433859277751339714/What biotch!)[1], NFT (460464970109598868/Oh really)[1], TRX[.005], USD[1.21]

08085064                              NFT (408068792927654871/Hiking Series)[1], SOL[.001]

08085071                              BTC[0.00149982], CUSDT[57], USD[0.01]

08085072                              BRZ[1], CUSDT[2], DOGE[2], SOL[1.20014075], USD[0.00]

08085073                              CUSDT[1], SHIB[6144299.19404356], USD[0.00]                                                                                                                                       Yes

08085075                              SHIB[408329.93058391], SOL[.41685876], USD[0.01], USDT[0.79000078]

08085080                              CUSDT[6], DOGE[333.92880045], ETH[0.03687655], GRT[227.19085314], LINK[12.04035335], MATIC[61.48913006], SHIB[1], TRX[3], USD[0.00]                                               Yes

08085084                              ETH[.11], ETHW[.11], NFT (308038545242334481/MetaFan #3662)[1], NFT (382117595840291851/Eliminator Card #2347)[1], SOL[.23], USD[50.41]

08085088                              BCH[0.03385682], CUSDT[1]

08085103                              NFT (303858492018859781/Coogi #4695)[1]

08085108                              USD[2.01]

08085115                              SOL[.00108], USD[0.00]

08085118                              BTC[.21467061], USD[0.00]                                                                                                                                                         Yes

08085120                              NFT (539420632695131615/FTX - Off The Grid Miami #4910)[1], USD[0.00]

08085121                              ETH[.0007], ETHW[.0007], NFT (399536463918912338/Suki Strongroni)[1], NFT (451111884937568215/My Foot)[1], USD[0.68]

08085128                              ETH[.00067519], ETHW[.00067519], USD[0.00], USDT[0]

08085135                              SOL[.01876504], USD[0.00]

08085140                              CUSDT[1], SHIB[373412.99477221], USD[0.00]

08085143                              USD[25.06]

08085147                              BRZ[1], CUSDT[2], ETH[1.03883474], ETHW[1.03852478], SHIB[44198342.79200965], TRX[2], USD[20364.56]                                                                               Yes

08085150                              BAT[25.08375339], CUSDT[3], DOGE[2], GRT[103.65449146], LINK[1.99434256], SUSHI[18.78197193], UNI[4.12160916], USD[0.00]

08085153                              DOGE[.03], USD[11.35]

08085156                              ETHW[4.08055545], SHIB[1], USD[0.00]

08085159                              BAT[0], BRZ[0], BTC[0], CAD[0.00], DAI[0], DOGE[0], ETH[0], GBP[0.00], SHIB[702.69756722], SOL[0], SUSHI[0], TRX[0], USD[0.00], USDT[0], YFI[0]                                   Yes

08085160                              ETH[.233], ETHW[.233], SOL[10], USD[4.35]

08085164                              CUSDT[2], DOGE[1], USD[0.01]                                                                                                                                                      Yes

08085171                              BAT[3.12190623], BRZ[5.07952967], BTC[.0000646], CUSDT[4], DOGE[11110.03332166], GRT[2.00105965], SHIB[20104382.00842251], SOL[31.09902857], TRX[5], USD[0.88]                    Yes

08085180                              ETH[.00226213], ETHW[.00223477], SOL[.045261], USD[0.00]                                                                                                                          Yes

08085183                              CUSDT[2], ETH[.03514327], ETHW[.03470551], SHIB[995582.84972342], USD[1.08]                                                                                                       Yes

08085188                              BCH[.21526942]                                                                                                                                                                    Yes

08085190                              BTC[.00279129], USD[0.01]

08085193                              CUSDT[1], LINK[14.35035193], USD[0.01]

08085194                              ETHW[.21776383], SOL[.00492239], USD[0.00]

08085197                              BRZ[1], BTC[.00381467], CUSDT[1], ETH[.05215648], ETHW[.05215648], USD[0.00]

08085202                              BTC[.00678555], DOGE[107.47605407], PAXG[0], SHIB[917220.48901697], USD[0.02]                                                                                                     Yes

08085221                              BTC[0], NFT (566552019536716689/Coachella x FTX Weekend 2 #29405)[1]                                                                                                              Yes

08085250                              BTC[.00066641], CUSDT[3], ETH[.01978343], ETHW[0.01953719], USD[0.00]                                                                                                             Yes

08085256                              DOGE[.00957788], SHIB[2196548.03993335], USD[0.00]                                                                                                                                Yes

08085259                              NFT (341243020393513940/#3488)[1], NFT (351303625034783338/#2303)[1], NFT (366704589055875560/#2408)[1], NFT (468240615802857083/#1221)[1], NFT (537602689084727261/#2273)[1], NFT Yes
                                      (556028310647933429/#2744)[1], SHIB[2], USD[0.00]
08085260                              BTC[0], ETHW[4.997], USD[0.00]

08085269                              SOL[.00000002]
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                                                                                                                                         Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08085270                           USD[42.19]                                                                                                                                                                           Yes

08085275                           CUSDT[1], SOL[.45354874], USD[0.00]                                                                                                                                                  Yes

08085285                           ETH[.00012641], ETHW[0.00012641], USD[2.31]

08085295                           ETH[.53431599], ETHW[.53431599], SOL[4.25943539], USD[0.00]

08085297                           CUSDT[1], MATIC[9.01036764], USD[0.00]                                                                                                                                               Yes

08085305                           BCH[.11840057], CUSDT[2.00007111], TRX[244.52494911], USD[0.00]                                                                                                                      Yes

08085306                           NFT (311563644538347664/FTX Crypto Cup 2022 Key #2465)[1], NFT (341557825008845677/The Hill by FTX #6136)[1], NFT (406167823165760771/Good Boy #5054)[1], NFT
                                   (494633923750585030/Starry Night #354)[1], NFT (532658407236237991/FTX - Off The Grid Miami #3428)[1], SOL[.042655], USD[0.00]
08085314                           BTC[.0013], USD[15.22]

08085317                           BTC[.00423332], ETH[.06441166], ETHW[.06361222], NFT (324738706566859162/GalaxyKoalas # 368)[1], NFT (342061823448090869/Mech #5510)[1], NFT (386005364870591739/3D SOLDIER          Yes
                                   #2597)[1], NFT (417782404285688814/Eitbit Ape #1967)[1], NFT (532285562732994461/Little Rocks #1412)[1], NFT (557245014517833767/GalaxyKoalas # 682)[1], SHIB[1], SOL[0.75487474],
                                   USD[0.00]
08085326                           USD[0.00]

08085334                           CUSDT[3], DOGE[38.85626187], GRT[21.88365676], MATIC[5.42873553], PAXG[.0052949], SHIB[352609.30888575], TRX[221.78805598], USD[0.34]

08085338                           BTC[.00161427], CUSDT[4], ETH[.01132501], ETHW[.01118821], SOL[.2267405], USD[0.01]                                                                                                  Yes

08085346                           USD[5.42]                                                                                                                                                                            Yes

08085348                           AAVE[.86719165], BAT[180.61187624], BRZ[1], BTC[.00441305], CUSDT[3], DOGE[5], LINK[10.58753529], MATIC[111.39067637], SHIB[1], SOL[17.0422911], TRX[3645.93958663], USD[8.12]       Yes

08085355                           BTC[0], ETH[0], MATIC[.00000001], SOL[0], USD[0.49]

08085365                           USD[1145.42]                                                                                                                                                                         Yes

08085369                           SOL[.00073132]

08085382                           BRZ[1], DOGE[.00001773], USD[0.01]                                                                                                                                                   Yes

08085386                           USD[541.41]                                                                                                                                                                          Yes

08085387                           BRZ[1], CUSDT[2], DOGE[1], GRT[198.62379095], MATIC[179.99156251], TRX[981.37091065], USD[0.00]                                                                                      Yes

08085400                           TRX[2], USD[0.00]                                                                                                                                                                    Yes

08085405                           TRX[364.09369696], USD[0.00]                                                                                                                                                         Yes

08085417                           DOGE[1], SOL[3.68110226], USD[0.00]                                                                                                                                                  Yes

08085445                           SOL[11.2818494], USD[0.00], USDT[0.00000001]                                                                                                                                         Yes

08085446                           USD[5.50]

08085455                           USD[0.07]

08085456                           BTC[.00030776], CUSDT[2], SOL[.09419279], USD[0.00]                                                                                                                                  Yes

08085459                           BTC[.00007654], ETH[.00113645], ETHW[.00112277], USD[0.00]                                                                                                                           Yes

08085460                           BTC[.01792011], DOGE[1], ETH[.033862], ETHW[.033862], SOL[.84961007], USD[1.94], USDT[1]

08085479                           USD[0.00]

08085480                           BTC[0.00076272], USD[0.15]

08085493                           USD[10.00]

08085494                           SHIB[1], USD[0.00]                                                                                                                                                                   Yes

08085497                           SOL[.00095159], USD[0.84]

08085498                           BTC[0], USD[0.00]                                                                                                                                                                    Yes

08085503                           USD[11.62]
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                                                                                                                                         Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08085505                           NFT (288266178538098615/Baby Ape Social Club7)[1], NFT (288370561997630219/APA1)[1], NFT (289326499087986544/Astral Apes #2510)[1], NFT (289507470210654059/BOASC225)[1], NFT
                                   (289805696516853859/Villain ape#3)[1], NFT (290412679683153962/sheep_3926)[1], NFT (290740670715257538/Astral Apes #1070)[1], NFT (291792139729563465/Solana Doodle Walker #1)[1], NFT
                                   (292477423778711891/Mutant Ape Solana Club #2)[1], NFT (293381729784973716/NFT #Mutant #Ape0)[1], NFT (293721502318551080/NFT #10)[1], NFT (293774030240331246/Degen Lizzy
                                   #6971)[1], NFT (293892346263300882/Meta Smooth Brain Club #534)[1], NFT (294495713760168856/Personification #2153)[1], NFT (295463154273015621/sheep_3923)[1], NFT
                                   (295468982179896143/Tribal Chief Ape #2)[1], NFT (295633801598042248/Solana Punks #2648)[1], NFT (297240714360899329/IMB #4797)[1], NFT (297479769066304307/Astral Apes #1570)[1],
                                   NFT (297489223488494748/Loyalty Ape Gang4)[1], NFT (298355456375321039/Unknown Pixel Plants #387)[1], NFT (299002360039001689/FOLK12)[1], NFT (299319724564734736/bored Ape of War
                                   #10)[1], NFT (300026480966106003/PerkyPanda #4226)[1], NFT (300058587773615209/Gloom Punk #7407)[1], NFT (300063346563327339/Degen Lizzy #2787)[1], NFT (300629307506280568/Waxo
                                   Skull #339)[1], NFT (302030367852790896/Anatomy Ape Reversed #516)[1], NFT (303168692436185562/Degen Lizzy #0711)[1], NFT (305203626704141691/PDCZ #2)[1], NFT
                                   (305523148711853965/Grandpa Ape Sol Club #50)[1], NFT (306379093471779338/SOL LEGENDS #51)[1], NFT (307544833948674480/Anti Social Bot #2997)[1], NFT
                                   (308708121542960265/LightPunk #5335)[1], NFT (309079418704664428/X-COPY PUNK #4)[1], NFT (309953064226919051/Baby Boogle #849)[1], NFT (311477815117460198/DeGoddess #1379)[1],
                                   NFT (312233260059001636/ThugPunk #48)[1], NFT (312887591777600555/Bored Ape Solana Copycats137)[1], NFT (313741749026026957/DeGoddess #3756)[1], NFT (313910278620703378/Baby
                                   Ape Social Club6)[1], NFT (314522441682057745/Anime Ape #1)[1], NFT (314820549667412346/SGB #1268)[1], NFT (315078849302415301/Sol Lady Ape #59)[1], NFT (315207797574268623/Gloom
                                   Punk #3833)[1], NFT (315550683901781454/Meta Smooth Brain Club #510)[1], NFT (315987952237781743/#515)[1], NFT (316524238100288496/Smoky Ape #3178)[1], NFT
                                   (316623864227461780/Baby Ape Social Club10)[1], NFT (317018500882366373/Happy Pup #473)[1], NFT (317589209633668353/YAKSA #1021)[1], NFT (318668498415589409/AnonFolk #171)[1],
                                   NFT (319247307309019716/Unknown Pixel Plants #751)[1], NFT (320017372191329549/NFT #0)[1], NFT (320973726765996339/Meka Apez #5)[1], NFT (321532874497909751/3D Ape#3)[1], NFT
                                   (321774491959841786/ELITE APES #2)[1], NFT (322683531730808737/Smoky Ape #125)[1], NFT (323359438384535880/Unknown Pixel Plants #599)[1], NFT (323856505888929519/FOLK10)[1], NFT
                                   (323867233921085477/NFT #AngryApe4)[1], NFT (324239243472185098/Villain ape#2)[1], NFT (325219422907247565/Unknown Pixel Plants #456)[1], NFT (325542041167855156/Danerob Collection
                                   #1762)[1], NFT (326336038025211009/Solana Punks #2650)[1], NFT (327487347216534780/Degen Lizzy #4233)[1], NFT (327886545454658143/Bored ape remix #24)[1], NFT
                                   (329580180314512582/Personification #2870)[1], NFT (329703908404104482/DeGoddess #3698)[1], NFT (329953713883547626/Danerob Collection #874)[1], NFT (330881242972607895/Unknown
                                   Pixel Plants #203)[1], NFT (334020413294372402/O.R.C #3141)[1], NFT (334028506324269096/Howly Owly #1937)[1], NFT (334439721211464643/Unknown Pixel Plants #137)[1], NFT
                                   (334790625038970765/PerkyPanda #3780)[1], NFT (334996247248985674/CRYPTO KONG #4)[1], NFT (335327916104105248/Floating Head #35)[1], NFT (335965735392968655/Mystery Mutant Ape
                                   # 2)[1], NFT (335990201338084689/NFT #Mutant #Ape2)[1], NFT (336128463728215139/JMWW #606)[1], NFT (337435620052222696/Yurei The Ghost #54)[1], NFT (337670044227305712/Degen
                                   Lizzy #1074)[1], NFT (337755251687738227/Metapod 31)[1], NFT (338284207026386655/Astral Apes #2344)[1], NFT (338462435072226933/FastFoodBabyApe #417)[1], NFT
                                   (339036523594674433/NFT #3)[1], NFT (339098858289939756/DeGoddess #4635)[1], NFT (339370502032833928/SolCity #1226)[1], NFT (340789870382255264/Nick #0)[1], NFT
                                   (341103091059947519/NastyNerd-5427)[1], NFT (342224180317738727/FOLK11)[1], NFT (342611587835943088/bored Ape of War #12)[1], NFT (343243663197197477/NFT #2)[1], NFT
                                   (343649321270087671/Kyōryokuna Ape #3)[1], NFT (343740158289414507/Rare ape crew #19)[1], NFT (345400655847142531/Doodled SMB#657)[1], NFT (346976723078967914/PDCZ #4)[1], NFT
                                   (347859011050201921/Spookeletons #3466)[1], NFT (348140751632661897/DeGoddess #2617)[1], NFT (348292134604593926/Stash 7095)[1], NFT (348349506502570478/Badass Broad Apes2)[1],
                                   NFT (350087509296034909/Rox #050)[1], NFT (351425423177101840/NFT #1)[1], NFT (352111800842012637/Spookeletons #1993)[1], NFT (352587569985214148/TheInvisibleFrens #89)[1], NFT
                                   (352843021094482833/Whales Nation #7062)[1], NFT (353692560978039320/Bored Ape #2)[1], NFT (354191895580062594/SABC Zippo S #1477)[1], NFT (355106910910648058/HAS #19)[1], NFT
                                   (356039853062187185/DeGoddess #4009)[1], NFT (356510797971910673/ELITE APES #1)[1], NFT (356960301000840248/Kyōryokuna Ape #2)[1], NFT (357032837038693582/Baby Ape Social
                                   Club8)[1], NFT (357345088245235302/CRYPTO KONG #3)[1], NFT (357566667848575362/PAMC #45)[1], NFT (358081790624945278/NFT #Mutant #Ape1)[1], NFT (358198073216834438/NFT #2)[1],
                                   NFT (358251408234512844/LightPunk #518)[1], NFT (358985483566501154/Skully Boys #1543)[1], NFT (359605302175089957/Samourai #9)[1], NFT (359842240814953762/Exalted Apes #256)[1],
                                   NFT (360088979740642881/Meka Apez #4)[1], NFT (360256310580107366/Degen Lizzy #8371)[1], NFT (360792199685659764/Solana Doodle Ape #31)[1], NFT (360941786431172532/bored Ape of
                                   War #11)[1], NFT (361274435716168208/Solana Penguin Business #1640)[1], NFT (361767728723655004/3D Ape#4)[1], NFT (361898188090244444/Bored Ape Cosmic Club #35)[1], NFT
                                   (362798476646826620/CryptZero Halloween 2021 #1240)[1], NFT (362847996554819380/Smoky Ape #1309)[1], NFT (364069972493882431/Toxic Octos #44)[1], NFT (364188598655670193/Tribal
                                   Chief Ape #5)[1], NFT (364423286583785942/Personification #7968)[1], NFT (365420426146457704/Solana Surfer #4164)[1], NFT (365737983667066876/Exalted Apes #499)[1], NFT
                                   (366279635705265519/Hunter Academy Pass #19)[1], NFT (366476152100579039/FastFoodBabyApe #481)[1], NFT (366803252999258904/Ape #22)[1], NFT (367028439739456837/Girl #3)[1], NFT
                                   (367482062843152660/NastyNerd-7894)[1], NFT (367679467487388387/Mutant Ape Solana Club #1)[1], NFT (368669488788377029/SolSeat #88)[1], NFT (369289348274303205/Danerob Puppy
                                   #1497)[1], NFT (369540782887674455/artist's ape3)[1], NFT (369990476785665295/Unknown Pixel Plants #56)[1], NFT (370466184916514861/Pixsol #127)[1], NFT (371311016343609845/APA0)[1],
                                   NFT (371505863936610359/SAA #2)[1], NFT (372231763821599912/Bored Ape Lady Copycats #383)[1], NFT (374053100100148952/Spookeletons #6637)[1], NFT (374080019622926046/SolSeat
                                   #20)[1], NFT (374602542310474778/Astral Baby Ape Club #2924)[1], NFT (375737114549009036/Bored Ape #5)[1], NFT (377618117666648173/DeGoddess #669)[1], NFT (378785823286608255/Pixel
                                   Bands #1830)[1], NFT (379414225048065662/NFT #1)[1], NFT (379787824756729611/Pixel Bands #4054)[1], NFT (379831779170062547/Danerob Collection #1605)[1], NFT
                                   (380744297236609932/Rare ape crew #18)[1], NFT (381228319715180061/Floating Head #36)[1], NFT (381628400767292305/LApes #38)[1], NFT (381834689097089179/Baby Boogle #604)[1], NFT
                                   (382474940815477308/LApes #35)[1], NFT (385411293850318422/Danerob Collection #2459)[1], NFT (386027558647650587/Solana Surfer #3791)[1], NFT (386517113613694518/Anti Social Bot
                                   #2981)[1], NFT (386809074275110359/NastyNerd-6081)[1], NFT (387166953705251454/Galaxy Gorilla Gang #71)[1], NFT (387306443872406892/DeGoddess #3495)[1], NFT
                                   (388179074366195909/Skellies #3611)[1], NFT (388737532873741380/Saibogu Hounds #909)[1], NFT (388969150210210649/Kai #3362)[1], NFT (389284416455972415/Bored ape remix #23)[1], NFT
                                   (389763007783361083/Pixel Bored Ape Solana Club #5)[1], NFT (390698298172827464/SAA #1)[1], NFT (390917180289067499/#114)[1], NFT (391014750212932062/RuggedRats NFT #0)[1], NFT
                                   (391492571771992332/Olympus Ape Metaverse #0)[1], NFT (391685416810599524/Solana Slender Man #60)[1], NFT (391709373110766463/Exalted Apes #590)[1], NFT
                                   (391972403456249736/AnonFolk #168)[1], NFT (392757601209107040/Cryptonaut #5211)[1], NFT (392956858403609989/Kyōryokuna Ape #1)[1], NFT (395007014444281275/LApes #36)[1], NFT
                                   (395954228663994208/Degen Lizzy #4572)[1], NFT (396326072343781936/Spookeletons #3528)[1], NFT (396549543922361610/#93)[1], NFT (397409719810910404/Anime Ape #0)[1], NFT
                                   (397936797809965921/Degen Lizzy #7436)[1], NFT (399570600502752968/SolSeat #411)[1], NFT (399632220772806452/RobotZ #19)[1], NFT (400075552076506408/X-COPY PUNK #3)[1], NFT
08085506                           ETH[0], USD[0.00]

08085512                           SOL[.00000001], USD[0.00]

08085514                           USD[162.34]                                                                                                                                                                              Yes

08085515                           USD[100.00]

08085517                           USD[0.00], USDT[0.00000144]

08085520                           BTC[.00350506], CUSDT[5], TRX[1], USD[0.00]

08085524                           CUSDT[1], ETH[.01168123], ETHW[.01168123], SHIB[1], SOL[.1262336], TRX[1], USD[0.00]

08085525                           USD[1.00]

08085538                           BTC[0.00001596], USD[0.00]

08085545                           CUSDT[1], DOGE[1], NFT (351839877788602132/Voxi People #5)[1], NFT (422406035772591969/Cool Bean #780)[1], NFT (489940150213324724/Cool Bean #1710)[1], NFT
                                   (513556663587764632/Voxi People #41)[1], SOL[0.46238421], USD[4.90]
08085546                           CUSDT[7], DOGE[1.00142794], ETH[.00000004], ETHW[.00000004], NFT (323548408319568605/Nifty Nanas #8266)[1], NFT (427070864732855184/Nifty Nanas #5191)[1], NFT                           Yes
                                   (471266748841661958/Sloth #6119)[1], SHIB[4.75472813], SOL[0.00000065], USD[0.00]
08085556                           CUSDT[1], SHIB[1769911.50442477], USD[0.00]

08085563                           BRZ[58.49425151], DOGE[40.75913909], USD[0.00]                                                                                                                                           Yes

08085571                           DOGE[.00097306], ETH[.00000349], ETHW[.00000349], GRT[1.00135133], SHIB[0], TRX[8], USD[0.06], USDT[0]                                                                                   Yes

08085574                           CUSDT[2], DOGE[.00001835], USD[0.00]                                                                                                                                                     Yes

08085581                           USD[0.10]

08085582                           USD[5.00]

08085583                           CUSDT[1], SOL[1.07311149], USD[0.00]                                                                                                                                                     Yes

08085585                           EUR[0.00], USD[0.00]                                                                                                                                                                     Yes

08085594                           ALGO[0], NEAR[0], SOL[0], USD[0.00], USDT[0.00000072]

08085601                           BRZ[2], CUSDT[3], ETH[0], TRX[1], USD[0.00], USDT[1.08119132]                                                                                                                            Yes

08085604                           BTC[.00849631], ETH[.12728548], GRT[1], SHIB[1], SOL[6.67956284], USD[0.00], USDT[0]                                                                                                     Yes

08085606                           USD[0.00], USDT[0]

08085623                           DOGE[32.68685384], SHIB[6], SOL[10.88603139], SUSHI[.00037376], USD[55.02], USDT[0]                                                                                                      Yes

08085625                           MATIC[29.97], SOL[.00292], USD[23.18]
West Realm Shires Services Inc.                                                    Case 22-11068-JTD      Doc F-3:
                                                                                               Amended Schedule 1754      Filed
                                                                                                                   Nonpriority     06/27/23
                                                                                                                               Unsecured           Page 997 of 1384
                                                                                                                                         Customer Claims                                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08085628                           USD[0.01]

08085629                           USD[1.64]

08085633                           BTC[.0023], ETH[.03], ETHW[.03], USD[0.72]

08085644                           USD[0.00]                                                                                                                                                                                   Yes

08085645                           USD[0.00]

08085647                           CUSDT[1], KSHIB[5624.86113624], USD[0.18]                                                                                                                                                   Yes

08085648                           CUSDT[2], SHIB[1], SOL[0], USD[14.84]                                                                                                                                                       Yes

08085651                           CUSDT[2265.73481767], DOGE[187.86149482], TRX[456.32035945], USD[0.00]

08085654                           USD[6.31]

08085663                           SOL[.00000001], USD[0.08], USDT[0]                                                                                                                                                          Yes

08085667                           ETH[.00228701], ETHW[.00225965], USD[0.00]                                                                                                                                                  Yes

08085678                           BTC[.00000002], SHIB[1], USD[0.00]                                                                                                                                                          Yes

08085679                           BTC[0.00294773], USD[0.00]                                                                                                                                                                  Yes

08085681                           USD[108.31]                                                                                                                                                                                 Yes

08085683                           BTC[.000435], CUSDT[1], USD[0.00]                                                                                                                                                           Yes

08085687                           DOGE[1], SHIB[451019.30362619], USD[0.00]

08085688                           USD[0.00]

08085694                           DOGE[2], TRX[2], USD[0.00], USDT[0]

08085695                           DOGE[2], ETH[.00000764], ETHW[.00000764], KSHIB[.44873678], NFT (288512789867130948/Fat Bitcoin Babie)[1], NFT (289136927004300397/dive to the lost city)[1], NFT
                                   (290765486702548968/Holy Temple #23)[1], NFT (290897352268137946/T-Rexachu.)[1], NFT (291249249372871251/Crypto Tree)[1], NFT (291430725805528448/Ex Populus Trading Card Game)[1],
                                   NFT (293208355143565637/Avatars #214)[1], NFT (294139461665343819/Cyborg girls #9)[1], NFT (294407569106580933/Latawica #47)[1], NFT (294837818853170338/Comics #14)[1], NFT
                                   (296472215004637032/Holy Temple #17)[1], NFT (296842785756686452/AI Expert)[1], NFT (299121642029574085/Avatars #119)[1], NFT (300917624293340540/SPACE INTENET COIN)[1], NFT
                                   (300950121190963831/Holy Temple #22)[1], NFT (302045360841665782/Avatars #270)[1], NFT (302998972497027188/Squid Game #3)[1], NFT (303316484719626566/Cyborg girls #4)[1], NFT
                                   (305024106887024819/Spring 2302 #4)[1], NFT (305107186809650000/Ancient Civilization #15)[1], NFT (308483652343502347/Hero Olya)[1], NFT (308600434066505392/punk #1)[1], NFT
                                   (308693925106063520/Cyborg girls #7)[1], NFT (309614488863135116/Spring 2302 #6)[1], NFT (312345955253649844/Nuclear BTC)[1], NFT (312827685064844094/Black&white album #2)[1], NFT
                                   (314323265956099777/red blood hare supplicants)[1], NFT (314862236916941489/MONSTER)[1], NFT (315886149815761707/Pixel Santa)[1], NFT (316371451472747145/MagicEden Vaults)[1], NFT
                                   (317733879227306808/crucified retribution to unbelievers in the ancient)[1], NFT (320679239384713837/Devil BatPerson)[1], NFT (322076153857284937/Avatars #228)[1], NFT
                                   (322977681355186354/Cyborg girls #5)[1], NFT (322988072873148453/Baddies #2789)[1], NFT (325593486343349795/blessing of the righteous in the name of nigurath)[1], NFT
                                   (328337417284876890/Holy Temple #12)[1], NFT (329421232636427359/Pacific Beach Sunrise #38)[1], NFT (329542987822332997/Cyborg girls)[1], NFT (330952329468234941/Legendary
                                   Dragon#3)[1], NFT (331331731389687885/Avatars #249)[1], NFT (331452778108796737/FurryArt #5)[1], NFT (332592816488079638/Ibiza Heaven)[1], NFT (332686110913452316/Yellow Fang)[1], NFT
                                    (334051062333183805/Fantastic Universe)[1], NFT (334151742102576201/# ape 18)[1], NFT (334759892241781096/Police Brinjal)[1], NFT (334801412780188515/Avatars #49)[1], NFT
                                   (334956681554842037/Cyborg Captain Ape)[1], NFT (336395910582426403/servants on the lookout for unbelief)[1], NFT (336526974226326696/Squid Game #1)[1], NFT
                                   (336831209351790363/Thirst#2)[1], NFT (336972271947478291/stray passerby in the caviar park)[1], NFT (338801008470250035/FTX AU - we are here! #60995)[1], NFT
                                   (340422330879252666/Superhero #18)[1], NFT (341871419805502988/# ape 17)[1], NFT (342968740798386100/Wow wow #7)[1], NFT (343446500745107464/John Cena)[1], NFT
                                   (344002514064148758/Bionetics #04)[1], NFT (344607193666201342/# ape 34)[1], NFT (347328545022045319/Harry Potter #2)[1], NFT (347485008025885321/Future City)[1], NFT
                                   (347488596233624407/Nespace Album #56)[1], NFT (348430357998862982/The Karate Kid)[1], NFT (348818227933209506/Fortuo Distinctus #14)[1], NFT (349958951138262891/dead kings chair)[1],
                                   NFT (351011794253651783/Green Tosca Ant)[1], NFT (351432554884382109/Portrait Easy #25)[1], NFT (354665929855361090/Dream World)[1], NFT (355174342826874589/Pretto #12)[1], NFT
                                   (356563814046961433/Black&white album #3)[1], NFT (361309763617728093/Spring 2302 #11)[1], NFT (361552617208415877/MagicEden Vaults)[1], NFT (362449167231963427/Devil Ant)[1], NFT
                                   (363156026307274679/-6)[1], NFT (363377047483102069/# ape 32)[1], NFT (363446175034391086/morning surf)[1], NFT (363680720415049166/The Grays #02)[1], NFT
                                   (363944760726863478/Latawica #55)[1], NFT (363989670328406055/Dream Heaven)[1], NFT (365327247548578369/Spring 2302 #10)[1], NFT (366136058061596913/Rasta Devil)[1], NFT
                                   (366256328787462212/Bionetics #06)[1], NFT (366861496768188245/Gooh Bear)[1], NFT (369230959806514496/Encanto)[1], NFT (370108022843857992/Naruto Ant)[1], NFT
                                   (370342579341851002/Holy Temple #19)[1], NFT (370620197308105605/Pixel Angel)[1], NFT (371491121749755526/Wow wow )[1], NFT (371971999451784369/SleepParalysis #11)[1], NFT
                                   (372072428398777832/⭐💧 Aqua Star 💧⭐)[1], NFT (372641197679177315/High Sea Pirate)[1], NFT (373315585317147635/Devil in sunglasses)[1], NFT (373340205115910340/Heaven Gurd)[1],
                                   NFT (373896769688309572/Bionetics #08)[1], NFT (374013207490939829/Cyborg Indicator Ape)[1], NFT (374533934083610028/Avatars #178)[1], NFT (376556701825597448/AI Queen)[1], NFT
                                   (377412355078295908/k'ovand rock firs)[1], NFT (378150079542483444/2024 Ticket - Trump)[1], NFT (378381476540688714/Abstract Portaits by Joel S. #4)[1], NFT
                                   (378393271749393186/ELFIDA)[1], NFT (378741596162780036/Pirate Brinjal)[1], NFT (379795395789922216/Wow wow #2)[1], NFT (381884672459269417/Avatars #33)[1], NFT
                                   (382824355311317093/Holy Temple #05)[1], NFT (383385105727518803/Green side)[1], NFT (383453071339565288/Avatars #76)[1], NFT (385354806951783695/church procession of believers)[1],
                                   NFT (385704558326326737/RRRRlyeh wormwood gate)[1], NFT (385745868218517466/Crypto Thief)[1], NFT (387206070822134017/Bishop of Horned Moon Cathedral)[1], NFT
                                   (388919703272572116/Avatars #25)[1], NFT (390016124421931952/wings and heart)[1], NFT (390729936916321985/RRRRlyeh eastern gate of the fiery rose)[1], NFT (392295518066924603/Ancient
                                   Civilization #18)[1], NFT (392722071379322880/Heaven Galaxy)[1], NFT (393221853389013108/MagicEden Vaults)[1], NFT (393336219343838667/Latawica #87)[1], NFT
                                   (394942848681939109/sometimes you can see the sun in the depths)[1], NFT (397342518654029640/Holy Temple #20)[1], NFT (398854041831656782/Squid Game #5)[1], NFT
                                   (399137595036371155/Skeleton Devil)[1], NFT (400028222379504807/THE AMERICAN KSM)[1], NFT (401209578800459055/SHIBA DOGE #2)[1], NFT (402210464414408652/-8)[1], NFT
                                   (402852255039226188/Encanto #2)[1], NFT (403612421737695615/Hunter)[1], NFT (403638913615134504/Pirate Of Brinjal)[1], NFT (404206939000152848/Bionetics #05)[1], NFT
                                   (407940319847651209/Avatars #90)[1], NFT (408208921227788843/Avatars #195)[1], NFT (408210685331389935/Aadam ape 16)[1], NFT (408409126698721770/Wildlife Series #3)[1], NFT
                                   (409302119262617813/Avatars #36)[1], NFT (409494178986432346/Legendary Dragon#2)[1], NFT (410595022106155455/Cyborg girls #6)[1], NFT (411687498907600145/Latawica #54)[1], NFT
                                   (412190973068359901/SleepParalysis #9)[1], NFT (413629751633259613/Avatars #72)[1], NFT (415365628923554367/I carve the simplest of love )[1], NFT (415580687912687509/Bionetics #12)[1],
                                   NFT (415621142933564907/Avatars #201)[1], NFT (416087084779849377/Zudio Devil)[1], NFT (416624118985964919/Energetic Warrior)[1], NFT (416644183277093878/Space Solana Ape#7)[1], NFT
                                   (417344369684293972/WORLD HOME LAMP)[1], NFT (417768598364195838/Zombi #5)[1], NFT (418329299496748699/Magician Girl Asneya)[1], NFT (419797036890033104/Holy Temple #21)[1],
                                   NFT (422022397802511315/Cyborg girls #11)[1], NFT (423538632369315752/Latawica #19)[1], NFT (424727304842959849/Latawica #40)[1], NFT (427120771202158230/Magical Animal)[1], NFT
                                   (429884803563865055/Holy Temple #16)[1], NFT (431775361335759829/Ancient Angel)[1], NFT (432342576501567658/BlackWhite #2)[1], NFT (433166472437609208/Lonely Grey #05)[1], NFT
                                   (436729775324202091/Holy Temple #13)[1], NFT (437104759564295309/Avatars #29)[1], NFT (437612030414633607/CARIBBEAN PIRATES)[1], NFT (437982382414154116/Idol #4)[1], NFT
                                   (439112344490785344/Bitcoin Warrior Babie)[1], NFT (440524371078776029/unholy trinity of knights niggurath)[1], NFT (440580921612273225/Latawica #83)[1], NFT (441439193458865264/Magic
                                   Eden Pass)[1], NFT (441975316486252255/Latawica #27)[1], NFT (442385294897166053/punk #2)[1], NFT (442622474833593561/Surfing is life #2)[1], NFT (444136741140219243/Beautiful Girl
                                   Gona)[1], NFT (445498864812895257/Dr.Strange)[1], NFT (445566405235107126/Encanto #3)[1], NFT (447146820356871918/The Avengers)[1], NFT (447520021621124319/Bitcoin prisoner Babie)[1],
                                    NFT (448913976671995656/Space Solana Ape#4)[1], NFT (451328955595178010/BlackWhite #3)[1], NFT (451983835029253449/Ancient Guardian)[1], NFT (452002359493723001/Avatars #27)[1],
                                   NFT (452051950497210904/# ape 9)[1], NFT (452866949814501603/Psyhodelic #22)[1], NFT (453352437417838698/Avatars #37)[1], NFT (456216242923456071/Black&white album)[1], NFT
                                   (456463754425833902/Encanto #6)[1], NFT (457473055221961243/Nespace Album #39)[1], NFT (457634944044501332/Space Solana Ape#9)[1], NFT (458503626693826367/Spiderman #2)[1], NFT
                                   (459229727115991821/Latawica #23)[1], NFT (459824768835790234/Money & Power)[1], NFT (461789949692144165/My Avatar #8)[1], NFT (463310513675580117/Holy Temple #11)[1], NFT
                                   (463365070560136590/Holy Temple #04)[1], NFT (465060656162231032/Death Striker)[1], NFT (465632829799322219/Abstract Portaits by Joel S.)[1], NFT (466719836928384441/sun from a
08085697                           BRZ[1], TRX[2], USD[0.00]

08085700                           BTC[.0089979], USD[2.20]

08085701                           DOGE[1172]

08085708                           ETH[.81532314], ETHW[.26068827], LINK[.06661888], SHIB[95200], USD[106.77], USDT[0.00936934]

08085714                           BTC[0.00001881], USD[0.75]

08085716                           CUSDT[1], SHIB[1919459.35116509], TRX[1], USD[0.00]                                                                                                                                         Yes

08085722                           USD[0.00]
West Realm Shires Services Inc.                                                       Case 22-11068-JTD      Doc F-3:
                                                                                                  Amended Schedule 1754      Filed
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                                                                                                                                            Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08085726                              DOGE[1], SHIB[4], USD[0.00]                                                                                                                                                                Yes

08085727                              CUSDT[28], DOGE[9.14024053], ETHW[.18453697], MATIC[48.57810363], SHIB[20], SOL[2.98175343], TRX[11], USD[0.30]                                                                            Yes

08085747                              SOL[0], USD[0.00]

08085752                              BRZ[1], BTC[.00361111], CUSDT[1], USD[0.00]                                                                                                                                                Yes

08085762                              TRX[1], USD[19.62]

08085763                              BTC[.00000027], ETH[.00000599], ETHW[.00000599]                                                                                                                                            Yes

08085767                              USD[0.00]                                                                                                                                                                                  Yes

08085772                              CUSDT[1], SHIB[89206.06601248], USD[0.00]

08085775                              USD[0.03]

08085777                              SHIB[2009283.47744196], TRX[1], USD[0.00]

08085783                              CUSDT[1], ETH[.03397921], ETHW[.03355482], USD[0.00]                                                                                                                                       Yes

08085785                              NFT (448157018358996346/NFT BZL 2021 #66)[1]

08085786                              BRZ[1], CUSDT[4], DOGE[1.37855657], GRT[.00130627], KSHIB[870.19359814], SHIB[17480422.07955641], USD[-113.00], USDT[.00700148]                                                            Yes

08085789                              USDT[0.00000117]

08085792                              SOL[.10592578], USD[0.00]

08085797                              BRZ[4], BTC[.01743385], CUSDT[3], DOGE[8.00921072], ETH[0], GRT[1], SHIB[18], TRX[8], USD[51.53], USDT[1.0528176]                                                                          Yes

08085801                              DOGE[45.69977016], USD[0.00]                                                                                                                                                               Yes

08085806                              DOGE[1], SHIB[386590.90361984], TRX[90.34942549], USD[0.00]

08085821                              ETH[0], ETHW[1.04722092], USD[0.00]

08085830                              BTC[.00015437], CUSDT[1], LINK[1.23798758], USD[0.00]                                                                                                                                      Yes

08085837                              CUSDT[1], DOGE[1], TRX[.000001], USD[0.00], USDT[0]                                                                                                                                        Yes

08085838                              BRZ[1], DOGE[1], GRT[1], SHIB[3], SOL[49.36082765], TRX[3], USD[3581.11], USDT[2.02951549]                                                                                                 Yes

08085845       Contingent, Disputed   BTC[0], DOGE[0], SOL[0], USD[0.20], USDT[2.73290548]

08085854                              AAVE[.12112828], AVAX[1.18796474], USD[0.67], USDT[0]                                                                                                                                      Yes

08085859                              USD[0.00], USDT[0.00005741]

08085872                              BRZ[2], CUSDT[1.00318102], DOGE[0], ETH[0], NFT (356315413387445032/Sigma Shark #2133)[1], NFT (370661092796690127/Sigma Shark #4606)[1], NFT (502443332343763054/Autumn 2021              Yes
                                      #2686)[1], SHIB[5.74235173], SOL[0], SUSHI[5.28149706], TRX[2], USD[0.01], USDT[0.00001866]
08085873                              BTC[.00942487], ETH[.02889153], ETHW[.02853585], MATIC[3.51250817], SHIB[806845.61848115], SOL[.01122912], USD[1.17]                                                                       Yes

08085879                              BRZ[1], BTC[.00238609], CUSDT[1], DOGE[2], SHIB[1], USD[0.00]                                                                                                                              Yes

08085891                              CUSDT[4], DOGE[1.00195394], MATIC[2.48610484], USD[0.00]                                                                                                                                   Yes

08085897                              ETHW[.29145475], TRX[.000066], USD[0.05], USDT[0.00034902]

08085900                              ETH[.00000001], ETHW[0], LINK[0], MATIC[0], USD[0.00], USDT[0.00000001]

08085903                              DOGE[1], SHIB[310.89997377], SOL[0.51096519], USD[0.00], USDT[0]                                                                                                                           Yes

08085904                              USD[21.66]                                                                                                                                                                                 Yes

08085918                              BTC[1.29445671]                                                                                                                                                                            Yes

08085922                              CUSDT[3], DAI[26.88560954], KSHIB[504.28816397], SHIB[511645.00418794], USD[0.00]                                                                                                          Yes

08085923                              CUSDT[2], DOGE[1], USD[0.01]                                                                                                                                                               Yes

08085929                              USD[0.00]

08085932                              CUSDT[1], DOGE[62.10373854], USD[0.00]                                                                                                                                                     Yes

08085933                              TRX[1], USD[0.00], USDT[1.90134653]

08085934                              CUSDT[1], SHIB[394499.61141282], USD[16.26]                                                                                                                                                Yes

08085935                              BTC[0], DOGE[.67225], LTC[.969202], SOL[2.3503955], SUSHI[.984325], UNI[10.889645], USD[4.21]

08085944                              CUSDT[3], DOGE[1], KSHIB[2307.77740142], SHIB[1124843.15685223], TRX[1014.59013997], USD[0.00]                                                                                             Yes

08085945                              SOL[1.07108342]                                                                                                                                                                            Yes

08085948                              AAVE[0], ALGO[0], AUD[0.00], AVAX[0], BAT[0], BCH[0], BRZ[0], BTC[0], DAI[0], DOGE[0], ETH[0], GRT[0], KSHIB[0], LINK[0], MKR[0], SHIB[0.99135877], SOL[0], SUSHI[0], TRX[0], USD[0.01],   Yes
                                      USDT[0.00000001], YFI[0]
08085954                              USD[0.00]

08085955                              BTC[0], USD[0.00]                                                                                                                                                                          Yes

08085958                              CUSDT[1], SOL[.25910932], USD[60.01]

08085961                              BTC[.00085985], CUSDT[1], USD[0.01]                                                                                                                                                        Yes

08085964                              BTC[.02496419], CUSDT[7], DOGE[11.12064275], ETH[.55355863], ETHW[.55332626], SHIB[25], TRX[6], USD[0.00]                                                                                  Yes

08085966                              BTC[.00007402], ETH[0], ETHW[0], LINK[0.05207449], NFT (304498904070360138/Ferris From Afar #544)[1], NFT (335285884678365732/2974 Floyd Norman - OKC 1-0205)[1], NFT
                                      (379900675586989614/Beasts #613)[1], NFT (381491638434477923/Cosmic Creations #530)[1], NFT (406426566905083951/Spectra #680)[1], NFT (419056407594648407/Reflection '07 #34)[1], NFT
                                      (429327337920725798/Sun Set #805)[1], NFT (440433353719717652/GSW Western Conference Finals Commemorative Banner #1327)[1], NFT (453159160254293162/GSW Western Conference
                                      Finals Commemorative Banner #1328)[1], NFT (472618822082159474/Spectra #308)[1], NFT (479380811953584125/GSW Western Conference Semifinals Commemorative Ticket #695)[1], NFT
                                      (499622021242136779/Vintage Sahara #274)[1], NFT (518645966865010517/GSW Championship Commemorative Ring)[1], NFT (529253859039583418/Warriors Foam Finger #546 (Redeemed))[1],
                                      NFT (542470840101758157/Beasts #859)[1], USD[0.00], USDT[0.00275702]
08085971                              TRX[771.83126974], USD[4.36]                                                                                                                                                               Yes

08085972                              USD[2.45]

08085981                              SOL[16.32566], USD[1005.97]

08085987                              CUSDT[8], USD[0.01]                                                                                                                                                                        Yes

08085996                              BAT[50.11884013], CUSDT[1], USD[0.00]                                                                                                                                                      Yes
West Realm Shires Services Inc.                                                    Case 22-11068-JTD      Doc F-3:
                                                                                               Amended Schedule 1754      Filed
                                                                                                                   Nonpriority     06/27/23
                                                                                                                               Unsecured           Page 999 of 1384
                                                                                                                                         Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08086002                           AVAX[5.94171503], BRZ[1], BTC[.02378206], CUSDT[3], DOGE[2], ETH[.42543322], ETHW[.42525468], LINK[4.73703066], SHIB[2210877.29457823], SUSHI[29.23473893], TRX[958.45409376],       Yes
                                   USD[0.00], USDT[5.50497624]
08086005                           CUSDT[4], DOGE[2], MATIC[0], TRX[3], USD[14.75], USDT[1]

08086008                           GRT[9.2094275], TRX[99.34347741], USD[0.00]                                                                                                                                          Yes

08086011                           BRZ[1], BTC[.02775804], CUSDT[4], DOGE[2], ETHW[.72327022], SOL[24.80132735], TRX[2], USD[5259.41]                                                                                   Yes

08086013                           USD[0.63]                                                                                                                                                                            Yes

08086016                           SOL[.01], USD[0.11]

08086018                           USD[26.31]                                                                                                                                                                           Yes

08086020                           CUSDT[1], USD[0.00]

08086022                           BAT[47.11960858], BRZ[1], TRX[1], USD[0.00]                                                                                                                                          Yes

08086024                           USD[0.00], USDT[0]

08086028                           BRZ[107.98231163], CUSDT[3], USD[0.00]

08086041                           USD[1.00]

08086043                           SHIB[99905], USD[3.87]

08086048                           BRZ[2536.35717472], CUSDT[3], NFT (292517590196140775/Solninjas #2234)[1], NFT (304193018645499083/Mamba #2)[1], NFT (313600484802482600/Nicky)[1], NFT (317250263303086346/Comp. Yes
                                   Man 2)[1], NFT (318029017659108343/DJ Time)[1], NFT (322913801697259311/Solninjas #189)[1], NFT (326255109274558433/Cat rauss #3)[1], NFT (346562353840223597/Cryptographic zombie
                                   #13)[1], NFT (347667904035193588/CryptoFabula #94)[1], NFT (349970973252041895/Mad Girl Series #6)[1], NFT (355056835568306621/Gold)[1], NFT (357460951356510484/Little House with Picket
                                   Fence)[1], NFT (406268074600886621/Pandas #7)[1], NFT (415768016159937173/Holy Unicorn Edition #3)[1], NFT (437535337674386975/Combination of colors rauss)[1], NFT
                                   (457253979347673973/Firey)[1], NFT (494333465843156645/CRİSTMAS)[1], NFT (522890751432550091/06x-BO)[1], NFT (533599201047351919/CryptoFabula #231)[1], NFT
                                   (573104144968730421/Holy Unicorn Edition #11)[1], SOL[1.27357259], USD[159.11]
08086058                           ETH[0], USD[1.62]

08086065                           SOL[.00000001]                                                                                                                                                                       Yes

08086066                           KSHIB[100], USD[0.15]

08086067                           USDT[10.82821765]                                                                                                                                                                    Yes

08086074                           CUSDT[2], DOGE[111.79528167], SHIB[361532.89949385], USD[0.00]

08086078                           BRZ[1169.5443145], CUSDT[3], DOGE[1], SHIB[7641986.62866782], SOL[.00001977], TRX[1964.99064104], USD[105.70]                                                                        Yes

08086084                           USD[99.00]

08086085                           CUSDT[3], MATIC[6.02840252], SHIB[390442.96752396], SOL[.03614406], SUSHI[1.14653043], USD[0.01]                                                                                     Yes

08086092                           ETH[.02873165], ETHW[.02873165]

08086099                           USD[0.00]

08086101                           USD[2.68]

08086102                           BRZ[1], BTC[.01824503], SHIB[2], TRX[1], USD[207.47]                                                                                                                                 Yes

08086105                           USD[0.01]

08086109                           USD[0.00], USDT[0]

08086120                           ETHW[1.29238946], SOL[0], USD[0.00]

08086121                           ETH[.0000036], ETHW[0.00000360], USD[0.00], USDT[0]

08086126                           ETH[.00054364], USD[2138.13]

08086137                           LTC[1.1724846], TRX[2256.8514]

08086144                           AAVE[.00036182], DOGE[1], GRT[2.00094534], SOL[1.06997305], TRX[3], USD[0.00], USDT[1.05081896]                                                                                      Yes

08086153                           SHIB[2], USD[113.22]                                                                                                                                                                 Yes

08086168                           BTC[0], ETHW[0.00000067], USD[0.00]                                                                                                                                                  Yes

08086189                           CUSDT[1], DOGE[.0003647], ETH[.23812471], ETHW[.23792507], TRX[1], USD[0.00]                                                                                                         Yes

08086192                           BTC[.02056739], CUSDT[3], DOGE[1], ETH[.25807512], ETHW[.25807512], SOL[4.78466008], TRX[1.000001], USDT[0.00005435]

08086194                           BRZ[18.005823], BTC[0], CUSDT[309.54477526], ETH[0], ETHW[1.02059350], SHIB[197751.74953259], SOL[.00000001], SUSHI[2.20704927], TRX[5.00892183], USD[4154.97], USDT[0]              Yes

08086197                           CUSDT[1], ETH[.01557786], ETHW[.01557786], USD[0.00]

08086201                           CUSDT[1], DOGE[1], SOL[2.32572472], USD[0.00]                                                                                                                                        Yes

08086203                           BRZ[1], DOGE[3], ETH[0], GRT[1], LINK[2.01393911], MATIC[.31245054], TRX[6], USD[0.00], USDT[0.00000563]                                                                             Yes

08086206                           ETH[0], ETHW[0], USD[0.40]

08086208                           LTC[.00005868]                                                                                                                                                                       Yes

08086212                           USD[1.13]

08086213                           CUSDT[1], ETHW[8.51798183], SOL[.00001797], USD[0.00]                                                                                                                                Yes

08086215                           CUSDT[1], DOGE[368.79719535], TRX[2], USD[0.00]

08086225                           USD[0.06]

08086227                           BRZ[1], SOL[2.52941147], USD[0.00]

08086229                           CUSDT[3], DOGE[11.73406051], KSHIB[188.95872593], MATIC[7.58152227], NEAR[4.80438917], SHIB[2056557.4900276], TRX[11.41144994], USD[2.17]                                            Yes

08086234                           BAT[17.20611786], GRT[87.61409542], LINK[0.56945951], SOL[1.25391475], UNI[1.55018723]

08086236                           NFT (498391727521081638/My Little Gang #36)[1], NFT (547554273746572468/My Little Gang #33)[1], USD[16.60]                                                                           Yes

08086238                           BRZ[1], BTC[.14219173], CUSDT[9], DOGE[5], ETH[.53788911], ETHW[.53766325], SHIB[11], TRX[4], USD[0.00]                                                                              Yes

08086249                           BTC[.00015307]

08086265                           BRZ[1], CUSDT[1], DOGE[1], ETH[0], ETHW[2.21102455], LINK[0], MATIC[0], SHIB[3], USD[0.32]                                                                                           Yes

08086268                           AAVE[.00000001], LTC[10.019982], USD[0.05], USDT[.002755]
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                                                                                                 Amended Schedule            Filed
                                                                                                                  F-3: Nonpriority    06/27/23
                                                                                                                                   Unsecured          Page 1000 of 1384
                                                                                                                                             Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08086274                              CUSDT[47.48439137], DOGE[1], GRT[1.98364461], SOL[.02238082], USD[0.24], USDT[2.14374632]                                                                                                 Yes

08086276                              CUSDT[1], SHIB[576877.75937004], TRX[1], USD[0.00]                                                                                                                                        Yes

08086281                              CUSDT[3], USD[0.69]

08086282                              CUSDT[7], TRX[1], USD[0.01]                                                                                                                                                               Yes

08086293                              KSHIB[89.52457305], USD[0.00]

08086301                              BTC[.00000001], DOGE[1.0019192], SHIB[460100.85850669], SOL[.00000105], USD[0.01]                                                                                                         Yes

08086303                              USD[200.01]

08086304                              USD[1.16]

08086314                              SOL[.03341381], USD[0.00]

08086323                              NEAR[6.1460902], SHIB[1], TRX[1], USD[0.00], USDT[0.00000010]                                                                                                                             Yes

08086337                              SHIB[899190], USD[0.33]

08086338                              TRX[99.81631366], USD[0.00]                                                                                                                                                               Yes

08086347                              MATIC[0]

08086348                              ETH[.00000001], ETHW[0]                                                                                                                                                                   Yes

08086351                              BRZ[1], CUSDT[3], DOGE[6], SHIB[8], SOL[82.41755806], TRX[1], USD[0.01]                                                                                                                   Yes

08086359                              BRZ[1], CUSDT[2], SHIB[21498738.29248353], SOL[0], TRX[2], USD[0.00], USDT[1.08022407]                                                                                                    Yes

08086360                              USDT[10.905786]

08086378                              BTC[0], SOL[0.00184714], USD[0.39], USDT[0]

08086390                              BTC[0], USD[0.01], USDT[0]

08086398                              TRX[1], USD[0.00]                                                                                                                                                                         Yes

08086402                              BRZ[1], BTC[.03838984], CUSDT[3], DOGE[93.47327792], KSHIB[0], SHIB[39504986.01232266], SOL[.60156961], TRX[4], USD[0.55]                                                                 Yes

08086407                              USD[0.00]

08086408                              BTC[.00331418], CUSDT[1], DOGE[1], ETH[.13711541], ETHW[.13711541], USD[0.00]

08086410                              USD[6837.12]

08086415                              BRZ[1], BTC[.00391311], DOGE[1], GRT[1], SOL[.00275191], USD[21005.48], USDT[1.00984711]                                                                                                  Yes

08086418                              BTC[.28127039], USD[0.00]

08086419                              AAVE[.00006903], BTC[0], CUSDT[1], ETH[.00001076], ETHW[1.17803997], SHIB[2], SOL[.00000001], TRX[1], USD[0.10]                                                                           Yes

08086425                              AVAX[.00000379], BTC[.00467181], DOGE[4518.13695823], ETH[.0163234], ETHW[.0161182], MATIC[140.14872482], SHIB[1], SOL[77.20877435], TRX[1], USD[0.00]                                    Yes

08086426                              CUSDT[2], SHIB[22.08390548], USD[0.00]

08086427                              BTC[.00015384]                                                                                                                                                                            Yes

08086430                              BTC[.00004624], CUSDT[1], SHIB[1], USD[0.00]                                                                                                                                              Yes

08086435                              CUSDT[8], DOGE[248.28771668], ETH[.00664321], ETHW[.00656113], LTC[.2554808], SOL[.13579255], TRX[691.68130761], USD[0.09]                                                                Yes

08086436                              USD[0.13], USDT[8.09816904]                                                                                                                                                               Yes

08086443                              ETHW[6.3637]

08086454                              AAVE[.00991], BTC[0], ETH[.000006], ETHW[.000006], USD[0.79]

08086458                              DOGE[0], USD[2.89]                                                                                                                                                                        Yes

08086476                              SHIB[14103421.68019933]                                                                                                                                                                   Yes

08086481                              CUSDT[1], DOGE[29.38528008], USD[0.00]

08086484                              NFT (433606047286129494/Coachella x FTX Weekend 1 #6867)[1], USD[54.16]                                                                                                                   Yes

08086492                              SUSHI[0], USD[0.00], USDT[0.00000041]

08086493       Contingent, Disputed   PAXG[0], USD[0.00]

08086502                              BTC[0]

08086505                              ETH[.088988], ETHW[.088988], SOL[.53959], USD[4.09]

08086506                              CUSDT[1], SHIB[1868435.99953175], TRX[1], USD[0.00]

08086509                              BTC[.00007654], USD[16.25]                                                                                                                                                                Yes

08086511                              SOL[.08], USD[1.26]

08086516                              SHIB[7115749.52561669], USD[25.00]

08086518                              NFT (307495972468102374/Genesis AI One)[1]

08086521       Contingent, Disputed   USD[0.00]                                                                                                                                                                                 Yes

08086522                              USD[0.00]

08086528                              BRZ[6.24982008], BTC[.00298], DOGE[343.2358384], ETH[.07027983], ETHW[.02369639], GRT[1], LINK[9.53743547], SHIB[1389035.06622294], SOL[3.76631387], TRX[20.74473136], USD[53.22],        Yes
                                      USDT[0.00000001]
08086532                              KSHIB[.00000007], SHIB[2], TRX[.00026722], USD[0.28]                                                                                                                                      Yes

08086535                              USD[0.00]

08086536                              USD[0.00]

08086541                              USD[1.61]

08086547                              ETH[.008], ETHW[.01], NFT (292444409913714038/Monaco Ticket Stub #115)[1], NFT (348740532266536589/Birthday Cake #1718)[1], NFT (349108484728600942/Saudi Arabia Ticket Stub #1007)[1],
                                      NFT (352428075481445273/Reflection '16 #64)[1], NFT (369413991017850474/2974 Floyd Norman - CLE 3-0074)[1], NFT (458278029209205318/The 2974 Collection #1718)[1], NFT
                                      (552164305806702346/Reflection '11 #89)[1], NFT (568777988450370881/FTX - Off The Grid Miami #7563)[1], SOL[0], SUSHI[.00000001], USD[1.16], USDT[0.00000238]
08086548                              CUSDT[2], USD[0.00]                                                                                                                                                                       Yes
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                                                                                                Amended Schedule            Filed
                                                                                                                 F-3: Nonpriority    06/27/23
                                                                                                                                  Unsecured          Page 1001 of 1384
                                                                                                                                            Customer Claims                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08086551                              USD[2.50]

08086561                              ETH[.0049955], ETHW[.0049955], USD[2.75]

08086578                              CUSDT[8], DOGE[1], GRT[1.00019173], LINK[7.62597938], MATIC[.00097157], SOL[.99920769], USD[0.01]                                                                       Yes

08086582                              USD[10.83]                                                                                                                                                              Yes

08086585                              BTC[.00252369], CUSDT[1], DOGE[1], SHIB[5], USD[2.82]                                                                                                                   Yes

08086589                              BTC[.00203581], CUSDT[2], ETH[.04153304], ETHW[.04153304], USD[0.00]

08086592       Contingent, Disputed   DOGE[0], ETH[0], GRT[0], LINK[0], LTC[0], MATIC[0], MKR[0], SOL[0], USD[0.00], USDT[0], YFI[0]                                                                          Yes

08086595                              CUSDT[5], USD[0.00]                                                                                                                                                     Yes

08086599                              CUSDT[678.95422943], TRX[1], USD[0.00]

08086609                              BRZ[12.02485295], SHIB[47439.91911631], TRX[11.99380516], USD[0.00]                                                                                                     Yes

08086612                              CUSDT[2], MATIC[6.05620190], SOL[.23223324], USD[0.00]                                                                                                                  Yes

08086616                              BRZ[1], DOGE[1], ETH[0], ETHW[0], USD[0.00]                                                                                                                             Yes

08086620                              BF_POINT[200], BRZ[1], CUSDT[5], DOGE[1], SHIB[4], TRX[3], USD[0.02], USDT[0.00041364]                                                                                  Yes

08086624                              ETHW[.28018393], SOL[0.00000002], USD[0.00]

08086626                              BAT[1.75047407], BTC[.00003067], CUSDT[1], DOGE[3.73029726], ETH[.00041516], ETHW[.00041516], LTC[.00729376], SHIB[18376.43629059], USD[0.00]                           Yes

08086630                              USD[0.01]

08086631                              BRZ[1], ETHW[1.60881741], GRT[1], TRX[3], USD[0.00]

08086638                              USD[0.92]

08086645                              USD[16.25]                                                                                                                                                              Yes

08086659                              CUSDT[2], SHIB[1], TRX[1], USD[0.00]                                                                                                                                    Yes

08086665                              SOL[.92192543], USD[0.00], USDT[1.08307894]                                                                                                                             Yes

08086666                              BRZ[37.68624308], CUSDT[13], DOGE[46.26462828], ETH[.01851351], ETHW[.01828095], KSHIB[188.90457636], MATIC[33.92824177], NFT (323327916826726177/Live iberd)[1], NFT   Yes
                                      (328562809945125733/ Untouched nature - River #2)[1], SOL[.2017778], TRX[1], USD[6.46], YFI[.00031035]
08086671                              DOGE[1], SOL[.00673652], USD[0.00]                                                                                                                                      Yes

08086672                              NFT (379163806237698035/The 2974 Collection #2772)[1], USD[0.00], USDT[0]                                                                                               Yes

08086673                              CUSDT[3], USD[0.00]                                                                                                                                                     Yes

08086675                              AUD[0.12], BTC[.00000668], DOGE[29.25558774], ETH[.00003279], ETHW[.00003279], USD[1.92]                                                                                Yes

08086684                              BRZ[1], CUSDT[1], GRT[1.00090455], SOL[45.52998443], TRX[1], USD[0.00], USDT[1.07689485]                                                                                Yes

08086686                              AAVE[.03473895], BAT[18.23979734], BTC[.00015828], GRT[9.65689922], MATIC[6.23563179], SHIB[599060.81391957], TRX[100.45666688], USD[0.00]                              Yes

08086688                              AVAX[0], BTC[0], DOGE[0], ETH[0], GBP[0.00], LINK[0], MATIC[0], SHIB[38.98041290], SOL[0], USD[87.96], YFI[0]                                                           Yes

08086691                              DOGE[1], ETH[.00001103], ETHW[1.35800715], GRT[1], MATIC[.01285621], SHIB[7], TRX[2], USD[0.00], USDT[1.01314247]                                                       Yes

08086698                              DOGE[1], SOL[1.15039098], USD[0.00]                                                                                                                                     Yes

08086700                              CUSDT[4], LTC[.26438155], UNI[2.19235004], USD[0.00]                                                                                                                    Yes

08086709                              BTC[.00830183], DOGE[1], USD[0.00]                                                                                                                                      Yes

08086710                              BTC[0], USD[0.00], USDT[0.00000001]

08086714                              BRZ[1], DOGE[1], USD[0.01]                                                                                                                                              Yes

08086726                              USD[0.01]

08086727                              SOL[.00026584], USD[0.28]                                                                                                                                               Yes

08086731                              USD[1.92]                                                                                                                                                               Yes

08086732                              CUSDT[1], DOGE[82.01263962], USD[129.94]                                                                                                                                Yes

08086733                              CUSDT[1], ETHW[.01015652], SHIB[9], SOL[0], TRX[1], USD[86.67]                                                                                                          Yes

08086742                              BAT[.06499846], CUSDT[6], USD[0.00]

08086743                              SOL[5.59], USD[0.84]

08086746                              DAI[.00428312], DOGE[0], KSHIB[0], SHIB[52.42217086], TRX[0], USD[0.00], USDT[0]                                                                                        Yes

08086757                              USD[0.00]

08086766                              USD[0.00]

08086776                              BAT[1.00962591], BTC[.01119312], CUSDT[5], DOGE[1], SHIB[5704201.08288349], TRX[1], USD[3.61]                                                                           Yes

08086779                              ETHW[2.73818557]                                                                                                                                                        Yes

08086795                              SOL[.00009756]

08086800                              BTC[.00000028], CUSDT[2], DOGE[1], ETH[.00000853], ETHW[.00000853], SHIB[1], TRX[3], USD[0.00]                                                                          Yes

08086805                              CUSDT[1], ETH[4.56865942], ETHW[4.56675008], MATIC[2005.87019912], SOL[52.45719247], USD[0.00]                                                                          Yes

08086806                              USD[8.20]

08086818                              USD[25.00]

08086827                              BRZ[3], DOGE[16], ETHW[.12196736], GRT[1], KSHIB[2297.815], SHIB[85], TRX[24], USD[0.00], USDT[1]

08086832                              CUSDT[2], DOGE[1], TRX[.00499287], USD[0.00]                                                                                                                            Yes

08086845                              USD[38232.35]

08086846                              SHIB[813762.42819054], USD[0.00]                                                                                                                                        Yes

08086847                              SOL[0], USD[0.00]

08086848                              BAT[0.27594463], BRZ[1], DOGE[76.00503591], ETH[0], ETHW[0.19892360], LTC[0], SHIB[10], SOL[0], TRX[15.04361998], USD[704.80], USDT[0]                                  Yes
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                                                                                                                                            Customer Claims                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08086851                           BRZ[1], DOGE[2], ETH[.00000001], ETHW[4.13920322], GRT[2], SHIB[6], SUSHI[1.00023738], TRX[2], USD[13071.69], USDT[0]                              Yes

08086855                           CUSDT[1], SOL[1.20023385], USD[270.74]                                                                                                             Yes

08086859                           DOGE[2], SHIB[1], USD[0.00], USDT[0]

08086869                           BTC[2.90659655]                                                                                                                                    Yes

08086874                           USD[400.00]

08086880                           BAT[1], BTC[0], CUSDT[3], DOGE[2.02036585], SHIB[207], USD[577.52]                                                                                 Yes

08086882                           MATIC[619.38], USD[10.48]

08086886                           CUSDT[1], SOL[.23185516], USD[0.00]

08086891                           BRZ[1], CUSDT[5], SOL[1.34586047], USD[21.52]                                                                                                      Yes

08086901                           BTC[0.00336814], DOGE[574.66935708], ETH[.04417204], ETHW[.04362484], SHIB[506827.91303437], USD[0.00]                                             Yes

08086905                           BAT[1], BF_POINT[200], BRZ[1], BTC[0], CUSDT[4], DOGE[1], SOL[.00114135], TRX[2], USD[0.09]                                                        Yes

08086906                           CAD[3.55], SOL[0], USD[0.00]                                                                                                                       Yes

08086914                           BRZ[1], CUSDT[8.00006315], ETH[.0781393], ETHW[0.07716983], SOL[20.09400152], USD[0.00], USDT[36.87394315]                                         Yes

08086918                           BRZ[1], CUSDT[1], NFT (311706736146569813/CubeBoy #1)[1], USD[11.62]                                                                               Yes

08086919                           BTC[.88748294], DOGE[132], USD[0.08]

08086924                           BRZ[1], BTC[.00049837], CUSDT[4], LINK[1.06789567], MATIC[2.76455922], PAXG[.00000016], TRX[13.43386792], UNI[.12525019], USD[0.00]                Yes

08086930                           USD[97.65]                                                                                                                                         Yes

08086931                           USD[0.00]                                                                                                                                          Yes

08086944                           SHIB[1439841.7578902], TRX[1], USD[0.15]                                                                                                           Yes

08086947                           BRZ[4], BTC[0], DOGE[1], EUR[0.00], GRT[1], SHIB[1], TRX[7], USD[2077.32], USDT[1.00024651]                                                        Yes

08086948                           USD[0.40]

08086954                           SHIB[66055.65739044], USD[0.00]

08086957                           ETH[.01039219], ETHW[.01039219], USD[0.01]

08086964                           TRX[136.31183519], USD[43.75]                                                                                                                      Yes

08086972                           DOGE[1.98690436], USD[0.00]                                                                                                                        Yes

08086979                           SOL[.91710827], USD[0.00]

08086987                           BTC[.00000439]                                                                                                                                     Yes

08086998                           SOL[2.07439649], USD[0.01]

08087000                           BRZ[1], DOGE[4], SHIB[12], TRX[2], USD[0.01]                                                                                                       Yes

08087012                           ETHW[0], USD[0.01], USDT[0]                                                                                                                        Yes

08087020                           USD[10.00]

08087031                           DOGE[95], TRX[189.81], USD[4.03]

08087036                           CUSDT[5], KSHIB[467.65631222], USD[0.00]

08087039                           BTC[.00038345], CUSDT[1], USD[0.00]

08087041                           BRZ[1], CUSDT[1], ETH[.00000993], ETHW[.00000993], SHIB[471.23132347], TRX[1], USD[0.00]

08087055                           USD[0.00], USDT[0]

08087078                           SOL[.11619746], TRX[1], USD[0.00]                                                                                                                  Yes

08087085                           USD[0.69]                                                                                                                                          Yes

08087090                           TRX[.000001]

08087093                           CUSDT[4], SHIB[10367793.37298626], TRX[1], USD[0.26]                                                                                               Yes

08087105                           BTC[.00269409], ETH[.023], LTC[.31], USD[0.53]

08087121                           BTC[.00000011], ETH[.00000192], ETHW[.00000192], SHIB[5], TRX[2], USD[0.06]                                                                        Yes

08087124                           CUSDT[1], MATIC[46.10875299], USD[0.00]

08087131                           BTC[.00086208], CUSDT[3], SHIB[1417574.19760968], USD[0.01]                                                                                        Yes

08087134                           BAT[1.0114438], CUSDT[2], USD[0.01]                                                                                                                Yes

08087142                           CUSDT[0], ETH[0], USD[0.00], USDT[0]                                                                                                               Yes

08087143                           BTC[.00163342], CUSDT[1], DOGE[1], USD[0.00]

08087149                           CUSDT[1], DOGE[6.83318903], KSHIB[184.22462434], MATIC[.00006314], SOL[.03878019], USD[9.64]                                                       Yes

08087153                           DOGE[1], ETH[.11569583], ETHW[.11457175], USD[0.00]                                                                                                Yes

08087157                           BAT[1], CUSDT[1], TRX[1], USD[4335.41]                                                                                                             Yes

08087160                           USD[0.00]

08087163                           CUSDT[1], DOGE[1], SHIB[8194498.537095], TRX[1], USD[0.00]

08087165                           CUSDT[3], NFT (317673384225870610/Sigma Shark #4331)[1], SOL[.00893154], TRX[1], USD[0.75]                                                         Yes

08087169                           BRZ[1], CUSDT[2], DOGE[2], ETH[.00075633], ETHW[.00075633], GRT[1], SOL[.0005912], TRX[2.00004962], USD[0.00]

08087186                           USD[100.00]

08087188                           BTC[.00030776], CUSDT[4], ETH[.00429119], ETHW[.00429119], SOL[.17222573], USD[0.00]

08087196                           BRZ[0.00062537], CUSDT[4.05525952], ETH[0], ETHW[0], GRT[.00000414], LINK[.00052087], PAXG[.00000001], SHIB[.00007185], USD[0.29], YFI[.0000284]   Yes

08087205                           ETH[.00000122], ETHW[.00000122], USD[0.07]                                                                                                         Yes
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                                                                                                                                           Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08087215                           CUSDT[1], GRT[192.68690511], USD[0.00]                                                                                                                                                 Yes

08087224                           ALGO[0], AVAX[0], BAT[0], BCH[0], BTC[0], DOGE[0], GRT[0.00116150], KSHIB[0], LINK[0], LTC[0], MATIC[0], MKR[0], SHIB[3], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00]                  Yes

08087226                           DOGE[29.07351408]

08087230                           SOL[1.08548199], USD[0.00]

08087235                           USD[10.83]                                                                                                                                                                             Yes

08087237                           CUSDT[1], SHIB[5006699.46342667], USD[0.00]                                                                                                                                            Yes

08087238                           CUSDT[24], SOL[.009111], USD[0.00]

08087242                           DAI[0], ETH[0], ETHW[0.00615055], SOL[.00000001]

08087248                           SOL[0], TRX[55.78837497]

08087250                           USD[20.00]

08087251                           NFT (510763576853943311/Kiddo #1477)[1], SOL[2.041445]

08087259                           DOGE[37.75387546], USD[0.00]

08087266                           ETH[.10537474], USD[0.00]

08087268                           TRX[0], USD[0.00], USDT[0]

08087273                           BTC[0.02460248], DOGE[.999], ETH[.00498324], ETHW[.00098724], SOL[.00681553], USD[0.64]

08087274                           SHIB[2285744.08183946], USD[0.00], USDT[0]

08087287                           DOGE[1], SUSHI[0], TRX[0], USD[0.00], USDT[0]                                                                                                                                          Yes

08087289                           BTC[.00023285], USD[0.00]                                                                                                                                                              Yes

08087295                           USD[0.00]

08087311                           CUSDT[1], USD[0.00], USDT[0]                                                                                                                                                           Yes

08087315                           NFT (290202294121326586/Pill #46)[1], NFT (295335831716994861/Man #16)[1], NFT (303373530794244396/Pill #47)[1], NFT (305645029402796389/Egg #16)[1], NFT (315330896838753951/Egg
                                   #12)[1], NFT (332058517655836932/Man #25)[1], NFT (336647932921511739/Egg #22)[1], NFT (341075686924483397/Townie_011)[1], NFT (347297038392225628/Egg #23)[1], NFT
                                   (350127178012401336/Man #27)[1], NFT (350698138513688062/Pill #39)[1], NFT (351715203697447526/Pill #42)[1], NFT (353052050151087675/Townie_001)[1], NFT (363833230667881085/Pill
                                   #28)[1], NFT (364114655991877704/Townie_005)[1], NFT (365613817539318709/Man #28)[1], NFT (371915348981418454/Pill #32)[1], NFT (373433732933421244/Pill #27)[1], NFT
                                   (375243170028447376/Pill #24)[1], NFT (375283486987311457/Man #5)[1], NFT (377818553242023253/Man #24)[1], NFT (379972571881914571/Townie_002)[1], NFT
                                   (384000168177575226/Townie_009)[1], NFT (384287517651981032/Man #23)[1], NFT (387980927839369209/Pill #44)[1], NFT (393762518003137326/Townie_010)[1], NFT (405174086367223220/Egg
                                   #7)[1], NFT (408033577876578155/Pill #45)[1], NFT (412331395923548274/Pill #40)[1], NFT (416086034451802472/Man #26)[1], NFT (421747914528860319/Man #3)[1], NFT
                                   (425325611799518479/Pill #35)[1], NFT (444639428387098169/Townie_003)[1], NFT (449778242165220468/Man #12)[1], NFT (452018841303179926/Townie_004)[1], NFT (454872967698126774/Pill
                                   #38)[1], NFT (460558976956389616/Man #13)[1], NFT (461480085053812988/Pill #25)[1], NFT (470279943431127463/Egg #18)[1], NFT (470788485455503934/Man #29)[1], NFT
                                   (479465816793012316/Townie_012)[1], NFT (483879842610489765/Pill #36)[1], NFT (487119160099532631/Egg #8)[1], NFT (490161973952587519/Pill #41)[1], NFT (493364404090396440/Pill
                                   #23)[1], NFT (496182292520475202/Pill #26)[1], NFT (499091982406561989/Egg #10)[1], NFT (500595525063634377/Townie_009 #2)[1], NFT (513096944935256145/Egg #20)[1], NFT
                                   (515011599728285054/Man #10)[1], NFT (517943133364764285/Townie_007)[1], NFT (520035746336318624/Egg #19)[1], NFT (522125223301302231/Man #22)[1], NFT (522674394436378104/Egg
                                   #21)[1], NFT (528757777616817450/Townie_008)[1], NFT (540616915738393104/Pill #43)[1], NFT (548839634679096072/Pill #3)[1], NFT (551803675690990450/Townie_006)[1], TRX[.000001],
                                   USD[16.66], USDT[4.87493997]

08087319                           TRX[85.51997455], USD[2.50]

08087325                           BRZ[1], CUSDT[8], DOGE[3], USD[0.01]                                                                                                                                                   Yes

08087326                           BTC[.00433646]                                                                                                                                                                         Yes

08087341                           USD[0.00]

08087349                           BTC[.00000001], SHIB[1], USD[0.00]                                                                                                                                                     Yes

08087350                           AAVE[1.27475446], AVAX[2.85269703], BAT[275.95151301], BRZ[3], BTC[0.00550239], CUSDT[12], DOGE[5.00009132], ETH[.44878533], ETHW[.44859673], GRT[444.96757275], LINK[45.19905024], Yes
                                   LTC[1.08987487], MATIC[210.00450739], MKR[.00000071], NEAR[40.36544935], SHIB[2], SOL[.0000762], TRX[2172.8509937], UNI[5.46472528], USD[0.00], USDT[1.07185184]

08087351                           ETH[.00027317], ETHW[.00027317], USD[13.54], YFI[.00000003]

08087360                           BTC[.00033772], SOL[.05434192], USD[0.00]                                                                                                                                              Yes

08087380                           ETH[.00011397], ETHW[.00011397], USD[0.00]

08087381                           BTC[.00049879], CUSDT[1], DOGE[148.27467312], LTC[.18210882], SHIB[6551988.4014629], USD[0.08]                                                                                         Yes

08087383                           ETH[.13270463], ETHW[.13270463], USD[0.00]

08087388                           NFT (314299857405312637/2974 Floyd Norman - OKC 5-0035)[1], NFT (372575028833177502/Synthetify #2273)[1], NFT (429553250580430743/Giddy Goblet)[1], NFT (455160431052383352/Solarian
                                   Green)[1], NFT (469968808335923318/Birthday Cake #2538)[1], USD[81.00]
08087411                           USD[1.00]

08087414                           BAT[48.71575104], BTC[.00102621], CUSDT[1.02075034], DAI[23.56499995], DOGE[2], LINK[3.62515227], MATIC[88.79466736], SHIB[1126416.81951447], SOL[1.0832402], SUSHI[6.88005269],       Yes
                                   TRX[398.98266694], USD[52.38]
08087419                           NFT (295881530434994488/Warriors Gold Blooded NFT #489)[1]

08087427                           NFT (378559040681203003/Fantasy Castle)[1], NFT (384040579695721683/Flowers from heaven #2)[1], NFT (450167818408581209/AI-generated landscape #131)[1], USD[0.21]                     Yes

08087428                           CUSDT[1], KSHIB[1907.44431645], USD[0.00]                                                                                                                                              Yes

08087434                           CUSDT[1], USD[5.42], USDT[5.38598786]                                                                                                                                                  Yes

08087447                           ETH[0], USD[0.00]

08087456                           USD[20.00]

08087457                           NFT (392875467491679478/Human Cereal Bowl)[1], USD[14.00]

08087469                           ETH[.002], ETHW[.002], USD[0.54]

08087472                           ETHW[.068931], USD[0.96]

08087473                           BTC[.0083359], TRX[1], USD[0.00]                                                                                                                                                       Yes

08087479                           BTC[.0272892], ETH[.3716652], ETHW[.3716652], USD[15.87]

08087483                           USD[0.91]

08087485                           TRX[522.456797]
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                                                                                                                                         Customer Claims                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08087498                           BAT[.00008576], CUSDT[2], SHIB[1.70499997], USD[0.01]                                                                                                                         Yes

08087537                           BRZ[1], CUSDT[11], DOGE[2], ETH[.00000001], GRT[1], TRX[5], USD[0.00]

08087541                           ETH[0], SOL[.00000001], USD[1.08]

08087543                           CAD[0.00], SUSHI[0], USD[7.67], USDT[0]                                                                                                                                       Yes

08087547                           CUSDT[2], DOGE[3], ETH[.00192617], ETHW[.00191252], SHIB[4180149.61658005], USD[-1.49]                                                                                        Yes

08087548                           CUSDT[2], SOL[.00001519], USD[0.07]                                                                                                                                           Yes

08087560                           BTC[.00180425], ETH[.024698], ETHW[.02439441], GRT[.00048088], MATIC[.00028307], SHIB[6748730.33449947], USD[0.00]                                                            Yes

08087566                           ETH[.000976], ETHW[.000976], USD[69.27]

08087569                           USD[51.31]

08087579                           ETH[0], LTC[0], SOL[0], USD[34.96], USDT[0.00000001]

08087587                           CUSDT[1], SOL[1.40925567], USD[0.00]                                                                                                                                          Yes

08087601                           BRZ[1], CUSDT[5], DOGE[2], ETH[0], ETHW[0], SHIB[241.32985929], TRX[4], USD[0.02]                                                                                             Yes

08087605                           CUSDT[6], ETH[.00256502], ETHW[.00253766], MATIC[37.51973879], USD[0.00]                                                                                                      Yes

08087612                           SOL[2.31968], USD[2.36]

08087628                           USD[2.65]

08087634                           BTC[0], DAI[2.46749076], ETH[.00000001], ETHW[0], LTC[0], SOL[0], USD[0.00]

08087636                           BRZ[118.17817441], CUSDT[2], USD[86.65], USDT[21.54808071]                                                                                                                    Yes

08087639                           BAT[17.13187722], BTC[.00034043], CUSDT[5], DOGE[110.29463059], ETH[.0041894], ETHW[.0041894], SHIB[369890.88218975], USD[0.00]

08087646                           USD[1000.00]

08087648                           BTC[.33758995], DOGE[1], SHIB[3], SOL[235.0893721], USD[32.06], USDT[0.00000001]                                                                                              Yes

08087649                           USD[0.00]

08087675                           BTC[.00018237], ETH[.00063865], ETHW[.00063673], TRX[1], USD[0.01]                                                                                                            Yes

08087682                           CUSDT[1], DOGE[2567.38249092], USD[0.00]

08087701                           SOL[.22930033], USD[0.01]

08087704                           BAT[0], DAI[2.25215475], LTC[0], PAXG[.00241967], SHIB[234087.55616386], SOL[0], USD[0.00]

08087716                           USD[2.64]

08087721                           NFT (518298933927348153/Australia Ticket Stub #2358)[1], USDT[0.00000067]

08087727                           ETH[.00000497], ETHW[.00000497], SHIB[1955543.79980366], USD[0.00], USDT[0]                                                                                                   Yes

08087746                           LTC[0], USD[3.83]

08087750                           AUD[1.00], BRZ[5], CAD[1.00], EUR[2.00], GBP[1.00], GRT[.999], KSHIB[40], PAXG[.0005], TRX[6.993], UNI[.2], USD[0.01], USDT[.08]

08087753                           BAT[61.53454437], LTC[.13799074], SOL[.00000001], USD[0.00]                                                                                                                   Yes

08087755                           BCH[0], LTC[0], USD[0.00], USDT[0]

08087758                           NFT (321257406122233263/Romeo #13665)[1], NFT (415346512619889640/Entrance Voucher #15437)[1], NFT (445663420996528578/Microphone #19970)[1]

08087769                           ETH[.002955], ETHW[.002955], USDT[0.00056443]

08087770                           NFT (339770819459131499/Romeo #1416)[1], NFT (458065748702794864/Entrance Voucher #4576)[1], NFT (574340337311487862/Microphone #9400)[1], TRX[.000002], USD[0.00], USDT[0]

08087779                           CUSDT[2], SHIB[123496.34521452], TRX[1], USD[0.01]                                                                                                                            Yes

08087782                           BTC[.00003023], USD[0.00]

08087793                           SOL[.85463449]                                                                                                                                                                Yes

08087798                           ALGO[3.15604114], USD[1399.72]                                                                                                                                                Yes

08087805                           CUSDT[9], DOGE[1], ETH[0], SHIB[1], SOL[.00000001], TRX[2.000002], USD[0.00]                                                                                                  Yes

08087806                           SHIB[395016.40523847], TRX[1], USD[0.00]                                                                                                                                      Yes

08087807                           SOL[.81030165], USD[53.00]

08087809                           CUSDT[4], USD[0.00], USDT[0.00000020]                                                                                                                                         Yes

08087828                           SOL[.00000001], USD[0.00]                                                                                                                                                     Yes

08087840                           KSHIB[184.22462434], MKR[.00271372], TRX[.00019975], USD[2.09]                                                                                                                Yes

08087841                           BRZ[1], BTC[.12743817], CUSDT[1], DOGE[1], ETH[1.00709326], ETHW[1.00709326], GRT[1], SOL[13.86152459], TRX[2], USD[0.00]

08087855                           USD[0.00]

08087856                           CUSDT[1], SOL[0], TRX[1], USD[0.00]                                                                                                                                           Yes

08087862                           USDT[1]

08087868                           BF_POINT[200], BRZ[2.00136203], CUSDT[16], DOGE[4], MATIC[0], SHIB[9], SOL[0], TRX[3.00084301], UNI[0], USD[0.00]                                                             Yes

08087869                           ETH[.0909468], ETHW[.0909468], USD[1.53]

08087884                           CAD[0.00], CUSDT[169.99394066], NFT (339905939912513169/Grey.Vampir.Marble)[1], USD[1.60]                                                                                     Yes

08087886                           MATIC[1700], SOL[8.87], USD[4.25]

08087908                           SOL[.00969996], USD[0.00]

08087910                           ALGO[.33078295], BAT[1.999], CUSDT[5], DAI[.2], GRT[4], MATIC[1.1428568], NEAR[.1634388], PAXG[0], SOL[0.05346111], TRX[20], USD[0.56], USDT[0.49740367]

08087912                           USD[108.30]                                                                                                                                                                   Yes

08087927                           BAT[70.622], BCH[.962018], BTC[.0007859], DOGE[19.281], ETH[.012736], ETHW[.012736], GRT[21.316], LINK[22.4571], LTC[4.23319], MKR[.014495], SHIB[2446500], SOL[4.85775],
                                   SUSHI[101.255], TRX[51.69], UNI[41.8753], USD[24.79], WBTC[.0003895]
08087932                           USD[541.14]                                                                                                                                                                   Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08087933                              CUSDT[1], ETH[.00000001], USD[0.01]

08087937       Contingent, Disputed   USD[0.00]

08087946                              CUSDT[6], DOGE[1], USD[0.00]

08087947                              SHIB[1], TRX[2], USD[0.00]                                                                                                                                                        Yes

08087948                              DOGE[1], USD[0.00]

08087957                              BAT[44.5191099], BTC[.0008192], USD[0.00]                                                                                                                                         Yes

08087959                              USD[450.79]

08087960                              CUSDT[1], SOL[2.09944369], USD[1.01]

08087966                              CUSDT[1], DOGE[1532.17792542], TRX[1], USD[928.85]                                                                                                                                Yes

08087983                              CUSDT[1], SOL[2.27752506], USD[0.00]                                                                                                                                              Yes

08087997                              CUSDT[1], DOGE[117.05322257], USD[0.00]

08087998                              USDT[0.00000048]

08088003                              BTC[.00002544], NFT (417897756638521015/Astral Apes #2057)[1], NFT (433704130186949125/Astral Apes #2519)[1], NFT (553718161236692827/Astral Apes #1289)[1], USD[0.00]            Yes

08088004                              USDT[0]

08088008                              ETH[.00000001], SOL[.00000001]                                                                                                                                                    Yes

08088010                              ETH[.269979], ETHW[.269979], USD[60.01]

08088015                              USD[33.60]

08088023                              BCH[0], BTC[0], DOGE[3], ETH[0], GRT[1], SHIB[3], TRX[3], USD[0.00]

08088032                              ETH[.216], ETHW[.216], USD[2.21]

08088037                              USD[0.01], USDT[0]

08088039                              ETH[0], NFT (294812231656286638/Pixelated Pictographs)[1], NFT (311747957505450052/Oldi)[1], NFT (329229611110624552/Robobuck)[1], NFT (427260657677777391/Aura)[1], NFT
                                      (427362481570630942/"STOP")[1], NFT (455308008755419382/Sea demon robo)[1], NFT (503759938603429348/greenie)[1], NFT (510761463407796313/Nortigh)[1], SOL[.00430867], USD[0.71]

08088054                              BTC[0.00967934], USD[0.00]

08088088       Contingent, Disputed   USD[2.28]

08088095                              BRZ[1], CUSDT[4], DOGE[3], SHIB[3], TRX[29915.36225172], USD[0.09]                                                                                                                Yes

08088099                              NFT (473981080013637082/Australia Ticket Stub #420)[1], USD[0.27]

08088106                              USD[0.01], USDT[47.36302956]

08088109                              SOL[0]

08088111                              CUSDT[1], DOGE[1], USD[0.08]                                                                                                                                                      Yes

08088124                              BTC[.00008788], USD[0.00]

08088126                              BTC[0.00008377], SHIB[27799.18923112], SOL[.00923731], USD[0.00]

08088127                              BTC[.00201786], USD[0.81], USDT[0.00030135]

08088146                              CUSDT[1], LINK[15.85302184], USD[0.00]                                                                                                                                            Yes

08088150                              SHIB[2], SOL[0], USD[0.33]

08088167                              CUSDT[1], USD[0.00]                                                                                                                                                               Yes

08088171                              NFT (289227012277937525/Bahrain Ticket Stub #636)[1]

08088175                              BRZ[1], BTC[.00309397], DOGE[1], ETH[0], MATIC[2516.99179239], SHIB[25724773.32204231], SOL[0], TRX[1], USD[6251.96]                                                              Yes

08088176                              ETH[.001], ETHW[.001], USD[0.75]

08088178                              ETH[.03701895], USD[0.05]

08088181                              BAT[1], BRZ[4], CUSDT[1], DOGE[0], ETH[1.09148091], SHIB[6], TRX[10], USD[-150.00], USDT[1.01849771]

08088185                              SHIB[1], TRX[1], USD[0.00]                                                                                                                                                        Yes

08088190                              CUSDT[1], DOGE[20.8434184], SHIB[1039361.74975584], TRX[1], USD[0.00]                                                                                                             Yes

08088194                              BTC[.0000859], ETH[.00036958], ETHW[.00036958], SOL[.00635626], USD[1207.09]                                                                                                      Yes

08088195                              BTC[0.00000250], TRX[0], USD[0.00]                                                                                                                                                Yes

08088201                              USD[0.00]

08088229                              BTC[.00376487], ETH[.02621483], ETHW[.02621483], SOL[.50855556], USD[0.00]

08088230                              BTC[0], ETHW[.74122961], USD[453.53]

08088232                              USD[1.49]

08088234                              USD[0.00], USDT[326.97652904]

08088235                              CUSDT[2], ETH[.12164229], ETHW[.12047269], USD[0.00]                                                                                                                              Yes

08088238                              USD[0.00]                                                                                                                                                                         Yes

08088240                              BCH[.00035158], DOGE[4.75299386], EUR[0.81], TRX[24.95463815], USD[0.54]                                                                                                          Yes

08088243                              TRX[.3], USD[1.41]

08088244                              BF_POINT[200], USD[242.41]

08088246                              BTC[.00006342], USD[-0.79]

08088249                              USD[0.00]                                                                                                                                                                         Yes

08088252                              LTC[8.017131], MATIC[500], SOL[10], USD[3.09]

08088259                              USDT[0.00040314]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08088262                           AVAX[.06], ETH[.208791], LINK[.09], MATIC[.97], SOL[.005], USD[1.13], YFI[.000099]

08088269                           CUSDT[8], ETHW[.03289195], LINK[.00004185], SHIB[3], USD[0.01]                                                                                                                Yes

08088284                           CUSDT[2], USDT[0.00002069]

08088291                           USD[1079.23]                                                                                                                                                                  Yes

08088292                           ETH[1.27026215], ETHW[1.27026215], MATIC[343.60778423], SOL[29.02432015], USD[0.00], USDT[0.00000001]

08088293                           BAT[1], DOGE[1.04097943], GRT[2], SHIB[1], TRX[4408.71712817], USD[0.00]                                                                                                      Yes

08088297                           CUSDT[21], DOGE[4], LINK[48.62678014], LTC[1.26842675], SHIB[2532164.0109822], SOL[4.62118486], TRX[4], USD[11.23]                                                            Yes

08088300                           SOL[.00499], USD[5.36]

08088304                           USD[38.40]

08088317                           CUSDT[1], DOGE[2], ETH[.05350165], ETHW[.05283697], SHIB[13853555.0375058], USD[0.93]                                                                                         Yes

08088321                           SOL[.00000001]                                                                                                                                                                Yes

08088324                           USD[259.91]                                                                                                                                                                   Yes

08088325                           SHIB[8555904.53281197]                                                                                                                                                        Yes

08088337                           CUSDT[1], DOGE[1], SHIB[5205484.87151288], USD[140.33]                                                                                                                        Yes

08088338                           ETHW[.00012826], SHIB[2.93869346], TRX[.00344395], USD[0.16], USDT[0.00001472]

08088347                           BTC[0], CUSDT[22.00883824], MATIC[.00000624], NFT (433274530122287102/Beddy Tears #11)[1], SHIB[108813.01368757], SOL[0.01993991], USD[0.00], USDT[0]                         Yes

08088351                           SOL[21.59838], USD[2.04]

08088352                           USD[0.00]

08088361                           USD[10.00]

08088363                           USD[0.00]

08088371                           BAT[1.01420026], CUSDT[1], EUR[0.00], USD[528.85]                                                                                                                             Yes

08088375                           BTC[.00253579], CUSDT[1], DOGE[2], SOL[1.62452668], USD[14.66]                                                                                                                Yes

08088396                           BTC[.23783276], ETH[2.69746227], ETHW[2.69746227], USD[0.00]

08088404                           CUSDT[2], SOL[0], USD[0.00]

08088406                           LTC[0], MATIC[0], SOL[0], USD[0.00], USDT[0]

08088413                           BAT[9.19583668], BTC[.00007669], USD[27.06]                                                                                                                                   Yes

08088416                           BTC[0], SHIB[0], SOL[0], USD[0.00]

08088428                           BAT[1], CUSDT[1], DOGE[3], ETH[0], ETHW[0], SHIB[3], TRX[4], USD[0.00]

08088434                           USD[6.97], USDT[0.00000001]

08088439                           BRZ[1], CUSDT[1], USD[0.01]

08088442                           BTC[0], USD[3708.03]

08088443                           SOL[0], USD[0.15]

08088445                           DOGE[4727.3039], USD[8529.13]

08088447                           BRZ[1], CUSDT[2], ETH[.1734399], ETHW[.17317288], TRX[1], USD[0.00]                                                                                                           Yes

08088450                           ETH[0], MATIC[.32], NFT (294317378264239754/Steampunk Whales #7)[1], NFT (327479074182048606/Steampunk Whales #9)[1], NFT (348878730826890060/Steampunk Whales #10)[1], NFT
                                   (471479136646262776/Steampunk Whales #4)[1], NFT (500342186996796222/Steampunk Whales #6)[1], NFT (514605042880829247/Steampunk Whales #8)[1], NFT
                                   (514731295016120657/Steampunk Whales #5)[1], NFT (559835493488158907/Steampunk Whales #3)[1], USD[0.26]
08088460                           ETH[0.00400323], ETHW[0.34400323], MATIC[0], SOL[0], USD[405.61], USDT[0.00001403]

08088461                           CUSDT[1], NFT (430381560713848010/Beddy Tears #1)[1], NFT (471454652378597495/Tokio)[1], SOL[.07250271], USD[0.00]                                                            Yes

08088467                           BAT[26.80675656], BRZ[2], BTC[.36333223], CUSDT[10], DOGE[6.0005458], ETH[6.54459738], ETHW[6.54234937], SHIB[1], SOL[50.72852521], TRX[1], USD[1051.79]                      Yes

08088468                           SOL[.07]

08088483                           ETH[3.61617719], ETHW[3.61617719], GRT[6312.40609037], USD[0.05]

08088484                           AVAX[0], USD[0.00], USDT[0]

08088497                           BF_POINT[100], USD[1.88]

08088498                           ETH[.042007], ETHW[.042007], SHIB[55903], SOL[.00415], SUSHI[4.995], USD[10.46]

08088502                           DOGE[1.05894518], SHIB[576249.31864398], USD[0.00]                                                                                                                            Yes

08088512                           SOL[2.66272235]

08088529                           USD[0.00]

08088544                           CUSDT[2], DOGE[1], SHIB[144.82954181], USD[0.00]                                                                                                                              Yes

08088547                           SHIB[1], USD[0.00]                                                                                                                                                            Yes

08088556                           USD[0.00]                                                                                                                                                                     Yes

08088559                           BTC[0], USD[2.00], USDT[0]

08088578                           USD[0.00], USDT[0.00002744]

08088582                           CUSDT[1], SHIB[2015953.28424387], USD[0.00]                                                                                                                                   Yes

08088584                           CUSDT[4], DOGE[2764.42897642], SHIB[2], TRX[2], USD[0.03]                                                                                                                     Yes

08088587                           SHIB[100449.41275675], USD[5.41]                                                                                                                                              Yes

08088592                           BTC[0], CUSDT[0], LTC[0], MATIC[0], SHIB[0], SOL[0], USD[0.00]                                                                                                                Yes

08088594                           USD[0.01]

08088598                           USD[0.13]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08088599                              ETH[.00043], ETHW[.00043]

08088600                              USD[100.12]

08088603                              ETH[.020979], ETHW[.020979], USD[4.25]

08088606                              BAT[2.05513809], CUSDT[1], DOGE[2], GRT[3.07547562], MATIC[0], SOL[0], TRX[5], USD[0.00], USDT[1.06941574]                                                                          Yes

08088613                              USD[1.00]

08088619                              USD[5.00]

08088620                              USD[1.09]

08088625                              DOGE[1], LINK[.00134652], SOL[.00970179], USD[161.99]                                                                                                                               Yes

08088628                              BRZ[1], DOGE[4], PAXG[.00000437], SHIB[7], USD[0.01]                                                                                                                                Yes

08088629                              BTC[.00377483], CUSDT[4], DOGE[97.42688779], ETH[.0517933], ETHW[.0517933], LINK[.72052694], TRX[221.2438962], UNI[1.00429733], USD[0.01]

08088649                              BTC[0], USD[0.00]

08088650                              USD[216.59]                                                                                                                                                                         Yes

08088657                              BTC[0], SOL[0], USD[0.00], USDT[0]

08088662       Contingent, Disputed   CUSDT[4], SOL[.396137], USD[0.00]                                                                                                                                                   Yes

08088664                              BTC[.0001]

08088666                              USD[0.00]                                                                                                                                                                           Yes

08088667                              BTC[.00103446], TRX[1], USD[0.00]                                                                                                                                                   Yes

08088673                              AVAX[.00024252], DOGE[0.75915875], ETHW[1.10540993], USD[0.43]                                                                                                                      Yes

08088674                              BRZ[2], CUSDT[5], DOGE[289.9711041], SHIB[12441207.2708442], TRX[382.94446654], USD[0.00], USDT[54.69787029]

08088676                              CUSDT[1], ETH[.02070256], ETHW[.02044264], USD[0.00]                                                                                                                                Yes

08088678                              BTC[.0032967], ETH[.05180878], ETHW[.05180878], USD[0.41]

08088687                              SHIB[5276.81418581], USD[0.00]                                                                                                                                                      Yes

08088697                              GRT[0], TRX[0], USD[0.00]

08088700                              CUSDT[1], ETH[.00609451], ETHW[.00601411], USD[0.00]                                                                                                                                Yes

08088705                              USD[0.08]

08088717                              CUSDT[1], DOGE[152.23333475], SHIB[3308292.81947449], USD[0.52]                                                                                                                     Yes

08088719                              BRZ[1], LTC[2.42775134], USD[0.00]                                                                                                                                                  Yes

08088722                              CUSDT[2], DOGE[1], USD[113.94]                                                                                                                                                      Yes

08088724                              BF_POINT[100], BRZ[2], CUSDT[28], GRT[1], SHIB[3], SOL[.00000001], TRX[5], USD[0.55], USDT[0]                                                                                       Yes

08088731                              LTC[.39], SOL[.00675072], USD[0.00], USDT[.8636745]

08088732                              USD[180.01]

08088734                              BTC[0], SHIB[0], SUSHI[0], TRX[0], USD[0.01]                                                                                                                                        Yes

08088738                              BTC[.00043287], CUSDT[1], USD[0.00]                                                                                                                                                 Yes

08088739                              USD[4.33]                                                                                                                                                                           Yes

08088743                              BTC[.00007893], CUSDT[.0000158], DOGE[21.2498223], SOL[.0232764], USD[8.77]                                                                                                         Yes

08088749                              BRZ[2], SHIB[1], USD[0.00]                                                                                                                                                          Yes

08088753                              BTC[0.00000418], ETH[.000988], ETHW[.000988], LINK[40.0949], NFT (345167025003665096/The Suites Upgrade Key)[1], NFT (459366438864013509/Executive Suite #2270)[1], NFT
                                      (507927948535473007/The Suites Upgrade Key)[1], NFT (546019713940017007/Club Suite #116)[1], SOL[.00938], SUSHI[.4965], UNI[.0925], USD[1.28], USDT[.00975479]
08088758                              BAT[3.00076102], BRZ[2], DOGE[3], ETH[.00008028], GRT[2], SHIB[1], TRX[3], USD[0.00], USDT[1.01819348]                                                                              Yes

08088763                              BTC[0.00006101], SOL[0], USD[0.00], USDT[74.11362371]

08088765                              ETHW[.02612273], SOL[.00000001], USD[178.96]                                                                                                                                        Yes

08088766                              BRZ[3], BTC[.00000462], DOGE[225.55872082], ETH[.00002402], ETHW[3.06340571], GRT[1], LINK[6.71687229], MATIC[.00588798], SHIB[40], TRX[7], USD[0.00], USDT[1.01920266]             Yes

08088767                              BTC[.02637266]

08088769                              BTC[.00340113], CUSDT[3], ETH[.07001624], ETHW[.06914685], USD[0.02]                                                                                                                Yes

08088771                              BAT[5.6194593], CUSDT[99.18458708], DAI[.99393687], DOGE[32.1745865], EUR[1.07], TRX[18.98051583], USD[2.17]                                                                        Yes

08088773                              CUSDT[3], SHIB[4], USD[0.01]                                                                                                                                                        Yes

08088775                              NFT (564614880053245769/Solninjas #7892)[1]

08088785                              ETH[.002], ETHW[.002], SOL[.05174618], USD[4.94]

08088790                              AVAX[1.12484924], BTC[0], ETH[0], GRT[0], LINK[0], MATIC[0], NFT (373244998110315593/DOTB #5147)[1], NFT (452896858486769770/Kira Dillipants)[1], NFT (533226736167911257/DOTB
                                      #8697)[1], NFT (550071104525111758/DOTB #5862)[1], SHIB[0], UNI[0], USD[0.00]
08088791                              BTC[0.41718038], DOGE[314.70422474], ETH[.96763189], ETHW[.76622813], LINK[20.21047725], MATIC[274.39916797], MKR[.19222544], NFT (522564195568367658/Entrance Voucher #1910)[1],   Yes
                                      SHIB[4172979.62348763], SOL[3.29299733], USD[2509.78]
08088792                              USD[15.00]

08088804                              USD[200.00]

08088808                              SOL[63.751873]                                                                                                                                                                      Yes

08088809                              SHIB[137179.78060966], USD[0.00]                                                                                                                                                    Yes

08088813                              CUSDT[2], DOGE[1], USD[0.00]

08088815                              USD[446.04]

08088820                              CUSDT[1], SOL[.54347332], USD[0.00]                                                                                                                                                 Yes

08088827                              SOL[.00000001]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08088830                              ETH[0.01771407], ETHW[0.01749519], SHIB[2], USD[0.00]                                                                                                                                Yes

08088842                              BTC[.00000594], USD[0.00]                                                                                                                                                            Yes

08088843                              DOGE[1], TRX[1], USD[0.00], USDT[1]

08088849                              DOGE[1], ETHW[2.02676841], USD[0.00]                                                                                                                                                 Yes

08088850                              CUSDT[1], ETH[.01245197], ETHW[.01230149], USD[0.05]                                                                                                                                 Yes

08088862                              BRZ[3], CUSDT[1], DOGE[1], MATIC[.00182821], SHIB[4], SOL[.00000001], USD[236.43], USDT[0]                                                                                           Yes

08088870                              USD[0.00], USDT[0.00000031]

08088872                              BTC[0], ETH[.00000001], ETHW[0], USD[0.01]

08088882                              SOL[.00047415]                                                                                                                                                                       Yes

08088887                              USD[0.17]

08088899                              CUSDT[1], ETH[.04841201], ETHW[.04841201], USD[0.00]

08088903                              USD[1.11]

08088911                              USD[0.00]                                                                                                                                                                            Yes

08088912                              BAT[0], BTC[0], GRT[0], LINK[0], TRX[0], UNI[0], USD[0.00]

08088921                              CUSDT[2], ETH[.02121986], ETHW[.02121986], NFT (530311786177615950/Shannon Sharpe's Playbook: Baltimore Ravens vs. Oakland Raiders - January 14, 2001 #89)[1], TRX[880.27122917],
                                      USD[0.00]
08088922                              USD[5.51], USDT[3]

08088939                              CUSDT[1], DOGE[1], USD[0.01]

08088941                              USD[10000.00]

08088945                              BTC[.00000003]

08088947                              CUSDT[2], TRX[1.41954391], USD[0.00], USDT[0]

08088948                              BTC[.00071672], CUSDT[1], USD[0.00]                                                                                                                                                  Yes

08088950                              USD[0.00]

08088952                              BAT[9.51205747], KSHIB[96.91423148], TRX[1], USD[92.05]                                                                                                                              Yes

08088954       Contingent, Disputed   ETH[0]

08088955                              USD[837.39]

08088957                              BAT[.18844861], USD[97.04]

08088975                              CUSDT[7], ETH[.00000013], ETHW[.00000013], SOL[1.11764433], USD[0.00]                                                                                                                Yes

08088981                              BTC[.00000332], USD[0.02]                                                                                                                                                            Yes

08088985                              BTC[.0000059], PAXG[.03846], USD[0.12], YFI[.0081918]

08088986                              ETH[.00378494], ETHW[.00378494], NFT (305476003949691470/Spring blooms #5)[1], NFT (305716245517798438/TrickTheCat )[1], NFT (311413336509115655/The Great Outdoors #11)[1], NFT
                                      (313491359993319811/The Great Outdoors #3)[1], NFT (314106320532407823/The Great Outdoors #8)[1], NFT (347143392535030352/Spring blooms #7)[1], NFT (357425510423595199/Spring blooms
                                      #8)[1], NFT (362766680728425922/The Great Outdoors #9)[1], NFT (366128199889268553/The Great Outdoors #10)[1], NFT (410792278789662819/Spring blooms #6)[1], NFT
                                      (441301237325834490/Europe)[1], NFT (444227813304071444/The Great Outdoors #4)[1], NFT (453519495614030901/The Great Outdoors #7)[1], NFT (466160301534220911/The Great Outdoors
                                      #2)[1], NFT (489182065400415992/Spring blooms #2)[1], NFT (493808928090121057/Europe #2)[1], NFT (499865853436058741/The Great Outdoors)[1], NFT (527660194869787720/Spring blooms
                                      #3)[1], NFT (537960156991021568/The Great Outdoors #6)[1], NFT (541277504070818728/Spring blooms #4)[1], USD[6.81]
08088993                              KSHIB[0], LINK[0], MATIC[0.07862161], SOL[0], USD[0.00], USDT[0], YFI[0]                                                                                                              Yes

08088994                              USD[2.19]

08089000                              USD[0.00]

08089003                              USD[54.15]                                                                                                                                                                           Yes

08089008                              USD[0.00]

08089011                              BRZ[1], SHIB[6202464.62938646], USD[0.00]                                                                                                                                            Yes

08089016                              BTC[0], ETH[0], ETHW[0], NFT (562859629897631122/The Hill by FTX #4513)[1], USD[41.90]

08089017                              BTC[.00504672], ETH[.07163528], ETHW[.07163528], SHIB[6697953.75364039], USD[0.00]

08089022                              DOGE[1], GRT[271.53653526], TRX[1], USD[0.00], USDT[0]

08089029                              ETHW[.05234783], USD[0.00], USDT[0.00000086]

08089030                              SOL[3.4965], USDT[8.725843]

08089035                              USD[0.00]

08089036                              BTC[.00097607], CUSDT[2], DOGE[16.79186484], ETH[.00602749], ETHW[.00595826], KSHIB[26.83633570], LTC[.0002796], SOL[.00000129], USD[0.00]                                           Yes

08089042                              USD[0.00]                                                                                                                                                                            Yes

08089043                              ETH[.42179839], ETHW[.42179839], TRX[1], USD[0.01]

08089049       Contingent, Disputed   BRZ[3], BTC[0.00000017], CUSDT[4], DOGE[5], GRT[2.01135633], SOL[0], SUSHI[0.00136682], TRX[8], USD[0.01], USDT[0.00016866], YFI[.00003285]                                          Yes

08089054                              USD[0.00]

08089056                              BTC[.00000007], USD[0.01], USDT[0]                                                                                                                                                   Yes

08089060                              CUSDT[1], DOGE[1], ETH[.00304106], ETHW[.00300002], LINK[.86256583], MATIC[6.462109], SHIB[18875.27708074], SOL[.02394662], TRX[40.38640822], USD[11.02]                             Yes

08089076                              BTC[.00230894], CUSDT[1], USD[10.75]                                                                                                                                                 Yes

08089078                              SOL[0], USD[0.01]

08089083                              MATIC[20], USD[1.77]

08089087                              SHIB[1900000], USD[0.81]

08089088                              ETH[.12521472], ETHW[.12521472], SOL[.07792], USD[4.03], USDT[0.00001524]

08089090                              SOL[0], USD[0.00]
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                                                                                                                                             Customer Claims                                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08089091                              CUSDT[1], MATIC[75.40965567], USD[0.00]

08089096                              AVAX[.0002], SOL[.00937], USD[0.00]

08089103                              CUSDT[1], SOL[103.51006763], TRX[1], USD[0.00]

08089104                              LINK[0], SOL[0]

08089110                              SHIB[6.13329195], USD[0.01]                                                                                                                                                                  Yes

08089112                              USD[1000.00]

08089123                              MATIC[33.64307923], USD[0.00]                                                                                                                                                                Yes

08089125                              BF_POINT[300], NFT (431905414025755695/Coachella x FTX Weekend 1 #20143)[1], SOL[-0.00000001], USD[0.03]                                                                                     Yes

08089127       Contingent, Disputed   SOL[.00405872], USD[61.13]

08089128                              ETH[.01171223], ETHW[.01156175], SHIB[1], USD[0.00]                                                                                                                                          Yes

08089130                              USD[0.13]                                                                                                                                                                                    Yes

08089132                              BTC[.00029306], CUSDT[3], USD[0.00]                                                                                                                                                          Yes

08089135                              BTC[.1026]

08089140                              BRZ[108.62273326], BTC[.00030994], CUSDT[915.9977504], DOGE[77.61861132], ETH[.0043378], ETHW[.0043378], GRT[18.2752342], LTC[.07917444], MATIC[11.74471471], SOL[.0876635],
                                      TRX[177.56753781], USD[0.00]
08089144                              USD[0.00], USDT[0]

08089151                              SHIB[.31901346], TRX[1], USD[2.77]                                                                                                                                                           Yes

08089152                              BAT[.98608735], USD[1.98]                                                                                                                                                                    Yes

08089153                              BTC[.00031493], CUSDT[1], USD[0.00]                                                                                                                                                          Yes

08089154       Contingent, Disputed   BF_POINT[300]                                                                                                                                                                                Yes

08089160                              MATIC[6.38177377], USD[0.00]                                                                                                                                                                 Yes

08089161                              USD[0.15], USDT[0]

08089177                              BTC[.0003054], ETH[.00413975], ETHW[.00413975], SOL[.10164364], USD[1.00]

08089179                              BCH[.014], USD[0.27]

08089182                              CUSDT[1], DOGE[1], SHIB[1], SOL[.00000001], USD[1.05], USDT[0.00000946]                                                                                                                      Yes

08089183                              USD[0.91]

08089189                              USD[0.60]                                                                                                                                                                                    Yes

08089192                              CUSDT[1], NFT (341756293585053100/Earl Campbell's Playbook: Texas vs. Houston - November 5th, 1977 #103)[1], NFT (355802425642526127/Earl Campbell's Playbook: LA Rams vs Houston Oilers
                                      - September 4th, 1978 #100)[1], NFT (532143339542514965/Shannon Sharpe's Playbook: Kansas City Chiefs vs Denver Broncos - October 4, 1992 #79)[1], NFT (549828458021495603/Earl Campbell's
                                      Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #107)[1], NFT (567028970154943901/Earl Campbell's Playbook: Rice vs. Texas - October 1st, 1977 #92)[1], SOL[.34424675],
                                      USD[0.00]
08089196                              CUSDT[3], DOGE[948.64329778], TRX[2160.02610625], USD[0.00]

08089200                              USD[0.55]

08089203                              CUSDT[2], TRX[1], USD[0.00]                                                                                                                                                                  Yes

08089206                              SOL[.00020776], USD[4.95]

08089209                              CUSDT[1], TRX[2299.26970798], USD[0.00]

08089210                              DOGE[1], TRX[1], USD[0.01]

08089211                              ETH[.00000001], USD[5.62], USDT[0]                                                                                                                                                           Yes

08089236                              BTC[.0078], ETH[.106], ETHW[.106], USD[2.78]

08089237                              CUSDT[1], SHIB[5461880.12494887], USD[49.88]                                                                                                                                                 Yes

08089242                              AAVE[0.00161459], AVAX[0], BAT[0], BTC[0], CUSDT[0], DOGE[1], ETH[0], GBP[0.00], LTC[0], MATIC[0], MKR[0], NEAR[0], SHIB[8], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00], USDT[0], YFI[0]    Yes

08089243                              BTC[0], DOGE[0], ETH[0.00008903], GRT[0], LINK[0], LTC[0], UNI[0]

08089244                              BTC[0.00001199], ETH[.002], ETHW[6.1909155], USD[1055.79], USDT[0]

08089249                              SOL[8.63644677], USD[0.00]

08089259                              USD[0.00]                                                                                                                                                                                    Yes

08089260                              CUSDT[1], TRX[920.61074867], USD[0.00]                                                                                                                                                       Yes

08089266                              AAVE[.53821083], DOGE[1], ETH[1.13184463], ETHW[1.1313693], LINK[13.18702649], LTC[6.7563833], MATIC[320.18691381], SHIB[7568615.92329505], SOL[4.22339059], UNI[13.23304684],               Yes
                                      USD[0.00]
08089267                              USD[10.83]                                                                                                                                                                                   Yes

08089268                              CUSDT[1], USD[0.00]                                                                                                                                                                          Yes

08089279                              CUSDT[1], DOGE[1], USD[0.00]

08089282                              MATIC[6.53028898], USD[0.00]                                                                                                                                                                 Yes

08089283                              CUSDT[1], DOGE[1], USD[0.00]

08089286                              CUSDT[1], DOGE[63.86545961], MATIC[3.10018937], USD[0.00]                                                                                                                                    Yes

08089291                              USD[4.90]

08089295                              ETH[.00000001], ETHW[0]                                                                                                                                                                      Yes

08089299                              AAVE[0], BTC[.01077081], LINK[0], SOL[0.00000001], USD[0.00], USDT[0]                                                                                                                        Yes

08089300                              KSHIB[188.64511958], USD[0.00]                                                                                                                                                               Yes

08089304                              BRZ[1], CUSDT[7], DOGE[6], ETH[.00000015], ETHW[.00000015], GRT[2.02198279], SHIB[1221572.57053947], SOL[8.88796295], SUSHI[.0000937], TRX[.00800756], USD[0.00]                             Yes

08089305                              ALGO[0], AVAX[0], BTC[.00000001], DOGE[0.00108591], ETH[0], KSHIB[0], MATIC[0], NEAR[0], SHIB[1], SOL[0], TRX[0], USD[0.00], USDT[0]                                                         Yes

08089309                              CUSDT[1], SHIB[1522395.32974219], USD[0.00]                                                                                                                                                  Yes
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08089319                              CUSDT[1], KSHIB[400.97710099], USD[0.00]                                                                                                                                             Yes

08089321                              USDT[0.00000095]

08089324                              USD[200.13]

08089328                              CUSDT[6], TRX[3], USD[0.00]                                                                                                                                                          Yes

08089341                              SOL[.14222927], USD[0.00]

08089364                              BAT[4.04980501], CUSDT[0], DOGE[0], LINK[0], MATIC[0], NFT (307574417763148332/Elysian - #4016)[1], NFT (346945687777323625/Soulless #6258)[1], NFT (364928068464718988/Soulless     Yes
                                      #5005)[1], NFT (565586999068839141/Soulless #9764)[1], PAXG[0], SHIB[2], SOL[0], TRX[1], USD[0.00]
08089366                              GBP[447.41], USD[0.00], USDT[0.00000001]                                                                                                                                             Yes

08089385                              SOL[.32], USD[169.16], USDT[56.13]

08089394                              BRZ[1], BTC[.02634086], CUSDT[10], DOGE[5], ETH[.4809997], ETHW[.48079776], SHIB[10], TRX[4], USD[0.00]                                                                              Yes

08089399                              USD[100.00]

08089401                              SOL[.05628882], USD[0.00]

08089404                              AAVE[.01079366], BTC[.00003903], ETH[.00044664], ETHW[.00044664], LINK[.08883997], LTC[.01218666], USD[0.00]                                                                         Yes

08089405                              CUSDT[2], DOGE[41.65548331], SHIB[599151.32952928], SUSHI[2.43031286], USD[1.09]                                                                                                     Yes

08089408                              LINK[.699335], MATIC[9.9905], SOL[.5294965], USD[11.82]

08089409                              ETH[0], SOL[.00000001], TRX[1]

08089412                              LTC[4.6], USD[1.03]

08089425                              USD[39.67]                                                                                                                                                                           Yes

08089427                              USD[324.88]                                                                                                                                                                          Yes

08089432                              NFT (426092258996867152/The Hill by FTX #3940)[1]

08089436                              ETHW[.004336], UNI[.05], USD[0.00], USDT[0.00000001]

08089437                              USD[0.00]                                                                                                                                                                            Yes

08089464                              ETH[.02912], ETHW[.02912], SOL[.99]

08089466       Contingent, Disputed   USD[0.00]

08089469                              CUSDT[1], LINK[1.00712372], SHIB[188821.75226586], TRX[46.03157637], USD[0.00]

08089471                              DOGE[1], USD[0.00], USDT[0]                                                                                                                                                          Yes

08089475                              USD[0.04]

08089481                              ETH[.028971], ETHW[.028971], MATIC[9.99], USD[3.50]

08089482                              KSHIB[2054.46092087], SHIB[1], USD[23.53]                                                                                                                                            Yes

08089488                              CUSDT[12], DOGE[4], ETH[.33374906], ETHW[.33374906], LTC[.15999959], MATIC[22.48889046], SHIB[2], SOL[.12901208], TRX[2], USD[404.02]

08089491                              CUSDT[2], LINK[.71552967], TRX[229.6915674], USD[0.01]

08089493                              BTC[.00734321], SHIB[1], USD[0.00], USDT[0]                                                                                                                                          Yes

08089505                              USD[441.56]

08089507                              USD[0.00], USDT[0]

08089511                              BTC[0.00309337], USD[3.41]

08089512                              AAVE[.3972155], BAT[.02178601], BRZ[3], BTC[.00000182], CUSDT[2], DOGE[1998.80901002], ETH[.0000053], ETHW[.58039468], LINK[.00063509], SHIB[5], SOL[.00031208], TRX[4], USD[0.86]   Yes

08089542                              USD[21.51]                                                                                                                                                                           Yes

08089554                              BTC[.00000821], USD[0.00]                                                                                                                                                            Yes

08089557                              NFT (545740194135049070/Exiled Alien #693)[1], USD[1.00]

08089558                              USD[2156.65]                                                                                                                                                                         Yes

08089569                              BTC[.01302909], TRX[1], USD[0.00]                                                                                                                                                    Yes

08089578                              CUSDT[3], MATIC[40.5221799], USD[0.00]                                                                                                                                               Yes

08089585                              USD[0.01]

08089587                              BTC[0], ETH[0], ETHW[0], LTC[0], MATIC[0], SOL[0], TRX[0], USD[0.00], USDT[0.00000001]

08089590                              BTC[.01070415], MATIC[134.8], USD[0.00]

08089592                              CUSDT[1], SHIB[534188.03418803], USD[0.00]

08089603                              BRZ[3], CUSDT[2], DOGE[3], ETH[0], GRT[1.00027867], SHIB[4171230.42287697], SOL[0], USD[0.00], USDT[1.07640335]                                                                      Yes

08089605                              BTC[.0001]

08089609                              USD[15.00]

08089611                              USD[5000.00]

08089615                              USD[0.00]

08089618                              USD[7.24]

08089627                              USD[0.00], USDT[0]

08089631                              NFT (330924971406924163/Wonky Stonk #2032)[1]

08089633                              BTC[.0000059], USD[0.01]

08089635                              NFT (363385882418290343/Kizu and Kamu Hanging Out)[1], NFT (377582008064479841/Kizu Sleepy Time)[1], NFT (432485697825112713/Kizu and Kamu Happy Jump To Save Endangered
                                      Species)[1], NFT (449832522073867830/Kizu and Kamu What's For Supper?)[1], NFT (561548073168062573/Fetch It Up Kamu)[1], SOL[.06018642], USD[0.00]
08089645                              DOGE[88.44232425], USD[0.00]                                                                                                                                                         Yes

08089646                              SOL[4.16], USD[1.06]

08089656                              SOL[.00143902], USD[67.44]
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08089665                              BRZ[1], SHIB[1], USD[177.92]                                                                                                                                                           Yes

08089667                              USD[2.02]

08089668                              CUSDT[1], SHIB[5082225.7131633], USD[54.15]                                                                                                                                            Yes

08089670                              USD[0.00]

08089674                              BTC[0], USD[0.05]

08089687                              BTC[0.00008200], ETH[.00097121], ETHW[.00042523], SOL[.00104884], USD[0.01]

08089690                              BRZ[30.10340396], CUSDT[246.95558537], DAI[4.79106339], DOGE[1359.59662559], ETH[3.76317168], ETHW[2.62397865], GRT[11.32641725], KSHIB[918.44468159], LTC[.89843811],                 Yes
                                      MATIC[3.27676996], SHIB[144466.72713612], SOL[3.1456059], SUSHI[8.80839592], TRX[61.10249644], USD[0.00], USDT[13.10737417]
08089696                              USD[0.41], USDT[.004905]

08089697                              CUSDT[1], SHIB[2], USD[0.00]                                                                                                                                                           Yes

08089700                              DOGE[6.75226454], SHIB[154781.0994005], USD[0.00]

08089713                              CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                            Yes

08089716                              BTC[0], ETHW[.00022777], SHIB[1]                                                                                                                                                       Yes

08089727                              PAXG[.00000001], SOL[0], USD[0.00]

08089736                              USD[0.48]

08089737                              KSHIB[0], MATIC[0], NFT (349283150485857451/Good Boy #5068)[1], NFT (365540285090204813/Entrance Voucher #3885)[1], NFT (451475887968082893/Romeo #997)[1], SHIB[9], SOL[0],
                                      SUSHI[0], USD[17.55]
08089738                              USD[15.87]

08089739                              USD[111.00]

08089741                              LINK[2.9], USD[0.94]

08089744                              BTC[0], ETH[.00021081], ETHW[.00021081], USD[24.47]

08089745                              USD[0.00]

08089752                              USD[8.66]                                                                                                                                                                              Yes

08089755                              USDT[2.076]

08089756                              BTC[0.00059952], ETHW[1.9313255], USD[1.38]

08089757                              ETH[.00000001], USD[0.44]

08089759                              CUSDT[1], NFT (435614921060296692/Coachella x FTX Weekend 1 #887)[1], NFT (534243807390018621/The Hill by FTX #2617)[1], USD[0.00]

08089768                              ETH[.00107616], ETHW[.00107616], SOL[.00000001], USD[0.00]

08089777                              USD[100.00]

08089781                              AVAX[3.2025571], BRZ[1], BTC[.00259543], CUSDT[1235.74781317], DOGE[350.21589447], ETH[.03575166], ETHW[.03530893], SHIB[4857887.66542575], SOL[.60906008], TRX[3], USD[0.00],         Yes
                                      USDT[26.83964284]
08089786                              CUSDT[5], DOGE[2], ETH[0], SOL[0], TRX[1]

08089793                              USD[10.00]

08089813                              USD[1.53]

08089814       Contingent, Disputed   SHIB[20.07833673], SOL[.00229688], TRX[2], USD[0.00], USDT[0]                                                                                                                          Yes

08089816                              BTC[.0000001], SHIB[1], USD[0.00]                                                                                                                                                      Yes

08089817                              USD[0.00]

08089818                              ETHW[6], USD[2.00]

08089824                              CUSDT[8], USD[5.10]                                                                                                                                                                    Yes

08089825                              BTC[.00000241], USD[0.00]                                                                                                                                                              Yes

08089828                              BTC[0.00669363], SOL[.9291165], USD[4.43]

08089831                              CUSDT[1], SHIB[409344.41691952], USD[0.00]                                                                                                                                             Yes

08089836                              BTC[.00078801], ETH[0.00178363], ETHW[0.00178363], USD[0.00]

08089839                              BTC[0], SOL[77.98076038], USD[2.96]                                                                                                                                                    Yes

08089848                              AAVE[.0599736], BAT[9.66244381], BRZ[501.69883962], BTC[.00538568], CUSDT[615.66607653], DOGE[14207.57486663], ETH[.10488158], ETHW[.10381247], GRT[94.64480074],                      Yes
                                      KSHIB[208.19268497], LTC[.53255984], MATIC[24.07222487], SHIB[10492126.80139201], SOL[.33419505], SUSHI[26.8649514], TRX[2665.22491378], USD[0.01]
08089850                              CUSDT[24.91943039], TRX[236.99661825], USD[0.00]                                                                                                                                       Yes

08089852                              ETH[0], SHIB[121752.76815165], USD[3.75]

08089857                              USD[0.23], USDT[0]

08089858                              USD[0.00]

08089861                              BTC[0.00003313], USD[1.74]

08089875                              BF_POINT[200]

08089889                              CUSDT[2], TRX[652.8762267], USD[0.02]                                                                                                                                                  Yes

08089892                              USD[0.00], USDT[1856.01315872]

08089902                              BTC[.00000001], USD[0.00], USDT[0]                                                                                                                                                     Yes

08089904                              TRX[1], USD[0.00]

08089911                              USD[10.83]                                                                                                                                                                             Yes

08089914                              DOGE[2], NFT (361413804003404992/The Patrol)[1], NFT (426410904055214938/Neon Series)[1], NFT (547449898717164731/The Patrol #2)[1], NFT (547652979685365930/Neon Series #3)[1], NFT
                                      (559553910591784460/Neon Series #2)[1], SHIB[1], SOL[2.64552021], TRX[2], USD[0.00]
08089915                              BAT[1], SOL[.00002231], USD[0.00]                                                                                                                                                      Yes

08089920                              BTC[.071928], SOL[35.99397], USD[4011.20]

08089922                              CUSDT[1], NFT (474194993153697470/Fancy Frenchies #1404)[1], SOL[4.66623141], USD[0.00]                                                                                                Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08089924                              SOL[.00000001], USD[0.01]

08089931                              USD[0.37]

08089944                              USD[230.13]

08089950                              BTC[.00259753], LINK[4.1], SHIB[1300000], SOL[1.078974], USD[2.66]

08089951                              USD[608.01]

08089968                              USD[0.00]

08089969                              SOL[3.01225199]

08089971                              SHIB[188401.81176461], USD[0.00]

08089978                              USD[0.01]

08089981                              USD[0.00]                                                                                                                                                                         Yes

08089991                              NFT (496450076561967244/Impressionist Teddy Bear 1/1)[1], NFT (505754619912723628/Vintage Teddy Bear)[1], SOL[.05011037]

08089992                              DOGE[1], USD[0.00]                                                                                                                                                                Yes

08089997                              CUSDT[1], SHIB[1888574.12653446], USD[0.00]

08090003       Contingent, Disputed   USD[2.94]

08090005                              BTC[0.00132026], ETH[0], MKR[.009], USD[2003.36], USDT[0.00000001]

08090006                              USD[0.01]

08090011                              ETH[0], ETHW[0.13990915]

08090015                              CAD[0.00], USD[0.00]

08090017                              BTC[.00001527], SHIB[26.8058197], USD[0.00]

08090022                              BTC[.00000001]                                                                                                                                                                    Yes

08090040                              BTC[.00420258], CUSDT[1], DOGE[362.3960923], ETH[.00001616], ETHW[.06327144], LTC[.00003072], MATIC[66.41074098], SHIB[1], TRX[1], USD[1.59]                                      Yes

08090043                              CUSDT[1], SHIB[10270648.60256906], USD[0.00]                                                                                                                                      Yes

08090048                              CUSDT[1], SOL[.22447344], SUSHI[4.80206343], TRX[1], USD[0.00]                                                                                                                    Yes

08090049                              MATIC[209.79], TRX[9.99], USD[7.62]

08090053                              SOL[.04220359], USD[11.91]                                                                                                                                                        Yes

08090056                              NFT (549676714043552396/Coachella x FTX Weekend 2 #4823)[1], USD[0.00]                                                                                                            Yes

08090066                              ETH[.00000001], ETHW[0], USD[2.52], USDT[0.00002351]

08090077                              CUSDT[3], GRT[22.22757271], KSHIB[203.76932497], SHIB[2493290.26135745], TRX[95.09072766], USD[0.00]                                                                              Yes

08090079                              USD[0.00]

08090105                              BAT[1.01167489], SOL[10.45887475], SUSHI[305.05342096], TRX[1], USD[6.58]                                                                                                         Yes

08090124                              LINK[3.82342553], UNI[4.64092767], USD[0.00]

08090125                              CUSDT[2], DOGE[1], ETH[1.01231434], ETHW[1.0118893], LINK[12.91690944], SOL[2.72090685], TRX[1], USD[0.00]                                                                        Yes

08090129                              USD[0.00], USDT[0.00000001]

08090133                              USD[0.07]

08090134                              SOL[0], USD[0.00]

08090140                              BTC[.1131791], DOGE[4695.572], KSHIB[5200], SHIB[62794800], SOL[37.71152], USD[142.39]

08090146                              CUSDT[1], DOGE[1], MATIC[.00002941], USD[0.00]                                                                                                                                    Yes

08090160                              AVAX[11.43799328], BTC[.00000042], DOGE[1], ETH[.00000442], ETHW[.48366901], LINK[43.74616713], MATIC[390.91789443], SHIB[1], SOL[8.02670332], USD[0.00]                          Yes

08090166                              ETH[.043], ETHW[.043]

08090175                              USD[20.46]

08090187                              USD[20.00]

08090194                              SOL[.999], USD[33.68]

08090195                              CUSDT[2], SHIB[0], TRX[1], USD[0.00]                                                                                                                                              Yes

08090197                              ALGO[196.716243], AVAX[13.25823736], BTC[.01827386], DOGE[444.23906691], ETH[2.29441101], ETHW[2.29441101], LINK[7.03822964], MATIC[560.24725422], SHIB[4741813.76835095],
                                      SOL[11.82779812], UNI[20.52175146], USD[0.00]
08090199                              MATIC[.04667546], SOL[.08081997], USD[16.08]                                                                                                                                      Yes

08090204                              BTC[.00174001], TRX[1], USD[0.00]

08090213                              ETH[0], LTC[0], USD[0.00]

08090216                              BF_POINT[200], USD[0.00]                                                                                                                                                          Yes

08090222                              ETH[0.00300000], ETHW[0.00300000], NFT (292382657399967231/Gus Kenworthy - Common)[1], NFT (304930907219849513/Chris Mazdzer - Common)[1], NFT (308331760536696817/Earl
                                      Campbell's Playbook: Texas vs. Houston - November 5th, 1977 #128)[1], NFT (345451290324701849/Joey Mantia - Common)[1], NFT (366464766725116878/Gus Kenworthy - Common)[1], NFT
                                      (384342008032392094/Hilary Knight - Common)[1], NFT (396560771168518090/Gus Kenworthy - Common)[1], NFT (402435425977130651/Red Gerard - Common)[1], NFT
                                      (428784307103149046/Hilary Knight - Bronze)[1], NFT (431316029980412427/Lindsey Jacobellis - Common)[1], NFT (451105471092105884/Hilary Knight - Common)[1], NFT
                                      (500293044483594303/Chris Mazdzer - Common)[1], NFT (517196199782515623/Tina Maze - Common)[1], NFT (517250563317036457/Red Gerard - Common)[1], NFT (546304536504521154/Nancy
                                      Kerrigan - Common)[1], NFT (550146493039367280/Hilary Knight - Common)[1], NFT (575358996428759402/Nancy Kerrigan - Common)[1], SOL[2.64000000], USD[0.00], USDT[0.00002003]

08090227                              USD[100.00]

08090233                              NFT (423312848823573971/Night Light #710)[1], NFT (449516448649159400/Colossal Cacti #608)[1], SOL[.75381806], USD[0.00]                                                          Yes

08090235                              USD[42.56]

08090245                              USD[0.00]

08090247                              SOL[1.5673673], USD[0.00], USDT[0.31407021]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08090255                              SHIB[297000.29700029], USD[0.00]

08090260                              USD[250.00]

08090268                              SOL[8.04108537]                                                                                                                                                                          Yes

08090269                              USD[324.78]                                                                                                                                                                              Yes

08090289                              BTC[.0004], SOL[2.5], USD[1.45]

08090292                              USD[103.00]

08090303                              ETH[0], NFT (340612042611336618/2974 Floyd Norman - OKC 2-0096)[1], NFT (397608346526379942/The 2974 Collection #2913)[1], NFT (503627792848252314/Australia Ticket Stub #422)[1], NFT
                                      (517819883400469933/APEFUEL by Almond Breeze #879)[1], NFT (554676825025097482/Birthday Cake #2913)[1], SOL[.02], USD[10.00]
08090306                              ETH[.17801288], ETHW[.17801288], USD[0.00]

08090309                              CUSDT[8], USD[0.00], USDT[0]                                                                                                                                                             Yes

08090320                              CUSDT[1], SOL[.23312828], USD[0.00]                                                                                                                                                      Yes

08090323                              SOL[.26347534], USD[0.00]

08090330                              USD[0.00]

08090333                              BTC[0], USD[0.00]

08090340                              BRZ[2], CUSDT[14], DOGE[0.00227614], MATIC[269.98875077], TRX[2], USD[0.00]                                                                                                              Yes

08090345                              CUSDT[1], DOGE[1], ETH[0], ETHW[0], SHIB[1], SOL[0], USD[0.00]                                                                                                                           Yes

08090347                              SOL[.02690702], USD[4.57]

08090349                              AVAX[0], ETH[0.00518663], ETHW[0.16339952], LINK[0.98637515], MATIC[0.70174496], SOL[0.00736352], USD[1.34], USDT[0.00001484]

08090353                              BRZ[10.90839911], USD[3.00]

08090355                              USD[0.00]

08090358                              USD[1000.00]

08090365                              AAVE[4.58475857], ALGO[154.75766729], AVAX[15.03390248], BAT[974.89048084], BRZ[3], BTC[.02557793], CUSDT[8], DOGE[28.32546952], ETH[.31256277], ETHW[.31238037],                        Yes
                                      GRT[1893.29175446], LINK[81.02594175], MATIC[696.6326305], MKR[.47322763], NEAR[12.6958137], SHIB[33872475.35947244], SOL[51.7474769], TRX[12348.07707718], USD[0.00]
08090375                              ETH[.04260631], ETHW[0.04260631]

08090384                              BTC[0], ETH[0], LTC[0], USD[0.00], USDT[0]

08090391                              DOGE[118.8929], ETH[.4735734], ETHW[.4735734], LTC[.549505], USD[42.73]

08090392                              SOL[.4930917], USD[0.00]

08090393                              TRX[0], USD[0.00], USDT[0]

08090401                              USD[21.53]                                                                                                                                                                               Yes

08090404                              AVAX[12.12432257], BTC[.2257794], ETH[9.1375129], ETHW[9.1375129], MATIC[1378.62], NFT (465533358494979450/Coachella x FTX Weekend 2 #1326)[1], NFT (485051078799489582/Imola
                                      Ticket Stub #1006)[1], USD[4998.94]
08090406                              CUSDT[1], DOGE[3], ETH[.61162195], ETHW[.61136516], USD[87.23]                                                                                                                           Yes

08090418                              BTC[.00108486], CUSDT[3], DOGE[1], ETH[.01420023], ETHW[.01402239], USD[0.00]                                                                                                            Yes

08090419                              USD[100.00]

08090423                              KSHIB[3745.27671268], USD[0.04]

08090425                              CUSDT[2], ETH[.00452172], ETHW[.00452172], SHIB[432775.56325823], USD[0.02]

08090427                              CUSDT[1], DOGE[1], USD[0.01]                                                                                                                                                             Yes

08090429                              USD[143.84]

08090434                              ETH[0], ETHW[0], LINK[0], SHIB[2], USD[1522.31]                                                                                                                                          Yes

08090436                              USD[0.07]                                                                                                                                                                                Yes

08090438                              BTC[0], USD[0.00]                                                                                                                                                                        Yes

08090440                              NFT (376062221554445832/Jigsaw #5)[1], NFT (405312564622256743/Jigsaw )[1], NFT (507747274501380805/Jigsaw #4)[1], NFT (542106628861858478/Jigsaw #2)[1], NFT
                                      (560169223718003489/Jigsaw #3)[1], SOL[.08294738], USD[10.00], USDT[9.9470557]
08090445                              USD[0.00]

08090446                              KSHIB[129.87], SHIB[30400000], USD[0.34]

08090451                              SOL[0], USD[0.00], USDT[0]

08090452                              USD[0.50]

08090457                              AVAX[2.56458972], DOGE[1], ETH[1.03082149], ETHW[.84669871], SHIB[29], SOL[0], USD[0.00]                                                                                                 Yes

08090463                              BTC[.00046552], CUSDT[1], USD[0.00]                                                                                                                                                      Yes

08090468       Contingent, Disputed   USD[5.05], USDT[982.35778872]                                                                                                                                                            Yes

08090469                              DOGE[610], ETH[.005994], ETHW[.005994], KSHIB[280], SHIB[800000], USD[6.02]

08090481                              CUSDT[2], USD[0.00], USDT[0.00000036]                                                                                                                                                    Yes

08090482                              BTC[.00025141], ETH[.00128103], ETHW[.00126735], USD[27.05]                                                                                                                              Yes

08090483                              BTC[.00153337], CUSDT[10], DOGE[139.52275723], GRT[11.62036152], KSHIB[282.87325382], MKR[.00790035], SHIB[277276.465932], TRX[151.60473925], USD[41.83]                                 Yes

08090485                              USD[500.01]

08090486                              BTC[0], DAI[0], SHIB[1], SOL[0], USD[0.01], USDT[0.00000001]                                                                                                                             Yes

08090489                              SOL[.09436946]                                                                                                                                                                           Yes

08090491                              BTC[0], GRT[0], LTC[0], SHIB[0], SOL[0], USD[0.86], USDT[0]

08090500                              CUSDT[1], MATIC[31.11596703], USD[0.00]                                                                                                                                                  Yes

08090505                              BTC[0], USD[0.00]

08090512                              CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                              Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08090514                              SOL[0]

08090517                              DOGE[746.78895684], SHIB[2], SOL[18.14174999], USD[0.00], USDT[1]

08090520                              USD[0.79]

08090531                              DOGE[1], ETH[.10694751], ETHW[.10694751], USD[0.01]

08090538                              CUSDT[4], TRX[2], USD[0.01]                                                                                                                                                            Yes

08090547                              CUSDT[2], USD[0.00]                                                                                                                                                                    Yes

08090549                              CUSDT[2], SHIB[1638556.60619425], SOL[2.09313417], USD[0.00]                                                                                                                           Yes

08090555                              SHIB[91590.20888975], TRX[1], USD[0.00], USDT[0.01364419]                                                                                                                              Yes

08090568                              USD[0.00]

08090571                              ETHW[2.869128], USD[12464.25]

08090572                              BTC[.00099786], CUSDT[1], DOGE[52.78662778], ETH[.01054889], ETHW[.01041199], TRX[1], USD[0.00]                                                                                        Yes

08090577                              BTC[0.00002289], DOGE[91.00025], NFT (476433989548827696/AI-ART | Pika Pika )[1], NFT (505687229195656090/Moskva AI Art Basilius)[1], SOL[.0000715], USD[0.17]

08090583                              USD[0.98]

08090588                              MATIC[0], TRX[1], USD[0.00]

08090591                              CUSDT[1], SHIB[227401.93291642], USD[7.77]

08090594                              CUSDT[1], GRT[49.80899962], USD[0.00]                                                                                                                                                  Yes

08090600                              CUSDT[11], SHIB[63063.998381], TRX[3], USD[95.47]                                                                                                                                      Yes

08090605                              CUSDT[1], SOL[.64891974], USD[550.01]

08090606                              USD[9.15]

08090625                              USD[98.01]

08090629                              BTC[.0041443], ETH[.010392], ETHW[.009757], SOL[.01988], USD[201.13]

08090636                              USD[1.07]

08090637                              BTC[.00015587], TRX[1], USD[0.00]                                                                                                                                                      Yes

08090640                              USD[0.00], USDT[0]

08090642       Contingent, Disputed   BTC[0.00003340], ETH[0.00046910], ETHW[0.00046910], SOL[.00000001]

08090650                              CUSDT[1], SHIB[1], SUSHI[.00016402], USD[21.98]                                                                                                                                        Yes

08090654                              NFT (293399274806712010/MagicEden Vaults)[1], NFT (305475301599321392/Frog #872)[1], NFT (335679153687695117/MagicEden Vaults)[1], NFT (345147695513711659/Golden bone pass)[1], NFT
                                      (415423737458763490/MagicEden Vaults)[1], NFT (460171642988388146/MagicEden Vaults)[1], NFT (474030284539459041/MagicEden Vaults)[1], NFT (488101789869377605/Frog #1710)[1], NFT
                                      (569087506631172438/Taser)[1]
08090657                              BTC[0.00002563], ETH[0], MATIC[0], USD[0.00]

08090660                              BRZ[1], TRX[2], USD[0.01], USDT[0]

08090680                              USD[2.75]

08090681                              BF_POINT[300], USD[0.00]                                                                                                                                                               Yes

08090683                              ALGO[229.29969279], CUSDT[392.65633915], SHIB[2], USD[20.39]                                                                                                                           Yes

08090690                              BRZ[1], BTC[.11981779], CUSDT[1], DOGE[2115.80714127], ETH[1.05250793], ETHW[1.05206587], SHIB[77263444.50263574], SOL[28.84835395], TRX[1.000199], USD[0.00], USDT[449.07350997]      Yes

08090699                              BRZ[1], CUSDT[98.24960687], DOGE[3], TRX[1], USD[0.00]                                                                                                                                 Yes

08090700                              BTC[.00000123], USD[0.01]                                                                                                                                                              Yes

08090706                              CUSDT[1], USD[0.19]                                                                                                                                                                    Yes

08090712                              BTC[0], SOL[.004684], SUSHI[2236.853825], USD[0.40], USDT[0.00609930]

08090728                              SOL[.37919066], USD[12.00]

08090729                              DOGE[186.04830426], USD[0.00]

08090738                              USD[0.00]                                                                                                                                                                              Yes

08090747                              USD[6835.76]

08090750                              USD[0.00], USDT[0]                                                                                                                                                                     Yes

08090752                              BRZ[1], USD[0.00]                                                                                                                                                                      Yes

08090757                              ETH[0], ETHW[0], NFT (550088057515638281/Kiddo #401)[1], SOL[0.03448184], USD[0.00]

08090763                              BTC[0.00659373], SOL[1.418651], USD[10.26]

08090768                              USD[51.53]

08090774                              USD[100.00]

08090781                              BTC[0], GRT[1]                                                                                                                                                                         Yes

08090782                              SHIB[5369718.5215191], USD[0.00]

08090785                              USD[1.51]

08090791                              ALGO[.721093], USD[0.00]

08090792                              USD[10.00]

08090797                              USD[1.29]

08090809                              CUSDT[1], DOGE[1], ETH[.00126633], ETHW[.00125265], SHIB[207727.06104306], SOL[.09174351], USD[0.01]                                                                                   Yes

08090810                              LTC[.999], UNI[.48811433], USD[0.00]

08090811                              DOGE[3], ETHW[1.36156388], TRX[1], USD[0.01]                                                                                                                                           Yes

08090818                              BAT[9516.78948958], BCH[6.1578008], BTC[.00782684], GRT[1112.36795506], LINK[156.03814444], MATIC[528.92788617], SOL[4.4103758], UNI[662.88877585]                                     Yes
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08090822                              NFT (546788963688672058/Oink 1551)[1], SOL[.00000932]                                                                                                                                Yes

08090825                              BRZ[1], CUSDT[12], DOGE[8.05173366], ETH[0], ETHW[0.02934271], LTC[0.00001048], MATIC[0.00058322], SHIB[17], SOL[0], SUSHI[0], TRX[1], USD[0.00]                                     Yes

08090827                              ETH[.43425791], ETHW[.43425791], GRT[1], USD[0.01]

08090839                              USD[1.08]                                                                                                                                                                            Yes

08090840                              BTC[0], CUSDT[9], MATIC[0], SHIB[0], SOL[0], USD[0.00]                                                                                                                               Yes

08090844                              ETH[.00106312], ETHW[.00106312], USD[0.00]

08090848                              BRZ[1], BTC[.0064336], CUSDT[6], DOGE[1], ETH[.12688394], ETHW[.12576835], SHIB[1], USD[0.09]                                                                                        Yes

08090855                              CUSDT[1], DOGE[1], SOL[0], TRX[1], USD[0.01]

08090857                              USD[0.46]

08090859                              DOGE[1], ETH[.00000001], USD[0.00]                                                                                                                                                   Yes

08090865                              CUSDT[1], USD[0.01]                                                                                                                                                                  Yes

08090869                              CUSDT[3], SHIB[3620194.06007624], TRX[1], USD[0.00]

08090878                              ETHW[.03558961], TRX[1], USD[0.00]                                                                                                                                                   Yes

08090881                              USD[5.00]

08090884                              CUSDT[2], USD[0.01]                                                                                                                                                                  Yes

08090887                              SOL[.00717589], USD[0.59]

08090910                              USD[0.00], USDT[.37193623]

08090919                              NFT (512927513277098456/FTX - Off The Grid Miami #2046)[1], USD[25.78]

08090923                              SHIB[1886242.37804878], USD[0.00], USDT[0]

08090926                              SHIB[92894680], USD[1.99]

08090938                              BTC[.01845445], CUSDT[3], DOGE[1], KSHIB[3189.32570956], USD[0.00]                                                                                                                   Yes

08090941                              DOGE[1.07209378], ETH[.00000292], ETHW[0.00000291], LINK[12.73881049], SHIB[918], USD[0.00]                                                                                          Yes

08090946                              USD[1.08]                                                                                                                                                                            Yes

08090955                              SOL[10.71607112]                                                                                                                                                                     Yes

08090973                              SHIB[100715188.45829823], SOL[24.19677], USD[0.11]

08090981                              NFT (418906485097289983/Solninjas #6170)[1], NFT (481542064054231841/Tim Brown's Playbook: San Diego Chargers vs. Los Angeles Raiders - September 4, 1988 #57)[1], SOL[.04658477],
                                      USD[175.01]
08090983                              USD[0.01]                                                                                                                                                                            Yes

08090986                              BTC[0], SOL[0]

08090990                              NEAR[1.73113219], SHIB[1], USD[0.00]                                                                                                                                                 Yes

08090992                              DOGE[1], SHIB[203585.48747571], USD[0.00]                                                                                                                                            Yes

08090994                              BTC[0], ETH[0.00000001], ETHW[0.00000001], SOL[958.04538807], USD[-2500.00], USDT[0]                                                                                                 Yes

08090999                              BAT[0], BTC[0], DOGE[0], GRT[0], SHIB[0], TRX[.00500436], USD[0.00]                                                                                                                  Yes

08091011                              CUSDT[3], ETH[.02552003], ETHW[.02520539], TRX[857.15848648], USD[10.90]                                                                                                             Yes

08091012                              ETH[.02273812], ETHW[.02273812], USD[0.00]

08091015                              USD[200.00]

08091027                              BRZ[1], CUSDT[7], ETH[.07322178], ETHW[.07231287], SHIB[1], TRX[3], USD[0.04]                                                                                                        Yes

08091041                              USD[0.13]                                                                                                                                                                            Yes

08091046                              BF_POINT[300], BRZ[1], BTC[0], SOL[0], USD[0.00], USDT[0.00000010]                                                                                                                   Yes

08091048                              BAT[1.0146356], MATIC[309.25994602], USD[0.01]                                                                                                                                       Yes

08091055                              USD[50.57]                                                                                                                                                                           Yes

08091056                              USD[10.82]                                                                                                                                                                           Yes

08091060                              TRX[.000001], USDT[0.00000002]

08091070                              BRZ[1], CUSDT[11], DOGE[4], TRX[2], USD[0.00]                                                                                                                                        Yes

08091072       Contingent, Disputed   BRZ[1], BTC[.00000024], USD[0.00]                                                                                                                                                    Yes

08091078                              BTC[.01030469], ETH[.37084409], ETHW[.37068815]                                                                                                                                      Yes

08091079                              NFT (463284071342652440/100 Anos de Jack Kirby: O Universo Marvel e os Eternos)[1], USD[8.95], USDT[0]

08091080                              USDT[0.35747983]

08091090                              USD[0.02]

08091091                              MATIC[79.98], SOL[.35964], USD[6.42]

08091092                              USD[0.01]

08091096                              USD[0.00]                                                                                                                                                                            Yes

08091102                              SHIB[4126740.08845972]

08091113                              BRZ[1], DOGE[3], SHIB[16], TRX[1], USD[0.00]                                                                                                                                         Yes

08091118                              CUSDT[6], DOGE[2], GRT[1], SHIB[2], USD[2588.57], USDT[2.14029858]                                                                                                                   Yes

08091121                              ETHW[.04022592], SHIB[3], TRX[1], USD[162.31]                                                                                                                                        Yes

08091127                              CUSDT[1], ETH[.00459404], ETHW[.00453932], USD[0.00]                                                                                                                                 Yes

08091137                              GRT[0], LINK[0], USD[0.00]                                                                                                                                                           Yes

08091139                              USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08091141                              CUSDT[1], SHIB[407090.72133113], USD[0.00]                                                                                                                                                 Yes

08091145                              USD[50.01]

08091150                              ETH[.02644809], ETHW[.02644809], SOL[.00010213], USD[0.00], USDT[0.00000046]

08091153                              AVAX[3.9389097], BRZ[1], BTC[.00336118], GRT[597.4151088], LTC[2.28387646], MATIC[72.74208088], SHIB[27824317.48757419], SOL[2.08631845], TRX[1], USD[0.00]                                Yes

08091154                              DOGE[45186.709], USD[0.17]

08091156                              KSHIB[.00005545], NFT (330951630015527786/Hyper Car Sketches)[1], NFT (513898681932761987/City Postage Stamps Collection #5)[1], SOL[.1963055], USD[0.07]                                  Yes

08091161                              DOGE[1], GRT[1], USD[0.00]                                                                                                                                                                 Yes

08091166                              CUSDT[1], USD[0.04], USDT[536.19081303]                                                                                                                                                    Yes

08091167                              CUSDT[1], SHIB[498184.54961573], USD[0.00]                                                                                                                                                 Yes

08091175                              CUSDT[219.07606622], USD[0.00]                                                                                                                                                             Yes

08091183       Contingent, Disputed   USD[0.00], USDT[0]

08091184                              BTC[0], ETH[0.00062693], ETHW[0.18662693], LTC[0.00707450], MATIC[0.64966504], SOL[0.00867813], TRX[0.96394743], USD[552.62], USDT[0]

08091187                              CUSDT[1], SHIB[512185.24493034], USD[0.00]                                                                                                                                                 Yes

08091188                              DOGE[8], SOL[.99], USD[0.05]

08091189                              NFT (560119008597863274/Bladius)[1]

08091191                              CUSDT[7], DOGE[1], NFT (291366616262729033/ApexDucks #264)[1], NFT (447548059948637280/ApexDucks #4623)[1], NFT (501255465007021507/DOTB #5652)[1], NFT
                                      (534385365884779811/Bahrain Ticket Stub #2309)[1], SHIB[822898.67381174], SOL[7.46396362], USD[0.00]
08091208                              AAVE[7.48509446], BAT[2.03874544], BRZ[2], BTC[1.39542731], CUSDT[11], DOGE[10956.54178293], ETH[6.36116934], ETHW[6.35928831], GRT[2.00088501], LINK[280.1573721],                        Yes
                                      MATIC[674.27352833], SHIB[1], SOL[158.32000763], SUSHI[680.38781108], TRX[13.05095767], USD[19.74], USDT[5.23258157], YFI[.09924291]
08091216                              ETH[0], USD[0.00], USDT[0]

08091217                              USDT[0.00002276]

08091221                              CUSDT[2], ETH[0], USDT[0]

08091225                              BTC[0], GRT[101.43484752], MATIC[101.4358681], SOL[.25402541], USD[20.88], USDT[0.00000001]                                                                                                Yes

08091229                              AVAX[26.14181421], BRZ[3], CUSDT[1], DOGE[10.42930544], LTC[7.30858175], SHIB[15], SOL[66.65110009], TRX[4], USD[33.02], USDT[4.12148431]                                                  Yes

08091235                              CUSDT[5], DOGE[112.23097516], ETH[.00398079], ETHW[.00392607], SHIB[2265092.41262444], USD[0.03]                                                                                           Yes

08091236                              BCH[0], BTC[0], NFT (347085232159280631/The Hill by FTX #6803)[1], NFT (438230832097792089/Imola Ticket Stub #2143)[1], USD[0.00], USDT[0.00016775]

08091239                              BAT[13.71883286], CUSDT[2], SHIB[1], SOL[.60553035], TRX[283.64841564], USD[5.61]                                                                                                          Yes

08091240                              BTC[.0000577], CUSDT[45.21082638], ETH[.00040099], ETHW[.00040099], KSHIB[23.43969014], MATIC[.47627605], SHIB[59241.66325878], SOL[.00930818], USD[1.08]                                  Yes

08091241                              CUSDT[247.06963974], SHIB[432533.0987333], SOL[.06989325], USD[0.00]                                                                                                                       Yes

08091242                              AVAX[.44198664], BAT[4.99611945], BTC[.00015525], CUSDT[7], DOGE[177.88476187], LINK[1.24727365], LTC[.10707999], MATIC[10.32645269], PAXG[.00571193], SHIB[2], SOL[.10712904],            Yes
                                      TRX[1], USD[0.02], USDT[0]
08091249                              CUSDT[2], SHIB[21.89979065], USD[0.00]                                                                                                                                                     Yes

08091255                              DOGE[0], LTC[0], MATIC[0], NFT (330299939195416476/Settler #2173)[1], NFT (371976704520563590/Toasty Turts #0124)[1], NFT (534815485867412880/Settler #866)[1], SHIB[0], SOL[0], TRX[0],   Yes
                                      USD[0.94], USDT[0]
08091262                              BTC[.00000026], DOGE[.01929113], ETH[.00000244], ETHW[.22680272], SHIB[94.64214153], SOL[.00007147], USD[629.50]                                                                           Yes

08091269                              CUSDT[3], SOL[.09023015], USD[0.00]

08091273                              BTC[.01136364]

08091281                              BTC[0.00000019], DOGE[.14278607], ETH[0.00001425], ETHW[0], MATIC[.00247797], NFT (308179446922165106/FTX - Off The Grid Miami #1039)[1], NFT (372201988770215219/Entrance Voucher         Yes
                                      #3684)[1], NFT (518656447799945466/Battle-hardened Warrior [SE])[1], SHIB[67751.78161888], SOL[0], TRX[1], USD[0.00]
08091282                              BRZ[2], BTC[.00142902], CUSDT[1], DOGE[4], ETH[.02369627], ETHW[.02369627], SHIB[3], SOL[.31498119], TRX[4.000062], USD[0.00], USDT[0]

08091287                              BF_POINT[200], BRZ[1], CUSDT[6], ETH[.00000005], ETHW[.00501551], SHIB[87], TRX[7], USD[4780.46], USDT[1.0600632]                                                                          Yes

08091292                              CUSDT[1], DOGE[688.68729821], NFT (406901756007553319/Astral Apes #200)[1], NFT (512154960220643524/Astral Apes #1962)[1], NFT (553960262326145830/Astral Apes #2785)[1], SHIB[5],         Yes
                                      SOL[2.58033606], TRX[1], USD[108.90]
08091309                              CUSDT[1], SHIB[1], TRX[1], USD[0.87]                                                                                                                                                       Yes

08091312                              BTC[0.00001189], SOL[.05893], USD[0.78]

08091324                              SOL[7.2048035], USD[0.36]

08091327                              USD[0.00], USDT[0]

08091329                              USD[226.92]

08091341                              SOL[2.18254319], TRX[1], USD[0.00]

08091342                              NFT (447971069589361257/Coachella x FTX Weekend 1 #22300)[1]

08091352                              BTC[.00742806], CUSDT[15], DOGE[1], ETH[.09932548], ETHW[.09829788], TRX[2], USD[0.01]                                                                                                     Yes

08091354                              AUD[0.00], USD[0.00]                                                                                                                                                                       Yes

08091358                              SHIB[1], USD[18.65], USDT[0]                                                                                                                                                               Yes

08091360                              GBP[1.00], USD[0.39]

08091363                              USD[1.92]

08091366                              CUSDT[2], DOGE[1], TRX[3], USD[0.00]                                                                                                                                                       Yes

08091369                              CUSDT[1], DOGE[1], ETH[.06493947], ETHW[.06413235], LTC[1.53807288], SHIB[1], USD[0.01]                                                                                                    Yes

08091370                              SOL[101.42], USD[3.07]

08091382                              SHIB[2], TRX[1], USD[0.00]                                                                                                                                                                 Yes

08091399                              DOGE[12.37763975], SHIB[364387.50311385], USD[0.04]                                                                                                                                        Yes

08091403                              TRX[1], USD[0.00]

08091405                              BTC[.00321093], CUSDT[3], DOGE[1], SHIB[3527644.50487614], USD[53.90]                                                                                                                      Yes

08091419                              BTC[.00182577], CUSDT[1], USD[0.00]                                                                                                                                                        Yes
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                                                                                                                                          Customer Claims                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08091424                           SOL[.03127994], USD[15.70]                                                                                                                                     Yes

08091444                           USD[0.12]

08091447                           AVAX[.65961669], DOGE[192.7451348], ETH[.06407029], ETHW[.06407029], LTC[.40000355], USD[0.01]

08091448                           SOL[5.40425053], USD[0.00]                                                                                                                                     Yes

08091461                           GBP[0.00], USD[10.65]                                                                                                                                          Yes

08091470                           BTC[.0000936], DOGE[.082], ETH[.000982], ETHW[.000982], MATIC[9.99], SHIB[7878700], USD[3.79]

08091480                           CUSDT[2], ETH[0.01975047], ETHW[0.01975047], MATIC[69.70058480], SOL[1.16773345], USD[0.00], USDT[1]

08091481                           USD[12.69]

08091484                           TRX[1], USD[0.00]

08091490                           CUSDT[1], SHIB[3824091.77820267], USD[0.01]

08091492                           SHIB[15.59900175], USD[0.00]                                                                                                                                   Yes

08091496                           BRZ[6.43075846], BTC[.00000022], CUSDT[12], DOGE[1.0102819], GRT[1], LINK[1.07228258], LTC[.00003757], MATIC[.00650081], TRX[4], USD[0.01], USDT[1.07227278]   Yes

08091503                           ETHW[.9936]

08091504                           TRX[4225.680435]

08091508                           USD[0.00]

08091509                           BTC[.00092725]

08091514                           CUSDT[1], SHIB[313414.12452987], USD[0.00]

08091515                           SOL[.00291894], USD[99998.15]

08091519                           BTC[.0009283], CUSDT[2], DOGE[2], MATIC[3.54092509], SHIB[412851.51749137], SOL[.54439453], USD[0.00], YFI[.00032248]                                          Yes

08091522                           BAT[1], BRZ[1], GRT[4.26282144], LINK[.03291032], SHIB[2], TRX[1], USD[0.04]                                                                                   Yes

08091549                           AAVE[0], BAT[0], BRZ[1], BTC[0], CUSDT[3], DOGE[0], ETH[0], LINK[0], LTC[0], MATIC[0], MKR[0.00000022], SOL[0], TRX[1], UNI[0], USD[0.00]                      Yes

08091552                           SOL[2.26108101], USD[0.00]                                                                                                                                     Yes

08091562                           CUSDT[2453.15078413], SHIB[2], TRX[1], USD[0.00]                                                                                                               Yes

08091585                           BTC[0.10832405], LINK[0], USD[6.94], USDT[0]                                                                                                                   Yes

08091621                           BRZ[1], SHIB[3947423.00454283], USD[10.84]                                                                                                                     Yes

08091625                           MATIC[69.937], SOL[.1], USD[1.86]

08091626                           BRZ[1], CUSDT[3], DOGE[2], ETHW[.12785679], SHIB[2], USD[0.00]                                                                                                 Yes

08091629                           BRZ[2], BTC[.00000244], CUSDT[5], DOGE[2], GRT[2], SHIB[6], SOL[14.55969664], TRX[1], USD[0.79]                                                                Yes

08091632                           CUSDT[1], SOL[3.89797091], USD[0.00]                                                                                                                           Yes

08091636                           BTC[.01128668]

08091641                           CUSDT[5], DOGE[909.33800118], KSHIB[1085.39261255], MATIC[43.80468787], SHIB[3232217.66991847], TRX[1555.46477762], USD[0.00]                                  Yes

08091642                           SHIB[5], USD[6.12], USDT[0]                                                                                                                                    Yes

08091644                           ETH[0], USD[0.00]                                                                                                                                              Yes

08091656                           AAVE[.02449702], BAT[.00006368], CUSDT[7], DOGE[1], MATIC[.00005954], SOL[.02465864], UNI[.32637847], USD[0.00], YFI[.00000001]                                Yes

08091664                           NFT (365640428263862600/Coachella x FTX Weekend 1 #3624)[1], NFT (465440733087407209/Coachella x FTX Weekend 2 #30850)[1]

08091671                           BTC[.00001561], USD[0.00]                                                                                                                                      Yes

08091680                           TRX[.000773], USDT[.007194]

08091693                           DOGE[1], SHIB[3], USD[0.00]                                                                                                                                    Yes

08091695                           BTC[.0001724]

08091699                           DOGE[1], ETH[.00231264], ETHW[.00228528], USD[0.00]                                                                                                            Yes

08091702                           AVAX[0], BRZ[1], KSHIB[54422.67715007], SHIB[6], TRX[2], USD[21.00], USDT[0.00000001]                                                                          Yes

08091713                           BRZ[1], CUSDT[6], DOGE[324.51400430], ETH[.0513155], ETHW[.0513155], SHIB[2012454.5788225], TRX[46.53962562], USD[82.71]

08091714                           BTC[0.01044453], ETH[0.18327929], ETHW[0.18327929], NFT (357798957009063113/Sun Set #578)[1], USD[0.88], USDT[0]

08091731                           SOL[0], USDT[0]

08091746                           BTC[1.0215821], USD[22.42]

08091747                           USD[0.00]

08091755                           BTC[0.01002749], USD[1.09]                                                                                                                                     Yes

08091756                           BRZ[3], CUSDT[9], DOGE[1], GRT[1], TRX[3], USD[0.00], USDT[.00001828]                                                                                          Yes

08091763                           CUSDT[1], SHIB[941592.74064965], SOL[0.19773401]                                                                                                               Yes

08091765                           TRX[1], USD[0.02]                                                                                                                                              Yes

08091768                           CUSDT[1], SHIB[382116.9277799], USD[0.00]

08091776                           DOGE[97.5122916], KSHIB[222.33699752], MATIC[5.92371828], SHIB[239207.14441126], TRX[1], USD[0.00]                                                             Yes

08091786                           BRZ[1], CUSDT[13], DOGE[260.38825577], GRT[1], KSHIB[1193.18825055], SHIB[1210020.86350982], SOL[0], SUSHI[13.80035814], TRX[6], USD[0.00]                     Yes

08091790                           BRZ[1], BTC[.00560094], CUSDT[2], ETH[.06981809], ETHW[.06895179], TRX[.09404329], USD[0.02]                                                                   Yes

08091793                           CUSDT[2], DOGE[.00108972], TRX[1], USD[0.01]                                                                                                                   Yes

08091800                           SOL[.28], USD[0.11]

08091807                           DOGE[1], SOL[.0010458], TRX[4], USD[0.00]

08091823                           CUSDT[2], SHIB[10307150.86362768], USD[0.00]                                                                                                                   Yes
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                                                                                                                                              Customer Claims                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08091824                              CUSDT[3], DOGE[1], ETH[0], TRX[1], USD[0.06]                                                                                                                                   Yes

08091826                              ETH[.004623], USD[1.19]

08091831                              USD[60.01]

08091835                              NFT (372601806495910618/Rat Bastard #5094)[1], NFT (409054527432725374/Red Panda #7310)[1], SHIB[2], SOL[.0712182], USD[0.00]                                                  Yes

08091843                              USD[0.00]

08091844                              USD[0.01], USDT[0]

08091851                              CUSDT[736.69649682], DOGE[1.15698486], SHIB[2], USD[0.81]                                                                                                                      Yes

08091854                              SOL[0]

08091864                              USDT[0]

08091871                              CUSDT[2], SHIB[3912956.15811198], TRX[2546.68989804], USD[64.97]                                                                                                               Yes

08091877                              BCH[.604018], BTC[.0041931], ETH[.0506166], ETHW[.0506166], LINK[2.3552], LTC[.24117], USD[270.59]

08091882                              AVAX[.09128], NEAR[72.67072], USD[1107.70]

08091896                              BTC[.00025755], SHIB[1], USD[0.00]                                                                                                                                             Yes

08091900                              SOL[.27986804], USD[0.01]

08091906                              CUSDT[2], DOGE[1], TRX[1], USD[0.01]                                                                                                                                           Yes

08091907                              ETH[0], ETHW[0], MATIC[0], USD[0.00]

08091909       Contingent, Disputed   USD[0.00]                                                                                                                                                                      Yes

08091912                              CUSDT[2], TRX[1], USD[0.00], USDT[0]                                                                                                                                           Yes

08091923                              BTC[0], SOL[0]

08091931                              USD[1.00]

08091941                              BTC[.00773164], USD[0.00]

08091943       Contingent, Disputed   BTC[0], CUSDT[6], DOGE[1], TRX[3], USD[0.00]                                                                                                                                   Yes

08091947                              BTC[0.00000136], USD[2.68]

08091978                              BTC[.0272], USD[1.97]

08091981                              SOL[6.71494301]                                                                                                                                                                Yes

08091985                              BRZ[1], CUSDT[1], LINK[1.2357472], LTC[.95651581], USD[0.00]

08091990                              SOL[7.20920956], USD[0.21]

08091993                              USD[0.00], USDT[8.94307974]

08092004                              BRZ[1], DOGE[5], ETHW[.11010052], NFT (331670774131314543/The Hill by FTX #569)[1], NFT (434028260500938970/Austria Ticket Stub #277)[1], SHIB[23], TRX[.000009], USD[0.00],   Yes
                                      USDT[0.00000591]
08092007                              TRX[0]

08092011                              CUSDT[1], SHIB[1118067.60209682], USD[0.00]                                                                                                                                    Yes

08092017                              ETH[.032], ETHW[.032], USD[44.61]

08092022                              CUSDT[1], GRT[3.44321058], USD[0.00]                                                                                                                                           Yes

08092025                              BTC[.00062508], CUSDT[1], USD[10.00]

08092030                              CUSDT[19], DOGE[1], ETHW[.01560698], LINK[.00001329], NFT (295461867767522451/Hall of Fantasy League #176)[1], SHIB[15], SOL[.00000296], TRX[4], USD[0.00]                     Yes

08092033                              BTC[.12418743], CUSDT[3], DOGE[1], ETH[.00002035], ETHW[.00002035], GRT[1], LINK[43.39574993], LTC[.00003483], SHIB[2], USD[0.00]                                              Yes

08092034                              USD[0.91]

08092037                              USD[0.00], USDT[0]                                                                                                                                                             Yes

08092041       Contingent, Disputed   BAT[.00000916], BTC[.00000015], USD[0.03], USDT[.18153203]                                                                                                                     Yes

08092043                              SUSHI[1.18596707], TRX[78.35042144], USD[0.00]                                                                                                                                 Yes

08092055                              NFT (325680197059556618/Microphone #1627)[1]

08092058                              BTC[.5779641], DOGE[700], LINK[265.95], SHIB[2415576.7817781], SOL[1], USD[90.77]

08092061                              SOL[6.22228337], USD[0.00]

08092085                              DOGE[2], GRT[1.00000913], TRX[3], USD[0.01]                                                                                                                                    Yes

08092086                              BTC[.001]

08092089                              USD[2.00]

08092091                              USD[500.00]

08092093                              SOL[1]

08092101                              BRZ[1], CUSDT[1], DOGE[1], SHIB[0], USD[0.00]                                                                                                                                  Yes

08092112                              CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                   Yes

08092118                              USD[270.70]                                                                                                                                                                    Yes

08092120                              BRZ[1], CUSDT[3], SOL[.00000001], TRX[1], USD[0.86]                                                                                                                            Yes

08092124                              ETH[.10799407], ETHW[.10799407], TRX[1], USD[0.01]

08092127                              GRT[1], USD[0.00]

08092136                              USD[9.97]                                                                                                                                                                      Yes

08092143                              USD[0.00]                                                                                                                                                                      Yes

08092144                              USDT[0]

08092145                              CUSDT[1], UNI[0]
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                                                                                                                                             Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08092146                              ETH[.00000001], ETHW[0]

08092149                              BAT[.00010545], CAD[0.00], DOGE[.00424593], KSHIB[0], SUSHI[.00003909], UNI[0], USD[0.01]                                                                                               Yes

08092162                              BRZ[1], CUSDT[7], ETH[.00000049], ETHW[.00000049], USD[0.00]                                                                                                                            Yes

08092178                              USD[19.00]

08092188                              CUSDT[2455.24859625], TRX[1321.13323473], USD[0.00]                                                                                                                                     Yes

08092191                              SHIB[42.86323345], USD[0.00]                                                                                                                                                            Yes

08092201                              NFT (377192767631076943/FTX - Off The Grid Miami #2958)[1]                                                                                                                              Yes

08092202                              USD[0.01]

08092229                              LTC[.02997], USD[0.67]

08092230                              BAT[1], SOL[.00000001], USD[0.00], USDT[0.00000151]

08092232                              BTC[0], ETH[.00000001], ETHW[0], MKR[0], SOL[0], SUSHI[0], USD[0.00]

08092236                              USD[10.77]                                                                                                                                                                              Yes

08092241                              USD[0.00]                                                                                                                                                                               Yes

08092243                              BTC[0], ETH[0], KSHIB[0], SOL[.00000085], TRX[1], USD[0.01]                                                                                                                             Yes

08092244                              BRZ[2], CUSDT[5], SHIB[11169133.19283611], TRX[1], USD[52.96]                                                                                                                           Yes

08092248                              BCH[.00001999], BTC[.00015587], ETH[.00230899], ETHW[.00228163], LTC[.04153657], SHIB[196624.43145068], SOL[.04720962], USD[0.00]                                                       Yes

08092249                              DOGE[1], TRX[1], USD[0.00]

08092263       Contingent, Disputed   USD[0.00]

08092267                              BRZ[1], BTC[0], CUSDT[6], GRT[.82239629], KSHIB[.33957713], SHIB[2], SOL[0], TRX[4], USD[14.17], USDT[0.68732124]                                                                       Yes

08092274                              USD[3.68]

08092276                              DOGE[2], USD[36.53]                                                                                                                                                                     Yes

08092285                              BCH[.02132799], BTC[.00072598], CUSDT[2], DAI[2.15271053], DOGE[7.95838002], USD[0.00], YFI[.00004312]                                                                                  Yes

08092286                              BTC[.01532798], DOGE[1], ETH[.46905176], ETHW[.43078686], NFT (348422539608247776/Ronin Duckie #39)[1], SHIB[10], SOL[2.63922624], USD[800.00]                                          Yes

08092303                              USD[80.00]

08092306                              BTC[0], USD[0.00]

08092310                              DOGE[1], TRX[438.15691146], USD[6.51]                                                                                                                                                   Yes

08092334                              NFT (288656828983969326/Sol Turtle #3197)[1], NFT (288990220776784751/Sol Turtle #4854)[1], NFT (290521195243443639/Unknown Pixel Plants #149)[1], NFT (293590160841588492/Fish
                                      #613)[1], NFT (307834309265103126/DeGoddess #621)[1], NFT (308420195390450781/NastyNerd-9998)[1], NFT (308728714736105978/Bored Ape Solana Copycats121)[1], NFT
                                      (313629368042373288/Danerob Collection #1435)[1], NFT (313828949834477368/Turtle #822)[1], NFT (314401788768619460/Unknown Pixel Plants #253)[1], NFT (317405863801261993/Sol Turtle
                                      #2086)[1], NFT (320081639199734784/Sol Turtle #4299)[1], NFT (321296490427015278/Cursed Souls #0354)[1], NFT (322586489641835312/O.R.C #4531)[1], NFT (324462168529087416/Lazy Hero
                                      #1927)[1], NFT (325095865591300076/Bored Ape Solana Copycats141)[1], NFT (329032447604969737/Grandpa Ape Sol Club #52)[1], NFT (341962290607115308/Sol Turtle #1309)[1], NFT
                                      (347144999196576220/Danerob Collection #918)[1], NFT (355175040519105068/#4710 Orc Racing Car)[1], NFT (358669424337426254/Danerob Collection #1698)[1], NFT
                                      (364219317710077666/Dolphin #819)[1], NFT (366705687479024302/Spookeletons #6648)[1], NFT (367534813748438172/Octopus #1048)[1], NFT (372758318863786867/Sol Turtle #2264)[1], NFT
                                      (374055757184257515/Sol Turtle #5652)[1], NFT (380751637032272997/Spookeletons #5401)[1], NFT (380916326033931513/Ape #7)[1], NFT (383073181382924785/LightPunk #6987)[1], NFT
                                      (385816129249480680/Danerob Collection #1626)[1], NFT (389685902089529054/Astral Apes #2176)[1], NFT (395891644064830282/Degen Lizzy #6983)[1], NFT (406400358115881744/Sol Turtle
                                      #1228)[1], NFT (406591051162677376/Sol Turtle #4561)[1], NFT (412738333656485695/Whale #873)[1], NFT (420193638361731307/Panda Crew #1574)[1], NFT (421632673143550258/ApesHunter
                                      Passes #478)[1], NFT (427763052258474942/Bored Ape Solana Copycats142)[1], NFT (445896806844478667/ApesHunter Passes #903)[1], NFT (450849790200282075/ApesHunter Passes #1969)[1],
                                      NFT (458152688257451087/Sol Turtle #3093)[1], NFT (459135198992993194/Personification #4537)[1], NFT (462324315605745126/#61)[1], NFT (463823789703562189/LightPunk #2299)[1], NFT
                                      (465073165754452929/Trippin Baby Ape #198)[1], NFT (469767362397564358/Bored Ape Solana Copycats122)[1], NFT (469821368469985050/Nasty Boy #2772)[1], NFT
                                      (473757941723140111/Danerob Collection #439)[1], NFT (475375634519123390/Astral Baby Ape Club #2651)[1], NFT (477587102598464655/SolSeat #512)[1], NFT (481011410193956320/NastyNerd-
                                      2798)[1], NFT (489773067046353994/Sol Turtle #2037)[1], NFT (499526424308051210/Degen Lizzy #2060)[1], NFT (499710249420226895/Fish #850)[1], NFT (507193827392132878/ApesHunter
                                      Passes #2362)[1], NFT (508799050342092428/NastyNerd-6827)[1], NFT (510822426037962680/Sol Turtle #5232)[1], NFT (514183996523994220/Sol Turtle #5071)[1], NFT (515548046060876206/Sol
                                      Turtle #3145)[1], NFT (517121897177053359/Personification #1778)[1], NFT (521141827390012954/Degen Lizzy #6494)[1], NFT (521612202600054340/ApesHunter Passes #3882)[1], NFT
                                      (533153042250804924/Sol Turtle #3410)[1], NFT (535763118031895667/Pixel Bands #3103)[1], NFT (540555326493987451/ApesHunter Passes #3789)[1], NFT (544607526264235552/Unknown Pixel
                                      Plants #142)[1], NFT (552034655324586132/Bored Ape Solana Copycats123)[1], NFT (563238033695871021/NastyNerd-2222)[1], NFT (569634588874272371/Danerob Collection #1643)[1], NFT
                                      (570644440187272504/Manta Ray #440)[1], NFT (572927679430658971/Degen Lizzy #4649)[1], NFT (574972940924993807/Divine Soldier #6417)[1], NFT (575106545777512849/Sol Turtle #657)[1],
                                      SOL[.0051]

08092336                              USD[0.00]

08092338                              USD[27.07]                                                                                                                                                                              Yes

08092341                              BRZ[1], CUSDT[2], DOGE[1.00001992], SOL[.00004051], TRX[2], USD[0.56]                                                                                                                   Yes

08092347                              BAT[0], BCH[0], BTC[0], DOGE[1], KSHIB[0], MXN[0.00], SHIB[0], TRX[0], USD[0.00]                                                                                                        Yes

08092352                              DAI[.99426875], USD[0.00]                                                                                                                                                               Yes

08092358                              CUSDT[3], NFT (289833382653642855/2D SOLDIER #3890)[1], SOL[.14404606], USD[0.81]                                                                                                       Yes

08092370                              BRZ[1], CUSDT[4], DOGE[5], SHIB[52590842.93633981], TRX[1], USD[0.05], USDT[861.08050918]                                                                                               Yes

08092378                              SOL[.04357871], USD[0.00]

08092388                              BAT[0], ETH[0], LINK[0], SHIB[1], SOL[0], USD[22.70]

08092396                              NFT (530624326706889016/Coachella x FTX Weekend 1 #30194)[1]

08092400       Contingent, Disputed   CUSDT[1], USD[0.00]                                                                                                                                                                     Yes

08092404                              CUSDT[2], ETH[.00425201], ETHW[.00419729], MATIC[5.54176507], SOL[.24163348], USD[0.25]                                                                                                 Yes

08092405                              ETH[.00931872], ETHW[0.00931872], USD[0.00]

08092420                              USD[27.07]                                                                                                                                                                              Yes

08092421                              SOL[1.30869], USD[1.94]

08092425                              BAT[1], BF_POINT[200], BTC[.0000068], ETH[.0000979], ETHW[.0000979], TRX[1], USD[26.31]                                                                                                 Yes

08092432                              USD[5.00]
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                                                                                                                 F-3: Nonpriority    06/27/23
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                                                                                                                                            Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08092434                              ALGO[114.44658591], BRZ[52.56704856], BTC[0.00729474], CAD[26.38], CUSDT[2390.18111059], DAI[21.10179763], DOGE[160.04981194], ETH[.17292356], ETHW[.17258849], EUR[26.37],         Yes
                                      KSHIB[0], NFT (319437076692123086/APEFUEL by Almond Breeze #455)[1], NFT (370008251502375126/Sigma Shark #970)[1], NFT (494474374849025823/FTX - Off The Grid Miami #1991)[1], NFT
                                      (504729847480481435/Sigma Shark #529)[1], NFT (514040183833656782/Frenchy Rare #57)[1], NFT (522646668003645164/Sigma Shark #1576)[1], NFT (543009039687428718/ApexDucks #4113)[1],
                                      NFT (558767890491903929/Careless Cat #1090)[1], SHIB[4175988.74180032], SOL[1.59876309], SUSHI[10.53116706], TRX[1], USD[37.65]
08092439                              TRX[0], USD[0.00], USDT[0]                                                                                                                                                          Yes

08092440                              DOGE[.02224431], USD[0.00]

08092448                              BTC[.0142989], ETH[.00849445], ETHW[.00838501]                                                                                                                                     Yes

08092454                              USD[0.01]

08092457                              LTC[.03765257]                                                                                                                                                                     Yes

08092459                              USD[0.00]

08092468                              DOGE[1], GRT[1], SOL[.00000001], TRX[1], USD[0.01]                                                                                                                                 Yes

08092482                              SOL[.00026515], USD[0.00]

08092484                              SUSHI[.46145], USD[0.45]

08092486                              USD[27.06]                                                                                                                                                                         Yes

08092487                              NFT (531589917558156235/ Untouched nature - River #1)[1], USD[118.14]

08092491                              CUSDT[21], MATIC[0], TRX[3], USD[0.00], USDT[0]

08092506                              NFT (561311053401288367/Coachella x FTX Weekend 2 #23548)[1]

08092518                              USD[0.00]

08092521                              USD[0.00]

08092541                              SOL[0], USD[0.01]                                                                                                                                                                  Yes

08092543                              BTC[0.00002685], NFT (331724326604345189/Dreamy Flows #8)[1], NFT (386773607458934622/Dreamy Flows #5)[1], NFT (394851742174194618/Dreamy Flows)[1], NFT
                                      (454915782119887539/Dreamy Flows #10)[1], NFT (475685581655222896/Dreamy Flows #2)[1], NFT (496696237858178585/Dreamy Flows #6)[1], NFT (506875089048408033/Dreamy Flows #9)[1],
                                      NFT (529427127581965003/Dreamy Flows #4)[1], NFT (560843763761165446/Dreamy Flows #3)[1], NFT (569741024149196975/Dreamy Flows #7)[1]
08092546                              NFT (535273947762952048/2974 Floyd Norman - CLE 2-0160)[1]

08092557                              USD[162.32]                                                                                                                                                                        Yes

08092564                              ETH[.00000001], USD[0.00], USDT[0]

08092575                              ETHW[.24599119], SHIB[4], TRX[2020.6971114], USD[0.04]

08092576                              BTC[.01031743], CUSDT[1], DOGE[2], ETH[.13490037], ETHW[.13383399], GRT[1], USD[0.21]                                                                                              Yes

08092589                              USD[108.28]                                                                                                                                                                        Yes

08092593                              USD[0.00]

08092594                              TRX[42.97998117], USD[0.20]

08092597                              BTC[.00813731], CUSDT[1], USD[0.00]

08092613                              BTC[.00047], CUSDT[1], USD[0.00]

08092620                              SHIB[2], USD[0.00]                                                                                                                                                                 Yes

08092623                              AAVE[0], AVAX[0], BRZ[1], DOGE[5.01495748], ETHW[.00012345], PAXG[0], SHIB[24], SOL[.00002715], TRX[4], UNI[0.00007465], USD[400.52], YFI[0]                                       Yes

08092628                              CUSDT[1], DOGE[2], ETH[.0000005], ETHW[.0000005], GRT[3.49551592], KSHIB[812.8659336], SHIB[5], TRX[1], USD[0.00]                                                                  Yes

08092632                              CUSDT[14], DAI[3.20952956], DOGE[1], TRX[156.0973226], USD[0.00]                                                                                                                   Yes

08092637                              NFT (300553627343718365/David #1048)[1]

08092682                              BTC[.00464529], CUSDT[8], DOGE[413.84782147], ETH[.02907769], ETHW[.02871979], SHIB[212.4297662], USD[0.00]                                                                        Yes

08092694                              USD[33.27]

08092697                              BTC[0], SUSHI[0], USD[0.00]

08092700                              USD[0.00]                                                                                                                                                                          Yes

08092706       Contingent, Disputed   CUSDT[2], MATIC[.00112181], USD[0.00]                                                                                                                                              Yes

08092715                              AAVE[0], BTC[0], SOL[0], USD[0.00], USDT[0]                                                                                                                                        Yes

08092721                              BAT[1.00159028], BRZ[8.09496355], CUSDT[3], GRT[3.00105965], NFT (315706609148512817/Fancy Frenchies #1815)[1], NFT (528032046504660293/LightPunk #1742)[1], SHIB[14], TRX[13],    Yes
                                      USD[1182.84], USDT[0]
08092740                              NFT (311212079669713751/Genopet Egg #565)[1]

08092741                              USD[2.39]

08092752                              USD[0.00]

08092762                              USDT[1]

08092766                              DOGE[1], SHIB[2062778.70836408], USD[0.00]                                                                                                                                         Yes

08092774                              CUSDT[6], MATIC[3.07040233], TRX[1], USD[0.00]

08092788                              USD[0.01], USDT[0]

08092793                              USD[45.68]

08092809                              BTC[.00043723], CUSDT[1], USD[0.03]                                                                                                                                                Yes

08092811                              ETH[0], USD[0.00]                                                                                                                                                                  Yes

08092813                              DOGE[2], SHIB[1], TRX[2], USD[0.00]                                                                                                                                                Yes

08092814                              USDT[3]

08092822                              DOGE[212.08606881], LTC[.00026234], SHIB[2], SOL[1.00343047], USD[0.00]                                                                                                            Yes

08092827                              SHIB[541376.2720547]                                                                                                                                                               Yes

08092830                              BRZ[6.22973341], BTC[.18156656], CUSDT[8], DOGE[12.03893958], ETH[.14162308], ETHW[.14067903], SHIB[272], TRX[19.63363024], USD[0.00]                                              Yes

08092833                              DOGE[83.3711481], SHIB[686127.69930985], USD[5.50]
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                                                                                                                                              Customer Claims                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08092834                              CUSDT[1], USD[0.00]                                                                                                           Yes

08092836                              BTC[0], LTC[.00218]

08092855                              LTC[.0098], SOL[.00619], USD[292.11]

08092858                              ETH[.02680495], ETHW[.02647663]                                                                                               Yes

08092868                              BRZ[1], BTC[0], DOGE[3], ETHW[.0000108], MATIC[.00835229], SHIB[9], TRX[1], USD[2000.00]                                      Yes

08092883                              CUSDT[1], DOGE[1], ETH[.0053701], ETHW[.0053701], SOL[.10780411], USD[0.00]

08092886                              BRZ[590.6525544], CUSDT[4904.81557668], DOGE[1], USD[7.58]                                                                    Yes

08092889                              USD[0.00]                                                                                                                     Yes

08092897                              BTC[.00012881], DOGE[19.75377125], SHIB[4773.44958443], USD[0.00]                                                             Yes

08092933                              CUSDT[9], ETHW[.0641566], GRT[49.21113473], SHIB[1], TRX[4], USD[0.00]                                                        Yes

08092943                              USD[0.01]                                                                                                                     Yes

08092951                              ETH[.021], ETHW[.021], MATIC[99.20531436], USD[0.00], USDT[0]

08092955                              BAT[1], BRZ[2], DOGE[1], SHIB[5], TRX[2], USDT[0.00002245]

08092960                              BTC[.00000345], ETH[.00000684], ETHW[23.44431774], LINK[33.62736305], LTC[.00009368], SHIB[470.24133675], USD[23.01]          Yes

08092967                              CUSDT[2], SHIB[708635.83142773], TRX[95.71281986], USD[0.00]                                                                  Yes

08092970                              USD[4.32]

08092971                              BTC[.00016961], DOGE[22.84136452], KSHIB[101.59671428], TRX[23.34699871], USD[30.28]                                          Yes

08092975                              CUSDT[1], USD[0.00]

08092983                              SOL[.0018], USD[0.00], USDT[.00403475]

08092984                              NFT (566197985086492445/Entrance Voucher #3756)[1], USD[1.42], USDT[0]                                                        Yes

08092986                              USD[0.00]

08092988                              DOGE[1], USD[0.00]                                                                                                            Yes

08092990                              CUSDT[2], MATIC[16.99295177], SOL[.48919458], USD[0.00]                                                                       Yes

08092999                              BTC[.02254954], DOGE[1], USD[0.00], USDT[1]

08093003                              USDT[3]

08093006                              USD[3.07]

08093015                              USD[0.00]

08093019                              USD[0.00]

08093023                              BRZ[2], ETH[.0769662], SHIB[2], USD[0.00]                                                                                     Yes

08093025                              SOL[.00000001]

08093029                              CUSDT[3], DOGE[1341.82135993], SHIB[2070253.6444547], TRX[506.07555315], USD[54.52]                                           Yes

08093032                              USDT[2]

08093043                              CUSDT[2], DOGE[2], ETH[.01163585], ETHW[.01148648], SHIB[1034335.74326503], TRX[368.86162678], USD[0.00], USDT[64.61169591]   Yes

08093050                              AVAX[0], SHIB[1], TRX[0], USD[0.00], USDT[20.62902725]                                                                        Yes

08093064                              CUSDT[2], LINK[2.37597393], MATIC[6.18484547], SHIB[100613.20587553], SOL[1.16208831], USD[173.26]                            Yes

08093066                              USDT[5]

08093068                              USD[0.00]

08093069                              SOL[.00000001]

08093073                              CUSDT[1], SHIB[558124.35574373], USD[0.00]                                                                                    Yes

08093078                              CUSDT[14.25928703], DOGE[1], USD[0.01]                                                                                        Yes

08093084                              BRZ[2], CUSDT[6], SOL[1.36136928], TRX[1], USD[0.00]                                                                          Yes

08093089                              USDT[3]

08093095                              CUSDT[14682.59551357], TRX[1], USD[0.00]                                                                                      Yes

08093097                              DOGE[1], USD[0.00]                                                                                                            Yes

08093118                              BAT[1.01336694], CUSDT[1], SHIB[1], USD[0.00]                                                                                 Yes

08093129                              SHIB[108285.13826191], USD[0.00]                                                                                              Yes

08093131                              CUSDT[1], KSHIB[947.87232993], USD[0.00]

08093142                              DOGE[1], USD[0.00]                                                                                                            Yes

08093153                              ETH[.00000011], USD[0.00], USDT[0]                                                                                            Yes

08093167                              CUSDT[9], SHIB[845435.20090163], TRX[101.0700456], USD[0.00]                                                                  Yes

08093169                              USDT[2]

08093173                              USD[50.00]

08093174                              USD[0.00]

08093180       Contingent, Disputed   BAT[0.00413990], CUSDT[3], ETH[0], ETHW[0], MATIC[0], SHIB[0], TRX[0], USD[0.00]                                              Yes

08093182                              MATIC[1], USD[0.00], USDT[0]

08093183                              BAT[1], BRZ[1], CUSDT[1], DOGE[3], ETHW[.31984058], SHIB[2], USD[1059.11], USDT[0]

08093192                              CUSDT[2], SHIB[1], TRX[1], USD[177.05]                                                                                        Yes

08093194                              USD[22.74]                                                                                                                    Yes
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                                                                                                                                           Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08093196                           BRZ[340.52751367], CUSDT[3], DOGE[2], ETHW[.09363917], TRX[2], USD[0.49]                                                                                                                 Yes

08093197                           CUSDT[3], SHIB[2903231.92576323], USD[0.00]

08093202                           BRZ[1], CUSDT[5], DOGE[0], SOL[.00006568], TRX[1], USD[0.00]                                                                                                                             Yes

08093211                           SHIB[155441.51901738], USD[0.00]

08093213                           BTC[0.00149857], ETH[.02042517], ETHW[.02042517], USD[3.01]

08093214                           BCH[.00000006], DOGE[.00017605], ETH[.00000004], ETHW[.00000004], LINK[.00000248], LTC[.00000025], MATIC[.00005325], SHIB[.50997278], SOL[.00000096], SUSHI[.00000279], USD[0.01]

08093220                           USD[181.04]

08093223                           BTC[0], USD[0.00]

08093230                           BTC[.0002489], ETH[.01561776], ETHW[.01542624], LTC[.19713138], SHIB[2], USD[0.01]                                                                                                       Yes

08093235                           DOGE[2], TRX[942.91443641], USD[0.00]                                                                                                                                                    Yes

08093249                           BRZ[0], KSHIB[0], MATIC[0], SHIB[0.00654437], USD[0.00], USDT[0]                                                                                                                         Yes

08093250                           SOL[2.25721389], TRX[1], USD[0.01]                                                                                                                                                       Yes

08093270                           BRZ[1], CUSDT[5], DOGE[1315.38985246], ETH[.17511076], ETHW[.17511076], TRX[2], USD[0.01]

08093275                           NFT (313915304685457543/StarAtlas Anniversary)[1], NFT (341718758355056468/StarAtlas Anniversary)[1], NFT (347824542423046512/StarAtlas Anniversary)[1], NFT
                                   (385041162343578359/Raydium Alpha Tester Invitation)[1], NFT (393274641650814410/StarAtlas Anniversary)[1], NFT (413325993855906687/StarAtlas Anniversary)[1], NFT
                                   (417405800053948075/MP Alpha Drop 1)[1], NFT (450186787262847274/Raydium Alpha Tester Invitation)[1], NFT (463814158676745786/Raydium Alpha Tester Invitation)[1], NFT
                                   (468298584227121463/Raydium Alpha Tester Invitation)[1], NFT (473972683029346559/StarAtlas Anniversary)[1], NFT (492183392346488640/Raydium Alpha Tester Invitation)[1], NFT
                                   (498513959728945994/Raydium Alpha Tester Invitation)[1], NFT (501881149004560213/Raydium Alpha Tester Invitation)[1], NFT (525403279166798228/Raydium Alpha Tester Invitation)[1], NFT
                                   (537264737050217287/StarAtlas Anniversary)[1], NFT (539967393920078946/StarAtlas Anniversary)[1], NFT (541798594403264659/Raydium Alpha Tester Invitation)[1], NFT
                                   (545081723270386703/Raydium Alpha Tester Invitation)[1], NFT (565263482188277942/First Verse #239)[1], NFT (566477800290704772/StarAtlas Anniversary)[1], USD[1389.13]
08093282                           NFT (292050744737311967/Memories FTX )[1], NFT (294419909952271454/Memories 100X #2)[1], NFT (298834447161895484/NFTX)[1], NFT (305200588817317518/Ethereum Bag #2)[1], NFT
                                   (306173490882774014/Enjin Coin Bag #2)[1], NFT (307083107958345609/QWERTY)[1], NFT (311165846967488786/Cat Holds SOL #3)[1], NFT (315349006703873585/Monoverse )[1], NFT
                                   (322516499157753302/Cat Holds FTX #6)[1], NFT (324358616978787374/Dogecoin Bag #2)[1], NFT (325727391943614392/Cat Holds SOL #6)[1], NFT (325825182605412863/Memories 100X)[1], NFT
                                   (331365704660518368/Chromia Bag)[1], NFT (334727578215543999/Cat Holds DOGE #2)[1], NFT (343322654679637825/Cardano Bag #2)[1], NFT (355923021715762176/Cat Holds DOGE #7)[1],
                                   NFT (375668781179426846/FTX x7)[1], NFT (381084762989322510/Cat Holds DOGE #6)[1], NFT (388330195522141513/Cat Holds FTX #5)[1], NFT (392773307226547291/ Side By Side)[1], NFT
                                   (400503374169693355/Abaco FTX)[1], NFT (404665653653388180/Square Of Nine)[1], NFT (416568503874983327/Give Me The Light)[1], NFT (422343269224355128/Cat Holds ADA #4)[1], NFT
                                   (437179941413697059/Cat Holds DOGE #3)[1], NFT (452249783949351979/FTX Logo Remix)[1], NFT (455535612103147939/Internet Computer Bag #2)[1], NFT (456961838211028450/Cat Holds ETH
                                   #6)[1], NFT (464400699875214958/FTX Shielded)[1], NFT (474101447969580709/Cat Holds ADA #2)[1], NFT (483777773370771686/Cat Holds ADA #3)[1], NFT (485256004412156428/Memories
                                   1000X)[1], NFT (488213638739361956/Cat Holds DOGE #5)[1], NFT (489136456650578800/Cat Holds SOL #4)[1], NFT (500638984561902220/Cat Holds ADA #5)[1], NFT (501219489929528272/Cat
                                   Holds BTC #4)[1], NFT (506406405022020191/Bored Ape Bag)[1], NFT (512616903217156475/Cat Holds FTX)[1], NFT (526897477162596168/Cat Holds FTX #4)[1], NFT (529133989457506842/Cat
                                   Holds ADA #6)[1], NFT (532114751074790120/ There Was Light)[1], NFT (535407459254295916/Green Hand)[1], NFT (537295688303232841/Cat Holds DOGE #4)[1], NFT
                                   (551595693362000337/Wave Is Your Friend (FTX))[1], NFT (552307977086035765/Cat Holds FTX #3)[1], NFT (562893296463174159/Cat Holds FTX #2)[1], NFT (562908248193964328/FTX Crypto
                                   Bags Logo Remix )[1], NFT (573992387335578438/FONTAL )[1], USD[0.00]
08093302                           CUSDT[1], ETH[.00531563], ETHW[.00531563], USD[0.00]

08093307                           AUD[0.00], BTC[0], ETH[0], USD[0.00], USDT[0]                                                                                                                                            Yes

08093309                           USD[0.01], USDT[0]

08093311                           BTC[0], MATIC[103.07045675], SOL[.00416], SUSHI[0], USD[0.00], USDT[1.94471014]

08093324                           BTC[0.00000001]

08093330                           CUSDT[1], SOL[2.26869114], USD[0.00]                                                                                                                                                     Yes

08093331                           BTC[.00272464], CUSDT[1], SHIB[2], USD[0.67]                                                                                                                                             Yes

08093337                           BTC[.00326845], DOGE[1], SHIB[6], SUSHI[19.62627535], TRX[2], USD[0.00], YFI[.00380902]                                                                                                  Yes

08093338                           DOGE[2068.24945275], TRX[1], USD[0.01]                                                                                                                                                   Yes

08093350                           USD[87.27]

08093352                           KSHIB[269.20813371], TRX[1], USD[0.00]                                                                                                                                                   Yes

08093353                           CUSDT[10], DOGE[.00000068], SHIB[.00000001], TRX[.1046187], USD[0.05]                                                                                                                    Yes

08093359                           CUSDT[1], MATIC[24.05865038], SOL[.28747578], TRX[1], USD[0.00]                                                                                                                          Yes

08093362                           BAT[1.00892775], BRZ[3], BTC[0], CUSDT[2], DOGE[7.13276062], GRT[1], SHIB[5016808.49533459], SOL[.00000001], SUSHI[2.15399275], TRX[3], UNI[2.1535194], USD[0.00], USDT[7.41373644]      Yes

08093370                           USD[0.00]

08093390                           BTC[.00031508]                                                                                                                                                                           Yes

08093395                           DOGE[34.12341653], NFT (300121915216032540/Old man mask)[1], NFT (312980606529593540/Travel sprouts collection #47)[1], NFT (319326543825256529/Jerishoo)[1], NFT
                                   (336101274017378447/SharkBro #513)[1], NFT (354082987954734484/DOTB #5234)[1], NFT (447568211696312436/Cute Axolotls Collection #17)[1], NFT (469832882337151754/DOTB #8397)[1], NFT
                                   (529651994943034844/SharkBro #2239)[1], NFT (563731802913339549/CryptoFabula #172)[1], USD[1.00]
08093419                           BTC[0], ETH[.00000001], MATIC[0], SOL[0], TRX[0], USD[0.00], USDT[0]                                                                                                                 Yes

08093429                           USD[0.00]

08093430                           CUSDT[3], DOGE[1], ETH[.10249853], ETHW[.10144733], GRT[126.1127663], SHIB[6], TRX[.02077232], USD[0.01]                                                                                 Yes

08093435                           BAT[3.96194577], BTC[.00012038], CUSDT[2], DOGE[1], KSHIB[32.07761944], LTC[.2321523], MKR[.00346527], SOL[.89986405], TRX[1], UNI[.01769554], USD[0.00], YFI[.00172199]                 Yes

08093436                           USD[0.00]

08093453                           USD[20.00]

08093458                           BTC[.00000004], CUSDT[12], DOGE[2], USD[0.00]                                                                                                                                            Yes

08093459                           NFT (410365067187177838/The Hill by FTX #8076)[1], SHIB[100148.60228837], USD[0.00]                                                                                                      Yes

08093461                           USD[0.43], USDT[0]

08093462                           CUSDT[1], DOGE[444.49799789], SHIB[2601098.13106587], USD[0.00]                                                                                                                          Yes

08093466                           USD[0.00]

08093468                           DOGE[2.31035307], SHIB[2997000], TRX[23.976], USD[0.00]

08093472                           NFT (525632665026522375/Circus )[1], USD[148.56], USDT[0]

08093483                           BTC[.00159758], CUSDT[2], DOGE[1], ETH[.0225422], ETHW[.0225422], SHIB[1933861.92225875], SOL[.42652565], TRX[838.25597828], USD[0.00]
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                                                                                                                                          Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08093484                           CUSDT[1], SOL[.41817203], USD[0.00]

08093497                           CUSDT[4], TRX[0], USD[0.00]

08093498                           USD[0.00]

08093500                           BTC[33.6], ETH[52.352], ETHW[52.352], LINK[4073.9479], SOL[537], USD[90487.12]

08093502                           BTC[0], USD[0.01], USDT[0]

08093507                           USD[10.00]

08093512                           USD[0.00], USDT[0.00000001]                                                                                                                                                          Yes

08093525                           USD[0.05]

08093528                           USD[100.00]

08093533                           USD[20.00]

08093540                           ETH[1.00078915], ETHW[1.00078915], LTC[1], SOL[1], SUSHI[14.987], TRX[104.895], USD[0.19]

08093542                           CUSDT[4], DOGE[205.39883294], ETH[.02285356], ETHW[.02256628], LTC[.10175868], TRX[236.38277169], USD[0.00]                                                                          Yes

08093547                           ETH[.00000001], NFT (312565180298942121/Sigma Shark #3840)[1], SOL[.00000001], USD[0.32], USDT[0]                                                                                    Yes

08093553                           BRZ[1], CUSDT[3], USD[0.00]

08093559                           USD[1.15]

08093560                           ETH[.23515799], ETHW[.228771], USD[2.48]

08093568                           TRX[1], USDT[0.00000981]

08093569                           CUSDT[1], DOGE[1], USD[0.01]                                                                                                                                                         Yes

08093570                           MATIC[1.796489], SHIB[1919426.84892139], SOL[1.01086557], TRX[76.60518990], USD[0.00]

08093583                           USD[500.00]

08093599                           CUSDT[3], SOL[.60241395], TRX[1], USD[19.49]                                                                                                                                         Yes

08093604                           BF_POINT[300]

08093607                           CUSDT[7], DOGE[1], SHIB[1518104.94503953], TRX[785.70719678], USD[14.08]                                                                                                             Yes

08093609                           BRZ[2], CUSDT[2], DOGE[1], TRX[1], USD[0.80]                                                                                                                                         Yes

08093611                           BTC[.02], USD[54.46]

08093614                           TRX[1211.194], USD[2.06]

08093619                           USD[0.95]

08093626                           DOGE[0], SOL[0], USD[0.00]                                                                                                                                                           Yes

08093628                           LTC[.07220675], SHIB[1], USD[4.05]

08093632                           NFT (329671865781486527/Australia Ticket Stub #1151)[1], NFT (468893337869433769/The Hill by FTX #782)[1], SHIB[4], TRX[0.05720170], USD[0.00], USDT[0]                              Yes

08093636                           BAT[0], MATIC[0.00057252], USD[0.00], USDT[0]                                                                                                                                        Yes

08093638                           ETHW[.0209811], USD[0.00]

08093656                           USD[5.95], USDT[0]

08093674                           AVAX[.46648243], BRZ[1], BTC[.00666025], ETH[.0000001], ETHW[.34244874], GRT[.70692858], NFT (339662621807878428/Cyber Samurai #417)[1], NFT (358414647253331647/Gangster Gorillas   Yes
                                   #99)[1], NFT (375429042568700560/Cyber Samurai Tensei Ceremony Announcement)[1], NFT (386058634555153244/Medical Cannabis #0010 )[1], NFT (408576211867910069/3D CATPUNK
                                   #7628)[1], NFT (528282130772517802/3D CATPUNK #7308)[1], SOL[.00000251], TRX[5], USD[0.00]
08093695                           CUSDT[982.02616129], DOGE[206.08468309], KSHIB[379.3670602], USD[205.73]                                                                                                             Yes

08093709                           SHIB[0], SOL[0], USD[0.00], USDT[0]

08093711                           CUSDT[1], USD[0.00]                                                                                                                                                                  Yes

08093715                           SOL[9.84015], USD[503.15]

08093718                           TRX[1], USD[20.02]                                                                                                                                                                   Yes

08093720                           DOGE[1], SOL[.82759797], USD[2.08]                                                                                                                                                   Yes

08093724                           BTC[.0006], DOGE[385.614], ETH[.059966], ETHW[.059966], SHIB[2000000], USD[3.80]

08093730                           AAVE[.54172885], BTC[0], CUSDT[3], DOGE[2], ETH[0], ETHW[0], SOL[0.38941191], TRX[1], USD[0.00]                                                                                      Yes

08093732                           BTC[0], ETH[0], SOL[0], USD[0.00], USDT[0]                                                                                                                                           Yes

08093736                           BTC[0], SOL[.00736692], USD[5692.36]

08093741                           ETH[.00000001], ETHW[0], MATIC[0], USD[0.00]

08093743                           KSHIB[0], SOL[0], USD[0.00], USDT[0]

08093747                           USD[0.01]

08093749                           CUSDT[8], DOGE[2], SHIB[26.69351974], USD[0.00]                                                                                                                                      Yes

08093755                           USD[43.29]

08093762                           LTC[.001359], TRX[.127821], USD[0.00]

08093763                           BTC[.0095681], ETH[.232567], ETHW[.432567], USD[13.36]

08093765                           ETH[.00067173], ETHW[0.00067173], USD[0.06]

08093777                           SHIB[18730099.26952612], SOL[16.983], USD[685.00]

08093778                           SOL[84.190975]

08093783                           TRX[1], USD[0.00]                                                                                                                                                                    Yes

08093791                           TRX[1], USDT[0]                                                                                                                                                                      Yes

08093792                           TRX[1306.692], USD[0.46]
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                                                                                                                                          Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08093793                           MATIC[308.34380883], TRX[1], USD[0.08]                                                                                                                                              Yes

08093795                           BAT[1.00136104], BTC[.00000496], DOGE[922.7196062], ETH[3.49361959], GRT[1], LINK[11.05123349], SHIB[2804484.01943645], SOL[10.33521319], USD[40089.82], USDT[0]                    Yes

08093803                           BTC[.00690958], SHIB[3], USD[0.00]                                                                                                                                                  Yes

08093819                           DAI[0], ETH[0], LINK[801.98900000], USD[0.51], USDT[0.00000005]

08093821                           ETHW[.522], USD[1.14]

08093824                           CUSDT[1], SOL[.22580091], USD[0.00]                                                                                                                                                 Yes

08093828                           SHIB[9500000], TRX[887.112], USD[1.98]

08093832                           USD[25.00]

08093833                           BTC[.0025], DOGE[371.7], ETH[.005], ETHW[.005], KSHIB[250], SHIB[4000000], SUSHI[6.5], TRX[100], USD[1.26]

08093842                           SOL[10.4895], USD[4.02]

08093844                           NFT (288882389883183154/MagicEden Vaults)[1], NFT (335555288495568840/Degen Ape #2251)[1], NFT (357235395050516227/MagicEden Vaults)[1], NFT (373447713796412822/MagicEden
                                   Vaults)[1], NFT (378877626304027835/NastyNerd-9148)[1], NFT (535782019966628930/MagicEden Vaults)[1], NFT (561594662032766804/MagicEden Vaults)[1], NFT (563380967666951145/Degen
                                   Banana #3356)[1]
08093846                           SHIB[3768867.5903874], USD[0.00]                                                                                                                                                    Yes

08093853                           SOL[.00000001]                                                                                                                                                                      Yes

08093863                           CUSDT[1], GRT[0], LINK[0], MATIC[0], SHIB[0], TRX[0], USD[0.00], YFI[0]                                                                                                             Yes

08093864                           BAT[493.85517105], BTC[.00000004], CUSDT[2], DOGE[1], MATIC[48.7804306], TRX[1], USD[4.04]                                                                                          Yes

08093869                           USD[138.14]

08093880                           BTC[.00010338], ETH[.0046841], ETHW[.7646841], USD[0.00]

08093884                           USD[10.00]

08093890                           BRZ[1], CUSDT[7375.32180298], DOGE[1054.02998395], GRT[115.41451456], LINK[8.14877203], NFT (450635841018809707/Baddies #1697)[1], NFT (525742763399017620/Sigma Shark #6237)[1],   Yes
                                   SHIB[36267445.92665617], SOL[.78546319], SUSHI[14.45748688], TRX[2830.75566927], USD[0.19], USDT[107.48321767]
08093891                           BAT[2.997], BTC[.001499], KSHIB[310], SHIB[100000], USD[0.30]

08093892                           BTC[.242], ETH[6.047], ETHW[6.047], MATIC[800], USD[10.77]

08093893                           CUSDT[4898.15825205], TRX[1], USD[0.00]                                                                                                                                             Yes

08093901                           USD[54.12]                                                                                                                                                                          Yes

08093932                           BTC[.00000043], MATIC[0.00863224], SHIB[0], SOL[.00000001], USD[0.00]                                                                                                               Yes

08093947                           CUSDT[4], DOGE[10.77360961], ETH[.0029164], ETHW[.00287536], NFT (500424431350257079/CryptoFabula #283)[1], SHIB[1046289.24902475], USD[0.02]                                       Yes

08093955                           CUSDT[1], USD[0.00]

08093975                           DOGE[1], SHIB[225479.14317925], USD[0.00]

08093979                           BAT[0], ETH[0], ETHW[0], SOL[0], TRX[0.00529606]                                                                                                                                    Yes

08093982                           ETH[.1498359], ETHW[.1498359], MATIC[0], USD[0.00], USDT[0.00001521]

08093983                           BRZ[1], DOGE[.00154713], MATIC[0.00003923], SHIB[241584.54460687], SOL[2.22139809], TRX[.00000416], USD[19.70]                                                                      Yes

08093984                           DOGE[5641.42800731], ETH[0], MATIC[0], SOL[41.07430072], USD[0.00], USDT[0]                                                                                                         Yes

08094009                           PAXG[.05], SOL[4.3195], USD[43.38]

08094011                           BRZ[2], MATIC[129.78244845], TRX[2], USD[0.00]                                                                                                                                      Yes

08094013                           ETH[.042], ETHW[.042], USD[2.42]

08094018                           BTC[.00422135], CUSDT[2], DOGE[1], ETH[.02456378], ETHW[.02426282], SUSHI[10.97713079], USD[54.34]                                                                                  Yes

08094019                           USD[1.43]

08094026                           NFT (315211259182780400/Entrance Voucher #4470)[1], USD[10.00]

08094034                           USD[528.79]                                                                                                                                                                         Yes

08094041                           USD[0.02], USDT[0]                                                                                                                                                                  Yes

08094044                           USD[5020.41]

08094045                           USD[0.18]

08094046                           USD[35.74]                                                                                                                                                                          Yes

08094048                           ETH[.04271907], ETHW[0.04271906]

08094049                           NFT (311316573177422900/DOTB #8756)[1], NFT (414169908343615354/Golden bone pass)[1], NFT (451974528264992354/Cyber Frogs Ramen)[1], NFT (452376422856843868/1550)[1], NFT
                                   (536665603526227658/Frog #5805)[1], NFT (575313501313449800/SharkBro #7548)[1], SOL[.06]
08094055                           BTC[.00013272], USD[0.00]

08094058                           USD[0.00]

08094065                           ETH[.20037573], ETHW[.20016528]                                                                                                                                                     Yes

08094071                           NFT (462577659204776461/Tournament Fighter #20)[1]

08094076                           USD[1.00]

08094089                           USD[0.00]

08094103                           USD[0.01]                                                                                                                                                                           Yes

08094109                           USD[0.00]                                                                                                                                                                           Yes

08094111                           CUSDT[1], DOGE[2], ETH[.00002887], ETHW[.00002887], GRT[2.02391013], TRX[1], USD[0.00], USDT[1.07891132]                                                                            Yes

08094116                           BF_POINT[300], BRZ[1.00010183], DOGE[26.44864456], ETHW[.16425781], SHIB[98979.06354143], SOL[0], TRX[4], USD[0.00], USDT[0]                                                        Yes

08094124                           CUSDT[1], MATIC[5585.95304694], SUSHI[1], USD[0.00]

08094127                           USD[1000.00]

08094129                           CUSDT[6], USD[0.00]
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                                                                                                                                             Customer Claims                                                                                                            22-11071 (JTD)
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08094132                              USD[0.00]                                                                                                                                                                                 Yes

08094148                              SOL[0], USDT[0]

08094152                              AVAX[0.00001419], BTC[0.00000001], CUSDT[0], DOGE[0], ETH[0.00000018], ETHW[0.00000018], GRT[0], LINK[0], MATIC[0], SOL[0.00000830], USD[0.01], USDT[0]                                   Yes

08094153                              USD[540.86]                                                                                                                                                                               Yes

08094156                              AAVE[.00994779], LINK[.000045], USD[0.00], USDT[0.00000001]

08094163                              BAT[1], BRZ[1], BTC[0], CUSDT[1], ETH[0.00000405], ETHW[0.00000405], SHIB[2], TRX[1], USD[0.00]                                                                                           Yes

08094169                              SOL[.1], USD[1.30]

08094172                              SOL[.06857542]                                                                                                                                                                            Yes

08094187                              DOGE[384], USD[0.11]

08094190                              USDT[.444343]

08094208                              TRX[82735.182], USD[19.95]

08094213                              BAT[28.78218598], DOGE[124.38543893], MATIC[105.68223355], SHIB[4], TRX[78.40510441], USD[0.00], USDT[20.69809175]                                                                        Yes

08094221                              TRX[94.49110159], USD[0.00]                                                                                                                                                               Yes

08094225                              NFT (351583478969126187/Filthy Pup #2897)[1]

08094231                              BTC[0], SOL[0.00000001], USD[0.00]

08094233                              BTC[.00134006], USD[0.00]                                                                                                                                                                 Yes

08094234                              BTC[.00032326], SOL[.00096], USD[998.15], USDT[0.55635669]

08094235                              CUSDT[1], USD[0.00]                                                                                                                                                                       Yes

08094240                              ETHW[2.48181059], USD[20.74]                                                                                                                                                              Yes

08094244                              CUSDT[2], ETH[.02840318], ETHW[.02840318], USD[0.00]

08094246                              CUSDT[1], MATIC[41.65978139], USD[0.09]                                                                                                                                                   Yes

08094249                              ETH[.004], ETHW[.004], SOL[0], USD[3.46]

08094253                              USD[50.01]

08094255                              SOL[.00500055], USD[0.01]                                                                                                                                                                 Yes

08094259                              BAT[0], BRZ[1], BTC[0], ETH[0], MATIC[0], NFT (340922824666886740/StarAtlas Anniversary)[1], NFT (342453541614261710/StarAtlas Anniversary)[1], NFT (346425942143388752/StarAtlas         Yes
                                      Anniversary)[1], NFT (381439526661491522/StarAtlas Anniversary)[1], NFT (437139596250485290/StarAtlas Anniversary)[1], NFT (477717587100759176/StarAtlas Anniversary)[1], NFT
                                      (482308126382176648/StarAtlas Anniversary)[1], NFT (499138687531936751/StarAtlas Anniversary)[1], NFT (557464927793529089/StarAtlas Anniversary)[1], SHIB[2], SOL[0], TRX[1], USD[0.00]
08094280                              SOL[.00103975], USD[3.03], USDT[.00998]

08094285                              BRZ[2], CUSDT[1], DOGE[1], MATIC[109.29184704], NEAR[36.37471719], NFT (468710580614442017/The Hill by FTX #917)[1], SHIB[207177.70529718], SOL[13.28513605], TRX[1], USD[0.56]           Yes

08094295                              DOGE[1.12134746], USD[0.00]

08094299                              BCH[0], CUSDT[2], DOGE[2], USD[0.04]

08094303                              SOL[.51712869], USD[142.72]

08094309                              BRZ[1], DOGE[1], USD[0.01]

08094320                              BTC[.00038668], CUSDT[2], DOGE[42.3877424], ETH[.00345236], ETHW[.00341132], KSHIB[427.67996024], SOL[.0898174], TRX[1], USD[0.00]                                                        Yes

08094322                              CUSDT[1], SOL[43.76887186], TRX[2], USD[0.03]                                                                                                                                             Yes

08094326                              AVAX[.80684761], ETH[61.50344221], ETHW[61.48622646]                                                                                                                                      Yes

08094327                              USD[0.00]

08094330                              LINK[10.21817886], MATIC[255.3499763], SHIB[5126819.26722425], UNI[4.32788668]                                                                                                            Yes

08094332                              NFT (401982486911487860/O.W.N. Collection by Royal Reel #2)[1], SHIB[350000], SOL[.10729], USD[11.88]

08094334                              SOL[.52632346], USD[0.01]

08094363                              MATIC[0], SHIB[507.36177289], SOL[0], USD[0.00]                                                                                                                                           Yes

08094369                              BTC[0.00199610], DOGE[503], ETH[0.01927254], ETHW[0], SHIB[100000], USD[0.60]

08094372                              BTC[.00000153], ETH[0], ETHW[0], USD[0.00], USDT[0.00000001]                                                                                                                              Yes

08094396                              CUSDT[6], SHIB[1], TRX[1], USD[0.01]                                                                                                                                                      Yes

08094398                              BTC[.00000603], USD[0.00], USDT[0]                                                                                                                                                        Yes

08094405                              WBTC[0]

08094410                              BF_POINT[300], BTC[.00000624], ETH[0.00035863], ETHW[0.00035863], USD[0.00]                                                                                                               Yes

08094417                              USD[0.00], USDT[0]

08094430                              BTC[0], ETH[0], ETHW[0], USD[0.83]

08094433       Contingent, Disputed   BTC[0], ETH[0], USD[0.00]

08094448                              CUSDT[2], SHIB[2], TRX[1], USD[0.00]

08094449                              BTC[.0825174], ETH[3.997], ETHW[3.997], MATIC[1198.91], SHIB[14385600], SOL[34.47549], SUSHI[203.2965], USD[2959.34]

08094455                              BTC[.0000998], DOGE[.995], ETH[.000998], ETHW[1.999998], SOL[.00996], USD[8208.48]

08094458                              CUSDT[1], SHIB[3], USD[0.01]                                                                                                                                                              Yes

08094460                              BTC[.00049599], CUSDT[2], MATIC[9.10609479], USD[0.02]                                                                                                                                    Yes

08094466                              NFT (389334637636547693/Solana Penguin #808)[1], NFT (549484812124315955/Solana Penguin #5421)[1], SOL[2.32501035], USD[0.29]

08094469                              USD[5.41]                                                                                                                                                                                 Yes

08094471                              DOGE[378.2672455], SHIB[5745292.09917436], USD[0.01]

08094475                              DOGE[1], ETH[0], SOL[0], TRX[2]                                                                                                                                                           Yes
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                                                                                                                                         Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08094476                           ETH[.234], ETHW[.234], USD[0.94]

08094478                           BTC[.0103524], DOGE[.00973454], LTC[.42184574], SHIB[10], SOL[4.19562957], TRX[3.000006], USD[226.55], USDT[0]                                                                             Yes

08094480                           ETH[0], NFT (395811788516440094/Scoogi #5960)[1], NFT (471776294190519380/Coogi #5690)[1], USD[0.04], USDT[.3331224]

08094481                           BAT[2.1434051], CUSDT[95.58778450], SOL[.02060003], TRX[0], USD[0.00]

08094489                           CUSDT[1], ETH[.01221936], ETHW[.01206888], USD[0.00]                                                                                                                                       Yes

08094491                           SHIB[233715.74277707], USD[0.00]                                                                                                                                                           Yes

08094495                           LTC[0], USD[0.01], USDT[0.00000114]

08094503                           USD[0.00]

08094506                           CUSDT[1], DOGE[586.72712469], ETH[0.00696869], ETHW[0.00688661], SHIB[18318046.04121607], SOL[0.50017084], TRX[2], USD[0.00]                                                               Yes

08094512                           TRX[.217], USD[0.30]

08094513                           BTC[.00085551]                                                                                                                                                                             Yes

08094514                           USD[6.02]

08094517                           USD[20.00]

08094519                           DOGE[.115016], SOL[1.08], USD[60.00], USDT[1.42338164]

08094536                           BTC[0], SOL[.006995], USD[0.00], USDT[19.498491]

08094551                           USD[500.00]

08094553                           BTC[.00232167], DOGE[2], ETH[0.01067396], ETHW[0.01067396], USD[0.00]

08094557                           GRT[1333.0096075], SOL[5.77923389], USD[0.01]

08094564                           CUSDT[982.71226645], GRT[24.57624696], SOL[.00028749], USD[0.00]                                                                                                                           Yes

08094568                           USD[51.80]

08094578                           SOL[0], USD[2.81]

08094583                           NFT (288690194436330142/Cooking Master№6)[1], NFT (316522445615663111/Something from someone else's head)[1], NFT (317525354566776664/Cooking Master№2)[1], NFT
                                   (326281634459332882/Cooking Master№3)[1], NFT (326791630178965166/Cooking Master№1)[1], NFT (389367838699473876/Fantasy in paint.)[1], NFT (397179864467465608/Peaceful Dog#1)[1],
                                   NFT (407119542876222006/The bear cub "Gregor")[1], NFT (420278791004511307/Abandoned mill)[1], NFT (437902863560684684/Cake№777)[1], NFT (438786396201835065/Aftor 's Fantasy)[1],
                                   NFT (441741408691524362/Cooking Master№5)[1], NFT (444735303502973629/At work)[1], NFT (492133883640833071/At work #2)[1], NFT (500213471013641082/City of sinners)[1], NFT
                                   (501626977349533845/A loyal friend is always there)[1], NFT (548821188594579770/Flowers of happiness№2)[1], NFT (555424400697852992/ Tree of fate)[1], NFT (570292659723035947/Green
                                   mist)[1], SOL[.057], USD[0.23]
08094587                           USD[0.00]

08094588                           USD[154745.00]                                                                                                                                                                             Yes

08094590                           SOL[3.1958], USD[0.53]

08094596                           SOL[.02155798], USD[5.42]                                                                                                                                                                  Yes

08094606                           BTC[.00000001], SHIB[1.00008903], USD[0.00]                                                                                                                                                Yes

08094613                           USD[0.05]

08094632                           BTC[.0015], USD[3.21]

08094634                           USD[500.00]

08094637                           NFT (308957143259688379/Joe Theismann's Playbook: New York Giants vs. Washington - October 20, 1974 #49)[1], NFT (345262750738621239/Doak Walker's Playbook: Detroit Lions vs. Cleveland   Yes
                                   Browns - December 28, 1952 #68)[1], NFT (524826038259416811/Hall of Fantasy League #230)[1], SHIB[2], USD[0.82], USDT[0.00000001]
08094641                           SOL[.03], USD[6.71]

08094642                           USD[9.35]

08094643                           BAT[104.02560145], BRZ[1], GRT[207.70350058], SHIB[1882275.94129841], SOL[2.10107888], TRX[160.15513045], USD[0.00], YFI[.01038932]                                                        Yes

08094644                           ETH[1.602396], ETHW[1.602396], SOL[49.57038], USD[3.61]

08094647                           BTC[.00060296], CUSDT[2], SHIB[498161.34395316], USD[0.00]                                                                                                                                 Yes

08094650                           DOGE[1], USD[0.00]

08094656                           DOGE[1890.108], USD[4.26]

08094657                           KSHIB[439.9], USD[0.97]

08094660                           SHIB[4849660.52376334]

08094662                           BAT[1.01345947], BTC[.01839561], CUSDT[7], ETH[.17841393], ETHW[.1781678], SOL[1.54912636], TRX[1], USD[0.08]                                                                              Yes

08094664                           USD[100.00]

08094673                           ETHW[.079], USD[473.47], USDT[.005071]

08094677                           USD[541.34]                                                                                                                                                                                Yes

08094689                           SHIB[0], USD[0.00]                                                                                                                                                                         Yes

08094698                           ETH[0], SOL[0.00000302], TRX[0], USD[0.15], USDT[0]                                                                                                                                        Yes

08094699                           CUSDT[4], TRX[1], USD[0.00]                                                                                                                                                                Yes

08094706                           NFT (457889624292539809/SharkBro #8344)[1]

08094712                           SOL[.00095]

08094718                           CUSDT[2], USD[0.00], USDT[.97822114]

08094726                           BRZ[1], BTC[.01462723], SHIB[2], TRX[1], USD[0.00]

08094733                           BTC[.0246]

08094737                           LINK[.00907589]

08094743                           CUSDT[3], ETH[.00230643], ETHW[.00227907], SOL[.08895267], TRX[1], USD[0.02]                                                                                                               Yes

08094745                           USD[21.65]                                                                                                                                                                                 Yes
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                                                                                                                                            Customer Claims                                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08094764                              CUSDT[1], USD[1.01], USDT[48.74057293]

08094766                              NFT (496334209334709155/Solana Islands #1506)[1], SOL[.049995]

08094767                              BTC[.00030955], CUSDT[1], USD[0.00]                                                                                                                                                           Yes

08094774                              BTC[0.06206202], ETH[0], SOL[55.38319747], USD[0.00]                                                                                                                                          Yes

08094777                              USD[0.72]                                                                                                                                                                                     Yes

08094783                              BTC[.00018306], USD[0.03]                                                                                                                                                                     Yes

08094792                              USD[0.00]

08094814                              CUSDT[5], TRX[0], USD[21.51], USDT[0]                                                                                                                                                         Yes

08094820                              USD[0.95]

08094823                              USD[21.65]                                                                                                                                                                                    Yes

08094824                              NFT (333847611967215390/Mr. Rusto: In Color #4)[1], NFT (370551725495524684/Mr. Rusto: Gets Framed #4)[1], NFT (410085878184803457/Mr. Rusto: In Color #5)[1], NFT
                                      (418396991489827518/Mr. Rusto: Gets Framed #2)[1], NFT (427676663824473195/Mr. Rusto: Sol #0001)[1], NFT (447914831352432740/Mr. Rusto: In Color #6)[1], NFT (455159667802107452/Mr.
                                      Rusto: In Color #3)[1], NFT (516705832401797916/Mr. Rusto: In Color #2)[1], NFT (541812172970753748/Mr. Rusto: In Color)[1], NFT (555838084957669057/Mr. Rusto)[1], SOL[.37694], USD[5.59]

08094825                              ETH[.004991], ETHW[.004991], UNI[.999], USD[2.87]

08094827                              CUSDT[1], ETH[.02696016], ETHW[.02662654], KSHIB[143.06520053], TRX[1], USD[0.00]                                                                                                             Yes

08094848                              BRZ[1], CUSDT[1], DOGE[4], SHIB[1], SOL[1.72374645], USD[178.86]                                                                                                                              Yes

08094852                              ETH[.00000072], USD[92.86]                                                                                                                                                                    Yes

08094863                              USD[1282.01]                                                                                                                                                                                  Yes

08094872                              USD[0.01]

08094878                              BCH[.00178475], BTC[.0000509], DOGE[25.76820711], ETH[.00025559], ETHW[.00025559], USD[0.25], USDT[5.35292792]                                                                                Yes

08094888                              ETHW[.005994], USD[2.04]

08094889                              ETH[0], SOL[0]

08094901                              DOGE[1], SHIB[1], USD[2.01]

08094906                              BRZ[1], CUSDT[1217.04287119], SHIB[203341.48899247], USD[11.69]                                                                                                                               Yes

08094907                              BTC[.1259266], ETH[.510753], ETHW[.510753], USD[2.72]

08094910                              CUSDT[1], USD[0.00]                                                                                                                                                                           Yes

08094912                              SOL[1.44796459], USD[1.28]

08094915                              USD[943.32]

08094918                              USD[0.00]

08094921       Contingent, Disputed   USD[0.00]

08094926                              BTC[0], SOL[0], USD[0.00], USDT[0.00002482]

08094934                              USD[0.00]

08094955                              USD[0.90]                                                                                                                                                                                     Yes

08094957                              AVAX[0], SHIB[1], USD[0.00]                                                                                                                                                                   Yes

08094958                              USD[0.00]

08094965                              BAT[.46625132], CUSDT[2], LINK[.01565986], SHIB[1], TRX[2], USD[107.30]                                                                                                                       Yes

08094969                              USD[1.00]

08094970                              DOGE[1], ETHW[5.1568284], SHIB[3], TRX[1], USD[0.00]                                                                                                                                          Yes

08094975                              ETH[.319], SOL[30.26], USD[3.17]

08094978                              SOL[0], USD[0.00]

08094983                              CUSDT[5], ETH[0], ETHW[0.03403852], SHIB[511887.89174507], TRX[1], USD[80.68]                                                                                                                 Yes

08094987                              BAT[1.00982876], BRZ[1], CUSDT[1], DOGE[2], GRT[1], LINK[.00022983], SOL[2.59801255], TRX[1], USD[0.00]                                                                                       Yes

08094989                              CUSDT[1], TRX[380.1409799], USD[0.00]                                                                                                                                                         Yes

08095001                              USD[3.89]

08095010                              BRZ[1], CUSDT[1], ETH[.43860287], ETHW[.43860287], LINK[30.12362098], SOL[7.54341508], TRX[4], USD[0.50]

08095012                              USD[43.80]

08095018                              CUSDT[4], NFT (291265286232209063/ApexDucks #3767)[1], NFT (293962700465886701/ApexDucks #6795)[1], NFT (441002536442190630/ApexDucks #1387)[1], NFT                                          Yes
                                      (529066708486582966/ApexDucks #235)[1], SOL[.30200787], USD[0.00]
08095021                              NFT (437448016626435044/David #621)[1], SOL[.047195]

08095024       Contingent, Disputed   AAVE[0], ALGO[0], AVAX[0], BAT[0], BCH[0], BRZ[0], BTC[0], CUSDT[0], DAI[0], DOGE[0], ETH[0], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], MKR[0], PAXG[0], SHIB[0], SOL[0], SUSHI[0], TRX[0], Yes
                                      UNI[0], USD[0.00], USDT[0], YFI[0]
08095026                              DOGE[1], USD[0.00]                                                                                                                                                                             Yes

08095027                              SOL[.00207049]

08095041                              SHIB[34800000], USD[0.04]

08095043                              DOGE[3], USD[0.00]

08095045                              BTC[0.00618760], SHIB[48], SOL[.00003838], USD[0.00]                                                                                                                                          Yes

08095049                              BTC[1.11984514], ETHW[17.8273009], LINK[199.905], SOL[147.0385], USD[2347.62]

08095050                              BTC[0], SOL[0], USD[0.00]

08095052                              USD[19.86], USDT[0.00094898]

08095059                              SOL[1.02], USD[1.83]
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                                                                                                                                             Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or         Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08095060      Contingent, Disputed     SOL[.00000001], USD[0.00], USDT[0]                                                                                                                                                Yes

08095065                               USD[311.02]

08095076                               SHIB[10], TRX[.00188469], USD[0.00]                                                                                                                                               Yes

08095078                               DOGE[1], SOL[2.68296313], USD[0.00]                                                                                                                                               Yes

08095087                               DOGE[1], SOL[2.06695664], USD[0.00]

08095090                               NFT (339448549372160495/Zombie Enchantress #5)[1], NFT (391811704886643371/Zombie Enchantress #2)[1], NFT (448652793754999249/Zombie Enchantress)[1], NFT
                                       (477046145769737603/Enchanted Series)[1], NFT (480257927053137305/Zombie Enchantress #3)[1], NFT (530057829278293384/Enchanted Series #2)[1], NFT (549833858062074137/Zombie
                                       Enchantress #6)[1], SOL[.19546273], USD[0.00]
08095097                               ALGO[475], AVAX[0], DOGE[0], ETH[0.00003065], ETHW[0.00003064], GRT[0], MATIC[0], SOL[0], TRX[0], USD[0.26]

08095102                               USD[11.45]                                                                                                                                                                        Yes

08095108                               CUSDT[1], USD[0.01]                                                                                                                                                               Yes

08095134                               BTC[.00082041], USD[75.72]

08095135                               DOGE[2031.85713425], USD[0.00]                                                                                                                                                    Yes

08095137                               USD[0.18]

08095138                               USD[0.83]

08095139                               CUSDT[1], DOGE[95.35569515], SHIB[453144.82508609], USD[0.00]

08095143                               SOL[.08392236]

08095148                               BTC[.00086234], DOGE[1], USD[54.13]                                                                                                                                               Yes

08095153                               ETH[0], USD[4.06]

08095157                               USD[0.00]

08095166                               USD[0.00], USDT[0]

08095171                               BTC[.00023194], DOGE[1], USD[16.24]                                                                                                                                               Yes

08095173                               USD[0.00]

08095174                               BTC[0.00000100], USD[0.01]

08095176                               ETHW[.00006129], USD[1.30]

08095178                               BTC[.00101492], ETH[.05838513], ETHW[.05838513], LTC[.51015886], MATIC[134.05743452], SHIB[3602118.81711802], USD[0.23]

08095185                               AVAX[66.63283414], BRZ[299.50296581], BTC[.0541152], CUSDT[4], DOGE[5], ETH[.81324722], ETHW[.86345602], GRT[1], LINK[.04920284], SHIB[26], SOL[64.56328923], TRX[9], USD[0.72]   Yes

08095187                               USD[0.00]                                                                                                                                                                         Yes

08095197                               USD[0.00]

08095199                               USD[160.00]

08095203                               CUSDT[1], DOGE[1], SHIB[9800091.48718853], USD[0.01]

08095212                               ETH[1.177821], ETHW[1.177821], USD[5.02]

08095228                               SOL[.00057117], USD[0.00]

08095230                               SHIB[1099050], SOL[14.845554], USD[0.13]

08095237                               BRZ[589.34239145], DOGE[1], USD[0.00]                                                                                                                                             Yes

08095241                               BRZ[1], DOGE[1], ETH[0], ETHW[1.04482715], SOL[0]                                                                                                                                 Yes

08095255                               CUSDT[1], USD[63.39]

08095256                               LINK[10.82653676]                                                                                                                                                                 Yes

08095261                               CUSDT[3], LINK[.62937465], MATIC[12.17933527], SOL[.08921574], USD[43.31]                                                                                                         Yes

08095263                               CUSDT[5], SHIB[1], SOL[1.95365212], TRX[2], USD[0.00]                                                                                                                             Yes

08095265                               USD[0.01]

08095276                               BTC[.02244734], ETH[.28108319], ETHW[.28108319], LINK[10.06513199], SOL[2.19404294], USD[0.00]

08095283                               DOGE[0], ETH[0.00000001], ETHW[0.00000001], USD[0.00]

08095289                               CUSDT[5], DOGE[13.0609982], KSHIB[18.53226507], SHIB[0], SUSHI[0], TRX[2], USD[0.00]                                                                                              Yes

08095293                               CUSDT[1], DOGE[96.68572255], USD[0.00]                                                                                                                                            Yes

08095299                               CUSDT[2], DOGE[2], GRT[0], SUSHI[6.6948599], TRX[.00605689], USD[0.00]                                                                                                            Yes

08095301                               ALGO[14.40773508], CUSDT[19], DOGE[121.8130029], MATIC[7.10575857], SHIB[406903.73077813], SOL[.426372], SUSHI[17.3706106], TRX[97.45040253], USD[0.61]                           Yes

08095311                               LINK[1.56857811], MATIC[25.83303693], SHIB[1038206.69318581], SOL[.22172268], USD[0.00]                                                                                           Yes

08095315                               ETH[0], USD[0.00]

08095319                               DOGE[18.92277272], SHIB[38424.59173871], TRX[17.49359166], USD[1.00]

08095324                               BTC[0], CUSDT[2], DOGE[37.80070079], SHIB[807628.14931488], USD[0.00]

08095335                               USD[64.10]                                                                                                                                                                        Yes

08095340                               ETH[0], SOL[0], USD[0.47], USDT[0]

08095341                               DAI[20], ETH[.020979], ETHW[.020979], SHIB[5597700], TRX[132], USD[0.03]

08095344                               BTC[.00152723], USD[0.00], USDT[0.00042507]

08095350                               AAVE[.1425689], CUSDT[2], DOGE[57.74497005], ETH[.00320216], ETHW[.00320216], SOL[.18612365], TRX[1], USD[0.00]

08095356                               BTC[0], ETH[0], LINK[0], LTC[0], MATIC[.00002515], USD[0.00], USDT[0.00000001]                                                                                                    Yes

08095360                               BTC[.04367039], CUSDT[2], ETH[.80547972], ETHW[.80513413], GRT[1], TRX[2], USD[1.45]                                                                                              Yes

08095361        Contingent, Disputed   USD[10.70]                                                                                                                                                                        Yes
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                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08095369                              BTC[.00998753], CUSDT[14], DOGE[2], ETH[.10639268], ETHW[.10639268], SHIB[10], SOL[.20745265], TRX[1], USD[6.00]

08095370                              USD[162.41]                                                                                                                                                                         Yes

08095374                              DOGE[1], USD[50.00], USDT[348.14694956]

08095379                              TRX[.000013], USDT[0.12295546]

08095384                              DOGE[1], TRX[5514.52451343], USD[0.00]                                                                                                                                              Yes

08095386                              USD[0.01], USDT[0]                                                                                                                                                                  Yes

08095395                              BRZ[3], BTC[.03329942], DOGE[1], ETH[.06906395], ETHW[.06820585], SOL[10.27583336], TRX[1], USD[5.03]                                                                               Yes

08095400                              ETH[.00000001], ETHW[0], NFT (478390955180402183/The Frankenstein Analogy)[1], NFT (488375907503520172/American Frankenstein Collection)[1], SOL[0], USD[0.00], USDT[0.00000106]

08095407                              BTC[0], CUSDT[3], USD[0.00]

08095408                              SHIB[98600000], SOL[.08419455], USD[0.00]

08095415                              USD[0.00]

08095417                              LINK[8.691735], USD[2.92]

08095424                              CUSDT[1], MATIC[121.45617839], USD[0.01]                                                                                                                                            Yes

08095425                              BCH[0], KSHIB[9.4787584]                                                                                                                                                            Yes

08095447                              USD[0.01], USDT[139.84]

08095448                              CUSDT[2], DOGE[1], ETH[0.00103938], ETHW[0.00102570], KSHIB[17.49857386], TRX[1], USD[0.07]                                                                                         Yes

08095456                              CUSDT[1], DOGE[410.67734615], SHIB[2073235.88741609], USD[0.00]                                                                                                                     Yes

08095461                              KSHIB[0], SGD[0.00], USD[0.00], USDT[0]

08095465                              ETH[0], USD[0.00]                                                                                                                                                                   Yes

08095470                              PAXG[0], SHIB[7], USD[0.00], USDT[0]

08095472                              SHIB[1157614.79658825], SOL[10.26245422]                                                                                                                                            Yes

08095478                              CUSDT[1], DOGE[1], SHIB[3191522.78627278], USD[3.74]                                                                                                                                Yes

08095481                              CUSDT[2], DOGE[1], SHIB[19008169.99465228], TRX[1427.98137968], USD[0.00]                                                                                                           Yes

08095483                              SUSHI[.443], USD[5.14], USDT[0]

08095486                              USDT[36.17]

08095489                              SOL[.84915], USD[0.90], USDT[0.00872776]

08095492                              SHIB[441396.66294788], USD[0.00]                                                                                                                                                    Yes

08095508                              ETH[.00230729], ETHW[.00227993], USD[0.00]                                                                                                                                          Yes

08095509                              CUSDT[1], USD[0.03]                                                                                                                                                                 Yes

08095510                              CUSDT[1], SHIB[4522561.58998782], TRX[1], USD[5.00]

08095512                              BAT[7.49510156], CUSDT[3], GRT[6.55070936], SHIB[757576.10488954], TRX[107.57229996], USD[0.00]                                                                                     Yes

08095515                              BTC[.00038643], CUSDT[2], ETH[.00338311], ETHW[.00334207], SOL[.02409633], TRX[1], USD[0.00]                                                                                        Yes

08095519                              NFT (317521258084322593/Usturpunk P #1067)[1]

08095527                              DAI[4245], USD[5738.23]

08095536                              NFT (361685989538696609/Warriors 75th Anniversary Icon Edition Diamond #2075)[1]

08095537                              USD[0.00], USDT[1.0821199]                                                                                                                                                          Yes

08095539                              ETH[.01082457], ETHW[.01068767]                                                                                                                                                     Yes

08095552                              SOL[0]

08095571                              BAT[1], DOGE[1.13315492], SHIB[2], TRX[2], USD[1.00], USDT[0.00017267]                                                                                                              Yes

08095579                              SHIB[6100], USD[0.35]

08095590                              BTC[.00030955], CUSDT[1], USD[0.00]

08095595                              BRZ[2], DOGE[2284.61575317], ETH[.28064057], ETHW[.28064057], MATIC[322.49790422], NFT (299612382759423806/Bahrain Ticket Stub #464)[1], NFT (495744459605878847/Barcelona Ticket
                                      Stub #1457)[1], SHIB[24], SOL[9.635769], TRX[3581.56617642], USD[0.00], USDT[1]
08095601                              BTC[.00000002], CUSDT[.01303461], DOGE[.00145607], ETH[.00000005], ETHW[.00000005], MATIC[.00024755], SHIB[5], SOL[.00000283], TRX[0.00472545], USD[0.00]                           Yes

08095605                              SOL[1]

08095606                              SHIB[13610865.04964121], USD[0.00]

08095607                              SOL[12.90309], USDT[7.958611]

08095609                              USD[0.00], USDT[0]

08095610       Contingent, Disputed   USD[0.00]

08095616                              USD[10.00]

08095618                              MATIC[0], SOL[0], USD[0.00], USDT[0.00000012]

08095619                              SOL[.16573753], USD[0.00]

08095626                              BAT[1.00896218], CUSDT[1], USD[0.38]                                                                                                                                                Yes

08095628                              BF_POINT[300], USD[0.00]                                                                                                                                                            Yes

08095636                              SOL[.01539917]

08095647                              SOL[.08213731], USD[0.00]

08095648                              ETHW[6.21715899], USD[0.00], USDT[0]

08095659                              USD[10.83]                                                                                                                                                                          Yes

08095661                              SHIB[1100000], SUSHI[.493], USD[4.31]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08095664                           USD[0.11]

08095665                           ETH[0], LINK[0], SOL[.00082155], USD[0.01]

08095668                           BTC[.00474981], CUSDT[2], DOGE[1], ETH[.06941369], ETHW[.06855185], LINK[1.57589765], SHIB[1], USD[0.00]                                                                       Yes

08095675                           AAVE[1.13472118], AVAX[14.68859351], BTC[.11250039], ETH[.53076939], SOL[4.82379664], USD[10277.60]                                                                            Yes

08095677                           CUSDT[1], ETH[.20150495], ETHW[.20150495], USD[0.00]

08095684                           USD[0.98]

08095692                           ETH[0]

08095696                           DOGE[1], USD[0.00]                                                                                                                                                             Yes

08095698                           TRX[.462955], USD[0.00]

08095700                           CUSDT[2], SHIB[575043.12823461], TRX[266.40802591], USD[0.00]

08095701                           ETH[.42296895], ETHW[.42296895], USD[0.00]

08095702                           CUSDT[1], DOGE[1], TRX[1], USD[9.51], USDT[0]

08095708                           SHIB[3600000], USD[2.63]

08095709                           MATIC[.00000001]                                                                                                                                                               Yes

08095711                           DOGE[1], USD[0.00]

08095723                           CUSDT[1], USD[0.01]                                                                                                                                                            Yes

08095726                           SHIB[108254583.15414082]                                                                                                                                                       Yes

08095728                           USD[54.14]                                                                                                                                                                     Yes

08095731                           CUSDT[2], ETH[.00880628], ETHW[.00880628], SOL[.19636838], USD[0.00]

08095737                           CUSDT[2], GRT[1.00019173], USD[0.00]                                                                                                                                           Yes

08095743                           CUSDT[0], SHIB[232768.42013884], USD[0.00], USDT[0]                                                                                                                            Yes

08095744                           USD[0.00]

08095745                           DOGE[409.19775277], USD[0.00]                                                                                                                                                  Yes

08095746                           MATIC[1308.83], USD[8.51], USDT[500.001]

08095752                           USD[15.47]                                                                                                                                                                     Yes

08095753                           USD[2.17]                                                                                                                                                                      Yes

08095763                           ETH[3.00026155], ETHW[3.00026155]

08095766                           CUSDT[1], SHIB[4773269.68973747], USD[7.01]

08095792                           USD[21.65]                                                                                                                                                                     Yes

08095793                           SHIB[1], USD[415.30]                                                                                                                                                           Yes

08095795                           AVAX[.40763972], CUSDT[13], SHIB[1], TRX[2], USD[0.00], USDT[0.00004917]                                                                                                       Yes

08095798                           USD[0.00]

08095800                           BAT[1], BRZ[2], DOGE[2], GRT[1], SHIB[3], SUSHI[1.00028303], TRX[2], USD[0.00], USDT[3.00175451]                                                                               Yes

08095802                           BF_POINT[200]                                                                                                                                                                  Yes

08095803                           SOL[.04146852], USD[0.00]

08095804                           ETH[0], ETHW[0], USD[0.00]

08095816                           CUSDT[1], DOGE[82.70074252], SHIB[605387.07922091], USD[0.01]                                                                                                                  Yes

08095817                           BRZ[1], DOGE[2], SHIB[5], USD[0.00]

08095828                           CUSDT[1], ETH[.00000093], ETHW[.00000093], SHIB[1], TRX[1], USD[0.01]                                                                                                          Yes

08095835                           USD[37.09]

08095839                           SHIB[2], TRX[1], USD[0.00]                                                                                                                                                     Yes

08095848                           DOGE[78.05951843], TRX[1], USD[0.00]

08095849                           BRZ[1], CUSDT[2], USD[0.00]                                                                                                                                                    Yes

08095859                           USD[2.00]

08095862                           USD[0.00]

08095868                           ETH[.001], USD[0.33], USDT[0]

08095870                           SOL[0], USD[0.00]

08095877                           ETHW[.00010397], USD[515.28]                                                                                                                                                   Yes

08095880                           CUSDT[1.00010588], LTC[.02051683], SHIB[100948.67720729], USD[23.38], USDT[0]                                                                                                  Yes

08095888                           BRZ[1], ETHW[.07195514], NFT (365577577829819633/Alpha Gorilla)[1], SHIB[10], USD[84.87], USDT[0]                                                                              Yes

08095890                           ALGO[2.78167095], BAT[11.25373377], BRZ[108.87317963], CAD[2.57], CUSDT[976.87813106], DAI[3.97836948], DOGE[18.40968997], ETH[.00170519], ETHW[.00170519], GRT[7.15408309],   Yes
                                   KSHIB[64.07578371], LINK[1.17616316], MATIC[4.59275169], SHIB[63898.76357827], SOL[.16491998], TRX[235.65481253], USD[3.00]
08095900                           BTC[.0010989], ETH[.01998], ETHW[.01998], TRX[1000.73843550], USD[1.44]

08095915                           CUSDT[6], DOGE[2], GRT[281.40194728], KSHIB[6178.28929451], SHIB[31607248.84274937], TRX[2], USD[0.01]                                                                         Yes

08095916                           BTC[0.00219802], ETH[.0839244], USD[203.79]

08095924                           BTC[.00007648], USD[0.00]                                                                                                                                                      Yes

08095926                           LTC[.01295854], USD[0.42]

08095938                           USD[0.00]                                                                                                                                                                      Yes

08095947                           BTC[.00770368]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08095950                           BTC[0], ETH[0], ETHW[0], GRT[0], TRX[.15387272], USD[0.00], USDT[0]

08095958                           ETHW[.091], USD[0.00]

08095959                           USD[5.41]                                                                                                                                                                                 Yes

08095962                           SHIB[1336138.42056561], USD[0.00]

08095963                           AAVE[0], BTC[0], DOGE[0], ETH[0], MATIC[0], SHIB[0], TRX[0], USD[0.00], USDT[0]                                                                                                           Yes

08095969                           DOGE[1], ETH[.00021429], ETHW[.00021429], SHIB[627825.69453958], SOL[.04300174], USD[0.00]                                                                                                Yes

08095970                           CUSDT[1], ETH[.00461724], ETHW[.00456248], SOL[0.11581619], TRX[1], USD[1.08]                                                                                                             Yes

08095989                           SOL[.00835368], USD[0.30]

08095993                           USD[5.41]                                                                                                                                                                                 Yes

08095996                           CUSDT[5], GRT[.00000913], USD[0.92]                                                                                                                                                       Yes

08096000                           BTC[0], DOGE[0], USD[0.00]

08096001                           TRX[.000001], USD[0.59], USDT[0]

08096006                           USD[20.00]

08096011                           BRZ[1], NFT (290343349566555032/DOTB #6296)[1], NFT (291929580919131099/StarAtlas Anniversary)[1], NFT (303014005715674122/PixelPuffins #5767)[1], NFT (304471508371671445/First 50     Yes
                                   #14)[1], NFT (317195237462126810/Solninjas #2357)[1], NFT (319437529029147516/Eitbit Ape #4422)[1], NFT (320881878349620798/Golden bone pass)[1], NFT (325936094239734883/ApexDucks
                                   #5757)[1], NFT (326697176396988625/StarAtlas Anniversary)[1], NFT (328733116518944955/StarAtlas Anniversary)[1], NFT (330540416319237988/Munk #2567)[1], NFT
                                   (345312498475419435/ChickenTribe #1280)[1], NFT (346122248004229269/CATCHER)[1], NFT (351717625982186325/StarAtlas Anniversary)[1], NFT (357639124807374409/DOTB #5227)[1], NFT
                                   (363102168987158259/Elysian - #2941)[1], NFT (366073114530625575/StarAtlas Anniversary)[1], NFT (379682137359309233/Sigma Shark #6600)[1], NFT (383764045779337910/#5582)[1], NFT
                                   (388674076483385700/DOTB #4179)[1], NFT (394657421344463048/SolBunnies #921)[1], NFT (401286473944034299/Sollama)[1], NFT (405735122980713899/StarAtlas Anniversary)[1], NFT
                                   (413225772709625420/StarAtlas Anniversary)[1], NFT (414067925301226330/sheep_2684)[1], NFT (434053885601903168/Nifty Nanas #5422)[1], NFT (440595839730891957/DOTB #5473)[1], NFT
                                   (446728882590948199/Space Bums #2596)[1], NFT (454096247809849221/Cyber Frogs Ramen)[1], NFT (463882322394602855/Kiddo #7464)[1], NFT (478013789028161110/StarAtlas Anniversary)[1],
                                   NFT (501286402883010040/Elysian - #3940)[1], NFT (516183689227270981/Frog #3202)[1], NFT (534382910668539009/StarAtlas Anniversary)[1], NFT (545912365675665325/Eduard, the Elated)[1],
                                   NFT (567454666483054013/Baddies #1701)[1], NFT (574153570452813371/Solana Squirrel #320)[1], NFT (575326131067869047/DarkPunk #2505)[1], SOL[0.01981458], TRX[1]

08096020                           BRZ[1], DOGE[2], MATIC[145.35013755], SOL[3.38717949], USD[0.00]                                                                                                                          Yes

08096022                           AAVE[2.23008823], BRZ[1], BTC[.03762672], CUSDT[8], DOGE[2], ETH[1.64406732], ETHW[1.64336185], SHIB[991043.53549276], TRX[3], UNI[43.67990498], USD[0.00], USDT[0.00003783]              Yes

08096024                           USD[499.00]

08096028                           CUSDT[2], USD[23.22]                                                                                                                                                                      Yes

08096034                           SHIB[1], SOL[2.46130705], USD[0.01]                                                                                                                                                       Yes

08096035                           BTC[.00015338], SOL[.0216224], USD[1.08]                                                                                                                                                  Yes

08096042                           USD[0.00], USDT[0.00000018]

08096046                           CUSDT[1], KSHIB[91.62461249], SHIB[1], SOL[1.56125337], USD[6.27]                                                                                                                         Yes

08096055                           CUSDT[3], USD[0.00]                                                                                                                                                                       Yes

08096056                           BRZ[4], CUSDT[5], DOGE[5], ETHW[.04508274], SHIB[8], TRX[5], USD[0.39], USDT[1.06904616]                                                                                                  Yes

08096059                           CUSDT[2], SHIB[7506098.70519797], TRX[864.79054705], USD[0.00]

08096062                           BTC[.00219524], CUSDT[5], ETH[.02767666], ETHW[.02733466], SHIB[203417.91881107], SOL[.18155935], TRX[1], USD[0.03]                                                                       Yes

08096070                           USD[0.01]

08096080                           DOGE[1], SOL[2.25222224], USD[0.01]                                                                                                                                                       Yes

08096084                           BRZ[1], ETH[0], GRT[1.00019173], SHIB[1], SOL[.00000001], TRX[1], USD[0.00], USDT[2.1278469]                                                                                              Yes

08096087                           CUSDT[2], ETH[0], SOL[.00000001], TRX[1], USD[0.00]                                                                                                                                       Yes

08096088                           SHIB[3], TRX[1], USD[42.49]                                                                                                                                                               Yes

08096090                           BRZ[1], BTC[.00000006], CUSDT[1], SHIB[3], SOL[.00000558], TRX[.01286114], USD[0.01]                                                                                                      Yes

08096098                           BAT[1], BCH[1.03764067], BRZ[3], CUSDT[4], DOGE[2079.32789055], ETHW[1.94831603], SHIB[3], TRX[5], USD[5323.44], USDT[1]

08096102                           USD[500.00]

08096112                           DOGE[416.583], LINK[3.6], SOL[.47], USD[46.89]

08096122                           ETH[.00000001], ETHW[4.10176941], USD[19.92]

08096123                           AAVE[0], BTC[0], DOGE[0], ETH[0.00000192], ETHW[0], GRT[0], LINK[0], MATIC[0], MKR[0], NFT (299784949618398553/Medallion of Memoria)[1], NFT (426339045470882896/The Reflection of Love   Yes
                                   #4299)[1], NFT (511230757944583567/The Hill by FTX #5411)[1], SHIB[67.10688005], SOL[0], SUSHI[0], TRX[1], USD[0.00], YFI[0]
08096129                           USD[9.63]

08096134                           BAT[1.01395023], CUSDT[2], DOGE[1], USD[0.00]                                                                                                                                             Yes

08096139                           SHIB[799240], USD[1.21]

08096147                           USD[2500.00]

08096149                           USD[0.56]

08096154                           BAT[0], BCH[0], BTC[0.00000002], ETH[0.00000192], ETHW[0], GRT[1], LTC[0], MATIC[0], PAXG[0.00000156], SHIB[51], SOL[0], USD[0.01], USDT[0.00000927]                                      Yes

08096159                           BRZ[1], DOGE[1], GRT[1], USD[4162.04]                                                                                                                                                     Yes

08096166                           USD[1.33]

08096173                           CUSDT[2], DOGE[2], ETH[0.00001444], ETHW[0.00001444], GRT[1.0001826], SHIB[1], SOL[.00003927], TRX[2], USD[0.00]                                                                          Yes

08096178                           USD[30.00]

08096181                           BTC[.1413666], MATIC[839.52], SHIB[100000], SOL[68.31699], USD[-2195.57]

08096193                           CUSDT[1], ETH[.01177298], ETHW[.0116225], USD[0.00]                                                                                                                                       Yes

08096200                           SOL[0.01303508], USD[0.00]

08096205                           BTC[0.01950455], ETH[.2377739], ETHW[.2377739], LINK[6.99335], USD[24.11]
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                                                                                                                                            Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08096208                              NFT (302069364627809312/Astral Apes #915)[1], NFT (312915965087311329/Astral Apes #2302)[1], NFT (313975283235954278/ApexDucks #2799)[1], NFT (316001268715013301/Astral Apes                Yes
                                      #3197)[1], NFT (334977406266958187/ApexDucks #7455)[1], NFT (382721307493756308/ApexDucks Halloween #2283)[1], NFT (390047824250278338/Astral Apes #2092)[1], NFT
                                      (414239469438786365/Momentum #322)[1], NFT (443779487949963455/DRIP NFT)[1], NFT (474454949496900963/DRIP NFT)[1], NFT (502684315090499833/ApexDucks Halloween #446)[1], NFT
                                      (508237151937390107/Astral Apes #889)[1], NFT (516579199488206296/Momentum #250)[1], NFT (520469315200988753/Astral Apes #3211)[1], NFT (520794717248356734/3D CATPUNK #4723)[1],
                                      NFT (529216199700840445/Momentum #383)[1], NFT (552935228145888526/DRIP NFT)[1], NFT (555335442119985187/Astral Apes #2563)[1], NFT (558269187709245748/Astral Apes #761)[1],
                                      SHIB[1], SOL[0.03978303]
08096211                              BTC[.00041782], CUSDT[6], ETH[.00646025], ETHW[.00637817], SOL[1.78009249], TRX[2], USD[0.00]                                                                                                Yes

08096212                              DOGE[1], SHIB[1], SOL[6.15224093], TRX[1], USD[733.13]                                                                                                                                       Yes

08096215                              CUSDT[2], DOGE[340.95939831], SHIB[295851.15773582], SUSHI[2.19295855], USD[0.00]                                                                                                            Yes

08096217       Contingent, Disputed   USD[0.01], USDT[0]

08096221                              DOGE[1], SOL[2.41509198], USD[0.00]                                                                                                                                                          Yes

08096225                              BTC[0], USD[1000.04]

08096228                              USD[541.31]                                                                                                                                                                                  Yes

08096239                              CUSDT[2], USD[0.00]

08096241                              USD[0.00]

08096242                              BAT[1], DOGE[814.12733506], SHIB[1], SOL[5.34613405], USD[0.01]

08096260                              ETH[.00937458], ETHW[.00925769], USD[0.00]                                                                                                                                                   Yes

08096261                              DOGE[74.89897685], ETH[.00004072], ETHW[.00004072], MATIC[8.66091288], SHIB[456629.20843255], USD[0.00]                                                                                      Yes

08096268                              KSHIB[9990], USD[0.30]

08096273                              CUSDT[1], KSHIB[916.76482928]                                                                                                                                                                Yes

08096277                              CUSDT[1], ETH[.03619306], ETHW[.03574162], SHIB[1], TRX[191.69622619], USD[0.00]                                                                                                             Yes

08096279                              BAT[.01112995], CUSDT[2], DOGE[2], MATIC[.00371531], SHIB[256.77241645], TRX[2], USD[0.01]                                                                                                   Yes

08096297                              NFT (387931932827266409/Barcelona Ticket Stub #763)[1], NFT (402123391491352886/Saudi Arabia Ticket Stub #2321)[1], NFT (503546910939792635/Silverstone Ticket Stub #218)[1], USD[5021.52]

08096300                              USD[500.01]

08096313                              BTC[.000094], USD[99.79]

08096314                              USD[0.00]

08096324                              AVAX[1.8293151], DOGE[1], SOL[6.24614338], TRX[1], USD[0.00]                                                                                                                                 Yes

08096326                              BTC[0.00000001], ETH[0]

08096330                              ETH[.00000001], ETHW[.00000001], USD[0.01]

08096335                              BRZ[1], CUSDT[1], DOGE[1], GRT[1], LINK[.00067237], SHIB[3], TRX[1], USD[0.05]                                                                                                               Yes

08096341                              SOL[.47497218], TRX[2], USD[0.02]                                                                                                                                                            Yes

08096344                              BTC[.00030776], CUSDT[2], DOGE[62.44275975], SHIB[295419.53412403], USD[0.00]                                                                                                                Yes

08096345                              BRZ[1], CUSDT[3], LINK[3.31007865], MATIC[62.13345916], SHIB[1819175.09496088], SOL[4.34343267], TRX[1], USD[100.01]

08096355                              DOGE[.683], USD[1.50]

08096364                              CUSDT[1], USD[0.00]                                                                                                                                                                          Yes

08096378                              USD[200.01]

08096380                              CUSDT[4], DOGE[1], GRT[.00000247], SHIB[1], USD[0.00]                                                                                                                                        Yes

08096385                              BTC[.00182016], CUSDT[10], DOGE[392.96662225], ETH[.1627877], ETHW[.1623277], KSHIB[1014.85436778], MATIC[46.62475403], PAXG[.01429981], SHIB[995591.76209724], SOL[.4495185],               Yes
                                      TRX[240.36959823], USD[0.40], USDT[53.84362296]
08096388                              BRZ[1], ETHW[6.1350898], MATIC[8630.14375046], SHIB[.00000274], USD[0.00]                                                                                                                    Yes

08096392                              ETH[.243], ETHW[.243], SOL[4.15593089], USD[2.76]

08096394                              USD[10.00]

08096400                              USDT[.00515982]                                                                                                                                                                              Yes

08096407                              SHIB[3338.0298656], USD[0.00]

08096411                              USD[1.41]

08096412                              ETHW[.119], USD[146.43]

08096413                              BAT[15], USD[0.77]

08096432                              CUSDT[492.01620778], DOGE[1], MATIC[9.18906015], SHIB[685.24396996], USD[0.00]                                                                                                               Yes

08096445                              SHIB[1], TRX[715.63933094], USD[0.00]

08096450                              TRX[.000001], USDT[9]

08096453       Contingent, Disputed   BTC[0], USD[0.00]                                                                                                                                                                            Yes

08096459                              CUSDT[4], USD[0.00]                                                                                                                                                                          Yes

08096460                              CUSDT[2], KSHIB[938.7848444], USD[0.00], USDT[49.7352785]

08096466                              CUSDT[1], USD[0.01]                                                                                                                                                                          Yes

08096477                              SOL[.1]

08096486                              DOGE[1], GRT[2060.83925574], SHIB[1], SOL[.00019949], TRX[3], USD[0.00]                                                                                                                      Yes

08096488                              SHIB[0], USD[0.00]                                                                                                                                                                           Yes

08096491                              SOL[5.9021]

08096497                              BTC[0], LINK[.00000001], MATIC[0], SHIB[0], SOL[0], USD[0.00]                                                                                                                                Yes

08096499                              SOL[.19], USD[2.09]

08096500                              BRZ[1], BTC[.01977881], CUSDT[1], DOGE[409.12817354], USD[0.22]                                                                                                                              Yes
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                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08096501                              BAT[0.47308513], BTC[.00001269], USD[0.17]

08096502                              ETH[.21565156], ETHW[0.21565155]

08096503                              USD[108.26]                                                                                                                                                                         Yes

08096505                              CUSDT[2], DOGE[1], LTC[.39849015], SOL[1.77765842], USD[0.00]                                                                                                                       Yes

08096514                              CUSDT[6], KSHIB[0], SHIB[0], USD[0.00]                                                                                                                                              Yes

08096520                              AVAX[5.48780822], BRZ[1], BTC[.00357593], CUSDT[494.52292284], DOGE[8.00921072], ETH[.84594265], ETHW[.78189167], LINK[3.46988206], SHIB[125560476.84966911], SOL[4.47620796],      Yes
                                      TRX[180.40944906], USD[88.69]
08096528                              LINK[3.1], USD[0.35]

08096533                              BTC[.0003842], CUSDT[2], ETH[.00695393], ETHW[.00687185], USD[0.00]                                                                                                                 Yes

08096534                              SOL[12.65]

08096562                              USD[0.01]

08096564                              USD[0.01]

08096569                              DOGE[1], MATIC[334.00644141], USD[0.24]                                                                                                                                             Yes

08096574                              ETH[.01943807], ETHW[.01943807], MATIC[3.13041369], SOL[.55654541], USD[0.00]

08096575                              ETH[.00000001], ETHW[.00000001], SHIB[4.30792945], USD[0.01], USDT[0.00018313]                                                                                                      Yes

08096577                              TRX[1], USD[0.03]                                                                                                                                                                   Yes

08096586                              NFT (363399989455849714/FTX - Off The Grid Miami #6197)[1]

08096590                              BTC[0.00000001], ETH[.00000001], ETHW[0], NFT (402770063862289041/Baddies #2929)[1], SOL[0], USD[0.00]

08096591                              CUSDT[1], NFT (320913685846347312/Mech #4015)[1], SOL[.00000868], USD[0.00]                                                                                                         Yes

08096595                              SHIB[1862544.23542559], USD[0.00]

08096601                              AAVE[0.00001076], ALGO[0], AVAX[0], BCH[0.00000850], BTC[0], ETH[0.00001288], ETHW[0.00001288], GRT[21427.44482351], LINK[0], LTC[0], MATIC[0.00773525], NFT                         Yes
                                      (306406414377203688/GalaxyKoalas # 553)[1], NFT (329085041460551800/MagicEden Vaults)[1], NFT (347749845706685482/Frog #5118)[1], NFT (347936972836491853/Space Bums #8186)[1], NFT
                                      (371503795192921329/Cyber Frogs Ramen)[1], NFT (376563194047712712/Space Bums #1503)[1], NFT (390789026989484421/DOGO-ID-500 #5989)[1], NFT (391264863091912267/Joe Theismann's
                                      Playbook: Washington vs. Chicago Bears - September 29, 1985 #75)[1], NFT (393109279005949951/Golden bone pass)[1], NFT (402161764688139931/Elysian - #472)[1], NFT
                                      (407313607895350949/MagicEden Vaults)[1], NFT (418288145949213039/DOTB #2133)[1], NFT (444886687609231442/Tommy Gun)[1], NFT (449878324421795697/DOTB #8722)[1], NFT
                                      (489843782998086577/DOTB #8301)[1], NFT (495726616581748242/MagicEden Vaults)[1], NFT (499482677945944633/Joe Theismann's Playbook: Washington vs. Chicago Bears - September 29,
                                      1985 #74)[1], NFT (500151506295888101/Shannon Sharpe's Playbook: Denver Broncos vs. Los Angeles Raiders - January 9, 1994 #77)[1], NFT (500762367535241871/MagicEden Vaults)[1], NFT
                                      (516263908025472662/Doak Walker's Playbook: SMU vs. Santa Clara - September 27, 1947 #84)[1], NFT (516882298144165674/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears -
                                      November 16, 1980 #144)[1], NFT (517775853545005773/DOTB #3881)[1], NFT (529883944262341876/Frog #4885)[1], NFT (565938120556021264/MagicEden Vaults)[1], SHIB[14], SOL[0], TRX[1],
                                      USD[12.31], USDT[0.00000001]
08096606                              CUSDT[1], SHIB[3512593.41209264], USD[0.00]                                                                                                                                          Yes

08096608                              USD[1.00]

08096613                              DOGE[3085.911], SHIB[151328700], USD[510.48]

08096615                              USD[0.01]

08096625                              USD[0.00]                                                                                                                                                                           Yes

08096626                              BTC[.00275371], CUSDT[2], DOGE[1], ETH[.02294907], ETHW[.02266179], USD[21.49]                                                                                                      Yes

08096627                              BTC[.00159464], CUSDT[1], DOGE[1], ETH[.08961116], ETHW[.08856987], USD[0.00]                                                                                                       Yes

08096630       Contingent, Disputed   USD[2.71]

08096634                              USD[0.01]

08096636                              BTC[.00003199]

08096639                              CUSDT[1], NFT (467378350899010282/pixel man #4)[1], NFT (509354075818548888/Evil robo)[1], TRX[174.00487097], USD[0.05]

08096651                              CUSDT[6], DOGE[231.93011654], SHIB[4080910.17304395], USD[0.00]

08096655                              CUSDT[2], ETH[.14699021], ETHW[.14611437], USD[0.00]                                                                                                                                Yes

08096657                              USD[2.41]

08096660                              USD[0.40]

08096677                              BTC[.00859593], DOGE[1912.6900011], ETH[.14034616], ETHW[.14034616], SOL[2.64154694], USD[0.00]

08096690                              SOL[1.80176696], TRX[1], USD[0.00]                                                                                                                                                  Yes

08096697                              SOL[0], USD[0.16], USDT[0]

08096719                              CUSDT[3], DOGE[1], KSHIB[553.34840348], TRX[916.6794627], USD[5.42]                                                                                                                 Yes

08096722                              LTC[.00090631], SHIB[200526.84911024]

08096729                              BTC[.0000484], SHIB[3], USD[909.15]                                                                                                                                                 Yes

08096736                              USD[0.81]

08096737                              CUSDT[1], SHIB[1087518.70635354], USD[0.06]                                                                                                                                         Yes

08096750                              NFT (437681090790453769/Eliette, the Condemned)[1], NFT (521061063788208805/Sollama)[1]

08096758                              BAT[1], SHIB[1], TRX[1], USD[0.01]                                                                                                                                                  Yes

08096761                              BTC[0], USD[0.01]

08096771                              ETH[0.06878574], ETHW[0.06878574], SOL[0], USD[0.00]

08096777                              LINK[1], USD[0.00]

08096781                              USD[541.29]                                                                                                                                                                         Yes

08096783                              BTC[.00203462], ETH[.00799547], ETHW[.00799547]

08096789                              ALGO[.00362006], BTC[0.00001660], DOGE[.68292559], ETH[.00002941], ETHW[.00000694], LINK[0.00020490], MATIC[0], SHIB[49], USD[0.00], USDT[0.00004403]                               Yes

08096790                              USD[73.16]

08096794                              TRX[.000001], USD[0.01], USDT[0]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08096795                           BRZ[1], DOGE[1], SHIB[7980733.89198996], USD[0.00]

08096806                           BTC[.06373811], ETH[1.2423342], ETHW[1.2423342], USD[0.00]

08096811                           SOL[5.61905188], USD[0.00]

08096823                           USD[21.65]                                                                                                                                                                       Yes

08096832                           BRZ[4], CUSDT[18], DOGE[3], GRT[29.60039984], NFT (422838441345579416/Founding Frens Investor #472)[1], NFT (497208153627579451/Founding Frens Investor #523)[1], SHIB[9],       Yes
                                   SOL[.59724639], TRX[9], USD[0.01]
08096836                           ETH[.00000002], ETHW[.00000002], LTC[.00000024], USD[20.85]                                                                                                                      Yes

08096840                           USD[30.00]

08096846                           CUSDT[1], USD[0.00], USDT[0]                                                                                                                                                     Yes

08096874                           BTC[0.00586553], USD[0.00]                                                                                                                                                       Yes

08096877                           BTC[.00190368], DOGE[1], USD[0.00]                                                                                                                                               Yes

08096879                           USD[20.00]

08096886                           BTC[.00024469], USD[0.01]

08096887                           BTC[1.60972224], DOGE[1], LINK[31.33010045], LTC[26.26822332], USD[0.00]                                                                                                         Yes

08096888                           BRZ[1], CUSDT[6], ETH[.1246857], ETHW[.12353635], NFT (360471150530212985/First 50 #3)[1], USD[0.00]                                                                             Yes

08096897                           BTC[0.00001364], ETH[0], USD[0.01]

08096900                           CUSDT[2], NFT (306563625251681544/Oblavo)[1], NFT (384781869129836177/HERO NAKAMURA)[1], NFT (444471467912250613/Lion King series 1)[1], USD[0.00]

08096902                           DOGE[1], ETH[.85543608], ETHW[.85456347], SHIB[2], SOL[.0001288], USD[263.11]                                                                                                    Yes

08096909                           BTC[0], ETH[0], LINK[0], MATIC[0], USD[1199.68], USDT[0.00000001]

08096910                           CUSDT[1], ETHW[.01674843], SHIB[3], TRX[1], USD[0.00]

08096911                           DOGE[2031.968], LINK[78.2], SHIB[37371600], USD[0.12]

08096913                           BTC[.00767432], USD[0.00]

08096930                           BTC[0.00595504], CUSDT[1], MATIC[.0017151], TRX[1], USD[0.00]                                                                                                                    Yes

08096931                           CUSDT[2], SHIB[16.00189429], SOL[.00000019], USD[0.32]                                                                                                                           Yes

08096934                           AVAX[.1], BTC[0.00359838], ETH[.02699145], ETHW[.02699145], LINK[1.69924], MATIC[19.9905], SOL[.34], USD[128.46]

08096942                           DOGE[0], ETH[0], KSHIB[0], MATIC[0], SHIB[30.73652410], SOL[0], TRX[0], USD[0.00], USDT[0]                                                                                       Yes

08096949                           CUSDT[6], ETH[0], USD[0.00], USDT[0]                                                                                                                                             Yes

08096955                           CUSDT[1], SOL[.02178017], USD[0.00]                                                                                                                                              Yes

08096971                           BTC[.00046459], DOGE[1], USD[0.00]

08096974                           TRX[7604.022368]

08096978                           CUSDT[3], DOGE[81.78220994], SHIB[46823136.05121687], TRX[2], USD[0.00]                                                                                                          Yes

08096998                           USD[0.00]

08096999                           TRX[1], USD[0.00]                                                                                                                                                                Yes

08097002                           USD[10.63]

08097016                           NFT (412290213523125714/Solana Islands #1647)[1], USDT[0]

08097020                           USD[0.00]

08097026                           BRZ[1], LINK[1.08256467], SOL[1.19067284], USD[0.00]                                                                                                                             Yes

08097030                           BRZ[3], CUSDT[39], DOGE[3], ETH[.00000065], ETHW[0.00000064], GRT[3.06974877], SHIB[0], TRX[2.00447660], UNI[0.00002556], USD[0.00], USDT[0]                                     Yes

08097034                           SHIB[7095300], USD[14.46]

08097037                           BTC[.0033], ETH[.1158898], ETHW[.1158898], SOL[2.9981], USD[2.92]

08097042                           USD[2.85]

08097044                           BF_POINT[700], SHIB[.00000001], USD[1800.56]                                                                                                                                     Yes

08097054                           USD[0.01]                                                                                                                                                                        Yes

08097056                           CUSDT[3], DOGE[220.93601015], GRT[48.80268767], KSHIB[1871.35273352], TRX[1.00405817], USD[0.00]                                                                                 Yes

08097060                           BRZ[295.20989723], CUSDT[2], DOGE[1], TRX[1332.21179487], USD[0.00]                                                                                                              Yes

08097080                           USD[0.53]

08097082                           USD[0.00]                                                                                                                                                                        Yes

08097087                           BTC[0], USD[0.01]                                                                                                                                                                Yes

08097098                           NFT (402895642472912839/FTX - Off The Grid Miami #5485)[1], NFT (544413209376104320/Bahrain Ticket Stub #246)[1]

08097115                           MATIC[1.48702202], SHIB[633984.0541991], USD[0.02]                                                                                                                               Yes

08097122                           CUSDT[1], ETH[.00000007], ETHW[.00000007], USD[0.00]                                                                                                                             Yes

08097123                           BTC[.00085477], CUSDT[1], USD[0.01]                                                                                                                                              Yes

08097125                           CUSDT[1], SOL[2.31663464], USD[0.00]

08097126                           DOGE[40.92911914], USD[0.00]                                                                                                                                                     Yes

08097137                           USD[1.08]                                                                                                                                                                        Yes

08097139                           BTC[.00005032], ETH[.00021279], ETHW[.00021279], USD[0.00]

08097140                           USD[0.01], USDT[0]                                                                                                                                                               Yes

08097146                           AAVE[.00000179], BRZ[.0005414], CUSDT[20.0086287], DOGE[252.07248716], KSHIB[475.94883201], LTC[.0000006], MKR[.00203539], SHIB[30750786.52847523], SOL[0], SUSHI[9.36390995],   Yes
                                   UNI[.0000087], USD[0.00], YFI[0.00150008]
08097155                           TRX[.000174], USD[0.06], USDT[.00189987]
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                                                                                                                                            Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08097157                              CUSDT[1], USD[0.00]

08097160                              CUSDT[1], DOGE[26.50765306], KSHIB[282.68194305], SUSHI[.00442178], TRX[44.26915041], USD[10.73]

08097175                              CUSDT[1], SHIB[2043930.94221256], USD[0.00]                                                                                                                                        Yes

08097180                              ETH[.00081106], ETHW[.00079775], SOL[0], TRX[1], USD[0.37], USDT[0.00333916]                                                                                                       Yes

08097187                              USD[0.01]                                                                                                                                                                          Yes

08097195                              USD[0.40]

08097196                              USD[12.85]                                                                                                                                                                         Yes

08097199                              BTC[.00012835], CUSDT[245.46968307], LINK[2.8944213], SHIB[4], SOL[.24892678], TRX[1], USD[9.16], USDT[51.11034733]                                                                Yes

08097210                              CUSDT[4], TRX[1], USD[0.00]                                                                                                                                                        Yes

08097228                              CUSDT[1], TRX[194.75554478], USD[0.00]

08097230                              MATIC[.56050472], USD[0.00]                                                                                                                                                        Yes

08097233                              BTC[.08534806], USD[2.90]                                                                                                                                                          Yes

08097241                              CUSDT[1], ETH[.04541419], ETHW[.04485331], USD[0.01]                                                                                                                               Yes

08097242                              NFT (322202981979597168/Saudi Arabia Ticket Stub #1355)[1]

08097259                              USD[20.00]

08097260                              LINK[.0007794], USD[0.00]                                                                                                                                                          Yes

08097262                              USDT[.6033223]

08097268                              SHIB[.00000003]                                                                                                                                                                    Yes

08097277                              CUSDT[3], DOGE[22.34680569], TRX[194.87918317], USD[0.00]                                                                                                                          Yes

08097279                              DOGE[186.49867167], USD[0.00], USDT[0]

08097280                              CUSDT[1], USD[0.00]                                                                                                                                                                Yes

08097285                              ETH[.01089864], ETHW[0.01089863]

08097311       Contingent, Disputed   DAI[.99504233], USD[0.00]                                                                                                                                                          Yes

08097320                              USD[10.83]                                                                                                                                                                         Yes

08097322                              KSHIB[179.829], SOL[.039962], TRX[43.9582], USD[0.01], USDT[1.1559]

08097329                              BTC[.00007732], USD[0.00]                                                                                                                                                          Yes

08097335                              USD[0.00]

08097359                              SOL[.00001], USD[0.00]

08097372                              DOGE[1], USD[0.00]                                                                                                                                                                 Yes

08097380                              CUSDT[1], SOL[.02400302], USD[0.00]                                                                                                                                                Yes

08097390                              TRX[1], USD[0.00]

08097397                              USD[2.29]

08097398                              BTC[.00000006], SHIB[3], USD[0.00], USDT[1.05372976]                                                                                                                               Yes

08097401                              DOGE[1606], USD[0.21]

08097403                              BRZ[295.20450541], CUSDT[1], SHIB[1017238.22006766], SOL[.07017345], TRX[1], USD[0.00]                                                                                             Yes

08097428       Contingent, Disputed   BAT[0], BCH[0], BRZ[0], BTC[0], CAD[0.00], ETH[0], GBP[0.00], LTC[0.02826973], SOL[.00000001], TRX[0.00003225], UNI[0], USD[0.00]                                                  Yes

08097431                              CUSDT[1], SHIB[374111.48522259], USD[0.00]

08097455                              SOL[.00000001], TRX[1], USD[0.00]                                                                                                                                                  Yes

08097474                              LINK[4], MATIC[30], NEAR[7.7], SOL[1], USD[0.76]

08097475                              BTC[.00241477], SHIB[1579195.14649242], SOL[2.15181727], TRX[1], USD[0.00]                                                                                                         Yes

08097492                              USD[20.00]

08097501                              MATIC[10], SHIB[100000], USD[0.76]

08097505                              LTC[.24975], NFT (369287584325758771/Nifty Nanas #1683)[1], NFT (400582518735313283/Nifty Nanas #5489)[1], NFT (459304743556906427/Nifty Nanas #6709)[1], NFT
                                      (536040444421557758/Nifty Nanas #4223)[1], NFT (539910495230061118/Nifty Nanas #1538)[1], SHIB[7494400], SOL[.29921], SUSHI[7.4925], TRX[446.553], USD[0.02]
08097534                              USD[10.83]                                                                                                                                                                         Yes

08097550                              NFT (302476055493192913/Rasta Franz)[1], NFT (326720808117471261/Dora Dog #4)[1], NFT (333782923511770300/Tina Turtle #3)[1], NFT (341129919864087973/BlacknWhite Franz)[1], NFT
                                      (352657674900275858/Frank #4)[1], NFT (353733385990782317/The Panda)[1], NFT (364921898347945300/Peter Panda #4)[1], NFT (391430327648079749/The Tiger)[1], NFT
                                      (391437307485055569/Andi Ape #3)[1], NFT (426160090785758982/My Cat #2)[1], NFT (435822330842591065/Ben#2)[1], NFT (440777382490020208/Ella Elephant #2)[1], NFT
                                      (443661351366805895/Walter Wolf)[1], NFT (449651479321839063/Kevin Kangaroo #4)[1], NFT (472107960030422406/Timmi Turtle #5)[1], NFT (488555916378119539/My Cat #5)[1], NFT
                                      (501755338861650392/My Cat #1)[1], NFT (503142593462428318/The Giraffe)[1], NFT (505907993245965046/Mushroom Franz)[1], NFT (520080217933805390/My Cat #3)[1], NFT
                                      (548090498271977172/My Cat #4)[1], SOL[0], TRX[.000066], USD[0.22], USDT[0]
08097554                              TRX[1], USD[2.61]                                                                                                                                                                  Yes

08097565                              BRZ[1], CUSDT[1], SHIB[34.32715269], USD[0.01]                                                                                                                                     Yes

08097566                              BTC[.00001559], USD[5.41]                                                                                                                                                          Yes

08097568                              USD[0.00]

08097581                              CUSDT[2], SHIB[4540394.32982585], USD[0.04]                                                                                                                                        Yes

08097591                              BAT[1], BRZ[2], BTC[0], DOGE[4], ETH[1.99998835], ETHW[2.99998835], GRT[1], MATIC[1], SHIB[2], TRX[6.011309], USD[0.00], USDT[1.00000001]

08097592                              CUSDT[8], DOGE[1], KSHIB[2297.76020061], SHIB[.00000001], TRX[3], USD[0.00]                                                                                                        Yes

08097600                              SOL[0], USD[0.00]

08097609                              SOL[0]

08097616                              USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08097630                              SHIB[1838092.43851459]                                                                                                                                                                Yes

08097632                              USD[0.00]

08097635                              USD[0.00]

08097643                              BRZ[3], CUSDT[1], DOGE[.00006404], SHIB[82105.2498939], SOL[.00000006], USD[0.00]                                                                                                     Yes

08097650       Contingent, Disputed   BCH[.000999], DOGE[.113], ETH[.00065], ETHW[.00065], NFT (464060910140543387/Vintage Sahara #696)[1], USD[123.21]

08097677                              DOGE[1], ETHW[2.48546244], SHIB[1], TRX[1], USD[0.00]                                                                                                                                 Yes

08097683                              DOGE[2], ETH[.01519333], ETHW[0.01500180], NFT (367381884803055295/ApexDucks #2623)[1], NFT (368468627157009554/ApexDucks #217)[1], SOL[0.12515849], TRX[1], USD[0.00]                Yes

08097693                              NFT (478190372120172719/Eitbit Ape #2039)[1], SOL[.00000001], USD[0.00], USDT[1.00136155]                                                                                             Yes

08097694                              CAD[19.97], USD[5.43]                                                                                                                                                                 Yes

08097697                              CUSDT[2], SHIB[883814.696996], TRX[192.68245969], USD[0.00]

08097703                              USD[10.83]                                                                                                                                                                            Yes

08097714                              BTC[0], LTC[0.00000035], MXN[0.00], SHIB[1.42853712]                                                                                                                                  Yes

08097717                              ALGO[0], BF_POINT[300], BTC[0], DOGE[0], ETH[0], ETHW[0], MATIC[0], NEAR[0], SOL[0], USD[0.00], USDT[0.00000001]                                                                      Yes

08097731                              USD[0.80]

08097735                              CUSDT[2], ETH[0], ETHW[0], SOL[0], TRX[0], USD[0.00]                                                                                                                                  Yes

08097737                              USD[20.00]

08097741                              NFT (525888619563932648/Cat is in Love)[1], SOL[.001]

08097746                              CUSDT[1], KSHIB[478.07203111], USD[0.51]                                                                                                                                              Yes

08097749                              CUSDT[1], DOGE[2], TRX[1], USD[0.01]

08097754                              USD[0.01]                                                                                                                                                                             Yes

08097764                              ETH[.10270581], ETHW[0.10270581]

08097769                              SOL[8.18255305], USD[0.00]

08097770                              USD[9382.28]

08097778                              BTC[.00083132], DOGE[1], USD[0.01]

08097780                              AAVE[.007764], AVAX[0], MKR[.0003426], SOL[23.9526145], USD[2.57]

08097792                              SOL[30.18919569], USD[3001.26]

08097794                              USD[0.82]

08097800                              SOL[0]

08097804                              USDT[62.67758209]

08097811                              BTC[.0003217], CUSDT[1], USD[0.00]

08097814                              CUSDT[1], TRX[86.1960403], USD[0.00]

08097818                              CUSDT[1], DOGE[3], SOL[.00001527], USD[0.00]                                                                                                                                          Yes

08097831                              SHIB[410424.82797573]                                                                                                                                                                 Yes

08097836                              CUSDT[13], DAI[107.62359576], DOGE[1], SOL[1.07726873], USD[94.50]                                                                                                                    Yes

08097843                              SOL[0]

08097847                              CUSDT[1], SOL[2.02285796], USD[54.14]                                                                                                                                                 Yes

08097848                              BTC[.0075], SHIB[2500000], USD[0.01]

08097850                              NFT (288354283052244191/Idlekids #2088)[1], NFT (295181308309466566/Idlekids #3723)[1], NFT (299540191782106170/Idlekids #3907)[1], NFT (308365655551866431/Idlekids #7421)[1], NFT
                                      (312265189612892552/Meta Impression #4)[1], NFT (315595177932082564/Idlekids #2044)[1], NFT (320956428990244713/Idlekids #3558)[1], NFT (324870074753317700/Idlekids #8671)[1], NFT
                                      (327392197478923314/Idlekids #8551)[1], NFT (330291340849033099/Idlekids #6920)[1], NFT (332780765801802292/Idlekids #8013)[1], NFT (336333414943808541/Idlekids #8703)[1], NFT
                                      (337759350217533729/Idlekids #6156)[1], NFT (344431802563104224/Idlekids #7145)[1], NFT (346349518613536159/Idlekids #2646)[1], NFT (346425909955843376/Idlekids #9333)[1], NFT
                                      (347099065111532434/Idlekids #2738)[1], NFT (353243729286017900/Loria)[1], NFT (356187208264332555/Idlekids #1672)[1], NFT (357389197999821528/Idlekids #8599)[1], NFT
                                      (357901155954561245/Idlekids #4653)[1], NFT (361761358520051927/Idlekids #2874)[1], NFT (367559825428226684/Idlekids #7176)[1], NFT (370588301729855479/Meta Impression #3)[1], NFT
                                      (371630543214383382/Idlekids #7822)[1], NFT (372496648309127586/Idlekids #1853)[1], NFT (372937186586360457/Idlekids #7217)[1], NFT (374662996024668306/Idlekids #4509)[1], NFT
                                      (377956187763294874/Idlekids #4359)[1], NFT (386504639732966973/Idlekids #627)[1], NFT (386750896203749397/Idlekids #2873)[1], NFT (386955342761853312/Idlekids #5103)[1], NFT
                                      (389991065070632333/Idlekids #5358)[1], NFT (391821727836727307/Idlekids #2220)[1], NFT (397665474441617222/Idlekids #9066)[1], NFT (399360736812507191/Idlekids #673)[1], NFT
                                      (405768429705734611/Idlekids #8130)[1], NFT (406509680021336906/Idlekids #9753)[1], NFT (407716184226401389/Idlekids #6207)[1], NFT (414723073688101656/Idlekids #890)[1], NFT
                                      (415841671484967721/Idlekids #5117)[1], NFT (417771986386094225/Idlekids #6554)[1], NFT (420581995075206022/Idlekids #5308)[1], NFT (424259978946658563/Idlekids #4703)[1], NFT
                                      (428945829881691664/Idlekids #5318)[1], NFT (429738456085815368/Idlekids #5211)[1], NFT (430030167083203707/Idlekids #1681)[1], NFT (430490443485819337/Idlekids #4407)[1], NFT
                                      (430848890794132426/Idlekids #7293)[1], NFT (436715945779738636/Idlekdis #826)[1], NFT (439209018702186637/Idlekids #883)[1], NFT (442219734596747034/Idlekids #2553)[1], NFT
                                      (445615234301197062/Idlekids #3094)[1], NFT (447010389106678187/Idlekids #7457)[1], NFT (447925561001890509/Meta Impression #6)[1], NFT (452581233355724882/Idlekids #2985)[1], NFT
                                      (453583970967629469/Idlekids #1626)[1], NFT (455138389952888583/Idlekids #611)[1], NFT (455931946595592117/Idlekids #8343)[1], NFT (457167485194887266/Idlekids #2695)[1], NFT
                                      (459001184016429436/Idlekids #3701)[1], NFT (459767165306116234/Idlekids #9892)[1], NFT (459950866444531918/Idlekids #5694)[1], NFT (461848912344788836/Idlekids #6247)[1], NFT
                                      (464082202003503454/Idlekids #3306)[1], NFT (467215522869042945/Idlekids #1791)[1], NFT (468597537024172900/Idlekids #3676)[1], NFT (469898544124383032/Idlekids #8688)[1], NFT
                                      (473518886419186649/Idlekids #7876)[1], NFT (482994930528679523/Idlekids #4420)[1], NFT (484162473145168013/Idlekids #8833)[1], NFT (487460319185575277/Idlekids #2724)[1], NFT
                                      (492460610025045890/Idlekids #1825)[1], NFT (495201418584321934/Idlekids #5156)[1], NFT (495463273150472734/Idlekids #3020)[1], NFT (495515828314666533/Idlekids #3090)[1], NFT
                                      (496351741344684159/Idlekids #2710)[1], NFT (497277814493767700/Idlekids #896)[1], NFT (500735370755795090/Idlekids #2182)[1], NFT (507077585005518389/Idlekids #4716)[1], NFT
                                      (507229993253896693/Dani)[1], NFT (508559651183514887/Idlekids #3748)[1], NFT (509917088088475536/Idlekids #9194)[1], NFT (512237831460487657/Idlekids #1245)[1], NFT
                                      (512350191927111072/Idlekids #7611)[1], NFT (512419666630868270/Idlekids #3886)[1], NFT (513644491765616426/Idlekids #4053)[1], NFT (514725747804497827/Idlekids #4235)[1], NFT
                                      (521741995220024070/Idlekids #6042)[1], NFT (523515757566613056/Idlekids #7770)[1], NFT (526789968550890483/Idlekids #3553)[1], NFT (532597578846684486/Idlekids #2378)[1], NFT
                                      (533170117736503239/Idlekids #1713)[1], NFT (533447730855234742/Idlekids #4377)[1], NFT (533952253363888854/Idlekids #7830)[1], NFT (534652315445299054/Idlekids #7719)[1], NFT
                                      (539516855540207211/Idlekids #1377)[1], NFT (551279803597477573/Idlekids #6462)[1], NFT (551355800404454414/Idlekids #7643)[1], NFT (552105485105280712/Idlekids #2727)[1], NFT
                                      (555402573546564640/Idlekids #6577)[1], NFT (557593126563142416/Idlekids #3871)[1], NFT (558033692397874799/Idlekids #1887)[1], NFT (558580991131048919/Idlekids #2481)[1], NFT
                                      (563877687148809878/Idlekids #6135)[1], NFT (571272237458469044/Idlekids #1725)[1], NFT (574433181692548693/Idlekids #3473)[1], SOL[.00692], USD[0.05]

08097855                              USD[1.10]

08097860                              USD[100.00]

08097872                              BRZ[1], NFT (421744263587088228/NOFUDS 1-3)[1], NFT (462865356950311600/alien undead #11)[1], NFT (550918036416813980/Acid rauss #11)[1], SHIB[1], USD[382.01]                        Yes
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                                                                                                                                  Unsecured          Page 1037 of 1384
                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08097878                              USD[0.00]

08097894                              BAT[3.91429476], BCH[.01146143], BTC[.00020262], DOGE[57.45765204], LINK[.2570741], MATIC[2.07961185], SHIB[279591.55608704], TRX[1], USD[0.00]                                     Yes

08097898                              ETHW[.52521533]                                                                                                                                                                     Yes

08097899                              TRX[85.2955067], USD[0.00]

08097901                              USD[0.00]

08097916                              ETH[.0001104], ETHW[.0001104], SOL[0.00000002]

08097931                              DOGE[1], USD[0.00]

08097933                              BTC[.0008], LINK[.99905], MATIC[10], SOL[.1599145], USD[67.82]

08097935                              USD[32.47]                                                                                                                                                                          Yes

08097937                              USD[10.76]                                                                                                                                                                          Yes

08097947                              CUSDT[1], DOGE[1], ETH[22.18909878], ETHW[22.18240288], SOL[229.47153904], USD[0.00], USDT[1.03651509]                                                                              Yes

08097952                              BTC[0], ETH[0], SOL[0], USD[0.00], USDT[0]

08097954                              BAT[1.01416322], CUSDT[1], DOGE[1], ETH[.04546542], ETHW[.044904], LINK[4.69041394], SHIB[3049465.8868498], USD[0.06]                                                               Yes

08097965                              USDT[33]

08097968                              ETH[.005], ETHW[.235382], USD[2.01]

08097970                              BTC[0], ETH[0], SOL[0], USD[0.00]

08097972                              ETH[.00000001]

08097980                              MATIC[0], SOL[0.00206012], USD[0.00], USDT[0]

08097985                              BTC[.01802317], USD[2367.24]

08097987                              USDT[4]

08097990                              AVAX[22.8795708], BCH[4.59153695], BTC[0.42244423], ETH[5.77392037], ETHW[5.77392037], LTC[13.72213924], SOL[158.00588151], USD[0.00], USDT[0.00000150]

08097991                              ETH[.00000001], ETHW[0.02822908], SOL[.00000001], USD[0.00]                                                                                                                         Yes

08097994                              BRZ[1], CUSDT[1], SOL[1.18345415], TRX[1], USD[29.23]                                                                                                                               Yes

08097996                              BRZ[177.1129982], CUSDT[983.97697322], DOGE[83.0358093], KSHIB[563.37784832], SHIB[610200.38549945], TRX[1], USD[0.00]                                                              Yes

08098002                              BAT[13.86488101], CUSDT[4], DOGE[138.66963355], GRT[24.97870711], LINK[1.24741987], MATIC[22.55036888], NFT (573309244330003180/Petal to the Metal #11-Legend)[1], SOL[.1358341],   Yes
                                      SUSHI[11.34312587], TRX[163.17746923], USD[0.00]
08098010                              USDT[8]

08098015                              CUSDT[3], USD[0.00]                                                                                                                                                                 Yes

08098017                              CUSDT[2], DOGE[1], SHIB[1445077.94133671], USD[0.00], USDT[47.98480098]

08098018                              SOL[.07857503], USD[0.00]

08098022                              NFT (354523061616623480/Solninjas #2130)[1], NFT (364564503964456641/Toasty Turts #5342)[1], NFT (520630962063451970/Solninjas #8821)[1], NFT (570921427239434182/Gloom Punk        Yes
                                      #3698)[1], SOL[.04960993], TRX[1], USD[0.00]
08098024                              LINK[1], MATIC[9.99], SHIB[99900], USD[0.00]

08098028                              USDT[3]

08098033                              BTC[0], ETH[0], GRT[0], LINK[0], USD[0.00]                                                                                                                                          Yes

08098034       Contingent, Disputed   USD[0.00]                                                                                                                                                                           Yes

08098038                              BRZ[2], CUSDT[3], MATIC[144.50569241], SOL[3.20943118], SUSHI[21.16601441], USD[0.74]                                                                                               Yes

08098043                              ETH[.109], ETHW[.109], USD[26.16]

08098045                              BRZ[1], SHIB[4860448.02763209], TRX[1], USD[32.40]                                                                                                                                  Yes

08098046                              USD[0.61]                                                                                                                                                                           Yes

08098048                              USDT[22]

08098069                              USD[652.26]

08098073                              BAT[0.00000262], CUSDT[3], DOGE[2], GRT[1], MATIC[0.00003195], SOL[.00049234], TRX[1], USD[0.01]

08098099                              CUSDT[1], SHIB[388398.67497921], USD[0.00]                                                                                                                                          Yes

08098113                              SOL[2.25500646], TRX[1], USD[0.01]                                                                                                                                                  Yes

08098114                              ETH[.00055], ETHW[.00055]

08098117                              CUSDT[1], DOGE[81.884565], USD[0.00]                                                                                                                                                Yes

08098127                              DOGE[1], ETH[.13144562], ETHW[.13038396], USD[0.00]                                                                                                                                 Yes

08098131                              BTC[0.30060832], SOL[0], USD[0.00]

08098138                              BAT[20.989], DOGE[168], KSHIB[140], LTC[.04995], MATIC[10], SHIB[199800], USD[0.43]

08098148                              NFT (299047875372770645/2974 Floyd Norman - OKC 5-0195)[1], NFT (437847299830843258/Birthday Cake #2299)[1], NFT (504366506239358969/The 2974 Collection #2299)[1], USD[0.00]

08098151                              CUSDT[2], DOGE[2], USD[0.00]                                                                                                                                                        Yes

08098154                              SHIB[81433.2247557], USD[0.00]

08098156                              SOL[0], USD[0.02], USDT[0]                                                                                                                                                          Yes

08098166                              BCH[0], LTC[0], SHIB[3], TRX[0]                                                                                                                                                     Yes

08098175                              USD[2000.01]

08098176                              BTC[.0059931], CUSDT[3], ETH[.04685973], ETHW[.04627768], SHIB[2], SOL[1.10921559], TRX[1], UNI[.00002527], USD[0.93]                                                               Yes

08098178                              BCH[.30623289], BRZ[1], DOGE[3], SHIB[3], SOL[.86007479], USD[0.00]                                                                                                                 Yes

08098184                              BTC[.00000001], CUSDT[1], USD[0.00]                                                                                                                                                 Yes

08098191                              CUSDT[1], TRX[215.84366771], USD[0.00]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08098194                           DOGE[1623.71356851]                                                                                                                                                                    Yes

08098195                           ETH[.05283093], ETHW[.05283093], SHIB[1], USD[0.00]

08098204                           BTC[.00171683], ETH[.23201979], ETHW[.23201979], SOL[.71623424], USD[0.00]

08098208                           BTC[0.00009276], ETH[.02], ETHW[.02], USD[41.64], USDT[0.83083955]

08098210                           BTC[.00000002]                                                                                                                                                                         Yes

08098213                           CUSDT[1], SHIB[2012410.69444078], USD[0.00]                                                                                                                                            Yes

08098215                           AAVE[0], BTC[0], DOGE[1], ETH[0], LINK[0], MATIC[0], SHIB[2], SOL[0], TRX[2], USD[0.00], USDT[0]                                                                                       Yes

08098218                           USD[0.00]                                                                                                                                                                              Yes

08098224                           CUSDT[3], ETH[.00468115], ETHW[.00462643], SHIB[944445.7001755], USD[0.00]                                                                                                             Yes

08098235                           BAT[234.16554338]                                                                                                                                                                      Yes

08098243                           BTC[.00302451], CUSDT[3], USD[0.00]

08098246                           SOL[10.66932], USD[11.56]

08098248                           KSHIB[379.62], USD[1.19]

08098250                           DOGE[1], USD[0.15]

08098259                           USD[5.18]                                                                                                                                                                              Yes

08098274                           BTC[.0364], ETH[.229], ETHW[.229], SHIB[13400000], SOL[2.55], TRX[1103], USD[14.73]

08098276                           BTC[0.00020915], MATIC[0], USD[0.00]

08098278                           CUSDT[1], DOGE[1], TRX[1], USD[0.00]

08098287                           BTC[.00000669], DOGE[1], ETH[.00252831], ETHW[.00250095], USD[10.79]                                                                                                                   Yes

08098299                           GRT[1], TRX[2], USD[0.00]

08098304                           DOGE[0], USD[0.00]                                                                                                                                                                     Yes

08098309                           USD[2.99]

08098319                           USD[0.48]

08098320                           BAT[1], BRZ[1], DOGE[8.99834429], ETH[0], MATIC[0], NFT (317933603594660709/Tim Brown's Playbook: Michigan State vs. Notre Dame - September 19, 1987 #60)[1], NFT                      Yes
                                   (321178197978500682/Tim Brown's Playbook: New York Jets vs. Oakland Raiders - December 2, 2002 #58)[1], NFT (349606673661132420/Hall of Fantasy League #208)[1], NFT
                                   (405458367729516925/Voxel City #7)[1], NFT (498918037897514198/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #99)[1], NFT (565590950446188821/Voxel City
                                   #9)[1], TRX[1], USD[0.05]
08098321                           BTC[.02552634], ETH[.01466649], ETHW[.01448852], SOL[1.13529427], USD[54.02]                                                                                                           Yes

08098341                           CUSDT[3], DOGE[2], NFT (519733811076194101/Coachella x FTX Weekend 2 #25572)[1], SOL[.00000001], USD[22.09]                                                                            Yes

08098349                           NFT (340587855570064711/Night Light #136)[1], NFT (401686391468995012/Golden Hill #861)[1], NFT (409964026191340783/Reflection '14 #70)[1], NFT (443397505946309517/Vintage Sahara
                                   #246)[1], NFT (571579643399794095/Reflector #166)[1], USD[1.03]
08098359                           EUR[0.00], SOL[.16146217]

08098364                           DOGE[1], USD[0.05], USDT[514.59566664]                                                                                                                                                 Yes

08098366                           ETHW[1.35783474], NFT (371903713630905175/THE QUICK DESCENT)[1]

08098378                           MATIC[0], SOL[0]

08098380                           BRZ[2], BTC[.07929901], CUSDT[1], DOGE[24367.32539901], USD[0.00]

08098386                           CUSDT[1], SOL[.00000977], USD[0.00]                                                                                                                                                    Yes

08098389                           CUSDT[2], SOL[2.48099904], TRX[243.63868269], USD[0.00]                                                                                                                                Yes

08098391                           AAVE[.06257929], CUSDT[2], UNI[.80952748], USDT[0.00000011]

08098395                           BTC[.1690459], ETH[.126], ETHW[.126], LINK[52.2], MATIC[770], SOL[38.38], USD[0.17]

08098405                           BTC[.00212135], CUSDT[3], TRX[1], USD[0.00], USDT[0.00023229]                                                                                                                          Yes

08098406                           BRZ[426.87005175], CUSDT[4], DOGE[510.91701756], ETH[.02280831], ETHW[.02252103], SOL[.4730774], TRX[1511.90279328], USD[18.54]                                                        Yes

08098408                           BAT[0], BTC[0.00000001], CUSDT[0], DOGE[0], GRT[0], MATIC[0], SHIB[0], SUSHI[0], TRX[0], UNI[0], USD[0.00]                                                                             Yes

08098410                           BTC[.00038644], CUSDT[1], USD[0.00]

08098411                           BTC[.00015637], USD[0.00]

08098412                           BTC[.00114607], CUSDT[2], USD[10.82]                                                                                                                                                   Yes

08098416                           SHIB[0], USD[0.00]

08098423                           USD[52.19]                                                                                                                                                                             Yes

08098428                           BRZ[1], BTC[.01107845], DOGE[7], ETH[.31843194], ETHW[.03077693], SHIB[77], TRX[5], USD[501.70]                                                                                        Yes

08098429                           SOL[0]                                                                                                                                                                                 Yes

08098436                           DOGE[.09356636], USD[0.51]

08098440                           SOL[10.59951743]                                                                                                                                                                       Yes

08098441                           NFT (348286108483101872/DOGS ON THE BLOCK)[1], SOL[.056199]

08098451                           USD[733.57]                                                                                                                                                                            Yes

08098457                           BTC[.000043]

08098473                           BTC[.0152847], ETH[.21206975], ETHW[.21206975], USD[9.85]

08098480                           AVAX[21.62882978], BRZ[1], BTC[0.00000357], DOGE[2], ETH[.42446208], ETHW[1.2367256], LINK[0], SHIB[2], TRX[2], USD[0.01]                                                              Yes

08098484                           CUSDT[4], NFT (317131862293465101/#4387)[1], NFT (350984192135238028/Autumn 2021 #2156)[1], NFT (391871002402717540/ALPHA:RONIN #1076)[1], SOL[.11607534], USD[0.00]

08098497                           GRT[735.7107797], USD[0.01]

08098513                           USD[0.00]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08098514                           USD[15.00]

08098518                           MKR[.03220766], USD[0.00]

08098526                           SHIB[1], USD[0.01]                                                                                                                                                            Yes

08098549                           SOL[0], USD[0.00]

08098550                           BTC[0.00000001], LINK[0], LTC[0.00000001], SOL[0.00000002], USD[0.00], USDT[0.00000002]

08098559                           USD[21.51]                                                                                                                                                                    Yes

08098567                           BAT[1.01357058], CUSDT[1], USD[519.94]                                                                                                                                        Yes

08098576                           BAT[1.00001826], BTC[.00504823], DOGE[1], USD[0.00]                                                                                                                           Yes

08098591                           BTC[.00312544], CUSDT[2], DOGE[378.50060543], ETH[.04386623], ETHW[.04386623], TRX[1], USD[0.00]

08098597                           LINK[682.58512], USD[0.00], USDT[0]

08098618                           USD[0.00]

08098630                           CUSDT[5], ETH[.000218], ETHW[.000218], LTC[.39498972], MATIC[.00493703], SOL[1.31085353], TRX[2], USD[2.44]                                                                   Yes

08098635                           SOL[.102]

08098636                           SOL[4.37419534], USD[0.00], USDT[1.08227799]                                                                                                                                  Yes

08098637                           USD[0.00], USDT[0]

08098638                           USD[0.00]                                                                                                                                                                     Yes

08098640                           USD[0.00]

08098643                           GRT[2], SHIB[15690.48776381], USD[0.00]                                                                                                                                       Yes

08098647                           BTC[.21856223], USD[0.00]

08098648                           DOGE[3.78372443], SOL[.01072158], USD[2.71]                                                                                                                                   Yes

08098672                           SOL[.00000001]

08098674                           BRZ[.63628345], GRT[0], LTC[0], MATIC[0], SOL[0], TRX[1], USD[0.00], USDT[0.00000067]                                                                                         Yes

08098683                           DAI[.00000001], ETH[0], ETHW[0], SOL[0], USD[0.00], USDT[0]                                                                                                                   Yes

08098690                           BTC[.0029994], ETH[.019], ETHW[.019], MATIC[19.99], USD[6.96]

08098696                           NFT (331446819553701377/MagicEden Vaults)[1], NFT (387037978446885013/MagicEden Vaults)[1], NFT (409200230599381108/MagicEden Vaults)[1], NFT (428370120874105153/MagicEden
                                   Vaults)[1], NFT (450897221583271257/CROCO DIARIES #2)[1], NFT (495951176025138784/MagicEden Vaults)[1], USD[189.02]
08098698                           USD[4.35]

08098719                           DOGE[20.4991695], LTC[.02016665], SHIB[100620.98106565], USD[0.00]                                                                                                            Yes

08098729                           BTC[.10928812], TRX[1], USD[1011.27]                                                                                                                                          Yes

08098731                           USD[0.00]                                                                                                                                                                     Yes

08098732                           USD[21.27]                                                                                                                                                                    Yes

08098733                           BTC[.0972027], SOL[6.52347], USD[5.74], USDT[2.355]

08098734                           USD[19.28]

08098745                           USD[0.00]

08098752                           USD[1748.42]                                                                                                                                                                  Yes

08098754                           CUSDT[1], SOL[1.03965112], USD[0.00]                                                                                                                                          Yes

08098765                           CUSDT[1], SHIB[718193.19406857], USD[0.00]

08098770                           SOL[5.19], USD[3.17]

08098771                           USD[29.18]

08098778                           SOL[.02209465], USD[0.00]                                                                                                                                                     Yes

08098780                           ETHW[2.190761], USD[1.69]

08098782                           BTC[.00000151], SHIB[2], TRX[1], USD[0.20], USDT[0]                                                                                                                           Yes

08098783                           DOGE[7.55835617], LTC[.00362322], USD[0.00]

08098787                           USD[0.00]

08098789                           BRZ[121.67568518], CUSDT[11], DOGE[96.53579808], GRT[1.00045669], SHIB[1608302.37373586], SOL[3.39266178], USD[0.12]                                                          Yes

08098796                           CUSDT[2], DOGE[.01542289], USD[0.01]                                                                                                                                          Yes

08098797                           BTC[.0012], SHIB[19532.35234831], USD[3.83]

08098798                           BTC[0.00219949], ETH[.000999], ETHW[.000999], SHIB[1156178.21011684], SUSHI[.20891583], USD[0.09]

08098808                           USD[200.01]

08098809                           ETH[0]

08098813                           USD[0.00]

08098826                           BRZ[1], USD[1.48]

08098827                           USD[25.00]

08098831                           BTC[0], CUSDT[0], DAI[0], DOGE[0], MATIC[0], NFT (575628796385813028/Cartons album #5)[1], USD[0.00]                                                                          Yes

08098832                           USD[2.15]                                                                                                                                                                     Yes

08098848                           BTC[.00000007]                                                                                                                                                                Yes

08098849                           GRT[216.783], USD[0.67], USDT[0]

08098851                           CUSDT[1], SHIB[1992393.47443153], USD[0.00]                                                                                                                                   Yes

08098859                           USD[3.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08098860                              BTC[.00000019], CUSDT[21], DOGE[4], ETH[.00000089], ETHW[.00000089], MATIC[.00048237], SHIB[12], SOL[.00001204], TRX[4], USD[3.68]                                           Yes

08098871                              USD[0.00]

08098875                              DOGE[.00000001], SHIB[387796.00780165], TRX[0], USD[0.00]                                                                                                                    Yes

08098879                              USD[0.27]                                                                                                                                                                    Yes

08098881                              BTC[0], KSHIB[0], SUSHI[0], USD[0.11]                                                                                                                                        Yes

08098885                              CUSDT[2], SOL[2.22040635], USD[0.07]                                                                                                                                         Yes

08098889                              CUSDT[4], DOGE[1], LTC[0], SHIB[0], TRX[1], USD[0.00], USDT[0]

08098912                              NFT (338396361222912091/Gloom Punk #8654)[1], NFT (418752541111196360/The Tower #459-10)[1], SHIB[11628.26404709], USD[0.00], USDT[0]                                        Yes

08098916                              BRZ[1], BTC[.00211943], CUSDT[1], DOGE[204.92838128], ETH[.02957425], ETHW[.02920489], SOL[.92238959], TRX[1], USD[0.00], USDT[1.08244599]                                   Yes

08098920                              LINK[.4], MATIC[29.9715]

08098942                              USD[0.01]                                                                                                                                                                    Yes

08098943                              DOGE[1], SOL[.22140226], USD[0.28]                                                                                                                                           Yes

08098950                              BTC[.00000006], CUSDT[11], DOGE[3], GRT[2], SHIB[1], SOL[.00000001], TRX[3], USD[0.56], USDT[1.02443081]                                                                     Yes

08098957                              USD[0.00]

08098966                              BTC[.28536146], ETHW[0.00070628], MATIC[0], USD[0.00], USDT[0]

08098967                              USD[0.01], USDT[0]

08098969                              USD[0.00]

08098970                              CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                  Yes

08098971                              MATIC[252.75391791], TRX[1], USD[0.00]                                                                                                                                       Yes

08098990                              MATIC[.00062075], USD[0.04]                                                                                                                                                  Yes

08098991                              SHIB[17191337.77488317], USD[0.00]                                                                                                                                           Yes

08098996                              MATIC[499.55], SOL[14.9865], USD[0.01]

08098998                              AVAX[11.7882], DOGE[432], MATIC[2028.17], SHIB[2299400], SOL[50.44015], TRX[1971.973], UNI[25.2747], USD[241.98]

08099001                              CUSDT[2], ETHW[.02177339], SHIB[1], USD[115.10]

08099002                              BTC[.00033468], CUSDT[2], USD[0.02]                                                                                                                                          Yes

08099003                              CUSDT[1], SOL[1.25688238], USD[0.01]                                                                                                                                         Yes

08099012                              NEAR[.19045527], USD[0.00]

08099019                              BTC[.00007757], DOGE[62.37886011], ETH[.01206608], ETHW[.0119156], LINK[1.08210592], MATIC[6.25144637], SHIB[102012.54848636], SOL[.02213507], TRX[55.43871387], USD[0.04]   Yes

08099025       Contingent, Disputed   BTC[0], USD[0.00]

08099027                              SOL[99.9], USD[5889.29]

08099031                              USD[2.01]

08099036                              CUSDT[1], LTC[2.00137001], USD[0.00]                                                                                                                                         Yes

08099038                              AVAX[8.60040413], CUSDT[2], DOGE[2], ETH[1.2759894], ETHW[1.2754535], SHIB[1002829.86379958], TRX[2], USD[2.15], USDT[0]                                                     Yes

08099050                              SOL[.059946], USD[0.13]

08099054                              USD[10.00]

08099065                              BAT[1], BRZ[9.13909816], DOGE[11.02468678], ETH[.41680769], ETHW[.29367185], GRT[2], MATIC[.0438045], NEAR[468.97962754], SHIB[25], TRX[7], USD[0.47]                        Yes

08099069                              USD[67.47]

08099085                              BAT[1.0142373], BTC[.0509637], DOGE[1], ETH[.94754492], ETHW[.94714702], TRX[1], USD[0.00], USDT[1.0798691]                                                                  Yes

08099090                              ETH[.447935], ETHW[.447935], USD[0.00]

08099099                              USD[0.29]

08099106                              CUSDT[1], USD[0.01]

08099111                              USD[500.00]

08099115                              USD[0.00]

08099118                              USDT[9]

08099119                              BTC[.0008561], USD[0.01]

08099127                              BCH[.00786601], BTC[0.00042090], CUSDT[1], DOGE[7.82035748], ETH[.00021557], ETHW[.00021557], LTC[.01144466], SHIB[18920.66077808], TRX[46.18577999], USD[0.00]              Yes

08099138                              BRZ[1], SHIB[15272524.94637062], TRX[83.88763958], USD[0.01]

08099143                              SOL[.5], USD[7.79]

08099145                              BTC[0], ETHW[.003], SOL[0.03000000], USD[0.00]

08099148                              USD[0.01]                                                                                                                                                                    Yes

08099152                              BTC[.00000004], CUSDT[2], TRX[1], USD[0.01]                                                                                                                                  Yes

08099154                              USD[106.94]                                                                                                                                                                  Yes

08099157                              SOL[.09573391], USD[0.00]

08099174                              CUSDT[17], DOGE[430.37823198], TRX[1], USD[0.00]                                                                                                                             Yes

08099176                              USD[1785.50]

08099181                              BAT[1.00289003], CUSDT[1], DOGE[2], NEAR[.00011576], SHIB[6], USD[0.00]                                                                                                      Yes

08099186                              CUSDT[2], TRX[1], USD[37.15]                                                                                                                                                 Yes

08099196                              SHIB[1100000], TRX[10], USD[0.03]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08099201                              BRZ[1], CUSDT[1], GRT[59.99174958], LINK[1.82324129], USD[0.04]                                                                                                                             Yes

08099209                              BTC[0.00000005], DOGE[0], ETH[0], SOL[0]                                                                                                                                                    Yes

08099213                              BTC[.00038694], CUSDT[3], SHIB[459611.50870677], SOL[.14468795], USD[11.50]                                                                                                                 Yes

08099216                              USD[20.00]

08099220                              ETH[.0000008], ETHW[.0000008], USD[0.36]                                                                                                                                                    Yes

08099249                              USD[170243.44], USDT[0]                                                                                                                                                                                      USD[165061.44]

08099255                              BF_POINT[300], ETH[3.09781683], ETHW[3.09651768], USD[5404.99]                                                                                                                              Yes

08099257                              BTC[.00925023], CUSDT[1], DOGE[1], ETH[.12296937], ETHW[.12179716], SOL[2.40178115], TRX[1], USD[0.58]                                                                                      Yes

08099258                              BTC[.00163083], ETH[.004], ETHW[.004], USD[1.94], USDT[0.00021608]

08099261                              ALGO[16.50654493], BTC[.00047896], GRT[4.08547217], LINK[171.80686439], MATIC[18.03728596], NEAR[121.71779811], SHIB[3], SOL[4.51067891], TRX[13.0573496], USD[0.00], USDT[0]               Yes

08099265       Contingent, Disputed   BRZ[1], ETHW[.79762749], SHIB[1], SOL[.00000001], TRX[1], USD[0.00]                                                                                                                         Yes

08099267                              SOL[2.09425094], USD[2.00]

08099268                              BAT[457.69592661], BRZ[1], USD[0.00]                                                                                                                                                        Yes

08099283                              SHIB[100000], USD[2.95], USDT[0]

08099302                              USD[0.00]

08099307                              USD[100.00]

08099309                              CUSDT[4416.16153085], SHIB[1], USD[0.00]                                                                                                                                                    Yes

08099310                              CUSDT[1], DOGE[37.67968215], SHIB[366972.47706422], USD[0.00]

08099311                              AAVE[6.03304], BCH[.004044], BTC[0.07878080], ETH[.703295], ETHW[.702308], LINK[25.7872], LTC[.21435], MATIC[808.425], USD[542.98]

08099321                              USD[540.64]                                                                                                                                                                                 Yes

08099324                              USD[0.00], USDT[0]

08099331                              BTC[.00008021], ETH[0.00088419], ETHW[0.00088419], SOL[.00725], USD[0.00]

08099336                              USD[100.00]

08099337                              BTC[0.00004076], USD[0.39], USDT[4.97505463]

08099341                              CUSDT[2], USD[0.00]                                                                                                                                                                         Yes

08099344                              CUSDT[1], USD[0.01]

08099345                              USD[5.27]

08099349                              BTC[.00003598], USD[2.42]

08099360                              AVAX[0], DOGE[2], ETH[0], ETHW[0], LINK[0], LTC[0], SHIB[3], SOL[0], TRX[3], USD[0.00]                                                                                                      Yes

08099363                              NFT (324722354569146656/Pepe's Vintage Life – Episode 5)[1], NFT (338259097468333192/Pepe's Vintage Life – Episode 10)[1], NFT (395786509101473625/Knight)[1], NFT
                                      (398178880268767386/Pepe's Vintage Life – Episode 13)[1], NFT (442061871797141777/Pepe's Vintage Life – Episode 12)[1], NFT (442407500141422569/Pepe's Vintage Life – Episode 16)[1], NFT
                                      (523443526987621160/Pepe's Vintage Life – Episode 10 #2)[1], USD[10.90], USDT[0]
08099368                              ALGO[0], BAT[0], BRZ[1], BTC[0], DOGE[2], GRT[0], KSHIB[0], NFT (320750724747579965/Doge Club #6)[1], NFT (329656656657994375/Doge Club #3)[1], NFT (376495416730628553/Doge Club           Yes
                                      #12)[1], NFT (452207012253063063/Doge Club)[1], NFT (520733696279933656/Doge Club #10)[1], NFT (563235297621315468/Doge Club #5)[1], SHIB[1], SOL[0], TRX[80.68347230], USD[0.09],
                                      USDT[0]
08099370                              KSHIB[257.35355617], NFT (432150098319776408/Coachella x FTX Weekend 1 #16346)[1], SOL[4.33062905], TRX[1], USD[0.01]                                                                       Yes

08099371                              USD[69.00]

08099379                              BTC[0], USD[0.76]

08099388                              AVAX[.00005742], USD[0.00], USDT[3.1628111]                                                                                                                                                 Yes

08099395                              BRZ[1], CUSDT[3], MATIC[.00115388], SHIB[3], TRX[2], USD[0.00], USDT[1.02543197]                                                                                                            Yes

08099399                              EUR[0.00], TRX[33.448044], USD[0.00], USDT[0]

08099403                              USD[0.38]                                                                                                                                                                                   Yes

08099404                              USD[4.59]

08099439                              BTC[.00018137], DOGE[1], USD[0.00]

08099440                              SOL[.00000001], TRX[.000001]

08099441                              USD[541.22]                                                                                                                                                                                 Yes

08099446       Contingent, Disputed   CUSDT[4], USD[0.00], USDT[.99447998]                                                                                                                                                        Yes

08099452                              SOL[.02077881], USD[0.00]

08099453                              BAT[1], BRZ[1], CUSDT[4], DOGE[4], ETH[.00000315], ETHW[.00000315], GRT[1], SHIB[1], SOL[.00001168], TRX[3], USD[0.00]                                                                      Yes

08099460                              CUSDT[1], DOGE[3], MATIC[18.50093794], USD[0.01], USDT[0]

08099465                              ETH[.103896], ETHW[.103896], USD[1.90]

08099466                              BTC[.01019082], ETH[.1297858], ETHW[.1297858], USD[2.30]

08099478                              USD[0.40]

08099490                              ETHW[.063], USD[0.84], USDT[.22571155]

08099498                              BTC[.00044217], CUSDT[6], DOGE[38.73259095], ETH[.00319811], ETHW[.00315707], MATIC[4.64393246], SHIB[185799.84389097], SOL[.16322642], TRX[173.37542804], USD[7.53],                       Yes
                                      USDT[5.36685033]
08099504                              CUSDT[1], SOL[1.13515336], USD[21.65]                                                                                                                                                       Yes

08099509                              SHIB[1783723.52285396]

08099514                              NFT (316053498558309294/Doak Walker's Playbook: SMU vs. Santa Clara - September 27, 1947 #74)[1], NFT (346895649361134178/Doak Walker's Playbook: Texas vs. SMU - November 1, 1947          Yes
                                      #68)[1], NFT (360883994522710605/Hall of Fantasy League #177)[1], NFT (424521938589257846/Hall of Fantasy League #214)[1], NFT (426065120160899882/Earl Campbell's Playbook: Rice vs.
                                      Texas - October 1st, 1977 #93)[1], NFT (517482712970251318/Doak Walker's Playbook: Detroit Lions vs. Cleveland Browns - December 28, 1952 #70)[1], NFT (530133546361206199/Doak Walker's
                                      Playbook: Cleveland Brown vs. Detroit Lions - December 27, 1953 #83)[1], USD[0.00]
08099516                              BTC[.00015586]
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                                                                                                                                         Customer Claims                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08099523                           SUSHI[8], USD[11.25], USDT[8.83651902]

08099527                           CUSDT[1], TRX[229.71146812], USD[0.00]                                                                                                                                 Yes

08099528                           SOL[.009012], USD[287.86]

08099530                           SOL[3.97692547]                                                                                                                                                        Yes

08099533                           ETHW[.0849235], USD[0.95]

08099535                           BTC[.004995], ETH[.085914], ETHW[.085914], SOL[1.86819], USD[36.60]

08099538                           SOL[0], USD[0.00]

08099543                           SOL[.04308614], USD[0.00]

08099551                           SHIB[1], USD[0.00]

08099557                           BTC[.00062488], USD[500.00]

08099562                           USD[2.14]

08099564                           USD[5.40]

08099573                           NFT (394199148104657601/Valley of The Apes)[1], USD[28.88]

08099580                           BCH[.217985], CUSDT[9], DOGE[151.98152556], PAXG[.01865147], SHIB[2], SOL[.40737579], TRX[92.11163572], USD[0.00], YFI[.0044322]                                       Yes

08099581                           ETH[.00107904], ETHW[.00107904], USD[0.00]

08099592                           SOL[.00000001]                                                                                                                                                         Yes

08099594                           BCH[.000017], USD[19.99]

08099597                           SHIB[200.04395604], USD[0.00]

08099600                           CUSDT[2], USD[0.00]                                                                                                                                                    Yes

08099601                           USD[25.98]

08099609                           NFT (430158574562577407/NFT BZL 2021 #34)[1]

08099620                           DOGE[1], ETH[.01167489], ETHW[.01152441], USD[54.09]                                                                                                                   Yes

08099622                           CUSDT[1], DOGE[1], TRX[.00000716], USD[0.00]                                                                                                                           Yes

08099623                           ALGO[13.26907901], AVAX[.83296852], DOGE[114.27455276], SHIB[826421.40005448], USD[0.00]                                                                               Yes

08099630                           USD[0.00]

08099632                           USD[0.00]

08099633                           ETH[0], USD[0.00]

08099643                           SHIB[93650.49634763], USD[5.00]

08099644                           BAT[.981], KSHIB[460], MATIC[.96], SHIB[98300], SUSHI[.495], USD[293.17]

08099645                           TRX[.16441], USD[0.71], USDT[0]

08099650                           BTC[.00236145], CUSDT[4], DOGE[52.04829228], ETH[.00658874], ETHW[.00650666], SOL[.07904872], TRX[1], USD[0.00]                                                        Yes

08099678                           ETH[.000397], ETHW[.000397], USD[0.00]

08099680                           CUSDT[5], DOGE[6.02892783], TRX[3], USD[0.01]                                                                                                                          Yes

08099684                           USD[500.01]

08099686                           BTC[.00015098], CUSDT[1], ETH[.00052796], ETHW[.00052796], PAXG[.00528986], SOL[.07547585], USD[0.00]

08099691                           DOGE[1], SOL[1.064506], USD[1140.00]

08099692                           BTC[0.00000001], CUSDT[4], DOGE[1.00018273], NFT (304106983552252830/Shannon Sharpe's Playbook: Baltimore Ravens vs. Oakland Raiders - January 14, 2001 #96)[1], NFT   Yes
                                   (471078406954558305/Tim Brown's Playbook: San Diego Chargers vs. Los Angeles Raiders - September 4, 1988 #62)[1], SHIB[1], SOL[0.11276621], USD[0.00]
08099696                           CUSDT[1], SHIB[986876.55922197], USD[0.02]                                                                                                                             Yes

08099699                           CUSDT[1], SOL[.28638125], USD[0.15]                                                                                                                                    Yes

08099700                           DOGE[401], SHIB[3700000], SUSHI[13], USD[5.95]

08099726                           BTC[.03356159]                                                                                                                                                         Yes

08099737                           BTC[.0153], ETH[.291708], ETHW[.291708], SOL[5.47452], USD[5.13]

08099763                           SHIB[3.64999439], SOL[.00000121], USD[0.00]                                                                                                                            Yes

08099768                           CUSDT[1], USD[0.00]

08099771                           CUSDT[1], SOL[.20758765], USD[0.01]

08099773                           BRZ[112.13143246], CUSDT[3], PAXG[.00625558], SHIB[1779624.28573758], SUSHI[4.33065011], TRX[1], USD[0.00]                                                             Yes

08099775                           SOL[1], USD[7887.63]

08099781                           USD[41.27]                                                                                                                                                             Yes

08099787                           GRT[26], USD[0.10]

08099809                           CUSDT[1], MATIC[.00013575], USD[13.28]                                                                                                                                 Yes

08099811                           USD[0.01]                                                                                                                                                              Yes

08099812                           DOGE[377.47886545], USD[0.00]

08099826                           SHIB[1], USD[0.00]

08099844                           BTC[.00000098], ETH[0.15198338], ETHW[0.15120410], TRX[1]                                                                                                              Yes

08099845                           BTC[.0144544], DOGE[1], ETH[.85466187], ETHW[.85430306], LINK[22.78660326], TRX[1], UNI[9.19393835], USDT[0.00091324]                                                  Yes

08099848                           DOGE[6.29474021], USD[0.01]

08099860                           BRZ[1], BTC[.00104887], DOGE[1], USD[0.00]                                                                                                                             Yes

08099867                           SOL[.00000001]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08099869                           BAT[.00008274], BF_POINT[500], BTC[.00000177], DOGE[.80580399], ETH[.00000154], ETHW[12.28766145], MATIC[.00000801], SUSHI[.00003285], USD[0.01], USDT[0.00001662]                  Yes

08099870                           CUSDT[2], DOGE[0], KSHIB[0]                                                                                                                                                         Yes

08099871                           BRZ[2], CUSDT[9], DOGE[2], ETH[.00000014], ETHW[.00000014], TRX[5], USD[0.00]                                                                                                       Yes

08099872                           BTC[.00100071], DOGE[1], USD[0.00]                                                                                                                                                  Yes

08099883                           BRZ[1], DOGE[590.29247923], NFT (327177071251199890/ALPHA:RONIN #522)[1], SHIB[1], TRX[2], USD[0.00]                                                                                Yes

08099889                           SHIB[5190.70276557], USD[0.00]

08099898                           CUSDT[3], ETH[.00000014], ETHW[.00000014], SHIB[1], USD[0.01]                                                                                                                       Yes

08099902                           SOL[.1], USD[0.00]

08099908                           BTC[.0042], ETH[.007], ETHW[.007], KSHIB[2380], LTC[.02], SHIB[100000], USD[5.43]

08099910                           SHIB[1], USD[0.00]                                                                                                                                                                  Yes

08099916                           BTC[.00162707], CUSDT[3], DOGE[40.79902068], ETH[.02102974], ETHW[.02076982], SOL[.45207772], USD[0.00]                                                                             Yes

08099925                           USD[0.03]

08099940                           SOL[0], USDT[0.00000159]                                                                                                                                                            Yes

08099948                           NFT (477577432712767625/Reflector #606)[1], USD[12.17]

08099949                           USD[9.06]

08099951                           USD[57.12]                                                                                                                                                                          Yes

08099957                           SOL[262.14759], USD[12664.61]

08099964                           USD[0.29]

08099980                           BRZ[3], CUSDT[2], DOGE[10.02267403], ETH[.00001764], SHIB[19], TRX[5], UNI[.00130959], USD[0.00]                                                                                    Yes

08099983                           SOL[.00094], USD[0.00]

08099993                           ALGO[110.52269185], AVAX[2.04389679], DOGE[2], ETH[.0875631], ETHW[.07050361], LINK[6.29321785], MATIC[93.61285289], NEAR[.86081014], SHIB[6], SUSHI[14.85115912],                  Yes
                                   TRX[70.98465338], UNI[.52595534], USD[285.33]
08099995                           ETH[.019], ETHW[.019], USD[2.34]

08099996                           BTC[.0855], ETH[1.487511], ETHW[1.487511], SOL[66.32364], USD[2510.25]

08100005                           BTC[.0008], DOGE[200], ETH[.0109901], ETHW[.0109901], SHIB[999190], USD[1.82]

08100008                           SHIB[18716.07711023], USD[0.00]

08100012                           USD[0.00]

08100014                           ETHW[.007992], USD[14.75]

08100018                           AAVE[.08517247], BRZ[1], BTC[.00038394], CUSDT[2], DOGE[1], ETH[.00581762], ETHW[.00574922], SOL[.11286751], USD[0.00]                                                              Yes

08100024                           USD[0.00]

08100039                           BTC[0], ETH[0.94889361], ETHW[0.94889361], SOL[0.00203881], TRX[116.75659064], USD[0.00], USDT[2.72503880]

08100046                           USD[10.82]                                                                                                                                                                          Yes

08100047                           USD[107.37]                                                                                                                                                                         Yes

08100050                           USD[6.68]                                                                                                                                                                           Yes

08100061                           USDT[2000]

08100062                           CUSDT[1], USD[0.01]                                                                                                                                                                 Yes

08100068                           USD[5.77]

08100074                           BAT[1.01420952], DOGE[1632.03798499], SHIB[1], SOL[.89054157], USD[2.01]                                                                                                            Yes

08100075                           CUSDT[1], MATIC[12.42097981], USD[0.00]                                                                                                                                             Yes

08100078                           USD[0.16]

08100104                           CUSDT[2], SHIB[2243697.63650452], USD[0.00]                                                                                                                                         Yes

08100105                           BAT[3.13998912], BRZ[3], CUSDT[5], DOGE[12.29027219], GRT[2.00105965], SHIB[3], TRX[8], USD[0.02], USDT[2.11359239]                                                                 Yes

08100107                           CUSDT[3], ETH[0], TRX[0.00203808]                                                                                                                                                   Yes

08100108                           DOGE[1], SHIB[10717030.77952207], USD[0.20]                                                                                                                                         Yes

08100113                           USD[0.06], USDT[0]

08100122                           BAT[1228.17782651], BRZ[3], BTC[.03952564], CUSDT[10], DOGE[4], ETH[.5097463], ETHW[.43316762], MATIC[768.72159337], NFT (438095787884695329/Imola Ticket Stub #707)[1], SHIB[3],   Yes
                                   SOL[7.862076], TRX[3], USD[0.00], USDT[2.15956084]
08100135                           USD[6.54]                                                                                                                                                                           Yes

08100136                           SHIB[3], TRX[1], USD[136.62]

08100137                           CAD[4182.87], USD[0.00]

08100149                           BTC[.0145], DOGE[4278], ETH[.23], ETHW[.23], LINK[40.4], SOL[7.91], USD[2.00]

08100155                           CUSDT[1], DOGE[62.09716013], LTC[.02157731], SHIB[222790.95144689], USD[0.00]                                                                                                       Yes

08100158                           BTC[0.00343869], DOGE[0], ETH[.000002], SHIB[1], USD[0.06]                                                                                                                          Yes

08100162                           DOGE[1], SOL[.53563139], USD[0.00]

08100163                           BTC[.0000668], USD[2.31]

08100166                           USD[0.01]                                                                                                                                                                           Yes

08100167                           SOL[.48888024], USD[0.20], USDT[0.00000001]                                                                                                                                         Yes

08100172                           BTC[0.00601424]

08100177                           USD[0.00]

08100178                           USD[565.38]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08100182                           BTC[1.0232108], ETH[.997585], ETHW[.997585], SOL[8.85146279], USD[1.99]

08100185                           BTC[.00026699], ETH[.0090581], ETHW[.3090581], USD[0.72], USDT[0]

08100189                           USD[500.00]

08100196                           CUSDT[2], DOGE[225.34773463], ETH[.00000041], ETHW[.00000041], SHIB[1141553.81632318], TRX[5], USD[54.83]                                                                           Yes

08100197                           USD[4.52]

08100209                           USD[2.85]

08100218                           SOL[.00022199], USD[1.47]

08100226                           CUSDT[1], DOGE[362.47085147], SHIB[22927081.23831126], USD[0.00]                                                                                                                    Yes

08100243                           KSHIB[.00850429], SHIB[118998.34081944], USD[19.82]                                                                                                                                 Yes

08100252                           USD[3.00]

08100265                           USD[8.14], USDT[0]                                                                                                                                                                  Yes

08100271                           CUSDT[39], DOGE[1], MATIC[25.64827256], SOL[3.43395125], TRX[1], USD[0.00]                                                                                                          Yes

08100272                           USD[551.02], USDT[0]

08100273                           TRX[.000001], USDT[0.00001284]

08100281                           SOL[.04094767], USD[0.00]

08100283                           USD[162.17]

08100287                           DOGE[3671.59386361], SHIB[1], TRX[1], USD[0.00]                                                                                                                                     Yes

08100288                           BRZ[1], SHIB[703345.38359112], TRX[2], USD[0.00]                                                                                                                                    Yes

08100301                           SHIB[13770.91646489], USD[0.00], USDT[0]                                                                                                                                            Yes

08100307                           BRZ[1], TRX[1], USD[0.00]

08100312                           BRZ[1], BTC[.00957469], DOGE[1], ETH[.12299969], ETHW[.12182721], USD[0.00]                                                                                                         Yes

08100322                           USD[1.89]

08100328                           DOGE[1], SOL[2.04681014], USD[0.00]

08100335                           NFT (448556316894948381/Humpty Dumpty #360)[1]

08100338                           BRZ[1], KSHIB[9405.70433394], USD[0.00]

08100342                           BRZ[1], CUSDT[5], DOGE[226.94802359], GRT[59.08138441], KSHIB[912.70755426], MATIC[34.04926534], SHIB[3059777.27699626], SUSHI[5.50011547], TRX[854.66761072], USD[215.58]          Yes

08100349                           AVAX[29.51642349], BTC[.21334078], DOGE[15480.22215963], KSHIB[8268.62445644], MATIC[744.22739161], NFT (383001309404976185/FTX - Off The Grid Miami #5965)[1],                     Yes
                                   SHIB[22227632.15696258], SOL[277.78293994], TRX[3919.1764265], USD[0.00]
08100351                           SOL[2.79], USD[500.84]

08100362                           GRT[4.73829485], MATIC[1.83846564], USD[0.00], USDT[2.15374288]                                                                                                                     Yes

08100364                           USD[0.00], USDT[0]

08100369                           BTC[0.00091543], SHIB[1], SOL[2.14726966]                                                                                                                                           Yes

08100375                           AAVE[1.07197911], ETH[.04823884], ETHW[.04763692], SOL[4.55591083]                                                                                                                  Yes

08100378                           USD[0.00]                                                                                                                                                                           Yes

08100380                           BAT[0], BRZ[0], BTC[0], DOGE[0], ETH[0], ETHW[0], GRT[0], KSHIB[0], MATIC[0], MKR[0], SHIB[0], SOL[0], SUSHI[0], TRX[0], USD[0.00], YFI[0]                                          Yes

08100383                           USD[1.08]                                                                                                                                                                           Yes

08100387                           BTC[0], SOL[5.40279588], USD[0.00]

08100388                           CUSDT[3], DOGE[1], ETH[.0000004], ETHW[.0000004], TRX[1], USD[0.00]                                                                                                                 Yes

08100394                           BRZ[2], CUSDT[8], DOGE[6], ETHW[.21767668], GRT[2.00109619], SHIB[7], TRX[8], USD[5081.33]                                                                                          Yes

08100396                           ETH[1.234], ETHW[1.234], USD[0.52]

08100402                           USD[0.00]

08100403                           BRZ[1], BTC[.09427958], CUSDT[4], DOGE[2], ETH[2.1545001], ETHW[2.15381831], SHIB[8], SOL[18.80459279], TRX[1], USD[0.00]                                                           Yes

08100411                           BTC[.1048], USD[2797.71], USDT[99.47055701]

08100424                           CUSDT[1], GRT[29.39504509], USD[0.50]                                                                                                                                               Yes

08100431                           AAVE[0.00000028], BRZ[1], BTC[0.00001827], CUSDT[22], DOGE[2.17950901], ETH[0.00004133], ETHW[0.00004133], LTC[0], NFT (561195665093522556/#1905)[1], SHIB[40.30538707],            Yes
                                   SOL[0.00000408], SUSHI[0.94168124], TRX[4], USD[25.32], USDT[1.01220229]
08100437                           BTC[0], ETHW[.1458613], USD[562.32]

08100439                           BTC[.0210288], ETH[.40956082], ETHW[.40938878], SOL[4.80419961], USD[0.59]                                                                                                          Yes

08100442                           CUSDT[2], ETH[.01911613], ETHW[.0188834], SOL[.11113553], USD[0.00]                                                                                                                 Yes

08100454                           BF_POINT[300], BTC[.00825691], DOGE[8], ETH[.00000138], ETHW[11.28662107], GRT[3282.8805455], LTC[.00003719], SHIB[31], SOL[30.00001929], SUSHI[.21289988], TRX[8], USD[-299.01],   Yes
                                   USDT[0]
08100466                           BRZ[1], CUSDT[1], DOGE[3], USD[0.50]                                                                                                                                                Yes

08100469                           CUSDT[1], TRX[1], USD[49.36]                                                                                                                                                        Yes

08100477                           CUSDT[4], SHIB[5037291.32977678], SOL[.04857782], TRX[1], USD[0.03]                                                                                                                 Yes

08100479                           BF_POINT[400], USD[0.01]                                                                                                                                                            Yes

08100482                           BTC[.00017619], CUSDT[20], DOGE[1], ETH[.00241328], ETHW[.00241328], KSHIB[256.31071942], MATIC[45.26811115], SHIB[275006.95826111], SOL[.49346178], TRX[114.63630493], USD[0.00]

08100487                           USD[1.08]                                                                                                                                                                           Yes

08100497                           DOGE[2.61635292], USD[0.00]                                                                                                                                                         Yes

08100500                           CUSDT[25], DOGE[2], ETHW[1.35312807], NFT (483731918637290997/FTX - Off The Grid Miami #1056)[1], USD[0.00]                                                                         Yes

08100511                           USD[0.00]
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                                                                                                                                             Customer Claims                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08100521                              BTC[0], USD[0.01]                                                                                                                                                Yes

08100532                              USD[200.01]

08100533                              BRZ[1], DOGE[1], SHIB[1], SOL[.66476581], USD[799.80]                                                                                                            Yes

08100547                              NFT (511354836194874989/Coachella x FTX Weekend 1 #8109)[1]

08100550                              SOL[1.06], USD[2.73]

08100553                              CUSDT[1], USD[0.00]

08100557                              BAT[2.01322738], BRZ[2], DOGE[4], ETHW[1.26172192], GRT[1], SHIB[6], TRX[3], USD[7882.26], USDT[0.00000007]                                                      Yes

08100560                              CUSDT[0], DOGE[2], USD[0.00]                                                                                                                                     Yes

08100562                              BTC[.0064], USD[0.22], USDT[0]

08100569                              BAT[1], CUSDT[5], DOGE[203.13051696], ETHW[4.83972423], GRT[1], MATIC[1255.23583696], SHIB[1017198.48156072], SOL[1.08538126], TRX[1431.05342125], USD[646.84]   Yes

08100590                              BRZ[54.55101974], CUSDT[3], SHIB[962407.32211749], TRX[84.64833821], USD[0.00]

08100597                              BTC[.01409903], ETH[.17825722], ETHW[.17825722], LINK[5.39702761], MATIC[111.91782054], SOL[7], USD[0.00]

08100599                              BF_POINT[200]

08100600                              BRZ[1], USD[0.00], USDT[21.44114106]                                                                                                                             Yes

08100603                              BTC[.00016449], CUSDT[8], ETH[.00120506], ETHW[.00119138], USD[155.06]                                                                                           Yes

08100604                              USD[0.01]

08100614                              SOL[2.3], USD[0.93]

08100619                              BRZ[1], CUSDT[6], DAI[0], DOGE[2], ETH[0], MATIC[224.58586487], SHIB[186.95083193], SOL[0.00002482], TRX[3], USD[0.00]                                           Yes

08100621                              BTC[.00047855], USD[0.78]                                                                                                                                        Yes

08100626                              BTC[.00359658], LINK[101.905], MATIC[99.9145], SHIB[300000], SOL[2], USD[3713.56]

08100629                              BTC[.00021783], CUSDT[2], ETH[.00776065], ETHW[.00766482], SHIB[426491.80937456], USD[3.97]                                                                      Yes

08100637                              BTC[.00000034], DOGE[1], SHIB[12], USD[1.05]                                                                                                                     Yes

08100646                              USD[0.00]

08100666                              BRZ[2], CUSDT[5.00915405], DOGE[3], SHIB[442358.19707171], TRX[0], USD[0.00]                                                                                     Yes

08100674                              SHIB[7767934.02535223], USD[5.04]

08100681       Contingent, Disputed   SOL[.32287454], USD[0.01]                                                                                                                                        Yes

08100688                              USD[1724.06]

08100691                              USD[11.22]

08100692                              AVAX[6.12769829], DOGE[3], GRT[251.58668642], LINK[40.45523833], SHIB[5], SOL[5.66247173], SUSHI[83.49222703], TRX[1], UNI[12.27043385], USD[0.10]               Yes

08100693                              CUSDT[2], DOGE[1], TRX[1], USD[0.00]                                                                                                                             Yes

08100699                              SHIB[1400000], USD[1.30]

08100710                              USD[1.93]

08100713                              BAT[1.00840035], DOGE[1], USD[0.00]                                                                                                                              Yes

08100714                              USD[0.00]

08100715                              USD[0.23]                                                                                                                                                        Yes

08100717                              BCH[0], BF_POINT[200], BTC[0], DOGE[0], ETH[0], MATIC[0], MKR[0], SHIB[15], SOL[0], SUSHI[0], USD[0.65], USDT[0], YFI[0]                                         Yes

08100722                              BTC[.00113265], TRX[1], USD[10.06]                                                                                                                               Yes

08100731                              USD[0.00]

08100734                              USD[0.01]                                                                                                                                                        Yes

08100740                              BTC[.0033531], DOGE[29.97], USD[6011.64], USDT[80.9927088]

08100742                              USD[541.19]                                                                                                                                                      Yes

08100747                              CUSDT[491.39787712], USD[0.00]                                                                                                                                   Yes

08100748                              USD[1119.21]                                                                                                                                                     Yes

08100755                              BTC[.0076967], DOGE[150.41427918], ETH[.15291794], SHIB[2634914.16151318], USD[0.81]                                                                             Yes

08100757                              BTC[.1623548]                                                                                                                                                    Yes

08100758                              SOL[.2]

08100765                              ETH[.06], ETHW[.06], MATIC[1150], SOL[28.37859], USD[1743.49]

08100768                              SOL[2.97], USD[0.07]

08100769                              USD[196.48]

08100774                              BRZ[1], CUSDT[2], DOGE[3], USDT[0.00010769]

08100790                              BF_POINT[300], SHIB[106396.74047850], SOL[31.92092678], USD[0.00], USDT[0]                                                                                       Yes

08100801                              BTC[.00119975], CUSDT[1], DOGE[2], PAXG[.01159609], SHIB[1], SOL[.00509393], USD[0.00]                                                                           Yes

08100804                              CUSDT[4], DOGE[51.00712056], LTC[.07310377], SOL[.08271466], TRX[457.84955751], USD[0.00]                                                                        Yes

08100806                              CUSDT[3], SHIB[1589584.90024422], USD[0.00]

08100815                              SOL[.00506725], USD[0.00]                                                                                                                                        Yes

08100816                              NFT (430867000241938826/FTX - Off The Grid Miami #304)[1]

08100819                              BTC[0], USD[2.30]

08100820                              BRZ[1], CUSDT[37], DOGE[47.89887211], LINK[1.38048189], MATIC[47.81000937], SHIB[3930521.34657183], SOL[.38788931], TRX[1], USD[0.00], USDT[94.74314326]         Yes
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08100822                           CUSDT[2], SOL[.26224378], USD[0.00]                                                                                                                                                     Yes

08100826                           BAT[0], DOGE[0], ETH[0.06837677], ETHW[0.06752861], GRT[0], LINK[0], MATIC[0], SHIB[1135153.30944998], SOL[0], USD[0.00]                                                                Yes

08100827                           ETHW[.10023587]

08100846                           SOL[.04483659], USD[1203.99]

08100848                           BAT[997.8670708], SOL[56.87019746]                                                                                                                                                      Yes

08100857                           USD[0.01]

08100858                           NFT (412543270782830137/Coogi #6165)[1]

08100865                           USD[15.00]

08100866                           MATIC[619.62212733], USD[333.43]                                                                                                                                                        Yes

08100871                           AAVE[.24452504], CUSDT[2], SOL[.25128377], USD[0.00]

08100878                           USD[0.00]

08100887                           USD[21.51]                                                                                                                                                                              Yes

08100889                           TRX[91.62063465], USD[0.00]                                                                                                                                                             Yes

08100890                           USD[0.00]                                                                                                                                                                               Yes

08100891                           ETH[0], SOL[0], USD[0.00]

08100895                           BAT[1], CUSDT[5], ETH[.00000022], ETHW[.00000022], SOL[.00001736], TRX[2], USD[0.01]                                                                                                    Yes

08100899                           BTC[.00000004], ETH[.00000052], ETHW[.00000052], TRX[0], USD[0.00], USDT[0]                                                                                                             Yes

08100916                           CUSDT[1], SOL[.08580433], TRX[1], USD[0.00]                                                                                                                                             Yes

08100923                           USD[54.13]                                                                                                                                                                              Yes

08100924                           DOGE[.798], TRX[.131563], USD[0.01], USDT[.005893]

08100940                           CUSDT[4], DOGE[5], ETH[.00000001], LTC[0], NFT (293134245421418347/Solninjas #5440)[1], NFT (347727248945414194/Solninjas #9706)[1], NFT (374394806385745329/Solninjas #2573)[1], NFT   Yes
                                   (387025896613559387/Solninjas #1641)[1], NFT (389471070580486461/Solninjas #4698)[1], NFT (389551669773376901/Solninjas #6552)[1], NFT (416585741157522951/Solninjas #632)[1], NFT
                                   (416953075220751631/Solninjas #4990)[1], NFT (443092963678484300/Solninjas #2452)[1], NFT (448109108038889493/Solninjas #1120)[1], NFT (455050708002269876/Solninjas #1491)[1], NFT
                                   (455233128862102094/Solninjas #4485)[1], NFT (461354798270311796/Solninjas #3381)[1], NFT (490148532607658847/Solninjas #1055)[1], NFT (492228158830450749/Solninjas #1513)[1], NFT
                                   (518803659462349090/Solninjas #6806)[1], NFT (539018232959977335/Solninjas #6345)[1], NFT (547994973650332817/Solninjas #4401)[1], NFT (550461953196044760/Solninjas #3290)[1], NFT
                                   (554886844263584419/Solninjas #6600)[1], SHIB[21], SOL[0], TRX[6], USD[0.05], USDT[0.00037672]

08100941                           BAT[147.44180506], BRZ[1], CUSDT[4], DOGE[624.40916519], ETH[.02351238], ETHW[.02351238], SHIB[3075405.68874562], SOL[.47702159], TRX[1], USD[0.00]

08100967                           ETHW[.407592], USD[2.70]

08100981                           MATIC[1048.70864586], USD[0.00], USDT[0]                                                                                                                                                Yes

08100989                           AVAX[0.60138940], BAT[1821.8535354], CUSDT[7], DOGE[4], LINK[165.7239201], MATIC[49.2559511], SHIB[13], SOL[.00088168], SUSHI[1.03568103], TRX[14694.88071810], USD[0.45],              Yes
                                   USDT[1.02543197], YFI[.05635726]
08100993                           AAVE[.12099046], KSHIB[9.76172031], LINK[.70881972], LTC[.00867497], SHIB[9758.00156128], SOL[0], SUSHI[.29379495], UNI[.92729976], USD[0.00]

08100995                           BTC[.00008062], CUSDT[292.86865796], ETH[.0007458], ETHW[.00074019], MATIC[8.50907261], TRX[47.54013472], USD[0.00]                                                                     Yes

08100998                           BTC[.00016913], USD[0.00]

08101011                           CUSDT[1], DOGE[1], ETH[.00000015], ETHW[.00000015], SOL[0], USD[0.00]                                                                                                                   Yes

08101012                           USD[0.00]

08101024                           BTC[0], NEAR[59.943], PAXG[0], USD[0.18]

08101029                           BF_POINT[100], CUSDT[1], USD[0.00], USDT[0.00000001]                                                                                                                                    Yes

08101037                           BAT[.0000866], DOGE[1], ETH[.00248959], ETHW[.00246223], LINK[.000003], MATIC[.00005916], SHIB[1], SOL[.00000042], USD[0.00], USDT[0.00000001]                                          Yes

08101042                           SOL[0], USD[1.00]

08101048                           BRZ[3.00439183], DOGE[1], ETH[.05150769], ETHW[.05086586], SHIB[2], TRX[2], USD[0.61]                                                                                                   Yes

08101060                           USD[0.00], USDT[0]

08101066                           BAT[1], BF_POINT[100], BRZ[2], CUSDT[2], DOGE[1], SHIB[1], TRX[4], USD[0.00]                                                                                                            Yes

08101091                           SHIB[1], TRX[1], USD[0.01], USDT[0]

08101094                           CUSDT[3], USD[0.00]                                                                                                                                                                     Yes

08101095                           USD[2.12]

08101105                           USD[2.00], USDT[0]

08101126                           BTC[.000076], USD[0.00]

08101127                           BRZ[116.32308767], SHIB[1], USD[0.00]                                                                                                                                                   Yes

08101130                           DOGE[1], TRX[1], USD[0.62]                                                                                                                                                              Yes

08101137                           BRZ[27.27550986], USD[0.00]

08101146                           USD[0.00], USDT[99.49044971]

08101148                           CUSDT[1], DOGE[1], MATIC[2.1859687], NFT (436140894879802095/Astral Apes #3238)[1], SHIB[1], SOL[.21232509], TRX[1], USD[0.00]                                                          Yes

08101151                           BTC[.01999533], CUSDT[2], ETH[.28170052], ETHW[.2815052], SHIB[1], SOL[4.49783464], TRX[2], USD[0.00], USDT[1.08024381]                                                                 Yes

08101152                           TRX[1], UNI[3.17171901], USD[0.18]                                                                                                                                                      Yes

08101163                           USD[0.00]                                                                                                                                                                               Yes

08101166                           BRZ[10.85168422], DAI[.00003508], DOGE[990.53077876], KSHIB[.15757284], SHIB[12730173.74530384], TRX[2], USD[0.03]                                                                      Yes

08101170                           CUSDT[2], DOGE[1], TRX[219.68836502], USD[0.06]                                                                                                                                         Yes

08101186                           ETH[.00076978], ETHW[.00075991], USD[7.57]                                                                                                                                              Yes

08101188                           BTC[.00487943], DOGE[1], USD[0.00]                                                                                                                                                      Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08101189                              NFT (398420383646740226/Microphone #6084)[1], SOL[.0097435], TRX[.000001]

08101190                              BTC[.09556684], CUSDT[2], DOGE[3], ETH[.06353301], ETHW[.06353301], SOL[.31182685], TRX[1.000009], USD[100.00], USDT[250.03]

08101202                              USD[41.86]                                                                                                                                                                          Yes

08101207                              LINK[2.92]

08101221                              USD[1000.00]

08101224                              BTC[.00000851], USD[0.50]                                                                                                                                                           Yes

08101229                              SHIB[3], USD[0.00]                                                                                                                                                                  Yes

08101230                              BTC[.00053185], CUSDT[2], ETH[.00626695], ETHW[.00626695], USD[0.00]

08101235                              BRZ[0], BTC[0], DOGE[0], KSHIB[0], LTC[0], NFT (524892879763047921/ALPHA:RONIN #615)[1], SHIB[0], SOL[0.00434749], TRX[0], USD[0.00]                                                Yes

08101241                              USD[0.24]                                                                                                                                                                           Yes

08101249                              DOGE[20.45575978], SHIB[1], SOL[1.00359223], USD[0.00]

08101252                              DOGE[1], USD[5.00]

08101271                              BAT[1], BTC[.12318926], CUSDT[12], DOGE[6], ETH[.2898456], ETHW[.23135637], SHIB[8], TRX[4], USD[508.36]                                                                            Yes

08101272                              SHIB[187265.91760299], USD[0.00]

08101279                              DOGE[2], ETH[0], GRT[1], NFT (289601535558322166/Fox #3558)[1], NFT (307472213671120818/Happy Guys 006)[1], NFT (317407343745997408/SharkBro #6845)[1], NFT                          Yes
                                      (320655750209726196/DarkPunk #7991)[1], NFT (329243921357541478/DOTB #7138)[1], NFT (333587100873135244/3D CATPUNK #3687)[1], NFT (334516740868018902/Happy Guys 004)[1], NFT
                                      (341744915561944488/Pixel European Sports Car #1)[1], NFT (343545812527169134/Happy Guys 003 #2)[1], NFT (351020776950044442/Munk #462)[1], NFT (351737335836309365/Сrypto Warrior
                                      #5)[1], NFT (387492562198948873/Rubber Duckie #043)[1], NFT (393779960677388574/Boneworld #6921)[1], NFT (396531999929295990/Happy Guys 002)[1], NFT (399300308512227842/Red Panda
                                      #9196)[1], NFT (403877303901529026/Famous Fox Crystal)[1], NFT (408657469346822803/MagicEden Vaults)[1], NFT (410314862082707470/First 50 #15)[1], NFT (411112113535447293/MagicEden
                                      Vaults)[1], NFT (417615521543712573/digital machine #2)[1], NFT (420046598437931042/Rubber Duckie #0065 - 2K)[1], NFT (431281857940408004/Naked Meerkat #0981)[1], NFT
                                      (435440393466229178/Highland Mesa #230)[1], NFT (450989663408501226/Skull Love #18)[1], NFT (455393935302333206/LightPunk #338)[1], NFT (463527363396150368/Sigma Shark #2532)[1],
                                      NFT (464387993647562325/digital cat #6)[1], NFT (470877579001194141/Sigma Shark #3506)[1], NFT (488224821591356524/DOGO-BD-500 #1688)[1], NFT (504206076862435081/ChickenTribe
                                      #1169)[1], NFT (508781769320261402/DarkPunk #4155)[1], NFT (509817485321984145/Pixel Cat #2)[1], NFT (511957686331673858/MagicEden Vaults)[1], NFT (518896532958922637/Sigma Shark
                                      #6832)[1], NFT (523766095116869269/Pixel European Sports Car #2)[1], NFT (531417641846367426/Happy Guys 007)[1], NFT (556729688024935627/DarkPunk #8848)[1], NFT
                                      (558549103178623186/Happy Guys 001)[1], NFT (559088400855817807/MagicEden Vaults)[1], NFT (568977906544265799/MagicEden Vaults)[1], NFT (576085255415423986/Worthless Collection
                                      #9)[1], SHIB[1], SOL[0.32050353], TRX[3], USD[20.44], USDT[0]

08101288                              BRZ[2], BTC[0.12440642], CUSDT[1], DOGE[11.01584039], ETH[0.00001058], ETHW[0.32111278], MATIC[.00000001], SHIB[38], SOL[0], TRX[12], USD[0.00], USDT[1.00022825]                   Yes

08101292                              SOL[.00059533]

08101303                              USD[4.28]

08101304       Contingent, Disputed   BRZ[0], DOGE[0], KSHIB[0], SHIB[0], USD[0.00], YFI[0]                                                                                                                               Yes

08101317                              SOL[.60945], USD[0.46]

08101327                              CUSDT[1], DOGE[1], USD[0.00]

08101328                              BTC[.0049], USD[101.53]

08101333                              BTC[.00050504], CUSDT[4], DOGE[1], ETH[.01083279], ETHW[.01069599], MATIC[10.02089997], SOL[.06678418], USD[0.01]                                                                   Yes

08101336                              NFT (459886281345516207/Make it run, make it right, make it fast)[1], SOL[0.38003497]

08101339                              BAT[1.00509972], DOGE[1], SOL[.00425825], TRX[1], USD[0.00]                                                                                                                         Yes

08101340                              DOGE[5.15730044], SHIB[602959.05958654], USD[0.00]

08101343                              USD[0.00]

08101348                              CUSDT[1], USD[30.55]                                                                                                                                                                Yes

08101349                              KSHIB[186.93905431], USD[0.00]                                                                                                                                                      Yes

08101354                              BRZ[2], CUSDT[11], DOGE[3], MATIC[236.3318205], SOL[.0824268], TRX[5], USD[0.00], USDT[1]

08101355                              DOGE[1], NFT (385016029683868418/SOLYETIS #5502)[1], NFT (414107361865945537/Fancy Frenchies #1291)[1], SOL[.06197316], USD[0.00]

08101361                              USD[60.01]

08101364                              USD[0.81]

08101383                              ETH[.41710282], ETHW[.41697695], GRT[707.71943846], SHIB[7], USD[0.00]                                                                                                              Yes

08101384                              CUSDT[1], USD[0.00]                                                                                                                                                                 Yes

08101391                              CUSDT[1], DOGE[1], SOL[0], USD[0.00]                                                                                                                                                Yes

08101392                              BRZ[1], CUSDT[3], ETHW[.11132515], SHIB[3], USD[0.00]                                                                                                                               Yes

08101397                              BTC[.00015198], CUSDT[1], ETH[.00526032], ETHW[.00526032], USD[0.00]

08101399                              USD[65.88], USDT[0.00000001]

08101405                              BRZ[2], BTC[.11051789], CUSDT[5], DOGE[5773.14767283], ETH[1.1676698], ETHW[0.96698210], MATIC[558.33575042], SHIB[41442034.51973548], TRX[7], USD[1445.51]                         Yes

08101411                              BTC[.010989], USD[2.10]

08101420                              USD[500.00]

08101440                              CUSDT[3], SHIB[3], SOL[.22048567], SUSHI[.46606776], TRX[1], USD[0.00]                                                                                                              Yes

08101442                              USD[0.25]                                                                                                                                                                           Yes

08101443                              ETH[1.673], ETHW[1.673], SOL[15.75], USD[2.35]

08101449                              USD[500.00]

08101451                              USD[0.01]

08101452                              BTC[0.00902295], DOGE[620.08], ETH[.005841], ETHW[.005841], LINK[13.4985], LTC[1.09555], MATIC[49.29], SOL[1.2756], SUSHI[1.478], UNI[9.11765], USD[0.00], USDT[61.73102871]

08101456                              CUSDT[1], USD[0.00]                                                                                                                                                                 Yes

08101459                              BTC[.00173288], TRX[1], USD[0.00]

08101471                              AAVE[.20158575], CUSDT[2], SHIB[1200256.38663235], USD[0.04]                                                                                                                        Yes
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08101473                              SHIB[38188.67781441], USD[0.00]                                                                                                                                                    Yes

08101481                              USD[30.00]

08101486                              BTC[.0004123], USD[24.90]

08101487                              USD[0.00]

08101489                              USD[5.00]

08101493                              USD[1.00]

08101498                              SOL[2.57742], USD[11.10]

08101499                              SOL[0], USD[0.00]

08101501                              BTC[0], ETHW[.00011763], USD[0.07]

08101502                              BRZ[1], BTC[.00000001], CUSDT[461.36793437], DOGE[2], MATIC[0.00007999], USD[205.97]

08101509                              USD[0.00]

08101514                              BTC[.00886215], TRX[1], USD[0.00]                                                                                                                                                  Yes

08101516                              USD[2773.73], USDT[0]

08101518       Contingent, Disputed   USD[500.00]

08101520                              ETH[.00201113], ETHW[.00201113], SOL[0], USD[0.00]

08101522                              SOL[5.08445399], USD[0.00]

08101538                              AUD[0.00], USD[0.00]

08101565                              BTC[.00343487]

08101570                              USD[0.00]                                                                                                                                                                          Yes

08101572                              SOL[1.90809], USD[48.76]

08101585                              USD[10.00]

08101588                              GRT[1.00019173], USD[2.32]                                                                                                                                                         Yes

08101592                              ETHW[.1], NFT (343016615946882879/Miner Bot 366)[1], NFT (380177541313264541/ApexDucks #3140)[1], NFT (455592813140257220/ApexDucks #3585)[1], NFT (497391805158925544/Miner Bot
                                      250)[1], USD[5257.88]
08101600                              AAVE[4.56274], BTC[.00000422], USD[38.39]

08101604                              USD[32.04]

08101605                              TRX[884.38556547], USD[0.00]                                                                                                                                                       Yes

08101619                              CUSDT[7], DOGE[1], GRT[1], SHIB[872228.60675377], TRX[1], USD[0.00], USDT[0.00087795]                                                                                              Yes

08101626                              ETH[.113], ETHW[.113], SOL[5.16], USD[500.82]

08101641                              BRZ[2], BTC[.01070947], CUSDT[12], DOGE[1073.9745577], ETH[.14229163], ETHW[.14137971], KSHIB[4083.44270154], MATIC[148.35424175], SHIB[10507454.84974452], SOL[4.72748905],       Yes
                                      TRX[4959.10802972], USD[253.29], USDT[43.66361805]
08101644                              SOL[.819221], USD[2.38]

08101646                              BTC[0.00045878], CUSDT[3], NFT (452269953427610043/Warriors 75th Anniversary Icon Edition Diamond #1887)[1], USD[0.00]                                                             Yes

08101648                              BTC[0], ETH[0], SOL[.00000001], USD[0.00], USDT[0.00014361]

08101662                              BRZ[1], BTC[.00177207], SHIB[4], USD[206.67]                                                                                                                                       Yes

08101680                              SHIB[2], USD[0.00]

08101684                              BTC[.00864943], NFT (507585533332858115/Coachella x FTX Weekend 1 #29094)[1]                                                                                                       Yes

08101691                              TRX[.000004], USDT[.00142589]                                                                                                                                                      Yes

08101694                              SOL[.28], USD[1.61]

08101695                              USD[100.00]

08101696                              CUSDT[13], DOGE[2], ETH[.11400292], ETHW[.11288511], USD[0.00]                                                                                                                     Yes

08101699                              CUSDT[1], TRX[1], USD[0.14]                                                                                                                                                        Yes

08101708                              DOGE[1], ETHW[.16154887], SHIB[5], TRX[2], USD[0.00]

08101709                              CUSDT[1], GRT[1.00030826], USD[0.00]                                                                                                                                               Yes

08101715                              TRX[.5883], USD[3.81]

08101728                              TRX[0], USD[0.01]                                                                                                                                                                  Yes

08101729                              CUSDT[3], TRX[348.4446983], USD[0.00]                                                                                                                                              Yes

08101734                              BRZ[1], SHIB[17], USD[0.00]

08101735                              CUSDT[1], SHIB[624884.13763842], USD[0.00]                                                                                                                                         Yes

08101737                              TRX[.008692]

08101739                              BF_POINT[100], ETHW[0], SHIB[0], USD[0.25], USDT[106.58387207]                                                                                                                     Yes

08101740                              BTC[.00012972], NFT (554725117606738119/Highland Mesa #271)[1], SOL[.0565868], USD[0.00]

08101741                              USD[0.00]

08101743                              ETH[.033], ETHW[.033], SUSHI[32.39534627], TRX[548], USD[200.07], USDT[0.00017842], YFI[.00615624]

08101773                              ETH[.00030001], ETHW[0.00030000], SHIB[42638.40351248], USD[0.00]

08101781                              BTC[.00159955], CUSDT[4], DOGE[813.61198485], ETH[.02287825], ETHW[.02259097], SOL[.44307964], USD[0.00]                                                                           Yes

08101786                              ETH[.00018747], ETHW[.00018747]                                                                                                                                                    Yes

08101791                              SOL[.00009743], USD[0.00]                                                                                                                                                          Yes

08101802                              CUSDT[1], DOGE[40.7632018], USD[0.00]                                                                                                                                              Yes

08101809                              SOL[.12], USD[1.48]
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                                                                                                                                             Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08101810                              BTC[.0669017], ETH[2.70261964], ETHW[2.70261964], SOL[48.16995361], USD[329.94], USDT[0.00008518]

08101829                              USDT[3.8872512]

08101830                              CUSDT[3], SOL[.00000365], TRX[1], USD[0.01]                                                                                                                                             Yes

08101836                              BRZ[1], CUSDT[3], DAI[.0000915], DOGE[397.47122308], ETH[.02334642], ETHW[.02305914], MKR[.00885254], SHIB[2653254.93236426], SUSHI[2.05893557], TRX[171.80183772], USD[0.34],          Yes
                                      USDT[29.6729454], YFI[.0002865]
08101837                              DOGE[1], SHIB[2], USD[0.00]

08101846                              BTC[.00003027], ETH[.00042219], ETHW[.00042219], USD[6.49]                                                                                                                              Yes

08101863                              CUSDT[1], DOGE[1], ETH[.00000005], ETHW[.00000005], TRX[1], USD[0.00]                                                                                                                   Yes

08101867                              BTC[0]

08101870                              BTC[0.00021794], DOGE[.00024942], USD[0.00]                                                                                                                                             Yes

08101876                              DOGE[2], SHIB[16], USD[0.00]                                                                                                                                                            Yes

08101878                              NFT (508773190884287473/First 50 #8)[1]

08101879                              USD[500.01]

08101884                              AAVE[.77800535], BTC[.02146379], USD[700.00]

08101914                              BTC[.00000036], USD[0.00]                                                                                                                                                               Yes

08101927                              BRZ[1], CUSDT[5], USD[0.00]

08101935                              ETH[.00000001], NFT (480524978445921681/Cool Bean #2058)[1], SOL[0.01720291], TRX[1]

08101942                              SOL[.08236304], USD[0.00]

08101968                              CUSDT[1], USD[7.29]

08101984                              LINK[.8], NFT (362310053490535141/Suiko-Bit 1 #2)[1], NFT (477454352929397535/Suiko-Bit 1)[1], NFT (479131977101991091/Ape Pirate 1)[1], NFT (544509131133684924/Ape Pirate 1 #2)[1],
                                      SUSHI[1], UNI[.999], USD[1.43]
08101986                              SOL[.00754121], USD[0.00]

08102008                              SOL[0.03088866]

08102011                              CUSDT[5], USD[21.38]                                                                                                                                                                    Yes

08102030                              NFT (382814792303694812/Golden chicken)[1], NFT (460681498441681229/Scientist cat)[1], NFT (467302887907830570/Unique cat)[1], USD[0.09]

08102035                              CUSDT[2], DOGE[2], LINK[9.42489561], USD[0.00]

08102041                              USD[1.38]

08102043                              NFT (380592490943643566/DOTB #4147)[1], NFT (395246810116503644/DOTB #4144)[1], NFT (424012701508127825/Romeo #718)[1], NFT (428444622712609870/SolBunnies #793)[1], NFT
                                      (517980116422179318/Solana Surfer #2886)[1], SOL[.093]
08102051                              BTC[0], LTC[0], USD[0.00]

08102061                              SOL[.00000009], USD[0.00]

08102072                              BTC[.00012031], USD[0.00]                                                                                                                                                               Yes

08102073                              USDT[.000001]

08102075                              SOL[0.02125318]                                                                                                                                                                         Yes

08102078                              USD[0.00]

08102080                              CUSDT[2], SUSHI[1], TRX[1], USD[0.00]

08102096                              SOL[.04397011], USD[0.00]                                                                                                                                                               Yes

08102100                              USD[500.00]

08102102                              SOL[9.43366478], TRX[1], USD[0.01], USDT[0]                                                                                                                                             Yes

08102103                              CUSDT[2], USD[0.00]

08102105                              CUSDT[5], SHIB[3], TRX[0], USD[0.94]                                                                                                                                                    Yes

08102106                              USD[5.71]

08102120                              USD[0.99]

08102133                              SOL[.2], USD[1.40]

08102141                              BRZ[1], DOGE[1], SUSHI[52.31103072], USD[0.00]                                                                                                                                          Yes

08102146                              NEAR[3.05744679], SOL[.00044253], USD[0.39]

08102153                              BTC[.000002], ETH[.000101], ETHW[.000101], SHIB[3], SOL[3.84984158]                                                                                                                     Yes

08102176                              BTC[0], USD[1.56]

08102185                              BAT[3], BTC[0.00019695], USD[3.34]

08102198                              BTC[.00002415], NFT (481311756206076853/Coachella x FTX Weekend 2 #8101)[1], SOL[.00484], USD[1818.31]

08102205                              SHIB[36211.58476669], USD[0.00]                                                                                                                                                         Yes

08102210                              SOL[.00000001]

08102216                              CUSDT[1], SOL[.08176429], TRX[157.247876], USD[0.00]

08102235                              USD[1.00], USDT[16.40004279]

08102243                              EUR[1.33]

08102269                              USD[100.00]

08102281       Contingent, Disputed   USD[0.01]

08102282                              KSHIB[410], USD[30.25]

08102289                              DOGE[1], SOL[0], TRX[.00102535], USD[0.23]                                                                                                                                              Yes

08102308                              USD[1.08]                                                                                                                                                                               Yes
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08102315                              USD[1.80]

08102327                              CUSDT[1], USD[0.00]                                                                                                                                                                   Yes

08102341                              SOL[.001], USD[0.00], USDT[.00000001]

08102358                              USDT[.47468175]

08102375                              BTC[0], DOGE[0], ETH[0], LINK[0], MATIC[0], SOL[0], SUSHI[0], UNI[0], USD[0.00], USDT[0.00036245]

08102383                              TRX[106.49341483]                                                                                                                                                                     Yes

08102440                              BTC[.00009438], DOGE[.60346287], ETHW[1.204], SHIB[81759.67211137], USD[6673.99], USDT[.006441]

08102446                              BTC[0], USD[0.01], USDT[0]                                                                                                                                                            Yes

08102452                              USD[540.52]                                                                                                                                                                           Yes

08102454                              CUSDT[2], PAXG[.00000049], USD[0.00]                                                                                                                                                  Yes

08102461                              ETH[.00493679], ETHW[.00493679], USD[6.16]

08102471                              BTC[0.00286597], DOGE[220.11618573], ETH[.01585875], ETHW[.01566723], USD[12.40]                                                                                                      Yes

08102472                              BRZ[1], ETH[.00648465], ETHW[.00640257], USD[0.01]                                                                                                                                    Yes

08102478                              SOL[51.66828], USD[40.15]

08102489                              NFT (361271194473479521/MagicEden Vaults)[1], NFT (363781270569962890/MagicEden Vaults)[1], NFT (398395627880610029/MagicEden Vaults)[1], NFT (498263217773923540/MagicEden
                                      Vaults)[1], NFT (517480015009263530/MagicEden Vaults)[1], NFT (546173286314099798/SBF Hair & Signature #1 #130)[1]
08102494                              DOGE[1], SHIB[199606.8121357], USD[0.00]                                                                                                                                              Yes

08102496                              BTC[0], ETH[0], MATIC[0], SHIB[101416.41039554], SOL[0], USD[0.21], USDT[0]                                                                                                           Yes

08102512                              USD[100.00]

08102513                              TRX[.000007], USDT[200.01536895]                                                                                                                                                      Yes

08102514                              SHIB[179369.39836528], SOL[.02055949], USD[0.00]                                                                                                                                      Yes

08102549       Contingent, Disputed   BTC[.02033033]                                                                                                                                                                        Yes

08102565                              NFT (323225133925432591/Brick World #13)[1], NFT (382380811500133278/Ape Art #453)[1], NFT (412563430235394158/Crypto Ape #79)[1], NFT (489495212417779463/Crypto Ape #237)[1], NFT
                                      (491485729263961350/Crypto Ape #19)[1], NFT (492790306664361393/Mad Girl Edition #16)[1], SOL[.4525]
08102569                              BTC[.00156631], SOL[.41777577]

08102572                              USD[4.51]

08102585                              NFT (397857026575114698/Microphone #10133)[1], NFT (418099828414150742/Romeo #1565)[1], NFT (539083032728594498/Entrance Voucher #5395)[1], NFT (559816200853042615/Juliet #449)[1]

08102586                              ETHW[.0999525], TRX[.000003], USD[0.23], USDT[0]

08102597                              USD[0.00]

08102613                              BTC[0], ETH[0], LTC[0], USD[0.01], USDT[6.80034292]                                                                                                                                   Yes

08102628                              BAT[0], CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                  Yes

08102629                              CUSDT[1], DOGE[1], KSHIB[991.52303081], USD[0.01]

08102662                              DOGE[1], ETH[.9281747], ETHW[.9281747], GRT[1], USD[0.00]

08102670                              NFT (355428671747843783/Bahrain Ticket Stub #831)[1]

08102671                              USD[1212.14]

08102686                              BF_POINT[300], MATIC[0], NFT (362135687898427428/Solana Islands #1896)[1], NFT (519862922549473251/Australia Ticket Stub #2446)[1], SHIB[2], SOL[0], USD[0.00], USDT[0]               Yes

08102687                              USD[5.00]

08102694                              BTC[.0129], MATIC[110], SOL[6.54345], USD[26.88]

08102699                              CUSDT[4], DOGE[3], USD[0.46]                                                                                                                                                          Yes

08102715                              NEAR[49.95], SOL[.00212], USD[0.92]

08102723                              DOGE[107.44862117], ETH[.042], ETHW[.042], USD[0.38]

08102726                              CUSDT[1], ETH[.01159692], ETHW[.01159692], TRX[1], USD[0.00], USDT[0.00002745]

08102742                              USD[0.00]

08102750                              BAT[.86005254], BCH[.00302777], BTC[.00004616], CUSDT[49.80330408], DOGE[4.15466726], ETH[.00070697], ETHW[.00070281], EUR[1.40], GRT[.54143032], KSHIB[18.42589427],                 Yes
                                      LTC[.01149402], MATIC[.62637502], SHIB[600162.50555014], SOL[.01282504], SUSHI[.09195861], TRX[81.53115465], UNI[.04057775], USD[3.18], USDT[.99438061]
08102751                              SOL[.08991], USD[0.19]

08102756                              DAI[0], SHIB[4], SOL[0], TRX[0], USD[0.00]                                                                                                                                            Yes

08102757                              BTC[0.00001546], USD[32.35], USDT[0.00267472]

08102764                              CUSDT[1], SHIB[420590.37587922], USD[0.14]                                                                                                                                            Yes

08102765                              ETHW[.0004937], USD[713.81]

08102770                              CUSDT[4], NFT (452337644430607497/Solana Islands #530)[1], SHIB[1], USD[12.73]                                                                                                        Yes

08102795                              USD[0.07]

08102797                              NFT (541731638433938879/Wonky Stonk #3816)[1]

08102813                              AVAX[13.986], BTC[.052], ETH[3.985511], ETHW[3.985511], SOL[19.75024], USD[11.60]

08102814                              BTC[.00015328], USD[0.00]                                                                                                                                                             Yes

08102815                              BTC[.00422471], CUSDT[1], USD[1.87]                                                                                                                                                   Yes

08102823                              LINK[7.3], SHIB[4297910], SOL[3.134167], TRX[1005.06615], USD[11.61]

08102826                              AVAX[3.06064351], ETH[3.03168237], ETHW[3.03070458], NFT (309091604785089594/SolDad #5415)[1], NFT (456354579531515549/Inverse Bear 3D #2087)[1], NFT (479118333215603287/David
                                      #862)[1], SOL[4.34678037], USD[1546.51]
08102832                              USD[1.36]

08102833                              DOGE[8.9125], KSHIB[700], SHIB[9450000], USD[14.10]
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08102834                              BTC[.00013449]

08102836                              NFT (465381236979598091/Cadet 1071)[1]

08102838                              DOGE[1], USD[0.00]                                                                                                                                                                    Yes

08102842                              BRZ[2], BTC[.00000005], CUSDT[4], DOGE[2], SHIB[6], USD[0.01]                                                                                                                         Yes

08102852                              BAT[2], BTC[0], CUSDT[14], GRT[3.06158297], SHIB[14], SOL[.00054808], TRX[11], USD[0.00], USDT[0]                                                                                     Yes

08102864                              CUSDT[1], MATIC[3.66052704], USD[0.00]

08102866                              USD[541.12]                                                                                                                                                                           Yes

08102867                              ALGO[.00000001], BTC[0], USD[0.00]

08102869                              BTC[.22759476], ETH[.18879042], ETHW[.1885651], NFT (324360095211048276/Socal)[1], NFT (384261189570365602/Marcus Allen's Playbook: USC vs. Washington - November 14, 1981 #82)[1],   Yes
                                      NFT (432402143152891232/Marcus Allen's Playbook: Los Angeles Raiders vs. Washington - January 22, 1984 #77)[1], NFT (434658979843560449/What Time Is It #19 Of 20)[1], NFT
                                      (457172942670961502/Tim Brown's Playbook: Michigan State vs. Notre Dame - September 19, 1987 #59)[1], SHIB[4], SOL[8.27949982], TRX[3517.42063697], USD[2.05], USDT[0]
08102870                              SOL[.17], USD[0.83]

08102871                              BTC[.00155574], USD[0.00]

08102885                              AAVE[0.00000001], AUD[0.00], AVAX[0], BAT[0], BCH[0], BRZ[0], BTC[0], CAD[0.00], CHF[0.00], CUSDT[0.00000001], DAI[0], DOGE[0], ETH[0], GBP[0.00], GRT[0.00000001], KSHIB[0],
                                      LINK[0.81381736], LTC[0], MATIC[0.00000001], MKR[0], NEAR[0], PAXG[0.00000001], SGD[0.00], SHIB[0], SOL[0], SUSHI[0], TRX[0.00000001], UNI[0], USD[0.00], WBTC[0], YFI[0]
08102887                              SHIB[18281700], USD[8.69]

08102890                              CUSDT[1], SHIB[313573.99139803], USD[0.00]                                                                                                                                            Yes

08102897       Contingent, Disputed   USD[0.00]

08102904                              USD[0.00]                                                                                                                                                                             Yes

08102909                              NFT (539311654075334726/Sigma Shark #1646)[1], SOL[.34], USD[0.25]

08102911                              USD[0.00]

08102912                              NFT (474401682272559811/Crypto Flowers 1)[1], NFT (509212631168988231/Crypto Flowers 6)[1]

08102917                              SOL[.30959], USD[1.60]

08102921                              CUSDT[1], DOGE[1], SOL[7.89861699], USD[0.02]                                                                                                                                         Yes

08102923                              BAT[15.27442883], BTC[.00821425], CUSDT[6], DOGE[130.0090647], ETH[.15925801], ETHW[.15870556], SHIB[1359883.01614813], SOL[1.06667708], SUSHI[1.16479469], TRX[2], USD[0.00]         Yes

08102925                              BTC[.00115013], ETH[.02103809], ETHW[.02103809], LINK[1.01156789], MATIC[6.68875713], SHIB[8], SOL[.51667502], TRX[1], USD[0.00]

08102929                              NFT (377949608254227266/Reflection '19 #19 (Redeemed))[1], NFT (440519225613107019/Beasts #521)[1], NFT (530250231293828272/Reflection '19 #11 (Redeemed))[1], NFT
                                      (544312969595020745/Night Light #786)[1], NFT (568855554407840658/Reflector #695)[1], USD[10.00]
08102941                              MATIC[.00238421]                                                                                                                                                                      Yes

08102943                              BTC[0], DOGE[0], ETH[0.00046375], ETHW[0.00046375], SHIB[0], SOL[0], USD[0.99]

08102946                              USD[1.08]                                                                                                                                                                             Yes

08102952                              USD[0.01]

08102959                              CUSDT[1], SOL[.14918574]

08102960                              BTC[0], DOGE[100], ETH[0.02996493], ETHW[0.02996493], MATIC[0], SHIB[3896800], SOL[0], USD[0.14]

08102964                              BAT[1.01301542], DOGE[1], MATIC[76.21766974], SHIB[1], USD[0.00]                                                                                                                      Yes

08102975                              CUSDT[1], SOL[.67838689], USD[0.00]                                                                                                                                                   Yes

08102976                              USD[0.00]

08102988                              USD[100.00]

08102994                              TRX[.000001], USDT[0.00000162]

08103005                              BF_POINT[100], BTC[.00000083], CUSDT[1], DOGE[1], ETH[.00000001], SHIB[3], TRX[3], USD[0.00]                                                                                          Yes

08103009                              DOGE[1], SHIB[1], TRX[1], USD[0.00]                                                                                                                                                   Yes

08103011                              BTC[.00326289], ETH[.04596728], ETHW[.04596728], SOL[.87356479], USD[100.00]

08103015                              HKD[0.04], SHIB[11466.13215859], USD[0.00]                                                                                                                                            Yes

08103016                              USD[3.94]

08103018                              TRX[1], USD[0.00]                                                                                                                                                                     Yes

08103025                              USD[0.00]

08103026                              CUSDT[2], ETH[.00531788], ETHW[.00524948], SOL[.11763701], USD[11.23]                                                                                                                 Yes

08103039                              BTC[.00008969], ETH[.0001499], USD[0.00]

08103041                              BTC[.00119058], CUSDT[2], ETH[.00486912], ETHW[.0048144], LINK[.23953276], USD[10.96]                                                                                                 Yes

08103042                              BTC[.00123133], USD[60.60]

08103050                              SHIB[1971290.50031092], TRX[1], USD[0.00]                                                                                                                                             Yes

08103053                              USD[45.41]

08103060                              AVAX[0], SHIB[4], USD[0.00], USDT[0]                                                                                                                                                  Yes

08103064                              USD[0.00]

08103069                              ALGO[45.43874851], BRZ[66.65558015], BTC[.00230368], CUSDT[60.90813666], DOGE[734.78432908], ETH[.03762739], ETHW[.03716193], GRT[325.26681332], LINK[11.12865329],                   Yes
                                      SHIB[4797738.01631742], SOL[1.4537006], TRX[2476.5483375], USD[902.99]
08103073                              BRZ[1], CUSDT[5], DOGE[3], SHIB[3], TRX[7], USD[0.00]                                                                                                                                 Yes

08103076                              BTC[.00105303]                                                                                                                                                                        Yes

08103077                              USD[2.00]

08103081                              ETH[.00000001], SHIB[583540.98334458], SOL[0], USD[597.39]

08103082                              ETHW[.12904615], MATIC[101.69080703]

08103083                              CUSDT[1], SHIB[4182182.24181703], SOL[1.38418601], TRX[1], USD[0.01]                                                                                                                  Yes
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                                                                                                                                            Customer Claims                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08103091                              SOL[.01]

08103097                              LINK[3], SOL[1.65], USD[0.24]

08103099                              SHIB[56278.17771544], USD[0.00]                                                                                          Yes

08103116                              SHIB[512729.69444916], SOL[.04587134], USD[25.00]

08103139                              DOGE[1], GRT[1.00026477], USD[0.00]                                                                                      Yes

08103149                              SOL[.081]

08103150                              SHIB[1954133.1738117], TRX[1], USD[0.00]                                                                                 Yes

08103155                              CUSDT[3], USD[0.07], USDT[0.73593960]                                                                                    Yes

08103166                              NEAR[25], USD[218.05], USDT[0.00000001]

08103177                              USD[159.09]                                                                                                              Yes

08103183                              USD[0.01]

08103189                              CUSDT[1], ETH[.00466227], ETHW[.00460755], USD[0.00]                                                                     Yes

08103190                              CUSDT[1], DOGE[1], SOL[4.70043087], USD[0.00]

08103193                              DOGE[1], SHIB[9998000.39992001], USD[0.00]

08103194                              KSHIB[18.27269994], USD[0.00]                                                                                            Yes

08103200                              SHIB[1], USDT[0]

08103201                              USD[0.00]

08103209                              BRZ[1], CUSDT[1], MXN[0.00], SHIB[203274.92754846]                                                                       Yes

08103212                              ETH[.04592792], ETHW[.04592792], USD[0.00]

08103214                              LTC[.006], USDT[.3054868]

08103215                              BTC[.0271], ETH[.48609071], ETHW[.48609071], USD[1.00]

08103218                              BTC[.0015713], NFT (379974025425697031/Happy Sun #8)[1], NFT (499283730038292005/Happy Sun #6)[1], USD[0.00]

08103223                              USD[100.00]

08103225                              SOL[4.00050289], USD[31.72]

08103237                              ETHW[.234], LTC[0], USD[0.78]

08103239                              SHIB[182493.9441076], USD[0.00]                                                                                          Yes

08103240                              SOL[2], USD[44.80]

08103249                              BTC[0], CUSDT[6], DOGE[6], ETHW[.5841312], SHIB[1], TRX[2], USD[0.07]

08103260                              SOL[4.48], USDT[1.65042950]

08103264                              BTC[.0000575], DAI[.00000001], ETH[.04405667], ETHW[0.04405666], USD[0.00], USDT[123.30026374]

08103266                              BTC[0.00647085], ETH[.0730136], ETHW[.0730136], LINK[.01963], MATIC[738.695], SOL[3.794106], SUSHI[327.226], USD[0.11]

08103271                              USD[0.00]                                                                                                                Yes

08103280                              USD[0.00]

08103287                              ETHW[.00061724], USD[0.53]

08103297                              USD[0.00]

08103303                              BTC[.00005826], CUSDT[1], ETH[.00089415], ETHW[.0008805], USD[5.41]                                                      Yes

08103312                              SOL[0.05515182]

08103317                              BTC[1.49056341], ETH[3.186461], ETHW[3.18547701]                                                                         Yes

08103318                              USD[21.05]                                                                                                               Yes

08103323                              SHIB[76400000], USD[2116.40]

08103326                              BRZ[1], TRX[1], USD[0.00]                                                                                                Yes

08103333                              USD[3.41]

08103343                              ETH[.05837423], ETHW[.05837423], USD[0.00]

08103345                              NFT (545256303170687870/024x-BO)[1], USD[3.30]                                                                           Yes

08103348                              BTC[0], ETH[0], USD[305.70]

08103352                              USD[11.65]

08103360                              BF_POINT[100], BTC[.00000042], ETHW[1.07882081], USD[0.01]                                                               Yes

08103362                              ETH[0], SOL[0], USD[0.00], USDT[0.00000001]

08103364                              USD[50.00]

08103367                              CUSDT[1], DOGE[2], TRX[1], USD[0.00]

08103369                              USD[0.00]

08103379                              USD[0.14]

08103382                              PAXG[.0003821], USD[13.63], USDT[0.00000001]

08103387                              BCH[0], BTC[0], SOL[0.09697160], TRX[0], USD[0.00]

08103390                              BTC[0.00000740]

08103406                              DOGE[0], GRT[1], SHIB[7], TRX[1], USD[0.01]                                                                              Yes

08103414       Contingent, Disputed   USD[0.00]

08103421                              MATIC[.04740902], USD[0.07]                                                                                              Yes
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08103424                              USD[108.20]                                                                                                                                                                           Yes

08103432                              BF_POINT[100], MATIC[0], NEAR[2.73244628], SHIB[1], USD[0.00]                                                                                                                         Yes

08103435                              BTC[0.00987992], ETH[0], ETHW[0], USD[0.00]                                                                                                                                           Yes

08103437                              CUSDT[1], DOGE[1], TRX[687.89414648], USD[27.10]                                                                                                                                      Yes

08103438                              USD[540.89]                                                                                                                                                                           Yes

08103441                              AAVE[.00000916], DOGE[2], SOL[0], TRX[1], USD[0.00]                                                                                                                                   Yes

08103446                              ETH[.000966], ETHW[.000966], SOL[0.99798000], USD[0.66]

08103448                              BTC[.00110033], ETH[.2049452], ETHW[.2049452], SHIB[1], USD[120.00]

08103453                              ETHW[.89141447], USD[1132.17]

08103458                              BTC[0], CUSDT[3], LTC[0], MATIC[0], TRX[1], USD[0.00]                                                                                                                                 Yes

08103467                              USD[50.01]

08103468                              CUSDT[1], TRX[1], USD[0.00]

08103471                              BRZ[1], USD[0.00]

08103474                              DOGE[105.25770536], USD[0.00]

08103476                              USD[5.19]                                                                                                                                                                             Yes

08103486                              BTC[.005], USD[2.45]

08103487                              USD[322.77]                                                                                                                                                                           Yes

08103488                              SOL[0], USD[6.22]

08103490                              NFT (516643985162241613/Manta Ray #417)[1]

08103497                              CUSDT[45.34293232], USD[0.00]                                                                                                                                                         Yes

08103499                              NFT (289954603962223413/PIG 02)[1], NFT (315502868105730898/5D MOUSE 04)[1], NFT (324867579867060166/PIG 21)[1], NFT (327823716404176639/5D DOG 02)[1], NFT
                                      (328565265554848923/5D PIG 13)[1], NFT (346867772855537601/5D DOG 05)[1], NFT (348952826002016647/PIG 04)[1], NFT (353134136785298225/PIG 09)[1], NFT (355695324579855764/5D
                                      MOUSE 06)[1], NFT (358420132829695022/PIG 18)[1], NFT (363957260245909065/5D DOG 04)[1], NFT (380115580002048187/5D PIG 16)[1], NFT (391446215467866726/5D DOG 06)[1], NFT
                                      (392569034112147844/5D MOUSE 01)[1], NFT (400681825253222709/PIG 15)[1], NFT (412659806923054291/5D PIG 04)[1], NFT (413025286193497642/5D PIG 13 #2)[1], NFT
                                      (415851484868348918/5D PIG 12)[1], NFT (424734964108682857/PIG 17)[1], NFT (427395646179279577/PIG 10)[1], NFT (433392882224716169/PIG 22)[1], NFT (446983107408470998/PIG 08.)[1],
                                      NFT (452740092033168614/5D MOUSE 05)[1], NFT (454317293406969587/5D PIG 17)[1], NFT (461121125111894275/PIG 11)[1], NFT (465103386991627742/5D MOUSE 07)[1], NFT
                                      (469979881563418747/5D PIG 07)[1], NFT (473488544515485827/PIG 08)[1], NFT (473940802522347677/5D PIG 15)[1], NFT (477964395052351320/5D PIG 02)[1], NFT (484144867239648881/PIG
                                      16)[1], NFT (501713667278064838/5D PIG 18)[1], NFT (503025668492487054/5D DOG 07)[1], NFT (504646001059469113/PIG 06)[1], NFT (508657434843791253/PIG 24)[1], NFT
                                      (509455045830860022/5D MOUSE 03)[1], NFT (547060298290363501/5D PIG 19)[1], NFT (547129236331594053/5D PIG 06)[1], NFT (551323200699389205/5D PIG 14)[1], NFT
                                      (562445905919407815/5D DOG 01)[1], NFT (576366803761634209/5D DOG 03)[1], USD[0.00], USDT[0]

08103509                              BTC[.0093234], DOGE[1], USD[0.00]

08103513                              NFT (436081878163960691/SharkBro #6100)[1]

08103516                              SOL[0.00999999], USD[0.00]

08103518                              USD[21.51]                                                                                                                                                                            Yes

08103519                              AAVE[4.24753236], BAT[660.08151671], BRZ[0], BTC[0.15137873], CUSDT[0], DOGE[2.00040389], ETH[1.44473777], ETHW[1.44413103], GRT[708.13557939], LINK[83.18824154],                    Yes
                                      MATIC[890.67273753], SHIB[3], SOL[28.31022747], SUSHI[46.73455691], TRX[5960.50095232], USD[0.01], USDT[0.00534538]
08103522                              MATIC[0.21197998], SOL[10.35769917], USD[1.65]

08103523                              NFT (445105628935569373/Coogi #1079)[1], NFT (572434626383056842/Coogi #5694)[1], SOL[4.6]

08103533                              BTC[.00014196], SHIB[360.05218621], USD[0.26], USDT[0.94696976]                                                                                                                       Yes

08103538                              ETH[.98108246], ETHW[.98108246], MATIC[404.09416143], SOL[4.186229], USD[250.00]

08103541                              USD[0.00]

08103544                              NFT (405588697781903904/Warriors 75th Anniversary City Edition Diamond #672)[1]

08103556                              USD[1.69]

08103559                              SUSHI[1], USD[0.00]

08103564                              BRZ[1], DOGE[2], ETH[0], ETHW[0], SHIB[5], SOL[.18847496], TRX[5], USD[0.01], USDT[1.0569698]                                                                                         Yes

08103565                              USD[5.00]

08103566                              SOL[2.53641868], TRX[1], USD[64.84]                                                                                                                                                   Yes

08103576                              USD[0.00]

08103587                              NFT (385778688221162013/SOLYETIS #8301)[1], SHIB[1965271.73378903], USD[0.04]

08103588                              BTC[.0000274]

08103589                              BTC[.00031094], CUSDT[2], DOGE[82.86671274], USD[0.00]                                                                                                                                Yes

08103599                              CUSDT[3], DOGE[3], SHIB[68804991.6096457], TRX[1], USD[1236.27]                                                                                                                       Yes

08103603                              USD[3.00]

08103620                              CUSDT[1], NFT (469181082180718659/Fancy Frenchies #4172)[1], SOL[.53965747], TRX[1], USD[59.99]                                                                                       Yes

08103629                              BTC[0.04191288], USD[0.35], USDT[4160.73003129]

08103631       Contingent, Disputed   USD[0.00]

08103639                              SHIB[194294.20431411], USD[0.00]                                                                                                                                                      Yes

08103642                              BTC[.27329094], ETH[.13353949], ETHW[.1324682], USD[0.11]                                                                                                                             Yes
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                                                                                                                                            Customer Claims                                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08103643                              ETH[0], MATIC[1], NFT (301515378133000942/Hungary Ticket Stub #181)[1], NFT (311797807395247896/Monaco Ticket Stub #76)[1], NFT (316409556564537597/Austin Ticket Stub #14)[1], NFT
                                      (324234043833801493/Montreal Ticket Stub #159)[1], NFT (325600643081046164/Silverstone Ticket Stub #396)[1], NFT (335748720954713715/Imola Ticket Stub #430)[1], NFT
                                      (349263549770700570/MagicEden Vaults)[1], NFT (358364374011684794/MagicEden Vaults)[1], NFT (367062111502292565/Singapore Ticket Stub #59)[1], NFT (382047572757968151/FTX - Off The
                                      Grid Miami #2442)[1], NFT (387794387424691375/Bahrain Ticket Stub #34)[1], NFT (405370807107726243/Belgium Ticket Stub #158)[1], NFT (431073951532753889/Netherlands Ticket Stub #46)[1],
                                      NFT (431178137383907234/Australia Ticket Stub #1497)[1], NFT (460026877715943245/MagicEden Vaults)[1], NFT (464175248182450430/Baku Ticket Stub #90)[1], NFT
                                      (491120439513773616/Austria Ticket Stub #237)[1], NFT (494383296259178853/Belgium Ticket Stub #173)[1], NFT (495426311092011007/Barcelona Ticket Stub #1186)[1], NFT
                                      (498348338282852425/Monza Ticket Stub #40)[1], NFT (503620190473405985/MagicEden Vaults)[1], NFT (505934341928440525/Japan Ticket Stub #18)[1], NFT (518551598355024579/Imola Ticket
                                      Stub #1103)[1], NFT (521098946621989355/Hungary Ticket Stub #270)[1], NFT (529488736090966274/MagicEden Vaults)[1], NFT (530541949156426198/France Ticket Stub #229)[1], NFT
                                      (536965666976141041/FTX - Off The Grid Miami #5800)[1], NFT (539773241370971444/France Ticket Stub #274)[1], NFT (571327293994876858/Saudi Arabia Ticket Stub #755)[1], NFT
                                      (572891694405444399/Mexico Ticket Stub #47)[1], NFT (574337570461283689/Baku Ticket Stub #991)[1], SOL[.07], USD[242.80]
08103646                              BTC[.02250003], CUSDT[5], ETH[.53447238], ETHW[.53424302], SOL[1.23086671], USD[0.00]                                                                                                       Yes

08103650                              USD[0.01]

08103652                              CUSDT[4], DOGE[2], ETHW[.04057279], SHIB[3], TRX[2], USD[0.01]

08103654                              USD[4319.35]

08103657       Contingent, Disputed   GRT[1.00019173], USD[0.00]                                                                                                                                                                  Yes

08103659                              CUSDT[2], USD[0.00]                                                                                                                                                                         Yes

08103673                              ETHW[.221], USD[2429.25]

08103674                              USD[0.29]

08103682                              SOL[2.24519807], TRX[1], USD[0.00]                                                                                                                                                          Yes

08103700                              NFT (307735704851639287/Toon #4)[1], NFT (322405586675728056/Big Brain JB)[1], NFT (345687690615710227/Toon #6)[1], NFT (350413225585603402/Toon #5)[1], NFT
                                      (374155852129185328/Toon #1)[1], NFT (425934673268094176/Thousand Doorstop)[1], NFT (471565627148990003/Toon #3)[1], NFT (472647614502536084/Big Brain Seth)[1], NFT
                                      (491975183602797623/Big Brain Farley)[1], NFT (499390877520137033/Toon #2)[1], NFT (500021046442804907/Big Brains)[1], NFT (520796369187281018/Big Brain McBride)[1], NFT
                                      (540133735540803634/Big Brain Rock)[1], NFT (565722809631800929/Big Brain Reilly)[1], NFT (571759316937896709/Toon #8)[1], NFT (574395932480952013/Toon #7)[1], USD[4.00]
08103703                              CUSDT[1], NFT (355824540037844450/DOTB #2757)[1], NFT (444280093640798640/DOTB #3948)[1], NFT (522697754754256931/DOTB #7279)[1], USD[0.10]                                                 Yes

08103706                              BTC[.00006172], CUSDT[3], ETH[.00001726], ETHW[.00001726], TRX[1], USD[144.41]

08103707                              ETH[.03232742], ETHW[.03232742], USD[2.05]

08103711                              DOGE[0], ETH[0], USD[0.00]

08103714                              BTC[0], ETH[0], SOL[0], USD[0.00], USDT[0.00002532]

08103731                              NFT (349959701855817201/Sol Spray Paint Can #1)[1], NFT (425029681983705413/Solana Spray Paint Can #3)[1], NFT (510149183548952670/Sol Spray Paint Cans #1)[1], NFT
                                      (559964560460723981/Solana Spray Paint Can #2)[1], SOL[.002]
08103732                              DOGE[1], TRX[1], USD[0.04], USDT[0]                                                                                                                                                         Yes

08103733                              USD[0.00]

08103735                              AVAX[18.97502861], BAT[146.64862912], DOGE[9784.2221066], SHIB[54894096.00391511], SOL[17.20269526], TRX[3], USD[0.00], USDT[1.06442858]                                                    Yes

08103745                              BRZ[133.29862065], CUSDT[31], DOGE[1], GRT[122.7491409], MATIC[6.96948173], NFT (431116449865188629/DOGO-ID-500 #6973)[1], NFT (528222591784166228/ApexDucks #1229)[1], NFT                 Yes
                                      (561993137072443695/Eitbit Ape #627)[1], SHIB[3], SOL[1.60337735], TRX[883.04247908], USD[0.00]
08103763                              SHIB[26900000], USD[0.07]

08103770                              SOL[.00008856], USD[0.97], USDT[.00517886]

08103776                              BCH[.01422424], BTC[.00069023], CUSDT[1], DOGE[6.63932556], ETH[.00134262], ETHW[.00132894], PAXG[.00221135], SHIB[105345.08788292], USD[0.00]                                              Yes

08103778                              SOL[.00003648], USD[0.00]                                                                                                                                                                   Yes

08103779                              USDT[1.476221]

08103783                              USD[100.00]

08103785                              ETH[.00050315], ETHW[.00050315], LINK[.09316], MATIC[.905], USD[2142.34]

08103791                              SOL[1.17438514], USD[88.80]

08103793                              BTC[0], SOL[0], USD[2.72]

08103801                              DOGE[1], GRT[11.06549732], SHIB[2], TRX[2], USD[0.20]                                                                                                                                       Yes

08103817                              USD[500.00]

08103819                              USD[540.30]                                                                                                                                                                                 Yes

08103821                              BTC[.00483656], USD[0.00]

08103831       Contingent, Disputed   USD[0.01]

08103833                              SOL[.00796377], USD[0.00]

08103834                              NFT (309824287029418325/Eitbit Ape #3411)[1], NFT (330794836930638331/Nois3)[1], NFT (343117270824558831/Roamer #75)[1], NFT (344007215616654024/Solninjas #6333)[1], NFT
                                      (366591537022073383/Dusk Skeleton)[1], NFT (367847073697472287/Solninjas #1429)[1], NFT (408106771221049626/Rogue Circuits #185)[1], NFT (413855104994689946/Solninjas #6287)[1], NFT
                                      (423647002625633083/Roamer #168)[1], NFT (448686732167406067/Solninjas #1027)[1], NFT (454756122627777164/Solninjas #1902)[1], NFT (455583418048058104/Rogue Circuits #98)[1], NFT
                                      (462318728082918186/Ravager #2035)[1], NFT (462352938426187083/Solninjas #5508)[1], NFT (474685783828284005/Ravager #2007)[1], NFT (495478434376748257/Rogue Circuits #344)[1], NFT
                                      (516882257861803875/Sigma Shark #3648)[1], NFT (527587346732084324/Solninjas #1579)[1], NFT (561014717552646181/Sigma Shark #5086)[1], SOL[.17000001], USDT[0.21826616]

08103854                              BTC[.00000081], ETH[.00463071], ETHW[2.46713631], USD[1403.72]                                                                                                                              Yes

08103870                              USD[0.00]

08103894                              SOL[0], USDT[0.00000177]

08103896                              USD[0.00]

08103900                              CUSDT[1], LTC[.45284381], USD[0.00]

08103901                              BRZ[1], BTC[.00779369], CUSDT[1], DOGE[1], SOL[4.86176622], USD[0.00]

08103904                              SOL[0], USD[0.00]

08103908                              BTC[.0000046]

08103916                              CUSDT[1], DOGE[1], SOL[.36589091], TRX[1], USD[0.00]                                                                                                                                        Yes

08103941                              BRZ[1], CUSDT[18], ETH[.00000003], ETHW[.00000003], SHIB[1], TRX[1], USD[0.00]                                                                                                              Yes

08103947                              ETHW[.14556545], SHIB[1], TRX[2], USD[865.07]                                                                                                                                               Yes
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                                                                                                                                         Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08103948                           CUSDT[1], SHIB[1958376.67723074], SOL[.44712949], TRX[1], USD[0.00]                                                                                                               Yes

08103965                           BRZ[1], CUSDT[3], TRX[264.80367378], USD[0.00]                                                                                                                                    Yes

08103972                           USD[0.10]                                                                                                                                                                         Yes

08103979                           BRZ[1], CUSDT[1], TRX[1], USD[0.00], USDT[1.07890305]                                                                                                                             Yes

08103994                           DOGE[8.991], ETHW[1.245862], USD[1629.20]

08103997                           CUSDT[1], USD[49.53]

08104003                           USD[0.01]

08104013                           BAT[1], BRZ[2], BTC[.00000091], DOGE[1], ETH[0], GRT[1], SHIB[5], TRX[2], USD[0.34], USDT[5.12570715]                                                                             Yes

08104024                           SHIB[18500000], USD[6.66]

08104037                           SHIB[.03505328], SOL[0], USDT[0]

08104041                           LTC[.5510458], SHIB[5592.82511377], USD[0.00]                                                                                                                                     Yes

08104045                           SOL[0.00059995], TRX[0], USD[0.00]

08104046                           USD[0.00]

08104049                           BTC[0], ETH[.014], ETHW[.014], SOL[0], USD[0.00]

08104051                           GRT[.00417741], MATIC[.00105579], USD[0.00]                                                                                                                                       Yes

08104055                           BRZ[1], CUSDT[15], SHIB[4438652.32775536], TRX[1], USD[0.01]

08104069                           USDT[0]

08104086                           EUR[0.00], USD[0.00], USDT[0]

08104088                           ETH[0.55661285], ETHW[0.55661285], SOL[6.00142514], USD[0.51], USDT[0.00000901]

08104092                           USD[10.82]                                                                                                                                                                        Yes

08104096                           SHIB[9739011.44481178], USD[0.00], USDT[1.08219894]                                                                                                                               Yes

08104099                           USD[500.00]

08104101                           BF_POINT[100], CUSDT[1], USD[0.01]

08104104                           CUSDT[2], NFT (299511681855540355/Screaming Punk #4)[1], NFT (312313203394169006/MM Shark #11)[1], NFT (364882083344481779/Panda1)[1], NFT (370178540999606927/DOTB #7488)[1],
                                   NFT (382756550115310138/SolBunnies #3679)[1], NFT (424207209710473327/BIGNOSE #03)[1], NFT (464760155934161663/Cutie Kittens #2)[1], NFT (467840800941323744/Friendly Pineapple
                                   #2)[1], NFT (475113421122700960/Second 50 #10)[1], NFT (522103535967870055/Solana Penguin #3803)[1], NFT (552848825347605358/Solninjas #5025)[1], USD[0.00]

08104105                           BAT[1.00249247], BRZ[1], ETH[.00000008], ETHW[0.00000008], SHIB[.27096676], TRX[5], USD[0.04], USDT[0.00002241]                                                                   Yes

08104116                           SOL[.06475483], USD[500.01]

08104118                           AVAX[12.65925055], BRZ[3], CUSDT[8], DAI[5.32299215], DOGE[329.55063344], ETH[.76582645], LINK[41.31500239], LTC[7.04045611], MATIC[217.78135164], NEAR[33.68607447],             Yes
                                   SHIB[4907527.74648457], SOL[40.22367504], SUSHI[170.55889911], TRX[1567.87262052], UNI[39.52877925], USD[-500.00]
08104119                           SOL[0.00008395], USD[0.00]

08104120                           SHIB[195554.563019], USD[0.00]                                                                                                                                                    Yes

08104126                           USD[5.41]                                                                                                                                                                         Yes

08104129                           DOGE[1], MATIC[19.03802901], SHIB[2], SOL[1.02549951], USD[78.56]                                                                                                                 Yes

08104132                           BCH[2.02044796], BRZ[1], BTC[.01025094], CUSDT[2575.44832634], DOGE[5058.64116735], ETH[1.0202691], ETHW[2.74056712], MATIC[462.17331898], SHIB[46382743.08457791],               Yes
                                   SOL[50.8750539], TRX[929.31636687], USD[10.52], USDT[15.39458975]
08104133                           SHIB[1], SOL[1.95738244], TRX[1], USD[0.00]

08104134                           BTC[0], CUSDT[11], DOGE[114.55642839], ETH[.00028212], ETHW[.00028212], MATIC[.00018025], SHIB[2], SOL[.00008304], TRX[.00098178], USD[0.01]                                      Yes

08104135                           ETH[.00108644], ETHW[.00107276]                                                                                                                                                   Yes

08104144                           CUSDT[1], SHIB[1], USD[27.29]                                                                                                                                                     Yes

08104147                           ETH[.00000001], SOL[0.00000602], USD[0.00]

08104155                           SOL[2.63460877], USD[0.00]

08104164                           ETH[6.22724182], ETHW[6.22513271], LTC[143.31864945], SOL[106.49114859]

08104166                           BRZ[1], CUSDT[1], DOGE[1], TRX[2], USD[0.00], USDT[0.00001548]

08104167                           SHIB[514174.70287461], USD[0.00]                                                                                                                                                  Yes

08104175                           ETH[.301698], ETHW[.301698], USD[0.79]

08104176                           USD[0.40]                                                                                                                                                                         Yes

08104177                           DOGE[1], USD[0.00]                                                                                                                                                                Yes

08104193                           USD[0.80]

08104194                           MATIC[450], SOL[.0020243], USD[3.01]

08104197                           BRZ[2], CUSDT[1], DOGE[2205.29119716], NFT (534620275957139887/Entrance Voucher #29471)[1], SHIB[2327798.32424095], TRX[4987.87555181], USD[5.51]                                 Yes

08104201                           BRZ[1], BTC[.10482979], CHF[494.87], CUSDT[9], DOGE[6], ETH[.18286834], ETHW[.18262786], LTC[2.71407972], SHIB[19], SOL[3.31247178], TRX[6], USD[4674.23]                         Yes

08104202                           DOGE[2], TRX[1], USD[0.00]                                                                                                                                                        Yes

08104206                           BTC[.0625021]

08104207                           USD[60.95]

08104210                           TRX[1], USD[0.00]

08104211                           BTC[.0000574], ETH[0.01210777], ETHW[0.01210777], SHIB[300000], SOL[.33966], USD[0.00]

08104221                           BTC[.00184688], CUSDT[1], USD[107.94]                                                                                                                                             Yes

08104225                           BTC[.00453677], CUSDT[4], DOGE[1], ETH[.02744058], ETHW[.02709833], SHIB[3], SOL[.61255638], USD[0.00]                                                                            Yes

08104226                           USD[10.99]
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                                                                                                                                            Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08104227                              NFT (448979786504264266/Coachella x FTX Weekend 1 #11575)[1]

08104228                              SHIB[58720199.64768056], USD[0.00], USDT[0.00000471]

08104233                              USD[10.82]                                                                                                                                                                                 Yes

08104240                              USD[638.09], USDT[0]                                                                                                                                                                       Yes

08104243                              USD[0.00]

08104248                              ETH[.00000001], SOL[0], USD[0.00]

08104253                              USD[5.00]

08104255                              USD[0.00]

08104273       Contingent,            BTC[.00008858], MATIC[2.39], USD[3.70]
               Unliquidated
08104274                              BTC[.0124213], ETH[2.58440578], ETHW[2.07778231], SOL[1.06593456], TRX[1], UNI[.00000322], USD[16457.52]                                                                                   Yes

08104276                              USD[0.00]

08104287                              USD[27.05]                                                                                                                                                                                 Yes

08104300                              USDT[0.00000128]

08104301                              SHIB[1], SOL[.166597], USD[0.32]                                                                                                                                                           Yes

08104307                              SHIB[55000], USD[0.27], USDT[0]

08104310                              USD[0.00], USDT[0.50950000]

08104314                              CUSDT[2455.46760088], SHIB[5189581.88607445], USD[0.02]                                                                                                                                    Yes

08104320                              CUSDT[1], ETH[0.00568058], ETHW[0.00561218]                                                                                                                                                Yes

08104324                              USD[43.30]                                                                                                                                                                                 Yes

08104328                              SHIB[100000], USD[0.67]

08104332                              BAT[0.07359685], BRZ[1], BTC[0], ETH[0], SOL[0], USD[0.00]                                                                                                                                 Yes

08104334                              GRT[1.00021912], NFT (566474971879761547/Warriors 75th Anniversary Icon Edition Diamond #1911)[1], USD[0.00]                                                                               Yes

08104348                              DOGE[41.87227945]                                                                                                                                                                          Yes

08104350                              BTC[.0041], SHIB[2111218.46049329], USD[1.11]

08104352                              ALGO[0], AVAX[0], BTC[0], ETH[0], LTC[0], MATIC[0], NFT (307725053794127259/Inaugural Collection #750)[1], NFT (324788684038593082/Autumn 2021 #674)[1], NFT
                                      (374704258569408038/BoxesEverywhere #2)[1], NFT (404809470925923195/BoxesEverywhere #5)[1], NFT (448653401454847118/Inaugural Collection #231)[1], NFT
                                      (469982427963683633/BoxesEverywhere)[1], NFT (508203543426648224/BoxesEverywhere #4)[1], NFT (544316747304567390/Inaugural Collection #1253)[1], SOL[0], USD[8.85], USDT[0], YFI[0]

08104354                              BTC[.01013352], CUSDT[6], ETH[.06877597], ETHW[.06792244], SOL[5.13398701], TRX[1], USD[911.18]                                                                                            Yes

08104360                              USD[35.54]

08104361       Contingent, Disputed   NFT (293893123753212932/The Hill by FTX #1903)[1], NFT (298852445988513519/The Hill by FTX #1920)[1], NFT (300153935797302570/The Hill by FTX #1120)[1], NFT (317484711011206986/The
                                      Hill by FTX #2766)[1], NFT (329742030222800782/The Hill by FTX #1093)[1], NFT (359694300936978533/The Hill by FTX #1916)[1], NFT (362681084105353095/The Hill by FTX #3148)[1], NFT
                                      (381728054950964387/SolDad #1538)[1], NFT (382938291154748300/The Hill by FTX #1910)[1], NFT (388245625699016953/The Hill by FTX #1876)[1], NFT (396375525925124955/The Hill by FTX
                                      #1917)[1], NFT (434412388622132777/The Hill by FTX #1912)[1], NFT (436118120123320633/The Hill by FTX #1919)[1], NFT (436251437824888789/The Hill by FTX #3146)[1], NFT
                                      (455159657647503794/The Hill by FTX #3147)[1], NFT (466143984270021159/The Hill by FTX #1629)[1], NFT (466313923981065210/The Hill by FTX #1904)[1], NFT (488485257613440662/The Hill by
                                      FTX #1626)[1], NFT (490239306728653168/The Hill by FTX #1195)[1], NFT (502193365341884589/The Hill by FTX #3118)[1], NFT (505839532060895307/The Hill by FTX #3119)[1], NFT
                                      (506666612928787387/The Hill by FTX #1906)[1], NFT (512302998646388284/The Hill by FTX #1938)[1], NFT (525950221150924153/The Hill by FTX #2504)[1], NFT (527966486725618875/The Hill by
                                      FTX #2506)[1], NFT (543293123795206675/The Hill by FTX #1638)[1], NFT (548342392275460798/The Hill by FTX #3129)[1], NFT (573894627017501744/The Hill by FTX #1624)[1], SOL[.0065],
                                      TRX[.000008], USD[0.53], USDT[.2924294]
08104372                              USD[25.00]

08104376                              TRX[0], USD[11.29], USDT[0]

08104379                              USD[0.00]

08104381                              BAT[.00073004], TRX[2], USD[0.00]                                                                                                                                                          Yes

08104387       Contingent, Disputed   USD[0.90]

08104392                              CUSDT[1], DOGE[1], ETH[0], ETHW[0], TRX[2], USD[0.00]

08104396                              USD[0.51]                                                                                                                                                                                  Yes

08104406                              USD[0.00]

08104408                              NFT (297329131376784461/Block#7)[1], NFT (305188025451491727/Block#3)[1], NFT (314093983886140049/Robot rauss #22)[1], NFT (314430686389263588/Block#4)[1], NFT
                                      (326381810451034087/Good vibes #8)[1], NFT (332049197307798636/Block#11)[1], NFT (336238517873341733/Welcome My Collection #1)[1], NFT (352033752673586632/Block#8)[1], NFT
                                      (377342861281084452/Block#6)[1], NFT (398177646065218017/Block#10)[1], NFT (410793656524496649/Welcome My Collection #2)[1], NFT (420867291495715964/Welcome My Collection)[1], NFT
                                      (425333148524502054/Block#9)[1], NFT (481729802524599784/Good vibes #10)[1], NFT (548608837584021670/ELON MUSK )[1], NFT (556848332630244948/Block#5)[1], NFT
                                      (562308772427302950/Block#2)[1], USD[0.59], USDT[0]
08104412                              BTC[0], ETH[0], USD[0.01]

08104414                              DOGE[1], USD[0.00]

08104423                              NFT (548837254267432760/Coogi #2173)[1], NFT (555415840458414240/Coogi #1805)[1], SOL[.01956325]

08104424                              BTC[.00462309], USD[0.00]

08104435                              SOL[.96313062]                                                                                                                                                                             Yes

08104438                              ETH[.000912], ETHW[.000912], USD[0.01]

08104439                              USD[0.01]                                                                                                                                                                                  Yes

08104442                              ETH[0], SOL[0], USD[2.56], USDT[0.00000062]

08104449                              USD[0.00], USDT[0]

08104452                              SHIB[227717.32614724], USD[0.00]                                                                                                                                                           Yes

08104457                              AAVE[0], CUSDT[2], DOGE[0], ETH[0], MATIC[0], SHIB[0], SOL[0], SUSHI[0], TRX[2], UNI[0], USD[0.00], YFI[0]                                                                                 Yes

08104460                              BTC[0.00008470], ETH[0], ETHW[0.39960000], MATIC[0], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08104463                           BRZ[2], SHIB[4027195.94494007], SUSHI[20.88625786], TRX[2], USD[0.00]                                                                                                                  Yes

08104471                           BAT[0], ETH[0]

08104487                           LTC[.049]

08104494                           SOL[.1]

08104499                           CUSDT[3], ETH[.00000027], ETHW[.00000027], USD[0.79]                                                                                                                                   Yes

08104500                           USD[0.00]                                                                                                                                                                              Yes

08104502                           LTC[0], USD[4.19]

08104507                           USD[20.00]

08104509                           ETH[.05], ETHW[.05], NFT (289935050950684400/Solana Clause #078)[1], NFT (290179416975262460/Solana Clause #043)[1], NFT (291662233147001545/Solana Clause #024)[1], NFT
                                   (292895248270589960/Solana Clause #067)[1], NFT (295203112853987595/Solana Clause #017)[1], NFT (296359880446362524/Solana Clause #088)[1], NFT (297815943269606665/Solana Clause
                                   #042)[1], NFT (298835068866256026/Solana Clause #049)[1], NFT (300262336730857806/Solana Clause #005)[1], NFT (301021978724931095/Solana Clause #076)[1], NFT
                                   (301490348270614982/Solana Clause #056)[1], NFT (301831269939120712/Solana Clause #020)[1], NFT (304183633536851250/Solana Clause #080)[1], NFT (307894021696296660/Solana Clause
                                   #081)[1], NFT (311121657223070115/Solana Clause #085)[1], NFT (311287878391913079/Solana Clause #065)[1], NFT (318053830734755851/Solana Clause #064)[1], NFT
                                   (321429858373358548/Solana Clause #097)[1], NFT (327459027368624214/Solana Clause #053)[1], NFT (330642919523508837/Solana Clause #014)[1], NFT (331154473673781078/Solana Clause
                                   #032)[1], NFT (333080253402982896/Solana Clause #040)[1], NFT (335383425594249605/Solana Clause #072)[1], NFT (338686918295295778/Solana Clause #087)[1], NFT
                                   (339026268326829077/Solana Clause #036)[1], NFT (340302942203579000/Solana Clause #004)[1], NFT (346624768873885168/Solana Clause #069)[1], NFT (347910913973079527/Solana Clause
                                   #054)[1], NFT (352365188505245188/Solana Clause #046)[1], NFT (354683392128151465/Solana Clause #070)[1], NFT (357494604742128680/Solana Clause #091)[1], NFT
                                   (368092663381714436/Solana Clause #059)[1], NFT (368658227502311460/Solana Clause #015)[1], NFT (378232453307639669/Solana Clause #041)[1], NFT (390480398351105180/Solana Clause
                                   #022)[1], NFT (393446165873462719/Solana Clause #018)[1], NFT (394302727710937448/Solana Clause #012)[1], NFT (394338971401147353/Solana Clause #025)[1], NFT
                                   (397334066270665862/Solana Clause #058)[1], NFT (398196342996470447/Solana Clause #071)[1], NFT (412039245666209431/Solana Clause #090)[1], NFT (412324450927743126/Sunset #78)[1],
                                   NFT (412696194971620614/Solana Clause #008)[1], NFT (413208996893711893/Solana Clause #007)[1], NFT (413550795956979521/Solana Clause #089)[1], NFT (415636036868496866/Solana
                                   Clause #044)[1], NFT (416511838732491826/Solana Clause #016)[1], NFT (417468853683620829/Solana Clause #079)[1], NFT (417848811558749731/Solana Clause #063)[1], NFT
                                   (423985423175780004/Solana Clause #006)[1], NFT (428976708752670741/Solana Clause #01)[1], NFT (430219283030523800/Solana Clause #028)[1], NFT (436007923828969549/Solana Clause
                                   #096)[1], NFT (439936674136574697/Solana Clause #082)[1], NFT (455288586061583228/Solana Clause #045)[1], NFT (457609949655708802/Solana Clause #094)[1], NFT
                                   (458472789689552848/Solana Clause #055)[1], NFT (460778658547763936/Solana Clause #030)[1], NFT (476055925352726600/Solana Clause #086)[1], NFT (478489637795537967/Solana Clause
                                   #075)[1], NFT (478947691177241882/Solana Clause #074)[1], NFT (481092277469815512/Solana Clause #039)[1], NFT (482827949531466556/Solana Clause #095)[1], NFT
                                   (483378419174589647/Solana Clause #037)[1], NFT (487735055280238383/Solana Clause #035)[1], NFT (489036095044157711/Solana Clause #099)[1], NFT (494511751601520293/Solana Clause
                                   #002)[1], NFT (494708699194386908/Solana Clause #052)[1], NFT (495511932138749259/Solana Clause #048)[1], NFT (496391600283135300/Solana Clause #023)[1], NFT
                                   (496539714798914984/Solana Clause #093)[1], NFT (500475891524291715/Solana Clause #021)[1], NFT (505028363031373491/Solana Clause #013)[1], NFT (508401831082039781/Solana Clause
                                   #010)[1], NFT (510043471174571346/Solana Clause #029)[1], NFT (513125790493312494/Solana Clause #011)[1], NFT (518772095835400397/Solana Clause #066)[1], NFT
                                   (519029054049464790/Solana Clause #050)[1], NFT (527049674445530069/Solana Clause #092)[1], NFT (530308903208731866/Solana Clause #084)[1], NFT (534752335968615116/Solana Clause
                                   #077)[1], NFT (534901644156085490/Solana Clause #062)[1], NFT (537399343297391789/Solana Clause #034)[1], NFT (544872524562060359/Solana Clause #073)[1], NFT
                                   (545429055926215363/Solana Clause #057)[1], NFT (547471656062043979/Solana Clause #047)[1], NFT (549995037928930733/Solana Clause #060)[1], NFT (552128617990994177/Solana Clause
                                   #083)[1], NFT (554161431544068958/Solana Clause #068)[1], NFT (556908772033885790/Solana Clause #051)[1], NFT (561304933580588513/Solana Clause #026)[1], NFT
                                   (561922759271916283/Solana Clause #019)[1], NFT (563046941375503987/Solana Clause #033)[1], NFT (563552378323918562/Solana Clause #027)[1], NFT (564656582806151267/Starry Night
                                   #430)[1], NFT (565779893512393339/Solana Clause #098)[1], NFT (567528736586705200/Solana Clause #038)[1], NFT (572974197750677171/Solana Clause #061)[1], NFT
                                   (574169563899261254/Solana Clause #031)[1], NFT (576391069163964956/Solana Clause #009)[1], SOL[5.528], USD[39.52]
08104522                           USD[5.41]                                                                                                                                                                              Yes

08104539                           ETH[0], USD[0.00]

08104544                           AAVE[.00286534], BTC[0.00025530], DOGE[3.68700583], ETH[0.00067870], ETHW[0.00111552], LINK[0.06006307], MATIC[0.58739411], SOL[0.01376106], SUSHI[0.20486665], UNI[0.03559657],
                                   USD[0.01]
08104548                           USD[2.00]

08104554                           SOL[.01659635], TRX[167], USD[50.16]

08104557                           BRZ[1], BTC[.00000005], CUSDT[2], DOGE[.03214494], NFT (292053862179903742/Hall of Fantasy League #217)[1], NFT (311318571833965618/Doak Walker's Playbook: Texas vs. SMU - November
                                   1, 1947 #67)[1], NFT (524781361774865378/Hall of Fantasy League #188)[1], SHIB[.00000017], SOL[.00004127], TRX[2], USD[0.07]
08104561                           NFT (342788734882020426/The Midwest's Finest)[1], NFT (356541565905364303/Set Sail)[1], NFT (459171715758098931/American Grit)[1], SOL[.00000001], USD[0.00], USDT[0]

08104562                           CUSDT[1], DOGE[1], SHIB[31183423.81839858], SOL[18.34886805], USD[0.00]                                                                                                                Yes

08104573                           SHIB[1], USD[0.00]                                                                                                                                                                     Yes

08104575                           SOL[0], TRX[0], USDT[0]

08104576                           BTC[.00000001], CUSDT[1], DOGE[2], ETH[.02114729], ETHW[.02088737], USD[0.68]                                                                                                          Yes

08104586                           USD[0.21]

08104590                           CUSDT[4], DOGE[1], ETH[.05279583], ETHW[.05213919], SOL[.75861779], TRX[1], USD[178.61], USDT[1.07865679]                                                                              Yes

08104593                           ETH[0], SHIB[2], USD[58.86]

08104595                           USD[0.01]

08104596                           BTC[.01259644], CUSDT[1], DOGE[1], LINK[21.9705152], USD[4.84]                                                                                                                         Yes

08104611                           CUSDT[1], TRX[.00493188], USD[0.00]                                                                                                                                                    Yes

08104617                           BTC[0], DOGE[1], ETH[1.05623094], ETHW[1.0557874], SHIB[1], SOL[2.30027774], USDT[2233.46934772]                                                                                       Yes

08104634                           NFT (320221271797917337/Coogi #780)[1], NFT (412789540613389464/Coogi #5292)[1], NFT (429077569201341300/Coogi #783)[1], NFT (446191412325741759/Coogi #5293)[1], NFT
                                   (462055979491804659/Ocean Flare #8)[1], NFT (499918978280246326/Coogi #5291)[1]
08104636                           USD[1000.00]

08104639                           BTC[.005474], USD[0.00]

08104644                           BRZ[4], DOGE[2], ETH[0], MATIC[0], SOL[0], TRX[3], USD[0.00], USDT[1.07725889]                                                                                                         Yes

08104645                           BRZ[2], CUSDT[1], DOGE[2], GRT[1], TRX[2], USD[0.00], USDT[1]

08104649                           USD[100.00]

08104656                           CUSDT[1], TRX[1], USD[0.01]

08104660                           BRZ[1], BTC[.00108707], CUSDT[2], DOGE[2], TRX[1], USD[0.00]                                                                                                                           Yes

08104665                           BRZ[1], USD[0.00]                                                                                                                                                                      Yes

08104675                           DOGE[226.94895895], NFT (344769480729342278/Tim Brown's Playbook: Kansas City Chiefs vs. Oakland Raiders - December 9, 2001 #47)[1], SHIB[1], TRX[1], USD[0.00]                        Yes

08104677                           USD[0.00]

08104679                           MATIC[0], SOL[0], UNI[.04580995], USD[2125.54], USDT[0.00000057]

08104686                           USD[2000.00]
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                                                                                                                                            Customer Claims                                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08104687                              BTC[0.00000001], ETH[0], NFT (289667528848194373/Baby Drip Bear)[1], NFT (290668174117130790/Jah )[1], NFT (291137072045125868/Rose Art)[1], NFT (307785271408480043/Yoshi Egg
                                      (Collectible))[1], NFT (310129614204959189/Pixel Liz)[1], NFT (320445184930137576/Sun Set Vibe #2)[1], NFT (326310485357648364/PixelPuffins #2156)[1], NFT (327336992952232613/Sun Set Vibe
                                      #4)[1], NFT (341658115066436542/Miner Bot 14)[1], NFT (354456410554820492/Meme 1)[1], NFT (358523612964311087/Sun Set Vibe)[1], NFT (365628524687583875/APEFUEL by Almond Breeze
                                      #766)[1], NFT (376633733328079774/Sports Car #4)[1], NFT (377719686121368863/Sports Car)[1], NFT (377941022719967772/Horse Mope #3)[1], NFT (386822034483427435/Light House Art)[1],
                                      NFT (408036101384182420/Pixel Liz #2)[1], NFT (414000150930176070/Sun Set Vibe #3)[1], NFT (433864548619595220/Light House Art #2)[1], NFT (459261639353505853/Beach Vibes )[1], NFT
                                      (477329102600315813/Rose)[1], NFT (483371571102349850/Lost Skeleton Head #4)[1], NFT (496456599917445997/Flower Tree)[1], NFT (508785574050394683/Lost Skeleton Head #6)[1], NFT
                                      (520180608499795250/Golden Art 3D)[1], NFT (522574264996641863/Sports Car #3)[1], NFT (526225526144364440/Yoshi Egg (Collectible) #3)[1], NFT (529395184885134414/Yoshi Egg (Collectible)
                                      #2)[1], NFT (530256965707456596/Logo Brand)[1], NFT (536291696549543812/Horse Mope)[1], NFT (540150112410369761/Brain Travelers #3)[1], NFT (551815076282765002/Lost Skeleton Head
                                      #5)[1], NFT (559139154002254305/Rose Paper)[1], NFT (566540815787184708/Sports Car #2)[1], NFT (574402337935198680/Pixel Monk)[1], NFT (575820069320225107/Rose Paper #2)[1], NFT
                                      (575999630261410794/Horse Mope #2)[1], SOL[0.12449460], TRX[0], USD[0.00]
08104689                              BRZ[2], CUSDT[2], DOGE[2], ETH[0], MATIC[.00083579], SHIB[2], USD[0.00], USDT[1.06069259]                                                                                                     Yes

08104703                              BRZ[1], CUSDT[1], ETH[.03655429], ETHW[.03610285], KSHIB[282.79556979], NFT (565577032970870587/Naked Meerkat #1859)[1], SHIB[506204.09254665], SOL[.00000951], TRX[5], USD[0.00]             Yes

08104705                              USD[21.51]                                                                                                                                                                                    Yes

08104714                              DOGE[2], SHIB[9501187.64845605], SOL[5.78665985], TRX[2], USD[0.00]

08104715                              BAT[60.81790482], BRZ[7.0486546], BTC[.01343768], CUSDT[31], DOGE[3], ETH[.40895913], ETHW[0], GRT[4425.26613608], MKR[.02510741], SHIB[71], SOL[.02243867], TRX[21.23283099],                Yes
                                      USD[12733.54], USDT[0]
08104717                              BTC[0.00005373], CUSDT[0], DOGE[0], GRT[0], LTC[0], MATIC[0], SHIB[0], SOL[0], TRX[0], UNI[0], USD[20.82]

08104718                              USD[0.00]

08104743                              ETHW[.746253], USD[0.01]

08104745                              BTC[.00298234], CUSDT[2], ETH[.02827621], ETHW[.02792061], USD[0.00]                                                                                                                          Yes

08104746                              USD[10.76], USDT[0.00000001]

08104758                              USD[20.00]

08104759                              TRX[1], USD[0.00]

08104764                              NFT (358058589788472389/Cr iberd #4)[1], SHIB[0], SOL[0.86563634], USD[0.00]                                                                                                                  Yes

08104765                              CUSDT[2], DOGE[1], SOL[0], USD[0.00]

08104766                              CUSDT[1], MATIC[33.99203066], USD[0.00]                                                                                                                                                       Yes

08104767                              LTC[.20123]

08104775                              SOL[0.00000880], USD[0.00], USDT[0]                                                                                                                                                           Yes

08104780                              BTC[.10133303], MATIC[1180], NFT (375115578960206802/Space Dream #21)[1], NFT (451444143480532386/Space Dream #4)[1], SOL[13.1], USD[6878.84]

08104785                              SOL[2.49723963], USD[0.00]

08104787                              NFT (354382014710978223/Coogi #6435)[1]

08104795                              BTC[.0085914], USD[4.00]

08104819                              NFT (498176499880684483/Banana Boost)[1], USD[3.22]

08104820                              BTC[0.00001153], DOGE[.01], ETH[.00027506], ETHW[.00027506], USD[2.01]

08104823                              CUSDT[1], PAXG[.08503255], USD[2.27]                                                                                                                                                          Yes

08104824                              ALGO[113.42801071], BAT[326.01888169], BTC[.00083144], CUSDT[10], DOGE[13532.60491602], LINK[3.36188032], MATIC[131.77224782], SHIB[16436207.04135629], TRX[1], USD[531.33]                   Yes

08104826                              NFT (316447514047669260/The Reflection of Love #1913)[1], NFT (327171128399239667/StarAtlas Anniversary)[1], NFT (338370291837756135/StarAtlas Anniversary)[1], NFT
                                      (367920994169631937/Serum Surfers X Crypto Bahamas #110)[1], NFT (370870560716052157/StarAtlas Anniversary)[1], NFT (406052079244740334/Medallion of Memoria)[1], NFT
                                      (410685601412726105/Coachella x FTX Weekend 1 #27452)[1], NFT (432183891774378379/Resilience #42)[1], NFT (462658442504582043/CORE 22 #88)[1], NFT (468983029426998383/The Hill by
                                      FTX #7851)[1], NFT (506799642235077038/StarAtlas Anniversary)[1], NFT (523295044803873991/StarAtlas Anniversary)[1], NFT (527872946280021660/Cold & Sunny #248)[1], NFT
                                      (531288285038766647/FTX - Off The Grid Miami #4792)[1], NFT (533325525734260061/StarAtlas Anniversary)[1], NFT (545304746981623372/StarAtlas Anniversary)[1], NFT
                                      (566412184201570042/FTX Crypto Cup 2022 Key #4)[1], NFT (574319192385231927/StarAtlas Anniversary)[1]
08104827       Contingent, Disputed   ETH[101.11622588], ETHW[0], USD[15589.51]                                                                                                                                                     Yes

08104829                              BTC[.00162893], ETH[.02296429], ETHW[.02296429], SOL[.91604501], USD[200.00]

08104833                              AAVE[4.85], ETH[.00066595], ETHW[.00066595], LINK[.02666], SOL[7.464775], USD[10.67], USDT[3.61819338]

08104835                              SHIB[1557032.68848047], USD[0.00]

08104837                              AAVE[.39046761], MATIC[25.88212077], USD[0.00], USDT[56.0230292]

08104848                              USD[0.40]

08104852                              AVAX[3.9962], BTC[0.00169838], SOL[3.9962], USD[529.23]

08104877                              SOL[21.21223399], USD[0.00]

08104882                              USD[10.00]

08104888                              DOGE[3.18315972], MXN[0.00], SOL[.05994], UNI[.03230845], USD[0.00]

08104891                              USD[1.08]                                                                                                                                                                                     Yes

08104904                              USD[15.00]

08104907                              CUSDT[1], SOL[1.24248778], USD[0.00]                                                                                                                                                          Yes

08104908                              BTC[.00000003], DOGE[1], USD[0.00]                                                                                                                                                            Yes

08104909                              BTC[0], CUSDT[1], DOGE[0], ETH[0], ETHW[0], GRT[.0000001], LINK[.00000001], LTC[.00000001], MATIC[0], SHIB[0], SUSHI[0], TRX[0], UNI[0], USD[0.00], USDT[0.00023741]

08104910                              ETH[0], USD[0.80]

08104913                              SOL[8.37389], USD[4.36]

08104916                              BTC[.00728693], ETH[.11752934], ETHW[.11752934]

08104919                              CUSDT[1358.99662561], TRX[1], USD[0.00]

08104927                              USD[54.12]                                                                                                                                                                                    Yes

08104931                              SHIB[709507714.37014499], USD[0.00]                                                                                                                                                           Yes

08104934                              BTC[0], ETH[0], ETHW[0], MATIC[0], NEAR[0], SOL[0], TRX[0], USD[6720.68], USDT[0]
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                                                                                                                                          Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08104935                           DOGE[.00019044], ETH[.00000008], ETHW[.00000008], SOL[.0000002], TRX[.00038612], USD[0.00]                                                                                           Yes

08104942                           SOL[.019991], USD[1.84]

08104945                           USD[541.09]                                                                                                                                                                          Yes

08104949                           SOL[15.994316], USD[0.00]

08104951                           MATIC[0], SOL[0], USD[0.00]

08104962                           SOL[0], USD[0.00]

08104967                           BAT[0], BRZ[1], BTC[0], CUSDT[0], DOGE[0], ETH[0], GRT[0], KSHIB[0], LINK[0], MATIC[0], SHIB[1], SUSHI[0], TRX[1], UNI[0], USD[0.00], USDT[0], YFI[0]                                Yes

08104973                           USD[56.13]

08104977                           USD[0.00], USDT[0]                                                                                                                                                                   Yes

08104984                           USD[100.00]

08104988                           DOGE[654.84465638], LTC[.39446633], SHIB[4100000], TRX[515.484], USD[3.59]

08104995                           SOL[.43], USD[0.85]

08104996                           BF_POINT[200], CUSDT[2], SOL[1.08361667], TRX[173.25727625], USD[0.00]                                                                                                               Yes

08104999                           USD[20.00]

08105009                           CUSDT[2], SUSHI[14.49277855], TRX[157.89963891], USD[26.76]                                                                                                                          Yes

08105013                           USD[1.98]

08105016                           BTC[.01112163], ETH[.1725664], ETHW[.1725664], SOL[1.34624177], USD[0.46]

08105018                           BRZ[2], CUSDT[1], DOGE[7.00057537], ETH[0], ETHW[0.33756165], SHIB[11], TRX[10.01240753], USD[0.00], USDT[1.07888335]                                                                Yes

08105021                           ETH[.00123493], ETHW[.00122125], USD[0.00]                                                                                                                                           Yes

08105024                           BRZ[1], BTC[0], CUSDT[4], DOGE[7.00095897], SHIB[11], SOL[0], TRX[2], USD[0.00]                                                                                                      Yes

08105028                           USD[0.26], USDT[0]

08105037                           ETH[.01719691], ETHW[.01719691], SHIB[1], USD[1.00]

08105043                           BRZ[1], CUSDT[2], NFT (380776451270676966/DOTB #7714)[1], NFT (387175370482605700/DOTB #7119)[1], NFT (436804460167845193/Cyber Pharmacist 3880)[1], NFT                             Yes
                                   (443933508991489625/DOTB #1322)[1], NFT (534276717177946716/ApexDucks #6838)[1], NFT (575879163580758071/Panda Fraternity #1126)[1], SHIB[.00000001], SOL[0.23123777], USD[3.62]

08105055                           ETH[.00054066], ETHW[16.77354066], SOL[.00865], USD[0.00]

08105060                           BTC[.00000626], DAI[.99400963], USD[0.62]                                                                                                                                            Yes

08105062                           TRX[.000007], USD[11928.04], USDT[.24708659]

08105067                           BTC[.00738782], ETH[.06030863], LINK[.00490225], MATIC[63.60508105], USD[0.00]

08105071                           TRX[2], USD[0.00]                                                                                                                                                                    Yes

08105072                           USD[541.08]                                                                                                                                                                          Yes

08105086                           USD[0.00]

08105095                           CUSDT[1], SOL[.5397], USD[41.25]

08105102                           TRX[1], USD[0.00], USDT[0]                                                                                                                                                           Yes

08105110                           USD[2.00]

08105117                           BRZ[5.80959372], BTC[.00001598], PAXG[.00052736], USD[0.08], USDT[0], YFI[.00005672]                                                                                                 Yes

08105126                           USD[0.30]

08105128                           BAT[163.18138863], BRZ[1], CUSDT[1], DOGE[1851.01456132], SHIB[8333843.18539875], TRX[1], USD[0.00]                                                                                  Yes

08105129                           AAVE[.18461971], BTC[0.03175788], DOGE[127.39699830], ETH[0.19690468], ETHW[0.19663130], LINK[4.06098690], MATIC[35.34112658], SOL[0.97141531], SUSHI[10.03224556],
                                   UNI[2.28916546], USD[0.40]
08105131                           NFT (326861094726275644/Entrance Voucher #1590)[1], NFT (331688034338212905/Humpty Dumpty #1435)[1], NFT (341512369581973602/Montreal Ticket Stub #78)[1], NFT                       Yes
                                   (375780880891896743/Series 1: Capitals #432)[1], NFT (442040531905610926/FTX AU - we are here! #326)[1], NFT (461724928363172696/FTX - Off The Grid Miami #540)[1], NFT
                                   (469643560900658318/FTX AU - we are here! #24592)[1], NFT (487421390807808544/Imola Ticket Stub #1295)[1], NFT (495036772766250033/Series 1: Wizards #394)[1], NFT
                                   (525622134055102257/FTX EU - we are here! #131311)[1], NFT (533571456030522767/France Ticket Stub #74)[1], NFT (559924232778601171/Juliet #39)[1], NFT (565510164832733655/Hungary
                                   Ticket Stub #211)[1], SOL[.3057768], USD[16445.35]
08105137                           BRZ[1], CUSDT[5], USD[0.00], USDT[0]                                                                                                                                                 Yes

08105139                           BAT[1], SHIB[3047773.72217663], USD[0.00]                                                                                                                                            Yes

08105147                           BTC[.00439787], ETH[0.04995753], ETHW[0.04995753], USD[0.00]

08105152                           BTC[0], SHIB[100399.92304322], SOL[0], USD[0.44], USDT[0]                                                                                                                            Yes

08105158                           AAVE[1.00463732], ETH[3.99546487], ETHW[3.99546487], SOL[40.18549332], USD[5026.02]                                                                                                  Yes

08105163                           BRZ[1], ETH[.20237317], ETHW[.20216042], TRX[1], USD[4.35]                                                                                                                           Yes

08105170                           BTC[.00442433], CUSDT[1], DOGE[1083.30592561], SHIB[1], SOL[12.40392972], TRX[2], USD[15.66]                                                                                         Yes

08105173                           MATIC[0.00000004], USD[0.00]

08105188                           ETH[0], USD[500.37]                                                                                                                                                                  Yes

08105191                           BAT[41.842], ETH[.004997], ETHW[.004997], LINK[.1995], USD[0.69]

08105202                           BTC[.00019303], USD[0.00]                                                                                                                                                            Yes

08105204                           USD[5.04]

08105209                           BTC[.00172751], CUSDT[6], DOGE[107.53728319], ETH[.04872005], ETHW[.04811813], LINK[1.74703282], SHIB[1045545.56036731], SOL[.22983998], TRX[229.98922896], USD[0.01]                Yes

08105213                           CUSDT[1], SHIB[2188023.65714334], USD[0.00]                                                                                                                                          Yes

08105214                           CUSDT[1], DOGE[1], LINK[3.49415699], MATIC[65.95785073], USD[0.00]                                                                                                                   Yes

08105215                           GRT[4], SOL[4.335877], USD[0.22]

08105219                           BTC[.1456542], NFT (294914733776244649/Feeling Peachy)[1], NFT (464791996274236941/The Paints)[1], NFT (564506226034210135/Feeling Calm)[1], SOL[.004], USD[4.60]
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08105223                              SHIB[612182.33400058], USD[0.00]                                                                                                                                                     Yes

08105229                              USD[20.00]

08105234                              TRX[45.2683987], USD[0.00]                                                                                                                                                           Yes

08105236                              CUSDT[2], DOGE[1.9454715], TRX[1], USD[0.01]                                                                                                                                         Yes

08105242                              USD[0.00]

08105246                              USD[10.82]                                                                                                                                                                           Yes

08105247                              SOL[3.00217895], USD[2.62]

08105249                              CUSDT[2], DOGE[107.48489174], SHIB[1072685.97025732], USD[0.00]                                                                                                                      Yes

08105253                              SOL[.07329356], USD[32.69], USDT[3.18737396]                                                                                                                                         Yes

08105276                              TRX[48.11998768], USD[0.00]                                                                                                                                                          Yes

08105281                              BTC[.00124121], ETH[.01568859], ETHW[.01568859], MATIC[9.01715229], SOL[.30767244], USD[71.27], USDT[0.00000168]

08105290                              BTC[.00868149], DOGE[1], USD[0.00]                                                                                                                                                   Yes

08105301                              BAT[0], CUSDT[0], DOGE[0], LTC[0], NFT (323711641070841702/SolBunnies #2188)[1], SHIB[0], SOL[0.01745755], USD[0.00], YFI[0]                                                         Yes

08105302                              BTC[.00001348], USD[0.00], USDT[0.00033849]

08105312                              BCH[0], CUSDT[3], SOL[1.29253753], USD[0.00], USDT[1.91282354]                                                                                                                       Yes

08105317                              NFT (311808599981114556/Birthday Cake #0825)[1], NFT (328392799999022101/The 2974 Collection #1405)[1], NFT (346338938005028761/The 2974 Collection #0825)[1], NFT
                                      (385919938751434396/The 2974 Collection #1411)[1], NFT (421867937471931709/Birthday Cake #2478)[1], NFT (426293827005438943/Birthday Cake #1411)[1], NFT (504400382628764700/The 2974
                                      Collection #2478)[1], NFT (563527120780734942/Birthday Cake #1405)[1], USD[1564.74]
08105324                              CUSDT[1.05163608], USD[0.00]                                                                                                                                                          Yes

08105331                              BTC[0], SOL[0]

08105340                              BAT[2], BRZ[2], CUSDT[1], DOGE[5], GRT[2.00071921], LINK[1.03801334], SOL[34.88819985], TRX[11], USD[250.79]                                                                         Yes

08105345                              BTC[.00161415], ETH[.017986], ETHW[.017986], MATIC[29.97], SOL[.24975], USD[21.56]

08105353       Contingent, Disputed   SOL[.00000001], USD[0.00]                                                                                                                                                            Yes

08105356                              USD[0.00]

08105359                              BTC[.00000144], CUSDT[1], SHIB[.00000001], UNI[.0022573], USD[0.02]                                                                                                                  Yes

08105364                              USD[0.00]

08105379                              BAT[.03506444], BRZ[.04779701], BTC[0], DOGE[.19586639], GRT[.00073033], SHIB[32], TRX[.00033692], USD[9.13], USDT[0.00019651]                                                       Yes

08105381                              SOL[.0043123], USD[0.00]                                                                                                                                                             Yes

08105382                              USD[0.01], USDT[0]

08105386                              BTC[.00148642], DOGE[660.56055211], LINK[8.75409133], SHIB[2189113.42026969], TRX[1539.17180917], USD[0.00]                                                                          Yes

08105391                              USD[0.00]

08105400                              USD[0.01]

08105406                              USD[1.46]

08105413                              USD[0.00]

08105414                              CUSDT[2], ETH[.01662553], ETHW[.01642033], SHIB[3], SOL[1.84826679], USD[105.34]                                                                                                     Yes

08105424                              BTC[.00102249], ETH[.00113288], ETHW[.00113288], SHIB[500000], SOL[.75], USD[0.00]

08105427                              USD[0.00], USDT[0]

08105428                              ETH[.00000001], ETHW[0], SUSHI[0], USD[177.86]                                                                                                                                       Yes

08105442                              CUSDT[1], TRX[1], USD[0.00]

08105458                              NFT (527766023760451266/Tim Brown's Playbook: New York Jets vs. Oakland Raiders - December 2, 2002 #66)[1], USD[0.04], USDT[0]                                                       Yes

08105471                              BAT[1.01393172], BTC[.03521782], TRX[1], USD[0.00]                                                                                                                                   Yes

08105473                              USD[1.80]

08105477                              BTC[.00002409], DOGE[1], SHIB[44685.70211991], USD[0.00], USDT[0]                                                                                                                    Yes

08105482                              USD[21.64]                                                                                                                                                                           Yes

08105486                              DOGE[6786.93312571], USDT[.00118748]                                                                                                                                                 Yes

08105499                              DOGE[1], USD[0.01], USDT[.66700674]

08105501                              USD[0.00]

08105505                              NFT (374551616423658663/FTX - Off The Grid Miami #4615)[1], SHIB[2], USD[0.01]                                                                                                       Yes

08105511                              SHIB[147515.2562463], USD[0.00]                                                                                                                                                      Yes

08105512                              NFT (392720178439445087/Dos Kongz #001)[1], USD[18.85], USDT[0]

08105515                              CUSDT[1], SOL[.37949238], USD[0.00]                                                                                                                                                  Yes

08105517                              DOGE[271.10192374], SHIB[426667.2713361], SOL[.13496353], USD[0.31]

08105519                              USD[0.01]                                                                                                                                                                            Yes

08105531                              BTC[.00008301], USD[0.00], YFI[.00015853]                                                                                                                                            Yes

08105532                              CUSDT[1], LTC[.91189442], USD[0.00]                                                                                                                                                  Yes

08105534                              BTC[.03024767], DOGE[3], ETH[.03879151], ETHW[.03831271], MATIC[9.63179549], SOL[.26120337], USD[852.64]                                                                             Yes

08105537                              USD[194.13]

08105540                              BTC[.01060719], DOGE[1], SOL[1.63175635], USD[527.52]                                                                                                                                Yes

08105544                              BRZ[1], BTC[0.00000001], CUSDT[3], ETH[0], NFT (296533961015110930/DOTB #4574)[1], NFT (303702547568765320/#6144)[1], SHIB[9], SOL[.00000827], USD[0.00]                             Yes
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                                                                                                                                         Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08105546                           BAT[3.06789727], BRZ[6.83710534], BTC[0.00193996], CUSDT[60.33914502], DAI[1.50263258], DOGE[26.76630048], ETH[0.02764324], ETHW[0.02730124], GRT[4.74994834], LINK[3.13154614],        Yes
                                   MATIC[1.6699248], PAXG[0.01924351], SHIB[2], TRX[49.96000977], USD[0.00], USDT[1.08877637]
08105548                           AVAX[2.09811], ETH[.0209811], ETHW[.0209811], MATIC[49.955], SOL[.006796]

08105557                           USD[10.82]                                                                                                                                                                              Yes

08105565                           SOL[.10544142], USD[0.66]                                                                                                                                                               Yes

08105566                           SOL[12.95], USD[1.35]

08105568                           USD[0.01]

08105573                           USD[0.01]                                                                                                                                                                               Yes

08105583                           USD[0.00], USDT[1.4]

08105586                           USD[0.00]                                                                                                                                                                               Yes

08105595                           BTC[.00865198], ETH[.06902735], ETHW[.06902735], LINK[3.82442754], MATIC[43.02533435], SHIB[435066.34761801], SOL[6.51247242], USD[0.00]

08105598                           USD[0.01]                                                                                                                                                                               Yes

08105603                           NFT (296416823963494959/Man #17)[1], NFT (354617437718906996/Surreal World #85)[1], NFT (368190584187936860/Surreal World #48)[1], NFT (384886951779571265/Surreal World #78)[1], NFT
                                   (558328302297972288/VoxToys #2)[1], USD[10.03]
08105610                           LTC[.04348033], USD[0.00]                                                                                                                                                               Yes

08105633                           BTC[.03125495], CUSDT[5], ETH[.04374722], ETHW[.04320134], LTC[.43713291], TRX[1], USD[0.00]                                                                                            Yes

08105635                           USD[0.01]                                                                                                                                                                               Yes

08105636                           NFT (534620863471863642/FTX - Off The Grid Miami #1589)[1]

08105638                           SHIB[276634.49908705], TRX[119.62700911], USD[0.00]                                                                                                                                     Yes

08105641                           USD[500.00]

08105643                           BF_POINT[300], ETH[.00000001], USD[10.26]                                                                                                                                               Yes

08105648                           CUSDT[2], DOGE[1], LINK[3.41024692], SHIB[3180544.00782625], UNI[4.8053894], USD[0.00]                                                                                                  Yes

08105661                           BRZ[1], DOGE[1], SHIB[3], USD[0.00], USDT[0.00000001]

08105664                           CUSDT[2], LINK[1.88632695], SHIB[4], SOL[1.85466805], TRX[2], USD[0.00], USDT[0]                                                                                                        Yes

08105670                           DOGE[1], SHIB[1], SOL[.61825545], TRX[1], USD[876.58]                                                                                                                                   Yes

08105678                           BRZ[1], SOL[.87451055], USD[0.01]

08105681                           AAVE[17.0866], ETHW[3.1190284]

08105689                           BTC[.06506861], ETH[1.028], ETHW[1.028], USD[0.00]

08105691                           BAT[46.953], GRT[78.921], LINK[2.7972], USD[51.04]

08105704                           USD[0.00]

08105717                           SOL[7.02204324], USD[0.00]

08105725                           NFT (342385125955690695/Romeo #4610)[1], NFT (424240119783703077/Entrance Voucher #6616)[1], NFT (444719317775682258/Microphone #11270)[1]

08105727                           ETH[.00019], ETHW[7.11619], USD[10815.00], USDT[45574.77099958]

08105734                           AAVE[.16979], BAT[45.931], BTC[0.00001906], MKR[.015976], SUSHI[9.9838], UNI[2.09645], USD[88.52], YFI[.0017986]

08105735                           NFT (527005236887989496/Ravager #95)[1], SOL[.095]

08105738                           CUSDT[1], TRX[1], USD[0.00]

08105749                           BTC[0.00009971], LINK[1.79829], MATIC[19.9905], SHIB[199810], SOL[.76], USD[100.66]

08105759                           BTC[.0342771], ETH[.389766], ETHW[.389766], SOL[46.97193], USD[1.30]

08105765                           CUSDT[1], GRT[1.0001441], SHIB[1], SUSHI[1.07127432], UNI[1.0707879], USD[0.00]                                                                                                         Yes

08105767                           SHIB[209307.52228877], USD[0.00]                                                                                                                                                        Yes

08105768                           BTC[.0055], ETH[0.09971600], ETHW[0.09971600], PAXG[0.05566729], SOL[1.01573368]

08105775                           LINK[16.25105293], TRX[1], USD[0.01]

08105777                           BTC[.00009164], ETH[.00000001], ETHW[.00000001], SHIB[1], USD[0.00]                                                                                                                     Yes

08105781                           CUSDT[7], DOGE[2], KSHIB[.00000247], SOL[.0000005], USD[0.00]                                                                                                                           Yes

08105786                           BTC[.00008674], DOGE[43.0681351], USD[0.00]                                                                                                                                             Yes

08105789                           ETH[8.465124], ETHW[6.803534], LINK[.0374], MATIC[.589], USD[2.69]

08105791                           BTC[.01108182], CUSDT[1], DOGE[1], USD[2583.23]                                                                                                                                         Yes

08105796                           BTC[.0577914], ETH[.284795], ETHW[.284795], SOL[1.03896], USD[2.22]

08105800                           DOGE[91.92677048], SHIB[1327053.37878277], USD[0.00]                                                                                                                                    Yes

08105802                           USD[0.43]                                                                                                                                                                               Yes

08105806                           USD[3.08]

08105810                           AAVE[10.08166514], ALGO[3166.56972241], AVAX[18.27865373], BAT[1645.32089281], BCH[5.50858399], BF_POINT[300], BTC[.12863422], DOGE[25.55459104], ETH[1.8201028],                       Yes
                                   ETHW[1.74689702], GRT[7163.4214249], LINK[99.65346335], LTC[49.38279435], MATIC[1955.06030133], MKR[.84021075], NEAR[207.35302035], SOL[16.56098689], SUSHI[402.67138355],
                                   TRX[22.26600899], USD[161.78]
08105811                           CUSDT[9], DOGE[2], SHIB[2], USD[0.00]                                                                                                                                                   Yes

08105813                           MATIC[0.00151350], USD[0.00]

08105818                           ETH[.00494581], ETHW[.00488743], USD[0.00]                                                                                                                                              Yes

08105820                           USD[0.00]

08105825                           CUSDT[1], SOL[.1102115], USD[25.01]

08105835                           USD[1.58]

08105836                           BTC[.00040798]
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                                                                                                                                             Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08105841                              USD[1.04]

08105842                              USD[5930.36]                                                                                                                                                                             Yes

08105844                              ETH[.014], ETHW[.014], USD[0.51]

08105849                              BTC[.00003191], SOL[.00000049], USD[0.00]                                                                                                                                                Yes

08105850                              USD[0.01], USDT[0]                                                                                                                                                                       Yes

08105859                              MATIC[999.1], SOL[.07], USD[178.43]

08105863                              CUSDT[1], ETH[.00000319], ETHW[.00000319], GRT[1], SHIB[1], TRX[2], USD[0.00], USDT[1.05253891]                                                                                          Yes

08105868                              DOGE[42.96870066], USD[0.00]                                                                                                                                                             Yes

08105869                              BRZ[1], BTC[.00000039], TRX[1], USD[1606.83]                                                                                                                                             Yes

08105870                              BRZ[1], BTC[0], SHIB[1], TRX[1], USD[2.70]

08105876                              BTC[.00000021], USD[0.00]                                                                                                                                                                Yes

08105885                              BRZ[1], TRX[1], USD[0.00]                                                                                                                                                                Yes

08105888                              BTC[.00627325], CUSDT[16], DOGE[2], ETH[.02225352], ETHW[.02197992], LINK[.35316152], SHIB[6], TRX[2], USD[0.00]                                                                         Yes

08105891                              SOL[.152]

08105917       Contingent, Disputed   KSHIB[193.82741103], USD[0.00], USDT[10.76058135]                                                                                                                                        Yes

08105931                              AVAX[.0994225], BTC[.00005048], ETHW[6.9888], GRT[1], LINK[.00358351], USD[0.00]

08105935                              ETH[.00095], ETHW[.00095], MATIC[37.96], SOL[.999], USD[115.06], USDT[.00018359]

08105938                              LINK[0], MATIC[0], SOL[0], TRX[1.05571463], USD[0.00], USDT[0.00843096]

08105947                              BTC[0.03998012], ETH[10], ETHW[10], USD[9239.42]

08105948                              AVAX[6.28790553], BF_POINT[100], CUSDT[2], DOGE[2], ETHW[1.03370951], SHIB[2], TRX[3], USD[0.01], USDT[0]                                                                                Yes

08105962                              BRZ[1], DOGE[1], USD[0.00]                                                                                                                                                               Yes

08105964                              USD[300.33]                                                                                                                                                                              Yes

08105968                              BAT[1], BRZ[3], DOGE[3], GRT[1], NFT (303550165110233462/Entrance Voucher #3548)[1], TRX[3], USD[0.00]

08105972                              USD[13.27]                                                                                                                                                                               Yes

08105975                              DOGE[1], SHIB[10518487.03782405], USD[3.51]

08105981                              BTC[0], PAXG[0], USD[1.63], USDT[0]                                                                                                                                                      Yes

08105983                              KSHIB[1000], SHIB[2099900], USD[0.70]

08105994                              CUSDT[2], SHIB[799780.86572626], USD[0.00]                                                                                                                                               Yes

08106008                              USD[0.00]                                                                                                                                                                                Yes

08106012                              SOL[2.46753], USD[6.00]

08106018                              CUSDT[1], MATIC[351.88636845], USD[0.11]                                                                                                                                                 Yes

08106022                              CUSDT[2], USD[0.00]

08106025                              MATIC[.00000001], USD[0.00], USDT[0]

08106026                              CUSDT[1], SOL[1.84276321], USD[0.00]                                                                                                                                                     Yes

08106027                              CUSDT[1], NFT (384434923444633887/Coachella x FTX Weekend 1 #8619)[1], SHIB[1955416.50371529], USD[0.00]

08106038                              NFT (417762185039064183/Happines)[1]

08106040                              NFT (338480063171522912/Rare Art #28)[1], NFT (367456771806421258/Chirstmas Tree animation)[1], NFT (369468096321293964/Heavenly water#015)[1], NFT (408686473422889322/Rare Art
                                      #24)[1], NFT (416749339502392150/Dream sunset)[1], NFT (419213628172518061/Heavenly water#031)[1], NFT (426008083713503439/Heavenly water#018)[1], NFT (455669174192577244/Skull beer
                                      2)[1], NFT (476258696325160540/ Alien Rabbit)[1], NFT (478480907689681576/Cryptographic zombie #12)[1], NFT (485531319332947303/Cryptographic zombie #4)[1], NFT
                                      (493500760777719718/Heavenly water#049)[1], NFT (499644503645130772/PIG 05)[1], NFT (507133284587037657/lake rica rauss)[1], NFT (508998710659362733/Cryptographic zombie #19)[1], NFT
                                      (528667594610889077/Heavenly water#058)[1], NFT (530820669032501095/Sunsets #1213)[1], NFT (536790285696146501/Holy Unicorn Edition #21)[1], NFT (558437084765543662/ Heavenly
                                      water#056)[1], NFT (562483679567905193/Series 1: Wizards #809)[1], USD[22.01]
08106044                              BRZ[1], BTC[0], ETHW[.12474058], TRX[1], USD[0.00]                                                                                                                                     Yes

08106046                              USD[0.01]                                                                                                                                                                                Yes

08106066                              CUSDT[2], ETH[.00117871], ETHW[0.00116502], NFT (291249996837682867/MM Shark #2)[1], NFT (292149146207497150/Solninjas #7800)[1], NFT (293057947044479083/Pug Love #9)[1], NFT           Yes
                                      (307889483908513078/Cactus Series #2)[1], NFT (355078143741886114/FoxArt #3)[1], NFT (368511753220729078/09x-BO)[1], NFT (375585762307755528/pixel man)[1], NFT
                                      (398870723118811720/FoxArt #7)[1], NFT (424251505444986514/SKULL-BIT #6)[1], NFT (440735391366049710/Old man)[1], NFT (442156259886473679/Body-less ET)[1], NFT
                                      (453816437739578410/Сrypto Warrior)[1], NFT (455589192340689713/My Avatar #5)[1], NFT (495338604673837084/digital machine #9)[1], NFT (496398776188018546/Cryptographic zombie #7)[1],
                                      NFT (502174697130114151/My Avatar #10)[1], NFT (505452222781601844/Heavenly water#048)[1], NFT (508542156347658165/NoPolitics)[1], NFT (513767865892669753/My Avatar #13)[1], NFT
                                      (514086347180405879/Cryptographic zombie #6)[1], NFT (535241449142602523/Pixalate #3)[1], NFT (540571547367560836/Megalodon Rogue Shark Tooth)[1], NFT (549551345737354536/Panda1
                                      #5)[1], NFT (549858606111860582/digital machine #10)[1], SOL[.00000001], TRX[2], USD[0.00]
08106070                              ETH[0], SHIB[1], USD[0.00]                                                                                                                                                               Yes

08106071                              BAT[3.18884621], BRZ[4], CUSDT[1], DOGE[4], GRT[1.00019173], LINK[2.15575264], SOL[.0002976], SUSHI[1.07441946], TRX[3], USD[0.01]                                                       Yes

08106081                              SOL[0], USD[2.08]

08106090                              KSHIB[1950.22099904], TRX[1], USD[0.00]                                                                                                                                                  Yes

08106093                              DOGE[377.35197409], ETH[0], SHIB[1], SOL[.00002579], USD[0.00], USDT[0]                                                                                                                  Yes

08106095                              USD[0.03]

08106096                              DOGE[1], USD[0.01]

08106097                              DOGE[2.81178673], SHIB[24], USD[0.00], USDT[0]                                                                                                                                           Yes

08106103                              CUSDT[15], DOGE[1], SHIB[5], SOL[.00000119], SUSHI[.00002569], TRX[212.36378753], USD[0.00]                                                                                              Yes

08106105                              ETHW[3.44163199], USD[0.00]

08106111                              BTC[.00418026], CUSDT[2], DOGE[1], MATIC[14.13119847], SHIB[2], TRX[1], USD[0.00]                                                                                                        Yes

08106116                              USD[79.85]
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                                                                                                Amended Schedule            Filed
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08106117                              USD[0.00]                                                                                                                                                                             Yes

08106121                              DOGE[.00833293], SHIB[1], USD[10.04], USDT[0]

08106127                              CUSDT[1], KSHIB[111.02898575], TRX[1], USD[0.00]                                                                                                                                      Yes

08106142                              USD[0.00]

08106143                              DOGE[1], ETH[.02492931], ETHW[.02461567], USD[0.00]                                                                                                                                   Yes

08106144                              NFT (300323023284142029/The 2974 Collection #1224)[1], NFT (356578145696839339/Series 1: Wizards #400)[1], NFT (447296197787037370/2974 Floyd Norman - OKC 3-0045)[1], NFT
                                      (482635262821423532/Entrance Voucher #1466)[1], NFT (491764478596794226/Birthday Cake #2722)[1], NFT (509889574282032828/Birthday Cake #1224)[1], NFT (510939931567281581/Series 1:
                                      Capitals #439)[1], NFT (525214707074006725/The 2974 Collection #2722)[1], NFT (545472694937553632/Microphone #8935)[1], NFT (551360806123130657/2974 Floyd Norman - OKC 2-0128)[1],
                                      NFT (555582383077014448/Raydium Defy)[1], NFT (565989968507728842/FTX - Off The Grid Miami #738)[1], NFT (573504615370899788/Hungary Ticket Stub #161)[1], SOL[.00000001]

08106162                              CUSDT[3], ETH[.06096385], ETHW[.06096385], USD[0.00]

08106165                              ETH[2.122875], ETHW[2.122875]

08106171                              USD[1.86]

08106172                              USD[0.00]

08106175                              MATIC[0], USD[0.00]

08106177                              ETH[.0014], ETHW[.0014], NFT (315503678932372554/My answer for Lukashenka)[1], NFT (322776206124097523/Sneakerssss. Scoot.)[1], USD[1.12], USDT[0]

08106182                              BTC[.00007138], USDT[0]

08106188                              BTC[.31711781]

08106211                              AAVE[.0042372], BCH[.00532219], BTC[.00004701], MATIC[.47171687], USD[0.00], USDT[0], YFI[.00004462]                                                                                  Yes

08106219                              BTC[.0003394], CUSDT[2], DOGE[.00000177], LINK[.13679125], LTC[.06016596], TRX[.00044059], USD[1.52]

08106250                              CUSDT[1], ETH[.15510414], ETHW[.15510414], GRT[1], SHIB[1], SOL[1.91556979], USD[0.00]

08106256                              USD[5.00], USDT[0]

08106262                              AAVE[0], BAT[0], BTC[0], DAI[0], ETH[0], LTC[0.00225493], MATIC[0], SOL[0], TRX[0.18300597], USD[0.00], USDT[0]                                                                       Yes

08106264                              AAVE[1.90809], SOL[2.23776], USD[5.38]

08106269                              CUSDT[2], SHIB[1], SOL[.01604014], TRX[1], USD[0.00]                                                                                                                                  Yes

08106277                              ETH[.00000001], NFT (498734859022340898/Warriors 75th Anniversary Icon Edition Diamond #1500)[1], USD[0.00], USDT[1.04337062]                                                         Yes

08106292                              USD[0.00], USDT[0]                                                                                                                                                                    Yes

08106293                              CUSDT[2], USD[0.00]

08106303                              USD[0.00]

08106308                              CUSDT[8], DOGE[.00038564], ETH[0.00000008], ETHW[0.00000008], SHIB[2.70516838], TRX[2], USD[0.58]                                                                                     Yes

08106322                              BTC[.00086967], CUSDT[2], ETH[.01221448], ETHW[.01221448], USD[0.01]

08106325                              BRZ[1], BTC[.00196698], CUSDT[27], DOGE[103.66031752], ETH[.01298153], ETHW[.01281737], MATIC[22.41112874], SHIB[265.68074468], SOL[.35709196], SUSHI[.06647801], TRX[5], USD[0.08]   Yes

08106331                              NFT (382077795223748718/Moai #42)[1]

08106332                              SOL[.00000001], USD[0.00], USDT[0.00000001]

08106366                              CUSDT[1], USD[0.00]

08106380                              DOGE[1], SHIB[14331531.62022905], USD[2.17]                                                                                                                                           Yes

08106383                              DOGE[1], TRX[0]                                                                                                                                                                       Yes

08106389                              NFT (386025045901636038/2974 Floyd Norman - OKC 4-0186)[1], NFT (429602054155162891/Birthday Cake #0454)[1], NFT (469340334299771867/2974 Floyd Norman - OKC 1-0237)[1], NFT
                                      (552928948006671923/The 2974 Collection #0454)[1], SOL[.00546], USD[963.40], USDT[0]
08106396                              USD[3.38]

08106400                              USD[1.06]

08106402                              USD[0.00]                                                                                                                                                                             Yes

08106421                              DOGE[232], USD[0.14]

08106432                              USD[29.68], USDT[0.00625846]

08106441                              SOL[.02003992], USD[0.00]                                                                                                                                                             Yes

08106444                              USD[50.01]

08106463       Contingent, Disputed   AUD[0.00], USD[0.00]

08106474                              DOGE[1], ETH[.18687238], ETHW[.18663676], LINK[.00022439], SOL[5.70600075], TRX[19.20618709], USD[0.00], USDT[0]                                                                      Yes

08106487                              NFT (349952655922818698/Coachella x FTX Weekend 1 #16431)[1]

08106488                              USD[0.00]

08106502                              USD[0.92]

08106503                              SHIB[2097900], SOL[.44], USD[1.16]

08106510                              ALGO[9.54338018], KSHIB[810.62573007], USD[14.06]

08106527                              SHIB[3], USD[942.96]                                                                                                                                                                  Yes

08106533                              CUSDT[3], DOGE[2], TRX[3], USD[0.00]

08106545                              USD[0.34]

08106547                              USD[5.00]

08106554                              SOL[.01974], USD[1.50]

08106555                              DOGE[1], ETH[.00000001], SUSHI[1.05633418], UNI[1.05683917], USD[0.00], USDT[1.05679419]                                                                                              Yes

08106558                              AUD[0.00], AVAX[0], BCH[0.12245783], BTC[0], DOGE[0], ETH[0.01835970], ETHW[0.01812714], KSHIB[0], MKR[0], NFT (518264177563467475/Joe Theismann's Playbook: Washington vs. Chicago   Yes
                                      Bears - September 29, 1985 #65)[1], SHIB[3], SOL[0.76778390], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08106583                              USD[0.20]

08106590                              BRZ[23.60536349], ETH[.00046284], ETHW[.00046284], LINK[.03291948], SHIB[62196.87782776], USD[0.00], USDT[.99438061]                                                               Yes

08106601                              SHIB[2597400], USD[3.80]

08106616                              SOL[8.619525], USD[0.64]

08106618                              USD[0.00]

08106619                              BRZ[1], CUSDT[5], GBP[1.06], TRX[2], USD[0.00]                                                                                                                                     Yes

08106624                              USD[20.00]

08106625                              SOL[.05], USD[1.25]

08106631                              BRZ[1], BTC[.00539758], CUSDT[4853.78219066], DOGE[4563.69366759], KSHIB[3014.35526407], LINK[4.73745909], MATIC[41.73844759], SHIB[8303066.82585604], SOL[1.76499903],            Yes
                                      TRX[972.54447838], USD[0.15]
08106640                              USD[12.98]                                                                                                                                                                         Yes

08106643                              USD[16.76]

08106664                              BTC[0], DOGE[0], NFT (349409799615244665/Caelum Series #2)[1], USD[0.00]                                                                                                           Yes

08106665                              USD[0.00]

08106670                              AVAX[0], BAT[2.0753993], BCH[0], BTC[0], DOGE[14.59477564], ETH[0], LINK[0], MATIC[0], NFT (289132335302488055/DarkPunk #3913)[1], NFT (297734501043234894/DOTB #1016)[1], NFT     Yes
                                      (370987898133679749/DOTB #2565)[1], NFT (389132842949853736/Gangster Gorillas #6211)[1], NFT (402065457416853109/DOTB #6110)[1], NFT (412086085617002162/GalaxyKoalas # 301)[1],
                                      NFT (424816362244696769/Red Panda #4772)[1], NFT (455060586944362301/Ghoulie #0355)[1], NFT (463742128584039997/Animal Gang #469)[1], NFT (464626596455880184/Ghoulie #5372)[1],
                                      NFT (503243509840159715/Whales Nation #820)[1], NFT (515444773405098289/Cyber Samurai #1097)[1], NFT (545169552328165069/DOTB #8792)[1], NFT (556090477873382473/DOTB #260)[1],
                                      NFT (556701035646171270/Kiddo #7359)[1], NFT (560812740549386250/#3534)[1], PAXG[0], SHIB[316331.99478030], SOL[0], TRX[1], USD[0.00]

08106672                              USD[400.00]

08106694                              CUSDT[1], DOGE[2.0000089], SHIB[1], USD[0.01], USDT[.99420861]

08106698                              CUSDT[4], MATIC[42.57462447], USD[24.06]                                                                                                                                           Yes

08106708                              ETH[.00507272], ETHW[.00500432], USD[0.00]                                                                                                                                         Yes

08106714                              BAT[1.96268183], BRZ[35.28707792], DOGE[1], MATIC[1.34499843], USD[0.00], USDT[10.75872007]                                                                                        Yes

08106715                              BTC[0.00172157]

08106716                              BRZ[1], CUSDT[226.61334114], USD[0.03]

08106718                              BTC[0], ETHW[.097], SOL[.00927], USD[208984.78]

08106720                              USD[0.00]

08106726                              DOGE[189.82300562], KSHIB[.5091517], USD[8.44]                                                                                                                                     Yes

08106728                              SHIB[1], USD[0.00]

08106730                              BTC[0.14096595], DOGE[3374.7909], ETH[3.37578995], ETHW[3.37578995], SHIB[20380620], USD[8.36]

08106735                              BTC[.00000001], DOGE[1.00045063], ETH[.00000007], ETHW[.00000007], SHIB[21.27791063], USD[59.81]                                                                                   Yes

08106744                              DOGE[1], SHIB[10589362.60973057], USD[0.01]                                                                                                                                        Yes

08106753                              USD[0.00]                                                                                                                                                                          Yes

08106755                              ETH[.00000001], LTC[0.24928118], USD[0.00]

08106758                              USD[10.82]                                                                                                                                                                         Yes

08106762                              USDT[7.90710552]

08106765                              DOGE[1], ETHW[.70081823], USD[0.00], USDT[1]

08106766                              DOGE[2], SHIB[2012999.13739603], USD[0.00]

08106771                              BTC[.00000003], CUSDT[1], USD[0.00]                                                                                                                                                Yes

08106775                              BRZ[1], BTC[.00960087], CUSDT[2], ETH[.12105294], ETHW[.12105294], TRX[1], USD[0.02]

08106784                              AVAX[.054], BTC[0.00355245], DOGE[0], ETH[0.00000713], ETHW[-0.02783222], SOL[0.20305446], USD[4872.23], USDT[0.00320878]

08106790                              USD[10.82]                                                                                                                                                                         Yes

08106809                              SOL[.00000001]

08106817                              BRZ[1], CUSDT[3], DOGE[1], TRX[2], USD[0.00], USDT[0.00000058]                                                                                                                     Yes

08106821       Contingent, Disputed   SOL[.01]

08106823                              BRZ[1], CUSDT[1], DOGE[1], ETH[.99509869], ETHW[12.7270083], LTC[64.49385442], SHIB[6388196.56636814], TRX[3], USD[0.00]                                                           Yes

08106828                              USD[108.20]                                                                                                                                                                        Yes

08106845                              USDT[6]

08106850                              TRX[.000001], USDT[0.00000053]

08106854                              BTC[0], ETH[0], LINK[0], NFT (322424709129725555/Coogi #4507)[1], SOL[3.08756676], USD[0.00]

08106868                              AAVE[.00358465], USD[1.08]                                                                                                                                                         Yes

08106869                              CUSDT[1], ETH[.12959983], ETHW[.12959983], LTC[.6420536], TRX[1], USD[650.00]

08106871                              AAVE[1.91233919], CUSDT[1], LINK[4.26141693], TRX[1], USD[0.00]                                                                                                                    Yes

08106878                              BTC[.00653773], SOL[3.26673], USD[2.10]

08106881                              USD[54.10]                                                                                                                                                                         Yes

08106886                              NFT (511772674964941981/MILITIA X Series #2)[1], NFT (527104043667486281/MILITIA X Series)[1]

08106899                              SHIB[99900], SUSHI[4.995], TRX[176.68301838], USD[5.12]

08106901                              SHIB[20.62280485], USD[0.00]                                                                                                                                                       Yes

08106910                              BRZ[1], CUSDT[18], DOGE[1.00003473], ETHW[.02267168], SHIB[7], TRX[1], USD[0.00]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08106915                           MATIC[0]

08106919                           USD[0.99]                                                                                                                                                                                  Yes

08106925                           BAT[.197], ETHW[.000758], GRT[.709], SHIB[76900], USD[0.01]

08106931                           BAT[1], BRZ[2], BTC[.08523624], CUSDT[6], DOGE[4], ETH[2.12672251], ETHW[2.11007493], LINK[247.82910005], SOL[9.70634853], TRX[72.53652674], UNI[3.33976133], USD[7.46]                    Yes

08106933                           BTC[0], USD[0.42]

08106935                           SHIB[1431715.41877677], USD[0.00], USDT[0]                                                                                                                                                 Yes

08106942                           GRT[1], USD[0.02], USDT[0.00330600]                                                                                                                                                        Yes

08106944                           SHIB[491352.20125786], TRX[1], USD[25.00]

08106949                           CUSDT[452.37733336], MKR[.00087524], USD[0.00]

08106960                           USD[0.00]                                                                                                                                                                                  Yes

08106964                           CUSDT[3], TRX[1], USD[0.00]                                                                                                                                                                Yes

08106965                           DOGE[55.28386978], USD[0.00]                                                                                                                                                               Yes

08106974                           TRX[3.302331], USD[0.00]

08106984                           ALGO[0], BTC[0], DOGE[0], ETH[.00000001], SOL[0], USD[0.00]

08106985                           SHIB[496025.41902455]

08106990                           USD[0.01]                                                                                                                                                                                  Yes

08107015                           BTC[.00000001], USD[0.00]                                                                                                                                                                  Yes

08107016                           SOL[.00000001], TRX[.011431], USD[0.00], USDT[0.00684576]

08107031                           BTC[.00000003], CUSDT[4], DOGE[.06562413], SHIB[4], TRX[1], USD[2.37], USDT[0.00199486]                                                                                                    Yes

08107034                           ETH[.01155282], ETHW[.01155282], USD[0.01], USDT[0.00000895]

08107037                           BRZ[1], BTC[0], SHIB[2], TRX[3], USD[0.00]

08107041                           BTC[.00020557], KSHIB[102.36078779], SHIB[1143833.5134749], TRX[1], USD[41.17]                                                                                                             Yes

08107046                           BTC[.02092526]                                                                                                                                                                             Yes

08107049                           DOGE[1], ETHW[.03103077], SHIB[1], TRX[2], USD[0.01]                                                                                                                                       Yes

08107051                           BTC[.08690099], ETH[.45925865], ETHW[.45925865], USD[0.00], USDT[0]

08107061                           SOL[0.30764763], USD[0.30], USDT[0.23506522]

08107067                           NFT (294967774659014718/NFT Showcase)[1], NFT (349444587539091464/MagicEden Vaults)[1], NFT (435071706433163287/MagicEden Vaults)[1], NFT (459419672445175750/MagicEden Vaults)[1],
                                   NFT (463663499056586217/MagicEden Vaults)[1], NFT (531235409604921552/MagicEden Vaults)[1], SOL[.03999001]
08107070                           SHIB[6309463.72239747], TRX[1], USD[200.01]

08107076                           USD[0.00]

08107077                           BTC[.00719111], DOGE[1], TRX[1], USD[161.83]                                                                                                                                               Yes

08107078                           USD[0.00]                                                                                                                                                                                  Yes

08107081                           TRX[.13915593], USD[0.00]                                                                                                                                                                  Yes

08107085                           AAVE[.009943], BAT[.9905], GRT[.9677], LINK[.098955], MKR[.0009924], TRX[.9601], USD[132.75], USDT[0.00111633]

08107091                           USD[500.00]

08107095                           CUSDT[1], USD[0.00]                                                                                                                                                                        Yes

08107100                           ETH[.00000001], ETHW[0], TRX[0], USD[1.94], USDT[0.00000001]

08107101                           USD[67.69]

08107104                           USD[0.48]                                                                                                                                                                                  Yes

08107111                           BTC[0], DOGE[0], ETH[0], NFT (288380120991144925/Hungary Ticket Stub #110)[1], NFT (306636563879176470/Austria Ticket Stub #151)[1], NFT (312021734299847435/Belgium Ticket Stub
                                   #198)[1], NFT (320804399490946745/Miami Ticket Stub #789)[1], NFT (340810970343612979/Monaco Ticket Stub #386)[1], NFT (342505361741423523/Saudi Arabia Ticket Stub #947)[1], NFT
                                   (347371396406978605/The Hill by FTX #3088)[1], NFT (351338863164569236/Imola Ticket Stub #1506)[1], NFT (364351362885766371/Bahrain Ticket Stub #1090)[1], NFT
                                   (460705571228909892/Australia Ticket Stub #2153)[1], NFT (471391288760389810/Barcelona Ticket Stub #1557)[1], NFT (484913167502557935/France Ticket Stub #116)[1], NFT
                                   (508037349807030538/Montreal Ticket Stub #197)[1], NFT (513359704907465927/Baku Ticket Stub #237)[1], NFT (539828378516363740/Silverstone Ticket Stub #240)[1], SOL[.4266672], USD[0.00]

08107117                           NFT (537818362422929173/Saudi Arabia Ticket Stub #1441)[1]

08107120                           USD[0.61]                                                                                                                                                                                  Yes

08107122                           BCH[.00007748], BTC[.0000709], ETH[0.00061199], ETHW[0.00061174], MKR[0.00042494], TRX[.62307301], USD[2.10]                                                                               Yes

08107128                           BTC[.00023814], CUSDT[2], ETH[.01360478], ETHW[.01344062], SHIB[3159199.0080338], USD[0.01]                                                                                                Yes

08107135                           DOGE[417.6029], TRX[441.5801], USD[25.18]

08107138                           SHIB[108721.33217205], USD[5.41]                                                                                                                                                           Yes

08107149                           USD[21.64]                                                                                                                                                                                 Yes

08107152                           NFT (420675815656632135/Marcus Allen's Playbook: Los Angeles Raiders vs. Washington - January 22, 1984 #78)[1], NFT (576041517944649296/Tim Brown's Playbook: New York Jets vs. Oakland    Yes
                                   Raiders - December 2, 2002 #57)[1], USD[0.01]
08107153                           CUSDT[1], SHIB[989119.6834817], USD[0.01]

08107155                           BRZ[2], CUSDT[2], DOGE[1], TRX[1], USD[0.01]                                                                                                                                               Yes

08107159                           SHIB[4250064.31879706], SOL[.97196881], USD[0.00], USDT[0]                                                                                                                                 Yes

08107161                           MATIC[199.8], USD[688.60], USDT[.00760343]

08107170                           BF_POINT[200], CUSDT[3], ETH[.00624861], ETHW[.00616653], SHIB[441810.93077973], SOL[.11842613], USD[0.00]                                                                                 Yes

08107175                           BAT[18.57553497], BRZ[1.00152477], CUSDT[1], DOGE[404.09226079], TRX[266.75771721], USD[0.00], USDT[11.64406994]                                                                           Yes

08107183                           ETH[0], ETHW[0], USD[0.00]

08107184                           USD[0.00]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08107189                           USD[2.05]

08107197                           CUSDT[2], NFT (369981903264729706/CryptoTrump Club #1232)[1], SHIB[18699.18820939], USD[0.00]                                                                                     Yes

08107208                           ETH[.005], ETHW[.005], USD[20.88]

08107213                           BTC[.02073275]                                                                                                                                                                    Yes

08107223                           CUSDT[7], DOGE[8.2775069], MATIC[.0017484], SHIB[6824459.28558695], TRX[3.03840806], USD[0.00], USDT[1.08007616]                                                                  Yes

08107224                           ETH[.00095805], ETHW[.00092105], SOL[.00515], SUSHI[.4315], USD[6424.02], USDT[0.00877146]

08107225                           DOGE[0], SHIB[0], SOL[0.00000070], USD[0.00]

08107226                           BTC[.00021104], USD[0.07]                                                                                                                                                         Yes

08107227                           AAVE[.00002249], AVAX[0], BF_POINT[100], DOGE[0], ETH[.00000001], ETHW[0], LINK[.00022228], LTC[0], NEAR[0], SHIB[4], USD[0.00]                                                   Yes

08107228                           BTC[.06934324], USD[0.00]

08107237                           AVAX[0], BCH[0], BTC[0], DOGE[0], GBP[0.00], LTC[0], MATIC[0], SHIB[0], SOL[0], SUSHI[0], TRX[0], USD[0.00]

08107238                           SOL[1.57431189]                                                                                                                                                                   Yes

08107246                           CUSDT[6], SOL[.00000047], TRX[1], USD[0.01]                                                                                                                                       Yes

08107250                           BF_POINT[300], BRZ[4], CUSDT[13], DOGE[10.08974059], GRT[1], MATIC[.00165271], SHIB[2], TRX[11], USD[0.00]                                                                        Yes

08107259                           BF_POINT[100], BTC[0.00000001], CUSDT[0], DOGE[1], ETH[0.00622779], ETHW[0], NFT (308955944044122487/Boneworld #5898)[1], NFT (312729817267555121/Ravager #1503)[1], NFT          Yes
                                   (329836026916067881/Ravager #1610)[1], NFT (408487351790797497/Ravager #1486)[1], NFT (454788581361886792/The CaLabs #4)[1], NFT (466172744731323556/DOGO-CU-500 #7792)[1], NFT
                                   (530843953464199198/ApexDucks #1874)[1], NFT (555152302987247471/Australia Ticket Stub #1636)[1], NFT (572029751521903012/Tony)[1], SHIB[11], SOL[0], TRX[4], USD[0.90]

08107266                           BTC[.012], MATIC[120], SOL[5.26], USD[4.31]

08107269                           BRZ[1], CUSDT[2], ETH[.00833108], ETHW[.00822156], NFT (426275747974624085/Bit Scary)[1], NFT (489526251076178976/Sigma Shark #3264)[1], NFT (498446129808883950/Sigma Shark      Yes
                                   #1292)[1], SOL[.00218691], USD[0.00]
08107270                           CUSDT[2], DOGE[1972.10071004], KSHIB[2686.6583749], SHIB[27119435.06933907], SOL[13.08039073], TRX[2], UNI[3.79020307], USD[0.00]                                                 Yes

08107271                           NFT (322816836648512540/Lilian)[1], NFT (378902032324480728/Friends & Family)[1], NFT (428398074175681452/Luke)[1], NFT (490237221381927324/Layla)[1], NFT
                                   (519099924907146206/Spot)[1], NFT (552367308707039994/Addie)[1], SOL[.18466264], USD[0.00]
08107273                           BTC[.0033844], USD[0.00]

08107283                           NFT (571054736777260186/Cyber Pharmacist 3751)[1], USD[3.97]

08107288                           BTC[.3364482], ETH[1.85163927], ETHW[1.85086151], USD[0.00], USDT[0]                                                                                                              Yes

08107302                           SOL[.07752187], USD[1.57]

08107303                           CUSDT[2], DOGE[2], ETH[0], KSHIB[0], SOL[0], TRX[3], USD[0.00]                                                                                                                    Yes

08107304                           TRX[1], USD[0.01]                                                                                                                                                                 Yes

08107311                           LINK[0], USD[0.00], USDT[0]

08107318                           BTC[.01229859], CUSDT[18097.16458149], USD[0.00]

08107325                           ETH[0], SOL[0.00699420], USD[0.00]

08107331                           DOGE[1], SHIB[28579928.93599879], USD[0.05]                                                                                                                                       Yes

08107334                           USD[800.00]

08107347                           DOGE[1], SHIB[1], USD[0.00]                                                                                                                                                       Yes

08107357                           BTC[.00200568], ETH[.01240227], ETHW[.01225179], USD[0.00]                                                                                                                        Yes

08107358                           SOL[0], USD[0.00], USDT[0.00003760]

08107359                           BTC[.00184685], CUSDT[1], USD[0.00]                                                                                                                                               Yes

08107361                           DAI[2.15108749], DOGE[12.88724228], TRX[19.11279367], USD[0.00], USDT[2.15190011]                                                                                                 Yes

08107373                           BTC[.00047836], ETH[.00175538], ETHW[.00172802], USD[10.55]                                                                                                                       Yes

08107377                           CUSDT[1], DOGE[1187.83449323], USD[0.00]                                                                                                                                          Yes

08107378                           BTC[.00003293], USD[8.66]                                                                                                                                                         Yes

08107381                           CUSDT[1], DOGE[2241.86580265], USD[0.15]                                                                                                                                          Yes

08107394                           ETHW[.26285548], USD[0.00]

08107396                           NFT (339370353431167246/Coachella x FTX Weekend 2 #30529)[1]

08107397                           NFT (400497149480179529/Crypto DSPs Batch 0001)[1], USD[9.00]

08107398                           ETHW[.00049348], USD[4.40]

08107402                           NFT (330896641296345419/Founders Edition Voyage #7)[1], NFT (407488085374612539/Founders Edition Voyage #13)[1], NFT (460416083038794954/Founders Edition Voyage #14)[1]

08107405                           SHIB[2], TRX[1], USD[0.00]                                                                                                                                                        Yes

08107406                           DOGE[1], SOL[.91815074], USD[0.00]

08107408                           TRX[.011423], USD[0.01], USDT[0]

08107409                           USD[6.25]

08107423                           CUSDT[1], USD[10.65]                                                                                                                                                              Yes

08107434                           ETH[1.06715377], ETHW[1.06670566]                                                                                                                                                 Yes

08107442                           MATIC[6.616], SOL[62.390689], USD[141.57]

08107445                           BTC[.03529718], DOGE[1], LINK[51.56251939], SHIB[7], TRX[1], USD[0.00]

08107449                           CUSDT[1], SHIB[10292301.35858377], USD[0.00]

08107451                           USD[1.00]

08107455                           CUSDT[1226.22747957], DOGE[88.50155269], USD[0.00]                                                                                                                                Yes

08107457                           NFT (349112912901551683/Bahrain Ticket Stub #719)[1], NFT (548796314241916388/Coachella x FTX Weekend 2 #29231)[1], USD[10.01]
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                                                                                                                                             Customer Claims                                                                          22-11071 (JTD)
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08107471                              BTC[0], USD[0.01]

08107475                              CUSDT[1], USD[0.00]

08107477                              BTC[.00107898], SHIB[1], USD[0.00]                                                                                                                      Yes

08107482                              USD[25.00]

08107483                              BTC[.000905], DOGE[1], USD[0.01]                                                                                                                        Yes

08107485                              BRZ[1], BTC[.01001998], CUSDT[5], DOGE[1], ETH[.03951443], ETHW[.03902195], LINK[4.33589108], USD[0.00]                                                 Yes

08107487                              USD[0.70]

08107496                              CUSDT[5], ETH[0], ETHW[0], KSHIB[0], LTC[0], USD[0.00]

08107497                              USD[0.00]

08107498                              TRX[176.3174617], USD[0.00]

08107501                              AAVE[4], BAT[43], BTC[.00149848], GRT[100], KSHIB[6144.1575], LINK[15.58613], MATIC[19.981], SHIB[500000], SUSHI[9.9905], UNI[6.9], USD[0.00]

08107517       Contingent, Disputed   USD[50.01]

08107518                              BRZ[1], CUSDT[11], USD[0.00]                                                                                                                            Yes

08107523                              BTC[0], USD[0.03]

08107529                              BTC[.012987], USDT[5.1087246]

08107539                              CUSDT[1], ETH[.05247749], ETHW[.05182485], SHIB[1], USD[0.00]                                                                                           Yes

08107544                              BRZ[2], ETH[0]                                                                                                                                          Yes

08107548                              NFT (487158229289771267/FTX - Off The Grid Miami #2420)[1]

08107556                              ALGO[.004631], BTC[0], USD[1.72]

08107562                              SOL[.05]

08107563                              USD[0.02]

08107568                              KSHIB[274.50747868], USD[0.00]

08107570                              USD[0.00]

08107576                              USD[15.03]

08107578                              BTC[.0002], USD[38.70]

08107579                              BTC[0], CUSDT[0], DAI[.69690012], ETH[0], ETHW[0], LTC[0], MATIC[0], SHIB[2], USD[0.02], USDT[0]                                                        Yes

08107583                              USD[200.01]

08107588                              BTC[.0000908], ETH[.00069], ETHW[.00069], MATIC[9.79], SOL[.00845], USD[0.79]

08107589                              SOL[4.40842602], USD[0.00]

08107596                              LTC[.00256464], USD[0.00]

08107597                              SOL[.00004512]                                                                                                                                          Yes

08107598                              SOL[.0092], USD[0.26]

08107601                              DOGE[1], SHIB[1069997.57365616], USD[0.01]                                                                                                              Yes

08107613                              MATIC[18.58772118], NFT (397695051673579310/Cal Bears Super Oski Scavenger Hunt #19)[1], SOL[6.94133712], USD[0.00]                                     Yes

08107615                              BTC[.0009]

08107616                              DOGE[1], ETH[0.01127899], ETHW[0.01114219], NFT (320311627077069203/Cal Bears Super Oski Scavenger Hunt #27)[1]                                         Yes

08107618                              BTC[.0016], USD[2.90]

08107619                              BTC[.0009], NFT (299733185367916504/Cal Bears Super Oski Scavenger Hunt #40)[1]

08107622                              ETH[.000628], ETHW[.000628], LTC[.00408], MATIC[9.92], SHIB[96400], TRX[112.386], USD[0.07]

08107624                              BTC[.00098164], NFT (304225845553037893/Cal Bears Super Oski Scavenger Hunt #12)[1], NFT (521659262936517497/Warriors Gold Blooded NFT #801)[1]         Yes

08107626                              BTC[.0009]

08107628                              BTC[.0009], NFT (455806032811672210/Cal Bears Super Oski Scavenger Hunt #33)[1]

08107630                              BTC[.0009], NFT (425796346952044782/Cal Bears Super Oski Scavenger Hunt #53)[1]

08107631                              NFT (546892109166820911/Cal Bears Super Oski Scavenger Hunt #46)[1]

08107635                              BTC[.0009], NFT (346860047650283850/Cal Bears Super Oski Scavenger Hunt #13)[1]

08107637                              BTC[.0009], NFT (475464063147190131/Cal Bears Super Oski Scavenger Hunt #63)[1]

08107640                              BTC[.00098103], NFT (347728600621943615/Cal Bears Super Oski Scavenger Hunt #11)[1]                                                                     Yes

08107641                              SHIB[198452.07382417], USD[0.00]

08107643                              BTC[.0009], NFT (481299435395786562/Cal Bears Super Oski Scavenger Hunt #4)[1]

08107647                              BRZ[3], CUSDT[8], DOGE[2], SUSHI[0], TRX[1], USD[74.35], USDT[0]                                                                                        Yes

08107655                              BTC[.0009]

08107656                              USD[1.00], USDT[6.48683218]                                                                                                                             Yes

08107668                              ETH[0], NFT (368349071463348053/Cal Bears Super Oski Scavenger Hunt #22)[1], NFT (487841085476983708/Coachella x FTX Weekend 1 #462)[1]

08107678                              BTC[.0009], NFT (509003006986071223/Cal Bears Super Oski Scavenger Hunt #14)[1]

08107687                              USD[0.00]

08107691                              BRZ[1], CUSDT[3], DOGE[1], ETH[0.06995337], ETHW[0.06908496], NFT (402664321743006843/Cal Bears Super Oski Scavenger Hunt #17)[1], SHIB[2], USD[0.00]   Yes

08107692                              AVAX[1.18020597], BTC[0.00404714], DOGE[685.43834375], LINK[1.7], SOL[0], SUSHI[0], USD[0.00], YFI[0]

08107698                              BTC[0], ETH[0], LINK[0], LTC[0], MATIC[0], SOL[0], USD[501.89]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08107700                           DOGE[971.98361571], SHIB[868823.90823152], USD[0.00]                                                                                                                                    Yes

08107701                           MATIC[619.38], USD[17.09]

08107702                           USD[50.01]

08107707                           BRZ[1], CUSDT[2], DOGE[668.75989805], MATIC[64.59109467], SHIB[4423696.5189738], USD[0.00]                                                                                              Yes

08107709                           USD[3.06]

08107710                           USD[10.82]                                                                                                                                                                              Yes

08107717                           USD[1.00]

08107718                           USD[0.16]

08107726                           BTC[.00097449], NFT (471013076120997298/Cal Bears Super Oski Scavenger Hunt #29)[1]                                                                                                     Yes

08107728                           MKR[.22889294], USD[0.00], USDT[0]

08107737                           CUSDT[1], USD[0.00]                                                                                                                                                                     Yes

08107739                           DOGE[47.95269792], NFT (473411095407233401/Cal Bears Super Oski Scavenger Hunt #5)[1], SHIB[1], USD[14.09]

08107742                           AAVE[0], BTC[0.00009021], DOGE[28.51093], ETH[.00259913], ETHW[.00259913], SHIB[153468.38551258], UNI[.27396819], USD[0.00]

08107743                           BTC[.00098209], NFT (387103826017385601/Cal Bears Super Oski Scavenger Hunt #47)[1]                                                                                                     Yes

08107748                           SOL[.0034], USD[0.00]

08107757                           DOGE[1], GRT[1], SHIB[1], SOL[.00004586], TRX[2], USD[0.00], USDT[.00721515]                                                                                                            Yes

08107760                           BTC[0], ETH[0], GRT[0], LINK[0], LTC[0], MATIC[0], SOL[0], USD[0.00]

08107766                           USD[0.00]

08107767                           ETH[.004], ETHW[.004], KSHIB[1028.97], SHIB[2000000], SOL[.10989], SUSHI[.999], USD[6.09]

08107769                           SOL[.5475]

08107770                           GRT[20], USD[1.15]

08107772                           ETH[0.01178500], ETHW[0], NFT (392148478508419149/Cal Bears Super Oski Scavenger Hunt #52)[1], USD[0.00]                                                                                Yes

08107773                           SOL[0], USD[0.00], USDT[0.00000035]

08107786                           SOL[.0995], USD[41.25]

08107787                           BTC[.00033384], DOGE[1], SHIB[11.3569963], USD[0.00]

08107792                           BTC[.0009], NFT (560826735285544743/Cal Bears Super Oski Scavenger Hunt #37)[1]

08107797                           ETH[.00045763], ETHW[.00045763], SOL[0.00000006]

08107798                           USD[0.35]

08107804                           BTC[.0009], NFT (444450962719294027/Cal Bears Super Oski Scavenger Hunt #7)[1]

08107806                           CUSDT[2], ETH[.00000001], USD[0.00]

08107807                           DOGE[1], SHIB[2010858.63663784], USD[0.00]

08107808                           BTC[.00000054], CUSDT[3], DAI[.0021099], DOGE[.00004074], ETH[.00001884], ETHW[.00001884], MATIC[.00057882], USD[0.88], USDT[0.00003792]                                                Yes

08107809                           SOL[65.51], USD[1.73]

08107810                           SHIB[140459.70959181], USD[5.39]                                                                                                                                                        Yes

08107812                           ALGO[28.32828592], DOGE[182.81823322], ETH[.04090146], ETHW[.0403953], NFT (331416470614552077/Ghoulie #6810)[1], NFT (378008050202764870/ApexDucks Halloween #2545)[1],                Yes
                                   SHIB[942771.03208037], SOL[.01446041], TRX[365.94489491], USD[0.00]
08107825                           BTC[.00003542], CUSDT[2], USD[0.00]                                                                                                                                                     Yes

08107826                           CUSDT[3], MATIC[1.55456148], NFT (346728821657255175/Beddy Tears #43)[1], NFT (351335936763214706/Brutal )[1], NFT (398032148947153783/pixel man #10)[1], NFT                           Yes
                                   (419152158899643223/Cute Axolotls Collection #39)[1], NFT (437440542683976720/Cute Axolotls Collection #21)[1], NFT (490975181164591139/Skull poker)[1], NFT (493001248340370411/Cute
                                   Axolotls Collection #45)[1], NFT (565286312930125059/The CaLabs #14)[1], SHIB[2], SOL[.00080489], TRX[3], USD[0.00], USDT[0.96752345]
08107836                           BTC[.01843947], CUSDT[6], DOGE[2], ETH[.12958345], ETHW[.12958345], LINK[5.57762533], TRX[1], USD[0.00]

08107838                           BTC[.00049121], CUSDT[2], MATIC[15.62578079], SHIB[1], SOL[.10975578], USD[0.27]                                                                                                        Yes

08107839                           CUSDT[1], TRX[4436.4218164], USD[0.00]

08107842                           USD[0.10]                                                                                                                                                                               Yes

08107845                           USD[0.25]

08107851                           AAVE[.19231747], ALGO[23.14104827], BTC[.00355375], CUSDT[4], DOGE[224.94940677], ETH[.01662425], ETHW[.01641905], SHIB[811304.87806299], SOL[.23884256], SUSHI[2.54121982],            Yes
                                   USD[0.02]
08107854                           BTC[0.00210753], LTC[0], SOL[.00000001], USD[0.00]

08107858                           DOGE[.03882109], TRX[1], USD[0.00]                                                                                                                                                      Yes

08107866                           NFT (303400644494112854/Rapist-Stamp)[1], NFT (358767179876962882/Woodman-STAMP)[1], NFT (566990396214080800/Trucker Bath)[1], SOL[.094], USD[30.00]

08107870                           SOL[.0022588], USD[0.00]

08107882                           USD[4997.86]

08107883                           USD[0.00]

08107884                           DOGE[1], TRX[1], USD[0.00]                                                                                                                                                              Yes

08107890                           ETH[.00023172], ETHW[.00023172], SOL[0.00861105], USD[137.20]

08107894                           BTC[.0000585], CUSDT[3], ETH[.00388536], ETHW[.00388536], SHIB[502716.65915946], USD[0.01]

08107895                           BTC[.0000827], TRX[48.22109611], USD[5.34], USDT[0.00716392]                                                                                                                            Yes

08107899                           BTC[.0009]

08107902                           CUSDT[2], NFT (463044871553720204/DOTB #2332)[1], NFT (518369374278536960/DOTB #1252)[1], NFT (547887633465489983/DOTB #7952)[1], SHIB[109399.42570721], SOL[.01877897], TRX[1], Yes
                                   USD[0.03]
08107917                           LTC[0], SOL[0]

08107919                           BCH[0], BTC[.01807573], USD[3.70]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08107921                              ALGO[587.75855347], DOGE[1], LINK[15.35648894], SHIB[5], SOL[1.35510278], TRX[1], USD[282.46]                                                                                        Yes

08107925                              SOL[1.13252641], USD[0.61]

08107931                              BTC[.00004642], DOGE[.03675498], SOL[.00040808]                                                                                                                                      Yes

08107938                              USD[0.00]                                                                                                                                                                            Yes

08107939                              NFT (413762532693960002/Australia Ticket Stub #623)[1], USDT[0.00001602]

08107940                              BTC[.00000001]

08107947                              BTC[.00831152], CUSDT[1], DOGE[1], KSHIB[300.58048102], MATIC[6.5759578], SHIB[2], SOL[.07504904], SUSHI[1.08458921], USD[0.04]                                                      Yes

08107951                              BTC[0.00172354]

08107959                              BTC[0.00011364], CUSDT[1], SOL[.02943568]                                                                                                                                            Yes

08107961                              BTC[.00016502]

08107965                              USD[0.00]

08107969                              BTC[.0101898], USD[6.61]

08107971                              BTC[.0373], ETH[.475], ETHW[.475], SOL[4.46], USD[68.75]

08107985                              BTC[.00000001]

08107993                              BAT[1], BRZ[70.87969223], BTC[.14662135], CUSDT[553.59581587], DOGE[6514.08795142], ETH[.96917045], ETHW[.85630362], GRT[403.86060417], LINK[20.1476002], SHIB[5758884.83558728],    Yes
                                      SOL[29.31560553], SUSHI[37.5853779], TRX[1166.17832978], USD[234.50], USDT[1.00624776]
08107994                              CUSDT[1], LTC[.00000041], MATIC[0], SOL[0], USD[0.00]                                                                                                                                Yes

08107999                              AVAX[0], BTC[0], MATIC[0], USD[0.09]

08108010                              USDT[0.00000166]

08108012                              BTC[0], USD[0.00]

08108016                              BTC[.00006106], DAI[.0999], ETH[.00056579], SOL[.00998498], USD[0.00], USDT[0]

08108019                              CUSDT[1], UNI[.00004662], USD[0.00], USDT[0]                                                                                                                                         Yes

08108021                              CUSDT[4], USD[0.00]                                                                                                                                                                  Yes

08108025                              USD[49.00]

08108032                              USD[0.53]

08108037                              NFT (311446641279024848/Kings Canyon Highway #2)[1], NFT (527698473458144389/Below Sea Level)[1], NFT (555147544563596000/Above the Falls)[1], SOL[1.04809]

08108042                              ALGO[16517.722], AVAX[372.7], BTC[.52503], DOGE[26179], ETH[6.0728], ETHW[6.0728], GRT[33597], NEAR[1557.0651], NFT (531880999350635048/The Hill by FTX #5274)[1], SOL[179.59101],
                                      UNI[914.5352], USD[2357.50], USDT[431.58959896]
08108050       Contingent, Disputed   USD[0.00]

08108054       Contingent, Disputed   ETH[0], ETHW[0], MATIC[0], SOL[0], USD[0.26], USDT[0]

08108059                              CUSDT[12], ETH[0.00000007], ETHW[0.00000007], USD[0.00]                                                                                                                              Yes

08108062                              BTC[.00188049], CUSDT[1], NFT (289300629919497868/#3000)[1], NFT (310301077426192118/ApexDucks #4785)[1], SOL[.69778861], USD[0.00]                                                  Yes

08108063                              BTC[.0000001], ETH[.00000116], ETHW[.12646739], SHIB[2], USD[315.36]

08108069                              CUSDT[1], DOGE[1], SHIB[102.74347913], USD[0.00]                                                                                                                                     Yes

08108077                              BTC[.00098193], NFT (408310076843992676/Cal Bears Super Oski Scavenger Hunt #20)[1]                                                                                                  Yes

08108078                              BTC[0], ETH[.0000725], ETHW[.0000725], USD[2.30]

08108082                              ETH[2.47505800], ETHW[2.53831311], MATIC[3138.79892366], SHIB[7], SOL[190.21380842], USD[0.00], USDT[0]                                                                              Yes

08108083                              BTC[0], USD[0.01]

08108087                              USD[3.17]

08108100                              CUSDT[3], DOGE[1], SHIB[1], TRX[1], USD[22.12]                                                                                                                                       Yes

08108120                              BAT[1.97448674], BRZ[54.11883639], CUSDT[146.9779488], GRT[3.33588669], PAXG[.00464092], USD[0.00], USDT[4.30116773]                                                                 Yes

08108129                              CUSDT[1], SOL[1.12966671], USD[0.00]

08108131                              BTC[.00090755], CUSDT[1], DOGE[1], ETH[.02590882], ETHW[.02558684], TRX[1], USD[0.01]                                                                                                Yes

08108133                              CUSDT[2], USD[0.01]                                                                                                                                                                  Yes

08108148                              USD[0.67]

08108155                              USD[0.00]

08108163                              SOL[.02299732], USD[0.00]                                                                                                                                                            Yes

08108174                              USD[0.76]                                                                                                                                                                            Yes

08108175                              BTC[.00097641], NFT (355452869820996896/Cal Bears Super Oski Scavenger Hunt #41)[1]                                                                                                  Yes

08108178                              SHIB[6889900], USD[0.74]

08108182                              BRZ[1], CUSDT[3], DOGE[1], SOL[.00009275], TRX[5], USD[0.01]                                                                                                                         Yes

08108183                              CUSDT[2], USD[0.00]

08108187                              BTC[.00000001], USD[0.00], USDT[0]

08108188                              USD[5000.00]

08108212                              BF_POINT[100], USD[138.54]                                                                                                                                                           Yes

08108215                              SOL[0], USD[0.00], USDT[0.00042989]

08108219                              BTC[.01804678], CUSDT[2], DOGE[2], ETH[.1282912], ETHW[.12719462], LINK[9.28309196], LTC[1.10078917], SHIB[329940.12897899], TRX[1], USD[0.00]                                       Yes

08108225                              USD[20.00]

08108233                              DOGE[1], ETH[0], ETHW[0], SHIB[4], USDT[0]

08108236                              BTC[.0009]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08108239                              CUSDT[2], USD[25.06]                                                                                                                                           Yes

08108246                              BTC[.045954], SOL[9.32], USD[40.62]

08108248                              SOL[.00993], USD[2.21]

08108250                              ETH[.09428456], ETHW[.09428456], USD[0.00]

08108251                              CUSDT[1], USD[0.01]                                                                                                                                            Yes

08108267                              BTC[.0009], ETH[.012], ETHW[.012], SOL[1.27], USD[0.26], USDT[.00017943]

08108275                              CUSDT[2], TRX[1039.65827594], USD[0.07]                                                                                                                        Yes

08108276                              USD[48.27]                                                                                                                                                     Yes

08108285                              SOL[.12344155], USD[10.00]

08108286                              BTC[.0002], USD[1.34]

08108291                              CUSDT[2], DOGE[1], SHIB[996473.06335581], USD[0.00]

08108292                              BRZ[1], BTC[.095601], CUSDT[1], GRT[1], TRX[3], USD[0.00]

08108298                              BTC[.0931068], ETH[1.13758591], ETHW[1.13758591], SOL[19.98], TRX[1], USD[6728.60]

08108299                              USD[0.84]

08108302                              BTC[0], ETH[.00000001], SOL[0.00000001], USD[0.00], USDT[0.00036916]

08108312       Contingent, Disputed   USD[0.00]

08108319                              USD[0.66]

08108321                              BTC[.01234541], ETH[.22375551], ETHW[.22375551], USD[0.00]

08108322                              BTC[.0011], MKR[.007996], SHIB[2199700], TRX[10], USD[0.00], YFI[.000997]

08108337                              USD[1.36]

08108345                              BAT[1.00091412], BRZ[2], CUSDT[1], DOGE[2], ETHW[.85536713], GRT[1], SHIB[2], SOL[1.06614505], USD[0.00], USDT[3.20141822]                                     Yes

08108346                              DOGE[485], SHIB[3300000], USD[0.12]

08108349                              USD[500.00]

08108354                              DOGE[1], SOL[.24544951], USD[0.01]                                                                                                                             Yes

08108355                              ALGO[6943.922155], ETH[.00000001], ETHW[0], LTC[.0027515], USD[3566.51]

08108358                              CUSDT[6], DOGE[1], LINK[45.12918655], SHIB[1], TRX[1], USD[0.00]                                                                                               Yes

08108359                              USD[20.00]

08108362                              BTC[.0000986], SOL[.00831], USD[0.07]

08108374                              USD[0.51]                                                                                                                                                      Yes

08108375                              USD[3.80]

08108376                              SOL[.5], USD[392.05]

08108390                              USD[20.00]

08108392                              SOL[.43952085], TRX[968], USD[0.00]

08108402                              ETHW[.0217605], USD[0.00]

08108403                              CUSDT[1], USD[0.00]                                                                                                                                            Yes

08108408                              CUSDT[3], USD[0.00]

08108411                              BTC[.0009]

08108423                              BTC[.00098144], NFT (452313350712482702/Cal Bears Super Oski Scavenger Hunt #9)[1]                                                                             Yes

08108435                              BTC[.00016403], USD[0.00]                                                                                                                                      Yes

08108439                              SOL[.459563], USD[202.48]

08108444                              ETHW[.145855], USD[187.28]

08108445                              NFT (527776236960873826/Kyle Field)[1], USD[0.00]                                                                                                              Yes

08108466                              USD[5577.20]

08108467                              SHIB[41037.42707918], USD[0.01]                                                                                                                                Yes

08108473                              USD[2.00]

08108483       Contingent, Disputed   BTC[1.828], ETH[11.959], ETHW[11.959], SOL[254.15], USD[2.04]

08108485                              BTC[.0009], NFT (550749885457225743/Cal Bears Super Oski Scavenger Hunt #21)[1]

08108488                              USD[0.00]

08108493                              BTC[.00004524], DOGE[8.60082494], ETH[.00045226], ETHW[.00045226], GBP[1.64], PAXG[.00000001], SUSHI[.20320542], USD[4.06], USDT[0.00987340], YFI[.00000603]   Yes

08108505                              BAT[1], CUSDT[1], DOGE[2], ETH[1.92340268], ETHW[1.9225949], LTC[39.85824356], SOL[1.07860265], TRX[1], USD[0.01], USDT[1.07934628]

08108506                              BTC[.0004101], CUSDT[4], DOGE[225.40219753], ETH[.01857487], ETHW[.01834231], SOL[.0000006], USD[0.00]                                                         Yes

08108508                              SHIB[1], USD[0.00]                                                                                                                                             Yes

08108511                              AAVE[.00001849], BRZ[6.20405938], BTC[.00000005], DOGE[4], SHIB[15], TRX[.14276335], USD[0.01]                                                                 Yes

08108524                              AVAX[0], ETH[0], ETHW[0], USD[0.00]                                                                                                                            Yes

08108528                              USD[0.00]                                                                                                                                                      Yes

08108531                              BAT[138], ETHW[.170829], SOL[5.07492], USD[1.32]

08108532                              BTC[.00091834], NFT (320344936025575665/Cal Bears Super Oski Scavenger Hunt #24)[1]                                                                            Yes

08108533                              USD[267.01]
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                                                                                                                                             Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08108542                              DOGE[1], LTC[4.97535031], USD[0.00], USDT[0]                                                                                                                                          Yes

08108547                              CUSDT[5], MATIC[1.99148915], USD[0.01]                                                                                                                                                Yes

08108549                              USD[0.76]

08108553                              BTC[.0085914], USD[0.49]

08108559                              BCH[0], CUSDT[2], ETH[0.01773960], ETHW[0.01752072], MATIC[.00045822], TRX[3], USD[0.00]                                                                                              Yes

08108561                              ETH[.0002106], ETHW[.0002106], MATIC[.27147515], SOL[.00710318], TRX[.000001], USD[0.01], USDT[.009242]

08108574                              BTC[.10248175], ETH[0.49039871], ETHW[0.49039871], NFT (435671233427332416/Cal Bears Super Oski Scavenger Hunt #23)[1], NFT (457308464886878246/Cal Bears Super Oski Scavenger Hunt
                                      #18)[1], SOL[9.92763048]
08108582                              DOGE[228.60209171], ETH[.03532282], ETHW[.03532282], SHIB[355392.52362948], USD[1.35]

08108585                              BTC[.00008906], NFT (322117779982074380/GSW Western Conference Semifinals Commemorative Ticket #477)[1], NFT (461913553994795659/GSW Round 1 Commemorative Ticket #673)[1], NFT
                                      (498690957346888785/GSW Western Conference Finals Commemorative Banner #1150)[1], NFT (501129427256398896/GSW Western Conference Finals Commemorative Banner #2292)[1],
                                      USD[25000.00]
08108590                              BTC[.03240628], DOGE[1], LINK[56.58751313], MATIC[288.58294634], NEAR[55.32129137], SOL[13.43757899], TRX[1], USD[0.01]                                                               Yes

08108598                              CUSDT[1], DOGE[1], SOL[15.11938564], USD[0.00], USDT[1.07750488]                                                                                                                      Yes

08108602                              USD[0.01], USDT[0.04300092]

08108605                              BTC[.00090644], CUSDT[2], ETH[.01255663], ETHW[.01240615], USD[0.00]                                                                                                                  Yes

08108606                              DOGE[1], ETH[.15381075], ETHW[.15307015], GRT[1.00019173], USD[0.05]                                                                                                                  Yes

08108608                              SOL[8.8911], USD[9.73]

08108610                              ETH[.000583], ETHW[.000583], USD[22.90]

08108613                              ETHW[.00719271], USD[0.67]

08108618                              USD[0.00], USDT[0.00000011]

08108630                              DOGE[93], USD[1007.40]

08108641                              SOL[.00023301], USD[0.00]                                                                                                                                                             Yes

08108645                              USD[124.00]

08108647                              TRX[0.00007000], USD[0.00], USDT[0]

08108651                              BTC[0], USD[0.00]

08108653                              SHIB[1], USD[0.00]                                                                                                                                                                    Yes

08108657                              CUSDT[1], SHIB[2734267.58464061], TRX[1], USD[0.17]                                                                                                                                   Yes

08108659                              BAT[106.60848104], BTC[0], DOGE[1], SHIB[3], USD[0.02], USDT[0]                                                                                                                       Yes

08108663       Contingent, Disputed   USD[0.00]

08108666                              USD[0.00], USDT[.009438]

08108667                              SHIB[300000], USD[0.20]

08108673                              NFT (535976679603786886/Warriors Gold Blooded NFT #443)[1]

08108680                              CUSDT[1], GRT[1], SOL[.0000215], USD[0.00]                                                                                                                                            Yes

08108683                              NFT (574132937814697520/Kreechures)[1]

08108685                              USD[4236.81]                                                                                                                                                                          Yes

08108687                              NFT (480322033676320499/The Hill by FTX #3094)[1]

08108700                              MATIC[28.65309396], NFT (567718139285127741/Sol Pengg)[1], SOL[0], TRX[0], USD[0.09]                                                                                                  Yes

08108704                              DOGE[1], NFT (320977362448914332/Cal Bears Super Oski Scavenger Hunt #16)[1], SHIB[6], TRX[1], USD[0.05]                                                                              Yes

08108708                              ETH[1.08242308], ETHW[1.08196859], GRT[1.00019173], USD[0.00]                                                                                                                         Yes

08108710                              BTC[.02046321], USD[0.00]

08108711                              BTC[.102897], DOGE[51.948], ETH[.000325], ETHW[.000325], LINK[75.5244], LTC[26.84313], TRX[.097], USD[11.07], USDT[56.011258]

08108712                              USD[100.00]

08108718                              USD[0.01]

08108724                              CUSDT[1], DOGE[1], MATIC[16.46224156], USD[0.00]                                                                                                                                      Yes

08108727                              MATIC[14.46220718], TRX[1], USD[0.00]                                                                                                                                                 Yes

08108731                              CUSDT[1], DOGE[2], SHIB[6184007.01288207], TRX[1949.72384356], USD[0.01]                                                                                                              Yes

08108734                              BTC[.00000002]                                                                                                                                                                        Yes

08108740                              BTC[0], USD[0.00]

08108748                              BCH[4.33840988], BTC[.12569316], CUSDT[4], ETH[.0000284], ETHW[1.59815317], MATIC[108.44740498], SOL[5.28623115], TRX[601.73841206], USD[0.04], USDT[0]                               Yes

08108750                              CUSDT[1], SHIB[545553.6622342], USD[0.00]                                                                                                                                             Yes

08108751                              USD[0.00]                                                                                                                                                                             Yes

08108752                              AAVE[1.136256], ALGO[237.352], AVAX[5.8889], BAT[296.326], BCH[1.4963686], BTC[0.00372852], DOGE[1851.1136], GRT[1121.0944], LINK[23.56296], LTC[2.50157], MATIC[74.761],
                                      MKR[.000578], NEAR[.00504], SOL[8.418662], TRX[1616.2492], UNI[30.00634], USD[75.74], WBTC[.005189]
08108757                              BTC[.00000008], USD[0.18]                                                                                                                                                             Yes

08108758                              NFT (540941429431267599/Coachella x FTX Weekend 1 #28760)[1]

08108765                              CUSDT[1], SOL[.08832364], USD[0.00]

08108771                              DOGE[1], NFT (367187650403731608/Space Bums #1899)[1], NFT (491107341987382805/3D CATPUNK #8085)[1], SOL[.08414742], USD[29.29]                                                       Yes

08108788                              USD[0.00]                                                                                                                                                                             Yes

08108797                              CUSDT[991.2736353], DOGE[473.62481298], ETH[.00399233], ETHW[.00393761], SOL[5.52919757], TRX[288.43562277], USD[0.76]                                                                Yes

08108798                              USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08108812                           USD[20.00]

08108813                           BTC[.0009], USD[10.00]

08108816                           ALGO[58.62875957], AVAX[1.2287463], BAT[109.70384181], BCH[3.21370442], BRZ[379.89185911], CUSDT[5417.78254869], DOGE[1018.15291305], ETH[.04061459], ETHW[.04010843],              Yes
                                   GRT[397.54687491], LINK[10.89899043], LTC[1.04614596], MATIC[136.22758291], NEAR[15.95712487], SHIB[277335222.7217471], SOL[3.28157886], SUSHI[109.67673884], TRX[2721.27928063],
                                   UNI[12.26880144], USD[2.11]
08108817                           BTC[.00098192], NFT (504442766351864760/Cal Bears Super Oski Scavenger Hunt #55)[1]                                                                                                 Yes

08108820                           USD[0.00], USDT[0]                                                                                                                                                                  Yes

08108823                           SOL[0], USD[0.23]

08108826                           AVAX[1.04382355], BTC[.00008738], DOGE[321.32966871], ETH[.11020333], ETHW[.10910179], GRT[37.45738678], LINK[2.46858933], LTC[1.31987118], SHIB[2], SOL[2.99883263],               Yes
                                   SUSHI[7.79176634], TRX[4], USD[0.00]
08108833                           NFT (552570440478186470/Coachella x FTX Weekend 1 #9990)[1], USD[0.00]

08108836                           USD[0.00]

08108847                           ETH[.00536626], ETHW[.00536626], USD[0.00]

08108855                           USD[2.00]

08108863                           BTC[.00000004], LTC[0], MATIC[0.07089078], SHIB[44], SUSHI[.0003702], TRX[.00025571], USD[0.00], USDT[0]                                                                            Yes

08108864                           USD[0.00]

08108875                           CUSDT[3], DAI[19.85990761], SHIB[402252.61464199], USD[0.00], USDT[19.88139119]

08108880                           BTC[.0017093], CUSDT[2], USD[0.00], USDT[0.00030946]

08108890                           ETH[.072976], ETHW[.072976], USD[109.89]

08108894                           BTC[.0016], USD[3.73]

08108896                           BRZ[220.57933508], CUSDT[3], KSHIB[742.42022098], TRX[318.53903557], USD[2.00]

08108903                           SHIB[3313.52604976], SUSHI[0], USD[0.00]                                                                                                                                            Yes

08108910                           BTC[.00001639], DOGE[4.13402628], SHIB[20319.17095786], USD[0.00]                                                                                                                   Yes

08108915                           BTC[.00016443], DOGE[22.57846622], ETH[.00250613], ETHW[.00247877], LTC[.02325422], USD[0.00]                                                                                       Yes

08108917                           BTC[.0009]

08108919                           BTC[.0007784], DOGE[1], SHIB[1], TRX[2], USD[0.00]                                                                                                                                  Yes

08108921                           USD[21.64]                                                                                                                                                                          Yes

08108922                           SOL[0]

08108925                           CUSDT[1], SHIB[4423230.83248338], USD[108.20]                                                                                                                                       Yes

08108936                           CUSDT[1], DOGE[113.42424197], USD[0.00]                                                                                                                                             Yes

08108944                           USD[115.89]                                                                                                                                                                         Yes

08108947                           ALGO[69.9335], LINK[3.9962], SHIB[1300000], SOL[.7829], USD[0.92]

08108955                           BTC[.00512742]

08108961                           BTC[.00068899]                                                                                                                                                                      Yes

08108962                           ETHW[.000408], USD[0.18]

08108989                           USD[0.58]

08108993                           BTC[.3200322], SOL[.00242], USD[12705.21]

08108995                           BTC[.0020988], USD[4.59]

08108996                           ETH[.00009578], ETHW[.00009578], USD[99.60]

08108998                           ETH[0], ETHW[4.73012540]

08109005                           CUSDT[7], DOGE[1035.72945914], ETH[.29307197], ETHW[.29307197], SHIB[5614417.23984961], SOL[1.19506957], TRX[3], USD[100.03]

08109018                           BAT[.00002002], CUSDT[1], DOGE[33.15494726], SHIB[141824.17121029], TRX[20.78453834], USD[0.00]                                                                                     Yes

08109019                           BAT[1.01076064], BRZ[1], CUSDT[1], DOGE[2], TRX[1], USD[0.00]                                                                                                                       Yes

08109021                           BTC[0.00172026]

08109027                           BTC[.00000002], ETH[.00127309], ETHW[.00125941], LTC[.0000002], SHIB[1], USD[0.00], USDT[0]                                                                                         Yes

08109036                           BTC[.00000003], CUSDT[4], DOGE[1], GRT[1], SHIB[4], TRX[1], USD[0.00]                                                                                                               Yes

08109043                           SOL[.0010415], USD[811.95]

08109049                           BTC[.00183717], CUSDT[8], DOGE[50.03497733], ETH[.00429967], ETHW[.00424495], LINK[.44672675], MATIC[7.24570405], PAXG[.00800301], SHIB[223109.68739177], SUSHI[1.54065797],        Yes
                                   TRX[107.95345957], USD[0.00]
08109050                           USD[1.86]

08109051                           CUSDT[2], DOGE[1], SHIB[999659.77298901], USD[0.00]                                                                                                                                 Yes

08109055                           SOL[.00008036], USD[0.28]

08109058                           AAVE[.04597218], BAT[10.98925808], BRZ[59.45997394], CUSDT[13], DOGE[1], ETH[.01546519], ETHW[.01527367], GRT[17.29336645], KSHIB[203.26182379], SOL[.10109357], SUSHI[1.21445739], Yes
                                   TRX[107.16102943], USD[0.14]
08109061                           BTC[.0009], NFT (348543080561857906/Cal Bears Super Oski Scavenger Hunt #61)[1]

08109070                           USD[20.00]

08109075                           USD[0.91], USDT[0.00000001]

08109078                           TRX[.00000001], USD[62.03]                                                                                                                                                          Yes

08109081                           TRX[204148.584388]

08109092                           MATIC[3.46095555], USD[0.00]

08109093                           USD[0.00]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08109096                           NFT (296735363135591273/Barcelona Ticket Stub #2212)[1], NFT (343277707765563440/Baku Ticket Stub #49)[1], NFT (357560844121020475/MF1 X Artists #23)[1], NFT (357602218217679624/FTX -
                                   Off The Grid Miami #54)[1], NFT (481180926959272136/Imola Ticket Stub #1450)[1], NFT (539967898905037983/Monaco Ticket Stub #146)[1]
08109098                           BTC[0], USD[0.00], USDT[0]

08109103                           SUSHI[71.432075], USD[4.77]

08109111                           SHIB[1], USD[0.01], USDT[0]                                                                                                                                                               Yes

08109116                           ETH[.0025578], ETHW[.00253044], USD[0.00]                                                                                                                                                 Yes

08109124                           BTC[.00879164], USD[2.94]

08109125                           USD[54.04]                                                                                                                                                                                Yes

08109127                           TRX[.000405], USD[0.00], USDT[0]

08109129                           BRZ[59.45888793], CUSDT[1], SOL[.07400985], USD[0.00]                                                                                                                                     Yes

08109130                           BTC[.00121074], CUSDT[1], DOGE[1], ETH[.00782117], ETHW[.00772541], MATIC[12.16336588], NFT (447490276102150502/Cal Bears Super Oski Scavenger Hunt #6)[1], SHIB[1], USD[0.00]            Yes

08109134                           BTC[.00832655], CUSDT[1], USD[0.01]

08109137                           AUD[135.96], BTC[.00008444], SHIB[2], USD[5.15], YFI[.01955932]                                                                                                                           Yes

08109140                           ETH[.079], ETHW[.079], USD[2.92]

08109149                           USD[25.27]

08109150                           CUSDT[1], USD[0.01]                                                                                                                                                                       Yes

08109152                           BRZ[1], LTC[0], SHIB[3], USD[0.00]                                                                                                                                                        Yes

08109156                           SOL[.00029756]

08109158                           DOGE[.00037319], USD[8.86], USDT[0]                                                                                                                                                       Yes

08109163                           CUSDT[1], ETH[0], ETHW[0], SHIB[1], TRX[1], USD[0.00]                                                                                                                                     Yes

08109169                           BF_POINT[200], CUSDT[1], USD[0.01], USDT[.00002186]                                                                                                                                       Yes

08109172                           ETHW[.01110816], PAXG[.05003536], SHIB[4], USD[0.00]                                                                                                                                      Yes

08109174                           USD[250.00]

08109180                           SOL[48.48981452]                                                                                                                                                                          Yes

08109181                           AVAX[6.19330214], BRZ[2], CUSDT[9], DOGE[1962.18577411], ETH[.00000769], ETHW[.00000769], SHIB[2195903.31170268], SOL[2.70908603], TRX[1], USD[0.70]                                      Yes

08109185                           USD[1.67]

08109187                           DOGE[1], USD[0.00]

08109193                           MATIC[1388.61], SHIB[58600000], SUSHI[355], TRX[30585.384], USD[23.27]

08109200                           CUSDT[3], SHIB[1], TRX[1], USD[44.30]                                                                                                                                                     Yes

08109201                           BTC[.00897647], TRX[1], USD[0.00]                                                                                                                                                         Yes

08109204                           USD[0.00]                                                                                                                                                                                 Yes

08109206                           LINK[49.8043543], LTC[3.24371767]                                                                                                                                                         Yes

08109209                           MATIC[50], USD[7.59]

08109214                           BAT[122.27680063], USD[0.00]                                                                                                                                                              Yes

08109222                           USD[21.64]                                                                                                                                                                                Yes

08109224                           CUSDT[1], DOGE[89.12227835], USD[0.00]

08109225                           BTC[0], USD[0.00]

08109231                           CUSDT[1], NFT (340043372427631431/Shannon Sharpe's Playbook: Kansas City Chiefs vs Denver Broncos - October 4, 1992 #83)[1], NFT (448744663806490108/Shannon Sharpe's Playbook:           Yes
                                   Baltimore Ravens vs. Oakland Raiders - January 14, 2001 #95)[1], SOL[.5292551], USD[1.10]
08109237                           NFT (461388922654299694/The Hill by FTX #8484)[1]                                                                                                                                         Yes

08109239                           NFT (320759779654400349/Feisty Fox #25)[1], NFT (438933997639761277/The Weird Apes #45)[1], USD[5.74]                                                                                     Yes

08109258                           USD[0.00]

08109265                           USD[0.00]

08109271                           USD[27.57]                                                                                                                                                                                Yes

08109272                           DOGE[1804.194], NFT (544628410376308021/Coachella x FTX Weekend 1 #1316)[1], SHIB[3396600], SOL[102.0245221], USD[193.21]

08109273                           BTC[.00378072], CUSDT[2], USD[0.20]                                                                                                                                                       Yes

08109274                           BRZ[1], GRT[1.00019173], USD[0.01], USDT[1.06565408]                                                                                                                                      Yes

08109277                           ETH[0], ETHW[0], MATIC[19.74811971]                                                                                                                                                       Yes

08109278                           SOL[.00000001], USD[0.00]

08109279                           LINK[.93176992], SHIB[2], USD[0.01]                                                                                                                                                       Yes

08109281                           USD[3.93]

08109287                           BTC[.0033], LINK[6.8], USD[1.38]

08109296                           USD[0.00]

08109297                           BTC[.0206], ETH[.29], ETHW[.29], SOL[2.28], USD[0.86]

08109308                           CUSDT[2], DOGE[1], ETH[.05556686], ETHW[.05487758], SHIB[3716888.63665392], SOL[1.25107134], TRX[2], USD[326.76]                                                                          Yes

08109331                           BRZ[1], CUSDT[1], ETH[.10169075], ETHW[.1006459], SOL[.11105493], TRX[1], USD[86.78]                                                                                                      Yes

08109335                           CUSDT[2], DOGE[1], GRT[1], SOL[.00018317], TRX[2], USD[0.00], USDT[1.06804101]                                                                                                            Yes

08109347                           USD[250.40], USDT[0]                                                                                                                                                                      Yes

08109350                           ETH[0.00230152], ETHW[0.00227416], USD[0.00]                                                                                                                                              Yes

08109353                           CUSDT[2], ETHW[.1917643], SHIB[5], TRX[3], USD[1705.11], USDT[0]                                                                                                                          Yes
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                                                                                                                                          Customer Claims                                                                                                        22-11071 (JTD)
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08109357                           NFT (469658644172095199/Microphone #6224)[1], SOL[.01]

08109365                           ALGO[238.37754507], BCH[.57503977], BRZ[1], DOGE[11809.75089757], ETH[.09643869], ETHW[.07484564], GRT[1216.27202005], MATIC[166.81219339], SHIB[686566963.34931342],                 Yes
                                   SOL[11.47145196], SUSHI[10.53257564], TRX[785.41607269], UNI[2.03418159], USD[0.00], USDT[1.02497978]
08109368                           DOGE[40.76501118], SOL[19.95702], USD[0.00]

08109378                           USD[0.00]

08109388                           SOL[0], USD[11.26]

08109394                           BTC[.00049641], CUSDT[1], DOGE[4.19798142], ETH[.00376188], ETHW[.00372084], LINK[.03425582], SOL[.01439485], TRX[1], USD[0.00]                                                       Yes

08109405                           DOGE[45.06447501], KSHIB[192.52676555], TRX[94.13052295], USD[0.00]                                                                                                                   Yes

08109407                           SOL[3.3866]

08109409                           ETHW[1.043], MATIC[110], USD[0.00]

08109417                           ALGO[650.76910548], BRZ[6.28309735], BTC[.03339086], CUSDT[6], DOGE[3], ETH[.00000069], MATIC[741.78657433], SHIB[34], TRX[5], USD[0.00]                                              Yes

08109419                           USD[0.00], USDT[0]

08109439                           MATIC[0.00007789], NFT (290804819478427889/Waves of the Metaverse #11)[1], NFT (371203191971142345/Surrealisart #3)[1], NFT (475052100886252353/Good Boyyy)[1], NFT                   Yes
                                   (498000620632589839/The Northern Lights)[1], NFT (507084712210851492/AI-generated landscape #211)[1], NFT (537431886344195249/AI-generated city #1)[1], NFT (552296594324727177/AI-
                                   generated landscape #174)[1], SHIB[1], SOL[0], USD[0.00]
08109450                           USD[0.01]                                                                                                                                                                             Yes

08109453                           USD[0.01], USDT[0]

08109458                           USD[54.11]                                                                                                                                                                            Yes

08109459                           USD[26.03]

08109478                           AVAX[.82571201], BTC[.00000006], CUSDT[4], DOGE[3], ETH[.00000085], ETHW[.09261629], MATIC[29.31081626], SHIB[127151.1167815], SOL[.16109876], USD[0.01]                              Yes

08109479                           USD[0.00]

08109480                           CUSDT[1], TRX[.65500836], USD[0.88], USDT[1.07715065]                                                                                                                                 Yes

08109481                           BTC[.00246708], CUSDT[2], DOGE[1], ETH[.03449085], ETHW[.03449085], SOL[.97694004], USD[0.01]

08109482                           DOGE[1122.70150533], GRT[1], USD[1.31]                                                                                                                                                Yes

08109483                           ETHW[.12747111], SHIB[1], SOL[.00046341], USD[0.01]                                                                                                                                   Yes

08109485                           BTC[.00209851], CUSDT[1], ETH[.00534199], ETHW[.00527359], LINK[4.78691683], LTC[1.03806112], SOL[.88921163], TRX[1], USD[0.00]                                                       Yes

08109486                           ETH[.00255043], ETHW[.00252307], MATIC[3.55686907], NFT (428330089342189863/AI-generated city #8)[1], SHIB[108721.25594572], USD[1.16]                                                Yes

08109494                           DOGE[1], USD[67.22]                                                                                                                                                                   Yes

08109495                           BTC[.0585414], ETH[.239], ETHW[.239], SOL[2.33766], USD[5.08]

08109497                           NFT (425365622130370186/Giga Monke)[1], USD[10.00]

08109498                           LINK[3.6], USD[0.00], USDT[2.3151696]

08109505                           BTC[.00461445], DOGE[1], USD[3.35]

08109507                           USD[0.00]

08109512                           CUSDT[1], SOL[2.46643208], USD[0.00]                                                                                                                                                  Yes

08109514                           NFT (315192129744449596/Concert Eyes)[1], USD[49.01]

08109517                           USD[0.01]                                                                                                                                                                             Yes

08109538                           AVAX[.00597376], SOL[.00432414], USD[0.00]                                                                                                                                            Yes

08109546                           CUSDT[5], DOGE[5], TRX[3], USD[0.00], USDT[0]

08109556                           USD[0.00]

08109558                           USD[0.01]

08109559                           AVAX[.04687112], BTC[.00096013], ETH[.02843916], ETHW[.02808348], LTC[.58795793], USD[0.00]                                                                                           Yes

08109565                           AVAX[.1], USD[4.82]

08109573                           BTC[0], MATIC[0], SHIB[2776209.69410349], TRX[1544], USD[0.00]

08109574                           BTC[.00039728], ETH[0.03173102], ETHW[0.03173102], SOL[.20595584], USD[1.00], USDT[0.00000038]

08109576                           USD[0.00], USDT[0]                                                                                                                                                                    Yes

08109587                           BTC[.00000053], CAD[0.09], CUSDT[3], DOGE[.00002137], USD[36.44]                                                                                                                      Yes

08109588                           USD[0.01]

08109589                           ETH[.165], ETHW[.165], USDT[4.092665]

08109591                           BTC[.05197446], CUSDT[3], DOGE[1], ETH[.32254718], ETHW[.32237937], GRT[1.00019173], SOL[5.10633161], TRX[3], USD[1310.90]                                                            Yes

08109593                           AVAX[.4995], USD[0.40]

08109595                           CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                          Yes

08109598                           DOGE[52.26434724], KSHIB[232.59101107], USD[0.03]                                                                                                                                     Yes

08109612                           AVAX[.20558551], MKR[.00420491], USD[0.02]

08109616                           BTC[.0000865], ETH[.00068], ETHW[.00068], USD[0.01]

08109623                           CUSDT[294.76972479], SHIB[450512.30561558], USD[0.00]                                                                                                                                 Yes

08109625                           USD[100.00]

08109629                           USD[0.04]

08109630                           BTC[0.00357376], USD[0.00], USDT[0.00000487]

08109639                           BAT[1], DOGE[2], TRX[.000003], USD[0.00], USDT[0]                                                                                                                                     Yes

08109666                           DOGE[1], ETH[.01287254], ETHW[.01270838], USD[0.00]                                                                                                                                   Yes
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08109668                           USD[20.00]

08109671                           USD[0.46]                                                                                                                                                                        Yes

08109673                           CUSDT[1458.2085791], DOGE[1], SHIB[552780.75870616], SOL[.0558406], USD[2.16]                                                                                                    Yes

08109685                           USD[0.94]

08109686                           BTC[.0068684], USD[0.00]

08109694                           AAVE[.008101], USD[42.07]

08109695                           USD[3.89]

08109710                           USD[0.00]

08109711                           USD[10.40]

08109739                           DOGE[2], SHIB[1], USD[0.00]                                                                                                                                                      Yes

08109746                           BF_POINT[200], BTC[.05454242], DOGE[1], SOL[18.20370259], TRX[1], USD[0.00]                                                                                                      Yes

08109747                           CUSDT[3], SHIB[2], USD[0.01]                                                                                                                                                     Yes

08109753                           USD[3.25]                                                                                                                                                                        Yes

08109754                           USD[0.00]

08109761                           BRZ[1], BTC[.01255611], CUSDT[7], DOGE[1], ETH[.01332967], ETHW[.01316551], SHIB[6], SOL[6.10478643], TRX[4], USD[0.03]                                                          Yes

08109768                           BTC[0], ETHW[.000493], LINK[0], SOL[0], USD[46114.53], USDT[0.50000232]

08109769                           BTC[0], DOGE[0], USD[0.00]

08109784                           BTC[.00097041]

08109786                           USD[0.00]

08109789                           BRZ[1], BTC[0], DOGE[4], ETH[0], MATIC[0], SHIB[2], SOL[0], TRX[2], USD[0.01]                                                                                                    Yes

08109792                           BRZ[1], CUSDT[2], DOGE[227.72871235], ETH[.02568006], ETHW[.02536542], SHIB[4507343.15483989], SOL[.73985305], TRX[1], USD[0.00]                                                 Yes

08109793                           SHIB[203334.68889792], USD[0.00]

08109795                           DOGE[1], TRX[1], USD[0.00]                                                                                                                                                       Yes

08109798                           BTC[0.00013703], ETH[.18874], ETHW[.18874], KSHIB[6.66149955], USD[4.76]

08109802                           ETH[.00037683], ETHW[0.00037683], USD[0.00]

08109810                           BRZ[1], CUSDT[1], MATIC[52.01498884], MKR[.06766768], USD[99.76]                                                                                                                 Yes

08109819                           BRZ[509.67339141], CUSDT[1], DOGE[2], ETH[.09274806], ETHW[.09169967], SHIB[2134580.66361434], SOL[.00003857], TRX[2], USD[0.00]                                                 Yes

08109825                           CUSDT[3], DOGE[1], USD[0.00]

08109827                           CUSDT[4], USD[0.01]

08109829                           BTC[.0001676]                                                                                                                                                                    Yes

08109830                           KSHIB[582.1553662], SHIB[3], SOL[1.1501586], TRX[1250.70945516], USD[0.21]                                                                                                       Yes

08109832                           SOL[0.00744393], USD[0.00]

08109833                           BTC[0.00007820], SOL[.0997], USD[1.61], USDT[28.34284794], WBTC[0]

08109835                           CUSDT[1], DOGE[1], TRX[1], USD[0.00]                                                                                                                                             Yes

08109842                           SOL[.21019669]                                                                                                                                                                   Yes

08109858                           BTC[.02154499], DOGE[1], USD[1.33], USDT[1.08149748]                                                                                                                             Yes

08109859                           AUD[0.00], BCH[.00097923], BTC[.00000623], EUR[0.00], GBP[0.16], LINK[.01284744], USD[0.23], USDT[0.00000001]                                                                    Yes

08109863                           BRZ[1], DOGE[1], SHIB[1], SOL[14.92737718], USD[0.01]                                                                                                                            Yes

08109869                           BAT[1.00500792], BRZ[2], CUSDT[9], DOGE[1], MATIC[0], NFT (331862296509876075/Zombie World #13)[1], NFT (357508409290119638/Covid-19#2)[1], NFT (523862160319041394/Gloom Punk   Yes
                                   #2092)[1], SHIB[226485.92726054], SOL[.21454665], TRX[.09280117], USD[0.01]
08109877                           DOGE[46.21941564], KSHIB[341.18124814], SHIB[339573.34015849], USD[2.93], USDT[0.06795442]                                                                                       Yes

08109879                           ETHW[.23366872], USD[846.24]                                                                                                                                                     Yes

08109880                           NFT (458812631223052435/ALPHA:RONIN #997)[1], SOL[.05]

08109883                           BRZ[1], USDT[0.00001620]                                                                                                                                                         Yes

08109886                           USD[0.00], USDT[0]

08109887                           USD[0.00]                                                                                                                                                                        Yes

08109888                           CUSDT[1], DOGE[455.73334168], KSHIB[20.57127246], SHIB[2266661.58918391], TRX[977.34142634], USD[0.00]                                                                           Yes

08109892                           TRX[1.0130874], USD[0.01], USDT[0]

08109896                           USD[694.00]

08109900                           ETH[.00000001], SHIB[1], SOL[0], USD[0.00], USDT[0]                                                                                                                              Yes

08109902                           NFT (441153909493259668/Warriors Gold Blooded NFT #301)[1]

08109904                           CUSDT[1], SHIB[2085505.73514077], USD[0.00]

08109906                           CUSDT[2], DOGE[1], SOL[5.37525987], TRX[1], USD[117.11]

08109914                           DOGE[1], USD[0.00]                                                                                                                                                               Yes

08109924                           SOL[.02205272], USD[0.74]

08109929                           BTC[.0462537], ETH[.226773], ETHW[.226773], SOL[17.02296], USD[508.30]

08109940                           BRZ[1], DOGE[1], SOL[.00004446], USD[0.00]                                                                                                                                       Yes

08109941                           ETH[0.00009234], USD[0.00]

08109945                           BTC[.57636523], ETH[8.06045626], ETHW[8.06045626], MATIC[738.64414856], SOL[72.59971393], USD[6.26]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08109951                           ETHW[2.682], USD[0.00]

08109956                           USD[50.00]

08109959                           SHIB[330589.40334528], USD[0.00]

08109963                           BRZ[1], CUSDT[5], DOGE[3], GRT[2], TRX[1], USD[0.01]

08109973                           NFT (531821843853672052/Entrance Voucher #17487)[1], USD[640.78]                                                                                                                         Yes

08109981                           DOGE[2], SHIB[1], USD[292.28], USDT[1]

08109996                           USD[3.39]

08110006                           CUSDT[2], SOL[1.59936891], TRX[958.53914493], USD[0.00]                                                                                                                                  Yes

08110011                           SHIB[1.81515228], USD[0.00]                                                                                                                                                              Yes

08110022                           BTC[.00168138], USD[100.00]

08110031                           ETH[.038], ETHW[.038], NFT (298934041379855964/Endeavors into Movement and Paper #7)[1], NFT (304183408350292603/Endeavors into Movement and Paper #10)[1], NFT
                                   (311805652886816144/Initial Endeavors into Movement and Color #2)[1], NFT (327979256045137572/Initial Endeavors into Movement and Color #6)[1], NFT (332093422320934157/Endeavors into
                                   Movement and Paper #9)[1], NFT (338869234849643871/Initial Endeavors into Movement and Color #3)[1], NFT (371657629669716223/Initial Endeavors into Movement and Color)[1], NFT
                                   (405671991159501565/Endeavors into Movement and Paper #8)[1], NFT (424964214167665138/Endeavors into Movement and Paper #3)[1], NFT (425185685597377295/Initial Endeavors into
                                   Movement and Color #9)[1], NFT (442064442657764049/Endeavors into Movement and Paper #6)[1], NFT (443432747254268117/Initial Endeavors into Movement and Color #8)[1], NFT
                                   (462855045503781648/Initial Endeavors into Movement and Color #11)[1], NFT (488935396294821934/Endeavors into Movement and Paper #11)[1], NFT (491987486722395652/Endeavors into
                                   Movement and Paper #5)[1], NFT (496407516859887309/Endeavors into Movement and Paper)[1], NFT (506303070654727638/Endeavors into Movement and Paper #4)[1], NFT
                                   (507746405393262668/Initial Endeavors into Movement and Color #5)[1], NFT (547847793381509334/Endeavors into Movement and Paper #2)[1], NFT (555665096630454360/Initial Endeavors into
                                   Movement and Color #10)[1], NFT (560985461715928867/Initial Endeavors into Movement and Color #7)[1], NFT (567305857062164055/Initial Endeavors into Movement and Color #4)[1],
                                   SOL[3.42678141], USD[0.00]
08110044                           ETH[.12366897], ETHW[.12249991], TRX[1], USD[0.01]                                                                                                                                       Yes

08110045                           BTC[0.00122928]

08110060                           BTC[.00921529], GRT[1.00019173], USD[0.28]                                                                                                                                               Yes

08110063                           USD[50.01]

08110073                           AAVE[.58980144], ALGO[416.7610534], AVAX[8.14302042], BAT[127.05856384], BCH[.33090682], BRZ[1], BTC[0.04912873], CUSDT[60.67861937], DOGE[15.10420718], ETH[0], ETHW[6.22476895], Yes
                                   GRT[391.91106656], LINK[8.3210063], LTC[.775723], MKR[0.05279352], NEAR[12.07777799], PAXG[.02396029], SOL[1.25844592], SUSHI[40.61168667], TRX[133.45228842], UNI[8.04120768],
                                   USD[0.00], YFI[.00586378]
08110075                           CUSDT[1], SOL[5.17637713], USD[22.56]                                                                                                                                              Yes

08110081                           BTC[0], USD[0.00]

08110096                           CUSDT[1], DOGE[456.283261], LINK[3.74115124], USD[0.00]                                                                                                                                  Yes

08110100                           CUSDT[1], DOGE[2397.20071482], USD[0.00]                                                                                                                                                 Yes

08110101                           CUSDT[3], NFT (298587300859518425/Metaverse House)[1], NFT (317161982925197531/Metaverse House #3)[1], NFT (356033137021244393/Nifty Nanas #3271)[1], NFT (360080279470465038/Skull
                                   smile)[1], NFT (372174113548465072/WuTakenPeople #16)[1], NFT (417431763202097705/Cryptographic zombie #34)[1], NFT (440091546265417223/WuTakenPeople #15)[1], NFT
                                   (477874867425420912/Feisty Fox #07)[1], NFT (484134437832935702/Nifty Nanas #5497)[1], NFT (501737200594040098/WuTakenPeople #8)[1], NFT (526813293850593306/WuTakenPeople #13)[1],
                                   NFT (527142954989522928/Cryptographic zombie #23)[1], NFT (531398984799599995/Metaverse House #2)[1], NFT (537743514765144197/WuTakenPeople #9)[1], NFT
                                   (549158783291340775/WuTakenPeople #3)[1], NFT (571507655941624503/Skull beer 4)[1], SOL[.0943838], USD[11.00]

08110106                           USDT[698.92]

08110108                           BTC[.0057942], ETH[.265734], ETHW[.265734], USD[5.82], USDT[.71872912]

08110111                           BTC[.00000014], DOGE[1], NFT (536811228016813686/Space Bums #3620)[1], SOL[.00000001], TRX[1], USD[0.00]                                                                                 Yes

08110114                           USD[12.10]

08110124                           USD[0.00]

08110129                           SOL[.01496], USD[1.34]

08110136                           BAT[0], BTC[0], USD[2000.00]

08110140                           SHIB[1124434.39299223], TRX[1], USD[0.00]                                                                                                                                                Yes

08110147                           ETH[.00093649], ETHW[.00093649], USDT[1.6577036]

08110148                           ETH[.005994], ETHW[.005994], SHIB[924556.95761413], SOL[.07788915], USD[1.58]

08110151                           GRT[0], NFT (402459547830819774/Light of the Past BLEACHED)[1], SHIB[27203.35726423], SOL[0], TRX[0], USD[0.00]                                                                          Yes

08110154                           CUSDT[2], TRX[2], USD[0.00]

08110159                           BAT[1.00015199], BF_POINT[300], BRZ[1], BTC[.06202838], CUSDT[3], DOGE[3], ETH[.00000172], ETHW[.00000172], GRT[1], SHIB[1], SOL[.00000001], TRX[3], USD[0.00], USDT[0.00013765]         Yes

08110160                           BAT[1], CUSDT[3], DOGE[2], SHIB[18978204.33832063], SOL[6.07278789], TRX[3], USD[0.00]                                                                                                   Yes

08110161                           ETH[0], ETHW[0], USD[0.00]                                                                                                                                                               Yes

08110162                           BTC[0], DOGE[1]                                                                                                                                                                          Yes

08110166                           USD[0.13]

08110168                           SOL[.5], USD[401.33]

08110180                           BTC[0.00108075], DOGE[0], SOL[0], TRX[0], USD[26140.56], USDT[4225.03401600]

08110186                           AVAX[2.35159086], BTC[.00646169], CUSDT[3034.60528618], ETH[.05147119], ETHW[.05083013], LINK[2.62420742], MATIC[118.54293686], NEAR[5.77879283], PAXG[.03342545], SHIB[3],              Yes
                                   SOL[1.63830507], TRX[1], USD[0.01]
08110187                           ETH[.14089049], ETHW[.14089049], GRT[412.08673285], LINK[70.20273127], MATIC[750.88622768], SOL[9.51676757]

08110192                           MATIC[9.991], USD[3456.03]

08110206                           CUSDT[1], SOL[.07346892], USD[10.00]

08110223                           BTC[.00672728], CUSDT[3], SOL[2.86832516], TRX[3], USD[0.44]                                                                                                                             Yes

08110224                           ETHW[.79265432], SOL[.0003558], USD[0.49]                                                                                                                                                Yes

08110227                           USD[0.01]

08110228                           USD[1.00]

08110236                           BAT[.933], USD[2.27]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08110244                              BRZ[1], BTC[1.86674194], DOGE[3], ETH[2.36544554], ETHW[2.3647333], GRT[1], SOL[22.87193773], TRX[2], USD[0.00]                                                                 Yes

08110246                              CUSDT[4], DOGE[241.2254247], MATIC[17.48376361], SOL[2.43185039], TRX[262.12743776], USD[2.47]                                                                                  Yes

08110249                              BTC[.00050048], CUSDT[4], DOGE[90.73214614], ETH[.00774041], ETHW[.00764458], MATIC[13.84710499], USD[0.00]                                                                     Yes

08110274                              AVAX[0], SOL[0], USD[418.30]

08110275                              ETH[.02455977], ETHW[.02425881], MATIC[12.37279219], SOL[.26762707]                                                                                                             Yes

08110276                              BTC[.0225], USD[374.77]

08110277                              BAT[0], CUSDT[2], DOGE[0.00011355], ETH[0], SHIB[113641.76974708], SOL[0], TRX[0], USD[0.00], USDT[0]                                                                           Yes

08110280                              GRT[12.85496623], SHIB[1], USD[0.00]                                                                                                                                            Yes

08110281                              BTC[0.00014733], ETH[0.00000001], ETHW[0], LTC[0], SOL[0], USD[0.46]

08110289                              SOL[18.88], USD[1.67]

08110296                              SOL[2.11919735]

08110304                              TRX[0.00388600], USD[1.49]                                                                                                                                                      Yes

08110309                              USD[7.28]

08110311                              BAT[1], CUSDT[1], DOGE[3], TRX[1], USD[0.00]

08110314                              USD[0.01], USDT[0.00000143]

08110316                              ALGO[36299.10589753], BF_POINT[200], SOL[347.82156066]                                                                                                                          Yes

08110320                              USD[50.01]

08110325                              CUSDT[1], DOGE[1], ETH[.06525492], ETHW[.0644461], TRX[1], USD[0.00]                                                                                                            Yes

08110326                              BRZ[1], BTC[.01727376], DOGE[1], SHIB[1099780.83256369], SOL[.24906298], TRX[1], USD[0.00]                                                                                      Yes

08110329                              BRZ[2], CUSDT[1], DOGE[1], TRX[1], USD[0.00], USDT[0.00000002]                                                                                                                  Yes

08110333                              ETH[.06687702], ETHW[0.06687701]

08110335                              BRZ[1], SHIB[2], TRX[1], USD[3.77]                                                                                                                                              Yes

08110337                              BTC[.01778309], DOGE[683.3635], ETH[.26377295], ETHW[.26377295], SOL[9.422989], USD[0.21]

08110340                              BTC[.00041757], CUSDT[2], SHIB[1668183.89220724], USD[0.00]                                                                                                                     Yes

08110341                              SHIB[27.78412413], TRX[1.11454762], USD[0.00], USDT[0]                                                                                                                          Yes

08110343                              BTC[0.01369342], ETH[.01184892], ETHW[.01169844], SHIB[1761893.77901151], USD[0.00]                                                                                             Yes

08110347                              USD[340.80]                                                                                                                                                                     Yes

08110348                              USD[5.40]                                                                                                                                                                       Yes

08110353                              SHIB[18300.95534877]                                                                                                                                                            Yes

08110354                              BF_POINT[100]

08110360                              CUSDT[1], ETH[.51554765], ETHW[.51533099], GRT[1.00019173], SOL[10.02636755], USD[0.00]                                                                                         Yes

08110361                              DAI[5.1], USD[0.02]

08110363                              SOL[1.3]

08110400                              BRZ[2], BTC[.00000028], CUSDT[6], DOGE[2], SHIB[7], TRX[4], USD[0.01]                                                                                                           Yes

08110404                              BCH[.16286605], BTC[0], LINK[8.893445], SHIB[1591165], SUSHI[39.8442], USD[368.87]

08110411                              DOGE[1], SHIB[13863992.66861538], TRX[1], USD[0.00], USDT[1]

08110417                              NFT (406030419946965043/Gemstone #43 | Shard #4)[1], NFT (459789974687872709/Gemstone #163 | Shard #6)[1], NFT (500060843256082219/Gemstone #10)[1], NFT
                                      (528333077975470782/Gemstone #174 | Shard #2)[1]
08110421                              DOGE[1], SHIB[5], TRX[1], USD[0.00]                                                                                                                                             Yes

08110422                              CUSDT[1], DOGE[1], KSHIB[13406.62552415], TRX[2], USD[0.34]                                                                                                                     Yes

08110425                              CUSDT[2], NFT (410005375545344955/GalaxyKoalas # 543)[1], NFT (439042276005063745/Red Panda #4887)[1], NFT (491233864868724336/GalaxyKoalas # 77)[1], SOL[.00001536], TRX[1],   Yes
                                      USD[0.00]
08110427                              BRZ[1], DOGE[2], LINK[35.39991677], SHIB[24170524.63987811], TRX[3834.01555906], USD[0.00]                                                                                      Yes

08110431                              BAT[70.70461084], CUSDT[3], DOGE[1], SHIB[657685.65083557], SOL[1.39076571], TRX[1], USD[0.00]                                                                                  Yes

08110435                              CUSDT[1], USD[0.00]

08110438                              USD[0.00], USDT[0]

08110439                              USD[0.32], USDT[0.00000040]

08110445                              ETH[0], ETHW[0], USD[0.01], USDT[0]                                                                                                                                             Yes

08110448                              BF_POINT[100], BRZ[2], CUSDT[2], SHIB[1270718.7180659], TRX[1], USD[0.00]                                                                                                       Yes

08110449                              BTC[.0009], NFT (535255660521028090/Cal Bears Super Oski Scavenger Hunt #8)[1]

08110451                              NFT (311570168821944397/Entrance Voucher #4148)[1], USD[0.00], USDT[0]

08110471                              BTC[.00033488], DOGE[1], ETH[.00119015], ETHW[.00119015], USD[0.00]

08110474                              BRZ[1], BTC[.00354993], CUSDT[2], USD[0.00]                                                                                                                                     Yes

08110481                              USD[54.09]                                                                                                                                                                      Yes

08110488                              GBP[3.84], SOL[.05030663], USD[0.00]                                                                                                                                            Yes

08110493       Contingent, Disputed   BTC[0.00116167], USD[0.00]

08110497                              BTC[.0009]

08110503                              BTC[.12656483]                                                                                                                                                                  Yes

08110504                              USD[6.40]

08110512                              BTC[0.01155591], DOGE[1111], MATIC[0], SHIB[7692300], SOL[0], USD[1.99], USDT[.00000236]
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                                                                                                                                         Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08110533                           NFT (314100006041374644/GSW Western Conference Finals Commemorative Banner #1939)[1], NFT (316374896100478935/GSW Championship Commemorative Ring)[1], NFT
                                   (354537937151614304/GSW Western Conference Finals Commemorative Banner #1940)[1], NFT (367289359619672870/Warriors Foam Finger #218)[1], NFT (519156880985693553/Coachella x FTX
                                   Weekend 1 #7429)[1], NFT (520057868242350011/GSW Western Conference Semifinals Commemorative Ticket #1049)[1], USD[5.02]
08110548                           BTC[.00002553], DAI[.99458733], USD[3.30]                                                                                                                                                 Yes

08110549                           AAVE[.0000418], BAT[0.00005425], CUSDT[1], DOGE[0], GRT[.0031998], KSHIB[0.00001799], LTC[.00000031], MATIC[.00004525], SHIB[0], TRX[0], USD[0.00], USDT[0.00000001], YFI[.00000009]      Yes

08110557                           USD[37.46]

08110558                           BAT[1.00976285], CUSDT[1], DOGE[2], SOL[0], SUSHI[1.0774597], TRX[2], USD[0.00], USDT[2.15845892]                                                                                         Yes

08110559                           AAVE[0], BTC[0], ETHW[1.01927148], MATIC[0], USD[0.00], USDT[0.00000219]

08110561                           USD[1.79]

08110562                           ETHW[1.6683763], SHIB[7960509.29947927], USD[2095.58]                                                                                                                                     Yes

08110567                           BRZ[1], BTC[.00099848], CUSDT[2], SOL[.02584157], USD[0.00]

08110579                           DOGE[1], USD[0.00]                                                                                                                                                                        Yes

08110582                           BRZ[1.00025612], CUSDT[10.00103302], DOGE[1], NFT (434857960037385931/Hall of Fantasy League #212)[1], USD[0.00]                                                                          Yes

08110592                           NFT (469522354705519157/mehmetdogan.eth)[1], TRX[.000001], USD[1.09]

08110594                           USD[0.00]

08110613                           NFT (400099666999097512/Coachella x FTX Weekend 1 #9628)[1]

08110614                           NFT (478759306413855240/Eye of Beauty #2)[1], NFT (481133261077724853/Eye of Beauty)[1], USD[101.40]

08110615                           BF_POINT[200], BRZ[3], BTC[0], DOGE[3], ETH[0], SOL[0.00000001], TRX[2], USD[0.00]

08110617                           USD[5.41]                                                                                                                                                                                 Yes

08110621                           PAXG[.04180755], SHIB[3], USD[0.00]                                                                                                                                                       Yes

08110627                           USD[0.00]

08110628                           BRZ[2], CUSDT[9], DOGE[2], ETH[.00000231], ETHW[.00000231], TRX[1], USD[0.01]

08110631                           BRZ[2], CUSDT[2], DOGE[1], SHIB[11699279.21811158], USD[0.11]                                                                                                                             Yes

08110632                           BCH[.00353404], BTC[.00016777], CUSDT[1], ETH[.00103205], ETHW[.00101837], USD[0.00]                                                                                                      Yes

08110640                           BTC[.00000001], ETH[.00000001], ETHW[0], USD[0.01], USDT[0]                                                                                                                               Yes

08110645                           CUSDT[2], KSHIB[.03390707], NFT (549429268594460046/Donald Trump Medallionn)[1], SHIB[8], TRX[1], USD[0.00]                                                                               Yes

08110649                           SOL[.02879679], USD[0.00]

08110653                           BAT[3.18349234], BRZ[1], CUSDT[1], DOGE[1], ETH[.00000267], ETHW[.00000267], GRT[3.08195914], TRX[3], USD[0.00]                                                                           Yes

08110657                           BTC[.0009]

08110662                           BAT[1], BRZ[3], DOGE[7.00057537], ETHW[1.63336894], SHIB[8], TRX[6], USD[41.23]                                                                                                           Yes

08110666                           CUSDT[1], SOL[5.18574661], USD[0.00]                                                                                                                                                      Yes

08110671                           USD[0.06]                                                                                                                                                                                 Yes

08110675                           BTC[.0292707], MATIC[189.81], SOL[12.43755], USD[8.14]

08110686                           ETH[.010989], ETHW[.010989], SOL[.26], USD[0.71]

08110687                           ETH[.00015515], SHIB[.00000005], USD[0.00]                                                                                                                                                Yes

08110693                           BRZ[1], CUSDT[6], SOL[0.00000475], TRX[1], USD[10.05]                                                                                                                                     Yes

08110698                           BTC[.00939445], TRX[1], USD[0.55]                                                                                                                                                         Yes

08110699                           DOGE[1], ETH[.01163962], ETHW[.01163962], USD[0.00]

08110701                           DOGE[1], NFT (442143862773765128/Humpty Dumpty #627)[1], USD[0.00]                                                                                                                        Yes

08110706                           USD[10.00]

08110715                           USD[14.83]

08110717                           BF_POINT[300], CUSDT[1], DOGE[1], ETH[.05090335], ETHW[.05027407], USD[0.01]                                                                                                              Yes

08110721                           DOGE[1], ETH[.0211518], ETHW[.02089188], USD[0.00]                                                                                                                                        Yes

08110740                           BRZ[1], CUSDT[5], DOGE[1], USD[0.00]                                                                                                                                                      Yes

08110744                           USD[0.00]

08110749                           KSHIB[0], NFT (347487745094456220/Life in Art #3)[1], SOL[.00000063], USD[0.00]

08110766                           SOL[.04]

08110768                           NFT (523374951942674145/Flag Monkez - Logo Remix FTX US)[1]

08110771                           SHIB[1], TRX[1], USD[0.45]

08110774                           BRZ[1], CUSDT[2], DOGE[2], ETHW[1.10104086], MATIC[476.7682163], SOL[13.33730088], TRX[2], USD[701.42], USDT[3.23448027]                                                                  Yes

08110775                           USD[0.00]

08110789                           USD[10.80]                                                                                                                                                                                Yes

08110790                           BRZ[2], BTC[.0000002], DOGE[245.01937102], ETH[.00000221], ETHW[.0329137], LTC[.23984593], SHIB[928047.30153868], TRX[275.0500504], USD[123.62]                                           Yes

08110799                           BTC[.00026959]

08110802                           AAVE[.18348417], ALGO[117.50051601], AVAX[1.0721057], BTC[.01317643], CUSDT[0], ETH[0.06414127], LINK[4.75744999], LTC[1.60419715], MATIC[0.00084898], NEAR[6.69001499],                  Yes
                                   SOL[.00000001], USD[377.38], YFI[.0007466]
08110804                           CUSDT[2], TRX[360.27901764], USD[16.00]                                                                                                                                                   Yes

08110805                           BAT[1.00480597], CUSDT[1], USD[1193.95]                                                                                                                                                   Yes

08110810                           AAVE[0], NFT (321627284036029771/1956 Roadster J)[1], NFT (329253418438639539/Overlapping Color Circls #2)[1], NFT (485832715825526404/Dene’ Art Series #2)[1], SHIB[907413], USD[0.00]

08110812                           NFT (420749585469948327/Coachella x FTX Weekend 2 #28339)[1], NFT (433352096525769345/Entrance Voucher #1781)[1], NFT (546645714728124570/Coachella x FTX Weekend 1 #1381)[1]             Yes
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                                                                                                                                            Customer Claims                                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08110814                              ETH[0], ETHW[0], MATIC[54.32063460], USD[0.00]

08110824                              CUSDT[3], SHIB[2241027.30639668], USD[0.15]                                                                                                                                     Yes

08110826                              SOL[0]

08110828                              USD[0.01]

08110850                              CUSDT[1], ETH[0.01712447], ETHW[0.01712447], NFT (449678614365294647/Cal Bears Super Oski Scavenger Hunt #36)[1]

08110856                              BRZ[1], CUSDT[5], DOGE[2], SHIB[3975.24157186], TRX[1], USDT[0.00000003]                                                                                                        Yes

08110871                              CUSDT[2], GBP[0.00]

08110886                              USD[0.83]                                                                                                                                                                       Yes

08110912       Contingent,            USD[0.00]
               Unliquidated
08110917                              BF_POINT[500], SHIB[1008.15755055], USD[0.00]                                                                                                                                   Yes

08110932                              BRZ[4], BTC[0.00000008], CUSDT[28], DOGE[7.14586336], ETH[0.00000057], ETHW[0.00000057], MATIC[0], SHIB[0], SOL[0], TRX[7], USD[0.00]                                           Yes

08110934                              DOGE[2], ETH[.02582977], ETHW[.02551108], SOL[.98269532], USD[0.00]                                                                                                             Yes

08110938                              ALGO[0.66563696], BTC[.00000006], ETH[.0002687], ETHW[.03617564], LINK[.07542189], LTC[0], MATIC[3.57261123], SHIB[18584.51400702], SOL[0], USD[0.15]                           Yes

08110947                              BRZ[1], BTC[0], CUSDT[6], DOGE[2], ETH[0], SHIB[2], TRX[1], USD[0.02]                                                                                                           Yes

08110959                              AVAX[40.36264443], BRZ[1], CUSDT[1], DOGE[3], ETH[1.12605889], ETHW[1.12557573], NFT (310678117419760163/Sigma Shark #649)[1], NFT (332597535504168105/Ravager #1622)[1], NFT   Yes
                                      (368522443243885146/Space Bums #6406)[1], NFT (378517498634212827/Space Bums #5603)[1], NFT (512102844495702686/Kiddo #5589)[1], SHIB[1], SOL[4.18117351], TRX[1], USD[0.00]
08110968                              MATIC[1.34017188], SHIB[40371.83369001], SOL[.02871948], UNI[.48758014], USD[0.00]                                                                                              Yes

08110974                              BTC[.0000828]                                                                                                                                                                   Yes

08110975                              DOGE[19.98], USD[0.24]

08110976                              BRZ[1], CUSDT[6], DOGE[1], ETH[.0511947], ETHW[.05055953], LTC[4.52691454], USD[215.25]                                                                                         Yes

08110988                              CUSDT[3], USD[0.01]                                                                                                                                                             Yes

08110989                              ETH[0], TRX[1], USD[0.00]

08110991                              BTC[.00428178], CUSDT[2], DOGE[4], ETH[.05282595], ETHW[.05282595], SHIB[1321354.06553911], SOL[.40119303], TRX[1], USD[0.00]

08110994                              BTC[.0008], USD[0.97]

08111004                              USD[0.00]

08111018                              NFT (384633969441565711/Web 3 edges)[1], SOL[.47281738], USD[0.00]

08111023                              USD[2100.70]                                                                                                                                                                    Yes

08111049                              NFT (329505980797830092/Kugle Kawai Fanart #1)[1], NFT (343023433429961945/Kugle Kawai Fanart #3)[1], NFT (443094632634895549/Kugle Kawai Fanart #4)[1], NFT
                                      (539676829088094997/Kugle Fanart #2)[1], SOL[.076]
08111056                              AAVE[0], SHIB[4], SOL[.00018575], TRX[1], USD[0.01]                                                                                                                             Yes

08111057                              BAT[0], BCH[0], BRZ[0], BTC[0], CUSDT[0], ETH[0], MATIC[0.00159951], MKR[0], SOL[0], SUSHI[0], UNI[0], USD[0.00], YFI[0]                                                        Yes

08111059                              USD[1.18]                                                                                                                                                                       Yes

08111071                              DOGE[34.76154863], USD[9.61]

08111075                              NFT (451886579501510082/Inaugural Collection #104)[1]

08111089                              USDT[2]

08111090                              SHIB[2], USD[0.00]

08111108                              SHIB[2], TRX[1], USD[0.00]

08111112                              USD[0.01]                                                                                                                                                                       Yes

08111128                              TRX[2.322852]                                                                                                                                                                   Yes

08111134                              ETH[.556443], ETHW[.556443], SHIB[199800], SOL[34.65531], USD[3.01]

08111137                              USD[0.00]                                                                                                                                                                       Yes

08111148                              USD[3.00]

08111149                              DOGE[0], SHIB[0], USD[0.01], USDT[0]                                                                                                                                            Yes

08111155                              DOGE[1], USD[51.04]                                                                                                                                                             Yes

08111157                              CUSDT[2], SHIB[1732539.44041266], TRX[506.37483145], USD[0.00]                                                                                                                  Yes

08111166                              NFT (481765764751240844/DOGO-IN-500 #8741)[1], TRX[0]

08111168                              BRZ[1], CUSDT[10], TRX[3], USD[0.00], USDT[0.00008888]                                                                                                                          Yes

08111170       Contingent, Disputed   USD[0.44]                                                                                                                                                                       Yes

08111171                              CUSDT[1], SHIB[19.20353973], USD[0.00]                                                                                                                                          Yes

08111184                              ETH[.02525314], ETHW[.0249385], TRX[1], USD[0.00]                                                                                                                               Yes

08111193                              BTC[0], MATIC[10.98000001], SHIB[753076.78051975], TRX[127], USD[0.00], USDT[0]

08111201                              CUSDT[2], USD[0.01]

08111210                              CUSDT[10], ETH[0], SOL[0.33462562], USD[0.00]                                                                                                                                   Yes

08111213                              CUSDT[1], DOGE[1], SHIB[1991447.26640499], USD[0.00]

08111233                              USD[75.69]                                                                                                                                                                      Yes

08111249                              USD[10.00]

08111257                              CUSDT[2], SOL[1.12162636], USD[297.69]                                                                                                                                          Yes

08111260                              SHIB[0], TRX[.00066415], USD[0.00]                                                                                                                                              Yes

08111264                              BTC[.00016462], CUSDT[451.02072755], DOGE[43.73552272], ETH[.00237574], ETHW[.00237574], SHIB[249190.13207076], TRX[1], USD[0.00]
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                                                                                                                                             Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08111266                              ETH[0], MATIC[0]

08111270                              SHIB[1], USD[0.00]

08111281                              BCH[.01799401], BTC[.00016472], CUSDT[1], DOGE[44.78765365], ETH[.00251389], ETHW[.00248653], LINK[.36288757], LTC[.04587203], MATIC[25.07052184], SHIB[318881.5012042],                Yes
                                      SOL[.04906469], SUSHI[1.08001364], TRX[96.24532767], USD[0.01]
08111297                              SHIB[2164000.68641593], TRX[1], USD[0.00]                                                                                                                                               Yes

08111300                              ALGO[501.59331284], AVAX[11.0410884], BRZ[3], DOGE[4013.39584477], ETH[.33405816], ETHW[1.22812384], LINK[50.0625936], SHIB[38907566.11944035], SUSHI[150.43783631], TRX[2],            Yes
                                      UNI[43.00239615], USD[0.00]
08111311                              CUSDT[1], SHIB[323696.53576742], SOL[.04918828], USD[0.00]                                                                                                                              Yes

08111320                              BF_POINT[100], DOGE[1], GRT[0], MATIC[0], SHIB[774252.18994594], SOL[0], TRX[5], USD[2.41], USDT[0.00000056]                                                                            Yes

08111324                              USD[0.00]                                                                                                                                                                               Yes

08111325                              USD[0.00], USDT[0]

08111339                              BTC[0], ETH[0], ETHW[0], USD[1938.15]

08111356                              CUSDT[15], NFT (368525094307259895/Tim Brown's Playbook: San Diego Chargers vs. Los Angeles Raiders - September 4, 1988 #70)[1], NFT (437652332956749856/Tim Brown's Playbook: Kansas   Yes
                                      City Chiefs vs. Oakland Raiders - December 9, 2001 #54)[1], NFT (446196877088038043/Tim Brown's Playbook: Michigan State vs. Notre Dame - September 19, 1987 #75)[1],
                                      SHIB[3925929.17425654], SOL[.07887073], TRX[1], USD[0.00], YFI[.000308]
08111368                              BTC[.00004651], SOL[.00000001], USD[0.01]                                                                                                                                               Yes

08111369       Contingent, Disputed   TRX[2], USD[0.01]

08111373                              SHIB[1], SOL[1.41781023], USD[0.00], USDT[0]                                                                                                                                            Yes

08111375                              NFT (501667772701869414/FTX - Off The Grid Miami #5127)[1]

08111376                              BTC[0], USD[2.36]

08111381                              BRZ[3], BTC[.0036827], CUSDT[1], DOGE[35.59084694], ETH[.05361557], SHIB[102], SOL[2.71207879], TRX[26.45892265], USD[0.00], USDT[1.06474934]                                           Yes

08111386       Contingent, Disputed   USD[0.00], USDT[0]

08111387                              BRZ[1], SOL[19.22940628], TRX[2], USD[0.27]                                                                                                                                             Yes

08111393                              BRZ[1], CUSDT[1], DOGE[1], GRT[2.00105965], TRX[3], USD[0.01], USDT[1.08177411]                                                                                                         Yes

08111396                              BCH[.09044224], CUSDT[2], DOGE[1], USD[65.82]                                                                                                                                           Yes

08111399                              ETHW[2.45647592], NFT (317718983438899298/FTX - Off The Grid Miami #2950)[1]                                                                                                            Yes

08111402                              USD[0.02]                                                                                                                                                                               Yes

08111408                              SHIB[2000000], USD[1.03]

08111409                              DOGE[8.26210333], SOL[.00904401], USD[21.00]

08111413                              TRX[1], USD[0.01]                                                                                                                                                                       Yes

08111429                              BAT[1], BRZ[1], CUSDT[10], DOGE[4.00024999], SHIB[1], TRX[2], USD[0.89], USDT[0]                                                                                                        Yes

08111442                              ETH[.000984], ETHW[.015984], SOL[.00934], USD[90.71]

08111451                              SOL[.00955], USD[2.34]

08111458                              ETH[0.04742060], ETHW[.037], USD[0.00]

08111461                              AVAX[0], BTC[0], ETH[0], MATIC[0], NFT (308742534097969654/Pupz #6)[1], NFT (322159797210709759/Nobu Sensei #800)[1], NFT (386254879133677032/Solana Squirrel #400)[1], NFT
                                      (436707974134641527/Nobu Sensei #295)[1], NFT (463786065154402261/Nobu Sensei #701)[1], NFT (471547463579253188/Nobu Sensei #89)[1], NFT (475544451912200301/SolBunnies #942)[1],
                                      NFT (514598503403628797/Nobu Sensei #809)[1], NFT (526297834115603639/Pupz #2)[1], NFT (570235545703186779/Nobu Sensei #908)[1], SOL[0], USD[1.00], USDT[0]
08111462                              BTC[.0887311], DOGE[995], ETH[.55944], ETHW[.55944], SOL[17.82216], TRX[9990], USD[442.38]

08111481                              CUSDT[2], DOGE[85.41042227], LTC[.08810761], SHIB[210470.98402018], TRX[1], USD[0.00]

08111485                              USD[1.00]

08111494                              USD[0.01]

08111496                              BRZ[4], CUSDT[19], DOGE[3], LTC[.0000014], SHIB[4], TRX[9], USD[0.01], USDT[1.04765766]                                                                                                 Yes

08111497                              USD[29.09]

08111511       Contingent,            AVAX[.02], BTC[.0006059], ETH[.00063489], ETHW[.83863489], KSHIB[5.16], SOL[.00438], USD[1.20], USDT[54.232]
               Unliquidated
08111515                              CUSDT[3], USD[63.31]

08111521                              KSHIB[100], SHIB[100000], USD[0.25]

08111533                              BTC[.00007833], LINK[.05658], USD[2.00], USDT[0]

08111537                              USD[1.00]

08111539                              DOGE[2], USD[0.01]

08111548                              AAVE[.02348181], BTC[0], CAD[0.01], EUR[0.00], TRX[26.73439908], USD[0.00]                                                                                                              Yes

08111567       Contingent, Disputed   USD[0.00]

08111580                              KSHIB[69.93], SHIB[49700], USD[7.02]

08111589                              USD[0.00]

08111595                              NFT (327332334815498519/Coco Dog Punk #2)[1], NFT (336559806780441215/Tamago Sushi)[1], NFT (341582979976534376/Coco Dog Punk #1)[1], NFT (421667810227055687/The Hill by FTX
                                      #3182)[1], NFT (439438709865834060/Engawa Sushi)[1], NFT (439499487383333182/Coco Dog Punk #5)[1], NFT (446548865729122457/Coco Dog Punk #4)[1], NFT (513223246772025754/Coco Dog
                                      Punk #3)[1], NFT (527320842748862968/Coco Dog Punk #6)[1], NFT (531073745985837055/Ebi Sushi)[1], USD[20.80], USDT[0]
08111596                              USD[0.00]

08111599                              ETH[.00000001], ETHW[0], SOL[0.00000042], USD[0.00]

08111600                              USD[21.64]                                                                                                                                                                              Yes

08111604                              CUSDT[2], DOGE[1124.64458419], ETH[.04725292], ETHW[.04725292], USD[0.00]

08111606                              BTC[.0320919], ETH[.28775773], ETHW[.28775773], LTC[2.13], USD[1.18]

08111622                              GRT[999], SOL[19.98], USD[300.20]

08111639                              BTC[.00366722], CUSDT[2], DOGE[1], ETH[.08320433], ETHW[.08218409], SHIB[2], USD[0.32]                                                                                                  Yes
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                                                                                                                                             Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08111640                              CUSDT[5], USD[0.00]

08111643                              USD[0.03]                                                                                                                                                                            Yes

08111652                              CUSDT[3], DOGE[3], LINK[.00000647], SUSHI[0.00005135], USD[42.56]                                                                                                                    Yes

08111665                              BTC[0], LTC[0], USD[0.78]

08111669                              BRZ[1], CUSDT[2], DOGE[2], MATIC[302.48372136], TRX[2], USD[0.00]

08111671                              CUSDT[1], DOGE[1], SOL[.93191471], USD[0.00]

08111673                              BRZ[1], BTC[.05662289], DOGE[1], SHIB[3], USD[0.00]                                                                                                                                  Yes

08111677                              BAT[.00021935], BTC[.00000002], CHF[0.00], CUSDT[4], GBP[0.00], USD[0.00]                                                                                                            Yes

08111680                              MATIC[1.23660176], USD[0.00]                                                                                                                                                         Yes

08111682                              ALGO[.00079805], MATIC[52.13188182], SHIB[761627.03336967], USD[0.52]                                                                                                                Yes

08111686                              USD[10.00]

08111688                              USD[0.00]

08111692                              BTC[.01889547], CUSDT[1], ETH[.73928171], ETHW[.73897121], SHIB[4], TRX[2], USD[5830.79]                                                                                             Yes

08111695                              DOGE[39.94303152], SHIB[210002.24966432], SOL[.04976005], USD[0.00]                                                                                                                  Yes

08111703                              LTC[.0001]                                                                                                                                                                           Yes

08111709                              BRZ[1], CUSDT[1], NFT (480292079867519310/NFT BZL 2021 #121)[1], USD[0.00]                                                                                                           Yes

08111729                              USD[15.00]

08111741                              USDT[0.55063995]

08111744                              BAT[3.18614466], BF_POINT[600], BRZ[12.76194476], CUSDT[36], DOGE[13.48332941], ETH[0], ETHW[0.23400526], GRT[4.0788397], SHIB[6], TRX[12.01480362], USD[0.00], USDT[3.2252565]      Yes

08111747                              USD[0.20]

08111749                              USD[20.00]

08111757                              USD[0.00]                                                                                                                                                                            Yes

08111759                              USD[0.00]

08111763                              USD[0.00]

08111777                              USD[0.00], USDT[0.00000056]

08111779                              USD[0.00]

08111781                              BTC[.00164637], TRX[1], USD[0.00]

08111782                              BTC[.00083414], DOGE[1], NFT (536164577636266359/Coachella x FTX Weekend 1 #28690)[1], USD[0.00]

08111790                              BTC[0.00002901], USD[0.01], USDT[0.00802453]

08111791                              BAT[1], SHIB[4], USD[0.01]                                                                                                                                                           Yes

08111792                              USD[0.00]

08111795                              ETH[.062953], ETHW[.062953], EUR[0.00], SOL[.04102037], USD[0.01]

08111799                              CUSDT[3], TRX[3.00000182], USD[0.00]

08111808                              NFT (346528856105712786/Stockmarket Series)[1], NFT (525766565638487441/CPU Series)[1], USD[0.94]

08111811                              ETH[.00000011], ETHW[.00000011], NFT (366121206107353693/person)[1], NFT (380723696877623757/DOTB #8562)[1], NFT (384215397099275303/Solninjas #3161)[1], NFT                         Yes
                                      (387373944244274793/SolBunnies #1440)[1], NFT (438803593505087320/Pug Love #11)[1], NFT (492273603004171856/Cryptographic zombie #16)[1], NFT (496393080391716373/Crypto Mask #3)[1],
                                      NFT (515739571526419225/Kiddo #1539)[1], SOL[.02788831], USD[0.00]
08111823                              BRZ[1], CUSDT[2], SGD[0.00], SHIB[1], UNI[5.44159358], USD[0.00]                                                                                                                      Yes

08111824                              BTC[.0794321], USD[0.01]

08111825                              BTC[.00077743], MATIC[309.5155], SHIB[1034340.09102192], SOL[52.58606317], USD[0.00]

08111826                              USD[0.00]

08111838       Contingent, Disputed   BTC[0], USD[0.00]

08111840                              DOGE[1], SOL[.5008593], USD[0.00]                                                                                                                                                    Yes

08111841                              CUSDT[1], TRX[1], USD[0.01]

08111845                              SOL[.00000001]

08111855       Contingent, Disputed   USD[0.00]

08111857                              USD[0.01]

08111858                              BTC[.0000749], TRX[.011146]

08111860                              DOGE[46.41510467], USD[0.00]                                                                                                                                                         Yes

08111862                              BTC[.00016712], USD[0.00]                                                                                                                                                            Yes

08111864                              BTC[.00008], ETH[.0008], ETHW[.0008], LINK[.0895], SOL[.00556], USD[46.56]

08111874                              CUSDT[1], SHIB[0], TRX[2], USD[0.28]                                                                                                                                                 Yes

08111882                              USD[0.00], USDT[0]                                                                                                                                                                   Yes

08111893                              CUSDT[1], SUSHI[19.20547158], USD[0.00]                                                                                                                                              Yes

08111896                              CUSDT[1], DOGE[1], ETH[0], ETHW[0], USD[0.00]                                                                                                                                        Yes

08111897                              BRZ[1], CUSDT[1], DOGE[1], SHIB[1], SOL[.03136242], TRX[33.86766184], USD[0.01], YFI[.00006817]                                                                                      Yes

08111899                              USD[5.85], USDT[.7591469]

08111900                              SHIB[10200000], USD[2.49]

08111917                              BTC[.01206304], ETH[.03996259], ETHW[0.03996258], MATIC[10], USD[0.00], USDT[0]
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                                                                                                                                            Customer Claims                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08111920                              SOL[.00000001]

08111930                              BRZ[1], BTC[.0000868], CUSDT[1], MATIC[14.27834598], USD[0.01]                                                                                                            Yes

08111932                              ETH[.03517286], SOL[79.300886], USD[639.97]

08111933                              BTC[25.20016599], USD[0.08], USDT[0.00860426]

08111939                              USD[0.15]

08111943                              BRZ[1], DOGE[1], NEAR[14.97415497], SHIB[1], USD[0.77]                                                                                                                    Yes

08111947                              USD[0.00]

08111955                              BAT[3], BRZ[2], DOGE[2], LINK[1], TRX[67.17225352], UNI[1], USD[0.00], USDT[0]

08111972                              BTC[.000001]

08111973                              TRX[.000001], USDT[.00003348]                                                                                                                                             Yes

08111974                              CUSDT[2], SHIB[71711.52586689], USD[0.78]                                                                                                                                 Yes

08111978                              CUSDT[4], USD[0.01]                                                                                                                                                       Yes

08111989                              SHIB[1399600], SOL[.09], USD[0.13]

08111991                              NFT (463958552757270556/Inaugural Collection #357)[1]

08111992                              ETH[.054], ETHW[.054], SOL[3], USD[0.91]

08111996                              NFT (343102802419331565/#500)[1], NFT (367481968206809237/Ninja #200)[1], NFT (436435330928021947/#500)[1]

08112007                              BF_POINT[100], BRZ[7.24641063], CUSDT[3], DOGE[17.04864665], NFT (318450538879315783/Baddies #1651)[1], NFT (492376875779572588/Baddies #2717)[1], NFT                    Yes
                                      (498758512106119858/Baddies #678)[1], SHIB[77], SOL[.56329464], SUSHI[3.06477035], USD[4103.31]
08112009                              NFT (551477502496967656/DOGO-ID-500 #4103)[1]

08112014                              BAT[9.37540449], CUSDT[4], ETH[.01517335], ETHW[.01498183], USD[0.50]                                                                                                     Yes

08112024                              CUSDT[1], SHIB[321130.37893384], USD[0.00], USDT[4.97253366]

08112035                              ETH[.00000001], SHIB[2], TRX[1], USD[0.40]                                                                                                                                Yes

08112040                              BTC[0], DOGE[1], SHIB[4], USD[0.17]                                                                                                                                       Yes

08112042                              USD[20.00]

08112059                              BRZ[1], CUSDT[6], DOGE[2], SHIB[1], TRX[3], USD[0.01], USDT[2.15048821]                                                                                                   Yes

08112066                              ETH[.00000512], ETHW[.00000512], MATIC[.03201228], SHIB[208874.22104227], USD[0.01]

08112069                              DOGE[1], SHIB[7254087.56274376], USD[0.00]                                                                                                                                Yes

08112075       Contingent, Disputed   ETH[.00114781], ETHW[.00113413], SOL[.00000021], USD[0.00]                                                                                                                Yes

08112076                              CUSDT[1], LTC[0]

08112078                              SHIB[213354.91925626], USD[0.00]                                                                                                                                          Yes

08112082                              USD[216.25]                                                                                                                                                               Yes

08112085                              USD[0.26]

08112094                              BAT[0], MATIC[0], USD[0.00]                                                                                                                                               Yes

08112099                              USD[0.00]                                                                                                                                                                 Yes

08112102                              NFT (565101159189567859/FTX - Off The Grid Miami #1526)[1]

08112104                              BTC[0], ETH[0], USD[0.25], USDT[0]                                                                                                                                        Yes

08112107                              BRZ[49.73495249], KSHIB[200.13833561], USD[0.00], YFI[.00045608]

08112113                              BAT[1.00095025], BTC[.02490632], CUSDT[1], DOGE[2238.63655948], ETH[1.39830359], ETHW[1.39771622], SHIB[1201097.04165657], TRX[3], USD[1.71]                              Yes

08112117                              BTC[.00033086], CUSDT[3], DOGE[3], ETH[0.08719548], ETHW[0.08617144], GRT[28.15618856], LTC[.46776049], USD[0.00]                                                         Yes

08112134                              BTC[.00182985], ETH[.01104354], ETHW[.01104354], USD[0.01]

08112142                              ETH[.00067181], USD[0.00], USDT[1.75517468]

08112146                              BTC[.00001734]                                                                                                                                                            Yes

08112152                              ETH[0], USD[0.00]

08112161                              ETH[.00068], ETHW[.00068], USD[0.00]

08112180                              ETHW[.000201], MATIC[3.045], USD[0.00], USDT[0.00000001]

08112181                              USD[0.00]

08112185                              USD[25.00]

08112191                              USD[0.00]

08112200                              USD[216.36]                                                                                                                                                               Yes

08112205                              AVAX[4.6469426], BRZ[3], CUSDT[18], DOGE[10.02267403], ETH[.00000025], ETHW[.00000025], MATIC[457.63580486], SHIB[41], TRX[12], USD[0.00], USDT[1.06939765]               Yes

08112206                              USD[0.00]

08112208                              SOL[.09230997], USD[0.00]

08112211                              USD[10.00]

08112214                              BCH[1.27708752], BRZ[2], BTC[.02501346], CUSDT[15], DOGE[1478.46617857], ETH[.07042065], ETHW[.06954513], KSHIB[1099.0854812], LTC[6.04469729], SHIB[80669871.5603815],   Yes
                                      SOL[6.8736571], SUSHI[94.93559827], TRX[332.37735725], UNI[8.94549554], USD[160.91], USDT[0]
08112225                              BRZ[1], BTC[.01753927], CUSDT[2], DOGE[1], ETH[.12826626], ETHW[.12826626], SHIB[2216801.86109416], TRX[4], USD[1.01]

08112239                              BTC[.00882444], CUSDT[1], DOGE[1], TRX[1302.55864843], USD[0.00]                                                                                                          Yes

08112241                              SOL[0], USD[0.00]                                                                                                                                                         Yes

08112250                              USD[10.78]                                                                                                                                                                Yes

08112253                              BTC[.03298751], USD[0.00]
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                                                                                                                                          Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08112265                           NFT (418294255498349101/Engineered cells #3)[1], NFT (501654468239371149/Engineered cells #4)[1], NFT (514998717335903755/Engineered cells #2)[1], NFT (568428946563896524/Engineered
                                   cells)[1], SOL[0.03000000], USD[0.00]
08112266                           USD[0.00]

08112278                           USD[0.11], USDT[0]

08112279                           CUSDT[2], MATIC[.00024136], SHIB[2822.20131702], SOL[.00000079], USD[0.02]                                                                                                                 Yes

08112281                           BTC[.00067748], ETH[.00690965], ETHW[.00682757], MATIC[7.46789481], SHIB[5], USD[0.00], USDT[0]                                                                                            Yes

08112288                           USDT[62]

08112291                           BTC[.00032987], CUSDT[1], USD[0.00]                                                                                                                                                        Yes

08112293                           ETH[.05], ETHW[.05], USD[990.17]

08112300                           CUSDT[1], ETH[.0045868], ETHW[.0045868], USD[0.00]

08112305                           DOGE[2], SHIB[286162.62144139], TRX[1], USD[0.00]                                                                                                                                          Yes

08112312                           MATIC[3.31796375], USD[0.00]                                                                                                                                                               Yes

08112315                           USD[0.25]

08112317                           BTC[.47967933], SOL[114.30757]

08112321                           ETH[1.164], ETHW[1.164], USD[0.44]

08112323                           ETH[0.00007882], ETHW[0.00007882], SOL[0], USD[0.00]

08112324                           CUSDT[2], DOGE[225.52242706], KSHIB[203.5568975], SHIB[1099343.80676252], USD[0.00]                                                                                                        Yes

08112328                           BTC[.03415961]

08112329                           CUSDT[9], ETHW[.0135135], USD[0.01]

08112336                           BRZ[.00174528], SHIB[1], USD[0.00]                                                                                                                                                         Yes

08112337                           USD[500.01]

08112344                           USD[1.08]                                                                                                                                                                                  Yes

08112354                           NFT (429341728896347943/Coachella x FTX Weekend 2 #27041)[1]

08112374                           DOGE[1], SOL[.05327235], USD[0.00]                                                                                                                                                         Yes

08112379                           CUSDT[1], SOL[2.20592739], TRX[1], USD[0.00]                                                                                                                                               Yes

08112381                           BTC[.1162493], USD[1.72]

08112385                           ETH[.00988666], ETHW[.00988666], TRX[1], USD[0.01]

08112390                           USD[0.03]

08112395                           BF_POINT[100], BRZ[1], CUSDT[25], SHIB[2], TRX[381.78125389], USD[39.18]

08112403                           NFT (548199279389955656/Saudi Arabia Ticket Stub #1457)[1]                                                                                                                                 Yes

08112405                           SOL[.00082094], SUSHI[0], USD[0.00]                                                                                                                                                        Yes

08112415                           USD[1.00]

08112417                           DOGE[2], SOL[11.2472912], USD[0.00]                                                                                                                                                        Yes

08112418                           BTC[.00313759], SHIB[40255.45514331], USD[0.00]                                                                                                                                            Yes

08112427                           SHIB[10691500], USD[3.34]

08112428                           DOGE[.357], NFT (288239263584348215/Alien Punk 27 #2)[1], NFT (299043484660084439/StarAtlas Anniversary)[1], NFT (304181935537056806/StarAtlas Anniversary)[1], NFT
                                   (306262585054101195/StarAtlas Anniversary)[1], NFT (306497523282353828/Teen Ape 0010)[1], NFT (308707243471294275/3D Golden Horse)[1], NFT (309359747241336879/Unverfied Token)[1],
                                   NFT (310246447311013018/StarAtlas Anniversary)[1], NFT (316368133840139063/Alien Punk 23)[1], NFT (318028283959413583/X Tubby Cats)[1], NFT (319253471697975388/SolSeahorse #206)[1],
                                   NFT (323541992989680429/Teen Ape 102)[1], NFT (334842431556493837/Sol Money Boys 0)[1], NFT (335473720319556595/Three Zero 30)[1], NFT (339595561639189226/StarAtlas Anniversary)[1],
                                   NFT (343917040529102681/Avatar Riding Horse on Earth 0001)[1], NFT (343987880744611705/Teen Ape 619)[1], NFT (344328606765988506/DUB BUB PET ART 0001)[1], NFT
                                   (344904982579740953/Three Zero 8)[1], NFT (347049075515899730/Alien Punk 123)[1], NFT (350818994679663404/StarAtlas Anniversary)[1], NFT (352646645622157135/Teen Ape Special 1)[1], NFT
                                   (360958723963742642/Teen Ape 0007)[1], NFT (380846400214101228/+Positive Kazuki 5)[1], NFT (383590381693039810/StarAtlas Anniversary)[1], NFT (384113488906031883/Nois3)[1], NFT
                                   (384881193761933487/Teen Ape 207)[1], NFT (386904597497525822/Agama Mwanzae Lizard Spider Man 007)[1], NFT (392402995361623732/Alien Punk 43)[1], NFT (392684069474928770/StarAtlas
                                   Anniversary)[1], NFT (395417967333005651/ 007 Agama Spiderman)[1], NFT (396343661601506018/Teen Ape 0008)[1], NFT (400578342978556110/Alien Punk 00114)[1], NFT
                                   (405172320710507343/Angry Ape NFT 0001)[1], NFT (412325319648740856/Three Zero 4)[1], NFT (414276498544716406/Teen Ape 012)[1], NFT (425478520471145638/Tubby Cats 01)[1], NFT
                                   (431327318050695179/Teen Ape 79)[1], NFT (437889988645978717/+Positive Kazuki 4)[1], NFT (442484354887665237/Teen Ape 205 #2)[1], NFT (447178857914554783/0Y Abstract Art)[1], NFT
                                   (451897436857439732/Teen Ape Supreme )[1], NFT (455005013146120233/StarAtlas Anniversary)[1], NFT (465152249779995661/Alien Punk 69)[1], NFT (467107969182151373/Three Zero 9)[1], NFT
                                   (473310489079061413/Three Zero 40)[1], NFT (477684173162061637/Teen Ape Special )[1], NFT (491885846203854596/Teen Ape 36)[1], NFT (492642908012166403/Alien Punk 50)[1], NFT
                                   (500167317305389290/Teen Ape 205)[1], NFT (505601449307342069/Astral Apes #502)[1], NFT (510933838558109362/Tubby Cats 1)[1], NFT (511926417535300174/Three Zero 7)[1], NFT
                                   (513415270976906805/Teen Ape 0008 #2)[1], NFT (513980765551273953/Three Zero 11)[1], NFT (514065466094608239/Agama Mwanzae Spider Man Lizard)[1], NFT (516777310283890535/+Positive
                                   Kazuki 7)[1], NFT (523540053844151111/Mia Khalifa 2 #2)[1], NFT (526482559853323301/Teen Ape 101)[1], NFT (529393543144033062/Teen Ape 55)[1], NFT (531871353270141647/Teen Ape
                                   211)[1], NFT (533812413317897107/Teen Ape 0009)[1], NFT (534750149884382020/Mia Khalifa 1)[1], NFT (537964101728275987/Teen Ape 203)[1], NFT (538871607483638241/+Positive Kazuki 6)[1],
                                   NFT (545263465664761911/Mia Khalifa 2)[1], NFT (546334606184723704/Teen Ape 201)[1], NFT (549700699124518865/3D Rubby Heart)[1], NFT (552324695242715338/Teen Ape 33)[1], NFT
                                   (568721964589899861/Hand Made Sofa Cushion 1)[1], NFT (570648345598066751/+01 Utility Based Nfts Collection (Cushions))[1], NFT (574161424970794306/Alien Punk 16)[1], SOL[.29891006],
                                   USD[8.00], USDT[0]
08112429                           USD[2.93]

08112431                           DOGE[3.53095951], ETH[.00010916], ETHW[.00010916], SHIB[11606.31383472], SOL[.01008641], TRX[14.1514943], USD[0.00]                                                                        Yes

08112441                           USD[0.00], USDT[0]

08112450                           BTC[0], ETH[0], ETHW[0], USD[0.01]

08112454                           TRX[.000001], USD[0.99], USDT[0.00079700]

08112469                           USD[25.00]

08112470                           USD[53.72]                                                                                                                                                                                 Yes

08112489                           ETH[0.00065388], ETHW[0.00065103], USD[0.00]                                                                                                                                               Yes

08112496                           BAT[1], ETH[0], ETHW[0]

08112498                           NFT (387401959094660259/MagicEden Vaults)[1], NFT (405269726367057458/90's #75)[1], NFT (451930762976156863/90's #151)[1], NFT (499613404131464071/MagicEden Vaults)[1], NFT
                                   (500421101031277480/MagicEden Vaults)[1], NFT (504596326815341099/MagicEden Vaults)[1], NFT (511736580376567850/MagicEden Vaults)[1], SOL[.02]
08112499                           BTC[.07228769], CUSDT[16], DOGE[1], SHIB[2], TRX[3], USD[222.08]                                                                                                                           Yes
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                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08112501                              USD[0.00]

08112504                              BRZ[4], CUSDT[25], DOGE[2], MATIC[.00037837], SHIB[1], TRX[6], USD[88.61]                                                                                                           Yes

08112520                              CUSDT[1], ETH[.01262319], ETHW[.01247016], USD[0.00]                                                                                                                                Yes

08112528                              USDT[0]

08112529                              ETHW[.00077355], TRX[1.011202], USD[0.99]

08112535                              USD[2.16]                                                                                                                                                                           Yes

08112553                              USD[4.25]

08112555                              DOGE[106.02121276], USD[0.00]                                                                                                                                                       Yes

08112581                              BTC[.00523668], CUSDT[1], DOGE[1], SOL[.27914897], USD[0.00]                                                                                                                        Yes

08112583                              TRX[11070.52134952], USD[0.08]

08112592                              NFT (306388167371605980/The Dynasty)[1], NFT (345967249645838335/Second Sight)[1], NFT (352961429845808874/When We Were Young(er))[1], NFT (352995615619652990/Alignment)[1], NFT
                                      (377479939098364295/From An Idea, A Universe Appears)[1], NFT (385375701120467591/Listening to Thoughts)[1], NFT (388909927997775634/Dance In 3 Parts)[1], NFT
                                      (394834474188856905/Burning World (Guess Which One?))[1], NFT (414862282493566618/Our Solitary Planet)[1], NFT (418149788644325346/Flight of Thoughts)[1], NFT
                                      (461095744528909641/Attachment)[1], NFT (479986263239878471/Coloration)[1], NFT (492441290269712254/Coral (after COP26))[1], NFT (519498873782192628/Beliefs)[1], NFT
                                      (530871820015140462/On Reflection)[1], SOL[.448]
08112594                              BTC[.00027398], CUSDT[7], LINK[.00000392], SOL[.00000059], USD[0.00], USDT[0.00003443]                                                                                              Yes

08112597                              USD[0.11]

08112602                              CUSDT[5], USD[0.00]

08112603                              CUSDT[1], DOGE[92.62443698], USD[0.01]                                                                                                                                              Yes

08112604                              DOGE[1], NFT (438879133272422011/Coachella x FTX Weekend 1 #1698)[1], USD[0.00]

08112608                              BTC[.00082468], CUSDT[1], USD[50.00]

08112616                              BAT[2.07164575], BRZ[2], CUSDT[13], DOGE[3], GRT[4.14374554], NFT (367199395909734499/BELIEVE)[1], NFT (368564021564302805/BAYC Derivative Neon Dreams #5224)[1], NFT               Yes
                                      (399569173653427401/locomotiveberd)[1], NFT (399948937297138343/Bunny1108)[1], NFT (403710214703799161/BAYC Derivative Neon Dreams #5953)[1], NFT
                                      (428940657944714514/FantasticPeop)[1], NFT (528827163763115283/Mutant Ape #8990)[1], NFT (540386184716149572/Mutant Ape Matrix Derivative #1)[1], NFT (546339660619070083/BAYC
                                      Derivative Neon Dreams #4190)[1], SHIB[0], SOL[.00000913], TRX[7], UNI[1.07715065], USD[0.00], USDT[3.23043893]
08112617                              SOL[0], USD[0.01]                                                                                                                                                                   Yes

08112628                              CUSDT[1], USD[0.00]                                                                                                                                                                 Yes

08112635                              DOGE[1], SOL[.00002093], USD[0.00]                                                                                                                                                  Yes

08112636                              USD[145.29], USDT[0.00291801]

08112640                              USD[0.00], USDT[19.90206987]

08112641                              USD[64.67]                                                                                                                                                                          Yes

08112642                              USD[9.21]                                                                                                                                                                           Yes

08112659                              BTC[.01589754], ETH[.14367073], ETHW[.14276783], SHIB[3], USD[0.00]                                                                                                                 Yes

08112666                              CUSDT[3], SOL[.00001998], USD[0.00]                                                                                                                                                 Yes

08112686                              SOL[0], USD[0.00], USDT[0]

08112698                              USD[0.00]                                                                                                                                                                           Yes

08112699                              AVAX[.00019781], BTC[0.00664478], DOGE[1], GRT[1], SHIB[2], USD[0.01], USDT[0.00007188]                                                                                             Yes

08112700                              SOL[0], USD[0.00]

08112701                              ETH[.00041761], ETHW[0.00041760], USD[2.02]

08112712                              DOGE[687], SOL[3.73], USD[31.44]

08112714                              BAT[100.59457973], CUSDT[3], DOGE[312.47547783], SOL[1.46150225], USD[0.00]                                                                                                         Yes

08112715                              USD[0.01]                                                                                                                                                                           Yes

08112717                              USD[13.53]

08112728                              ETH[.91563944], ETHW[.91563944], USD[0.00]

08112732                              USD[725.10], USDT[.006801]

08112736                              ETH[0.01667434], ETHW[0.01667435], SOL[0], USD[0.00]

08112738                              AAVE[0], BTC[.01022258], CUSDT[2], USDT[17.71101715]                                                                                                                                Yes

08112740                              CUSDT[4], DOGE[156.57147581], LINK[1.23163417], SHIB[1114724.87752771], TRX[96.35097459], USD[10.79], USDT[21.4073339]                                                              Yes

08112741                              SHIB[2], USD[0.01]                                                                                                                                                                  Yes

08112743                              SOL[.00000001], USD[30.70]

08112748                              CUSDT[918.60870183], USD[6.76]                                                                                                                                                      Yes

08112760                              ETH[0], ETHW[0], SHIB[0], SOL[0], USD[0.00]

08112761                              DOGE[41.75362903], USD[0.00]

08112764                              ETH[.00000026], ETHW[.00000026], SOL[.05242103], USD[0.14]                                                                                                                          Yes

08112768                              ETH[.00000003], ETHW[.00000003], SHIB[1], USD[0.35]                                                                                                                                 Yes

08112769       Contingent, Disputed   DOGE[1], USD[0.00]                                                                                                                                                                  Yes

08112774                              USD[0.96]                                                                                                                                                                           Yes

08112775                              ETH[.00046539], ETHW[0.00046539]

08112776                              USD[5.61]

08112783                              BTC[.0102], SHIB[3100000], SOL[15.56], USD[1.10]

08112790                              CUSDT[3], GRT[1.00019173], SHIB[209.49188451], TRX[3], USD[0.00]                                                                                                                    Yes
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08112794                           BRZ[23.98145085], CUSDT[243.38995144], ETH[.00024951], ETHW[.00024951], USD[0.00]                                                                                                    Yes

08112795                           ETHW[1.65910014], USD[0.00]

08112796                           CUSDT[1], USD[0.00]                                                                                                                                                                  Yes

08112802                           USD[0.00]

08112804                           SHIB[203707.47606437], USD[0.00]

08112810                           SOL[.0008124]

08112824                           USD[9.90]

08112825                           ETH[.00061576], ETHW[.00061576], USD[0.00], USDT[0.00001398]

08112830                           AAVE[.11851476], BTC[.00050266], CUSDT[3], ETH[.01155345], ETHW[.01141157], SOL[.21377108], TRX[51.54101765], USD[0.01]                                                              Yes

08112843                           BTC[0.00000001]

08112844                           CUSDT[1], SHIB[1], USD[0.01]                                                                                                                                                         Yes

08112847                           USDT[1.1679888]

08112848                           GBP[0.38], KSHIB[438.13879322], USD[0.00]                                                                                                                                            Yes

08112851                           CUSDT[1], SOL[.14744679], USD[0.00]                                                                                                                                                  Yes

08112857                           BTC[.02911642], CUSDT[3], DOGE[2], USD[0.71]                                                                                                                                         Yes

08112865                           CUSDT[1], SOL[.09830774], USD[0.00]                                                                                                                                                  Yes

08112868                           NFT (489583359031028427/Vintage Sahara #671)[1], USD[10.00]

08112869                           BAT[1], BRZ[1], CUSDT[1], DOGE[1], NFT (298400388708954934/Solninjas #2408)[1], NFT (311640939947026054/MagicEden Vaults)[1], NFT (368369102905932020/Golden bone pass)[1], NFT      Yes
                                   (399006523125469519/Solninjas #1337)[1], NFT (407694213906767019/682)[1], NFT (433437203562573010/MagicEden Vaults)[1], NFT (475660800934277157/Frog #8515)[1], NFT
                                   (506174274372893527/Cyber Frogs Ramen)[1], NFT (526427821884308455/MagicEden Vaults)[1], NFT (565645592208551440/MagicEden Vaults)[1], SHIB[2], SOL[.00028883], TRX[1], USD[0.02],
                                   USDT[1.02543197]
08112879                           USD[1.00]

08112888                           CUSDT[1], SHIB[1058678.367959], USD[3.19]                                                                                                                                            Yes

08112889                           SHIB[36646.58645079], SOL[0], USD[0.00], USDT[0]

08112897                           SHIB[11460233.78409351], USD[0.00]

08112901                           USD[0.01]

08112904                           CUSDT[1], SHIB[559868.21873765], USD[0.00]                                                                                                                                           Yes

08112915                           USD[0.00]

08112926                           USD[739.05]

08112935                           NFT (291870867777721498/RandomPixelArt)[1]

08112944                           CUSDT[1], DOGE[565.04709102], USD[0.00]

08112948                           USD[0.00]

08112951                           USD[20.00]

08112959                           BTC[0.00182028]

08112962                           CUSDT[2], USD[0.55]

08112965                           SOL[.0007475], USD[1.62]

08112967                           SOL[3.337701], USD[0.11]

08112969                           USD[1.08]                                                                                                                                                                            Yes

08112976                           MATIC[.69], USD[376.96], USDT[.000156]

08112982                           USD[100.00]

08112987                           ETHW[2.32001983], GRT[1], SHIB[5], TRX[3], USD[0.00]                                                                                                                                 Yes

08112997                           BAT[2.96100667], DOGE[22.49335363], KSHIB[102.76495271], TRX[51.02083443], USD[0.00]                                                                                                 Yes

08113004                           BTC[.01029031], ETH[.00093255], ETHW[.00093255], UNI[.089835], USD[5.12]

08113006                           BTC[.00241074]

08113009                           BCH[.003], BTC[.001], MATIC[9.95], SOL[.00965], USD[1.23]

08113016                           BTC[.00227815], DOGE[1], LINK[3.97790856], SHIB[1], USD[0.06]                                                                                                                        Yes

08113022                           LINK[19.6], USD[1126.32]

08113031                           SOL[4.59363974], USD[1.37]

08113055                           AAVE[.66123401], BCH[.51627545], CUSDT[4912.79775088], DOGE[638.98393028], GRT[304.79039535], LTC[.51413217], MATIC[88.38595439], SHIB[2232641.46688905], SOL[3.13029564],           Yes
                                   TRX[2430.96562619], USD[4.50]
08113061                           BRZ[1], CUSDT[2], ETH[.01160056], ETHW[.01160056], SOL[.67861876], USD[0.00]

08113069                           USD[0.00]

08113070                           BRZ[1], BTC[.00287959], CUSDT[2], ETH[.0496195], ETHW[.0490039], SHIB[124394.66350894], SOL[1.27479585], USD[0.00]                                                                   Yes

08113078                           ETH[0], SOL[0], USD[4.87], USDT[0.00000157]

08113086                           DOGE[1], ETH[.01220755], ETHW[.01220755], USD[0.00]

08113095                           NFT (335587495063515217/Little Rocks #1018)[1], USD[19706.53], USDT[4852.99186892]

08113097                           NFT (312871929902105694/#1270)[1], NFT (382328217863380854/LUX | Entertainment)[1], NFT (565248065358986234/NFT Genie Multipass)[1]

08113109                           SOL[.19989], USD[7.72]

08113110                           SHIB[496114.80680437], USD[0.00]

08113112                           BTC[.0232], DOGE[2024.14], ETH[.298], ETHW[.298], LINK[31.7], LTC[9.55044], SHIB[18481500], USD[8.49]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08113115                           SOL[2.04], USD[0.59]

08113117                           USD[0.00]

08113124                           BRZ[1], CUSDT[1], DOGE[1], SHIB[1], USD[0.88]

08113134                           BAT[1], BRZ[1], CUSDT[10], DOGE[6], MATIC[84.1810212], SHIB[15], SOL[60.85852675], TRX[4], USD[0.00]                                                                               Yes

08113139                           BTC[.00520796], USD[1082.80]                                                                                                                                                       Yes

08113140                           CUSDT[2], DOGE[1], USD[0.13], USDT[1.06853864]                                                                                                                                     Yes

08113143                           USD[10095.00]

08113150                           CUSDT[1], ETH[.00000096], ETHW[.10438896], USD[0.00]                                                                                                                               Yes

08113154                           BTC[0], CUSDT[5], ETH[0.00306265], ETHW[0.00302161], USDT[0.00003367]                                                                                                              Yes

08113161                           DOGE[1], ETH[.11180249], ETHW[.11180249], USD[0.00]

08113185                           AVAX[.26172125], BRZ[1], NFT (448398819829348356/Coachella x FTX Weekend 2 #9525)[1], SHIB[1], USD[0.00]

08113191                           CUSDT[1], USD[0.01]                                                                                                                                                                Yes

08113205                           BTC[.00343022], CUSDT[1], ETH[.0883301], ETHW[.0883301], TRX[1], USD[0.00]

08113208                           SOL[.25974], TRX[2985.012], USD[1.93]

08113214                           BF_POINT[100]                                                                                                                                                                      Yes

08113216                           USD[20.00]

08113233                           SOL[0], USD[0.00]

08113244                           BTC[.00857057], TRX[1], USD[0.01]

08113248                           USD[0.01]

08113256                           SOL[4.99], USD[1.48]

08113260                           ETH[.0131353], ETHW[.01297102]                                                                                                                                                     Yes

08113263                           SOL[0], USD[0.00]

08113264                           BTC[0.00623444], SHIB[1], USD[0.00]                                                                                                                                                Yes

08113266                           ALGO[0], BTC[0.01932245], DOGE[0], ETH[0], ETHW[0], LTC[.00000022], SHIB[3], USD[0.00]                                                                                             Yes

08113268                           BTC[0.00009439], ETH[.0009278], ETHW[.0009278], USD[0.08]

08113271                           SOL[2.27772], USD[3.50]

08113284                           AVAX[5.40806431], BAT[170.38234539], BTC[0.00008052], DOGE[2255.19617594], SHIB[3908771.45295915], SOL[28.16869486], USD[5870.40]                                                  Yes

08113288                           CUSDT[1], MATIC[.00083647], USD[0.00]                                                                                                                                              Yes

08113298                           DOGE[144.37222573], NFT (291855930166830374/2D SOLDIER #1491)[1], SHIB[8755.01225561], SOL[.00000001], USD[0.09]                                                                   Yes

08113300                           DOGE[1], MATIC[6.54696656], USD[0.00]                                                                                                                                              Yes

08113302                           CUSDT[3], NFT (549238208290504258/ScarecrowPixel #4)[1], SHIB[97669.22847752], SOL[.53742461], USD[0.00]                                                                           Yes

08113305                           USDT[1.6956356]

08113308                           NFT (331605140333156979/Coachella x FTX Weekend 2 #18726)[1]

08113313                           USD[0.00], USDT[0.00009626]

08113319                           BTC[.00831327], SOL[.60855842], USD[0.00], USDT[0]

08113341                           DOGE[2], SOL[25.41722916], TRX[1], USD[0.00]                                                                                                                                       Yes

08113347                           CUSDT[772.04146671], USD[0.64]

08113354                           BTC[0.01189988], MATIC[0], SHIB[2], USD[0.00], USDT[0.00000001]

08113356                           ETH[0.00039430], ETHW[.0003943], USD[33.70]                                                                                                                                        Yes

08113360                           SHIB[223770.15143404], USD[0.00]                                                                                                                                                   Yes

08113364                           SOL[4], USD[1.72], USDT[5]

08113372                           MATIC[5.80855512], USD[0.56]

08113380                           BTC[0], NEAR[.06403231], USD[0.37]

08113382                           BTC[.00739529], CUSDT[6], ETH[.13162699], ETHW[.13162699], SHIB[2], USD[0.00]

08113385                           BRZ[1], CUSDT[10.03715628], DOGE[2], KSHIB[.21268817], NFT (427209701330068682/Doak Walker's Playbook: SMU vs. Santa Clara - September 27, 1947 #75)[1], SHIB[5943014.15560866],   Yes
                                   USD[3.44]
08113388                           BRZ[1], DOGE[1], NFT (378335371368967284/Singapore Ticket Stub #120)[1], NFT (576141606934659797/Japan Ticket Stub #65)[1], SHIB[2], SOL[0], USD[0.00]                             Yes

08113401                           BTC[.04590289], DOGE[1], USD[0.00]                                                                                                                                                 Yes

08113429                           USD[0.01]                                                                                                                                                                          Yes

08113433                           CUSDT[1], SHIB[467902.54990488], USD[0.00]                                                                                                                                         Yes

08113449                           BRZ[1], DOGE[5], GRT[42.25563581], KSHIB[216.08097201], NFT (420700873624518568/2D SOLDIER #1854)[1], SHIB[1769422.91566387], SOL[3.10301924], SUSHI[59.23015232],
                                   TRX[1.00216063], USD[0.00]
08113451                           LINK[.053], MATIC[.4], SOL[.00003], USD[0.01]

08113457                           SHIB[1], TRX[1], USD[0.04]                                                                                                                                                         Yes

08113463                           CUSDT[1], SOL[.48338892], USD[0.00]                                                                                                                                                Yes

08113482                           USD[0.06], USDT[0]

08113485                           BTC[.00166634]

08113488                           DOGE[208.979], USD[0.11]

08113498                           CUSDT[1], SOL[1.21543869], USD[0.00]                                                                                                                                               Yes

08113501                           BRZ[1], BTC[.10649101], CUSDT[2], DOGE[4], ETH[1.4799636], ETHW[1.47934209], SHIB[2], TRX[1], USD[0.00]                                                                            Yes
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                                                                                                                                              Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08113502                              CUSDT[1], MATIC[13.1714043], USD[0.00]                                                                                                                                                   Yes

08113503                              CUSDT[1], SHIB[480376.02589606], USD[0.00]                                                                                                                                               Yes

08113504                              NFT (422436890604521090/FTX - Off The Grid Miami #5141)[1], USD[0.00]                                                                                                                    Yes

08113521                              CUSDT[7], DOGE[1], GRT[1.00019173], LTC[.23575912], USD[0.00]                                                                                                                            Yes

08113527                              USD[2.99], WBTC[.00007488]                                                                                                                                                               Yes

08113531                              BTC[.00171288]

08113542                              USD[21.63]                                                                                                                                                                               Yes

08113546                              BTC[0], CUSDT[1], GRT[3], LINK[0], SOL[0]                                                                                                                                                Yes

08113549                              USD[0.59]                                                                                                                                                                                Yes

08113553                              BTC[.00044722], ETH[.00544006], ETHW[.00537166], USD[149.17]                                                                                                                             Yes

08113554                              CUSDT[3], KSHIB[204.61664522], MATIC[3.21800767], SHIB[220165.82246236], SOL[.00000021], TRX[49.39553232], USD[79.06]                                                                    Yes

08113560                              BTC[.3451], ETH[3.424], ETHW[3.424], SOL[50.08], USD[0.95]

08113588                              BF_POINT[200], ETH[.00000001], LINK[.00000001], SHIB[26], SOL[.00000001], USD[0.00], USDT[0]                                                                                             Yes

08113589                              CUSDT[2], DOGE[1], SHIB[2], TRX[1], USD[0.12]                                                                                                                                            Yes

08113595                              USD[300.00]

08113599                              USD[25000.40], WBTC[.00000566]                                                                                                                                                           Yes

08113606                              CUSDT[2], SOL[.23327072], USD[0.56], USDT[0]

08113609       Contingent, Disputed   USD[19.47]                                                                                                                                                                               Yes

08113619                              BTC[.01728443], LINK[11.78938], SHIB[9895140], SOL[1.668497], USD[2.31]

08113622                              BAT[19.9301311], DOGE[1], USD[0.00]                                                                                                                                                      Yes

08113625                              BAT[1.00984721], BRZ[1], CUSDT[3], SHIB[5], SOL[0], USD[0.00], USDT[0.00000011]                                                                                                          Yes

08113635                              AVAX[0], BAT[2], BRZ[4], CUSDT[18], ETH[.00000001], ETHW[0.01960194], GRT[2], MATIC[108.40316352], NFT (409070133358174651/Entrance Voucher #440)[1], SHIB[0], SOL[.00000001], TRX[2],   Yes
                                      USD[0.00], USDT[0]
08113643                              BAT[100.61007307], BTC[.01462144], CUSDT[3], DOGE[1], ETH[.35560886], ETHW[.35545936], LINK[3.67168516], SOL[11.37723155], USD[0.00]                                                     Yes

08113648                              USD[100.00]

08113654                              USD[1780.66]                                                                                                                                                                             Yes

08113657                              BRZ[0], BTC[0.00474515], DOGE[0], ETH[0], MATIC[0], SHIB[2], SOL[0], USD[0.00], USDT[0]                                                                                                  Yes

08113661                              BTC[.00002573], USD[1.49]

08113662                              USD[100.00]

08113665                              BTC[0], ETH[0.04151173], ETHW[0.04151173], TRX[0], USD[3.18]

08113670                              NFT (459392089898002736/2974 Floyd Norman - CLE 5-0207)[1], USD[1.01]

08113683                              CUSDT[2], DOGE[112.16978687], KSHIB[510.58848181], TRX[.16571425], USD[0.00]                                                                                                             Yes

08113685                              CUSDT[.00530952], SHIB[1], SOL[0.13502041], USD[0.00]                                                                                                                                    Yes

08113700                              USD[0.00], USDT[1.70857280]

08113708                              BAT[24.9874718], BTC[.00356151], CUSDT[3], ETH[.00620359], ETHW[.00612151], LINK[1.82031498], SOL[1.08168514], USD[0.00]                                                                 Yes

08113720                              CUSDT[1], NFT (313272718755535226/Coachella x FTX Weekend 2 #13721)[1], SOL[2.61186551], USD[0.00]

08113721                              BRZ[1], BTC[.00204506], CUSDT[10], DOGE[1], ETH[.00312181], ETHW[.04259261], MATIC[7.05736999], SHIB[3], SOL[.31822984], TRX[1], USD[81.94]                                              Yes

08113731                              CUSDT[1], DOGE[1], SOL[.00000875], USD[0.02]                                                                                                                                             Yes

08113740                              TRX[961.038], USD[0.13]

08113751                              USD[0.96]                                                                                                                                                                                Yes

08113754                              USD[0.02]

08113759                              CUSDT[1], DOGE[5], ETH[.03498553], ETHW[.03498553], SHIB[2], USD[70.31]

08113766                              SHIB[400000], USD[0.43]

08113774                              BTC[.00649415], SOL[18.28353], USD[510.60]

08113781                              BTC[0], DOGE[0], USD[0.00]                                                                                                                                                               Yes

08113799                              USD[0.62]

08113813                              CUSDT[1], SHIB[507872.0162519], USD[0.00]

08113817                              CUSDT[7], DOGE[3], ETHW[.00929222], SHIB[13], USD[0.08]                                                                                                                                  Yes

08113818                              USD[612.44]

08113827                              CUSDT[1], USD[0.00]

08113828                              ETH[.00311], ETHW[.00311]

08113836                              DOGE[1], TRX[1], USD[0.33]                                                                                                                                                               Yes

08113842                              AAVE[0], ETH[0], ETHW[0], GRT[0], KSHIB[0], LINK[0], LTC[0], NFT (393677485567026097/Entrance Voucher #25244)[1], SOL[0], SUSHI[0], UNI[0], USD[0.30], USDT[0.00000001], YFI[0]          Yes

08113849                              AVAX[3.998], BTC[.0030969], ETH[.501538], ETHW[.501538], SOL[1.35864], USD[4.58]

08113852                              BTC[0], CUSDT[0], LTC[0], SHIB[32], USD[0.00], USDT[0.00013423]                                                                                                                          Yes

08113872                              BAT[1.01338544], TRX[10631.37481849], USD[0.00], USDT[1.08154687]                                                                                                                        Yes

08113887                              CUSDT[1], SOL[2.17094314], USD[5.41]                                                                                                                                                     Yes

08113894                              DOGE[1], SHIB[1168186.70390673], USD[54.13]                                                                                                                                              Yes

08113897                              CUSDT[2], USD[0.01]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08113899                              ETH[.229], ETHW[.229], LTC[5.13], USD[3.19]

08113901                              NFT (300337215678861039/KuArmy #4)[1], USD[0.00]                                                                                                                                  Yes

08113910                              SHIB[4.00097382], USD[0.00]                                                                                                                                                       Yes

08113914       Contingent, Disputed   BTC[.0002], DOGE[11.9886], ETH[.001], ETHW[.001], USD[0.58]

08113917                              BRZ[1], CUSDT[1], DOGE[1659.71068089], SUSHI[9.93254128], USD[0.01]

08113919                              CUSDT[1], SOL[.07391384], USD[0.00]                                                                                                                                               Yes

08113923                              SHIB[2], SOL[.00000001], USD[0.00]                                                                                                                                                Yes

08113934                              BRZ[1], CUSDT[2], DOGE[1], TRX[1], USD[0.00], USDT[0]

08113935                              CUSDT[1], USD[0.00]                                                                                                                                                               Yes

08113956                              BRZ[1], BTC[0], CUSDT[5], DOGE[0], MATIC[105.23585549], TRX[5], USD[0.00]

08113984                              BAT[1.00066841], BF_POINT[400], BRZ[1], BTC[.00000766], DOGE[133.27100786], LINK[79.4271765], LTC[.07273319], SOL[0], TRX[3], USD[0.00]                                           Yes

08113990                              BAT[42.95715361], BTC[.00129815], ETH[.02660333], ETHW[.02660333], MATIC[35.96356072], SOL[.20266007], USD[5.05]

08113994                              USD[3.62]

08114027                              USD[118.87]                                                                                                                                                                       Yes

08114040                              LINK[0], LTC[0], MATIC[0], USD[1.33]

08114059                              CUSDT[1], GRT[0.01305934], USD[0.00]                                                                                                                                              Yes

08114067                              SOL[14.12871499]                                                                                                                                                                  Yes

08114071                              BTC[.00198497], USD[0.02]                                                                                                                                                         Yes

08114073                              NFT (564091788404776295/The Hill by FTX #481)[1]

08114077                              BTC[.00016443], USD[0.00]

08114097                              DOGE[82.97002003], KSHIB[.00000272], SHIB[230458.68318738], USD[0.01]

08114098                              BAT[1], BRZ[2], CUSDT[2], ETHW[2.96388114], SHIB[14], SOL[.00000001], TRX[7], USD[0.00]

08114100                              BTC[0], USD[2.61]

08114103                              BTC[.00152163], CUSDT[2], TRX[1], USD[0.20]                                                                                                                                       Yes

08114104                              KSHIB[20.32699632], USD[0.06]                                                                                                                                                     Yes

08114110                              SHIB[1], SOL[.00000133], USD[0.00]                                                                                                                                                Yes

08114118                              CUSDT[1], LTC[.35607538], USD[0.01]                                                                                                                                               Yes

08114123                              USD[162.13]                                                                                                                                                                       Yes

08114137                              BRZ[1], CUSDT[2], LINK[7.94020201], USD[0.00]                                                                                                                                     Yes

08114148                              BTC[0], ETH[0.00516214], ETHW[0.00516214], GRT[0], SHIB[2036381.38338573], USD[1.77], USDT[0]

08114162                              USD[0.00]

08114169                              DOGE[1], ETH[.05600087], ETHW[.05600087], USD[0.00]

08114170                              BTC[.04262468], USD[772.94]

08114184                              AVAX[.00000001], BRZ[7.25077187], BTC[.00000005], CUSDT[26], DOGE[7.00057537], ETH[0.00000126], ETHW[0.13674342], LTC[0], MATIC[0], SHIB[8], SOL[0.00001924], TRX[17.54264705],   Yes
                                      USD[0.01], USDT[0]
08114186                              CUSDT[3], ETH[0], SHIB[1], TRX[1], USD[0.00]                                                                                                                                      Yes

08114189                              TRX[113], USD[0.00]

08114192                              ETH[.00515085], ETHW[.00515085], SHIB[3], SOL[.083882], USD[0.00]

08114202                              USD[9.37]                                                                                                                                                                         Yes

08114205                              BTC[.00183587], CUSDT[1], DOGE[1], ETH[.09042393], ETHW[.08937657], SOL[2.82181889], TRX[1], USD[5.35]                                                                            Yes

08114207                              ETHW[.372], USD[0.71]

08114209                              PAXG[.00002029], USD[930.76]

08114213                              CUSDT[1], SOL[.12178663], USD[0.00]                                                                                                                                               Yes

08114214                              USD[2.00]

08114216                              USDT[0]

08114230                              ETH[.115884], ETHW[.115884], USD[52.24]

08114235                              BTC[.14583918], CUSDT[3], DOGE[1], ETH[1.63431773], ETHW[1.63363139], NFT (383212567978404043/FTX - Off The Grid Miami #2675)[1], SOL[3.36151467], TRX[1], USD[4184.33]           Yes

08114248                              BRZ[1], USD[219.16]

08114250                              BTC[.0131], SOL[3.57], USD[1.28]

08114263                              SOL[.23], USD[1.09]

08114266                              NFT (318269450686547224/SBF Hair & Signature #4 #53)[1]

08114270       Contingent, Disputed   LINK[0], MATIC[0], SOL[0], USD[0.02]                                                                                                                                              Yes

08114273                              USD[0.01]                                                                                                                                                                         Yes

08114274                              CUSDT[2], NFT (322582900277113895/Eitbit Ape #4585)[1], SOL[.00593809], USD[0.04]                                                                                                 Yes

08114276                              CUSDT[1], DOGE[1749.45192895], TRX[1], USD[101.51]                                                                                                                                Yes

08114279                              USD[0.00]

08114280                              SOL[.00000001], USD[0.00]                                                                                                                                                         Yes

08114283                              BRZ[4], BTC[.00152317], CUSDT[37], DOGE[3], GRT[1], TRX[13.09749747], USD[0.00]                                                                                                   Yes

08114293                              USD[303.21]
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                                                                                                                                            Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08114294                              BTC[.00034511], CUSDT[1], USD[1.00]

08114295       Contingent, Disputed   AVAX[.0508], BTC[0.00003665], DOGE[.4062], ETHW[.0009534], SOL[0.00011185], SUSHI[.0432], TRX[.678245], UNI[.09112], USD[0.47]

08114300                              BTC[.03218328], ETH[.66588517], ETHW[.66588517], MKR[.25643474], NFT (362443067430409036/Elysian - #2829)[1], NFT (390024445174549863/MySpace Sam)[1], NFT
                                      (393748990013572137/Elysian - #2251)[1], NFT (425709539062833073/2974 Floyd Norman - OKC 4-0042)[1], NFT (438049373244266666/2974 Floyd Norman - OKC 3-0200)[1], NFT
                                      (439061326038076181/2974 Floyd Norman - OKC 2-0004)[1], NFT (453413553741834256/Ship Planet)[1], NFT (455626712496472160/2974 Floyd Norman - OKC 6-0096)[1], NFT
                                      (482089550646275810/2974 Floyd Norman - OKC 1-0150)[1], NFT (515359456290179324/Skull Love #54)[1], NFT (520296454403247133/Faceless #7)[1], NFT (525179326997253284/2974 Floyd
                                      Norman - OKC 5-0038)[1], NFT (570962335279789710/BBurn)[1], SHIB[48412966.14257396], SOL[14.07779042], USD[58.74], USDT[54.75099885]
08114301                              USD[20.00]

08114302                              NFT (373482494380738498/Omni Skull)[1], NFT (374094856411959943/#IIMJ1984 Token)[1], NFT (456118994371347266/Michael Jordan, 1984 Olympics)[1], SOL[2.60780354], USD[0.00]

08114306                              BRZ[2], CUSDT[11], DOGE[1.00315432], ETH[.31408539], ETHW[.31391032], SOL[3.54101022], TRX[1.01691816], USD[0.00]                                                                 Yes

08114310                              USDT[8.87136115]

08114311                              SOL[2.44073114], TRX[1], USD[0.00]                                                                                                                                                Yes

08114313                              USD[20.00]

08114322                              BRZ[1], CUSDT[1], TRX[1], USD[0.00]

08114326                              BTC[0.00004802]

08114333                              NFT (544931996753084634/Degen Lizzy #1284)[1]                                                                                                                                     Yes

08114337                              CUSDT[1], USD[0.00]                                                                                                                                                               Yes

08114340                              AVAX[0], BTC[0], ETHW[.06162266], SHIB[53], SOL[0], USD[0.36], USDT[0]                                                                                                            Yes

08114344                              BRZ[1], SHIB[2], USD[0.00], USDT[0]                                                                                                                                               Yes

08114345                              USD[2.16]

08114350                              AAVE[0], AVAX[0.08842059], BTC[0.00945056], DOGE[0], ETH[0.00397890], ETHW[-0.00873340], MATIC[8.12115792], SOL[0.01207271], SUSHI[0], USD[604.29], USDT[0]

08114376                              ETH[.00004975], ETHW[.03004975], USD[538.79]

08114383                              USD[0.38]                                                                                                                                                                         Yes

08114386                              CUSDT[1], DOGE[70.03379724], ETH[.00810963], ETHW[.00801387], KSHIB[203.83549089], SOL[.38116996], TRX[33.73105282], USD[0.07]                                                    Yes

08114392                              CUSDT[2], DOGE[1], USD[0.00]

08114395                              BTC[.00918463], CUSDT[1], USD[0.00]

08114401                              USD[10.00]

08114402                              USD[4.60]

08114410                              AAVE[.09536], BCH[1.188253], BTC[.0000988], DOGE[125.812], ETH[.181157], ETHW[.181157], LINK[54.1538], LTC[15.06462], SOL[15.42153], SUSHI[.4295], TRX[1422.679], UNI[40.7368],
                                      USD[500.00], USDT[21.39618863], YFI[.000988]
08114412                              NFT (436745421513041085/Miss Erna Gottlieb)[1], NFT (564885555974675869/Micaela Farrell)[1]

08114423                              DOGE[1], SHIB[1], USD[13.27]

08114426                              BTC[0.00000091], LINK[.00314197], LTC[0], SHIB[1], SOL[0], USD[0.00], USDT[1.00017348]                                                                                            Yes

08114429                              CUSDT[5], DOGE[61.40853014], LINK[1.56847853], MKR[.02584505], SOL[.20271222], TRX[298.85458733], UNI[1.08686292], USD[70.38], USDT[16.12263005]                                  Yes

08114431                              BRZ[1], DOGE[930.91047023], KSHIB[4271.97965259], SHIB[4], SOL[4.02060875], SUSHI[.00016929], TRX[2.00003711], USD[0.00]                                                          Yes

08114433                              CUSDT[1], USD[19.34]

08114438                              USD[53.99]                                                                                                                                                                        Yes

08114445                              CUSDT[1], SHIB[2208812.58008712], USD[216.18]                                                                                                                                     Yes

08114447                              NFT (494062814936794920/Entrance Voucher #3892)[1], USD[28.57]

08114449                              BCH[.03357129], CUSDT[4], USD[0.86]

08114454                              USD[0.00], USDT[0.00000001]

08114456                              CUSDT[5], DOGE[1], ETH[.04504181], ETHW[.04448093], GRT[1], MATIC[76.16856041], SHIB[2729177.09606355], USD[30.93]                                                                Yes

08114464                              SOL[2.47618537], TRX[1], USD[0.00]                                                                                                                                                Yes

08114466                              BTC[.02111442], ETH[.042018], ETHW[.202407], GRT[65.285], SOL[9.1391], USD[271.75]

08114469                              CUSDT[1], DOGE[1], ETH[.00000019], ETHW[.00000019], TRX[1], USD[0.00]                                                                                                             Yes

08114483                              BTC[.00001371], MATIC[0.16553991], SOL[0.00001477], USD[0.00]

08114487                              BRZ[1], SHIB[21721713.24421756], TRX[1], USD[0.00]                                                                                                                                Yes

08114493                              LTC[.999], MATIC[79.92], SOL[1.5984], USD[1270.76], USDT[2521.68099]

08114498                              DOGE[.00059209], SHIB[455019.74601911], USD[0.00]

08114510                              USD[27.04]                                                                                                                                                                        Yes

08114512                              CUSDT[1], ETH[.00000058], ETHW[.00000058], USD[0.00]                                                                                                                              Yes

08114520                              BAT[1], BRZ[3], BTC[.05890427], DOGE[6], ETHW[.00002728], GRT[2], MATIC[1.00163891], SHIB[3], SUSHI[1.00145708], TRX[4], UNI[2.04551036], USD[4728.15], USDT[1.01179868]          Yes

08114524                              USD[0.00]

08114532                              TRX[.000003], USDT[0.00058817]

08114533                              USDT[30]

08114536                              BCH[.00379955], BTC[0.00665772], ETH[.0792267], ETHW[.07241385], LINK[10.785585], LTC[.374933], UNI[.882425], USD[89.06], USDT[0]

08114547       Contingent, Disputed   USD[2.15]

08114548                              USD[313.00]

08114553                              LINK[95.45622844], SHIB[36864204.7519251], SOL[21.01426266], TRX[10954.7104955], USD[0.00]                                                                                        Yes

08114556                              USD[14.00]

08114557                              BTC[.00000056], SHIB[1], USD[0.00]                                                                                                                                                Yes
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08114559                              ETH[0], SOL[0], USD[0.00]

08114561                              USD[0.00]                                                                                                                                                                             Yes

08114564                              BAT[1], BRZ[1], DOGE[2], ETH[0], SOL[0], TRX[2], USD[14421.40], USDT[.008159]                                                                                                         Yes

08114566                              USD[0.00], USDT[0]

08114568                              USDT[30]

08114569                              BTC[0], CUSDT[1], ETH[.0000033], ETHW[0.00000329], NFT (393299539692348809/Imola Ticket Stub #1017)[1], SHIB[3], TRX[1], USD[0.00]                                                    Yes

08114571                              SOL[.00091575], USD[0.00]

08114577                              CUSDT[3], ETH[.01250477], ETHW[.01235429], GBP[0.00], USD[0.00]                                                                                                                       Yes

08114579                              USD[1.72]

08114595                              BAT[4.64961928], CUSDT[2], SOL[.07347542], USD[0.00]                                                                                                                                  Yes

08114597                              ETHW[2.28109848], USD[0.56]

08114598                              BRZ[1], CUSDT[2], GRT[.0345341], SHIB[168806.72263076], SOL[1.46810908], SUSHI[54.67893208], TRX[1], USD[0.00]                                                                        Yes

08114602                              USDT[4]

08114609                              ALGO[0], BCH[0], CUSDT[0], DOGE[0], KSHIB[0], MATIC[0], SHIB[6191.25974476], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00], USDT[0], YFI[0]                                             Yes

08114615                              BTC[0], NFT (349291422401577071/Miami Grand Prix 2022 - ID: 6B488246)[1], NFT (454688144786845012/FTX - Off The Grid Miami #5303)[1], USD[17.88]

08114618                              BTC[0.25800617], DOGE[2080.46910611], ETH[-0.00000003], LTC[10.00307634], MATIC[582.78954516], SHIB[51913649.93906748], SOL[20.00061885], TRX[.000067], USD[0.00], USDT[0.00001379]

08114625                              AAVE[.86804241], BRZ[2], BTC[.04446922], CUSDT[17], DOGE[10.12627769], ETH[.73578104], ETHW[.581743], GRT[553.73044514], LINK[72.25332411], LTC[9.25102385], MATIC[104.94016355],     Yes
                                      SHIB[16], SOL[7.75726572], TRX[387.71680604], UNI[3.15289324], USD[1042.36], YFI[.00436423]
08114627                              BTC[.022648], ETH[.10625707], ETHW[.10517676], SOL[2.15339532], USD[0.00]                                                                                                             Yes

08114628                              BTC[0.00000259], ETH[.00094775], ETHW[.00094775], KSHIB[39.962], MATIC[.0005], USD[0.00], USDT[0.00981445]

08114637                              AVAX[29.97], NEAR[437.0625], SHIB[8691300], USD[1087.85]

08114653                              BTC[.00008301], USD[0.00]

08114654                              BTC[0]

08114676                              USDT[30]

08114679                              CUSDT[1], DOGE[2], TRX[1], USD[0.01]

08114680                              BTC[.0073], USD[3.82]

08114681                              AVAX[8.94161378], BTC[.00054845], LINK[1.33832836], LTC[.18994133], USD[0.00]

08114686                              USD[0.01], USDT[0]

08114687                              BRZ[3025.60933887], DOGE[1], USD[0.00]                                                                                                                                                Yes

08114692                              USDT[30]

08114694                              USD[10.00]

08114696                              USDT[2]

08114697                              BAT[2.07055391], BF_POINT[100], BTC[.09030677], SHIB[96845529.37783541], TRX[1], USD[3663.35]                                                                                         Yes

08114705                              ETH[.0005509], ETHW[.0005509], USD[0.00]

08114708                              USD[0.00]

08114710                              BRZ[4.00405912], CUSDT[27], DOGE[100.12622857], KSHIB[1489.64085131], LTC[0], SHIB[132981.31585385], SOL[0.44243385], TRX[7], USD[117.80], USDT[1.00617424]

08114712                              SHIB[91735], USD[0.00], USDT[0]

08114715                              CUSDT[2], DOGE[.00003831], USD[5.01]

08114716                              CUSDT[17], DOGE[.04919073], SHIB[268.49518837], USD[0.00]                                                                                                                             Yes

08114719                              USDT[30]

08114722       Contingent, Disputed   BRZ[1], DOGE[1], GRT[3], SUSHI[1], TRX[1], USD[0.00]

08114723                              USDT[0.00028980]

08114727                              BTC[0.00000287], TRX[1]                                                                                                                                                               Yes

08114728                              USD[108.16]                                                                                                                                                                           Yes

08114732                              ETH[0], SOL[0], TRX[0.00011000], USDT[0]

08114745                              SOL[.29991], USD[43.45]

08114749                              AVAX[0], BTC[0], CUSDT[0], DOGE[0], ETH[0], GRT[0], LINK[0], SHIB[0], SOL[1.31350389], SUSHI[0], USD[0.00]                                                                            Yes

08114753                              TRX[.70332], USD[1.91], USDT[.008828]

08114759                              LINK[.00000001], MATIC[0.00000001]

08114766                              BTC[.00010281], USD[0.00]                                                                                                                                                             Yes

08114771                              CUSDT[1], SHIB[2451043.83041423], USD[0.00]                                                                                                                                           Yes

08114787                              NFT (431890513791420422/Coachella x FTX Weekend 1 #21981)[1]

08114790                              BRZ[1], CUSDT[3], DOGE[1], MATIC[.00056011], TRX[1], USD[277.54]                                                                                                                      Yes

08114800                              BRZ[1], BTC[.00372367], CUSDT[1], ETH[.05270877], ETHW[.05205213], USD[0.88]                                                                                                          Yes

08114813                              USD[19011.41]                                                                                                                                                                         Yes

08114816                              SOL[.00926478], USD[0.00]

08114821                              BTC[.002]

08114826                              BTC[.0258], ETH[.39], ETHW[.39], USD[1.03]

08114834       Contingent, Disputed   SOL[.00002181], USD[0.00], USDT[0]                                                                                                                                                    Yes
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08114841                              USD[0.00]                                                                                                                                                                            Yes

08114844                              USD[0.00]                                                                                                                                                                            Yes

08114850                              USDT[1]

08114851                              USD[0.10]                                                                                                                                                                            Yes

08114853                              DOGE[1], ETH[.02518269], ETHW[.02486805], USD[432.58]                                                                                                                                Yes

08114855                              SHIB[2297700], SOL[.46953], USD[3.51]

08114857                              BRZ[2], CUSDT[6], DOGE[5], ETH[.00000255], ETHW[.27892747], GRT[1], LINK[11.96803493], SHIB[1], TRX[5], USD[222.49], USDT[1.06939765]                                                Yes

08114864                              BAT[.00000001], CUSDT[1], USD[0.01]                                                                                                                                                  Yes

08114876                              BTC[.00088192], CUSDT[1], DOGE[1], ETH[.03263566], ETHW[.03222784], MATIC[19.01805164], SHIB[6], SOL[1.15239615], USD[0.03]                                                          Yes

08114891                              ETH[.000453], ETHW[.000453], USD[0.00]

08114893                              DOGE[434.51856637], SOL[1.12], USDT[.4140272]

08114896                              BTC[2.11575035], ETH[4.17657941], ETHW[4.17535588], SOL[127.11223305]                                                                                                                Yes

08114898                              BAT[1], DOGE[1], ETH[.87249382], ETHW[100.43610224], GRT[1], TRX[1], USD[92222.40]                                                                                                   Yes

08114903                              USD[5.00]

08114909                              BAT[14.25848699], BF_POINT[100], BRZ[1], BTC[.00114638], CUSDT[4], DOGE[60.15803393], ETH[.01937156], ETHW[.01937156], MATIC[10.3125784], SHIB[540686.67207353], SUSHI[3.1807988],
                                      TRX[2], UNI[1.04761578], USD[41.51]
08114914                              BTC[0.01719154], USD[3.27]

08114924                              USD[85.21]

08114929                              CUSDT[1], SHIB[23427281.68517521], TRX[1], USD[0.02]

08114935                              DOGE[1], KSHIB[0], SHIB[2399.15739464], SOL[0], USD[0.00]                                                                                                                            Yes

08114936                              BAT[2.04459527], BRZ[3], BTC[0], CUSDT[4], DOGE[6.00038359], ETH[0], GRT[1], LINK[0], SHIB[1], SOL[10.67740325], SUSHI[.00000843], TRX[8], USD[0.00], USDT[1.07526278]               Yes

08114940                              USDT[1]

08114942                              ALGO[62.70492412], BRZ[2], DOGE[2], LINK[4.05651061], LTC[.71182265], MATIC[2.67562794], SHIB[12812282.70960752], SOL[3.27362072], TRX[7], USD[-20.00]                               Yes

08114952                              USD[0.25], USDT[0.00000001]                                                                                                                                                          Yes

08114954                              BTC[.0417], ETH[.513879], ETHW[.513879], MATIC[300], SOL[4.18], USD[1.89]

08114955                              USD[0.03]

08114961                              MATIC[7.0146713], USD[0.00]                                                                                                                                                          Yes

08114963                              USD[1.08]                                                                                                                                                                            Yes

08114973                              USDT[3]

08114977                              AAVE[.00000079], BAT[1], BCH[.00000003], BRZ[5.06748304], BTC[.01832574], CUSDT[43.23212809], DOGE[2], ETHW[.20771965], GRT[102.30319345], LINK[.00000063], LTC[.50339112],          Yes
                                      MATIC[77.67061711], MKR[.03070294], SHIB[48], SUSHI[.00001901], TRX[74.58618413], USD[0.00], YFI[.00492429]
08114990                              SOL[.00015804]

08114998                              BAT[.00066872], BRZ[2], CUSDT[24.02571801], DAI[.00327623], SHIB[53544411.09917332], TRX[5533.78049014], USD[0.00], USDT[1.07206664]                                                 Yes

08115001                              DOGE[5], ETH[4.02497058], ETHW[4.02328009], USD[213.39], USDT[1.07342305]                                                                                                            Yes

08115006                              USD[0.00]                                                                                                                                                                            Yes

08115009                              CUSDT[2], GRT[310.82663888], MATIC[127.26973886], USD[0.01]

08115020                              CUSDT[1], SHIB[1034340.09102192], USD[0.01]

08115022                              BTC[.00150019], SHIB[14739563.46273727], USD[2.45]

08115025                              BTC[.0005], DOGE[869.81103476]

08115049                              DOGE[2.1510839], NFT (312127447480774038/#1946)[1], SHIB[921.65562373], SOL[.05943038], TRX[3], USD[84.23]                                                                           Yes

08115052                              BTC[0], ETH[0], SOL[.00000001], USD[0.00]

08115054                              BTC[.00696741], CUSDT[1], DOGE[1], ETH[.03159235], ETHW[.03119604], USD[0.00]                                                                                                        Yes

08115056                              BTC[0], ETH[.0000008], ETHW[.0000008], USD[0.35]

08115067                              USD[10.00]

08115068                              USD[0.00], USDT[54.62980700]

08115069                              DOGE[1], SHIB[1], SOL[.00000001], USD[0.00]

08115073                              DOGE[894], USD[0.89]

08115092                              USD[1.08]                                                                                                                                                                            Yes

08115102                              USD[0.00]

08115105                              LINK[1.63427352], TRX[1], USD[5.01]

08115108                              USD[842.44]

08115130                              CUSDT[9], DOGE[0], MATIC[0], SHIB[1], SOL[0], TRX[0], USD[0.00]                                                                                                                      Yes

08115132                              USD[50.00]

08115141                              BF_POINT[200], NFT (292031745638274642/Warriors 75th Anniversary Icon Edition Diamond #745)[1]                                                                                       Yes

08115142       Contingent, Disputed   BTC[.00003846], ETH[.00000001], USD[0.00], USDT[0]                                                                                                                                   Yes

08115152                              CUSDT[5], USD[0.00], USDT[0], YFI[0]                                                                                                                                                 Yes

08115155                              USD[0.00]

08115169                              USD[2.00]

08115174                              SOL[4.99]

08115175                              TRX[1], USD[0.01]                                                                                                                                                                    Yes
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08115179                           SHIB[12110834.07183715], TRX[1], USD[0.01]                                                                                                                                            Yes

08115189                           BTC[.00183414], CUSDT[1], USD[0.00]                                                                                                                                                   Yes

08115197                           USD[6.00]

08115199                           CUSDT[3], TRX[198.91478503], USD[0.00], USDT[0]                                                                                                                                       Yes

08115214                           BTC[0], ETH[0], KSHIB[0], USD[0.02]

08115217                           CUSDT[1], SHIB[1034126.16339193], USD[0.01]

08115219                           USDT[5]

08115228                           USD[1.08]                                                                                                                                                                             Yes

08115229                           CUSDT[6], DOGE[136.72418121], KSHIB[2074.7021178], SHIB[1], TRX[61.16242993], USD[0.30]                                                                                               Yes

08115234                           CUSDT[1], TRX[2], USD[0.00]                                                                                                                                                           Yes

08115236                           USD[3.00]

08115239                           AAVE[.06318022], SHIB[1], USD[0.00]                                                                                                                                                   Yes

08115244                           BTC[.0009], NFT (379153765707149680/Cal Bears Super Oski Scavenger Hunt #15)[1]

08115252                           ETHW[.996003], USD[1417.85]

08115255                           USD[21.51]                                                                                                                                                                            Yes

08115267                           CUSDT[2], DOGE[1], SOL[1.08975125], USD[324.92]                                                                                                                                       Yes

08115283                           ETH[0], ETHW[0], SOL[0]

08115284                           CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                          Yes

08115286                           AVAX[0], ETH[0], ETHW[0], NFT (311171669975629789/MagicEden Vaults)[1], NFT (314156369897629351/MagicEden Vaults)[1], NFT (374328970852059006/FTX Cap)[1], NFT
                                   (379466810611157438/Night Light #218 (Redeemed))[1], NFT (418659284300636722/2974 Floyd Norman - OKC 6-0200)[1], NFT (431540642100593763/MagicEden Vaults)[1], NFT
                                   (458335436992086975/Cosmic Creations #345 (Redeemed))[1], NFT (458504221446366915/MagicEden Vaults)[1], NFT (462100359224905370/Sun Set #291 (Redeemed))[1], NFT
                                   (471438924830820704/FTX Cap)[1], NFT (480507298031210933/Vintage Sahara #380)[1], NFT (498179361437676169/Ferris From Afar #502 (Redeemed))[1], NFT (500828929536330502/Vintage
                                   Sahara #333 (Redeemed))[1], NFT (523122348249895357/Reflection '07 #32 (Redeemed))[1], NFT (532751228805876798/Banana Boost)[1], NFT (537158399631126199/Sun Set #498)[1], NFT
                                   (543512438935711134/MagicEden Vaults)[1], NFT (566337660900334641/Birthday Cake #0747)[1], SOL[0], USD[0.00]
08115289                           USD[6.00]

08115296                           CUSDT[1], DOGE[1], USD[0.00]

08115303                           USD[20.00]

08115315                           USDT[2]

08115316                           BRZ[1], USD[27.14]                                                                                                                                                                    Yes

08115320                           USD[0.00], USDT[989.14]

08115326                           USDT[2]

08115333                           USD[500.01]

08115341                           CUSDT[1], KSHIB[1010.68337243], USD[0.01]                                                                                                                                             Yes

08115345                           USDT[2]

08115347                           SOL[.0000009], USD[0.01]

08115352                           USD[2.00]

08115358                           USD[10.43]                                                                                                                                                                            Yes

08115361                           USD[50.31]

08115362                           BTC[.00052723], ETH[0.00490822], ETHW[0.00485350], KSHIB[0], SOL[0.09982087], USD[0.00]                                                                                               Yes

08115363                           USD[4.00]

08115365                           ETH[0], USD[0.00]                                                                                                                                                                     Yes

08115370                           USDT[13]

08115372                           BTC[0], USD[0.00]

08115377                           BTC[.0035], ETH[.0785], ETHW[.0785], GRT[173], MATIC[70], USD[0.01], USDT[0]

08115378                           NFT (289750975123419543/The Tower #282-3)[1], NFT (305932380375452403/Bold Badger #9571)[1], NFT (311614339156684727/Danerob Collection #2119)[1], NFT (312464925330937898/Fancy       Yes
                                   Frenchies #8379)[1], NFT (314685852419485588/SolPunk #6498)[1], NFT (321775845228197931/Danerob Collection #2306)[1], NFT (323529766152291418/MagicEden Vaults)[1], NFT
                                   (323956275969266854/Bold Badger #9896)[1], NFT (352164673048832772/Melania's Vision)[1], NFT (363888271785085042/Octopus #580)[1], NFT (369740301002863903/Danerob Collection
                                   #2357)[1], NFT (370454723915915991/Fancy Frenchies #5735)[1], NFT (373687613364878897/MagicEden Vaults)[1], NFT (378089535058096751/FTX - Off The Grid Miami #4044)[1], NFT
                                   (404958875220498294/Fancy Frenchies #1714)[1], NFT (406553443417092287/Bold Badger #387)[1], NFT (407384534796489928/MagicEden Vaults)[1], NFT (418670728024541765/Danerob Collection
                                   #2100)[1], NFT (429835622667178137/Fancy Frenchies #7740)[1], NFT (434054498327975815/Danerob Collection #296)[1], NFT (436269398098882050/Fancy Frenchies #6231)[1], NFT
                                   (445060597200902330/Bold Badger #782)[1], NFT (455592641574835950/Danerob Collection #2089)[1], NFT (461976641768499974/Danerob Collection #2126)[1], NFT (464085610680928884/Fancy
                                   Frenchies #6268)[1], NFT (473125517729499330/Danerob Collection #408)[1], NFT (490465159688045883/Danerob Collection #2298)[1], NFT (490835477382549297/Fancy Frenchies #1794)[1], NFT
                                   (497316056200172402/Danerob Collection #2683)[1], NFT (501286673479971201/MagicEden Vaults)[1], NFT (509561235192313382/Fancy Frenchies #3452)[1], NFT (516332043205863433/MagicEden
                                   Vaults)[1], NFT (521587034203134395/Fancy Frenchies #4552)[1], NFT (537669895027371580/Danerob Collection #1963)[1], NFT (550034530129572830/SolPunks Upgrade Coin)[1], NFT
                                   (560953502391192709/Fancy Frenchies #2564)[1], NFT (567095211327427977/Fancy Frenchies #9351)[1], NFT (569383185221903961/Danerob Collection #2093)[1], NFT
                                   (573631449026909323/Danerob Collection #822)[1], USD[0.06]

08115382                           BTC[.0212787], ETH[.238761], ETHW[.238761], LTC[5.16483], SHIB[8291700], SOL[4.55544], USD[692.52]

08115386                           USD[0.00]

08115388                           USD[1240.13]                                                                                                                                                                          Yes

08115390                           USDT[2]

08115397                           USDT[3]

08115399                           DOGE[1], USDT[0]                                                                                                                                                                      Yes

08115400                           ALGO[0], USD[141.06]                                                                                                                                                                  Yes

08115406                           USDT[4]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08115410                           USDT[30]

08115412                           LINK[0], MATIC[0], USD[0.04]                                                                                                                                              Yes

08115416                           USDT[1]

08115418                           BF_POINT[300], DOGE[1], ETH[.00002369], ETHW[3.05597568], NFT (536425899144095716/Coachella x FTX Weekend 1 #12503)[1], USD[0.02]                                         Yes

08115424                           USD[1.00]

08115425                           EUR[0.00], USD[0.00]

08115426                           USDT[30]

08115428                           USD[100.00]

08115435                           USDT[3]

08115440                           USD[3.00]

08115441                           USD[0.00]

08115442                           BF_POINT[300], BTC[0], ETH[0], ETHW[0], SOL[0], USD[0.12]                                                                                                                 Yes

08115445                           USDT[2]

08115451                           CUSDT[3], ETH[.01441659], ETHW[.01441659], SOL[.09219058], USD[7.52]

08115452                           USD[10.82]                                                                                                                                                                Yes

08115453                           CUSDT[322.90265682], SHIB[1], SOL[.0947904], USD[0.00]                                                                                                                    Yes

08115457                           BTC[0], USD[0.07]

08115461                           USD[100.00]

08115471                           DOGE[40.98371589]                                                                                                                                                         Yes

08115490                           NFT (495617574031467512/Australia Ticket Stub #1267)[1]

08115519                           NFT (420872438318314020/Scoogi #1210)[1]

08115529                           USDT[1.07997756]                                                                                                                                                          Yes

08115537                           USD[0.00]

08115541                           NFT (534504326085369367/Microphone #4895)[1]

08115553                           BTC[0], CUSDT[1], SHIB[1], SOL[0]

08115570                           USD[20.00]

08115576                           BTC[0], KSHIB[2.90295232], SHIB[5], USD[0.00], USDT[0.00000012]                                                                                                           Yes

08115578                           ETH[.00000001]                                                                                                                                                            Yes

08115584                           BCH[0], BTC[0], CUSDT[0], ETH[0], SHIB[1011.6944147], SOL[0], TRX[0]                                                                                                      Yes

08115605                           ETH[.07499655], ETHW[.07499655], SOL[.21], USD[0.00], USDT[0.00001441]

08115608                           CUSDT[2], DOGE[1], TRX[3], USD[0.00]

08115624                           BTC[.00000003]                                                                                                                                                            Yes

08115638                           USD[0.00]                                                                                                                                                                 Yes

08115648                           BTC[.00000001], USD[0.15]                                                                                                                                                 Yes

08115650                           ETHW[.0048198], USD[7.04]                                                                                                                                                 Yes

08115651                           ETH[0], KSHIB[7.08754145], TRX[0], USD[0.00]

08115653                           TRX[3], USD[0.00], USDT[1.08151724]                                                                                                                                       Yes

08115679                           BAT[2], BRZ[5], SHIB[158.26484018], TRX[9], USD[0.00]                                                                                                                     Yes

08115690                           ETH[.0043315], ETHW[0.00433150]

08115700                           NFT (386309865671654596/Scoogi #5944)[1], NFT (517836033487874704/Scoogi #5946)[1]

08115704                           CUSDT[4], DOGE[97.07269158], KSHIB[697.23830073], NFT (489623865314775605/Tim Brown's Playbook: New York Jets vs. Oakland Raiders - December 2, 2002 #64)[1], USD[0.00]   Yes

08115712                           USD[0.25]

08115720                           GRT[1], USD[0.00], USDT[0.00000001]                                                                                                                                       Yes

08115731                           NFT (310806727948896429/The Hill by FTX #5387)[1]                                                                                                                         Yes

08115735                           CUSDT[3], ETH[.01362235], ETHW[.01345819], TRX[42.10970974], USD[1.09]                                                                                                    Yes

08115740                           USD[250.00]

08115749                           CUSDT[2], DOGE[3], EUR[0.00], SHIB[4], TRX[2], USD[0.00], USDT[0]                                                                                                         Yes

08115750                           USD[150.00]

08115751                           TRX[1], USD[0.15]                                                                                                                                                         Yes

08115755                           BAT[93.906], SHIB[1798600], USD[0.40], USDT[0.00000001]

08115758                           BAT[0], BRZ[0], BTC[0], CUSDT[0], GRT[0], KSHIB[3583.12562863], SHIB[2514047.31518004], SOL[0], TRX[1], USD[0.00]                                                         Yes

08115760                           CUSDT[2], USD[0.00]

08115767                           CUSDT[3], DOGE[0], NFT (317861004322668640/Romeo #1293)[1], SHIB[1], SOL[0], USD[0.00]                                                                                    Yes

08115785                           CUSDT[1], TRX[1], USD[0.43], YFI[.00000001]                                                                                                                               Yes

08115791                           ETH[.001], ETHW[.001], NFT (389206512495273655/Imola Ticket Stub #656)[1], TRX[.000016], USDT[.3623608]

08115794                           NFT (382241459616128250/Banana Boost)[1], NFT (400354245369979206/FTX Cap)[1]

08115798                           BTC[0], USD[0.75], USDT[.40875]

08115826                           CUSDT[1], DOGE[231.58352267], USD[0.01]                                                                                                                                   Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08115834                              USD[350.00]

08115846                              BTC[.00016842], USD[0.00]                                                                                                                                      Yes

08115849                              AVAX[116.08724873], ETHW[3.3168654], LINK[89.04719501], SOL[.00000001], USD[5885.46]

08115854                              CUSDT[1], SHIB[3181514.74524276], USD[0.00]                                                                                                                    Yes

08115869                              DOGE[.00000001], SHIB[17240.72742616], USD[0.00]

08115875                              BTC[.00000661], USD[0.00]

08115877                              USD[108.16]                                                                                                                                                    Yes

08115886       Contingent, Disputed   ETH[0], SOL[0], USD[6.65]

08115887                              USD[0.01]

08115888                              CUSDT[5], DOGE[1.50826109], ETH[.01368705], ETHW[.01352289], SHIB[3324013.59834657], TRX[1], USD[0.00]                                                         Yes

08115905                              KSHIB[217.60389389], USD[0.00]                                                                                                                                 Yes

08115908                              DOGE[93.04062939], ETH[.01286424], ETHW[0.01286423], LTC[.11356958]

08115909                              ETH[.00226805], ETHW[.00224069], USD[0.00]                                                                                                                     Yes

08115914                              CUSDT[1], USD[0.01]                                                                                                                                            Yes

08115919                              DOGE[1], USD[0.00]

08115920                              USD[0.00]

08115926                              DOGE[.00568158], ETH[0.10168430], ETHW[0.10063952], MATIC[.0004231], SHIB[5.55514586], SOL[.00000186], TRX[1], UNI[4.89832306], USD[5.44], USDT[69.72216140]   Yes

08115941                              AVAX[.12902023], BTC[.00032961], GBP[0.00], MATIC[0], SOL[.19129634], USD[0.00], USDT[0.00000001]                                                              Yes

08115949                              BTC[0.00000283]

08115954                              ETH[.01421725], ETHW[0.01403941], SHIB[7072913.75099153]                                                                                                       Yes

08115964                              BTC[.00376849]                                                                                                                                                 Yes

08115965                              SOL[19.254463]                                                                                                                                                 Yes

08115966                              USD[500.01]

08115970                              SHIB[1107419.71207088]

08115995                              USD[10.00]

08115999       Contingent,            AVAX[77.0608], BTC[.00030538], DOGE[.25], MATIC[.273], SOL[.004863], USD[44242.35]
               Unliquidated
08116000                              USD[21.63]                                                                                                                                                     Yes

08116005                              ETH[.002373], ETHW[.00234564], USD[0.01]                                                                                                                       Yes

08116039                              BRZ[1], SOL[1.05011327], USD[0.00]                                                                                                                             Yes

08116049                              DOGE[1], SHIB[2206531.33274492], USD[0.00]

08116066                              USD[10.00]

08116067                              USD[1.00]

08116068                              BTC[.1715], USD[19.24]

08116082                              BAT[2.0575344], BRZ[1], BTC[.0062051], CUSDT[3], GRT[2.0013521], LTC[.00002618], TRX[2], USD[0.88]                                                             Yes

08116083                              CUSDT[3], KSHIB[2844.37212791], SHIB[2990232.08801086], USD[0.00]                                                                                              Yes

08116084                              USD[2.21]

08116087                              ETH[0], NEAR[0], SOL[0], TRX[.000777], USD[0.00], USDT[0]

08116093                              BRZ[1], BTC[.0576313], CUSDT[2], DOGE[2], ETH[1.92781064], ETHW[1.92700101], GRT[2.02282303], TRX[4], USD[2332.04]

08116098                              BRZ[1], SHIB[1084637.31334801], USD[0.00]                                                                                                                      Yes

08116100                              AVAX[1.13558354], BRZ[1], CUSDT[20], DOGE[7.00038359], ETHW[.3018056], SHIB[3], TRX[3], USD[852.61], USDT[0.02707921]

08116109                              USD[5.41]                                                                                                                                                      Yes

08116112                              SOL[.0071391], USD[0.02]

08116130                              USD[12.55]

08116135                              SHIB[1500000], USD[0.89]

08116138                              AAVE[0], AVAX[0], BAT[0], ETH[0], LINK[0], LTC[0], SOL[0], USD[0.00], USDT[0]                                                                                  Yes

08116154                              USD[1.94]

08116168                              ETH[.0000102], ETHW[.0000102], SOL[.00018336]                                                                                                                  Yes

08116169                              BTC[.00000004]

08116170                              BAT[.00000346], CUSDT[2], SHIB[1], SOL[.04935762], USD[75.35], YFI[0]                                                                                          Yes

08116193                              BRZ[1], USD[0.01], USDT[0]

08116197                              SHIB[12900000], USD[2.73]

08116199       Contingent, Disputed   SOL[.00001028], TRX[.00152586], USD[0.00]                                                                                                                      Yes

08116213                              SOL[.00163299], USD[0.00]

08116214                              USD[24.09]

08116218                              BTC[.00084624]

08116219                              ETH[.016], ETHW[.016], SOL[.00447707], USD[24.89]

08116227                              BTC[.00109108], DOGE[2], USD[0.00]                                                                                                                             Yes

08116231                              EUR[0.89]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08116235                              ETH[0.00700000], SOL[0.00472699], USD[0.29]

08116242                              ETH[.00000001], ETHW[0], USD[0.00], USDT[0]

08116245                              USD[62.61]

08116266                              SOL[.07905605], USD[0.00]

08116268                              USD[0.00]

08116272                              BAT[1], BRZ[3], CUSDT[1], DOGE[4], SHIB[7], TRX[3.000119], USD[0.00], USDT[0.00000001]

08116280                              USD[21.85]                                                                                                                                                                         Yes

08116281                              USD[3.36]

08116285                              USD[0.00]

08116286                              BTC[.00753388], ETH[.08206041], USD[0.00]

08116289                              ALGO[0], BTC[0], CUSDT[0], ETH[0], SOL[0], USD[172.51], USDT[0]                                                                                                                    Yes

08116290                              BTC[.12243379]

08116291                              USD[0.01]

08116293                              DOGE[28.31600205], ETH[.00154336], ETHW[.00154336], USD[7.02]

08116309                              USD[16.22]                                                                                                                                                                         Yes

08116311                              USD[1.81]

08116315                              CUSDT[2], USD[20.90]                                                                                                                                                               Yes

08116323       Contingent, Disputed   USD[0.00]                                                                                                                                                                          Yes

08116325                              CUSDT[3], TRX[1.650127], USD[0.32]                                                                                                                                                 Yes

08116334                              CUSDT[1], SOL[.1190051], USD[0.00]                                                                                                                                                 Yes

08116343                              BRZ[1], CUSDT[4], DOGE[.00195098], NFT (340005530566102856/#5885)[1], NFT (372101444386649369/ApexDucks #7622)[1], NFT (377627855780210089/LightPunk #382)[1], SHIB[2],            Yes
                                      SOL[.10511612], TRX[3], USD[0.00]
08116344                              BRZ[1], CUSDT[37.99433203], DOGE[4], SOL[2.6449953], TRX[5], USD[0.02]                                                                                                             Yes

08116345                              USD[20.00]

08116347                              ETH[0.01080884]

08116351                              USD[20.01]

08116354                              DOGE[1], USD[0.00]

08116356                              NFT (353490525720250267/NFTBro)[1], NFT (376321617402513042/Saudi Arabia Ticket Stub #118)[1], SOL[.02982011], USDT[0.00000126]

08116357                              BAT[76.98469794], BRZ[3], BTC[.08654994], CUSDT[7], DOGE[4358.05750945], ETH[1.13032476], ETHW[1.12985004], MATIC[249.61799377], SHIB[17151981.78902551], SOL[19.35603965], TRX[6], Yes
                                      UNI[48.16479796], USD[4063.20]
08116363                              BTC[0], DOGE[224.57522588], ETH[0.34840837], ETHW[2.55750954], MATIC[149.71288726], SHIB[32], TRX[4], USD[0.00], USDT[0.00000005]                                                   Yes

08116368                              USD[55.99]

08116373                              CUSDT[1], SHIB[1157693.23206005], USD[0.00]

08116390                              USD[21.51]                                                                                                                                                                         Yes

08116391       Contingent, Disputed   ETH[.000926], ETHW[.000926], USD[0.01]

08116401                              ETH[.12288315], ETHW[.12288315], SOL[5.08459306], USD[4.32]

08116405                              SOL[2.67969733], USD[0.01]

08116411       Contingent, Disputed   ALGO[23.14897802], AVAX[2.0720228], BTC[.00349739], DOGE[366.58969177], GRT[81.26031153], LTC[2.0852], TRX[94.80802606]                                                            Yes

08116412                              BRZ[2], CUSDT[3], DOGE[3], SUSHI[0], USD[0.00]

08116421                              CUSDT[2], NFT (426688729175862602/SolBunnies #1901)[1], NFT (467786155573990743/SolBunnies #755)[1], NFT (546656648782485079/SolBunnies #3181)[1], NFT                             Yes
                                      (557500271663419109/SolBunnies #1024)[1], SHIB[312545.07391539], SOL[.01352959], USD[0.00]
08116425                              USD[400.00]

08116430                              USD[10.00]

08116438                              NEAR[3.7643997], SHIB[1], USD[0.00]

08116459                              SHIB[1], SOL[1.02007592], USD[0.00]                                                                                                                                                Yes

08116461                              BRZ[1], BTC[.03297245], CUSDT[1], DOGE[1], GRT[1.00019173], SOL[7.76919878], USD[0.02]                                                                                             Yes

08116463                              DAI[4.97099553], USD[0.00], USDT[4.97104307]

08116475       Contingent, Disputed   DOGE[0], USD[0.00]

08116485                              USD[21.09]

08116491                              MATIC[20.21517084], SOL[.08], USD[0.00]

08116494                              BTC[0.00000201], ETH[0.00091662], ETHW[1.70091662], MATIC[1923.8727], SUSHI[.05], USD[12777.00], USDT[0.01980373]

08116502                              SUSHI[19], USDT[2.240158]

08116504                              ETH[.00000001], MATIC[0], USD[0.00], USDT[0]

08116505                              USD[5.68]

08116519                              BRZ[1], CUSDT[5], DOGE[1268.23003428], SHIB[6127104.10498693], SOL[4.74449002], TRX[5], USD[0.00], USDT[103.97375489]                                                              Yes

08116522                              DAI[0], USD[0.81]                                                                                                                                                                  Yes

08116525                              ETH[.001], ETHW[12.97927]

08116532                              USD[0.00], USDT[0.00000169]

08116534                              USD[0.00]                                                                                                                                                                          Yes

08116540                              NFT (306422810286199545/SBF Hair & Signature #6 #17)[1], NFT (438455238984376285/SBF Hair & Signature #4 #82)[1], NFT (473314391224636097/SBF Hair & Signature #5 #33)[1]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08116542                              USD[16.22]                                                                                                                                                                             Yes

08116552                              SOL[.003028], USD[0.32]

08116554                              SOL[.05], USD[0.24]

08116557                              SOL[.01], USD[0.49]

08116560                              USD[1.00]

08116561                              BAT[18.50241578], BRZ[1], CUSDT[58.43354015], DOGE[14.81084489], ETH[.03515485], ETHW[.03471709], GRT[38.74533933], KSHIB[475.17282327], LTC[.04892533], MATIC[2.68158116],            Yes
                                      SHIB[3805959.24230356], SOL[.86714383], SUSHI[1.3134907], TRX[26.35539197], USD[0.00]
08116565                              USD[20.00]

08116570                              USD[6.45]

08116605                              USD[0.01]                                                                                                                                                                              Yes

08116608                              BRZ[2], BTC[0.00000009], CUSDT[2], DOGE[1], SHIB[1], TRX[3], USD[0.11], USDT[0.00000104]                                                                                               Yes

08116619                              SOL[0], USD[0.00], USDT[0]

08116621                              ETH[.00126235], ETHW[.00124867], TRX[1], USD[0.00]                                                                                                                                     Yes

08116635                              BTC[.00005868], USD[0.00]

08116641                              CUSDT[2], DOGE[1], ETH[.00000002], ETHW[.00000002], MATIC[0.00004901], SHIB[0], USD[0.01]                                                                                              Yes

08116647                              USDT[0.00000001]

08116659                              BAT[0], SOL[0], USD[0.77], USDT[0]                                                                                                                                                     Yes

08116672                              NFT (561387694603486994/NFT BZL 2021 #214)[1]                                                                                                                                          Yes

08116673                              CUSDT[1], USD[0.00]

08116677                              USD[10595.00]

08116678                              USD[0.00]                                                                                                                                                                              Yes

08116680                              USD[108.15]                                                                                                                                                                            Yes

08116683                              USDT[0]

08116686                              SOL[2.48751], USD[2.00]

08116688       Contingent,            BTC[0.00000552], DOGE[.883], ETH[3.70283381], ETHW[3.70376717], USD[0.01]
               Unliquidated
08116693                              USD[0.00]                                                                                                                                                                              Yes

08116699                              USD[0.00]

08116702                              USD[0.00], USDT[0.00017626]

08116703                              LTC[.5], MATIC[159.84], USD[270.50]

08116709                              SHIB[1727851.81127096], USD[0.00]

08116711                              BF_POINT[300], BTC[.00006023], CUSDT[1], ETH[0.00054543], TRX[2], USD[0.99]

08116712                              NFT (480208307082437285/Hall of Fantasy League #360)[1], USD[10.00]

08116714                              USD[3.16]

08116715                              DOGE[1], USD[0.01]

08116722                              NFT (295294031818330886/olo)[1], USD[0.55]

08116725                              USD[0.01], USDT[0]

08116731                              SHIB[.00001945], USD[0.01]                                                                                                                                                             Yes

08116741                              DOGE[45.48607144], SHIB[235921.45087247], SOL[.04770972], TRX[1], USD[0.00]                                                                                                            Yes

08116747                              BRZ[1], BTC[0], CUSDT[3], ETH[0], SOL[0], TRX[1]                                                                                                                                       Yes

08116751                              BTC[0], USD[92425.71]                                                                                                                                                                                   USD[92362.45]

08116763                              BTC[.00008781], ETHW[.00018963], USD[514.20], USDT[0]

08116771                              USD[20.00]

08116774                              USD[0.93]

08116779                              SOL[.0006965], USD[0.00]

08116781                              BAT[.00004355], BRZ[.00076649], CUSDT[.00168067], DAI[.00004549], DOGE[.00019998], NFT (539412402210409251/Shannon Sharpe's Playbook: Baltimore Ravens vs. Oakland Raiders - January   Yes
                                      14, 2001 #92)[1], SHIB[1.01450347], TRX[.00044155], UNI[.00000976], USD[0.91]
08116795                              BTC[0.00329189], USD[2.93]

08116803       Contingent, Disputed   USD[0.00], USDT[95.30930061]

08116804                              ETH[.00479804], ETHW[.00479804], USD[0.00], USDT[0.00002519]

08116808                              BTC[.04765574], DOGE[2947.80932203], ETH[.44446481], ETHW[.44427805], LTC[1.65312168], SHIB[12.01477674], USD[0.41], USDT[0]                                                           Yes

08116812                              SOL[0]

08116813                              USD[0.00]

08116814                              NFT (328625144035233796/Little Rocks #1521)[1]

08116818                              USD[80.00]

08116819                              USD[100.00]

08116824                              BTC[.04474527], DOGE[2322.28183242], ETH[.1952355], ETHW[.1952355], SHIB[8689943.99980772], SOL[2.43084696], USD[0.00]

08116829                              CUSDT[3], ETH[.00310427], ETHW[.00306323], MATIC[16.72270566], TRX[0], USD[0.00]                                                                                                       Yes

08116830                              NFT (523487137665297247/FTX - Off The Grid Miami #2797)[1]

08116837                              BAT[2.817], BCH[.001457], BTC[0.00615559], DOGE[.7], GRT[.956], LINK[.1927], MATIC[29.87], MKR[.000978], SHIB[4879500], SUSHI[.4925], UNI[.0941], USD[65.49], YFI[.00399]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08116839                              NEAR[1.00243251], USD[0.00], USDT[0]                                                                                                                                            Yes

08116846                              USD[553.90]

08116848                              AVAX[1.04547322], CUSDT[2], DOGE[2], SHIB[3], SOL[6.04388413], TRX[2], USD[0.00]                                                                                                Yes

08116850                              SOL[.99905], USD[0.97]

08116851                              USD[20.00]

08116862                              CUSDT[1], MATIC[29.21207388], USD[0.01]

08116877                              NFT (383264285931190361/Coachella x FTX Weekend 2 #5466)[1]

08116881                              SOL[5.60108749], USD[0.00]

08116885                              BTC[.00012983], CUSDT[1], DOGE[1], SOL[0], TRX[1], USDT[0.72070881]

08116886                              USD[0.01]                                                                                                                                                                       Yes

08116887                              SOL[200.39337016]

08116888                              BRZ[17.99970765], CUSDT[1], ETH[.01950166], ETHW[.01925542], USD[2.65]                                                                                                          Yes

08116890                              SHIB[6], USD[1375.94], USDT[0.00000001]                                                                                                                                         Yes

08116905                              BTC[.00755395], CUSDT[742.97820961], DOGE[1], ETH[.1050162], ETHW[.10394663], SHIB[1], SOL[.8446207], TRX[202.08418298], USD[552.26]                                            Yes

08116910                              BAT[1], BRZ[2], BTC[0.05243313], CUSDT[6], DOGE[7.00057537], ETHW[.5636546], LTC[.00001943], SHIB[8], TRX[7], USD[904.16]                                                       Yes

08116924                              BTC[.0009]

08116929                              NFT (328983419551391998/Rato number five #2)[1], NFT (350751365412985672/Little Rocks #1523)[1], NFT (505781408236358029/Rato number five)[1], SOL[1.6341]

08116934       Contingent, Disputed   BTC[.0009]

08116938                              ETH[0], NFT (295475926766645525/90's #81)[1], NFT (372177538117631346/90's #212)[1], NFT (402742903461714982/90's)[1], NFT (418328372800005758/90's #210)[1], SOL[0.08085272]

08116949                              BAT[0], USD[70.51]                                                                                                                                                              Yes

08116954                              BTC[.00034103], CUSDT[1], USD[0.00]                                                                                                                                             Yes

08116958                              ALGO[.06130573], GRT[.07498468], LINK[.00338284], SHIB[1], SOL[.00096715], USD[0.00]

08116961                              DOGE[2], SHIB[19], TRX[1], USD[0.00]                                                                                                                                            Yes

08116967                              CUSDT[6], DOGE[600.65081596], MATIC[45.69680216], SHIB[1], SOL[.14147237], TRX[2], USD[0.00]                                                                                    Yes

08116968                              SOL[.00000001], USD[0.00], USDT[1.08147772]                                                                                                                                     Yes

08116973                              USD[20.25]                                                                                                                                                                      Yes

08116988                              NFT (346955990436325978/ApexDucks #3134)[1], NFT (364792430760270358/Gloom Punk #4768)[1], USD[158.48], USDT[0.00000001]                                                        Yes

08117002                              USD[0.00], USDT[0]

08117004                              USD[0.04]

08117013                              ETH[1.23], ETHW[1.23], SOL[70]

08117015                              ETH[.09676364], ETHW[.09676364], MATIC[180.96092547], USD[200.01]

08117019                              CUSDT[1], KSHIB[383.43590715], USD[0.03]                                                                                                                                        Yes

08117022                              BTC[.00030046], USD[0.00], USDT[0]

08117024                              SOL[2.13786], TRX[.000001], USD[100.08], USDT[2.09880000]

08117043                              ETH[1.23], ETHW[1.23], SOL[70]

08117051                              SHIB[2000000], USD[0.00], USDT[0.00014512]

08117067                              SHIB[2], TRX[1], USD[0.00]                                                                                                                                                      Yes

08117068                              BAT[2.06952585], BTC[.11076854], ETH[.76930997], ETHW[.76898695], SOL[10.82851571], TRX[1], USD[20.22]                                                                          Yes

08117071                              DOGE[1], LINK[2.68002313], SOL[1.8645187], TRX[1], USD[0.00]                                                                                                                    Yes

08117078                              USD[0.00]                                                                                                                                                                       Yes

08117082                              BTC[0], ETHW[.048], SHIB[100000], USD[0.00]

08117099                              USD[0.01]

08117100                              USD[50.01]

08117110                              CUSDT[1], DOGE[2], GRT[2], TRX[2], USD[0.00]

08117121                              SHIB[500000], USD[3.29]

08117125                              ETH[.00004899], ETHW[.00004899], SOL[0], USD[0.00]                                                                                                                              Yes

08117126                              ETH[0], ETHW[0], SOL[.00000001], USD[0.00]

08117127                              MATIC[5.33981776], USD[0.37]                                                                                                                                                    Yes

08117131                              ETH[0.00007540], SOL[0.00012699], TRX[1], USD[0.00], USDT[0.00516487]                                                                                                           Yes

08117136                              USD[20.00]

08117140                              DOGE[77.53526573], ETH[0.00361193], ETHW[0.00357089], EUR[0.00], USD[0.00]                                                                                                      Yes

08117141                              SHIB[2200000], USD[2.28]

08117154                              USD[0.02]

08117168                              USDT[16.812471]

08117202                              NFT (315544441559004824/SBF Hair & Signature #5 #30)[1], NFT (362397702102506870/SBF Hair & Signature #6 #3)[1], NFT (477094421023900163/SBF Hair & Signature #4 #54)[1]

08117205                              ALGO[127.84553109], AVAX[3.82804467], BTC[.02541203], DOGE[1], ETH[.00000086], ETHW[.00000086], MATIC[79.74188416], SHIB[1], SOL[3.6561371], USD[16941.47]                      Yes

08117209                              USD[1.62]                                                                                                                                                                       Yes

08117210                              NFT (292325947834971989/Cal Bears Super Oski Scavenger Hunt #65)[1]
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08117216                              USD[0.00], USDT[0]

08117219                              ETH[0], USD[0.01], USDT[0]

08117222                              BRZ[2], BTC[.01508973], CUSDT[10], DOGE[748.78534129], ETH[.05402918], ETHW[.05335886], MATIC[61.27380165], SHIB[5693553.43294578], SOL[2.59993435], TRX[7], USD[125.17], USDT[0]      Yes

08117229                              BTC[.00165457], USD[0.00]

08117234                              BAT[34.96675], LINK[.699335], PAXG[0.02767368], SHIB[1098955], SOL[.5694585], USD[236.01]

08117242                              NFT (530095608139245820/Warsaw Cat)[1], SOL[.004]

08117243                              USD[21.63]                                                                                                                                                                             Yes

08117255                              CUSDT[3], DOGE[1], SHIB[6560084.31352998], USD[0.01]                                                                                                                                   Yes

08117262                              BTC[.00883606], ETH[.09645814], ETHW[.09542334]                                                                                                                                        Yes

08117264                              BCH[.00000055], BTC[0.00000570], CUSDT[6], DOGE[1.00000755], ETH[0.00002073], ETHW[0.00002073], SOL[0.65807509], TRX[1], USD[0.35]                                                     Yes

08117267                              SOL[.00000001]

08117269                              USD[300.00]

08117282                              CUSDT[1], SHIB[1931620.62970832], USD[10.00]

08117286                              DAI[.99253629], USD[0.00]

08117287                              USD[200.00]

08117290                              NFT (311428868712952150/SBF Hair & Signature #6 #6)[1], NFT (434366571687473884/Sunbitset)[1], NFT (554955731964071859/SBF Hair & Signature #5 #23)[1]

08117295                              USD[20.00]

08117297                              NFT (530647252214194113/SBF Hair & Signature #6 #7)[1]

08117302                              AAVE[.37521791], BRZ[1], BTC[.00514831], CUSDT[2], DOGE[1], ETH[.07318579], ETHW[.07318579], LINK[5.49946583], SUSHI[16.57275591], TRX[1], USD[0.00]

08117304                              DOGE[1], SHIB[2238638.90754421], USD[0.00]

08117306                              CUSDT[3], DOGE[457.68448393], ETH[.04966049], ETHW[.04904489], LINK[7.48412677], USD[0.00]                                                                                             Yes

08117312                              DOGE[1.04246491], SOL[2.49155279], USD[0.00]

08117327                              ALGO[0], BAT[0], BCH[0], BTC[0], CAD[0.00], CUSDT[0], DAI[0], DOGE[0], ETH[0], ETHW[0], KSHIB[0], LINK[0], MATIC[0], MKR[0.00000025], PAXG[0], SHIB[0], SOL[0], TRX[0], USD[0.00]      Yes

08117336                              NFT (432872138017707510/Coachella x FTX Weekend 1 #14498)[1]                                                                                                                           Yes

08117342                              DAI[0.04395305], ETH[.655], ETHW[.655], USD[11.11]

08117349                              BTC[.0724275], MATIC[9.98], SHIB[98000], SOL[13.65633], TRX[492.507], USD[3.38]

08117350                              USD[1.00]

08117351                              SHIB[0], USD[0.00]                                                                                                                                                                     Yes

08117352                              USD[0.00]

08117362                              DOGE[1], SOL[.05012326], USD[0.00]                                                                                                                                                     Yes

08117365                              NFT (288896532039013334/Colossal Cacti #975)[1], NFT (394709465068696116/Sun Set #17)[1], NFT (457318871390224785/2974 Floyd Norman - OKC 2-0105)[1], NFT
                                      (535542149425223198/Reflection '15 #36)[1], USD[0.24]
08117380                              ETH[.00000001]

08117384                              DOGE[2], USD[0.00], USDT[0]                                                                                                                                                            Yes

08117385                              BTC[.16915564], USD[0.00]

08117391                              SHIB[1], USD[0.00]

08117392                              CUSDT[1], USD[0.00]

08117400                              DOGE[0], ETH[0], ETHW[0], USD[0.00]                                                                                                                                                    Yes

08117408                              CUSDT[2], MATIC[49.03087484], SHIB[3], TRX[3], USD[0.00], USDT[0.00204343], YFI[.00022472]                                                                                             Yes

08117422                              USD[0.00]                                                                                                                                                                              Yes

08117430                              NFT (442092895747575538/SBF Hair & Signature #5 #3)[1], NFT (474068193954245037/SBF Hair & Signature #4 #59)[1]

08117431                              USD[0.00]

08117434       Contingent, Disputed   USD[0.00]

08117435                              NFT (435978740471439190/SBF Hair & Signature #5 #6)[1]

08117436                              NFT (442277518526147594/SBF Hair & Signature #4 #61)[1], NFT (518158077387645131/SBF Hair & Signature #5 #5)[1]

08117440                              NFT (370354073086681102/SBF Hair & Signature #4 #60)[1], NFT (422208614914593521/SBF Hair & Signature #5 #4)[1]

08117444                              NFT (341207818933829508/Birthday Cake #1904)[1], NFT (373775816469830108/The 2974 Collection #1904)[1], USD[1250.01]

08117447                              NFT (420844543105383257/SBF Hair & Signature #4 #63)[1]

08117448                              USD[0.00], USDT[.99410928]

08117449                              BTC[0], DOGE[0], USD[0.00]

08117450                              NFT (342093909047691614/SBF Hair & Signature #5 #7)[1], NFT (526064531358197605/SBF Hair & Signature #4 #62)[1]

08117451                              SOL[.26], USD[0.89]

08117454                              NFT (328408073863516719/The Cat and Friends #4)[1], NFT (344952322175062901/The Cat and Friends)[1], NFT (396671466278526305/The Cat and Friends #6)[1], NFT (444745931556395999/The
                                      Cat and Friends #3)[1], NFT (491504225895048639/The Cat and Friends #2)[1], NFT (563508853765274194/The Cat and Friends #7)[1], NFT (574633942819933940/The Cat and Friends #5)[1],
                                      USD[8.98]
08117463                              USD[0.07]                                                                                                                                                                              Yes

08117479                              NFT (313507263086279504/SBF Hair & Signature #4 #64)[1], NFT (416691680283970146/SBF Hair & Signature #5 #8)[1]

08117492                              NFT (298682163497247433/SBF Hair & Signature #5 #13)[1], NFT (572267023805089447/SBF Hair & Signature #4 #67)[1]

08117499                              NFT (410910290513645665/SBF Hair & Signature #4 #65)[1], NFT (502765833007237349/SBF Hair & Signature #5 #10)[1]

08117504                              NFT (343514595617721353/SBF Hair & Signature #5 #9)[1]
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                                                                                                                                              Customer Claims                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08117510                              USD[0.00]

08117511                              ETH[0], SOL[0], USD[0.00]

08117514                              USD[4.73]

08117529                              NFT (333745727433937333/SBF Hair & Signature #4 #66)[1], NFT (480542176939295108/SBF Hair & Signature #5 #12)[1]

08117535                              NFT (298634329967109573/SBF Hair & Signature #5 #15)[1]

08117536                              NFT (400698106323993519/Little Rocks #365)[1]

08117538                              NFT (332953656206092902/SBF Hair & Signature #5 #14)[1], NFT (438639363004188066/SBF Hair & Signature #4 #68)[1]

08117539                              DOGE[2], SHIB[78034088.8453851], TRX[2], USD[0.00]                                                                                                                          Yes

08117546                              SHIB[1], USD[0.00]

08117547                              ETH[.34136425], ETHW[.34136425], SOL[3.53], TRX[803.67933], USD[0.09]

08117550                              NFT (343401051552941698/SBF Hair & Signature #5 #16)[1]

08117555                              ETHW[.0005994], USD[1.24]

08117563                              DOGE[1], ETH[0.00000050], ETHW[0.00000050], SHIB[4], TRX[1], USD[0.01]                                                                                                      Yes

08117564                              USD[16.22]                                                                                                                                                                  Yes

08117567                              NFT (315794970830404561/SBF Hair & Signature #5 #17)[1], NFT (545771940302039150/SBF Hair & Signature #4 #69)[1]

08117568                              NFT (345745461139942593/SBF Hair & Signature #5 #18)[1], NFT (528694433280433900/SBF Hair & Signature #4 #70)[1]

08117569                              NFT (501442751455897169/SBF Hair & Signature #4 #72)[1], NFT (566366702397313608/SBF Hair & Signature #5 #21)[1]

08117571                              USD[4072.90]                                                                                                                                                                Yes

08117574                              LTC[0], MATIC[0]

08117577                              NFT (571234431977210251/2974 Floyd Norman - CLE 4-0002)[1]

08117579                              NFT (468921744761609842/SBF Hair & Signature #6 #9)[1], NFT (501777367533194496/SBF Hair & Signature #4 #74)[1]

08117580                              NFT (370246667361092067/SBF Hair & Signature #5 #20)[1], NFT (532520001296658156/SBF Hair & Signature #4 #71)[1]

08117582                              CUSDT[4], DOGE[372.29316572], SHIB[1], USD[0.00]                                                                                                                            Yes

08117584                              USD[0.00]

08117591                              MATIC[4.15581729], USD[0.00]                                                                                                                                                Yes

08117595                              BTC[0], CUSDT[3], SOL[0], USD[23.17]                                                                                                                                        Yes

08117596                              MATIC[.00002405], SHIB[1], USD[58.71]                                                                                                                                       Yes

08117600                              USD[0.00], USDT[0.00245973]

08117608                              NFT (343721980806509482/SBF Hair & Signature #4 #75)[1], NFT (392164465162301672/SBF Hair & Signature #6 #10)[1], NFT (460712914930757045/SBF Hair & Signature #5 #25)[1]

08117610                              BTC[.05724651], CUSDT[4], DOGE[1], ETH[1.46011388], ETHW[1.46011388], EUR[2.15], MATIC[3309.57329645], TRX[2], USD[85.27]

08117612                              SOL[.03], USD[2.37]

08117617                              CUSDT[6], ETH[.02022706], ETHW[.01998082], USD[12.68]                                                                                                                       Yes

08117624                              BRZ[4], CUSDT[3], DOGE[1], LINK[22.31667631], SOL[.00000919], USD[0.00]                                                                                                     Yes

08117626                              NFT (288536941748327068/SBF Hair & Signature #4 #76)[1], NFT (399888499345292463/SBF Hair & Signature #5 #26)[1], NFT (403221087899539457/SBF Hair & Signature #6 #11)[1]

08117632                              NFT (418970564057376194/SBF Hair & Signature #5 #48)[1]

08117635                              BTC[.00190537], DOGE[44], ETH[.026], ETHW[.026], SOL[1.07843775], USD[0.00]

08117638                              USD[1081.47]                                                                                                                                                                Yes

08117642                              NFT (393009002474459555/SBF Hair & Signature #4 #78)[1], NFT (428135637050774849/SBF Hair & Signature #5 #28)[1], NFT (507498465673456626/SBF Hair & Signature #6 #13)[1]

08117649                              NFT (384903763071935734/SBF Hair & Signature #4 #79)[1], NFT (436787034592192304/SBF Hair & Signature #5 #29)[1], NFT (544226581198397877/SBF Hair & Signature #6 #14)[1]

08117651       Contingent, Disputed   BTC[.00102105], SHIB[1], USD[0.00]                                                                                                                                          Yes

08117662                              ETH[0], SOL[0], USD[0.00], USDT[0]                                                                                                                                          Yes

08117668                              DOGE[1], SOL[0.00000155], USD[0.00], USDT[0]                                                                                                                                Yes

08117669                              SHIB[6693300], USD[2.84]

08117677                              BTC[.00314024], CUSDT[2], DOGE[1], USD[5.39]                                                                                                                                Yes

08117678                              CUSDT[2], EUR[0.00]

08117681                              USD[0.37]

08117686                              CUSDT[2], DOGE[1], ETH[.2831832], ETHW[.28298664], NFT (525130040301754429/Warriors 75th Anniversary Icon Edition Diamond #333)[1], SOL[5.35862325], USD[0.00]              Yes

08117688                              CUSDT[1], SUSHI[50.01940833], TRX[1], USD[0.00]

08117704                              NFT (489813553707646699/SBF Hair & Signature #6 #19)[1], NFT (546750832515003923/SBF Hair & Signature #5 #35)[1], NFT (572002371651855561/SBF Hair & Signature #4 #84)[1]

08117724                              NFT (310403997018954616/SBF Hair & Signature #4 #83)[1], NFT (390465675327181978/SBF Hair & Signature #6 #18)[1], NFT (399544964319799128/SBF Hair & Signature #5 #34)[1]

08117730                              BTC[.00074278], CUSDT[1], ETH[2.80493639], ETHW[2.8037583], SOL[2.65492447], USD[0.00]                                                                                      Yes

08117733                              DOGE[357.5757716], SHIB[4], SOL[.21477584], UNI[2.95675339], USD[0.00]                                                                                                      Yes

08117734                              CUSDT[1], LTC[3.08053075], USD[0.00]

08117735                              LINK[.00000925], USD[0.00]                                                                                                                                                  Yes

08117739                              BRZ[11.19739575], BTC[.00001723], DOGE[4.4023546], ETH[.00049116], ETHW[.00049116], USD[0.00]

08117749                              SOL[.00000001], TRX[1], USD[0.00]                                                                                                                                           Yes

08117752                              SOL[.04968957], USD[90.00]

08117761                              NFT (415134965530902105/Coachella x FTX Weekend 1 #28955)[1], USD[0.96]
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                                                                                                                                         Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08117763                           ETH[.00230513], ETHW[.00227777], NFT (363683132106272863/Errore internet)[1], USD[0.00]                                                                                                      Yes

08117768                           BTC[.02134243], CUSDT[2], DOGE[4.3558638], MATIC[131.18803237], SHIB[1], SOL[2.61244937], USD[0.00]                                                                                          Yes

08117771                           USD[3.41]

08117777                           SHIB[6], TRX[2], USD[0.01]

08117780                           SOL[.00002496], TRX[1], USD[5.40]                                                                                                                                                            Yes

08117786                           USD[0.00]

08117787                           NFT (383351382086971804/Hall of Fantasy League #300)[1]

08117796                           CUSDT[3], DOGE[2543.76281517], USD[0.05]                                                                                                                                                     Yes

08117797                           NFT (550327491581040861/Hall of Fantasy League #309)[1]

08117800                           BTC[.0016129], CUSDT[2], ETH[.02024972], ETHW[.02000348], USD[0.00]                                                                                                                          Yes

08117802                           NFT (395820277729209143/Hall of Fantasy League #361)[1]

08117827                           SOL[.0003313], USD[0.00]

08117830                           NFT (403426114162423248/Hall of Fantasy League #327)[1]

08117835                           USD[27.04]                                                                                                                                                                                   Yes

08117837                           USD[0.00]

08117840                           USD[108.15]                                                                                                                                                                                  Yes

08117851                           USD[0.02]

08117853                           BRZ[1], BTC[.00087697], CUSDT[2], ETH[.05805679], ETHW[.05805679], SOL[.89881505], USD[0.01]

08117854                           BAT[1.00853118], CUSDT[4], DOGE[4], GRT[1], SOL[54.38586068], TRX[4], USD[0.01]                                                                                                              Yes

08117857                           USD[5000.01]                                                                                                                                                                                 Yes

08117859                           USD[200.01]

08117861                           USD[0.08]

08117873                           SOL[10.16050999], USD[0.01]

08117876                           USD[0.00], USDT[0]

08117877                           NFT (517652723138687193/SBF Hair & Signature #5 #36)[1], NFT (545203254115063265/SBF Hair & Signature #6 #20)[1], NFT (550704068372261627/SBF Hair & Signature #4 #85)[1]

08117879                           NFT (315590066839574499/Little Rocks #77)[1], NFT (344515863704536630/Little Rocks #1139)[1], NFT (396243415058731380/Little Rocks #396)[1], NFT (407293356973075973/Little Rocks #998)[1]

08117887                           AAVE[0], BTC[0.09557041], DOGE[0], ETH[0], ETHW[0], LINK[0], NEAR[0], USD[0.00], USDT[0]                                                                                                     Yes

08117891                           NFT (489878329996598969/Warriors 75th Anniversary Icon Edition Diamond #376)[1]

08117893                           USDT[0.00002286]

08117898                           NFT (483573633346817292/Hall of Fantasy League #283)[1]

08117904                           BTC[.00000514], NEAR[.03284026], NFT (330439722542879343/Little Rocks #138)[1], NFT (413237552898640926/Little Rocks #358)[1], NFT (449771896345661008/Little Rocks #1417)[1], USD[0.05],
                                   USDT[.04367471]
08117905                           SOL[38.64], USD[0.73]

08117906                           BTC[.00087447], CUSDT[1], USD[0.01]

08117909                           BTC[.00076307], CUSDT[3], DOGE[1], ETH[.00495823], ETHW[.00489737], SOL[.09907298], USD[0.00]                                                                                                Yes

08117912                           USD[0.00]

08117917                           NFT (295606958699255506/SBF Hair & Signature #6 #22)[1], NFT (489364987785994857/SBF Hair & Signature #5 #38)[1], NFT (496074149000872371/SBF Hair & Signature #4 #87)[1]

08117920                           NFT (332910951828006393/ApexDucks #2491)[1], NFT (349218480436461135/ApexDucks #4728)[1], SOL[.99722971], TRX[1], USD[0.00]

08117921                           BRZ[1], CUSDT[1], DOGE[2], ETHW[.19500467], GRT[1], SOL[1.36147568], TRX[2], USD[0.00]                                                                                                       Yes

08117923                           USD[0.00], USDT[0]

08117931                           USD[972.95], USDT[.009537]

08117932                           DOGE[1], ETHW[.00000121], SHIB[3], SOL[0], TRX[2], USD[0.00]                                                                                                                                 Yes

08117938                           NFT (424298634679176179/SBF Hair & Signature #5 #39)[1]

08117946                           SOL[.11], USD[1.00]

08117947                           CUSDT[10], DOGE[1209.40723722], ETH[.06428716], ETHW[.06348983], KSHIB[1272.04468836], SHIB[779258.20025995], USD[0.00]                                                                      Yes

08117949                           NFT (450247047023198928/Little Rocks #1520)[1], SOL[.03]

08117950                           NFT (341828671951780318/SBF Hair & Signature #5 #41)[1], NFT (346128243969051988/SBF Hair & Signature #6 #24)[1], NFT (360278341086162523/SBF Hair & Signature #4 #89)[1]

08117952                           NFT (346720077806762244/Hall of Fantasy League #431)[1]                                                                                                                                      Yes

08117953                           ETH[.001], ETHW[.8633], SOL[0], USD[0.24]

08117955                           MATIC[0], USD[0.00]

08117956                           NFT (357926671233224219/Hall of Fantasy League #254)[1]

08117958                           USD[0.09]

08117964                           NFT (434985275547103365/Hall of Fantasy League #341)[1]

08117965                           SHIB[7000000], USD[2.65]

08117970                           CUSDT[1], SOL[0.44307317]                                                                                                                                                                    Yes

08117979                           USD[1.44]

08117991                           BTC[.00522368], MATIC[344.80757307], SOL[10.97327176], USD[0.93]                                                                                                                             Yes

08117995                           CUSDT[2], DOGE[153.20920829], ETH[.00668759], ETHW[.00660551], GRT[1], TRX[1], USD[221.29]                                                                                                   Yes

08118001                           USD[0.00], USDT[49.74522556]
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                                                                                                                                            Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08118018                              ETH[.94012419], ETHW[.93972944], LINK[6.12335472], MATIC[172.97239727]                                                                                                                     Yes

08118022                              ETHW[.09527926], LINK[.00006425], SHIB[20], TRX[1], USD[86.23]                                                                                                                             Yes

08118044                              DOGE[1], GRT[1], SHIB[127273493.38678926], USD[0.00]                                                                                                                                       Yes

08118045                              NFT (409303630306758718/Hall of Fantasy League #349)[1]

08118054                              BAT[.00080707], USD[0.00], USDT[0]

08118061                              NFT (316656909563474462/SBF Hair & Signature #4 #90)[1], NFT (402164846029907157/SBF Hair & Signature #5 #42)[1]

08118065                              ETHW[3.461535], USD[3293.10]

08118070                              NFT (360321057663387392/SBF Hair & Signature #5 #44)[1], NFT (437721773295298077/SBF Hair & Signature #4 #92)[1]

08118079                              NFT (322212321172137644/David #3974)[1]

08118082                              BAT[1.00076405], BF_POINT[100], CUSDT[4], DOGE[1], ETHW[.01949819], USD[0.00], USDT[1.05768332]                                                                                            Yes

08118085                              BTC[.00421983], CUSDT[1], DOGE[1], ETH[0.02442085], ETHW[0.02411989], SOL[0.38014965]                                                                                                      Yes

08118092                              SOL[1.395]

08118097                              NFT (293454223265244907/SBF Hair & Signature #5 #45)[1], NFT (299889623835497039/SBF Hair & Signature #6 #25)[1], NFT (511662137967879483/SBF Hair & Signature #4 #93)[1]

08118102                              NFT (470331293959889981/Warriors 75th Anniversary Icon Edition Diamond #407)[1]                                                                                                            Yes

08118103                              NFT (303282242885206947/Marcus Allen's Playbook: Seattle Seahawks vs. Los Angeles Raiders - October 7, 1984 #76)[1], NFT (308027816689169365/Ava)[1], NFT (326379587232568706/Moses)[1],   Yes
                                      NFT (358137921965848676/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #120)[1], NFT (368226790059899597/Olivia)[1], NFT (423643871027859790/1000m x
                                      0,60 = 600 m² Home)[1], NFT (435867669767240052/Amelia)[1], NFT (496833144015417642/Ancient Civilization #37)[1], NFT (526462007257886969/Ancient Civilization #38)[1], USD[0.93]

08118109                              CUSDT[1], DOGE[120.90027389], SHIB[561737.98933945], TRX[1], USD[0.00]                                                                                                                     Yes

08118111                              BRZ[1], SHIB[1], TRX[1], USD[0.00]                                                                                                                                                         Yes

08118122                              BAT[1.00976422], BRZ[1], DOGE[2], SOL[.00000001], USD[0.00]                                                                                                                                Yes

08118123                              USD[0.00]

08118142                              ETH[.00248762], ETHW[.00248762], TRX[19.72001716], USD[0.00]

08118144                              CUSDT[1], SOL[.54659787], USD[0.00]                                                                                                                                                        Yes

08118145                              USD[1.00]

08118148                              BTC[.14931032], ETH[.3694059], ETHW[.3694059], LTC[1.27820483], SOL[1.00963763], USD[0.00]

08118153                              BAT[1.00241377], CUSDT[7], DOGE[3], MATIC[195.01071338], SHIB[2.16687205], SOL[15.15540761], TRX[3], USD[0.44]                                                                             Yes

08118157                              BRZ[547.38367541], CUSDT[1], DOGE[1], SHIB[1], USD[105.51]

08118166                              NFT (424418324316375371/SBF Hair & Signature #4 #94)[1], NFT (457604398954515644/SBF Hair & Signature #5 #46)[1]

08118171                              USD[10.00]

08118179                              BTC[.0009], NFT (338559851003449981/Cal Bears Super Oski Scavenger Hunt #66)[1]

08118183                              SOL[2.05228296], USD[2.07]

08118187                              NFT (415636266421187506/FTX - Off The Grid Miami #4362)[1]

08118188                              SHIB[459073.86082197], TRX[1], USD[0.00]

08118192                              NFT (445737175881782467/Megalodon Rogue Shark Tooth)[1]

08118197                              NFT (350401432035462829/SBF Hair & Signature #6 #26)[1], NFT (405497286018461159/SBF Hair & Signature #4 #95)[1], NFT (491411556741221334/SBF Hair & Signature #5 #47)[1]

08118199                              NFT (379782228095529604/SBF Hair & Signature #6 #27)[1], NFT (450810461624159489/SBF Hair & Signature #4 #96)[1], NFT (517189186907674306/SBF Hair & Signature #5 #49)[1]

08118201                              BRZ[1], SHIB[2], USD[166.47]                                                                                                                                                               Yes

08118202                              BCH[6.33759125], BTC[.00017525]                                                                                                                                                            Yes

08118213                              USD[0.00]

08118215                              BRZ[1], CUSDT[3], MATIC[45.08113354], USD[0.00]                                                                                                                                            Yes

08118223                              BRZ[140.71034522], CUSDT[2], SHIB[748727.1638215], USD[0.00]

08118228                              TRX[1]                                                                                                                                                                                     Yes

08118229                              BAT[19.06718397], BCH[.03412826], BTC[.00956955], CUSDT[2], SHIB[1], SUSHI[5.63773318], TRX[99.63338513], USD[0.01]

08118234                              BTC[.53790344], ETH[1.536358], ETHW[1.536358], USD[61.41]

08118250                              NFT (347272900173482842/SBF Hair & Signature #6 #29)[1], NFT (416938850385319142/SBF Hair & Signature #4 #97)[1], NFT (499932506231319741/SBF Hair & Signature #5 #50)[1]

08118253                              NFT (292379960865712499/SBF Hair & Signature #6 #28)[1], NFT (497262983368480959/SBF Hair & Signature #5 #51)[1], NFT (512979960250557053/SBF Hair & Signature #4 #98)[1]

08118258                              BTC[0], ETH[0], MATIC[0], SOL[0], USD[0.00], USDT[0]

08118261                              MATIC[1998.49], SOL[190.01484], USD[125.70]

08118269                              BCH[.16472356], BRZ[116.42137189], BTC[.0022266], CUSDT[2432.64180308], DAI[44.02717416], DOGE[2269.14843971], ETH[.02679441], ETHW[.02646609], GRT[257.3284937], LTC[.33998727],          Yes
                                      MATIC[42.24288813], PAXG[.11720433], SHIB[2], SOL[.56206216], TRX[20.79656148], USD[0.88], USDT[27.38578124]
08118272                              CUSDT[1], GBP[0.00], KSHIB[62.91410588], PAXG[.00564552], TRX[19.80225385], USD[10.16]                                                                                                     Yes

08118275                              BTC[0], NFT (339934099210368244/SBF Hair & Signature #6 #30)[1], NFT (372499280352533276/SBF Hair & Signature #5 #52)[1], NFT (574696691639675573/SBF Hair & Signature #4 #99)[1],
                                      USD[0.35]
08118277                              BTC[.00372005], CUSDT[9], ETH[.03468277], ETHW[.03468277], LINK[7.44554645], MATIC[78.66043402], SOL[.50309501], TRX[1], USD[0.00]

08118291                              DOGE[1], USD[109.66]                                                                                                                                                                       Yes

08118300                              BTC[.00191322], CUSDT[1], USD[0.01]                                                                                                                                                        Yes

08118302       Contingent, Disputed   MATIC[0], USD[0.00]

08118303                              USD[500.00]

08118304                              SHIB[1090136.98653376], USD[0.00]                                                                                                                                                          Yes

08118305                              BTC[.00727217], DOGE[1], GRT[1.00019173], SOL[5.44662167], USD[0.00]                                                                                                                       Yes
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                                                                                                                                         Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08118308                           BRZ[1], CUSDT[1], DOGE[2], TRX[2], USD[166.67]

08118315                           TRX[.000391], USD[0.00], USDT[.00257156]

08118324                           ETH[4.99685], ETHW[4.99685], USD[7464.54]

08118325                           MATIC[.87136487], TRX[.011182], USD[0.00], USDT[0]

08118330                           BRZ[1], CUSDT[4], DOGE[1], LTC[7.46824231], SHIB[1], SOL[8.26955942], TRX[3], USD[0.00], USDT[52.90780343]                                                                          Yes

08118337                           ALGO[220.27384532], AVAX[.00966913], BTC[.00000011], CUSDT[2], DOGE[5], MATIC[.00123838], SHIB[4], SOL[.00506011], TRX[2], USD[294.18]                                              Yes

08118350                           USD[0.00]

08118357                           NFT (347077013687336301/CatFamilya #18)[1], NFT (499169488817049341/CatFamilya #17)[1], USD[2.09]                                                                                   Yes

08118358                           BRZ[1], CUSDT[1], SOL[.00000499], USD[1.55]                                                                                                                                         Yes

08118363                           BTC[.00187405], CUSDT[1], DOGE[1], MATIC[16.27686954], USD[81.08]                                                                                                                   Yes

08118371                           NFT (319858547543356640/SBF Hair & Signature #4 #100)[1], NFT (330361327796243112/SBF Hair & Signature #6 #31)[1], NFT (419067866057176539/SBF Hair & Signature #5 #53)[1]

08118372                           USD[0.00]

08118375                           NFT (288635492221738643/Australia Ticket Stub #433)[1], NFT (297413206979673308/Night Light #654)[1], NFT (432230725721657498/SBF Hair & Signature #7 #22)[1], SOL[.1], USD[0.00]

08118385                           USD[0.00]

08118390                           BTC[0], USD[0.00], USDT[0.00020544]

08118392                           USD[0.00]

08118394                           LINK[5.494775], SOL[29.37207], USD[6.50]

08118398                           NFT (288723531196726359/SBF Hair & Signature #4 #101)[1], NFT (440441512819021354/SBF Hair & Signature #5 #54)[1], NFT (565900108576836324/SBF Hair & Signature #6 #32)[1]

08118399                           USD[27.04]                                                                                                                                                                          Yes

08118400                           USD[200.01]

08118410                           LINK[423.5126], SOL[9.89], USD[3.32]

08118416                           MATIC[44.47591873], NFT (567153092618203264/Settler #3793)[1], SHIB[14143.09780385], SOL[1.01619842], USD[0.00], USDT[0]                                                            Yes

08118417                           BTC[.00061487], SHIB[3], TRX[192.16379206], USD[0.00]                                                                                                                               Yes

08118423                           CUSDT[1], DOGE[1], ETH[.06391698], ETHW[.06312354], USD[0.02]                                                                                                                       Yes

08118425                           BTC[.0000922], ETHW[8655.2028332], SHIB[60100000], USD[0.00]

08118436                           BRZ[1], ETHW[3.07949976], LINK[2.14600148], TRX[2], USD[0.00]                                                                                                                       Yes

08118456                           BTC[.00078702], USD[53.57]

08118473                           USD[0.01]

08118480                           BTC[.00005611], USD[-0.13]

08118492                           CUSDT[1], USD[0.00]

08118500                           MATIC[8.8379103], NEAR[1.20719575], SHIB[1501290.05299241], SUSHI[7.42550271], TRX[72.77176055], USD[15.60]                                                                         Yes

08118506                           BTC[0.01335211], LINK[6.3], SOL[1.03], USD[2.20]

08118507                           CUSDT[2], SHIB[2177153.79388576], TRX[1], USD[0.50]                                                                                                                                 Yes

08118508                           BAT[31.16857593], BRZ[135.41125668], CUSDT[1187.4035357], DOGE[36.90504171], KSHIB[296.82169267], MATIC[15.46043141], SHIB[304723.20975114], SOL[.18593664], SUSHI[3.35737075],
                                   TRX[103.38603839], USD[0.05], USDT[9.94009976]
08118517                           BRZ[1], BTC[.03995347], CUSDT[12], DOGE[8.10398374], SHIB[2], SOL[138.55901792], TRX[12.00590722], USD[26839.45], USDT[4.19245988]                                                  Yes

08118530                           SOL[2]

08118552                           BTC[0], USD[13.92]

08118554                           BTC[.00342858], CUSDT[8], DOGE[613.70530419], ETH[.02140186], ETHW[.02140186], MATIC[5.58731653], SHIB[505307.35796665], SOL[.09714414], TRX[3], USD[0.05]

08118566                           BF_POINT[100], ETHW[.18202298], MATIC[0], NFT (377516350409466226/FTX - Off The Grid Miami #88)[1], USD[52.98], USDT[0]                                                             Yes

08118573                           USD[20.00]

08118577                           ETH[0], NFT (296697191031032108/MagicEden Vaults)[1], NFT (310827078085771597/Degen Ape #8218)[1], NFT (386780775678605024/MagicEden Vaults)[1], NFT (397114248513419290/MagicEden
                                   Vaults)[1], NFT (509752828781951842/MagicEden Vaults)[1], NFT (537134049773868790/MagicEden Vaults)[1], SOL[0], USD[0.00]
08118590                           SOL[6.4886293]                                                                                                                                                                     Yes

08118596                           DOGE[1], SHIB[1224177.29722993], USD[0.01]                                                                                                                                          Yes

08118609                           CUSDT[0], USD[0.01]                                                                                                                                                                 Yes

08118611                           BRZ[1], COMP[.73148951], CUSDT[1], MATIC[16.91251161], SOL[1.95570645], USD[542.28]                                                                                                 Yes

08118626                           BRZ[60.07391881], MATIC[5.18324228], USD[5.52]                                                                                                                                      Yes

08118627                           USD[1500.84]

08118632                           DOGE[2], GRT[109.00641787], USD[0.01], USDT[149.76827401]                                                                                                                           Yes

08118637                           SOL[0], USD[0.00]

08118647                           NFT (497958367198612892/2974 Floyd Norman - CLE 6-0172)[1], SOL[3.12578971], USD[10.01]

08118650                           AAVE[0], ETHW[10.05184957], GRT[.00000001], LINK[22.57563707], MATIC[176.97742734], SHIB[0], SUSHI[0], USD[0.00]                                                                    Yes

08118655                           BCH[.03439515], BTC[.0001718], CUSDT[3], DOGE[84.91378406], ETH[.00231978], ETHW[.00231978], KSHIB[1426.56756828], SHIB[408079.9836768], SOL[.13821715], TRX[2], USD[120.00]

08118656                           CUSDT[1], SHIB[576636.10742613], USD[88.00]                                                                                                                                         Yes

08118661                           SOL[.90157913], USD[0.01]

08118662                           ETH[0], ETHW[0], SOL[0], USD[0.00]

08118668                           BTC[.01730608], CUSDT[1], DAI[10.71603087], DOGE[1], ETH[1.13768968], ETHW[1.13720135], USD[1.31]                                                                                   Yes

08118669                           USD[0.00]

08118691                           ETH[.51491665], ETHW[.51491665], USD[0.01]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08118702                           BTC[0], SOL[0], USD[0.00], USDT[0.00000036]

08118708                           USD[5.00]

08118709                           BAT[1.01280268], CUSDT[1], GRT[1], SOL[2.1832383], USD[0.00]                                                                                                           Yes

08118717                           AAVE[.41958], BTC[.0017], ETH[.057989], ETHW[.057989], LTC[.45], MATIC[71.27728747], SOL[1.19955], TRX[470], UNI[2.997], USD[19.38]

08118731                           ETH[.00120489], ETHW[0.00120488]

08118732                           BAT[114.35809746], BF_POINT[100], CUSDT[14], ETH[.01437002], ETHW[.01419218], MATIC[.00000903], SHIB[1], SOL[.123801], SUSHI[.00001875], TRX[3], USD[7.20]             Yes

08118734                           BAT[0], DAI[0], DOGE[0], ETH[0.00034371], ETHW[0.00034371], GRT[0], SOL[0], TRX[0], USD[0.00], USDT[0]                                                                 Yes

08118737                           BAT[3.82248434], GRT[10.11850773], MATIC[3.28082309], TRX[20.19128888], USD[0.00]                                                                                      Yes

08118740                           NFT (529260690144621672/FTX - Off The Grid Miami #4687)[1]

08118743                           ETH[.00251686], ETHW[.0024895], TRX[10.84724252], USD[0.00]                                                                                                            Yes

08118746                           NFT (515822571365098219/DoD Private Contractor @elon send me free stuff)[1], USD[47.75]

08118752                           USD[75.00]

08118753                           SOL[.00000001]

08118754                           CUSDT[1], USD[0.00], USDT[99.41092861]

08118761                           BRZ[2], CUSDT[8], SHIB[2320.06693967], USD[0.00]                                                                                                                       Yes

08118764                           USD[0.00]                                                                                                                                                              Yes

08118770                           CUSDT[1], TRX[255.71562281], USD[0.00]

08118780                           USD[3.99], USDT[4.23529]

08118793                           SOL[1.2834]

08118796                           CUSDT[1], TRX[211.79943973], USD[0.00]                                                                                                                                 Yes

08118800                           BTC[.00239257], ETH[.04194853], ETHW[.04194853]

08118804                           NFT (388578526914157297/SolSweeps #2649)[1]

08118814                           USDT[1.2]

08118818                           BAT[1], CUSDT[4], DOGE[1], USD[0.43]

08118836                           AAVE[.05753981], BAT[254.68914031], BTC[.00093398], CUSDT[14], DOGE[1], ETH[.00000003], ETHW[.00000003], MATIC[8.2185491], SHIB[1], SOL[.0579279], TRX[2], USD[0.00]   Yes

08118848                           BF_POINT[100], DOGE[27.01549352], SHIB[300572.0895382], USD[1.30]                                                                                                      Yes

08118857                           ETH[.00000001], NFT (400188724772982781/Little Rocks #1485)[1], SOL[0.93278143]

08118862                           ETH[.00000001], SOL[.00410337], USD[0.00], USDT[155.41403174]

08118913                           SOL[.00000001], USD[0.14]                                                                                                                                              Yes

08118914                           BAT[1], BTC[.00007501], GRT[1], TRX[1], USD[0.01], USDT[1.0776746]                                                                                                     Yes

08118916                           SOL[.21], USD[3.12]

08118958                           BRZ[1], SOL[.25563563], USD[0.12]                                                                                                                                      Yes

08118969                           USD[8.27]

08118972                           BTC[.00091441], CUSDT[3], ETH[.00489075], ETHW[.00489075], LTC[.05006984], SOL[.05120091], TRX[106.21598234], USD[0.01]

08118973                           BAT[6.07628703], USD[0.02]                                                                                                                                             Yes

08118982                           DOGE[1], MATIC[108.20725437], USD[0.00]                                                                                                                                Yes

08118985                           BTC[.09661145], ETHW[4.8378237], NFT (497758421326618927/Coachella x FTX Weekend 2 #5495)[1], SOL[24.45257923], USD[0.00]

08118986                           BTC[0], CUSDT[2], DOGE[1], NFT (354998376734491044/Warriors 75th Anniversary Icon Edition Diamond #270)[1], SHIB[1], USD[139.12]                                       Yes

08118996                           SOL[.642]

08118998                           USD[6.00]

08119009                           BCH[.561], BTC[0.00130000], LTC[.34], UNI[3.4], USD[0.00]

08119014                           SHIB[0], SUSHI[0], USD[0.00]

08119019                           BTC[.0647], USD[2.56]

08119023                           BTC[0], CUSDT[2], DOGE[1], SHIB[4], SOL[0], TRX[1], USD[0.00]                                                                                                          Yes

08119028                           USD[0.00], USDT[0]

08119033                           BTC[.0007992], USD[13.77]

08119055                           DOGE[11.22850718], USD[0.00]

08119061                           BTC[.0009]

08119062                           DOGE[1], SHIB[2], TRX[2], USD[0.00]

08119082                           BTC[.00012489], ETH[.0017574], ETHW[.00173004], SHIB[1], SOL[.05142881], USD[0.00]                                                                                     Yes

08119084                           BRZ[3], CUSDT[3], ETH[.00000001], TRX[2], USD[0.01]                                                                                                                    Yes

08119085                           CUSDT[4575], USD[0.02]

08119106                           BRZ[1], BTC[.00451966], CUSDT[1], DOGE[3], ETHW[.05707438], SHIB[2], TRX[4], USD[0.02]                                                                                 Yes

08119108                           BTC[.00000007], ETH[.85877142], ETHW[.85841078], MATIC[261.44968093], SHIB[2464161.21934602], SOL[21.34416563], TRX[0.00000594], USD[0.00]                             Yes

08119110                           USD[500.00]

08119120                           USD[0.01], USDT[0]

08119123                           USD[0.00]

08119128                           CUSDT[3], TRX[1], USD[0.00], USDT[0.44981848]                                                                                                                          Yes
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                                                                                                                                   Unsecured          Page 1104 of 1384
                                                                                                                                             Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08119134                              USD[0.00]

08119140                              USDT[2]

08119141                              USD[0.85]

08119155                              DOGE[1], SHIB[29840420.43579094], USD[0.00]                                                                                                                                         Yes

08119157                              USD[1.65]

08119159                              USD[0.50]

08119164       Contingent, Disputed   USD[20.00]

08119166                              USD[0.11]

08119179                              USD[0.00]

08119188                              BTC[.004118], USD[0.00]

08119190                              SHIB[4395600], USD[1.13]

08119218                              USD[0.11], USDT[0.08078009]

08119221                              BTC[.00096773], DOGE[1], USD[54.12]                                                                                                                                                 Yes

08119222                              DOGE[1], NFT (324485770539434248/Gangster Gorillas #6143)[1], NFT (440775751683670078/Gangster Gorillas #8144)[1], SHIB[3], SOL[.80114185], USD[0.00]

08119226                              BTC[.0004462], CUSDT[1], USD[0.00]

08119230                              ETH[.00000001]                                                                                                                                                                      Yes

08119233                              BTC[0], SOL[0], USD[0.60]                                                                                                                                                           Yes

08119241                              BRZ[2], DOGE[1], ETH[.0003396], ETHW[.0003396], SHIB[2], TRX[1], USD[0.00]

08119246                              BAT[1], BRZ[2], DOGE[5.52487391], GRT[3.03892107], NFT (311894160315275383/Munk #1277)[1], NFT (316525890766750438/DOTB #7559)[1], NFT (317347095951815918/MagicEden Vaults)[1],     Yes
                                      NFT (340263590490044831/3D CATPUNK #9345)[1], NFT (346113299997741665/DOTB #3922)[1], NFT (356650021570217516/Space Bums #9063)[1], NFT (357785129152641516/PixelPuffins
                                      #6362)[1], NFT (361353742635556312/Space Bums #9454)[1], NFT (374298806556889315/PixelPuffins #1300)[1], NFT (380470424106388551/Gangster Gorillas #7422)[1], NFT
                                      (380513502022198742/PixelPuffins #543)[1], NFT (383695109221160461/DOTB #8664)[1], NFT (384069955509217658/Citizen 7#445)[1], NFT (390104539734093983/DOTB #3210)[1], NFT
                                      (392389728981912992/PixelPuffins #1548)[1], NFT (397050372360004133/DOTB #2136)[1], NFT (409158859371304676/Gangster Gorillas #6512)[1], NFT (422677979979140748/DOTB #3891)[1], NFT
                                      (422774562787629672/DOTB #4055)[1], NFT (428268244720049056/MagicEden Vaults)[1], NFT (430046135947893896/MagicEden Vaults)[1], NFT (448189021943866112/Nobu Sensei #776)[1], NFT
                                      (482351800085809331/MagicEden Vaults)[1], NFT (502782703226324870/ApexDucks Halloween #2371)[1], NFT (511565353132207237/Kiddo #3347)[1], NFT (524604469510797096/Citizen 2#917)[1],
                                      NFT (534131279795507064/Ravager #1412)[1], NFT (537309355325922116/DOTB #8295)[1], NFT (548884877385099290/Gangster Gorillas #3565)[1], NFT (557049058559045471/ApexDucks
                                      #1739)[1], NFT (560930145491582597/MagicEden Vaults)[1], NFT (562365187343913545/Gangster Gorillas #1040)[1], NFT (563018017016269984/DOTB #8350)[1], NFT
                                      (565373719202426619/ApexDucks Halloween #2643)[1], NFT (573343644369554015/Ghoulie #2735)[1], NFT (576365456521892118/Ravager #1378)[1], SHIB[20], SOL[.44336004],
                                      TRX[114.32112438], USD[0.00], USDT[0.00000001]
08119268                              ETHW[7.82186101]                                                                                                                                                                     Yes

08119283                              BTC[.00000008], CUSDT[1], USD[0.03]                                                                                                                                                 Yes

08119319                              NFT (524192077867818382/Little Rocks #372)[1], SOL[.11]

08119325                              USD[20.00]

08119327                              USD[16.22]                                                                                                                                                                          Yes

08119331                              LINK[.04120639], MATIC[6.1017843], SOL[42.38861198], USD[0.29]

08119338                              SOL[.09], USD[21.69]

08119353                              BTC[.00010336], USD[4.04], USDT[994.56444]

08119363                              AAVE[5.20641036], ALGO[608.86754676], AVAX[77.39588397], BAT[1834.06959298], BCH[20.88669045], BRZ[100.80500462], BTC[.87243455], CUSDT[14], DOGE[13.00144334], ETH[2.88311412],    Yes
                                      ETHW[39.23056131], GRT[35410.66845053], KSHIB[18444.79059168], LINK[27.53907484], LTC[7.31271942], MATIC[.00053399], MKR[.2939027], NEAR[311.18673126], PAXG[.1190916],
                                      SHIB[21262707.01088361], SOL[424.86993967], SUSHI[.00144057], TRX[3149.76816675], UNI[72.7754461], USD[-3796.61], USDT[12.21271936], WBTC[.00000013], YFI[.06942818]

08119374                              SOL[1.04], USD[1.18]

08119380                              SHIB[2474365.81868034], USD[0.00]

08119386                              BTC[0.00678677], USD[0.00]

08119396                              TRX[1], USD[0.70]

08119404                              USD[0.00]

08119405                              USD[0.02]                                                                                                                                                                           Yes

08119406                              USD[250.00]

08119409                              USD[0.00]                                                                                                                                                                           Yes

08119415                              ETH[.00022796], ETHW[.00022796], TRX[1], USD[1.46]                                                                                                                                  Yes

08119418                              BAT[.90939589], BCH[.00173017], BRZ[5.32825515], GRT[1.05896018], LINK[.0352845], MATIC[.62157772], MKR[.00032784], PAXG[.00053171], SHIB[21226.91572914], SOL[.00469133],
                                      SUSHI[.111571], TRX[9.57420998], USD[13.00]
08119419                              NFT (562690793064179364/SALT New York 2022 #46)[1]

08119421                              DOGE[8.90196058], USD[0.00]                                                                                                                                                         Yes

08119426                              CUSDT[1], KSHIB[2790.04008553], USD[5.00]

08119428                              BRZ[1], USD[20.75]                                                                                                                                                                  Yes

08119447                              USD[0.00]

08119448                              DOGE[0], SHIB[2], SOL[0], USD[0.00]                                                                                                                                                 Yes

08119453                              DOGE[16.48150234], ETH[.0005384], ETHW[.0005384], SHIB[23501.7626322]

08119462                              NFT (324329582066185745/Coachella x FTX Weekend 1 #9734)[1], TRX[1], USD[0.01], USDT[1.07847646]                                                                                    Yes

08119467                              SHIB[4], USD[112.92]                                                                                                                                                                Yes

08119471                              BTC[0], USD[0.00]

08119472                              USD[0.00]

08119475                              BRZ[2], CUSDT[2], DOGE[1], TRX[2], USD[0.00]                                                                                                                                        Yes
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                                                                                                                                             Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08119477                              CUSDT[4], DOGE[120.68242808], GRT[18.08413291], LINK[1.18665503], MATIC[14.06147307], SUSHI[1.19082006], TRX[1], USD[0.00]                                                            Yes

08119480                              USD[0.01]

08119483                              USD[0.04], USDT[0]

08119498                              BTC[.0009]

08119506                              SHIB[6800000], USD[0.08]

08119509                              LINK[8.4], TRX[10495.132423], USD[0.00]

08119515                              CUSDT[1], SOL[2.00969207], USD[100.00]

08119521                              NFT (519057242978267487/Mech #10)[1]

08119525                              SHIB[1], USD[0.01]                                                                                                                                                                    Yes

08119526                              BTC[.0085], USD[3.03]

08119543                              BRZ[1], BTC[.00000076], DOGE[2], NFT (359079947965605299/FTX - Off The Grid Miami #79)[1], SHIB[1], SOL[.00014627], USD[311.73]                                                       Yes

08119551                              CUSDT[1], USD[0.00], USDT[49.72037286]

08119578                              LINK[.68758104], USD[0.00]                                                                                                                                                            Yes

08119594                              AAVE[38.96882508], BAT[2], BRZ[2], BTC[.20339818], CUSDT[1], DOGE[2], ETH[.25906431], ETHW[.25891396], GRT[1], SHIB[2], TRX[10651.77597246], USD[29775.46]                            Yes

08119599                              BTC[.00044121], CUSDT[1], USD[475.00]

08119612                              USD[2.25]

08119617                              SHIB[4496000], USD[4.76]

08119621                              USD[500.00]

08119622                              BTC[0.00004996], CUSDT[4], DOGE[4], ETH[.00000013], ETHW[.00000013], TRX[1], USD[5.53]                                                                                                Yes

08119629       Contingent, Disputed   NFT (528164613384113505/Crypto Ape #224)[1]

08119630                              CUSDT[1], ETH[.02119766], ETHW[.02119766], USD[0.00]

08119645                              BTC[.10328439], LINK[106.66745824], USD[103.72]                                                                                                                                       Yes

08119647                              SHIB[9], USD[0.06]                                                                                                                                                                    Yes

08119649                              SUSHI[1.4298157], USD[10.00]

08119654                              USD[60.00], USDT[0]

08119656                              BAT[9.87054019], BTC[.00910442], CUSDT[13], DOGE[3], ETH[.0887711], ETHW[.08773541], LINK[3.93362321], MATIC[5.07789809], SOL[5.92999101], TRX[5], USD[0.00]                          Yes

08119661       Contingent, Disputed   SOL[.00000001]

08119662                              TRX[1], USD[0.00], USDT[0]

08119672                              NFT (288816135009441337/GSW Championship Commemorative Ring)[1], NFT (319522282881273573/Warriors Logo Pin #682 (Redeemed))[1], NFT (349969241978153097/GSW Western Conference
                                      Finals Commemorative Banner #2099)[1], NFT (368706465547995956/GSW Western Conference Finals Commemorative Banner #2100)[1], NFT (380451407342812555/GSW Western Conference
                                      Semifinals Commemorative Ticket #1127)[1], NFT (406636994862696955/The 2974 Collection #1123)[1], NFT (485713918204175139/Birthday Cake #1123)[1], NFT (528363398788392585/Exclusive
                                      2974 Collection Merchandise Package #5758 (Redeemed))[1], USD[1.04]
08119678                              NFT (299037298088877840/Bounty Hunter #3412)[1], NFT (331162962923851688/StarAtlas Anniversary)[1], NFT (351870677750141206/StarAtlas Anniversary)[1], NFT
                                      (391546308640643264/StarAtlas Anniversary)[1], NFT (402249672366237770/StarAtlas Anniversary)[1], NFT (481830764573366370/StarAtlas Anniversary)[1], NFT (489635036624669209/StarAtlas
                                      Anniversary)[1], NFT (492503415474637493/StarAtlas Anniversary)[1], NFT (558122035997516129/Bounty Hunter #1223)[1], NFT (562843848791519760/StarAtlas Anniversary)[1], NFT
                                      (568311518837640601/StarAtlas Anniversary)[1], NFT (572844011983873269/Amoran Glass)[1]
08119682                              ETH[.02622526], ETHW[.02589694], TRX[1], USD[0.00]                                                                                                                                     Yes

08119686                              NFT (371088421880183265/Metaverse, seen by an AI)[1], NFT (548973782569895118/Obscenity)[1], USD[7.96], USDT[0]

08119687                              USD[21.51]                                                                                                                                                                            Yes

08119695                              BAT[6113.71953223], BRZ[8.37946642], CUSDT[24], DOGE[352019.05006328], GRT[4.07740514], LINK[10.37132097], SHIB[1368907263.10904186], SOL[1.12069918], TRX[2620.1802074],             Yes
                                      UNI[213.86281743], USD[0.00], USDT[3.14692982]
08119696                              SHIB[12], TRX[0], USD[12.28]                                                                                                                                                          Yes

08119697                              USD[100.00]

08119701                              ALGO[0], BTC[0], ETH[0], ETHW[0], LINK[46.5809326], SHIB[5], SUSHI[0], USD[0.01], USDT[0.00016158]                                                                                    Yes

08119710                              CUSDT[2], SHIB[1117898.97009348], TRX[1], USD[0.00]                                                                                                                                   Yes

08119711                              USD[415.01]

08119721                              BRZ[1], DOGE[1], SHIB[14], TRX[2.001332], USD[0.01], USDT[0.00255070]                                                                                                                 Yes

08119726                              USD[0.00]

08119727                              CUSDT[1], USD[0.00]

08119734                              BTC[.00017648], SOL[.05140689], USD[0.00]

08119742                              DOGE[44.71272077]

08119760                              ETHW[.986], USD[0.00]

08119765                              CUSDT[1], SHIB[3008027.10705643], USD[0.00]                                                                                                                                           Yes

08119773                              CUSDT[1], SOL[.14869699], USD[0.00]                                                                                                                                                   Yes

08119781                              BTC[.0119886], ETH[.35666085], ETHW[.35666085], NFT (355825124833163293/Monaco Ticket Stub #87)[1], NFT (469776367532012677/Hungary Ticket Stub #474)[1], NFT
                                      (474266920294927889/Baku Ticket Stub #135)[1], USD[50.61], USDT[.9208485]
08119792                              AVAX[0.48325906], CUSDT[6], DOGE[6], NFT (304077885701673215/3D CATPUNK #2936)[1], SHIB[37], SOL[0], TRX[2], USD[0.00]                                                                Yes

08119794                              SOL[.05169444], USD[4.32]

08119796                              BTC[.0005], ETH[.008], ETHW[.008], USD[1.28]

08119823                              BTC[.0009]

08119836                              BTC[0], USDT[0]

08119840                              CUSDT[1], ETH[.00500877], ETHW[.00494032], USD[0.00]                                                                                                                                  Yes

08119843                              BTC[0], PAXG[0], TRX[.000176], USD[9987.30]
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                                                                                                                                           Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08119847                           BTC[.0009], USD[50.00]

08119853                           CUSDT[1], SHIB[2], SOL[1.11723293], USD[0.00]                                                                                                                                        Yes

08119863                           NFT (530232652575836877/Coachella x FTX Weekend 2 #7129)[1], USD[0.00]

08119870                           NFT (288537349058045143/Sigma Shark #4653)[1], NFT (293009448055771151/Sigma Shark #2843)[1], NFT (293443157144425525/ApexDucks #301)[1], NFT (295910115675047113/Sigma Shark        Yes
                                   #2375)[1], NFT (297604709683137669/Sigma Shark #3276)[1], NFT (307543964727469114/Sigma Shark #969)[1], NFT (319821308232345818/Fancy Frenchies #8450)[1], NFT
                                   (321956653746349961/Sigma Shark #1987)[1], NFT (322464820982965040/Sigma Shark #3703)[1], NFT (323220227508150586/Sigma Shark #5561)[1], NFT (324023626779408001/Sigma Shark
                                   #558)[1], NFT (327063177433582848/Sigma Shark #3611)[1], NFT (337821597118030264/DOTB #4873)[1], NFT (339081841071189637/Sigma Shark #1773)[1], NFT (344099280840552976/Gangster
                                   Gorillas #270)[1], NFT (352802593140399443/Astral Apes #2840)[1], NFT (357977228446444194/Sigma Shark #1170)[1], NFT (366844705587290000/Sigma Shark #4521)[1], NFT
                                   (372436730830148939/Sigma Shark #2488)[1], NFT (378904087988025067/Astral Apes #60)[1], NFT (385459541372405396/Gangster Gorillas #7067)[1], NFT (386192205874417737/Sigma Shark
                                   #4663)[1], NFT (386797413940351125/Sigma Shark #2203)[1], NFT (392943143035125402/Sigma Shark #478)[1], NFT (393944987060093272/Sigma Shark #6235)[1], NFT
                                   (402367604673888852/DOTB #5410)[1], NFT (403256600732864607/3D SOLDIER #958)[1], NFT (403335014493504900/Cool Bean #1708)[1], NFT (403603283792011577/ApexDucks #2254)[1], NFT
                                   (406296936575521860/2D SOLDIER #119)[1], NFT (406809712929833994/Sigma Shark #664)[1], NFT (411758795845462088/SolDoge Strays #475)[1], NFT (416408477868552360/Sigma Shark
                                   #5637)[1], NFT (417951402014780434/Sigma Shark #5994)[1], NFT (423097204036411454/Fancy Frenchies #4828)[1], NFT (424465013827762152/Fancy Frenchies #2044)[1], NFT
                                   (424804404842515147/ApexDucks #5482)[1], NFT (425026706718194571/Sigma Shark #5380)[1], NFT (426769412713163249/Sigma Shark #3056)[1], NFT (428182436189997420/Sigma Shark
                                   #4114)[1], NFT (433121843827971101/Sigma Shark #6598)[1], NFT (440000755282049329/Sigma Shark #3184)[1], NFT (440327685077084048/Sigma Shark #6198)[1], NFT
                                   (441445117790235011/Sigma Shark #1376)[1], NFT (441479908144853506/Fancy Frenchies #4684)[1], NFT (443405070461123934/Sigma Shark #1844)[1], NFT (444106393948419443/Eitbit Ape
                                   #2722)[1], NFT (444554844456358900/Fancy Frenchies #3831)[1], NFT (447416116286488654/ApexDucks #4415)[1], NFT (455161973337497141/Sigma Shark #1381)[1], NFT
                                   (458549309605671346/Sigma Shark #3899)[1], NFT (464068577266978487/Sigma Shark #7165)[1], NFT (466742724186803550/Sigma Shark #3547)[1], NFT (469263873991474040/ApexDucks
                                   #2016)[1], NFT (476786312775302294/Sigma Shark #119)[1], NFT (476805379573699416/Sigma Shark #3173)[1], NFT (479944298700513479/Sigma Shark #6492)[1], NFT
                                   (481632712785910078/Subaru rauss)[1], NFT (482425642115922616/Sigma Shark #3600)[1], NFT (483422786290174890/Sigma Shark #872)[1], NFT (483767974997988621/Red Panda #7652)[1],
                                   NFT (488652912334743529/Careless Cat #905)[1], NFT (488786148949974974/Sigma Shark #943)[1], NFT (491915434697516032/Sigma Shark #3728)[1], NFT (495249179143986889/Chirstmas Tree
                                   Animation 2)[1], NFT (496846028583829357/Sigma Shark #4215)[1], NFT (497732332400279471/Sigma Shark #6339)[1], NFT (498550903271113286/Sigma Shark #4542)[1], NFT
                                   (501254398638252099/Sigma Shark #5144)[1], NFT (501511406058598447/DOTB #5363)[1], NFT (503343912089074799/Sigma Shark #6113)[1], NFT (506658691101022539/Sigma Shark #1002)[1],
                                   NFT (508947082140427415/Sigma Shark #4444)[1], NFT (509029201332674226/Sigma Shark #7375)[1], NFT (515194290344656435/Red Panda #5190)[1], NFT (516203501526399328/Astral Apes
                                   #788)[1], NFT (517969081279576642/Sigma Shark #3422)[1], NFT (524956328955923300/Sigma Shark #1258)[1], NFT (535239495214046970/Fancy Frenchies #8142)[1], NFT
                                   (541514891242131721/Sigma Shark #7217)[1], NFT (543022921667410844/Sigma Shark #4105)[1], NFT (547979318536822867/Sigma Shark #786)[1], NFT (561022504361553798/DOTB #599)[1],
                                   NFT (561514621186020140/ApexDucks #5030)[1], NFT (561607176802193798/Sigma Shark #7343)[1], NFT (564707628725089777/ApexDucks #3296)[1], NFT (567570649761512526/Sigma Shark
                                   #4183)[1], SOL[.67991749], USD[0.00]

08119878                           BTC[.0001], SHIB[299700], SOL[.02], USD[1.28]

08119889                           USD[0.00]                                                                                                                                                                            Yes

08119895                           ETH[.00255379], ETHW[.00252643], USD[0.00]                                                                                                                                           Yes

08119896                           BTC[.00000001], ETH[.00000078], ETHW[.00000078], USD[0.01]                                                                                                                           Yes

08119916                           ETH[.00093635], ETHW[.00093635], USD[0.01], USDT[0]

08119924                           USD[0.01]

08119931                           BRZ[30.16570042], CUSDT[2.7681196], MATIC[2.89581768], TRX[58.3891599], USD[0.00]                                                                                                    Yes

08119957                           BTC[.00666087], ETHW[5.27920457]                                                                                                                                                     Yes

08119960                           BTC[.0009]

08119962                           NFT (397645479815454023/Gangster Gorillas #5526)[1], NFT (457177991286709981/Gangster Gorillas #7984)[1], NFT (457886729577927735/Gangster Gorillas #8537)[1], SOL[.00000001]

08119967                           CUSDT[2], SOL[.1038663], USD[0.00]                                                                                                                                                   Yes

08119972                           BAT[154.8997474], BTC[.1197534], ETH[.36157419], ETHW[.36157419], GRT[570.43820631], LINK[16.32672894], MATIC[282.5210765], SHIB[1760968.67339748], TRX[2133.21001452], USD[5.97]

08119987                           CUSDT[1], DOGE[1], TRX[1], USD[10.01]

08119995                           TRX[.77629039], USD[0.00]

08120009                           CUSDT[2], NFT (509745095388413146/Megalodon Rogue Shark Tooth)[1], SHIB[291165.75552773], SOL[0]                                                                                     Yes

08120012                           SOL[.011]

08120020                           ETH[.01553521], ETHW[.01553521], USD[150.01]

08120023                           USD[50.00]

08120028                           GRT[11.01185221], USD[0.00]                                                                                                                                                          Yes

08120039                           USD[25.00]

08120042                           DOGE[175.42480886], SHIB[1], USD[0.07]                                                                                                                                               Yes

08120055                           DOGE[1], USD[0.00]                                                                                                                                                                   Yes

08120061                           USD[3.97]

08120079                           SOL[.002995], USD[16.00]

08120081                           USD[53.12]                                                                                                                                                                           Yes

08120087                           CUSDT[1], SOL[0], TRX[1]

08120095                           USDT[3.779212]

08120100                           USD[9.33]                                                                                                                                                                            Yes

08120109                           USD[0.00]

08120115                           USD[21.63]                                                                                                                                                                           Yes

08120116                           AAVE[0], BTC[0], DOGE[0.03285971], ETH[0], ETHW[0], MATIC[0], SHIB[1], SOL[0], TRX[1], USD[0.03], USDT[0]                                                                            Yes

08120131                           DOGE[0], KSHIB[0], LINK[0], SHIB[3.99291356], USD[0.00], USDT[0]                                                                                                                     Yes

08120142                           BTC[.00209256], USD[0.00]

08120171                           SHIB[1], TRX[1], USD[0.00]                                                                                                                                                           Yes

08120179                           NFT (370797560399903784/Coachella x FTX Weekend 2 #20003)[1]

08120180                           SOL[.465]

08120194                           USD[50.01]

08120217                           DOGE[1], SOL[2.59574654], USD[0.00]                                                                                                                                                  Yes
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                                                                                                                                         Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08120275                           NFT (557600899365368782/Hall of Fantasy League #273)[1]

08120321                           BRZ[1], CUSDT[17], DOGE[2], NFT (394420341182556357/Sigma Shark #6250)[1], NFT (436780025669594245/Sigma Shark #1709)[1], NFT (505353105686441407/Claw Leaders)[1], NFT               Yes
                                   (508901166139075811/Brick World #61)[1], NFT (526016215340384952/Sigma Shark #736)[1], NFT (527578636656111926/Sigma Shark #4723)[1], NFT (534579510527409713/Sigma Shark #987)[1],
                                   NFT (559073124955381513/Brick World #37)[1], SOL[.01028149], TRX[2], USD[0.00]
08120328                           DAI[100], USD[27.55], USDT[0]

08120363                           MATIC[.7], USD[6.60]

08120365                           NFT (293980223135709778/NEO-NINJA MINT TICKET)[1], NFT (294260581992970026/NEO-NINJA MINT TICKET)[1], NFT (298030071069867502/NEO-NINJA MINT TICKET)[1], NFT
                                   (304293186737533973/NEO-NINJA MINT TICKET)[1], NFT (304720192781937688/NEO-NINJA MINT TICKET)[1], NFT (310552062299851182/NEO-NINJA MINT TICKET)[1], NFT
                                   (313662547803551671/NEO-NINJA MINT TICKET)[1], NFT (319830431143936937/MagicEden Vaults)[1], NFT (322313202307438281/NEO-NINJA MINT TICKET)[1], NFT (331964748936178268/NEO-
                                   NINJA MINT TICKET)[1], NFT (332997023130577093/NEO-NINJA MINT TICKET)[1], NFT (333071156956322525/NEO-NINJA MINT TICKET)[1], NFT (333660444065301677/NEO-NINJA MINT
                                   TICKET)[1], NFT (336957337204389112/NEO-NINJA MINT TICKET)[1], NFT (337341591030118109/MagicEden Vaults)[1], NFT (344377422396625579/NEO-NINJA MINT TICKET)[1], NFT
                                   (347938419928090898/MagicEden Vaults)[1], NFT (349889698617439407/NEO-NINJA MINT TICKET)[1], NFT (352144685546361304/NEO-NINJA MINT TICKET)[1], NFT (352384528836115061/NEO-
                                   NINJA MINT TICKET)[1], NFT (353727762878786119/NEO-NINJA MINT TICKET)[1], NFT (359527211721643176/NEO-NINJA MINT TICKET)[1], NFT (365659759441914745/NEO-NINJA MINT
                                   TICKET)[1], NFT (370308259542856278/NEO-NINJA MINT TICKET)[1], NFT (372282185832351847/NEO-NINJA MINT TICKET)[1], NFT (375210308658807594/NEO-NINJA MINT TICKET)[1], NFT
                                   (382256251758067334/NEO-NINJA MINT TICKET)[1], NFT (384959007979678620/NEO-NINJA MINT TICKET)[1], NFT (387267985756973607/NEO-NINJA MINT TICKET)[1], NFT
                                   (392514077267014191/NEO-NINJA MINT TICKET)[1], NFT (393680173551788677/NEO-NINJA MINT TICKET)[1], NFT (404179881627137829/NEO-NINJA MINT TICKET)[1], NFT
                                   (406843225990006189/NEO-NINJA MINT TICKET)[1], NFT (409943151660025424/Degen Ape #3716)[1], NFT (411275379202181711/NEO-NINJA MINT TICKET)[1], NFT (413639197222913506/NEO-
                                   NINJA MINT TICKET)[1], NFT (413994830051737571/NEO-NINJA MINT TICKET)[1], NFT (414898504443525875/NEO-NINJA MINT TICKET)[1], NFT (424280225810435803/NEO-NINJA MINT
                                   TICKET)[1], NFT (425928191329964048/NEO-NINJA MINT TICKET)[1], NFT (443252294733307238/NEO-NINJA MINT TICKET)[1], NFT (443304234121980308/NEO-NINJA MINT TICKET)[1], NFT
                                   (443314806547211533/NEO-NINJA MINT TICKET)[1], NFT (450585481646753787/NEO-NINJA MINT TICKET)[1], NFT (460919980315694287/NEO-NINJA MINT TICKET)[1], NFT
                                   (465781500110634041/MagicEden Vaults)[1], NFT (470334195533685161/Degen Banana #3356)[1], NFT (475499767331203170/NEO-NINJA MINT TICKET)[1], NFT (478109999737668154/NEO-
                                   NINJA MINT TICKET)[1], NFT (479515156063060691/NEO-NINJA MINT TICKET)[1], NFT (481321714432427111/NEO-NINJA MINT TICKET)[1], NFT (485499693738395356/NEO-NINJA MINT
                                   TICKET)[1], NFT (486274116264381121/NEO-NINJA MINT TICKET)[1], NFT (489121810237008219/NEO-NINJA MINT TICKET)[1], NFT (495195435776683857/NEO-NINJA MINT TICKET)[1], NFT
                                   (496923077952239636/NEO-NINJA MINT TICKET)[1], NFT (498087836534839774/NEO-NINJA MINT TICKET)[1], NFT (503749006078628604/NEO-NINJA MINT TICKET)[1], NFT
                                   (505395664889902023/NEO-NINJA MINT TICKET)[1], NFT (507226981074325243/NEO-NINJA MINT TICKET)[1], NFT (518849301693135332/NEO-NINJA MINT TICKET)[1], NFT
                                   (519427871053860182/NEO-NINJA MINT TICKET)[1], NFT (524182308735607961/NEO-NINJA MINT TICKET)[1], NFT (526053801855289109/NEO-NINJA MINT TICKET)[1], NFT
                                   (527257253547583282/NEO-NINJA MINT TICKET)[1], NFT (539164043716404386/NEO-NINJA MINT TICKET)[1], NFT (547873026417043904/NEO-NINJA MINT TICKET)[1], NFT
                                   (555678742322004896/NEO-NINJA MINT TICKET)[1], NFT (555855991340155532/NEO-NINJA MINT TICKET)[1], NFT (558259313676884531/NEO-NINJA MINT TICKET)[1], NFT
                                   (561023075067246586/NEO-NINJA MINT TICKET)[1], NFT (563466463036012891/NEO-NINJA MINT TICKET)[1], NFT (564155746777115999/NEO-NINJA MINT TICKET)[1], NFT
                                   (567081763454024161/NEO-NINJA MINT TICKET)[1], NFT (567159879842191882/NEO-NINJA MINT TICKET)[1], NFT (570926437060992164/MagicEden Vaults)[1], USD[0.00]


08120371                           CUSDT[1], DOGE[1], TRX[1], USD[508.79]                                                                                                                                                Yes

08120375                           BRZ[1], CUSDT[13.02795983], SHIB[104758.58512872], USD[0.00]                                                                                                                          Yes

08120383                           DOGE[2184.354], ETH[.047461], ETHW[.047461], GRT[3611.339], MATIC[19.98], SHIB[5389200], SOL[6.10797], USD[0.72], USDT[1256.68311837]

08120396                           USD[0.00], USDT[0]

08120435                           BTC[0.00235131], ETH[0.02612895], ETHW[0.02612895], SHIB[567304.48556467], SOL[2.13786000], USD[0.01]

08120437                           USD[1.03]

08120440                           SHIB[437431.82632786], TRX[1], USD[0.00]                                                                                                                                              Yes

08120442                           CUSDT[3], DOGE[1], USD[0.00]

08120448                           CUSDT[1], SOL[2.57911239], USD[0.01]                                                                                                                                                  Yes

08120464                           AAVE[.00946], ETH[.0449595], ETHW[.0449595], LINK[8.08821], USD[26.63]

08120467                           BTC[0], DAI[.03480395], ETHW[1.25], LINK[106.04786187], MATIC[320], SOL[.00000001], USD[1.16]

08120506                           DOGE[.875], ETH[.000727], ETHW[.000727], MATIC[9.67], SOL[.00924], USD[0.01], USDT[0]

08120517                           NFT (383365675678358410/Little Rocks #608)[1], NFT (449323419959106155/Little Rocks #702)[1]

08120520                           USD[3.29], USDT[0]

08120523                           BRZ[1], CUSDT[4], SOL[.00007232], USD[0.01], USDT[1.00260607]

08120533                           NFT (502015648877572418/Good Boy #11499)[1]

08120538                           SHIB[859445.42228321], USD[0.00]                                                                                                                                                      Yes

08120541                           USD[5.41]                                                                                                                                                                             Yes

08120543                           CUSDT[1], TRX[198.22878295], USD[1.00]

08120549                           ETH[.00000001], ETHW[0], USDT[4.4388606]

08120562                           USD[500.00]

08120572                           DOGE[45.94348403], USD[1.18]                                                                                                                                                          Yes

08120592                           USD[0.00]                                                                                                                                                                             Yes

08120598                           LINK[.52626773], USD[0.07]                                                                                                                                                            Yes

08120604                           USD[12.44]

08120609                           DOGE[5560], SHIB[21000000], USD[28.76]

08120618                           DOGE[0], ETH[0], MATIC[0], SHIB[0], SOL[0], TRX[0], USD[0.00], USDT[0.00000001]

08120624                           AAVE[2.9973], AVAX[2.39784], BTC[.07466355], ETH[.5908209], ETHW[.5908209], LINK[51.95725], LTC[11.48965], MATIC[520], PAXG[2.53874781], SOL[16.349776], USD[706.36]

08120661                           CUSDT[1], DOGE[1], ETH[.02376517], ETHW[.03845456], SHIB[1], SOL[.35007891], USD[0.47]                                                                                                Yes

08120668                           USD[0.00]

08120681                           AVAX[2.5974], BTC[.0272727], ETH[.151848], ETHW[.151848], MATIC[349.65], SOL[14.70528], TRX[1331.667], USD[509.10]

08120694                           USD[524.99]                                                                                                                                                                           Yes

08120709                           ETH[.00243244], ETHW[.00240506], USD[0.00]                                                                                                                                            Yes

08120712                           DOGE[182.865], ETH[1.449761], ETHW[1.449761], MATIC[69.98], SOL[1.42993], USD[2.77]

08120715                           USD[0.01]                                                                                                                                                                             Yes

08120720                           ETH[.09011526], ETHW[.09011526], SHIB[1], USD[111.89]

08120728                           BAT[1], BTC[.00111359], CUSDT[4], ETH[.22162701], ETHW[.22141087], SOL[1.05518704], SUSHI[2.64277105], TRX[1], USD[0.07]                                                              Yes
West Realm Shires Services Inc.                                                  Case 22-11068-JTD     Doc 1754
                                                                                             Amended Schedule            Filed
                                                                                                              F-3: Nonpriority    06/27/23
                                                                                                                               Unsecured          Page 1108 of 1384
                                                                                                                                         Customer Claims                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08120729                           CUSDT[1], MATIC[9.43232596], USD[0.00]                                                                                                                                        Yes

08120736                           DOGE[47.10172882], ETH[.00247117], ETHW[.00244381], USD[0.00]                                                                                                                 Yes

08120737                           SOL[2.16803777]                                                                                                                                                               Yes

08120742                           USD[0.00]

08120760                           USD[1.08]                                                                                                                                                                     Yes

08120788                           BAT[3.10836241], BRZ[4], ETHW[6.23488154], GRT[4041.63202595], TRX[5], USD[22727.12]                                                                                          Yes

08120791                           BF_POINT[300], NFT (309127998865209395/SLACC Gen 0 Ape #3624)[1], NFT (497122323747098227/Gorilla Millionaire Social Club312)[1], SHIB[3], SOL[0], USD[0.00]                  Yes

08120794                           USD[0.00]                                                                                                                                                                     Yes

08120801                           GRT[5.32513344], USD[0.00]                                                                                                                                                    Yes

08120813                           SOL[5.378272], USD[0.75]

08120814                           CUSDT[2], DOGE[1], ETH[.02340524], ETHW[.02340524], SOL[.22994482], UNI[2.32407003], USD[300.01]

08120818                           USD[50.58]                                                                                                                                                                    Yes

08120821                           SOL[.00000001], USD[1508.02]

08120838                           USD[0.17]

08120852                           BTC[0], CUSDT[1], DOGE[.00412815], USD[0.66]                                                                                                                                  Yes

08120863                           USD[54.08]                                                                                                                                                                    Yes

08120867                           BTC[.00062174], CUSDT[2], ETH[.00752698], ETHW[.00743122], SHIB[2], USD[0.00]                                                                                                 Yes

08120882                           BTC[.0000001], USD[1.23]

08120890                           NFT (422783224212105335/Little Rocks #1342)[1], SOL[.01532859]

08120900                           NFT (327775056404005556/Romeo #10845)[1], NFT (522243960378371516/Good Boy #10474)[1]

08120906                           USD[5.00]

08120913                           ETH[0]

08120923                           USD[0.00]

08120928                           DOGE[0.01351125], ETH[.00205284], ETHW[.00203232], NFT (336978436898832762/Serum Surfers X Crypto Bahamas #103)[1], NFT (454653776577014188/Miami Ticket Stub #939)[1], NFT   Yes
                                   (488773062150675007/Microphone #7)[1], NFT (494296868866689265/Barcelona Ticket Stub #1058)[1], NFT (554839349843271698/Crypto Bahamas | PEPPER ticket)[1], NFT
                                   (556305342753094483/Resilience #44)[1], USD[0.51]
08120929                           BTC[0]

08120931                           ETH[.00007517], TRX[.000016]                                                                                                                                                  Yes

08120933                           NFT (493057266450974170/Coachella x FTX Weekend 2 #969)[1], SHIB[1], USD[0.00]                                                                                                Yes

08120938                           BTC[0.00172931]

08120950                           USD[200.01]

08120960                           CUSDT[1], SOL[.14687969], USD[0.00]                                                                                                                                           Yes

08120961                           SOL[.02435421], USD[0.00]                                                                                                                                                     Yes

08120966                           BTC[0.00173150]

08120968                           BTC[0.00173202]

08120970                           BTC[.00017335]                                                                                                                                                                Yes

08120972                           USD[0.01], USDT[0.00000123]

08120976                           BTC[0.00173238]

08120990                           CUSDT[1], DOGE[1], SHIB[1], TRX[2], USD[252.91]                                                                                                                               Yes

08120996                           BRZ[1], CUSDT[1], NFT (416668898920117366/ApexDucks #657)[1], NFT (486625259023914162/Gangster Gorillas #6439)[1], NFT (511259189917910087/Gangster Gorillas #3443)[1],       Yes
                                   SOL[.07058363], USD[0.02]
08121015                           BAT[1], CUSDT[2], DOGE[1], KSHIB[2059.76094898], SHIB[5], SOL[.19096737], TRX[2], USD[0.00]

08121019                           BCH[0], BTC[.00003147], USD[0.70], WBTC[0.00000976]                                                                                                                           Yes

08121021                           AVAX[.4], BTC[0], DOGE[11], SHIB[2182324.0589198], SOL[26.64803825], USD[0.38]

08121023                           USD[100.00]

08121028                           BTC[0.00172744]

08121038                           BTC[0.00189754]                                                                                                                                                               Yes

08121047                           BTC[0.00172409]

08121051                           SHIB[900000], USD[3.20]

08121052                           CUSDT[4], DOGE[2], ETH[0], SHIB[1609034.05412842], TRX[1], USD[0.00], USDT[41.22824629]                                                                                       Yes
West Realm Shires Services Inc.                                                       Case 22-11068-JTD     Doc 1754
                                                                                                  Amended Schedule            Filed
                                                                                                                   F-3: Nonpriority    06/27/23
                                                                                                                                    Unsecured          Page 1109 of 1384
                                                                                                                                              Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08121058                              NFT (292771800739957972/Mascaron. #079. Aztec)[1], NFT (294564946495209929/Mascaron. #097. Do)[1], NFT (295508775056746916/Mascaron. #098. Re)[1], NFT
                                      (298167649902029683/Mascaron. #086. Firestarter)[1], NFT (298872048606431349/Mascaron. #033. Nebula)[1], NFT (300970911182672332/Mascaron. #038. Moonsnake)[1], NFT
                                      (303467942681656484/Mascaron. #054. Moonshake)[1], NFT (305454812425616846/Mascaron. #057. Octagon)[1], NFT (308693417522348171/Mascaron. #102. La)[1], NFT
                                      (314935122644658615/Mascaron. #019. Emperor of Sun)[1], NFT (315421073251939741/Mascaron. #073. Theorem)[1], NFT (319868863171622583/Mascaron. #011. Tornado)[1], NFT
                                      (323091308915056280/Mascaron. #006. Octane)[1], NFT (323571422706717209/Mascaron. #035. Paul Terr Gates)[1], NFT (326711762928869210/Mascaron. #089. No fate)[1], NFT
                                      (331366879688872362/Mascaron. #025. Neuroshock)[1], NFT (332022222926602842/Mascaron. #016. Liquid)[1], NFT (346007031899587873/Mascaron. #004. Error 404)[1], NFT
                                      (356007989125784765/Mascaron. #005. Morpheus)[1], NFT (356232469667841212/Mascaron. #009. Tesla)[1], NFT (362608469221164091/Mascaron. #081. Prisoner of loneliness)[1], NFT
                                      (365759712485919259/Mascaron. #088. Roadside picnic)[1], NFT (367294254622844581/Mascaron. #078. The other side of the Moon)[1], NFT (369715041319425156/Mascaron. #053. Monotaur)[1],
                                      NFT (371178576136201659/Mascaron. #099. Mi)[1], NFT (372677935475541110/Mascaron. #050. Chaoscreeder)[1], NFT (373816553905711404/Mascaron. #018. Miss Melange)[1], NFT
                                      (375550570449752012/Mascaron. #049. GurgleSurgle)[1], NFT (376827984030868445/Mascaron. #072. Who am I?)[1], NFT (381140306105883399/Mascaron. #059. Generalf)[1], NFT
                                      (381709484631547032/Mascaron. #043. Princess of Antares)[1], NFT (386003078261302148/Mascaron. #037. Sir Riusse)[1], NFT (386333336577857472/Mascaron. #101. Sol)[1], NFT
                                      (389191452881021801/Mascaron. #083. Quadro)[1], NFT (390868853287390131/Mascaron. #085. Power of pressure)[1], NFT (391083846357390306/Mascaron. #090. Catch your smile)[1], NFT
                                      (392717851749810935/Mascaron. #036. Vasilisk)[1], NFT (393974302608657344/Mascaron. #092. Million camomiles from home)[1], NFT (394973299419276665/Mascaron. #096. Bolero)[1], NFT
                                      (407496595449845760/Mascaron. #010. Greenolla)[1], NFT (410509852498475438/Mascaron. #030. Volcannon)[1], NFT (414331027160705509/Mascaron. #074. PRSPCTV)[1], NFT
                                      (417000601916419833/Mascaron. #061. Hydrogen)[1], NFT (417450970737622841/Mascaron. #077. Fractal)[1], NFT (418461860562574988/Mascaron. #065. Futuris)[1], NFT
                                      (418793460187654869/Mascaron. #024. Cryptox)[1], NFT (423588871298797440/Mascaron. #020. Greeder)[1], NFT (425917724765841832/Mascaron. #021. Where is my 8th tentacle?)[1], NFT
                                      (428514311664708310/Mascaron. #058. Flexigator)[1], NFT (431436397883397798/Mascaron. #087. Mishmash)[1], NFT (434538976336733957/Mascaron. #041. 19860426212347)[1], NFT
                                      (434594182714168509/Mascaron. #060. Deathender)[1], NFT (437419558032860021/Mascaron. #013. Neptune #2)[1], NFT (444226697943154707/Mascaron. #032. Clusterra)[1], NFT
                                      (447439535651186938/Mascaron. #094. Symbiosis)[1], NFT (448426826571614735/Mascaron. #047. Major B)[1], NFT (449600438279023759/Mascaron. #008. Sahara)[1], NFT
                                      (451415791322147768/Mascaron. #063. T2O)[1], NFT (451939141720894549/Mascaron. #095. Perpetual motion)[1], NFT (453144386400716538/Mascaron. #013. Neptune)[1], NFT
                                      (455114456806267587/Mascaron. #048. Acidorra)[1], NFT (459992560374254465/Mascaron. #055. Lavalove)[1], NFT (461811725605578362/Mascaron. #075. Indigo)[1], NFT
                                      (467584127204685704/Mascaron. #029. Aggressor)[1], NFT (473429353406675644/Mascaron. #007. Hirosaki)[1], NFT (479434648004754115/Mascaron. #012. Bonecracker)[1], NFT
                                      (482343057676549645/Mascaron. #046. Sadnessa)[1], NFT (482564308951659749/Mascaron. #031. Textolight)[1], NFT (483839600062770870/Mascaron. #002. Niagara)[1], NFT
                                      (485077749754979095/Mascaron. #084. Forgive me)[1], NFT (487996003639651698/Mascaron. #003. Enigma)[1], NFT (488789089137370816/Mascaron. #017. Madame Mystique)[1], NFT
                                      (494205682671138064/Mascaron. #066. Fatal Sorceress)[1], NFT (500220656657901445/Mascaron. #069. Genesis)[1], NFT (506820526132488993/Mascaron. #093. Picrictea)[1], NFT
                                      (507823379361590238/Mascaron. #056. Major R)[1], NFT (507863241185071943/Mascaron. #023. Titanium)[1], NFT (508384884565531513/Mascaron. #051. July Jo)[1], NFT
                                      (508675625492685614/Mascaron. #040. Technopix)[1], NFT (508762386348854974/Mascaron. #039. Cleo)[1], NFT (509080870289914059/Mascaron. #080. Harlequin)[1], NFT
                                      (509881576047091282/Mascaron. #076. Genghis)[1], NFT (514118711935921871/Mascaron. #082. My name is Isaac)[1], NFT (520030892475409540/Mascaron. #014. Phobos)[1], NFT
                                      (521940058856148436/Mascaron. #064. Granny Agata)[1], NFT (523997765661453070/Mascaron. #103. Si)[1], NFT (524946704966273156/Mascaron. #067. Voodoo magic)[1], NFT
                                      (535768699891135501/Mascaron. #045. Morozko)[1], NFT (541166271026664071/Mascaron. #026. Turbulence)[1], NFT (543814649411183135/Mascaron. #071. Voice in the dark)[1], NFT
                                      (543994188553931122/Mascaron. #044. Napalm Skin)[1], NFT (548387783099895103/Mascaron. #015. Juicy Loo)[1], NFT (548929766853563410/Mascaron. #068_Sing and shine)[1], NFT
                                      (552676219552096438/Mascaron. #034. Microbyte)[1], NFT (558329372524910638/Mascaron. #028. Phantomiss)[1], NFT (558967710402869522/Mascaron. #062. Gravity Frog)[1], NFT
                                      (559684809273900690/Mascaron. #052. Infinity)[1], NFT (560920982671203915/Mascaron. #091. Mercury King)[1], NFT (564355964440973420/Mascaron. #100. Fa)[1], NFT
                                      (568651115529575272/Mascaron. #042. Don Carbon)[1], NFT (568964528971213898/Mascaron. #001. Aurelia)[1], NFT (571503903367693001/Mascaron. #070. Makhaon)[1], NFT
                                      (575846799189105277/Mascaron. #027. Utopia)[1], NFT (576355831664612245/Mascaron. #022. Metamorph)[1], SOL[0], USD[0.00]
08121059                              CUSDT[4], KSHIB[.00002591], NFT (334806111654050916/Doak Walker's Playbook: Cleveland Brown vs. Detroit Lions - December 27, 1953 #84)[1], SUSHI[.00002573], USD[0.10]

08121068                              BTC[0.00172653]

08121076                              SOL[7.52231133]

08121080                              BTC[0.11299255], ETH[1.1259512], ETHW[1.1259512], USD[2.28]

08121083                              CUSDT[2], USD[0.00]                                                                                                                                                                      Yes

08121085                              CUSDT[1], NFT (569553984899360567/Shannon Sharpe's Playbook: Kansas City Chiefs vs Denver Broncos - October 4, 1992 #107)[1], SHIB[621890.54726368], TRX[103.43284296], USD[0.00]

08121087                              BTC[0.00172740]

08121098                              USD[1.00]

08121099                              ETH[0], USD[0.00]

08121107                              CUSDT[1], SOL[5.04249544], TRX[1], USD[0.14]                                                                                                                                             Yes

08121108                              ALGO[725.4808198], BTC[.08054754], CUSDT[38], DOGE[6], ETH[.02595672], ETHW[1.40209002], SHIB[15], SOL[3.57385544], TRX[3], USD[154.06]                                                  Yes

08121114                              CUSDT[5], DOGE[1], SHIB[2], TRX[3], USD[0.01]                                                                                                                                            Yes

08121120                              USD[50.01]

08121121                              USD[20.82]

08121124                              SHIB[9], TRX[1], USD[0.01]                                                                                                                                                               Yes

08121129                              BTC[.00687637], CUSDT[1], USD[0.00]

08121133                              USD[199.60]

08121147                              BAT[1], BRZ[3], CUSDT[1], DOGE[1.04581055], ETH[.00001831], ETHW[.00001831], LTC[.00001822], MATIC[.00576866], SHIB[1584.93300242], TRX[5], USD[0.00], USDT[1.01684335]                  Yes

08121154                              BTC[.00295512], USD[0.00]                                                                                                                                                                Yes

08121158                              BRZ[1], CUSDT[1], LINK[3.4503163], SHIB[968992.24806201], USD[0.01]

08121165                              USD[0.00]

08121174                              CUSDT[1], SHIB[2071852.78361489], USD[0.00]                                                                                                                                              Yes

08121176                              ETH[.00014032], ETHW[.00014032], USD[0.05]

08121179       Contingent, Disputed   ETH[0.00000001], SHIB[0], SOL[0.00012098], USD[0.00]

08121182                              CUSDT[1], ETH[.00000001], ETHW[.00000001], USD[0.00]                                                                                                                                     Yes

08121183                              BTC[0.00172757]

08121195                              CUSDT[1], USD[0.00]

08121196                              BTC[0]

08121201                              BF_POINT[100]

08121203                              BTC[0.00189969]                                                                                                                                                                          Yes

08121204                              ETH[.00000001], SOL[0.15304521], USD[0.00], USDT[0.00000034]

08121206                              BTC[0.00188892]                                                                                                                                                                          Yes

08121216       Contingent, Disputed   USD[0.00]

08121224                              BTC[.00000009], CUSDT[2], DOGE[1], ETH[.00000111], ETHW[.1214897], SHIB[2], USD[0.00]                                                                                                    Yes

08121225                              BTC[0.00173084]

08121233                              ETHW[.11881376]                                                                                                                                                                          Yes
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                                                                                                                                             Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08121236                              NFT (335657819067770906/SBF Hair & Signature #4 #102)[1], NFT (448917735034808449/SBF Hair & Signature #6 #33)[1], NFT (523917695418048443/SBF Hair & Signature #5 #55)[1]

08121242                              USD[0.00]

08121244                              BTC[0.00172649]

08121245                              BRZ[6.3851371], ETH[0], ETHW[0], USDT[0]

08121246                              BTC[0], SHIB[1], USD[28.12]

08121249                              BTC[0.00172656]

08121253                              BTC[0.00172473]

08121255                              BTC[0.00172593]

08121258                              BTC[0.00172577]

08121262                              BTC[.00045243], CUSDT[4], ETH[.00646971], ETHW[.00638763], SHIB[3769304.65001296], USD[0.29]                                                                                            Yes

08121272                              BTC[.0001716], DOGE[47.0489945], USD[10.75]                                                                                                                                             Yes

08121277                              SHIB[98346.50190272], USD[1.80], USDT[.88741462]

08121282                              NFT (431751500477582524/#4316)[1]

08121289                              CUSDT[1927.49510265], ETH[.00004372], ETHW[.00004372], USD[0.00]                                                                                                                        Yes

08121301                              BTC[0.00172099]

08121306                              BAT[1], CUSDT[5], DOGE[3], ETH[.01292897], ETHW[.01292897], SHIB[480122.91146533], TRX[1], USD[0.00], USDT[0]

08121307                              BRZ[6.03655298], DOGE[22.82196222], ETH[.00183476], ETHW[.0018074], GRT[2.10830813], MATIC[1.00810091], NFT (559789256215144757/Beautiful 4)[1], SOL[.01107988], USD[4.30]              Yes

08121320                              USD[134.94]                                                                                                                                                                             Yes

08121323                              BRZ[1], BTC[0.00040929], DOGE[2], TRX[1], USD[1121.97]

08121325                              BTC[.0001], ETH[.012], ETHW[.012], USD[6.55]

08121330                              USD[0.00]

08121333                              SHIB[10757279.8527776]                                                                                                                                                                  Yes

08121336                              USD[0.11]                                                                                                                                                                               Yes

08121340                              DOGE[1], ETH[0.00586855], ETHW[0.00580015], USD[0.00]                                                                                                                                   Yes

08121344                              ETHW[.00090055], USD[3.82]

08121354                              SOL[0], USD[2.77]

08121358                              CUSDT[1], DOGE[1], TRX[4172.66635876], USD[0.00]                                                                                                                                        Yes

08121361                              BTC[0]                                                                                                                                                                                  Yes

08121364                              BTC[0.00172152]

08121365                              BTC[0.00172334]

08121387                              BTC[0.00172005]

08121388                              BTC[0.00172078]

08121389                              CUSDT[1], USD[0.00]

08121390       Contingent, Disputed   BAT[.00025824], TRX[7.35644918], USD[0.00], USDT[0]                                                                                                                                     Yes

08121394                              BTC[.0453461], CUSDT[1], SHIB[2], TRX[2], USD[0.00]                                                                                                                                     Yes

08121398                              SOL[.24364048], USD[0.00]

08121399                              BTC[.0016983], ETH[.022977], ETHW[.022977], USD[3.03]

08121400                              BTC[.0276], ETH[.3976418], ETHW[.3976418], USD[4.93]

08121401                              BTC[0.00172151]

08121407                              BTC[0.00172227]

08121408                              USD[2.65]                                                                                                                                                                               Yes

08121422                              USD[11.97]                                                                                                                                                                              Yes

08121426                              BF_POINT[100], USD[121.45]

08121429                              TRX[.000001]

08121435                              BTC[0.00172195]

08121443                              CUSDT[1], GRT[1.00019173], MATIC[234.30357023], USD[340.47]                                                                                                                             Yes

08121453                              ETH[13.393405], ETHW[13.393405], USD[3.64]

08121468                              BTC[.00015443], CUSDT[406.30068111], DAI[11.92276814], TRX[122.46371248], USD[0.01], USDT[9.94009976]

08121473                              BTC[0.00189785], NFT (372173935727737776/2021 Sports Illustrated Awards #133)[1]                                                                                                        Yes

08121474                              CUSDT[4], DOGE[460.65886818], ETH[.04750669], ETHW[.04691845], KSHIB[419.33846421], SHIB[452962.03266395], SOL[.74216803], SUSHI[2.37620829], TRX[3], UNI[.97171425], USD[1.23]         Yes

08121482                              DOGE[1], ETH[.02275276], ETHW[.02246548], USD[0.00]                                                                                                                                     Yes

08121486                              NFT (297513916666172746/Christmas Angel#005)[1], NFT (302938717207611642/Heavenly water#004)[1], NFT (314491273059457759/Heavenly water#016)[1], NFT (317542162919523172/Christmas
                                      Angel#007)[1], NFT (365728471817995403/Christmas Angel#006)[1], NFT (377758795480535343/Christmas Angel#004)[1], NFT (385582922240716705/Right Now #44/47)[1], NFT
                                      (400162112810486261/4 Fingers #16/47)[1], NFT (403623706193542474/Australia Ticket Stub #1195)[1], NFT (411698764326553302/ Heavenly water#069)[1], NFT (429261617187197637/Christmas
                                      Angel#003)[1], NFT (471698334168087884/Christmas Angel#002)[1], NFT (472550059229476083/ Heavenly water#021)[1], NFT (492471410263598785/Heavenly water#035)[1], NFT
                                      (530916683559273889/May be #19/47)[1], NFT (541854223237026577/Heavenly water#025 #2)[1], NFT (542463213770330450/I know #32/47)[1], NFT (547279869559164074/Heavenly water#051)[1],
                                      NFT (559983317547142623/ Heavenly water#030)[1], NFT (564353882762637734/Christmas Angel#001)[1], NFT (564626745208667177/The Hill by FTX #5201)[1], USDT[0]

08121488                              CUSDT[8724.70593845], USD[0.10], USDT[0.09733970]

08121502                              CUSDT[3], DOGE[1], SOL[.00000188], TRX[1], USD[39.82]                                                                                                                                   Yes

08121508                              BTC[0], CAD[0.00], ETH[0], ETHW[0], SOL[0], USD[16.60], USDT[0]                                                                                                                         Yes
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08121514                           BTC[.00526605], SOL[.3501659]                                                                                                                                                              Yes

08121515                           CUSDT[2], DOGE[1], MATIC[199.50573845], SHIB[2896450.60856843], USD[0.00]                                                                                                                  Yes

08121524                           USD[0.00]

08121529                           SOL[.09163383]

08121530                           CUSDT[1], TRX[1], USD[0.01]

08121531                           CUSDT[2], ETH[.02454225], ETHW[.02454225], TRX[1], USD[0.00]

08121543                           BTC[0.00189499]                                                                                                                                                                            Yes

08121545                           USD[0.72]

08121549                           BTC[0], ETH[0.00018989], ETHW[0.00018989], USD[0.00], USDT[0]                                                                                                                              Yes

08121550                           ETH[1.05549157], ETHW[1.01742628], MATIC[0], SHIB[43.6972802], TRX[1], USD[0.00], USDT[0]                                                                                                  Yes

08121554                           USD[0.00]

08121556                           CUSDT[2], SOL[.21754223], USD[0.00]

08121560                           USD[0.01]                                                                                                                                                                                  Yes

08121579                           LINK[.0145], USD[0.01]

08121582                           GRT[38.55532029], LINK[.55994749], SHIB[42871697.05655695]                                                                                                                                 Yes

08121590                           BTC[0], CUSDT[1], MATIC[60.51563588], TRX[1], USD[0.00]

08121591                           BTC[0], CUSDT[1], USD[0.00]                                                                                                                                                                Yes

08121595                           BTC[0]

08121596                           BTC[0.00189190]                                                                                                                                                                            Yes

08121601                           BTC[0.00171732]

08121611                           BF_POINT[300], MATIC[180.0120711], SHIB[89069.58697928], USD[0.00], USDT[0]                                                                                                                Yes

08121612                           AAVE[1.06], BTC[.1413926], ETH[.296703], ETHW[.296703], USD[761.63], USDT[.00059037]

08121618                           NFT (333318842377055555/FTX - Off The Grid Miami #2977)[1]

08121623                           USD[0.01]                                                                                                                                                                                  Yes

08121628                           BTC[0], SOL[0], USD[0.00]                                                                                                                                                                  Yes

08121641                           BTC[.01339576], USD[0.00]

08121656                           BTC[0.00171467]

08121658                           BRZ[1], CUSDT[3], DOGE[2], TRX[1], USD[0.00]                                                                                                                                               Yes

08121660                           USD[0.35]

08121677                           DOGE[1], SHIB[8172160.17433941], USD[0.00]

08121679                           ETH[0], USD[720.00], USDT[0]

08121681                           BTC[.0341658], ETH[.630369], ETHW[.630369], LTC[2.91], SOL[23.98], USD[6.68]

08121689                           USD[21.62]                                                                                                                                                                                 Yes

08121693                           BTC[.00030137], CUSDT[2], ETH[.00248894], ETHW[.00246158], KSHIB[100.10222439], LINK[.18500348], PAXG[.00277021], SOL[.05439034], USD[5.39]                                                Yes

08121694                           USD[2.16]                                                                                                                                                                                  Yes

08121700                           DOGE[24.15532095], ETH[.00874497], ETHW[.00863553], MATIC[.04669714], SHIB[.00046334], SOL[.07345521], USD[10.25]                                                                          Yes

08121709                           ETH[.00252675], ETHW[.00249939], USD[0.60]                                                                                                                                                 Yes

08121711                           NFT (315255506719295971/Fantasy Universe)[1], NFT (319735159370560156/Celestial Battle)[1], NFT (396826745462155679/AI Lava Ocean)[1], NFT (397745225635780680/Astro Stones #22)[1], NFT
                                   (534237379061445652/AI Space Cadet)[1], USD[0.00], USDT[0.00000064]
08121715                           BTC[.0252], USD[0.00]

08121716                           USD[50.01]

08121720                           BTC[.00000075], DOGE[3], GRT[1], NFT (319850240763577265/Ape #9995)[1], NFT (421194916945439734/FTX Cap)[1], NFT (560607440597841470/Banana Boost)[1], SOL[1.92689338], TRX[1],            Yes
                                   USD[159.63], USDT[1.01865333]
08121726                           BTC[0.00171782]

08121727                           NFT (549851829031887539/Scene #0042 | Timeline #4)[1]

08121734                           BTC[0.00171767]

08121736                           DOGE[1], GRT[1.00019173], USD[0.00]                                                                                                                                                        Yes

08121737                           BTC[0.00171771]

08121738                           BTC[0.00188801]                                                                                                                                                                            Yes

08121739                           CUSDT[2], DOGE[3], ETHW[.12339667], USD[0.01], USDT[1.08128016]                                                                                                                            Yes

08121741                           USDT[13.21273481]

08121743                           BRZ[1], BTC[.0011677], CUSDT[7], DOGE[92.68234822], ETH[.00316162], ETHW[.00312058], KSHIB[57.58428179], MATIC[.00266052], SHIB[617409.23424282], USD[0.82]                                Yes

08121752                           ETH[.0000182], ETHW[.0120646], USD[386.75]

08121759                           BTC[.00839202], USD[4.40]

08121766                           USD[1.00]

08121768                           CUSDT[2], SHIB[4406415.22735283], TRX[723.33539789], USD[0.00]

08121779                           CUSDT[1], DOGE[170.13944671], USD[110.00]

08121780                           DOGE[0], SHIB[0], USD[0.00]

08121786                           USD[0.39], USDT[1]

08121796                           ETH[0.00000663], USD[1.41]                                                                                                                                                                 Yes
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08121797                              BTC[0.00171575]

08121800                              BTC[0.00171695]

08121802                              SOL[0]

08121808                              USD[10.00]

08121812                              TRX[.000027]

08121819       Contingent, Disputed   BAT[1.0100777], BCH[0], BTC[.00000004], CUSDT[3], DOGE[7.12005601], ETH[.00000114], ETHW[.00000114], GRT[2.019859], TRX[7], USD[88.31], USDT[2.15052087]                               Yes

08121820                              BTC[0.00171624]

08121822                              DOGE[1], SHIB[2], USD[0.92]                                                                                                                                                            Yes

08121829                              BTC[0.00188596]                                                                                                                                                                        Yes

08121830                              MATIC[50], USD[8.96]

08121836                              USD[0.00]

08121839                              USDT[0.00000001]

08121840                              SHIB[0], SOL[0.00000001], USD[0.17]

08121846                              USD[0.00]                                                                                                                                                                              Yes

08121849                              SHIB[.96092967], USD[11.95], USDT[0.00009182]                                                                                                                                          Yes

08121869                              BTC[.00568446], USD[0.02]                                                                                                                                                              Yes

08121892                              USD[10.01]                                                                                                                                                                             Yes

08121895                              ETH[0.00278158], ETHW[0.00274054], USD[0.00]                                                                                                                                           Yes

08121906                              BTC[.0000855], CUSDT[1], ETH[.00247646], ETHW[.0024491], SOL[.2134996], USD[0.00]                                                                                                      Yes

08121910                              BTC[.0206102], DOGE[1069], USD[0.36]

08121913                              BRZ[1], BTC[.00439537], CUSDT[2], ETH[.11584507], ETHW[.11472063], USD[0.00]                                                                                                           Yes

08121919                              BTC[.00172921], CUSDT[6], DOGE[1], ETH[.01387277], ETHW[.01369493], SOL[.1671884], USD[0.00]                                                                                           Yes

08121927                              USD[0.01], USDT[0]                                                                                                                                                                     Yes

08121932                              BTC[.00000048], CUSDT[1], USD[0.00]                                                                                                                                                    Yes

08121939                              DOGE[3], ETH[0], ETHW[0.10230537], GRT[2], SHIB[58], TRX[13], USD[0.01], USDT[0]                                                                                                       Yes

08121945                              ETH[0.13610380], ETHW[0.13610380], SHIB[2698900], USD[2.35]

08121965                              BTC[.00000002], SOL[.0025368], USD[0.00], USDT[0.00000033]                                                                                                                             Yes

08121967                              BTC[.0027693], ETH[.06821187], ETHW[.06821187], LTC[.7843354], SOL[.77348252], TRX[1515.75669037], USD[0.00]

08121977                              BTC[.668961], SOL[5.1], USD[43.88]

08121982                              BRZ[1], CUSDT[1], DOGE[3], USD[0.00]

08121992                              ETH[.19957353], SOL[6.637036], USD[491.54]

08121993                              BTC[.00472989], USD[1.44]                                                                                                                                                              Yes

08122003                              USD[0.00], USDT[5934.20214745]

08122021                              SOL[2.6349741]

08122022                              DOGE[0], USD[0.15]                                                                                                                                                                     Yes

08122037                              USD[0.11]

08122038                              ALGO[1.81459004], BAT[1.89205017], BTC[0], DOGE[3], ETH[0.00076723], ETHW[0.00075787], KSHIB[.92236523], MATIC[1.71455425], SHIB[4], SOL[0], USD[0.00], USDT[0.00000001]               Yes

08122040                              GRT[8.67588014], USD[0.00], USDT[.00608361]

08122044                              BTC[.0000016], ETH[.00001189], ETHW[1.30221894], LINK[1.35619644], SHIB[.00000036]                                                                                                     Yes

08122058                              BTC[0.00172714]

08122059                              BTC[0.00172678]

08122063                              BTC[.02858048], MATIC[374.91382369], SOL[9.50449704], USD[0.00]

08122071                              BRZ[1], DOGE[1], USD[0.02]

08122078                              BTC[.00170045], CUSDT[12], ETH[.00853235], ETHW[.00842291], GRT[30.90749882], MATIC[15.11964296], MKR[.01047905], PAXG[.00692652], SOL[.11854903], TRX[1], USD[0.00], YFI[.00068002]   Yes

08122080                              ETH[.00000001], ETHW[0], NFT (358501851568669500/Coachella x FTX Weekend 1 #21777)[1]

08122082                              USD[0.44]

08122087                              ETH[4.52058128], ETHW[4.52058128], USD[1430.95]

08122089                              USD[10.81]                                                                                                                                                                             Yes

08122090                              BRZ[1], CUSDT[2], USD[455.24], USDT[0]                                                                                                                                                 Yes

08122106                              BTC[0.00245165], ETH[0.02373351], ETHW[0.02373351], USD[0.00], USDT[0.00002729]

08122108                              USD[0.01]

08122111                              BTC[0], ETH[0.00044802], ETHW[0.00044801], SOL[0], USD[0.00], USDT[0]

08122127                              USD[0.00], USDT[0]

08122128                              USD[0.07]

08122142                              BTC[0.00172663]

08122145                              SOL[4.95331995], USD[0.00], USDT[1.08119132]                                                                                                                                           Yes

08122146                              BTC[0], SHIB[1], USD[28.90]

08122147                              BRZ[1], CUSDT[1], DOGE[2], SOL[.02774935], USD[0.00]                                                                                                                                   Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08122156                              SOL[.07082524], USD[0.00]                                                                                                                                                    Yes

08122159                              DOGE[1], SOL[2.18318264], USD[0.01]

08122161                              CUSDT[5.9578515], DOGE[1], GRT[219.87944501], SHIB[9994732.13338766], TRX[1], USD[0.07]                                                                                      Yes

08122164                              USD[10.00]

08122181                              BTC[0.00172588]

08122183                              BCH[0], BRZ[0], BTC[0], CUSDT[0], DOGE[0], ETH[0], ETHW[0], GRT[0], KSHIB[0], LINK[0], MATIC[0], MKR[0], PAXG[0], SHIB[0], SOL[0], TRX[0], USD[0.00]                         Yes

08122191                              BTC[0], DAI[0]

08122194                              ETHW[3.11410431], USD[11.77]                                                                                                                                                 Yes

08122200                              CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                 Yes

08122201                              CUSDT[4], DOGE[90.69992793], USD[0.00]

08122210                              BTC[0], CUSDT[1], SOL[0.50543739]                                                                                                                                            Yes

08122218                              ETH[.04941588], ETHW[0.04941587]

08122222                              CUSDT[11], TRX[2], USD[0.00]                                                                                                                                                 Yes

08122230                              CUSDT[1], USD[0.00]                                                                                                                                                          Yes

08122239       Contingent, Disputed   BTC[0], USD[0.00]

08122241                              AVAX[0], DOGE[1], TRX[2], USD[0.00]                                                                                                                                          Yes

08122246                              USD[0.00]

08122248                              BTC[.01093574], USD[10.00]

08122249                              TRX[.000001], USDT[0.00000015]

08122253                              NFT (411563781167282695/Humpty Dumpty #1049)[1], USD[0.00]

08122254                              NFT (334839209722388175/SBF Hair & Signature #5 #56)[1], NFT (500098784279137825/SBF Hair & Signature #4 #103)[1], NFT (549360168405871053/SBF Hair & Signature #6 #34)[1]

08122256                              SHIB[217516.43389755], USD[10.82]                                                                                                                                            Yes

08122258                              BCH[.00000016], USD[0.00]                                                                                                                                                    Yes

08122259                              SOL[.00000001]

08122263                              BTC[.00001212], LTC[.00931714], SOL[.01011143], USD[0.00]

08122269                              BRZ[1.00003481], DOGE[1], SHIB[8], USD[0.00]                                                                                                                                 Yes

08122272                              CUSDT[3], USD[279.44]

08122273       Contingent, Disputed   BTC[.00000102], USD[0.00], USDT[1.08106301]                                                                                                                                  Yes

08122277                              BRZ[1], CUSDT[1], SHIB[4], TRX[101.88945866], USD[0.00]                                                                                                                      Yes

08122281                              SHIB[5163250.04522199]

08122293                              USD[0.00]

08122304                              BRZ[1], CUSDT[4], SOL[0], USD[0.03], USDT[0.00000212]                                                                                                                        Yes

08122305                              BTC[0.00172450]

08122316                              BTC[0.00189595]                                                                                                                                                              Yes

08122319                              USD[2.11]

08122322                              BTC[0.00189697]                                                                                                                                                              Yes

08122326                              USD[0.00], USDT[0]

08122336                              USD[20.00]

08122338                              USD[21.51]                                                                                                                                                                   Yes

08122342                              BTC[0.00189683]                                                                                                                                                              Yes

08122345                              USD[108.13]                                                                                                                                                                  Yes

08122348                              BAT[1.00304575], USDT[0]                                                                                                                                                     Yes

08122350       Contingent, Disputed   BTC[0], DOGE[0], KSHIB[0], USD[0.00]                                                                                                                                         Yes

08122361                              ETH[0], USD[0.00]

08122362                              BTC[.0047], USD[0.33]

08122369                              BTC[.0126935], USD[1000.93]

08122370                              BTC[0.00172957]

08122373                              BTC[0], ETH[.02520632], ETHW[.02489168], SHIB[2], USD[0.00]                                                                                                                  Yes

08122374                              SHIB[1], TRX[1], USD[312.95]                                                                                                                                                 Yes

08122378                              USD[0.00]

08122382                              USD[20.00]

08122393                              BTC[0.00172762]

08122394                              USD[10.81]                                                                                                                                                                   Yes

08122398                              BTC[.00085605], ETH[.01151116], ETHW[.01151116], USD[0.00]

08122399                              CUSDT[1], MATIC[24.62227613], USD[0.00]                                                                                                                                      Yes

08122407                              ETHW[.00234471], USD[53.78]                                                                                                                                                  Yes

08122424                              CUSDT[1], USD[0.00]                                                                                                                                                          Yes

08122428                              ETH[0]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08122440                           CUSDT[1], SHIB[221461.64686933], USD[0.00]

08122442                           USD[1.52]

08122449                           USD[0.18]

08122451                           BTC[0.00189448]                                                                                                                                                  Yes

08122455                           USD[200.00]

08122458                           CUSDT[1], DOGE[2285.54688259], USD[0.01]                                                                                                                         Yes

08122459                           BTC[0.00189357]                                                                                                                                                  Yes

08122462                           USD[3.49]

08122463                           USD[14.43]                                                                                                                                                       Yes

08122478                           SOL[.10995], USD[4.20]

08122497                           SOL[4], SUSHI[89.4], USD[344.12]

08122498                           BTC[0.00172342]

08122505                           BTC[.00042952], CUSDT[2], ETH[.00809575], ETHW[.00809575], SOL[.04612281], TRX[2], USD[0.00]

08122506                           BRZ[2], CUSDT[2], TRX[1], USD[0.00]                                                                                                                              Yes

08122508                           BTC[.00414839], CUSDT[4], SOL[1.04394465], USD[0.00]                                                                                                             Yes

08122509                           BF_POINT[100], BTC[0.00000029], SOL[0], USD[0.00], USDT[0.00000001]

08122511                           CUSDT[1], KSHIB[303.71670277], USD[0.00]                                                                                                                         Yes

08122512                           SOL[0], USD[0.00]

08122515                           CUSDT[5], MATIC[23.10045378], NFT (426954885940931451/Saudi Arabia Ticket Stub #593)[1], SOL[0.00000258], USD[0.00], USDT[0.00000163]                            Yes

08122519                           BTC[0], USD[3.50]

08122526                           USD[0.01]                                                                                                                                                        Yes

08122533                           USD[15.00]

08122536                           LTC[.01998], SOL[2.29], USD[0.20]

08122538                           BRZ[1], BTC[.04777147], CUSDT[7], DOGE[5.00009132], ETH[.76963452], ETHW[.76931114], SOL[2.41895083], TRX[3], USD[1822.67]                                       Yes

08122542                           USD[540.49]                                                                                                                                                      Yes

08122546                           BTC[0], ETH[0.00428062], USD[0.00]

08122550                           ETH[.05660351], ETHW[.05660351], USD[7.01]

08122552                           BTC[0.00189726]                                                                                                                                                  Yes

08122558                           BTC[0.00172656]

08122560                           USD[0.00]

08122562                           BTC[0.00172470]

08122563                           BTC[.00464238], CUSDT[2], DOGE[1], ETH[.01885805], ETHW[.01862532], SHIB[578540.21191539], USD[0.01]                                                             Yes

08122564                           BTC[0.00173451]

08122566                           BTC[0.00189590]                                                                                                                                                  Yes

08122582                           BTC[.0002], ETH[.002], ETHW[.002], LINK[2.0979], LTC[.55], NEAR[3], SOL[1.04], SUSHI[4.995], TRX[207], UNI[6], USD[3.74]

08122584                           BRZ[1], CUSDT[5], ETHW[.04054861], SHIB[2], USD[0.50], USDT[0]                                                                                                   Yes

08122590                           BTC[0.00189800]                                                                                                                                                  Yes

08122594                           BTC[0.00189805]                                                                                                                                                  Yes

08122603                           USD[0.00], USDT[0.00000056]

08122608                           CUSDT[1], TRX[1], USD[0.00]

08122611                           SOL[.06], USD[0.00]

08122612                           USD[2.89]

08122614                           BTC[0]

08122615                           BAT[1], BRZ[3], CUSDT[7], DOGE[1.40295482], MATIC[1], SHIB[222.14644217], SOL[.00057315], TRX[7], USD[0.00], USDT[0]

08122619                           AAVE[0], AVAX[0], BAT[0], BCH[0], BTC[0], DOGE[1], ETH[0.00000008], ETHW[0.00000008], LINK[0], PAXG[0], SHIB[24], SOL[0], SUSHI[0], TRX[0], USD[0.00], YFI[0]    Yes

08122622                           BTC[.0242037], CUSDT[6], DOGE[4], ETH[.03334407], ETHW[.03293337], SHIB[1], USD[0.00]                                                                            Yes

08122623                           BTC[0.00187941]                                                                                                                                                  Yes

08122624                           CUSDT[1], SHIB[2], TRX[1], USD[58.57]                                                                                                                            Yes

08122630                           TRX[.000027]

08122648                           USD[4.90], USDT[0]

08122650                           USD[0.00]

08122652                           DOGE[1], SHIB[4177982.03467725], USD[0.01]

08122659                           ETH[0], ETHW[0.11441135], USD[4.13]

08122661                           USD[0.00]

08122664                           CUSDT[0], ETH[0], KSHIB[0], LINK[0], LTC[0], NFT (576369859382233903/MetaBeatz)[1], PAXG[0], SHIB[0], SOL[0], TRX[0], UNI[0], USD[0.00]

08122670                           BAT[0], BCH[0], BTC[0], CUSDT[0], DOGE[0], ETH[0], KSHIB[0.00004575], LINK[0], MATIC[0.00019585], MKR[0], SHIB[0], SOL[0], TRX[2], USD[0.01], USDT[0.00000001]   Yes

08122675                           NFT (321438857990680066/FTX - Off The Grid Miami #4001)[1], USD[0.00], USDT[0]                                                                                   Yes

08122689                           USD[0.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08122706                              AAVE[48.33162], MATIC[4025.97], SOL[53.51643], USD[32.00], YFI[.284715]

08122707                              BTC[0.00189838]                                                                                                                                                                  Yes

08122710                              BTC[0.00172888]

08122712                              BTC[.00051662], CUSDT[1], USD[0.00]

08122723                              SHIB[702238.40632603], USD[0.00], USDT[0]

08122733                              USD[797.40]

08122734                              BTC[0.00190118]                                                                                                                                                                  Yes

08122744                              ETHW[.00028255], USD[0.00], USDT[.9204436]

08122767                              USD[0.00]

08122769       Contingent, Disputed   ALGO[1153.33724782], AVAX[8.98469922], BAT[15.86403277], BF_POINT[100], BRZ[2], BTC[.11094441], CUSDT[11], DAI[102.75470347], DOGE[2897.67985596], ETH[1.38934588],              Yes
                                      ETHW[3.81452799], LINK[34.87255831], LTC[3.31446196], MATIC[184.7915746], MKR[.04325121], SHIB[20585376.55239535], SOL[5.34091646], TRX[13], UNI[9.18950596], USD[0.82],
                                      YFI[.05434679]
08122774                              BAT[1], BRZ[1], CUSDT[9], DOGE[3], SHIB[9], TRX[4], USD[0.00]                                                                                                                    Yes

08122775                              USD[0.00]

08122784                              DOGE[1], TRX[5134.75566338], USD[0.00]                                                                                                                                           Yes

08122796                              BTC[0.00190325]                                                                                                                                                                  Yes

08122801                              USD[14.77]

08122810                              BTC[.00171773]                                                                                                                                                                   Yes

08122812                              BTC[0], DOGE[0], SHIB[1], USD[42.46]                                                                                                                                             Yes

08122815                              CUSDT[1], SOL[.00000024], USD[5.45]                                                                                                                                              Yes

08122817                              ETHW[.999], USD[0.00], USDT[2]

08122819                              ETHW[5.977199], SOL[1.45899], TRX[259.74], USD[15.00]

08122827                              BTC[.0247752], USD[2.54]

08122836                              SOL[.0000163], USDT[0.00000077]

08122840                              BAT[2.3824996], CUSDT[1], DOGE[22.95001605], ETH[.0006322], ETHW[.00063072], USD[0.00]                                                                                           Yes

08122842                              SOL[.0000395], USD[0.00]

08122846                              BRZ[2], BTC[0.00000088], DOGE[2.00011112], SHIB[36], TRX[1], USD[0.01], USDT[0.00000001]                                                                                         Yes

08122852                              SOL[36.42437698], USD[0.00]

08122853                              NFT (295210346016751977/Wind Scream Viper)[1], NFT (295966680305423598/Percy Pebble)[1], NFT (359538088855508654/Nocturne Seedling)[1], NFT (395037141415808329/Shaju)[1], NFT
                                      (462208828998738077/Krampus)[1], NFT (471870759317406297/Purple Rain)[1], NFT (498102595074770896/Davy Jones)[1], NFT (517377752596772036/Twisted Firestarter)[1], NFT
                                      (519670230728420459/Sweet Corlaine)[1], NFT (559627811118557944/Chuck)[1], SOL[.03000001]
08122858                              AAVE[.34], BTC[.016597], ETH[.172938], ETHW[.172938], MATIC[49.95], SOL[2.11937], UNI[6.7], USD[2629.41]

08122872                              BAT[0], BTC[0], SHIB[.04137066], SOL[.00000001], USD[0.00]

08122873                              ETH[0], ETHW[0], MATIC[0], SHIB[.00000001], SOL[0], USD[0.00], USDT[0.00000015]

08122877                              BTC[.00000001]

08122884                              USD[1.08]                                                                                                                                                                        Yes

08122885                              AAVE[.00976], BTC[.00176756], DOGE[314], ETH[0.17055292], ETHW[0.17055292], LTC[.32], MATIC[99.51], SOL[.39839], USD[0.00], USDT[0.00014883]

08122887                              BTC[0.00172620]

08122899                              BCH[.002], BTC[.0011988], DOGE[106], SOL[.01998], USD[0.11]

08122904                              BCH[.00045241], USD[0.00], USDT[21.6822379]

08122905                              USD[0.84]

08122912                              USD[1.31]

08122919                              BRZ[2], BTC[.00189012], CUSDT[3], ETH[.02498667], ETHW[.02467203], GRT[56.25207524], SOL[.49793849], TRX[512.87781075], USD[0.00]                                                Yes

08122922                              MATIC[6.93508202], USD[0.00]

08122926                              USD[0.00]

08122932                              BAT[1.00289919], BRZ[2], CUSDT[3], DOGE[1], TRX[1], USD[0.00]                                                                                                                    Yes

08122937                              KSHIB[8151.84], SHIB[7892100], USD[2.97]

08122941                              USD[10.81]                                                                                                                                                                       Yes

08122961                              USDT[.005804]

08122966                              BF_POINT[300], ETH[0], ETHW[0], USD[0.01], USDT[0]

08122967                              CUSDT[2], SHIB[2025111.38112596], USD[0.00]

08122970                              USD[500.00]

08122977                              USD[0.01]

08123003       Contingent, Disputed   NFT (362335268211171257/Entrance Voucher #2613)[1], NFT (428466767806086617/Humpty Dumpty #499)[1], NFT (445732474087447667/Microphone #8491)[1], USD[0.00], USDT[0]

08123017                              NFT (513583568961517704/Vintage Sahara #717)[1], USD[0.01], USDT[0]

08123018                              NFT (450916254373668802/APEFUEL by Almond Breeze #656)[1], USD[0.01]

08123020                              ETH[.000777], ETHW[.000777], USD[2.87], USDT[.5604481]

08123023                              BTC[0.00039234], CUSDT[6], TRX[3], USD[0.01]                                                                                                                                     Yes

08123025                              BAT[.00044045], BTC[0.01648554], CUSDT[1], DOGE[2], GRT[.00051032], LTC[.00001286], SHIB[4], TRX[35.12243388], USD[0.00], USDT[1.82095629]                                       Yes

08123042                              USD[10.00]
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Customer Code Unliquidated, or       Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08123047      Contingent, Disputed   USD[0.00], USDT[0]                                                                                                                                 Yes

08123053                             CUSDT[1], ETH[.00248634], ETHW[.00245898], GRT[4.86322958], SHIB[220163.09754032], SOL[.02380001], USD[0.00]                                       Yes

08123055                             USD[0.00]

08123062                             CUSDT[1], DOGE[114.40891632], USD[0.00]                                                                                                            Yes

08123064                             DOGE[1], USD[0.00]                                                                                                                                 Yes

08123072                             CUSDT[2], KSHIB[630.3111594], SHIB[2102919.34685799], TRX[2], USD[0.92]

08123084                             BF_POINT[300], SHIB[1], USD[0.00]                                                                                                                  Yes

08123096                             BAT[4.9093642], USD[0.00]                                                                                                                          Yes

08123104                             ETH[.00000001], ETHW[0]

08123109                             SOL[.11228988], USD[0.61]

08123112                             SOL[0.00004199], USD[0.00], USDT[0.00000208]

08123121                             USD[0.01]

08123125                             USD[0.00]

08123129                             ETH[1.81242589], ETHW[1.81242589], MATIC[905.9711111], SOL[27.06791], USD[1035.03]

08123130                             ETH[0], SOL[.00000001], USD[0.00], USDT[0]

08123134                             BTC[.00171411], CUSDT[1], USD[0.00]

08123140                             USD[54.06]                                                                                                                                         Yes

08123145                             ETH[0], TRX[.00000043], USD[0.00]

08123146                             DOGE[1], MATIC[179.82475467], TRX[1], USD[0.00]                                                                                                    Yes

08123169                             CUSDT[2], DOGE[2], ETH[0], TRX[2], USD[0.00], USDT[1.08122093]                                                                                     Yes

08123174                             BF_POINT[300], CUSDT[5], DOGE[3], ETH[0], SOL[0], TRX[5], USDT[0]

08123183                             CUSDT[1], DAI[21.49087911], USD[0.00]                                                                                                              Yes

08123188                             BTC[.00257949], DOGE[1], MATIC[.00028233], SHIB[11], SOL[.00000722], USD[0.00], USDT[0]                                                            Yes

08123203                             NFT (459563853036254893/Russian Village)[1], USD[295.23]

08123205                             CUSDT[1], SOL[1.2273168], USD[0.00]                                                                                                                Yes

08123212                             BRZ[1], BTC[.00094455], USD[0.00]                                                                                                                  Yes

08123227                             BTC[0], NFT (356356111570581719/00:03)[1], NFT (384158268111491927/00:01)[1], NFT (488213101835923411/Sigma Shark #912)[1], SOL[.372], USD[6.59]

08123235                             TRX[1], USDT[0.00000054]

08123236                             ETH[0]

08123237                             DOGE[1], ETH[.01153447], ETHW[.01153447], USD[0.01]

08123250                             LTC[.13432798], NFT (491483389747762182/Imola Ticket Stub #29)[1]                                                                                  Yes

08123254                             SOL[0], USD[0.01], USDT[0]

08123257                             ALGO[765.99888512], BTC[0.02682392], ETH[.06412602], MATIC[50.52358171], SHIB[64.4467723], USD[0.00], USDT[0.00000001], WBTC[.01045028]            Yes

08123262                             LTC[.02], MKR[.038], SOL[21.87862125], USD[0.02], USDT[0.00092892]

08123268                             NFT (410542888383866018/Black Art Portrait)[1], USD[4.00]

08123281                             MATIC[9.354], USD[9.20]

08123290                             USD[0.01]

08123302                             USD[96.02]                                                                                                                                         Yes

08123303                             BTC[.00003076], SOL[181.76805], USD[63431.69]

08123304                             SOL[.3124], USD[15.00]

08123309                             LINK[1.2], SOL[2.58985], USD[12.38]

08123316                             USD[5.00]

08123317                             ETH[0], USD[0.00]

08123321                             BAT[1], BRZ[4], GRT[1], SHIB[7], TRX[5], USD[1057.64], USDT[0]                                                                                     Yes

08123324                             BTC[0.00172131]

08123328                             ETH[0], NFT (441773574164650922/Look N 2 The MOON)[1], USD[35.25]

08123332                             BTC[0], SHIB[1], USD[0.00]                                                                                                                         Yes

08123343                             SHIB[.00000001], TRX[1], USD[0.00]

08123353                             BTC[0]

08123366                             CUSDT[6779.42977021], DOGE[209.95637484], GRT[41.25387097], SHIB[1983339.94446648], SUSHI[1.07942759], TRX[2], USD[0.01]

08123370                             ETH[.000083], ETHW[.001], SHIB[1044700], SOL[.11847], USD[0.44]

08123381                             AVAX[.82969992], TRX[2], USD[0.27]                                                                                                                 Yes

08123388                             ETH[.00015333], ETHW[23.24155170], TRX[1], USD[0.00], USDT[0.00000001]                                                                             Yes

08123393                             USD[5.00]

08123396                             ETH[.000997], ETHW[.000997], SHIB[99800], USD[5.28]

08123397                             BTC[.00153312], CUSDT[2], DOGE[1], USD[0.00]                                                                                                       Yes

08123421                             BAT[3.85658757], DOGE[289.96907785], ETH[0], LINK[2.02373937], MATIC[11.6417338], SHIB[11121774.77878039], TRX[3], USD[0.00]                       Yes

08123422                             USD[34.22]                                                                                                                                         Yes
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08123424                           CUSDT[1], ETH[.0554758], ETHW[.0554758], USD[0.00]

08123437                           BAT[1.00743868], BRZ[1], CUSDT[1], MATIC[.09141816], TRX[1], USD[0.05]                                                                                                               Yes

08123440                           AAVE[0], BAT[0], BRZ[1], CUSDT[30], DOGE[6.01926368], ETH[0.00000023], ETHW[0.00000023], GRT[0.00171447], MATIC[48.60735466], SOL[0.00015999], SUSHI[0.25760056], TRX[3],            Yes
                                   UNI[0.07088706], USD[15.12], USDT[0.00080146]
08123441                           SOL[.1453]

08123443                           SHIB[97200], USD[25.29]

08123448                           ETH[0], ETHW[0]

08123450                           BTC[.0013651], CUSDT[3], ETH[.00618781], ETHW[.00610573], USD[0.00]                                                                                                                  Yes

08123451                           AVAX[0.00000001], ETH[0], SHIB[1], USD[0.00]                                                                                                                                         Yes

08123466                           USD[10.07]

08123467                           USD[0.61]

08123469                           SOL[2.50749], USD[2.32]

08123474                           ETH[.01], ETHW[.01], USD[20.00]

08123484                           LINK[3], MATIC[50], USD[33.23]

08123486                           USD[0.00]

08123489                           SHIB[1], TRX[1], USD[0.00]                                                                                                                                                           Yes

08123492                           BTC[.0009]

08123493                           SOL[.00080034], USD[0.00]

08123507                           SHIB[109162.45032273], USD[0.92]                                                                                                                                                     Yes

08123510                           AVAX[7.73710561], BAT[289.34113558], BRZ[2], CUSDT[12], DOGE[4], ETH[.53752959], ETHW[.53730373], LINK[44.17393662], MATIC[477.50260482], SHIB[5256369.08384873], SOL[9.14980044],   Yes
                                   TRX[13.06386397], USD[3.07]
08123512                           SOL[.00000001]

08123513                           CUSDT[977.19387458], USD[0.00]                                                                                                                                                       Yes

08123520                           USD[0.00]

08123522                           NFT (428433582254094069/Green Gummy Life)[1], NFT (532863475539869669/Mario)[1], NFT (559337558239268985/Cecilia)[1], SHIB[.13634007], USD[0.00]

08123524                           USD[0.14]

08123527                           BAT[4], GRT[2], SHIB[1], TRX[1], USD[0.00]

08123529                           SOL[0]

08123530                           SHIB[19044.06273338], USD[0.01]                                                                                                                                                      Yes

08123540                           BRZ[1], BTC[0.01606463], CUSDT[4], LTC[1.21683869], TRX[3], USD[0.00]

08123544                           USD[30.07]                                                                                                                                                                           Yes

08123547                           NFT (330868533528254933/Imola Ticket Stub #2260)[1], SHIB[3], USD[0.00]                                                                                                              Yes

08123554                           NFT (352659892370553758/Palette Town #13)[1]

08123558                           BTC[0.00368007]                                                                                                                                                                      Yes

08123560                           TRX[360.000001]

08123561                           SOL[.33966], USD[25.98]

08123564                           BTC[0.00188582]                                                                                                                                                                      Yes

08123574                           KSHIB[161.58387545], USD[0.00]                                                                                                                                                       Yes

08123575                           BAT[2.55103352], DOGE[1], USD[0.08]

08123589                           USD[20.00]

08123592                           BF_POINT[100], ETH[.00000001], SHIB[1], USD[411.66]                                                                                                                                  Yes

08123596                           USD[0.27]                                                                                                                                                                            Yes

08123599                           USD[0.69]

08123603                           BTC[0.00171337]

08123605                           BTC[0.00188473]                                                                                                                                                                      Yes

08123607                           BTC[.00016991], ETH[.00246596], ETHW[.0024386], SOL[.04660276], USD[0.03]                                                                                                            Yes

08123608                           BAT[1], TRX[1], USD[0.00], USDT[1.00607315]                                                                                                                                          Yes

08123610                           BTC[.0002853], LINK[27.068], MATIC[308.9], MKR[.005486], USD[5.72], YFI[.004952]

08123623                           USD[0.00], USDT[0]                                                                                                                                                                   Yes

08123626                           USD[50.01]

08123632                           BTC[0.00187889]                                                                                                                                                                      Yes

08123633                           BTC[.0121898], SOL[6.88451], USD[2.18]

08123635                           USD[0.00]                                                                                                                                                                            Yes

08123637                           BTC[0]

08123638                           BAT[0], BF_POINT[100], BTC[0], DOGE[0], ETH[0], SHIB[0], SOL[0], USD[0.00]                                                                                                           Yes

08123646                           KSHIB[0], TRX[1], USD[11.73]                                                                                                                                                         Yes

08123647                           BRZ[1], DOGE[1], USD[388.59]

08123651                           ETHW[.216], MATIC[493.01661144], NEAR[87.03605779], SHIB[18072670.76923076], SOL[26.67446943], USD[0.06]

08123663                           BTC[0.00169999]

08123666                           CUSDT[1], KSHIB[1013.01850339], USD[0.00]                                                                                                                                            Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08123669                              TRX[.000001], USD[0.00], USDT[0]

08123674                              NFT (312967337585766641/Clifford attractors #4)[1]

08123675                              USD[0.00]

08123677                              USD[0.01]                                                                                                                                                                               Yes

08123679                              CUSDT[1], USD[75.00]

08123683                              SOL[0], USD[0.00]

08123688                              USD[0.00], USDT[0.00000117]

08123696                              SHIB[1], USD[0.00]                                                                                                                                                                      Yes

08123698                              BTC[0], DOGE[0], ETH[0], SHIB[2], USD[0.00]                                                                                                                                             Yes

08123708                              NFT (343639801841154075/Coachella x FTX Weekend 1 #23306)[1], USD[1.43]

08123711                              BTC[0], CUSDT[0], SOL[0], TRX[3], USD[0.12]                                                                                                                                             Yes

08123719                              CUSDT[1], TRX[1], USD[0.00]

08123725                              BTC[.07420606], CUSDT[5], DOGE[2], GRT[1], USD[0.06]                                                                                                                                    Yes

08123726                              BTC[.0000075], SOL[0.00362149]

08123728                              CUSDT[1], SHIB[1666763.12085732], TRX[1], USD[0.02]

08123732                              CUSDT[2], SOL[.34303129], USD[0.01]                                                                                                                                                     Yes

08123736                              BAT[1], BTC[.00000053], GRT[1], NFT (288357114731684868/MagicEden Vaults)[1], NFT (317523292882360352/MagicEden Vaults)[1], NFT (330129691661935544/DOGO-US-500 #4377)[1], NFT          Yes
                                      (378712056173500510/Frog #7899)[1], NFT (390822504225243964/Earl Campbell's Playbook: Texas vs. Houston - November 5th, 1977 #123)[1], NFT (422355037129322954/Sigma Shark #6673)[1],
                                      NFT (428462973903301583/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #45)[1], NFT (434673342608443799/Golden bone pass)[1], NFT
                                      (462318353306125542/Marcus Allen's Playbook: Seattle Seahawks vs. Los Angeles Raiders - October 7, 1984 #83)[1], NFT (476483202961125784/MagicEden Vaults)[1], NFT
                                      (500984648303714777/Cyber Frogs Ramen)[1], NFT (548878604091097123/MagicEden Vaults)[1], NFT (564344894938747104/Frog #3586)[1], NFT (576449582289026246/MagicEden Vaults)[1],
                                      SHIB[1], SOL[0], TRX[3], USD[538.53]
08123740                              ETH[.00000001], SOL[0], USD[0.00], USDT[0]

08123743                              SOL[1.20634469], USD[0.00]

08123746                              BTC[0], USD[0.00], USDT[.00000002]

08123747                              BTC[.00000001], SOL[0.77742436], USD[0.00]                                                                                                                                              Yes

08123758                              BTC[.01491356], ETH[.02548402], ETHW[0.02516938]                                                                                                                                        Yes

08123761                              BRZ[2], MATIC[4.19245139], SHIB[4], SOL[.28100727], TRX[1], USD[503.98]                                                                                                                 Yes

08123770                              BTC[.0061], ETH[.181928], ETHW[.181928], USD[0.41]

08123775                              AVAX[74.54669651], ETH[1.99], ETHW[2], USD[0.01]

08123782                              NFT (476172131003026022/Crypto Coven #039)[1]

08123783                              USD[0.71]

08123788                              BTC[0], ETH[0], SOL[0], USD[0.00], USDT[0.00001013]

08123791                              USD[11.99]

08123798                              BAT[23.08867627], CUSDT[1], DOGE[1], ETH[.09151795], ETHW[.09151795], USD[70.00]

08123810                              NFT (289184961961664274/JH Punk)[1], TRX[.000001], USD[0.99], USDT[0]

08123818                              USD[0.99]

08123822                              DAI[0], ETH[0.00099200], ETHW[0.00099200], SOL[0.00592000], USD[0.87], USDT[0.00000001]

08123833                              CUSDT[3], USD[49.96]                                                                                                                                                                    Yes

08123836                              BAT[0.00026552], BRZ[.00125716], BTC[0], CUSDT[16], DOGE[1], ETH[0.03192274], ETHW[0.03152602], GRT[0], NFT (313226695623321441/Hall of Fantasy League #219)[1], NFT                    Yes
                                      (526091929430545767/Shannon Sharpe's Playbook: Baltimore Ravens vs. Denver Broncos - December 31, 2000 #81)[1], SHIB[1], TRX[12.06595786], USD[56.58]
08123852                              CUSDT[1], DOGE[2], LINK[6.43850395], USD[0.06]                                                                                                                                          Yes

08123856                              NFT (294881870865482920/Shitler 00 - The Faschits)[1], NFT (305909734320404198/Solamanders Concept Art - 07)[1], NFT (320863725770115510/Solamanders Concept Art - 03)[1], NFT
                                      (326153213069535850/Solamanders Concept Art -02)[1], NFT (326734793641308449/Solamanders Concept Art - 05)[1], NFT (372903169428271574/Solamanders Concept Art - 01)[1], NFT
                                      (460620367124742977/Solamanders Concept Art - 00)[1], NFT (464103964705492766/Solamanders Concept Art - 04)[1], NFT (525906811215299163/Solamanders Concept Art - 08)[1], NFT
                                      (544348699452273141/Solamanders Concept Art - 06)[1], NFT (549607049958409554/Solamanders Concept Art - 09)[1]
08123872                              CUSDT[2], DOGE[137.24841952], SHIB[724637.68115942], USD[15.01]

08123883                              CUSDT[3], DOGE[3.83407915], KSHIB[.00029817], SHIB[1], USD[0.95]

08123887                              CUSDT[2], KSHIB[2016.53599849], SHIB[1139766.34709269], USD[0.00]                                                                                                                       Yes

08123890       Contingent, Disputed   AAVE[0], BCH[0], ETH[.00000001], ETHW[0], MATIC[0.82626078], SOL[0], TRX[0.40166692], USD[0.65]

08123901                              USD[0.00], USDT[665.42491973]

08123903                              TRX[.000021], USD[0.00]                                                                                                                                                                 Yes

08123906                              TRX[1], USD[0.01]

08123910                              CUSDT[1], TRX[812.52571337], USD[0.00]                                                                                                                                                  Yes

08123914                              ALGO[0], BRZ[0], BTC[0], CUSDT[5], ETH[0], ETHW[0], SHIB[8], SOL[0.00001200], TRX[1], USD[0.00]                                                                                         Yes

08123918                              BRZ[1], BTC[.04922504], CUSDT[3], DOGE[2], ETH[.14703825], ETHW[.14616205], GRT[1.00001826], SHIB[4], SOL[.77769636], TRX[4], USD[46.74], USDT[170.49190041]                            Yes

08123919                              USD[0.01]                                                                                                                                                                               Yes

08123925                              BRZ[1], DOGE[1], GRT[1], SHIB[4], TRX[4], USD[3312.90]

08123926                              LINK[0.00005675], MATIC[.00148729], SHIB[9.1357619], USD[0.06], USDT[0.00000001]                                                                                                        Yes

08123932                              BTC[0.00187037]                                                                                                                                                                         Yes

08123934                              USD[0.00]

08123938                              BTC[0.00187035]                                                                                                                                                                         Yes

08123959                              LTC[.04729034], TRX[1], USD[0.00]                                                                                                                                                       Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08123960                              CUSDT[2], LTC[.53942289], SHIB[548828.09643594], USD[121.64]                                                                                                             Yes

08123961                              BTC[.00111111]

08123965                              BTC[.001], USD[28.09], USDT[5.56309746]

08123966                              USD[2.27]

08123973                              ETH[1.00011883], ETHW[1.00011883], SOL[.67070712], USD[0.00]

08123979                              USD[0.00]

08123992                              BRZ[1], DOGE[1], TRX[2], USD[0.01]                                                                                                                                       Yes

08123993                              BTC[0.04997612], DOGE[0], USD[0.00]                                                                                                                                      Yes

08124006                              SOL[9.24], USD[0.59]

08124018                              BTC[0.00186334]                                                                                                                                                          Yes

08124019                              TRX[1], USD[0.18], USDT[0]                                                                                                                                               Yes

08124022                              BTC[0.00165053], CUSDT[3], DOGE[47.16260269], ETH[.00494923], ETHW[.00489017], LTC[.09895956], SHIB[1], SOL[.13214381], SUSHI[1.2854822], TRX[79.27883032], USD[2.29],   Yes
                                      USDT[12.86606192]
08124025                              NFT (520187662021103514/Astral Apes #3273)[1], SHIB[6], SOL[.00001549], TRX[1], USD[0.00], USDT[0.00000057]                                                              Yes

08124026                              CUSDT[1], USD[0.00]                                                                                                                                                      Yes

08124028                              NFT (396375268567596112/Romeo #4113)[1]

08124029                              SOL[.00000001]

08124032                              BTC[0.00186958]                                                                                                                                                          Yes

08124037       Contingent, Disputed   BTC[.003695], USD[0.00], YFI[.00000001]                                                                                                                                  Yes

08124038                              BTC[0.00187054]                                                                                                                                                          Yes

08124042                              DOGE[18.40889891], GRT[1.96271901], KSHIB[62.01659998], LTC[.02850723], SHIB[62015.50387596], USD[6.50], YFI[.00005869]                                                  Yes

08124044                              BTC[0]                                                                                                                                                                   Yes

08124045                              BRZ[5.07952967], CUSDT[11], DOGE[6], SHIB[8], SOL[.00000002], TRX[.000006], USD[0.00], USDT[0]                                                                           Yes

08124046                              BTC[0], CUSDT[4], DOGE[1], USD[0.00]

08124047                              USD[0.00]

08124053                              BTC[0.01387643], ETH[0.14251573], ETHW[0.14251573], LINK[18.94757278], LTC[3.07479688], SOL[4.58381669], USD[0.00], USDT[123.40424173]

08124061                              CUSDT[9], DOGE[1], ETH[.00000005], ETHW[.00000005], USD[0.01]                                                                                                            Yes

08124062                              BTC[0.00018780], CUSDT[7.00119773], DOGE[.00020535], SOL[.00000023], TRX[2], USD[0.00], USDT[0]                                                                          Yes

08124063                              ETH[.01334854], ETHW[.01334854], USD[0.00]

08124066                              TRX[.000006], USD[0.00], USDT[.00533155]

08124067                              BAT[0], BTC[0], DOGE[0], ETH[0.00000001], MATIC[0], SHIB[1], SOL[0], TRX[0], USD[0.00]                                                                                   Yes

08124069                              NFT (326674476284254965/Coachella x FTX Weekend 1 #26885)[1]                                                                                                             Yes

08124070                              USD[0.01], USDT[0]                                                                                                                                                       Yes

08124072                              BRZ[1], BTC[.05601193], CUSDT[3], DOGE[3], SHIB[5], TRX[1], USD[0.00]

08124098                              AVAX[.00000001], USD[0.00]

08124099       Contingent, Disputed   BTC[0]

08124100                              USD[0.46]

08124108                              BF_POINT[200], LINK[3927.23170032], SUSHI[1.04392898], USD[0.60]                                                                                                         Yes

08124109                              BAT[125.874], BTC[.0043], ETH[.054], ETHW[.054], GRT[261], SUSHI[10.5], USD[399.53]

08124110                              BCH[0.00065110], BTC[.00001431], SOL[.00459852], USD[1.92]                                                                                                               Yes

08124113                              SOL[.15], USD[1.49]

08124126                              DOGE[3], SHIB[47], TRX[7], USD[0.00]

08124140                              BRZ[1], BTC[.00299232], CUSDT[2], DOGE[1], USD[0.00]

08124141                              BRZ[4], CUSDT[13], DOGE[5], SHIB[4], TRX[1], USD[0.01], YFI[.00000009]                                                                                                   Yes

08124156                              CUSDT[2], DOGE[645.64210817], SHIB[2664572.95874384], USD[0.00]                                                                                                          Yes

08124158                              BRZ[2], BTC[.02919852], CUSDT[3], DOGE[623.49696356], ETH[.03553257], ETHW[.03509481], MATIC[44.03344395], SHIB[3], TRX[1], USD[8.61]                                    Yes

08124164                              BAT[0], MATIC[0], SHIB[0], SOL[0], USD[0.00]                                                                                                                             Yes

08124174                              USD[0.00], USDT[0]

08124183                              CUSDT[1], USD[0.01]                                                                                                                                                      Yes

08124185                              DOGE[2], USDT[0.00000198]

08124191       Contingent, Disputed   USD[0.00]

08124200                              DOGE[711.97553396], SHIB[38.46643103], USD[0.00]                                                                                                                         Yes

08124202                              KSHIB[2160], USD[0.48]

08124208                              USD[0.01]

08124211                              USDT[3.57903323]

08124212                              BTC[0], USD[0.00]                                                                                                                                                        Yes

08124216                              CUSDT[2], SHIB[63008203.7479739], TRX[2], USD[0.02]

08124218                              USD[27.02]                                                                                                                                                               Yes

08124223                              BRZ[2], TRX[.13418527], USD[0.00]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08124234                           BRZ[1], BTC[.04867589], CUSDT[4], DOGE[3], MATIC[244.25993737], SHIB[10], SOL[8.20965007], TRX[2], USD[50.31]                                                                          Yes

08124244                           AVAX[.00328668], DOGE[1.08247948], ETH[.313686], GRT[.45668478], NEAR[.00433272], SHIB[31533.00596987], SOL[.006071], SUSHI[.00824814], TRX[1], USD[1.44], USDT[0]

08124263                           SHIB[133.33849669], USD[0.00]

08124264                           NFT (325799701315474413/Brigette)[1], NFT (373797146214504183/Ruby)[1], NFT (380998978014337830/Moenix)[1], NFT (555636310587097813/Vintage Collection)[1]

08124275                           USDT[0]

08124278                           BCH[1.08116912], BTC[.01736956]                                                                                                                                                        Yes

08124282                           BRZ[1], SHIB[1], SOL[2.81262413], TRX[1], USD[0.04]                                                                                                                                    Yes

08124285                           USD[1.86]

08124289                           BAT[1], BRZ[1], DOGE[4], ETH[2.46522603], SHIB[2], TRX[2], UNI[1.0068819], USD[0.00]                                                                                                   Yes

08124291                           SOL[12.570175], USD[160.86], USDT[60.50973223]

08124295                           BRZ[3], CUSDT[15], NFT (301374450129301746/MetaScenes #2)[1], NFT (374389771395836349/Mustang - King of Cars !!)[1], NFT (404805594656612132/Inaugural Collection #1376)[1], NFT       Yes
                                   (439034694452925963/Line #6)[1], NFT (562303505254268623/Worried Mask #8)[1], SHIB[0], SOL[0], TRX[6], USD[0.00], USDT[0]
08124303                           ETH[.002], ETHW[.002], SOL[.03], USD[7.02]

08124304                           BTC[.68927108], USD[420.18]                                                                                                                                                            Yes

08124314                           CUSDT[5], DOGE[11.02564618], ETH[0], ETHW[.18001901], MATIC[.00114621], SHIB[24], SOL[.00013816], USD[0.00], USDT[0]                                                                   Yes

08124315                           BAT[.00017507], BRZ[.00051172], CUSDT[3.00749868], DOGE[1.0014054], GRT[.00010482], TRX[.00097299], USD[0.81]                                                                          Yes

08124318                           AVAX[1.05630158], DOGE[892.63798743], SHIB[4385365.73520699], SOL[1.06379438], TRX[1162.08208311], USD[0.00]                                                                           Yes

08124319                           DOGE[1], SHIB[495167.28919454], USD[0.02]

08124321                           USD[3.20]

08124326                           USD[3.09]

08124342                           CUSDT[26], ETH[.02237524], ETHW[.02210164], SOL[1.27450855], TRX[1], USD[719.67]                                                                                                       Yes

08124344                           BRZ[2], CUSDT[5], DOGE[1], KSHIB[2030.82095734], SHIB[11450229.17597724], TRX[1], USD[6.33], YFI[.00329852]                                                                            Yes

08124351                           BTC[0], CUSDT[2], LTC[0], MATIC[0], SHIB[12107.06847604], USD[0.00], USDT[0.00000055]                                                                                                  Yes

08124361                           BAT[1.01216462], BTC[.00379895], CUSDT[1], ETH[.01279191], ETHW[.01262763], USD[0.00]                                                                                                  Yes

08124366                           CUSDT[1], ETH[.00007024], ETHW[0.00007023], NFT (341651656286413826/Dagg Art #5)[1], NFT (344048888511221130/AI #14)[1], NFT (395779314720383206/AI #8)[1], NFT                        Yes
                                   (430309297598738923/Surreal World #46)[1], USD[31.86]
08124367                           SHIB[110225.43691769], USD[0.00]                                                                                                                                                       Yes

08124378                           SOL[0]

08124382                           USD[0.00]                                                                                                                                                                              Yes

08124394                           USD[1.00]

08124397                           USD[53.61]                                                                                                                                                                             Yes

08124398                           BRZ[1], BTC[.00259114], CUSDT[33], DOGE[157.22503675], ETH[.04606778], ETHW[.04549322], GRT[30.10541024], LTC[.0738866], SHIB[6058897.03519698], SOL[.98021116], TRX[3], USD[44.70],   Yes
                                   YFI[.00114894]
08124402                           DOGE[.04126965], LTC[.0004031], MATIC[.00085245], USD[0.00]                                                                                                                            Yes

08124404                           BTC[0], DOGE[1], SHIB[2], USD[0.00]

08124413                           BTC[.00350367], ETH[.0024884], ETHW[.00246104], SHIB[1], USD[0.00]                                                                                                                     Yes

08124418                           AVAX[1.03744355], BRZ[1], BTC[.00142684], DAI[3.12473124], DOGE[16.91981783], ETH[.0349651], ETHW[.03452734], GRT[.00036239], LINK[1.48857218], MATIC[1.43206063], NEAR[1.04278391],   Yes
                                   SHIB[11], SOL[1.41286553], SUSHI[.6202045], TRX[103.26331163], USD[0.01], USDT[3.12452304]
08124423                           NFT (304113138088504685/2974 Floyd Norman - OKC 5-0135)[1], NFT (398111528800524164/Birthday Cake #2556)[1], USD[0.01]                                                                 Yes

08124456                           BAT[1], BRZ[2], CUSDT[4], SHIB[2], TRX[2.000001], USD[0.00], USDT[0.00000001]                                                                                                          Yes

08124474                           CUSDT[1], SHIB[0], TRX[1], USD[0.01]                                                                                                                                                   Yes

08124481                           SHIB[468143.82237697], SOL[.11142983], USD[0.00]                                                                                                                                       Yes

08124493                           CUSDT[1], SOL[1.01573721], USD[0.01]

08124494                           BRZ[1], SOL[.00002355], TRX[1], USD[0.01]                                                                                                                                              Yes

08124497                           BTC[0], USD[0.04]

08124537                           BAT[0], BTC[0.00008547], USDT[.07630904]

08124544                           AAVE[.04686823], BTC[.00269502], DAI[10.55360114], ETH[.04236261], ETHW[.03548264], MATIC[7.97735816], SHIB[13], SOL[.14070582], TRX[2], USD[-45.47], USDT[11.28310303]                Yes

08124548                           BTC[0], CUSDT[0], USD[0.00]                                                                                                                                                            Yes

08124552                           BAT[1.00313735], CUSDT[3], DOGE[10.78329951], ETH[.20133643], ETHW[.20112299], TRX[3], USD[0.00], USDT[1.07378461]                                                                     Yes

08124592                           ETH[.00000002], ETHW[.00000002], USD[8.95]                                                                                                                                             Yes

08124624                           BTC[26.9772], ETH[61.9411], ETHW[61.9411], MATIC[129914.5], NFT (322392951646914705/The 2974 Collection #0984)[1], NFT (377963213128837621/Birthday Cake #0984)[1], NFT                                 USD[136305.75]
                                   (393901215339278141/2974 Floyd Norman - CLE 4-0202)[1], USD[136473.80]
08124625                           BTC[.00035682], CUSDT[1], USD[0.00]                                                                                                                                                    Yes

08124628                           USD[0.00]

08124633                           CUSDT[1], DOGE[1], SOL[1.27180882], USD[0.00]

08124640                           BRZ[7.22396177], DOGE[28.85890179], ETH[.24999374], ETHW[.24981081], SHIB[110], TRX[19.61414416], USD[190.76]                                                                          Yes

08124646                           USD[3.98]                                                                                                                                                                              Yes

08124648                           DOGE[2], SHIB[3], SOL[.11968153], USD[0.01]                                                                                                                                            Yes

08124654                           BAT[314], DOGE[.87], USD[2.25], USDT[0]

08124673                           BRZ[1], SHIB[1], USD[0.85]

08124674                           BAT[.00001726], MATIC[0], SHIB[0], USD[0.00]                                                                                                                                           Yes

08124675                           KSHIB[4.84], USD[0.00]
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                                                                                                                                         Customer Claims                                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08124678                           BTC[.00097015], USD[0.00]

08124683                           USD[1.08]                                                                                                                                                                       Yes

08124702                           BTC[.00239772], ETH[.01298765], ETHW[.01298765], LINK[3.19696], MATIC[49.962], SOL[7.7252025], USD[0.60]

08124707                           ETH[.078], ETHW[.078], USD[2.84]

08124712                           SOL[3.11494134]

08124713                           MXN[0.00], SHIB[99273.01107331], USD[0.00], USDT[0]

08124740                           SOL[.00780139], USD[4.61]

08124774                           ETH[0], SOL[0.00000001], USD[0.00]                                                                                                                                              Yes

08124775                           CUSDT[1], ETH[0], USD[0.00]                                                                                                                                                     Yes

08124787                           ETH[0], ETHW[2.13815046], SOL[0], USD[0.90], USDT[0.00000139]

08124793                           ETH[.02913729], ETHW[302.19571], MATIC[500], SOL[199.08072], USD[371.80]

08124797                           USD[100.00]

08124800                           ETH[0], KSHIB[.00000977], USD[0.81]

08124814                           USD[540.57]                                                                                                                                                                     Yes

08124825                           BAT[1.74112775], USD[0.00]

08124830                           ETH[.000989], ETHW[.000989], UNI[.096], USD[0.02]

08124848                           NFT (372796177974788176/FTX Crypto Cup 2022 Key #920)[1]

08124860                           ETH[.00006282], ETHW[.00006282], USD[0.98], YFI[.00002317]                                                                                                                      Yes

08124880                           BTC[.00046793]

08124887                           DOGE[.02778957], ETH[.00000006], ETHW[0.00000006], SHIB[9], SOL[.00004798], USD[0.00], USDT[0]                                                                                  Yes

08124890                           DAI[0], SOL[0]

08124913                           DOGE[45.88085929], USD[0.00]                                                                                                                                                    Yes

08124927                           MATIC[2089.199], SHIB[5400000], SOL[10.520523], USD[79.39], USDT[950]

08124929                           BAT[1.00024973], BRZ[1], BTC[.3384914], CUSDT[6], DOGE[6], ETH[2.31916682], ETHW[2.3182228], GRT[2.00087711], SHIB[1], SOL[26.36778713], TRX[2], USD[7.18], USDT[1.05308607]    Yes

08124935                           CUSDT[1], SOL[1.13531668], USD[0.18]                                                                                                                                            Yes

08124953                           SUSHI[65.68631966], TRX[1], USDT[0.00000002]                                                                                                                                    Yes

08124956                           USD[0.00]

08124959                           MATIC[.00256135], USD[0.00]                                                                                                                                                     Yes

08124984                           BRZ[1], CUSDT[1], DOGE[6], GRT[1], TRX[3.011385], USD[0.01], USDT[0.00000001]

08124986                           USD[20.00]

08124987                           USD[12.06], USDT[0]

08124994                           SHIB[2095118.37418814], TRX[1], USD[0.00]

08125003                           ALGO[0], AVAX[0], BAT[0], BCH[0.00003349], BRZ[0], DOGE[7], ETH[.00000037], ETHW[0], GRT[3], KSHIB[0], MATIC[0], MKR[0.00000349], NEAR[0], SHIB[28206999.97561036], SUSHI[0],   Yes
                                   TRX[20.02738051], USD[0.00], USDT[1.00652346]
08125011                           USD[20.00]

08125021                           USD[1.00]

08125025                           SOL[.00000001], USD[0.00], USDT[0]

08125033                           TRX[.000003]

08125041                           USD[0.00], USDT[0]

08125042                           AAVE[1.1793043], ALGO[500.90668565], AVAX[6.42731746], BAT[387.51280093], BCH[.087968], BF_POINT[200], BRZ[66.69730796], CUSDT[23], DAI[21.73796808], DOGE[1890.70138746],      Yes
                                   ETHW[27.1060246], GRT[2850.46563499], KSHIB[1528.54768187], LINK[4.48877985], MATIC[145.36669646], MKR[.21121172], NEAR[43.26291186], PAXG[.02477578], SHIB[.00000004],
                                   SOL[7.77410024], SUSHI[77.41200924], TRX[2800.80163259], UNI[9.16748549], USD[11.82], USDT[22.94532495], WBTC[.00046718], YFI[.00994079]
08125050                           CUSDT[1], SOL[.4913852], USD[0.00]                                                                                                                                              Yes

08125077                           CUSDT[1], TRX[942.40843751], USD[0.01]                                                                                                                                          Yes

08125092                           USD[0.00], USDT[10.07292298]                                                                                                                                                    Yes

08125107                           USD[50.01]

08125108                           DOGE[1], SHIB[3], USD[173.92]                                                                                                                                                   Yes

08125109                           CUSDT[1], SOL[.11826732], USD[0.00]

08125115                           BTC[.00083463], CUSDT[1], USD[0.00]

08125116                           BTC[.00013889]                                                                                                                                                                  Yes

08125120                           BTC[.00169917], CUSDT[2], SHIB[829875.51867219], USD[0.01]

08125123                           USD[0.37]

08125127                           BRZ[1], TRX[.000001], USDT[0.00001562]

08125148                           DOGE[1], SHIB[1094696.22703792], USD[0.00]                                                                                                                                      Yes

08125151                           NFT (504477498216057831/Little Rocks #1183)[1], SHIB[2], SOL[2.30102209], USD[0.00]

08125154                           USD[0.00]                                                                                                                                                                       Yes

08125158                           DOGE[1], USD[0.01]

08125182                           USD[486.51]                                                                                                                                                                     Yes

08125185                           USD[27.03]                                                                                                                                                                      Yes

08125186                           NFT (321213965102692626/FTX Crypto Cup 2022 Key #174)[1]
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                                                                                                                                         Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08125196                           NFT (301665887342749850/France Ticket Stub #50)[1], TRX[.000201]                                                                                                                       Yes

08125205       Contingent,         ETHW[.152883], MATIC[329.8], USD[647.77], USDT[.00002]
               Unliquidated
08125227                           TRX[10]

08125229                           CUSDT[2], USD[0.00], USDT[0.00002727]                                                                                                                                                  Yes

08125231                           NFT (328561565136912211/BabyBlob #282)[1]

08125235                           USD[0.00], USDT[0]

08125260                           NFT (329310868391115574/Dinos Zone #962)[1], NFT (434798661774446155/ELEMENT4LS GEN1 #41)[1], NFT (507590246668315124/Dinos Zone #698)[1], NFT (526804669842905345/The Hellions
                                   #4337)[1], NFT (564664169781523582/Dinos Zone #11)[1]
08125264                           AUD[0.00], BTC[0], GRT[2.18607427], LTC[0], USD[0.00]                                                                                                                                  Yes

08125268                           NFT (310839731555764251/Creation of Sentience Research #2)[1], NFT (486401581908887343/Creation of Sentience Research)[1], USDT[0]

08125295                           DOGE[1], SHIB[3265760.48023825], USD[0.00]                                                                                                                                             Yes

08125303                           USD[0.00]

08125318                           USD[2.00]

08125325                           BTC[0], ETH[0], SOL[.00000001], USD[0.00]

08125328                           CUSDT[1], DOGE[1], SHIB[3504573.78289436], USD[-30.00]                                                                                                                                 Yes

08125343                           BTC[.03502904], CUSDT[87.78378291], DOGE[12.08813096], ETH[.42987189], ETHW[.42969136], SHIB[60], SOL[4.28228921], TRX[8], USD[0.01]                                                   Yes

08125346                           SOL[.00881], USD[0.77]

08125353                           DOGE[.66338552], SHIB[6], TRX[1], USD[0.53]                                                                                                                                            Yes

08125356                           NFT (339081365510574131/Coachella x FTX Weekend 1 #4180)[1]

08125363                           MATIC[671.29903894], NFT (289082874188608065/ Pixel Rainbow Finger)[1], NFT (289168398048914435/Club member #17)[1], NFT (290648435917103639/Horse Number #3)[1], NFT                   Yes
                                   (291455526280219700/Club member)[1], NFT (292366693787679802/The Weird Apes #48)[1], NFT (294386084329035714/Munchpax #9)[1], NFT (294892450377541756/The Weird Apes #41)[1], NFT
                                   (302697567944561482/Club member #11)[1], NFT (304304767781800172/Pixel Finger in Love)[1], NFT (304634565485650542/Cartons album #36)[1], NFT (325643729790366631/Club member
                                   #13)[1], NFT (327715944256587462/Vox Girls #24)[1], NFT (328478609023537131/Portrait astract album #3)[1], NFT (328868905159476741/Club member #8)[1], NFT (329184374662573111/Man #10
                                   #2)[1], NFT (335489724421296185/Pill #7)[1], NFT (342101876709711961/The Weird Apes #44)[1], NFT (343212011141675235/Polka Dino 5)[1], NFT (343568802094399330/The Weird Apes #38)[1],
                                   NFT (347106133921507090/[Xip]-Pure Love1#1)[1], NFT (347386597148540647/Club member #10)[1], NFT (350534649898308890/Club member #4)[1], NFT (356956912355585137/CryptoFabula #264
                                   #2)[1], NFT (357239708538431166/herbarium #3)[1], NFT (358633656848311303/Luky apes slot)[1], NFT (366469827097899920/Minnesota Wild)[1], NFT (368624996991619177/Nespace Album
                                   #22)[1], NFT (371038315360745942/CryptoFabula #274)[1], NFT (382561426924804989/The Weird Apes #43)[1], NFT (387329671550151787/Nespace Album #13)[1], NFT (396028484219340918/Vox
                                   Girls #16)[1], NFT (398665101533975399/Christmas Tree)[1], NFT (398931499999875302/Keep pushing )[1], NFT (401213079918449325/Horse Number #5)[1], NFT (402977132016238382/Happy Guys
                                   011)[1], NFT (406021336826347927/[Xip]-Entertainment1#1)[1], NFT (406048710115372508/Pill #11)[1], NFT (410676074780334518/Dream castle)[1], NFT (410692640037585392/MAGİC WORLD)[1],
                                   NFT (410694202218602117/crypto tree 456)[1], NFT (412620570394345004/BTC CAT)[1], NFT (413618632761192031/Ranchero)[1], NFT (428505188256302880/Max )[1], NFT
                                   (429741217184676903/my baby)[1], NFT (438494732489444108/Club member #14)[1], NFT (438497604008034730/Meta world )[1], NFT (445024102705609644/BEAR)[1], NFT
                                   (446534155751265000/Ndia Art)[1], NFT (446971547214009930/Man #15)[1], NFT (448192151880420261/Ape MAN#133)[1], NFT (453012756139255146/BANANA #17)[1], NFT
                                   (455386022549103028/Club member #6)[1], NFT (457549107219529099/Man #2)[1], NFT (467773174105952781/Blue Snake)[1], NFT (477526328586787540/Melody of Fruits #8)[1], NFT
                                   (478897381833400182/[Xip]-Swirl1#1)[1], NFT (482895854953108046/Candy pug)[1], NFT (487364969113679003/Cryptographic zombie #15)[1], NFT (488020404415096492/Natalia #16)[1], NFT
                                   (491474375997226340/World of Pixel #24)[1], NFT (493868139990690899/PIG 12)[1], NFT (497327050577273028/MM Shark #5)[1], NFT (500549782449400245/Melody of Fruits)[1], NFT
                                   (500918491246603930/Zombie Ape #0018)[1], NFT (503550652224431818/[Xip]-Embrace1#1)[1], NFT (506810104868683678/Man #8)[1], NFT (508310484458364919/Horse Number #12)[1], NFT
                                   (510866385730259605/cat98)[1], NFT (514962496003600699/Club member #9)[1], NFT (517747223912744478/Club member #16)[1], NFT (517905013475015841/Gods Fam #11)[1], NFT
                                   (521108074563281264/BIGNOSE #02)[1], NFT (525445100398327700/Club member #7)[1], NFT (527178730912228967/Pixel Blue Glasses Finger)[1], NFT (530359843247044658/Ranchero #2)[1],
                                   NFT (534534546625393749/Style #2 Of 10)[1], NFT (534658485446794713/Club member #15)[1], NFT (537203759166775808/Club member #12)[1], NFT (540073920526932549/Pixel Cat #7)[1], NFT
                                   (541914133582574838/CLOT ING )[1], NFT (545939853687319574/Heavenly water#038)[1], NFT (547434882618974328/Zender)[1], NFT (547634382213507485/Zombie Ape #0011)[1], NFT
                                   (547995244323593922/BOOGHE)[1], NFT (548575712816974226/Apple tree rauss)[1], NFT (552403332470488690/Pill #1)[1], NFT (556088743169447708/[Xip]-Watermask1#1)[1], NFT
                                   (558347175663683576/The Weird Apes #26)[1], NFT (560957357346826375/Ancient Civilization #32)[1], NFT (564540076424287294/Pill #21)[1], NFT (570616597681803046/Zebra Referee Dino)[1],
                                   SHIB[40802365.02846726], TRX[1], USD[88.21]

08125384                           TRX[341.5219192], USD[0.00]

08125421                           BTC[.00000029]                                                                                                                                                                         Yes

08125445                           USD[0.01], USDT[31.294]

08125451                           AVAX[0.00005717], DOGE[1], MATIC[0], SHIB[2], TRX[2], USD[0.00]                                                                                                                        Yes

08125469                           BAT[0], BRZ[0.01582338], BTC[0.00003720], CUSDT[10], DOGE[6.00038359], ETH[0.15044760], ETHW[0.14964204], GRT[0], LINK[0], LTC[0], MATIC[0.00139153], SHIB[0], SOL[3.62894627],        Yes
                                   SUSHI[0], TRX[2], USD[0.67], USDT[0.08857021]
08125475                           BAT[3.20298118], CUSDT[3], ETH[.00003379], ETHW[.00003379], GRT[1.00013734], LINK[1.07990942], SUSHI[1.07927838], TRX[1], USD[0.01]                                                    Yes

08125485                           AVAX[0], BCH[0], BTC[0], LTC[0], MATIC[0], MKR[0], SOL[0], SUSHI[0], TRX[1.00036781], USD[0.00], USDT[0]                                                                               Yes

08125499                           USD[1.00]

08125511                           BAT[.0010276], BRZ[120.36647139], CUSDT[12], DOGE[2.00274209], ETH[.00000038], ETHW[.00000038], SHIB[19.9952243], TRX[1], USD[245.77]                                                  Yes

08125523                           CAD[0.01], USD[0.00]

08125553                           BAT[1], CUSDT[1], LTC[1.00021656], SOL[.98741045], USD[10.52]

08125571                           DOGE[1], SHIB[336.08574212], USD[4.42]                                                                                                                                                 Yes

08125600                           NFT (295602455751604997/Little Rocks #1298)[1], NFT (297156230503493204/Fortune Cookies #1156)[1], NFT (305259424627693344/Fortune Cookies #1126)[1], NFT (318852197739573757/Fortune
                                   Cookies #1183)[1], NFT (321163676346449128/Little Rocks #1250)[1], NFT (324725338311502386/Fortune Cookies #1124)[1], NFT (330039313677591157/Little Rocks #1296)[1], NFT
                                   (343774055610631393/Little Rocks #1280)[1], NFT (350059067792193578/Fortune Cookies #1159)[1], NFT (353410934791616059/Fortune Cookies #1103)[1], NFT (357072553004114447/Fortune
                                   Cookies #1151)[1], NFT (361102075198299272/Little Rocks #1292)[1], NFT (366861041294717892/Little Rocks #1299)[1], NFT (367417888500283739/Little Rocks #1247)[1], NFT
                                   (377058695851863436/Little Rocks #1251)[1], NFT (387613381370462857/Fortune Cookies #1165)[1], NFT (393579864840029475/Fortune Cookies #1149)[1], NFT (394043693441209709/Fortune
                                   Cookies #1172)[1], NFT (401456657009936464/Fortune Cookies #1180)[1], NFT (412349168271201736/Fortune Cookies #1111)[1], NFT (424721862999155238/Fortune Cookies #1127)[1], NFT
                                   (430451799542017668/Little Rocks #1288)[1], NFT (431655724982851915/Little Rocks #1256)[1], NFT (432256426439569033/Little Rocks #1253)[1], NFT (437824473806777636/Fortune Cookies
                                   #1142)[1], NFT (439015490453539991/Little Rocks #1255)[1], NFT (464383374712912965/Fortune Cookies #1133)[1], NFT (483336998859601766/Fortune Cookies #1138)[1], NFT
                                   (488078092161907907/Little Rocks #1252)[1], NFT (492675973976471117/Fortune Cookies #1120)[1], NFT (514471449305395808/Little Rocks #1294)[1], NFT (520579011006351529/Little Rocks
                                   #1279)[1], NFT (523209180618628114/Fortune Cookies #1116)[1], NFT (533811612261458745/Fortune Cookies #1154)[1], NFT (535352417315501291/Fortune Cookies #1101)[1], NFT
                                   (544131297887916359/Little Rocks #1254)[1], NFT (544403326746312201/Fortune Cookies #1174)[1], NFT (549220274911344874/Fortune Cookies #1109)[1], NFT (549580054942367496/Little Rocks
                                   #1206)[1], NFT (552172762806927620/Little Rocks #1248)[1], NFT (552608525400051430/Fortune Cookies #1136)[1], NFT (560557723566197640/Little Rocks #1287)[1], NFT
                                   (575303737426554196/Fortune Cookies #1110)[1]
08125608                           CUSDT[2], DOGE[2], SHIB[1], SOL[8.56089841], USD[6.42]                                                                                                                                 Yes

08125610                           AVAX[0], BRZ[6.36648097], CUSDT[24], DOGE[3], ETH[0], GRT[1], LINK[0], NFT (310981922543776964/Golden bone pass)[1], NFT (337204803789087976/Cyber Samurai Tensei Ceremony             Yes
                                   Announcement)[1], NFT (482406066839867691/Frog #4378)[1], NFT (551679638214724194/Cyber Frogs Ramen)[1], SHIB[13], SOL[0], TRX[13.07441273], USD[0.20], USDT[2.13442803]
08125628                           BTC[.0003], SOL[1.2196], USD[4.38]
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08125633                              AAVE[0], BTC[0.00000001], CUSDT[0], LTC[0], SHIB[0], SOL[0], USD[0.00]                                                                                                                Yes

08125650                              USD[0.00], USDT[34.80028928]

08125651                              BAT[3.0000274], BRZ[4], BTC[0], DOGE[6.01790947], ETH[0], ETHW[0], GRT[1], MATIC[0], SHIB[8], TRX[11], USD[1453.81], USDT[1.01798664]                                                 Yes

08125656                              CUSDT[3], DOGE[1], USD[0.00], USDT[0]                                                                                                                                                 Yes

08125666                              USD[5.00]

08125680                              DOGE[3], USD[0.01], USDT[0.00000001]

08125706                              USD[0.00]

08125733                              SOL[.00000001]                                                                                                                                                                        Yes

08125736                              BTC[.00095], CUSDT[516.14116114], ETH[0.00704096], ETHW[0.00704096], GRT[42.38171178], SHIB[219930.32171263], TRX[200], UNI[2.14346611], USD[0.00], YFI[0]

08125739                              BRZ[1], CUSDT[2], DOGE[1], ETH[.0000003], ETHW[.0000003], SHIB[3482355.08917592], TRX[1], USD[0.00]                                                                                   Yes

08125740                              BTC[.00003449], ETH[.00736029], ETHW[.00726453], SOL[.10507544], USD[19.54]                                                                                                           Yes

08125749                              SHIB[0], USD[0.00], USDT[0]

08125755                              BRZ[4], CUSDT[12], DOGE[8.22090057], ETH[0], NFT (483292120831361606/SOLYETIS #8841)[1], TRX[7], USD[1.42], USDT[1.07550456]                                                          Yes

08125759                              BTC[.001998], USD[3.92]

08125766                              MATIC[.00004229], USD[0.00]                                                                                                                                                           Yes

08125787                              USD[1.00]

08125797                              DOGE[1], USD[0.00], USDT[19.88019953]

08125801                              BTC[0], ETH[0], MATIC[0], SHIB[2760995.09140961], SOL[0.40434709], USD[0.00], USDT[0]

08125807                              CUSDT[1], SOL[1.10611956], USD[0.00]

08125825                              AVAX[0.15445467], CUSDT[1], DOGE[0], ETH[.006722], KSHIB[0], NFT (290854050934093671/SolBunnies #502)[1], NFT (298783421049486070/SolBunnies #2976)[1], NFT                           Yes
                                      (380236919142938472/SolBunnies #3707)[1], NFT (384409543162978700/SolBunnies #1382)[1], NFT (407042046391663839/Solninjas #6085)[1], NFT (414619914898051687/SolBunnies #1229)[1],
                                      NFT (427279961379070709/SolBunnies #3048)[1], NFT (438236518925882147/SolBunnies #1032)[1], NFT (460765723542578171/APEFUEL by Almond Breeze #126)[1], NFT
                                      (524188402755132242/Sigma Shark #5577)[1], NFT (541052423888105531/SolBunnies #3485)[1], NFT (568258945668760535/Solninjas #2096)[1], NFT (574190955588627313/SolBunnies #4349)[1],
                                      SHIB[10.18279505], SOL[0.13192131], USD[0.00]
08125837                              DAI[1.98782135], DOGE[13.73624784], KSHIB[40.71675329], MATIC[1.82628265], USD[2.00]

08125846                              CUSDT[2], LINK[1.06383689], SHIB[1], USD[24.63]                                                                                                                                       Yes

08125848                              CUSDT[1], NFT (356606168729975346/Sigma Shark #3713)[1], SOL[.06657739], TRX[1], USD[0.00]                                                                                            Yes

08125851                              AVAX[13.09273475], MATIC[742.34520885], SOL[9.40004756], USD[0.00], USDT[0]                                                                                                           Yes

08125861                              BAT[1], BF_POINT[300], CUSDT[19], ETHW[1.01974899], SHIB[4.00000001], TRX[177.48693866], USD[0.01]                                                                                    Yes

08125866                              CUSDT[1], SOL[1.79202649], USD[0.00]                                                                                                                                                  Yes

08125869                              SOL[.31091718], USD[0.00]

08125880                              DOGE[100], USD[0.73]

08125883                              BCH[2.46833401], BTC[.02335924], CUSDT[2], DOGE[4], MATIC[526.83467674], PAXG[.59513287], SOL[5.61869276], TRX[1], USD[2.98]                                                          Yes

08125891                              NFT (365546214477039228/Little Rocks #115)[1], SOL[.01]

08125893                              SOL[.35127033]

08125910                              USD[1078.14]                                                                                                                                                                          Yes

08125925                              BRZ[1], DOGE[15.07085149], SHIB[25], SOL[3.17397002], TRX[2], USD[0.00]                                                                                                               Yes

08125932                              NFT (323502802364559429/Cow #2653)[1], NFT (427595153147117675/LightPunk #1428)[1], NFT (535192820183799087/LightPunk #865)[1]

08125934                              CUSDT[2], ETH[.02325345], ETHW[.02325345], USD[0.00]

08125938                              CUSDT[1], SOL[.07451367], USD[0.00]                                                                                                                                                   Yes

08125940                              BTC[0.02880374], DOGE[466.718], ETH[.05910795], ETHW[.04649365], LTC[1.9685395], SHIB[18625881.20538292], USD[106.69], WBTC[0]

08125961                              BTC[.00000008], CUSDT[1], USD[205.99]                                                                                                                                                 Yes

08125963                              USD[0.01]                                                                                                                                                                             Yes

08125968                              NFT (573081400132376154/Microphone #6629)[1]

08125970                              CUSDT[3], GRT[354.0920549], LINK[1.09699457], SHIB[1], TRX[4], USD[0.00]                                                                                                              Yes

08125977       Contingent, Disputed   BRZ[2], DOGE[4], LINK[.09447339], SOL[.00615712], TRX[1], USD[0.00], USDT[1]

08125987                              BRZ[1], TRX[1], USD[0.00]

08125989                              NFT (296904683158940714/Coachella x FTX Weekend 1 #24493)[1], USD[37.70]

08125993                              BRZ[1], BTC[.01272401], DOGE[1], MKR[.45203226], NFT (401242498234793487/Doak Walker's Playbook: Texas vs. SMU - November 1, 1947 #71)[1], SHIB[2], TRX[2], USD[277.85]               Yes

08125997                              USD[5.00]

08126001                              ETH[0], USD[0.00]

08126011                              BTC[0], USD[0.00], USDT[0]

08126016                              USD[0.00]

08126026                              NFT (531695700814367147/The Hill by FTX #4414)[1]

08126034                              CUSDT[2], USD[0.00], USDT[0]

08126036                              BTC[.0001773], CUSDT[611.88324847], ETH[.00087969], ETHW[.00086603], SOL[.09081762], TRX[47.85772716], USD[0.00]                                                                      Yes

08126069                              CUSDT[2], SHIB[1], USD[0.00]                                                                                                                                                          Yes

08126075                              USD[10.81]                                                                                                                                                                            Yes

08126083                              DOGE[1], SOL[0]                                                                                                                                                                       Yes

08126109                              USD[0.00]
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                                                                                                                                          Customer Claims                                                                                                            22-11071 (JTD)
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08126122                           CUSDT[7], TRX[2], USD[0.00]                                                                                                                                                               Yes

08126125                           NFT (393333622166242323/Milo around the world)[1], NFT (564053082630313375/Original Milo)[1], SOL[.04335974]

08126134                           MATIC[.00011348], TRX[.00120331], USD[22.41]                                                                                                                                              Yes

08126165                           BTC[0.00172511]

08126168                           BTC[0], USD[673.07]

08126169                           BTC[0.00172490]

08126172                           BTC[.00028305], CUSDT[5], DOGE[37.16089958], ETH[.05281974], ETHW[.0521631], LINK[.198635], MATIC[15.6277282], SHIB[3702323.78377046], SOL[.2258926], USD[0.06]                           Yes

08126184                           USD[0.10]                                                                                                                                                                                 Yes

08126225                           CUSDT[5], KSHIB[.00000975], USD[0.01]                                                                                                                                                     Yes

08126232                           AVAX[13.88268684], MATIC[38.09418133], SHIB[1], USD[0.00], USDT[0]                                                                                                                        Yes

08126238                           GBP[0.00], SHIB[6], SOL[.00000001], TRX[2], USD[0.00]                                                                                                                                     Yes

08126240                           SHIB[1600000], SOL[.11424296], USD[2.14]

08126242                           USD[10.00]

08126259                           CUSDT[4], DOGE[1], TRX[1.00418616], USD[0.00]                                                                                                                                             Yes

08126268                           TRX[.023], USD[84.23]

08126269                           DAI[.71753426], DOGE[1], ETH[.07775858], ETHW[.07679448], TRX[1], USD[0.00]                                                                                                               Yes

08126293                           NFT (371330056952062323/Coachella x FTX Weekend 2 #11071)[1], SOL[2.43981044], USD[0.00]

08126296                           USD[0.00], USDT[0.00005215]

08126305                           BTC[.00025773], USD[0.00]

08126307                           ETH[.0043393], ETHW[.00428458]                                                                                                                                                            Yes

08126318                           USD[0.00]

08126321                           CUSDT[1], DOGE[163.87807667], ETH[.00368492], ETHW[.00364388], TRX[1], USD[0.02]                                                                                                          Yes

08126324                           BTC[0], CUSDT[3], DOGE[153.40212051], ETH[.00677418], ETHW[.0066921], TRX[2], USD[0.00], USDT[0]                                                                                          Yes

08126335                           NFT (485614430130739895/SBF Hair & Signature #5 #57)[1], NFT (506992259720552500/SBF Hair & Signature #6 #35)[1]

08126346                           USD[300.00], USDT[484.394507]

08126351                           BTC[0], KSHIB[9.69264399], TRX[0], USD[0.00]                                                                                                                                              Yes

08126352                           BCH[.00000032], BRZ[.00056231], DOGE[.00069523], ETH[0], LTC[.00000603], PAXG[.00000161], SHIB[11], SOL[.00003108], TRX[1.00270297], USD[0.00]                                            Yes

08126356                           CUSDT[1], SOL[.12817573], USD[0.00]                                                                                                                                                       Yes

08126362                           CUSDT[2], USD[14.69]

08126378                           SUSHI[0], USD[0.01]                                                                                                                                                                       Yes

08126379                           ETH[.00288073], ETHW[.00288073], NFT (289595780804643710/#inyourdreams)[1], NFT (508450701512453175/#inyourdreams #2)[1], SOL[.07515921], USD[1.00]

08126398                           CUSDT[4], DOGE[1728.97127318], SHIB[10808466.28600216], USD[27.96]                                                                                                                        Yes

08126408                           NFT (501127760165482740/APEFUEL by Almond Breeze #699)[1], USD[0.00]                                                                                                                      Yes

08126410                           USD[0.01]                                                                                                                                                                                 Yes

08126418                           NFT (381825013651270095/Ohio Club Mardi Gras 2013)[1], NFT (408312841166985352/The Thug)[1], NFT (496004191980783689/Ohio Club St. Patrick's Day)[1], NFT (520290053473515508/Big Chill
                                   Mardi Gras 2014)[1], NFT (572591790191823711/Original OG #1)[1], SHIB[.05352363], SOL[.13523613], USD[0.00]
08126449                           BRZ[1], SOL[.10787672], USD[0.70]                                                                                                                                                         Yes

08126462                           DOGE[19.97034439], ETH[0.00000001], ETHW[0], SOL[0], USD[0.00]

08126467                           BTC[.00086402], CUSDT[3], USD[0.01]                                                                                                                                                       Yes

08126469                           KSHIB[1053.18283694], USD[0.00], USDT[0]

08126470                           BTC[.00023639], LINK[.00000001], SHIB[2], SOL[90.49047502], USD[0.00], USDT[0.00000048]                                                                                                   Yes

08126471                           USD[0.00]

08126492                           SOL[.10002608], USD[5.41]                                                                                                                                                                 Yes

08126507                           ETH[0.01050237], ETHW[0.01050237]

08126518                           MATIC[0.67039357], USDT[0.00000160]

08126524                           SOL[0.01000000]

08126527                           USD[80.00]

08126537                           TRX[.001554], USD[58.64]

08126543                           CUSDT[2], MATIC[.00004814], SOL[.00000042], USD[0.08]                                                                                                                                     Yes

08126568                           USD[0.01]

08126572                           DOGE[1], ETH[.01141623], ETHW[.01141623], USD[0.00]

08126574                           AAVE[.02997], USD[2.13]

08126579                           NFT (368732594717451925/Hall of Fantasy League #328)[1]

08126582                           USD[0.00], USDT[0.00009924]

08126588                           BRZ[1], CUSDT[1], USD[0.01]                                                                                                                                                               Yes

08126589                           USD[10.00]

08126604                           BTC[.0003458]                                                                                                                                                                             Yes

08126623                           BRZ[2], DOGE[1], ETHW[.50666994], SHIB[6], TRX[4], USD[0.00]

08126626                           BRZ[1], DOGE[3], GRT[1], SOL[35.14630673], USD[0.00]
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                                                                                                                                             Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08126628                              BAT[36.49558222], BCH[.08485446], CUSDT[6], DOGE[1], TRX[4], USD[0.00]

08126634                              USD[0.00], USDT[18.81193541]

08126652                              USD[0.00]

08126656                              NFT (421471686883089713/Ancient Civilization #39)[1], NFT (432839400745069011/High Tide)[1], NFT (438340164721128189/420utils #6)[1], SOL[.00001036], TRX[1], USD[27.92]              Yes

08126659                              BTC[.0062937], NFT (295419792311755986/Cow #8582)[1], NFT (394223682418260256/ApexDucks #7381)[1], NFT (413505868635233757/Nifty Nanas #583)[1], NFT (437350778630820859/#2969)[1],
                                      NFT (444317735871305965/#3320)[1], NFT (448131625291521217/#4610)[1], NFT (449376382778763230/ApexDucks #5611)[1], NFT (473060772562631688/ApexDucks #3743)[1], NFT
                                      (478433077932642089/Space Bums #2363)[1], NFT (478929960387747302/Astral Apes #1092)[1], NFT (485127339635011986/Danerob Collection #536)[1], NFT (506834293388808412/Red Panda
                                      #5873)[1], NFT (520075326127309562/Cow #3298)[1], NFT (534013609861212814/#4070)[1], NFT (535720072029594299/ApexDucks #3931)[1], SOL[5.4721], USD[1.81]

08126665                              BRZ[1], BTC[.00515728], CUSDT[2], DAI[99.50071391], ETH[.03507315], ETHW[.03507315], MATIC[178.84937936], SHIB[1], SOL[1.00083891], TRX[1], USD[429.79]

08126681                              USD[10.00]

08126685                              NFT (308568065848171427/Queens)[1], NFT (326894769675053326/Queen on fire )[1], NFT (362031881146564641/Queen's church)[1], NFT (544250476497568402/Double Head queen gold)[1],
                                      USD[16.00]
08126690                              BAT[1], TRX[1], USD[0.00]

08126703                              BTC[.0000965], USD[390.80]

08126713                              BCH[.0122364], BTC[0.11079840], ETH[.0077536], ETHW[.0045556], LINK[1.68272], LTC[34.69495], SOL[.027572], UNI[1311.73676], USD[0.67], USDT[6.353]

08126725                              BRZ[3], CUSDT[11], DOGE[9.67938895], SHIB[85901.65631813], USD[3.47]                                                                                                                  Yes

08126732                              BTC[.00008645], DOGE[21.75340729], ETH[.00114561], ETHW[.00114561], KSHIB[117.25072378], USD[0.00]

08126735                              DOGE[1], TRX[1], USD[24.96]

08126739                              CUSDT[1], SOL[.27349054], USD[0.16]                                                                                                                                                   Yes

08126748                              USD[486.47]                                                                                                                                                                           Yes

08126754                              BRZ[2], CUSDT[5], ETH[.00000001], ETHW[0.24409858], TRX[1], USD[2.89]                                                                                                                 Yes

08126756                              CUSDT[1], DOGE[61.14622359], SOL[0.09505197], TRX[1], USD[0.00]                                                                                                                       Yes

08126758                              BTC[.00000003]                                                                                                                                                                        Yes

08126765                              SOL[.05]

08126770                              CUSDT[3], DOGE[1], USD[0.28]                                                                                                                                                          Yes

08126776                              USD[500.01]

08126782                              USD[1000.00]

08126797       Contingent, Disputed   USD[0.00]

08126802                              SOL[0], USD[11.77]                                                                                                                                                                    Yes

08126807                              BTC[.02074607], DOGE[1408.34610431], ETH[.29664031], ETHW[.29664031], USD[4.65], USDT[0.07152302]

08126814                              DOGE[1], KSHIB[100.23752362], SHIB[15], TRX[1], USD[0.00]                                                                                                                             Yes

08126827                              TRX[.000002]

08126829                              CUSDT[1], USD[0.00]

08126830                              ETH[.03532995], ETHW[0.03532994]

08126835                              USD[10.00]

08126837                              SOL[.01], USD[30.58]                                                                                                                                                                  Yes

08126838                              BTC[0.00189735]                                                                                                                                                                       Yes

08126839                              BTC[0.00189829]                                                                                                                                                                       Yes

08126842                              BTC[0.00189822]                                                                                                                                                                       Yes

08126847                              CUSDT[2], DOGE[1], SHIB[587144.05425691], USD[0.01], USDT[.99410928]

08126848                              USD[1.00]

08126851                              BTC[0.00172668]

08126857                              DOGE[.966], SHIB[299700], TRX[26.973], USD[0.04]

08126863       Contingent, Disputed   USD[0.00]

08126865                              BTC[.00016702], TRX[1], USD[0.00]

08126869                              BRZ[11.73739506], BTC[.12965779], CUSDT[32], DOGE[4412.44883926], ETH[1.81247691], ETHW[52.2759766], GRT[2.00578409], LINK[11.39526585], MATIC[735.35509801], NFT                     Yes
                                      (411313256291469708/APEFUEL by Almond Breeze #920)[1], SHIB[47], SOL[15.33159926], TRX[12], USD[0.00], USDT[0.00038525]
08126878                              BRZ[1], DOGE[1], USD[0.00]

08126882                              SOL[.00672], USD[0.72]

08126888                              DOGE[1], NFT (289994457913798785/The 2974 Collection #2528)[1], NFT (301707539216069632/The 2974 Collection #0675)[1], NFT (315127313952263895/The 2974 Collection #1055)[1], NFT      Yes
                                      (322680566484561736/Birthday Cake #2330)[1], NFT (341211197732100072/The 2974 Collection #2330)[1], NFT (352046929868761957/The 2974 Collection #0960)[1], NFT (357184701242274279/The
                                      2974 Collection #0574)[1], NFT (370901158341024620/Birthday Cake #0675)[1], NFT (406567722494062910/Birthday Cake #0960)[1], NFT (407352739455043771/Birthday Cake #1197)[1], NFT
                                      (432933691258774920/FTX - Off The Grid Miami #3057)[1], NFT (437428051560679335/The 2974 Collection #2095)[1], NFT (438339757176898027/The 2974 Collection #2164)[1], NFT
                                      (466087569075354081/The 2974 Collection #1197)[1], NFT (519364285308941460/Birthday Cake #0596)[1], NFT (546197065332868139/The 2974 Collection #0596)[1], NFT
                                      (547634538677159049/2974 POAP #23)[1], NFT (556175722537911478/The 2974 Collection #0767)[1], NFT (565489240506179998/Birthday Cake #0767)[1], NFT (569825730152927289/The 2974
                                      Collection #0282)[1], SOL[.00000001], USD[3032.31]
08126889                              USD[0.80]                                                                                                                                                                              Yes

08126895                              KSHIB[0], LTC[0], MKR[0], SOL[0]

08126896                              BAT[4.33304796], GRT[.00007792], SUSHI[2.63935933], TRX[.00042521], USD[0.00]                                                                                                         Yes

08126906                              USD[540.52]                                                                                                                                                                           Yes

08126915                              USD[5.00]

08126919                              USD[500.01]

08126920                              BTC[0], ETH[0], MATIC[0], SHIB[1], SOL[0], TRX[0], UNI[0]                                                                                                                             Yes
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                                                                                                                                            Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08126923                              SOL[.02271355], USD[14.85], USDT[0]

08126926                              SOL[0], USD[0.00]

08126930                              CUSDT[1], NFT (461432923896258050/Tim Brown's Playbook: Kansas City Chiefs vs. Oakland Raiders - December 9, 2001 #46)[1], SHIB[1720671.2666706], TRX[1], USD[0.02]                          Yes

08126955                              SHIB[204690330.95344868], TRX[1], USD[0.00]

08126957                              BTC[0], USD[0.00], USDT[0]

08126968                              BTC[0], TRX[0], USD[0.00]

08126986                              BCH[.171], DOGE[432.567], GRT[112.953], SHIB[2100000], USD[8.96], YFI[.003]

08126990                              CUSDT[1], LTC[.26857701], USD[0.00]                                                                                                                                                          Yes

08126996                              BTC[0], ETHW[.03496675], KSHIB[1230], USD[0.81], USDT[0]

08127012                              TRX[1], USD[0.00]                                                                                                                                                                            Yes

08127013                              USD[100.00]

08127020                              BRZ[1], DOGE[1], ETH[.04871293], ETHW[.04811101], SOL[.49635316], USD[216.20]                                                                                                                Yes

08127021                              SHIB[269.01340782], SOL[0], USD[0.00]                                                                                                                                                        Yes

08127024                              BTC[.00016712], USD[0.00]                                                                                                                                                                    Yes

08127042                              CUSDT[1], DOGE[.00041457], LINK[.00000682], MATIC[.00032907], SHIB[3.82906223], SOL[.03527696], TRX[0.00073202], UNI[.00000958], USD[0.44]                                                   Yes

08127048                              DOGE[1], USD[0.01]

08127058                              BTC[.00000002], SHIB[1], TRX[1], USD[0.00]                                                                                                                                                   Yes

08127065                              CUSDT[6], DOGE[0], LTC[0], NFT (324319556213001577/HazyHippo #2519)[1], SHIB[5], SOL[0], TRX[4], USD[0.00]                                                                                   Yes

08127081                              SOL[.00917475], USD[2.01], USDT[.0020351]

08127084                              NFT (544456887873207334/Reflection '18 #18 (Redeemed))[1], USD[117.64], USDT[0]

08127087                              NEAR[0], NFT (314512401295574565/JungleCats #0738)[1], NFT (435527404838808320/SOLYETIS #4646)[1], NFT (462097242964645161/Belugie #4315)[1], NFT (486795659368816205/Astral Apes
                                      #1416)[1], USD[3.28], USDT[0]
08127090                              BRZ[2], CUSDT[27], DOGE[10.31595805], SHIB[727.64405289], TRX[7], USD[20.19]                                                                                                                 Yes

08127094                              NFT (361895711694397884/Vitalik Buterin - Pixel Art)[1], NFT (367921853171650420/May the force be with Musk #2/30)[1], NFT (392651540889832636/Musk and Doge the Conquerors #2/30)[1], NFT
                                      (440177937733045976/J of Tesla #3/30)[1], NFT (450069984728836157/Vitalik Hard Fork London #1/30)[1]
08127103                              BAT[1], BRZ[2], DOGE[8.00794216], ETHW[6.83613671], GRT[3.00077347], LINK[1.0580045], NFT (315208394866614991/Coachella x FTX Weekend 2 #28814)[1], SHIB[6], TRX[8], USD[22.56],             Yes
                                      USDT[3.11310652]
08127106                              USD[0.00]

08127120                              SHIB[2], TRX[2], USD[0.00]                                                                                                                                                                   Yes

08127132                              USD[2.51]

08127137                              LINK[.00075183]                                                                                                                                                                              Yes

08127139                              CUSDT[1], MATIC[0.00946985], SHIB[450830.2754931], USD[0.00]                                                                                                                                 Yes

08127146                              NFT (365117420012763661/Coachella x FTX Weekend 1 #8341)[1], USD[0.01]

08127156                              CUSDT[2], DOGE[49.08283648], ETH[.00506792], ETHW[.00499952], MATIC[13.80961464], USD[0.01]                                                                                                  Yes

08127157                              UNI[.06962777], USD[0.00]                                                                                                                                                                    Yes

08127164                              BTC[.0000208], SOL[.00000001], USD[0.00]

08127179                              USD[43.25]                                                                                                                                                                                   Yes

08127202                              AVAX[0], CUSDT[8], DOGE[3], LINK[1.22220714], SHIB[3], SOL[1.18921936], TRX[1], UNI[10.31301322], USD[0.00]                                                                                  Yes

08127205                              USD[247.49]

08127216                              ETH[0], USD[0.00]

08127220                              NFT (357784468594837180/Microphone #180)[1], NFT (388076177754350269/Humpty Dumpty #491)[1]

08127222                              DOGE[1], TRX[.000019], USDT[0.00000028]

08127223                              USD[0.00]

08127232                              SOL[2.28522309], USD[0.00]

08127238                              NFT (487769221487201538/Coachella x FTX Weekend 2 #3051)[1]

08127242                              USD[162.15]                                                                                                                                                                                  Yes

08127243                              SHIB[186918009.04086015], USD[0.00]                                                                                                                                                          Yes

08127245                              AVAX[3.4751183], BRZ[1], BTC[.02391323], CUSDT[9], DOGE[6], ETH[.16713839], ETHW[.12794831], LTC[.55715517], MATIC[45.2399013], SHIB[71], SOL[3.05749518], TRX[8], USD[0.26]                 Yes

08127247       Contingent, Disputed   BTC[8.07664365], GRT[1], USD[0.01]                                                                                                                                                           Yes

08127249                              SHIB[2], USD[0.00]

08127251                              CUSDT[1], SHIB[2183406.11353711], USD[0.00]

08127255                              BTC[0.00185621]                                                                                                                                                                              Yes

08127263                              USD[100.00]

08127270                              BRZ[1], SHIB[6396379.43353403]                                                                                                                                                               Yes

08127285                              SHIB[900000], USD[4.58]

08127289                              USD[21.62]                                                                                                                                                                                   Yes

08127291                              BTC[0.00168352]

08127292                              NFT (400062509036076942/HPNO Bottle)[1]

08127298                              BTC[0.00191118]                                                                                                                                                                              Yes

08127319                              BTC[0.00184603]                                                                                                                                                                              Yes
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08127324                           USD[0.00], USDT[2.98501198]

08127325                           CUSDT[2], SHIB[2], SOL[2.6901255], TRX[1], USD[0.00]

08127328                           ETH[.01469142], ETHW[.01451358], SOL[.55488664]                                                                                                                                     Yes

08127337                           USD[0.04], USDT[7.96004]

08127344                           USD[108.05]                                                                                                                                                                         Yes

08127347                           BTC[.03163666]

08127357                           BTC[0.00274137], DOGE[345.09629157], ETH[.01844424], ETHW[0], SHIB[22], TRX[3], USD[0.00]                                                                                           Yes

08127358                           USD[0.00]

08127362                           AAVE[0], BTC[0], CUSDT[0], DAI[0], ETH[0], ETHW[0], LINK[0], MATIC[0.00000001], PAXG[0], SOL[0.00000001], UNI[0], USD[0.75], USDT[0]

08127363                           BTC[0], KSHIB[0], SHIB[4], SOL[0], TRX[0], USD[0.00]

08127364                           BTC[0.00168412]

08127371                           BTC[0.00168330]

08127372                           BTC[0], ETH[0.00000001], ETHW[0.00315981], LTC[0], NFT (333576932241766753/Entrance Voucher #2621)[1], NFT (371963871140293249/Entrance Voucher #2382)[1], NFT
                                   (454884671912578272/Entrance Voucher #472)[1], NFT (510885726669719726/Humpty Dumpty #512)[1], NFT (563375636797602699/Entrance Voucher #1479)[1], SOL[0], USD[0.39], USDT[0]
08127378                           USD[5297.56]                                                                                                                                                                        Yes

08127379                           ETH[.02294698], ETHW[.02294698], USD[0.00]

08127380                           ALGO[0], BCH[0], BTC[0.00000002], SHIB[3], SOL[0.00001087], TRX[1], USD[0.02]                                                                                                       Yes

08127383                           CUSDT[2], SHIB[1], TRX[1], USD[0.00]

08127386                           BCH[.00000004], BRZ[1], BTC[.0045938], CUSDT[6], DOGE[1128.22483046], ETH[0], ETHW[4.93183700], GBP[92.63], MATIC[22.81118912], NFT (326950407604319579/burningman #3)[1], NFT       Yes
                                   (353533675019195155/burningman)[1], NFT (410669756413654089/burningman #2)[1], NFT (411675960508794918/Bored Ape Yacht Club 7828 #2)[1], NFT (429279819073440190/blockchainbehaviour
                                   bob)[1], NFT (477116994190793346/Bored Ape Yacht Club 7828)[1], SHIB[3358593.18141955], SOL[0.39738256], TRX[1], USD[86.55]
08127387                           BTC[0.00185302]                                                                                                                                                                      Yes

08127394                           USD[0.00], USDT[0]

08127395                           BTC[0.00354931], CUSDT[5], DOGE[2], ETH[4.05174745], ETHW[4.05000861], LINK[2.95355716], MATIC[25.97969173], SHIB[1084461.36269617], TRX[2], USD[3443.14], USDT[1.05009833]         Yes

08127399                           BCH[.00000002], ETH[.00065062], ETHW[.00064785], NFT (355688704099947776/Green.Troll.Marble)[1], SOL[.01846247], USD[0.00]                                                          Yes

08127402                           BTC[.000071], DOGE[.11477172], SOL[.00000001], USD[0.73]

08127411                           USD[0.00]

08127412                           BTC[0], DOGE[0], ETH[0], LINK[0], MATIC[0], SOL[0], USD[1046.68]

08127421                           BTC[.00338258], CUSDT[2453.63414655], DOGE[2], ETH[.02884163], ETHW[.02848595], SOL[.36725094], USD[0.13]                                                                           Yes

08127422                           USD[0.00]

08127440                           BAT[.999], BTC[0.00002865], KSHIB[6363.63], LTC[.00391], MATIC[629.38], SOL[1.1243], USD[1.18]

08127446                           USD[0.01]                                                                                                                                                                           Yes

08127456                           CUSDT[1], USD[0.00]

08127471                           USD[0.00], USDT[0.00000052]

08127472                           AAVE[7.9357925], BAT[131.34868515], BRZ[590.01116501], CUSDT[4941.65495487], DOGE[11.04928422], ETH[1.07708641], ETHW[1.07663408], GRT[251.59470538], LINK[30.5134093],             Yes
                                   SOL[26.81836116], TRX[1915.50673835], USD[0.00]
08127478                           BRZ[2], CUSDT[18], DOGE[3], GRT[1], LINK[.86580887], SHIB[6], TRX[6], USD[0.01]                                                                                                     Yes

08127479                           CUSDT[2], DOGE[1], ETHW[.04389645], SHIB[1], TRX[1], USD[82.18]

08127481                           ETH[.07401167], ETHW[.07401167], SOL[1.01200378]

08127485                           USD[30.00]

08127499                           AAVE[9.3578322], AVAX[31.81048148], BAT[1], BRZ[5.07649214], BTC[.00875928], CUSDT[9], DOGE[1424.81985434], ETH[1.59092707], ETHW[1.59025885], GRT[423.13437784],                   Yes
                                   MATIC[497.92074176], SHIB[37460298.82657928], SOL[28.29898897], SUSHI[26.48329636], TRX[969.46988313], USD[0.40]
08127502                           BTC[.00000365]

08127505                           SHIB[3], USD[0.00]                                                                                                                                                                  Yes

08127512                           ETH[.000977], ETHW[.000977], SHIB[2853559.16607907], SOL[.00422699], USD[0.00]

08127515                           USD[0.95]                                                                                                                                                                           Yes

08127516                           CUSDT[1143], KSHIB[579.42], TRX[487], USD[0.09]

08127518                           SOL[1.35471797], TRX[1], USD[0.00]

08127533                           BTC[.00190368], KSHIB[4733.06724472], SHIB[1], SOL[2.1983874], USD[0.00], USDT[1.06103174]                                                                                          Yes

08127535                           CUSDT[2], DOGE[1070.69081956], KSHIB[5238.95502545], SHIB[7739938.08049535], TRX[1], USD[0.01]

08127541                           USD[0.88]

08127552                           BAT[14.13884055], BTC[.00117692], CUSDT[5], DOGE[48.87205175], ETH[.01638356], ETHW[.01617836], GRT[10.71330975], KSHIB[2122.53001377], LINK[1.10878988], LTC[.30213433],           Yes
                                   MATIC[107.99232781], SHIB[109692.67786626], SOL[2.07264632], SUSHI[1.73521936], TRX[150.18225141], UNI[2.35792496], USD[0.01]
08127558                           BTC[0], DOGE[0], ETH[.00000001], USD[0.01], USDT[0]

08127560                           BAT[.00049923], BTC[.00000001], DOGE[.90275381], ETH[.00000001], ETHW[0], LINK[.02440285], SHIB[250857.33036936], TRX[45.56981998], USD[0.08], USDT[0.00000001]                     Yes

08127563                           SHIB[1], USDT[0]

08127564                           SHIB[7.38719883], TRX[0], USD[0.00]

08127566                           LINK[.73155673], USD[0.00]

08127577                           SHIB[15361532.18903254], USD[0.00]

08127578                           LINK[50]

08127584                           DAI[.00436601], SHIB[4.85578929], USD[0.08]                                                                                                                                         Yes

08127586                           CUSDT[229.12025587], DOGE[0], ETH[0], KSHIB[0], SOL[0], USD[0.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08127598                              DOGE[0], ETH[0], ETHW[0], NFT (506336286636417673/DOTB #4543)[1], NFT (524368830568926487/SolDad #2628)[1], SHIB[0], SOL[0], USD[51.37]

08127605       Contingent, Disputed   USD[0.00]

08127617                              USD[30.00]

08127631                              BAT[1], BRZ[1], DOGE[3], GRT[1], SHIB[1], SOL[.00000001], TRX[1], USD[0.00], USDT[2.10222528]                                                     Yes

08127632                              DOGE[582.65093983], SHIB[144115.85722961], SOL[2.2175244], USD[347.84]                                                                            Yes

08127643                              BTC[.00840195]

08127648                              BTC[0.00108418], CUSDT[1], DOGE[1], GRT[1], SHIB[1], SOL[0], USD[0.00]                                                                            Yes

08127651                              BRZ[58], SHIB[2098005], USD[0.16]

08127654                              CUSDT[1], MATIC[14.33189929], SOL[.04877003], TRX[1], USD[0.00]                                                                                   Yes

08127666                              BRZ[6.00244172], DOGE[4], KSHIB[22.16941514], SHIB[2006421.54574638], TRX[2], USD[0.00], USDT[0]

08127667       Contingent, Disputed   USD[0.00]

08127669                              DOGE[292.98995765]

08127686                              BRZ[1], CUSDT[2], USD[0.00]                                                                                                                       Yes

08127688                              SHIB[1], USD[6.99]

08127716                              USD[0.00]

08127729                              BTC[.08052658], USD[0.00]

08127757                              USD[2.31]

08127758                              USD[10.00]

08127764                              BTC[.05537165], TRX[1], USD[0.00]                                                                                                                 Yes

08127775                              CUSDT[1], TRX[1], USD[0.00], USDT[0]

08127776                              BRZ[1], CUSDT[7], DOGE[3], LINK[.00001004], SHIB[8], SOL[.06572277], SUSHI[.00001571], TRX[.00003], UNI[.00001273], USD[0.01], USDT[0.00000001]   Yes

08127781                              SHIB[0], SOL[0.00315460], USD[1.36]

08127792                              CUSDT[3], USD[0.00], USDT[0.00470053]                                                                                                             Yes

08127808                              CUSDT[1], SHIB[44197.31368861]

08127811                              BTC[.00000056], TRX[1], USD[0.01]                                                                                                                 Yes

08127829                              DOGE[2], GRT[1], NEAR[56.14951942], SHIB[4171016.97595184], USD[1282.23], USDT[0]                                                                 Yes

08127831                              CUSDT[33.90929669], DOGE[1], SHIB[3], SOL[.00000005], USD[16.12], USDT[0]                                                                         Yes

08127839                              BTC[.00019954], ETHW[.00000618], MATIC[.00160256], SHIB[3], SOL[.00004702], USD[0.00]                                                             Yes

08127841                              USD[50.00]

08127845                              LTC[3.2531674], USD[0.00], USDT[1.07699316]                                                                                                       Yes

08127848                              CUSDT[1], KSHIB[315.13856327], USD[10.81]                                                                                                         Yes

08127849                              CUSDT[1], ETH[.00482022], ETHW[.0047655], USD[0.00]                                                                                               Yes

08127851                              CUSDT[1], TRX[1016.00283132], USD[0.00]                                                                                                           Yes

08127852                              ETH[0], ETHW[0], SHIB[667.76204523], USD[133.42]                                                                                                  Yes

08127857                              SHIB[1136112.43496012], USD[0.00]                                                                                                                 Yes

08127867                              CUSDT[2], ETH[.01487701], ETHW[.01487701], SHIB[3392897.53449445], USD[0.00]

08127869                              KSHIB[0], MATIC[0], SHIB[0], TRX[0], USD[0.00]                                                                                                    Yes

08127896                              USD[21.62]                                                                                                                                        Yes

08127897                              BTC[.00460373], CUSDT[3], DOGE[16160.11919195], SHIB[89296199.59538105], TRX[1], USD[0.01]                                                        Yes

08127898                              ETH[.023976], ETHW[.023976], USD[101.84]

08127904                              CUSDT[3], TRX[2], USD[115.07]                                                                                                                     Yes

08127906                              NFT (444191111835640166/The Hill by FTX #6129)[1], USD[0.00]

08127914                              SOL[.00000199], USD[0.01]                                                                                                                         Yes

08127922                              TRX[60.19887339], USD[0.00]                                                                                                                       Yes

08127924                              USD[27.02]                                                                                                                                        Yes

08127935                              USD[10.00]

08127936                              CUSDT[1], USD[0.09]                                                                                                                               Yes

08127947                              NFT (378123894343878519/Fancy Frenchies #6067)[1], SOL[.04176563], USD[4.00]

08127951                              SHIB[1], TRX[805.07594985], USD[0.33]                                                                                                             Yes

08127952                              SOL[.00000001]

08127954                              ETH[.00000056], ETHW[0.00000056], SHIB[69897.82956724]                                                                                            Yes

08127964                              BTC[.00006103]

08127966                              BTC[.00000014], CUSDT[1], USD[0.00], USDT[0]

08127970                              USD[10.00]

08127979                              SHIB[241185.60775478], USD[0.00]                                                                                                                  Yes

08127982                              ETH[0], ETHW[0], SOL[.00775], USD[27.43]

08127987                              ETH[.07160651], SHIB[1], USD[0.00]

08128001                              CUSDT[1], SHIB[1], UNI[0], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08128019                              USD[50.01]

08128020                              USD[0.00], USDT[0]                                                                                                                                                                  Yes

08128021                              SOL[1.49065057], TRX[1], USD[0.01]                                                                                                                                                  Yes

08128030                              USD[0.46]

08128039                              CUSDT[2], USD[0.00]

08128047                              USD[10.00]

08128052                              CUSDT[4], TRX[2], USD[0.00], USDT[1]

08128056                              SHIB[2], SOL[.00000001], USD[0.05], USDT[1]

08128057                              CUSDT[2], USD[0.01]                                                                                                                                                                 Yes

08128058                              BF_POINT[200]

08128069                              CUSDT[2], NFT (492270866651348304/Shannon Sharpe's Playbook: Denver Broncos vs. Los Angeles Raiders - January 9, 1994 #63)[1], TRX[1], USD[0.17]

08128070                              BTC[.1139511], ETH[.587412], ETHW[.587412], MATIC[119.88], SOL[.999], USD[15.82]

08128076                              BRZ[1], ETH[0], ETHW[0.10500187], SHIB[2], USD[0.44]                                                                                                                                Yes

08128078                              USD[0.50]

08128082                              CUSDT[1], DOGE[1], TRX[2], USD[0.01], USDT[0]                                                                                                                                       Yes

08128085                              BTC[.00544487], ETH[.055368], ETHW[.05468262], GRT[.00187528], SHIB[1], USD[22.51]                                                                                                  Yes

08128104                              BTC[.00330804], USD[0.01]                                                                                                                                                           Yes

08128109                              USD[0.00]

08128125                              NFT (307787292146279785/SolDoge Strays #1564)[1], NFT (325691800637724963/SolDoge Strays #1613)[1], NFT (406786114895588501/SolDoge Strays #1615)[1], NFT
                                      (477881608565251259/SolDoge Strays #1611)[1], NFT (523788717782879275/SolDoge Strays #1619)[1], NFT (534367559447345464/SolDoge Strays #1614)[1], NFT (549265391541993467/SolDoge
                                      Strays #1620)[1], NFT (570603153363230468/SolDoge Strays #1612)[1]
08128126                              ETH[0.06488851], ETHW[0.06488850], USD[0.00]

08128130                              USD[11.00]

08128132                              CUSDT[1], DOGE[1], TRX[1.00000434], USD[0.01]                                                                                                                                       Yes

08128144                              USD[563.41]

08128146                              BTC[.00141672], CUSDT[1], ETH[.00482491], ETHW[.00477019], TRX[1], USD[0.00]                                                                                                        Yes

08128153                              CUSDT[2], MATIC[13.25061498], USD[0.00]                                                                                                                                             Yes

08128157                              DOGE[1], SHIB[427137.7397901], USD[0.00]

08128158                              CUSDT[1], MATIC[11.1168919], TRX[6.43475259], USD[0.00], USDT[.99418192]                                                                                                            Yes

08128161                              CUSDT[2], USD[0.01]

08128164                              BRZ[1], USD[0.01]

08128166                              USD[0.00]

08128171                              BAT[1], BTC[0.00000002], CUSDT[1], DOGE[1], SUSHI[.00023962], USD[3.32]                                                                                                             Yes

08128181                              BRZ[2], CUSDT[10], DOGE[4402.54201238], SHIB[1], SUSHI[.00030872], TRX[5], USD[0.00]                                                                                                Yes

08128182                              USD[31.22]                                                                                                                                                                          Yes

08128188                              BRZ[1], CUSDT[12], DOGE[5892.68668309], MATIC[181.66693766], SHIB[18305788.171747], SOL[.46004666], SUSHI[5.98608305], TRX[2], USD[11.00]                                           Yes

08128197                              BTC[0.00031625], ETH[.01014047], ETHW[.01001726], SHIB[1], USD[7.57]                                                                                                                Yes

08128206                              USD[0.00]

08128224                              TRX[536.69485065]                                                                                                                                                                   Yes

08128226                              TRX[1], USD[0.00]                                                                                                                                                                   Yes

08128230                              USDT[520.63000122]

08128231                              USD[0.00]                                                                                                                                                                           Yes

08128232                              BTC[0.00167738]

08128239       Contingent, Disputed   AVAX[20.09008026], SOL[.00966786], USD[-74.63]                                                                                                                                      Yes

08128241                              USD[0.01]

08128242                              KSHIB[0], USD[0.00], USDT[0]

08128243                              USD[130.01]

08128249                              USDT[464.499009]

08128250                              CUSDT[3], DOGE[1], USD[0.01]

08128255                              CUSDT[1], USD[0.00], USDT[0]                                                                                                                                                        Yes

08128256                              BTC[0], DOGE[4.09143746], ETH[0], USD[0.00], USDT[0.00004080]

08128257                              CUSDT[454.64575587], DOGE[1], PAXG[.02157604], TRX[246.83963979], USD[0.00]

08128263                              NFT (344699745757932547/Boneworld #8544)[1], SOL[.0358853], USD[0.00]

08128268                              AVAX[.19999047], BRZ[7.36300902], CUSDT[36.57868453], DOGE[22.63811685], ETH[0], ETHW[0], LINK[1.56289693], SHIB[198], TRX[16.06295428], USD[0.67]

08128270                              USD[2.02]

08128273                              BTC[.022567], ETH[.735], ETHW[.735], SHIB[1200000], SOL[13], USD[1.74]

08128274                              ETH[.480519], ETHW[.480519], USD[1.06]

08128277                              NFT (299469505170549071/Imola Ticket Stub #730)[1]

08128280                              USD[0.10]
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                                                                                                                                            Customer Claims                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08128284                              BTC[0.00005094], MATIC[150], SOL[.99], USD[26.55]

08128286                              USD[0.01], USDT[0.00000001]                                                                                                                                                   Yes

08128287                              SHIB[1], USD[0.00]                                                                                                                                                            Yes

08128290                              BAT[0], ETH[0], GRT[0], MATIC[0], USD[0.00], USDT[0.68444145]

08128292       Contingent, Disputed   BRZ[1], BTC[0], CUSDT[8], DOGE[1], ETH[0], ETHW[0], SOL[0.00000001], TRX[3], USD[0.00]                                                                                        Yes

08128295                              SOL[0], USD[0.00]                                                                                                                                                             Yes

08128299                              ETH[.00000001], USD[2.34]

08128300                              TRX[9074.71152327]                                                                                                                                                            Yes

08128304                              MATIC[0], SUSHI[.331], USD[0.00]

08128305                              BAT[1], BTC[0], DOGE[2], GRT[1], SHIB[1], SOL[0], USD[0.00]                                                                                                                   Yes

08128307                              SOL[.45], USD[0.95]

08128313                              TRX[1], USDT[0]

08128315                              USD[0.00]

08128318                              BRZ[1], BTC[.0294431], DOGE[1], ETH[.12195909], ETHW[.12078773], SOL[2.45822234], TRX[3], USD[0.07]                                                                           Yes

08128329                              BTC[.00430969], USD[2429.13]                                                                                                                                                  Yes

08128330                              CUSDT[1.93354086], SHIB[5.89403098], SUSHI[.00002747], USD[0.00]                                                                                                              Yes

08128337                              SOL[1.53497782], USD[214.12]                                                                                                                                                  Yes

08128340                              USD[5.00]

08128353                              USD[0.00]

08128356                              BTC[.00000002], SHIB[1], USD[0.01]                                                                                                                                            Yes

08128361                              BTC[.0004], NFT (324372096414704513/PrinceParker #2)[1], NFT (330387551426062354/What?)[1], NFT (342978633518675016/Duuude)[1], NFT (383149236011486682/Phil)[1], NFT
                                      (431337331371248337/PrinceParker)[1], NFT (529109677046251790/RoscoeMonroe)[1], NFT (539969026160820840/Duuude #2)[1], NFT (541371783423153541/Mr.Ono)[1], NFT
                                      (557392635550361117/AlbinoMobi)[1], NFT (561743947088520834/Sup?)[1], USD[1.83]
08128365                              ALGO[.00000001], ETH[0], GRT[0], SHIB[0], SOL[0], SUSHI[0], USD[0.00]

08128367                              USD[100.00]

08128368                              BTC[7.86669745], ETH[105.62449541], ETHW[105.5962306]                                                                                                                         Yes

08128377                              BTC[0], ETH[0.00000001], SOL[0], USD[0.00]

08128378                              BTC[.00009475], GRT[593.406], SOL[1.61538], USD[2.32]

08128385                              BAT[1.00656721], CUSDT[2], ETHW[1.91843268], GRT[.00310269], TRX[2], USD[0.00]                                                                                                Yes

08128392                              BTC[0], ETH[0], MATIC[0], TRX[1], USD[0.00]

08128401                              USD[100.00]

08128405                              USDT[0.00000136]

08128407                              TRX[.000001], USD[0.00]

08128427                              BTC[.07068955], ETH[.05729771], ETHW[.05802455], SHIB[22217635.14608129], TRX[2.000006], USD[2.47], USDT[0]                                                                   Yes

08128428                              USD[0.00]

08128430                              CUSDT[3], MATIC[63.24065673], SHIB[6032512.12232136], SOL[1.07217171], USD[11.19]                                                                                             Yes

08128452                              BTC[.00195089], DOGE[25.47865773], SOL[.04954682], TRX[257.54942635], USD[0.06]                                                                                               Yes

08128465                              BTC[.00662814], CUSDT[5], ETH[.12620233], ETHW[.12507568], SOL[.24401001], TRX[2], USD[0.17]                                                                                  Yes

08128474                              USD[0.83]

08128475                              BTC[.00515182], CUSDT[1], ETH[.02322341], ETHW[.02293613], USD[0.00]                                                                                                          Yes

08128484                              USD[0.01]

08128486                              BRZ[1], GRT[1], USD[0.04]

08128493                              BTC[.56131884], ETH[.22736878], ETHW[.22736878], SOL[49.45546694], USD[0.00]

08128494                              USD[100.00]

08128510                              SHIB[601850.05477672], USD[0.00]                                                                                                                                              Yes

08128515                              BTC[.00902079], TRX[1], USD[2656.55]                                                                                                                                          Yes

08128523                              DOGE[1], SOL[.00098396], USD[0.00]                                                                                                                                            Yes

08128557                              NFT (310271485589008954/DarkPunk #2847)[1], NFT (319322539282956871/Kiddo #5675)[1], NFT (379677740591323973/BabyBlob #277)[1], NFT (488314740025214139/DarkPunk #2854)[1],
                                      SOL[.05709483], USD[0.00]
08128564                              ALGO[36.06816611], AVAX[21.58723397], BAT[67.93848907], BTC[.00927374], DAI[.00059058], DOGE[7637.21178417], ETH[9.73966115], ETHW[9.73663789], LINK[13.16287435],            Yes
                                      MATIC[4043.77681211], NEAR[26.00762117], SHIB[319757358.22924536], SOL[7.71845903], TRX[1], USD[7832.05], USDT[2169.10691894]
08128567                              BTC[.01206677], USD[0.00]

08128568                              USDT[4.59735145]

08128571                              BTC[.00066876], CUSDT[1], DOGE[1], USD[0.00], USDT[21.38378619]                                                                                                               Yes

08128575                              BTC[.00081564], CUSDT[2], NFT (516664794681871507/3475)[1], NFT (550197195200420085/Settler #883)[1], SOL[0.17686581], TRX[1]                                                 Yes

08128577                              AVAX[0], BTC[0.04369897], DOGE[0], USD[13.48]

08128581                              ETH[.83454], ETHW[.83454], SOL[1.459535], USD[6.86]

08128587                              USD[0.30]

08128589                              CUSDT[1], SUSHI[17.9581761], USD[0.00]                                                                                                                                        Yes

08128594                              DOGE[1], ETHW[4.90673198], TRX[1], USD[0.00]                                                                                                                                  Yes

08128603                              DOGE[2], TRX[.000001], USD[0.75], USDT[0]
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08128604                              USD[1.32]

08128613                              CUSDT[1], TRX[1], USD[0.01]

08128633                              BTC[.04167143]

08128636                              USD[1.50]

08128642                              SOL[.42], USD[4.45]

08128648                              BRZ[0], BTC[0], CUSDT[0], DOGE[54.08446145], LTC[0], SHIB[0], SOL[0], USD[0.00], YFI[0]                                                                                                Yes

08128651                              NFT (510863463360818050/Blue Mist #234)[1], SOL[.40097174], USD[0.00]

08128668                              BTC[.10662522], USD[0.78]                                                                                                                                                              Yes

08128690                              BTC[.00287703], SHIB[1], USD[0.00]                                                                                                                                                     Yes

08128696                              BTC[.0000016], DOGE[3], SHIB[73.1857924], TRX[1], USD[0.07]                                                                                                                            Yes

08128713                              TRX[1], USD[3982.51], USDT[0]

08128716                              BAT[0], ETH[0], LINK[0], SHIB[1], SOL[0.00000001], USD[0.00], USDT[0]                                                                                                                  Yes

08128738                              BTC[.3621052], ETH[1.001], ETHW[1.001], USD[12.91]

08128750                              AUD[0.00], DOGE[0], SHIB[10], USD[0.08], USDT[0]                                                                                                                                       Yes

08128756                              USD[107.82]                                                                                                                                                                            Yes

08128761                              CUSDT[1], MATIC[68.03895338], NFT (472841997027999882/Marcus Allen's Playbook: Seattle Seahawks vs. Los Angeles Raiders - October 7, 1984 #88)[1], SOL[.43469051], TRX[1], USD[0.00]   Yes

08128767                              USD[100.00]

08128768                              USD[18.91]                                                                                                                                                                             Yes

08128769                              CUSDT[1], ETH[.00487161], ETHW[.00481689], USD[0.00], USDT[5.37294582]                                                                                                                 Yes

08128771                              TRX[1737.52687374], USD[0.00]

08128785                              CUSDT[3], DOGE[1], USD[0.00]

08128788       Contingent, Disputed   DOGE[1], LINK[18.97031834], USD[0.01]                                                                                                                                                  Yes

08128799                              BTC[.00171989], CUSDT[8], ETH[.01955177], ETHW[.01930553], SHIB[288399.39369244], SOL[.05905657], TRX[118.92865645], USD[0.00]                                                         Yes

08128812                              USD[0.50]

08128814                              USD[14.04]

08128820                              USD[59.31]                                                                                                                                                                             Yes

08128821                              BTC[0], ETH[.00000001], ETHW[0.33100000], SOL[.00000001], USD[1054.32], USDT[.00000321]                                                                                                Yes

08128827                              USD[2.16]                                                                                                                                                                              Yes

08128828                              NFT (317488551643602548/The 2974 Collection #1503)[1], NFT (333097125672074110/The 2974 Collection #1556)[1], NFT (337742881403808328/GSW 75 Anniversary Diamond #248
                                      (Redeemed))[1], NFT (376048536990883892/GSW Championship Commemorative Ring)[1], NFT (380312380125644665/GSW Western Conference Finals Commemorative Banner #1065)[1], NFT
                                      (383675149528981173/The 2974 Collection #2942)[1], NFT (393949120047071761/Birthday Cake #1503)[1], NFT (397873591073228041/GSW Western Conference Finals Commemorative Banner
                                      #1068)[1], NFT (435650028485472252/Birthday Cake #1554)[1], NFT (455161767652186164/The Finale at Oracle Ticket #108 (Redeemed))[1], NFT (461540023115252775/The 2974 Collection
                                      #0893)[1], NFT (465986316548700718/The 2974 Collection #1108)[1], NFT (470746754073037286/GSW Championship Commemorative Ring)[1], NFT (473417109500452118/Birthday Cake #1108)[1],
                                      NFT (474915404871780362/Birthday Cake #0893)[1], NFT (478188980989592730/GSW Western Conference Finals Commemorative Banner #1066)[1], NFT (487846707371525402/GSW Western
                                      Conference Finals Commemorative Banner #1067)[1], NFT (491569720105525713/GSW Western Conference Semifinals Commemorative Ticket #568)[1], NFT (502953705987946634/GSW Western
                                      Conference Semifinals Commemorative Ticket #569)[1], NFT (523410965746713017/Birthday Cake #2942)[1], NFT (534927436973751281/GSW Round 1 Commemorative Ticket #353)[1], NFT
                                      (570316040686900738/The 2974 Collection #1554)[1], SOL[0.27400465], USD[0.00]
08128829                              USD[0.01]                                                                                                                                                                              Yes

08128833                              BRZ[2], CUSDT[13], DOGE[1], SHIB[14], SOL[30.85810064], TRX[4], USD[98.26]                                                                                                             Yes

08128835                              SOL[.099995]

08128855       Contingent, Disputed   EUR[0.98], USD[0.00], USDT[0.00000001]                                                                                                                                                 Yes

08128860                              CUSDT[1], ETH[.02786281], ETHW[.02752081], TRX[1], USD[0.05]                                                                                                                           Yes

08128861                              USD[0.00]

08128870                              BAT[185], SHIB[2100000], USD[1.88]

08128888                              BRZ[1], SOL[.58815305], USD[0.00]

08128889                              SOL[.99999]

08128892                              ETH[0], ETHW[0], MATIC[291.01843256], SOL[0.00627686], USD[0.00], USDT[0.00003139]

08128893                              USD[3.30]                                                                                                                                                                              Yes

08128898                              DOGE[1], TRX[.04439272], USD[0.00]                                                                                                                                                     Yes

08128910                              ETH[.03942092], ETHW[0.03942091], GRT[0]

08128912                              BTC[.0000422], ETH[.00045], ETHW[.00045], USD[0.01], USDT[0]

08128922                              TRX[.000001], USDT[3.2330998]

08128924                              USD[50.01]

08128939                              CUSDT[89.70230943], DOGE[9.11479856], ETH[.00305674], ETHW[.00305674], GRT[1.37726892], MATIC[1.14856185], NFT (484433231121911670/Сrypto Warrior #25)[1], SOL[.04029683],
                                      TRX[10.94785632], USD[0.00], USDT[1.98901346]
08128940                              SHIB[113569.38594509], USD[10.36], USDT[0]                                                                                                                                             Yes

08128941                              DOGE[2], ETHW[.12625966], SHIB[5], SOL[.00002097], TRX[1], USD[641.76]                                                                                                                 Yes

08128944                              CUSDT[4905.69059019], USD[107.95]                                                                                                                                                      Yes

08128947                              CUSDT[1], ETH[0]                                                                                                                                                                       Yes

08128949                              ALGO[105.51062359], AVAX[.0000121], BF_POINT[200], BTC[0], ETH[0], LINK[8.12974607], MATIC[113.28688954], SHIB[2], SOL[.00000194], USD[653.22], USDT[0]                                Yes

08128954                              BTC[.00382068], SHIB[2], SOL[3.23662357], USD[0.00]                                                                                                                                    Yes

08128967                              CUSDT[1], DOGE[1], USD[0.50], USDT[0.00000001]                                                                                                                                         Yes
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08128975                           CUSDT[2], LINK[.00055391], USD[107.05]                                                                                                                                  Yes

08128976                           USD[0.00]

08128998                           BAT[78.96879513], BTC[.00435721], CUSDT[7], DOGE[2], ETH[.13025314], ETHW[.12918698], GRT[144.55135953], LINK[5.17572085], SUSHI[31.75663644], TRX[2], USD[2648.98]     Yes

08129001                           CUSDT[10], MATIC[35.56175801], SHIB[8937856.63259866], TRX[33.22088117], USD[0.01]                                                                                      Yes

08129014                           NFT (527957150644676058/Romeo #6978)[1]

08129022                           USD[5360.00]

08129047                           BRZ[1], ETH[.05681927], ETHW[.05681927], USD[0.00]

08129048                           BTC[.00016863], CHF[10.35], DOGE[25.92401955], ETH[.00226503], ETHW[.00226503], SOL[.04450738], USD[0.00], USDT[9.94307974]

08129073                           NFT (564435408655370713/Good Boy #12388)[1]

08129077                           USD[0.00]

08129078                           SHIB[1], TRX[1], USD[0.00]                                                                                                                                              Yes

08129087                           CUSDT[3], TRX[1], USD[0.00]

08129091                           NFT (354938400304583960/ApexDucks #5921)[1], SOL[.00000001], USD[0.02]                                                                                                  Yes

08129092                           SHIB[427456.72953056], USD[0.00]                                                                                                                                        Yes

08129099                           AAVE[0], ETH[0], SHIB[2], USD[0.00]

08129102                           AVAX[6.24374931], ETHW[.8971691], SOL[.25], USD[0.00]

08129115                           CUSDT[5], DOGE[1], SUSHI[.00002228], USD[45.72]                                                                                                                         Yes

08129116                           CUSDT[2], SHIB[143126.62445046], USD[0.00]                                                                                                                              Yes

08129130                           CUSDT[1], SHIB[2033825.73324769], USD[5.00]

08129136                           ETH[0.00000001], ETHW[0.00000001]

08129142                           BRZ[1], BTC[.02756658], CUSDT[3], DOGE[4], LINK[.00000001], MATIC[.0004457], NEAR[.00016261], SHIB[25], SOL[14.86743732], TRX[2], USD[0.00]                             Yes

08129143                           CUSDT[473.24250288], SHIB[351463.88725799], USD[0.40]                                                                                                                   Yes

08129147                           DOGE[1], USD[0.03], USDT[0.00000001]                                                                                                                                    Yes

08129148                           USD[0.00], USDT[0]                                                                                                                                                      Yes

08129159                           BTC[.00001759], USD[0.00]                                                                                                                                               Yes

08129172                           ETH[0], ETHW[0], SOL[0], TRX[0.00000046]

08129178                           MATIC[.00018153], SHIB[23], USD[14.62]                                                                                                                                  Yes

08129183                           CUSDT[1], TRX[602.01973100]                                                                                                                                             Yes

08129185                           CUSDT[8], DOGE[2], NFT (385141062665461091/Marcus Allen's Playbook: Kansas City Chiefs vs. Detriot Lions - November 29, 1996 #71)[1], SOL[0], TRX[1], USD[0.00]

08129186                           CUSDT[1], SOL[2.37202818]                                                                                                                                               Yes

08129189                           AUD[2.00], USD[0.00], USDT[17.10595694]

08129198                           ETH[0], SHIB[1], USDT[0]                                                                                                                                                Yes

08129202                           CUSDT[1], USD[0.00]

08129219                           BTC[.00389649], DOGE[850.2341], USD[7.95]

08129223                           NFT (327179276151835107/CHEEMS#388)[1], NFT (357147224864700085/CHEEMS#1243)[1], NFT (365188219301248415/CHEEMS#427)[1], NFT (376783320835943351/CHEEMS#1232)[1], NFT
                                   (402758844113038701/CHEEMS#408)[1], NFT (411555696392024546/CHEEMS#1211)[1], NFT (415272283954427228/CHEEMS#413)[1], NFT (418786667942668867/CHEEMS#1246)[1], NFT
                                   (454319243514843128/CHEEMS#392)[1], NFT (466701307688190251/CHEEMS#1227)[1], NFT (472360435098203558/CHEEMS#1207)[1], NFT (485852759236491412/CHEEMS#467)[1], NFT
                                   (498088685784232213/CHEEMS#424)[1], NFT (499693766326810281/CHEEMS#405)[1], NFT (531395706797876122/CHEEMS#1224)[1], NFT (562632861994975566/CHEEMS#1286)[1]
08129224                           ETH[.329904], ETHW[.329904], MATIC[599.84], USD[28.40]

08129229                           USD[4.46]                                                                                                                                                               Yes

08129240                           GRT[1], USD[4.90]

08129262                           DOGE[1], TRX[1], USD[0.00]

08129263                           BRZ[1], DOGE[1], SHIB[1], TRX[1], USD[1004.77]

08129276                           BRZ[1], DOGE[2], GRT[272.00906578], MATIC[.00221975], SHIB[1], SOL[.00026903], TRX[.05284967], USD[538.57]                                                              Yes

08129289                           SHIB[9039391.23244103], USD[0.00], USDT[0.00000001]                                                                                                                     Yes

08129300                           SOL[.00000001]                                                                                                                                                          Yes

08129313                           BRZ[1], DOGE[1], GRT[1], SHIB[3], SOL[8.14673454], USD[0.00]                                                                                                            Yes

08129320                           CUSDT[1], USD[0.00]                                                                                                                                                     Yes

08129325                           BTC[0.00001265], DAI[0], DOGE[0], ETH[.00000001], ETHW[0], LINK[0], LTC[0], NFT (432124591515027713/Solana Penguin #997)[1], SOL[0], TRX[0], USD[0.00], USDT[0]         Yes

08129331                           BTC[.00663788], CUSDT[2], DOGE[78.03517505], SHIB[17584512.03687871], TRX[2], USD[0.00]                                                                                 Yes

08129334                           SOL[.00399], USD[3250.87]

08129340                           USD[0.00], USDT[0.15536473]                                                                                                                                             Yes

08129349                           BTC[.01], USD[2.51]

08129356                           CUSDT[1], SOL[.2010411], USD[0.01]                                                                                                                                      Yes

08129357                           USD[334.97]

08129366                           ETH[0], NFT (552085674154811604/Lazy Ape Series)[1], USD[0.00]

08129380                           AVAX[1.0989], BTC[.0044955], ETH[.095991], ETHW[.095991], LINK[5.0979], SOL[.33989], USD[190.72]

08129383                           ETH[0], ETHW[0], NFT (330428377582928681/Scoogi #6304)[1], SOL[0], USD[0.00]                                                                                            Yes

08129384                           USD[0.00]

08129392                           USD[1.06]                                                                                                                                                               Yes
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                                                                                                                                             Customer Claims                                                                                                        22-11071 (JTD)
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08129407                              USD[0.00]

08129413                              CUSDT[1], SOL[.00000457], USD[0.00]                                                                                                                                                   Yes

08129418                              SHIB[308256.26869035], USD[0.00]                                                                                                                                                      Yes

08129428                              BTC[0], CUSDT[2], DOGE[5], ETHW[21.14169208], LINK[208.10584387], MATIC[1020.47404865], SHIB[2], TRX[1], USD[0.00]                                                                    Yes

08129430                              ETH[0], NFT (386145453715933412/Sloth #5496)[1]

08129435                              BTC[.01111401]

08129443                              USD[55.01]

08129495                              DOGE[1], USD[0.00]

08129520                              CUSDT[1], SHIB[829988.57453791], USD[1.09]                                                                                                                                            Yes

08129521                              DOGE[0], GRT[0], MATIC[0], SHIB[666050.89466929], USD[0.00], USDT[0]                                                                                                                  Yes

08129524                              BRZ[1], BTC[0], CUSDT[.00900689], DOGE[915.00525803], KSHIB[0], SHIB[20], TRX[3], USD[0.00]                                                                                           Yes

08129531                              AAVE[.16899419], BAT[17.76862197], BCH[.03673692], BRZ[240.82150875], BTC[.00138025], CUSDT[20], DOGE[102.09405431], ETH[.00912736], ETHW[.00901792], KSHIB[467.28557082],            Yes
                                      SHIB[2108780.16442152], SOL[.2748386], SUSHI[1.43674414], TRX[435.97854727], UNI[.99053634], USD[4.11]
08129538                              BRZ[1], CUSDT[9], MATIC[.00019968], TRX[1.01000684], USD[0.01]                                                                                                                        Yes

08129539                              ETH[0], SOL[0], USD[0.00], USDT[0.00000831]

08129544                              CUSDT[2], NFT (504069311295996440/Cyber Pharmacist 7002)[1], SOL[.86417377], USD[0.00]                                                                                                Yes

08129553                              CUSDT[1], DOGE[1], SOL[.0000375], USD[0.00]                                                                                                                                           Yes

08129566                              ETH[.00000001], ETHW[0]                                                                                                                                                               Yes

08129571                              BAT[1], BRZ[1], CUSDT[4], SHIB[2], USD[0.04]                                                                                                                                          Yes

08129584                              BTC[.00097889], NFT (290107356161528191/JungleCats #2761)[1], NFT (293342797775777340/Fancy Frenchies Puppy Club #499)[1], NFT (332519047330250590/Fancy Frenchies #5554)[1], NFT     Yes
                                      (416959890067799861/Fancy Frenchies #5771)[1], SOL[13.37497511], USD[0.20]
08129591                              BTC[0], ETH[0], LTC[0], SOL[0], TRX[.022426], USD[0.00], USDT[67.43610310]

08129644                              CUSDT[1], DOGE[337.7111844], ETHW[4.20801349], SOL[3.52497277], TRX[1], USD[0.00], USDT[0.04669540]                                                                                   Yes

08129645                              BAT[11.22144900], CUSDT[2], LTC[0.05084750]                                                                                                                                           Yes

08129648                              SOL[100.39478446], USD[0.00]

08129653                              USD[0.00]                                                                                                                                                                             Yes

08129656                              BTC[.00070437], CUSDT[4], DOGE[89.10498233], LINK[.74322763], SUSHI[2.40437102], USD[0.00]

08129658                              BTC[0], DOGE[3], SHIB[1], SOL[.00001353], USD[1.69], USDT[0], YFI[0]                                                                                                                  Yes

08129675                              USD[0.00]

08129689                              CUSDT[1], DOGE[233.69581892], SHIB[1132668.86529897], USD[0.00]                                                                                                                       Yes

08129702                              BTC[0], DOGE[1]

08129712                              BAT[.992], BCH[.000993], BRZ[.213029], BTC[0.00009998], DOGE[.87], ETH[.000965], ETHW[.000965], NFT (330793980998377525/Saudi Arabia Ticket Stub #2119)[1], SOL[.00745], TRX[.855],
                                      UNI[.04965], USD[29.36], USDT[12.47407985]
08129726                              BTC[.45809133]

08129741                              BTC[0], USD[0.00], USDT[0]

08129756                              ETH[0], SHIB[1], SOL[0], USD[0.00]                                                                                                                                                    Yes

08129766                              NFT (296144740015080462/MagicEden Vaults)[1], NFT (300246188993520917/MagicEden Vaults)[1], NFT (303570208857085422/Galactic Gecko #7954)[1], NFT (304584400056935866/GGSG Brawler
                                      Skin)[1], NFT (304960418162579908/MagicEden Vaults)[1], NFT (312383741609928952/Geckos Spaceship)[1], NFT (390105530985752699/MagicEden Vaults)[1], NFT
                                      (426491503095804868/MagicEden Vaults)[1], NFT (528316902977271732/Geckos Spaceship)[1], SOL[3]
08129769                              DOGE[1], USD[0.00]

08129783                              USD[15.48]

08129786                              CUSDT[17], DOGE[4], GRT[241.84242262], LTC[.00000964], TRX[2], USD[0.00]                                                                                                              Yes

08129788                              AUD[27.89], BAT[14.26660968], BRZ[122.18241989], DAI[10.39763481], DOGE[308.07391602], GRT[57.58612112], KSHIB[141.98103802], SHIB[6913241.5471323], TRX[762.43196317], USD[0.91]     Yes

08129790                              BAT[2.0470268], BRZ[3], BTC[.02842855], CUSDT[1], DOGE[6.00030361], ETH[3.98363844], ETHW[4.28207055], LINK[152.64479958], MATIC[1636.79047904], SHIB[48347473.8711341],              Yes
                                      SOL[116.13409898], SUSHI[341.68442449], TRX[6], UNI[98.14010601], USD[7.05], USDT[1.06608162]
08129797                              LINK[0.44004724], USD[0.00]

08129799                              AAVE[.00378567], BRZ[.63169357], ETH[0], ETHW[0], USD[4.11]                                                                                                                           Yes

08129803                              CUSDT[1], DOGE[1], USD[20.42]                                                                                                                                                         Yes

08129819                              BRZ[1], CUSDT[5], DOGE[2], ETHW[.12702525], SHIB[2], TRX[3], USD[331.55]                                                                                                              Yes

08129824                              LINK[0], USD[18.56]                                                                                                                                                                   Yes

08129827                              USD[10.00]

08129828                              BTC[.03145969], CUSDT[2], DAI[0], ETH[.23236103], ETHW[0.23215751], SOL[.00000001], USD[0.00], YFI[.00135629]                                                                         Yes

08129839                              SOL[.00000001]                                                                                                                                                                        Yes

08129853                              CUSDT[1], SOL[.25957321], USD[0.00]                                                                                                                                                   Yes

08129864                              USD[0.01]

08129870                              BRZ[1], CUSDT[1], KSHIB[2132.63587609], TRX[1061.7667588], USD[0.00]                                                                                                                  Yes

08129873                              USD[1.00]

08129876       Contingent, Disputed   USD[0.01]                                                                                                                                                                             Yes

08129891                              BRZ[1], BTC[.00193047], CUSDT[1], DOGE[118.47724732], ETH[.00198389], ETHW[.00195653], SHIB[2752349.25198462], SOL[1.3604428], TRX[2], USD[0.00]                                      Yes

08129899                              BTC[0], ETH[0], ETHW[0], USD[27.80]

08129908                              BTC[.00008017], USD[35.00]                                                                                                                                                            Yes

08129911                              TRX[97.54110712], USD[0.00]                                                                                                                                                           Yes
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08129915                           NFT (327241892827770386/hvb)[1], NFT (465167956047556987/hvb #2)[1], USD[0.00], USDT[0]

08129932                           CUSDT[2], DOGE[232.76733956], KSHIB[1070.47286854], TRX[503.69876759], USD[0.00]                                                                                                         Yes

08129933                           USD[25.00]

08129945                           BRZ[1], TRX[0]                                                                                                                                                                           Yes

08129953                           BTC[.00008758], DOGE[28.02707078], ETH[.00109], ETHW[.00109], SHIB[45351.4739229], SOL[.04028433], SUSHI[.65531831], TRX[1], USD[0.00]

08129959                           CUSDT[2], LINK[28.69248047], MATIC[276.46369228], SHIB[11577711.81552319], TRX[1], USD[0.01]                                                                                             Yes

08129963                           NFT (464968973691971577/ApexDucks Halloween #1326)[1], NFT (493016997545218568/Microphone #1734)[1], SOL[.00079756]

08129969                           USD[17.02], USDT[0]

08129975                           BRZ[1], ETH[.08186748], SHIB[3], SOL[.45668359], USD[0.00]                                                                                                                               Yes

08129977                           BAT[1.01281193], BRZ[3], CUSDT[1], DOGE[1], GRT[1], SHIB[2], TRX[1], USD[0.26]                                                                                                           Yes

08129982                           USD[108.09]                                                                                                                                                                              Yes

08129985                           USD[108.02]                                                                                                                                                                              Yes

08129998                           USD[100.00]

08130002                           TRX[.00004693], USD[0.00]

08130013                           SHIB[268595.02188284], USD[0.00]                                                                                                                                                         Yes

08130016                           CUSDT[5], NFT (499219543361560716/Marcus Allen's Playbook: Kansas City Chiefs vs. Detriot Lions - November 29, 1996 #79)[1], SHIB[2], USD[0.00]                                          Yes

08130030                           USD[540.45]                                                                                                                                                                              Yes

08130034                           SHIB[0.00000002], USD[0.24]

08130048                           BF_POINT[300], BRZ[1], CUSDT[1], SOL[11.35701168], USD[0.00]

08130060                           USD[0.02]

08130076                           BAT[1.00498753], CUSDT[1], DOGE[3], GRT[1.00019173], SHIB[1], TRX[2], USD[0.00]                                                                                                          Yes

08130077                           CUSDT[1], SOL[0.02093277], USD[0.00]

08130123                           EUR[0.00]

08130135                           CUSDT[1], NFT (314129076607905440/Ancient Civilization #36)[1], NFT (339838851618399309/Cryptomen #1)[1], NFT (558776803727370460/Worthless Collection #8)[1], SOL[0.00217918], USD[8.87] Yes

08130151                           USD[0.00], USDT[0]

08130153                           DOGE[3781.40425], ETH[4.4371], ETHW[4.4371], SHIB[99905], USD[0.99]

08130154                           DOGE[0], SHIB[0], USD[0.00]                                                                                                                                                              Yes

08130163                           ETH[0], ETHW[0.00086620], USD[0.92]

08130202                           NFT (330354422579804623/DeathTRAP)[1], NFT (331387266784248645/BezosBeast)[1], NFT (351686451228835513/BodyStroke)[1], NFT (404153273659029604/CokeMajik)[1], NFT
                                   (420323718406798939/iCu)[1], NFT (426552767536766612/Yes please )[1], NFT (490838363924459455/SkelkLife)[1], NFT (508750294448435229/SybolicWorship)[1], NFT
                                   (510881459934618971/Skelk2-SkelkLectric )[1], SHIB[19488.68535681], USD[0.00]
08130206                           SHIB[2], SOL[0], TRX[3], USD[0.00], USDT[0]                                                                                                                                              Yes

08130235                           BAT[0], BCH[0.08790472], BTC[0], CUSDT[0], DOGE[0], KSHIB[574.93366126], MATIC[0], SHIB[2], SUSHI[0], USD[0.00]                                                                          Yes

08130240                           NFT (303782573264268345/G13 Tally ++Arc +Koa .Sel)[1], NFT (306756939098457694/Fancy Frenchies #8504)[1], NFT (401381826438389322/Fancy Frenchies #3990)[1], NFT
                                   (419340935726122042/Fancy Frenchies #1469)[1], NFT (501834407201391541/Fancy Frenchies #7200)[1], SOL[0.09119165], TRX[0], USD[0.00]
08130259                           ETHW[276.55217331], TRX[1], USD[0.00]

08130270                           SOL[.00220553], USD[0.00], USDT[0]

08130275                           USD[2.01]

08130290                           ETH[0], SOL[0], SUSHI[0], USD[0.00]

08130310                           USD[216.17]                                                                                                                                                                              Yes

08130314                           BTC[0], CUSDT[1], ETH[.00000004], ETHW[0.00000004], USD[0.00]                                                                                                                            Yes

08130317                           CUSDT[1], ETH[.01233131], ETHW[.01218083], SHIB[546076.56588346], SOL[1.60818416], USD[0.00]                                                                                             Yes

08130332                           TRX[7]                                                                                                                                                                                   Yes

08130346                           BCH[0], MATIC[0]

08130386                           BTC[.00008421], CUSDT[1], ETH[.00188401], ETHW[.00185665], USD[8.11]                                                                                                                     Yes

08130390                           USD[0.00]

08130401                           CUSDT[2], USD[5.37]                                                                                                                                                                      Yes

08130403                           SOL[2.72059909]                                                                                                                                                                          Yes

08130415                           SOL[.00842083], USDT[.055778]

08130418                           TRX[.000001]

08130434                           BRZ[1], TRX[489.38549647], USD[0.00]                                                                                                                                                     Yes

08130437                           NFT (400185552594323351/Chubby Corgi #6152)[1]

08130441                           BRZ[1], CUSDT[2], SOL[.67739092], USD[0.00]                                                                                                                                              Yes

08130449                           USD[2.00]

08130489                           BTC[0.00000715], USD[6.09]

08130541                           ETH[.00044713], ETHW[.00044713], USD[0.00]                                                                                                                                               Yes

08130553                           BAT[1], BTC[0], ETH[0], GRT[1], LINK[.00009135], NFT (292779936511855037/Shannon Sharpe's Playbook: Kansas City Chiefs vs Denver Broncos - October 4, 1992 #84)[1], SHIB[14.96473354],   Yes
                                   SOL[.00001372], USD[0.00], USDT[0]
08130556                           BRZ[1], ETH[.2707532], ETHW[.27055807], SHIB[1], USD[0.00]                                                                                                                               Yes

08130575                           ETH[10.31582643], ETHW[10.3125433], SOL[519.41171315]                                                                                                                                    Yes

08130577                           CUSDT[1], USD[0.00]                                                                                                                                                                      Yes
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08130600                           TRX[504.84060191], USD[0.00]                                                                                                                                                                Yes

08130607                           CUSDT[1], GRT[60.37327643], USD[0.00]                                                                                                                                                       Yes

08130611                           CUSDT[1], SOL[2.27476328], USD[0.19]                                                                                                                                                        Yes

08130612                           BAT[0], SHIB[1], USD[0.00]                                                                                                                                                                  Yes

08130616                           CUSDT[2], SHIB[474126.87213379], TRX[100.31003765], USD[0.00]                                                                                                                               Yes

08130620                           BCH[0.16098719], BTC[.00245143], USDT[4.80927910]                                                                                                                                           Yes

08130641                           CUSDT[3], SHIB[9238356.87296703], SOL[.49898628], TRX[1], USD[1.96]                                                                                                                         Yes

08130646                           BTC[.00000052], USD[1188.74]

08130649                           ETH[0], USD[0.00], USDT[0]

08130662                           CUSDT[1], USD[0.00], USDT[24.83753421]

08130666                           NFT (290558536355767063/AN Apocalypse #4)[1], NFT (291680427256731088/Pixie Hamster #4)[1], NFT (292058595247409587/Toasty Turts #0622)[1], NFT (294706315332230227/AN photo#)[1],
                                   NFT (296555835861961677/AbstractNeon#22)[1], NFT (300584514401387616/AN photo#4)[1], NFT (300766456529607919/Inverse Bear 3D #6919)[1], NFT (301010181309633537/AbstractNeon#24)[1],
                                   NFT (302060801461421884/AbstractNeon#84)[1], NFT (303308176112548157/AN Apocalypse #3)[1], NFT (305387294015317064/Abstract hall)[1], NFT (305582594037134998/Abstract city at night)[1],
                                   NFT (307238463807044660/AbstractNeon#92)[1], NFT (307779436832018522/Toasty Turts #4839)[1], NFT (308003837982812118/AbstractNeon#36)[1], NFT
                                   (308480395096984223/AbstractNeon#56)[1], NFT (311922599064865997/Pixie Hamster #2)[1], NFT (313370760683657206/ApexDucks Halloween #2176)[1], NFT
                                   (313867081853470583/AbstractNeon#35)[1], NFT (324173395980334626/AN Apocalypse #2)[1], NFT (327614653424972786/Pixie Hamster #5)[1], NFT (330800373751005381/AbstractNeon#83)[1],
                                   NFT (332215665983232143/PixelPuffins #6465)[1], NFT (335465038183482316/AbstractNeon#14)[1], NFT (335836180963749907/AbstractNeon#12)[1], NFT
                                   (340251084776119978/AbstractNeon#48)[1], NFT (340441067233494928/AbstractNeon#60)[1], NFT (344047125791071984/AbstractNeon#82)[1], NFT (347749451717621493/Gangster Gorillas
                                   #9901)[1], NFT (347971918868312459/AbstractNeon#90)[1], NFT (348969053172163504/ApexDucks Halloween #232)[1], NFT (349729084869768979/AbstractNeon#61)[1], NFT
                                   (349985481206480349/AbstractNeon#79)[1], NFT (355985518951807190/PixelPuffins #3329)[1], NFT (356625079303109600/AbstractNeon#66)[1], NFT (358030203572415622/AbstractNeon#63)[1],
                                   NFT (359616109941417769/Gangster Gorillas #1766)[1], NFT (359804802806834908/Abstract City)[1], NFT (362391194077731506/AbstractNeon#51)[1], NFT (364560326892415047/Gangster Gorillas
                                   #6490)[1], NFT (368407294077041925/AbstractNeon#38 #2)[1], NFT (373032100701589339/AbstractNeon#55)[1], NFT (379694135143281200/AbstractNeon#27 #2)[1], NFT
                                   (380021921705654713/AbstractNeon#45)[1], NFT (382500503169308193/AbstractNeon#70)[1], NFT (384358680080458214/SolBunnies #3245)[1], NFT (385816718773199342/Pixie Hamster #7)[1],
                                   NFT (386241433613122033/ApexDucks Halloween #1742)[1], NFT (386819077404269122/AbstractNeon#7)[1], NFT (388535402995700393/AbstractNeon#21)[1], NFT (389597792159784402/Australia
                                   Ticket Stub #2072)[1], NFT (392715378009636897/AbstractNeon#80)[1], NFT (395430452059757024/PixelPuffins #4066)[1], NFT (399221129205434893/AbstractNeon#25)[1], NFT
                                   (399483344429353715/AbstractNeon#64)[1], NFT (404952070931945259/AbstractNeon#58)[1], NFT (407993545110932915/AbstractNeon#5)[1], NFT (409368007110593018/Pixie Hamster #1)[1], NFT
                                   (412239755100641218/Abstract photo #2)[1], NFT (413084690260006947/AbstractNeon#68)[1], NFT (418704504690072747/ApexDucks Halloween #854)[1], NFT (421716360484816682/Astral Apes
                                   #2269)[1], NFT (424898339202159160/AbstractNeon#41)[1], NFT (425848840292561937/AbstractNeon#93)[1], NFT (426593859549356571/AbstractNeon#4)[1], NFT
                                   (428293579605499029/AbstractNeon#6)[1], NFT (433380841813113793/AbstractNeon#11)[1], NFT (439919594652189614/AN photo#3)[1], NFT (442959879360898358/AbstractNeon#37)[1], NFT
                                   (442971379655810866/APEFUEL by Almond Breeze #535)[1], NFT (445107594731419481/AbstractNeon#72)[1], NFT (449865268230446592/AbstractNeon#34)[1], NFT
                                   (451334624452087231/AbstractNeon#13)[1], NFT (451621928326933169/Astral Apes #812)[1], NFT (452133340402800011/Pixie Hamster #3)[1], NFT (453537302545260885/AbstractNeon#53 #2)[1],
                                   NFT (455727846041068050/AbstractNeon#88)[1], NFT (457272442880768403/The Hellions #1539)[1], NFT (457853107885943759/AbstractNeon#26)[1], NFT (457890681003118174/The Hellions
                                   #6655)[1], NFT (460153068369476611/AbstractNeon#73)[1], NFT (464307194773086373/AbstractNeon#69)[1], NFT (464561250666304894/AbstractNeon#39)[1], NFT
                                   (468682170939431503/AbstractNeon#17)[1], NFT (468734974452127280/AbstractNeon#27)[1], NFT (473736525871097694/SolBunnies #1804)[1], NFT (476158831074928213/AbstractNeon#74)[1],
                                   NFT (477903244126803085/AbstractNeon#59)[1], NFT (479382503501775210/AbstractNeon#46)[1], NFT (480414057782635047/AbstractNeon#23)[1], NFT (483626463431143025/AbstractNeon#50)[1],
                                   NFT (485882011086065502/AbstractNeon#54)[1], NFT (488377825606964919/AN Apocalypse #1)[1], NFT (490646091968617583/Solninjas #2377)[1], NFT (491244910297737226/Astral Apes
                                   #2887)[1], NFT (492130353129044068/AbstractNeon#71)[1], NFT (494704007127668993/AbstractNeon#94)[1], NFT (496647545035268332/Solninjas #2566)[1], NFT
                                   (496885007809894393/AbstractNeon#89)[1], NFT (499111454093073494/ApexDucks #7753)[1], NFT (502522569173276422/ApexDucks Halloween #409)[1], NFT
                                   (502726006951562512/AbstractNeon#67)[1], NFT (505062732178095281/Pixie Hamster #6)[1], NFT (508411347592732355/AbstractNeon#77)[1], NFT (521204886989615074/AbstractRobot)[1], NFT
                                   (522801376664061539/Common Cryptogram)[1], NFT (523729703049757222/Pixie Hamster #8)[1], NFT (525831285108098144/Astral Apes #1431)[1], NFT (528742796192150897/Abstract photo)[1],
                                   NFT (533029450337971859/AbstractNeon#18)[1], NFT (533351314803631115/ApexDucks Halloween #83)[1], NFT (533760840309907327/AbstractNeon#15)[1], NFT
                                   (534567766022300726/AbstractNeon#91)[1], NFT (535147998558001196/AN photo#2)[1], NFT (538077003885454829/AbstractNeon#62)[1], NFT (538653142836605064/AbstractNeon#87)[1], NFT
                                   (545599881243900919/AbstractNeon#47)[1], NFT (546652805319931130/AbstractNeon#20)[1], NFT (546852352028431202/AbstractNeon#16)[1], NFT (549622090278306369/AbstractNeon#10)[1], NFT
                                   (550230995727690221/Toasty Turts #1372)[1], NFT (550723148613819739/AbstractNeon#37 #2)[1], NFT (552132049333454226/Rat Bastard #3952)[1], NFT
                                   (552528256041582398/AbstractNeon#43)[1], NFT (553897420911676446/ApexDucks #5137)[1], NFT (556108345894430253/AbstractNeon#42)[1], NFT (564282943837662577/ALPHA:RONIN #559)[1],
                                   NFT (565418826594905273/AbstractNeon#81)[1], NFT (565962468959817893/Curate technique#Session-10)[1], NFT (566347807710802579/AbstractNeon#52)[1], NFT
                                   (566808924802867829/AbstractNeon#78)[1], NFT (574909554637590954/SolBunnies #2298)[1], USD[0.00]



08130675                           GRT[.007], LINK[3.31380735], USD[0.10]

08130685                           AAVE[.00007693], CUSDT[1], ETH[0], SOL[0], TRX[1]

08130694                           ETH[.07345645], ETHW[.07345645], USD[0.00]

08130698                           BTC[.0018664]                                                                                                                                                                               Yes

08130703                           NFT (321747503721809287/Digital Sam #3)[1], NFT (415311290957190295/Digital Sam #0)[1], NFT (438285987730784981/Digital Sam #2)[1], NFT (490776937149795290/Cryptic Lion #0)[1], NFT
                                   (547725152293177211/Digital Sam #1)[1], USD[0.12]
08130724                           USD[0.00]                                                                                                                                                                                   Yes

08130728                           CUSDT[1], USD[0.00]                                                                                                                                                                         Yes

08130729                           CUSDT[2], NFT (383441342434818131/SOLYETIS #1369)[1], SOL[.31518962], USD[0.00]

08130733                           BTC[.00000039], DOGE[2], ETHW[.42867689], SHIB[87119.08928353], USD[104.88]                                                                                                                 Yes

08130734                           USD[5.00]

08130736                           BAT[.02985617], BCH[.00000472], BRZ[.00757075], BTC[.00016285], CUSDT[.49192387], DOGE[62.16153216], ETH[.00157912], ETHW[.00156544], KSHIB[.02445328], LTC[.00109826],                Yes
                                   MATIC[.01001737], NFT (299671069610527237/Solninjas #9074)[1], NFT (320643887033620160/Chug Jug)[1], NFT (329267440595388474/Lava )[1], NFT (355499428784134827/NoBodies
                                   Collection)[1], NFT (407538440968807019/Pixel Devil Identity)[1], NFT (437947590340261076/NoBodies Collection #10)[1], NFT (446983600606527632/JaxJonson #5)[1], NFT
                                   (459670790501871608/NoBodies Collection #7)[1], NFT (481819312221240066/The CaLabs #15)[1], NFT (519882669786709965/Pixel Mysterious Identity)[1], NFT (535866168614754682/DOGO-IN-500
                                   #7421)[1], NFT (543506626980922007/Solninjas #533)[1], PAXG[.00000053], SHIB[971251.97952174], SOL[.00359968], TRX[4.80276109], USD[0.00], USDT[0.19420861], YFI[.00000074], ZAR[0.47]

08130747                           LINK[13.73274], SOL[3.336751], UNI[.98556], USD[20.85]

08130757                           BTC[.0038162], CUSDT[3], ETH[.02491949], ETHW[.02460627], USD[0.03]                                                                                                                         Yes

08130761                           USD[104.47]

08130771                           USD[3.51]

08130794                           TRX[233.7777], USD[0.08]

08130795                           CUSDT[1], USD[0.00]                                                                                                                                                                         Yes

08130807                           LINK[346.48641908], LTC[11.67966551]                                                                                                                                                        Yes

08130814                           BTC[.0055944], ETH[.073926], ETHW[.073926], USD[413.89]
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                                                                                                                                          Customer Claims                                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08130815                           BRZ[1], CUSDT[2], DOGE[1], SOL[15.69418915], TRX[2], USD[0.01]                                                                                                                                 Yes

08130816                           LINK[7.3], SOL[1.74], USD[0.08]

08130824                           CUSDT[6], DOGE[0], KSHIB[.01296588], NFT (324676564646061197/Doak Walker's Playbook: Detroit Lions vs. Cleveland Browns - December 28, 1952 #71)[1], NFT (345172423578688471/Doak              Yes
                                   Walker's Playbook: Cleveland Brown vs. Detroit Lions - December 27, 1953 #86)[1], NFT (575324249170292597/Doak Walker's Playbook: SMU vs. Santa Clara - September 27, 1947 #77)[1], SHIB[0],
                                   USD[0.01]
08130827                           USD[1.08]                                                                                                                                                                                      Yes

08130840                           ETHW[1.01977901], SHIB[2], SOL[1.00023739], USD[1.88]                                                                                                                                          Yes

08130857                           USD[0.10]

08130887                           BTC[0]

08130897                           GRT[2.177], LTC[.00637], USD[0.00], USDT[0]

08130908                           USD[21.62]                                                                                                                                                                                     Yes

08130934                           TRX[10]

08130965                           BTC[0], USD[1.88], USDT[.0095]

08130988                           SOL[1.15007556], USD[0.00]

08130995                           DOGE[1], TRX[1], USD[0.01]

08131001                           BRZ[3], CUSDT[4], DOGE[0], KSHIB[0], SHIB[1], SOL[.0112051], TRX[0], USD[0.01]                                                                                                                 Yes

08131008                           CUSDT[1], DOGE[1], USD[0.00]

08131010                           USD[0.01]

08131011                           SOL[0.00590834], USD[0.00]

08131019                           SOL[.00098455], USD[21.19]

08131021                           NFT (346746943874301749/Coachella x FTX Weekend 1 #25305)[1]

08131025                           BTC[.00673792], CUSDT[3], SHIB[1], USD[0.02]

08131049                           CUSDT[1], ETH[.00000006], ETHW[.00000006], USD[0.01]                                                                                                                                           Yes

08131054                           USD[0.03]                                                                                                                                                                                      Yes

08131064                           CUSDT[1], USD[0.00]                                                                                                                                                                            Yes

08131068                           CUSDT[1], ETH[.01899677], ETHW[.01899677], USD[0.01]

08131073                           USD[9.15]

08131083                           CUSDT[2], NFT (538202035150676168/Earl Campbell's Playbook: Rice vs. Texas - October 1st, 1977 #96)[1], SHIB[7.3339061], USD[0.00], USDT[0]                                                    Yes

08131089                           USD[500.01]

08131095                           ETHW[.412587], NFT (545769720551063216/Arizona Desert)[1], USD[1.79]

08131104                           CUSDT[2], NFT (521494371494502477/Coachella x FTX Weekend 2 #16721)[1], SOL[.49705748], USD[108.08]                                                                                            Yes

08131115                           USD[2.65]

08131145                           ETH[0], USD[0.00]

08131149                           BTC[.0034], ETH[.056], ETHW[.056], LTC[.21], USD[2.88]

08131154                           BCH[0], BTC[0], DAI[0], DOGE[0], ETH[0], LTC[0], SHIB[0], SOL[0], SUSHI[0], TRX[0], USD[0.00], USDT[0]

08131157                           BAT[31.37757054], BTC[.01527303], CUSDT[19], DOGE[3], ETH[.04700485], ETHW[.04641943], SHIB[5566359.7197395], TRX[1], USD[11.24]                                                               Yes

08131161                           ETHW[2.38352], USD[16.33]

08131165                           USD[108.08]                                                                                                                                                                                    Yes

08131187                           USD[100.00]

08131195                           USD[200.00]

08131202                           CUSDT[2], MATIC[957.90905526], SOL[10.88659252], TRX[2], USD[0.00]                                                                                                                             Yes

08131205                           USD[0.00]

08131217                           BAT[1], GRT[1], SHIB[1], TRX[1], USD[0.01], USDT[0]

08131226                           USD[10.00]

08131229                           USDT[25.54]

08131230                           USD[80.01]

08131239                           SOL[.09959228], TRX[1], USD[5.00]

08131245                           BTC[.01810934], SHIB[3], USD[0.00]                                                                                                                                                             Yes

08131252                           BAT[8.42319572], BRZ[29.8777438], CUSDT[105.57931571], DOGE[34.3700393], KSHIB[135.87166975], SHIB[11334596.66843662], TRX[136.54295134], USD[0.00]                                            Yes

08131253                           USD[25.00]

08131255                           USD[15.00]

08131273                           DOGE[23.05814394], KSHIB[113.4508972], TRX[46.77118842], USD[0.00], USDT[9.94109286]

08131274                           USD[3.44]

08131282                           ETH[0.00213403], ETHW[0.00210665], SHIB[117215.78939747], USD[0.00]                                                                                                                            Yes

08131283                           BTC[0], CUSDT[1], ETH[0], SHIB[0], SOL[0]                                                                                                                                                      Yes

08131289                           BRZ[2], ETH[.23002056], USD[0.00]

08131297                           SOL[.24060745], TRX[1], USD[0.00]                                                                                                                                                              Yes

08131302                           BTC[.001399]

08131313                           USD[0.05]
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08131340                              DOGE[1], NFT (327664313978029449/Medical Cannabis #0024)[1], NFT (398592782803173901/Sloth #3511)[1], SOL[2.13085641], USD[0.01]

08131351                              DOGE[1], GRT[0], MATIC[0], SOL[26.17084297], USD[0.00], USDT[0.00000001]                                                                                                              Yes

08131362                              BTC[.0001834], CUSDT[2], ETH[.00341647], ETHW[.0033754], SHIB[585617.79845646], TRX[1], USD[0.00]                                                                                     Yes

08131369                              BTC[.01675271], CUSDT[1], DOGE[2172.80946208], ETH[.22726719], ETHW[.22726719], GRT[1], SOL[4.29211528], USD[0.00]

08131370                              BTC[.0124], SOL[1.17], USD[4.17]

08131378                              DOGE[29.00077615], KSHIB[.03268249], LTC[0], SOL[0], USD[0.10]

08131379                              BTC[0.00916922], SHIB[1], USD[0.66], USDT[0.00000029]

08131387                              DAI[0], ETHW[.649997], USD[0.30], USDT[0.00000001], WBTC[0.00008709]

08131388                              USD[0.00], USDT[.00092]

08131389                              USD[1.76], USDT[0]

08131401                              USD[0.01]

08131406                              CUSDT[1], SOL[.09796297], USD[0.00]                                                                                                                                                   Yes

08131413                              USD[100.00]

08131425                              DOGE[1.00033043], ETH[.00000029], ETHW[0.00000028], SHIB[397378.06652473], USD[26.19]                                                                                                 Yes

08131426                              CUSDT[2], ETHW[.02070548], SHIB[5], USD[0.00], USDT[0.00000001]                                                                                                                       Yes

08131438                              BAT[175], DOGE[915], MATIC[40], SHIB[1600000], SOL[12.67405], USD[27.70]

08131440                              MATIC[35.11510480], SOL[0], USD[0.05]

08131445                              ETH[0], SOL[0], USD[0.01]                                                                                                                                                             Yes

08131446                              ETH[0.00002669], ETHW[0.00002669], USD[1.99], USDT[0.00002334]

08131453                              USD[1.54]

08131457                              USD[20.00]

08131477                              BAT[16.47261029], BRZ[119.7745009], BTC[.00005211], CUSDT[339.23905848], DOGE[24.15771904], KSHIB[369.32817899], SHIB[476690.58969098], USD[0.00]                                     Yes

08131480                              BAT[6.62952461], BTC[.00035484], CUSDT[4], DAI[53.36508512], DOGE[95.56864087], ETH[.00771963], ETHW[.0076238], KSHIB[487.14667703], LTC[.04717097], MATIC[30.99394062],              Yes
                                      PAXG[.00577956], SHIB[507771.75444575], SOL[.09781906], SUSHI[1.19115055], TRX[99.82130364], UNI[.51853579], USD[0.08]
08131495                              SOL[0.00000504], USD[0.00]                                                                                                                                                            Yes

08131511                              SOL[.68], USD[2.45]

08131514                              SOL[.04]

08131521                              BTC[.2852145], DOGE[142.857], ETH[.660339], ETHW[.660339], LTC[1.54845], SHIB[199800], SOL[2.42757], SUSHI[20.4795], USD[3.13]

08131522                              BAT[20.58772614], BCH[.01007382], BRZ[5.98311302], BTC[.0000418], CUSDT[5], DOGE[27.06647941], ETH[.0025489], ETHW[.00252154], KSHIB[122.7158248], LINK[.19596912], LTC[.04717289],   Yes
                                      MATIC[1.03099969], SHIB[1067799.5417069], TRX[1], USD[0.00], USDT[.99363655]
08131526                              ETH[.006529], ETHW[.006529]

08131538                              SHIB[2197800], USD[0.00], USDT[0]

08131542                              USD[10.00]

08131547                              BAT[1], BF_POINT[100], BTC[.13400725], DOGE[1], ETH[1.91582528], ETHW[1.91502067], USD[0.00]                                                                                          Yes

08131560                              USD[10.81]                                                                                                                                                                            Yes

08131562                              BCH[0], CUSDT[0], DAI[0], DOGE[0], ETH[0.00000016], ETHW[0.00000016], KSHIB[0], MKR[0], PAXG[0], SHIB[9], SOL[0], TRX[1], UNI[.00032283], USD[0.01], USDT[0]                          Yes

08131573                              SHIB[1], SOL[1.08160078], TRX[160.5053794], USD[1.10], USDT[0.00000001]                                                                                                               Yes

08131585       Contingent, Disputed   ETH[0], USD[0.79]                                                                                                                                                                     Yes

08131587                              USD[1.25]

08131589                              BAT[1], DOGE[5], GRT[1], SHIB[5], USD[0.12], USDT[0]                                                                                                                                  Yes

08131600                              USD[50.00]

08131604                              USD[426.13]

08131615                              SHIB[234549.98664368], USD[0.00]                                                                                                                                                      Yes

08131620                              BF_POINT[300], BRZ[1], SHIB[2], USD[5.67]                                                                                                                                             Yes

08131624                              BTC[.02251991], SHIB[1], USD[4.29]                                                                                                                                                    Yes

08131633                              SOL[.05035565], USD[0.00]

08131652                              BTC[0], USD[2.41]

08131664                              BRZ[1], SHIB[2329916.12301957], USD[0.00]

08131670                              SOL[.04915678], TRX[1], USD[0.00]                                                                                                                                                     Yes

08131676                              ETH[1.55692416], ETHW[1.37042691], SOL[83.33636622], USD[5220.09]                                                                                                                     Yes

08131684                              MATIC[2.3629465], USD[0.00]                                                                                                                                                           Yes

08131688                              DOGE[1], ETH[.00000001], ETHW[0], TRX[2], USD[0.00]                                                                                                                                   Yes

08131700                              CUSDT[1], DOGE[1], TRX[654.13295184], USD[0.01], USDT[0.00182267]                                                                                                                     Yes

08131708                              BCH[0], SHIB[2], USD[0.66]                                                                                                                                                            Yes

08131711                              BTC[0], ETH[.00009376], ETHW[.00009376]

08131725                              USD[2.16]                                                                                                                                                                             Yes

08131726                              BRZ[1], USD[0.00], USDT[.00098055]                                                                                                                                                    Yes

08131730                              DOGE[415], USD[9.34]

08131736                              SOL[.42333022], USD[0.05]

08131738                              BRZ[.00128386], BTC[.00278995], CUSDT[1217.84931715], DOGE[1152.04000714], TRX[266.52282807], USD[0.00]                                                                               Yes
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                                                                                                                                            Customer Claims                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08131763                              SOL[.00007994], USD[0.00]

08131777                              USD[30.00]

08131784                              USD[0.00]                                                                                                         Yes

08131802                              USD[0.00], USDT[0]

08131808                              CUSDT[1], DOGE[1], ETH[.02269], ETHW[.02269], SOL[.43398728], USD[0.00]

08131810                              BRZ[1], BTC[.0008543], ETH[.01251953], ETHW[.01251953], SHIB[1], USD[50.00]

08131826                              ETH[.00000001], ETHW[.00000001], USD[0.00], USDT[0]                                                               Yes

08131830                              USD[4850.16]

08131841                              SHIB[1], TRX[1], USD[67.08]

08131849                              DAI[0], SOL[0], TRX[0], USD[0.00], USDT[0.00000001]

08131853                              NFT (358908832836073128/Alien Punk 0011)[1], USD[163.25]                                                          Yes

08131872       Contingent, Disputed   USD[0.00]                                                                                                         Yes

08131874                              BTC[.00010013], ETH[.00114774], ETHW[.00114774]

08131878                              BF_POINT[200]

08131880                              USD[0.05]

08131890                              DOGE[44.46050525], USD[0.00]                                                                                      Yes

08131895                              BTC[.01123702], DOGE[1], USD[0.01]                                                                                Yes

08131896                              CUSDT[1], SOL[.70115767], USD[0.00]                                                                               Yes

08131898                              USD[0.64]

08131899                              CUSDT[1], ETH[.00454355], ETHW[.00454355], USD[0.00]

08131901                              USD[9.63]

08131905                              ETH[.00000001], ETHW[0]

08131912                              SHIB[66596.76316389], USD[0.00]

08131913                              BAT[233.13929553], BRZ[1], USD[0.00]                                                                              Yes

08131931                              USD[25.00]

08131937                              NFT (478700286888933960/Spectra #643)[1], USD[0.03]

08131959                              BTC[0.00167966]

08131986                              SOL[.48], USD[0.00], USDT[0]

08131995                              BTC[.00016712], USD[0.00]                                                                                         Yes

08131996                              BTC[.00613511]

08132005                              BTC[.00000001], LINK[.00001764], MATIC[.00020837], SOL[.00000312], USD[0.00]                                      Yes

08132028                              TRX[2], USD[0.00]                                                                                                 Yes

08132041                              USD[50.01]

08132044                              CUSDT[2], DOGE[2], USD[0.00]

08132046                              SOL[.00429085], USD[0.00]

08132047                              ETH[.00000107], ETHW[.00000107], NFT (484218154361961127/Microphone #393)[1], USD[0.08]                           Yes

08132055                              BTC[.01093165], CUSDT[1], DOGE[1], ETH[.13319424], ETHW[.13212457], USD[0.84]                                     Yes

08132056                              BTC[.00222021], CUSDT[2], ETH[.0048839], ETHW[.00482918], USD[0.00]                                               Yes

08132064                              CUSDT[4866], DOGE[2000], SHIB[2392200], SOL[.64], TRX[1552], USD[0.01]

08132071                              CUSDT[2], USD[27.36]

08132075                              BRZ[1], TRX[1], USD[0.00], USDT[0]

08132077                              USD[0.00]

08132081                              DOGE[.00003092], TRX[2], USD[0.01]                                                                                Yes

08132089                              DOGE[1], USD[0.00]                                                                                                Yes

08132097                              ETH[.00000757], ETHW[.00000757]                                                                                   Yes

08132099                              USD[51.54]

08132115                              CUSDT[2], SOL[7.98473019], USD[127.50]

08132122                              ETHW[1.07525362]                                                                                                  Yes

08132123                              USD[0.00], USDT[99.37475589]

08132141                              BTC[.31749809], USD[15.36]

08132151                              DOGE[1], SHIB[1], SOL[.01], USD[0.00]

08132160                              USDT[170.54539963]                                                                                                Yes

08132165                              BTC[.00042093]                                                                                                    Yes

08132167                              BRZ[1], CUSDT[3], TRX[2], USD[0.54]

08132174                              BTC[.01898179], ETH[.00000001], ETHW[0.27974800], UNI[22.059236], USD[1.65]

08132175                              USD[10.00]

08132191                              BTC[.00033511], CUSDT[3], DOGE[94.84230605], ETH[.01354615], ETHW[.01338199], SOL[.11636286], USD[0.00]           Yes

08132201                              USD[0.00], USDT[0]                                                                                                Yes
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08132212                           USD[0.00], YFI[.00030729]

08132214                           ETHW[.0005], USD[2.00]

08132218                           MATIC[0], SOL[0], USD[0.00]

08132234                           ETH[.05001763], ETHW[.05001763], USD[0.00]

08132241                           BTC[0], ETH[.00201371], ETHW[0.00201370], NFT (293329988387956084/Gates Pass Sunset - Tucson, Arizona #3)[1], NFT (296588990245571485/Pixel Perfect People #13)[1], NFT
                                   (298580164475411844/Pixel Perfect People #8)[1], NFT (303860714732524360/Pixel Perfect People #9)[1], NFT (318891682365828833/Pixel Perfect People #5)[1], NFT (353776359668354683/Gates
                                   Pass Sunset - Tucson, Arizona #6)[1], NFT (355429250839691856/Pixel Perfect People #15)[1], NFT (358324273887676993/Gates Pass Sunset - Tucson, Arizona)[1], NFT (359308920929361627/Gates
                                   Pass Sunset - Tucson, Arizona #7)[1], NFT (377376288464045215/Pixel Perfect People #14)[1], NFT (391689553740946717/Pixel Perfect People #7)[1], NFT (421684524978791163/Pixel Perfect People
                                   #11)[1], NFT (429270328357380144/Gates Pass Sunset - Tucson, Arizona #5)[1], NFT (451598547967155863/Pixel Perfect People #10)[1], NFT (464467569737606403/Gates Pass Sunset - Tucson,
                                   Arizona #2)[1], NFT (506895075956113631/Pixel Perfect People #4)[1], NFT (514955767654016368/Gates Pass Sunset - Tucson, Arizona #4)[1], NFT (547553008770835787/Pixel Perfect People #3)[1],
                                   NFT (573072212321628985/Pixel Perfect People #12)[1], USD[0.41]
08132250                           BTC[.00005483], LTC[.00677215], USD[-0.47], USDT[0]

08132254                           BTC[.00005018], DOGE[8.65932779], USD[0.00]

08132261                           SOL[.16], USD[4.61]

08132268                           SOL[.00000001], USD[4.38]

08132279                           CUSDT[1], USD[0.01]

08132287                           MATIC[0], USD[0.00]

08132298                           DOGE[0.00000001], ETH[0], SOL[0]

08132300                           USD[53.53]                                                                                                                                                                                      Yes

08132303                           CUSDT[1], DOGE[3], ETH[0.00000015], ETHW[0.00000015], SOL[0], TRX[2], USD[0.01]                                                                                                                 Yes

08132305                           BF_POINT[200], SOL[0], USD[0.00]                                                                                                                                                                Yes

08132319                           CUSDT[2], USD[0.00]                                                                                                                                                                             Yes

08132336                           BTC[.00101913], CUSDT[5], ETH[.01568969], ETHW[.01568969], MATIC[9.76038507], USD[0.00]

08132343                           NFT (542716499606057468/Astro Stones #52)[1]

08132354                           BTC[.00009818], DOGE[4.29860258], SHIB[1], USD[3.17]                                                                                                                                            Yes

08132356                           CUSDT[1], SHIB[2491989.44858658], USD[0.00]                                                                                                                                                     Yes

08132363                           SOL[.04], USD[2.29]

08132365                           BTC[.00017792], CUSDT[1], SOL[0], USD[0.00], USDT[0]                                                                                                                                            Yes

08132372                           AAVE[.41965604], CUSDT[1], USD[0.00]

08132383                           SHIB[1], SOL[.45617954], USD[0.14]                                                                                                                                                              Yes

08132388                           BTC[.00267403], DOGE[1], USD[54.04]                                                                                                                                                             Yes

08132390                           CUSDT[1], SHIB[4988394.50932344], USD[0.00]                                                                                                                                                     Yes

08132394                           USD[0.32]

08132421                           SHIB[1], USD[0.00]

08132425                           ETHW[3.1629751], USD[0.00]

08132448                           CUSDT[1], TRX[1], USD[0.00]

08132452                           BTC[0]

08132458                           USD[0.00]                                                                                                                                                                                       Yes

08132465                           DOGE[.00029774], ETH[.00000002], ETHW[.00000002], USD[13.95]                                                                                                                                    Yes

08132468                           BTC[.0007], ETH[.006], ETHW[.006], SOL[.13], USD[3.87]

08132469                           ETH[.00000037], ETHW[0.00000037]                                                                                                                                                                Yes

08132473                           USD[0.00]

08132475                           KSHIB[20.65427468], USD[0.06]

08132479                           CUSDT[1], SOL[.48303212], USD[0.00]                                                                                                                                                             Yes

08132483                           USD[6283.85]

08132503                           USD[0.00]

08132518                           AAVE[0], NFT (571606619199729245/The Hill by FTX #7853)[1], USD[14.53]                                                                                                                          Yes

08132523                           USD[5.00]

08132528                           CUSDT[1], USD[0.00], ZAR[313.97]                                                                                                                                                                Yes

08132530                           BTC[.00246788], NFT (372326551700303717/3D CATPUNK #2372)[1], NFT (485416306843169354/Captain America )[1], SHIB[1], SOL[2.65085073], USD[0.00]                                                 Yes

08132533                           BAT[3.13426323], BRZ[2], DOGE[7.02206079], ETH[1.96540222], ETHW[1.96457675], GRT[1], SHIB[82992135.50318481], SUSHI[1.02155318], TRX[6], UNI[89.11512628], USD[1907.01],                       Yes
                                   USDT[3.14758746]
08132547                           USD[216.17]                                                                                                                                                                                     Yes

08132555                           BRZ[1], ETHW[.54836104], MATIC[24.20148762], NFT (510098558942597717/Bahrain Ticket Stub #1013)[1], SHIB[8], TRX[4], USD[0.00]                                                                  Yes

08132558                           USD[0.00]                                                                                                                                                                                       Yes

08132576                           DOGE[1], SHIB[11304544.42685959], USD[0.01]

08132578                           USD[0.00], USDT[0.00009159]                                                                                                                                                                     Yes

08132580                           ETH[0.04490455], ETHW[0.04434377], EUR[0.00], GBP[0.00], SHIB[2], SOL[1.98577586], USD[0.19]                                                                                                    Yes

08132584                           BRZ[2], CUSDT[4], DOGE[1229.54177451], ETH[.00005938], ETHW[.00005938], NFT (340305690418742198/Eitbit Ape #5602)[1], NFT (371942607856293733/DOTB #3059)[1], NFT                               Yes
                                   (415454232051938371/Sigma Shark #1513)[1], NFT (528528034502835268/1302)[1], SHIB[7891660.79957307], SOL[.00667365], TRX[2], USD[0.01]
08132587                           BCH[.43889669], BRZ[1], CUSDT[2], MATIC[14.75790064], NFT (535865050424459690/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #122)[1], SHIB[1],
                                   SUSHI[25.56380075], USD[0.00]
08132590                           BAT[7.688156], CUSDT[4], DOGE[1], NFT (430919033245135162/Solana Penguin #4707)[1], NFT (538533423748060081/SharkBro #8431)[1], SOL[.14653778], USD[0.00]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08132607                           BCH[.00056365], BF_POINT[300], BRZ[4], CUSDT[31], DOGE[5505.63742508], ETH[.00000053], ETHW[0.00000053], SHIB[14544600.79396003], TRX[7], USD[0.00]                            Yes

08132614                           NFT (449858374069742561/The Hill by FTX #7854)[1]

08132617                           SHIB[1.96693636], USD[2.60]                                                                                                                                                    Yes

08132621                           BRZ[1], CUSDT[2], SHIB[917.49908721], TRX[5], USD[0.00]                                                                                                                        Yes

08132629                           CAD[16.90], CUSDT[5], DOGE[29.49037777], GRT[5.77292423], KSHIB[26.90768779], SHIB[26833.43088356], SOL[.1989233], TRX[52.26501956], USD[0.00], YFI[.00099157]                 Yes

08132632                           BTC[.00000001], SHIB[1], TRX[1], USD[50.36]                                                                                                                                    Yes

08132636                           USD[8.61]

08132643                           DOGE[4.2905296], MATIC[.60896966], SOL[.00864274], SUSHI[.11565646], USD[0.00]                                                                                                 Yes

08132652                           BTC[.00004178], GRT[.3668979], MATIC[.7198846], SOL[.01318554], TRX[12.94227405], USD[0.00], YFI[.00004906]                                                                    Yes

08132676                           USD[20.00]

08132677                           CUSDT[3], ETH[.00454593], ETHW[.00454593], LTC[.08822285], MATIC[5.29151996], SOL[.08467409], TRX[90.77745534], USD[20.00]

08132678                           GRT[230.03230194], USD[0.00], USDT[1]

08132687                           CUSDT[1], NFT (405558397366084260/Eitbit Ape #6053)[1], NFT (455867488521711059/Founding Frens Investor #189)[1], NFT (460806306908556260/Solninjas #2698)[1], NFT             Yes
                                   (465559188390570327/Astral Apes #2769)[1], NFT (544906012352352584/Сrypto Warrior #2)[1], SHIB[1], SOL[.22287846], USD[0.00]
08132704                           CUSDT[2], MATIC[1.0285638], UNI[2.12142037], USD[18.36], USDT[3.22202138]                                                                                                      Yes

08132712                           AVAX[.2685329], BTC[.00151323], CUSDT[6], DOGE[141.71623028], MATIC[29.21893437], SHIB[628655.90993028], USD[0.06]                                                             Yes

08132713                           USD[108.07]                                                                                                                                                                    Yes

08132714                           BAT[1.00947839], BRZ[.01290441], CUSDT[5], DOGE[.00502491], KSHIB[4246.48215762], LINK[.0009953], SHIB[47.51038501], SOL[.00004735], SUSHI[.00169244], TRX[2], USD[3.40]       Yes

08132718                           BAT[188.99116143], BRZ[1], DOGE[1], SHIB[1], USD[0.00]                                                                                                                         Yes

08132720                           BTC[.00016682], CUSDT[1], DOGE[44.00384432], ETH[.00226284], ETHW[.00226284], SHIB[221043.3244916], SOL[1.01040934], USD[0.00], USDT[9.93796997]

08132729                           BRZ[1], NFT (327622298526583044/ALPHA:RONIN #688)[1], NFT (364661076658898066/ApexDucks #7489)[1], NFT (380536376557249217/ApexDucks Halloween #2614)[1], NFT                   Yes
                                   (385964298179325447/3D CATPUNK #4151)[1], NFT (394316274437752167/3D CATPUNK #3279)[1], NFT (394837228168137334/3D CATPUNK #2673)[1], NFT (407735339851367414/3D CATPUNK
                                   #3356)[1], NFT (408303659015780412/#6068)[1], NFT (421110510253835720/3D CATPUNK #4976)[1], NFT (422014821887117586/DRIP NFT)[1], NFT (424613882856786920/3D CATPUNK #2983)[1],
                                   NFT (433426328235202722/ApexDucks #1136)[1], NFT (538930247245371450/Beagle Rare #96)[1], SHIB[1], SOL[.00528018], TRX[1], USD[0.00]
08132744                           BRZ[1], CUSDT[3], USD[0.01]                                                                                                                                                     Yes

08132748                           CUSDT[1], SHIB[2621783.58243311], TRX[1], USD[0.00]

08132764                           BRZ[2], CUSDT[8], DOGE[1], TRX[4], USD[275.24]                                                                                                                                 Yes

08132765                           USD[0.01], USDT[0.00000001]                                                                                                                                                    Yes

08132776                           USD[0.00], USDT[0]                                                                                                                                                             Yes

08132777                           CUSDT[1], ETH[.02551141], ETHW[.02519677], USD[0.00]                                                                                                                           Yes

08132802                           BTC[.0001], MATIC[30], USD[2.21]

08132805                           BTC[.00085506], CUSDT[2], DAI[49.72163096], SUSHI[6.39088361], TRX[1], USD[150.01]

08132815                           BRZ[1], SHIB[2241649.85429275], USD[0.00]

08132821                           CUSDT[1], SHIB[1361969.61760083], USD[0.00]

08132826                           SHIB[2], USD[0.00]

08132827                           BTC[.00036493], USD[0.00]                                                                                                                                                      Yes

08132830                           USD[200.00]

08132835                           DOGE[1], SHIB[1], USD[29.01]

08132842                           BTC[.00000002], CUSDT[4], DOGE[1], TRX[1], USD[44.78]                                                                                                                          Yes

08132844                           USD[0.01]                                                                                                                                                                      Yes

08132846                           CUSDT[2], ETH[0], SOL[0], TRX[1], USD[41.82]

08132851                           BCH[.00112383], ETH[0], USD[0.00], USDT[0.00000001]                                                                                                                            Yes

08132881                           SOL[2.29516575], TRX[1], USD[0.00]                                                                                                                                             Yes

08132889                           CUSDT[2], DOGE[1], ETH[.04297278], ETHW[.04243926], SOL[.13143208], TRX[1], USD[0.00]                                                                                          Yes

08132892                           USD[1.00]

08132893                           USD[1000.00]

08132896                           BTC[.00000008], CUSDT[1], DOGE[23.06287028], ETH[.00000112], ETHW[.00000112], SOL[0.00000162], USD[0.15]                                                                       Yes

08132900                           BAT[38.41988481], CUSDT[4], DOGE[140.96719813], GRT[33.92940041], MATIC[19.59774733], SHIB[714950.51241635], TRX[98.81121836], USD[0.00], USDT[32.23201151]                    Yes

08132918                           BRZ[1.00721481], BTC[0], CUSDT[15], DOGE[0.04130132], PAXG[0], SOL[0.45619106], SUSHI[.000073], TRX[12.01981531], UNI[0], USD[0.00], USDT[1.08008603]                          Yes

08132926                           CUSDT[.00002112], GRT[1], MATIC[0.00003443], SHIB[4], TRX[.0000649], USD[0.01]                                                                                                 Yes

08132932                           CUSDT[1], DOGE[134.37847705], ETH[.00519743], ETHW[.00512903], SHIB[438514.98118762], USD[0.00]                                                                                Yes

08132940                           BTC[0.00968908], TRX[0], USD[1.56]                                                                                                                                             Yes

08132942                           BTC[.00000002], CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                   Yes

08132947                           CUSDT[2], KSHIB[.80824688], SHIB[1], TRX[2], USD[37.63]

08132949                           CUSDT[.00000072], DOGE[1], KSHIB[133.65892647], MATIC[.0000119], USD[5.19]                                                                                                     Yes

08132952                           USD[602.65]

08132984                           USD[100.00]

08133002                           SHIB[1700000], SOL[1.999], USD[1.83]

08133004                           BRZ[2], SHIB[2], SOL[.37788066], TRX[2], USD[14.22]                                                                                                                            Yes

08133015                           DOGE[.964], KSHIB[6.64], USD[0.10]
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                                                                                                                                         Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08133047                           DOGE[1], SHIB[9], USD[0.01], USDT[0]

08133052                           CUSDT[1], SHIB[2196354.05227322], USD[0.00]

08133070                           BCH[0], DOGE[0.00009150], LTC[0], SHIB[0], USD[1.50]                                                                                                                                Yes

08133073                           USD[100.00]

08133082                           BTC[0], SOL[0.00568341], USD[0.00]                                                                                                                                                  Yes

08133106                           AAVE[.44752765], BTC[.00456421], CUSDT[3], DOGE[1], ETH[.03129179], ETHW[.03090557], SOL[.1236216], USD[0.00]                                                                       Yes

08133114                           BRZ[1], CUSDT[1], DOGE[377.46783551], SHIB[13078333.51887135], USD[0.00]                                                                                                            Yes

08133122                           NFT (519998605636835758/2D SOLDIER #2379)[1], SHIB[1], SOL[.00075715], USD[0.00]

08133147                           DOGE[21], ETH[.053835], ETHW[.053835], SHIB[400000], TRX[183], USD[3.73]

08133152                           CUSDT[3], DOGE[102.76820781], SHIB[2704898.06249053], SOL[1.14626549], TRX[117.15840296], USD[130.86]                                                                               Yes

08133166                           CUSDT[2], SOL[0], USD[0.00]                                                                                                                                                         Yes

08133209                           AAVE[.00000152], CUSDT[22], DOGE[2], SHIB[2], SOL[.00002493], TRX[1], USD[0.01]                                                                                                     Yes

08133214                           BTC[.00184831], CUSDT[1], USD[0.00]                                                                                                                                                 Yes

08133219                           BAT[1.00728666], BRZ[2], BTC[.00000002], CUSDT[23], ETH[.00000023], ETHW[.00000023], LTC[.00000303], SOL[.00000327], TRX[4], USD[0.01]                                              Yes

08133226                           SHIB[224215.24663677], USD[0.00]

08133244                           BTC[.0084], ETH[.114], ETHW[.114], SOL[.89225527], USD[0.00]

08133250                           SOL[.00000219], USD[0.00]

08133257                           BRZ[605.1395215], CUSDT[7], DOGE[485.8181126], GRT[1.00019173], LINK[20.91938971], SHIB[1894779.96871661], TRX[1046.33856596], USD[0.00], USDT[107.41256722]                        Yes

08133273                           DOGE[1], ETH[.02029235], ETHW[.02029235], USD[0.00]

08133279                           USD[0.88]

08133282                           USD[21.51]                                                                                                                                                                          Yes

08133289                           NFT (441644448219207190/Esteban #8)[1], NFT (497964850320733350/Dosis #9)[1], TRX[2], USD[0.00]                                                                                     Yes

08133304                           BTC[.00000011], ETH[.00000005], ETHW[.00000005], SHIB[3], USD[0.00]                                                                                                                 Yes

08133326                           BCH[.00000844], BTC[0.00519847], DOGE[1], SHIB[1], USD[0.68]                                                                                                                        Yes

08133328                           USD[0.00]                                                                                                                                                                           Yes

08133331                           BTC[.00016772], ETH[.0022048], ETHW[.0022048], USD[0.00]

08133340                           USD[25.00]

08133343                           BRZ[1], DOGE[1], KSHIB[4730.40727336], SHIB[7691143.49547335], TRX[1], USD[0.01]                                                                                                    Yes

08133362                           BRZ[15.02694061], CUSDT[68.8200706], DAI[2.01976087], GRT[4.92553034], KSHIB[164.85331681], MATIC[3.2578812], TRX[73.48017447], USD[0.00]                                           Yes

08133363                           CUSDT[1], TRX[1795.56146014], USD[0.00]                                                                                                                                             Yes

08133365                           LTC[.30969], USD[0.62]

08133385                           CUSDT[3], HKD[33.37], KSHIB[532.87168172], TRX[111.27686338], USD[0.50]                                                                                                             Yes

08133392                           SHIB[23210399.16266813], USD[0.00]

08133393                           BRZ[302.63055675], CUSDT[4], SOL[1.08217787], USD[0.00]                                                                                                                             Yes

08133406                           BAT[2], TRX[1], USD[0.00]

08133416                           USD[0.00]

08133434                           ETHW[.19581734], SHIB[4], TRX[1], USD[3.15]

08133441                           USD[5.40]                                                                                                                                                                           Yes

08133442                           SHIB[25081], USD[1.98]

08133468                           CUSDT[6], USD[0.01]                                                                                                                                                                 Yes

08133474                           LINK[10.5], MATIC[39.96], USD[2.95]

08133490                           BF_POINT[100]

08133491                           USD[0.01], USDT[0]

08133501                           BTC[.00171161], CUSDT[4], DOGE[108.49142414], SHIB[1914975.10532363], USD[75.00]

08133509                           USD[5.00]

08133511                           TRX[.900004], USD[1.29]

08133516                           CUSDT[5], DAI[15.09129727], DOGE[119.18894712], GRT[5.96447497], MATIC[14.37553381], SHIB[446893.64716825], TRX[108.56747384], USD[0.00], USDT[5.66110666]                          Yes

08133524                           USD[50.00]

08133535                           BTC[.0718283], USD[0.37]

08133536                           DOGE[1], SOL[.45163125], USD[50.01]

08133551                           SHIB[1101806.96342], TRX[1], USD[0.00]

08133557                           BAT[1.063], BRZ[17.65558801], BTC[.019005], DOGE[1.00063459], ETH[.00000012], ETHW[.01311637], GRT[1], SHIB[723], SOL[.00002915], TRX[77.80340602], USD[0.00], USDT[0]              Yes

08133559                           USD[0.00]

08133564                           CUSDT[3], MATIC[64.28856738], TRX[1], USD[0.01]

08133565                           USD[0.00]

08133567                           CUSDT[1], DOGE[1], ETH[.00000055], ETHW[.00000055], SOL[.0000012], TRX[1], USD[1.08]                                                                                                Yes

08133570                           BAT[1.00779268], BRZ[4], CUSDT[2], DOGE[1], GRT[1], SHIB[588.97129506], TRX[3], USD[0.02], USDT[1.07867649]                                                                         Yes

08133585                           BRZ[1], BTC[.21049278], CUSDT[1], DOGE[18181.63375516], LTC[9.751151], MATIC[1036.53594551], NFT (370847027381266381/Baddies #1464)[1], SHIB[52222587.6186069], SOL[10.06612525],   Yes
                                   TRX[10824.61180753], USD[8299.97]
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                                                                                                                                          Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08133588                           USD[50.01]

08133602                           ETHW[.922456], USD[3.17]

08133605                           BRZ[1], CUSDT[1], DOGE[1], USD[667.49]                                                                                                                                              Yes

08133610                           USD[500.01]

08133616                           NFT (503079876151988390/Good Boy #5155)[1], NFT (538026169478093846/Juliet #291)[1], USDT[1.48435287]

08133622                           CUSDT[1], SOL[.10674748], USD[0.00]

08133627                           USD[10.00]

08133628                           NFT (529342207405422294/Mech #4625)[1], SOL[.08190823], USD[0.00]

08133642                           CUSDT[1], DOGE[1], LINK[41.33536615], MATIC[316.62022498], USD[0.00], USDT[0.00000006]                                                                                              Yes

08133651                           CUSDT[1], TRX[1470.46288486], USD[0.00]                                                                                                                                             Yes

08133663                           USD[11.25]                                                                                                                                                                          Yes

08133684                           SHIB[1], USDT[0]

08133702                           BAT[10.78858128], BRZ[1.00008853], CUSDT[24], DOGE[14181.56916171], KSHIB[2945.88916723], LTC[4.30835881], MATIC[77.33339023], NEAR[5.90528563], NFT (418654667512475037/SOL        Yes
                                   SURFERS 004 - Rincon)[1], NFT (450594277211541054/The Defeated Ground)[1], NFT (491266739001296945/Toy Soldier #012)[1], SHIB[9715169.51571633], SOL[10.85425633],
                                   TRX[11657.39145825], USD[0.01]
08133705                           TRX[2053.3257625]                                                                                                                                                                   Yes

08133706                           USD[4.08]

08133727                           CUSDT[1], TRX[505.00662921], USD[0.05]                                                                                                                                              Yes

08133766                           NFT (475124287887292108/TiasTacos #1555)[1]

08133770                           USD[25113.81]

08133781                           CUSDT[4], TRX[1], USD[51.16]

08133791                           SOL[.03248676], USD[0.01]

08133801                           BTC[1.5022], ETH[.00769624], ETHW[26.44769624], USD[2.78]

08133809                           ETH[0], SOL[0]

08133810                           USD[2.13]                                                                                                                                                                           Yes

08133831                           USD[27.23], USDT[0]

08133832                           KSHIB[39.96], SHIB[2097400], USD[4.59]

08133847                           USD[5.84]                                                                                                                                                                           Yes

08133850                           USD[15.00]

08133851                           CUSDT[1], ETH[.00000105], ETHW[.00000105], USD[0.01]                                                                                                                                Yes

08133854                           BTC[.0146], MATIC[30], SOL[1.1], USD[4.56]

08133858                           USD[100.00]

08133866                           SOL[5.994], USD[0.08]

08133873                           AAVE[.0190682], BAT[4.84122154], SOL[.03000042], SUSHI[.08216528], TRX[1.13692513], USD[0.02]                                                                                       Yes

08133875                           USD[2.00]

08133883                           CUSDT[1], MATIC[0], SOL[0], USD[0.00], USDT[0.00000563]                                                                                                                             Yes

08133885                           BTC[0]

08133887                           BRZ[1], DOGE[1], SOL[0], USD[0.00]                                                                                                                                                  Yes

08133889                           USD[20.00]

08133894                           USD[2.43]

08133902                           BTC[.01492428], DOGE[69.952], USD[0.00]

08133913                           BRZ[1], BTC[.01607838], CUSDT[10], DOGE[5], ETH[.26421767], ETHW[.26402487], GRT[275.83181291], MATIC[139.9604112], SHIB[3], SOL[.9817797], TRX[1053.86833558], UNI[14.08786299],   Yes
                                   USD[0.36]
08133918                           CUSDT[2], DOGE[2], USD[0.03]                                                                                                                                                        Yes

08133920                           AVAX[99.94927], USD[0.00], USDT[4777.19214718]

08133923                           SOL[1], USD[790.11]

08133925                           USD[20.00]

08133931                           CUSDT[1], ETH[.00643838], ETHW[.0063563], USD[0.08]                                                                                                                                 Yes

08133933                           USD[0.00]

08133951                           SHIB[1008472.15772488], USD[0.00]

08133956                           CUSDT[1], USD[0.00]

08133958                           USD[10.00]

08133959                           ETH[.00246078], ETHW[.00243342], USD[0.00]                                                                                                                                          Yes

08133960                           CUSDT[1], TRX[1], USD[0.00]

08133961                           AAVE[.03220033], CUSDT[1], DOGE[2], ETH[0], GRT[0], NEAR[0], SHIB[2], TRX[3], USD[0.00]                                                                                             Yes

08133969                           USD[500.01]

08133972                           BTC[.00025652], SHIB[1], SOL[.7615335], USDT[0.00000071]                                                                                                                            Yes

08133976                           ETH[.21353469], ETHW[.21353469], USD[0.00]

08133987                           ETH[.2], ETHW[.2], SHIB[4200000], USD[95.70]

08133995                           USD[0.00]                                                                                                                                                                           Yes
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                                                                                                                                         Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08134007                           CUSDT[5], DOGE[1], SHIB[2835428.23735749], SOL[.22225202], USD[0.00]

08134009                           CUSDT[1], DOGE[1], USD[0.01]                                                                                                                                                      Yes

08134016                           BTC[.00000355], ETH[.00000001], ETHW[0], USD[0.00]                                                                                                                                Yes

08134022                           BRZ[1], TRX[611.04486958], USD[0.28]                                                                                                                                              Yes

08134026                           USD[1.00]

08134036                           ETH[.00000001], USD[1500.00]

08134046                           CUSDT[690.7271488], DOGE[2052.90185529], ETH[.11038279], ETHW[.90433574], LINK[2.86396121], MATIC[50.65491865], SHIB[13381220.26814959], TRX[580.3130632], USD[0.19]              Yes

08134049                           USD[500.00]

08134059                           HKD[153.63], USD[0.00]                                                                                                                                                            Yes

08134076                           CUSDT[1], LINK[3.69164464], USD[0.00]

08134077                           BTC[0], CUSDT[3], DOGE[6], NFT (326069435241727911/Astral Apes #515)[1], NFT (351424151405434559/Solana Islands #1935)[1], NFT (356236004019254204/Solana Islands #966)[1], NFT   Yes
                                   (525812555312179779/Solana Islands #877)[1], SHIB[11], TRX[2], USD[0.01]
08134080                           SOL[.99]

08134084                           SOL[.36606879], USD[2.39], USDT[0.09290617]

08134085                           BTC[.05768186], ETH[.53239931], ETHW[.53217575], SHIB[1], USD[0.00]                                                                                                               Yes

08134106                           BAT[2], CUSDT[3], DOGE[11.05094918], SHIB[47784184.96052867], SOL[0], SUSHI[1604.78358710], TRX[4.00000065], USD[0.00], USDT[1]

08134118                           BTC[.00000001], SHIB[2], USD[0.00]                                                                                                                                                Yes

08134128                           ETH[.00000001], USD[0.00]

08134130                           USD[10.75]                                                                                                                                                                        Yes

08134147                           BRZ[1], DOGE[654.50049025], ETHW[0.08569006], SHIB[5938635.17895892], SOL[.31679371], TRX[1000.85291425], USD[0.01]                                                               Yes

08134149                           BRZ[1], ETH[.0140795], ETHW[.0140795], USD[0.00]

08134151                           SHIB[596300], USD[60.86]

08134152                           AAVE[.00996], BAT[.966], BCH[.000693], DOGE[1.377], LINK[.0983], SHIB[193800], UNI[8.8927], USD[15.95]

08134166                           NFT (349899894253982783/Coachella x FTX Weekend 1 #1809)[1]

08134170                           BTC[.00017656], DOGE[1], USD[0.00]                                                                                                                                                Yes

08134171                           CUSDT[1], GRT[10.9999004], USD[0.00]

08134189                           CUSDT[1], SOL[.09528092], USD[0.00]                                                                                                                                               Yes

08134208                           ETH[0], ETHW[0], SHIB[54.44314905], USD[10.10]                                                                                                                                    Yes

08134209                           USD[1.41], USDT[0.00000001]

08134210                           CUSDT[481.58930995], TRX[1], USD[0.00]                                                                                                                                            Yes

08134214                           ETHW[.38502891], USD[0.00]

08134219                           BTC[.00579059], ETH[.18558251], ETHW[.18558251], USD[1.77]

08134234                           USD[20.00]

08134236                           BRZ[1], CUSDT[4], DOGE[2], NFT (308521847254029963/Vox Punk #11)[1], NFT (312465910597314593/Skull Love #60)[1], NFT (359633784354666983/Skull Love #20)[1], NFT
                                   (382150145752398862/Skull Love #49)[1], NFT (423808629410660275/Vox Punk #8)[1], NFT (455527134348985534/Vox Punk #6)[1], NFT (476588187451649543/Primitive #2)[1], NFT
                                   (477289651304417264/Skull Love #10)[1], NFT (482510605511208639/Gold Series #5 of 10)[1], NFT (526256527730052061/Vox Punk #4)[1], NFT (540154256963144389/Vox Punk #5)[1], NFT
                                   (569710094106031003/Skull Love #19)[1], SOL[.00000001], USD[10.99]
08134259                           CUSDT[1], SOL[0]

08134267                           BAT[7.81129276], CUSDT[245.28068702], DAI[9.60712896], DOGE[44.27155254], GRT[7.19816561], KSHIB[290.42273279], MATIC[4.88351785], TRX[92.67028785], USD[0.06]                    Yes

08134268                           CUSDT[1], SHIB[1], USD[0.00]                                                                                                                                                      Yes

08134269                           BTC[.0068982], ETH[.021978], ETHW[.021978], SHIB[4800000], USD[460.70]

08134279                           USD[0.00]

08134281                           DOGE[5], ETH[.00000022], ETHW[.00000022], SHIB[1], TRX[2], USD[0.00], USDT[1.04337062]                                                                                            Yes

08134286                           SOL[0], TRX[1]

08134290                           CUSDT[1225.58308891], KSHIB[558.82580416], SHIB[2724117.72702999], TRX[495.74932836], USD[0.00]                                                                                   Yes

08134301                           CUSDT[1], SHIB[447527.41105392], USD[0.00]

08134303                           AAVE[0], USD[0.01]                                                                                                                                                                Yes

08134304                           TRX[.000037]

08134311                           NFT (532063231972559949/FTX - Off The Grid Miami #1595)[1], USD[10.60]                                                                                                            Yes

08134315                           USD[0.00]                                                                                                                                                                         Yes

08134317                           BTC[.0127675], DOGE[812.9568648], ETH[.1480791], ETHW[.14722227], GRT[1], SHIB[2], TRX[2], USD[0.00]                                                                              Yes

08134318                           DOGE[1], MATIC[4.2714009], USD[11.00]

08134324                           ETH[.00809], ETHW[.00809]

08134325                           USD[0.00], USDT[0]

08134331                           BTC[0.00170371]

08134334                           CUSDT[4], DOGE[1], GRT[108.33826308], SHIB[2233638.59727496], SOL[.22445857], TRX[959.27346929], USD[0.00], YFI[.00466734]

08134354                           USD[41.91]

08134356                           NFT (490902551640007668/Microphone #1813)[1]

08134373                           USD[108.07]                                                                                                                                                                       Yes

08134374                           CUSDT[4], DOGE[1151.41593939], ETH[.02612775], ETHW[.02579943], LTC[.70218764], SOL[2.20254887], TRX[2], USD[0.01]                                                                Yes
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                                                                                                                                            Customer Claims                                                                                                             22-11071 (JTD)
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08134381                              CUSDT[1], TRX[105.72222523], USD[0.00]

08134383                              NFT (363121390150966011/Fortune Cookies #401)[1], NFT (425163237692700579/Fortune Cookies #303)[1], NFT (473884545469778742/Fortune Cookies #525)[1]

08134385                              USDT[15]

08134387                              USD[539.78]                                                                                                                                                                               Yes

08134390                              ETHW[.02361011], SHIB[2], USD[86.55]                                                                                                                                                      Yes

08134392                              ETHW[.000402], USD[1.68]

08134396                              BRZ[1], CUSDT[1], SHIB[2517763.06471735], SOL[.56641018], USD[5.31]                                                                                                                       Yes

08134398                              ETH[0], USD[200.01]

08134402                              SOL[.09], USD[1.93]

08134404                              CUSDT[1], KSHIB[203.67961778], SOL[.09233422], USD[0.01]                                                                                                                                  Yes

08134408                              AVAX[0], SOL[9.60899265], TRX[.000004], USD[0.77], USDT[0]

08134423                              CUSDT[3], USD[0.00]

08134433                              DOGE[1], ETH[.12665083], ETHW[.1255269], USD[0.01]                                                                                                                                        Yes

08134437                              USD[500.01]

08134450                              AAVE[0.01399617], BCH[.02264311], ETH[.00043585], ETHW[.00043585], LINK[.24311184], MATIC[3.90273848], MKR[0.00093009], PAXG[.00004347], SOL[.02167986], TRX[57.82875424],                Yes
                                      USD[0.00], USDT[0.00000001]
08134457                              LTC[.01089796], USD[0.01]

08134458                              SOL[.36], USD[0.01], USDT[1.432882]

08134461                              DAI[0], LTC[0.22568264], TRX[182.92867486], USD[0.00]

08134468                              ALGO[975.92756138], NFT (351081828482995186/Baddies #3385)[1], NFT (403083595058966850/Baddies #2992)[1], NFT (406923923444375989/Baddies #3943)[1], SHIB[20017400.3700473],              Yes
                                      USD[0.00]
08134472                              SOL[11.04656249], USD[0.01]

08134476                              CUSDT[1], SHIB[1], USD[11.51]

08134477                              USDT[0]

08134479                              ETH[.00483494], ETHW[.00478022], TRX[1], USD[0.00]                                                                                                                                        Yes

08134503       Contingent, Disputed   ALGO[272.30452776], KSHIB[0], NFT (299753059850190921/AI-generated landscape #179)[1], NFT (303216998257568524/[Xip]-Untitled#1)[1], NFT (319790183654436380/Grief)[1], NFT               Yes
                                      (322675560361937913/AI-generated city #2)[1], NFT (342555225060828682/Capitol Xray First Edition #4)[1], NFT (344726430166585179/Man #21)[1], NFT (350828185549879230/Marcus Allen's
                                      Playbook: Los Angeles Raiders vs. Washington - January 22, 1984 #95)[1], NFT (352240233138409835/Surrealisart #1)[1], NFT (364528347317279689/Hall of Fantasy League #166)[1], NFT
                                      (366356717977392027/AI-generated city #7)[1], NFT (368837594616723342/Infinity 2.0 #1)[1], NFT (419683187910613996/Sunset Colors)[1], NFT (422023017151654775/Chorizo #1)[1], NFT
                                      (443839651626497164/A.I #2)[1], NFT (458615922021763051/Happy Eye)[1], NFT (462958742714637442/Cartons album #4)[1], NFT (473630857995475625/Fire Attack)[1], NFT
                                      (508193020184313415/Post malone)[1], NFT (532195218930647974/Cr iberd #6)[1], NFT (549347154200972717/Shannon Sharpe's Playbook: Kansas City Chiefs vs Denver Broncos - October 4, 1992
                                      #95)[1], NFT (550050283732736969/Shannon Sharpe's Playbook: Denver Broncos vs. Los Angeles Raiders - January 9, 1994 #85)[1], NFT (567371146785205070/Lost in Nevada )[1], NFT
                                      (574765315915055830/Crypto Infinite #20)[1], SHIB[1385844.7991276], TRX[1290.14845274], USD[0.00]
08134504                              CUSDT[1], KSHIB[1691.38608638], USD[0.00]

08134506                              LINK[.18353846], MATIC[2.82190395], SOL[.04412558], USD[0.00]

08134509                              CUSDT[1], SHIB[6813973.09721954], TRX[1], USD[0.00]

08134511                              TRX[2493.840898]

08134512                              CUSDT[1], USD[0.00], YFI[.00015617]                                                                                                                                                       Yes

08134522                              BRZ[1], SHIB[4493372.27589305], USD[300.00]

08134535                              BRZ[1], DOGE[5.00130483], SHIB[1], TRX[1], USD[0.00]                                                                                                                                      Yes

08134536                              BTC[0], DOGE[.2246], SOL[0.00875330], USD[2.50]

08134542                              CUSDT[2], DOGE[1], ETH[.15928877], ETHW[.15928877], TRX[1], USD[0.00]

08134544                              BTC[.00013776], CUSDT[1], ETH[.0025322], ETHW[.00250484], LTC[.02472811], USD[2.16]                                                                                                       Yes

08134552                              DOGE[1], SHIB[1], USD[0.13]                                                                                                                                                               Yes

08134559                              CUSDT[2], KSHIB[2534.63927976], USD[1.00]

08134566                              BTC[.00051154], CUSDT[1], USD[0.00]

08134578                              ETH[.12270543], ETHW[.12270543], TRX[1], USD[0.00]

08134592                              BRZ[1], BTC[.52801627], SHIB[1], TRX[1], USD[5494.02], USDT[1.02172039]                                                                                                                   Yes

08134593                              ETH[.013878], ETHW[.013878]

08134605                              CUSDT[3], SHIB[2223650.64724279], USD[5.00]

08134617       Contingent, Disputed   USD[3.00]

08134634                              ETH[.01737835], ETHW[.01737835], USD[0.00]

08134639                              BTC[.00270277], CUSDT[3], DAI[0.00003800], DOGE[0.64153057], SHIB[4], USD[0.17], USDT[0]                                                                                                  Yes

08134642                              CUSDT[1], DOGE[71.46123033], KSHIB[225.46673869], USD[0.00]                                                                                                                               Yes

08134654                              AVAX[0], BTC[0], ETH[0], MATIC[6.17203343], SHIB[0], USD[0.00], USDT[0]                                                                                                                   Yes

08134655                              USD[100.00]

08134656                              CUSDT[4], DOGE[1], SHIB[1217035.33635068], SOL[.68361073], TRX[2], USD[0.00]                                                                                                              Yes

08134663                              USD[0.00], USDT[0.00000001]

08134667                              USD[20.00]

08134674                              BTC[.00009654], DAI[0], USD[0.01]

08134678                              DOGE[6874.19918763], SHIB[55498224.09022369], TRX[1], USD[0.01]

08134682                              BAT[1.00179158], KSHIB[.776], TRX[1], USD[0.87]                                                                                                                                           Yes

08134692                              ETH[0]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08134694                           USD[0.00], USDT[0.00027515]

08134701                           CUSDT[1], USD[5.40], USDT[107.43709337]                                                                                                                          Yes

08134703                           USD[0.01]

08134707                           BTC[0]                                                                                                                                                           Yes

08134709                           USDT[47]

08134711                           BTC[.0145], SOL[2.66], USD[123.54]

08134725                           SHIB[46294.03730132], USD[0.00]                                                                                                                                  Yes

08134728                           BTC[.00211051], CUSDT[1], USD[50.00]

08134729                           CUSDT[1], DOGE[1], ETHW[.01604712], SHIB[1395820.25642686], USD[22.19]                                                                                           Yes

08134735                           USD[0.01]                                                                                                                                                        Yes

08134737                           SOL[.00761275], USD[20.00]

08134743                           BTC[.0010999], CUSDT[1], DOGE[1], ETH[.01502171], ETHW[.01483019], USD[0.00]                                                                                     Yes

08134749                           SHIB[25733990.8168013], TRX[1], USD[0.00]                                                                                                                        Yes

08134754                           NFT (443148445763737131/Fortune Cookies #141)[1], SOL[.0173708]

08134755                           BRZ[1], BTC[0], DOGE[1], LTC[.0000095], SOL[0], SUSHI[.0000844], TRX[1], UNI[.000047], USD[0.00], USDT[1.08072743]                                               Yes

08134756                           BTC[0.00009791], USD[0.00], USDT[0]

08134761                           BTC[.00751756]

08134762                           BAT[9.30969123], USD[0.00]                                                                                                                                       Yes

08134767                           SHIB[206721.08628337], USD[0.00]                                                                                                                                 Yes

08134768                           SOL[0.06728495], USD[0.00], USDT[0.00000043]

08134777                           SOL[0], USD[0.00], USDT[0.00001137]

08134778                           SOL[0], USD[0.33]                                                                                                                                                Yes

08134787                           SHIB[543245.55120725], USD[0.01]                                                                                                                                 Yes

08134789                           BTC[0.00188951]                                                                                                                                                  Yes

08134799                           USD[10.81]                                                                                                                                                       Yes

08134805                           CUSDT[1], USD[0.01]

08134806                           ETH[.00000001], ETHW[93.39864348], SOL[0], USD[0.00], USDT[2.98081507]

08134807                           USD[0.00]

08134811                           BTC[.00567763], DOGE[1], USD[0.18]                                                                                                                               Yes

08134819                           BTC[.13286569], USD[18000.00]

08134824                           AVAX[.39363126], BAT[17.14662716], BRZ[1], DAI[0], DOGE[6], ETH[0.00000147], ETHW[0.00000147], LINK[7.1890547], SHIB[107], SOL[2.27542497], TRX[9], USD[2.81]    Yes

08134830                           BTC[0.00188838]                                                                                                                                                  Yes

08134831                           SOL[.00001917], USD[0.00], USDT[0]

08134833                           BTC[0.00189141], SHIB[977803.67265606], TRX[105.0686117], USD[0.01]                                                                                              Yes

08134856                           CUSDT[2], SOL[.27493224], USD[0.00]                                                                                                                              Yes

08134870                           BTC[.0009]

08134872                           SHIB[666666.66666666], TRX[1], USD[0.00]

08134875                           BTC[.00026004], USD[45.00]

08134877                           USD[10.00]

08134881                           CUSDT[6], DOGE[3], SHIB[1], SOL[.00001215], TRX[1], USD[0.00]                                                                                                    Yes

08134887                           BRZ[1], BTC[0.00000277], CUSDT[26], DOGE[5.00205522], MATIC[0], SOL[0], SUSHI[0], TRX[10], USD[50.43], USDT[0.00122552]

08134892                           BTC[.00191141], CUSDT[1], USD[0.04], USDT[0.00130109]                                                                                                            Yes

08134896                           BRZ[1], CUSDT[2], DOGE[1], SHIB[1], TRX[0.01054301], USD[0.01]                                                                                                   Yes

08134900                           TRX[1], USD[192.16]                                                                                                                                              Yes

08134904                           DOGE[0], SHIB[10437448.65357252]

08134907                           BCH[.80380366], BRZ[1], CUSDT[4], DOGE[7.0167527], KSHIB[18.46742717], SHIB[5], TRX[1], USD[0.00], USDT[0.86319076]                                              Yes

08134909                           BTC[0.00172500]

08134910                           BRZ[1], DOGE[.678], ETH[.000224], ETHW[.000224], GRT[.775], LINK[.0547], MATIC[.32], MKR[.0005102], SHIB[1], SOL[.00024454], UNI[.0826], USD[4407.44], USDT[0]

08134912                           MATIC[4.61135969], USD[43.26]                                                                                                                                    Yes

08134919                           BTC[0.00172272]

08134920                           BTC[0.00172046]

08134923                           BTC[0], CUSDT[2], USD[0.00]

08134924                           CUSDT[1], DOGE[2], LTC[.98884367], MATIC[25.95552458], SUSHI[4.94684443], USD[8.43]

08134926                           BTC[0.00172251]

08134929                           ETH[.13505587], ETHW[.13399067]                                                                                                                                  Yes

08134930                           USD[0.00]                                                                                                                                                        Yes

08134934                           NFT (492107123712433768/Guillermos)[1], USD[1.00]

08134941                           DOGE[28], SOL[2.1978], USD[12.13]
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                                                                                                                                         Customer Claims                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08134943                           CUSDT[249.44705098], DOGE[154.9714151], ETH[.00232261], ETHW[.00229525], KSHIB[479.83282739], SHIB[517231.93299389], TRX[117.02855826], USD[0.00]                 Yes

08134944                           CUSDT[10], DOGE[2], ETH[.01126055], ETHW[.01112375], KSHIB[.00019617], MATIC[25.2350549], SHIB[62525.54519733], SOL[.88875399], TRX[1], USD[0.00]                 Yes

08134945                           USD[40.01]

08134949                           BF_POINT[100], USD[0.09]

08134958                           BTC[0.00223384], USD[234.72]

08134960                           GRT[189.19602527], LTC[5.92441176], MATIC[.00106377], SHIB[792.89294519], SOL[4.95063333]                                                                         Yes

08134961                           CUSDT[7], DOGE[2], MATIC[23.53804274], SHIB[10015154.15809069], USD[0.10]

08134962                           BTC[.00626476], CUSDT[1], USD[0.01]                                                                                                                               Yes

08134969                           BRZ[5.01628704], BTC[.00000054], CUSDT[21], DOGE[10.2624189], ETH[0.00004318], ETHW[4.72924562], GRT[1], MATIC[0.00560376], TRX[7], USD[0.39], USDT[1.07354939]   Yes

08134981                           CUSDT[1], SUSHI[25.97762164], USD[0.00]                                                                                                                           Yes

08134982                           SHIB[1], USD[35.67]                                                                                                                                               Yes

08134985                           BRZ[2], CUSDT[1], DOGE[1], SHIB[1], SOL[56.7165562], TRX[7], USD[0.00]                                                                                            Yes

08134988                           NFT (370473180588913054/Fortune Cookies #1833)[1], NFT (504111329701491670/Fortune Cookies #1924)[1], NFT (525987529322336965/Fortune Cookies #1820)[1], NFT
                                   (526799253420002860/Fortune Cookies #1843)[1]
08135000                           BTC[0.00172745]

08135003                           CUSDT[2], USD[0.00]                                                                                                                                               Yes

08135006                           USD[10.00]

08135007                           LTC[.00980126], USD[20.34]

08135013                           USD[0.00]

08135024                           BTC[0.00172292]

08135025                           CUSDT[499.55422529], DOGE[321.67713905], KSHIB[3291.987271], SHIB[6514550.69401629], TRX[89.31054916], USD[27.25]                                                 Yes

08135029                           CUSDT[4], TRX[1], USD[0.26], USDT[0]                                                                                                                              Yes

08135033                           USD[16.21]                                                                                                                                                        Yes

08135034                           USD[200.01]

08135035                           TRX[48.16743153], USD[0.00]

08135036                           SHIB[1], USD[0.01]                                                                                                                                                Yes

08135042                           NFT (388567418539117654/Fortune Cookies #1814)[1], NFT (436268082414787118/Fortune Cookies #1964)[1]

08135047                           BTC[0.00171959]

08135055                           CUSDT[132.867], TRX[2489.508], USD[247.20]

08135059                           BTC[0.00031032], CUSDT[1], SHIB[1], SOL[0], TRX[1], USD[0.00], USDT[0.00026750]                                                                                   Yes

08135071                           BTC[0.00000386], MATIC[0], SOL[0.00000220], USD[0.04], USDT[.11855442]

08135072                           DOGE[2], SHIB[2], SOL[0.00546783], TRX[1], USD[0.01]                                                                                                              Yes

08135074                           BTC[.00924061], DOGE[1], USD[0.00]                                                                                                                                Yes

08135075                           BTC[.00947695], CUSDT[2], ETH[.08464719], ETHW[.08361509], SOL[.48822657], TRX[2], USD[0.00]                                                                      Yes

08135080                           CUSDT[3], KSHIB[1095.44929146], USD[0.00]

08135081                           USD[0.00]

08135088                           USD[0.00]

08135090                           BTC[.00017282]                                                                                                                                                    Yes

08135092                           BTC[.1643], ETH[1.908901], ETHW[1.908901], USD[36.62]

08135094                           USD[106.73]                                                                                                                                                       Yes

08135103                           USD[1000.07]

08135113                           BAT[1.02308465], CUSDT[1], DOGE[9.21438487], SHIB[20165.0756515], USD[0.00]                                                                                       Yes

08135116                           DOGE[1], SHIB[5], TRX[2], USDT[0]

08135119                           NFT (395116255823354207/Coachella x FTX Weekend 2 #14719)[1]

08135121                           BTC[0.00172355]

08135127                           DOGE[1], USD[27.94]

08135132                           SOL[.00754196], USD[2.05], USDT[.2220804]

08135145                           CUSDT[1130.23406311], USD[0.00]

08135157                           ETHW[9.67347882], GRT[179.31641069], KSHIB[938.72840942], SHIB[1021670.44259116], USD[0.00]                                                                       Yes

08135159                           SHIB[1], USD[0.00]

08135172                           CUSDT[1], DOGE[1], USD[0.00]

08135175                           USD[0.00], USDT[0]

08135178                           SHIB[999000], USD[13.55]

08135186                           BTC[0.00191026]                                                                                                                                                   Yes

08135193                           SHIB[14066364.22309237], USD[0.23], USDT[0]                                                                                                                       Yes

08135203                           BRZ[1], DOGE[462.29808842], USD[0.00]

08135212                           BTC[.00127567], CUSDT[2], DOGE[2], ETH[.00754508], ETHW[.00744932], USD[0.00]                                                                                     Yes

08135213                           BTC[0.00173297]

08135222                           SHIB[137348.45480305], USD[0.00]                                                                                                                                  Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08135230                              SHIB[1], USD[0.01]                                                                                                                                                                       Yes

08135235                              NFT (291679694096947142/Ballpark Bobblers 2022 - ID: 2BDF3B97)[1]

08135245                              SHIB[2], SOL[2.3492968], USD[0.00]                                                                                                                                                       Yes

08135252                              USD[0.01]

08135262                              AVAX[2.16436919], DOGE[3], MATIC[.00114657], SHIB[3], TRX[1], USD[0.01]                                                                                                                  Yes

08135272                              BTC[0.00004495], ETH[.022977], ETHW[.022977], LINK[4.0959], LTC[1.07355577], MATIC[9.94], USD[4.85], USDT[1.450616]

08135277                              USD[0.00]

08135281                              BTC[0.00173257]

08135283                              NFT (452573623825694480/Fortune Cookies #208)[1], SOL[14]

08135287                              CUSDT[1], ETH[.018164], ETHW[.018164], USD[0.00]

08135288                              GRT[137.734], USD[0.44]

08135297                              MATIC[.00058288], SHIB[1], USD[0.00]                                                                                                                                                     Yes

08135303                              USD[20.00]

08135319                              AVAX[0.93692418], BRZ[1], DOGE[49.71165336], ETH[0], ETHW[0.44636349], GBP[0.00], MATIC[16.08558322], SHIB[69], SOL[1.71704435], TRX[3], USD[0.88]                                       Yes

08135324                              AAVE[0], BRZ[3], BTC[0], CUSDT[45.00246581], DOGE[7.00622231], ETH[.0000004], ETHW[.0000004], SHIB[4], TRX[2.76727247], USD[0.00]                                                        Yes

08135330                              NFT (544645496372591780/APEFUEL by Almond Breeze #909)[1], USD[0.00]                                                                                                                     Yes

08135331                              BTC[.00365132], CUSDT[1], USD[0.01]

08135333                              MATIC[9.99], NFT (346758518466784843/The 2974 Collection #2780)[1], NFT (385044772216084112/The 2974 Collection #2332)[1], NFT (406679898254022453/2974 Floyd Norman - OKC 6-0006)[1],
                                      NFT (427762873147269069/Birthday Cake #2780)[1], NFT (477110757957141082/Birthday Cake #2332)[1], NFT (504942087536497560/2974 Floyd Norman - CLE 1-0079)[1], USD[26.01]

08135341                              SOL[.35982], USD[23.91]

08135347                              CUSDT[1], LINK[.00000727], SHIB[1], TRX[1.00000792], USD[23.12]

08135358       Contingent, Disputed   BAT[0.61450972], DOGE[0.34175832], GRT[0], MATIC[0], SHIB[0], SUSHI[0], TRX[0], USD[0.00]

08135363                              CUSDT[2], DOGE[247.3195521], SHIB[5180695.88650859], USD[0.00]                                                                                                                           Yes

08135367                              USD[1.00]

08135368                              CUSDT[1], DOGE[2], MATIC[26.09961162], USD[1.68], USDT[0.00402908]                                                                                                                       Yes

08135372                              ETH[.002], ETHW[.002], SOL[.04], USD[2.74]

08135384                              AAVE[0], BAT[0], BCH[0], BTC[0], CUSDT[0], DOGE[0], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], MKR[0], PAXG[0], SHIB[0], SOL[0], SUSHI[0], TRX[132.38915647], UNI[0], USD[0.00]        Yes

08135407                              BRZ[1], CUSDT[3], SHIB[23412958.23140898], USD[0.00]

08135412                              CUSDT[1], DOGE[2], USD[0.00], USDT[0]                                                                                                                                                    Yes

08135425                              BTC[0], CUSDT[1], USD[0.01]                                                                                                                                                              Yes

08135435                              NFT (392472736017421205/Coachella x FTX Weekend 1 #16397)[1]

08135450                              CUSDT[90.66631125], DOGE[2], SHIB[665483.58473824], TRX[172.49387718], USD[0.00]

08135452                              CUSDT[4], SHIB[1], SOL[.00000001], TRX[1], USD[0.01]

08135454                              CUSDT[1], SOL[2.39188003], USD[0.00]                                                                                                                                                     Yes

08135457                              CUSDT[1], DOGE[1], SHIB[1], TRX[1], USD[0.00]                                                                                                                                            Yes

08135460                              ETH[.00407248], ETHW[.00401776], USD[0.00]                                                                                                                                               Yes

08135464                              BTC[0.00191007]                                                                                                                                                                          Yes

08135470                              CUSDT[2], TRX[.000015], USD[0.96], USDT[0.00149830]                                                                                                                                      Yes

08135478                              CUSDT[1], KSHIB[2265.77289478], USD[0.00]

08135480                              AAVE[0], BAT[2.06005743], ETH[0], ETHW[33.91944817], GRT[2], LINK[0.00039791], NFT (359608873267223758/Magic Eden Pass)[1], SHIB[8.12373805], TRX[3.00702562], USD[8313.54]              Yes

08135492                              DOGE[333.29550059], SHIB[13079799.85310098], USD[0.00]

08135493                              MATIC[.0000008], NFT (322947218917460345/Cyber Frogs Ramen)[1], NFT (323480311193080513/Tommy Gun)[1], NFT (336957595174340845/Frog #2185)[1], NFT (386328506598744070/Golden            Yes
                                      bone pass)[1], NFT (416937782492911895/MagicEden Vaults)[1], NFT (423163920948408146/MagicEden Vaults)[1], NFT (445462709463622918/MagicEden Vaults)[1], NFT
                                      (454717382300344264/Shannon Sharpe's Playbook: Baltimore Ravens vs. Denver Broncos - December 31, 2000 #86)[1], NFT (478195937791370159/MagicEden Vaults)[1], NFT
                                      (550466249398341861/Frog #2182)[1], NFT (556694301597583716/MagicEden Vaults)[1], SHIB[2.35816672], TRX[.00867514], USD[51.45], USDT[0.00001147]
08135495                              DOGE[3], SHIB[1], TRX[4], USD[21098.44], USDT[1.02480529]                                                                                                                                Yes

08135511                              DOGE[.535], MATIC[290], USD[1.17]

08135520                              AVAX[152.46950135], DOGE[3], USD[0.00], USDT[1.02470854]                                                                                                                                 Yes

08135526                              BCH[.00003424], DOGE[1], TRX[1], USD[0.00]                                                                                                                                               Yes

08135528                              CUSDT[2], DOGE[1], NFT (424758782405259264/DOGO-IN-500 #3404)[1], SHIB[2], SOL[.28529167], USD[0.00]                                                                                     Yes

08135532                              AAVE[.00060253], BAT[3.12962812], BRZ[1], CUSDT[1], DOGE[6], SHIB[2], TRX[6], USD[0.00], USDT[3.16783031]                                                                                Yes

08135549                              AAVE[0.40827435], BAT[63.93495740], BRZ[0.00364052], CUSDT[3], DOGE[524.04598149], HKD[0.00], KSHIB[7852.5640013], MATIC[0.00048227], SHIB[10512558.80012836], TRX[2]                    Yes

08135559                              BRZ[1], BTC[.05653187], CUSDT[4], DOGE[3], TRX[3], USD[0.00]

08135560                              BTC[.0001709], CUSDT[1], DOGE[47.82229426], SOL[.04957133], USD[0.00]                                                                                                                    Yes

08135563                              BTC[.00282014], USD[0.00]                                                                                                                                                                Yes

08135564                              CUSDT[1], SUSHI[58.89208445], USD[1.25]

08135565                              BRZ[90.78833786], CUSDT[3], ETH[.00125372], ETHW[.00124004], SOL[.07307432], USD[0.00], USDT[16.11497549]                                                                                Yes

08135574                              BRZ[51.0358368], CUSDT[455.31856909], DOGE[158.44447766], SHIB[4341555.9340207], TRX[160.021797], USD[0.01], USDT[10.11449592]                                                           Yes

08135591                              SOL[1.64109045], USD[1.48]

08135603                              ETH[0.00068711], USD[0.00]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08135608                           USD[0.00], USDT[0.00004451]

08135616                           BRZ[1], DOGE[1], ETHW[.17575566], MATIC[5.20289936], TRX[2], USD[0.17], USDT[2.01661772]

08135618                           DOGE[1], ETH[.007], ETHW[.007], SOL[.16], USD[0.20]

08135636                           CUSDT[1], ETH[0.00589317], ETHW[0.00582477], SHIB[5635.22799113], TRX[0], USD[0.00], YFI[.00000238]                                                                                        Yes

08135637                           CUSDT[10], DOGE[2], TRX[2], USD[0.00], USDT[0.00000001]

08135642                           BTC[.01249226], CUSDT[1], USD[0.00]                                                                                                                                                        Yes

08135643                           USD[500.01]

08135650                           DOGE[81.92324655], MATIC[11.74548115], TRX[325.123938], USD[0.00]

08135655                           USD[0.00]

08135657                           TRX[.000006], USDT[10]

08135661                           SOL[0]

08135676                           SOL[.00000001], USD[10.00]

08135677                           BTC[0], CUSDT[1], USD[0.01]

08135695                           EUR[4.06], USD[0.00]                                                                                                                                                                       Yes

08135698                           ETH[0.00000001], ETHW[0], SOL[0], USD[0.00]

08135701                           BTC[0], CUSDT[1], USD[0.00]

08135704                           BTC[.00193679], CUSDT[1], USD[0.00]                                                                                                                                                        Yes

08135720                           USD[1.00]

08135725                           BTC[0], CUSDT[1], USD[0.00]                                                                                                                                                                Yes

08135726                           ALGO[0], DOGE[2], SHIB[6], TRX[1], USD[0.00]

08135728                           AAVE[.00004881], ALGO[.01383907], AVAX[3.0944165], BAT[669.12724333], BRZ[2], CUSDT[6], ETH[.00002257], ETHW[2.30190731], GRT[588.416581], NEAR[31.54234066], NFT                          Yes
                                   (434703481097629850/SOLYETIS #1379)[1], NFT (574434007158170529/SOLYETIS #8616)[1], SHIB[2381989.85381898], SOL[.00014572], TRX[10737.30760516], UNI[.00025297], USD[352.96]
08135734                           USD[0.01]                                                                                                                                                                                  Yes

08135743                           CUSDT[3], MATIC[8.92258403], USD[0.00]                                                                                                                                                     Yes

08135744                           USDT[2]

08135755                           SOL[.00235072], UNI[.0853], USD[0.13], USDT[0.00453514]

08135770                           USD[500.00]

08135772                           BTC[.0005], SOL[2.558975], USD[1.81]

08135782                           BTC[.0000424], SHIB[2], USD[0.66]

08135790                           CUSDT[2], DOGE[3], USD[0.01]

08135800                           BTC[0.00175665]

08135803                           CUSDT[1], SUSHI[8.20006603], USD[0.01]

08135814                           SOL[2.80875792], TRX[1], USD[0.01]                                                                                                                                                         Yes

08135822                           SHIB[2297700], USD[1.97]

08135835                           AAVE[0], DOGE[0], ETH[0], ETHW[0], KSHIB[0], LINK[0], MATIC[0], SHIB[0], SUSHI[0], USD[0.16], USDT[0]                                                                                      Yes

08135837                           CUSDT[1], DOGE[241.44374387], USD[0.00]                                                                                                                                                    Yes

08135859                           SOL[.25], USD[26.95]

08135862                           CUSDT[1], DOGE[1], ETH[.00000069], ETHW[0.00000069], TRX[1], USD[0.00]                                                                                                                     Yes

08135863                           SOL[.12]

08135893                           AAVE[0], BTC[0], ETH[0], MATIC[109.87521619], SHIB[8.36696073], SOL[0], TRX[0], USD[0.00], USDT[0]

08135907                           SOL[.01], USD[5.57]

08135909                           USDT[2]

08135915                           BTC[.00798879]                                                                                                                                                                             Yes

08135916                           BRZ[1], BTC[0], USD[0.00]

08135934                           DOGE[2630], SHIB[13286700], USD[3.31]

08135937                           BAT[1.69426351], BCH[.00173097], BTC[.00001727], ETH[.00044632], ETHW[.00044632], LINK[.03670985], SOL[.1273582], SUSHI[.11777894], UNI[.04461441], USD[0.19]

08135939                           BTC[0], DOGE[0.00000001], ETH[0.00000001], GRT[400], LINK[0], MATIC[0], NEAR[0], NFT (320365093354327064/3D CATPUNK #5869)[1], NFT (330295229012186405/3D CATPUNK #8624)[1], NFT
                                   (331431239475858194/3D CATPUNK #9790)[1], NFT (333319013174663609/3D CATPUNK #2270)[1], NFT (420052870717309484/Cold & Sunny #134)[1], NFT (432307486130426494/Founding Frens
                                   Lawyer #339)[1], NFT (445008778437342240/Ronin Duckie #54)[1], NFT (489993385220538379/The Hill by FTX #6853)[1], NFT (514083284014710288/3D CATPUNK #5571)[1], NFT
                                   (519453212813468053/Founding Frens Investor #361)[1], NFT (525119210112958552/FTX Crypto Cup 2022 Key #1043)[1], NFT (532629594755264788/The Hill by FTX #6880)[1], NFT
                                   (538611093359192839/Founding Frens Investor #349)[1], SHIB[0], SOL[0.90900000], UNI[0], USD[151.33], USDT[0]
08135954                           BAT[56.48419366], DOGE[2], SOL[1.34421605], USD[0.00]

08135965                           BTC[.002861], DOGE[1], ETH[.00053706], ETHW[.00053706], SHIB[1], USD[0.00]

08135966                           BRZ[5.45826494], CUSDT[4], DOGE[4.73991589], SHIB[3], TRX[2], USD[125.44]                                                                                                                  Yes

08135967                           USDT[1]

08135970                           DOGE[12.52845528], ETH[.06775528], ETHW[.06691415], LINK[.22398003], NFT (290133613082146174/DarkPunk #3258)[1], NFT (294065431501154904/2D SOLDIER #478)[1], NFT                          Yes
                                   (305384149032594180/#4606)[1], NFT (370971096766646234/Gangster Gorillas #6749)[1], NFT (371730137624024656/Gangster Gorillas #2239)[1], NFT (377612149460416680/2D SOLDIER
                                   #1459)[1], NFT (386170597659737849/DarkPunk #4465)[1], NFT (397227470476869342/#6148)[1], NFT (401595770084164073/2D SOLDIER #1578)[1], NFT (410297401521604379/ApexDucks
                                   #769)[1], NFT (418656831389269780/Gangster Gorillas #2327)[1], NFT (423540597475887794/Gangster Gorillas #8802)[1], NFT (461757014743803528/2D SOLDIER #956)[1], NFT
                                   (471137591530979972/3D SOLDIER #3596)[1], NFT (501843847789312146/Gangster Gorillas #2780)[1], NFT (515454007275662910/Gangster Gorillas #7078)[1], NFT (536435179669320738/#0259
                                   Fuzzy)[1], NFT (547006443454001256/Gangster Gorillas #5452)[1], NFT (558030039396357562/Gangster Gorillas #8544)[1], SHIB[487939.21987692], SOL[2.09889036], TRX[13.20741772], USD[0.00]

08135984                           SHIB[487226.40335145], TRX[1], USD[0.00]                                                                                                                                                   Yes
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                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08135999                              ETH[.01080487], ETHW[.01066807], USD[216.14]                                                                                                                                        Yes

08136000                              BTC[0], CUSDT[1], USD[99.40]

08136002                              BRZ[1], CUSDT[4], DOGE[1], TRX[1], USD[0.00], USDT[0]

08136018                              USD[0.00]                                                                                                                                                                           Yes

08136043                              GRT[1], USD[0.00]

08136057                              DOGE[70.46296960], NFT (345524824844185986/Manga Dog)[1], NFT (394297140403716384/Egyptian Gates)[1], NFT (448803229615740467/Manga Dog #2)[1], NFT (471106429095176290/Paintings
                                      #2)[1], NFT (536551221545612125/Greece1)[1], NFT (558003837192374898/Paintings)[1], USD[0.00]
08136058                              USD[37.86]

08136066                              AAVE[.00000932], BAT[1.00632285], BRZ[5.07952967], CUSDT[33], DOGE[127.21004489], ETH[.00000916], ETHW[.00000916], GRT[5.16541245], LTC[.00000919], MATIC[.19008778], NFT           Yes
                                      (321575332137391594/Fancy Frenchies #6701)[1], NFT (468642803566307280/SOLYETIS #6642)[1], SOL[.00243068], TRX[13.07500974], USD[0.00], USDT[1.07698333]
08136086                              ETH[.02593347], ETHW[.02561046]                                                                                                                                                     Yes

08136087                              BRZ[1], CUSDT[1], DOGE[2], SHIB[6286889.33837769], USD[0.42]                                                                                                                        Yes

08136088                              AAVE[2.07893349], BAT[.74354526], DOGE[12.737], GRT[41.17066691], KSHIB[7.59], LTC[0], MATIC[.15668786], SHIB[22904307.39729469], SOL[8.15941818], TRX[0.57746734], USD[1.65],
                                      USDT[3.11065031]
08136095                              SOL[0], WBTC[0]

08136105                              CUSDT[226.67484677], SHIB[1119480.17647289], USD[0.01]

08136113                              USD[10.62]

08136125                              BTC[.00096277], CUSDT[2], ETH[.01303923], ETHW[.01287507], USD[0.00]                                                                                                                Yes

08136126                              DOGE[1], USD[0.00]                                                                                                                                                                  Yes

08136130                              USD[3950.88], USDT[0]

08136134                              DOGE[3], USD[0.00]

08136136                              USD[4.00]

08136148                              USD[44.01]

08136162                              BTC[.00001734], DOGE[4.4471278], USD[0.00]                                                                                                                                          Yes

08136173                              BTC[0], GBP[0.00], GRT[.6016], MATIC[0], SOL[0], USD[0.00], USDT[0]

08136179                              USD[1.00]

08136183                              SHIB[246446.55932342]                                                                                                                                                               Yes

08136189                              CUSDT[2], ETH[.00473997], ETHW[.00473997], SOL[.0898716], USD[0.00]

08136204                              USD[2.36]

08136215                              BTC[.00342423], TRX[1], USD[0.00]

08136216                              SOL[.01396116], USD[0.00]                                                                                                                                                           Yes

08136217                              CUSDT[1], ETH[.03632063], ETHW[0.03586919], USD[0.00]                                                                                                                               Yes

08136222                              USD[0.00]                                                                                                                                                                           Yes

08136232       Contingent, Disputed   USD[0.00], USDT[0]

08136233                              BTC[0], USD[0.00], USDT[0]

08136238                              USD[0.00], USDT[.00397355]

08136243                              CUSDT[9], KSHIB[559.44], USD[0.00]

08136262                              BTC[.0026992], DOGE[1], ETH[1.94594299], ETHW[1.35009351], NEAR[72.9397896], SHIB[8], SOL[34.2916733], TRX[2], USD[0.01]                                                            Yes

08136264                              USD[1.11]                                                                                                                                                                           Yes

08136289                              USD[1.00]

08136298                              SHIB[999715], USD[3.91]

08136315                              BRZ[1], CUSDT[1], ETH[.6377147], ETHW[.63744698], SOL[41.25456516], USD[0.00], USDT[1.07488939]                                                                                     Yes

08136318                              BRZ[1], CUSDT[1], SOL[0], USD[0.03]                                                                                                                                                 Yes

08136336                              DOGE[1], LTC[.24819311], SHIB[469.08148804], SOL[.24567595], USD[0.00]                                                                                                              Yes

08136339                              USD[0.00]

08136342                              USDT[3]

08136366                              NFT (437375432407415684/Doak Walker's Playbook: Texas vs. SMU - November 1, 1947 #70)[1], USD[16.21]                                                                                Yes

08136371                              USDT[1]

08136378                              CUSDT[1], SHIB[5675368.89897843], USD[0.00]

08136379                              BTC[0], SOL[0]

08136381                              USD[20.00]

08136382                              BRZ[1], SHIB[8196805.18675409], USD[197.50]                                                                                                                                         Yes

08136387                              CUSDT[0], ETH[0], MATIC[0], NFT (356927220823623223/SolBunnies #818)[1], NFT (446415306608291653/Solana Squirrel #340)[1], NFT (447965547458417390/ApexDucks #5024)[1], SOL[0],
                                      USD[0.00]
08136390                              SOL[.01360054], USD[0.00]

08136395                              USD[45.01]

08136398                              CUSDT[1], DOGE[3], ETHW[.34500419], NFT (459599920943072155/The Hill by FTX #298)[1], SHIB[1], TRX[1], USD[555.94]                                                                  Yes

08136405                              BAT[0], ETH[0.15161468], ETHW[0.15161468], TRX[0]

08136407                              USD[3.64]

08136408                              SHIB[6050718.32927126]                                                                                                                                                              Yes

08136413                              USD[2.00]
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                                                                                                                                            Customer Claims                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08136414                              CUSDT[1], MATIC[.00026022], USD[0.00], USDT[21.48750535]                                                                                                                   Yes

08136422                              USD[1.54]

08136425                              DOGE[1], USD[1.00]

08136436                              BRZ[12.10181807], BTC[.00104001], CUSDT[3], DOGE[77.82512252], ETH[.00307494], ETHW[.0030339], EUR[1.89], KSHIB[328.05603141], MATIC[4.48447698], SHIB[825136.88481334],   Yes
                                      SUSHI[.61279191], TRX[53.90313402], USD[16.02]
08136437                              USDT[1]

08136439                              NFT (388733157295961201/Romeo #1328)[1], NFT (452339020809966578/Juliet #638)[1], NFT (471296826145941381/Entrance Voucher #4351)[1]

08136448                              ETH[.00161637], ETHW[.00160269], USD[0.00], USDT[5.48364528]                                                                                                               Yes

08136449                              USDT[2]

08136467                              BTC[.00036933], CUSDT[1], USD[0.01]                                                                                                                                        Yes

08136475                              SOL[.00000001], USD[0.00], USDT[1.00045669]                                                                                                                                Yes

08136482                              BTC[.00025708], USD[0.00]                                                                                                                                                  Yes

08136499                              SOL[.48685086], TRX[1], USD[0.00]                                                                                                                                          Yes

08136507                              USD[2.00]

08136513       Contingent, Disputed   ETH[0], SOL[0]

08136517                              USD[1.00]

08136533                              USDT[6]

08136537                              BRZ[1.02166222], DOGE[1], SHIB[1], TRX[1], USD[0.00], USDT[0]                                                                                                              Yes

08136543                              USDT[2]

08136547                              ETH[.00000001], SOL[0], USD[0.00]

08136550                              USD[2.00]

08136557                              USD[0.96]

08136560                              NEAR[0], SOL[0], TRX[.011191], USD[0.00], USDT[.006012]

08136565                              DOGE[8.72461295], ETH[.00118667], ETHW[.00118667], SOL[.0362427], TRX[1], USD[0.00]

08136567                              CUSDT[1], SOL[0]                                                                                                                                                           Yes

08136568                              SOL[0]

08136579                              PAXG[0], USD[0.00]                                                                                                                                                         Yes

08136593                              USDT[3]

08136606                              DOGE[2], USD[0.01]                                                                                                                                                         Yes

08136607                              BTC[.0300054], TRX[1], USD[31.00]                                                                                                                                          Yes

08136608                              USDT[1]

08136621                              USDT[2]

08136628                              USDT[3]

08136634                              CUSDT[2], EUR[0.00], TRX[1]

08136642                              USDT[2.67534419]

08136647                              DOGE[0], ETH[0], SOL[0]

08136657                              USD[5.00]

08136664                              BTC[.0004325], CUSDT[489.26450116], USD[0.00]                                                                                                                              Yes

08136665                              USD[2.00]

08136668                              SHIB[.00002513], USD[0.01]

08136671                              USD[5.40]                                                                                                                                                                  Yes

08136676                              USDT[2]

08136682                              ETH[.00090266], ETHW[.00090266]

08136686                              BRZ[1], CUSDT[17], DOGE[3], SHIB[1], USD[0.01]                                                                                                                             Yes

08136703                              TRX[.000002]

08136706                              CUSDT[4], DOGE[2], NEAR[.00003083], SHIB[2], SOL[0], USD[0.00]                                                                                                             Yes

08136730                              MATIC[4.32924692], USD[0.00]                                                                                                                                               Yes

08136731                              USD[0.00]

08136733                              BTC[.0011177]

08136749                              TRX[.000777]

08136752                              CUSDT[2], TRX[516.01193829], USD[0.00]                                                                                                                                     Yes

08136758                              HKD[769.93], USD[0.00], USDT[0]

08136784                              CUSDT[1], NFT (346738840613740979/Tim Brown's Playbook: Kansas City Chiefs vs. Oakland Raiders - December 9, 2001 #55)[1], SHIB[2385312.44196912], USD[0.00]               Yes

08136793                              AUD[0.00], CAD[0.00]

08136799                              BAT[1.0123217], DOGE[1], ETH[.12505213], ETHW[.12390521], USD[0.08]                                                                                                        Yes

08136803                              CUSDT[.00000992], NFT (528353257766014065/ApexDucks Halloween #2266)[1], SHIB[1], SOL[.046], USD[0.00], USDT[0.00000001]

08136806                              BRZ[2], BTC[0], DOGE[4], ETH[0], ETHW[0], GRT[1], SOL[0.00001296], TRX[4], USD[0.00], USDT[1.00407222]                                                                     Yes

08136807                              USD[1.00]

08136815                              CUSDT[0], GRT[0], SHIB[0], USD[0.00]                                                                                                                                       Yes
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08136816                              BRZ[477.84723592], BTC[0], ETH[0], SHIB[6083629.43603859], SOL[0], USD[2681.19], YFI[0]                                                                                   Yes

08136821                              LINK[47.04467385]                                                                                                                                                         Yes

08136840                              BAT[1], BRZ[1], CUSDT[9], DOGE[4], ETHW[.46565342], GRT[1], SOL[.00000001], TRX[4], USD[0.00], USDT[0.00000045]                                                           Yes

08136858                              ETH[.011435], ETHW[.011435], SOL[.182]

08136862                              USDT[3]

08136866                              ETH[0], SOL[0], SUSHI[0], USD[1.96]

08136884                              SOL[.001]

08136899                              BTC[.00110114], DOGE[2], ETH[.00500413], ETHW[.00493573], LINK[.49627272], SOL[.07427182], USD[9.45]                                                                      Yes

08136924                              NFT (373020383166633371/Sporadic Shrema)[1], NFT (491231073112231183/Rock Bottom)[1]

08136928                              USDT[4]

08136930                              BAT[889.71011037], BTC[0.06137565], CUSDT[1006.67717294], DOGE[101.68166325], ETH[.70708988], ETHW[.70679277], EUR[0.00], GRT[1], LTC[1.37529446], MATIC[155.77769124],   Yes
                                      MKR[.12007227], SHIB[8], SOL[3.59198237], TRX[6], USD[21.88], USDT[1.074547], YFI[.01094983]
08136938       Contingent, Disputed   USD[10.09]

08136939                              SOL[16.64693526]                                                                                                                                                          Yes

08136940                              BRZ[30.18194786], ETH[.00047797], ETHW[.00047797], SOL[.09633518], UNI[.24623068], USD[3.24]                                                                              Yes

08136942                              BAT[0], DOGE[82.89419309], ETH[0], KSHIB[0], LTC[0], SHIB[487472.07545570], SOL[0], SUSHI[0], TRX[1], UNI[0], USD[0.00], USDT[0.00000001], YFI[0]

08136952                              ETHW[.99905], USD[90.00]

08136964                              NFT (298601707146226072/LUFO, 994)[1], NFT (299429936974982187/LUFO, 993)[1], NFT (303408642807273001/LUFO, 1000)[1], NFT (322212345006085818/LUFO, 996)[1], NFT
                                      (365163055709573856/LUFO, 990)[1], NFT (370646078889813409/LUFO, 998)[1], NFT (390023404427133213/I'm not Fool)[1], NFT (391187260557879895/LUFO, 997)[1], NFT
                                      (472038745367448056/LUFO, 995)[1], NFT (474250707485027429/LUFO, 999)[1], NFT (486124306270092519/LUFO, 992)[1], NFT (566362812323783186/LUFO, 991)[1], SOL[.22]
08136967                              BTC[.04950119], USD[0.00]

08136978                              USD[0.01]                                                                                                                                                                 Yes

08136983                              USD[0.00]

08137000                              USD[0.00], USDT[0]                                                                                                                                                        Yes

08137003                              USDT[30]

08137005                              SOL[.05743]

08137007                              DOGE[1], ETH[.0070171], ETHW[.0070171], USD[5.01]

08137016                              USD[20.00]

08137020                              USD[166.17]

08137023                              SOL[.58]

08137025                              USD[0.26]

08137030                              BTC[.0004995], LINK[.999], SHIB[99900], SOL[.2997], USD[1.34]

08137053                              SOL[.00000088]                                                                                                                                                            Yes

08137056                              USD[3.00]

08137057                              SOL[.00000274], USD[0.00]

08137064                              CUSDT[1], MATIC[10.83736405], USD[5.45]                                                                                                                                   Yes

08137066                              MATIC[4.97451898], TRX[1], USD[0.00]

08137067                              USDT[33]

08137073                              USD[0.00]                                                                                                                                                                 Yes

08137081                              BRZ[1], CUSDT[6], DOGE[3], GRT[1], SHIB[1], SOL[0], USD[0.00], USDT[0]                                                                                                    Yes

08137083                              USD[0.00], USDT[0]

08137084                              USDT[30]

08137087                              USD[3.00]

08137098                              BRZ[2], CUSDT[12], DOGE[3637.18297589], SHIB[1400888.78871934], TRX[2], USD[0.00]

08137120                              USDT[30]

08137127                              USD[2.83]

08137132                              BTC[.01072182], ETH[.14166731], ETHW[.14166731], SOL[1.07694004]

08137146                              ETH[.00235332], ETHW[.00235332], USD[0.00]

08137149                              CUSDT[1], ETH[0]

08137152                              USDT[1]

08137157                              USD[0.00]

08137161                              USD[4000.00]

08137176                              USDT[3]

08137178                              USD[0.00]

08137179                              AAVE[.36963], NFT (534293727586180460/The Hill by FTX #3455)[1], USD[6.87]

08137180                              ETH[.00069206], ETHW[.00069206], USD[0.00]

08137182                              BTC[.00009525], MATIC[0], USD[0.00]                                                                                                                                       Yes

08137188                              ETH[2.7761009], ETHW[2.7761009], SOL[85.70629417], USD[72.22]

08137196                              CUSDT[2], DOGE[.59383331], USD[15.60]                                                                                                                                     Yes

08137206                              USD[5.00]
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              Contingent,
Customer Code Unliquidated, or       Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08137207      Contingent, Disputed   USD[0.00]

08137239                             SOL[.11821341], USD[0.00]

08137248                             NFT (355796737289101833/Call It #79)[1]

08137254                             DOGE[1337.661], SHIB[4300000], USD[3.45]

08137257                             USD[50.01]

08137266                             USD[0.00]

08137277                             SOL[0], USD[0.00]

08137281                             USDT[34]

08137294                             BTC[.01053767], USD[0.00]

08137298                             BTC[0.00170516]

08137305                             LTC[0], SOL[0], USD[0.00], USDT[0.00000001]

08137308                             USDT[2]

08137326                             USD[16.21]                                                                                                                                                                       Yes

08137338                             SOL[.04415845], USD[0.00]

08137351                             USDT[32]

08137355                             USD[0.14]

08137364                             CUSDT[3], DAI[5.48364324], DOGE[15.68769223], SOL[.02287289], SUSHI[1.21251115], USD[0.00]                                                                                       Yes

08137365                             DOGE[1], ETH[.05290335], ETHW[.05290335], USD[0.00]

08137375                             AVAX[4.19002903], NFT (343381770711002404/Imola Ticket Stub #2025)[1], USD[0.00]                                                                                                 Yes

08137410                             USDT[30]

08137435                             SHIB[1100000], USD[2.50]

08137436                             BTC[.00032683], SOL[.25977], TRX[1.998], USD[0.02]

08137438                             CUSDT[1], ETH[0.00000043], ETHW[0.00000043], SHIB[26.92237782], USD[0.00]                                                                                                        Yes

08137440                             BTC[0.00897180], ETH[.082], ETHW[.082], SHIB[10589400], USD[0.00]

08137441                             USD[612.06]

08137454                             BF_POINT[200]                                                                                                                                                                    Yes

08137455                             CUSDT[999.02603367], TRX[1.92273674], USD[0.01]                                                                                                                                  Yes

08137462                             BTC[.00000001]

08137472                             NFT (399672583267545689/GSW Western Conference Semifinals Commemorative Ticket #612)[1], NFT (453966064954050960/GSW Western Conference Finals Commemorative Banner #2218)[1],
                                     NFT (511431060464493996/GSW 75 Anniversary Diamond #325)[1], NFT (535539206006507403/GSW Western Conference Finals Commemorative Banner #2217)[1], NFT
                                     (558464645617218317/GSW Championship Commemorative Ring)[1], USD[500.01]
08137474                             BTC[0], DOGE[2], ETH[.00000016], ETHW[.00000016], USD[0.00]                                                                                                                      Yes

08137496                             BTC[0], ETH[0], ETHW[0], NFT (365352084518154475/Humpty Dumpty #1416)[1], SOL[0], USD[202.02], USDT[0]

08137513                             ETH[.00197215], ETHW[.00194479], USD[7.21]                                                                                                                                       Yes

08137522                             CUSDT[2449.39669191], DOGE[1], USD[0.00]                                                                                                                                         Yes

08137531                             USD[3.24]                                                                                                                                                                        Yes

08137535                             USD[0.00]

08137543                             CUSDT[1], SHIB[2386987.43749248], USD[0.00]                                                                                                                                      Yes

08137556                             BTC[.00146211], CUSDT[2], ETH[.0046747], ETHW[.0046747], USD[0.00]

08137558                             SOL[12.01446065], TRX[1], USD[0.00]                                                                                                                                              Yes

08137559                             BTC[.00004], USD[100.00]

08137566                             BTC[.00034141], CUSDT[4], ETH[.00467032], ETHW[.00467032], LINK[.7181048], SOL[.08888714], SUSHI[2.34559867], TRX[1], USD[0.00]

08137569                             USD[0.17]

08137573                             CUSDT[1], ETH[.02348758], ETHW[.02348758], USD[0.00]

08137575                             BRZ[1], BTC[.02726435], DOGE[2], ETH[1.05926447], ETHW[1.05881965], SHIB[2], USD[0.00]                                                                                           Yes

08137591                             USD[0.00], USDT[47.38183682]

08137606                             BAT[2509.7035581], BRZ[3], CUSDT[7], DOGE[2], LINK[16.43690308], SOL[12.73599114], SUSHI[1.06914371], TRX[2], USD[2162.75]                                                       Yes

08137622                             USD[0.01]

08137623                             BTC[0], ETH[0], ETHW[.00592092], USD[0.00]

08137625                             ETH[.0030624], ETHW[.00302136], TRX[1], USD[0.00]                                                                                                                                Yes

08137633                             SOL[9.29566453], USD[392.73]

08137652                             BTC[0.00171906]

08137655                             BAT[3.76358421], USD[16.00]

08137662                             CUSDT[2], DOGE[1], SHIB[2692988.38397311], USD[10.81]                                                                                                                            Yes

08137671                             USD[0.57]

08137674                             USD[2.00]

08137675                             CUSDT[2], DOGE[5], TRX[1], USD[0.00], USDT[0.00177350]                                                                                                                           Yes

08137678                             DOGE[1], SHIB[1], SOL[.00003988], USD[48.78]

08137679                             ETH[.116883], ETHW[.116883], USD[5.61]
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08137684                              ETH[0], TRX[1], USD[0.00], USDT[1.07433119]                                                                                                                                             Yes

08137698                              USD[0.00]

08137703                              USD[1.00]

08137708                              ETH[0], TRX[.01546046], USD[0.00], USDT[0]                                                                                                                                              Yes

08137720                              BRZ[3], CUSDT[2], DOGE[4], GRT[1.00001826], TRX[2], USD[0.00], USDT[2.11433548]                                                                                                         Yes

08137748                              CUSDT[1], ETH[.00489584], ETHW[.00484112], SHIB[27.29111802], USD[0.00]                                                                                                                 Yes

08137767                              CUSDT[2], USD[0.01]

08137768                              CUSDT[7], SHIB[3], TRX[1], USD[0.00]

08137771                              USD[0.00]

08137773                              USD[0.02]

08137790                              USD[0.00], USDT[0]

08137800                              NFT (375375236968095732/Crypto Skull Avatar #9)[1], NFT (412229141915232763/Crypto Avatar Art #52)[1], NFT (446919038694226634/Vincent van Gogh - 19)[1], USD[41.89]

08137801                              CUSDT[3], DOGE[2], MATIC[.00015117], SHIB[1220974.80525707], USD[0.00]                                                                                                                  Yes

08137807                              NFT (304394775910723557/Coachella x FTX Weekend 1 #29018)[1], NFT (547670327814494424/Exiled Alien #898)[1]

08137818                              BTC[.00211154], CUSDT[6], ETH[.00625897], ETHW[.00617689], GRT[31.54449045], LINK[1.07746579], MATIC[7.5526856], SHIB[723939.33670103], SOL[.53000569], TRX[233.90177624], USD[1.11] Yes

08137828                              BRZ[389.32916318], CUSDT[1227.52668985], DOGE[1], KSHIB[91.16], SHIB[5], TRX[.43793954], UNI[1.70417899], USD[11.48]                                                                    Yes

08137835                              USD[0.03]

08137836                              ALGO[0], ETH[0], ETHW[0], NFT (336114936180660265/Animal Gang #257)[1], NFT (364905799490380068/Barcelona Ticket Stub #2356)[1], NFT (413533330483653242/Imola Ticket Stub #1456)[1],
                                      NFT (529370505055462366/The Tower #343-17)[1], SOL[0], USD[0.00], USDT[0]
08137837                              BTC[0], ETH[0], SHIB[1], SOL[.00000001], USD[0.00], USDT[0.00006241]                                                                                                                    Yes

08137863                              ETH[.00000561], ETHW[0.00000561], USD[0.00]

08137864                              BTC[0], USD[0.00]

08137865                              CUSDT[1], SHIB[1], TRX[3], USD[0.00]

08137876                              USD[0.53]

08137881                              CUSDT[2], DOGE[480.7662084], SOL[3.19388529], TRX[774.05190121], USD[8.81]                                                                                                              Yes

08137885                              SOL[4.37782], USD[1.36]

08137894                              USD[10.00]

08137901                              USDT[1.1751444]

08137903                              SOL[.00330101], USD[0.00]

08137904                              BRZ[1], ETH[.09317315], ETHW[.09212648], USD[0.00]                                                                                                                                      Yes

08137905                              NFT (356582948095920488/Beasts #845)[1], NFT (445988181781972666/Night Light #576)[1]

08137912                              USDT[0]

08137919                              USD[5.00]

08137922                              BRZ[1], CUSDT[1], GRT[2], TRX[1], USD[0.01], USDT[0.04087672]                                                                                                                           Yes

08137923                              BRZ[1], DOGE[1345.88379868], SHIB[4], USD[0.00]

08137934                              USD[1220.00]

08137945                              CUSDT[1], ETH[.02522787], ETHW[.02491323], USD[0.00]                                                                                                                                    Yes

08137958                              USD[0.00], USDT[0]

08137963                              SHIB[143403.4416826], USD[0.00]

08137978                              BTC[.0185771], ETH[1.102896], ETHW[1.102896], LINK[39.1608], MATIC[509.49], SHIB[12987000], SOL[5.16483], USD[43.23]

08137982                              SOL[.02137815], USD[0.00]                                                                                                                                                               Yes

08137985                              BTC[.00175195], CUSDT[1], USD[0.00]

08137987                              BTC[.0043], USD[4.71]

08137991                              ETH[.00000167], ETHW[.00000167], USD[0.00]                                                                                                                                              Yes

08138009                              BRZ[1], CUSDT[3], DOGE[1], MATIC[44.05351186], USD[0.00]

08138014                              ETHW[.00000247], USD[0.00], USDT[0]                                                                                                                                                     Yes

08138017                              DOGE[86.58135968], USD[0.00], USDT[0]                                                                                                                                                   Yes

08138019                              CUSDT[3], KSHIB[5310.83380887], SHIB[1324854.26603073], SUSHI[39.399332], USD[5.01]

08138023                              BRZ[1], TRX[1], USD[0.00]

08138026                              BTC[.02428361], GRT[134.17390535], SHIB[6644986.17329947]                                                                                                                               Yes

08138028                              BCH[.00017378], BTC[.00002797], DOGE[.26502067], ETH[.00002682], ETHW[.00002682], LTC[.00019148], SOL[.00018618], USD[0.06]                                                             Yes

08138030                              SOL[0], USD[0.00]

08138032                              AVAX[.00011145], BF_POINT[300], BTC[.0000022], DOGE[1], USD[0.00]

08138034                              USDT[0]

08138039                              CUSDT[1], DOGE[1], SHIB[1], USD[0.58]

08138043                              BTC[.00000001], CUSDT[4], DOGE[495.40650251], TRX[2.86792921], USD[0.00]                                                                                                                Yes

08138068                              ETH[.9991], ETHW[.9991], SOL[7.9928], USD[120.00]

08138073                              BTC[.00299371], ETH[.02701611], ETHW[.02701611], USD[0.01]

08138078       Contingent, Disputed   USD[0.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08138079                              MATIC[.00000001]                                                                                                                                                                             Yes

08138103                              BTC[.00038753], ETH[.00596552], ETHW[.00589712], SHIB[2], USD[0.00]                                                                                                                          Yes

08138118                              CUSDT[4], DOGE[2], KSHIB[0], SOL[0], TRX[0.00405020], USD[0.00]                                                                                                                              Yes

08138121                              CUSDT[5], TRX[1], USD[45.08]

08138127                              SOL[.04], USD[1.08]

08138134                              ETH[.11269783], ETHW[.11158565], TRX[1], USD[0.00]                                                                                                                                           Yes

08138136                              USD[0.00]                                                                                                                                                                                    Yes

08138140                              USD[0.01]

08138143                              USD[2801.20]                                                                                                                                                                                 Yes

08138148                              KSHIB[253.33246186], USD[0.00]

08138149                              LINK[4.5954], NFT (298255636481650214/Metacognition-untitled0)[1], NFT (385697394634418551/Metacognition -untitled #2)[1], NFT (459039403301181344/Metacognition-untitled01010101010)[1],
                                      NFT (463747435855608294/Metacognition-untited010)[1], NFT (499765000688769490/Metacognition-untited0101010)[1], NFT (548100971124033490/Metacognition -untitled)[1], SOL[.014], USD[0.00],
                                      USDT[.84]
08138155                              BTC[.002989], ETH[.05365344], ETHW[.05365344], USD[0.00]

08138168                              CUSDT[2], SUSHI[7.76233022], USD[0.00]

08138184                              AUD[2008.35], BTC[.667332], USD[0.01]

08138188                              USD[20.00]

08138189                              BTC[0.00174086]

08138193                              SUSHI[.4935], USD[0.01], USDT[0.00009584]

08138206                              ALGO[.01419444], AVAX[.004335], BTC[.00926411], DOGE[6.91378467], ETH[.02054662], ETHW[.02214928], LINK[1.12504538], LTC[.26401139], SOL[.00026868], SUSHI[.00228336],                       Yes
                                      USDT[58.36033188]
08138210                              ETH[0], USD[0.00]

08138211                              BRZ[1], BTC[.00000051], CUSDT[6], DOGE[4], SHIB[9], TRX[2], USD[0.01]                                                                                                                        Yes

08138215                              USD[0.00]

08138221                              USD[76.40]

08138224                              DOGE[1.95928916], SHIB[1], TRX[53.14721598], USD[18.01]                                                                                                                                      Yes

08138248                              USD[22.80]

08138249       Contingent, Disputed   LTC[0], SOL[0]

08138261                              BTC[.00259844], CUSDT[3], DOGE[1], ETH[.0108553], ETHW[.0107185], LTC[.07377301], MATIC[20.94224657], SHIB[10], SOL[.71683015], TRX[1], USD[2.13], YFI[.00071903]                            Yes

08138262                              BAT[1.01235869], DOGE[6971.54698466], USD[0.00]                                                                                                                                              Yes

08138286                              BTC[.00095326], CUSDT[1], USD[54.04]                                                                                                                                                         Yes

08138289                              SOL[.009541], USD[0.01]

08138290                              AVAX[2.43574933], BTC[0], ETH[0], MATIC[273.55269725], SOL[9.79071961], USD[0.00]

08138296                              BTC[0], USD[3.58]

08138298                              USD[2.16]

08138321                              CUSDT[2], KSHIB[5601.45386855], SHIB[2272210.86116791], USD[150.00]

08138322                              BRZ[2], BTC[.00000009], CUSDT[3], GRT[2.00154394], SHIB[1], SOL[.00013704], TRX[2], USD[903.75], USDT[0.00000949]                                                                            Yes

08138337                              SOL[0]

08138338                              NFT (333465319781010695/Entrance Voucher #4359)[1], SHIB[475.93998063], USD[0.00]                                                                                                            Yes

08138345                              SOL[.5]

08138356                              CUSDT[2], SHIB[607163.26118925], SOL[.24070941], USD[0.00]                                                                                                                                   Yes

08138371                              USD[10.00]

08138372                              BAT[10520.68224537], BF_POINT[300]                                                                                                                                                           Yes

08138375                              NFT (451455819185632163/CatFamilya #56)[1], SHIB[2649981.23379915], USD[18.92]                                                                                                               Yes

08138377                              BCH[.00000004], BTC[.00005213], DOGE[14.30097301], MKR[.00000001], SOL[.01237406], USD[2.51]                                                                                                 Yes

08138381                              SOL[.3144]

08138397                              SOL[1.29868], USD[1.24]

08138398                              ETHW[1.3185995], USD[47.52]

08138404                              USD[1.89]

08138412                              BTC[.0011], ETH[0.01214116], ETHW[0.01214116], MATIC[0], SHIB[14215970.95620682], SUSHI[20.17096918], TRX[0], USD[0.81]

08138416                              BTC[0.00000064], SOL[0], USD[0.00], USDT[.55]

08138425                              CUSDT[678.80474829], KSHIB[427.93685934], SHIB[1138952.16400911], TRX[180.26043667], USD[1.00]

08138432                              USD[161.65]                                                                                                                                                                                  Yes

08138433                              SHIB[1], SOL[5.33609964], TRX[1], USD[0.00]                                                                                                                                                  Yes

08138439                              CUSDT[1], TRX[1], USD[0.01]                                                                                                                                                                  Yes

08138447                              BTC[.02955509], DOGE[1], ETH[.42385541], SHIB[3], TRX[4], USD[0.00]

08138448                              USD[1400.00], USDT[0]

08138458                              SHIB[58411401.11211933], USD[77.81], USDT[0]

08138462                              BTC[0], DOGE[2.05696449], ETHW[.08044823], GRT[2], SHIB[7], SOL[339.32256370], TRX[3], USD[0.00]                                                                                             Yes

08138463                              USD[143.05]                                                                                                                                                                                  Yes
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                                                                                                                                            Customer Claims                                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08138466                              USD[26.08]

08138471       Contingent, Disputed   USD[0.00]

08138472                              USD[54.23]

08138473                              BTC[.0126873], USD[9.38]

08138474                              USD[4.00]

08138476       Contingent, Disputed   ETH[.00000001], ETHW[0]

08138482                              USD[0.00], USDT[.00046234]

08138500                              USD[1.10]

08138508                              BTC[.54071495], DOGE[498.501], ETH[0.08200450], ETHW[0.08200450], SOL[.7], USD[4632.95], USDT[2.64140294]

08138513       Contingent, Disputed   ETH[0.00000001], ETHW[0.00000001]

08138523                              USD[20148.10]

08138526                              NFT (289244633960771158/Sweet Bunnies Series #56)[1], NFT (290758636447210416/Sweet Bunnies Series #9)[1], NFT (291028130654003474/Sweet Bunnies Series #20)[1], NFT
                                      (299203685981639692/Sweet Bunnies Series #12)[1], NFT (303278781333679354/Sweet Bunnies Series #14)[1], NFT (303670270923833820/Sweet Bunnies Series #58)[1], NFT
                                      (315147108817670295/Sweet Bunnies Series #68)[1], NFT (324892692110174105/Sweet Bunnies Series #73)[1], NFT (331907391119263682/Sweet Bunnies Series #5)[1], NFT
                                      (337243371518663925/Sweet Bunnies Series #34)[1], NFT (340014852243757114/Sweet Bunnies Series #76)[1], NFT (349447484722396216/Sweet Bunnies Series #11)[1], NFT
                                      (352119103479587737/Sweet Bunnies Series #77)[1], NFT (354595340274985636/Sweet Bunnies Series #29)[1], NFT (357675478990700276/Sweet Bunnies Series #19)[1], NFT
                                      (357864644208907997/Sweet Bunnies Series #3)[1], NFT (360011005210050579/Sweet Bunnies Series)[1], NFT (360092568027408309/Sweet Bunnies Series #48)[1], NFT
                                      (361050099070953383/Sweet Bunnies Series #6)[1], NFT (362580346065081564/Sweet Bunnies Series #46)[1], NFT (384002806870113309/Sweet Bunnies Series #81)[1], NFT
                                      (385142997094710599/Sweet Bunnies Series #60)[1], NFT (386504601138846232/Sweet Bunnies Series #23)[1], NFT (391070110508432427/Sweet Bunnies Series #26)[1], NFT
                                      (392541528843815858/Sweet Bunnies Series #8)[1], NFT (393963253076296596/Sweet Bunnies Series #71)[1], NFT (399071271398594785/Sweet Bunnies Series #35)[1], NFT
                                      (399422427989338232/Sweet Bunnies Series #52)[1], NFT (402922994251198985/Sweet Bunnies Series #54)[1], NFT (403573346475807438/Sweet Bunnies Series #22)[1], NFT
                                      (404136149719554763/Sweet Bunnies Series #27)[1], NFT (407401047448476775/Sweet Bunnies Series #24)[1], NFT (407550789884202845/Sweet Bunnies Series #38)[1], NFT
                                      (412228248719227184/Sweet Bunnies Series #36)[1], NFT (414502823703876840/Sweet Bunnies Series #13)[1], NFT (417200007158347264/Sweet Bunnies Series #37)[1], NFT
                                      (425394278001706176/Sweet Bunnies Series #7)[1], NFT (426815930696833437/Sweet Bunnies Series #50)[1], NFT (440501437066143603/Sweet Bunnies Series #69)[1], NFT
                                      (440643619213049345/Sweet Bunnies Series #47)[1], NFT (444037180924932284/Sweet Bunnies Series #17)[1], NFT (445072844532549385/Sweet Bunnies Series #33)[1], NFT
                                      (445235861752571303/Sweet Bunnies Series #80)[1], NFT (450222414143062702/Sweet Bunnies Series #62)[1], NFT (450846186579397811/Sweet Bunnies Series #74)[1], NFT
                                      (457530420848256998/Sweet Bunnies Series #32)[1], NFT (459870338794879006/Sweet Bunnies Series #57)[1], NFT (460933092140259405/Sweet Bunnies Series #70)[1], NFT
                                      (462224733224933439/Sweet Bunnies Series #63)[1], NFT (463367764274635908/Sweet Bunnies Series #45)[1], NFT (463406743202873158/Sweet Bunnies Series #41)[1], NFT
                                      (464597436049086054/Sweet Bunnies Series #21)[1], NFT (468386824506375748/Sweet Bunnies Series #16)[1], NFT (469897734730925183/Sweet Bunnies Series #72)[1], NFT
                                      (471885709645894509/Sweet Bunnies Series #79)[1], NFT (472275182274323751/Sweet Bunnies Series #55)[1], NFT (472468018408111239/Sweet Bunnies Series #4)[1], NFT
                                      (476097696704608617/Sweet Bunnies Series #67)[1], NFT (481618517543192603/Sweet Bunnies Series #82)[1], NFT (490007519580048269/Sweet Bunnies Series #84)[1], NFT
                                      (494995392951094182/Sweet Bunnies Series #42)[1], NFT (507807177632405863/Sweet Bunnies Series #43)[1], NFT (510967185268657537/Sweet Bunnies Series #25)[1], NFT
                                      (514782705574011232/Sweet Bunnies Series #65)[1], NFT (517272016032554782/Sweet Bunnies Series #59)[1], NFT (521013600259440011/Sweet Bunnies Series #40)[1], NFT
                                      (521275220843756830/Sweet Bunnies Series #64)[1], NFT (528842908346963997/Sweet Bunnies Series #51)[1], NFT (530031836319174647/Sweet Bunnies Series #15)[1], NFT
                                      (534786737430360942/Sweet Bunnies Series #61)[1], NFT (538216410755813841/Sweet Bunnies Series #66)[1], NFT (543519375484419440/Sweet Bunnies Series #31)[1], NFT
                                      (543739989752997977/SweetBunnies #1)[1], NFT (545773038564185118/Sweet Bunnies Series #39)[1], NFT (546426948093231972/Sweet Bunnies Series #53)[1], NFT (547129619161010978/Sweet
                                      Bunnies Series #18)[1], NFT (548051506138357034/Sweet Bunnies Series #49)[1], NFT (552194586119399835/Sweet Bunnies Series #30)[1], NFT (556502777647592613/Sweet Bunnies Series #78)[1],
                                      NFT (557683107669856351/Sweet Bunnies Series #44)[1], NFT (575574979582876810/Sweet Bunnies Series #75)[1], SOL[.637], USD[0.18]

08138528                              ETH[0], SOL[0], USD[12818.35], USDT[0]                                                                                                                                                      Yes

08138533                              BAT[1], BRZ[1], TRX[1], USD[0.00], USDT[0]

08138535                              USD[1103.76]

08138543                              ETH[.033208], ETHW[.033208], MATIC[0], USD[2.00], USDT[0]

08138545                              CUSDT[5], DOGE[3], SHIB[6], SOL[18.28375111], USD[0.00]                                                                                                                                     Yes

08138559                              SOL[1.44685093], USD[0.08]                                                                                                                                                                  Yes

08138564                              BAT[1], BRZ[4], CUSDT[2], DOGE[2], SHIB[3], USD[0.00]                                                                                                                                       Yes

08138571                              USD[0.00]

08138578                              SHIB[0], USD[31.92]                                                                                                                                                                         Yes

08138595                              BAT[9.99], CUSDT[3070.846], GRT[19.99], SHIB[4597900], TRX[465.634], USD[0.02]

08138597                              SOL[0], USD[0.00]

08138603                              ETH[0.00000002], ETHW[0], USD[0.00]

08138615                              NFT (389981006078254388/DOTB #7422)[1], NFT (413715776442640475/DOTB #6278)[1], SHIB[1], SOL[2.13654764], USD[0.00]                                                                         Yes

08138629       Contingent, Disputed   USD[0.00], USDT[0]

08138630                              DOGE[1], SOL[2.49901379], USD[0.00]

08138631                              BTC[0.00207081], ETH[0.01250809], USD[1.37]

08138638                              DOGE[0], GRT[0], USD[0.00], USDT[0], YFI[.00009422]                                                                                                                                         Yes

08138645                              USD[0.70]

08138647                              USD[0.00]

08138656                              USDT[0.00000031]

08138659                              SOL[.03746248], USD[0.00]

08138665                              BRZ[12.05090738], CUSDT[100.11870174], DOGE[9.44047813], KSHIB[45.67323721], SHIB[47237.0030943], USD[1.08]                                                                                 Yes

08138668                              USD[1.00]

08138671                              UNI[.00646053], USDT[0]

08138681                              BTC[.00008839], DOGE[11.40014764], KSHIB[55.58733916], SOL[.02410093], USD[0.00]                                                                                                            Yes

08138692                              ETH[.00121954], ETHW[0.00121953]

08138697                              ETH[0], ETHW[0], USD[0.00]

08138705       Contingent, Disputed   USD[0.00]

08138706                              CUSDT[2], USD[0.05]                                                                                                                                                                         Yes
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                                                                                                                                              Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08138711                              BTC[.00095212], CUSDT[9], NFT (333887609754099810/Marcus Allen's Playbook: USC vs. Washington - November 14, 1981 #83)[1], USD[22.66], USDT[0]                                     Yes

08138716                              USD[0.01], USDT[0]                                                                                                                                                                 Yes

08138717                              USD[0.00]                                                                                                                                                                          Yes

08138724                              AVAX[.05421941], BTC[0], LINK[.02071147], SOL[0], USD[0.00], USDT[0.00001041]

08138727                              AAVE[1.148965], BAT[74.9325], BTC[.02667597], ETH[0.45982702], ETHW[0.45982702], GRT[114.8965], LINK[3.79658], MATIC[259.766], USD[244.99], YFI[.0079928]

08138734                              BRZ[1], SHIB[7], TRX[1], USD[55.41], USDT[0]

08138735                              USD[43.98]                                                                                                                                                                         Yes

08138738                              BTC[0], USD[1.12], USDT[0]

08138739                              SOL[0]

08138743                              USD[100.00]

08138751                              BTC[0], SOL[.00373733]

08138754                              USD[118.86]                                                                                                                                                                        Yes

08138762                              BTC[.0204452], DOGE[2821.176], ETH[.125778], ETHW[.125778], KSHIB[13600], SHIB[14385600], SOL[2.70263], SUSHI[85.4145], USD[2.64]

08138769                              TRX[136.24390047], USD[0.00], USDT[5.93979014]

08138787                              USDT[1.97]

08138794                              USD[0.17]

08138825                              CUSDT[1], SOL[.05444271], USD[0.00]

08138834                              BRZ[2], BTC[.01586426], DOGE[1], ETH[.04919635], ETHW[.04919635], USD[0.00]

08138837                              SHIB[3], USD[0.00]                                                                                                                                                                 Yes

08138859                              BRZ[10.14645856], BTC[.01442855], CUSDT[157.44525733], DOGE[10.63430757], ETH[.18953489], ETHW[.15707088], LTC[.75828661], MATIC[36.77488727], SHIB[435767.98903767],              Yes
                                      SOL[5.78384234], TRX[15.88310575], USD[60.72]
08138861                              CUSDT[7], TRX[3], USD[0.01]                                                                                                                                                        Yes

08138870                              BCH[8.70886343], BRZ[0], DOGE[12081.51720822], ETH[1.02262507], ETHW[15.09018191], GRT[6001.64609075], KSHIB[0], SHIB[12844856.95244032], SOL[12.49035827], SUSHI[531.23526497],   Yes
                                      TRX[547.12476630], USD[-550.00], USDT[1.94968677]
08138873                              USD[0.01]

08138880                              USD[1.40]

08138884                              BRZ[11.1727287], BTC[.00017638], CUSDT[1], DOGE[1], SHIB[114968.95838123], USD[3.00]

08138889                              DOGE[225.24031226], SHIB[203303.68487928], TRX[15.98353384], USD[1.01]

08138893                              ETHW[.20763968], NFT (302114195767989549/The Hill by FTX #6811)[1], SHIB[6892.05906917], USD[0.00], USDT[0]                                                                        Yes

08138895                              ETH[.003], ETHW[.003], SOL[.00991], USD[1.24]

08138906                              BRZ[1], CUSDT[3], DOGE[1], NFT (323520816720201402/Shannon Sharpe's Playbook: Denver Broncos vs. Los Angeles Raiders - January 9, 1994 #64)[1], TRX[1], USD[4.44]                  Yes

08138918                              BTC[.00101293], CUSDT[4], ETH[.0107435], ETHW[.0107435], MATIC[28.01194758], SHIB[1342642.32008592], TRX[499.12265407], UNI[2.50044734], USD[0.26]

08138931                              BAT[1], BF_POINT[100], BRZ[1], BTC[.01072021], USD[0.00], USDT[0]                                                                                                                  Yes

08138945                              BAT[.869], BTC[0], SOL[.00242], USD[2.50], USDT[0]

08138951                              NFT (439558622879762248/ApexDucks #209)[1], NFT (490269133964530966/ApexDucks #4077)[1], SOL[.389995], USD[5.34]

08138952                              CUSDT[1], SHIB[509132.92483965], USD[0.00]                                                                                                                                         Yes

08138958       Contingent, Disputed   USD[0.01]                                                                                                                                                                          Yes

08138963                              ETH[.00000116], ETHW[.00000116], NFT (452713877839497139/Dark Fusion Flower)[1], USD[0.00]

08138966                              BTC[.02286083], DOGE[399.6], ETH[.174825], ETHW[.174825], SOL[2.70729], USD[620.80]

08138967                              CUSDT[1], DAI[10.74711582], KSHIB[555.4588313], USD[0.00]                                                                                                                          Yes

08138969                              DOGE[3], SHIB[7], TRX[2], USD[0.00], USDT[0]

08138991                              CUSDT[2], DOGE[121.81569098], KSHIB[365.02336392], TRX[104.74362767], USD[0.00]                                                                                                    Yes

08138999                              CUSDT[1], ETH[.0213691], ETHW[.0213691], USD[4.00]

08139000                              USD[0.93]

08139018                              BTC[.0013328]

08139032                              USD[0.00]

08139042                              SHIB[0], USD[0.00]                                                                                                                                                                 Yes

08139046                              USD[0.01], USDT[249.42000000]

08139049                              USD[0.41]

08139053                              BTC[.00017827], CUSDT[1], DOGE[2], ETH[.04773262], ETHW[.00477471], KSHIB[254.20926048], LTC[.06276281], SOL[.09820375], SUSHI[1.31487026], TRX[1], USD[0.06], USDT[0.01353216]    Yes

08139055                              CUSDT[1], ETH[.00124323], ETHW[.00122955], USD[0.00]                                                                                                                               Yes

08139056                              USD[1.31]

08139065                              SOL[0.00772121], USD[3.25]

08139069                              CUSDT[1], ETH[.00734535], ETHW[.00734535], USD[0.00]

08139072                              NFT (452745299841101571/Our World #022)[1], USD[1.00]

08139084                              USD[10.00]

08139090                              BAT[1], BTC[.06233558], CUSDT[3], DOGE[5], ETH[.16702997], ETHW[.16702997], SOL[5.07015134], TRX[2], USD[0.04]

08139092                              BRZ[2], BTC[.02391505], CUSDT[9], DOGE[3], ETH[.28326949], ETHW[.28326949], SHIB[3859709.09742062], SOL[1.7080044], TRX[5], USD[0.01]

08139095                              USD[100.00]

08139096                              BRZ[1], SHIB[3], SOL[13.41160892], TRX[2], USD[0.00]
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                                                                                                Amended Schedule            Filed
                                                                                                                 F-3: Nonpriority    06/27/23
                                                                                                                                  Unsecured          Page 1157 of 1384
                                                                                                                                            Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08139101                              BTC[0], ETH[0], ETHW[0.00089753], MKR[0], NFT (288946351103939915/Champs Proof of Attendance #231)[1], NFT (290340878837239140/Hungary Ticket Stub #344)[1], NFT
                                      (290831688797642170/Champs Proof of Attendance #160)[1], NFT (292554496836311328/Champs Proof of Attendance #24)[1], NFT (293650979120256125/FTX x Fragadelphia Proof of Attendance
                                      #200)[1], NFT (294933623955102983/Champs Proof of Attendance #84)[1], NFT (295453675066605277/FTX x Fragadelphia Proof of Attendance #166)[1], NFT (295640732627587368/Champs Proof of
                                      Attendance #103)[1], NFT (295648754160495909/Hungary Ticket Stub #338)[1], NFT (296634883802241394/FTX x Fragadelphia Proof of Attendance #144)[1], NFT (297578839147353510/Champs
                                      Proof of Attendance #98)[1], NFT (299401781681666684/Hungary Ticket Stub #395)[1], NFT (299560902677749417/FTX x Fragadelphia Proof of Attendance #181)[1], NFT
                                      (300208100552380855/Champs Proof of Attendance #138)[1], NFT (300526267225250516/FTX x Fragadelphia Proof of Attendance #211)[1], NFT (300829063675942715/Champs Proof of Attendance
                                      #229)[1], NFT (300847418691406433/FTX x Fragadelphia Proof of Attendance #69)[1], NFT (301056137311003483/Champs Proof of Attendance #140)[1], NFT (301924661999928331/Champs Proof of
                                      Attendance #88)[1], NFT (303033522612928922/FTX x Fragadelphia Proof of Attendance #124)[1], NFT (305985209165216103/FTX x Fragadelphia Proof of Attendance #17)[1], NFT
                                      (306127584902805654/Champs Proof of Attendance #62)[1], NFT (306583346023747604/Champs Proof of Attendance #135)[1], NFT (310055827601596516/FTX x Fragadelphia Proof of Attendance
                                      #123)[1], NFT (310912816835571904/FTX x Fragadelphia Proof of Attendance #90)[1], NFT (311189089924582935/Champs Proof of Attendance #149)[1], NFT (313604366744462295/FTX x
                                      Fragadelphia Proof of Attendance #29)[1], NFT (316690668949688440/FTX x Fragadelphia Proof of Attendance #34)[1], NFT (316693895676604008/FTX x Fragadelphia Proof of Attendance #145)[1],
                                      NFT (316843368070018870/FTX x Fragadelphia Proof of Attendance #134)[1], NFT (317063372066234836/Champs Proof of Attendance #18)[1], NFT (317236411508563787/FTX x Fragadelphia Proof
                                      of Attendance #107)[1], NFT (317615601317379055/G10 2.9/3 -PU +PA,FU)[1], NFT (318247188650223535/FTX x Fragadelphia Proof of Attendance #118)[1], NFT (318512890273124906/FTX x
                                      Fragadelphia Proof of Attendance #136)[1], NFT (321385157177940431/ "The New Era")[1], NFT (322471328024715647/Hungary Ticket Stub #336)[1], NFT (322758905004226110/Champs Proof of
                                      Attendance #158)[1], NFT (324160630952500083/Champs Proof of Attendance #123)[1], NFT (324752256738369201/FTX x Fragadelphia Proof of Attendance #158)[1], NFT
                                      (326283972026867345/Champs Proof of Attendance #116)[1], NFT (327370230607034687/Champs Proof of Attendance #51)[1], NFT (328454429508210329/Champs Proof of Attendance #196)[1], NFT
                                      (329412188787633663/Champs Proof of Attendance #143)[1], NFT (332644813565931796/Champs Proof of Attendance #156)[1], NFT (332714282035698765/FTX x Fragadelphia Proof of Attendance
                                      #143)[1], NFT (334874634813975616/FTX x Fragadelphia Proof of Attendance #108)[1], NFT (335450260973985031/Champs Proof of Attendance #94)[1], NFT (335545376588269699/Champs Proof of
                                      Attendance #139)[1], NFT (335874775547912704/FTX x Fragadelphia Proof of Attendance #125)[1], NFT (337087783257985460/Champs Proof of Attendance #119)[1], NFT
                                      (338305435885158548/Champs Proof of Attendance #38)[1], NFT (340114780515244897/FTX x Fragadelphia Proof of Attendance #146)[1], NFT (341055244598638068/FTX x Fragadelphia Proof of
                                      Attendance #20)[1], NFT (341272561404112078/Champs Proof of Attendance #189)[1], NFT (341448172520315219/Champs Proof of Attendance #190)[1], NFT (343741459641845065/Champs Proof of
                                      Attendance #35)[1], NFT (344892986979571550/FTX x Fragadelphia Proof of Attendance #86)[1], NFT (346872481189273402/FTX x Fragadelphia Proof of Attendance #121)[1], NFT
                                      (347308463861533585/FTX x Fragadelphia Proof of Attendance #82)[1], NFT (347756439835630450/Champs Proof of Attendance #223)[1], NFT (348767582050500462/FTX x Fragadelphia Proof of
                                      Attendance #186)[1], NFT (349830331012191149/FTX x Fragadelphia Proof of Attendance #139)[1], NFT (350294661599311512/Champs Proof of Attendance #164)[1], NFT (350473595527522856/FTX
                                      x Fragadelphia Proof of Attendance #21)[1], NFT (350480506387881299/FTX x Fragadelphia Proof of Attendance #165)[1], NFT (352050540171439850/Champs Proof of Attendance #168)[1], NFT
                                      (352284749007719375/FTX x Fragadelphia Proof of Attendance #114)[1], NFT (353604670729967852/FTX x Fragadelphia Proof of Attendance #79)[1], NFT (354175469917439547/FTX x Fragadelphia
                                      Proof of Attendance #32)[1], NFT (354686037711865297/FTX x Fragadelphia Proof of Attendance #164)[1], NFT (355591406372535779/FTX x Fragadelphia Proof of Attendance #30)[1], NFT
                                      (355651963268461944/Champs Proof of Attendance #14)[1], NFT (355863783911842842/Champs Proof of Attendance #28)[1], NFT (357776923805387156/Champs Proof of Attendance #17)[1], NFT
                                      (358264314631142033/Champs Proof of Attendance #200)[1], NFT (359705563775264037/FTX x Fragadelphia Proof of Attendance #11)[1], NFT (360631484950713111/FTX x Fragadelphia Proof of
                                      Attendance #230)[1], NFT (360739516903296141/Champs Proof of Attendance #114)[1], NFT (360914276467248557/Champs Proof of Attendance #220)[1], NFT (361891702346714995/FTX x
                                      Fragadelphia Proof of Attendance #149)[1], NFT (362526588874597441/Champs Proof of Attendance #162)[1], NFT (362760765811777333/FTX x Fragadelphia Proof of Attendance #97)[1], NFT
                                      (362840032775042111/FTX x Fragadelphia Proof of Attendance #214)[1], NFT (363292613400485076/FTX x Fragadelphia Proof of Attendance #92)[1], NFT (363829724658302328/FTX x Fragadelphia
                                      Proof of Attendance #36)[1], NFT (364549539389987176/FTX x Fragadelphia Proof of Attendance #31)[1], NFT (364787941355100826/Champs Proof of Attendance #125)[1], NFT
                                      (365121196668211237/FTX x Fragadelphia Proof of Attendance #91)[1], NFT (366355331644073854/Champs Proof of Attendance #191)[1], NFT (366702043116821564/FTX x Fragadelphia Proof of
                                      Attendance #113)[1], NFT (368542249308904860/FTX x Fragadelphia Proof of Attendance #115)[1], NFT (368544577963205093/Champs Proof of Attendance #91)[1], NFT (368807969180848536/FTX x
                                      Fragadelphia Proof of Attendance #217)[1], NFT (368811299387261731/FTX x Fragadelphia Proof of Attendance #142)[1], NFT (368822929708133351/Champs Proof of Attendance #127)[1], NFT
                                      (369847332362272464/FTX x Fragadelphia Proof of Attendance #210)[1], NFT (370868433178270267/Hungary Ticket Stub #325)[1], NFT (371855011169768409/Champs Proof of Attendance #110)[1],
                                      NFT (373260609540776574/FTX x Fragadelphia Proof of Attendance #157)[1], NFT (373438418335285466/Champs Proof of Attendance #85)[1], NFT (377369224900587002/FTX x Fragadelphia Proof
                                      of Attendance #218)[1], NFT (377429086197666906/Champs Proof of Attendance #86)[1], NFT (377665872931553454/Champs Proof of Attendance #102)[1], NFT (378943793152389331/Champs Proof
                                      of Attendance #75)[1], NFT (379092814224502173/Champs Proof of Attendance #124)[1], NFT (381863020817135595/FTX x Fragadelphia Proof of Attendance #148)[1], NFT
                                      (382011156039601713/Champs Proof of Attendance #215)[1], NFT (382426073936530824/Champs Proof of Attendance #34)[1], NFT (384137463830747720/Floyd Slippyshmoops)[1], NFT
                                      (384497558094614558/FTX x Fragadelphia Proof of Attendance #59)[1], NFT (385288591171960101/FTX x Fragadelphia Proof of Attendance #138)[1], NFT (386162122575323608/Champs Proof of
                                      Attendance #19)[1], NFT (386666112667488069/Champs Proof of Attendance #97)[1], NFT (387166624337512876/Champs Proof of Attendance #36)[1], NFT (387328394213255353/FTX x Fragadelphia
                                      Proof of Attendance #167)[1], NFT (387504287938356712/Champs Proof of Attendance #161)[1], NFT (389841957515586028/FTX x Fragadelphia Proof of Attendance #133)[1], NFT
                                      (391296307309856823/Champs Proof of Attendance #201)[1], NFT (392065030858267900/Champs Proof of Attendance #89)[1], NFT (393721041977004371/FTX x Fragadelphia Proof of Attendance
                                      #161)[1], NFT (395019346063282552/FTX x Fragadelphia Proof of Attendance #137)[1], NFT (395339174619717237/FTX x Fragadelphia Proof of Attendance #199)[1], NFT (395827310499538703/FTX
                                      x Fragadelphia Proof of Attendance #126)[1], NFT (396623763475992803/FTX x Fragadelphia Proof of Attendance #18)[1], NFT (398286157138866007/Champs Proof of Attendance #30)[1], NFT
                                      (398982317372623299/Hungary Ticket Stub #388)[1], NFT (400068795836849085/FTX x Fragadelphia Proof of Attendance #111)[1], NFT (400106512148020103/FTX x Fragadelphia Proof of Attendance
                                      #171)[1], NFT (400128901794629541/Champs Proof of Attendance #104)[1], NFT (400685173058036459/FTX x Fragadelphia Proof of Attendance #131)[1], NFT (401545156581919558/FTX x
                                      Fragadelphia Proof of Attendance #89)[1], NFT (402185806527738972/FTX x Fragadelphia Proof of Attendance #70)[1], NFT (403448900507636231/FTX x Fragadelphia Proof of Attendance #83)[1],
                                      NFT (403533072511474261/FTX x Fragadelphia Proof of Attendance #198)[1], NFT (403688557616719963/FTX x Fragadelphia Proof of Attendance #229)[1], NFT (403974081526309161/FTX x
08139102                              SOL[.09], USD[0.53]

08139107                              USD[43.66]

08139108                              AAVE[0], BAT[0], BTC[0], ETH[0], GRT[0.00007215], LINK[0], USD[0.00], USDT[0]

08139117                              BTC[0], ETH[0], USD[0.01]                                                                                                                                                                    Yes

08139123                              BTC[0], SOL[0], USDT[3498.27067935]

08139129                              SOL[.00000001], USD[1.36], USDT[.008356]

08139131                              SOL[.25], USD[0.47]

08139158                              DOGE[1], USD[12.39]                                                                                                                                                                          Yes

08139165                              BTC[.0015]

08139170                              USD[25.00]

08139172                              DOGE[22553], LINK[2479.6646751], USD[0.13]

08139174                              SOL[.00895], USD[0.06]

08139191                              CUSDT[1], MATIC[5.49786647], USD[0.00]                                                                                                                                                       Yes

08139239                              CUSDT[1], USD[0.00]                                                                                                                                                                          Yes

08139243                              USD[0.00]

08139259                              BTC[0], LTC[0], USD[0.00]

08139268       Contingent, Disputed   BTC[.04335089], CUSDT[1], USD[0.00]

08139274                              USD[0.70]

08139278                              BTC[.00018502], CUSDT[2], USD[0.00]                                                                                                                                                          Yes

08139279       Contingent, Disputed   DOGE[1162.54953623], USD[150.00]

08139289                              NFT (300340141506457012/Fuck Crypto)[1], NFT (406220039961199964/Fuck the real world)[1], USD[0.00], USDT[0]
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                                                                                             Amended Schedule            Filed
                                                                                                              F-3: Nonpriority    06/27/23
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                                                                                                                                         Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08139291                           NFT (288631399073783987/Old English Latin Alphabet #18)[1], NFT (288999342345042953/Old English Latin Alphabet #4)[1], NFT (290947032548188432/The Hill by FTX #4533)[1], NFT
                                   (291631436870536438/Punk#8)[1], NFT (303707439244210632/Old English Latin Alphabet #14)[1], NFT (306506697859336897/nature#8)[1], NFT (307321228223587343/Emo#012 #3)[1], NFT
                                   (307446349781009823/Zombie Ape #0030)[1], NFT (309193728581555778/Primitive #17)[1], NFT (315130715866037387/Emo#012)[1], NFT (323480189798303161/The Hill by FTX #4541)[1], NFT
                                   (324043594111806236/The Hill by FTX #4532)[1], NFT (325674670266192164/seen#4)[1], NFT (327504527063998834/art#1)[1], NFT (334429476384168984/The Hill by FTX #4544)[1], NFT
                                   (338699690976254707/Old English Latin Alphabet #19)[1], NFT (339088145075487379/ETHCOIN)[1], NFT (345813581648446287/The Hill by FTX #4548)[1], NFT (349578764214621707/King Ape Club
                                   #33)[1], NFT (355725597024828620/product#2)[1], NFT (358636699800056335/seen#3)[1], NFT (359134775576031705/ape#2)[1], NFT (368590848713065341/Old English Latin Alphabet #15)[1], NFT
                                   (375187323129101404/Old English Latin Alphabet #13)[1], NFT (378477457078310307/The Hill by FTX #4077)[1], NFT (390505951682785595/Old English Latin Alphabet #23)[1], NFT
                                   (393506444880530998/nature#2)[1], NFT (398359838584629988/Old English Latin Alphabet #20)[1], NFT (399187351384185795/The Hill by FTX #4103)[1], NFT (413792694102290674/Emo#008)[1],
                                   NFT (414773434932495937/Old English Latin Alphabet #24)[1], NFT (415660783888613374/nature#4)[1], NFT (420891859280748193/The Hill by FTX #4539)[1], NFT
                                   (421659010219559396/seen#5)[1], NFT (421884185763852124/Punk#9)[1], NFT (424865160313991402/Old English Latin Alphabet #5)[1], NFT (427702477128911559/Old English Latin Alphabet
                                   #2)[1], NFT (434037128744116149/Punk#1)[1], NFT (442543402934233608/The Hill by FTX #4086)[1], NFT (448080430575777763/The Hill by FTX #4549)[1], NFT (450075982236314551/BTCCOIN)[1],
                                   NFT (450824013159954071/Primitive #15)[1], NFT (454030559165097567/Old English Latin Alphabet #6)[1], NFT (456534522680372193/ape#4)[1], NFT (456815516190542780/The Hill by FTX
                                   #1156)[1], NFT (459312493127829610/The Hill by FTX #4094)[1], NFT (461270988299260887/nature#6)[1], NFT (463096758146099023/Punk#5)[1], NFT (466198722154777455/Mr. Didabo#3)[1], NFT
                                   (468194071485014831/The Hill by FTX #4089)[1], NFT (469488159110615415/The Hill by FTX #4530)[1], NFT (472007315981554637/MetaCrew#999/3)[1], NFT (473541723871039048/The Hill by FTX
                                   #4101)[1], NFT (476203035837016239/The Hill by FTX #4321)[1], NFT (480145349670401678/Old English Latin Alphabet #8)[1], NFT (480213760751358480/Punk#10)[1], NFT
                                   (483264042720194634/Mr. Didabo#2)[1], NFT (483486148333590502/The Hill by FTX #4078)[1], NFT (483690952066753570/King Ape Club #11)[1], NFT (485465419921167492/Miss Didabo#1)[1], NFT
                                   (485661504576402682/The Hill by FTX #4084)[1], NFT (489084395593234897/Mr. Didabo#1)[1], NFT (489333488329430488/The Hill by FTX #4543)[1], NFT (489471541165864526/The Hill by FTX
                                   #4529)[1], NFT (494318692776428575/Punk#7)[1], NFT (494432840713095267/Old English Latin Alphabet #10)[1], NFT (496364245417195275/nature#5)[1], NFT (498478984313104596/Old English
                                   Latin Alphabet #25)[1], NFT (501994580286973795/Emo#012 #4)[1], NFT (502966219432126796/Old English Latin Alphabet #12)[1], NFT (505829768584791092/nature#3)[1], NFT
                                   (508620955739158040/ape#8)[1], NFT (511527534365331872/Old English Latin Alphabet #22)[1], NFT (513825465978492337/Mr. Didabo#4)[1], NFT (518078025402839208/Old English Latin Alphabet
                                    #11)[1], NFT (518842027420707685/Emo#012 #2)[1], NFT (522255151238429026/Old English Latin Alphabet #16)[1], NFT (534236978414894614/The Hill by FTX #4537)[1], NFT
                                   (536573091175884276/Old English Latin Alphabet #21)[1], NFT (537133085897087998/nature#9)[1], NFT (537617642563485441/art#4)[1], NFT (539029459491345367/Punk#2)[1], NFT
                                   (540423199801425620/King Ape Club #15)[1], NFT (543547142995421056/King Ape Club #17)[1], NFT (550550882884762700/Punk#3)[1], NFT (551344467805521754/Old English Latin Alphabet
                                   #3)[1], NFT (556183725330697426/The Hill by FTX #4531)[1], NFT (559333928759801324/MetaCrew#999/5)[1], NFT (561977945363486878/Primitive #18)[1], NFT (562241295535894107/The Hill by
                                   FTX #4093)[1], NFT (563933758697415482/The Hill by FTX #4359)[1], NFT (568002920625311251/seen#2)[1], NFT (568487315272212334/Old English Latin Alphabet #9)[1], NFT
                                   (571534568176850009/Old English Latin Alphabet #17)[1], NFT (573010807177638359/King Ape Club #18)[1], SHIB[11655583.62672064], SOL[0.14700000], USD[0.00], USDT[0.00020190]

08139305                           USD[20.00]

08139310                           DOGE[1], ETH[3.26636668], ETHW[3.26499479], GRT[1], TRX[4], USD[0.00]                                                                                                                     Yes

08139326                           CUSDT[2], USD[0.00]

08139335                           USD[12.00]

08139336                           USD[0.00], USDT[0]

08139349                           DOGE[89.85932357], GRT[25.63815809], MATIC[7.29023869], SHIB[1], SUSHI[1.6207518], USD[3.16]                                                                                              Yes

08139368                           BTC[.03837668], CUSDT[3], DOGE[1593.70320638], ETH[.46971278], ETHW[.46951115], LTC[7.35610312], SHIB[3], TRX[330.90609062], USD[6.95]                                                    Yes

08139372                           AAVE[.58312722], AVAX[1.18327254], BRZ[2], BTC[.00000074], CUSDT[36], DOGE[9.14062205], ETH[.00001501], ETHW[1.08926467], GRT[156.88606611], LINK[6.48402782], MATIC[131.43214436], Yes
                                   MKR[.03421176], SHIB[597308.93927556], SOL[5.74916149], SUSHI[16.38569711], TRX[20.95017796], UNI[8.20245529], USD[0.00], USDT[.00000036], YFI[.00567705]
08139381                           CUSDT[2], SOL[1.0877808], USD[0.00]                                                                                                                                                 Yes

08139387                           USDT[0]

08139397                           BRZ[1], BTC[.00622598], CUSDT[2], KSHIB[289.89053153], SOL[3.77017489], TRX[2], USD[0.00]                                                                                                 Yes

08139407                           USD[0.00]

08139410                           CUSDT[1], USD[0.00]

08139413                           CUSDT[1], SHIB[502381.8326713], USD[0.00]                                                                                                                                                 Yes

08139414                           ETH[.03693], ETHW[.03693], TRX[2094.316795]

08139416                           ETH[0.01749127], ETHW[0.01727239], MXN[0.00], SHIB[1], USD[0.00]                                                                                                                          Yes

08139422                           CUSDT[227.06589088], LINK[.24309552], PAXG[.00277793], USD[5.00]

08139434                           AAVE[.0000094], CUSDT[13], DOGE[1], MATIC[.00141903], NFT (296983203081591709/Shannon Sharpe's Playbook: Baltimore Ravens vs. Denver Broncos - December 31, 2000 #80)[1], NFT             Yes
                                   (369686728744805021/Marcus Allen's Playbook: Los Angeles Raiders vs. Washington - January 22, 1984 #82)[1], NFT (411817582553593905/Joe Theismann's Playbook: Notre Dame vs. USC -
                                   November 30, 1968 #62)[1], SOL[.00002656], TRX[.00428591], UNI[2.31249773], USD[0.00]
08139444                           AVAX[.67606969], CUSDT[2], SHIB[1213741.42705964], USD[0.00]                                                                                                                              Yes

08139445                           BTC[0.00000483], CUSDT[.00442514], DOGE[.00083369], SHIB[2], SOL[.00000116], TRX[1.00101472], USD[0.01]                                                                                   Yes

08139469                           SHIB[1], USD[14.87]                                                                                                                                                                       Yes

08139470                           SHIB[1], USD[1.20]

08139497                           ETH[.03], ETHW[.03]

08139498                           CUSDT[1], USD[0.00]

08139501                           NFT (400647118007481338/DevOps Club #110)[1], SOL[.05312959]

08139511                           SOL[.00000016], USD[0.00]

08139514                           CUSDT[2], DOGE[44.90957994], ETH[.00485146], ETHW[.00485146], SOL[.04582253], TRX[97.10470664], USD[0.01]

08139517                           DOGE[1], USD[0.00]                                                                                                                                                                        Yes

08139521                           BTC[.0003], SOL[.09], USD[63.22]

08139522                           DOGE[0.11246438], USD[0.01]

08139523                           CUSDT[11], NFT (295141198617487998/Cyber Pharmacist 9459)[1], NFT (305593328631268601/Gangster Gorillas #4441)[1], NFT (309720643280806837/ApexDucks #148)[1], NFT                  Yes
                                   (329653474686733311/SOLYETIS #558)[1], NFT (365847262388441411/The Tower #163-17)[1], NFT (372576818759656499/GalaxyKoalas # 928)[1], NFT (381079840782330047/ApexDucks #5515)[1],
                                   NFT (425548857912802117/Gangster Gorillas #1868)[1], NFT (438907714293215672/SOLYETIS #3772)[1], NFT (445114131591342375/Gangster Gorillas #1313)[1], NFT (449519476776700873/Miami
                                   Ticket Stub #148)[1], NFT (451356195004084603/Gangster Gorillas #2791)[1], NFT (490924841711149625/#1020)[1], NFT (491027796457165453/Astral Apes #2237)[1], NFT
                                   (491965086514902216/Shine Mumble)[1], NFT (493515630084787286/Gangster Gorillas #7031)[1], NFT (533647736961919638/APEFUEL by Almond Breeze #522)[1], SHIB[1], USD[29.44]

08139527                           TRX[1], USD[0.00]

08139531                           DAI[1.61150013], DOGE[9.16922625], ETH[.00196546], ETHW[.0019381], GRT[4.16362814], MATIC[3.40948362], USD[0.00]                                                                          Yes

08139532                           USDT[.00474518]                                                                                                                                                                           Yes

08139551                           SHIB[220287.72363907], USD[0.00]                                                                                                                                                          Yes

08139563                           CUSDT[4], SHIB[9246561.66605895], TRX[3], USD[204.42]                                                                                                                                     Yes

08139565                           AAVE[.03267803], BTC[.00043028], CUSDT[1], DOGE[101.6016083], ETH[.00794623], ETHW[.00785047], KSHIB[45.36843226], LTC[.15999377], SHIB[.05844875], SOL[.02566305],                       Yes
                                   SUSHI[.88847117], TRX[25.36084426], UNI[.12065414], USD[0.00], USDT[13.39893923]
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                                                                                                                                            Customer Claims                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08139578                              NFT (562858232918147251/Little Rocks #1034)[1], SOL[.10875161]

08139585                              CUSDT[4861.58890097], MATIC[114.65420308], SHIB[2496670.27649212], TRX[1], UNI[5.1196306], USD[0.04]                                                                  Yes

08139586                              ETH[.012], ETHW[.012], USD[0.51]

08139599                              BRZ[1], DOGE[4], GRT[1], SHIB[1], SOL[.00040562], TRX[6], USD[0.00], USDT[0.00000078]                                                                                 Yes

08139603                              NFT (344682805870522958/Coachella x FTX Weekend 1 #1530)[1]                                                                                                           Yes

08139611                              CUSDT[228.71468039], DOGE[63.68993894], MATIC[8.24510671], SHIB[142256.94136246], USD[0.00], USDT[0]

08139617                              SOL[.00149463], USD[0.00]

08139634                              CUSDT[1], DOGE[1], USD[0.01]

08139643                              SHIB[1], TRX[1], USD[0.01]                                                                                                                                            Yes

08139649                              TRX[440.42247056], USD[0.00]

08139650                              CUSDT[4.00667249], DOGE[1], USD[14.64]                                                                                                                                Yes

08139657                              USD[20.00]

08139667                              ETH[.0015], ETHW[.0015], USD[400.00]

08139669                              BTC[.0291868], ETH[0], SOL[71.71667752], USD[-499.23]

08139670       Contingent, Disputed   CUSDT[1], DOGE[2], SOL[1], TRX[1], USD[1563.82]

08139684                              BRZ[1], BTC[.01773875], CUSDT[1], ETH[1.38646978], ETHW[1.38646978], SOL[14.09256088], TRX[1], USD[0.00]

08139685                              SOL[2.10145888]                                                                                                                                                       Yes

08139690                              USD[0.00]

08139695                              BTC[0.00176354]

08139696                              BTC[0], CUSDT[1], USD[0.00]

08139697                              BTC[0], ETH[0], USD[0.00]

08139700                              ETHW[.061], USD[2.88]

08139709                              DAI[1000]

08139710                              BRZ[.00037335], CUSDT[4.00009485], DOGE[193.42820790], KSHIB[0.46922530], MATIC[0], SHIB[2.54249390], USD[0.10]                                                       Yes

08139715                              BTC[0.02268223], SOL[4.89066628], USD[3.11]

08139726                              DOGE[1], ETH[.00457529], ETHW[.00457529], SHIB[116171.00371747], USD[0.00]

08139733                              SOL[.00215993], USD[0.00]

08139734                              CUSDT[12], DOGE[1], ETH[.22833358], ETHW[.2281317], TRX[2], USD[0.01]                                                                                                 Yes

08139735                              CUSDT[2], USD[0.00]

08139738                              USDT[0.00000188]

08139739                              AAVE[.39764647], ALGO[300.94677117], AVAX[5.05385827], BRZ[1], BTC[.00691232], CUSDT[4], DOGE[243.04583958], ETH[.10883948], ETHW[.10774275], KSHIB[1126.69175583],   Yes
                                      SHIB[1216202.69803825], SOL[4.94235557], TRX[2], USD[0.00], USDT[53.68710167]
08139743                              BTC[0], DOGE[0], ETH[0], LTC[0], NFT (418414622747314355/The Hill by FTX #5384)[1], SHIB[0], TRX[0], USD[0.00], USDT[0]                                               Yes

08139747                              SOL[0.00336015]

08139749                              USD[50.01]

08139750                              BCH[0], CUSDT[1], DOGE[1], MATIC[.00010357], USD[21.62]                                                                                                               Yes

08139756                              BTC[0], EUR[0.00], SOL[0], USD[0.00]

08139766                              TRX[1], USD[0.00]                                                                                                                                                     Yes

08139774                              BTC[.00000308], CUSDT[1], USD[0.00], USDT[0.00001716]                                                                                                                 Yes

08139783                              USD[175.53]

08139793                              USD[0.94]

08139801                              USD[10.00]

08139805                              BTC[.004995], SOL[1.84135841], USD[9.53]

08139809                              USD[10.00]

08139823                              NFT (521941258574232463/Coachella x FTX Weekend 2 #7431)[1], SOL[.00000001]                                                                                           Yes

08139828                              CUSDT[3], KSHIB[414.42101517], LTC[.02358882], USD[0.00]

08139832                              DOGE[2], TRX[1], USD[104.82]                                                                                                                                          Yes

08139836                              USD[0.95], USDT[0]

08139837                              USD[0.00]                                                                                                                                                             Yes

08139840                              CUSDT[1], USD[1.00], USDT[20.88881697]

08139853                              USD[20.00]

08139860                              BAT[3.08727926], BTC[.00032461], DOGE[1.12315512], ETH[.00002266], ETHW[.00002266], KSHIB[4.3299636], USD[7.37]                                                       Yes

08139866                              CUSDT[1], GRT[1.00019173], SOL[4.50920223], TRX[1], USD[0.00]                                                                                                         Yes

08139871                              BAT[6.98954908], CUSDT[1], GRT[11.09610019], MATIC[10.74347986], TRX[107.23687864], USDT[0]                                                                           Yes

08139892                              SHIB[228466.98652044], USD[0.00]

08139896                              CUSDT[1], SOL[.00000508], TRX[1], USD[0.00]                                                                                                                           Yes

08139897                              USD[0.87]

08139898                              ETH[.0011393], ETHW[.0011393], USD[0.00]

08139911                              CUSDT[1], TRX[1], USD[0.00]
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                                                                                                                                          Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08139915                           CUSDT[4853.93938052], USD[0.00]                                                                                                                                                         Yes

08139926                           KSHIB[20434.18], SHIB[20426900], USD[242.80]

08139932                           LTC[.00863692], SOL[1.33883403], TRX[12.52946658], USD[0.00]

08139950                           BTC[0], ETHW[.02734123], NFT (290086451942808677/Warriors 75th Anniversary Icon Edition Diamond #7)[1], NFT (326407666644114274/Coachella x FTX Weekend 1 #27460)[1], NFT                Yes
                                   (401284265887923763/Warriors Gold Blooded NFT #91)[1], NFT (469339795456213031/Shaq's Fun House presented by FTX #13)[1], NFT (488352501157408510/Warriors 75th Anniversary City Edition
                                   Diamond #291)[1], SHIB[7], USD[619.94]
08139965                           USD[0.00]

08139978                           USD[0.00]

08139989                           USD[3.00]

08139991                           DOGE[4], SHIB[10], TRX[3], USD[0.01]                                                                                                                                                    Yes

08139993                           USD[0.00], USDT[0.00001663]

08139996                           DAI[0], SHIB[1], USD[0.01], USDT[0.00000038]                                                                                                                                            Yes

08140008                           AAVE[.43653247], CUSDT[3], ETH[.01185359], ETHW[.01170311], TRX[618.40915822], USD[0.00]                                                                                                Yes

08140014                           USD[0.00]                                                                                                                                                                               Yes

08140020                           BAT[2.03752089], BF_POINT[200], BRZ[1], CUSDT[4800.0512062], DOGE[687.5283738], ETH[14.42229015], ETHW[13.82950126], GRT[1], SHIB[8], SOL[1.74165681], TRX[1599.85543397],              Yes
                                   USD[4164.80]
08140023                           BTC[0.00018766], ETH[0.00042413], ETHW[0.00042413], KSHIB[47.40269660], USD[0.00]                                                                                                       Yes

08140030                           BTC[.00001722], USD[5.00]

08140032                           SOL[.10898808], USD[0.12]

08140034                           BAT[1], ETHW[6.05581906], SHIB[3], TRX[1], UNI[1.02508565], USD[7629.30], USDT[1.01292296]                                                                                              Yes

08140036                           USD[0.07], USDT[.3266517]

08140038                           SOL[0], USD[0.00], USDT[0.00000021]                                                                                                                                                     Yes

08140043                           SOL[0], USD[0.00]

08140045                           ETH[.24073505], ETHW[0.24053924]                                                                                                                                                        Yes

08140052                           BAT[3.10762965], BRZ[9.39467508], BTC[0], DOGE[9.09630991], NFT (489156864273634559/Imola Ticket Stub #338)[1], NFT (494561296688701984/#1970)[1], SHIB[43], TRX[9], USD[0.00],         Yes
                                   USDT[1.05733661]
08140069                           CUSDT[1], SOL[.24379272], USD[0.00]                                                                                                                                                     Yes

08140072                           CUSDT[2], DOGE[1], GRT[1], NFT (314088252970340091/Waves of the Metaverse #1)[1], USD[0.01]                                                                                             Yes

08140074                           KSHIB[11405.9498453], TRX[1], USD[0.00]

08140075                           USD[5.00]

08140076                           USD[0.13]

08140082                           SOL[108.36465955], USD[401.00], USDT[0.00000084]

08140083                           SOL[.00000001]

08140085                           BTC[.003], ETH[0.00465830], ETHW[0.00465830], USD[0.00]

08140110                           USD[1.90]

08140114                           CUSDT[2], DOGE[1], USD[0.00]                                                                                                                                                            Yes

08140117                           USD[0.00]                                                                                                                                                                               Yes

08140121                           USD[0.01]

08140127                           TRX[1], USD[0.00]                                                                                                                                                                       Yes

08140134                           USD[100.00]

08140152                           CUSDT[3], SHIB[4993084.38696938], USD[10.88]                                                                                                                                            Yes

08140161                           ETH[.00000001]

08140171                           CUSDT[1], ETH[.00016977], ETHW[.00016977], USD[0.01]                                                                                                                                    Yes

08140174                           BAT[1.00671643], BRZ[1], CUSDT[1], ETHW[.30830307], SHIB[1], TRX[1], USD[0.00], USDT[1.047122]                                                                                          Yes

08140176                           DOGE[1], TRX[6416.88722159], USD[0.00]                                                                                                                                                  Yes

08140182                           AAVE[1.62113], BTC[.0173605], DOGE[660.103], ETH[.279444], ETHW[.279444], LINK[13.3068], LTC[.11498], MATIC[456.65], MKR[.000978], SHIB[9681700], SOL[9.67125], SUSHI[103.683],
                                   TRX[3.006], UNI[2.6534], USD[0.38]
08140186                           MATIC[7.18390409], USD[16.08]                                                                                                                                                           Yes

08140190                           CUSDT[1], SOL[0.09391805]

08140191                           CUSDT[2], TRX[287.43202888], USD[0.00]

08140193                           BTC[0]

08140211                           BTC[0], DAI[0], DOGE[0], KSHIB[0], MXN[0.00], SHIB[12.7022512], SOL[.00000252], USD[0.05], USDT[0]

08140237                           USD[0.07]

08140239                           CUSDT[2], NFT (359880945496478444/Box Man 603)[1], NFT (389280201935993362/MM Shark #4)[1], NFT (443408557101808534/MM Shark)[1], NFT (495117839190367804/MM Shark #12)[1],             Yes
                                   SOL[0], USD[0.19]
08140261                           MATIC[1.98237657], USD[0.00]

08140263                           SOL[.00000001], USD[0.00]

08140269                           CUSDT[1], USD[0.00]                                                                                                                                                                     Yes

08140271                           ETH[.00108984], ETHW[.00108984], USD[10.41]

08140276                           CUSDT[238.761], SOL[.27], USD[0.00], USDT[.25557438]

08140289                           ETH[.2040881], ETHW[.2038742], SOL[1.10716184], TRX[2], USD[254.77]                                                                                                                     Yes

08140308                           ETH[0]
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                                                                                                                                         Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08140311                           USD[20.00]

08140316                           USD[0.00]

08140317                           USD[0.00]                                                                                                                                                                           Yes

08140318                           USD[6.24]

08140324                           USD[200.01]

08140329                           BTC[0], DOGE[2], ETH[0.00000068], ETHW[0.00000068], SHIB[24], TRX[4], USD[0.00], USDT[0]                                                                                            Yes

08140334                           CUSDT[1], ETH[.00229578], ETHW[.00229578], TRX[1], USD[0.01]

08140342                           BTC[0], USD[0.00], USDT[0]

08140357                           USD[540.24]                                                                                                                                                                         Yes

08140361                           CUSDT[5], PAXG[.00656344], USD[0.00]                                                                                                                                                Yes

08140363                           CUSDT[2], TRX[339.73670203], USD[0.00]                                                                                                                                              Yes

08140365                           CUSDT[1], ETH[.02254481], ETHW[.02226658], USD[0.00]                                                                                                                                Yes

08140367                           USD[10.00]

08140371                           NFT (346476390369677650/FTX - Off The Grid Miami #5409)[1]

08140378                           USD[0.00]

08140382                           CUSDT[4], DOGE[3], LINK[.00009169], SOL[.00002449], TRX[2], USD[0.00]                                                                                                               Yes

08140383                           ALGO[2], SOL[3.32667], USD[0.23]

08140386                           MATIC[57]

08140387                           SOL[1.54972965], USD[0.01]

08140388                           BTC[.0017], USD[2.91]

08140391                           USD[5.63]                                                                                                                                                                           Yes

08140402                           SHIB[2197800], USD[4.37]

08140408                           CUSDT[11], ETH[0.01634261], ETHW[0.01613741], GRT[11.34246602], KSHIB[185.42958033], LINK[0.52242221], MATIC[4.93827233], SOL[0.02692911], TRX[1], UNI[1.00141059], USD[0.01],      Yes
                                   YFI[.00071123]
08140428                           CUSDT[3], USD[107.71]                                                                                                                                                               Yes

08140444                           AAVE[7.82217], ALGO[1057.941], AVAX[19.98], BCH[.35964], BTC[.0428576], DOGE[15633.351], ETH[.624375], ETHW[.624375], KSHIB[2627.37], LINK[34.8651], LTC[5.66433], MATIC[579.42],
                                   SHIB[2597400], SOL[42.75848], TRX[235.764], UNI[5.1948], USD[37.90]
08140445                           USD[0.09]                                                                                                                                                                           Yes

08140454                           USD[0.98]

08140462                           USD[0.00]

08140468                           USD[0.20]

08140485                           USD[0.51]

08140490                           BTC[.00865025], CUSDT[1], USD[0.00]

08140513                           USD[0.00]

08140520                           CUSDT[2], DOGE[1], TRX[3], USD[0.00]                                                                                                                                                Yes

08140522                           NFT (303193289353741265/Rose589@)[1], NFT (306457080962461856/Nespace Album #32)[1], NFT (314155337996140179/digital avatar #14)[1], NFT (322353424864369131/Ancient Civilization   Yes
                                   #35)[1], NFT (323997384515962053/voxel halloween)[1], NFT (327819673490788886/Ancient Civilization #10)[1], NFT (346064783816029724/Joshua Tree Martian Landing)[1], NFT
                                   (354449290586173496/Doge Club #8)[1], NFT (376819751582473619/Gaylord Family Oklahoma Memorial Stadium)[1], NFT (386617136976021623/Ancient Civilization #19)[1], NFT
                                   (408180400899235958/Doge Club #11)[1], NFT (412217255328555319/Rare Art #12)[1], NFT (449078358274781911/Vox Girls #34)[1], NFT (453054753449215458/santorini$ iberd)[1], NFT
                                   (457812493971213752/Solninjas #3197)[1], NFT (540938847628702355/Dream bird)[1], NFT (544752155105040142/Crystal Face #27)[1], NFT (566168938464904725/Vox Girls #28)[1],
                                   SHIB[990198.70352935], USD[0.00]
08140540                           BTC[0], USD[0.11]

08140541                           BRZ[1], CUSDT[4], DOGE[1], SOL[0], TRX[3]

08140554                           ETH[.00000001], MATIC[.00000001], SHIB[1], SOL[.00000246], USD[0.00], USDT[.0058029]                                                                                                Yes

08140557                           BTC[.3685311], USD[20.01]

08140559                           USD[5.00]

08140564                           NFT (328578899061122203/Good Boy #141)[1], USDT[0.00000061]

08140569                           USD[0.00]

08140573                           BTC[.00067704], USD[17.78]

08140583                           SOL[.009]

08140585                           NFT (438224037920209975/Astro Stones #49)[1], USD[6.22]

08140588                           DOGE[429.10897863], KSHIB[7221.61764012], SHIB[9102376.85696837], TRX[2], USD[0.00]                                                                                                 Yes

08140589                           CUSDT[2], SOL[.00000985], USD[0.00]                                                                                                                                                 Yes

08140603                           USD[200.01]

08140604                           CUSDT[1], ETH[.01144618], ETHW[.01144618], USD[50.00]

08140609                           GRT[1], TRX[1], USD[0.00]

08140629                           USD[0.28]

08140637                           BRZ[1], CUSDT[3], USD[107.46]                                                                                                                                                       Yes

08140651                           BTC[.0021974], USD[15.65]

08140657                           CUSDT[1], SHIB[253423.93075511], USD[0.00]                                                                                                                                          Yes

08140663                           SOL[1.20363308], USD[0.00]

08140674                           USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08140678                              SHIB[2], USD[0.00]                                                                                                                                                                           Yes

08140691                              BAT[1], ETH[0]

08140710                              CUSDT[1], ETH[.0354536], ETHW[.03501584], NFT (301150684259052815/The Hill by FTX #6881)[1], NFT (536688113741055226/FTX Crypto Cup 2022 Key #2932)[1], USD[6.55]                            Yes

08140712                              DOGE[1], UNI[.00000001], USDT[0.00068434]                                                                                                                                                    Yes

08140714                              BTC[0], ETH[0], USD[0.00]                                                                                                                                                                    Yes

08140721                              AVAX[0], BTC[0], LTC[0], USD[0.00]

08140727                              AVAX[72.170309], BAT[1], BRZ[1], BTC[.08405387], GRT[1], SHIB[2], TRX[4], USD[0.28], USDT[0.00013513]                                                                                        Yes

08140729                              USD[0.06]

08140733                              SOL[.0093458], USD[0.05]

08140735                              CUSDT[1], USD[0.00]

08140739                              BAT[1], DOGE[2651.31646346], USD[0.00]

08140740       Contingent, Disputed   AVAX[0], BTC[0], ETH[0], MATIC[0], NFT (353304107843793003/Shannon Sharpe's Playbook: Kansas City Chiefs vs Denver Broncos - October 4, 1992 #85)[1], SHIB[1], SOL[0.00000001], USD[0.00],   Yes
                                      USDT[0.00000913]
08140742                              BAT[1.00180073], BRZ[1], CUSDT[2.79222911], DOGE[5], ETH[.00048441], ETHW[0.00048440], GRT[.02272435], SHIB[430.98235989], TRX[4], USD[-1.67]                                                Yes

08140747                              SOL[.000748], USD[1296.70]

08140751                              CUSDT[1], USD[0.00], USDT[1.05776165]                                                                                                                                                        Yes

08140756                              BAT[1.01185968], BRZ[3], CUSDT[50.5858728], DOGE[2], SHIB[56664527.7859541], TRX[3], USD[0.00]                                                                                               Yes

08140757                              SOL[0.83235881]

08140786                              NFT (319896324191670967/Unruffled Williams)[1], SHIB[9096.92554291], USD[0.00]

08140795                              CUSDT[1], USD[47.59]

08140797                              BTC[.0004355], CUSDT[2], DOGE[111.10697299], USD[0.00]

08140798                              BRZ[2], CUSDT[2], DOGE[2], ETHW[.48728809], MATIC[.00110998], USD[0.00]                                                                                                                      Yes

08140806                              CUSDT[138.24980508], USD[0.00]

08140812                              BRZ[1], CUSDT[1], DOGE[3], ETHW[2.15387753], TRX[1], USD[2891.14], USDT[1]                                                                                                                   Yes

08140829                              AAVE[.00284529], ETHW[.00039894], JPY[14680.27], LINK[9.98063796], NEAR[.0611813], USD[179.58]

08140836                              DOGE[23.97565154], ETH[.00254336], ETHW[.002516], SOL[.06280767], USD[0.01]                                                                                                                  Yes

08140845                              BTC[.00018942], CUSDT[2], DOGE[25.08957229], ETH[.01508778], ETHW[.01489626], MATIC[30.60943854], NFT (483149584171278347/David #255)[1], SHIB[2], SOL[1.43402834],                   Yes
                                      TRX[67.08348521], USD[0.01]
08140849                              AVAX[.00154], BCH[.067972], BTC[0.57113049], ETH[2.03941247], ETHW[0], LINK[15.35426], LTC[38.221578], MATIC[6110.62497663], NFT (323125960330721010/Rogue Circuits #5074)[1], NFT
                                      (403189028951027721/Scene #0189 | Timeline #1)[1], NFT (444549173521535536/ApexDucks #1745)[1], NFT (470347815919456788/Barcelona Ticket Stub #271)[1], NFT (480803943755250716/Scene
                                      #0594 | Timeline #8)[1], NFT (487590565181837056/Rogue Circuits #3857)[1], NFT (557458817975150405/GalaxyKoalas # 717)[1], NFT (558043466689184574/Tree of Life#6/50)[1], NFT
                                      (571739725488890166/Saudi Arabia Ticket Stub #1317)[1], SHIB[.00126905], SOL[38.88666200], UNI[281.88213], USD[8403.07], USDT[0.00000001]

08140851                              USD[500.01]

08140865                              ETH[.00115463], ETHW[.00115463], NFT (374143672078647337/KuArmy #11)[1], NFT (411038233170099693/Solninjas #2092)[1], NFT (542705043077815480/Hall of Fantasy League #220)[1],
                                      USD[0.00]
08140879                              BTC[.00345366], USD[0.00], USDT[0.00056681]

08140891                              ETHW[1.40813883], USD[0.00]                                                                                                                                                                  Yes

08140904                              ETH[.04507751], ETHW[.04451663], USD[0.00]                                                                                                                                                   Yes

08140905                              SOL[31.62938624], USD[0.00]

08140915                              USD[0.01]

08140934                              BAT[2.85222448], DOGE[21.49152748], USD[2.00]

08140935                              ETHW[1.551], USD[0.22]

08140943                              DOGE[1], SHIB[6], USD[0.01], USDT[0.00003194]

08140944                              USD[0.01]                                                                                                                                                                                    Yes

08140962                              USD[200.01]

08140968                              CUSDT[2], DOGE[466.23519349], MATIC[30.66457903], USD[0.24], YFI[.00263852]                                                                                                                  Yes

08140973                              DOGE[154.91799329], LINK[4.27401079], USD[0.01]                                                                                                                                              Yes

08140982                              ALGO[890.0326939], BRZ[3], BTC[.00466681], CUSDT[6], DOGE[2], ETH[.13830923], ETHW[10.92134169], LINK[5.70734478], LTC[.52549815], MATIC[70.56070829], SHIB[2765435.07764087],               Yes
                                      SOL[7.31922981], TRX[1848.47784415], USD[0.00]
08140989                              BAT[0], BTC[0], CUSDT[0], DOGE[59.11142557], ETH[0], GRT[0], LINK[0], SHIB[1], SOL[0], SUSHI[0], USD[0.00], USDT[0]

08140996                              USD[0.00], USDT[0]

08141023                              NFT (433755681836076472/FTX - Off The Grid Miami #5186)[1]

08141044                              BTC[0.01998000], SOL[.999], USD[0.01], USDT[1102.39]

08141054                              USD[1.45]

08141062                              BAT[7.992], BTC[.00047752], USD[92.27]

08141070                              TRX[.001554], USDT[0]

08141077                              CUSDT[3], DOGE[2], ETH[.52821642], ETHW[.52821642], GRT[1], LTC[9.7562985], SOL[5.94126717], TRX[5], USD[0.00]

08141087                              DOGE[1], SHIB[1], SOL[47.00185377], USD[0.00]

08141089                              ETH[0]

08141092                              USD[0.00]

08141095                              DOGE[.00047753], SHIB[0], TRX[1]                                                                                                                                                             Yes

08141105                              USD[11.00]
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                                                                                                                                              Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08141108                              NFT (301495987922150382/Heavenly water#039)[1], SHIB[5], USD[0.00]                                                                                                                         Yes

08141116                              USD[20.51]

08141122                              ETH[.005], ETHW[.005], USD[95.53]

08141134                              USD[0.00]

08141161                              CUSDT[2], SHIB[563907.70102679], TRX[273.20283613], USD[0.00]                                                                                                                              Yes

08141163                              AAVE[1.08309589], CUSDT[1], USD[270.51]                                                                                                                                                    Yes

08141167                              CUSDT[2], ETH[0], SOL[0], TRX[1]                                                                                                                                                           Yes

08141169                              PAXG[.00297721], USD[0.00]                                                                                                                                                                 Yes

08141179                              USD[20.00]

08141183                              SHIB[3500000], USD[0.94]

08141184                              BTC[.00101092], USD[0.00]

08141196                              ETH[0], SOL[.013], USD[2.50]

08141198                              BRZ[2], DOGE[1], ETH[.00000177], ETHW[.0000033], GRT[1], LINK[0], NFT (566885024793363796/FTX - Off The Grid Miami #6546)[1], TRX[1], USD[0.00]                                            Yes

08141206       Contingent, Disputed   USD[0.00]                                                                                                                                                                                  Yes

08141208                              BTC[.00000002], ETH[.00000213], ETHW[.00000213], LINK[.00034875], SOL[.00001499]                                                                                                           Yes

08141215                              TRX[307.440475]

08141221                              USD[20.00]

08141235                              AVAX[5.32979405], BAT[8.52285036], BF_POINT[400], BRZ[2], CUSDT[19], DOGE[10733.78878745], ETH[.08748009], ETHW[.08645565], LINK[2.94641018], MATIC[71.07507635],                          Yes
                                      SHIB[1614891.28306585], SOL[10.59992432], TRX[6], USD[0.01]
08141237                              CUSDT[3], DOGE[34.15476757], SHIB[492811.99150488], SUSHI[1.31703787], USD[0.03]                                                                                                           Yes

08141241                              USD[57.18]

08141242                              ETH[.0008841], ETHW[.0008841], USD[0.00]

08141253                              DOGE[.64589864], SOL[.00096687], USD[0.00], USDT[0]

08141262                              CUSDT[6], DOGE[2], ETHW[.146998], SHIB[1], TRX[4], USD[393.45]

08141265                              GRT[15], USD[8.96]

08141266                              CUSDT[1], SOL[.00015817]                                                                                                                                                                   Yes

08141279                              LTC[.00713895], USD[1.00]

08141281                              USD[0.01], USDT[0]

08141288                              SHIB[563952.1768554], USD[0.02]

08141306                              SOL[.16849719], TRX[1], USD[0.00]                                                                                                                                                          Yes

08141322                              TRX[25115.797177]

08141325                              AAVE[.01992375], BCH[0.00070551], BRZ[8.69459688], BTC[.00011757], CUSDT[116.07398408], DOGE[1.5942124], ETH[.00190806], ETHW[.0018807], MATIC[3.41364224], SHIB[3],                       Yes
                                      SUSHI[.03569789], UNI[.0186215], USD[7.23], YFI[0.00000207]
08141326                              CUSDT[1], NFT (488655351667254435/Coachella x FTX Weekend 1 #983)[1], SOL[1.86983331], USD[0.00]                                                                                           Yes

08141332                              BTC[.00044206], CUSDT[4], DOGE[1], ETH[.00634821], ETHW[.00626613], SOL[1.07035411], USD[0.00]                                                                                             Yes

08141375                              SOL[.48], USD[0.28]

08141389                              CUSDT[1], USD[0.00]

08141390                              BCH[0], BTC[0], DOGE[0], ETH[0], LTC[0], MATIC[0], MKR[0], SHIB[0], SOL[0], TRX[0], UNI[0], USDT[0]

08141410                              CUSDT[2], SHIB[1], TRX[3], USD[0.00], USDT[0]

08141414                              NFT (332835676622673373/Cosmic Creations #560)[1], NFT (352121390891729995/Reflection '14 #59)[1], NFT (374654195859687401/Golden Hill #23)[1], NFT (461357467964286732/Beasts #804)[1],
                                      SOL[.08898059], USD[0.00]
08141417                              USD[0.00]                                                                                                                                                                                Yes

08141423                              BAT[0], CUSDT[1], DAI[0], ETH[0], ETHW[0], MATIC[.0000257], MKR[0], SOL[0], SUSHI[0], USD[0.00]                                                                                            Yes

08141426                              BAT[1], BRZ[1], CUSDT[3], DOGE[1], ETHW[1.90695281], MKR[.00643777], SHIB[2], SUSHI[2.54570321], TRX[2], USD[0.01], USDT[0.00000001]

08141428                              LTC[.04737516], SHIB[226039.7830018], USD[30.00]

08141437                              USD[50.00]

08141438                              SHIB[205507.60378133], TRX[101.517236], USD[0.00]

08141439                              BAT[25.17047171], CUSDT[1], USD[0.00]                                                                                                                                                      Yes

08141458                              SOL[9.69584218], USD[0.01]

08141459                              SOL[5.89044386], USD[314.76]                                                                                                                                                               Yes

08141481                              DOGE[.00021064], SHIB[2], USD[0.00]                                                                                                                                                        Yes

08141497                              CUSDT[1], SOL[.10530609], USD[0.00]

08141509                              NFT (429992320172386021/FTX - Off The Grid Miami #6342)[1]

08141514                              NFT (398682538662524647/Tim Brown's Playbook: Kansas City Chiefs vs. Oakland Raiders - December 9, 2001 #49)[1], NFT (436079859529231896/Shannon Sharpe's Playbook: Baltimore Ravens vs.   Yes
                                      Denver Broncos - December 31, 2000 #83)[1], NFT (440216200773007204/Shannon Sharpe's Playbook: Kansas City Chiefs vs Denver Broncos - October 4, 1992 #87)[1], USD[0.03]
08141515                              BRZ[1], CUSDT[3], USD[0.01]

08141522                              BTC[0], ETH[0], ETHW[0], MKR[0], PAXG[0], USD[0.00], USDT[0.00000001]

08141526                              BAT[0], BTC[0], ETH[0], KSHIB[643.254717], SHIB[485392.68204272], SOL[0.16100000], USD[5.88]

08141535                              CUSDT[2], TRX[581.425267], UNI[.99707661], USD[54.00]                                                                                                                                      Yes

08141538                              CUSDT[1], SOL[1.09089382], USD[0.00]                                                                                                                                                       Yes

08141541                              LTC[.04774072]
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                                                                                                                                              Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08141543                              USD[0.00], USDT[0]

08141544                              TRX[1], USD[0.01]

08141550                              USD[0.00]

08141558                              USD[0.00]

08141559                              ETH[1.06717329], ETHW[1.06717328], NFT (290479676887497839/Tina Maze - Common)[1], NFT (349662622054611656/Chris Mazdzer - Common)[1], NFT (390577622894794198/Lindsey Jacobellis -
                                      Bronze)[1], NFT (391861735420235931/Lindsey Jacobellis - Bronze)[1], NFT (443692592611983938/Hilary Knight - Common)[1], NFT (455039873020863771/Kendall Coyne Schofield - Common)[1],
                                      NFT (474927254345443054/Tina Maze - Bronze)[1], NFT (495070729391682125/Hilary Knight - Common)[1], NFT (509279031780454953/Tina Maze - Bronze)[1], NFT (519987616804997235/John
                                      Shuster - Common)[1], USD[2.02]
08141563                              BRZ[3], BTC[.00000001], CUSDT[34], DOGE[7.03174324], ETH[.00000008], ETHW[.00000008], LINK[.00044877], SHIB[5], TRX[7], USD[0.00], USDT[0]                                             Yes

08141575                              BTC[.00020577], USD[0.00]

08141581                              CUSDT[1], SHIB[2998393.177933], USD[0.00]                                                                                                                                               Yes

08141586                              USD[0.00], USDT[0.00018030]

08141588                              AAVE[.00039726], USD[0.00], USDT[0]

08141593                              NFT (307051127054429310/Birthday Cake #2575)[1], NFT (325789527324824268/The 2974 Collection #1817)[1], NFT (511997870697437872/Birthday Cake #1817)[1], NFT (536227049722423719/The
                                      2974 Collection #2575)[1], USD[26.81]
08141596                              AAVE[.51961147], AVAX[1.08923731], BAT[36.82871854], BCH[1.42293619], BRZ[3], BTC[.00263231], CUSDT[30], DAI[13.54765536], DOGE[11182.73797218], ETH[.07567207], ETHW[.0747322],        Yes
                                      GRT[2.00105965], KSHIB[514.56429676], LINK[2.93718803], LTC[.16127828], MATIC[744.93596506], MKR[.09948748], PAXG[.00990049], SHIB[62807544.13756094], SOL[1.80080694],
                                      SUSHI[117.78282365], TRX[9], UNI[4.770889], USD[108.42], USDT[2.15192603], YFI[.02886427]
08141598                              ETH[.00000001]

08141604                              LTC[.50042189], USD[94.33]

08141616                              SOL[.00779019], USD[0.05], USDT[.13388169]

08141620                              USD[54.02]                                                                                                                                                                              Yes

08141641                              BF_POINT[200]

08141645       Contingent, Disputed   USD[0.00]

08141647                              AAVE[0], BAT[1.00165433], BRZ[1], CUSDT[3], DOGE[2], GRT[1], TRX[3], USD[0.00], USDT[1.06875336]                                                                                        Yes

08141653                              CUSDT[1], SOL[.93592622], USD[0.37]                                                                                                                                                     Yes

08141656                              CUSDT[1], SHIB[914907.47323774], USD[0.00]                                                                                                                                              Yes

08141658                              USD[0.00]                                                                                                                                                                               Yes

08141663                              DOGE[29.74169174], ETH[.00021657], ETHW[.00021657], NFT (479578664982431597/Earl Campbell's Playbook: Texas vs. Houston - November 5th, 1977 #106)[1], SOL[.00438766], USD[4.66]

08141672                              CUSDT[1], SHIB[1449313.72930768], USD[0.00]                                                                                                                                             Yes

08141678                              NFT (447674802742584139/Humpty Dumpty #562)[1]                                                                                                                                          Yes

08141696                              BTC[.00003507], ETH[.0000018], ETHW[.1617362]                                                                                                                                           Yes

08141700                              USD[0.00], USDT[0]

08141704                              NFT (366222142748074111/Coachella x FTX Weekend 2 #21255)[1]

08141709                              BRZ[1], BTC[0], CUSDT[4], DOGE[0], SHIB[1], USD[0.00]                                                                                                                                   Yes

08141725                              USD[235.32]

08141729                              ETH[0], MATIC[0], SOL[0], USD[0.00], USDT[0]

08141739                              USD[0.00]

08141743                              BF_POINT[200], USD[0.00]

08141745                              NFT (298092583543973960/Tim Brown's Playbook: New York Jets vs. Oakland Raiders - December 2, 2002 #70)[1], NFT (415105709503015546/I Am Art …)[1], NFT (572630450110944980/Ja Morant
                                      Player Card w/ Young Dolph & Key Glock Courtside)[1], USD[4.20]
08141746                              SOL[.23669386], USD[0.00]

08141748                              BTC[.0004536], CUSDT[1], SHIB[207168.01325875], SOL[0.22200142], USD[0.00]

08141751                              BAT[1], BRZ[1], DOGE[13.27684936], GRT[1], SHIB[4], TRX[9], USD[0.00], USDT[0]                                                                                                          Yes

08141756                              USD[5.00]

08141763                              CAD[0.00], CUSDT[11], DOGE[2], MATIC[57.18916003], SHIB[5], TRX[2], USD[0.00]                                                                                                           Yes

08141782                              CUSDT[4], DOGE[2], ETH[.0004263], ETHW[.0004263], SHIB[1556723.12464856], TRX[4], USD[-15.90]                                                                                           Yes

08141802                              BTC[.00000341], DOGE[56.98010155], ETH[0.00020657], ETHW[0.00020657], GRT[1.03701201], USD[0.00], USDT[0.00002462]                                                                      Yes

08141806                              AVAX[1.01821331], BTC[1.82433806], DOGE[32216.31243446], ETH[1.57763052], ETHW[1.57716002], LTC[34.08470952], MATIC[2048.81284381], MKR[1.05606551], SHIB[41652217.69593755],           Yes
                                      SOL[.00000913]
08141817                              NFT (347446011921962370/Warriors 75th Anniversary Icon Edition Diamond #2027)[1]

08141819                              BCH[.00175747], BTC[.00002048], DOGE[4.89052485], ETH[.000246], ETHW[.000246], KSHIB[29.00322863], LTC[.00488191], SOL[.00464252], USD[2.17]                                            Yes

08141820                              ETH[.00228447], ETHW[.00228447], USD[0.00]

08141827                              CUSDT[971.69263148], DOGE[1], SHIB[540492.78045935], SOL[.42899912], USD[22.72]                                                                                                         Yes

08141836                              CUSDT[1], SOL[.07645314], USD[0.00]

08141877                              BTC[.02434993], DOGE[1], GRT[3.07308752], SOL[8.37792239], TRX[1], USD[536.12]                                                                                                          Yes

08141879                              USD[1.00]

08141885                              USD[0.00]

08141891                              ETH[0.00000002], ETHW[0.00000002], SOL[.00000041], USD[0.02]                                                                                                                            Yes

08141897                              LTC[0], MATIC[0], USD[0.00], USDT[0.00000001]                                                                                                                                           Yes

08141901                              LTC[0], SHIB[.00000001]                                                                                                                                                                 Yes

08141902                              DOGE[.01122431], USD[0.00]

08141904                              BAT[94.905], USD[1.01]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08141905                              USD[108.04]                                                                                                                                                                          Yes

08141913                              BAT[1], BTC[.00000002], CUSDT[12], DOGE[8.11151038], ETH[.15339568], ETHW[.05721936], GRT[1], LTC[18.59743861], MATIC[296.60080764], NFT (533661374260045462/FTX - Off The Grid      Yes
                                      Miami #4962)[1], SHIB[8], SOL[40.95871607], TRX[7], USD[0.00], USDT[1.05520481]
08141921                              KSHIB[578.25475313], USD[0.00]

08141926                              USD[0.00]

08141930                              NFT (303755815974522697/Morning Rays )[1], NFT (350949902715910139/On The Dock #2181)[1], NFT (452980388716766626/London Bridge Arial #2 Of 5 )[1], SHIB[37218458.62841518],         Yes
                                      TRX[11.51356757], USD[0.00]
08141937                              BTC[.00016105]

08141973                              DOGE[346.84082084], ETH[0], SHIB[1], SOL[0], USD[0.00]                                                                                                                               Yes

08141978                              USDT[123.23599574]                                                                                                                                                                   Yes

08142004                              NFT (535093531668804383/Australia Ticket Stub #2206)[1]

08142007                              USD[100.00]

08142014                              NFT (400093208324138365/Pill #18)[1], USD[3.00]

08142037                              ALGO[6.9937], DOGE[66.9397], LINK[61.84429], MATIC[999.1], MKR[.7589398], SHIB[37166520], SOL[51.005046], TRX[3068.2361], USD[0.10]

08142041                              USD[100.00]

08142042                              BRZ[1], SUSHI[.00002307], TRX[2], USD[0.01]

08142048                              UNI[.0942]

08142050                              USD[0.01], USDT[.1505278]

08142051                              USD[100.00]

08142052       Contingent, Disputed   BTC[.0007541], USD[0.13]

08142057                              CUSDT[4], DOGE[406.21317889], SHIB[630994.44724886], USD[0.00]

08142073                              USD[10.00]

08142094                              USD[5.00]

08142101                              LTC[.495], USDT[1.04680735]

08142126                              BRZ[1], DOGE[650.08539944], ETH[.00000001], SOL[0], USD[0.63]

08142144                              BTC[0.00000002], ETH[0]

08142148                              CUSDT[1], ETH[.00861187], ETHW[.00850243], USD[0.00]                                                                                                                                 Yes

08142166       Contingent, Disputed   USD[0.00]

08142185                              BTC[0], USD[0.54]

08142189                              USD[9.34]

08142194                              BTC[0.01916054], ETH[2.33249010], ETHW[2.33249010], MATIC[0], SOL[0], UNI[0], USD[10.86], USDT[0.00001981]

08142195                              CUSDT[4], DOGE[0], NFT (322718483692597673/Divine Soldier #7079)[1], NFT (359348361745303708/#4090)[1], SHIB[1], TRX[2], USD[0.00]                                                   Yes

08142197                              USD[50.01]

08142201                              BTC[.00020039], CUSDT[1], USD[0.02], USDT[10.84351727]                                                                                                                               Yes

08142218                              USDT[0]

08142227                              USD[5.40]                                                                                                                                                                            Yes

08142283                              BAT[107.42583825], LINK[3.84143475], TRX[1157.38922466], USD[0.00]                                                                                                                   Yes

08142294                              MATIC[3.36082349], TRX[1], USD[5.40], YFI[.00031373]                                                                                                                                 Yes

08142296                              USD[0.01]                                                                                                                                                                            Yes

08142308                              NFT (362449754272499141/The Hill by FTX #1002)[1], NFT (465518563521296382/Spectra #920)[1], NFT (532161884153384159/Microphone #318)[1], NFT (533319894025870043/Australia Ticket
                                      Stub #189)[1], NFT (562762392669439973/Entrance Voucher #217)[1], USD[2.00]
08142319                              BCH[0], MATIC[0], USD[0.41]                                                                                                                                                          Yes

08142320                              BTC[.0004437], CUSDT[4], DOGE[111.19342884], ETH[.00600333], ETHW[.00600333], SOL[.11681306], USD[0.00]

08142325                              SOL[.00288779], USD[1290.73]

08142327                              ARS[0.00], USD[0.00], USDT[0]

08142338                              SOL[2.35], USD[0.73]

08142353                              USD[0.16]

08142355                              USD[0.99], USDT[11.89875859]

08142361                              BTC[0.00006217], ETH[0], ETHW[0], LTC[0], SOL[0], USD[0.00], USDT[0.00000070], WBTC[0]

08142364                              BAT[1.01240494], BTC[.00953732], USD[0.00]                                                                                                                                           Yes

08142386                              LTC[0], USD[0.65]

08142409                              SOL[.03222697], USD[0.00]

08142410                              SOL[1.2122281], USD[0.00]

08142417                              CUSDT[2], DAI[5.3551411], USD[0.00], USDT[5.37586714]                                                                                                                                Yes

08142422                              SOL[.04319847], USD[0.00]

08142424                              ETH[.01696895], ETHW[.01676375], SHIB[1], USD[0.53]                                                                                                                                  Yes

08142426                              BCH[0], BTC[0], USD[0.00], USDT[0.00000356]

08142451                              AVAX[3.38794828], LINK[10.9132135], MATIC[74.27426239], USD[1.66]

08142459                              BRZ[2], DOGE[1474.50491959], USD[0.00]

08142465                              ETH[.24099969], ETHW[.24099969]
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              Disputed Indicator
08142473                              DOGE[.06068361], LINK[0], USD[2.92]                                                                                                                                               Yes

08142477                              NFT (377623313020324645/Fortune Cookies #3097)[1]

08142481                              BRZ[1], CUSDT[1], LINK[8.63035753], SHIB[5017188.75211992], USD[107.99]                                                                                                           Yes

08142498                              LTC[.00005327], SHIB[4], USD[0.00]                                                                                                                                                Yes

08142499                              BRZ[1], BTC[.00007309], USD[3.51]                                                                                                                                                 Yes

08142512                              USD[0.00], USDT[0]

08142532                              USD[150.00]

08142539                              SOL[5.10629], USD[1.20]

08142540                              CUSDT[1], SHIB[7533968.27991832], USD[108.04]                                                                                                                                     Yes

08142549                              BTC[.00008619], CUSDT[1], UNI[.53361979], USD[0.00]                                                                                                                               Yes

08142557                              BRZ[1], CUSDT[1], DOGE[1], MATIC[.00258833], USD[0.00], USDT[0]                                                                                                                   Yes

08142561                              SOL[.00103005], USD[0.00], USDT[.007085]

08142600                              CUSDT[1], SOL[.0558116], USD[55.10]                                                                                                                                               Yes

08142619                              USD[0.07]

08142631                              BTC[0], CUSDT[7], DOGE[2], ETH[0.00000014], ETHW[0.00000014], KSHIB[80.90060869], SOL[.19514945], TRX[1], USD[52.22]                                                              Yes

08142640                              CUSDT[3], DOGE[2], NFT (379740260042981001/The District #50-Rookie (Redeemed))[1], SHIB[2], USD[0.03]                                                                             Yes

08142641                              USD[20.00]

08142644                              SOL[.00000001]

08142657                              BTC[.00257848], CUSDT[6], DOGE[74.95927402], ETH[.04123778], ETHW[.04072701], LTC[1.27840853], SHIB[3], USD[0.00]                                                                 Yes

08142664                              SOL[1.01153249], USD[324.11]                                                                                                                                                      Yes

08142670                              ETH[.00002686], ETHW[.00002686], LTC[.00472977]                                                                                                                                   Yes

08142678                              CUSDT[1], TRX[255.80240624], USD[0.00]                                                                                                                                            Yes

08142701                              BTC[.00357064], USD[0.00]

08142727                              NFT (296875932758319602/Serum Surfers X Crypto Bahamas #168)[1], NFT (375915043120255038/Resilience #67)[1], USD[0.01], USDT[1.0800755]                                           Yes

08142745                              CUSDT[4], KSHIB[1007.44623662], MATIC[54.72547309], SHIB[2467156.33670256], SOL[.31913442], TRX[2], USD[0.00]                                                                     Yes

08142747                              BTC[.00007665], ETH[.00012927], ETHW[.02612927], USD[61.77]

08142759                              ETH[0.00000001], ETHW[0], USD[1.05]

08142767                              CUSDT[14], DOGE[2], ETHW[.08612273], SHIB[20], TRX[3], USD[221.98]

08142770                              USD[3.56]

08142772                              USD[0.00]

08142773                              ETH[0], SHIB[1], USD[0.00]                                                                                                                                                        Yes

08142777                              CUSDT[1], DOGE[1], SOL[0], USD[0.01]                                                                                                                                              Yes

08142778                              NFT (445780142847386558/Corroboc)[1], NFT (520253231570189288/Skol)[1], NFT (526403666002654849/Grace)[1], NFT (562532449492535200/Beaching)[1]

08142787                              CUSDT[2], LINK[2.87323708], LTC[.14553051], TRX[1], UNI[3.45791343], USD[0.00]                                                                                                    Yes

08142790                              ETH[0], USD[0.75]

08142810                              DOGE[1], GRT[1.00015038], SOL[98.77975807], TRX[1], USD[2.21], USDT[1.07690198]                                                                                                   Yes

08142820                              SOL[.0756194], USD[26.64]                                                                                                                                                         Yes

08142826                              USDT[0.00000176]

08142850                              BRZ[1], MATIC[395.13937363], TRX[1], USD[0.00]                                                                                                                                    Yes

08142855                              SOL[11.54886479], USD[0.00]

08142859                              BTC[.08525759], ETH[1.15331649], ETHW[1.15331649], TRX[1], USD[0.00], USDT[1]

08142868                              EUR[0.00], USD[0.00]

08142896                              USD[20.00]

08142898                              USD[117.40], USDT[0]

08142912                              DOGE[1], USD[0.00]

08142919                              ETH[1.534464], ETHW[1.534464], SHIB[387412200], SOL[59.28469], USD[5.79]

08142923                              CUSDT[1.13630254], SHIB[1], TRX[.00003868], USD[48.52]

08142925                              ETH[0], ETHW[0], NFT (492073738676389929/Achilles)[1], NFT (500340100827087323/Doak Walker's Playbook: Cleveland Brown vs. Detroit Lions - December 27, 1953 #88)[1], USD[0.21]

08142926                              BAT[1.22469047], BTC[.00006858], CUSDT[1], USD[0.92]

08142941                              DOGE[1], TRX[1], USD[0.01]                                                                                                                                                        Yes

08142942                              MATIC[50], USD[16.59]

08142947                              SOL[.0038]

08142949                              ETH[.01364074], ETHW[.01347658], TRX[1], USD[0.00]                                                                                                                                Yes

08142958       Contingent, Disputed   USD[0.00]

08142968                              CUSDT[1], DOGE[.00019704], SHIB[1], USD[40.93]

08142973                              SOL[.00422], USD[0.34]

08142976                              CUSDT[2], MATIC[7.31517183], USD[0.11]                                                                                                                                            Yes

08142978                              USD[0.00]
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              Disputed Indicator
08142986                           BRZ[30.14575188], CUSDT[14], DAI[.0001826], DOGE[119.36756759], ETH[.0112885], ETHW[.0111517], GRT[.00015704], KSHIB[387.99923538], LTC[.07704269], SOL[.2884878],                  Yes
                                   SUSHI[2.86552233], TRX[106.38070944], USD[0.19], USDT[16.11889925]
08142988                           CUSDT[2], SHIB[2382627.71355453], USD[0.00]

08142993                           BTC[.00008685], SOL[.02282444], USD[0.00]

08142995                           CUSDT[1], USD[0.21]                                                                                                                                                                 Yes

08143000                           USD[0.00], USDT[0]

08143007                           USD[10.00]

08143029                           MATIC[1.25871429], USD[0.00]                                                                                                                                                        Yes

08143030                           CUSDT[1], USD[0.00]

08143061                           SOL[1.31828692], USD[0.00]

08143064                           USD[20.00]

08143075                           SHIB[355937], USD[1.72]                                                                                                                                                             Yes

08143088                           USD[0.00]

08143091                           CUSDT[2], DOGE[1], SHIB[1], TRX[2], USD[56.91]                                                                                                                                      Yes

08143092                           BTC[0], CAD[0.00], ETH[0], SOL[0], USD[0.00]

08143094                           MATIC[1160], SOL[48.98], USD[0.45]

08143097                           NFT (301341172816611099/Smoke and his Wife #4)[1], NFT (321961737968282855/Smoke and his Wife #2)[1], NFT (399578771978437800/Smoke and his Wife #3)[1], NFT
                                   (425824371095970809/Close Up Series)[1], NFT (525893847889770905/Smoke and his Wife #5)[1], NFT (536442527858382772/Close Up Series #2)[1], NFT (547409653063800709/Smoke and his
                                   Wife)[1], NFT (553193907076141293/Close Up Series #3)[1], SOL[.172], USD[2.06]
08143108                           SHIB[2], USD[0.00], USDT[90.22410635]                                                                                                                                               Yes

08143110                           TRX[.948], USD[0.01]

08143114                           BAT[0], DAI[0], DOGE[0], GRT[0], USD[0.00], USDT[0]                                                                                                                                 Yes

08143118                           SHIB[14185800], USD[3.01]

08143139                           BTC[.0349], USD[1.42]

08143149                           BRZ[1], BTC[0], DOGE[2], ETH[0], LINK[0.00005754], SHIB[12], SOL[0], TRX[1], USD[0.00], USDT[0]                                                                                     Yes

08143153                           NFT (477338093610452886/FTX Crypto Cup 2022 Key #987)[1], USD[0.89]

08143159                           USD[11.05]

08143166                           CUSDT[2], DOGE[2741.35597006], SHIB[14771048.74446085], USD[0.00]

08143179                           DOGE[2], USDT[0.00000092]                                                                                                                                                           Yes

08143185                           USD[20.00]

08143203                           BRZ[2], BTC[.00000544], CUSDT[4], DOGE[3], ETH[0.00000024], ETHW[0.00000024], SHIB[4], SOL[2.83945244], TRX[1], USD[0.00]                                                           Yes

08143230                           CUSDT[1], ETH[.13102209], ETHW[.12996158], USD[0.32]                                                                                                                                Yes

08143233                           CUSDT[3], SOL[.00000001], TRX[121.43258548], USD[0.00]                                                                                                                              Yes

08143239                           NFT (553422188365851663/Microphone #189)[1]

08143244                           BCH[.00018202], USD[2.25]

08143245                           CUSDT[1], SHIB[1], USD[0.00]                                                                                                                                                        Yes

08143254                           ETH[2.738], ETHW[2.738], SOL[57.33], USD[1026.06]

08143261                           BTC[.00000017]                                                                                                                                                                      Yes

08143271                           BTC[.0020582], ETHW[.1858788], USD[183.32], USDT[0]

08143282                           USD[21.51]                                                                                                                                                                          Yes

08143284                           AVAX[1.18], MATIC[6.45], USD[4.71]

08143285                           USD[0.00]                                                                                                                                                                           Yes

08143289                           CUSDT[2], DOGE[3], TRX[.02371684], USD[0.01]                                                                                                                                        Yes

08143290                           USDT[.969773]

08143294                           BRZ[1], CUSDT[5], DOGE[1], SHIB[10704342.94687335], TRX[3], USD[0.00], USDT[0]                                                                                                      Yes

08143307                           DOGE[1], USD[0.00]

08143309                           AVAX[0], MATIC[0], SHIB[0], SOL[0], TRX[0], USD[0.02], USDT[0.00000092]

08143310                           USD[1.52]

08143334                           AVAX[.07004464], ETH[1.527471], ETHW[1.527471], USDT[3.6073865]

08143340                           DOGE[1], SHIB[2], USD[32.65]                                                                                                                                                        Yes

08143350                           ETH[.02311887], ETHW[.02311887]

08143355                           BRZ[2], DOGE[2], SHIB[31], TRX[1], USD[0.01]                                                                                                                                        Yes

08143356                           USD[100.00]

08143360                           ETH[1.1468268], ETHW[1.1468268], SOL[828.19544], USD[781.86]

08143367                           BAT[1.0122755], BRZ[1], CUSDT[97.16288937], ETH[0.00679322], ETHW[0.00671114], MATIC[6.51723664], SHIB[1842154.20238527], SOL[.41441729], USDT[0.32716905]                          Yes

08143376                           BRZ[1], USD[50.01]

08143377                           BTC[.0890473], DOGE[870], ETH[.119], USD[0.10]

08143380                           USD[0.01], USDT[0]

08143383                           USD[17.91]

08143386                           CUSDT[2], USD[0.00]                                                                                                                                                                 Yes
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              Disputed Indicator
08143399                           USD[20.00]

08143403                           BRZ[27.12567903], USD[27.29]                                                                                                                                                            Yes

08143407                           BRZ[1], BTC[.00096288], CUSDT[3], DOGE[123.24578932], ETH[.01924082], ETHW[.01900374], SHIB[1], USD[0.00]                                                                               Yes

08143409                           BTC[.00418899], DOGE[854.17050502], ETH[.03390382], ETHW[.03347974], SHIB[6117806.50645464], SUSHI[37.39248697], TRX[1], USD[0.00]                                                      Yes

08143414                           BRZ[2], CUSDT[2], GRT[1], SHIB[1], SOL[227.01505228], TRX[11], USD[0.02], USDT[2.07780482]                                                                                              Yes

08143417                           PAXG[.00000001], USD[1.14]                                                                                                                                                              Yes

08143432                           CUSDT[1.02086805], GRT[1.0045642], KSHIB[25.75019988], SHIB[534584.84723802], USD[3.91], USDT[0]                                                                                        Yes

08143440                           CUSDT[6], USD[0.00]

08143448                           BTC[.210789], ETH[2.53746], ETHW[2.53746], USD[501.96]

08143449                           USD[0.01]

08143450                           CUSDT[1], USD[0.02]                                                                                                                                                                     Yes

08143464                           DOGE[1], SOL[.01040093], TRX[1], USD[0.00]                                                                                                                                              Yes

08143468                           USD[0.01]                                                                                                                                                                               Yes

08143472                           USD[0.00]

08143476                           ALGO[0], BTC[.00000001], SHIB[1], SOL[0]                                                                                                                                                Yes

08143477                           LINK[3.92385916]                                                                                                                                                                        Yes

08143483                           AAVE[.00000371], CUSDT[1], DOGE[1], GRT[1], LINK[0.00052623], SHIB[1], SOL[.00011656], TRX[3], USD[0.00], USDT[1.04859565]                                                              Yes

08143485                           NFT (311683918562264855/Coachella x FTX Weekend 1 #13147)[1]

08143487                           SOL[.00068547], USD[0.01]

08143491                           DOGE[46.50920763], ETH[.00245796], ETHW[.0024306], MATIC[3.17527976], USD[0.00]                                                                                                         Yes

08143497                           BTC[.001847], DOGE[198.91640018], SHIB[39641.37189776], TRX[1851.85703638], USD[0.01]                                                                                                   Yes

08143504                           DOGE[1], SOL[0], USD[0.02]

08143509                           CUSDT[3], DOGE[2], MATIC[13.68835508], SHIB[199635.43374826], SOL[.00000215], USD[0.00]                                                                                                 Yes

08143511                           USD[28.08]                                                                                                                                                                              Yes

08143515                           BTC[0], ETH[.00000002], ETHW[0], LTC[0], SOL[0], USD[0.00]

08143519                           USD[15.00]

08143520                           CUSDT[1], DOGE[1], SHIB[3], SOL[10.85999967], TRX[2], USD[0.00]                                                                                                                         Yes

08143526                           USD[0.10]

08143528                           ETH[.00477679], ETHW[.00472207], USD[0.00]                                                                                                                                              Yes

08143529                           USD[3.87]

08143532                           AVAX[2.56452728], BRZ[1], DOGE[2], ETHW[.17254509], MATIC[55.49955958], SHIB[7], SOL[2], TRX[1], USD[0.01]

08143536                           BRZ[1], CUSDT[1], USD[0.20]                                                                                                                                                             Yes

08143546                           SOL[.0034258], USD[0.00]

08143554                           AVAX[1.07262374], BTC[.00113877], DOGE[107.17984746], ETH[.05741316], ETHW[.0567018], SHIB[535815.80935208], SOL[1.05905657], USD[0.07]                                                 Yes

08143573                           USD[0.00]

08143582                           BRZ[1], BTC[.00197541], DOGE[2], ETH[.65387647], ETHW[.65360185], SHIB[1], USD[9.40], USDT[1.06523569]                                                                                  Yes

08143585                           DOGE[.905], USD[17.11]

08143587                           BRZ[1], BTC[.00006783], CUSDT[2], DOGE[4], GRT[1], TRX[3], USD[26.33], USDT[2]

08143592                           BTC[0], ETHW[1.138974], USD[17315.51]

08143602                           CUSDT[1], USD[0.06]                                                                                                                                                                     Yes

08143604                           CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                            Yes

08143616                           KSHIB[1212.54479443], TRX[1], USD[0.01]                                                                                                                                                 Yes

08143617                           NFT (313479950584702161/BitCaptain)[1], NFT (316822442661282406/Solana Islands #1854)[1], NFT (336499671958788380/PixelPuffins #1941)[1], NFT (344062807202542272/Divine Soldier
                                   #4354)[1], NFT (344525935505951850/Oink 1501)[1], NFT (361553134049418490/Inaugural Collection #764)[1], NFT (396885237563149148/Toasty Turts #2647)[1], NFT
                                   (402021755916742553/Baddies #1363)[1], NFT (406187686278052301/Inaugural Collection #596)[1], NFT (410306177116080951/Toasty Turts #2809)[1], NFT (411346551338939822/Anti Social Bot
                                   #3606)[1], NFT (414406061915736439/BitCaptain #1247)[1], NFT (421049296907343477/The Hellions #783)[1], NFT (426310652121043397/Nois3)[1], NFT (428986196652023633/Divine Soldier
                                   #3003)[1], NFT (436905872729986265/Toasty Turts #1751)[1], NFT (437649866651724761/Solbucks Brew Club #4618)[1], NFT (450471674470851804/Inaugural Collection #147)[1], NFT
                                   (459195857326146406/Divine Soldier #3990)[1], NFT (459435767925485996/#4372)[1], NFT (468707270925998270/Inaugural Collection #595)[1], NFT (469052972691088027/#6328)[1], NFT
                                   (474456553774024860/Solana Penguin #2497)[1], NFT (488947417008770440/Synesthesia #1092)[1], NFT (498177606496298088/DOTB #6201)[1], NFT (499767750391226509/Eitbit Ape #5063)[1],
                                   NFT (501020211077036755/SolFractal #6394)[1], NFT (518260289078093949/SolFractal #4952)[1], NFT (520597542817504342/Inaugural Collection #981)[1], NFT (535114661900114067/Monk
                                   #5723)[1], NFT (536172155318444655/Divine Soldier #3069)[1], NFT (546978729145837645/Rogue Circuits #4246)[1], NFT (551057058137239170/DOTB #6297)[1], NFT (553385037991545608/Divine
                                   Soldier #357)[1], NFT (555692665246222937/Divine Soldier #5456)[1], NFT (575820392255939167/Eitbit Ape #1920)[1]

08143624                           USD[0.01]

08143627                           CUSDT[1], UNI[4.86863758], USD[0.00]                                                                                                                                                    Yes

08143631                           BTC[.0043301], CUSDT[2], ETH[.05719871], ETHW[.05719871], USD[0.00]

08143633                           BTC[.00088391], ETH[.01187325], ETHW[.01172277], SOL[.30249318]                                                                                                                         Yes

08143636                           BTC[.00000002], CUSDT[8], DOGE[5], ETH[.00000001], ETHW[0], MATIC[7.36979765], SOL[0], TRX[3], USD[0.00], USDT[1.07880455]                                                              Yes

08143643                           BTC[.00033108], LTC[.03], SOL[.10989], USD[0.00]

08143644                           BTC[0], ETH[.00000001], ETHW[0], NFT (288872972561120344/Reflection '15 #57)[1], NFT (305935977789395356/Night Light #707)[1], NFT (321651377456578922/Ferris From Afar #679)[1], NFT
                                   (390746713861596468/Beasts #585)[1], NFT (416907378119887309/Sun Set #416)[1], NFT (421081235970182367/Reflection '15 #60)[1], NFT (471860249508336784/Reflection '16 #84)[1], NFT
                                   (524404298600752587/Colossal Cacti #579)[1], NFT (565898255506225492/Reflection '19 #95)[1], USD[4.44]
08143646                           BTC[.00149422], CUSDT[4], ETH[.00872848], ETHW[.00861904], SOL[.17132983], USD[0.00]                                                                                                    Yes
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08143661                           ETHW[.390685], NFT (383144624154613584/Orange Peonie)[1], NFT (398118642214652761/Pink Peonie)[1], NFT (460409384864932334/Purple Peony)[1], NFT (513322141654957521/Blue
                                   Peonie)[1], USD[0.08]
08143669                           SHIB[2900000], USD[0.17]

08143673                           BTC[.0104896], LTC[1.00899], USD[2.98]

08143674                           USD[2.00]

08143699                           BTC[.00174]

08143709                           USD[500.00]

08143721                           USD[0.01]                                                                                                                                                                          Yes

08143722                           BRZ[0], CUSDT[2], DOGE[1], SHIB[1], SUSHI[0], TRX[2], USD[0.01]                                                                                                                    Yes

08143725                           NFT (315692784768498128/Spectra #209)[1], NFT (367699794662416773/Vintage Sahara #550)[1], USD[99.63]

08143732                           CUSDT[1], ETH[.00000025], ETHW[.00000025], SHIB[2], TRX[1], USD[0.00]                                                                                                              Yes

08143742                           BTC[0.00580322], USD[0.00]

08143745                           BAT[1], BRZ[2], DOGE[1], SHIB[3], TRX[5], USD[0.00], USDT[1]

08143752                           EUR[0.00], USD[0.00], USDT[0]

08143760                           ETH[.00000001], ETHW[0]

08143769                           USD[2.55]

08143780                           MATIC[380], SOL[550.01695081], USD[0.25]

08143782                           BTC[.0001731], USD[11.00]

08143788                           BRZ[12.78821371], BTC[.00000005], ETHW[.03701337], LTC[.05317154], SHIB[74.02278288], TRX[4], USD[0.09], USDT[0]                                                                   Yes

08143793                           ETH[.066], ETHW[.066], USD[750.83]

08143797                           USD[0.00]

08143804                           ETH[.01053287], ETHW[.01039663]                                                                                                                                                    Yes

08143810                           TRX[1], USD[0.00]

08143825                           CUSDT[3], USD[0.01]

08143826                           SOL[.01]

08143827                           USD[25.00]

08143832                           SHIB[3], USD[0.00], USDT[0.00000001]                                                                                                                                               Yes

08143834                           CUSDT[3], DOGE[2], SHIB[1], USD[0.00]                                                                                                                                              Yes

08143835                           AAVE[1.29066621], ALGO[28.96787181], AVAX[1.53021645], BAT[0], BCH[1.18587054], BTC[0], CUSDT[0], DOGE[0], ETH[0], ETHW[0], GRT[0], KSHIB[0], LINK[1.72525205], LTC[1.10015075],   Yes
                                   MATIC[169.47551772], MKR[0], NEAR[4.00058287], NFT (318828245628459938/FTX Crypto Cup 2022 Key #2960)[1], NFT (511335200953459594/The Hill by FTX #6786)[1], SHIB[1],
                                   SOL[2.02844524], SUSHI[0], TRX[0], UNI[1.75025568], USD[0.00], USDT[0]
08143843                           BRZ[1], SHIB[4015841.49417865], USD[0.00]                                                                                                                                          Yes

08143845                           CUSDT[2], GRT[1], SHIB[3], TRX[5], USD[0.03], USDT[0.00000001]                                                                                                                     Yes

08143846                           SOL[4.19720185], TRX[1]                                                                                                                                                            Yes

08143848                           MATIC[410], SOL[.18965429], USD[2.01]

08143851                           USD[0.00]

08143857                           USD[422.39]

08143871                           BAT[.88], BCH[.00093], DOGE[.837], ETH[.000985], ETHW[.000985], GRT[.93], KSHIB[9.75], SOL[.00917], UNI[.0995], USD[6.13], USDT[.2640928]

08143879                           BCH[.01911328], BTC[.00126941], CUSDT[3], ETH[.00353896], ETHW[.00349792], SHIB[477375.16982204], USD[3.56], USDT[10.07564579]                                                     Yes

08143889                           ETH[0], ETHW[0], TRX[1]

08143895                           USD[0.00]

08143906                           ALGO[.00860973], CUSDT[1], DOGE[1], ETH[.00000001], ETHW[0.11600039], SOL[.00005919], TRX[.10006352], USD[0.00]                                                                    Yes

08143912                           USD[1.00]

08143926                           USD[0.00]

08143929                           USD[0.00], USDT[0]

08143940                           USD[0.00]

08143944                           ETH[.00060306], MATIC[1.21006578], SUSHI[.13381929], USD[47565.61], USDT[0.00000998]                                                                                               Yes

08143945                           BTC[.03151645], ETH[1.04871546], ETHW[1.04871546], USD[0.00]

08143946                           DAI[.72486161], ETHW[.0317893], USD[4.02]

08143953                           BAT[1], BRZ[1], CUSDT[4], DOGE[1], ETHW[.12024301], SHIB[2], USD[0.01]                                                                                                             Yes

08143954                           BF_POINT[100], CUSDT[1], DOGE[1], SHIB[2], TRX[1], USD[0.01]

08143955                           NFT (343023733618183033/The Hill by FTX #356)[1]

08143959                           NFT (542085458611226606/Little Rocks #1419)[1]

08143963                           USD[432.12]                                                                                                                                                                        Yes

08143964                           BAT[1.61724339], CUSDT[180.82107366], DOGE[13.72109695], MATIC[1.22249154], USD[9.92]                                                                                              Yes

08143975                           USD[540.17]                                                                                                                                                                        Yes

08143984                           BTC[.00226481], DOGE[1], USD[0.80]                                                                                                                                                 Yes

08143985                           BTC[.00000028], ETH[.00001495], ETHW[.00001495]                                                                                                                                    Yes

08143986                           BRZ[1], CUSDT[1], USD[0.00]

08143996                           DOGE[1], LTC[.0523526], USD[1.00]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08144002                              BTC[.34932667]

08144006                              SOL[.00592593], USD[69.34]

08144022                              BTC[.00008288], USD[0.00]

08144032                              SOL[16.9847], USD[221.35]

08144037                              AVAX[0], TRX[.163412], USD[0.87], USDT[.01688405]                                                                                                                                     Yes

08144058                              CUSDT[2], DOGE[74.73340463], MATIC[4.27165953]                                                                                                                                        Yes

08144063                              USD[0.01]                                                                                                                                                                             Yes

08144072                              USD[10.00]

08144074                              USD[0.00]

08144084                              CUSDT[5], ETHW[.01371787], TRX[1], USD[0.00], USDT[1.02232766]                                                                                                                        Yes

08144087                              USD[0.11]

08144089                              ETH[.178821], ETHW[.178821], USD[1.97]

08144098                              AUD[0.00], BAT[0], BCH[0], BTC[0.00000001], CAD[0.00], CUSDT[2.00087387], DOGE[0], ETH[0], EUR[0.00], HKD[0.00], LINK[0.00000763], LTC[0], SOL[0.01815688], TRX[0], USD[3.09],        Yes
                                      USDT[0.00000001]
08144102                              USD[52.81], USDT[0.00000001]

08144107                              BTC[.00000001], CUSDT[1], USD[0.55]                                                                                                                                                   Yes

08144111                              NFT (438283716080532213/Ravager #633)[1], NFT (534402212951081343/Bored Bunny #1995)[1], SOL[.002]

08144113                              DOGE[0], ETH[0], ETHW[0], LINK[0], LTC[0], MATIC[0], NFT (556833854453450347/FTX - Off The Grid Miami #2083)[1], SOL[0], SUSHI[0], UNI[0], USD[0.00]

08144127                              BTC[.0002678]

08144133                              DOGE[44.31383875], USD[0.00]

08144137                              USD[1.08]                                                                                                                                                                             Yes

08144152                              BTC[.0133941], DOGE[347.949], SOL[1.08891], USD[2.49]

08144154                              BTC[.03876314], SOL[10.769759], USD[7.65]

08144155                              USD[0.00]

08144161                              AAVE[3.296865], DOGE[.14905], ETH[1.3660024], ETHW[1.3660024], GRT[500.52405], LINK[150.956455], LTC[1.1084955], MATIC[1508.5655], SHIB[25077105], SOL[5.226396], SUSHI[126.69125],
                                      USD[20.13]
08144164                              BRZ[1], CUSDT[4], DOGE[2], SOL[.00042623], TRX[4], USD[0.00]                                                                                                                          Yes

08144176                              BRZ[1], ETH[.12624687], ETHW[.12624687], SOL[1.03199199], USD[0.00], USDT[1]

08144181                              SOL[.01998], USD[0.52]

08144189                              USD[50.00]

08144195                              USD[25.00]

08144202                              BTC[.0017], SOL[.78], USD[0.62]

08144218                              USD[0.01]

08144245                              CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                          Yes

08144246                              MATIC[0], SOL[0], USD[0.00], USDT[0.00000118]

08144254                              USD[10.00]

08144266                              CUSDT[1], ETH[.00000023], ETHW[.00000023], USD[0.01], USDT[0.00003389]                                                                                                                Yes

08144271                              CUSDT[2], SOL[5.72871698], TRX[1], USD[0.00]                                                                                                                                          Yes

08144274                              USD[0.96]                                                                                                                                                                             Yes

08144275                              USD[0.00]

08144282                              CUSDT[1], GRT[56.29504539], USD[0.01]

08144284                              DOGE[1000], SHIB[4700000], SOL[2], TRX[999], USD[1071.70]

08144290                              BTC[.0040968], DOGE[45], ETH[0.02567542], ETHW[0.02567542], SHIB[200000], SUSHI[.4995], USD[1.06]

08144298                              USD[0.00]

08144299                              USD[0.00]

08144303                              USD[2.86]

08144305                              BTC[1.0213776], ETH[1.039959], ETHW[1.033965], SOL[140.61315], USD[4.04]

08144309                              USD[6.00]

08144315                              SOL[.0005279], USD[0.00]

08144320                              USD[0.00]

08144363                              KSHIB[194.56729207], MATIC[.5568318], USD[0.00], USDT[.99450673]

08144365                              BTC[0], DOGE[17.55972255], ETH[0], LTC[0], SHIB[20679.74804826], SOL[2.33312698], USD[0.00]

08144370       Contingent, Disputed   USD[10.00]

08144380                              USD[0.01]

08144388                              BRZ[2], DOGE[3], ETH[0], GRT[1], SHIB[2], TRX[1], USD[0.00], USDT[0.00000035]

08144391                              USD[14.51]                                                                                                                                                                            Yes

08144401                              CUSDT[1], ETH[.00615312], ETHW[.00615312], USD[0.00]

08144403                              AAVE[.00617349], AVAX[.01628666], BAT[1.41777199], BCH[.00285909], BRZ[7.70224374], BTC[.00002318], CUSDT[23.66726215], DAI[1.45950448], DOGE[8.80343377], ETH[.00026643],            Yes
                                      ETHW[.00026643], EUR[1.27], GRT[2.35091203], KSHIB[40.30604803], LINK[.05733063], LTC[.00987923], MATIC[.76216248], MKR[.00061983], NFT (392060956539238626/Earl Campbell's Playbook:
                                      LA Rams vs Houston Oilers - September 4th, 1978 #105)[1], PAXG[.00079942], SHIB[30577.61926047], SOL[.01238551], SUSHI[.36191888], TRX[22.51656388], UNI[.10112399], USD[298.88],
                                      USDT[1.46197062], YFI[.00005189]
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                                                                                                                                             Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08144408                              ETHW[4.683], MATIC[5.85377276], SOL[.05], USD[0.00]

08144410                              CUSDT[1], SOL[.00000001], USD[0.00]

08144417                              CUSDT[2], ETH[0], NFT (495431533865678188/[Xip]-Broken1#1)[1], NFT (556285208718243369/When men were men )[1], SHIB[1], SOL[1.11084337], TRX[1], USD[0.00]                          Yes

08144424                              LTC[0], SHIB[1], USD[0.00], USDT[0]

08144433                              USD[10.00]

08144438                              USDT[1]

08144447                              KSHIB[5.14190407], SHIB[1651422.20274566], USD[0.00]                                                                                                                                Yes

08144459                              USD[0.00]

08144462                              BAT[1], BRZ[7], CUSDT[4], DOGE[6], GRT[4], SHIB[4], SOL[.00002416], TRX[10], USD[0.00], USDT[3.00000001]

08144474                              ETH[.112669], ETHW[.112669], GRT[605.261], USD[4.25], USDT[21.34365836]

08144477                              NFT (495950111583654098/#2231)[1]

08144486                              SHIB[16440.72685318], USD[0.00]

08144494                              CUSDT[1], USD[1.08], USDT[0.00000915]                                                                                                                                               Yes

08144498                              DOGE[1], GRT[1], USD[0.00], USDT[1]

08144505                              SOL[.00000001], USD[0.00], USDT[0]

08144508                              NFT (326092561888774314/Saudi Arabia Ticket Stub #2217)[1], NFT (518349648273625242/Beach Breaks)[1], SHIB[4704611.65002377], SOL[0.00400000], USD[0.00]                            Yes

08144511                              USD[11.00]

08144515                              CUSDT[242.36894117], SHIB[131750.80736182], USD[0.00]                                                                                                                               Yes

08144516                              BRZ[1], CUSDT[1], MATIC[6.75084229], SHIB[396416.12641511], USD[4.32]                                                                                                               Yes

08144520       Contingent, Disputed   USD[0.00]

08144521                              ETHW[0], USD[3.01], USDT[0.00013663]

08144546                              BTC[.00003446], ETH[.00121653], ETHW[.00120285], NFT (428496328717158154/Heavenly water#023)[1], USD[1.07]                                                                          Yes

08144561                              BRZ[1], CUSDT[4], TRX[1], USD[0.00], USDT[0]

08144565                              ETH[.03477931], SHIB[1], USD[0.00]                                                                                                                                                  Yes

08144570                              BTC[.00003376], ETH[.00117399], ETHW[.00116031], USD[0.00]                                                                                                                          Yes

08144571                              USD[2000.00]

08144573                              NFT (430499781886290308/2974 Floyd Norman - CLE 4-0062)[1], USD[1.02]

08144578                              USD[5401.47]                                                                                                                                                                        Yes

08144581                              USD[108.03]                                                                                                                                                                         Yes

08144590                              DOGE[1], SOL[2.32325557], USD[0.01]                                                                                                                                                 Yes

08144597                              ETH[0.00000977], ETHW[0.00000977], MATIC[.00616371], USD[2.01], YFI[0.00003438]

08144599                              CUSDT[1], SHIB[1], USD[0.00]                                                                                                                                                        Yes

08144601                              BRZ[3], CUSDT[1], DOGE[2], SHIB[5], SOL[212.69800143], TRX[8], USD[0.00], USDT[0.00000023]                                                                                          Yes

08144611                              USD[0.00]

08144616                              NFT (356111979826691767/Space Bums #4809)[1], SOL[.07409846], TRX[1], USD[54.03]                                                                                                    Yes

08144620                              USD[0.00]

08144623                              CUSDT[1], SOL[1.61297845], USD[0.00]                                                                                                                                                Yes

08144624                              USD[0.00]

08144635                              BTC[.00027055], CUSDT[1], USD[0.00]

08144636                              USD[100.00]

08144640                              TRX[.000001], USD[0.00], USDT[58.7404]

08144641       Contingent, Disputed   BTC[.04296046], USD[0.00]

08144654                              CUSDT[3], ETH[.03428388], ETHW[.0338598], SOL[.25598373], TRX[2], USD[0.20]                                                                                                         Yes

08144663                              DOGE[.24361624], ETHW[.50778824], USD[0.82], USDT[0]

08144670                              DOGE[1], USD[200.00], USDT[99.46061414]

08144677                              CUSDT[3], DOGE[1], USD[0.01]

08144681                              USD[0.01]

08144687                              CUSDT[1], TRX[1], USD[0.00]

08144706                              USDT[20.3773968]

08144713                              SHIB[99900], USD[0.81]

08144718                              CUSDT[1], ETH[.00466012], ETHW[.0046054], SOL[.1784681], TRX[1], USD[0.01]                                                                                                          Yes

08144733                              ETH[0], LINK[0], USD[0.00], USDT[0]                                                                                                                                                 Yes

08144735                              SHIB[13], USD[1186.75], USDT[0.00000826]                                                                                                                                            Yes

08144746                              SHIB[1], USD[0.00]

08144753                              USD[0.00]

08144767                              NFT (315348442760432438/brave Waifus Zsuki)[1], NFT (317962453267084389/Flood of Fantasy #27)[1], NFT (347310410196737117/Flood of Fantasy #05)[1], NFT (464822911141173576/DOGO-US- Yes
                                      500 #3786)[1], SHIB[4], USD[0.01]
08144786                              SOL[.00918], USDT[.802947]

08144787                              USD[300.00]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08144799                           CUSDT[2], SHIB[559582.25449691], USD[0.00], USDT[0]                                                                                                                                 Yes

08144809                           CUSDT[2], NFT (533599194154116825/SharkBros x KingOfTheSea #20/25)[1], SOL[.0837], USD[37.70]

08144834                           BTC[.00010417]

08144836                           BTC[.0555884], ETH[.852147], ETHW[.852147], SOL[17.6532], USD[10.85]

08144843                           SOL[0], USD[0.00]

08144844                           BTC[.00518118], USD[0.00]

08144863                           BTC[1.4872497], ETH[4.99637401], ETHW[4.99637401]

08144870                           BRZ[1], CUSDT[3], MATIC[14.52261641], TRX[1], USD[0.00]

08144876                           SHIB[1], USD[71.37]                                                                                                                                                                 Yes

08144890                           USD[431.10]                                                                                                                                                                         Yes

08144891                           DOGE[1], GRT[178.67309865], TRX[2], USD[0.00]

08144914                           NFT (381344460857635615/Coachella x FTX Weekend 1 #28663)[1]

08144920                           USD[1077.62]                                                                                                                                                                        Yes

08144928                           USD[0.01]                                                                                                                                                                           Yes

08144932                           SHIB[7040.66304987], USD[0.37]

08144937                           BTC[.00001986], SUSHI[.130454], USD[0.01]                                                                                                                                           Yes

08144947                           CUSDT[1132.23368698], DOGE[1], SHIB[4282733.45482103], USD[0.03]

08144950                           USD[0.00]

08144956                           AVAX[0], ETH[.53993645], ETHW[0.53970966], SHIB[1], SOL[0], USD[0.01]                                                                                                               Yes

08144958                           USD[100.00]

08144959                           BAT[0], ETH[0], NFT (343228524007813636/Cryptographic zombie #40)[1], NFT (443792668393893140/Crypto Mask #13)[1], NFT (490890387598345220/Alien Punk 00103)[1], NFT                Yes
                                   (518761672627625643/Crocodile)[1], SHIB[0.00000076], SOL[0], USD[0.00], USDT[0.00000001]
08144961                           BTC[.00025886], ETH[.00229902], ETHW[.00227166], TRX[1], USD[0.00]                                                                                                                  Yes

08144965                           SOL[.32884]

08144968                           NFT (474623105538610839/Reflection '18 #84)[1], NFT (527887289690237287/Colossal Cacti #305)[1]

08144974                           DOGE[51.40415905], ETH[.00519574], ETHW[.00512734], SHIB[2785760.24759875], TRX[113.69746731], UNI[1.0795824], USD[0.00]                                                            Yes

08144985                           DOGE[1], SOL[5.55173447], USD[0.00]                                                                                                                                                 Yes

08144996                           USD[2.00]

08144997                           CUSDT[5], DOGE[205.41133313], SHIB[1081985.76166828], USD[0.01]                                                                                                                     Yes

08145006                           NFT (547896847728679254/Coachella x FTX Weekend 1 #1191)[1]

08145010                           BRZ[1], BTC[.02396386], CUSDT[2435.40670481], DOGE[3], TRX[2], USD[0.00]                                                                                                            Yes

08145020                           USD[0.00]

08145022                           USD[0.01]

08145023                           BRZ[1], SHIB[6067961.16504854], SOL[.00476872], USD[0.00]

08145039                           USD[0.05]                                                                                                                                                                           Yes

08145049                           BTC[.00001725], USD[0.00]

08145054                           BAT[13.92825598], MATIC[0], USD[0.00]                                                                                                                                               Yes

08145056                           BTC[.00039335]

08145066                           DOGE[44.955], SOL[0], USD[0.22], USDT[0.00000083]

08145068                           NFT (323831120069552556/FTX - Off The Grid Miami #1518)[1], NFT (340618711520675414/Beasts #708)[1], NFT (432245819023640427/Golden Hill #769)[1], NFT (478745311260085185/Saudi
                                   Arabia Ticket Stub #2133)[1], NFT (489099182041674865/Reflection '10 #37)[1], NFT (524246810093998632/Sun Set #167)[1], NFT (525616276051942074/Reflection '19 #76)[1], USD[0.00]

08145075                           USD[0.00]                                                                                                                                                                           Yes

08145103                           USD[0.03]                                                                                                                                                                           Yes

08145105                           NFT (358700788523421022/LEYLI)[1], SOL[.01075696]

08145108                           DOGE[1], LTC[.33832658], SHIB[45], USD[38.99]                                                                                                                                       Yes

08145113                           USD[30.00]

08145119                           ETH[.00089985], ETHW[0.00089984], SOL[.00676115], USD[0.88], USDT[0]

08145130                           DOGE[1], USD[0.00]

08145137                           ETHW[37.14880242], SOL[50.05880001], TRX[1], USD[0.00]                                                                                                                              Yes

08145150                           USDT[0]

08145153                           AVAX[.05], BTC[.00000228], GRT[.612], LINK[.0898], LTC[.0979], MATIC[7.004], SOL[.00283587], USD[0.00]

08145156                           BTC[.00021386], USD[0.00]                                                                                                                                                           Yes

08145164                           CUSDT[2], DOGE[684.38608623], USD[0.05]                                                                                                                                             Yes

08145173                           USD[108.03]                                                                                                                                                                         Yes

08145176                           GRT[2], SHIB[1], SOL[0], USD[866.74]                                                                                                                                                Yes

08145178                           BTC[.03642171], USD[300.00]

08145183                           NFT (497311325374063839/FTX Night #157)[1]

08145184                           BTC[0.00173565]

08145187                           USD[0.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08145189                              MATIC[0], NFT (288509487223450635/BoredMouaeNFT #11)[1], NFT (292114912557181021/BoredMouseNFT #24)[1], NFT (295799686095673033/BoredMouseNFT #6)[1], NFT
                                      (334698908829435237/BoredMouseNFT #21)[1], NFT (336984909597943422/Catverse #9)[1], NFT (337700738664316567/BoredMouseNFT #7)[1], NFT (363376734993202302/BoredMouseNFT #3)[1],
                                      NFT (368148013348908225/BoredMouseNFT #8)[1], NFT (376824848608414535/BoredMouseNFT #5)[1], NFT (394025777215030631/BoredMouseNFT #23)[1], NFT
                                      (405104178704728568/BoredMouseNFT #13)[1], NFT (410790964540842839/BoredMouseNFT #9)[1], NFT (424975250037449171/BoredMouseNFT #25)[1], NFT (428491481151646911/Catverse #6)[1],
                                      NFT (442114243168901573/BoredMouseNFT #15)[1], NFT (445479842708883515/BoredMouseNFT #12)[1], NFT (447072037561720168/BoredMouseNFT #2)[1], NFT
                                      (458081898561189814/BoredMouseNFT #17)[1], NFT (463265504604783732/Catverse #13)[1], NFT (468747603770733091/BoredMouseNFT #4)[1], NFT (474613502726802928/BoredMouseNFT #1)[1],
                                      NFT (493130473068514829/BoredMouseNFT #19)[1], NFT (504447312086466906/BoredMouseNFT #10)[1], NFT (506618836322515454/BoredMouseNFT #18)[1], NFT
                                      (523486689247258456/BoredMouseNFT #20)[1], NFT (555483191314603511/BoredMouseNFT #22)[1], NFT (556840010244659325/BoredMouseNFT #14)[1], NFT
                                      (562423964885206532/BoredMouseNFT #16)[1], SOL[0], USD[9.60]

08145190                              BTC[.00001], ETHW[.075], SOL[.00557791], USD[32.95]

08145204                              USD[20.00]

08145208                              BTC[0.00173646]

08145209                              CUSDT[1], NFT (374877926706743255/FTX - Off The Grid Miami #4963)[1], SOL[6.23447275], USD[0.00]                                                                                         Yes

08145210                              BTC[0], USD[0.00]

08145222       Contingent, Disputed   BTC[0], LINK[0], USD[0.01]

08145226                              USD[8.40]                                                                                                                                                                                Yes

08145227                              USD[0.01]                                                                                                                                                                                Yes

08145230                              USD[43.21]                                                                                                                                                                               Yes

08145257                              USD[26.98]                                                                                                                                                                               Yes

08145271                              USD[26.83]

08145290                              USD[1.02]

08145293                              CUSDT[1], SOL[.00000513], USD[0.01]                                                                                                                                                      Yes

08145303                              ETHW[2]

08145311                              CUSDT[1], TRX[517.11820206], USD[0.00]                                                                                                                                                   Yes

08145312                              NFT (546058503893788124/Coachella x FTX Weekend 1 #24607)[1]

08145315                              USD[1.00]

08145316                              USD[0.01]                                                                                                                                                                                Yes

08145318                              CUSDT[3], ETH[.00599425], ETHW[.00592585], MATIC[14.28038511], TRX[267.32421836], USD[0.00]                                                                                              Yes

08145324                              SHIB[1], SOL[.55001525], USD[26.77]                                                                                                                                                      Yes

08145332                              BTC[0], ETH[0], ETHW[0], SOL[0.00000001], USD[0.00]

08145340                              AVAX[0], LTC[0], SOL[4.01225432], USD[0.00]                                                                                                                                              Yes

08145345                              NFT (313625643583251691/Crypto Alien Barbie #2)[1], NFT (461731267693460481/Crypto Alien Barbie #1)[1], NFT (563517171254151579/Crypto Alien Barbie #2 #2)[1], USD[47.01]

08145347                              ALGO[265.09064119], GRT[734.74891085], LINK[13.08636904], SHIB[7615857.79293125], TRX[1], USD[0.00]                                                                                      Yes

08145357                              NFT (290682009767332148/CatFamilya #46)[1], NFT (365128220877894026/CatFamilya #43)[1], NFT (414051405682930992/CatFamilya #49)[1], NFT (420660899438027024/Gloom Punk #2299)[1],
                                      NFT (507446185200427640/Astro Stones #35)[1], NFT (530737898305981037/CatFamilya #41)[1], NFT (548199343001130891/CatFamilya #36)[1], SOL[.40133925], USD[0.00]
08145360                              USD[0.00]

08145364                              ETH[.0219791], ETHW[.0219791], USD[4.46]

08145368                              ETH[.04040514], ETHW[.04040514], SOL[.21535326], USD[0.49]

08145369                              BTC[.00000001], CUSDT[1], TRX[1], USD[0.00]                                                                                                                                              Yes

08145370                              CUSDT[2], USD[0.00]                                                                                                                                                                      Yes

08145374                              BTC[0], ETH[0], LINK[0], SUSHI[0], USD[48.30]

08145375                              USD[0.28], USDT[0.00000001]                                                                                                                                                              Yes

08145383                              ETH[.25], ETHW[.25], SOL[19.54044], USD[1990.00], USDT[59.87]

08145389                              BRZ[1], CUSDT[1], USD[0.01]                                                                                                                                                              Yes

08145395                              MATIC[15.22000705], USD[0.12]

08145422                              SOL[.03]

08145426                              BTC[0], USD[0.00]

08145433                              BAT[0], BCH[0], BTC[0], LTC[0], USD[0.01], USDT[0.00000003]

08145434                              BTC[.00021835], CUSDT[5], DOGE[55.01712617], MATIC[7.23593918], SOL[.05903393], USD[0.01], USDT[0.43274602]

08145445                              ALGO[2], CUSDT[90], ETH[0], ETHW[.1089], USD[0.27]

08145459                              BAT[34.66271], ETH[0], USD[0.00]

08145466                              CUSDT[1], USD[0.00]

08145473                              MATIC[0], SOL[0], USD[0.00]

08145480                              BTC[0], NFT (320930602424170826/Coachella x FTX Weekend 2 #26514)[1], NFT (321150378923091349/FTX x CAL: The Decision #8)[1], NFT (400846810608702318/Barcelona Ticket Stub #1372)[1],
                                      NFT (522743137375051296/Bahrain Ticket Stub #30)[1], USD[1.02], USDT[0]
08145492                              TRX[0], USD[0.00]

08145502                              ETHW[1.93648716]

08145506                              BTC[.00005632], USD[0.00], USDT[0]

08145509                              LTC[.02944323], USD[0.00]                                                                                                                                                                Yes

08145512                              BAT[95.18753202], DOGE[1], TRX[1], USD[1.96]                                                                                                                                             Yes

08145513                              USD[0.00]

08145516                              BTC[.00000001], CUSDT[1], USD[0.01]                                                                                                                                                      Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08145524                              TRX[1], USD[0.00]                                                                                                                                                                        Yes

08145525                              CAD[6.74], USD[0.00]                                                                                                                                                                     Yes

08145534       Contingent, Disputed   BAT[.00000917], BF_POINT[200], BRZ[1], BTC[0], SHIB[1], USD[0.00], USDT[0.00031334]                                                                                                      Yes

08145539                              USD[0.00]

08145561                              SOL[.44713943], USD[0.00]

08145565                              SOL[.0017095], USD[0.00]                                                                                                                                                                 Yes

08145566                              BTC[.28971], ETH[2.4975], ETHW[2.4975], SOL[20.3796], USD[53134.92]

08145576                              GRT[.09249], USD[2.82]

08145579                              DOGE[4], ETH[0], USD[0.01], USDT[0.00000001]

08145591                              USD[0.00]

08145597                              CUSDT[1], DOGE[4], SOL[5.659687], USD[0.00]                                                                                                                                              Yes

08145618                              ETH[0], USD[0.08]

08145625                              USD[0.01]                                                                                                                                                                                Yes

08145647                              CUSDT[2], KSHIB[2395.47415903], USD[0.02]                                                                                                                                                Yes

08145649                              SHIB[7000000], USD[26.65]

08145651                              BTC[0.00000984], ETH[1.23239035], SOL[97.73142349], USD[1508.32]

08145669                              BAT[578.421], USD[4.12]

08145685                              BRZ[1], CUSDT[3], SOL[3.70840839], USD[0.83]                                                                                                                                             Yes

08145693                              BTC[0], ETH[4.24900178], ETHW[4.24721720], LINK[0.05383719], SHIB[1], SOL[0.00000001], USD[0.00], USDT[0.00000938]                                                                       Yes

08145695                              SOL[4.83], USD[0.15]

08145706                              BAT[2.98414434], CAD[1.28], CUSDT[1], DAI[.99449822], ETH[.01389954], ETHW[.0137217], GBP[0.99], GRT[1.23383687], KSHIB[30.12977496], LINK[.91620873], MATIC[1.39189464], NFT            Yes
                                      (308109672763401473/3D CATPUNK #5004)[1], NFT (553054114104608093/#1474)[1], SHIB[1], SOL[.08806013], SUSHI[1.12078874], TRX[25.96240456], USD[0.00], USDT[.99487773]
08145710                              ETH[.00129496], ETHW[.00128128], KSHIB[115.5624215], USD[0.00]                                                                                                                           Yes

08145717                              BCH[.11914526], BRZ[1], BTC[.00104179], CUSDT[3], DOGE[7.82626295], ETH[.00447562], ETHW[.0044209], GBP[8.64], NFT (369315313362865727/The Purple Planet)[1], SHIB[12],                  Yes
                                      SOL[.25134222], TRX[3], USD[0.00]
08145718                              USD[50.01]

08145727                              KSHIB[127.89473751], USD[105.00]

08145733                              BTC[.0009], USD[20.00]

08145735                              USD[0.00]

08145736                              CUSDT[1], SHIB[2513971.9365887], USD[0.00]                                                                                                                                               Yes

08145740                              CUSDT[1], ETH[.00000094], ETHW[.10211412], SHIB[1], TRX[2], USD[0.00]                                                                                                                    Yes

08145763                              SOL[.06862115]

08145772                              DOGE[0], SHIB[416277.42392073], SOL[0], USD[0.00]

08145782                              AVAX[31.75495288], BTC[.03648232], DAI[0.00000003], SOL[193.81303751], USD[0.00]

08145785                              BAT[50.46671526], CUSDT[3], DOGE[131.7504084], MATIC[22.77272955], SHIB[1175088.13160987], SOL[1.45637289], TRX[2], USD[0.00]

08145796                              USD[0.00]

08145802                              SHIB[25311.09158771], USD[0.00]                                                                                                                                                          Yes

08145807                              BF_POINT[100], BTC[0], ETH[0], ETHW[1.72674933], USD[2124.70]

08145815                              BAT[115.50332543], USD[0.00]

08145823                              BTC[.0033], USD[4.36]

08145828                              BTC[.00086967], CUSDT[1], USD[0.00]

08145829                              USD[1.56]

08145830                              BRZ[1], DOGE[2], NFT (380962217366694433/Divine Soldier #6328)[1], NFT (461191971793399522/Little Rocks #412)[1], NFT (531082912601552290/Chocolate Lab Common #473)[1],
                                      SOL[1.61754487]
08145836                              USD[0.00], USDT[0]

08145840                              USD[30.00]

08145843                              BRZ[1], LINK[3.9641005], USD[0.00]                                                                                                                                                       Yes

08145844                              BCH[.65814718], BTC[.03402331], CUSDT[2], DOGE[2244.91242915], ETH[.65816045], ETHW[.65788399], SHIB[280096.09036015], SOL[11.93624222], TRX[5], USD[0.30], USDT[1.07592168]             Yes

08145866                              NFT (363931355609159258/Coachella x FTX Weekend 1 #9577)[1], SOL[0]

08145874                              BRZ[2], BTC[.00000031], DOGE[5], GRT[1], SHIB[1], TRX[2], USD[5502.89], USDT[0]                                                                                                          Yes

08145877                              NFT (325489156467985360/CuteEggs #1 -Carpet)[1], NFT (380403095008161951/SkullLove - Powders Pistol - 3D Skull)[1], NFT (388954878698061199/SkullLove - Anubis - 3D Skull)[1], NFT
                                      (400384813101509706/SkullLove - Titanium Robotic Skull - 3D Skull)[1], NFT (429270531474535713/CuteEggs #2 - Star Wars)[1], NFT (430162501425875630/Punks3D #9)[1], NFT
                                      (459769909948416911/SkullLove - FTX Special - 3D Skull)[1], NFT (483563234824528633/CuteEggs #0 - Original Cute Egg)[1], NFT (487009552202589264/SkullLove - Ahrah - 3D Skull)[1], NFT
                                      (505577245496121298/SkullLove - Thor XX - 3D Skull)[1], NFT (521890486326349578/SkullLove - Soldier - 3D Skull)[1], NFT (525677855057822468/Punks3D #1)[1], NFT
                                      (527173743355015131/SkullLove - Red Eyes - 3D Skull)[1], USD[0.00]
08145880                              USD[0.01]                                                                                                                                                                                Yes

08145884                              SOL[0.28190020]

08145896                              USDT[0.00000196]

08145899                              USD[0.01], USDT[0]

08145903                              USD[179.92], USDT[9.98]

08145904                              CUSDT[4], SHIB[1], SOL[.00002919], USD[0.61]                                                                                                                                             Yes

08145907                              CUSDT[1], SOL[.49535877], USD[0.00]                                                                                                                                                      Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08145911                              BRZ[1], CUSDT[1], DOGE[2], USD[0.00], USDT[0]

08145924                              BAT[1], CUSDT[1], DOGE[1], TRX[2], USD[0.00]

08145933                              USD[100.00]

08145934                              ETH[0], ETHW[0], SHIB[1]

08145935                              BAT[1], BRZ[1], CUSDT[8], DOGE[5], ETH[0], GRT[1], MATIC[0], SOL[0.00120947], TRX[2], USD[0.01]                                                                                 Yes

08145937                              ETHW[.15914088], USD[0.15]

08145943                              AVAX[.0901], BTC[0], USD[2.75]

08145946                              SOL[.21980051]

08145947                              BTC[.0340183], ETH[.073613], ETHW[.073613], LINK[2.3], MKR[.090879], SOL[1.619], USD[35.83]

08145948                              DOGE[2], TRX[1], USD[0.00]                                                                                                                                                      Yes

08145951                              CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                     Yes

08145957                              DOGE[0], ETH[0], SOL[0], USD[0.00], USDT[0.00002269]                                                                                                                            Yes

08145958                              BTC[0], USD[0.23], USDT[0]

08145976                              DOGE[9.19974443], USD[0.00]                                                                                                                                                     Yes

08145977                              LTC[7.8248], PAXG[.2215], USD[9.87]

08146014                              SHIB[1], USD[0.01]                                                                                                                                                              Yes

08146021                              USD[10.67]                                                                                                                                                                      Yes

08146029                              ETH[.00035861], ETHW[0.00035861], USD[1.50]

08146031                              ETHW[.00321155], USD[21.79]                                                                                                                                                     Yes

08146054                              AAVE[.33494234], ALGO[57.39948751], AVAX[.33431642], BAT[24.15748494], BTC[.00184356], CUSDT[3], DOGE[129.64944266], ETH[.05103296], ETHW[1.30460532], GRT[142.54791286],
                                      LINK[5.68086245], LTC[.3392816], MATIC[24.55651356], SHIB[990523.86995377], SOL[.37508607], SUSHI[10.54092743], TRX[133.79689064], UNI[2.42410351], USD[0.04], YFI[.00106205]
08146062                              LINK[12.8], SOL[.00174747], USD[1.53]

08146085                              CUSDT[1], DOGE[3], MATIC[0], SHIB[1.00000001], SOL[.00013905], TRX[1], USD[0.00], USDT[0]                                                                                       Yes

08146086                              USD[1.08]                                                                                                                                                                       Yes

08146087                              BTC[0], SHIB[0], SOL[0.00007906], USD[0.00]                                                                                                                                     Yes

08146088                              TRX[1], USD[0.00]                                                                                                                                                               Yes

08146089                              CUSDT[2], SHIB[1161634.68805487], USD[0.00]

08146090                              TRX[1], USD[0.00]                                                                                                                                                               Yes

08146092                              SOL[7.51823472]                                                                                                                                                                 Yes

08146096                              BRZ[1], MATIC[0.69253482], NFT (380783335823752651/Red Moon #79)[1], SHIB[1], SOL[.13289481], USD[0.00]                                                                         Yes

08146109                              USD[500.01]

08146120                              TRX[403.50619]

08146121                              AVAX[1.3], MATIC[60], USD[316.87]

08146129       Contingent, Disputed   SOL[.00000001], USD[0.00]

08146140       Contingent,            DOGE[1], SHIB[2], TRX[1], USD[0.01]                                                                                                                                             Yes
               Unliquidated
08146141                              TRX[48.60470474], USD[0.00]

08146142                              BRZ[3], CUSDT[1], DOGE[1.0132729], GRT[1], SHIB[3], TRX[5], USD[0.00], USDT[0.00000001]                                                                                         Yes

08146146                              USD[0.01]

08146149                              SOL[0], USD[0.00]

08146150                              DOGE[1], ETH[.00000029], ETHW[.03192307], SHIB[4], SOL[.00030419], TRX[1], USD[113.55]                                                                                          Yes

08146151                              BTC[.01], KSHIB[10], USD[0.00], USDT[2.61305180]

08146166                              BTC[0], DOGE[0], LTC[0], MATIC[0], SHIB[392.12238325], SUSHI[0], USD[0.00]                                                                                                      Yes

08146171                              BRZ[1], ETH[0], SOL[0], TRX[2], USD[0.00]

08146174                              ETH[.12059489], ETHW[.12059489], USD[0.00]

08146184                              CUSDT[1], SOL[1.23815381], USD[0.00]                                                                                                                                            Yes

08146194                              USD[0.00]

08146198                              ETH[.001], ETHW[.21697685], SOL[.00696803], USD[0.00]

08146201                              CUSDT[1], USDT[0]                                                                                                                                                               Yes

08146203                              BRZ[2], DOGE[3], GRT[10.00073063], SHIB[71], TRX[10.533], USD[0.00]                                                                                                             Yes

08146212                              BTC[.01300454], ETH[0.18874543], ETHW[0.18874543], UNI[4.05447299], USD[0.00]

08146226                              ETH[.00000001], NFT (544560627661950941/Cadet 703)[1], SOL[.00005425], USD[0.00]

08146232                              USD[6.37]                                                                                                                                                                       Yes

08146240                              AAVE[0], AVAX[0.00094069], MATIC[14.31754343], USD[112.82], USDT[0.00018011]

08146242                              USD[0.19]

08146244                              CUSDT[1], SHIB[3.47616276], USD[4.96]                                                                                                                                           Yes

08146258                              CUSDT[36.12771788], SOL[1.97141264], TRX[1], USD[0.00]                                                                                                                          Yes

08146261                              BTC[.00017648], CUSDT[1], DOGE[49.2885858], ETH[.04948294], ETHW[.04948294], USD[0.00]

08146263                              SOL[1.2], USD[101.18]

08146266                              AVAX[6.606443], BTC[.00000011], DOGE[2], ETHW[.67160349], SHIB[612.96067755], TRX[2], USD[0.16], USDT[0.00001052]                                                               Yes
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08146268                              ETH[1.00480175], ETHW[1.00480175], GRT[3], SOL[45.8209709], USD[0.00], USDT[1]

08146279                              USD[100.00]

08146287                              DOGE[1], NFT (349170457292324606/#160)[1], SHIB[2], SOL[.0780995], TRX[338.25293257], USD[0.02]                                                                                              Yes

08146294                              DOGE[3788.70387126], LTC[5.41187791], TRX[1], USD[283.06]                                                                                                                                    Yes

08146296                              CUSDT[1], GRT[1], SHIB[1], TRX[1], USD[0.53], USDT[0]

08146308                              CUSDT[2], MATIC[37.72045527], NFT (443449096195180802/Gangster Gorillas #5503)[1], SHIB[2], SOL[.72796235], TRX[1], USD[0.00]                                                                Yes

08146311                              USD[1.00]

08146324       Contingent, Disputed   USD[0.00], USDT[0]

08146328       Contingent, Disputed   USD[0.00]                                                                                                                                                                                    Yes

08146330                              USDT[90]

08146331                              CUSDT[1], SHIB[140609.45153303], USD[0.00]                                                                                                                                                   Yes

08146332                              BTC[.00088371], KSHIB[9.75], USD[0.26]

08146337                              USD[5034.12]                                                                                                                                                                                 Yes

08146339                              SHIB[20390200], USD[9.20]

08146341                              BTC[0], CUSDT[1], USD[99.42]

08146352                              DOGE[0.00000001], LTC[0], USD[0.00]

08146353                              USD[3.24]                                                                                                                                                                                    Yes

08146364                              ETH[.00000203], ETHW[.00000203], USD[0.00]                                                                                                                                                   Yes

08146382                              USD[0.00]

08146383                              CUSDT[1], USD[48.22]

08146384                              DOGE[1], TRX[6069.48442885], USD[0.00]

08146386                              AAVE[0], BAT[0], BCH[0], BTC[0], CHF[0.00], CUSDT[0], DAI[0], DOGE[0], ETH[0], GBP[0.00], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], MKR[0], PAXG[0], SHIB[0], SOL[0], SUSHI[0], TRX[0],   Yes
                                      UNI[0], USD[0.00], YFI[0]
08146389                              USD[50.00]

08146394                              ALGO[268.4840847], AVAX[4.03187856], CUSDT[1], UNI[1.2805131], USD[0.00]                                                                                                                     Yes

08146399                              USD[0.00]

08146403                              SOL[.00276944], USD[0.00], USDT[0]

08146410                              NFT (305606036685550451/Reflection '19 #04)[1], USD[0.00]

08146415                              USD[10.35]                                                                                                                                                                                   Yes

08146422                              CUSDT[2], DOGE[1], GRT[222.85821499], KSHIB[5158.48144623], TRX[1058.54449708], USD[0.00]

08146428                              USD[100.00]

08146435                              SHIB[3], USD[0.00], USDT[0.00018031]                                                                                                                                                         Yes

08146451                              USD[500.00]

08146454                              BTC[.20645349]

08146461                              USD[10.70]

08146474                              USD[100.00]

08146475                              USD[0.00], USDT[0.00310000]

08146479                              BTC[0], DOGE[0], SOL[1.19011473], USD[0.00], USDT[0.00000046]

08146489                              USD[100.00]

08146496                              USD[0.01]

08146501                              BTC[.0092], USD[2.67]

08146504                              ETHW[.456], USD[0.07]

08146508                              USD[10.00]

08146517                              SOL[0.04531319], USD[10.01]

08146518                              BAT[0], BCH[0.00025808], BTC[0], CUSDT[0], DOGE[2.27904893], ETH[0], ETHW[0], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], PAXG[0], SHIB[0], SOL[0], UNI[0], USD[0.00], USDT[0], YFI[0]      Yes

08146525                              USD[0.23], USDT[0]

08146528                              BTC[.00004359], CUSDT[1], ETH[.00623085], ETHW[.00614877], GRT[2.68703163], SOL[.02668673], SUSHI[.62847639], TRX[1], USD[0.02]                                                              Yes

08146530                              SOL[0.00000039], USD[0.00]

08146538                              CUSDT[2], DOGE[1], ETH[.00000001], GRT[1], TRX[2], USD[0.01]

08146539                              USD[5.00]

08146544                              DOGE[160.33714738], SHIB[2001380.99554925], SOL[.07775875], USD[0.00]                                                                                                                        Yes

08146545                              BRZ[1], USD[0.00]

08146556                              ETH[.00000001], ETHW[.00000001], SOL[0]

08146575                              TRX[1], USD[0.00]

08146581                              BAT[3.81287071], DOGE[28.55810417], GRT[7.2958439], TRX[64.02454444], USD[0.00]

08146583                              SOL[0]

08146593                              SOL[.00999], USD[1.81]

08146595                              BTC[0], USD[196.88]

08146597                              CUSDT[1], NEAR[.00023316], SHIB[1], SOL[.00000219], USD[0.00]                                                                                                                                Yes
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                                                                                                                                          Customer Claims                                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08146598                           SOL[.50215734], USD[0.00]

08146624                           SHIB[8364.13135999], USD[1.73]

08146626                           USD[0.00], USDT[0.00000006]

08146632                           CUSDT[2], USD[0.23]                                                                                                                                                             Yes

08146633                           USD[21.51]                                                                                                                                                                      Yes

08146637                           USD[0.01]                                                                                                                                                                       Yes

08146640                           BRZ[3], CUSDT[1], SOL[0.00000020], SUSHI[.03427426], USD[0.00]                                                                                                                  Yes

08146641                           CUSDT[8], SHIB[3083154.69984067], USD[0.73]                                                                                                                                     Yes

08146655                           SOL[.05]

08146665                           USD[500.00]

08146669                           CUSDT[2], SOL[.25840297], USD[0.01]                                                                                                                                             Yes

08146676                           AAVE[3.04536719], ALGO[90.83227618], AVAX[14.28334162], BAT[516.96276889], BCH[0.05461963], BRZ[17.55458126], BTC[0.00000035], CUSDT[0], DOGE[555.24476985], ETH[0.08138087],   Yes
                                   ETHW[0.08037812], GRT[1238.72839753], KSHIB[0], LINK[11.53697297], LTC[0.16347726], MATIC[416.71402059], MKR[0.04381505], NEAR[33.16231533], SHIB[12830452.29689585],
                                   SOL[3.54267617], SUSHI[214.62786354], TRX[726.66885546], UNI[18.95961822], USD[0.00], USDT[1.02539454], YFI[0.00196111]
08146681                           USD[2.16]                                                                                                                                                                       Yes

08146683                           SHIB[2], TRX[1], USD[502.38]                                                                                                                                                    Yes

08146690                           USD[10.80]                                                                                                                                                                      Yes

08146708                           NFT (363728358721730344/Primitive #9)[1], SHIB[3400000], USD[149.85]

08146712                           USD[0.99]

08146715                           USD[0.04], USDT[.34422123]

08146723                           NFT (470004251854721287/ABC Pepe 5213)[1]

08146724                           BCH[2], BTC[.0271], ETH[.122], ETHW[.122], USD[4.39]

08146731                           USD[2.42]

08146740                           USD[0.00]

08146750                           CUSDT[1], ETH[.01158787], ETHW[.01158787], USD[0.00]

08146753                           BTC[.0001]                                                                                                                                                                      Yes

08146755                           BTC[.00670073], DOGE[959.57351255], SHIB[112478896.96526174], SOL[2.36709983], TRX[1], USD[0.00]                                                                                Yes

08146764                           CUSDT[2], SUSHI[25.14574361], TRX[1], USD[0.00]                                                                                                                                 Yes

08146765                           CUSDT[1], SOL[.05034464], USD[0.01]                                                                                                                                             Yes

08146768                           CUSDT[3], DOGE[59.25153368], SHIB[4503490.01792316], TRX[112.85656719], USD[0.00]                                                                                               Yes

08146769                           NFT (536617700643649470/Ayyo and the Artisans)[1]

08146771                           USD[0.00]

08146778                           NFT (345475738285868707/Coachella x FTX Weekend 1 #3216)[1]                                                                                                                     Yes

08146781                           SOL[.00459], USD[210.54]

08146782                           SOL[3.36794]

08146795                           USD[10.00]

08146802                           USD[49.77], USDT[0]

08146811                           DOGE[67844.46008418], ETH[.12642124], ETHW[0.12642123], SOL[4.10527], USD[8.26]

08146821                           USD[1.70]                                                                                                                                                                       Yes

08146824                           USD[0.00], USDT[0]                                                                                                                                                              Yes

08146826                           CUSDT[1], USD[0.00]

08146832                           BRZ[3], CUSDT[4], DOGE[5], GRT[2.0203861], TRX[1], USD[0.00], USDT[1.08020435]                                                                                                  Yes

08146871                           BTC[0], ETH[0], ETHW[0], SHIB[3], USD[0.00], USDT[0]                                                                                                                            Yes

08146878                           USD[0.00]

08146919                           USD[1.05]

08146926                           USD[4.46]                                                                                                                                                                       Yes

08146934                           CUSDT[2], ETH[.00586296], ETHW[.00586296], SOL[.11437934], USD[0.00]

08146948                           ETH[0], ETHW[0], SOL[15.8704], USD[0.00], USDT[0]

08146961                           BAT[1.01064988], SOL[25.19471656], USD[0.00]                                                                                                                                    Yes

08146962                           ETH[0], SOL[.001236], USD[25000.00]

08146974                           USD[0.00]                                                                                                                                                                       Yes

08146992                           BTC[.00019463]

08147008                           SHIB[9937880.62580734]                                                                                                                                                          Yes

08147009                           USD[200.01]

08147011                           BTC[.0000999], USD[497.95]

08147018                           SHIB[.00000009], USD[0.00]                                                                                                                                                      Yes

08147031                           BRZ[2], CUSDT[1], DOGE[1], GRT[.77235566], LINK[10.75555536], SUSHI[.57512812], TRX[2], USD[0.04]                                                                               Yes

08147041                           BTC[.00008034], CUSDT[1], DOGE[1], USD[0.00]

08147045                           SOL[.00006663]                                                                                                                                                                  Yes
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08147060                              USD[1.08]                                                                                                                                                                                Yes

08147061                              USD[0.00]                                                                                                                                                                                Yes

08147062                              CUSDT[1], DOGE[1], SOL[1.080017], TRX[.45799006], USD[0.79]                                                                                                                              Yes

08147065                              DOGE[1], MATIC[1264.61956449], SHIB[21427829.74500635], SUSHI[1.07949443], USD[0.26]                                                                                                     Yes

08147068                              USD[3.12]                                                                                                                                                                                Yes

08147071                              DOGE[0], KSHIB[5.95537646], USD[0.00]                                                                                                                                                    Yes

08147084                              SUSHI[.00011098], USD[0.01]                                                                                                                                                              Yes

08147094                              SOL[.00128335], USD[0.00]

08147102                              CUSDT[1], SHIB[5638807.01614653], USD[0.17]                                                                                                                                              Yes

08147113                              BCH[.05206668]

08147117                              CUSDT[1], TRX[547.53531945], USD[0.00]                                                                                                                                                   Yes

08147120                              DOGE[0], ETH[0], ETHW[0.36614910], SHIB[21], SOL[0], USD[0.00], USDT[0.00000023]

08147126                              NFT (296118413495640001/Coachella x FTX Weekend 1 #29709)[1]

08147127                              USD[0.00]

08147133                              ALGO[77.6292337], CUSDT[6], NFT (323188294622808258/Series 1: Wizards #306)[1], NFT (335707783937126929/Microphone #799)[1], SHIB[17], TRX[4], USD[0.00]                                 Yes

08147155                              BRZ[1], CUSDT[5], DOGE[1], MATIC[183.54598607], SOL[17.93505187], TRX[3], USD[0.00], USDT[1.02543197]                                                                                    Yes

08147161                              BCH[0], BTC[0], ETH[0.00000001], ETHW[0], MKR[0], USD[0.07], USDT[0]

08147166                              SOL[.05]

08147171                              BTC[.00000005], CUSDT[1], USD[0.01]                                                                                                                                                      Yes

08147178                              SHIB[188.38883143], USD[0.00]                                                                                                                                                            Yes

08147186                              USD[500.01]

08147193       Contingent, Disputed   USD[0.00]

08147204                              CUSDT[1], SOL[.00000045], USD[0.00]                                                                                                                                                      Yes

08147205                              USD[10.00]

08147214       Contingent, Disputed   BTC[.00017587], USD[0.00]                                                                                                                                                                Yes

08147221                              USD[0.00]

08147230                              ETH[0], SOL[0], USDT[0]

08147241                              SOL[.00987], USD[3.81]

08147250                              ALGO[27.15320186], AVAX[.29054972], BAT[12.33031604], BCH[0.04163190], BRZ[35.55326523], BTC[.00272214], CUSDT[10], DOGE[380.47597975], ETH[.01639363], ETHW[2.93537181],                Yes
                                      GRT[34.13569664], KSHIB[654.34904421], LINK[1.1011343], LTC[.08835477], MATIC[36.49018754], MKR[.01049006], PAXG[0.00273578], SHIB[1717976.97402165], SOL[1.55176066],
                                      SUSHI[1.42134732], TRX[120.48707947], USD[0.00], USDT[11.69180698], YFI[.00033147]
08147283                              NFT (423902259186898121/Bearz On Creck #1263)[1], TRX[1.010007]

08147289                              CUSDT[1], USD[0.00]                                                                                                                                                                      Yes

08147294                              ETH[0], ETHW[0], USD[0.05]

08147295                              TRX[.000029]                                                                                                                                                                             Yes

08147311                              BRZ[.00005489], BTC[0.00982869], DOGE[.00006511], ETH[.04413942], ETHW[.04359222], LTC[.99298402], SHIB[.00002963], USD[-120.55], USDT[36.1271627]                                       Yes

08147326                              USD[0.02]                                                                                                                                                                                Yes

08147335                              CUSDT[2], DOGE[1], SHIB[1], TRX[1], USD[860.43], USDT[1]                                                                                                                                 Yes

08147347                              CUSDT[1], USD[0.00]

08147353                              BCH[.00879045], USD[0.00]                                                                                                                                                                Yes

08147360                              BTC[.00087772]

08147385                              BAT[6.12311496], BRZ[13.29188711], BTC[.28581854], DOGE[22.14095011], ETHW[9.67397721], GRT[5], LINK[2.02191574], NFT (300950892904658673/Sacred Sam)[1], NFT                            Yes
                                      (371016510169622288/Founding Frens Investor #216)[1], NFT (414149643808971788/Saudi Arabia Ticket Stub #66)[1], NFT (416952882695437732/Founding Frens Investor #322)[1], NFT
                                      (526203442379843888/Caveman Sam)[1], NFT (530584656103653751/Ronin Duckie #64)[1], NFT (563574208645470866/The Hill by FTX #124)[1], SHIB[29], TRX[16.03714412], USD[39911.74],
                                      USDT[5.10461166]
08147421                              CUSDT[4], USD[0.00]                                                                                                                                                                      Yes

08147422                              USD[0.00]

08147438                              BRZ[1], CUSDT[7], DOGE[281.77823376], MATIC[153.42172525], SHIB[2382698.04041469], SOL[4.41298497], TRX[1], USD[277.00]                                                                  Yes

08147451                              USD[0.00], USDT[0]

08147452                              BAT[29.86938511], CUSDT[1], NFT (309218904973667848/Earl Campbell's Playbook: Texas vs. Houston - November 5th, 1977 #107)[1], NFT (375495862678716835/Earl Campbell's Playbook: Rice vs. Yes
                                      Texas - October 1st, 1977 #97)[1], NFT (489765912951763549/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #106)[1], NFT (553894078561430947/Earl Campbell's
                                      Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #113)[1], USD[0.00]
08147467                              ETH[0.00000001], ETHW[0], TRX[.000172], USD[4.19], USDT[0]

08147482                              TRX[56.9695103], USD[0.01]                                                                                                                                                               Yes

08147487                              ETH[.00000001], MATIC[0], USD[0.00]

08147489                              CUSDT[1], MATIC[30.93006807], USD[0.00]

08147507                              USD[216.00]                                                                                                                                                                              Yes

08147552                              USD[5.40]                                                                                                                                                                                Yes

08147575                              BTC[0]

08147604                              CUSDT[1], KSHIB[407.82654078], USD[0.00]                                                                                                                                                 Yes

08147615                              BAT[20.1593966], CUSDT[8], DOGE[2], MATIC[.00008482], TRX[1], USD[0.00]                                                                                                                  Yes

08147616                              SHIB[.8359885], USD[8.28]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08147618                              USDT[0]

08147636                              TRX[.000002]

08147670                              ETH[0], SOL[0], USD[0.45], USDT[0.00000014]                                                                                                                                                 Yes

08147675                              ETH[.0069029], ETHW[.00682082]                                                                                                                                                              Yes

08147704                              BRZ[1], NFT (439399207544132664/Momentum #523)[1], NFT (500257075210155525/Ape MAN#46#6/10)[1], USD[0.01]                                                                                   Yes

08147705                              BTC[.00003674], NFT (349716838800461363/Colossal Cacti #475 (Redeemed))[1], USD[0.08]

08147712                              BCH[.00031581], BF_POINT[100], BRZ[1], DAI[.00009107], DOGE[2], NFT (465081787001110588/Saudi Arabia Ticket Stub #857)[1], SHIB[1253663.65274095], USD[0.00]                                Yes

08147713                              BTC[.0999], ETH[.001948], ETHW[.001948], EUR[8.71], USD[4.12], USDT[538.06016]

08147724                              CUSDT[33], DOGE[2], SHIB[7], SOL[0], TRX[1], USDT[11.68440097]                                                                                                                              Yes

08147727                              USD[0.00]

08147733                              SHIB[1], USD[0.00]

08147735                              USD[0.00]                                                                                                                                                                                   Yes

08147738       Contingent, Disputed   USD[0.00]

08147741                              CUSDT[2], SHIB[713035.23369287], TRX[274.11016375], USD[0.01]                                                                                                                               Yes

08147744                              SHIB[122458.97624295], USD[0.00]

08147745                              CUSDT[4], DOGE[1], TRX[1], USD[0.01]

08147750                              BAT[.00000001], SOL[0], USD[54.81]                                                                                                                                                          Yes

08147754                              CUSDT[1], DOGE[2], TRX[1], USD[0.00], USDT[0.48436622]                                                                                                                                      Yes

08147769                              USD[0.01]                                                                                                                                                                                   Yes

08147771                              MATIC[18.17632591]                                                                                                                                                                          Yes

08147777                              USD[0.00]

08147778                              CUSDT[1], TRX[1], USDT[0.00000132]                                                                                                                                                          Yes

08147805                              SHIB[1859800.94392788]                                                                                                                                                                      Yes

08147820                              SOL[.00000001]

08147824                              CUSDT[1], DOGE[1], USD[0.00]

08147828                              BTC[.00008828], USD[5.40]                                                                                                                                                                   Yes

08147833                              ALGO[0], USD[0.00]

08147849                              TRX[99.54973654], USD[0.00]

08147856                              BRZ[1], CUSDT[1], MATIC[31.44563088], USD[53.62]                                                                                                                                            Yes

08147883                              BTC[0], NFT (330627994410822966/DarkPunk #4569)[1], NFT (334226771553077332/SOLYETIS #1664)[1], SOL[0], USD[0.00]

08147890                              CUSDT[1], DOGE[1132.18174421], MATIC[142.60924086], USD[0.00]

08147901                              DOGE[1], SOL[0.00008220], TRX[1], USD[0.01]                                                                                                                                                 Yes

08147906                              AVAX[.000096], DOGE[2], NEAR[.00023234], SHIB[5], TRX[2], USD[0.54]                                                                                                                         Yes

08147907                              USD[0.00]

08147915                              ETH[0], NFT (540083506827806082/Sigma Shark #2554)[1], SOL[0], USD[0.00]                                                                                                                    Yes

08147918                              SHIB[3], USDT[0]                                                                                                                                                                            Yes

08147926                              BTC[0.00116344], USDT[.243531]

08147927                              DOGE[.00413817], USD[0.00], USDT[0]                                                                                                                                                         Yes

08147933                              BRZ[3], BTC[0], CUSDT[3], DOGE[2], NFT (397178688223693029/Worthless Collection #4)[1], NFT (435188104652394962/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16,
                                      1980 #157)[1], NFT (459875670016767764/Worthless Collection #13)[1], NFT (488388343071795429/Worthless Collection #5)[1], NFT (568197408809635256/Worthless Collection #6)[1], TRX[8],
                                      USD[0.00]
08147934                              BAT[1.00817011], CUSDT[5], TRX[2], USD[0.30]                                                                                                                                                Yes

08147970                              CUSDT[1], USD[0.00]

08147973                              USDT[5]

08147974                              USD[20.00]

08147982                              BTC[0], DOGE[.00000001], USDT[0]

08147986                              SUSHI[62.5], USD[2.03]

08148000                              USD[0.00], USDT[0.00027659]

08148007                              CUSDT[2], USD[0.00]                                                                                                                                                                         Yes

08148014                              USD[0.00]

08148031                              BTC[.00247505], SOL[.48429557], USD[0.00]

08148033                              CUSDT[1], TRX[1], USD[0.02]                                                                                                                                                                 Yes

08148041                              BTC[0], DOGE[39.07734304], ETH[0], ETHW[0], KSHIB[0], MKR[0], NEAR[0], PAXG[0], SHIB[0], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.01]

08148068                              SHIB[1], USDT[0]                                                                                                                                                                            Yes

08148071                              AAVE[0], AVAX[0], BCH[0], BTC[0.00254040], DOGE[0], ETH[0], LINK[0], LTC[0], MATIC[0], SHIB[0], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00]                                                 Yes

08148072                              CUSDT[7], DOGE[1], TRX[2], USD[0.00]                                                                                                                                                        Yes

08148075                              AVAX[.17628173], BRZ[1], BTC[.01329999], CUSDT[19], DOGE[318.35412523], ETH[.08999069], ETHW[.08999069], LTC[.19467928], MATIC[7.71710508], SHIB[1], SOL[1.21930586], TRX[4],
                                      USD[0.05]
08148083                              BRZ[1], BTC[.0069093], CUSDT[1], SOL[1.08284317], USD[0.00]                                                                                                                                 Yes

08148110                              USD[0.01]                                                                                                                                                                                   Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08148111                              BTC[.01032851], DOGE[1], USD[0.00]

08148112                              ALGO[0], AVAX[0], BTC[0], DOGE[0], ETH[0], LINK[0], MATIC[0], NEAR[0], SHIB[1], SOL[0], UNI[0], USD[0.00], USDT[0]                                                                       Yes

08148119                              USD[0.00]

08148121                              CUSDT[1], DOGE[4947.99566947], USD[0.00]                                                                                                                                                 Yes

08148133                              DOGE[0], SOL[0], SUSHI[0], USD[0.00]                                                                                                                                                     Yes

08148138                              ETH[.11576871], ETHW[.11576871], USD[0.00]

08148148                              BTC[.0000397], SOL[.00758], USD[1643.07]

08148153                              ETH[.00000001], ETHW[0]

08148161                              NFT (310653616055791477/Mountain Series)[1], NFT (319653876809503182/Mountain Series #7)[1], NFT (464575418460536296/Peak in the Distance)[1], NFT (481273227932356420/Mountain Series
                                      #9)[1], NFT (488987779290607150/Mountain Series #3)[1], NFT (522478659820291068/Mountain Series #4)[1], NFT (538956423016941498/Mountain Series #2)[1], NFT
                                      (552069320905635722/Mountain Series #5)[1], NFT (559776642622230948/Mountain Series #8)[1], SOL[.08918], USD[0.00]
08148163                              SHIB[13267627.03526738], SOL[.00000925], TRX[1], USD[0.00]                                                                                                                               Yes

08148167                              DOGE[1], KSHIB[2523.62809898], USD[0.00]                                                                                                                                                 Yes

08148170                              USD[0.00]

08148195       Contingent, Disputed   USD[0.00]

08148200                              CUSDT[1], ETH[.05815351], ETHW[.05815351], USD[250.00]

08148209                              CUSDT[1], LINK[4.74558968], USD[0.00]                                                                                                                                                    Yes

08148210                              AAVE[0], BTC[0], DOGE[0], LTC[0], USD[0.00]                                                                                                                                              Yes

08148235                              BRZ[1], CUSDT[4], DAI[22.75002917], ETH[.00000001], ETHW[0], PAXG[.00219937], SHIB[1250161.03771606], TRX[8.00002], USD[0.00], USDT[0.00001527]                                          Yes

08148238                              CUSDT[203.89095691], SOL[0], USD[0.01]                                                                                                                                                   Yes

08148243                              BTC[0], MATIC[0], USD[0.00], USDT[0]

08148248                              BTC[.08664562], USD[0.00]

08148252                              BTC[0.00000676], CUSDT[6], NFT (335422466905573866/Roamer #956)[1], NFT (518489789775520683/First 50 #26)[1], NFT (530938625193545428/Settler #2560)[1], SOL[0], TRX[4], USD[0.91]       Yes

08148254                              USDT[31.3233532]                                                                                                                                                                         Yes

08148266                              CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                              Yes

08148284                              USD[7.56], USDT[3.2225469]                                                                                                                                                               Yes

08148297                              USD[1.00]

08148301                              BTC[.00989476], CUSDT[6], ETH[.19948275], ETHW[.19927345], SHIB[2806586.24564245], SOL[.6362924], TRX[924.2712849], USD[0.00]                                                            Yes

08148310                              BRZ[1], BTC[.05207607], CUSDT[2], DOGE[1], ETH[.29050991], ETHW[.29031911], SOL[5.56242527], USD[0.00]                                                                                   Yes

08148317                              USD[0.00]

08148327                              BAT[7.34048031], BCH[.02622319], BRZ[1], BTC[.00228794], CUSDT[6], DOGE[1], ETH[.03307229], ETHW[.03266189], GRT[10.64611067], KSHIB[480.52770203], LTC[.10003671], SOL[.13247063],      Yes
                                      TRX[1], USD[0.00]
08148328                              CUSDT[1], SOL[2.38508819], USD[0.00]

08148329                              CUSDT[32], DOGE[2589.98149142], SHIB[15299480.17048801], SOL[5.55482554], TRX[3], USD[0.01]                                                                                              Yes

08148331                              DOGE[0], ETH[.00000348], ETHW[.00000348], USD[0.00]                                                                                                                                      Yes

08148333       Contingent, Disputed   SHIB[1], USD[0.00]                                                                                                                                                                       Yes

08148338                              ALGO[100.35736201], BTC[.00178584], MATIC[62.45002402], SOL[.89966006], USD[499.59]                                                                                                      Yes

08148340       Contingent, Disputed   USD[0.00]

08148342                              CUSDT[1], TRX[1], USD[0.01]

08148361                              SHIB[118.20350291], USD[0.00]                                                                                                                                                            Yes

08148362                              CUSDT[1], SHIB[554706.67754251], USD[2.00]

08148372                              MATIC[0], USD[0.82], USDT[.2693944]

08148375                              USD[10.00]

08148377                              USD[0.00]

08148383                              USD[0.00]                                                                                                                                                                                Yes

08148393                              USD[0.66]

08148395                              USD[100.00]

08148401                              BTC[.04970044], CUSDT[4], DOGE[2], ETH[.21614442], ETHW[.21592772], GRT[1], SOL[3.22971084], USD[1991.50], USDT[1.08010575]                                                              Yes

08148408                              USD[1.10], USDT[0]

08148412                              SOL[.7295535], USD[57.34]

08148414                              DOGE[2], ETH[.38377998], ETHW[.38361898], TRX[13086.92655095], USD[0.23]                                                                                                                 Yes

08148421                              CUSDT[3], DOGE[114.98810255], SHIB[1879261.09883123], TRX[1], USD[0.62]

08148429                              SOL[4.69672342], USD[0.00], USDT[0.00000191]

08148431                              CUSDT[1], SHIB[2585890.21081193], SOL[.49977101], USD[0.00]

08148436                              CUSDT[673.81681037], USD[0.00]

08148456                              USD[0.00]

08148460                              ETHW[228.13485999], USD[0.15]

08148473       Contingent, Disputed   USD[0.01], USDT[0]

08148481                              LTC[.09182647], USD[20.93]                                                                                                                                                               Yes

08148491                              BRZ[1], SHIB[1], TRX[2], USD[0.01]                                                                                                                                                       Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08148492                              BAT[2.01355859], BRZ[1], CUSDT[11], DOGE[1], GRT[1], LINK[101.13656359], SHIB[3], TRX[4], USD[3241.15]                                                                                            Yes

08148496                              CUSDT[2], USD[0.01]

08148525                              SHIB[750044.44841812], UNI[.00949297], USD[0.01]

08148535                              CUSDT[1], DOGE[1], TRX[1], USD[0.00]

08148545                              USD[0.00]

08148547                              DAI[0], ETH[0], USD[0.00], USDT[0]

08148577                              BTC[0.01746342], USDT[3.5527874]

08148578                              BAT[2], BRZ[1], BTC[0], DOGE[8], GRT[1], SHIB[16], TRX[4.000228], USD[0.01], USDT[0]

08148585                              SHIB[4200000], USD[2.12]

08148591                              BTC[.00012973]

08148592                              BTC[.0112367], SOL[5.60804491]

08148603                              USD[535.06]                                                                                                                                                                                       Yes

08148605                              USD[0.01]                                                                                                                                                                                         Yes

08148612                              CUSDT[1], KSHIB[411.65866745], USD[0.00]

08148626                              USD[0.21]                                                                                                                                                                                         Yes

08148635                              CUSDT[2], LTC[.09199933], USD[0.89]

08148646                              BAT[1.00967778], BTC[.00357077], CUSDT[11], DOGE[121.35340235], ETH[.15100897], ETHW[.15020292], LINK[391.43645126], MATIC[56.49473657], SOL[1.08598797], TRX[505.8042448],                       Yes
                                      USD[0.00]
08148649                              USD[0.00], USDT[2.60612548]

08148650                              CUSDT[1], DOGE[183.82165225], MATIC[.84704569], USD[0.01]                                                                                                                                         Yes

08148652                              NFT (562524251014791795/Burnt Seedling)[1]

08148655                              USD[0.20]

08148664                              BRZ[1], BTC[.02929538], CUSDT[3], DOGE[1], ETH[.55433974], ETHW[.55410698], SHIB[1], TRX[1], USD[55.65]                                                                                           Yes

08148667                              AVAX[0], BAT[1], BRZ[3], BTC[0.00000217], DOGE[10.02152577], ETH[0.00000740], ETHW[0.00001826], GRT[2], LINK[0], NFT (467760928128549287/Official Solana NFT)[1], SHIB[2588.12239487],            Yes
                                      SOL[0], TRX[9], USD[0.01], USDT[2.00543471]
08148670                              BTC[.00087797], CUSDT[3], ETH[.01170509], ETHW[.01170509], SHIB[784313.72549019], TRX[1], UNI[.94014755], USD[0.00]

08148686                              SOL[.00000001]                                                                                                                                                                                    Yes

08148693       Contingent, Disputed   ETH[.00012023], ETHW[.00012023], USD[0.00], USDT[0]                                                                                                                                               Yes

08148697                              SHIB[5419254.53887813], USD[0.00]

08148700                              BTC[.0000806], USD[0.01]

08148704                              MATIC[0], USD[0.19]

08148709                              BRZ[1], CUSDT[1], DOGE[1], SHIB[8350900.60040026], USD[0.00]

08148719                              BAT[2.07262983], CUSDT[1], DOGE[1], NFT (294971934156570953/Earl Campbell's Playbook: Texas vs. Houston - November 5th, 1977 #117)[1], TRX[1598.8804915], USD[0.00]                               Yes

08148723                              CUSDT[2], SHIB[1], USD[0.01]

08148727                              NFT (321690891675740917/Jordan Series #4)[1], NFT (336779867429791155/StarAtlas Anniversary)[1], NFT (361205527732573365/StarAtlas Anniversary)[1], NFT (377786484387755228/StarAtlas
                                      Anniversary)[1], NFT (378526256115237677/Jordan Series #5)[1], NFT (407439668190552556/Jordan Series #3)[1], NFT (430014263997875314/StarAtlas Anniversary)[1], NFT
                                      (437650394760639434/patented first in the world artificial intelligence software in action)[1], NFT (459166120359593594/Jordan Series #2)[1], NFT (471138566826841488/SolBunnies #2791)[1], NFT
                                      (479309636185347043/Jordan Series)[1], NFT (495440499380029766/StarAtlas Anniversary)[1], NFT (516205526675473406/StarAtlas Anniversary)[1], NFT (517228638353704564/StarAtlas
                                      Anniversary)[1], NFT (518403863419134369/DOTB #3377)[1], NFT (523007708436917902/Jordan Series #6)[1], NFT (530107694968891464/StarAtlas Anniversary)[1], NFT (549870907145878894/Kobe
                                      series )[1], NFT (561077707909108994/StarAtlas Anniversary)[1], SOL[.07511585], USD[12.01]
08148732                              SOL[.00000001]

08148735                              BRZ[1], CUSDT[2], ETHW[.02795643], SHIB[2], USD[0.00]                                                                                                                                             Yes

08148738                              BTC[0], USD[0.00]

08148749                              USD[0.00], USDT[1.71553305]

08148754                              SHIB[799786.72354038], USD[0.00]

08148757                              NFT (323804175359321364/Voxi People #33)[1], NFT (524677707743686754/Voxi People #25)[1], USD[5.80]

08148764                              SOL[.57345711], USD[0.00]

08148767                              BTC[.00096234], CUSDT[3], DOGE[98.65765424], ETH[.00761281], ETHW[.00751705], TRX[1], USD[0.00]                                                                                                   Yes

08148768                              USD[0.00]

08148783                              USD[0.06]

08148786                              BTC[0.00605838], CUSDT[1], ETH[.082255], ETHW[.082255]

08148790                              BRZ[1], LTC[0]

08148811                              CUSDT[2], SHIB[1], USD[0.59], USDT[0.00001178]

08148816                              USD[0.14]

08148820                              BTC[.00131298], CUSDT[3], DOGE[2], ETH[.01645839], ETHW[.01645839], SOL[.2198842], TRX[1], USD[1.73]

08148829                              BAT[1], DOGE[1], GRT[2], USD[0.16]                                                                                                                                                                Yes

08148831                              ETH[.00000003], ETHW[.00283217], TRX[1], USD[0.00]                                                                                                                                                Yes

08148834                              NFT (323466210884457614/Baku Ticket Stub #130)[1], NFT (331642941276620206/Montreal Ticket Stub #131)[1], NFT (347855451537456636/Hungary Ticket Stub #466)[1], NFT
                                      (348159638234659062/Netherlands Ticket Stub #105)[1], NFT (354534921781910785/Austria Ticket Stub #197)[1], NFT (364430267972939499/Barcelona Ticket Stub #1920)[1], NFT
                                      (385400041462943398/Austin Ticket Stub #121)[1], NFT (390708177090696352/Forbes VNFTB: Sophia Macias)[1], NFT (396759296344911841/Imola Ticket Stub #1032)[1], NFT
                                      (419334318916281221/Monza Ticket Stub #87)[1], NFT (419814910167883170/Forbes VNFTB: Dominique Dubois)[1], NFT (421977719594240479/Mexico Ticket Stub #40)[1], NFT
                                      (435789627376373583/Singapore Ticket Stub #133)[1], NFT (443342266340226972/Japan Ticket Stub #112)[1], NFT (516970024767105945/Belgium Ticket Stub #260)[1], NFT
                                      (521395210544239385/Australia Ticket Stub #2498)[1], NFT (554451235884732656/Monaco Ticket Stub #157)[1], NFT (570342806707250303/FTX - Off The Grid Miami #2842)[1], NFT
                                      (576261128938606219/France Ticket Stub #210)[1], SOL[0.00759191], USD[0.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08148836                              BCH[.00165608], BTC[.00001752], USD[0.00]                                                                                                                                               Yes

08148849                              USD[25.00]

08148864                              BRZ[4], CUSDT[4], DOGE[3], ETHW[1.47223607], MATIC[1.01996826], SHIB[4], TRX[11], USD[0.01], USDT[0.00000001]                                                                           Yes

08148867                              USD[5.00]

08148885                              BTC[.00171864], USD[0.00]

08148942                              CUSDT[1], DOGE[1], TRX[1], USD[0.00]

08148950                              NFT (288812266551886452/001.24-35)[1], NFT (293134359903271488/001.21-35)[1], NFT (311158102081004759/001.9-35)[1], NFT (323437953715525155/001.20-35)[1], NFT
                                      (338942572567294434/001.12-35)[1], NFT (349387276763335489/001.10-35)[1], NFT (354811645883471403/001.2-35)[1], NFT (363673161761739057/001.15-35)[1], NFT
                                      (363773379667219915/001.36-35)[1], NFT (371515271293800000/001.26-35)[1], NFT (387831748074873687/001.7-35)[1], NFT (391363856421673404/001.22-35)[1], NFT
                                      (405700247107868642/001.32-35)[1], NFT (409083101050519364/001.31-35)[1], NFT (451351263630969779/001.5-35)[1], NFT (468312841788604649/001.4-35)[1], NFT (480134371021446994/001.16-
                                      35)[1], NFT (485494694535158301/001.3-35)[1], NFT (488499558547494392/001.6-35)[1], NFT (515103364331250669/001.14-35)[1], NFT (515137462646260434/001.23-35)[1], NFT
                                      (515264356889634200/001.35-35)[1], NFT (524300072269166576/001.17-35)[1], NFT (529009207353605050/001.37-35)[1], NFT (535327911737211301/001.18-35)[1], NFT
                                      (544016429460336382/001.34-35)[1], NFT (545226877151549888/001.13-35)[1], NFT (545489426989496963/001.27-35)[1], NFT (547190382956509403/001.29-35)[1], NFT
                                      (567262967507679781/001.8-35)[1], NFT (568999800517498381/001.6-35 #2)[1], NFT (571373884381950453/001.28-35)[1], USD[34.47]
08148952                              NFT (563022673404736638/GBP Microcosm)[1]

08148956                              CUSDT[1], DOGE[98.31270772], USD[0.00]                                                                                                                                                  Yes

08148957                              USD[0.00], USDT[0]

08148962                              CUSDT[2], DOGE[1], KSHIB[4219.61609697], USD[0.00]

08148972                              USD[0.01]

08148977                              BRZ[1], USD[0.00]                                                                                                                                                                       Yes

08148991                              BTC[.00004], USD[0.00]

08148994                              USD[0.10], USDT[0]                                                                                                                                                                      Yes

08149006                              CUSDT[3], USD[0.01]                                                                                                                                                                     Yes

08149013                              USD[10.00]

08149016                              TRX[1], USD[0.01]

08149017                              USD[0.00], USDT[0.00000001]

08149018                              CUSDT[1], USD[0.00]                                                                                                                                                                     Yes

08149019                              MXN[0.00], SHIB[4], USD[14.01]                                                                                                                                                          Yes

08149021                              BAT[0], CUSDT[0], ETH[0], ETHW[0], SHIB[0], USD[0.01]

08149040                              USDT[.937032]

08149049                              USD[0.00]

08149056                              USD[0.00], USDT[.99450673]

08149064                              ETH[.22692991], ETHW[.22692991], USD[0.00]

08149072                              ETH[.03704546], ETHW[.03658335], USD[0.00]                                                                                                                                              Yes

08149074                              USD[0.01]                                                                                                                                                                               Yes

08149078                              USD[1.00]

08149088                              SOL[.02511875], USD[32.39]                                                                                                                                                              Yes

08149091                              ETHW[.02550064], SHIB[2], USD[72.19]                                                                                                                                                    Yes

08149102                              CUSDT[2], ETH[0.00000027], ETHW[0.00000027], USD[0.00]                                                                                                                                  Yes

08149104                              BAT[2], BRZ[2], DOGE[3], GRT[1], SHIB[197523203.80567581], TRX[3], USD[0.02], USDT[1.02543197]                                                                                          Yes

08149105                              DOGE[7.49360817], USD[0.01]

08149106                              NFT (373288724554164339/Tim Brown's Playbook: San Diego Chargers vs. Los Angeles Raiders - September 4, 1988 #63)[1], SHIB[7891.42883101], USD[0.00]                                    Yes

08149110                              USD[0.00], USDT[0]

08149118                              BRZ[1], CUSDT[5], LINK[25.97486572], LTC[4.74178896], SOL[2.58152148], USD[0.01], USDT[1.06804101]

08149119                              CUSDT[3], SHIB[14153082.89260349], USD[0.00]                                                                                                                                            Yes

08149126                              CUSDT[1], DOGE[3.11534393], ETH[.00071821], ETHW[.000714], KSHIB[10.92996415], SOL[.00474923], USD[0.00]                                                                                Yes

08149128                              BTC[0], USD[0.00]

08149130                              SHIB[386032839.70736538], USD[0.00], USDT[0.00000001]                                                                                                                                   Yes

08149132                              ETHW[.052281], USD[11.36]

08149136                              CUSDT[1], SOL[.0767321], USD[0.00]                                                                                                                                                      Yes

08149145                              AAVE[.00000107], ALGO[.0001214], AVAX[.00000346], BF_POINT[100], BRZ[1], GRT[.00074297], MATIC[.00029515], NEAR[.00001746], SHIB[11], SOL[0], SUSHI[.00011114], TRX[4], USD[0.00]       Yes

08149152                              BTC[.0911192], MATIC[249.75], SOL[57.23819], USD[17.48]

08149162                              TRX[91.31711241], USD[0.90], USDT[0.00706430]

08149169                              BTC[0.00001296], SUSHI[189.3105], TRX[10881.108], USD[4.09], USDT[3056.03091]

08149178       Contingent, Disputed   SOL[.00009264]

08149186                              USD[14.67]                                                                                                                                                                              Yes

08149192                              SOL[0], USD[0.00], USDT[0]                                                                                                                                                              Yes

08149200                              ETH[0], SOL[0], TRX[1], USDT[1.07003571]                                                                                                                                                Yes

08149202                              USD[500.00]

08149206                              CUSDT[1], SHIB[6484499.20125705], USD[0.00]                                                                                                                                             Yes

08149211                              SOL[0], USD[0.02]
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                                                                                                                                             Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or         Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08149213      Contingent, Disputed     BTC[.00000009], CUSDT[3], USD[0.06]                                                                                                                                                          Yes

08149224                               CUSDT[4], NFT (300753450325333283/Earl Campbell's Playbook: Texas vs. Houston - November 5th, 1977 #109)[1], NFT (335772418290638972/Earl Campbell's Playbook: Houston Oilers vs. Chicago    Yes
                                       Bears - November 16, 1980 #118)[1], USD[40.47]
08149225                               BRZ[3], BTC[.04624215], CUSDT[2], ETH[.12544664], ETHW[.12430832], SHIB[1], SOL[.752953], TRX[1], USD[0.00]                                                                                  Yes

08149226                               CUSDT[11], ETHW[.01460819], NFT (491960733802302573/Tim Brown's Playbook: Michigan State vs. Notre Dame - September 19, 1987 #78)[1], PAXG[.00301106], SHIB[2], TRX[1], USD[9.62]            Yes

08149234                               ETH[.00815712], ETHW[0.00815711], NFT (302260590069855179/Super Mario Blows )[1], NFT (330253780300168290/Bar scene)[1]

08149235                               ALGO[23.85543794], BF_POINT[200], DAI[0], DOGE[1488.60427157], ETH[.04168809], ETHW[0.34191300], MATIC[200.31866713], NEAR[.88405656], SHIB[30540450.59583348], SOL[30.25237732],            Yes
                                       USD[62142.81], USDT[0]
08149251                               USD[0.00]                                                                                                                                                                                    Yes

08149254                               BTC[0.00001804], DOGE[.249], ETH[.042861], ETHW[.042861], USDT[109.07246442]

08149255                               BTC[.00000002], CUSDT[1], USD[0.00]                                                                                                                                                          Yes

08149259                               BTC[0], USD[0.00]

08149261                               DOGE[1], SOL[1.03831221], USD[0.00]                                                                                                                                                          Yes

08149267                               USD[0.00]

08149272                               USD[0.23]                                                                                                                                                                                    Yes

08149274                               AVAX[0], BTC[0], ETH[0], MKR[0], NFT (489315831183703230/Pacific Beach Sunrise #49)[1], SHIB[2], SOL[0], USD[15.04], USDT[0.00000001]                                                        Yes

08149275                               AAVE[.00000078], CUSDT[2], MATIC[.0002335], SHIB[4.82544468], TRX[1], USD[0.00]                                                                                                              Yes

08149276                               CUSDT[1], MATIC[20.5587215], USD[0.00]

08149278                               USD[25.00]

08149282                               SHIB[872013.72093023], SOL[.24], USD[0.00]

08149307                               AAVE[.10595866], BTC[.00042736], CUSDT[1], DAI[21.13719722], DOGE[2], ETH[.00605277], ETHW[.00597933], GRT[42.21931654], LINK[1.19685547], LTC[.1473425], MATIC[13.87605195],                Yes
                                       MKR[.00936986], SHIB[1], SOL[.1568327], TRX[1], USD[0.00]
08149315                               BTC[.00000001], ETH[.00000001], USD[0.00]

08149330                               USD[2.01]

08149333                               DOGE[1], SHIB[1], SOL[0], USD[259.08]

08149335                               ETHW[.14899867], USD[1259.00]                                                                                                                                                                Yes

08149344                               BRZ[0], SOL[0], USD[0.24]                                                                                                                                                                    Yes

08149358                               BTC[.00021022], DOGE[24.82483342], SHIB[144565.29060597], SOL[.02565351], USD[3.23], USDT[0]                                                                                                 Yes

08149361                               BRZ[4], BTC[0.26780513], DOGE[7.00057537], ETH[.67634245], ETHW[.67605834], LINK[5.1345508], SHIB[2], SOL[18.56836066], TRX[5], USD[11.18], USDT[0.00001255]                                 Yes

08149367                               NFT (459875512954382047/Microphone #1605)[1]

08149369                               USD[5.00]

08149384                               BRZ[1], DOGE[1], SHIB[3], USD[0.00]                                                                                                                                                          Yes

08149387                               USD[0.01]                                                                                                                                                                                    Yes

08149389                               CUSDT[1], DOGE[2403.53011274], USD[0.00]

08149397                               USD[9.67]                                                                                                                                                                                    Yes

08149404                               NFT (298646828328353053/Skull music)[1], NFT (302167038734886408/Skull pum pum pum #3)[1], NFT (304078894729238265/Skull coktail #2)[1], NFT (307531307179343118/Skull smile #2)[1], NFT
                                       (308599428898554717/Skull coffee)[1], NFT (310161645582202536/Skull death)[1], NFT (311832662975674622/Skull cappello)[1], NFT (323092096868582332/Skull1/2)[1], NFT
                                       (333013593475597932/Skull happines #2)[1], NFT (333466301651941369/Skull death #3)[1], NFT (336557432710238411/Skull romantic #2)[1], NFT (337819334612771323/The skull of liberty #2)[1],
                                       NFT (346206783158964923/Skull natale)[1], NFT (349689322834746686/Skull of liberty)[1], NFT (357060755298479602/Skull romantic)[1], NFT (368198382150395291/Skull freedom)[1], NFT
                                       (375087440881908257/Skull pum pum)[1], NFT (375458144934187868/Skull married #2)[1], NFT (377595233940613394/connect the dots)[1], NFT (381477737711161199/Kong black)[1], NFT
                                       (382017427775516229/Fox fire)[1], NFT (383445873075424528/Cristiano Ronaldo CR7)[1], NFT (386669932590328163/Skull love)[1], NFT (403897196283821573/Skull f***)[1], NFT
                                       (409998084816999743/Skull baffo #2)[1], NFT (436079510088115403/Skull pum pum pum #2)[1], NFT (440108330146915640/Skull baffo)[1], NFT (478385425961083738/Skull santa claus)[1], NFT
                                       (486217592180243090/Skull dance 2 #2)[1], NFT (487725258742126302/Skull beer 3 #2)[1], NFT (498613850941186299/Skull happines)[1], NFT (503791338093645419/Skull married)[1], NFT
                                       (507543199226419687/Skull holiday #2)[1], NFT (528651837603077789/Skull holiday)[1], NFT (528742349292801118/Skull 10)[1], NFT (537808732771963714/Skull skier)[1], NFT
                                       (540854750666552011/Skull pum pum pum)[1], NFT (543412057469081409/Skull beer #4)[1], NFT (545367160482638422/Skull beer 2 #2)[1], NFT (552644163081311291/Skull rap)[1], NFT
                                       (553158730499856507/Skull love #2)[1], NFT (556473362605785987/Skull rap #2)[1], NFT (562657585872180298/Skull beer #3)[1], NFT (562751406096254416/Skull freedom #2)[1], NFT
                                       (575199664941540010/Skull fly)[1], USD[89.34]
08149406                               SHIB[9400000], SOL[102.41], USD[0.20], USDT[.0014364]

08149409                               MATIC[58.57603811], USD[0.00]

08149413                               USD[0.00]

08149418                               BTC[0], LTC[0], USD[0.76], USDT[0.00031970]                                                                                                                                                  Yes

08149423                               BCH[.04764341], BTC[.00101179], CUSDT[6], DOGE[130.65739103], ETH[.00944468], ETHW[.00932156], LTC[.2735969], MATIC[18.16373109], SHIB[617559.80348464], UNI[.64830719], USD[0.00]           Yes

08149424                               USD[3.26]

08149464                               USD[1.00]

08149476                               USD[10.80]                                                                                                                                                                                   Yes

08149479                               BAT[1], BRZ[1], CUSDT[5], DOGE[2.01303994], NFT (313485960077220196/First 50 #32)[1], NFT (318899606297266629/Nobu Sensei #829)[1], NFT (445363620158172413/Solana Penguin #3173)[1], Yes
                                       NFT (447987238410251610/SOLYETIS #8000)[1], NFT (471997872149734653/DOTB #2558)[1], NFT (495143678078677843/SOLYETIS #3618)[1], NFT (498845727654660786/DOTB #6538)[1], NFT
                                       (545504160808355530/Rogue Circuits #1083)[1], NFT (561960459612305429/Space Bums #4741)[1], NFT (568756702956489413/Sigma Shark #3961)[1], SOL[0.09061912], TRX[2], USD[0.00]

08149485                               USD[11.05]

08149499                               CUSDT[1], NFT (541524731318744527/927)[1], SHIB[1], SOL[.00005052], TRX[2], USD[0.00]                                                                                                        Yes

08149501                               BTC[.00017534]

08149510                               ETH[.0277561], ETHW[.0274141], TRX[1], USD[35.63]                                                                                                                                            Yes

08149515                               SHIB[134611.28852110], SOL[0]

08149516        Contingent, Disputed   MATIC[0], TRX[1], USD[0.00]

08149519        Contingent, Disputed   USD[5.00]
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08149523                              SOL[.00000001], TRX[.000002], USD[0.43], USDT[0]

08149524                              ETH[0], NFT (290591816146447656/Blue Hat ape)[1], NFT (292193577925880606/Corporate Monkey #8)[1], NFT (295383890960980625/Grumpy Slice #2)[1], NFT (296382180730384988/Sleepy
                                      Nurse)[1], NFT (308176259984300967/Yellow Rush)[1], NFT (317068029989744800/Cowboy)[1], NFT (317242668562030115/Christmas Spirit )[1], NFT (333347810605397785/Corporate Monkey
                                      #4)[1], NFT (338048109377561850/One Eye Ape)[1], NFT (348159669670742466/Corporate Monkey #5)[1], NFT (352645375368408175/Corporate Monkey #7)[1], NFT
                                      (370972307598374302/Graduated Ape)[1], NFT (407398688697271102/Nurse)[1], NFT (407748287563795185/Corporate Monkey #2)[1], NFT (424881366940485264/Pirate)[1], NFT
                                      (436340039603900751/Corporate Monkey #3)[1], NFT (464172834076033213/Corporate Monkey #6)[1], NFT (474006453560814059/Star Eye Nurse )[1], NFT (475106420726735773/Ravager #1423)[1],
                                      NFT (476054463546697385/Magician)[1], NFT (496218584467842379/SolBunnies #2089)[1], NFT (497007198193188144/Cadet 818)[1], NFT (528844902449716886/Angel Glasses )[1], NFT
                                      (568854704576878628/Star Eyes)[1], NFT (573822057044994126/Nifty Nanas #3563)[1], SOL[.1425], USD[0.19]
08149531       Contingent, Disputed   USD[0.00]                                                                                                                                                                             Yes

08149532                              NFT (555785687782279068/Coachella x FTX Weekend 1 #7714)[1]

08149539                              NEAR[.04818], USDT[.1177804]

08149540                              USD[0.01]

08149544                              USD[0.00]

08149545                              SOL[1], USD[95.87]

08149551                              NFT (305460670914419120/Saudi Arabia Ticket Stub #976)[1]

08149559                              USD[2.33]

08149562                              SOL[9.59999], USD[0.15]

08149568                              ETHW[.000888], TRX[.000002], USD[5.80], USDT[.0000922]

08149569                              BTC[.00000002], MATIC[14.36715122], TRX[1]                                                                                                                                           Yes

08149573                              USD[3.32]

08149575                              DOGE[1], SHIB[8802816.90140845], SOL[.04379629], USD[11.00], USDT[7.95605386]

08149576                              CUSDT[2], NFT (468544367139832263/ApexDucks #1545)[1], NFT (514082787138457524/Solninjas #9560)[1], NFT (550834857074147385/Solninjas #9877)[1], USD[0.00]                           Yes

08149577                              USD[0.12], USDT[0]

08149582                              USD[0.00]

08149584                              AAVE[.00001567], BAT[1.00529251], BRZ[1], CUSDT[3], DOGE[1], GRT[1], LTC[0], SHIB[47.30947585], TRX[2], USD[0.00]                                                                    Yes

08149596                              MATIC[1.19873916], SHIB[50632.06492248], SOL[.00672654], USD[0.00]                                                                                                                   Yes

08149603                              BRZ[1], CUSDT[2], SOL[.03074393], TRX[1], USD[26.34]                                                                                                                                 Yes

08149607                              DOGE[2], SHIB[.321978], USD[0.01]                                                                                                                                                    Yes

08149614                              BTC[0], ETH[0.00035925], ETHW[0.00035925], USD[2.91]

08149617                              TRX[4203.72442919]

08149624                              CUSDT[3], USD[0.00]                                                                                                                                                                  Yes

08149629                              BTC[0], ETH[0], USD[0.10]

08149634                              CUSDT[1], MATIC[.00000711], SOL[.16171578], USD[1.90]                                                                                                                                Yes

08149638       Contingent, Disputed   USD[10.00]

08149648                              SOL[25.17476109], USD[1.48]

08149659                              USD[0.01]                                                                                                                                                                            Yes

08149680                              BTC[.0000327], CUSDT[120.6410961], DOGE[2], ETH[.00002128], ETHW[.00002128], SHIB[1], SOL[.00534943], TRX[1], USD[-1.10]                                                             Yes

08149681                              USD[0.00], USDT[0]                                                                                                                                                                   Yes

08149682                              USD[0.00], USDT[0.00000010]

08149687                              USD[0.00]

08149691                              BTC[0], CUSDT[3], DOGE[1], MATIC[.00003134], USD[0.00]                                                                                                                               Yes

08149700                              BRZ[1], ETH[.01121555], ETHW[.01121555], USD[0.01]

08149701                              DOGE[1], SOL[.77923859], USD[0.00]                                                                                                                                                   Yes

08149705                              ETH[.00000001], SOL[0], USD[1.91]

08149710                              BTC[0]

08149719                              USD[53.99]                                                                                                                                                                           Yes

08149720                              NFT (352639650935196281/The Bases Of Buddhism #8)[1], NFT (391595186525748270/The Bases Of Buddhism #3)[1], NFT (398106912544714074/The Bases Of Buddhism #4)[1], NFT
                                      (404581894203761170/The Bases Of Buddhism #9)[1], NFT (471118271004341321/The Bases Of Buddhism)[1], NFT (471803618045632259/The Bases Of Buddhism #2)[1], NFT
                                      (485996017831853736/The Bases Of Buddhism #7)[1], NFT (489395035132541797/The Bases Of Buddhism #5)[1], NFT (529533406735606501/The Bases Of Buddhism #6)[1], USD[0.92], USDT[0]

08149728                              USD[0.00]

08149735                              NFT (323232046488361703/NFT)[1], USD[8.95]

08149737                              BTC[.0000984], SOL[5.57442], USD[3724.17], USDT[10]

08149740                              ETH[.02], ETHW[.02], USD[1.81]

08149743                              DOGE[702.5402], KSHIB[7888.85], TRX[3768.681], USD[739.39]

08149744                              SOL[.02880771], USD[0.60]

08149751                              CUSDT[1], NFT (390933123352641072/Warriors 75th Anniversary Icon Edition Diamond #1598)[1], SOL[2.25456863], USD[52.86]                                                              Yes

08149757                              BRZ[3], BTC[.0000002], CUSDT[1.10376165], DOGE[.0252775], ETH[.00000155], ETHW[.00000155], USD[0.00]                                                                                 Yes

08149770                              USD[21.60]                                                                                                                                                                           Yes

08149773                              ETH[.00067], ETHW[.00067], USD[0.00]

08149780                              BTC[.00001708], USD[0.00]                                                                                                                                                            Yes

08149782                              ETH[0], USD[0.00]
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                                                                                                                                            Customer Claims                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08149785                              CUSDT[1], SOL[1.08043857], USD[103.51]                                                                                                                Yes

08149798                              USD[106.32]                                                                                                                                           Yes

08149803                              SOL[0.71086346], USD[0.00]                                                                                                                            Yes

08149814                              SOL[4.87], USD[0.74]

08149816       Contingent, Disputed   CUSDT[1], USD[0.00]                                                                                                                                   Yes

08149822                              USD[4.05]

08149836                              SHIB[28235208.05198586], USD[0.00], USDT[0]

08149843                              CUSDT[1], MATIC[60.67908388], USD[0.00]                                                                                                               Yes

08149849       Contingent, Disputed   USD[0.20]                                                                                                                                             Yes

08149861                              BRZ[1], USD[0.00]                                                                                                                                     Yes

08149863                              SHIB[115996833.81213784], TRX[2], USD[0.42]                                                                                                           Yes

08149864                              BTC[.2854143], ETH[3.68], ETHW[3.68], SHIB[1500000], USD[3.68]

08149868                              CUSDT[2], USD[0.01]                                                                                                                                   Yes

08149873                              DOGE[2], GRT[1.0001826], LINK[46.79342235], NFT (440874795911404390/Coachella x FTX Weekend 2 #7023)[1], SOL[22.16280764], TRX[1], USD[0.00]          Yes

08149888                              BTC[.00442612], CUSDT[8], ETH[.16871629], ETHW[.16840367], LTC[3.97560576], MATIC[6.46858761], SOL[4.17045423], TRX[3], UNI[6.11037251], USD[10.83]   Yes

08149893       Contingent, Disputed   USD[0.00]

08149896                              BTC[.0036], DOGE[345], ETH[.03495608], ETHW[.03495608], SHIB[15382992.49288118], USD[0.39]

08149898                              CUSDT[1], TRX[1], USD[0.00]                                                                                                                           Yes

08149901                              BTC[.0005092], CUSDT[1], USD[0.01]

08149906                              BTC[.00721299], DOGE[5025.45949662], ETH[.13611426], ETHW[.13505181], USD[0.00]                                                                       Yes

08149915                              BTC[.00871595]

08149916                              MATIC[2097.34657759], SOL[24.01166444], USD[2286.40]                                                                                                  Yes

08149917                              BRZ[268.54148199], CUSDT[12], DOGE[11108.03017645], KSHIB[34449.26316188], SHIB[114585868.23359757], TRX[899.64952999], USD[0.04], USDT[1.02543197]   Yes

08149931                              BCH[.00791117], CUSDT[1], DAI[1.98548043], ETH[.00090464], ETHW[.00090464], TRX[1], USD[0.98], USDT[0.00001857]

08149932                              BTC[.000175], USD[100.00]

08149935                              USD[0.00]                                                                                                                                             Yes

08149936                              CUSDT[2], ETH[.05287414], ETHW[.0522175], SOL[3.39221509], TRX[1], USD[0.00]                                                                          Yes

08149939                              USD[0.00]                                                                                                                                             Yes

08149941                              USD[0.00]

08149951                              CUSDT[5], SHIB[2677761.9242408], TRX[2], USD[0.63]

08149952                              ETH[.00000042], ETHW[.00000042], USD[0.01]                                                                                                            Yes

08149956                              USD[500.00]

08149959                              BTC[.00017438], USD[0.00]

08149963                              NFT (383393326231268080/Women Art#15)[1], NFT (564308911488953136/Settler #1774)[1], SOL[.18480521], TRX[1], USD[0.00]                                Yes

08149964                              SOL[.00422], USD[1.70]

08149968                              USD[40.01]

08149973                              ETH[.00061377], ETHW[.00061377], USDT[0.00000095]

08149976                              BAT[1.00718958], DOGE[1], ETH[.00007524], ETHW[.00009409], TRX[1], USD[0.00]                                                                          Yes

08149979                              BTC[.00029889], USD[0.00]                                                                                                                             Yes

08149989                              BRZ[1], NFT (438229238867590746/Fancy Frenchies #6921)[1], SOL[.47333109], TRX[1], USD[0.00], USDT[0.00000203]                                        Yes

08150008                              USD[20.00]

08150028                              BTC[0.00068781], LTC[0], USD[0.00], USDT[0.00000013]

08150047                              BRZ[2], CUSDT[1], DOGE[1], GRT[1], SOL[15.20934541], TRX[1], USD[0.00]                                                                                Yes

08150051                              USD[0.00]

08150067                              USDT[26.55172537]                                                                                                                                     Yes

08150092                              CUSDT[1], SOL[.12185885], USD[0.00]

08150093                              SOL[1.99742825], USD[0.01]

08150095                              CUSDT[5], DOGE[1], USD[0.00]                                                                                                                          Yes

08150115                              DOGE[17.68686844], USD[1.00]

08150141                              CUSDT[1], USD[0.98]                                                                                                                                   Yes

08150142                              USD[0.00], USDT[0]

08150143                              BRZ[1], CUSDT[1], ETH[.05640357], ETHW[.05570568], USD[0.00], USDT[134.27619566]                                                                      Yes

08150145       Contingent, Disputed   USD[0.00], USDT[0]                                                                                                                                    Yes

08150150                              SOL[.00895573], USD[0.00], USDT[0]

08150161                              USD[0.00]                                                                                                                                             Yes

08150169                              BCH[0.00044044], LTC[.0402077], TRX[.000029], USD[-0.24], USDT[0.00000094]

08150172                              USD[0.00]

08150176                              CUSDT[1], SOL[.41397825], TRX[62.97579398], USD[6.59]                                                                                                 Yes
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                                                                                                                                           Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08150191                           USD[1.00]

08150192                           USD[100.00]

08150195                           USD[1002.05]                                                                                                                                                                          Yes

08150197                           BTC[.00532881], CUSDT[9], MATIC[16.25129664], SHIB[8102124.58200021], SOL[.67872046], TRX[1], USD[0.00]                                                                               Yes

08150206                           USD[100.00]

08150215                           ETHW[.68922925], GRT[50.31775], SHIB[1], USD[0.00], USDT[0.00013768]

08150219                           USD[0.00]

08150225                           NFT (307237273113520578/Shaq's Fun House presented by FTX #3)[1], NFT (549906148141760010/Shaq's Fun House Commemorative Ticket #7)[1]

08150228                           BTC[.0001998], MATIC[19.98], USD[4.45]

08150229                           CUSDT[1], ETH[.05023268], ETHW[.04960817], USD[0.00]                                                                                                                                  Yes

08150234                           USD[1.28]

08150235                           NFT (529878007197032208/Series 1: Capitals #251)[1], SHIB[477331.98675232], USD[0.00]                                                                                                 Yes

08150236                           ETH[0], ETHW[0.00200220], MATIC[0], USD[2.28]

08150248                           BRZ[1], ETH[.00001788], ETHW[0.00001787], TRX[2], USD[0.00]                                                                                                                           Yes

08150254                           DOGE[1], ETH[.00000001], USD[0.00], USDT[1]

08150260                           BTC[.0067], ETH[.065934], ETHW[.065934], GRT[50], LTC[.999], SHIB[2197800], SOL[4.28871], UNI[5], USD[0.32]

08150263                           ETH[.001], USD[0.00]

08150274                           BTC[.00093883]                                                                                                                                                                        Yes

08150276                           SOL[10.12991990]

08150277                           BTC[0.00002219], USD[2.04]

08150283                           CUSDT[1], DOGE[1], SHIB[1], TRX[2], USD[0.00]

08150299                           CUSDT[1], MATIC[29.06712453], USD[0.01]

08150314                           NFT (338398219971661222/#004)[1], NFT (389963657968095390/DDD 'random #5)[1], NFT (397111168202464983/#009)[1], NFT (454502441316353310/#013)[1], NFT (490860872242045773/DDD         Yes
                                   'monster #18)[1], USD[0.42]
08150324                           USDT[0.00000067]

08150325                           SHIB[99100], USD[0.38]

08150332                           DOGE[1], USD[0.00], USDT[537.04699346]                                                                                                                                                Yes

08150333                           SOL[.00799], USD[3.07]

08150336                           ETH[.034], ETHW[.034], USD[1.06], USDT[0]

08150338                           AAVE[.13691996], ALGO[51.26084474], AVAX[.61104288], BCH[.102403], BRZ[1], BTC[.00112068], DAI[10.2403768], DOGE[257.32547799], ETH[.0130448], GRT[114.34127797], LINK[1.27896047],   Yes
                                   LTC[.25612418], MATIC[12.82740683], SHIB[6], SOL[.3262763], TRX[162.62099921], UNI[1.59476056], USD[0.00], USDT[10.2403768]
08150345                           ETH[0], ETHW[0], USD[0.00]

08150352                           LTC[.01], USD[3.88]

08150359                           BTC[.00281141], CUSDT[4], ETH[.04354224], ETHW[.04300148], SOL[.33291605], USD[0.14]                                                                                                  Yes

08150362                           TRX[96.31588206], USD[0.00]

08150375                           CUSDT[1], DOGE[135.95942281], USD[0.00]

08150377                           NFT (315873819582473521/Cool Bean #322)[1], SHIB[1], USD[1216.05]                                                                                                                     Yes

08150379                           USD[0.00], USDT[0]                                                                                                                                                                    Yes

08150382                           AAVE[.08191837], CUSDT[1], USD[0.00]                                                                                                                                                  Yes

08150383                           CUSDT[1], TRX[1], USD[9.99]

08150387                           BAT[2], BRZ[5], DOGE[12.03742799], GRT[3], SHIB[2], TRX[14.00025571], USD[10189.09]                                                                                                   Yes

08150396                           USD[0.98]                                                                                                                                                                             Yes

08150414                           ETH[.27731108], ETHW[.2771188], SOL[15.21157975]                                                                                                                                      Yes

08150415                           BTC[.00073537], SHIB[1], TRX[1], USD[0.03]                                                                                                                                            Yes

08150416                           BTC[.0383], USD[1.23]

08150417                           CUSDT[1], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08150423                              NFT (290175569575457637/Fried Faces #167 Xavier)[1], NFT (290286462242081965/Fried Faces #005 Shrimpy)[1], NFT (298154502763909719/Fried Faces #015 Jay Blue)[1], NFT
                                      (299027352193126954/Fried Faces #152 Shrimpy Po' Boy Deluxe)[1], NFT (299029608994140239/Fried Faces #014 OG Larry)[1], NFT (309728707536731910/Fried Faces #002 Jamel)[1], NFT
                                      (312908231091911112/Fried Faces #159 Esma)[1], NFT (313325437720847921/Fried Faces #125 Otis)[1], NFT (317123644034957418/Fried Faces #023 Jackie)[1], NFT (317907445684780473/Fried
                                      Faces #101 Claire)[1], NFT (318696716824306300/Fried Faces #057 Carrie)[1], NFT (320181569287755036/Fried Faces #174 Bo)[1], NFT (320672818887830379/Fried Faces #073 Gleem)[1], NFT
                                      (323013719580007155/Fried Faces #109 Miryam)[1], NFT (323598173278200863/Fried Faces #053 Ratrell)[1], NFT (326193847533514210/Fried Faces #108 Chester)[1], NFT
                                      (331748142841543767/Fried Faces #039 Dirk)[1], NFT (333622495471378401/Fried Faces #022 Daniel Deadman)[1], NFT (335703475260340404/Fried Faces #091 Olivia)[1], NFT
                                      (335769676176813502/Fried Faces #130 Stanley)[1], NFT (337666447439674611/Fried Faces #001 Murph)[1], NFT (339282782053843523/Fried Faces #001 Hyphy Murph #2)[1], NFT
                                      (340740328647174504/Fried Faces #007 Ducky)[1], NFT (341484837008203246/Fried Faces #123 Phoenix)[1], NFT (345436557719223005/Fried Faces #046 Ronald Krump)[1], NFT
                                      (347535123365103002/Fried Faces #068 TeeTee)[1], NFT (351111278298645272/Fried Faces #143 Demetrius McGruff Jr.)[1], NFT (352501591838807569/Fried Faces #054 Diamond)[1], NFT
                                      (353025471715835693/Fried Faces #041 Geechy)[1], NFT (355353447844079343/Fried Faces #164 Jabari)[1], NFT (357728177104380951/Fried Faces #160 Everett)[1], NFT
                                      (358530894412584012/Fried Faces #086 Griff)[1], NFT (361940435538697021/Fried Faces #070 Goatrell)[1], NFT (362694203516180354/Fried Faces #010 May)[1], NFT (364733703998730715/Fried
                                      Faces #024 Chester)[1], NFT (366976492491807373/Fried Faces #006 Goaty)[1], NFT (368185641233147148/Fried Faces #104 Glitch)[1], NFT (368529660078226705/Fried Faces #082 Neil)[1], NFT
                                      (372205046915409850/Fried Faces #045 Dirty Dave)[1], NFT (373786315713478659/Fried Faces #004 Yvonne)[1], NFT (377910789761260758/Fried Faces #152 Shrimpy Po' Boy Deluxe #2)[1], NFT
                                      (377997106876223337/Fried Faces #001 Murph #3)[1], NFT (378962252938528906/Fried Faces #156 Raven)[1], NFT (382338841884139926/Fried Faces #012 Treeya)[1], NFT
                                      (383051369545436803/Fried Faces #122 Lars)[1], NFT (385214529754319514/Fried Faces #127 Danny Demon)[1], NFT (385539466339676755/Fried Faces #060 Lisa)[1], NFT
                                      (385597245060740067/Fried Faces #162 Julio)[1], NFT (387173145655350697/Fried Faces #19 Righteous Reggie)[1], NFT (388473773962418633/Fried Faces #172 Cheyenne)[1], NFT
                                      (389552303320398954/Fried Faces #140 Kevin)[1], NFT (392510830814909532/Fried Faces #003 Kiki)[1], NFT (393081579493585645/Fried Faces #016 Kevin)[1], NFT (394401432296619237/Fried
                                      Faces #042 Gleo)[1], NFT (397710033936056793/Fried Faces #018 Niko)[1], NFT (399829456270992112/Fried Faces #013 Deedra)[1], NFT (400102540527684145/Fried Faces #032 Hamuel)[1], NFT
                                      (401635000859751345/Fried Faces #147 Starr)[1], NFT (402595597461128301/Fried Faces #095 Slimey McPherson)[1], NFT (403143299955864279/Fried Faces #100 Joe Zombini)[1], NFT
                                      (404319105145402954/Fried Faces #081 Sheeba)[1], NFT (404377822844812833/Fried Faces #044 Slanta Cross)[1], NFT (405033536986215218/Fried Faces #107 Lester)[1], NFT
                                      (411686745058500028/Fried Faces #075 Silvia)[1], NFT (412444684533965194/Fried Faces #034 Sheila #2)[1], NFT (412504860863536016/Fried Faces #063 SBF)[1], NFT (415653392112713796/Fried
                                      Faces #170 Fido)[1], NFT (416280755639746796/Fried Faces #128 Zombellina)[1], NFT (416684031312450071/Fried Faces #058 Eddie)[1], NFT (421602092395614211/Fried Faces #136 Esteban)[1],
                                      NFT (421694474436694904/Fried Faces #048 Keisha)[1], NFT (424385856823468920/Fried Faces #088 Candy)[1], NFT (424427052451783778/Fried Faces #120 Loretta)[1], NFT
                                      (425811511846335026/Fried Faces #067 Gilbert)[1], NFT (426146142910271629/Fried Faces #099 Ebbie)[1], NFT (428251278685773818/Fried Faces #173 Dinky)[1], NFT (430129869449338908/Fried
                                      Faces #037 Luis)[1], NFT (439338636242450077/Fried Faces #019 Right On Reggie)[1], NFT (441318252781320199/Fried Faces #106 Leonard)[1], NFT (444570647482824950/Fried Faces #169
                                      Darlene)[1], NFT (446274445701349012/Fried Faces #119 Cheryl)[1], NFT (447905692559951390/Fried Faces #150 Sugar)[1], NFT (448264052128647552/Fried Faces #171 Zara)[1], NFT
                                      (450183368618340297/Fried Faces #033 Pierre)[1], NFT (450400010826957646/Fried Faces #040 Turph)[1], NFT (450593826762045994/Fried Faces #051 Mo Sheep)[1], NFT
                                      (453499137243289716/Fried Faces #001 Hyphy Murph)[1], NFT (457558493167866458/Fried Faces #096 Big Mouth Bobby)[1], NFT (459696561422267963/Fried Faces #056 Birdine)[1], NFT
                                      (461626332586993953/Fried Faces #020 Sooz)[1], NFT (463034654239281583/Fried Faces #163 Canela)[1], NFT (463675462625665522/Fried Faces #049 Lucy)[1], NFT (465907137997510294/Fried
                                      Faces #034 Sheila)[1], NFT (468964438608805335/Fried Faces #043 Brady)[1], NFT (469850866473678880/Fried Faces #166 Butch)[1], NFT (471571391965182894/Fried Faces #055 Zombell)[1], NFT
                                      (474566003207608927/Fried Faces #146 Karter)[1], NFT (477085642083336307/Fried Faces #031 Victor)[1], NFT (479073896929188975/Fried Faces #113 Bryan)[1], NFT (481129673422626429/Fried
                                      Faces #142 Ronnie Dankman)[1], NFT (483307016081633671/Fried Faces #027 Herman)[1], NFT (484990334500603471/Fried Faces #135 Lauren)[1], NFT (487077710962659858/Fried Faces #038
                                      Leesha)[1], NFT (493642901714954791/Fried Faces #165 G-40)[1], NFT (496498023859364149/Fried Faces #047 Patty)[1], NFT (498571057224870464/Fried Faces #034 Leila)[1], NFT
                                      (501443095340595617/Fried Faces #009 Zombie Fred)[1], NFT (509016593004296457/Fried Faces #115 Ruff Draft)[1], NFT (509556317840148791/Fried Faces #133 Archibald)[1], NFT
                                      (511728079561515017/Fried Faces #084 Boran)[1], NFT (515360857602707612/Fried Faces #148 Angelo)[1], NFT (515908900342726075/Fried Faces #155 Kenny Li)[1], NFT
                                      (523522604842917754/Fried Faces #134 Cassandra)[1], NFT (525586644942564794/Fried Faces #036 Maximus)[1], NFT (528400015516947487/Fried Faces #059 Steve)[1], NFT
                                      (531410785078938317/Fried Faces #021 Firebird Felipe )[1], NFT (532475690485196012/Fried Faces #025 Elaine)[1], NFT (532499656391776155/Fried Faces #168 Beto)[1], NFT
                                      (533188843048445093/Fried Faces #157 Tay)[1], NFT (534655890002322383/Fried Faces #030 Theodore)[1], NFT (536204999000943292/Fried Faces #052 Crackhead Corey)[1], NFT
                                      (536483821274938278/Fried Faces #029 Brick McMortar)[1], NFT (540989892137821727/Fried Faces #050 Muffin )[1], NFT (541930311517941358/Fried Face #002 Jamel)[1], NFT
                                      (543707771984877547/Fried Faces #158 Randell Rattler)[1], NFT (543760153705083880/Fried Faces #145 Kyle)[1], NFT (543908183310788506/Fried Faces #138 Marlon)[1], NFT
                                      (550198375389614280/Fried Faces #065 Sam)[1], NFT (552266826122303496/Fried Faces #161 Carlito)[1], NFT (552758767907686498/Fried Faces #117 Celina)[1], NFT (554264598291312483/Fried
                                      Faces #035 Frog Holmes)[1], NFT (558901182094169095/Fried Faces #028 Linda)[1], NFT (560419155007182586/Fried Faces #116 Diana)[1], NFT (563910391029662638/Fried Faces #121 Malik)[1],
                                      NFT (566259184149577731/Fried Faces #129 Lacey)[1], NFT (566592165534483996/Fried Faces #011 Teef)[1], NFT (569550832912533765/Fried Faces #149 Jerry Berns)[1], NFT
                                      (572485063984838937/Fried Faces #009 Zombie Ned)[1], NFT (572545373360426634/Fried Faces #111 Fuchsia Sanchez)[1], NFT (576042669028972922/Fried Faces #114 Kasha)[1], SOL[.06361535],
                                      USD[0.00]


08150430                              PAXG[.00008719], SOL[.00482666], USD[0.00], USDT[0.00000025]

08150435                              BTC[.00000001], SHIB[2], USD[0.00]                                                                                                                                                         Yes

08150451                              ETH[.001], USD[0.71]

08150453                              USD[6.48]                                                                                                                                                                                  Yes

08150468                              BTC[0], CUSDT[0], USD[0.04]                                                                                                                                                                Yes

08150478                              USD[0.23]                                                                                                                                                                                  Yes

08150479       Contingent, Disputed   TRX[1], USD[0.00], USDT[0]                                                                                                                                                                 Yes

08150501                              USD[0.00]

08150502                              CUSDT[10], DOGE[11.24960334], SHIB[15], TRX[.0093665], USD[0.00]                                                                                                                           Yes

08150508                              USD[0.76], USDT[0.00000001]                                                                                                                                                                Yes

08150510                              TRX[.000003]

08150514                              USD[0.01]                                                                                                                                                                                  Yes

08150517                              USD[0.00]                                                                                                                                                                                  Yes

08150537                              BRZ[1], DOGE[1], GRT[1], TRX[2], USD[0.63]                                                                                                                                                 Yes

08150539                              NFT (386694792588269531/Star Atlas - Pearce X5 )[1], NFT (418907624660468001/Ships - Pearce X5)[1]

08150541                              BTC[.00008816], ETH[0], NFT (340015511069488717/Sun Set #446 (Redeemed))[1], NFT (369813117780972723/Reflector #214 (Redeemed))[1], NFT (469282573312883519/Reflection '19 #98
                                      (Redeemed))[1], NFT (504709557077574039/Reflection '14 #39 (Redeemed))[1], TRX[.000003], USD[1.34], USDT[0.00180001]
08150550                              CUSDT[1], DOGE[1], USD[0.00]

08150557                              CUSDT[1], NFT (306238804559065126/Microphone #63)[1], SOL[.51948975], USD[0.00]                                                                                                            Yes

08150560                              BRZ[1], CUSDT[1], TRX[2], USD[61.48]                                                                                                                                                       Yes

08150565                              USD[20.00]

08150573                              ETH[0], NFT (299982302493146384/Entrance Voucher #1369)[1], NFT (390198779743135867/babypink.nft)[1], NFT (460701838277344627/Microphone #9131)[1], SOL[0], USD[0.00]

08150584                              USD[0.00]

08150587                              ETH[0], ETHW[0], USD[0.00]

08150589                              SHIB[140922.08551758], USD[0.00]                                                                                                                                                           Yes

08150607                              GRT[1.00019173], USD[0.00]                                                                                                                                                                 Yes

08150612                              ALGO[0], BCH[0], BTC[0], KSHIB[0], LTC[0], SHIB[1], SOL[0], USD[0.00]                                                                                                                      Yes

08150617                              USD[1.00]

08150621                              ETH[.1], ETHW[.1], SOL[2], USD[159.13]
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                                                                                                                                          Customer Claims                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08150623                           USD[0.71]

08150628                           CUSDT[1], ETH[.00076382], ETHW[.00075493], SHIB[26047.51095748], TRX[15.29028212], USD[0.00]                       Yes

08150647                           BTC[0.00810000], DOGE[24], ETH[.00027701], ETHW[0.00027700], SOL[1.609], USD[0.30]

08150657                           CUSDT[1], SHIB[489715.96474045], USD[0.00]

08150660                           LINK[4.02785005], TRX[1], USD[0.00]                                                                                Yes

08150667                           SOL[1.15191153]

08150669                           USD[270.00]                                                                                                        Yes

08150686                           CUSDT[2], USD[10.51]                                                                                               Yes

08150687                           CUSDT[3], ETH[0], SHIB[3], TRX[1], USD[0.00]                                                                       Yes

08150691                           USD[5.00]

08150697                           DOGE[1], TRX[1], USD[0.00]

08150717                           BTC[0], USD[39.35]

08150728                           SUSHI[1.34684475], USD[0.00]                                                                                       Yes

08150744                           USD[100.00]

08150746                           DOGE[1], SOL[.00002203], TRX[1], USD[53211.91]                                                                     Yes

08150769                           USD[0.00]

08150784                           BRZ[1], BTC[.00558043], CUSDT[1], DOGE[1], SHIB[1], SOL[2.6127223], TRX[1], USD[0.00]                              Yes

08150792                           CUSDT[5], TRX[2], USD[1.00]                                                                                        Yes

08150796                           BRZ[1], CUSDT[2], DOGE[1], SOL[.24121686], USD[1.13], USDT[0.00000035]                                             Yes

08150798                           USD[538.48]                                                                                                        Yes

08150808                           BTC[.00000017], ETH[.00000001], ETHW[0.63867836]                                                                   Yes

08150810                           DOGE[1238.45984899], SHIB[2], SUSHI[17.02871393], TRX[1], USD[105.79]                                              Yes

08150813                           ETH[.097902], ETHW[.097902], USD[4.94]

08150818                           DOGE[323.78163246], SHIB[1998159.33251972], SOL[5.39458627]                                                        Yes

08150820                           CUSDT[3], NFT (306703202088178262/FTX - Off The Grid Miami #137)[1], USD[0.01]                                     Yes

08150823                           CUSDT[2425.04370521], DOGE[247.65231369], KSHIB[2605.64339242], USD[0.01]                                          Yes

08150833                           ETH[.05], ETHW[.05]

08150842                           ETH[.001], ETHW[.001]

08150844                           USD[0.01]

08150856                           DOGE[1], SHIB[1], SOL[.00297813], USD[0.00]

08150865                           BRZ[1], USD[0.00]

08150882                           BRZ[1], SOL[.77489322], USD[0.03]                                                                                  Yes

08150890                           BAT[.0017989], BTC[0], CUSDT[11], DOGE[1], SUSHI[.07900057], TRX[1], USD[0.00]                                     Yes

08150900                           BF_POINT[100], CUSDT[1], DOGE[1], USD[0.00]                                                                        Yes

08150909                           BRZ[1], DOGE[1], SHIB[708.31907608], TRX[3], USD[0.00], USDT[0]                                                    Yes

08150911                           USD[0.00], USDT[0]

08150921                           USD[200.01]

08150924                           BTC[0.15317820]

08150927                           SOL[.1998], USD[10.31]

08150932                           USD[0.00], USDT[0.08981448]

08150939                           ETHW[.051], USD[0.00]

08150946                           SHIB[1216649.22547214], USD[0.00]

08150948                           USD[0.00]                                                                                                          Yes

08150959                           CUSDT[2], SOL[0.11667206], USD[0.00]

08150963                           CUSDT[2], SOL[10.1224291], TRX[2], USD[241.67]

08150967                           ETH[0], MATIC[0], SOL[0], USD[0.00]

08150968                           CUSDT[3], ETHW[13.57717443], MATIC[0], SHIB[3], SOL[.00086625], USD[0.00]                                          Yes

08150969                           DOGE[17.75060923], GRT[77.807215], TRX[1], USD[0.00]                                                               Yes

08150970                           USD[0.01]

08150976                           BAT[1], DOGE[2], ETHW[21.11758429], GRT[1], MATIC[1.00112797], USD[0.00]                                           Yes

08150977                           CUSDT[3], LINK[.00004827], MATIC[0], USD[0.00]                                                                     Yes

08150989                           NFT (427407941124826915/Earl Campbell's Playbook: Rice vs. Texas - October 1st, 1977 #116)[1]                      Yes

08151001                           BF_POINT[300], CUSDT[1], SOL[0], USD[0.00]                                                                         Yes

08151007                           BRZ[2], CUSDT[6], DOGE[2], ETH[.38868556], ETHW[.38852226], SHIB[2], SOL[8.42248868], USD[0.00]                    Yes

08151015                           BAT[6.07567081], CUSDT[4], DOGE[3], ETH[.00000383], SHIB[3], TRX[1], USD[0.00]                                     Yes

08151016                           USD[0.01]

08151026                           USD[10.80]                                                                                                         Yes

08151034                           SHIB[625630.60840605]                                                                                              Yes
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08151045                           BTC[.00172805], CUSDT[1], USD[0.00]

08151061                           TRX[1], USD[0.06]                                                                                                                                                                               Yes

08151067                           USD[1.00]

08151074                           SOL[17.76823712], USD[0.01]

08151078                           USD[20.00]

08151082                           USD[12.64]

08151089                           BAT[5.27830761], BRZ[3], CUSDT[1], GRT[1], SUSHI[2.10175446], TRX[6], USD[0.01], USDT[1.05961195]                                                                                               Yes

08151098                           BTC[0], USD[3.40], USDT[0.00000001]

08151103                           ETH[.5], ETHW[.5]

08151111                           ETH[0.00000001], ETHW[0], SHIB[.00000002], USD[0.00]                                                                                                                                            Yes

08151122                           USD[249.63]

08151129                           BCH[.00319301], USD[0.00]

08151141                           TRX[0], USD[0.00], USDT[0.99118585]

08151159                           ETH[0], ETHW[0], USD[1.56]

08151177                           MATIC[29.97], USD[19.87]

08151178                           BF_POINT[200], CUSDT[3], DOGE[2], SHIB[1], USD[20.95], USDT[.77629374]

08151179                           DOGE[1], USD[0.01], USDT[0.00093495]                                                                                                                                                            Yes

08151188                           BTC[.00497773], CUSDT[2], DOGE[841.38859573], KSHIB[9167.47416834], MATIC[310.82496415], SHIB[3], SOL[13.26458445], USD[0.00]                                                                   Yes

08151200                           ETH[0], ETHW[0], USD[1.52]

08151203                           BTC[0], LINK[0], SHIB[1], SOL[.23745412], USD[0.00]                                                                                                                                             Yes

08151216                           SOL[14.43259], USD[0.67]

08151218                           USD[0.00]                                                                                                                                                                                       Yes

08151226                           USD[2.00]

08151229                           BTC[.00008584], USD[5.40]                                                                                                                                                                       Yes

08151231                           NFT (295293182358161217/Sun Set #528)[1], NFT (345951401531685037/Coachella x FTX Weekend 1 #2916)[1], NFT (368335433642848763/Cosmic Creations #888)[1], NFT
                                   (413553240400745557/Ferris From Afar #698)[1], NFT (463978706266181843/Reflection '15 #20)[1], NFT (476235094010785679/Cosmic Creations #226)[1], NFT (508100398144886810/Reflection '16
                                   #28)[1], NFT (574798607623635290/Reflection '12 #18)[1], USD[84.94]
08151241                           BTC[0.00998670], ETHW[16.25088599], USD[26.61]

08151246                           ETH[0], ETHW[0], SHIB[1], TRX[1], USD[0.01]

08151251                           BRZ[1], DOGE[1663.59954364], SHIB[2], USD[18.91]

08151257                           CUSDT[1], GRT[242.66617899], USD[0.00]                                                                                                                                                          Yes

08151266                           USD[107.37]                                                                                                                                                                                     Yes

08151268                           NFT (298651937251095179/Divinity Collection #10)[1], NFT (363140817473571309/Divinity Collection #2)[1], NFT (367354651271866541/Divinity Collection #8)[1], NFT (383073435512553054/Divinity
                                   #5)[1], NFT (389415779646858987/Divinity Collection)[1], NFT (399888531402103327/UCSB NFT - 2022 #2)[1], NFT (428487639705761344/Divinity #5 #2)[1], NFT (430541538646051610/Divinity
                                   #6)[1], NFT (438079218324925084/Divinity Collection #3)[1], NFT (450284606406637329/Divinity Collection #9)[1], NFT (450338111880287209/Divinity Collection #4)[1], NFT
                                   (548324876827527616/Divinity #7)[1], SOL[0], USD[0.00]
08151271                           USD[0.01]

08151277                           USD[0.00], USDT[0]

08151287                           USD[0.00]

08151297                           BTC[0], ETH[0], USD[261.55], USDT[.004022]

08151299                           AUD[0.73], DOGE[.3559], USD[0.01], USDT[0.16997161]

08151304                           BTC[0], MATIC[0], USD[0.23], USDT[0.00000001]

08151315                           USD[1.00]

08151321                           CUSDT[0], ETH[0], GRT[0], SHIB[2], TRX[2.00023093], USD[0.00]                                                                                                                                   Yes

08151322                           NFT (443547237166127790/Coachella x FTX Weekend 1 #881)[1]

08151328                           USDT[24]

08151329                           USD[0.01]                                                                                                                                                                                       Yes

08151339                           CUSDT[1], SUSHI[13.27729679], USD[0.00]                                                                                                                                                         Yes

08151341                           BCH[.03447302], BTC[.0001718], CUSDT[1], KSHIB[101.6193036], SHIB[102451.60547697], SOL[.3047345], SUSHI[1.41773739], TRX[108.9796762], USD[5.37], YFI[.00015423]                               Yes

08151342                           SOL[.0071405], USD[0.85], USDT[574.56602803]

08151346                           USD[3.17], USDT[0.00000001]

08151353                           USDT[26]

08151357                           CUSDT[3], ETH[.00000002], ETHW[.00000002], USD[89.19]                                                                                                                                           Yes

08151372                           SHIB[1], SOL[.00000001], USD[643.66]

08151378                           BRZ[1], BTC[.01006476], CUSDT[3], DOGE[2], ETH[.23711564], ETHW[.23691454], SHIB[1], SOL[6.30397717], TRX[1], USD[2.72]                                                                         Yes

08151392                           ETHW[.051], SOL[1.54], USD[222.23]

08151402                           TRX[59], USD[5.32]

08151406                           CUSDT[1], SOL[.04612776], USD[0.00]

08151415                           CUSDT[1], SHIB[278878.89369433], USD[4.04]                                                                                                                                                      Yes

08151432                           CUSDT[1], DOGE[484.97997614], USD[0.00]

08151433                           USD[25.00]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08151438                              BAT[11.39834195], BRZ[22.63473594], CUSDT[2], NFT (328925095386525936/Hall of Fantasy League #228)[1], SHIB[528187.29534201], SOL[.35684786], TRX[319.12224132], USD[1.14]              Yes

08151454                              USDT[1.12862368]

08151460                              BAT[1.01204449], BCH[.0000004], BTC[.00928482], SOL[.00000122], USD[0.00]                                                                                                               Yes

08151463                              BTC[.004013], USD[0.00], USDT[0.00024240]

08151477                              USD[0.00]

08151481                              USD[0.01]                                                                                                                                                                               Yes

08151487                              SOL[0.00000084], TRX[409.54961304], USD[0.00]

08151489                              ETH[0], USD[0.00], USDT[0.00000169]

08151500                              DOGE[1], MATIC[1.01383662], USD[0.00]                                                                                                                                                   Yes

08151524                              SOL[.008], USD[0.00]

08151540                              CUSDT[1], DOGE[1], LINK[14.20889281], SHIB[2830455.70336824], USD[0.01]

08151551                              USD[0.47]                                                                                                                                                                               Yes

08151552                              BCH[.0121031], BTC[.00003451], CUSDT[1], USD[1.08]                                                                                                                                      Yes

08151555                              NFT (403665622233181788/Coachella x FTX Weekend 1 #23057)[1]

08151579                              USD[0.01]

08151586                              BTC[.00134308], CUSDT[4], DOGE[1], ETH[.02404005], ETHW[.02373909], NFT (335951000839383185/Arlene Kshlerin)[1], NFT (372493699065247333/Lunarian #7072)[1], SHIB[6], SOL[.65710292],   Yes
                                      USD[0.00]
08151587                              CUSDT[1], SOL[.13639497], USD[0.01]                                                                                                                                                     Yes

08151590                              LTC[0], USD[0.01]                                                                                                                                                                       Yes

08151595                              USD[0.00]

08151599                              USD[30.00]

08151606                              ETH[.00000001], ETHW[0], USD[7.02]

08151625       Contingent, Disputed   SHIB[3], TRX[1], USD[0.00]                                                                                                                                                              Yes

08151636                              BTC[0.00094883], CUSDT[1], NFT (365635371177505403/FTX - Off The Grid Miami #819)[1], SHIB[4], USD[0.00]                                                                                Yes

08151641                              USD[0.01]                                                                                                                                                                               Yes

08151643                              BAT[0], BRZ[.00702402], BTC[0], CUSDT[2], ETH[0], GRT[0], LINK[0], MATIC[0.19011079], NFT (399091219532805840/DOTB #1323)[1], SHIB[4], SOL[0], TRX[.3588693], UNI[0], USD[0.31],        Yes
                                      USDT[0.00000001]
08151650                              CUSDT[1], ETH[.00841229], ETHW[.00841229], USD[0.01]

08151652                              BRZ[3], BTC[.0849406], CUSDT[15], DOGE[3], ETH[.68752021], ETHW[.5863842], GRT[481.28350388], LINK[43.55312349], MATIC[504.93313093], NEAR[4.01597646], SHIB[174], SOL[13.00559323], Yes
                                      TRX[7], USD[59.97]
08151658                              TRX[1], USD[0.00]                                                                                                                                                                    Yes

08151659                              BTC[.0042957], USD[1.32], USDT[248.52732153]

08151664                              CUSDT[1], SOL[.46408229], USD[0.00]

08151671                              USD[0.00]                                                                                                                                                                               Yes

08151678                              SUSHI[7.47812213], USD[0.00]

08151679                              CUSDT[2], GRT[1.00019173], SHIB[1], SOL[10.88011694], USD[0.00]                                                                                                                         Yes

08151680                              USD[0.00]

08151689                              BTC[.00086487]

08151690                              ETH[.00022961], ETHW[.00022961], SHIB[112128.06801041], USD[0.06]

08151694                              BRZ[1], SHIB[1], USD[0.00]

08151702                              USD[0.30]

08151712                              BRZ[1], DOGE[104.74837103], SHIB[1], USD[0.00]                                                                                                                                          Yes

08151720                              NFT (416120720119718655/2974 Floyd Norman - CLE 4-0238)[1], NFT (560180878963129134/2974 Floyd Norman - OKC 4-0225)[1], SOL[0.00661267], USD[125.94], USDT[0]

08151727                              BTC[.03209953], CUSDT[32], DOGE[165.24997583], ETH[.42076035], ETHW[.42058371], LTC[.53649531], SHIB[1252987.2114811], SOL[1.04970197], TRX[4], UNI[6.47179218], USD[520.56]            Yes

08151731                              USD[1.00]

08151732                              CUSDT[2], USD[0.00]

08151735                              USD[0.79]

08151747                              BTC[0], DOGE[0.00069743], ETH[0], ETHW[0], SHIB[0], SOL[0.01099635], USD[0.00]                                                                                                          Yes

08151753                              SOL[9.46], USD[1.52]

08151754                              CUSDT[1], ETH[.11476447], ETHW[.11476447], USD[0.00]

08151780                              CUSDT[2], DOGE[1], MATIC[30.04340643], SOL[.51219554], USD[0.00]                                                                                                                        Yes

08151794                              BTC[0.00000001]

08151803                              SOL[.0509717], USD[0.00]                                                                                                                                                                Yes

08151805                              USD[25.00]

08151807                              BAT[81.59673286], TRX[1], USD[0.00]                                                                                                                                                     Yes

08151808                              BTC[.02944671], CUSDT[1], DOGE[1], USD[0.00], USDT[1]

08151810                              TRX[1], USD[2.01], USDT[0]

08151848                              NFT (364291213137633597/Shannon Sharpe's Playbook: Denver Broncos vs. Los Angeles Raiders - January 9, 1994 #65)[1], USD[26.83]                                                         Yes

08151850                              ETH[.00206609], ETHW[0.00203872], USD[0.00]                                                                                                                                             Yes

08151851                              ETH[.997], ETHW[.997], SOL[2.70729], USD[5.62]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08151864                              USD[250.00]

08151866                              CUSDT[2], ETH[0.00496343], ETHW[0.00496343], SOL[0]

08151872                              ETH[.00005657], ETHW[.00005657], USD[0.00]

08151919                              BCH[.0712169], DOGE[86.48873883], SHIB[1], SUSHI[6.65744527], USD[0.00]                                                                                                   Yes

08151934                              USD[0.20]

08151950                              CUSDT[1], KSHIB[2000.0200002], USD[323.89]                                                                                                                                Yes

08151956                              DOGE[9.48725519]                                                                                                                                                          Yes

08151957                              CUSDT[4], DOGE[1], SOL[.00064017], TRX[2], USD[0.00]                                                                                                                      Yes

08151960                              USD[20.00]

08151963                              KSHIB[70.36832187], USD[2.00]

08151970                              BAT[15.73991441], BRZ[1], BTC[.00110797], CUSDT[5], DOGE[1], ETH[.05925419], ETHW[.05851672], LINK[1.0219851], SOL[.26056086], TRX[1], USD[0.52]                          Yes

08151973                              BF_POINT[100], CUSDT[2], NFT (539272341834800182/SolBunnies #554)[1], SOL[1.60589151], TRX[1.0006675], USD[46.76], USDT[0]                                                Yes

08151980                              DOGE[49.35877784], SHIB[218087.25781958], USD[0.00]                                                                                                                       Yes

08151983                              BTC[.00091718]                                                                                                                                                            Yes

08151989                              LTC[.80060226], NFT (306022380652759174/Vs Reality Series #2)[1], NFT (499310214449311450/Vs Reality Series)[1], USD[0.00], USDT[0]

08151996                              BRZ[2], CUSDT[1], GRT[1], TRX[2], USD[301.24]

08152001                              ETH[.001], ETHW[.001], USD[2.76]

08152013                              GRT[857.39254608]                                                                                                                                                         Yes

08152016                              USD[54.21]                                                                                                                                                                Yes

08152019                              CUSDT[906.97770655], DOGE[1], EUR[21.91], KSHIB[581.65980114], SHIB[476039.35258648], TRX[187.1782406], USD[0.00]

08152032                              BAT[1], BRZ[1], DOGE[2], MATIC[128.48908364], SHIB[20], TRX[3], USD[126.75]                                                                                               Yes

08152040                              BTC[.00001727], USD[0.00]

08152048                              USD[0.00]

08152051                              CUSDT[2], ETH[0], SOL[.00000001], USDT[0.00001384]                                                                                                                        Yes

08152071                              AVAX[17.04716554], BTC[0.18419516], DOGE[1], MATIC[286.0866209], SOL[10.55993059], USD[0.06]                                                                              Yes

08152074                              USD[0.02]

08152082                              CUSDT[1], ETH[.00623155], ETHW[.00614947], USD[0.00]                                                                                                                      Yes

08152087                              CUSDT[3], DOGE[1], GRT[1], TRX[1], USD[0.00]                                                                                                                              Yes

08152108                              BRZ[3], BTC[.01337431], CUSDT[79.38854841], DOGE[4], ETH[.2607283], ETHW[.26053076], LINK[15.43369783], SOL[.75521757], SUSHI[106.98580708], TRX[4], USD[0.00], USDT[0]   Yes

08152112                              BTC[0]

08152129                              USD[10.00]

08152148                              USD[0.00]

08152185       Contingent, Disputed   BRZ[1], SOL[2.82766425], USD[0.00]                                                                                                                                        Yes

08152186                              USD[0.00]

08152189                              MATIC[3639.98349396], USD[0.00]

08152191                              MATIC[55.65102028], TRX[1], USD[100.00]

08152204                              LINK[7.30046779], SHIB[1], TRX[2], USD[0.00]

08152216                              USD[161.60]

08152220                              CUSDT[44.87128237], DAI[2.36020455], SHIB[136678.71413426], TRX[9.99948945], USD[0.80]                                                                                    Yes

08152222                              SOL[1], USD[0.00]

08152236                              CUSDT[4901.04048078], DOGE[767.37045648], ETH[.02352516], ETHW[0.02323788], HKD[0.17], TRX[1], USD[0.00]                                                                  Yes

08152243                              ETH[0.15550971], LTC[0], USD[0.02]

08152247                              AVAX[5.53120523], BTC[.03639233], CUSDT[1], DOGE[8.00921072], GRT[2173.00482708], LINK[13.84246585], MATIC[154.79165216], NEAR[594.04880934], SHIB[8449303.62059419],     Yes
                                      SOL[80.98828912], TRX[7], USD[825.32]
08152249                              MATIC[1.16827677], USD[0.00]                                                                                                                                              Yes

08152260                              DOGE[2], SHIB[1], USD[0.01]                                                                                                                                               Yes

08152282                              ETH[.00232928], ETHW[.00232928]

08152299                              MXN[0.00]

08152300                              USD[50.01]

08152309                              USD[0.79]

08152310                              BRZ[2], CUSDT[25], DOGE[9.12003272], SHIB[9], TRX[5], USD[0.00]                                                                                                           Yes

08152316                              USD[1.00]

08152320                              ETH[.058941], ETHW[.058941], KSHIB[909.09], USD[102.33]

08152321                              BRZ[1], USD[0.01]

08152322                              BTC[.00001684], USD[0.00]

08152335                              USD[10.80]                                                                                                                                                                Yes

08152340                              BTC[.00466763], CUSDT[2], ETH[.23821117], ETHW[.23801131], SHIB[1], TRX[1], USD[1153.00]                                                                                  Yes

08152341                              BTC[.0001742], SOL[.13160487], USD[3.70]

08152360                              CUSDT[1], MATIC[61.10520077], USD[0.00]                                                                                                                                   Yes
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08152361                              BTC[0], USD[2.95]

08152366                              BRZ[59.75500683], CUSDT[1], KSHIB[232.18917473], USD[0.00]                                                                                                                               Yes

08152368                              CUSDT[3], DOGE[1], ETH[0], USD[0.00]

08152369                              DOGE[1], ETH[.01476703], ETHW[.01458919], SOL[2.00644295], TRX[4056.05904604]                                                                                                            Yes

08152373                              ETH[.00000001]

08152380                              BTC[0], ETH[0], ETHW[0.04689967], GRT[15.48534873], LINK[0], MATIC[0.00006176], SOL[0], SUSHI[0], TRX[0], UNI[0]                                                                         Yes

08152382                              SOL[59.01205892]                                                                                                                                                                         Yes

08152391                              CUSDT[1], ETH[0], SOL[.00000001]

08152394                              SOL[.00201639]

08152395                              BTC[.02024612], MATIC[9.46790178], SOL[.00522189], USD[0.28]

08152399                              NFT (569734303655894790/FTX Glass)[1]

08152402                              BAT[1], ETH[.90030736], ETHW[.90030736], GRT[1], TRX[1], USD[0.00]

08152405                              DOGE[1], SHIB[276.93736146], USD[0.00]                                                                                                                                                   Yes

08152410                              USD[1.08]                                                                                                                                                                                Yes

08152426                              SHIB[1242780.64961587], USD[0.00]

08152428                              USD[0.27]                                                                                                                                                                                Yes

08152429                              SOL[.23], USD[0.41]

08152441                              BTC[.000261], CUSDT[1], USD[0.00]                                                                                                                                                        Yes

08152442                              BRZ[1], CUSDT[1], DOGE[1.26596463], USD[0.00]                                                                                                                                            Yes

08152447                              BAT[1.00165433], CUSDT[22], DOGE[4], ETH[.00001303], ETHW[.00001303], GRT[1], TRX[6], USD[0.00], USDT[1.06895832]                                                                        Yes

08152449                              ETH[0.00353958], ETHW[0.00353958], MATIC[0], NFT (426979230487610192/Gloom Punk #2000)[1], NFT (460027035229899314/Skull Love #7)[1], USD[7.45]

08152450                              CUSDT[3], ETH[0], ETHW[0], KSHIB[418.07361979], SOL[.00000084], USD[0.00]                                                                                                                Yes

08152457                              BTC[.00208409], CUSDT[7], DOGE[2], SHIB[11897057.16547783], USD[0.19]                                                                                                                    Yes

08152458                              NFT (347580021019502788/Aku World Avatar #62)[1]

08152476                              BAT[349.91092857], BRZ[1], USD[0.00]                                                                                                                                                     Yes

08152480                              BAT[1], USD[0.20]

08152483                              CUSDT[1], ETH[.00000609], ETHW[.00000609], USD[0.00]                                                                                                                                     Yes

08152497                              BRZ[1], CUSDT[17], MATIC[8.26555418], SHIB[1], TRX[3], USD[89.70]                                                                                                                        Yes

08152498                              CUSDT[1], USDT[0.00000068]

08152501                              BCH[.00503902], BTC[.00012152], DOGE[1], ETH[.00120881], ETHW[.00119513], USD[0.00]                                                                                                      Yes

08152503                              ETH[.000454], ETHW[.000454], SOL[.00787], USDT[0]

08152514                              CUSDT[1], NFT (299613298048260051/Pixel Fruit #9)[1], NFT (342038653612027480/FoxArt #5)[1], NFT (501182339347021647/Megalodon Rogue Shark Tooth)[1], SOL[.04296241], USD[0.00]          Yes

08152516                              BTC[.00092234], CUSDT[2], ETH[.0114409], ETHW[.0113041], MATIC[4.13710132], SOL[.06131064], USD[0.22]                                                                                    Yes

08152517                              BCH[.00808676], GRT[5.65064996], USD[0.00]

08152520                              SOL[0.00000099], USD[0.00]

08152524                              CUSDT[1], KSHIB[399.43854917], USD[0.02]                                                                                                                                                 Yes

08152536                              CUSDT[1], SOL[.10281719], USD[0.00]                                                                                                                                                      Yes

08152544                              CUSDT[3], USD[0.01]                                                                                                                                                                      Yes

08152547                              ETH[.106], ETHW[.106], LTC[.005], MATIC[2548.02], SHIB[60540100], SOL[23.987], UNI[.095], USD[783.43]

08152564                              USD[2.56]

08152569                              BTC[.00056861], USD[0.00]

08152581                              AUD[1.42], BTC[0.00002078], MATIC[2.46220379], PAXG[0.00150908], SOL[.02039605], SUSHI[0.16951727], USD[4.08]                                                                            Yes

08152585                              USD[0.00]

08152604                              DOGE[1], MATIC[7.55792509], USD[3.26]                                                                                                                                                    Yes

08152608                              USD[20.00]

08152610                              DOGE[1], SHIB[8672335.1537007], USD[0.04]                                                                                                                                                Yes

08152617                              BTC[.0247752], ETH[.259], ETHW[.259], USD[900.61]

08152618                              BTC[.00033961]

08152637                              CUSDT[3], USD[0.07]                                                                                                                                                                      Yes

08152639                              NFT (299729657789100660/Triggered)[1], NFT (301378496341562019/Goat Lord)[1], NFT (304107091592296709/F me up fam)[1], NFT (304344189609492267/Undertaker Goku)[1], NFT
                                      (319197077477379068/I’m de’ captain now )[1], NFT (320727418871771054/Omicronobots roll out)[1], NFT (337913746081320814/Neo)[1], NFT (338867487669104665/Swamp of Good Vibes)[1], NFT
                                      (341459257419814263/Respek )[1], NFT (349625020667279001/Certified)[1], NFT (396343418883827598/Party Foul)[1], NFT (398649056021376531/Little Spicey)[1], NFT (401219154433613422/HHC
                                      #3)[1], NFT (401519114609650848/HHC #5)[1], NFT (402880319141154845/Sativa)[1], NFT (411166708798843432/HHC #2)[1], NFT (426971362702521363/Mr. Toad and Me)[1], NFT
                                      (431431270105151230/Hillbilly Shore)[1], NFT (433883793969715245/Final Boss)[1], NFT (434855085354463724/Dating)[1], NFT (448591091741028720/HHC #4)[1], NFT
                                      (450864406185966354/Champagne Papi)[1], NFT (462707995276134672/Take me home)[1], NFT (470579388720947310/Golden Angel)[1], NFT (483387787498217791/HHC)[1], NFT
                                      (525157262857615904/Pondering )[1], USD[0.00]
08152642       Contingent, Disputed   DOGE[0], USD[0.00]

08152662                              USD[10.00]

08152664                              CUSDT[4801.55927832], TRX[1040.41592802], USD[-99.98]                                                                                                                                    Yes

08152677                              BAT[14.66314542], TRX[1], USD[0.00]

08152687                              SOL[.95999357], USD[0.00], USDT[1]
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                                                                                                                                         Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08152693                           ETH[.00760731], ETHW[.00760731], USD[0.00]

08152712                           USD[0.00]

08152713                           BTC[.00000087], CUSDT[4], DOGE[3], ETH[.00591385], ETHW[.00584545], SHIB[69880.31321411], SOL[.09641943], TRX[1], USD[1783.94], USDT[2.08898561]                                           Yes

08152725                           NFT (289879506044025574/Ethereum № #20)[1], NFT (290265232569494793/Saudi Arabia Ticket Stub #2096)[1], NFT (291646611108886354/bottles #3)[1], NFT                                         Yes
                                   (295604965614561789/SleepParalysis #10)[1], NFT (295722429580860193/FTX EU - we are here! #178313)[1], NFT (297049236228810329/Scary beautiful hell #9)[1], NFT
                                   (299358780435096965/CybrgGirls #9)[1], NFT (302013215303576552/Solbucks Brew Club #4900)[1], NFT (302040987501482313/Yawning Cat Japan)[1], NFT (305118740504207951/BlackWhite)[1],
                                   NFT (306087616874344187/Scary beautiful hell-Animated)[1], NFT (307906535105820285/Barcelona Ticket Stub #2352)[1], NFT (308210158882798590/Megalodon Rogue Shark Tooth)[1], NFT
                                   (308432934453577607/BlackWhite #4)[1], NFT (308934842702944873/T-Rex Skywalker)[1], NFT (312213760567541303/CybrgGirls #2)[1], NFT (312873639669913860/ Phobia #2)[1], NFT
                                   (316143973920919898/Scary beautiful hell #8)[1], NFT (316973934792844192/D-O-double-G T-Rex)[1], NFT (318374229771304223/Ethereum № #19)[1], NFT (318947484907843511/Photos of nature
                                   #2)[1], NFT (323701738995527406/Ethereum № #21)[1], NFT (323859225271648203/Ethereum № #32)[1], NFT (325872890448179322/Robot_NFT #5)[1], NFT (325984667021839859/ Phobia)[1],
                                   NFT (326682991784525984/Yawning Cat Roma)[1], NFT (327168121670598078/ mountain flower)[1], NFT (327315624223562019/SleepParalysis #2)[1], NFT (330895990855879995/Solbucks Brew
                                   Club #26)[1], NFT (331081227784660490/Latawica #76)[1], NFT (331710294233803574/Cyborg girls #8)[1], NFT (331802443076431435/Painting-Art #30)[1], NFT (333452967691974911/Barcelona
                                   Ticket Stub #447)[1], NFT (338775910441755796/Superheroes #2)[1], NFT (341216393520321495/bottles)[1], NFT (345380752427865145/Football Player #2)[1], NFT (347116901880777703/Latawica
                                   #63)[1], NFT (348148521967421676/FTX - Off The Grid Miami #2330)[1], NFT (354489680848765817/Photos of nature #4)[1], NFT (354661273537925400/bottles #6)[1], NFT
                                   (356644857642164395/SleepParalysis #8)[1], NFT (356936101569916708/Painting-Art #21)[1], NFT (357527668250952574/Football Player)[1], NFT (362995967627132298/bottles #2)[1], NFT
                                   (363108850087565308/Celebrity #4)[1], NFT (364290458946577601/Celebrity #3)[1], NFT (379456497993599011/Steampunk Heart #3)[1], NFT (382460258247979137/FTX EU - we are here!
                                   #217097)[1], NFT (382481490628120372/Superheroes #3)[1], NFT (382859066695229931/Scary beautiful hell #3)[1], NFT (383210883968703299/FTX EU - we are here! #280052)[1], NFT
                                   (387132916312475342/Cyborg girls #10)[1], NFT (388785742361774293/CybrgGirls #5)[1], NFT (393774384584964866/Ethereum № #17)[1], NFT (394309378560806728/T-Rex Parker)[1], NFT
                                   (395400913160853192/FTX EU - we are here! #258137)[1], NFT (395539840563095995/Ethereum № #18)[1], NFT (397041732590185561/Ethereum № #16)[1], NFT
                                   (398278068349098235/Robot_NFT)[1], NFT (398832519292591618/Celebrity)[1], NFT (399466125667872057/Scary beautiful hell #10)[1], NFT (402224658649080661/FTX EU - we are here!
                                   #259062)[1], NFT (402887120919674003/Ethereum № #26)[1], NFT (403338760610471567/skull flowers #10)[1], NFT (403385793898390774/Solana Mountain #6)[1], NFT
                                   (406591405538554643/bottles #4)[1], NFT (407266629014718234/T-Rex Allen)[1], NFT (410996982542031815/Robot_NFT #2)[1], NFT (413473586259046463/Elixir bottle #12)[1], NFT
                                   (414453102606141493/FTX EU - we are here! #244257)[1], NFT (416342067762950599/Solana Original #4)[1], NFT (421477066595700277/Painting-Art #28)[1], NFT (422510863639631823/T-Rex
                                   Presley)[1], NFT (426091939469112904/Superheroes #4)[1], NFT (426474826926696193/bottles #10)[1], NFT (426736692104164187/Football Player #3)[1], NFT (428200993570063738/Latawica
                                   #75)[1], NFT (431623857391925665/SleepParalysis #3)[1], NFT (432057897994325517/Painting-Art #32)[1], NFT (432311549141208634/Barcelona Ticket Stub #2461)[1], NFT
                                   (436665526188353093/CybrgGirls)[1], NFT (438755758774588562/ Phobia #4)[1], NFT (440745968160780654/Ghoulie #5884)[1], NFT (441615957980755093/CybrgGirls #8)[1], NFT
                                   (443052314732878705/Ravager #1948)[1], NFT (443321863990063134/Photos of nature)[1], NFT (443991824796214279/Solana Tropics #6)[1], NFT (445723019949800307/Celebrity #5)[1], NFT
                                   (447245196098022577/Yawning Cat Dubai)[1], NFT (452085964446490481/Painting-Art #26)[1], NFT (452626038180443988/skull flowers #5)[1], NFT (454926477570115633/Ethereum № #31)[1], NFT
                                   (455321443315185971/Photos of nature #5)[1], NFT (455928525118987966/CybrgGirls #10)[1], NFT (457122182205366126/Ethereum № #25)[1], NFT (459111186009995402/Scary beautiful hell
                                   #7)[1], NFT (460063162122968405/Photos of nature #7)[1], NFT (460734331926137823/Robot_NFT #3)[1], NFT (465024470144257799/CybrgGirls #4)[1], NFT (469457227726682225/BlackWhite
                                   #5)[1], NFT (470194494818266800/Scary beautiful hell #6)[1], NFT (474927459233427708/Ethereum № #23)[1], NFT (483464176082459063/Steampunk Heart)[1], NFT
                                   (484754897679016301/SleepParalysis)[1], NFT (486785687834753005/Australia Ticket Stub #1381)[1], NFT (489000214168596831/Latawica #62)[1], NFT (490225118043323789/Painting-Art #27)[1],
                                   NFT (491115361704138195/Latawica #82)[1], NFT (498642795410338111/bottles #9)[1], NFT (499063409524672545/Photos of nature #8)[1], NFT (503888380752673959/SleepParalysis #7)[1], NFT
                                   (503986856956463703/Ethereum № #24)[1], NFT (506057411443195184/SleepParalysis #4)[1], NFT (506504780014344075/Scary beautiful hell)[1], NFT (507603035511715022/Photos of nature #3)[1],
                                   NFT (507738433670832223/Steampunk Heart #4)[1], NFT (508446305681020413/Ethereum № #22)[1], NFT (510676850653019655/Saudi Arabia Ticket Stub #490)[1], NFT
                                   (518543690940948328/CybrgGirls #6)[1], NFT (519656531019062098/CybrgGirls #7)[1], NFT (520138125744915602/FTX EU - we are here! #249922)[1], NFT (520571588924693763/Steampunk Heart
                                   #2)[1], NFT (520790134527873648/T-Rexachu)[1], NFT (521582116606673182/ Phobia #3)[1], NFT (524080980213430216/FTX EU - we are here! #259240)[1], NFT (524685802687939613/Photos of
                                   nature #6)[1], NFT (524734959345216475/CybrgGirls #3)[1], NFT (530427030055886083/Ethereum № #29)[1], NFT (530537449699931129/SleepParalysis #5)[1], NFT (536645886145814623/FTX EU -
                                   we are here! #248482)[1], NFT (541375123879711105/Ravager #1537)[1], NFT (543128067427994406/Scary beautiful hell-Animated #2)[1], NFT (543750968457102433/ Solar rainbow rauss #5)[1], NFT
                                   (546873523797751512/SleepParalysis #6)[1], NFT (548200930296854956/T-Rex Georgie)[1], NFT (551771923215146933/ Solar rainbow rauss #10)[1], NFT (552650064020202682/Ethereum №
                                   #28)[1], NFT (555130360064824518/Scary beautiful hell #2)[1], NFT (557274986812142284/Steampunk Heart #5)[1], NFT (557300690885467838/Solana Tropics #7)[1], NFT
                                   (563722292682767004/Bahrain Ticket Stub #1601)[1], NFT (567312315371117800/Imprisoned T-rex)[1], NFT (568120498579042868/bottles #5)[1], NFT (569271930687940492/Robot_NFT #4)[1], NFT
                                   (569589287280089388/Geraldine1050)[1], NFT (569664151058622143/Scary beautiful hell #5)[1], NFT (571294002675901118/Geraldine1047)[1], NFT (572343657447392341/Latawica #85)[1], NFT
                                   (573910629276444384/Ethereum № #30)[1], NFT (575342778521865996/Ethereum № #27)[1], SOL[5.25532859], USD[0.00]



08152756                           BTC[.03716466], DOGE[1762.3242], ETH[.8032362], ETHW[.8032362], LTC[.319696], MATIC[119.886], SHIB[4795440], SOL[9.3211365], USD[17.67]

08152759                           DOGE[1], ETH[1.24166487], ETHW[1.24114327], USD[0.00]                                                                                                                                      Yes

08152767                           USD[7.10]                                                                                                                                                                                  Yes

08152792                           USD[11.83]                                                                                                                                                                                 Yes

08152797                           CUSDT[1], SHIB[526893.46405437], USDT[0]                                                                                                                                                   Yes

08152799                           USD[20.00]

08152805                           USD[0.02]

08152812                           USDT[2.11515]

08152822                           USD[0.00]

08152878                           BRZ[3], CUSDT[3], DOGE[2], TRX[.65671156], USD[0.00]

08152887                           ETH[.0007241], ETHW[0.00058144], USD[0.01]

08152888                           CUSDT[1], DOGE[2], SOL[0], USD[0.00]

08152894                           ETH[.00057951], ETHW[.41750712], SOL[33.06518095], UNI[.08733812], USD[0.92], USDT[1.1173143]                                                                                              Yes

08152901                           CUSDT[1], SOL[2.10085633], USD[0.00]

08152906                           DOGE[683.6858]

08152911                           TRX[1], USD[0.00]

08152932                           BAT[8.50798244], CUSDT[7], DOGE[131.24263365], GRT[22.20598358], KSHIB[407.95723302], MATIC[5.07734348], SHIB[612093.5994621], TRX[1], USD[0.00], USDT[10.73574215]                        Yes

08152937                           CUSDT[2], SHIB[1412062.31139373], SOL[1.20893021], USD[0.11]                                                                                                                               Yes

08152942                           SHIB[115021.85415228], USD[0.00]

08152966                           USD[20.00]

08152998                           USD[149.97]

08153001                           BTC[.00019611], ETH[.0025936], ETHW[.00256624], USD[0.00]                                                                                                                                  Yes

08153013                           USD[10089.85]                                                                                                                                                                              Yes

08153032                           USD[539.97]                                                                                                                                                                                Yes

08153058                           DOGE[.275], ETH[.242], ETHW[.242], SOL[.03996], USD[298.62], USDT[.5840848]

08153061                           DAI[20.00551152]

08153070                           USD[0.00]
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                                                                                                                                             Customer Claims                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08153079                              USD[0.00]

08153092       Contingent, Disputed   BAT[0.01851115], BRZ[0], BTC[0], DAI[0], DOGE[0], ETH[0], GRT[0], KSHIB[0], LTC[0], MATIC[0], MKR[0], SHIB[0], TRX[0], USD[0.00], YFI[0]                                   Yes

08153094                              CUSDT[4], DAI[21.41237919], KSHIB[469.16505861], SOL[.06844988], USD[3.43]                                                                                                 Yes

08153097                              BRZ[1], BTC[.02236309], CUSDT[19], DOGE[5], ETH[.15005149], ETHW[.14922715], SOL[9.50888611], TRX[6], USD[2.90]                                                            Yes

08153111                              USD[27.00]                                                                                                                                                                 Yes

08153125                              CUSDT[1], DOGE[1], SHIB[5], SOL[0], USD[0.00], USDT[0]                                                                                                                     Yes

08153127                              USD[2.00]

08153128                              USD[0.00], USDT[0]

08153150                              BTC[.005407]                                                                                                                                                               Yes

08153159                              CUSDT[1], SHIB[1702622.26447515], USD[0.00]

08153167                              ETH[0], USD[0.00]

08153188                              BAT[0], DAI[0], DOGE[0], ETH[0], GRT[0], MATIC[0], SHIB[0], SOL[0.00000085], TRX[0], UNI[0], USD[0.00], YFI[0]                                                             Yes

08153200                              USD[0.00]

08153201                              USD[0.00]

08153204                              CUSDT[3], TRX[1], USD[0.00]

08153212                              USD[0.00]                                                                                                                                                                  Yes

08153224                              CAD[67.21], CUSDT[3], DOGE[2], KSHIB[2278.56194487], SHIB[4948428.29517593], SOL[3.04097412], TRX[534.68028293], USD[0.01]                                                 Yes

08153253                              USD[10.80]                                                                                                                                                                 Yes

08153283                              USD[20.00]

08153290                              BCH[0.00000057], CUSDT[2], TRX[0]                                                                                                                                          Yes

08153327                              CUSDT[1], KSHIB[626.42684374], USD[80.99]                                                                                                                                  Yes

08153330                              MATIC[10], USD[332.33]

08153350                              BTC[0], USD[0.00], USDT[0]

08153363                              USD[6.48]                                                                                                                                                                  Yes

08153366                              BF_POINT[100], BRZ[6.07426377], DOGE[1.00331527], ETH[.00000083], ETHW[.00000083], SHIB[29], TRX[14], USD[0.00], USDT[1.04531617]                                          Yes

08153368                              USD[0.01], USDT[0]

08153378                              BCH[0], BTC[0], DAI[0], DOGE[0], ETH[0], LINK[0], MATIC[0], PAXG[0.00000001], SOL[0.00000001], TRX[0], USD[0.00], USDT[0]

08153391                              USD[0.00], USDT[21.88383984]

08153393                              CUSDT[1], SHIB[2], SOL[.02233349], USD[9.02]                                                                                                                               Yes

08153403                              USD[0.00]

08153410                              BAT[0], ETH[0], ETHW[0], GRT[0], LINK[0], MATIC[0.00381116], MKR[0], SOL[0], SUSHI[0], UNI[0], USD[0.00]

08153411                              AVAX[3.261], LINK[.00000001]

08153413                              KSHIB[720], SHIB[1800000], USD[0.26]

08153446                              USD[215.98]                                                                                                                                                                Yes

08153447                              USD[0.00]

08153458                              MATIC[65.63671337], SHIB[113524628.40568614], USD[0.00]                                                                                                                    Yes

08153459                              NFT (364824973908533665/The Goat Himself)[1], USD[14.27]                                                                                                                   Yes

08153462                              BTC[.00010232]

08153464                              USD[50.01]

08153468                              MATIC[199.9], USD[72.87]

08153471                              CUSDT[1], USD[0.00]

08153476                              SOL[.05110715], USD[0.00]

08153495                              BTC[0.05656551], CUSDT[7], GRT[1], SHIB[2], SOL[.00656688], TRX[1], USD[0.08]                                                                                              Yes

08153511                              SHIB[1], TRX[233.3798174], USD[0.00]

08153514                              USD[1.21]

08153532                              USD[9.03]                                                                                                                                                                  Yes

08153544                              CUSDT[2], TRX[1025.78709244], USD[0.00]

08153547                              BRZ[1], LTC[2.19328122], SHIB[1397602.88441752], USD[0.00]                                                                                                                 Yes

08153559                              USD[1.00]

08153565                              BRZ[1], BTC[.00511653], CUSDT[3], DOGE[1], ETH[.03984742], ETHW[.03935494], NFT (385210485478853477/A00042)[1], TRX[2], USD[0.00]                                          Yes

08153572                              MATIC[1.15810273], USD[0.00], USDT[0]

08153574                              AAVE[0], BTC[0.00026649], DOGE[.00000074], ETH[0.07593245], ETHW[0.00000128], LINK[.06775851], MATIC[260.26000399], MKR[0], NFT (405024107098513979/3D SOLDIER #773)[1],   Yes
                                      SHIB[0.60776496], SOL[16.40650155], USD[0.01], USDT[0.00017288]
08153577                              BTC[.0017], USD[3.23]

08153578                              USD[2000.00]

08153580                              ETH[0], ETHW[0], USD[0.15]                                                                                                                                                 Yes

08153581                              USD[0.67]

08153583                              DOGE[2], SHIB[1], SOL[3.71210166], USD[0.00]                                                                                                                               Yes

08153585                              BRZ[1.83656715], BTC[.00077235], ETH[.01108833], ETHW[.01095153], KSHIB[73.31429898], SHIB[75563.75922796], TRX[1], USD[0.00]                                              Yes
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                                                                                                                                            Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08153604                              AAVE[.00569], ALGO[160.619], AVAX[3.5951], BAT[.768], BCH[.494637], BTC[0.00149833], DOGE[.377], ETH[.037778], ETHW[.000786], GRT[.073], LINK[7.37236], LTC[.84638], MATIC[.92],
                                      MKR[.00074], NEAR[25.8434], SHIB[5084700], SOL[4.43298], TRX[899.9664], UNI[8.78303], USD[0.33], USDT[.00178395]
08153608                              ETH[.07381509], ETHW[.07381509], NFT (556119171540478347/2974 Floyd Norman - OKC 2-0214)[1], USD[0.00]

08153612                              DOGE[285.05475188], USD[100.00], USDT[0]

08153625       Contingent, Disputed   USD[0.00], USDT[0]

08153639                              BRZ[1], CUSDT[3], DOGE[1], ETH[0], SOL[.00000001], USD[0.00]

08153644                              ETH[0], USD[0.00], USDT[0.00000055]

08153675                              SOL[10.035], USD[40.89]

08153676                              BTC[0], ETH[0], ETHW[0], USD[0.00], USDT[0]                                                                                                                                               Yes

08153684                              BRZ[.27178925], DOGE[.99954088], SHIB[11299.08171603], USD[0.00]                                                                                                                          Yes

08153686                              CUSDT[1], SHIB[1218026.79658952], USD[0.01]

08153706                              KSHIB[243.62844615], SHIB[243605.3593179], USD[30.01]

08153725                              USD[0.31]

08153729                              BTC[0], ETH[0.01155010], ETHW[0.01155010], USD[0.23]

08153736                              SOL[9.52], USD[1.39]

08153742                              USD[0.01]

08153744                              NFT (567077862876568975/Cyber Miami)[1]

08153758       Contingent, Disputed   AVAX[.098765], BTC[0], MATIC[9.9715], SOL[.009088], USD[0.00]

08153782                              CUSDT[1], SHIB[28396498.4489294], TRX[1], USD[0.02]

08153787                              CUSDT[1], DOGE[1], ETH[.0000075], ETHW[.0000075], USD[0.02]                                                                                                                               Yes

08153793                              ETH[.00221965], ETHW[0.00221964], NFT (434761203964607145/BoxGang #2)[1], NFT (502478414976430655/BoxGang #1)[1], NFT (527390930697598358/BoxGang #3)[1], SOL[.082]

08153796                              USD[5.00]

08153799                              BTC[.0141], ETH[.104], ETHW[.104], MATIC[160], SOL[16.6186], USD[5.89]

08153806                              BTC[.004995], ETH[.06429594], ETHW[.06429594], USD[0.00]

08153817                              DOGE[1], TRX[1], USD[0.00]

08153819                              USD[0.00]

08153826                              USD[10.00]

08153829                              BAT[1], BTC[0], DOGE[2], ETH[0.00074902], NFT (335139038204523004/Founding Frens Investor #761)[1], NFT (352689745352844675/Founding Frens Lawyer #371)[1], NFT                           Yes
                                      (395142329644307153/Founding Frens Investor #731)[1], NFT (520180262001437676/Founding Frens Investor #456)[1], SHIB[42], TRX[1], USD[0.00], USDT[0.00000850]
08153835                              USD[0.00]

08153838                              USD[0.00]                                                                                                                                                                                 Yes

08153847                              USD[20.00]

08153870                              BRZ[1], ETHW[.02086293], MATIC[.00014627], SHIB[46], USD[159.25]                                                                                                                          Yes

08153896                              CUSDT[1], TRX[837.51667249], USD[0.00]                                                                                                                                                    Yes

08153897                              BRZ[30.11066746], CUSDT[2], DOGE[120.66566669], KSHIB[671.9986218], NFT (371471993412077001/Surreal World #18)[1], NFT (393240338238081725/Surreal World #16)[1], NFT                     Yes
                                      (571826193031355499/Surreal World #20)[1], USD[9.97]
08153900                              BRZ[1], CUSDT[5.08103905], DOGE[1], MATIC[.44571483], SOL[1.16476596], TRX[2.13495374], USD[0.09]                                                                                         Yes

08153904                              ETHW[.83133], LTC[0], USD[0.00]

08153909                              BRZ[4], CUSDT[2], DOGE[659.87820999], ETH[1.02543198], ETHW[1.02500141], MATIC[436.87046115], SHIB[12], SOL[11.25864952], TRX[5], USD[0.00], USDT[2.07122963]                             Yes

08153913                              BTC[.00000004], CUSDT[2], ETH[.00000011], ETHW[.01163568], SHIB[11322.3293231], SOL[.00000127], USD[0.00]                                                                                 Yes

08153928                              BAT[12], CUSDT[1], SOL[.24124343], USD[123.01]

08153937                              DOGE[1], SHIB[22.55777146], USD[0.00]                                                                                                                                                     Yes

08153940       Contingent, Disputed   USD[0.00], USDT[0]

08153942                              SOL[.05396763]                                                                                                                                                                            Yes

08153944                              SOL[.00000081], USD[0.00]                                                                                                                                                                 Yes

08153948                              CUSDT[1], MATIC[56.55727335], USD[0.00]                                                                                                                                                   Yes

08153973                              CUSDT[2], NFT (332840248118884300/Earl Campbell's Playbook: Texas vs. Houston - November 5th, 1977 #108)[1], NFT (368784720758708887/Earl Campbell's Playbook: Rice vs. Texas - October   Yes
                                      1st, 1977 #98)[1], NFT (392341941984646167/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #108)[1], USD[0.01]
08153981                              CUSDT[1], DOGE[1], ETH[.02316616], ETHW[.02316616], USD[0.00]

08154004                              BTC[0.06810319], ETH[3.44808695], ETHW[3.44808695], MATIC[1348.0905], SHIB[2497625], SOL[.0068365], TRX[5807.47765], USD[4.96]

08154008                              USD[0.00]

08154012                              USD[0.07], USDT[0]                                                                                                                                                                        Yes

08154021                              TRX[3999.324283]

08154022                              CUSDT[1], SOL[1.16972176], USD[0.00]                                                                                                                                                      Yes

08154028                              DOGE[1], USD[0.00]                                                                                                                                                                        Yes

08154029                              NFT (298595391013120371/Settler #2205)[1], SHIB[184974.31259556], SOL[.00000031], USD[0.00]                                                                                               Yes

08154032                              SOL[.04772], USD[0.62]

08154033                              BTC[.00000031], GRT[1], USD[0.01]                                                                                                                                                         Yes

08154044                              USD[89.05]

08154054                              CUSDT[1323.89631813], ETH[0], ETHW[0], USD[0.00]

08154057                              USD[100.00]
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                                                                                                                                          Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08154060                           KSHIB[0], SHIB[0], SOL[0], TRX[1], USD[0.00]                                                                                                                                           Yes

08154061                           ETH[.00110999], ETHW[.00110999], USD[0.00]

08154063                           SOL[.05]

08154069                           CUSDT[2], ETH[.00228047], ETHW[.00225311], NFT (313401140395349215/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #114)[1], USD[0.00]                  Yes

08154072                           DOGE[40], ETH[.008], ETHW[.008], SOL[.06], USD[3.38]

08154079                           USD[8.60]                                                                                                                                                                              Yes

08154088                           USD[500.00]

08154102                           AVAX[5.58585622], BTC[.00000007], DOGE[3], ETH[.00000188], ETHW[.20594863], MATIC[598.3317706], SHIB[4], TRX[1], USD[0.00]                                                             Yes

08154103                           USDT[0]

08154112                           BTC[.00010783], DOGE[1], USD[0.00]                                                                                                                                                     Yes

08154137                           CUSDT[3395.83143585], DOGE[138.48927102], TRX[2551.94618354], USD[25.00]

08154152                           BAT[97.34777756], BTC[0.00000007], NFT (312558064721180345/Momentum #1010)[1], NFT (451143520602867096/Rubber Duckie #0008 - SOL)[1], SOL[.79227563], USD[0.00], USDT[0.47055701]

08154159                           AVAX[1.09978089], BRZ[2], CUSDT[3], DOGE[6], GRT[1], SHIB[15232527.4984686], TRX[7], USD[0.00]

08154161                           BTC[0.00882215], ETH[1.329343], ETHW[1.329343], KSHIB[3638.39], LTC[2.12675106], SOL[.00000001], TRX[.001593], USD[0.36], USDT[11.77414165]

08154166                           CUSDT[3], USD[0.00]                                                                                                                                                                    Yes

08154175                           USD[0.00]                                                                                                                                                                              Yes

08154178                           USD[100.00]

08154186                           BTC[.00359175], ETH[.00945813], ETHW[.00933501], MATIC[2.54777484], SHIB[1], SOL[.08369415], USD[10.20]                                                                                Yes

08154193                           USD[50.01]

08154199                           USD[27.00]                                                                                                                                                                             Yes

08154206                           BTC[.01038827], CUSDT[2], DOGE[593.45391449], GRT[400.91378193], SHIB[3172588.8324873], TRX[1], USD[50.01]

08154211                           BTC[.0462], USD[3.32]

08154223                           CUSDT[3], USD[0.01]                                                                                                                                                                    Yes

08154225                           BAT[1], BRZ[2], CUSDT[80.70191478], DOGE[56.67435093], KSHIB[238.08096354], MATIC[6.38628766], SHIB[5], TRX[1], USD[0.01]                                                              Yes

08154239                           BF_POINT[300], LINK[1.7711846], SHIB[1], USD[0.00]                                                                                                                                     Yes

08154252                           BRZ[1], DOGE[1], GRT[2], SUSHI[1.03978075], TRX[2], USD[1.46]                                                                                                                          Yes

08154254                           USD[21.60]                                                                                                                                                                             Yes

08154269                           USD[0.00], USDT[0.00000043]

08154270                           DAI[2.14173838], USD[0.00]                                                                                                                                                             Yes

08154275                           USD[0.05]                                                                                                                                                                              Yes

08154293                           SOL[0.18297184], USD[0.00]

08154303                           BTC[.01756352], USD[0.00]

08154309                           DAI[.06], USD[0.01]

08154347                           BTC[.00030588], CUSDT[1], ETH[.00263084], ETHW[.00260348], MATIC[5.25541638], PAXG[.00294833], SHIB[1], USD[0.00]                                                                      Yes

08154348                           BAT[1.0090635], BRZ[1], BTC[.03649852], CUSDT[5], DOGE[496.89574524], ETH[.02303702], ETHW[.02274974], MATIC[59.45104195], SHIB[4537684.03060069], SOL[1.09245019], USD[0.01]          Yes

08154349                           ETH[.00054627], ETHW[.00054627], SOL[.0062132], USD[0.89], USDT[45.69326627]

08154353                           USD[0.00]                                                                                                                                                                              Yes

08154358                           BTC[.00000001], DOGE[0.00048993], SHIB[1079859.51307126], SOL[0.49968751]                                                                                                              Yes

08154363                           BTC[0], ETH[0], SHIB[166.69337724], SOL[0], USD[0.00], USDT[0]

08154372                           USD[0.00], USDT[0]                                                                                                                                                                     Yes

08154394                           BAT[3.00621499], BRZ[1], BTC[0], CUSDT[3], DOGE[3], GRT[1], NFT (293445724443330197/2974 Floyd Norman - CLE 5-0221)[1], NFT (301224625246791779/The 2974 Collection #2397)[1], NFT     Yes
                                   (302365921253431792/2974 Floyd Norman - OKC 6-0043)[1], NFT (312128959284324972/2974 Floyd Norman - OKC 2-0173)[1], NFT (341837132328153741/The 2974 Collection #2351)[1], NFT
                                   (354335724240764487/Singapore Ticket Stub #163)[1], NFT (358415528989984921/The 2974 Collection #1401)[1], NFT (363854613143680301/Austin Ticket Stub #114)[1], NFT
                                   (368411885175519481/Birthday Cake #1858)[1], NFT (379375265833343642/2974 Floyd Norman - OKC 4-0151)[1], NFT (385248883473660000/The 2974 Collection #1858)[1], NFT
                                   (392452130140344640/Birthday Cake #1492)[1], NFT (402263248143126804/2974 Floyd Norman - CLE 4-0141)[1], NFT (425149523001179636/Birthday Cake #2351)[1], NFT
                                   (429602486869713558/Exclusive 2974 Collection Merchandise Package #4810 (Redeemed))[1], NFT (456627093105730637/2974 Floyd Norman - OKC 5-0267)[1], NFT (489279594534133815/Birthday
                                   Cake #1401)[1], NFT (490890605680930775/2974 Floyd Norman - CLE 3-0160)[1], NFT (504792849959498186/2974 Floyd Norman - CLE 2-0125)[1], NFT (516447670690827386/2974 Floyd Norman -
                                   CLE 6-0028)[1], NFT (520444315227841362/2974 Floyd Norman - OKC 1-0282)[1], NFT (526951439186489989/Japan Ticket Stub #155)[1], NFT (534337331000563403/2974 Floyd Norman - OKC 3-
                                   0126)[1], NFT (540580436775952608/2974 Floyd Norman - CLE 1-0211)[1], NFT (542193071525094566/Birthday Cake #2397)[1], NFT (569238524777194535/The 2974 Collection #1492)[1],
                                   SUSHI[1.05404662], TRX[5], USD[0.00], USDT[3.14620609]
08154395                           SOL[2.4889615], TRX[1], USD[0.00]                                                                                                                                                      Yes

08154398                           BTC[0.01859509], USD[0.00]

08154401                           BTC[.0018358]

08154404                           ETH[0], PAXG[.0000633], USD[0.75], USDT[0.00000001]

08154405                           USD[0.83]

08154418                           ALGO[0], DOGE[1], SOL[.00000001], TRX[0.00076460], USD[0.00]                                                                                                                           Yes

08154452                           SOL[0]

08154454                           BTC[.00051818], TRX[1], USD[0.00]                                                                                                                                                      Yes

08154466                           BCH[.38463602], BTC[.01318376], CUSDT[4], DOGE[3], LTC[.10817547], SHIB[3], SOL[.19258909], TRX[1], USD[0.00]                                                                          Yes

08154472                           SOL[.11363142], USD[0.81]

08154479                           DAI[.99451184], USD[0.00]

08154503                           ETH[.000622], ETHW[.000622], USD[0.01]
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                                                                                                                                          Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08154530                           CUSDT[3], NFT (355515026320575276/Boneworld #9571)[1], NFT (492903988019743325/ALPHA:RONIN #1247)[1], SHIB[2], SOL[0.18204424], SUSHI[.00028571], TRX[1.00007824], USD[0.04]                Yes

08154544                           BAT[0], ETH[0], SOL[0.00144275], USD[0.00]

08154553                           DOGE[.04185554], USD[0.00]

08154556                           BAT[1.01190588], ETH[.11221595], ETHW[.11110251], USD[0.00]                                                                                                                                 Yes

08154560                           NFT (345878452652304991/PIG 03)[1], NFT (526985876621457515/Motley Zoo #16)[1], USD[0.01]                                                                                                   Yes

08154564                           SHIB[1], TRX[1], USD[0.00]

08154570                           TRX[1], USD[0.00]

08154576                           BAT[1], BRZ[1], CUSDT[4], DOGE[1], USD[0.00]

08154583                           CUSDT[2], SHIB[1328105.36434261], USD[0.00]                                                                                                                                                 Yes

08154594                           DOGE[1], NFT (498768346219264779/Solninjas #2383)[1], NFT (545815256378688281/Solninjas #946)[1], SHIB[1], SOL[.0748969], TRX[1], USD[11.43]                                                Yes

08154597                           BTC[0], EUR[0.19], TRX[0], USD[0.01], USDT[.13404972]

08154608                           BTC[0], ETH[0], ETHW[0], NFT (299408205429747491/Nois3)[1], USD[0.00]

08154609                           BTC[.0010443], CUSDT[1], DOGE[1], ETH[.03565225], ETHW[.03521253], USD[0.00]                                                                                                                Yes

08154611                           SOL[0]

08154619                           BTC[.01907327]

08154622                           CUSDT[1], TRX[231.75818688], USD[0.00]                                                                                                                                                      Yes

08154624                           USD[20.00]

08154625                           USD[17.76]                                                                                                                                                                                  Yes

08154633                           TRX[1], USD[0.00]

08154634                           BTC[.01999107], DOGE[14.98575], ETH[.41061335], ETHW[.41061335], USD[0.16]

08154640                           USD[20.00]

08154647                           ETH[.004858], ETHW[.004858]

08154649                           NFT (291496114320399891/JaxJonson #10)[1], NFT (295565344472879024/KryptoKid 2)[1], NFT (299151494841832348/JaxJonson #11)[1], NFT (315231933008092181/JaxJonson #9)[1], NFT
                                   (336883197205856141/JaxJonson #8)[1], NFT (346357950001270300/JaxJonson)[1], NFT (362963129248000147/KryptoKid 1 #13)[1], NFT (364032291933902544/KingKrypto #2)[1], NFT
                                   (371671041610231609/KryptoKid 1 #9)[1], NFT (381764408611094703/KryptoKid 1 #7)[1], NFT (390022810491067560/Wizard #2)[1], NFT (393609104743415487/JaxJonson #12)[1], NFT
                                   (406753698765942613/Wizard #5)[1], NFT (408005170722400954/JaxJonson #3)[1], NFT (417802242229995055/KryptoKid 1)[1], NFT (424105044700563651/Wizard)[1], NFT
                                   (428180778495378128/KingKrypto #4)[1], NFT (441002348092913321/JaxJonson #7)[1], NFT (448189648329196024/KryptoKid 1 #8)[1], NFT (464652344385142872/KryptoWizard)[1], NFT
                                   (473079160082873231/KryptoKid 1 #12)[1], NFT (475231523088923418/JaxJonson #2)[1], NFT (480231484756133657/JaxJonson #6)[1], NFT (486165135826294665/KryptoKid 1 #10)[1], NFT
                                   (514995647001412544/Solninjas #204)[1], NFT (519883469185249044/Wizard #3)[1], NFT (522294661901972613/Wizard #4)[1], NFT (539215029719259081/KingKrypto #3)[1], NFT
                                   (544957674120091013/KingKrypto)[1], NFT (558983225640296634/KryptoKid 1 #6)[1], NFT (575835281647829492/KryptoKid 1 #11)[1]
08154651                           BTC[.16302237], ETH[.37223623], ETHW[.37223623], SOL[16.01515226], USD[718.69]                                                                                                              Yes

08154654                           BTC[.0053946], SHIB[99900], USD[1.43]

08154659                           DOGE[1], SHIB[11148659.93992579], USD[0.00]                                                                                                                                                 Yes

08154663                           BTC[.0047189], CUSDT[5], DOGE[.82807957], ETH[.02116526], ETHW[.02090534], TRX[1], USD[26.62]                                                                                               Yes

08154670                           CUSDT[1], DOGE[1], SOL[1.16224315], USD[0.00]

08154671                           CUSDT[1], DOGE[1], SHIB[4240820.71081812], SOL[.43631954], TRX[2], USD[0.04], USDT[0.05315887]                                                                                              Yes

08154673                           USD[0.01]

08154676                           CUSDT[1], DOGE[231.60707232], MATIC[45.760009], SHIB[124839.33080026], USD[0.00]                                                                                                            Yes

08154678                           BAT[1], BRZ[1], DOGE[112.73783709], ETH[1.02854701], ETHW[1.01383563], LINK[.84395803], MATIC[7.85663695], SHIB[1561336.19807808], SOL[12.56655381], TRX[126.34606271], USD[0.01]

08154691                           BTC[0], ETH[0], NFT (297703148928850187/TinyColonyWL)[1], NFT (343810142101807873/ianal)[1], NFT (353540283563846671/AMPresaleSP)[1], NFT (374221417929199894/Cinder Fractal WL)[1],
                                   NFT (383323572759402735/MetaLeagueSilverWL)[1], NFT (404695078167261573/TinyColonyWhiteList)[1], NFT (431498593042033048/Fractal Whitelist)[1], NFT
                                   (432443298944537157/MetaOpsSilverWL)[1], NFT (485181058854584894/MetaOpsCWL)[1], NFT (514779205863301029/TinyColonyWL)[1], NFT (523311213090962486/Pizzaro's Silver Token)[1], NFT
                                   (575503994398368281/Cinder Fractal WL)[1], SOL[0], USD[0.00]
08154695                           BAT[319.30360102], CUSDT[1], USD[0.00]                                                                                                                                               Yes

08154702                           BTC[0.00000002], USD[0.00]                                                                                                                                                                  Yes

08154704                           USD[50.01]

08154706                           BTC[.27995566], DOGE[5864.1995806], ETH[2.36343999], ETHW[2.36343999], LINK[1], TRX[1], USD[0.00]

08154721                           BTC[.00149603], USD[0.00]                                                                                                                                                                   Yes

08154733                           ETHW[1.4865], USD[0.00]

08154735                           BTC[.00096254], KSHIB[1064.28154078], TRX[2], USD[53.92]                                                                                                                                    Yes

08154737                           CUSDT[5], DOGE[1], SOL[.79220809], USD[0.00]                                                                                                                                                Yes

08154753                           AVAX[0], BAT[0], BCH[0], BF_POINT[200], BTC[0], CUSDT[0], DAI[0], DOGE[0], ETH[0], GRT[0], KSHIB[0], LTC[0], MATIC[0], MKR[0], SHIB[17419.97886728], SOL[0], SUSHI[0], TRX[0], USD[0.00],   Yes
                                   YFI[0]
08154756                           BTC[.00016782], USD[0.00]                                                                                                                                                                   Yes

08154763                           SOL[.08], USD[2.96]

08154769                           LTC[.21597204]                                                                                                                                                                              Yes

08154781                           NFT (416743362689150763/Joylina's Cantina S1 #5807)[1], USD[0.00]                                                                                                                           Yes

08154787                           BTC[.00392379], USD[21.60]                                                                                                                                                                  Yes

08154788                           SOL[13.86], USD[3.25]

08154799                           ETH[.0000277], ETHW[3.03391493], LTC[.00000004]                                                                                                                                             Yes

08154804                           SHIB[1], USD[0.00]

08154814                           CUSDT[1], USD[10.21]                                                                                                                                                                        Yes

08154818                           CUSDT[1], ETHW[1.08348578], USD[1698.43], USDT[1.0001826]                                                                                                                                   Yes
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                                                                                                                                             Customer Claims                                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08154820                              BTC[.00442241], USD[0.00]                                                                                                                                                                      Yes

08154824                              USD[1101.23]

08154825                              DOGE[1], USD[0.01]                                                                                                                                                                             Yes

08154830                              USD[0.01]                                                                                                                                                                                      Yes

08154831                              CUSDT[1], DOGE[1], USD[0.00]

08154849                              ETHW[.1670021], SOL[1.06566392], USD[0.00], USDT[0.00000153]

08154851       Contingent, Disputed   ETH[0], SHIB[0], SOL[0], USD[0.00]

08154857                              CUSDT[1], ETH[.016925], ETHW[.0167198], USD[0.01]                                                                                                                                              Yes

08154859                              USD[1.10]                                                                                                                                                                                      Yes

08154861                              USD[0.44]

08154873                              BTC[.00630393], DOGE[1], ETH[.78336626], ETHW[.78303736], KSHIB[2635.10235659], LINK[2.95746861], LTC[.14361], MATIC[69.88143661], SOL[2.7133612], USD[0.02]                                   Yes

08154882                              SOL[.01], USD[0.00]

08154885                              NFT (445225496523913144/Solana Islands #554)[1], SOL[.95550729], USD[0.00]

08154886                              BAT[1.00174989], BRZ[4], BTC[.1733048], CUSDT[1], DOGE[5], ETH[2.32217025], ETHW[2.32119495], GRT[1], SHIB[1], SOL[56.40086693], TRX[3], USD[0.00], USDT[2.14168611]                           Yes

08154900                              USD[40.01]

08154903                              USD[100.00]

08154905                              BTC[.00879354], DOGE[2], ETH[.11943327], ETHW[.11827949], MATIC[111.46535615], SHIB[5], TRX[1], USD[0.00]                                                                                      Yes

08154908                              MATIC[0], SOL[0], USD[0.00]

08154911                              CUSDT[1], USD[0.00]                                                                                                                                                                            Yes

08154912                              CUSDT[5], DOGE[84.46879928], KSHIB[.00004479], SHIB[6.56755831], USD[0.00]                                                                                                                     Yes

08154917                              TRX[.000001]

08154926                              SOL[24.53502674]                                                                                                                                                                               Yes

08154927                              NFT (299491429340036078/Motley Zoo #2)[1], NFT (303959232167108714/Lolly #3)[1], NFT (311719019097423098/Iriswoman illustration series #3)[1], NFT (346442117897682370/Carnival girl #4)[1],
                                      NFT (348438612947612844/Iriswoman illustration series #10)[1], NFT (354711522987951527/My little piggy #10)[1], NFT (355206221387325239/My little piggy #3)[1], NFT
                                      (364965165811891792/Motley Zoo #3)[1], NFT (365500736903745451/Lolly #2)[1], NFT (375692288069915816/Motley Zoo #20)[1], NFT (377682888515189375/Iriswoman illustration series #8)[1],
                                      NFT (380093311495356678/Iriswoman illustration series #9)[1], NFT (381251584511054493/Iriswoman illustration series #4)[1], NFT (391118463807082674/My little piggy #9)[1], NFT
                                      (393624204085949541/My little piggy #7)[1], NFT (393873961482875121/My little piggy #4)[1], NFT (411575735917706497/Iriswoman illustration series #2)[1], NFT (426627017942395066/My little
                                      piggy )[1], NFT (440523739208665426/My little piggy #2)[1], NFT (454107071553258898/Carnival girl #7)[1], NFT (464397253460487967/Iriswoman illustration series #5)[1], NFT
                                      (465356655360569419/My little piggy #8)[1], NFT (466604839921871926/My little piggy #5)[1], NFT (483209387306055296/Zebro #5)[1], NFT (483799998153212707/My little piggy #6)[1], NFT
                                      (487526285296995018/Motley Zoo #9)[1], NFT (493314266652284553/Iriswoman illustration series #7)[1], NFT (494925062288340313/Carnival girl #6)[1], NFT (498459897689316391/Motley Zoo
                                      #5)[1], NFT (529054181740273160/Zebro #4)[1], NFT (542756952739576595/Zebro #6)[1], NFT (549555667168343550/Motley Zoo #4)[1], NFT (550663750180150086/Motley Zoo #14)[1], NFT
                                      (552901796896969458/Iriswoman illustration series #6)[1], NFT (557493491488695039/Iriswoman illustration series #11)[1], NFT (559701780904010529/Motley Zoo #10)[1], NFT
                                      (563223356640810236/Lolly )[1], NFT (572849329860604399/Motley Zoo #13)[1], USD[65.25]
08154936                              ETH[.00000001], USD[12.29], USDT[0]

08154938                              BAT[1], BRZ[1.00299726], CUSDT[2], DOGE[.01430372], GRT[.00495139], LINK[.00019427], MKR[.00000259], NEAR[.000104], SHIB[282.42343843], SUSHI[24.82996372], TRX[2], USD[0.01],                 Yes
                                      USDT[1.02543197], YFI[.00000021]
08154945                              USD[100.00]

08154946                              BTC[.00203879], CUSDT[2], DOGE[2], ETH[.02466557], ETHW[.02466557], TRX[1], USD[0.00]

08154948                              MATIC[0], USDT[0]                                                                                                                                                                              Yes

08154949                              USD[20.00]

08154952                              USD[0.00], USDT[0]                                                                                                                                                                             Yes

08154956                              DOGE[596], MATIC[40], USD[0.12], USDT[0.09834133]

08154961                              BTC[.00053039], CUSDT[8], DOGE[1], ETH[.00750162], ETHW[.00740579], SUSHI[4.11043659], USD[5.94]                                                                                               Yes

08154985                              BRZ[1], BTC[.00025338], CUSDT[1], DOGE[1], ETH[1.01124245], ETHW[1.01081786], LINK[174.82466641], TRX[1], USD[0.00]                                                                            Yes

08155000                              USD[107.94]                                                                                                                                                                                    Yes

08155003                              DOGE[1], USD[0.00]

08155022                              USD[135.92]

08155023                              CUSDT[1], TRX[1075.88746945], USD[0.00]                                                                                                                                                        Yes

08155025                              USD[0.72]

08155028                              SHIB[140620.25393744], USD[0.00]                                                                                                                                                               Yes

08155029                              DOGE[1], USD[1.00]                                                                                                                                                                             Yes

08155031                              USD[0.10], USDT[.007685]

08155046                              USD[21.60]                                                                                                                                                                                     Yes

08155050                              ETH[1.77978077], ETHW[1.77978077]

08155057                              BRZ[1], CUSDT[2], DOGE[1], TRX[1], USD[0.00]                                                                                                                                                   Yes

08155058                              SOL[.11623121], USD[0.00]

08155063                              BTC[.0016], NFT (518165202412721813/Coachella x FTX Weekend 2 #2510)[1], USD[5.01]

08155070                              BRZ[1], CUSDT[1], DOGE[3718.82769873], SOL[1.82435207], TRX[1], USD[5.60]                                                                                                                      Yes

08155080                              BAT[1], BRZ[8.58836301], BTC[.00000146], CUSDT[16], DOGE[12.51963819], GRT[5.17024795], SUSHI[1.07780993], TRX[18.24579245], USD[6.19]                                                         Yes

08155091       Contingent, Disputed   USD[0.00], USDT[0]                                                                                                                                                                             Yes

08155099                              USD[20.00], USDT[0.00000048]

08155111                              SHIB[2], TRX[1], USD[0.00]

08155119                              CUSDT[1], TRX[1], USD[186.97]
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                                                                                                                                            Customer Claims                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08155126                              USD[0.01]                                                                                                                                                                   Yes

08155135                              BTC[.00169087]

08155142                              CUSDT[4], TRX[1], USD[0.00]                                                                                                                                                 Yes

08155148                              BRZ[1], CUSDT[2], DOGE[13.26027027], SHIB[0], TRX[5], USD[0.00]                                                                                                             Yes

08155153                              BAT[1], BTC[.00005447], USD[38.56]

08155160                              USD[0.01]                                                                                                                                                                   Yes

08155182                              BTC[0], USD[1.61]

08155193                              BTC[.00033584], CUSDT[1], USD[0.00]                                                                                                                                         Yes

08155205                              CUSDT[11], USD[0.00]                                                                                                                                                        Yes

08155217                              BTC[.00005005], KSHIB[140], USD[0.11]

08155225                              BTC[0.00004552], DOGE[50.30246798], SHIB[1], USD[0.00], USDT[0.00001075]                                                                                                    Yes

08155239                              USD[0.00]

08155249                              SOL[.05011333], USD[0.00]                                                                                                                                                   Yes

08155257                              BAT[1.01187816], SHIB[12293142.2716067], USD[0.00]                                                                                                                          Yes

08155262                              CUSDT[2], TRX[1612.33197496], USD[0.97]                                                                                                                                     Yes

08155264                              BTC[.00016782], USD[0.00]                                                                                                                                                   Yes

08155271                              ETH[.10655336], ETHW[.10655336]

08155292                              ETH[.0010021], ETHW[.00098841], MATIC[1.44294185], SOL[0.02060469], USD[0.00], USDT[0]                                                                                      Yes

08155304                              SHIB[200000], USD[0.56]

08155306                              CUSDT[1], SHIB[3085508.82088731], SOL[1.1705349], TRX[1], USD[0.00]                                                                                                         Yes

08155311                              SHIB[.00003459], USD[0.01]                                                                                                                                                  Yes

08155315       Contingent, Disputed   LTC[.03197729], SHIB[2], USD[0.00], USDT[0]                                                                                                                                 Yes

08155316                              DOGE[1], TRX[1], USD[9.72]                                                                                                                                                  Yes

08155317                              NFT (300278253344007011/The 2974 Collection #0986)[1], NFT (300801249394208961/The 2974 Collection #0934)[1], NFT (335189950739307272/Birthday Cake #0934)[1], NFT
                                      (468230405993660154/Birthday Cake #0598)[1], NFT (502443442955681290/Birthday Cake #0986)[1], NFT (562848454288583297/The 2974 Collection #0598)[1], USD[0.00]
08155319                              USD[200.01]

08155320                              BAT[68.24961502], BRZ[420.3757652], CAD[6.72], CUSDT[491.06339459], DOGE[289.87479362], GRT[163.33707314], KSHIB[229.12898449], SHIB[2838280.07726719], TRX[1], USD[6.64]   Yes

08155324                              USD[0.00], USDT[0]

08155345                              ETH[0], USD[0.00]

08155347                              CUSDT[2], USD[0.01]

08155352                              USD[0.10]

08155380                              CUSDT[1], USD[0.00]

08155381                              ETH[.02202536], ETHW[.02202536], USD[0.00]

08155389                              USD[0.00]

08155393                              SOL[.00021313]                                                                                                                                                              Yes

08155414                              ETH[.01101764], ETHW[.01101764], USD[0.00]

08155419                              BRZ[1], CUSDT[1], DOGE[1], GRT[1], LTC[0], SHIB[1], USD[0.00], USDT[1.07982965]                                                                                             Yes

08155421                              BTC[.0004223], CUSDT[4], DOGE[110.59485433], SHIB[567923.6710586], TRX[246.44643949], USD[0.00]

08155427                              BRZ[65.76866506], CUSDT[5], GRT[13.53924017], KSHIB[275.65016686], SHIB[453523.98906457], SUSHI[3.32696645], TRX[127.86395049], USD[23.68]                                  Yes

08155429                              USD[4.41]

08155431                              BTC[.00001339], ETHW[.0379658], SOL[.009073], USD[6.59], YFI[.0000955]

08155438                              DAI[160.71110544], TRX[1], USD[0.00]                                                                                                                                        Yes

08155445                              BAT[0], USD[0.07]                                                                                                                                                           Yes

08155450                              USD[50.01]

08155455                              BTC[.00180873], CUSDT[1], USD[0.00]

08155461                              USD[0.09]

08155473                              USD[500.00]

08155477                              CUSDT[2], DOGE[1490.33746772], KSHIB[1913.71883795], MATIC[32.84031259], NFT (382262100488569775/Skull Ape Art #14)[1], SOL[3.22024725], TRX[2], USD[21.57]                 Yes

08155482                              SOL[1.09], USD[0.63]

08155488                              MATIC[1.09132878], USD[0.00]                                                                                                                                                Yes

08155489                              CUSDT[2], USD[0.00]

08155492                              ETH[0.00000001], ETHW[0], SHIB[72123130.58419709], USD[0.00], USDT[0]

08155503                              LTC[.005], SHIB[85300], USD[0.71], USDT[0.00151072]

08155506                              USD[1.00]

08155508                              USD[714.95]                                                                                                                                                                 Yes

08155517                              BTC[0], USD[0.01], USDT[0.00000001]

08155518                              BTC[0], NFT (528160341715367885/Coachella x FTX Weekend 1 #21489)[1], USD[2.10]

08155520                              TRX[2126.10593896], USD[0.00]                                                                                                                                               Yes

08155522                              USD[5.00]
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                                                                                                                                             Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08155524                              SHIB[1], TRX[285.8516645], USD[3.15]                                                                                                                                              Yes

08155528                              AVAX[0], BAT[200], ETH[0], SOL[0], USD[223.51]

08155530                              ETH[.00001053], ETHW[1.15331422], SOL[.00043099], TRX[1], USD[0.66]                                                                                                               Yes

08155534                              CUSDT[3], DOGE[1], SHIB[12361482.20905178], USD[0.00]

08155544                              USD[0.00]

08155546                              ETHW[2.64613138]                                                                                                                                                                  Yes

08155551                              BTC[0.00000569], ETH[0.00000001], LTC[0], SOL[0.00005150], TRX[0], USD[0.00], USDT[0.00000735]

08155554                              USD[0.00]

08155560                              USD[0.00]

08155573                              SOL[.00040042], USD[0.25], USDT[.9746074]

08155576                              BTC[.00075376], ETH[.43320989], ETHW[.43302785], SHIB[24951027.13680223]                                                                                                          Yes

08155578                              NFT (375788217695722852/Barcelona Ticket Stub #2359)[1], NFT (375956926723716371/Bahrain Ticket Stub #615)[1], USD[0.00], USDT[1.00239723]

08155587                              USDT[0]

08155607                              BAT[3.08091503], CAD[4.03], DOGE[23.80981782], KSHIB[230.10934796], USD[0.00]                                                                                                     Yes

08155620                              DOGE[4], GRT[16806.34052932], SHIB[111988881.36173345], TRX[20748.16040056], USD[0.02], USDT[0.00376961]                                                                          Yes

08155621                              CUSDT[1], ETH[.00534431], ETHW[.00527591], SOL[.09641398], USD[0.01]                                                                                                              Yes

08155622                              BTC[.01469171], CUSDT[5], DOGE[1], ETH[.17693126], ETHW[.17668278], LINK[4.85128748], MATIC[46.34994132], SHIB[2887196.82474872], SOL[1.59467392], TRX[4], USD[0.00]              Yes

08155642                              BRZ[1], CUSDT[5], DOGE[3], ETH[.24866164], ETHW[.24866164], GRT[2.87307133], LINK[.62406578], MATIC[77.62078314], SOL[1.40759098], USD[0.01]

08155653                              BTC[.01191215], USD[0.00]

08155657                              NFT (407349536043986173/SolFractal #3931)[1], SOL[.08328844], USD[0.00]

08155659                              CUSDT[5], DOGE[1], TRX[216.66190139], USD[0.04], USDT[0]                                                                                                                          Yes

08155660                              BRZ[4], CUSDT[3], DOGE[8.00921072], GRT[2], NFT (410293660174208139/Megalodon Rogue Shark Tooth)[1], SHIB[42], TRX[10.018444], USD[0.00], USDT[0.00000915]                        Yes

08155665                              BRZ[2], CUSDT[66.42553074], DOGE[19.83637982], ETHW[.09753766], SHIB[10], TRX[13.0100526], USD[0.01], USDT[0]

08155666                              BRZ[1], CUSDT[2], ETH[0], SOL[.00001001], TRX[2], USD[0.00]                                                                                                                       Yes

08155673                              USD[10.00]

08155676       Contingent, Disputed   BTC[.00217859], USD[165.18]

08155681                              NFT (548964464543753981/Warriors 75th Anniversary City Edition Diamond #887)[1], USD[21.60]                                                                                       Yes

08155685                              USD[6947.74]                                                                                                                                                                      Yes

08155689                              BAT[0], BTC[0], DOGE[1], ETH[0.00000031], ETHW[0.00000031], GRT[0], SHIB[17], USD[0.01], USDT[0], YFI[0]                                                                          Yes

08155709                              ETH[.32856281], ETHW[.30556281], USD[0.78]

08155710                              SOL[1.01], USD[0.05]

08155713                              USD[53.90]                                                                                                                                                                        Yes

08155717                              SOL[.00333674], USD[0.00]

08155728                              USD[8.10]

08155730                              BRZ[1], DOGE[1], ETHW[9.01061672], KSHIB[1674.52934114], LTC[0], MKR[0.01460552], SHIB[5], SOL[1.99975896], SUSHI[0], TRX[1], USD[0.00]                                           Yes

08155745                              AVAX[2.01015829], BCH[0.35183779], BRZ[836.08600326], BTC[0.08521230], CUSDT[3701.84838101], DOGE[28996.74074507], ETH[1.22834715], ETHW[27.30288110], GRT[149.72245250],         Yes
                                      LINK[0], LTC[.40210061], MKR[0.06462247], PAXG[0], SHIB[176725285.32563059], SOL[0.95439729], SUSHI[89.71819795], TRX[0], UNI[0], USD[0.00], USDT[0], YFI[0.01780529]
08155751                              BTC[0], MATIC[0], USD[0.00]

08155756                              BRZ[0.00007146], DOGE[0.00217746], ETH[0], MATIC[.00006886], NFT (319975895963104839/Cr iberd)[1], SHIB[1], SOL[.00002472], TRX[1], UNI[.00002392], USD[0.00], USDT[0.00027632]   Yes

08155760                              USD[20.00]

08155765                              CUSDT[3], KSHIB[5814.33786576], SHIB[13536053.11307026], USD[0.00]                                                                                                                Yes

08155768                              USD[0.00]                                                                                                                                                                         Yes

08155777                              BRZ[1], CUSDT[1], TRX[2], USD[319.41]                                                                                                                                             Yes

08155794                              BTC[0], USD[0.00]

08155803                              SOL[.00000001]

08155821                              NFT (531985552744693363/Saudi Arabia Ticket Stub #1855)[1]                                                                                                                        Yes

08155823                              USD[104.45]                                                                                                                                                                       Yes

08155825                              SOL[.00000001], TRX[1], USD[0.00]

08155826                              CUSDT[1], USD[0.01]

08155838                              BTC[.00617917], CUSDT[1], DOGE[1186.04024159], KSHIB[20566.54666086], SHIB[613871.54960371], TRX[2], USD[0.00]

08155840                              USD[10.00]

08155841                              ETH[.00000001], SOL[0.00427724], USD[0.00], USDT[0.00000001]

08155843                              BRZ[1], CUSDT[1], SHIB[1], TRX[1], USD[0.00]                                                                                                                                      Yes

08155852                              BF_POINT[100], BRZ[2], CUSDT[22], DOGE[5], LINK[.00000704], LTC[.00000071], SHIB[1], SOL[.00000043], TRX[1], UNI[.0000774], USD[0.00]                                             Yes

08155865                              BTC[0.00284048], USD[0.00]

08155877                              CUSDT[491.76215481], SHIB[378884.12486282], USD[0.20]                                                                                                                             Yes

08155881                              DOGE[2], KSHIB[1349.44717197], SHIB[1446322.06134514], USD[0.00]                                                                                                                  Yes

08155898                              ETH[.00685496], ETHW[0.00677282], SOL[0.10205425], USD[0.00]                                                                                                                      Yes

08155905                              USD[0.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08155907                              USD[0.13]

08155917       Contingent, Disputed   USD[0.00]

08155919                              CUSDT[2], ETH[.00000001], ETHW[0], USD[0.00]                                                                                                                             Yes

08155923                              CUSDT[1], KSHIB[434.34786217], USD[9.18]                                                                                                                                 Yes

08155938                              CUSDT[247.14316229], DOGE[1], SOL[.00000195], TRX[1], USD[0.00]                                                                                                          Yes

08155945                              BAT[.003], USD[10.01]

08155956                              BTC[.0019], DOGE[45.954], ETH[.100933], ETHW[.100933], KSHIB[200], LTC[.09], SHIB[3197000], SOL[1.23876], USD[0.47]

08155958                              BRZ[1], USD[0.00], USDT[1]

08155973                              LINK[.00001998], SHIB[3], USD[408.46]                                                                                                                                    Yes

08155977                              BTC[.00067634], TRX[1], USD[0.00]                                                                                                                                        Yes

08155996                              SOL[.1177388]                                                                                                                                                            Yes

08156004                              BRZ[1], CUSDT[5], SOL[.00000189], USD[0.00]                                                                                                                              Yes

08156013                              BTC[0], USD[0.00]

08156017                              BTC[.50685088], GRT[860.14430224], LINK[35.11180529], MATIC[3629.50652217], SOL[.00006475]                                                                               Yes

08156025                              CUSDT[6], DOGE[1], SHIB[24257322.31881196], TRX[1], USD[0.00]                                                                                                            Yes

08156042                              AVAX[.0000005], BRZ[1], DOGE[5], SHIB[28], SOL[.0000018], SUSHI[.87511121], TRX[3], USD[0.00]                                                                            Yes

08156043                              ETH[.00240754], ETHW[.00238018], USD[0.00]                                                                                                                               Yes

08156053                              CUSDT[1], USD[0.00], USDT[107.3556301]                                                                                                                                   Yes

08156068                              BRZ[1], DOGE[3], TRX[4], USD[0.01], USDT[0.00000001]                                                                                                                     Yes

08156073                              SHIB[1], SOL[16.34382391], TRX[1], USD[0.00]                                                                                                                             Yes

08156088                              BTC[.00074374], SHIB[1], TRX[1], USD[0.98]                                                                                                                               Yes

08156094       Contingent, Disputed   SOL[.00000001]                                                                                                                                                           Yes

08156100                              CUSDT[2], ETH[.04752602], ETHW[.04693778], SOL[1.02026051], USD[0.00]                                                                                                    Yes

08156102                              BAT[1], CUSDT[3], TRX[.207476], USD[0.01]

08156103                              USD[0.00]                                                                                                                                                                Yes

08156106                              AVAX[1.6983], BTC[.00999], SHIB[399600], SOL[.32967], SUSHI[7.992], USD[7.22]

08156108                              BTC[.00050625], USD[0.00]

08156110                              MATIC[.00002395], SHIB[620159.78844334], SOL[.19116847], USD[0.00]                                                                                                       Yes

08156113                              ETH[.11885428], ETHW[.11770589], TRX[1], USD[0.01]                                                                                                                       Yes

08156118                              AAVE[.00008302], AVAX[.0213367], BAT[.00007068], BCH[.00068188], BRZ[.53090741], DAI[.00006945], DOGE[1], ETHW[.04654318], EUR[0.01], GRT[.00189067], LINK[.00003539],   Yes
                                      MATIC[.00961931], SHIB[4], SOL[.00000452], SUSHI[.00183093], TRX[.14587227], UNI[.01327353], USD[24.55], USDT[0.26762094]
08156120                              BTC[.00001118], USD[0.81]

08156121                              SHIB[1], SOL[.18719433], USD[0.00], USDT[0]                                                                                                                              Yes

08156129                              BTC[0], DOGE[1], NFT (550934853203742279/Starry Night #20)[1], SHIB[4], SOL[0], USD[0.00]                                                                                Yes

08156141                              CUSDT[3], MATIC[476.17845], NFT (576233329231539178/Australia Ticket Stub #1322)[1], SHIB[3], SOL[.00009904], USD[0.00], USDT[0]                                         Yes

08156142                              SHIB[1684920.9663016], USD[0.00]

08156145                              BAT[1], ETHW[.6931038], USD[0.00]

08156151                              BTC[.00966277], USD[0.00]                                                                                                                                                Yes

08156173                              CUSDT[1], SHIB[2751432.17646634], USD[0.00]                                                                                                                              Yes

08156184                              CUSDT[1], TRX[1], USD[0.89]

08156195                              CUSDT[1], MATIC[.00003264], USD[0.00]                                                                                                                                    Yes

08156200                              USD[0.00]                                                                                                                                                                Yes

08156204                              SHIB[1], USD[2.28]

08156214                              BTC[.0001]

08156220                              DOGE[1], ETH[.0000046], ETHW[.0000046], USD[0.00]                                                                                                                        Yes

08156235                              USD[37.79]                                                                                                                                                               Yes

08156247                              CUSDT[3.22841231], DOGE[.00000858], GRT[.00002864], MATIC[.00000001], SHIB[3], SOL[.24715702], TRX[1], USD[0.00]                                                         Yes

08156251                              AAVE[0], BRZ[1], BTC[0], DOGE[0], ETH[0], ETHW[0], EUR[0.00], GRT[0], LINK[0], MKR[0], SHIB[16], TRX[3], USD[0.00], USDT[0.00003556]

08156252                              SOL[5.2]

08156255                              BRZ[1], BTC[.00000001], CUSDT[30], DOGE[2], LINK[0], SHIB[2], SOL[0], SUSHI[0], TRX[5], USD[0.00], USDT[0.00000005]                                                      Yes

08156264                              LINK[0], MATIC[0], SHIB[0], SOL[0], SUSHI[0], TRX[1], USD[0.00], USDT[0]                                                                                                 Yes

08156279                              CUSDT[2], ETH[.02658434], ETHW[.02625602], USD[0.09]                                                                                                                     Yes

08156287                              USD[0.00]

08156293                              BTC[0], ETH[0], ETHW[0], KSHIB[0], SHIB[0], SOL[0], TRX[1], USD[0.00], USDT[0]                                                                                           Yes

08156296                              USD[0.01]                                                                                                                                                                Yes

08156304                              BTC[.00074513], TRX[1], USD[0.00]                                                                                                                                        Yes

08156314                              USD[0.00]                                                                                                                                                                Yes

08156323                              USD[3140.36]

08156325                              BRZ[1], USD[0.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08156330                              AAVE[.15050297], BTC[.0058358], CUSDT[5], ETH[.05193589], ETHW[.05129246], LTC[.17270008], MATIC[24.34256125], TRX[1], USD[0.00]                                                     Yes

08156331                              SHIB[90300], TRX[.0117], USD[9.51], USDT[0]

08156332                              SHIB[2], TRX[1], USD[0.00]                                                                                                                                                           Yes

08156344                              SHIB[1200000], USD[3.69]

08156355                              CUSDT[1], DOGE[1], MATIC[42.09815816], USD[0.62]                                                                                                                                     Yes

08156376                              USD[1483.59]                                                                                                                                                                         Yes

08156378                              ETH[0], SOL[0], USD[0.00]

08156381                              USD[0.49]

08156384                              BTC[.00568297], TRX[1], USD[0.44]                                                                                                                                                    Yes

08156388                              DOGE[241.32780867], USD[0.00]                                                                                                                                                        Yes

08156398                              DOGE[2], USD[404.91]                                                                                                                                                                 Yes

08156404                              USD[20.00]

08156409                              SHIB[1], USDT[0]

08156411                              BTC[0.00000018], ETH[.00000736], USD[0.88], USDT[0.00077707]

08156412                              DOGE[1], GRT[5.53308757], USD[0.00]                                                                                                                                                  Yes

08156414                              CUSDT[2], EUR[0.00], USDT[0]                                                                                                                                                         Yes

08156416                              CUSDT[2], USD[0.01]                                                                                                                                                                  Yes

08156427                              USD[10.80]                                                                                                                                                                           Yes

08156434                              CUSDT[2], DOGE[2], USD[228.07]                                                                                                                                                       Yes

08156438                              USD[10.40]                                                                                                                                                                           Yes

08156456                              CUSDT[4], LTC[2.46743327], TRX[1], USD[0.00]                                                                                                                                         Yes

08156465                              BTC[.00000217], USD[0.00]                                                                                                                                                            Yes

08156473                              USD[25.00]

08156490                              BTC[.00000269], CUSDT[3], DOGE[2], ETH[.00000507], ETHW[0], USD[0.84]                                                                                                                Yes

08156499                              TRX[1], USD[0.00]                                                                                                                                                                    Yes

08156501                              USD[100.00]

08156509                              BTC[.00912986]                                                                                                                                                                       Yes

08156517                              SHIB[1], USD[0.00]

08156523                              SOL[.1]

08156525                              USD[8.85]

08156529                              BTC[.01827593]                                                                                                                                                                       Yes

08156532                              CUSDT[1], MATIC[19.02636885], USD[0.00]

08156534                              BAT[4.19406866], BRZ[6.20776416], CUSDT[12], DOGE[15.34723904], ETH[5.92222144], ETHW[2.89077813], GRT[1], LTC[1.02518385], MATIC[1.00814932], NFT (505974731460933686/Let’s fight   Yes
                                      )[1], SHIB[50], TRX[12], UNI[2.06481211], USD[0.00]
08156537                              SHIB[120428.02748975], USD[0.00]                                                                                                                                                     Yes

08156542                              NFT (530342610003362907/Doge_coin_Hope)[1], USD[13.50]

08156548                              BTC[.00000011], CUSDT[5], NFT (368187480528773895/Boneworld #4648)[1], NFT (430259621449562130/Fancy Frenchies #1980)[1], NFT (504216007163622256/Eitbit Ape #6441)[1], NFT          Yes
                                      (522886177889760063/The Open Digit)[1], SHIB[2], TRX[3], USD[2.34], USDT[0]
08156565                              BTC[.01133673], TRX[1], USD[0.33]                                                                                                                                                    Yes

08156569                              BTC[.0001497], USD[0.00]                                                                                                                                                             Yes

08156571                              SHIB[1], USD[0.00], USDT[69.64331479]

08156579                              USD[0.01]                                                                                                                                                                            Yes

08156581                              ETH[.00000339], ETHW[0.00000338], USD[3.25]

08156583                              CUSDT[1], TRX[1144.30625492], USD[0.00]                                                                                                                                              Yes

08156584                              TRX[107.78209349], USD[0.00]

08156585                              CUSDT[2], USD[0.01], USDT[0]                                                                                                                                                         Yes

08156586                              ETH[.00003075], ETHW[.00003075]                                                                                                                                                      Yes

08156588                              BTC[.00000002], DOGE[3], ETH[.00000027], ETHW[.00000027], NEAR[.00003895], NFT (343124025857371241/Ghoulie #5670)[1], NFT (390549746629292776/DOTB #6112)[1], SHIB[16], TRX[3],      Yes
                                      USD[0.00]
08156592                              BTC[0], USD[0.01]

08156594                              BTC[.3261736], ETH[2.738159], ETHW[2.738159], SOL[19.98637162], USD[367.84]

08156599                              SOL[7.58024859], USD[0.00]

08156606                              CUSDT[1], ETH[.01613491], ETHW[.01592971], SOL[.08599258], USD[0.02]                                                                                                                 Yes

08156609       Contingent, Disputed   MATIC[19.98], USD[16.18]

08156611                              ETH[.00235488], ETHW[.00232752], USD[0.00]                                                                                                                                           Yes

08156615                              USD[0.00]                                                                                                                                                                            Yes

08156620                              USD[10.00]

08156624                              DOGE[0.00040312], TRX[.00048514], USD[0.00], USDT[0]                                                                                                                                 Yes

08156629                              BTC[.00920169], ETH[0], SOL[0], USD[0.71], YFI[0]

08156637                              USD[1500.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08156641                              ALGO[.00215449], DOGE[1], SHIB[4], USD[0.00], USDT[0]                                                                                                                       Yes

08156655                              ALGO[1463.44241813], USD[0.00]

08156656                              BAT[13.81540064], CUSDT[3], SHIB[1486479.09149441], USD[0.00]

08156659                              SHIB[85869.52772608], USD[6.53]

08156671                              SUSHI[138], USDT[0.05645603]

08156675                              USD[0.00]                                                                                                                                                                   Yes

08156677                              USD[0.00]                                                                                                                                                                   Yes

08156689                              CUSDT[2], USD[0.00]

08156691                              NFT (554782542114064264/Elon Musk's Very First Tweet)[1], SOL[.028], USD[0.45]

08156701                              USD[1.00]

08156705                              USD[0.00], USDT[0.00000181]

08156710                              BRZ[1], CUSDT[1], DOGE[1], LINK[9.37550789], USD[0.00], USDT[0.00000109]

08156718                              BTC[.08527416], ETH[1.08350206], ETHW[1.08350206], SOL[24.91419172], USD[0.00]

08156719                              USD[0.00]                                                                                                                                                                   Yes

08156723                              SHIB[1], TRX[1], USD[0.01], USDT[0.00000001]                                                                                                                                Yes

08156726                              USD[100.00]

08156731                              AVAX[.00002431], BTC[.00000055], ETHW[.00002173], MATIC[.0036113], SOL[.00001877], USD[0.00], YFI[.00000047]                                                                Yes

08156738                              DOGE[1.05918595], SOL[2.94872297], USD[0.00]                                                                                                                                Yes

08156740                              AAVE[27.23], AVAX[226.8], BTC[.0211], ETH[1.304694], ETHW[1.304694], GRT[2742], LTC[122.89], MATIC[29300], SOL[23.19216], SUSHI[682], UNI[45.3], USD[3064.31], YFI[2.323]

08156741                              USD[500.01]

08156746                              CUSDT[1], ETH[.02552114], ETHW[.0252065], NFT (302297500825908490/Stephen Curry Paintng #1 -All Star Edition)[1], TRX[1], USD[104.91]                                       Yes

08156757                              USD[5.00]

08156766                              USD[0.00], USDT[.99410928]

08156768                              USD[5.00]

08156773                              USD[2.40]

08156793                              BTC[.00528056], SHIB[1], SOL[3.52215121], USD[0.02]                                                                                                                         Yes

08156795                              AVAX[0], BCH[0], BTC[0.00000407], LINK[0], LTC[0], UNI[0], USDT[0.00000045]

08156806                              BTC[.00099621], CUSDT[3.91633591], ETH[.00590605], ETHW[.00583765], MKR[.00803297], USD[0.00]                                                                               Yes

08156815                              USD[481.77]

08156822                              BTC[0], USD[1.61]

08156835                              USD[0.01]

08156838                              NFT (441257058650928496/Abstract Nature)[1], NFT (532635348422636208/Wild Vase)[1], NFT (536332488351109508/Wild Lollipops)[1], SOL[2.09532384], USD[82.87]

08156853                              CUSDT[1], TRX[1121.87897293], USD[0.00]                                                                                                                                     Yes

08156855                              USD[21.60]                                                                                                                                                                  Yes

08156865                              SHIB[5994000], SUSHI[99.9], USD[5.00]

08156873                              GRT[2.02506886], USD[0.00]                                                                                                                                                  Yes

08156876                              USD[10.00]

08156878                              USD[50.00]

08156887                              BTC[.3451], USD[5157.22]

08156890                              BRZ[1], CUSDT[4], DOGE[1], ETH[0], ETHW[1.29037075], MATIC[0], SHIB[14], SOL[.00000001], TRX[5], USD[0.00]                                                                  Yes

08156891                              CUSDT[1], MATIC[29.28712027], USD[0.01]

08156893                              BTC[.00507891], ETH[.04633106], ETHW[.62343272], SHIB[2], USD[488.69]                                                                                                       Yes

08156894                              BTC[0], ETH[.00000397], ETHW[.00000396], USD[1.95]

08156895                              USD[0.02], USDT[0.00000073]

08156897                              CUSDT[1], SUSHI[4.97774106], USD[0.00]                                                                                                                                      Yes

08156898                              SOL[.00000001]

08156913                              USD[0.01]                                                                                                                                                                   Yes

08156922                              LTC[1.09864229], SHIB[1.02807017], USD[0.00]                                                                                                                                Yes

08156933                              USD[10.00]

08156941                              DOGE[1], USD[0.00]                                                                                                                                                          Yes

08156960                              ETHW[2.08783744], USD[5978.77]                                                                                                                                              Yes

08156963                              BF_POINT[200], MATIC[0], SUSHI[0], USD[3904.61]                                                                                                                             Yes

08156964                              USD[269.95]                                                                                                                                                                 Yes

08156995                              CUSDT[1], SHIB[2574559.96729321], USD[0.00]                                                                                                                                 Yes

08156997       Contingent, Disputed   AVAX[0], USD[0.00], USDT[0]

08157003                              CUSDT[1], MATIC[0], TRX[1], USD[0.00]

08157012                              BRZ[1], CUSDT[2], DOGE[1], MATIC[28.22955568], TRX[1], USD[0.00]

08157016                              USD[466.43]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08157023                           CUSDT[1], USD[0.00]                                                                                                                                                          Yes

08157032                           CUSDT[10], KSHIB[513.05665043], USD[0.00]                                                                                                                                    Yes

08157045                           CUSDT[1], DOGE[1], ETH[.26110395], ETHW[.26091117], LINK[1.19215975], SOL[1.07978035], TRX[1], USD[0.01]                                                                     Yes

08157050                           BTC[0], CUSDT[1], ETH[0], SHIB[0], SOL[0], SUSHI[0], UNI[0], USD[0.98], USDT[0.00000001]                                                                                     Yes

08157055                           BTC[.00102596], CUSDT[3], ETH[.00698166], ETHW[.00698166], USD[0.01]

08157083                           USD[1.00]

08157084                           SOL[.00477473], TRX[1], USD[36.62]                                                                                                                                           Yes

08157086                           BTC[0.00000078], NFT (533190276825358505/The Hill by FTX #5349)[1], SHIB[1], SOL[0], USD[2.69]                                                                               Yes

08157095                           USD[0.01]

08157096                           BRZ[1], USD[0.00]                                                                                                                                                            Yes

08157101                           BTC[.0035998], LINK[2], MATIC[10], SHIB[100000], SOL[1], USD[3.84]

08157102                           USD[9.57]                                                                                                                                                                    Yes

08157104                           BTC[.01945778], DOGE[818.38125392], ETH[.14323079], ETHW[.14232605], SOL[.25724679], USD[5493.64], USDT[2188.72199132]                                                       Yes

08157105                           BTC[.00000002], SHIB[1], USD[0.00]                                                                                                                                           Yes

08157106                           BRZ[1], BTC[.00000001], CUSDT[3], ETH[.00000024], ETHW[.00000024], TRX[2], USD[0.00]                                                                                         Yes

08157107                           NFT (312608779814109569/Coachella x FTX Weekend 1 #16323)[1]

08157113                           DOGE[5376.618], SOL[12.62036], USD[0.40]

08157114                           BTC[.00194104], CUSDT[2], ETH[.02380607], ETHW[.02350681], USD[0.00]                                                                                                         Yes

08157130                           AVAX[.00023476], BAT[.00256375], CUSDT[1], ETH[.00000949], NFT (473921595694288651/Coachella x FTX Weekend 1 #6743)[1], SHIB[1], USD[0.00]                                   Yes

08157132                           CUSDT[1], SOL[.0984838], USD[0.00]

08157134                           BTC[0], DOGE[1], ETH[0], SHIB[1], SOL[0], USD[0.00], USDT[0]                                                                                                                 Yes

08157135                           SOL[1.23225679], USD[0.00]

08157138                           USD[200.00]

08157151                           SHIB[1432.02127659], USD[0.01], USDT[1.73381700]

08157156                           USD[1.00]

08157159                           BRZ[3], CUSDT[11], DOGE[2], GRT[1], SOL[2.10642534], TRX[3], USD[0.00]

08157175                           NFT (388781521313751374/Entrance Voucher #29514)[1]

08157179                           CUSDT[2], DOGE[448.81716032], NFT (494816742292056761/Solana Penguin #1018)[1], SOL[.34470591], USD[0.00]

08157181                           BTC[.02343973]

08157186                           SOL[32.02895519], TRX[0], USD[0.00]

08157192                           CUSDT[2], USD[0.00]

08157199                           BAT[.00004992], CUSDT[18], DOGE[4.012576], TRX[2], USD[0.01], YFI[.00000001]                                                                                                 Yes

08157214                           BAT[66.76253811], USD[400.00]

08157215                           MATIC[0], USD[0.00], USDT[0]

08157217                           CUSDT[1], DOGE[1], NFT (447664207454183468/Fancy Frenchies #1002)[1], NFT (509943800515038529/Fancy Frenchies #9078)[1], NFT (510433936448479805/Fancy Frenchies #975)[1],
                                   SOL[1.2854597], USD[0.00]
08157221                           NFT (401483371449815794/Roamer #311)[1], NFT (476960694462507284/Ravager #450)[1], NFT (486123232373044812/Ravager #541)[1], NFT (518003419561027545/Ravager #402)[1], NFT   Yes
                                   (565277291137821460/Ravager #100)[1], SHIB[1], SOL[.00000001], USD[0.00]
08157227                           DOGE[1], LTC[.00000044], USD[0.01]                                                                                                                                           Yes

08157229                           USD[5.00]

08157231                           BTC[.0025568]

08157236                           SOL[0], USD[0.00]

08157240                           DOGE[1], SOL[.12072871], USD[0.00]

08157247                           CUSDT[1], USD[0.00]                                                                                                                                                          Yes

08157290                           CUSDT[1], SOL[.0767707], USD[0.50]

08157292                           USD[474.35]                                                                                                                                                                  Yes

08157297                           USD[99.02]

08157300                           CUSDT[1], GRT[1], TRX[1], USD[0.00]

08157302                           TRX[127.84664067], USD[0.00]

08157305                           BTC[0], LTC[0], SOL[0], USD[0.00], USDT[0.00000001], YFI[0]                                                                                                                  Yes

08157308                           BRZ[.00128612], MATIC[.00021666], SOL[.00002044], SUSHI[.00003955], USD[0.01]                                                                                                Yes

08157313                           NFT (407755235030514469/DOTB #5033)[1], NFT (408816860893927746/SolBunnies #678)[1], SOL[.07852277], USD[0.00]

08157315                           CUSDT[1], NFT (395093479817783186/Coachella x FTX Weekend 1 #18942)[1], SOL[1.0369517], USD[0.00]                                                                            Yes

08157320                           USD[0.01]                                                                                                                                                                    Yes

08157323                           USDT[30]

08157328                           BTC[.00662351], CUSDT[3], DOGE[1], USD[0.00]                                                                                                                                 Yes

08157329                           SOL[49.67023682], USD[215.38]                                                                                                                                                Yes

08157340                           CUSDT[1], DOGE[1], SOL[14.00326781], USD[0.10]                                                                                                                               Yes

08157352                           BTC[0], ETH[0.00092860], ETHW[0.09690300], SOL[0], USD[0.01]

08157355                           USDT[20]
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                                                                                                                                            Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08157364                              BAT[3.92474473], CUSDT[3], DOGE[1], MATIC[10.56684766], SHIB[2563812.8066325], USD[0.00]                                                                                           Yes

08157366                              USDT[0.00000076]

08157367                              USD[100.00]

08157382                              USD[0.00]

08157385                              BTC[.00025149], USDT[0.00000388]

08157388                              USD[0.08]                                                                                                                                                                          Yes

08157403                              BTC[0], LINK[0], MATIC[0], SOL[.00000001], USD[0.01]                                                                                                                               Yes

08157413                              DOGE[1], TRX[1], USD[10.19]                                                                                                                                                        Yes

08157417                              CUSDT[1], USD[0.02], USDT[21.4444873]                                                                                                                                              Yes

08157420                              USD[0.00]                                                                                                                                                                          Yes

08157423                              BTC[0], NFT (508242955109228888/Saudi Arabia Ticket Stub #1447)[1], TRX[.000004], USD[0.01], USDT[0]

08157434                              USD[0.01]                                                                                                                                                                          Yes

08157441                              DOGE[1830.74207926], ETH[2.27056287], ETHW[2.26962638], LINK[107.2798164], LTC[3.53614044], MATIC[722.06108369], NFT (467870404133711431/Lucky Kitten #5841)[1], NFT               Yes
                                      (482955391327311989/Xmas 2021 Kitten #5841)[1], SHIB[10376478.66085186], SOL[41.60929247], SUSHI[247.15355207], USD[0.02]
08157448                              CUSDT[4], DOGE[1], NFT (555278113557406120/SolePhants #1947)[1], TRX[2], USD[0.00]                                                                                                 Yes

08157466                              BCH[.57078221]

08157468                              DOGE[1], SOL[0], TRX[2], USDT[0.00000001]

08157486                              BTC[.00328098], CUSDT[11], ETH[.02220303], ETHW[.02192943], SOL[.25962374], TRX[2], USD[0.00]                                                                                      Yes

08157489                              BRZ[1], CUSDT[7], SHIB[1], USD[0.01]                                                                                                                                               Yes

08157497                              BTC[.00010833], USD[0.01]

08157503                              USD[0.00]

08157504                              BTC[.00017183]

08157505                              MATIC[15.59203632], USD[3.51]

08157506       Contingent, Disputed   USD[499.69]

08157509                              NFT (309673210535182115/Dreamscapes)[1], NFT (363119178704941430/Photon)[1], USD[8.00]

08157516                              USD[0.00]

08157523                              CUSDT[6], DOGE[1], TRX[1], USD[0.01]

08157525                              USD[20.00]

08157533                              BTC[0], CUSDT[5], DOGE[.00792419], SHIB[2], SOL[.00000229], SUSHI[.00998533], TRX[1], USD[0.00]                                                                                    Yes

08157543                              AVAX[.00021379], SOL[.00000001]                                                                                                                                                    Yes

08157548                              CUSDT[1], DOGE[1], SHIB[1], SOL[.41], USD[83.16]

08157555                              USD[21.59]                                                                                                                                                                         Yes

08157566                              USD[0.00], USDT[0]                                                                                                                                                                 Yes

08157567                              BTC[.00012208], CUSDT[.75], ETH[.00137349], ETHW[.00135981], USD[5.64]                                                                                                             Yes

08157569                              USD[1000.00]

08157576                              USD[5.54]

08157585                              BTC[.0014985], DOGE[150.866], GRT[1.998], SHIB[399600], USD[28.39]

08157592                              BCH[0], BTC[0.00000001], DOGE[479.36099724], USD[0.00]                                                                                                                             Yes

08157600                              NFT (431636254319697886/Solana Punk Led #8485)[1]

08157607                              BCH[.04428403], BTC[.00017184], CUSDT[1], USD[0.00]                                                                                                                                Yes

08157616                              BTC[.0007999], ETH[.002], ETHW[.002], SOL[.09], USD[2.15]

08157623                              BTC[0.00132465], ETH[.01668906], ETHW[.01648386], SOL[1.07443918], USD[0.09], USDT[.00004742]                                                                                      Yes

08157629                              CUSDT[2], USD[0.00]

08157638                              ETHW[8.33401924], USD[16047.60]

08157650                              CUSDT[2], DOGE[1], SOL[9.23404152], TRX[2], USD[0.00]                                                                                                                              Yes

08157652                              USD[100.00]

08157657                              BRZ[4], CUSDT[30], DOGE[3], SHIB[521.49380917], TRX[6], USD[0.00]                                                                                                                  Yes

08157658                              ETH[.03356767], ETHW[.03356767]

08157687                              CUSDT[1], KSHIB[1394.542597], USD[0.01]

08157692       Contingent, Disputed   BTC[.00000034], CUSDT[2], ETH[.00000111], ETHW[.00000111], TRX[3], USD[0.01]                                                                                                       Yes

08157697                              AAVE[0], AVAX[0], BAT[0], BTC[0], DOGE[0], GRT[0], SHIB[420558.41665750], SOL[0], USD[0.00]                                                                                        Yes

08157706                              CUSDT[2], USD[0.01]                                                                                                                                                                Yes

08157708                              USD[0.00]                                                                                                                                                                          Yes

08157715                              AAVE[1.12137858], CUSDT[4], DOGE[1], KSHIB[3863.55412979], SHIB[3165006.33100738], USD[0.00]                                                                                       Yes

08157722                              USD[539.88]                                                                                                                                                                        Yes

08157727                              BRZ[1], DOGE[1], ETH[.000287], ETHW[2.31175916], GRT[1], SHIB[1], TRX[1], USD[4381.34]                                                                                             Yes

08157730                              BTC[.00017111], USD[5.38]                                                                                                                                                          Yes

08157733                              SHIB[186120.71257644], USD[0.12]

08157737                              DOGE[0], NFT (291450251705025329/Nifty Nanas #2527)[1], NFT (324168084692263605/Hall of Fantasy League #232)[1], NFT (428928621901791097/Ghoulie #6150)[1], NFT                    Yes
                                      (459847122858976241/Hall of Fantasy League #235)[1], NFT (490187031801897431/Careless Cat #157)[1], NFT (511629041043833886/DOTB #785)[1], SHIB[780.23169750], SOL[0], USD[0.00]
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                                                                                                                                          Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08157739                           DOGE[0], GRT[0], MATIC[20.84589228], SHIB[1], TRX[0], USD[0.00], USDT[0]

08157743                           BTC[.00502786], CUSDT[1216.8171293], MATIC[12.57342746], TRX[1], USD[0.00]                                                                                                               Yes

08157749                           BTC[.00100095]                                                                                                                                                                           Yes

08157767                           ETH[.00195251], ETHW[.00192515], USD[0.00]                                                                                                                                               Yes

08157783                           KSHIB[50.59201511], SOL[.01549745], TRX[21.24448718], USD[0.00]

08157791                           BAT[1.00484269], BRZ[1], CUSDT[11], DOGE[384.01590085], ETH[0], ETHW[0], SHIB[4535405.41110254], SOL[0.00001515], TRX[2], USD[0.00]                                                      Yes

08157803                           BRZ[1], NFT (298022180430274842/Heaven & Hell Series, "Heaven" 3/25)[1], NFT (300141911445214605/Catverse#4)[1], NFT (325330022983181877/Catverse #1)[1], NFT (356849609000103228/City   Yes
                                   Postage Stamps Collection #4)[1], SOL[.41583132], USD[1.09]
08157812                           USD[25.00]

08157817                           DOGE[0], SHIB[1], USD[0.00]                                                                                                                                                              Yes

08157819                           USD[445.84]

08157824                           USD[26.68]                                                                                                                                                                               Yes

08157834                           USD[53.70]                                                                                                                                                                               Yes

08157854                           ETH[.034876], ETHW[.034876], TRX[434.86723350]

08157863                           BRZ[2], BTC[.02026458], CUSDT[7], DOGE[226.49272867], ETH[.25677791], ETHW[.25677791], TRX[1], USD[0.03], USDT[199.02069874]

08157867                           CUSDT[1.44811534], DOGE[1311.84367158], ETHW[22.91807782], KSHIB[1285.11546106], LINK[.61592509], SHIB[790497.70753094], SUSHI[3.24285719], TRX[1.00049463], USD[0.00]                   Yes

08157870                           CUSDT[2], KSHIB[485.94017153], TRX[1054.83218094], USD[0.00]

08157877                           BTC[.00042778], CUSDT[1], USD[0.00]

08157881                           BRZ[1], ETH[.06627881], ETHW[.0654569], USD[0.00]                                                                                                                                        Yes

08157885                           BTC[.01030929], CUSDT[1], DOGE[2], USD[0.00]                                                                                                                                             Yes

08157887                           BAT[9.07188916], BRZ[30.08477709], BTC[.00038781], CUSDT[3], DAI[5.35948044], MKR[.00477802], SHIB[129737.8275232], TRX[2], USD[0.00], USDT[18.2457519]                                  Yes

08157907                           ETH[.04800083], ETHW[.04740422], TRX[1], USD[0.00]                                                                                                                                       Yes

08157911                           GRT[22.23330772]                                                                                                                                                                         Yes

08157920                           CUSDT[1], GRT[52.55187609], NFT (549617379205982634/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #109)[1], USD[0.01]                                        Yes

08157938                           BTC[.02170849], SHIB[3], TRX[1], USD[0.00]                                                                                                                                               Yes

08157940                           NFT (529146805281850450/FTX - Off The Grid Miami #1704)[1]

08157941                           BTC[.00095473], CUSDT[2], SHIB[1], USD[0.00]                                                                                                                                             Yes

08157942                           USD[107.97]                                                                                                                                                                              Yes

08157943                           BRZ[1], BTC[.01208403], CUSDT[4], DOGE[1], ETH[.21221959], ETHW[.21221959], MATIC[32.67210119], SHIB[5], SOL[.90557006], TRX[4], USD[0.00]

08157946                           SOL[.1191859], TRX[1], USD[2.03]                                                                                                                                                         Yes

08157952                           USD[0.01]                                                                                                                                                                                Yes

08157954                           USD[2.61]

08157955                           CUSDT[2], SHIB[4139933.77663002], USD[0.00]

08157956                           CUSDT[1454.24790212], DOGE[1], KSHIB[333.73484202], TRX[106.37578138], USD[0.01]

08157962                           DOGE[51.58364845], USD[0.01]                                                                                                                                                             Yes

08157963                           BAT[5.98720841], CUSDT[687.6409823], ETH[.00489926], ETHW[.00489926], KSHIB[252.42107874], LINK[.80512775], LTC[.04729693], SHIB[241429.26122646], TRX[1], USD[0.00]

08157972                           USD[10.00]

08157977                           BTC[.0001737], DOGE[50.78163421], USD[0.00]                                                                                                                                              Yes

08157980                           ETH[.023976], ETHW[.023976], USD[2.42]

08157981                           USD[21.07]                                                                                                                                                                               Yes

08157983                           DOGE[2], LINK[2.10099257], TRX[1], USD[0.00]                                                                                                                                             Yes

08157999                           USD[215.75]                                                                                                                                                                              Yes

08158007                           BTC[.0018], SHIB[3773588.79668049], USD[28.78]

08158008                           USD[0.47]

08158013                           BTC[0.00000083], ETHW[.001998], MATIC[1.03543655], NEAR[.009], USD[0.42]

08158014                           USD[62.96]                                                                                                                                                                               Yes

08158015                           USD[100.00]

08158027                           ETH[.00000001], ETHW[0], GRT[1], USD[0.00]

08158030                           DOGE[1], ETH[.0119325], ETHW[.01178202], USD[0.00]                                                                                                                                       Yes

08158031                           USD[0.00]                                                                                                                                                                                Yes

08158037                           ETH[.00240231], ETHW[.00237495], USD[97.18]                                                                                                                                              Yes

08158043                           ETH[.00000001], USD[0.00]

08158049                           AUD[0.00], CAD[0.00], EUR[0.00], GBP[0.00], SOL[.05153466], USD[0.00]                                                                                                                    Yes

08158051                           BAT[.0000263], BRZ[0], BTC[0.00283507], GRT[.00024243], KSHIB[0], LINK[0.00001141], PAXG[0.00000010], SHIB[6107382.97020396], SOL[0], USD[0.01], USDT[0], YFI[.00000001]                 Yes

08158079                           DOGE[2], TRX[1], USD[0.01]

08158080                           ETH[.002], ETHW[1.002], USD[0.92]

08158091                           BF_POINT[300], BTC[.21055035], CUSDT[16], DOGE[2418.33784417], ETH[1.63498838], ETHW[1.6343016], GRT[2.00096012], LTC[6.61233745], NFT (516535617961941126/Whales Nation                 Yes
                                   #5375)[1], SHIB[2886247.55976641], SOL[5.10380652], TRX[3], UNI[60.16097265], USD[231.58]
08158092                           BCH[.0167977], BRZ[11.78335062], BTC[.00036221], CUSDT[2], DOGE[67.20556889], ETH[.00337341], ETHW[.00333237], LTC[.00714921], MATIC[1.61219656], SOL[.10197353], USD[0.03],             Yes
                                   USDT[5.20777274]
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                                                                                                                                          Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08158113                           USD[1.00]

08158121                           ETH[.00565906], ETHW[.00565906], USD[0.00]

08158122                           BTC[0.00089120], ETH[0.01614479], NFT (559246673573750595/Australia Ticket Stub #2413)[1], USD[0.00]

08158131                           NFT (490010485700663046/Rebel Crew)[1], USD[15.01]

08158138                           MATIC[130], USD[255.69]

08158142                           SHIB[21780209.21994962]

08158147                           BTC[.07558627], ETH[.15169478], ETHW[.15169478], USD[0.00]

08158165                           CUSDT[1], TRX[281.53532108], USD[0.00]                                                                                                                                            Yes

08158178                           BTC[.00049643], CUSDT[1], USD[0.00]                                                                                                                                               Yes

08158187                           BF_POINT[200], BTC[.00256415], CUSDT[2], SHIB[1], USD[0.00]                                                                                                                       Yes

08158193                           BTC[0.00000209], DOGE[1], ETH[0.00000097], ETHW[0.00000097], SHIB[2], USD[0.00]                                                                                                   Yes

08158200                           BRZ[5.07934411], CUSDT[6], DOGE[3], ETH[1.67436387], ETHW[1.67366057], SHIB[3], TRX[2], USD[183.80]                                                                               Yes

08158214                           DOGE[25.96432355], USD[0.00]                                                                                                                                                      Yes

08158215                           AVAX[.00001104], DOGE[1], SHIB[6], TRX[2], USD[0.01], USDT[0]

08158225                           CUSDT[6], DOGE[2], USD[0.00]                                                                                                                                                      Yes

08158233                           CUSDT[1], DOGE[1], GRT[2], TRX[1], USD[0.01]

08158234                           BAT[123.29545463], ETH[.19269331], USD[0.00]                                                                                                                                      Yes

08158240                           BTC[.00337991], CUSDT[1], ETH[1.05216479], ETHW[1.05216479], KSHIB[1915.79469271], SHIB[2], USD[0.00], USDT[1]

08158241                           BRZ[1], CUSDT[1], DOGE[1130.56251454], LTC[1.13359949], USD[0.01]

08158257                           USD[0.28], USDT[.00183815]

08158258                           ETHW[.22986077], SOL[.00000001], TRX[1], USD[0.00]                                                                                                                                Yes

08158262                           BF_POINT[300], SHIB[23793.58713153], USD[0.00]                                                                                                                                    Yes

08158263                           ETH[.00022361], ETHW[.00022361], SOL[.10182722], USD[0.01]

08158284                           USD[2.28]

08158286                           USD[0.00]

08158289                           CUSDT[1], DOGE[1], ETH[.01832741], ETHW[.01809485], USD[0.00]                                                                                                                     Yes

08158299                           USD[0.00]

08158305                           SOL[0], SUSHI[0], USD[0.00]

08158307                           USD[500.00]

08158308                           SOL[0], USD[0.00]                                                                                                                                                                 Yes

08158312                           USD[20.00]

08158314                           SUSHI[.4695], USD[111.59]

08158317                           AAVE[.00000001], BTC[0], USD[0.00]

08158320                           CUSDT[491.29609309], DOGE[3], ETH[1.07975182], ETHW[1.07929826], GRT[1], KSHIB[256.35300423], SOL[26.47345063], TRX[1], USD[1228.11]                                              Yes

08158325                           TRX[499.87797354], USD[0.00]

08158327                           ETH[.335], ETHW[.335], SOL[.25], USD[1.04]

08158329                           BTC[0], GRT[0], MATIC[0], NFT (359436864986395455/SharkBro #1683)[1], NFT (413454877632664987/SharkBro #597)[1], NFT (504965051794657316/Space Bums #8881)[1], SHIB[0], SOL[0],   Yes
                                   USD[0.00], USDT[0]
08158340                           SOL[0], TRX[0], USD[0.00]                                                                                                                                                         Yes

08158341                           BRZ[1], SHIB[8], USD[0.00]                                                                                                                                                        Yes

08158355                           USD[500.01]

08158371                           USD[4.72]

08158372                           BAT[1659.339], GRT[1694.304], MATIC[8.92], PAXG[.0000575], SOL[.006], SUSHI[.148], USD[0.70]

08158381                           USD[0.00]

08158385                           BRZ[1], SHIB[81284013.25538785], SOL[1.03517456], USD[0.00]                                                                                                                       Yes

08158395                           SHIB[257334.01955738], USD[0.00]

08158396                           BF_POINT[100]                                                                                                                                                                     Yes

08158403                           ETH[.026973], ETHW[.026973], USD[0.56]

08158408                           ETH[.00000006], ETHW[.00000006], TRX[1], USD[0.00]                                                                                                                                Yes

08158422                           BRZ[.00022468], DOGE[.40596332], NEAR[.89893159], SHIB[462.53111425], TRX[1.00001937], USD[1.85]                                                                                  Yes

08158428                           AAVE[.00000045], ETH[.01140259], ETHW[.01126579], LINK[0], MKR[.00000004], SHIB[1], SOL[0], UNI[.00000507], USD[0.00]                                                             Yes

08158431                           SHIB[1], SOL[6.16412168], USD[19.61]                                                                                                                                              Yes

08158444                           CUSDT[6], USD[0.53]                                                                                                                                                               Yes

08158445                           ETHW[.0004], USD[4.76]

08158462                           BTC[.00000003], CUSDT[18], DOGE[36.20364386], TRX[3], USD[0.88]                                                                                                                   Yes

08158463                           USD[2.00]

08158466                           BRZ[1], CUSDT[1], DOGE[2], USD[0.00]                                                                                                                                              Yes

08158481                           USD[0.00]

08158495                           BTC[.000034]
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                                                                                                                                             Customer Claims                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08158505                              USD[0.00]                                                                                                                                                                     Yes

08158510                              USD[0.01], USDT[9.27]

08158544                              USD[0.01]                                                                                                                                                                     Yes

08158567                              BTC[0.00018366], CUSDT[1], ETH[.00000001], ETHW[0], USD[0.00]

08158579                              ETH[.00027632], ETHW[.00027632], USD[0.39]                                                                                                                                    Yes

08158582                              BTC[.0116], MATIC[2427.57], USD[1256.08]

08158597                              USD[10.43]

08158602       Contingent, Disputed   USD[1.00]

08158611                              BTC[.00200759], DOGE[1], USD[0.00]                                                                                                                                            Yes

08158638                              BRZ[2], CUSDT[11], DOGE[289.0962452], ETH[.21860547], ETHW[.21860547], MATIC[138.2078245], SHIB[3], SOL[3.25651683], TRX[1], USD[0.00]

08158640                              SOL[0], USDT[0]

08158646                              USD[0.00], USDT[.002542]

08158659                              SHIB[23890.58375564], USD[0.00]                                                                                                                                               Yes

08158671                              USD[98.92]

08158672                              MATIC[49.95], USD[1399.50]

08158678                              USD[0.32]                                                                                                                                                                     Yes

08158688                              DOGE[1], TRX[.00981979], USD[66.25]                                                                                                                                           Yes

08158720                              CUSDT[1], ETH[.02688604], ETHW[.02655538], TRX[1], USD[0.43]                                                                                                                  Yes

08158724                              USD[5.08]

08158733                              BRZ[1], CUSDT[7], DOGE[1], USD[0.00]                                                                                                                                          Yes

08158746                              SHIB[1], SOL[0], TRX[1], USD[0.00]                                                                                                                                            Yes

08158754                              BTC[.02046788], ETHW[.04012061], SOL[.00000001], USD[14391.02]                                                                                                                Yes

08158760                              USD[135.34]                                                                                                                                                                   Yes

08158761                              BRZ[1], BTC[0], CUSDT[20], DOGE[2], LTC[0], SHIB[0], TRX[6], USD[0.00]                                                                                                        Yes

08158765                              CUSDT[3], ETHW[0], SOL[0], TRX[2], USD[0.19]

08158779                              GRT[1], USD[509.19]

08158781                              AVAX[0], BTC[0.00023425], DOGE[1], ETH[0], LINK[0], MATIC[0], SHIB[9], SOL[0], TRX[2], USD[0.00], USDT[0.00000003]                                                            Yes

08158785                              BRZ[1], BTC[.00548719], CUSDT[37], DOGE[6.03710024], ETH[.11488957], ETHW[.11376925], TRX[1], USDT[0.00256474]                                                                Yes

08158788                              MATIC[40], USD[14.01]

08158791                              SOL[.00000001], USD[0.00]

08158793                              CAD[0.00], ETH[0.00190957], ETHW[0.00188219], SHIB[0], SOL[0], USD[0.00]                                                                                                      Yes

08158821                              USD[13.73]                                                                                                                                                                    Yes

08158839                              LINK[10.0899], LTC[1.21958], USD[1.66]

08158848                              BRZ[.00128631], CUSDT[3], MATIC[42.98108998], USD[0.00]                                                                                                                       Yes

08158850                              CUSDT[1], DOGE[1], ETH[.06137213], ETHW[.06060903], USD[0.00]                                                                                                                 Yes

08158864                              NFT (308419377185716152/Astral Apes #1934)[1], NFT (320812804550201758/3D CATPUNK #920)[1], NFT (365377127798865111/3D CATPUNK #8253)[1], NFT (387978720152016821/Gangster    Yes
                                      Gorillas #4212)[1], NFT (406411557474603783/Astral Apes #1864)[1], NFT (432205229831842236/Divine Soldier #3912)[1], NFT (520740718161951439/3D CATPUNK #9203)[1], NFT
                                      (551433484214136485/DarkPunk #5713)[1], NFT (555186774868923365/Fancy Frenchies #2984)[1], NFT (574081341826618393/Elysian - #2401)[1], SHIB[1], SOL[3.84442386], USD[0.85]

08158873                              ALGO[173.61778001], BAT[213.42960108], DOGE[1], GRT[825.29528435], KSHIB[3195.50890396], LINK[11.77507509], MATIC[113.69159834], SHIB[4], TRX[1], USD[4.33]                   Yes

08158874                              GRT[585.09820205], SHIB[1], TRX[2], USD[104.70], USDT[0.00095940]                                                                                                             Yes

08158880                              DOGE[6], ETHW[.20989401], GRT[2], NEAR[.00157163], SHIB[12], SOL[0.00068781], TRX[4], USD[0.65], USDT[0.00949118]                                                             Yes

08158888                              USD[0.00]

08158892                              DOGE[25.97422404], KSHIB[146.07173457], SUSHI[.13767368], USD[0.02], USDT[2.14759944]                                                                                         Yes

08158896                              PAXG[0.00008124], USD[9043.83]

08158898                              BAT[18.07688233], NFT (335603074028047077/Marcus Allen's Playbook: USC vs. Washington - November 14, 1981 #84)[1], TRX[1], USD[0.00]

08158915                              NFT (576190852747023794/Tim Brown's Playbook: San Diego Chargers vs. Los Angeles Raiders - September 4, 1988 #71)[1], USD[0.00]                                               Yes

08158919                              USD[0.35]                                                                                                                                                                     Yes

08158926                              USD[526.39]                                                                                                                                                                   Yes

08158940                              SOL[0], USD[0.00]

08158948                              AVAX[1.65174449], CUSDT[1], ETH[.0000012], ETHW[.0000012], NFT (548751754859711737/The Hill by FTX #7865)[1], USD[0.00]                                                       Yes

08158951                              CUSDT[3], ETH[.00000021], ETHW[.00000021], SHIB[1], USD[0.00]                                                                                                                 Yes

08158956                              BTC[.00017259], CUSDT[491.0238119], DOGE[49.108228], SHIB[259923.24194682], SOL[.05238833], USD[0.00]                                                                         Yes

08158976                              BTC[.33157169], DOGE[1], SHIB[3], USD[0.00]                                                                                                                                   Yes

08158979                              USD[0.00]

08158994                              CUSDT[1], SOL[.0788193], USD[0.00]                                                                                                                                            Yes

08158997                              BTC[.00362533], CUSDT[2], DOGE[1608.79690358], SHIB[6], SUSHI[43.41174942], TRX[2], USD[0.00]                                                                                 Yes

08159001                              CUSDT[1], DOGE[532.11673677], MATIC[28.79580419], TRX[2], USD[0.00]                                                                                                           Yes

08159016                              USD[0.01]

08159019                              USD[0.01]                                                                                                                                                                     Yes
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                                                                                                                                              Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08159025                              CUSDT[1], SHIB[2971733.94010384], USD[0.00]                                                                                                                                          Yes

08159033                              BRZ[1], DOGE[2], GRT[1], MATIC[149.1004509], SHIB[15198969.20952142], TRX[1], USD[0.00], USDT[0.47011576]                                                                            Yes

08159036                              BTC[.0148445], CUSDT[3], SHIB[1], TRX[2134.42875953], USD[2.10]                                                                                                                      Yes

08159038                              USD[21.36]                                                                                                                                                                           Yes

08159041                              BRZ[3], DOGE[1], TRX[4], USD[0.00]                                                                                                                                                   Yes

08159050                              SHIB[3], USD[0.00]

08159066                              ETH[.143], ETHW[.143], USD[3.42]

08159097                              CUSDT[1], TRX[374.74179662], USD[2.91]                                                                                                                                               Yes

08159101                              USD[0.00]

08159102                              SOL[.01], USD[1.70]

08159106                              BAT[1], DOGE[2], SHIB[1], TRX[2], USD[0.00]                                                                                                                                          Yes

08159113                              USD[55.00]

08159135                              ETH[.01229237], ETHW[.01229237], USD[0.00]

08159157                              USD[0.00], USDT[0]

08159165                              NFT (309239054395682284/Romeo #955)[1], NFT (358335850850057063/GSW Round 1 Commemorative Ticket #509)[1], NFT (360118027915878629/GSW Western Conference Finals
                                      Commemorative Banner #286)[1], NFT (375077999820827622/Warriors Logo Pin #302 (Redeemed))[1], NFT (384206545961959782/GSW Western Conference Semifinals Commemorative Ticket
                                      #129)[1], NFT (392636095540013029/Warriors Logo Pin #486 (Redeemed))[1], NFT (397963276928816586/GSW Western Conference Finals Commemorative Banner #282)[1], NFT
                                      (402429711949719027/Entrance Voucher #3540)[1], NFT (412192199236310394/GSW Championship Commemorative Ring)[1], NFT (421387222627288971/GSW Western Conference Finals
                                      Commemorative Banner #283)[1], NFT (426156673343409129/GSW Championship Commemorative Ring)[1], NFT (438299155801522511/GSW Round 1 Commemorative Ticket #510)[1], NFT
                                      (438703875066828508/GSW Western Conference Finals Commemorative Banner #288)[1], NFT (451469481758230858/GSW Round 1 Commemorative Ticket #508)[1], NFT
                                      (487745201342603766/GSW Western Conference Finals Commemorative Banner #287)[1], NFT (493443267209850905/GSW Western Conference Semifinals Commemorative Ticket #132)[1], NFT
                                      (499749394875064195/GSW Championship Commemorative Ring)[1], NFT (507148781660738558/GSW Western Conference Semifinals Commemorative Ticket #130)[1], NFT
                                      (523048769855140004/GSW Western Conference Finals Commemorative Banner #281)[1], NFT (549473733439747261/GSW Western Conference Finals Commemorative Banner #285)[1], NFT
                                      (551875239698782612/GSW Western Conference Semifinals Commemorative Ticket #131)[1], NFT (569487490117928737/GSW Western Conference Finals Commemorative Banner #284)[1],
                                      USD[0.14]
08159170                              NFT (445658871626735810/Australia Ticket Stub #2373)[1], SHIB[23344830.30074185], USD[1.15]                                                                                          Yes

08159171                              SOL[.00000001], USDT[0]

08159186                              CUSDT[7], DOGE[1], SHIB[2], TRX[1], USD[0.00]                                                                                                                                        Yes

08159188                              BTC[.00012878], USD[-1.62]                                                                                                                                                           Yes

08159203                              CUSDT[1], GRT[60.41958564], USD[0.00]                                                                                                                                                Yes

08159204                              USD[200.00]

08159212                              DOGE[0], MATIC[0], SHIB[3959.90099461], USD[0.00], USDT[0]                                                                                                                           Yes

08159222                              USD[0.13]                                                                                                                                                                            Yes

08159237                              DOGE[.00360147], SHIB[2489.61526474], USD[0.00]                                                                                                                                      Yes

08159250                              EUR[0.00]

08159251                              BTC[.00159554], CUSDT[4], DOGE[586.08819691], ETH[.03889378], ETHW[.03841439], SOL[.2886544], USD[0.00], YFI[.00083173]                                                              Yes

08159259       Contingent, Disputed   USD[3.20]

08159269                              CUSDT[1], ETH[.27240107], ETHW[.27220934], TRX[1], USD[0.00]                                                                                                                         Yes

08159272                              CUSDT[3], SOL[.0001001], TRX[1], USD[0.00], USDT[1.056854]                                                                                                                           Yes

08159275                              BTC[.0950142]                                                                                                                                                                        Yes

08159282                              SHIB[273.04689058], USD[0.00]                                                                                                                                                        Yes

08159292                              SHIB[263504.6113307]

08159296                              LTC[.05447349], SOL[.00000272], TRX[1], USD[27.97]                                                                                                                                   Yes

08159304                              DOGE[1], SHIB[3], SOL[.03529609], TRX[3], USD[0.00]                                                                                                                                  Yes

08159306                              BRZ[1], CUSDT[1.0433714], LTC[.00000282], USD[0.01]                                                                                                                                  Yes

08159318                              USD[0.39]

08159319                              CUSDT[1], SOL[.08378504], USD[0.00]                                                                                                                                                  Yes

08159339                              DOGE[1], ETHW[.05789289], SHIB[1], USD[76.19]                                                                                                                                        Yes

08159341       Contingent, Disputed   SHIB[1660262.79104518], TRX[1], USD[0.00]                                                                                                                                            Yes

08159343                              USD[0.00]

08159385                              SHIB[1], USD[0.00]                                                                                                                                                                   Yes

08159391                              USD[0.00]

08159410                              USD[0.00], USDT[0]                                                                                                                                                                   Yes

08159424                              AVAX[0], BAT[0], BCH[0], CUSDT[0], DOGE[0.00626502], ETH[0], ETHW[0], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], MKR[0.01206699], PAXG[0], SHIB[593.78081349], SOL[0], SUSHI[0],   Yes
                                      TRX[0.90580615], UNI[0], USD[12.84], USDT[0.00763178], YFI[0]
08159456                              ETH[0], MATIC[0], NFT (475710326760687348/Entrance Voucher #29604)[1], NFT (530287828925789375/#4388)[1], NFT (554270164339313204/#3646)[1], NFT (570629138071557241/#8990)[1],
                                      SOL[0], TRX[.000169], USD[0.00], USDT[0.00000143]
08159477                              CUSDT[3], SHIB[1], TRX[1], USD[0.00]

08159486                              BRZ[1], BTC[.02759621], CUSDT[9], DOGE[4], SHIB[747876.35490409], TRX[3], USD[0.01]                                                                                                  Yes

08159525                              CUSDT[4], DOGE[26.6871263], SHIB[108546.21099601], SOL[.00857708], TRX[14.62866501], UNI[.36470285], USD[0.00], USDT[0.00000001]                                                     Yes

08159526                              BAT[10.15982664], CUSDT[8], LTC[.14742013], SHIB[6], SUSHI[21.67080328], TRX[2], USD[0.00], USDT[0]                                                                                  Yes

08159534                              CUSDT[1], SOL[.00000001], USD[0.00]                                                                                                                                                  Yes

08159536                              BRZ[1], SHIB[1010101.01010101], USD[0.00]

08159542                              CUSDT[3], LINK[1.09142602], SHIB[407224.16394353], SOL[.16249368], USD[0.00]                                                                                                         Yes
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                                                                                                                                            Customer Claims                                                                                                    22-11071 (JTD)
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08159552                              USD[1000.00]

08159557                              BTC[0], USD[1.72]

08159571                              BRZ[1], USD[0.00]                                                                                                                                                                Yes

08159577                              USD[0.00]

08159581                              SHIB[8877118.23450586], USD[0.00]

08159607                              BTC[.299715], ETH[.9970519], ETHW[.9970519], LINK[499.525], SOL[14.08043126], USD[14.20]

08159620                              USD[0.00]

08159627                              BTC[0], DOGE[0], ETH[0], LINK[0], MATIC[0], SOL[0], SUSHI[0], UNI[0], USD[0.00]

08159642       Contingent, Disputed   USD[0.00], USDT[0], ZAR[0.00]

08159657                              DOGE[5], SHIB[6], TRX[6], USD[0.01]

08159661                              USD[0.00], USDT[.00086728]

08159664                              DOGE[2], GRT[1], SHIB[1], TRX[2], USD[0.00], USDT[1.0780658]                                                                                                                     Yes

08159695                              BTC[.01542928], CUSDT[3], DOGE[565.36564733], ETH[.14452892], ETHW[.14452892], MATIC[27.19123284], SHIB[1], SOL[1.00307344], TRX[1], USD[0.00]

08159700                              BAT[1], DOGE[1], USD[0.27]

08159701                              BRZ[27.87513944], CUSDT[1], TRX[107.34065146], USD[10.00]

08159714                              USD[1.00]

08159716                              CUSDT[1], SOL[1.13194242], USD[54.06]                                                                                                                                            Yes

08159740                              USD[0.00], USDT[0]                                                                                                                                                               Yes

08159744                              USD[539.83]                                                                                                                                                                      Yes

08159746                              USD[100.00]

08159760                              NFT (325954517564931220/Romeo #4)[1], NFT (328763283824250182/Romeo #348)[1], NFT (335382326345605462/FTX - Off The Grid Miami #6250)[1], NFT (363490636652553552/Monza Ticket
                                      Stub #124)[1], NFT (384391267307925821/Good Boy #352)[1], NFT (490111032164279066/Singapore Ticket Stub #106)[1]
08159765                              AAVE[.008], ETH[0], ETHW[2], MATIC[2000], USD[0.00]

08159772                              DOGE[4.54061013], GRT[.26454705], SOL[.02026636], USD[0.00]                                                                                                                      Yes

08159774                              SOL[.00940525], USD[0.00], USDT[0]

08159785                              BTC[.01179044], ETH[.04982064], ETHW[.04920504], SOL[.00170665], USD[0.01]                                                                                                       Yes

08159794                              USD[0.00]

08159810                              BTC[.00100042], DOGE[1], USD[0.00]                                                                                                                                               Yes

08159812                              USD[20.00]

08159832                              USD[0.00]                                                                                                                                                                        Yes

08159841                              CUSDT[2], SOL[.00000001], USD[0.00]                                                                                                                                              Yes

08159848                              CUSDT[1], ETH[.00023091], ETHW[.00023091], USD[1.07]

08159853                              BTC[.0046], ETH[.046], ETHW[.046], SOL[1], USD[1.12]

08159856                              ETHW[.000981]                                                                                                                                                                    Yes

08159864                              USD[0.01]                                                                                                                                                                        Yes

08159867                              NFT (534636428447622480/Sigma Shark #851)[1], SOL[.00000001]

08159870       Contingent, Disputed   USD[0.04]

08159886                              BTC[.04129414], CUSDT[5], DOGE[1542.03153458], ETH[.38040222], ETHW[.38040222], SHIB[7230737.60261278], SOL[5.91386399], USD[500.00]

08159903                              BAT[3.371215], BRZ[1], BTC[.000983], CUSDT[13], DOGE[103.52594259], ETH[.02620443], ETHW[.02587611], KSHIB[256.78331647], LTC[.13452998], MATIC[293.88252669],                   Yes
                                      SHIB[6456769.08013569], TRX[31.04474803], USD[1.19]
08159910                              AVAX[5.30622155], BRZ[3], BTC[.08340608], CUSDT[9], DOGE[6616.84210733], ETH[2.11894458], ETHW[2.11805471], LINK[11.42900227], MATIC[3249.16692046], NFT                         Yes
                                      (298500090828881668/Entrance Voucher #3401)[1], NFT (519092897572040378/Humpty Dumpty #1551)[1], SHIB[97836559.6981012], SOL[13.51523184], TRX[10335.32913522], USD[2.56]
08159915                              DOGE[3], TRX[2], USD[0.00]

08159924                              SHIB[74125800], SOL[9.99], USD[10.76]

08159926                              BTC[.00008504], DOGE[1], SHIB[228358.58473006], USD[0.00]                                                                                                                        Yes

08159952                              CUSDT[2], NFT (301988785905939934/1ST.EDDY-Bully XRP)[1], NFT (315474377780477338/Crypto Infinite #22)[1], NFT (353935383865121945/BTC MARILYN)[1], NFT
                                      (482953189075378963/Inspiration #1 0f 5 )[1], NFT (550376427084412548/BTC SAMMY)[1], SOL[.02823678], USD[0.02]
08159955                              USD[0.91], USDT[0]                                                                                                                                                               Yes

08159970                              SHIB[1], USD[0.00]

08159973                              CUSDT[977.33072038], TRX[289.36355977], USD[0.01]

08159982                              USD[107.07], USDT[0]                                                                                                                                                             Yes

08160004                              DOGE[0], LINK[0], USD[0.00], USDT[0]

08160007                              BTC[.12123222], SHIB[130577010.02491035]                                                                                                                                         Yes

08160016                              BTC[.00226856], CUSDT[4], DOGE[979.03236865], ETH[.02703191], ETHW[.02669542], SOL[4.62039141], TRX[2], USD[173.89]                                                              Yes

08160025                              BTC[.00000005], CUSDT[1], DOGE[1], TRX[1], USD[305.59]                                                                                                                           Yes

08160026                              ETH[.00000001], ETHW[0]                                                                                                                                                          Yes

08160030                              BTC[0], CHF[4.43], USD[0.03]

08160049                              USD[0.03]

08160050                              SOL[0], USD[0.43]

08160052                              BCH[1.88169054], BTC[.00365003], MATIC[75.86385801], SOL[4.38537957], USD[0.08]                                                                                                  Yes

08160057                              BTC[.00063498], CUSDT[3], ETH[.00508568], ETHW[.00501728], SHIB[275000.54159451], SOL[.38049714], USD[107.97]                                                                    Yes
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                                                                                                                                         Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08160062                           ETH[.00612561], ETHW[0.00612560]

08160066                           BTC[0], DOGE[.78191528], LINK[.00563639], NFT (428057299227666847/The Hill by FTX #3462)[1], USD[0.00]                                                                                 Yes

08160068                           USD[0.00], USDT[0.00000179]

08160073                           CUSDT[6], SHIB[2], TRX[3], USD[439.23]                                                                                                                                                 Yes

08160084                           USD[0.01]                                                                                                                                                                              Yes

08160091                           USD[40.00]

08160123                           BTC[.00000016], SOL[.00000409], USD[0.01]

08160124                           CUSDT[1], UNI[1.07964232], USD[0.00]                                                                                                                                                   Yes

08160127                           ETH[.23200994], ETHW[.23200994], TRX[1], USD[2016.16]

08160128                           USD[25.00]

08160132                           BRZ[1], BTC[.16113715], CUSDT[3], DOGE[2], ETH[.08363062], ETHW[.08260552], SHIB[3.05869074], USD[0.00]                                                                                Yes

08160168                           BTC[.0010032], CUSDT[2], DOGE[1], ETH[.04021921], ETHW[.03971993], USD[324.11]                                                                                                         Yes

08160184                           BTC[.00017434], DOGE[66.56406145], ETH[.0031532], ETHW[.00311213], MATIC[1.28106596], TRX[1], UNI[.02883139], USD[0.44]                                                                Yes

08160188                           USD[211.62]                                                                                                                                                                            Yes

08160189                           BTC[0], NFT (311792112311041777/The Bird)[1], USD[0.05]

08160204                           BRZ[.92032194], CUSDT[6.5529408], DOGE[.00049644], GRT[0.00005801], MATIC[0], SHIB[6.90919033], SOL[0], SUSHI[0], UNI[3.19576284], USD[0.01]                                           Yes

08160211                           BTC[.00081336], CUSDT[3], SOL[.23484422], USD[0.01]                                                                                                                                    Yes

08160221                           DOGE[1], USD[0.00]                                                                                                                                                                     Yes

08160224                           NFT (379564910905604745/The 2974 Collection #2676)[1], NFT (439235478262462700/Birthday Cake #2676)[1], NFT (518293290843140542/2974 Floyd Norman - OKC 4-0179)[1], USD[0.00],
                                   USDT[0.00000001]
08160226                           BTC[0], GRT[6639.80621824], MATIC[0], SOL[0], USD[0.00], USDT[0.00000001]                                                                                                              Yes

08160232                           USD[50.01]

08160234                           ETH[0]                                                                                                                                                                                 Yes

08160247                           MATIC[3736.26], NFT (302299555503913162/GSW Western Conference Semifinals Commemorative Ticket #357)[1], NFT (317230808960518977/GSW Western Conference Finals Commemorative
                                   Banner #762)[1], NFT (320644874177850999/GSW Round 1 Commemorative Ticket #489)[1], NFT (324435705488249850/Birthday Cake #2449)[1], NFT (327956274743371332/GSW 75 Anniversary
                                   Diamond #346 (Redeemed))[1], NFT (349963139532782215/2974 Floyd Norman - OKC 6-0277)[1], NFT (372125228681253462/GSW Championship Commemorative Ring)[1], NFT
                                   (373752147391459692/Exclusive 2974 Collection Merchandise Package #4318 (Redeemed))[1], NFT (399874041468199436/GSW Western Conference Semifinals Commemorative Ticket #356)[1], NFT
                                   (434996059341998244/GSW 75 Anniversary Diamond #85 (Redeemed))[1], NFT (463635746711030272/The 2974 Collection #2449)[1], NFT (473200321772535431/2974 Floyd Norman - OKC 3-
                                   0075)[1], NFT (474133479994007459/GSW Western Conference Finals Commemorative Banner #761)[1], NFT (480001031132690455/GSW Championship Commemorative Ring)[1], NFT
                                   (523749473032295328/GSW Western Conference Finals Commemorative Banner #764)[1], NFT (528784267377288065/The 2974 Collection #1928)[1], NFT (539092440509199148/Exclusive 2974
                                   Collection Merchandise Package #3839 (Redeemed))[1], NFT (542598160097451643/Birthday Cake #1928)[1], NFT (566449521623158669/GSW Western Conference Finals Commemorative Banner
                                   #763)[1], SOL[0], USD[275.94]
08160248                           SOL[2.47909859], TRX[1], USD[0.00]

08160250                           BTC[.00005301], DOGE[1], TRX[.83359819], USD[10.48]

08160255                           BTC[.00033087], CUSDT[13], NFT (440736810685468001/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #116)[1], NFT (474565489030848473/ApexDucks          Yes
                                   #5305)[1], SHIB[2], SOL[.02580438], TRX[2], USD[0.00]
08160262                           BTC[.00000017], DOGE[1], SUSHI[0]                                                                                                                                                      Yes

08160268                           USD[100.00]

08160273                           CUSDT[1], DOGE[302.87749333], TRX[1], USD[0.45]

08160289                           USD[724.57]

08160297                           USD[0.00]

08160299                           SHIB[44381694.50829269], USD[0.00]                                                                                                                                                     Yes

08160300                           DOGE[1], ETHW[.25474062], GRT[1], SHIB[1], USD[306.65]

08160304                           DOGE[1], GRT[1.0001826], LINK[55.21369241], USD[0.00]                                                                                                                                  Yes

08160310                           DOGE[1], SHIB[1], USD[0.00]                                                                                                                                                            Yes

08160312                           BTC[.00736038], SHIB[2], USD[342.18]                                                                                                                                                   Yes

08160316                           CUSDT[1], NFT (524566468816527900/SOLYETIS #4622)[1], SHIB[1], TRX[1], USD[1.00], USDT[0]

08160317                           CAD[0.00], CUSDT[16], DOGE[0.00125112], GRT[0], KSHIB[0], MATIC[0], SUSHI[3.75005254], USD[0.00], USDT[0]                                                                              Yes

08160322                           USD[0.12]                                                                                                                                                                              Yes

08160324                           ETH[1.04339362], ETHW[1.04295528]                                                                                                                                                      Yes

08160336                           CUSDT[1], DOGE[2], ETH[.05411269], ETHW[.05344237], LINK[4.57667669], NFT (486340335580818854/Nifty Nanas #4683)[1], SOL[.90767715], TRX[1], USD[292.71]                               Yes

08160338                           USD[0.08]

08160339                           USD[0.56]

08160343                           CUSDT[1], ETH[.00730012], ETHW[.00730012], USD[0.00]

08160344                           CUSDT[2], SHIB[1299608.91975074], USD[0.00]                                                                                                                                            Yes

08160346                           BTC[.00183861], USD[0.00]

08160348                           DOGE[1], USD[0.00]

08160352                           ETH[.42603465], ETHW[.42585182], MATIC[150.22618526], SOL[8.20176399], USD[0.22]                                                                                                       Yes

08160354                           BAT[31.14845], BTC[0.00166779], CAD[0.95], DOGE[18.31345], ETH[.01077105], ETHW[.01077105], LINK[58.4347], LTC[5.2065895], MATIC[29.9715], SOL[7.4742715], USD[493.94],
                                   USDT[16.88184266]
08160379                           SOL[5.2], USD[3.00]

08160381                           BRZ[1], CUSDT[3], ETH[.2180817], ETHW[.2180817], SHIB[1], USD[0.00]

08160390                           USD[0.00]

08160391                           BTC[.00009901], ETH[.00000001], LTC[.00761331], SHIB[1349970.8886944], SOL[.00000001], USD[642.17]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08160396                           USD[0.00]

08160404                           BAT[277.46516581], CUSDT[3], DOGE[3], KSHIB[2595.14513258], SHIB[11064688.25792296], TRX[1], USD[3.08]

08160405                           CUSDT[1], USD[12.16]

08160417                           USD[20.00]

08160420                           USD[0.00], USDT[4.674196]

08160445                           CUSDT[1], USD[0.00]                                                                                                                                                                   Yes

08160446                           CUSDT[1], DOGE[2], ETH[.52250487], ETHW[.52228545], SOL[79.06200085], TRX[2], UNI[1.04108627], USD[0.12], USDT[1.07783946]                                                            Yes

08160450                           USD[53.99]                                                                                                                                                                            Yes

08160453                           SHIB[5557099.19422061], TRX[1], USD[0.01]

08160456                           USD[1.00]

08160457                           CUSDT[9], SHIB[950143.30732914], TRX[1], USD[0.00]                                                                                                                                    Yes

08160465                           USD[0.01]                                                                                                                                                                             Yes

08160468                           USD[2000.00]

08160477                           AAVE[.0785025], AVAX[.00000848], BRZ[1], DOGE[5], ETHW[.0000021], SHIB[22], USD[0.00]                                                                                                 Yes

08160479                           CUSDT[2456.2541271], DOGE[525.44269886], SHIB[2814474.47053004], USD[0.00]                                                                                                            Yes

08160501                           USD[0.00]

08160523                           BAT[0], BRZ[1], BTC[0.00297522], DOGE[7.1009262], ETH[0], NFT (288490420667303027/SolBunnies #1993)[1], NFT (309644952937281789/SolBunnies #3303)[1], NFT                             Yes
                                   (426349761252019645/SolBunnies #2681)[1], NFT (480885594754526168/SolBunnies #1177)[1], NFT (485781400782215575/SolBunnies #1916)[1], NFT (494174113230486122/SolBunnies #4267)[1],
                                   NFT (496027049539921068/SolBunnies #104)[1], NFT (531651574457038868/SolBunnies #578)[1], NFT (567893834032854523/SolBunnies #3620)[1], NFT (571780371707816974/Solana Penguin
                                   #2434)[1], SHIB[9], SOL[0.00001019], SUSHI[20.91299533], TRX[4], USD[0.00], USDT[0]
08160528                           ETH[.11528568], ETHW[.11416471], SOL[.54646497], USD[0.01]                                                                                                                            Yes

08160539                           BTC[.0135864], ETH[.172827], ETHW[.172827], USD[48.28]

08160547                           SHIB[2], SOL[1.86887219], USD[0.00]

08160554                           DOGE[721.77708706], USD[0.00]

08160563                           USD[100.00]

08160573                           GRT[1], TRX[1], USD[0.01], USDT[1.07162667]                                                                                                                                           Yes

08160576                           SOL[.00000001]

08160579                           BTC[.01074809], DOGE[231.87765909], ETH[0], ETHW[0.43126226], MATIC[19.15659037], SHIB[2], USD[0.00]                                                                                  Yes

08160580                           CUSDT[1], SOL[.11780721], USD[0.00]                                                                                                                                                   Yes

08160582                           BTC[.0122], ETH[.068], ETHW[.068], EUR[44.00], LINK[3.7], PAXG[.0811], SOL[.42], USD[620.16]

08160583                           USD[0.00], USDT[0.00001619]

08160584                           CUSDT[1], DOGE[1], USD[0.01]                                                                                                                                                          Yes

08160595                           SHIB[13326227.01279317], SOL[6.52338224], USD[0.04]

08160596                           USD[0.00]

08160600                           CUSDT[1], SOL[.27107574], USD[0.01]                                                                                                                                                   Yes

08160602                           USD[10.75]                                                                                                                                                                            Yes

08160614                           USD[0.01]

08160634                           ALGO[105.59430665], AVAX[.28272424], BRZ[176.01493165], BTC[.02676121], CUSDT[1296.89901857], DAI[80.20227482], DOGE[2725.00083603], ETH[.59838971], ETHW[.51443541],                 Yes
                                   GRT[387.78894687], HKD[83.64], LTC[.37840843], MATIC[213.12743162], NFT (328306771770320112/Solninjas #6876)[1], NFT (397739111289524961/Solninjas #3132)[1], NFT
                                   (402604667930641232/Solninjas #9400)[1], NFT (442465803162315753/01:Predawn - Ukraine #128)[1], NFT (503567247057433249/Solninjas #3496)[1], NFT (509898258024289538/Solninjas
                                   #4059)[1], SHIB[15986444.86674641], SOL[12.15109563], SUSHI[67.62497758], TRX[1243.06144193], USD[5271.16], YFI[.00082551]
08160635                           KSHIB[4033.52080191], MATIC[39.96], SOL[1], UNI[5], USD[0.42]

08160640                           USD[539.82]                                                                                                                                                                           Yes

08160641                           USD[0.01], USDT[0]                                                                                                                                                                    Yes

08160642                           CUSDT[2], ETH[0], LTC[0]                                                                                                                                                              Yes

08160643                           BRZ[1], BTC[.01218816], CUSDT[2], DOGE[1], MATIC[66.39815595], SOL[.31548582], USD[0.00]                                                                                              Yes

08160653                           BRZ[5], BTC[.00000143], CUSDT[4], DOGE[12.05950777], ETH[.00000602], ETHW[1.2013754], GRT[1], SHIB[343538.05196279], TRX[6], USD[16.24]                                               Yes

08160654                           BRZ[1], CUSDT[1], LTC[1.09681208], SHIB[3316749.5854063], SOL[1.64140762], TRX[1], USD[0.01]

08160666                           BTC[.00182466], CUSDT[1], USD[0.00]

08160669                           DOGE[1], ETH[.00000093], ETHW[.00000093], SOL[0.00003659]                                                                                                                             Yes

08160676                           SHIB[51361.06831022], SOL[.00643503], USD[0.31]

08160680                           TRX[1071.927], USD[0.17]

08160684                           USD[5000.00]

08160693                           DOGE[0], SOL[0], USD[0.02]                                                                                                                                                            Yes

08160702                           TRX[.981], USD[1.68]

08160708                           BRZ[1], CUSDT[3], TRX[1.0096758], USD[0.00]                                                                                                                                           Yes

08160711                           BTC[.0018], USD[1.39]

08160712                           AVAX[.00003403], BAT[2], BRZ[4], BTC[.00003725], CUSDT[12], DOGE[16.11934264], ETHW[.03367412], GRT[.00199206], MATIC[17.24410138], SHIB[39], TRX[9], USD[0.00], USDT[1.02543197]     Yes

08160717                           BF_POINT[100], BRZ[1], CUSDT[2], NFT (299399678659088909/Moolah Monkeys #3479)[1], NFT (347924671381439930/Solana Ducks #642)[1], SHIB[400057.13067708], TRX[1], USD[0.02]            Yes

08160724                           ETHW[.159], USD[0.00]

08160732                           CUSDT[2], DOGE[2], SOL[4.02450331], USD[0.00]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08160736                           USD[0.00]

08160739                           SOL[2.55744], USD[3.47]

08160740                           BRZ[1], CUSDT[1], GRT[1], TRX[1], USD[0.19]

08160745                           NFT (574213750254485049/Coachella x FTX Weekend 1 #13474)[1]

08160762                           BTC[.00149318]

08160771                           CUSDT[1], SHIB[1], USD[0.00]                                                                                                                                                             Yes

08160774                           BRZ[1], BTC[.02506585], CUSDT[1], DOGE[1], ETH[.03507809], ETHW[.03464033], SHIB[1], TRX[1], USD[0.00]                                                                                   Yes

08160782                           KSHIB[.00748499], MATIC[0.00088136], SOL[0], USD[0.00]                                                                                                                                   Yes

08160791                           BTC[.0054], USD[4.29]

08160819                           BTC[.00001016]                                                                                                                                                                           Yes

08160825                           USD[21.15]

08160826                           BRZ[0.00143567], CUSDT[10], NFT (308816921261509209/7461)[1], NFT (445503630192934861/First 50 #50)[1], NFT (483124420370581137/First 50 #9)[1], SHIB[5970929.14539141],                 Yes
                                   TRX[.00244289], USD[0.00]
08160827                           USD[107.33]                                                                                                                                                                              Yes

08160828                           DOGE[1.11960901], USD[0.01]

08160831                           BTC[.00009127], USD[0.00]                                                                                                                                                                Yes

08160834                           CUSDT[1], DOGE[1], ETH[0.00000052], ETHW[0.00000052], TRX[1], USD[0.00]                                                                                                                  Yes

08160835                           CUSDT[6], DOGE[8832.94379691], SHIB[12], SOL[62.08579148], TRX[2], USD[0.00]                                                                                                             Yes

08160836                           USD[0.00]

08160837                           EUR[0.00], USD[43.43], USDT[0.00000001]                                                                                                                                                  Yes

08160838                           USD[10.00]

08160847                           USD[10.69]                                                                                                                                                                               Yes

08160850                           USD[500.01]

08160856                           BTC[.0252943], LINK[.0859], LTC[1.63836], USD[247.50]

08160858                           BAT[1.00173681], BRZ[6.0580673], CUSDT[5], DOGE[8.16651736], ETH[0], ETHW[5.1037865], GRT[1], SOL[.00000002], TRX[7], USD[0.01], USDT[0.00009034]                                        Yes

08160862                           USD[4992.87], USDT[0.00008509]

08160864                           SOL[.07822], USD[3.10]

08160871                           BRZ[1], TRX[1], USD[0.00]                                                                                                                                                                Yes

08160874                           CUSDT[1], SUSHI[69.14249878]                                                                                                                                                             Yes

08160888                           ETHW[6.294699], USD[199.00]

08160892                           SOL[5.64952], USD[2.29]

08160901                           BTC[.0004], DOGE[226], ETH[.014], ETHW[.014], PAXG[.0189], SHIB[500000], SOL[.39], USD[3.75]

08160906                           BTC[0], ETH[0], MATIC[0.12166293], SOL[0], TRX[0], USD[0.00]                                                                                                                             Yes

08160911                           BAT[1.00073987], BF_POINT[100], CUSDT[29], DOGE[57.49933807], TRX[2], USD[0.00]                                                                                                          Yes

08160919                           ETHW[5.58446021], USD[2124.09]                                                                                                                                                           Yes

08160921                           BRZ[1], BTC[.00209493], CUSDT[1], DOGE[1], SHIB[2], USD[86.92]                                                                                                                           Yes

08160925                           BAT[1.75596333], BTC[.00009167], USD[0.00], USDT[2.6834251]                                                                                                                              Yes

08160929                           BTC[.00078179], DOGE[1], SHIB[8365453.78427582], USD[0.00]                                                                                                                               Yes

08160930                           BF_POINT[300], TRX[1], USD[0.00]                                                                                                                                                         Yes

08160932                           BF_POINT[100], CUSDT[1], DOGE[0], NFT (360230924314657495/Australia Ticket Stub #1208)[1], NFT (500347773852503660/Barcelona Ticket Stub #735)[1], TRX[1], USD[0.00], USDT[0.00000177]   Yes

08160934                           CUSDT[1], DOGE[1], SOL[0], USD[0.80]                                                                                                                                                     Yes

08160935                           CUSDT[1], KSHIB[2115.64943773], USD[0.00]

08160939                           BTC[.00017349], CUSDT[1], DOGE[101.91217216], ETH[.00971879], ETHW[.00959567], SOL[.0518827], TRX[1], USD[0.02]                                                                          Yes

08160942                           BAT[3.05608988], BRZ[9.29419753], BTC[1.19958742], CUSDT[13], DOGE[13.03292022], ETH[2.81542338], ETHW[2.68288714], GRT[2.00854483], SHIB[33], SOL[78.38691578], TRX[14.00578287],       Yes
                                   USD[70.26], USDT[2.10129625]
08160944                           USD[0.00]

08160946                           CUSDT[1], DOGE[1], USD[0.00], USDT[0]

08160949                           SOL[1]

08160951                           CUSDT[1], KSHIB[6300.07298004], USD[0.00]

08160953                           CUSDT[1], SOL[.54926885], USD[0.00]                                                                                                                                                      Yes

08160968                           LINK[.74822297]

08160991                           BTC[0.00352173], ETH[.05295133], ETHW[.05295133], SHIB[99200], USD[0.00]

08160996                           BTC[.00630794], CUSDT[3], SHIB[3], TRX[1], USD[0.00]                                                                                                                                     Yes

08161014                           BRZ[2], CUSDT[2], DOGE[3], SHIB[1], SOL[4.87553701], TRX[1], USD[0.01], USDT[0.00000019]                                                                                                 Yes

08161017                           BCH[0], BRZ[1], BTC[.00070459], CUSDT[12], DOGE[409.75282717], SHIB[5], SOL[.86833731], TRX[1], USD[0.63], USDT[0]                                                                       Yes

08161020                           BRZ[1], SHIB[1], TRX[3], USD[0.01], USDT[1]

08161025                           USD[1.42]

08161031                           BTC[.22525468], ETH[3.19376564], ETHW[2.46376564], MATIC[778.93296094], SHIB[2568053.41551104], SOL[1.06], TRX[10621.01499517], USD[2.25], USDT[1]

08161034                           ETHW[.4780646], USD[1220.76]                                                                                                                                                             Yes
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08161055                           BAT[0], USD[0.00]                                                                                                                                                                           Yes

08161061                           USD[1.83]

08161062                           BTC[.0020979], SHIB[16584.44575582], USD[1.95], USDT[0.00044114]

08161075                           USD[0.00], USDT[99.43079746]

08161079                           SOL[26.96873], USD[1.07]

08161082                           USD[0.00]

08161083                           USD[0.01]

08161088                           MATIC[0]

08161091                           BTC[.00741006], CUSDT[1], SOL[0.68335803], TRX[1], USD[0.00]                                                                                                                                Yes

08161094                           USD[107.96]                                                                                                                                                                                 Yes

08161105                           AVAX[0], BTC[.00000165], ETHW[.00039844], NFT (289807211491295371/Astral Apes #269)[1], NFT (334868757607814872/Monkey League Cup)[1], NFT (336927270608100258/StarAtlas                    Yes
                                   Anniversary)[1], NFT (374714604938142077/Monkey League Cup)[1], NFT (400414227516474616/Astral Apes #377)[1], NFT (407037776934640579/Monkey League Cup)[1], NFT
                                   (477832386514122112/StarAtlas Anniversary)[1], NFT (487139775042366135/StarAtlas Anniversary)[1], NFT (517276889585019534/StarAtlas Anniversary)[1], NFT (525408200269143068/StarAtlas
                                   Anniversary)[1], NFT (549147164288450885/StarAtlas Anniversary)[1], NFT (551279134862965391/StarAtlas Anniversary)[1], NFT (559053996088765701/StarAtlas Anniversary)[1], NFT
                                   (566587266308767372/StarAtlas Anniversary)[1], NFT (571687079861685601/Astral Apes #471)[1], SOL[0], USD[0.00], USDT[0.00002679]
08161106                           USD[120.01]

08161107                           BTC[.05239954], NFT (394099153468805305/FTX - Off The Grid Miami #499)[1], TRX[1], USD[0.00], USDT[1]

08161112                           CUSDT[4907.16944017], USD[0.15]                                                                                                                                                             Yes

08161117                           BRZ[1], DOGE[1], ETH[.02621019], ETHW[.02588187], MATIC[31.36394048], USD[0.00]                                                                                                             Yes

08161118                           NFT (368059317863307875/Cat II by VIKI INK)[1], NFT (376393070056959102/Panda Collection 5:5 #3)[1], NFT (388927675899606216/Panda Collection 5:5)[1], NFT (419667025787055954/Sleepy
                                   Fairy by VIKI INK #2)[1], NFT (438427378877990595/Panda Collection 5:5 #4)[1], NFT (438595395918081102/Mandala by VIKI INK)[1], NFT (439408129982610605/Mouse by VIKI INK)[1], NFT
                                   (443703469575514497/Strawberry Lady by VIKI INK )[1], NFT (449744069050693481/Fairy by VIKI INK)[1], NFT (456923985653995162/Fairyphant by VIKI INK)[1], NFT (456946879328072721/Princess
                                   and Doggo by VIKI INK)[1], NFT (458182346841774930/Elephant by VIKI INK)[1], NFT (462716938553684130/Rose by VIKI INK)[1], NFT (483587828594685779/Rose Fairyphant by VIKI INK)[1], NFT
                                   (499735659443789452/Cuties by VIKI INK)[1], NFT (515792677118061010/Turtle by VIKI INK)[1], NFT (518407575757757080/Cat by VIKI INK)[1], NFT (534559934705645379/Panda Collection 5:5
                                   #2)[1], NFT (534768077646792566/Elephant II by VIKI INK)[1], NFT (547426848038771902/Butterfly by VIKI INK)[1], NFT (559033226006904627/Sleepy Fairy by VIKI INK)[1], SOL[2.10780394],
                                   USD[2.02]
08161127                           USD[13.23]

08161129                           TRX[1], USD[0.00]

08161131                           USD[0.21]

08161138                           USD[0.00]

08161143                           BTC[.0009], NFT (576186185523082389/Cal Bears Super Oski Scavenger Hunt #35)[1]

08161145                           USD[0.00], USDT[0.00000001]

08161148                           AAVE[2.66733], BTC[.0613386], ETH[5.142828], ETHW[4.954017], USD[380.00], USDT[1689.527322]

08161151                           BAT[1.00556248], CUSDT[1], DOGE[1], ETH[38.0391042], ETHW[38.02804770], GRT[1], SUSHI[2.10191379], TRX[1], USD[0.00], USDT[1.05129248]                                                      Yes

08161158                           CUSDT[1], SHIB[560255.67610419], USD[0.00]                                                                                                                                                  Yes

08161168                           USD[0.84]

08161170                           BCH[0], ETH[0.09724328], ETHW[0.09621695], PAXG[0], SHIB[1], SOL[0], USD[0.00]                                                                                                              Yes

08161174                           KSHIB[141.08657297], SHIB[15984000], USD[0.00]

08161183                           USD[94.59]

08161195                           BTC[.00000341], ETH[0], USD[0.00], USDT[0]

08161196                           BTC[0.00003606], USD[0.00]                                                                                                                                                                  Yes

08161211                           USD[0.37], USDT[0]

08161225                           AAVE[1.95437377], BAT[381.94524311], BRZ[1], BTC[.04173066], CUSDT[1], DOGE[6.00767613], ETH[.82369151], ETHW[.82334559], GRT[104.42848873], SOL[3.5663439], TRX[3], USD[0.00]              Yes

08161234                           ETH[.01229178], ETHW[.01229178]

08161241                           CUSDT[1], DOGE[1], ETH[.12085039], ETHW[.12085039], KSHIB[638.64774259], USD[0.01]

08161247                           ETH[.00214836], ETHW[.00214836], USD[0.00]

08161250                           BAT[1], BTC[.01031357], CUSDT[3], DOGE[2296.29067155], ETH[.06146079], ETHW[.06071287], LTC[1.53287144], PAXG[.27864539], SHIB[1], TRX[3], USD[7.41]

08161255                           SHIB[1], USD[2.02]

08161270                           BRZ[1], SOL[7.23204213], USD[0.00]                                                                                                                                                          Yes

08161277                           BTC[.0009222]

08161285                           BRZ[1], BTC[.01775748], DOGE[1], USD[0.00]                                                                                                                                                  Yes

08161294                           NEAR[34.28339764], SHIB[1], USD[0.00]                                                                                                                                                       Yes

08161310                           GRT[10.03841027], USD[0.00]

08161313                           TRX[1], USD[0.01]

08161316                           SOL[35.106617], USD[1216.61]

08161322                           BRZ[1], CUSDT[6], DOGE[640.02055067], KSHIB[2862.11835594], SHIB[37024732.97727824], TRX[576.52673712], USD[65.48]                                                                          Yes

08161326                           BTC[0], USD[0.00]

08161327                           BTC[.00000668], CUSDT[4], DOGE[2], KSHIB[207.75339837], USD[0.00]                                                                                                                           Yes

08161333                           SHIB[13946.3783872], USD[0.00]

08161346                           NFT (444784270859537139/Fancy Frenchies Puppy Club #496)[1], NFT (509108305353433356/Fancy Frenchies #7170)[1]

08161351                           BAT[18.35486271], CUSDT[2275.22221969], DOGE[99.56163098], LINK[2.10031072], USD[50.01]

08161354                           USD[0.88]

08161356                           BRZ[1], BTC[.00036552], CUSDT[5], DOGE[1], ETH[.01041873], ETHW[.01029399], MATIC[27.69286979], MKR[.00673198], SOL[.34455885], USD[0.10]                                                   Yes
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08161368                           USD[6.18]

08161369                           ETH[0], USD[0.01]                                                                                                                                   Yes

08161373                           BTC[.02829641], CUSDT[2], DOGE[1], ETH[.11369933], ETHW[.11258341], USD[0.60], USDT[0.00010043]                                                     Yes

08161376                           BTC[.06289238], ETH[.55793052], ETHW[.55793052], SOL[9.12426566]

08161378                           BTC[0], SOL[.00005], USD[0.00]

08161379                           USD[215.92]                                                                                                                                         Yes

08161384                           ETH[.00016091], ETHW[.00016086], TRX[1], USD[0.00]                                                                                                  Yes

08161388                           USD[28.13]

08161405                           BAT[1], DOGE[4], SHIB[2], TRX[2], USD[0.01]                                                                                                         Yes

08161413                           USD[0.00]

08161436                           USD[0.00]

08161445                           USD[21.59]                                                                                                                                          Yes

08161447                           BAT[1], CUSDT[3], DOGE[3], SOL[.47425689], TRX[1], USD[1630.34]

08161449                           USD[0.01]                                                                                                                                           Yes

08161450                           CUSDT[12], DOGE[3], KSHIB[764.30433783], SHIB[3], SOL[.10956738], TRX[3], USD[1489.44]                                                              Yes

08161462                           BTC[.275824], DOGE[2999.485], ETH[2.74943], ETHW[2.74943], SOL[25.997995], USD[1.03]

08161469                           BTC[0], ETH[0], USD[1.31]                                                                                                                           Yes

08161474                           USD[6.02], USDT[0]

08161475                           SOL[.00000001], USD[0.00], USDT[0.00000079]

08161488                           ETH[.81743122], ETHW[.81743122], USD[8.63]

08161491                           DOGE[0], ETHW[8.98055274], NFT (481189228549551054/Fancy Frenchies #8549)[1], SHIB[.00000005], SOL[.00000001], TRX[0], USD[0.00], USDT[0], YFI[0]   Yes

08161500                           SOL[3.77622], USD[3.01]

08161502                           MATIC[63.5275084], TRX[1], USD[0.00]                                                                                                                Yes

08161504                           CUSDT[2], SHIB[5304840.84742026], USD[1.07]                                                                                                         Yes

08161507                           ALGO[236.12517144], BRZ[1], CUSDT[7], ETHW[.71760591], SHIB[1], TRX[2], USD[0.00]                                                                   Yes

08161519                           SHIB[0.60460367]

08161528                           SOL[.00002375], USD[0.00]                                                                                                                           Yes

08161530                           USD[0.00], USDT[0.00000049]

08161533                           NFT (430673929873682145/Night Light #241 (Redeemed))[1], NFT (494552643807415873/Reflection '18 #78 (Redeemed))[1], USD[195.99]

08161541                           CUSDT[7], DOGE[1], ETH[0], MATIC[0], TRX[3], USD[0.00]                                                                                              Yes

08161556                           BTC[0.07749025], ETH[.22590671], ETHW[.22590671], SHIB[1108012.93295526], USD[2.10], USDT[1.00181903]

08161557                           DOGE[1], ETH[.02600395], ETHW[.025678], USD[0.08]                                                                                                   Yes

08161558                           BTC[.0103], USD[2.56]

08161562                           CUSDT[1], USD[0.00]

08161577                           BRZ[1], CUSDT[3], SHIB[33224044.92735986], SOL[.00004242], USD[74.81]                                                                               Yes

08161581                           CUSDT[1], SHIB[1841505.91824535], SOL[11.43562905], USD[0.01]                                                                                       Yes

08161594                           CUSDT[0], USD[0.04]                                                                                                                                 Yes

08161613                           AVAX[0], CUSDT[1], DOGE[2], SHIB[2], TRX[1], USD[0.00]                                                                                              Yes

08161616                           BTC[.00009886], TRX[1], USD[0.20]

08161622                           SOL[.00000001]

08161627                           USD[0.00]                                                                                                                                           Yes

08161628                           CUSDT[1], DOGE[2], ETHW[.09404116], SHIB[2], TRX[3], USD[0.00]                                                                                      Yes

08161629                           CUSDT[1], USD[0.00]

08161645                           MATIC[69.71584494], USD[0.00]                                                                                                                       Yes

08161652                           LINK[.1], USD[0.70]

08161656                           BRZ[2], USD[368.42]                                                                                                                                 Yes

08161664                           USD[0.00]                                                                                                                                           Yes

08161666                           GRT[1], SOL[2.99359026], USD[0.35]                                                                                                                  Yes

08161674                           BTC[.08234937], ETH[.196], ETHW[.196]

08161689                           USD[3.32]

08161701                           USD[47.55]

08161703                           DOGE[383], USD[0.96]

08161708                           ETH[.30936916], ETHW[7.07231118], SHIB[1], USD[1518.24]                                                                                             Yes

08161711                           BTC[0], USD[0.00]

08161714                           ETH[0], ETHW[0], SOL[5.69656889], USD[0.00]

08161717                           BTC[.00045441], CUSDT[2], ETH[.00989449], ETHW[.00989449], USD[0.00]

08161720                           SOL[.93048357], USD[500.00]

08161724                           USD[7.47]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08161725                           USD[0.00]

08161731                           USD[0.85]

08161746                           CAD[0.00], CUSDT[38], DOGE[2.0002468], ETH[.00019746], ETHW[.00019746], NFT (449994193399738446/Sigma Shark #3978)[1], NFT (514082678737891096/David #195)[1], TRX[3], USD[-0.61],    Yes
                                   YFI[.00000003]
08161766                           BTC[0], USD[2.25], USDT[.8389617]

08161769                           DOGE[1], USD[0.00]

08161772                           CUSDT[1], DOGE[1], GRT[1], SHIB[1], TRX[1], USD[0.00], USDT[1.04337062]                                                                                                               Yes

08161799                           CUSDT[2], SOL[1.04007616], USD[0.00]

08161834                           NFT (344568916154133907/FTX - Off The Grid Miami #2962)[1]

08161846                           NFT (300074685928374512/Cyber Pharmacist 3812)[1], NFT (356590204064159826/Hall of Fantasy League #233)[1], NFT (543962551512329046/Shannon Sharpe's Playbook: Baltimore Ravens vs.   Yes
                                   Denver Broncos - December 31, 2000 #84)[1], USD[6.21]
08161847                           TRX[308.62188569], USD[0.28]                                                                                                                                                          Yes

08161848                           USD[1.04]

08161853                           CUSDT[1], DOGE[2], SOL[21.62863561], TRX[1], USD[0.00]                                                                                                                                Yes

08161855                           BTC[.04926208], SHIB[62359690.69593414], USDT[0.00050748]

08161863                           USD[0.81]

08161871                           USD[0.10], USDT[0]

08161872                           USD[5.00]

08161875                           USD[0.00]

08161877                           SOL[3.853624]

08161882                           BTC[0.00868835], ETH[.042948], SHIB[1], SOL[.00000001], USD[400.27]                                                                                                                   Yes

08161887                           ETHW[1.13709239], USD[0.00]

08161898                           USD[0.00]

08161899                           AVAX[3.54635813], BCH[.21261692], BTC[.01164141], DOGE[297.9086914], ETH[.08952694], ETHW[.08848587], LTC[1.02998542], SHIB[6], SOL[1.04881304], TRX[1], USD[306.82]                  Yes

08161904                           BTC[.03933169], ETH[.123876], ETHW[.123876], SOL[11.68], USD[314.99]

08161906                           BCH[.08789764], BRZ[1], BTC[.00274297], CUSDT[7], DOGE[1], ETH[.0857063], ETHW[.0857063], KSHIB[625.14581526], SOL[1.70479384], TRX[265.85690199], USD[25.02], YFI[.00252597]

08161908                           USD[25.00]

08161916                           BTC[.00009929], CUSDT[1], USD[0.00]

08161926                           CUSDT[1], USD[0.00]                                                                                                                                                                   Yes

08161934                           USD[1.49]

08161936                           SOL[.879164], USD[101.87]

08161939                           NFT (452101111771074486/Gods Fam #4)[1], NFT (530922417965277311/Rebel Crew #9)[1], USD[2.01]

08161943                           SOL[2.00409257], USD[0.00]

08161965                           CUSDT[1], USD[0.00]

08161968                           AAVE[6.74589701], BTC[.01881056], CUSDT[3], DOGE[2], ETH[.41149712], ETHW[.41132416], GRT[1], LINK[53.16353706], LTC[3.3477377], SHIB[4], SOL[2.77464743], TRX[2], USD[9.56],         Yes
                                   USDT[1.05191426]
08161970                           BTC[.00005644], USD[240.49]

08161971                           USDT[.2]

08161978                           USD[50.00]

08161979                           CUSDT[22], DOGE[2], TRX[2], USD[0.00]                                                                                                                                                 Yes

08161982                           USD[1.81]

08161985                           USD[0.01]

08161988                           CUSDT[1], SHIB[1334148.50360572], USD[0.00]                                                                                                                                           Yes

08161995                           CUSDT[4], DOGE[2], USD[0.00], USDT[0.00000451]                                                                                                                                        Yes

08162004                           SHIB[0], SOL[0], USD[0.00]

08162027                           BTC[.00282089], CUSDT[2], ETH[.02542161], ETHW[.02510697], SOL[.17250102], TRX[1], USD[0.00]                                                                                          Yes

08162040                           DOGE[1], KSHIB[2456.10759452], USD[1.00]

08162046                           NFT (290007959366651857/Coachella x FTX Weekend 1 #21608)[1]

08162050                           BTC[.01930284], USD[0.00]

08162055                           SOL[0], TRX[0]

08162070                           USD[5.00]

08162071                           BTC[.00201191], TRX[1], USD[0.00]

08162073                           CUSDT[2], DOGE[377.93326729], SOL[.27654071], TRX[1], USD[0.01], USDT[10.66343536]                                                                                                    Yes

08162087                           USD[39.00]

08162097                           USD[4.56]

08162105                           USD[0.07]

08162108                           AAVE[1.44813], AVAX[6.4327], BTC[.000075], ETH[.00032781], ETHW[.83132781], SOL[21.17356], TRX[.017], USD[3281.28], USDT[0.00000001]

08162120                           USD[0.00]

08162124                           CUSDT[248.2060905], ETH[.0121338], ETHW[.01198332], NFT (528958635356106392/Sigma Shark #4567)[1], NFT (570084824883521941/Skull Ape Art #13)[1], SOL[.35531955], USD[113.25]         Yes

08162126                           BTC[.00342982], CUSDT[6], ETH[.01206499], ETHW[.01206499], GRT[48.28740411], LINK[2.02476769], SOL[.99207418], TRX[2], USD[0.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08162129                              SOL[49.985782], USD[104.46]

08162144                              AAVE[.03920071], BTC[.00018306], CUSDT[723.51241152], ETH[.00334125], ETHW[.00330021], SOL[.16257841], UNI[.65740716], USD[3.21], YFI[.00014978]                                     Yes

08162151                              CUSDT[5], DOGE[91.45496899], SHIB[492612.83743842], SOL[.06926278], USD[32.58]

08162152                              CUSDT[2], KSHIB[2926.90608173], TRX[1133.2138154], USD[0.00]

08162155                              ETH[1.17291356], ETHW[1.17291356], GRT[99.905], KSHIB[10], SOL[2.50096296], SUSHI[13.5], USD[0.34]

08162158                              SOL[.00064], USD[2.03]

08162161                              BRZ[2], BTC[.00998269], CUSDT[12], DOGE[597.79020418], ETH[.03768257], ETHW[.03721711], KSHIB[2684.66617108], NFT (302395495195943337/Fancy Frenchies #8884)[1], NFT                 Yes
                                      (390433555293391770/Fancy Frenchies #6712)[1], NFT (463903144793853855/Fancy Frenchies #2191)[1], NFT (469317544824398055/Fancy Frenchies #2138)[1], NFT (489251457561017113/Fancy
                                      Frenchies #3467)[1], SHIB[1058600.65180763], SOL[1.64056908], SUSHI[19.08286401], TRX[4], USD[0.00]
08162164                              USD[1.76], USDT[7.8860514]

08162166                              ETHW[.155975], USD[2.40]

08162171                              CUSDT[1], MATIC[323.9936333], USD[0.00]                                                                                                                                              Yes

08162183                              USD[0.00]

08162194                              CUSDT[3], TRX[1], USD[0.00]                                                                                                                                                          Yes

08162198                              SOL[.53], USD[0.29]

08162201                              USD[215.92]                                                                                                                                                                          Yes

08162203                              CUSDT[1], DOGE[637.36118559], USD[0.00]                                                                                                                                              Yes

08162204                              SHIB[116815320.14380114], USD[0.00], USDT[0]                                                                                                                                         Yes

08162209                              USD[0.00]

08162210                              ALGO[0], BTC[0.00004490], ETH[0.00000200], ETHW[0], MKR[.00000005], SHIB[15], TRX[1], USD[0.00]                                                                                      Yes

08162217                              KSHIB[0], USD[0.00]                                                                                                                                                                  Yes

08162228                              ETH[.0070894], ETHW[.0070894], SHIB[2207174.08409256], SOL[.15149426]

08162231                              BRZ[1], USD[0.00]

08162232                              BF_POINT[2600]

08162246                              USD[20.00]

08162248                              USD[0.00], USDT[0]

08162249                              CUSDT[8], SHIB[2], TRX[229.42742099], USD[0.46]                                                                                                                                      Yes

08162255                              CUSDT[1], ETHW[.06129567], SHIB[2], TRX[1], USD[161.79]

08162257                              USD[21.59]                                                                                                                                                                           Yes

08162262                              SOL[.00000001], USD[0.00]

08162263                              USD[32.39]                                                                                                                                                                           Yes

08162269                              CUSDT[13], SOL[.12144065], USD[0.00]                                                                                                                                                 Yes

08162272                              NFT (460849072101948887/Night Light #722)[1], USD[0.01]

08162282                              USD[0.14]                                                                                                                                                                            Yes

08162285                              BTC[.00005052], USD[0.00]                                                                                                                                                            Yes

08162289                              USD[0.35]                                                                                                                                                                            Yes

08162290                              USD[1.25]

08162300       Contingent, Disputed   DOGE[1], TRX[.20450528], USD[14.64]

08162305                              ETHW[19.43]

08162322                              SOL[0], USD[1.25]

08162337                              BTC[.50060128]

08162338                              USD[2.10]

08162342                              LTC[.00614346]

08162352                              ETH[.48634035], ETHW[.48634035], USD[0.00]

08162366                              USD[10.00]

08162371                              ETH[.00000603], ETHW[.00000603], SHIB[1], USD[0.05]                                                                                                                                  Yes

08162376                              USD[0.00]                                                                                                                                                                            Yes

08162377                              CUSDT[2], ETH[.00082156], ETHW[.00080816], NFT (324235017436368024/Holy Unicorn Edition #18)[1], NFT (480937857347624369/Grey.Old.Marble)[1], NFT (506388752057665621/Holy Unicorn   Yes
                                      Edition #23)[1], SOL[.00000333], USD[0.43]
08162383       Contingent, Disputed   USD[0.00]

08162392                              SOL[0], USD[0.00]

08162399                              ETHW[.242], SOL[5], USD[3.39]

08162425                              BTC[.00189829], SHIB[99910], SOL[.05], USD[0.88]

08162446                              BTC[.0000762], DOGE[2], USD[335.26]

08162448                              DOGE[1], USD[0.00]                                                                                                                                                                   Yes

08162450                              BTC[7.1593966]                                                                                                                                                                       Yes

08162453                              ETH[.01221065], ETHW[0.01221064]

08162457                              BTC[0], SHIB[699300], SOL[0], USD[0.00]

08162479                              SOL[1.28407949], USD[0.00]

08162490                              ETH[.00000007], ETHW[.00000007], NFT (387330083251721565/Megalodon Rogue Shark Tooth)[1], NFT (520011585391735377/DOTB #314)[1], NFT (556672214697926387/DOTB #304)[1],
                                      SOL[0.11542392], USD[0.00], USDT[0.00000147]
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                                                                                                                                         Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08162493                           USD[100.00]

08162496                           ETH[0.00000321], USD[0.00]

08162499                           BTC[.00000001], CUSDT[3], DOGE[1], LINK[.00002313], MATIC[.00008402], SHIB[4], SOL[.00006466], SUSHI[.00003185], TRX[1], USD[0.00]                                                       Yes

08162500                           ETH[0], NFT (434933089321854000/WATER BOLT ( RGP ) #3)[1], NFT (489981593367340585/WATER BOLT ( RGP ) #2)[1], NFT (576114327127036380/Sigma Shark #3395)[1], SOL[.00000001],
                                   USD[20.68]
08162506                           CUSDT[2], TRX[2], USD[0.00]

08162508                           BTC[.00009236], ETH[.00129709], ETHW[.00128341], PAXG[.00296077], USD[0.00]                                                                                                              Yes

08162518                           CUSDT[4], DOGE[1], USD[0.00]                                                                                                                                                             Yes

08162521                           GRT[1], USD[0.00]                                                                                                                                                                        Yes

08162523                           BRZ[3], CUSDT[10], DOGE[1], NFT (412300701586977964/Mountain slope)[1], NFT (451549886612268745/Cruising )[1], TRX[1], USD[0.00]                                                         Yes

08162532                           TRX[32.32695522], USD[0.00]

08162536                           BTC[.0241136], DOGE[2], ETH[.2485674], ETHW[.2485674], SHIB[4], TRX[3], USD[0.00]

08162538                           CHF[0.00], ETH[0], HKD[0.00], USD[0.00]                                                                                                                                                  Yes

08162540                           ALGO[465.534], BTC[.02517873], TRX[894.656484], USD[0.60], USDT[0.53004165]

08162542                           CUSDT[2], NFT (388436529391550249/Galactic crystals)[1], NFT (400856912555551212/Trippin' Stoned Goat #1668)[1], NFT (459353707732202066/Surprise NFT #2)[1], NFT                         Yes
                                   (474014480470475263/Elysian - #2281)[1], NFT (541150321226486162/Fantasy Deer)[1], NFT (546232107313010476/Shiba Inu Collection #15)[1], NFT (569322932867000081/Dreamy Cat)[1], SHIB[3],
                                   SOL[1.51538618], TRX[4165.22556844], USD[0.04]
08162550                           DOGE[1], ETH[.17652496], ETHW[.17652496], SOL[3.79652706], TRX[3], USD[0.00]

08162556                           ETH[1.11888], ETHW[1.11888], SHIB[.00000579], USD[23.77]

08162564                           BAT[84.08682157], BRZ[3], BTC[0.15400590], CUSDT[5], DOGE[8.00921072], ETH[1.77964873], ETHW[1.77890123], GRT[1], LINK[8.62913541], MKR[.00939197], SHIB[5], SOL[15.11846639],           Yes
                                   TRX[4], USD[0.00]
08162568                           CUSDT[1], DOGE[520.51030688], USD[0.00]                                                                                                                                                  Yes

08162576                           ETH[.024], ETHW[.024], USD[0.13]

08162587                           USD[50.01]

08162588                           USD[0.29]

08162594                           USD[0.00]                                                                                                                                                                                Yes

08162604                           CUSDT[1], SOL[0.00000351]                                                                                                                                                                Yes

08162611                           BTC[.00550089], CUSDT[1], DOGE[1], LTC[.97088898], USD[0.00]

08162617                           BTC[.00366129], CUSDT[3], ETH[.02424843], ETHW[.02424843], SOL[.50422877], USD[0.00]

08162623                           BTC[.00000942], USD[0.32], USDT[0]

08162642                           USD[0.00]

08162652                           BRZ[1], BTC[.00142237], CUSDT[3], DOGE[1], SHIB[502891.62685441], TRX[1], USD[0.00]

08162657                           AVAX[0], BAT[1], BRZ[12.16700992], DOGE[19.12238163], ETH[0], ETHW[0.25298592], NFT (397572253684590247/Fancy Frenchies #624)[1], SHIB[1293430.73411021], SOL[.02], USD[0.00], USDT[0] Yes

08162667                           CUSDT[1], MATIC[31.47594614], USD[0.01]

08162670                           USD[0.01], USDT[0.00000001]

08162682                           USD[50.00]

08162689                           SHIB[1], USD[0.00], USDT[2.24023547]                                                                                                                                                     Yes

08162696                           ETH[0], ETHW[0], SOL[0.00000001], USD[231.77], USDT[0.00000001]                                                                                                                          Yes

08162698                           AAVE[0], ALGO[0], AVAX[0], CUSDT[4], DOGE[0], ETH[0.00000788], ETHW[0.00000788], NEAR[0], SHIB[3], SOL[0], TRX[0], USD[0.00], USDT[1.00070347]                                           Yes

08162706                           USD[0.05]

08162710                           BTC[.00086188], SHIB[1], USD[0.00], USDT[0]                                                                                                                                              Yes

08162714                           TRX[1], USDT[0.00000168]

08162715                           USD[0.01]                                                                                                                                                                                Yes

08162719                           USD[50.01]

08162731                           DOGE[1], MATIC[878.06882272], USD[0.00]

08162732                           BAT[1.00084971], CUSDT[7], DOGE[3], SOL[0], TRX[2], USD[0.00]                                                                                                                            Yes

08162741                           CUSDT[4], DOGE[2], KSHIB[1263.67996748], SOL[.5436829], USD[0.00]                                                                                                                        Yes

08162743                           USD[0.00]                                                                                                                                                                                Yes

08162754                           DOGE[1], NFT (330296112424772646/3D CATPUNK #8940)[1], SHIB[1], SOL[.01032], TRX[16.14476196], USD[0.00]

08162755                           BTC[.00497804], DOGE[1], SHIB[1], SOL[7.60982158], USD[3.09]                                                                                                                             Yes

08162776                           BTC[.0239], ETH[.154845], ETHW[.154845], KSHIB[13436.55], SHIB[14385600], USD[2.33]

08162793                           SHIB[3], USD[0.00]

08162797                           USD[1.00]

08162806                           BTC[.00201032], DOGE[1], USD[0.00]                                                                                                                                                       Yes

08162807                           CUSDT[1], SHIB[457154.97636314], USD[0.00]                                                                                                                                               Yes

08162816                           USD[500.00]

08162823                           BAT[.979], BTC[0.01669448], DOGE[13.519], ETH[.013819], ETHW[.013819], GRT[1064.834], MKR[.000988], SHIB[12009795.83663786], SUSHI[.495], UNI[.06425], USD[346.82]

08162834                           CUSDT[3], TRX[1], USD[0.01]                                                                                                                                                              Yes

08162836                           BAT[7.59611852], BTC[.00222065], CUSDT[9], LTC[.05555483], MATIC[70.9063837], SUSHI[1.59757106], USD[41.36], USDT[.99418192]                                                             Yes

08162840                           CUSDT[1], NFT (347587897444635647/cat #4)[1], SHIB[1], SOL[0], TRX[0]                                                                                                                    Yes

08162849                           DOGE[2033.964], TRX[23482.849886], USD[0.80]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08162851                           USD[538.87]                                                                                                                                                                            Yes

08162854                           USD[0.00], USDT[0.02858811]

08162858                           USD[50.00]

08162863                           BAT[0], ETH[0], KSHIB[0], NFT (487010520262331891/Stick)[1], NFT (564862241409165978/Stick #4)[1], NFT (567404190297451742/Solninjas #9025)[1], SOL[0], USD[0.00]

08162872                           USD[0.08]

08162875                           BTC[.01316501], CUSDT[17], DOGE[1], ETH[.0879962], ETHW[.0869661], LTC[.13226919], SOL[.10189294], TRX[4], USD[0.00]                                                                   Yes

08162878                           BAT[631.368], SOL[4.0959], USD[9.52]

08162881                           BCH[.000542], DOGE[.815], ETHW[2.52274234], LTC[.00891], TRX[.001982], USD[769.59], USDT[0.00000001]

08162900                           AUD[1.40], BAT[1.00265215], BRZ[6.03211572], CAD[1.25], CUSDT[45.2705418], DAI[.99472783], DOGE[6.97920205], ETH[.00345267], ETHW[.00341163], EUR[0.87], GBP[0.73], GRT[1.83331162],   Yes
                                   KSHIB[37.06932854], MATIC[.48062073], SHIB[37304.77886765], SUSHI[.15139473], TRX[16.37911942], UNI[.065327], USD[0.21], USDT[0.99487773]
08162902                           USD[0.01]                                                                                                                                                                              Yes

08162906                           BRZ[1], CUSDT[1], NFT (377303206459638862/DOTB #3585)[1], NFT (380326935094024786/Eitbit Ape #7681)[1], NFT (396983222060401957/SOLYETIS #3968)[1], NFT                                Yes
                                   (401589918926612253/SOLYETIS #4370)[1], NFT (425199793209277442/Sigma Shark #2031)[1], NFT (492232591177762532/Frog #1233)[1], NFT (506034986587478158/Golden bone pass)[1], NFT
                                   (515015521579124292/ApexDucks #1851)[1], SOL[.21212654], USD[5.49]
08162913                           CUSDT[5], MATIC[.00025282], SUSHI[.00008377], USD[0.00]                                                                                                                                Yes

08162914                           BTC[0.03612985], USD[0.00]                                                                                                                                                             Yes

08162916                           ETH[0], ETHW[0], UNI[0.58495582]

08162919                           USD[1500.00]

08162934                           SOL[.00445404], UNI[54.35785], USD[0.01], USDT[2.1189486]

08162943                           USD[0.00]

08162955                           BTC[.00245913], CUSDT[6], DOGE[1], ETH[.03794853], ETHW[.03747853], MATIC[80.07816183], SOL[.68657042], TRX[2], USD[0.01]                                                              Yes

08162957                           SOL[1.03031192], USD[0.00]

08162962                           ETH[0], SOL[0], USD[0.01]

08162986                           DOGE[1], ETH[.12253183], ETHW[.12253183], USD[0.01]

08162988                           BTC[.00000108], NFT (501465812219737090/Romeo #1198)[1], USD[0.01]                                                                                                                     Yes

08162989                           ETH[1.49131408], ETHW[1.49068768], GRT[1077.68507899], LINK[100.48824096], USD[2549.81]                                                                                                Yes

08162994                           BRZ[1], DOGE[9.07793407], ETH[.20371239], ETHW[.20349849], MATIC[122.61068566], SHIB[2], SOL[.00052322], TRX[4], USD[0.00]                                                             Yes

08163012                           BTC[0.00003683], FTX_EQUITY[0], NFT (555729120313606281/Romeo #887)[1], USD[0.10], WEST_REALM_EQUITY_POSTSPLIT[0]

08163029                           ETH[.00257101], ETHW[.00254363], USD[0.00]                                                                                                                                             Yes

08163035                           CUSDT[2], DOGE[1], NFT (292172539563914773/MagicEden Vaults)[1], NFT (442791046420863067/Frog #7482)[1], NFT (448478760982902604/Beer)[1], NFT (448584830257787422/MagicEden           Yes
                                   Vaults)[1], NFT (452909212952692428/MagicEden Vaults)[1], NFT (463548276042871466/Frog #3847)[1], NFT (464594518175672929/Cyber Frogs Ramen)[1], NFT (471587921348935019/Frog
                                   #8651)[1], NFT (513967015627980684/MagicEden Vaults)[1], NFT (557278004793513952/MagicEden Vaults)[1], NFT (570952128988370719/Golden bone pass)[1], SOL[.32278619], USD[0.00]

08163037                           NFT (548433710372794235/Coachella x FTX Weekend 1 #28072)[1]

08163038                           CUSDT[1], SOL[2.55014099], USD[0.00]

08163047                           USD[32.83]

08163052                           BTC[.00218399], SOL[0.49825720]

08163053                           USD[10.00]

08163058                           CUSDT[273.67893418], DOGE[28.48015861], KSHIB[455.34841067], TRX[51.51339662], USD[0.00]

08163059                           SHIB[1], USD[2035.68]

08163065                           DOGE[1], ETH[.01311334], ETHW[.01294918], USD[0.00]                                                                                                                                    Yes

08163070                           USD[0.05]

08163083                           CUSDT[3], ETHW[.04912628], SOL[3.14549885], TRX[1], USD[0.00]

08163094                           BRZ[3], CUSDT[6], DOGE[8], SHIB[1], TRX[6], USD[0.01]                                                                                                                                  Yes

08163108                           USD[93.87]

08163109                           DOGE[1], TRX[1], USD[0.01], USDT[0.00003377]

08163122                           ETH[.13817671], ETHW[.13712823], TRX[1], USD[0.00]                                                                                                                                     Yes

08163129                           DAI[.99268764], USD[99.00]

08163130                           BTC[0], USD[0.96]

08163132                           BTC[.0000066], NFT (295118509834460760/Magic Eden Pass)[1], SHIB[3225.39970651], USD[0.00]                                                                                             Yes

08163141                           USD[1.00]

08163146                           BAT[29.97], DAI[4.995], ETH[.006], ETHW[.006], KSHIB[100], MATIC[9.99], SHIB[99900], SOL[1.55], USD[2.08]

08163150                           DOGE[1], GRT[21.22700426], USD[0.00]

08163159                           BTC[.00270403]

08163160                           USD[0.00], USDT[0]

08163167                           DOGE[2], USD[0.00], USDT[0]                                                                                                                                                            Yes

08163170                           USD[0.00], USDT[0.00026649]

08163172                           USD[1.60]

08163176                           USD[0.00]

08163184                           BCH[.000517], BTC[.0000529], ETH[.046907], ETHW[.046907], USD[3.78]

08163185                           BTC[0], DOGE[1], SHIB[5], TRX[20.60274483], USD[0.00], USDT[0.00020411]                                                                                                                Yes
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                                                                                                                                             Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08163186                              BCH[0], BTC[0], ETH[0], ETHW[0], LTC[0], NFT (293695677134923213/The Power of 2)[1], NFT (426267448669825257/Crypto Avatar Art #40)[1], NFT (472949194559095765/Crypto Avatar Art #37)[1],
                                      NFT (491826315989371064/The Power of 2 #2)[1], SHIB[1], SOL[0], USD[0.43]
08163189                              BCH[0], BTC[0], ETH[0], LTC[0], PAXG[0], USD[0.00], YFI[0]                                                                                                                                 Yes

08163191                              USD[107.96]                                                                                                                                                                               Yes

08163192                              BRZ[6.00301236], DOGE[83.02487734], ETH[.00005971], ETHW[6.10773129], GRT[2], MATIC[.01423118], SHIB[.00000049], TRX[18.11340739], UNI[.00211871], USD[553.61], USDT[0]                   Yes

08163196                              BTC[0], ETH[0], SOL[3], USD[0.00]

08163209                              CUSDT[1], ETH[.00966052], ETHW[.00966052], USD[0.00]

08163210                              USD[0.01]                                                                                                                                                                                 Yes

08163217                              ETHW[1.29694357], SHIB[24528243.02494134], USD[2006.41], USDT[0.00000001]                                                                                                                 Yes

08163227                              ETHW[.07284622], USD[82.23]

08163236                              BTC[.01886347], CUSDT[6], DOGE[2], ETH[.03407684], ETHW[.03365276], LINK[2.55455383], SHIB[5214797.89420884], TRX[6], USD[0.00]                                                           Yes

08163246                              BRZ[1], CUSDT[3], TRX[1], USD[0.01], USDT[0.00000001]                                                                                                                                     Yes

08163248                              USD[49.54], USDT[0]

08163252                              BAT[0], BTC[.00000001], SHIB[5], USD[0.29], USDT[0.00000001]                                                                                                                              Yes

08163255                              DOGE[1], MATIC[.00560398], SHIB[1], USD[0.00], USDT[0]                                                                                                                                    Yes

08163274                              USD[0.00]

08163285                              BTC[.37048193], ETH[1.407591], ETHW[1.407591], KSHIB[510], MATIC[1028.97], SOL[25.42455], USD[545.70]

08163286       Contingent, Disputed   USD[10.00]

08163288                              BTC[0], USD[0.00]                                                                                                                                                                         Yes

08163294                              SOL[.04158971], USD[2.70]                                                                                                                                                                 Yes

08163307                              DOGE[0], SHIB[0], SOL[0], USD[0.00]                                                                                                                                                       Yes

08163310                              BRZ[8.2369331], DOGE[13.03951353], ETHW[0.00000219], GRT[7], SHIB[25], TRX[13], USD[0.00], USDT[3.05657772]                                                                               Yes

08163313                              NFT (382262296236655978/Bahrain Ticket Stub #2109)[1], NFT (515651002535610529/Humpty Dumpty #107)[1]

08163338                              CUSDT[1], DAI[2.13834524], SHIB[79834.9847729], TRX[23.95041118], USD[0.01]                                                                                                               Yes

08163343                              LINK[.99430567], USD[0.00], USDT[0.00000001]                                                                                                                                              Yes

08163362                              BTC[.00129883], LINK[1.9982], SOL[1.439604], USD[0.01], USDT[1.188929]

08163364                              NFT (311758008292365435/Coachella x FTX Weekend 1 #20863)[1]

08163371                              NFT (380597173307380808/lazyPanda #13)[1], SOL[.01910435], USD[3.69]                                                                                                                      Yes

08163377                              BF_POINT[100]                                                                                                                                                                             Yes

08163379                              AVAX[.51744808], DOGE[100.28455465], LINK[3.72190099], MKR[.00622085], SHIB[5587715.50705488], UNI[1.24187553], USD[0.23]                                                                 Yes

08163386                              USD[29.08]

08163394                              CUSDT[1], DOGE[1], TRX[.82540205], USD[0.00]                                                                                                                                              Yes

08163403                              USD[5.00]

08163408                              SOL[.00705673], USD[0.00]

08163409                              NFT (560185243372186335/Entrance Voucher #483)[1], UNI[.0732], USD[2.00]

08163411                              CUSDT[1], SOL[2.05412822], USD[0.01]

08163416                              NFT (563865070254338030/666)[1]

08163437                              CUSDT[5], DOGE[1], ETH[0], USD[0.00]                                                                                                                                                      Yes

08163443                              CUSDT[7], SHIB[1039862.84088853], USD[48.98]                                                                                                                                              Yes

08163451                              BTC[.00207465], CUSDT[1], USD[0.00]

08163460                              SHIB[1], USD[0.00]

08163474                              DOGE[2], USD[0.00], USDT[0]

08163480                              DOGE[1], SOL[.00000153], USD[0.00]                                                                                                                                                        Yes

08163482                              ETH[.00347631], ETHW[.32347631], USD[0.77], USDT[0.00000001]

08163484                              USD[0.00]                                                                                                                                                                                 Yes

08163489                              BF_POINT[300]

08163501                              CUSDT[3], ETH[.00517231], ETHW[.00510391], KSHIB[224.95391256], SOL[.05611946], USD[10.52]                                                                                                Yes

08163516                              USD[300.00]

08163530                              USD[50.01]

08163540                              USD[0.94], USDT[.5593448]

08163553                              SOL[0.91951092], USD[0.00], USDT[0]

08163560                              USD[0.00]

08163563                              CUSDT[1], DOGE[1], SHIB[1], SOL[8.80188287], USD[0.00]                                                                                                                                    Yes

08163564                              USD[0.00]

08163565                              CUSDT[1], NFT (444746992986750787/Sigma Shark #3803)[1], NFT (485514795201608874/Eitbit Ape #1197)[1], NFT (487451854404391467/Sigma Shark #891)[1], SOL[.00916592], USD[0.00]

08163577                              USD[0.00]                                                                                                                                                                                 Yes

08163578                              ETH[.00000001]                                                                                                                                                                            Yes

08163587                              BRZ[1], CUSDT[1], ETH[.23600453], ETHW[.23580229], SHIB[559299.87276148], SOL[3.26450561], TRX[1], USD[0.00]                                                                              Yes

08163588                              MATIC[214.28504763], TRX[1], USD[1.37]                                                                                                                                                    Yes
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08163592                              DOGE[3.06278199], ETH[0], ETHW[0.26268609], SHIB[1], TRX[1], USD[0.00], USDT[0.00390782]                                                                                                 Yes

08163598                              USD[0.00], USDT[0]

08163606                              TRX[.000171], USD[0.36], USDT[0.57420000]

08163613                              BTC[.0570514], ETH[.1268857], ETHW[.1268857], MATIC[139.874], USD[105.54]

08163615                              BCH[0.00239903], BTC[0], SHIB[1], USD[0.00]                                                                                                                                              Yes

08163640                              KSHIB[1919.21487222], SHIB[2], TRX[1164.10161243], USD[0.00]                                                                                                                             Yes

08163648                              BTC[0], USD[0.60]

08163678                              BRZ[5], CUSDT[99], DOGE[8], SHIB[12], USD[0.00]

08163697                              MATIC[20.79965808], SOL[7.56243], USD[0.00]

08163701                              BRZ[1], DAI[0], ETH[0.00000046], ETHW[0.00000046], SHIB[4], USD[0.00]                                                                                                                    Yes

08163726                              BRZ[1], CUSDT[12], DOGE[694.94358996], GRT[125.07660766], KSHIB[379.38142536], LINK[.70450661], MATIC[10.200677], SHIB[3274426.03519095], TRX[1], USD[3.91]

08163732       Contingent, Disputed   TRX[9], USD[0.00], USDT[0.09420910]

08163751                              SOL[.00000001]

08163755                              SHIB[600000], USD[3.91]

08163756                              AUD[0.00], NFT (493405191040974169/Fortune Cookies #608)[1], SHIB[.00000001], USDT[0]                                                                                                    Yes

08163761                              DOGE[2], USD[27.44]

08163772                              CUSDT[9.73450424], DOGE[759.33896335], TRX[754.14077751], USD[2.86]                                                                                                                      Yes

08163781                              BTC[0], ETH[0], ETHW[0], LINK[0], MATIC[0], SOL[0], USD[0.00]                                                                                                                            Yes

08163783                              CUSDT[.00003183], DOGE[76.33429797], EUR[0.01], PAXG[.00000001], SHIB[2], SOL[.00000001], SUSHI[.00003854], TRX[1], USD[0.00]                                                            Yes

08163789                              USD[539.63]                                                                                                                                                                              Yes

08163790                              GRT[2], USD[1.14]

08163792                              CAD[12.59], CUSDT[454.38146414], SOL[.25204855], TRX[1], USD[30.00]

08163799                              CUSDT[3], DOGE[1], ETH[.15800079], ETHW[.10069294], GRT[736.83673608], KSHIB[2609.18050597], SHIB[14888819.76147308], TRX[2806.1584584], USD[0.00]                                       Yes

08163816                              BAT[.00000918], BTC[0], DOGE[2], ETH[0.00040151], ETHW[0.00040151], LINK[.00029706], SHIB[2], SOL[0], TRX[1], USD[0.11], USDT[0]                                                         Yes

08163829                              BAT[0], BTC[0], ETH[0], USD[0.00]                                                                                                                                                        Yes

08163842                              DOGE[33737.10325], SHIB[892287285], USD[0.75]

08163848                              USD[105.00]

08163849                              BTC[.03403368], TRX[1], USD[8.50]                                                                                                                                                        Yes

08163851                              BTC[.00000002]                                                                                                                                                                           Yes

08163854                              SHIB[4], USD[0.00], USDT[0]

08163856                              BTC[.00008383], USD[0.00]

08163858                              BTC[.0022], LINK[1.9981], SHIB[899145], SOL[1.498575], USD[1.24]

08163869                              BTC[.27835528], ETH[1.18246399], ETHW[1.18246399], TRX[5290.704], USD[2.91]

08163872                              BTC[.029545]                                                                                                                                                                             Yes

08163874                              BTC[.00002293], CUSDT[2], DOGE[.19043078], KSHIB[779.10460298], LTC[.00543315], NFT (571027663056271362/Marcus Allen's Playbook: Los Angeles Raiders vs. Washington - January 22, 1984   Yes
                                      #84)[1], SOL[.00520237], TRX[.06260167], USD[-1.93], USDT[.00651725], YFI[.00006698]
08163878                              BTC[.00517918], CUSDT[2], DOGE[1], KSHIB[2162.24257421], USD[0.01]

08163879                              SHIB[1], TRX[2], USD[0.93]                                                                                                                                                               Yes

08163890                              BTC[0], ETH[.00362863], SHIB[1], USD[0.76]                                                                                                                                               Yes

08163895                              BTC[.00110705], DOGE[1], ETH[.01296226], ETHW[.0127981], TRX[625.85790169], USD[0.03]                                                                                                    Yes

08163903                              ETH[.000979], ETHW[.000979], SOL[1.0672936], USD[0.90], USDT[2.98102861]

08163914                              TRX[1], USD[0.00]                                                                                                                                                                        Yes

08163924                              USD[0.29]

08163925                              CUSDT[2], USD[0.00], USDT[0.00020968]

08163931                              USD[1.64]

08163938                              BTC[.00000011], SHIB[3], TRX[3], USD[0.00]                                                                                                                                               Yes

08163942                              ALGO[0], USD[0.00]

08163947                              BTC[.00099658], CUSDT[2], ETH[.01301317], ETHW[.01284901], USD[0.00]                                                                                                                     Yes

08163951                              USD[1.00]

08163958                              BTC[.00000222]                                                                                                                                                                           Yes

08163965                              USD[6.32]

08163979                              AAVE[.00000249], AVAX[.0000057], BAT[.00083375], BRZ[2], CUSDT[15], GRT[.00186177], LINK[.00003139], LTC[0.00013166], SHIB[11], TRX[1], UNI[.00004543], USD[0.00]                        Yes

08163985                              BTC[0], USD[3.93], USDT[0.00051170]

08163989                              NFT (308033527355175911/Fancy Frenchies #1796)[1], NFT (316311237239569187/Fancy Frenchies #153)[1], NFT (342481677697639944/Fancy Frenchies #4494)[1], NFT                              Yes
                                      (346795338701797066/Fancy Frenchies #9055)[1], NFT (436424849282675178/Fancy Frenchies #8926)[1], NFT (463756124874949053/Warriors 75th Anniversary Icon Edition Diamond #358)[1], NFT
                                      (545064573942743289/Fancy Frenchies #8418)[1], NFT (565496165313468323/Fancy Frenchies #3018)[1], TRX[4], USD[0.14]
08163996                              CUSDT[8], DOGE[1], SHIB[4], TRX[4], USD[0.00]                                                                                                                                            Yes

08163997                              MATIC[149.865], SOL[.54], USD[0.03]

08164006                              USD[150.00]

08164008                              BTC[.0003461], CUSDT[1], ETH[.00044053], ETHW[.00044053], SOL[.00504727], USD[0.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08164019                              CUSDT[1], SOL[.07493437], USD[5.39]                                                                                                                                            Yes

08164022                              USDT[0.00000025]

08164026                              BTC[0], USD[66.62]

08164028                              USD[15.00]

08164030                              ETH[0]                                                                                                                                                                         Yes

08164032                              BTC[.00003465], USD[0.00]

08164037                              CUSDT[1], GRT[2.96283367], PAXG[.00054322], SOL[.0000005], TRX[1], USD[0.19]                                                                                                   Yes

08164054                              SOL[.1263235], TRX[1], USD[0.00]

08164055                              ETH[.00211026], ETHW[.0020829], SOL[.05354872], USD[2.15]                                                                                                                      Yes

08164067                              BTC[0.00030882], SOL[.00000001]

08164068                              BTC[0.00003167], KSHIB[0], SHIB[119600], SOL[1.48628], SUSHI[0.39827859], USD[0.69], USDT[0.00001846]

08164069                              CUSDT[1], SHIB[6.18604381], USD[0.08]                                                                                                                                          Yes

08164084                              BAT[.07297913], CUSDT[60.45955932], DOGE[.00002599], KSHIB[.00086633], SHIB[1], USD[0.00]                                                                                      Yes

08164086                              AAVE[.13675906], BAT[12.37026285], BRZ[1], CUSDT[3], ETH[.00809169], ETHW[.00799586], LINK[1.29810309], SOL[.21864627], TRX[174.5691386], USD[0.00]                            Yes

08164093                              SOL[12.57684], USD[552.87], USDT[0]

08164101       Contingent, Disputed   CUSDT[1], USD[14.41]

08164102                              SHIB[3100000], UNI[7.5], USD[1.22]

08164107                              CUSDT[1], USD[0.00]                                                                                                                                                            Yes

08164120                              BTC[.00014698]

08164125                              USD[0.00]

08164130                              BAT[1.01142534], CUSDT[3], DOGE[1], NFT (518049264939715440/Eitbit Ape #5939)[1], USD[0.01]                                                                                    Yes

08164135                              CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                   Yes

08164142                              BTC[.0000704], GRT[1], USD[0.00]

08164144                              DOGE[.928], ETHW[.000816], SHIB[28100]

08164148                              BRZ[1], CUSDT[6], DOGE[3], ETH[.15948471], ETHW[.15894275], TRX[5], USD[0.00]                                                                                                  Yes

08164151                              DOGE[47.75730957], TRX[103.37862006], USD[0.00]

08164158                              BAT[.674], ETH[.00999], ETHW[.00999], USD[0.00], USDT[0]

08164161                              USD[0.00]

08164165                              USD[0.01], USDT[0]

08164172                              BRZ[1], ETH[.13222825], ETHW[.13116273], USD[0.00]                                                                                                                             Yes

08164177                              BTC[.00000008], GRT[1], SHIB[4], USD[0.04], USDT[1.02452777]                                                                                                                   Yes

08164193                              DOGE[12.34002563], SUSHI[0], USD[0.00], USDT[0]

08164212                              DOGE[1], GRT[1], TRX[1], USDT[1.06939399]                                                                                                                                      Yes

08164214                              CUSDT[1], KSHIB[.012], SHIB[6695641.3347389], USD[0.05]                                                                                                                        Yes

08164220                              CUSDT[1], USD[0.15]

08164224                              SOL[2.218], USD[0.74]

08164227                              CUSDT[1], SOL[.20070032], USD[0.00]                                                                                                                                            Yes

08164235                              AAVE[.43439668], AVAX[.43301321], BCH[.37209663], CUSDT[6], DOGE[2], ETH[.3535475], ETHW[.3535475], GRT[1], LINK[27.76785713], MATIC[78.02805444], SHIB[1], SOL[1.06933166],
                                      SUSHI[32.39750341], TRX[1], UNI[26.92841081], USD[0.00], USDT[1.00002492]
08164240                              USD[0.13]

08164241                              AAVE[0.00000410], BRZ[1], BTC[0], CUSDT[9], ETH[.00000005], ETHW[.00000005], TRX[2], USD[0.00], USDT[0.00000070]                                                               Yes

08164242                              BRZ[1], BTC[.03333982], CUSDT[5], DOGE[3], SHIB[5], TRX[10], USD[0.00]                                                                                                         Yes

08164246                              ETH[1], ETHW[1]

08164257                              BRZ[1], BTC[.00271859], CUSDT[495.78163085], DOGE[2], ETH[.04375711], ETHW[.04321098], SHIB[957851.46897626], SOL[5.5848409], USD[0.01]                                        Yes

08164261                              SUSHI[1.49322924], USD[0.00]                                                                                                                                                   Yes

08164268                              SHIB[1], USD[0.87], USDT[0.00118868]                                                                                                                                           Yes

08164271                              BTC[.00000059], ETH[0], ETHW[0.00006427], SOL[10.11747945], USD[0.00], USDT[0.00000001]                                                                                        Yes

08164277                              USD[1.08], USDT[10.71646217]                                                                                                                                                   Yes

08164280                              BTC[.00009497], USD[0.00]                                                                                                                                                      Yes

08164286                              SOL[6.453863], USD[1005.16]

08164295                              BTC[.00018245], USD[0.00]                                                                                                                                                      Yes

08164298                              BTC[0], DOGE[1], ETH[0], GRT[1], KSHIB[0], SHIB[2], SUSHI[0], TRX[0], USD[0.00]                                                                                                Yes

08164322                              BRZ[1], CUSDT[1], DOGE[1650.46857421], ETH[.39647043], ETHW[.39647043], SHIB[1], USD[18.01]

08164327                              BRZ[1], USD[0.00]                                                                                                                                                              Yes

08164337                              BAT[.00000001], CUSDT[2], USD[0.01], USDT[0.00000001]                                                                                                                          Yes

08164340                              USD[0.00], USDT[4.97004988]

08164348                              BTC[0], MATIC[0], SOL[0], USD[0.02], USDT[0.00000001]                                                                                                                          Yes

08164354                              BCH[.00000016], BTC[.0003523], USD[0.04]                                                                                                                                       Yes

08164355                              DOGE[249.75], ETH[.242], ETHW[.242], SOL[22.71], USD[4.48]
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08164361                              CUSDT[2], SOL[.28517542], USD[0.00], USDT[0.00000184]                                                                                                                                 Yes

08164362                              CUSDT[3], NFT (303235256493160543/Travel sprouts collection #49)[1], NFT (312905145153275864/Cr iberd #5)[1], NFT (402098989959939001/Travel sprouts collection #31)[1], NFT          Yes
                                      (413613013008977371/Mob cats collection #110)[1], NFT (533033221091043585/Man made lake rauss)[1], SHIB[1], USD[48.79], ZAR[230.09]
08164370                              SOL[.00000001]                                                                                                                                                                        Yes

08164373                              SOL[.00021023]                                                                                                                                                                        Yes

08164393                              BF_POINT[200], BTC[0], MATIC[0], SHIB[1], SOL[37.41516665], USD[-50.00], USDT[0.04683379]                                                                                             Yes

08164399                              GRT[126.873], USD[0.99]

08164400                              AAVE[0], ALGO[272.27372147], BAT[0], BTC[0.00205318], DOGE[0], ETH[0.16445490], ETHW[0.16404840], KSHIB[0], MATIC[0], SHIB[31292305.87203302], SOL[0], SUSHI[0], TRX[4], USD[0.00],   Yes
                                      USDT[0.00276098]
08164407                              SUSHI[0], USD[0.01], USDT[0.00000003], YFI[0]

08164414                              CUSDT[6], SHIB[1], TRX[2], USD[238.47]

08164422                              BRZ[27.89086127], CUSDT[1], DOGE[177.86189613], SHIB[682269.13597871], USD[0.00]

08164423                              USD[3.00]

08164426                              USD[1.32], USDT[0]

08164427       Contingent, Disputed   ETH[.06492575], ETHW[.06411863], TRX[1], USD[0.00]                                                                                                                                    Yes

08164440                              NFT (350454244851453994/Unverfied Token)[1], SOL[.57], USD[0.41]

08164445                              ETH[.0000007], ETHW[0.00000070], SHIB[1], SOL[0], USD[0.00]                                                                                                                           Yes

08164447                              USD[0.00]                                                                                                                                                                             Yes

08164465                              KSHIB[463.12368987], SHIB[.00000591], USD[0.00]

08164467                              ETH[.00000001], ETHW[0]

08164478                              TRX[.18057911], USD[0.13]

08164480                              USD[0.01]

08164481                              USD[0.00]

08164486                              CUSDT[3], DOGE[1], MATIC[1.00126101], SHIB[1], USD[0.00], USDT[0]                                                                                                                     Yes

08164490                              CUSDT[1], ETH[.0520776], ETHW[.05143329], USD[0.00]                                                                                                                                   Yes

08164508                              CUSDT[1.97836375], SHIB[0], SOL[.02771844], TRX[.3414198], USD[0.80]                                                                                                                  Yes

08164521                              BTC[0], ETH[0], USD[0.00]                                                                                                                                                             Yes

08164523                              USD[0.01]

08164525                              CUSDT[1], TRX[1], USD[0.01]                                                                                                                                                           Yes

08164527                              USD[1.05]

08164534                              USD[10.76]                                                                                                                                                                            Yes

08164546                              USD[1.08]                                                                                                                                                                             Yes

08164551                              BTC[.04475063], USD[6158.85]

08164553                              SOL[.00072848], USD[1.00]

08164559                              ETH[.040959], ETHW[.040959], USD[0.00]

08164564                              BAT[1], BF_POINT[100], BRZ[2], CUSDT[3], DOGE[9.06211651], ETH[0.00000266], ETHW[0.29424632], GRT[2.00105965], MATIC[25.48737615], SHIB[7065950.58344562], SOL[.00006146], TRX[7],    Yes
                                      USD[0.00]
08164576                              BTC[.000026], USD[0.02]

08164583                              BRZ[1], BTC[.00727292], CUSDT[3], DOGE[1], ETH[.02653261], ETHW[.02653261], SOL[.00932576], USD[0.00]

08164585                              USD[20.00]

08164587                              USD[0.00]

08164589                              SOL[.00547983], USD[9.72]                                                                                                                                                             Yes

08164590                              CUSDT[3], DOGE[482.20631879], KSHIB[2182.71174432], NFT (304724970556042322/Cloud Show 2 #1334 (Redeemed))[1], SOL[.4894352], SUSHI[12.6399527], TRX[2085.25257556], USD[12.01]

08164608                              CUSDT[1], GRT[10.70354741], SHIB[380032.56287691], TRX[170.60695959], USD[0.01]                                                                                                       Yes

08164614                              BTC[.01869599], ETH[1.11080451], ETHW[1.11080450], LTC[0.00997923], SOL[3.38], USD[0.44], USDT[124.740352]

08164627                              SOL[.01068976], USD[0.00]

08164631                              USD[0.00]                                                                                                                                                                             Yes

08164634       Contingent, Disputed   CUSDT[4], DOGE[1], SOL[.53091956], USD[0.23]                                                                                                                                          Yes

08164646                              SOL[.10702693], USD[539.69]                                                                                                                                                           Yes

08164647                              USD[53.97]                                                                                                                                                                            Yes

08164655                              AVAX[.00007568], DOGE[3], ETH[.000001], ETHW[.10836069], MATIC[.0019563], SHIB[13], TRX[2], USD[0.00]                                                                                 Yes

08164664                              NFT (436148998011127050/Australia Ticket Stub #1669)[1]

08164692                              BCH[0], BTC[0], CUSDT[5], DOGE[0], SOL[0], SUSHI[5.39526484], USD[0.00]                                                                                                               Yes

08164697                              USD[397.58]

08164698                              SHIB[8], SOL[.12336923], TRX[1], USD[0.00]                                                                                                                                            Yes

08164699                              DOGE[1], SOL[.05703604], USD[8.37]                                                                                                                                                    Yes

08164706                              SOL[.00661], UNI[.0783], USD[0.00]

08164717                              USD[107.94]                                                                                                                                                                           Yes

08164723                              USD[0.00]

08164724                              CUSDT[1], LTC[.54205777], USD[0.00]                                                                                                                                                   Yes
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08164740                           USD[47.79]

08164746                           USD[323.85]                                                                                                                                                                       Yes

08164757                           CUSDT[3], DOGE[1], NFT (454221140292864965/Pill #17)[1], USD[0.00]

08164770                           BRZ[1], USD[0.00]                                                                                                                                                                 Yes

08164801                           BTC[.0000521], ETH[.0005], ETHW[.01], LINK[.0166], MATIC[6.8], SHIB[93900], SOL[7.60761903], TRX[.000189], USD[160.82], USDT[21.11416123]

08164810                           USD[0.01]                                                                                                                                                                         Yes

08164827                           BTC[.02548473], ETH[.10695712], USD[217.57], USDT[.34834154]                                                                                                                      Yes

08164832                           BAT[0], BTC[0.00007299], MATIC[.00998943], SHIB[7], SOL[0.00000155], SUSHI[0.06203133], TRX[1], USD[0.00]                                                                         Yes

08164835                           USD[0.00], USDT[.99447998]                                                                                                                                                        Yes

08164845                           ETH[.00282214], ETHW[.00282214], SHIB[100527.77079668], USD[0.00]

08164859                           MATIC[284.36465687], SHIB[1], USD[0.35]                                                                                                                                           Yes

08164860                           KSHIB[2102.04106084], TRX[1], USD[0.00]                                                                                                                                           Yes

08164868                           DOGE[2], MATIC[128.97728349], SHIB[2273925.00856346], TRX[1], USD[0.00], USDT[0.00001271]                                                                                         Yes

08164871                           TRX[226.20516899], USD[0.00]                                                                                                                                                      Yes

08164872                           BTC[0], DOGE[1], SHIB[4], TRX[2], USD[0.00]                                                                                                                                       Yes

08164874                           TRX[1431.567], USD[399.60], USDT[.46035]

08164884                           SOL[0]

08164888                           BTC[.00001056]

08164902                           USD[0.00], USDT[0]

08164916                           USD[0.01]

08164920                           BF_POINT[100], BRZ[1], CUSDT[5], ETH[.02425221], ETHW[.02425221], NFT (345185616537021656/4804)[1], NFT (531403545204238642/Toasty Turts #1816)[1], SOL[1.02645353], USD[37.50]

08164936                           ETH[.00253914], ETHW[.00251178], USD[0.00]                                                                                                                                        Yes

08164947                           DOGE[.677], ETH[.000628], ETHW[.000628], SHIB[76300], USD[0.00], USDT[0]

08164951                           SOL[.38127494], USD[0.00]

08164957                           USD[10.00]

08164959                           USD[0.00], USDT[0]

08164963                           DOGE[1], USD[0.00]

08164978                           USD[0.00]

08164980                           ETH[.00127586], ETHW[.00126218]                                                                                                                                                   Yes

08164982                           USD[0.00]                                                                                                                                                                         Yes

08165007                           USD[1.09]

08165008                           BTC[.00661212], SHIB[1], USD[224.50]                                                                                                                                              Yes

08165010                           NFT (420598604435425525/Microphone #6985)[1]

08165012                           USD[3.05]

08165020                           NFT (566451504693308743/Aku World Avatar #34)[1]

08165021                           BTC[0], DOGE[1], ETH[0], LTC[0], SHIB[1], USD[0.00], USDT[0.00000652]                                                                                                             Yes

08165039                           NFT (518389710359720754/FANTASY BEACH #417)[1], SOL[.1]

08165052                           TRX[.631597], USD[0.00]

08165059                           BTC[.00249775], ETH[.069937], ETHW[.069937], USD[35.65]

08165064                           BTC[.00005324], ETH[.00121063], ETHW[.00119695], USD[0.00]                                                                                                                        Yes

08165065                           BTC[0], SOL[0], SUSHI[0], USD[0.00]

08165075                           USD[0.00], USDT[0]

08165080                           AVAX[.21753466], BTC[.00052369], CUSDT[1], DOGE[1], ETH[.02640669], ETHW[.02607813], SHIB[2.01274671], USD[0.00]                                                                  Yes

08165086                           CUSDT[2], ETH[0], TRX[0], USD[0.00]                                                                                                                                               Yes

08165104                           BTC[0], ETH[0], USD[0.00]

08165114                           CUSDT[6], DOGE[1], MKR[.00685073], SOL[1.42675936], TRX[42.87160837], USD[157.17]                                                                                                 Yes

08165117                           SHIB[0], USD[0.00]

08165118                           SUSHI[42.49972231], TRX[1], USD[0.14]                                                                                                                                             Yes

08165119                           BTC[.01199183], CUSDT[4], DOGE[5], ETH[0.34472906], ETHW[0.34472906], GRT[1], LINK[5.05855448], LTC[0], MATIC[96.70272711], SOL[5.97328339], USD[0.00], USDT[0]

08165123                           SOL[.00000001]

08165125                           BTC[.00009077], USD[95.00]

08165127                           BTC[.00018269]                                                                                                                                                                    Yes

08165136                           USD[0.00]

08165145                           USD[0.00]

08165155                           ETH[0], NFT (400271898778852726/It's All Downhill)[1], SHIB[1], TRX[0], USD[24.74]

08165165                           BCH[.01752566], USD[0.00]

08165176                           CUSDT[1], DOGE[.00957352], USD[0.01]                                                                                                                                              Yes

08165185                           AVAX[.00000001], TRX[.000001], USD[0.01], USDT[0]
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08165193                              BTC[.00017527], DOGE[1], USD[0.00]                                                                                                                                                     Yes

08165212                              ETH[.02094572], ETHW[.0206858], SHIB[2], SOL[.84149998], USD[0.00]                                                                                                                     Yes

08165221                              USD[0.01]                                                                                                                                                                              Yes

08165233                              BRZ[1], CUSDT[5], DOGE[1], LTC[.00000368], MATIC[1.53220634], SHIB[1983.66954851], USD[0.00]                                                                                           Yes

08165236                              LTC[.00165834]

08165244                              BRZ[2], BTC[.00130441], DOGE[4181.64558027], KSHIB[6260.34522047], SHIB[73180813.5807431], SOL[1.07594396], SUSHI[17.68142353], TRX[6], USD[0.00]                                      Yes

08165252                              TRX[174.36571517], USD[19.82]

08165266                              BTC[0], NFT (308247039848302827/WHz # 010)[1], NFT (314694477631023090/WHz 8bit Blue Cookies)[1], NFT (375864518306521585/WHz #006)[1], NFT (392303056032645279/WHz 8bit White
                                      Widow)[1], NFT (419368461147886773/WHz #009)[1], NFT (445491066358908992/WHz #004)[1], NFT (446498670445114878/WHz #003)[1], NFT (450321535985352716/WHz #002)[1], NFT
                                      (452234599323679128/WHz #001)[1], NFT (459775926117467277/WHz 8bit Green Crack)[1], NFT (463718401857972202/WHz #005)[1], NFT (488544650794103637/WHz #011)[1], NFT
                                      (505064699291466803/WHz #008)[1], NFT (536762783821080620/WHz 8bit Purp)[1], NFT (543032706540259344/WHz #007)[1], NFT (568968729209584399/WHz 8bit Ice Cream)[1], USD[0.01]
08165267                              NFT (397250330453668512/Teen Ape 003)[1], USD[7.02]                                                                                                                                    Yes

08165279                              ETHW[.000492], TRX[1072.267399], USD[2.76], USDT[0]

08165289                              BTC[.00018176], USD[1.08]                                                                                                                                                              Yes

08165292                              BTC[.13196027], ETH[1.16197502], ETHW[1.16148696], SOL[20.46512969], USD[0.04]                                                                                                         Yes

08165294                              USD[0.61]                                                                                                                                                                              Yes

08165320                              SOL[0], USD[0.00]

08165327                              NFT (305451063488721065/Solana Penguin #1121)[1], NFT (350735547852026585/Solana Penguin #1858)[1], NFT (354870945367660267/Solana Penguin #5768)[1], NFT
                                      (387167672800915463/Solana Penguin #2460)[1], NFT (391542075010528269/#4061)[1], NFT (393442165123211109/Solana Penguin #3124)[1], NFT (421447879394857665/Solana Penguin #3575)[1],
                                      NFT (433526221216918662/Solana Penguin #5149)[1], NFT (433841476566561989/Solana Penguin #3631)[1], NFT (442354796799796609/#4537)[1], NFT (448225315095725834/#6273)[1], NFT
                                      (454162325635709910/Solana Penguin #3769)[1], NFT (470003955081338041/#4984)[1], NFT (507821150403725905/The Tower #304-17)[1], NFT (514956383471962678/#5448)[1], NFT
                                      (518037691443836718/Solana Penguin #4068)[1], NFT (529107426285650957/Solana Penguin #5566)[1], NFT (572150821162916285/Solana Penguin #3208)[1], SOL[.00938977]

08165334                              USD[0.00], USDT[0.00000001]

08165345                              CUSDT[3], USD[0.00]                                                                                                                                                                    Yes

08165346                              ETH[.00001204], ETHW[.00001204], SHIB[1], SOL[.81820337], USD[17.50]                                                                                                                   Yes

08165363                              BAT[1007.39705339], BTC[.01006263], ETH[2.01654518], ETHW[.15054252], USD[1823.45]                                                                                                     Yes

08165373                              BTC[.00654238], DOGE[1], NFT (295940562035518363/Blue.Emo.Marble)[1], NFT (309938144410656259/BigDino5)[1], NFT (385759712310913504/Brown.Harry.Potter.Marble)[1], NFT                 Yes
                                      (400821051274103570/Chirstmas Tree animation 3)[1], NFT (431488216660241739/Sigma Shark #3482)[1], SOL[.50146932], TRX[1], USD[22.82]
08165387                              DOGE[48.08903781], USD[0.00]

08165394                              BAT[216.26080823], CUSDT[5], ETH[.12980296], ETHW[.1287335], GRT[1], TRX[4941.96936386], USD[0.77], YFI[.01002466]                                                                     Yes

08165402                              CUSDT[1], GRT[30.5873418], USD[0.00]                                                                                                                                                   Yes

08165413                              BRZ[1], CUSDT[1], SOL[0], USD[0.00]                                                                                                                                                    Yes

08165424                              MATIC[52.40303971], SHIB[1], USD[0.00]                                                                                                                                                 Yes

08165435                              USD[0.64], USDT[0]

08165441                              CUSDT[2], TRX[1], USD[0.00]                                                                                                                                                            Yes

08165463                              USD[107.89]                                                                                                                                                                            Yes

08165470                              CUSDT[5], DOGE[1], USD[0.01]

08165481                              AUD[0.00], BTC[0], CAD[0.00], DOGE[5.77909241], ETH[0], GRT[0], LTC[0], SHIB[16], SOL[0], TRX[3], USD[0.00]                                                                            Yes

08165487                              BTC[.00000047], CUSDT[1], DOGE[2], ETH[.00141776], ETHW[.00140408], TRX[3], USD[0.00]                                                                                                  Yes

08165510                              BAT[.02937154], BTC[.00014076], DOGE[46.57259022], USD[0.00]                                                                                                                           Yes

08165513                              CUSDT[3], ETH[.01558399], ETHW[.01539247], SOL[.17856879], USD[0.00]                                                                                                                   Yes

08165526                              CUSDT[1], USD[0.01]                                                                                                                                                                    Yes

08165535                              TRX[1], USD[0.04]                                                                                                                                                                      Yes

08165543                              BTC[.00094748], DOGE[1], USD[0.00]                                                                                                                                                     Yes

08165554                              USD[0.00]

08165561                              NFT (457825302428306060/Ravager #1235)[1], NFT (480723721699142572/DarkPunk #3581)[1], NFT (560467972259599218/Ravager #1236)[1], SOL[.40919196]

08165562                              USD[206.34]                                                                                                                                                                            Yes

08165571                              USD[53.77]                                                                                                                                                                             Yes

08165580       Contingent, Disputed   USD[0.00]

08165607                              BTC[.0021768], CUSDT[1], USD[0.01]                                                                                                                                                     Yes

08165626                              USD[0.00]                                                                                                                                                                              Yes

08165634                              USD[215.89]                                                                                                                                                                            Yes

08165635                              CUSDT[7], DOGE[2], SHIB[1], SOL[.04881882], USD[0.00]                                                                                                                                  Yes

08165636                              ETH[0.03549290], SHIB[16098257.14215759], USD[0.00], USDT[24.93013553]                                                                                                                 Yes

08165638                              BRZ[1], SOL[0]                                                                                                                                                                         Yes

08165640                              TRX[112.069229], USD[0.00]                                                                                                                                                             Yes

08165653                              BTC[.01856529], SHIB[1], TRX[1], USD[80.00]

08165654                              BAT[1], USD[0.00], USDT[497.14572729]

08165655                              SOL[0], TRX[.309866], USD[0.70], USDT[0.65905867]

08165662       Contingent, Disputed   SOL[0], USDT[0.00000009]

08165666                              ETH[.00000009], ETHW[.00000009], USD[0.00], USDT[0]

08165673                              USD[0.01]                                                                                                                                                                              Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08165678                              GRT[1], USD[0.01], USDT[0]                                                                                                                                                         Yes

08165683                              USD[21.14]                                                                                                                                                                         Yes

08165686                              BTC[.00051317], USD[0.00]

08165687                              BAT[140.21808283], CUSDT[1], MATIC[29.68129386], TRX[552.21684335], USD[0.24], USDT[214.46849086]                                                                                  Yes

08165692                              SOL[0], USD[0.00]

08165703       Contingent, Disputed   USD[0.00]

08165714                              GRT[.00060348], TRX[2], USD[47.36]                                                                                                                                                 Yes

08165720                              AVAX[.00003821], BCH[3.34785762], BRZ[.00009263], BTC[.04903339], CUSDT[8.03902245], DOGE[2547.98539169], ETH[1.00215063], ETHW[.0000022], MATIC[109.06855097], NFT                Yes
                                      (327389594016297800/ALPHA:RONIN #1183)[1], NFT (335010742151892987/ApexDucks #1249)[1], NFT (573467315082026740/Astral Apes #2135)[1], SHIB[3825001.16181803], SOL[.01],
                                      TRX[3.00017416], USD[0.02], USDT[0]
08165753                              USD[269.84]                                                                                                                                                                        Yes

08165756                              BAT[16.72483323], BTC[.00132335], CUSDT[8], DOGE[129.9707333], ETH[.01177538], ETHW[.0116249], GRT[22.32391669], KSHIB[435.95382222], MATIC[11.98561797], SHIB[361409.94237439],   Yes
                                      SOL[.02168802], TRX[129.36773163], USD[5.80], USDT[2.14118672]
08165763                              USDT[2035]

08165766                              KSHIB[0], MATIC[0], SHIB[4.32522863], TRX[0], USD[0.00]                                                                                                                            Yes

08165772                              BTC[0], CUSDT[1]

08165784                              TRX[5398.93702073], USD[342.84]                                                                                                                                                    Yes

08165785                              USDT[1.8128255]

08165786                              LTC[.05425737]

08165795                              CUSDT[1], SHIB[1736513.08173188], TRX[1008.15239343], USD[25.01]

08165796                              SOL[.00000001], USD[0.00]

08165815                              BTC[.0463536], SHIB[72900], SOL[.00699], USD[9.79]

08165821                              CUSDT[488.76744091], DOGE[132.99665942], KSHIB[1057.05814903], SHIB[707252.72797481], USD[0.01]                                                                                    Yes

08165823                              USD[5.00]

08165833                              SHIB[399620], USD[0.00]

08165837                              USD[0.00], USDT[13.17453095]

08165838                              DOGE[0], GBP[0.00], LTC[0], SOL[0], USD[0.01], USDT[0.00000001]                                                                                                                    Yes

08165839                              BTC[0], MATIC[0], SOL[.00000001], USD[2.44]

08165853                              DOGE[2], SHIB[2], TRX[3], USD[0.00], USDT[0]

08165873                              NFT (466063669660532134/MB)[1], NFT (567884925348706792/Poké)[1]

08165886                              BCH[0], BTC[0], CUSDT[4], TRX[1], USD[0.00]

08165892                              SHIB[1], USD[40.33]                                                                                                                                                                Yes

08165900                              ETH[.00001584], ETHW[.00001584], SHIB[1014.55475583]                                                                                                                               Yes

08165902                              CUSDT[1], KSHIB[1250.56212767], USD[0.01]                                                                                                                                          Yes

08165913                              BRZ[59.94177215], CUSDT[488.35901058], KSHIB[263.01136971], SHIB[282142.21033442], TRX[117.29887653], USD[0.01]                                                                    Yes

08165917                              MKR[.00097], SUSHI[.3785], UNI[.0963], USD[340.53]

08165921                              BTC[.00000886], SHIB[184282.83419611], SUSHI[.00005149], UNI[.12196474], USD[0.00], USDT[0]                                                                                        Yes

08165944                              USD[0.00]

08165962                              USD[35.17]

08165967                              SHIB[94.31799677], SOL[.00025896]                                                                                                                                                  Yes

08165973                              USD[0.00]

08165985                              CUSDT[1], SHIB[1300390.11703511], USD[0.01]

08165989                              BAT[1.00154453], BRZ[1], CUSDT[2], DOGE[1], SHIB[405.58369868], TRX[1], USD[0.01]                                                                                                  Yes

08166014                              USD[572.05]                                                                                                                                                                        Yes

08166024                              USD[10.00]

08166031                              BRZ[1], SOL[0]

08166035                              USD[500.00]

08166037                              USD[4.90], USDT[0.00000001]

08166041                              SOL[.00037406], USD[0.00]

08166048                              USD[100.00]

08166058                              SOL[2.71786971], TRX[1], USD[0.01]                                                                                                                                                 Yes

08166065                              CUSDT[3], USD[0.49]

08166069                              BAT[1], BRZ[3], DOGE[4], SHIB[1], TRX[5], USD[0.95]                                                                                                                                Yes

08166073                              USD[32.32]                                                                                                                                                                         Yes

08166092                              SOL[188.56125], USD[0.00]

08166093                              BTC[0], ETH[.00000001], USD[0.06]

08166115                              BTC[0], ETH[0], SOL[0], USD[39.52], USDT[0]

08166118                              USD[20.00]

08166120                              BAT[1.00201118], BRZ[3], CUSDT[12], DOGE[9.04394771], ETH[.00000166], ETHW[.00000166], GRT[2], LINK[.00171905], SHIB[3], TRX[1], USD[0.00]                                         Yes

08166126                              USD[0.01], USDT[30.26031727]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08166131                              CUSDT[1], TRX[1], USD[0.00]

08166133                              USD[0.00]                                                                                                                                                                             Yes

08166134                              USD[4.31]                                                                                                                                                                             Yes

08166137                              DOGE[.39], SHIB[97400], UNI[.0934], USD[145.00]

08166146       Contingent, Disputed   SOL[0], USD[0.00]

08166149                              CUSDT[1], SOL[.00009512], USD[0.00]                                                                                                                                                   Yes

08166164                              ETH[.0021758], ETHW[.00214844], GRT[3.01586136], USD[10.87]                                                                                                                           Yes

08166175                              CUSDT[1], GRT[156.75577184], LTC[1.1322267], SHIB[2646202.36513751], TRX[3], USD[0.03], USDT[53.66210272]                                                                             Yes

08166177                              BTC[.00007997], TRX[1], USD[0.00]                                                                                                                                                     Yes

08166198                              USD[0.00], USDT[0]

08166211                              MATIC[2.93547846], USD[477.77]

08166213                              USD[50.01]

08166216                              ETH[.00127936], ETHW[.00126568], USD[0.00]                                                                                                                                            Yes

08166223                              USD[28576.62], USDT[0]                                                                                                                                                                Yes

08166230                              SHIB[1], USD[0.00], USDT[0]                                                                                                                                                           Yes

08166236                              USD[0.60]                                                                                                                                                                             Yes

08166247                              CAD[0.00], CUSDT[5], DOGE[1], MATIC[545.58654], TRX[3], USD[0.00]                                                                                                                     Yes

08166253                              SHIB[2398800], SOL[4.668], USD[0.66]

08166263                              BTC[.00036612], CUSDT[1], USD[32.39]                                                                                                                                                  Yes

08166281                              BTC[.0608], ETH[.731], ETHW[.731], SOL[16.85], USD[6.83]

08166285                              CUSDT[1], DOGE[477.44212482], USD[0.00]

08166289                              CUSDT[4], DOGE[1.00120408], ETH[.00000005], ETHW[.00000005], USD[0.00]                                                                                                                Yes

08166293                              BTC[.00018117], USD[0.00]                                                                                                                                                             Yes

08166294                              USD[53.97]                                                                                                                                                                            Yes

08166307                              ETH[.80090028], SHIB[1], SOL[.00008392], TRX[1], USD[0.00], USDT[0]                                                                                                                   Yes

08166310                              SOL[.0197625], USD[3.99]

08166312                              BTC[0], SOL[0.00000001], USD[0.00]

08166320                              BTC[0], SOL[.00000001]

08166323                              USD[1.15], USDT[.003194]

08166352                              CUSDT[3], DOGE[1], SHIB[3], SOL[.54089616], TRX[1], USD[0.00]                                                                                                                         Yes

08166359                              USD[20.00]

08166367                              BRZ[1], CUSDT[1], DOGE[1], SOL[0], TRX[1]

08166370                              CUSDT[1], ETHW[.02556247], USD[0.00]                                                                                                                                                  Yes

08166372                              USD[99.18]

08166379                              ETH[.00000001], ETHW[0], USD[0.00]

08166390                              BTC[.01653869], DOGE[1], USD[269.69]                                                                                                                                                  Yes

08166405                              BAT[6.28960405], BRZ[1], CUSDT[11.00001804], GRT[1], SHIB[3], USD[0.85], YFI[.00000001]                                                                                               Yes

08166410                              NFT (327652531658349968/Debut Series #18)[1], NFT (360805712171917570/Debut Series #3)[1], NFT (364814352540380028/Debut Series #5)[1], NFT (365885324556648476/Debut Series #2)[1],
                                      NFT (396195976267352512/Debut Series #11)[1], NFT (397726441768651558/Debut Series #4)[1], NFT (419559635626041248/Debut Series #10)[1], NFT (427017213127188522/Debut Series #7)[1],
                                      NFT (460513261050650990/Debut Series #17)[1], NFT (468620624700956358/Debut Series #6)[1], NFT (485798393713706317/Debut Series #16)[1], NFT (490962771922970200/Debut Series #13)[1],
                                      NFT (509315291757391084/Debut Series #9)[1], NFT (512662204160827322/Debut Series #14)[1], NFT (526775880350124031/Debut Series #8)[1], NFT (528303258714552648/Debut Series #12)[1],
                                      NFT (562348571747400420/Debut Series #15)[1], USD[100.31]
08166415                              BRZ[3], CUSDT[9], DOGE[1], NFT (288914774498834384/Frog #8009)[1], NFT (342123910475824486/MagicEden Vaults)[1], NFT (412996055948303466/MagicEden Vaults)[1], NFT                     Yes
                                      (418560460548124778/MagicEden Vaults)[1], NFT (522874946442795557/MagicEden Vaults)[1], NFT (553660902672067509/MagicEden Vaults)[1], NFT (562213862055301074/Cyber Frogs Ramen)[1],
                                      SHIB[1], USD[0.00], USDT[0]
08166423                              CUSDT[2432.10038747], DOGE[250.81812572], SHIB[1914754.85869918], TRX[1], USD[0.01]                                                                                                    Yes

08166425                              BAT[1], BRZ[1], BTC[5.28918857], DOGE[3], ETH[31.58131881], ETHW[22.88732402], GRT[1], SHIB[4], SOL[1153.85731363], TRX[1], UNI[1.00921207], USD[4609.76], USDT[2.01384479]           Yes

08166432                              BTC[.00000004], ETH[.00000038], ETHW[.00000038], SOL[.0000086], USD[0.00]

08166435                              USD[0.00], USDT[0.00000945]

08166442                              ETH[0], SOL[0], USD[0.00]

08166448                              NFT (325062431684831146/Off white General Jigg #2)[1], NFT (446651563997583914/Off white General Jigg)[1], USD[8.00]

08166456                              USD[1242.93]

08166463                              USD[0.47]

08166464                              ETH[.237], ETHW[.237], USD[0.67]

08166503                              BTC[0.00006127], USD[1.98], USDT[0.00000323]

08166505                              CUSDT[2], LINK[.0000886], USD[0.01]                                                                                                                                                   Yes

08166514       Contingent, Disputed   AAVE[2.8], AVAX[10], BTC[.1382], ETH[2.002], LINK[65.9772], SOL[16], USD[1517.02], USDT[3.74878715], YFI[.02497625]

08166522                              BTC[.00001672], ETH[.00004693], USD[0.68], USDT[1.34249094]

08166531                              BTC[0], ETH[0], USD[0.29], USDT[0.00000001]

08166550                              BTC[0], USD[1.73]

08166556                              BTC[.04281542], DOGE[1], GRT[2], SHIB[2], USD[0.00], USDT[0.00000001]                                                                                                                 Yes
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                                                                                                                                          Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08166565                           BAT[15.84853436], DOGE[0], MATIC[.00014776], SHIB[1059.03930678], USD[0.00]                                                                                                         Yes

08166588                           BTC[0], PAXG[0], SHIB[8844.85215272], SOL[0], USD[0.00], USDT[0]                                                                                                                    Yes

08166590                           BTC[.00629465], CUSDT[12], DOGE[4], ETH[.1087468], ETHW[.107651], SOL[1.72748401], TRX[1], USD[0.00]                                                                                Yes

08166594                           USD[150.62]                                                                                                                                                                         Yes

08166598                           CUSDT[1], TRX[145.37061563], USD[1.00]

08166604                           CUSDT[2], DOGE[1], SHIB[1], USD[0.01]                                                                                                                                               Yes

08166607                           NFT (330982574603621078/Fortune Cookies #343)[1], NFT (463024892587708418/Fortune Cookies #922)[1], NFT (488188906597612347/Fortune Cookies #782)[1], SOL[.005], USD[0.85]          Yes

08166608                           BRZ[15.29765226], DOGE[30.72670299], ETHW[1.01790565], GRT[14.72628025], MATIC[.00094457], NEAR[1.02085144], PAXG[.00218567], SHIB[167858.55566501], SOL[1.04076551],               Yes
                                   SUSHI[2.02120905], TRX[148.94751985], UNI[1.02520911], USD[0.01], USDT[1.02151159]
08166609                           USDT[.4325201]

08166614                           ETH[0], SOL[.01866], USD[0.39]

08166618                           ETH[.00048056], ETHW[.00048056], USD[0.00]                                                                                                                                          Yes

08166626                           BRZ[7.36049014], BTC[0], CUSDT[54.21634504], DAI[.0022716], ETHW[1.11425749], SHIB[.00000031], TRX[15.00022398], USD[0.00]                                                          Yes

08166635                           BAT[1], ETH[1.41995334], ETHW[1.38734987], SHIB[1], TRX[1], USD[0.00]                                                                                                               Yes

08166648                           USD[0.00]

08166662                           SOL[.08991835]

08166680                           NFT (354510693627361147/Romeo #1175)[1]

08166681                           USD[1072.34]                                                                                                                                                                        Yes

08166688                           CUSDT[4], ETHW[.39021435], SHIB[1], TRX[3], USD[0.00]                                                                                                                               Yes

08166696                           SOL[1.24857995], USD[0.00]

08166697                           SOL[21.48262939]                                                                                                                                                                    Yes

08166713                           USD[107.94]                                                                                                                                                                         Yes

08166714                           USD[1.59], USDT[0]

08166727                           CUSDT[8], DOGE[1], ETH[.0273004], ETHW[.0269584], MATIC[.00009666], SOL[.5391933], TRX[1], USD[0.00]                                                                                Yes

08166736                           USD[4.39]

08166740                           DOGE[1], SHIB[2255800.2635785], TRX[1689.38538809], USD[0.00]                                                                                                                       Yes

08166749                           USD[75.01]

08166761                           BTC[0], DAI[0], SOL[0], USD[0.07]

08166763                           USD[0.02]                                                                                                                                                                           Yes

08166769                           NFT (487638747900847594/Entrance Voucher #3240)[1]

08166774                           CUSDT[5], ETH[.18037353], ETHW[.18012768], SHIB[7956089.09648962], SOL[.55862233], TRX[1], USD[0.00]                                                                                Yes

08166784                           DOGE[23.876966], SHIB[1], USD[0.01]

08166786                           NFT (368438086492721962/DOTB #5854)[1], NFT (397256578099201149/DOTB #3474)[1], NFT (398844816474376881/Sigma Shark #1652)[1], NFT (424567025447829936/APEFUEL by Almond
                                   Breeze #392)[1], NFT (516410864863229347/DOTB #8284)[1], SOL[.00000001], USD[0.00]
08166787                           CUSDT[2], MATIC[6.01581543], SUSHI[2.01132542], TRX[156.54905762], USD[15.26]

08166791                           BTC[.00045391], CUSDT[1], USD[0.00]                                                                                                                                                 Yes

08166800                           KSHIB[376.9092574], SHIB[1403748.38321876], USD[0.00], USDT[0]                                                                                                                      Yes

08166803                           CUSDT[5], DOGE[67.03219786], ETH[.03282476], ETHW[.03241436], SHIB[3004340.12207675], USD[1.14]                                                                                     Yes

08166806                           BAT[6.06837477], BRZ[1], CUSDT[1], DAI[5.35970459], DOGE[1], LINK[1.08913772], SOL[1.0941579], SUSHI[1.46726007], UNI[1.35822325], USD[3.25]                                        Yes

08166808                           BTC[.00039927], CUSDT[3], DAI[10.68425444], ETH[.00784087], ETHW[.00774511], MATIC[4.94159752], SHIB[571472.41302159], SOL[.07195957], SUSHI[3.03428389], TRX[3], UNI[.68589575],   Yes
                                   USD[0.03]
08166817                           CUSDT[1], USD[0.00]                                                                                                                                                                 Yes

08166818                           GRT[53.36729514], USD[0.02]                                                                                                                                                         Yes

08166823                           USD[107.93]                                                                                                                                                                         Yes

08166827                           USD[1.03]                                                                                                                                                                           Yes

08166836                           BCH[0], BTC[0], DOGE[0], ETH[0], ETHW[0], LINK[0], USD[0.05], USDT[0]

08166840                           BRZ[2], CUSDT[3], DOGE[1], TRX[1], USD[0.01]

08166842                           BTC[.00090784], CUSDT[2], ETH[.00600234], ETHW[.00600234], USD[0.00]

08166845                           BAT[3.00291895], BTC[.0008646], CUSDT[2], DOGE[25.96470247], ETH[.00359252], ETHW[.00355148], GRT[5.15472473], KSHIB[25.2819762], MATIC[4.25160971], SUSHI[1.21169602], USD[0.00]   Yes

08166848                           BTC[.0034546], CUSDT[3], DOGE[1], ETH[.01202155], ETHW[.01202155], LINK[8.22329935], TRX[1], USD[0.00]

08166852                           USD[20.13]                                                                                                                                                                          Yes

08166856                           USD[0.00], USDT[0]                                                                                                                                                                  Yes

08166871                           CUSDT[5], DOGE[565.56735662], ETH[.00994395], ETHW[.00982083], SOL[.70289455], USD[0.00]                                                                                            Yes

08166873                           CUSDT[1], ETH[.00570986], ETHW[.00564146], USD[0.00]                                                                                                                                Yes

08166879                           BTC[.00229094], SHIB[2400000], USD[0.00]

08166892                           BTC[.00000001], CUSDT[5], DOGE[1], TRX[3], USD[0.01]                                                                                                                                Yes

08166917                           USD[10.79]                                                                                                                                                                          Yes

08166919                           CUSDT[1], KSHIB[533.74618787], USD[0.00]                                                                                                                                            Yes

08166926                           CUSDT[1], DOGE[443.10479256], TRX[1], USD[0.00]

08166929                           SHIB[2], USD[0.00], USDT[1.01131456]                                                                                                                                                Yes
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08166931                              DOGE[2552.27935966], ETH[.17471927], ETHW[.17445969], USD[5.02]                                                                                                                          Yes

08166932                              BTC[.00010893], USD[0.00]

08166935                              BRZ[2774.87498735], BTC[.12107055], CUSDT[6729.59456752], DOGE[17314.62622624], ETH[.7570176], ETHW[.69857754], KSHIB[75163.01290995], LINK[97.17237311], LTC[15.17036863],              Yes
                                      SHIB[11593194.18220887], SOL[11.26080922], TRX[1970.91602149], USD[0.00]
08166939                              CUSDT[1], DOGE[1], USD[80.92]

08166942                              BRZ[1], BTC[.01332535], CUSDT[3], DOGE[351.5469139], TRX[5], USD[0.01]                                                                                                                   Yes

08166960                              BTC[.00198099], DOGE[1], USD[214.18]                                                                                                                                                     Yes

08166965                              BRZ[1], CUSDT[4], USD[0.01]                                                                                                                                                              Yes

08166966                              AVAX[.01199769], DOGE[5], USD[0.50]                                                                                                                                                      Yes

08166967                              USD[0.20]                                                                                                                                                                                Yes

08166968                              DOGE[1], SHIB[1], USD[0.00]                                                                                                                                                              Yes

08166979                              BTC[.00220136], CUSDT[2], DOGE[1], ETH[.15573616], ETHW[.15504462], SHIB[2], SOL[2.38410336], TRX[1], USD[0.50]                                                                          Yes

08166988                              DOGE[.31069973], ETH[.17205998], ETHW[.17177895], SHIB[173831.75607345], TRX[2], USD[0.00]                                                                                               Yes

08166989                              AAVE[1.0000085], CUSDT[2], DOGE[1], SHIB[3760981.77266978], USD[0.00]

08166995                              BRZ[0.00008119], BTC[0.00000001], CUSDT[1], DOGE[0.00046335], ETH[0.00000001], ETHW[0.00000001], GRT[0], MATIC[0.00009156], PAXG[.00000001], SHIB[0.00000001], SOL[0.04846749],          Yes
                                      SUSHI[0.00000001], TRX[0.00006552], USD[0.01]
08166996                              SOL[.01549316]                                                                                                                                                                           Yes

08167000                              USD[10.00]

08167003                              BTC[.00050369], CUSDT[5], DOGE[102.8631289], USD[28.37]                                                                                                                                  Yes

08167009                              SHIB[1], TRX[1], USD[0.00]

08167018                              BCH[.01693183], CUSDT[2], USD[10.00]

08167023                              CUSDT[3], DOGE[1], ETH[.03784265], ETHW[.03737567], USD[0.22]                                                                                                                            Yes

08167030                              CUSDT[3], DOGE[530.72828989], ETH[.05227469], ETHW[.05227469], MATIC[38.05807297], SOL[.55381094], USD[0.00]

08167032                              SHIB[492125.98425196], TRX[123.85810711], USD[20.01], USDT[9.95003995]

08167033                              DOGE[1], SHIB[1], USD[0.01]

08167035                              BTC[.00026054], USD[0.00]

08167038                              CUSDT[2], KSHIB[1243.21762624], SHIB[2160493.82716049], USD[1.02]

08167039                              CUSDT[1], ETH[.02295584], ETHW[.02266856], USD[0.00]                                                                                                                                     Yes

08167041                              BRZ[112.4585267], CUSDT[5], DOGE[108.9816817], KSHIB[695.87231527], SHIB[3140367.91635283], TRX[232.7915832], USD[0.00]

08167044                              BTC[0.00001830], ETH[0.05178529], ETHW[0.05178529], MATIC[10], SHIB[599400], SOL[.51948], SUSHI[4.4955], USD[3.01]

08167047                              BTC[.00189288], CUSDT[4], DOGE[2], ETH[.0245025], ETHW[.02420154], SHIB[988095.42841762], TRX[1], USD[32.35]                                                                             Yes

08167053                              DOGE[2606.33505959], SHIB[3938504.84269024], USD[0.00]                                                                                                                                   Yes

08167055                              CUSDT[1], SHIB[2478929.10262766], USD[0.00]

08167059                              AUD[0.00], CUSDT[10], LINK[0], USD[0.01], USDT[0.00004643]

08167062                              USD[10.37]                                                                                                                                                                               Yes

08167073                              DOGE[1], GRT[115.14914899], USD[0.00]                                                                                                                                                    Yes

08167074                              BTC[.00000002], CUSDT[4], ETH[.00000035], ETHW[.00000035], KSHIB[549.63776192], TRX[1], USD[0.93]                                                                                        Yes

08167077                              BRZ[0], DOGE[1], ETH[0], LINK[1.92501483], NFT (294495432266480282/Earl Campbell's Playbook: Texas vs. Houston - November 5th, 1977 #121)[1], SHIB[386613.67843915], TRX[1], USD[0.74]   Yes

08167078                              BTC[.00009032], ETH[.00049002], ETHW[.00049002], USD[0.00]                                                                                                                               Yes

08167093                              BAT[2], BRZ[2], DOGE[4], ETHW[19.76994576], SOL[.00000001], TRX[2], UNI[1.0162091], USD[0.00], USDT[1.01664472]                                                                          Yes

08167098                              BTC[0], ETH[0], ETHW[0], LINK[0], SOL[0.00000100], USD[0.00], USDT[0]                                                                                                                    Yes

08167100                              USD[0.02]                                                                                                                                                                                Yes

08167101                              USD[0.12]                                                                                                                                                                                Yes

08167106                              BRZ[1], CUSDT[2], DOGE[420.68401156], SHIB[1], USD[0.00]

08167119                              BTC[.00026712], DOGE[53.68021269], MATIC[4.19692033], USD[0.00]                                                                                                                          Yes

08167127                              BCH[.00362763], BTC[.00005446], ETH[.00079454], ETHW[.00078141], LTC[.01041584], USD[0.00]                                                                                               Yes

08167130                              DOGE[11.37795314], ETHW[.00446283], KSHIB[60.48988336], SHIB[60168.47172081], SOL[.02735914], USD[2.04]                                                                                  Yes

08167135                              SHIB[1], USD[0.00]

08167148                              DOGE[5.75067873], ETH[.02589684], ETHW[.02557536], MATIC[4.44277601], SHIB[27711.56989669], TRX[1], USD[0.00]                                                                            Yes

08167151                              CAD[0.24], DOGE[60.939], ETH[.095904], ETHW[.095904], MATIC[119.88], SOL[2.02846], TRX[1520], USD[0.14]

08167159                              CUSDT[1], ETH[.00492944], ETHW[.00492944], USD[0.00]

08167166       Contingent, Disputed   USD[0.00]

08167177                              CUSDT[2], DOGE[2], SHIB[2], TRX[1], USD[0.00]                                                                                                                                            Yes

08167186                              CUSDT[1], SHIB[611246.94376528], USD[0.00]

08167209                              CUSDT[3], ETH[.00898732], ETHW[.0088778], MATIC[1.00864906], SHIB[561220.91421082], SOL[.12508444], USD[0.01], USDT[0.06392694]                                                          Yes

08167220                              USD[0.00]                                                                                                                                                                                Yes

08167221                              BRZ[1], DOGE[1], MATIC[.00428417], SHIB[4], USD[0.00]                                                                                                                                    Yes

08167224                              BTC[.00026657], DOGE[48.98219856], USD[0.00]

08167228                              USD[539.69]                                                                                                                                                                              Yes
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08167230                           USD[0.01]                                                                                                                                                                           Yes

08167231                           SHIB[99900]

08167232                           USD[26.98]                                                                                                                                                                          Yes

08167239                           CUSDT[1], SHIB[2617801.04712041], USD[0.00]

08167241                           BTC[.00045391], CUSDT[1], USD[0.00]                                                                                                                                                 Yes

08167244                           AAVE[.23], BAT[16], ETH[.004], ETHW[.004], GRT[34], LINK[1], MATIC[10], SHIB[2300000], SOL[.5], SUSHI[5.5], TRX[104], USD[8.10], USDT[19.99]

08167246                           ETH[0], ETHW[0], GRT[0], SHIB[.00000003]                                                                                                                                            Yes

08167253                           BRZ[1], CUSDT[7], DOGE[3], GRT[2], NFT (305492162962050851/Solana Squirrel #294)[1], NFT (305826262063189938/DOGO-BD-500 #4060)[1], NFT (306945768394456331/Gloom Punk #5292)[1],   Yes
                                   NFT (307626878924776575/The 2974 Collection #1810)[1], NFT (320892803889613193/2974 Floyd Norman - OKC 3-0042)[1], NFT (324808088275475837/Kiddo #5327)[1], NFT
                                   (382031194779848037/Sollama)[1], NFT (391859231590025815/Lunarian #6601)[1], NFT (397902406215845452/Aubrey, the Cruel)[1], NFT (404368272318831481/Solana Islands #116)[1], NFT
                                   (420259622256156189/ApexDucks #743)[1], NFT (441960539425225307/Gangster Gorillas #6135)[1], NFT (477350696414071659/Solana Penguin #2073)[1], NFT (489237459782331048/Mech
                                   #6582)[1], NFT (516068517871009393/Red Panda #3344)[1], NFT (536814293258195524/Birthday Cake #1810)[1], NFT (540444098817781400/Solana Islands #839)[1], NFT
                                   (546293746033332267/Solana Islands #381)[1], NFT (566733837444321642/Gangster Gorillas #5896)[1], SOL[2.06899054], SUSHI[.08288146], TRX[1], USD[0.68], USDT[1.04569817]

08167254                           BRZ[301.03930822], CUSDT[10], GRT[262.87611518], TRX[1699.22438624], USD[-59.95]                                                                                                    Yes

08167259                           USD[8000.00]

08167262                           CUSDT[2], USD[0.78]                                                                                                                                                                 Yes

08167266                           BCH[.10904453], CUSDT[6], DOGE[291.25144656], ETH[0], LINK[2.56923165], MATIC[24.62439014], NFT (430822042266164971/Virt Kribliblib)[1], SOL[.03944533], TRX[1], USD[0.00]

08167276                           CUSDT[1], TRX[1], USD[0.00]

08167285                           USD[100.00]

08167286                           CUSDT[1], ETH[.33512982], ETHW[.33512982], SHIB[1], USD[250.00]

08167288                           DOGE[1], SHIB[2731524.83035434], USD[0.04]                                                                                                                                          Yes

08167290                           SHIB[263296.47182727], USD[0.00]

08167292                           BAT[15.62169368], BTC[.00082929], CUSDT[7], DOGE[1], ETH[.00624959], ETHW[.00616751], MATIC[22.8858702], USD[0.00]                                                                  Yes

08167293                           BTC[.0003445], CUSDT[7], DOGE[1], KSHIB[1667.18209816], LTC[.0632601], MKR[.01583423], NFT (408864079294065361/Grey.Monster.Marble)[1], NFT (571397560459883449/ApexDucks
                                   #2314)[1], PAXG[.00531945], SHIB[1204506.69302033], SOL[.06164388], SUSHI[3.90659562], TRX[1], USD[1.00], USDT[9.9470557]
08167307                           DOGE[1], GRT[508.59598575], USD[0.00]                                                                                                                                               Yes

08167328                           DOGE[.00001925], SHIB[940096.82634978], USD[0.03]                                                                                                                                   Yes

08167331                           BTC[.00211787], CUSDT[2], DOGE[235.08037714], ETH[.02313515], ETHW[.02284787], SHIB[1306608.93978908], USD[0.00]                                                                    Yes

08167332                           BRZ[1], BTC[.00143459], CUSDT[14], DOGE[50.64870528], ETH[.06438357], ETHW[.06358461], SHIB[1976958.79773787], TRX[1], USD[0.01]                                                    Yes

08167334                           BTC[.00163064], CUSDT[6], ETH[.02186922], ETHW[.02159562], KSHIB[353.59667284], SHIB[3], USD[1.28]                                                                                  Yes

08167339                           USD[5.00]

08167340                           CUSDT[1], SHIB[6217358.86595374], USD[0.00]

08167348                           CUSDT[1], ETH[.00604051], ETHW[.00596911], USD[0.00]                                                                                                                                Yes

08167356                           BTC[.00010433], CUSDT[1], ETH[.00127839], ETHW[.0012647], USD[0.00]                                                                                                                 Yes

08167361                           DOGE[3], SHIB[2], TRX[3], USD[0.00], USDT[0]

08167366                           BTC[.03370479], DOGE[1], USD[0.00]

08167377                           BTC[.00622788], SHIB[2], TRX[1], USD[0.00]

08167393                           BRZ[1], TRX[9011.32618598], USD[0.00]                                                                                                                                               Yes

08167401                           DOGE[1], ETH[0], USD[0.00]                                                                                                                                                          Yes

08167403                           SOL[1], TRX[553], USD[16.03]

08167414                           BRZ[1], BTC[.00067066], CUSDT[8], KSHIB[1461.14724777], PAXG[.00000014], TRX[312.16155362], USD[0.00]                                                                               Yes

08167416                           BRZ[1], BTC[.00000908], CUSDT[3], DOGE[2], TRX[4], USD[0.00], USDT[1.07555827]                                                                                                      Yes

08167417                           LINK[.40987743], USD[0.00]                                                                                                                                                          Yes

08167418                           BRZ[2], CUSDT[3], DOGE[2], ETH[.05159405], ETHW[.05159405], SHIB[2], TRX[5], USD[0.00]

08167431                           BF_POINT[100], CUSDT[2], DOGE[6145.56777619], SOL[2.67450274], TRX[175.50761771], USD[0.16]                                                                                         Yes

08167448                           BTC[.00091622], CUSDT[3], ETH[.01164931], ETHW[.01149883], LTC[.27793924], SOL[.26794825], TRX[546.39093051], USD[0.42]                                                             Yes

08167456                           BTC[.00090386], CUSDT[2], ETH[.00244616], ETHW[.00244616], GRT[49.60022368], USD[0.01]

08167457                           NFT (291555500485146981/Thinker_Head_Over_The_City #8)[1], NFT (320502023513251607/Thinker_Head_Over_The_City #9)[1], NFT (369753596823224138/ZooWho #8)[1], NFT
                                   (389514127765011043/Chika #4)[1], NFT (399734455805429322/67yco67 #2)[1], NFT (401921499589697460/Thinker_Head_Over_The_City #7)[1], NFT (429835265897822003/ZooWho #7)[1], NFT
                                   (435642144441314933/ZooWho #6)[1], NFT (518909454983495180/ZooWho #4)[1], NFT (533379835867616834/Chika #6)[1], NFT (546816565357690462/Thinker_Head_Over_The_City #3)[1], NFT
                                   (554678241205845173/ZooWho #5)[1], SOL[.78179]
08167460                           SOL[.29]

08167462                           BTC[.00000286], DOGE[.91182439], ETH[.00007511], ETHW[.00007511], LTC[.00965], SHIB[698477.162647], USD[0.00]

08167463                           USD[0.00]

08167467                           USD[1.08]                                                                                                                                                                           Yes

08167479                           BTC[.00975062], DOGE[1], USD[0.01]                                                                                                                                                  Yes

08167483                           NFT (435020629404413353/Gemstone #259 | Shard #12)[1], USD[1.33], USDT[0.00000042]

08167494                           NFT (335948614673829679/Wave #684)[1], NFT (374976503515754913/Wave #51)[1], NFT (375375948882773911/Wave #618)[1], NFT (422125308220029096/Wave #717)[1], NFT
                                   (485204108918532053/Wave #188)[1], NFT (529596160819563707/Wave #937)[1], NFT (542339800814134808/Wave #92)[1], NFT (544400246943669236/Wave #450)[1], SOL[.00000001], USD[3.46],
                                   USDT[0]
08167506                           ETH[.00576994], ETHW[0.00570154]                                                                                                                                                  Yes

08167512                           NFT (323745609535724154/Shannon Sharpe's Playbook: Baltimore Ravens vs. Denver Broncos - December 31, 2000 #87)[1], NFT (445526806957054166/Shannon Sharpe's Playbook: Baltimore
                                   Ravens vs. Oakland Raiders - January 14, 2001 #100)[1], USD[10.01]
08167520                           USD[2000.00]
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                                                                                                                                              Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08167526                              BRZ[3], BTC[.00000065], CUSDT[2], DOGE[.00000911], GRT[1], SHIB[232121.76151004], TRX[6], USD[0.06], USDT[0.00001325]                                                                 Yes

08167528                              CUSDT[1220.72354377], KSHIB[629.94983079], USD[0.00]                                                                                                                                  Yes

08167533                              USD[9.80], USDT[0]

08167536                              BTC[.00036154], CUSDT[2], DOGE[47.86373386], ETH[.00915536], ETHW[.00915536], USD[0.01]

08167543                              USD[0.05]

08167546                              TRX[1796.131595]

08167547                              BTC[0], ETH[0], ETHW[0], SHIB[0], USD[0.35], USDT[0]

08167554                              CUSDT[2], DOGE[1], SHIB[2], TRX[1], USD[0.00]

08167555                              BAT[0], SHIB[0], USD[0.00]                                                                                                                                                            Yes

08167564                              ETHW[1.91677432], SOL[.00000002]                                                                                                                                                      Yes

08167569                              CUSDT[1], SOL[0.49820041], TRX[1.00033214], USD[0.00]

08167596                              NFT (457798143350147320/Coachella x FTX Weekend 1 #27140)[1]

08167597                              CUSDT[7], MATIC[0], TRX[1], USD[0.00]                                                                                                                                                 Yes

08167611                              DOGE[1], ETH[.08783441], ETHW[.08680554], USD[0.00]                                                                                                                                   Yes

08167628                              CUSDT[1], KSHIB[14128.69603156], USD[0.01]

08167631                              USD[5.00]

08167638                              NFT (478468065005469433/Coachella x FTX Weekend 2 #19552)[1]

08167640                              BTC[.00008937], USD[0.00]                                                                                                                                                             Yes

08167652                              MATIC[9.89], SOL[.00243], USD[0.00], USDT[0]

08167654                              CUSDT[1], KSHIB[371.39146765], USD[0.00]

08167659                              BTC[.00000039], USD[3.62]                                                                                                                                                             Yes

08167662                              USD[10.00]

08167664                              BTC[0], ETH[.000842], ETHW[.000842], SOL[.00433], USD[20.14]

08167666                              CUSDT[1], DOGE[478.05091376], USD[0.00]

08167676                              SHIB[270992.03024064], USD[1.08]                                                                                                                                                      Yes

08167681                              BTC[0], NEAR[0], NFT (321601360669686883/LightPunk #1936)[1], NFT (344149711593413737/Voxel City #11)[1], NFT (381191734089497092/Baptism of the Christ)[1], NFT                      Yes
                                      (557367254832204197/LightPunk #6297)[1], SHIB[5], SOL[0], TRX[0], USD[0.00]
08167684       Contingent, Disputed   USD[0.29]

08167689                              DOGE[1499.5], SHIB[499500], USD[2.92]

08167705                              CUSDT[1], NFT (507230409842621312/SOLYETIS #7439)[1], SOL[40.13276464], USD[0.00]                                                                                                     Yes

08167713                              SOL[.04995], USD[0.18]

08167728                              ETH[.06697435], ETHW[.06697435], SOL[1.8194395], USD[0.05]

08167735                              DOGE[1], ETHW[.25806879], TRX[1], USD[289.99]

08167742                              BAT[173.58519177], BRZ[66.54729816], BTC[.00000002], CUSDT[55.81626468], DOGE[2], ETH[.00000002], ETHW[.00000002], GRT[319.94805223], KSHIB[451.23579581], MATIC[.00051802],          Yes
                                      MKR[.00000006], PAXG[.00000012], SOL[.00000119], SUSHI[.00002689], TRX[3], UNI[.00000892], USD[0.00]
08167756                              CUSDT[1], TRX[1], USD[0.00]

08167763                              BTC[.00036055], CUSDT[1], ETH[.00727119], ETHW[.00717543], SHIB[1], SOL[.15396005], TRX[1], USD[20.20]                                                                                Yes

08167765                              SHIB[2], SOL[.00006085], USD[0.01]                                                                                                                                                    Yes

08167769                              BAT[59.80178562], BRZ[1], BTC[.00468624], CUSDT[3], DOGE[522.82968886], ETH[.05666519], ETHW[.05596227], GRT[108.35514273], LINK[4.43401534], SUSHI[14.96024158], TRX[2], USD[0.01]   Yes

08167773                              USD[0.00]

08167774                              AVAX[6.39814081], BTC[0], CUSDT[0], DOGE[0], ETH[0.01588055], ETHW[.07915917], LINK[3.80424636], LTC[0], MATIC[53.73491729], SHIB[1], TRX[0], USD[0.00]                               Yes

08167783                              BAT[3.42474743], USD[4.00]

08167808                              DOGE[1], SHIB[57.02075244], TRX[1], USD[0.00]                                                                                                                                         Yes

08167813                              SOL[5.39668479]                                                                                                                                                                       Yes

08167821                              USD[450.00]

08167827                              BRZ[4], DOGE[1], SHIB[2], TRX[1], USD[0.60], USDT[0]

08167828                              USD[10.79]                                                                                                                                                                            Yes

08167839                              USD[0.02]

08167861                              CUSDT[1], GRT[0]

08167864                              BTC[.08744879], USD[0.00]

08167867                              USD[20.00]

08167874                              ETH[0], ETHW[0]

08167877                              SOL[.00145746], USD[98.03], USDT[0]

08167878                              USD[1.00]

08167897                              USD[300.00]

08167923                              BRZ[1], CUSDT[1], TRX[3], USD[0.00], USDT[0.00000132]

08167929                              CUSDT[3], USD[0.01]

08167931                              BAT[1.00993494], BTC[.21095449], DOGE[3], USD[-1400.00], USDT[1.07559276]                                                                                                             Yes

08167942                              DOGE[898], NFT (509786335173474924/KING OF THE SEA)[1], USD[0.09], USDT[.12]
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                                                                                                                                             Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08167947                              BTC[0]

08167951       Contingent, Disputed   BTC[.00004583], ETH[.00067365], ETHW[.00067034], USD[0.00]                                                                                                                         Yes

08167967                              SUSHI[1.35120819], USD[0.00]                                                                                                                                                       Yes

08167969                              USD[106.59]

08167974                              USD[2.00]

08168006                              SHIB[1], TRX[1], USD[13.47]

08168008                              ETH[.00000001], USD[0.00], USDT[0]

08168013                              USD[21.59]                                                                                                                                                                         Yes

08168014                              BTC[.01861872], DOGE[2], USD[1.63]                                                                                                                                                 Yes

08168024                              BTC[.021], MATIC[40], SHIB[2900000], SOL[7], USD[0.85]

08168027                              SOL[.00000001]

08168033                              BRZ[1], DOGE[148.17325988], LINK[11.5334456], NFT (318591664448785447/Miner Bot 243)[1], NFT (343206199328442128/Space Bums #4188)[1], NFT (345964004633029594/DOTB #4864)[1], NFT Yes
                                      (396395381394708702/DOTB #8300)[1], NFT (449420807871902322/Barcelona Ticket Stub #861)[1], NFT (457656718550474622/Imola Ticket Stub #183)[1], NFT (481894430700147941/Eitbit Ape
                                      #422)[1], NFT (502020553384951986/Eitbit Ape #382)[1], NFT (505821035343487279/DOTB #904)[1], NFT (506097482771797398/Kiddo #4825)[1], NFT (522622159687687423/DOTB #5331)[1], NFT
                                      (523260544834842954/ApexDucks #3158)[1], NFT (523930594533216213/ApexDucks Halloween #1927)[1], NFT (525533458575593761/ApexDucks #871)[1], NFT (527706206080572552/Cadet 574)[1],
                                      NFT (541560190684003770/Kiddo #194)[1], NFT (559833675564615971/ALPHA:RONIN #586)[1], SHIB[9285879.42617037], SOL[6.89948204], TRX[373.33275903], USD[0.00]

08168047                              BAT[4.01386871], BF_POINT[300], BRZ[14.58031019], BTC[0], CUSDT[3], DOGE[8.00057537], ETH[0.00001460], ETHW[2.20463693], GRT[4], MATIC[.02744354], NFT (304327494586426897/Solactic Yes
                                      Guardian #416)[1], NFT (312525136977456066/Solactic Guardian #405)[1], NFT (323976169819394156/Solactic Guardian #244)[1], NFT (333710136019386060/MagicEden Vaults)[1], NFT
                                      (360478691229786921/We Are The Walrus #1780)[1], NFT (386832716654530937/Solactic Guardian #6)[1], NFT (388958565816005596/Meerkat Bankroll)[1], NFT (395617934391338386/MagicEden
                                      Vaults)[1], NFT (405029047568036437/Meerkat Bankroll)[1], NFT (433213446065552557/Meerkat #8049)[1], NFT (473588741547313695/We Are The Walrus #2396)[1], NFT
                                      (476512471851285457/MagicEden Vaults)[1], NFT (514575848243106954/Worth 10 Sol UNIREX#5607)[1], NFT (574981703770998620/MagicEden Vaults)[1], NFT (575027329353815560/MagicEden
                                      Vaults)[1], SHIB[23], SOL[0], SUSHI[2.1293618], TRX[22.55187929], USD[0.01], USDT[3.01574036]
08168057                              SOL[2.57740559], TRX[1], USD[0.00]

08168068                              CUSDT[359.61473714], TRX[143.52573252], USD[0.00]                                                                                                                                  Yes

08168074                              USD[0.01], USDT[0]

08168076                              AVAX[0.50914686], DOGE[3], TRX[3], USD[0.00]                                                                                                                                       Yes

08168093                              TRX[1], USD[0.01]                                                                                                                                                                  Yes

08168095                              CUSDT[3], MATIC[11.96011075], SHIB[719017.58446232], TRX[219.72733333], UNI[.83108557], USD[0.01], USDT[10.72342466]                                                               Yes

08168105                              USD[8.34]

08168107                              SOL[.67126], USD[0.25]

08168121                              SHIB[422816.7829576], USD[0.00]

08168124                              AVAX[.00000001], ETH[0], ETHW[0], SHIB[2], SOL[0], USD[0.00], USDT[0.00000001]                                                                                                     Yes

08168134       Contingent, Disputed   BTC[.001]

08168136                              BRZ[1], CUSDT[9], SOL[.16066826], TRX[2], USD[3.11]                                                                                                                                Yes

08168140                              USD[5.40]                                                                                                                                                                          Yes

08168150                              BCH[.00672459], LINK[.04537101], LTC[.02080657], MKR[.00182104], SOL[.00483967], UNI[.2314687], USD[0.00]                                                                          Yes

08168152                              BRZ[4], CUSDT[12], DOGE[7.80780946], GRT[1], SHIB[20], SOL[.00145152], TRX[11], USD[0.08]

08168154                              USD[0.29]

08168157                              CUSDT[1], DOGE[1], TRX[2], USD[27.28]                                                                                                                                              Yes

08168167                              BRZ[0], CUSDT[3], USD[0.00]

08168168                              ETH[.002755], ETHW[.00272179], LTC[.00000045], SOL[.05960287], USD[0.00]                                                                                                           Yes

08168173                              CUSDT[3], DOGE[1], NFT (414161183255277264/Space Bums #7544)[1], SOL[.00001597], USD[0.00]                                                                                         Yes

08168187                              BTC[0], ETH[0], USD[0.00]

08168199                              BRZ[1], CUSDT[1], DOGE[2], MATIC[0], SHIB[5], TRX[0], USD[0.00]                                                                                                                    Yes

08168200                              DOGE[1], USD[0.00]                                                                                                                                                                 Yes

08168212                              BAT[7.94965], BTC[0.00019972], TRX[849.00866402], USD[0.00]

08168215                              USD[100.00]

08168219                              USD[2.00]

08168230                              BRZ[245.47669386], DOGE[1], SHIB[2], TRX[1928.32188703], USD[0.01]                                                                                                                 Yes

08168242                              BAT[625.9], SOL[.808], USD[370.69]

08168254                              CUSDT[2], DOGE[1], TRX[1], USD[0.01]                                                                                                                                               Yes

08168256                              CUSDT[1], ETH[.02630304], ETHW[.02597472], USD[0.00]                                                                                                                               Yes

08168268                              NFT (414445255940460188/Ghoulie #6862)[1], NFT (447442497813032424/Ghoulie #6861)[1], SOL[.08662041], USD[0.00]                                                                    Yes

08168271                              CUSDT[1], MATIC[9.99], SHIB[11758.55761693], SOL[.25351729], USD[0.00]

08168275                              BAT[300]

08168281                              SHIB[54683630.25455659], USD[0.00]                                                                                                                                                 Yes

08168297                              BTC[.00675497], SHIB[1], TRX[1], USD[0.00]                                                                                                                                         Yes

08168301                              ETH[.04694], ETHW[.04694], SHIB[1778200], SOL[.13972], USD[20.18], USDT[33.08444363]

08168304                              ETHW[1.96706], TRX[1], USD[0.00]                                                                                                                                                   Yes

08168308                              USD[0.00]

08168311                              USD[0.00], USDT[0]

08168318                              BTC[0.00034835], CUSDT[1], DOGE[103.54721426], USD[0.06]                                                                                                                           Yes
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08168326                           USD[0.00], USDT[0]

08168327                           BTC[.00417024]

08168347                           SOL[9.999995]

08168348                           DAI[2.06244872], MATIC[4.69961179], SOL[.05775143], USD[0.00], USDT[.00010566]                                                                                           Yes

08168353                           BAT[11.86965792], USD[0.00]                                                                                                                                              Yes

08168354                           USDT[100]

08168374                           CUSDT[1], TRX[1], USD[0.00]                                                                                                                                              Yes

08168376                           DOGE[1], TRX[2], USD[0.00]

08168379                           BTC[.00000001], USD[57.54]                                                                                                                                               Yes

08168387                           AAVE[11.030064], BTC[0], ETH[.0005526], ETHW[9.3145526], LINK[79.22863], SOL[46.882191], USD[12008.42]

08168392                           NFT (420520955265917553/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #121)[1], SOL[.02922178], USD[0.00]                               Yes

08168407                           BAT[0], DAI[0], ETH[0], GRT[0], LTC[0], SHIB[3], SOL[0], TRX[2], USD[0.00], USDT[0.00000016]                                                                             Yes

08168409                           CUSDT[2], DOGE[1], SOL[.24411817], USD[0.00]

08168423                           ETH[.24199839], ETHW[.24199839], SOL[19.16602378], USD[0.00]

08168427                           MATIC[10637.26695374]                                                                                                                                                    Yes

08168441                           ETH[.029], ETHW[.029]

08168443                           CUSDT[1], KSHIB[3264.0595448], USD[0.00]

08168456                           BAT[.00046655], BRZ[.00355109], ETH[.0000003], ETHW[.0000003], GRT[.00074773], LINK[.00004934], LTC[.00000467], MATIC[.00013655], TRX[.00542685], USD[0.01]              Yes

08168463                           CUSDT[1], LINK[1.181425], MATIC[4.47093393], TRX[109.55901292], USD[0.00]

08168465                           USD[0.01]                                                                                                                                                                Yes

08168475                           MATIC[39.96], SOL[1.10889], USD[11.95]

08168478                           BAT[0], BRZ[0], BTC[0], CUSDT[0], DAI[0], DOGE[0], KSHIB[0], MATIC[0], SGD[0.00], SHIB[1.00000551], SUSHI[0], TRX[1], USD[0.00], USDT[0]                                 Yes

08168481                           BTC[.19491719], ETH[2.26900159], ETHW[2.26900159], USD[0.00]

08168490                           BAT[1.01103756], BTC[.0010435], CUSDT[4], ETH[.02233053], ETHW[.02205693], LINK[2.36926997], MATIC[31.09536121], SOL[9.15322394], USD[0.00]                              Yes

08168491                           BTC[.0019], SOL[.09], USD[0.00], USDT[0]

08168495                           BTC[0], CUSDT[6], ETH[0.00662664], ETHW[0.00654450], LINK[0], USD[0.00]                                                                                                  Yes

08168505                           USD[100.00]

08168508                           BTC[.0562198], USD[0.00]

08168516                           BTC[.00018185], CUSDT[1], DOGE[2], ETH[.00000001], ETHW[.00000001], KSHIB[41.87171594], USD[4.88]                                                                        Yes

08168521                           DOGE[2], SHIB[1], SOL[.00004663], TRX[1], USD[0.00]

08168537                           NFT (492802948145081197/Sigma Shark #1757)[1], SHIB[1], USD[0.00]                                                                                                        Yes

08168543                           BTC[.0001]

08168544                           BTC[0.00000129], SOL[.00000001], USD[0.00], USDT[0]                                                                                                                      Yes

08168551                           USD[0.06]

08168557                           USD[100.00]

08168560                           SOL[.0001461], USD[0.00]

08168562                           ETH[.001], ETHW[.001], KSHIB[10], MATIC[10], SOL[.02], USD[0.16]

08168573                           AVAX[8.52755826], BRZ[2], BTC[.04882006], DOGE[1], ETHW[.31603951], SHIB[9], SOL[3.3417447], TRX[2], USD[0.00]                                                           Yes

08168580                           USD[10.75]                                                                                                                                                               Yes

08168593                           AVAX[0], BF_POINT[100], BTC[0], ETH[0], MATIC[0], SOL[5.51758549], USD[0.00], USDT[0.00000001]                                                                           Yes

08168598                           ALGO[0.01832178], AVAX[0], BRZ[0], ETH[0], LINK[0], MATIC[0], NEAR[0], SHIB[0], SOL[0], USD[0.00], USDT[0]

08168602                           USD[20.00]

08168618                           KSHIB[249.75], USD[0.26]

08168631                           USD[319.76]                                                                                                                                                              Yes

08168635                           ETH[.00922143], ETHW[.00911199], USD[0.00]                                                                                                                               Yes

08168641                           BTC[0], ETHW[.111096], SOL[0.00000001], USD[0.00]

08168643                           USD[0.00], USDT[0]

08168652                           BTC[0], USD[0.00]                                                                                                                                                        Yes

08168658                           NFT (340623576927477973/The crypto awakening)[1], NFT (350153932731078949/The crypto awakening #2)[1], NFT (385309112718092019/The crypto awakening #3)[1], USD[94.18]

08168659                           SOL[.01], USD[3.20]

08168660                           BAT[1], BRZ[1], BTC[.00891917], CUSDT[2], DOGE[6], GRT[1], TRX[7], USD[0.00], USDT[0]

08168661                           BRZ[2], BTC[0.00076113], DOGE[1], ETH[0.00898980], ETHW[0.30958725], SHIB[988514.32601902], SOL[0], SUSHI[7.75737118], TRX[1], USD[0.00]                                 Yes

08168664                           NFT (535646499349529876/Coachella x FTX Weekend 2 #16209)[1]

08168665                           SHIB[2038517.00238209], TRX[1], USD[26.98]                                                                                                                               Yes

08168669                           CUSDT[2], DOGE[1231.43941273], ETH[.22896446], ETHW[.22876173], KSHIB[5203.16160749], SOL[2.7528946], USD[0.00]                                                          Yes

08168672                           BTC[.000512], ETH[.000916], ETHW[.000102], LINK[.030292], MATIC[.0001], SOL[.00000001], USD[0.00]

08168674                           BTC[.00000989], ETH[.0007007], ETHW[.0007007], USD[4.10]

08168683                           BTC[.00866519], USD[0.00]
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                                                                                                                                             Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08168684                              DOGE[9201.32574693], ETH[.14384566], ETHW[.14294307], GRT[1], TRX[3], USD[0.00]                                                                                                               Yes

08168703                              NFT (530907808324746859/Mad Lions Remastered #24)[1], USD[6.04], USDT[0]

08168714                              USD[0.00]                                                                                                                                                                                     Yes

08168719                              ETH[0.01635666], ETHW[0.01635666], USD[1500.00], USDT[5.77432006]

08168724                              BAT[0], KSHIB[0], SHIB[0], USD[0.01]                                                                                                                                                          Yes

08168727                              ETHW[.10363202], MATIC[.58], USD[0.00]

08168730                              BAT[.608], BTC[.0000978], DOGE[.922], ETH[.000849], ETHW[.000849], GRT[487.161], LINK[7.6792], MATIC[9.8], SOL[1.11626], SUSHI[.2645], USD[112.15]

08168733                              USD[0.16]                                                                                                                                                                                     Yes

08168736                              USD[0.07]

08168767                              USD[0.00]                                                                                                                                                                                     Yes

08168776                              USD[539.66]                                                                                                                                                                                   Yes

08168779                              USD[1.50]

08168787                              DOGE[.86775519], USD[18.08]

08168791                              CUSDT[1], NFT (465729506627235847/Lorenz #820)[1], USD[0.00]                                                                                                                                  Yes

08168793                              USD[50.01]

08168810                              DOGE[24.10227346], SHIB[128336.75564681], USD[10.00]

08168817                              USD[0.00]

08168818                              USD[104.70]

08168821                              BRZ[1], BTC[.00027309], USD[0.00]

08168828                              BAT[27.66554201], CUSDT[1], LTC[.24856311], SHIB[1], SOL[.51264003], TRX[1], USD[0.04]                                                                                                        Yes

08168837                              NFT (292869320743264927/Earl Campbell's Playbook: Rice vs. Texas - October 1st, 1977 #112)[1], NFT (302062875888212065/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th,   Yes
                                      1978 #132)[1], NFT (363814040052616092/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #149)[1], NFT (436698211788566749/Metaverse Masks #21)[1], NFT
                                      (440286984700270756/Earl Campbell's Playbook: Texas vs. Houston - November 5th, 1977 #124)[1], NFT (497425296866756208/Crypto Avatar Art #47)[1], NFT (511918393282002758/Tim Brown's
                                      Playbook: New York Jets vs. Oakland Raiders - December 2, 2002 #75)[1], NFT (519930533087210386/LAND OF TALE#1)[1], SHIB[49320704.19274866], USD[4.30]

08168845                              SOL[0], USD[0.00]

08168849                              SHIB[6943.95628096], USD[0.00]

08168858                              SOL[.00000001], USD[0.00]

08168863                              DOGE[17.80717328], USD[0.00]                                                                                                                                                                  Yes

08168865                              AUD[0.00], CAD[0.00], DOGE[0], ETH[.00000001], EUR[0.00], GRT[0], MXN[0.00], SHIB[0.00000001], USD[45.22], USDT[0]

08168867                              USD[5.00]

08168871       Contingent, Disputed   SOL[.45], USD[29.57]

08168878                              USD[10.00]

08168880                              DOGE[0], ETH[0.00289590], ETHW[0.00287628], USD[0.00]                                                                                                                                         Yes

08168889                              SHIB[1], USD[15.76]

08168892                              BTC[.02741795], CUSDT[1], SHIB[1], TRX[1], USD[1.14]                                                                                                                                          Yes

08168894                              CUSDT[75.74810116], DOGE[1], NFT (292527786526370968/Joe Theismann's Playbook: Notre Dame vs. USC - November 30, 1968 #69)[1], NFT (427567667469848724/Fancy Frenchies #124)[1], NFT Yes
                                      (478979952014180357/Shannon Sharpe's Playbook: Denver Broncos vs. Los Angeles Raiders - January 9, 1994 #70)[1], SOL[.04509489], USD[0.00]
08168898                              BTC[.00022621], CUSDT[2], ETH[.00236538], ETHW[.00233802], USD[0.19]                                                                                                                 Yes

08168927                              CUSDT[14], DOGE[3], ETH[.01193015], ETHW[.01177967], SOL[2.08534399], TRX[6], USD[0.00]                                                                                                       Yes

08168945                              NFT (345727625333417486/Sun Set #905)[1], NFT (419193830259204846/Cosmic Creations #331)[1], NFT (499944078073654410/Cosmic Creations #80)[1], NFT (570300088348450125/Cosmic
                                      Creations #413)[1], USD[0.13]
08168948                              CUSDT[2], DOGE[761.31390377], SHIB[6398055.44713528], TRX[1], USD[0.00]                                                                                                                       Yes

08168950                              BRZ[1], BTC[.00239243], CUSDT[2], DOGE[.00009387], ETH[.15006558], ETHW[.23738509], SHIB[3], SUSHI[.00025793], TRX[23.05423854], USD[0.08], USDT[0.00019362]                                  Yes

08168959                              SOL[.18044862], USD[0.00]                                                                                                                                                                     Yes

08168969                              DOGE[.741], ETH[0], NFT (499219872372212923/Wonky Stonk #6408)[1], USD[0.37]

08168970                              USD[0.01]                                                                                                                                                                                     Yes

08168986                              BTC[.00021014], DOGE[64.78748635], USD[0.00]                                                                                                                                                  Yes

08168994                              USD[10.79]                                                                                                                                                                                    Yes

08169002                              CUSDT[1], ETH[0.01931151], ETHW[0.01907068], MATIC[0], SHIB[2], TRX[1], USD[0.00], USDT[0]                                                                                                    Yes

08169013                              BAT[1], DOGE[.006776], ETH[.0000299], GRT[1], LTC[.00002676], SHIB[3], TRX[3], USD[0.01]                                                                                                      Yes

08169015                              SOL[0.26084869], USD[0.00]

08169019                              USD[0.01]

08169023                              BTC[.0391404], ETH[21.21928467], ETHW[21.21310349], LINK[820.79888128], LTC[35.75040062], SOL[447.49899331]                                                                                   Yes

08169030                              CUSDT[5], SHIB[4], TRX[1], USD[0.00]                                                                                                                                                          Yes

08169034                              CAD[10.15], SHIB[207505.84889778], USD[0.00]                                                                                                                                                  Yes

08169044                              BAT[2.071296], DOGE[3], TRX[3], USD[0.85], USDT[1.07468425]                                                                                                                                   Yes

08169052                              USD[0.02]

08169065                              BTC[.02496875], GRT[1], USD[1.00]

08169075                              CUSDT[1], LTC[.15305182], USD[0.00]

08169076                              USD[10.79]                                                                                                                                                                                    Yes

08169084                              BAT[0], BTC[0], DOGE[0], ETH[0], ETHW[0], SOL[0], USD[0.43]                                                                                                                                   Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08169085                              CUSDT[1], USD[14.80]

08169092                              AAVE[0.00022490], BRZ[.00078058], CUSDT[7], DOGE[0.00764125], GRT[1], KSHIB[.00036202], SHIB[1], SOL[1.42209853], SUSHI[.00003035], TRX[3.00000157], USD[0.83]                       Yes

08169102                              ETH[.194], ETHW[.194], USD[61.51]

08169107                              BTC[.00010173], ETH[.00251203], ETHW[.00248467], USD[23.79]                                                                                                                          Yes

08169119                              USD[0.01]

08169123                              BF_POINT[100], BTC[0.00185224], CUSDT[8], ETH[0.04783057], ETHW[0.04783057], GRT[0], LINK[0], LTC[0], MATIC[0], SOL[0.54783653], SUSHI[0], TRX[1], USD[0.00], YFI[0]

08169127                              NFT (320351013110306622/Series 1: Wizards #419)[1], NFT (339044532394661610/Sushi Taco Stand)[1], NFT (392902998653356433/Cosmic Creations #667)[1], NFT (424155755302851090/Entrance Yes
                                      Voucher #4330)[1], NFT (459395437721279460/Humpty Dumpty #76)[1], NFT (479677901961926722/Microphone #9306)[1], NFT (556076637141744291/Romeo #1362)[1], USD[4.99], USDT[0]

08169128                              USD[100.00]

08169137                              BTC[.0001]                                                                                                                                                                           Yes

08169144                              ETH[.3065804], ETHW[.3065804], USD[0.00]

08169160                              DOGE[1057.22842669]                                                                                                                                                                  Yes

08169161                              BAT[1], BTC[.02738601], DOGE[1], ETH[.40522802], ETHW[.40522802], SOL[11.409151], TRX[11059.48933595], USD[1.43], USDT[95.00017937]

08169167                              CUSDT[3], LINK[14.57775855], MATIC[50.0400024], SOL[1.12077618], TRX[1], USD[0.00]                                                                                                   Yes

08169173                              DOGE[1.00005762], ETH[0], KSHIB[2.10957545], LTC[0], MKR[0], SOL[.00220329], USD[0.01], USDT[0]                                                                                      Yes

08169174                              MATIC[.00058724], SHIB[6.43571467], SOL[.00003861], TRX[.00105131], USD[0.01]                                                                                                        Yes

08169177                              USD[0.56]

08169180                              TRX[.28863], USD[0.43], USDT[0]

08169187                              ETH[.00000001]

08169188                              BTC[.07461231], DOGE[1], SHIB[3], USD[0.00]                                                                                                                                          Yes

08169189       Contingent, Disputed   USD[1.00]

08169194                              USD[11.00]

08169204                              ETH[.06206169], ETHW[0.06206168]

08169205                              CUSDT[4], LTC[.16381359], USD[0.00]                                                                                                                                                  Yes

08169209                              AVAX[.00019018], BAT[1], BRZ[4], BTC[0], ETH[.0000124], ETHW[1.35744109], GRT[1], SHIB[3], SOL[0], TRX[.07544616], USD[0.00]                                                         Yes

08169212                              SHIB[1], USD[36.36]                                                                                                                                                                  Yes

08169220                              NFT (389073172967661692/FTX - Off The Grid Miami #3042)[1]

08169221                              BTC[.00000058], ETH[.00000676], ETHW[.00000675], USD[0.00]                                                                                                                           Yes

08169223                              ETH[.00000201], USD[0.00]

08169226                              AAVE[0.00607088], AVAX[.42127356], BAT[.00000918], BTC[.00000002], CUSDT[21], DOGE[2], SHIB[15], SOL[20.51153007], TRX[2], USD[0.00], USDT[1.02543197]                               Yes

08169230                              USD[107.93]                                                                                                                                                                          Yes

08169231                              BTC[.00099311], CUSDT[5], DOGE[1], MATIC[.00008379], TRX[1], USD[0.91]                                                                                                               Yes

08169237                              BTC[.1831167], ETH[1.48951], ETHW[1.48951], GRT[24.975], SHIB[6000000], USD[6.16]

08169250                              KSHIB[157.03031329], SHIB[0], TRX[0], USD[0.00]                                                                                                                                      Yes

08169263       Contingent, Disputed   DOGE[2], LTC[.00468116], SHIB[6], TRX[2], USD[8181.64], USDT[0.00000001]                                                                                                             Yes

08169264                              USD[1.00]

08169268                              USD[6.77]                                                                                                                                                                            Yes

08169271                              ETH[.031377], ETHW[.031377]

08169282                              BRZ[2], BTC[.00398951], CUSDT[58.61819836], MATIC[.00227249], SHIB[71], SOL[.00000001], TRX[19.58953906], USD[0.04]                                                                  Yes

08169283                              USD[0.00], USDT[0]

08169293                              BAT[0], CUSDT[3], DOGE[0.00102800], SHIB[0], SUSHI[0], USD[0.00]                                                                                                                     Yes

08169320                              USD[0.00], USDT[497.15398731]

08169325                              USD[64.26]

08169326                              BRZ[1], CUSDT[3], DOGE[1], SHIB[1416451.01762926], SOL[0.22817264], TRX[2], USD[0.00]                                                                                                Yes

08169330                              ETH[.00000046], ETHW[0.00000045], SOL[0]

08169337                              CUSDT[1], SOL[.18741188], SUSHI[1.06262964], USD[0.00], USDT[.99438061]                                                                                                              Yes

08169349                              USD[21.59]                                                                                                                                                                           Yes

08169354                              USDT[0.00000037]

08169357                              DOGE[0], SHIB[1], SUSHI[3.85616144], USD[0.00], USDT[0]                                                                                                                              Yes

08169360                              BAT[0], BRZ[1], DOGE[0], SHIB[2], USD[0.00]                                                                                                                                          Yes

08169363                              SOL[.05734961], USD[0.00]

08169376                              KSHIB[5309.86979903], USD[0.00]

08169378                              BRZ[1], CUSDT[7], ETH[0.00000032], ETHW[0.00000032], SHIB[795.05393317], TRX[1], USD[0.00]                                                                                           Yes

08169385                              DOGE[1], USD[0.00]                                                                                                                                                                   Yes

08169409                              BF_POINT[100], BTC[.00103114], CUSDT[5], DOGE[1], SHIB[1], USD[1.01]                                                                                                                 Yes

08169412                              BAT[0], BCH[0.00784883], BTC[0], CHF[0.00], ETH[0.00744222], ETHW[0.00734646], GRT[.02989618], HKD[0.00], LTC[.00069687], SOL[0.00079219], SUSHI[.03115301], USD[0.20], USDT[0]      Yes

08169420                              BTC[.00005], CUSDT[1], USD[0.00]

08169438                              ETH[0], USD[0.46], USDT[0]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08169441                              AAVE[.11381184], AVAX[.16047804], BTC[.00019949], CUSDT[7], ETH[.00538816], ETHW[.00531976], GRT[17.01755919], MATIC[12.27025412], SHIB[4], SOL[.16360336], TRX[573.06382799],       Yes
                                      USD[0.00]
08169445                              USD[53.96]                                                                                                                                                                           Yes

08169446                              BTC[.0035964], USD[2.78]

08169447       Contingent, Disputed   BAT[128.58615229], CUSDT[1], USD[0.01]                                                                                                                                               Yes

08169451                              ETH[.04878304], ETHW[.04878304], MATIC[89.14625579]

08169452                              BTC[0.00193823], CUSDT[0], ETH[0.10583733], ETHW[0.22985996], PAXG[0], SHIB[12591198.78556081], USD[0.00], USDT[0], YFI[.00248192]                                                   Yes

08169470                              USD[10.00]

08169484                              MATIC[.00000036], NFT (444050989686158888/ApexDucks #631)[1], NFT (513892125069845403/ApexDucks #1892)[1], NFT (568612904849130297/ApexDucks #5255)[1], SOL[.01264584], USD[0.00]    Yes

08169495                              DOGE[.6713955], ETH[.00579592], ETHW[.00579592], USD[0.00], USDT[5.83929999]

08169498                              USD[0.09]

08169509                              ETH[0], ETHW[0.15331696], USD[0.00]

08169515                              SOL[.00000641], USD[0.00]                                                                                                                                                            Yes

08169519                              NFT (391564378685419921/SOLYETIS #7949)[1], NFT (502957514089967162/ApexDucks #3392)[1], SOL[.26883443]

08169521                              BTC[0], DOGE[0], ETH[0], ETHW[0.00000203], SHIB[2], USD[0.00]                                                                                                                        Yes

08169541                              SHIB[7.87204926], USD[0.00], USDT[0]                                                                                                                                                 Yes

08169543                              SOL[.0529434], USD[0.00]

08169545                              TRX[1], USD[0.01]

08169552                              NFT (531945946038895627/NEKOVERSE LOST CHEST)[1]

08169555                              USD[9.09]

08169562                              BAT[2.04518896], CUSDT[4], USD[0.00]                                                                                                                                                 Yes

08169597                              CUSDT[2], SOL[1.71278409], USD[0.00]                                                                                                                                                 Yes

08169601                              USD[23.69]                                                                                                                                                                           Yes

08169615                              USD[1.00]

08169623                              USD[5.40]                                                                                                                                                                            Yes

08169626                              LTC[9.99], TRX[14000.985], USD[0.01]

08169630                              CUSDT[2], DOGE[1], TRX[1], USD[0.00]                                                                                                                                                 Yes

08169635                              USD[10.61]                                                                                                                                                                           Yes

08169641                              DOGE[7.63767874], SHIB[210937.731889], USD[47.61]                                                                                                                                    Yes

08169642                              SHIB[520657.04490227], USD[0.00]

08169650                              USD[150.00]

08169653                              ALGO[0], BTC[.0072514], ETH[.14110251], ETHW[0], SHIB[1], USD[0.00]                                                                                                                  Yes

08169659                              USD[0.00]

08169666                              CUSDT[1], DOGE[1], ETHW[.02552569], SHIB[1], USD[17.87]                                                                                                                              Yes

08169671                              ETH[0], KSHIB[392.64303629], SHIB[1.00000545], USD[0.00]

08169672                              BTC[.00250343], SOL[.00000001]                                                                                                                                                       Yes

08169673                              USD[20.00]

08169676                              USD[0.06]                                                                                                                                                                            Yes

08169678                              USD[0.00]

08169679                              ETH[0], USD[0.00]

08169680                              SHIB[13.94652244], USD[0.00]                                                                                                                                                         Yes

08169681                              ETH[.12368308], ETHW[.1225139], TRX[1], USD[0.11]                                                                                                                                    Yes

08169685                              SOL[.1275015], USD[1.08]

08169687                              DOGE[2], USD[0.00]                                                                                                                                                                   Yes

08169691                              DOGE[1], SHIB[10335680.41539752], TRX[1], USD[25.00]

08169696                              ETH[.0000058], ETHW[.0000058], SOL[0.00000009]

08169699                              ETH[.01], ETHW[.01]

08169700                              ALGO[183.08493845], BAT[1.01121293], BRZ[1], BTC[.29068158], CUSDT[7], DOGE[436.09141719], ETH[1.46977865], ETHW[1.46916133], LTC[2.11822126], MATIC[288.79699905],                  Yes
                                      SHIB[8836396.90011745], SOL[4.62729801], TRX[3], USD[0.01]
08169705                              BTC[.00186593], SOL[.00000001]                                                                                                                                                       Yes

08169709                              BRZ[1], CUSDT[3], DOGE[4], LTC[.0000181], SHIB[1], TRX[3], USD[0.00]                                                                                                                 Yes

08169711                              BAT[.00023213], BRZ[1], CUSDT[15], DOGE[54.33805533], ETH[.002994], ETHW[.00295296], GRT[10.73512368], LINK[.18105345], LTC[.07810291], MATIC[12.81047906], SHIB[319886.68208174],   Yes
                                      SOL[.05797127], SUSHI[1.53013083], TRX[2], USD[0.00]
08169712                              BTC[.07185536], TRX[1], USD[0.00]

08169713                              USD[0.01]

08169714                              BF_POINT[100], CUSDT[3], KSHIB[751.06293524], SHIB[345009.15834594], TRX[54.67251594], USD[21.90]                                                                                    Yes

08169716                              ETH[0.00000001], ETHW[0], KSHIB[0], MATIC[0], NFT (419481975261637614/Ancient Lubat #59)[1], SHIB[347.88729533], SOL[0.00000001], USD[0.00], USDT[0.39069581]                        Yes

08169721                              NFT (496753347569993595/Coachella x FTX Weekend 1 #4485)[1]

08169732                              BAT[6.63878834], CUSDT[3], SOL[.06254332], SUSHI[2.98914858], USD[0.00]                                                                                                              Yes

08169734                              MATIC[.04388379], SOL[1.32628998]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08169737                           BAT[.00001427], CUSDT[9], DAI[.00022285], DOGE[.00066024], KSHIB[.00002374], SUSHI[.00029385], USD[11.97]                                                                     Yes

08169738                           AVAX[2.9783534], BRZ[1], DAI[0], ETH[0.07330908], ETHW[3.52261271], MATIC[15.67637882], SHIB[5], TRX[776.64968696], USD[23.31]                                                Yes

08169748                           TRX[.000015], USD[0.00], USDT[0.00000001]

08169749                           USD[0.01]                                                                                                                                                                     Yes

08169775                           CUSDT[9], DOGE[1], GRT[1], TRX[2], USD[135.73]

08169779                           USDT[0.00000046]

08169789                           USD[1.00]

08169799                           NFT (326764865423647012/Aku World: Dream #10)[1], NFT (418617222766095428/Aku World Avatar #5)[1], NFT (437554762112240312/Aku World Avatar #4)[1]

08169835                           BTC[.00071255], DOGE[1], ETH[.01420666], ETHW[.01402882], MATIC[3.63783723], SHIB[185177.21703821], SOL[1.24770102], TRX[1], USD[0.01], USDT[0]                               Yes

08169842                           DOGE[1], ETH[.00000001], TRX[1], USD[0.00]

08169843                           ETH[0], MATIC[1], SOL[0.00000001], USD[1499.93]

08169844                           USD[0.00], USDT[0]                                                                                                                                                            Yes

08169845                           CUSDT[1], ETH[.02403714], ETHW[.02403714], SOL[.05241683], USD[0.00]

08169847                           USD[1.87], USDT[0.00000001]

08169848                           USD[53421.86]

08169849                           DOGE[1], SHIB[22.92916658], USD[0.00]                                                                                                                                         Yes

08169850                           BF_POINT[100]

08169854                           CUSDT[4], USD[0.00]                                                                                                                                                           Yes

08169856                           NFT (324943411709675810/Sol Pengg #2)[1], NFT (419324757938012864/MoonCat)[1], NFT (423269494169204138/CatFamilya #62)[1], SHIB[1], TRX[1], USD[0.00], USDT[0]                Yes

08169864                           BTC[.0378], SOL[18.93143], USD[737.73]

08169867                           SOL[5.92978955], USD[2000.00]

08169868                           USD[0.99]                                                                                                                                                                     Yes

08169871                           USDT[26.530445]

08169872                           ALGO[0], ETH[0], LINK[.00000001]

08169879                           AAVE[1.10749401], AVAX[5.26471121], BAT[17.95660074], BRZ[4], CUSDT[36], DOGE[10.1434388], ETHW[1.58272745], LTC[2.18770561], MATIC[485.328333], SHIB[44], SOL[2.64933054],   Yes
                                   TRX[12.00383622], UNI[23.15543221], USD[0.01], USDT[1.00847407]
08169883                           USD[0.00]                                                                                                                                                                     Yes

08169889                           USD[1.07]

08169894                           USD[697.41], USDT[300]

08169896                           BTC[.00777414]                                                                                                                                                                Yes

08169911                           BTC[0.00398428], SOL[.00615341]

08169930                           BTC[0.00038580], CUSDT[1], USD[0.00]                                                                                                                                          Yes

08169941                           BAT[0]

08169944                           BAT[0], BTC[0], DOGE[0], ETH[0], MATIC[0], SOL[0], USD[0.00], USDT[0.00000001]

08169945                           USD[0.01]

08169947                           BTC[.00726908], ETH[.00898809], ETHW[.00898809], USD[95.17]

08169959                           CUSDT[1], DOGE[2], USD[0.10]                                                                                                                                                  Yes

08169962                           CUSDT[13.01146939], TRX[5.0015618], UNI[1.06619918], USD[0.01]                                                                                                                Yes

08169964                           BAT[1], BRZ[2], CUSDT[5], DOGE[1329.97556413], GRT[1], SHIB[71921404.81162738], TRX[2], USD[0.00], USDT[1]

08169966                           BTC[0], ETH[0], MATIC[0], USD[0.00]

08169968                           ETH[0], MATIC[0], USD[0.00]

08169974                           USD[14.02], USDT[0]                                                                                                                                                           Yes

08169992                           USD[0.14]                                                                                                                                                                     Yes

08169995                           NFT (386769767739056130/Coachella x FTX Weekend 1 #4557)[1], SOL[4.9599905], USD[0.76]

08170001                           ETH[0], USD[0.00]                                                                                                                                                             Yes

08170010                           BRZ[1], USD[99.59]

08170037                           USD[0.00]

08170043                           DOGE[.00000001], USD[0.00]

08170045                           BTC[.00044822], CUSDT[1], USD[0.00]                                                                                                                                           Yes

08170049                           USD[0.01], USDT[0.00038948]

08170050                           BTC[0], CUSDT[13], DOGE[1], GRT[1], SHIB[0], SOL[0], TRX[3], USD[0.00], USDT[0]

08170054                           SHIB[1], USD[0.01]

08170061                           SOL[4.9]

08170068                           CUSDT[5], DOGE[1], MATIC[5.37717878], SHIB[695875.52376584], TRX[1], USD[0.00]

08170078                           USD[21.58]                                                                                                                                                                    Yes

08170082                           USD[32.72], USDT[0]                                                                                                                                                           Yes

08170083                           DOGE[1], USD[0.00]                                                                                                                                                            Yes

08170086                           ETH[0], SOL[0], USD[0.01], USDT[0.00000050]

08170088                           SOL[3.33], USD[0.22]
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                                                                                                                                          Customer Claims                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08170096                           CUSDT[3], MATIC[.00000021], SUSHI[.00008542], UNI[.0893325], USD[29.44]                                                                                                        Yes

08170104                           CUSDT[2], ETH[0], SOL[.00000096], USD[0.00]                                                                                                                                    Yes

08170109                           USD[350.01]

08170119                           USD[9.55]                                                                                                                                                                      Yes

08170128                           ETH[.044], ETHW[.044], KSHIB[2677.32], MATIC[50], SOL[2.08], USD[0.66], USDT[.00847]

08170130                           ETH[.42448629], ETHW[.42430783], SOL[5.44244224]                                                                                                                               Yes

08170133                           ETH[.488], ETHW[.488], SOL[15.86], USD[2.09]

08170138                           ETH[.00000001], USD[0.00], USDT[0.00002364]

08170140                           CUSDT[1], DOGE[1], KSHIB[651.4315077], SUSHI[3.91451071], USD[0.00]                                                                                                            Yes

08170141                           SHIB[257731.95876288], USD[0.00]

08170152                           AVAX[6.69360707], DOGE[3629.76568322], GRT[1], SHIB[1], SOL[12.04062014], USD[30.25]                                                                                           Yes

08170153                           USD[4.85]                                                                                                                                                                      Yes

08170180                           DOGE[12.27419892], SHIB[416991.6557253], USD[0.00]

08170182                           USD[0.00]

08170194                           MATIC[306.75039639], SOL[2.94], USD[0.18]

08170200                           ETH[.00000002], ETHW[.00000002], USD[9.07]                                                                                                                                     Yes

08170211                           BRZ[1], CUSDT[1], DOGE[1], MATIC[241.46762053], TRX[2], USD[0.07], USDT[0.00454159]                                                                                            Yes

08170217                           USD[0.01]

08170232                           BTC[.0004727], CUSDT[3], LTC[.08191298], USD[13.67]                                                                                                                            Yes

08170246                           USD[1.00]

08170249                           USD[257.29]

08170257                           DOGE[1], SHIB[1124226.88193192], USD[0.00]                                                                                                                                     Yes

08170265                           NFT (575593287884295072/Humpty Dumpty #253)[1]                                                                                                                                 Yes

08170266                           NFT (371307700669633841/Watermelon #3)[1], USD[0.09]

08170269                           BRZ[3], BTC[.00000103], CUSDT[3], DOGE[5], MATIC[.00130593], SHIB[2], SOL[.00004666], TRX[.13955976], USD[0.00], USDT[0.00000001]                                              Yes

08170286                           BTC[0.00004827], ETH[.518], ETHW[.518], SOL[.00441], USD[0.73]

08170288                           SOL[.00950555], USD[0.00]

08170292                           BTC[.0004], USD[0.91]

08170299                           BCH[.0017145], BTC[.00001695], DOGE[4.43269573], SOL[.02862], USD[0.00]                                                                                                        Yes

08170305                           NFT (354315144382380267/Kiddo #5928)[1], SOL[.19], USD[1.18]

08170306                           CUSDT[1], SOL[1.57923864], USD[0.00]                                                                                                                                           Yes

08170320                           USD[6.98]

08170327                           BTC[.00094619], CUSDT[3], ETH[.00492222], ETHW[.0048675], MATIC[6.40625673], SOL[.10555953], USD[0.00]                                                                         Yes

08170333                           BRZ[1], CUSDT[2], NFT (436176627074094525/Astral Apes #3311)[1], SHIB[2], SOL[.03678211], USD[0.00]                                                                            Yes

08170336                           BRZ[1], BTC[.3282697], CUSDT[1], DOGE[3518.98802509], ETH[3.96868001], ETHW[3.96711789], MATIC[197.42577128], SOL[6.09137978], TRX[3], USD[0.00]                               Yes

08170351                           SOL[1.17498384], USD[0.00]

08170388                           USD[10.00]

08170399                           USD[215.72]                                                                                                                                                                    Yes

08170402                           DOGE[1], ETH[3.212475], ETHW[3.21112573], TRX[1], USD[4043.52], USDT[0]

08170424                           CUSDT[244.60146052], KSHIB[255.15502453], USD[0.00]                                                                                                                            Yes

08170430                           BAT[1.18217424], BTC[.00003606], ETH[.00023705], ETHW[.00023705], SUSHI[.12589099], USD[0.00]                                                                                  Yes

08170441                           AAVE[0], BAT[0], BTC[0], CUSDT[0], ETH[0], LINK[0], MATIC[0], SHIB[0], SOL[0], USD[191.43], USDT[0], YFI[0]

08170445                           ETH[.00103132], USD[0.00]

08170446                           DOGE[41.23981142], SHIB[3864457.94169821], TRX[.00080212], USD[0.00]                                                                                                           Yes

08170451                           DOGE[1], USD[0.00]

08170466                           USD[20.00]

08170479                           NFT (439072997091226788/MY NAME IS SOL)[1]

08170480                           BTC[0], ETH[0], USD[200.89]

08170483                           BRZ[1], CUSDT[6], USD[0.62], USDT[1.07663928]                                                                                                                                  Yes

08170507                           BF_POINT[100], DOGE[2], ETH[.00000792], ETHW[.00000792], MATIC[.96696784], SHIB[4], TRX[3], USD[0.00]                                                                          Yes

08170509                           KSHIB[1240], USD[1.11]

08170557                           NFT (560157614318657486/Imola Ticket Stub #360)[1], SOL[5.5]

08170572                           USD[0.00], USDT[49.76]

08170573                           LINK[0], SOL[.00000001], USD[0.00], USDT[0.00000006]

08170581                           BTC[.000383], LTC[.01594], USD[0.00], USDT[0.00000001]

08170582                           NFT (344645428850956118/Austria Ticket Stub #177)[1], NFT (436214051252470504/The Hill by FTX #522)[1], NFT (560371469615104123/FTX Crypto Cup 2022 Key #164)[1], USD[0.00],   Yes
                                   USDT[.00503029]
08170583                           USDT[703]

08170597                           CUSDT[2], DOGE[1], SHIB[1], TRX[12.4313595], USD[0.01]                                                                                                                         Yes
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                                                                                                                                            Customer Claims                                                                                                                 22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08170603                              BTC[0], DOGE[12], ETHW[.06587], USD[0.06]

08170605                              BTC[.00000535]                                                                                                                                                                                Yes

08170607                              DOGE[1], SHIB[1], TRX[1], USD[0.00], USDT[0.00000007]                                                                                                                                         Yes

08170613                              NFT (329271834832701960/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #114)[1], NFT (353282445177927330/Earl Campbell's Playbook: Rice vs. Texas - October 1st,   Yes
                                      1977 #102)[1], NFT (488866373175660648/Earl Campbell's Playbook: Texas vs. Houston - November 5th, 1977 #110)[1], NFT (534999818146709566/Doak Walker's Playbook: SMU vs. Santa Clara -
                                      September 27, 1947 #79)[1], SOL[.1189487], USD[0.00]
08170614                              AUD[0.00], DOGE[14.76626942], TRX[1]                                                                                                                                                          Yes

08170616                              CUSDT[1], KSHIB[504.8894759], USD[0.00]

08170618                              BTC[.00050895], DOGE[1], USD[0.00]                                                                                                                                                            Yes

08170636                              DOGE[2], ETH[.06329579], ETHW[.14059024], SHIB[4], SOL[1.08003267], USD[0.04], USDT[0.00015118]                                                                                               Yes

08170664                              BTC[.00000009]

08170668                              NFT (496806326857252111/Good Boy #11991)[1]

08170678                              USD[10.76]                                                                                                                                                                                    Yes

08170683                              TRY[0.00]

08170696                              BCH[.09301489], BTC[.0003599], DOGE[1], ETH[.00525289], ETHW[.00518449], KSHIB[914.19795128], LTC[.12438674], SHIB[729582.1233426], USD[0.00]                                                 Yes

08170720                              BAT[.00376992], BRZ[3], CUSDT[100.84710144], DOGE[1015.07250354], KSHIB[821.02749949], MATIC[668.5821596], SHIB[1735591.21018174], SOL[35.73446693], SUSHI[600.2026146], TRX[13],             Yes
                                      USD[0.00], USDT[2.01897297]
08170721                              USD[1.85]

08170728                              CUSDT[1], TRX[.01125712], USD[0.45]                                                                                                                                                           Yes

08170731                              CUSDT[20], DOGE[2.00081888], GRT[1], SHIB[2.17152014], TRX[2], USD[0.00]                                                                                                                      Yes

08170737                              CUSDT[1], NFT (373937961990819632/DOTB #5385)[1], SHIB[2], SOL[0.01007056], USD[0.00]                                                                                                         Yes

08170749                              EUR[1.75], GBP[1.46], HKD[15.79], SGD[2.66], TRX[.012273], USD[1373.85], USDT[1.22121500]

08170758                              CUSDT[1], ETH[.01487677], ETHW[.0146922], TRX[1], USD[0.00]                                                                                                                                   Yes

08170763                              ETH[0], ETHW[0], LTC[0], MATIC[0], SHIB[0], USD[0.00], USDT[0.00000953]

08170782                              CUSDT[136.13184096], USD[17.00]

08170786                              BTC[0], USD[247.76], USDT[0]                                                                                                                                                                  Yes

08170802                              MATIC[0.76108756], SHIB[2.70184508], USD[-0.28]                                                                                                                                               Yes

08170805                              USD[0.01]                                                                                                                                                                                     Yes

08170806                              BTC[.0019], USD[5.44]

08170842                              USD[0.00]

08170843                              USDT[.52325]

08170844                              CUSDT[1], DOGE[100.61765193], USD[3.85]                                                                                                                                                       Yes

08170860                              NFT (330933100745301978/Fantasy Art #1 - Bermuda)[1], NFT (482458257608511581/Fantasy Art #1 - Cupcake)[1], SHIB[18.23943462], USD[0.01]                                                      Yes

08170863                              CUSDT[2], DOGE[1214.21271072], SHIB[16849702.27016916], TRX[1], USD[0.00]                                                                                                                     Yes

08170867                              BRZ[.00051212], CUSDT[1], ETH[0.00000002], ETHW[0.00000002], SHIB[13.4856933], TRX[1], USD[0.00]                                                                                              Yes

08170870                              BRZ[1], USD[0.00]                                                                                                                                                                             Yes

08170883                              CUSDT[1], USD[0.00]

08170896                              USD[1073.10]                                                                                                                                                                                  Yes

08170902                              BTC[.00025614]                                                                                                                                                                                Yes

08170909                              ALGO[33.77981349], BTC[.00261486], CUSDT[94.47082814], DOGE[1], ETH[.02022781], ETHW[.01998157], GRT[61.80848363], LTC[.19403204], MATIC[22.09700522], SHIB[2604338.56730752],                Yes
                                      SOL[1.03910977], SUSHI[11.09170891], TRX[337.22232431], USD[0.00]
08170925                              DOGE[16.09257869]                                                                                                                                                                             Yes

08170943                              NFT (292318929186804954/Tim Brown's Playbook: Michigan State vs. Notre Dame - September 19, 1987 #68)[1], USD[5.40]                                                                           Yes

08170960       Contingent, Disputed   NFT (365742869709373383/THOR CAT)[1], NFT (375397804298227123/SPIDERCAT)[1], NFT (423540722206951237/RAMBO CAT)[1], NFT (451233990847267192/ENDER CAT)[1], NFT
                                      (520602452827734862/BATCAT)[1], USD[0.00], USDT[4.93004874]
08170961                              BTC[0], MATIC[.00000001]                                                                                                                                                                      Yes

08170994                              BRZ[1], BTC[0], CUSDT[1], ETH[0], USD[0.00]                                                                                                                                                   Yes

08171002                              MATIC[370], USD[102.56]

08171006                              USD[100.00]

08171027                              BTC[.00010059], NFT (432761500945007937/Choke )[1], SHIB[65000], SOL[0], USD[0.88]

08171029                              USD[10.00]

08171031                              CUSDT[2], SHIB[0], SOL[0.00000751], SUSHI[0], TRX[2], USD[0.00]                                                                                                                               Yes

08171054                              NFT (396055817781463346/Joe Theismann's Playbook: Notre Dame vs. USC - November 30, 1968 #64)[1], USD[3.24]                                                                                   Yes

08171057                              SOL[.00076182], USD[0.00]

08171064                              ETH[.00082273], ETHW[.00082273], USD[0.00]

08171081                              USD[0.00], USDT[.8]

08171091                              BTC[.00985727], DOGE[1], USD[0.00]                                                                                                                                                            Yes

08171112                              ETH[.01311112], ETHW[.01294696], TRX[1], USD[0.00]                                                                                                                                            Yes

08171117                              USD[8.95], USDT[5.52003549]

08171118                              ETHW[.00001414], USD[129920.46], USDT[0]                                                                                                                                                      Yes

08171119                              ETH[.08073303], ETHW[0.08073302], GRT[57], MATIC[23.36096164], SOL[.00000001], USD[0.00]

08171123                              CUSDT[2], LINK[.22456251], TRX[58.04417788], USD[0.00]                                                                                                                                        Yes
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                                                                                                                                         Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08171128                           CUSDT[3], DOGE[1], SHIB[83944868.64001077], TRX[3], USD[0.00]

08171135                           CUSDT[5], USD[117.09]                                                                                                                                                               Yes

08171145                           USD[20.00]

08171170                           CUSDT[3], TRX[1.00906964], USD[0.00], USDT[0.00068461]

08171188                           CUSDT[3], DOGE[3], ETH[.00000136], ETHW[.00000136], SHIB[23155214.05949872], SOL[0.00003407], TRX[5], TRY[0.00], USDT[0.00000026]                                                   Yes

08171207                           CUSDT[10], SHIB[156511.06907283], SOL[.00596055], TRX[1], USD[0.00]

08171209                           ETH[.0005373], ETHW[.0005373], SOL[.01029478], SUSHI[.23987918], USD[4.00]

08171217                           USD[8.57]

08171221                           BAT[1], BRZ[1], DOGE[3], ETH[1.0018631], ETHW[1.02022392], MATIC[.00251636], SHIB[1], USD[0.01]                                                                                     Yes

08171255                           BTC[.00015891], CUSDT[2], ETH[.00165767], ETHW[.00163641], LTC[.05395259], MATIC[7.63285209], SOL[.02591761], UNI[.27435145], USD[0.00]                                             Yes

08171258                           USD[0.01]                                                                                                                                                                           Yes

08171262                           NFT (293065609900877498/Grogu and The Force)[1], NFT (322890390607662665/siyabend34 #2)[1], NFT (354032576822308536/siyabendist)[1], NFT (373083114921680011/siyabendPGWC #4)[1],
                                   NFT (379533102957290291/siyabendPGWC #5)[1], NFT (428610566712199658/siyabendPGWC #2)[1], NFT (473051359314039085/Grogu and The Force #2)[1], NFT (480701132849837523/Grogu
                                   and The Force #3)[1], NFT (517250013909684510/uptown funk)[1], NFT (538920409163042715/siyabendPGWC #3)[1], SOL[.032]
08171266                           DOGE[1], ETH[0], NFT (469479847616004272/90's #64)[1], SHIB[28.37057494], USD[0.00]                                                                                                 Yes

08171271                           BTC[.00042727], DOGE[1], USD[26.98]                                                                                                                                                 Yes

08171275                           CUSDT[50], DOGE[496.503], KSHIB[780], SHIB[4400000], USD[0.17]

08171285                           CUSDT[1], DOGE[107.74399159], SHIB[303013.12432886], USD[0.00]                                                                                                                      Yes

08171286                           BTC[.00269018], CUSDT[3], DAI[9.93807268], KSHIB[233.504866], USD[540.01], USDT[49.7054643]

08171292                           CUSDT[2], USD[16.46]                                                                                                                                                                Yes

08171296                           USD[0.00], USDT[0]                                                                                                                                                                  Yes

08171300                           SHIB[10], USD[9000.00]                                                                                                                                                              Yes

08171303                           ETH[0], ETHW[0], SOL[0], USD[0.92]

08171343                           BTC[.9100153], ETH[11.468265], ETHW[11.468265], SOL[186.97792], TRX[21075.903], USD[7990.67]

08171356                           LINK[1]

08171378                           SOL[0], USD[1.36]

08171383                           NFT (334350573207719769/Fancy Frenchies #1619)[1], NFT (432557105182700726/What Time Is It #18 Of 20)[1], NFT (437233161410133332/DOTB #4911)[1], NFT (515118777780977790/Fancy     Yes
                                   Frenchies #7006)[1], NFT (521008140635649672/Fancy Frenchies #6401)[1], NFT (533873608946722512/Baddies #1225)[1], SHIB[0], SOL[0.00650836], TRX[0], USD[0.00]

08171405                           USD[100.00]

08171408                           USD[20.00]

08171438                           USD[1.00]

08171454                           USDT[.05083308]

08171456                           BF_POINT[300], DOGE[2.00350958], NFT (378393323687627961/Australia Ticket Stub #425)[1], SHIB[3], USD[0.00]                                                                         Yes

08171472                           CUSDT[3], DOGE[1], SOL[1.03334881], TRX[2], USD[314.03]                                                                                                                             Yes

08171480                           BCH[0.00014461], BRZ[0.16000679], BTC[0.01466262], DOGE[104.62172224], ETH[0], ETHW[0], EUR[0.00], GRT[1], KSHIB[11.46344201], SHIB[841533.60290349], TRX[0.00008478], USD[0.00]    Yes

08171489                           CUSDT[1], TRX[210.2996128], USD[5.00]

08171491                           USD[20.00]

08171492                           USD[0.06]

08171493                           USD[398.89]                                                                                                                                                                         Yes

08171519                           BAT[68.84621013], CUSDT[1], USD[0.00]                                                                                                                                               Yes

08171554                           DOGE[1], USD[0.00], USDT[0]

08171555                           USD[0.01]                                                                                                                                                                           Yes

08171559                           BAT[1.00842798], BRZ[3], BTC[.00000087], CUSDT[1], DOGE[3], ETH[.0000066], ETHW[.72216726], SHIB[3], TRX[1], USD[0.01]                                                              Yes

08171561                           NFT (439949746990994430/Coachella x FTX Weekend 1 #95)[1]

08171567                           ALGO[75.0866898], SHIB[1], USD[0.00]                                                                                                                                                Yes

08171574                           ETH[.000064], ETHW[.000064], SOL[.00087], USD[7.19]

08171580                           BAT[0], ETH[0], SOL[1.80480733], SUSHI[0], USD[0.20]

08171591                           BTC[0.00052969], USD[0.00]

08171597                           SHIB[28700000], USD[1.71]

08171599                           CUSDT[1], DOGE[2], USD[5.01]

08171614                           USD[50.00]

08171617                           USD[872.47]

08171618                           TRX[5477.2187527], USD[54.61]                                                                                                                                                       Yes

08171633                           ETHW[1.537461], SUSHI[.334], TRX[.000002], USD[0.00], USDT[0.00000002]

08171639                           BTC[.00002794], USD[0.07]

08171646                           CUSDT[1], TRX[138.6245166], USD[0.00]                                                                                                                                               Yes

08171649                           BTC[.14270014], CUSDT[1], DOGE[1], ETH[.19114637], ETHW[.07452456], SHIB[13], SOL[8.17068826], TRX[1], USD[378.23], USDT[1.02543197]                                                Yes

08171652                           DOGE[100.51723364], ETH[1.06693085], ETHW[1.06647307], TRX[1], USD[0.00]                                                                                                            Yes

08171656                           BRZ[1], CUSDT[2], DOGE[5], ETH[0], GRT[1], SHIB[1], SUSHI[1], TRX[4], USD[7.25], USDT[3]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08171688                              BTC[.00001293]                                                                                                                                                               Yes

08171692                              CUSDT[1], KSHIB[2608.49241659], USD[0.00]

08171696                              BRZ[1], CUSDT[2], SHIB[1], SOL[.00000148], USD[24.17]                                                                                                                        Yes

08171727                              USD[1.46]

08171730                              SOL[4.26], USD[801.50]

08171737                              USD[0.00], USDT[0.00000001]

08171740                              DOGE[1], SHIB[1], USD[0.01]

08171744                              DOGE[1], SOL[.26123772], USD[0.01]

08171746                              BAT[1], CUSDT[2], DOGE[1], ETH[.00036397], ETHW[.00036397], NFT (474771392758346340/God. Bring us a miracle. #7)[1], NFT (543418934105843084/Belt Of The Heaveans #07)[1],
                                      SUSHI[97.36585443], USD[21.87]
08171773                              USD[0.00]

08171778                              USD[0.07]

08171783                              USD[10.00]

08171790                              BRZ[1], DOGE[1], ETH[.35684222], ETHW[.35684222], USD[500.01]

08171812                              SOL[.7]

08171813                              USD[1.00]

08171817                              SOL[3050.59012301], TRX[2], USD[990.46]                                                                                                                                      Yes

08171818                              BTC[0], PAXG[7.14960944], USD[6.51]

08171826                              CUSDT[2], SOL[1.04378669], TRX[1], USD[0.00]

08171832                              BTC[.01296703], USD[0.00]

08171837                              BRZ[1], MATIC[.12566851], TRX[1], USD[0.01]                                                                                                                                  Yes

08171843                              USD[10.00]

08171853                              BTC[.0000764], USD[0.02]

08171868                              GRT[1], SHIB[4], USD[0.00]                                                                                                                                                   Yes

08171875                              USD[10.00]

08171889                              SOL[9.73502], USD[5.18]

08171895                              NFT (564569100856576142/Australia Ticket Stub #1348)[1]

08171897                              BF_POINT[100], BTC[.00000042], DOGE[.30068793], ETHW[0.00000264], MATIC[.00116551], SHIB[.00000002], SOL[.00007694], USD[1.00]                                               Yes

08171910                              CUSDT[1], DOGE[1], SOL[.06250199], SUSHI[4.66490023], TRX[1], USD[0.00]                                                                                                      Yes

08171911                              BTC[.00000006], CUSDT[4], ETH[.00000035], ETHW[.00000035], USD[0.03]                                                                                                         Yes

08171916                              DOGE[.00052394], ETH[.00270108], ETHW[.00267372], USD[0.20]                                                                                                                  Yes

08171918                              CUSDT[7], DOGE[2], ETH[.06171614], ETHW[.06095006], SHIB[1], SOL[1.23512839], TRX[1], USD[0.00]                                                                              Yes

08171924                              USD[10.79]                                                                                                                                                                   Yes

08171931                              ETH[0.01512895], ETHW[0.01512895]

08171934                              USD[0.00]

08171937                              CUSDT[2], SHIB[2], USD[39.36]

08171944                              USD[0.00]

08171948                              BTC[.00043126], ETH[.00234575], ETHW[.00234575], USD[0.00]

08171952                              NFT (288576730214442514/Entrance Voucher #2620)[1], USD[0.00]

08171953                              USD[190.01], USDT[9.94407343]

08171969                              CUSDT[1], MATIC[30.71423416], USD[0.00]                                                                                                                                      Yes

08171974                              USD[25.00]

08171984                              USD[1.08]                                                                                                                                                                    Yes

08171985                              BTC[0], SOL[.00775096], USD[1.21]

08171986                              EUR[142.85], SHIB[4], USD[0.72], USDT[0]                                                                                                                                     Yes

08171994                              BTC[.1133], ETH[1.568], ETHW[1.568], USD[338.09]

08172002                              DOGE[1], SHIB[2], USD[61.14]                                                                                                                                                 Yes

08172010                              USD[0.00]                                                                                                                                                                    Yes

08172013                              BTC[.0000823], DOGE[.871], ETH[.000978], ETHW[.000978], LINK[20.022], USD[1.06]

08172017                              BRZ[3], ETH[.00031428], ETHW[.00031428], MATIC[.41428182], SHIB[10.14961361], TRX[4], UNI[.10914564], USD[0.58]                                                              Yes

08172020                              USD[16.18]                                                                                                                                                                   Yes

08172023       Contingent, Disputed   ETH[.00126525], ETHW[.00125156], USD[0.00]                                                                                                                                   Yes

08172027                              USD[5.00]

08172038                              USD[0.01]                                                                                                                                                                    Yes

08172048                              BTC[.03313094], ETH[.17113487], ETHW[.17113487], USD[0.00]

08172053                              ETHW[2.42565804], USD[1.29], USDT[0]                                                                                                                                         Yes

08172055                              USD[0.01]

08172060                              LTC[.0063225], SOL[.00129], USD[0.46]

08172068                              USD[1.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08172080                              CUSDT[2], ETH[.00620115], ETHW[.00611901], SOL[.12719232], USD[0.00]                                                                                                            Yes

08172082                              CUSDT[1], SOL[4.81939766], USD[485.57]                                                                                                                                          Yes

08172089                              CUSDT[3], DOGE[2], LINK[.00024495], MATIC[.00345468], SUSHI[.00081753], TRX[3], USD[0.00], USDT[0]                                                                              Yes

08172091                              NFT (399821920699098663/Ferris From Afar #898)[1], SOL[.22569853], USD[1.01]

08172095                              BTC[.00414602], CUSDT[3], DOGE[1.00587154], ETH[.12853838], ETHW[.12853838], USD[0.00]

08172097                              NFT (355965305750250275/Sam Koalana)[1], SOL[.1]

08172118                              BTC[.00179829], ETH[.02497625], ETHW[.02497625], LINK[2.57310387], USD[0.00]

08172125                              USD[5.00]

08172141                              BTC[.0068729], ETH[0.10505348], ETHW[74.92634548], SHIB[28338722.16569794], SOL[18.09751], SUSHI[102.318], USD[1.98]

08172145                              BTC[.00173801], CUSDT[3], DOGE[451.82407705], SHIB[2508151.49235013], SOL[.94785569], TRX[1], USD[0.01]

08172152                              CUSDT[3], USD[11.98]

08172157                              BTC[0.00120960], ETH[0.00082710], ETHW[0.00082710], USD[0.09]

08172165                              USD[0.75]

08172174                              ETH[.02641295], ETHW[.02608463], LINK[4.56651199], MATIC[69.37460982], SHIB[5696061.6372305], USD[0.00]                                                                         Yes

08172177                              SHIB[4000000]

08172178                              SHIB[126.80277578], TRX[1], USD[0.00]                                                                                                                                           Yes

08172180                              CUSDT[1], LINK[.84014983], USD[0.00]

08172183                              USD[0.00], USDT[0.00000001]

08172196                              CUSDT[1], TRX[814.90462736], USD[25.00]

08172204                              CUSDT[5], MATIC[.00001384], UNI[4.83614759], USD[0.01]                                                                                                                          Yes

08172211                              BRZ[1], CUSDT[4], TRX[2], USD[0.00]

08172221                              USD[100.00]

08172228                              LINK[1.29626066], SHIB[1], USD[0.00]                                                                                                                                            Yes

08172248                              USD[0.00], USDT[0]                                                                                                                                                              Yes

08172249                              CUSDT[1], SOL[.48709979], USD[0.00]

08172261                              USD[0.00]

08172268                              USD[0.00]

08172271                              BTC[.0277722], SOL[23.48649], USD[5.45]

08172275       Contingent, Disputed   BTC[.00000165]

08172276                              USD[0.28], USDT[0]

08172283                              USD[102.38]                                                                                                                                                                     Yes

08172286                              CUSDT[1], TRX[1084.37923517], USD[0.00]

08172288                              BTC[.00011134], CUSDT[1], USD[0.00], USDT[0.00000001]                                                                                                                           Yes

08172292                              KSHIB[20], USD[0.03]

08172294                              CUSDT[1], SHIB[426766.17216035], TRX[116.85638053], USD[0.00]                                                                                                                   Yes

08172295                              AAVE[2.07160964], DOGE[1], SOL[7.31836213], TRX[2], USD[0.00]

08172305       Contingent, Disputed   NFT (320957078823983396/DOGO-ID-500 #5724)[1]

08172310                              USD[4.42]                                                                                                                                                                       Yes

08172325                              BTC[.0376], USD[-98.57]

08172326                              CUSDT[6], DOGE[1], SHIB[1], TRX[1], USD[0.01]                                                                                                                                   Yes

08172336                              ETH[0], SOL[.00000001], USD[0.31]

08172337                              CUSDT[5], TRX[2], USD[0.00]                                                                                                                                                     Yes

08172344                              SOL[9.76863623], USD[0.00]

08172345                              DOGE[75.27912395], ETH[.01], ETHW[.01], SHIB[1929208.29309595], USD[0.00]

08172347                              USD[2.49]

08172362                              CUSDT[1], TRX[1], USDT[0.00004377]

08172366                              AVAX[0], BRZ[7.42264164], BTC[0], CUSDT[17], DOGE[2104.58506256], GRT[1], MATIC[0], SHIB[2], SUSHI[0], TRX[0], UNI[0], USD[0.00], USDT[0], YFI[0]                               Yes

08172375                              BTC[0], MATIC[0], USD[3.82]

08172382                              BRZ[2], BTC[.00930173], CUSDT[5], DOGE[2], ETH[0.76053434], ETHW[0.76021502], NFT (319521162283855692/Coachella x FTX Weekend 1 #30334)[1], SHIB[2], SOL[0.00080351], TRX[5],   Yes
                                      USD[0.00]
08172385                              SOL[0], USD[0.08]

08172386                              CUSDT[1], USD[16.08], USDT[0.00013682]                                                                                                                                          Yes

08172400                              AVAX[.08], NEAR[.0894], USD[814.15], USDT[0.67158265]

08172401                              CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                     Yes

08172423                              CUSDT[1], GRT[21.95697988], USDT[0]                                                                                                                                             Yes

08172425                              SHIB[2297700], USD[0.43]

08172440       Contingent, Disputed   BAT[.00000916], CUSDT[1], ETH[.00095322], ETHW[.00093954], USD[0.00], USDT[0.00001831]                                                                                          Yes

08172443                              CUSDT[2], DOGE[1], ETHW[.39944585], SHIB[3], USD[1354.95]                                                                                                                       Yes

08172445                              SHIB[500000], USD[1.00]
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              Disputed Indicator
08172457                              USD[161.87]                                                                                                                                                                                      Yes

08172471                              NFT (343304660712822111/Coachella x FTX Weekend 1 #30397)[1], USD[10.00]

08172484                              CUSDT[1], SOL[.02832841], USD[0.00]                                                                                                                                                              Yes

08172486                              ETH[0], SOL[0], USD[0.67]

08172493                              SHIB[811965.81196581], USD[0.50]

08172503                              CUSDT[2], NFT (370209005284553059/Shannon Sharpe's Playbook: Baltimore Ravens vs. Denver Broncos - December 31, 2000 #78)[1], NFT (432270011152977585/Stories write you. The stories of
                                      what they do are also hidden on them. What experiences do they have until they spill? Now who will give this story-filled leaf the amount it deserves)[1], NFT (507709184861850128/2021 Sports
                                      Illustrated Awards #47)[1], USD[3.22], USDT[0]
08172507                              USD[0.00]                                                                                                                                                                                        Yes

08172528                              CUSDT[2], USD[0.01]

08172530                              ETH[.00623752], ETHW[0.00615544]                                                                                                                                                                 Yes

08172536                              BF_POINT[100], USD[0.00]                                                                                                                                                                         Yes

08172556                              CUSDT[1], SOL[.14252028], TRX[1], USD[0.00]                                                                                                                                                      Yes

08172565                              USD[6.00]

08172571                              BTC[0.00022903], DOGE[12], SOL[.09804701], USD[12.08]

08172583                              USD[0.84]

08172589                              BAT[1], CUSDT[1], USD[0.01]

08172592                              USD[0.05]                                                                                                                                                                                        Yes

08172596                              NFT (335303655424871380/FTX - Off The Grid Miami #231)[1]

08172607                              USD[0.00], USDT[0]

08172615                              ALGO[287], USD[0.15]

08172618                              BAT[1.00982876], BTC[.07411322], CUSDT[2], DOGE[3], ETH[.72123412], ETHW[.72093118], MATIC[1215.50852794], TRX[4], USD[0.02], USDT[1.07773122]                                                   Yes

08172621                              SUSHI[.00000582], USD[5.05]                                                                                                                                                                      Yes

08172635                              BTC[.07598288], ETH[.52648864], ETHW[.52626738], TRX[3], USD[0.00]                                                                                                                               Yes

08172645                              DOGE[1], SOL[.05256087], USD[10.00]

08172657                              USD[100.00]

08172668                              BCH[.03639834], BTC[.00050497], CUSDT[4], ETH[.00789521], ETHW[.00779945], USD[26.68], YFI[.0007626]                                                                                             Yes

08172669                              ETHW[.526], USD[1.54]

08172677                              CUSDT[1], USD[0.00], USDT[1]

08172692       Contingent, Disputed   USD[0.94]

08172698                              USD[0.00], USDT[0]

08172701                              ETH[.924606], ETHW[.924606], MATIC[39.96], SOL[22.32972], USD[896.22]

08172705                              SOL[.00029559], TRX[1], USD[0.00]                                                                                                                                                                Yes

08172708                              SOL[.02270988], USD[0.00]

08172714                              USD[0.00]

08172738                              USD[0.00]

08172748                              ETHW[1], NFT (307021493949151011/Cosmic Creations #366)[1], NFT (313205694757561318/Cosmic Creations #528)[1], NFT (529987486348474554/Beasts #651)[1], USD[0.00]

08172755                              CUSDT[1], SOL[.4214032], USD[0.00]                                                                                                                                                               Yes

08172762                              BTC[.00280748], USD[0.00], USDT[0.00000001]                                                                                                                                                      Yes

08172768                              CUSDT[1], ETH[.04667619], ETHW[.04609841], USD[0.00]                                                                                                                                             Yes

08172776                              BTC[0], DOGE[0], SUSHI[.001], USD[0.00], USDT[0]

08172778                              USD[0.00]

08172785                              CUSDT[1], USD[3.46], USDT[107.29186598]                                                                                                                                                          Yes

08172786                              BTC[.00000041]                                                                                                                                                                                   Yes

08172803                              NEAR[99.9], SHIB[1498500], USD[1502.97]

08172807                              SOL[.02265381], USD[0.00]

08172809                              USD[78.53]

08172815                              USD[0.00]

08172816                              USD[0.00]

08172822                              BAT[1], BRZ[2], TRX[1], USD[0.19]                                                                                                                                                                Yes

08172824                              USD[1083.98]

08172829                              NFT (362884204801929562/Coachella x FTX Weekend 2 #8041)[1]

08172833                              KSHIB[0], SHIB[0], USD[0.00], USDT[0]                                                                                                                                                            Yes

08172842                              USD[1.00]

08172859                              CUSDT[0], SHIB[0], SOL[0], USD[0.00]                                                                                                                                                             Yes

08172861                              BTC[.00051975], USD[0.00]

08172864                              ETH[.00210088], ETHW[.00210088]

08172866                              ETH[.00568343], ETHW[.00561503], SHIB[12439594.00129168], USD[0.00], YFI[.00000001]                                                                                                              Yes

08172867                              BTC[.00042519], DOGE[2], ETH[.00590516], ETHW[.00590516], USD[0.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08172873                              USD[0.00]

08172881                              AVAX[.00000113], BTC[0.00000003], ETH[0.00000029], ETHW[0], LINK[.00000674], MATIC[.00017132], SHIB[11], SOL[.00000108], SUSHI[.00002998], USD[0.00]                               Yes

08172883                              USD[0.00]

08172888                              AAVE[.00000001], AVAX[.00000001], BF_POINT[500], MATIC[.00000001], NFT (420506734998917578/BİG BUBLE )[1], USD[0.00], USDT[0]                                                      Yes

08172894                              BRZ[1], CUSDT[2], MATIC[42.21374174], SOL[4.00928707], TRX[1], UNI[.68496423], USD[0.00]

08172895                              USD[0.55]

08172902                              BTC[.00108338]                                                                                                                                                                     Yes

08172904                              LINK[.03137], USD[0.00]

08172906                              BTC[.00000149], SOL[2.22731889]                                                                                                                                                    Yes

08172913                              DOGE[.00142621], USD[1.61]                                                                                                                                                         Yes

08172918                              USD[2.33]                                                                                                                                                                          Yes

08172920                              USD[0.01]                                                                                                                                                                          Yes

08172922                              CUSDT[2], SOL[.00001576], USD[0.00]                                                                                                                                                Yes

08172928                              USD[0.00]

08172954                              USD[5.00]

08172963                              ETH[.10466024], ETHW[.10359248], TRX[1], USD[7.58]                                                                                                                                 Yes

08172967                              BF_POINT[300], CUSDT[3], LINK[2.36447708], SHIB[1958955.66614774], SOL[.58024572], USD[0.00]                                                                                       Yes

08172969                              NFT (509165500574918466/Reflection '13 #89)[1], SOL[199.80989], USD[0.00]

08172984                              BTC[.00249198], TRX[1], USD[50.01]

08172989       Contingent, Disputed   BTC[.00018261]

08172993                              CUSDT[2], NFT (329043315869857497/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #126)[1], NFT (340494027561663797/SolBunnies #3946)[1], NFT            Yes
                                      (403196120295220658/Space Bums #2149)[1], NFT (404699713109286846/Kiddo #1047)[1], NFT (454408936586595676/Baddies #2469)[1], NFT (471126860410706821/Beyond Reach #464)[1], NFT
                                      (474552308183111200/Kiddo #7250)[1], NFT (487932991734650080/SolBunnies #3711)[1], NFT (495590364763477432/David #17)[1], NFT (508080044052369289/ApexDucks #4092)[1], NFT
                                      (511388804253929904/Kiddo #5326)[1], SHIB[1], SOL[.02798762], USD[0.01]
08172999                              ETH[0], KSHIB[0], SOL[0], USD[0.00]                                                                                                                                                Yes

08173012                              BRZ[1], BTC[.01859276], CUSDT[6], DOGE[518.1928137], ETH[.0684321], ETHW[.0684321], SHIB[20904983.03009351], TRX[74.24120239], USD[99.00]

08173035                              SOL[.00527005], USD[0.00]

08173056                              CUSDT[1], SHIB[3], USD[0.00]                                                                                                                                                       Yes

08173057                              USD[0.01]                                                                                                                                                                          Yes

08173058                              NFT (300480876091382402/Sol Viking #98)[1]

08173067                              BTC[.00000439], CUSDT[1], TRX[1], USD[0.01]                                                                                                                                        Yes

08173072                              CUSDT[1], NFT (349093327369150382/Warriors 75th Anniversary City Edition Diamond #96)[1], SOL[2.58215401], USD[0.65]                                                               Yes

08173078                              CUSDT[2], ETH[.01254185], ETHW[.01254185], SHIB[767583.18935631], USD[0.00]

08173091                              USD[0.66]                                                                                                                                                                          Yes

08173101                              USD[20.00]

08173105                              CUSDT[1], GRT[21.11261723], MATIC[4.88721293], SHIB[911464.00792856], SOL[.06417973], USD[0.00]                                                                                    Yes

08173117                              TRX[6633.36], USD[2.00]

08173123       Contingent, Disputed   USDT[0.00000040]

08173127                              USD[0.00]                                                                                                                                                                          Yes

08173128                              BTC[0], ETH[0], MATIC[0], SOL[0], USDT[0.00003501]

08173151                              SHIB[30], SOL[0.00024565], USD[0.00]                                                                                                                                               Yes

08173165                              AAVE[14.17096099], BTC[.0003], DOGE[891.02343779], ETH[.055944], ETHW[.055944], LTC[.00847946], MATIC[150], SOL[8.01308968], SUSHI[.4995], USD[1.57], USDT[.00366]

08173167                              ETH[.00038444], ETHW[8.83138444], NFT (393336830873580433/We Are The Walrus #3993)[1], SOL[13.89022469], TRX[2], USD[3683.43]

08173170                              BTC[.00233811], CUSDT[446.241717], DOGE[53.53982243], ETH[.0007099], ETHW[.00070569], SOL[.40837448], TRX[4], USD[2.78]                                                            Yes

08173174                              USD[0.00]                                                                                                                                                                          Yes

08173190                              DOGE[3004.15345411], ETH[1], ETHW[1], USD[0.00]

08173197                              BTC[.00113177], SOL[.5507087], TRX[2], USD[0.00]                                                                                                                                   Yes

08173202                              USD[0.29]                                                                                                                                                                          Yes

08173210                              DAI[15.7], MATIC[73.26811071], SOL[.00988], USD[21.82]

08173213                              AUD[3.00], CAD[3.00], USD[0.47]

08173221                              CUSDT[1], SHIB[1], USD[18.68]

08173234                              NFT (423729245917167574/Cloud Show 2 #2351 (Redeemed))[1], NFT (437586996228065236/88rising Sky Challenge - Fire #174)[1], NFT (470929855188934515/88rising Sky Challenge - Coin
                                      #408)[1], NFT (485886349741341015/Coachella x FTX Weekend 2 #17027)[1], SHIB[1], USD[0.00]
08173241                              USD[100.00]

08173245                              CUSDT[3], USD[0.00]                                                                                                                                                                Yes

08173252                              BAT[1.00494714], BRZ[8.33305805], CUSDT[96.29708619], DOGE[15.31009106], ETHW[2.24336912], GRT[1], SHIB[67], SOL[.00000001], TRX[33.5696749], USD[0.00]                            Yes

08173257                              CUSDT[1], USD[0.00]

08173259       Contingent, Disputed   DOGE[1], ETH[.00153426], ETHW[.00152058], USD[0.01]                                                                                                                                Yes

08173264                              USD[1068.55]                                                                                                                                                                       Yes

08173271                              CUSDT[1], TRX[1], USD[69.19]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08173272                              USD[0.78]

08173278                              CUSDT[4], DOGE[1], ETH[.00000048], ETHW[.05241821], MATIC[191.9784825], SHIB[50002], TRX[2], USD[0.10]                                                                             Yes

08173287                              NFT (528395491001018088/3D CATPUNK #6378)[1], SOL[.09027376]

08173289                              SHIB[278911.85681313], USD[0.00]                                                                                                                                                   Yes

08173299                              BTC[.00296667], ETH[.00715395], ETHW[.00706667], NFT (354181532038898805/Joe Theismann's Playbook: Washington vs. Miami Dolphins - January 30, 1983 #67)[1], SHIB[3], USD[0.00]    Yes

08173301                              BRZ[1], CUSDT[3], DOGE[1], LTC[.00003501], MATIC[1089.07354171], SUSHI[33.69815859], TRX[1], USD[1010.29]                                                                          Yes

08173303                              BTC[.00054728], ETH[.00217208], ETHW[.00214472], USD[0.00]                                                                                                                         Yes

08173313                              USD[1004.89], USDT[0]

08173314                              USD[25.00]

08173315                              SOL[1.23876], USD[2.53]

08173317                              USD[100.00]

08173323                              ETH[.01203621], ETHW[0.01203621]

08173334                              BTC[1.4387501], ETH[4.1326215], ETHW[4.13134654], LINK[9.56183913]                                                                                                                 Yes

08173338                              CUSDT[1], GRT[1.00000913], USD[39.03]                                                                                                                                              Yes

08173354                              CUSDT[45.11911451], SHIB[571408.52828539], USD[1.08]                                                                                                                               Yes

08173355                              BTC[.00000002], CUSDT[7], DOGE[.00481512], SHIB[25.19340329], TRX[1], USD[0.00]                                                                                                    Yes

08173368                              SOL[.00497324], USD[4.00]

08173369                              USD[0.00]

08173380                              ETH[0], USD[0.00]

08173381                              BTC[.00067374], CUSDT[3], ETH[.00497656], ETHW[.00491203], MATIC[2.38712196], SOL[.18115596], USD[0.00]                                                                            Yes

08173384                              USD[0.01]

08173406                              ETH[.00146738], ETHW[.00146738], SHIB[.00000001], USD[0.26]

08173409                              USD[4.68]

08173417                              BTC[.0052947], ETH[.070929], ETHW[.070929], USD[407.31]

08173437                              USD[15.90]

08173438                              SOL[.44528092], USD[0.00]

08173439                              BRZ[2], CUSDT[8], NFT (362011490876123563/Judgment Day)[1], NFT (439885869969455612/The Burden)[1], SOL[.00718991], TRX[2], UNI[.00783163], USD[39.21]                             Yes

08173441                              CUSDT[2], DOGE[74.24166751], MATIC[13.99087386], SOL[.29525453], TRX[1], USD[0.00]                                                                                                 Yes

08173447                              ETHW[.16167335], SHIB[3], USD[0.00]                                                                                                                                                Yes

08173448                              CAD[6.74], CUSDT[1], SOL[.02950548], USD[5.42]                                                                                                                                     Yes

08173460                              SOL[.00000001], USD[0.00]

08173467                              USD[0.79]

08173478                              USD[0.00], USDT[0]                                                                                                                                                                 Yes

08173479                              CUSDT[1], TRX[1], USD[5.82]

08173492                              BRZ[1], CUSDT[13], TRX[3], USD[125.21]                                                                                                                                             Yes

08173493                              NFT (399521834907076861/Girl Who Series)[1], NFT (514648914792104486/Girl Who Series #2)[1], USD[1.00]

08173502                              USD[0.00]

08173506                              CUSDT[4], DOGE[68.70925816], KSHIB[195.93747443], NFT (488057864445099281/ApexDucks #7061)[1], SOL[.14718533], USD[0.00]                                                           Yes

08173509                              EUR[0.00], GRT[159.52486227], NFT (451052415904133999/Lunarian #3931)[1], NFT (576275032171022412/Imola Ticket Stub #1184)[1], SHIB[1], USD[0.00]                                  Yes

08173510                              BTC[.0020988], ETH[.012], ETHW[.012], LINK[1], SOL[.25], SUSHI[6.993], USD[2.20]

08173522                              KSHIB[616.79524617], SHIB[717801.47662018], SOL[2.66220760], USD[0.00]

08173543                              BTC[.00000011], USD[0.00]                                                                                                                                                          Yes

08173546       Contingent, Disputed   USD[50.01]

08173547                              SOL[.00162], USD[1373.08]

08173549                              NFT (396366847490212191/Coachella x FTX Weekend 1 #7183)[1]

08173553                              ETH[.00073577], ETHW[.00073577], USD[9179.10]

08173557                              SHIB[61085.66421825], USD[0.00]                                                                                                                                                    Yes

08173565       Contingent, Disputed   USD[1.90]

08173577                              USD[5.30]                                                                                                                                                                          Yes

08173579                              DOGE[3], SOL[13.07685651], USD[1.50]

08173612                              ETH[0], ETHW[0.17866833], SHIB[2], TRX[1], USD[0.43]                                                                                                                               Yes

08173616                              USD[5.32]                                                                                                                                                                          Yes

08173623                              USD[12.00]

08173624                              BTC[.00194879], CUSDT[4], USD[0.00]                                                                                                                                                Yes

08173628                              MATIC[4.19328667], USD[0.00]                                                                                                                                                       Yes

08173640                              BRZ[1], CUSDT[3], DOGE[476.36993047], NFT (292465292247630833/SharkBro #4314)[1], NFT (475562400867488276/DarkPunk #8466)[1], NFT (542818512290697411/2974 Floyd Norman - CLE 6-
                                      0104)[1], NFT (566428463295028238/DarkPunk #7945)[1], SHIB[2], SOL[.81879544], USD[0.02]
08173645                              SHIB[38300000], USD[2.75]

08173654                              CUSDT[1], DOGE[.7920295], USD[0.00]                                                                                                                                                Yes
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08173655                           USD[5.00]

08173660                           SOL[.00000001], USDT[0.00000012]

08173662                           USDT[0.00000163]

08173675                           BTC[.17198423], DOGE[4945.98691329], ETH[2.4528395], ETHW[1.76729702], SHIB[15], TRX[3], USD[280.03]                        Yes

08173678                           DOGE[4], ETH[0.00002634], ETHW[0], NFT (393102517043038015/Fancy Frenchies #585)[1], SOL[0], USD[22.31], USDT[1.05912454]   Yes

08173682                           BAT[1.00115121], SOL[.00002424], USD[0.00]                                                                                  Yes

08173698                           DOGE[1], USD[0.01]

08173701                           BTC[.02247061], SHIB[3], SOL[.31732035], USD[0.00]                                                                          Yes

08173702                           LTC[1.10806], SOL[6.19022], USD[95.41], USDT[227.31326345]

08173712                           USD[0.00]                                                                                                                   Yes

08173717                           SHIB[271537.56024669], USD[0.00]                                                                                            Yes

08173722                           SOL[20.93549]

08173730                           BRZ[1], DOGE[3], SHIB[1], TRX[1], USD[0.00]

08173744                           DAI[4.96154746], USD[30.00], USDT[4.98198079]

08173749                           DOGE[55.28345041], USD[0.00]

08173751                           AAVE[4.66], BTC[.0102], ETHW[5.749], MATIC[230], UNI[64], USD[8034.07], YFI[.069]

08173758                           USD[0.00]

08173759                           BTC[0], USD[0.00], USDT[0]

08173762                           USD[103.88]

08173764                           MATIC[2.9877935], USD[0.00]

08173786                           USD[2.83]

08173798                           SUSHI[.999], USD[2.10]

08173799                           BTC[.00638553], CUSDT[17], DOGE[749.21608165], ETH[.07696904], ETHW[.07601413], SHIB[953787.53584483], TRX[1], USD[0.00]    Yes

08173800                           BAT[7.91723774], CUSDT[6], MKR[.00372763], SHIB[208623.08762892], SOL[.24531384], TRX[108.47328194], USD[0.00], USDT[0]

08173802                           BTC[.0086], USD[1.94]

08173811                           MATIC[12.00243859], SHIB[1], USD[0.00]                                                                                      Yes

08173833                           ETH[.00000001], USD[0.00]

08173837                           BTC[0], SOL[0.00000001], USD[0.26]

08173847                           DOGE[1], SOL[0]                                                                                                             Yes

08173859                           MATIC[0], USD[0.30]                                                                                                         Yes

08173869                           USD[0.38]

08173872                           USD[3.24]                                                                                                                   Yes

08173874                           USD[10762.06]                                                                                                               Yes

08173876                           USD[0.18]                                                                                                                   Yes

08173888                           CUSDT[4], SOL[.21528142], TRX[664.2829461], USD[0.00]

08173902                           USD[10.00]

08173905                           SOL[.0543905], USD[0.00]

08173914                           USD[2.80]

08173916                           USD[10.00]

08173918                           SOL[.03167486]                                                                                                              Yes

08173924                           USD[8.21], USDT[1.07865679]                                                                                                 Yes

08173935                           BRZ[1], BTC[.00171709], USD[0.00]

08173936                           BTC[.0017982], DOGE[87], ETH[.0406635], ETHW[.0406635], SOL[.999], USD[0.20]

08173944                           USD[1.28], USDT[0]

08173945                           CUSDT[22], TRX[0.00169230], USD[0.00]                                                                                       Yes

08173950                           CUSDT[1], SOL[.13267307], USD[0.00]                                                                                         Yes

08173967                           BTC[.00187033], ETH[.02848598], ETHW[.02848598], MATIC[3.50083069], PAXG[.01026471], SOL[1.04937301], USD[0.00]

08173974                           TRX[77.69057453], USD[4.32]                                                                                                 Yes

08173976                           BTC[.00000001]

08173982                           USD[93.67]

08173986                           SOL[.74441468], USD[0.00]

08174001                           NFT (289001519239156039/ArunSpeedy Watercolor)[1], NFT (349256405846415848/ArunSpeedy Pokemon Rush)[1], SOL[.988]

08174003                           USD[1.15]

08174004                           ETHW[1.488606], USD[49.04]

08174007                           CAD[1.26], KSHIB[20.60173973], SHIB[51684.06891716], USD[0.00]                                                              Yes

08174018                           BRZ[1], DOGE[1], ETH[.00022257], ETHW[2.00022257], SOL[4.0063593], TRX[1], USD[61.58]

08174033                           LINK[.00000001], TRX[.011336], USD[0.01], USDT[0]

08174035                           BAT[1], BRZ[4], DOGE[2], ETHW[.00000255], SHIB[8], TRX[4], USD[0.00], USDT[1.02199163]                                      Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08174039                              SOL[.00010008], TRX[204.33060962], USD[0.00]

08174043                              ETH[.123], ETHW[.123], NFT (338688114644962046/Cosmic Creations #702)[1], USD[0.01]

08174045                              SOL[.00003619]

08174052                              USD[1078.98]                                                                                                                                                                            Yes

08174059                              TRX[1], USD[0.01]

08174067                              BTC[.00000599], USD[0.00], USDT[0]                                                                                                                                                      Yes

08174078                              ETH[0], ETHW[0]

08174079                              BAT[56.34162586], CUSDT[8], DOGE[184.56761763], LINK[6.61696817], LTC[.06542285], MATIC[28.47748368], SHIB[4], SOL[.99583307], SUSHI[16.83563708], TRX[2], UNI[1.79746626], USD[0.00]

08174080                              ETH[.0000051], ETHW[.55841308]                                                                                                                                                          Yes

08174103                              CUSDT[1], ETH[.00474872], ETHW[.004694], USD[0.00]                                                                                                                                      Yes

08174104                              USD[0.10]

08174111                              USD[45.00]

08174122                              TRX[1], USD[0.00]

08174140                              USD[2979.76]

08174146                              NFT (401509855135677074/Juliet #544)[1], NFT (417979179737119625/Good Boy #7404)[1], NFT (541478050146595766/Romeo #1115)[1]

08174147                              USD[539.54]                                                                                                                                                                             Yes

08174148                              USD[10.79]                                                                                                                                                                              Yes

08174149                              USD[0.00]

08174156                              CUSDT[2], DOGE[.00052784], SOL[0.05872483], USD[0.00]                                                                                                                                   Yes

08174158                              SHIB[5], SOL[.052], TRX[1], USD[0.00]

08174160                              BF_POINT[300], DOGE[271.83082998], LINK[2.96479207], MATIC[7.3749886], SHIB[2868663.80420693], TRX[1], USD[31.94]                                                                       Yes

08174165                              USD[0.01]                                                                                                                                                                               Yes

08174172                              CUSDT[1], ETH[.15318959], ETHW[.15318959], USD[0.00]

08174179                              ETH[1.59165428], ETHW[1.59098586], NFT (503701543395152256/FTX - Off The Grid Miami #3106)[1], SHIB[1], SOL[.06004118], USD[5.90]                                                       Yes

08174188                              BRZ[1], BTC[0], CUSDT[4], DOGE[1], ETHW[.20458112], SHIB[1], SOL[.0000229], TRX[2], USD[0.01]                                                                                           Yes

08174190                              BCH[.08628691], BTC[.00086602], CUSDT[1], DOGE[228.17971783], TRX[1], USD[0.00]

08174191                              BTC[0.01582656], ETH[0.21647367], ETHW[0.21647368], SOL[0], USD[0.00]

08174193                              USD[107.91]                                                                                                                                                                             Yes

08174199                              BRZ[1], BTC[0.00458632], CUSDT[1], ETH[0.04258808], ETHW[0.04205720], LINK[0], SHIB[0], SOL[0], USD[1.40], USDT[0.00023570]                                                             Yes

08174201                              MATIC[129.47431533], SOL[0.00000634], USD[22.87]                                                                                                                                        Yes

08174215                              BRZ[1], CUSDT[1], DOGE[1], SHIB[12449219.78781352], USD[0.00]                                                                                                                           Yes

08174225                              USD[50.01]

08174233                              BAT[29.05380676], DOGE[1], USD[0.01]

08174235                              USD[0.45], USDT[0]                                                                                                                                                                      Yes

08174236                              CUSDT[1], SHIB[2477086.94575179], USD[0.00]

08174278                              NFT (397023244908236281/Coachella x FTX Weekend 2 #12562)[1]

08174286                              BF_POINT[300]

08174287                              ETH[.00000001], ETHW[0], SHIB[5], USD[0.01]                                                                                                                                             Yes

08174289                              TRX[10371.975532]

08174292                              NFT (522655142069359804/Coachella x FTX Weekend 2 #25605)[1]

08174300       Contingent, Disputed   USD[0.00]

08174302                              AVAX[.08737179], DOGE[.3280941], ETHW[.00096744], MATIC[54.945], SOL[.00672061], USD[2157.06], USDT[.002674]

08174305                              USD[10.74]                                                                                                                                                                              Yes

08174313                              USD[0.02]

08174316                              ETH[.00665254], ETHW[.00665254], USD[0.00]

08174322                              CUSDT[2], DOGE[1], USD[0.81]                                                                                                                                                            Yes

08174330                              BTC[0.00000016], DOGE[3], SHIB[8], SOL[0], TRX[3], UNI[1.02434777], USD[0.00], USDT[0]                                                                                                  Yes

08174339                              BRZ[1], SOL[.00163086], TRX[1], USD[0.00]

08174344                              USD[100.00]

08174345                              BRZ[1], DOGE[1219.97081066], SHIB[92652602.48207737], SUSHI[1], USD[0.00]

08174349                              ETH[.00000001], ETHW[0], MATIC[0]

08174356                              NFT (333410866511579049/Hall of Fantasy League #195)[1], NFT (335394440791320615/BANANA #11)[1], NFT (447289644835158031/Marilyn Monroe Painting #2)[1], NFT
                                      (453472083920450578/Shannon Sharpe's Playbook: Baltimore Ravens vs. Oakland Raiders - January 14, 2001 #101)[1], NFT (461610654949101655/Marilyn Monroe Set #4)[1], NFT
                                      (566306898270007454/Cryptographic zombie #2)[1]
08174364                              USD[41.04]

08174366                              DOGE[.00013791], ETH[.00068798], ETHW[.00068426], MATIC[.54140744], USD[0.00]                                                                                                           Yes

08174369                              ETHW[.670329], SHIB[1100000], SOL[3.68631], USD[14.02]

08174373                              BRZ[1], DOGE[1], SUSHI[97.65565929], USD[0.00]                                                                                                                                          Yes

08174375                              BTC[.0002997], ETH[.010991], ETHW[.010991], SOL[.09991], USD[0.70], USDT[7.399]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08174380                           BTC[0], CUSDT[0.00233660], ETH[0], ETHW[0.00000001], MATIC[0], SOL[0], TRX[0.00000100], USD[0.00], USDT[0]                                                                           Yes

08174387                           CUSDT[1], LINK[1.06362026], USD[0.00]                                                                                                                                                Yes

08174390                           SOL[18.96395695], USD[0.00]

08174396                           CUSDT[2], MATIC[7.77675049], USD[0.00]                                                                                                                                               Yes

08174400                           BTC[.00000002], DOGE[1], TRX[1], USD[0.11]                                                                                                                                           Yes

08174425                           USD[0.00]

08174436                           CUSDT[3], KSHIB[333.79349462], MATIC[10.12042493], SHIB[357598.35632528], USD[0.00]                                                                                                  Yes

08174443                           BTC[0], DOGE[0], ETH[0], SOL[0], USD[0.00], USDT[0.00047157]                                                                                                                         Yes

08174448                           BRZ[1], CUSDT[1], USD[0.00]

08174449                           CUSDT[1], TRX[206.73142321], USD[0.00]

08174453                           BTC[0], USD[0.02]

08174454                           SGD[0.00], SOL[.01], USDT[9.8842565]

08174457                           SOL[.2449849], TRX[1], USD[0.01]

08174458                           BTC[.01819827], GRT[2076.12773031], MATIC[212.28826869], SHIB[124], USD[67.97], USDT[0]                                                                                              Yes

08174459                           BAT[.00001836], LTC[.00003411], USD[0.00]                                                                                                                                            Yes

08174467                           LTC[.70686382], TRX[1], USD[0.02]                                                                                                                                                    Yes

08174474                           SOL[.00000001], USD[0.00]                                                                                                                                                            Yes

08174476                           USD[31.75]

08174481                           DOGE[7.00057537], SHIB[0], USD[0.00], USDT[0]                                                                                                                                        Yes

08174488                           CUSDT[3], DOGE[154.6713801], ETH[.02411299], ETHW[.02381203], KSHIB[382.60128316], USD[0.00]                                                                                         Yes

08174525                           NFT (570481688263192068/Warriors 75th Anniversary Icon Edition Diamond #2464)[1]

08174527                           NFT (305269783102308730/DOTB #1219)[1], NFT (315173164122434652/DOTB #8677)[1], NFT (338748687779572217/DOTB #798)[1], NFT (340101801952445576/DOTB #5245)[1], NFT                   Yes
                                   (342945091316676707/DOTB #8578)[1], NFT (371385533185985964/Ghoulie #6967)[1], NFT (375294417458273310/DOTB #8674)[1], NFT (390047436030102222/Settler #1163)[1], NFT
                                   (393985805789020565/DOTB #3594)[1], NFT (396990258428267572/DOTB #3580)[1], NFT (440484860254459546/DOTB #8767)[1], NFT (443676829756981049/DOTB #8689)[1], NFT
                                   (474120201815928401/DOTB #8675)[1], NFT (486851239336296318/DOTB #2819)[1], NFT (508697682514913678/Gloom Punk #4847)[1], NFT (512727835415053981/DOTB #3617)[1], NFT
                                   (515763074012276866/DOTB #5144)[1], NFT (564984112595665251/DOTB #79)[1], SHIB[1], SOL[0], USD[0.01], USDT[0]
08174537                           USD[0.00]

08174538                           DOGE[1], SOL[2.64182124], USD[0.01]                                                                                                                                                  Yes

08174540                           BTC[.00836008], DOGE[1], SOL[9.6100641], USD[0.00]                                                                                                                                   Yes

08174546                           USD[0.17]

08174558                           USD[161.86]                                                                                                                                                                          Yes

08174559                           USD[25.00]

08174562                           LTC[0.00000436], USD[0.00], USDT[0.00091050]                                                                                                                                         Yes

08174564                           BTC[0], CUSDT[1]

08174575                           NFT (323829703324879636/Warriors Gold Blooded NFT #826)[1]

08174584                           DOGE[1], ETH[.0018918], ETHW[0.00186443], SHIB[1], TRX[2], USD[0.01]                                                                                                                 Yes

08174600                           BRZ[1], CUSDT[6], DOGE[339.26042645], TRX[2], USD[563.70]

08174601                           NFT (300975665385306252/ApexDucks #1161)[1], NFT (336004894880686082/SOLYETIS #7482)[1], NFT (369772599152086254/SOLYETIS #4835)[1], NFT (448937416916834959/SOLYETIS
                                   #5914)[1], NFT (559544261335041796/SolPresidents NFT #00197)[1]
08174608                           NFT (470143490358424608/Coachella x FTX Weekend 2 #10805)[1]

08174614                           USD[17.48]

08174617                           SOL[.54945], USD[50.20]

08174627                           NFT (506940293899965552/Astro Stones #23)[1], USD[0.13]

08174629                           BTC[0.00079266], DOGE[0], ETH[0], USD[0.00]

08174639                           ETH[0.00237903], ETHW[.29565]

08174651                           SOL[7.94447335], USD[0.00]                                                                                                                                                           Yes

08174655                           BTC[0], USD[0.01]                                                                                                                                                                    Yes

08174678                           BCH[.37109186], BTC[.02630137], CUSDT[2], DOGE[192.02268822], ETH[.02745633], ETHW[.02711433], SHIB[473523.83440832], TRX[2], USD[16.59], USDT[105.28539486]                         Yes

08174685                           SOL[.52846], USD[5.28]

08174702                           DOGE[2602.06886924], GRT[1], USD[0.00]                                                                                                                                               Yes

08174711                           USD[53.95]                                                                                                                                                                           Yes

08174719                           BCH[.86296858]                                                                                                                                                                       Yes

08174733                           AAVE[0], CUSDT[0], DOGE[1], GRT[0], MATIC[9.34683642], SHIB[2.50000000], TRX[0], UNI[0], USD[4.05], USDT[0]                                                                          Yes

08174746                           BTC[0.00425068]

08174757                           CUSDT[8], NFT (297368705483184367/Mona Lisa Food)[1], NFT (300431592475391541/APEFUEL by Almond Breeze #168)[1], NFT (329894160871785854/APEFUEL by Almond Breeze #816)[1], NFT
                                   (333183356988106142/APEFUEL by Almond Breeze #651)[1], NFT (334787463205408938/Barcelona Ticket Stub #2276)[1], NFT (348622921567458260/APEFUEL by Almond Breeze #605)[1], NFT
                                   (362153182886042636/Mona Lisa Warrior)[1], NFT (382936711602575809/Mona Lisa Old TV)[1], NFT (425000848501718701/APEFUEL by Almond Breeze #474)[1], NFT (426179353268135720/Mona
                                   Lisa Coffee)[1], NFT (426883418293478505/APEFUEL by Almond Breeze #16)[1], NFT (448335237184659064/APEFUEL by Almond Breeze #112)[1], NFT (482966186680772631/APEFUEL by Almond
                                   Breeze #941)[1], NFT (499600963961505783/Mona Lisa San Glass)[1], NFT (505541487823395522/Mona Lisa Nice Place)[1], NFT (543440471688114596/APEFUEL by Almond Breeze #244)[1], NFT
                                   (545611134355582493/Bahrain Ticket Stub #2176)[1], NFT (559442561752012461/APEFUEL by Almond Breeze #915)[1], NFT (568023056829254678/APEFUEL by Almond Breeze #741)[1], SHIB[3],
                                   SOL[1.76121694], TRX[1], USD[0.00]
08174761                           BTC[.00359639], ETH[.00199905], ETHW[.00199905], USD[2.32]

08174763                           BRZ[1], CUSDT[3], DOGE[.65997892], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08174767                              USD[2001.37]                                                                                                                                                                      Yes

08174770                              ETH[.00017448], ETHW[.00017448], SHIB[2], USD[0.00]                                                                                                                               Yes

08174771                              BF_POINT[300], BRZ[1], DOGE[4], ETH[.00000001], ETHW[0], TRX[3], USD[0.01]                                                                                                        Yes

08174776                              AUD[6.74], BTC[.0000998], USD[51.07]

08174778                              CUSDT[.00003062], USD[9.95]                                                                                                                                                       Yes

08174783                              SHIB[58022385.64176024], USD[0.00]

08174784                              CUSDT[3], DOGE[15.28574291], KSHIB[2269.62545127], SHIB[1], SOL[.05307612], TRX[3], USD[0.00]                                                                                     Yes

08174785                              USD[0.00], USDT[0]

08174792                              SOL[0], USD[0.00]

08174793                              CUSDT[3], USD[100.52]

08174797                              BTC[.2247406], DOGE[22148.69397658], ETH[.185], ETHW[.185], GRT[718.93710332], LINK[23.55821259], LTC[4.52044977], MKR[.31307889], SHIB[62645972.35948203], USD[1501.49]

08174815                              BTC[.0086], USD[4.89]

08174817                              SHIB[4], USD[0.01], YFI[.00000001]                                                                                                                                                Yes

08174827                              USD[0.00], USDT[.9942016]

08174830                              USD[0.59]

08174870                              BTC[.0174], DOGE[1943], ETH[.348], ETHW[.348], LTC[1.5], MATIC[19.982], SHIB[6400000], SOL[7.463277], USD[1.91]

08174871                              BTC[.0000984], USD[1.75]

08174873                              USD[1.00]

08174880                              ETH[.00045], ETHW[.00045], USD[94.94]

08174881                              USD[0.00], YFI[.00002274]

08174894                              USD[1.00]

08174906                              ETHW[1.17958611], NEAR[20.7], SOL[9.30589644], UNI[12], USD[0.01]

08174908                              USD[25.00]

08174909                              BTC[.01069185], DOGE[2], ETHW[.2397786], LINK[100.47074], SOL[11.30492613], TRX[525.5266], USD[-557.15]                                                                           Yes

08174913                              DOGE[1], SOL[.48305366], USD[0.00]

08174934                              USD[10.00]

08174937                              SHIB[3], USD[5.38]

08174946       Contingent, Disputed   BTC[0], ETH[0], LTC[0], USDT[0.00000032]

08174963                              ETH[0], MATIC[0], SOL[0], USD[0.00]

08174964                              ETHW[.0001898], USD[204.60]                                                                                                                                                       Yes

08174971                              USD[0.00]

08174984                              BAT[380.10789729], USD[0.06], USDT[0]                                                                                                                                             Yes

08174987                              USD[50.00]

08174988                              CUSDT[3], ETH[.00000001], ETHW[0], GRT[1], USD[47.46]                                                                                                                             Yes

08174989                              USD[0.00]                                                                                                                                                                         Yes

08174992                              USD[10.79]                                                                                                                                                                        Yes

08174995                              BTC[.00245463], CUSDT[1], DOGE[61.43264217], SHIB[8139534.88372093], USD[0.00]

08174998                              ETH[.00000001], ETHW[0], SOL[0]

08175010                              MATIC[.00026558], NFT (475677193558499822/The Hill by FTX #2308)[1], SHIB[1], SUSHI[.00699322], USD[0.11]

08175014                              BRZ[1], CUSDT[1], USD[0.00]

08175018                              BCH[4.99633968], BTC[1.20685786], ETH[.00060724], ETHW[.00060724], SOL[74.95352885], USD[13652.44]                                                                                Yes

08175042                              USD[1.63]

08175053                              CUSDT[3], LTC[.57359462], USD[0.00]                                                                                                                                               Yes

08175060                              AVAX[0], BTC[0], ETH[0], ETHW[0], LTC[0], SOL[0], USD[113.35]

08175062                              ETH[.072972], ETHW[.072972], SOL[2.21], USD[716.72]

08175068                              BTC[.00000232], ETHW[4.56684871], SOL[.00026783], USD[0.00]                                                                                                                       Yes

08175071                              BTC[.004995], LINK[4], USD[1.78]

08175073                              BTC[0], DOGE[0], ETH[0], GRT[0], MATIC[0], PAXG[0], SHIB[0], UNI[0], USD[0.35]                                                                                                    Yes

08175075                              BTC[.00017987], USD[0.00]                                                                                                                                                         Yes

08175079                              USD[0.00]

08175087                              BF_POINT[300], ETH[.00000001]                                                                                                                                                     Yes

08175092                              BRZ[2], BTC[.00267697], CUSDT[2], DOGE[50.53437887], ETH[.05200725], ETHW[.05136429], MATIC[5.34205732], NFT (326217926379018408/NFT BZL 2021 #208)[1], SOL[.98512515], TRX[3],   Yes
                                      USD[0.02]
08175098                              SHIB[2], USD[0.00]

08175103                              BRZ[3], DOGE[9], GRT[4], SHIB[6], TRX[12], USD[0.00], USDT[5]

08175128                              NFT (366507144578938851/C A T)[1], NFT (458886550827080263/D O G)[1], USD[3.00]

08175136                              BTC[.00019744], USD[0.18]                                                                                                                                                         Yes

08175140                              BTC[0], ETH[0], MATIC[71.23135388], SUSHI[0], USD[0.00]

08175141                              SHIB[1], USD[0.00]                                                                                                                                                                Yes
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                                                                                                                                           Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or       Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08175151      Contingent, Disputed   USD[96.52]

08175155                             ETHW[.96270907], USD[4.27]

08175167                             USDT[.06026]

08175171                             CUSDT[3], DOGE[3], SHIB[4511911.87853306], TRX[1], USD[0.00]                                                                                                                              Yes

08175188                             BRZ[2], CUSDT[1], DOGE[1], GRT[1], SHIB[95449561.44527104], TRX[2], USD[48.62]                                                                                                            Yes

08175192                             BAT[1], CUSDT[2], SHIB[404.04645386], UNI[0], USD[0.00], USDT[1]

08175206                             USD[250.00]

08175219                             USD[0.01]                                                                                                                                                                                 Yes

08175225                             CUSDT[0], KSHIB[0], SHIB[48835.46226810], SUSHI[0]                                                                                                                                        Yes

08175239                             BTC[.00008172], ETH[0.00524735], ETHW[0.00517895], USD[0.00]                                                                                                                              Yes

08175241                             USD[1.00]

08175242                             BF_POINT[100], BRZ[1], BTC[.00405277], CUSDT[2], DOGE[1], LTC[.04936052], MKR[.00342908], SHIB[2], SUSHI[1.31257398], USD[0.63]                                                           Yes

08175256                             MATIC[270], USD[18.18]

08175278                             SHIB[1002004.00801603], SOL[.06165837], USD[10.00]

08175279                             CUSDT[2], KSHIB[1161.49117812], SHIB[1160092.80742459], USD[0.00]

08175285                             USD[200.01]

08175300                             USD[10.00]

08175302                             BTC[.00123398], CUSDT[7], DOGE[253.08390701], ETH[.01573946], ETHW[.01554794], KSHIB[1665.26674234], LTC[.00956224], SHIB[1], TRX[1], USD[0.00], USDT[0]                                  Yes

08175313                             USD[0.20]

08175314                             CUSDT[8], GRT[.00042938], SOL[.00000001], TRX[3], UNI[.00004289], USD[39.64]                                                                                                              Yes

08175315                             NFT (303199896089273981/Sugarfoot )[1], NFT (309877062446202560/Jakepaul #2)[1], NFT (313806985196416035/Metaverse Series #2)[1], NFT (315813915245777006/Rainbo)[1], NFT
                                     (349444037363561481/Nemo)[1], NFT (352930663101057036/Bluebonic)[1], NFT (363676601864571533/Dene’ Art Series #3)[1], NFT (372459518030624694/Dene’ Art Series #4)[1], NFT
                                     (393882924909904116/Sugarfoot #2)[1], NFT (396286267225249037/Metaverse Series #6)[1], NFT (424293218728632041/Elvis)[1], NFT (424835300877263499/Metaverse Series #7)[1], NFT
                                     (433798016904571341/Dene’ Art Series)[1], NFT (452272536918619553/Puppykid Seiries )[1], NFT (458853677681505345/Dene’ Art Series #5)[1], NFT (471336774080109321/Metaverse Series)[1],
                                     NFT (473608069872309213/Metaverse Series #3)[1], NFT (488634540082358165/Metaverse Series #5)[1], NFT (528313182092616657/Metaverse Series #4)[1], NFT
                                     (549517357789766170/Jakepaul)[1], NFT (566069765873637039/Puppykid Seiries #2)[1], USD[9.20]
08175319                             CUSDT[1], DOGE[297.39106493], USD[3.01]

08175321                             SHIB[1], USD[0.00]                                                                                                                                                                        Yes

08175322                             BRZ[3], CUSDT[3], DOGE[2], ETH[.00000001], ETHW[0], TRX[1], USD[0.00]

08175323                             USD[0.00], USDT[0]

08175324                             BTC[.0839], ETH[1.03865319], ETHW[1.03865319], SOL[24.9221163], USD[0.00]

08175325                             SHIB[1], USD[0.01]                                                                                                                                                                        Yes

08175326                             BTC[.10880685], CUSDT[1], DOGE[3], ETH[.24689887], ETHW[.24689887], SHIB[12], SOL[10.70644649], TRX[8], USD[680.00]

08175330                             BTC[0.00001697], USD[1.57]

08175343                             BCH[.01891793], ETH[.00267673], ETHW[.00264937], USD[0.04]                                                                                                                                Yes

08175359                             USD[20.00]

08175372                             USD[59.34], USDT[0]

08175373                             USD[20.00]

08175374                             DOGE[.00022019], SHIB[1.11689002], USD[18.31]                                                                                                                                             Yes

08175376                             CUSDT[2], SHIB[1068994.0369417], USD[0.00]                                                                                                                                                Yes

08175380                             BTC[0], LTC[0], SOL[0.05000000], USD[0.01]

08175384                             USD[10.00]

08175395                             AAVE[.01246862], SOL[.00301187], USD[1.61]                                                                                                                                                Yes

08175414                             ETH[.0000002], ETHW[.0000002], KSHIB[2044.7543565], SHIB[2249932.93863403], USD[60.59]                                                                                                    Yes

08175415                             BTC[0], SOL[0]

08175416                             AVAX[0.09136745], ETH[0], USD[0.00], USDT[52.3960625]

08175420                             BAT[1.00627529], CUSDT[4], KSHIB[57.61239818], SHIB[395284.319137], SOL[.00886033], TRX[1], USD[0.37]                                                                                     Yes

08175429                             USD[21.51]                                                                                                                                                                                Yes

08175433                             USD[0.07]                                                                                                                                                                                 Yes

08175437                             CUSDT[1], DOGE[1], SHIB[228885.71313449], USD[0.00]                                                                                                                                       Yes

08175446                             BRZ[1], CUSDT[6], SHIB[28598194.58620814], USD[-70.00]

08175457                             CUSDT[2], SOL[.00002005], USD[0.04]

08175471                             CUSDT[1], DOGE[1], ETH[.11439743], ETHW[.11439743], SOL[.99424544], USD[0.00]

08175473                             TRX[1], USD[0.01]                                                                                                                                                                         Yes

08175475                             USD[0.01], USDT[.002213]

08175477                             CUSDT[1], LINK[.49506212], USD[0.00]

08175485                             BRZ[1], CUSDT[26.56117123], DOGE[1443.50929121], EUR[19.28], SHIB[3], TRX[26.8912301], USD[0.00]                                                                                          Yes

08175490                             USD[10.79]                                                                                                                                                                                Yes

08175496                             CUSDT[4], SHIB[5], TRX[3], USD[0.01]                                                                                                                                                      Yes

08175500                             NFT (576454262469674738/Coachella x FTX Weekend 1 #9638)[1]
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                                                                                                                                              Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08175505                              SOL[.00001083], TRX[1], USD[109.69]                                                                                                                                                  Yes

08175511                              USD[0.64]

08175512                              CUSDT[1], DOGE[1], ETH[.43261118], ETHW[.43261118], USD[0.01]

08175515                              BTC[0], USD[0.00]                                                                                                                                                                    Yes

08175528                              BAT[12.18864992], BRZ[2], CUSDT[7], DOGE[1911.62777281], ETH[.22169215], ETHW[.22169215], SHIB[9244740.79586646], SUSHI[11.4386736], TRX[206.31420498], USD[60.01]

08175536                              DOGE[36.42844904], MATIC[7.15034934], USD[0.00]                                                                                                                                      Yes

08175543                              DOGE[1], TRX[154.11591201], USD[0.00]

08175544                              CUSDT[1], MATIC[13.25209738], USD[0.00]                                                                                                                                              Yes

08175571                              MATIC[10.28895024], SHIB[62593.75705859], SOL[.12948532], USD[0.00]                                                                                                                  Yes

08175612       Contingent, Disputed   USD[0.00]

08175614                              BAT[0], MATIC[0], SOL[0], USD[0.00]

08175629                              SOL[4.92216173], USD[201.36]

08175630                              BTC[.00347321], CUSDT[2], USD[0.00], USDT[0.00007784]

08175637                              BTC[.00132948], CUSDT[2], DOGE[1], SOL[8.84248731], TRX[1], USD[5.43]                                                                                                                Yes

08175638                              TRX[.000043], USD[0.12]                                                                                                                                                              Yes

08175648                              BTC[.00036728], DOGE[1], ETH[.00001003], ETHW[.00001003], USD[0.00]                                                                                                                  Yes

08175655                              BTC[0.00113609], ETH[0], ETHW[0], USD[0.00]

08175656                              USD[40.00]

08175658                              NFT (349146844249647403/Coachella x FTX Weekend 1 #30299)[1]

08175659                              SOL[43.0290835], USD[11.42]

08175664                              BTC[0.01428931], ETH[.0009544], ETHW[.0009544], SOL[0], USD[120.00], USDT[0]

08175681       Contingent, Disputed   USD[0.00]

08175693                              DOGE[1], SHIB[7], SOL[0], TRX[3], USD[156.21]                                                                                                                                        Yes

08175698                              SOL[.00000001], USD[16.36]

08175714                              SOL[.00000001]

08175716                              USD[11.00]

08175719                              DOGE[285.75375313], ETH[0], MATIC[26.27443960], SHIB[1238830.85742444], USD[0.00]

08175741                              BF_POINT[300]                                                                                                                                                                        Yes

08175742                              BTC[.00016224], USD[0.00], USDT[9.96979702]

08175745                              USD[181.46]                                                                                                                                                                          Yes

08175751                              USD[0.00]                                                                                                                                                                            Yes

08175753                              DOGE[71.47792182], TRX[1], USD[5.00]

08175755                              USD[150.00]

08175757                              TRX[1], USD[0.01], USDT[0]                                                                                                                                                           Yes

08175759                              ETH[.64501823], ETHW[.64501823], USD[0.00]

08175779                              KSHIB[2104.45649207], USD[0.00]                                                                                                                                                      Yes

08175794                              BAT[3.22821242], CUSDT[1], TRX[49.69818787], USD[0.00], USDT[9.94109286]

08175802                              BRZ[1], CUSDT[1], DOGE[2], ETH[.4598862], ETHW[.4598862], SHIB[1], SOL[12.51811436], TRX[3], USD[0.00]

08175810                              BTC[.00370592], CUSDT[1], DOGE[513.64383222], USD[0.00]                                                                                                                              Yes

08175817                              SOL[.47952], SUSHI[12.495], USD[302.55]

08175822                              BTC[0.00000014], USD[1000.00]

08175838                              BTC[.00019267], CUSDT[7], DOGE[131.55184034], ETH[.00213885], ETHW[.00211149], SHIB[2501845.26308421], USD[1.17]                                                                     Yes

08175839       Contingent, Disputed   USD[0.87]

08175849                              SOL[.02993654], USD[4.83]

08175860                              SOL[0]

08175863                              CUSDT[1], SOL[.12062531], USD[0.00]

08175867                              USD[0.00]

08175868                              USD[100.00]

08175887                              USD[1.05], USDT[0]

08175895                              SOL[.53], USD[0.42]

08175897                              BAT[11.04270345], CUSDT[3], ETH[.00005456], ETHW[.00005456], GRT[27.29227791], MATIC[4.34669109], USDT[0.01155849]                                                                   Yes

08175907                              DOGE[.00076816], NFT (465444867100966022/Warriors 75th Anniversary Icon Edition Diamond #408)[1], NFT (530247787103170451/Warriors 75th Anniversary City Edition Diamond #344)[1],   Yes
                                      USD[20.61]
08175923                              BF_POINT[200], BTC[0], SHIB[1], USD[0.00]                                                                                                                                            Yes

08175925                              CUSDT[1], USD[19.99]

08175933                              BTC[.00286043], CUSDT[2], DOGE[160.56706313], ETH[.05113311], ETHW[.05049925], SHIB[4], USD[1.05]                                                                                    Yes

08175942                              LTC[.11256597], USD[0.00]

08175958                              BTC[.00021699], CAD[2.62], DOGE[4.76537604], ETH[.00037582], ETHW[.00037582], USD[0.38]                                                                                              Yes

08175965                              SHIB[1], USD[0.01]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08175967                              KSHIB[5.42299499], SHIB[24398099.0687215], USD[0.00]                                                                                                                                          Yes

08175973                              CUSDT[1], DOGE[1], TRX[1], USD[0.00]                                                                                                                                                          Yes

08175996                              CUSDT[4], SOL[3.10057953], USD[0.00]

08175997                              ETH[.00000001], SHIB[2], USD[0.00]                                                                                                                                                            Yes

08175999                              BTC[.0009]

08176014                              CUSDT[2], USD[0.00]

08176031                              BTC[.0001998], SOL[.26973], USD[81.57]

08176035                              ALGO[0], BAT[0], BCH[0.00000074], BRZ[1], BTC[0], DOGE[2], ETH[0.00000020], ETHW[0.00755945], LINK[0], LTC[0.00000101], MATIC[0], SHIB[3], SOL[0], TRX[6.13039377], USD[0.00],                Yes
                                      USDT[0.00014163]
08176040                              BRZ[1], TRX[2], USD[0.01]                                                                                                                                                                     Yes

08176066                              USD[35.01]

08176077                              ETH[.00241772], ETHW[.00239036], USD[0.00]                                                                                                                                                    Yes

08176085                              ETH[0], MATIC[0], SOL[0], USD[0.00]

08176086                              USD[108.84]                                                                                                                                                                                   Yes

08176089                              DAI[0], TRX[40.84372553]                                                                                                                                                                      Yes

08176094                              BAT[.00000915], BCH[0], BTC[0.00825860], CUSDT[1], DAI[0], DOGE[0], ETH[0.00000113], ETHW[0.00000113], LTC[0], MATIC[0], SHIB[0], SOL[0], USD[0.00], YFI[0]                                   Yes

08176101                              USDT[0.00003492]

08176118                              BRZ[1], CUSDT[3], DOGE[3], SHIB[1], USD[1.00]                                                                                                                                                 Yes

08176124                              ETH[.00000022], ETHW[.00000022], USD[0.00], USDT[0]                                                                                                                                           Yes

08176147                              CUSDT[1], USD[0.01]

08176159                              TRX[111.99586]

08176160                              ETH[.00008829], ETHW[.00008829], NFT (343855175125566773/LGBT Bird)[1], USD[0.00], USDT[0]                                                                                                    Yes

08176193                              SOL[.2221637], USD[0.02]                                                                                                                                                                      Yes

08176211                              BTC[.0003]

08176215                              CUSDT[1], KSHIB[537.74832972], SHIB[1841962.07601718], TRX[1], USD[7.54]                                                                                                                      Yes

08176221                              USD[16.04]                                                                                                                                                                                    Yes

08176226                              NFT (290708008613211765/Mob cats collection #141)[1], NFT (294340076359192639/Mob cats collection #127)[1], NFT (310031269321451853/Mob cats collection #148)[1], NFT
                                      (322889956525516473/Mob cats collection #137)[1], NFT (325262944012510607/Mob cats collection #138)[1], NFT (343844755814171776/Funny Monkey Carx)[1], NFT (371880139816667150/Mob
                                      cats collection #155)[1], NFT (388152383120575051/Mob cats collection #134)[1], NFT (404780134987216453/Mob cats collection #125)[1], NFT (425432426498837099/Mob cats collection #104)[1],
                                      NFT (449356368380966563/Sweet Baby Monkey)[1], NFT (504245289991636699/Mob cats collection #143)[1], NFT (543514887339558654/Mob cats collection #17)[1], USD[0.00]

08176243                              USD[0.01]

08176245                              USD[0.49]

08176265       Contingent, Disputed   BTC[0], USD[0.00], USDT[0.00016264]

08176270                              BAT[71.27780411], CUSDT[1]                                                                                                                                                                    Yes

08176281                              BTC[.00000031], DOGE[1], ETHW[.52570161], SHIB[1], SOL[.00010902], TRX[1], USD[2.01]                                                                                                          Yes

08176347                              SOL[0.00000014], USD[0.00], USDT[1207.30577315]

08176360                              BTC[.0001437], DOGE[1], NFT (529021446833077364/Mountain river)[1], SHIB[7], TRX[1], USD[4.09], USDT[0]                                                                                       Yes

08176371                              ETH[0.02423237], ETHW[0.02393141], NFT (378944841256705008/Cool Bean #3419)[1], NFT (500248389472319078/Eitbit Ape #2817)[1], USD[0.00]                                                       Yes

08176406                              USD[10.00]

08176413                              MATIC[0.46133204], USD[0.39]

08176437                              USD[0.00]

08176476                              NFT (345326145628317913/Evolutions #679)[1], NFT (417822861547850741/Evolutions #612)[1], NFT (450809282730479953/Evolutions #227)[1]

08176489                              NFT (290346284853873588/HoloCat - CS#7)[1], NFT (291611140996622919/HoloCat - CS#5)[1], NFT (296334839905713439/HoloCat - CS#9)[1], NFT (297373133743419549/HoloCat #5)[1], NFT
                                      (302643587468772290/HoloCat - CS#6)[1], NFT (305792402662650999/HoloCat #1)[1], NFT (307129922469155520/HoloCat - CS#2)[1], NFT (316180082266735912/HoloCat - CS#8)[1], NFT
                                      (316244239067817257/HoloCat #2)[1], NFT (324956879364514193/HoloCat #9)[1], NFT (392059274126797933/HoloCat - CS#10)[1], NFT (411514563819062511/HoloCat #11)[1], NFT
                                      (424161759484105698/HoloCat #7)[1], NFT (428995007189589831/HoloCat - CS#3)[1], NFT (467775924910148588/HoloCat #6)[1], NFT (497243462101231714/HoloCat #10)[1], NFT
                                      (516238073751149235/HoloCat #8)[1], NFT (521077071141353991/HoloCat #12)[1], NFT (534700221569829288/HoloCat #13)[1], NFT (544492390848933611/HoloCat - CS#4)[1], NFT
                                      (563111722044187535/HoloCat #3)[1], NFT (566637005137689642/HoloCat - CS#1)[1], NFT (574369525998101828/HoloCat #4)[1]
08176496                              CUSDT[1], SHIB[1], USD[0.01]                                                                                                                                                                  Yes

08176498                              BRZ[1], BTC[.4507091], CUSDT[1], DOGE[3], ETH[3.76730296], ETHW[3.76597566], LINK[353.24448454], SOL[16.38224591], USD[0.00]                                                                  Yes

08176536                              CUSDT[13], DOGE[1], ETH[.00001693], ETHW[.00001693], TRX[114.85405153], USD[0.00]                                                                                                             Yes

08176538                              SOL[.00000934]                                                                                                                                                                                Yes

08176540                              TRX[1], USD[0.00]                                                                                                                                                                             Yes

08176547                              LINK[16.8], USD[1.68]

08176550                              BRZ[1], BTC[0], KSHIB[0], USD[0.00]                                                                                                                                                           Yes

08176558                              USD[7.06]                                                                                                                                                                                     Yes

08176580                              CUSDT[1], USD[0.00]                                                                                                                                                                           Yes

08176584                              CUSDT[5], DOGE[1], ETH[.01642563], ETHW[.01622043], NFT (305421893473341591/Shannon Sharpe's Playbook: Baltimore Ravens vs. Oakland Raiders - January 14, 2001 #103)[1],                      Yes
                                      SOL[0.18076833], USD[0.04]
08176600                              CUSDT[1], USDT[0]                                                                                                                                                                             Yes

08176601                              CUSDT[1], LTC[.05020421], USD[0.00]                                                                                                                                                           Yes

08176604                              CUSDT[4], SHIB[625729.68037253], SOL[14.56992942], TRX[3], USD[0.20]                                                                                                                          Yes

08176606                              USD[0.00], USDT[0]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08176621                           ALGO[315.87059623], AVAX[6.36328608], BRZ[1], BTC[0.00607491], CUSDT[1], DOGE[1], MATIC[0], SHIB[13], SOL[12.99980346], TRX[2709.92663598], UNI[0], USD[0.00]                            Yes

08176633                           ETH[.000237], ETHW[.000237], USD[43.07]

08176649                           ETHW[.00000213], KSHIB[0], SHIB[0], SUSHI[.00497836], USD[0.01], USDT[0]

08176652                           BTC[.00748838], USD[0.00], USDT[1.07895231]                                                                                                                                              Yes

08176656                           USDT[1]

08176662                           USD[100.00]

08176664                           CUSDT[.29667004], DOGE[2.64657172], GRT[.34594563], MATIC[1.91335849], NFT (456737661783944195/Tim Brown's Playbook: Michigan State vs. Notre Dame - September 19, 1987 #71)[1],         Yes
                                   TRX[1.00240183], USD[0.00], USDT[0]
08176671                           ALGO[2381.10989187], BAT[1050.18847191], BRZ[2], DOGE[2], LTC[3.97155022], MATIC[519.16910371], SHIB[31629498.09326168], TRX[2.02797895], USD[0.45], USDT[0.78571181]                    Yes

08176673                           BAT[2.06806113], BTC[.00189844], CUSDT[4], DOGE[5], ETH[0.00000589], ETHW[0.00000589], MATIC[.00002646], SOL[.00006189], TRX[5], USD[0.01]                                               Yes

08176694                           USD[0.00]

08176702                           CUSDT[1], SHIB[1138470.20810219], USD[0.00]                                                                                                                                              Yes

08176714                           USD[4.95], USDT[0]

08176748                           SOL[3.63516], USD[1.45]

08176749                           NFT (569297580846694645/The Hill by FTX #6120)[1], USD[2.04]

08176779                           AAVE[3.11200019], AVAX[6.38162465], BRZ[4], BTC[.00000123], CUSDT[4], DOGE[8.00057822], ETH[1.01846796], ETHW[2.03280845], LTC[8.11212383], MATIC[107.75038401], MKR[2.01568101],        Yes
                                   SHIB[23028045.25277927], SOL[.00871721], TRX[2.72972722], USD[1203.13], USDT[0.00036566]
08176792                           CUSDT[9], DOGE[1], KSHIB[594.27806435], SHIB[1], TRX[.00944052], USD[277.03]                                                                                                             Yes

08176807                           CUSDT[6], DOGE[2], ETHW[.26401775], SHIB[8], TRX[2], USD[643.93]                                                                                                                         Yes

08176818                           USD[2.00]

08176828                           CUSDT[1], LTC[2.39706719], USD[0.00]

08176829                           USD[5.39]                                                                                                                                                                                Yes

08176836                           SOL[.00000001]                                                                                                                                                                           Yes

08176838                           USD[0.01]

08176839                           USD[0.02]                                                                                                                                                                                Yes

08176851                           BTC[.00086944], CUSDT[5], MATIC[.0000756], SHIB[.00005876], TRX[1], USD[0.00]                                                                                                            Yes

08176855                           AVAX[8.1883], BTC[.035238], ETH[.513506], ETHW[.455052], SOL[4.87441], USD[1229.86]

08176869                           BTC[0], ETHW[6.70566975], USD[12.57]

08176873                           SOL[0], USDT[.006758]

08176878                           BTC[.0000867], CUSDT[1], DOGE[4.57604357], USD[0.19], YFI[.00003318]                                                                                                                     Yes

08176887                           SOL[.00602], USD[578.21]

08176895                           BTC[.00000002]                                                                                                                                                                           Yes

08176909                           USDT[.644437]

08176918                           CUSDT[1], DOGE[570.24957452], TRX[1], USD[0.00]                                                                                                                                          Yes

08176940                           DOGE[1], TRX[1], USD[0.01]                                                                                                                                                               Yes

08176967                           BTC[.021], SOL[2.29778698], USD[419.17]

08176993                           DOGE[0.62165792], LTC[.00251214], NFT (295739625581934246/FTX - Off The Grid Miami #151)[1], NFT (380894309108417015/Barcelona Ticket Stub #1488)[1], SHIB[3], SOL[.02673672], TRX[1],   Yes
                                   USD[15.17]
08176996                           NFT (394588444977162134/2422)[1], NFT (463124357963636775/3504)[1]

08177005                           DOGE[0], ETH[0], NFT (338359865698499765/Surreal World #62)[1], NFT (367413897690596649/Surreal World #67)[1], SHIB[0], SUSHI[0], TRX[0], USD[0.00]                                      Yes

08177008                           BAT[1.00267019], BTC[.04791283], CUSDT[2], DOGE[3], SHIB[4], SOL[0], TRX[2], USD[0.00], USDT[0.00018272]                                                                                 Yes

08177009                           SOL[9.99], USD[50.00]

08177018                           DOGE[1], ETH[0], KSHIB[0], SHIB[1], TRX[1], USD[0.01]                                                                                                                                    Yes

08177023                           CUSDT[1], NFT (389978361737987309/Solana Squirrel #787)[1], NFT (395918805463964106/Bull #564)[1], NFT (480703453869656510/DOTB #8703)[1], NFT (542248616949653233/DOTB #5260)[1],
                                   SOL[.02537325], USD[0.00]
08177025                           AAVE[0], AVAX[0], BAT[0], BTC[0], ETH[0], ETHW[0], LINK[0], MATIC[0], NFT (335578579890242170/EZU Pass)[1], SOL[0.00000001], TRX[0], UNI[0], USD[0.62], USDT[0.00000001]

08177039                           ETHW[0], SOL[.00000001], USD[0.00], USDT[0]                                                                                                                                              Yes

08177052                           USD[0.00]

08177057                           BRZ[1], CUSDT[3.00459523], MATIC[0], USD[9.21]                                                                                                                                           Yes

08177066                           KSHIB[205.06695846], USD[0.00]                                                                                                                                                           Yes

08177074                           SHIB[297975.99497981], USD[0.00]                                                                                                                                                         Yes

08177075                           ETH[.00000001], USD[0.00]

08177084                           USD[1.78]

08177102                           SOL[.23976], USD[0.00], USDT[1.16590775]

08177109                           BAT[.03364696], SHIB[.00000002], TRX[1], USD[0.01]                                                                                                                                       Yes

08177112                           DOGE[1], SOL[2.16024022], USD[72.39]                                                                                                                                                     Yes

08177113                           KSHIB[168.87873686], MATIC[3.12528552], USD[0.00]                                                                                                                                        Yes

08177130                           ETH[.097], ETHW[.097], USD[53.14]

08177139                           CUSDT[2], USD[0.01]

08177141                           BTC[.0001709], CUSDT[2], DOGE[161.66294259], SHIB[14506.21680491], TRX[1], USD[6.43]                                                                                                     Yes

08177151                           BCH[.0092611], BRZ[30.13973484], BTC[.00110247], CUSDT[736.69307782], DOGE[50.09060872], ETH[.01088934], ETHW[.01075254], LTC[.05100692], MATIC[3.05404028], MKR[.00513613],             Yes
                                   SOL[.0504538], USD[12.91], YFI[.00073334]
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08177154                              BAT[1], BRZ[1], DOGE[5], ETHW[1.13746076], GRT[2], SHIB[3], TRX[2], UNI[1.04080398], USD[0.39], USDT[0]                                                                                  Yes

08177160                              BTC[.0032], SOL[.24], USD[14.81]

08177170                              DOGE[1], MATIC[159.99410594], SHIB[1], USD[0.00]

08177173                              BTC[.00086818], CUSDT[1], SHIB[944832.79803514], TRX[1], USD[0.00]

08177178                              CUSDT[2], NFT (543218776129872766/NFT BZL 2021 #340)[1], USD[0.01]                                                                                                                       Yes

08177179                              NFT (323104901826527553/Slate 3. Untraversed Planets / Cloud Bending)[1], NFT (327201832972295767/Untraversed Planets)[1], NFT (375396275844209850/M/S Slate 1.)[1], NFT
                                      (378964495556961029/Shades of the Breeze)[1], NFT (402833747278940992/Misty Mountain Morning)[1], NFT (441569803139185481/Clear Waters)[1], NFT (449457437101100338/Slate 2.
                                      Untraversed Planets )[1], NFT (548024717530375520/Door to the Deep)[1], NFT (549658062262036989/Washing Moon)[1], USD[16.00]
08177180                              USD[0.00]

08177181                              USDT[0.00000063]

08177185                              USD[0.01]

08177191                              BTC[.00003902], USD[0.00], USDT[0]                                                                                                                                                       Yes

08177195                              CUSDT[2], ETH[0], ETHW[0], NFT (349931454448233705/Red Panda #6663)[1], NFT (356365442113469040/Munk #4237)[1], NFT (371243355942118947/Eitbit Ape #7557)[1], NFT
                                      (448755150416846518/Munk #651)[1], NFT (553320491815692869/Kiddo #1590)[1], NFT (556034524936949129/LightPunk #6823)[1], NFT (561019952830043647/Kiddo #7565)[1], NFT
                                      (575522087265275835/Inverse Bear 3D #7561)[1], SHIB[1], SOL[.06884232], USD[0.00]
08177245                              USD[0.00]

08177248                              SOL[.1], USD[0.00]

08177250                              BAT[0], BTC[0], ETH[0], ETHW[0], LTC[0], SOL[0], USD[0.01]                                                                                                                               Yes

08177251                              BRZ[1], DOGE[2.8226616], SOL[.00000989], USD[0.01]                                                                                                                                       Yes

08177255                              SOL[10.22976]

08177264                              BRZ[1], CUSDT[16], MATIC[.00128765], SHIB[45.0200461], TRX[.00995468], USD[0.00]                                                                                                         Yes

08177274                              BTC[.00032536], CUSDT[3], ETH[.00488886], ETHW[.00483414], SHIB[7.75642048], USD[0.00]                                                                                                   Yes

08177295                              SOL[.00000001]

08177296                              BTC[.00082445], CUSDT[1], SHIB[856831.24720194], TRX[1], USD[0.10]                                                                                                                       Yes

08177297                              KSHIB[190.29588261], USD[0.81]                                                                                                                                                           Yes

08177298                              CUSDT[14], DOGE[174.73041449], ETH[.00000096], ETHW[.00000096], GRT[.00775322], KSHIB[.00766174], MATIC[106.91788544], NFT (349565538871958883/Tim Brown's Playbook: Michigan            Yes
                                      State vs. Notre Dame - September 19, 1987 #76)[1], SHIB[5338778.73466973], SOL[.00000193], TRX[4.00457445], USD[0.00]
08177299                              BTC[0], CUSDT[18], TRX[1], USD[14.43], USDT[0.00000001]                                                                                                                                  Yes

08177306                              KSHIB[259.03870219], SHIB[258131.13061435], USD[0.00]

08177311                              USD[1.00]

08177327                              USD[6.70]

08177329                              CUSDT[1], SHIB[1126216.2157751], USD[0.00]                                                                                                                                               Yes

08177336                              DOGE[1], KSHIB[235.28752959], USD[0.00]

08177340                              DOGE[.00198476], NFT (441886665452628372/One Dino Dollar #6)[1], NFT (550681875426441884/Heavenly water#082)[1], NFT (560461017429952567/Colorflow #4 #2)[1], TRX[1], USD[0.00]          Yes

08177351                              USD[0.29]

08177359                              DOGE[14414.2934], ETH[.014], ETHW[.014], USD[70.94]

08177362                              BTC[.00032881], USD[0.00]                                                                                                                                                                Yes

08177375                              DOGE[46.19319991], USD[50.01]

08177377       Contingent, Disputed   BRZ[2], DOGE[6], GRT[2], SHIB[6], TRX[1.011371], USD[0.00], USDT[0]                                                                                                                      Yes

08177380                              USD[0.00]

08177384                              NFT (314393700874411713/Virgil Abloh Pixel Artwork)[1], NFT (322350766986739868/Lil Yachty/Lil Boat Pixel Artwork)[1], NFT (338806245997725170/Pixel Rappers)[1], NFT
                                      (354566896394351282/The Weeknd)[1], NFT (370611351741431105/Mika Hakkinen)[1], NFT (421217963518187017/NAS Pixel Artwork)[1], NFT (433814642732696580/Sebastian Vettel)[1], NFT
                                      (513738407698916311/DaBaby Pixel Artwork)[1], NFT (524730772499388797/Lil Uzi Vert Pixel Artwork)[1], NFT (561867126219425560/Drake Pixel Artwork)[1], NFT (572074269933062155/Michael
                                      Schumacher)[1], USD[0.00], USDT[0]
08177392                              BTC[0.00525783], DOGE[1023], ETH[.04], ETHW[.08], USD[2.99]

08177406                              CUSDT[1], USD[0.00], USDT[107.25377375]                                                                                                                                                  Yes

08177410       Contingent, Disputed   USD[0.00]

08177430       Contingent, Disputed   USD[0.00]

08177441       Contingent, Disputed   BTC[0.00171610], LTC[22.13285564], USD[39400.00], USDT[51.78634053]

08177442                              ETH[.12938611], ETHW[.12830475], TRX[2], USD[0.00]                                                                                                                                       Yes

08177449                              SOL[0.13451580], USD[0.00]

08177452                              CUSDT[6], DOGE[1], USD[154.35]                                                                                                                                                           Yes

08177462                              CUSDT[1], NFT (333485860987500527/Coachella x FTX Weekend 2 #11477)[1], NFT (352162396536230783/Coachella x FTX Weekend 1 #20903)[1], SOL[.47274875], USD[150.00]

08177469                              DOGE[274.16175116], SHIB[1], USD[1.08]                                                                                                                                                   Yes

08177476                              USD[0.30]                                                                                                                                                                                Yes

08177481                              AAVE[2.75445831], CUSDT[1], USD[0.00]                                                                                                                                                    Yes

08177488                              BTC[0], CUSDT[3], DOGE[1], LTC[0], SHIB[23.34761617], TRX[7], UNI[.00025586], USD[0.00]                                                                                                  Yes

08177492                              USD[500.00]

08177511                              NFT (318157050514789830/Anna Godfrey)[1], NFT (382261780661992211/Asher)[1], NFT (536320860132056712/Angela Don)[1], USD[22.00]

08177536                              ETH[0], NFT (304948614016545596/Settler #431)[1], SOL[0], USD[0.00], USDT[0]

08177540                              DAI[.02501533], SHIB[0], SOL[0], SUSHI[0], TRX[0], USD[0.00], USDT[0]                                                                                                                    Yes

08177544                              SOL[96.85620045]                                                                                                                                                                         Yes

08177547                              NFT (501203398076291365/Coachella x FTX Weekend 2 #7889)[1]
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                                                                                                                                             Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08177554                              CUSDT[4], MATIC[.09160553], TRX[.0000608], USD[6.57]                                                                                                                                  Yes

08177555                              EUR[0.00], TRX[1], USD[0.00]

08177558                              BRZ[1], USD[0.00]

08177561                              USD[1.00]

08177565                              ETH[.00177031], ETHW[.00174295], NFT (471862815675648616/Series 1: Capitals #12)[1], NFT (514830793686349635/FTX - Off The Grid Miami #2483)[1]                                       Yes

08177573       Contingent, Disputed   USD[0.00]

08177575                              ETH[0], NFT (369193287385194486/ALPHA:RONIN #148)[1], NFT (486800387511684860/Toasty Turts #1243)[1], NFT (557513416243628402/Mech #7302)[1], SOL[0.40423888], USD[0.00]              Yes

08177578                              BRZ[27.95106818], USD[0.00]

08177579                              SOL[.00000001]

08177599                              ETH[.00975199], ETHW[5.57975199], USD[0.00]

08177606                              ETHW[0], SHIB[.00000001], USD[0.07], USDT[0]                                                                                                                                          Yes

08177613                              USD[20.00]

08177618                              USD[10.79]                                                                                                                                                                            Yes

08177619                              BTC[.00027783], DOGE[62.58822679], ETH[.00295183], ETHW[.00291079], NFT (426582583606036361/Crypto Boys)[1], SOL[.06747401], TRX[1], USD[0.00]                                        Yes

08177630                              USD[1.00]

08177634                              USD[100.00]

08177636                              NFT (371569400025501042/Tim Brown's Playbook: San Diego Chargers vs. Los Angeles Raiders - September 4, 1988 #65)[1], SHIB[306852.1584601], TRX[1], USD[0.00]                         Yes

08177639                              USD[47.66]

08177643                              BRZ[18.02332543], CUSDT[2], KSHIB[520.21233505], SHIB[296667.1227292], USD[16.17]                                                                                                     Yes

08177650                              CUSDT[1], USD[0.00]

08177654       Contingent, Disputed   NFT (540906717175701729/Citizens)[1]

08177670                              BTC[.03257952], CUSDT[1], DOGE[1], ETH[.16220497], ETHW[.16173729], SHIB[6], TRX[1], USD[0.00], USDT[1.0504551]                                                                       Yes

08177683                              BRZ[28.81058345], CUSDT[459.75674282], DOGE[1], LTC[0.13041288], TRX[1], USD[0.00]

08177687                              BTC[.01175358], CUSDT[4], DOGE[1], SHIB[2], USD[0.00]

08177688                              BRZ[1], CUSDT[3], DOGE[1], SHIB[57187040.4927297], TRX[1], USD[21.93]                                                                                                                 Yes

08177713                              SOL[0], USD[0.01], USDT[557.79876920]

08177729                              BTC[.0000769], ETH[.000975], ETHW[.000975], USD[0.00], USDT[0]

08177736                              CUSDT[1], MATIC[18.22296043], SOL[.02492103], USD[0.00]                                                                                                                               Yes

08177744                              CUSDT[1], USDT[0]

08177751                              USD[0.00]

08177752                              DOGE[349.09881899], LINK[6.12709992], LTC[1.15661667], SHIB[10913231.62474518], SUSHI[10.55426513], USD[0.01]                                                                         Yes

08177753                              USD[10.79]                                                                                                                                                                            Yes

08177770                              USD[0.00]                                                                                                                                                                             Yes

08177774                              BRZ[1], SHIB[1], USD[0.01], USDT[0]

08177778                              CUSDT[2], SHIB[519.00723326], USD[26.73], USDT[0], YFI[.00000051]                                                                                                                     Yes

08177796                              ETH[.00001573], ETHW[.00001573], USD[0.00]

08177800                              USD[3.15]                                                                                                                                                                             Yes

08177807                              USD[5.00]

08177813                              SOL[0], USD[0.00]

08177821                              MATIC[27.972], SHIB[34065900], USD[1.47]

08177826                              DOGE[145.90820136], USD[0.06]                                                                                                                                                         Yes

08177828                              BF_POINT[300], SHIB[1], USD[0.00]                                                                                                                                                     Yes

08177832                              NFT (522789588258362052/Tim Brown's Playbook: New York Jets vs. Oakland Raiders - December 2, 2002 #67)[1], USD[8.19]

08177838                              SHIB[1], USD[1.36]                                                                                                                                                                    Yes

08177839                              SOL[3.98601], USD[1.85]

08177858                              SOL[0], USD[0.23]

08177861                              NFT (294523080720180790/Joe Biden APE)[1], NFT (322029680712785608/Natalia #6)[1], NFT (327714177597351568/2000m x 50 = 1000 (m²) #2)[1], NFT (351307972662817754/Winter Sword)[1],
                                      NFT (371357187841364507/Vladimir Zelensky APE)[1], NFT (373585397601558616/Bitcoin DOG)[1], NFT (386505329717334291/Angela Merkel APE)[1], NFT (397514954232372088/3D Punk)[1], NFT
                                      (398793129116444714/3D Punk #3)[1], NFT (427999550712869065/3D Punk #2)[1], NFT (464119809708869459/Binance DOG)[1], NFT (464278719387540253/Ethereum DOG)[1], NFT
                                      (515275144726126884/APE'S SERİES #11)[1], NFT (525388006174397201/Litecoin CAD)[1], NFT (532348062139880599/Natalia #15)[1], NFT (538276833270759469/XRP CAD)[1], NFT
                                      (545754164567148742/Natalia #9)[1], NFT (567115499895957621/Stellar CAD)[1], NFT (569288771021326376/APE'S SERİES #13)[1], USD[0.00], USDT[0]

08177862                              CUSDT[1], SOL[0]

08177878                              USD[10.00]

08177880                              CUSDT[7110.02297249], TRX[1]

08177885                              BTC[.00000001], USD[0.00]                                                                                                                                                             Yes

08177893                              BTC[-0.00009030], USD[57.47]

08177894                              CUSDT[8], MATIC[0], TRX[2], USD[0.00]                                                                                                                                                 Yes

08177902                              USD[500.01]

08177908                              SHIB[21521526]
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                                                                                                                                             Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08177914                              USD[0.93]

08177921                              BAT[4.26729525], BRZ[8.52882492], BTC[.13701671], CUSDT[213.47572234], DOGE[18.99488976], ETH[1.78443911], ETHW[1.78373713], GRT[5984.10609558], LINK[139.78639933],                       Yes
                                      SHIB[239113.00375656], SOL[43.86637862], TRX[20.187682], USD[3642.76]
08177924                              CUSDT[2], TRX[1], USD[0.00]

08177927                              NFT (333169463367728515/StarAtlas Anniversary)[1], NFT (339569769406613049/StarAtlas Anniversary)[1], NFT (357051560083108649/StarAtlas Anniversary)[1], NFT (382580139487110453/Citizen
                                      Card #44681)[1], NFT (389889847890421562/StarAtlas Anniversary)[1], NFT (398965296900189840/StarAtlas Anniversary)[1], NFT (490546752418206806/StarAtlas Anniversary)[1], NFT
                                      (490917520710802391/StarAtlas Anniversary)[1], NFT (522435158008152285/StarAtlas Anniversary)[1], NFT (537412876224983193/StarAtlas Anniversary)[1]

08177931                              BTC[.01162829], SHIB[1], USD[0.00]

08177937                              SOL[2.71690649], TRX[1], USD[0.01]

08177945                              NFT (382125257791613193/Humpty Dumpty #1626)[1], USD[0.00]

08177946                              BAT[1], CUSDT[4], DOGE[5], SHIB[1708.27717059], TRX[2], USD[0.00], USDT[0]                                                                                                                 Yes

08177950                              TRX[0], USD[0.00], USDT[0]

08177958                              BRZ[1], CUSDT[2], DOGE[2.0231394], GRT[.84973947], LTC[.0000015], NFT (426117298580960858/Zombie Ape #0020)[1], NFT (559450277158118433/Shannon Sharpe's Playbook: Baltimore Ravens Yes
                                      vs. Oakland Raiders - January 14, 2001 #125)[1], SOL[0], USD[0.00]
08177959                              CHF[0.00], NFT (293906945781945455/Shannon Sharpe's Playbook: Baltimore Ravens vs. Denver Broncos - December 31, 2000 #89)[1], SHIB[14589.49645569], USD[0.00], USDT[0]             Yes

08177966                              SOL[.3515678], TRX[1], USD[5.00]

08177973                              AVAX[0.01024505], BAT[0], BTC[0], DOGE[0], KSHIB[0], MATIC[0], SOL[0], TRX[0], USD[0.00]                                                                                                   Yes

08177980                              SOL[2.42], USD[1.29]

08177989                              DOGE[4517.98011873], USD[0.00]

08177995                              CUSDT[1], DOGE[491.59307012], LINK[.00070855], TRX[3], USD[0.01]                                                                                                                           Yes

08178005                              CUSDT[1], TRX[1], USD[0.00]

08178012                              BTC[.3330439], ETH[10.45195322], ETHW[11.02725444]

08178027                              BTC[.002], USD[3.87]

08178028                              BTC[0.10954955], USD[10.28]

08178036                              CUSDT[1], USD[0.00]                                                                                                                                                                        Yes

08178041                              UNI[1], USD[0.00]

08178046                              BTC[.0000162], ETH[.0006228], ETHW[.0006228], MATIC[7.952], USD[0.00], USDT[0]

08178049                              SOL[.25974], USD[0.33]

08178052                              ETHW[.01429615], USD[216.40], USDT[0]                                                                                                                                                      Yes

08178065                              USD[0.80]

08178067                              USD[0.00]

08178072                              USD[50.01]

08178077                              AVAX[4.00003756], DOGE[2537.84256354], ETH[.03127676], ETHW[.03127676], EUR[1026.83], LTC[.7028092], SOL[6.10540077], USD[87.05]

08178086       Contingent, Disputed   AAVE[.000008], BCH[0], BRZ[.01032476], CUSDT[188.72219145], TRX[5], USD[0.00], USDT[0]                                                                                                     Yes

08178095                              ETH[.01], ETHW[.01], USD[0.46]

08178101                              SHIB[0], SOL[0.18962346]

08178103                              BCH[0], BTC[0], SHIB[3], SOL[0], TRX[2], USD[0.00]                                                                                                                                         Yes

08178126                              ETH[.00000001], USD[0.00]

08178133                              USD[6.57]

08178137                              BTC[.00003078], CUSDT[1], ETH[0.00193704], ETHW[0.00190968], LTC[.00009124], USDT[.20150418]                                                                                               Yes

08178141                              AVAX[4.72620177], BF_POINT[300], BRZ[9.03276631], BTC[.10967769], DOGE[2659.97466328], ETH[.24451151], ETHW[.04486494], GRT[120.03567194], LINK[9.79378776], MATIC[180.00875068],          Yes
                                      SHIB[4295296.62080198], SOL[47.89278371], TRX[40.00697441], USD[0.02], USDT[0.54530217]
08178147                              CUSDT[3], USD[0.00]

08178148                              BAT[1], BTC[.0000041], DOGE[3], GRT[2], SHIB[2], USD[0.00]                                                                                                                                 Yes

08178149                              CUSDT[2], TRX[1], USD[0.00], USDT[0]                                                                                                                                                       Yes

08178155                              NFT (450379118417356816/David #796)[1], NFT (499076262049850405/Solarian Laser Eyes)[1], NFT (507430610456667892/David #362)[1], SOL[.079872]

08178162                              USD[200.00]

08178167                              BTC[.00016951], USD[0.00]                                                                                                                                                                  Yes

08178168                              CUSDT[904.07015597], KSHIB[407.29332002], SHIB[470601.12824021], USD[0.00]

08178178                              DOGE[4.55284049], USD[0.00]

08178193                              BTC[0], ETH[0], KSHIB[0], SHIB[1], TRX[0], USD[0.00]                                                                                                                                       Yes

08178196                              ALGO[1], AVAX[1], BAT[1], BRZ[1], CUSDT[1], DOGE[1], GRT[1], KSHIB[1], LINK[1], MATIC[1], NEAR[1], SHIB[2], SOL[1], SUSHI[1], UNI[1], USD[31.48]

08178204                              USD[13.63]                                                                                                                                                                                 Yes

08178206                              BTC[0.00029952], USD[0.00], USDT[0]                                                                                                                                                        Yes

08178212                              CUSDT[1], LINK[3.16551337], TRX[1], UNI[3.92199042], USD[0.00]                                                                                                                             Yes

08178215                              USD[100.00]

08178218                              USD[0.01]                                                                                                                                                                                  Yes

08178219                              CUSDT[2.0413105], KSHIB[998.92684127], USD[0.00]                                                                                                                                           Yes

08178242                              ETHW[.000069], USD[0.06]

08178244                              USD[0.00]

08178246                              ETH[.00114051], ETHW[.00112683], USD[0.00]                                                                                                                                                 Yes
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                                                                                                                                            Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08178258                              BTC[.00005242], DOGE[18.08264244], SHIB[1], USD[0.00]

08178262                              USD[0.00]

08178266                              SHIB[2], TRX[1], USD[0.33]

08178275                              USD[10.79]                                                                                                                                                                                   Yes

08178276                              ETH[0.06406215], ETHW[0.06406215], SOL[.0093681], USD[0.00]

08178277                              BTC[.00000002], CUSDT[1], DOGE[2], SHIB[20.62048491], TRX[2], USD[0.00], USDT[0.00020599]                                                                                                    Yes

08178284                              CUSDT[1], TRX[1], USD[0.01]                                                                                                                                                                  Yes

08178297                              BAT[.62145749], BRZ[5.58573341], BTC[.000125], DOGE[7.14488971], KSHIB[20.8453976], MKR[.00031749], PAXG[.00054843], SUSHI[.00887883], USD[1.13]

08178299                              BRZ[1], CUSDT[2], DOGE[153.39595625], SHIB[1767114.2466058], SOL[12.62022676], SUSHI[1], TRX[3], USD[0.00]

08178301                              CUSDT[1], DOGE[1], USD[0.00]

08178307                              MATIC[5.79863896], USD[0.00]                                                                                                                                                                 Yes

08178308                              CUSDT[3], TRX[1], USD[39.94]

08178309                              USD[300.00]

08178314                              LINK[.0321], MATIC[1398.18], USD[12.27], USDT[0]

08178316                              SHIB[1498500], USD[2.31]

08178325                              USD[4.91]                                                                                                                                                                                    Yes

08178331                              USD[1.00]

08178337       Contingent, Disputed   ETH[.00073386], ETHW[.00072934], USD[0.00]                                                                                                                                                   Yes

08178345                              ETH[.698028], ETHW[.698028], USD[1002.47]

08178354                              BRZ[1], BTC[.02902841], CUSDT[1], DOGE[4], ETHW[.11025091], SHIB[18], SOL[.89208992], TRX[3], USD[92.90]

08178362                              USD[20.00]

08178370       Contingent, Disputed   USD[358.29]

08178381                              TRX[2213.80307102], USD[0.00]                                                                                                                                                                Yes

08178396                              GRT[2.99457847], UNI[.13895259], USD[0.51]                                                                                                                                                   Yes

08178401                              SHIB[1134768.01147948], TRX[1], USD[0.00]

08178410                              BTC[0], SOL[0.07000000]

08178412                              AAVE[0], BTC[0], CUSDT[2], DOGE[1], ETH[0], MATIC[0], PAXG[0], SHIB[12.20642474], SOL[0.00000022], USD[0.01]                                                                                 Yes

08178414                              AVAX[1.4985], LTC[.78921], NFT (296796878817039460/greenish beautiful Ezgi)[1], NFT (297782868681844310/a tiny gazelle)[1], NFT (305528508119370217/daughter of the secret house)[1], NFT
                                      (306560068788680585/princess egida)[1], NFT (309629784497949283/Trusting Your Love)[1], NFT (317307961759165273/in space)[1], NFT (322554834722934327/fethenia flower)[1], NFT
                                      (339834330665652929/hi i'm zea)[1], NFT (348472938287045388/filler white)[1], NFT (355715083428561079/mercy)[1], NFT (368707313396570842/water)[1], NFT (374410751517676622/rich mist)[1],
                                      NFT (381148077738057611/Ella)[1], NFT (381784676203579455/filler chest simay)[1], NFT (390255386324098345/Miniskirt gratuity)[1], NFT (391731284653698086/portrait icon)[1], NFT
                                      (400181310128569297/did the bully)[1], NFT (402004284445904883/glowing flame)[1], NFT (403083596768666706/sexsula)[1], NFT (405336972863030050/star #3)[1], NFT (405917050801290839/star
                                      #2)[1], NFT (407235281307995630/summer girl dudi)[1], NFT (407727514507272790/sexy me)[1], NFT (414590735075122402/witch building)[1], NFT (422374269165705317/What is love?)[1], NFT
                                      (431853119152626605/Alexandra #2)[1], NFT (454203207583372123/orange is embarrassed)[1], NFT (463858188850223623/Alexandra #4)[1], NFT (467515528819017603/Fantasy Girls#23)[1], NFT
                                      (469215247872030131/APEFUEL by Almond Breeze #70)[1], NFT (469513011700782699/Quinn)[1], NFT (476268568553778692/Suzi)[1], NFT (485287762921800436/my bad)[1], NFT
                                      (487464431093500565/warrior zeze)[1], NFT (498583620018638705/queen of glasses melitra)[1], NFT (502197284397871893/Alexandra #3)[1], NFT (513511743533188127/Khloe)[1], NFT
                                      (513608706808480008/i love you)[1], NFT (517118020639393333/awesome frame)[1], NFT (519020549605728643/Emosh with a hat)[1], NFT (521785151495048309/cat's mother)[1], NFT
                                      (523266320457883336/sexy siva)[1], NFT (528314642878208840/Alexandra)[1], NFT (536615856871987176/the beauty queen)[1], NFT (537754024644698444/crazy girls)[1], NFT
                                      (539584108565257286/secretary mat)[1], NFT (542686126394283276/spider girl)[1], NFT (554381511908861115/blue black text)[1], NFT (563946348449293323/star)[1], NFT
                                      (568138525130323029/vampire Asiyee)[1], NFT (573711423167333240/candy girl own)[1], SOL[1.46], USD[26.52]
08178418                              CUSDT[2], DOGE[.0009533], SHIB[2.05764343], SOL[.02199805], USD[0.00]                                                                                                                        Yes

08178425                              BTC[.00008559], DOGE[22.90268333], ETH[.00112611], ETHW[.00112611], SHIB[114259.59780621], USD[0.00]

08178436                              KSHIB[12030.01431499], USD[0.00]

08178445                              ETH[.00000001], ETHW[0], SOL[0.04398264]

08178449                              BTC[.0001998], DOGE[41.958], ETH[.001998], ETHW[.001998], SOL[.10989], USD[2.87]

08178456                              CUSDT[4], DOGE[2], ETH[0], MATIC[0.00040971], USD[0.01]                                                                                                                                      Yes

08178470                              CUSDT[1], SHIB[383362.08548974], USD[0.00]

08178476                              NFT (406981038722528115/Reflection '11 #70 (Redeemed))[1], NFT (500590562991711449/Vintage Sahara #688 (Redeemed))[1]

08178478                              CUSDT[1], SOL[2.57137135], USD[0.00]                                                                                                                                                         Yes

08178482                              BTC[.00000115], SHIB[4], USD[0.00]                                                                                                                                                           Yes

08178483                              USD[1.08]                                                                                                                                                                                    Yes

08178490                              BRZ[1], BTC[.00416166], CUSDT[5], DOGE[.00420529], ETH[.04027621], ETHW[.03977539], MATIC[319.50329872], TRX[6], USD[0.00]                                                                   Yes

08178493                              CUSDT[3], DOGE[247.88932669], KSHIB[571.96574668], SHIB[1199515.15008686], TRX[1], USD[423.48]                                                                                               Yes

08178495                              BCH[.08669627], BRZ[1], BTC[.00182913], CUSDT[4], DOGE[779.15178794], ETH[.01126911], ETHW[.01126911], SOL[.27392952], TRX[1], USD[0.02]

08178511                              SOL[.097988], USD[0.00]                                                                                                                                                                      Yes

08178525                              USD[500.01]

08178540                              USD[100.00]

08178545                              BCH[.00173109], BTC[.00025929], CUSDT[1], DOGE[55.56084099], ETH[.00112725], ETHW[.00112725], SHIB[254402.23010429], SOL[.06231827], USD[0.00]

08178552                              BAT[2.0643685], CUSDT[2], DOGE[1.28080028], ETH[.73415228], ETHW[.73384408], GRT[4.13006487], LINK[1.07441948], SOL[.00139344], SUSHI[2.15251393], TRX[7], USD[250.33],                      Yes
                                      USDT[1.07586561]
08178564                              DOGE[85.07475533], USD[0.08]                                                                                                                                                                 Yes

08178566                              USD[2.40]

08178603                              ETH[2.361636], ETHW[2.361636], USD[43.42]

08178609                              ETH[.00071779], ETHW[.00071358], USD[0.00]                                                                                                                                                   Yes
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                                                                                                                                          Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08178610                           USD[0.00]

08178616                           BTC[.03373964], ETH[.47112205], ETHW[.47112205], SOL[16.96196698], USD[0.88]

08178637                           SOL[.00030576], USD[0.00]

08178639                           KSHIB[23.41682915], SOL[.00478091], TRX[10.05694664], USD[0.00]                                                                                                                           Yes

08178670                           ETH[0], KSHIB[0], NFT (418904596089872022/Idlekids #6722)[1], SOL[0], USD[0.24], YFI[0]                                                                                                   Yes

08178671                           ETH[.055944], ETHW[.055944], USD[2.89]

08178673                           ETH[.005], ETHW[.005]

08178685                           USD[100.00]

08178687                           AAVE[0], ALGO[1.93554003], BAT[0], BCH[0.00003635], BRZ[0], BTC[0.00040558], CUSDT[0.75000000], DAI[0], DOGE[1.36663339], ETH[0.00075412], ETHW[0.00074747], EUR[0.00], GBP[0.00],        Yes
                                   GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0.64403292], MKR[0], PAXG[0], SGD[0.00], SHIB[31022.47660732], SOL[0.07728026], SUSHI[0], TRX[4.40362689], UNI[0], USD[0.00], USDT[0], YFI[0],
                                   ZAR[0.00]
08178690                           USD[0.00]

08178692                           BTC[.00013977], CUSDT[91.15132801], DOGE[22.96906177], KSHIB[41.84824445], SHIB[263019.46344029], SOL[.03385522], USD[0.00]

08178695                           BRZ[56.17489476], CUSDT[1], MATIC[60.0917681], USD[0.00]

08178697                           BRZ[1], BTC[.00255478], CUSDT[3], DOGE[1], ETH[.0438771], ETHW[.0433295], TRX[1], USD[0.49]                                                                                               Yes

08178698                           USD[10000.00]

08178707                           AAVE[.0099], ALGO[.994], AVAX[.0959], BAT[10.94], BRZ[.691], BTC[0.00019120], ETH[.000852], ETHW[.01188], GRT[100.451], LINK[.07368], MATIC[.73], MKR[.000992], NEAR[3.084], NFT
                                   (406224478396639825/Saudi Arabia Ticket Stub #1822)[1], NFT (527895938299228094/Barcelona Ticket Stub #680)[1], SHIB[99200], SOL[.00294], SUSHI[.985], TRX[.9], UNI[.099], USD[0.00],
                                   YFI[.0000958]
08178730                           CUSDT[1], ETH[.0120254], ETHW[.01187492], USD[0.01]                                                                                                                                       Yes

08178732                           BTC[0.00000430], DOGE[1], ETH[.00004575], ETHW[0.00004574], TRX[1]                                                                                                                        Yes

08178735                           USD[0.00]

08178748                           CUSDT[3], SHIB[3], SOL[.00000086], USD[0.00]                                                                                                                                              Yes

08178751                           TRX[.331], USD[0.01], USDT[0]

08178755                           CUSDT[4], TRX[1], USD[0.91]                                                                                                                                                               Yes

08178761                           BAT[31], MATIC[40], USD[17.06], USDT[.81]

08178774                           USD[537.33]                                                                                                                                                                               Yes

08178779                           SOL[.00683733], USD[0.00]

08178780                           USD[0.00]

08178790                           SOL[1.9200347], USD[0.00]

08178792                           USD[4.78]

08178793                           USD[6.47]                                                                                                                                                                                 Yes

08178799                           BTC[.00000001], ETH[.00669147], ETHW[.0000002], SHIB[2], USD[3.32], USDT[0.00000001]                                                                                                      Yes

08178802                           ETHW[0], USD[0.01], USDT[0]                                                                                                                                                               Yes

08178804                           USD[0.00]

08178805                           USD[2263.00], USDT[0.00001715]

08178809                           USD[15.00]

08178831                           SOL[.00000001]

08178846                           KSHIB[233.72557158], USD[0.00]                                                                                                                                                            Yes

08178848                           BTC[.0256267], CUSDT[2], DOGE[4], ETH[.03810222], ETHW[.03762783], SHIB[1], USD[6.03]                                                                                                     Yes

08178850                           LINK[35.4181249], UNI[.00000001]

08178863                           USD[0.01]                                                                                                                                                                                 Yes

08178864                           USD[750.00]

08178873                           DOGE[.531], ETH[.000773], ETHW[.000773], USD[0.80], USDT[0.00999874]

08178878                           BTC[0], LINK[0], SHIB[0], SOL[0], USD[0.00]                                                                                                                                               Yes

08178879                           TRX[1], USD[0.01]

08178882                           BF_POINT[200], BTC[0], ETH[0], SOL[0], USD[0.00], USDT[0]                                                                                                                                 Yes

08178889                           NFT (303212900100432147/Coachella x FTX Weekend 1 #25705)[1]

08178897                           TRX[0], USD[0.00]

08178906                           CUSDT[1], USD[0.00]

08178916                           USD[26.88]                                                                                                                                                                                Yes

08178918                           BTC[.00205972], CUSDT[137.68546851], DOGE[2006.8707207], SHIB[980802.33555926], USD[0.02]

08178927                           BTC[1.3017969], USD[40.62]

08178945                           USD[1.00]

08178948                           BTC[0.00059387], ETH[.167], ETHW[.167], LTC[.7], MATIC[410], SOL[1.22], USD[23.02]

08178955                           SHIB[86.03082794], SOL[.50124205], UNI[.00147035], USD[0.00]                                                                                                                              Yes

08178963                           BAT[1], BRZ[1], DOGE[4], ETH[.00004621], ETHW[5.06091579], MATIC[.00378055], NFT (313998254942887781/Astral Apes #424)[1], NFT (354491717502964070/Astral Apes #2616)[1], NFT             Yes
                                   (405349170384684681/Astral Apes #1985)[1], NFT (461093883248931972/Astral Apes #3079)[1], NFT (496462553742203018/Astral Apes #801)[1], NFT (541771362857810377/Astral Apes #29)[1],
                                   SHIB[5], SOL[0], TRX[1], UNI[1.01290459], USD[0.00], USDT[1.01291371]
08178976                           BAT[165.47128288], BRZ[1], BTC[.00634479], CUSDT[11], ETH[.11248808], ETHW[.11137589], GRT[118.49906965], LINK[4.31440604], LTC[.5247888], MATIC[164.24365401], SOL[2.5225919],           Yes
                                   TRX[1114.06698188], UNI[11.51313342], USD[0.00], USDT[0.00001103]
08178985                           ETH[0], NFT (352881849940460212/Humpty Dumpty #641)[1], USD[0.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08179002                              MATIC[0], SHIB[0], USDT[0]

08179032                              USD[1.00]

08179035                              BRZ[55.79431181], CUSDT[450.36078402], KSHIB[230.02905036], TRX[104.39041691], USD[0.00]

08179044                              BTC[.00025711]

08179045                              ETH[.8200692], ETHW[.8200692], SOL[23.59370048]

08179046                              USD[11.14]

08179055                              SOL[3.988], USD[2.15]

08179056                              CUSDT[1], TRX[2201.52214138], USD[0.00]                                                                                                                                        Yes

08179058                              BTC[.01681586]

08179061                              USD[0.80]

08179064                              CUSDT[21], DAI[.75816624], DOGE[2], KSHIB[.00003115], LTC[.00058143], MATIC[.00007954], SOL[.02549112], SUSHI[.00940152], TRX[4], UNI[.00781302], USD[0.18]                    Yes

08179076                              SOL[6.57385738], USD[0.00]

08179083                              ETHW[.0007461], SOL[.00970251], USD[0.00]

08179095                              TRX[1], USDT[0.00007794]

08179099                              NFT (501769110177238552/The Hill by FTX #2654)[1]

08179102                              BTC[.90595923], UNI[0], USD[0.00], USDT[0.00018850]

08179113                              USD[0.02]

08179118                              USD[7.32]                                                                                                                                                                      Yes

08179120                              CUSDT[1], SHIB[1], SOL[2.12495025], USD[78.46]                                                                                                                                 Yes

08179121                              USD[200.01]

08179123                              USD[0.36]

08179128                              CUSDT[7], DOGE[3], GRT[.00345383], SHIB[2], SUSHI[0], TRX[3], USD[0.00]                                                                                                        Yes

08179129                              BRZ[3], CUSDT[9], DOGE[1], LINK[.00007362], LTC[.00004585], TRX[1], USD[0.01]                                                                                                  Yes

08179132                              SOL[.10949456], USD[0.00]

08179134                              USD[10.79]                                                                                                                                                                     Yes

08179136                              USD[0.00]

08179143                              NFT (489509643711285171/FTX - Off The Grid Miami #2463)[1], USD[10045.98]

08179145                              USD[0.10]                                                                                                                                                                      Yes

08179148                              CUSDT[2], DOGE[445.9650465], ETH[.04236235], ETHW[.04236235], NFT (574929658528865966/Fancy Frenchies #2072)[1], SHIB[1913143.29443275], SOL[1.82438455], TRX[2], USD[50.00]

08179164                              SHIB[2], SOL[4.33435859], TRX[1], USD[0.37]

08179167                              CUSDT[1], DOGE[2], GRT[1], SOL[5.36306804], USD[0.00]                                                                                                                          Yes

08179169                              BCH[.05098128], CUSDT[7], LTC[.15158829], MATIC[4.32228482], USD[0.00], USDT[0]

08179173                              BCH[.0123401], CUSDT[6], DOGE[99.23327337], ETH[.00000002], ETHW[.00000002], SHIB[368810.35955141], TRX[.10034963], USD[0.14]                                                  Yes

08179187                              USD[3007.30]

08179191                              CUSDT[3], LINK[.00000054], TRX[1], USD[21.50]                                                                                                                                  Yes

08179192                              ETH[.10263405], SHIB[1], USD[0.00]                                                                                                                                             Yes

08179198                              CUSDT[8], DOGE[1], SHIB[5], SUSHI[0], USD[13.78]                                                                                                                               Yes

08179201                              USD[0.00], USDT[0.00000050]

08179205                              CUSDT[2], DOGE[1], SHIB[5635123.92392773], TRX[1], USD[0.00]                                                                                                                   Yes

08179220                              BRZ[1], NFT (294018404976038137/Cyber Pharmacist 1058)[1], NFT (512182219339115003/Astral Apes #1442)[1], SOL[.89105622], USD[0.00]                                            Yes

08179241                              CUSDT[1], KSHIB[115.78201488], SHIB[1267573.17354229], USD[0.01]

08179264                              USD[10.00]

08179271                              CUSDT[5], TRX[.07029214], USD[0.00]                                                                                                                                            Yes

08179285                              USD[15.97]

08179292                              CUSDT[1], TRX[1], USD[0.01], USDT[0]

08179297                              USD[0.00], USDT[0]

08179299                              CUSDT[1], USD[0.00]

08179303                              CUSDT[2], ETH[.01280789], ETHW[.01264373], KSHIB[581.25763808], SHIB[1], TRX[1], USD[20.69]                                                                                    Yes

08179318                              TRX[2350.06494295], USD[0.01]

08179322                              CUSDT[15], DOGE[1], ETH[.00000002], ETHW[.00000002], TRX[3], USD[124.89]

08179332                              BTC[0], DOGE[1], SHIB[2], TRX[1], USD[0.00]                                                                                                                                    Yes

08179341                              CUSDT[2], GRT[16.67904263], SHIB[276395.53696463], USD[0.00]                                                                                                                   Yes

08179345                              AAVE[.04993], BTC[0.00010802], GRT[10.985], LINK[.2882], LTC[.02997], MATIC[7.02], MKR[.001998], SOL[.10894], TRX[21.897], UNI[.34935], USD[0.11], USDT[0]

08179350                              ETH[.0259753], ETHW[.0259753], USD[4.74]

08179352                              CUSDT[1], SOL[.02342299], USD[1.62]

08179354                              USD[29.86]                                                                                                                                                                     Yes

08179357       Contingent, Disputed   BTC[0], USD[0.01], USDT[72.75087000]

08179375                              AVAX[1], BAT[10], BTC[.0006], MATIC[20], SHIB[100000000], SOL[3.27], USD[70.91]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08179379                              ETH[.000237], ETHW[.000237], USD[0.00]

08179383                              USD[500.01]

08179393                              USD[20.00]

08179408                              ETHW[2.117929], NFT (359510878569916307/Dinosaur #1)[1], NFT (449032183465987993/Deer #3)[1], USD[917.28]

08179415                              NFT (355812341880183758/Reawaken, by Wetiko and Remixed by Degen Poet For FTX #15)[1], NFT (477748140621811802/Reawaken, by Wetiko and Remixed by Degen Poet For FTX #14)[1], NFT
                                      (478043581594978552/FTX - Off The Grid Miami #6145)[1], SOL[.1435716], USD[1.00]
08179434                              USD[199.42]

08179437                              DOGE[5990.34382175], SHIB[13036626.19224815], USD[0.07]

08179443                              SOL[.00000001]

08179463                              BTC[.00000017], NFT (303561277972145350/FTX Crypto Cup 2022 Key #2146)[1], NFT (386787679626667524/The Hill by FTX #5360)[1], USD[200.53]                                             Yes

08179465                              CUSDT[545.22192396], NFT (445307624340399543/El Broken Yolk)[1], USD[0.00]                                                                                                            Yes

08179468                              NFT (478669115368348651/FTX - Off The Grid Miami #122)[1]

08179469                              SOL[1.7], USD[0.74]

08179473                              USD[0.00]

08179478                              BRZ[1], BTC[.08978726], DOGE[2], SHIB[20], TRX[9], USD[12.44]                                                                                                                         Yes

08179483                              SHIB[213074.19812299], USD[0.00]                                                                                                                                                      Yes

08179487                              BTC[0], SHIB[2], TRX[2], USD[0.00]                                                                                                                                                    Yes

08179493                              BRZ[1], CUSDT[3], DOGE[3], SHIB[2], USD[44.53]

08179495                              DOGE[.309], USD[4.08], USDT[1192.65615]

08179496                              ETH[0], TRX[0]

08179501                              ALGO[0.17251886], BTC[0], TRX[.00000001], USD[0.00]                                                                                                                                   Yes

08179509                              USD[40.01]

08179516                              CUSDT[1], NFT (428280508008346185/Autumn 2021 #690)[1], SOL[1.92840874]                                                                                                               Yes

08179518                              BAT[2], BRZ[3], DOGE[1], ETH[.66330687], GRT[1], SHIB[3], SOL[50.60832187], TRX[1], USD[0.00], USDT[0]                                                                                Yes

08179520                              BTC[.00000009], DOGE[1.0124991], ETH[0.00000149], ETHW[0], MATIC[.0003166], SHIB[1], SOL[0.00007731], TRX[3], USD[451.66]                                                             Yes

08179526                              BRZ[3], CUSDT[19], DOGE[5], NFT (296835975575250580/Red Panda #6397)[1], NFT (343487635730518728/572)[1], NFT (351992644554633000/Red Panda #7751)[1], NFT                            Yes
                                      (371839469204407510/Staring into space)[1], NFT (372301974087927091/Metacat)[1], NFT (396543799199129300/ApexDucks #6121)[1], NFT (416763068139638808/Red Panda #2430)[1], NFT
                                      (421520740471941613/Cold & Sunny #191)[1], NFT (482824129679982753/Cloud Show 2 #3829)[1], NFT (573522358513328404/Red Panda #6139)[1], SHIB[7], SOL[4.91176516], TRX[5], USD[0.00]

08179528                              USD[200.00]

08179539                              USD[0.01]

08179551                              MATIC[90], SOL[15.53445], TRX[58.941], USD[0.04]

08179554                              SOL[.00070133], USD[0.00]

08179564                              BTC[.00040425], USD[0.00]

08179582                              DOGE[9.12623342], SOL[.00240702], TRX[25.57721638], USD[0.00]

08179585                              BTC[.00000507], ETH[.00000001], ETHW[0], SOL[2.04264886], USD[0.00]

08179600                              ETH[0], ETHW[0], SOL[2.36272117], USD[0.00]

08179610                              DOGE[1], SHIB[102689524.12955244], TRX[1], USD[0.00]                                                                                                                                  Yes

08179645                              BTC[0.00000367]

08179655                              BTC[0], NFT (485481568767683983/FTX - Off The Grid Miami #7031)[1], NFT (489283877269607879/Imola Ticket Stub #2089)[1], USD[0.00]

08179657                              KSHIB[9.99], USD[4.56]

08179663                              CUSDT[1], SHIB[452844.80435005], USD[5.37]                                                                                                                                            Yes

08179685                              USD[0.50]

08179689                              DOGE[67.1668908], USD[0.00]                                                                                                                                                           Yes

08179699                              SHIB[0], USD[1.82]

08179706                              USD[250.00]

08179729                              CUSDT[2], ETH[.00962724], ETHW[.00950412], USD[5.40]                                                                                                                                  Yes

08179731                              SOL[1.5]

08179734                              USD[0.00]

08179751                              USD[16.06]                                                                                                                                                                            Yes

08179753                              CUSDT[1], USD[84.46]

08179761       Contingent, Disputed   CUSDT[2], USD[0.00]                                                                                                                                                                   Yes

08179774                              BTC[1.06915700], ETH[.04981], ETHW[.04981], SOL[1349.3665635], USD[1000871.09]

08179775                              NFT (440880075242738262/FTX - Off The Grid Miami #61)[1]

08179779                              BRZ[4], BTC[0], CUSDT[14], DOGE[64.85063944], SHIB[2558592.49933992], TRX[8.08684568], USD[0.00]                                                                                      Yes

08179782                              SOL[.07257447], USD[0.00]

08179784                              DOGE[685.44189502], SHIB[3367003.36700336], USD[0.00]

08179785                              CUSDT[1], MATIC[16.05026294], USD[0.00]                                                                                                                                               Yes

08179787                              BTC[0.00002938], ETH[.03], ETHW[.03], SOL[.00009]

08179804                              DOGE[.983], ETH[.01], ETHW[.01], SHIB[98900], SOL[.46886], USD[1.64]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08179820                              SOL[.00961608], USD[4.90]

08179830                              MKR[0.04487283], SOL[1.07303982], USD[0.00], YFI[0.01241009]                                                                                                                Yes

08179839                              BRZ[2], CUSDT[1], ETH[.10668626], ETHW[.10560248], GRT[1], LTC[51.66628084], SHIB[13455375.98118651], TRX[4], USD[0.00], USDT[0.00000020]                                   Yes

08179854                              ETH[.00233427], ETHW[.00230691], USD[0.00]                                                                                                                                  Yes

08179858                              AAVE[3.9], BTC[.1155], ETH[.596], ETHW[.596], LINK[35.4], MATIC[1120], USD[1.57]

08179859                              USD[0.01]                                                                                                                                                                   Yes

08179882                              USD[0.58]                                                                                                                                                                   Yes

08179883                              USD[0.00]                                                                                                                                                                   Yes

08179885                              USD[53.94]                                                                                                                                                                  Yes

08179894                              SUSHI[1.59499142], USD[0.12]                                                                                                                                                Yes

08179901                              NFT (458323896409917262/00:Predawn Army)[1]

08179928                              ETH[.00097435], ETHW[.00097435], USD[85.63], USDT[0]

08179934                              ETH[0]

08179935                              KSHIB[379.62], TRX[1.60026259], USD[0.00]

08179940                              CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                 Yes

08179944                              KSHIB[222.77505088], MATIC[5.49464726], USD[0.00]

08179962                              SHIB[1100000], USD[5.58]

08179969                              BTC[.00387195], CUSDT[94.19344812], DOGE[873.9351144], ETH[.03958624], ETHW[.03909376], KSHIB[1821.38082523], MATIC[21.63121025], SHIB[1], SOL[.80550726], USD[136.24]      Yes

08179981                              BTC[.04320878], CUSDT[1], SHIB[10], TRX[1], USD[0.00]                                                                                                                       Yes

08180003                              USD[10.79]                                                                                                                                                                  Yes

08180011                              BTC[.00001734], SOL[0.01591801], USD[0.00]                                                                                                                                  Yes

08180048       Contingent, Disputed   BAT[1.01083449], USD[0.00]                                                                                                                                                  Yes

08180053                              USD[100.00]

08180054                              USD[10.79]                                                                                                                                                                  Yes

08180056                              ALGO[0], ETH[0], USD[0.00]

08180073                              BTC[.00000038], DOGE[2], SHIB[9], TRX[2], USD[0.01], USDT[1.02543197]                                                                                                       Yes

08180081                              BTC[.00206171], CUSDT[1], USD[0.00]

08180100                              CUSDT[1], MATIC[6.40706605], USD[0.00]                                                                                                                                      Yes

08180102                              USD[5.22]                                                                                                                                                                   Yes

08180110                              BTC[.00098144], NFT (518779618921850847/Cal Bears Super Oski Scavenger Hunt #10)[1]                                                                                         Yes

08180119                              CUSDT[2], KSHIB[331.01487742], USD[0.00]                                                                                                                                    Yes

08180121                              BTC[.00216373], CUSDT[2299.15701896], NFT (315112635278374023/pixel man #15)[1], NFT (456279957342235716/lazyPanda #45)[1], NFT (547215660296157690/Red.Devil.Marble)[1],   Yes
                                      SOL[1.04200284], USD[14.31]
08180122                              USD[0.00]

08180124                              BTC[0.10493831], DOGE[116.51067272], ETH[.99636675], ETHW[.00935475], SOL[15.04986], SUSHI[1.51355977], TRX[135.63325667], USD[2.60]

08180133                              CUSDT[1], LINK[.39480559], SOL[.07073114], TRX[1], USD[0.00]

08180136                              CUSDT[2], DOGE[609.43033579], ETH[.13354779], ETHW[.13247643], SHIB[2980486.28078882], USD[323.26]                                                                          Yes

08180143                              USD[0.33]

08180155                              CUSDT[2], ETH[.00000022], ETHW[.00000022], USD[0.00]                                                                                                                        Yes

08180175                              CUSDT[1], SHIB[1], TRX[2], USD[0.00]                                                                                                                                        Yes

08180176                              BTC[.00018899], TRX[1], USD[1.00]

08180192                              USD[11.06]                                                                                                                                                                  Yes

08180201                              USD[0.01]

08180202                              USD[5.00]

08180209                              USD[5.75]

08180216                              CUSDT[3], LTC[.00887045], USD[0.39]

08180222                              NFT (333008165229549848/Megalodon Rogue Shark Tooth)[1], USD[0.73]                                                                                                          Yes

08180231                              ETHW[3.996], TRX[.011273], USD[568.64], USDT[0]

08180250                              USD[0.00], USDT[0]

08180254                              ETH[.5], ETHW[.5], NFT (310345714838065399/Hawaii John)[1], SOL[3.994], USD[163.31]

08180258                              MATIC[3.26193626], USD[0.00]                                                                                                                                                Yes

08180263                              USD[70.00]

08180274                              BRZ[1], DOGE[1], ETH[.00000414], ETHW[.00000414], USD[0.01]                                                                                                                 Yes

08180276                              USD[2.53]

08180298                              BTC[.00188598], DOGE[77.47493184], ETH[.02365332], ETHW[.02336101], SHIB[477141.97011378], SOL[.42726537], SUSHI[13.4946648], UNI[6.55984214], USD[257.14]                  Yes

08180309                              SHIB[2302477.78496015], USD[0.85]

08180311                              BTC[.0000975], CUSDT[1], ETH[.00119512], ETHW[.00118144], MATIC[2.17366502], USD[6.06]                                                                                      Yes

08180324                              USD[2.38]

08180328                              NEAR[17.9], USD[0.01], USDT[.3247854]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08180330                           CUSDT[2], DOGE[1], ETH[.11598435], ETHW[.1148586], USD[0.00]                                                                                                                        Yes

08180336                           CUSDT[1], SHIB[21.1288285], TRX[2], USD[0.01]                                                                                                                                       Yes

08180361                           CUSDT[1], DOGE[1], ETH[.00000001], ETHW[0], SOL[.00000001], USD[0.00]

08180369                           DOGE[89.09087228], USD[0.35]

08180377                           SHIB[1404556.12963832], USD[0.23]

08180379                           CUSDT[3], SUSHI[.00001213], TRX[1.0018725], USD[0.01]                                                                                                                               Yes

08180410                           BRZ[1], USD[0.00]

08180411                           NFT (478987958178948243/Megalodon Rogue Shark Tooth)[1]

08180418                           USD[2.07], USDT[0]

08180431                           CUSDT[1], ETH[.00534141], ETHW[.00534141], USD[0.00]

08180435                           DAI[1.4], SOL[.14], USD[0.10]

08180447                           BTC[.00017299], USD[0.00]                                                                                                                                                           Yes

08180452                           USD[5.00], USDT[0.00000081]

08180455                           BRZ[1], CUSDT[22], DOGE[4], ETH[.4765887], ETHW[.4765887], SOL[8.63627035], TRX[2], USD[0.00]

08180464                           BTC[.00067227], USD[0.01]

08180472                           USD[8.47], USDT[0]

08180477                           NFT (440102154106008588/Poly Dog River Series #1)[1], SOL[1.214]

08180486                           CUSDT[1], TRX[203.86809122], USD[0.00]

08180492                           GRT[0], SHIB[0], SOL[0], USD[24.84], USDT[0]                                                                                                                                        Yes

08180503                           SHIB[8300000], USD[4.03]

08180504                           ETH[.681], ETHW[.681], USD[1.35]

08180516                           CUSDT[2], TRX[1.000031], USD[52.37], USDT[38.13972101]                                                                                                                              Yes

08180517                           SOL[.00000907]                                                                                                                                                                      Yes

08180526                           BRZ[1], CUSDT[1], DOGE[99.43185369], ETH[.06858138], ETHW[.06773094], SHIB[443348.37534027], USD[0.11]                                                                              Yes

08180542                           USD[0.00]

08180548                           CUSDT[1], TRX[4916.88981151], USD[0.01]

08180551                           DOGE[1], TRX[1], USD[0.00]

08180560                           USD[500.00]

08180562                           BTC[.00017515], USD[0.49]                                                                                                                                                           Yes

08180567                           DOGE[1], ETH[.08552048], ETHW[.08448949], LTC[.66266965], TRX[1], USD[53.87]                                                                                                        Yes

08180569                           USD[0.00]

08180581                           BRZ[1], USD[0.01]

08180584                           BTC[.00020487], USD[0.00]                                                                                                                                                           Yes

08180586                           USD[0.00]

08180599                           USD[32.96]

08180601                           USD[15.00]

08180608                           DOGE[1], SOL[13.490214], USD[5.01]

08180619                           CUSDT[0], DOGE[34.73562741], SHIB[0], USD[0.00], USDT[0]                                                                                                                            Yes

08180624                           USD[0.00]

08180625                           BTC[.022], DOGE[195.828], LTC[.41958], USD[0.04]

08180627                           ETH[0.00195289], ETHW[0.00192553], SOL[0], USD[0.00]                                                                                                                                Yes

08180636                           DAI[0], DOGE[0], ETH[0.00512453], ETHW[0.00512453], LTC[0], SHIB[0], SOL[0], USD[0.00], USDT[0.00000041]

08180640                           DOGE[3.09756723], MATIC[136.22068297], SHIB[1], USD[0.00]                                                                                                                           Yes

08180653                           ETH[.00021864], ETHW[.00021864], SHIB[88872.37536768], SOL[0.02216731], USD[0.00], USDT[0]                                                                                          Yes

08180657                           USD[0.00]

08180659                           AVAX[0], USD[0.00]

08180665                           SOL[.00000001], USD[0.00]

08180669                           CUSDT[2], MATIC[.00252153], USD[0.10]                                                                                                                                               Yes

08180670                           AAVE[0], BTC[0], DOGE[0], ETH[0], ETHW[0], LINK[0], MATIC[0], USD[0.36], USDT[0]

08180675                           CUSDT[1], SOL[.13784289], USD[0.00]

08180688                           USD[0.01]                                                                                                                                                                           Yes

08180742                           CUSDT[1], SOL[1.11636505], USD[0.00]                                                                                                                                                Yes

08180759                           AAVE[-0.19491307], ALGO[.6045], AVAX[0], BTC[0.00014431], ETH[-0.00026202], ETHW[-0.10404460], LINK[0], LTC[0], MATIC[-2.96164551], SOL[0], SUSHI[0], UNI[0], USD[19.52], USDT[0]

08180762                           BTC[.0000856], CUSDT[3], DOGE[105.5544205], ETH[0.00341693], ETHW[0.00337586], LINK[1.16122928], MATIC[.00003629], SOL[.00000032], SUSHI[.00000007], USD[0.09]                      Yes

08180774                           CUSDT[1], ETH[.00446519], ETHW[.00446519], USD[10.00]

08180781                           CUSDT[1], DOGE[1], NFT (461921528099677555/Fancy Frenchies #4521)[1], SOL[1.79421473], TRX[1], USD[0.00]                                                                            Yes

08180783                           USD[534.84]                                                                                                                                                                         Yes

08180791                           BTC[.00018014], CUSDT[1], USD[0.00]
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              Disputed Indicator
08180795                              MATIC[339.20768336], SOL[5.93252076], USD[12.08], USDT[0]

08180801                              BAT[.00031108], BTC[0], SUSHI[.00000169], TRX[.00612723], USD[0.00], YFI[.00000001]                                                                                      Yes

08180805                              BTC[.00014068], DOGE[.0000002], USD[0.00]                                                                                                                                Yes

08180816                              BRZ[1], CUSDT[1], SHIB[2709145.2725497], USD[0.00]

08180841                              SOL[7.992], USD[20.00]

08180842                              ETH[1.67652526], ETHW[1.67580575]                                                                                                                                        Yes

08180843                              BTC[0.00000001], CUSDT[4], DOGE[1], ETH[0.00000016], ETHW[0.00000016], TRX[2], USD[58.36]                                                                                Yes

08180847                              USD[100.00]

08180857                              NFT (304985118173155694/Heads in the Clouds 1 #44 (Redeemed))[1], NFT (473149305268708101/Ferris From Afar #431 (Redeemed))[1], USD[25.48]

08180862                              USD[1.75]

08180877                              SOL[3.73333027], USD[0.00]

08180888                              USD[0.00]

08180896                              BRZ[1], ETH[.02573247], ETHW[.02573247], USD[0.00]

08180900                              ETH[1.794], ETHW[1.794], USD[2.52]

08180905                              CUSDT[2], ETH[.00773005], ETHW[.00773005], MATIC[16.46554], TRX[1], UNI[1.6810243], USD[0.00]

08180911                              ETHW[2.008977], USD[5049.69]

08180925                              CUSDT[1], USD[0.00]                                                                                                                                                      Yes

08180926                              BAT[1], BRZ[1], CUSDT[4], DOGE[884.5313397], ETH[.09748631], ETHW[.09748631], GRT[138.90776298], KSHIB[.05], LINK[8.68493878], SHIB[5208283.33333333], SOL[.99050878],
                                      TRX[1120.93871695], USD[122.92]
08180951                              USD[5.00]

08180953                              USD[1.16]

08180968                              BRZ[1], CUSDT[4], ETH[.02193141], ETHW[.02165781], SOL[.27137528], USD[0.00]                                                                                             Yes

08180974       Contingent, Disputed   BAT[1.01063142], BCH[.00950243], BRZ[1], BTC[.00732178], DOGE[1], USD[0.92]                                                                                              Yes

08180989                              SUSHI[.499], UNI[.0485], USD[31.55], USDT[.00883185]

08180999                              BTC[0], ETH[.020983], ETHW[.020983], USDT[0.75408494]

08181004                              USD[85.53]

08181006                              CUSDT[8], TRX[1], USD[0.00], USDT[0]                                                                                                                                     Yes

08181012                              CUSDT[1], DOGE[1], TRX[1], USD[0.00], USDT[0]                                                                                                                            Yes

08181036                              SOL[0], USD[1.05], USDT[0.00000001]                                                                                                                                      Yes

08181041                              SHIB[5973556.04309854], TRX[1], USD[0.00]                                                                                                                                Yes

08181055                              CUSDT[3], LINK[.03042248], LTC[.86508538], USD[0.19], USDT[133.88364760]                                                                                                 Yes

08181056                              CUSDT[2], DOGE[1], SHIB[2], USD[0.00]

08181059                              BTC[.00615617], LINK[2.6], USD[0.00]

08181061                              BTC[0], SOL[0], USD[0.00], USDT[0.00000007]

08181063                              CUSDT[1], SHIB[9372071.22774133], USD[0.01]

08181066                              CUSDT[1], DOGE[2], USD[0.00]                                                                                                                                             Yes

08181068                              USD[0.07]                                                                                                                                                                Yes

08181071                              USD[20.00]

08181074                              BTC[.05244242], CUSDT[12], DOGE[3], ETH[.5124754], ETHW[.51226012], LTC[1.70130674], SHIB[10775350.9239868], SOL[.78886276], TRX[5], USD[0.00]                           Yes

08181076                              SHIB[1150151.05280764], USD[0.00]

08181079                              BTC[.00003751]                                                                                                                                                           Yes

08181089                              DOGE[0], ETH[.00000001], ETHW[0], SHIB[.00000004]                                                                                                                        Yes

08181099                              USD[25.00]

08181104                              NFT (331532139862069395/Little Rocks #393)[1], NFT (403822033368525990/Little Rocks #343)[1], SOL[.8552987]

08181112                              USD[1000.02]

08181124                              DOGE[1], SHIB[363715.94181275], USD[0.00]

08181126                              ALGO[0], DOGE[494.67696018], ETH[.00000001], MATIC[189.05442821], SHIB[2], SOL[0], USD[0.00], USDT[0.00000001]                                                           Yes

08181135                              SHIB[237104.22448033], USD[0.00]                                                                                                                                         Yes

08181149                              ETH[.00402632], ETHW[0.00397160], MATIC[.00265155], SOL[.00000001]                                                                                                       Yes

08181154                              BAT[1], DOGE[2], GRT[1], SHIB[1], TRX[2], USD[0.00], USDT[1.00002698]

08181156                              NFT (536491038082789899/Crypto Boys #2)[1], USD[0.11]

08181160                              USD[145.51]

08181177                              CUSDT[2], USD[0.00]                                                                                                                                                      Yes

08181183                              SOL[.01583457], USD[0.30]

08181196                              ALGO[.00000001], MATIC[0], SHIB[5100.65922249], USD[19.54]                                                                                                               Yes

08181214                              AAVE[.48428307], BTC[.00087591], DOGE[209.2247874], ETH[.04660697], ETHW[.0460308], SHIB[5], SOL[.20827644], USD[0.01], USDT[0]                                          Yes

08181223                              BAT[1], ETH[.00823139], ETHW[9.80823139], TRX[1], USD[0.66]

08181241                              CUSDT[1], DOGE[90.93824901], USD[0.00]

08181257                              USD[100.00]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08181266                           DOGE[4.52244003], KSHIB[42.7011308], MATIC[1.17365352], SHIB[164257.40019638], USD[0.00], USDT[0]                                                       Yes

08181270                           CUSDT[1], SOL[.00000001], USD[0.01]                                                                                                                     Yes

08181281                           BRZ[2], USD[0.00]                                                                                                                                       Yes

08181282                           NFT (428962895102114084/Exploring Sunsets)[1], USD[4.00]

08181286                           USD[6.38]                                                                                                                                               Yes

08181288                           USD[100.00]

08181290                           BTC[.00003017], MATIC[1.00164518], USD[0.01]                                                                                                            Yes

08181291                           USD[10.00]

08181310                           CUSDT[1], DOGE[1], LTC[.00047202], USD[42.18]                                                                                                           Yes

08181314                           TRX[1], USD[866.79]                                                                                                                                     Yes

08181315                           KSHIB[103.74593367], SHIB[21070.37505267], SOL[.0048417], USD[0.00]

08181340                           USD[0.01]

08181352                           CUSDT[1], NFT (451608465069688062/Blue.PW.Marble)[1], SOL[.12932021], USD[0.00]

08181359                           USD[100.00]

08181364                           USD[53.95]                                                                                                                                              Yes

08181367                           BRZ[1], MATIC[3.0414117], SHIB[2], SOL[.23739292], USD[0.44]

08181375                           ETH[.00000002], LTC[.00498], USD[0.00], USDT[.37134068]

08181378                           BTC[.00484267], CUSDT[1], DOGE[2], ETH[.01427652], ETHW[.01409868], SHIB[6], SOL[1.14896042], TRX[1], USD[2.26]                                         Yes

08181384                           USD[0.04]

08181401                           USD[0.36]                                                                                                                                               Yes

08181407                           SHIB[1], USD[0.00]                                                                                                                                      Yes

08181409                           USD[0.01]

08181419                           BTC[.00217945], CUSDT[5], DOGE[6], ETHW[.02967296], SHIB[1], TRX[4], UNI[6.01164052], USD[155.00]                                                       Yes

08181423                           ETH[.000558], ETHW[.000558], USD[7251.08]

08181433                           ETH[0], ETHW[0], USD[0.00]                                                                                                                              Yes

08181434                           CUSDT[3], SHIB[.00029205], USD[0.00]                                                                                                                    Yes

08181445                           BRZ[1], BTC[.02364535], DOGE[1], ETH[.418528], ETHW[.41835228], GRT[1], SHIB[1], SOL[35.04802865], TRX[2], USD[0.41]                                    Yes

08181463                           BRZ[1], CUSDT[4], DOGE[1], SOL[2.44674536], TRX[436.9437322], USD[5.46]                                                                                 Yes

08181466                           USD[0.77]

08181480                           SOL[10.78814374]                                                                                                                                        Yes

08181482                           ETH[.00001154], ETHW[1.26367796], USD[0.00]                                                                                                             Yes

08181486                           SOL[3.68278797], USD[4.06]

08181488                           TRX[2], USD[0.00]

08181492                           CUSDT[2], DOGE[1], USD[0.00], USDT[1]

08181525                           CUSDT[1], ETH[.00025106], ETHW[.00025106], MATIC[11.39068605], SOL[.10060379], TRX[1], USD[0.00]                                                        Yes

08181533                           DOGE[1], USD[0.00]                                                                                                                                      Yes

08181546                           BTC[0.00049641], ETH[0], SOL[0], USD[1.60]

08181557                           MATIC[0.12427535], SOL[.00000001], USD[0.00], USDT[0]

08181558                           BAT[1.00645868], BRZ[2], CUSDT[3], DOGE[6.59201752], ETH[5.10887793], ETHW[5.10673841], GRT[1], SOL[38.51119062], TRX[1], USD[0.00], USDT[2.13794475]   Yes

08181561                           USD[53.92]                                                                                                                                              Yes

08181563                           ETH[.01175], ETHW[.01175], USD[1277.58]

08181567                           CUSDT[3], SHIB[2100115.07479861], USD[0.36]

08181571                           SOL[.00022085], USD[288.46]                                                                                                                             Yes

08181573       Contingent,         SHIB[1], USD[0.00], USDT[0.00016797]                                                                                                                    Yes
               Unliquidated
08181589                           CUSDT[1], ETH[.00553039], ETHW[.00553039], USD[0.00]

08181598                           ETH[.0534], ETHW[.0534]

08181617                           CUSDT[1], SOL[0]

08181618                           DOGE[2], SOL[33.16574647], USD[0.00]

08181621                           USD[0.00], USDT[0.00000001]                                                                                                                             Yes

08181634                           DOGE[1], TRX[134.90412802], USD[0.00]                                                                                                                   Yes

08181644                           ETHW[21.5385744], USD[0.00]

08181648                           USD[0.00]

08181650                           USD[10.78]                                                                                                                                              Yes

08181651                           BTC[0.00000768], ETH[.00070767], ETHW[.00070351], SOL[.0084199], USD[0.00]                                                                              Yes

08181656                           BTC[.00092642], CUSDT[3], ETH[.03830323], ETHW[.03782408], SOL[.05221846], TRX[3], USD[0.00]                                                            Yes

08181663                           CUSDT[3], ETH[.00137569], ETHW[.00136201], KSHIB[.00020807], USD[0.00]                                                                                  Yes

08181673                           MATIC[10], USD[4.44]

08181675                           SHIB[1920122.88786482], USD[0.00]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08181679                           BRZ[1], SHIB[1291981.45759976], USD[0.00]                                                                                                                                              Yes

08181680                           USD[16.96]

08181683                           AUD[0.00], BTC[0], CAD[0.00], ETH[0], USD[0.00]                                                                                                                                        Yes

08181685                           BRZ[1], DOGE[257.02545627], LINK[0], MATIC[0], SHIB[6], SOL[0], SUSHI[0], USD[0.00], USDT[1.02543197]                                                                                  Yes

08181686                           BTC[.00000059], CUSDT[4], USD[0.00]                                                                                                                                                    Yes

08181690                           KSHIB[208.82335632], SHIB[3708138.92013445], USD[0.00]

08181699                           USD[0.00], USDT[0]

08181711                           USD[2.16]                                                                                                                                                                              Yes

08181714                           BAT[12.87562453], BRZ[2], CUSDT[12], DOGE[608.7864473], GRT[2.02303559], NFT (383555379062759935/What Time Is It #2 Of 20)[1], NFT (420442800363451077/Brick World #10)[1], NFT        Yes
                                   (522284187468269727/Brick World #55)[1], NFT (539389293061261037/Brick World #47)[1], NFT (546562629607328657/Brick World #39)[1], SHIB[9281887.60546988], TRX[4], USD[0.38]
08181715                           SOL[.01436912]

08181721                           TRX[1213.873544]

08181739                           BTC[0.00000153], USD[0.00]

08181744                           LTC[0]

08181750                           AAVE[.09649851], BRZ[1], CUSDT[4], DOGE[221.93476245], KSHIB[1480.70371566], SHIB[1480165.77856719], TRX[255.55218212], USD[0.00]

08181754                           NEAR[50]

08181766                           CUSDT[2], ETH[.01726036], ETHW[.01704148], SHIB[1], USD[0.00]                                                                                                                          Yes

08181778                           CUSDT[3], DOGE[2], TRX[2], USD[4.16]

08181798                           SOL[.00000001]                                                                                                                                                                         Yes

08181799                           USD[5341.72], USDT[0]

08181800                           CUSDT[4], DOGE[1], USD[4.57]

08181805                           BTC[.00251592], DOGE[.01866679], SHIB[1], TRX[1], USD[0.00]                                                                                                                            Yes

08181813                           SHIB[31260.09552495], USD[0.00]                                                                                                                                                        Yes

08181824                           CUSDT[1], DOGE[2], ETH[.00000223], ETHW[.00000223], USD[0.01], USDT[0]                                                                                                                 Yes

08181829                           SHIB[1], USD[0.01]                                                                                                                                                                     Yes

08181832                           SHIB[900000], USD[4.45]

08181837                           SOL[.00021792], USD[0.58]                                                                                                                                                              Yes

08181838                           BAT[1.00981031], BTC[.00326969], CUSDT[3], SHIB[7838920.64131634], TRX[1], USD[0.00]                                                                                                   Yes

08181840                           BTC[.0298794], USD[5.50]

08181844                           CUSDT[1], SOL[.24417515], USD[0.01]                                                                                                                                                    Yes

08181852                           BTC[.00000006], DOGE[1], ETH[0], MATIC[.00187735], TRX[1], USD[0.00]                                                                                                                   Yes

08181867                           BTC[7.34149648], USD[0.00]

08181875                           BAT[29.01349864], BCH[.04671281], CUSDT[497.99854294], DAI[10.69205187], LTC[.13831959], MATIC[3.76622741], PAXG[.01123042], SHIB[1], SOL[.12445837], TRX[1619.9968898], USD[17.68],   Yes
                                   USDT[0.00278597]
08181890                           TRX[547.91113291], USD[0.00]                                                                                                                                                           Yes

08181895                           USD[10.78]                                                                                                                                                                             Yes

08181900                           BTC[.0001739], ETH[.0022306], ETHW[.0022306], KSHIB[191.22945239], USD[0.00]

08181901                           BTC[.00495]

08181906                           USD[0.00]

08181915                           BAT[4.995], BTC[.0019983], DOGE[58.941], ETH[.001], ETHW[.001], GRT[11.988], LTC[.22977], MATIC[20.40756514], SOL[.23976], SUSHI[.999], TRX[283.716], USD[1.79]

08181918                           USD[0.00]

08181924                           CUSDT[1], NFT (461044368138753255/Guard #5)[1], SHIB[781418.25874867], USD[0.00]

08181926                           SOL[.00977], USD[0.73]

08181927                           USD[500.00]

08181935                           BTC[.00910383], SHIB[4442884.50283265]

08181937                           BTC[.00361578]

08181946                           USD[18.93]

08181953                           AAVE[0], BAT[0], BCH[0], BTC[0], DAI[0], DOGE[0], ETH[0], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], SHIB[1], SOL[0], SUSHI[1.24780977], TRX[0], USD[0.00]                           Yes

08181986                           SOL[1], USD[871.44]

08181992                           DOGE[3], ETHW[.38787751], TRX[2], USD[0.00]                                                                                                                                            Yes

08181993                           USD[74.38]                                                                                                                                                                             Yes

08182004                           TRX[.000045], USDT[.57244125]

08182013                           BTC[.00078859], CUSDT[4], ETH[.0236561], ETHW[.02336366], SHIB[425727.96570463], USD[107.78]                                                                                           Yes

08182016                           USD[0.57]

08182019                           CUSDT[2], USD[0.00]                                                                                                                                                                    Yes

08182036                           USD[1.00]

08182050                           BRZ[4], CUSDT[19], DOGE[9.22948543], SHIB[3], TRX[4], USD[0.01]                                                                                                                        Yes

08182055                           USD[0.01], USDT[0]                                                                                                                                                                     Yes

08182060                           ETH[.00036345], ETHW[0.00036344], USD[716.35]

08182062                           SHIB[2020510.22428773], USD[0.03]
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                                                                                                                                         Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08182066                           BTC[.0001125], KSHIB[209.57326151], PAXG[.00107014], SHIB[433079.10678825], USD[0.00], USDT[0]                                                                                       Yes

08182088                           USD[100.00]

08182092                           BTC[.0259753], ETH[.811], ETHW[.811], MATIC[116.35521888], NEAR[86.9], SHIB[5700000], SOL[5.69293055], USD[1.13]

08182104                           ETH[0], MATIC[0], NFT (393278444246318979/2974 Floyd Norman - CLE 5-0106)[1], SOL[0], USD[0.00]

08182105                           BRZ[3], CUSDT[56.36990781], TRX[28.79095249], USD[0.00], USDT[0]                                                                                                                     Yes

08182107                           CUSDT[1], DOGE[1], KSHIB[1102.08382008], USD[51.90]                                                                                                                                  Yes

08182112                           BTC[.00705565], ETH[.022566], ETHW[.022566], USD[0.00]

08182115                           DOGE[0], ETH[0], SHIB[0], USD[16.58]

08182125                           DOGE[1], SHIB[4492564.54525627], USD[0.00]

08182130                           USD[14.00]

08182139                           CUSDT[.0041192], ETH[.00587882], ETHW[.00581037], KSHIB[0], SHIB[2], SOL[.00000013], SUSHI[1.38796921], TRX[1], USD[0.00]                                                            Yes

08182142                           SOL[.00000001]

08182143                           BTC[.00006915]

08182157                           USD[0.00]

08182158                           BTC[.00118429], CUSDT[6], DOGE[172.97900045], ETH[.01867167], ETHW[.01867167], LINK[.44492133], LTC[.33488335], SOL[.26053632], TRX[175.15434231], USD[0.00]

08182194                           BAT[1.00784788], BRZ[1], BTC[.07722393], CUSDT[4], DOGE[9238.73915696], ETH[1.11448399], ETHW[1.11401586], LTC[18.15493268], MATIC[127.24374484], TRX[579.84551958], USD[0.00]       Yes

08182211                           CUSDT[1], SHIB[2215163.88761635], USD[0.00]                                                                                                                                          Yes

08182231                           BTC[.0012], ETH[.014], ETHW[.014], MATIC[20], SHIB[2100000], USD[32.04]

08182232                           CUSDT[5], ETH[.02564461], ETHW[.02532997], SHIB[41780.01979933], SOL[1.03197641], USD[0.08]                                                                                          Yes

08182247                           CUSDT[802.1603949], ETH[.00470424], ETHW[.00464952], USD[6.85]                                                                                                                       Yes

08182250                           WBTC[0.00035963]

08182252                           CUSDT[1], KSHIB[195.48144636], SHIB[651180.10676438], TRX[99.412581], USD[0.00]

08182257                           DOGE[202.18825932], SHIB[212582.38288426], USD[0.00], USDT[0]                                                                                                                        Yes

08182272                           SHIB[999000], USD[2.13]

08182275                           AVAX[0], BTC[0], LTC[0], MATIC[0.00000001], NFT (400624431534226922/Saudi Arabia Ticket Stub #2221)[1], NFT (435600151483769163/Entrance Voucher #3883)[1], SOL[0], USD[225.00],     Yes
                                   USDT[0.00000001]
08182282                           BTC[.0009]

08182284                           BTC[.00000002]                                                                                                                                                                       Yes

08182292                           BTC[.00043129], CUSDT[2.00003845], NFT (336216639987519315/Shannon Sharpe's Playbook: Denver Broncos vs. Los Angeles Raiders - January 9, 1994 #69)[1], NFT                          Yes
                                   (406548188986121559/Shannon Sharpe's Playbook: Baltimore Ravens vs. Oakland Raiders - January 14, 2001 #107)[1], NFT (435849697599046591/Doak Walker's Playbook: Detroit Lions vs.
                                   Cleveland Browns - December 28, 1952 #74)[1], SOL[.00000237], USD[0.00]
08182294                           SOL[1]

08182302                           USD[0.62]

08182305                           SOL[1.00646968]                                                                                                                                                                      Yes

08182308                           SOL[.00007879], USD[0.00]

08182319                           USD[1427.06]                                                                                                                                                                         Yes

08182327                           BRZ[1], DAI[26.77370862], DOGE[1], ETH[.02328178], ETHW[.0229945], SHIB[476242.736731], SOL[.208902], TRX[218.22545329], USD[0.07]                                                   Yes

08182336                           DOGE[1], SOL[4.40695841], USD[0.85]                                                                                                                                                  Yes

08182337                           SOL[.0089], USD[26.01]

08182353                           BTC[.0009]

08182361                           BTC[.0009]

08182364                           KSHIB[0], TRX[544.08952785]

08182372                           BTC[0.00044118], CUSDT[9], DOGE[0], ETH[0], SHIB[4], SOL[0], SUSHI[.0000368], TRX[3.37773703], USD[0.00]                                                                             Yes

08182396                           CUSDT[1], ETH[.01893515], ETHW[.01893515], MATIC[8.14712009], SHIB[308174.17347789], TRX[2], USD[0.00]

08182399                           KSHIB[1213.71696857], NFT (326305190287238739/Club member #3)[1], NFT (442338645441964939/Club member #2)[1], TRX[1], USD[0.00]                                                      Yes

08182426                           ETH[.00000004], ETHW[.00000004], USD[10.53]                                                                                                                                          Yes

08182433                           BTC[.0009]

08182440                           MATIC[4.83891153], SHIB[1], USD[10.95]                                                                                                                                               Yes

08182454                           USD[0.19]

08182459                           USD[0.86]

08182473                           DOGE[1], USD[0.04], USDT[0]                                                                                                                                                          Yes

08182485                           SHIB[1], TRX[1], USD[0.01]                                                                                                                                                           Yes

08182498                           DOGE[225.52080537], SHIB[1547336.44235185], SOL[1], USD[0.00]

08182506                           SOL[.00059567], USD[3.86]

08182518                           KSHIB[104.215], SHIB[200500.44715447]

08182520                           CUSDT[2], USD[0.00], USDT[0]

08182525                           USD[0.00]

08182547                           CUSDT[16], DOGE[.76950524], KSHIB[.99032216], LTC[.00094661], NFT (384097008707348728/Marcus Allen's Playbook: Seattle Seahawks vs. Los Angeles Raiders - October 7, 1984 #74)[1],   Yes
                                   SHIB[212643.36217854], TRX[139.44537271], USD[0.00]
08182560                           USD[10.00]

08182567                           SHIB[649.14741035], USD[0.00]                                                                                                                                                        Yes
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                                                                                                                                         Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08182578                           DOGE[236.97065435], SHIB[1100392.09284674], USD[0.01]

08182582                           USD[30.00]

08182584                           BTC[.00000509], CUSDT[1], NFT (443343641148970813/Pony Car Hemi)[1], SHIB[1], USD[0.00]                                                                                                      Yes

08182618                           AUD[3.47], HKD[57.98], USD[0.00]

08182624                           USD[500.00]

08182630                           USD[10.79]                                                                                                                                                                                   Yes

08182632                           DOGE[1], ETH[.13856493], ETHW[.13752632], USD[0.00]                                                                                                                                          Yes

08182633                           SHIB[1], USD[19.82]                                                                                                                                                                          Yes

08182645                           BRZ[1], DOGE[1], USD[0.00]                                                                                                                                                                   Yes

08182678                           CUSDT[2], MATIC[31.07564748], NFT (427836975119224387/ApexDucks #5274)[1], SOL[.32021521], TRX[2], USD[0.21]                                                                                 Yes

08182683                           DOGE[1], SHIB[10653224.07920585], USD[0.00], YFI[0]                                                                                                                                          Yes

08182695                           BRZ[2], CUSDT[8], DOGE[4], LINK[4.90834223], NFT (294232616086619005/Markers)[1], NFT (304218873448700759/Ancient Civilization)[1], NFT (337156370309664625/DOTB #2103)[1], NFT              Yes
                                   (351386497995259383/Cryptographic zombie #25)[1], NFT (356727829283812582/DOTB #3613)[1], NFT (358926464369905109/First 50 #30)[1], NFT (416899149582725283/Sigma Shark #1702)[1],
                                   NFT (424794059254035480/Motley Zoo #19)[1], NFT (442779254017402711/Cat rauss #1)[1], NFT (448303352307796144/Sigma Shark #2021)[1], NFT (477973718751029483/UniqueOwl #2)[1], NFT
                                   (486905548818040402/Sigma Shark #1287)[1], NFT (498320402783109507/Kiddo #2314)[1], NFT (558152099596978492/Pandas #2)[1], NFT (560137191482101092/Space Bums #7553)[1], NFT
                                   (570341345402311826/cat #3)[1], SOL[1.4657814], TRX[395.75909639], USD[0.00]
08182711                           CUSDT[6], ETH[.00000007], ETHW[.00000007], TRX[1], USD[0.00]                                                                                                                                 Yes

08182712                           BF_POINT[400], BTC[0], DOGE[0], LTC[0], SOL[0], USD[0.00], USDT[0]                                                                                                                           Yes

08182723                           CUSDT[9], KSHIB[272.5940721], USD[0.00]                                                                                                                                                      Yes

08182734                           BTC[.00000057], DOGE[2], NFT (499442737634758302/Red Panda #9955)[1], SHIB[5], SOL[1.88113113], USD[0.01], USDT[0.00000001]                                                                  Yes

08182754                           USD[80.00]

08182772                           BAT[6.038307], SOL[.00000001], USD[0.39]

08182775                           ETH[.49784458], LTC[9.50141331], USD[0.00], USDT[0.00000001]                                                                                                                                 Yes

08182777                           SOL[.00999], USD[12.59]

08182791                           MATIC[409.757], SHIB[25478490], USD[0.60]

08182806                           BRZ[1], BTC[.0976979], CUSDT[22], DOGE[5], ETH[.57502274], ETHW[.57502274], SOL[4.46096969], TRX[3], USD[0.00]

08182814                           BRZ[1], SHIB[1], USD[0.01]

08182820                           CUSDT[1], DOGE[.00435857], LINK[0.00081438], NFT (333004646820453670/Tim Brown's Playbook: San Diego Chargers vs. Los Angeles Raiders - September 4, 1988 #66)[1], NFT
                                   (373314917768181824/Joe Theismann's Playbook: New York Giants vs. Washington - October 20, 1974 #48)[1], NFT (427701822204765342/Shannon Sharpe's Playbook: Baltimore Ravens vs. Denver
                                   Broncos - December 31, 2000 #88)[1], NFT (459789058354652910/Tim Brown's Playbook: Michigan State vs. Notre Dame - September 19, 1987 #70)[1], SOL[.00077094], USD[0.29], USDT[0.00000001]

08182830                           USD[269.69]                                                                                                                                                                                  Yes

08182845                           CUSDT[2], DOGE[1], USD[0.01]

08182853                           USD[269.91]

08182857                           BTC[.00017509], SOL[0.04075946], USD[0.00]                                                                                                                                                   Yes

08182875                           NFT (373851958625648619/TV Head Depressed)[1]

08182884                           SHIB[25164.33272588], USD[0.00]                                                                                                                                                              Yes

08182900                           CUSDT[.00000001], DAI[.00031209], NFT (396034937373610463/ZooWho)[1], SOL[.00000003], USD[0.07]                                                                                              Yes

08182910                           USD[22.20]                                                                                                                                                                                   Yes

08182917                           BTC[.0022], KSHIB[1890], USD[1.01]

08182925                           USD[0.01]                                                                                                                                                                                    Yes

08182929                           CUSDT[2], DOGE[93.7339127], MATIC[4.02005457], USD[0.00]                                                                                                                                     Yes

08182936                           BAT[3.13595528], CUSDT[1], DOGE[22.56328176], KSHIB[95.74153156], MATIC[7.12159984], TRX[1], USD[0.00]

08182940                           SOL[1.4473]

08182942                           ETH[.00451784], ETHW[.00451784], MATIC[0], SHIB[0], USD[0.00]

08182948                           CUSDT[2], SHIB[2], TRX[1], USD[0.01]                                                                                                                                                         Yes

08182966                           BTC[.00034878], CUSDT[1], USD[0.00]

08182977                           CUSDT[1], DOGE[99.36266556], USD[0.00]                                                                                                                                                       Yes

08182981                           CUSDT[1], ETH[.00330516], ETHW[.00330516], SHIB[304630.38180341], USD[0.00]

08182989                           SHIB[2412769.15172007], USD[0.00], USDT[0]                                                                                                                                                   Yes

08183024                           CUSDT[4], USD[0.00]

08183028                           SOL[.00456597], USD[0.00]

08183042                           SOL[.009], USD[0.84]

08183045                           CUSDT[457.6051507], DOGE[2485.27747638], TRX[117.91869595], USD[0.00]

08183059                           USD[9.52]                                                                                                                                                                                    Yes

08183071                           USD[438.53]

08183073                           SOL[.00006131], USD[0.42]

08183085                           CUSDT[3], DOGE[1], SHIB[5.10051515], SOL[0], USD[0.00]                                                                                                                                       Yes

08183118                           AAVE[.02085836], ALGO[.553094], BCH[.00095327], BTC[0], ETH[0.00000002], ETHW[0.00000002], LINK[0.00170300], LTC[0.00420461], SOL[0.00039370], UNI[0.00000001], USD[1.29],
                                   YFI[0.00001932]
08183157                           USD[0.00]

08183159                           CUSDT[1], DOGE[45.95318133], USD[10.00]
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                                                                                                                                         Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08183177                           BAT[1], BRZ[4], BTC[.01150073], CUSDT[1], DOGE[8.00921072], ETHW[.06111671], SHIB[18], SOL[.19277755], TRX[8], USD[0.48]                                                                  Yes

08183191                           DOGE[1], LINK[10.3478712], USD[0.00]                                                                                                                                                      Yes

08183205                           BRZ[2], CUSDT[6], DOGE[2], SOL[.00001729], TRX[1], USD[0.00]                                                                                                                              Yes

08183217                           MATIC[0], SHIB[15387.70221503], USD[0.00]                                                                                                                                                 Yes

08183232                           SOL[2.54567281], TRX[1], USD[0.00]                                                                                                                                                        Yes

08183236                           USD[5000.00]

08183247                           CUSDT[1], KSHIB[96.0115644], USD[0.00]

08183251                           BTC[.00344467]

08183256                           CUSDT[1], DOGE[1], USD[153.18]

08183260                           CUSDT[1], GRT[17.38946648], USD[0.00]                                                                                                                                                     Yes

08183261                           USD[500.01]

08183266                           CUSDT[1], ETH[.00000017], ETHW[.00000017], SOL[.08177509], TRX[1], USD[0.01]                                                                                                              Yes

08183275                           SOL[.02952713], USD[10.42]                                                                                                                                                                Yes

08183296                           USD[0.71]                                                                                                                                                                                 Yes

08183297                           CUSDT[4], SOL[.00000105], USD[0.00]                                                                                                                                                       Yes

08183298                           BRZ[1], BTC[.00334951], CUSDT[2], DOGE[222.29978493], ETH[.07132708], ETHW[.0704408], TRX[1], USDT[0.00002077]                                                                            Yes

08183306                           ETH[.0005817], ETHW[0.00058170], USD[0.86]

08183316                           BAT[0], USD[3.34]

08183319                           DOGE[.0004054], ETH[.05004508], ETHW[.05004508], SHIB[216.40968295], SOL[.00005845], SUSHI[.00148865], USD[0.04]

08183363                           SHIB[64867.45616142], TRX[3], USD[1518.30]                                                                                                                                                Yes

08183376                           ETH[.03615939], ETHW[.03615939], USD[0.72]

08183377                           NFT (393869758231357579/Shannon Sharpe's Playbook: Baltimore Ravens vs. Oakland Raiders - January 14, 2001 #104)[1], NFT (426742978479317513/Earl Campbell's Playbook: LA Rams vs
                                   Houston Oilers - September 4th, 1978 #115)[1], USD[15.00]
08183383                           CUSDT[1], LTC[.03657051], SOL[.11558818], USD[0.00]                                                                                                                                       Yes

08183385                           DOGE[1], SOL[2.15904149], USD[0.01]

08183386                           USD[0.01]                                                                                                                                                                                 Yes

08183395                           USD[996.57]

08183397                           BTC[.0999661], ETH[.93686046], ETHW[.93686046], SOL[3.09921282], USD[0.00]

08183398                           NFT (435403196136317676/Coachella x FTX Weekend 1 #20870)[1]

08183408                           NFT (289833490333229164/Future series)[1], NFT (296246425766123216/Punk #10)[1], NFT (320403774823629560/Punk #7)[1], NFT (336529808565712348/Punk #9)[1], NFT
                                   (384579731142418564/Inu)[1], NFT (395164341337754055/Graffiti wall)[1], NFT (430575954106418049/Punk #6)[1], NFT (432879171099560597/Inu #3)[1], NFT (441769308885624156/world)[1], NFT
                                   (445227198580078387/Punk #8)[1], NFT (448858771127764251/Punk #2)[1], NFT (476438036390284937/Futuristic temple)[1], NFT (478022326524047275/Punk #3)[1], NFT
                                   (522218349785410395/Punk #5)[1], NFT (529143727987937093/Punk #4)[1], NFT (571642107874164533/Punk )[1], USD[0.00]
08183409                           ETH[0], LTC[0], SOL[0.00000001], USD[0.00]

08183417                           USD[0.01]                                                                                                                                                                                 Yes

08183422                           CUSDT[4], KSHIB[1039.60997977], SHIB[1031994.17930111], USD[0.00]

08183432                           DOGE[151.13599244], SHIB[11703690.45470971], USD[0.00]                                                                                                                                    Yes

08183436                           SHIB[85175.0257154], USD[0.15], USDT[.0085696]

08183452                           CUSDT[1], SHIB[2235744.35787434], USD[0.00]                                                                                                                                               Yes

08183456                           CUSDT[2], TRX[1], USD[0.01]                                                                                                                                                               Yes

08183468                           USD[0.01]

08183477                           BTC[.0001914], CUSDT[1], USD[0.00]

08183489                           USD[0.01], USDT[2388.28]

08183499                           SHIB[.00000001], SOL[.00000001], USD[1.16]

08183505                           BTC[.00000041], USD[0.00]                                                                                                                                                                 Yes

08183507                           ETH[0], ETHW[0], GRT[95.38473795], SOL[0], USD[0.00]                                                                                                                                      Yes

08183511                           BTC[.0000962], LTC[.00564678], USD[1.00], USDT[0.00136163]

08183516                           MATIC[1349.55038580], SHIB[41231195.2181606], USD[0.00]

08183518                           BAT[94.78808519], BRZ[1], CUSDT[3], NFT (411544408305922010/Juliet #603)[1], NFT (452961708380514779/Humpty Dumpty #1393)[1], SOL[.72652053], TRX[2367.83413829], USD[0.42]               Yes

08183525                           BAT[.00000914], USD[0.00]                                                                                                                                                                 Yes

08183529                           SHIB[2], USD[0.00]

08183537                           SHIB[0], SOL[0], USD[0.58]                                                                                                                                                                Yes

08183544                           AVAX[0], DOGE[.16131396], MATIC[.21333009], TRX[438.3833376], USD[0.00]                                                                                                                   Yes

08183546                           BRZ[1], CUSDT[1], DOGE[877.00456708], SHIB[720183.660864], TRX[3], USD[0.00]                                                                                                              Yes

08183549                           SHIB[.00000124], USD[0.00]

08183553                           ETH[.107893], ETHW[.107893], USD[1.23]

08183561                           DOGE[47.74622638], USD[0.00]                                                                                                                                                              Yes

08183562                           USDT[0]

08183566                           USDT[0.00000072]

08183572                           CUSDT[1], USDT[0.00004380]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08183593                           BCH[0], BTC[0.00002615], DAI[0], EUR[0.00], LTC[0], MATIC[0.00000509], MKR[0], SOL[0], USD[0.00], USDT[0.00000162]                                                                        Yes

08183602                           NFT (325281621350682145/Coachella x FTX Weekend 1 #14537)[1]

08183608                           AUD[4.77], BAT[264.248], BCH[1.370169], BTC[.0159543], CAD[1.92], DOGE[232.369], ETH[.133145], ETHW[.133145], GRT[1027.79], KSHIB[62098.55], LINK[116.6697], LTC[3.05023],
                                   PAXG[.0667749], SHIB[13892100], SOL[7.18212], SUSHI[224.6575], UNI[12.8926], USD[399.86], WBTC[.0084705], YFI[.131821]
08183615                           USD[0.00], USDT[0.00267415]

08183622                           BAT[1], BRZ[7.36409202], BTC[.00093031], CAD[41.67], CUSDT[13], DOGE[2], MATIC[1.30274636], SHIB[1182843.78797369], TRX[11], USD[704.07], USDT[1.02543197]                                Yes

08183624                           NFT (521647163324889075/NFT BZL 2021 #4)[1]

08183626                           NFT (498447813212105177/NFT BZL 2021 #3)[1]

08183628                           USD[0.00]

08183631                           BTC[0.00955677], ETHW[.01085173], LINK[.00109256], MATIC[0], SHIB[26], USD[380.00], USDT[0.00001751]                                                                                      Yes

08183643                           TRX[297.72330941], USD[0.00]

08183645                           CUSDT[1], USD[0.00]

08183662                           NFT (451760430804998404/NFT BZL 2021 #9)[1]

08183665                           DOGE[1], SHIB[2493298.07613988], USD[0.03]                                                                                                                                                Yes

08183667                           BAT[.00097979], CUSDT[8], DOGE[2], ETH[.00000009], ETHW[.00000009], MATIC[.00012718], SOL[.00000001], USD[0.01]

08183671                           NFT (506574536728438363/NFT BZL 2021 #5)[1]

08183674                           CUSDT[1], USD[0.00]                                                                                                                                                                       Yes

08183679                           NFT (413919880029841302/NFT BZL 2021 #28)[1]

08183688                           CUSDT[1], ETH[.00706997], ETHW[.00698789], USD[10.77]                                                                                                                                     Yes

08183691                           MATIC[9.84], NFT (341611452705217013/Sunset #108)[1], NFT (395279958021777719/2974 Floyd Norman - OKC 1-0060)[1], NFT (395822658000222352/2974 Floyd Norman - OKC 1-0208)[1], NFT
                                   (490332327851514107/Northern Lights #25)[1], USD[0.09]
08183693                           USD[0.01]                                                                                                                                                                                 Yes

08183695                           NFT (374859260709324157/FTX - Off The Grid Miami #4443)[1], NFT (519374338559782683/NFT BZL 2021 #6)[1]

08183698                           ALGO[.81965493], CUSDT[0], ETHW[.00891759], USD[0.00], USDT[0]

08183701                           AUD[0.00], DOGE[103.42680749], KSHIB[460], SHIB[1053966.40542284], SOL[.10238553], USD[0.00], USDT[1.00651656]

08183711                           CUSDT[2], SOL[2.57532241], USD[0.00]                                                                                                                                                      Yes

08183720                           BTC[.08555664], CUSDT[698.14643068], DOGE[2], ETH[0.01138815], ETHW[0.01125135], LINK[4.21947727], SHIB[9], USD[-50.00]                                                                   Yes

08183721                           ETH[.00819692], ETHW[.00819692], NEAR[154.9], USD[0.00]

08183725                           SOL[4.58], TRX[.000001], USD[0.00], USDT[10.47524]

08183734                           USD[10.00]

08183737                           ETHW[.00027299], SOL[.00466971], USD[2414.50], USDT[0.00000138]

08183741                           CUSDT[3], DOGE[4.762086], NFT (366249214627734293/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #138)[1], NFT (421276635224170079/Shannon Sharpe's
                                   Playbook: Baltimore Ravens vs. Oakland Raiders - January 14, 2001 #108)[1], NFT (531841489749288959/Doak Walker's Playbook: Texas vs. SMU - November 1, 1947 #73)[1], TRX[4], USD[0.00]

08183743                           BTC[.0117778], ETH[.000997], ETHW[.000997], MATIC[9.83], SHIB[476000], USD[2.35]

08183746                           SOL[0], USD[0.00], USDT[66.33550572]

08183752                           BRZ[1], DOGE[1], NFT (321007475996850326/NFT BZL 2021 #8)[1], SHIB[2], USD[0.00]

08183777                           NFT (552451407483749647/NFT BZL 2021 #7)[1]

08183793                           SHIB[6136852.16621395], SOL[0], TRX[335.76816970], USD[0.00]                                                                                                                              Yes

08183795                           AVAX[0], DOGE[0], SOL[0], USD[229.64]

08183824                           SHIB[1], USD[290.67]                                                                                                                                                                      Yes

08183827                           BTC[.00488606], ETH[.02317613], ETHW[.02317613], SHIB[397464.27980922], SOL[.23135555], TRX[2], USD[0.00], USDT[10.26072792]

08183831                           BTC[.00008465], CUSDT[1], ETH[.00105186], ETHW[.00105186], USD[0.00]

08183834                           BTC[.00797198], USD[0.00]

08183837                           USD[5.00]

08183838                           NFT (391253880831919690/NFT BZL 2021 #116)[1]

08183846                           CUSDT[1], SOL[.2188781], USD[0.01]

08183849                           CUSDT[1], SOL[.21816977], USD[0.00]

08183857                           USD[0.01]

08183869                           USD[0.53]

08183877                           BRZ[1], CUSDT[1], DOGE[1], SHIB[2231644.72216023], TRX[1], USD[0.01]

08183878                           NFT (391368939543309625/NFT BZL 2021 #72)[1]

08183881                           NFT (512880813869535795/NFT BZL 2021 #173)[1]

08183883                           NFT (439283503863245649/NFT BZL 2021 #10)[1]

08183886                           KSHIB[10092.96835006], TRX[1], USD[0.00]                                                                                                                                                  Yes

08183887                           TRX[1441.557], USD[50.41]

08183889                           NFT (524399677945550754/NFT BZL 2021 #14)[1]

08183895                           NFT (305117171199153705/NFT BZL 2021 #12)[1]

08183899                           BRZ[1], MATIC[.00091817], USD[0.01]                                                                                                                                                       Yes

08183900                           USD[0.00]

08183907                           NFT (437333156830738481/NFT BZL 2021 #15)[1]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08183908                              BF_POINT[300], CUSDT[3], DOGE[5.65877101], ETH[.00567159], ETHW[.00560319], LTC[.00976546], MATIC[15.01962213], SOL[.12288474], USD[23.76]                                Yes

08183912                              BAT[5.27568429], BRZ[1], CUSDT[3], DAI[592.86802948], DOGE[10.16672848], GRT[6.09979417], LINK[3.16749303], LTC[1.05111729], SHIB[1], SOL[.00000001], SUSHI[1.0546102],   Yes
                                      TRX[17.93530605], UNI[2.111758], USD[0.61], USDT[0]
08183921                              NFT (432517875100383613/NFT BZL 2021 #29)[1]

08183922                              SOL[.00568305], USD[0.00]

08183923                              SOL[.5]

08183924                              DOGE[29.82395636], SHIB[141545.39795918], USD[0.00]                                                                                                                       Yes

08183935                              NFT (356662816533026901/NFT BZL 2021 #19)[1]

08183939                              NFT (481148375403414878/NFT BZL 2021 #17)[1]

08183940                              NFT (546054880843224352/NFT BZL 2021 #20)[1]

08183945                              NFT (533768227029558429/NFT BZL 2021 #18)[1]

08183948                              NFT (347477989957076267/NFT BZL 2021 #181)[1]

08183953                              ETH[.02104427], ETHW[.02104427], USD[0.00]

08183965                              NFT (297057532055614129/NFT BZL 2021 #22)[1]

08183966                              BTC[.00000001], NFT (302316456517099383/NFT BZL 2021 #23)[1]                                                                                                              Yes

08183967                              USD[0.02]

08183974                              NFT (355242625341793711/NFT BZL 2021 #25)[1]

08183975                              NFT (397482210332700656/NFT BZL 2021 #26)[1]

08183978                              NFT (389414296738134518/NFT BZL 2021 #24)[1]

08183981                              USD[0.18]

08183982                              DOGE[0], ETH[0.03895686], ETHW[0.03847572], MATIC[11.47230597], SHIB[2740931.31634446], SOL[0.18136582], SUSHI[0], TRX[93.72471337], UNI[2.31203136], USD[0.00]           Yes

08183986                              NFT (543407364714190617/NFT BZL 2021 #27)[1], SHIB[1], USD[0.00]

08183995                              BAT[1], ETH[1.56997307], ETHW[1.56931369], USD[0.00]                                                                                                                      Yes

08184014                              USD[1.00]

08184015                              BRZ[8.28406309], CUSDT[5], DOGE[13.13430189], SHIB[27], TRX[14.07033045], USD[9600.00]                                                                                    Yes

08184018                              USD[12.15]

08184020                              NFT (435445046750771089/NFT BZL 2021 #341)[1]

08184022                              USD[26.97]                                                                                                                                                                Yes

08184025                              CUSDT[1], SOL[.00000092], USD[1.07]                                                                                                                                       Yes

08184032                              USD[10.00]

08184055                              USD[0.40]

08184058                              ETH[.00237187], ETHW[.00237187], USD[0.00]

08184059                              DOGE[1], GRT[.00243879], SHIB[9], TRX[1], USD[0.00]                                                                                                                       Yes

08184069                              ETH[0], USD[21.67]

08184072                              NFT (402755017458633009/NFT BZL 2021 #30)[1]

08184089                              SHIB[1098900], USD[3.39]

08184090                              USD[50.01]

08184098                              CUSDT[1], DOGE[2], SHIB[0], SOL[3.09434732], USD[0.00]

08184100                              USD[250.00], USDT[248.78]

08184103                              NFT (303369805594244317/NFT BZL 2021 #32)[1]

08184104                              USD[150.00]

08184106                              NFT (488989031239346677/NFT BZL 2021 #42)[1]

08184108                              NFT (290325377054778687/NFT BZL 2021 #124)[1]

08184109                              BRZ[1], BTC[.00092756], CUSDT[1], DOGE[2], USD[0.00], USDT[0.00045805]                                                                                                    Yes

08184119                              NFT (304432847575655974/NFT BZL 2021 #33)[1], NFT (462536740167841210/FTX - Off The Grid Miami #316)[1]

08184120                              BTC[0], USD[0.00], USDT[.97054643]

08184121                              MATIC[5.45664474], USD[1.00]

08184124                              USD[20.00]

08184127                              ETH[0.28452087], ETHW[0.28452087], SOL[19.39696068], USD[0.29]

08184129                              USD[0.00]

08184139                              NFT (494916472684755446/NFT BZL 2021 #35)[1]

08184144                              USD[10.82]                                                                                                                                                                Yes

08184150                              USD[32.36]                                                                                                                                                                Yes

08184151                              NFT (291342725638055364/NFT BZL 2021 #36)[1]

08184157                              NFT (350238012305199456/NFT BZL 2021 #39)[1]

08184163                              NFT (568427952676950780/NFT BZL 2021 #37)[1]

08184167       Contingent, Disputed   SOL[0]

08184169                              BF_POINT[100], BRZ[1], CUSDT[4], NFT (414829579040606145/NFT BZL 2021 #55)[1], TRX[2], USD[0.01]                                                                          Yes

08184175                              USD[2100.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08184182                              CUSDT[1], SOL[1.35923515], USD[0.02]                                                                                                                                  Yes

08184189                              NFT (474007487784833282/Baddies #2372)[1], USD[0.00]                                                                                                                  Yes

08184192                              CUSDT[2], LTC[.10128076], SHIB[2204099.50730817], USD[32.36]                                                                                                          Yes

08184204                              BAT[56.05706736], CUSDT[5], DOGE[125.90537934], LINK[1.76824912], SHIB[632756.26522729], SUSHI[5.62476326], USD[0.00]                                                 Yes

08184213                              NFT (506969375272878608/NFT BZL 2021 #43)[1]

08184217                              BTC[0], ETH[.00049116], ETHW[.99949116], SHIB[85400], SOL[.00512777], USD[0.99]

08184221                              USD[0.00]

08184229                              NFT (479477140262741173/NFT BZL 2021 #41)[1]

08184232                              NFT (485726954192853438/NFT BZL 2021 #40)[1]

08184241                              USD[500.01]

08184243                              SOL[.00021817], USD[0.00]                                                                                                                                             Yes

08184249                              USD[100.00]

08184250                              BTC[0.00040563], USD[0.00]

08184256                              USD[0.00], USDT[0]

08184258                              NFT (386485881765030287/NFT BZL 2021 #44)[1]

08184261                              NFT (576064483628412896/NFT BZL 2021 #46)[1]

08184263                              NFT (314426556412103005/NFT BZL 2021 #45)[1]

08184269                              SOL[.07065465], USD[0.00]

08184270                              BCH[.309], USD[0.00]

08184271                              AAVE[.00001037], AVAX[4.33938138], BTC[.00000002], DOGE[3], ETH[.00000047], ETHW[.00000047], MKR[.00000097], NEAR[.00021673], SHIB[5], TRX[1], USD[0.00]              Yes

08184276                              NFT (531796798336158034/NFT BZL 2021 #48)[1]

08184280                              USD[7.47]

08184290                              NFT (443816696735218361/NFT BZL 2021 #51)[1]

08184292                              DOGE[2.18211094], SHIB[1], SOL[0], USD[0.00], USDT[0]                                                                                                                 Yes

08184295                              CUSDT[1], USD[0.00]

08184297                              NFT (563691866058392573/NFT BZL 2021 #50)[1]

08184298                              USD[139.04]

08184302                              BAT[13.41111763], CUSDT[1], LINK[3.84417196], TRX[1], USD[80.01]

08184303                              USD[0.75]

08184305                              NFT (322090433667019074/NFT BZL 2021 #53)[1]

08184308                              BTC[.00417994], CUSDT[1], TRX[2], USD[0.29]                                                                                                                           Yes

08184310                              NFT (468715531251858808/NFT BZL 2021 #54)[1]

08184313                              BTC[.00000027], ETH[0.00000011], ETHW[.00790917], LINK[.0001598], LTC[.00049786], USD[0.46], YFI[.0000001]                                                            Yes

08184317                              CUSDT[1], USD[4.68]

08184319                              USD[0.00], USDT[0.00000002]

08184325                              NFT (394664474194670031/NFT BZL 2021 #56)[1]

08184328                              NFT (345398456245604947/NFT BZL 2021 #57)[1]

08184331       Contingent, Disputed   BTC[.0011697], SHIB[11], SOL[.00001826], TRX[2], USD[0.00]                                                                                                            Yes

08184339                              USD[10.00]

08184341                              NFT (405227430743325760/NFT BZL 2021 #58)[1]

08184348                              ETH[.00238486], ETHW[.00238486], KSHIB[280.76929664], USD[0.00]

08184349                              USD[30.00]

08184350                              CUSDT[1], USD[0.00]

08184360                              USD[0.00], USDT[.00997659]

08184361                              BCH[.01854035], BTC[.00008754], DOGE[1], ETH[.00116183], ETHW[.00114815], MKR[.00167571], USD[0.00]                                                                   Yes

08184362                              NFT (532284294360537874/NFT BZL 2021 #60)[1]

08184365                              NFT (391752196540538827/NFT BZL 2021 #59)[1], NFT (415097336220188308/Monocle #46)[1]

08184371                              DOGE[25091.17548593], SHIB[42859925.07667959]                                                                                                                         Yes

08184377                              NFT (468541460955303126/NFT BZL 2021 #62)[1]

08184378                              NFT (302807856405877563/NFT BZL 2021 #61)[1]

08184379                              BTC[.73156431], SUSHI[1], USD[1.64]

08184382                              NFT (392107510733324600/NFT BZL 2021 #63)[1]

08184385                              DOGE[113.30261113], SHIB[1], USD[0.31]                                                                                                                                Yes

08184390                              USD[100.00]

08184392                              BTC[.00259855], CUSDT[2], DOGE[2], NFT (537804896204949426/NFT BZL 2021 #65)[1], NFT (542973778591710026/FTX - Off The Grid Miami #36)[1], SOL[.9246283], USD[0.00]

08184399                              BF_POINT[100], USD[0.00]                                                                                                                                              Yes

08184401                              BTC[0], USD[0.00]

08184402                              NFT (554395309323631802/NFT BZL 2021 #69)[1]
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Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08184408                           NFT (502327400534132377/Monocle #62)[1], NFT (520764356291656193/NFT BZL 2021 #71)[1]                                                                                                  Yes

08184409                           BRZ[1], SOL[2.34491345], USD[0.00]                                                                                                                                                     Yes

08184410                           BRZ[1], BTC[0], CUSDT[7], DOGE[0], TRX[1], USD[0.00]                                                                                                                                   Yes

08184412                           USD[2.00]

08184416                           NFT (569216277437385552/NFT BZL 2021 #325)[1]

08184418                           BTC[.04838175], DOGE[2], SHIB[15308452.41364385], SOL[5.53694584], USD[0.00]                                                                                                           Yes

08184419                           BCH[0], BTC[0], ETH[0], USD[0.00]                                                                                                                                                      Yes

08184420                           USD[0.01]

08184429                           USD[0.00]

08184443                           SOL[.46298636], TRX[1], USD[0.00]

08184446                           NFT (502937066164376491/NFT BZL 2021 #67)[1]

08184447                           NFT (338350969533440291/NFT BZL 2021 #70)[1]

08184449                           CUSDT[1], SHIB[1111100.89251809], TRX[1], USD[0.68]                                                                                                                                    Yes

08184455                           BAT[3.41163235], USD[0.00]                                                                                                                                                             Yes

08184460                           NFT (354667527850102307/NFT BZL 2021 #68)[1]

08184464                           ETH[0], USD[0.00]                                                                                                                                                                      Yes

08184469                           DOGE[1], MATIC[0], TRX[2], USD[0.00], USDT[0.00002655]

08184473                           NFT (502929237753103852/NFT BZL 2021 #101)[1]

08184510                           TRX[1], USD[0.00]

08184511                           CUSDT[3], ETH[.01436064], ETHW[.01436064], USD[0.00]

08184518                           BTC[.00010597], CUSDT[0.03330104], ETH[.00322778], ETHW[.00318674], NFT (335319212799830747/Cutie Kittens #24)[1], NFT (432112937637473748/Cutie Kittens #16)[1], SHIB[12.44954997],   Yes
                                   SOL[.02305573], USD[0.00], USDT[.99385807]
08184526                           NFT (342326175410450328/NFT BZL 2021 #73)[1]

08184529                           USD[0.01]                                                                                                                                                                              Yes

08184530                           NFT (314760398553225704/NFT BZL 2021 #108)[1]

08184533                           NFT (351095412339354047/NFT BZL 2021 #74)[1], NFT (440749482234544278/The Hill by FTX #2267)[1], NFT (499138556178792726/FTX - Off The Grid Miami #2721)[1]

08184536                           NFT (382434727616429171/NFT BZL 2021 #76)[1]

08184540                           DOGE[1], NFT (412113525052266072/Shrimp #1349)[1], NFT (564570196627240803/Shrimp #2162)[1], SOL[.0039018], USD[0.00]                                                                  Yes

08184542                           DOGE[32.62754428], ETH[.00117215], ETHW[.00115846], MATIC[3.05767608], SHIB[437785.722674], SOL[.04117185], USD[0.00]                                                                  Yes

08184545                           NFT (526976378553913272/NFT BZL 2021 #84)[1]

08184546                           NFT (291381411922812863/NFT BZL 2021 #102)[1]

08184547                           NFT (484733812387551932/NFT BZL 2021 #85)[1]

08184549                           NFT (349969581163388362/NFT BZL 2021 #90)[1]

08184551                           NFT (388118137318637825/NFT BZL 2021 #79)[1]                                                                                                                                           Yes

08184553                           NFT (514192594647094535/NFT BZL 2021 #91)[1]

08184554                           KSHIB[212.91921397], USD[0.00]                                                                                                                                                         Yes

08184555                           NFT (427226116953877048/NFT BZL 2021 #78)[1]

08184558                           NFT (487741791144588283/NFT BZL 2021 #88)[1]

08184560                           CUSDT[2], USD[0.01]

08184562                           NFT (446582915468350975/NFT BZL 2021 #80)[1]

08184564                           NFT (544246018640773429/NFT BZL 2021 #81)[1]

08184569                           NFT (395502805211784313/NFT BZL 2021 #83)[1]

08184572                           NFT (406806065162257016/NFT BZL 2021 #87)[1]

08184573                           NFT (525840637254563291/NFT BZL 2021 #82)[1]

08184575                           NFT (389212824750040145/NFT BZL 2021 #89)[1]

08184576                           NFT (355075301938710370/NFT BZL 2021 #92)[1]

08184579                           NFT (572277106931247109/NFT BZL 2021 #86)[1]

08184580                           NFT (312381840768003847/NFT BZL 2021 #96)[1]

08184583                           CUSDT[1], DOGE[1], ETHW[.02907249], SOL[1.50859491], TRX[1], USD[0.00]                                                                                                                 Yes

08184587                           NFT (349358940694006906/NFT BZL 2021 #93)[1]

08184588                           NFT (411627441623446713/NFT BZL 2021 #97)[1]

08184590                           NFT (419149571221280668/NFT BZL 2021 #123)[1]

08184593                           NFT (294564622993224401/NFT BZL 2021 #94)[1]

08184597                           USD[1.61]

08184598                           CUSDT[3], DOGE[91.5384758], ETH[.00763082], ETHW[.00753506], SOL[.17610819], USD[0.00]                                                                                                 Yes

08184599                           NFT (397301107905908390/NFT BZL 2021 #98)[1]

08184603                           USD[0.49]                                                                                                                                                                              Yes

08184604                           NFT (351598940366362414/Burn It Down)[1], NFT (376803682638807573/NFT BZL 2021 #95)[1], USD[44.26]                                                                                     Yes

08184606                           NFT (482686595422244151/NFT BZL 2021 #107)[1]
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              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08184607                           CUSDT[2], DOGE[1], TRX[1], USD[0.01]                                                                                                                                             Yes

08184609                           NFT (392425814382259767/NFT BZL 2021 #105)[1]

08184611                           NFT (376487610263649946/NFT BZL 2021 #100)[1]

08184612                           ETHW[3.81475052]                                                                                                                                                                 Yes

08184613                           NFT (437577433187939112/NFT BZL 2021 #152)[1]

08184614                           NFT (573645378483841994/NFT BZL 2021 #120)[1]

08184617                           NFT (368715193306805823/NFT BZL 2021 #183)[1]

08184619                           NFT (288670085160943655/NFT BZL 2021 #113)[1]

08184622                           CUSDT[3], DOGE[1], USD[0.00]                                                                                                                                                     Yes

08184623                           NFT (311597883485462137/NFT BZL 2021 #218)[1]

08184624                           NFT (326493632088241985/NFT BZL 2021 #163)[1]

08184625                           BTC[.00100217], ETH[.01286761], ETHW[.01286761], NFT (461344593683236536/NFT BZL 2021 #299)[1], SHIB[413910.28476821], USD[5.01]

08184627                           NFT (529459268040905174/NFT BZL 2021 #112)[1]

08184630                           USD[107.85]                                                                                                                                                                      Yes

08184637                           ETH[0], ETHW[0], USD[0.00]

08184642                           NFT (460364794490368623/NFT BZL 2021 #286)[1]

08184645                           NFT (527576848490962462/NFT BZL 2021 #149)[1]

08184647                           NFT (472134532969210972/NFT BZL 2021 #129)[1]

08184651                           NFT (376641587315606266/NFT BZL 2021 #144)[1]

08184652                           NFT (396574399430185321/NFT BZL 2021 #109)[1]

08184653                           USD[500.01]

08184654                           NFT (409044596742055163/NFT BZL 2021 #114)[1]

08184656                           USD[0.01]                                                                                                                                                                        Yes

08184658                           USD[107.87]                                                                                                                                                                      Yes

08184659                           USD[5.00]

08184663                           USD[1.07]                                                                                                                                                                        Yes

08184665                           NFT (431996162652887849/NFT BZL 2021 #111)[1]

08184667                           SOL[.18], USD[26.16]

08184671                           ETH[.00000001], ETHW[.00000001], SOL[.00000024], USD[0.01]                                                                                                                       Yes

08184673                           NFT (297443142795977205/NFT BZL 2021 #153)[1]

08184675                           NFT (347629487339250617/NFT BZL 2021 #137)[1]

08184679                           DOGE[147], SOL[.00000001], USD[0.06]

08184680                           USD[290.33]

08184690                           NFT (559595420039939505/NFT BZL 2021 #176)[1]

08184695                           USD[20.00]

08184696                           NFT (436310456076129340/NFT BZL 2021 #119)[1]

08184698                           USD[0.43]

08184707                           TRX[1], USD[1000.01]

08184709                           NFT (490750367400850991/NFT BZL 2021 #118)[1], SOL[.0000091], TRX[1], USD[0.00]                                                                                                  Yes

08184710                           NFT (505102131359759198/Rabbit Random Crew)[1], SOL[.074]

08184712                           DOGE[0], ETH[0], NFT (303240640210987710/Shrimp #1347)[1], NFT (431887667878500145/NFT BZL 2021 #122)[1], NFT (471627140693162910/Shrimp #1348)[1], SOL[0.00000001], USD[0.00]

08184713                           ETH[.130869], ETHW[.130869], MATIC[398.19634594], USD[0.00]

08184720                           USDT[.23158115]

08184721                           NFT (326871410598373467/NFT BZL 2021 #126)[1]

08184736                           NFT (368290935258327461/NFT BZL 2021 #127)[1]

08184742                           NFT (417149836933786322/NFT BZL 2021 #136)[1]

08184745                           NFT (570460141332340983/NFT BZL 2021 #128)[1]

08184753                           NFT (568858513232654685/NFT BZL 2021 #125)[1]

08184754                           NFT (341104972034548258/NFT BZL 2021 #130)[1]

08184757                           NFT (365585044505242234/NFT BZL 2021 #294)[1]

08184759                           CUSDT[1], SHIB[1], USD[19.76]                                                                                                                                                    Yes

08184761                           NFT (489276958088215522/NFT BZL 2021 #134)[1]

08184771                           CUSDT[1], USD[1.21]                                                                                                                                                              Yes

08184777                           NFT (403290129480710232/NFT BZL 2021 #177)[1]

08184779                           NFT (307463715562349978/NFT BZL 2021 #300)[1]

08184780                           USD[5.39]                                                                                                                                                                        Yes

08184789                           NFT (346267547855835855/NFT BZL 2021 #133)[1], NFT (476911402434426913/Coachella x FTX Weekend 2 #15620)[1]

08184793                           ETH[0.00324682], ETHW[0.00324681], SOL[0.00000001], USD[0.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08184797                              NFT (403370328484756544/NFT BZL 2021 #161)[1]

08184800       Contingent, Disputed   BRZ[1], BTC[.00001269], CUSDT[1], SHIB[7], SOL[1.23055025], TRX[3], USD[0.00]                                                                                                       Yes

08184806       Contingent, Disputed   NFT (533081806961062202/NFT BZL 2021 #135)[1]

08184810                              KSHIB[49.95], NFT (395001050953916727/z)[1], USD[1.68]

08184813                              NFT (562996693595293544/NFT BZL 2021 #138)[1]

08184815                              USD[0.19]

08184816                              NFT (430055853366868529/NFT BZL 2021 #323)[1]

08184817                              BTC[.03479397], CUSDT[2], DOGE[8632.91610896], SHIB[12], TRX[2], USD[0.00]                                                                                                          Yes

08184818                              BTC[.00096274], CUSDT[2], ETH[.00009265], ETHW[.00009265], SOL[.14848511], USD[0.00]                                                                                                Yes

08184824                              TRX[4621.39944]

08184841                              BTC[.00017589], DOGE[1], USD[0.00]                                                                                                                                                  Yes

08184842                              BAT[2.0087075], BRZ[1], DOGE[2], SHIB[1], SOL[.00202435], TRX[1], USD[3939.77], USDT[1.02051478]                                                                                    Yes

08184844                              USD[1.08]                                                                                                                                                                           Yes

08184848                              NFT (295714247756624037/NFT BZL 2021 #139)[1]

08184850                              NFT (441546281293330061/Coachella x FTX Weekend 1 #30869)[1]

08184854       Contingent, Disputed   USD[0.00]

08184856                              BTC[.00002035], TRX[1], USD[0.01]                                                                                                                                                   Yes

08184863                              NFT (492127268246995521/NFT BZL 2021 #346)[1]

08184869                              ETH[.04764645], ETHW[0.04764644]

08184874                              BTC[.00000967], USD[0.46], USDT[0]                                                                                                                                                  Yes

08184877                              SUSHI[.495], USD[0.00]

08184879                              NFT (416635228380090458/NFT BZL 2021 #143)[1]

08184880                              BAT[1], DOGE[1], USD[245.33]                                                                                                                                                        Yes

08184885                              NFT (415685803464768645/NFT BZL 2021 #142)[1]

08184886                              NFT (508693868988252356/NFT BZL 2021 #140)[1]

08184890                              NFT (342155064746848794/FTX - Off The Grid Miami #20)[1], NFT (407258303423372040/NFT BZL 2021 #141)[1], NFT (491840574670580156/Saudi Arabia Ticket Stub #1533)[1]

08184892                              NFT (465250850505067645/NFT BZL 2021 #258)[1]

08184903                              CUSDT[1], KSHIB[.22957356], SOL[.25077632], USD[0.00]                                                                                                                               Yes

08184911                              BTC[.00006664], USD[2.07]

08184912                              NFT (466062018565419508/NFT BZL 2021 #145)[1]

08184913                              NFT (331983875571219879/NFT BZL 2021 #165)[1]

08184915                              SHIB[.45568243], USD[1.93]                                                                                                                                                          Yes

08184920                              NFT (444768643880656696/NFT BZL 2021 #146)[1]

08184921                              BRZ[1], CUSDT[1], DOGE[2], TRX[1], USD[0.94]

08184927                              ETH[0], LINK[0], LTC[0], SOL[0.00000346], TRX[0], USD[0.00]                                                                                                                         Yes

08184929                              NFT (525359296146122234/NFT BZL 2021 #148)[1]

08184930                              BTC[0], ETH[0.00004450], ETHW[0.00004450], SOL[0], USD[0.00]                                                                                                                        Yes

08184942                              NFT (540631597198973049/NFT BZL 2021 #164)[1]

08184945                              NFT (471092958438705235/NFT BZL 2021 #150)[1]

08184946                              BAT[266.30291649], BTC[.03308576], MATIC[319.03530609], SOL[2.51085113], SUSHI[19.89929856], USD[0.00]                                                                              Yes

08184947                              USD[0.05]

08184948                              NFT (301376164712877699/Warriors 75th Anniversary Icon Edition Diamond #246)[1]

08184952                              NFT (296561777180746157/Dancing Skeleton #9)[1], NFT (318491720292027240/goddess #3)[1], NFT (327417350544988823/goddess #4)[1], NFT (331370603774516898/magic world)[1], NFT
                                      (332367717019769073/THE THIRD EYE #3)[1], NFT (332475994266291899/Dancing Skeleton #8)[1], NFT (339701368990410608/goddess #2)[1], NFT (351905145033155892/THE THIRD EYE #9)[1],
                                      NFT (361654300833669974/Purelove)[1], NFT (366542464624519920/Purelove #6)[1], NFT (371191135912268398/goddess #7)[1], NFT (373760143319709319/Seahorse #5)[1], NFT
                                      (402579781713395455/magic world #3)[1], NFT (405644514713497087/blossom #3)[1], NFT (428370062998026780/Purelove #5)[1], NFT (452980014341920313/goddess #6)[1], NFT
                                      (456662288377302333/goddess #8)[1], NFT (462414448893044044/THE THIRD EYE #7)[1], NFT (462521825323754937/Dancing Skeleton #14)[1], NFT (470955603738596071/Abstract Wolf #5)[1],
                                      NFT (478026678557667703/Seahorse #3)[1], NFT (487234764020330922/blossom #4)[1], NFT (492095910738664760/blossom #5)[1], NFT (505760574660391187/magic world #5)[1], NFT
                                      (506395288772210793/Dancing Skeleton #10)[1], NFT (507079929903715558/magic world #2)[1], NFT (515950573278719812/blossom)[1], NFT (520868538141719553/Purelove #3)[1], NFT
                                      (521976119829349261/Purelove #2)[1], NFT (523870904783403892/THE THIRD EYE #8)[1], NFT (524697741099847354/THE THIRD EYE #6)[1], NFT (537567472670318841/goddess #5)[1], NFT
                                      (551221191998220130/magic world #4)[1], NFT (574427761591115775/Seahorse #4)[1], USD[0.00], USDT[0]
08184956                              NFT (341702588805571993/NFT BZL 2021 #151)[1], NFT (385888128963880462/Coachella x FTX Weekend 2 #16847)[1], NFT (562472819771508256/FTX - Off The Grid Miami #1588)[1]

08184958                              USD[0.00]

08184966       Contingent, Disputed   USD[0.00]

08184976                              CUSDT[1], NFT (505251828024151837/Space Bums #6951)[1], SOL[1.9101329], TRX[1], USD[0.26]                                                                                           Yes

08184985                              USD[10.04]

08184987                              NFT (392141837629262805/NFT BZL 2021 #295)[1]

08184993                              NFT (498754245055707243/NFT BZL 2021 #155)[1]

08184994                              TRX[1], USD[0.00]

08184999                              NFT (461167970324399759/NFT BZL 2021 #157)[1]

08185005                              NFT (574746317822638009/NFT BZL 2021 #159)[1]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08185016                              NFT (492691245541939769/NFT BZL 2021 #158)[1]

08185019                              NFT (570291296078491744/NFT BZL 2021 #160)[1]

08185020                              DOGE[1], LINK[20.11831677], USD[0.01]                                                                                            Yes

08185031                              NFT (360941193985059970/NFT BZL 2021 #237)[1]

08185035                              USD[0.33]                                                                                                                        Yes

08185036                              USD[0.01]

08185040                              KSHIB[21.2279431], USD[0.00]

08185051                              BTC[0], USD[0.24], USDT[0]

08185054                              BAT[15.22844071], LTC[1.75174016], SOL[6.33235319]

08185055                              NFT (306699700621177600/NFT BZL 2021 #162)[1]

08185057                              NFT (335103166764928223/NFT BZL 2021 #169)[1]

08185060                              NFT (331471750840396625/NFT BZL 2021 #171)[1]

08185062                              NFT (311739048456267411/NFT BZL 2021 #167)[1]

08185064                              SOL[2.7972], USD[501.55]

08185066                              NFT (532329251748117503/NFT BZL 2021 #168)[1]                                                                                    Yes

08185067                              NFT (404605610703985792/NFT BZL 2021 #166)[1]

08185069                              CUSDT[1220.13436452], DOGE[.00047845], USD[0.22]                                                                                 Yes

08185076                              NFT (421283483888426967/NFT BZL 2021 #170)[1]

08185082                              USD[10.61]                                                                                                                       Yes

08185089                              BTC[.00007488], USD[0.00]

08185090                              NFT (420648533873674167/NFT BZL 2021 #172)[1]

08185098                              NFT (491977198795080578/NFT BZL 2021 #174)[1]

08185103                              CUSDT[1], ETH[.00255355], ETHW[.00252619], KSHIB[381.16764992], USD[0.94]                                                        Yes

08185106                              BTC[0.00001831], MKR[0], USD[0.00]                                                                                               Yes

08185107                              NFT (567736152609777636/NFT BZL 2021 #185)[1]

08185111                              NFT (315652539202747448/NFT BZL 2021 #175)[1]

08185116                              CUSDT[2], SHIB[360380.42228844], USD[13.90]                                                                                      Yes

08185119                              DOGE[3.44464956], USD[0.00]

08185121                              NFT (407631519060860718/NFT BZL 2021 #178)[1]

08185132                              SOL[1.85], USDT[.51755325]

08185135                              BRZ[2], DOGE[4], ETH[.00003465], ETHW[.00003465], MATIC[.04869931], SHIB[4], TRX[1], USD[0.01]                                   Yes

08185139                              NFT (459603615902304234/NFT BZL 2021 #180)[1]

08185144                              BAT[1], DOGE[1], NFT (561055164653528291/NFT BZL 2021 #179)[1], USD[0.00]

08185152                              BRZ[64.90108169], CUSDT[2], DAI[11.47835265], DOGE[3], GRT[83.03189578], SHIB[2270010.05069468], TRX[115.29423513], USD[44.12]   Yes

08185154                              CUSDT[1], GRT[1], MATIC[.00038904], NFT (436186659944237985/NFT BZL 2021 #186)[1], SHIB[1], USD[574.60]                          Yes

08185158                              NFT (307908836169276763/NFT BZL 2021 #182)[1]

08185159                              KSHIB[195.40182142], USD[0.31]

08185171                              SOL[.01465863], USD[0.26]

08185174       Contingent, Disputed   USD[0.00]

08185180                              NFT (295066470571342417/NFT BZL 2021 #184)[1]

08185181                              BTC[.00015549], CUSDT[2], USD[0.00]                                                                                              Yes

08185184                              BRZ[1], DOGE[1], EUR[0.00]

08185185                              NFT (451220317326187337/NFT BZL 2021 #191)[1]

08185188                              NFT (450064206334344153/NFT BZL 2021 #189)[1]

08185192                              NFT (491358685050031104/NFT BZL 2021 #190)[1]

08185197                              NFT (331917266686605190/NFT BZL 2021 #188)[1]

08185199                              NFT (473995648955797036/NFT BZL 2021 #192)[1]

08185202                              NFT (441073370450902018/NFT BZL 2021 #193)[1]

08185203                              USD[1.08]                                                                                                                        Yes

08185204                              DOGE[1], ETH[.04267682], SHIB[4], SOL[1.25930164], USD[0.01]                                                                     Yes

08185207                              USD[8428.28]                                                                                                                     Yes

08185210                              USD[2.00]

08185215                              NFT (413779611763875536/NFT BZL 2021 #194)[1]

08185218                              NFT (327711238872317041/NFT BZL 2021 #206)[1]

08185219                              NFT (385704113918836482/NFT BZL 2021 #282)[1]

08185224                              BRZ[1], SOL[.00001292], USD[0.00]                                                                                                Yes

08185225                              BRZ[2], SHIB[7], TRX[1], USD[0.01]                                                                                               Yes

08185227                              NFT (297573344628609769/NFT BZL 2021 #195)[1]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08185230                              NFT (512441041330896344/NFT BZL 2021 #196)[1]

08185242                              BTC[0], DOGE[0.00039437], ETH[0.00000001], ETHW[0.00000001], LTC[0], USD[0.02]                                                                                     Yes

08185244                              BCH[0], BTC[0], GRT[0], LINK[0], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.03], YFI[0]

08185250                              CUSDT[4], DOGE[2], ETH[.03063095], ETHW[.03024791], NFT (382328603362026368/#3941)[1], NFT (464045538473905791/#1630)[1], NFT (495226411473031370/#5414)[1],       Yes
                                      SHIB[239886.05868136], SOL[.02835864], TRX[1], USD[0.00]
08185254       Contingent, Disputed   DOGE[0], SHIB[0], SOL[0], USD[0.00]

08185260                              NFT (509954613393777986/NFT BZL 2021 #197)[1]

08185261                              SHIB[1], USD[0.00]                                                                                                                                                 Yes

08185264                              ETH[0.00117627], ETHW[0.00117627], NFT (353752900809081825/Desert Movements)[1]

08185275                              BTC[.00666223], ETH[.00774218], ETHW[.00774218], MATIC[12.55405303], SOL[.15155295]

08185278                              BTC[.0009], NFT (404941940064999259/Cal Bears Super Oski Scavenger Hunt #49)[1]

08185279                              BRZ[2], CUSDT[23], DOGE[3], MATIC[1194.70768064], SHIB[5], SOL[18.28875763], USD[0.05], USDT[1.06738777]                                                           Yes

08185286                              NFT (377769458934933090/NFT BZL 2021 #199)[1]

08185289                              NFT (356344597558292990/NFT BZL 2021 #198)[1]

08185291                              SOL[.00000134], USD[0.01]                                                                                                                                          Yes

08185294                              USD[0.00]

08185297                              NFT (289232847420450679/NFT BZL 2021 #201)[1]

08185300                              NFT (371705548811916934/NFT BZL 2021 #200)[1]

08185303                              SHIB[1.03060796], SOL[0], USD[5.81]

08185304                              USD[0.00]

08185305                              SHIB[700000], SOL[.01], USD[1.94]

08185308                              TRX[66.26181424], USD[0.56]                                                                                                                                        Yes

08185310                              AAVE[0], AVAX[0], DAI[0], ETH[0], LINK[0], MATIC[0], NEAR[0], SOL[0.00795789], TRX[.000001], USD[0.68], USDT[0.00000106]

08185311                              NFT (341073639832248908/NFT BZL 2021 #202)[1]

08185315                              CUSDT[1], TRX[1], USD[0.01]                                                                                                                                        Yes

08185325                              NFT (498538558240578897/NFT BZL 2021 #216)[1]

08185326                              CUSDT[1], SHIB[248708.64117093], SOL[.59329675], USD[0.01]                                                                                                         Yes

08185331                              NFT (523597220802464614/NFT BZL 2021 #209)[1]

08185333                              NFT (501848415544427792/NFT BZL 2021 #203)[1]

08185334                              SHIB[10500000], USD[2.63]

08185340                              CUSDT[3], TRX[1], USD[0.78]

08185347                              USD[0.24]

08185350                              BTC[.00139525]

08185387                              NFT (293242429047758077/Austria Ticket Stub #131)[1], NFT (311886262888060165/The Hill by FTX #530)[1], NFT (501215079200162518/Silverstone Ticket Stub #144)[1]

08185391                              ETH[0], SOL[0], USD[0.01], USDT[0.00000001]                                                                                                                        Yes

08185406                              TRX[1611.489621]

08185412                              NFT (399867793433940375/NFT BZL 2021 #207)[1]

08185414                              BTC[0], DOGE[0], SOL[0], TRX[0], USD[0.00], USDT[0]

08185415                              NFT (376148428356097973/NFT BZL 2021 #217)[1], NFT (439215894841045637/FTX - Off The Grid Miami #329)[1]

08185425                              SOL[38.88486349], USD[0.00], USDT[1.07680639]                                                                                                                      Yes

08185429                              SOL[.32067], USD[8.06]

08185436                              NFT (485465819899676895/NFT BZL 2021 #211)[1]

08185444                              SHIB[205465.37908362], USD[0.00]

08185449                              CUSDT[1], SHIB[1], USD[21.34]                                                                                                                                      Yes

08185450                              NFT (388955384964085273/NFT BZL 2021 #210)[1]

08185452                              GRT[1], SUSHI[62.78760663], USD[0.01]

08185466                              DOGE[1], ETH[0], GRT[1], SOL[.00004247], USD[0.00]                                                                                                                 Yes

08185469                              DOGE[1527.54745], ETH[.0479544], ETHW[.0479544], SHIB[1798290], SOL[9.5808895], USD[1816.01]

08185473                              MATIC[849.15], USD[69.92]

08185475                              NFT (524341696286358707/NFT BZL 2021 #213)[1]

08185485                              BRZ[3], BTC[.00000001], CUSDT[1], DOGE[3], NFT (469848201107229628/Fancy Frenchies #7079)[1], TRX[1], USD[0.01]                                                    Yes

08185489                              SOL[.21901], USD[2.12]

08185498                              SOL[.03], USD[0.64]

08185501                              MATIC[280.56207848], SHIB[418.50974658], USD[0.00]                                                                                                                 Yes

08185516       Contingent, Disputed   USD[0.00], USDT[1.90445223]

08185520                              NFT (521741910249841215/NFT BZL 2021 #215)[1]

08185522                              USD[0.00]                                                                                                                                                          Yes

08185525                              BTC[1.35372829], USD[0.00]

08185526                              BTC[0.02767368], ETH[.39462475], ETHW[.39462475], USD[2.67]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08185529                              USD[107.87]                                                                                                                                                                           Yes

08185535                              CUSDT[1], SOL[.07544099], USD[0.00]                                                                                                                                                   Yes

08185540                              SOL[.57], USD[1.57]

08185542                              USD[0.00]                                                                                                                                                                             Yes

08185549                              CUSDT[2], MATIC[47.17228713], TRX[1], USD[0.00]                                                                                                                                       Yes

08185550                              DOGE[121.91956289], KSHIB[303.61010633], MATIC[4.4891638], SHIB[317688.89196918], USD[0.01]                                                                                           Yes

08185551                              BRZ[1], CUSDT[6], KSHIB[16744.04962214], NFT (313932357805380900/Black.Olive.Marble)[1], NFT (354286616186026285/Puppy love #2)[1], NFT (369926618437461008/Star)[1], NFT             Yes
                                      (408584935513670233/White.Clown.Marble)[1], NFT (439485922992474727/Blue.Angular.Marble)[1], NFT (443990305536244501/White.Abstract2.Marble)[1], NFT
                                      (474450777263800374/White.Angular.Marble)[1], NFT (487640201035764359/Brown.Skin.Rash.Marble)[1], NFT (508725523213490668/Kenyan)[1], NFT (528699616892891626/Horse Number #10)[1],
                                      NFT (544161142708067461/Horse Number #7)[1], SHIB[5], SOL[1.47007596], TRX[2], USD[0.00]
08185557                              ETH[.00951407], ETHW[0.00951407]

08185558                              DOGE[1], SOL[2.23963819], USD[0.00]                                                                                                                                                   Yes

08185566                              BAT[.00006349], BRZ[1], CUSDT[34], MATIC[.00015426], SUSHI[.00000002], TRX[1], USD[0.16], USDT[0]                                                                                     Yes

08185568                              NFT (342194252779978893/FTX - Off The Grid Miami #1159)[1], NFT (560619870927697213/NFT BZL 2021 #219)[1]

08185569                              NFT (450773757201328994/NFT BZL 2021 #220)[1]

08185575                              BTC[.00051709], USD[32.54]                                                                                                                                                            Yes

08185576                              BTC[.000025], ETH[.001], ETHW[.9987777], USD[14.20]

08185578                              NFT (478922765825127374/NFT BZL 2021 #221)[1]

08185579                              ALGO[3.47767599], SHIB[13790.65594059], USD[0.00], USDT[0]                                                                                                                            Yes

08185590                              BAT[0], BTC[0], ETH[0], MATIC[0.00453922], SUSHI[0], USD[0.00]                                                                                                                        Yes

08185593                              BTC[.00001739], ETH[.00021393], ETHW[.00021393], USD[0.00]                                                                                                                            Yes

08185613                              USD[0.01]                                                                                                                                                                             Yes

08185618                              NFT (537093291555065505/NFT BZL 2021 #222)[1]

08185631                              USD[16.18]                                                                                                                                                                            Yes

08185636                              ETH[0]

08185656                              ETH[0], ETHW[0.29486346], USD[0.00]

08185659                              USD[1.55]

08185663                              DOGE[4], MATIC[293.48759688], SHIB[1], SOL[.00001113], TRX[3], USD[0.00]                                                                                                              Yes

08185665                              NFT (391799123267698197/NFT BZL 2021 #223)[1]

08185671       Contingent, Disputed   BTC[0.00103619], DOGE[0], SHIB[1], USD[0.00], USDT[0]                                                                                                                                 Yes

08185684                              BAT[0], ETH[0], ETHW[0], MATIC[0], SHIB[524443.95936880], SOL[0.00300000], USD[0.00]

08185698                              BTC[.0056524], TRX[1], USD[0.01]                                                                                                                                                      Yes

08185707                              NFT (383815248245195165/Australia Ticket Stub #280)[1]

08185709                              BAT[13], TRX[202.797], USD[0.91]

08185719                              DOGE[43.956], ETH[.016983], ETHW[.016983], KSHIB[89.91], LINK[20.987], USD[0.11]

08185733                              SHIB[5], USD[0.01]

08185736                              BTC[.00691843], CUSDT[4], LINK[0], LTC[1.57491547], MATIC[0.00078655], TRX[1], USD[0.00], USDT[0.00000002]                                                                            Yes

08185739                              DOGE[5206.63860197], USD[0.02]

08185744                              BF_POINT[100], USD[0.01]                                                                                                                                                              Yes

08185753                              ETHW[4.504491], USD[11.07]

08185769                              CUSDT[1], DOGE[1], NFT (401768446539432513/Nappy time)[1], SHIB[803770.66864504], USD[0.00], USDT[1.06465427]

08185776                              ETH[.10644655], ETHW[.10644655], USD[0.01]

08185784                              NFT (346394712698180848/24 Golden Carrot)[1], NFT (360141058883301053/pixel foods)[1], NFT (365427355730742072/Diamond Donut)[1], NFT (374446631359994643/Saphire Shrimp)[1], NFT
                                      (433646252209563362/Ruby Raddish)[1], NFT (486766870476860569/Emerald Egg)[1]
08185794                              SHIB[5794200], USD[11.80]

08185795                              NFT (480346299968819624/NFT BZL 2021 #225)[1]

08185812                              BRZ[1], BTC[.00000003], LINK[12.16601058], TRX[1], USD[0.26], USDT[0]                                                                                                                 Yes

08185813                              USD[0.00]

08185818                              USD[35.01]

08185826                              USD[1.00]

08185830                              NFT (441993520181406171/NFT BZL 2021 #230)[1]

08185835                              NFT (410906494372370345/NFT BZL 2021 #227)[1], NFT (448165721190289231/Humpty Dumpty #155)[1]

08185836                              NFT (426904205941822897/NFT BZL 2021 #228)[1]

08185838                              CUSDT[3], DOGE[3], ETH[.15427647], ETHW[.15354543], SOL[1.030796], TRX[607.09497324], USD[0.00], YFI[.00232616]                                                                       Yes

08185846                              USD[0.01]

08185851                              UNI[.2], USD[95.45]

08185862                              CUSDT[3], SHIB[3236717.1569466], SOL[.0204827], USD[0.00]                                                                                                                             Yes

08185863                              BRZ[1], BTC[.00048358], CUSDT[3], DOGE[1], ETH[.02233548], ETHW[.02206188], SHIB[302124.63263579], SOL[.40125681], SUSHI[8.27612216], TRX[36.91890092], USD[0.00]                     Yes

08185872                              NFT (546506368778143171/NFT BZL 2021 #229)[1]

08185877                              USD[0.00]
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              Disputed Indicator
08185880                              NFT (551005129670094616/NFT BZL 2021 #231)[1]

08185882       Contingent, Disputed   USD[0.00]

08185883                              BTC[.00025994], CUSDT[1], ETH[.00213061], ETHW[.00213061], USD[0.00]

08185884                              NFT (441771470660968527/NFT BZL 2021 #232)[1]

08185894                              NFT (445621184170449666/A Fallen Hero)[1], USD[49.01]

08185895                              CUSDT[1], SHIB[269397.39226612], USD[0.00]                                                                                                                                                 Yes

08185899                              SOL[.03214751], USD[0.00]                                                                                                                                                                  Yes

08185904                              LTC[.00040774], TRX[0.00227200], USD[0.00]                                                                                                                                                 Yes

08185913                              NFT (300457920368924985/Microphone #9132)[1], NFT (375968274813054835/NFT BZL 2021 #233)[1]

08185914                              BRZ[.01680834], BTC[.00190006], CUSDT[4], DOGE[1], ETH[.00229681], ETHW[.00226945], SOL[.59053928], SUSHI[2.47024163], TRX[234.7291639], USD[0.00]                                         Yes

08185915                              SOL[.00140568], USD[4.17], USDT[1.1411704]

08185916                              USD[10.65]

08185920                              NFT (421815157594816093/NFT BZL 2021 #234)[1]

08185927                              ETHW[8.651], NFT (559829851639399315/Romeo #1009)[1], USD[42164.64]

08185929                              NFT (391720548273280920/NFT BZL 2021 #248)[1]

08185930                              NFT (300640954127222413/NFT BZL 2021 #235)[1]

08185932                              ETH[.0035816], ETHW[.0035816]

08185933                              SHIB[6919.76288765], USD[0.00]                                                                                                                                                             Yes

08185934                              CUSDT[1], DOGE[2], USD[0.00]

08185943                              NFT (331692418873879802/NFT BZL 2021 #239)[1]

08185951                              NFT (387896052622408548/NFT BZL 2021 #238)[1]

08185952                              NFT (352661880903823847/FTX - Off The Grid Miami #7447)[1], NFT (476203770232819505/Miami Grand Prix 2022 - ID: AB92607C)[1]

08185953                              NFT (527632628829231044/NFT BZL 2021 #240)[1]

08185956                              BTC[0], CUSDT[817.13173615], DOGE[1], ETH[0], GBP[0.00], KSHIB[0], MATIC[0], MKR[0], SHIB[0], SOL[0], UNI[0], USD[0.00], USDT[0]                                                           Yes

08185966                              BTC[.15107374], ETH[1.23660619], ETHW[1.23660619], SOL[2.04052911]

08185968                              BTC[.00008655], CUSDT[1], ETH[.00115099], ETHW[.00113731], USD[0.00]                                                                                                                       Yes

08185970                              BTC[.00043354]                                                                                                                                                                             Yes

08185972                              BTC[.00000003], CUSDT[2], DOGE[1], USD[0.00]                                                                                                                                               Yes

08185976                              USD[0.00]

08185978                              BAT[148.7741], DOGE[3817.0397], ETH[.1303007], ETHW[.1303007], LINK[.49595], LTC[.828668], MATIC[10], SHIB[8836370], SUSHI[13.96085], TRX[962.7543], USD[407.15]

08185991                              CUSDT[1], SOL[.11627343], USD[0.00]                                                                                                                                                        Yes

08185993                              ETH[.00684795], ETHW[.00676587], SHIB[672146.48969909], SOL[.06721344], USD[0.00]                                                                                                          Yes

08185994                              NFT (465299693836140589/Microphone #8510)[1]

08186009                              CUSDT[1], SOL[.25154244], TRX[1], USD[0.00]

08186014                              PAXG[.27530365], SHIB[1], USD[0.00]                                                                                                                                                        Yes

08186016                              NFT (403229728456213997/NFT BZL 2021 #247)[1]

08186018                              NFT (338520779510864936/NFT BZL 2021 #246)[1]

08186019                              CUSDT[3], DOGE[2.71152172], LINK[1.10918344], SHIB[4], SOL[.00000565], SUSHI[1.5668811], TRX[1], USD[0.00], USDT[.99477821]                                                                Yes

08186020                              NFT (488135278830142423/Coachella x FTX Weekend 2 #4227)[1], NFT (520542240490836474/NFT BZL 2021 #241)[1]

08186021                              BRZ[2], BTC[0], CUSDT[11], DAI[0], DOGE[4], TRX[4], USD[0.01], USDT[0]                                                                                                                     Yes

08186022                              NFT (380008420047042792/NFT BZL 2021 #242)[1]

08186025                              NFT (422391531056141949/NFT BZL 2021 #244)[1]

08186026                              NFT (356545061949183344/NFT BZL 2021 #243)[1]

08186031                              CUSDT[1], USD[0.00]

08186041                              NFT (374611258221483636/Glitch Politician #07)[1], NFT (477191387929190126/Entrance Voucher #2497)[1], NFT (485029504232206821/Glitch Politician #12)[1], NFT (501441469752280627/Glitch
                                      Politician #08)[1], NFT (543687466825752838/Glitch Politician #13)[1], USD[0.00]
08186051                              BRZ[1], BTC[.00004966], ETH[.00085369], ETHW[.00084012], LTC[.42967349], SOL[.45008323], USD[21.40]                                                                                        Yes

08186063                              USD[4.31]                                                                                                                                                                                  Yes

08186081                              NFT (378359707142977303/NFT BZL 2021 #249)[1]

08186082                              USD[1.00]

08186098                              BCH[.03107099], BTC[.00009904], CUSDT[4], ETH[.00115012], ETHW[.00113644], KSHIB[416.02853476], MATIC[4.55801035], SOL[.07749573], TRX[53.25354032], USD[0.01]                             Yes

08186107                              USD[0.31]

08186108                              ETH[662.252], ETHW[662.252]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08186110                              DOGE[102.14184404], ETH[0], ETHW[0.02206031], NFT (288877739212143016/TEST - 9.18 - #2)[1], NFT (293029449503665294/Edition First #3)[1], NFT (295368546597411611/Call It #53)[1], NFT   Yes
                                      (296920707748543071/Silverstone Ticket Stub #44)[1], NFT (300953326883742039/Edition First)[1], NFT (301701720413258887/Test 2-2)[1], NFT (307539036664649042/FTX Crypto Cup 2022 Key
                                      #125)[1], NFT (309652959173886205/Test 6.22.22 #3)[1], NFT (311695540049545530/Coachella x FTX Weekend 1 #7423)[1], NFT (315497254701611561/StarAtlas Anniversary)[1], NFT
                                      (316531930758421792/StarAtlas Anniversary)[1], NFT (318208168385103722/Stay Liquid)[1], NFT (321069329252295188/Call It #57)[1], NFT (322208705853783327/test hoodie #2)[1], NFT
                                      (323558294574997277/VOXCHAIN | SMB#3424)[1], NFT (328391843860599827/Call It #61)[1], NFT (331150697558743950/Coachella x FTX Weekend 2 #3574)[1], NFT
                                      (331963164283630826/StarAtlas Anniversary)[1], NFT (333597529186233399/PsykerHOWL)[1], NFT (339950029743314656/Test 6.22.22 #4)[1], NFT (343609355286675975/Sun Set #239)[1], NFT
                                      (346277298739429256/Call It #55)[1], NFT (347380107221438333/StarAtlas Anniversary)[1], NFT (349633376154161310/Montreal Ticket Stub #128)[1], NFT (352678375541328887/FTX Crypto Cup
                                      2022 Key)[1], NFT (357043105550041748/Impact Sweepstakes)[1], NFT (361062155906813003/DEMO - Coming Soon - The Hill)[1], NFT (362743509405799021/Keycard #0155)[1], NFT
                                      (364869331009192898/Primative.Gato)[1], NFT (368193146971859007/Monaco Ticket Stub #159)[1], NFT (368198704175763770/A Prestu)[1], NFT (371768982024470466/Email NFT)[1], NFT
                                      (372558749960300959/Test 2-3)[1], NFT (374908696990993630/Coming Soon - The Hill)[1], NFT (375893518728902260/Exclusive 2974 Collection Merchandise Package #1608 (Redeemed))[1], NFT
                                      (376381793422021441/ISSC-RCN1)[1], NFT (376696399772927670/Flag Monkez #11)[1], NFT (379210237867186516/Depictive #21)[1], NFT (382018002953276356/Call It #59)[1], NFT
                                      (383630698686590709/Series 1: Capitals)[1], NFT (383978641696743974/Goats Gang Solana #4312)[1], NFT (392675122334979084/StarAtlas Anniversary)[1], NFT (393512915634091720/Merch Item
                                      #7)[1], NFT (396024065857734923/Gonzalo Test)[1], NFT (396257087375683810/StarAtlas Anniversary)[1], NFT (401268479207942871/FTX - Off The Grid Miami #342)[1], NFT
                                      (402822851971903261/Women in Music 33)[1], NFT (403178387839796558/Test 5)[1], NFT (403330530723619522/Grim #8297)[1], NFT (411287352323724966/StarAtlas Anniversary)[1], NFT
                                      (411592858965540789/OG Logo)[1], NFT (420462060792058477/A Prestu 2022)[1], NFT (425718801395253774/Coming Soon)[1], NFT (431003602853307843/)[1], NFT (431746699297530883/FTX
                                      Crypto Cup 2022 - Coming Soon)[1], NFT (434895780020384235/Depictive #2)[1], NFT (439227423710021138/Call It #56)[1], NFT (439542896795147302/Microphone #124)[1], NFT
                                      (440515682787949287/StarAtlas Anniversary)[1], NFT (441648047912084658/Sound Test 001 Series #2)[1], NFT (447353995062085907/CORE 22 #2)[1], NFT (447797188027132491/Medallion of
                                      Memoria)[1], NFT (448386771785867437/test - Exclusive 2974 Collection Merchandise)[1], NFT (451539533355709474/DEMO - The Hill by FTX #3)[1], NFT (451629783005817262/Logo Remix Contest
                                      Entry)[1], NFT (455835073644601270/A NEW RISE)[1], NFT (460471975232417312/REGEN at Coachella - Coming Soon)[1], NFT (464264892045230894/Barcelona Ticket Stub #740)[1], NFT
                                      (468879034827152068/Citizen Card #3415)[1], NFT (470124615953440430/Good Boy #362)[1], NFT (474018642481652911/Test1)[1], NFT (476374110584290392/Exclusive 2974 Collection
                                      Merchandise Package #3773)[1], NFT (478875664203271667/TEST - 9.18 - )[1], NFT (482132482342779670/Maxwell Adams)[1], NFT (485059011622724922/Call It #58)[1], NFT
                                      (485544736131330758/Call It #54)[1], NFT (494230159943541833/Baku Ticket Stub #136)[1], NFT (495686778270623294/Test 4)[1], NFT (496765684975692443/Romeo #2)[1], NFT
                                      (499954348100698782/Calling it)[1], NFT (503068096620640359/Sea Dubs Inaugural NFT)[1], NFT (505243292464069663/Test 2-1)[1], NFT (507071622928376599/Depictive #13)[1], NFT
                                      (507820546080978500/A Prestu - Coming Soon)[1], NFT (511054779161368873/FTX Cathaus)[1], NFT (512115559296211055/Call It #60)[1], NFT (515965488826179138/test hat #4)[1], NFT
                                      (517760431909229918/Entrance Voucher #3)[1], NFT (517833008096820972/Good Boy #158)[1], NFT (518193732080942579/Call It #62)[1], NFT (518536369824680250/DEMO - The Hill by FTX #4)[1],
                                      NFT (524916655817141352/Logo Remix Contest)[1], NFT (534697322879829829/The Reflection of Love #4919)[1], NFT (537371107088337553/coming soon)[1], NFT (537519318606329022/StarAtlas
                                      Anniversary)[1], NFT (539695284852873691/Fortuo Distinctus #47)[1], NFT (541552171810989681/Sound Test 001 Series #4)[1], NFT (542532430358976828/Monocle #80)[1], NFT
                                      (544958814282461656/Humpty Dumpty #8)[1], NFT (546046692101314785/Belgium Ticket Stub #226)[1], NFT (557025345458814252/Hyperprism - Coming Soon)[1], NFT
                                      (557056602123113711/APEFUEL by Almond Breeze #463)[1], NFT (568002751846399603/hoodie #2)[1], NFT (569562654258375890/Boneworld #6747)[1], NFT (573187018243480883/Orcanauts
                                      #3585)[1], SOL[.2438112], USD[16.62]
08186112                              NFT (575739456716753426/NFT BZL 2021 #250)[1]

08186113                              NFT (446040621378045490/NFT BZL 2021 #251)[1]

08186114                              NFT (374183723929513268/NFT BZL 2021 #252)[1]

08186120                              BF_POINT[100], CUSDT[2], DOGE[2], TRX[2], USD[0.00]                                                                                                                                     Yes

08186124                              NFT (501956428031585274/FTX - Off The Grid Miami #732)[1]

08186125                              SOL[.03]

08186128                              NFT (296921954941818406/bookmarkis)[1], NFT (540437083315509768/DOTB #1860)[1], SOL[.00000001], USD[0.00]

08186134                              BTC[.00003485], ETH[.00021352], ETHW[.00021352], USD[2.16]                                                                                                                              Yes

08186135                              NFT (552218095312562558/NFT BZL 2021 #253)[1]

08186136                              CUSDT[2], SOL[5.56937367], USD[0.00]

08186141                              DOGE[1], SHIB[6216328.22213012], USD[0.00]

08186142       Contingent, Disputed   USD[0.00]

08186145                              BRZ[1], DOGE[370.31706122], KSHIB[8107.09176588], LINK[1.47917861], MATIC[50.93066231], NFT (393501010198437807/Chocolate Lab Common #174)[1], SHIB[7036656.8611198],                   Yes
                                      SOL[.98223749], TRX[1], USD[0.00], USDT[0]
08186147                              USD[0.00], USDT[.00086155]

08186152                              NFT (423996660942865173/NFT BZL 2021 #266)[1]

08186153                              NFT (488741763380801363/FTX - Off The Grid Miami #309)[1], NFT (520997789934960144/NFT BZL 2021 #254)[1]                                                                                Yes

08186154                              NFT (496326560444689368/NFT BZL 2021 #296)[1]

08186155                              BTC[.00007841], USD[0.00]

08186157                              USD[0.02]                                                                                                                                                                               Yes

08186158                              CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                             Yes

08186162                              NFT (457850524868808367/NFT BZL 2021 #283)[1]

08186163       Contingent, Disputed   USD[0.00]                                                                                                                                                                               Yes

08186167                              USD[3358.43]

08186173                              NFT (349925460035954462/NFT BZL 2021 #255)[1]

08186175                              NFT (307272776806356597/NFT BZL 2021 #256)[1]

08186178                              NFT (488059847226221120/NFT BZL 2021 #257)[1]

08186179                              CUSDT[1], DOGE[246.72002089], USD[53.93]                                                                                                                                                Yes

08186181                              BTC[.00000169], USD[0.00], USDT[0]                                                                                                                                                      Yes

08186183                              BAT[1], SUSHI[1], USD[50.01]

08186194                              BF_POINT[300]                                                                                                                                                                           Yes

08186197                              NFT (318961890382861815/NFT BZL 2021 #261)[1], NFT (472095097894593391/Monocle #50)[1]

08186198                              BRZ[1], CUSDT[4], DOGE[10], ETH[0], NFT (528705126856604103/NFT BZL 2021 #260)[1], SHIB[23], USD[0.00]

08186202                              NFT (459527638810981736/NFT BZL 2021 #265)[1]

08186205                              BRZ[3], CUSDT[1], DOGE[2], ETH[.00000306], ETHW[.00000306], MATIC[.00268097], SHIB[2], TRX[6], USD[0.00], USDT[1.05336591]                                                              Yes

08186206                              BTC[.00000002], CUSDT[3], ETH[.00000006], ETHW[.00630031], SHIB[4], TRX[1], USD[113.07]                                                                                                 Yes

08186207                              NFT (441745619702927829/NFT BZL 2021 #263)[1]

08186210                              NFT (402944289906608036/NFT BZL 2021 #262)[1]

08186214                              BTC[0], ETH[0.07024663], ETHW[0.06937364], KSHIB[0], LTC[0], MATIC[64.11643876], SOL[1.13891585], SUSHI[1.21565104], TRX[0], USD[0.00], USDT[0], YFI[0]                                 Yes

08186216                              DOGE[45.78401555], USD[0.00]
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                                                                                                                                              Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08186221                              DOGE[2], NFT (522170234790557350/Mad Lions Series #15)[1], NFT (558043363150597650/Mad Lions Series #41)[1], NFT (574693458640233550/Mad Lions Remastered #32)[1],                    Yes
                                      SHIB[156752.5543341], TRX[1], USD[0.01], USDT[0]
08186222                              NFT (311568793510628160/NFT BZL 2021 #270)[1]

08186225                              SOL[.25158374], USD[0.01]

08186226                              NFT (294795560777200654/Monocle #34)[1], NFT (411223067253437385/NFT BZL 2021 #267)[1]

08186229                              NFT (404805205471611219/FTX - Off The Grid Miami #1286)[1], NFT (412566509986640647/NFT BZL 2021 #268)[1]

08186230                              NFT (380445299583198082/NFT BZL 2021 #272)[1]

08186232                              DOGE[13.98578903], NFT (301774346886993783/NFT BZL 2021 #271)[1], NFT (399853881820825632/FTX - Off The Grid Miami #1287)[1], USD[0.00]

08186235                              BCH[.00001833], BTC[.00937721], CUSDT[2], USD[107.84]                                                                                                                                 Yes

08186239                              SHIB[0.88852392], TRX[.00000001], USD[0.00]                                                                                                                                           Yes

08186244                              NFT (473823293286624236/NFT BZL 2021 #273)[1]

08186246                              BTC[.00439347], CUSDT[3], DOGE[2], ETH[.02680684], ETHW[.02647852], SHIB[6101293.74358701], SOL[.63022567], USD[0.37]                                                                 Yes

08186248                              ETHW[1.14538705], TRX[2], USD[1325.58]                                                                                                                                                Yes

08186249                              NFT (353880882967775753/NFT BZL 2021 #269)[1]

08186252                              NFT (347370436217115110/NFT BZL 2021 #276)[1]

08186253                              CUSDT[1], SHIB[11238143.83448532], USD[0.00]                                                                                                                                          Yes

08186257                              CUSDT[1], DOGE[1], USD[0.00]

08186258                              NFT (309407456748455234/Aku World: Dream #165)[1], SOL[.00109], USD[1.23]

08186260                              BRZ[1], CUSDT[2], DOGE[1], SHIB[1], USD[3.15]                                                                                                                                         Yes

08186266                              USD[0.15]

08186273                              NFT (428074889677555131/NFT BZL 2021 #274)[1]

08186277                              NFT (326695373506785553/NFT BZL 2021 #298)[1]

08186283                              USD[0.00]

08186284                              USD[0.00], USDT[0]

08186288                              BTC[.00002023], USD[3.23]                                                                                                                                                             Yes

08186289                              NFT (296738725614396602/NFT BZL 2021 #277)[1]

08186306       Contingent, Disputed   USD[2.84]

08186307                              BTC[0], ETH[0], ETHW[0], MATIC[0], SHIB[0], SOL[0], USD[0.00]                                                                                                                         Yes

08186308                              USD[0.00]                                                                                                                                                                             Yes

08186309                              NFT (325863515697443362/NFT BZL 2021 #278)[1]

08186313                              NFT (316166583203002068/NFT BZL 2021 #280)[1]

08186316                              NFT (527302369599397327/NFT BZL 2021 #279)[1]

08186319                              BTC[.00011268], SHIB[1], USD[0.10]                                                                                                                                                    Yes

08186327                              NFT (499564646818718108/NFT BZL 2021 #281)[1]

08186330                              NFT (503128244867370123/NFT BZL 2021 #284)[1]

08186335                              NFT (568722846517139101/NFT BZL 2021 #285)[1]

08186337                              USD[10.79]                                                                                                                                                                            Yes

08186342                              CUSDT[3], SHIB[1], SOL[.00007685], TRX[1], UNI[7.08281855], USD[0.00]

08186344                              BTC[0], USD[0.00], USDT[0]

08186348                              SOL[.00000001]

08186352                              USD[1500.00]

08186355                              NFT (345231022872150585/ApexDucks #1669)[1], NFT (376318682332108645/SolDad #3662)[1], NFT (411327654115006522/Sloth #2181)[1], NFT (440257182103174387/Solana Penguin #3232)[1],
                                      NFT (502011592647059803/Baddies #4184)[1], NFT (507262055270445505/Pirate #3579)[1], SOL[.18]
08186356                              DOGE[1], SOL[1.11044735], USD[0.00]

08186358                              CUSDT[1], NFT (541200226867980429/Earl Campbell's Playbook: Rice vs. Texas - October 1st, 1977 #103)[1], SHIB[1624079.68817669], USD[0.00]

08186364                              ETH[.03], ETHW[.03]

08186369                              CUSDT[3], USD[0.00], USDT[0]                                                                                                                                                          Yes

08186371                              NFT (291297789175532139/Monza Ticket Stub #126)[1], NFT (337530412259520692/Japan Ticket Stub #180)[1], NFT (366572634875635166/Singapore Ticket Stub #110)[1], NFT
                                      (482624512472695574/Austin Ticket Stub #190)[1], NFT (484093630687689684/NFT BZL 2021 #287)[1], NFT (496610844887071723/Mexico Ticket Stub #2069)[1], NFT (529463812404092785/FTX -
                                      Off The Grid Miami #141)[1]
08186381                              NFT (530352699378318133/NFT BZL 2021 #288)[1]

08186383                              NFT (521451149721898464/NFT BZL 2021 #289)[1]

08186385                              USD[10.00]

08186388                              NFT (424814989000046707/NFT BZL 2021 #290)[1]

08186389                              NFT (475185791256824332/NFT BZL 2021 #291)[1], NFT (549905304636823231/Dead Man's Hand #31)[1]

08186397                              AAVE[3.54581], BTC[.0095865], ETH[.124807], ETHW[.124807], LINK[17.5473], LTC[3.3218], SOL[3.11239], TRX[2532.357], UNI[15.8102], USDT[177.95074074]

08186406                              BAT[498.957], MATIC[49.95], SOL[.54973], SUSHI[.999], USD[0.59]

08186408                              USD[25.00]

08186410                              ETH[.03980714], ETHW[0.03931466], NFT (304953450610880223/Cyber Frogs Ramen)[1], NFT (336764484945346664/StarAtlas Anniversary)[1], NFT (405865010347175496/Golden bone pass)[1],     Yes
                                      NFT (433143105337130867/Frog #7089)[1], NFT (440884435101932018/StarAtlas Anniversary)[1], NFT (465843356617377705/StarAtlas Anniversary)[1], NFT (497091193031132686/StarAtlas
                                      Anniversary)[1], NFT (542620272754917571/StarAtlas Anniversary)[1], NFT (568714002637199961/StarAtlas Anniversary)[1], SOL[21.97400074]
08186421                              USD[0.95]
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                                                                                                                                          Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or     Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08186422                           NFT (355574727937077173/NFT BZL 2021 #292)[1]

08186430                           NFT (473332079471055920/NFT BZL 2021 #293)[1]

08186442                           SHIB[1], USD[0.00]                                                                                                                                                                  Yes

08186448                           NFT (564702455959250038/Aku World Avatar #51)[1]

08186454                           NFT (556565840766761648/Coachella x FTX Weekend 1 #28808)[1], USD[100.00]

08186455                           SOL[.04993341], USD[0.00]

08186461                           CUSDT[2], SHIB[500349.42905837], SOL[.03971452], USD[0.00]                                                                                                                          Yes

08186464                           ETHW[.41819134], USD[0.00], USDT[0.00001640]

08186467                           MATIC[.00193304], SHIB[52.36154345], USD[0.00], USDT[0.00000001]                                                                                                                    Yes

08186468                           CAD[1.35], ETH[0.00043728], ETHW[0.00043728], SHIB[2.10234052], SOL[.04164489], USD[4.29]                                                                                           Yes

08186470                           USD[0.46], USDT[0]

08186501                           DOGE[1], NFT (373921554879166011/NFT BZL 2021 #297)[1], USD[0.01]

08186505                           SOL[0], USD[0.14], USDT[0]

08186509                           CUSDT[1], USD[0.01]                                                                                                                                                                 Yes

08186520                           NFT (540042373447660262/NFT BZL 2021 #315)[1]

08186523                           USD[0.00]

08186524                           USD[5.53]

08186525                           NFT (515283110177789067/Coachella x FTX Weekend 1 #3682)[1], NFT (540929919458975575/NFT BZL 2021 #301)[1]

08186530                           NFT (402073892712072966/NFT BZL 2021 #318)[1]

08186534                           NFT (504556499744460960/NFT BZL 2021 #306)[1]

08186536                           NFT (419050090458551304/NFT BZL 2021 #302)[1]

08186540                           NFT (389624312513552667/NFT BZL 2021 #308)[1]

08186544                           NFT (477187523451425065/NFT BZL 2021 #305)[1]

08186546                           NFT (328338625809837923/NFT BZL 2021 #303)[1]

08186547                           USD[0.00]                                                                                                                                                                           Yes

08186548                           NFT (571091356584187302/NFT BZL 2021 #310)[1]

08186552                           NFT (359724537558904779/NFT BZL 2021 #307)[1]

08186553                           NFT (430994699037426896/NFT BZL 2021 #312)[1]

08186554                           NFT (527406763567940117/NFT BZL 2021 #309)[1]

08186555                           NFT (432630737703443126/NFT BZL 2021 #324)[1]

08186559                           NFT (433013204489636269/NFT BZL 2021 #311)[1]

08186560                           NFT (426022177160519482/NFT BZL 2021 #314)[1]

08186562                           NFT (290280029869016672/NFT BZL 2021 #316)[1]

08186564                           AVAX[1.5], BTC[.0047], DAI[46.2], DOGE[1390], ETH[.1], ETHW[.1], KSHIB[8118.73], LTC[1.03], MATIC[20], SHIB[8000000], SOL[7.59], SUSHI[5.998], USD[0.28]

08186567                           NFT (389300992822547663/NFT BZL 2021 #317)[1]

08186568                           NFT (560344403755890986/NFT BZL 2021 #322)[1]

08186571                           USD[0.57]

08186577                           NFT (415294013642047364/NFT BZL 2021 #321)[1]

08186578                           SHIB[.51526915], USD[0.01]                                                                                                                                                          Yes

08186580                           NFT (386144040589407801/Aku World Avatar #125)[1]

08186583                           NFT (400243857241464096/NFT BZL 2021 #319)[1]

08186585                           NFT (368131818344698119/Aku World: Dream #68)[1], NFT (575608628702711938/NFT BZL 2021 #320)[1]

08186587                           ETH[0], ETHW[0], LINK[22.32995817], SOL[0.00000001], USD[0.00]                                                                                                                      Yes

08186589                           USD[9.82]

08186590                           BTC[.00006256], ETH[.000685], ETHW[.000685], SOL[.00847], USD[367.55], USDT[4.87401887]

08186595                           CUSDT[1], NFT (443921581213849901/Hall of Fantasy League #134)[1], SOL[.114717], USD[0.00]                                                                                          Yes

08186605                           SOL[.00017542]                                                                                                                                                                      Yes

08186617                           BRZ[1], CUSDT[1], TRX[2], USD[0.00]

08186620                           BRZ[1], SHIB[1], SUSHI[0], TRX[2], USD[0.00]

08186629                           ETH[.00344413], ETHW[.00340309], USD[8.32]                                                                                                                                          Yes

08186630                           CUSDT[.04124206], DOGE[1], SHIB[2756209.7808572], TRX[1], USD[0.00]                                                                                                                 Yes

08186638                           BTC[.0000209], CUSDT[8], MATIC[91.12694309], USD[90.03]                                                                                                                             Yes

08186642                           CUSDT[3], MATIC[39.14935962], SOL[0.00000506], TRX[0.10989366], USD[0.00]                                                                                                           Yes

08186643                           BTC[.00008814], CUSDT[1.9], ETH[0.01164266], ETHW[0.01149257], NFT (470739150842366480/Shannon Sharpe's Playbook: Kansas City Chiefs vs Denver Broncos - October 4, 1992 #96)[1],   Yes
                                   SOL[.02002211], USD[0.04]
08186646                           USD[20.00]

08186652                           NFT (376878769758866497/NFT BZL 2021 #326)[1]

08186658                           USD[0.00]                                                                                                                                                                           Yes

08186661                           BAT[0], BTC[.00000184], ETH[0]                                                                                                                                                      Yes
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                                                                                                                                              Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08186668                              BRZ[2], CUSDT[26], DOGE[5], NFT (297586845069796376/Kobe #7 of 10)[1], NFT (308695687082664838/Marcus Allen's Playbook: USC vs. Washington - November 14, 1981 #87)[1], NFT                 Yes
                                      (335647740958004261/Tim Brown's Playbook: Michigan State vs. Notre Dame - September 19, 1987 #79)[1], NFT (359699497031331629/Shannon Sharpe's Playbook: Kansas City Chiefs vs Denver
                                      Broncos - October 4, 1992 #101)[1], NFT (397627655031520523/Tim Brown's Playbook: Kansas City Chiefs vs. Oakland Raiders - December 9, 2001 #58)[1], NFT (428860679123749056/Marcus Allen's
                                      Playbook: Kansas City Chiefs vs. Detriot Lions - November 29, 1996 #74)[1], NFT (480977172274542267/What Time Is It #20 Of 20)[1], SOL[.00001581], TRX[3], USD[1.04]

08186670                              ETH[.00113698], ETHW[.0011233], KSHIB[104.61284043], LINK[.20834086], LTC[.02548112], SOL[.02462964], UNI[.24133578], USD[0.00]                                                            Yes

08186679                              SOL[.00001], USD[2.28]

08186684                              SOL[0.80412074], USD[10.01], USDT[17.29030313]

08186685                              NFT (400168917358255214/Meta house)[1], NFT (460369435528682995/Meta house #3)[1], NFT (492904092657140338/Meta house #2)[1], USD[2.00]

08186693                              NFT (433796665978045758/NFT BZL 2021 #327)[1]

08186698                              DOGE[1], TRX[1], USD[0.01]

08186703                              BTC[0], LINK[.00000014], SOL[0], SUSHI[0.00000342], USD[0.05], YFI[0.00000066]

08186704                              BAT[1], BRZ[1], CUSDT[2], TRX[2], USD[468.65]

08186708                              BTC[.02884947], SHIB[54475911.74760091], USD[539.31]                                                                                                                                       Yes

08186714                              USD[64.68]                                                                                                                                                                                 Yes

08186735                              SOL[.00000317], USD[0.01], USDT[0]                                                                                                                                                         Yes

08186737                              CUSDT[2], SHIB[1211750.09144027], USD[0.00]                                                                                                                                                Yes

08186739                              USD[1.00]

08186744                              NFT (434029480375242253/NFT BZL 2021 #328)[1]

08186752                              SHIB[2670.25006288], USD[0.00]

08186756                              NFT (366933734700545163/NFT BZL 2021 #338)[1]

08186761                              SOL[.00499], USD[0.19]

08186763                              CUSDT[0], USD[30.01]                                                                                                                                                                       Yes

08186765                              USD[5.00]

08186776                              AAVE[.00000918], BRZ[3], CUSDT[12], DOGE[185.00371336], ETH[.02455457], ETHW[.02425361], MATIC[38.24365731], SHIB[5929804.86987108], TRX[4], USD[0.00], USDT[1.07232169]                   Yes

08186777                              SOL[19.98], USD[80.00]

08186779                              USD[30.00]

08186792                              CUSDT[5], LINK[4.56169307], SHIB[2640562.05875447], USD[50.00]

08186796                              USD[0.00]

08186800                              USD[0.93]

08186804                              CUSDT[1], NFT (297115364017227896/NFT BZL 2021 #329)[1], SHIB[453386.92478896], USD[0.00]                                                                                                  Yes

08186809                              CUSDT[1], SHIB[1], USD[0.00]

08186811                              ETH[0.01045505], ETHW[0.01032668], SHIB[1]                                                                                                                                                 Yes

08186818                              BTC[0]

08186823       Contingent, Disputed   USD[0.00]

08186837                              BTC[0], DAI[0], ETH[0], ETHW[0], TRX[.000132], USD[0.00], USDT[0]

08186857                              USD[0.00]                                                                                                                                                                                  Yes

08186868                              BRZ[1], BTC[.00182939], CAD[13.52], DOGE[2], SHIB[.00000006], SOL[1.11719056], SUSHI[1.43801903], TRX[3], USD[5.42]                                                                        Yes

08186874                              USD[3.14]

08186876                              CUSDT[1], DOGE[61.1792469], ETH[.00207393], ETHW[.00204657], USD[10.78]                                                                                                                    Yes

08186880                              USD[0.00], USDT[2.14444874]                                                                                                                                                                Yes

08186896                              BTC[.00011944], USD[0.00]

08186901                              BRZ[1], CUSDT[4], ETH[.00123171], ETHW[.00121803], TRX[2], USD[0.03]                                                                                                                       Yes

08186917                              USD[0.00]

08186918                              BAT[1.01055759], BRZ[2], BTC[.0000004], CUSDT[5], MATIC[.0005932], SHIB[7], SOL[.00004795], TRX[2], USD[0.22]                                                                              Yes

08186919                              SOL[.04601562], USD[0.00]

08186925                              CUSDT[1], TRX[102.16819295], USD[10.00]

08186927                              CUSDT[2], DOGE[706.99258989], ETH[.01286523], ETHW[.01286523], LINK[4.03121426], SOL[.83970107], TRX[1], USD[0.00]

08186938                              CUSDT[1], SHIB[2105263.15789473], USD[0.00]

08186944                              CUSDT[1], ETH[.00212148], ETHW[.00212148], USD[0.00]

08186956                              BTC[.00007616], SOL[.03432057], USD[0.00]                                                                                                                                                  Yes

08186960                              USD[1.92]

08186970                              BTC[.0070142], CUSDT[3], ETH[.05578621], ETHW[.05509263], SHIB[1], SOL[1.13080262], USD[0.00]                                                                                              Yes

08186973                              BAT[17.9858086], CUSDT[1], USD[0.00]                                                                                                                                                       Yes

08186980                              NFT (296276404096311724/NFT BZL 2021 #331)[1]

08186982                              NFT (454504757506471093/NFT BZL 2021 #330)[1]

08186986                              NFT (450396684930958987/NFT BZL 2021 #332)[1]

08186989                              USD[1.13]

08186991                              NFT (403064416978250641/Aku World: Dream #2)[1]

08186999                              ETH[0.01342575], ETHW[0.01342575], KSHIB[50], USD[0.09]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08187001                              USDT[.1]

08187006                              BAT[1], DOGE[2], SHIB[1], TRX[1], USD[0.00], USDT[0]                                                                                                                              Yes

08187012                              CUSDT[1], NFT (294082322286156099/Sigma Shark #905)[1], SOL[.03312213], USD[0.00]

08187024                              LINK[5.44339223], TRX[1], USD[0.00]

08187036                              BAT[1.01005927], BRZ[1], BTC[.03045041], ETH[1.45496994], ETHW[1.45435887], TRX[1], USD[0.00]                                                                                     Yes

08187037                              BTC[.00014312]

08187038       Contingent, Disputed   DOGE[70], SUSHI[60], USD[0.00]

08187040                              NFT (426679428549383494/Aku World: Dream #141)[1], NFT (498843068481093837/Aku World Avatar #109)[1], USD[100.00]

08187052                              GRT[1], SOL[0]                                                                                                                                                                    Yes

08187057                              CUSDT[1], USD[0.00]                                                                                                                                                               Yes

08187064       Contingent, Disputed   SOL[.0096], USD[2.54]

08187069       Contingent, Disputed   USD[2.00]

08187075                              CUSDT[1], ETH[0], SHIB[2], TRX[1], USD[0.00]                                                                                                                                      Yes

08187076                              BTC[.00008728], CUSDT[1], USD[2.16]                                                                                                                                               Yes

08187077                              BRZ[1], USD[0.00]                                                                                                                                                                 Yes

08187078                              BF_POINT[300], CUSDT[2], SHIB[1], USD[0.20]                                                                                                                                       Yes

08187081                              NFT (325910776004982507/NFT BZL 2021 #333)[1]

08187087       Contingent, Disputed   EUR[0.00], USD[0.00]

08187095                              SHIB[20542.31717337], SOL[.00467135], TRX[1], USD[1.43]                                                                                                                           Yes

08187107                              BTC[.001], NFT (341026732077696368/Spectra #297)[1], NFT (366367514972226031/Reflector #950)[1], NFT (432059597482321348/Reflection '18 #73)[1], NFT (459958060235555270/Cosmic
                                      Creations #529)[1], NFT (535336356896738807/Night Light #77)[1], SOL[0]
08187114                              CUSDT[2], TRX[1], USD[281.24], USDT[0.00000001]                                                                                                                                   Yes

08187115                              AAVE[.07692747], CUSDT[2577.98159797], DOGE[1.5], SHIB[4], SOL[0], TRX[1], USD[0.00]                                                                                              Yes

08187122                              USD[3.74]

08187125       Contingent, Disputed   LINK[21.22440703], USD[0.00]

08187138                              USD[0.01]                                                                                                                                                                         Yes

08187144                              BAT[1], BRZ[4], BTC[0.00000171], ETH[0], GRT[1], SHIB[4], TRX[4], USDT[0.00000017]                                                                                                Yes

08187149                              SHIB[2.84413631], TRX[0.00000246], USD[0.01]                                                                                                                                      Yes

08187150                              USD[1.51]

08187153                              SUSHI[3.31164861], TRX[1], USD[0.00]                                                                                                                                              Yes

08187158                              USD[0.68]

08187162                              ETH[0], SOL[0.01419428]                                                                                                                                                           Yes

08187168                              DOGE[1], SHIB[20], TRX[2], USD[142.39]                                                                                                                                            Yes

08187171                              USD[15.00]

08187180                              BRZ[95.13072967], CUSDT[2], SHIB[1], USD[0.00]                                                                                                                                    Yes

08187202                              BAT[0], BTC[0], ETH[.00000001], ETHW[0], MATIC[0], SOL[0.00000001], TRX[0.00000004], USD[0.00]

08187208                              SHIB[2], USD[0.01]

08187213                              USD[0.00]

08187222                              DOGE[1], SOL[2.33747414], USD[0.00]

08187228                              USD[350.01]

08187234                              ETHW[.05]

08187238                              BF_POINT[300], BRZ[276.70098741], CUSDT[2], GRT[156.59421791], MATIC[150.50640919], SHIB[14882215.35694561], SUSHI[26.14351212], TRX[1], USD[0.03]                                Yes

08187245                              USD[500.00]

08187286                              CUSDT[2], USD[1.21]                                                                                                                                                               Yes

08187297                              CUSDT[1], ETH[.69774797], ETHW[.69774797], TRX[1], USD[0.00]

08187307                              SOL[.00002507], USD[0.00]

08187310                              TRX[105.04695025], USD[0.00]                                                                                                                                                      Yes

08187311       Contingent, Disputed   DOGE[1.93214687], MATIC[.45916261], SHIB[13146.98477887], USD[0.00]                                                                                                               Yes

08187324                              AAVE[0], BAT[0], BRZ[4], CUSDT[4], LTC[0.00000657], MATIC[0], SHIB[0], SOL[0], TRX[2], USD[0.00]                                                                                  Yes

08187331       Contingent, Disputed   USD[0.00]

08187334                              BTC[0.04088979], ETH[.9991], MATIC[79.928], USD[660.28]

08187359       Contingent, Disputed   BCH[.11594334], BTC[.00212147], DOGE[259.0991475], ETH[.01970483], ETHW[.01970483], TRX[288.06177519], USD[0.00]

08187362                              TRX[.011201], USD[0.00], USDT[0.00000001]

08187363                              DOGE[0], ETH[0], MATIC[0], USD[0.01], USDT[0]                                                                                                                                     Yes

08187368                              USD[0.00], USDT[0]                                                                                                                                                                Yes

08187371                              SOL[.02935269], USD[0.00]

08187373                              USD[0.33]

08187374                              DOGE[3594.33660642], MATIC[105.6098614], SOL[5.77494461], USD[0.00]

08187390                              BTC[.00064], ETH[.00125551], ETHW[.00124183], KSHIB[88.15170382], SOL[.02241728], USD[0.82]                                                                                       Yes
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                                                                                                                                             Customer Claims                                                                                                      22-11071 (JTD)
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08187399                              BAT[4.13707848], BTC[.00018942], CUSDT[1.0226162], DOGE[6.78259367], ETH[.01133056], ETHW[.01133056], MATIC[8.41550572], TRX[1], USD[0.00]

08187404                              ETH[.27425922], ETHW[.27425922], USD[0.00]

08187409                              BTC[.00139055], CUSDT[6], DOGE[98.80154132], ETH[.00449612], ETHW[.0044414], LTC[.13697095], MATIC[22.98231236], NFT (481483571140601183/Coachella x FTX Weekend 2 #9204)[1],       Yes
                                      SUSHI[2.66012719], TRX[1], USD[0.47]
08187415                              NFT (344192692394340765/NFT BZL 2021 #334)[1]

08187425                              BTC[0], ETH[0]                                                                                                                                                                      Yes

08187432                              NFT (322034674187547649/Coachella x FTX Weekend 2 #7877)[1]

08187435                              BAT[4.16340011], BRZ[9.32011391], CUSDT[5], ETHW[.30824562], GRT[4.05615205], KSHIB[3483.65538566], SHIB[6900.47906048], SUSHI[1.04560115], TRX[16.42812696], USD[0.01],            Yes
                                      USDT[1.04676227]
08187442                              BF_POINT[100], CUSDT[1], SUSHI[.0000276], USD[0.00]                                                                                                                                 Yes

08187445                              TRX[1], USD[0.00]

08187452                              BTC[.01548556], DOGE[8], ETH[.00000417], PAXG[0.00004252], SHIB[100000], SOL[.00003156], USD[0.01], USDT[0.01178392]

08187453                              SOL[.11702981], USD[0.00]

08187463                              DOGE[489.59189422], USD[0.00]                                                                                                                                                       Yes

08187468                              USD[0.00]

08187469                              SOL[.1]

08187473                              BF_POINT[100], BRZ[1], BTC[.00000249], CUSDT[1], DOGE[.00008219], ETH[.00000001], ETHW[0], SHIB[36], TRX[8], USD[0.04]                                                              Yes

08187485                              BTC[.00254832], CUSDT[1], USD[0.00]

08187495                              NFT (306493099159270453/Golden bone pass)[1], NFT (378203210287565664/Frog #2039)[1], NFT (379305673218040206/MagicEden Vaults)[1], NFT (384349745566390482/MagicEden Vaults)[1],
                                      NFT (388123417743451502/MagicEden Vaults)[1], NFT (415564200007634358/MagicEden Vaults)[1], NFT (504599217921248378/MagicEden Vaults)[1], NFT (514492790633342199/Fancy Frenchies
                                      #1318)[1], NFT (520767088189998623/Cyber Frogs Ramen)[1], SOL[0.23318612], USDT[1]
08187497                              BRZ[1], CUSDT[2], DOGE[2], GRT[1], SOL[1.51690833], USD[0.59]                                                                                                                       Yes

08187501                              BTC[.00180986], CUSDT[6], SOL[.4067256], TRX[1], USD[0.00]                                                                                                                          Yes

08187511                              USD[25.00]

08187514                              CUSDT[486.20071548], KSHIB[208.67390653], TRX[1], USD[0.00]                                                                                                                         Yes

08187515                              DOGE[0], ETH[.00000001], ETHW[1.87254009], LINK[.00000001], MATIC[287.38945531], NFT (458803163504996677/Astral Apes #1230)[1], NFT (536999248782701764/LightPunk #6658)[1],        Yes
                                      USD[879.32]
08187523       Contingent, Disputed   SHIB[2300000], USD[1.37]

08187525                              DOGE[1], TRX[1], USD[0.00]

08187527                              CUSDT[.99958395], ETH[.00036723], ETHW[.00036723], LTC[.00000007], USD[0.00]                                                                                                        Yes

08187531       Contingent, Disputed   DOGE[1]

08187542                              CUSDT[4], USD[102.37]

08187544                              BRZ[1], CUSDT[2], SHIB[18993876.238516], USD[0.00]                                                                                                                                  Yes

08187547                              DOGE[0], SHIB[26830.35482430], USD[0.00]

08187552                              NFT (545483770659208472/NFT BZL 2021 #335)[1]

08187571                              ETH[.120879], ETHW[.120879], SOL[2.40759], USD[3.34]

08187572                              BTC[.00010328], ETH[.00130824], ETHW[.00129456], SOL[.05431777], USD[0.04]                                                                                                          Yes

08187577                              USD[20.00]

08187580                              BTC[0], SOL[3], USD[1271.76]

08187584                              SHIB[2273062.36835868]                                                                                                                                                              Yes

08187586                              CUSDT[1], USD[21.45]                                                                                                                                                                Yes

08187587                              NFT (325187684369072034/Astro Stones #65)[1], USD[165.00]

08187594                              NFT (387817931356342828/#80)[1]

08187595                              BTC[0], ETH[0.56465848], ETHW[0.56465848], SOL[31], USD[0.00]

08187599                              ETH[0], USD[0.05]

08187605                              USD[50.01]

08187606       Contingent, Disputed   SHIB[1199000], USD[1.55]

08187623                              BTC[0.00429591], ETH[.05294965], ETHW[.05294965], SOL[2.19791], USD[3.27]

08187625                              BCH[.03307907], BTC[.00649856], CUSDT[4], DOGE[124.82290628], ETH[.002359], ETHW[.00233164], SHIB[2], TRX[1], USD[0.23]                                                             Yes

08187627                              SOL[11.95768665], USD[0.00]

08187636                              USD[0.00]                                                                                                                                                                           Yes

08187638                              ETH[.000331], ETHW[18.900081], USD[9.12]

08187642                              CUSDT[2], ETH[0], ETHW[0], TRX[1], USD[0.01]                                                                                                                                        Yes

08187649       Contingent, Disputed   ETH[0.02000000], ETHW[0.02000000], MATIC[214.5234882], NFT (302436829506722944/DigiDogsV1)[1], NFT (345108570193944411/DIGIDOGS-ANI #3)[1], NFT (368682759681427361/DIGIDOGS-
                                      ANI #9)[1], NFT (375077827410635059/DIGIDOGS-ANI #2)[1], NFT (383969069851216394/Pastels #3)[1], NFT (387424616471265910/DIGIDOGS-ANI #6)[1], NFT (423155579026997257/DIGIDOGS-
                                      ANI #10)[1], NFT (436523487132451806/DigiDogsV1 #2)[1], NFT (441339003285126810/DIGIDOGS-ANI #4)[1], NFT (450072201354956258/DIGIDOGS-ANI #8)[1], NFT
                                      (452284225807443782/Honeyboy)[1], NFT (458236366769512541/DIGIDOGS-ANI #7)[1], NFT (463995479577637683/Notorious A.L.F.I.E.)[1], NFT (481795369477515741/DIGIDOGS-ANI #5)[1], NFT
                                      (484695926745756504/DIGIDOGS-ANI)[1], NFT (485809116060496108/Honeyboy #2)[1], NFT (511518145522283570/Pastels #2)[1], NFT (563837838696701365/Pastels #4)[1], SOL[0.66960000]

08187652                              CUSDT[3], DOGE[1], USD[0.01]                                                                                                                                                        Yes

08187657                              BRZ[5], CUSDT[4], DOGE[9.04113345], ETHW[.51583048], SHIB[3626374.03721171], TRX[1], USD[755.33]                                                                                    Yes

08187664                              USD[10.79]                                                                                                                                                                          Yes

08187666                              BTC[.0009]
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08187673                              BTC[.00019117], CUSDT[10], DOGE[59.43406618], ETH[.00246663], ETHW[.00243927], GRT[12.38699034], KSHIB[238.01677498], MATIC[12.12288594], SHIB[256551.66345433], SUSHI[1.4640808], Yes
                                      TRX[119.5390514], UNI[.5272083], USD[3.24]
08187677                              SOL[4.65534], USD[5.67]

08187678                              BTC[0], GRT[136.76610766], NFT (322212413911773891/Cutie Kittens #29)[1], NFT (334066663654822024/#6952)[1], NFT (348091871376294073/Autumn 2021 #337)[1], NFT                         Yes
                                      (386494019636647014/Nobu Sensei #866)[1], NFT (446388400046608560/Cutie Kittens #6)[1], NFT (460664485439840198/Cutie Kittens #23)[1], NFT (546685150164159903/#6572)[1], SHIB[0],
                                      SOL[0.23015646], USD[0.21]
08187686                              USD[0.01]                                                                                                                                                                              Yes

08187687                              BRZ[7.29872092], BTC[0], CUSDT[7], DOGE[6], ETH[.00000001], ETHW[0], GRT[1], NFT (432615935902083204/2974 Floyd Norman - OKC 1-0238)[1], SHIB[13], SOL[.0000327], TRX[5], USD[0.01],   Yes
                                      USDT[1.04531175]
08187698       Contingent, Disputed   BTC[.1576424], MATIC[6.42], SOL[35.05262], USD[7.12], USDT[0]

08187700                              USD[5.68]

08187723                              CUSDT[1], GRT[104.0395217], USD[0.00]

08187732                              ETH[.00889679], ETHW[.00889679]

08187733                              BRZ[1], SHIB[4], TRX[1], USD[0.00]

08187735                              BCH[0], BTC[0], ETH[.00000698], ETHW[.00000698], PAXG[0], SOL[0], SUSHI[0], USD[0.00], USDT[0], YFI[0]                                                                                 Yes

08187744       Contingent, Disputed   NFT (505600121570637670/OMG!)[1], SOL[0.03172905], USD[0.01]

08187755                              BAT[1], BTC[.11421814], CUSDT[1], DOGE[2], ETH[1.68984121], ETHW[1.68984121], GRT[1], TRX[2], USD[12.50]

08187760                              DOGE[23.89062833], KSHIB[115.58764548], SOL[.02860172], USD[0.10]

08187762                              ETH[2.066538], ETHW[2.066538], USD[2.07]

08187763       Contingent, Disputed   ETH[.031], ETHW[.031], USD[2.50]

08187775                              SOL[2.28], USD[0.64]

08187783                              BTC[.00008495], CUSDT[1], DOGE[25.14929432], KSHIB[106.00319408], USD[0.00]                                                                                                            Yes

08187784       Contingent, Disputed   ETH[.004], ETHW[.004], KSHIB[20], USD[0.07]

08187788                              SOL[.0632192], USD[0.00]                                                                                                                                                               Yes

08187789       Contingent, Disputed   SOL[.00080128]

08187791                              USD[0.01]

08187798                              DOGE[1], SHIB[1], USD[0.00]                                                                                                                                                            Yes

08187803                              NFT (504310719082077765/Coachella x FTX Weekend 2 #11052)[1]                                                                                                                           Yes

08187804                              CUSDT[1], KSHIB[465.19752635], SHIB[466053.4257845], TRX[1], USD[10.00]

08187809                              USD[0.72], USDT[0.00515528]

08187813                              BTC[.00036734], USD[1.61]                                                                                                                                                              Yes

08187817                              USD[0.04]                                                                                                                                                                              Yes

08187829                              BTC[.00053761], USD[0.03]                                                                                                                                                              Yes

08187837                              CUSDT[1], SOL[.12478542], TRX[1], USD[6.47]                                                                                                                                            Yes

08187838                              CUSDT[1], MATIC[9.33672144], SOL[.23034561]                                                                                                                                            Yes

08187840                              NFT (324680570639386873/NFT BZL 2021 #336)[1]

08187863                              CUSDT[1], DOGE[1], GRT[3.19593859], SOL[2.38278751], TRX[1], USD[0.00]                                                                                                                 Yes

08187879                              USD[200.00]

08187887                              BTC[.00047788], USD[0.00]

08187890                              ETH[.01573525], ETHW[.01573525], USD[400.00]

08187913       Contingent, Disputed   BTC[0], SOL[0], USD[0.00]

08187915                              SOL[2.7972], USD[11.12]

08187916                              NFT (448366786466869495/Humpty Dumpty #110)[1]

08187920                              SHIB[46253.46901017], USD[0.00]

08187922                              NFT (401103982218380082/Shannon Sharpe's Playbook: Denver Broncos vs. Los Angeles Raiders - January 9, 1994 #73)[1], USD[16.16]                                                        Yes

08187929                              DOGE[13102.20334839], USD[5355.74]

08187949                              BAT[7.28450055], BRZ[63.28049281], CUSDT[34.14819189], GRT[22.45863506], SHIB[263208.83687857], SOL[0.38471769], SUSHI[.00001433], TRX[423.73506682], UNI[1.24394155], USD[0.00]       Yes

08187950                              CUSDT[3], DOGE[2], NFT (328132445975297983/2D SOLDIER #1993)[1], NFT (505743276322233786/Astral Apes #1830)[1], SOL[.38225164], USD[0.00]

08187960       Contingent, Disputed   ETH[0.00194839], ETHW[0.00194839], MATIC[19.98], USD[0.00]

08187963                              BAT[1.00799511], BRZ[1], BTC[.00000008], CUSDT[4], DOGE[3], SHIB[2], SOL[.00001262], TRX[1], USD[8.58]                                                                                 Yes

08187968                              USD[500.01]

08187980                              SOL[.0889198], TRX[1], USD[0.21]                                                                                                                                                       Yes

08187988                              USD[538.40]                                                                                                                                                                            Yes

08187990                              SHIB[211193.24181626], USD[0.00]

08188002                              BCH[0], BTC[0], LTC[0.00000001], MATIC[0], USD[0.00], USDT[0.00000072]

08188005                              SOL[.2933]

08188010                              ETH[.00000001], ETHW[0.00001036], MATIC[0], TRX[0], USD[614.32], USDT[0.00000913]                                                                                                      Yes

08188023                              BRZ[3], BTC[.0311812], CUSDT[4237.05097304], DOGE[1887.10896515], ETH[.11939464], ETHW[.10908553], MATIC[12.08272731], SHIB[537754.89619833], SOL[21.29073968], SUSHI[2.14468579], Yes
                                      TRX[15], UNI[3.21903178], USD[11.02], USDT[55.09398694]
08188024                              AAVE[1.18881], BCH[.54945], BTC[.08829239], ETH[.065598], ETHW[.065598], LINK[99.5541], SOL[1.94], USD[1593.80]

08188025                              ETH[.11368061], ETHW[.11256487], TRX[1], USD[0.01]                                                                                                                                     Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08188035                              USD[0.00]                                                                                                                                                                                   Yes

08188037                              DOGE[1], MATIC[251.7564158], SHIB[15336689.54338792], TRX[1], USD[0.02]                                                                                                                     Yes

08188038                              DOGE[152.60914451]

08188044                              ETH[.038961], ETHW[.038961], USD[315.77]

08188047                              CUSDT[1], ETH[.0260605], ETHW[.0257322], USD[0.00]                                                                                                                                          Yes

08188057                              BTC[.00000555], USD[0.00]

08188075       Contingent, Disputed   BTC[0], SOL[0]

08188091       Contingent, Disputed   USD[1.00]

08188101                              CUSDT[17346], TRX[1199], USD[0.00]

08188105                              USD[0.00]

08188108                              DAI[5.35371527], DOGE[24.84743059], KSHIB[55.48214958], USD[0.01], USDT[8.56288793]                                                                                                         Yes

08188111                              DOGE[1], SHIB[1053518.75263379], USD[5.01]

08188112                              BTC[0], ETH[0], ETHW[0], NFT (330307665061790814/GSW Western Conference Semifinals Commemorative Ticket #537)[1], NFT (355781805588412630/GSW Championship Commemorative
                                      Ring)[1], NFT (391448311504688738/GSW Western Conference Finals Commemorative Banner #919)[1], NFT (397221168587264110/Warriors Logo Pin #287)[1], NFT (409325203329443138/Warriors
                                      Hoop #239)[1], NFT (466340048580781061/GSW Championship Commemorative Ring)[1], NFT (481649598559007668/GSW Western Conference Finals Commemorative Banner #918)[1], NFT
                                      (510447438760357612/GSW Western Conference Semifinals Commemorative Ticket #536)[1], NFT (513456157129128595/GSW Western Conference Finals Commemorative Banner #917)[1], NFT
                                      (524989568710211463/GSW Round 1 Commemorative Ticket #339)[1], NFT (546277498015924528/GSW Western Conference Finals Commemorative Banner #920)[1], SOL[.00000001], USD[3.81],
                                      USDT[0.00000001]
08188114                              ETH[.00005173], ETHW[5.87623901], SOL[.00123545]                                                                                                                                            Yes

08188116                              BF_POINT[100], USD[0.00]                                                                                                                                                                    Yes

08188122       Contingent, Disputed   SOL[.05216493], USD[0.00]

08188126                              CUSDT[4], DOGE[918.95073745], ETH[.06202128], ETHW[.06125251], SOL[.54615861], TRX[1], USD[0.00]                                                                                            Yes

08188129                              USD[0.88]

08188148                              NFT (290937642009475112/Joe Theismann's Playbook: Washington vs. Chicago Bears - September 29, 1985 #79)[1], NFT (323532106356349876/Shannon Sharpe's Playbook: Baltimore Ravens vs.        Yes
                                      Oakland Raiders - January 14, 2001 #118)[1], NFT (347055158070680608/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #129)[1], NFT (404326120740473736/Earl
                                      Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #147)[1], NFT (427408488493647655/Doak Walker's Playbook: Cleveland Brown vs. Detroit Lions - December 27, 1953
                                      #98)[1], NFT (512713653538543768/Tim Brown's Playbook: New York Jets vs. Oakland Raiders - December 2, 2002 #74)[1], USD[11.98]
08188151                              CUSDT[1], SOL[0]                                                                                                                                                                            Yes

08188152                              CUSDT[2], DOGE[2], SHIB[3], USD[0.00]

08188160                              USD[0.00]

08188167                              USD[26.96]                                                                                                                                                                                  Yes

08188172                              USD[1.68], USDT[0.00002013]

08188174                              MATIC[.01]

08188177                              NFT (393043804352269416/Foods and sunsets )[1]

08188179                              NFT (342472191521213891/NFT BZL 2021 #337)[1]

08188190                              BTC[.0004183], USD[0.00]

08188192                              USD[0.00]                                                                                                                                                                                   Yes

08188205                              BCH[.008], DOGE[83], KSHIB[60], SHIB[200000], USD[0.06], USDT[0.00085483]

08188215                              AAVE[.00001188], ETHW[2.14009979], GRT[.00961664], LINK[60.00000142], USD[154.54]                                                                                                           Yes

08188221                              NFT (554683613445443277/Coachella x FTX Weekend 1 #4375)[1]

08188229                              NFT (358538323321493466/Aku World Avatar #71)[1], NFT (397165016952433564/Aku World: Dream #29)[1], NFT (512690083379098135/Warriors 75th Anniversary Icon Edition Diamond #2165)[1]        Yes

08188233                              BTC[.00939996], TRX[1], USD[0.01]                                                                                                                                                           Yes

08188240                              DOGE[0], SOL[0], USD[0.00], USDT[0]

08188241                              MATIC[42.39761149], TRX[1]

08188242                              DOGE[1], SHIB[1], USD[0.00]                                                                                                                                                                 Yes

08188244                              TRX[108.72826001], USD[0.00]                                                                                                                                                                Yes

08188247                              USD[10.00]

08188249                              CUSDT[2], MATIC[.00041892], SOL[0], USD[0.00]                                                                                                                                               Yes

08188254                              CUSDT[1], NFT (564194913296567947/SOLYETIS #589)[1], SOL[.00068237], USD[0.00]

08188264                              CUSDT[4], DOGE[2], KSHIB[534.94690437], SHIB[9025320.31454082], SOL[2.45762325], USD[105.02]                                                                                                Yes

08188272                              SHIB[11000000], USD[0.98]

08188284                              CUSDT[2.00463071], TRX[131.18123418], USD[0.00]                                                                                                                                             Yes

08188295                              USD[0.00]

08188305                              DOGE[1], ETHW[.38469595], SHIB[4], TRX[2], USD[0.00]                                                                                                                                        Yes

08188317                              BRZ[1], BTC[.00026203], CUSDT[1], ETH[.01699021], ETHW[.01678391], MATIC[5.61225023], USD[0.00]                                                                                             Yes

08188333                              USD[0.00]

08188336                              USD[5.00]

08188362       Contingent, Disputed   BTC[0], MATIC[9.97]

08188369       Contingent, Disputed   CUSDT[1], USD[0.00]                                                                                                                                                                         Yes

08188387                              AAVE[1.009905], ETH[.241], ETHW[.241], LINK[1.9981], MATIC[20], NFT (466089073638146247/Anti Artist #70)[1], NFT (542042271820029993/ApexDucks #1364)[1], SHIB[5600000], SUSHI[70],
                                      USD[2.21], USDT[2.39835189]
08188389                              ALGO[.00055835], AVAX[.00001591], BTC[.00000002], DOGE[2], SHIB[6], SOL[.00000504], TRX[2], USD[0.00]                                                                                       Yes
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Customer Code Unliquidated, or         Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08188398      Contingent, Disputed     SOL[.00000001], USD[0.00]

08188407                               BTC[.00515143]

08188412                               USD[23.99]

08188415                               CUSDT[2], ETH[.00350097], ETHW[.00345993], GRT[5.6273614], MATIC[5.46098476], SOL[.04773632], USD[0.01]                                                                                      Yes

08188419                               ETH[0.00064138], ETHW[0.00063927], USD[0.00]                                                                                                                                                 Yes

08188429                               TRX[1], USD[0.23]                                                                                                                                                                            Yes

08188431                               USD[10.00]

08188443                               BRZ[1], CUSDT[1], ETH[.00003942], ETHW[.00003942], USD[41.29]                                                                                                                                Yes

08188444                               SHIB[808219.91867313], USD[0.02]

08188448                               DAI[4.96719401], USD[0.00]

08188451        Contingent, Disputed   DOGE[0], GRT[0], KSHIB[0], LTC[0], MATIC[0], SHIB[1.97868020], SUSHI[0], TRX[0], UNI[0], USD[0.00], YFI[0]                                                                                   Yes

08188456                               MATIC[1.60360029], SUSHI[1.68219167], TRX[1.00043123], USD[0.00]                                                                                                                             Yes

08188472                               CUSDT[3], DOGE[1], SHIB[2], TRX[1], USD[2.57]                                                                                                                                                Yes

08188499                               BRZ[1], CUSDT[1], MATIC[26.22582909], SOL[1.13633973], USD[0.00]                                                                                                                             Yes

08188500                               DOGE[1], SOL[.00001699], USD[0.00]                                                                                                                                                           Yes

08188509                               BAT[1], BRZ[6.23738764], CUSDT[12], DOGE[10.02556432], ETHW[1.97744859], GRT[1], NFT (304170308229183736/Coachella x FTX Weekend 1 #9366)[1], NFT (445679202681752545/Coachella x            Yes
                                       FTX Weekend 2 #27024)[1], SHIB[12], SUSHI[132.01940335], TRX[2203.83437849], USD[10.28]
08188511                               SOL[.00997], USD[17.80]

08188517                               BTC[.00003132], CUSDT[1], MATIC[.06707103], SHIB[2810.87504144], USD[0.00]                                                                                                                   Yes

08188521                               BTC[0], CUSDT[16], ETHW[.00800259], PAXG[.00000015], TRX[2], USD[0.00], USDT[0]                                                                                                              Yes

08188524                               BTC[.00010345]

08188528                               DOGE[1], SHIB[14394222.94640581], TRX[1], USD[402.02]

08188532                               USD[10.79]                                                                                                                                                                                   Yes

08188536                               EUR[0.00], USD[0.01], USDT[0]

08188551                               BRZ[3], CUSDT[3], DOGE[87.68894126], SHIB[3], SOL[.20920006], USD[93.22]

08188564                               DOGE[1], TRX[1111.45228346], USD[0.00]                                                                                                                                                       Yes

08188571                               BCH[0], BTC[0], ETH[0], GBP[0.00], SOL[0], USD[0.00]                                                                                                                                         Yes

08188573                               DOGE[35.76863493], SOL[.00870381], USD[0.00]                                                                                                                                                 Yes

08188577                               SOL[.98344507], USD[0.00]

08188579                               DOGE[1], ETHW[.00886479], SHIB[.00000448], USD[0.00]

08188594                               DAI[.05162], SHIB[892953.535689], USD[-2.49]

08188607                               TRX[1]                                                                                                                                                                                       Yes

08188608                               CUSDT[5], USD[0.00]                                                                                                                                                                          Yes

08188619                               CUSDT[1], SHIB[186.4513145], USD[0.00]                                                                                                                                                       Yes

08188644                               CUSDT[1], SOL[.43308904], USD[0.50]

08188645                               USD[0.45]

08188648        Contingent, Disputed   USD[0.13]

08188655                               ETH[.008], ETHW[.008], USD[7100.00]

08188660                               BTC[.00000037], SOL[.00020377], UNI[0.46393149], USD[0.01], USDT[.01051331]                                                                                                                  Yes

08188662                               SOL[.00000001], USD[2.21]

08188671        Contingent, Disputed   BTC[.00008247]                                                                                                                                                                               Yes

08188675                               SHIB[3063846.85125311], USD[0.00]

08188677                               CUSDT[2], DOGE[1], EUR[43.75], USD[0.00]                                                                                                                                                     Yes

08188703                               USD[0.00]

08188707                               CUSDT[2], ETH[.01011814], ETHW[.00999502], USD[0.02]                                                                                                                                         Yes

08188709                               USD[2.00]

08188710        Contingent, Disputed   USD[1.60]

08188730                               USD[0.00]

08188731                               BTC[0], ETH[1.00404525], ETHW[1.00404525], USD[0.00], USDT[0]

08188740                               USD[0.00]                                                                                                                                                                                    Yes

08188746                               NFT (399352393136464722/Pixel Void Identity)[1], NFT (493871596765516960/Pixel Identity #6)[1], NFT (513388907097614219/Pixel CoolGuy Identity)[1], NFT (514141919976164765/Pixel Identity   Yes
                                       #7)[1], USD[0.00]
08188762                               BTC[.00000475]                                                                                                                                                                               Yes

08188764                               TRX[1], USD[0.00]                                                                                                                                                                            Yes

08188773                               MATIC[3.36573448], SHIB[917958.57575653], USD[0.00]                                                                                                                                          Yes

08188774                               NFT (353637802287729858/Coachella x FTX Weekend 1 #28064)[1]

08188790                               USD[0.00]

08188804                               DOGE[2], SHIB[2], USD[2.00]

08188829                               MATIC[0], NFT (302142899643743625/Soul of a poet.)[1], NFT (390018210774597233/Her brand of hearty cheerfulness)[1], NFT (417926404049371467/Soul of a poet. #2)[1], NFT
                                       (505162259021151910/Sweet dreams!)[1], USD[0.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08188842                              USD[1.00], USDT[0.00001257]

08188847       Contingent, Disputed   USD[0.00]

08188881                              SHIB[253228.71974835], USD[0.00], USDT[0]                                                                                                                                                   Yes

08188893                              BAT[6.54634739], BRZ[23.81224024], BTC[.00100613], CUSDT[3], DOGE[12.26740959], ETH[.00536097], ETHW[.00529257], GRT[19.52295623], MATIC[17.1074962], SHIB[821229.06833576],                Yes
                                      SUSHI[4.32539965], TRX[1], USD[2.12]
08188894                              BTC[.0019], GRT[151.848], USD[204.95]

08188900                              DOGE[1], SOL[.49041294], TRX[1], USD[0.00]                                                                                                                                                  Yes

08188901                              NFT (357422975101888404/On The Farm #1)[1], NFT (361738794100969353/Altered Reality Piece 1 )[1], NFT (431555615672128596/Altered Reality 2)[1], NFT (433696816015742206/Night At The Bar
                                      #1)[1], NFT (449459532736858022/Altered Reality 3)[1], NFT (514417388577074401/Altered Reality, Halloween)[1], NFT (557374554238316901/Altered Reality 4 )[1], USD[0.62]
08188918                              BTC[.00040156], USD[0.01]

08188919                              CUSDT[1], DOGE[1], KSHIB[4386.90534944], USD[0.00]                                                                                                                                          Yes

08188948                              BRZ[1], CUSDT[1], DOGE[1], USD[0.00]

08188966                              CUSDT[3], ETH[.0247182], ETHW[.02441374], LINK[12.21247873], MATIC[46.18666094], SOL[.27846765], TRX[1], USD[0.66]                                                                          Yes

08188971                              ETH[.00000001], SOL[0.99999499], TRX[552.71093716]

08188972                              CUSDT[1], USD[0.00]

08188984                              NFT (363189349175462148/Golden Hill #300)[1], USD[2.00]

08188993                              SOL[.00000001]

08189025                              SOL[.00172629], USD[0.00]

08189032                              ETH[0], SOL[0], USD[0.00]

08189043       Contingent, Disputed   USD[8.11]

08189047                              DOGE[2], USD[0.02]

08189055                              BTC[.01069332], CUSDT[8], ETH[.14543794], ETHW[0.14454299], MATIC[21.93732744], TRX[2], USD[-66.48]                                                                                         Yes

08189065       Contingent, Disputed   USDT[0.00000078]

08189076                              NFT (377842721892727121/Coachella x FTX Weekend 1 #14590)[1]

08189086                              ETH[.00000001], ETHW[.00000001], MATIC[.00004623], USD[22.91]                                                                                                                               Yes

08189106       Contingent, Disputed   BTC[.0120874], USD[506.53], USDT[1.780627]

08189108                              USD[53.94]                                                                                                                                                                                  Yes

08189112                              BAT[0], BTC[0.00000001], DOGE[1.11109470], GRT[0.00074312], MATIC[0], SHIB[0], SOL[0], TRX[0], USD[0.00]                                                                                    Yes

08189113                              USDT[0.00002100]                                                                                                                                                                            Yes

08189129                              NFT (384592964880943785/Ravager #1968)[1], SOL[.00000001]

08189130                              USD[0.00]                                                                                                                                                                                   Yes

08189149                              USD[2.28]

08189164                              BTC[0], CUSDT[4], SOL[0.01023000], USD[0.00]

08189165       Contingent, Disputed   USD[0.19]

08189168                              BRZ[1], CUSDT[4], DOGE[3], ETH[.09275171], ETHW[.09170412], TRX[3], USD[0.00]                                                                                                               Yes

08189169                              USD[0.00]

08189186                              CUSDT[4], MATIC[9.80185473], TRX[1], USD[0.06]                                                                                                                                              Yes

08189210                              EUR[4713.47], USD[162.60]

08189234                              BTC[.00086152], TRX[2], USD[0.00]                                                                                                                                                           Yes

08189241                              USD[10.78]                                                                                                                                                                                  Yes

08189244                              CUSDT[1], DOGE[1], USD[94.85]

08189276                              SOL[.64], USD[2.07]

08189317                              DOGE[34.88030938], SHIB[212327.91933252], USD[0.00], USDT[0]                                                                                                                                Yes

08189352                              USD[1.00]

08189358                              SOL[.1063219]                                                                                                                                                                               Yes

08189373       Contingent, Disputed   USD[-500.00], USDT[994.31304267]

08189376                              SOL[.00001965], USD[0.00]                                                                                                                                                                   Yes

08189377                              USD[1.00]

08189380       Contingent, Disputed   BTC[0], ETH[0], USD[0.00]

08189394                              BTC[.0000868], ETH[.00010569], ETHW[.00010569], KSHIB[107.84101215], MATIC[.50020013], SOL[.00665953], USD[0.00]                                                                            Yes

08189416                              BRZ[0], ETH[0], EUR[0.00], MATIC[.00000044], NFT (302294645830507564/Settler #241)[1], NFT (575677042847859504/7NFTs)[1], SOL[0.01889544], USD[0.00], USDT[0], YFI[0]                       Yes

08189417                              USD[0.00], USDT[2.4011231]

08189418                              BTC[.0004355]                                                                                                                                                                               Yes

08189442                              ETH[.00113775], ETHW[.00112407], KSHIB[106.09417683], USD[0.00]                                                                                                                             Yes

08189444                              BTC[.0000824], USD[0.00]

08189448                              USD[6.48]

08189451                              USD[6.44]                                                                                                                                                                                   Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08189465                              ETH[0], NFT (292928611574723547/GORILLA #3)[1], NFT (367410357962848690/MONKEY)[1], NFT (372499606168345133/Idol #6)[1], NFT (375981893739585704/Brutal #5)[1], NFT
                                      (377164654614487651/Monkey #7)[1], NFT (397521558687126797/MY COLLECTION 1 #2)[1], NFT (429480821446635721/Multicoloured abstraction)[1], NFT (434947972930818247/Brutal #8)[1],
                                      NFT (435168444268530236/Wow wow #16)[1], NFT (453559008284688602/Brutal #6)[1], NFT (468315791566807182/Wow wow #14)[1], NFT (468858437730799888/OLEG)[1], NFT
                                      (476833546841316415/Wow wow #15)[1], NFT (488432990033594364/SANTA)[1], NFT (494220192531960908/Wow wow #13)[1], NFT (499529471772977326/OLEG #2)[1], NFT
                                      (502955505205061665/Monkey #8)[1], NFT (503620619061307623/MY COLLECTION 1)[1], NFT (505814237256401245/Wow wow #9)[1], NFT (516463436289180784/Brutal #7)[1], NFT
                                      (542520028315499301/Wow wow #12)[1], NFT (554946961839173218/Multicoloured abstraction #2)[1], NFT (557648285116683059/Wow wow #11)[1], NFT (574369663203270895/Wow wow #10)[1],
                                      NFT (575059472226518902/MASK)[1], TRX[0], USD[0.00], USDT[0]
08189484                              TRX[614.84705765], USD[0.00]

08189500                              BTC[0], DOGE[1], ETH[0], GRT[69.68700324], USD[0.00], USDT[0]                                                                                                                          Yes

08189503                              SOL[1.93405674], USD[0.47]

08189512                              DOGE[1], SHIB[3], USD[0.95]

08189516                              SOL[.00024039], USD[1.63]

08189521                              NFT (368497203638249615/Humpty Dumpty #1135)[1]

08189531                              USDT[.09563345]                                                                                                                                                                        Yes

08189538                              USD[4.74]

08189539                              BTC[.0525], USD[1.40]

08189553                              CUSDT[1], KSHIB[420.84719422], SHIB[238480.8728299], TRX[1], USD[0.44]                                                                                                                 Yes

08189555       Contingent, Disputed   USD[4.51]

08189561                              USD[288.10]                                                                                                                                                                            Yes

08189580                              BTC[.0001717], USD[0.00]

08189584       Contingent, Disputed   USD[30000.00]

08189588                              MATIC[.0910818], SHIB[1], USD[0.00]                                                                                                                                                    Yes

08189614                              USD[0.00]

08189617                              ETHW[.01162276], USD[0.00], USDT[0]

08189628                              USD[0.00]                                                                                                                                                                              Yes

08189630                              BAT[.00005365], CUSDT[2], NFT (312546555170970187/Beddy Tears #54)[1], NFT (336199612604135311/Cartons album #16)[1], NFT (489443921746412157/Cartons album #20)[1], SOL[.00008919],   Yes
                                      USD[0.00]
08189650                              USD[220.49]

08189670                              SOL[.00000199], USD[0.00], USDT[0]

08189673                              AVAX[.00101607], USD[0.00]                                                                                                                                                             Yes

08189681                              USD[0.00]

08189684                              BTC[0], USD[0.00], USDT[0]

08189685                              NFT (504601679822634250/Monocle #97)[1]

08189686       Contingent, Disputed   CUSDT[1], MATIC[124.22961922], USD[269.53]                                                                                                                                             Yes

08189688                              USD[11.58]

08189695                              AVAX[.00000001], CUSDT[3], DOGE[6.00034773], ETH[3.42110371], ETHW[3.41979541], GRT[1], SHIB[2], SOL[125.63962664], TRX[3], USD[0.00]                                                  Yes

08189713                              SOL[.04], USD[1.80]

08189722       Contingent, Disputed   BCH[1.59695706], BTC[.02721419], ETH[.72460478], ETHW[.72460478]

08189724       Contingent, Disputed   NFT (493181961402440202/Miner Bot 413)[1], SOL[.00621069], USD[0.00]

08189730                              BTC[.0206], ETH[.248], ETHW[.248], MATIC[180], USD[0.01]

08189751                              DOGE[1036.962], ETH[.030969], ETHW[.030969], LTC[.68931], SHIB[2100000], SOL[.43], TRX[1496], USD[156.40]

08189753                              BRZ[1], CUSDT[10], DOGE[2239.29462658], LINK[52.82859474], SHIB[28859991.18599927], SOL[8.75382747], TRX[996.77929876], USD[0.00]

08189754                              SUSHI[1.02385054], TRX[1], USD[0.00]                                                                                                                                                   Yes

08189765                              NFT (447446566035401847/FTX - Off The Grid Miami #7427)[1], NFT (452020725060413619/Miami Grand Prix 2022 - ID: 61E5DABD)[1]

08189766                              SOL[.03591], USD[20.43]

08189786       Contingent, Disputed   NFT (321353491512273951/Crazy Horse)[1], NFT (464883399503814611/Crazy Horse #2)[1], USD[3.00]

08189802                              USD[5.68], USDT[0]                                                                                                                                                                     Yes

08189814                              USD[100.01]

08189823                              USD[0.59]                                                                                                                                                                              Yes

08189828                              CUSDT[1], SHIB[13], TRX[1], USD[0.00], USDT[0.00000035]                                                                                                                                Yes

08189854                              CUSDT[0], GRT[121.14420231], SHIB[1], USD[0.00]                                                                                                                                        Yes

08189865                              USD[538.91]                                                                                                                                                                            Yes

08189868                              AVAX[.00000913], BTC[.00000001], CUSDT[1], DOGE[1], ETH[.00000017], ETHW[.0000001], MATIC[.00021637], PAXG[.00000006], SHIB[15], SOL[.00000883], TRX[3], USD[0.00]                     Yes

08189877       Contingent, Disputed   USD[0.00], USDT[4.4695]

08189893                              SOL[1.31455859], USD[0.00]

08189897       Contingent, Disputed   USD[1.06]

08189899       Contingent, Disputed   BTC[.0024975], GRT[29.97], MATIC[9.99], SHIB[1000000], USD[0.01], USDT[119.86], YFI[.000999]

08189906                              CUSDT[3], SHIB[311429.46122703], TRX[2], USD[12.83]

08189913                              SHIB[0], SOL[0], USD[0.00]

08189924                              CUSDT[451.29347479], DOGE[1], ETH[.00126863], ETHW[.00126863], USD[0.00]

08189927                              DOGE[9.52294275], KSHIB[42.48323876], SOL[.02740306], USD[0.00]                                                                                                                        Yes
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                                                                                                                                            Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08189928                              CUSDT[4], TRX[1], USD[156.87]                                                                                                                                                              Yes

08189953                              USD[2.00]

08189966                              USD[6.00]

08189973                              CUSDT[1], TRX[1], USD[0.00]

08189979                              USDT[.82764059]                                                                                                                                                                            Yes

08189997       Contingent, Disputed   SHIB[500000], TRX[316.683], USD[0.02]

08190001                              ETH[.00045814], ETHW[.00045814], USD[62.56]                                                                                                                                                Yes

08190028                              BRZ[1], CUSDT[2], ETH[.00000001], ETHW[0], TRX[2], USD[0.01]                                                                                                                               Yes

08190036                              SOL[.00000001]                                                                                                                                                                             Yes

08190050                              CUSDT[5], SHIB[7910410.61937678], USD[0.00]                                                                                                                                                Yes

08190060                              ETH[.01659934], ETHW[0.01659934]

08190061                              MATIC[5.12640692], USD[0.00]                                                                                                                                                               Yes

08190073                              ETH[0], ETHW[0.36191359], SOL[0], USD[433.29]

08190086                              BTC[0.00000001], ETH[0.00000003], LTC[0], MATIC[0], SOL[0], TRX[0], USD[0.00], USDT[0.00001318]

08190088                              CUSDT[1], SHIB[1], USD[0.00]                                                                                                                                                               Yes

08190089                              USD[538.96]                                                                                                                                                                                Yes

08190092                              BTC[0], DOGE[11.02564618], NFT (334096527086238020/The Hill by FTX #8477)[1], NFT (546653277283650370/FTX Crypto Cup 2022 Key #26273)[1], SHIB[1], TRX[2], USD[0.00]                       Yes

08190099                              BTC[.00222678], CUSDT[1], USD[0.00]                                                                                                                                                        Yes

08190129       Contingent, Disputed   BTC[.0002997], SOL[.06993], USD[1.37]

08190158                              BTC[.00015386]

08190163                              USD[0.69]                                                                                                                                                                                  Yes

08190176                              AUD[0.00], BRZ[0], BTC[.00091537], CUSDT[2], DAI[12.48941587], ETH[0], EUR[0.00], GBP[0.00], MATIC[0], MKR[.00465945], NFT (341882454710865056/Bebop #04)[1], NFT                          Yes
                                      (372581312399608954/Abstract Artillery #4)[1], NFT (474043644232837813/White.IT.Marble)[1], NFT (488159935467069045/Casual Series #4)[1], SHIB[0], SOL[0], TRX[208.37470707], USD[0.00],
                                      USDT[0.00000001]
08190201                              NFT (541416373298351216/Pill #34)[1], NFT (542243867270314474/Pill #2)[1], SOL[.01305105], TRX[50.4806439], USD[6.00]

08190206                              BTC[.00220177], CUSDT[6], DOGE[1], LINK[.00000599], SUSHI[.00001773], TRX[1.00001769], USD[0.00]                                                                                           Yes

08190218                              BRZ[1], CUSDT[5], DOGE[1], SOL[7.83568048], TRX[1], USD[160.52]                                                                                                                            Yes

08190221                              AVAX[1.96198744], DOGE[728.38301098], ETH[.51998561], ETHW[.44363355], MATIC[170.66076978], SHIB[6], TRX[3], USD[0.00]                                                                     Yes

08190234                              BF_POINT[300], CUSDT[2], DOGE[1], ETH[.18227609], ETHW[.18227609], LTC[.63504304], MATIC[92.98031274], NFT (292163787120141899/Digital Ducklings #465)[1], SOL[4.85938295], TRX[2],
                                      USD[0.00], USDT[201.736161]
08190239                              SOL[.42957], USD[1.95]

08190243                              DOGE[1], GRT[1], USD[0.00]

08190289                              USD[0.64]

08190293                              ETH[.00000001], ETHW[.00000001], SOL[0]

08190297                              BTC[.00113451], DOGE[1], USD[0.88]                                                                                                                                                         Yes

08190311                              USD[252.85]

08190315                              USD[32.35]                                                                                                                                                                                 Yes

08190318                              SOL[.00055688], USD[1.91]

08190320                              BRZ[1], CUSDT[6], DOGE[1], GRT[1], TRX[2], USD[0.00]                                                                                                                                       Yes

08190338                              TRX[1], USD[0.00]                                                                                                                                                                          Yes

08190343                              BTC[0], ETH[0], ETHW[0.11606180], USD[0.00], USDT[0.00001316]

08190346                              ETH[.03038596], ETHW[0.03038595], USD[1.31]

08190349       Contingent, Disputed   USD[0.01], USDT[0]                                                                                                                                                                         Yes

08190352                              NFT (559273859891680532/Sigma Shark #7308)[1], NFT (565580368648122490/DOTB #6066)[1]

08190366                              DOGE[415.36909646], TRX[1], USDT[0]                                                                                                                                                        Yes

08190370                              DOGE[1], TRX[5304.10013605], USD[0.01]                                                                                                                                                     Yes

08190373       Contingent, Disputed   LTC[2.5], USD[35.49]

08190376                              BTC[.00468544], CUSDT[1], ETH[.02923997], ETHW[.02887606], MATIC[13.03482014], SOL[.88722726], USD[0.09]                                                                                   Yes

08190381                              USD[0.00]

08190385                              BTC[.23517378], ETH[1.57509755], ETHW[1.57509755], SOL[35.40069578], USD[0.00]

08190393                              CUSDT[1], USDT[0.89966916]                                                                                                                                                                 Yes

08190397                              USD[2000.01]

08190416                              BTC[0], ETH[0], LTC[0], SOL[0.00000001], USD[0.00]

08190431                              USD[1610.83]                                                                                                                                                                               Yes

08190446                              BRZ[1], CUSDT[1], SHIB[7340453.06913921], USD[0.01]                                                                                                                                        Yes

08190455                              NFT (495983608423742135/NFT BZL 2021 #339)[1]

08190456                              USD[0.00]                                                                                                                                                                                  Yes

08190457       Contingent, Disputed   TRX[.000132], USD[0.20], USDT[0]

08190459                              ETH[.56244984], ETHW[.56244984], USD[0.00]

08190461                              ETH[.00000041], SHIB[3], USD[56.25]                                                                                                                                                        Yes
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                                                                                                                                            Customer Claims                                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08190464                              USD[0.00]

08190471                              CUSDT[1], USD[0.00]

08190473                              CUSDT[1], DOGE[458.67189626], SOL[.00433937], USD[499.01]

08190477                              NFT (481134740926900084/Microphone #5074)[1]

08190479                              NFT (340532001980209776/Wonky Stonk #1022)[1], NFT (365655682355620408/Wonky Stonk #5875)[1], NFT (450087190086087440/Wonky Stonk #4711)[1], NFT (470501458818763293/Wonky
                                      Stonk #3378)[1], NFT (484990966513925866/Wonky Stonk #6436)[1], NFT (528561475784390615/Wonky Stonk #8405)[1], NFT (547453421721356454/Wonky Stonk #1005)[1], NFT
                                      (569235944440057687/Wonky Stonk #1559)[1], NFT (571075612721916612/Wonky Stonk #1015)[1]
08190494                              KSHIB[211.73404679], USD[0.66]                                                                                                                                                  Yes

08190515                              LTC[.012]

08190518                              MATIC[.71523835], SHIB[1.00047954], TRX[.000049], USD[0.01], USDT[0.00000002]                                                                                                   Yes

08190525                              BTC[.00483618], CUSDT[1], DOGE[1], ETH[.00467452], ETHW[.0046198], SHIB[1324177.33067293], TRX[2], USD[0.00]                                                                    Yes

08190534                              ETH[.25], ETHW[.25], USD[0.00]

08190535                              BTC[0], SOL[0], USD[0.00]

08190538                              USD[0.00]

08190541                              NFT (573242571052790272/Wonky Stonk #2426)[1], USD[0.01]

08190567                              ETHW[.00062979], USD[0.13]

08190584                              MATIC[1.9905], USD[1.09]

08190592                              ETHW[8.4568118], USD[979.35]                                                                                                                                                    Yes

08190599                              DOGE[1], SHIB[1], USD[23.45]

08190601                              USD[200.00]

08190606                              NFT (334083911319462246/Coachella x FTX Weekend 2 #11433)[1]                                                                                                                    Yes

08190610                              USD[0.51]

08190632                              ETHW[.00084639], USD[23.75]

08190635                              DOGE[2], USD[0.00]                                                                                                                                                              Yes

08190640                              USD[11.44]

08190646                              USD[20000.00]

08190657                              BTC[0], DOGE[0], ETH[.09], ETHW[.09], LINK[0], USD[0.00]                                                                                                                        Yes

08190665                              DOGE[1], KSHIB[630.32718393], SHIB[45850.52728106], USD[0.00]

08190677                              USD[0.00]

08190683       Contingent, Disputed   BTC[.0000865], ETH[.000853], ETHW[.600853], USD[0.00]

08190690       Contingent, Disputed   BTC[.00002548], DOGE[7.0932899], ETH[.00069638], ETHW[.00069247], SOL[.00444765], USD[0.01]                                                                                     Yes

08190703                              CUSDT[5], ETH[.00119375], ETHW[.00118007], NFT (502237232809873125/Marcus Allen's Playbook: Kansas City Chiefs vs. Detriot Lions - November 29, 1996 #75)[1], SOL[.29118005],   Yes
                                      TRX[325.40200504], USD[0.00]
08190704                              ETH[.00000001], ETHW[.00000001], SHIB[2], USD[0.00]

08190714                              USD[0.00]

08190716                              ETH[.05], ETHW[.05], SOL[2.995]

08190719                              CUSDT[1], ETH[.05263303], ETHW[.05263303], USD[0.00]

08190723                              SHIB[13832838.71363936], USD[0.00]

08190725       Contingent, Disputed   BTC[.00040496], CUSDT[2], ETH[.00260141], ETHW[.00257405], TRX[1], USD[42.37], USDT[0.00000001]                                                                                 Yes

08190727                              CUSDT[1], DOGE[.0000051], ETH[.00422195], ETHW[.00422195], USD[0.00]

08190739                              USD[0.00]                                                                                                                                                                       Yes

08190747                              BRZ[1], CUSDT[4], DOGE[401.57535135], ETH[.06573539], ETHW[.06491856], SHIB[283145.36731115], SOL[.12563874], USD[0.26]                                                         Yes

08190756                              BTC[.03316846], USD[4723.33]

08190766                              CUSDT[2], DOGE[2], MATIC[0], SHIB[2], TRX[1], USD[0.00]

08190785       Contingent, Disputed   KSHIB[260], USD[138.37]

08190827                              ETH[.190848], USD[0.86]

08190832                              CUSDT[5], DOGE[1], MATIC[48.06363559], SHIB[667705.31938571], SOL[.94573448], TRX[1], USD[0.00]

08190850       Contingent, Disputed   SUSHI[960.039], USD[32.43]

08190860                              ETH[0], NFT (326857137740485230/2974 Floyd Norman - OKC 2-0023)[1], USD[0.00]

08190864                              BRZ[4], BTC[.00859211], CUSDT[3], DOGE[310.568193], MATIC[25.93067777], SHIB[1523185.34944701], SOL[1.05357155], TRX[2], USD[94.14]                                             Yes

08190882                              USD[0.01]                                                                                                                                                                       Yes

08190884                              USD[500.01]

08190890       Contingent, Disputed   LTC[.00685626], USD[2.03]

08190917       Contingent, Disputed   BCH[.00404192], BTC[.00006351]                                                                                                                                                  Yes

08190932                              BTC[.02666217], ETH[.37717637], ETHW[.37717637], SOL[12.75261159], USD[19.78]

08190939                              CUSDT[2], MATIC[0.00000206], USD[0.00]                                                                                                                                          Yes

08190940                              BTC[0.00017296], USD[0.07], USDT[.0035138]

08190949                              AVAX[30.7], LINK[.0291], MATIC[8.31], USD[270.43]

08190958                              BTC[.00087], CUSDT[1], USD[0.01]

08190959                              USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08190964                              BRZ[60.71758421], CUSDT[1201.12845795], DOGE[82.25554931], ETH[.00586682], ETHW[.00579842], GBP[7.82], SHIB[401425.47758383], USD[0.00], USDT[122.91447449]                               Yes

08190971                              USD[0.01]

08190983                              CUSDT[1], DOGE[66.86761275], KSHIB[619.0473708], MATIC[.00000171], SHIB[1], USD[0.02], USDT[0.00237791]

08190991                              CUSDT[1], SOL[.00000001], USDT[0.00000179]                                                                                                                                                Yes

08190995                              DOGE[2], ETH[0], SOL[0], USD[0.00]

08190996                              USD[0.00]

08191000                              BRZ[1], CUSDT[1], DOGE[3], SHIB[1], TRX[1], USD[0.00]                                                                                                                                     Yes

08191008                              BF_POINT[300], ETH[0], ETHW[0], MATIC[0], NFT (411349563784399482/Saudi Arabia Ticket Stub #234)[1], USD[0.00], USDT[0]                                                                   Yes

08191011       Contingent, Disputed   NFT (349526640223806219/Cotton Candys #2)[1], NFT (422873566365158319/Cotton Candys)[1], NFT (454468291360148169/Olafs)[1], NFT (465530663790180738/NIKKO)[1], NFT
                                      (493308991190650165/SLEEZY P)[1], NFT (526526600398063755/LIL JuiceBox)[1], NFT (529425476262016832/Ice Creams)[1], NFT (538726910274118976/The Loud Family)[1], NFT
                                      (553564491712233661/SLEEZY P 2)[1], NFT (572072452011556817/NIKKO 2)[1]
08191022                              CUSDT[2], SOL[0.10846360], USD[0.00]

08191029                              CUSDT[1], MATIC[5.37168529], SOL[.05084841], USD[0.00]                                                                                                                                    Yes

08191031                              NFT (289855406258753779/Master)[1], NFT (299414245392067769/Astral Apes #3145)[1], NFT (316018719841783085/The Curious Thermostat)[1], NFT (320112198256472652/MagicEden Vaults)[1],
                                      NFT (332295739310063844/Citizen 7#1008)[1], NFT (333876841098543263/Founding Frens Lawyer #175)[1], NFT (344582330286667646/Scoop #557)[1], NFT (350293677513660682/Bahrain Ticket
                                      Stub #746)[1], NFT (369514867375650301/MagicEden Vaults)[1], NFT (377112737446160344/Belugie #2255)[1], NFT (382787524442089275/The Hill by FTX #3541)[1], NFT
                                      (382947104244358595/Citizen 7#950)[1], NFT (385144243479025322/gameland)[1], NFT (408943015927918706/ALPHA:RONIN #531)[1], NFT (419857203835852787/Founding Frens Lawyer #782)[1],
                                      NFT (446594198794439447/Founding Frens Lawyer #737)[1], NFT (447307422732433688/Founding Frens Investor #422)[1], NFT (448068411972940873/ALPHA:RONIN #787)[1], NFT
                                      (461883126732473233/MagicEden Vaults)[1], NFT (466176124509885183/ApexDucks Halloween #555)[1], NFT (491712512776305987/Ex Populus Trading Card Game)[1], NFT
                                      (495791381413351040/MagicEden Vaults)[1], NFT (508145536896205137/MagicEden Vaults)[1], NFT (509619443694942440/FTX Crypto Cup 2022 Key #1348)[1], NFT (528357313909555071/Ghoulie
                                      #6971)[1], NFT (542994931641269826/Tungsten Cube 412)[1], NFT (551466036143746126/Naked Meerkat #1772)[1], NFT (565561506658690347/ALPHA:RONIN #1154)[1], NFT
                                      (569879282640650839/ApexDucks #4551)[1], NFT (573881644669334061/APEFUEL by Almond Breeze #283)[1], SOL[0.81040004], USD[0.00]

08191037                              USD[0.00], USDT[0]

08191043                              TRX[.00004]

08191056                              BTC[0], USD[21.74]

08191065                              USD[0.00]

08191077                              USD[0.00]

08191082                              SHIB[115432.77208875], USD[0.00]                                                                                                                                                          Yes

08191083                              BTC[0], DOGE[1], ETHW[2.67338549], LINK[1.03292376], NFT (368053111414563902/Wonky Stonk #3288)[1], SOL[0.00002660], TRX[2], USD[0.01]                                                    Yes

08191098                              SHIB[3], TRX[1], USD[0.01]                                                                                                                                                                Yes

08191099                              BTC[.00001739], USD[0.00]                                                                                                                                                                 Yes

08191125                              CUSDT[4], USD[1.31], USDT[0]                                                                                                                                                              Yes

08191137                              NFT (469635858857341924/Anti Artist #72)[1], SOL[.83492702], USD[0.00]

08191141                              BCH[.00911212], CUSDT[1], LTC[.00956885], MATIC[1.02574719], SOL[.00849724], USD[1.08]                                                                                                    Yes

08191144                              NFT (471602057928705355/Wonky Stonk #427)[1]

08191167                              USD[315.56], USDT[4.29984079]

08191175       Contingent, Disputed   ETH[.01], ETHW[.01], NFT (491818875696304880/Wonky Stonk #1986)[1]

08191182                              DOGE[37.16922871], ETH[.117], ETHW[.117], USD[0.32]

08191184                              SOL[.00813], USD[39.19]

08191188                              USD[0.00]                                                                                                                                                                                 Yes

08191197                              NFT (343092164268545699/Como Te Llama #003 - Nigel Llamarmstrong)[1], NFT (449694376346262091/Como Te Llama #002 - Clark)[1], NFT (502288915111868400/Como Te Llama #001 -
                                      Curtis)[1], USD[0.00]
08191201                              USDT[65.55]

08191205                              BTC[0], SOL[0], USD[0.00]

08191214                              USD[0.00]

08191219       Contingent, Disputed   SOL[21.52808656], USD[0.00]

08191223                              NFT (294888512371058126/Romeo #286)[1], NFT (301799599327039889/Wonky Stonk #6169)[1], NFT (349174531436685667/Wonky Stonk #3098)[1], NFT (356335936428820556/Wonky Stonk
                                      #3123)[1], NFT (373129444348252142/Wonky Stonk #5256)[1], NFT (388560421079659255/Wonky Stonk #2851)[1], NFT (434458417394391490/Wonky Stonk #7442)[1], NFT
                                      (436680402598675713/Wonky Stonk #8281)[1], NFT (449417123835865173/Wonky Stonk #7728)[1], NFT (450762498429172723/Wonky Stonk #8599)[1], NFT (476029312002649538/Wonky Stonk
                                      #2309)[1]
08191226                              USD[0.00]

08191227                              USD[0.74]

08191232                              USD[10.00]

08191236                              USD[377.45]                                                                                                                                                                               Yes

08191247                              TRX[1], USD[0.00], USDT[0]

08191248                              NFT (307138946682387951/Pirate #2269)[1], NFT (463097445282741004/Pirate #873)[1], NFT (481372722284053516/Vintage Sahara #431)[1], NFT (527570667011576271/Pirate #1535)[1], USD[0.00]

08191251                              SOL[33.83659388], USD[0.01]                                                                                                                                                               Yes

08191259                              USD[0.02]                                                                                                                                                                                 Yes

08191262                              CUSDT[3], USD[0.24]                                                                                                                                                                       Yes

08191264                              ETH[0], USD[0.00]

08191266                              BTC[.32320007], USD[537.43]                                                                                                                                                               Yes

08191273                              USD[2.01]

08191274                              USD[0.00]

08191275                              CUSDT[3], DOGE[151.15761855], SHIB[2], USD[0.00]                                                                                                                                          Yes
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                                                                                                                                            Customer Claims                                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08191278                              SOL[.08777974]

08191284                              CUSDT[1], SHIB[1078748.65156418], USD[20.01]

08191289                              BTC[.00226139], CUSDT[1], TRX[1], USD[0.00]

08191312                              CUSDT[3], USD[0.00]                                                                                                                                                            Yes

08191318                              SOL[4.995], USD[109.79]

08191326                              AVAX[.55821225], ETH[0], USD[6.38]

08191333                              ETH[.00000007], ETHW[.00000007], USD[0.00], USDT[.7602932]

08191336                              USD[0.26]

08191338                              USD[953.47]                                                                                                                                                                    Yes

08191360                              ETH[1.93116365], ETHW[1.93116365], USD[4.00]

08191361                              DOGE[0], USD[0.00], USDT[0]                                                                                                                                                    Yes

08191362                              BF_POINT[100], BTC[.00064529], ETH[0.00813040], ETHW[0.00803464], LINK[1.07843472], MATIC[1.19215257], SHIB[91734.25793693], SOL[0.10647256], SUSHI[.00214644], USD[0.00]      Yes

08191366                              ETH[.00000001], ETHW[0], SOL[.00727995], USD[0.00], USDT[0]

08191370                              USD[107.84]                                                                                                                                                                    Yes

08191376                              USD[0.00]

08191378                              USD[21.57]                                                                                                                                                                     Yes

08191381       Contingent, Disputed   NFT (329087288902680980/Entrance Voucher #29737)[1], NFT (389702997664458564/Wonky Stonk #4273)[1]

08191396                              BTC[.01296519], USD[0.00]                                                                                                                                                      Yes

08191411                              USD[0.00]

08191415                              SOL[.00042521], USD[0.39], USDT[.9170557]

08191416                              AUD[0.47], BCH[0], BTC[0], USD[1.10]

08191419                              CUSDT[1], USD[10.19]                                                                                                                                                           Yes

08191434                              ETH[.0007], ETHW[.0007], SOL[.00284]

08191437                              USDT[2.03546244]

08191446                              CUSDT[5], ETH[.00000001], MATIC[0], SHIB[35400.63743161], USD[0.48]                                                                                                            Yes

08191447                              CUSDT[3], DOGE[99.32333803], LINK[3.23325112], MATIC[6.37951905], SHIB[363505.83998419], TRX[1], UNI[4.33611394], USD[0.00]                                                    Yes

08191449                              NFT (404291741536900631/Eitbit Ape #5949)[1], USD[0.00]

08191451                              USD[0.00]                                                                                                                                                                      Yes

08191452                              ETH[.40412988], ETHW[.40412988], USD[0.73]

08191454                              BTC[0.00000014], CUSDT[2], DOGE[2], SOL[0], TRX[2], USD[0.00]                                                                                                                  Yes

08191461                              BTC[.00002834], DOGE[3.0112955], NFT (338925069035485134/Push yourself )[1], NFT (350087969545948676/Love sleep )[1], NFT (554796493956293597/Poke Collection)[1],
                                      SHIB[40000.47007925], SOL[0.00000302], USDT[0.01747092]
08191478                              USD[25.00]

08191480                              AAVE[.02851575], BTC[0.00049962], NFT (289744275943962277/Astro Stones #54)[1], NFT (401538437711892493/Solninjas #9454)[1], PAXG[0], SOL[0.51971295], UNI[0], USD[0.00]

08191489                              USD[0.01]

08191491                              USD[9.16]

08191498                              USD[200.00]

08191506                              TRX[1], USD[0.00]                                                                                                                                                              Yes

08191523                              ETH[.00073352], ETHW[.00073214], SHIB[1], TRX[1], USD[0.01], USDT[2.05720701]                                                                                                  Yes

08191526                              SOL[.00000001]

08191541                              BTC[.00067215], CUSDT[10], ETH[.00982224], ETHW[.00969912], SHIB[2], USD[0.00], YFI[.00000001]                                                                                 Yes

08191542                              EUR[0.00], USD[0.00]                                                                                                                                                           Yes

08191549                              SHIB[1], USD[0.00]                                                                                                                                                             Yes

08191562                              ALGO[.4416], DOGE[.416], LTC[.00954197], SOL[.0046837], USD[54.85], USDT[.8335151]

08191565                              BAT[1], BRZ[4], DOGE[0], ETH[0], GRT[4], MATIC[0], SHIB[21], TRX[5], USD[0.00], USDT[1]

08191569                              USD[0.00]

08191570                              USD[22.65]                                                                                                                                                                     Yes

08191576                              BF_POINT[100], BTC[.0004676], ETH[.05412433], ETHW[.00092665], NFT (444796787510497744/Entrance Voucher #102)[1], NFT (501833475407693034/Bahrain Ticket Stub #2241)[1], NFT
                                      (564494301333544117/test00009)[1], SOL[1], USD[10.56]
08191580                              BTC[.27295522], DOGE[1], ETH[.31907274], ETHW[.31890396], LTC[3.94081314], USD[0.00]                                                                                           Yes

08191582       Contingent, Disputed   DOGE[1], SHIB[867678.95878524], USD[0.01]

08191617                              CUSDT[1], DOGE[1], GRT[1], SOL[11.30198352], USD[0.02]

08191628                              CUSDT[1], TRX[.00323501], USD[0.00]                                                                                                                                            Yes

08191631                              USD[26.96]                                                                                                                                                                     Yes

08191639                              USD[0.06]

08191656                              CUSDT[1], USD[0.01]                                                                                                                                                            Yes

08191667                              ETHW[1], USD[2.63]

08191671                              ETH[.001], ETHW[.001], USD[0.01]

08191676                              NFT (555623543571640750/Bahrain Ticket Stub #971)[1], USD[2.00]

08191680                              BRZ[1], SOL[.05531203], TRX[1], USD[0.00]                                                                                                                                      Yes
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                                                                                                                                            Customer Claims                                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08191681                              AUD[37.39], BAT[117.02425157], BRZ[61.67878326], CAD[33.91], CHF[24.51], CUSDT[1723.12762016], DAI[74.6223008], DOGE[60.53639895], ETH[.5453444], ETHW[.54511532], EUR[23.56],                Yes
                                      HKD[207.73], MATIC[41.83908257], NFT (294474365552966530/Skull Ape Art #9)[1], NFT (295415830769209142/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #125)[1],
                                      NFT (301174467138140487/Tim Brown's Playbook: New York Jets vs. Oakland Raiders - December 2, 2002 #72)[1], NFT (301671800999851608/AI-generated landscape #168)[1], NFT
                                      (312956571833800396/Doak Walker's Playbook: Texas vs. SMU - November 1, 1947 #77)[1], NFT (320142606134570989/Marcus Allen's Playbook: Los Angeles Raiders vs. Washington - January 22,
                                      1984 #91)[1], NFT (326705687539005822/Joe Theismann's Playbook: Washington vs. Miami Dolphins - January 30, 1983 #74)[1], NFT (331036790594674134/Doak Walker's Playbook: Texas vs. SMU -
                                      November 1, 1947 #76)[1], NFT (334162643685178824/Marcus Allen's Playbook: Seattle Seahawks vs. Los Angeles Raiders - October 7, 1984 #79)[1], NFT (346663386052535308/Earl Campbell's
                                      Playbook: Rice vs. Texas - October 1st, 1977 #108)[1], NFT (347551188428819388/Marcus Allen's Playbook: Kansas City Chiefs vs. Detriot Lions - November 29, 1996 #80)[1], NFT
                                      (358986898687659936/Tim Brown's Playbook: San Diego Chargers vs. Los Angeles Raiders - September 4, 1988 #74)[1], NFT (362513644903539729/AI-generated landscape #180)[1], NFT
                                      (362723933019684269/Landscape #2)[1], NFT (370287562009519185/Joe Theismann's Playbook: Washington vs. Miami Dolphins - January 30, 1983 #71)[1], NFT (382827239386934976/Shannon
                                      Sharpe's Playbook: Denver Broncos vs. Los Angeles Raiders - January 9, 1994 #72)[1], NFT (392813697466501407/AI-generated landscape #176)[1], NFT (405630261475038214/Joe Theismann's
                                      Playbook: New York Giants vs. Washington - October 20, 1974 #51)[1], NFT (413170858631437291/AI-generated landscape #172)[1], NFT (414949202302136784/Earl Campbell's Playbook: Texas vs.
                                      Houston - November 5th, 1977 #112)[1], NFT (419975857431928256/Doak Walker's Playbook: SMU vs. Santa Clara - September 27, 1947 #81)[1], NFT (425664091232111154/Tim Brown's Playbook:
                                      Michigan State vs. Notre Dame - September 19, 1987 #80)[1], NFT (435317536221470794/Doak Walker's Playbook: Cleveland Brown vs. Detroit Lions - December 27, 1953 #93)[1], NFT
                                      (438176768146241507/Shannon Sharpe's Playbook: Baltimore Ravens vs. Denver Broncos - December 31, 2000 #91)[1], NFT (439878091097702073/Marcus Allen's Playbook: USC vs. Washington -
                                      November 14, 1981 #86)[1], NFT (447029677481122664/Marcus Allen's Playbook: Los Angeles Raiders vs. Washington - January 22, 1984 #92)[1], NFT (447339005262798741/Doak Walker's Playbook:
                                      Detroit Lions vs. Cleveland Browns - December 28, 1952 #76)[1], NFT (457617882639109354/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #117)[1], NFT
                                      (463755070866068357/Joe Theismann's Playbook: Washington vs. Chicago Bears - September 29, 1985 #71)[1], NFT (463978433543472421/Shannon Sharpe's Playbook: Kansas City Chiefs vs Denver
                                      Broncos - October 4, 1992 #94)[1], NFT (481785789141568227/Angels)[1], NFT (485131390460797578/AI-generated landscape #119)[1], NFT (487806425418204461/AI-generated landscape #171)[1],
                                      NFT (494693946690615160/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #124)[1], NFT (494919258206312631/Doak Walker's Playbook: SMU vs. Santa Clara -
                                      September 27, 1947 #82)[1], NFT (498683504407177462/Joe Theismann's Playbook: Notre Dame vs. USC - November 30, 1968 #73)[1], NFT (502109574612859439/Joe Theismann's Playbook:
                                      Washington vs. Chicago Bears - September 29, 1985 #77)[1], NFT (502511448094431421/Doak Walker's Playbook: Detroit Lions vs. Cleveland Browns - December 28, 1952 #75)[1], NFT
                                      (507420584429403300/Earl Campbell's Playbook: Texas vs. Houston - November 5th, 1977 #113)[1], NFT (509865306195503333/Earl Campbell's Playbook: Rice vs. Texas - October 1st, 1977 #104)[1],
                                      NFT (514046759578469410/Joe Theismann's Playbook: New York Giants vs. Washington - October 20, 1974 #54)[1], NFT (515556229810039271/Skull Ape Art #4)[1], NFT (516134716953814688/AI-
                                      generated landscape #125)[1], NFT (534659872981094061/Joe Theismann's Playbook: Notre Dame vs. USC - November 30, 1968 #75)[1], NFT (539579571575567786/Marcus Allen's Playbook: Seattle
                                      Seahawks vs. Los Angeles Raiders - October 7, 1984 #80)[1], NFT (541852924566490317/Earl Campbell's Playbook: Texas vs. Houston - November 5th, 1977 #116)[1], NFT (543213504416923710/Tim
                                      Brown's Playbook: San Diego Chargers vs. Los Angeles Raiders - September 4, 1988 #35)[1], NFT (552999618186122513/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16,
                                      1980 #142)[1], NFT (559107024740740401/Tim Brown's Playbook: Kansas City Chiefs vs. Oakland Raiders - December 9, 2001 #59)[1], NFT (563156255904615420/Doak Walker's Playbook: Cleveland
                                      Brown vs. Detroit Lions - December 27, 1953 #92)[1], NFT (573208260741688128/AI-generated landscape #4)[1], NFT (575641261519479162/Shannon Sharpe's Playbook: Baltimore Ravens vs.
                                      Oakland Raiders - January 14, 2001 #110)[1], SOL[1.57759294], TRX[126.03252823], USD[0.02], USDT[69.49812312], ZAR[398.15]

08191683                              USD[0.50]

08191685                              USD[1613.51]

08191690                              ETH[1], ETHW[1], USD[1196.04]

08191694                              SHIB[1], TRX[1], USD[84.83]

08191696                              USD[0.00]

08191704                              USD[25.00]

08191705                              BRZ[2], CUSDT[3], SHIB[1], SOL[.28598035], TRX[1], USD[0.00]                                                                                                                                 Yes

08191709                              SOL[.06675214]                                                                                                                                                                               Yes

08191714       Contingent, Disputed   USD[0.00]

08191719                              CUSDT[1], ETH[.00343768], ETHW[.00339664], TRX[53.82780955], USD[0.00]                                                                                                                       Yes

08191725                              BTC[0.00229781], ETH[.01], ETHW[.01], USD[30.53]

08191730                              TRX[1340.765353]

08191734                              BTC[.00237666], CUSDT[1], DOGE[2], ETH[2.75978378], ETHW[2.75862468], MATIC[358.46564529], TRX[2], USD[0.00]                                                                                 Yes

08191740                              USD[0.00]                                                                                                                                                                                    Yes

08191743                              BTC[.01187921], DOGE[314.90780487], ETH[.12894911], ETHW[.12786327], LINK[.5680762], SHIB[1078809.08222412], SOL[0.49918591], TRX[2], USD[50.41]                                             Yes

08191748                              BTC[.00000025], CUSDT[2], ETHW[.19183529], LINK[0], NFT (313563184728479571/Shannon Sharpe's Playbook: Kansas City Chiefs vs Denver Broncos - October 4, 1992 #80)[1], SHIB[8.32466071],     Yes
                                      TRX[.02881976], USD[0.00]
08191749                              USD[0.00]

08191750                              AAVE[.0931142]

08191751                              BRZ[2], BTC[.00930655], ETH[.11490045], ETHW[.11378003], USD[297.58]                                                                                                                         Yes

08191755                              USD[0.01]                                                                                                                                                                                    Yes

08191757                              BCH[.24811978], CUSDT[9], DOGE[2], ETH[.08591923], ETHW[.08489275], GRT[113.62621075], LINK[17.30289464], LTC[1.40397797], MATIC[604.30225338], SHIB[1559755.43455595], TRX[3],              Yes
                                      USD[0.00], USDT[0]
08191767                              USD[0.00], USDT[0]

08191777                              BTC[.00069886], USDT[0.00504240]

08191781                              AVAX[.00012853], ETH[.00000077], ETHW[.00000077], USD[0.00]                                                                                                                                  Yes

08191782                              BTC[.00099905], ETH[.0359753], ETHW[.0359753], SHIB[100000], USD[2.26]

08191786                              BAT[1.01031751], CUSDT[2], DOGE[4], SOL[32.49200097], TRX[2], USD[0.04]                                                                                                                      Yes

08191787       Contingent, Disputed   ETHW[.1075895], USD[168.94]

08191795                              USD[0.00]

08191798                              USD[102.51]                                                                                                                                                                                  Yes

08191816                              SOL[.36245629], USD[0.00]                                                                                                                                                                    Yes

08191818                              USD[0.00]

08191821                              BTC[.03062699], ETH[.48959167], ETHW[.48959167], SOL[39.90719979], USD[201.01]

08191827                              USDT[31.78851534]

08191831                              CUSDT[1], DOGE[92.87939211], USD[30.01]

08191844       Contingent, Disputed   ETH[.00515059], ETHW[.00515059], EUR[0.00]

08191846                              BAT[7.81755953], CUSDT[1], USD[0.00]                                                                                                                                                         Yes

08191857                              MATIC[62.16865882], SHIB[1810949.93327814], TRX[1], USD[0.00]                                                                                                                                Yes

08191870                              BTC[.0038961], ETH[.04995], ETHW[.04995], LTC[.03482287], SOL[.70929], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08191875                              CUSDT[2], DOGE[1], NFT (381700461304667336/3972)[1], NFT (447757711259236220/58)[1], NFT (469944341980268821/3D SOLDIER #3286)[1], SOL[4.48963199], TRX[1], USD[30.72], USDT[1]

08191881                              ETH[0], ETHW[0], NFT (309581219029003645/The Hill by FTX #5276)[1], NFT (367716907272263794/Entrance Voucher #1552)[1], SOL[0], USD[1.25]

08191883                              NFT (558352157226736212/Saudi Arabia Ticket Stub #2320)[1]

08191891                              NFT (299729699732633358/Space Bums #1042)[1], NFT (436901876442389635/Space Bums #2577)[1], SOL[.61]

08191892                              BTC[.000195], CUSDT[1], ETH[.00243373], ETHW[.00240637], LTC[.09866563], USD[0.04]                                                                                                      Yes

08191899                              USD[236.69], USDT[0]                                                                                                                                                                    Yes

08191901                              BRZ[1], BTC[.00097854], ETH[.01360247], ETHW[.01343831], SHIB[1], USD[8.76]                                                                                                             Yes

08191910                              USD[0.22]

08191912                              SOL[.00246391]

08191913                              USD[161.76]                                                                                                                                                                             Yes

08191918                              NFT (330623601798635736/2974 Floyd Norman - CLE 6-0004)[1], NFT (458184410332997410/2974 Floyd Norman - CLE 5-0224)[1], SOL[.7693], TRX[5698.27245751], USD[36.67]

08191922                              USD[0.01]

08191928                              USD[10.00]

08191936                              DOGE[1], SOL[5.62513814], TRX[1], USD[0.00]                                                                                                                                             Yes

08191939       Contingent, Disputed   SOL[44.27241451], USD[0.00]

08191944                              NFT (471114728418569883/DOGO-IN-500 #6299)[1]

08191953                              MATIC[0], NFT (301452469096418995/SolBunnies #3526)[1], NFT (332288884492945096/Sigma Shark #5353)[1], NFT (333710605665390970/Shannon Sharpe's Playbook: Baltimore Ravens vs.
                                      Denver Broncos - December 31, 2000 #75)[1], NFT (334274229788202226/DOGO-MM-500 #3933)[1], NFT (381824646353985653/Solana Penguin #6149)[1], NFT (411506874727059644/Ghoulie
                                      #4401)[1], NFT (422009832015391470/Roamer #438)[1], NFT (432504561452989521/Doak Walker's Playbook: Detroit Lions vs. Cleveland Browns - December 28, 1952 #50)[1], NFT
                                      (478516374327532772/Ravager #1648)[1], NFT (519198474971372686/DOGO-ID-500 #6244)[1], USD[1.30]
08191958                              USD[0.01]

08191960       Contingent, Disputed   BTC[.00001474], SOL[.00136538], USD[428.27], USDT[9.82041051]

08191961                              CUSDT[1], USD[0.00]                                                                                                                                                                     Yes

08191973                              ETH[.73689419], ETHW[.73689419]

08191974                              CUSDT[1], SHIB[477701.22127483], USD[0.00]                                                                                                                                              Yes

08191979                              SHIB[1199400], USD[67.03]

08191981                              DOGE[653.48633313], SHIB[3722461.77581383], USD[0.00]                                                                                                                                   Yes

08191996                              BTC[0], CUSDT[3], LINK[0], NFT (383214670307641355/Ravager #917)[1], NFT (470654272259315130/Ravager #1352)[1], SHIB[3], SOL[0], TRX[3.55286224], UNI[0], USD[0.00], USDT[0.00000014]

08192001       Contingent, Disputed   USD[0.61]

08192002       Contingent, Disputed   USD[0.00], USDT[1.86323287]

08192003       Contingent, Disputed   TRX[4953.70809901]

08192022                              NFT (364354448042704111/Series 1: Wizards #247)[1], NFT (474054503716463680/Series 1: Capitals #294)[1]

08192030                              SOL[7.486], USDT[0.00000001]

08192032       Contingent, Disputed   DOGE[33], SOL[6.41358], USD[0.50]

08192058                              DOGE[1.0020763], USD[52.57], USDT[0]                                                                                                                                                    Yes

08192060                              DOGE[0], ETH[.00915669], ETHW[.00915669], LINK[0], USD[0.00], USDT[0]

08192064                              SHIB[40.46699221], TRX[1], USD[1.08]                                                                                                                                                    Yes

08192083                              BTC[.00000039], USD[1.69]                                                                                                                                                               Yes

08192085                              SOL[.1840932], USD[0.93], USDT[0.00000069]

08192086                              NFT (358275927728570290/3D SOLDIER #870)[1], NFT (361846335208896811/#2703)[1], NFT (367256526204007162/Astral Apes #958)[1], NFT (385231046614257921/ApexDucks #5639)[1], NFT
                                      (396236192429149430/Fancy Frenchies #9656)[1], NFT (565068727578051658/3D SOLDIER #4442)[1]
08192087                              BTC[.00240348], DOGE[14.35244949], SHIB[44629.09209611], SOL[2.67370638], TRX[17.84267665], USD[0.00]                                                                                   Yes

08192092                              ETH[.26046895], ETHW[.26027379]                                                                                                                                                         Yes

08192107                              CUSDT[1], DOGE[58.71556288], SHIB[614071.37468499], USD[0.00]                                                                                                                           Yes

08192116                              NFT (300107659736546468/Glass Box Animals #6)[1], NFT (321758675322923021/Glass Box Animals #10)[1], NFT (371663086829281094/Glass Box Animals #8)[1], NFT (419842264901009600/Glass
                                      Box Animals #4)[1], NFT (424907400510008854/HapeBeastGang #3419)[1], NFT (547462737232560811/Glass Box Animals #5)[1], USD[0.00], USDT[0]
08192121                              BTC[0], CUSDT[2], DOGE[2], ETH[.05723037], ETHW[0.05651901], SHIB[.00000001], TRX[1], USD[0.15], USDT[0.00212638]                                                                    Yes

08192133       Contingent, Disputed   USD[500.00]

08192137                              BTC[0.01081781], ETH[.070929], ETHW[.070929], USD[4.97]

08192140                              DOGE[1], SHIB[1], USD[14.34]

08192167                              BAT[17.9872615], BCH[.01876514], CUSDT[4], MATIC[13.67158722], SUSHI[2.097289], TRX[109.88405201], USD[0.00], USDT[16.08393558]                                                         Yes

08192177                              LINK[.03535586], MATIC[2.7104426], SOL[.01206077], USD[0.19], USDT[.99457937]                                                                                                           Yes

08192181                              USD[0.42], USDT[0]                                                                                                                                                                      Yes

08192189                              DOGE[160], KSHIB[800], SHIB[1500000], USD[0.31]

08192202       Contingent, Disputed   USD[0.01], USDT[1.47]

08192203                              SOL[.00000001], USD[0.00]

08192206                              ETH[.00216096], ETHW[.00216096], USD[0.00]

08192210                              BTC[.275724], DAI[1499.5], ETH[6.0938], ETHW[6.0938], MATIC[4995], SOL[79.92], USD[2619.95]

08192223                              ETH[.00000001], ETHW[0.57395017], MATIC[.00075807], SOL[.00588202], USD[1090.31]

08192238       Contingent, Disputed   BTC[0.00170032], USD[0.00]

08192244                              MATIC[2.17693034], USD[0.00]                                                                                                                                                            Yes
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                                                                                                                 F-3: Nonpriority    06/27/23
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                                                                                                                                            Customer Claims                                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08192249                              BCH[.000888], BTC[.0000942], DOGE[1126.42], ETH[.000982], ETHW[.000982], GRT[1.707], LTC[.00525], SUSHI[22.4775], TRX[.944], UNI[.294], USD[57.09], USDT[7.60983422]

08192255                              BTC[.00000001], CUSDT[5], SHIB[4], SOL[.00013974], TRX[1], USD[0.89]                                                                                                                       Yes

08192264                              BTC[.0729], USD[8.47]

08192273                              CUSDT[1], ETH[.02380145], ETHW[.0235024], USD[0.00]                                                                                                                                        Yes

08192276                              KSHIB[0], SHIB[0], SOL[0]

08192286                              ETH[.0731871], ETHW[.0731871], USD[0.00]

08192292                              USD[0.00]                                                                                                                                                                                  Yes

08192298                              NFT (385988427409852558/FTX - Off The Grid Miami #3134)[1], NFT (515728842112089382/Microphone #229)[1]

08192304                              USD[0.00]

08192319                              BTC[.01056972], GRT[1], USD[16.14]                                                                                                                                                         Yes

08192321                              USD[0.00]

08192327       Contingent, Disputed   ETH[.000629], ETHW[.000629], USD[700.59], USDT[2.133547]

08192334                              BAT[9.99], DOGE[74.925], MATIC[10], USD[2.28]

08192336       Contingent, Disputed   USD[2.39]

08192342                              ETHW[.45588], NFT (292235931975951105/Jax Biptitch Double Meowgarine)[1], NFT (292388699749296216/Scanner Array)[1], NFT (292813199827697504/Coneheadz)[1], NFT
                                      (293707863932464832/G9 Bornwithit)[1], NFT (295884047288732864/Malachite Shield)[1], NFT (297724052487047201/#949)[1], NFT (299521375764760806/Daemon Cow)[1], NFT
                                      (302334403063677860/Tzar Hulaboop)[1], NFT (304317293959740505/Pepper Meowcadabra)[1], NFT (304587742593991264/Fluffy Buffshins)[1], NFT (307842590195679362/2 Amethyst, 1 Blue)[1],
                                      NFT (308140971057008089/G7 2.9/3 UN25 -PA+PA)[1], NFT (317380606874688450/Sphynx, Patrick, Dragontail R1)[1], NFT (317657473982005473/Chubby Megapants)[1], NFT
                                      (319582500286644323/G10 2/3 -WE10 +PU25)[1], NFT (321188239762042673/3/4)[1], NFT (321292212788811622/#846739)[1], NFT (325927376272035876/G8 Gemini)[1], NFT
                                      (327641605301120471/G9 2xLava)[1], NFT (327904689759911945/Dreggo#1503)[1], NFT (328499893362626686/Serpentine)[1], NFT (329585424229083056/🎄Mistletoe)[1], NFT
                                      (331679948982509408/G8 2.9/3 +PA,FU)[1], NFT (332365938117897796/Pool Paul)[1], NFT (333520754038711863/#994)[1], NFT (334514007277215043/G8)[1], NFT (335424747231153556/G6
                                      h1-Drwings)[1], NFT (335748972976169214/G6 2/3)[1], NFT (337152299011288517/🐱#76 Prune McWumpus)[1], NFT (337194693478241563/Mantis Corsair)[1], NFT
                                      (337237637622879798/#889160)[1], NFT (341551716541225063/G7 3.5/4 h1-Periwinkle)[1], NFT (344176140557208346/Master Vilekins)[1], NFT (351619905775771633/Jappy Eth)[1], NFT
                                      (352134136735387477/grim, hot, orange, birr1)[1], NFT (352710955343835800/Ciqala Achoobobo)[1], NFT (353956053535776733/G1 3x☣Swrly 3xW12 h2-E8)[1], NFT (354102922840530441/Mr.
                                      Grey)[1], NFT (354818555308700894/Sugar Sprinkleshmoops)[1], NFT (355708678102507887/#571222)[1], NFT (356762949252957054/G10 3.9/4 +JagUni ++Atl)[1], NFT (358135807321959583/Big
                                      Waddlesmoosh)[1], NFT (358874398797801248/Hime Slippytummy)[1], NFT (360921759133147661/Kiisu Hackpuss)[1], NFT (366027591788814371/G7 | QTo/Aq S/Co Red g Cym)[1], NFT
                                      (368348008204478922/G6 2xSecretgarden)[1], NFT (368545625462256958/Missy Bilihun)[1], NFT (371871091340363340/G8 Fallspice Cyborg)[1], NFT (373150948284992542/tiger, elk)[1], NFT
                                      (373870610465731728/G7 Inflatable)[1], NFT (374017436925104907/Virgin Catseye)[1], NFT (374637078567429117/Lord Purrfield)[1], NFT (375068698704689941/President Queenmumu)[1], NFT
                                      (375155966596854088/G12 Lykoi Dragonwings)[1], NFT (375338976469540803/Picasso)[1], NFT (378327754122566610/Mocha Teawuv)[1], NFT (380024600749099793/Pudding Shyshins)[1], NFT
                                      (381525885860757738/DJ Meowlody)[1], NFT (382437940454420069/Ruthless Sergeant)[1], NFT (383046452257802235/G10 2.9/3 -PU +PA,FU)[1], NFT (386621950604196791/Gizmo
                                      Ministerbaloo)[1], NFT (387495107082313323/Meowstro)[1], NFT (390775217059759858/#878784)[1], NFT (391404700226275375/#887597)[1], NFT (391481405875560523/Susi Dooboop)[1], NFT
                                      (393636874424731476/G7 2/3 PU25 -WE10)[1], NFT (393933735553876567/G4 Jacked h1-Road)[1], NFT (394906591083383417/🌈🦖Pawzilla +Jag)[1], NFT (396604988791289641/Garfunkel
                                      Skookumkip)[1], NFT (397855282038709005/G8 3.1 2xSul Koa Sel)[1], NFT (398245135516444269/Nero Friendboop)[1], NFT (400635013300984011/Yaya Dullloo)[1], NFT (401519916861347481/Trilly
                                       Bipsnuggums)[1], NFT (404283584933906686/G7 2.5/3 -PU +FU)[1], NFT (405541264278984359/G10 2/3 -PA+PA)[1], NFT (406898771768697896/Sugar Stoicpoppins)[1], NFT
                                      (412477685089851823/Brand New Cat)[1], NFT (412993644431506958/Ammo Hauler)[1], NFT (414501025605100279/Marshall Friendwight)[1], NFT (415403706961920585/Trigger-happy Trooper)[1],
                                      NFT (420984820040757734/Nisse Tatersniggle)[1], NFT (421075781966653132/Dr. Dwings)[1], NFT (421561730425947402/Iron Corps Rifleman)[1], NFT (421785479445418172/G7 2.75/4 Arc Sel
                                      h1-Sul,Koa)[1], NFT (422604386414731234/Duchess Spicytruck)[1], NFT (422863041038550354/Kitte Softnoggin)[1], NFT (422882804094210661/Pudding Sleepyeyes)[1], NFT
                                      (423320421883461402/#891439)[1], NFT (424301463353961591/G11 3.8/4 -+Arc +Sel,Koa,Sul)[1], NFT (426010345095931378/Tama Linkgwai)[1], NFT (427161369325679725/#657436)[1], NFT
                                      (431010609007883070/Cote d'Azure)[1], NFT (432115634402237770/Zaki Megaeyes)[1], NFT (435799267416337279/Lencho Spicywight)[1], NFT (436202304469037298/Booboo Sprinkleguts)[1], NFT
                                      (438419153206217650/Mack Didgerizip)[1], NFT (438493277648106008/G7 Cocoa h1-Shamrock)[1], NFT (439038470508891332/Nero Allmust)[1], NFT (440136762769172246/Hello Queen)[1], NFT
                                      (442079863458222978/Maow Elfinzip)[1], NFT (444814530015477478/G10 2.9 -+WE10)[1], NFT (448266831699625725/Lola Proudfluff)[1], NFT (450376019579323054/#904875)[1], NFT
                                      (451467979342211090/G11 3.6/4 -+Sel +Sul)[1], NFT (454615211814094590/Kocka Bluntdonald)[1], NFT (457924892395321216/G7 2/4 Selkirk Sully)[1], NFT (459433182193793776/Inspiring
                                      Teacher)[1], NFT (459877708090088046/Kill Switch)[1], NFT (460390323360709917/G1 h1-PU25)[1], NFT (461597953684931673/-P furball- -4x totes 15-)[1], NFT (463021043183312557/G12 Tally +
                                      Koa .Arc,Sul)[1], NFT (463449623229132680/Miss Purrfect)[1], NFT (463877618705495182/Benny Scrummyroo)[1], NFT (464105804120682620/Gen 0)[1], NFT (464755185771485583/Zuzu
                                      Bippitycaw)[1], NFT (466088613913346774/Max Fiddledeemust)[1], NFT (466112563163408816/Lord Conwhoopsie)[1], NFT (468251105562129107/Elk Cymric TigerR1)[1], NFT
                                      (469071387586159814/cgt9^4d66~b33g~46g4)[1], NFT (470689653239463812/Hunter #679)[1], NFT (471537931520647344/G8 2/3)[1], NFT (472193269859215021/#877666)[1], NFT
                                      (472546399639609329/G11 3.6/4 -+.Sul +Arc)[1], NFT (473984772900037460/totes+noweg)[1], NFT (475810319191477436/Glasswalker)[1], NFT (476506124483608399/#889225)[1], NFT
                                      (478030785830248265/Hime Lackatime)[1], NFT (480697217227564155/Peaches Melifluouspaws)[1], NFT (481637532176948723/inflatablepool (+r1))[1], NFT (485414109611784819/Count
                                      Sunnytime)[1], NFT (485907940125008901/Scuba Doo)[1], NFT (486073842608179183/Meowstro)[1], NFT (488658407658835465/Kocka Tickpookie)[1], NFT (493625603221968783/G8 Swish)[1], NFT
                                      (496718949699864325/Mr. Wonderful)[1], NFT (498386337975045084/General Widdleshorts)[1], NFT (499203190321685965/Doodoo Allnoggin)[1], NFT (500525522418268494/Catnip Grimmpuss)[1],
                                      NFT (502233882924629412/Eagleye Sam)[1], NFT (502681329509093010/Zuzu Sporkmumu)[1], NFT (508866229225419254/Young Spicyrubin)[1], NFT (512566828633388932/G4)[1], NFT
                                      (512590948601016104/G10 3.1/4 -Sul)[1], NFT (513174167993774131/G10 2/4)[1], NFT (514209373226598559/#816969)[1], NFT (516880041189817029/Brownies)[1], NFT
                                      (518251606682153344/Tocho Taterflop)[1], NFT (518311646495564189/Nala Achookat)[1], NFT (520206941497681149/Father Flabbean)[1], NFT (522186059129095345/#890851)[1], NFT
                                      (524759034647423248/Squib)[1], NFT (524795176892091392/🌈🐱Fuku Mildloo)[1], NFT (525041952391162667/Katu Tallpip)[1], NFT (525418821030870625/Booby Brown)[1], NFT
                                      (525491790512561850/Miss Purrfect)[1], NFT (526413701871585914/Nick Lionmami SE03H2H3)[1], NFT (530797775066860077/🏰 Tawdry Wares)[1], NFT (531291954496172257/Xynta)[1], NFT
                                      (533479804077398551/Mister Bilikazam)[1], NFT (533689330889463118/Sensei Whipbest)[1], NFT (534349643689741053/Qattus Khanmumu)[1], NFT (540744495752664979/G8 Avatar)[1], NFT
                                      (542406395949842688/💙G13 ☢Bridesmaid)[1], NFT (544648940060712900/Ora Greygirl)[1], NFT (544710680968195320/Page)[1], NFT (545827385379326883/G10 Gemini)[1], NFT
                                      (545851264639756936/Lil Angel)[1], NFT (546976410444272632/Minou Proudnoice)[1], NFT (547696642245300765/#889040)[1], NFT (547931157472687897/TE4 Interceptor)[1], NFT
                                      (548852582724129163/G9 UN25 +PAFU)[1], NFT (549286904522481823/#889125)[1], NFT (549982163450408578/🌈🐉G14 #207 Draco)[1], NFT (550916688812613338/Chris Grimmluv)[1], NFT
                                      (551410620403167458/Meowstro)[1], NFT (552240452542800761/Kameko Sweetki)[1], NFT (554841390165947462/Unnatural Selection)[1], NFT (556090442518959356/Janis)[1], NFT
                                      (556582164985899754/Princess Teabean)[1], NFT (562575330297586107/Kira Zappykazam)[1], NFT (569952000370634080/Foofoo Skookumwhoopsie)[1], NFT (571361240000743613/Count
                                      Zappybum)[1], NFT (572077622460972328/Jojo Joykey)[1], NFT (573903083369564203/#179)[1], NFT (574112868595260976/Upcycled Technology)[1], NFT (574893427725746886/G6 Al WE10
                                      +Munch,Milk)[1], NFT (575133225862074285/gen9)[1], NFT (575595874479678607/Bala Meanloo)[1], USD[0.00]


08192345       Contingent, Disputed   ETH[.00632381], ETHW[.00632381], NFT (365761308617717651/CORRVPT HVMAN 001/010)[1], NFT (403054814206329782/CORRVPT HVMAN 002/010)[1], NFT (443298138158140065/HVMAN
                                      001)[1], NFT (516205786955027114/CORRVPT HVMAN 001/010 #2)[1], USD[0.01]
08192348                              NFT (299591928274662025/Coachella x FTX Weekend 1 #11794)[1]

08192356                              SOL[.02490894], USD[0.00]

08192360                              USD[0.00]

08192367                              BTC[.00052852], CUSDT[1], KSHIB[283.46519189], SOL[.02292116], USD[0.00]                                                                                                                   Yes

08192386                              AVAX[0], BAT[0], BCH[0], BRZ[.00009132], BTC[0], CUSDT[0], DOGE[0], GRT[0.00003653], HKD[0.00], KSHIB[0], LINK[0], LTC[0], SGD[0.00], SHIB[1.00000562], SOL[0], SUSHI[0], USD[0.01],       Yes
                                      USDT[0.00001827]
08192395       Contingent, Disputed   USDT[270]

08192398                              USD[1000.00]

08192408                              BTC[0], ETHW[.584], USD[2249.83], USDT[0]

08192419                              USD[0.46]

08192439                              CUSDT[3], SUSHI[3.59737411], USD[0.32]                                                                                                                                                     Yes
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                                                                                                                                              Customer Claims                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or         Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08192440      Contingent, Disputed     USD[0.00]

08192445                               CUSDT[1], USD[0.06]

08192449                               BTC[.00041034], CUSDT[2], ETH[.00523729], ETHW[.00516889], USD[21.34]                                                                                                   Yes

08192457                               CUSDT[1], ETH[.00540218], ETHW[.00540218], USD[0.00]

08192460                               ETH[.00000001], ETHW[0], USD[0.00]

08192462                               MATIC[58.94374755], TRX[1], USD[0.01]                                                                                                                                   Yes

08192467                               DOGE[20], USD[16.63]

08192468                               USD[5.39]                                                                                                                                                               Yes

08192470                               CUSDT[1], SHIB[2294104.15232851], USD[0.00]

08192475                               SOL[.12782928], USD[0.00]                                                                                                                                               Yes

08192479                               NFT (454438222183132019/4738)[1], SOL[0.03362909]

08192487                               AVAX[.01728724], ETH[.00060439], ETHW[.00060436], GRT[625.70937956], LINK[.06035282], MATIC[.52623165], SOL[.0052779], USD[0.00], USDT[1.02543197]                      Yes

08192489                               BRZ[2], BTC[.0024659], CUSDT[3], DOGE[1], ETH[.67980029], ETHW[.67951463], USD[0.00]                                                                                    Yes

08192499                               USD[0.01], USDT[0]

08192508                               DOGE[1], SHIB[230789.09125781], SOL[.59514379], TRX[1], USD[45.01]

08192515                               BTC[0], ETH[0], LINK[7.19252718], NFT (405614742496096177/Surreal World #72)[1], SOL[0], USD[0.00], USDT[0]                                                             Yes

08192534        Contingent, Disputed   BTC[0], ETH[0], ETHW[0], USD[1.12], USDT[.004082]

08192554        Contingent, Disputed   USD[0.00]                                                                                                                                                               Yes

08192565                               USD[0.00]

08192566                               USD[0.00]

08192570                               BTC[.00002074], CUSDT[13.8555783], ETH[.00029445], ETHW[.00029445], USD[2.22]                                                                                           Yes

08192576                               ETH[4.07388242], ETHW[.00494], USD[0.00]

08192580                               USD[0.38]

08192585        Contingent, Disputed   BTC[0.02236370], ETH[.174], ETHW[.174], LTC[4.5256965], SOL[3.696485], USD[3748.07]

08192590                               BTC[0], CUSDT[8], DOGE[2], ETH[.02514781], ETHW[.02514781], LTC[0], SOL[.00000015], TRX[1], USD[0.00]

08192592                               CUSDT[1215.81349915], USD[0.00]                                                                                                                                         Yes

08192614                               CUSDT[1], DOGE[1], USD[0.00]

08192616                               CUSDT[1], DOGE[1], KSHIB[75.98190834], USD[5.56]

08192618                               CUSDT[2], DOGE[25.51891157], SOL[.2090378], USD[0.00]                                                                                                                   Yes

08192620                               AVAX[.00000001], ETH[0.08866589], ETHW[0], NFT (482945600350041083/Dalmatian Common #512 (Redeemed))[1], SHIB[65945.81374429], SOL[.00000001], USD[310.00], USDT[0]     Yes

08192622                               BRZ[1], CUSDT[3], USD[0.00]

08192630        Contingent, Disputed   USD[2.16]

08192637        Contingent, Disputed   BTC[0.00029971], SHIB[199810], USD[2.77]

08192640                               CAD[0.00], USD[20.10]

08192641        Contingent, Disputed   NFT (518943545592782438/tech cogwheel)[1], USD[0.99], USDT[0]

08192656                               BRZ[1], CUSDT[2], USD[0.00]                                                                                                                                             Yes

08192657                               USD[15.00]

08192666                               BTC[0.03093815], CUSDT[160.71643006], DOGE[1], ETH[.02428116], ETHW[.0239802], GRT[18.03403145], MATIC[9.25308349], NFT (378501875263256326/Fortune Cookies #930)[1],   Yes
                                       SHIB[1743173.74144633], SOL[.67755863], SUSHI[17.28984063], TRX[3747.86890494], UNI[4.05264535], USD[0.00]
08192689                               ETH[0], USD[0.00], USDT[0]

08192695                               LINK[13.76415229], USD[0.22]

08192702                               ETH[0]

08192705                               SOL[.0032971], USD[0.00]

08192712                               NFT (367298229850130529/SUL #2)[1], NFT (400427012173868735/SUL #4)[1], NFT (437011901531820614/SUL)[1], NFT (538593658571816577/SUL #3)[1]

08192716                               CUSDT[1], TRX[1], USD[0.00]                                                                                                                                             Yes

08192717        Contingent, Disputed   USD[38.56]                                                                                                                                                              Yes

08192722                               USD[8.76]

08192726                               CUSDT[1], UNI[.95486168], USD[0.00]                                                                                                                                     Yes

08192741        Contingent, Disputed   USD[0.00]

08192755        Contingent, Disputed   SOL[.43], USD[1.79]

08192774                               USD[0.00], USDT[0]

08192778                               CUSDT[1], SOL[3.19630862], USD[0.00]

08192784                               USD[50.01]

08192788                               USD[0.00]

08192797                               USD[49.89]

08192836                               USD[0.01], USDT[0.00005200]

08192838                               BTC[.00017458], USD[15.00]

08192842                               AVAX[9.80479664], SOL[5.66168376], USD[0.00]

08192844                               BTC[.00096204], DOGE[1], GRT[1], NFT (438358783083619580/DOTB #4671)[1], SOL[3.39698547], TRX[1], USD[432.89]                                                           Yes
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                                                                                                                                            Customer Claims                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08192847                              NFT (330379875723692805/Dream Woman)[1], USD[0.07]

08192851                              TRX[1049.1635]

08192852                              USDT[1]

08192859                              USD[5.39]                                                                                                                                                         Yes

08192868                              NFT (302771512516814849/Saudi Arabia Ticket Stub #1686)[1]

08192874                              BRZ[1], CUSDT[2], MATIC[0.00083388], TRX[1], USD[0.00], USDT[0]                                                                                                   Yes

08192879       Contingent, Disputed   USDT[24.33806955]

08192894                              BRZ[3], DOGE[8], ETH[0], GRT[1], SHIB[9], SOL[14.50510489], TRX[6], USD[0.00], USDT[0.00364323]                                                                   Yes

08192902                              USD[0.01]

08192905                              USD[10.78]                                                                                                                                                        Yes

08192911                              CUSDT[484.48825087], GRT[8.29599977], MATIC[4.77810389], USD[0.00]                                                                                                Yes

08192913                              CUSDT[2], DOGE[55.92606529], SHIB[59.9329439], USD[0.00]                                                                                                          Yes

08192916                              USD[126.18]

08192919                              SUSHI[.00000001]                                                                                                                                                  Yes

08192924                              SOL[6.96432805]

08192925                              SOL[0.32018383], USD[0.00], USDT[0]                                                                                                                               Yes

08192939       Contingent, Disputed   ETH[0], SHIB[0], USD[15.45]

08192941       Contingent, Disputed   SHIB[1000000], USD[1.75]

08192943                              USD[0.00]

08192955                              BRZ[1], DOGE[9.01859444], SHIB[36], TRX[3], USD[0.00]                                                                                                             Yes

08192968       Contingent, Disputed   SOL[1.22590564], USD[0.00]

08192970                              CUSDT[2], DOGE[239.21262005], USD[0.00]

08192979                              GRT[6.10657797], SOL[0], USD[0.00]

08192980                              BTC[.00280871], SHIB[3], SOL[.2490439], USD[0.00]

08192982                              USD[0.01]

08192984                              USD[10.00]

08192986                              USD[0.00], USDT[0.00000001]

08192998                              BTC[.00000001], CUSDT[3], LINK[4.85546172], TRX[1], USD[0.00]                                                                                                     Yes

08193001                              BAT[142.96122678], TRX[1], USD[0.00]                                                                                                                              Yes

08193006                              SOL[.43956], USD[0.56]

08193008                              SOL[.01], USD[0.04]

08193014                              USD[0.00]

08193034       Contingent, Disputed   USD[0.82]

08193035                              CUSDT[1], SHIB[1], USD[0.94]

08193041                              NFT (293598597852890086/FTX - Off The Grid Miami #1524)[1]

08193043       Contingent, Disputed   USD[449.63]

08193050                              ETH[.04], ETHW[.04], USD[1.60]

08193075                              BAT[1], SOL[.00000001], USD[0.00]                                                                                                                                 Yes

08193079                              NFT (348074458843046217/SBF Hair & Signature #7 #11)[1]

08193082                              USD[0.64]                                                                                                                                                         Yes

08193087                              CUSDT[1], SUSHI[2.11236133], USD[5.39]                                                                                                                            Yes

08193101                              CUSDT[1], DOGE[1], ETH[.00000001], LTC[0], SHIB[3], USD[0.01]                                                                                                     Yes

08193116                              USD[500.39]                                                                                                                                                       Yes

08193128                              BRZ[1], CUSDT[13], DOGE[1], LINK[.00005627], TRX[1], USD[0.01]                                                                                                    Yes

08193136                              BRZ[1], CUSDT[15], DOGE[1.00047857], LINK[.00000861], LTC[.21223475], MATIC[117.48501145], SOL[.00000038], SUSHI[.00004784], TRX[2], UNI[2.35575521], USD[0.00]   Yes

08193149                              BTC[.00222335], CUSDT[1], USD[21.53]                                                                                                                              Yes

08193150                              BTC[.0000349], DOGE[4.7069655], ETH[.00043317], ETHW[.00043317], USD[0.00]                                                                                        Yes

08193151                              CUSDT[19], NFT (479560892894667212/Lost Cave Of Buddha)[1], SHIB[11], SOL[2.32365622], TRX[3], USD[0.00], USDT[1.00048411]                                        Yes

08193159                              BTC[.00000002], CUSDT[3], DOGE[4], SHIB[10], USD[36.60]                                                                                                           Yes

08193164                              USD[32.27]                                                                                                                                                        Yes

08193189                              CUSDT[1], MATIC[101.17488561], USD[323.46]                                                                                                                        Yes

08193192                              CUSDT[1], DAI[2.97740379], GRT[5.36526515], KSHIB[115.94907331], SHIB[112183.08279111], USD[2.00]

08193199                              BTC[.00008743], CUSDT[1], ETH[.00043325], ETHW[.00043325], MATIC[1.48073294], PAXG[.00237668], SOL[.02736366], USD[0.00]                                          Yes

08193210                              BTC[.00121763], CUSDT[1], ETH[.01493531], ETHW[.01474656], TRX[1], USD[0.00]                                                                                      Yes

08193213                              TRX[1], USD[0.01], USDT[1]

08193220                              USD[0.00]                                                                                                                                                         Yes

08193223       Contingent, Disputed   USD[0.00], USDT[19.88617807]

08193232                              AAVE[2.2774677], BRZ[1], CUSDT[4], DOGE[2], MATIC[615.26131949], SOL[.49716781], TRX[2], UNI[.00032116], USD[0.00]                                                Yes
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                                                                                                                                             Customer Claims                                                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or         Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08193240      Contingent, Disputed     NFT (574852755906872717/FTX - Off The Grid Miami #4602)[1]

08193241                               USD[53.85]                                                                                                                                                                                     Yes

08193292                               NFT (424924554911106896/2021 Sports Illustrated Awards #5)[1]

08193294        Contingent, Disputed   USD[0.00], USDT[0]

08193301                               BRZ[1], CUSDT[4], DOGE[1], ETH[.0609176], ETHW[.06016261], EUR[94.28], NFT (330146811942013829/AI-generated landscape #129)[1], NFT (402671810532590360/Amalgam of colors #2)[1], NFT Yes
                                       (505095899528752296/Red Panda #7747)[1], SOL[.34502303], USD[0.00]
08193307                               USD[5.00]

08193308                               NFT (473051958995685837/Mexico Ticket Stub #54)[1], NFT (523966064376639684/FTX - Off The Grid Miami #4019)[1]

08193315        Contingent, Disputed   NFT (428535116149544551/Rubber Duckie #0033)[1], NFT (431105864646624703/Crypto Avatar Art #48)[1], NFT (447048959577554444/Pet Rexy)[1], NFT (513528115431391699/DOTB #3384)[1],
                                       NFT (520675283135865697/DOTB #19)[1], SOL[.13061574], USD[5.01]
08193335                               ETHW[.1961523], USD[1441.58]                                                                                                                                                                   Yes

08193340                               CUSDT[91.33989792], DAI[2.67783299], MATIC[1.33853615], USD[3.03]                                                                                                                              Yes

08193354                               SOL[15.50618922]                                                                                                                                                                               Yes

08193365                               BTC[.00087248], TRX[1], USD[0.00]

08193380                               BTC[.02089382], ETH[.00000456], MATIC[0.00928977], USD[271.30], USDT[0]                                                                                                                        Yes

08193381                               BTC[.00000005], CUSDT[7], LTC[.00000009], MATIC[.00058762], TRX[1], USD[2.08]                                                                                                                  Yes

08193394                               USD[0.00]

08193401                               CUSDT[2], NFT (290871445308489155/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #130)[1], NFT (302603731339414796/Doak Walker's Playbook: Cleveland
                                       Brown vs. Detroit Lions - December 27, 1953 #90)[1], NFT (316171075264993583/Earl Campbell's Playbook: Texas vs. Houston - November 5th, 1977 #114)[1], NFT (319360483832147908/Earl
                                       Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #131)[1], NFT (381187004517711418/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980
                                       #128)[1], NFT (387839177346264505/Shannon Sharpe's Playbook: Baltimore Ravens vs. Oakland Raiders - January 14, 2001 #106)[1], NFT (397793766703294441/Earl Campbell's Playbook: LA Rams
                                       vs Houston Oilers - September 4th, 1978 #119)[1], NFT (416244438214574273/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #118)[1], NFT (458281640525423971/Earl
                                       Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #136)[1], NFT (463066005794057510/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980
                                       #129)[1], NFT (467945913545229239/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #126)[1], NFT (468353056043664781/Earl Campbell's Playbook: Houston Oilers
                                       vs. Chicago Bears - November 16, 1980 #132)[1], NFT (485129223778075769/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #133)[1], NFT
                                       (505526735350463984/Earl Campbell's Playbook: Rice vs. Texas - October 1st, 1977 #105)[1], NFT (511877259047493238/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16,
                                       1980 #135)[1], NFT (521160500387420499/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #127)[1], NFT (533526131989493553/Earl Campbell's Playbook: Houston
                                       Oilers vs. Chicago Bears - November 16, 1980 #134)[1], NFT (537477974280541259/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #137)[1], NFT
                                       (564690294372334566/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #125)[1], SOL[.00000038], USD[0.00]

08193403        Contingent, Disputed   NFT (534396515331613595/Wonky Stonk #1105)[1]

08193410        Contingent, Disputed   SOL[.00000001], USD[0.00]

08193416                               USDT[0]

08193421                               BRZ[1], USD[1.00]

08193424                               BTC[0.00004832], ETH[0.00066972], MATIC[0], USD[1.21], USDT[0]

08193435                               CUSDT[1], USD[0.00]                                                                                                                                                                            Yes

08193465                               USD[4.36]                                                                                                                                                                                      Yes

08193467                               BCH[.78175349], LINK[17.07775491], SHIB[1], TRX[1], USD[0.01]

08193470                               NFT (504723436091147078/OG Whitelist)[1]

08193471                               SOL[0]

08193477                               USD[0.00]

08193489                               CUSDT[730.99555323], DOGE[76.57866905], SHIB[247387.30575789], USD[0.00]                                                                                                                       Yes

08193491                               USD[2.00]

08193492                               NFT (306950027454284391/FTX Crypto Cup 2022 Key #149)[1], NFT (363247344259435170/The Hill by FTX #562)[1]

08193495                               BRZ[1], CUSDT[22], DOGE[0], SHIB[2], SOL[0.00000001], TRX[4], USD[0.00], USDT[0]                                                                                                               Yes

08193503                               CUSDT[8], SOL[0], USD[0.01]                                                                                                                                                                    Yes

08193505                               DOGE[1], SHIB[1350986.21994055], USD[0.01]

08193518        Contingent, Disputed   SOL[2.54], USD[1.15]

08193528                               AAVE[12.36436738], BTC[.25529823], DOGE[3150.33519251], ETH[.65045439], ETHW[.65045439], MATIC[276.24194622], SHIB[15042117.93020457], SUSHI[88.93257604], UNI[140.65226993],
                                       USD[0.64]
08193540                               BTC[.00076537], DOGE[119.45014275], SHIB[738747.38745387], SOL[1.00050101], SUSHI[7.35665841], TRX[1], USD[0.00]

08193551                               BTC[.0575945], ETHW[37.823971], USD[0.69], USDT[0]

08193553                               CUSDT[1], TRX[1], USD[0.00]

08193559        Contingent, Disputed   USD[0.00], USDT[49765.16416213]

08193567                               DOGE[1], USD[0.01], USDT[1.06282578]                                                                                                                                                           Yes

08193569                               NFT (409050246625236537/Cosmic Sounds)[1]

08193576                               BTC[.00007628], USD[0.00]

08193581        Contingent, Disputed   USD[0.00]

08193589                               USD[6.20]                                                                                                                                                                                      Yes

08193600                               USD[100.00]

08193601                               BTC[.0019144]                                                                                                                                                                                  Yes

08193610                               BTC[.00000979], DOGE[2.37233391], ETH[.00022937], ETHW[.00022937], USD[0.00]                                                                                                                   Yes

08193624                               USD[0.04]                                                                                                                                                                                      Yes

08193625                               BTC[0], NFT (431225502259898388/Space Bums #2365)[1], USD[0.00]                                                                                                                                Yes

08193643                               CUSDT[6], DOGE[3], TRX[6], USD[0.00]                                                                                                                                                           Yes
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                                                                                                                                             Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08193648                              AAVE[0], AVAX[0], BTC[0], DOGE[0], ETH[0], ETHW[0], KSHIB[0], LINK[0], LTC[0], MATIC[0.00000005], MKR[0], MXN[0.00], NEAR[0], PAXG[0], SHIB[2025363.22559487], SOL[0], SUSHI[0], TRX[0],
                                      UNI[0], USD[0.00], YFI[0]
08193653                              CUSDT[2], DOGE[111.86806909], MATIC[12.05402415], USD[0.00]                                                                                                                                Yes

08193654                              BTC[.00107848], CUSDT[1], USD[0.00]                                                                                                                                                        Yes

08193655                              ETHW[1.7062489], USD[2.45]

08193659                              CUSDT[1], ETH[.055183], ETHW[.055183], NFT (310859486908730514/Nuts Cracker)[1], USD[0.00]

08193666                              BTC[.00045431], USD[2309.26], USDT[0]

08193669                              BTC[.00000081], DOGE[.00955385]                                                                                                                                                            Yes

08193670                              ETH[.999], ETHW[.999], USD[775.30]

08193672                              BTC[.00114703], CUSDT[3], DAI[20.30561298], DOGE[370.56608687], ETH[.01700135], ETHW[.01679435], MATIC[11.47472051], SHIB[2056757.28864893], SOL[.48533866], TRX[313.17156934],            Yes
                                      USD[0.00], USDT[25.40969785]
08193680                              ETH[.109], ETHW[.109], USD[0.00]

08193691                              CUSDT[1], TRX[1], USD[44.22]

08193694       Contingent, Disputed   ETHW[0]                                                                                                                                                                                    Yes

08193708                              CUSDT[4], USD[41.64]                                                                                                                                                                       Yes

08193717       Contingent, Disputed   SOL[2.317796], USD[0.01], USDT[3.6]

08193723                              AAVE[.01032949], ALGO[2.9456338], AVAX[.55515139], BAT[1], BRZ[4], ETH[.94204367], ETHW[.52511022], LINK[1.80736789], MATIC[17.33515188], MKR[.0143992], SHIB[21], SOL[5.54253084],        Yes
                                      SUSHI[.81588281], TRX[4], UNI[.11988245], USD[496.51]
08193728                              USD[250.00]

08193729                              BRZ[1], BTC[.00006087], USD[1.57]

08193737                              CUSDT[1], DOGE[1], SHIB[7566204.28751576], TRX[598.42069597], USD[0.01]

08193743                              CUSDT[.5625], USD[204.39], USDT[0]                                                                                                                                                         Yes

08193744                              USD[500.00]

08193751                              BTC[.00000007]                                                                                                                                                                             Yes

08193756                              CUSDT[1], DOGE[30.42940389], TRX[1], USD[0.00]                                                                                                                                             Yes

08193759                              BTC[.00035397], CUSDT[1], USD[0.00]                                                                                                                                                        Yes

08193769                              ETH[0], SOL[.00000001], USD[0.00]

08193773                              CUSDT[1], MATIC[9.86887409], USD[0.00]                                                                                                                                                     Yes

08193782                              AVAX[0], NFT (411800343461556948/APEFUEL by Almond Breeze #753)[1], SHIB[1], USD[0.00]                                                                                                     Yes

08193784                              USD[0.00]

08193795                              BTC[.00221866], CUSDT[4], SHIB[3], USD[0.00]                                                                                                                                               Yes

08193796                              BRZ[1], CUSDT[8], ETH[.00035957], ETHW[.00035957], NFT (506921184320155651/#5263)[1], NFT (519535337081388349/#6415)[1], NFT (572611612399856293/#5423)[1], SOL[.02233297], TRX[2],        Yes
                                      USD[0.07]
08193806                              BTC[0], ETH[0.00000001], PAXG[0], USD[0.00]

08193810                              CUSDT[2425.35555715], DAI[10.6983629], DOGE[78.78135898], SHIB[1677437.91496271], USD[21.04], USDT[31.80722210]                                                                            Yes

08193829                              SHIB[1343876.19120047], USD[0.00]

08193831                              CUSDT[1], SOL[0]

08193833       Contingent, Disputed   SOL[0.07854392], USD[3.12]

08193835                              NFT (291269942373420150/ALPHA:RONIN #605)[1], NFT (341346668048242153/MagicEden Vaults)[1], NFT (342865084355475632/sheep_498)[1], NFT (350573832219422844/Fancy Frenchies                 Yes
                                      #4661)[1], NFT (412310171334640411/Frog #7920)[1], NFT (413684387083057337/Kiddo #4066)[1], NFT (421768637095603035/#9609 Inverse Bear)[1], NFT (427095832342431569/Golden bone
                                      pass)[1], NFT (433798501556974954/Cyber Frogs Ramen)[1], NFT (437467716562889151/Cyber Pharmacist 8400)[1], NFT (470797474959059857/MagicEden Vaults)[1], NFT
                                      (491718537488832670/MagicEden Vaults)[1], NFT (502218394201564104/Exiled Alien #458)[1], NFT (522206082822711541/ALPHA:RONIN #530)[1], NFT (531017616297875748/Eitbit Ape #1644)[1],
                                      NFT (551051787559621620/MagicEden Vaults)[1], NFT (572002246196919528/MagicEden Vaults)[1], SOL[.37202116]
08193838       Contingent, Disputed   SHIB[100000], SUSHI[1.998], USD[0.99]

08193841                              USD[10.00]

08193850                              CUSDT[227.91389171]

08193852                              ETH[.04693607], ETHW[.04635225]                                                                                                                                                            Yes

08193855                              ETH[0], SOL[0], USD[0.00]

08193862                              DOGE[1], LINK[0], LTC[0], MATIC[0], SHIB[1], SOL[0], UNI[0], USD[0.01], USDT[0]                                                                                                            Yes

08193863                              ETH[0], KSHIB[0], SHIB[589324.88661]

08193869                              USD[5.40]

08193880       Contingent, Disputed   BTC[0], DOGE[0], SOL[0], USD[10.67]

08193882                              SOL[.00968], USD[100.48]

08193886                              BRZ[1], BTC[.01360911], DOGE[1], ETH[.17352701], ETHW[.17325999], SHIB[3316564.87585852], SOL[4.71855965], USD[0.85]                                                                       Yes

08193898                              NFT (510428839396844326/Cosmic Sounds)[1]

08193901       Contingent, Disputed   USD[2.38], USDT[545]

08193904                              SOL[.01]

08193916                              CUSDT[1], DOGE[1], SOL[.09904437], USD[0.00]                                                                                                                                               Yes

08193923                              USD[0.00]

08193939                              USD[350.00]

08193954                              DOGE[1], ETH[.02658262], ETHW[.02658262], USD[0.00]

08193963                              BRZ[1], CUSDT[1], DOGE[1], TRX[1], USD[0.00], USDT[1]

08193971                              AAVE[29.09641426], ALGO[3046.46670009], AVAX[14.66499362], BAT[1769.27763927], BRZ[2], BTC[.01097139], DOGE[4605.64103749], ETHW[84.09736625], GRT[4558.62377664],                         Yes
                                      LINK[343.74178525], MATIC[1509.47343143], MKR[.36242209], NEAR[167.62225029], SHIB[15], SOL[26.45191013], SUSHI[1.00043891], TRX[2], UNI[101.40028974], USD[0.00], YFI[.17377357]
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                                                                                                                                             Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08193979                              BTC[0], SHIB[1]                                                                                                                                                                       Yes

08193980                              BRZ[3], CUSDT[2], DOGE[1], TRX[3], USD[0.80]                                                                                                                                          Yes

08193985                              BTC[0], USD[0.00]                                                                                                                                                                     Yes

08193994                              NFT (306193989598108499/RAGED GOKU #7)[1], NFT (321968977050824115/RAGED GOKU #4)[1], NFT (356218693330783712/RAGED GOKU #3)[1], NFT (453148364878281496/RAGED                        Yes
                                      GOKU)[1], NFT (465598417082702655/RAGED GOKU #5)[1], NFT (507939765168705418/RAGED GOKU #2)[1], NFT (547652835712840847/PEACEFUL OCEAN)[1], NFT
                                      (570748659608844945/RAGED GOKU #6)[1], SHIB[456725.71344088], USD[0.00]
08193999                              BCH[.00000067], CUSDT[4], DOGE[526.87085431], ETH[.00000012], ETHW[.00000012], SHIB[3.49062285], USD[0.33]                                                                            Yes

08194000                              BTC[.00754567], ETH[.01858734], ETHW[.01858734], SOL[1], USD[1.85]

08194008                              SHIB[1100000], USD[3.80]

08194011       Contingent, Disputed   BTC[.0001], DOGE[28.97245], ETH[.001], ETHW[.001], LTC[.0299715], SHIB[199905], SOL[.019981], USD[0.47]

08194013                              BTC[.00438488], CUSDT[1], USD[0.00]

08194023                              USD[0.00]

08194026       Contingent, Disputed   SOL[.01086794]

08194029                              BTC[.00000001], ETHW[.25368213], SHIB[12], TRX[1], USD[0.00]                                                                                                                          Yes

08194032                              BTC[.00100476], DOGE[1], ETH[.08929327], ETHW[.08825424], SHIB[2], SOL[1.89430135], TRX[2], USD[0.00]                                                                                 Yes

08194050                              BTC[0], ETH[7.44639339], ETHW[29.34513703], SHIB[1], USD[5.81], USDT[0]                                                                                                               Yes

08194055                              DOGE[6], USD[0.00]

08194066                              USD[7.00]

08194067                              SOL[.00387]

08194084                              CUSDT[2], NFT (471452571163577689/Color change )[1], SOL[.33238762], TRX[1], USD[0.00]

08194086                              USD[0.46]

08194089                              USD[0.01], USDT[0]                                                                                                                                                                    Yes

08194090                              USD[0.01]                                                                                                                                                                             Yes

08194092                              SHIB[289537.09057213], USD[0.00]                                                                                                                                                      Yes

08194129                              CUSDT[4], ETH[0], USD[12.91]                                                                                                                                                          Yes

08194130                              USD[8.66]

08194140                              BTC[.00017498], USD[0.00]                                                                                                                                                             Yes

08194148                              BTC[.00017258], DOGE[33.08579263], EUR[9.40], GBP[8.00], MATIC[1.94569970], SOL[.04771168], USD[0.00]                                                                                 Yes

08194152       Contingent, Disputed   BTC[0], ETH[109.53356712], ETHW[109.53356712], USD[21.39]

08194154                              SOL[.13834047]

08194159                              CUSDT[1], MATIC[3.31921285], USD[0.00]                                                                                                                                                Yes

08194160                              NFT (289865667354732902/Ferris From Afar #899)[1], NFT (448227517005906453/FTX - Off The Grid Miami #724)[1], NFT (482742018948419022/Romeo #1121)[1], NFT
                                      (541527450000342393/Entrance Voucher #1646)[1], NFT (565673304931277952/Humpty Dumpty #1017)[1], USD[2.72], USDT[0]
08194162       Contingent, Disputed   USD[0.00]

08194172       Contingent, Disputed   SOL[16.02543], USD[0.42]

08194176       Contingent, Disputed   USD[0.01], USDT[0]

08194178                              MATIC[509.541], USD[5.50]

08194184                              BRZ[1], BTC[.06626665], CUSDT[3], DOGE[3], LINK[14.97924543], MATIC[106.99697521], SOL[7.59062122], USD[0.05]                                                                         Yes

08194186                              SOL[.38792592]

08194191                              USD[0.00]

08194193                              NFT (366730113478943936/Joe Theismann's Playbook: Washington vs. Miami Dolphins - January 30, 1983 #69)[1], NFT (453081188746132548/Joe Theismann's Playbook: Notre Dame vs. USC -    Yes
                                      November 30, 1968 #71)[1], NFT (460065129119502496/Joe Theismann's Playbook: Notre Dame vs. USC - November 30, 1968 #70)[1], NFT (532151556180820033/Joe Theismann's Playbook:
                                      Washington vs. Miami Dolphins - January 30, 1983 #70)[1], USD[0.00]
08194204       Contingent, Disputed   AAVE[.2], SOL[.21989], USD[1.72]

08194213                              MATIC[.00003591], USD[0.00], WBTC[.00050258]                                                                                                                                          Yes

08194215                              ETH[.00013917], ETHW[19.9042225], LINK[1.05734904], NFT (424946534674710821/ApexDucks #416)[1], SOL[.00042747], TRX[1], USD[1.05]                                                     Yes

08194236                              BTC[.00005092], CUSDT[12], DOGE[5.00009132], ETH[.00065868], ETHW[.0006557], NFT (418023807625451307/Coachella x FTX Weekend 1 #3746)[1], SOL[4.09744548], TRX[5], USD[36.43],        Yes
                                      USDT[2.15309254]
08194243                              USD[0.00]                                                                                                                                                                             Yes

08194254                              CUSDT[2], DOGE[.00550129], TRX[2], USD[0.01]

08194256                              BTC[.23787585], USD[0.01], USDT[0.00000001]                                                                                                                                           Yes

08194258                              SOL[5]

08194259                              ALGO[23], BTC[.0049955], USD[425.13]

08194264       Contingent, Disputed   USD[2000.00]

08194272       Contingent, Disputed   USD[0.00]

08194275                              TRX[1], USD[0.01], USDT[496.95534345]

08194278                              SOL[.5], USD[3.79]

08194283                              CUSDT[5], DOGE[1], ETH[.02234535], ETHW[.02207175], MATIC[23.67408865], NFT (295862109676850870/Fancy Frenchies #6431)[1], NFT (452996056641671004/Crypto Avatar Art #50)[1], SHIB[1], Yes
                                      SOL[.02427206], TRX[1], USD[0.39]
08194284                              ETH[.00342484], ETHW[.0033838], MATIC[72.76048195], NEAR[2.24574601], SHIB[819426.84157422], SOL[1.7020233], TRX[1], USD[38.33]                                                        Yes

08194286                              USD[0.00]                                                                                                                                                                             Yes

08194287                              DOGE[1], ETH[.11895158], ETHW[.11780222], USD[0.07]                                                                                                                                   Yes

08194292                              NFT (474084389905058122/Cosmic Sounds)[1]
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                                                                                                                                            Customer Claims                                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08194304                              DOGE[1], SOL[2.19383999], USD[0.00]

08194326       Contingent, Disputed   NFT (339902949869934188/#002 Helium)[1], NFT (428303133258733195/#008 Oxygen)[1], NFT (430572703631114300/#001 Hydrogen)[1], NFT (472087310799345667/#005 Boron)[1], NFT
                                      (474368684443525469/#009 Fluorine)[1], NFT (483680111913395276/#006 Carbon)[1], NFT (504858388267445009/#010 Neon)[1], NFT (522836146087300572/#004 Beryllium)[1], NFT
                                      (535942547913974226/#003 Lithium)[1], NFT (544142452235759993/#007 Nitrogen)[1]
08194332                              NFT (389973021949413119/Cosmic Sounds)[1]

08194336                              USD[0.64]

08194341                              BTC[.00362025], SHIB[1], USD[1990.72]                                                                                                                                          Yes

08194354                              NFT (485492916100417424/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #121)[1]

08194356       Contingent, Disputed   BTC[0.00001815]

08194358                              USD[0.00]

08194368                              LTC[.00541061], USD[0.00]

08194369                              ETH[0], KSHIB[2163.55282325], LTC[0], SHIB[0.00000323], SOL[0], USD[0.00], USDT[0.00003295]

08194370                              ETH[.03804518], ETHW[.03804518], SOL[2.36588169], USD[68.72]

08194372                              AVAX[0], BAT[1], BRZ[1], DOGE[1.38169064], ETH[0], ETHW[0], MATIC[0], SHIB[2], USD[0.00], USDT[0]                                                                              Yes

08194376                              BAT[1], BRZ[1], CUSDT[1], GRT[1], SHIB[1], TRX[4], USD[0.00]                                                                                                                   Yes

08194389                              AAVE[.03020776], ALGO[12.77878677], BAT[18.76150496], BRZ[4], BTC[.00359618], CUSDT[14], DOGE[1161.52717828], ETH[.4629353], ETHW[.46274072], GRT[212.96285235],               Yes
                                      MATIC[240.98035208], SHIB[5819804.21772903], SOL[6.14351389], SUSHI[57.78570353], TRX[314.71947406], UNI[9.3841619], USD[0.04]
08194390                              CUSDT[1], SOL[.08478939], USD[0.00]                                                                                                                                            Yes

08194399                              BTC[.00009852], DOGE[10.84819793], ETH[.0002216], ETHW[.0002216], USD[0.00], YFI[.00006755]                                                                                    Yes

08194402                              NFT (331352356050469156/Microphone #201)[1], SOL[.00000001], USD[0.00]

08194405                              BRZ[1], ETH[0]

08194409                              USD[10.00]

08194417       Contingent, Disputed   NFT (537832031124908051/Microphone #2610)[1]

08194419                              USD[539.17]                                                                                                                                                                    Yes

08194433                              CUSDT[1], TRX[1], USD[54.30]                                                                                                                                                   Yes

08194440                              ETH[.0002918], ETHW[0.00029180], USD[81.28]

08194446                              USD[54.20]

08194450                              BTC[.00070158], CUSDT[2], ETH[.00871333], ETHW[.00871333], MATIC[4.83518996], SHIB[230627.30627306], USD[0.00]

08194455                              USD[0.51]

08194463                              BTC[0], ETH[0.00001445], ETHW[0.00001445], SHIB[2], TRX[1], USD[0.00], USDT[0.00002044]                                                                                        Yes

08194467       Contingent, Disputed   BTC[.00001762], USD[0.00]                                                                                                                                                      Yes

08194478                              USD[9.70]

08194481                              BTC[.0000008], NFT (503681967585580309/FTX - Off The Grid Miami #482)[1], USD[1430.96], USDT[0.00000984]                                                                       Yes

08194483                              BTC[.07934208]

08194495                              SOL[2.81697031], USD[0.00]                                                                                                                                                     Yes

08194504                              BTC[0], ETH[0.00002965], ETHW[0], USD[0.00]                                                                                                                                    Yes

08194516                              DOGE[25.992], ETH[.015992], ETHW[.015992], SOL[.2997], USD[2.29]

08194519                              USD[431.33]                                                                                                                                                                    Yes

08194525       Contingent, Disputed   AAVE[.25963025], BAT[109.39294406], BTC[.03691109], DOGE[111.43037528], ETH[1.59409172], ETHW[1.59342221], MATIC[163.36897672]                                                 Yes

08194526                              AVAX[.00130264], BAT[1], BRZ[2], BTC[.00000033], DOGE[4], ETH[.00000738], ETHW[1.99857049], GRT[2], MATIC[.02897763], SHIB[756.97096585], TRX[5], USD[0.00]                    Yes

08194532                              DOGE[.9184], ETHW[17.46576787], KSHIB[8.83], MATIC[8.504], SOL[.00223], USD[32.40]

08194548                              DAI[19.99914004]

08194558       Contingent, Disputed   ETH[0], ETHW[0], LTC[0], USD[0.00]

08194561                              CUSDT[1], DOGE[1], ETHW[.07547939], SHIB[1], USD[0.00]                                                                                                                         Yes

08194562                              USD[0.01], USDT[1]

08194578                              USD[0.98]

08194580                              USD[0.33]                                                                                                                                                                      Yes

08194590                              LINK[400], MATIC[628.99202437], USD[0.00]

08194602                              USD[1538.36]                                                                                                                                                                   Yes

08194607                              CUSDT[2], DOGE[1], TRX[1], USD[0.85]

08194609                              SOL[.33956], USD[1.56]

08194632                              USD[21518.64]                                                                                                                                                                  Yes

08194638                              ETH[.07], ETHW[.07], NFT (518848813243005701/Beasts #959)[1], USD[27.58]

08194645                              ETH[.4301149], ETHW[.4301149], NFT (340963067084269656/Birthday Cake #1719)[1], NFT (406742612832907845/2974 Floyd Norman - OKC 2-0070)[1], NFT (553285419726383323/The 2974
                                      Collection #1719)[1], USD[4.86]
08194650       Contingent, Disputed   SOL[4.9074445], USD[2.39]

08194651                              DOGE[1]

08194652                              BTC[.00990101], DOGE[1], SHIB[1], USD[0.00]

08194668                              ETH[.09840887], ETHW[.09840887], TRX[1], USD[0.00]

08194679                              ETH[0], ETHW[0], EUR[0.00], USD[0.23]                                                                                                                                          Yes

08194680                              SHIB[1], USD[236.17]
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                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08194697                              CUSDT[1], USD[15.38]                                                                                                                                                                Yes

08194705                              USD[150.00]

08194725                              BRZ[4], DOGE[4], ETH[.00000231], ETHW[.24472761], MATIC[400.65664439], SHIB[38], SOL[11.22216654], TRX[9], USD[0.12]                                                                Yes

08194743                              NFT (441932863397472598/Little Rocks #668)[1], SOL[.03216488]                                                                                                                       Yes

08194758                              NFT (292945519160265640/Microphone #17477)[1], NFT (383030836005495086/Entrance Voucher #12980)[1], NFT (558604898067820092/Romeo #11086)[1]

08194763                              USD[0.00]

08194775                              CUSDT[1], MATIC[0], TRX[1], USD[0.00]                                                                                                                                               Yes

08194776                              CUSDT[3], USD[0.00]                                                                                                                                                                 Yes

08194777                              BTC[.0019], DOGE[4], ETH[.031], ETHW[.031], SOL[.14], USD[0.13], USDT[280.05]

08194780       Contingent, Disputed   NFT (428178156604061542/You Know How We Do)[1], USD[315.96]

08194784                              DOGE[1], SHIB[2], TRX[1], USD[0.00]                                                                                                                                                 Yes

08194785                              SHIB[84085.18092923], USD[6.73]

08194795                              SHIB[1], SOL[.00000001], USD[572.23]                                                                                                                                                Yes

08194797                              USD[3.00]

08194817                              CUSDT[1], ETH[.00108063], ETHW[.00108063], SHIB[113739.76342129], USD[0.00]

08194831                              CUSDT[4863.10947518], DOGE[518.18861638], MATIC[292.09990436], TRX[4], USD[0.06]                                                                                                    Yes

08194846                              LINK[0.00000489], MATIC[3.27898603], SHIB[6], TRX[2], USD[0.00]                                                                                                                     Yes

08194851                              SOL[8.77360174], USD[0.00]

08194858                              PAXG[.02416472], SHIB[3], USD[0.01]                                                                                                                                                 Yes

08194860                              BTC[.0003996], USD[0.87]

08194863                              BTC[0], CUSDT[2], DOGE[40.71381913], USD[0.00]                                                                                                                                      Yes

08194879                              BAT[0], CUSDT[1], DOGE[.00006549], MATIC[0], USD[7.11], USDT[0]                                                                                                                     Yes

08194902       Contingent, Disputed   ETH[.00817132], ETHW[.00817132], USD[0.00], USDT[0.00000985]

08194907       Contingent, Disputed   USDT[2]

08194930                              SOL[.35665744], TRX[1], USD[80.87]                                                                                                                                                  Yes

08194946                              BRZ[1], CUSDT[44], DOGE[5], ETHW[.10112312], GRT[.00716949], SHIB[12], TRX[4], USD[0.00]                                                                                            Yes

08194948       Contingent, Disputed   SHIB[43444.67543859], USD[0.00]

08194949                              USD[0.02]                                                                                                                                                                           Yes

08194950                              ETH[.00000001]

08194953                              DOGE[549.86850994], SHIB[2], SOL[.86504812], USD[0.00]

08194958                              BRZ[1], BTC[0.00001743], LINK[0], SHIB[0], SUSHI[0], USD[0.00], USDT[.00009528]                                                                                                     Yes

08194971                              ETH[.00000001], ETHW[0], USD[9.79]

08194983       Contingent, Disputed   USD[0.14]

08194985                              USD[0.01]                                                                                                                                                                           Yes

08194986                              BRZ[1], CUSDT[1], ETH[0.10375962], ETHW[0.10375962], TRX[1], USD[0.00]

08194987                              USD[10.48]                                                                                                                                                                          Yes

08194988                              CUSDT[4], DOGE[1], SOL[.00020509], TRX[1], USD[0.21]                                                                                                                                Yes

08194998                              ETH[.03931533], ETHW[.03931533], USD[0.00], USDT[1]

08195000                              BRZ[1], CHF[1919.94], CUSDT[1], DOGE[2], ETH[.05892844], ETHW[.058197], SHIB[1], TRX[1], USD[2384.70]                                                                               Yes

08195010                              LTC[7.91516], MATIC[499.68], SHIB[3396600], USD[21.77]

08195012       Contingent, Disputed   SOL[.01]

08195021                              CUSDT[2], USD[0.00]

08195027                              MATIC[1.46939905], USD[0.00], USDT[2.14411456]                                                                                                                                      Yes

08195047                              BAT[1], DOGE[8909.33858431], SHIB[101664385.36228359], TRX[2], USD[5992.70], USDT[1.01220158]                                                                                       Yes

08195056                              CUSDT[1], SHIB[4578754.57875457], USD[0.01]

08195058                              MATIC[4.94547689], USD[0.00]                                                                                                                                                        Yes

08195060                              BTC[0.00002262]

08195075                              AAVE[.10774568], CUSDT[8], LTC[.29462313], MATIC[20.84737693], NFT (444039582787264227/Solameleon #7042)[1], SOL[.62141585], SUSHI[3.53265359], USD[0.12]                           Yes

08195081                              AAVE[.10764121], BTC[.0031208], CUSDT[6], DOGE[1], LTC[.1301442], NFT (306325840287485267/Soloth #1895)[1], SOL[.25080277], SUSHI[3.53270731], USD[0.01]                            Yes

08195083                              DOGE[65.9]

08195086                              KSHIB[.00001873], SOL[.04], USD[0.00]

08195088                              BRZ[1], CUSDT[1], DOGE[2], NFT (300949018686686460/Cyber Frogs Ramen)[1], NFT (312494277034905755/Flunk Donkey #1759)[1], NFT (322203460535174026/Cyber Pharmacist 3077)[1], NFT     Yes
                                      (407871384838142455/Frog #8345)[1], NFT (428339945582668987/Golden bone pass)[1], NFT (464185643885436556/Fancy Frenchies #3465)[1], NFT (539797801128049670/SharkBro #8944)[1], NFT
                                      (561482226126793743/Oink 908)[1], SOL[.24600248], TRX[1], USD[0.00]
08195111                              USD[2.49]                                                                                                                                                                            Yes

08195118                              CUSDT[2], MATIC[19.69177402], SOL[.17306709], USD[0.25]

08195124                              USD[1.16]                                                                                                                                                                           Yes

08195129                              USD[50.01]

08195141                              BAT[.00000914], DOGE[1], ETH[0.00000187], ETHW[0.00000187], SOL[2.23331054], USD[0.00], USDT[0.00000066]                                                                            Yes
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08195142                              ETH[.00000074], ETHW[0.00000072], NFT (323429913126640763/The 2974 Collection #2217)[1], NFT (423474456136253353/Birthday Cake #2217)[1], NFT (462709247051884101/The Hill by FTX
                                      #8132)[1], NFT (501639178072201961/Junkmail#347)[1], NFT (534242292093563907/2974 Floyd Norman - OKC 3-0037)[1], NFT (537217075444374679/FTX Crypto Cup 2022 Key #759)[1], USD[9.63]

08195154                              CUSDT[1], SOL[.14302942], USD[0.00]                                                                                                                                                    Yes

08195167                              CUSDT[3], DOGE[157.6614225], SHIB[4390162.02707749], TRX[1], USD[0.00]                                                                                                                 Yes

08195178                              USD[1.75]

08195183                              BRZ[1], CUSDT[1], TRX[1], USD[0.93]                                                                                                                                                    Yes

08195184                              LINK[15.46548897], LTC[5.21645712], MATIC[215.32491723]                                                                                                                                Yes

08195188                              AVAX[0], BTC[0], DOGE[0], KSHIB[0], LINK[0], NFT (307199119303124117/Lucid Varahamihira)[1], NFT (324012777393088806/Mint your own Gopnik!)[1], SOL[0], USD[0.01], USDT[0]             Yes

08195191                              BTC[0.00001909], ETH[.00007741], NFT (341881071099344491/Coachella x FTX Weekend 2 #1563)[1], NFT (410608108502454373/Coachella x FTX Weekend 1 #21200)[1], USD[0.00], USDT[0]         Yes

08195192                              DOGE[23], ETH[.001], ETHW[.001], SOL[1.76], USD[2.17]

08195214                              USD[0.00]

08195229                              BTC[0], LINK[.99905], SOL[50], USD[0.00]

08195230                              USD[21.57]                                                                                                                                                                             Yes

08195241                              CUSDT[1], SHIB[1000291.9081041], USD[0.00]                                                                                                                                             Yes

08195244                              KSHIB[263.80261444], SHIB[28155.91922888], USD[0.00]                                                                                                                                   Yes

08195247                              BTC[.09322712], SOL[10.26805117], USD[1.85]                                                                                                                                            Yes

08195249                              CUSDT[2], USD[0.00]                                                                                                                                                                    Yes

08195250                              BF_POINT[400]

08195251                              USD[0.00], USDT[0]

08195252                              BTC[.00000001], DOGE[1], USD[0.00]                                                                                                                                                     Yes

08195256                              CUSDT[1], NFT (443791736094118526/Cool Bean #789)[1], SOL[.22473914], USD[0.69]                                                                                                        Yes

08195263                              BTC[0], LINK[0], SOL[0], USD[0.00]

08195277                              ETH[.05367736], ETHW[.0530091], MATIC[26.91431531], SHIB[5], SOL[.74551648], USD[0.67]                                                                                                 Yes

08195284       Contingent, Disputed   NFT (345376149711528640/Wonky Stonk #7876)[1], NFT (370945774044996150/Wonky Stonk #1681)[1]

08195301       Contingent, Disputed   SOL[.14], USD[0.33]

08195302       Contingent, Disputed   NFT (304384064428822100/The Pigsels #278)[1], NFT (304961701481159624/The Pigsels #343)[1], NFT (336007422310730770/Invitation: Royal Bears)[1], NFT (484312396794031317/The Pigsels
                                      #142)[1], NFT (516523735803191651/The Pigsels #6)[1]
08195305                              BTC[.00008772]                                                                                                                                                                         Yes

08195315                              TRX[1], USD[63.66]

08195334                              CUSDT[2], ETH[.00000005], ETHW[.00000005], USD[0.01]                                                                                                                                   Yes

08195358                              DOGE[2], USD[0.00], USDT[0.00000407]                                                                                                                                                   Yes

08195370                              BTC[.00001238]

08195378                              ETH[0], ETHW[0], MATIC[0]

08195392       Contingent, Disputed   USD[1.02]

08195393       Contingent, Disputed   BRZ[1], BTC[.00003397], CUSDT[4], DOGE[1], TRX[1], USD[46.37]

08195398                              DAI[0], NFT (481784684001705557/FTX - Off The Grid Miami #2187)[1], SOL[0], USD[0.98]                                                                                                  Yes

08195415                              ETH[.0043054], ETHW[.00425068], USD[5.39]                                                                                                                                              Yes

08195438                              BTC[.00008596], CUSDT[1], DOGE[3.34338239], MKR[.00327698], SOL[.02164956], USD[0.00]

08195462       Contingent, Disputed   NFT (322652527105278413/Entrance Voucher #4519)[1], NFT (526859259482682840/FTX - Off The Grid Miami #2228)[1], NFT (538769967686958758/Romeo #1940)[1], NFT
                                      (545099403616732752/Good Boy #16877)[1], NFT (573651106550957012/Microphone #9359)[1]
08195464                              CUSDT[4], DOGE[2], NFT (298720892541218998/Mech #746)[1], NFT (321571753574580880/2623)[1], NFT (328792667677196990/#2435)[1], NFT (333611774947139694/2795)[1], NFT                   Yes
                                      (334059546321255500/#3021)[1], NFT (388049623620020325/Rogue Circuits #4252)[1], NFT (446261015311212887/3D CATPUNK #6365)[1], NFT (448175970715605208/Sigma Shark #2883)[1],
                                      SOL[.15852006], USD[0.00]
08195467       Contingent, Disputed   CUSDT[5], NFT (558523379590451324/Kiddo #2048)[1], SOL[.00000019], USD[0.01]                                                                                                           Yes

08195484                              BTC[.00095049], CUSDT[6], ETH[.01101162], ETHW[.01087482], TRX[2], USD[0.95]                                                                                                           Yes

08195495                              USD[6.01]

08195506                              USD[1.41]

08195524       Contingent, Disputed   BTC[.01027082], USD[9100.00]

08195556                              SOL[.05]

08195564                              KSHIB[0], SHIB[0], SOL[0], USD[5206.46]                                                                                                                                                Yes

08195585                              PAXG[.10708274], USD[0.00], USDT[0]

08195602                              USD[20.00]

08195625                              BTC[.00175096], CUSDT[1], USD[0.00]

08195633                              NFT (414152473069661945/Zombie #1193)[1]

08195634       Contingent, Disputed   MATIC[20], USD[255.23]

08195646       Contingent, Disputed   BTC[0.00000531], USD[0.00]

08195650                              BTC[.00004968], CUSDT[3], TRX[1], USD[0.02]                                                                                                                                            Yes

08195656                              USD[50.01]

08195675                              BAT[469.58143459], BRZ[1], CUSDT[2], DOGE[1], NFT (301005823436285810/Sigma Shark #767)[1], NFT (301230373308357247/Earl Campbell's Playbook: Texas vs. Houston - November 5th, 1977   Yes
                                      #120)[1], NFT (551275923985344882/Eitbit Ape #6909)[1], SOL[3.99795724], USD[0.76]
08195686                              SOL[.08697144], USD[0.00]

08195687                              DOGE[0], ETH[.00000027], ETHW[0.00000026], MATIC[0], SHIB[30.10622112], USD[0.00], USDT[0]                                                                                             Yes
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                                                                                                                                             Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08195695                              USD[0.01], USDT[0.00419206]

08195710                              CUSDT[1], DOGE[1], ETH[0.00149166], ETHW[0.00147798], USD[0.00]                                                                                                                        Yes

08195721                              USD[0.02], USDT[0.02385591]

08195742                              BAT[1.00779268], BTC[.0460642], CUSDT[1], DOGE[6813.27007097], ETH[.40353074], ETHW[.4033614], TRX[1], USD[0.00]                                                                       Yes

08195770                              BTC[.00090604], CUSDT[3], ETH[.00842873], ETHW[.00831921], SHIB[1], SOL[.56665948], TRX[1], USD[0.00]                                                                                  Yes

08195772                              BRZ[1], SHIB[2], TRX[1], USD[0.01]

08195773                              CUSDT[1], MATIC[9.73623037], USD[0.00]

08195774                              USDT[33]

08195785                              USDT[30]

08195788                              CUSDT[1], USD[0.00]

08195805                              FTX_EQUITY[0], USD[21.29]

08195815       Contingent, Disputed   TRX[0], USD[0.00], USDT[0]                                                                                                                                                             Yes

08195818                              TRX[211.5500853], USD[0.00]

08195830                              USD[40.01]

08195834                              USD[0.43]

08195842                              ETH[.23684991], ETHW[.23684991], USD[0.00]

08195848                              KSHIB[46.60194898], USD[0.00]                                                                                                                                                          Yes

08195855                              CUSDT[5], USD[75.61], USDT[0.95360900]

08195863                              USD[0.27]

08195894                              DOGE[18], LTC[.11301101], SHIB[99900], TRX[51], USD[12.49]

08195903                              BRZ[2], CUSDT[7], DOGE[1], TRX[2], USD[0.01]                                                                                                                                           Yes

08195907                              USD[3.89]

08195914                              CUSDT[2], DOGE[2534.4387102], NFT (384242954436255195/ApexDucks #7768)[1], NFT (549477905618926641/ApexDucks #6342)[1], SOL[.39440981], TRX[1], USD[0.06], USDT[0.00001821]            Yes

08195915                              MATIC[30], USD[22.40]

08195926                              BTC[0], USD[29.95]

08195930                              USD[100.00]

08195936                              USD[107.82]                                                                                                                                                                            Yes

08195953                              USD[0.00]                                                                                                                                                                              Yes

08195961                              SUSHI[1.02667826], USD[0.00]                                                                                                                                                           Yes

08195962                              DOGE[1], MATIC[35.54582501], TRX[1], USD[0.02]                                                                                                                                         Yes

08195970       Contingent, Disputed   NFT (431778264443048064/Landscape series)[1], USD[49.76], USDT[198.20000000]

08195981                              USD[4.53]

08195995                              USD[5.47]

08196002       Contingent, Disputed   MATIC[500], USD[7.12]

08196005                              USD[0.00]

08196013                              SHIB[4123131.03776034], USD[0.00]                                                                                                                                                      Yes

08196048                              BTC[.00020537], CUSDT[4], MATIC[90.50724854], TRX[1], USD[0.00]

08196049                              SOL[.04225435], USD[0.08]                                                                                                                                                              Yes

08196055                              ETH[0], ETHW[0.01402184], LTC[0], NFT (290345676594835609/SolBunnies #4181)[1], NFT (304255254541729903/The Hill by FTX #1449)[1], NFT (311714179924800007/Solninjas #8756)[1], NFT
                                      (317346532556386586/Sigma Shark #1676)[1], NFT (324482798225042264/Solninjas #4413)[1], NFT (395924923875947774/Sigma Shark #3431)[1], NFT (396961556981284860/Sollemur #3684)[1],
                                      NFT (413585952725715436/SolTeeth #629)[1], NFT (417469888913100880/SolBunnies #959)[1], NFT (417850539744786544/SolBunnies #2734)[1], NFT (436302394171211235/Sigma Shark #2012)[1],
                                      NFT (453123144017359227/Sigma Shark #200)[1], NFT (457223338446424443/SolBunnies #3880)[1], NFT (457375120908974727/Solninjas #2971)[1], NFT (461314194138010576/SolBunnies
                                      #858)[1], NFT (463612132274832453/SolBunnies #1503)[1], NFT (466890673391210580/Sigma Shark #961)[1], NFT (470297974294568093/Sigma Shark #1896)[1], NFT (472594173529816742/Sigma
                                      Shark #4303)[1], NFT (476558706535120687/SolBunnies #4018)[1], NFT (496881415862286747/SolBunnies #975)[1], NFT (497425712655476533/SolBunnies #742)[1], NFT
                                      (510163299540693987/Sigma Shark #1179)[1], NFT (510357826812540746/Sigma Shark #2699)[1], NFT (511979129161579685/Sigma Shark #2845)[1], NFT (522581763969366402/SolBunnies
                                      #1592)[1], NFT (528024248161577455/Posh Dolphs #1011)[1], NFT (536945934616271275/SolBunnies #3360)[1], NFT (542434346023305530/Sigma Shark #2055)[1], NFT
                                      (564825585663316590/Sigma Shark #4368)[1], NFT (567744464851399244/Bitcoin Fractal Genesis5)[1], NFT (575829784965287887/SolBunnies #3293)[1], SOL[0.35080099]

08196070                              CUSDT[7], ETH[.01645772], ETHW[.01625252], GRT[5.13226777], SHIB[328280.59027347], SOL[.41692227], SUSHI[1.18219525], UNI[1.09020066], USD[0.52], USDT[16.07822542]                    Yes

08196082                              SOL[0], USD[0.87]

08196085                              SOL[.00000001], USD[0.00]

08196087                              CUSDT[1], USD[0.01], USDT[57.58237185]

08196093       Contingent, Disputed   BTC[.03545722]

08196096                              NFT (493142600500344701/Aku World: Dream #164)[1]

08196098                              USD[0.00]

08196104                              BTC[0], DOGE[1.64740827], ETH[0], ETHW[0], GRT[0], KSHIB[0], MATIC[0], SHIB[0], SOL[0], TRX[0], USD[0.00]                                                                              Yes

08196133                              DAI[2.12345333], DOGE[2], TRX[1], USDT[10.50000002]

08196136       Contingent, Disputed   NFT (308807819247574510/Gadam Film Series )[1], NFT (367650508552108567/Gadam Film Series #4)[1], NFT (504281769201999399/Gadam Film Series #2)[1], NFT
                                      (504303565455338860/Gadam Film Series #3)[1], NFT (505196967061491444/GADAM ART)[1]
08196143                              BAT[8.98972806], CUSDT[787.12073524], DAI[18.11119167], MATIC[44.80973873], TRX[354.23431618], UNI[1.10865574], USD[0.20], USDT[15.99721501]                                           Yes

08196162                              CUSDT[4], LTC[.15395977], USD[0.00]                                                                                                                                                    Yes

08196164                              SUSHI[1.51196322], USD[0.00]                                                                                                                                                           Yes

08196168                              USDT[.642239]
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                                                                                                                                            Customer Claims                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08196172                              BTC[.08111028], ETH[.73492319], ETHW[.73492319], USD[0.00]

08196173                              UNI[0], USD[0.83], YFI[0]

08196177                              SHIB[6950275.09541672]                                                                                                                                       Yes

08196206                              USD[0.00], USDT[0]                                                                                                                                           Yes

08196229                              BRZ[1], BTC[.00392348], ETH[.04679164], ETHW[.04679164], SOL[1.43965032], TRX[1], USD[0.01]

08196232                              USD[10.00]

08196246                              BTC[.00014663], ETH[0], ETHW[0], NFT (294604535629830455/chocolate wuv)[1], USD[0.00], USDT[0]                                                               Yes

08196253       Contingent, Disputed   USD[0.00]

08196272                              DOGE[46.43542629], USD[0.80]

08196276                              SHIB[26668.32363826], USD[0.00]                                                                                                                              Yes

08196277                              BTC[.00377329], CUSDT[1], ETH[.07794623], SHIB[1], USD[0.00]                                                                                                 Yes

08196280                              CUSDT[1], ETH[.00000015], ETHW[.00000015], TRX[1], USD[0.00]                                                                                                 Yes

08196290                              BTC[.0000981], SOL[.169012], USD[3.78]

08196291                              BRZ[1], BTC[.00869009], USD[0.00]

08196295                              SOL[.41560694], TRX[1], USD[70.00]

08196299                              USD[0.00]

08196303                              BTC[.02374682], CUSDT[1], SHIB[1], TRX[1], USD[0.00]                                                                                                         Yes

08196309                              SHIB[1], TRX[1], USD[0.02], USDT[.80077911]

08196311                              BTC[.00015509]

08196313       Contingent, Disputed   DOGE[782.217], ETH[0.34872500], ETHW[0.34872500], TRX[2], USD[0.00]

08196329                              BTC[.02391942], GRT[1], USD[0.00]

08196331                              BRZ[2], BTC[.0077], CUSDT[12], DOGE[1], ETH[.18415071], ETHW[.18415071], SHIB[3], TRX[1], USD[0.00]

08196335       Contingent, Disputed   SHIB[2797200], SOL[3.996], USD[1.28]

08196357                              USD[53.00]

08196376                              DAI[10.70473007], DOGE[9.71840002], GRT[3.37864231], MATIC[2.52207158], TRX[1], USD[0.00]                                                                    Yes

08196378                              CUSDT[1], SHIB[1728110.59907834], USD[25.00]

08196387                              BTC[.00000267]                                                                                                                                               Yes

08196398                              CUSDT[1], DOGE[11.17295178], MATIC[12.99991268], SHIB[46992.41731738], SOL[.97531524], USD[0.00]                                                             Yes

08196408                              USD[10.00]

08196417       Contingent, Disputed   USD[0.89]

08196418                              NFT (367576128020727512/FTX - Off The Grid Miami #7072)[1]

08196433                              BTC[0], SOL[0], USD[0.00]

08196443                              SHIB[2198385], SOL[4.8442525], USD[186.41]

08196445                              DOGE[9.09158386], SHIB[2267228.59551900], SOL[0], TRX[0.04689968], USD[0.00]

08196456                              BTC[0.02068535], SOL[0], USD[1.34]

08196460                              USD[533.68]                                                                                                                                                  Yes

08196468                              USD[9.45]                                                                                                                                                    Yes

08196469                              DOGE[1], SHIB[1], TRX[1], USD[0.33]                                                                                                                          Yes

08196479       Contingent, Disputed   USD[0.00]

08196487                              BTC[.01996736], DOGE[1], USD[0.00]                                                                                                                           Yes

08196495                              CUSDT[1], SHIB[253748.55824682], USD[0.00]

08196499                              BTC[0], CUSDT[.00003913], DOGE[1], ETH[0], SHIB[1], TRX[1], USD[0.00]

08196507                              USD[7.01]

08196534                              AAVE[.00693], AVAX[.0033], DOGE[.215], ETH[.000337], ETHW[.000492], GRT[.355], LINK[.0085], MATIC[.56], NEAR[.0368], SOL[.00910999], SUSHI[.41], USD[5.44]

08196537                              BRZ[1], CUSDT[6], DOGE[184.46128858], MATIC[33.83947], SHIB[4], SOL[11.06109129], USD[8.00]

08196542       Contingent, Disputed   USD[2.86]

08196548                              BAT[3789.41715214], MATIC[1369.17468963]                                                                                                                     Yes

08196553                              SHIB[1], USD[0.01]

08196564                              ETH[0], USD[0.00]

08196569                              USD[10.00]

08196570                              CUSDT[1], SOL[.24341228], USD[0.00]

08196587                              DOGE[4], ETHW[.26036475], MATIC[.49847999], SHIB[3], SOL[.00098517], TRX[3], USD[388.58]

08196589                              USD[5.00]

08196593       Contingent, Disputed   BTC[.00037373]                                                                                                                                               Yes

08196596       Contingent, Disputed   SHIB[11188800], USD[6.08]

08196614                              USD[2.66], USDT[0.00000091]                                                                                                                                  Yes

08196621                              DOGE[22071.15632206], MATIC[381.72347062], SOL[20.61650616], TRX[2], USD[0.00]                                                                               Yes

08196627                              NFT (367151545579622475/Aku World: Dream #21)[1]
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                                                                                                                                             Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or         Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08196630      Contingent, Disputed     USD[0.00]

08196639                               USDT[0]

08196645                               BTC[.00017638], USD[0.00]

08196653                               SOL[677.12252522], USD[0.00]

08196661                               USD[0.37]

08196662                               DOGE[2], SHIB[16330520.74650684], TRX[2], USD[0.00]

08196670                               BTC[.00048265], ETH[.04379936], ETHW[.04379936], SHIB[5], USD[1.25]

08196678                               SHIB[2], USD[0.00]

08196700        Contingent, Disputed   SOL[.87912], USD[0.00], USDT[1.33005722]

08196702                               AVAX[8.79127442], BRZ[1], BTC[.00406291], CUSDT[4], DOGE[2971.1098086], GRT[1441.0778798], LINK[1.54699203], MATIC[117.41395022], MKR[.13373253], NEAR[15.8880403], SHIB[17],          Yes
                                       SOL[4.54053896], SUSHI[36.17902432], TRX[2], UNI[1.70124473], USD[0.46], YFI[.00422028]
08196708                               BTC[.00038365], CUSDT[1], DOGE[1], ETH[.00218556], ETHW[.00218556], USD[0.00]

08196723                               CUSDT[1], DOGE[1], SHIB[25484199.7961264], SOL[5.66827963], TRX[1], USD[0.00]

08196724                               ETH[0], ETHW[0], SOL[0], USD[24.00]

08196733                               USD[20.00]

08196741                               ETH[0], ETHW[0], NFT (292413245639800329/Gangster Gorillas #8500)[1], NFT (294032120666243509/Astral Apes #2488)[1], NFT (298809280185335112/DOTB #887)[1], NFT                        Yes
                                       (307036915348351560/Joylina's Cantina S1 #1583)[1], NFT (310634692626017932/Scoop #85)[1], NFT (315970244092871651/Boneworld #3186)[1], NFT (319396487744014543/Divine Soldier
                                       #6351)[1], NFT (322612856494138272/Cyber Samurai Tensei Ceremony Announcement)[1], NFT (341151353802162372/GalaxyKoalas # 56)[1], NFT (341810053176618848/3D CATPUNK #1905)[1],
                                       NFT (365089432953864597/DOTB #2568)[1], NFT (385041585868630941/3D CATPUNK #4570)[1], NFT (396803004494897766/SolDad #3495)[1], NFT (414699755896796286/ApexDucks #562)[1],
                                       NFT (431138240005633548/Eitbit Ape #7706)[1], NFT (432301280449057133/#3246)[1], NFT (432815661824851952/Astral Apes #1077)[1], NFT (437563057265552041/ApexDucks #854)[1], NFT
                                       (439178856579800979/Gangster Gorillas #5822)[1], NFT (472000322027084863/Fancy Frenchies #8272)[1], NFT (472848157451437740/Fancy Frenchies #7807)[1], NFT
                                       (490393360254206120/Boneworld #2630)[1], NFT (492814620324861944/SharkBro #4630)[1], NFT (493482643446838662/Monk #3373)[1], NFT (494962023087678748/SOLYETIS #1816)[1], NFT
                                       (499443208759156397/3D CATPUNK #3738)[1], NFT (515384340830861983/Oink 1943)[1], NFT (525245716299398547/DOTB #3416)[1], NFT (538254610784419385/3D CATPUNK #6315)[1], NFT
                                       (548621771398857746/Divine Soldier #3514)[1], NFT (558495783159771581/Sigma Shark #1245)[1], NFT (568032248602136932/3D SOLDIER #1026)[1], NFT (574374354257561825/Ghoulie
                                       #5138)[1], SHIB[406184.51690838], SOL[0], USD[0.00], USDT[0]
08196746                               BCH[0], CUSDT[2], DOGE[1], ETH[.00223879], ETHW[.00223879], SHIB[1], TRX[2], USD[0.00]

08196748                               CUSDT[451.34521183], KSHIB[231.02312518], USD[0.00]

08196749                               ETH[.0001965], ETHW[0.00019650]

08196756                               NFT (313003628666109369/Humpty Dumpty #733)[1]

08196779                               SOL[3.85660831], USD[0.00]

08196787                               BTC[.01047504], CUSDT[2], DOGE[1], MATIC[186.14257932], TRX[1], USD[0.00]

08196805                               ALGO[313.686], BTC[.0184815], LINK[29.97], SHIB[1998000], USD[3740.86], USDT[0.00000001]

08196815                               LTC[2.41276859], TRX[1], USD[0.01]

08196823        Contingent, Disputed   SOL[.0008816], USD[0.00]

08196833                               CUSDT[2], USD[532.33]                                                                                                                                                                  Yes

08196846                               LTC[.17468468], SHIB[3], USD[0.00]                                                                                                                                                     Yes

08196849                               CUSDT[1], USD[0.02]

08196850                               DOGE[.00003538], USD[8.29]                                                                                                                                                             Yes

08196859                               ALGO[306.23736116], BAT[1], BRZ[4], BTC[.3415543], CUSDT[12], DOGE[4445.60538826], ETH[1.7797428], ETHW[1.77900355], GRT[1], NFT (575863610393100045/Hippo #4173)[1],                  Yes
                                       SHIB[38234768.91693753], TRX[3328.94556772], USD[0.00]
08196866                               CUSDT[2], SOL[1.00115133], TRX[1], USD[0.00], USDT[0.00010181]

08196877                               ETH[.0049], ETHW[.0049], NFT (313863424275852372/Dream of a boy #2)[1], NFT (538523654529960430/Dream of a boy)[1]

08196880                               USD[0.07]

08196888        Contingent, Disputed   USD[0.00]

08196899                               CUSDT[1], DOGE[203.51210221], USD[0.00]                                                                                                                                                Yes

08196918                               ETH[.0051668], ETHW[0.00509840]                                                                                                                                                        Yes

08196926                               SOL[.33], USD[0.79]

08196931                               DOGE[22.97400259], USD[0.00]                                                                                                                                                           Yes

08196937                               USD[19.21]

08196951                               CUSDT[3], DOGE[4], SHIB[7], TRX[2], USD[11.51]                                                                                                                                         Yes

08196956        Contingent, Disputed   SOL[.04850292], USD[15.01]

08196967                               USD[0.00]

08196969                               USD[20.00]

08196974        Contingent, Disputed   BRZ[1], CUSDT[3], DOGE[3], ETH[0], NFT (488786090180135834/Skull Ape Art #3)[1], NFT (499185452546787656/Joe Theismann's Playbook: New York Giants vs. Washington - October 20, 1974   Yes
                                       #50)[1], SHIB[1], TRX[2], USD[0.01], USDT[0]
08196998                               BRZ[12.09140749], DOGE[11.99489007], SHIB[86618.67386041], USD[3.23]                                                                                                                   Yes

08196999                               USD[29.80], USDT[0]

08197006                               USD[100.00]

08197028        Contingent, Disputed   USD[500.01]

08197031                               NFT (430360171823003800/Aku World Avatar #24)[1]

08197036                               BTC[0], ETH[0.00991627], ETHW[0.00991627], NFT (311645953894865929/Earl Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #123)[1], NFT (504383724165586824/Earl
                                       Campbell's Playbook: LA Rams vs Houston Oilers - September 4th, 1978 #120)[1], SOL[0], USD[0.00]
08197039                               NFT (541838955381252295/Aku World: Dream #90)[1]

08197048                               NFT (349384002078177325/Aku World Avatar #23)[1]
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                                                                                                                                            Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08197052                              AAVE[.0000162], AVAX[.04234205], BTC[.00012081], DOGE[44.72687876], ETH[.0011197], ETHW[.00110602], GRT[12.78288397], LTC[.03778444], SHIB[11582.11721102], SOL[.05370734],               Yes
                                      TRX[8.58873941], USD[0.00]
08197059                              ETH[0], ETHW[0], USD[0.00]

08197067                              USD[50.01]

08197071                              BTC[0.00024266], CUSDT[1], ETH[0], SHIB[3], USD[0.00]                                                                                                                                     Yes

08197072                              NFT (435355907059569238/Coachella x FTX Weekend 1 #27350)[1]

08197073       Contingent, Disputed   NFT (548835176480451025/Aku World: Dream #104)[1]

08197078                              NFT (336023703682189757/Aku World: Dream #3)[1]

08197079                              USD[1.00]

08197084                              NFT (557257064631759562/Aku World: Dream #4)[1]

08197086                              DOGE[1], SOL[7.26609102], SUSHI[8.85036993], TRX[27.46935032], USD[0.13]                                                                                                                  Yes

08197091                              BAT[0], DOGE[.6515], LTC[0], USD[0.03], USDT[0.00000065]

08197092                              SOL[.07972829]

08197098                              NFT (548912294134474722/Aku World: Dream #5)[1]

08197104       Contingent, Disputed   USD[0.00]                                                                                                                                                                                 Yes

08197105                              KSHIB[93.64376553], USD[1.08]                                                                                                                                                             Yes

08197122                              NFT (494000937416553319/Aku World Avatar #26)[1]

08197125       Contingent, Disputed   USD[0.00]

08197126       Contingent, Disputed   CUSDT[1], USD[0.00], USDT[21.43548063]                                                                                                                                                    Yes

08197130       Contingent, Disputed   NFT (311587343409552332/Kah-Lo Aku World Avatar)[1], NFT (440837761468341746/Jerome LaMaar Aku World Avatar)[1], NFT (507812858315532491/Aleali May Aku World Avatar)[1], NFT
                                      (575311611938254689/Aku World: Dream #294)[1]
08197137                              USD[0.73]

08197144                              USD[5.79]

08197147       Contingent, Disputed   ETH[.00199805], ETHW[.00199805], NFT (303375958559090706/The Bright One)[1], NFT (306357545697185577/Warrior of Sunlight)[1], NFT (331408714484606530/The Flowering Man)[1], NFT
                                      (372604688384643031/Reach Spiral )[1], NFT (378465671745558033/The Lonely Harpy)[1], NFT (399204079893654795/What Lies Below the Ego #4)[1], NFT (408845353354746825/What Lies Below
                                      the Ego #5)[1], NFT (441418791790954891/Seeker of the Eldritch Truth)[1], NFT (451783567077974053/Light Refraction)[1], NFT (452779040088745818/What Lies Below the Ego)[1], NFT
                                      (467874792657676351/What Lies Below the Ego #2)[1], NFT (497341146820727947/The Malice of Icarus)[1], NFT (500265279644661894/The Forgotten Ranger)[1], NFT (502976599087351438/Malog's
                                      Fury)[1], NFT (514541494967229821/Mankind's Mess)[1], NFT (539609698120481124/Resident of Aza's Dream)[1], NFT (541416281280208347/What Lies Below the Ego #3)[1], NFT
                                      (550171326225976317/Sif's Freedom)[1], NFT (553802398631529189/Corrupted Hands of Humanity)[1], NFT (556446107858024683/Spilling Digital Consciousness)[1], NFT
                                      (568662771297707329/Fractured Reality)[1], SOL[.0073025]
08197150                              NFT (361265825373818090/Aku World Avatar #139)[1], NFT (389566558193659263/Aku World: Dream #22)[1], NFT (473881419866567245/Aku World Avatar #22)[1], NFT (573242838001295777/Aku
                                      World Avatar #48)[1]
08197161                              BTC[.01354814], USD[14.00]

08197162       Contingent, Disputed   SOL[.00000001]

08197164                              USD[0.16]

08197167                              DOGE[1], ETHW[.94030646], SHIB[4], SOL[2.29219208], USD[97.64]                                                                                                                            Yes

08197175                              USD[1643.93]

08197177                              NFT (297163613167246892/Aku World Avatar #25)[1]

08197181                              USD[0.00]

08197186                              ETH[0], USD[0.01]

08197187                              BTC[.00000001], CUSDT[2], USD[56.01]                                                                                                                                                      Yes

08197189                              CUSDT[1], USD[0.00]

08197193                              BTC[.02204933], DOGE[3], ETH[.45035364], ETHW[.45016047], NFT (543917582887425179/NFT BZL 2021 #342)[1], TRX[2], USD[4.19]                                                                Yes

08197195                              NFT (501085041751158306/Aku World: Miami)[1]

08197222                              USD[0.01]                                                                                                                                                                                 Yes

08197230                              USDT[1.9970568]

08197233                              SHIB[1], USD[0.00]                                                                                                                                                                        Yes

08197236       Contingent, Disputed   BTC[0], USD[0.00], USDT[0]

08197244                              ETHW[.6976156], MATIC[259.23677817], SOL[2], USD[311.12]

08197247                              AAVE[1.32867], AVAX[28.3702], BTC[.0095], ETH[1.677927], ETHW[.000121], MATIC[298.88], SOL[16.61005], USD[8.39]

08197250       Contingent, Disputed   ETH[.022977], ETHW[.022977], SOL[3.76823], USD[2.68]

08197263                              BRZ[1], CUSDT[2], DOGE[5], SHIB[54111743.99729193], SOL[.00018159], TRX[4], USD[0.00]                                                                                                     Yes

08197271                              USD[23.69]

08197277                              BRZ[1], CUSDT[8], USD[0.00]                                                                                                                                                               Yes

08197278                              ETHW[0], NFT (364563938927233320/Bud Light N3XT 4454)[1], NFT (412232503039915787/CHEERS, by JASON NAYLOR)[1], USD[0.59], USDT[0.00000001]

08197279                              USD[10.00]

08197287                              BCH[.00000168], SHIB[2], USD[57.84]                                                                                                                                                       Yes

08197291                              CUSDT[2], TRX[1], USD[0.00]

08197294                              USD[0.00], USDT[0.02174491]

08197302                              BTC[0.00071810], LTC[0], SHIB[1], SOL[0], USD[0.01]                                                                                                                                       Yes

08197305                              NFT (360773896200174752/Aku World: Miami #2)[1]

08197310                              AVAX[9.9994225], SHIB[24844859.88839589], SOL[12.999995]

08197318                              SHIB[10211.80099502], USD[0.00]                                                                                                                                                           Yes
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                                                                                                                                             Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08197319                              BTC[0], DOGE[.00000001], ETH[0], ETHW[0], NFT (380116259020693930/Reflector #95)[1], NFT (504122882382566326/Cosmic Creations #85)[1], NFT (507287234889608808/Night Light #187)[1],
                                      NFT (520294307591212220/Vintage Sahara #754)[1], NFT (523996513382959488/Spectra #829)[1], SOL[0], USD[16.72], USDT[0]
08197321                              USD[0.24]

08197322                              SOL[.1]

08197323                              NFT (337471185294892705/MagicEden Vaults)[1], NFT (351929343465338037/Samoyed #2239)[1], NFT (359087714544709518/MagicEden Vaults)[1], NFT (364953191522029762/MagicEden
                                      Vaults)[1], NFT (392246119237616159/Samoyed #1032)[1], NFT (412294063078779164/MagicEden Vaults)[1], NFT (443015257312349842/MagicEden Vaults)[1], NFT (499164104818374016/Samoyed
                                      #3589)[1], NFT (502210477051251871/Samoyed #5176)[1]
08197336                              NFT (397853381208091844/Aku World Avatar #33)[1]

08197344                              USD[0.00]

08197347                              ETH[.00000001], USD[0.00]

08197348                              USD[20.00]

08197363                              SHIB[1], TRX[1], USD[0.00]

08197364                              ETH[.11351058], ETHW[.11351058], USD[0.00]

08197369                              NFT (462371554784905706/Heavenly water#017)[1], USD[0.01]                                                                                                                                Yes

08197370                              USD[0.01]                                                                                                                                                                                Yes

08197382                              BTC[0.00000118], DOGE[.982], KSHIB[9.7], SOL[.00851], USD[0.00]

08197385                              USD[1459.46]

08197406       Contingent, Disputed   USD[0.01]                                                                                                                                                                                Yes

08197408                              DOGE[1], ETHW[1.56938872], GRT[531.58677637], LINK[2.00308114], NEAR[10.6396355], SHIB[1], SOL[.00000001], TRX[1], USD[0.00]                                                             Yes

08197413                              USD[11.95]

08197419                              USD[0.64]

08197420                              BRZ[1], BTC[.00169981], CUSDT[1], DOGE[382.84950185], ETH[.09239854], ETHW[.09134954], SHIB[6], SOL[6.19496029], TRX[2], USD[52.14]                                                      Yes

08197423                              USD[0.01]

08197425                              CUSDT[3], ETH[.00747861], ETHW[.00738285], EUR[0.00], USD[0.00]                                                                                                                          Yes

08197431                              DOGE[43.5042781], SHIB[1], TRX[1], USD[0.00]                                                                                                                                             Yes

08197432                              CUSDT[1], LTC[.10349081], USD[0.00]                                                                                                                                                      Yes

08197436                              USD[5.00]

08197439                              NFT (446612563090233283/Gang-Cube#3)[1], NFT (496903999841010324/Portrait Easy #7)[1], USD[1.44]                                                                                         Yes

08197441                              NFT (406978000612534797/Monocle #69)[1]

08197447                              CUSDT[1], ETH[.00473451], ETHW[.00467979], USD[0.00]                                                                                                                                     Yes

08197449                              CUSDT[3], DOGE[15.43508623], USD[0.00], USDT[0.00002838]                                                                                                                                 Yes

08197454                              SOL[1.79168069], USD[100.03]

08197464                              NFT (327536188199281048/FTX - Off The Grid Miami #3233)[1], NFT (408694570390647629/Bahrain Ticket Stub #1674)[1], NFT (464379812197895890/FTX - Off The Grid Miami #3264)[1], SOL[1],
                                      USD[32.83]
08197471                              BTC[0], CUSDT[5], ETH[0], LTC[0], SOL[0], TRX[1], USD[0.00]                                                                                                                              Yes

08197479                              BTC[.10771206], USD[3.58]

08197498                              USD[0.76]

08197502                              NFT (382614869203481378/Aku World: Dream #125)[1]

08197511                              NFT (446832300081096689/Aku World Avatar #11)[1]

08197516                              SHIB[1], SOL[5.29756623], USD[0.00]

08197517                              ETH[0], NFT (489405620196822706/FTX - Off The Grid Miami #862)[1], USD[0.00]                                                                                                             Yes

08197531                              NFT (390022035144201677/Coachella x FTX Weekend 1 #268)[1]

08197538                              USD[0.00]

08197549                              BRZ[1], DOGE[2], MATIC[0], NFT (550805501762181024/PumpfkinStatues #98)[1], SHIB[4], SOL[0.00000002], TRX[1], USD[0.00]                                                                  Yes

08197560                              BTC[0.00017159], CUSDT[8], TRX[1.00428162], USD[0.00]                                                                                                                                    Yes

08197561                              BTC[.00033651], CUSDT[61.70855912], ETH[.0033804], ETHW[.1417775], USD[2.57]                                                                                                             Yes

08197569                              NFT (302143940118344247/Juliet #610)[1], NFT (366110242411701323/Humpty Dumpty #1673)[1]

08197576                              BCH[0], BRZ[2], BTC[0], CUSDT[5.00497679], ETH[0.00005572], ETHW[0.00005572], LINK[0], SHIB[9734389.72220151], TRX[1], USD[0.00], USDT[0], YFI[0]                                        Yes

08197591                              NFT (412240410019672091/Aku World: Dream #183)[1]

08197592                              BTC[.0000793], SOL[1.59209], USD[80.32]

08197602                              SHIB[769019.78330063], USD[0.00]                                                                                                                                                         Yes

08197606                              NFT (438080718152311021/Aku World: Dream #198)[1]

08197618                              CUSDT[3], SOL[.20959718], USD[0.00]

08197625                              CUSDT[1.5], USD[0.00], USDT[0]                                                                                                                                                           Yes

08197647                              NFT (476447348806600203/Aku World: Dream #6)[1]

08197649                              BF_POINT[100], BTC[0], DAI[0], ETHW[0], LTC[2.94197723], SOL[0], USD[0.00]                                                                                                               Yes

08197651                              NFT (304976526388044438/Aku World Avatar #36)[1]

08197659       Contingent, Disputed   NFT (347944858425067879/Wonky Stonk #374)[1]

08197660                              NFT (366444150899301481/Aku World Avatar #3)[1]

08197663                              USD[0.01]

08197665                              BAT[1], MATIC[349.77848824], NFT (321976272065671698/Aku World: Dream #7)[1], USD[0.02]                                                                                                  Yes
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                                                                                                                                             Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08197666                              USD[44.14]

08197677                              USD[10.00]

08197681                              NFT (522341346326495602/Aku World Avatar #2)[1]

08197689                              DOGE[1], SOL[0], USD[0.00]                                                                                                                                                          Yes

08197697                              BTC[0.02580029], MATIC[1397.37100001], SOL[.806942], USD[1.98]

08197703       Contingent, Disputed   USD[0.00]

08197704                              USD[10.78]                                                                                                                                                                          Yes

08197705                              BRZ[1], CUSDT[5], DOGE[357.1201561], ETH[.65363306], ETHW[.65336797], NFT (300104071026577701/ApexDucks #1681)[1], NFT (319707952628266878/ApexDucks #3806)[1], NFT                 Yes
                                      (383889228848511782/ApexDucks #6140)[1], NFT (472555583024414187/ApexDucks #6029)[1], SOL[8.23706753], TRX[1], USD[-149.51]
08197708                              CUSDT[1], DOGE[1], SOL[8.33444808], USD[0.00]                                                                                                                                       Yes

08197721                              CUSDT[2], DOGE[2857.23113447], USD[0.00]

08197724                              NFT (463439845081127664/Aku World Avatar #35)[1]

08197731                              BRZ[1], CUSDT[2], SHIB[1], TRX[1], USD[0.00]                                                                                                                                        Yes

08197735                              BTC[.0034792], ETH[.05350951], ETHW[.05350951], USD[55.10]

08197740                              BRZ[1], SOL[.34018491], USD[0.02]                                                                                                                                                   Yes

08197741                              SOL[.04202885], USD[11.00]

08197766                              NFT (368381785055582382/Entrance Voucher #4537)[1], NFT (369103898079614111/Good Boy #10978)[1], NFT (470115942569495798/Good Boy #163)[1], NFT (542370074186603603/Humpty
                                      Dumpty #154)[1]
08197768                              CUSDT[1], DOGE[1], TRX[1], USD[0.01]

08197796       Contingent, Disputed   BTC[.0017592], SOL[.41389444], USD[500.01]

08197799                              BCH[0], CUSDT[0], USD[0.00], USDT[0.00018246]

08197802                              BTC[.0000879], ETH[.000949], ETHW[.000949], LINK[.0618], SHIB[88700], SOL[.00644], SUSHI[.227], USD[0.35]

08197804       Contingent, Disputed   USD[0.00]

08197808                              BTC[.00416768], USD[0.18]                                                                                                                                                           Yes

08197811                              ETH[.034865], ETHW[.034865], MATIC[149.8], SOL[2.03], TRX[10], USD[13.24]

08197813                              BAT[1], DOGE[1], ETHW[2.3532222], SHIB[1], USD[0.00]                                                                                                                                Yes

08197820                              CUSDT[1], LINK[1.07442494], USD[0.00]                                                                                                                                               Yes

08197836                              BTC[.022]

08197837       Contingent, Disputed   BTC[0], DOGE[3], USD[4181.84]

08197838       Contingent, Disputed   SOL[0], USDT[.8986779]

08197845                              BAT[2], BRZ[3], DOGE[.65998797], ETH[0], GRT[2], LINK[1.0214943], MATIC[2.19388686], SHIB[13192.05137671], SUSHI[1.02074241], TRX[3.000042], USD[0.00], USDT[0.00220000]            Yes

08197862                              BAT[1], BRZ[1], BTC[.00000172], CUSDT[18], DOGE[14.45313438], ETH[.03001507], ETHW[1.52024903], GRT[1], LINK[9.43522824], MATIC[97.74722164], SHIB[24], SOL[3.95155017], TRX[13],   Yes
                                      USD[0.00], USDT[1.00039271]
08197874                              USD[10.00]

08197875                              NFT (451410302535113556/Aku World: Dream #9)[1]

08197885                              BTC[.0881], USD[2.26]

08197899                              BTC[0], MATIC[0], USD[0.02], USDT[0.00000469], WBTC[0.00066106]

08197900                              DOGE[1], SOL[.42299036], USD[0.00]

08197907                              TRX[1], USD[0.00]

08197912       Contingent, Disputed   ETH[.999], ETHW[.999], USD[508.00]

08197915       Contingent, Disputed   ETH[0]

08197929       Contingent, Disputed   BTC[.0097902], USD[3.14]

08197930                              BAT[.00006792], SHIB[.00262937], USD[0.14], USDT[0.00507499]                                                                                                                        Yes

08197931                              TRX[1], USD[0.00]

08197948                              NFT (382323904997802510/BlockChain Owl🦉)[1], NFT (473054892938445815/BlockChain OWL)[1], SOL[.03742542], USDT[0.00000080]

08197954                              DOGE[2], ETHW[.63763209], SHIB[2], SOL[6.72866368], TRX[3], USD[0.00]                                                                                                               Yes

08197957                              BTC[.00890838]

08197961                              CUSDT[1], DOGE[.00009137], KSHIB[.00008911], SHIB[.00012654], TRX[1.00187125], USD[0.01], USDT[0.00000006]                                                                          Yes

08197966                              USD[0.93]

08197971                              BRZ[2], CUSDT[3], DOGE[1], TRX[1], USD[0.00]

08197975                              SOL[4.48290938], USD[0.02]

08197994                              SOL[0.00000001], USD[0.00]                                                                                                                                                          Yes

08197997                              USD[20.00]

08198005                              NFT (416030363049742977/FTX - Off The Grid Miami #6357)[1]                                                                                                                          Yes

08198020                              BTC[0], DOGE[.02120657], ETH[.00000001], ETHW[0], LINK[0], SOL[0], USD[0.00], USDT[0]

08198032                              SOL[0], USD[0.00]

08198038                              CUSDT[3], USD[0.00]                                                                                                                                                                 Yes

08198044                              CUSDT[1], USD[0.00]

08198045                              USD[35.00]

08198048                              CUSDT[2], DOGE[66.95933273], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08198058                              AVAX[2.72998053], NFT (396492151874859450/Eitbit Ape #5434)[1], USD[0.00], USDT[0]                                                                                                       Yes

08198062                              BRZ[1], SOL[.82660643], USD[0.01]

08198068       Contingent, Disputed   USD[8.65]

08198077       Contingent, Disputed   BTC[0], ETH[0], USD[0.00]

08198082                              BTC[.0000857], ETH[.000729], ETHW[.147867], USD[0.00]

08198086                              SOL[.02395]

08198108                              SHIB[1], SOL[.00002443], USD[0.00]                                                                                                                                                       Yes

08198116                              USD[194.72]                                                                                                                                                                              Yes

08198120                              BAT[1], DOGE[1], SHIB[3], USD[1218.60], USDT[0]

08198126                              USD[2.86], USDT[2.2]

08198130                              SOL[3.23110368], USD[2586.56]                                                                                                                                                            Yes

08198141                              USD[0.42]                                                                                                                                                                                Yes

08198147                              NFT (329191734417493742/Aku World: Dream #11)[1]

08198157                              SOL[.55803615], USD[100.01]

08198166                              CUSDT[3], DOGE[0], SHIB[1], USD[0.00]                                                                                                                                                    Yes

08198171                              DOGE[0], ETH[0.00065640], ETHW[0.00065346], SOL[0], USD[0.00]                                                                                                                            Yes

08198188                              NFT (319783918021388552/Aku World: Miami #7)[1], NFT (465843349775690913/Aku World Avatar #6)[1], NFT (537802284013666648/Aku World Avatar #7)[1], USD[5.00]

08198194                              USD[10631.27]                                                                                                                                                                            Yes

08198199                              BRZ[1], CUSDT[3], DOGE[1.35272401], USD[0.63]                                                                                                                                            Yes

08198208                              DOGE[4.73287285], ETH[.00095178], ETHW[.0009381], USD[0.00]                                                                                                                              Yes

08198232                              USD[0.00]

08198233                              BTC[.02226183], CUSDT[8], DOGE[1], ETH[.00004701], ETHW[.00004701], SHIB[3], TRX[1], USD[0.00]                                                                                           Yes

08198235                              DOGE[1], ETHW[.75077475], GRT[1], SHIB[1], TRX[1], USD[616.86]                                                                                                                           Yes

08198259                              BRZ[0], BTC[0], CUSDT[0], DOGE[0], GRT[0], NFT (293984909159501170/Сrypto Warrior #6)[1], NFT (352617154540635059/Black.Nerd.Marble)[1], NFT (431907057191377233/BB Red #5)[1], NFT      Yes
                                      (493389317790460831/Сrypto Warrior #11)[1], NFT (497565963327241367/Travel sprouts collection #6)[1], NFT (551169129117554287/Cryptographic zombie #42)[1], NFT
                                      (573274342157980719/Travel sprouts collection #4)[1], SOL[0], TRX[0], USD[0.00]
08198260                              CUSDT[1], MATIC[6.90421937], USD[10.78]                                                                                                                                                  Yes

08198263       Contingent, Disputed   DOGE[0], USD[0.00], USDT[0]                                                                                                                                                              Yes

08198264                              ETH[.00947798], ETHW[.00935486]                                                                                                                                                          Yes

08198267                              CUSDT[2], DOGE[1452.28973317], KSHIB[2104.84169719], SHIB[1], USD[0.65]                                                                                                                  Yes

08198294                              SOL[26.04405818]                                                                                                                                                                         Yes

08198296                              AVAX[.0999], ETH[.348651], ETHW[4.343687], NEAR[.069], USD[1.41], USDT[1.2847616]

08198299                              NFT (508981434620625352/Eitbit Ape #1716)[1], SOL[.17590503], USD[0.00]                                                                                                                  Yes

08198302                              NFT (399547707044467090/Aku World Avatar #49)[1]

08198303                              NFT (560660321589039362/Aku World: Dream #49)[1]

08198307                              USD[10.00]

08198308       Contingent, Disputed   AAVE[.14985], SOL[.71928], USD[0.94]

08198309       Contingent, Disputed   ETH[0], NFT (307605212218593155/StarAtlas Anniversary)[1], NFT (342818323313280889/StarAtlas Anniversary)[1], NFT (348674394128839054/Fox #1425)[1], NFT (394822740792363865/StarAtlas
                                      Anniversary)[1], NFT (395259155311067271/StarAtlas Anniversary)[1], NFT (414581842766296575/Fox #1133)[1], NFT (489615301307813991/Famous Fox Crystal)[1], NFT
                                      (494963598254139513/StarAtlas Anniversary)[1], NFT (509983501185997720/StarAtlas Anniversary)[1], NFT (526476822260247518/StarAtlas Anniversary)[1], NFT (541479079317755512/StarAtlas
                                      Anniversary)[1], NFT (551040882483366964/Fox Flame)[1], NFT (566575963914819327/Famous Fox Crystal)[1], SOL[.294], USDT[0.00001697]
08198316                              BTC[.00620033], CUSDT[3], ETH[.02647704], ETHW[.02614872], SOL[1.19818325], USD[0.00]                                                                                                    Yes

08198322                              NFT (361871151973945977/Aku World: Dream #13)[1]

08198336                              USD[0.02]

08198345                              NFT (409002800757359125/Aku World Avatar #50)[1]

08198346                              CUSDT[1], SOL[1.39274684], USD[0.00]

08198349                              NFT (419917341714216761/Aku World Avatar #55)[1]

08198355                              NFT (320275119928774081/Aku World Avatar #57)[1]

08198361                              MATIC[2], SHIB[1], SUSHI[1], TRX[1], USD[29851.11], USDT[1]

08198362                              NFT (387008078068343998/Aku World Avatar #43)[1]

08198370                              NFT (497931338121653936/Aku World Avatar #66)[1]

08198378                              USD[0.06]                                                                                                                                                                                Yes

08198382                              BTC[.00295959], DOGE[3], MKR[.00000009], SHIB[8], SUSHI[.00040797], TRX[2.00242986], USD[0.00]                                                                                           Yes

08198391                              CUSDT[0], DOGE[0], LINK[0], USD[0.00]                                                                                                                                                    Yes

08198393                              AVAX[.1], ETH[.011988], ETHW[.011988], SOL[1.19659981], USD[0.37]

08198403                              CUSDT[1], ETH[.06759402], ETHW[.06675549], NFT (412730297192657474/Aku World: Dream #15)[1], SOL[1.09534059], TRX[1], USD[0.00]                                                          Yes

08198404                              NFT (325381495489725974/Aku World: Dream #14)[1]

08198422                              BTC[0], USDT[0.00000206]

08198429                              BRZ[.00207536], CUSDT[2144.14487465], DOGE[1], USD[0.39], USDT[0.00000001]                                                                                                               Yes

08198435                              UNI[1.21408505], USD[0.00], USDT[0]                                                                                                                                                      Yes

08198440                              ALGO[908], MATIC[.28111584], USD[0.09]
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08198447                              NFT (531562718103934004/Aku World: Dream #17)[1]

08198454                              ETH[.00000001], ETHW[0]

08198455                              USD[0.00]

08198460                              USD[0.00], USDT[.0140665]

08198466                              NFT (553440927116821976/Aku World Avatar #41)[1]

08198482                              SOL[.00017748], USD[0.60], USDT[1.02543197]                                                                                                                                          Yes

08198493                              NFT (552114759801253048/Aku World: Dream #16)[1]

08198504       Contingent, Disputed   NFT (540501414193153293/Fancy Frenchies #4706)[1]

08198508                              BAT[1], BRZ[2], BTC[.00490336], CUSDT[3], DOGE[3], ETH[.16719722], ETHW[.16685081], GRT[1], MATIC[265.9261218], SHIB[1], SOL[6.92976569], SUSHI[146.26071952], TRX[4], USD[14.90],   Yes
                                      USDT[1.04878721]
08198512                              BTC[.02075404], ETH[.13085471], ETHW[.13085471], LINK[.00000004], SOL[.00000036], USD[0.00]

08198517                              NFT (421515875898974962/FTX - Off The Grid Miami #6671)[1]

08198519                              ETH[.26197161], ETHW[.26177802], SHIB[1], USD[0.00]                                                                                                                                  Yes

08198520                              NFT (448711561527500968/Aku World: Dream #12)[1], NFT (575709867746093350/Aku World Avatar #40)[1]

08198528                              BTC[.00001], ETH[.0001], ETHW[.0001], SOL[10.03885], USD[2.55], USDT[.00051139]

08198530                              BTC[0], DAI[0], ETH[0], ETHW[0], SHIB[2], SOL[0], USD[0.00]                                                                                                                          Yes

08198534                              BTC[.16809614], ETH[2.25547034], ETHW[2.25452305]                                                                                                                                    Yes

08198542                              USD[0.00], USDT[0]

08198544                              CUSDT[11], DOGE[.50195455], TRX[9.25366631], USD[0.19], USDT[0.00004546]                                                                                                             Yes

08198549                              BRZ[2], CUSDT[8], DOGE[2], USD[0.01]                                                                                                                                                 Yes

08198553                              BRZ[53.85732236], CUSDT[227.67260591], DAI[4.94384455], GRT[5.4537755], KSHIB[116.31304399], TRX[.0000286], USD[10.06]

08198579                              SOL[.13958098], USD[0.00]                                                                                                                                                            Yes

08198587                              DOGE[1], ETH[0.00000001], ETHW[0], MATIC[0.01376981], SHIB[0], SOL[0], TRX[2], USD[0.04], USDT[1.07132333]                                                                           Yes

08198594                              SOL[26.84182345]

08198598                              NFT (296434936435674068/Aku World: Dream #18)[1]

08198606                              NFT (385029751113696688/Jeu Retro #7)[1], NFT (391996980690511511/Jeu Retro #3)[1], NFT (434883621219179364/Jeu Retro #2)[1], NFT (473578112662145760/Jeu Retro #5)[1], NFT
                                      (511629671742787883/Jeu Retro #6)[1], NFT (514366384941009625/Jeu Retro #4)[1], NFT (542456871165658243/Jeu Retro )[1], USD[0.00]
08198607                              NFT (307364242805994748/Aku World Avatar #60)[1]

08198612                              AVAX[0], BTC[0], ETH[0], MATIC[0], SHIB[0], USD[0.00], USDT[0.00000001]

08198616                              ETH[0.00197430], ETHW[0.00194694], SHIB[44152.52517566], USD[0.01], USDT[0]                                                                                                          Yes

08198618                              BRZ[2], DOGE[1], SHIB[8968861.77144805], SOL[.23658636], TRX[3], USD[0.00]                                                                                                           Yes

08198619                              NFT (548237534069025816/Aku World Avatar #61)[1]

08198626                              NFT (288812964418142570/Fancy Frenchies #6087)[1], NFT (292142112732690933/Solana Islands #622)[1], NFT (293277124865711979/Fancy Frenchies #1031)[1], NFT (302585991997356609/Fancy Yes
                                      Frenchies #2780)[1], NFT (305961182656722888/Roamer #606)[1], NFT (308037866031425179/Fancy Frenchies #8347)[1], NFT (338388631588136657/Roamer #124)[1], NFT
                                      (351466860775528799/Fancy Frenchies #5876)[1], NFT (357606479963163306/Roamer #316)[1], NFT (366462134606157565/Fancy Frenchies #1455)[1], NFT (367820708910833872/Roamer #334)[1],
                                      NFT (369032543430836401/Fancy Frenchies #9478)[1], NFT (372330600004683300/Fancy Frenchies #8886)[1], NFT (380339922600729610/Roamer #205)[1], NFT (384218723577822688/Ravager
                                      #1574)[1], NFT (388724738145343009/Fancy Frenchies #4441)[1], NFT (389429502240450401/Fancy Frenchies #7937)[1], NFT (389957237640543343/Fox #7083)[1], NFT
                                      (395135752460296343/Roamer #222)[1], NFT (396208237171972128/Fancy Frenchies #3889)[1], NFT (396640913712608892/Roamer #74)[1], NFT (404543191251289325/Sollyfish #4705)[1], NFT
                                      (407648633213462138/Fancy Frenchies #8671)[1], NFT (413135071738530239/Fancy Frenchies #7879)[1], NFT (417534588205105172/Fancy Frenchies #2661)[1], NFT (423507372622448116/Fancy
                                      Frenchies #1736)[1], NFT (425904830108705273/Fancy Frenchies #127)[1], NFT (427127353210939720/Famous Fox Crystal)[1], NFT (438645202807776466/Fancy Frenchies #3884)[1], NFT
                                      (439154454863004540/Fancy Frenchies #2488)[1], NFT (440431779808616168/Fancy Frenchies #6353)[1], NFT (442225499099372059/Fancy Frenchies #5600)[1], NFT (445649914485412326/Fancy
                                      Frenchies #1094)[1], NFT (452366035513060444/Fancy Frenchies #6432)[1], NFT (453917716652014393/Sollyfish #4890)[1], NFT (457730640360811007/Fancy Frenchies #9731)[1], NFT
                                      (460610429465427137/Roamer #76)[1], NFT (462032407894447835/Fancy Frenchies #6435)[1], NFT (462705778156773469/Fancy Frenchies #5909)[1], NFT (467761692125529174/Roamer #269)[1],
                                      NFT (478795767216875909/MagicEden Vaults)[1], NFT (487935032323548844/Fancy Frenchies #7317)[1], NFT (494923539241398526/MagicEden Vaults)[1], NFT (500698148499689356/MagicEden
                                      Vaults)[1], NFT (501975486424120350/Fancy Frenchies #8576)[1], NFT (502816972447923909/Fancy Frenchies #2569)[1], NFT (511308774171453129/Fancy Frenchies #1501)[1], NFT
                                      (511893570163821086/Roamer #155)[1], NFT (516229956316474045/Fancy Frenchies #2713)[1], NFT (517994053588240096/Fancy Frenchies #4020)[1], NFT (518570731353093993/MagicEden
                                      Vaults)[1], NFT (533513154491086828/Fancy Frenchies #9333)[1], NFT (534102345256046054/Fancy Frenchies #1381)[1], NFT (536005302426930938/Fancy Frenchies #3215)[1], NFT
                                      (544448401434403004/SharkBro #2642)[1], NFT (550975131586302052/Fancy Frenchies #8358)[1], NFT (563306437116518129/Fancy Frenchies #2652)[1], NFT (564918605690113482/MagicEden
                                      Vaults)[1], NFT (575842692631773175/Ravager #677)[1], SOL[.01764943], TRX[1], USD[0.00]

08198627                              BTC[0], ETH[0], SUSHI[0], UNI[0], USDT[0.00013298]

08198628                              BF_POINT[200], UNI[1.56610813]                                                                                                                                                       Yes

08198632                              NFT (383294540334310583/Coachella x FTX Weekend 2 #19789)[1]

08198636                              BTC[.00009292], CUSDT[1], DOGE[26.62364469], ETH[.00126662], ETHW[.00125294], SHIB[133436.44871767], USD[0.00]                                                                       Yes

08198639                              CUSDT[3], DOGE[2], SHIB[2558167.99699398], USD[0.00]

08198656                              USD[0.00]

08198658                              AUD[0.00], BAT[0], BCH[0], BTC[0], DAI[0], DOGE[0], ETH[0], GRT[0], LINK[0], LTC[0], MATIC[0], PAXG[0], SOL[0], TRX[0], USD[0.00], USDT[0.00000013], YFI[0]                          Yes

08198679                              CUSDT[1], SHIB[1], SOL[0], USD[0.00]                                                                                                                                                 Yes

08198687                              DOGE[63.1573565], USD[0.00]                                                                                                                                                          Yes

08198704       Contingent, Disputed   USD[0.47]

08198709                              USD[1.53]

08198710                              BAT[1], BRZ[1], DOGE[3], USD[0.00]

08198716                              USD[50.01]

08198725                              BAT[1], CUSDT[1], USD[0.00]

08198736                              BTC[.00012101], CUSDT[2], DOGE[1], ETH[.00236235], ETHW[.00233499], SHIB[125500.22424336], USD[7.79], USDT[10.76031752]                                                              Yes

08198746                              CUSDT[1], KSHIB[4587.25275854], USD[0.00]                                                                                                                                            Yes
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                                                                                                                                             Customer Claims                                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08198747                              ETH[0], USD[4.28], USDT[0]

08198752                              USD[0.00], USDT[0]

08198755                              CUSDT[1], USD[0.00], USDT[107.17935893]                                                                                                                                                      Yes

08198758                              CUSDT[1], USD[0.00]

08198763                              BTC[0], ETH[0], USD[0.00], USDT[0.00001687]

08198765                              CUSDT[.00219503], DOGE[1], ETH[.31731544], USD[0.00]                                                                                                                                         Yes

08198766                              BTC[.0048951], USD[3.03]

08198770                              DOGE[1], TRX[1], USD[0.00]                                                                                                                                                                   Yes

08198774                              CUSDT[45.10460519], DOGE[2], ETH[.00024633], ETHW[.00024633], SHIB[618477.53599631], SOL[1.02813511], USD[0.41]                                                                              Yes

08198776                              BTC[.00233461], NFT (420705655129265332/Contemporary #18)[1], NFT (447213397245905168/Contemporary #14)[1], NFT (503456660223486156/Cathedral on the Water)[1], USD[0.00]

08198779                              NFT (482115675136503049/Aku World: Dream #19)[1]

08198780                              CUSDT[5], DOGE[1], ETH[.09893892], ETHW[.09893892], SHIB[2], TRX[1], USD[0.00], USDT[0.00004701]

08198782                              SOL[6.77272859], TRX[1], USD[0.00]

08198783       Contingent, Disputed   USD[49.00]

08198785                              USD[17.74]

08198787                              SOL[1.998], USD[60.81]

08198796                              ETH[.00658044], ETHW[.00649836], USD[0.00]                                                                                                                                                   Yes

08198798                              SOL[.10781283]                                                                                                                                                                               Yes

08198818                              BCH[.01210903], MATIC[4.47644788], SOL[.09580332], USD[0.01], USDT[3.20075816]                                                                                                               Yes

08198823                              AAVE[.559496], BTC[.02429577], DOGE[42.9613], MATIC[349.685], SOL[5.964627], USD[4.32]

08198830       Contingent, Disputed   TRX[.0469095], USD[2.02], USDT[472.87055859]

08198834       Contingent, Disputed   USD[0.00]

08198840                              BAT[2], BRZ[4], CUSDT[4], DOGE[2], GRT[6.00215661], NFT (291660173687941779/Evil Deeds)[1], NFT (302682169068946389/Metaverse Monument #1)[1], NFT (309052071061502187/Astral Apes
                                      #2154)[1], NFT (312150656744112427/Metaverse Monument #2)[1], NFT (324154230384856594/#2272)[1], NFT (341346768798022404/#2726)[1], NFT (343966510132348983/#4357)[1], NFT
                                      (353655575735175406/AI-generated portrait #15)[1], NFT (356804893233504940/Pins and Needles)[1], NFT (367152196589785471/Feline Beauty)[1], NFT (369087944191518172/Enjoying the Rain)[1],
                                      NFT (377233381922764144/Crypto Avatar Art #44)[1], NFT (415500544956935030/Chicker Bird)[1], NFT (436188989656316930/DRIP NFT)[1], NFT (492259529595794976/Treasure Woman)[1], NFT
                                      (493255066147815167/Codart #10)[1], NFT (509141948255614215/#2879)[1], NFT (533981270022754308/2D SOLDIER #3334)[1], NFT (534225506543698703/Ethereum Power)[1], NFT
                                      (548641018250241576/Magical Leaves)[1], NFT (575409164798129970/Indian Tribe Bird)[1], SHIB[1], SUSHI[1], TRX[13], UNI[1], USD[0.00], USDT[6]
08198843       Contingent, Disputed   ETH[.02455794], ETHW[.02455794], USD[0.04]

08198844                              CUSDT[4], KSHIB[.00000898], TRX[.00002639], USD[0.01]

08198852                              CUSDT[7], SHIB[3], TRX[1], USD[26.91]

08198862                              USDT[.82795]

08198867                              NFT (505156466583929869/Aku World Avatar #56)[1]

08198884                              SOL[.00036483], USD[0.00]

08198889                              NFT (304721489766945273/Shannon Sharpe's Playbook: Denver Broncos vs. Los Angeles Raiders - January 9, 1994 #89)[1], NFT (564393998524453806/Shannon Sharpe's Playbook: Kansas City          Yes
                                      Chiefs vs Denver Broncos - October 4, 1992 #91)[1], USD[924.89], USDT[0]
08198895                              CUSDT[1], USD[220.01], USDT[17.89933218]

08198898                              USD[0.00]

08198902                              CUSDT[2], SHIB[1], USD[11.38]

08198904                              USD[0.00]

08198908                              BAT[0], ETH[0], MATIC[0], SOL[0.00153033], SUSHI[0], USD[0.00], YFI[0]                                                                                                                       Yes

08198910                              USD[5.52]

08198911                              USD[0.00]                                                                                                                                                                                    Yes

08198915                              USD[10.00]

08198920                              ETH[.01819644], ETHW[.01796998]                                                                                                                                                              Yes

08198921                              USD[102.62]

08198922                              USD[0.00]

08198937                              ETHW[4.11001024], SHIB[1], TRX[2], USD[0.01]                                                                                                                                                 Yes

08198940                              SOL[.00006], USD[1.72]

08198943                              USD[0.00]                                                                                                                                                                                    Yes

08198956                              NFT (295894572290201454/Aku World Avatar #110)[1]

08198961                              ETH[0]

08198968                              SOL[.42992446]

08198977                              0

08198993                              USD[0.13]                                                                                                                                                                                    Yes

08199004                              SOL[.01794]

08199007                              USD[0.00]

08199011                              GBP[0.00], SOL[.0123743], USD[0.00]                                                                                                                                                          Yes

08199026                              CUSDT[1], DOGE[1], GRT[18.30536899], TRX[105.79443712], USD[0.00]                                                                                                                            Yes

08199035                              BTC[.00030119], CUSDT[1], USD[0.00]                                                                                                                                                          Yes

08199037                              BRZ[1], USD[15.87]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08199039                              USD[0.00]

08199040                              USD[10.78]                                                                                                                                                                          Yes

08199046                              USD[4.65]                                                                                                                                                                           Yes

08199050                              BTC[.0560915], DOGE[2674.323], ETH[.805], ETHW[.805], SHIB[45000000], UNI[51.1488], USD[0.01]

08199066                              NFT (361248103994867637/Coachella x FTX Weekend 2 #6181)[1], NFT (485596718589297129/BlobForm #222)[1]

08199076                              BRZ[1], SOL[2.62053267], USD[0.00]                                                                                                                                                  Yes

08199083                              USD[0.00]

08199088                              USD[0.00]                                                                                                                                                                           Yes

08199094                              USD[15.00]

08199101                              BTC[.00098233], USDT[0.00033126]

08199117                              AAVE[3.68], USD[0.16]

08199126                              USD[7.86]                                                                                                                                                                           Yes

08199129                              USD[100.00]

08199144                              TRX[.000012], USD[3532.03]                                                                                                                                                          Yes

08199146       Contingent, Disputed   SOL[.10006681], USD[0.00], USDT[477.06458496]

08199159                              USD[0.00]                                                                                                                                                                           Yes

08199162                              ETH[.0005], ETHW[.0005], USD[0.50]

08199166                              ETHW[26.69196446]

08199170                              USD[1.00]

08199175                              NFT (502857254863436464/FTX - Off The Grid Miami #125)[1]

08199186                              DOGE[2], SOL[.44761667], TRX[1], USD[0.00]                                                                                                                                          Yes

08199190                              TRX[1512.56411381], USD[0.00]

08199201                              DOGE[2], MATIC[514.43530548], NEAR[.00015278], SHIB[17], TRX[1], USD[0.00]                                                                                                          Yes

08199204                              BTC[.0004199], CUSDT[2], ETH[.00570176], ETHW[.00563336], USD[0.00]                                                                                                                 Yes

08199220                              DOGE[237.11243355], SHIB[1688476.94231861], USD[4.74], USDT[0.00004542]                                                                                                             Yes

08199225                              SHIB[2235082.03836529], SOL[.00021831]                                                                                                                                              Yes

08199238                              DOGE[1], SOL[0]

08199249                              MATIC[.00119168], NFT (313241586786822063/3D SOLDIER #2406)[1], NFT (339238413819962795/3D CATPUNK #510)[1], NFT (394271102777660052/Sigma Shark #1460)[1], NFT
                                      (430694241476728510/Astral Apes #1086)[1], NFT (448604576653204997/Gangster Gorillas #8338)[1], NFT (490067817824928381/3D SOLDIER #3017)[1], NFT (517677098618493453/Astral Apes
                                      #354)[1], SHIB[24], USD[0.00]
08199257                              AVAX[.07], BTC[0.00081161], USD[5.37]

08199258       Contingent, Disputed   CUSDT[2], DAI[21.3236779], DOGE[51.88330743], SOL[.23081586], TRX[1], USD[0.00]                                                                                                     Yes

08199270                              USD[10.00]

08199272                              CUSDT[1], TRX[1], USD[0.61]

08199275                              USD[53.91]                                                                                                                                                                          Yes

08199287                              CUSDT[1], USD[0.00]                                                                                                                                                                 Yes

08199293                              ETH[.00122717], ETHW[.00121349], USD[0.01]                                                                                                                                          Yes

08199294                              USD[0.00]

08199304                              AAVE[8.72575326], BRZ[2], BTC[.50845689], DOGE[8.00044914], ETH[1.01654939], ETHW[1.01620563], GRT[3370.83535064], LINK[200.03841784], LTC[5.07603242], MATIC[2013.95156933], NFT   Yes
                                      (415658101736317303/TTT 300K SOLANA )[1], NFT (442750786464200699/Opal Jet)[1], NFT (475641407515674445/TTT 300K SOLANA )[1], NFT (501137046960007586/Pearce X5)[1],
                                      SHIB[15603067.31674413], SOL[25.78270098], TRX[5], USD[15851.48], USDT[1.01450477]
08199305                              LTC[.00716255], USDT[.0716395]

08199308                              USD[10.78]                                                                                                                                                                          Yes

08199309                              SOL[4.3307], USD[15.21]

08199321                              ETH[0], USD[0.00]

08199327                              USD[1.00]

08199330                              NFT (388779581100783646/Cadet 757)[1], NFT (411348836152670246/DOTB #1553)[1], SOL[.05388001]

08199337                              USD[0.01], USDT[0]                                                                                                                                                                  Yes

08199342                              MATIC[3.82449087], USD[0.00], USDT[0]

08199357                              BTC[.00018368]

08199369                              BTC[0], WBTC[0]

08199370                              USD[50.00]

08199371                              CUSDT[1], SHIB[2485304.14871717], USD[0.00]                                                                                                                                         Yes

08199373                              NFT (520108765680717700/Aku World: Dream #82)[1]

08199384                              USD[2.07]

08199388                              AAVE[.01], KSHIB[20], SUSHI[4.4955], USD[0.14]

08199389                              TRX[3973.752101]

08199391       Contingent, Disputed   BAT[395.1970162], USDT[0]

08199399       Contingent, Disputed   SOL[1.5615]

08199400                              USD[35.00], USDT[59.78908392]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                               Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08199401                              CUSDT[1], ETH[.00268852], ETHW[.00268852], NFT (363624211107940616/Travel sprouts collection #24)[1], NFT (370030872481000276/Travel sprouts collection #29)[1], NFT
                                      (433894007906447589/Travel sprouts collection #43)[1], NFT (564727239249961077/Travel sprouts collection #39)[1], USD[0.00]
08199403       Contingent, Disputed   USD[53.87]                                                                                                                                                                      Yes

08199417                              NFT (538875128383150958/Coachella x FTX Weekend 1 #4052)[1]

08199422                              USD[0.01]                                                                                                                                                                       Yes

08199430       Contingent, Disputed   BTC[0.00191401], USD[0.00], USDT[0.00000001]

08199438                              BRZ[1], BTC[0], DOGE[1], SHIB[1], USD[0.01]

08199439                              DOGE[0], SHIB[3310546.54612386], USD[0.00]

08199446                              BTC[.0001441], USD[0.06]

08199453       Contingent, Disputed   USD[0.00]

08199472                              SOL[.00684234]

08199485                              ETH[.11839391], ETHW[.11724913], TRX[1], USD[0.00]                                                                                                                              Yes

08199487                              BCH[0.43553614], CUSDT[4], ETH[.00365061], ETHW[.00360957], SHIB[2], SOL[1.00062608], USD[0.00], USDT[1.0639037]                                                                Yes

08199497                              BTC[.00041318], CUSDT[5], GRT[0], SHIB[0], USD[0.00]

08199500                              CUSDT[16], LINK[.64873107], SHIB[1886968.72751555], TRX[1], USD[0.00]

08199527                              CUSDT[3], SOL[0], USD[0.00]                                                                                                                                                     Yes

08199530                              CUSDT[2], DOGE[1], MATIC[.00002721], SOL[.00007154], TRX[1], USD[0.00]

08199531                              BRZ[.8632], BTC[0], TRX[6.49747], USD[0.00]

08199534                              BTC[.0004151], CAD[5.13], USD[1.13]                                                                                                                                             Yes

08199535                              DOGE[5.00000372], SHIB[2776026.99578824], USD[0.00]

08199555                              SOL[.00000001]

08199569                              BTC[.01016512]

08199573                              BAT[1], BRZ[2], DOGE[3], ETH[0], ETHW[0], PAXG[0], TRX[1], USD[10720.30], USDT[1.00036323]                                                                                      Yes

08199575                              BTC[.00001811], DAI[.99328404], ETH[.00022824], ETHW[.00022824], MATIC[.43099877], SOL[.00453584], USD[5.39]                                                                    Yes

08199577                              ETH[0], LINK[0], LTC[0], USD[0.01]                                                                                                                                              Yes

08199580       Contingent, Disputed   SOL[3.19539295], USD[1.85]

08199582                              BTC[.00000001], ETH[.01308864], ETHW[.01292448], TRX[1], USD[0.00]                                                                                                              Yes

08199583       Contingent, Disputed   USD[2.56]

08199586                              USD[25.00]

08199593                              BTC[.0019], DOGE[12.987], ETH[.024975], ETHW[.024975], SOL[.999], TRX[513.486], USD[0.08]

08199595                              BTC[0], SOL[0.00039366], USD[0.00]

08199599                              NFT (383396571418123721/2974 Floyd Norman - OKC 1-0096)[1], NFT (414143304143986358/The 2974 Collection #0235)[1], NFT (506885468255524214/Birthday Cake #0235)[1], USD[7.51]

08199600                              SOL[4.61651898]                                                                                                                                                                 Yes

08199611                              USD[107.79]                                                                                                                                                                     Yes

08199613                              USD[0.01]                                                                                                                                                                       Yes

08199615                              ETHW[.04610643], SHIB[1], USD[0.00]                                                                                                                                             Yes

08199630       Contingent, Disputed   USD[63.56]

08199632                              USDT[0]

08199637                              CUSDT[2], USD[0.01], USDT[2.14352847]                                                                                                                                           Yes

08199648                              ETH[.001779], ETHW[.00175164], USD[0.00]                                                                                                                                        Yes

08199652                              BTC[0.00097531], ETH[0.00000011], ETHW[0.00000011], SHIB[15], TRX[5], USD[0.00]                                                                                                 Yes

08199654                              BTC[.0000982], SHIB[998800], USD[2.68]

08199656                              NFT (369356515502599474/Aku World Avatar #82)[1]

08199696                              BTC[.00000001], LINK[0], MATIC[0], USD[148.61]                                                                                                                                  Yes

08199705                              NFT (441453896663435474/Aku World: Dream #101)[1]

08199710                              BTC[.00096498], DOGE[.00003829], USD[0.20]                                                                                                                                      Yes

08199714                              CUSDT[1], USD[0.00]                                                                                                                                                             Yes

08199721                              BTC[.00220996], CUSDT[3], DOGE[1], ETH[.02468706], ETHW[.02438395], SHIB[1411017.01542563], TRX[2], USD[26.97], USDT[1.07717033]                                                Yes

08199723                              BRZ[1], BTC[0], CUSDT[12], DOGE[6.00075794], ETH[.00000514], ETHW[.56251291], SHIB[3], TRX[9], USD[0.00]                                                                        Yes

08199725                              BTC[1.00046495]

08199729                              CUSDT[2], DOGE[2], SHIB[22.55391298], TRX[3], USD[0.00]                                                                                                                         Yes

08199731                              USD[0.00], USDT[0]

08199737                              NFT (519418603890621883/Aku World: Dream #45)[1]

08199748                              ETH[.00713745], ETHW[0.00705252]                                                                                                                                                Yes

08199750                              CUSDT[2], KSHIB[663.67605387], SHIB[396405.91966173], USD[0.01]

08199751                              USD[161.72]                                                                                                                                                                     Yes

08199753                              USD[10.00]

08199760                              CUSDT[1], NFT (443372936975455105/Red Panda #7093)[1], SOL[1.00640369], TRX[1], USD[0.01]

08199763                              CUSDT[1], DOGE[1], SOL[1.28085957], USD[0.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08199769                              USD[0.00]

08199781                              LTC[.4498709]

08199783                              ETH[.00000048], SOL[.00028463], USD[0.01]                                                                                                                                                  Yes

08199791                              USD[0.00], USDT[0]

08199799                              BTC[0.00246109], ETH[.087], ETHW[.087], USD[0.01]

08199808                              BTC[.00000002], CUSDT[2], DOGE[1], TRX[1], USD[0.08], USDT[0]                                                                                                                              Yes

08199815                              EUR[0.00], SOL[0], USD[0.00]

08199819                              NFT (318040926054858486/Aku World: Dream #39)[1], NFT (487462415698677827/Warriors 75th Anniversary Icon Edition Diamond #1982)[1], TRX[17.07904432], USD[0.00]                            Yes

08199825                              BTC[.0201], ETH[.08097815], ETHW[.08097815], SOL[6.6765705], USD[2.01]

08199836       Contingent, Disputed   LTC[.00932949], USD[0.00]

08199837                              CUSDT[1], USD[0.00]                                                                                                                                                                        Yes

08199841                              ETHW[.00483357], USD[0.06]

08199852                              NFT (442621703064796531/Doggo)[1], NFT (491943647358190455/OCEAN Concept #17 Ultra (Redeemed))[1], NFT (500942230167131105/OCEAN Concept #5 Extreme)[1], NFT
                                      (516923405549664457/OCEAN Concept #100 Sport)[1], SOL[.195]
08199857                              DOGE[.617], SOL[.00943], USD[2.76]

08199859                              CUSDT[2], SHIB[1148744.84528565], TRX[1], USD[0.00]                                                                                                                                        Yes

08199865                              SHIB[29022654.23318372], SOL[2.25731636]                                                                                                                                                   Yes

08199867                              BRZ[1], LINK[2.53964284], NFT (405420844544487349/Cyber Pharmacist 5901)[1], NFT (465259674359337407/SOLYETIS #5769)[1], NFT (466924531331306095/Cyber Technician 2268)[1], NFT            Yes
                                      (537351610063997374/ALPHA:RONIN #92)[1], USD[0.19]
08199871                              BTC[.00034998], CUSDT[271.8071271], SHIB[239005.73613766], USD[5.00]

08199872                              USD[0.00]

08199874                              ETH[0.00000372], USD[0.00]

08199885                              SOL[.00048115], USD[0.00]

08199892                              USD[1.00]

08199894                              CUSDT[4], DAI[1.1244586], USD[0.01]                                                                                                                                                        Yes

08199903                              CUSDT[3], LTC[0], SOL[0], USD[0.00]

08199906                              BTC[.0002485], USD[0.25]                                                                                                                                                                   Yes

08199907                              USD[100.98]                                                                                                                                                                                Yes

08199926                              BTC[.00017802]

08199932                              CUSDT[6], DOGE[0.00102356], ETH[0], ZAR[0.00]                                                                                                                                              Yes

08199936                              SOL[0]

08199942                              CUSDT[2], TRX[2], USD[97.22]                                                                                                                                                               Yes

08199962                              ETH[0], SOL[0], USD[0.01]                                                                                                                                                                  Yes

08199968                              CUSDT[2], USD[0.00]

08199971                              CUSDT[1], ETH[.00439939], ETHW[.00434467], SHIB[55883.00301041], TRX[23.080948], USD[0.00]                                                                                                 Yes

08199978                              ETH[.15965721], ETHW[.15965721], USD[0.00]

08199984                              SOL[1.9081855], USD[1.91]

08199988                              DOGE[1], NFT (427086982933622951/Mob cats collection #3)[1], SHIB[1], USD[0.00]

08199992                              BRZ[2.80082863], ETH[.00016432], ETHW[.00016432], USD[1.83]                                                                                                                                Yes

08200020                              USD[98.89], USDT[0]

08200024                              USD[65.23]                                                                                                                                                                                 Yes

08200029                              ETH[0.00000147], ETHW[4.25434138], LINK[35.90288849], SHIB[0], SOL[0.00000001], TRX[141.72022367], USD[0.00]                                                                               Yes

08200048                              ETH[0], ETHW[0], USD[0.00], USDT[0]

08200049                              ETHW[.05294965], USD[3.22]

08200053       Contingent, Disputed   USD[20.00]

08200059                              ETH[.022], ETHW[.022], LINK[4], MATIC[40], SHIB[2400000], TRX[1163], USD[0.47], USDT[6.80000001]

08200070                              SOL[0]

08200072                              USDT[10]

08200073                              SHIB[2425714.65581212]                                                                                                                                                                     Yes

08200078                              LINK[0], SHIB[0], TRX[1], USD[0.00], USDT[0]                                                                                                                                               Yes

08200086                              CUSDT[1], SUSHI[5.78259073], USD[161.87]                                                                                                                                                   Yes

08200091                              ETH[0.00006308], ETHW[0.00006308], NFT (313659668708162849/Colossal Cacti #88)[1], NFT (340313871103160069/Non-Fungible Soup #0104)[1], NFT (342461144911544704/Spectra #948)[1],
                                      NFT (370583938092392226/Sollama)[1], NFT (386397317608801896/Isabell, the Easygoing)[1], NFT (428179588837540510/Elysian - #4439)[1], NFT (446904498480489692/Fancy Frenchies #2975)[1],
                                      NFT (456617545089066741/2974 Floyd Norman - CLE 3-0052)[1], NFT (462365112886255356/Sun Set #253)[1], NFT (477820868560245272/Cyber Pharmacist 2541)[1], NFT
                                      (486577225108292931/Beasts #529)[1], NFT (518021841997435479/Elysian - #2922)[1], NFT (519607065267486330/Night Light #472)[1], NFT (544334750917504218/ApexDucks #4710)[1], NFT
                                      (561483556065435048/SOLYETIS #4643)[1], NFT (574009026736107543/Cosmic Creations #824)[1], USD[5.30]
08200092                              USD[0.00]

08200095                              BRZ[0], BTC[0], DOGE[0], SHIB[1987774.64264118], TRX[0], USD[0.00]

08200097                              MATIC[18.99593382], TRX[1], USD[0.01]

08200118                              USD[0.00]                                                                                                                                                                                  Yes

08200120                              BCH[0], BTC[0], ETH[0], MATIC[0], USD[0.00]                                                                                                                                                Yes

08200123                              USD[1.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08200135                              LINK[27.36504937], TRX[1], USD[0.13]                                                                                                                                                     Yes

08200145                              USD[566.99]

08200148                              BAT[.00387684], BRZ[1], CUSDT[22], DOGE[1.0000731], NFT (356282181681257035/Mech #3570)[1], NFT (453422832947501200/Eitbit Ape #2771)[1], NFT (476232662315085500/Internet Computer      Yes
                                      Bag)[1], TRX[10], USD[0.00]
08200163                              USD[200.00]

08200168                              TRX[1], USD[0.00]

08200169                              NFT (310213001893519652/Reflector #177)[1], NFT (358232390671701168/Ferris From Afar #747)[1], USD[0.00], USDT[0.00000759]

08200170                              NFT (378615922595759563/Bad and Boujee)[1], USD[0.00]

08200187                              CUSDT[2], SOL[.22786211], TRX[1], USD[0.00]                                                                                                                                              Yes

08200194                              USD[0.98]

08200203       Contingent, Disputed   NFT (415331318458031214/Juliet #70)[1], NFT (531444026340766245/Romeo #55)[1], USD[0.52]

08200204                              ETHW[.50326015]                                                                                                                                                                          Yes

08200207                              BRZ[1], CUSDT[1], SHIB[1], USD[0.00]

08200214                              BTC[.00063465], CUSDT[5], DOGE[106.45755457], ETH[.00424522], ETHW[.0041905], GRT[25.24861111], SHIB[524671.64024769], USD[0.01]                                                         Yes

08200228                              USD[0.46], USDT[0]

08200237                              ETH[.331172], ETHW[.331172]

08200241                              ETH[0], ETHW[0], SOL[0], USD[0.00], USDT[233.12884713]

08200262                              NFT (336085230112027965/Mech #1592)[1], NFT (480416405220509357/Space Bums #4798)[1], NFT (531160822547556196/Space Bums #2089)[1], SOL[.37974559]

08200272                              USD[0.01], USDT[0]

08200284                              USD[58.49]

08200286                              ETH[0.00047788], ETHW[0.00047788], SOL[0], USD[-0.06]                                                                                                                                    Yes

08200289       Contingent, Disputed   CUSDT[1], USD[0.00]

08200291                              DOGE[126.82498368], ETH[.01414634], ETHW[.01414634], SHIB[651998.74001629], USD[6.60]

08200310                              SHIB[.02964028], USD[0.00]

08200312                              SHIB[237152.98898022], USD[0.00]

08200319                              SOL[.00562589], USD[0.03], USDT[0.00040901]                                                                                                                                              Yes

08200320       Contingent, Disputed   USD[0.00]

08200329                              SHIB[299700], USD[0.01], USDT[2.5974]

08200332                              USD[23.22]                                                                                                                                                                               Yes

08200343                              BTC[.00042617], CUSDT[3], DAI[15.83190054], DOGE[88.48804794], ETH[.00991602], ETHW[.0097929], KSHIB[412.72496158], MATIC[8.52912872], SHIB[607876.36461443], SOL[1.09534687],           Yes
                                      SUSHI[1.23320499], TRX[55.45118681], USD[0.00]
08200346                              CUSDT[3], SOL[.2384451], USD[0.00]

08200349       Contingent, Disputed   NFT (464738164932135329/Wonky Stonk #5279)[1]

08200367       Contingent, Disputed   BRZ[0], CUSDT[0], DAI[0], GRT[0], SHIB[342510.00600371], USD[0.00], USDT[0]

08200384                              NFT (385163453097984724/Coachella x FTX Weekend 1 #3885)[1]

08200386                              CUSDT[1], SOL[.60299285], TRX[1], USD[0.00]

08200392                              CUSDT[1], DOGE[1], ETH[.077708], ETHW[.07674461], LINK[5.74608973], USD[0.06]                                                                                                            Yes

08200393                              USD[20.00]

08200400                              BTC[0], ETH[0], MATIC[0], USD[0.00]

08200408                              USD[5.00]

08200409                              ETH[.00175289], ETHW[0.00175288], SOL[0], USD[17.20]

08200412                              CUSDT[2], ETH[0], USD[0.00]                                                                                                                                                              Yes

08200413                              BAT[2], BRZ[8.27306328], BTC[.00000006], DOGE[2], GRT[2], SHIB[2], TRX[16.40886081], USD[0.00], USDT[1.02543197]                                                                         Yes

08200417                              CUSDT[217.97474832], USD[0.00]

08200420                              USD[35.13]

08200427                              AAVE[.00000505], BRZ[1], BTC[.00000006], CUSDT[16], DOGE[2], ETH[.00000024], ETHW[.00000024], GRT[1], LINK[.00002677], LTC[.00001311], MATIC[.00003917], TRX[2], USD[0.01]               Yes

08200435                              CUSDT[4], ETH[.0557098], ETHW[.05501772], TRX[1], USD[0.02]                                                                                                                              Yes

08200441       Contingent, Disputed   USD[0.25]

08200445                              NFT (314589062720679356/Earth, wind, and Fire)[1], NFT (350086271973731216/Divine duality Empress Wonderland #2)[1], NFT (363231281782498707/Earth, wind, and Fire #2)[1], NFT
                                      (462262309357935283/Divine duality Empress Wonderland #3)[1], NFT (496885089850098092/Metaphysical chaos)[1], NFT (569927387350942377/Divine duality Empress Wonderland)[1], USD[0.68]

08200447                              BF_POINT[100], BTC[.00653586], CUSDT[4], DOGE[1.75127332], ETH[.00146234], ETHW[.00144866], GRT[158.92429197], MATIC[121.84557101], PAXG[.00300701], SHIB[128751.62629367],              Yes
                                      SOL[.05380051], TRX[1], USD[0.52]
08200450       Contingent, Disputed   ETH[.02352381], ETHW[.02352381], USD[0.00]

08200454                              SUSHI[.00035369], USD[0.02]                                                                                                                                                              Yes

08200458                              SOL[0]

08200459                              USD[0.03]                                                                                                                                                                                Yes

08200460                              USD[0.00]

08200465                              BTC[0], CUSDT[0], ETH[0], SOL[0], USD[0.00]                                                                                                                                              Yes

08200468       Contingent, Disputed   ETH[.00001224], ETHW[.00001224], USD[0.34]

08200485                              SOL[.00998], USD[0.43]

08200492                              BTC[.00313045], DOGE[1], ETH[.00465995], ETHW[.00460523], SHIB[2], TRX[1], USD[0.00]                                                                                                     Yes
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                                                                                                                                               Customer Claims                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08200499                              TRX[1], USD[0.00]                                                                                                                                                                    Yes

08200500                              DOGE[2], HKD[0.00], NFT (419408217426474998/Cadet 1147)[1], NFT (574270143212439897/Cadet 53)[1], SHIB[1], SOL[0], USD[0.00]                                                         Yes

08200503                              SOL[6.25563228]                                                                                                                                                                      Yes

08200507                              BRZ[2], CUSDT[1], DOGE[2], SHIB[5.53863656], TRX[3], USD[38.63]                                                                                                                      Yes

08200512                              NFT (329924743946363123/France Ticket Stub #45)[1], NFT (347502367094507087/Hungary Ticket Stub #219)[1], NFT (351474961409074123/Austria Ticket Stub #37)[1], NFT                   Yes
                                      (408698486152532132/FTX Crypto Cup 2022 Key #63)[1], NFT (530441286689697252/Barcelona Ticket Stub #2216)[1], NFT (568230737801917214/Montreal Ticket Stub #80)[1], NFT
                                      (571372362001437305/The Hill by FTX #622)[1], NFT (572581211149363177/Silverstone Ticket Stub #386)[1], NFT (575094607901023179/Saudi Arabia Ticket Stub #831)[1], USD[0.01]
08200516       Contingent, Disputed   USD[0.00]

08200520                              USD[50.01]

08200530                              MATIC[0], USD[0.00]

08200545                              DOGE[1], ETHW[.00073771], TRX[1], USD[0.03]                                                                                                                                          Yes

08200566       Contingent, Disputed   SOL[9.35064], USD[8.06]

08200571                              BTC[.04129131], ETH[.11378994], ETHW[0.11267315], SOL[1.34175651]                                                                                                                    Yes

08200576                              USD[1.00]

08200577                              SOL[.01651734], USD[0.00]

08200589       Contingent, Disputed   SOL[115.743], USD[49.41]

08200590                              BRZ[177.31545781], CUSDT[15.50183624], DOGE[126.70708918], SHIB[494536.26166706], SOL[.09395919], USD[0.01]                                                                          Yes

08200612                              AVAX[2.51301543], DOGE[1], ETH[.01660387], ETHW[.01639867], MATIC[249.09730666], SHIB[4595031.13704656], TRX[2], USD[0.01]                                                           Yes

08200615       Contingent, Disputed   USD[1.63]

08200621                              USD[15.00]

08200622                              CUSDT[3], DOGE[208.19159125], USD[0.29]                                                                                                                                              Yes

08200624                              USD[0.00]

08200631                              CUSDT[2], DOGE[1], SOL[11.72560325], TRX[1], USD[180.10]                                                                                                                             Yes

08200649                              CUSDT[1], SOL[.11434767], USD[0.00]                                                                                                                                                  Yes

08200661                              EUR[0.00]                                                                                                                                                                            Yes

08200663                              ETH[0], SHIB[0], SOL[0], USD[8.80]

08200672                              NFT (386459091474690680/BTC Breaking Point)[1], USD[0.00], USDT[0]

08200673                              BAT[.927], DOGE[.611], KSHIB[79.92], SHIB[99700], USD[0.08]

08200678       Contingent, Disputed   BCH[.00053545], ETH[.0009373], ETHW[.0009373], LINK[.03255], LTC[.007435], MATIC[9.848], SOL[.008936], USD[727.35]

08200682                              BAT[4.37834072], BTC[.00009892], DAI[4.68833272], DOGE[17.14796415], ETH[.00019219], ETHW[.00019219], GRT[1.44335287], MATIC[1.03694706], SHIB[1], SOL[0.06062783], TRX[81.85368519], Yes
                                      UNI[.48015818], USD[0.00], USDT[8.55848527]
08200693                              BAT[1.00747067], BRZ[2], CUSDT[3], DOGE[2], ETH[1.21369055], ETHW[1.21318087], GRT[1], MATIC[1.00362289], SHIB[2], SOL[9.16923384], TRX[1], USD[0.75]                                 Yes

08200696                              NFT (426537989606704358/3D CATPUNK #109)[1], NFT (482908308164436779/3D CATPUNK #1641)[1]

08200699                              USD[16.17]                                                                                                                                                                           Yes

08200702                              ETH[.0002479], ETHW[.0002479], USD[0.00]                                                                                                                                             Yes

08200707                              USD[103.40]

08200708                              CUSDT[1], SHIB[2329373.39855578], USD[0.00]

08200710                              AVAX[0], BTC[0], ETH[.00000003], ETHW[.00000003], USD[0.21]                                                                                                                          Yes

08200719       Contingent, Disputed   SUSHI[.00000059], USD[0.00], USDT[0.00000345]

08200738                              USD[0.00]

08200750                              SOL[.95798531]                                                                                                                                                                       Yes

08200756                              BTC[.00000001], SHIB[609.73746348], USD[0.00]                                                                                                                                        Yes

08200759                              USD[1.00]

08200764                              CUSDT[1], ETH[.01233117], ETHW[.01218069], USD[0.05]                                                                                                                                 Yes

08200766                              ETH[.00000038], MATIC[.00005648], SHIB[1], USD[0.00]                                                                                                                                 Yes

08200767                              AAVE[0.00000342], AVAX[0], BRZ[4], BTC[0], CUSDT[37], DOGE[7.02196122], ETH[.00000008], ETHW[.00000008], GRT[0], KSHIB[0], MATIC[0], NFT (543781935916314458/#4468)[1],              Yes
                                      SHIB[4.17131603], SOL[0.15088920], USD[0.00], YFI[0]
08200771       Contingent, Disputed   USD[13.95], USDT[0]

08200778                              NFT (296441504768324482/Synchrony IDO on SolRazr - 1)[1], NFT (404731975033790993/Synchrony IDO on SolRazr - 0)[1]

08200800       Contingent, Disputed   USD[0.01], USDT[278.26]

08200819       Contingent, Disputed   LINK[0.07567624], USD[0.00]

08200834                              DAI[.2], KSHIB[30], USD[6.24], USDT[.29926024]

08200849                              TRX[1], USD[0.00], USDT[0.00000001]

08200862                              DOGE[5], USD[0.10]

08200872                              ETH[.00822171], ETHW[0.00822170]

08200881                              USD[8.93]

08200885                              USD[0.40]

08200888                              CUSDT[2], ETH[.04679857], ETHW[.04621794], MATIC[92.77834997], USD[0.03]                                                                                                             Yes

08200889       Contingent, Disputed   BTC[.02327605], SOL[5.40332985]                                                                                                                                                      Yes

08200890                              SOL[0], TRX[0], USD[0.00], USDT[0.00000001]

08200896       Contingent, Disputed   USD[0.00], USDT[0]
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                                                                                                                                            Customer Claims                                                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08200901                              TRX[29.78084573], USD[0.00]

08200917                              SOL[.00000001]

08200932                              USD[0.05]

08200948                              DOGE[1], USD[5.45]                                                                                                                                                                             Yes

08200962                              CUSDT[6], NFT (328931311718769318/Oink 2137)[1], NFT (453529419321858782/Oink 1885)[1], NFT (514429550627530678/GalaxyKoalas # 152)[1], NFT (518341356366854660/Oink 2476)[1],
                                      SOL[0.31847981], USD[0.00], USDT[0]
08200967                              CUSDT[1], USD[0.00], USDT[0]

08200980                              USD[3.94]

08200987                              CUSDT[2], DOGE[1], SOL[.0001], UNI[1.01076576], USD[18.25]

08201003                              CUSDT[1], USD[0.00]                                                                                                                                                                            Yes

08201016                              DOGE[2], SOL[.00000205], USD[0.00]                                                                                                                                                             Yes

08201018                              BTC[.00010227], TRX[4.94196396], USD[0.00]                                                                                                                                                     Yes

08201020                              CUSDT[1], USD[0.00]                                                                                                                                                                            Yes

08201032                              ETH[0.00299699], ETHW[0.00299699], NFT (327026975349947892/#2)[1], NFT (335728110060415666/#5.0)[1], NFT (353408304143779879/Pixelated series)[1], NFT (354759920221266217/Terrestrial
                                      Alien #2)[1], NFT (356688794843941680/Pixelated series #7)[1], NFT (361547325513351022/Pixelated series #6)[1], NFT (391765404882986437/#3)[1], NFT (404431891736221958/Pixelated series
                                      #2)[1], NFT (423887910485894383/Terrestrial Alien #3)[1], NFT (425643832991230405/Differgence)[1], NFT (442945903858013502/Pixelated series #8)[1], NFT (456384056294655203/Pixelated series
                                      #3)[1], NFT (469526013030524323/Bees Universe Segment 2)[1], NFT (475664894876750782/Pixelated series #9)[1], NFT (499089157081245801/Pixelated series #10)[1], NFT
                                      (506054040571127607/#4)[1], NFT (524861975886039038/Terrestrial Alien #1)[1], NFT (535566193687283869/Bees Universe Segment 1)[1], NFT (561012584978601515/Pixelated series #5)[1], NFT
                                      (564300227902567632/Pixelated series #4)[1], SOL[0.07434609]
08201042                              BTC[.00000009], USD[0.00]

08201049                              USD[0.00]

08201052       Contingent, Disputed   USD[19690.20]

08201063                              BTC[0], CUSDT[2], DOGE[1], ETH[0.05412057], ETHW[0.05345025], GRT[22.30283832], SHIB[1], USD[0.00], YFI[0]                                                                                     Yes

08201096                              NFT (313999808472871782/RESOURCie Wood)[1], NFT (380166396435327051/RESOURCie Water)[1]

08201103                              USDT[2.4114008]

08201119                              USD[0.01]                                                                                                                                                                                      Yes

08201121                              NFT (486538215833585771/The Hill by FTX #4448)[1], USD[0.93]

08201141       Contingent, Disputed   BCH[0], LTC[0], USD[0.00], USDT[0]

08201158                              SHIB[244610.15460135], USD[53.70]                                                                                                                                                              Yes

08201221                              BTC[.00054355]                                                                                                                                                                                 Yes

08201225                              CUSDT[1], EUR[4.60], MKR[.00406527], SOL[.18624133], USD[0.01]                                                                                                                                 Yes

08201235                              USD[5.00]

08201237                              SOL[.00003648], USD[1.97]

08201241                              USD[0.00]

08201245                              USD[0.00]

08201249                              BRZ[1], CUSDT[2], DOGE[9.01686524], ETHW[.0000148], GRT[1], NEAR[11.35332996], SHIB[9], TRX[6], USD[0.00]                                                                                      Yes

08201251       Contingent, Disputed   ETH[.00200001], ETHW[0.00200000], USD[0.00]

08201254       Contingent, Disputed   ETH[.3], ETHW[.3], USD[965.00]

08201258                              USDT[0]

08201261                              USD[0.50]

08201264                              BTC[.00021251], ETH[.00115544], ETHW[.00114176], MATIC[2.41256881], SHIB[1], USD[0.01]                                                                                                         Yes

08201280                              BTC[.04652811], CUSDT[3], DOGE[2], ETH[.55324333], ETHW[.55324333], SOL[8.28374229], TRX[4], USD[0.00]

08201284       Contingent, Disputed   USD[0.00], USDT[0]

08201293                              CUSDT[2], GRT[28.08626443], SOL[.00000001], TRX[1], USD[0.00]                                                                                                                                  Yes

08201309                              MATIC[836.50165063]

08201311                              ETH[.00033179], ETHW[.00033179], PAXG[.00146131], SHIB[23008.6560589], USD[0.01]                                                                                                               Yes

08201319       Contingent, Disputed   TRX[.914309], USD[1.95], USDT[2.83147275]

08201332                              CUSDT[97.68026615], NFT (307128833791198785/GAMETİME)[1], NFT (387001022903026606/Holy Unicorn Edition #14)[1], NFT (421802140269034950/Splotch #2)[1], NFT                                    Yes
                                      (510383726530893814/Cityscape)[1], NFT (569321415129658402/Lake View)[1], USD[0.74]
08201339                              SHIB[.00000001]

08201359       Contingent, Disputed   DOGE[0], USD[0.00], USDT[0]

08201368                              BTC[.0123], ETH[.84025064], ETHW[.84025064], SOL[1.07831374], USD[514.40]

08201376                              DOGE[25.34809553], ETH[.00116021], ETHW[.00114653], USD[10.78]                                                                                                                                 Yes

08201381                              ETH[0], SHIB[2], USD[0.00], USDT[0]                                                                                                                                                            Yes

08201396                              USD[0.00]                                                                                                                                                                                      Yes

08201400                              BAT[0], USD[0.00]

08201405                              DOGE[1], USD[0.00]

08201408                              DOGE[1], USD[8.67]                                                                                                                                                                             Yes

08201424                              ETH[.00172431], ETHW[.00169693], MATIC[1.9491153], SHIB[49694.68552655], USD[7.54], USDT[2.14368274]                                                                                           Yes

08201429                              USDT[0]

08201436                              USD[2.07]                                                                                                                                                                                      Yes

08201438                              USD[7.00]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08201441                              BTC[0], SOL[0], USD[6298.49]                                                                                                                                                            Yes

08201450                              AAVE[.11124001], BTC[.00019142], CUSDT[10], DOGE[297.01537309], ETH[.01838265], ETHW[.01815009], LINK[.93992524], MATIC[21.31441809], SOL[.40946533], SUSHI[5.57413172], TRX[2],        Yes
                                      USD[0.81], YFI[.00000001]
08201454                              AAVE[0], BTC[0], DOGE[0], ETH[0.00049729], ETHW[0.07549730], LTC[0], SOL[0.00385760], USD[0.00]

08201457                              USDT[28]

08201460                              SHIB[3661740.41161548], USD[0.00]                                                                                                                                                       Yes

08201465                              CUSDT[1], USD[0.01], USDT[0]

08201485                              USDT[30]

08201488                              USD[0.00]                                                                                                                                                                               Yes

08201489                              BAT[39.38160731], CUSDT[5.33843285], MATIC[21.37895591], USD[0.00]

08201490                              SHIB[399620], USD[2.52]

08201491       Contingent, Disputed   BCH[0], LINK[0], USD[0.00], USDT[0.00000016]

08201497                              EUR[0.00], USD[0.00]

08201503                              DOGE[1], SHIB[1], TRX[3], USD[0.00], USDT[0]                                                                                                                                            Yes

08201517                              USD[6559.48]

08201520                              BTC[.00000001], USD[0.00]                                                                                                                                                               Yes

08201526                              USDT[30]

08201527                              USD[0.00]

08201534       Contingent, Disputed   USD[2.50]

08201536                              SHIB[3997700], USD[0.44]

08201541                              USD[0.94]

08201547                              SOL[0.07420481]

08201554                              TRX[.012453], USD[2.43], USDT[0]

08201558                              SOL[.166]

08201559                              CUSDT[2], USD[0.00], USDT[0.00001761]

08201560                              SHIB[365539.64433553]                                                                                                                                                                   Yes

08201569                              SHIB[1], USD[0.00], USDT[.01029825]                                                                                                                                                     Yes

08201586                              ETHW[.00055434], USD[0.01]

08201609                              NFT (297354350218152954/GSW Western Conference Semifinals Commemorative Ticket #291)[1], NFT (303609891214824263/GSW Round 1 Commemorative Ticket #350)[1], NFT
                                      (304323448755543781/GSW Western Conference Semifinals Commemorative Ticket #292)[1], NFT (324475218942740130/GSW Western Conference Semifinals Commemorative Ticket #293)[1], NFT
                                      (326825257025979342/GSW Championship Commemorative Ring)[1], NFT (370362654067578531/GSW Western Conference Finals Commemorative Banner #496)[1], NFT
                                      (388889709293668800/GSW Championship Commemorative Ring)[1], NFT (409045239761228978/GSW Western Conference Finals Commemorative Banner #495)[1], NFT
                                      (412866516448453702/GSW 75 Anniversary Diamond #732)[1], NFT (415178919139983706/GSW Championship Commemorative Ring)[1], NFT (418049579065644176/GSW Western Conference
                                      Finals Commemorative Banner #497)[1], NFT (441055887433978908/Warriors Foam Finger #234)[1], NFT (463334973567654775/GSW Western Conference Finals Commemorative Banner #492)[1],
                                      NFT (534063046505326042/GSW Western Conference Finals Commemorative Banner #493)[1], NFT (538331160118781821/Warriors 75th Anniversary Icon Edition Diamond #1518)[1], NFT
                                      (539782359473835837/GSW Round 1 Commemorative Ticket #351)[1], NFT (557922944647141518/The Finale at Oracle Ticket #24)[1], NFT (561711901135829458/GSW Western Conference Finals
                                      Commemorative Banner #494)[1], SUSHI[.00000031], USD[11.55]
08201621                              ETH[.00842831], USD[0.00]

08201624                              BRZ[2], CUSDT[1], DOGE[1], SOL[9.3018832], USD[0.00]                                                                                                                                    Yes

08201628                              CUSDT[2], KSHIB[3200.16077607], SHIB[853917.55138857], USD[189.89]                                                                                                                      Yes

08201645                              CUSDT[5], DOGE[1], ETH[.19201678], ETHW[.19180328], LINK[4.07267925], MATIC[79.67699725], SOL[7.68560626], USD[0.00]                                                                    Yes

08201647                              SHIB[13964652.39769398], TRX[3212.45345302], USD[0.01]                                                                                                                                  Yes

08201650                              AVAX[0], BTC[0], DOGE[0], ETH[0], ETHW[0], SOL[0.00083133], USD[0.42]

08201659                              BRZ[1], CUSDT[7], DOGE[2], SHIB[2], USD[0.70]                                                                                                                                           Yes

08201661                              CUSDT[1], NFT (408052912721707404/Shannon Sharpe's Playbook: Kansas City Chiefs vs Denver Broncos - October 4, 1992 #92)[1], SHIB[459770.11494252], USD[0.00]

08201664                              CUSDT[3], ETH[.01884766], ETHW[.0186151], USD[10.68]                                                                                                                                    Yes

08201666                              ETHW[.02654093], SHIB[11], TRX[1], USD[3.54]                                                                                                                                            Yes

08201698                              ETH[.012], ETHW[.012], SOL[0], USD[1.52]

08201702                              CUSDT[1], USDT[0.00002811]

08201716                              BRZ[1], CUSDT[3], DOGE[5], GRT[1], SHIB[5], SOL[.00014372], TRX[7], USD[0.01], USDT[1.05661275]                                                                                         Yes

08201718       Contingent, Disputed   NFT (450541707376278726/Aku World Avatar #94)[1]

08201728                              SHIB[6400637.34], TRX[1033.299249], UNI[3.86918128], USD[0.00]

08201736       Contingent, Disputed   NFT (319189556037605695/Aku World Avatar #97)[1]

08201737                              NFT (412318436481183701/Aku World Avatar #91)[1]

08201751                              ETHW[1.55373823], USD[0.00]                                                                                                                                                             Yes

08201773                              USD[1740.00]

08201777                              NFT (399003606067717958/Aku World Avatar #106)[1], NFT (520983997488558317/Aku World Avatar #105)[1]

08201778                              CUSDT[22], DOGE[359.33253285], ETH[.10145588], ETHW[.10043879], GRT[165.37119715], LINK[2.78065092], NFT (321907851359374160/The Cry Of The Birds)[1], NFT                              Yes
                                      (332227436433548741/Cryptographic zombie #14)[1], NFT (332971382843862092/Loose Ball Scramble)[1], NFT (411030809928130167/Toronto Jays)[1], NFT (431132491263043755/Kiddo #1546)[1],
                                      NFT (466687600403071961/Existence)[1], NFT (472194600050673178/Kiddo #2426)[1], SHIB[5145041.51575396], SOL[2.30726916], TRX[139.46550552], USD[3.32]
08201780                              AAVE[1.03883894], BCH[1.04961826], SHIB[1], SOL[1.0443016], USD[0.00], USDT[0]                                                                                                          Yes

08201789                              USD[0.01]

08201819                              BRZ[1], SOL[16.66461402], USD[0.00], USDT[1]
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              Contingent,
Customer Code Unliquidated, or         Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08201831      Contingent, Disputed     BTC[0.09900585], USD[25020.12]

08201832                               CUSDT[1], TRX[197.31088935], USD[0.00]

08201835                               SOL[.00014559], USD[0.00]

08201857                               AAVE[.20527276], BRZ[1], CUSDT[2], SOL[.00089024], TRX[1], USD[63.31]                                                                                                                Yes

08201858                               BTC[.00024093]                                                                                                                                                                       Yes

08201864                               NFT (436472463687787257/Coachella x FTX Weekend 1 #284)[1]

08201869                               USD[0.00]

08201875                               CUSDT[19], DOGE[.0000864], ETH[0], EUR[2.62], GRT[1], MATIC[0], NFT (517694787061153895/Fancy Frenchies #7174)[1], SHIB[5], SOL[0], SUSHI[2.59389351], TRX[5.00523426], USD[26.04]   Yes

08201880                               USD[0.00], USDT[0]

08201884                               SHIB[0], TRX[0], USD[0.00]                                                                                                                                                           Yes

08201893                               BTC[0.00121450], ETH[.005], ETHW[.005], USD[0.01], USDT[9.8836572]

08201899                               ETH[.00000014], ETHW[.00000014], USD[0.01]                                                                                                                                           Yes

08201906                               USD[53.01]

08201913                               USD[0.00]

08201914                               SOL[2.11349357], USD[300.00], USDT[232.39538449]

08201916                               CUSDT[3], USD[0.00]

08201926                               BTC[.000018], USD[0.00], USDT[.00042404]

08201946                               USD[0.00]

08201947                               MATIC[114.57280975], TRX[1], USD[0.00]                                                                                                                                               Yes

08201948                               BTC[.1059939], ETH[.999], ETHW[.999], SOL[7.62], USD[0.14]

08201969                               USD[0.01], USDT[0]                                                                                                                                                                   Yes

08201978                               USD[525.04]

08201982                               USD[0.01]

08201991        Contingent, Disputed   USD[0.00]

08201992                               CUSDT[1], SHIB[2810858.90169866], SUSHI[34.52681732], TRX[1], USD[0.08]                                                                                                              Yes

08202012                               BTC[0], ETH[0.00000001], ETHW[0], SHIB[0], SOL[0], USD[0.00], USDT[0.00000001]

08202032        Contingent, Disputed   BTC[0.00110509], TRX[19], USD[0.79]

08202033                               NFT (528650276873461919/Aku World: Dream #85)[1]

08202035                               USD[0.01]

08202046                               BTC[.00000994]

08202056        Contingent, Disputed   USDT[0.00044735]

08202070                               NFT (495666692131301015/Coachella x FTX Weekend 2 #8289)[1], USD[0.00], USDT[0]

08202074                               AAVE[.13640213], CUSDT[7], DOGE[1], GRT[276.45468812], SUSHI[.00029905], TRX[3], USD[0.00], YFI[.00557331]                                                                           Yes

08202081        Contingent, Disputed   BTC[.0033], ETH[.074], ETHW[.074], SHIB[12000000], USD[0.95]

08202089                               SHIB[2], USD[0.01]

08202093                               BRZ[1], NFT (491325987070327050/Fancy Frenchies #7939)[1], SOL[.74573431], USD[0.00]

08202095                               USD[0.30]

08202098                               USD[1.98]

08202099                               USD[0.00]

08202103                               USD[0.00]

08202106                               MATIC[0], SOL[0], USD[0.00]

08202112                               SHIB[130.30987055], USD[0.00]                                                                                                                                                        Yes

08202121                               DOGE[.0038352], SOL[.000001], TRX[.00289905], USD[0.01]                                                                                                                              Yes

08202129                               USD[21.56]                                                                                                                                                                           Yes

08202130                               USD[624.18]

08202151                               USD[0.00]

08202154                               NFT (320634550606139615/Aku World Avatar #108)[1]

08202217        Contingent, Disputed   USDT[12500.01]

08202227                               NFT (417171231819336137/Warriors 75th Anniversary City Edition Diamond #1279)[1]

08202242                               ETH[.00000001], ETHW[1.10713826], NFT (478398350020213569/Romeo #633)[1]                                                                                                             Yes

08202272        Contingent, Disputed   BTC[.0106], USD[0.86]

08202284                               MATIC[4.46499383], TRX[100.99429897], USD[0.00]

08202287                               USD[18.00]

08202290                               BTC[0.03019146], ETH[.157941], ETHW[.157941], USD[5.86]

08202291                               BTC[.00021662], ETH[.00136244], ETHW[.00134876], LTC[.05480031], SOL[.0651398], TRX[124.46764008], USD[0.00]                                                                         Yes

08202304                               SOL[0], USDT[0.00000132]

08202310                               DAI[4.96635927], MATIC[4.51469957], TRX[50.61978869], USD[0.00]

08202312        Contingent, Disputed   BTC[.00096074], ETH[.0139867], ETHW[.0139867], SHIB[4961516.67253476], USD[3.64]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08202314                              CUSDT[1], DOGE[395.68694981], SHIB[4221954.16164053], USD[5.00]

08202317                              NFT (471792459968254281/Aku World Avatar #95)[1]

08202318                              CUSDT[1], ETH[.06301625], ETHW[.06223557], USD[0.01]                                                                                                               Yes

08202322                              CUSDT[6], DOGE[3], USD[0.00]                                                                                                                                       Yes

08202325                              BRZ[3], CUSDT[2], DOGE[3], SHIB[16], SOL[6.1470526], TRX[5], USD[4.36]                                                                                             Yes

08202329                              ETH[.00000001], NFT (322578599996903934/Imola Ticket Stub #1011)[1], NFT (454855129769102404/Barcelona Ticket Stub #470)[1], SOL[1.34270527], USD[0.53]            Yes

08202331                              BTC[.00053036], CUSDT[4], ETH[.00636179], ETHW[.00636179], LTC[.16301636], SOL[.12984492], USD[0.00]

08202333                              CUSDT[1], DOGE[1], USD[0.00]

08202337                              DOGE[233.95518524], ETH[.020505], ETHW[.020505], USD[0.00]

08202356                              DOGE[1], TRX[1], USD[0.00], USDT[0.00018136]

08202392                              BRZ[2], BTC[.08755112], CUSDT[4], DOGE[1], SHIB[2], TRX[3], USD[2.37]                                                                                              Yes

08202397                              ETH[.005], ETHW[.086], SOL[0], USD[0.00]

08202401                              BAT[39.03094162], BTC[.00623617], ETH[.02664387], ETHW[.02631555], SOL[.35699081], USD[208.18]                                                                     Yes

08202402                              BRZ[2], CUSDT[4], DOGE[1], NFT (372166380869963181/Earl Campbell's Playbook: Texas vs. Houston - November 5th, 1977 #119)[1], SOL[1.28133528], TRX[1], USD[0.00]

08202403                              ETH[0]

08202407                              BRZ[1], GRT[1], USD[0.00], USDT[0]

08202410       Contingent, Disputed   BTC[.00004367], ETH[.067], ETHW[.067], USD[-19.63]

08202424                              USD[0.00]

08202426       Contingent, Disputed   USD[0.00]

08202431                              AVAX[.1238025], BCH[.2606961], ETHW[44.9181322], USD[32.45]

08202432                              NEAR[0], NFT (384426222515218477/NFT Solana Reward)[1], TRX[.00091], USDT[0.90793424]

08202435       Contingent, Disputed   ETH[.547], ETHW[.547], SUSHI[23.7595], TRX[92.248], USDT[1104.92768107]

08202443                              BTC[0], NFT (540517391345456831/Primitive #11)[1], SUSHI[0], USD[0.00]

08202447                              BTC[.00003401], MATIC[.55390074], USD[2.02]                                                                                                                        Yes

08202449                              BTC[.00491525], ETH[.05702263], ETHW[.05702263], USD[0.00]

08202453                              USD[0.00]

08202456                              NFT (334941916629892931/Aku World: Dream #25)[1]

08202469                              ETH[.0024565], ETHW[.00242914], SHIB[.39194139], USD[0.00]                                                                                                         Yes

08202470                              TRX[0], USD[0.00], USDT[0]

08202474                              USD[0.00]

08202475                              NFT (427216933133320819/Aku World: Dream #23)[1]

08202477                              NFT (325398514084259982/Aku World: Dream #24)[1]

08202483                              ETH[.00244064], ETHW[.00241328], LTC[.05460355], TRX[53.93696676], USD[0.00]                                                                                       Yes

08202487                              BTC[.71684871], SOL[134.53199058]                                                                                                                                  Yes

08202498       Contingent, Disputed   ETH[2.62066559], ETHW[2.62066559], USD[0.00]

08202505                              NFT (380446474145128736/Aku World: Dream #26)[1]

08202507                              USD[257.22]

08202509                              NFT (541708614171345985/Coachella x FTX Weekend 1 #21758)[1]

08202516                              USD[0.05]

08202519                              NFT (532521093825115800/Aku World: Dream #38)[1]

08202529                              NFT (518607222968377967/Aku World Avatar #72)[1]

08202531                              NFT (374968508408123012/Aku World: Dream #36)[1]

08202532                              USD[705.49]

08202536                              NFT (488407906367417550/Aku World: Dream #37)[1]

08202537                              NFT (384829699328138663/Aku World: Dream #35)[1]

08202540                              NFT (473225567753065326/Aku World: Dream #46)[1]

08202541                              BRZ[2], DOGE[1], ETH[0], SHIB[1], USD[0.00]                                                                                                                        Yes

08202548                              NFT (532234241957494137/Aku World: Dream #32)[1]

08202555                              NFT (320759975300852280/Aku World: Dream #27)[1]

08202561                              USD[5.05]

08202562                              ETHW[.98086904], NFT (312169528560654270/Aku World: Dream #28)[1], USD[0.01]                                                                                       Yes

08202571                              NFT (517350013104612001/Aku World: Dream #33)[1]

08202573                              SHIB[1], TRX[2], USD[0.02]

08202577                              NFT (400143392201605911/Aku World: Dream #65)[1]

08202585                              USD[0.00]

08202600       Contingent, Disputed   SOL[.07813543], USD[0.00]

08202609                              BRZ[1], ETHW[.12388177], SHIB[1], TRX[3], USD[0.01], USDT[1.07697349]                                                                                              Yes

08202612                              USD[0.00]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08202613                              BRZ[2857.70038355], CUSDT[3], SHIB[1185126.04744805], USD[2.95]                                                                                                                   Yes

08202617                              SOL[.14948375], USD[50.00]

08202618                              USD[0.01]

08202631                              USD[0.00]                                                                                                                                                                         Yes

08202635                              USD[0.00]

08202644                              NFT (438398306189486152/Aku World: Dream #31)[1]

08202646       Contingent, Disputed   CUSDT[1], ETH[.00266262], ETHW[.00263526], MATIC[2.54665008], SOL[.00000082], USD[0.00]                                                                                           Yes

08202647                              USD[0.01], USDT[0]

08202668                              CUSDT[1], DOGE[1], USD[437.68]

08202670                              BRZ[1], BTC[.0086447], CUSDT[19], DOGE[529.85975293], ETH[1.00398740], ETHW[.66104598], MATIC[117.55000263], NFT (408648158637666754/unko #6)[1], NFT (486893391747723136/Sigma   Yes
                                      Shark #2746)[1], SHIB[9271229.28774821], SOL[3.70350738], SUSHI[27.80506231], TRX[1.00918618], USD[0.59], USDT[1.00828987]
08202672                              BRZ[1], BTC[.01581622], CUSDT[2], DOGE[1], ETH[.16983391], ETHW[.16953631], SOL[3.48530522], TRX[2], USD[0.01]                                                                    Yes

08202677                              BTC[.002], USD[2.28]

08202678                              BTC[.0006504], CUSDT[2], ETH[.01233185], ETHW[.01218137], USD[0.00]                                                                                                               Yes

08202679       Contingent, Disputed   TRX[1244.8163], USD[0.44]

08202684                              USD[100.00]

08202686                              NFT (397936383318572733/Aku World Avatar #84)[1]

08202692                              NFT (367511160527539560/Aku World: Dream #44)[1], NFT (487797507282550843/Aku World Avatar #75)[1]

08202697                              CUSDT[4], ETH[.00825976], ETHW[.0081581], MATIC[33.36689722], USD[0.11]                                                                                                           Yes

08202698                              BRZ[1], CUSDT[5], SHIB[1], USD[0.00]

08202700                              USD[0.00], USDT[0]

08202703                              NFT (540076215155823094/Aku World: Dream #40)[1]

08202712                              NFT (431272414596613230/Aku World: Dream #34)[1]

08202715                              CUSDT[4], USD[0.39]

08202720                              USD[0.00]                                                                                                                                                                         Yes

08202734                              ETH[.00243389], ETHW[.00240653], USD[0.00]                                                                                                                                        Yes

08202737                              NFT (444110522498082391/Aku World: Miami #6)[1], NFT (554677806782933086/Aku World: Dream #41)[1]                                                                                 Yes

08202744                              ETH[0], SOL[0], USD[49.48], USDT[0.00000001]

08202745                              USD[841.35]                                                                                                                                                                       Yes

08202751                              AVAX[.82960864], BTC[.00000106], ETH[.00001356], ETHW[1.48370789], MATIC[126.07321565], SOL[1.69662144], USD[0.00], USDT[0]                                                       Yes

08202753                              NFT (514722503963331459/Aku World: Dream #64)[1]

08202759                              NFT (513277458596383758/Aku World Avatar #77)[1]

08202760                              NFT (343673765009343735/Aku World: Dream #62)[1]

08202765                              NFT (334564838221657059/Aku World: Dream #61)[1]

08202775                              ALGO[14.82766168], BTC[0.00000012], DOGE[2], GRT[382.38202013], PAXG[0.00247140], SHIB[1034379.69547316], SOL[.0000141], USD[0.00]                                                Yes

08202776                              BTC[.000544], ETH[.00784], ETHW[.00784]

08202779                              CUSDT[1], NFT (437141837381200941/Aku World: Dream #42)[1], SOL[.13192692], USD[0.00]                                                                                             Yes

08202782                              TRX[357.6599], USD[0.10]

08202784                              NFT (305689918203662581/Aku World: Dream #43)[1]

08202793                              DOGE[4721.1988217]

08202811                              BRZ[2], BTC[.01406214], CUSDT[2], DOGE[105.73083019], ETH[.01425445], ETHW[.01407661], SHIB[1], USD[542.51]                                                                       Yes

08202813                              USD[2.86]                                                                                                                                                                         Yes

08202815                              USD[2.48]

08202819                              BTC[.00001097], GRT[1], SHIB[2], USD[0.00]                                                                                                                                        Yes

08202822                              USD[0.00], USDT[0]

08202830                              NFT (411260466615539711/Aku World: Dream #88)[1]

08202845                              NFT (535288428103696428/Aku World: Dream #89)[1]

08202848                              CUSDT[2], DOGE[1], USD[0.00]                                                                                                                                                      Yes

08202851                              USD[30.00]

08202855                              USD[0.00]

08202870                              NFT (573105748850628500/Cal Bears Super Oski Scavenger Hunt #26)[1]

08202878                              NFT (448897614224361266/Aku World: Dream #48)[1], NFT (543425513296918354/Aku World Avatar #74)[1]

08202897                              ETH[.10024351], ETHW[.10024351], USD[36.00]

08202902                              USD[10.00]

08202903                              NFT (330124523349473647/Aku World: Dream #51)[1]

08202909                              BTC[.00000001], ETH[0], ETHW[0], USD[0.00]

08202913                              NFT (563876624737965766/Aku World: Dream #54)[1]

08202914                              NFT (469294614292154965/Aku World: Dream #53)[1]

08202923                              NFT (504386424912312471/Aku World Avatar #83)[1]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08202924                              BTC[0], DOGE[0], SHIB[0], SOL[.01998], TRX[0.00488402], USD[13.28]

08202934                              BRZ[1], BTC[.00474621], CUSDT[1], ETH[.03056769], ETHW[.03018465], SOL[.20052894], TRX[1], USD[0.00]                                                                                     Yes

08202935                              NFT (330137067923303312/Aku World Avatar #80)[1]

08202946                              BTC[.0088], DOGE[240.23686565], USD[2.94]

08202959                              USD[107.67]                                                                                                                                                                              Yes

08202961                              NFT (341671107039330326/Aku World: Dream #52)[1]

08202962                              USD[0.01]

08202966                              BRZ[2], DOGE[6.00038359], GRT[2.00109619], SHIB[2], TRX[3], USD[0.00]                                                                                                                    Yes

08202970                              BTC[.00062006], USD[0.00]

08202973       Contingent, Disputed   NFT (461225456202962791/Aku World Avatar #85)[1]

08202979                              DOGE[103.9532263], USD[0.57]

08203008                              NFT (471992343376242002/FTX - Off The Grid Miami #580)[1]

08203012                              BRZ[1], CUSDT[2], DOGE[4], ETH[0], ETHW[0], NFT (561590014335473288/Solninjas #399)[1], NFT (563670050404017573/Marcus Allen's Playbook: Los Angeles Raiders vs. Washington - January 22, Yes
                                      1984 #93)[1], SHIB[4], USD[0.00]
08203013                              CUSDT[3], USD[0.00]                                                                                                                                                                       Yes

08203030                              BTC[.00028393], CUSDT[4], DOGE[294.04564717], SHIB[3], SOL[.11879804], USD[332.88]                                                                                                       Yes

08203039                              USD[10.00]

08203041                              NFT (478024929883765024/Aku World: Dream #83)[1]

08203049                              NFT (510605638167426595/Aku World: Dream #160)[1]

08203056                              NFT (460966622135832761/Aku World: Dream #56)[1]

08203057       Contingent, Disputed   USDT[0.00000067]

08203058                              NFT (512061650929489495/Aku World Avatar #86)[1]

08203063                              NFT (335593579118110903/Aku World: Dream #57)[1]

08203064                              USD[1.19]

08203066                              NFT (549650098497545405/Aku World: Dream #60)[1], NFT (560412818604003179/Aku World Avatar #111)[1]

08203072                              USD[0.00]

08203082                              NFT (316796235974898750/Aku World: Dream #58)[1]

08203084                              NFT (540835890226991865/Aku World: Dream #59)[1]

08203092                              NFT (453355941995231543/Cal Bears Super Oski Scavenger Hunt #30)[1]

08203099                              SHIB[1], USD[59.53]                                                                                                                                                                      Yes

08203106                              LINK[10], LTC[4], SOL[3], USD[39.50], USDT[1]

08203112                              BRZ[1], USD[0.00]

08203114                              LTC[.15], USDT[.477786]

08203117                              BTC[.0152], USDT[.4063356]

08203120                              AAVE[.28247733], ALGO[83.02757842], AVAX[2.74910553], BAT[27.42663002], BF_POINT[300], BTC[.00684392], DOGE[183.89124545], ETH[.04948179], ETHW[1.01213692], GRT[484.65514621],          Yes
                                      LINK[6.27121772], LTC[1.02162154], MATIC[31.72264217], NEAR[2.94588784], NFT (329825362109697616/Founding Frens Investor #311)[1], NFT (399605230808242205/Founding Frens Lawyer
                                      #698)[1], NFT (423685969304717690/Founding Frens Investor #644)[1], NFT (450708391329500967/Barcelona Ticket Stub #257)[1], NFT (498052109059927990/Imola Ticket Stub #2098)[1],
                                      SHIB[9580461.50178154], SOL[8.76138222], SUSHI[9.30166224], TRX[3], USD[0.00], USDT[0.00000001]
08203127                              BAT[.00003563], BRZ[7.36953445], BTC[0.00017566], CUSDT[5], DOGE[15.58432838], ETH[0], GRT[11.54719635], LINK[.00000711], MATIC[0], SHIB[6], SOL[0], SUSHI[1.03731618],                  Yes
                                      TRX[19.00280276], USD[0.00], USDT[4.23412687]
08203130                              ETH[.00001063], ETHW[1.16354314]                                                                                                                                                         Yes

08203132                              GBP[1.25], SOL[.00000046], USD[0.00], USDT[0], YFI[.00026408]                                                                                                                            Yes

08203135                              CUSDT[2], USD[0.00], USDT[0]

08203137       Contingent, Disputed   USD[2050.81]                                                                                                                                                                             Yes

08203139                              CUSDT[1], SHIB[2410219.32995902], USD[0.00]

08203153                              BTC[0], DOGE[0], SHIB[0], SUSHI[0], USD[0.00]

08203167                              NFT (439333280785659898/Aku World: Dream #97)[1], NFT (508014775574474588/Aku World Avatar #98)[1]

08203171                              BRZ[1], CUSDT[1], MATIC[112.89037568], SOL[4.18949579], TRX[1], USD[0.06]                                                                                                                Yes

08203173                              USD[1.00]

08203174                              USD[0.82]
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                                                                                                                 F-3: Nonpriority    06/27/23
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                                                                                                                                            Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08203178                              ALGO[.00205277], AVAX[0.00015464], BAT[.00016752], BTC[0], DOGE[1], ETHW[.0000011], GRT[22.46017314], NEAR[.00002695], NFT (290140715715090002/Soulless #6661)[1], NFT                    Yes
                                      (294654455010695045/APEFUEL by Almond Breeze #106)[1], NFT (295640049265334271/Zombie Sam)[1], NFT (298292119794958432/Ukraine#1)[1], NFT (310571861120701210/Toasty Turts
                                      #1207)[1], NFT (322958213418533594/Munk #1215)[1], NFT (324008554173125756/Fancy Frenchies #8597)[1], NFT (324008756984075324/Anti Artist #624)[1], NFT (326319771025043347/Art of Soul
                                      #4)[1], NFT (326606254840170924/SolSister #05989)[1], NFT (328194992352448236/ApexDucks #7064)[1], NFT (336253984590688525/ApexDucks Halloween #144)[1], NFT
                                      (338358712928794071/#49)[1], NFT (344021246988180236/Boneworld #195)[1], NFT (347511590469645877/Anti Social Bot #3172)[1], NFT (348722091676844258/Geraldine1018)[1], NFT
                                      (349122437621716090/#6280)[1], NFT (350203750588784587/SolDoge Strays #412)[1], NFT (350463105119361275/Astral Apes #481)[1], NFT (358186227547010599/Panda Fraternity #4914)[1], NFT
                                      (358845472210404646/GG #09)[1], NFT (360598371368943672/Gangster Gorillas #4580)[1], NFT (362318271276424771/#6418)[1], NFT (367471774731590208/DRIP NFT)[1], NFT
                                      (369416692703312736/Toasty Turts #4233)[1], NFT (372777980665443532/2D SOLDIER #1036)[1], NFT (377096555231775805/Settler #299)[1], NFT (380225389687942348/Gangster Gorillas
                                      #9750)[1], NFT (381864217771984477/Solrise Of Robots #7)[1], NFT (382491230323283187/Barcelona Ticket Stub #1392)[1], NFT (393647415272966031/Sketchy Sam)[1], NFT
                                      (403321959161309014/The Hellions #2439)[1], NFT (416080357659822701/Anti Social Bot #233)[1], NFT (418723876926202818/Soulless #8896)[1], NFT (419751006973258615/Eitbit Ape #6079)[1],
                                      NFT (421125421446283879/David #326)[1], NFT (421718121177685457/Gangster Gorillas #6320)[1], NFT (423543156006700770/Ravager #1415)[1], NFT (428014973420109257/Space Bums
                                      #7333)[1], NFT (428845982737175539/Settler #2607)[1], NFT (432181267479356962/Elysian - #4775)[1], NFT (436694154856212647/Animal Gang #32)[1], NFT (440004099177518248/Dancing
                                      Skeleton #6)[1], NFT (442840535026172205/Soulless #5766)[1], NFT (444585575833116196/Serious Clown)[1], NFT (447399275780855320/1ST.EDDY-three skulls predictions 2022)[1], NFT
                                      (447815625990347393/ALPHA:RONIN #623)[1], NFT (450212837121688654/Dancing Skeleton #7)[1], NFT (459661491564669078/Robot Samurai)[1], NFT (461879943722133762/NFT)[1], NFT
                                      (465381140267113980/3D SOLDIER #53)[1], NFT (468988400700746693/Cyber Pharmacist 0137)[1], NFT (469075717325615730/Animal Gang #304)[1], NFT (476961283652162085/Dark6)[1], NFT
                                      (477021171672155894/SolDad #1764)[1], NFT (477545884221917795/Ravager #1425)[1], NFT (479562080435766090/Astral Apes #929)[1], NFT (482752041382954030/ApexDucks #2870)[1], NFT
                                      (486736301341842864/SOL 1ST.EDDY-PREDICTOR DAVID #2)[1], NFT (499180361780749795/Cyber Technician 3009)[1], NFT (502764889497318708/Mr. Skull #44)[1], NFT
                                      (507993331335200330/NY)[1], NFT (519399054238264218/Panda Fraternity #633)[1], NFT (520548944669511562/Bird Sanctuary)[1], NFT (521935768899269790/Astral Apes #437)[1], NFT
                                      (531990604011287969/Citizen 6#331)[1], NFT (537260880928224959/Miami Ticket Stub #3)[1], NFT (544031788509340252/Gangster Gorillas #3884)[1], NFT (550320914161197507/3D CATPUNK
                                      #159)[1], NFT (550765291723679762/Naked Meerkat #3994)[1], NFT (553621197715665928/Ape MAN#085)[1], NFT (555571293709598953/Lunarian #1944)[1], NFT (570153711732953702/Careless
                                      Cat #530)[1], NFT (571209396048686328/Metabaes #2444)[1], NFT (572001055944114048/Roamer #409)[1], NFT (575347857610138055/Dark#3)[1], SHIB[35], SOL[0.00000244], SUSHI[1.00971815],
                                      TRX[.00143652], USD[0.02], USDT[0]
08203205                              NFT (321201317095360694/Aku World Avatar #116)[1], NFT (505423852595744560/Aku World: Dream #123)[1]

08203210                              NFT (375357187043707789/Aku World: Dream #67)[1]

08203215       Contingent, Disputed   USDT[0]

08203219                              USD[10.00]

08203220                              BTC[0.05871924], USD[0.00]

08203232                              NFT (486831325552824147/Aku World: Dream #70)[1]

08203234                              USD[0.00]

08203250                              NFT (566917663596752485/Aku World Avatar #113)[1]

08203258                              USD[0.00]

08203259                              USD[100.00]

08203269                              NFT (307426487679870858/Crypto Skull Avatar #6)[1], NFT (311659262884867087/Crypto Skull Avatar #5)[1], USD[12.04]                                                                        Yes

08203280                              NFT (472050696052667637/Aku World: Dream #71)[1]

08203292                              ETH[.12599887], ETHW[.12599887], TRX[1], USD[0.00]

08203302                              CUSDT[0], USD[0.00]                                                                                                                                                                       Yes

08203303                              SOL[.00071989], USD[0.40]

08203304                              CUSDT[2], ETH[0], KSHIB[0], MATIC[0], SHIB[2], SOL[0], USD[12.84], USDT[0.00000111]                                                                                                       Yes

08203305                              USD[0.00], USDT[0]

08203307                              BRZ[3], CUSDT[33], USD[0.00]                                                                                                                                                              Yes

08203309                              USD[0.00]                                                                                                                                                                                 Yes

08203320                              NFT (558051880877210826/Aku World: Dream #72)[1]

08203322                              NFT (376915863343267037/Aku World: Dream #73)[1]

08203327                              ETH[0.00000001], ETHW[0.00000001], LINK[0], MATIC[0], UNI[0], USD[0.00], YFI[0.00000015]                                                                                                  Yes

08203332                              SOL[4.579981], USD[10.58]

08203346                              CUSDT[3], KSHIB[610.20096836], USD[0.36]

08203348                              BTC[0.00012333], DOGE[.6434], ETHW[.94809515], SOL[.0066015], USD[2222.82]

08203353                              CUSDT[1], DOGE[1], USD[0.00]

08203355       Contingent, Disputed   AUD[0.00], BTC[0.00013258], CUSDT[0], ETH[0.00305158], ETHW[0.00301054], SOL[0.04518840], USD[0.00]                                                                                       Yes

08203375                              USD[0.00]

08203376                              USD[120.65]

08203379                              USD[0.00], USDT[1.21373814]

08203381                              BTC[0], USD[0.00], WBTC[0.00100000]

08203383                              CUSDT[1], USD[0.00], USDT[0]                                                                                                                                                              Yes

08203386                              USD[0.00]

08203393                              NFT (533496657212215920/FTX - Off The Grid Miami #5843)[1]

08203395                              USD[0.00]
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                                                                                                                                             Customer Claims                                                                                                                     22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or         Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08203400      Contingent, Disputed     NFT (297423808570864466/FTX grid)[1], NFT (297496170480639310/The Square)[1], NFT (308971053360208381/FTX .)[1], NFT (310367147011264210/Planet FTX)[1], NFT
                                       (331332358529451835/Fewer corner )[1], NFT (333244338962524959/Unity is strength)[1], NFT (337022959391677114/speed, growth and flexibility 3D )[1], NFT (349262275629748098/FTX bubble)[1],
                                       NFT (355864755046459025/FTX neon sign)[1], NFT (363143908885640237/Stacking of boxes)[1], NFT (364629316692457147/The arrow )[1], NFT (369586054735309122/FTX QR)[1], NFT
                                       (375812794296993433/Infinite particles)[1], NFT (382480047497030819/Hidden F)[1], NFT (389542213890883535/Ethnic style logo)[1], NFT (393248798345889754/Speed, growth and flexibility)[1], NFT
                                       (397715127663421774/Multilevel logo)[1], NFT (417960735594872640/The cube)[1], NFT (426151959210010641/A house is built one brick at a time)[1], NFT (439191159607494908/Vertical Glitch)[1],
                                       NFT (440833133907404211/to play or not to play?)[1], NFT (443113730107934560/FTX rounded 3d logo)[1], NFT (444767408597862731/The 3 bars)[1], NFT (445950270832702104/the diamond)[1],
                                       NFT (445992547107945102/Sounds good)[1], NFT (453645024993060200/F T X - BIG TITLE)[1], NFT (462870581864826890/FTTree)[1], NFT (467271592016087141/FTX Shapes)[1], NFT
                                       (467308541899751957/FTX Theater)[1], NFT (475547306025584650/Logo remix - 2 lines)[1], NFT (477300760862957405/The ball)[1], NFT (477361552544494904/Semicircle FTX logo)[1], NFT
                                       (489148095422420016/Future FTX workers)[1], NFT (494911627145320088/Tetris Logo)[1], NFT (496877759097784930/The Mirror)[1], NFT (497605129313737332/memories of a child)[1], NFT
                                       (498770639058194471/All around FTX)[1], NFT (499972836165939329/FTX Bar chart logo)[1], NFT (500621865489279773/A smooth FTX logo)[1], NFT (502816889640628986/FT Speed)[1], NFT
                                       (505837829900647085/Big wave)[1], NFT (506258248921091088/AERODYNAMICS)[1], NFT (508173671008301611/Light mode)[1], NFT (510545528895012315/Glitch effect)[1], NFT
                                       (515700536847211448/Art and glows)[1], NFT (516644909099011041/Logo remix - FTX colors)[1], NFT (519360534261853904/roundish)[1], NFT (528458319954031205/Sweet tinge)[1], NFT
                                       (531075223652864288/The name has its importance)[1], NFT (534884261206884878/FTX flag)[1], NFT (538298528890566676/hey, there are some pixels missing)[1], NFT (539103988323412698/The
                                       Automaton)[1], NFT (539914523725661983/The periodic table of NFTs)[1], NFT (543866227296564864/The edges in the foreground)[1], NFT (545170686119643898/X- ROBOT)[1], NFT
                                       (547228004868168489/FTTrip)[1], NFT (556907887195538625/half letters)[1], NFT (558033061973396536/FTX tech logo)[1], NFT (560237865410821893/From the darkness)[1], NFT
                                       (570407346696998739/FTX Stairs)[1], NFT (572248324838243146/Multilayer)[1], NFT (572562256172002917/A mysterious light from the red cube)[1], NFT (574855369543919859/The Spiral)[1], NFT
                                       (575227714213590651/FTX gallery)[1], USD[0.91]
08203401                               USD[10.55], USDT[0]

08203404                               USD[3.79]

08203407                               NFT (293042515429807372/Unity #40)[1], NFT (389507896086719312/Unity #50)[1], NFT (402455243323957485/Unity #16)[1], NFT (437100049257762317/Unity #25)[1], NFT
                                       (442696494855077726/Unity #80)[1], NFT (455390938447740110/Unity #103)[1], NFT (527767101004725077/Unity #112)[1], NFT (561560712307797565/Unity #123)[1], NFT
                                       (562010523165871418/Unity #45)[1]
08203408                               USD[1.41]

08203409        Contingent, Disputed   NFT (514326772787752245/Unity #465)[1], USD[18.73]

08203416                               USD[100.00]

08203418        Contingent, Disputed   USD[0.00], USDT[0]

08203420                               NFT (291500473945260733/Unity #238)[1], NFT (294138590572663873/Unity #481)[1], NFT (314714596161949167/Unity #211)[1], NFT (326397514747819536/Unity #298)[1], NFT
                                       (327210983720533467/Unity #356)[1], NFT (338413835802661634/Unity #311)[1], NFT (342646120512905834/Unity #248)[1], NFT (353823472806419352/Unity #398)[1], NFT
                                       (357136003839823621/Unity #193)[1], NFT (366190807870104993/Unity #232)[1], NFT (374065123190200694/Unity #261)[1], NFT (388140144219075756/Unity #207)[1], NFT
                                       (391372713860194867/Unity #250)[1], NFT (408880445048923221/Unity #227)[1], NFT (410806771586783973/Unity #325)[1], NFT (420300578177234968/Unity #208)[1], NFT
                                       (427799468162773900/Unity #353)[1], NFT (430419108922586585/Unity #455)[1], NFT (460163360426791720/Unity #482)[1], NFT (463196779023512273/Unity #308)[1], NFT
                                       (472768149535669505/Unity #196)[1], NFT (511336573048516654/Unity #464)[1], NFT (520391363752855096/Unity #323)[1], NFT (527980582582257587/Unity #307)[1], NFT
                                       (566211638965026659/Unity #255)[1], USD[0.00], USDT[0.00000001]
08203421                               USD[150.00]

08203425                               NFT (469072113807360793/Unity #90)[1], NFT (553127215253092957/Unity #385)[1], SOL[0], USD[226.60]

08203428                               NFT (290003905406266570/StarAtlas Anniversary)[1], NFT (296255251116133380/StarAtlas Anniversary)[1], NFT (310048565586125459/StarAtlas Anniversary)[1], NFT
                                       (359544748995201976/StarAtlas Anniversary)[1], NFT (425298739286120833/StarAtlas Anniversary)[1], NFT (436897864372727143/Imola Ticket Stub #550)[1], NFT (479009173465910226/StarAtlas
                                       Anniversary)[1], NFT (501564921850221909/Unity #231)[1], NFT (529140982241768918/StarAtlas Anniversary)[1], NFT (566078754505994199/StarAtlas Anniversary)[1], SOL[1.27610547], USD[0.00]

08203435                               ETH[.242], ETHW[.242], SOL[2.55452132], USD[0.00]

08203437                               BTC[.000058], ETH[.000819]

08203443                               USD[0.00], USDT[0.00000108]

08203444                               USD[130.00]

08203445                               USD[0.00], USDT[0.39487321]

08203447                               NFT (427603802382724153/Unity #213)[1], USD[80.01]

08203448                               USD[1.55], USDT[0]

08203449                               USD[5.00]

08203451                               USD[0.00]

08203452                               USD[200.01]

08203454                               USD[1.14]

08203455                               USD[0.00], USDT[0]

08203458        Contingent, Disputed   USD[0.00], USDT[0]

08203462        Contingent, Disputed   NFT (308749691432306059/FTX - Off The Grid Miami #6654)[1]

08203465                               SOL[0], USD[4.00]

08203468                               SOL[.00086], USD[3.06]

08203473                               USD[0.63]

08203475                               USD[0.00]

08203477                               BTC[.01995983], USD[0.00]

08203478                               BTC[.00100644], CUSDT[1], USD[94.63]                                                                                                                                                              Yes

08203480        Contingent, Disputed   USD[0.00], USDT[94.40265492]

08203485                               NFT (328650936344115617/Microphone #6791)[1], NFT (338349840653483237/Imola Ticket Stub #1065)[1], NFT (372107372010986125/The Hill by FTX #3897)[1], NFT (390087472813095384/FTX -
                                       Off The Grid Miami #758)[1], NFT (517983748515284543/Unity #44)[1], NFT (569450129229844206/FTX Crypto Cup 2022 Key #1424)[1]
08203486                               LTC[0], SOL[0], USD[0.00], USDT[0]

08203487                               USD[0.00]

08203491                               NFT (331135164920029430/MagicEden Vaults)[1], NFT (383696834158574172/MagicEden Vaults)[1], NFT (450777592919515818/MagicEden Vaults)[1], NFT (469215739330496364/MagicEden
                                       Vaults)[1], NFT (530790826347392812/MagicEden Vaults)[1]
08203492                               CUSDT[1], MATIC[.00052862], USD[0.00]                                                                                                                                                             Yes

08203493                               USD[0.00]

08203494                               BTC[.01871708], DOGE[3], SHIB[3], TRX[3.000026], USD[234.21], USDT[21.54003906]                                                                                                                   Yes

08203497                               USD[0.00], USDT[0.00000089]

08203498                               LTC[0], TRX[0], USD[0.00], USDT[0]
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08203499                              SOL[0.00042779]

08203511                              CUSDT[2], SHIB[5.42290857], SOL[0], USD[0.00]                                                                                                                                           Yes

08203512                              NFT (411573875750333178/Unity #366)[1], USD[1.59], USDT[0]

08203513                              USD[40.68]

08203516                              BTC[.00218308], ETH[.00234267], ETHW[.00234267], TRX[2.99589188], USD[0.00], USDT[0]

08203518       Contingent, Disputed   NFT (508329365084094284/Unity #228)[1], USD[0.24]

08203523       Contingent, Disputed   USD[0.01], USDT[.6811218]

08203524                              NFT (305396723676518508/StarAtlas Anniversary)[1], NFT (379074675772124093/Unity #399)[1], NFT (396847302764449698/StarAtlas Anniversary)[1], NFT (408831861101662986/Unity #344)[1],
                                      NFT (420162197345790679/StarAtlas Anniversary)[1], NFT (430163121991290764/Unity #81)[1], NFT (484488160622220021/StarAtlas Anniversary)[1], NFT (492879928923536738/StarAtlas
                                      Anniversary)[1], NFT (520998807702364459/StarAtlas Anniversary)[1], NFT (548457137277460437/StarAtlas Anniversary)[1], USD[646.35]
08203525                              NFT (300711325003656792/Cosmic Sounds)[1], NFT (571673567299896017/Aku World: Dream #75)[1]

08203526                              NFT (329318684536563233/Unity #286)[1], NFT (347985870379190043/Unity #205)[1], NFT (348577740242327866/Unity #35)[1], NFT (390915914610133327/Unity #226)[1], NFT
                                      (417578192189160137/Unity #36)[1], NFT (429163785329944140/Unity #263)[1], NFT (487738572137775177/Unity #38)[1], NFT (511573257879311820/Unity #219)[1], NFT
                                      (528735617252053903/Unity #239)[1], NFT (550636890170484283/Unity #281)[1], NFT (569983670177374326/Unity #283)[1]
08203530                              SHIB[1361161.99947657], USD[0.00]

08203531                              USD[0.00]

08203535                              CUSDT[4], LINK[.00000825], TRX[.00291173], USD[2.56]                                                                                                                                    Yes

08203541                              NFT (544117536145690939/Aku World: Dream #76)[1]

08203542                              USD[0.00]

08203543                              SOL[.04], USD[11.50]

08203546                              SOL[.087026]

08203547                              NFT (427087702668945050/Aku World: Dream #78)[1]

08203549                              ETH[.00047035], ETHW[.00047035], SOL[.00000002], USD[1.37], USDT[0.00000001]

08203551                              NFT (417394531442923008/Refined Fire Crystal)[1]

08203552                              SOL[0], USD[0.00]

08203553                              USD[7.38]

08203556                              USD[7.03]

08203558                              NFT (437997551741638849/Aku World: Dream #79)[1], USD[42.90]                                                                                                                            Yes

08203563                              USD[5.01]

08203570       Contingent, Disputed   NFT (418842296956144732/Aku World Avatar #128)[1]

08203571                              NFT (470866904904422496/Aku World Avatar #117)[1]

08203572                              NFT (575730372042536208/Unity #245)[1], SOL[.01301447], USD[0.00]

08203580                              ETHW[.666], USD[3.72]

08203583       Contingent, Disputed   SHIB[216815.22524692], USD[0.00]

08203586                              USD[0.00]

08203589                              USD[10.00]

08203594                              NFT (361081513994489111/Aku World: Dream #77)[1]

08203598                              USD[0.00]

08203599                              CUSDT[1], LINK[12.79796329], USDT[0.00000002]                                                                                                                                           Yes

08203606                              USD[0.41], USDT[0]

08203607                              USD[10.56], USDT[0]

08203615                              NFT (308330509687290531/MagicEden Vaults)[1], NFT (399217816201507580/Unity #300)[1], NFT (487380311776365177/MagicEden Vaults)[1], NFT (498745057119885149/MagicEden Vaults)[1],
                                      NFT (503372830234772673/MagicEden Vaults)[1], NFT (533958581275315596/MagicEden Vaults)[1]
08203617                              NFT (400289884167604291/Unity #317)[1]

08203620                              USD[0.00]                                                                                                                                                                               Yes

08203626                              ETHW[.05662931], USD[0.00]

08203636                              USD[0.00]

08203637                              NFT (420475555040784879/Aku World Avatar #164)[1]

08203657                              NFT (327461946608944995/Imola Ticket Stub #587)[1], NFT (361213992013914830/FTX - Off The Grid Miami #679)[1], NFT (509117511658285691/The Hill by FTX #3889)[1], NFT
                                      (531075255505124159/Microphone #5861)[1], SOL[.05794917], USD[0.23]
08203658                              USD[0.00]

08203660                              NFT (473638750979661794/Aku World: Dream #94)[1]

08203667                              USDT[0]

08203668                              NFT (399825954552287866/Aku World: Dream #98)[1]

08203670                              NFT (318990059233325953/Space Dream #14)[1], NFT (411064314430625655/Unity #258)[1], NFT (440544714972418909/Birthday Cake #2085)[1], NFT (531566960590819809/2974 Floyd Norman -
                                      CLE 5-0168)[1], NFT (542787489607867060/The 2974 Collection #2085)[1], USD[14.40]
08203672                              ETH[.000978], ETHW[.000978], SHIB[97500], USD[0.18]

08203679                              USD[0.00]

08203680                              NFT (401233992846101100/Aku World: Dream #80)[1]

08203686                              NFT (322466802938195114/MagicEden Vaults)[1], NFT (323709101946488706/MagicEden Vaults)[1], NFT (485930534639574490/MagicEden Vaults)[1], NFT (496314265563870091/MagicEden
                                      Vaults)[1], NFT (553114196366880918/MagicEden Vaults)[1], USD[0.00]
08203691                              BF_POINT[300], BRZ[1], BTC[.00006169], CUSDT[35], DOGE[2], ETH[.0002585], ETHW[.2232585], NFT (304936125467630239/Barcelona Ticket Stub #73)[1], NFT (380540220523237910/Humpty
                                      Dumpty #51)[1], NFT (396284249541143467/FTX - Off The Grid Miami #5823)[1], NFT (459095446014066518/Series 1: Capitals #512)[1], NFT (477410690663424338/Entrance Voucher #29655)[1],
                                      NFT (477429397315739734/Series 1: Wizards #483)[1], SHIB[11], SOL[.12950447], TRX[4], USD[3.48]
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                                                                                                Amended Schedule            Filed
                                                                                                                 F-3: Nonpriority    06/27/23
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                                                                                                                                            Customer Claims                                                                                                       22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08203692                              AAVE[3.96071119], AVAX[.7749104], BAT[204.95750809], BF_POINT[100], BRZ[9.35700407], BTC[.31202094], CUSDT[208.30204561], DAI[106.01207557], DOGE[32.52912758], ETH[4.18868579],    Yes
                                      ETHW[3.55927692], GRT[1508.30690583], LINK[41.07491664], MATIC[3276.40950069], MKR[.00654263], SHIB[338], SUSHI[61.04951024], TRX[40.30820683], UNI[31.33126976], USD[75.92],
                                      USDT[1.06932912]
08203698                              NFT (422049205959972267/Aku World: Dream #93)[1]                                                                                                                                    Yes

08203701                              NFT (324955025598461833/Aku World: Dream #86)[1]

08203705                              BCH[.28345338], CUSDT[2], SHIB[1], TRX[1], USD[0.00]                                                                                                                                Yes

08203706       Contingent, Disputed   USD[0.00]

08203708                              USD[0.43]

08203709                              NFT (317068067084476361/Aku World: Dream #87)[1]

08203725                              NFT (410846147941241813/Motunrayo)[1], NFT (477579265218485504/jaune)[1], NFT (515475999436394356/yellow)[1], USD[1.95], USDT[0]

08203726                              NFT (485819102289515947/Golden Beuty #001)[1], USD[13.61]                                                                                                                           Yes

08203727                              SOL[.0029], USD[0.01]

08203731                              NFT (458694184949732807/Aku World: Dream #96)[1]

08203739                              SHIB[0], TRX[0], USD[0.00]                                                                                                                                                          Yes

08203741       Contingent, Disputed   NFT (299823831357632916/MagicEden Vaults)[1], NFT (316325939069040754/MagicEden Vaults)[1], NFT (336157600435813486/MagicEden Vaults)[1], NFT (371323898869193715/MagicEden
                                      Vaults)[1], NFT (471052972082138900/MagicEden Vaults)[1]
08203743       Contingent, Disputed   DOGE[32.70039850], ETH[0], LTC[0], MATIC[7.97274558], SHIB[278506.86578993], SOL[0.02303008], USD[0.00]

08203746                              USD[0.00]

08203748                              USD[93.86]

08203749                              DOGE[132.7435515], ETH[.02756583], ETHW[.02722383], SHIB[702174.1576911], SOL[1.29830704], USD[0.00]                                                                                Yes

08203751                              USD[100.00]

08203757                              SOL[2.83224], USD[0.00]

08203759                              NFT (573318573127345686/Aku World: Dream #92)[1]

08203760       Contingent, Disputed   USD[0.00], USDT[0]

08203761                              NFT (322337026693226861/Unity #224)[1], NFT (430269651244695385/Unity #203)[1], NFT (530486752333025714/Unity #254)[1], NFT (540932363829430675/Unity #492)[1], SOL[.43506149],
                                      USD[0.97]
08203762                              BTC[.00018604], USD[0.00]

08203763                              USD[50.01]

08203764       Contingent, Disputed   USD[0.00]

08203765                              NFT (528022367826544391/Aku World: Dream #134)[1]

08203768                              SOL[.11945366], USD[0.00]

08203771                              USD[0.00], USDT[8.6]

08203778                              SOL[.00009373], USD[0.00]

08203780                              AAVE[0], CUSDT[5], DOGE[2], GRT[0], SHIB[1992801.74759376], SOL[0.12621035], UNI[.00000908], USD[0.00]                                                                              Yes

08203781                              ETH[0], USD[2.89]

08203782                              USD[2.00]

08203791       Contingent, Disputed   USD[20000.00]

08203795                              EUR[0.00], USD[0.00]

08203797                              NFT (306898973863801191/2021 Sports Illustrated Awards #18)[1], NFT (313472984159737914/MagicEden Vaults)[1], NFT (322043503114380162/MagicEden Vaults)[1], NFT
                                      (347349557805467814/MagicEden Vaults)[1], NFT (417475641099614090/You in, Miami? #415)[1], NFT (489454550433003230/SBF Hair & Signature #3 #106)[1], NFT
                                      (505968402384535765/MagicEden Vaults)[1], NFT (525837625288251829/SBF Hair & Signature #2 #135)[1], NFT (554647137160922575/SBF Hair & Signature #1 #111)[1], NFT
                                      (559692803141003943/MagicEden Vaults)[1], NFT (574801859526903566/SBF Hair & Signature #1 #118)[1], NFT (575105200310674366/You in, Miami? #284)[1], USD[1.00]
08203799                              USD[0.00]

08203811                              AAVE[.006648], BTC[0], DOGE[.788], ETH[.00025], ETHW[.00025], GRT[.765], KSHIB[1.56], LTC[.005718], SUSHI[.0868], UNI[.09572], USD[103.61]

08203813                              CUSDT[2], DOGE[1], TRX[1], USD[0.00]                                                                                                                                                Yes

08203815                              USDT[0]

08203817                              BTC[.00031747], CUSDT[2], ETH[.00423407], ETHW[.00417935], USD[0.00]                                                                                                                Yes

08203818                              USD[500.01]

08203830                              TRX[1], USD[0.00]

08203831                              USD[0.00]

08203832                              NFT (403546711128875186/Coachella x FTX Weekend 1 #30703)[1], NFT (570891657557791261/Aku World: Dream #91)[1]

08203841                              SHIB[1], USD[0.00]                                                                                                                                                                  Yes

08203845       Contingent, Disputed   BTC[.0928071], USD[24.74]

08203848                              USD[5.00], USDT[2]

08203852                              NEAR[7.88614059], USD[0.00]

08203853                              NFT (506264447389396645/The Hill by FTX #2312)[1], USD[0.00], USDT[0]

08203854                              NFT (370262081583110043/MagicEden Vaults)[1], NFT (394962575531202207/MagicEden Vaults)[1], NFT (408877260848090403/Unity #165)[1], NFT (441269665519261863/MagicEden Vaults)[1],
                                      NFT (479166065441417584/MagicEden Vaults)[1], NFT (500407106406372133/FTX - Off The Grid Miami #4221)[1], NFT (525600408265168039/The Hill by FTX #91)[1], NFT
                                      (532599431147814051/MagicEden Vaults)[1], NFT (553852877099691528/Bahrain Ticket Stub #6)[1], NFT (558029836704479176/FTX - Off The Grid Miami #5882)[1], USD[0.00]
08203855                              BTC[.08828543], ETH[.00000001], ETHW[0], USD[16.56]

08203856       Contingent, Disputed   SOL[.3996], USD[0.00], USDT[2.07710176]

08203865                              NFT (540091956001132178/Coachella x FTX Weekend 2 #23779)[1], TRX[338.64006807], USD[0.00]                                                                                          Yes

08203871                              USD[0.36]
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                                                                                                                                            Customer Claims                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08203873                              USD[0.00]

08203874                              NFT (498552076198360948/Aku World: Dream #99)[1]

08203879                              AAVE[0], BAT[0], BCH[0], BRZ[0], BTC[0], CUSDT[2], DAI[0], DOGE[0], ETH[0], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], MKR[0], SOL[0], TRX[0], USD[0.01]   Yes

08203885                              NFT (417301414317832003/Aku World: Dream #95)[1]

08203886       Contingent, Disputed   NFT (330827822367087120/Lou)[1], NFT (390371600414795921/Lou #2)[1], NFT (489237666583521880/12th Street)[1], USD[27.00]

08203903                              BTC[.00002542], USD[0.00]                                                                                                                                    Yes

08203912                              USD[0.00]

08203925                              NFT (560959377462296026/Miami Ticket Stub #243)[1]

08203931                              ETH[0], SOL[0], USD[0.00]

08203936                              LINK[4.82680545], SOL[5.38595001]                                                                                                                            Yes

08203938                              NFT (528099314257440043/Aku World: Dream #100)[1]

08203940       Contingent, Disputed   NFT (460378364819744177/Aku World: Dream #118)[1]

08203945                              NFT (499704102069550391/Aku World: Dream #105)[1]

08203948       Contingent, Disputed   ETH[.0009], ETHW[.0009], MATIC[2300.85], SUSHI[.329], USD[471.68]

08203958                              NFT (370005810330721187/Cal Bears Super Oski Scavenger Hunt #25)[1]

08203960                              CUSDT[903.58694958], KSHIB[729.8430132], TRX[1], USD[0.01]

08203966                              MATIC[359.72], SOL[10.70745], USD[0.93]

08203968                              NFT (549231960463003173/Aku World: Dream #102)[1]

08203973                              BTC[.01257017], USD[0.00], USDT[0.00021326]

08203974                              BRZ[1], SHIB[24], USD[0.00]                                                                                                                                  Yes

08203977                              NFT (398263638220057988/Aku World: Dream #106)[1]

08203980                              NFT (375369996369299679/Solninjas #5846)[1], SOL[0.00000001], USD[0.00]

08203984                              NFT (356981209061880218/Aku World: Dream #107)[1]

08203986                              SOL[.02402104], USD[0.00]                                                                                                                                    Yes

08203994                              CUSDT[4], SHIB[2], TRX[3], USD[0.01]                                                                                                                         Yes

08204001                              NFT (471340498468902910/Cal Bears Super Oski Scavenger Hunt #28)[1]

08204007       Contingent, Disputed   SOL[.00359717], USD[0.27]                                                                                                                                    Yes

08204008                              BAT[2.0682147], BRZ[1], BTC[.00000016], CUSDT[3], DOGE[1], LINK[42.7906759], TRX[4], USD[0.03], USDT[0.00776965]                                             Yes

08204016                              NFT (543183197351699021/Cal Bears Super Oski Scavenger Hunt #34)[1]

08204018                              NFT (385485752587840215/Cal Bears Super Oski Scavenger Hunt #32)[1]

08204026                              BRZ[1], BTC[.11475048], ETH[.11718301], ETHW[.11617614], SHIB[3], SOL[10.29647026], USD[0.00]                                                                Yes

08204027                              USD[0.00]

08204028                              NFT (328309764764770658/Aku World: Dream #108)[1], NFT (510399069856101543/Aku World: Miami #5)[1]

08204033                              NFT (314723142916664479/Aku World: Dream #112)[1]

08204039                              BAT[1], BRZ[3], CUSDT[6], GRT[1], TRX[6], USD[0.00]

08204042                              NFT (455460813490377994/Aku World: Dream #110)[1]

08204043                              BAT[0], SOL[0], TRX[0], USD[0.29]

08204053                              NFT (324248146956960272/Aku World: Dream #111)[1]

08204056                              ETHW[.00081937], USD[11676.13], USDT[0]                                                                                                                      Yes

08204060                              CUSDT[1], DOGE[1], USD[0.00], USDT[0]

08204068                              AVAX[.00007086], BRZ[1], DOGE[1], ETH[.00000043], ETHW[.04599275], SHIB[1], TRX[1], USD[40.10]                                                               Yes

08204076                              BTC[.00009266], USD[0.00]                                                                                                                                    Yes

08204080                              ALGO[.313723], USDT[1.1648135]

08204083                              USD[0.01], USDT[.1327524]

08204098                              ALGO[0], USD[5.29]                                                                                                                                           Yes

08204102                              BRZ[1], CUSDT[1], NFT (393891734071215257/BabyBlob #284)[1], NFT (571008006143048595/BabyBlob #111)[1], SOL[.06264185], USD[0.00]                            Yes

08204127                              DOGE[1], NFT (298338330792787311/Aku World: Dream #116)[1], NFT (322764858365555573/Aku World Avatar #114)[1], USD[0.01]

08204139                              CUSDT[1], USD[0.01]

08204140       Contingent, Disputed   SOL[12.33], USD[25.00]

08204149       Contingent, Disputed   USD[0.01]

08204157                              NFT (569024914350487602/Aku World: Dream #113)[1]

08204161                              BRZ[1], GRT[1], LTC[2.17939049], SHIB[2], USD[0.00]

08204164                              USD[300.00]

08204174                              NFT (305845152420337706/Aku World: Dream #114)[1], NFT (315657968695748344/FTX - Off The Grid Miami #106)[1], NFT (533442450905485727/Microphone #40)[1]

08204178                              USD[0.14]

08204181                              USD[0.00]

08204188                              SOL[.09955959], USD[0.00]

08204190                              NFT (543385892310175080/Aku World: Dream #115)[1]
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                                                                                                                                             Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08204195                              BTC[.0021643]                                                                                                                                                                          Yes

08204201                              AAVE[1.07790834], BTC[.00334873], CUSDT[2], DOGE[538.94925445], ETH[.16382486], ETHW[.16339046], GRT[1], LINK[2.93038568], SHIB[1077898.50906163], SOL[.62717574], TRX[1],             Yes
                                      USD[55.36]
08204204                              USD[15.00]

08204205                              ETH[.00000001], ETHW[0], USD[133.69], USDT[0]                                                                                                                                          Yes

08204206                              USD[0.33]

08204207                              NFT (363268680031254459/Aku World: Dream #138)[1]

08204217                              USD[1.00]

08204233                              BTC[.00216619], DOGE[1], GRT[1], SOL[2.00223721], USD[0.00]                                                                                                                            Yes

08204241                              NFT (320134101239091633/Doak Walker's Playbook: SMU vs. Santa Clara - September 27, 1947 #80)[1], USD[6.18]                                                                            Yes

08204244                              BRZ[1], ETH[.75315705], ETHW[.75445944], TRX[1], USD[0.00]                                                                                                                             Yes

08204255                              BRZ[1], BTC[.04464467], CUSDT[2], DOGE[5], ETH[1.29758098], ETHW[1.29702404], GRT[1.00019156], SOL[23.18080214], TRX[3], USD[3538.82]                                                  Yes

08204261                              BRZ[1], SHIB[1], USD[1.08], USDT[0]

08204272                              BAT[332.14596258], CUSDT[1], USD[107.73]                                                                                                                                               Yes

08204278                              NFT (350660852085501969/Aku World: Dream #119)[1]

08204279                              NFT (470886672090370411/Aku World: Dream #117)[1]

08204286                              USD[53.90]                                                                                                                                                                             Yes

08204287                              CUSDT[1], DOGE[1], SOL[.03862697], USD[5.98]                                                                                                                                           Yes

08204290       Contingent, Disputed   NFT (417366138284308475/Aku World: Dream #120)[1]

08204295                              USD[0.00]

08204296                              GRT[121.59187696], TRX[1], USD[0.00]

08204297       Contingent, Disputed   NFT (413581811635579699/Aku World: Dream #121)[1]                                                                                                                                      Yes

08204298                              BRZ[1], CUSDT[3], USD[0.01]                                                                                                                                                            Yes

08204304                              NFT (292761835190600388/StarAtlas Anniversary)[1], NFT (293304726600657889/StarAtlas Anniversary)[1], NFT (307372328368773523/StarAtlas Anniversary)[1], NFT
                                      (318418054552241991/StarAtlas Anniversary)[1], NFT (320238662328107320/StarAtlas Anniversary)[1], NFT (401984942273249149/Unity #191)[1], NFT (444744944298861130/StarAtlas
                                      Anniversary)[1], NFT (493852841236527958/StarAtlas Anniversary)[1], NFT (514426704249669454/StarAtlas Anniversary)[1], NFT (561995736447673270/StarAtlas Anniversary)[1], USD[35.00]
08204306                              NFT (411810730060063155/Aku World: Dream #122)[1]

08204308                              BRZ[1], DOGE[1], SHIB[3], TRX[1], USD[0.00]

08204313                              NFT (353913142053235765/Cal Bears Super Oski Scavenger Hunt #45)[1]

08204315                              MATIC[32.80031007], TRX[1], USD[0.00]                                                                                                                                                  Yes

08204321                              NFT (377202304133351873/Aku World: Dream #126)[1]

08204324                              NFT (462921707802613962/Aku World Avatar #118)[1]

08204327                              USD[1.95]

08204333                              NFT (447713842153886925/Aku World: Dream #124)[1]

08204335                              ETH[.53], ETHW[.53], USD[3.44]

08204337                              NFT (514411096677594543/Aku World Avatar #119)[1]

08204341                              BTC[.00019584], USD[0.00]

08204362                              NFT (458016819312732116/Aku World: Dream #145)[1]

08204363                              NFT (401503765343628519/Aku World: Dream #127)[1]

08204364                              USD[0.06]                                                                                                                                                                              Yes

08204372                              BAT[14.57463751], CUSDT[2], USD[0.00]                                                                                                                                                  Yes

08204373                              NFT (327746270476138791/Aku World Avatar #101)[1], USD[0.40]                                                                                                                           Yes

08204374                              NFT (398181212149661176/Aku World: Dream #131)[1]

08204375                              SOL[2.64], USD[47.33]

08204376                              NFT (306453604305870834/Aku World: Dream #129)[1]

08204379                              NFT (426249089603299050/Aku World: Dream #132)[1]

08204385                              NFT (465953190022170004/Aku World: Dream #139)[1]

08204387                              NFT (431870716686310941/Aku World: Dream #135)[1]

08204388                              NFT (476651885371213799/Aku World: Dream #133)[1]

08204391                              SOL[.30140077], USD[0.00], USDT[0.00000189]

08204393                              CUSDT[1], TRX[1], USD[0.00]                                                                                                                                                            Yes

08204398                              NFT (293226463842386129/FTX - Off The Grid Miami #5532)[1], NFT (527989675802566158/Australia Ticket Stub #783)[1]

08204404                              NFT (371706007045301495/Aku World: Dream #136)[1]

08204412                              BTC[.00302446], CUSDT[1], ETH[0], ETHW[0], SHIB[4], SOL[0], USD[0.00]                                                                                                                  Yes

08204414                              NFT (298493095146916607/FTX - Off The Grid Miami #3985)[1], NFT (545458199765255216/Shaq's Fun House Commemorative Ticket #29)[1], NFT (555042208278184213/Aku World: Dream #137)[1]

08204415                              BAT[1875.62985892], BTC[.56843026], ETH[2.92433252], ETHW[2.92329459], SOL[31.04481866], USD[0.00]                                                                                     Yes

08204420                              USD[0.89], USDT[0]

08204424                              USD[2.32]

08204428                              NFT (379896124189437799/Aku World: Dream #140)[1], USD[0.14]

08204429                              BRZ[3], CUSDT[2], DOGE[2], TRX[1], USD[0.00]                                                                                                                                           Yes
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08204432                              ALGO[26.07196462], DOGE[4], NEAR[13.30552592], SHIB[14], SOL[.00005861], TRX[1.000002], USD[0.00], USDT[0.00000032]                                                                  Yes

08204434                              MATIC[9.99], USD[0.11]

08204450                              USD[98.00]

08204451                              NFT (305562678639798306/Aku World: Dream #142)[1]

08204467                              USD[375.92]                                                                                                                                                                          Yes

08204469                              ETH[.35483753], ETHW[.35468849], SHIB[22839771.45724379], USD[0.00]                                                                                                                  Yes

08204470       Contingent, Disputed   BTC[.00072289], CUSDT[452.66155943], DOGE[262.04095941], GBP[0.00], USD[0.00]

08204471                              NFT (414583636274734389/Aku World: Dream #152)[1]

08204475                              CUSDT[1], KSHIB[124.45073667], MATIC[15.6711841], TRX[106.29893471], USD[0.51]

08204479                              CUSDT[1], TRX[1], USD[30.01], USDT[0.00009731]

08204485                              SOL[.00495546], USD[0.04]

08204489                              USD[100.00]

08204498                              ETH[.01094154], ETHW[0.01094154]

08204505                              BTC[.00118144], CUSDT[1], DOGE[1], TRX[1], USD[0.00]                                                                                                                                 Yes

08204508                              NFT (335331154266639426/Aku World: Dream #146)[1]

08204511                              NFT (301863460272278636/Aku World: Dream #149)[1], NFT (536613585165770992/Shaq's Fun House Commemorative Ticket #45)[1]

08204514                              SOL[.4767533], TRX[1], USD[0.00]

08204526                              USD[46.40]

08204528                              CUSDT[2], USD[0.00]

08204529                              USD[0.00]

08204531                              NFT (482303566931314445/Art#3)[1], USD[0.00], USDT[0]

08204535       Contingent, Disputed   NFT (551361975122224129/Romeo #1270)[1], SOL[.1]

08204537                              NFT (499217182598331840/Aku World: Dream #151)[1]

08204541                              BTC[.00456565], CUSDT[3], ETH[.18524357], ETHW[.18524357], SOL[.55274471], TRX[2], USD[0.01]

08204545                              BAT[1], SHIB[2], USD[0.00], USDT[0]                                                                                                                                                  Yes

08204549                              SOL[0], USD[7.06]

08204555                              NFT (571934415148147768/Aku World: Dream #153)[1]

08204556                              NFT (389914435929278649/Aku World: Dream #154)[1]

08204561       Contingent, Disputed   SOL[2.998], USD[449.15]

08204568       Contingent, Disputed   BTC[0.00021992], SOL[0], USD[0.00]

08204570                              USD[1.00]

08204572                              BRZ[1], ETHW[.09057474], SHIB[10356809.16831927], TRX[1], USD[292.43]

08204573                              BTC[.00034636], MKR[.00074571], USD[0.00], USDT[0], YFI[.00023182]                                                                                                                   Yes

08204575                              NFT (424853419964199450/Aku World: Dream #155)[1]

08204577                              NFT (341717601822866259/Australia Ticket Stub #1461)[1], SOL[.00906578], USD[0.00]

08204585                              DOGE[1], SOL[2.53218734], USD[0.01]

08204589       Contingent, Disputed   ETH[.00000001], ETHW[0], USD[3.94]

08204597                              CUSDT[1], DOGE[1], USD[0.01]

08204602       Contingent, Disputed   SOL[.05], USD[9.73]

08204606                              ETH[.00000001], USD[0.00]

08204611                              BTC[.00020408], USD[0.00]                                                                                                                                                            Yes

08204614                              NFT (403661775758472711/Spectra #108)[1], SOL[1.45], USD[24.65]

08204616                              NFT (323641839458546102/crypto turtle)[1], NFT (379653415471469301/Photo series #3)[1], NFT (449092888533256482/crypto turtle #2)[1], NFT (461476628367231138/Roamer #589)[1], NFT
                                      (532878624110722112/Photo series #2)[1], NFT (533554696110521478/slope)[1], NFT (555466620081600799/Anime Series)[1], NFT (571723991286285881/Photo series)[1], SOL[0.37800480],
                                      USD[0.00], USDT[0]
08204628                              KSHIB[268.53372797], USD[0.00]                                                                                                                                                       Yes

08204632                              KSHIB[124.96875781], LTC[.31923669], SHIB[.00000054], USD[0.00]

08204639       Contingent, Disputed   NFT (290677090083201613/ROBOCOIN NO.21)[1], NFT (302581110851755850/ROBOCOIN NO.3)[1], NFT (311132570674989488/ROBOCOIN NO.5)[1], NFT (323049091465159355/ROBOCOIN
                                      NO.17)[1], NFT (341168482158046899/ROBOCOIN NO.14)[1], NFT (349900345909094178/ROBOCOIN NO.19)[1], NFT (350490928818495581/ROBOCOIN NO.4)[1], NFT
                                      (369437486006257112/ROBOCOIN NO.7)[1], NFT (377263535955348785/ROBOCOIN NO.1)[1], NFT (387120834674039315/ROBOCOIN NO.11)[1], NFT (387754944720123996/ROBOCOIN NO.9)[1],
                                      NFT (388054131090517118/ROBOCOIN NO.18)[1], NFT (431519440651798015/ROBOCOIN NO.15)[1], NFT (432686579590430074/ROBOCOIN NO.10)[1], NFT (434440348944060196/ROBOCOIN
                                      NO.12 (RARE))[1], NFT (439147816298321731/ROBOCOIN NO.2)[1], NFT (450076565871094697/ROBOCOIN NO.16)[1], NFT (461006113445297960/ROBOCOIN NO.22 (SUPER RARE))[1], NFT
                                      (464626495667226457/ROBOCOIN NO.13)[1], NFT (503341131867634022/ROBOCOIN NO.6)[1], NFT (525853195832718341/ROBOCOIN NO.20)[1], NFT (565044952168644288/ROBOCOIN NO.8)[1]

08204650                              USD[0.22], YFI[.000999]

08204651                              BTC[.00040816], CUSDT[1], LTC[.03396486], USD[16.20]                                                                                                                                 Yes

08204659                              USD[0.00], USDT[0.00002545]

08204661                              USD[0.50], USDT[0.00323405]                                                                                                                                                          Yes

08204671                              USD[0.88]

08204676                              NFT (313574197266452668/Microphone #2804)[1]

08204678                              ETH[.017037], ETHW[.017037], USD[0.01], USDT[.329922]

08204687                              BTC[.00020774], CUSDT[98.97260769], DOGE[246.63546994], ETH[.00522403], ETHW[.00515563], SHIB[1655620.52158564], SOL[1.1683455], TRX[1], USD[0.01]                                   Yes
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                                                                                                                                            Customer Claims                                                                                                22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                            Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08204689                              BTC[0.00000191], ETH[0], LINK[.00000001], SOL[.00000001], USD[0.00], USDT[0.00000002]                                                                                        Yes

08204691                              BTC[.03406789], DOGE[1], ETH[.00345184], ETHW[.0034108], USD[0.00]                                                                                                           Yes

08204692                              SHIB[301315.76413281]                                                                                                                                                        Yes

08204696                              NFT (455383966792642208/Cal Bears Super Oski Scavenger Hunt #43)[1]

08204698                              USD[0.60]

08204708                              LINK[.00846034], MATIC[.55798225], USD[0.01], USDT[0.00671792]

08204709                              BTC[.0010615]

08204713                              ETH[0], ETHW[0.00216136], MATIC[0], SHIB[0], TRX[0.00000045], USD[10.49]

08204716                              BTC[.00001802], MATIC[.2128416], SOL[.00806], USD[10.19]

08204718                              CUSDT[1], LTC[2.08205283], NFT (322429062834721125/Joe Theismann's Playbook: Washington vs. Chicago Bears - September 29, 1985 #70)[1], SOL[7.18461701], TRX[2], USD[0.00]   Yes

08204727                              MATIC[970], USD[18.92]

08204730                              AUD[0.00], CAD[0.00], GRT[2.8024601], USD[0.00]                                                                                                                              Yes

08204740                              AAVE[.02841852], DAI[10.6373477], ETH[.00127819], ETHW[.0012645], MATIC[1.84737627], USD[1.22], USDT[5.32799439]                                                             Yes

08204746                              NFT (555090095457646822/Aku World: Dream #156)[1]

08204753                              NFT (545010381362309083/Cal Bears Super Oski Scavenger Hunt #44)[1]

08204759                              USD[0.96]

08204762                              NFT (485681689871765234/2021 Sports Illustrated Awards #41)[1]

08204764                              BRZ[1], BTC[0.00000059], DOGE[2766.40510879], LTC[.00003212], TRX[1], USD[2.87]                                                                                              Yes

08204774                              BTC[.0010615], NFT (348152328680154050/Cal Bears Super Oski Scavenger Hunt #50)[1]

08204783                              USD[0.00]                                                                                                                                                                    Yes

08204786                              USD[9.36]                                                                                                                                                                    Yes

08204794                              SHIB[1], SOL[.20166299], USD[0.00]                                                                                                                                           Yes

08204802                              USD[0.00]

08204804                              USD[50.02]

08204807                              MATIC[0], USD[10.12]                                                                                                                                                         Yes

08204819                              ETH[0], USD[0.30]

08204820       Contingent, Disputed   SOL[5], USD[12.61]

08204827                              NFT (399870436122131410/Earl Campbell's Playbook: Texas vs. Houston - November 5th, 1977 #115)[1], USD[10.00]

08204836                              DOGE[1], USD[0.00]                                                                                                                                                           Yes

08204838                              BRZ[80.919], KSHIB[1035.1257058], USD[0.00]

08204843                              USD[1000.00]

08204846                              BTC[0], NFT (352218838773332855/Megalodon Rogue Shark Tooth)[1], NFT (420333597955968369/Megalodon Rogue Shark Tooth)[1], USD[0.01]

08204870                              BTC[.00064564], CUSDT[1], USD[0.00]                                                                                                                                          Yes

08204872                              SOL[61.0467605], USD[470.97]

08204874                              ETH[.00360712], ETHW[.00356608], SHIB[1], USD[0.00], USDT[0]                                                                                                                 Yes

08204875                              DOGE[1], SHIB[2], USD[0.00]                                                                                                                                                  Yes

08204876                              CUSDT[1], SHIB[499750.12493753], USD[0.00]

08204880                              USD[200.00]

08204884                              MATIC[69.94], USD[31.46]

08204892                              TRX[.000007], USD[0.59], USDT[0]

08204897                              BRZ[1], BTC[.01328116], DOGE[165.228452], ETH[.17643269], ETHW[7.88673107], LTC[1.02460504], MATIC[40.84664554], SHIB[32], SOL[4.98358832], TRX[2], USD[82.23]               Yes

08204898                              DOGE[0], SHIB[2], TRX[2], USD[0.00]                                                                                                                                          Yes

08204903                              BTC[.00003331], DOGE[301.22471106], USD[9.87], USDT[.90584512]                                                                                                               Yes

08204906                              BTC[0], DAI[0.99087709], ETH[.00124664], ETHW[.00124664], MATIC[0.58021590], PAXG[0.00086081], SHIB[222940.18752227], USD[0.00]

08204914       Contingent, Disputed   NFT (441260810337121903/Degen Trash Panda Merch Token)[1], SOL[6.566]

08204915                              BTC[.00365548], CUSDT[4], MATIC[10.21224052], USD[0.03]                                                                                                                      Yes

08204916                              SOL[.00859037], USD[0.00]

08204919                              USD[0.00]                                                                                                                                                                    Yes

08204921                              USD[0.01], USDT[0]

08204923                              BTC[0], NFT (336225778975674048/Microphone #279)[1], NFT (490499568257891950/FTX - Off The Grid Miami #7092)[1], USD[0.00], USDT[0.00000001]

08204930                              CUSDT[1], USD[0.00]                                                                                                                                                          Yes

08204938                              SOL[.0035495], TRX[188], USD[23.76], USDT[.03815002]

08204943                              BF_POINT[300], CUSDT[1], SOL[2.85060276], USD[0.00]                                                                                                                          Yes

08204947                              BTC[.0009], NFT (350624550571483719/Cal Bears Super Oski Scavenger Hunt #48)[1]

08204949                              USD[0.00]

08204952                              USD[4.00]

08204955                              USD[20.00]

08204958       Contingent, Disputed   BTC[0.00400742], ETH[0.07686749], ETHW[0.07686749], USD[4.93]
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                                                                                                                                            Customer Claims                                                                                                          22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08204961                              CUSDT[5], DOGE[1717.84491288], ETH[1.17704611], ETHW[1.17655164], SHIB[19115526.66945492], SOL[7.70199596], TRX[2], USD[0.18], USDT[1.05984056]                                        Yes

08204962                              CHF[0.58], CUSDT[2], DOGE[1], HKD[0.00], USD[0.00]                                                                                                                                     Yes

08204971                              BAT[1], BRZ[1], DOGE[1], SHIB[1], TRX[2], USD[0.00]

08204977                              CUSDT[.00205458], USD[26.24]                                                                                                                                                           Yes

08205006                              NFT (564757247493198722/Aku World: Dream #157)[1]

08205009                              ETH[.004], ETHW[1.764], MATIC[464.78850589], USD[2.61]

08205011                              USD[0.35]

08205012                              BAT[0], CUSDT[4], DOGE[113.65858915], MATIC[0], SHIB[1287678.38170054], SUSHI[0], TRX[82.30950343], USD[0.00], USDT[0]                                                                 Yes

08205020                              SUSHI[.34033625], USD[0.00]                                                                                                                                                            Yes

08205023                              SHIB[553949.37236872], USD[0.00]                                                                                                                                                       Yes

08205027                              BTC[.00374912], CUSDT[1], USD[0.00]                                                                                                                                                    Yes

08205041                              USDT[175.83897090]

08205047       Contingent, Disputed   SHIB[4995000], TRX[830], USD[0.16]

08205048                              BAT[2], BTC[0], CUSDT[1], DOGE[2], LINK[1], TRX[3], USD[0.00], USDT[1]

08205052                              CUSDT[1], DOGE[1], SOL[.36764404], TRX[350.52440721], USD[0.01]                                                                                                                        Yes

08205059                              ETH[0], ETHW[0.32601468], USD[916.50]

08205061                              DOGE[1], EUR[3.75], GRT[1.22636325], MATIC[1.50839322], SOL[.12300235], USD[0.00], USDT[2.14339053]                                                                                    Yes

08205062                              NFT (370736572543953301/Aku World: Dream #158)[1]

08205071                              BRZ[1], DOGE[33.68863141], SHIB[1], USD[10.26], USDT[0]                                                                                                                                Yes

08205073                              BRZ[1], DOGE[2], SHIB[26279967.43469562], TRX[6], USD[0.18], USDT[0]                                                                                                                   Yes

08205075       Contingent, Disputed   NFT (482005044473058194/SolBunnies #1769)[1], NFT (528321080015279185/Ravager #1272)[1], SOL[0]

08205080                              ETH[.00000036], ETHW[.00000036], USD[0.00]                                                                                                                                             Yes

08205081                              USD[0.73], USDT[0]

08205082                              USD[0.00]

08205087                              CUSDT[1], KSHIB[1269.6294231], USD[0.00]

08205096                              USD[10.70], USDT[0]                                                                                                                                                                    Yes

08205101                              USD[0.00], USDT[0]                                                                                                                                                                     Yes

08205108                              TRX[1], USD[0.00]                                                                                                                                                                      Yes

08205119                              SOL[.00000001], USD[0.00]

08205126                              USD[0.00]

08205137                              GRT[37.06241594], KSHIB[374.65809453], SHIB[1187225.96532406], USD[0.00]                                                                                                               Yes

08205138                              CUSDT[2], MATIC[45.64080162], SHIB[1466705.77882076], USD[0.01]

08205139                              ETH[.00000001], SHIB[1500000], USD[0.00], USDT[38.10241202]

08205163                              CUSDT[2], DOGE[1], USD[0.01]

08205165                              BRZ[2], CUSDT[1], SGD[2872.46], USDT[2946.41904178]                                                                                                                                    Yes

08205177                              ETHW[.21051972], SOL[.00003464], USD[2.66]                                                                                                                                             Yes

08205181                              USD[0.00], USDT[1.96774018]

08205184                              SOL[.04], USD[2.86]

08205185                              NFT (375124691914188566/Aku World: Dream #159)[1]

08205193                              USD[0.49]

08205200                              BTC[.00000026], SOL[.003342], USD[0.00]

08205201                              BRZ[2], DOGE[4], GRT[3.000759], LINK[14563.60866145], SHIB[6], SUSHI[1.02535488], USD[0.00], USDT[2.05808093]                                                                          Yes

08205212                              USD[0.00], USDT[0]

08205214                              NFT (310190241189496560/Cal Bears Super Oski Scavenger Hunt #51)[1]

08205220                              ETH[.033975], ETHW[.033975], SHIB[1300000], USD[24.16]

08205223                              CUSDT[1], DOGE[1], USD[0.00]

08205231       Contingent, Disputed   ETH[.112], ETHW[.112], USD[2.82]

08205240                              BRZ[1], CUSDT[4], DOGE[1], USD[0.01]                                                                                                                                                   Yes

08205249                              CUSDT[1], DOGE[274.87708593], USD[0.00]                                                                                                                                                Yes

08205253                              USD[214.09]                                                                                                                                                                            Yes

08205257       Contingent, Disputed   ETH[.247876], ETHW[.247876], USD[7.41]

08205283                              BTC[.00018963], SOL[.09847251], TRX[1], USD[0.00]

08205293                              DOGE[1], USD[37.70]                                                                                                                                                                    Yes

08205297                              BTC[0], LTC[0.00845151], SOL[0], TRX[0]                                                                                                                                                Yes

08205327                              BRZ[4], CUSDT[4], DOGE[57245.255252], ETHW[.17480758], GRT[2], NFT (316533464662492764/#1284)[1], NFT (321707878427787144/Cyber Samurai #3067)[1], NFT                                 Yes
                                      (327257868111101252/#3350)[1], NFT (350982444455623652/2022 Meta World Cup #48)[1], NFT (353591054161448553/Highland Mesa #92)[1], NFT (372807832897149207/Cyber Samurai Tensei
                                      Ceremony Announcement)[1], NFT (381746055465575735/Ravager #1716)[1], NFT (390677783884518922/Kiddo #3484)[1], NFT (397894652767647414/#4922)[1], NFT (401902339055084932/DOTB
                                      #8772)[1], NFT (423476724044113536/#3901)[1], NFT (451306517649727134/Gangster Gorillas #382)[1], NFT (490057027381844119/2022 Meta World Cup #42)[1], NFT
                                      (501486900844850742/Solana Islands #1071)[1], NFT (554781563360546993/Solana Islands #757)[1], NFT (559877048177973192/SolDad #2903)[1], NFT (572591194419536006/DarkPunk #3860)[1],
                                      SHIB[.00000001], TRX[10], USD[0.68], USDT[2.0860392]
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                                                                                                                                            Customer Claims                                                                                                                  22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08205329                              BTC[.01318728], ETH[.061981], ETHW[.061981], SOL[3.97788], USD[0.00]

08205330                              BTC[.00021313], CUSDT[1], DOGE[1], SOL[.22815095], USD[21.52]                                                                                                                                  Yes

08205339                              CUSDT[2], GRT[7.43019252], MATIC[53.05855831], SOL[1.0835113], USD[0.00]                                                                                                                       Yes

08205342                              USD[0.02], USDT[0.00000002]

08205348                              USD[121.44], USDT[95.97844140]

08205349                              SOL[.01608311], USD[7.55]                                                                                                                                                                      Yes

08205352                              BRZ[1], SOL[.71299142], USD[404.07]                                                                                                                                                            Yes

08205353                              BAT[37.50679103], CUSDT[3], DOGE[1], SHIB[1241083.09949151], TRX[238.56181688], USD[0.63]                                                                                                      Yes

08205354                              BAT[11.93623492], BTC[.00486794], ETH[0.00368704], ETHW[.00368704], LINK[0.58831913], SOL[0.09604073], SUSHI[2.32890591], USD[0.00], YFI[0.00040421]

08205355                              ETH[.0004917], ETHW[.0004917], MATIC[7], SOL[.00686], USD[95.04]

08205358       Contingent, Disputed   SOL[.99], USD[1.53]

08205359                              CUSDT[1], DOGE[1], USD[0.01], USDT[1.06575138]                                                                                                                                                 Yes

08205364                              BRZ[1], DOGE[1], MATIC[139.32342986], NFT (482391489237199157/APEFUEL by Almond Breeze #590)[1], SHIB[1046815.09094176], SOL[1.0835735], TRX[2064.61593018], USD[0.00]                         Yes

08205371                              BTC[.00521654], CUSDT[2], ETH[.06417751], ETHW[.06417751], USD[0.00]

08205383       Contingent, Disputed   SOL[.00014198], USD[0.00]

08205384       Contingent, Disputed   ETH[.000431], ETHW[.000431], SHIB[4200000], SOL[.0059], USD[1423.16]

08205388                              CUSDT[4], DOGE[2], ETH[.00000016], ETHW[.00000016], SHIB[15], TRX[1], USD[0.01]                                                                                                                Yes

08205394                              SOL[2.31269296], USD[0.00]

08205399                              USD[1.19]

08205420                              CUSDT[2121.549613], USD[0.00]                                                                                                                                                                  Yes

08205421                              USD[0.00]

08205427                              GRT[10], LTC[.00259928], MATIC[5], SHIB[100000], SOL[.00253559], SUSHI[.43228142], UNI[.5991], USD[6.48]

08205447                              USD[214.76]                                                                                                                                                                                    Yes

08205474                              BTC[.00004244], SHIB[96175.07448007], USD[0.00]                                                                                                                                                Yes

08205479                              CUSDT[1], USD[0.01]

08205487                              USD[0.54]

08205499                              BAT[1.00054809], BRZ[.00503552], CUSDT[14], DOGE[7653.53138555], LINK[.00004706], MATIC[456.85600875], SHIB[23813011.05388042], SUSHI[365.68030701], TRX[.0108384], USD[2.46]                  Yes

08205500                              USD[5.00]

08205501                              CUSDT[4], MATIC[.00023139], USD[0.00]                                                                                                                                                          Yes

08205503                              CUSDT[3], DOGE[127.22884203], ETH[.01352124], ETHW[.01335708], SUSHI[3.70670243], USD[0.00]                                                                                                    Yes

08205507                              DOGE[1], SUSHI[5.50857719], TRX[1213.20760946], USD[0.00]

08205508       Contingent, Disputed   BTC[.002], USD[2.57]

08205511                              BTC[0], ETH[0], USD[0.00]                                                                                                                                                                      Yes

08205516                              CUSDT[3], DOGE[1724.10399697], SHIB[657037.0699473], SOL[1.08170334], SUSHI[4.37539389], TRX[2], USD[0.00]                                                                                     Yes

08205517       Contingent, Disputed   LTC[16.7141065], SOL[13.447213], USD[0.61]

08205522                              BRZ[5], CUSDT[4], DOGE[8.00742063], GRT[3.000207], SHIB[1], TRX[5], USD[0.00], USDT[0]

08205527                              USD[10.00]

08205532                              BTC[.00052015], CUSDT[1], USD[0.00]

08205536                              USD[0.01]

08205541                              CUSDT[2], USD[0.01]                                                                                                                                                                            Yes

08205546                              USD[10.78]                                                                                                                                                                                     Yes

08205553                              BTC[.00112835], CUSDT[1], USD[0.00]                                                                                                                                                            Yes

08205564                              BAT[1.93178569], USD[0.00]

08205573                              SOL[.00000001], USD[179.58]                                                                                                                                                                    Yes

08205579                              ETH[.06722936], ETHW[.06639488]                                                                                                                                                                Yes

08205582                              CUSDT[1], SHIB[4358221.96397443], TRX[607.61082045], USD[0.00]

08205593                              CUSDT[1], TRX[344.43982379], USD[0.00]                                                                                                                                                         Yes

08205594                              LINK[0]

08205598                              BTC[.0255], ETH[.532467], ETHW[.532467], SOL[13.01697], USD[5.45]

08205604                              BTC[0], DOGE[1]                                                                                                                                                                                Yes

08205616                              ETH[.03424631], ETHW[.03424631], USD[0.00]

08205618                              NFT (365726511556873715/KryptoKid 1 #2)[1], NFT (513763636006591166/Beddy Tears #53)[1], NFT (523916581002666309/SolBunnies #2844)[1], NFT (526622480427124979/Cat rauss #4)[1], NFT           Yes
                                      (537874150934903633/SolBunnies #749)[1], SOL[.0091166], USD[0.00]
08205624                              SOL[.12815425], USD[5.67]

08205625                              BRZ[1], TRX[1], USD[0.00]

08205628                              AAVE[0], BAT[0], BCH[0], BTC[0], CUSDT[0], DOGE[0], ETH[0], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], MKR[0], SHIB[0], SOL[0], SUSHI[0], TRX[0], UNI[0], USD[0.00], USDT[0.00000002], YFI[0] Yes

08205634                              LTC[0], TRX[1], USD[0.00]                                                                                                                                                                      Yes

08205635                              AAVE[.08152089], BRZ[1], BTC[.01097277], CUSDT[18], DOGE[1], ETH[.1462418], ETHW[.14539016], GRT[25.26722529], LINK[1.70515444], MATIC[24.29034267], SHIB[3], SOL[.24014829], TRX[1],
                                      USD[41.54], YFI[.00052073]
08205640                              NFT (423689793953926665/Coachella x FTX Weekend 1 #19182)[1]
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08205650                              CUSDT[1], USD[0.01]

08205656                              USD[4.65]

08205666       Contingent, Disputed   SHIB[500], USD[50.00]

08205674                              USD[20.31]

08205701                              SOL[.00000001], USD[0.31], USDT[0]                                                                                                                                                    Yes

08205709                              ETH[0], ETHW[0.66417609]

08205710                              CUSDT[1], SOL[1.03511393], USD[0.00]                                                                                                                                                  Yes

08205711       Contingent,            BTC[.07], USD[2016.12]
               Unliquidated
08205712                              USD[0.12]

08205713                              LINK[8.37435993], SHIB[1], SOL[2.19090535], USD[0.03]                                                                                                                                 Yes

08205723                              SOL[12.16131207], TRX[1], USD[0.00]

08205725                              BTC[.01128875], CUSDT[1], USD[0.00]                                                                                                                                                   Yes

08205728       Contingent, Disputed   BTC[0.00008914], DOGE[0.59745545], ETH[0.00980000], ETHW[0.00980000], MATIC[0], SOL[0], USD[0.00], USDT[0.00002025]

08205736                              CUSDT[1], LINK[25.97623377], USD[0.00]

08205739                              USD[227.30]                                                                                                                                                                           Yes

08205762                              BTC[.65583843], DOGE[1], USD[6.33], USDT[1.06320183]                                                                                                                                  Yes

08205769                              CUSDT[5], DOGE[3], LINK[5.10276502], LTC[.69148658], MATIC[179.85152542], SHIB[4534810.14973533], SOL[1.67224313], SUSHI[9.15262077], TRX[2], USD[0.25]                               Yes

08205779                              USD[1.71]

08205786                              MATIC[67.9282362], USD[0.00]

08205794                              CUSDT[1], SHIB[1], SUSHI[.00000042], TRX[2], USD[0.01]

08205799                              BTC[.0060716], CUSDT[1], USD[0.00]

08205816                              BRZ[2], DOGE[4], GRT[1], LINK[.00024707], MKR[.00000154], SHIB[10], SOL[.00013171], TRX[6], USD[36.32], USDT[1.24981321]                                                              Yes

08205831                              NFT (411218245290605225/FTX - Off The Grid Miami #7308)[1]

08205832                              BTC[.0000748], SOL[.00744], USD[0.28]

08205833                              BAT[100.06491619], CUSDT[2], DOGE[2], MATIC[57.66935036], SHIB[1492802.47988153], SOL[1.13491996], USD[0.02]                                                                          Yes

08205837                              CUSDT[4], KSHIB[1410.06134215], TRX[645.30495808], USD[0.00]                                                                                                                          Yes

08205841                              TRX[1], USD[0.00]                                                                                                                                                                     Yes

08205842                              CUSDT[1], DOGE[1], USD[0.00]

08205849                              USD[7.54]                                                                                                                                                                             Yes

08205850                              CUSDT[1], DOGE[1], ETH[.00003185], ETHW[3.48754317], TRX[1], UNI[.00000972], USD[0.00]                                                                                                Yes

08205856       Contingent, Disputed   BTC[.01039012], ETH[.0619411], ETHW[.0619411], USD[3.26]

08205859                              DOGE[92.53288745]                                                                                                                                                                     Yes

08205875                              USD[8.87], USDT[0.00000001]

08205878                              BTC[.01829503], ETH[.04156964], ETHW[.04156964], SOL[6.00981048]

08205879                              BRZ[1], BTC[.00634557], CUSDT[1], DOGE[3], ETH[.19426306], ETHW[.19404889], MATIC[65.33539891], SHIB[2], SOL[3.10755659], TRX[2], USD[117.76]                                         Yes

08205880                              BTC[.00357942], ETH[.05856067], ETHW[.05783563], SHIB[1], TRX[1], USD[51.87]                                                                                                          Yes

08205889                              BRZ[2], BTC[.10745852], CUSDT[59.93346688], DOGE[8.07280334], ETHW[5.0819705], SHIB[4], SOL[18.69235597], TRX[3], USD[50.49], USDT[1.04453342]                                        Yes

08205894                              USD[0.01]

08205900                              BAT[98.24353167], CUSDT[11], DOGE[.0005297], GRT[931.85364964], SHIB[1], TRX[5], USD[93.50]                                                                                           Yes

08205903                              CUSDT[1], SHIB[728320.43690909], USD[0.00]                                                                                                                                            Yes

08205921       Contingent, Disputed   BTC[0], ETH[0], USD[0.00]

08205948                              USD[1.00]

08205952                              ETH[.0896184], ETHW[.0756184], USD[1982.30], USDT[0]

08205953                              BTC[.00006421], ETH[.00230154], ETHW[.00227418], USD[0.01], USDT[0.05448517]                                                                                                          Yes

08205959       Contingent, Disputed   USD[0.00]

08205962                              BCH[.01430031], BRZ[1], BTC[.0001691], CUSDT[1], DOGE[1], ETH[.00257474], ETHW[.00254738], TRX[1], USD[3.88], YFI[.00015641]                                                          Yes

08205966                              SHIB[.00036386], TRX[0], USD[0.02]                                                                                                                                                    Yes

08205978                              USD[0.00], USDT[0]

08205980                              AUD[0.20], CAD[0.00], CUSDT[1], GBP[9.65], USD[0.58], USDT[0.00739771]                                                                                                                Yes

08205981                              DOGE[.10412803], SHIB[230851.89393703], USD[1.69], USDT[0]

08205987                              DOGE[4.73850015], SHIB[26191.7234154], SUSHI[1.52683954], USD[0.00], USDT[0.00000001]

08205995                              BTC[.00223767], CUSDT[1], USD[0.01]                                                                                                                                                   Yes

08206005                              AAVE[0], ALGO[0], AVAX[0], BAT[0], BTC[0], CUSDT[0], DOGE[0], GRT[0], LINK[0], LTC[0], MATIC[0], NFT (305768254619183114/SolBunnies #2377)[1], NFT (389608592833450346/Saudi Arabia   Yes
                                      Ticket Stub #152)[1], NFT (523425878820781779/Barcelona Ticket Stub #281)[1], PAXG[0], SHIB[3], SOL[0.00000001], SUSHI[0], TRX[0], UNI[0], USD[0.00], USDT[0], YFI[0]
08206029       Contingent, Disputed   BTC[.00000001], KSHIB[.00085117], SHIB[76881.57539789], USD[0.00]

08206041                              CUSDT[1], SUSHI[5.75223411], USD[0.00]                                                                                                                                                Yes

08206071                              CUSDT[3], LINK[21.40057353], SHIB[3213642.65927977], USD[0.00]

08206072                              AAVE[0], BAT[0], BTC[0], CUSDT[0], DOGE[0], ETH[0], ETHW[0], GRT[27.22690928], KSHIB[0], LINK[0.40524491], LTC[0], MATIC[0], MKR[0], SHIB[2], SUSHI[0.00004410], TRX[2.05468679],     Yes
                                      UNI[1.90496464], USD[0.00], USDT[0], YFI[0.00008302]
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08206078                              USD[2.00]

08206094                              BAT[50.4428825], BTC[.00066734], ETH[.00802975], ETHW[.00802975], MATIC[16.81621065], SOL[.30617261], USD[0.01]

08206099                              BTC[0], CUSDT[0], DOGE[0], ETH[0], MATIC[0], SOL[0.00000001], USDT[0]

08206130                              BTC[.0012], ETH[.004995], ETHW[.004995], USD[3.05]

08206135                              BF_POINT[100], BRZ[1], BTC[.03755648], CUSDT[10], ETH[.57651185], ETHW[.49515154], SHIB[12], TRX[1], USD[-3.73], USDT[1.05896982]                                                        Yes

08206136                              CUSDT[3], TRX[1], USD[0.64]                                                                                                                                                              Yes

08206142                              NFT (554703441964023707/Rubber Duckie #0064)[1], SOL[.01530677]                                                                                                                          Yes

08206151                              BTC[.00006567], USD[1.85]

08206158                              USD[60.71]

08206165                              NFT (526877946626808503/Coachella x FTX Weekend 2 #11353)[1]

08206168                              BRZ[1], SOL[1.08582308], USD[178.00]

08206175                              ETH[.0006695], ETHW[.00066631], TRX[1], USD[37.80]                                                                                                                                       Yes

08206179                              USD[598.94], USDT[0]

08206181                              NFT (308954425344905636/Butterflex#0000010)[1], NFT (335424196228933456/Butterflex#0000009)[1], NFT (344235343630676043/Butterflex#0000006)[1], NFT
                                      (365847638177215044/Butterflex#0000003)[1], NFT (370892844333199573/Butterflex#0000012)[1], NFT (389153414883547217/Butterflex#0000011)[1], NFT (390950447093942802/Butterflex#0000005
                                      #2)[1], NFT (415217481487210101/Butterflex#0000017)[1], NFT (415382552414630801/Butterflex#0000014)[1], NFT (431875847157738572/Butterflex#0000007)[1], NFT
                                      (437459009903146863/Butterflex#0000001)[1], NFT (471845984749403781/Butterflex#0000005)[1], NFT (474864032281208968/Butterflex#0000015)[1], NFT
                                      (486478729131600493/Butterflex#0000004)[1], NFT (508272559331645271/Butterflex#0000016)[1], NFT (537146403975676045/Butterflex#0000013)[1], NFT
                                      (552537406943971408/Butterflex#0000008)[1], NFT (573893798522749352/Butterflex#0000002)[1], SOL[0.59437426], USD[0.00]
08206194                              ALGO[126.53957549], NEAR[15.18468962], NFT (545074881093280051/fictional #1)[1], SHIB[7], SOL[.65983556], USD[4.80]                                                                      Yes

08206198                              NFT (536243020688921729/Aku World: Dream #161)[1]

08206203                              BTC[.00276621], CUSDT[3], DOGE[179.10375563], ETH[.0107808], ETHW[.0107808], MATIC[14.76995734], SHIB[1000748.36164345], SOL[.17493252], TRX[294.67454276], USD[0.00]

08206204                              NFT (347854177304099206/Pop Art #28)[1]

08206214                              SOL[1], USD[0.00]

08206237                              BTC[.0000982], SHIB[3], USD[35.77], USDT[0]

08206248                              MATIC[859.14], TRX[.283], USD[3.53]

08206252                              USD[0.02]                                                                                                                                                                                Yes

08206261                              CUSDT[1], MATIC[7.4861099], USD[520.71]                                                                                                                                                  Yes

08206282                              BTC[.00232401], CUSDT[1], USD[0.00]

08206283                              NEAR[.4995]

08206289       Contingent, Disputed   LINK[4.29613], USD[1.10]

08206296                              BTC[.00020646], USD[0.00], USDT[0]                                                                                                                                                       Yes

08206325                              BTC[.00101044], CUSDT[1], DOGE[1], LINK[2.27096643], USD[100.01]

08206332                              USD[50.01]

08206345                              ETH[.01227493], ETHW[0.01212445]                                                                                                                                                         Yes

08206349                              DOGE[5.87843325], USD[0.00]                                                                                                                                                              Yes

08206352                              BRZ[1], CUSDT[1], NFT (488178470570141141/3D CATPUNK #211)[1], NFT (527202100730262174/ALPHA:RONIN #1212)[1], USD[0.23]

08206355                              USD[56.92], USDT[0.00000001]

08206360                              BAT[1], DOGE[6.54672225], SHIB[12], TRX[2], USD[0.00], USDT[0]                                                                                                                           Yes

08206365                              USD[50.01]

08206366       Contingent, Disputed   AUD[7.12], CUSDT[1], GBP[0.00], TRX[1], USDT[1.79198483]                                                                                                                                 Yes

08206371                              CUSDT[1], ETH[.06635218], ETHW[.06552967], USD[0.00]                                                                                                                                     Yes

08206386                              SOL[0.00024538]

08206391                              USD[3.23]                                                                                                                                                                                Yes

08206395                              NFT (364186619242044095/Cal Bears Super Oski Scavenger Hunt #56)[1]

08206403       Contingent, Disputed   USD[48.51]                                                                                                                                                                               Yes

08206412                              USD[0.00]                                                                                                                                                                                Yes

08206418       Contingent, Disputed   USD[0.00], USDT[2.98]

08206435                              SHIB[565190.52663695], USD[0.01]

08206439                              BTC[.00000004], CUSDT[1], DOGE[2], SHIB[7], TRX[2], USD[0.01], USDT[0]                                                                                                                   Yes

08206442                              NFT (427766474206420535/Aku World: Dream #163)[1]

08206454                              BTC[.05120447], TRX[1], USD[0.00], USDT[1.06268015]                                                                                                                                      Yes

08206474                              BTC[.00227358], CUSDT[1], USD[0.00]                                                                                                                                                      Yes

08206486                              BTC[0], USD[0.01]

08206512                              BTC[0.00038551], USD[0.00]

08206517                              BAT[1], CUSDT[1], GRT[1], TRX[1], USD[0.00], USDT[1.06595568]                                                                                                                            Yes

08206530                              CUSDT[3], DOGE[900.82894279], SHIB[1335331.05022831], TRX[1], USD[0.00]

08206549                              SOL[0], USD[0.00], USDT[0.00000007]

08206555                              BRZ[1], BTC[0], DOGE[3], MATIC[0], SHIB[16], USD[0.00]                                                                                                                                   Yes

08206576                              USD[0.01]
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                                                                                                                                             Customer Claims                                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08206578                              BTC[.01018409], TRX[1], USD[0.00]

08206583                              DOGE[1], MATIC[266.29523886], USD[0.00]                                                                                                                                          Yes

08206586                              BTC[.0002], DOGE[55], USD[3.28], USDT[.00206249]

08206591                              CUSDT[2], DOGE[1], USD[0.00]

08206609                              ETH[.25322511], ETHW[.25303107], TRX[1], USD[0.00]                                                                                                                               Yes

08206613                              CUSDT[3], DOGE[71.1262155], USD[0.30]                                                                                                                                            Yes

08206633                              TRX[.00001], USD[13.10], USDT[1497.65100000]

08206640                              ETH[.01], ETHW[.01], NFT (343580405418261048/Demon Wooears)[1]

08206649                              BTC[.0003477], USD[1.46]

08206658                              USD[0.00]

08206660                              USD[1609.58]                                                                                                                                                                     Yes

08206675                              USD[312.51]

08206698                              USD[0.00]

08206699                              USD[0.97]                                                                                                                                                                        Yes

08206704                              ETH[0], MATIC[0], NEAR[0], SOL[0], SUSHI[.2536008], USD[0.00], USDT[0]

08206709                              SOL[.00008522]                                                                                                                                                                   Yes

08206713                              CUSDT[2], ETH[.00005677], ETHW[.00005677], TRX[1], USD[0.01]                                                                                                                     Yes

08206718                              BRZ[1], CUSDT[4], USD[0.00]

08206740                              BRZ[.2439786], EUR[0.00], USDT[0]                                                                                                                                                Yes

08206748                              BTC[.00513437], CUSDT[2], ETH[.06118159], ETHW[.06118159], USD[0.01]

08206749                              BTC[.01059445]

08206752                              BAT[1], DOGE[1], ETH[.00000001], NFT (325882294501955695/Birthday Cake #0559)[1], NFT (344493296877054763/The 2974 Collection #0559)[1], NFT (415702503705854046/Birthday Cake
                                      #0782)[1], NFT (420730833992104444/The 2974 Collection #0782)[1], NFT (426342947485835787/The 2974 Collection #2096)[1], NFT (432539464716664661/Birthday Cake #2376)[1], NFT
                                      (551428189174284594/The 2974 Collection #2376)[1], NFT (564827878132836283/Birthday Cake #2096)[1], USD[228.57]
08206754                              CUSDT[2], DOGE[2], ETH[.02865375], ETHW[.02829807], LINK[73.52178237], SHIB[2], SUSHI[15.47766066], TRX[1], USD[107.78]                                                          Yes

08206761                              USD[1.86]

08206769                              ETH[.500499], ETHW[.500499], USD[11.09]

08206772                              CUSDT[4], DOGE[4], USD[0.00], USDT[0]                                                                                                                                            Yes

08206805                              BTC[0], USD[2.72]                                                                                                                                                                Yes

08206811                              USD[5.39]                                                                                                                                                                        Yes

08206829                              NFT (341472603261430954/test)[1]

08206832                              USDT[1.9814763]

08206840                              SHIB[49981044.88705447]                                                                                                                                                          Yes

08206843                              CUSDT[1], DOGE[1], SOL[2.99169021], USD[0.11]                                                                                                                                    Yes

08206845                              USD[80.95]

08206847                              CUSDT[3], USD[0.01]

08206850                              TRX[1], USD[0.01]                                                                                                                                                                Yes

08206858                              NFT (393067589073564961/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #146)[1], USD[4.30]                                                       Yes

08206870                              USD[0.83]

08206871                              USD[0.10]

08206884                              NFT (347839999791002656/Series 1: Capitals #160)[1]

08206889                              CUSDT[1], SHIB[1], SOL[.69803958], USD[0.00]

08206893                              ETHW[.00099], USD[0.26]

08206905                              BTC[.02306251], CUSDT[3], DOGE[1], USD[0.01]                                                                                                                                     Yes

08206908       Contingent, Disputed   AVAX[0], ETH[0.00000001], NFT (469452645255136384/FTX - Off The Grid Miami #669)[1], SOL[.00000001], USD[0.14], USDT[0.00000001]

08206910                              DOGE[40.05342646], ETH[.00164], ETHW[.00162632]                                                                                                                                  Yes

08206925                              KSHIB[.00001033], USD[9.74]

08206933                              BF_POINT[100], BRZ[3], BTC[.21709114], CUSDT[4], ETH[.00479934], ETHW[.00474462], MATIC[.46014796], SHIB[3], SOL[82.76278637], TRX[4], USD[0.00], USDT[1.01095026]               Yes

08206945                              SOL[.22153935], USD[25.01]

08206946       Contingent, Disputed   MATIC[0.00000001], SOL[0], USD[0.00]

08206947                              USDT[0]

08206986                              CUSDT[1], USD[0.01]

08206989                              BTC[0], SOL[0], USD[0.00], USDT[0.00000030]

08206990                              BTC[.11010654], USD[1090.07]                                                                                                                                                     Yes

08206992                              BRZ[1], CUSDT[3], ETH[.38060694], ETHW[.38044705], KSHIB[4080.27723683], MATIC[134.50442934], SOL[7.68925442], TRX[3], USD[0.00]                                                 Yes

08206994                              CUSDT[1], DOGE[236.12372363], USD[0.00]                                                                                                                                          Yes

08207000                              AAVE[.34777809], BTC[.01206069], CUSDT[25], DOGE[2], ETH[.22652765], ETHW[.22632065], GRT[43.69703616], MATIC[96.29542677], SOL[.82065922], SUSHI[32.55170489], TRX[7],          Yes
                                      UNI[12.85829661], USD[200.67], YFI[.00132863]
08207001                              BRZ[1], CUSDT[1], SOL[.00006612], USD[1.16]                                                                                                                                      Yes

08207020                              BTC[.00923281], DOGE[4564.15654198], ETH[.11943787], ETHW[.11828513], LINK[10.11972428], MATIC[144.27441268], SHIB[50542646.03974326], SOL[2.12412562], TRX[170.75098512],       Yes
                                      UNI[6.25990856], USD[104.13]
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              Disputed Indicator
08207023                              BRZ[2], BTC[.02988192], CUSDT[1], DOGE[4], ETH[.60428107], ETHW[.60402715], SHIB[1], TRX[1], USD[0.00]                                                                                  Yes

08207025                              AVAX[.56195441], BTC[.00110308], CUSDT[28], DOGE[633.89287821], ETH[0.03059893], ETHW[0.03021589], MATIC[44.12362684], SHIB[3606029.66092441], SOL[.62207043], TRX[6], USD[0.00]        Yes

08207026                              USDT[1.24938]

08207036                              USD[500.00]

08207044                              NFT (382668892993970255/Miami Ticket Stub #893)[1], NFT (482403744551029441/Barcelona Ticket Stub #1741)[1]

08207055                              NFT (335414603592466688/Whales Nation #44)[1], NFT (434444896192755185/Whales Nation #407)[1], NFT (475864779151613350/Whales Nation #575)[1], NFT (545103476950321496/Whales
                                      Nation #7303)[1]
08207063                              AAVE[0], ALGO[7.95889770], AVAX[0.03005320], BAT[0], BTC[0], CUSDT[0], DOGE[0], ETH[0], ETHW[0], GRT[7.08193570], LINK[0], LTC[0], MATIC[7.85298878], NEAR[0], SHIB[151359.01801615],   Yes
                                      SOL[0], TRX[0], USD[0.00], USDT[0], YFI[0]
08207071                              BRZ[1], CUSDT[4], DOGE[2], SHIB[206318.05401552], TRX[3], USD[0.80]

08207077                              USD[5.39]                                                                                                                                                                               Yes

08207081                              AUD[0.06], BAT[29.30382774], BRZ[214.84407823], SHIB[1], USD[0.00]                                                                                                                      Yes

08207091                              USDT[30]

08207094                              DAI[0], EUR[0.00], USDT[0]

08207116                              NFT (405292613469870058/Entrance Voucher #2188)[1]

08207120                              BTC[.00723847], CUSDT[1], DOGE[1], TRX[1], USD[0.13]

08207124                              USD[1.88]                                                                                                                                                                               Yes

08207135                              USD[0.63]

08207140                              SHIB[2198600], USD[2.55]

08207149                              KSHIB[689.31], USD[5.16]

08207150                              BTC[.0004], USD[0.22]

08207183                              BTC[.00413339], USD[0.01]

08207196                              BTC[.00000007], DOGE[1], ETH[.00003248], ETHW[.00003248], SHIB[22.4435241], TRX[2], USD[0.00], USDT[0]

08207226                              USD[35.41]

08207249                              USD[0.00], USDT[0.00003407]

08207257                              BTC[.000001], SHIB[1], USD[10.30]                                                                                                                                                       Yes

08207259       Contingent, Disputed   SOL[23.52259798], USD[2500.01]

08207263                              CUSDT[2], DOGE[3], ETH[.01031697], ETHW[.01019385], LINK[1.29115679], SHIB[1], SUSHI[4.46942876], UNI[1.5147358], USD[0.00]                                                             Yes

08207264                              USD[25.52]

08207267                              BTC[.00106371], CUSDT[2], DOGE[277.65336324], LTC[.34261473], SOL[.25838454], USD[0.00]

08207275       Contingent, Disputed   USD[30.00]

08207276                              USD[100.00]

08207282                              CUSDT[1], ETH[0]                                                                                                                                                                        Yes

08207290                              SHIB[2], USD[0.00]

08207296       Contingent, Disputed   CUSDT[4], USD[0.00]                                                                                                                                                                     Yes

08207307                              CUSDT[25.22337576], DOGE[514.57344857], ETH[.02361753], ETHW[.02361753], SHIB[2751716.63191441], SOL[1.05130673], TRX[81.18642672], USD[0.00], USDT[0.70049766]

08207315                              BTC[.00006795], USD[0.00]

08207316                              ETH[0], SOL[0], USD[0.00], USDT[0]

08207317                              LTC[.00615634], USD[0.00]

08207324                              BTC[.00071349], CUSDT[150.0920448], ETH[.02075469], ETHW[.02049458], USD[11.42]                                                                                                         Yes

08207327                              BF_POINT[200], CUSDT[7], SHIB[2621264.12628374], TRX[2], USD[0.04]                                                                                                                      Yes

08207328                              BTC[.00329963]                                                                                                                                                                          Yes

08207333                              CUSDT[1], MATIC[538.74964353], USD[0.00]

08207334                              USD[16.17]                                                                                                                                                                              Yes

08207337                              USD[500.01]

08207338                              BTC[.0051948], DOGE[1000.998], ETH[.038], ETHW[.038], LTC[.8991], SHIB[4000000], SOL[.61938], USD[0.88]

08207339                              USD[16.16]

08207343                              USD[0.00], USDT[.35541878]

08207348                              USD[100.00]

08207364                              USD[32.33]                                                                                                                                                                              Yes

08207375                              USD[0.34]

08207387                              NFT (288801831750122869/Pudgey Penguin #1)[1]

08207396                              BAT[1], BRZ[4], ETH[.00000187], ETHW[.00000187], LINK[.00029308], NFT (482496237370388222/Australia Ticket Stub #1519)[1], TRX[6], USD[68.48]                                           Yes

08207400                              USD[0.00]

08207404                              NFT (312559226025582015/Snowgazing)[1], SOL[.0939], USD[1.74]

08207406                              NFT (494831287200605885/Astral Apes #293)[1], SHIB[1], SOL[.08417735], USD[0.00]                                                                                                        Yes

08207414                              ETH[.01126041], ETHW[.01126041]

08207416                              AUD[0.14], CUSDT[1], DOGE[.77231796], TRX[1], USD[0.87]                                                                                                                                 Yes

08207424                              CUSDT[3], ETH[.0133223], ETHW[.01315814], LTC[.16993433], USD[0.00], USDT[26.76876221]                                                                                                  Yes

08207425                              USD[0.00]
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              Disputed Indicator
08207450                              BTC[.0918], ETH[2], ETHW[2.894], USD[7.23]

08207457                              CUSDT[1], SHIB[1], TRX[.000001], USDT[0]

08207461                              USD[1.95]

08207478       Contingent, Disputed   USD[0.28]

08207484                              DOGE[11.16197581], KSHIB[102.01296859], SHIB[83269.76689184], USD[31.12], USDT[2.14212316]                                                                                         Yes

08207485                              BTC[.00206669], CUSDT[2], ETH[.12556932], ETHW[.12556932], SHIB[1], USD[0.00]

08207486                              CUSDT[1], SOL[.49066497], USD[0.00]                                                                                                                                                Yes

08207500                              CUSDT[1], SHIB[1965408.80503144], USD[0.00]

08207507                              SOL[.0093935], USD[10.00], USDT[0]

08207517                              CUSDT[2], DOGE[2], ETH[.10669948], ETHW[.10561557], SHIB[6648324.55756377], SOL[5.2608982], USD[33.18]                                                                             Yes

08207521                              BTC[.0010011], CUSDT[1.95681], DOGE[31.72407198], USD[5.35]                                                                                                                        Yes

08207522                              BTC[.0043956], USD[10.85]

08207532                              USD[0.15]

08207540                              BTC[.0003996], USD[40.26]

08207551                              USD[500.00]

08207552                              EUR[0.00], SOL[0], USD[0.00]

08207555                              USD[3.61]

08207557                              BTC[.00000132], ETH[.00000195], ETHW[.00000195]                                                                                                                                    Yes

08207562       Contingent, Disputed   USD[24.67]

08207569                              USD[0.00]

08207592                              USD[6.38]

08207593       Contingent, Disputed   BTC[.00131162]

08207594                              BTC[0], SHIB[1], TRX[1], USD[0.00]                                                                                                                                                 Yes

08207599                              CUSDT[3], USD[0.00], USDT[0]                                                                                                                                                       Yes

08207606                              BTC[.00000691], USD[8.95], USDT[0.00000001]

08207608                              BTC[0], USD[0.00]

08207611                              CUSDT[0], DAI[0], ETH[0], SHIB[0], SOL[0], UNI[0.16399750], USD[0.00]                                                                                                              Yes

08207616                              BTC[0.00000413], USD[624.87]

08207632                              ETH[0], ETHW[3.03831922], SHIB[1], SOL[.00055738], TRX[1], USD[0.00], USDT[1.01106312]                                                                                             Yes

08207635                              CUSDT[2], DOGE[1], SHIB[1], SOL[51.91386805], TRX[1], USD[0.00]                                                                                                                    Yes

08207652                              SOL[97.05], USD[0.37]

08207653       Contingent, Disputed   USD[68.00]

08207660       Contingent, Disputed   BTC[.00197527], USD[500.00]

08207674                              ETH[.00000306], ETHW[.17644918], SHIB[2], USD[4523.14], USDT[.00181014]                                                                                                            Yes

08207675       Contingent, Disputed   USD[0.00]

08207680                              USD[0.03]                                                                                                                                                                          Yes

08207683                              ETHW[.00006797], USD[0.00]                                                                                                                                                         Yes

08207684                              USD[100.00]

08207690                              USD[503.41]                                                                                                                                                                        Yes

08207695       Contingent, Disputed   NFT (323444218728189125/FTX Crypto Cup 2022 Key #2460)[1], NFT (409646084706039883/Romeo #3601)[1], NFT (507242245388474942/Humpty Dumpty #275)[1], SOL[1.677995]

08207703                              BTC[.10809459], CUSDT[1], DOGE[2], USD[0.74], USDT[1.06343751]                                                                                                                     Yes

08207705                              BTC[.00013413], ETH[.00425615], ETHW[.00420143], USD[0.00], USDT[0]                                                                                                                Yes

08207715                              USD[100.00]

08207719                              SOL[26.79412721], USD[0.00]

08207720                              BTC[.01033847], TRX[1], USD[0.01]

08207734                              BTC[.0000024], USD[2.00]

08207736                              SHIB[.00002347], USD[0.00]                                                                                                                                                         Yes

08207743                              ALGO[0], LINK[0], USD[0.00]                                                                                                                                                        Yes

08207745                              LINK[5.2], SHIB[2800000], SOL[1.64], USD[1.87]

08207748                              CUSDT[1], SOL[.60026482], USD[0.00]                                                                                                                                                Yes

08207761                              CUSDT[1], DOGE[1], SOL[.00765315], USD[34.81]

08207762                              NFT (481000668348590181/Entrance Voucher #3043)[1]

08207766                              BRZ[2.06522164], BTC[0], CUSDT[2], DOGE[118.24668568], ETH[.00030741], ETHW[.00030741], MATIC[64.04753648], NFT (408153381194037260/Travel sprouts collection #48)[1], NFT         Yes
                                      (430268327043206099/Sol Pengg #5)[1], NFT (457247112167790135/Pixel Fruit #2)[1], NFT (482481127526972955/Pixel Fruit #3)[1], NFT (523197433922007997/DDD 'random #2)[1], NFT
                                      (543942675380917506/Tim Brown's Playbook: New York Jets vs. Oakland Raiders - December 2, 2002 #77)[1], SHIB[1], SOL[0], SUSHI[0], TRX[205.14505537], UNI[.05648816], USD[0.00],
                                      USDT[0.00000313]
08207770                              USD[0.00]

08207777                              CUSDT[3], USD[0.00]

08207786                              AAVE[.0491897], CUSDT[2], TRX[1], UNI[.00000001], USD[0.00]                                                                                                                        Yes

08207790                              BTC[0], SOL[0], USD[0.00]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08207797                              DOGE[1], ETH[.0441177], ETHW[.0441177], USD[0.00]

08207806                              SHIB[794148.37411972], USD[0.00]                                                                                                                                                    Yes

08207814                              USD[0.05], USDT[9.93006]

08207815                              SOL[1.13057711], USD[0.00]

08207820                              BAT[4.56943262], BRZ[103.09391282], CUSDT[2], DOGE[184.89280016], GRT[6.93060843], KSHIB[1267.2310312], MATIC[3.70989443], SHIB[2], SOL[.13731391], SUSHI[2.14897372], USD[0.00],   Yes
                                      USDT[6.69413479]
08207832                              AVAX[12.2], BTC[.0001399], ETH[.003011], ETHW[3.373011], USD[16841.29]

08207833                              ETH[0], NFT (430144693506530802/Careless Cat #142)[1], SOL[.00000001]

08207849                              BRZ[1], BTC[.00000014], CUSDT[1], DOGE[4], ETH[0], MATIC[0], SOL[.00000001], TRX[6], USD[0.00], USDT[1.07467446]                                                                    Yes

08207851       Contingent, Disputed   BTC[.00046058], SOL[.52166512], USD[0.00]                                                                                                                                           Yes

08207855                              NFT (332124667274917567/Rainbow #211)[1], NFT (484359464297541714/Solana Penguin #5724)[1], NFT (495155714258168205/Ferris From Afar #720 (Redeemed))[1], NFT
                                      (530582441085954437/IRL #28)[1], USD[0.23], USDT[1.0459466]
08207859                              CUSDT[4], DOGE[2], SOL[.00001965], SUSHI[.00049582], TRX[5], UNI[.00026035], USD[0.01], USDT[1.07412269]                                                                            Yes

08207862                              SOL[0], USDT[0.00000063]

08207883                              BRZ[1], DOGE[1], GRT[1], SHIB[1], TRX[2], USD[12.16], USDT[0]                                                                                                                       Yes

08207886                              BRZ[1], BTC[.07845456], CUSDT[5], DOGE[2], ETH[.32460295], ETHW[.32460295], SHIB[1], TRX[4], USD[0.00]

08207889                              CUSDT[4], DOGE[1], USD[0.00]

08207895                              BRZ[1], BTC[.01927636], CUSDT[6], DOGE[1], ETH[.22623092], ETHW[.22602438], KSHIB[3698.09338704], SHIB[1], TRX[2], USD[0.03]                                                        Yes

08207900                              NFT (322818992999097150/Aku World: Dream #166)[1]

08207902                              NFT (500484167737766043/Aku World: Dream #167)[1]

08207903                              ETH[.23352195], ETHW[.23352195], SOL[1.04864139], USD[0.00]

08207908                              CUSDT[1], ETH[.00278028], ETHW[.00278028], SOL[.01821156], USD[0.00]

08207910       Contingent, Disputed   USD[0.00]

08207916                              BTC[0.00000981], ETH[.00000116], ETHW[0.00000115], MATIC[0.00058713], USD[0.00], USDT[0.00000001]                                                                                   Yes

08207927                              NFT (492938587798104590/Aku World: Dream #177)[1], NFT (551120141519886599/FTX - Off The Grid Miami #4160)[1]

08207929                              NFT (436886684901625119/Aku World: Dream #168)[1]

08207937       Contingent, Disputed   BTC[.00006149], DOGE[.438], SHIB[2897100], USD[-15.83]

08207957                              BRZ[1], DAI[0], DOGE[.05297979], ETH[0], LINK[0], MATIC[0], SHIB[19], SOL[0.00127339], USD[0.15], USDT[0.00000001]                                                                  Yes

08207963                              BTC[0], DOGE[1], SHIB[1], USD[1.29]                                                                                                                                                 Yes

08207970                              BF_POINT[300], BRZ[4], CUSDT[12], DOGE[5], LINK[222.53226509], LTC[31.87834827], SHIB[4], TRX[3], USD[0.00]                                                                         Yes

08207971                              USD[5.00]

08207978                              BTC[0], USD[0.00], USDT[0.00000649]

08207986                              BTC[.01009091], ETH[.1538614], ETHW[.1538614], USD[2.82]

08207994                              BTC[1.1438178], ETH[3.494502], ETHW[3.494502], SOL[59.01093], USD[23.34], USDT[215.72]

08207995                              SOL[2.61335147], USD[0.00]                                                                                                                                                          Yes

08207998                              NFT (475433953363380681/Aku World: Dream #171)[1]

08207999                              SOL[.54], USDT[1.78820987]

08208000                              NFT (387267118671091622/Aku World: Dream #174)[1]

08208002                              NFT (351679761587148602/Aku World: Dream #212)[1]

08208003                              NFT (405904201802926924/Aku World: Dream #170)[1]

08208011                              NFT (464897986395936535/Aku World: Dream #169)[1]

08208013                              NFT (438214559283828026/Coachella x FTX Weekend 1 #24962)[1]                                                                                                                        Yes

08208016                              NFT (509432265132434536/Aku World: Dream #178)[1]

08208030                              CUSDT[8], DOGE[2], SHIB[1], TRX[1], USD[0.00]

08208031                              NFT (377877027766373486/Aku World Avatar #127)[1], NFT (433621761801250524/Aku World: Dream #172)[1]

08208032                              USD[0.00]                                                                                                                                                                           Yes

08208041                              NFT (291180133940570859/Vojoh!)[1], NFT (498754632294261918/Panda Fraternity #1963)[1], NFT (507374064624222246/Williams-Brice Stadium)[1], SOL[.01455826], USD[64.00]

08208057                              NFT (495308922952087970/Aku World: Dream #265)[1]

08208059                              NFT (326455227004982737/Aku World: Dream #173)[1], NFT (478420889241790077/Aku World Avatar #126)[1]

08208061                              NFT (356942688762197534/Aku World: Dream #220)[1], NFT (488076675767623014/Aku World Avatar #143)[1]

08208067                              CUSDT[1], SHIB[130514.22605063], USD[0.00]

08208069                              NFT (338485804361588724/Aku World: Miami #8)[1]

08208070                              BTC[.00010278], CUSDT[1], DOGE[27.98647603], ETH[.00122893], ETHW[.00122893], KSHIB[39.4168099], LINK[.04936666], LTC[.00623688], MATIC[.50777273], SHIB[39370.07874015],
                                      SOL[.00483339], TRX[34.56967552], USD[0.00]
08208077                              AVAX[.00000001], ETH[0], USD[41.64]

08208079                              NFT (569886543924570055/FTX - Off The Grid Miami #1331)[1]

08208084                              USD[0.00]

08208095                              NFT (337375426765498415/Aku World: Dream #218)[1], NFT (390235777597374777/Aku World Avatar #141)[1]

08208098                              CUSDT[1], MATIC[50.69030667], USD[0.00]

08208102                              NFT (351911903178683241/Aku World: Dream #175)[1]
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              Disputed Indicator
08208103                              NFT (441437108892115220/Entrance Voucher #1153)[1], SHIB[3], USD[0.01]                                                                                                         Yes

08208116       Contingent, Disputed   USD[0.01]

08208121                              BRZ[1], USD[0.00], USDT[481.12201111]                                                                                                                                          Yes

08208122                              NFT (433183298251389387/Kah-Lo Aku World Avatar)[1], NFT (560167547958915862/Aku World Avatar #151)[1]

08208133                              ETH[.00000001], USD[122.52]

08208145                              DOGE[1], USD[42.84], USDT[10.63994139]                                                                                                                                         Yes

08208148                              SOL[0], TRX[1]

08208153                              ETHW[.12621151], USD[344.96]                                                                                                                                                   Yes

08208163                              USD[0.00], USDT[0]

08208164                              NFT (467505572408561431/Aku World: Dream #202)[1]

08208172                              DOGE[5.98536996], ETH[.00658099], ETHW[.00658099], USD[0.00]

08208180                              CUSDT[1], DOGE[224.34509329], USD[0.00]                                                                                                                                        Yes

08208184       Contingent, Disputed   BTC[0.35294827], ETH[.75988083], ETHW[.75988083], SOL[7.50465772], USD[0.00], USDT[132.22552954]

08208185                              NFT (365693786564584926/Aku World: Dream #180)[1]

08208189                              SOL[.10531133], TRX[216.1545041], USD[0.00]

08208194                              BRZ[3], CUSDT[2], DOGE[5], LINK[.00013786], NFT (383026963710461863/Dagg Art #13)[1], SHIB[6], SOL[0.00000002], TRX[6], USD[0.00], USDT[1.02543197]                            Yes

08208197                              BRZ[4], BTC[.02412775], CUSDT[16], DOGE[1861.18912854], ETH[.29238017], ETHW[.29218793], EUR[8.66], GRT[107.10697754], MATIC[162.88623682], SHIB[2], SOL[.6297792], TRX[2]     Yes

08208199                              USD[0.00]                                                                                                                                                                      Yes

08208209                              BTC[.00076276], ETH[0.00378713], ETHW[0.00378713], SHIB[1], TRX[1], USD[4.10]

08208213                              USD[5.00]

08208215                              BTC[0.00002378], DOGE[.03397288], TRX[.000972], USD[0.47], USDT[0.34846974]

08208236                              BRZ[1], SHIB[1], TRX[2], USD[0.00]

08208240       Contingent, Disputed   USD[18.67]

08208261                              SOL[.21891656]

08208265                              BAT[4.40827582], BTC[.00296597], CUSDT[3], DOGE[1], ETH[.00258675], ETHW[.00255937], LINK[.27551273], MATIC[17.03728775], SOL[.02794279], SUSHI[.991955], TRX[1], USD[0.01],   Yes
                                      USDT[4.28253]
08208266                              ETH[0], ETHW[0], USD[1.74]

08208271       Contingent, Disputed   SHIB[699500], USD[0.76]

08208275                              BRZ[2], CUSDT[3], DOGE[1], ETHW[2.0576479], SHIB[1], TRX[2], USD[0.00], USDT[2.15314083]                                                                                       Yes

08208279                              NFT (484246027221997779/Autumn 2021 #1014)[1], SOL[.00000001], USD[6.49]

08208280                              NFT (470312720929181929/Aku World: Dream #182)[1]

08208293                              USD[0.01]                                                                                                                                                                      Yes

08208295                              DOGE[.00130663], ETH[.00000532], ETHW[.58213853], SOL[.00000224], USD[1526.66]                                                                                                 Yes

08208322                              NFT (546338673243601316/Aku World: Dream #184)[1]

08208330                              USDT[0.00004038]

08208339                              BTC[.0240982], ETH[.1146997], ETHW[0.11358015], MATIC[369.04530522], SOL[2.42810655], USD[0.00]                                                                                Yes

08208345                              CUSDT[1], MATIC[75.78682454], SHIB[5791674.91429260], USD[0.16]

08208348                              BRZ[1], BTC[.03312262], CUSDT[3], ETH[.18056618], ETHW[.18032198], SHIB[1], SOL[16.98161972], TRX[3], USD[7.10]                                                                Yes

08208360                              ETH[.00554153], ETHW[.00554153], SOL[0.00000006]

08208362                              DOGE[1], SOL[.00002344], TRX[1], USD[0.01]                                                                                                                                     Yes

08208365                              BTC[0.00030000], USD[1.52]

08208373                              BAT[1.00669805], BTC[0], CUSDT[2], DOGE[2], LINK[.00046778], USD[0.01], USDT[1.07599888]                                                                                       Yes

08208380       Contingent, Disputed   BTC[0], ETH[0.04621998], ETHW[0.04621998], LTC[0], MATIC[0], USD[0.00]

08208382                              NFT (386992374213098147/Aku World Avatar #133)[1], NFT (410824395459892734/Aku World Avatar #130)[1], NFT (429246965317269920/Aku World Avatar #131)[1], NFT
                                      (532528497304366556/Aku World Avatar #132)[1], NFT (539656634151801750/Aku World Avatar #134)[1]
08208383       Contingent, Disputed   BTC[.00100864], DOGE[307.61535652], SHIB[1410835.21444695], USD[0.02]

08208385                              USD[0.00]

08208389                              BTC[.04027843], USD[0.00]

08208392                              GRT[23.13577015], SOL[0], TRX[0.00000032], USD[0.00]

08208395                              NFT (554711489724034507/Romeo #1144)[1]

08208400                              BRZ[1], DOGE[6], ETHW[4], SHIB[11], TRX[6], USD[0.00]

08208411                              BTC[0.00005053], USD[1.38]

08208419                              NFT (356994098412522309/Aku World Avatar #135)[1]

08208420                              BRZ[1], BTC[.00252673], USD[0.00]

08208421                              CUSDT[1], USD[0.00]

08208434                              AVAX[0], MATIC[541.43754245], SOL[0], USD[0.31], USDT[0]

08208447                              SHIB[2797300], USD[0.23]

08208452                              NFT (486865518031414374/Cal Bears Super Oski Scavenger Hunt #57)[1]

08208453                              NFT (319851726688135547/Aku World: Dream #201)[1]

08208455                              NFT (374322563037695335/Aku World: Dream #203)[1]
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                                                                                                                                  Unsecured          Page 1342 of 1384
                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08208459                              USD[5.38]

08208461                              NFT (335257847231535999/Aku World: Dream #276)[1]

08208463                              CUSDT[1], ETH[.00658391], ETHW[.00650177], USD[26.94]                                                                                                                                   Yes

08208464                              BTC[.0538221], USD[2.65]

08208477                              SOL[.00007649], USDT[0.00000085]

08208479                              NFT (326219063494268252/Windmills)[1], NFT (460769284108522738/Lone Windmill)[1], NFT (487428801482438730/Lone Windmill #2)[1], SOL[0], USD[0.00]

08208482                              USDT[1.9189481]

08208502                              USD[5.38]                                                                                                                                                                               Yes

08208511                              USD[0.00]

08208516                              SOL[2.64556683], USD[0.00]

08208531                              BAT[.00905141], CUSDT[1], DOGE[1.34753575], MATIC[.00019825], SHIB[1], TRX[1], USD[10.79], USDT[0.03712157]                                                                             Yes

08208534                              DOGE[2501.69249341], ETH[.04604367], ETHW[.04604367], SHIB[1193888.29703915], TRX[1], USD[0.00]

08208537                              ETH[0], ETHW[0], SUSHI[0], USD[25.38], USDT[0.51725116]

08208541                              BTC[.00000001], MATIC[54.05175295], NFT (309254919441703856/SOLYETIS #6196)[1], SHIB[1], USD[115.91]                                                                                    Yes

08208544                              NFT (522388384317993033/Aku World: Dream #194)[1]

08208550                              BTC[.000001], ETH[.0167093], USD[0.10]                                                                                                                                                  Yes

08208561                              SHIB[2], USD[197.87]                                                                                                                                                                    Yes

08208562       Contingent, Disputed   BTC[0], USD[0.00]

08208565                              BAT[1], BCH[1.70494613], BRZ[2], BTC[1.88411646], CUSDT[2], DOGE[1], ETH[.25698823], ETHW[.25684281], GRT[1], LINK[25.58515036], LTC[3.292561], MATIC[123.00431486], SHIB[1], TRX[1],   Yes
                                      USD[0.00], USDT[1.00849479]
08208571                              ETH[5.32774927], SOL[.00925698], USD[12515.88]

08208581                              USD[2.83]

08208584                              SOL[.00000001]

08208587       Contingent, Disputed   LTC[.00027187]

08208588                              DOGE[0], SHIB[1], USD[0.00]

08208590                              USD[0.00], USDT[0.00000116]

08208591                              BTC[.0025242], CUSDT[2], ETH[.03385913], ETHW[.03343505], KSHIB[1658.18834963], SHIB[10232072.68434769], TRX[1], USD[214.06]                                                            Yes

08208594                              DOGE[32.12812299], ETH[0], USD[0.00]                                                                                                                                                    Yes

08208601                              SHIB[1], TRX[1], USD[0.01], USDT[0]

08208607                              BTC[.0000997], USD[28.52], USDT[.00032172]

08208611                              AVAX[.00875526], BTC[.00000061], SOL[.00000752], USD[14210.76]

08208616                              USD[100.00]

08208617                              NFT (300450070594464287/Aku World: Dream #189)[1]

08208626                              CUSDT[3], DOGE[.00526575], NFT (399541996925503066/Tim Brown's Playbook: Michigan State vs. Notre Dame - September 19, 1987 #74)[1], SHIB[23.48753707], USD[0.75]                       Yes

08208635                              SOL[12.79580572], USD[0.00], USDT[0.00000001]                                                                                                                                           Yes

08208636                              NFT (434972380060770167/Aku World: Dream #196)[1], NFT (456173037392023018/Aku World Avatar #147)[1]

08208642                              NFT (374143123616896648/Aku World: Dream #187)[1], NFT (400783076835990313/Aku World Avatar #145)[1]

08208643                              NFT (315699570643130444/Aku World: Dream #188)[1]

08208646                              NFT (547688734883077628/Aku World Avatar #148)[1], NFT (555492745183953039/Aku World: Dream #190)[1]

08208657                              NEAR[33.0936853], SHIB[1], USD[0.00]

08208661                              BTC[.00267793], LINK[89.67358786], SHIB[2], USD[0.00]                                                                                                                                   Yes

08208663                              BTC[.01084602], DOGE[1], ETH[.13032114], ETHW[.12925677], NFT (322279205181957394/Medallion of Memoria)[1], NFT (328106162598342342/The Hill by FTX #2089)[1], NFT                      Yes
                                      (396779725765521084/Starry Night #392)[1], NFT (436572967946153227/Medallion of Memoria)[1], NFT (437955763672341240/CORE 22 #30)[1], NFT (488131926344089156/The Reflection of Love
                                      #3655)[1], TRX[1], USD[0.02]
08208664                              NFT (427488755721509252/Aku World: Dream #185)[1]

08208665                              NFT (292502935854385244/Aku World: Dream #186)[1]

08208677                              SOL[0], USD[0.00]                                                                                                                                                                       Yes

08208679                              USD[155.82]

08208684                              MATIC[0], USD[14.79]

08208691                              NFT (487066192893948150/Aku World: Dream #246)[1]

08208693                              BAT[1], BRZ[4], DOGE[2.07515026], ETH[1.0943247], GRT[3], SUSHI[.00000913], TRX[5], USD[0.31], USDT[0]                                                                                  Yes

08208694       Contingent, Disputed   BAT[1], BTC[.63130624], ETH[4.25918553], ETHW[.59286873], GRT[1], LINK[219.39069502], MATIC[9009.45538749], SHIB[6621522.57180208], SOL[72.21167454], USD[0.01]                         Yes

08208696                              BF_POINT[100], BRZ[1], BTC[.00000285], ETH[.00000001], SHIB[2], TRX[3], USD[0.01], USDT[0]                                                                                              Yes

08208705                              MATIC[1.00132551], USD[0.12]                                                                                                                                                            Yes

08208707       Contingent, Disputed   BTC[.2116881], USD[23.84]

08208709                              USD[250.00]

08208724                              ETH[.00000047], ETHW[.00000047], SHIB[1], USD[0.00]                                                                                                                                     Yes

08208726                              NFT (376323143619289434/Birthday Cake #1908)[1], NFT (457641657295968193/The 2974 Collection #1908)[1], USD[0.00], USDT[0.00000001]

08208739                              BAT[1], BRZ[1], BTC[.04800719], CUSDT[2], DOGE[1], ETH[2.28792126], ETHW[2.28792126], SHIB[1], SOL[16.9158362], TRX[4], USD[3707.06], USDT[1]

08208741                              NFT (386242723647892313/Aku World: Dream #195)[1]
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                                                                                                                                            Customer Claims                                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08208751                              CUSDT[1], TRX[1150.94326287], USD[0.00]                                                                                                                                                     Yes

08208756                              BAT[1], BTC[.12503782], CUSDT[3], DOGE[2], ETH[1.18134302], ETHW[1.18134302], MATIC[386.84441037], SOL[19.04322417], USD[0.00], USDT[1]

08208758                              BRZ[1], BTC[.29375002], CUSDT[3], DOGE[7.00057537], SHIB[3], TRX[2], USD[2169.38]                                                                                                           Yes

08208760                              SOL[1.06024198], USD[0.00]

08208761                              CUSDT[3], USD[0.00], USDT[0]

08208762                              NFT (358190137784698568/Aku World: Dream #199)[1]

08208764                              NFT (561270779296108207/Aku World: Dream #200)[1]

08208768       Contingent, Disputed   BTC[.04695554], SOL[.0010035], USD[1134.99]

08208772                              SOL[.0000001], USDT[0.00000021]

08208781                              CUSDT[3], KSHIB[3463.697417], TRX[1], USD[0.00]                                                                                                                                             Yes

08208784       Contingent, Disputed   BTC[.003], ETH[.05195], ETHW[.05195], SHIB[899200], SOL[.54], USD[11.85]

08208785                              BAT[1], CUSDT[2], DOGE[1], ETHW[.12519138], SHIB[1], TRX[1], USD[639.42]

08208789                              CUSDT[6], DOGE[402.68638377], NFT (421292088099790533/SOLYETIS #4365)[1], SHIB[1], TRX[1], USD[0.00]

08208798                              DAI[2.127167], USD[0.00]                                                                                                                                                                    Yes

08208801                              CUSDT[2], MATIC[123.40310212], TRX[2936.74078485], USD[0.00]                                                                                                                                Yes

08208806                              BTC[.0001], KSHIB[9.97], SHIB[99900], USD[1.27]

08208812       Contingent, Disputed   BTC[.00504722], USD[250.01]

08208817                              ALGO[3346.65], USD[3.00], USDT[3494.85165]

08208818                              ETH[0.00067081], ETHW[0.00067081], SOL[0], USD[0.00]

08208826       Contingent, Disputed   USD[0.01]

08208834                              NFT (317797284626380291/Aku World: Dream #197)[1]

08208837                              CUSDT[1], USD[0.00]                                                                                                                                                                         Yes

08208840       Contingent, Disputed   SHIB[1], USD[10.30]                                                                                                                                                                         Yes

08208844                              BAT[1], SHIB[1], USD[0.97]                                                                                                                                                                  Yes

08208853                              ETH[.01], ETHW[.01], USD[40.73]

08208855                              USD[110.49]

08208861                              BF_POINT[100]                                                                                                                                                                               Yes

08208863                              AVAX[.59808374], BTC[.0011678], ETH[.01690317], ETHW[.01690317], MATIC[28.621037], SOL[.50659933], USD[0.00]

08208864       Contingent, Disputed   SOL[9.72267442], USD[0.00]

08208874                              BTC[.0065], MATIC[100], SOL[1], USD[9.89]

08208885                              NFT (351435091923970901/Aku World: Dream #241)[1]

08208888                              USD[500.01]

08208889                              NFT (383487878208918251/Shannon Sharpe's Playbook: Denver Broncos vs. Los Angeles Raiders - January 9, 1994 #74)[1], NFT (547141301127502088/Earl Campbell's Playbook: Houston Oilers vs.
                                      Chicago Bears - November 16, 1980 #140)[1]
08208895                              ETHW[.00014727], USD[0.34], USDT[0]

08208896                              NFT (297661519227373668/Rose Portraits Series #4)[1], NFT (315239194182742119/Naked Poses Series)[1], NFT (342395041455566575/Rose Portraits Series)[1], NFT (350669050822780219/Rose
                                      Portraits Series #3)[1], NFT (378335073142480733/Rose VL 2 #2)[1], NFT (406553241515218125/Naked Poses Series #2)[1], NFT (456785605150551349/Rose Portraits Series #2)[1], NFT
                                      (462124606012042477/Rose V L)[1], NFT (531911704570644238/Rose VL 2 #3)[1], NFT (532954557044794628/Rose VL 2)[1], USD[2.00]
08208897       Contingent,            AAVE[.00001094], BTC[.01183764], DOGE[1], ETHW[.37090765], SHIB[8], TRX[15.86588711], USD[0.00]                                                                                             Yes
               Unliquidated
08208898                              ETH[.0728948], ETHW[.0728948], NFT (305849252509171038/Coachella x FTX Weekend 2 #6456)[1]

08208899                              BAT[.00062522], BRZ[3], CUSDT[27], DOGE[4.00000263], ETH[.00000018], ETHW[0.00000017], GRT[20.74770035], KSHIB[85.18871618], LTC[.00000014], MATIC[.35514849],                              Yes
                                      SHIB[184762.25919306], SUSHI[.74008013], TRX[7], UNI[.00573858], USD[0.00], USDT[0]
08208913                              CUSDT[1], USD[0.00]

08208917                              BTC[.00020168], USD[0.00]

08208923                              NFT (349922264807767277/Aku World: Dream #204)[1]

08208924                              USD[1.00]

08208934       Contingent, Disputed   BTC[0], ETH[.00000001], NFT (421988893844844339/Aku World: Dream #259)[1], SOL[0], USD[7.84], YFI[0]                                                                                        Yes

08208935                              USD[1449.60]

08208936                              CUSDT[1], TRX[1], USD[0.01]

08208938                              USD[0.00]                                                                                                                                                                                   Yes

08208939                              SOL[5.08322551], USD[0.00]

08208940                              BAT[1], BRZ[5.02660006], SHIB[2007.1743714], TRX[1], USD[0.01]                                                                                                                              Yes

08208944                              BRZ[1], BTC[.01986521], TRX[1], USD[0.00]

08208948                              ETH[.00000004], ETHW[.00000004], USD[0.00]

08208950                              BTC[.0516], ETH[1.15868713], ETHW[1.15868713], USD[7.25]

08208953                              BRZ[1], DOGE[2], ETH[1.00028603], ETHW[33.0584024], LINK[145.08034945], SOL[.00069919], TRX[1], USD[1003.95]                                                                                Yes

08208958       Contingent, Disputed   ETH[.047952], ETHW[.047952], USD[804.10]

08208964                              TRX[123.00722991], USD[0.00]                                                                                                                                                                Yes

08208971                              BRZ[1], CUSDT[2], SOL[3.7273228], USD[0.00]

08208974                              CUSDT[.00029886], ETH[.0009397], ETHW[.00092601], USD[0.12], USDT[0]                                                                                                                        Yes

08208983                              BTC[.0213], ETH[.287], ETHW[.287], SOL[8.20756], USD[11.73]
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                                                                                                                                  Unsecured          Page 1344 of 1384
                                                                                                                                            Customer Claims                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08208986                              NFT (347482876448466056/Aku World: Dream #206)[1]

08208992                              AAVE[0], ALGO[0], AVAX[0], BCH[0], DOGE[0], GRT[0], KSHIB[0], LTC[0], MATIC[0], NEAR[0], SHIB[0], SOL[0], USD[1.01]                                                  Yes

08209000                              USD[21.55]                                                                                                                                                           Yes

08209006                              BTC[.00152859], CUSDT[3], ETH[.00606532], ETHW[.00606532], USD[0.00]

08209012                              NFT (327879447765175626/Aku World: Dream #213)[1]

08209013                              SOL[1.45]

08209035       Contingent, Disputed   USD[500.00]

08209039                              CUSDT[1], ETH[.00486318], ETHW[.00486318], USD[0.00]

08209040                              CUSDT[1], USD[0.00]

08209052                              TRX[.000125], USDT[224.0367]

08209074                              DOGE[3580.416], GRT[624.375], SOL[2.55744], USD[1.78]

08209083                              NFT (427588809971719577/Aku World: Dream #208)[1]

08209085                              BAT[0], BTC[0], TRX[2.69657718], USD[0.00]

08209095                              BTC[.01096602], CUSDT[2], TRX[1], USD[0.02], USDT[1.07749504]                                                                                                        Yes

08209101                              NFT (335258117432482367/Aku World: Dream #209)[1]

08209109                              NFT (337963629271350570/Cal Bears Super Oski Scavenger Hunt #58)[1]

08209116                              BAT[1022.25909184], BRZ[2], CUSDT[6], DOGE[6.00767613], ETH[.00000538], ETHW[.00000538], MATIC[476.05284678], SHIB[35293127.77917151], TRX[4.14099716], USD[10.35]   Yes

08209120       Contingent, Disputed   SOL[0], USD[24.71], USDT[0.00000001]                                                                                                                                 Yes

08209129                              NFT (348073133635522907/Aku World: Dream #210)[1]

08209131       Contingent, Disputed   ETH[0], SOL[0], USD[0.00]

08209149                              NFT (312138040070952152/Aku World: Dream #217)[1]

08209154                              NFT (380207301148252352/Aku World: Dream #214)[1]

08209162                              BTC[.02292941], CUSDT[1], DOGE[1], LINK[5.1189362], TRX[2], USD[2.54]                                                                                                Yes

08209168                              NFT (420398016833527298/Aku World: Dream #219)[1]

08209169                              NFT (312644793312896909/Coachella x FTX Weekend 2 #22315)[1]

08209172                              NFT (312368455102717503/Aku World: Dream #242)[1]

08209173                              NFT (352721854830949278/SKULL-BIT #4)[1], USD[0.01]

08209176                              NFT (471485131392382703/Aku World: Dream #248)[1]

08209178                              NFT (487815749292944818/Aku World: Dream #221)[1]

08209180                              USD[0.76]

08209181                              NFT (389810722052476816/Aku World: Dream #224)[1]

08209183                              BRZ[1], DOGE[1], GRT[1], USD[0.00]

08209184                              USD[105.89]                                                                                                                                                          Yes

08209195                              NFT (473497705636583205/Aku World: Dream #225)[1]

08209196                              BRZ[1], CUSDT[1], DOGE[1], MKR[.00000008], SHIB[10], TRX[4], USD[0.00]                                                                                               Yes

08209201                              SOL[0], USD[0.00]                                                                                                                                                    Yes

08209203                              CUSDT[3], ETH[0], SOL[0], USD[0.00]

08209211                              BTC[.00009815], ETH[.00121825], ETHW[.00120457], USD[0.00]                                                                                                           Yes

08209218                              NFT (487827235542334722/Aku World: Dream #228)[1]

08209220                              NFT (448666733156626374/Aku World: Dream #229)[1]

08209223                              ETH[.06280019], ETHW[.06280019], SOL[1.04078528], USD[0.00]

08209225                              NFT (404240468178641381/Aku World: Dream #227)[1]

08209236                              NFT (561259215428426785/Aku World: Dream #230)[1]

08209239       Contingent, Disputed   BTC[0.00082431], SOL[0], SUSHI[0]

08209249                              NFT (539716678352019148/Aku World: Dream #233)[1]

08209267                              SOL[.00000085], USD[0.00]

08209269                              NFT (550276127837857786/Aku World Avatar #157)[1]

08209272                              CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                         Yes

08209276                              NFT (456568854334477476/Aku World Avatar #158)[1]

08209289                              NFT (536614526396988731/Aku World: Dream #235)[1]

08209303                              NFT (427669832454614547/Aku World: Dream #245)[1]

08209306                              BTC[.01010939], DOGE[1414], ETH[.12098927], ETHW[.12098927], SOL[2.43707309], USD[0.00]

08209307                              BTC[.0000168], USD[129.72]

08209311                              CUSDT[1], USD[0.00]                                                                                                                                                  Yes

08209317                              BTC[0.00019429], USD[0.00]

08209319                              NFT (544215817789495614/Aku World: Dream #238)[1]

08209320                              NFT (385305896801004721/Aku World: Dream #240)[1]

08209323                              USD[0.00]                                                                                                                                                            Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08209327                              USD[1.00]

08209336                              NFT (338550064719086677/Coachella x FTX Weekend 1 #29386)[1], USD[0.00], USDT[0]

08209343                              NFT (350904031394546468/Aku World: Dream #243)[1]

08209346                              NFT (415306133490638078/Coachella x FTX Weekend 1 #17778)[1], NFT (473803379051130321/FTX - Off The Grid Miami #387)[1]

08209347                              BRZ[1], CUSDT[3], DOGE[3], ETH[.00846895], ETHW[.00835951], NFT (294559334401455968/Anti Artist #90)[1], NFT (336682349652577782/Anti Artist #95)[1], NFT (375069187097932542/Astral   Yes
                                      Apes #266)[1], NFT (495025682210815568/ApexDucks #3156)[1], SHIB[1], SOL[1.85663487], TRX[1], USD[0.57]
08209350                              BTC[.00044369], CUSDT[3], ETH[.01304949], ETHW[.01288533], MATIC[.10199667], SHIB[3], USD[11.57]                                                                                       Yes

08209357                              ETH[0], ETHW[0], SHIB[2], TRX[0], USD[0.00]                                                                                                                                            Yes

08209363                              DOGE[1], KSHIB[2376.79236553], USD[0.00]

08209374                              BAT[1.00380629], BTC[.01787617], CUSDT[2], DOGE[1], ETH[.06106058], ETHW[0.06030304], SOL[19.49789661], TRX[3], USD[0.00]                                                              Yes

08209391                              BTC[0], ETH[0], USD[538.13]

08209393                              NFT (314507302174184922/Aku World: Dream #247)[1]

08209407                              USD[484.94]                                                                                                                                                                            Yes

08209410                              BTC[.003], ETH[.0119886], ETHW[.0119886], SOL[.239772], USD[5.21]

08209411                              NFT (482642590221570549/Aku World Avatar #162)[1]

08209415                              NFT (350152900186117748/Aku World: Dream #249)[1]

08209418                              NFT (547472478117200784/Aku World: Dream #252)[1]

08209421                              NFT (384673902575540973/Aku World: Dream #250)[1]

08209430                              SOL[0], USD[0.00]

08209431                              NFT (332740796975570517/OldSeries)[1], NFT (350088005535497011/OldSeries #4)[1], NFT (415571574839629598/OldSeries #3)[1], NFT (524038968371911739/OldSeries #2)[1], USD[0.00]

08209438                              DOGE[1], MATIC[4.65077515], USD[0.00]

08209452                              USD[0.06], USDT[0.00000059]

08209455                              NFT (432204505735489845/Aku World: Dream #257)[1]

08209461                              USD[6.87], USDT[0]

08209462                              USD[11.00]

08209466                              NFT (378161440880988495/Aku World: Dream #264)[1]

08209472                              BTC[0], ETH[0], MATIC[0], SHIB[0], TRX[0], USD[0.00], USDT[0]                                                                                                                          Yes

08209481                              NFT (532283843000113290/Warriors 75th Anniversary Icon Edition Diamond #108)[1]

08209483                              NFT (388889576684367421/Aku World: Dream #255)[1]

08209486                              BAT[1], BTC[.00589157], CUSDT[1], ETHW[.06834459], SHIB[5], TRX[4], USD[94.87]                                                                                                         Yes

08209507                              USD[0.00]

08209508                              CUSDT[2], DOGE[1], SHIB[3405415.28681876], USD[0.00]                                                                                                                                   Yes

08209511                              BRZ[1], DOGE[1], ETH[0.00000024], ETHW[0.00000024], SHIB[2], USD[0.00]                                                                                                                 Yes

08209520                              NFT (433572607674992465/Aku World: Dream #256)[1]

08209528                              SOL[.00007008]

08209541                              CUSDT[14], DOGE[6.00038359], SHIB[6], TRX[3], USD[0.00]                                                                                                                                Yes

08209542       Contingent, Disputed   NFT (298866092588453454/Aku World: Dream #258)[1]

08209543                              USD[2.11]                                                                                                                                                                              Yes

08209561                              CUSDT[2], DOGE[1], USD[283.54]

08209566                              NFT (512148366593801180/Aku World: Dream #270)[1]

08209570                              ETH[.00061], ETHW[.60161], USD[0.89]

08209572       Contingent, Disputed   USD[0.47], USDT[0.00000001]

08209575                              NFT (477831682437243129/Aku World: Dream #261)[1]

08209578                              NFT (449212012699458489/Zebulan Mind Series)[1], USD[0.00]

08209581                              NFT (543490028332257352/Aku World: Dream #272)[1]

08209584                              USD[0.00], USDT[0]                                                                                                                                                                     Yes

08209601                              USD[0.01]                                                                                                                                                                              Yes

08209609                              CUSDT[1], DOGE[1], KSHIB[70000.99451984], TRX[2], USD[0.00]

08209610                              USD[0.00]

08209612                              BTC[.00036367], USD[0.00], USDT[0]                                                                                                                                                     Yes

08209627       Contingent, Disputed   ETH[.00005976], ETHW[.00005976], NFT (447636085161610428/Neon Punk Hound)[1], USD[0.00]

08209632                              CUSDT[3], DOGE[1], SOL[.18252071], USD[1.69]                                                                                                                                           Yes

08209636                              BTC[.00211894], CUSDT[1], USD[0.00]                                                                                                                                                    Yes

08209637                              CUSDT[1], NFT (399125892834124608/Aku World: Dream #268)[1], USD[0.00]                                                                                                                 Yes

08209641                              NFT (507816970970392498/Aku World: Dream #266)[1]

08209658                              NFT (309587689184491956/Aku World: Dream #278)[1]

08209662                              ETH[.591691], ETHW[.591691], SOL[3], USD[4.99]

08209670                              DOGE[427.89250883], MATIC[22.94108599], USD[0.15], USDT[0]

08209674                              NFT (448983663564484999/Aku World: Dream #271)[1]
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Customer Code Unliquidated, or         Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08209677      Contingent, Disputed     BTC[0], ETH[0], SHIB[420079.70647773], SOL[0.00000001], USD[0.00]

08209679                               USD[20.00]

08209687                               NFT (298813595677927467/Aku World: Dream #273)[1]

08209698                               USD[0.00]

08209737                               NFT (420960877176653947/Aku World: Dream #274)[1]

08209738                               USD[5.39]                                                                                                                                                             Yes

08209739                               NFT (306606930780137637/Aku World: Dream #275)[1]

08209740                               CUSDT[2], DOGE[1], TRX[1], USD[0.01]                                                                                                                                  Yes

08209741                               USD[33.12]                                                                                                                                                            Yes

08209746        Contingent, Disputed   USD[214.43]

08209750                               BAT[1.00959825], BTC[.00000037], CUSDT[5], DOGE[6.03621816], GRT[1], USD[0.01]                                                                                        Yes

08209754        Contingent, Disputed   SOL[3.4359264], USD[0.00]

08209755                               BTC[.00000038], ETH[.00000754], ETHW[.00000754], LTC[.00006028], SHIB[2], SOL[.00009253], USD[2043.05]                                                                Yes

08209757                               CUSDT[1], SOL[2.5006321], USD[0.00]                                                                                                                                   Yes

08209763                               NFT (496161061679405710/Aku World: Dream #277)[1]

08209769                               BRZ[15.87841086], BTC[.00347923], DOGE[750.28427837], ETH[.08354198], ETHW[.08251804], LTC[1.4730153], MATIC[92.29326552], SHIB[3319719.4441233], TRX[1], USD[0.00]   Yes

08209770        Contingent, Disputed   BF_POINT[200]

08209772                               SOL[.02]

08209773                               SHIB[274423.71020856], USD[0.00]

08209775                               BCH[0], BTC[0.00000447], DOGE[0], ETH[0], USD[0.00], USDT[0.00000001], YFI[0]                                                                                         Yes

08209777                               NFT (346043428675986408/Aku World: Dream #288)[1], NFT (430880543677115773/Aku World: Dream #287)[1], NFT (566528863002723675/Aku World: Dream #291)[1]

08209779                               USD[200.00]

08209796                               BTC[.00010179], USD[0.98]

08209798                               DOGE[0], SHIB[175.69424460], USD[0.00]                                                                                                                                Yes

08209799                               USD[200.01]

08209806                               NFT (467125760123624292/Aku World: Dream #279)[1]

08209807                               NFT (319282134446440958/Aku World: Dream #283)[1]

08209811                               BTC[0], MATIC[0], NFT (333551730034766330/FTX EU - we are here! #215737)[1], SOL[0], USD[0.00]

08209815                               BAT[0], DOGE[0], ETH[0], GRT[0], LINK[0], LTC[0], MATIC[0], MKR[0], SHIB[0], SOL[0], SUSHI[0], TRX[0.00000028], USD[0.00], YFI[0]

08209825                               BTC[.0000999], USD[0.09]

08209826                               BCH[0], DOGE[2], SHIB[0], SOL[0], TRX[1], USD[0.00]                                                                                                                   Yes

08209831                               USD[0.00]

08209849        Contingent, Disputed   NFT (297389236115320010/Megalodon Rogue Shark Tooth)[1], NFT (546831695262495972/Story#0 #3)[1], SOL[.04]

08209857                               BTC[.00009898], ETH[.00000003], ETHW[.00000003], SHIB[2.00783387], USD[0.00], USDT[0]                                                                                 Yes

08209863                               NFT (392326047623711894/Aku World: Dream #286)[1]

08209865                               BRZ[1], CUSDT[1], DOGE[1], TRX[1], USD[0.00], USDT[0.00000002]

08209869                               CUSDT[2], SHIB[6643385.27599585], USD[0.07]                                                                                                                           Yes

08209873                               BTC[.00093122], CUSDT[4], DOGE[1], LINK[.00022951], SHIB[1058480.91842982], SOL[.11756985], SUSHI[0], TRX[1], USD[0.04], USDT[0.97566832]                             Yes

08209879                               CUSDT[2], ETH[0], TRX[1], USD[0.00]

08209880                               AVAX[.0996], USD[0.01]

08209902                               BTC[.00000338], CUSDT[7], DOGE[1], TRX[3], USD[0.00], USDT[0.00000001]                                                                                                Yes

08209915                               SHIB[700000], USD[0.00], USDT[0]

08209918                               CUSDT[1], ETH[.02685541], ETHW[.02685541], USD[0.00]

08209949                               BTC[.0001998], LTC[.12], MATIC[9.99], SOL[.11], USD[0.80]

08209955                               SOL[.009995], USD[0.00]

08209956                               ETH[1.0989], ETHW[1.0989], USD[83.01]

08209967                               NFT (454603016713306762/Aku World: Dream #289)[1]

08209969                               USD[127.87]                                                                                                                                                           Yes

08209971                               BTC[0], CUSDT[1]                                                                                                                                                      Yes

08209984                               BTC[.00010149], SOL[.0265164], USD[0.00]                                                                                                                              Yes

08209988                               NFT (423252718209916406/Aku World: Dream #290)[1]

08210000                               ETH[.1505041], ETHW[.1505041], USD[3.99]

08210002                               BTC[.0081], ETH[.051], ETHW[.051], LINK[3.996], MATIC[129.97], SOL[4.79794], USD[0.27], USDT[3.451352]

08210013                               NFT (428120289397961020/Aku World: Dream #292)[1]

08210017                               NFT (450746247088416275/Aku World: Dream #309)[1]

08210020                               USD[2154.71]                                                                                                                                                          Yes

08210021                               NFT (576043081928335200/FTX - Off The Grid Miami #3890)[1]                                                                                                            Yes

08210056                               BTC[0], CUSDT[2], DOGE[1], ETH[0], GRT[0], LINK[0], MATIC[0], SHIB[570.46578732], SOL[0], TRX[0], USD[0.00]                                                           Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                             Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08210057                              ALGO[435.69455574], BRZ[1], CUSDT[10], DOGE[759.86373643], MATIC[114.02321740], SHIB[4442257.92390593], TRX[2], USD[0.35], USDT[1]

08210061                              CUSDT[145.56253102], DOGE[1], SHIB[689.39286578], SOL[.00011364], TRX[1], USD[0.37]                                                                                           Yes

08210064                              NFT (564072686796336149/Coachella x FTX Weekend 1 #2183)[1]

08210068                              NFT (334203551147372563/Rox #288)[1], SOL[4.37242748], USD[0.00]

08210078                              USD[20.00]

08210081                              USD[107.77]                                                                                                                                                                   Yes

08210092                              BTC[0], USD[0.00], USDT[0.00000137]

08210093                              SOL[.0755963], TRX[1], USD[0.59]                                                                                                                                              Yes

08210106                              BTC[.00020247], DOGE[28.06344021], USD[15.00]

08210112                              BTC[0], USD[0.01]

08210118                              BTC[.00279028], CUSDT[4], ETH[.01404399], ETHW[.01386615], MATIC[1.96489115], SHIB[1.27197711], SOL[.13462055], UNI[5.28119334], USD[0.19]                                    Yes

08210121                              CUSDT[4.62379847], DOGE[1], TRX[2], USD[0.01]                                                                                                                                 Yes

08210122       Contingent, Disputed   BTC[.00005953], EUR[0.00], USD[0.00]

08210124                              BRZ[2], DOGE[519.49035105], KSHIB[2546.36939917], LINK[4.23912256], MATIC[35.37293161], SUSHI[12.55311782], TRX[2], USD[0.00]

08210125                              USD[0.00]

08210132                              NFT (289322341721502888/ApexDucks #3312)[1], NFT (446470967814291999/ALPHA:RONIN #471)[1], SHIB[1], SOL[.19698892], USD[0.00]                                                 Yes

08210138                              BTC[.00896938], DOGE[1], SHIB[1], USD[0.00]                                                                                                                                   Yes

08210142                              BF_POINT[200], NFT (468957848546163515/Microphone #1027)[1], USD[0.30]

08210150                              BTC[0], USDT[0.00047213]

08210166                              NFT (445573600151072151/Pixel Perfect People #6)[1], USD[1.08]                                                                                                                Yes

08210175       Contingent, Disputed   GRT[1058.24606507], USD[0.00]

08210183                              TRX[0], USD[3.95], USDT[0.00000001]

08210195                              BTC[.00212465], CUSDT[5], DOGE[2], ETH[.01678516], ETHW[.01657996], SHIB[2], USD[0.00], USDT[0.00000001]                                                                      Yes

08210197                              DOGE[613.56140673], USD[0.00]                                                                                                                                                 Yes

08210201                              GRT[14.34737872], KSHIB[56.14873188], USD[0.00]                                                                                                                               Yes

08210202                              SHIB[1], USD[12.65]                                                                                                                                                           Yes

08210213                              BRZ[1], USD[0.00]

08210223                              NFT (570654015000902302/Aku World: Dream #295)[1]

08210224                              BTC[0.00001070]

08210232                              ETHW[16.692608]

08210236                              BTC[0], USD[0.01]

08210242                              AAVE[.01912], BAT[717.295], GRT[176.279], LINK[4.0726], SHIB[12758800], SOL[1.9283], USD[2.12], USDT[146.83773305]

08210244                              CUSDT[1], TRX[284.40179011], USD[0.00]

08210245                              NFT (437343758644219102/Heavenly water#074)[1], SOL[0], USD[0.00]                                                                                                             Yes

08210257                              CUSDT[1], DOGE[3], SOL[.00020594], USDT[0.00000082]                                                                                                                           Yes

08210265                              USDT[0]

08210277                              BTC[.00000001], CUSDT[4], LTC[0], TRX[2], USD[0.00]                                                                                                                           Yes

08210282                              BTC[0.00232891], LINK[46.20820561], USD[1.56]

08210287                              USD[30.00]

08210297       Contingent, Disputed   SOL[10.36], USD[2981.79]

08210310                              DAI[1.07536333], DOGE[5.20962776], ETH[.0004472], ETHW[.0004472], GBP[1.08], GRT[2.01646623], LINK[.00609908], LTC[.00659204], PAXG[.00061796], USD[0.00], USDT[.00000006],   Yes
                                      YFI[.00003519]
08210325                              USD[0.00], USDT[0]

08210336                              SHIB[265251.98938992], TRX[1], USD[0.00]

08210353                              CUSDT[2], TRX[1], USD[0.00]

08210355                              SHIB[411748.62094736], USD[0.00]

08210356                              USD[0.01]                                                                                                                                                                     Yes

08210384                              MATIC[30.09522783], SHIB[4970987.80864401], USD[649.43]                                                                                                                       Yes

08210390                              ETH[0], USD[0.00]

08210408                              CUSDT[4], ETHW[.59340774], USD[0.00]                                                                                                                                          Yes

08210410                              CUSDT[2.02074984], SHIB[382.1566661], TRX[1], USD[0.02]                                                                                                                       Yes

08210414                              CUSDT[1], NFT (360983203105168568/Little Rocks #72)[1], NFT (519513556375276072/Kiddo #6196)[1], SOL[.16752299], USD[0.00]

08210415                              USD[0.33], USDT[0]

08210417                              USD[500.01]

08210429                              DOGE[1], SHIB[294840.6569745], USD[0.00]                                                                                                                                      Yes

08210430                              CUSDT[1], DOGE[121.79801826], USD[0.00]                                                                                                                                       Yes

08210432                              ETH[.01105922], ETHW[.01092242], SHIB[1], SOL[.01486227], USD[0.00]                                                                                                           Yes

08210437                              SHIB[526731.63023439], USD[0.00]

08210443                              BTC[.07164794], ETH[.60728798], ETHW[.60703295], MATIC[150.27677979], SHIB[1686627.5260588], USD[0.00]                                                                        Yes
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08210459                              SOL[.69724988], USD[0.08]                                                                                                                                                                  Yes

08210465                              CUSDT[1], SHIB[1390047.26160689], USD[0.00]

08210469                              CUSDT[1], SOL[.05435051], USD[0.00]                                                                                                                                                        Yes

08210476                              CUSDT[1], DOGE[1], USD[0.00]                                                                                                                                                               Yes

08210482                              BTC[0], SOL[0], USD[0.01]

08210484                              CUSDT[1], PAXG[.00538509], SHIB[426225.65420607], SOL[.02552877], USD[0.00]

08210487                              BRZ[1], BTC[.00027702], CUSDT[9], DOGE[1], ETHW[.1453389], LINK[1.29148147], SHIB[823109.07259497], TRX[2], USD[1090.75], YFI[.00993959]

08210501                              CUSDT[3], KSHIB[542.30755408], SHIB[547593.29367225], USD[0.00]

08210504                              BTC[.12939028], USD[1.57], USDT[3414.23944547]

08210505                              USD[2.45]                                                                                                                                                                                  Yes

08210543                              USD[10.00]

08210547                              DOGE[2], SHIB[3764542.00123909], USD[0.00]                                                                                                                                                 Yes

08210552                              USD[200.01]

08210555                              CUSDT[4], ETH[.06584924], ETHW[.06503051], MATIC[45.08965715], SOL[.06100483], USD[0.00]                                                                                                   Yes

08210559                              AVAX[.00001834], DOGE[1], ETH[.00334943], ETHW[.00330839], SOL[.00001186], TRX[1], USD[0.00]                                                                                               Yes

08210560                              DOGE[1], USD[0.01]                                                                                                                                                                         Yes

08210568                              BRZ[1], CUSDT[1], DOGE[3], GRT[1], MATIC[.00807741], SHIB[3], TRX[3], USD[0.00]

08210574                              USD[10.77]                                                                                                                                                                                 Yes

08210583                              DOGE[677.58293682], USD[0.00]

08210586       Contingent, Disputed   NFT (292881359897008075/Exploration Vacation)[1], NFT (367299833000625046/The Shinjuku Dolls)[1], NFT (465005206335122225/A Trip to Trip out on)[1], NFT (479406870541371216/We All Fall
                                      Red)[1], NFT (569769696754144175/ICHI THE FRENCHIE)[1], NFT (574267745693237370/Light Up the Universe #2)[1], USD[67.31]
08210592                              USD[500.00]

08210593                              CUSDT[1], USD[0.00]

08210595                              BTC[.01094215], TRX[1], USD[0.00]                                                                                                                                                          Yes

08210601                              USD[0.01]

08210623                              BTC[0.00000182], ETHW[0], SHIB[2], TRX[2], USD[0.00], USDT[0.00000003]                                                                                                                     Yes

08210633                              SOL[.00000001], USD[0.00]                                                                                                                                                                  Yes

08210658       Contingent, Disputed   BTC[.72509135], USD[9675.79]

08210659                              BTC[.00040577], CUSDT[2], ETH[.00612845], ETHW[.00604637], USD[0.00]                                                                                                                       Yes

08210684                              BTC[.00000046], DOGE[2], USD[0.05]                                                                                                                                                         Yes

08210699                              BAT[1], BRZ[1], DOGE[1], USD[0.00]

08210704                              SUSHI[0], USD[0.00]

08210713                              BRZ[1], CUSDT[1], DOGE[1], USD[0.42]

08210720                              NFT (428885533894855348/Aku World: Dream #296)[1], USD[2000.00]

08210724                              BAT[.04277996], LINK[.00072081]                                                                                                                                                            Yes

08210736                              BTC[.000056], SOL[.01]

08210755                              BTC[.00133913], CUSDT[3], DOGE[2611.75921451], GRT[1.34176056], KSHIB[120.3020603], LTC[.50263474], SHIB[4], TRX[343.32961882], USD[0.04]                                                  Yes

08210760                              MATIC[21.33]

08210766                              CUSDT[1], DOGE[2], SOL[5.20035232], USD[0.00]

08210777                              USD[0.17]                                                                                                                                                                                  Yes

08210779                              BRZ[1], CUSDT[1], DOGE[2], MATIC[0], SOL[0.00018376], TRX[6], USD[0.00], USDT[0]                                                                                                           Yes

08210781                              USD[5.53]                                                                                                                                                                                  Yes

08210789                              CUSDT[1], TRX[260.51408396], USD[0.00]                                                                                                                                                     Yes

08210792                              NFT (291243282283501057/Aku World: Dream #297)[1]

08210793                              BTC[.00219909], CUSDT[1], USD[0.00]                                                                                                                                                        Yes

08210795                              AVAX[2.19313771], CUSDT[2], MATIC[11.54031175], SHIB[1], USD[0.16]                                                                                                                         Yes

08210810                              NFT (406813324662339215/Aku World Avatar #152)[1], NFT (418740943423884182/Aku World: Dream #298)[1]

08210829                              CUSDT[7], DOGE[1], GRT[293.00045073], LINK[3.65481382], MATIC[86.94254889], TRX[877.21103422], USD[0.00]                                                                                   Yes

08210833                              NEAR[0], SOL[0], USD[0.00]

08210843                              NFT (364773411434626954/Warriors Gold Blooded NFT #847)[1]

08210845                              CUSDT[1], USD[0.00]                                                                                                                                                                        Yes

08210847                              USD[100.00]

08210851                              ETHW[.193536], SOL[0], USD[0.12]

08210864                              CUSDT[1], USD[0.00]                                                                                                                                                                        Yes

08210872                              AAVE[1.38], ALGO[315], AVAX[30.10893488], BTC[.0121976], ETH[.277935], ETHW[.277935], GRT[361], MATIC[399.93], SHIB[5200000], SOL[4.22], SUSHI[30], TRX[2080], UNI[26.2], USD[0.41]

08210873       Contingent, Disputed   USD[0.00]

08210875                              BCH[2.732097], BTC[0.04469231], ETH[.558839], ETHW[.55001], LINK[14.573], LTC[.32623], UNI[22.3475], USD[31.32]

08210876                              USD[39.90]

08210877       Contingent,            BAT[49.9525], BTC[.0000867], LINK[.09525], MATIC[9.9525], USD[0.24]
               Unliquidated
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                                                                                                                                             Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08210886                              BTC[.0000014], DOGE[1], ETHW[2.11036859], SHIB[73], TRX[3], USD[9065.30], USDT[0.00000001]                                                                                               Yes

08210890                              USD[1.26]

08210892                              GRT[10.34932913], SHIB[1], SUSHI[9.08537671], USD[0.00], USDT[0.00000001]                                                                                                                Yes

08210899                              USD[0.00]                                                                                                                                                                                Yes

08210915                              BTC[.00480912], CUSDT[2], DOGE[64.62878753], MATIC[5.30607974], USD[0.00]                                                                                                                Yes

08210920                              USDT[0.00000063]

08210926                              BTC[0], SUSHI[0], USD[0.01]

08210928                              CUSDT[2], DOGE[552.12796251], ETH[.38135354], ETHW[.38135354], KSHIB[2683.51628652], SHIB[1], SOL[3.49281601], TRX[2], USD[0.03]

08210931                              USD[0.00]

08210944                              USD[0.00]                                                                                                                                                                                Yes

08210951                              NFT (308391986470274200/Aku World: Dream #299)[1]

08210956                              CUSDT[3], DOGE[3], ETH[.11882471], ETHW[0.11767686], TRX[1], USD[0.32]                                                                                                                   Yes

08210965                              USD[53.88]                                                                                                                                                                               Yes

08210969       Contingent, Disputed   ETH[0], ETHW[0]

08210972                              USD[9.06]

08210978                              USD[0.00]

08210986                              SOL[2], USD[9.12]

08210989                              ALGO[222.51627369], BRZ[1], DOGE[2], LINK[13.21077188], MATIC[159.301193], NEAR[17.24946051], SHIB[9], TRX[1], USD[0.00], USDT[0.00000002]                                               Yes

08210996                              BTC[.00040097], CUSDT[1], USD[0.00]

08211002                              BTC[0], USD[0.00]

08211011                              SOL[.00003], USD[1.25]

08211024                              SUSHI[85.23747616], UNI[.00001348], USD[0.37]

08211026                              SOL[5.02762589], USD[0.00]

08211031                              BTC[.06424419], DOGE[1], ETH[4.31592941], ETHW[4.31411674], SHIB[11], SOL[.00000401], TRX[2], USD[122.19], USDT[1.02543135]                                                              Yes

08211032                              USD[20.00]

08211036                              BCH[.02184058], USD[0.00]

08211060                              AAVE[.00003126], AVAX[0.00000184], BAT[2], BTC[0], DOGE[8], ETHW[15.17262892], GRT[1], LINK[.00028582], MATIC[.00079148], SHIB[8], SOL[.00006267], TRX[4], USD[0.00], USDT[0.00005890]   Yes

08211072       Contingent, Disputed   USD[0.34]

08211076                              BTC[.05655563], SOL[35.924845], USD[-694.54]

08211077                              BTC[0], SOL[100.39271559], USD[0.33]

08211081                              SOL[.01657221], USD[0.00], USDT[0.93613057]

08211083                              BTC[.00023973], CUSDT[465.72058412], DOGE[220.34170002], ETH[.00633224], ETHW[.00633224], LTC[.09560291], SHIB[383960.65773283], SOL[.1021009]

08211085                              DOGE[2], SHIB[1], TRX[1], USD[0.01]                                                                                                                                                      Yes

08211095                              BAT[1], BRZ[1], BTC[0], CUSDT[14], DOGE[362.36564127], GRT[142.90353072], LINK[3.75138079], TRX[5], USD[10.48]                                                                           Yes

08211100       Contingent, Disputed   SHIB[100000], USD[1.38]

08211131                              BRZ[1], BTC[.01173047], CUSDT[1], TRX[1], USD[0.01]

08211137                              SHIB[1], SOL[.55353898], USD[0.00]                                                                                                                                                       Yes

08211139                              BTC[.02429386]

08211143                              BTC[.00002052], CUSDT[1], DOGE[18.95882139], ETH[.00080616], ETHW[.00079289], MATIC[1.56411974], SHIB[119040.26205042], SOL[.00528582], SUSHI[.38442546], USD[0.01],                     Yes
                                      USDT[3.21189744]
08211146                              USD[500.00]

08211156                              ETH[0], USD[0.01]

08211160                              USD[11.00]

08211176                              USD[3.07], USDT[0.00003234]

08211178                              BTC[.01807785], ETH[.11865531], ETHW[.11750811]                                                                                                                                          Yes

08211189                              CUSDT[7], ETH[.00008826], ETHW[.00008826], USD[0.00]                                                                                                                                     Yes

08211193                              BRZ[1], BTC[0.06765327], DOGE[7.00057537], ETH[0.03234408], ETHW[0.17011289], LINK[2.9057777], MATIC[197.633042], NEAR[15.79202922], NFT (477595773890731807/Entrance Voucher            Yes
                                      #26919)[1], SHIB[17184326.05031472], SOL[0], TRX[10], USD[-19.98], USDT[0.00000045]
08211196                              AAVE[.01151551], BTC[.000362], CUSDT[5], ETH[.00389528], ETHW[.00389528], LINK[1.00877813], MATIC[1.34161992], SOL[.12884822], USD[0.57]

08211206                              USD[7.66]                                                                                                                                                                                Yes

08211219                              BTC[.00169], USD[402.42], USDT[1]

08211220                              USD[525.00]

08211234                              SHIB[1], USD[0.00]                                                                                                                                                                       Yes

08211244       Contingent, Disputed   BAT[4.229498], CUSDT[2], DOGE[12.06222948], GRT[6.92356144], KSHIB[132.0440203], MATIC[16.60524558], USD[0.70], USDT[0.00049531]

08211247                              USD[60.01]

08211256                              BRZ[2], BTC[.0177159], DOGE[315.61214866], ETH[.93631615], ETHW[.93631615], LINK[16.36852831], MATIC[56.03534041], SHIB[3032435.67606507], TRX[2], USD[0.01]

08211259                              BTC[.1224774], ETH[1.030968], ETHW[1.030968], USD[18.85]

08211265                              BTC[0], CUSDT[417.50779238], USD[0.00]                                                                                                                                                   Yes

08211272                              ETH[.00125952], ETHW[.00124584], SHIB[112750.91000675], USD[0.93]                                                                                                                        Yes

08211284                              BTC[0.00000001], CUSDT[11], DOGE[1.00004317], TRX[1], USD[0.00]                                                                                                                          Yes
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                                                                                                                                              Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08211297                              USD[5.40]

08211298                              DOGE[1000.08206918], USD[162.30]

08211301                              NFT (315956716069833564/Coachella x FTX Weekend 1 #6003)[1]

08211312       Contingent, Disputed   NFT (298894520313201899/Dawn)[1], NFT (326036278815430723/Eye of Shani)[1], NFT (338345154586737749/Before the Throne of Neptune)[1], NFT (343921019752157087/Brimstone)[1], NFT
                                      (377854497478940401/Pillar)[1], NFT (380587416327502808/Your Rage)[1], NFT (389699783028962522/Dogpatch #2)[1], NFT (522338763410569610/Solice of the Shadows)[1], NFT
                                      (532227040067072605/The Body)[1], NFT (537313184309125256/Dogpatch)[1], USD[415.37]
08211318                              BTC[.00091265]                                                                                                                                                                     Yes

08211320                              USD[10.78]                                                                                                                                                                         Yes

08211330                              USD[0.00]

08211339                              GRT[155], USD[0.01]

08211346                              SHIB[3103479.31688065]

08211374                              BTC[.00004025]

08211385                              CUSDT[2], MATIC[40.86633139], TRX[1], USD[0.00]                                                                                                                                    Yes

08211399                              USD[7.00]

08211401                              BTC[.00202179], USD[0.00]

08211403                              BAT[.08565], BTC[1.94085674], SOL[.0105984], USD[74958.62]

08211407                              USD[0.04]                                                                                                                                                                          Yes

08211419                              BRZ[1], CUSDT[1], SHIB[2], TRX[2], USD[0.01]

08211429       Contingent, Disputed   USD[44.65]

08211436                              BAT[0], MATIC[0], USD[0.00]

08211443       Contingent, Disputed   USDT[.835]

08211454                              USD[5.00]

08211483                              DOGE[1], SOL[1.13095125], USD[0.01]                                                                                                                                                Yes

08211487                              SHIB[13], USD[0.00], USDT[0]

08211494                              BTC[0.00006434], USD[0.02], USDT[0]

08211497                              USD[10.00]

08211500                              USD[3.00]

08211501                              USD[1.00]

08211508                              SHIB[20623023.03210848]                                                                                                                                                            Yes

08211510                              BCH[.21802346], DOGE[1], USD[21.76], USDT[0]                                                                                                                                       Yes

08211514                              USD[0.00]

08211515                              DOGE[1], TRX[1], USD[0.56]                                                                                                                                                         Yes

08211517                              USD[0.00]                                                                                                                                                                          Yes

08211519                              USD[0.00]

08211538                              USD[0.00], USDT[0]

08211546                              USD[10.00]

08211560                              BRZ[1], BTC[.00000031], CUSDT[6], SHIB[4], USD[0.01]                                                                                                                               Yes

08211563                              BTC[.0000101], ETH[0.00268203], ETHW[0.00265467], NFT (394385092769454616/Hasna The Witch)[1], SOL[.15504603], USD[30.55]                                                          Yes

08211567                              USD[0.00], USDT[0.00000670]

08211574       Contingent, Disputed   KSHIB[49.95], SHIB[99900], USD[14.89]

08211587                              BTC[.00000472], SOL[.00954285], USD[0.00], USDT[0]

08211608                              NFT (505850619184869582/Cal Bears Super Oski Scavenger Hunt #59)[1]

08211616                              CUSDT[2], KSHIB[0], SHIB[3115850.8229386], SOL[.00127199], USD[-6.56]                                                                                                              Yes

08211622                              USD[0.58]

08211634                              USD[0.00]

08211660                              USD[0.29]                                                                                                                                                                          Yes

08211661                              CUSDT[3], MATIC[13.59586595], SOL[.29422972], USD[0.00]                                                                                                                            Yes

08211668                              CUSDT[5], DOGE[1], SHIB[1016717.32191947], USD[0.01], YFI[.00200725]                                                                                                               Yes

08211673                              CUSDT[1], SOL[.20131392], USD[0.00]                                                                                                                                                Yes

08211681                              SOL[.24418857], USD[0.48]

08211685                              USD[20000.00]

08211691                              BAT[1.00894376], CUSDT[2], SHIB[1], USD[0.00]                                                                                                                                      Yes

08211695                              ETH[.00079965], ETHW[0.00079964], USDT[6.9235538]

08211700                              CUSDT[96.31339719], DOGE[33.41603681], TRX[1], USD[0.00], USDT[0.24090511]                                                                                                         Yes

08211703                              USD[0.01]

08211705                              BTC[0.00012977], TRX[0.00000011]

08211707                              BTC[.00688913], CUSDT[3], ETH[.01214062], ETHW[.01199014], USD[0.00]                                                                                                               Yes

08211708                              NFT (445054947269568313/Aku World: Dream #300)[1]

08211710                              NFT (481648375104987562/Aku World: Dream #301)[1]
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                                                                                                                                             Customer Claims                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08211715                              SOL[0], USD[0.00], USDT[0.00000080]

08211718       Contingent, Disputed   NFT (541670912830770235/Series 1: Capitals #407)[1], USD[0.00], USDT[0]

08211727                              NFT (331146078229381726/Aku World: Dream #302)[1]

08211740                              ETH[0], MATIC[0], UNI[0], USD[0.00], USDT[0]

08211741                              BTC[.00040537]

08211748                              NFT (570365807650673647/Aku World: Dream #303)[1]

08211759                              BTC[0.00036168], KSHIB[66.93929944], PAXG[.00071355], SHIB[23628.9486632], USD[0.00], YFI[0]                                                                           Yes

08211772                              NFT (380248998371950482/Aku World: Dream #304)[1]

08211774                              USD[2.51]

08211785                              BAT[1], DOGE[1], TRX[2], USD[0.00]

08211818                              AVAX[4.83739226], BRZ[1], CUSDT[23], DOGE[2], ETH[.03888792], ETHW[.03117184], LINK[1.05209978], SHIB[35], SOL[.00004692], TRX[3], USD[0.00]                           Yes

08211819                              MKR[.07024148], SHIB[1], TRX[1], UNI[44.92609353], USD[1.00]

08211879                              USD[1.00]

08211896                              NFT (399701401058845395/Aku World: Dream #305)[1]

08211906                              ETH[.18490086], ETHW[.18490086], USD[5.41]

08211922                              USD[50.01]

08211926                              BAT[1], ETH[0], TRX[1], USD[0.01], USDT[0.02316540]                                                                                                                    Yes

08211934                              CUSDT[243.92158011], SOL[0.19607217], SUSHI[1.84810289], USD[0.00]                                                                                                     Yes

08211939                              BRZ[2], CUSDT[11], DOGE[1], ETH[0], ETHW[0], MATIC[0], SHIB[1], SOL[0.00001434], TRX[1], USD[0.00], USDT[0.00000964]                                                   Yes

08211961                              CUSDT[4], DOGE[2], SHIB[7.3470852], TRX[1], USD[0.00]                                                                                                                  Yes

08211968                              SOL[.7347]

08211970                              NFT (563295872444783590/Aku World: Dream #307)[1]

08211973                              NFT (512143129980155568/Aku World: Dream #306)[1]

08211978                              BTC[0.00000002]

08211997                              BF_POINT[100], ETH[.00000164], ETHW[.00000164], USD[0.65], USDT[0]

08212003                              NFT (389323156712778687/Cal Bears Super Oski Scavenger Hunt #64)[1]

08212035                              CUSDT[2], SOL[2.58492067], USD[0.00]

08212039                              USD[0.00]

08212042                              CUSDT[2], MATIC[.01376297], USD[15.13]                                                                                                                                 Yes

08212068                              ETH[0], MATIC[0], SOL[0], USD[0.00], USDT[0.00000014]                                                                                                                  Yes

08212070                              MATIC[.5], NFT (347258782893841543/Scam)[1], USD[0.00]

08212090       Contingent, Disputed   NFT (572132482160034920/FTX Crypto Cup 2022 Key #2452)[1]

08212099                              DOGE[4.13290035], SHIB[26105574.67751301], USD[0.02]

08212102                              SHIB[2205913.07566206], USD[0.00]                                                                                                                                      Yes

08212105                              USD[10.77]                                                                                                                                                             Yes

08212106                              NFT (372374353190187542/Blue Shirt Guy 002)[1]

08212112                              USD[0.00]

08212120                              CUSDT[1], PAXG[.0292798], USD[0.00]                                                                                                                                    Yes

08212137                              SOL[0], USD[2.05]

08212141                              MATIC[59.94], SOL[1.71636722], USD[12.71]

08212143       Contingent, Disputed   ETH[0], NFT (429826565891318240/BLACK BUTTERFLY #2)[1], NFT (505954609018924308/BOLD IN COLOUR SERIES #2)[1], NFT (515596118321335322/BOLD IN COLOUR SERIES)[1], NFT
                                      (547029300272128431/BLACK BUTTERFLY)[1], NFT (572657439862025509/BOLD IN COLOUR SERIES #3)[1], USD[0.00]
08212153       Contingent, Disputed   ETH[.0027], ETHW[.0027], NFT (347875105472724903/Basement and Despair)[1]

08212165       Contingent, Disputed   BTC[.00020178], ETH[.00119213], ETHW[.00119213], TRX[116.60401532], USD[0.00]

08212172                              ETH[.0007], ETHW[.0007]

08212185                              USD[0.00]

08212203                              ETH[.00084958], TRX[.012306], USD[232.99], USDT[0]                                                                                                                     Yes

08212234                              BRZ[1], DOGE[1], USD[360.32]

08212245                              SOL[22.34763], USD[8.85]

08212248       Contingent, Disputed   BTC[.00476491], USD[1.04], USDT[0.00007831]

08212257                              NFT (402828840063262473/The Hill by FTX #2837)[1], NFT (408079641657549099/FTX Crypto Cup 2022 Key #2264)[1], USD[0.00]                                                Yes

08212262                              CUSDT[2], KSHIB[6388.46462407], USD[0.00]

08212283                              AAVE[.00000031], BTC[0], ETH[0], USD[0.00], USDT[0]

08212284                              USD[1.67]

08212324                              BTC[0], SOL[0], USD[0.00], USDT[0.11237492]

08212329                              BRZ[1], CUSDT[5], DOGE[1], ETHW[.25159438], KSHIB[.08916337], SHIB[1], TRX[1], USD[918.05]                                                                             Yes

08212332                              BRZ[1], CUSDT[7], DOGE[1], GRT[.54004706], KSHIB[5123.02899489], TRX[1.59360585], USD[0.41]

08212342                              DOGE[1], SHIB[925054.01743222], USD[0.01]                                                                                                                              Yes

08212343                              ETH[.0239772], ETHW[.0239772], USD[3.32], USDT[48]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08212353                              CUSDT[1], ETH[.07150289], ETHW[.07061391], MATIC[105.23082677], TRX[1], USD[3.03]                                                                                                 Yes

08212363                              SOL[.02005014], USD[0.00]

08212366                              CUSDT[1], SOL[.10904733], USD[0.00]                                                                                                                                               Yes

08212372                              CUSDT[2], ETH[0], USDT[0]                                                                                                                                                         Yes

08212374                              USD[1.08]                                                                                                                                                                         Yes

08212378                              ETH[.0001559], ETHW[0.00015590], SOL[0.00000001]

08212396                              USD[0.00]

08212401                              DOGE[1039.74037973], ETH[1.30658051], ETHW[1.30603173], LINK[107.95810933], LTC[19.99772223], SHIB[22870586.87760490], TRX[3976.44624655], USD[0.00]                              Yes

08212410       Contingent, Disputed   NFT (317209055149087825/Jay-z )[1], NFT (319566110416030743/Jay-Z)[1], NFT (392637678788051342/Serena Williams Punk)[1], NFT (423533992290134697/Thumbs up )[1], NFT
                                      (443323494542383059/Engr Punk)[1], NFT (502835467815444007/Engr punk)[1], NFT (519330010810246972/Serena William crypto punk )[1], NFT (539750195102401670/Jay-z #2)[1], NFT
                                      (567594245428228996/Black mafia punk)[1], USD[0.99], USDT[0]
08212415                              DOGE[288], TRX[545], USD[0.15]

08212441                              CUSDT[2], USD[6.35]                                                                                                                                                               Yes

08212458                              CUSDT[1], DOGE[121.49017171], KSHIB[421.57271918], TRX[1], USD[0.00]

08212459                              USD[0.06], USDT[0]

08212466                              USD[0.10]

08212478                              SHIB[2], USD[0.00], USDT[0]                                                                                                                                                       Yes

08212481                              CUSDT[2], ETH[.05671015], ETHW[.05671015], LTC[1.52577857], USD[0.00]

08212484                              CUSDT[4], KSHIB[308.66648502], SHIB[973285.21183479], USD[0.00]                                                                                                                   Yes

08212503                              SOL[.00004]

08212508                              USD[55.00]

08212541                              BTC[.00218639], TRX[1], USD[161.63]                                                                                                                                               Yes

08212543                              USD[1.00]

08212559                              AVAX[50], ETH[.000536], ETHW[.000536], LTC[19.98], MATIC[2540.39], SOL[95.07577], USD[0.89]

08212560                              SOL[0], USD[9.31]

08212562                              USD[0.00]

08212578                              CUSDT[1], USD[0.01], USDT[1]

08212581                              USD[104.27]                                                                                                                                                                       Yes

08212588                              NFT (380228281249803767/The 2974 Collection #1119)[1], NFT (453424897030570380/Birthday Cake #1119)[1], NFT (484660655264588336/2974 POAP #32)[1], NFT (557527835190408357/2974
                                      Floyd Norman - OKC 4-0066)[1], USD[48.05]
08212600                              ETH[0], NFT (548679559267893671/Night Light #757)[1], SOL[.00000001], USD[20.00]

08212601                              CUSDT[1], USD[0.00]                                                                                                                                                               Yes

08212607                              NFT (406922731631536905/Aku World Avatar #31)[1]

08212610                              ETH[.00319085], ETHW[.00314981], LINK[.07746143], USD[0.00]                                                                                                                       Yes

08212632                              SOL[.26], USD[0.59]

08212643                              BCH[.00009274], BTC[.00036686], ETH[.00515313], ETHW[.00508473], USD[0.00]                                                                                                        Yes

08212654                              ETH[0], USD[0.19], USDT[0]

08212666                              BAT[1], BRZ[3], CUSDT[52.70479188], MATIC[.00408882], SHIB[51260268.4968477], TRX[2], USD[1572.98]                                                                                Yes

08212671                              USD[0.01], USDT[0]

08212683                              SUSHI[732.7665], USD[10.12]

08212691                              BAT[2.00871297], BRZ[3], BTC[.00000025], DOGE[81.19176736], SHIB[0.00000001], TRX[5], USD[0.01]                                                                                   Yes

08212711                              BTC[.00286657], CUSDT[10], DOGE[1], ETH[.03181667], ETHW[.03181667], MATIC[59.51625149], TRX[1], USD[1.00]

08212714                              USD[50.01]

08212723                              BTC[.00070673]

08212734                              BTC[0], USD[0.00]

08212738       Contingent, Disputed   BTC[.00032146]

08212749                              BRZ[1], DOGE[1], NEAR[109.72905389], SHIB[2], USD[10.00]

08212750                              BAT[3.05017196], BRZ[3], BTC[0.00000040], CUSDT[2], DOGE[.26590774], ETH[.0000345], SHIB[14144.92155243], TRX[13], USD[0.00], USDT[0]                                             Yes

08212764                              USD[29.39]

08212766                              USD[50.01]

08212769                              BRZ[1], BTC[.01542304], CUSDT[2], DOGE[2.21192093], ETH[.34442089], ETHW[.34442089], USD[0.00]

08212770                              USD[538.76]                                                                                                                                                                       Yes

08212772                              BRZ[1138.96022476], CUSDT[3], SHIB[7], USD[0.00]                                                                                                                                  Yes

08212804       Contingent, Disputed   SOL[1.32957258], USD[0.00]

08212834       Contingent, Disputed   BTC[.00058214], SOL[.05106494]

08212837                              MATIC[.98], SHIB[500000], USD[270.21]

08212841                              USD[30.00]

08212844                              DOGE[1], TRX[1], USD[0.00]                                                                                                                                                        Yes

08212850                              NFT (389315803532175665/Aku World: Dream #308)[1]

08212876                              BTC[.00193968], DOGE[1], LINK[0], SHIB[1], SOL[2.48640476], USD[0.00], USDT[0]                                                                                                    Yes
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08212887                              BTC[.00760301], CUSDT[11], DOGE[2], ETH[.08145981], ETHW[.080456], SHIB[33450324.20719023], SOL[3.20453426], TRX[1], USD[0.00]                                                        Yes

08212898       Contingent, Disputed   CUSDT[1], SOL[.11834067], USD[0.00]                                                                                                                                                   Yes

08212908                              CUSDT[1], ETH[.00515817], ETHW[.00508977], USD[0.00]                                                                                                                                  Yes

08212909                              BRZ[1], CUSDT[2], DOGE[1], USD[0.01]

08212934                              NFT (431445957988839459/Coachella x FTX Weekend 1 #28911)[1]

08212943                              BRZ[1], CUSDT[1], DOGE[2], SHIB[4], TRX[6], USD[339.24]

08212974                              BTC[.00009855], ETH[.00273012], ETHW[.00270276], USD[0.00]                                                                                                                            Yes

08212979                              CUSDT[0], ETH[0], USD[0.00]                                                                                                                                                           Yes

08212989                              ETH[.3], ETHW[.3], USD[1.39]

08213010       Contingent, Disputed   BTC[.0003], DOGE[40.959], ETH[.002997], ETHW[.002997], LTC[.08995], SOL[.05], USD[0.02]

08213012                              TRX[66.72176796], USD[0.02]                                                                                                                                                           Yes

08213015                              BAT[923.16489179], CUSDT[1], DOGE[2], NFT (299555710609802645/Zombie World #8)[1], NFT (347365795426284314/Astral Apes #1757)[1], NFT (372777699834204886/3D CATPUNK #2134)[1],       Yes
                                      NFT (374238745757083890/Vox Punk #9)[1], NFT (404997691206671020/Pug Love #23)[1], NFT (466928733213175852/The Muddy Stroboscope)[1], NFT (527817154950835932/Punkys Star Bird)[1],
                                      SHIB[28840993.24065661], SOL[.71288354], TRX[4], USD[0.00], USDT[1.05751049]
08213019                              USD[2.52]                                                                                                                                                                             Yes

08213023                              BRZ[1], MATIC[0], SOL[0.00004756], USD[0.00], USDT[0.00000001]                                                                                                                        Yes

08213033                              SOL[.07517233], USD[0.00]

08213049                              BAT[1], BTC[0], CUSDT[3], DOGE[0], SOL[.00000001], TRX[0], USD[0.00], USDT[2]

08213056                              BRZ[1], CUSDT[3], DOGE[1], TRX[1], USD[0.01]

08213065                              USD[0.00]

08213079                              DOGE[3.24935173], ETH[.75818744], ETHW[.75786912], SHIB[3], TRX[2], USD[0.00]                                                                                                         Yes

08213097                              SHIB[1938735.9441644], SOL[2.5], USD[5.39]

08213104                              BTC[.00020308], USD[0.00]

08213118                              NFT (363395550170060227/Dyadic)[1], NFT (498765985674955267/Be free. Be happy.)[1], SOL[.01]

08213123                              USD[0.02]

08213124                              USD[1031.20]                                                                                                                                                                          Yes

08213129                              SHIB[970232.15210874], USD[0.02]                                                                                                                                                      Yes

08213141                              USD[80.78]                                                                                                                                                                            Yes

08213144                              CUSDT[1], USDT[0]

08213146       Contingent, Disputed   ETH[.055743], ETHW[.055743], USD[268.44]

08213147                              USD[26.94]                                                                                                                                                                            Yes

08213153       Contingent, Disputed   USD[1500.00]

08213179                              CUSDT[1], SOL[.36311075], USD[0.01]                                                                                                                                                   Yes

08213197                              USD[40.01]

08213211                              USD[1.42], USDT[1.407672]

08213216                              ETH[.00000001], ETHW[.00000001], USD[0.00]                                                                                                                                            Yes

08213231                              BTC[.002]

08213232                              USD[0.00], USDT[8.56490353]                                                                                                                                                           Yes

08213234                              USDT[1000]

08213235                              BTC[.00204303], CUSDT[5], DOGE[825.17189312], ETH[.04335931], ETHW[.04335931], LINK[8.35890001], MATIC[102.83754377], SUSHI[12.07118555], TRX[1086.61681464], USD[0.00]

08213241                              NFT (362597427337275004/Microphone #339)[1], NFT (553932108508992572/Romeo #498)[1]

08213254                              CUSDT[1], MATIC[269.02102173], SHIB[1], USD[0.01]                                                                                                                                     Yes

08213256                              USD[107.75]                                                                                                                                                                           Yes

08213269                              DOGE[1], USD[97.78]

08213280                              ETH[.026], ETHW[.026]

08213282                              BAT[16.49076424], CUSDT[2], DOGE[28.24741937], SOL[.05705894], TRX[1], UNI[.58778606], USD[30.22], USDT[5.96167756]

08213299                              CUSDT[2], USD[0.00]                                                                                                                                                                   Yes

08213304                              LINK[3.1321208], USD[0.00]                                                                                                                                                            Yes

08213309                              USD[103.59]                                                                                                                                                                           Yes

08213319       Contingent, Disputed   SOL[.05], USD[0.21]

08213332                              AVAX[2.08836739], DOGE[1], ETH[.08666092], ETHW[.05155198], LINK[11.18541309], NEAR[18.32218543], SHIB[5], SOL[2.06248658], TRX[2], UNI[3.44597859], USD[0.00]                        Yes

08213340                              USD[0.00]                                                                                                                                                                             Yes

08213343                              BAT[9.50533527], CUSDT[3], DOGE[2], ETH[.00094974], ETHW[.00093606], LINK[.93748018], MATIC[9.96210475], SOL[.11228929], TRX[261.94445895], USD[0.00]                                 Yes

08213344                              SHIB[2], USD[0.03]                                                                                                                                                                    Yes

08213346                              BRZ[1], NFT (387720407240111626/Eitbit Ape #6671)[1], NFT (464526512568824538/Fancy Frenchies #161)[1], NFT (486886406116870294/The Condemned Ultramicroscope)[1], NFT                Yes
                                      (488670241343906056/Eitbit Ape #7366)[1], NFT (509021608951313193/The Clean Thermodynamics)[1], NFT (509304879324970867/Fancy Frenchies #8805)[1], NFT (526211477789381663/Eitbit Ape
                                      #4135)[1], SOL[.0000401], TRX[1], USD[0.00]
08213367                              SOL[2.6595773], TRX[1], USD[0.01]                                                                                                                                                     Yes

08213370                              USD[20.00]

08213374                              BAT[1], SOL[.00000001], USD[495.75]                                                                                                                                                   Yes
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                                                                                                                                            Customer Claims                                                                                                             22-11071 (JTD)
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08213391                              CUSDT[1], SHIB[14851545.68890269], SOL[7.12686848], TRX[2319.74378194], USD[0.00]                                                                                                         Yes

08213405                              CUSDT[3], DOGE[1], NFT (314778383458401418/Nifty Nanas #782)[1], NFT (376699541554321440/Highland Mesa #328)[1], NFT (423517286594828514/6209)[1], NFT (542948948248686716/Doak           Yes
                                      Walker's Playbook: Cleveland Brown vs. Detroit Lions - December 27, 1953 #94)[1], SHIB[5010839.87915559], SOL[0.35291479], TRX[2], USD[26.81]
08213432       Contingent, Disputed   USD[100.00]

08213433                              BTC[.15727365], ETH[1.02225], ETHW[1.02225], USD[1500.84], USDT[0]

08213435                              SHIB[501.83764495], USD[0.00]                                                                                                                                                             Yes

08213474                              NFT (297565328096300667/BitBoi)[1], NFT (382249885938844589/Lord Penguin Bitty)[1], SOL[.637], USD[0.00]

08213481                              MATIC[40], USD[2.47]

08213489                              CUSDT[2], GRT[.00191856], TRX[1], USD[0.00]                                                                                                                                               Yes

08213494                              CUSDT[2], TRX[.000001], USD[0.34]

08213496                              DAI[.03066505], USDT[2.22756529]

08213499                              MATIC[.00007408], SHIB[600032.57884101], USD[0.01]                                                                                                                                        Yes

08213500       Contingent, Disputed   NFT (292280503606720399/Fallen Devil Skull)[1], NFT (311294578144242647/ The Touch of Sixes #666)[1], NFT (331341243573706694/The Touch of Sevens #777)[1], NFT
                                      (356629064421090233/Brush Art #1168)[1], NFT (436732372047034893/The Touch of Nature)[1], NFT (500938330617575245/The Touch of Her art)[1], NFT (513327956186615814/Brush Art #166)[1],
                                      NFT (556032778108495389/The Touch of Levander art)[1], USD[0.96], USDT[0]
08213521                              BTC[0.00000001], LTC[0], USD[0.00], USDT[0]

08213526       Contingent, Disputed   ETH[.066], ETHW[.066], SOL[2.26735], USD[1.08]

08213549                              NFT (525357929660866840/Galaxy Peacock)[1], SHIB[1176882.9088625], USD[0.00]                                                                                                              Yes

08213550                              USD[500.00]

08213553                              TRX[285]

08213560                              SOL[.0037217], USD[0.68]                                                                                                                                                                  Yes

08213571                              NFT (310008415271774849/Coachella x FTX Weekend 1 #15447)[1], USD[0.40]

08213574                              CUSDT[1], SHIB[14759505.76124286], USD[0.00]                                                                                                                                              Yes

08213589                              SOL[.05626235], USD[0.00]                                                                                                                                                                 Yes

08213591                              USD[269.37]                                                                                                                                                                               Yes

08213594                              USD[3.78]

08213596                              USD[5.00]

08213599                              BTC[.01668497], ETH[.00959], ETHW[.19359], SHIB[1648971], USD[1.21]

08213606                              CUSDT[458.51881543], DOGE[156.03703705], SOL[1.3548241], USD[1.00]

08213608                              SOL[0]

08213617                              USD[10.00]

08213625                              CUSDT[1], USD[0.00]

08213634                              BTC[.00240836], ETH[.98411145], ETHW[.01208445], MATIC[109.89], NFT (318544077593381445/2974 Floyd Norman - CLE 5-0186)[1], NFT (358126414290548077/Birthday Cake #2579)[1], NFT
                                      (440459186395317544/The 2974 Collection #2579)[1], NFT (452331056786029190/Birthday Cake #1833)[1], NFT (493689045435064417/The 2974 Collection #1833)[1], NFT
                                      (518083990509437782/2974 Floyd Norman - CLE 6-0166)[1], UNI[30], USD[4.48], USDT[0]
08213639       Contingent, Disputed   USD[5.00]

08213655       Contingent, Disputed   LINK[.099], MATIC[9.99], USD[4.64]

08213660                              BTC[.01019822], USD[0.00], USDT[0.00015978]

08213661                              USD[2.82]

08213662                              BTC[.0011], USD[1.93]

08213670                              USD[80.85]                                                                                                                                                                                Yes

08213675                              USD[200.01]

08213682                              USD[0.01]                                                                                                                                                                                 Yes

08213690                              USD[0.45]                                                                                                                                                                                 Yes

08213693                              USD[11781.70]

08213700                              USD[4425.95]

08213707                              DOGE[3], ETH[.21975075], ETHW[.21953174], SHIB[13], SOL[1.49949611], TRX[1213.86037658], USD[0.00]                                                                                        Yes

08213719                              BTC[.0005092], CUSDT[2], DOGE[156.53153415], USD[0.00]                                                                                                                                    Yes

08213722                              BF_POINT[300], LINK[.0000544], SHIB[1], UNI[.00002024], USD[0.00]                                                                                                                         Yes

08213736       Contingent, Disputed   USD[0.01]

08213739                              CUSDT[1], USDT[0.00007102]

08213744                              BTC[.04139518], SOL[0], TRX[1]                                                                                                                                                            Yes

08213748                              DAI[9.9], KSHIB[297.90637188], LTC[.06], MATIC[10], SUSHI[1.88761785], TRX[117], USD[0.00], YFI[.001]

08213749                              BTC[.08424215], DOGE[22576.18377892], SHIB[4], SOL[124.97488262], USD[916.18]                                                                                                             Yes

08213756                              USD[0.00]                                                                                                                                                                                 Yes

08213767                              SHIB[276931.59789531], USD[0.00]

08213776                              BTC[0], ETH[0], ETHW[10.13955322], SHIB[9274206.15911764], USD[567.85], USDT[0.00003165]                                                                                                  Yes

08213777                              CUSDT[1], EUR[188.11], USD[0.00]                                                                                                                                                          Yes

08213791                              USD[0.16]

08213801                              ETHW[.38396596], USD[1225.39]

08213809                              USD[10.00]
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08213813                              USD[176.70]                                                                                                                                                                              Yes

08213820                              USD[5.00]

08213829                              TRX[100.000003], USD[0.00], USDT[0]

08213836                              ETH[.0094541], ETHW[.0094541], USD[50.00]

08213841                              BTC[.00000001], ETH[0], SHIB[1], SOL[0], USD[0.00]                                                                                                                                       Yes

08213852                              USD[10.00]

08213864       Contingent, Disputed   USD[50.01]

08213869                              USD[20.00]

08213870                              ETH[.00047746], ETHW[.00047746], USD[0.00]                                                                                                                                               Yes

08213883                              CUSDT[2], ETH[.1193094], ETHW[.11815784], USD[6.44]                                                                                                                                      Yes

08213884                              CUSDT[4], DOGE[2], SHIB[6609001.65870776], TRX[2], USD[0.00]                                                                                                                             Yes

08213887                              BTC[.5547], USD[1.49]

08213898                              AAVE[.11738914], BAT[40.49447205], GRT[231.74777602], LINK[1.26463778], MATIC[10.31557936], MKR[.01156734], NEAR[7.79746608], SHIB[5], TRX[1215.46206658], USD[0.01]

08213902                              BRZ[1], BTC[.00000195], ETH[.00063897], ETHW[.00063855], MATIC[5.86206021], NFT (458045090292917759/Australia Ticket Stub #1856)[1], SHIB[4], TRX[1], USD[246.06]                        Yes

08213913                              CUSDT[1], USD[0.00]                                                                                                                                                                      Yes

08213929                              CUSDT[1], MATIC[6.8355178], USD[0.00]                                                                                                                                                    Yes

08213931                              AAVE[.45552207], ALGO[104.06554008], AVAX[6.29195399], BAT[137.95357155], BCH[.23348254], BRZ[521.47142086], CUSDT[1644.36849674], DAI[34.13240688], DOGE[6595.27449723],                Yes
                                      ETHW[6.20959949], GRT[364.12997503], KSHIB[1473.08773642], LINK[14.5642705], LTC[.54050766], MATIC[178.66614691], MKR[.0320805], NEAR[8.61876657], NFT (325901922142907256/Aadam
                                      ape 012)[1], NFT (326537411426575596/1ST.EDDY- PORSCHE CYBER DESIGN)[1], NFT (341051632068720978/Cartons album #32)[1], NFT (382157565196003144/2022 Misfit Outpost Can Art
                                      Series #3)[1], NFT (386942325886214288/CryptoAvatar #182)[1], NFT (404135800239722201/Teen Ape 004)[1], NFT (405730953945164848/Entrance Voucher #3732)[1], NFT
                                      (447919046177590594/Afro You're a good friend. #1)[1], NFT (465461598581450407/Romeo #1001)[1], NFT (491400045093617811/A bunch of avatars #3)[1], NFT (504346023906530816/Afro Asian
                                      Bath #1)[1], NFT (514482261595739592/Metaverse Avatar #15)[1], NFT (545977131799458100/Pretto #25)[1], NFT (552827850414006829/Teen Ape Special 2)[1], NFT (568459693303468275/Pop Art
                                      #45 #2)[1], NFT (573013113349770682/Pop Art #41)[1], PAXG[.01345982], SHIB[.16906865], SOL[10.13018402], SUSHI[70.22291503], TRX[2881.12982961], UNI[11.17749169], USD[6.49],
                                      USDT[23.59276947], YFI[.00271478]
08213934                              DAI[0], USD[0.00], WBTC[0]

08213947                              USD[0.01]                                                                                                                                                                                Yes

08213953                              CUSDT[3], ETH[.00896832], ETHW[.00896832], MATIC[6.03374901], USD[0.00], USDT[12.42016158]

08213957                              SOL[.10313245], USD[0.00]

08213959                              USD[484.86]                                                                                                                                                                              Yes

08213961                              USD[0.00], USDT[0]

08213962                              BAT[1], BRZ[1], BTC[.00000008], DOGE[1], ETH[.00001904], ETHW[2.02251079], SHIB[1], TRX[2], USD[0.00], USDT[20.36782968]                                                                 Yes

08213968                              BTC[.00119886], USD[2.72]

08213971                              USD[2093.37]

08213975                              USD[0.00], USDT[46.33682363]

08213977                              AAVE[3.8741995], ALGO[1004.91027458], AVAX[33.94723392], BAT[685.19360524], DOGE[99098.74255762], GRT[2241.0817338], MKR[.38406375], NEAR[167.48839768], NFT                             Yes
                                      (570788573364029140/Starry Night #237)[1], PAXG[1.64596341], SHIB[160358752.89049979], SOL[48.93857152], SUSHI[223.86690294], TRX[10165.73306917], USD[2001.86], YFI[.39368842]
08213982                              ETHW[0], SHIB[1], USD[0.00]                                                                                                                                                              Yes

08213985                              ETH[.00622794], ETHW[.00622794], USD[35.07]

08213988                              BTC[.00029083], DOGE[184.43866048], ETH[.00359944], ETHW[.0035584], LINK[1.82167545], SHIB[3], SOL[.10543399], TRX[1], USD[0.00], USDT[11.08430023]                                      Yes

08213995                              CUSDT[4], TRX[653.75141041], USD[0.01]

08214006       Contingent, Disputed   NFT (354078872964020089/Coachella x FTX Weekend 1 #5547)[1]

08214023                              NFT (353330326499033714/Doak Walker's Playbook: SMU vs. Santa Clara - September 27, 1947 #83)[1], SHIB[14303222.92110809], USD[0.00]

08214026       Contingent, Disputed   AAVE[0], GRT[0], SHIB[1], SOL[0], USD[0.00]

08214030                              CUSDT[4], DOGE[214.7597384], KSHIB[457.87482892], SHIB[161350.91487487], SOL[2.34880266], SUSHI[1.96072299], TRX[1], USD[0.12]                                                           Yes

08214033                              BTC[.00919214], DOGE[50.81895965], ETH[.1391472], ETHW[.13812919], USD[0.00]                                                                                                             Yes

08214043                              BTC[.00000348], ETH[.00122957], ETHW[.00122957], USD[4.80]

08214057                              BF_POINT[300], CUSDT[4], DOGE[1], ETH[.10108304], ETHW[.10004416], LINK[2.07956295], TRX[1], UNI[2.08042084], USD[0.00]                                                                  Yes

08214059                              USD[2.00]

08214071                              BTC[.00234607], SHIB[80169.04902539], USD[0.00]

08214080                              USD[5.00]

08214081                              NFT (393215550485976313/Polyverse Art by Idriss B. #1955)[1], NFT (438024155399083598/Meta Rich Club #595)[1], NFT (517933140107785306/Metathugs #2755)[1], USD[0.01]                    Yes

08214082                              CUSDT[1], LINK[.00000006], SHIB[0], USD[0.00], USDT[0]

08214128                              BAT[0], BF_POINT[600], BTC[0], DOGE[0], ETH[0.00000001], ETHW[0], EUR[0.00], GRT[0], HKD[0.00], MATIC[0], SHIB[0.00000027], SOL[0], SUSHI[0], USD[0.00], USDT[0]                         Yes

08214131                              CUSDT[2], MATIC[4.12191887], SOL[.0000005], USD[0.00]                                                                                                                                    Yes

08214151                              ETH[0], USD[0.00]

08214155                              USD[14.85]

08214164                              CUSDT[1], DOGE[1], ETH[.24694909], ETHW[.24675323], SOL[6.50358691], TRX[1], USD[0.00]                                                                                                   Yes

08214181                              CUSDT[704.55553754], DOGE[1], KSHIB[1668.71502653], SHIB[1375609.43307447], TRX[401.27355589], USD[2.82]                                                                                 Yes

08214184                              USD[20.00]

08214190                              BAT[31], BTC[.0005], DOGE[864.135], ETH[.034], ETHW[.034], LINK[.3], SHIB[2697300], SOL[.19], SUSHI[2.4975], TRX[117], USD[21.39]

08214208                              CUSDT[1], SHIB[2854317.70617485], USD[0.00]                                                                                                                                              Yes
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                                                                                                                                             Customer Claims                                                                                                      22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or         Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08214229      Contingent, Disputed     AAVE[.10291128], ARS[2007.12], AUD[27.00], BAT[16.33382136], BCH[.04357187], BRZ[112], BTC[.01500572], CAD[25.00], CHF[18.31], CUSDT[921], DAI[19.77479416], DOGE[115.89788029],
                                       ETH[0.19104405], ETHW[0.19104405], EUR[17.00], GBP[15.00], GRT[28.92115474], HKD[153.93], KSHIB[540], LINK[1.02568336], LTC[.12757813], MATIC[9.69182102], MKR[.00768734],
                                       MXN[413.81], PAXG[.0110565], SGD[26.58], SHIB[553863.19579063], SOL[.10248944], SUSHI[16.23415167], TRX[233.89060889], UNI[1.20764476], USD[23.43], USDT[19.87225853],
                                       WBTC[.00040174], YFI[.00083258]
08214232                               BTC[.0002], USD[143176.24]

08214237                               ETH[0.00000001], ETHW[0.00000001]                                                                                                                                                  Yes

08214242                               USD[0.47]

08214253                               AVAX[.08795], BTC[0.00001662], SOL[.008979], SUSHI[.25565], USD[0.00], USDT[0.00897016]

08214258                               SHIB[1], USD[0.00]

08214272                               USD[3.61]

08214274                               BF_POINT[300], BRZ[1], CUSDT[6], DOGE[1], ETH[.00000001], ETHW[0], SOL[.07084964], TRX[5], USD[0.01], USDT[0.00000001]                                                             Yes

08214276                               USD[1.06]

08214277                               USD[0.01]                                                                                                                                                                          Yes

08214283        Contingent, Disputed   CUSDT[2], ETH[.00081784], ETHW[.00080445], KSHIB[31.85787794], SOL[.07929672], USD[0.00], USDT[.0000007]                                                                           Yes

08214285                               SOL[.01588382]

08214293                               ETH[.91593343], ETHW[.91593343], USD[0.00]

08214300                               SHIB[.92486795], USD[0.29]                                                                                                                                                         Yes

08214325                               USD[0.00]                                                                                                                                                                          Yes

08214329                               ETH[.00102857], ETHW[.00102857], SOL[.01267452], USD[4.00]

08214330        Contingent, Disputed   USD[20000.00]

08214341                               BTC[0], USD[46.68]

08214342        Contingent, Disputed   USD[0.00]

08214345                               NFT (539575358963057118/A Lions Roar!)[1], SOL[.04675709]

08214352                               USD[3.28]

08214358                               SOL[0.00001249], USD[0.00]                                                                                                                                                         Yes

08214359                               DOGE[2], SHIB[1], SOL[0.02000000], USDT[0]

08214363                               AUD[0.00], BTC[.0004995], DOGE[86], EUR[0.00], SHIB[2083345.54118319], USD[0.29]

08214365        Contingent, Disputed   BTC[.001998], SOL[.52947], USD[2.96]

08214396                               USD[0.01]

08214397                               USDT[0.53705599]

08214401                               BRZ[1], DOGE[1], USD[102.19]                                                                                                                                                       Yes

08214408                               BTC[.00483707], ETH[.0575264], ETHW[.05681431]                                                                                                                                     Yes

08214409        Contingent, Disputed   ETH[.149925], ETHW[.149925], SHIB[2397600], SOL[1.57842], USD[9.21]

08214429                               ETH[1], ETHW[1]

08214433                               CUSDT[2], SHIB[6148887.6226288], USD[0.00]                                                                                                                                         Yes

08214438                               ETH[.0073027], ETHW[0.00730269]

08214439                               BAT[1], BTC[0.05928522], SHIB[3], TRX[3], USD[0.66]

08214442                               BRZ[1], CUSDT[2], DOGE[859.7742859], SHIB[4], TRX[1], USD[0.00]

08214446                               AAVE[0], BTC[0], DOGE[1.79780385], ETH[0], SUSHI[0], USD[0.00], USDT[0.00000001]                                                                                                   Yes

08214450                               NFT (554392070255121224/Aku World Avatar #146)[1]

08214452                               CUSDT[2], USD[0.00], USDT[0]

08214459                               BTC[0], DOGE[1]

08214461                               CUSDT[2], USD[100.00], USDT[0.00028248]

08214465                               USD[0.07]

08214468                               NFT (293472179794411986/FTX - Off The Grid Miami #2101)[1]

08214472                               BTC[0], CUSDT[4], DOGE[0], ETH[0], LINK[.00000436], MATIC[.00003764], SHIB[2.69341699], SOL[.00000099], TRX[0], USD[0.01]                                                          Yes

08214476                               CUSDT[3], DOGE[2], SHIB[7181012.46289711], SOL[1.39712472], TRX[1], UNI[.00005491], USD[0.00]                                                                                      Yes

08214482                               DOGE[3], ETHW[.00042151], LTC[0], SHIB[0], TRX[1], USD[0.35], USDT[0]                                                                                                              Yes

08214493                               BF_POINT[400], GRT[.00618233], LINK[.0017539], MATIC[.00421862], SHIB[.00000001], SOL[.00000001], TRX[2], USD[0.00]                                                                Yes

08214508                               USD[0.00]                                                                                                                                                                          Yes

08214511                               BTC[.01336158], DOGE[1], SHIB[2], SOL[1.17337259], USD[0.00]                                                                                                                       Yes

08214512        Contingent, Disputed   NFT (320457884180741813/Mushroom on plane)[1], NFT (410486089297743580/Mushroom on grass)[1]

08214515                               USD[538.59]                                                                                                                                                                        Yes

08214540                               DOGE[29.70290097], NFT (364048864721398164/Rogue Circuits #5129)[1], SOL[1.5456609], USD[0.00]

08214570                               LTC[0]

08214573                               BRZ[1], GRT[1], USD[0.00]

08214574                               SOL[0]

08214575                               SHIB[3.50775496], USD[0.00]                                                                                                                                                        Yes

08214580                               USD[0.00]

08214594                               BAT[1.00165433], ETH[.17363865], ETHW[.17337428], USD[0.00]                                                                                                                        Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08214602                              BTC[.00000001], DOGE[.00013633], MKR[.00527938], SHIB[2951138.02095164], TRX[.00149921], USD[0.00]                                                                                         Yes

08214603                              USD[1077.25]                                                                                                                                                                               Yes

08214607                              MATIC[0.53894243], USD[0.96]

08214609                              SOL[.01]

08214610                              SHIB[1], USD[0.00]                                                                                                                                                                         Yes

08214613                              CUSDT[1], ETH[.0077669], ETHW[.00767114], USD[0.00]                                                                                                                                        Yes

08214619                              CUSDT[1], SOL[.12916133], USD[5.00]

08214653                              ETH[.0003], ETHW[.0003], NFT (319795529241172140/The Wall - FatZebra.org)[1], NFT (337025666345404339/Human - 1996 - Pencil on Paper - FatZebra.org)[1], NFT (481704271267607528/Fingers
                                      - Pencil on Paper - FatZebra.org)[1], NFT (523634656107724112/Fingers - Pencil on Paper - FatZebra.org #2)[1]
08214654                              SHIB[13426423.20085929], TRX[1], USD[0.01]

08214656                              BTC[.00020357], TRX[1], USD[10.77]                                                                                                                                                         Yes

08214662                              BTC[.00515798], ETH[.0420376], ETHW[.0420376], USDT[965.60102381]

08214678                              BTC[.00080088], SHIB[2], SOL[.34335929], TRX[1], USD[0.00], USDT[0]                                                                                                                        Yes

08214683                              DOGE[1], ETH[.26111758], ETHW[.2609248], TRX[1], USD[0.13]                                                                                                                                 Yes

08214692                              CUSDT[1], ETH[.07727673], ETHW[.07631942], USD[0.00]                                                                                                                                       Yes

08214694                              BTC[0], USD[0.00]

08214733                              BTC[.00007227], USD[0.00]

08214737                              SHIB[4132109.23021148], USD[0.00]

08214738                              ETH[0], ETHW[0], SOL[0]

08214746                              USD[32.32]                                                                                                                                                                                 Yes

08214747                              USD[1.00]

08214749       Contingent, Disputed   BTC[.03998], ETH[.1], ETHW[.1], SOL[4], USD[28.96]

08214753                              BAT[0], USD[2.09]

08214762                              USD[0.00]

08214768                              CUSDT[1], SOL[.08399343], USD[37.71]                                                                                                                                                       Yes

08214776                              CUSDT[1], USD[0.00]

08214777                              BTC[.00000008]                                                                                                                                                                             Yes

08214778       Contingent, Disputed   SOL[.12987], USD[0.53]

08214786                              BTC[.01053441], DOGE[1245.5745], ETH[.28614912], ETHW[.28614912], LTC[3.17999], SHIB[2250552.8], SOL[.5], USD[0.00], USDT[10.33575249]

08214788                              BTC[.00020426], USD[11.00]

08214790                              USD[0.01]

08214795                              BRZ[1], LINK[24.6232313], USD[0.01]                                                                                                                                                        Yes

08214797                              CUSDT[3], DOGE[192.42697588], MATIC[12.59773929], SUSHI[4.05831664], TRX[1], USD[0.99], USDT[7.92058355]

08214818       Contingent, Disputed   CUSDT[1], MATIC[1.25653298], SUSHI[.99233775], UNI[1.14942405], USD[21.01]

08214825                              MATIC[36.40309682], SHIB[2], USD[0.00]                                                                                                                                                     Yes

08214829                              AAVE[2.5729575], USD[0.00], USDT[1]

08214844                              USD[0.01]

08214846                              ETH[0], USD[0.00], USDT[0.00027752]

08214851                              BAT[44.62281477], TRX[1], USD[0.00]                                                                                                                                                        Yes

08214854                              SHIB[265844.832144], USD[0.00]                                                                                                                                                             Yes

08214862                              CUSDT[1], USD[0.06]

08214877                              DOGE[1], MATIC[521.70600917], USD[0.00], USDT[1.07445872]                                                                                                                                  Yes

08214884                              SOL[.08569643], USD[0.00]

08214886                              SOL[.01033971], USD[0.00]

08214893                              TRX[56943.308621]

08214903                              MATIC[52.99563674], TRX[1], USD[0.00]                                                                                                                                                      Yes

08214921                              ETH[.0019955], ETHW[.0019955], USD[0.00], USDT[10]

08214924                              DOGE[1], ETH[.02558603], ETHW[.02527139], USD[0.00]                                                                                                                                        Yes

08214926                              SOL[0]

08214930                              USD[10739.90]                                                                                                                                                                              Yes

08214937                              BRZ[1], BTC[.00000003], CUSDT[14], DOGE[2], ETH[.00000045], ETHW[.04866791], LINK[.00010979], MATIC[22.93894215], SHIB[3], SOL[1.62892782], TRX[3], USD[0.00]                              Yes

08214942                              SHIB[1361655.77342047], USD[1.01]

08214945       Contingent, Disputed   SOL[3], USD[36.30]

08214950                              SOL[.001]

08214951                              USD[0.00], USDT[0]

08214960                              ETH[.00000001], USD[0.00]

08214961                              USD[0.01]                                                                                                                                                                                  Yes

08214971                              BCH[.005], BTC[0], SHIB[1300000], SUSHI[8], USD[2.42]

08214973                              BTC[.01088822], USD[0.00], USDT[1.0773868]                                                                                                                                                 Yes
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08214979                              USD[1.01]

08214983                              USD[1000.00]

08214985       Contingent, Disputed   BTC[0.00026595], SHIB[200000], SOL[.06], USD[18.31]

08214987                              ETH[.12190005], ETHW[.12072922], TRX[1], USD[0.00]                                                                                                                             Yes

08214991       Contingent, Disputed   NFT (566021170744227172/PSYCHEDELIA)[1], USD[0.99], USDT[0]

08214996                              USD[10.77]                                                                                                                                                                     Yes

08215001                              BTC[0], SOL[0], USD[253.68]

08215020                              DOGE[1], SHIB[3], USD[0.01]

08215028                              BTC[.0004], USD[0.10]

08215031                              AAVE[.0088885], USD[0.87]

08215044                              USD[0.00]

08215054                              CUSDT[3], USD[0.00]

08215063                              CUSDT[1], USD[0.00], USDT[1]

08215091                              CUSDT[2], DOGE[1], LINK[11.22692439], SHIB[1], TRX[1], USD[1.05]                                                                                                               Yes

08215099                              BTC[0], DOGE[0], PAXG[0], SHIB[0], SOL[0], USD[0.00]

08215104                              ETH[.0208911], ETHW[.0208911], SUSHI[18.99145], USD[51.92]

08215105                              USD[484.84]                                                                                                                                                                    Yes

08215107                              CUSDT[4], GRT[1], NFT (550715907745738750/Fancy Frenchies #5936)[1], SOL[1.52718814], TRX[1], USD[65.16]                                                                       Yes

08215114                              USDT[0.00000145]

08215127                              CUSDT[4], DOGE[1], GRT[63.88395858], KSHIB[545.28451582], SUSHI[3.36232079], TRX[252.48938257], USD[0.01]                                                                      Yes

08215128                              BTC[.0096903], USD[2.28]

08215132                              USD[0.46]

08215138                              CAD[0.00], SHIB[3], SOL[0], TRX[1], USD[0.00]

08215140                              SOL[.79369005]                                                                                                                                                                 Yes

08215145       Contingent, Disputed   USD[0.11]

08215149       Contingent, Disputed   USD[0.01]

08215151                              SOL[.00427607], USD[0.01]

08215152       Contingent, Disputed   USD[484.84]                                                                                                                                                                    Yes

08215155                              AAVE[0], CUSDT[2], MATIC[0], SHIB[0], SOL[0], USD[0.00]

08215164                              AAVE[.00000109], BAT[1.00784788], BCH[.00000033], BRZ[3], CUSDT[63.11416461], DOGE[49.68828692], EUR[0.00], GBP[0.00], GRT[16.76283556], LINK[.00011739], NFT                  Yes
                                      (422578479915474216/Earl Campbell's Playbook: Houston Oilers vs. Chicago Bears - November 16, 1980 #141)[1], SHIB[411309.87556485], TRX[5], USD[217.03]
08215169                              MATIC[17.24219991], USD[0.00]

08215196       Contingent, Disputed   LTC[0], SOL[0.01926751]

08215199       Contingent, Disputed   BTC[0], LTC[0], USD[0.00]

08215200                              SOL[.01475407], USD[5.44]

08215203                              USD[0.00]

08215204                              DOGE[41.24188021], USD[0.00]

08215205                              BTC[0], DOGE[1], USD[21.41]                                                                                                                                                    Yes

08215220                              BTC[0], TRX[0.00077900], USD[0.00]

08215221                              USD[1.60]                                                                                                                                                                      Yes

08215238                              USD[0.00]

08215244       Contingent, Disputed   TRX[1110], USD[0.12]

08215249                              AUD[0.00], AVAX[0.05836477], BAT[0], BCH[0], BTC[0], DOGE[1], ETH[0], GRT[0], KSHIB[0], LTC[0.03415217], MATIC[0], SHIB[74626.71734199], SOL[0.00000454], TRX[1], USD[0.00],   Yes
                                      USDT[0.00000001], YFI[0]
08215255                              ETH[0], ETHW[0], USD[0.00]

08215264                              AVAX[.1998], USD[0.45]

08215269                              USD[0.00]

08215272                              AVAX[2.72093572], BTC[0], ETH[0], LINK[28.55087895], MATIC[162.31679386], SOL[-0.00000001], TRX[1]                                                                             Yes

08215286                              SOL[.00000001], USD[30.67]

08215289                              USD[0.00]                                                                                                                                                                      Yes

08215307                              BTC[.135648], ETH[1.11832907], ETHW[1.11785941], SOL[5.27387767], USD[532.31]                                                                                                  Yes

08215311                              CUSDT[6], ETH[0], MATIC[0], SHIB[2], SOL[0], SUSHI[0], USD[0.01]

08215314                              DOGE[1], USDT[0]

08215315                              BRZ[1], CUSDT[1], DOGE[1408.05744846], SHIB[1], TRX[1], USD[0.00]                                                                                                              Yes

08215319                              MATIC[56.00447153]                                                                                                                                                             Yes

08215335                              USD[0.00], USDT[0]

08215345                              ETH[.004], ETHW[.004], SOL[.00738], USD[4.50]

08215348                              BRZ[1], BTC[.00110156], CUSDT[1], DOGE[623.76082894], LINK[7.35080237], LTC[1.5044528], TRX[1], USD[0.00]                                                                      Yes

08215364                              USD[215.49]                                                                                                                                                                    Yes

08215381                              NFT (306007808578683312/FTX - Off The Grid Miami #6287)[1], USD[0.58]
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                                                                                                                                             Customer Claims                                                                                                    22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08215384                              NFT (364547835255855027/Unity #132)[1], USD[100.01]

08215385                              SHIB[999050], USD[0.00], USDT[5.12536384]

08215386                              USD[0.66]

08215393                              USD[0.00]                                                                                                                                                                         Yes

08215395                              BTC[0.02590475], CUSDT[.00095137], DOGE[.00013126], ETH[.00000001], SHIB[76], USD[205.07]                                                                                         Yes

08215410                              BRZ[1], SHIB[25], TRX[3], USD[0.00]

08215416                              USD[0.43]

08215419                              SOL[.02698301], USD[0.00]                                                                                                                                                         Yes

08215421                              USD[50.01]

08215423       Contingent, Disputed   BTC[0.00003368], USD[0.00]                                                                                                                                                        Yes

08215429                              USD[20.00]

08215440                              BTC[.00069327], CUSDT[1], USD[0.00]                                                                                                                                               Yes

08215445                              AAVE[.46236398], BRZ[2], CUSDT[3], DOGE[3], ETHW[.08089903], GRT[179.75364842], LINK[48.33360012], MATIC[107.95745502], NEAR[9.01194224], SHIB[12], SOL[1.04566411],              Yes
                                      SUSHI[14.36155538], TRX[2858.34901907], UNI[19.70594848], USD[0.24]
08215452                              BTC[0], USD[0.13]

08215454                              DOGE[0], ETH[0.00000035], ETHW[0.00000035], LINK[0], MATIC[0], TRX[0], WBTC[0]

08215456                              CUSDT[4], DOGE[2], NFT (346818037357059232/Tim Brown's Playbook: San Diego Chargers vs. Los Angeles Raiders - September 4, 1988 #69)[1], USD[0.15]                                Yes

08215473                              BTC[.0720862], ETH[.358726], ETHW[.358726], SOL[2.42757], USD[1.11], USDT[3.58066823]

08215481       Contingent, Disputed   ETH[.02196171], ETHW[.02168811], USD[53.84]                                                                                                                                       Yes

08215489                              CUSDT[3.07521869], DOGE[11423.41649618], TRX[4], USD[0.00], USDT[1.04414261]                                                                                                      Yes

08215499                              CUSDT[1], USD[20.01]

08215513                              USD[1.67]

08215518                              CUSDT[1], SHIB[2], USD[15.62], USDT[39.00201422]                                                                                                                                  Yes

08215527                              BTC[.00010109], USD[0.00]

08215528                              USD[10.75]                                                                                                                                                                        Yes

08215534                              BTC[.00002454], DOGE[.24343914], ETH[40.72570389], GRT[1], SHIB[1.00000004], USD[0.06], USDT[0]                                                                                   Yes

08215538                              SHIB[12.05974264], USD[0.00]

08215542                              BTC[.52070486], DOGE[639.392], ETH[.20480525], ETHW[.20480525], SOL[1.498575], USD[165.15]

08215544                              USD[0.01]

08215546                              NFT (462882714101477369/Coachella x FTX Weekend 2 #22783)[1]

08215549       Contingent, Disputed   ETH[.0003984], ETHW[.0003984], SOL[.14985], USD[0.00]

08215556                              BTC[0.00000420], ETH[0.00030626], ETHW[0.00030627], USD[0.67], USDT[0.00002036]

08215559                              NFT (300300918591136858/Warriors 75th Anniversary City Edition Diamond #283)[1]

08215560                              USD[0.00]

08215561                              MATIC[0], USD[6976.29]                                                                                                                                                            Yes

08215563                              GRT[185], MATIC[29.97], SOL[2.16], USD[0.18]

08215575       Contingent, Disputed   BTC[.00163686]

08215577                              BRZ[50.80983771], BTC[.02134871], CUSDT[233.54344262], DOGE[2], ETH[.49891514], ETHW[.49870553], GRT[180.55901307], LINK[5.48034698], MATIC[50.09709521], NFT                     Yes
                                      (323509693610921484/Barcelona Ticket Stub #1142)[1], NFT (385763384934502823/Saudi Arabia Ticket Stub #2330)[1], PAXG[.01172472], SHIB[37], SOL[5.58868204], SUSHI[8.23463594],
                                      TRX[188.88392425], USD[367.81], USDT[25.76728877], WBTC[.00065932], YFI[.00453796]
08215585                              LTC[.08737402]

08215587                              ETH[0], SOL[0], USD[0.00], USDT[0]

08215589                              AVAX[0], BAT[1], DOGE[1], ETH[0], ETHW[.00007744], GRT[1], USD[0.01]                                                                                                              Yes

08215590                              ETH[0]

08215607                              BTC[.00024902], DOGE[0], USD[0.00], YFI[0]                                                                                                                                        Yes

08215610                              USD[50.01]

08215612                              BTC[.00621112], ETH[.00000263], ETHW[0.00000263], LTC[1], USD[0.00], USDT[0.00331600]

08215615       Contingent, Disputed   SHIB[1252994.47587708], USD[1.27]

08215618                              USD[1.95]

08215625       Contingent, Disputed   NFT (333320074031534583/Against All Odds #3 UNCLAD ATTIRE)[1], NFT (361373010190375166/Against All Odds #1 YCN)[1], NFT (425685682880478142/Against All Odds #2 AMUN (AMUN-
                                      RA))[1], NFT (442142227750219160/Against all Odds #5 HOPE X HUMANITY)[1], NFT (502536661141156042/Against All Odds #4 )[1], USD[4.96], USDT[0]
08215629                              ETH[.00000001], ETHW[0.02184814]

08215640                              ETH[.05002232], ETHW[0.05002232], USD[0.00], USDT[0.00000042]

08215648       Contingent, Disputed   BTC[.00020298], USD[10.00]

08215663                              BRZ[1], BTC[.00000002], CUSDT[3], SHIB[3], USD[0.01]                                                                                                                              Yes

08215668                              ETH[.00000013], ETHW[.00000013], SHIB[18151594.26260162], USD[0.00]

08215682                              CUSDT[1], NFT (498365748098494301/658)[1], SOL[2.56177002], USD[0.00]

08215688                              USD[50.01]

08215695                              BTC[.00040457], USD[0.00]

08215701                              BTC[.00195035], ETH[.0227644], ETHW[.0227644], USD[0.00]

08215718                              BRZ[2], ETH[.00000076], ETHW[.08269783], GRT[19.4836557], SHIB[8], SOL[.01049769], TRX[2], USD[0.00]                                                                              Yes
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08215721                              NFT (293915704938147617/Golden Hill #785)[1], NFT (300954755800225682/Sun Set #708)[1], NFT (363789776059704037/Series 1: Wizards #606)[1], NFT (373359570697254228/Coachella x FTX
                                      Weekend 1 #4995)[1], NFT (398740528588299181/88rising Sky Challenge - Fire #94)[1], NFT (409536976284297323/FTX - Off The Grid Miami #1622)[1], NFT (491892058477156220/Reflection '16
                                      #01)[1], NFT (494913163952400107/Series 1: Capitals #696)[1], NFT (501737283626940897/88rising Sky Challenge - Coin #213)[1], NFT (509828550791061133/88rising Sky Challenge - Cloud
                                      #136)[1], NFT (518288333643447602/Coachella x FTX Weekend 2 #3638)[1], NFT (528911315194651793/Reflection '15 #77)[1], SOL[17.93766585], USD[0.00]

08215722                              SHIB[2097900], USD[2.93]

08215723                              USD[0.99]                                                                                                                                                                                Yes

08215724                              BTC[0], USD[0.84]

08215742       Contingent             ETH[.003696], ETHW[.003696], NFT (476682129737928517/Memories Locked in the Void)[1], USD[3.39]

08215752                              SHIB[3780943.84426027], USD[0.00]                                                                                                                                                        Yes

08215781                              BCH[.0426009], ETH[.276], USD[0.50]

08215787                              SOL[.00021936], USD[0.00]

08215788                              CUSDT[1], DOGE[1], KSHIB[1454.21251919], TRX[576.72129101], USD[0.00]

08215797                              CUSDT[2], DOGE[1], SHIB[3], SOL[.00000001], TRX[1], USD[0.03]                                                                                                                            Yes

08215809                              USD[0.45], USDT[0.00001319]

08215811                              ETH[0], USD[0.06], USDT[0]

08215830                              BRZ[1], BTC[.42228886], DOGE[1], SHIB[3], SOL[121.20567310], TRX[1], USD[0.00], USDT[0]

08215836                              ALGO[0], BTC[0], DOGE[0], ETH[0], ETHW[0], LTC[0], MATIC[4.44292053], NFT (414788136762410578/Entrance Voucher #471)[1], SHIB[6747876.82799320], SOL[.00000001], TRX[0], USD[0.00],      Yes
                                      USDT[0]
08215843                              ETH[0], ETHW[0], MATIC[0], USD[0.00]

08215848                              BTC[.00000001], ETH[.00000002], ETHW[.00000002], SOL[.00000097], USD[0.00]                                                                                                               Yes

08215851                              NFT (474030809069283046/Coachella x FTX Weekend 1 #5109)[1]

08215855                              SOL[.00724179], USD[9.01]

08215856                              BTC[.770357], ETH[10.432557], ETHW[10.432557], USD[16442.14]

08215863                              BRZ[.00009283], DOGE[.0001573], ETH[0], ETHW[0], SHIB[16], SUSHI[.00001862], USD[0.00], USDT[0]                                                                                          Yes

08215868                              DOGE[1], LTC[3.03492419], USD[0.01]

08215872                              AAVE[0], AUD[0.00], BTC[0], GRT[0], KSHIB[0], LINK[0], LTC[0], MATIC[0], MKR[0], PAXG[0], SHIB[0.78981645], TRX[0], USD[0.00], YFI[0]

08215873                              DOGE[1], USD[0.00]

08215898                              DOGE[0]

08215899                              TRX[0], USD[0.00]                                                                                                                                                                        Yes

08215900                              AVAX[5.36454482], LINK[66.54698248], USD[21.54]                                                                                                                                          Yes

08215904       Contingent, Disputed   SOL[.00000001], USD[328.08], USDT[0]                                                                                                                                                     Yes

08215915                              USD[200.01]

08215926                              BTC[.00098425]

08215929                              DOGE[2], ETH[.03593082], ETHW[.03593082], SOL[.98818153], SUSHI[9.63187631], TRX[1], USD[0.00]

08215941                              DOGE[57.45945545], ETH[.00238337], ETHW[.00238337], TRX[1], USD[10.00]

08215954                              ETH[0]

08215956                              BTC[.01502786], CUSDT[25], SHIB[15], TRX[4], USD[0.01]

08215979                              BTC[0], ETH[0], ETHW[0], LTC[0], SOL[0.00460023], USD[0.01]

08215982                              CUSDT[1], TRX[1], USD[19.67]                                                                                                                                                             Yes

08215983                              USD[50.00]

08215987       Contingent, Disputed   BTC[.00202187], CUSDT[1], USD[0.00]

08215988                              NFT (505279478758795008/Sigma Shark #3722)[1], NFT (533733561303117690/Sigma Shark #6325)[1], SOL[.00330886], USD[0.00]

08215999       Contingent, Disputed   USD[10000.00]

08216002                              USD[10.00]

08216003       Contingent, Disputed   USD[15.34]

08216017                              LINK[1]

08216020                              GRT[1], SUSHI[88.44506056], USD[0.01]

08216024       Contingent, Disputed   USD[0.00]

08216032                              DOGE[39.16298336], NFT (364178467270130646/ApexDucks #2396)[1], USD[0.00]                                                                                                                Yes

08216041                              BAT[1.00133413], CUSDT[1], DOGE[2], ETH[0], GRT[1.06547535], MATIC[0], TRX[1], USD[0.00]                                                                                                 Yes

08216042                              USD[9.60]

08216055       Contingent, Disputed   BTC[0], USDT[0.00000970]

08216058                              BRZ[2.82219473], CAD[1.26], USD[0.50]

08216064                              NFT (330401497280235544/FTX - Off The Grid Miami #968)[1]                                                                                                                                Yes

08216065                              ETH[1.99066338], ETHW[1.136233], SOL[.00439], USD[1.48]

08216068                              DOGE[34.869], ETH[.00198], ETHW[.00198], LTC[1.57691], UNI[5.1681], USD[58.39]

08216071                              USD[0.00], USDT[0.00002937]

08216089                              BTC[0.00002858], USD[5.60], USDT[4.4124714]

08216106                              CUSDT[1], ETH[.51853749], ETHW[.5183198], TRX[1], USD[0.00]                                                                                                                              Yes

08216120                              DOGE[1.698], LTC[0], USD[0.22]
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                                                                                                                                            Customer Claims                                                                                              22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08216122                              BTC[.00068153], DOGE[1], SUSHI[1.88625756], USD[10.53]                                                                                                                     Yes

08216123       Contingent, Disputed   USD[107.61]                                                                                                                                                                Yes

08216126                              SOL[.005], USD[2.17]

08216143                              BTC[.00533485], CUSDT[1], DOGE[1], ETH[.06138442], ETHW[.0606211], USD[0.00]                                                                                               Yes

08216155                              USD[0.00]

08216160                              ETH[.03736538], ETHW[.03690026], SOL[2.24958719]                                                                                                                           Yes

08216180                              USD[24.98]

08216182                              USD[0.00]

08216183                              BF_POINT[100], BTC[.00000268], USD[0.00], USDT[0]                                                                                                                          Yes

08216189                              USDT[1.3259718]

08216196                              BTC[.00018059], CUSDT[1], ETH[.00000001], USD[19.35]                                                                                                                       Yes

08216204                              NFT (485885565535631325/Sigma Shark #6069)[1], SOL[.13111546], USD[0.17]                                                                                                   Yes

08216212                              TRX[2], USD[106.15], USDT[0.39294102]                                                                                                                                      Yes

08216214                              SOL[.15]

08216216                              USD[1.95], USDT[10]

08216227                              CUSDT[6], DOGE[1], LINK[.00020721], TRX[3], USD[0.01]                                                                                                                      Yes

08216236                              CUSDT[3], DOGE[687.57944286], SHIB[1], TRX[2602.93941061], USD[0.00]                                                                                                       Yes

08216240                              ETH[.11476331], ETHW[.11364316], TRX[1], USD[0.00]                                                                                                                         Yes

08216244                              USD[0.00], USDT[107.73460003]

08216259       Contingent, Disputed   BTC[.0099], ETH[.03], ETHW[.03], SOL[.719316], USD[32.89]

08216266                              USD[0.01]                                                                                                                                                                  Yes

08216271                              USD[107.74]                                                                                                                                                                Yes

08216273                              USDT[.02741351]                                                                                                                                                            Yes

08216276                              USD[0.12]

08216288                              BAT[4.10976391], BCH[0], BRZ[12.27779336], BTC[.00000034], DOGE[17.39718831], GRT[5], SHIB[7], TRX[17.83498838], USD[0.01], USDT[5.16263257]                               Yes

08216311       Contingent, Disputed   LINK[.01081364], USD[2.79]

08216314                              BAT[.0000352], CUSDT[1], MATIC[.15948758], NFT (473141265813172196/Shannon Sharpe's Playbook: Baltimore Ravens vs. Denver Broncos - December 31, 2000 #92)[1], USD[0.00]   Yes

08216324                              BAT[0], BRZ[1], BTC[0], CUSDT[6.5], DOGE[2], LTC[0], MATIC[38.70223802], TRX[2.03430664], USD[0.00]                                                                        Yes

08216351       Contingent, Disputed   DOGE[23.45415565], SHIB[140845.07042253], USD[1.00]

08216356                              DOGE[1], USD[0.01]                                                                                                                                                         Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08216375                              BTC[.00000082], DOGE[0], ETHW[0.00141100], NFT (288263958814134127/The Hill by FTX #4800)[1], NFT (288289773086079921/Imola Ticket Stub #2166)[1], NFT (289064233949213430/FTX           Yes
                                      Crypto Cup 2022 Key #698)[1], NFT (289152646372057540/Mexico Ticket Stub #37)[1], NFT (289204076160624710/The Hill by FTX #2844)[1], NFT (289211474889915123/FTX Crypto Cup 2022 Key
                                      #1545)[1], NFT (289281518150598668/FTX Crypto Cup 2022 Key #2699)[1], NFT (289352690289467548/The Hill by FTX #1280)[1], NFT (289863530802631024/FTX Crypto Cup 2022 Key #1578)[1],
                                      NFT (289864231076053028/Miami Ticket Stub #826)[1], NFT (290292431869407360/The Hill by FTX #1298)[1], NFT (290704257233142921/FTX Crypto Cup 2022 Key #2122)[1], NFT
                                      (291120575399933786/FTX Crypto Cup 2022 Key #1582)[1], NFT (291211552785330193/FTX Crypto Cup 2022 Key #2020)[1], NFT (291275139376130868/Belgium Ticket Stub #75)[1], NFT
                                      (291285186878276505/FTX Crypto Cup 2022 Key #1216)[1], NFT (291652312529564928/The Hill by FTX #1340)[1], NFT (291871517271635189/FTX Crypto Cup 2022 Key #2211)[1], NFT
                                      (291923028238608988/FTX Crypto Cup 2022 Key #2017)[1], NFT (291956613018595156/Mexico Ticket Stub #115)[1], NFT (292335200841694241/The Hill by FTX #1058)[1], NFT
                                      (292336196800325663/FTX Crypto Cup 2022 Key #2657)[1], NFT (292499609357961367/The Hill by FTX #1435)[1], NFT (292698361218940730/FTX Crypto Cup 2022 Key #1566)[1], NFT
                                      (292871845547911893/FTX Crypto Cup 2022 Key #977)[1], NFT (293580014319903335/The Hill by FTX #1071)[1], NFT (293761408801669683/Solninjas #7764)[1], NFT (293793080139161735/FTX
                                      Crypto Cup 2022 Key #2619)[1], NFT (294098472716822251/FTX Crypto Cup 2022 Key #1765)[1], NFT (294102946818615404/FTX Crypto Cup 2022 Key #1781)[1], NFT (294192715376305517/FTX
                                      Crypto Cup 2022 Key #1547)[1], NFT (294306452236149071/Bahrain Ticket Stub #2061)[1], NFT (294911639755212429/Monza Ticket Stub #56)[1], NFT (295094722577771828/The Hill by FTX
                                      #523)[1], NFT (295499227078857453/SolanaDoge #1289)[1], NFT (295800865760107578/FTX Crypto Cup 2022 Key #1051)[1], NFT (295820110039612366/Belgium Ticket Stub #145)[1], NFT
                                      (295896906220249831/Barcelona Ticket Stub #1167)[1], NFT (295941130156879949/FTX Crypto Cup 2022 Key #1544)[1], NFT (295987900762332315/Mexico Ticket Stub #36)[1], NFT
                                      (296123798472700686/FTX Crypto Cup 2022 Key #1988)[1], NFT (296159862041069906/FTX Crypto Cup 2022 Key #1402)[1], NFT (296191441500370804/FTX Crypto Cup 2022 Key #2338)[1], NFT
                                      (296256265848664161/Hungary Ticket Stub #114)[1], NFT (296258423841678394/The Hill by FTX #1035)[1], NFT (296388797115798695/The Hill by FTX #1411)[1], NFT (296620129802648246/FTX
                                      Crypto Cup 2022 Key #901)[1], NFT (296747731385130394/Hungary Ticket Stub #315)[1], NFT (296776841014296733/FTX Crypto Cup 2022 Key #1150)[1], NFT (297693340725694095/The Hill by FTX
                                      #1532)[1], NFT (297788250608545961/Mexico Ticket Stub #114)[1], NFT (297879694219574851/FTX Crypto Cup 2022 Key #1421)[1], NFT (298126340677664084/FTX Crypto Cup 2022 Key #1403)[1],
                                      NFT (298184948635150032/The Hill by FTX #1549)[1], NFT (298681304021085713/FTX Crypto Cup 2022 Key #2047)[1], NFT (298713586631347996/FTX Crypto Cup 2022 Key #2578)[1], NFT
                                      (298940755898919462/FTX Crypto Cup 2022 Key #2623)[1], NFT (299083831156582540/Barcelona Ticket Stub #1404)[1], NFT (299256043439912283/The Hill by FTX #1064)[1], NFT
                                      (299445441584681069/FTX Crypto Cup 2022 Key #2561)[1], NFT (300652137401443376/Netherlands Ticket Stub #679)[1], NFT (300813291381788953/FTX Crypto Cup 2022 Key #1680)[1], NFT
                                      (301065324597270015/Blue Mist #95)[1], NFT (301110420449701190/Monza Ticket Stub #58)[1], NFT (301223768546255683/FTX Crypto Cup 2022 Key #2054)[1], NFT
                                      (301543238086127577/Barcelona Ticket Stub #662)[1], NFT (301557926061387650/Austria Ticket Stub #236)[1], NFT (301956493195200734/Solninjas #8211)[1], NFT (302772600559911628/Belgium
                                      Ticket Stub #144)[1], NFT (303436893680919769/FTX Crypto Cup 2022 Key #1761)[1], NFT (303717047552212398/FTX Crypto Cup 2022 Key #2703)[1], NFT (303970030825183428/FTX Crypto Cup
                                      2022 Key #2622)[1], NFT (304443743129590694/Netherlands Ticket Stub #738)[1], NFT (304626546533575778/Hungary Ticket Stub #432)[1], NFT (304733072955615376/Mexico Ticket Stub #133)[1],
                                      NFT (304979361515791353/FTX Crypto Cup 2022 Key #1749)[1], NFT (305172965216925847/FTX Crypto Cup 2022 Key #2597)[1], NFT (305210180501007696/Barcelona Ticket Stub #1378)[1], NFT
                                      (305237848915889215/The Hill by FTX #1098)[1], NFT (305941712729491643/FTX Crypto Cup 2022 Key #2069)[1], NFT (306141432697475744/APEFUEL by Almond Breeze #587)[1], NFT
                                      (306461336286550978/The Hill by FTX #1095)[1], NFT (306667375514061624/FTX Crypto Cup 2022 Key #2655)[1], NFT (306860723632789836/Belgium Ticket Stub #59)[1], NFT
                                      (307382226980174361/FTX Crypto Cup 2022 Key #2627)[1], NFT (307383576764182199/FTX Crypto Cup 2022 Key #2613)[1], NFT (308304653994944460/SolanaDoge #4023)[1], NFT
                                      (308439844139843168/FTX Crypto Cup 2022 Key #1005)[1], NFT (308655421195635852/FTX Crypto Cup 2022 Key #2677)[1], NFT (309580862519786665/Austin Ticket Stub #1466)[1], NFT
                                      (309933086262368669/Monza Ticket Stub #61)[1], NFT (310084130543535169/Barcelona Ticket Stub #1343)[1], NFT (310153159353709673/Monza Ticket Stub #59)[1], NFT
                                      (310645192774300602/MagicEden Vaults)[1], NFT (310898193619224796/The Hill by FTX #608)[1], NFT (311006741684232450/Netherlands Ticket Stub #74)[1], NFT (311090232641558858/DOGO-ID-
                                      500 #5177)[1], NFT (312026446180496362/FTX Crypto Cup 2022 Key #1909)[1], NFT (312385872674664499/Australia Ticket Stub #1896)[1], NFT (312495633546549976/FTX Crypto Cup 2022 Key
                                      #1943)[1], NFT (312621440317612155/FTX Crypto Cup 2022 Key #2335)[1], NFT (312646653519020375/Kiddo #1455)[1], NFT (312681039558094845/The Hill by FTX #861)[1], NFT
                                      (312993008773853294/The Hill by FTX #821)[1], NFT (313410883159855028/FTX Crypto Cup 2022 Key #2682)[1], NFT (313577139746045088/The Hill by FTX #1347)[1], NFT
                                      (314966849657109627/Mexico Ticket Stub #142)[1], NFT (315264932833516358/Barcelona Ticket Stub #780)[1], NFT (315496395570431531/FTX Crypto Cup 2022 Key #2370)[1], NFT
                                      (315523760868639342/Miami Ticket Stub #797)[1], NFT (315679640878743890/FTX Crypto Cup 2022 Key #2562)[1], NFT (316146247955844620/APEFUEL by Almond Breeze #613)[1], NFT
                                      (316164548709443906/Monza Ticket Stub #52)[1], NFT (316237198485720191/The Hill by FTX #1373)[1], NFT (316309357808863822/FTX Crypto Cup 2022 Key #835)[1], NFT
                                      (316708968546860552/FTX Crypto Cup 2022 Key #2213)[1], NFT (316753135340457037/Montreal Ticket Stub #17)[1], NFT (317201292784000030/FTX Crypto Cup 2022 Key #2344)[1], NFT
                                      (317490172149572486/The Hill by FTX #3124)[1], NFT (317950322435827165/FTX Crypto Cup 2022 Key #883)[1], NFT (318030224795191695/Solninjas #9316)[1], NFT (318080150693628298/FTX
                                      Crypto Cup 2022 Key #1418)[1], NFT (318085909427226994/2974 Floyd Norman - CLE 1-0167)[1], NFT (318198261665478305/FTX Crypto Cup 2022 Key #992)[1], NFT (318256757676047302/Bahrain
                                      Ticket Stub #561)[1], NFT (318321388204513768/FTX Crypto Cup 2022 Key #2310)[1], NFT (318492760245342090/The Hill by FTX #1224)[1], NFT (318550686618625781/FTX Crypto Cup 2022 Key
                                      #2698)[1], NFT (319013211169673375/Barcelona Ticket Stub #2219)[1], NFT (319037784522867252/FTX Crypto Cup 2022 Key #2206)[1], NFT (319194870748502313/FTX Crypto Cup 2022 Key
                                      #1451)[1], NFT (319240469912643079/FTX Crypto Cup 2022 Key #2114)[1], NFT (319286270667655597/Montreal Ticket Stub #175)[1], NFT (319507593706272802/FTX Crypto Cup 2022 Key
                                      #1588)[1], NFT (319810282556338438/Austin Ticket Stub #1308)[1], NFT (320569626669644700/FTX Crypto Cup 2022 Key #2126)[1], NFT (320948045411246513/Australia Ticket Stub #915)[1], NFT
                                      (321173868905193127/FTX Crypto Cup 2022 Key #2097)[1], NFT (321221872502120547/FTX Crypto Cup 2022 Key #2624)[1], NFT (321334472937828866/FTX Crypto Cup 2022 Key #1587)[1], NFT
                                      (321512721703532267/Hungary Ticket Stub #458)[1], NFT (321728846694452150/FTX Crypto Cup 2022 Key #1238)[1], NFT (321906852902522262/The Hill by FTX #1415)[1], NFT
                                      (321924257143076205/Barcelona Ticket Stub #708)[1], NFT (322364702266529326/FTX Crypto Cup 2022 Key #1466)[1], NFT (322621742978312599/The Hill by FTX #1101)[1], NFT
                                      (323117311230750604/FTX Crypto Cup 2022 Key #869)[1], NFT (323340143386819939/The Hill by FTX #1104)[1], NFT (323467903233684307/Mexico Ticket Stub #124)[1], NFT
                                      (324175232819592379/FTX Crypto Cup 2022 Key #92)[1], NFT (324933016772838170/FTX Crypto Cup 2022 Key #1009)[1], NFT (325033440839854915/Imola Ticket Stub #1843)[1], NFT
                                      (325048670094113779/Megalodon Rogue Shark Tooth)[1], NFT (325331302823359871/FTX Crypto Cup 2022 Key #2584)[1], NFT (325371158295725157/FTX Crypto Cup 2022 Key #2111)[1], NFT
                                      (325735814105557804/FTX Crypto Cup 2022 Key #2003)[1], NFT (326231855249127598/FTX Crypto Cup 2022 Key #1437)[1], NFT (327207658266686203/Saudi Arabia Ticket Stub #2351)[1], NFT
08216378                              USD[0.29]

08216380                              CUSDT[1], ETH[.12349107], ETHW[.12349107], TRX[1], USD[0.00]

08216391                              CUSDT[1], DOGE[0], EUR[0.00], MATIC[.00001723], SOL[0], SUSHI[.00004171], USD[9.56], USDT[0.00000001]

08216395                              CUSDT[2], SUSHI[10.19352284], UNI[3.33948317], USD[0.00]                                                                                                                                Yes

08216403                              BTC[.0004], DOGE[48], USD[0.56]

08216413                              DOGE[391.03324277], NEAR[15.4845], SOL[4.51548], USD[5.21], USDT[1.21722292]

08216434                              CUSDT[6], DOGE[154.97377229], KSHIB[1178.42569368], MATIC[12.55916441], SHIB[755311.91469276], SOL[.14356141], TRX[333.16413663], USD[0.00]                                             Yes

08216448                              BRZ[1], USD[0.00]                                                                                                                                                                       Yes

08216449                              BTC[0], NFT (401657141362595800/SharkBro #6137)[1], NFT (428439790522543903/SharkBro #3772)[1], NFT (479793010407563112/SharkBro #3929)[1], SOL[0.05869505], USD[0.00]

08216462                              CUSDT[1], TRX[1], USD[47.92]

08216469                              USD[129.28]                                                                                                                                                                             Yes

08216479       Contingent, Disputed   DOGE[35.89590188]

08216482                              BAT[.81669289], BTC[0], ETH[0], LINK[0], SOL[0.00175415], SUSHI[0.12054363], USD[161.78], YFI[0]

08216489                              CUSDT[1], DOGE[1], SHIB[1537919.70735027], USD[0.00], USDT[0]                                                                                                                           Yes

08216531                              ETH[0], USD[0.00]

08216537                              USD[0.00]

08216543                              CUSDT[4], DOGE[.00000045], NFT (533880659475998829/GOONEY #2089)[1], SHIB[144139.51610748], SUSHI[.10821753], TRX[58.64152664], USD[0.05]                                               Yes

08216559                              NFT (424612454285888734/Spartan #298)[1], NFT (545602231949766398/Persian #975)[1]                                                                                                      Yes

08216572                              USD[0.03]

08216577                              BAT[0], BTC[0], DAI[0], SOL[0]

08216588                              USD[500.00]

08216589                              TRX[0], USDT[0.00034365]

08216595                              LINK[0], SOL[0], USD[0.00]                                                                                                                                                              Yes

08216609                              BTC[0], SOL[0], USD[0.01]                                                                                                                                                               Yes

08216612                              USD[0.00]                                                                                                                                                                               Yes
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                                                                                                  Amended Schedule            Filed
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                                                                                                                                              Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or         Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08216640      Contingent, Disputed     NFT (295309753346672558/SLYTHERIN #1)[1], NFT (296871660741252418/MATRIX #2)[1], NFT (302835851976738040/GRYFFINDOR)[1], NFT (319024472474729307/WITCHER)[1], NFT
                                       (323166950096778073/GRYFFINDOR #1)[1], NFT (366700992603916047/RAVENCLAW #1)[1], NFT (398766032953638627/HUFFLEPUFF #1)[1], NFT (427229462229437313/SQUID GAME STAFF
                                       )[1], NFT (451217078120548181/SQUID GAME PLAYER )[1], NFT (485240270711736376/THE WITCHER)[1], NFT (492421572145817819/THE MATRIX)[1], NFT (493247763894585084/MATRIX)[1],
                                       NFT (498648443125028983/MATRIX #4)[1], NFT (500850839092203158/MATRIX #3)[1], NFT (508597648514179670/SAILORMOON)[1], NFT (547962187565476284/SQUID GAME_PLAYER)[1], NFT
                                       (550701611038663788/SQUID GAME PLAYER #2)[1], NFT (564370550934564183/SAILOR MOON)[1], USD[4.82], USDT[0]
08216647                               BTC[.00020975], DOGE[58.43382392], USD[0.00]

08216662                               BTC[0.00018292], MATIC[210], USD[0.00]

08216678                               ETH[.00000001]

08216713                               DOGE[19], SHIB[100000], USD[2.48]

08216714                               USD[0.00]

08216735                               SOL[.00290326], TRX[1], USD[0.00]                                                                                                                                                      Yes

08216737                               BTC[.00020696], GRT[.00056959], USD[0.00]

08216741        Contingent, Disputed   NFT (315122659410384250/Arianna Lee )[1], NFT (410154800807833159/Arianna Lee #3)[1], NFT (439663168874227825/Arianna Lee #2)[1], NFT (512696939134709102/Arianna Lee #4)[1]

08216746                               BTC[.0688], SOL[20], USD[13.10]

08216755                               USD[0.01]                                                                                                                                                                              Yes

08216756                               ETH[.17], ETHW[.17]

08216774                               USD[1.50]

08216781                               AVAX[0], BTC[0], ETH[0], ETHW[0]

08216794                               USD[0.21]

08216800                               USD[57.47]

08216806                               ETH[0.00000002], ETHW[0.00000002], SOL[.05236815], USD[0.00]

08216807        Contingent, Disputed   SUSHI[0], USD[0.00]

08216808                               USD[0.00]

08216810                               AAVE[0], BTC[0], EUR[0.00], SOL[0], USD[0.00], USDT[0], WBTC[0]

08216813                               CUSDT[16], DOGE[4], SHIB[1], TRX[4], USD[0.01]                                                                                                                                         Yes

08216830                               SOL[.00000001], USD[0.00]

08216839                               USD[9.85]                                                                                                                                                                              Yes

08216857                               USD[3160.83]                                                                                                                                                                           Yes

08216884                               USD[1195.00]

08216916                               CUSDT[9], DOGE[.00245309], ETH[.00000011], ETHW[.00000011], NFT (325273016724855798/ApexDucks #4480)[1], NFT (497914571044989156/Ghoulie #6968)[1], NFT                                Yes
                                       (560795285559288139/#5058)[1], SOL[1.03982351], TRX[3], USD[0.00]
08216926                               CUSDT[5], DOGE[1], SHIB[28.68766745], USD[0.00]                                                                                                                                        Yes

08216933        Contingent, Disputed   ETH[.00000001], ETHW[0], NFT (300248535080191331/Watch Her)[1], NFT (312494874532921982/Sinking in Self Sabotage)[1], NFT (343068229611408850/My Shell)[1], NFT
                                       (508701717457341168/Crippled by Insecurities)[1], NFT (509712803033588591/Let Me be Myself)[1], USD[14.82]
08216936                               BTC[.00009825], TRX[1], USD[0.00]                                                                                                                                                      Yes

08216950                               ETH[0], SOL[0], USD[0.00]

08216952        Contingent, Disputed   ETH[.068], ETHW[.068], SOL[.01264904], USD[0.00]

08216955                               MATIC[0]

08216956                               BTC[.00051805], USD[10.77]                                                                                                                                                             Yes

08216957                               BRZ[1685.60983556], CUSDT[1], TRX[2939.68025383], USD[0.00]                                                                                                                            Yes

08216961                               USD[0.13]

08216977                               CUSDT[2], DOGE[1], SOL[2.25522932], USD[0.00]

08217006                               DOGE[1], SOL[246.5261415], TRX[1], USD[0.00]                                                                                                                                           Yes

08217007        Contingent, Disputed   NFT (298848134088144443/CodyCros#4)[1], NFT (331959719702763918/ALIENS)[1], NFT (353391282279624138/CodyCros#2/10)[1], NFT (368661300354794229/TAROT#2/10)[1], NFT
                                       (370631823458795669/Muhammed Ali)[1], NFT (391284895392162059/Eyes..)[1], NFT (391584826731973103/Monkey#2710)[1], NFT (403721270027139323/viruses)[1], NFT
                                       (423971262555544045/SKELETOR#2/10)[1], NFT (462939258097158083/BUTTERFLY#1/10)[1], NFT (510771484943554230/CodyCros#1/10)[1], NFT (520169305218710034/CodyCross#1/10)[1], NFT
                                       (547960487919991883/SKELETOT#2/10)[1], NFT (562807568807201307/CodyCros#3)[1], SOL[.36], USD[1.08]
08217008                               CUSDT[1], DOGE[1], USD[0.00]

08217012                               USD[0.07]                                                                                                                                                                              Yes

08217019                               USD[9.75]

08217044                               CUSDT[1], SOL[2.98814718], USD[0.00]                                                                                                                                                   Yes

08217049                               BTC[.00112436], CUSDT[1], USD[21.54]                                                                                                                                                   Yes

08217076                               USD[500.00]

08217096                               AAVE[0], ALGO[607.6800254], AVAX[0], BRZ[2], DOGE[1], ETH[0.00000173], ETHW[0], LINK[27.35505347], MATIC[170.45868116], NFT (425430295339204696/Entrance Voucher #1349)[1], SHIB[9],   Yes
                                       TRX[1.03751683], UNI[34.01763991], USD[0.00], USDT[4078.98065645]
08217097                               CUSDT[2], DOGE[130.92049351], KSHIB[587.73433702], SHIB[315192.42863795], USD[0.00]                                                                                                    Yes

08217114                               NFT (291004176179808506/Imola Ticket Stub #1206)[1], NFT (470593093061871388/Unverfied Token)[1]

08217115                               NFT (327426094034293765/Microphone #3175)[1]

08217155                               LINK[1336.59598], USD[19.20]

08217158                               BTC[.00087821], CUSDT[10], SOL[.002], USD[0.04]

08217161        Contingent, Disputed   BAT[.79060936], DOGE[5.78920229], SHIB[29120.55911473], USD[0.05]

08217164                               BAT[1.00849245], BRZ[1], DOGE[3], ETH[1.57526833], ETHW[1.57460678], MATIC[197.34621647], TRX[2], USD[0.00]                                                                            Yes

08217179                               ETH[.17114482], ETHW[.17114482], SOL[1.25336984], USD[500.00]

08217196                               BTC[0], CUSDT[0], ETH[0], ETHW[0], GRT[0], USD[9.62]                                                                                                                                   Yes
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                                                                                                                                             Customer Claims                                                                                                   22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08217236                              USD[0.00]

08217244                              AAVE[8.74275329], BRZ[1], CUSDT[1], DOGE[1], USD[0.00]                                                                                                                           Yes

08217246                              CUSDT[7], DOGE[1], USD[0.00]                                                                                                                                                     Yes

08217254                              CUSDT[2], SHIB[1], USD[0.00]                                                                                                                                                     Yes

08217274                              SOL[.02478821], USD[0.00]

08217275                              USD[0.06]

08217280                              CUSDT[1], MATIC[9.30880403], USD[0.00]                                                                                                                                           Yes

08217294       Contingent, Disputed   BTC[.00010676], USD[0.00]

08217347       Contingent, Disputed   BAT[18.09691978], CUSDT[4], DOGE[2], GRT[32.23568542], SHIB[986518.16334446], SUSHI[31.63297515], TRX[1], UNI[3.20131099], USD[0.00]                                             Yes

08217355                              DOGE[1], ETH[.00000001], ETHW[0], NFT (312617606173099462/#7985)[1], NFT (486684080675797978/Sigma Shark #4044)[1], NFT (526550280455208995/Space Bums #4426)[1], SOL[0.01648962] Yes

08217373                              CUSDT[1], USD[0.00]

08217377                              BTC[.02057735], DOGE[2773.82046751], ETH[.12224415], ETHW[.12224415], USD[0.00]

08217402       Contingent, Disputed   BTC[0.00793524], DOGE[1], TRX[1], UNI[0.00006224]                                                                                                                                Yes

08217422                              DOGE[1], USD[0.00]                                                                                                                                                               Yes

08217426                              BTC[.00020101], USD[0.02]                                                                                                                                                        Yes

08217437                              TRX[.760424], USD[1.04]

08217460                              ETH[.00090595], ETHW[.00090595], USD[0.00]

08217465                              CUSDT[1], SOL[.002], USD[0.00], USDT[0]                                                                                                                                          Yes

08217476                              BTC[.00105982], DOGE[142.28170424], SHIB[816705.62473494], SOL[.31702074], USD[0.00]                                                                                             Yes

08217477       Contingent, Disputed   USDT[68.66]

08217480       Contingent, Disputed   ETH[1.16], ETHW[1.16], USD[15004.57]

08217487                              BTC[.0121], ETH[.000945], ETHW[.174945], USD[1.10], USDT[.0096904]

08217496                              USD[0.74]

08217507       Contingent, Disputed   USD[688.69]

08217513       Contingent, Disputed   NFT (463334623584159762/#EndSARS)[1], NFT (488882000208880261/War in Heaven)[1], NFT (496688871025282107/INTO THE METAVERSE)[1], USD[3.98], USDT[.009549]

08217536                              USD[0.63]

08217543                              ETHW[24.89588304], USD[3569.88]

08217583                              CUSDT[1], DOGE[1], LINK[18.79165427], USD[0.00]                                                                                                                                  Yes

08217586                              BTC[.00009869], DOGE[28.04176765], USD[0.00]

08217588                              USD[268.13]                                                                                                                                                                      Yes

08217598                              BTC[.00217224], CUSDT[3], DOGE[1], GRT[149.86354176], SUSHI[34.47990583], TRX[2], USD[0.00], USDT[0.00030466]                                                                    Yes

08217613                              AAVE[0.00710345], AUD[1.38], BAT[1.75873173], BCH[.00813058], BRZ[4.37932669], BTC[0.00036327], CAD[2.05], CHF[1.34], CUSDT[67.65987151], DAI[4.13093731], DOGE[26.26685526],    Yes
                                      ETH[.00131828], ETHW[.0013046], EUR[1.56], GBP[1.52], GRT[.07211415], KSHIB[65.0839769], LINK[.07326785], LTC[.01136767], MATIC[.07641948], MKR[.00066182], PAXG[.00118544],
                                      SHIB[469554.49062015], SOL[.07717656], SUSHI[.05784553], TRX[26.94329743], UNI[.06867947], USD[0.37], USDT[2.13654374], YFI[.00007873]
08217616       Contingent, Disputed   NFT (445549352631478550/Virus #1)[1], SOL[.064]

08217625                              SOL[.00434], USD[0.00], USDT[0]

08217631                              ETH[0], NFT (299332483856405891/Brian #23)[1], NFT (361432894998234372/Boneworld #5191)[1], NFT (391378587444750072/Boneworld #415)[1], SOL[0], USD[0.77]

08217632                              BTC[.01504456], CUSDT[1], USD[0.00], USDT[1]

08217634                              BTC[.00127362], USD[969.24], USDT[0]

08217636                              TRX[1076.927], USD[0.01]

08217640                              CUSDT[2], USD[0.01]                                                                                                                                                              Yes

08217657                              BRZ[1], CUSDT[7], SOL[0.00000227], TRX[1], USD[2.14]                                                                                                                             Yes

08217666                              USD[146.03]

08217676                              BTC[.02039806], DOGE[1], TRX[1], USD[0.00]

08217687                              MATIC[85.00365402], SOL[3.04130122]                                                                                                                                              Yes

08217689       Contingent, Disputed   ETH[.0997746], ETHW[.0997746]

08217697                              DOGE[0], USD[0.01]                                                                                                                                                               Yes

08217702                              CUSDT[2], NFT (309076486121944272/Cryptographic zombie #22)[1], NFT (469024870384554838/Cryptographic zombie #53)[1], USD[0.00]                                                  Yes

08217717                              AVAX[19.5], BRZ[65.934], BTC[0], ETHW[.26], SOL[31.59422], TRX[7848], USD[0.88]

08217724                              USD[0.00], USDT[1.27248696]

08217725       Contingent, Disputed   USD[10000.00]

08217726                              BAT[1], USD[0.01]

08217729                              BTC[0], SOL[0]

08217735                              USD[0.00]

08217740                              BTC[.00257157], SHIB[1], USD[0.00]                                                                                                                                               Yes

08217756                              SOL[3.86505502], USD[0.00]

08217759                              SOL[.00001998], USD[107.53]                                                                                                                                                      Yes

08217763                              AVAX[.10806524], BTC[.00020157], ETH[.00455146], ETHW[.00449674], LTC[.18873659], SHIB[82565.43862397], SOL[.03259443], USD[0.00], USDT[.03298992]                               Yes

08217768                              SHIB[1], USD[0.00]
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                                                                                                                                            Customer Claims                                                                                                         22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08217799                              USD[0.00], USDT[21.41261324]                                                                                                                                                          Yes

08217804                              BCH[.02417324], NFT (317769224799312885/Barcelona Ticket Stub #1699)[1], NFT (429423520915027136/FTX Crypto Cup 2022 Key #636)[1], NFT (485288575105459389/Entrance Voucher           Yes
                                      #4177)[1], NFT (501083105358847306/The Hill by FTX #635)[1], NFT (545717757408015748/Imola Ticket Stub #1892)[1], SHIB[2153832.42261609], TRX[.000028]
08217805                              BTC[.00000808], ETHW[.61948954], LINK[9.80568697], TRX[510.93848967], USD[0.34]                                                                                                       Yes

08217807                              CUSDT[4], NFT (398503866426620667/SolBunnies #3423)[1], NFT (447871277488515921/Gloom Punk #2918)[1], NFT (490158865150789851/DOTB #6533)[1], SHIB[1], USD[0.01]                      Yes

08217817                              CUSDT[4], NFT (336367975765546379/Cyber Frogs Ramen)[1], NFT (376409504263140984/ApexDucks #3182)[1], NFT (407072483319279309/MagicEden Vaults)[1], NFT                               Yes
                                      (409305715143182438/Golden bone pass)[1], NFT (454947171086422732/MagicEden Vaults)[1], NFT (463554770166349792/MagicEden Vaults)[1], NFT (494590905577018835/MagicEden Vaults)[1],
                                      NFT (501361803109040270/MagicEden Vaults)[1], NFT (563699083155445663/Frog #8276)[1], NFT (576294729997194132/Kiddo #5319)[1], SOL[.13902361], TRX[1], USD[0.23]
08217822                              SHIB[9990000], SOL[.92907], USD[2.00]

08217825       Contingent, Disputed   USD[3.53]

08217826                              USD[0.00], USDT[0]

08217833                              BRZ[1], BTC[.00463893], SHIB[1], SOL[2.3663386], USD[0.00]                                                                                                                            Yes

08217834                              CUSDT[4], DOGE[3], SHIB[2], USD[0.01]                                                                                                                                                 Yes

08217856                              BTC[.0000837], ETH[.002685], ETHW[.311378], USD[0.17]

08217861                              USD[10.77]                                                                                                                                                                            Yes

08217881       Contingent, Disputed   USD[0.00], USDT[0]

08217890                              USD[16.16]                                                                                                                                                                            Yes

08217894       Contingent, Disputed   SOL[0.22393691]

08217905                              BTC[.003045], DOGE[1], USD[41.88]

08217906                              USD[30.00]

08217918                              ETH[.24840389], SHIB[1], USD[0.00]                                                                                                                                                    Yes

08217919                              SHIB[55663.79070414], USD[4.00]

08217922                              SOL[0], USD[0.00]

08217927                              BF_POINT[100], BTC[0], CUSDT[1], DOGE[2], NFT (312227121454032385/ALPHA:RONIN #1098)[1], SOL[0]                                                                                       Yes

08217938       Contingent, Disputed   BTC[.00000679], USD[0.00]

08217944       Contingent, Disputed   DOGE[8], SHIB[99900], SOL[.01019885], USD[0.18]

08217948                              ETHW[1.721], USD[78.85]

08217949                              BRZ[1], BTC[.00000002], DOGE[1], NFT (388319543662882793/Aliens Attack #04)[1], SHIB[3], USD[1.01]                                                                                    Yes

08217965                              NFT (340352083096502955/GSW Championship Commemorative Ring)[1], NFT (364249903517914200/GSW Western Conference Finals Commemorative Banner #1204)[1], NFT
                                      (365656188716048603/GSW Western Conference Semifinals Commemorative Ticket #640)[1], NFT (443423707777791519/Warriors Hoop #601 (Redeemed))[1], NFT (521490754490975167/GSW
                                      Western Conference Finals Commemorative Banner #1203)[1], NFT (557801339610738311/GSW Round 1 Commemorative Ticket #725)[1], USD[0.01]
08217968                              BTC[.0000667], USD[2.00]

08217970                              BF_POINT[300]

08217977       Contingent, Disputed   BTC[0.00032182], ETH[0], USD[0.00]

08217983                              CUSDT[2], USD[21.73]                                                                                                                                                                  Yes

08217986                              USD[30.50]

08217998                              AAVE[.24286693], BTC[.00681002], DOGE[258.38520358], ETH[0.04232153], ETHW[0.04232153], LINK[4.64139166], LTC[2.44215271], MATIC[0], SOL[0.46727515], SUSHI[7.39086870],
                                      UNI[2.62827739], USD[0.00]
08218016                              CUSDT[1], DOGE[84.64193049], ETH[.00354767], ETHW[.00354767], TRX[1], USD[0.00]

08218019                              BTC[.0006997], DOGE[29], ETH[1.632366], ETHW[.007992], KSHIB[49.95], SUSHI[.999], USD[236.12]

08218020                              BTC[0], SOL[.2997], USD[0.32], USDT[1.17938374]

08218021                              ETH[.00000035], ETHW[.00000035], SOL[.00000768], USD[0.00]                                                                                                                            Yes

08218035                              NFT (506620824013614981/Cal Bears Super Oski Scavenger Hunt #60)[1]

08218052                              AVAX[.52845381], USD[0.00]

08218057                              USD[0.00]

08218070                              BAT[1], BTC[.31891044], ETH[4.63228961], ETHW[4.63070916], GRT[1], LTC[6.28529819], SHIB[1], SOL[187.54037396], USD[483.68]                                                           Yes

08218073                              NFT (501100599798125232/Cal Bears Super Oski Scavenger Hunt #62)[1]

08218079                              CUSDT[1], DOGE[30.1715574], MATIC[2.29009947], SOL[.24070717], USD[0.02]                                                                                                              Yes

08218090                              USD[0.00]

08218092                              CUSDT[1], ETH[.01603024], ETHW[0.01582853], TRX[1], USD[0.28]                                                                                                                         Yes

08218094                              BTC[.00020237], SHIB[140160.49738558], USD[5.39]                                                                                                                                      Yes

08218095                              ETHW[.734], USD[1449.82]

08218096                              USD[1.00], USDT[0]                                                                                                                                                                    Yes

08218106                              SHIB[135377.90492039], USD[0.00]                                                                                                                                                      Yes

08218114                              BRZ[1], BTC[.00016462], NFT (372480554083691507/Entrance Voucher #155)[1], SHIB[1.04067796], TRX[1], USD[-0.78]                                                                       Yes

08218118       Contingent, Disputed   BTC[.2114883], USD[42.69]

08218135                              BTC[.01076267], CUSDT[1], USD[0.00]                                                                                                                                                   Yes

08218136                              USD[0.00]

08218145                              BTC[.03353386], SHIB[1], USD[0.98]                                                                                                                                                    Yes

08218146                              USD[0.01]

08218190                              AVAX[0], DAI[0], TRX[0], USD[0.00]

08218191                              SOL[.00258008], USD[190.01]
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Customer Code Unliquidated, or         Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08218192      Contingent, Disputed     USDT[0]

08218199                               BTC[0], ETHW[0], SOL[16.6516785], USD[0.00]

08218210                               SOL[10.14984], USD[2.70]

08218221                               CUSDT[1], ETH[.07150362], ETHW[.07061463], SOL[1.54542548], TRX[1], USD[0.00]                                                                                            Yes

08218233                               BTC[0], SOL[0]

08218234        Contingent, Disputed   BTC[.99]

08218243        Contingent, Disputed   USD[25.91]

08218256                               CUSDT[4], ETH[0], SOL[0], USD[0.00]

08218259                               SOL[0], USD[0.01], USDT[0.00009734]

08218265                               CUSDT[1], SOL[.14758168], USD[0.00]                                                                                                                                      Yes

08218270                               CUSDT[1], SHIB[2721062.45907675], TRX[1], USD[0.02]

08218274                               NFT (405975895873983473/The Wise Man)[1], NFT (475023261277414901/Mt. Olympus)[1], NFT (518125771052344123/Molly Water #7)[1], SOL[.0234]

08218278                               CUSDT[1], SHIB[2804262.47896803], USD[0.00]

08218282                               USD[1.66]

08218286                               BCH[0], DOGE[1], ETH[0.00000020], ETHW[0.00002109], SHIB[0], USD[0.00]                                                                                                   Yes

08218293                               USD[0.01]

08218296        Contingent, Disputed   USD[0.00]

08218306        Contingent, Disputed   BTC[.00606862], USD[0.00]

08218308                               USD[0.00]

08218313                               BAT[2.00937698], USD[0.00]                                                                                                                                               Yes

08218314                               USDT[0.34361327]

08218316                               BRZ[1], CUSDT[15], DOGE[3], NFT (532552968344879380/APEFUEL by Almond Breeze #501)[1], NFT (569318598379198597/Imola Ticket Stub #521)[1], SHIB[36], TRX[4], USD[0.00]   Yes

08218317                               SOL[.52], USD[1.44]

08218339                               BTC[.00000008], SHIB[7], SOL[0], USD[0.00], USDT[0]                                                                                                                      Yes

08218340                               BAT[1], CUSDT[1], DOGE[2], GRT[2], SHIB[4], SOL[.00000001], TRX[1], USD[0.00], USDT[0]                                                                                   Yes

08218350                               ETH[.00000001], ETHW[0], GBP[0.26], TRX[1], USD[0.00]                                                                                                                    Yes

08218351                               BTC[.00472804], TRX[0.00077700], USD[0.00]

08218366                               USD[0.00]

08218370                               BTC[.00389213], ETH[.04609396], ETHW[.04609396], USD[100.00]

08218371                               SOL[.00000046], USD[0.00]

08218376                               ETH[0], USD[0.01]

08218377                               NFT (318407900322506841/Coachella x FTX Weekend 1 #4645)[1], SHIB[48.09255363], USD[0.00]

08218378                               USD[102.33]

08218405                               USD[0.52]

08218428        Contingent, Disputed   MATIC[2090], USD[15013.69]

08218431                               ETHW[1.81987136], LINK[464.07281692]                                                                                                                                     Yes

08218445                               USD[10.00]

08218457                               DOGE[82.727], LINK[2780.3055], MATIC[49957.81], SUSHI[8.0996], USD[0.00]

08218458                               ETH[.00000013], ETHW[.00000013], SHIB[5762.18235672], SOL[.00000267], USD[0.00]                                                                                          Yes

08218472                               USD[30000.00]

08218486                               MATIC[4.62247629], USD[0.00]                                                                                                                                             Yes

08218487                               TRX[124.90775562], USD[0.00]                                                                                                                                             Yes

08218489                               DOGE[221.23895028], SHIB[14680708.97272776], TRX[1067.58142737], USD[0.00]

08218506                               CUSDT[1], SHIB[1], USD[0.00], USDT[0.00000056]

08218511                               BRZ[1], CUSDT[2], DOGE[619.99420639], SHIB[0], UNI[7.04257684]                                                                                                           Yes

08218519                               BTC[0], USD[0.72]

08218521                               BTC[.00000023], CUSDT[13], DOGE[101.53732137], GRT[1209.1047598], LINK[.00032712], MATIC[.00200265], SHIB[27], TRX[272.52811221], USD[20.01]                             Yes

08218537                               NFT (505548384103579318/FTX - Off The Grid Miami #4732)[1]

08218538                               USD[1000.00]

08218550                               BTC[.0051], USD[0.07]

08218559                               DOGE[1], TRX[116.47817165], USD[0.00]

08218562                               ETH[1.00040104], ETHW[1.00040104], SOL[10.07576301], USD[5560.00]

08218575                               CUSDT[1], SHIB[1], USD[0.00]                                                                                                                                             Yes

08218584                               USD[79.96]

08218590                               DOGE[1], SOL[.05515669], USD[0.04]                                                                                                                                       Yes

08218596                               USD[0.00], USDT[0]

08218606        Contingent, Disputed   BTC[.02016805], ETH[.11765398], ETHW[.11765398], LTC[3.22505809], SOL[5.23402981], USD[0.00]

08218610                               BTC[.00019186], CUSDT[2], DOGE[1], SHIB[796906.579289], TRX[1.00028926], USD[0.00]                                                                                       Yes
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                                                                                                                                            Customer Claims                                                                                                               22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                           Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08218612                              USD[7.70]                                                                                                                                                                                   Yes

08218617       Contingent, Disputed   BTC[.0015946], ETH[.062], ETHW[.062], LTC[6.68452], MATIC[228.61], SOL[.02651], USD[568.62]

08218623                              BTC[.0291], ETH[.348], ETHW[.348], SOL[4.7738779], USD[14549.50]

08218638       Contingent, Disputed   ETH[.000052], ETHW[.000335], SOL[.00896], USD[33.68], USDT[.0053518]

08218646                              USDT[50]

08218651                              CUSDT[1], USD[5.37]                                                                                                                                                                         Yes

08218680                              ETH[.00244537], ETHW[.00241801], SOL[1.1404818], TRX[1], USD[0.00]                                                                                                                          Yes

08218684                              TRX[.00004929], USD[0.00]                                                                                                                                                                   Yes

08218695                              USD[0.00]

08218696                              TRX[1], USD[0.00]

08218697                              BRZ[1], CUSDT[975.11074928], ETH[.00003978], ETHW[.00003978], SOL[1.05602761], TRX[1], USD[0.00]                                                                                            Yes

08218702                              USD[1.89]

08218738       Contingent, Disputed   ETH[.0017], ETHW[.0017], NFT (536681559327983300/NEED FOR PINK #001)[1]

08218742                              ETH[.01177193], ETHW[.01177193], TRX[1], USD[0.00]

08218751                              USD[10.00]

08218780                              BTC[.0220063], USD[17.67]                                                                                                                                                                   Yes

08218784                              BTC[.11274501], DOGE[367.632], ETH[.02738502], ETHW[0.02738501], USDT[50.5311712]

08218790                              DOGE[1], KSHIB[1386.72136635], USD[0.00]                                                                                                                                                    Yes

08218806                              USD[50.00]

08218807                              USD[0.00]                                                                                                                                                                                   Yes

08218812                              USD[39.38]                                                                                                                                                                                  Yes

08218815                              USD[0.00]

08218816                              USD[0.89]

08218823                              USD[2.13]

08218833                              SOL[0], USD[0.00], USDT[0.00004146]

08218841                              NFT (338140761436192241/Kenya )[1]

08218842                              BTC[0.00009955], CUSDT[2], NFT (290527679681921139/The Sonar Brothers Suit Up #5)[1], NFT (315062806490123453/The Sonar Brothers Suit Up)[1], NFT (343531435704262640/The Sonar
                                      Brothers Suit Up #6)[1], NFT (384385547804278720/The Sonar Brothers Suit Up #2)[1], NFT (433559613629927242/The Sonar Brothers Suit Up #4)[1], NFT (470027765134916158/The Sonar Brothers
                                      Suit Up #3)[1], USD[0.00]
08218847                              USD[5.39]                                                                                                                                                                                   Yes

08218853                              BTC[0], USD[149.37]

08218866                              DOGE[2948.01333207], GRT[1], USD[0.01]                                                                                                                                                      Yes

08218867                              USD[50.00]

08218874                              BAT[.1], USD[1.28]

08218887       Contingent, Disputed   BTC[0], SOL[0], USD[16.52]

08218895                              USD[0.00]

08218899       Contingent, Disputed   BTC[.0088911], USD[1604.75]

08218901                              ETH[0.00855546], ETHW[0.00855546], USD[0.00]

08218903       Contingent, Disputed   DOGE[467], USD[0.00], USDT[0.51466184]

08218908       Contingent, Disputed   KSHIB[1982.21625729], NFT (555858583188305869/FTX - Off The Grid Miami #1995)[1], SHIB[.00000594]

08218910                              NFT (546100894121028160/CROCO DIARIES #5)[1], USD[1.84]

08218921                              SHIB[1903077]

08218926                              BTC[0], CUSDT[3], MATIC[4.67984987], SHIB[1], TRX[1], USD[0.00]

08218932                              CUSDT[2], ETH[.00600159], ETHW[.00600159], SHIB[2], USD[9.01]

08218937                              BTC[0], DOGE[.58400145], ETH[2.671326], LINK[.05550506], SHIB[5761.47461883], SUSHI[40.44191692], USD[7.43], USDT[.00029525]

08218951                              TRX[.000002], USDT[49]

08218956                              CUSDT[1], USD[0.00]

08218960                              ETH[.0001], ETHW[.0001], NFT (472283538532459123/River Blues)[1]

08218967                              ETHW[5.78948937]                                                                                                                                                                            Yes

08218971                              BTC[0], SOL[.05348106], USD[10.57]                                                                                                                                                          Yes

08218976                              CUSDT[2], DOGE[2], TRX[1], USD[0.01]                                                                                                                                                        Yes

08218979                              DOGE[1], USD[0.00]

08218982                              NFT (346377983593925446/Entrance Voucher #857)[1], USD[0.02]                                                                                                                                Yes

08218985                              BTC[.00098041], USD[0.01], USDT[0.00013190]

08218990                              SHIB[1], SOL[.80276773], USD[0.00]

08218991                              USD[0.00]

08219000                              USD[5000.00]

08219004                              SHIB[23458363.21773472], USD[0.23]

08219006                              ETH[.0000442], NEAR[8.23714640]
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              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                              Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08219011                              SOL[.10342093], USD[0.00]

08219012                              BTC[0], ETH[.00873947], ETHW[.00873947], USD[7.09]

08219017                              CUSDT[1], USD[0.00]

08219018                              BTC[.00018665], ETH[.00026213], ETHW[.00026213], USD[0.00]                                                                     Yes

08219030       Contingent, Disputed   USD[0.00]

08219042                              BTC[.00220383], ETH[.01228997], ETHW[.01213949], USD[0.01]                                                                     Yes

08219053       Contingent, Disputed   ETH[.002], ETHW[.002], SOL[.21], USD[1.09]

08219075       Contingent, Disputed   NFT (292019074421969096/BabyBlob #294)[1]

08219081                              CUSDT[5], DOGE[1], USD[0.01]

08219083                              USD[25.00]

08219089                              BTC[0.04154269], ETH[0], USD[0.00]                                                                                             Yes

08219094       Contingent, Disputed   BTC[.0001], ETH[.001], ETHW[.001], USD[10.71]

08219101                              USD[0.00]

08219105                              DOGE[1948.05], ETH[5.91896639], ETHW[5.91896639], SOL[49.95], USD[2.80]

08219120                              DOGE[1], USD[0.00]

08219121                              BRZ[1], BTC[0], DOGE[1059.53953877], ETH[0], SHIB[5525334.18340110], USD[0.00]                                                 Yes

08219135                              SOL[1.999], USD[512.42]

08219142                              CUSDT[1], ETH[.07043001], ETHW[.07043001], USD[0.00]

08219165                              USD[0.35]                                                                                                                      Yes

08219166                              BAT[.41], BTC[2.3897973], DOGE[.102], ETH[1.557293], ETHW[1.348763], SOL[1.9318], USD[23085.08], USDT[174.89258825]

08219167       Contingent, Disputed   USD[538.11]                                                                                                                    Yes

08219169                              USD[0.00]

08219170       Contingent, Disputed   AUD[0.00], BAT[0], ETH[0], KSHIB[0], SHIB[0], USD[3.63], USDT[0]                                                               Yes

08219191                              NFT (338437758067950042/Entrance Voucher #672)[1]

08219199       Contingent, Disputed   BTC[.00106076], USD[0.00]

08219219       Contingent, Disputed   SOL[.1]

08219222                              TRX[.000002]

08219228                              BAT[74.04262131], CUSDT[2], LINK[21.0551893], USD[0.01]

08219229                              USD[0.09]                                                                                                                      Yes

08219231                              BTC[.00078678], CUSDT[2], USD[0.00]                                                                                            Yes

08219239                              DOGE[29.54959491], ETH[.00121867], ETHW[.00120499], KSHIB[130.20762126], SOL[.02626217], USD[0.00]                             Yes

08219247                              BTC[0.00000861], ETH[.000863], ETHW[.141863], MATIC[.77], USD[4938.75]

08219248                              USD[0.00]                                                                                                                      Yes

08219262                              BTC[0.00015964], ETH[.282], ETHW[.282], SOL[1.414127], USD[1.32]

08219266                              BRZ[2], BTC[.02769839], ETH[.20604373], ETHW[.20582753], TRX[1], USD[0.00]                                                     Yes

08219268                              BTC[.05409111], ETH[.19429668], ETHW[.19429668], SOL[9.10323245], USD[2800.98], USDT[59.59364436]

08219269                              CUSDT[1], DOGE[147.71792638], USD[0.00]                                                                                        Yes

08219270                              CUSDT[2], USD[0.01]

08219272                              USD[5.00]

08219274       Contingent, Disputed   USD[5.38]                                                                                                                      Yes

08219278                              BRZ[2], BTC[.03613612], CUSDT[6], DOGE[6], ETH[.0514479], ETHW[.05080734], SHIB[6], SOL[.00001079], TRX[5], USD[894.32]        Yes

08219283                              NFT (379045509713026305/Land Title: The Clubhouse, Ellis Island)[1], USD[0.97]

08219289                              ETH[.00120148], ETHW[.0011878], USD[0.00]                                                                                      Yes

08219292                              USD[10.00]

08219305                              USD[0.67]

08219310                              USD[9.59], USDT[2393.65395]

08219349                              BTC[.00252766], CUSDT[6], DOGE[.00004643], ETH[.0654118], ETHW[.06460036], MATIC[21.41845985], TRX[1724.87478586], USD[0.40]   Yes

08219357                              USD[0.00]

08219360       Contingent, Disputed   SHIB[27072900], USD[4.10]

08219364                              USD[0.01], USDT[0.69193301]

08219373                              USDT[.3095]

08219381                              MATIC[4.43358511], USD[0.00]                                                                                                   Yes

08219383                              USD[0.00]                                                                                                                      Yes

08219401                              USD[7.00]

08219405                              USD[148.34], USDT[.45914075]                                                                                                   Yes

08219410                              BRZ[0], ETH[0], KSHIB[0], SHIB[0], SUSHI[0], TRX[0], USD[0.01]                                                                 Yes

08219414                              ETH[0.00600000], ETHW[0.00600000], LINK[12.66327874], USD[0.00]

08219418                              ETH[.00016], ETHW[.00016], NFT (377710039195274622/The Price to Pay)[1]
West Realm Shires Services Inc.                                                     Case 22-11068-JTD     Doc 1754
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08219422                              USD[2.15]                                                                                                                                                                               Yes

08219429                              BTC[.00338739], TRX[1], USD[0.00]

08219432                              DOGE[0.07178101], SHIB[0], USD[0.00]                                                                                                                                                    Yes

08219437                              USD[0.00]

08219438                              SOL[.00162715], USD[0.86]

08219443       Contingent, Disputed   BTC[.00001427], USDT[0.00026837]

08219447                              BTC[0], DOGE[0], ETH[0], SOL[0.06663849], USD[0.00]

08219456                              USD[0.01]                                                                                                                                                                               Yes

08219464       Contingent, Disputed   BRZ[1.879], GRT[1.882], KSHIB[6.86], MATIC[.841], SHIB[199100], USD[844.87]

08219469                              BTC[.00029499], DOGE[5.19698036], SHIB[32000], TRX[1], USD[0.00]

08219481                              CUSDT[2], ETHW[.02986106], LINK[57.45197214], SHIB[1], USD[0.00]                                                                                                                        Yes

08219485                              USD[0.94]

08219489                              SOL[2.7503088], TRX[1], USD[0.00]                                                                                                                                                       Yes

08219490                              BTC[.00007621], USD[32.59]

08219495                              USD[0.00]

08219511                              AUD[7.01], CAD[6.28], CUSDT[225.64673739], DOGE[27.41684265], GRT[6.98426269], MATIC[2.14171842], SHIB[133582.68768367], TRX[56.62453876], USD[7.01], USDT[2.98381842]

08219517       Contingent, Disputed   CUSDT[4], ETH[.0031012], ETHW[.00306016], KSHIB[325.82553111], LINK[.6630458], SHIB[3424086.43887188], SOL[.15258833], SUSHI[1.59985446], USD[0.00]                                     Yes

08219533                              BTC[.00049474], CUSDT[2], ETH[.01042742], ETHW[.01030181], SOL[.00000047], TRX[1], USD[0.19]                                                                                            Yes

08219540                              USD[0.00]

08219557                              USDT[5.99832530]

08219560                              CUSDT[2], DAI[.730619], ETH[.00032636], ETHW[.00032636], MATIC[6.65356788], TRX[37.18933536], USD[0.78], USDT[8.42515617], YFI[.00022411]

08219561                              USD[0.93]

08219564                              BRZ[1], DOGE[6.00031962], ETH[.00000001], SHIB[4], USD[0.00]                                                                                                                            Yes

08219570                              USD[500.00]

08219574                              BTC[0], CUSDT[2], NFT (317161878737674843/Earl Campbell's Playbook: Rice vs. Texas - October 1st, 1977 #111)[1], NFT (484089070478465577/Earl Campbell's Playbook: Houston Oilers vs.   Yes
                                      Chicago Bears - November 16, 1980 #148)[1], SOL[0], TRX[1], USD[4.70]
08219588       Contingent, Disputed   TRX[53.56046478], USD[-0.73], USDT[0.00078649]

08219597                              CUSDT[1], SHIB[3596667.01305157], USD[0.00]                                                                                                                                             Yes

08219600                              KSHIB[84.76257156], NFT (371744815873368358/Australia Ticket Stub #168)[1], USD[1.12]                                                                                                   Yes

08219602                              CUSDT[2], TRX[3], USD[0.01]

08219609                              USDT[0.00002987]

08219615                              BTC[0], ETH[.00000001], ETHW[0.30512882], USD[0.02], USDT[0]

08219629                              BTC[0], SOL[.29119236], USD[0.63]

08219645                              ETH[.71283818], SHIB[1], USD[2300.01]

08219651       Contingent, Disputed   SOL[.01555526], USD[4.29]

08219653                              BTC[.00000084], NFT (428334451999108223/Heavenly water#086)[1], NFT (529447080462206769/Heavenly water#094)[1], USD[5.65], USDT[0]                                                      Yes

08219654                              USD[0.26]

08219656                              CUSDT[9], DOGE[2], SHIB[1708608.17043573], TRX[1], USD[0.00], USDT[0]                                                                                                                   Yes

08219660                              SOL[.09936425], USD[0.01]

08219661                              ALGO[0], BTC[0], GRT[0], NEAR[0], SHIB[1], USD[506.72]                                                                                                                                  Yes

08219666                              CUSDT[5], DOGE[149.21306349], MATIC[19.50852656], SHIB[1077589.92134551], SOL[3.20023758], USD[0.00]                                                                                    Yes

08219685                              BTC[.0054], USD[243.30]

08219694                              ETH[.00081902], ETHW[.00081902], GRT[1], TRX[1], USD[0.00]

08219712                              LTC[311.7447608], TRX[26821.63733664]                                                                                                                                                   Yes

08219716       Contingent, Disputed   SOL[15.26523612], USD[0.87]

08219724                              DOGE[.0004802], ETH[0], GRT[6.92213611], USD[0.00]                                                                                                                                      Yes
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                                                                                                Amended Schedule            Filed
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                                                                                                                                            Customer Claims                                                                                                             22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08219749                              ETH[.00990809], ETHW[.51990809], NFT (288540428295504342/Fae #3153)[1], NFT (288779660339489987/Cinder Creator Token)[1], NFT (289809934452508537/Cinder Creator Token)[1], NFT
                                      (289861794481025010/Fae #2384)[1], NFT (290876644890600773/Cinder Creator Token)[1], NFT (290887241225222358/Cinder Creator Token)[1], NFT (291116840252011697/Fae #928)[1], NFT
                                      (291206278747459683/Cinder Creator Token)[1], NFT (291903225733665936/Fae #4369)[1], NFT (292447845797550991/Fae #3835)[1], NFT (292979074575821257/Cinder Creator Token)[1], NFT
                                      (293657953825243243/Fae #3607)[1], NFT (294266164646638900/Cinder Creator Token)[1], NFT (295417041959086750/Fae #3154)[1], NFT (295760475800662148/Fae #4391)[1], NFT
                                      (296322803302068942/Fae #4370)[1], NFT (296533235513157645/Cinder Creator Token)[1], NFT (296689817809678856/Fae #12)[1], NFT (297040327798352965/Cinder Creator Token)[1], NFT
                                      (297102071465329904/Fae #4247)[1], NFT (297271495327307577/Cinder Creator Token)[1], NFT (297538569463578935/Fae #4259)[1], NFT (298075032336300988/Cinder Creator Token)[1], NFT
                                      (298176709739894673/Cinder Creator Token)[1], NFT (298971319806071054/Cinder Creator Token)[1], NFT (304083680437036684/Fae #415)[1], NFT (304481668932266041/Cinder Creator Token)[1],
                                      NFT (305551893257801202/Cinder Creator Token)[1], NFT (305753160980078521/Fae #4425)[1], NFT (305768223342273956/Fae #3221)[1], NFT (306845782828014227/Cinder Creator Token)[1], NFT
                                      (307099826704870114/Fae #389)[1], NFT (308072901435838178/Cinder Creator Token)[1], NFT (309428886004720294/Cinder Creator Token)[1], NFT (309563185622583936/Cinder Creator Token)[1],
                                      NFT (310017713419999582/Fae #3471)[1], NFT (310796186600649862/Cinder Creator Token)[1], NFT (310838412092264416/Cinder Creator Token)[1], NFT (311627529104629339/Fae #3494)[1], NFT
                                      (311669072296112911/Fae #1629)[1], NFT (312592347046161650/Fae #1515)[1], NFT (312997137260395741/Cinder Creator Token)[1], NFT (313517707804006011/Cinder Creator Token)[1], NFT
                                      (313587636512276340/Fae #3486)[1], NFT (315634186516622580/Fae #93)[1], NFT (316904998527339714/Fae #438)[1], NFT (317120763855442165/Fae #3620)[1], NFT (317593012132071536/Fae
                                      #1635)[1], NFT (317600230488836013/Cinder Creator Token)[1], NFT (317975513339186862/Fae #66)[1], NFT (318527331617721278/Cinder Creator Token)[1], NFT (319058189920164445/Fae
                                      #4125)[1], NFT (319870951896410309/Cinder Creator Token)[1], NFT (320366488536102899/Fae #3329)[1], NFT (320723306412133428/Cinder Creator Token)[1], NFT (320963788159653524/Fae
                                      #4202)[1], NFT (321909652528281342/Cinder Creator Token)[1], NFT (324074550244402527/Fae #1447)[1], NFT (327193036434013482/Fae #4375)[1], NFT (328320709261370502/Cinder Creator
                                      Token)[1], NFT (329505113424311500/Cinder Creator Token)[1], NFT (329667235149994679/Cinder Creator Token)[1], NFT (329810951170409161/Fae #2768)[1], NFT (329938598608059274/Cinder
                                      Creator Token)[1], NFT (331216632147810577/Cinder Creator Token)[1], NFT (331641253370193810/Fae #338)[1], NFT (331996903321752872/Cinder Creator Token)[1], NFT
                                      (332051284297515203/Fae #630)[1], NFT (335253148059460704/Cinder Creator Token)[1], NFT (335267002632715877/Cinder Creator Token)[1], NFT (335374464925579943/Fae #241)[1], NFT
                                      (335650599047163663/Fae #3537)[1], NFT (336384451044552230/Fae #2216)[1], NFT (337447601941005313/Cinder Creator Token)[1], NFT (339441616773001121/Fae #3588)[1], NFT
                                      (340392228491015061/Cinder Creator Token)[1], NFT (340666997409811192/Fae #354)[1], NFT (341270478571190960/Cinder Creator Token)[1], NFT (341419568622103764/Cinder Creator Token)[1],
                                      NFT (341640047774902387/Cinder Creator Token)[1], NFT (341685301241099367/Cinder Creator Token)[1], NFT (344051694163075096/Fae #641)[1], NFT (344507666439648027/Fae #1168)[1], NFT
                                      (345387856299365548/Fae #3268)[1], NFT (347726875267471187/Cinder Creator Token)[1], NFT (347984446475652267/Fae #3976)[1], NFT (348825707574517904/Fae #509)[1], NFT
                                      (348962859711343421/Cinder Creator Token)[1], NFT (349263879354266758/Cinder Creator Token)[1], NFT (349404780165872835/Fae #2931)[1], NFT (349897938059669983/Fae #564)[1], NFT
                                      (351373067178517754/Cinder Creator Token)[1], NFT (351379037482097978/Fae #3366)[1], NFT (351858839002977292/Fae #1073)[1], NFT (352048451133923371/Cinder Creator Token)[1], NFT
                                      (353129857569964017/Fae #2229)[1], NFT (354360855257325896/Fae #3670)[1], NFT (355022421021176714/Cinder Creator Token)[1], NFT (355071627680807650/Cinder Creator Token)[1], NFT
                                      (357650046182591989/Cinder Creator Token)[1], NFT (357671747621222284/Cinder Creator Token)[1], NFT (357710049138555757/Fae #2191)[1], NFT (357732561846325508/Fae #3903)[1], NFT
                                      (358057118391285172/Fae #1477)[1], NFT (358250999303926307/Cinder Creator Token)[1], NFT (358382451332024793/Cinder Creator Token)[1], NFT (358780670668377772/Cinder Creator
                                      Token)[1], NFT (359058780554255537/Cinder Creator Token)[1], NFT (360004450723629699/Fae #3723)[1], NFT (360024767882938987/Cinder Creator Token)[1], NFT (360329603901114229/Fae
                                      #2448)[1], NFT (360607518799360663/Fae #4346)[1], NFT (361186383983071663/Fae #3231)[1], NFT (361536189592416579/Cinder Creator Token)[1], NFT (361676510661158496/Fae #580)[1], NFT
                                      (362046127248870670/Cinder Creator Token)[1], NFT (362335569181871232/Cinder Creator Token)[1], NFT (362672642295177687/Fae #1444)[1], NFT (362810610472197680/Fae #615)[1], NFT
                                      (364880056648071928/Cinder Creator Token)[1], NFT (365184942181010765/Cinder Creator Token)[1], NFT (366097589825625134/Fae #659)[1], NFT (367674212049269312/Fae #970)[1], NFT
                                      (368952765084354756/Cinder Creator Token)[1], NFT (369058358881350477/Fae #3061)[1], NFT (370572827324605732/Fae #976)[1], NFT (371166974350593613/Cinder Creator Token)[1], NFT
                                      (371226771389896750/Fae #359)[1], NFT (371325720721352677/Cinder Creator Token)[1], NFT (371576125362397101/Cinder Creator Token)[1], NFT (371969703924789590/Cinder Creator Token)[1],
                                      NFT (372412256571192499/Cinder Creator Token)[1], NFT (372556586121861110/Cinder Creator Token)[1], NFT (373223707737803504/Fae #4414)[1], NFT (375183863202738704/Fae #4408)[1], NFT
                                      (375656607387581004/Cinder Creator Token)[1], NFT (377526544357128694/Cinder Creator Token)[1], NFT (377732736853676693/Cinder Creator Token)[1], NFT (377843581642589792/Cinder
                                      Creator Token)[1], NFT (377919135004078214/Cinder Creator Token)[1], NFT (378359954455606039/Cinder Creator Token)[1], NFT (378916288681988234/Fae #3119)[1], NFT
                                      (379674549323933077/Cinder Creator Token)[1], NFT (379714930790707659/Cinder Creator Token)[1], NFT (380098694559715583/Fae #4216)[1], NFT (380860061792527988/Cinder Creator
                                      Token)[1], NFT (381062094045501175/Cinder Creator Token)[1], NFT (382059288892569156/Cinder Creator Token)[1], NFT (383566381095871472/Cinder Creator Token)[1], NFT
                                      (383873696542394101/Fae #3351)[1], NFT (385781489783415603/Fae #2908)[1], NFT (386811448737797038/Cinder Creator Token)[1], NFT (388571810730890810/Cinder Creator Token)[1], NFT
                                      (389869821118607011/Fae #507)[1], NFT (389906763789056834/Cinder Creator Token)[1], NFT (389943590099765458/Cinder Creator Token)[1], NFT (390519791657402022/Fae #4235)[1], NFT
                                      (391228926413347675/Fae #3813)[1], NFT (391814396754470737/Cinder Creator Token)[1], NFT (393529458268521342/Fae #3444)[1], NFT (394608499855827197/Fae #3216)[1], NFT
                                      (394749240360160787/Fae #3889)[1], NFT (395516325315075380/Cinder Creator Token)[1], NFT (398009721270778334/Cinder Creator Token)[1], NFT (398689485776407610/Fae #1614)[1], NFT
                                      (399066020067265282/Fae #3799)[1], NFT (400688742746179269/Cinder Creator Token)[1], NFT (401225911609729823/Fae #703)[1], NFT (401519842534101772/Fae #4299)[1], NFT
                                      (401791600385639907/Fae #4263)[1], NFT (402433655041103930/Cinder Creator Token)[1], NFT (402656724791709067/Cinder Creator Token)[1], NFT (402827065566780444/Fae #2791)[1], NFT
                                      (403218922910309455/Cinder Creator Token)[1], NFT (403357201664499675/Cinder Creator Token)[1], NFT (403832295899694001/Fae #1493)[1], NFT (405239897405196750/Fae #420)[1], NFT
                                      (407072213077293404/Cinder Creator Token)[1], NFT (409092734532174303/Fae #1536)[1], NFT (409314441151028395/Fae #734)[1], NFT (409525591119898405/Fae #4109)[1], NFT
                                      (409636463789332993/Cinder Creator Token)[1], NFT (409881807940579724/Cinder Creator Token)[1], NFT (410088711550810264/Fae #3726)[1], NFT (410676210170612524/Fae #1547)[1], NFT
                                      (412275766198009125/Cinder Creator Token)[1], NFT (413523186733181407/Cinder Creator Token)[1], NFT (413810804656872158/Fae #4067)[1], NFT (414184328894841524/Cinder Creator
                                      Token)[1], NFT (414643644395011838/Fae #3205)[1], NFT (417354244736516670/Cinder Creator Token)[1], NFT (417832042990433919/Fae #3532)[1], NFT (417919527260902235/Cinder Creator
                                      Token)[1], NFT (418312883205048601/Fae #3600)[1], NFT (418346790553271906/Fae #1733)[1], NFT (418599416897827093/Fae #3637)[1], NFT (419217748679981572/Fae #1092)[1], NFT
                                      (419578129893674411/Cinder Creator Token)[1], NFT (420426578895013156/Fae #1802)[1], NFT (421664329446715822/Cinder Creator Token)[1], NFT (421967717328961439/Cinder Creator
08219754                              BTC[0], SOL[.007294]

08219764       Contingent, Disputed   SOL[1.55], USD[0.01]

08219770                              NFT (508025450360050144/Coachella x FTX Weekend 2 #30647)[1]

08219776                              DOGE[.0016743], SHIB[3140.71185107], USD[0.00]                                                                                                                                            Yes

08219782                              USD[178.86]

08219794                              USD[5000.00]

08219795                              USD[194.49]

08219796                              USD[12.06]

08219809                              USD[21.54]                                                                                                                                                                                Yes

08219843                              BAT[14.95809461], USD[22.23], USDT[10.49541965]                                                                                                                                           Yes

08219847                              USD[20.00]

08219849                              DOGE[.00023192], NFT (420301010974061999/Green.Witch.Marble)[1], NFT (438632024905277500/Cube.Collection#1)[1], USD[1.96]                                                                 Yes

08219852                              BRZ[1], BTC[.01012931], USD[0.00]

08219854                              BTC[0], SOL[51.23989405], USD[0.01], USDT[0.00000001]                                                                                                                                     Yes

08219864                              USD[0.01], USDT[0]                                                                                                                                                                        Yes

08219881                              MATIC[41.77184818], TRX[1], USD[0.00]

08219903                              USD[0.12]

08219904                              CUSDT[3], DOGE[210.08416648], LINK[12.9134728], MATIC[69.83403941], SOL[2.08588789], TRX[1871.66732273], USD[0.01]                                                                        Yes

08219905                              NFT (308781620934299495/Nipseyhustle rolling loud )[1], USD[4.00]

08219920                              LTC[2.15437542]                                                                                                                                                                           Yes

08219939                              NFT (364091614602365971/FTX - Off The Grid Miami #1168)[1]

08219950       Contingent, Disputed   USD[29.26]

08219967                              USD[0.00], USDT[0]

08219974                              USD[1.15]

08219976                              CUSDT[2], SHIB[12720342.8996167], TRX[1.86888846], USD[0.00]                                                                                                                              Yes
West Realm Shires Services Inc.                                                     Case 22-11068-JTD     Doc 1754
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                                                                                                                                            Customer Claims                                                                                                        22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08219978                              KSHIB[26.29996104], USD[0.00]                                                                                                                                                        Yes

08219979       Contingent, Disputed   USD[50.00]

08219981                              USD[10.00]

08219985                              DAI[115.26227890]

08219987                              USD[37.70]                                                                                                                                                                           Yes

08219991                              USD[0.00], USDT[0]

08220003                              USD[0.50]

08220004                              SHIB[4702954.38129847]

08220005                              USD[29.86]

08220006                              BTC[.00009805], USD[0.00]                                                                                                                                                            Yes

08220007                              SOL[.01586517], USD[7.91]

08220008                              USD[10.00]

08220013                              CUSDT[2], USD[20.96]                                                                                                                                                                 Yes

08220026                              BTC[.00156661], CUSDT[1], ETH[0.01271522], ETHW[0.01255452], GRT[47.79717381], MKR[.00405808], SHIB[1], TRX[1], USD[0.00], YFI[.00041084]                                            Yes

08220048                              SOL[11.11526601]                                                                                                                                                                     Yes

08220055                              BTC[.0205794], ETH[.232767], ETHW[.232767], USD[1508.35]

08220060                              BTC[1.04774991], DOGE[2], ETH[1.05012234], ETHW[1.04979153], GRT[1], MATIC[6548.25313053], SHIB[1], SUSHI[1.03136211], TRX[2], USD[2646.76], USDT[2.10123758]                        Yes

08220067                              BTC[0], USD[0.00]

08220068                              GRT[15348], SOL[126.22], USD[0.46]

08220076                              BTC[.00000002], MATIC[.00064715], SOL[.0000125], USD[135.37]                                                                                                                         Yes

08220105                              CUSDT[1], DOGE[1], MATIC[247.97685715], USD[0.00]                                                                                                                                    Yes

08220107                              BRZ[305.65844384], CUSDT[7364.88568803], DOGE[298.34906084], KSHIB[1309.25319935], SHIB[1401848.19482587], TRX[1803.09129347], USD[0.01]                                             Yes

08220120       Contingent, Disputed   USD[0.87]

08220124                              CUSDT[1], DOGE[70.20523535], USD[0.00], USDT[8.5648056]                                                                                                                              Yes

08220133                              NFT (320784249582891281/SolanaDoge #1352)[1], NFT (320809793990471832/SolBunnies #1824)[1], NFT (346046836264800643/3D CATPUNK #9601)[1], NFT (382310457317781283/Entrance
                                      Voucher #35)[1], NFT (385039146300659897/3D CATPUNK #2181)[1], NFT (385089662540601473/Lorenz #100)[1], NFT (385144876712341829/Panda Fraternity #3785)[1], NFT
                                      (403721259479130342/Ravager #970)[1], NFT (427748542171005022/3D CATPUNK #7303)[1], NFT (428496714822308747/ApexDucks #7161)[1], NFT (431124174440772172/Eitbit Ape #4639)[1], NFT
                                      (431581123650478397/Oink 2232)[1], NFT (442019139959392337/DarkPunk #8404)[1], NFT (526706692219780289/Curate technique#Session-11)[1], SOL[.1012], USD[0.00]

08220151                              ETH[0]

08220153                              BTC[.00039235], CUSDT[1.04138842], USD[0.00]                                                                                                                                         Yes

08220155                              CUSDT[1], USD[0.00]

08220160       Contingent, Disputed   BTC[.0365831], ETH[.437745], ETHW[.437745], SOL[8.86458], USD[1.54]

08220161                              BTC[.00000001], USD[1.63]

08220164                              BTC[0], DOGE[0], ETH[0], LINK[0], MATIC[0], SOL[0], SUSHI[0], UNI[0], USD[0.00]

08220171                              CUSDT[1], USD[140.73]                                                                                                                                                                Yes

08220179                              BRZ[4], DOGE[1], SHIB[4], USD[0.08], USDT[1.25368050]                                                                                                                                Yes

08220180                              USD[10.77]                                                                                                                                                                           Yes

08220181                              CUSDT[13], MATIC[0], SOL[0], TRX[1], USD[0.00]                                                                                                                                       Yes

08220186       Contingent, Disputed   CUSDT[1], DOGE[628.41746118], SHIB[3090069.60331114], USD[0.00]                                                                                                                      Yes

08220196                              NFT (469563215534453086/Vox Punk #14)[1], USD[0.00]

08220200                              USD[27.12]                                                                                                                                                                           Yes

08220202                              BTC[.0003]

08220203                              USD[10.00]

08220204                              BTC[.00050898], CUSDT[1], DOGE[11.37181563], MATIC[3.70385698], SHIB[2], USD[0.00]                                                                                                   Yes

08220208                              BTC[.0000691], SOL[.02], USD[4.27]

08220209                              CUSDT[1], DOGE[266.91533172], SHIB[69514.14842498], USD[0.00]

08220224                              USD[0.22]                                                                                                                                                                            Yes

08220227                              ETHW[1.001]

08220229                              BTC[.00002835], USD[0.23]

08220237                              BTC[0.00382416], ETH[.41002865], ETHW[0.32507601], USD[0.00], USDT[443.10647308]

08220243                              BRZ[1], BTC[0], SHIB[1], SOL[-0.00000001], USD[0.01]                                                                                                                                 Yes

08220250                              SOL[.03746], USD[3.11]

08220259                              CUSDT[3], DOGE[1], ETH[0], ETHW[0], USD[0.00], USDT[0.09402048]                                                                                                                      Yes

08220271                              CUSDT[1], ETH[0], ETHW[0], NFT (305178169745521549/Space Bums #2071)[1], NFT (324574081652825601/Space Bums #8769)[1]

08220280                              USD[50.01]

08220293                              BTC[0], USD[0.00]

08220310                              USD[10.00]

08220312                              BTC[.00003926]                                                                                                                                                                       Yes

08220316                              DOGE[18021.7109986], GRT[407.39169266], LINK[64.72721596], SHIB[15190277.16011447], SUSHI[35.24876862], USD[0.00]                                                                    Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08220318                              CUSDT[1], SOL[.5607901], USD[107.55]                                                                                                                                               Yes

08220323       Contingent, Disputed   ETH[.04758587], ETHW[.04758587], LINK[20.40159022], SHIB[2544319.60352446], SUSHI[20.23432258], USD[0.00], USDT[163.27772958]

08220325                              BTC[.00048977], CUSDT[1], DOGE[1], ETH[.01708818], ETHW[.01708818], USD[0.00]

08220331                              BRZ[1], BTC[.00577116], DOGE[1], TRX[1], USD[0.00]

08220333                              BF_POINT[200]                                                                                                                                                                      Yes

08220337                              DOGE[1], ETHW[52.66389577], GRT[1], SHIB[1], USD[0.00]                                                                                                                             Yes

08220352                              USD[0.00]

08220362                              NFT (299352795731842257/The Hill by FTX #3980)[1], NFT (333398285960506618/Coachella x FTX Weekend 2 #7074)[1], NFT (351970840622683016/Australia Ticket Stub #1019)[1], NFT
                                      (373485057225875771/FTX Crypto Cup 2022 Key #1470)[1]
08220385                              DOGE[1], USD[0.00]                                                                                                                                                                 Yes

08220414       Contingent, Disputed   BTC[0.00051042], USD[0.00]

08220432                              SOL[0], TRX[1]

08220435                              ETHW[.00004389], TRX[981.55335749], USD[15.72]                                                                                                                                     Yes

08220445                              AVAX[3.20755787], BRZ[2], BTC[.05052469], DOGE[3], ETH[.23716416], ETHW[.23696284], MATIC[62.3879622], SHIB[25], TRX[4], USD[0.00]                                                 Yes

08220448                              USD[10.77]                                                                                                                                                                         Yes

08220452                              BRZ[1], KSHIB[1315.08936163], USD[0.00]

08220453                              USD[538.54]                                                                                                                                                                        Yes

08220455                              ETH[0], SHIB[1], USD[0.00], USDT[0.00001526]                                                                                                                                       Yes

08220473                              CUSDT[1], NFT (481210718159107094/CryptoFabula #202)[1], NFT (525246267133327777/Сrypto Warrior #3)[1], SOL[.00343935], USD[0.00]

08220476                              SOL[.20463312]                                                                                                                                                                     Yes

08220481                              USD[0.00]

08220491                              BTC[.05055744], ETH[1.177], ETHW[1.177], MATIC[410], SOL[6.99], USD[0.08]

08220506                              NFT (492860589765135846/Aku World Avatar #64)[1]

08220511                              CUSDT[1], SOL[.12664545], USD[75.00]

08220513                              BAT[1], BRZ[1], DOGE[7], ETH[.06447173], ETHW[.2167683], MATIC[4581.78753284], SHIB[66415.1934706], TRX[6], USD[568.84]                                                            Yes

08220528                              DOGE[3], LTC[.01984823], SHIB[2], USD[24.76], USDT[0]                                                                                                                              Yes

08220537                              USDT[.00245774]                                                                                                                                                                    Yes

08220538                              USD[8.62]                                                                                                                                                                          Yes

08220539                              AAVE[0], AUD[0.00], BTC[0], DOGE[0], ETH[0.00000033], ETHW[0.00000033], LINK[0], LTC[0], MATIC[0], SOL[0], SUSHI[0.00011022], TRX[0], USD[0.00], USDT[0.00000001], YFI[0]          Yes

08220541                              DOGE[1], SOL[.15295773], USD[0.00]                                                                                                                                                 Yes

08220543                              USD[400.00]

08220546                              USD[14.00]                                                                                                                                                                         Yes

08220548                              USD[0.74]

08220551                              ETH[.03], ETHW[.301922], USD[51.24]

08220554                              BTC[.00000001]                                                                                                                                                                     Yes

08220555                              USD[1.10]

08220562                              USD[0.00], USDT[29847.13491382]

08220565                              SHIB[3355242.54958104], TRX[303.83142065], USD[0.01]                                                                                                                               Yes

08220568                              BRZ[1], TRX[1], USD[0.00], USDT[0.00455380]                                                                                                                                        Yes

08220579                              BTC[.00389649], ETH[.1029586], ETHW[.1029586], SOL[2.15], USD[0.70]

08220594                              USD[9.99]

08220599       Contingent, Disputed   BTC[0], USD[0.00]

08220606                              DOGE[97.902], KSHIB[920], MATIC[7.67199387], SHIB[800000], USD[0.14]

08220627                              AAVE[8.73393054], BAT[1.00930322], BRZ[1], BTC[.02623423], CUSDT[1], DOGE[11898.61719121], ETH[.49343098], ETHW[.4932237], GRT[1], SHIB[88174194.42321728], TRX[19302.74036257],   Yes
                                      USD[2739.68], USDT[1044.58610339]
08220643                              NFT (290555228865012970/Wonky Stonk #2793)[1], NFT (558333414733328709/Wonky Stonk #1228)[1]

08220665                              USD[215.43]                                                                                                                                                                        Yes

08220693                              BTC[.0505], USD[1.71]

08220700                              USD[0.56]                                                                                                                                                                          Yes

08220710                              BRZ[12.13083908], KSHIB[136.02118448], MATIC[2.25986842], USD[12.90], USDT[2.13672701]                                                                                             Yes

08220711                              DOGE[29.53921272], ETH[.00000488], ETHW[.00000488], SHIB[280724.63049388], SOL[.08031767], USD[0.00]                                                                               Yes

08220712       Contingent, Disputed   BAT[27.70907696]

08220714                              DOGE[1368.91610228], SHIB[5], USD[0.00], USDT[0]

08220718                              BTC[0], CUSDT[0], DOGE[0], ETH[0], KSHIB[2.81494911], MATIC[0], SHIB[1342976.34437598], TRX[0], USD[0.01]

08220723       Contingent, Disputed   MATIC[279.734], USD[6.73]

08220731                              BTC[.01176644]

08220733                              USD[5.41]

08220741                              CUSDT[1], DOGE[32.39797547], SHIB[1438645.098379], USD[59.35]                                                                                                                      Yes

08220746                              USD[0.94]

08220749                              NFT (338941161040482329/Entrance Voucher #3820)[1], NFT (420426208272271255/Romeo #1104)[1]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08220750                              SOL[0], USD[2.64]

08220758                              CUSDT[3], DOGE[2], MATIC[.00039126], SHIB[3138363.4859504], USD[0.00]                                                                                                                    Yes

08220789                              DOGE[1], USD[0.00]

08220792                              CUSDT[2.86695478], SOL[.11117048], USD[0.00]

08220796                              USD[0.00]

08220829                              BTC[.00038843], CUSDT[1], USD[30.01]

08220841                              SOL[.37948], USD[50.57]

08220859                              BTC[.00106296]                                                                                                                                                                           Yes

08220863                              NFT (295154663972535210/Travel sprouts collection #22)[1], NFT (340451687590791134/Travel sprouts collection #45)[1], NFT (410463070136159723/Travel sprouts collection #41)[1], NFT
                                      (418217815354874346/Travel sprouts collection #46)[1], NFT (477180466354678821/Travel sprouts collection #28)[1], NFT (535987721594865872/Travel sprouts collection #14)[1], USD[4.26]
08220870                              NFT (461189413592043233/FTX - Off The Grid Miami #1978)[1]

08220873                              BRZ[1], LINK[8.97288874], USD[0.01]

08220880                              BTC[.00207865], DOGE[1], USD[0.00]

08220887                              BRZ[2], BTC[.29930245], DOGE[1], SUSHI[1.0392094], USD[146.66]                                                                                                                           Yes

08220892                              CUSDT[2], SHIB[1], SOL[2.10158339], USD[0.00]                                                                                                                                            Yes

08220898                              ETHW[9.60881578], USD[0.00]

08220921                              NFT (379316398637135609/Eye See U #2)[1], NFT (479498752175139805/Eye See U)[1], USD[0.00]

08220928                              USD[0.88]

08220931                              BCH[0], BRZ[1], BTC[0], CUSDT[2], DOGE[1], KSHIB[0.00003040], USD[0.01]

08220932                              CUSDT[2], USD[1.10]                                                                                                                                                                      Yes

08220939                              BTC[.00000452], ETH[.00121672], ETHW[.00120304], SHIB[1], SOL[.05462969], USD[12.54]                                                                                                     Yes

08220940                              BTC[.00100626], DOGE[560.06692575], SHIB[2038869.25795053], UNI[1.33561951], USD[50.00], USDT[0.00043283]

08220948                              BTC[0], ETH[0], MATIC[0], SOL[0], SUSHI[0], UNI[0], USD[0.00]

08220954       Contingent, Disputed   USD[102.55]

08220957                              BTC[.00094816], SOL[0.25634971], USD[0.00]

08220958                              DOGE[27.68826929], GRT[6.9193674], USD[0.00]

08220959                              USD[0.00]

08220961                              BTC[.00036293], USD[0.03]                                                                                                                                                                Yes

08220963                              DOGE[2.82]                                                                                                                                                                               Yes

08220964                              SOL[0], USD[0.98]

08220967                              BRZ[1], CUSDT[4], TRX[1], USD[0.01], USDT[1.0753324], YFI[.00000013]                                                                                                                     Yes

08220977       Contingent, Disputed   BTC[.00009944]

08220979                              NFT (396754607351869326/Coachella x FTX Weekend 1 #30689)[1]

08220991                              CUSDT[2], NFT (350205763638387721/Scoop #311)[1], NFT (383472424138077615/Mech #3089)[1], NFT (427558394903590206/Scoop #29)[1], NFT (516892834645349495/ApexDucks #6489)[1],
                                      SHIB[1], SOL[.02294357], USD[0.00]
08221001                              GRT[1.22677863], USD[0.00]

08221007                              SOL[.01426012]

08221009                              BTC[.00286456], CUSDT[2], DOGE[412.10848001], GRT[1.00190831], NFT (412191417036505404/Skull Ape Art #5)[1], NFT (482492603381095658/Shannon Sharpe's Playbook: Baltimore Ravens vs.
                                      Oakland Raiders - January 14, 2001 #111)[1], SHIB[1323801.95922689], TRX[1], USD[28.00]
08221011       Contingent, Disputed   BTC[.01029365], USD[500.00]

08221012                              BAT[.0002773], CUSDT[1], SHIB[283898.20099185], USD[0.00]                                                                                                                                Yes

08221039                              ALGO[.02177611], DOGE[3], SHIB[2], SOL[.00000001], USD[0.00]                                                                                                                             Yes

08221044                              BTC[.00003298], DAI[0], ETH[.00000001], ETHW[0.00061092], SOL[.00054168], USD[0.00], USDT[0]

08221051                              BTC[.00022198]

08221071                              NFT (469254149088905588/Momentum #474)[1], NFT (543156680524026587/DRIP NFT)[1], USD[10.98]                                                                                              Yes

08221074                              ETH[.00028214], ETHW[.00028214], USD[4.04]                                                                                                                                               Yes

08221076                              KSHIB[176.76010554], USD[0.00]

08221081                              BTC[0], USD[1.83]

08221083       Contingent, Disputed   SOL[.46920802], USD[37.37]

08221085                              BTC[.00002843], TRX[110], USD[0.04]

08221089                              BAT[.00032902], BRZ[1], CUSDT[23], DOGE[.00053665], GRT[.00104869], TRX[1], UNI[.00000749], USD[0.00]                                                                                    Yes

08221097                              BTC[.00078657]                                                                                                                                                                           Yes

08221108                              USD[8.77]

08221126                              BAT[0], SHIB[83671.97312872]

08221134                              SHIB[1], USD[0.00]                                                                                                                                                                       Yes

08221137                              BTC[0], USD[4.62]

08221144       Contingent, Disputed   USD[250.00]

08221146                              BAT[.000017], CUSDT[4], MATIC[10.53913872], SOL[0], USD[0.89]                                                                                                                            Yes

08221156                              ETH[2.099], ETHW[2.099], SOL[5.68], USD[89.38]

08221168                              USD[2.00]
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                                                                                                                                            Customer Claims                                                                                                      22-11071 (JTD)
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                  Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08221182                              USD[0.01], USDT[0]                                                                                                                                                                 Yes

08221187                              BTC[.00080761], CUSDT[1], ETH[0.00357427], ETHW[0.00353323], SHIB[1], USD[0.01]                                                                                                    Yes

08221196                              USD[0.00]

08221202                              SHIB[1], TRX[1], USD[0.00]

08221244       Contingent, Disputed   USD[500.01]

08221260                              CUSDT[4], DOGE[1], GRT[.00006065], KSHIB[131.15104981], MATIC[.00000568], SHIB[3], USD[69.80]                                                                                      Yes

08221262                              BAT[2], DOGE[2], USD[0.01]

08221284                              BTC[0.00017408], ETH[.00000002], ETHW[.00000002], SOL[.00000367], USD[0.00]                                                                                                        Yes

08221286                              NFT (318430108880921862/FTX - Off The Grid Miami #1470)[1]

08221297                              BRZ[1], CUSDT[1], GRT[1], SHIB[1], TRX[1], USD[0.00], USDT[0.00000001]

08221298                              DOGE[1.62769674], ETHW[.07927515], MATIC[0], NFT (476528290480594136/FTX - Off The Grid Miami #354)[1], TRX[2], USD[308.78]                                                        Yes

08221302                              CUSDT[2], SHIB[1], TRX[1], USD[15.44]

08221306                              SOL[.0000237], TRX[1], USD[0.00]                                                                                                                                                   Yes

08221310                              ETH[0], ETHW[0], USD[0.00]

08221314                              DOGE[1539.04531258]

08221324                              BTC[0], SOL[.05133276], USD[0.00]

08221329                              BTC[.0000433], USD[0.00]                                                                                                                                                           Yes

08221330                              BAT[1], BRZ[11.48176287], BTC[.0000177], DOGE[1326.7192912], ETH[.01572731], ETHW[.52395814], MATIC[.36259956], SHIB[49466.24757435], SOL[0.00314930], TRX[8], USD[0.01]           Yes

08221343       Contingent, Disputed   TRX[1108], USD[0.04]

08221350                              DOGE[134], ETH[0.61683611], ETHW[0.61683611], MATIC[29.97], SHIB[100000], TRX[310.907712], USD[0.06]

08221353                              DOGE[1], ETH[.03540108], ETHW[.03496332], MATIC[13.59763393], SHIB[286.94404591], USD[0.00], USDT[0]                                                                               Yes

08221357       Contingent, Disputed   BTC[.00009631], ETH[.0009082], ETHW[.0009082], SOL[2.457786], USD[-13.06]

08221358                              CUSDT[4], DOGE[3], MATIC[27.25619248], TRX[2], USD[0.00], USDT[0]                                                                                                                  Yes

08221365                              AVAX[.00000108], BTC[.00000001], CUSDT[.00215363], DOGE[3], GRT[.00022506], MATIC[.00026083], SHIB[31.45972886], TRX[1.00120656], USD[4.00]                                        Yes

08221369                              NFT (351828098539548034/Birthday Cake #2247)[1], NFT (479175010098813339/The 2974 Collection #2247)[1], USD[38.05]

08221380                              KSHIB[855.81262566], TRX[1], USD[0.00]                                                                                                                                             Yes

08221390       Contingent, Disputed   BTC[0], USD[0.00], USDT[0]

08221393                              CUSDT[7], DOGE[2], GRT[84.52476864], SUSHI[10.54976638], USD[0.00]                                                                                                                 Yes

08221394                              NFT (369763574168633113/Wildest Dreams #4)[1], NFT (369866094251200885/Wildest Dreams #2)[1], NFT (398049519753292766/Wildest Dreams)[1], NFT (480195612611247636/Wildest Dreams
                                      #3)[1], USD[21.00]
08221396                              NFT (314167202391509090/APEFUEL by Almond Breeze #987)[1], USD[1.66]

08221404                              BTC[.06341031], CUSDT[1], DOGE[1], GRT[1], USD[0.00]

08221427                              ETH[.011], ETHW[.011], USD[1.81]

08221436                              USD[3.00]

08221448                              MATIC[56.85921482], USD[0.00]

08221451                              TRX[7300.88412651], USD[0.00]                                                                                                                                                      Yes

08221464                              BTC[.05471683], ETH[.79705199], ETHW[.79705199], LINK[62.1], SOL[16.17196184], USD[1.37]

08221467                              USD[0.00]

08221498       Contingent, Disputed   CUSDT[4], SHIB[3262389.01423307], USD[0.81]                                                                                                                                        Yes

08221509                              USD[0.00]

08221514                              TRX[1], USD[0.01]

08221529                              BTC[.015573], NFT (560709561310630453/Humpty Dumpty #335)[1], USD[0.15]

08221551       Contingent, Disputed   USD[1.81]

08221580       Contingent, Disputed   BCH[.00647751], BTC[.00012921], DAI[3.32606315], DOGE[12.82544218], ETH[.0004605], ETHW[.0004605], LINK[.09923971], LTC[.01259029], SOL[.03399398], USD[3.35]                      Yes

08221581                              USD[9.84]

08221586                              CUSDT[1], USDT[0]

08221595       Contingent, Disputed   USD[0.00], USDT[17.77833899]

08221603                              USD[0.00], USDT[0]                                                                                                                                                                 Yes

08221604                              BCH[0], BTC[0], ETH[0.00000001], ETHW[0.00121593], MATIC[0], NFT (549188566685434944/The Hill by FTX #6466)[1], SHIB[1], SOL[0.26431554], USD[0.01], USDT[0]                       Yes

08221613                              USD[0.00], USDT[0.00000001]

08221626                              USD[1.00]

08221637                              BRZ[1], CUSDT[2], DOGE[1], SOL[0], TRX[4], USD[0.00]                                                                                                                               Yes

08221650                              USD[2.22]

08221661                              BTC[0.00000761], ETH[.0006663], ETHW[.0006663], SOL[1.25904322], USD[0.00], USDT[.46834745]

08221664                              ETH[.00552707], ETHW[.00552707], SOL[0], USD[3.00]

08221671                              BTC[0.00016897], SOL[.0009]

08221674                              KSHIB[0], MATIC[0], USD[0.00]                                                                                                                                                      Yes

08221676                              BTC[.00042688], USD[0.00]                                                                                                                                                          Yes

08221678                              SHIB[8], SOL[.00997], TRX[2], USD[2000.02]                                                                                                                                         Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                     Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08221705                              NFT (339707185792909598/Bahrain Ticket Stub #113)[1]

08221713                              BRZ[1], DOGE[5], SHIB[25], SOL[0.00000001], TRX[7], USD[0.00]                                                                                                         Yes

08221719                              CUSDT[1], DOGE[1], TRX[1.000008], USD[0.00], USDT[0]

08221726                              BTC[.00000132], ETH[.01338647], ETHW[.01322231], LTC[.00000003], USD[0.00]                                                                                            Yes

08221732                              USD[0.14]                                                                                                                                                             Yes

08221736                              BTC[.00020149], CUSDT[9], USD[0.00]                                                                                                                                   Yes

08221745                              BRZ[3], DOGE[6], GRT[1], SHIB[4], SUSHI[1.02042491], TRX[5], USD[0.01], USDT[0.03043416]                                                                              Yes

08221827                              BF_POINT[200], MATIC[.00041175], SHIB[1], USD[0.00]                                                                                                                   Yes

08221828                              USDT[1.07650701]                                                                                                                                                      Yes

08221830                              ETH[.00157475], ETHW[.00156107], SHIB[1], SOL[.00000045], USD[0.00]                                                                                                   Yes

08221899                              USDT[0]

08221909                              BTC[.00002555], USD[6.24]

08221918                              ETH[.00499], ETHW[.00499], MATIC[1.12], USD[5.90]

08221931                              USD[7.92]

08221938                              ETH[32.442], ETHW[32.442], USD[1.27]

08221939                              NFT (322063308476416704/Hoodshiy #2)[1], NFT (369925702209496127/Hoodshiy )[1], NFT (548022589253516590/Hoodshiy #3)[1]

08221948                              AUD[0.00], USD[0.14]

08221952                              DOGE[9.55143817], ETH[.00014695], ETHW[.00014695], SHIB[1], SOL[.00697917], TRX[4], USD[0.00], USDT[0.00709565]

08221955                              CUSDT[6], TRX[1], USD[0.01]                                                                                                                                           Yes

08221959                              USD[5.00]

08221967                              BCH[.000954], BTC[0.00707910], ETH[.004957], ETHW[.004957], LINK[.5874], LTC[.5479], USD[33.68]

08221968                              DOGE[2], GRT[.00678192], USD[0.00]                                                                                                                                    Yes

08221979       Contingent, Disputed   USD[0.40]                                                                                                                                                             Yes

08221981       Contingent, Disputed   USD[0.00]

08221982       Contingent, Disputed   USDT[0.07299857]

08221985       Contingent, Disputed   ETH[.00025], ETHW[.00025], NFT (390033068139626583/Love and Light)[1], NFT (423246736851531755/Thugs Cry Too)[1], NFT (447880230491495836/Colors of the Rainbow)[1]

08221989                              BTC[.00078434], SOL[1.25766263], USD[55.83]

08221996                              BTC[0], DOGE[1], LINK[0], SOL[0], USD[1.65]                                                                                                                           Yes

08222004                              GRT[10345.06909006], NEAR[264.20608091]

08222017                              USD[0.00]                                                                                                                                                             Yes

08222019                              USD[0.00], USDT[0]

08222038                              BTC[.00010141], CUSDT[1], ETH[.00098356], ETHW[.00096988], SOL[.04953231], USD[0.00]                                                                                  Yes

08222064                              USD[8.44]

08222079                              NFT (568582690224821961/Aku World Avatar #140)[1]

08222084                              USD[32.31]                                                                                                                                                            Yes

08222115                              BTC[.00105447], CUSDT[3], ETH[.00000956], ETHW[.00000956], GRT[1], SHIB[6.12010417], SOL[4.59801427], USD[0.00]                                                       Yes

08222169                              USD[95.01]

08222194                              CUSDT[1], SHIB[5228453.94506776], USDT[0.00003000]                                                                                                                    Yes

08222246       Contingent, Disputed   SOL[.00489048], USD[0.01], USDT[.10928613]

08222250                              ETH[.0004], ETHW[.0004], NFT (293274404395272006/Mekaner)[1], NFT (521975905308227335/Meka Soldier)[1]

08222251                              BF_POINT[300], BTC[.02891909], DOGE[6236.84340282], TRX[1], USD[0.00]                                                                                                 Yes

08222257                              AVAX[.00000962]

08222258       Contingent,            AVAX[13.67517732], DOGE[1], ETH[.12657142], NEAR[100.86046113], SHIB[9], SUSHI[175.48338608], TRX[3], UNI[24.40548871], USD[0.19]                                     Yes
               Unliquidated
08222265                              BTC[.00003906], USD[0.00]                                                                                                                                             Yes

08222300                              NFT (417612323582453912/Outpost)[1], USD[0.00], USDT[0]

08222305                              LTC[0.00042227], USDT[0.90056514]

08222323       Contingent, Disputed   BTC[.00212565]

08222336                              ETH[3.03597453], ETHW[3.03469942], LINK[1.40933555], LTC[3.14269588], SOL[.00013959]                                                                                  Yes

08222341                              CUSDT[1], LINK[7.40420851], MATIC[3.9261599], USD[0.00]

08222359                              USD[0.11]

08222362                              BRZ[1207.03833758], CUSDT[2], DOGE[2714.33916841], NFT (491719923983894184/2974 Floyd Norman - CLE 5-0274)[1], SOL[.48600328], USD[317.11]                            Yes

08222379                              BTC[0]

08222380                              CUSDT[1], USD[0.00]

08222384                              MATIC[2.09280683], USD[0.00]

08222392                              BRZ[1], CUSDT[2], SHIB[1501160.27037725], USD[0.40]                                                                                                                   Yes

08222393                              BTC[0], USD[0.00], USDT[0.00013452]

08222398                              BRZ[1], BTC[.00000004], CUSDT[3], DOGE[3], ETH[.00000042], ETHW[.00000042], TRX[1], USD[0.00]                                                                         Yes

08222412                              CUSDT[3], LINK[.0000089], SHIB[2], TRX[1], USD[0.31]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                         Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08222419                              CUSDT[1], ETH[.04946569], ETHW[.04885009], USD[0.01]                                                                                                                                      Yes

08222420                              GRT[1.31772778], MATIC[.95825258], SHIB[1], USD[0.16]                                                                                                                                     Yes

08222422                              CUSDT[.01045199], DOGE[2], LTC[.00000182], SHIB[6], USD[474.15]                                                                                                                           Yes

08222431                              CUSDT[1], USD[0.00]                                                                                                                                                                       Yes

08222437                              TRX[2], USD[409.50]

08222443                              CUSDT[5], DAI[.01015558], DOGE[.00808907], KSHIB[.99179214], SHIB[265.25198938], TRX[1], USD[0.00]                                                                                        Yes

08222446                              BTC[.00000001], CUSDT[2], ETH[.01223364], ETHW[.01208316], USD[0.00]                                                                                                                      Yes

08222450                              BRZ[1], CUSDT[6], DOGE[3], ETH[.08044131], ETHW[.07944851], SOL[1.16027964], TRX[1], USD[0.14]                                                                                            Yes

08222481                              BRZ[1], BTC[0], ETHW[.0005491], SHIB[2], USD[0.00], USDT[0.00714581]                                                                                                                      Yes

08222486                              SOL[.00667122], USD[0.00]

08222491                              ETH[.0003813], ETHW[0.00038130], NFT (350984302647181619/Born To Die)[1]

08222501                              NFT (508938504045921989/LosAngelesRams-OldHome#53)[1], NFT (572001865272291333/Cool Salamanders #143)[1], SOL[.00001913], USD[28.35]                                                      Yes

08222506                              BRZ[151.37092213], CUSDT[1], USD[134.54]                                                                                                                                                  Yes

08222516                              USD[0.32], USDT[2.16340425]

08222522                              BRZ[1], CUSDT[1], DOGE[1], SHIB[1], TRX[2], USD[164.38]

08222525                              BTC[.00000007], USD[0.00]                                                                                                                                                                 Yes

08222533                              USD[300.00]

08222540                              USD[534.84]                                                                                                                                                                               Yes

08222561                              CUSDT[1], SOL[.11247347], USD[0.00]                                                                                                                                                       Yes

08222573       Contingent, Disputed   DOGE[117.932], SHIB[100000], SOL[.01548644], USD[0.04]

08222576                              USD[0.00]

08222577                              DOGE[2], ETH[.92313311], ETHW[.58760986], SHIB[11158666.11550505], TRX[2], USD[0.00]                                                                                                      Yes

08222583                              BRZ[2], BTC[0], DOGE[4], SHIB[2], TRX[4], USD[0.00]                                                                                                                                       Yes

08222591                              BCH[0], ETH[0], SOL[.00000001], USDT[0.00035165]

08222592                              USD[0.05]                                                                                                                                                                                 Yes

08222603                              USD[20.00]

08222605                              BRZ[252.02722939], BTC[.00418529], CUSDT[2169.0179807], DOGE[1], ETH[.33447034], ETHW[.33432089], MATIC[33.30829764], SHIB[2442586.25298973], SOL[6.45231282], SUSHI[23.37854825], Yes
                                      TRX[2836.78689959], UNI[17.87314101], USD[55.24]
08222620                              SHIB[1], USD[0.01]

08222643                              SOL[.01033146], USD[0.00]                                                                                                                                                                 Yes

08222647                              BTC[0], USD[0.01]                                                                                                                                                                         Yes

08222677                              ETHW[.04581025], USD[0.00]                                                                                                                                                                Yes

08222686                              DOGE[0], LINK[0], MATIC[0], SHIB[0.00004449], SOL[0], USD[0.01], USDT[1.02257050]                                                                                                         Yes

08222694                              ETH[.0037752], ETHW[.0037752], USD[1.90]

08222711                              CUSDT[1], USD[0.00]                                                                                                                                                                       Yes

08222722                              USDT[.885]

08222724       Contingent, Disputed   USD[0.00]

08222730                              BTC[.1299699], USD[23.28]

08222734       Contingent, Disputed   BTC[.00039202], USD[0.00]

08222735                              NFT (298802353047782811/#04 Droid is a beast)[1], NFT (344869824661555754/#07 Gun Ball)[1], NFT (382003561890497461/#09 stealth Piranha)[1], NFT (387778181869369361/#03 The Squid)[1],
                                      NFT (390881747600743207/#01 The Death rider)[1], NFT (404105290365017725/#06 Scorpio)[1], NFT (457851294684509587/#08 Rhino)[1], NFT (474979090248687366/#02 The Scuba)[1], NFT
                                      (571682854323423756/#05 The raven)[1], SOL[.013]
08222737                              CUSDT[2], DOGE[2], ETH[.00000001], SOL[.00000969], USD[0.17]                                                                                                                              Yes

08222743                              USD[100.00]

08222745                              SHIB[4294994.48119216], USD[37.02]                                                                                                                                                        Yes

08222747       Contingent, Disputed   USD[250.00]

08222753                              BRZ[1], BTC[.00301628], CUSDT[6], DOGE[81.0190548], ETH[.01325399], ETHW[.01308983], LINK[.40273117], MATIC[2.25084928], SHIB[13], SOL[.46598467], TRX[1], USD[0.00]                      Yes

08222759                              ETH[.01], MATIC[0], SOL[0]

08222767                              BTC[.0629893], USD[5.95]

08222772                              ETH[.0038], ETHW[.0038], NFT (394349275757008859/Flowers and Bubbles )[1], NFT (426268401398327124/Bring me flowers )[1], NFT (464810141641091542/In the darkness)[1], NFT
                                      (478039659228928985/Bubbles )[1]
08222779                              BAT[.94376679], TRX[1], USD[5.51]                                                                                                                                                         Yes

08222785       Contingent, Disputed   BTC[0.00000009], DOGE[1], ETH[.00068078], ETHW[.51462612], LINK[0], SHIB[2], TRX[2], USD[-0.74]                                                                                           Yes

08222801                              AAVE[.0060888], BTC[0], DOGE[5.01047167], ETH[0.00175346], ETHW[0.00175346], LINK[0.15806711], MATIC[1.58461807], SOL[0.01865734], SUSHI[0.37298681], UNI[0.06398994], USD[0.00],
                                      USDT[0]
08222802       Contingent, Disputed   BTC[0.00009204], CAD[21.80], CUSDT[1], DOGE[88.44289488], ETH[0.01246974], ETHW[0.01231926], KSHIB[0], USD[17.32], USDT[0]                                                                Yes

08222805       Contingent, Disputed   SOL[.00695688], USD[0.83]

08222839                              DOGE[54.42559026], NFT (333910970207083088/lazyPanda #38)[1], NFT (367763695345653877/Pixel iberd #4)[1], NFT (379607937183654180/Abstracticart #4)[1], NFT (416597989802576003/FTX -     Yes
                                      Off The Grid Miami #1697)[1], USD[84.39]
08222840       Contingent, Disputed   SOL[2.69875], USD[0.90]

08222843       Contingent, Disputed   SHIB[2600000], USD[2.66]

08222847                              CUSDT[1], SOL[.25118081], USD[0.01]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08222849                              CUSDT[1], UNI[1.09298973], USD[0.00]                                                                                                                                                    Yes

08222851       Contingent, Disputed   USD[0.00]

08222855                              BTC[.0000115], USD[104219.86]                                                                                                                                                           Yes

08222856                              USD[0.00]

08222860                              USD[500.00]

08222867       Contingent, Disputed   BTC[.0292874], ETH[.28045986], ETHW[0.28026530], USD[0.00]                                                                                                                              Yes

08222874                              BTC[.00669537], CAD[0.00], CHF[0.00], USD[0.00]                                                                                                                                         Yes

08222879                              CUSDT[1], ETH[.07998064], ETHW[.07899116], USD[0.92]                                                                                                                                    Yes

08222881                              SHIB[299700], USD[0.04]

08222903                              CUSDT[3], DOGE[74.22598253], TRX[116.70906085], USD[0.00]                                                                                                                               Yes

08222908                              USD[0.00]                                                                                                                                                                               Yes

08222914       Contingent, Disputed   BTC[.00165536], USD[0.00]

08222917                              BRZ[2], BTC[.00212635], CUSDT[2], ETH[.02444027], ETHW[.02413931], SHIB[8625424.62853967], USD[0.02]                                                                                    Yes

08222926                              USD[0.00], USDT[0.00000033]

08222950                              ETH[.00228625], ETHW[.00228625], USD[40.00]

08222961                              BF_POINT[1600], USD[0.88]

08222963                              ETH[.0290775], ETHW[.0290775], SOL[0.67130792], USD[0.00]

08222969                              BRZ[1], USD[0.00]

08222985                              CUSDT[1], MATIC[4.53534472], TRX[234.03823196], USD[0.00]                                                                                                                               Yes

08222993                              BTC[.2736261], ETH[7.990002], ETHW[7.990002], USD[41.05]

08222996                              BTC[.00021224], USD[0.00]                                                                                                                                                               Yes

08222997                              USD[0.01], USDT[0]

08222998                              CUSDT[2], DOGE[1.00000518], USD[0.00]

08223001                              USD[3.04], USDT[150]

08223013       Contingent, Disputed   ETH[1.59809414], ETHW[1.59809414], LTC[.20677], TRX[8446.47848]

08223020                              SHIB[5954153.02173265], USD[0.00]

08223027       Contingent, Disputed   NFT (364086727557674348/Oil paint series)[1], NFT (370740996612096515/Metaverse NFT’S)[1], NFT (438650928175680990/Jaguare Metavers NFT)[1], NFT (472376023866700075/Space cat 2)[1],
                                      NFT (519089706668477854/Space cat 3)[1], SOL[.006]
08223031                              BRZ[1], CUSDT[2], DOGE[3], SHIB[1], SOL[30.26325076], TRX[3], USD[0.00]                                                                                                                 Yes

08223046                              DOGE[1], TRX[1242.1223852], USD[0.00]                                                                                                                                                   Yes

08223049       Contingent, Disputed   BTC[0], USD[104.09]                                                                                                                                                                     Yes

08223075                              KSHIB[.00067623], SOL[.23149703], USD[0.00]

08223082                              USD[835.13]

08223096                              CUSDT[3], DOGE[2.01430455], SOL[.0007907], USD[0.42]                                                                                                                                    Yes

08223099                              USD[0.99]

08223102                              CUSDT[3], DOGE[422.62449928], USD[0.00]

08223113       Contingent, Disputed   BTC[.0008991], ETH[.003996], ETHW[.003996], KSHIB[450], SHIB[500000], USD[1.18]

08223129                              CUSDT[1], SOL[0.11155304], TRX[1], USD[0.00]                                                                                                                                            Yes

08223131                              BTC[0], SOL[0]

08223136       Contingent, Disputed   USD[42.43]

08223137                              BTC[0], ETH[.00112258], ETHW[.0011089], LTC[0], USD[0.01]                                                                                                                               Yes

08223161                              MATIC[69.93], USD[0.07], USDT[0]

08223174       Contingent, Disputed   SOL[.195]

08223195                              USD[0.01]

08223199                              USD[0.00]

08223214                              CUSDT[1], ETH[.00382382], ETHW[.00378278], SOL[.05821403], USD[5.38]                                                                                                                    Yes

08223218                              USD[23.01]

08223221                              USD[500.00]

08223226                              USD[0.00]

08223228                              SOL[.05439957], USD[0.00]                                                                                                                                                               Yes

08223234       Contingent, Disputed   ETH[.04594744], ETHW[.04594744], SHIB[4047490.55585536], USD[150.01]

08223258                              ETH[.00000002], USD[0.56]

08223268                              BAT[1.00654786], DOGE[4], ETHW[.8126666], GRT[3.00089582], USD[0.01]                                                                                                                    Yes

08223275                              USD[11.01], USDT[0]                                                                                                                                                                     Yes

08223276                              SHIB[1253112.44176857]                                                                                                                                                                  Yes

08223288                              BTC[.00060534]

08223298                              BTC[0.00004668]

08223306       Contingent, Disputed   NFT (540845423348941298/Fancy Frenchies #8364)[1]

08223308       Contingent, Disputed   AAVE[.00718], ETH[.000891], ETHW[.000891], SOL[.16906], USD[10.65]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                   Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08223312                              BTC[0], SOL[0.00242866]

08223313                              NFT (292501372341664592/Series 1: Capitals #339)[1], NFT (513944497199834620/Series 1: Wizards #297)[1]

08223316                              BTC[.00483357], SHIB[1], USD[2.35]

08223317                              NFT (384151288705671288/FTX - Off The Grid Miami #2021)[1]

08223320                              BTC[.00005105], CUSDT[1], LINK[1.0012071], SHIB[90334.2366757], USD[0.00]

08223321                              SHIB[1], TRX[1], USD[0.75]                                                                                                                                                          Yes

08223326                              USD[0.00]

08223327                              CHF[9.78], NFT (371071106791229051/Teddy Bears Club #628)[1], TRX[122.71976353], USD[0.00]                                                                                          Yes

08223337                              MATIC[3.96873484], USD[0.01]

08223340                              AAVE[0], AVAX[0], BCH[0], BTC[0], DOGE[0], ETH[0], LINK[0], LTC[0], MATIC[0], MKR[0], SOL[0], TRX[0], UNI[0], USD[0.00], USDT[0]

08223372                              ETH[0], LTC[0]

08223375                              USD[20.00]

08223378                              BTC[.00000061], CUSDT[1], ETHW[.0000139], SHIB[1], SOL[.00010826], USD[0.00]                                                                                                        Yes

08223387                              SOL[.00985995], SUSHI[1.00011735], USD[0.03], USDT[3.003654]

08223389                              NFT (307184188596641465/Coachella x FTX Weekend 1 #5120)[1]

08223406                              CUSDT[1], ETH[.00000004], ETHW[.00000004], SHIB[1.0986643], SOL[.00000018], USD[2.11]                                                                                               Yes

08223425                              DOGE[5], NFT (573523426679995311/Shadows)[1], SOL[1.91483], USD[50.19]

08223438                              CUSDT[1], SOL[1.01466608], USD[0.00]

08223478                              CUSDT[1], USD[99.04]

08223483                              BTC[.0019]

08223509                              BTC[.00015657], CUSDT[2], USD[0.00]                                                                                                                                                 Yes

08223511                              USD[250.00]

08223514                              SOL[50.0025], USD[33.87]

08223516                              USD[14.63]

08223522                              BTC[0], USD[0.00]

08223525                              BTC[.0000015]                                                                                                                                                                       Yes

08223526                              LTC[.00037524], MATIC[.16678378], USD[0.00]                                                                                                                                         Yes

08223532                              USD[0.00], USDT[0]

08223533       Contingent, Disputed   BTC[.00003923], ETH[.00061553], ETHW[0.00061553], USD[1.07]

08223569                              BF_POINT[300]

08223571                              CUSDT[1], SHIB[1], USD[46.67]                                                                                                                                                       Yes

08223578                              BTC[0.00013848]

08223582                              USD[100.00]

08223589                              BAT[1.00000914], BRZ[1], CUSDT[8], DOGE[7.01369372], ETH[.00000296], ETHW[.00000296], LTC[.00066966], MATIC[0], SOL[0], SUSHI[0], TRX[7], USD[0.00], USDT[0.00000001]               Yes

08223593                              CUSDT[2], SUSHI[.19529281], USD[17.08]

08223603       Contingent, Disputed   USD[209.56]

08223610                              SOL[.00000001], USD[0.00]

08223621                              CUSDT[4], DOGE[12.89300537], ETHW[1.87586809], MATIC[.00005706], SHIB[1], SUSHI[3.0952028], USD[0.98]                                                                               Yes

08223630                              USD[0.00]

08223632                              USD[0.00]

08223649                              USD[0.00]

08223655       Contingent, Disputed   AAVE[0], ALGO[0], AVAX[0], BCH[.00000029], BTC[0], ETH[0], ETHW[0], KSHIB[0], LINK[0], MATIC[0], MKR[0], NEAR[0], NFT (298727960104063254/Sideshow Bob SAMMIE 1st Gen #4)[1], NFT   Yes
                                      (340324487957700704/Ape MAN#45#4/5)[1], NFT (526148523105378783/Imola Ticket Stub #250)[1], NFT (561120254061957966/Megalodon Rogue Shark Tooth)[1], SHIB[1], SOL[372.71365488],
                                      USD[30.38], USDT[0.00000006]
08223659                              SOL[2.11542636], USD[0.26]

08223669                              ETHW[144.572], USD[10002.60]

08223672                              USD[0.00]

08223675                              CUSDT[1], DOGE[1], USD[0.00]

08223695       Contingent, Disputed   MATIC[10], USD[16.18]

08223697                              DOGE[1], ETH[.0001184], ETHW[0.00011840], SHIB[16238048.81811442], TRX[1], USD[0.01]                                                                                                Yes

08223710                              BTC[.00030731], CUSDT[1], SHIB[144133.67757537], USD[0.01]                                                                                                                          Yes

08223730                              USD[1.00]

08223746                              ETH[.0010572], ETHW[.00104352]                                                                                                                                                      Yes

08223758                              BRZ[1], ETHW[4.75314977], TRX[1], USD[0.00]                                                                                                                                         Yes

08223763                              USD[10.77]                                                                                                                                                                          Yes

08223770                              USD[1.00]

08223772                              SOL[4.31568], USD[0.71]

08223776                              EUR[2.00], NFT (354737051862518887/Results)[1], NFT (362371156771244985/Rocky Crew)[1], NFT (377148430288022154/Rocky Crew #3)[1], NFT (404631872023337898/SC #01)[1], NFT
                                      (415928624562124883/Sad Boy Series #2)[1], NFT (452347861824165739/Rocky Crew #2)[1], NFT (564436999208430110/Sad Boy Series)[1], USD[2.61]
08223784                              CUSDT[4], SHIB[2], TRX[1], USD[0.00], USDT[0]
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                                                                                                                                            Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                        Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08223796                              DOGE[1], GBP[0.00], MATIC[3.15202044], SHIB[568.45729854], TRX[1], USD[0.00]                                                                                                             Yes

08223802                              SOL[8.92], USD[0.44]

08223803                              AVAX[.00006428], BTC[.00000768], CUSDT[2], ETH[.00001281], ETHW[.00001281], MATIC[.01316956], SHIB[1327.64803047], SOL[.00323029], USD[0.01]                                             Yes

08223805                              NFT (321029760664548616/Coachella x FTX Weekend 1 #5073)[1]

08223816                              CUSDT[1], MKR[.00000001], SUSHI[.00002568], UNI[.00000587], USD[0.00]                                                                                                                    Yes

08223817                              USD[8.62]

08223822                              DOGE[170.67712394], SHIB[1], USD[0.00]

08223827                              MATIC[0], USD[0.00]

08223840                              SHIB[2], USD[0.00]

08223850       Contingent, Disputed   ETH[0], ETHW[0], SOL[0], USD[0.25]

08223855                              CUSDT[1], USD[4.33]

08223858       Contingent, Disputed   BTC[.00781059], USD[0.00]

08223860                              SOL[1.02527765], TRX[1], USD[0.01]

08223868       Contingent, Disputed   BTC[0], ETH[0], ETHW[0.00469915], LINK[0], SOL[0], SUSHI[0], USD[48.77], YFI[0]

08223873                              CUSDT[1], SOL[.11791988], USD[3.73]

08223880                              BRZ[1], CUSDT[8], DOGE[1], ETH[.00005892], ETHW[.00005892], GRT[1], MATIC[.46990997], USD[0.00]                                                                                          Yes

08223888                              USD[104.04]                                                                                                                                                                              Yes

08223894                              CUSDT[2], USD[19.55]                                                                                                                                                                     Yes

08223904                              USD[14.21]                                                                                                                                                                               Yes

08223914                              ETH[0], SOL[0.54907950], USD[0.00], USDT[0.00000001]

08223941                              USD[3.55]

08223942                              MATIC[271]

08223945                              BTC[.01049248]                                                                                                                                                                           Yes

08223962                              BTC[0], USD[0.00]

08223966                              DOGE[.52460227], SHIB[400000], USD[0.14]

08223969                              BTC[.000045], DOGE[.43782263], USDT[0]

08223985                              ETH[2.80144054], ETHW[2.80144054]

08223995                              KSHIB[9.85736510], SOL[.20172582], SUSHI[0.03492919], UNI[0], USD[0.00]

08223999                              ETH[.00000001], ETHW[0], USD[0.00], USDT[0.00000001]                                                                                                                                     Yes

08224012                              USD[0.01]

08224025                              ALGO[0], ETH[0], USD[0.00], USDT[0]                                                                                                                                                      Yes

08224031                              BTC[.01076737]                                                                                                                                                                           Yes

08224038                              SOL[0], USD[0.00]                                                                                                                                                                        Yes

08224048                              USD[0.00], USDT[1]

08224057                              USD[0.03]                                                                                                                                                                                Yes

08224062                              BTC[.00306179], DOGE[843.12518204], ETH[.06275357], SHIB[1], USD[0.00]

08224078                              NFT (297396115694476509/AI-generated portrait #13)[1], NFT (315440554432428582/StarAtlas Anniversary)[1], NFT (319371085369056962/StarAtlas Anniversary)[1], NFT                         Yes
                                      (426290298435462445/StarAtlas Anniversary)[1], NFT (446286410433632832/StarAtlas Anniversary)[1], NFT (500996420213295053/StarAtlas Anniversary)[1], NFT (508373062942797952/StarAtlas
                                      Anniversary)[1], NFT (511519302206284820/StarAtlas Anniversary)[1], NFT (525172191931165397/StarAtlas Anniversary)[1], USD[0.00]
08224085                              ALGO[.00055407], BAT[1], BTC[.00839293], DOGE[3], SHIB[23], SOL[3.25502616], TRX[5], USD[1984.36], USDT[0]                                                                               Yes

08224091                              USD[0.00], USDT[0]

08224129                              USD[47.00]

08224143                              BRZ[.02529049], CUSDT[1], DOGE[2], GRT[1], MATIC[.00753915], TRX[.34692871], USD[0.01]                                                                                                   Yes

08224166                              USD[10.42]                                                                                                                                                                               Yes

08224172                              USD[0.00]

08224174                              BRZ[.4085797], CUSDT[4], DOGE[1], KSHIB[89.41250044], SHIB[1], TRX[.52470755], USD[1.06]                                                                                                 Yes

08224184       Contingent, Disputed   BTC[.00079403], CUSDT[43.0925337], ETH[0.01755090], ETHW[0.01755090], USD[0.00]

08224192                              CUSDT[1], MATIC[128.56333605], USD[0.00]                                                                                                                                                 Yes

08224194                              BRZ[1], BTC[0], SHIB[1], USD[0.06], USDT[0.00000012]

08224200       Contingent, Disputed   BRZ[1], BTC[.00024861], DOGE[2], SHIB[13], SOL[1.02303968], TRX[2], USD[0.00]                                                                                                            Yes

08224217                              CUSDT[1], ETH[.11930783], ETHW[.11930783], USD[0.00]

08224218                              ETHW[2.26722], USD[1.01]

08224219       Contingent, Disputed   LINK[138.53788616]                                                                                                                                                                       Yes

08224223                              BTC[.00023699], CUSDT[1], ETH[.00365049], ETHW[.00360945], USD[0.00]                                                                                                                     Yes

08224224                              NFT (523434368279766930/2021 Sports Illustrated Awards #107)[1]

08224225                              BTC[.00059955], DOGE[61.9442], ETH[.0019982], ETHW[.0019982], USD[0.12]

08224227                              ETH[.10981812], ETHW[.10981812], USD[7.48]

08224243       Contingent, Disputed   BTC[0], ETH[0], ETHW[0], GBP[0.00], SHIB[0], TRX[0.01655245], USD[0.00], USDT[0.00000001]                                                                                                Yes

08224244                              BAT[1], USD[0.00], USDT[0]
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                                                                                                                                              Customer Claims                                                                                                            22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                          Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08224285                              ETH[.00098512], USD[0.00], USDT[2.91987857]

08224288                              DOGE[3], ETH[.01326092], ETHW[.01309676], SHIB[2], USD[0.01]                                                                                                                               Yes

08224297                              USD[0.00]

08224302                              BTC[.00463944], CUSDT[1], SHIB[1], TRX[1], USD[0.01]

08224315                              BTC[.00490778], TRX[1], USD[0.00]

08224319                              USD[0.01]

08224320                              USD[2.78]

08224325                              CUSDT[2], USD[0.00]                                                                                                                                                                        Yes

08224340       Contingent, Disputed   ETH[.10025916], ETHW[.10045916], LTC[.98545784], SHIB[3630236.89186974], SOL[2.0002894], USD[0.00], USDT[0.00000001]

08224344                              USD[0.00], USDT[0]

08224351       Contingent, Disputed   AAVE[1.998], DOGE[63.936], LTC[.13], SOL[.5], USD[0.16]

08224354                              SOL[.00524578], USD[0.00]                                                                                                                                                                  Yes

08224356                              AAVE[0], BAT[0], BCH[0.00416824], BTC[0], DAI[0], ETH[0], LINK[0], SHIB[0], SOL[0], USD[0.00], YFI[0]

08224359       Contingent, Disputed   KSHIB[20], MATIC[10], SOL[.279973], USD[0.75]

08224365                              SOL[.00000053], USD[0.00]                                                                                                                                                                  Yes

08224366                              BRZ[2], CUSDT[17], DOGE[2], ETH[0], ETHW[.00000449], SHIB[13], TRX[8], USD[130.65]                                                                                                         Yes

08224368                              BTC[0], ETH[0], SOL[0.00000001], USD[0.00], USDT[0]

08224375       Contingent, Disputed   USD[500.01]

08224379                              ETH[.795204], ETHW[.795204], SOL[12.14784], USD[15.13]

08224394                              SHIB[267312.87022078], USD[0.18]

08224400                              ETH[0], NFT (458820042515935273/Anti Artist #253)[1], NFT (473193487888501973/Bahrain Ticket Stub #2058)[1], NFT (537626907361228392/Barcelona Ticket Stub #196)[1], SHIB[1], USD[0.00],   Yes
                                      USDT[0.00000001]
08224401                              USD[0.01]

08224404                              USD[1000.00]

08224406       Contingent, Disputed   BTC[.0084], USD[32.27]

08224409       Contingent, Disputed   ETH[.00948634], ETHW[.00948634], NFT (298231953601893684/Zodiac Signs #7)[1], NFT (302822162794419948/Enlightenment )[1], NFT (318213063553356734/Zodiac Signs #5)[1], NFT
                                      (338949353157540103/Nelly)[1], NFT (340457888018479537/Ale ale On)[1], NFT (342656994734538929/Nelly #2)[1], NFT (344256895248466832/Sports Meets Fashion)[1], NFT
                                      (366866992115757933/Zodiac Signs #8)[1], NFT (372607253893002463/Folklore #3)[1], NFT (378976066768976671/Raw)[1], NFT (383460127262643158/Zodiac Signs )[1], NFT
                                      (405784338295727191/Folklore #4)[1], NFT (409119222710974262/Historic expressions #2)[1], NFT (420181428888744336/Zodiac Signs #11)[1], NFT (426049640991336663/Nelly #3)[1], NFT
                                      (426538553943574399/Glowing)[1], NFT (431296736696807683/Folklore #7)[1], NFT (454750189057914967/350 ‘s)[1], NFT (464976419349304301/Folklore #2)[1], NFT (469026105876196392/Shelf
                                      candy)[1], NFT (470824837910023701/Glowing #2)[1], NFT (475342592087357589/Historic expressions )[1], NFT (493343978957332398/Zodiac Signs #2)[1], NFT (494353779314801432/Zodiac Signs
                                      #10)[1], NFT (509534365346003628/Folklore #8)[1], NFT (511339962091330051/Zodiac Signs #6)[1], NFT (511971177751271576/Zodiac Signs #3)[1], NFT (514275328006146786/Zodiac Signs
                                      #4)[1], NFT (517602606172750432/Folklore )[1], NFT (524959016352208406/Fame)[1], NFT (531908810687284979/Original NFTZEEY Bangers)[1], NFT (532913407682205919/Folklore #5)[1], NFT
                                      (541817522087535184/Foam)[1], NFT (555595098028800532/Zodiac Signs #9)[1], NFT (562897806651665961/Folklore #6)[1], NFT (571117271371222787/OG Fire)[1], NFT
                                      (576095449163170389/Momma Bear)[1]
08224416                              MATIC[0], USD[0.00], USDT[0]

08224420                              CUSDT[1], TRX[1], USD[0.08]                                                                                                                                                                Yes

08224426                              USD[100.00]

08224430                              BTC[.00025696], CUSDT[11], DAI[0], DOGE[0.00224989], ETH[0.00157256], ETHW[0.00155888], TRX[2], USD[0.00], USDT[0.00002841]                                                                Yes

08224435                              BAT[1], BRZ[2], CUSDT[5], DOGE[3], SHIB[1], SOL[0], TRX[2], USD[0.01], USDT[1]

08224449                              BTC[.00071651], USD[0.00]

08224454                              DOGE[1], USD[0.00]                                                                                                                                                                         Yes

08224459                              CUSDT[2], USD[0.00]                                                                                                                                                                        Yes

08224460                              USD[0.00], USDT[0.00000143]

08224463                              AUD[5128.25], BTC[.00301262], CUSDT[1], DOGE[1], SHIB[2], SOL[.92839137]                                                                                                                   Yes
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                                                                                                                                            Customer Claims                                                                                                           22-11071 (JTD)
              Contingent,
Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                       Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08224465                              BTC[0], ETHW[.0260492], NFT (292604255511054434/Toonymania Meta World Cup 2022 Special Edition #3)[1], NFT (295637404631746318/2022 Meta World Cup #41)[1], NFT
                                      (304707479532283524/Toonymania Meta World Cup 2022 Special Edition #5)[1], NFT (304995657982198679/Toonymania Meta World Cup 2022 Special Edition #9)[1], NFT
                                      (307124224835757047/2022 Meta World Cup #70)[1], NFT (310997813127796246/Toonymania Meta World Cup 2022 Special Edition #17)[1], NFT (316069636654297780/Toonymania Meta World Cup
                                      2022 Special Edition #1)[1], NFT (322886020004643250/Meta World Cup R2 #27)[1], NFT (324641205213417487/Meta World Cup R2 #49)[1], NFT (326566722347005700/2022 Meta World Cup
                                      #66)[1], NFT (339270111500599399/Meta World Cup R2 #25)[1], NFT (340080575486509840/Toonymania Meta World Cup 2022 Special Edition #26)[1], NFT (340867194243063812/2022 Meta World
                                      Cup #69)[1], NFT (343236989614265806/Toonymania Meta World Cup 2022 Special Edition #20)[1], NFT (354242003841617531/2022 Meta World Cup #43)[1], NFT (354267862558024527/2022 Meta
                                      World Cup #37)[1], NFT (354999337217341733/Toonymania Meta World Cup 2022 Special Edition #30)[1], NFT (362122972090659581/2022 Meta World Cup #38)[1], NFT
                                      (366057051857014619/Toonymania Meta World Cup 2022 Special Edition #15)[1], NFT (366202175771294464/Toonymania Meta World Cup 2022 Special Edition #4)[1], NFT
                                      (367775554186755453/Toonymania Meta World Cup 2022 Special Edition #24)[1], NFT (368101137396584478/2022 Meta World Cup #68)[1], NFT (368585277535275735/2022 Meta World Cup #46)[1],
                                      NFT (371195930669176921/2022 Meta World Cup #84)[1], NFT (373491113004152501/2022 Meta World Cup #71)[1], NFT (373509451573026194/Toonymania Meta World Cup 2022 Special Edition
                                      #28)[1], NFT (375290009119934323/Toonymania Meta World Cup 2022 Special Edition #12)[1], NFT (379248033050254184/2022 Meta World Cup #61)[1], NFT (379311735217288791/Toonymania
                                      Meta World Cup 2022 Special Edition #19)[1], NFT (383335040862214145/2022 Meta World Cup #64)[1], NFT (384640032978539662/Meta World Cup R2 #1)[1], NFT
                                      (385463248961324154/Toonymania Meta World Cup 2022 Special Edition #7)[1], NFT (388735102404260624/Toonymania Meta World Cup 2022 Special Edition #10)[1], NFT
                                      (389989282715742768/Toonymania Meta World Cup 2022 Special Edition #18)[1], NFT (390001660789308380/Meta World Cup R2 #14)[1], NFT (409975994960413933/Meta World Cup R2 #36)[1],
                                      NFT (412318891166632091/Toonymania Meta World Cup 2022 Special Edition #32)[1], NFT (413143500903335989/Meta World Cup R2 #39)[1], NFT (423316819024092400/2022 Meta World Cup
                                      #62)[1], NFT (437103797133028907/2022 Meta World Cup #83)[1], NFT (441243513906646031/Toonymania Meta World Cup 2022 Special Edition #8)[1], NFT (444531982987065436/Meta World Cup
                                      R2 #2)[1], NFT (448828183019776191/Toonymania Meta World Cup 2022 Special Edition #27)[1], NFT (449642097562179326/2022 Meta World Cup #96)[1], NFT (458476908959318782/Meta World
                                      Cup R2 #40)[1], NFT (458974948316286537/Toonymania Meta World Cup 2022 Special Edition #13)[1], NFT (463432029035944606/Meta World Cup R2 #30)[1], NFT (464587407040924639/2022 Meta
                                      World Cup #65)[1], NFT (475919376738969918/2022 Meta World Cup #76)[1], NFT (476143087220899901/Toonymania Meta World Cup 2022 Special Edition #6)[1], NFT (479106925384114773/2022
                                      Meta World Cup #3)[1], NFT (483974239661850086/2022 Meta World Cup #44)[1], NFT (490634233138960001/Meta World Cup R2 #47)[1], NFT (493873064241799906/Toonymania Meta World Cup
                                      2022 Special Edition #11)[1], NFT (496518595069285811/2022 Meta World Cup #7)[1], NFT (504717532849713823/2022 Meta World Cup #67)[1], NFT (505186716513959119/Toonymania Meta World
                                      Cup 2022 Special Edition #22)[1], NFT (508705967668737230/2022 Meta World Cup #72)[1], NFT (516579664687540430/2022 Meta World Cup #103)[1], NFT (517134665260803008/Toonymania Meta
                                      World Cup 2022 Special Edition #23)[1], NFT (518094458361853564/2022 Meta World Cup #1)[1], NFT (518566495882568100/Meta World Cup R2 #43)[1], NFT (520595635827855491/Meta World Cup
                                      R2 #26)[1], NFT (525224721922721305/Meta World Cup R2 #45)[1], NFT (527791865079877203/Toonymania Meta World Cup 2022 Special Edition #21)[1], NFT (534991181306610131/Toonymania
                                      Meta World Cup 2022 Special Edition #2)[1], NFT (536916560606357894/2022 Meta World Cup #56)[1], NFT (538806223900642330/Meta World Cup R2 #48)[1], NFT
                                      (553202604205395315/Toonymania Meta World Cup 2022 Special Edition #14)[1], NFT (559682952241499125/Meta World Cup R2 #44)[1], NFT (565092195644335991/2022 Meta World Cup #55)[1],
                                      NFT (567410349546887210/Toonymania Meta World Cup 2022 Special Edition #31)[1], NFT (568229353962389202/Toonymania Meta World Cup 2022 Special Edition #29)[1], NFT
                                      (570726475639931584/Toonymania Meta World Cup 2022 Special Edition #16)[1], NFT (571737759039028984/2022 Meta World Cup #63)[1], NFT (571965046662549492/Toonymania Meta World Cup
                                      2022 Special Edition #25)[1], NFT (574740200958618414/Meta World Cup R2 #13)[1], USD[10.43]

08224466                              CUSDT[1], ETH[0], ETHW[0], GRT[1], SHIB[1], SOL[.00956484], TRX[5], USD[0.06]                                                                                                           Yes

08224468                              USD[1.76]

08224475                              USD[0.06]

08224477                              ETH[.01436664], ETHW[.0141888]                                                                                                                                                          Yes

08224482                              SHIB[1], USD[0.00]                                                                                                                                                                      Yes

08224497                              BTC[.00021772], CUSDT[3], ETH[.03131743], ETHW[.03131743], LINK[.967149], MATIC[8.42364981], USD[0.00]

08224512                              BRZ[4], CUSDT[8], DOGE[3], ETH[.00000274], ETHW[.00000274], SHIB[.00000004], TRX[3], USD[0.83], USDT[1.06856792]                                                                        Yes

08224520       Contingent, Disputed   BTC[.0102], SOL[2.62], USD[0.88]

08224521                              USD[0.00]

08224529                              SOL[.05617494], USD[0.00]                                                                                                                                                               Yes

08224545                              BTC[0]

08224551                              USD[3.23]                                                                                                                                                                               Yes

08224552                              DOGE[1], USD[0.01]                                                                                                                                                                      Yes

08224555                              SOL[0.00012655]

08224559       Contingent, Disputed   BTC[.00001447], USD[0.08]                                                                                                                                                               Yes

08224561                              BCH[0], BTC[0], LTC[0], SOL[.00000001]                                                                                                                                                  Yes

08224569                              BTC[0], DOGE[0], ETH[0], LINK[0], MATIC[0], SOL[0], SUSHI[0], UNI[0], USD[0.00]

08224580                              USD[0.00]

08224581                              CUSDT[2], MATIC[29.87134272], SHIB[1], TRX[5], USD[14.56]                                                                                                                               Yes

08224608                              TRX[1], USD[0.00]

08224610                              USD[200.01]

08224613                              USD[0.01], USDT[0]                                                                                                                                                                      Yes

08224617                              USD[30.00]

08224627                              BRZ[1], CUSDT[8], ETHW[.43090574], SHIB[128515.65738758], SOL[0], TRX[7], USD[1271.00], USDT[1]

08224632                              ETH[.04148784], ETHW[.04097049], SHIB[1], USD[0.00]                                                                                                                                     Yes

08224633                              CUSDT[6], ETH[.00000008], ETHW[.00000008], LINK[.00000434], MATIC[.00015646], SHIB[13.00735313], TRX[1], USD[43.55]                                                                     Yes

08224643                              BAT[0], BTC[0], CUSDT[1], DOGE[0], ETH[0], LINK[0], MATIC[15.12602161], SHIB[0], USD[0.00], YFI[0]                                                                                      Yes

08224646                              USD[538.16]                                                                                                                                                                             Yes

08224647                              CUSDT[245.36256206], DOGE[1], KSHIB[1550.41523996], SHIB[990786.42461353], SOL[.14852218], USD[0.02]                                                                                    Yes

08224651                              CUSDT[1], DOGE[1], SOL[.0100341], USD[18.94]                                                                                                                                            Yes

08224658                              BTC[.07254576], DOGE[3], ETH[1.05615894], ETHW[.95461562], SHIB[13], USD[0.00]                                                                                                          Yes

08224660                              BTC[0], DOGE[0], NFT (361309721413545641/2021 Sports Illustrated Awards #3)[1], SHIB[2], USD[0.00]                                                                                      Yes

08224663                              ETH[.19951759], ETHW[0.19951758], SOL[0], USD[0.00]

08224700                              NFT (500279760243641457/The 2974 Collection #0310)[1]

08224710                              NFT (432757842048468658/2021 Sports Illustrated Awards #4)[1]

08224713       Contingent, Disputed   BTC[.01884967], ETH[.014859], ETHW[.014859], SOL[5.43140574], USD[14.94]

08224721                              BTC[.00000002], CUSDT[2], ETH[0], ETHW[0], GRT[1], SOL[0.00005035], USD[0.00]                                                                                                           Yes

08224729                              BTC[0], ETHW[.67237315], SOL[.508456], USD[2.08]

08224732                              BTC[.00000042], SHIB[1], TRX[1], USD[0.01]                                                                                                                                              Yes
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                    Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08224737                              NFT (522953075496736363/2021 Sports Illustrated Awards #7)[1]

08224741                              EUR[9.44], USD[0.00]                                                                                                                                                                 Yes

08224748                              NFT (495037867424407358/Shaq's Fun House presented by FTX #83)[1], NFT (505093061364631410/2021 Sports Illustrated Awards #6)[1]

08224750                              BTC[0.00049528], NFT (352565282148402895/2021 Sports Illustrated Awards #8)[1], NFT (548842576442824087/Shaq's Fun House Commemorative Ticket #8)[1]

08224751       Contingent, Disputed   GRT[.834], MATIC[9.96], SUSHI[10.475], USD[0.12]

08224752                              NFT (323487190029471854/2021 Sports Illustrated Awards #9)[1]

08224754                              USD[0.00]

08224758                              MATIC[.783], SOL[0.00704947], USD[0.00]                                                                                                                                              Yes

08224761                              BTC[0.00049537], NFT (398929034860420275/2021 Sports Illustrated Awards #10)[1]

08224767       Contingent, Disputed   BTC[.00002539], USD[0.35]

08224771                              EUR[0.20], USD[0.47]

08224780                              BTC[0.00049578], NFT (337955146848257964/2021 Sports Illustrated Awards #16)[1], NFT (472295053428948229/Shaq's Fun House Commemorative Ticket #9)[1]

08224785                              NFT (386661846538023043/2021 Sports Illustrated Awards #11)[1]

08224786                              CUSDT[1], DOGE[2], USD[0.01]                                                                                                                                                         Yes

08224793                              ETH[.00183881], ETHW[.00183881], SHIB[2], SOL[.51318055], TRX[380.27255503], USD[0.00]

08224794       Contingent, Disputed   DOGE[59.4808857], TRX[116.55692355], USD[0.00]                                                                                                                                       Yes

08224805                              USD[0.00]

08224808                              NFT (441848490035663613/2021 Sports Illustrated Awards #14)[1]

08224809                              BTC[.00098724], SHIB[338215.27685247], USD[0.00]                                                                                                                                     Yes

08224812                              USD[0.00], USDT[0.00000001]

08224817                              SOL[.01]

08224822                              CUSDT[2], TRX[1], USD[32.88]                                                                                                                                                         Yes

08224823                              DOGE[1], SOL[0]

08224829                              BRZ[1], BTC[.00518688], CUSDT[3], DOGE[356.00196031], ETH[.07704077], ETHW[.07608483], SHIB[5], TRX[3], USD[88.22]                                                                   Yes

08224832                              GRT[1], NFT (290850566942610899/Skeleton Glock #216)[1], NFT (381266893475849757/Barcelona Ticket Stub #1660)[1], NFT (410634140007911371/Australia Ticket Stub #130)[1], SHIB[2],
                                      USD[5143.14]
08224840                              NFT (552974073287367293/Frumdacy)[1], SOL[.0005]

08224852                              BAT[1], USD[0.00]

08224859                              CUSDT[1], GRT[1], USD[3.01]

08224860                              NFT (346841480433506046/2021 Sports Illustrated Awards #15)[1]

08224877                              NFT (328430018845297422/Shaq's Fun House Commemorative Ticket #13)[1], NFT (566834983233830300/2021 Sports Illustrated Awards #17)[1]

08224883                              BTC[0]

08224884                              TRX[1], USD[0.00], USDT[497.07948776]

08224890                              USD[0.20]

08224893                              BTC[0]

08224896                              BTC[0]

08224898                              BRZ[1], USD[0.00]                                                                                                                                                                    Yes

08224899                              CUSDT[1], DOGE[60.40517253], NFT (398251742579190862/Shaq's Fun House Commemorative Ticket #10)[1], USD[0.00]

08224901                              ETH[0.00265077], ETHW[0.00262341], SOL[0], USD[0.00]                                                                                                                                 Yes

08224905                              DAI[99.48493861], USD[0.00]

08224912                              NFT (331576253067092312/2021 Sports Illustrated Awards #19)[1]

08224913                              BTC[0.00049312]

08224914                              USDT[177.29834700]

08224926                              BTC[0]

08224929                              BTC[0], MATIC[0.00000001], USD[0.00], USDT[0]

08224932                              DOGE[28.34450891], USD[0.00]

08224935                              ALGO[2126.04213473], DOGE[1], ETH[1.01937143], ETHW[1.0190177], TRX[2], USD[16695.28]                                                                                                Yes

08224942                              ETH[.00000001], ETHW[0], USDT[29.93538820]

08224946                              SOL[37.67030226], USD[6.90], USDT[2.40511550]

08224948                              MATIC[2.92398573], USD[0.00]                                                                                                                                                         Yes

08224950                              USD[0.00], USDT[0]

08224951                              SHIB[4], USD[0.00]

08224954                              BTC[0]

08224955                              BTC[0]

08224964                              BRZ[1], BTC[0], CUSDT[6], DOGE[2], EUR[0.00], LTC[0], TRX[1]

08224968                              BTC[0]

08224971                              NFT (463598351971172012/2021 Sports Illustrated Awards #21)[1]

08224975                              NFT (440048030162286759/2021 Sports Illustrated Awards #22)[1]

08224976                              NFT (329571224279451783/FTX - Off The Grid Miami #2737)[1], NFT (457229732525267070/2021 Sports Illustrated Awards #23)[1]
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Customer Code Unliquidated, or        Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                                                                                      Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08224980                              NFT (372160187307267195/Birthday Cake #1862)[1], NFT (372219320139588301/The 2974 Collection #1145)[1], NFT (503314501044878528/2974 Floyd Norman - OKC 2-0170)[1], NFT
                                      (527007318129282496/The 2974 Collection #1862)[1], NFT (574581077271622635/2974 Floyd Norman - CLE 2-0256)[1], USD[0.00]
08224981                              BAT[3.02998436], BTC[.37787088], CUSDT[1], DOGE[4], ETH[.39194712], ETHW[.39178244], SHIB[4], SOL[5.12635852], TRX[10], USD[0.00], USDT[1.02543197]                                    Yes

08224989                              BTC[0]

08224992                              NFT (529326230253826018/2021 Sports Illustrated Awards #24)[1]                                                                                                                         Yes

08224993                              ETH[.02309], ETHW[.02309]

08224994                              BTC[0]

08224995                              USD[0.01]                                                                                                                                                                              Yes

08224997                              TRX[.000012], USDT[3.2865874]

08225000                              CUSDT[1], ETH[.19967039], ETHW[.19967039], NFT (322902271563260065/Miami Sports)[1], NFT (411260176161905914/2 inch Tungsten Cube)[1], NFT (412123009693326593/Bitcoin #5)[1], NFT
                                      (439384801241144368/Squiggles)[1], NFT (446474506001434586/Enter the Dragon #6)[1], NFT (471626901283044490/You in, Miami? #65)[1], NFT (557243159421882647/Tiger King Monroe )[1],
                                      USD[265.02]
08225001                              DOGE[487.68742071], SHIB[1072942.80745508], TRX[1], USD[0.00]

08225004                              NFT (388724444206040949/2021 Sports Illustrated Awards #25)[1]

08225005                              BTC[0], DOGE[0], LTC[0], USD[0.06], USDT[0.02657832]

08225006                              BTC[0], SHIB[1], USD[0.00]

08225008                              BTC[0], CUSDT[2], USD[0.00]                                                                                                                                                            Yes

08225019                              NFT (516650988422545025/2021 Sports Illustrated Awards #28)[1]

08225022                              BTC[0]

08225023                              NFT (424534562106748514/2021 Sports Illustrated Awards #30)[1]

08225024                              DOGE[28.40812735], ETH[.00311127], ETHW[.00311127], KSHIB[583.91432808], SOL[.31674312], TRX[1], USD[0.00], USDT[0]

08225026                              BTC[0]

08225029                              BTC[0]

08225032                              NFT (495262891208028044/2021 Sports Illustrated Awards #27)[1]

08225033                              BTC[0]

08225041                              BTC[0.00049193], NFT (363729177919566576/2021 Sports Illustrated Awards #44)[1]

08225044                              BTC[0]

08225045                              BTC[0]

08225046                              NFT (457872460402087173/2021 Sports Illustrated Awards #29)[1]

08225054                              BTC[0]

08225056                              SOL[.05], USD[4.59]

08225058                              BTC[0]

08225061                              BTC[0]

08225062                              BTC[.00014198], SHIB[2], USD[6.37]                                                                                                                                                     Yes

08225065                              BTC[0], ETH[0], SHIB[8], USD[0.01]                                                                                                                                                     Yes

08225069                              BTC[0]

08225070                              BTC[0]

08225071                              BTC[0.00049253]

08225072                              BTC[0]

08225078                              NFT (446646281234381671/2021 Sports Illustrated Awards #31)[1]                                                                                                                         Yes

08225086                              BTC[0]

08225088                              USD[0.00]

08225089                              NFT (335663414401189786/FTX Crypto Cup 2022 Key #45)[1], NFT (360470086955072118/France Ticket Stub #40)[1], NFT (485215277249948756/Hungary Ticket Stub #98)[1], USD[0.00], USDT[0]   Yes

08225090                              BTC[0]

08225095                              BTC[.00077082], MATIC[4.61271914]                                                                                                                                                      Yes

08225096                              USD[0.00]

08225104                              BTC[0]

08225107                              BTC[0], LTC[0]                                                                                                                                                                         Yes

08225108                              SHIB[8], SOL[7], USD[0.00], USDT[0.00000030]

08225111                              BTC[0]

08225112                              BTC[0]

08225117       Contingent, Disputed   BTC[.0000999], DOGE[5], ETH[.000999], ETHW[.000999], LTC[.00999], SUSHI[.5], USD[0.29]

08225118                              USD[5.50], USDT[988.21860364]

08225124                              BTC[0.00049282]

08225129                              NFT (486349390391034005/2021 Sports Illustrated Awards #32)[1]

08225131                              BTC[0]

08225132                              USD[32.30]                                                                                                                                                                             Yes

08225135                              BTC[0.00049340]

08225141                              BTC[0.00049340]                                                                                                                                                                        Yes

08225146                              BTC[0.00049416]
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Customer Code Unliquidated, or       Total Crypto Token / Fiat / NFT [Quantity/NFT ID]                                                                 Earn Indicator   Token / Fiat in Lend
              Disputed Indicator
08225147      Contingent, Disputed   BCH[0], BTC[0.00091980]                                                                                           Yes
